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Plaintiffs’ Exhibit A-1
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Customer ID            Customer first name          Customer last name   State          Account number
11111598461958   ROGER                       YAGER                               CA   90007625984
11111721357562   NATHAN                      FIERRO                              NM   90008477213
11113929361976   FRANCISCO                   VASQUEZ                             CA   90010199293
11114425172453   STACY                       WITTBECKER                          PA   90000584251
11115514672453   MELLISSA                    OERGEL                              PA   90006655146
11118847791263   JONETTE                     PEARSON                             GA   14571548477
11121661691263   TWIN                        KELLY                               GA   90014326616
11123614693745   DUANE                       VANCULIN                            OH   90014616146
11123739231687   STEVE                       DUNHAM                              KS   90009587392
11123827791263   GERTIE                      MELICK                              GA   90007568277
11124654161976   FRANK K.                    NADERMANN                           CA   90005236541
11126566561938   YOLANDA                     JONES                               CA   90014245665
11128255172453   SCOTT                       IVERY                               PA   51060542551
11128266661976   REBECCA                     SCAWTHORN                           CA   90010282666
11128319961938   MELISSA                     ALBANEZ                             CA   90011943199
11131292391569   HILDA                       ARTALEJO                            TX   90007012923
11132298261938   LEONARDO                    MENA                                CA   46031812982
11132349257147   JOSE                        RAMIREZ                             VA   90010723492
11134217293745   DANIELLE                    PHILLIPPI                           OH   64591762172
11134984572453   DESMOND                     LIGHTFOOT                           PA   90014779845
11135938351337   EMILY                       FOLTZ                               OH   66096279383
11137211533699   CHRISTIE                    PARSONS                             NC   90010402115
11139674391569   YOLANDA                     NUNEZ DE YU                         TX   75085826743
11143223393745   MARY JANE                   HATFIELD                            OH   90011302233
11143451261976   MEGAN                       MUNOZ                               CA   90000494512
11143637561958   BENITO                      GONZALES                            CA   90014676375
11144711361938   APOLINAR                    BOTELLO                             CA   90012817113
11145247193745   MARIA                       BILLA                               OH   90012072471
11147846384375   CHARLES                     WILLIAMS                            SC   19017958463
11147892951337   ROBERT                      ADAMS                               OH   66008598929
11148851731476   JOE                         REED                                MO   27569718517
11149327961972   MARY                        DALIT                               CA   90013173279
11151445472453   RAYMOND C.                  BURNS                               PA   90014934454
11153117172483   KIMBERLY                    SHAFFER                             PA   51033111171
11153261291263   KEMETRIA                    MEACHUM                             GA   14534832612
11153692661976   JUAN                        GARZA                               CA   90014416926
11155342861958   DALILA                      GARCIA                              CA   90007673428
11157452877539   SARAH                       JACK                                NV   90004394528
11158253157147   SHERRY                      CAMPBELL                            VA   90012662531
11159638233699   BLANESHA                    BAGANS                              NC   90005836382
11161934551337   MARKEISHA                   LAWRENCE                            OH   66036079345
11162271761958   TERRILL                     GRANT                               CA   90002812717
11162689333656   JESUS                       TREVINO                             NC   90012996893
11163344691569   GRACIELA                    VILLALOBOS                          TX   90013683446
11163891286445   MARIA                       PACHECO                             SC   90014128912
11164594272435   SARA                        GEIST                               PA   51039025942
11164881861938   VICTORIA                    ZETA                                CA   46067418818
11164888191569   RICARDO                     MANON                               TX   75087238881
11164997661958   MARIA TERESA                LEDESMA                             CA   90011459976
11165317591569   MAYRA                       REYES                               TX   90011053175
11166566561938   YOLANDA                     JONES                               CA   90014245665
11166763161958   LUIS                        SOSA                                CA   90013637631
11166918331687   ANTHONY                     BREWSTER                            KS   90014849183
11167325431635   WHITNEY                     CONWAY                              KS   22078113254
11171897591569   JUAN                        CASTANEDA                           TX   75096908975
11174778133699   TONY                        DIXON                               NC   90010147781
11176744857147   EDUARDO                     CORDERO                             VA   90013777448
11177342861976   DALILA                      GARCIA                              CA   90007673428
11178229457147   JOHN                        CORASMA                             VA   90012532294
11178259431687   CHRISTOPHE                  CURRY                               KS   22084632594
11179498691569   MIKE                        HARTNETT                            TX   90014554986
11183723661972   OMAR                        CASTANEDA                           CA   90012887236
11184115691263   LATOSHA                     HALES                               GA   14576731156
11184835791569   IRMA                        CABRERA                             TX   90009738357
11185185472453   ANDREA                      RYAN                                PA   90014791854
11185421461976   LILIA                       MOJARO                              CA   90005094214
11185445461937   ROCHELLE                    ARCHIE                              CA   90012874454
11185445472453   RAYMOND C.                  BURNS                               PA   90014934454
11185644533699   REBECCA                     SAWYER                              NC   12033766445
11185782461976   JULIO                       RODRIGUEZ                           CA   90015207824
11186185472453   ANDREA                      RYAN                                PA   90014791854
11188496131456   KENNETH                     PEARSON                             MO   90001384961
11188583991895   GUILLERMO                   LOPEZ                               OK   90010185839
11189185472453   ANDREA                      RYAN                                PA   90014791854
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11191217572453   MICHAEL       CRIDGE                       PA     90015132175
11191438233699   CHRISTOPHER   SOUNDERS                     NC     90004984382
11192375461958   GREGORY       KENNINGHAM                   CA     90005323754
11195795861976   PETER         WHEAT                        CA     90002827958
11196216993745   KATHY         COON                         OH     90010492169
11196868393745   KATHY         KOON                         OH     90008998683
11197691531949   ROBERT        ROLING                       IA     90015516915
11197965147956   CARLINA       LINCOLN                      AR     90011829651
11198238861972   ISLARDO       VILLA CARTEZ                 CA     46099232388
11199328772453   DONALD        DELVECCHIO                   PA     90014793287
11211441872453   FRANCIS       ROBEL                        PA     90014794418
11213396333699   DEDRICK       ALFORD                       NC     90005363963
11213552261958   DAVID         BROWN                        CA     90013785522
11213698193745   ARGAILIA      COOPER                       OH     64546386981
11213996861976   ROBIN         YOUNG                        CA     90013989968
11214128193756   MARK          WIENEKE                      OH     90004441281
11215141151337   SARAH G       GEORGE                       OH     66004711411
11215736661938   JAIME         FLORES                       CA     90010217366
11215745491895   KAYLA         HAMILTON                     OK     21053107454
11216549561972   JORGE         HARO                         CA     90015155495
11217441872453   FRANCIS       ROBEL                        PA     90014794418
11218445291895   KARAH         WEATHERFORD                  OK     90013284452
11218447544353   FRED          HAHN JR                      VA     82046974475
11218636261958   LIBNI         HERNANDEZ                    CA     90012176362
11219441872453   FRANCIS       ROBEL                        PA     90014794418
11219446547956   TAMELA        CUMMINGS                     AR     24084044465
11219862391895   LASHAUNDA     AVERY                        OK     90008558623
11221417157147   MARGARET      HATCHETT                     VA     90014724171
11223219585876   MUDIT         BHUSHAN                      CA     90001292195
11223751661976   NANCY         GARCIA                       CA     90014797516
11224181657147   FIREHIWOT     LIKA                         VA     90011461816
11226796472496   THOMAS        POTOSKY                      PA     90008817964
11228492193745   BARBARA       ABRAM                        OH     64539334921
11228495451337   REGINA        DELANEY                      OH     66096464954
11229932893745   ASHLEY        PITMAN                       OH     90014909328
11231277351337   BILLIE        THOMAS                       OH     90002552773
11232294691263   JEROD         JONES                        GA     90014852946
11233269161938   IVAN          VAZQUEZ                      CA     46079102691
11233752972435   MARY          FREEMAN                      PA     51090367529
11235111561976   OSCAR         GONZALESZ                    CA     90010361115
11236829161958   PEDRO         BALTADANO                    CA     46014538291
11237445572483   CHRISTINE     PERKINS                      PA     51033884455
11238231661958   TIM           STEVENS                      CA     90015282316
11239458851337   KAREN         BURNS                        OH     90013994588
11241918461938   ELOIZA        JUARES                       CA     90004799184
11242833761972   WILLIE        HORN                         CA     46053668337
11243527333699   NASHAYSHIA    GREGG                        NC     90008815273
11244581172435   MARJORY       FOUSE                        PA     51063655811
11244771831687   SCOTT         SMITH                        KS     90015137718
11245673293745   KAIT          DENNIS                       OH     90007946732
11246343451337   DEBBIE        DONLEY                       OH     90010203434
11246633561972   AIOTEST1      DONOTTOUCH                   CA     90015116335
11247123891569   ERIC          JIMENEZ                      TX     90012921238
11248456557124   ALBERTINA     ZEPEDA ALVAREZ               VA     90002144565
11249113451337   VERNEDA       OLIVER                       OH     66005501134
11249627991895   BEAU          BRYANT                       OK     21092256279
11249928961976   JONATHAN      LUNA                         CA     90013019289
11252297451337   TERI          JONES                        OH     66002472974
11252511341286   GEORGE        MASSIE                       PA     51016905113
11252628861976   JAMIE         MILLER                       CA     90014006288
11252637961948   BRAD          CRAMER                       CA     90004276379
11252639861972   ASHLEY        WAGHER                       CA     90008786398
11252772191257   TRICIA        WOODS                        GA     90014487721
11254828491895   AARON         OUTEN                        OK     90013828284
11255749271967   CHRIS         BROWN                        CO     90000257492
11258877833699   PAUL          STUDYVASTE                   NC     90008848778
11261273891569   GARSA         AURA                         TX     90010892738
11265429557147   FREDY         ANTONIO RUIZ                 VA     81070704295
11266636857147   FALIKSHER     ALFONSE                      VA     90011446368
11268563231687   LEWIS         CAPLAN                       KS     90007345632
11268631861958   AMERIKA       RAMIREZ                      CA     46035846318
11268912661938   JUAN JOSE     SALMORAN                     CA     90014169126
11269328993745   HERBERT L     WINSTON                      OH     90003003289
11271744561976   MICHELLE      LYNCH                        CA     90014437445
11271758161972   JOHNATHAN     GARCIA                       CA     90011247581
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11273936591895   WILKA         FOX                          OK     90008559365
11274256251337   JOYCE         BOZE                         OH     66093962562
11274589293745   DAVID         BURKE                        OH     90003115892
11275152161938   DARLENE       JOHNSON                      CA     46015691521
11276425161938   GUILLERMIN    RICE                         CA     46058944251
11277583161976   ANA           GUZMAN                       CA     90014545831
11281839131687   DENI          DOMINICK                     KS     22013538391
11282687661938   TYLISHA       MOORE                        CA     46083766876
11283126733699   PAULA         SKAGER                       NC     90012441267
11284118161938   ARACELY       ENRIQUEZ                     CA     90011601181
11284289361972   IRVING        HOLLINS                      CA     90001442893
11286827961938   LORENA        GARCIA                       CA     90007728279
11286891661976   NELLY         BELL                         CA     46041048916
11289148191895   JULIAN        DUQUE                        OK     90013321481
11289667191895   ERICA         CANNADY                      OK     90013046671
11291759461972   CATHERINE     SIMMONDS                     CA     46077007594
11292883991569   CARMEN        ORDONEZ                      TX     75081348839
11295426791569   DANIEL        DAVILA                       TX     90011734267
11295637791263   ALVIN         JENKINS                      GA     90012756377
11295877361958   MARIA         RAMIREZ                      CA     90012068773
11297199891569   UNIQUE        DE SANTIAGO                  TX     90013421998
11297298961972   OMAR          HERNANDEZ                    CA     46011412989
11299196831687   CARLOS        ARAIZA                       KS     90013491968
11311595493745   CHELSEA       GOODNITE                     OH     90007835954
11312456157147   MARIBEL       RIVERA                       VA     90013154561
11312656747956   JACKY         THOMAS                       AR     24056766567
11313253433699   CARRIE        MCINTOSH                     NC     90011312534
11313276751337   ROBERT        HOVER                        OH     90013892767
11313423972453   PAMELA        MEIER                        PA     51079814239
11313636191569   VANESSA       LOPEZ                        TX     75027146361
11315624561976   HODGES        LUCAS                        CA     46088196245
11315891833634   EVANGELINA    PALOMINO                     NC     90012478918
11319374291569   MARILYN       EVANS                        TX     90013083742
11319688361997   STEVE         CAGLE                        CA     90003206883
11321615251337   PATRICE       FREDERICK                    OH     90008506152
11322411891263   SIRADIAN      KENNEDY                      GA     14588964118
11322537193767   WILLIAM       FOX                          OH     64508755371
11323453891263   TIFFANY       LAMB                         GA     90013874538
11325291957147   JOHN          SMITH                        VA     90015592919
11325818161958   JULISSA       HERNANDEZ                    CA     46043358181
11326312357147   EDGARDO       MARTINEZ                     VA     81072193123
11326345433699   ANNETTE       BROWN                        NC     90008403454
11326866593745   SARA          RUE                          OH     90014828665
11326899897124   FAVIOLA       OLIVARES                     OR     90007388998
11327212231687   DIANNA        GILKEY                       KS     22070342122
11327671751337   TONY          TELLO                        OH     90013526717
11329298851337   MILDRED       YETT                         OH     90014342988
11332966793745   ANTHONY       RAFFINGTON                   OH     90011289667
11335111561972   MICHAEL       HILL                         CA     46013431115
11335516191263   TRAVIS        BARNELL                      GA     14592425161
11336852661972   JUAN          ZANAHURIA                    CA     46092568526
11336867491895   BRITTANY      CLAMPET                      OK     90014878674
11338894677539   OLGA          AVILA                        NV     90006178946
11342271961976   VALERIE       CARLSON                      CA     90011552719
11343314261976   DIANA         VARGAS                       CA     90006503142
11343382433699   CARLOS        MONTENEGRO                   NC     90001303824
11343618761976   RALPH         UGALE                        CA     90015296187
11343678157147   SENAYITE      BEKELE                       VA     81071306781
11345748357147   WILMER        CORTEZ                       VA     90013307483
11346734293745   JOE           MCDEVITT                     OH     64583297342
11348442731943   KENNY         EJIM                         IA     90015044427
11349341733623   JUANA         GONZALEZ                     NC     90015133417
11351256672453   DOUGLAS       FRISBEE                      PA     51065722566
11351427691569   BRENDA        GONZALEZ                     TX     90010574276
11351437993745   RODNEY        FRANKLIN                     OH     64506554379
11351732461976   AMANDA        ECHAVES                      CA     90013357324
11352278491263   RODNEY        MUTTHERSON                   GA     90015362784
11353888891895   DEBRA         STITIES                      OK     90001618888
11354621793745   HEATHER       HIRSCHFELD                   OH     64585966217
11355229351337   CAROLYN       RANDOLL                      OH     90013702293
11356786233699   MEGAN         LITTLE                       NC     90010697862
11357231661976   PETER         GARCIA                       CA     90012742316
11358155331687   CHARLES       CALHOUN                      KS     90013981553
11358433957147   EDGAR OMAR    RIVAS                        VA     90015034339
11358479761958   PABLO         AGUILAR                      CA     90012694797
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11358538957147   AMANDA        THOMAS                       VA     90012965389
11358795741272   CORI          SHEPLER                      PA     51043197957
11362832957147   ANDERSON      GUTIERREZ                    VA     90014368329
11366621161972   CHRISTIAN     FISCHER                      CA     90013686211
11368113451337   TYSHA         CHATMAN                      OH     90012321134
11368659861976   NATASHA       STEWART                      CA     90003936598
11368834333699   EBONY         WILLIAMS                     NC     90014828343
11374293357147   JOSE          GARCIA                       VA     90015312933
11375161247956   DEBRA         CHAPMAN                      OK     24078391612
11375945472453   LARRY         THOMPSON                     PA     90002669454
11376632361958   AIOTEST1      DONOTTOUCH                   CA     90015116323
11376796661976   ASHLIE        MARTONE                      CA     90015127966
11377821751337   MICHELLE      LAMBERT                      OH     66011268217
11377868361972   MARIA         HUIZAR                       CA     90009688683
11378114933699   JONATHAN      WATSON                       NC     90006321149
11379883661938   PEDRO         DE LA CRUZ                   CA     90014678836
11381229357147   JOSE          JOYA                         VA     81006332293
11382369461938   NOEMI         NATIVIDAD                    CA     90011603694
11383828872453   LORI          SEAMAN                       PA     51085808288
11384378631235   MICHAUN       MACK                         IL     90014803786
11384777931687   CHARLES       MOORE                        KS     22052637779
11385167661972   MARISABEL     MORALES                      CA     90011251676
11385946671966   KATHLENE      BRACKET                      CO     90011219466
11387152761958   RICARDO       MINGUER                      CA     90013601527
11387566561938   YOLANDA       JONES                        CA     90014245665
11389764461958   GARY          HOLMES                       CA     90012417644
11391193133623   JACQUELINE    FONSECA                      NC     90012501931
11391256577539   KARLEE        GULLSTROM                    NV     90004532565
11391925557147   JAMIE         BECTON                       VA     81007589255
11392152761958   RICARDO       MINGUER                      CA     90013601527
11392537733699   MICHAEL       ZEALY                        NC     12083925377
11392723162324   STEVEN        CURRY                        AZ     90014087231
11393382272435   NORMA         HOWARD                       PA     51075903822
11394221451337   NATASHA       WILLIAMS                     OH     90013242214
11395114461972   JONATHAN      SILVA                        CA     90012991144
11395882851337   WENDY         GILBERT                      OH     90006238828
11395999231687   ADAM          THOMPSON                     KS     90013149992
11397865291895   CATHERINE     AVERY                        OK     90014508652
11398295473242   BERNARDO      LOPEZ                        NJ     90014252954
11398658891584   ELOISA        MARTINEZ                     TX     90002456588
11411563361976   ERICKA        VERGARA                      CA     90014685633
11415683351337   BILL          THAN                         OH     90005906833
11416692961938   ANASTASIA     SCOTT                        CA     90012856929
11419411381652   JAMES         TAYLOR                       MO     90001344113
11421497591569   GABRIEL       OAXACA                       TX     75073944975
11422118551337   BERNARDO      RAMOS                        OH     90012321185
11422333991569   LUIS          OROPEZA                      TX     90008923339
11425636761976   BEATRIZ       ESCARCEGA                    CA     90015036367
11425675847956   EVELIA        KING                         AR     24000656758
11426175457147   MARTHA        LEMUS                        VA     90013861754
11426334693745   ADAM          CHALMERS                     OH     90014953346
11426413857147   KHUSHDIL      ALFONSE                      VA     90014364138
11427355861976   VIRGIL        RANDLE                       CA     46067103558
11427591933699   JACKIE        GARRIS                       NC     12088575919
11427937777539   RAFAEL        CEBALLOS                     NV     90006359377
11428489172453   HAROLD        NEEDHAM                      PA     51041644891
11428779561938   ELIZABETH     BELTRAN                      CA     46083737795
11429227357147   PATRICIA      MOLINA                       VA     90002212273
11431195943584   KRIN          WATERSON                     UT     90005991959
11432478161938   TERESA        FLORES                       CA     90014824781
11434467993745   VICKY         LEDUC                        OH     90006564679
11434547391895   ESMAEL        RUBIO                        OK     90010705473
11435269161958   MARTIN        GONZALEZ                     CA     46008252691
11436592172435   KENNETH       LUCAS                        PA     51086065921
11437727451357   KIMBERLY      CLARY                        OH     90007687274
11438696291569   JUANA         TORRES                       TX     90001526962
11439387693745   JENNIFER      DELOYE                       OH     90014953876
11442596157147   LESLY         MORENO                       VA     90013415961
11443619357147   CHRIS         SORCE                        VA     90010196193
11444436193745   CARL          BROWN                        OH     90012854361
11444623591263   KRISTIE       BANNK                        GA     90011586235
11445485591569   MONICA        RODRIGUEZ                    TX     75030734855
11446997861938   MARIA         BIBIANO                      CA     90012339978
11451568861938   SERGIO        LARES                        CA     90011615688
11451987893745   TY            BATTSON                      OH     64502789878
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11452121591895   SHAMESTA      HOLLINS                      OK     90001671215
11452368633699   VENUSTE       TUYIKUNDE                    NC     90008943686
11453398961972   LORIE         ESKINE                       CA     46027833989
11454314293745   TAMMY         ROARK                        OH     90011423142
11454397631687   CONNIE        JOHNSON                      KS     22023143976
11456189972435   LOUIS         STEFANIK                     PA     51071491899
11457831191263   EBONY         WILLIAMS                     GA     90011568311
11458241551337   ADAM          HARMEYER                     OH     90015252415
11458624551337   ADAM          HARMEYER                     OH     90000536245
11458683761972   HENRY         HODGES                       CA     90004916837
11461147472453   MARLA         SPIKER                       PA     51081121474
11461938161976   OSCAR         GONZALEZ                     CA     90013899381
11462429431458   SEAN          STANG                        MO     27571614294
11463112261972   NATALIE       DIAZ                         CA     90010421122
11465758461938   SIKORA        COLLINS                      CA     90015137584
11465771261938   KELIN         CASON                        CA     90012817712
11466119557147   YULI          REYES                        VA     90004491195
11466631161938   ELIZABETH     MAIER                        CA     90014186311
11467427651337   DARREN        YODER                        OH     90006454276
11469161861972   BRENDA        MACIAS                       CA     46092831618
11469849791895   SHATIQUA      MCHENRY                      OK     90011068497
11471618957147   DANIEL        WIGGINS                      VA     81007596189
11471991161958   MIGUEL        APARICIO                     CA     46057699911
11472873777539   JENNIFER      WILLSON                      NV     90011098737
11473687172435   STACIE        KOSAKOWSKI                   PA     51026116871
11473724691524   YULIANA       ACOSTA                       TX     90007967246
11473874972453   DEBRYAH       HAWKINS                      PA     51040838749
11475979651337   ISAAC         RASOOL                       OH     90014519796
11478383393745   DEBRA         SEIPEL                       OH     90006573833
11478973761958   ANGEL         ARCEO                        CA     46029579737
11479747191263   LATESHA       ROBINSON                     GA     90003337471
11481671493745   JANET         DURHAN                       OH     90013206714
11482954893745   ADRIAN        BRUMBAUGH                    OH     90015199548
11485478461938   MARGO         HAVLIK                       CA     90009714784
11486741461972   CEDRIC        SMITH                        CA     90006857414
11488767961976   SANDRA        OSORIO                       CA     90007137679
11489635361958   LUCINA        GARCIA                       CA     90012626353
11491291861976   SHALYNN       MATINKA                      CA     90011352918
11494819993745   JESSICA       TUFTS                        OH     64500438199
11494968791895   JUDY          GRIGG                        OK     21039869687
11495661191895   JEANA         NEWMAN                       OK     90011186611
11496392357497   DOREEN        NEVICH                       IN     90014543923
11496669961938   MARIA         HERNANDEZ                    CA     90005706699
11496837191895   ROSALVA       CORTES                       OK     21086058371
11497217591573   DEBORAH       JACOBS                       TX     90007932175
11497897931687   OMAR          SOSA                         KS     22028208979
11499175833699   JUSTIN        BRODIE                       NC     90000561758
11511263331687   JENNIFER      BALL                         KS     90008252633
11511911533699   BAWI          NEIZING                      NC     90014259115
11512386357147   ELVA          LEIVA ORDONEZ                VA     90014843863
11512684161938   VINCENT       SAN NICOLAS                  CA     90014186841
11514177361972   TERESITA      VALENCIA                     CA     90006181773
11515246561938   ESTRELLA      LUNA                         CA     46012532465
11516513161958   J.EXAIVER     KOTVAS                       CA     46003925131
11517297861958   JOSHUA        HENBRA                       CA     90014702978
11517782661938   MOHAMMED      SAAID                        CA     90010237826
11518781357147   KAREN         GUZMAN DIAZ                  VA     81016167813
11521397661976   LENORE        WHITE                        CA     90013623976
11522975593745   AMANDA        GLENN                        OH     90010809755
11523555661958   ALEJANDRO     PEREZ                        CA     90007925556
11525631461976   MARISOL       HUERTA                       CA     46041696314
11525681457147   EDSON         VEIZAGA                      VA     90014056814
11525965791895   LEIDY         TORRES                       OK     90009829657
11526234691569   RAUL          MORALES                      TX     90013822346
11526298157147   LUCAS         GONZALEZ                     VA     90015312981
11526778961972   JESSICA       ARIANDA                      CA     90007427789
11527116193745   KESHIA        BLAIR                        OH     90009291161
11527655933699   JOANN         TANNER                       NC     90014286559
11528823184329   DINO          LOWERY                       SC     19068608231
11529583977539   KATYA         NUNEZ                        NV     90001645839
11531334251337   EDY           GIRON                        OH     90001143342
11531734493745   MISTY         ANTHONY                      OH     90013477344
11532463161938   CERDA         EFIGENIA                     CA     90014034631
11533338961976   JUAN          DE LA ROSA                   CA     90012193389
11534973533699   TRAVIS        JOHNSON                      NC     90009399735
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11536764757147   JOHN           RAGLAND                     VA     90013217647
11537117631687   CARLA          SALAS                       KS     22087361176
11538478391956   ISHA           LYANS                       NC     90012654783
11538968491895   BRADLEY        SCMIDT                      OK     90014789684
11539329172435   TASHA          BELL-JAMES                  PA     51029673291
11541149672453   JAMIE          LEMON                       PA     51087971496
11541247391263   ALISHA         BRAGG                       GA     90013162473
11541836561976   SEAN           HEGEDUS                     CA     90012848365
11542361131687   DEBBI          GOODRICH-ADAMS              KS     22089983611
11542899761938   RACHEL         KRALL                       CA     90014688997
11543144972483   EDWARD         PETROFF                     PA     51006951449
11543994161958   MICHELLE       BALBUENA-DIRCIO             CA     90012359941
11544279357147   OSMAN          AMADOR                      VA     90011662793
11545385272453   ROBERT         HANNEN                      PA     51031593852
11545973261972   SOFIA          MONTANEZ                    CA     90005989732
11546311391569   JUAN           GUTIERREZ                   TX     90004253113
11547785257147   JOSE NOEL      PINEDA                      VA     90013997852
11552532491569   MELISSA        ZAMBRANO                    TX     75060745324
11552654257147   TRISH          GORDON                      VA     90012456542
11553184772453   VINCE          KASYAN                      PA     51093741847
11553714651337   MAGNOLIO       RAMIREZ                     OH     90014957146
11553728491964   RUTH           NOEMI                       NC     90009237284
11556561877539   JAIME          DIAZ                        NV     43064355618
11556586757147   LUIS ENRIQUE   GONZALES                    VA     90014395867
11559184761938   JOHNA          MOOREHEAD                   CA     90014721847
11559337461972   MELISSA        MORELOS                     CA     90007383374
11561879661958   MELISSA        LEON                        CA     90011378796
11563344977539   JEFFERY        GREGG                       NV     43084203449
11564497231635   SANDY          WRIGHT                      KS     90005424972
11564739961958   D              PLACE                       CA     90012477399
11564935161958   CRISTINA       VASQUEZ                     CA     46070369351
11564961731687   MICHAL         WIELAND                     KS     90007509617
11564987261972   CHARMAINE      MEJOS                       CA     46094679872
11565379561938   ADAN           ORTIZ                       CA     90014773795
11565682531687   FELIX          VELAZQUEZ                   KS     22049496825
11566458572453   JEANNA         MAIN                        PA     51085384585
11566899491573   LUZ            GARCIA                      TX     75089898994
11567686193745   TATIANA        DEAN                        OH     90008176861
11568378693745   JEFFERY        MARTIN                      OH     90003183786
11568742991263   TIMMIKA        ARKWRIGHT                   GA     90000387429
11569355891569   ROLAURA        DE ANDA                     TX     90012373558
11571397661976   LENORE         WHITE                       CA     90013623976
11571617493745   MARY           MULLEN                      OH     90009926174
11572265991895   ANA            RENDON                      OK     21081452659
11572974961976   RACHEL         CARDENAS                    CA     90002289749
11575136661976   MARIANO        CURIEL                      CA     90014551366
11577133891885   BARBARA        WILLIAMS                    OK     90014731338
11578638661938   ROSALBA        PACHECO                     CA     90013246386
11578945593745   KEITH          CURTNER                     OH     64534069455
11579168333699   JERMECHICAL    BETHEA                      NC     90014171683
11582991933699   LATISHA        DRAWHORN                    NC     90014609919
11584353351337   CAPREASHA      MILLER                      OH     90005973533
11585915291569   EDGAR          MAGALLANES                  TX     90014579152
11586525161958   JESSICA        FELARCA                     CA     90008735251
11587377191569   SERGIO         VASQUEZ                     TX     90013743771
11587436747956   CHERYL         KNAULS                      AR     24028834367
11589363891263   MISTY          MIRAMONTES                  GA     90013783638
11591934861976   ANNABEL        CORONA                      CA     90012929348
11593113331687   LAQUISHIA      JOHNSON                     KS     90012011133
11593338231687   MARIA          FELISIANO                   KS     90014973382
11593687661938   TYLISHA        MOORE                       CA     46083766876
11594181833699   JOSE           DEPAZ                       NC     90003571818
11595251793745   DAVID          WEST                        OH     90015122517
11595468791895   STEVEN         CULVER                      OK     90014724687
11595965677539   MOHAMMED       MOSHERF                     NV     43000709656
11596375693745   ASHLEE         TUCKER                      OH     90011233756
11597492761938   JESSICA        FLORES ESTRADAS             CA     90015124927
11597524557147   MAURICIO       LOPEZ                       VA     90012805245
11599363891895   DALE           STEGALL                     OK     90007813638
11611597151599   CRAIG          PETERSON                    IA     90011735971
11611781361938   ANGELA         CAIN                        CA     90010307813
11612188761976   JONATHAN       SMITH-COUSINS               CA     90009111887
11613366471932   ANGELA         LETICIA CARRILLO            CO     90001733664
11614479161976   ALEJANDRO      TORRES                      CA     46010524791
11616676557147   MARITZA        PEREZ                       VA     90012606765
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11616942361958   JULIAN        GARCIA                       CA     46051079423
11617692493736   GIULIA        BRABGHIERI                   OH     90012616924
11619633361958   AIOTEST1      DONOTTOUCH                   CA     90015116333
11619746191569   MICHAEL       PEET                         TX     75013887461
11619845961972   MARTHA        KENDE                        CA     46054548459
11621184793745   BOBBY         COOTS                        OH     90013071847
11621495633699   JASBEER       SINGH                        NC     90013694956
11621497591569   GABRIEL       OAXACA                       TX     75073944975
11623154533699   KERTONIO      FISHER                       NC     90009451545
11624126891263   REGINALDO     SALINAS                      GA     90014171268
11624912991263   UNICE         YOUMANS                      GA     90013339129
11627919291569   ENRIUQUE      CARRILLO                     TX     90012639192
11628436591569   CHRISTEL      YLLARRAMENDI                 NM     75087054365
11628639861972   BERNICE       MURPHY                       CA     90011256398
11628834633699   TABATHA       FIELDS                       NC     90004208346
11629138277539   ELEAZAR       TRUJILLO                     NV     43088561382
11631579761958   JAMI          SHELLEY                      CA     46058615797
11631677751337   ANTTONETTE    WILLIAMS                     OH     90009726777
11631685447956   ROBERTA       PAINTER                      AR     90009736854
11632176793745   THOMAS        WENRICK                      OH     90013041767
11632655433699   ALFORD        ALFORD                       NC     90003156554
11633938341455   TRINA         PHILLIPS                     WI     90013699383
11634619261958   ALMA          ROCA                         CA     90008926192
11635643361972   ALMA ALICIA   ORTIZ                        CA     90011256433
11638199333699   MELISSA       BROWN                        NC     90013921993
11638354291895   PAULINA       ANGEL                        OK     90002693542
11642478161938   TERESA        FLORES                       CA     90014824781
11642538891895   JUSTIN        CARDOZA                      OK     90014935388
11642914877539   JUAN          MEJIA-MENDOZA                NV     43098659148
11644548672453   JESSIE        TRICKETT                     PA     51021115486
11645138557147   KULH          THAWNG                       VA     90013561385
11645398172435   JIM           PERRY                        PA     51031293981
11646552577539   SANDRA        ZAMORA                       NV     43051025525
11647863991263   DONALD        SCOTT                        GA     90010748639
11648392691996   LARRY         CHRISTIAN                    NC     17025453926
11648751893745   KRISTINA      BRUMMITT                     OH     90013637518
11649354561958   ANTOINE       MCNEILL                      CA     90002643545
11651167993745   BRANDON       HUFFMAN                      OH     90012821679
11652894791263   EVELYN        WASHINGTON                   GA     90014678947
11653488372435   JOHN          BERK                         PA     51008324883
11654369461938   IVAN          LOPEZ                        CA     90007143694
11654458493745   TRACY         TAYLOR                       OH     90014494584
11658252661972   ASHLEY        ZAMARRIPA                    CA     90013522526
11659784361972   SAHRA         ABDINUR                      CA     90015517843
11662969561976   LAUREN        DUNLAP                       CA     46041799695
11663338231687   MARIA         FELISIANO                    KS     90014973382
11663456857549   YANIQUE       WHYTE                        NM     75095664568
11666356241255   KIM           HILDEBRAND                   PA     51036383562
11666672777539   ARMANDO       CHAVEZ                       NV     43006166727
11667347161958   CHRISTIAN     TIZAPANECO                   CA     90014243471
11667533833699   ANDRE         MARTIN                       NC     90011165338
11672717457147   JULIA         RIVERA                       VA     81091697174
11674517961958   ELIZABETH     JARQUIN                      CA     90009405179
11676118691569   SILVIA        CUEVAS                       TX     90012631186
11676193857147   WILLIAM       BLAIR                        VA     90009281938
11676839661938   LEODAN        HERNANDEZ HERRERA            CA     90011618396
11677847591569   ESTELA        ESPINOZA                     TX     90014038475
11678937461976   GUSTAVO       MIRANDA                      CA     90008169374
11679128691895   ROSA          RODRIGUEZ                    OK     21051151286
11683662191584   LOROAMA       CABRAL                       TX     90011286621
11684648561958   EBONY         BEARD                        CA     90014006485
11685645191569   MARIA         LOPEZ                        TX     90007976451
11686671247956   SHAMICKA      MCGEE                        AR     24048926712
11687285472435   ANGELIQUE     THOMPSON                     PA     51013732854
11687428191569   MARIO         ROCHA                        NM     75020584281
11689349261972   MERITH        SIMBRON                      CA     90010283492
11692775557147   JULIA         REYES                        VA     90003037755
11693547833699   JOE           DRAYTON                      NC     90014655478
11693856891569   SONIA         LICERIO                      TX     90014178568
11694797357147   DRE           ROBERTS                      VA     90011867973
11695123431687   EARNEST       HEARD                        KS     90014571234
11698324331635   KAYLA         TORSKE                       KS     22016573243
11698516433699   BRANDON       NICK                         NC     90015075164
11699252591895   DEREK         SMITH                        OK     90013752525
11711349391569   SAMUEL        HERNANDEZ                    TX     75073383493
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11713492661938   SUSANA        CRUZ VERANO                  CA     46040064926
11713637351337   ADRIANNE      BELL                         OH     90005996373
11713866961972   ISRAEL        VILLA                        CA     46057688669
11714981693745   ELERY         SWARTS                       OH     90013929816
11715511161976   NANCY         RIVERA                       CA     90012245111
11716224857147   GREYSI        CORRALES AGUILERA            VA     90014382248
11717181931635   PAYGO         IVR ACTIVATION               KS     90006891819
11717781661958   SILVIA        TORRES                       CA     90014477816
11717917691569   ESTELA        SAENZ                        TX     90003249176
11721381151337   JAMIE         SOUTHERLAND                  OH     66005173811
11722517933699   CARLOS        MARTINEZ                     NC     90014695179
11722997991569   DANIEL        CAMUNEZ                      TX     90010359979
11724697731635   AMY           WALTERS                      KS     22099606977
11725894861938   ALEX          RENEAUM                      CA     90011618948
11726281461972   LESLIE        TORRES                       CA     46005042814
11727749391569   PHILLIP       BOCCUTO                      TX     90001767493
11727826391263   JAMES         DUDLEY                       GA     90005958263
11728386844322   FELISIS       HARRISON                     MD     90014143868
11728558591569   JOSE          GARCIA                       TX     75044045585
11732365291569   MARIFER       RAMOS                        TX     90014213652
11733324693745   ELIZABETH     NEALIS                       OH     90008313246
11734648561958   EBONY         BEARD                        CA     90014006485
11736327872435   TERRI         MIKOLAY                      PA     51060113278
11737617693754   ANGELA        ELLER                        OH     90007786176
11739478131635   MARY          HERNANDEZ                    KS     22040164781
11741438181629   ALESA         SPENCER                      MO     90012234381
11742472344353   JACQUELINE    MCNEIL DAY                   MD     90009074723
11745165291263   SABRINA       DUNBAR                       GA     90006011652
11745237461972   JAKE          GIBBENS                      CA     90015512374
11745323651337   ROBERT        SMITH                        OH     90011103236
11745492661938   TERESA        ORTIZ                        CA     90009634926
11745732147956   DENNIS        RIGGINS                      AR     24086047321
11746183261972   SAMUEL        VILLON                       CA     90006811832
11746273493745   BONNIE        DOOLIN                       OH     90013002734
11746778891263   SAMANTHA      GREEN                        GA     14511407788
11747434231687   NORMA         RAYMUNDO                     KS     22060874342
11747958991899   MARTIN        MARTINEZ                     OK     21069889589
11748547833699   JOE           DRAYTON                      NC     90014655478
11748699693745   SAMANTHA      GRAUMAN                      OH     90013696996
11751493251377   BRIAN         WILLIAMS                     OH     66094724932
11751525957147   RAMON         ALVORADO                     VA     90014715259
11752155561972   ANTONYIO      POWELL                       CA     90015311555
11752367391263   DIAMOND       BLAQUE                       GA     90014853673
11752541772453   CASEY         IVERY                        PA     90008445417
11753739772496   LOUIS         LONG                         PA     90005637397
11755124361972   HEN           DAWON                        CA     90014751243
11755879561976   LOURDES       LOPEZ                        CA     90004548795
11756558351333   SANDRO        IZQUIERDO                    OH     66068205583
11756597833699   ANDRES        ZAMARRON                     NC     90015435978
11756637561958   BENITO        GONZALES                     CA     90014676375
11756739772496   LOUIS         LONG                         PA     90005637397
11762174133699   BARBARA       MARTINEZ                     NC     90011311741
11763788193745   JULISSA       RAMIREZ                      OH     90013347881
11765857691263   RIGO          PEREZ                        GA     90013958576
11765941261938   LETICIA       OCAMPO                       CA     46001869412
11768117157147   EFRAIN        PORTILLO                     VA     90007291171
11768898793745   ROY           HILDEBRAND                   OH     90013818987
11769514372435   THOMAS        PIERCE                       PA     51073795143
11771487671929   TASHINA       HAWK                         CO     90005684876
11773395957147   MARIA         BARKER                       VA     90000123959
11773485661938   TYREE         LAMAR                        CA     90012134856
11777277461976   TYANAE        MCCLAIN                      CA     90015132774
11778915351337   LISA          HENDERSON                    OH     90002239153
11779236331635   PEDRO         PEREZ                        KS     22095562363
11779959972453   SHERRY        GLESK                        PA     51089479599
11781718591263   JARREL        ANDREWS                      GA     90007887185
11782544657147   ROSARIO       DAVALOS                      VA     81014545446
11783622693725   RAMON         ANCRUM                       OH     90012386226
11785661791569   RENE          BACA                         TX     90009996617
11786167361972   NELSON        ORTIZ                        CA     90013891673
11787289593736   GRACE         GONZALEZ                     OH     90004022895
11787468831635   CRISTINA      DE LEON SMITH                KS     22006224688
11787573991569   ANGELA        DURAN                        TX     90014715739
11788148691263   BEVERLY       BERRY                        GA     14570631486
11788932661972   JASON         DAIGLE                       CA     90011259326
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11789726257147   RICARDO       MOLENA                       VA     90012977262
11789736651337   MICHELLE      SESTER                       OH     90013757366
11791297291263   TAKIA         GREENE                       SC     90014862972
11791916591569   LAURA         HERNANDEZ                    NM     75098969165
11792281433699   JEREMY        WILLIAMS                     NC     90015152814
11795955261972   JESUS         REYES                        CA     90011259552
11796511191895   JEANNI        BIBER                        OK     90012115111
11797795133699   KESHIA        HURT                         NC     90014897951
11798434591569   SERGIO        HUERTA                       TX     90013404345
11799626461958   WILLIE        TATE                         CA     90008026264
11811839861972   MELISSA       CISNEROS                     CA     90001658398
11811982191895   JOYCE         MCDANIEL                     OK     21058809821
11812861272435   GERRI         REITER                       PA     51060398612
11813772533699   RODRIGO       GARCIA                       NC     12080557725
11814166291569   SERGIO        FLORES                       TX     90010801662
11814289493745   JENNIFER      OBERSKI                      OH     64524602894
11814981761958   ROSA          NUNEZ                        CA     90006559817
11815617791569   KEVIN         DE LA TORRE                  TX     90010346177
11817156891895   KENYA         WILSON                       OK     90002471568
11819585561976   LUZ           LARES                        CA     90012705855
11819842391569   OFELIA        ZAVALA-LEDEZMA               TX     75073178423
11822862172453   DAVID         HAYE                         PA     51048448621
11823357461976   CRUZ          KENDRICK                     CA     46091843574
11823435972477   KEVIN         LEMLEY                       PA     90009904359
11823612391869   RENEE         HEINERIKSON                  OK     90007486123
11823894761958   FCS           FGJDGJKD                     CA     46072918947
11825339272453   JOHN          VERHOLTZ                     PA     51065503392
11825563161958   OLGA          SANTOS                       CA     46042185631
11827775991895   WENDY         MURRY                        OK     90006517759
11828311361958   MARTHA        LOPEZ                        CA     90014543113
11831394161938   DEL RIO       MARK                         CA     46060043941
11831437191895   TONYA         NICKLES                      OK     21031524371
11831525761958   YANHARI       LEYVA                        CA     90014475257
11832215691895   JOHN          PEWEWARDY                    OK     90014622156
11832435161958   ELVA          LIDRAZZAH                    CA     46008424351
11834751893745   KRISTINA      BRUMMITT                     OH     90013637518
11835243761948   MARIAL        MACHADO                      CA     90002552437
11835624491569   ELIZABETH     BURCIAGA                     TX     90010986244
11836364544353   ANDREW        GARTHE                       MD     90013893645
11836593157147   WENDY         ROJAS                        VA     90001755931
11838511661976   DAVID         LOFTIS                       CA     90014445116
11839318461938   BRANDEE       MOORE                        CA     90010083184
11839549991895   KELLY         WALKER                       OK     90013045499
11839648161958   JESUS         MORALES                      CA     90011176481
11842167993745   BRANDON       HUFFMAN                      OH     90012821679
11842948861976   TRINIDAD      ZAMBRANO MELENDEZ            CA     46065809488
11845373693745   DUSTIN        WARD                         OH     64522913736
11845637361976   AIOTEST1      DONOTTOUCH                   CA     90015116373
11846259547956   JAMES         DRURY                        AR     90008042595
11847154661976   JOHN          LAGEMAN                      CA     46066931546
11847241393745   TIM           LUCAS                        OH     64506862413
11847978761972   IMALLY        HICKS                        CA     90002629787
11848618161938   JAMES         SCOFIELD                     CA     46017146181
11848633561972   AIOTEST1      DONOTTOUCH                   CA     90015116335
11848637572483   RUTH          BYRNES                       PA     51047246375
11849534461972   DEBRA         NORDE                        CA     90014885344
11849684157147   MIRTILA       BARAHONA                     VA     81096236841
11851836991569   JUAN          ANGUIANO                     TX     90002828369
11852356891263   RAYMOND       MARSHALL                     GA     90012233568
11853672561976   CYNTHIA       SANDOVAL                     CA     90013716725
11854264593745   ASHLEY        EDGERLY                      OH     64598222645
11854568131635   JOHN          RINGER                       KS     22016525681
11855878891569   CHRISTINA     DE LA ROSA                   TX     90015188788
11856476891263   ANGEL         COLON                        SC     90006814768
11856731491569   MARIA         MUNOZ                        TX     75020117314
11857351291569   LETICIA       REYES                        TX     75045233512
11857494461938   HECTOR        LOPEZ                        CA     46032444944
11857543133699   TIFFANY       TIMMS                        NC     90009455431
11857919891895   ANTONIO       CALDREON                     OK     21051159198
11858916561976   ANDREW        CATALETA                     CA     90008689165
11859113331687   LAQUISHIA     JOHNSON                      KS     90012011133
11861128951337   STEPHANIE     EVANS                        OH     66071211289
11862115633699   CHARLES       GRAVES                       NC     90003301156
11862373791895   AMY           MATHIS                       OK     90001563737
11862718531434   AISIA         DAVIS                        MO     90004187185
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11862831691263   ELAINE              BARNWELL               GA     14594968316
11863659593745   TYLER               HILE                   OH     90011446595
11863667851337   VIDAL               CARDENAS               OH     90013796678
11863951591263   SHARI               COX                    GA     90014379515
11864342972435   SAMANTHA            TWOMBLY                PA     90002453429
11864913461972   JOSHUA              ACHUTEGUI              CA     90014339134
11865818461938   LINDA               CANTLEY                CA     90014218184
11865963971923   RUBEN               INCERTO                CO     90009709639
11866725385922   RAQUEL              APARICIO               KY     67086637253
11867537651337   ERIC                SOLOMON                OH     90012065376
11872464531479   AMANDA              GRIFFITH               MO     90003044645
11872749461958   WALTER              DIAZ                   CA     90011287494
11873319561958   JOSE                BELLO                  CA     90012753195
11875419161958   MICHELE             GURCHIEK               CA     90013864191
11877341761958   ELIGIE              VILLARIN               CA     90012903417
11878424461958   THOMAS              GONZALES               CA     90015324244
11879442131687   CLINTON             HALL                   KS     90011604421
11881154931687   CHRISTOPHE          JONES                  KS     22052461549
11882594757147   JOSE                VELANDIA-SANCHEZ       VA     90001085947
11883156977539   CATHERINE           GATES                  NV     90002921569
11884356661958   JOSHUA              VERHEY                 CA     90013593566
11891114891569   LANCE               VARGO                  TX     90015011148
11892588651337   JAMES               CARTER                 OH     90012425886
11892633371925   SAM                 SALVO                  CO     90011266333
11892842141285   JAMES               HUDAK                  PA     51060408421
11894939155938   KATHY               KNIGHT                 CA     90013199391
11895116633623   ERNESTO             TRINIDAD               NC     90005381166
11896547172453   SINGULLA            BUTLER                 PA     51091195471
11896697972435   MELODY              DEKLEVA                PA     51007816979
11898412461972   ABBY                FEDERICO               CA     46022054124
11899562831635   BARBARA             NERO                   KS     22059295628
11899915151337   BRANDI              POWERS                 OH     66039099151
11911397191895   ALEXANDER           AIRRINGTON             OK     90013923971
11911637361976   AIOTEST1            DONOTTOUCH             CA     90015116373
11911864591263   RODERICK            BAKER                  GA     14583838645
11912176972453   SHERI               WALTERS                PA     90013151769
11916875691263   ERNEST              WILLIAMS               GA     14588448756
11917519861958   EDUARDO             RANGEL RODRIGUEZ       CA     46020985198
11917724157147   IMMAR               UMANZOR                VA     90014137241
11919456277539   MICHAEL             SMITH                  NV     43054574562
11921354461938   AIRSBEL             RODRIGUEZ              CA     90015113544
11921364772435   ANTHONY             SCALISE                PA     51094153647
11921696291263   NYEEMA              NOBLES                 GA     90002896962
11922519661938   ALEXIS              MORALES                CA     90011455196
11923977885962   PHILLIP             COOMER                 KY     90007179778
11924793961976   KARL                BLAFIELD               CA     90012337939
11925481561938   GONZALES-TRINIDAD   JULIAN                 CA     90007244815
11926251761958   DAVID               FOSTER                 CA     90002882517
11926648491895   CHERYL              HARRIS                 OK     90015106484
11926864191569   HELLEN              GUTIERREZ              TX     90010258641
11928216172435   ROBIN               GALLIPPI               PA     51012792161
11932488372435   JOHN                BERK                   PA     51008324883
11932527144322   RICHARD             COCHRAN                DC     90007815271
11937575731494   KATHY               PRICE                  MO     90005335757
11937944391895   PARYS               JOHNSON                OK     90013949443
11938121455973   VERONICA            ALMONTE                CA     90012421214
11941415757155   NOE                 MARTINEZ               VA     90013844157
11943723161938   GUS                 COTA                   CA     46022997231
11944788161976   PATRICK             THAGGARD               CA     46004837881
11946142757147   PHYLLIS             ALEXANDER              VA     81020091427
11947463461972   SINDI               AMANONCE               CA     90012234634
11948866991547   PATRICIA            CARACENA               TX     75074938669
11949368491569   ERIKA               CORDERO                TX     90000923684
11951587193745   MELISSA             BIRT                   OH     90014595871
11952224691895   RAYMOND             GAFNEY                 OK     21087732246
11955719461972   NATASHA             KENDRICK               CA     90012107194
11956637361976   AIOTEST1            DONOTTOUCH             CA     90015116373
11956886172453   MICHAEL             CAMPBELL               PA     51085818861
11957854191895   CHRISTINE           CURTIS                 OK     90008588541
11958283761938   DA'NEIA             NEELEY                 CA     90014722837
11958387761972   ANNA                ADRIAN                 CA     90009003877
11958423933699   JEREME              CROWDER                NC     90011204239
11958625451337   JAMEL               MAYFIELD               OH     90015246254
11958646547956   WENDY               PEER                   AR     24083726465
11958659231687   ASHANTI             PEAL                   KS     90010976592
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11959282461938   FABIAN           RAMOS                     CA     90014722824
11959661655933   DIANA            MORRIS                    CA     49043586616
11962819957147   IVAN             ZAPOTECATL                VA     81091188199
11964287861958   SURANG           PUNTHUNA                  CA     90014712878
11964529671982   NATHAN D         MAES                      CO     38006605296
11965254691263   TARSHA           PATTERSON                 GA     90014822546
11966353791263   MIKE             JONES                     GA     90006113537
11966368257147   DAVID            CHAVEZ                    VA     81044953682
11967913361976   MONICA           CHEE                      CA     90013729133
11969212961972   JOSE             CASTANEDA                 CA     90014942129
11969714377539   REINA            REAL                      NV     43025067143
11969896791997   HOPE             COLEN                     NC     90011668967
11974133261958   MARIA            LPOPEZ                    CA     90009551332
11977836731676   CLAUDIA          NARANJO                   KS     22083358367
11979167993745   BRANDON          HUFFMAN                   OH     90012821679
11981333291263   RASHEDA          GABRIEL                   GA     90002013332
11983459161938   MARIA            MORALES                   CA     46016014591
11984281977539   HIPOLITO         DE JESUS                  NV     90002922819
11984421957147   WENDY            RIVAS                     VA     90015184219
11984467631687   DAWN             MURPHY                    KS     90013434676
11985756161976   WALTER           SATTERWHITE               CA     90012047561
11987712561958   GLEN             MERRITT                   CA     90006087125
11989877257147   DAIBY            RODRIGUEZ MARAVILLA       VA     81062758772
11992351891569   ROCIO            RODRIGUEZ                 NM     75064973518
11992767131687   KIM              WILKINS                   KS     22091587671
11993173491327   ISRAEL           FERNANDEZ                 KS     90001651734
11993371961972   MOHAMED          BOSHARA                   CA     90013753719
11994632151337   MARCUS           GREER                     OH     90009546321
11994864131635   REGINA           SELLERS                   KS     22007368641
11995652861958   SABRINA          MEJIA                     CA     90014006528
11995698261938   DM               SIKORSKI                  CA     90014016982
11996416691895   JAMES            AUTEN                     OK     90012724166
11997446993745   BRENDA           HENTZ                     OH     90014924469
11998382391895   DAVID            NEIMEWER                  OK     90002623823
11998635957147   GLADIS           DEL CARMEN                VA     90013676359
11999257661958   VIVIANNE RENEE   ATKINS                    CA     90013042576
11999361593745   DENA             LEON                      OH     64518223615
12111661961976   JORGE            PEREZ                     CA     46069986619
12112441751337   MARQUISTE        TROTTER                   OH     90009454417
12113377593745   JESSICA          WORTH                     OH     64545803775
12116518861958   JAVIER           JIMENEZ PILLADO           CA     90010865188
12116547731635   ELIZABETH        SMITH                     KS     22016725477
12117983661938   TANIA            ROSENBERG                 CA     46084879836
12118264151337   KAREN            TUCKER                    OH     90013582641
12118275357147   REINA            RAMOS                     VA     90011922753
12119128793732   DEISREE          TURNER                    OH     90004811287
12119554491569   RICARDO          LUNA                      TX     90011385544
12121749891263   JINCEY           DAVIS                     GA     14570647498
12122269261976   ALEJANDRO        ARCE                      CA     90012852692
12122755547956   SHAUNTA          WALDON                    AR     24066707555
12122867391263   MICHELLE         BROWN                     GA     90014738673
12122962272458   ANITRA           JETER                     PA     90000549622
12123117191569   JOSHUA           ESCANDON                  TX     90012581171
12123149431687   TY               PHIPPS                    KS     22082541494
12126123985922   RICARDA          LOPEZ                     KY     90004401239
12126259161976   SELMA            BENITEZ                   CA     46007292591
12126758593736   ZAID             RUTLEDGE                  OH     90012567585
12128323231635   ELIZABETH        RILEY                     KS     22016733232
12128617791899   SONIA            CLADERON                  OK     21063146177
12128783393745   MEKA             FREE                      OH     90000307833
12129764761972   GERARDO          RUVALCABA                 CA     90009407647
12129923861976   KIM              TESORI                    CA     90010639238
12129934184375   MAURILIA         TERAN                     SC     90005479341
12132831231687   EDDY             BRYANT                    KS     90014278312
12132965761938   JESUS            MENDEZ                    CA     90008719657
12133954261972   MITZI            ITURBIDE                  CA     46025719542
12134344391569   JUAN             BOTELLO                   TX     90012273443
12134365991263   JAMIE            RIVERS                    GA     90010503659
12135721891569   ODALTYS          GUZMAN                    TX     90013457218
12136222293724   STEVEN           JAQUAY                    OH     90014262222
12136539757147   AUDRA            AGYEI                     VA     90008915397
12136624591895   CECILIO          VILLAVICENCIO             OK     90012306245
12136749884327   STEPHEN          CADE                      SC     90007737498
12137238755976   LISA             HIATT                     CA     49080932387
12137383555948   ROSEMARY         SALINAS                   CA     90014793835
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12137544661976   CELENE        EMBERSON                     CA     90014585446
12138412455948   ROSALIA       BETANCOURT                   CA     90014794124
12138465891263   JOHN          WILLIAMS                     GA     90014964658
12138967981629   JORGE         REYES                        MO     90001939679
12139378351337   ROBERT        WALALCE JR                   OH     66034003783
12141457133699   LAMON         HARRIS                       NC     12096764571
12143743861972   JESSICA       MUNOZ                        CA     90012107438
12143851891586   CRISTINA      FELIZ                        TX     75012518518
12143926961958   JOSEPH        MACLANG                      CA     46043579269
12143953355948   FAUSTINO      LEON SIXTO                   CA     90010539533
12144912531687   MARIA         CAMACHO                      KS     22043909125
12144917331456   DIANA         MUJKANOVIC                   MO     90011509173
12145953751337   TAWANDA       LUCKEY                       OH     90012909537
12146137355976   JOSEPH        MORALES                      CA     90013211373
12146361477539   NANCY         REIMEL                       NV     43074053614
12147615555948   MARIA         MURILLO                      CA     90014796155
12147814136157   CYNTHIA       SILVAS                       TX     90004238141
12149359733699   ADRIANA       ESTRADA                      NC     90014863597
12149715755948   NATALIA       MARTINEZ                     CA     90014797157
12151631457147   JOSE          ORELLANA                     VA     81045806314
12153223191579   OLGA          ROMERO                       TX     90008592231
12153726655948   ALICIA        TREUINO                      CA     90014797266
12153867377539   LAURA         MADRID                       NV     43046148673
12154726655948   ALICIA        TREUINO                      CA     90014797266
12155276591323   PRISCILA      UZCANGA-BERRUM               KS     90009832765
12156321391263   REXAN         SMITH                        GA     90014683213
12156931647956   NIKKI         MAYS                         AR     90006239316
12157724255976   MARIA         MORALES                      CA     90007617242
12158699391895   GILBERTO      SAUCEDO                      OK     21015546993
12158726655948   ALICIA        TREUINO                      CA     90014797266
12162588133699   FRANKIE       BEAL                         NC     12005015881
12164642361958   JOE           MONTES                       CA     90004526423
12169787757147   MARIELA       LOPEZ                        VA     90010747877
12171742555948   JENNIFER      BOYCE                        CA     90014807425
12173877161938   KACIE         DESMOND                      CA     90015028771
12174277155976   SALUSTIA      MARTINEZ                     CA     49041622771
12174456855948   FRANCES       PUENTES                      CA     90000304568
12176298461972   JAMES         WILSON                       CA     90001882984
12178367691895   MICHELLE      CAPPAI                       OK     21052653676
12179174561938   DAVID         REYES                        CA     90013101745
12179599593745   EDWARD        BURGE                        OH     90013835995
12181153661972   EVA           SEWELL                       CA     46004421536
12181581461958   CHRIS         GARBER                       CA     90011155814
12183643591895   LAVERA        WILSON                       OK     90011536435
12183814361972   VERONICA      BARRAZA                      CA     90002098143
12184142161976   MARIA ELENA   DAMIAN                       CA     90011541421
12184146257147   AMY           URRUTIA FLORES               VA     90005441462
12184324261938   GILBERTO      ARZOLA                       CA     90010733242
12184443561958   LOUIS         MOYA                         CA     90015204435
12184558591895   WILLIAM       EDWARDS                      OK     90014565585
12185372661972   ASCENCIO      PADILLA                      CA     90013623726
12186153772453   KID           WADE                         PA     90005801537
12187485555968   LAURA         NICKEL                       CA     90007084855
12188394693745   STEVE         SHELLABARGER                 OH     64590043946
12188491533699   JOHN          LOFTIS                       NC     12045674915
12191389155976   MICHELLE      HERNANDEZ                    CA     49015683891
12191862861976   REFUGIO       CASTRO                       CA     90008898628
12192739691569   CLAUDIA       ELIAS                        TX     90009957396
12192761551337   JACQUELINE    WOLFORD                      OH     90002407615
12192915257147   CRISTOVAL     DIAZ                         VA     90001439152
12192965247956   SARAH         CLEVELAND                    AR     90009589652
12193932555948   DORA LEE      ZARCO                        CA     90014939325
12194396255948   JAVIER        HERNANDEZ                    CA     90010563962
12194928961976   JONATHAN      LUNA                         CA     90013019289
12196195547956   MAURICIO      GUZMAN                       AR     90010501955
12196312161976   LILIANA       BENITEZ                      CA     90013923121
12196643651337   CLAUDIA       CANO                         OH     90009446436
12197575261972   ESTHER        ASTORGA                      CA     46082325752
12199227993758   WILLIAM       WHITE                        OH     90013072279
12199923355976   ELIZABETHQ    MEDINA                       CA     90012619233
12211198755976   MARIA         FLORES                       CA     90012581987
12212381161972   ANGEL         FLORES                       NM     46091043811
12213197555948   ANGIE         ZERMENO                      CA     90014861975
12214658661976   MILTON        LINDSEY                      CA     90010186586
12214991255948   JOSE          RAMIREZ                      CA     90014839912
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12215363861963   MARIO         CRUZ                         CA     90012293638
12215968855948   ROLANDO       REYNOSO                      CA     90014819688
12216517793745   LAURA         LEE                          OH     64594975177
12217523661976   JUAN          BARRON                       CA     90012495236
12218362431687   CHRIS         RONNFELDT                    KS     90014473624
12219475761938   JORDAN        MARTINEZ                     CA     90013624757
12221789833155   TCHIANA       OBBET                        IL     90015547898
12222293461958   ANDREA        MAY                          CA     90011482934
12223333891838   CYNTHIA       POYNER                       OK     90011843338
12223737391569   CHRISTIAN     CORTINAS                     TX     90012637373
12224156491569   LARRY         VAZQUEZ                      TX     90010281564
12224661361972   MONICA        HERNANDEZ                    CA     90014266613
12224857333699   CRISTY        MCQUEEN                      NC     90000858573
12225974255948   SHELIA        ARWOOD                       CA     49018379742
12226589431687   TESA          TURNER                       KS     90002895894
12226648555948   FLEMON        RAMOS                        CA     90014826485
12227899355948   ERNESTO       GOMEZ                        CA     90007498993
12228334393725   CHE           MOLEY                        OH     90012113343
12228572861958   MICAELA       LEYVA                        CA     46047495728
12231444551337   TINA          MCCLURE                      OH     66072364445
12231571777539   ALEXANNE      STONE                        NV     90003815717
12232114431635   RUDOLPH       GUTIERREZ                    KS     22026531144
12232938355948   FILIBERTO     PEREZ                        CA     90012859383
12234113161976   JORGE         HERRERA                      CA     46065941131
12234131761938   LARRY         WILLIAMS                     CA     90005511317
12235997281629   ASHLEY        KINSEY                       MO     90001649972
12236654461958   REBECA        NUNEZ                        CA     90012806544
12241127991569   ELIZABETH     SANCHEZ                      TX     90012581279
12241937357147   MARLON        GALVEZ                       VA     90010339373
12242214155948   GENE          TURNER                       CA     90014862141
12244673255948   ANGEL         ZURITA                       CA     90012716732
12245293261958   CARLOS        TACUBA                       CA     90012812932
12245314861936   ALAN          GOMEZ                        CA     90014723148
12245677655948   MARCELA       SANDOVAL DE OROZCO           CA     90014826776
12246996491569   ERENDIDA      ORTIZ FAVELA                 TX     90013809964
12247296455948   ANA           LOPEZ                        CA     90014912964
12247517491895   ALISHA        NORMAN                       OK     90011295174
12248156833699   ANGELICA      BARRETO                      NC     12077881568
12248561361972   CARLOS        RAMIREZ                      CA     90011515613
12249158857147   THERESA       WASHINGTON                   VA     90013181588
12252295755976   ANTHONY       ROSALEZ                      CA     90014762957
12252697691895   BRANDIE       MCNACK                       OK     90000806976
12252956493745   JENNIFER      SCHRICKER                    OH     90002719564
12253376761976   SUDO          SOFIA                        CA     90009713767
12254376831687   JASON         ISAACS                       KS     90014873768
12254531761972   LUIS          SANDOVAL                     CA     90013265317
12254642251337   TERRANCE      HOLDEN                       OH     90015056422
12254655857147   JORGE         ARIAS                        VA     90013866558
12255248457147   EBERT         VELASQUEZ                    VA     81021162484
12256126761972   ADRIANA       GARCIA                       CA     90007401267
12258374561976   JONATHAN      PAK                          CA     90012743745
12259331284375   PATRICK       MASTERSON                    SC     90005483312
12259611161938   DERRICK       BURSE                        CA     90007136111
12261529361976   TEDDY         HALL                         CA     90010875293
12261671531687   LINDA         BATY                         KS     22073476715
12263433461958   JUANITA       GARCIA                       CA     90011064334
12264165677539   CONNIE        RAMBEAU                      NV     90011061656
12264531677539   CONNIE        RAMBEAU                      NV     90014095316
12264982947956   MARIN         GARCIA                       AR     90013279829
12265176461972   ANTHONY       ESPINO                       CA     46025201764
12265782591895   ANGELA        VELASCO                      OK     21079747825
12268297131635   JOSEPH        ANDERSON                     KS     22026932971
12268617761968   WAYMON        EDDINGTON                    CA     90008976177
12269147155976   WILLIAM       ADAMS JR                     CA     49017721471
12272154593745   STEVEN        FLORY                        OH     90010561545
12272366947956   RICHARD       LAWRENCE                     AR     90011133669
12274198591263   GERQUITA      DAVIS                        GA     90015501985
12274852961938   ANTHONY       BATEMAN                      CA     46075178529
12275198951337   KENNETH       SATTERWHITE                  OH     90013341989
12275628247956   TRAVIS        DALTON                       AR     90010516282
12276314831687   THOMAS        WHEELER                      KS     90015213148
12277437993745   RODNEY        FRANKLIN                     OH     64506554379
12278323291346   ROBBIE        DUNCAN                       KS     90013843232
12278752461972   FERNANDO      MORENO III                   CA     46053277524
12281819993745   JESSICA       TUFTS                        OH     64500438199
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12282396655948   GABRIELA      DAZA                           CA   90004873966
12282932755976   SANDRA        RENTERIA-HOLT                  CA   90003499327
12283389391569   ANNA          HERNANDEZ                      TX   90012133893
12283594461976   MARIA         URIBE                          CA   46095365944
12283811391974   OTONIEL       RIVERA                         NC   90000928113
12284615361958   ZIYA          ARSLAN                         CA   90003946153
12285849461972   RAUL          PADILLA                        CA   46020228494
12286542491895   KYLE          WHITE                          OK   90012965424
12286588584375   RHODA         WHITE                          SC   90010255885
12287885871923   RICHARD       STRANDBERG                     CO   32000588858
12288572191895   LEEANN        TALIAFERRO                     OK   90013325721
12291149461976   YVONNE        MACIAS                         CA   90014321494
12291246551337   NATHAN        HALL                           OH   90013342465
12291714255948   TAMARA        CRAWFORD                       CA   90006787142
12292183691263   DENVER        HOUSTON                        GA   90013811836
12294433461958   JUANITA       GARCIA                         CA   90011064334
12295913231676   EMILIO        NUNEZ-BRAVO                    KS   90010699132
12297134472453   SHELBY        MCCOWIN                        PA   90006491344
12297379991263   JOSEPH        SHEPPARD                       GA   90007993799
12298622261978   CECI          LOPEZ                          CA   90014266222
12299666661958   JESSICA       ROBLEDO-POWERS                 CA   90008046666
12311432761958   SCOTT         CARO                           CA   90012274327
12311839557147   NESTOR        MELENDEZ                       VA   90008788395
12313718572458   TOM           GIKAS                          PA   90007377185
12314272961958   MERRILL       LOVELACE                       CA   90014002729
12314862972435   LEAH          PIPER                          PA   51093598629
12315699355976   KAREN         NOU                            CA   90013456993
12317315361958   FERNANDO      DURAN                          CA   90009413153
12317768955948   ROMAN         DE LA ROSA                     CA   49004947689
12317785661976   EDGAR         URUETA                         CA   90013857856
12317987461938   DAO           YANG                           CA   46029079874
12319916191569   DEBORAH       NASH                           TX   75043929161
12321195941455   ARLENE        TRAWICK                        WI   90015611959
12321265761972   VICTOR        NUNEZ                          CA   90013852657
12322967657147   ASTER         ASFAW                          VA   90011319676
12323477761976   JOSE          HERNANDEZ                      CA   90013154777
12325396661976   JESSE         CHAVEZ                         CA   46030423966
12325613561958   JAKE          TORRENCE                       CA   90013786135
12325843391569   CARLOS        TORRES                         TX   75022378433
12327623661958   PHILLIP       RIVERA                         CA   90000156236
12328326361976   MARIA         DEL CONSUELO GALINDO CUELLAR   CA   90008013263
12328738355948   MARIA         ARZATE                         CA   90012717383
12329183361958   MARIBEL       COLMENARES                     CA   46006161833
12329831955976   RAQUEL        GARCIA                         CA   90004698319
12329844972483   CYNTHIA       CUNNINGHAM                     PA   51007448449
12329886791263   ALISSA        KELLY                          GA   90014888867
12332377593745   JESSICA       WORTH                          OH   64545803775
12332554891895   RUBEN         HURTADO                        OK   90012965548
12332642961958   BILL          JEFFLOTT                       CA   90002986429
12333423391244   DESMOND       DUVAL                          GA   90005384233
12334346491263   DALTON        SAXON                          GA   90011303464
12334399972435   GARY          NEGLEY                         PA   51012993999
12334781477343   SHAVON        GIBSON                         IL   20590777814
12334891891263   NICOLE        WALDEN                         GA   90014738918
12335292847956   TARA          REESE                          AR   90014152928
12335969991895   PATRICIA      RESS                           OK   21045219699
12336857361976   LISABETH      GUERARA                        CA   90005308573
12338367261958   TREVOR        HERMANN                        CA   90010853672
12339567231687   TRAVIS        MCGILL                         KS   90013995672
12341337161972   RICARDO       MACIAS                         CA   46042313371
12341745661938   PAT           JONES                          CA   46080327456
12341833355976   CAROLINA      PACHECO                        CA   90013888333
12341886533699   LINDA         MCLEAN                         NC   90012938865
12343469355948   ALFONSO       ZAMORA                         CA   90005144693
12343813441455   DIANA         DEVONSHIRE                     WI   90014158134
12344678891838   ROBERT        WARRINGTON                     OK   21068496788
12346194177539   HECTOR        MARTIN                         NV   43015391941
12346453261958   LONNIE        HESTER                         CA   46054064532
12346511955938   LAURA         SHERRILL                       CA   48069455119
12349663572435   MICHAEL       LAMBERSON                      PA   51031146635
12349918926289   STEWART       RYAN                           WI   90014789189
12352836947956   TERRI         CRAIG                          AR   90008388369
12353276372453   PHILIP        SIMPSON                        PA   51011522763
12353695293745   HOLLI         BOOKER                         OH   64531306952
12353896561958   JOSE LUIS     MARTINEZ                       CA   46079728965
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12354134472453   SHELBY             MCCOWIN                 PA     90006491344
12354819391895   ASHLEE             VAN FOSSEN              OK     90011298193
12354928361938   JAMES              WOHLBERG                CA     90015249283
12355699461968   EDWARD             RAMOS                   CA     90009006994
12356613151337   ALEXANDRA          HEINRICH                OH     90014396131
12356628491899   GILBERTO           ARANGO                  OK     21069476284
12356757791895   TAMMY              COOKS                   OK     90013457577
12358781361958   FRANSISCO          HERNANDEZ               CA     46019157813
12359979461976   IVAN               VASQUEZ                 CA     90014769794
12362975361976   TERESA             GONZALEZ                CA     90000489753
12363679331687   CHRISEY            OWEN                    KS     90015156793
12363816333699   DEBORAH            ALBERT                  NC     90010368163
12364128157147   STEPHANY           VENTURA                 VA     90012441281
12365437631635   CHUCK              FLETCHER                KS     22066264376
12367598861972   RIOS               ISABELL                 CA     90004795988
12368746461976   CARMEN             CASTRO                  CA     46044027464
12369249191899   CHRISTOPHE         JACKSON                 OK     21020992491
12371794185836   JOSE               OCHOA                   CA     46010137941
12372848561958   GABRIEL            RIVERA                  CA     90012768485
12373486161976   DONOVAN            CEBALLOS                CA     90006354861
12375379647956   BRANDON            PRATT                   AR     90014283796
12375445541255   CHRISTINE          SUNGALA                 PA     90001404455
12375747291569   EDUARDO            GUTIERREZ               TX     75073607472
12375882491895   VIRGINIA           VALDEZ                  OK     90011298824
12376149161958   JUAN               ROMAN                   CA     46093131491
12377244491569   RANGEL             ZULMA                   TX     75060642444
12378594493732   MICHAEL            BRITCHETT               OH     90007505944
12378757533699   JULIO              REYES                   NC     12012127575
12379549393745   STACY              KING                    OH     90013565493
12379735361938   BEATRIZ            SAEZ                    CA     90011417353
12379781431687   JOSHUA             WOMACK                  KS     90003537814
12381433833699   JACK               KEROUAC                 NC     90010574338
12381596691569   CLAUDIA            ESPARZA                 TX     75081335966
12381978461972   BYRON              PEREZ                   CA     46047099784
12382345861976   DANIEL             RIVERA                  CA     90009703458
12382959555948   ADAN               ORTIZ                   CA     90001849595
12384387157147   MARIA              ESCOBAR                 VA     90009923871
12388191133699   CHARMIN            MONQUIE                 NC     90010991911
12388371677539   MARIA              ARIAS                   NV     90007283716
12388625433699   ORLANDO            ORTEGA                  NC     90009796254
12392194984375   CRYSTAL            RICHARDSON              SC     90005511949
12392691593745   ALAN               WILLIAMS                OH     64528036915
12393665855948   ANNETT             LARIOS                  CA     49072356658
12393882261958   FELIPE             RAMIREZ                 CA     90012468822
12395956931687   KENA               POTTORFF                KS     22062799569
12396678251337   ROSALYNN           RICHARDSON              OH     90001776782
12396712661958   MIRIAM             LOPEZ                   CA     90009117126
12397195791895   AMBER              MCBROOM                 OK     90003021957
12397529793745   ALYSSA             FRANCIS                 OH     90005075297
12398292757192   MA JUANA           VALLEJO DE MALDONADO    VA     90013672927
12398449191569   VICTOR             GUTIRREZ                TX     75015074491
12399992491838   TAMMY              CURTIS                  OK     90005149924
12411754761976   SHAWNAE            JOHNSON                 CA     90014887547
12412272233699   MARISELA           TORRES                  NC     12005832722
12412412272435   KAZMIECZYK         DANA                    PA     51046224122
12413324193745   TIFFANY            GRAUMAN                 OH     90012283241
12413496931687   ASHLEE             ZINDEL                  KS     90013314969
12414795157147   LEO                GUZMAN                  VA     90012517951
12418578261976   YOLANDA            ROY                     CA     90001385782
12418579761972   DAVID              WILSON                  CA     90014845797
12419616891962   AMANDA             COOKE                   NC     90006076168
12419953893745   STACY              CRUMPLER                OH     90013599538
12419989541455   AUSTIN             MICHALSKI               WI     90015489895
12421677893745   ASHLEY             WEBB                    OH     90006286778
12422298755976   FERNANDO RICARDO   MEDINA                  CA     90002342987
12425633561976   AIOTEST1           DONOTTOUCH              CA     90015116335
12425673361958   JUSTIN             MUSSER                  CA     90012946733
12426191477539   ASHLEE             HAZEL                   NV     43083201914
12426747493745   NICOLE             BURTON                  OH     90000327474
12429222791895   CRISTY             LENTZ                   OK     21004732227
12436478747956   JASON              MACDONALD               AR     24030524787
12438884191895   SAQUITA            BURELL                  OK     90015018841
12439326661958   EFIGENIA           FERNANDO                CA     46073073266
12441797333697   CHLOE              MOORE                   NC     90012917973
12442259847956   CLAUDIA            GARCIA                  AR     90009862598
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12442918561958   VINCENT       GONZALEZ                     CA     90013469185
12443168455976   LUIS          MEDINA                       CA     49073021684
12444772461938   NOBERTA       MORALEZ                      CA     90013017724
12445275561976   NADINE        LINDO                        CA     90012852755
12445523147956   STEVEN        SIBARY                       AR     24006655231
12445766991569   SERGIO        ALTIERRA                     TX     75083657669
12447146547956   JENNIFER      STARKEY                      AR     90008801465
12447442255948   VALERIE       ATTINELLO                    CA     90005164422
12448446355948   VIOLET        GUZMAN                       CA     90014974463
12448725993732   CARLOS        JUAREZ                       OH     90006497259
12448767491895   JAMES         DELANEY                      OK     90011537674
12449248851337   JOSHUA        WHARTON                      OH     66011752488
12451565131635   MARTIN        NIETO                        KS     90009195651
12452176161972   REBECA        ESTRADA                      CA     46006291761
12452233831635   JESSICA       NAVA                         KS     22055232338
12452628261938   ROGELIO       PEREZ                        CA     90004706282
12453975231635   MARCUS        LANE                         KS     22007369752
12455536457147   EDWIN         GUERRERO                     VA     90013075364
12456386493745   LEON          GAYLE                        OH     90005013864
12457973147956   JESUS         MEZA                         AR     90003469731
12459492391569   JOSE          GORDILLO                     TX     90012554923
12459939155948   JAVIER        CARRANZA                     CA     49045379391
12461878691569   DAVID         MUNOZ                        TX     90010788786
12462924391895   PENNY         DEATHERAGE                   OK     21032289243
12465112555976   ERIKA         ZUNIGA                       CA     49094951125
12465129861948   GILDARDO      PADILLA                      CA     90007581298
12465369333699   ADRIANA       LOPEZ                        NC     90012613693
12465977747956   ANGELA        BOOKER                       AR     24048299777
12466396155948   JOSE          PACHECO                      CA     90015043961
12467124391569   ARIANA        MADONADO                     TX     90004401243
12467429391263   VICTOR        ROSE                         GA     90014924293
12467922172435   VICKIE        HARTMAN                      PA     51079139221
12469237954133   CHERYL        DECKER                       OR     90014282379
12471596251393   JULIE         DEFFREN                      OH     90011965962
12471629657147   OSCAR         GAMEZ                        VA     90013576296
12472718991569   JUAN          MENDEZ                       TX     90008587189
12473448361938   CHANDLER      DESHAZO                      CA     90011244483
12473961971923   DAISY         ARIOLA MARQUEZ               CO     90011749619
12474568191569   ABELARDO      ANTILLON                     TX     90011145681
12475565555976   LISA          VIVEROS                      CA     90003955655
12478517961958   JUDY          SMALLEN                      CA     90015175179
12478675455948   FRANK         REYES                        CA     90011426754
12478966961972   LILIA         CASTRO                       CA     46013999669
12479155791569   DAVID         MCCARTHY                     TX     90008041557
12479353355976   KRYSTAL       MARTINEZ                     CA     90015163533
12479728791547   LESLIE        RODRRIGUEZ                   TX     90008737287
12481184355976   ALEJANDRO     ROMERO                       CA     90013121843
12481843291895   ELONDA        JONES                        OK     90011538432
12482278872453   STANLEY       VARNER                       PA     90006892788
12482671855948   MARK          BROWN                        CA     90011686718
12482692361972   REBECA        DUARTE                       CA     90007776923
12483299831687   TERRI         FARR                         KS     90013162998
12483664761972   MONICA        LEON                         CA     90012296647
12485367251337   STEVEN        SALYERS                      OH     66057843672
12485819231687   MEAGAN        BLACKWELL                    KS     90012358192
12486976755948   ARTHUR        BLAND                        CA     90000629767
12488814393745   DESTINY       FLORES                       OH     90009228143
12489124391569   ARIANA        MADONADO                     TX     90004401243
12491162555948   MARIANA       LLAMAS                       CA     90011411625
12491542533699   TAMEKA        LEWIS                        NC     90013685425
12491654661976   RODOLFO       CATEURA                      CA     90008136546
12492955993745   ABLE          EVANS                        OH     90007599559
12493193551599   MANUEL        GAMBOA                       IA     90015431935
12493633791895   CHRISTY       SHANNON                      OK     90014466337
12493998761972   CURIEL        ESTRELLA                     CA     90012159987
12494823961972   SHERN         SAMSON                       CA     90010138239
12495994461958   TERESA        GONZALEZ                     CA     90014839944
12496531191569   SERGIO        ONTIVEROS                    TX     90006315311
12497198491569   ROBERT        LOPEZ                        TX     90013551984
12497823251337   NANCY         WALTON                       OH     66012498232
12499263951337   WILLIAM       DOPF                         OH     66096912639
12511477155948   ESMERALDA     HERNANDEZ                    CA     90015054771
12511512233699   VASHON        WILSON                       NC     90014085122
12512161361976   DEYADIRA      MORENO                       CA     90007521613
12512666861972   RAUL          PALONERA                     CA     90003846668
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12512732843588   IDALIA            LARSEN CASIANO           UT     90011797328
12512963891263   LISA              GREGORY                  GA     14503429638
12513287557147   LUIS              ABARCA                   VA     90009832875
12514477155948   ESMERALDA         HERNANDEZ                CA     90015054771
12517985755948   MARTHA            TORRES                   CA     90003979857
12518916133699   ALECIA            SMITH                    NC     90012259161
12519184655948   RENE              VALDIVIA                 CA     90011701846
12521791561976   SERGIO            GARCIA                   CA     90014407915
12521941461972   HEIDI             GOMEZ                    CA     90007809414
12525485477539   JACOB             CAROLIN                  NV     43018124854
12525985533699   MARTHA            WITHERSPOON              NC     90014799855
12527395691895   EDWIN             HARRIS                   OK     21001803956
12527632247956   MARIA             VAZQUEZ                  AR     90006146322
12528722291826   DANIEL            COCHRAN                  OK     21075427222
12531698193745   SHAWN             FAIR                     OH     64551836981
12532121247956   JANAIA            WRIGHT                   AR     90014701212
12532376761938   BRIAN             SNELSON                  CA     90014053767
12532459991884   ROBERT            RATLIFF                  OK     21096914599
12534718157147   VICTOR            DIAZ                     VA     81022357181
12534934161938   CESAR             CAMPOS                   CA     46022379341
12535222891895   WILLIAM           PATTERSON                OK     90013292228
12535838577539   RHONDA            TERAN                    NV     43098028385
12536624457147   NICOLE            MCCONNELL                VA     90013266244
12538765772435   EDWARD            MARKUNAS                 PA     51048607657
12539945961972   MIKE              MOORE                    CA     90006369459
12541692461972   BRENDA            RAMIREZ                  CA     90012236924
12543352547956   VANESSA           PADILLA                  AR     90011603525
12543928391895   RALPH             MCLAUGHLIN               OK     21001489283
12543946793745   SIERRA            WILLIAMS                 OH     64541329467
12544197861972   MARIA             CARRILLO                 CA     90014251978
12544293591569   CARLOS            SILVA                    TX     75041192935
12546285661958   ROBERTO           IBANEZ VIDAL             CA     90012812856
12546733947956   HEATHER           HORTON                   AR     24024327339
12548918491895   SOLIDA            NANEZ                    OK     90012999184
12549663661972   SARAHI            HERNANDEZ                CA     90010406636
12551265125386   ALYSSA            RAMIREZ                  WA     90015422651
12551954251337   DANEEZSU          MCCLOUD                  OH     90012929542
12551987855976   CHRISTINA         GARZA                    CA     90014779878
12553516561976   ROSEANN           MESTA                    CA     90001665165
12553877657147   MORENA            AMAYA                    VA     90015308776
12554647457147   KAREN             VALDEZ                   VA     81059066474
12554913231676   EMILIO            NUNEZ-BRAVO              KS     90010699132
12555576247956   AUNJOLIE          COLEMAN                  AR     24031895762
12556238861938   NICK              OLIVIERI                 CA     90013242388
12556379361976   FLINT             FIELD                    CA     90009423793
12557196261972   PATRICIA          CRUZ                     CA     90000301962
12557384461938   SILAILAI          SAVALI                   CA     90010663844
12557691961976   JOANN             CEDILLO                  CA     90013716919
12558418561938   VALERIE           OSOBAMPO GERARDO         CA     90013794185
12559547791573   DANIEL            PONCE                    TX     75003635477
12559929591569   JOEL              WHITUS                   TX     90014389295
12561228761976   JADE              NAVA                     CA     90011482287
12561257261972   CARLOS            NORIEGA                  CA     90015162572
12561559933699   JOYCE             CLARK                    NC     90014815599
12561915151337   SUSANA            ARAUJO                   OH     90009969151
12562367233699   CUNG              KUK                      NC     90015153672
12563869131687   JESSICA           OLSON                    KS     22059218691
12565241985977   RAYNETTA          DAVIS                    KY     90005382419
12566336361958   SHARON            MONDRAGON                CA     90002863363
12567294951337   ASHLY             BOHRER                   OH     90014852949
12567892261938   CESILIA           SOLANO                   CA     46089668922
12568361691263   JAMESMINE         DAVIS                    GA     90013743616
12568372931687   CARLOS            AVILA                    KS     90012653729
12569773255976   TERESA            JESSIE SANCHEZ           CA     90010837732
12569882657122   MAURICIO          DORIA MEDINA             VA     90011918826
12573528161976   BARBARA           CASTANEDA                CA     46070875281
12573969947956   LOUIS             PAXTON                   AR     90007739699
12575252161972   FELIPE            VAZQUEZ                  CA     90011962521
12576491551337   RENICUL           KELLEY                   OH     66006314915
12576538157147   IVAN              RIVAS                    VA     81010405381
12578464461958   BIANCA            POPPLEWELL               CA     90014484644
12581239491569   MARIA MAGDALENA   CASTILLO RANGEL          TX     90014742394
12581322451337   GREGORY           TIDWELL                  OH     66069773224
12581846561972   LAURA             GONZALEZ                 CA     46086058465
12585785293745   JAMES             MONDAY                   OH     90012267852
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12586579377539   MARICELA        RODRIGUEZ                  NV     43073215793
12588219857147   ALEXANDER       ZANCHES                    VA     90014012198
12591156191569   CRYSTAL         MINJAREZ                   TX     75092411561
12591688961958   RYLEE           JOHNSON                    CA     90012946889
12591877747956   BRANDY          LIEURANCE                  AR     90005158777
12594195561976   ROSA            YZABAL-CONTRERRAS          CA     90009811955
12594321993745   DAVID           POTTS                      OH     90012833219
12595931191399   CULTIVATE       KANSAS CITY                KS     90014649311
12596845561976   CELIA           DOMINGEZ                   CA     90007228455
12596855641384   GLADIS          ORELLANA                   MA     90011558556
12596873661938   TANYA           FUAD                       CA     46090118736
12597436691573   BLANCA          DELFIN                     TX     90010114366
12597618771929   CONNIE          ARREOLA                    CO     90001276187
12598412461938   ABBY            FEDERICO                   CA     46022054124
12599735351337   THOMAS          SORRELL                    OH     90011327353
12611514247956   MORENA          MACHADO                    AR     90002065142
12611677291895   MARIA ROSARIO   SALAZAR                    OK     90012966772
12611837431687   KEITH           MCGAUGH                    KS     90011608374
12612356691895   BRYSON          HUNT                       OK     90008963566
12612481361976   JAZMIN          DE REAL                    CA     90013294813
12613864293745   BRADLEY         STERLING                   OH     64582308642
12615752661972   JUAN            LOPEZ                      CA     46016537526
12616191933699   OBHAJIAJEMEN    EMIOHE                     NC     90004521919
12616297931635   STEFANIE        MAZE                       KS     22050622979
12616478257147   BLANCA          ORELLANA                   VA     90014004782
12616785691569   TERESA          MENDOZA                    TX     90013137856
12616914847956   CASSANDRA       JEFFRIES                   AR     90013919148
12617195461972   JESSIE          CHIUZ                      CA     90001961954
12617275361972   ABRAHAM         CARRILLO                   CA     90013122753
12617576291569   VERONICA        DE ROMO                    TX     90013545762
12617971933699   LAURA           BERCIAN                    NC     12044239719
12621653555948   DELIA           PIMENTEL                   CA     49007726535
12623834933699   PAYGO           IVR ACTIVATION             NC     90010738349
12624135255976   CHRIS           FLORES                     CA     90011601352
12624546147956   JOSEPH          ELKINS                     AR     24011265461
12625221457147   ANTONIO         ARGUETA                    VA     90014042214
12625288591263   VALENCIA        ALLEN                      GA     90010562885
12626275161976   CLAUDIA         ROMO                       CA     90012752751
12628426451337   TERESA          GUEVARA                    OH     66012114264
12628433557147   ATILIO          HERNANDEZ                  VA     90012924335
12631651851337   JOHN            TORRES                     OH     90011916518
12632466747956   LISA            VANBRUNT                   AR     90014604667
12632948841295   GREGORY         CUMMINS                    PA     90001179488
12634227355976   JOHNTEI         BURTON                     CA     90011302273
12634523191895   DANIEL          ALEJANDRO                  OK     90013525231
12634673457147   GERSON          ALVARADO                   VA     90009016734
12634995461958   DUNIA           MOBLEY                     CA     46008479954
12635359291569   SANDRA          PEREZ                      TX     75087923592
12636213691263   ALEJANDRO       RAMIREZ                    GA     90013092136
12636223357147   SAMUELSON       PAPSOSESAY                 VA     81023982233
12636529291895   DUSTIN          STIGALL                    OK     90011545292
12636973955976   FLASH FEE       FEE                        CA     90013329739
12637545961976   WALDO           VALENZUELA                 CA     46092885459
12638997393745   JUSTIN          CLARK                      OH     90011069973
12639326451337   JERMAYNNE       JACKSON                    OH     90014713264
12639799757147   OSCAR           RIVA                       VA     90011757997
12642598451337   MORGAN          CARTER                     OH     90013685984
12644514893745   NICOLE          MOTE                       OH     64574885148
12644657761958   ELAINE          MAGANA                     CA     90015326577
12646441377539   KEVIN           DONNELL GENERAL            NV     90003464413
12646912655948   MARIA           BELTRAN                    CA     90011729126
12647969993745   TAWNYA          EMRICK                     OH     64506999699
12648434171929   SANDRA          JURADO                     CO     32031624341
12648725691524   TOMMY           MARTINEZ                   TX     90011967256
12649638731635   CINDY           MUHAMMAD                   KS     90013756387
12649672791547   JOSE            PRADO                      TX     90010686727
12651394891569   NANCY           BALDERRAMA                 TX     75018983948
12651655231687   JUAN MANUEL     BUSTOS                     KS     90002136552
12652359993745   JAVIER          BUSTAMANTE                 OH     64559133599
12654158355948   PAULA           ALAMILLO                   CA     90008761583
12654174357147   CHARLES         KATOROOGO                  VA     90011001743
12656494433699   MEGAN           BLACK                      NC     90013144944
12657193671923   SANDY           WILLIS                     CO     90009451936
12658871161938   ROBERT          WESLEY PARFITT             CA     90012668711
12659143161976   ENEDINA         CHUMACERA                  CA     90011661431
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12659146891895   RHONDA        BARNES                       OK     21055021468
12659936577539   FRANCISCO     DEL RIO                      NV     90012629365
12661721657147   LORRI         LANE                         VA     81001327216
12661827961958   CHARLES       RIESER                       CA     46008488279
12663781854152   KELSIE        ANDERSON                     OR     90013857818
12664317431687   APRIL         JONES-WILSON                 KS     90009193174
12664735693745   TRENTON       FOSTER                       OH     90002437356
12664832561972   AIRAM         BELTRAN                      CA     90014928325
12664862961976   ESPERANZA     PINEDA                       CA     90013798629
12665261261972   JENNIE        HAYES                        CA     46044382612
12665338791549   BERTHA        AGUILAR                      TX     90003043387
12665663677539   JOALLEAN      HAWLEY                       NV     90003066636
12666481933699   NATASHA       MARSH                        NC     90012284819
12666576791569   YOLANDA       SIMENTAL                     TX     90002145767
12667157191895   MARLO         RAMIREZ                      OK     90014761571
12667336791547   OSCAR         GARCIA                       TX     90004363367
12667499657147   CHRISTINE     SMITH                        VA     90014554996
12667887791263   JAMES         GEIGER                       GA     90010318877
12668541791263   SARAH         DOZIER                       GA     90010365417
12672417751337   DAMON         ROBINSON                     OH     90012454177
12672623555948   FAVIAN        AMEZCUA                      CA     90011736235
12672882391895   KARRIE        COX                          OK     21036938823
12675141247956   DANNY         CONN                         AR     24077571412
12675511161958   CLAUDIA       RUELAS                       CA     46038045111
12675711951337   MELINDA       LYDIAN                       OH     90011057119
12676241985977   RAYNETTA      DAVIS                        KY     90005382419
12677577691895   RHONDA        FOSTER                       OK     21001045776
12681219131687   NICHOLAS      MARTINEZ                     KS     22023002191
12681578855976   LARRY         ROMERO                       CA     90001155788
12681871861972   FAITH         LOPEZ                        CA     90012088718
12682554661976   IAN           RUIZ                         CA     90013085546
12682639591895   ANGELIQUE     ANDERSON                     OK     21004366395
12682897831687   KATINA        MAMON                        KS     22086868978
12687541457147   ISABELLA      ARABINAR                     VA     90007115414
12688733551337   MELIDA        RODAS                        OH     90011077335
12691242257147   CHEYLA        TORREZ                       VA     90010752422
12691323791895   KEVIN         PLATT                        OK     90004893237
12693733861938   CRYSTAL       FRENCH                       CA     90012887338
12694278184375   BRITTNEY      BUTLER                       SC     90003112781
12694671361958   CHESTER       COPPERPOT                    CA     90010546713
12695258351337   GEORGE        DAVIS                        OH     90011032583
12696784561978   NISHA         PORRAS                       CA     90007687845
12697857633699   KIMBERLY      GRIFFIN                      NC     90014158576
12698314291569   JESUS         DELGADO                      TX     90008043142
12698939191263   LAVONDRA      OSBORNE                      GA     90014859391
12699335191573   IDALIA        VALDEZ                       TX     75089223351
12711484977522   LUCIA         IZQUIERDO                    NV     90013424849
12712499951337   ERIN          TAYLOR                       OH     90013824999
12712937247956   DEREK         CREEKMORE                    AR     90013219372
12716416891263   SHARON        PETREA                       GA     90014714168
12718419261972   JOSE          RIOS                         CA     90009914192
12719253747956   JIMMY         PARKER                       AR     24054812537
12721351755948   ALFONSO       HERNANDEZ                    CA     90012743517
12721389991569   CLIFF         JACQUEZ                      TX     90005393899
12721556991895   EASTER        HOLLAND                      OK     90015095569
12722428191526   CARLOS        MUNOZ                        TX     90011284281
12723262733699   REA           FULLER                       NC     12078652627
12724598961938   ALEX          GONZALES                     CA     90007945989
12725484561976   JAVIER        GARCIA                       CA     90014704845
12726334751337   GABRIELA      TRANQUILINO                  OH     90005013347
12726752993745   TERESA        SCHWARTZ                     OH     90003907529
12728969991569   JOHNATHAN     NAVA                         TX     90010209699
12729249491569   KIMBERLY      MONTOYA                      TX     90010412494
12729582561938   VINCENT       CASTILLO                     CA     90002235825
12731677661938   NANCY         SANCHEZ                      CA     46093426776
12732182891263   PEARL         JONES                        GA     90015251828
12732483461976   RAQUEL        RAMIREZ                      CA     90000864834
12732826647956   ANDREA        RODIRGUEZ                    AR     90014918266
12733284391569   SILVESTRE     RODRIGUEZ                    TX     90012402843
12734197491263   LAURENTINE    WHITE                        GA     90013981974
12734299391895   DAVID-MARK    BERGMANN                     OK     90004922993
12734443757147   JUDITH        WHITE                        VA     81022984437
12736797291895   PHILLIPPS     THOMPSON                     OK     90009637972
12737546391263   GWEN          HARRIS                       GA     90014725463
12738251693745   ROGELIO       PANTOJA-RIVERA               OH     90011082516
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12738985461976   ROBERT        CORMIER                      CA     90002759854
12739761891895   LEEANN        TALIAFERRO                   OK     90014417618
12743214257147   MERCEDES      BEATTIE                      VA     90014572142
12743419761938   JORGE         PEREZ                        CA     90014974197
12744623361938   ERIKA         ROMERO                       CA     90003776233
12746246433699   CECILIO       CHAVEZ                       NC     90010372464
12747357961972   JOSE          HERRERA                      CA     90012493579
12747878161938   BERTHA        ALICIA ROMO                  CA     46010478781
12748584591895   MARILYN       MCGEE                        OK     90005095845
12748598393744   CURT          HOSTELER                     OH     90012175983
12748998261958   GERALD        SMITH                        CA     90012899982
12752412272435   KAZMIECZYK    DANA                         PA     51046224122
12752521991263   ANTRESHON     WRIGHT                       GA     90013205219
12753726991263   BLANCHE       SPENCE                       GA     90013387269
12755241761938   MARTIN        MAYO                         CA     46098622417
12755555647956   RAYMUNDO      PEREZ                        AR     24030125556
12757727961938   FRANCISCO     LARA                         CA     90011247279
12761746691569   JOSE          BARRIENTOS                   TX     90012027466
12762874161958   JOLIO         BORQUEZ                      CA     90013698741
12764616272435   MICHELLE      SALES                        PA     51007266162
12764915157147   JOSE          PEREZ                        VA     90006239151
12765211461938   GLENDALEE     CORTEZ                       CA     90005752114
12765595154152   JUAN          OSORIO HUESCA                OR     47006675951
12765876591569   FAITH         CABRALES                     TX     90014088765
12767415993745   KARA          FERGUSON                     OH     90002114159
12767557291895   CHRIS         YANDELL                      OK     21061695572
12768431461976   WESELY        LOVE                         CA     90012364314
12768813255976   MIGUEL        NUNEZ                        CA     90009328132
12769377455976   PAYTON        SWANSON                      CA     49083473774
12769572593745   CHRISTOPHER   LESLEY                       OH     90010715725
12769785261958   DANIEL        TROUT                        CA     90013867852
12771984657147   WILLIAM       ARGUETA                      VA     90007649846
12773211557147   JOSE          GOMEZ ARGUETA                VA     90015172115
12773674861972   CAROL ANN     WOLF                         CA     46067426748
12775228855976   KWELI         WATSON                       CA     49084022288
12776794661958   JOSE          ESTRADA                      CA     90009917946
12777576493745   DANIEL        TAMPLIN                      OH     90011085764
12777788757147   SERVELIO      MAGANA                       VA     90014717887
12778125161976   J             C                            CA     90012431251
12779845361972   DANIEL        GONZALES                     CA     90014928453
12781189391895   BRAYDEN       FRAZIER                      OK     90004911893
12782159633699   MARIA         SANCHEZ                      NC     90015131596
12783563333699   ASHLEY        MASHBURN                     NC     90013155633
12783693855948   HECTOR        PEREZ                        CA     49082506938
12784595191569   ROCIO         SOTO                         TX     90009005951
12784711661976   RUBEN         QUINTERO                     CA     90013717116
12784812691569   AMANDA        MOTA                         TX     90010698126
12786336191895   CASSANDRA     OPPERMAN                     OK     90015343361
12787453591573   RAUL          RIVERA                       TX     90014184535
12788537791569   CESAR         ENRIQUEZ                     TX     75040245377
12789468461972   IRMA          FLORES                       CA     90007074684
12791337131687   JERRY         WILLIAMSON                   KS     22098073371
12791362891569   LAURA         RODRIGUEZ                    TX     90014903628
12793566191895   GUYLA         SCHELLER                     OK     21080545661
12794215661972   VIVIANA       MAGANA                       CA     90015322156
12794611833699   GINGER        DIAZ                         NC     90014816118
12795924447956   DAKOTA        FEY                          AR     90013589244
12797817261976   ANNETTE       GUIDO                        CA     90004898172
12798296831687   ED            BENNETT                      KS     90013812968
12799491161976   PERLA         PADILLA                      CA     90011504911
12799912293745   DANIELLE      SULLENBERGER                 OH     90014539122
12811711847956   KAREN         LAMBERT                      AR     90013827118
12812696591569   JAVIER        GAMEROS                      TX     90014626965
12812958291895   HOLLY         SHIMP                        OK     90011549582
12813447251337   CHARLES       KLEIN                        OH     90004904472
12815199561958   DELILA        SANCHEZ                      CA     46065441995
12816696591569   JAVIER        GAMEROS                      TX     90014626965
12816785593745   JEREMY        TOWE                         OH     90012367855
12817392831687   ARYENI        PAZ                          KS     90010923928
12818633561976   AIOTEST1      DONOTTOUCH                   CA     90015116335
12818682957147   CHARLOTTE     UPRIGHT                      VA     90013806829
12819315251337   MIKE          POWERS                       OH     90010373152
12819665372435   MICHELE       BOLT                         PA     51037696653
12819675557555   CARA          FULLER                       NM     90005426755
12823261831687   MIRANDA       DOVER                        KS     90014712618
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12824368991263   MICHAEL          WEBB                      GA     90009513689
12824746561987   OSCAR            COVARRUBIAS               CA     46038227465
12825715257147   ORLANDO          VILLANUEVA                VA     81014487152
12826597651337   MARY             WHITLOW                   OH     90012885976
12826987991895   CLAUDIA          ALVIZO                    OK     90011549879
12827448551337   ANRMANDO         PENA-HUERTA               OH     66034274485
12827892277539   MARIA            GORDILLO                  NV     90003838922
12829344651337   KENNETH          TROUTMAN                  OH     66006953446
12831327891263   AMANDA           JOBIN                     GA     90010203278
12831391655976   MARIA            MONTEJANO                 CA     90012353916
12831977355948   NICOLE           RENDON                    CA     90012889773
12834618661958   MARILYN M.       MCCASKEY                  CA     90007196186
12835382261972   GALLEGO GARCIA   JORGE                     CA     90011533822
12835468857147   JOSE             PEREZ                     VA     81064154688
12835712855976   AMANDA           PALOMARES                 CA     49038547128
12835857157192   JOSE             MERINO                    VA     81046308571
12835977761976   LUIS             JUAREZ                    CA     90003709777
12839928161976   MARY             NEWMAN                    CA     90008689281
12841246531635   MICHAEL          GRACEY                    KS     22027372465
12842156247956   SHANEN           TAYLOR                    AR     90007821562
12842869477539   MARIA            CORREA QUINTERO           NV     43013008694
12843114961938   CESAR            AGUILAR                   CA     90014981149
12843236485999   JOE              SPRATT                    OH     90000102364
12844749661958   MICHAEL          BRUCE                     CA     90005797496
12845241455948   MARGARITO        MARTINEZ                  CA     49072332414
12845866831687   TERESA           FITZGERALD                KS     90007518668
12848717631687   ALLEN            DICUS                     KS     22047427176
12851114831687   ALEJANDRA        SEGURA                    KS     22000331148
12851923561958   ESMERALDA        MCCOMBS                   CA     90013529235
12852584461976   ALEX             MEDINA                    CA     90011195844
12854557291895   KELSEY           SMITH                     OK     90014475572
12856623693745   WILL             CISSNER                   OH     90008566236
12856852361938   JUANA            CASTILLO                  CA     46084958523
12856863731687   ROBERT           CRUZ                      KS     22089378637
12857719391895   ALEJANDRO        JIMENES                   OK     90004907193
12858991231635   VICTORIA         BLISS                     KS     22017049912
12859471547956   PENNY            PRICE                     AR     24084794715
12862212433699   RHONDA           PRATT                     NC     12061912124
12862982591263   CLANCEY          LLORENS                   GA     14523989825
12863971193745   TYLER            NASH                      OH     64524729711
12863982391895   CHRISTOPHER      ROMERE                    OK     90013009823
12864327891263   AMANDA           JOBIN                     GA     90010203278
12865357961972   JOSE             HERRERA                   CA     90012493579
12865484791895   VICTORIA         HERNANDEZ                 OK     90011664847
12867111847846   TASHA            MCGEE                     GA     90005811118
12867153877368   MOSES            DARKEY                    IL     90013331538
12868298161976   MARIA            DELOURDES                 CA     90008372981
12868458493736   MARIBETH         GREENBERG                 OH     90009634584
12869785455976   RICARDO          RUIZ                      CA     90013037854
12872425357147   JOSE             SANCHEZ                   VA     90013924253
12872472791895   VALERIE          LINTHICUM                 OK     90009194727
12872825991263   ASIA             WRIGHT                    GA     90010878259
12873443993745   CASSIE           CURTIS                    OH     90013944439
12873773147956   CHRISTIE         SIGANOS                   AR     24059577731
12876645257147   AZUCENA          GALLARDO                  VA     90012936452
12877471661976   ASAPH            PIERRE                    CA     90007414716
12879529561938   REYNA            SANCHEZ                   CA     46082795295
12879624471976   NICOLE           ANSON                     CO     90007686244
12882159191895   ROBER            BIGPOND                   OK     90011551591
12882333361972   LYNELLE          ANZALONE                  CA     90013823333
12883492961958   OLIVERIO         AREVALO                   CA     90013964929
12884238761937   JOSE             JAIME                     CA     90011552387
12884287855948   ALBERTO          CHAIDEZ                   CA     49095422878
12884413461976   JOSE             ESQUIVER                  CA     90011874134
12886357647956   VANESSA          MENDEZ                    AR     90011223576
12886549557147   DANIEL           DIAZ                      VA     90014495495
12886817261938   JOSE             VANEGAS                   CA     90000168172
12888273791895   ERIC             HARRIS                    OK     90004912737
12888721793745   AMY              LOCKE                     OH     90014597217
12888781961976   YADIRA           TORRES                    CA     90012047819
12889465147956   JUSTINA          JACKSON                   AR     90014514651
12889813277539   JOSE             AGUILAR                   NV     90003848132
12891198355976   CASSANDRA        NORMAN                    CA     90013521983
12891219877539   KAREN            SILVERHARDT               NV     90000802198
12892261261972   SERGIO           MELGAREJO                 CA     90014182612
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12892683761958   LEONARDO         MARIAS                    CA     90004236837
12892754461972   CARLOS           GALAN                     CA     90008797544
12893293531687   OSTINNER         MCCULLAR                  KS     90014832935
12894113651337   KANDRA           RUFF                      OH     90014791136
12894793561976   EFREN            RUBIO                     CA     90013927935
12895691591569   ANA              MAYER                     TX     90012596915
12897199733699   SHONNELE         CAMPBELL                  NC     90015331997
12897546355976   WYMAN            JOLLIFF                   CA     90014525463
12898835191263   MACEO            WARNER                    GA     90013148351
12898991457147   ADRIANA          APARICIO                  VA     81054219914
12899154931635   CHRISTOPHE       JONES                     KS     22052461549
12899552191346   JOSE             ORTIZ                     KS     90007575521
12911825361976   ANGELICA         MONTES                    CA     90007748253
12912716331687   ERIC             MANUEL                    KS     90011457163
12912859433699   JOHN             SPENCER                   NC     90014908594
12913711655976   LOURDES          FLOREZ                    CA     49061627116
12915515291569   RICARDO JR       VASQUEZ                   TX     90013765152
12915726161976   VALENTE MANUEL   CASTILLO                  CA     90006827261
12918255455948   ESTELA           LOPEZ                     CA     90011812554
12918394857147   MILTON           HERRERA                   VA     90013403948
12921248961972   KASSANDRA        MACIAS                    CA     90010342489
12921486731687   DWIGHT           MEADOWS                   KS     90011574867
12921596233699   KELLY            KNIGHT                    NC     12092285962
12922637661938   BIBI             HERRERA                   CA     46070656376
12922759191569   RAUL             HERNANDEZ                 TX     75006027591
12923611661938   FINEST           SAMOAS                    CA     90012926116
12923657951337   SHAY             DAVIS                     OH     90000476579
12924578133699   ASHLEY           RODRIGUEZ                 NC     90013265781
12925176457147   JOSE             MAJANO                    VA     90015141764
12925751361976   JUAN             GUEVARA                   CA     90013057513
12926196161958   MARIA            SANCHEZ                   CA     90014491961
12927462955976   PAULA            BUENROSTRO                CA     90012024629
12931967577539   ANDREA           WALSH                     NV     90003839675
12931999361976   MARGARITA        VILLANUEVA                CA     90002299993
12932358355948   MARIA            GUTIERREZ                 CA     90011813583
12934591161976   JEFFERY          SMITH                     CA     90014415911
12935256557147   GILBERTO         ENAMORADO                 VA     81091072565
12936338691569   CONCEPCION       NOE                       TX     90013803386
12937826391895   JOSEPH           SCARLATO                  OK     90013018263
12941867191569   MARISOL          PUENTES                   TX     90011938671
12943493855976   JENNA            BRANCO                    CA     90015304938
12943667961958   JESSE            WEBB                      CA     90012416679
12943756693745   KIRSTINE         MURPHY                    OH     90011967566
12944977155976   JESSI            GALIHER                   CA     90011589771
12945627551337   RANDY            BRYSON                    OH     90015226275
12948942655976   DELIA            ESQUEDA                   CA     49019229426
12949542751337   BRENDA           VILLARREAL                OH     90004785427
12951889391895   BRAYDEN          FRENCH                    OK     90015038893
12952511761958   CHAU             DUONG                     CA     90015155117
12952857831635   GEORGE           RAMEY                     KS     90009618578
12952967961938   SENGNY           CHEAN                     CA     90014719679
12953583177539   YAJAIRA          MEDINA                    NV     90014425831
12954235831687   HENRY            KAPALATA                  KS     22003992358
12954361833699   BEVERLY          BARNES                    NC     12013813618
12954551661972   JOCELY           ARELLANO                  CA     90007665516
12955656491569   ERICKA           GRACIA                    TX     75091406564
12956596933699   ELIZABETH        HOLT                      NC     90011405969
12959819491569   REYNALDO         BURCIAGA                  TX     90013328194
12961976793745   GARY             SULLENBERGER              OH     90012649767
12962373731687   NATHAN           BLANCHARD                 KS     90014463737
12962627355976   DORTANTES        LONA FRANCIA              CA     49085896273
12964395461976   BLANCA           ORTIZ                     CA     90003773954
12964411993745   AIMEE            HOWARD                    OH     90011154119
12964838755973   JUAN             CEJA                      CA     90011398387
12965511757147   KASSANDRA        RODAS VASQUEZ             VA     90012765117
12965561355948   RAY              MIXON                     CA     90011445613
12966843451337   MELODY           SOLOMON                   OH     90011128434
12968176633699   ELAINE           ANDERSON                  NC     90013281766
12968364155976   DARLENE          ZAPATA                    CA     90011063641
12968679951337   JORGE            BUGUENO                   OH     90013856799
12968967577539   ANDREA           WALSH                     NV     90003839675
12969483455948   LUCIA            GOMEZ                     CA     90005634834
12971229861972   ENEDINA          WADLEY                    CA     90012682298
12972321447956   JERRYL           MIMS                      AR     90014863214
12972837561976   MONICA           DUPLESSIS                 CA     90007828375
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12973458991569   CINDY          CHAVIRRA                    TX     90007894589
12974343855976   JEREMY         EDELBROCK                   CA     49073713438
12976526357147   ELVIS          RIVERA                      VA     90005035263
12978183361958   MARIBEL        COLMENARES                  CA     46006161833
12979961751337   LANDA          ELBAROSA                    OH     90004029617
12981365261972   MARIA          DE LEYVA                    CA     46005783652
12982276891899   ILENES         MURRAY                      OK     21066252768
12982344491569   ANTONIO        VALADEZ                     TX     90014413444
12982496261958   KIM            VOYLES                      CA     90010164962
12983699133699   CHRISTOPHER    HAWKS                       NC     90007666991
12983972131646   KRYSTAL        STUDYVIN                    KS     90012409721
12984778691895   KENT           YOUNG                       OK     21021347786
12984794751337   RIGOBERTO      RAYMUNDO                    OH     66065217947
12985237961972   MICHAEL        LOPEZ                       CA     46006332379
12985457731635   JOHNNY         HEIN                        KS     22017184577
12986256261968   ANGELICA       MOLINA                      CA     46094882562
12987946861938   VICTOR         SALGADO                     CA     90013039468
12988725731635   AMANDA J       AMALFITANO                  KS     90005487257
12989183361958   MARIBEL        COLMENARES                  CA     46006161833
12991466991569   JOEL           DIAZ                        TX     90009384669
12991822241455   SAVANNAH       ACOMGANATO                  WI     90015598222
12991931261958   DENISE         QUARTERS                    CA     90013739312
12992166661958   JENNIFER       MILES                       CA     90012361666
12992439157147   ENRRIQUE       GOMEZ                       VA     90013924391
12992764633654   DAVARES        BURNETT                     NC     12011607646
12993458861958   ALEX           RODRIGUEZ                   CA     46071504588
12993547433645   VEIDA          SMITH                       NC     12042585474
12995181885935   ANTHONY        TURNBOE                     KY     90000851818
12995797293745   PRESTON        STEPHENSON                  OH     64567137972
12996291561958   ALBERTO        ALVAREZ                     CA     46064392915
12996713455948   EGAR           MAYA                        CA     90008827134
12997162655976   CHRISTINA      CONTRERAS                   CA     49063321626
12997291257592   OREN           ROOT                        NM     90012882912
12997297293745   PAUL           STAFFORD                    OH     90008522972
12998489351337   RAE MONIQUE    DAVIS                       OH     90011034893
13112444891263   RAYMOND        MEDLOCK                     SC     14585074448
13114826157147   MAURICIO       HERNANDEZ                   VA     81072118261
13116336631426   VINITA         MOORE                       MO     90008733366
13116811231687   TERRY          MARTIN                      KS     90006618112
13119164191263   JUSTO          REYES                       GA     90014821641
13119979331459   CYNTHIA        HAWKINS                     MO     27588129793
13121455793724   STEPHANIE      CONNER                      OH     90001544557
13123987361976   CHRISTIAN      BOJORQUEZ                   CA     90012629873
13124918491263   LESLIE         LANGFORD                    GA     90012259184
13129858655948   PAO            GARCIA                      CA     90014478586
13131559455948   FERNANDO       VELASQUEZ                   CA     49033785594
13132246161976   CRISTAL        CORONADO                    CA     90006332461
13132591151337   ELIJAH         BYNDON                      OH     90013505911
13134191891895   MIEYAKA        BLOCKER                     OK     90003411918
13134444493783   MALIA          LEWIS                       OH     90007824444
13134738155976   SHER           VANG                        CA     90012907381
13135925991895   JORGE          HERNANDEZ                   OK     90013379259
13136126351337   COREY TAYLOR   CONLEY                      OH     90013651263
13136787661958   AARON          LOPEZ                       CA     46009187876
13137689891895   DIANE          DAVIS                       OK     90008946898
13141857355948   SEFERINO       GUTIERREZ                   CA     90000358573
13142794591895   EDGAR          VIERA                       OK     90014517945
13143418955948   CELSO          GONZALES                    CA     90013954189
13143444457145   SANTOS         VILLANUEVA                  VA     90000354444
13143559547956   HEATHER        CHATMAN                     AR     90013685595
13145592491895   ANDREA         MUSKRAT                     OK     90002115924
13147279191895   MARIA          ORTIZ                       OK     90013402791
13147622955948   VICTOR         PEREZ                       CA     90005046229
13152634861976   AIOTEST1       DONOTTOUCH                  CA     90015116348
13153479191569   JESUS          SALAZAR                     TX     90013444791
13153939591569   JESUS          SALAZAR                     TX     90014329395
13154528984327   JASON          GRAY                        SC     19001345289
13155228291569   MARIA          GARCIA                      NM     75062702282
13157578491569   JUAN           MURO                        TX     75069285784
13158221751357   DESIREE        RODRIGUEZ                   OH     66007902217
13162976191569   JESUS          GUILLEN                     TX     75037239761
13163324861976   DEVEN          MCCRAY                      CA     90013153248
13163388961958   MARTIN         RAMIREZ                     CA     46013823889
13166584247956   JESSICA        ESTES                       AR     24083635842
13167682961976   GERALD         IZAGUIRRE                   CA     90012296829
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13171917161958   ERICK            ALANIZ                    CA     90013489171
13172716351337   TIMOTHY          HENSCHEN                  OH     90009977163
13176132361976   CHRISTIAN        MORALES                   CA     90009161323
13176716351337   TIMOTHY          HENSCHEN                  OH     90009977163
13177347691895   LEANNA           HAMMON                    OK     21006843476
13179754793725   NYISHA           HOLT                      OH     90008177547
13181745747832   ALETHA           HOOKS                     GA     90012917457
13181918991895   JASMINE          CARR                      OK     21004199189
13182126351337   COREY TAYLOR     CONLEY                    OH     90013651263
13182827591569   VILMA            MACIAS                    TX     90012808275
13183735561997   DONALD           ENGLISH                   CA     90014357355
13186644561938   KEKOA            HASLOP                    CA     90014826445
13186997947956   BRYAN            DAVIS                     AR     90002609979
13187371561976   PIMALY           VALENZUELA                CA     90013463715
13187618191569   LUZ              GUERRA                    TX     75050726181
13189715193758   CHARLES          CALDWELL                  OH     90001677151
13189854661976   MARI             CAMARENA                  CA     90011748546
13191273155948   DOLORES          RUVALCABA                 CA     90011572731
13193534147956   LATOYA           FISHER                    AR     24055885341
13193558151337   CARL             CHARLES                   OH     66028295581
13193648857147   JASMINE          FRANCIA                   VA     90011066488
13196728757147   JOSEPH           BROWN                     VA     90013807287
13196985791895   STACEY           SANDERS                   OK     90010489857
13197133661958   ROBERT           TURNER                    CA     90014551336
13198577691263   LADERICK         GROOVER                   GA     14590535776
13214264751337   TENISHA          DAVIS                     OH     90001582647
13214859555948   AGUILERA         JESSICA                   CA     90008458595
13214861241455   EVERETT          DEVORE                    WI     90013858612
13215177161976   OMAR             QUEZADA                   CA     46076991771
13215636461959   LUIS             LOPEZ                     CA     90014166364
13217282791586   REBECCA          CARDONA                   TX     90008442827
13218223671937   HEATHER          MUNDT                     CO     90011822236
13219342661938   JANETH           OJEDA                     CA     90014753426
13224434157147   TRANELL          JOHNSON                   DC     90006844341
13225998431967   JILVONE          WATTS                     IA     90014409984
13227948361958   BENJAMIN         CALDERON                  CA     46008609483
13231415961938   EVA              ESTRADA                   CA     90000134159
13231518844353   ANTHONY          BROWN                     MD     90011105188
13232449455968   RALPH            GRAHAM III                CA     49086324494
13232695455948   VALERY           ARAGON                    CA     49041166954
13232857926266   BRYAN            HELGEART                  WI     90015558579
13237585255948   MARISOL          GONZALEZ                  CA     90013115852
13238191991524   MELISSA          CARDENAS                  TX     90011591919
13238213955976   LILLIAN          JONES                     CA     49038642139
13238281397127   LISA             CRAWFORD                  OR     44506002813
13238957672435   TERRIE           JOHNSTON                  PA     51092289576
13239554461958   VANESSA          LORENZO                   CA     90014655544
13239959957147   BLANCA           RUIZ                      VA     81025059599
13241873571965   JAMES            GREEN                     CO     90007428735
13241878861938   DAVID            RODRIGUEZ                 CA     90005568788
13242472455976   VIDAL            SANTOS                    CA     90013844724
13244242161958   ARTURO GERARDO   HERNANDEZ                 CA     90015312421
13244361257147   BRIE             GRAY                      VA     90014723612
13244875991895   TABITHA          LAPOINTE                  OK     90002388759
13245981857562   JERRY            ESTRADA                   NM     90002359818
13246483177535   GENENE           DUCA                      NV     90013234831
13248114861938   SERGIO           HERNANDEZ                 CA     90013011148
13248834455987   RAFAEL           TIXTA                     CA     90012818344
13248925561958   CINDY            VICKERS                   CA     90008909255
13251345455948   AZALIA           SANTOS                    CA     90014443454
13254972391977   BENNIE           DUNLAP                    NC     17030769723
13255746691895   CA               HEALY                     OK     90008727466
13256116661938   ROSEMARIE        CAROLINO                  CA     90013011166
13256185447956   DARRICK          CHURCH                    AR     90014081854
13256411847956   DEIDRA           THOMAS                    AR     90005604118
13256987755976   JOYCE            LOPEZ                     CA     90014659877
13257139957147   WALTER           MORALES                   VA     90002981399
13257738955976   MARGARET         MAM                       CA     90012907389
13259149361958   KENDRA           CARMICHAEL                CA     90013921493
13259683357122   ALICIA           LLEWELLYN                 VA     90003916833
13259787781665   JOHN             HARNESS                   KS     90014347877
13263984761976   SHANICE          EDWARDS                   CA     90007569847
13264256651337   STEPHEN          LANHAM                    OH     90013152566
13265177231635   GARY             SKINNER                   KS     22092211772
13265337726266   PAYGO            IVR ACTIVATION            WI     90004533377
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13268115147956   DENISE                 THOMPSON            AR     90014091151
13268525861958   MIROSLAVA              FUENTES             CA     90009885258
13268615891263   VICTORIA               NAVA                GA     90010686158
13269293955976   SHELLY                 SIMS                CA     90009662939
13271268661938   LAURA                  FLORES              CA     90010872686
13271413591569   MAYANIN                FLORES              TX     90015194135
13271642861958   ADRIANA                MACIAS              CA     90011886428
13272297791569   RAUL                   URENA               TX     75006562977
13273112455976   SARA                   SOTO                CA     49088011124
13273526557125   JANNETH                CASTELLON           VA     81036865265
13274486455948   JUAN E                 LOPEZ               CA     90010864864
13278677555948   JUAN                   RODRIGUEZ           CA     49009076775
13279393691263   DANNY                  FIELDS              GA     90015263936
13279863361976   MIGUEL                 SANCHEZ             CA     90014498633
13279969951337   BART                   SWIHART             OH     66005909699
13282732661976   GULLERMO               DIAZ                CA     90013047326
13283614961968   MANUEL                 RICO                CA     46013596149
13284644855976   ELIAS                  BARAJAS             CA     90014156448
13286113355976   MARICELA               VASQUEZ             CA     49083211133
13286528357147   RAFAEL                 SOSA                VA     90014875283
13287855455948   ANDREA                 CALDERON            CA     90011578554
13288415231635   JOHNNY AND KIMBERLEE   DEARING             KS     90012844152
13289363791263   FARETI                 SAVEA               GA     90008733637
13291381455987   LIBBY                  RIVERA              CA     49054173814
13292367557125   LISET                  MISQUERO            VA     90008773675
13294725891569   BRENDA                 SOLIS               TX     75085637258
13294844591967   HOLLIE                 ESTES               NC     90000958445
13295242291569   FRANCISCO              VALLEJO             TX     90012142422
13295328155948   CASSANDRA              PEREZ               CA     90014733281
13297279155948   CHRISTOPHER PAUL       DAVIS               CA     90014722791
13298427431635   BREANNA                ENGEL               KS     90005594274
13299876961976   GRACIELA               MUNOZ               CA     90014518769
13311584161958   SHANNON                HAMMOND             CA     90002245841
13311836961938   GENEVA                 COLE                CA     90013068369
13311914561976   GRACE                  REYES               CA     46022669145
13312826851337   MAUREEN                GREEN               OH     66064828268
13313368191569   KARINA                 DE SANTIAGO         TX     90013093681
13313448161976   JOSUE                  BARRADAS            CA     90013624481
13313465472435   JUSTIN                 MORELLI             PA     51064834654
13314246684375   MICHELLE               SPIRES              SC     90002292466
13315498791884   SHELBI                 THOMAS              OK     90013294987
13318597391569   JOHNNIE                SANCHEZ             TX     90014855973
13321599691569   ANA                    ARMENDARIZ          TX     90014045996
13321669733699   LATOYA                 BAKER               NC     90001436697
13322717151337   CHIFFON                RACHEL              OH     90011607171
13326296191263   DENNIS                 LEGG                GA     90012842961
13326456551337   CHALANDA               MARSHALL            OH     66034254565
13326572385823   ARLAN                  BARBER              CA     46090105723
13326812255976   KEVIN                  GREEN               CA     90003918122
13328534847956   MARINA                 DOMINGUEZ           AR     90006045348
13331172147956   ROGELIO                SANCHEZ             AR     90014411721
13332333347956   OSCAR                  REVELES             AR     90009803333
13332935385836   BRIAN                  CUNNINGHAM          CA     90005089353
13333115557562   NOE                    CARRILLO            NM     90012371155
13335877555976   ASHLIE                 OCHOA               CA     49097298775
13338798547956   SHELIA                 SALAS               AR     24051757985
13343245991263   LAKISHA                MIDDLETON           GA     90009832459
13343536991895   STEVEN                 YORK                OK     21096425369
13343714661958   DIANA                  GUERRERO            CA     90013827146
13344493847956   JOHN                   MCMELLON            AR     24010034938
13344542655976   ADAM                   RUIZ                CA     90008645426
13346963261958   DWIGHT                 NORRIS              CA     46054749632
13347628251337   KEYAJAH                MCCALL              OH     90014886282
13348686451337   EARL                   FOWER               OH     66045546864
13348724161938   NOHELY                 SANDOVAL            CA     90010547241
13351618555948   YOLANDA                SOLANO              CA     90005046185
13352619461938   JOSE                   RODRIQUEZ           CA     90005516194
13353762191895   ALEX                   JONES               OK     90004937621
13355233651337   NATASHA                BOWLING             OH     90010942336
13355469661938   ROSA                   ZELAYA              CA     90000554696
13356922591263   JULIA                  JOHNSON             GA     90014809225
13358412661976   WALDINA                CLAROS              CA     46022424126
13358465755976   MARIA GUAD             RAMOS               CA     49075594657
13359399151337   THERSA                 BOATRITE            OH     90008533991
13361152991569   GABRIEL                MORALES             TX     90013931529
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13361545191895   CAPTORIA      KING                         OK     90014155451
13361761344353   CYNTHIA       LENTZ                        MD     90010557613
13362463851337   ANNERYZ       PEREZ                        OH     90013784638
13362487355976   ERIC          MONTIJO                      CA     49097544873
13364583555948   NOEMI         BRAVO                        CA     49086975835
13364934431635   DAMARIA       MURDOCK                      KS     22062059344
13365229851337   ALBERT        JOHSON                       OH     90011002298
13368555857147   ALICIA        CABRERA                      VA     81057095558
13368558991927   JOSEPHINE     BARAUNI                      NC     90013515589
13371428261938   SONIA         VALENCIA                     CA     90014184282
13371633791526   MARGIE        LOPEZ                        TX     90011376337
13372967147956   PERRY         MATTHEW                      AR     90008549671
13375796747956   MARVIN        HAMILTON                     AR     24018507967
13376822291569   IRMA          LOPEZ                        TX     75051758222
13377115791263   ILSE          ABARCA                       GA     90014631157
13377225491895   LUCAS         DURRANCE                     OK     90014812254
13377693847956   DIAMOND       REDDEN                       AR     90008006938
13377851655976   REGINALD      JOHNSON                      CA     90012648516
13379329255948   VICTORIA      GONZALEZ                     CA     90015243292
13379481284375   TANYA         HOUSTON                      SC     90002074812
13382433461938   ELVIRA        SUAREZ                       CA     90013024334
13382448661976   MARIA         ESPARZA                      CA     46060544486
13383176155976   LUCIANO       RODRIGUEZ                    CA     90012161761
13383372191895   JESSIE        SAWNEY                       OK     21013793721
13383595831687   MONICA        MARTINEZ                     KS     90010275958
13384257691569   VERONICA      HERNANDEZ                    TX     90008492576
13385348644353   RHUEL         GIBSON                       MD     90001643486
13385971155976   JOSH          MAYER                        CA     90011889711
13389533293732   ANTHONY       ANDREWS                      OH     90007645332
13389641731687   GARRETT       ROLAND                       KS     22064096417
13391359631635   BETTY         VINSON                       KS     90000913596
13391921954122   DEBI          DARCY                        OR     47093609219
13392169291569   DENNISE       ROSALES                      TX     90012131692
13392343947956   STEPHANIE     HEATH                        AR     90011073439
13394169291569   DENNISE       ROSALES                      TX     90012131692
13394991357147   GODWIN        ARKRAH                       VA     90000349913
13397367793737   MALLORY       MITCHELL                     OH     90013053677
13399261161976   CLAUDIA       MORALES                      CA     46001622611
13399971491895   NYREE         DAWN                         OK     90011009714
13413361855976   KENNETH       BORGES                       CA     90013963618
13413581793725   ANGEL         WRIGHT                       OH     90014985817
13415412955976   CYNTHIA       GOMEZ                        CA     90003444129
13415834961958   NATHALIE      MUNOZ                        CA     90014958349
13416719791899   ANGELA        ABEL                         OK     21040777197
13416873355948   ALBERTO       VEGA                         CA     90013388733
13423396161938   CESAR         LOPEZ                        CA     46078213961
13424875461992   GEORGINA      ORTEGA                       CA     90010548754
13425346855948   RUTILIO       ZARAGOZA                     CA     90010313468
13426621147956   ROCKY         REXWINKLE                    AR     90015156211
13428595155976   ROBERTO       GUZMAN                       CA     90011245951
13429443557147   SABRINA       TRUSLOW                      VA     90004244435
13429723655948   JESSICA       ESPINOZA                     CA     90013457236
13429938591895   NANG          MUNG                         OK     90015149385
13432133961958   RICARDO       MEDINA                       CA     90014551339
13432823291396   LAURA         RAMIREZ                      KS     90001928232
13433718555948   RAMON         FLORES                       CA     90013047185
13434183991263   MARHTA        NEWTON                       GA     14586411839
13435119855968   KONG          HAM                          CA     90011471198
13435339493727   LARRY         HAMLETT                      OH     90005823394
13436361261976   KALEE         RASMUSSEN                    CA     90013453612
13438244551357   SHANTE        HORNE                        OH     90013942445
13439215151337   MILDRED       BYRD                         OH     66001902151
13439326861958   MANUEL        GARCIA                       CA     46008683268
13443286791569   CORONELL      ROBERT                       TX     90008492867
13443891547956   ALEXANDRIA    FORD                         OK     90012918915
13444176255948   HILDA         LOPEZ                        CA     49019281762
13444668761958   GLORIA        CISNEROS                     CA     46006836687
13445361257147   BRIE          GRAY                         VA     90014723612
13446977151337   LATOYA        TOMAS                        OH     90010169771
13451824493724   DOMINIQUE     MINEAL                       OH     90008668244
13452688755948   ADRIANA       SALAS                        CA     90013286887
13453716657147   ABDUL         KARIM KAMARA                 VA     81079837166
13454876891569   MIKE          GARCIA                       TX     90012428768
13458476847956   JUSTIN        LIVINGSTON                   AR     90013524768
13458639357147   ISAIS         ORTEGA                       VA     90011966393
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13458829591573   ROBERTO            ESCOBEDO                TX     90001258295
13461213261976   MONICA             IROZ                    CA     90014892132
13462688791925   KEISHA             LEACH                   NC     17097536887
13462714131646   JOSH               ANDERSON                KS     90013867141
13463718661958   GEORGINA           FLORES                  CA     90002977186
13464245691569   RAUL               RAMIREZ                 TX     90014672456
13465286231687   MICHELE            HARLAND                 KS     90008012862
13465599755948   JOSE               CONTRERAS               CA     90008925997
13466613933649   KAITLIN            SHEPPARD                NC     90012936139
13466837657147   ERICK              MARTINEZ                VA     90012198376
13467783661958   ROCIO              BALLINAS UTRILLA        CA     90012027836
13468271755948   DAVID              JIMENEZ                 CA     90012232717
13468571351337   ANGEL              GALLEGOS                OH     90014175713
13469519261958   NEAL               TUOMI                   CA     90015325192
13469649161976   MARIA              DEL CARMEN              CA     90012246491
13469984757579   LEROY              SALINAS                 NM     90015119847
13471537191549   ZELTZIN            TAPIA                   TX     90011525371
13473781761938   RICARDO            CAMPOS                  CA     90015187817
13475161651337   JULIO              CRISTOBAL               OH     66004621616
13475346891895   MELISSA            ALCALA                  OK     21055183468
13476941955948   BRYON              HAZELTON                CA     90015169419
13478561755948   MARVIN             ALFARO                  CA     90003605617
13478882991569   VERONICA           CORONA                  TX     90009578829
13479457747956   AVERY              CARTER                  AR     24032094577
13481834861938   SAYSAMONE          NARONG                  CA     46001088348
13482152755976   RHIANNON           ROSE                    CA     90013111527
13482311861976   GELISA             STORY                   CA     90012963118
13483382691578   JULIO              ARROYO                  TX     90002683826
13484254847956   REVAE              BULLOCK                 AR     24062422548
13484847347956   REGINA             DAWS                    AR     90014658473
13485288691569   JESSICA            CARRILLO                NM     75079742886
13485587755933   AMANDA             HUGHES                  CA     90004395877
13486632961938   BRANDELIA          BONILLA                 CA     90013076329
13489659691263   JESSICA            HARRIS                  GA     90014836596
13489673561925   TRAVIS             KETELSEN                CA     90013796735
13489951185823   DEANNA             MCGOUGH                 CA     46015309511
13491525591895   SEBASTIAN          HAROS                   OK     90012735255
13492294491895   AMBERLISA          TYLER                   OK     90008112944
13493366655934   REINA              SALDANO                 CA     90005343666
13494266131687   AVA                GAYDEN                  KS     90014862661
13497444355948   DAVID              BROOKS                  CA     49065854443
13498421355976   SILVIA             LOPEZ                   CA     90015314213
13498455447956   ASHLEY             NICHOLE                 AR     90011454554
13511991161938   MARIA DEL CARMEN   SERRANO                 CA     90009729911
13514686991895   ERIC               FRANKS                  OK     90009856869
13516399757147   CINDY              MCCOY                   VA     81057313997
13516572555948   LUIS               FIERROS                 CA     90013645725
13517288591895   TIFFANY            SMITH                   OK     90013172885
13519319791895   KAY                ROBISON                 OK     90010383197
13519448247956   JOSE               SALDANA                 AR     90008864482
13519451347956   BEATRIZ            ROQUE                   AR     90014944513
13519887561958   KEITH              YOUNG                   CA     90010968875
13521357961938   JOHNEY             PINEDA                  CA     90013893579
13522147447956   COETTA             FISHER                  AR     90002201474
13524583731687   HELEN              BEASLEY                 KS     90012515837
13524833361958   WANDA              VAZQUEZ                 CA     90010718333
13525285443588   KHRISTINA          CHANROUN                UT     90001802854
13525835391895   LEYDIANA           GARCIA                  OK     90011618353
13525965361958   JOSE               VAZQUEZ                 CA     90012769653
13525968891895   SHIANNA            BLALOCK                 OK     90013219688
13526256391398   JP                 CONSTRUCTION            KS     90010982563
13526733255976   LENG               VANG                    CA     49005017332
13527471161938   SUMMER             SALOUFAKOS              CA     46065714711
13527634561976   AIOTEST1           DONOTTOUCH              CA     90015116345
13529194791263   CHRISTINA          SANTIAGO                GA     90011021947
13529659357147   TISHIA             RECTOR                  VA     90010846593
13532758955948   ISABEL             CORTES                  CA     90014467589
13533439191895   ELISHA             ALLEN                   OK     21058914391
13533455447956   ASHLEY             NICHOLE                 AR     90011454554
13534665291569   MANUEL             SALAS                   TX     75017936652
13537661961958   JORGE              PEREZ                   CA     46069986619
13538621455976   JOSE               JIMENEZ                 CA     90012126214
13541876351337   AMITY              WORLEY                  OH     90009568763
13542644855976   AIOTEST1           DONOTTOUCH              CA     90015116448
13542697561938   SEDRICK            NTWALI                  CA     90013076975
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13544732761958   LUIS          TOLENTINO                    CA     46006827327
13546214991569   FRANK         GOMEZ                        TX     90013332149
13547617771927   ALEXANDER     HILL                         CO     32014236177
13548715261938   JULIO         OROZCO                       CA     90013077152
13548777861976   ANIZA         MORGA                        CA     90005077778
13548787291573   RICHARD       KUNARD                       TX     90008027872
13548872755976   LUIS          SALAZAR                      CA     90006028727
13549543455974   ELIZABETH     VARGAS                       CA     90001175434
13551867561938   MARIA         GOMEZ                        CA     46041198675
13552774561958   AGUSTIN       AVILA                        CA     90013627745
13552793761976   VICTOR        HERNANDEZ                    CA     90013097937
13552929761938   LUPEE         RAMIREZ                      CA     90008449297
13553349655948   REBECCA       RODRIGUEZ                    CA     90011623496
13554128561976   CESAR         VAZCONES                     CA     90012131285
13557948155976   RICARDO       GONZALEZ                     CA     90011739481
13558726161938   ANTHONY       ALVAREZ                      CA     90013077261
13561596951337   JOE           FROST                        OH     90013605969
13562844561958   JESUS         ROMERO                       CA     46058658445
13562914847938   LELA          MACIAS                       AR     90012929148
13563975155976   GILBERT       TORRES                       CA     49004319751
13564934231967   ROBERT        THOMSON                      IA     90013869342
13565868461958   CAROLINA      ALVARADO                     CA     90007828684
13566433457147   AFAF          MORGAN                       VA     90010264334
13567776751337   ESTHER        ESEKWEN                      OH     90014717767
13567992131465   DENNIS        BOEHLE                       MO     27579349921
13568136555948   ISMAEL        VILLAGOMEZ                   CA     90012481365
13568376651337   STEPHANIE     GREGORY                      OH     90012143766
13569724647956   CATHY         HUBBARD                      AR     24068017246
13569768431687   TODD          DEWEY                        KS     90010267684
13571872155948   TONI          RODRIGUEZ                    CA     49001378721
13572572593754   CHRISTOPHER   LESLEY                       OH     90010715725
13573648491895   BRANDON       MCANALLY                     OK     90012146484
13573767257147   ROMEO         RAMOS                        VA     90009677672
13575525891263   NATHANIEL     WRIGHT                       SC     90011495258
13581146357147   KEVIN         MARTIN                       VA     81084811463
13581229547956   JAMES         DAY                          AR     24074602295
13582623255976   RIDDLE        MALISSA                      CA     49046546232
13583761461938   JULIO         AGUILERA                     CA     90013077614
13584148857147   ISABEL        FLORES                       VA     90007731488
13585326261976   FELIPE        OSORIO                       CA     90001973262
13586271355948   JOCELYN       IBANEZ                       CA     90014902713
13586519831687   ANA           MARIA RODRIGUEZ              KS     90008015198
13588417891569   MANDI         MARQUEZ                      TX     90013434178
13588522157147   ONE           KHAMPHILA                    VA     90015125221
13589358791569   RAMON         LUJAN                        TX     90012613587
13591918461958   PEDRO         SANCHEZ                      CA     90005199184
13594779391569   IRENE         FLORES                       TX     75017597793
13595978961976   ELMER         MARTINEZ                     CA     90013169789
13596993161976   SHERRY        BORRAYO                      CA     90014949931
13597595393754   DAN           ALCORN                       OH     90008365953
13597942791952   MARK          KEZIAH                       NC     90012309427
13598279955948   JORGE         AVALOS                       CA     49050772799
13611969991569   ANA           HORTA                        TX     90013799699
13612567491895   THERESA       DAVIS                        OK     90009785674
13613814455948   GEORGE        BARRIGA                      CA     90014928144
13616664961976   SERGIO        GOMEZ                        CA     90009376649
13618648991838   FRANCISCO     BARBOSA                      OK     21024346489
13618736551337   JESSICA       BARTH                        OH     90000607365
13619162547956   CORENE        CLIFTON                      AR     90013271625
13619213761938   AIMEE         LYNN                         CA     90014672137
13621398491984   JOEL          SOLIS                        NC     90007243984
13621524661958   RICARDO       MEJIA                        CA     90010675246
13623264155948   RICK          GALVAN                       CA     49050022641
13623925947956   KENNETH       ROBINSON                     AR     90014359259
13624221261938   THEO          MCCLAIN                      CA     90001732212
13627414591569   LORENA        GARAY ACOSTA                 TX     90001474145
13629938561958   GARCIA        ANAHI                        CA     90011769385
13631973155976   JOHNNATHAN    MADRIGAL                     CA     90010299731
13632381761958   NANCY         BALCAZAR                     CA     90009743817
13633145491263   SHELIA        SMALLS                       GA     14582801454
13633214384347   SEAN          HALLS                        SC     90007582143
13633832361976   JAVIER        VELAZQUEZ                    CA     90013358323
13634845861976   JONNY         SALAS                        CA     90001378458
13635528531635   ANNA          NEWPORT                      KS     22028935285
13637319491895   JACKIE        SVITAK                       OK     90011873194
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13637748431635   MICHAEL       DICKENS                      KS     22028207484
13639117147956   ISRAEL        PALMA                        AR     24055011171
13641839261976   JOSEPHINE     ARVISO                       CA     90014628392
13641951661976   JUAN          CASTILLO                     CA     90012289516
13642921761993   LOUIS         THOMAS                       CA     90013429217
13643473661958   CHASE         HEIDEBUR                     CA     90011884736
13646244161938   CHARMAGNE     JONES                        CA     46065602441
13646572161976   DIANA         CERVANTES                    CA     90013055721
13647535271929   BARBARA       PEPPER                       CO     32020685352
13647835547956   MARTHA        MORENO                       AR     24092808355
13648597644353   FRANCES       SPEARS                       MD     90015485976
13648639755976   MARY          YOUNG                        CA     90013346397
13649566851357   BRANDON       SPICER                       OH     90013295668
13651725755976   SAMUEL        RAMIREZ                      CA     90014457257
13652416851337   CHARLES       DOUGHTY                      OH     90000364168
13653735461976   FRANCISCO     ROMERO                       CA     90013047354
13655523761976   LAURA         COLLINS                      CA     90011655237
13655797491263   TKEYAH        HADLEY                       GA     90010947974
13656448661938   GLORIA        GANDARILLA                   CA     46012464486
13656538961976   HEYDI         MARQUEZ                      CA     90014185389
13656682355948   BETSY         TORRERO                      CA     90014996823
13657682357147   MIRNA         ROMERO                       VA     90014476823
13658171461936   BERTHA        LEON                         CA     90014871714
13658743972459   RACHEL        KLINK                        PA     90011857439
13659813661958   CASEY         RAHUBA                       CA     90009918136
13661527791569   GREG          OGAZ                         TX     90013965277
13661657361976   CHRISTIAN     GARCIA                       CA     90014996573
13664835361976   JESSICA       RODRIGUEZ                    CA     90013358353
13665214491263   QUENTIN       BROWN                        GA     90014872144
13665388661938   MARIA         CASTRO                       CA     90013893886
13665778991569   EDGAR         MARTINEZ                     TX     90015097789
13666767985962   MARK          SEARS                        KY     67004727679
13669523397127   EVA           RAMIREZ CARDENAS             OR     90012585233
13672145561938   RENEE         FAUBION                      CA     46076721455
13672523255948   JAMES         BURCH                        CA     90010195232
13672938661976   DANIELLE      LOPEZ                        CA     90011619386
13672961461958   ELIAS         LEDEZMA                      CA     46077349614
13673936461979   BRIAN         POPE                         CA     90008219364
13674272961958   EVERTA        TOWNSEND                     CA     90012522729
13675448251337   IGNACIO       RAMIREZ-RODRIQUEZ            OH     90014034482
13677378147956   MARIA         CIFUENTES                    AR     90011003781
13678972391895   MICHELLE      KOSCHESKI                    OK     90014339723
13681747891569   RUBINA        MURTAZA                      TX     90014877478
13683391855948   ALEJANDRO     RUIZ                         CA     90014763918
13683488555948   JOSE          CASTRO                       CA     90014734885
13684587791569   LEONARDO      LUGO                         TX     75057255877
13684944447956   JAMES         CRIPPEN                      AR     90014069444
13685675647956   FRANCISCO     TRIGUERO                     AR     90012916756
13686448647956   DEMECA        LEWIS                        AR     90014294486
13686918657562   OLGA          GONZALEZ                     NM     90009629186
13688979555976   KULOW         RUBY                         CA     49093669795
13689415661976   ERNEWSTINA    STAPLETON                    CA     90014614156
13689597691569   CUEVAS        GISELA C                     TX     90004325976
13689848451337   KELLY         ELLIS                        OH     66037118484
13691878891569   CHRISTINA     DE LA ROSA                   TX     90015188788
13693389491895   SHALANE       CURRY                        OK     21020823894
13694171857147   KALALE        GOBENA                       VA     90007341718
13694696595633   LUZ           ARGENTINA FRANCO             VA     79062796965
13695124791899   BRANDY        WILLIAMS                     OK     21082301247
13695857261958   LUZ           DIAZ                         CA     46081168572
13696281491263   DABNEY        SMALLS                       GA     90014862814
13698928491263   LYANNETTE     LINDSAY                      GA     90010879284
13698976591263   JEANETTE      MINOR                        GA     90013689765
13699693755948   ARACCELI      SOLLIS                       CA     49003996937
13699833847956   JENNIFER      RELEFORD                     AR     90007408338
13713263855948   ROSA          RAMOS                        CA     90013342638
13713427461958   JUAN          MARTINEZ                     CA     46022754274
13718638351358   TROY          LINTON                       KY     90012286383
13721671247956   DANIELLE      RELEFORD                     AR     90008766712
13721841555976   MAI HLEE      VANG                         CA     90014898415
13722715461958   ANA           ARDUNA                       CA     90010107154
13722939886455   ALEX          ZAVALA                       SC     90015309398
13723439555976   JAMES         YANG                         CA     90007084395
13725773451337   KENDALL       STULTZ                       OH     90012127734
13726148191895   EDIE          SULLIVAN                     OK     90009351481
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13726665561958   FAITH         MORALES                      CA     90007726655
13727453857557   CARLOS        CARMONA-PALACIOS             NM     90009484538
13727888391569   MICHAEL       CHARTER                      TX     90000928883
13728679991263   KENNETH       PARKER                       GA     90012096799
13733283791895   KYLE          CAMBELL                      OK     90012952837
13734914391895   ANGELA        CHRISTIAN                    OK     90009249143
13735269955948   ESTHER        REYES                        CA     90015222699
13735823651337   MELVINA       POUNDS                       OH     66082158236
13738144855976   ZENON         CORONADO                     CA     49005411448
13738739191569   ARACELI       DELGADO                      TX     75041267391
13739424591895   AUDIE         GRAVES                       OK     90014694245
13739552761938   MIRIAM        RUELAS                       CA     90009925527
13739731891569   CIINDY        GOMEZ                        TX     75088737318
13741117961944   PAUL          PRUITT                       CA     90009031179
13744558155976   DAVID         COX                          CA     90011225581
13745372991569   RUBEN         HERNANDEZ                    TX     75017993729
13745812661958   NANCY         RITTENBERG                   CA     46008828126
13745865655976   MERIAH        CALERON                      CA     90013708656
13746667455976   LISA          GARCIA                       CA     90005366674
13746668261938   JESUS         CESAR                        CA     90002236682
13747663691569   WENDY         HERNANDEZ                    TX     90012176636
13748877191895   JOSIEL        JOHNATAN                     OK     21009098771
13749745655948   ADAN          CHAVEZ                       CA     90012877456
13752532555948   MARCELO       DELGADO                      CA     90013085325
13752869747956   EDUARDO       DIAZ                         AR     24073128697
13754457261976   SERGIO        LOPEZ                        CA     90011624572
13756986147956   CRAIG         MCBRIDE                      AR     24090539861
13761381161958   HELLO         KITTY                        CA     46041583811
13761627761976   LAURA         CUARENTA                     CA     90013646277
13763172457147   SALVADOR      SERRIDOS                     VA     90015271724
13765742555976   JUDY          THEPMANY                     CA     90012907425
13766835131687   DAVID         MITCHELL                     KS     22001708351
13768926631687   MARTHA        HERNANDEZ                    KS     22031599266
13769255361976   EVELYN        LOPEZ                        CA     90014942553
13771979655976   JAZMIN        IRENE SOTO                   CA     49049729796
13771993161976   SHERRY        BORRAYO                      CA     90014949931
13772129531943   JENNIFER      EVERETT                      IA     90014301295
13772656951337   YEDNI         MONTES                       OH     90011326569
13772989661958   GEBREHIWOT    BESTA HAIHU                  CA     90007569896
13773391161958   YOISSE        SORIANO                      CA     46044293911
13774486491569   GEORGE        ESSENBERG                    TX     90008884864
13774888461938   MARIA         DEL PILAR                    CA     46065228884
13775934161976   ADOLFO        YEE                          CA     90008229341
13779979561976   OCTAVIO       LOAIZA                       CA     90012889795
13781334957147   TIMOTHY       PRICE                        VA     90003373349
13781486747956   OFNI          MORALES CANO                 AR     90008764867
13781647691569   MICHAEL       ESCOBAR                      TX     90008786476
13782552558535   GABRIEL       GRANDERSON                   NY     90003705525
13785435561958   OLYMPIA       SERRANO                      CA     90002324355
13785923851337   THOMAS        SOUTHARD                     OH     90010169238
13788684257122   ADELA         GOMEZ                        VA     81009666842
13791494547956   MATTHEW       LEPHIEW                      AR     90009734945
13791919555976   LISA          VASQUEZ                      CA     90014779195
13792138691263   SHAVELLA      MAXWELL                      GA     90012881386
13792489491569   JAVIER        HERNANDEZ                    TX     90012184894
13792618755976   ANABELL       BETANCURT                    CA     90000866187
13793476191263   WILLIAM       HUNT                         GA     90012774761
13794821357147   MAURA         LAZO                         VA     90014478213
13796299561968   GOMEZZ        DRODOLFO                     CA     46016412995
13796562361938   ELIZABETH     GUZMAN                       CA     46037615623
13797448191895   TINA          GARRETT                      OK     90011374481
13797675461938   JULIE         ROBERTS                      CA     90013206754
13798815455948   KEYSHAWN      SHEPARD                      CA     90010048154
13799813561938   JUAN          RODRIGUEZ                    CA     46059358135
13814191955976   ANTHONY       LOWRY                        CA     90014451919
13816911855948   MAYRA         CHIA                         CA     49012499118
13818367155976   MICHAEL       PARKS                        CA     49026453671
13821121491569   ISELA         WILLIAMS                     TX     75097131214
13823194161958   ROBYN         BROOKS                       CA     46096781941
13827866751337   BOBBIE        BOLEN                        OH     66039718667
13828518157147   MICHAEL H     NISSLEY                      VA     90012385181
13829778557147   ANA           NIETO                        VA     81027507785
13833934955948   MARIA         GRANDADOS                    CA     90012949349
13834967791895   BRENA         LEWIS                        OK     90009249677
13836263255948   MARIA         GUERRERO                     CA     49041312632
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13837632357147   JAMAL         WALKER                       DC     90012336323
13837686657147   CRICKET       CRICKET                      VA     90012356866
13837811557147   MARIO         CARRANZA                     VA     90015208115
13838866147956   RANDY         REBRICK                      AR     24036748661
13839541461976   EDITH         VICTORIA                     CA     90000935414
13842353677522   JAIME         VIVAR                        NV     43009793536
13843863757147   DENNIS        WHEATON                      VA     90014478637
13844392791569   LAKESIA       JOHNSON                      TX     90014933927
13845698555976   RIMFA         SENGSIRI                     CA     90012686985
13846782751337   LITA          RETTINGER                    OH     90014877827
13847126257147   COCHE         THORNTON                     DC     90014811262
13847477651337   LYNN          JENSEN                       OH     66010984776
13847562491895   ERICA         GAHAGAN                      OK     21088135624
13847614551337   REBECCA       JENSEN                       OH     90013706145
13848229861938   ERIKA         RAMIREZ                      CA     90014672298
13852348361976   JERRY         CASTRO                       CA     90012853483
13853168193767   MELAINA       WILLIAMS                     OH     64507381681
13853577491549   JOSE          GOMEZ                        TX     75009605774
13857764191263   JAMES         BROWN                        GA     14570627641
13861316561976   KARLA         BECERRA                      CA     90013083165
13862666891263   CHANDRA       BROWN                        GA     90014606668
13865757251337   SALLY         STEWART                      OH     90002697572
13865776861976   SILVIA        HERNANDEZ                    CA     46094317768
13869721855976   TONYA         SMILEY                       CA     90004387218
13871696457147   OSCAR         GOMEZ                        VA     90014846964
13874233451337   SASCHA        STARKEY                      OH     90014692334
13876383955948   FREDDY        CHAVEZ                       CA     90013503839
13878936351337   TIM           DAVIS                        OH     66000669363
13881844931687   ADRIAN        FLORES                       KS     90010088449
13882434631635   CODY          CUMMINGS                     KS     22008564346
13882766555976   FAUSTO        GALINDO                      CA     90014437665
13883147291895   RODOLFO       GARCIA                       OK     90011011472
13883191455976   DANIEL        LOPEZ                        CA     90014811914
13883269161958   MARTIN        GONZALEZ                     CA     46008252691
13884155661958   JERRICA G     LEE                          CA     90013981556
13884797155976   CESAR         JAIME                        CA     49006417971
13886129255976   MARIA         GASTELUM                     CA     49065231292
13887476691569   CHARLENE      MARTINEZ                     TX     75001724766
13888317957147   FREDY         LOPEZ                        VA     90009943179
13891973447956   ANDREW        KAELYIN                      AR     24097299734
13892811691899   ADRIANA       CEBALLOS                     OK     21063268116
13892836555948   FREDDY        MONTERO                      CA     90014348365
13893621957147   FRANTZ        BASTIEN                      VA     90002586219
13895119447956   HALEY         NICHOLS                      AR     90012201194
13895355561976   SALVADOR      PONCE                        CA     90012853555
13895414961938   MARTHA        CARMONA                      CA     46043804149
13896315793725   CAROLYN       MALLARD                      OH     90009503157
13897388861985   DOUGLAS       EVANS SR.                    CA     46026283888
13897535371967   SHAWNA        STEIR                        CO     90011145353
13912616791895   GREGORIO      GUTIERREZ                    OK     21070836167
13913135461958   JAVIER        GONZALEZ                     CA     90013971354
13914166551337   RICKY         BRITTIAN                     OH     90013611665
13914351191569   ALBERTO       MORENO                       TX     90013263511
13915347551337   JOYCE         VALDEZ                       OH     90009463475
13915531361938   LESLIE        FARRELL                      CA     90013095313
13917461347956   JOSEPH        MAYNER                       AR     24091984613
13917667261958   DAVID         PONZE                        CA     90013416672
13922324257549   LINDA         FRITZE                       NM     90006153242
13923635491569   CYNTHIA       GONZALEZ                     TX     75079386354
13925941855976   CLAUDIA       PORTIDA                      CA     90009839418
13926127791569   CYNTHIA       MAGALLANES                   TX     75015081277
13926817355976   ARON          RIVERA                       CA     49055628173
13928524155976   ISHMAEL       GUERRERO                     CA     90008565241
13928583391895   RAUL          CORTES                       OK     21012515833
13934321893737   DARYN         PHELPS                       OH     90012153218
13939542255948   MARIA         RAMIREZ                      CA     90011655422
13939834231635   REJENA        SMITH                        KS     22010398342
13939866961976   RUBEN         HERNANDEZ                    CA     90014608669
13941569461976   SERGIO        MARTINEZ                     CA     90013065694
13942513691569   SILVIA        URRUTIA                      TX     90010415136
13943662861958   ROBIN         GACUD                        CA     46039966628
13947689161938   MICHELLE      LYNCH                        CA     46000916891
13948154491895   SULMA         REYES                        OK     90003071544
13948445155976   RAMIRO        MARTINEZ                     CA     90012264451
13948669191569   ERIKA         FERNANDEZ                    TX     75027666691
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13949349831687   SHELBY         MADISON                     KS     90009893498
13949845361976   GINA           CALIGARIS                   CA     90014628453
13951862561958   SILVIA         CERVANTEZ                   CA     90001818625
13952772684344   JANICE         GIVENS                      SC     90010357726
13954551361938   ARTURO         VILLEGA                     CA     90007685513
13954557757147   JOSE           MEDRANO                     VA     90013785577
13954896757147   MANUEL         FUENTES                     VA     90013658967
13954988691569   ELIZABETH      MEDINA                      TX     90001909886
13956648347956   SHANNON        POOL                        AR     90002416483
13961142291263   PATRICIA       KELLY                       GA     90005401422
13964691647956   JUDY           RODGERS                     AR     24012246916
13966191955976   ANTHONY        LOWRY                       CA     90014451919
13967643161924   CHRISTINE      KAISER                      CA     46053666431
13968179791569   VIRGINA        SOLANO                      TX     90012101797
13969751455948   RICHARD        NIRES                       CA     90011797514
13971223961958   DEEDEE         JENKINS                     CA     46016932239
13971623255976   RIDDLE         MALISSA                     CA     49046546232
13974272361958   MICHAEL        ALLEN                       CA     46008972723
13975286757147   ELMER          MEDINA                      VA     81016372867
13975685255948   MIRIAM         FLOREZ                      CA     49004726852
13976225447846   BRIDGETTE      TAYLOR                      GA     90009032254
13978243231635   DANIEL         REICHENBERGER               KS     22017472432
13979116661976   LEILA          WILSON                      CA     46061511166
13982986851337   NIKI           FAYE                        OH     90011069868
13984788655948   EDDIE          RODRIGEZ                    CA     90013067886
13987657361976   CHRISTIAN      GARCIA                      CA     90014996573
13991728361958   CHRISTOPHE     POTTER                      CA     46006487283
13992426431428   KIARA          WILLIAMS- PIGRAM            MO     90013994264
13994537461976   ERIKA          VILLARREAL                  CA     90014525374
13996365591895   ANGELA         MCDONALD                    OK     90000913655
13996862355976   MARLON         HAYES                       CA     90012938623
14111348131676   CHRISTIE       LECHNER                     KS     22046743481
14112243661938   ROLANDO        ESPINOZA                    CA     90012102436
14113277457147   HERMENEGIL     ORELLANA                    VA     81028732774
14114848547956   LAUREN         GREEN                       AR     90012498485
14114942361958   GRAY           TAYLOR                      CA     46039329423
14116843157147   LISA           ARNOLD                      VA     81010198431
14118291557147   JOSE ABEL      LAINEZ HERNANDEZ            VA     90010982915
14118559455976   FRANCISCA      HERNANDEZ                   CA     90015415594
14124134791569   NANCY          HAWKINS                     TX     90007581347
14125584561958   FERNANDO       JAUREGUI                    CA     46009105845
14126222791263   KIRNSHA        MCKINE                      GA     90014772227
14127456647956   CONNIE         GENTRY                      AR     24027244566
14131378161926   SARA           CHRISTENSEN                 CA     90013123781
14133327355976   JULIE          MC CANN                     CA     90007703273
14135252351337   CELSO          CASANOVA                    OH     90010782523
14136651955976   NANCY          LEE                         CA     90004656519
14139467447956   JULIA          WHITEHEAD                   AR     90014534674
14141626851337   ANNE           REID                        OH     66028256268
14142545533699   ROSE           NICKELSON                   NC     12065715455
14142572251337   PAUL           CROSS                       OH     66013655722
14143533691263   MIALANI        PAALAN                      GA     90012845336
14145632431687   DONNA          BRUCE                       KS     22034636324
14146313857147   VY             NGHIEM                      VA     90012063138
14152338347956   JANAN          JONES                       AR     90011003383
14155624131687   ANDREA         CRAMER                      KS     22000966241
14155687251337   HERMENEGILDO   VASQUEZ                     OH     90012536872
14156128291263   TEWANA         GLOVER                      GA     90005861282
14157271355976   ROSA           LOPEZ                       CA     49014142713
14157568531687   MICCA          TURNER                      KS     22087015685
14157765291569   DAISY          RUIZ                        TX     90013937652
14157965691899   JOHNNY         TERRRY III                  OK     21045109656
14158635647956   DYLAN          ODOM                        AR     90013096356
14159439655968   HECTOR         SOLORIO                     CA     90001834396
14162294933699   DAVID          WILLIAMSON                  NC     90014652949
14163269847956   TREASURE       CARPENTER                   AR     90011622698
14164915691569   SONIA          GUZMAN                      TX     90010649156
14165321847956   JIMMY          DUKES                       AR     90011623218
14166985591263   SANDYBELL      MALAVE                      GA     14596229855
14168712755976   SANDRA         MCCULLAR                    CA     49007237127
14169877955976   VICTORIANO     ROJAS-MEZA                  CA     90013058779
14172435791895   ANDREW         ALEXANDER                   OK     90014604357
14173157991263   KRISTEN        FERRELL                     GA     90012611579
14173545791895   CASSIE         SCHNEBLY                    OK     90008025457
14175223747956   JUAN           URIBE                       AR     24043662237
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14175545791895   CASSIE           SCHNEBLY                  OK     90008025457
14175779391569   BRIANDA          LUNA                      TX     90013937793
14176696647956   JENNIFER         SHORT                     AR     90011376966
14176789791569   ELISA            AYALA                     TX     90013937897
14177292731646   AMY              FRANKLIN                  KS     90008152927
14177522851337   JOHN             CURLESS                   OH     90015285228
14178528691263   TIFFANY          BECTON                    GA     90008575286
14178639255924   JOHN-FIDEL       ROSALES                   CA     49093126392
14179789791569   ELISA            AYALA                     TX     90013937897
14181946561958   QUENTIN          SPONSELEE                 CA     46096079465
14183273491895   MONICA           WINSTEAD                  OK     90004952734
14183361491899   JEREMY           HAMILTON                  OK     90013493614
14185892291569   RONALDO          BERNAL                    TX     90014908922
14186888731687   ASHLEY           BLANCO                    KS     90005908887
14188291847956   SYRA             BAKER                     AR     90013332918
14189836491569   LORENA           MARTINEZ                  TX     90003838364
14193982361958   ORA LEE          HU                        CA     90003539823
14194712291569   LETICIA          SOLIS                     TX     75095277122
14195442991569   ALEJANDRA        VILLA                     TX     90005584429
14195745991263   ROBERT           HODGES                    GA     14501297459
14196484933699   DAVID            CELEDON                   NC     90002444849
14198276551337   ARTASIA          MACQUEEN                  OH     90002512765
14213132251337   DIANE            MINERVINI                 OH     90013811322
14213449791569   JOSEPH           SORIA                     TX     90014964497
14213978461958   LIZETH           FERREIRA                  CA     46087409784
14217967961938   SANDRA           MORAN                     CA     46092419679
14218237357147   WILBERT          ZELAYA                    VA     81091282373
14218648455976   BRIAN            DSIGGERS                  CA     90013846484
14218959961938   SCOTT            RIDDICK                   CA     90005879599
14219111591263   AL               BROOK                     GA     14583621115
14219512861958   BOBBY            TALBOT                    CA     46009765128
14222576247956   AUNJOLIE         COLEMAN                   AR     24031895762
14224742361938   TONIA            HERNANDEZ                 CA     90014737423
14225772455976   CINDY            BRADLEY                   CA     49012107724
14226246833699   ADRIENNE         ARMENTA                   NC     90014252468
14226742361938   TONIA            HERNANDEZ                 CA     90014737423
14226965357147   ANOTHY           HUBBARD                   VA     90012919653
14227393591895   BRENDA           OLIVER                    OK     90014613935
14227712591569   RENE             FRANCO                    TX     90014847125
14227733355976   JORGE            ROSALES DE LA CRUZ        CA     90014757333
14229628131687   REBECCA          MARTINEZ-AREVALO          KS     22034956281
14229963491263   TAKENNIA         CRAWFORD                  GA     90014979634
14232246184344   ARTURO           CASTELLANOS               SC     90014582461
14234589391899   LARRY            JOUBERT                   OK     21072065893
14237211333699   LESLEIGH         MORRIS                    NC     90009532113
14238378147956   MARIA            CIFUENTES                 AR     90011003781
14238864361958   ASHLEY           WASHINGTON                CA     90013438643
14239673991899   ROBERT           BROTHERS                  OK     90013496739
14239744491836   SAMUEL           AYUZO                     OK     90014347444
14242741661938   MARTHA           MARTINEZ                  CA     46093197416
14243688391899   MARQWAN          TRELEAVIN                 OK     90013496883
14244657591895   ROBERT           WORSLEY                   OK     90008996575
14246891391263   DONALD           LAMBERT                   GA     90010148913
14248399261938   ALEX             GARCIA                    CA     90014753992
14248742361938   TONIA            HERNANDEZ                 CA     90014737423
14251442691895   JORDAN           CHYENNE                   OK     90007734426
14251811491569   JESUS            ORTIZ                     TX     75096388114
14254358757147   DENNIS           BAUTISTA                  VA     81039983587
14255748661938   MICHAEL          BUZO                      CA     90014737486
14257721291895   LAVONA           ALWARD                    OK     90001917212
14259578861938   SEVERIANO        MEDINA                    CA     46058045788
14261169633699   JAMES            MACK                      NC     90010031696
14261381561938   ANNA             PELMORE                   CA     90013233815
14261529293775   ERIKA            PERRIN                    OH     90010665292
14261942857147   DON              MIXON                     VA     90013869428
14262632361938   AIOTEST1         DONOTTOUCH                CA     90015116323
14264585461958   GLORIA YOLANDA   SANDOVAL                  CA     90013375854
14264712377529   BLANCA R.        LOPEZ                     NV     43003047123
14265482761938   LEONARD          C                         CA     90014744827
14265878191895   JACKIE           ALLEN                     OK     21082858781
14266762461938   YOLANDA          MORENO                    CA     90013937624
14266923761958   PHOULOM          NOVANG                    CA     90013519237
14267949151337   JANICE           BROWNING                  OH     90009829491
14269633833699   SHAVONNA         RAY                       NC     90015136338
14273719491895   SHARLA           KINDLEY                   OK     90009857194
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14274425255976   CONSUELO            AMEZCUA                CA     49058684252
14275153333699   JASON               RODRIGUEZ              NC     90011001533
14275796261958   JOEL                RAMOS                  CA     90015127962
14277446261938   JULIO               SOTO                   CA     46000854462
14277464344356   SHONNESE            HAYES                  DC     90013554643
14278141555976   LUCY                GARCIA                 CA     49022241415
14279728455976   CHRIS               BRYSON                 CA     90013917284
14281947857147   CARLOS              ALBERTO                VA     90010879478
14283216347956   AARON               PENDLETON              AR     90013702163
14283639291263   SIRENA              ROBERSON               GA     14562066392
14284364561938   JAMANE              COLEMAN                CA     46010153645
14286363433699   SHAWNTIKA           DAVIS                  NC     90009153634
14286862591569   MARIO               ENRIQUEZ               TX     90007728625
14288457571927   BRENDA              CRESPIN                CO     90010414575
14291241631687   MARTHA              LOZANO                 KS     90011032416
14292215255976   ANTHONY             MORALES                CA     49050332152
14294281655933   STEPHANIE           VARELA                 CA     48025362816
14295141491569   JULIETA             PALMA                  TX     90004861414
14295378931635   EUGENE              RUHL                   KS     90012863789
14296484161938   MIGUEL ANGEL        BARRETO                CA     90014744841
14297381791895   MANUEL              LOPEZ                  OK     21012683817
14298133251337   TABITHA             MYRICK                 OH     90015041332
14298285555976   ANTHONY             BOLTON                 CA     90014702855
14298678291899   BRIAN               LOONEY                 OK     90013506782
14298784591895   CHERYL              PRICE                  OK     21075487845
14299495791899   RONALD              JONES                  OK     21018504957
14299838291569   ANTHONY             APODACA                TX     90013938382
14311518651337   KAREN               FELTNER                OH     66071965186
14314564847956   BEATRIZ             DELGADO                AR     90015125648
14314662191569   ELIZABETH           RAMIREZ                TX     75084266621
14315593351337   JESSYCA             EHRHART                OH     90014305933
14316731133699   CHELLE              JILES                  NC     90004937311
14317578461958   JOVANI              TAPIA                  CA     90003375784
14318786951337   FAITH               MARTIN                 OH     66093587869
14319291293758   MATT                SHOUGH                 OH     90007702912
14321483457122   CESAR               LOPEZ                  VA     90001834834
14321665451337   JOE                 HARRINGTON             OH     90015326654
14321965555976   TEAN                SILVA                  CA     90002299655
14327963791977   KENNY               CARR                   NC     17091939637
14328326333699   DANIELLA            PRESTON                NC     90014603263
14329145161938   JOSEPH              BLISSE                 CA     90015111451
14332779591895   LUIS                PEREZ                  OK     90011827795
14333496355976   PRINCE              CAPOZZI                CA     90010754963
14335479691895   ANGELA              BRIDGES                OK     21055304796
14336764791895   ROBERT              HUTCHISON              OK     21069257647
14337627831635   NICOLE              CROW                   KS     90013866278
14338183151337   SIERRA              GILLISPIE              OH     90012761831
14338328157147   EDWIN               ZOMETA                 VA     90007593281
14341433351337   ERIK JOSUE          AGUILAR HERNANDEZ      OH     90014424333
14341725491586   MARIA               QUESADA                TX     90001347254
14342632361938   AIOTEST1            DONOTTOUCH             CA     90015116323
14342763557147   JOSE                MARTIN MANDOZA         VA     90010847635
14344334131687   FABIAN              GONZALEZ               KS     90011033341
14345584957147   PATRICIA            ROJAS                  VA     90014785849
14346495455976   DAVID               MCELHAMEY              CA     49004994954
14346654791838   RETA                LOCKLEAR               OK     90012286547
14346815147956   YOLANDA             IBARRA                 AR     24014818151
14347757391569   NESTOR              GUZMAN                 TX     90011697573
14351353891895   TERRI               GOTTHARDT              OK     90012323538
14353511761938   XELA                BALDUEZA               CA     90014745117
14355482491263   GENE                LOUDER                 GA     90013194824
14356589591569   DORA                CONTRERAS              TX     90013965895
14357881357199   RENE ARCIDES        GONZALES               VA     90004268813
14358434231687   NORMA               RAYMUNDO               KS     22060874342
14359484961938   CARLISSA            BIVONA                 CA     90011394849
14359523691569   AGUSTIN             CHAIREZ                TX     90007795236
14362169361993   GALDINA             MENDEZ                 CA     90013611693
14363584591895   ELIZABETH           STONER                 OK     90014605845
14365622491569   VICTOR              VILLALOBOS             TX     75058736224
14365839261938   CHRISTINA LATRECE   HILL                   CA     90013628392
14366854551337   RUSSELL             PHILLIPS               OH     90015178545
14367814351337   TAMEKA              PUGH                   OH     66015698143
14367936747956   XAYSONGKHA          PHOUMIVOUNG            AR     24014519367
14368365261987   OMAR                RAMOS                  CA     46062553652
14368957891895   GEORGE              ESPARZA                OK     90015159578
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14369937561958   MARY          MONTALVO                     CA     90012939375
14374138757147   JOSE          BAIRES                       VA     90013951387
14374191692827   FERNAN        PEREZ                        AZ     90014211916
14376556457147   YOLANDA       VILLALTA                     VA     90012995564
14376587291895   KELLIE        BROWN                        OK     90014605872
14376812357147   JAVIER        VENTURA                      VA     90011108123
14376847451337   RODNEY        DOBSON                       OH     66077938474
14378892491569   PRISCILLA     FLORES                       TX     90009478924
14379541261938   ALEJANDRO     LOMAS                        CA     90014745412
14381158355976   ROBERT H      GARCIA                       CA     90012081583
14383414433699   PEARL         SIMMONS                      NC     90014614144
14384152347956   WILLIAM       CROSSNO                      AR     24027551523
14384234131687   NATH          SOEUN                        KS     22039262341
14385125357147   ROSA          BETANCOURT                   VA     81091061253
14385727391899   SHARENA       FULTON                       OK     21018547273
14388698561958   ISAMAR        PEREZ                        CA     90013196985
14388978633699   NAKISHA       HILL                         NC     90004159786
14392557133699   TIFFANY       JOHNSON                      NC     90014615571
14393684391263   WAYNE         GAINEY                       GA     14570616843
14394972471927   KRISTEN       BARON                        CO     90002269724
14395253355976   JUAN CARLOS   FELIX                        CA     90013262533
14395893291569   EVELYN        MARTINEZ                     TX     90014328932
14396299391263   NIKIRA        HATCHER                      GA     90012162993
14396676661958   MARTINES      LEASLIE                      CA     90004876766
14397572647956   PEGGY         BLAIR                        AR     90007505726
14399229491895   AMY           OWINGS                       OK     21098202294
14411991847956   SHAUNELL      GUILBEAU                     AR     90000289918
14412894747956   BERNARDO      LUNA                         AR     90003178947
14413173657147   STEVEN        WATSON                       VA     90002301736
14414514655976   WILMER        RODRIGUEZ                    CA     90010755146
14415445391895   ROSELIA       VAZQUEZ                      OK     90011294453
14416919157147   MANUEL        BELTRAN                      VA     90011919191
14417221151337   PATTY         MORBACH                      OH     66054722211
14423355747956   DAVID         JOHNSON                      AR     90012093557
14424718691569   NORMA         GIBBONS                      TX     90011947186
14425396247956   BERLIN        VANN                         AR     90014873962
14425936891569   GLORIA        BONILLA                      TX     90013939368
14425948491323   MARIA         CARMONA                      KS     90001589484
14425974961938   MARITZA       WILSON                       CA     90000579749
14426138891895   LOUIS         WESLER                       OK     90011831388
14432394857125   MILTON        HERRERA                      VA     90013403948
14435137993732   STEVEN        WILLIAMS                     OH     90014111379
14435335181465   SIMORIA       WILLIAMS                     PA     90011153351
14435959261938   JENNIFER      MCCANN                       CA     90007559592
14438531657147   ELMER         PORTILLO                     VA     90013135316
14442981555976   STEPHANIE     PRETZER                      CA     90014649815
14443628661938   MELISSA       FARES                        CA     46083996286
14444742791569   YAARA         LOPEZ                        TX     90013047427
14444929161958   GLEN          DECKER                       CA     46033049291
14445452761958   NELILITA      VALLES HILL                  CA     90012244527
14446971531687   JESSICA       SILERIO                      KS     22002339715
14447946291569   DELGADO       MARISELA                     TX     90011359462
14448661461938   MARIA         PEREZ                        CA     90004886614
14448717851337   PAYGO         IVR ACTIVATION               OH     90015557178
14449488785922   DARNETTA      ARGUELLO                     KY     90003704887
14449978285836   MELISSA       LOWDER                       CA     46073969782
14452258255976   KOU           EKVIXAYSACK                  CA     90006092582
14453185691993   STEPHANIE     COLEMAN                      NC     90011281856
14453329933699   LLOYD         CHRISTOPHER                  NC     90008623299
14453443661938   HIROMI        TROUBLEFIELD                 CA     90014164436
14454577457147   KIA           ESHTAB                       VA     90010325774
14455223155976   GUDALUPE      GARCIA                       CA     49081122231
14457464891346   GABE          HAMILTON                     KS     90013364648
14458744751337   ALISHA        POWELL                       OH     66001707447
14463228393724   RAY           TOWNSEND                     OH     90010912283
14463749951337   SOTHY         PRIM                         OH     90013427499
14464543831664   MIKE          HARBOUR                      KS     22035875438
14469518331687   MARQUAJZA     JOHNSON                      KS     90002505183
14469913691895   SANDRA        MITCHELL                     OK     90003929136
14469997847956   TIFFANY       MCDADE                       AR     24066259978
14471159433699   PAYGO         IVR ACTIVATION               NC     90014651594
14472545491263   EMMANUEL      MORILLA                      GA     90008545454
14472962984344   JASMINE       HEYWARD                      SC     90014379629
14473749391895   PAMELA        BROWN                        OK     21046617493
14474434533699   FERNANDO      RODRIGUEZ                    NC     90014664345
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14475292991569   BERTHA          FLORES                     TX     90000432929
14477965547956   TUESDAY         WALKER                     AR     90015449655
14478424691895   MELANIE         SPRINGER                   OK     90014614246
14479272991263   CHINA           WHITE                      GA     90000102729
14481354257147   VALIRE          COKER                      VA     81044073542
14483751491263   KEYA            MAXWELL                    GA     14562097514
14484351661958   ANDY            ELIA                       CA     90010023516
14486693361938   KEISHA          JORDAN                     CA     90008396933
14488884433634   KAY             EVANS                      NC     90003308844
14491138591263   SANDRA          EARLY                      GA     90001611385
14491393841284   JOSEPH          WAGNER                     PA     51012623938
14494139831687   RODNEY          CLARK                      KS     22016661398
14494162291569   MARIA           CONCEPCION                 TX     90014001622
14494187161958   JAY             KIM                        CA     90011471871
14495457384329   SOPHIA          SIMMONS                    SC     90012714573
14495612591569   HECTOR          ALCANTAR                   TX     90012716125
14496143155976   ALFREDO         GUILLEN                    CA     90014321431
14496443193723   GALE            KILBARGER                  OH     64554374431
14497443193723   GALE            KILBARGER                  OH     64554374431
14498561151337   TRACY           DEARINGER                  OH     90000305611
14499375491895   JAYTHAN         DALE                       OK     90011833754
14511337433647   AQUANDLYN       WHITTINGTON                NC     90013673374
14511434347956   PATRICIA        SAMPLEY                    AR     24070464343
14513822264183   FRANK           CANNON                     IA     90014468222
14515439191895   CHENOA          FRAZIER                    OK     90015204391
14515468355976   SOPHIA          GARCIA                     CA     90000434683
14516812771964   THEODORE        HAUSER                     CO     32071848127
14517983161958   MANUEL          GARCIA                     CA     90011179831
14519357947956   AARON           PARHAM                     AR     90012723579
14523228891263   STACIE          HYATT                      GA     90011872288
14526159947956   ELISA           TREADAWAY                  AR     24071141599
14527643447956   MICHAEL         DUNCAN                     AR     90015456434
14527934757147   LUIS            ROSA                       VA     90012169347
14529854847956   STEPHANIE       NIETO                      AR     90015048548
14531913151337   ELIZABETH       BEBOUT                     OH     66081159131
14533933751337   JEFF            FERGUSON                   OH     90013079337
14536665155987   BARBARA         LAMATTINA                  CA     90011936651
14537314391895   DAVID           ANDERSON                   OK     90013033143
14537845951337   KATRINA         BRADLEY                    OH     66051128459
14538194522929   NICHOLAS        REDDING                    GA     90014541945
14538781451337   HUBERT          BARRETT                    OH     90013777814
14542283854144   JAMES           ELIZONDO                   OR     90011552838
14543154955938   JOSE            NUNEZ                      CA     90009011549
14544484191895   SHAWN           DUNCANT                    OK     90014604841
14544717631635   STEPHANIE       SMITH                      KS     90005977176
14545429555976   STEPHANIE       JONES                      CA     90013004295
14545698891569   JAVIER          FAVELA                     TX     90014706988
14545857891569   MIRNA           MUNIZ                      TX     90011578578
14546676361958   JOSE            ANTONIO                    CA     90011376763
14546886757147   TILAHUN         MELAKU                     VA     90007838867
14547284761926   FRANK           KOVACS                     CA     46000072847
14548484191895   SHAWN           DUNCANT                    OK     90014604841
14549239691569   CHRISTEEN       MACIAS                     TX     75016972396
14549644361958   CORETTA         BUCKLEY                    CA     90001156443
14551183657147   JOSE            GARCIA                     VA     81094601836
14554718361958   JACKIE          DAVIS                      CA     46041917183
14554936831635   DONALD          PERKINS                    KS     22029009368
14556691391569   ERIKA           FALCON                     TX     75017426913
14556999391895   JAIME           RODRIGUEZ                  OK     21063539993
14557514733699   ANDREZ          MARTINEZ                   NC     90011015147
14557688171967   RODNEY          TIDBALL JR                 CO     90007536881
14558361361997   DESARA          JACKSON                    CA     90008053613
14558935557147   ANDREA          RUANO                      VA     81095049355
14559276457147   MAXINE          ASAMOAH                    VA     90006202764
14559671991899   JASON           SHAFFER                    OK     21018646719
14561325347956   DONNA           NGUYEN                     AR     90014303253
14561452851337   WILMAR MANUEL   BAUTISTA GABRIEL           OH     90015164528
14562589491569   ROSA            LOPEZ                      TX     90004655894
14562866355976   WANDA           CARRASCO                   CA     90011148663
14564292555935   JOSE            MORENO                     CA     90008352925
14564385391573   SERGIO          CHACON                     TX     90001733853
14564463661958   BLANCA          VASQUEZ                    CA     90014904636
14564679457147   VNS             CONSTRUCTION               VA     90007196794
14565436493725   ALICIA          STEWART                    OH     90012914364
14566774631469   STEVEN          PUPILLO                    MO     90008557746
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14567637551337   HARLEY        NANCE                        KY     66084806375
14569121191263   NATHANIEL     SIBERT                       GA     90012251211
14572262257147   CARLOS        GANOZA                       VA     81011942622
14572726991569   HECTOR        JURADO                       TX     90006837269
14572758833699   WILLETTE      BOBBITT                      NC     90011087588
14573841461958   PAOLA         NAJERA                       CA     90010728414
14575676857122   CARCAMO       CRUZ                         VA     90009326768
14576257761958   DORA          TORRES                       CA     46037812577
14576533391895   REGINA        LITTLETHUNDER                OK     90014615333
14577377461958   FELICITAS     RAMIREZ                      CA     90004223774
14578453633623   DAMON         STURDIVANT                   NC     90001704536
14581121791569   MELISHA       TREJO                        TX     90009661217
14581461147956   KHAMPOY       KHANTHAVONG                  AR     24089804611
14581551791895   RIGOBERTO     GARCIA                       OK     90014615517
14585277591524   CARLOS        REYES                        TX     90011152775
14585647957147   JOSE          PINEDA                       VA     90014906479
14587394347836   SHANITA       SLEDGE                       GA     14083553943
14587687131687   SMAJO         SULEJMANI                    KS     22081556871
14589251661938   CHRIS         KELLY`                       CA     90002062516
14589313791263   HEAVENLEIGH   JOHNSON                      GA     90009213137
14592283247956   SHAMICA       HOUSTON                      AR     90000422832
14592476991569   URIAS         OCTAVIO                      TX     75082884769
14592835391895   LEYDIANA      GARCIA                       OK     90011618353
14592884247956   JOSE          ROJAS                        AR     90015528842
14592981455976   LAWRENCE      YANEZ                        CA     90003369814
14597311191899   MICKEY        HARDMAN                      OK     21058633111
14597638355976   GEORGE        COVARRUBIO                   CA     49053456383
14611351533699   JAME          ELLIS                        NC     90011303515
14611828991895   CHRYSTAL      PENNGTON                     OK     90011838289
14612122155976   CRYSTAL       COOK                         CA     49079871221
14612638457147   MARCO         MONROY                       VA     81054226384
14612957391895   AUDREY        MYKELOFF                     OK     90014769573
14615178391586   JESUS         RODRIGUEZ                    TX     75014861783
14615553891263   MITCHELL      LAWSON                       GA     14570635538
14615959191569   MONIQUE       FERNANDEZ                    TX     90011359591
14618644855976   HELEN         HESS                         CA     49090456448
14619115747956   MONICA        THOMPSON                     AR     90014811157
14622632691263   ZIKEA         PERRY                        GA     90014936326
14627517757122   ELIO          GONZALEZ                     VA     90002785177
14629974991895   MARY          MENLENDEZ                    OK     21091319749
14631557391263   DAVID         CAMBRON                      GA     90003325573
14631583476224   TALIA         WIGGINS                      GA     90007955834
14632141971982   DARYL         ROQUE                        CO     90007751419
14637542847956   LARRY         EVANS                        AR     90012585428
14642386861938   EUSEBIO       RAMIREZ                      CA     90006873868
14642428661958   HERLINDA      OROZCO                       CA     90014734286
14645521161958   RODOLFO       FLORES                       CA     46043205211
14653861861938   FERMIN        DIAZ                         CA     90004258618
14655145155976   PAULA         PEREZ                        CA     49068701451
14655897891895   CRYSTAL       PEREZ                        OK     90011838978
14656132447956   MIRNA         VELASQUEZ                    AR     90013491324
14656371593737   REX           THOMPSON                     OH     64574683715
14656521391964   NICOLE        SHIELDS                      NC     17042545213
14657462355976   CATHY         REYES                        CA     49081764623
14657753191569   JULIO         ALMANZA                      TX     75077717531
14657986347956   OSCAR         RECINOS                      AR     90015139863
14658155191584   JESSICA       VILLA                        TX     90013211551
14661959531687   MARIA         ORTEGA                       KS     22094389595
14662282161938   BRITTANY      POSEY                        CA     90008412821
14662735891895   MICHELLE      GRAYSON                      OK     21097227358
14663219357147   EDIN          VEGA                         VA     90013922193
14663596433699   AMBER         MESSER                       NC     90011025964
14664197133699   KARI          LAGOE                        NC     90011861971
14665125651337   MICHELLE      MITCHELL                     OH     90014711256
14666699461936   BRITTANY      SICKLER                      CA     90012226994
14669793561938   DANIEL        CARDONA                      CA     90014747935
14676454491263   DERRICK       WILLIAMS                     GA     90008804544
14676517933699   CARLOS        MARTINEZ                     NC     90014695179
14677142955976   LAURA         FERNANDEZ                    CA     49045771429
14677332757147   WILMER        SANCHEZ                      VA     90014433327
14677517933699   CARLOS        MARTINEZ                     NC     90014695179
14679742761958   KASSANDRA     MCCALL                       CA     90015317427
14679914691895   ANGELA        BRADLEY                      OK     90014169146
14681419851337   EUGENE        MOORE                        OH     66047224198
14681856357145   JUAN          CABRERA                      VA     81053598563
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14682477261938   RICKY         THIEL                        CA     46016534772
14682664755933   LEANDRO       CONTRERAS                    CA     90006086647
14684774757147   ESTELA        PORTILLO                     VA     90010317747
14684864691569   VICTORIA      ARENIVAR                     TX     75027418646
14685894655976   LARRY         ROMERO                       CA     90015308946
14686569955976   ASHLEY        JOHNSON                      CA     90011325699
14688959951337   LINDA         INGLES                       OH     90011409599
14688987957562   OLGA          ARMENDARIZ                   NM     35590959879
14689245757147   CESAR         VALDEZ                       VA     90014052457
14689595233699   AUSTRALIA     MCLENDON                     NC     90014695952
14691374261938   FANNIE        TAYLOR                       CA     90013363742
14692182191263   ROSEANN       HAYWOOD                      GA     90014581821
14692855191547   ADRIAN        SALINAS                      TX     90014818551
14693399191569   GILBERT       MACIAS                       TX     90006813991
14693791431635   KAREN         AYOTTE                       KS     90007087914
14694438791263   SHAREIKA      YOUNG                        GA     90014514387
14697141991569   JACOB         GALLEGOS                     TX     75006311419
14697896491895   ROBERTO       CORREA                       OK     21057978964
14711623991964   NAKIA         GREEN                        NC     90003456239
14712169791895   DENINA        GREEN                        OK     21012611697
14712741261938   ANDRE         JACKSON                      CA     90004117412
14719213891569   VERONICA      AGUILAR                      TX     90008602138
14719434351337   IRRAEL        MORENO                       OH     90014424343
14721419791895   BRITNEY       PRICE                        OK     90014624197
14723651291263   QUINN         HOLLINGSWORTH                GA     14590286512
14723959791569   VANESSA       ZAMBRANO                     TX     90011359597
14726314555976   ASHLEY        RIVERA                       CA     90014933145
14726647991569   VALERIE       ESCAMILLA                    TX     75023526479
14728731291895   AMY           CYPERT                       OK     90014617312
14729258691569   FELIPE        HERNANDEZ                    TX     90009902586
14729574461958   CARLOS        SANTANA                      CA     90000905744
14729579347956   PEGGY         BOSWELL                      AR     90014325793
14731866233699   JANET         CECIL                        NC     12051558662
14732524855976   SAUL          GULLEN                       CA     90012015248
14732844357147   ANGEL         LARA                         VA     90013238443
14733139931687   SHEILA        KOVACH                       KS     22015761399
14733688791263   JOYCE         MILLER                       GA     90001396887
14734874191327   JAMES         STEWART                      KS     29044968741
14735761455976   CALVIN        CHURCH                       CA     90015317614
14736826791263   TIFFANY       RAWLS                        GA     90014778267
14738866433699   TAMEKA        NICHOLS                      NC     90014708664
14741685884347   TURKESSA      PINCKNEY                     SC     90009126858
14741773491569   JOSE          LARA                         TX     90009997734
14741835933699   ISAAC         SANCHEZ                      NC     90009878359
14744519131687   DYRON         WASHINGTON                   KS     22005405191
14747774991895   COREY         MURPHY                       OK     90014617749
14751826551337   KAIA          KHAMISI                      OH     90008438265
14752322355976   JILL          CLARK                        CA     90014063223
14754631971923   BRANDI        GARCIA                       CO     90015216319
14754738533699   JESSICA       DELGADO                      NC     90014717385
14754925991895   ERRIN         BAKER                        OK     90013879259
14755213891569   VERONICA      AGUILAR                      TX     90008602138
14755891271965   YESENIA       DEARCEO                      CO     90008538912
14755997657147   MIGUEL        MONJE                        VA     90012319976
14762639391836   LEVI          WOLSKI                       OK     90011606393
14763421791569   GERALD        WILLIAMS                     TX     90014814217
14763936747956   XAYSONGKHA    PHOUMIVOUNG                  AR     24014519367
14765493551337   KATRINA       HAWKINS                      OH     90002834935
14765724961958   ALDO          CISNEROS                     CA     90013807249
14767324991584   SAMMY         AMENZAGA                     TX     90008843249
14773377191895   RUTH          KIM                          OK     90010593771
14775841261938   ERIC          CORONADO                     CA     46062458412
14777261361938   MARISELA      LOPEZ                        CA     90011412613
14782327551337   BECKY         WILLIAMS                     OH     66003403275
14782576431447   ROBERT        SANDLER                      MO     90010895764
14782648191569   CARLOS        HOULGUIN                     NM     75000766481
14784473891569   TTERESA       MORENO                       TX     90009974738
14787315733699   JOSE          REYES                        NC     90011623157
14787491261958   JEAN          RONALD                       CA     90012724912
14787692961938   MIRELLA       MACIAS                       CA     90013676929
14789268457147   DAVID         SANDERS                      VA     81091632684
14791311351337   ALANDO        BONNER                       OH     90003183113
14792123891569   JESUS         GUTIERREZ                    TX     90013941238
14793342391263   ODETTA        HAMPTON                      GA     90012073423
14793424144356   MARLENE       HARRIS                       MD     90000594241
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14794128657147   CHRISTIAN      RODRIGUEZ                   VA     90012161286
14797818357147   ALBERTO        PIEDRA                      VA     81032968183
14797965651337   ARAMIS         JOHNSON                     OH     90011679656
14799786333699   REYNA          HERNANDEZ                   NC     90014727863
14811249455976   IDELFONSO      MONDRAGON                   CA     90015182494
14811453257147   PEDRO          SANCHEZ                     VA     90015044532
14811615661938   ERNESTINA      OROZCO                      CA     90012646156
14812137555976   KACHEY         WIMES                       CA     49084341375
14812291847956   SYRA           BAKER                       AR     90013332918
14813944361958   CRAIG          HEWITT                      CA     46009039443
14814846991895   TASHA          ARMSTRONG                   OK     21041768469
14815956657147   MARIA          BENITEZ                     VA     90012779566
14816356255968   ANGIE          MORALES                     CA     49056213562
14817286691895   SCOTT          GUNSELL                     OK     90003942866
14817535471964   ANTHONY        HAWKINS                     CO     90006515354
14817536147956   NELVA          WARREN                      AR     24048215361
14817866761938   JOSE MORALES   MALDONADO                   CA     90014748667
14819351261997   ASHLEY         NEWMAN                      CA     90007433512
14819653491547   KARLA          PRIETO                      TX     90008056534
14821394357147   ANA            GARCIA                      VA     90009433943
14823583457147   AMY ROSE       WALLACE                     VA     90015155834
14823919986463   MICHELLE       GAMBRELL                    SC     90014489199
14828946771927   VICKIE RON     GREENO                      CO     90009409467
14831423555976   THALIA         GONZALEZ                    CA     90012814235
14831433291895   BOBBY          SISNEY                      OK     90012724332
14833421255976   RICHARD L      LAWSON                      CA     90004464212
14833665991895   TARA           RAINBOLT                    OK     21094476659
14834396661958   MATTHEW        SOLANO                      CA     90015263966
14834826291895   JENNIFER       MINOR                       OK     90014618262
14835621147956   ROCKY          REXWINKLE                   AR     90015156211
14835739433626   ANGEL          BAYNES                      NC     90001087394
14836694293758   MONICA         MANSON                      OH     90011686942
14837361447956   MATTHEW        WOOD                        AR     24057463614
14838875361938   SHANA          COOK                        CA     90012898753
14843536755976   JOAN           CAUDILLO                    CA     49088785367
14843874491569   CARLOS JESUS   FERNANDEZ CONDE             TX     90013988744
14844874391263   WESLEY         ROBERTS                     GA     14508718743
14845211461958   GLENDALEE      CORTEZ                      CA     90005752114
14847174461958   JAHAZIEL       HERNANDEZ                   CA     90013591744
14848741255976   ROCHE          JOSE                        CA     49097067412
14851385747956   THOMAS         ALLEN                       AR     90015513857
14853775947956   SHERRY         RELEFORD                    AR     90014787759
14855343591569   RAYMOND        DIAZ                        TX     75016303435
14861198131635   SANDRA         HERNANDEZ                   KS     90005011981
14861836785942   LYNDEE         PHILLIPS                    KY     67062238367
14862396891263   MAURICE        PRISTELL                    GA     90013823968
14863865991895   MAURO          ORTIZ                       OK     90014618659
14864889691569   PATY           LUNA                        TX     75063158896
14865189655976   AMIRE          CRUZ                        CA     90013051896
14866424891263   ANDRE          DEBLOIS                     GA     14570634248
14866669691569   EMILY          BROOKER                     TX     75075976696
14868571461958   LEONARDO       LEON                        CA     90010215714
14871175961938   TYREE          OULDS                       CA     90012891759
14871392151337   SHARON         MCCANTS                     OH     66093773921
14871886157147   RKI CLAIMS     SPECIALIST                  VA     90011818861
14872772761958   JUAN MIGUEL    BALTAZAR                    CA     90012977727
14873367271967   PETE           BOLLANDER                   CO     90004643672
14873865261938   ANGELA         BENITEZ-CAYETANO            CA     90015278652
14873984357147   RILMA          ZENTENO                     VA     90005799843
14874161833699   BRANDON        WALLACE                     NC     90014741618
14874544757147   LUIS           CASTANEDA                   VA     90013315447
14875939691569   JAVIER         ROMERO                      TX     75025019396
14879252293732   TIMOTHY        DEVOISE                     OH     90013352522
14881278457125   ANELSY         MONTES                      VA     90010672784
14881336861958   MARIA          FLORES                      CA     90013143368
14882522657147   CARLOS         RIVERA                      VA     81093935226
14885682951337   LILIA          RODRIGUEZ                   OH     90013796829
14887989947956   JILL           WILLIAMS                    AR     90010299899
14889975861958   YOLANDA        TAPIA                       CA     90002299758
14891965691569   RICARDO        HERNANDEZ                   TX     90011359656
14892925361958   GERARDO        DELGADO MADRID              CA     46071399253
14894395461958   CAROL          HASSLER                     CA     90012713954
14896392333699   ANTONIO        GARLAND                     NC     90014743923
14896975147956   ROBERT         HUFF                        AR     90011089751
14898166891263   DERRYL         GREEN                       GA     90011941668
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14898875961938   HAYDEN        MCNEER                       CA     90014748759
14899635647956   DYLAN         ODOM                         AR     90013096356
14913216733699   EPHRAIM       GREEN                        NC     90014752167
14913258161938   ROBERTO       MARQUEZ                      CA     46023762581
14913333991895   WILLIAM       REDDELL                      OK     90012623339
14916442233699   BRANDON       BABER                        NC     90014754422
14917167791895   ROBERT        ROBLES                       OK     90001581677
14917591351337   DARLENE       LEMING                       OH     90012975913
14918472451337   KAITLIN       WARE                         OH     90005134724
14919746891569   NICHOLAS      OHARA                        TX     90009097468
14922475161938   ANGEL         GONZALES                     CA     90014894751
14923813833699   SHEILA        BURTON                       NC     90014758138
14925423491895   GARY          STANPHILL                    OK     90011974234
14927799891869   MICHAEL       LOBMEYER                     OK     21064397998
14932278691569   MARIA         PAYAN                        TX     90014802786
14932934157147   MARINA        ANARIBA                      VA     90012599341
14934216991569   MANUEL        YANEZ                        TX     75026952169
14935584891569   JESSICA       BELMONTE                     TX     90008375848
14937167261984   ELIZABETH     DIAZ                         CA     46041011672
14937695151337   DEREK         MOORE                        OH     66057506951
14942246461938   JOSHUA        DOZAL                        CA     90003152464
14943534357147   ANGELA        ZAPATA                       VA     90015305343
14943591531635   AMBER         PALMITIER                    KS     22069865915
14948885561938   SUGIERY       MORALES                      CA     90014878855
14951182991569   OSCAR         CONTRERAS                    TX     90013941829
14952313657147   JANNICE       DANIEL                       VA     90009813136
14954142255976   TRUDIE        MCDUFFY                      CA     90010761422
14957269391827   STEPHANIE     WILLIAMS                     OK     90007682693
14958161591569   ALBA          VILLELA                      TX     90003311615
14958264255976   ALONA         ANDERSON                     CA     90015392642
14958414161993   WES           STEWART                      CA     46090014141
14964494851337   KYLE          RICHARDSON                   OH     66088184948
14965254591569   YVETTE        ADAME                        TX     90011182545
14966615591569   MONIQUE       BENDZUS                      TX     90012716155
14966627557147   ETHAN         FADLEY                       VA     81032646275
14966674147956   ELIZABETH     GUZMAN                       AR     24011316741
14967441991569   MARIELA       LOPEZ                        TX     90013084419
14968264257147   TINIKA        SHELLINGTON                  VA     90002552642
14968375161938   ANA           CATALAN                      CA     46093203751
14971575691895   ANDREA        PIERSON                      OK     90012815756
14972783651337   SONYA         ERWIN                        OH     90013707836
14976816391569   CATALINA      RODRIGUEZ                    TX     75006448163
14977553147956   AMBER         PADILLA                      AR     90014515531
14977925247956   KAMILAH       RELEFORD                     AR     90008429252
14985462861958   ANGELA        THUNSTROM                    CA     46052364628
14985915661938   ROGELIO       PINA                         CA     90014749156
14986889891899   PATRICK       CONMY                        OK     21033568898
14988693591569   ROCIO         LUJAN                        TX     90011416935
14991539933699   PAMELA        AUTRY                        NC     12061995399
14992682791569   ALICIA        PINALES                      TX     90014836827
14994522151337   MATTHEW       URIAH                        OH     90014385221
14994864431635   LILIA         LOPEZ                        KS     90007178644
14995626557147   TESFAYE       BIRHANU                      VA     90010276265
14997517191927   DIRTY WORK    DIRTY WORK                   NC     17083235171
14997541461958   RANDY         PERKINS                      CA     90006895414
14998234951337   MATTHEW       HARRIS                       OH     90013092349
14998243557147   AKPALOU       KUDIO                        VA     90000692435
14999995591578   MARIA ELENA   FELIX                        TX     90004119955
15113768955948   ROMAN         DE LA ROSA                   CA     49004947689
15115665761958   SIRIS         TRAVETT                      CA     90005066657
15115776291569   GABRIELA      GOMEZ                        TX     90011957762
15116691361958   MARIA         LOPEZ                        CA     90006906913
15117213833647   THOMAS        MYERS                        NC     90001112138
15117631655976   PATRICIA      GONZALES                     CA     49086256316
15118227291263   SHERICE       JACKSON                      GA     90006552272
15118317757147   ABANOUB       ABDEL SAYED                  VA     90012483177
15118679247956   AMYE          GREENE                       AR     90005306792
15119325361938   TERERSA       KNIGHT                       CA     90005353253
15119769891895   PAUL          CALDERON                     OK     90003137698
15126558955976   RAMON         MEZA                         CA     90014805589
15126868555976   DULCE         DIAZ                         CA     90010828685
15126956861958   MAGGIE        ESTRADA                      CA     46081219568
15128771955976   AUBURAN       GREEN                        CA     90007407719
15129152686454   JIMMY         SISK                         SC     90015221526
15129711291263   ERIC          SALLES                       GA     14504017112
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15131655151357   DR J TYLOR    THOMPSON                     OH     66070156551
15132192691399   ROBERT        MABRY                        KS     29007541926
15134838491895   LOURDES       GALLARDO                     OK     90010508384
15135547991895   KALYN         BURKHAM                      OK     90015085479
15135961191263   JOSHUA        MITCHELL                     GA     90013189611
15135972291569   MARIA         ORTIZ                        TX     75021329722
15137364755976   LINDA         SATOYO                       CA     90005773647
15138121861958   RENATO        CAYABYAB                     CA     90011061218
15138859357147   DELMER        RUBIO                        VA     81059678593
15141246261958   JENNIFER      RODRIGUEZ                    CA     90003802462
15141928991569   IRENE         RODRIGUEZ RAMIREZ            TX     90013029289
15141994291263   ANITA         SADDLER                      GA     90006949942
15145198361938   KYRA          PORTER                       CA     90006981983
15145426491895   JOSEPH        HEIDENREICH                  OK     90009234264
15146397555976   TARA          BULK                         CA     90014623975
15148258691895   SHELLEY       ATCHLEY                      OK     90011022586
15152863631687   TERESA        SOTELO-RAMIREZ               KS     90014878636
15154198355976   GLORIA        RIVAS                        CA     90012501983
15155714391569   LAURA         MOSTYN                       TX     75027087143
15157892455976   LORENZO       MENDOZA                      CA     90010828924
15158429191569   MARIA         ARMIDARIZ                    NM     75090974291
15158925157147   ANA           MONTES                       VA     81086219251
15159451893725   WILLIE        WRIGHT JR                    OH     64515984518
15161314855948   LORALIE       ROUSEY                       CA     49017063148
15161622157147   ERNESTINA     QUINTANO                     VA     90010176221
15161727991263   TINA MARIE    WILSON                       GA     90010537279
15162358457147   ANABELLA      GUDIEL                       VA     81039373584
15163657291263   COOBY         SAUTHERFILLED                GA     90014936572
15164594844322   ABA           CUS                          MD     90015595948
15164896391524   SAMUEL        CAMPOS                       TX     90013248963
15165548391569   BREANAD       GONZALES                     TX     90013395483
15165614261958   ALEJANDRA     SOLEDA                       CA     90012556142
15166158991895   KAREEN        PERRY                        OK     90003681589
15166356591569   MARIA         DURAN                        TX     75035993565
15167164455976   MICHAEL       COOK                         CA     90010331644
15167211157147   JOSE          ARGETA                       VA     90012732111
15167616691895   ROBERT        JONES                        OK     90015326166
15167623291895   TAYLOR        PERRY                        OK     90014096232
15168219991569   MARIA         OCONNER                      TX     90007822199
15169799255948   JEANETTE      BAUTISTA                     CA     90012277992
15172788491263   MAYFER        HERNANDEZ                    GA     90013967884
15174771957147   MODESTA       MENBRENO                     VA     90014407719
15176559531447   ANNETTE       GONZALEZ                     MO     90006205595
15176575191895   KEISHIA       MANORE                       OK     21006235751
15182715791263   KELLY         CUMMINGS                     GA     90005727157
15182943531687   CIERA         PHILLPS                      KS     90014879435
15185818491569   SANDRA        ZARAGOZA                     TX     75077378184
15188464355936   BEN           WOODS                        CA     48076524643
15189324855948   RON           MEEKER                       CA     90011333248
15191438191895   TYLER         ARCHER                       OK     90011884381
15191668355987   JESSIE        CONLEY                       CA     49083236683
15193899991895   WARDELL       BRADLEY                      OK     90015158999
15194593991569   CRUZ AIDE     ROMAN                        TX     90003435939
15197659761958   VENUSTIANO    GONZALEZ ORTIZ               CA     46074006597
15197869591895   ISOLINA       QUEME                        OK     90008088695
15197872355976   EDGAR         RUIZ-RIOS                    CA     90012528723
15199216561925   ALEJANDRO     ZAVALA                       CA     46019782165
15211147257147   GLORIA        GUADRON                      VA     90002861472
15216174957133   EVELIN        SANCHEZ                      VA     90008491749
15216182591895   CARLOS        GUERRERO                     OK     90001561825
15216447783288   DIMITRI       KOUADIO                      TX     90014124477
15216843331676   MICHELLE      LANE                         KS     22060688433
15217127757147   AZEDDINA      ABOULHAJ                     VA     90014481277
15217173457147   ANDREW        ELLIS                        VA     90014521734
15218891833654   WYKEETA       HOLST                        NC     90014088918
15219759157147   JAMES         SMITH                        VA     90012787591
15221179791569   ISIDRO        MONTELONGO                   TX     90010661797
15225134591895   SHERRY        MARTIN                       OK     90011051345
15226797691569   FELIX         VILLA                        TX     90006047976
15227778591263   ANDREA        BRITELL                      GA     90010907785
15228591431687   RAMON         RUIZ-LAVIN                   KS     22067895914
15229854561958   JOHN          GANDY                        CA     90012268545
15231763157147   JOEL          ZELAYA                       VA     81038907631
15232888261958   AURORA        HERRERA                      CA     90008278882
15235796941255   LAYLA         FERBEY                       PA     90007467969
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15236842255952   ANA           AVALOS                       CA     90005438422
15237238831687   CARISSA       VINCE                        KS     22018102388
15238179791569   ISIDRO        MONTELONGO                   TX     90010661797
15239873991263   MARQUITA      SMALL                        GA     90014778739
15241967931687   SUSAN         STADTLANDER                  KS     90014889679
15247436931687   AMPARO        LUERA                        KS     90014784369
15247873491569   GUILLERMINA   ROBERTS                      TX     90013408734
15248422131687   ALVIN L       HUBBARD                      KS     22048394221
15255767991844   AMEISHA       WAGNER                       OK     90013587679
15256638657147   MIRNA         MORALES                      VA     90013886386
15258693191554   LORENA        NATVIDAD                     TX     90010016931
15261987471935   CHERYL        CORRIEA                      CO     90001259874
15262316193724   BRANDEN       CALHOUN                      OH     64510463161
15262758561958   CHRISTIAN     PONCE                        CA     90010957585
15264754891895   SEAN          HATHCOCK                     OK     90000177548
15265721891895   TAMIRA        AUGUSTINE                    OK     90014917218
15269421191895   EMILY         FREEMAN                      OK     21020164211
15269457791895   STEPHAN       JONES                        OK     90013304577
15271679391895   JEFFERY       HARRIS                       OK     90014096793
15274375731687   RAMON         HUERTA                       KS     90014903757
15275542791569   BEATRIZ       RODRIGUEZ                    TX     90012275427
15276146455976   LILIA         AGUILAR                      CA     49057501464
15276175857562   MARIBEL       NUNEZ                        NM     90012661758
15276337857147   JUAN          BARROSO                      VA     90013223378
15277375731687   RAMON         HUERTA                       KS     90014903757
15278584131497   TAMIKA        RIVERS                       MO     90002955841
15279113757147   KYAW          AYE                          VA     90010771137
15281647455948   SANDRA        SARAVIA                      CA     90007076474
15282949391569   ITZEL         GOMEZ                        TX     75086019493
15284394857147   LUIS          BARILLAS                     VA     90012143948
15284481355976   ANGELIQUE     LUNA                         CA     90012094813
15288948857147   JOHANNA       BONILLA                      VA     90013999488
15291428755999   MICHELLE      CELAYA                       CA     90001374287
15292872661938   ERNESTO       LUNA                         CA     90005118726
15295995791569   BLANCA        SANDOVAL                     TX     90014409957
15297596691569   JENNIFER      KIHARA                       TX     75005275966
15297825771966   SEAN          BURRITT                      CO     32016108257
15298681472435   RICARDO       CARTER                       PA     51010366814
15311241191895   BRITTANY      MITCHELL                     OK     90012012411
15312441891895   DEE           HENDRIX                      OK     90010914418
15318397991263   JAKEYA        PEASE                        GA     90012683979
15318748555976   BRYAN         WOODARD                      CA     90012817485
15319225557147   EDWIN         DELGADO                      VA     90002302255
15319615391895   TIANDRE       NICHOLS                      OK     90014956153
15321927447956   CHASITY       COX                          AR     90014599274
15323851457145   ELIZABETH     MONTANO                      VA     81063798514
15324134131687   PATRICIA      CRUZ                         KS     90003491341
15326691161938   ANDY          YANG                         CA     46086576911
15328494393725   ANGEL         FARORS                       OH     90001604943
15331165547956   KENNETH       WALTERS                      AR     24085131655
15331346961958   RUBEN         MEMIJE                       CA     46082273469
15331453491554   ROSA          URRUTIA                      TX     90003614534
15335475491569   JOSE          CONDE                        TX     90007654754
15336118447956   MARGARITO     JUAREZ                       AR     90002711184
15338962231687   RONALD        DAVILA                       KS     90014909622
15339711447956   STACY         BROOKS                       AR     24044567114
15339969391964   SESLY         CHAVIS                       NC     90011499693
15341457857147   JAVIER        SALAZAR                      VA     81073184578
15344692991569   LOURDES       ROJAS                        TX     90014526929
15345818893732   ERIC          LANDERS                      OH     64569068188
15345837131687   RONNIE        KINNAMON                     KS     22090678371
15348391391895   GABRIEL       VAZQUE                       OK     90006333913
15352532847832   MICHAEL       RICE                         GA     90008545328
15352788191346   CHUCK         MORSS                        KS     29090557881
15354254454133   DREYLON       NELSON                       OR     90014492544
15355752857164   JAIME         ORELLANA                     VA     90001007528
15356814757147   DORA          CHAVEZ                       VA     90006558147
15357777991895   DONALD        SNELL                        OK     21096427779
15366939161958   JAIRO         SILLAS                       CA     90012619391
15371497991569   NATALIE       GUTIERREZ                    TX     90010984979
15371762155933   RACHEL        WEST                         CA     90011857621
15372864791586   JOSE          GARCIA                       TX     90007098647
15373217791895   PAULA         GRADNEY                      OK     21001782177
15375427155976   JESUS         CALDERON QUEZADA             CA     90010024271
15375981155936   FELIX         GARCIA                       CA     90012349811
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15378511891895   TIMOTHY       WHITE                        OK     90010795118
15378584557147   JERFERSON     BATEN                        VA     90009945845
15384735564183   M             A                            IA     90013857355
15384915655976   MARIA         CORRENTE                     CA     90013099156
15385277355976   JUSTINA       MARQUEZ                      CA     90013152773
15388195154152   RON           MOYE                         OR     90011891951
15397261761958   RON           ANDERSON                     CA     46006342617
15411376484347   DAVID         LARUSSA                      SC     90012463764
15411393491263   BEVERLY       HIEZELLEMAN                  GA     90012843934
15411667561958   KINDRA        JAYSON                       CA     46031206675
15413855147956   STACEY        SISCO                        AR     24001478551
15414839957147   GLORIA        WILLIAMS                     VA     90010718399
15416491757147   WALTER        CORDERO                      VA     90014664917
15416613391569   LUIS          NUNEZ                        TX     90012016133
15418244357147   FAUSTINA      MOLINA                       VA     90015192443
15418284891569   HECTOR        PIEDRA                       TX     75099062848
15423676633668   RICK          MCLEAN                       NC     90009896766
15427455655976   ADELA         GONZALEZ                     CA     49035204556
15429486861958   SHANTRICE     POSEY                        CA     90012784868
15434575364183   ROB           SKOKAN                       IA     90010145753
15436418561958   OLNI          CALLAHAN                     CA     90003444185
15438437191895   TONYA         NICKLES                      OK     21031524371
15438777157147   ANDREA        SUAREZ                       VA     90010247771
15441148991895   JOSE          GUERRERO                     OK     90010901489
15441158957147   MARVIN        GRIFFIN                      VA     90012881589
15442223661938   RENZZO        RAMIREZ                      CA     90006012236
15444767255976   PATRICIA      CASILLA                      CA     90008277672
15447777791263   ASHLEY        WRIGHT                       GA     90011007777
15447972757147   DESEAN        JOSEPH                       VA     90014239727
15451349991836   MELLISE       ZACHARY                      OK     90005533499
15457624455976   MARIAH        MORENO                       CA     90015166244
15459813191895   TERRY         FUGATE                       OK     21060598131
15461322857147   MIRIAN        ALVERTO                      VA     81040033228
15462471257147   BENJAMIN      RAMIREZ                      VA     90001804712
15464126757199   MARCOS        REYES                        VA     90012231267
15464533561958   LAURA         BOZO                         CA     90012245335
15465263455976   ODULIA        GUTIERREZ                    CA     90005342634
15467155657147   CARMEL        JOHNSON                      VA     90012191556
15467856861958   PATRICIA      LONGUINES                    CA     90011518568
15468547431687   MARLENE       BROOKS                       KS     90014935474
15469365755976   RAFAEL        ALCASAR                      CA     90010833657
15469843691569   ISABEL        LOPEZ                        TX     90013258436
15472146157147   JUAN          HERRERA                      VA     81005291461
15472392361938   MARIA         HERNANDEZ                    CA     46066753923
15473131591569   LUZ MARIA     REYES                        TX     90014161315
15477797761958   MELISSA       PAYAN                        CA     90010377977
15482664761938   ANNA          COTA                         CA     90000566647
15484889891569   DAVID         GOMEZ                        NM     90000418898
15491934131687   ASHLEY        MEYER                        KS     90009369341
15494759157147   JAMES         SMITH                        VA     90012787591
15494864961958   ARTURO        RAMIREZ                      CA     90012648649
15494988991944   KENISHA       TUNLEY                       NC     90001419889
15496116191838   MIGUEL        MARTINEZ                     OK     90009781161
15497364347956   JAMES         ROBB                         AR     90010393643
15498682991895   LEONEL        AVILA                        OK     90015136829
15499823631687   BRETT         MOORE                        KS     90002958236
15511712261958   LEILA         ROSALES                      CA     90008707122
15521756231676   CHANCE        HAINS                        KS     90007487562
15522181791573   ANGELICA      MARTINEZ                     TX     90011841817
15528619561958   GEOVANI       ARADILLAS MANTA              CA     90003806195
15528678631687   JEREMIAH      EDMISTON                     KS     90014946786
15529556947956   JENNIFER M    GARTRELL                     AR     90008495569
15529916191573   IRASEMA       RAMIREZ                      NM     75088619161
15532469484375   DALE          BOOKER                       SC     90008194694
15533687661958   WILLIAM       RASMUS                       CA     90012416876
15533754691895   KERI          LYNCH                        OK     90011147546
15535814961958   ENES          PARRA                        CA     90013548149
15536151957147   DANIEL        MENDOZA                      VA     81040141519
15536337391895   DENNIS        WARFEL                       OK     90014503373
15536943461938   DAVID         ORTIZ                        CA     46091779434
15537456461958   MAX           SAMUELS                      CA     46065304564
15538566291569   MARIA         URIBE                        TX     90013435662
15539944691569   MARIA         GARDEA                       TX     90000229446
15545854591263   JIM           NOTE                         GA     90010688545
15545944691895   ANGEL         MORENO                       OK     90011299446
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15546188257147   CARLOS          CABRERA                    VA     90012881882
15547892455976   BRIANA          WILLIAMS                   CA     90013728924
15548856357147   JUAN            CABRERA                    VA     81053598563
15549332961958   BARTOLO         TOLERO                     CA     90003203329
15551897531687   ROBERTA         DAVILA                     KS     90012708975
15552924761972   ERIC            JAGGARS                    CA     90005169247
15554756391263   XARIER          JACKSON                    GA     90007887563
15556945457147   MARLON          VASQUEZ                    VA     90011899454
15558315461958   LEANDRO         CAMPOS                     CA     90007613154
15559613361958   ESPERANZA       CASILLOS                   CA     90013616133
15563229991895   TONYA           MORRIS                     OK     90008122299
15563832947956   DARRA           RINGLEN                    AR     90013018329
15564337391895   JERRY           HAMILTON                   OK     90013363373
15567436291895   HERMAN          BURRELL                    OK     90009104362
15567595191569   ROCIO           SOTO                       TX     90009005951
15568769457147   MARIA           GARCIA                     VA     90010837694
15569653455976   JOSE            CORONADO                   CA     90006366534
15571142891569   DORA            ESPINO                     TX     90005031428
15571178361958   STEVEN          BLOCKER                    CA     90011041783
15572511491266   LESLIE          BOSTIC                     GA     90012455114
15572594391263   WILLIAM         MILES                      GA     90014945943
15573188457147   HEBER           REYES                      VA     90014961884
15575816757147   SILVIA          ADAIR                      VA     90014628167
15576425155976   KYLIE           LALYER                     CA     90003994251
15577263491569   MARIALUISA      ORTIZ                      NM     75014702634
15579841891569   FRANCES         GONZALEZ                   TX     90005538418
15581678391895   SUSAN           COOPER                     OK     21057866783
15584191657147   CARLOS          LINARES                    VA     90009161916
15585859891895   GEORGEANNA      ROOKS                      OK     90000838598
15587165857147   OSIA            OLDS                       VA     90014471658
15588536891993   MILTON          VEGA                       NC     90013405368
15591778391895   ANDREW          CARTER                     OK     90013167783
15592595591584   MIGUEL          BACIO                      TX     90012415955
15595278531687   CYNTHIA         BARRERA                    KS     90011072785
15595558257147   BETY            CHAVEZ                     VA     90010435582
15597798331687   MARCO           VILLARREAL-CORDERO         KS     90014987983
15599217831687   JOHNATHON       GREEN                      KS     90003402178
15599227961938   CYNTHIA         LANCASTER                  CA     46091352279
15614849747956   DANIEL          FREEMAN                    AR     90012978497
15615972461938   CRISTINA        ELLIS                      CA     46065119724
15624293255976   RICHARD         GONZALES                   CA     90014252932
15624834331687   TROY            DAVIS                      KS     90007028343
15627142157147   PEDRO           VILLATORO                  VA     90010841421
15629135691263   WALTER          OCHOA                      GA     90001311356
15629237257147   MAYRA           AGUILAR                    VA     90014362372
15629553561958   ROBERTO         HERNANDEZ                  CA     46006125535
15629582191549   ROBERTO         HERRERA                    TX     75017155821
15633596457147   JUAN            JUAREZ                     VA     90008655964
15634294557147   JOHN            GRAVES                     DC     90011782945
15634869461936   ADELINA         MONTEJO                    CA     46002088694
15635363457147   TRACEY          AUGUSTIN                   DC     90014163634
15638832455976   CRYSTAL         ALVARADO                   CA     90007808324
15641618955938   ROBERTO         NAVARRO                    CA     90008696189
15646292191569   ALEJANDRO       AVILA                      TX     90014972921
15646389161958   BARION          RAMIREZ                    CA     90012223891
15648326291569   ARTURO          CARRION                    TX     90014693262
15653362961925   EBONY           JOHNSON                    CA     90012043629
15655182457147   MEDARDO         ROJAS                      VA     90010841824
15656973461958   KENDRA          STRINGFELLA                CA     46091299734
15658492861938   HARRY           DREYER                     CA     46005934928
15658965391927   JOHN            WILLIAMS                   NC     90008989653
15665232391569   GEORGE          ROMAN                      TX     90010662323
15669543131687   MARICELA        RAMIREZ                    KS     22041645431
15669592593725   CARL            DILLIAN                    OH     90002725925
15669956884347   DANIELLE        FICKLING                   SC     90014679568
15669972691263   CURTIS          ROBINSON                   GA     90013929726
15675354957147   JOSE            LEON                       VA     90009893549
15676414361924   JOSE            CABEZAS                    CA     90013774143
15676886657147   FRANCIS         QUAO                       VA     81093158866
15681197157562   JORDAN          CRAINE                     NM     90012611971
15681758491895   NATHAN          BALDEON                    OK     90010017584
15682152761958   ROLANDO         ALFONSO                    CA     46003811527
15684223757147   DIMAS           OROZCO                     VA     81064082237
15686354347836   MARITA          EVANS                      GA     14014653543
15686892957147   JULIO ALBERTO   MELENDREZ                  VA     90011758929
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15687316155976   SARINA        GARCIA                       CA     90013813161
15689526957145   LAURA         NAVARRO                      VA     81007605269
15691564391263   FLORICEL      MORALES PEREZ                GA     90006445643
15692785491234   SARAH         HOLTON                       GA     14572047854
15694859491569   KARINA        PERALES                      TX     90011178594
15697682591569   MIGUEL        GONZALEZ                     TX     90014156825
15699364557147   ASHTYNE       REESE                        VA     90013703645
15699685133668   CARL          POTEAT                       NC     90014816851
15714852257147   IRIS          TORRES                       VA     90013468522
15714895291895   RUDY          PERAZA                       OK     90014098952
15717613361958   ESPERANZA     CASILLOS                     CA     90013616133
15718141331687   OLGA          VALENZUELA                   KS     90012771413
15722863555942   ALYCIA        OVALLE                       CA     90014168635
15723554461958   SSIETSE       BOERSMA                      CA     46091555544
15724314431687   SHANNON       SIMONIN                      KS     90008903144
15724343655976   MANUEL        TOREES                       CA     90008673436
15724763551545   JAUN          JUAREZ                       IA     90013787635
15724966857147   ROSA          MARIA                        VA     90014809668
15726438855976   ELVIS         SOLANO                       CA     90014714388
15726864661938   ESTEBAN       ACOSTA                       CA     46005788646
15729192171965   MERIBETH      CAMPAU                       CO     90008931921
15729771755976   JOHN          CEDILLO                      CA     90014847717
15738426661957   SANDRA        BORRUEL                      CA     46095644266
15739426661957   SANDRA        BORRUEL                      CA     46095644266
15741348657147   KAMRAN        UDDIN                        VA     90011613486
15742578731687   ERIC          EXTON                        KS     90014995787
15743661441265   DAVID L       LUGAR                        PA     51017236614
15744754691569   GERARDO       GUTIERREZ                    NM     75053417546
15745347791263   DAJUAN        BAUL                         GA     90014813477
15747139955976   PAUL          MEDINA                       CA     49090651399
15747491161958   ANTONIO       CORZO                        CA     46009214911
15748274991569   PEDRO         HERNANDEZ                    TX     90006632749
15751314991569   BEATRIZ       ARGUELLES                    TX     90014123149
15753427591895   EMILIO        TREJO                        OK     90015184275
15754168457147   ALEXY         RUBIO                        VA     90001441684
15756664541284   LINDSAY       JONES                        PA     51092186645
15757372991895   DWARNETTA     JOHNSON                      OK     90014773729
15757889931687   PATTIE        SHUMATE                      KS     90012988899
15761923591569   CESAR         MARTINEZ                     TX     90013329235
15762585147956   ZORA          KENDALL                      AR     24057625851
15768388991885   JOSE          MANUEL                       OK     90008763889
15768455255976   RAUL          DOMINGUEZ                    CA     90014614552
15769923555976   MARTHA        GOSMAN                       CA     90001089235
15772363957147   JOSHUA        TYRE EDWARDS                 VA     90009643639
15773257161938   MARCOS        CASAS                        CA     90012592571
15773837355933   OSCAR         BARRON                       CA     48009748373
15775526593725   YOLANDA       BOHANNON                     OH     90011815265
15775883261987   EARL          HUEY                         CA     46065868832
15776413757147   MARIO         ORELLANA                     VA     90013644137
15777288957147   BARBARIA      CRAFT                        VA     90001462889
15777742857147   ABIGAIL       GIRON                        VA     90015277428
15778832155976   ERIC          GUTIERREZ                    CA     90012988321
15783421631687   JUSTIN        ARNETT                       KS     90010814216
15786758247956   ANN           DUGGER                       AR     24003157582
15788446791569   JOSE          CORONA                       TX     75043714467
15788849961938   EBONY         WARD                         CA     46052758499
15789237647956   AMANDA        WHITSETT                     AR     24073462376
15789957331687   STEVI         NOVAK                        KS     90015009573
15792712955976   BRITTNI       PELLUM                       CA     49073837129
15795455257147   MARICRUZ      QUINTEROS CABRERA            VA     90013614552
15812752791823   JORGE         RODRIGUEZ                    OK     90013977527
15812822391895   RAY           ELMORE                       OK     21086058223
15815628855932   JOSE          VEGA                         CA     90002436288
15819337461958   PAUL          VAZQUEZ                      CA     46031973374
15821383557147   JESUS         BACA                         VA     81002453835
15823929325395   JULIO         GARCIA                       WA     90015489293
15829934161958   JAMES         HODGES                       CA     90014299341
15833557761986   RAMIRO        LOPEZ                        CA     46001615577
15834756831687   HASSANI       MURILLO                      KS     90015007568
15835496591836   REBECCA A     GONZALEZ                     OK     90000814965
15837334891569   MEGHAN        MORAN                        TX     90006873348
15844637191569   KELLY         GONZALEZ                     TX     75007856371
15844797391895   DEVAIRON      GREY                         OK     90012767973
15846151761958   MARY          GRIMES                       CA     46072541517
15848645861938   JESUS         ARGUELLO                     CA     90002436458
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15853274457147   CASTO          CAMACHO                     VA     81041722744
15853957331687   STEVI          NOVAK                       KS     90015009573
15855754691895   KERI           LYNCH                       OK     90011147546
15858636244353   DONNA          CAMPBELL                    MD     90014846362
15862957331687   STEVI          NOVAK                       KS     90015009573
15864435547956   JONATHAN       SEEGERS                     AR     24067924355
15866151854132   BRITTANY       TJELTVIET                   OR     90013221518
15866713757125   ANA            SANTAMARIA                  VA     90007647137
15869363957147   JOSHUA         TYRE EDWARDS                VA     90009643639
15876392155976   LUIS           VARGAS                      CA     90009013921
15877745755976   MANUEL         ORTIZ                       CA     49006617457
15877773391895   RAYNEAR        HERRIN                      OK     90010457733
15878979891569   ODETTE         RUIZ                        TX     90006559798
15884568991895   RUBY           BLOTZER                     OK     21033955689
15886641291263   GAIL           ARMSTRONG                   GA     90014696412
15887178591569   NADIA          NEVAREZ                     TX     75033751785
15888558361958   VIRIDIANA      LARA                        CA     90015095583
15888574257147   JOSE           DIAZ                        VA     90012645742
15888929571923   GWENDOLYN      VALDEZ                      CO     90010249295
15889237961958   LEONOR         LOEZA                       CA     46023782379
15889956291569   VERONICA       CHAVEZ                      TX     90011949562
15895723157147   MARIA          CRUZ                        VA     90002757231
15895916555976   LU             XIONG                       CA     90013209165
15896178661958   RAY            SARABIA                     CA     90010961786
15897455957147   MICHAEL        LYNCH                       VA     90015614559
15898279291895   MELISSA        SETTES                      OK     90009352792
15898974355976   DMITRY         D PALMS                     CA     90015059743
15912242193732   JOSE           BAEZ                        OH     90009982421
15912599991263   GLORIA         JOHNSON                     GA     14573785999
15913172785823   NALLELA        RIVERA                      CA     90013141727
15913237791895   ANGELA         EDWARDS                     OK     90006962377
15913991931687   REBA           HINES                       KS     22003789919
15914289793763   REGINA         ADAMS                       OH     90007732897
15914374791569   JENNIFER       MAYER                       TX     75089233747
15915988757147   KATIA          MENDEZ                      VA     90014629887
15916775791569   OSCAR          MARTINEZ                    TX     75030077757
15917396861958   EDDIE          RAMIREZ                     CA     90010333968
15919285841455   LUKE           HARTUNG                     WI     90013042858
15919494361938   LUIS           CRUZ                        CA     46017694943
15919912291569   SILVIA         HERNANDEZ                   NM     75027039122
15924916791263   DYSHANELL      PEEK                        GA     14558519167
15927172785823   NALLELA        RIVERA                      CA     90013141727
15928835355932   JULIA          URIVE                       CA     90014048353
15928969857147   CASSANDRA      FALLS                       VA     90012799698
15933466431687   DALE           MCLOUD JR                   KS     90012024664
15933926191263   WANDA          DUNN                        GA     90014139261
15934162157147   RANDY          DAVIS                       VA     81019751621
15934334591895   ESMERALDA      LOERA                       OK     90008123345
15935652685823   HOWARD         HOUGH                       CA     90005656526
15937177561958   CHRISTIAN      ALVAREZ                     CA     90014441775
15937352191895   BRANDON        BENNETT                     OK     90008573521
15937534491526   VERONICA       CRUZ                        TX     75018045344
15937949255976   KEFE           WILLIAMS                    CA     90012919492
15937975391895   FERNANDO       RODRIGUEZ                   OK     90014779753
15938868257147   ASUZENA        EZQUIVEL                    VA     90014948682
15939251857147   MARIA          VEGA                        VA     90014522518
15941496657147   BILAL          ABDAS SABUR                 VA     90011704966
15944178661958   RAY            SARABIA                     CA     90010961786
15945968191895   TIMOTHY        JOHNSON                     OK     21026829681
15947479555976   JOSE           GONZALEZ                    CA     49016724795
15947895591895   NARCUS         MAURICE                     OK     90010478955
15948817257147   CORLISS        FERRIS                      VA     90012188172
15949937331687   GARY           NAIL                        KS     22065689373
15951745761958   LISETTE        CARRILLO                    CA     46018127457
15952463991895   SAIRA          GARCIA                      OK     90009904639
15952534491526   VERONICA       CRUZ                        TX     75018045344
15952588661958   JOSE ANTONIO   GOMEZ-FAJARDO               CA     90012165886
15953266361958   BRIANA         JONES                       CA     90013952663
15953832361958   ROSIE          CASTELLANOS                 CA     90012568323
15953935891569   ADOLFO         CHACON                      TX     90005409358
15955145561958   BRENDA         ORTIZ-GONZALEZ              CA     90014801455
15957917531687   JENNIFER       CEBALLOS                    KS     22014879175
15958272631476   VERA           ROSS                        MO     90008852726
15961437455976   SHANIKA        LEE                         CA     90008354374
15961599591263   CHARLIE        CROWLEY                     GA     90011915995
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15966924657147   CARLOS        ZEPEDA                       VA     90003479246
15969172891263   CHRIS         HARGROVE                     GA     90010671728
15971979171959   GREG          ARGO                         CO     32007289791
15973291461958   LAURA         RODRIGUEZ                    CA     90015062914
15974445961958   JOSE          SMITH                        CA     90013974459
15975965657147   ERIC          PARKER                       VA     90005659656
15976878193767   RYAN          BOYLES                       OH     90001728781
15982469961958   JULIANA       BERGARA                      CA     90010904699
15983116155976   ROBERT        THAO                         CA     90013111161
15984933455976   ALVARO        ZAPIEN                       CA     90012979334
15992197491569   DANIEL        CURTIS                       TX     90013861974
15997163257592   FREDERICK     SIMPSON                      NM     90011901632
15998163557192   CRISTIAN      TOBAR                        VA     90008521635
15998375391263   LATRELLE      BROWN                        GA     14509273753
16112652193732   DANIELLE      WALTERS                      OH     90012376521
16114665193767   LADONA        MCKINNEY                     OH     90010246651
16116553561976   ISIAH         BUGGS                        CA     90013905535
16116978893745   MATTHEW       HICKS                        OH     90005769788
16118128755976   CHUE HUE      HER                          CA     49076371287
16119168955965   ANTONIO       SOSA                         CA     90008811689
16119738561976   PASQUAL       MENDOZA                      CA     46034787385
16122699451337   LARRY         COLE                         OH     66048926994
16123674751337   DANNY         MILLER                       OH     90012476747
16124312861976   REIKO         MUNOZ                        CA     90013203128
16124596357147   LESBIA        GOMEZ                        VA     81090595963
16124939761976   REIKO         MUNOZ                        CA     90001499397
16125981391867   RIA           PATINO                       OK     21000869813
16126899231687   JARDI         COMELLAS                     KS     90010238992
16127252755965   PEDRO         BARAJAS                      CA     48037462527
16127413961958   RAMON         CAMPOS                       CA     46099204139
16127656661938   CINTHIA       PONCE CARRIZOZA              CA     90011756566
16128493757147   MARCELO       ARCE                         VA     90012734937
16129881161976   SEBASTIAN     SPIKES                       CA     90012668811
16131379933656   EULALIO       MARTINEZ                     NC     90011143799
16132449461938   MIRIAM        WILLIAMS                     CA     90003754494
16133224255976   MARIA         ORONA                        CA     49015412242
16134235555965   ALICIA        GOMEZ                        CA     90014012355
16134382455976   MELISSA       SANTILLANEZ                  CA     90004193824
16134936157124   JUAN CARLOS   VARGAS                       VA     90005059361
16136712563628   KENNY         FETSCH                       MO     90014937125
16138836561958   BENJAMIN      SIMS                         CA     90010328365
16139129955976   JAMES         PATTERSON                    CA     49086391299
16139844991569   ANDRES        OLIVARES                     TX     90010138449
16141277976925   ZAQUARIA      WILLIAMS                     MS     90014132779
16141531755976   MICHAEL       MABRY                        CA     49033735317
16142667591569   PAULINE       RUELAS                       TX     90010746675
16146241891244   LATOYA        WHITE                        GA     14517162418
16146463991569   ANDREA        RIOS                         TX     90002664639
16147582225386   BRIANNE       ESCOBAR                      WA     90013185822
16149919363628   STUART        SPAHN                        MO     90010299193
16151523257147   JOHANTA       INGLES                       VA     90014855232
16152526951337   JOSE          GARCIA ROSAS                 OH     90013855269
16152611261938   IBRAHIMA      BA                           CA     90013806112
16153263861938   LAVELL        PAYNE                        CA     46038432638
16153611993745   JENNIFER      DYE                          OH     90008166119
16153873461976   LAURA         LEDEZMA                      CA     90012728734
16154198491569   AIDA          GRACIA                       TX     75045191984
16155621657147   HENRRI        PORTILLO                     VA     81012326216
16155814791263   JACQUELINE    ECHOLS                       GA     90011258147
16156157261976   ORLANDO       RUVLACABA                    CA     90011931572
16156498591524   CARLOS        GARCIA                       TX     90001734985
16157527655976   ELLOA         CRUZ                         CA     90014155276
16157813231687   RONNIE        CURTIS                       KS     22013988132
16157919363628   STUART        SPAHN                        MO     90010299193
16158944161976   RENEE         ACEVEDO                      CA     90004799441
16158985993725   THEODORE      DENSON                       OH     90011469859
16159629355965   ELIZABETH     GRIJALVA                     CA     90014586293
16161145893745   SHERRY        KIESTER                      OH     64587921458
16161719361976   JERSON        ABURTO                       CA     46088817193
16161936155965   NOEMI         VAZQUEZ                      CA     90015269361
16164132361958   CHRISTIAN     MORALES                      CA     90009161323
16164442591569   KEDRIC        WILLIAMS                     TX     90010264425
16164543951337   TRECIA        ORTIZ                        OH     66003825439
16164929191962   EDMUND        BOYD                         NC     90005389291
16165841761958   YESENIA       BUSTAMANTE                   CA     90015188417
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16166568261976   CAROLINA        GONZALEZ                   CA     90007015682
16167657547956   STEPHEN         HUGHES                     AR     90014586575
16168922155976   JOSE            MARTINEZ                   CA     90012479221
16169138193745   MICHAEL         FOGT                       OH     90005951381
16169757726758   JOLENE          LECK                       PA     90013207577
16169862251337   JENNIFER        EUBANKS                    OH     66028378622
16171558157147   THAO            VU                         VA     90014675581
16173379947956   MELINDA         HAY                        AR     90014163799
16175337155965   MARIA           DE JESUS                   CA     90000943371
16176927291526   RICARDO         MEDINA                     TX     90004229272
16177126157147   JOHN            WILLIAMS                   DC     90012051261
16177891251337   BONIFACIO       JIMENEZ                    OH     66008198912
16177948361976   LISA            BROOKS                     CA     46060559483
16181118591569   LANGLET         ELVA                       TX     90006911185
16182514355965   ADRIANNA        DORAME                     CA     48011955143
16182814461938   JOSE            MARQUEZ SR                 CA     90010468144
16183278661958   JUAN            MUNGUIA                    CA     46009422786
16185379947956   MELINDA         HAY                        AR     90014163799
16186914247956   STACY           WRIGHT                     AR     90006169142
16187369161958   ANGELICA        HERNANDEZ                  CA     46061993691
16187883447956   KIMBERLY        SUTER                      OK     90006518834
16189242157147   ASSIE           NVODJO                     VA     90011262421
16189659271976   JO ANNASTACIA   GAGE                       CO     90013326592
16189954261976   ELIAS           LEYBA                      CA     90004529542
16189968151337   SIERRA          KLEINMANN                  OH     66080829681
16193134661958   FRANK           VALENZUELA                 CA     90012471346
16194541531687   LORENA          CHAVEZ                     KS     90014765415
16194872147956   DYLAN           YOUNG                      AR     90002568721
16195513791263   LUCY            GINN                       GA     90014175137
16195581293745   DARLA           WILLIAMS                   OH     64563105812
16195846557147   JOSE            GONZALEZ                   VA     90014888465
16196365757147   HERNAN          CUELLAR                    VA     90003273657
16197969391895   DEVIN           BATES                      OK     90007429693
16198739291569   ELISEO          GALVAN                     TX     90014537392
16199681257147   MARICELY        GONZALEZ                   VA     81042866812
16212193531687   LADASJA         SAUNDERS                   KS     90014771935
16212692493745   OPAL            ARNETT                     OH     90014716924
16213113957147   CLAUDIA         PORTER                     VA     81094351139
16214433157147   ROGER           TAPIA                      VA     90014324331
16216183961958   IVAN            DODGE                      CA     90015521839
16216298255976   ANDREW          COTA                       CA     90013362982
16216524372426   DAVID           SHURINA                    PA     90001725243
16217629761976   ROSA            GALVAN                     CA     90001786297
16218463561976   GABRIELA        ORTEGA                     CA     90010884635
16219266855976   MANUEL          SERRANO                    CA     49009262668
16221186691895   KRISTINA        GRISMORE                   OK     90001611866
16221315571967   WILLIAM         TRUJILLO                   CO     38066283155
16221669991263   SONIA           ELLIS                      GA     90014406699
16222186591569   LUIS            SARMIENTO                  TX     75076251865
16222553555965   DOLORES         CONTRERAS                  CA     90013715535
16224333647956   OLLIE           JONES                      AR     24040693336
16226154885999   BRENT           SCUDDER                    KY     90003981548
16226329161976   MARCOS          RODARTE                    CA     90004363291
16226446961958   PATRICIA        SAUCEDO                    CA     90005054469
16226824955965   JOSE            REBOLLEDO                  CA     90013788249
16227212347956   JOSE            OSVALDO                    AR     90014182123
16227878861958   IGNACIO         BELTRAN                    CA     90011128788
16228693291895   TANA            DODD                       OK     90014866932
16233678191569   JULIO           LEDEZMA                    NM     75047896781
16234146391895   ANGIE           PITTS                      OK     21075571463
16239639793768   REMONE          PASINGER                   OH     90008506397
16243737347956   RUBEN           VARGAS                     AR     24011227373
16243855591895   WENDY           GRESSCORDERO               OK     90014728555
16244215961925   JESUS           OCAMPO                     CA     90012632159
16244748861938   BETTY           WILSON                     CA     90001537488
16245251657199   ALEJANDRO       NAVARRO                    VA     90008172516
16245767691569   JUAN            SALCEDO                    TX     75095857676
16246291755965   ASHLEY          LERMA                      CA     90012832917
16246348291263   KATHERINE       JASMAN                     GA     90014033482
16246547561976   CLYDE           WILLIAMS                   CA     90008005475
16247336931687   TINA            WILSON                     KS     90014773369
16247935751337   AVOANELL        HEUBER                     OH     90015309357
16248364491895   CLAUDIA         ANDASOLA                   OK     90009293644
16249233247956   MIRTHA          VELASQUEZ                  AR     90011842332
16249838661958   FLOR            RAMOS                      CA     46004848386
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16249994391569   JONATHAN                SAMANIEGO          TX     90012719943
16252476191895   SANTOS                  BANEGAS            OK     21088764761
16253186261958   DWAYNE                  CREWS JR           CA     46038361862
16253391791895   MAEJEAN                 MCGUIRE            OK     90015113917
16254556947956   CHRISTY                 MARTINEZ           AR     90014185569
16254748457199   CRYSTAL                 GRAY               VA     90005137484
16254819657147   DEYSI LORENA            LOPEZ              VA     90012798196
16254889391569   DORA                    ARMENDARIZ         TX     90002428893
16256356555976   RALPH                   RIVERA             CA     49080023565
16256853891584   LORENZO                 BACA               TX     75067668538
16259859161958   REX                     SHEPHERD           CA     46067968591
16259943191569   LETICIA                 RIVERA             TX     75026739431
16261353791569   PAULETTE                ZARAGOZA           TX     90012643537
16262332557147   GILMA                   LOPEZ              VA     90013263325
16262353755974   LUCY                    BANUELOS           CA     90002083537
16263618991952   CHARITY                 WASHINGTON         NC     90011996189
16265619957147   FANNY                   GARCIA NUNEZ       VA     90014996199
16266548243588   MARIA                   BATRES             UT     31014405482
16266548961976   VARINIA                 HAYNIE             CA     90009675489
16267444461976   CHRYSTIAN               RIOS               CA     90010904444
16268381933656   YOLANDA                 MINTER             NC     90014553819
16271259491569   LUPE                    RAMIREZ            TX     75088252594
16271451261938   LUCI                    SALGADO            CA     90011764512
16271591657147   ADAN                    VELASQUEZ          VA     81079625916
16272257991895   LORENA                  RUIZ-TAMAYO        OK     90010002579
16272279593725   QKEONNA AJJA DESPINNA   MCCAIN             OH     90013742795
16272382561992   ANNA                    CONTRERAS          CA     90005953825
16272513861976   LUCIO                   GUZMAN             CA     90014735138
16274517461976   EDGAR                   FLORES             CA     90014735174
16275481761976   LARON                   PORTER             CA     90013384817
16277567961976   JOYCE                   MOODY              CA     46006755679
16277828955965   JOANN                   FLORES             CA     90010378289
16278669761938   SEXTON                  LAKESHA            CA     46068906697
16281186191263   LINDA OR LESTER         HINTON             GA     90014691861
16281986154133   DREYLON                 NELSON             OR     90015389861
16282288647956   ROBERT                  MOSS               AR     90014852886
16283315155965   KARINA                  IBARRA             CA     90013893151
16283882861958   VIVIANA                 ROBLES             CA     90012768828
16284958561976   JEANETTE                RAMIREZ SMITH      CA     90012839585
16287229655965   LUIS                    GUTIERREZ          CA     48049982296
16288372461938   ARTURO                  MARTINEZ           CA     46007053724
16289685855965   DIANNE                  BILLGREN           CA     90014916858
16289722155976   TODD                    CORNELL            CA     49085517221
16291783355965   JAIMEN                  ROSALES            CA     90008677833
16292346355976   CHRISTINA               EVERHART           CA     90005233463
16293327351337   OBRIAN                  HARMON             OH     90014483273
16293343555976   JOSE                    MARTINEZ           CA     49057013435
16295783733647   MEGAN                   MCALLISTER         NC     90012787837
16297198657562   KRISTINA                STOLTENBERG        NM     90012631986
16297484561987   CHRISTOPHER             GASTELUM           CA     90006864845
16298371491263   WELL                    HOLMES             GA     90014273714
16311696855965   EDGAR                   MARTINEZ           CA     48059486968
16316258491895   SCOTT                   SMITH              OK     90001192584
16316435155965   ROBERT                  SANCHEZ            CA     90013184351
16317975591895   MARIA                   NUNEZ              OK     90015309755
16318517461976   EDGAR                   FLORES             CA     90014735174
16319993161958   MARIANA                 GONZALEZ           CA     46064079931
16321379491895   STEVE                   CRUZE              OK     90009423794
16323928961976   ISAI ASCENCION          GARCIA RIVERA      CA     90012729289
16324151571966   SAMANTHA                DIAS               CO     32001091515
16325346691263   ALVIN                   WILLIS             GA     90012173466
16327296961934   LESLYE                  QUIRINO            CA     90013982969
16327969557147   LUIS                    LANDOS             VA     90005069695
16332885657147   RONY                    CABRERA            VA     90008058856
16333678533668   WESLEY                  MARTIN             NC     90013156785
16333811631687   NAKISHA                 CARRASQUILLO       KS     90007588116
16335526361976   ISMAIL IBRAHIM          AHMED              CA     90014735263
16336628161996   DAVID                   OLIVEIRA           CA     46044046281
16338139957147   WALTER                  MORALES            VA     90002981399
16338855547956   LESLIE                  BIBLE              AR     90006018555
16339932357147   CHOLI                   SINDI              VA     90009399323
16341578361976   FRANIA                  CERVANTES          CA     90005585783
16341674357192   JULIO                   ORTIZ              VA     90011416743
16343629431687   ANDREA                  BUSH               KS     22086726294
16343981955976   GEORGINA                FERNANDEZ          CA     49014889819
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16345759291895   ROSA          SALASZA                      OK     90000967592
16346575431687   DANIELLE      DAVIS                        KS     90014785754
16346758857147   ROXANNE       AZMOUDEH                     VA     90015317588
16347429661958   MICHAEL       FLORES                       CA     46006674296
16347694261976   ISABEL        MARTINEZ                     CA     90012736942
16349135961976   EMILIANO      HERNANDEZ                    CA     90013971359
16349487657147   MAMANI        ROSANA                       VA     90011274876
16349614455965   FERNANDO      NAVA                         CA     90014596144
16353352655933   DENISE        MENDOZA                      CA     90014643526
16353577491895   CANDANCE      KELLER                       OK     90010195774
16354423791569   TIFFANY       CANO                         TX     90014104237
16355845755965   ANGELINA      CANTU                        CA     90001118457
16356297441265   KELLY         SEDLAK                       PA     90002682974
16357746561958   LATOYA        JOHNSON                      CA     90014717465
16358131961938   BRENDA        GONZALEZ                     CA     46025961319
16361961693783   MICHAEL       VENCILL                      OH     64578369616
16362592561938   MARCEL        NAVALLEZ                     CA     46010415925
16363464391569   LUCAS         ROCHA                        TX     75020594643
16364822347956   LIZET         IBARRA                       AR     90015068223
16367197591569   MARIBEL       HERNANDEZ                    TX     90014081975
16367759657147   AMUSCHETTE    BROOKS JR                    VA     81041147596
16368971555965   ENRIQUE       RODRIGUEZ                    CA     90012519715
16369734891569   DENIS         VIZCARRA                     TX     90011477348
16369923555965   ISENIA        SOLIS                        CA     90007219235
16371353991569   ALBERTO       AMBRIZ                       TX     90014943539
16372169633656   JAMES         MACK                         NC     90010031696
16372769157147   DANIEL        MORALES                      VA     81097977691
16374237655976   VALERIE       FIERRO                       CA     49095412376
16374295291569   ISABEL        VALDEZ                       TX     75061422952
16374811755965   JUANA         SANCHEZ                      CA     48065208117
16378365931426   SHAWNTELL     MILLER                       MO     90006523659
16379723261976   GILDARDO      ANDRADE                      CA     90011197232
16382555461976   KARLA         URBINA                       CA     90014735554
16383333443588   HEIDIN        JENSEN                       UT     90010193334
16383367555965   JESSICA       FINCH                        CA     90009773675
16383919551358   LEAH          MCCAFFREY                    OH     90011899195
16384654391569   RICHARD       AGUILAR                      TX     90008706543
16385265391895   MELODY        CONLEY                       OK     90013692653
16386436461976   SONIA         MORENO                       CA     46012394364
16387468591895   AMBER         SNODGRASS                    OK     90014714685
16388385891569   MARIA         HERRERA                      TX     90004963858
16388467961958   VICTORIA      CARMONA                      CA     90011564679
16389652891569   ERIC          SIGALA                       TX     90013096528
16392793761979   BIANCA        CAMPOS                       CA     90006027937
16392843861938   AMALIA        URIBE PADILLA                CA     90011768438
16393592555965   JOSE          VALENCIA JR                  CA     90009825925
16393977891827   SERGIO        VERAPALMA                    OK     90014289778
16395999155976   JAVIER        RAYON-NAVA                   CA     90012919991
16396853961976   ARMANDO       SOSA                         CA     46082728539
16396941691895   CHARLIE       CHILDS                       OK     90008679416
16397925655965   LUIS          HERRERA                      CA     90011869256
16399499655965   CHRISTINE     AROCHA                       CA     90014414996
16399691255965   TERRI         ESPIRITO                     CA     90003366912
16399958561976   JEANETTE      RAMIREZ SMITH                CA     90012839585
16412866791569   ALEJANDRO     CARDENAS                     TX     90005028667
16412999157147   ARACELY       SALGUERO                     VA     81077999991
16415388884332   NICOLE        BANKS                        SC     90010263888
16418399361976   GERARDP       SALDANA                      CA     46001033993
16421377455976   HASMIK        SIMONYAN                     CA     90010713774
16422672161976   CRISTINA      GUERENA                      CA     90009676721
16424141555976   LUCY          GARCIA                       CA     49022241415
16424899791263   GALE          KIDD                         GA     90008498997
16425341347956   JEFFERY       NICHOLS                      AR     90011303413
16427368551337   CATHY         FARRIS                       OH     90011233685
16427655291895   ROSILAN       DEVERS                       OK     90009446552
16427777377567   PAULA         DAVIS                        NV     90006577773
16428425355976   JODY          TILLEY                       CA     49092614253
16428639391569   NOEMI         CEBALLOS                     TX     90009646393
16428833761938   LEEANN        VOCKEROTH                    CA     90004508337
16429568691263   QUARZELL      TAYOR                        GA     90014975686
16429715691569   ADRIAN        ULLOA                        TX     90011317156
16433493691547   SAMANTHA      HARPOON                      TX     90011204936
16433611491569   NOEMI         CHICO                        TX     90010396114
16433881393763   CYNTHIA       SCOTT                        OH     90012028813
16437764755965   TIFFANY       HILDEBRANT                   CA     48078357647
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16438485963628   FRANK         DUBAY                        MO     90011014859
16441191255976   GABRIEL       ENRIQUE                      CA     90013371912
16443561931687   DELILAH       SCHAUF                       KS     90002385619
16445264291569   CARDONA       GISELA                       TX     90007422642
16446177491227   MAURISE       WILLIAMS                     GA     90001001774
16446787931687   ABDILWALI     MAHOMED                      KS     90011747879
16447445755965   DANIEL        MARTINEZ                     CA     90011004457
16448429661958   MICHAEL       FLORES                       CA     46006674296
16449471757147   JULIO         CARRILLO                     VA     90004864717
16449771847956   JUSTIN        TURNER                       AR     90014587718
16451135661958   JESSICA       MONTEBELLO                   CA     90012161356
16451346455965   MARIA         ANDRADE                      CA     48063723464
16452492955976   REANNA        GALLYER                      CA     90015234929
16452554291569   LUIS          ORTEGA                       TX     75005425542
16453843961958   MARTINA       BENAVIDES                    CA     90002048439
16454958847956   JANE          CLEVELAND                    AR     24060539588
16455698893724   TARA          WALL                         OH     90006266988
16455799431687   LATISHIA      SCOTT                        KS     90014197994
16456519951337   DANIELLE      LETCHWORTH                   OH     90013355199
16458584851337   BRUNO         BERTRAN                      OH     90013275848
16459156361938   ANA           GUZMAN                       CA     90012311563
16459867161958   LEON          FOLEY                        CA     46090888671
16461443857147   ALBA          RODRIGUEZ                    VA     90005914438
16461754847956   SHAWN         DAVIS                        AR     24019457548
16463847493723   TAMMY         BREWER                       OH     64576968474
16463863457147   EDWIN         RAMOS                        VA     90012938634
16464558947956   CATHY         WILSON                       AR     24088575589
16466498247846   ANGELA        ROZIER                       GA     90003504982
16468881672476   MILISSA       FLEISCHER                    PA     90014708816
16471989955965   EDDY          HERNANDEZ                    CA     90014779899
16472687451337   AMY           NAEGELE                      OH     66015766874
16474932361938   LETICIA       VEGA                         CA     46053189323
16475264984337   ISIDRO        GONZALEZ                     SC     19055112649
16475669261958   ANTHONY       JACKSON                      CA     90009046692
16475971955965   RACHEL        BINNING                      CA     48044669719
16476181455976   MINERVA       CHAVEZ                       CA     90014741814
16476725151337   TAPRICA       MOSLEY                       OH     66098287251
16477717791569   NOEMI         BARRAZA                      TX     90012427177
16478283961958   JACKELYNNE    ORTIZ                        CA     90014742839
16478985484375   KARMEN        MCCOMBS                      SC     90014719854
16481184657147   ADOLFO        MARADIAGA                    VA     90007011846
16484583231687   SETH          SHEPHARD                     KS     90003415832
16485351657147   EFRAIN        SAVALA                       VA     81091413516
16485649761938   LUPITA        BENITEZ                      CA     90012806497
16487234355976   PATRICIA      CORTEZ                       CA     90014572343
16487471757147   JULIO         CARRILLO                     VA     90004864717
16488939191895   MARY          ALLEN                        OK     21088259391
16489956455976   SYLVIA        CHATMAN                      CA     90013749564
16492656931687   MICHELLE      CARTER                       KS     22006156569
16493654861976   FRANK         BARRETT                      CA     46098596548
16494632591569   RENE          SEPULVEDA                    TX     75093536325
16495783255965   MARIA         RIOS                         CA     90011227832
16496879955965   CHRIS         GOMEZ                        CA     48043658799
16497691361958   MANUEL        LUPIAN                       CA     90000626913
16498581791569   RAUL          GARCIA                       TX     90009565817
16511363655976   ALEXIS        ESQUIVEL                     CA     90001203636
16512238791826   ELFIDO        GABRIEL                      OK     21035772387
16512496661938   NORBERTO      LOPEZ                        CA     90011774966
16513553961976   TL            WILLIAMS                     CA     46085795539
16513875457122   SONIA         REAVES                       DC     90012778754
16515371491569   MIGUEL        GARCIA                       NM     75007033714
16515562792826   ABRAHAM       CORTES                       AZ     90009565627
16516179661958   SERGIO        LOPEZ                        CA     46090891796
16517188491263   BRITTANY      KENNEDY                      GA     90011891884
16517398591895   BETTE         LANKFORD                     OK     90012493985
16517571155976   GRACIE        SABA                         CA     49070965711
16518381933656   YOLANDA       MINTER                       NC     90014553819
16518924391895   QUINTON       LAMBERT                      OK     90013159243
16519818742559   JENI          SCOTT                        WA     90015398187
16519854591895   BRANDY        DUNCAN                       OK     90000518545
16521985591263   SANDYBELL     MALAVE                       GA     14596229855
16525799391895   KELLI         MCCALL                       OK     90007917993
16525882157147   JORGE         BAQUERO                      VA     81001378821
16526518357147   CANDIDA       MUNGUIA                      VA     90013395183
16527825555965   JUAN          CUEVAS                       CA     48043118255
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16528135661958   JESSICA         MONTEBELLO                 CA     90012161356
16531259961965   PAUL            MORALES                    CA     90008602599
16531316561958   ISIS            PENA                       CA     90013983165
16532944955965   MARIA           PONCE                      CA     48076819449
16533731191569   DANIEL          GUERRERO                   TX     75089167311
16535937731687   ROBERT          HOOD                       KS     22070779377
16536622761976   JOSEPH          BARCELON                   CA     90005016227
16536882961938   SYLVIA          HUGGINS                    CA     90013708829
16536941391895   CHAD            WISE                       OK     21081179413
16539549557147   JESUS           SANCHEZ                    VA     90011575495
16541484861976   LUZ             PENA                       CA     90014894848
16543254457147   MIGUEL          MARTINEZ                   VA     90006542544
16543478751337   DARLENE         MILLER                     OH     90014414787
16545843993778   DORA            OWENS                      OH     90000858439
16549136361976   LUIS            FLORES GODOY               CA     90012751363
16551621355976   FAVIOLA         LARA                       CA     90013976213
16551752393732   JACQUELINE      SCOTT                      OH     90009847523
16552298751337   JANICE          SCHAFER                    OH     66097512987
16552552161976   GABRIELA        EZPARZA                    CA     90013815521
16553791661976   KEITH           HARRIS                     CA     90012917916
16554769791895   DANIEL          DEO                        OK     90014557697
16555947555965   REYNA-JULIETA   GONZALES-LUNA              CA     90010139475
16556259231687   CYNTHIA         SHAW                       KS     90014802592
16556716771982   JUAN            ARIAS RIVERA               CO     90005777167
16557172261958   BRISA           GUTIERREZ                  CA     46021431722
16557259231687   CYNTHIA         SHAW                       KS     90014802592
16558695455976   STEVE           HANES                      CA     90000396954
16561583731687   ANTHONY         TAYLOR                     KS     90014795837
16562989947956   JILL            WILLIAMS                   AR     90010299899
16563589131687   KRISTOPHER      WALKER                     KS     90014795891
16564953371976   DUSTIN          BARRETT                    CO     90011369533
16565637147956   ROSA            MONTERROSA                 AR     90004886371
16565958542579   JOHN            HERDRICKSON                WA     90015389585
16569276461958   NORMA           ACEVEDO                    CA     90001122764
16572162291263   NICOLE          LARRY                      GA     90011271622
16573778761976   NELLY           CANEDO                     CA     90013047787
16573927191895   JULIO           DE LA CRUZ                 OK     90012589271
16574988451337   RADHA           SAPKOTA                    OH     66077199884
16578272191569   ISMAEL          CEPEDA                     TX     90011202721
16578892447956   DONNIE          SANDERS                    AR     90014638924
16579112591346   DIANA           HENNIGER                   KS     90011481125
16581148147956   RICHARD         SMITH                      AR     90011321481
16581932357147   BLANCA          SORTO                      VA     81045519323
16581959491569   CARMEN          CALDERON                   TX     90009709594
16581998151337   GERMANINE       HILLARD                    OH     90013629981
16582137261958   ABRAHAN         CISNEROS                   CA     90013231372
16583646647956   TAJUAN          JOHNSON                    AR     90015186466
16587291355976   ALEJANDRO       ULIBARRI                   CA     49066132913
16587933286463   BRANDON         FREMAN                     SC     90014029332
16588183661976   MARICELA        BOGARIN MENDEZ             CA     90013081836
16589179861938   DAVID           DUBIEL                     CA     46036701798
16592824455965   KRISTY          BALLARD                    CA     90008858244
16595263991569   ANGELA          MARQUEZ                    TX     75076282639
16595923955976   ROSIE           VERDUZCO                   CA     90003989239
16596954961938   OSWALDO         TRINIDAD                   CA     46092349549
16599424857147   MARISOL         LOPEZ                      VA     90011244248
16599715647956   MARLENY         VAQUERANO                  AR     90011257156
16611381431687   AMBER           CALHOUN                    KS     90014803814
16612139355965   ROCIO           ROMAN                      CA     90002821393
16614745861976   JAIME           DIAZ                       CA     90007127458
16617361847956   NICOLE          GRAZIER                    AR     90014643618
16617563757147   ALI             SHAHZAD                    VA     90013005637
16617865661934   ALONDRA         RODRIGUEZ                  CA     90012348656
16618434691569   MIRIAM          OLIVAS                     TX     90004734346
16618873555976   PEARL           REYES                      CA     90012878735
16619823991895   JOANNE          HAMMONS                    OK     21083898239
16619999155976   JAVIER          RAYON-NAVA                 CA     90012919991
16624769355976   RANDA           MCEWEN                     CA     90014937693
16625214161976   JUAN            SANCHEZ                    CA     90012572141
16625478651337   KEYNU           STRICKLAND                 OH     90014724786
16625687591569   MARTHA          DOEING                     TX     90013206875
16631532551364   LAWRENCE        WALKER                     OH     90013005325
16632165847956   KRESHA          CRISP                      AR     90002121658
16632444791569   TROY            JOHNSON                    TX     90004974447
16637976455976   PRISCILLA       BAL                        CA     90009199764
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16641732761976   FERNANDO      CACHO                        CA     90009887327
16641873461958   TERESA        SARDA                        CA     90009608734
16642652847956   TOYA          CRISP                        AR     24087146528
16643452891569   ROSALVA       GUEREQUE                     TX     90012884528
16643648447956   REYES         FERNANDO                     AR     24049326484
16645831655976   SILVA         PIMENTEL                     CA     49097058316
16646769361938   TINA          CORD                         CA     46094057693
16647151791263   COURTNEY      DAVIS                        GA     90014931517
16648732761976   FERNANDO      CACHO                        CA     90009887327
16649448655976   FERNANDO      ESPINOZA                     CA     90015114486
16653876755976   RENE          MARTINEZ                     CA     90012878767
16654889391569   DORA          ARMENDARIZ                   TX     90002428893
16655583391569   EILEEN        SAVEDRA                      TX     90010065833
16656817555976   KAREN         GILL                         CA     90013328175
16661847347956   REGINA        DAWS                         AR     90014658473
16663554161938   STEVEN        SAILORS                      CA     46042055541
16665471561976   SANI          MAROOKI                      CA     90004964715
16665757855965   ROXANNE       WILLIAMS                     CA     48010667578
16666276455976   RACHEL        OLNEY                        CA     49081292764
16666658955963   KRISTI        MOTTY                        CA     90011456589
16667814251337   DUSTIN        TUCKER                       OH     66038208142
16668417661958   MANUELA       JIMENEZ                      CA     46052554176
16668553851337   LEONEL        LOPEZ                        OH     90011235538
16669682661976   JAZMIN        HERNANDEZ                    CA     90014736826
16669756891569   ERIKA         VARGAS                       TX     90012867568
16673731151337   VASILIJUS     BORISAS                      OH     66003997311
16674574257147   RUTH          INGLES                       VA     90014855742
16675196471967   LIBRADA       CAMPOS                       CO     90011511964
16676222993758   KEVIN         HEDRICK                      OH     90014542229
16676747891895   FELICIA       DOUGLAS                      OK     90014627478
16678891131687   JOEL          BELL                         KS     90009698911
16678994991569   MICHELLE      VARELA                       TX     90009599949
16679259961976   ZANDRA        WARREN                       CA     90012752599
16679874761994   RAUL          ALFARO                       CA     90011148747
16679948147956   ELIZABETH     LINCKS                       AR     24000149481
16681744457147   MEKDES        ERKYINUN                     VA     90011587444
16682688991569   ROMEL         ROSALES                      TX     90013726889
16682865955965   ERIKA         GARCIA                       CA     48021718659
16683343291263   TANIKA        VANNOY                       GA     90013643432
16683759455965   DEYANIRA      MORENO                       CA     90010687594
16684231761938   LUKE          SHORT                        CA     90006872317
16685216461976   WILLIAM       ROBERTS                      CA     90013982164
16687969555965   CHERYL        MOSS                         CA     48017459695
16688746855976   LEWIS         CLYDE                        CA     90012477468
16688934257147   YAMIL         MACARIO                      VA     90014939342
16689538391569   MANUEL        CHAVEZ                       TX     75023745383
16691744457147   MEKDES        ERKYINUN                     VA     90011587444
16692296961958   DEEDEE        CAMERON                      CA     90012112969
16692861291569   MARGARET      PATRICK                      TX     75058398612
16693289461976   JESUS         PALMA                        CA     90012752894
16693999455965   GABRIELA      COVARRUBIAS                  CA     90007299994
16694656547956   SARAH         DEUSTER                      AR     90014666565
16695719591584   LUZ ELVIRA    CHAVEZ                       TX     90002297195
16697148661958   JIM           BAKER                        CA     90010001486
16697349651337   BRYAN         SCHOOLEY                     OH     90004083496
16697589955928   SHAWNDRA      LACY                         CA     49059685899
16698372291895   BLANCA        PICASSO                      OK     90006613722
16711655555965   HERBERT       OCON                         CA     90015166555
16711825441225   KENNETH       SAVILLE                      PA     51016178254
16712789886455   LATASHA       POLINTZ                      SC     90014347898
16714819151337   JENNIFER      NULLMEIER                    OH     66037798191
16717341861976   BENJAMIN      SUAREZ                       CA     90012753418
16717666491569   JORGE         MORALES                      TX     75028546664
16718292291263   MAGEN         GROOMS                       GA     14594692922
16719188961958   ROBERTO       PEREZ                        CA     46023931889
16719653551337   DEANNA        ALCORN                       OH     90014756535
16722657561958   EDUARDO       GONZALEZ                     CA     90015166575
16723157661958   ABEL          MARTINEZ                     CA     46009951576
16724557693736   TAMARA        BARBER                       OH     90003925576
16725459391263   SHAVITEQUE    HAYWARD                      GA     90011394593
16726353691569   ALEJANDRA     VARELA                       TX     90012903536
16727915155976   JERRY         GONZALEZ                     CA     49091759151
16728684191526   CARLOS        DELGADO                      TX     75080146841
16728865557147   AMY           LEHR                         VA     90002588655
16731867661958   IRMA          GUTIERREZ                    CA     90014928676
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16732348661976   MERCEDES         CLARK                     CA     90014803486
16732968455965   CHRISTINA        WILBORN                   CA     48013059684
16733644391895   BRANDON          ROBERTS                   OK     90007826443
16734362855965   ANGEL            GARCIA                    CA     90014213628
16734736157557   CHET             CHAY                      NM     90012987361
16734854361976   VALERIA          MENDEZ                    CA     90010738543
16738237755965   SUSAN            WILLIAMS                  CA     90003902377
16739496991569   MIGUEL           GOMEZ                     TX     75044204969
16742225857199   ELIA             LOPEZ                     VA     90008452258
16742377847956   BRITTANY         LANGLEY                   AR     90014873778
16745411361938   GONZALO          ANAYA                     CA     90011784113
16745455741225   ALICIA           MCBRIDE                   PA     90008374557
16746963131687   DAMASO           LARA                      KS     90009549631
16747532961958   WAYNE            LITTLETON                 CA     46048965329
16747623461986   AMELIA           CALENS                    CA     90007606234
16748393491263   RALPH            BROWN                     GA     14585283934
16748577957147   SOPHIA           BROW                      VA     90014945779
16749295557147   ANGEL            ROSALES                   VA     90012822955
16753187655976   ALESIA           JOHNSON                   CA     49081021876
16755933491895   PATRICK          SCOTT                     OK     90011529334
16756498455976   OLGA             RODRIGUEZ                 CA     90005364984
16756694831687   MAURICE          MITCHELL                  KS     90014806948
16759329451337   HOWARD           MINCY                     OH     66054303294
16762982661938   ROBBIE           MACDONALD                 CA     90012179826
16763228857147   KEVIN            MARQUEZ                   VA     90013282288
16763496991569   MIGUEL           GOMEZ                     TX     75044204969
16764132591895   HEATHER          PIANTANIDA                OK     21019321325
16764178891263   GREG             YOUNG                     GA     90013121788
16767321155965   RUDY             BELTRAN                   CA     48067333211
16768682661976   RAQUEL           VIEGAS                    CA     90009006826
16769164257199   MARTIN           MENDIOLA                  VA     90008471642
16772239491547   BELEM            AVITIA                    TX     75090822394
16773457957133   KRISTINA         POLLACK                   VA     90014784579
16773571847956   EMILY            WILLIAMS                  AR     90014695718
16773589361958   RUBEN            GARCIA                    CA     90002735893
16774233691263   PHENIQUE         GREEN                     GA     90013992336
16774454361938   ALFONSO          HERNANDEZ                 CA     90011784543
16774552991895   TERRELL          JONES                     OK     21087035529
16777238661976   THOMAS           SZOTEK                    CA     90013522386
16778255755987   EDGAR            PAEZ                      CA     90012612557
16778717257147   MARCOS           RIVEROS                   VA     90012227172
16778726581665   GLORIA           HESS                      MO     90003797265
16778882385932   ELIZABETH        CARPENTER                 KY     90013508823
16779642961958   BERTHA           MADRIGAL                  CA     90002806429
16781413255935   CAYETANO         BARBA                     CA     90010084132
16783199261938   TELVI            GONZALEZ                  CA     90008251992
16783343891263   WILLIAM          LINSKEY                   GA     90013713438
16783574957147   JOSE ROMEO       SANABRIA                  VA     90010425749
16783686491895   CHERI            GAGOSIAN                  OK     90013266864
16783746631687   ROBIN            BERGER                    KS     90014807466
16784261347956   SHAWN            HAYDEN                    AR     90002522613
16785412455965   PEDRO            HERNANDEZ                 CA     90012384124
16785425761938   ROCIO            GARCIA                    CA     46095514257
16786295247956   DONALD NORDIKE   GORDON                    AR     90006022952
16786458991895   MARITZA          PONCE                     OK     90010154589
16787271791263   CHRISTY          MONTGOMERY                GA     90013932717
16787587647846   BRITTNEY         HART                      GA     90012015876
16787668255965   ROBERT           MUNOZ                     CA     90009566682
16787994591895   BENJAMIN         MULVANE                   OK     90013319945
16789393791263   WENDY            HUNTER                    GA     90010353937
16789538357147   ROSA             ESQUIVEL                  VA     90015175383
16789674947956   FELICIA          RICE                      AR     90014696749
16793152871638   JENNIFER         MARACLE                   NY     90015471528
16793262461976   VIVIANA          NAJERA                    CA     90004962624
16793592257124   OSCAR            OSEGUERA                  VA     90006585922
16794592761976   BARBARA          PASTEN                    CA     90011885927
16795768557147   CAMILLE          SAUNDERS                  DC     81087747685
16796593355965   JOANNA           ABRICA                    CA     48077225933
16797349261938   JESUS            REBELES                   CA     46082473492
16811486261976   SALVADOR         ESCAMILLA                 CA     90014324862
16812263451337   TAMMY            BANNIGAN                  OH     90011742634
16812398331494   MARCELLA         WARD                      MO     90005813983
16814767255965   GILBERTO         BANUELOS                  CA     90011387672
16815292261958   MARVIN           LANGINLUR                 CA     90013172922
16815925893758   ALLAN            BARBE JR                  OH     90009039258
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16818414355965   ERIK          MUNOZ                        CA     90012384143
16819154491569   GALVAN        TREMILLO                     TX     75068971544
16819459261976   JUAN          MEZA                         CA     90014594592
16821148742579   KEISHA        MCINTOSH                     WA     90015431487
16821587247956   AYESHA        JALALIDDIN                   AR     90002965872
16821689291569   MANUELA       NEVAREZ                      TX     90011096892
16822767691263   SHAUN         POTTS                        GA     90008427676
16823834991569   ROSARIO       OROZCO                       TX     75044198349
16825883951337   MICHAEL       TAYLOR                       OH     66049368839
16826389291895   LATERICE      BURLLEY                      OK     90001663892
16826555291895   BAYLEE        ALAM                         OK     90013745552
16827341891895   PAULA         JUDD                         OK     90010933418
16827817747956   JASON         NEEDHAM                      AR     24063358177
16829179891984   RHONDA        INGRAM                       NC     90013701798
16829478847956   CARLOS        GUZMAN                       AR     90012714788
16829647761976   JAMES         STRASBAUGH                   CA     90010976477
16832172755965   CHRISTINE     ROSE                         CA     90009131727
16833481291895   CHELSEA       HOFFMAN                      OK     90013284812
16835689161976   CARLOS        FUENTES                      CA     46057146891
16835821191895   LASHELLE      BOXLEY                       OK     21072138211
16835855255965   ISAAC         REIS                         CA     48066758552
16835947791569   ESMERALDA     RIOS                         NM     75067279477
16835962891263   BRANDON       SALTER                       GA     90012099628
16837343961976   ANA MARIA     PICENO                       CA     90014763439
16838441741295   MICHAEL       KIRK                         PA     90000224417
16838849957147   MELVIN        ROMERO                       VA     90005578499
16843866657133   DEREK         UGWENDUM                     VA     90010958666
16844473391263   MADIA         ROBINSON                     GA     14512664733
16844792755965   ANASTACIA     NARVAEZ                      CA     90013327927
16847278631687   RUTH          PRESLEY                      KS     22019662786
16847845651337   JOHN          DUNHAM                       OH     90012318456
16848264357147   WALTER        RAMOS                        VA     90014902643
16848432191895   ROSALINDA     OROZCO                       OK     21009764321
16848963861972   ROXANNE       CUEVA                        CA     90000679638
16849112791895   MAURICE       ARBERTHA                     OK     21080541127
16849798555965   ROBERT        PORTER                       CA     48044167985
16851119655976   RACHEL        PRECIADO                     CA     90000911196
16851784331687   APRIL         POWELL                       KS     90005607843
16852325551337   ROGER         YOUNG                        OH     90009293255
16852965661976   PAUL          ROBINSON                     CA     90005419656
16855196891263   KHISTENA      WILLIAMS                     GA     90015211968
16855343961976   ANA MARIA     PICENO                       CA     90014763439
16855923257592   RONNIE        PRICE                        NM     90008799232
16856265291895   VERONICA      LOEZA                        OK     90001162652
16856935691263   LACHE         BROWN                        GA     90006099356
16857487361976   JOHN          DOUGLAS                      CA     90012754873
16858989147956   JAMILLA       SMITH                        AR     90014719891
16859519791895   KAYLA         JENSEN                       OK     90009195197
16863249861976   JORGE         SANCHEZ                      CA     90004072498
16863591391569   DANIEL        GALAVIZ-RUIZ                 TX     90013015913
16863952757147   ALFREDIA      BAWMAN                       VA     90012959527
16864654761938   KARINA        SOLIS                        CA     46060406547
16864944333699   WILLIAM       WOODS                        NC     12012399443
16865188155965   TOMAS         REYES                        CA     90011971881
16869139661958   FLORE         MBEMBA                       CA     90005451396
16872224861938   ROD           KOCH-BURRY                   CA     90011212248
16874713357147   ZOILA         SALAZAR                      VA     90003127133
16875186957147   DEDRA         WOODING                      VA     90009581869
16875496761976   FRANCISCO     ORTIZ                        CA     90012754967
16876459261976   JUAN          MEZA                         CA     90014594592
16876596457557   ERIKA         GUZMAN                       NM     90001585964
16876625431687   MARK          WOHLGEMUTH                   KS     90011186254
16879237147956   MERI          BRADLEY                      AR     24080542371
16879731891569   ENRIQUE       SEIGEL                       TX     90015317318
16881541731687   KAMMI         CHANGHOWONG                  KS     90011105417
16881757161958   DEBORAH       GONZALEZ                     CA     46025437571
16881989891263   GUILLERMO     ROCA                         SC     90013029898
16882592291263   NATHANIEL     BATES                        GA     90013585922
16886159857557   JULIAN        RESENDIZ                     NM     90012091598
16886976147956   THOMAS        BIGHAM                       AR     24040119761
16887123155976   GENNIFER      PHILLIPS                     CA     49083451231
16888994291263   DAVID         STRANGE                      GA     90015029942
16889671861938   MIRNA         ZAVALA                       CA     90003776718
16889828433683   DEBRA N.      GAINES                       NC     90002398284
16889831655976   FABION        REYNAGA                      CA     49005318316
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16891261247956   SARAH         FRICK                        AR     90009502612
16893385261938   LUCILE        ROBINSON                     CA     46095363852
16896139861976   KRISTIE       ROGERS                       CA     90000321398
16896865455965   JAZMIN        GARCIA                       CA     48007698654
16899119861976   JORGE         GOMEZ                        CA     90013711198
16899778457147   MANUEL        VALLADARES                   VA     90000867784
16912945391884   JUAN          SALDIVAR                     OK     90007669453
16914941451337   MATTHEW       COTTINGHAM                   OH     90015009414
16914977391569   JAIME         SIFUENTES                    TX     75045549773
16916355957147   ALVARO        LOPEZ                        VA     90013923559
16916794131687   TIFFANY       OLSON                        KS     22075537941
16917437191569   ACOSTA        RUBE THOMAS                  TX     75028714371
16917544455976   JAVIER        CRUZ                         CA     90014155444
16918191261976   ISRAEL        CHAVEZ                       CA     90000491912
16918279791263   TIMOTHY       JORDAN                       GA     90011852797
16918513261938   LINDA         MONTOYA                      CA     46087035132
16922864947956   JESSE         ALVERSON                     AR     90014728649
16924778961976   BEAT          MILLER                       CA     90010137789
16924897191263   ROBERT        MACKLEER                     GA     90007328971
16926754161958   BRENDA        MENDEZ                       CA     46030967541
16927229891578   RAMOS         IVETTE                       TX     90013272298
16927395271966   SYLVESTER     HOUSTON                      CO     90001913952
16928625291569   JOSE          CAZARES                      TX     75080176252
16929586391569   MARIA         ZAVALA                       TX     90015085863
16931661761958   LATOYA        SANCHEZ                      CA     90011856617
16931787931687   DELILHA       REYES                        KS     90014817879
16933767661976   MICHAEL       ALVAREZ                      CA     90002257676
16934891291569   GUADALUPE     POLANCO                      TX     75038698912
16935369991263   FELICIA       COLLINS                      GA     90000903699
16936717951337   FAWN          JAMES                        OH     90010497179
16936749961976   GABY          MERCED                       CA     90014737499
16939827291895   KIMBERLY      VISSER                       OK     90013348272
16941882657147   SANDRA        SORTO                        VA     90008068826
16941966391569   MARGARITA     LOPEZ                        TX     75016769663
16942438847956   ARINZECHUK    ANYASO                       AR     90000174388
16943379993727   CHAULITTA     WATERS                       OH     90008423799
16945828431687   THOMAS        DAVIS                        KS     90014818284
16946126761938   JR            ANGUIANO                     CA     90012431267
16946295661958   KIMBERLY      CUNNINHAM                    CA     46048592956
16946356555965   STEPHANIE     TRUJILLO                     CA     90013963565
16948464855965   PERLA         REYES                        CA     90013184648
16948759161958   ALEJANDRA     ALONSO                       CA     90001967591
16953847761958   HECTOR        MORALES                      CA     46073218477
16953972191569   LILIANA       TERRAZAS                     TX     90005699721
16954766255976   JANELLE       ROJAS                        CA     49069627662
16955968951337   JACOB         FLICK                        OH     90007349689
16956772685843   JEFFERY       MENARD                       CA     90009387726
16956899531687   FRANCISCO     MORALES                      KS     90014818995
16959213261976   JONATHAN      ALBARRAN                     CA     90014162132
16959386591569   LUIS          CAZARES                      TX     90004323865
16961247591895   MICHAEL       ADKINS                       OK     90012152475
16963579631637   DARRIN        WHITE                        KS     90001585796
16964757661976   LIZBETH       DE LA CRUZ                   CA     90014737576
16964856357147   ELIAS         DE SANTANA                   VA     81093138563
16964994555965   MANUEL        LOSA                         CA     90014779945
16966158361938   JUAN          DELGADO                      CA     90011791583
16966167791895   SHERRY        JOHNSON                      OK     90010731677
16967695491895   MARVIN        WALLIS                       OK     90014686954
16968916131687   RUFINO        VIELMAS- ROJAS               KS     22073149161
16968979591569   MELISSA       APODACA                      TX     90010529795
16969413991885   GEORGE        ALLEN                        OK     21001384139
16969489741233   MELISSA       CASTELVETER                  PA     51080714897
16969726747956   MARTY         HAY                          AR     90012557267
16969819347956   MARTY         HAY                          AR     90005228193
16971478355976   MARK          FIELDS                       CA     49072604783
16972188155965   KAITLYN       LEDGERWOOD                   CA     90007991881
16972243557147   AKPALOU       KUDIO                        VA     90000692435
16973134761976   ANNA          JONES                        CA     46022071347
16973674155976   JOANNE        ROBLES                       CA     90010396741
16974126791569   ALEX          GOMEZ                        TX     90011051267
16976746631687   DEAN          BAILEY                       KS     90009997466
16977991491895   JASON         WOKATY                       OK     90014399914
16979738991263   ELVANA        JEFF                         GA     90015427389
16982753855976   MARIA         FARIAS                       CA     90002767538
16983139991263   ANTHONY       GADSON                       GA     90015171399
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16983229255976   SAMANTHA       WELTMER                     CA     90010352292
16984627491569   SARAH          KIRTLEY                     TX     90010836274
16984664391895   ERICA          TURNER                      OK     90009746643
16986862341455   DWAYNE         ARNOLD                      WI     90015348623
16987269147956   TAMERAH        REEDERS                     AR     90009762691
16996154561976   ANGIE          GARCIA                      CA     90001761545
16996242955965   RAFAEL         SANTILLAN                   CA     90014612429
16996498261958   ASHLEY         STALNAKER                   CA     90006834982
16998484731687   TONY           MCCLENDON                   KS     90006364847
16999187693725   JESSICA        MOORE                       OH     90013171876
16999514993725   JESSICA        MOORE                       OH     90010635149
16999846261976   JOSEPH         HIDALGO                     CA     90013698462
17117721761938   MARIA          ALMERAZ                     CA     46041777217
17119621861938   IRINA          TORRES                      CA     46064026218
17121262557147   JOEL           MODESTE                     DC     90004442625
17121321555976   DENA           MYERS                       CA     90004413215
17122364661972   DALE           FUGATE                      CA     90012713646
17123416651542   ROSA           CONTRERAS                   IA     90014524166
17123644531687   RICHARD        JOHNSTON                    KS     90005336445
17123996361938   ROGELIA        JIMENEZ                     CA     90006319963
17127562961938   ALEJANDRO      VAN HOLTEN                  CA     46064025629
17129158777539   AMANDA         EISAMAN                     NV     90011801587
17129953231687   NATASHIA       GRAYSON                     KS     90008979532
17132545561958   CAMERON        INNIS                       CA     90013725455
17132669391569   CAMERINA       VALDEZ                      TX     75085526693
17133954651599   KAREN          ROBBINSON                   IA     90013809546
17134189731687   CARRIE         DAVIS                       KS     22069951897
17134635561976   AIOTEST1       DONOTTOUCH                  CA     90015116355
17135156361958   KATHY          CRUZ                        CA     46063861563
17136391141455   DANIEL         MEDINA                      WI     23578953911
17137752191588   BEATRIZ        RIOJAS                      TX     75022807521
17139463491263   KARL           JACKSON                     GA     90000674634
17141952861938   JOSEPH         BROWN                       CA     46064269528
17142129257147   TIFFANNY       GREEN                       VA     90013471292
17144148291569   ALMA           RODRIGUEZ                   NM     90003111482
17144216391895   NECOLE         MIDGET                      OK     90009382163
17145137861958   ALICIA         CASAS                       CA     90014551378
17145466991952   RUBY           MARTINEZ                    NC     90011154669
17145891371943   ADAM           AVALOS                      CO     90010778913
17146514461958   EDDIE          GRIFFIN                     CA     90015315144
17148147161976   ARANSAZU       MONTANO                     CA     90012471471
17149545855976   JUAN           CEBALLOS                    CA     49029665458
17149839461958   BONIFACIO      VERGARA                     CA     90004408394
17152516691244   MICHAEL        WOODS                       GA     90012975166
17153455371935   NAOMI          DUPRE                       CO     90012854553
17154974391569   ELADIO         JAUREGUI                    TX     90004659743
17155869357147   JOSE ANTONIO   REYES                       VA     90009508693
17156614877539   DARNELL        CHARLES                     NV     43091756148
17158936291588   MICHELLE       LEVARIO                     TX     90007889362
17161876561958   MARIA          RODRIGUEZ                   CA     90012688765
17162715761997   NORMA          GRAYBEAL                    CA     90011057157
17162728931687   RAVEN          ESTRADA                     KS     22013097289
17163115861958   RODOLFO        RAGADIO                     CA     46010561158
17163294891569   ANDREW         FULLER                      TX     90005302948
17165792657124   YANIRA         ROXANA CALDERON             VA     81087157926
17166668691263   JAUNITA        SIMMONS                     GA     14500806686
17167129891895   JAMIE          KEHO                        OK     90013851298
17167851547956   SANDRA         MALONE                      AR     24025288515
17168259472433   SCOTT          MONK                        PA     90003792594
17168454655976   LUIS MARIO     LEDEZMA                     CA     90014894546
17171851391569   MARIA          OROZCO                      TX     90014628513
17172764577539   LUCILA         CORREA                      NV     43001407645
17173853831684   RICHARD        KANE                        KS     22097438538
17174426661958   ANGELICA       RAYO                        CA     90011034266
17176592357147   SYLVIA         STEWARD                     VA     90013435923
17176939177539   KEVIN          HEAD                        NV     90011809391
17177742955976   CANDIE         VASQUEZ                     CA     90015317429
17184461155976   JORGE          EVANGELISTA                 CA     49000914611
17184465561987   MONA           HARPER                      CA     90013414655
17185535361976   ANDREA         MATTHEWS                    CA     90013665353
17186239191956   JAMILA         SANDERS                     NC     90012012391
17186435191895   BRANDON        HARRIS                      OK     90010654351
17187256491569   JOSE           PEREZ                       TX     75036482564
17188139861938   LIZ            PEREZ FIGUEROA              CA     46072761398
17188918557147   IBRAHIM        BAH                         VA     90010889185
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17189149191895   TAMARA        LYONS                        OK     21071971491
17191556391588   CYNTHIA       SEPULVEDA                    TX     90014625563
17192121361976   VICKY         RICE                         CA     90014791213
17193442693763   DAVID         FANNIN JR                    OH     64515044426
17193695491569   BISHOP        ROCIO                        TX     90000946954
17193741457147   DINA          RAMIREZ                      VA     90010697414
17196947161958   MARVIN        GILLIA                       CA     90007369471
17197356655976   MONICA        BOMLLA                       CA     49055593566
17197917531687   JENNIFER      CEBALLOS                     KS     22014879175
17199634161958   FRANCISCO     RANGEL                       CA     46089736341
17199742361976   MARGARITA     PICENO                       CA     90012887423
17212173572426   HAYLEA        HARMAN                       PA     90015571735
17212814657147   FABRICIO      CRUZ                         VA     90014528146
17213931876224   ERICA         WADDELL                      GA     90011939318
17216985555933   JENIFFER      VEGA                         CA     90013039855
17218225191588   JESSE         VALLEJO                      TX     75052292251
17218693961938   LORENZO       BORJA                        CA     46023536939
17219136251357   KASEY         YOUNG                        OH     90002321362
17219351551542   KRISHNA       RAI                          IA     90014523515
17221139955976   ANA           REYNOSA                      CA     90010371399
17221182191263   KEVIN         ALEXANDER                    GA     90007961821
17222193355976   SAMUEL        CASTRO                       CA     90005671933
17222871293724   LINDA         CAUDWELL                     OH     90010038712
17224633231687   LEEAHNA       SMITH                        KS     90013486332
17224818547956   CHRISTY       FLOTA                        AR     24086878185
17226171955976   WENDY         HERNANDEZ                    CA     90009941719
17226756891895   TERRY         OWENS                        OK     90015107568
17228145761938   HILDA         DURAN                        CA     46033141457
17228511361958   OSCAR         DIAZ                         CA     90014995113
17229635561976   AIOTEST1      DONOTTOUCH                   CA     90015116355
17231651157147   REYNA         RIVAS MEJIA                  VA     90010136511
17232148161958   ESTEBAN       IBARRA                       CA     90013221481
17233145191895   KASEY         ODELL                        OK     21032071451
17233495755976   RUBIA         FLORES                       CA     90002094957
17233559261976   VINCENT       JIMENEZ                      CA     90014765592
17238184757147   TERESA        GONZALEZ                     VA     81079931847
17238498661938   OFELIA        GARCIA                       CA     46064194986
17238964661958   CHARLES       GALES                        CA     90014399646
17239883291588   JOSE          SALAS                        TX     75089888832
17241521857147   RICARDO       DIAZ                         VA     81034005218
17242278277539   LUIS          MUNOZ                        NV     43095842782
17244311391569   MYRNA         CABALLERO                    TX     75098903113
17244397261976   ALEXANDER     RODRIGUEZ                    CA     90014873972
17244476961958   LUIS          MARTINEZ                     CA     90012664769
17248432991895   YESENIA       GONZALEZ                     OK     90012964329
17249396747956   ERIC          LUNO                         AR     90004123967
17251473461976   RIZALINA      EDANO                        CA     90014774734
17252262943584   ANGELA        PERCY                        UT     90010502629
17253556872468   HEATHER       STIFFY                       PA     90012535568
17255138491588   ALEJANDRA     CHAVEZ                       TX     90009981384
17257643591588   EFREN         BUSTAMANTE                   TX     90014346435
17257762671976   ROBERT        FRIEND                       CO     90010977626
17259866957147   MARIA         LOPEZ                        VA     90010868669
17261823991569   ELSA          FRANCO                       TX     75010378239
17264248591588   YADIRA        LARA                         TX     90009982485
17264434372469   ANGEL         MEZA                         PA     90015264343
17264614847956   ALLISON       SMITH-LUMLEY                 AR     24005186148
17264914261976   MARIA         NEVAREZ                      CA     46031189142
17265827791569   MARTHA        CASAVANTES                   TX     90006398277
17265916255935   CARMEN        MORLES                       CA     90003329162
17266645491895   GREG          POWERS                       OK     21078056454
17271696291895   BRENDA        WARREN                       OK     90011696962
17272638191588   RICARDO       TRUJILLO                     TX     75099216381
17272742161958   CYNTHIA       GONZALEZ                     CA     90009657421
17272821447956   WHITNEY       MARABLE                      AR     90014878214
17276691991588   MARIA LUISA   HERNANDEZ                    TX     90014366919
17278363457147   TRACEY        AUGUSTIN                     DC     90014163634
17279855291588   JOSE          RIVERA                       NM     75099288552
17283595357147   JOSE          SANCHEZ                      VA     81035075953
17284426291263   LATOYIA       HUMPHRIES                    GA     90011564262
17285248291586   ANGELICA      SILVA                        TX     90008482482
17285635561976   AIOTEST1      DONOTTOUCH                   CA     90015116355
17288219341284   CASSIE        SKINKIS                      PA     90008622193
17289126277539   JOSE          ZARATE-PIMENTEL              NV     90011821262
17289484757147   KHAN          MAHEEN                       VA     90000184847
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17291621891569   BLANCO          FELICIANO                  TX     90009946218
17293595357147   JOSE            SANCHEZ                    VA     81035075953
17293675561976   JOSE            TORRES                     CA     90008526755
17293963491263   SHANESE         PRICE                      GA     90011579634
17295438391547   JUAN            LOPEZ                      TX     90009284383
17295683961976   ZAIDA           MITRE                      CA     90013846839
17295976233625   JOSE            RAMOS ARELLANO             NC     90012239762
17312427893738   DARCY           WARREN                     OH     90004704278
17312678841225   ROBIN           JEFFERSON                  PA     90000456788
17315834831687   LISA            MERCIER                    KS     90014888348
17317932291569   PALACIOS        LIZETH                     TX     90009539322
17318512358535   FELIX           MORALES                    NY     90013235123
17318926291588   JUAN            ALVAREZ                    TX     75087009262
17319294631962   BOULAYE         GASSAMA                    IA     90012082946
17319453861938   MARCO           TRASVINA                   CA     46016044538
17321424355976   NANCY           HER                        CA     90002804243
17321565147895   STEVE           SUTTON                     GA     14004715651
17322662291588   JORDAN          NAVARRETE                  TX     90013706622
17322924461958   PATRICIA        PERCY                      CA     46083049244
17322975531687   RAUL            AYALA                      KS     90007319755
17325414391569   ARACELY         GONZALES                   TX     75041754143
17326916591895   BARBARA         MASSEY                     OK     90001189165
17332863391588   NANCY           LARA                       TX     75099288633
17334978257147   NIDIA FABIOLA   LANDAVERDE                 VA     90012799782
17336724261958   NELLEY          REYES                      CA     46092747242
17337529757147   ALEX            MAGALHAES                  VA     90012485297
17338471331687   MARCO           CARRILLO                   KS     90010564713
17338556857147   LUCAS           AYALA                      VA     90000185568
17339224131687   TYSHAWN         JONES                      KS     90012142241
17339872791569   NELIE           ARROYO                     TX     75007318727
17339879991895   CODY            EDWARDS                    OK     90014308799
17341832877539   OMAR            CHAVEZ                     NV     90005018328
17343134291569   JANET           ROJO                       TX     75039251342
17344383591569   NADIA           TREVIZO                    TX     90014173835
17344455161938   SANDRA          KELLY                      CA     46067484551
17344717347956   JAIRO           HERNANDEZ                  AR     90000427173
17345946591895   ROXANA          MERCADO                    OK     90011789465
17346684291588   MERCY           VELASQUEZ                  TX     90012046842
17347921547956   NATHANIEL       THIBODEAUX                 AR     24038219215
17348684591569   ELIZABETH       WHYTE                      TX     90015216845
17349118957199   ADRIANA         DANVERGNE                  VA     90007631189
17351566447956   MARLENY         VAQUERANO                  AR     90011145664
17353476991569   JERUSHA         NASH                       TX     90009774769
17354156261958   ERIC            THOMAS                     CA     46043521562
17354816257147   KIM WESLER      VISSER                     VA     90010358162
17355365761958   JEREMY          ESQUEDA                    CA     46046673657
17355797691588   REYNA           ESCOBEDO                   TX     90011517976
17356461861958   MICHELLE        GURROLA                    CA     46090794618
17357148361976   GUADALUPE       ALVAREZ                    CA     90011011483
17357654755976   CELINA          BARRIOS                    CA     90000686547
17359167591569   RAFAEL          FIERRO                     TX     90013271675
17361839357147   LILAN           AUDIO                      VA     90014858393
17364214991524   CESAR           AVALOS                     TX     90012382149
17365922991895   SHERINA         OWENS                      OK     21000669229
17366744291588   JENIA           NEREY                      TX     90009057442
17368889761976   DAREN           FOX                        CA     90014748897
17371738647956   LINDA           NGUYEN                     AR     90015047386
17372882761976   EVELYNN         MOORE                      CA     90001448827
17372921547956   NATHANIEL       THIBODEAUX                 AR     24038219215
17373475291895   MELGRANITA      WILSON                     OK     21047404752
17373635561976   AIOTEST1        DONOTTOUCH                 CA     90015116355
17374155891263   DANNY           JACKSON                    GA     14540021558
17374566655976   WENDY           BALANZAR                   CA     90012525666
17374736355945   MICHELLE        BURCIAGA                   CA     90011987363
17375214991524   CESAR           AVALOS                     TX     90012382149
17376759877539   AMY             ERNST                      NV     90003867598
17377362731676   ANTONIO         VIDAL                      KS     22011993627
17378857691588   JUAN            SALDIVAL                   TX     90015318576
17379549757147   MARGARET        BOWSER                     VA     90009995497
17382392861958   SAUL            RAMIREZ                    CA     90014213928
17382779831687   NEIL            KENNEDY                    KS     90014867798
17382837661976   JAVIER          RIVERA                     CA     90014748376
17384288691895   JUAN            SANDOVAL                   OK     21001782886
17384366957147   CHARLES         KYER                       VA     90014163669
17384546261958   RICARDO         GOMEZ                      CA     90012245462
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17385157661958   ABEL          MARTINEZ                     CA     46009951576
17385366191573   SYLVIA        MENDEZ                       TX     75082783661
17388539291588   EDGAR         CHAPARRO                     TX     90009695392
17388593431687   ALBERTO       PALMA                        KS     90009195934
17388837555976   MAI           LEE                          CA     49077838375
17393421891895   DAHJ CETRA    PENNY                        OK     90014854218
17393656877344   ZENAIDA       SALGADO                      IL     90015556568
17394584891588   MARIA         LOPEZ                        TX     75095185848
17395698557147   ELMER         ALVAREZ VIERA                VA     90010846985
17396791447956   MARTHA JO     COLEMAN                      AR     24048947914
17396951797122   SHERRIE       WRIGHT                       OR     90002449517
17397579157147   JORGE         FLOR                         VA     81059845791
17398175591569   CINDY         ARAGON                       TX     90012971755
17412591961976   SAUL          CORONADA                     CA     46090745919
17414111947956   PEGGY         ADAMS                        AR     90015251119
17415333347956   OSCAR         REVELES                      AR     90009803333
17415877857147   MIGUEL        NUNEZ                        VA     90006808778
17415947161938   MARIA         BENITEZ                      CA     90002489471
17417714372484   AMANDA        FOLEY                        PA     90004757143
17419146277539   ALEJANDRO     DELGADILLO                   NV     43003211462
17421834291573   CYNTHIA       LOYA                         NM     90013358342
17422181647956   WAYNE         JORDAN                       AR     90015251816
17424621261958   LUISA         INGLE                        CA     90011526212
17425499955928   DER           XIONG                        CA     90010644999
17426693391263   YOLONDA       WASHINGTON                   GA     14570636933
17428591961976   SAUL          CORONADA                     CA     46090745919
17428628361958   JOSE          PAT-COUOH                    CA     90005146283
17429619691569   JESSICA       GONZALEZ JIMENEZ             TX     90012976196
17431166161958   RICARDO       CALLEJAS                     CA     46095521661
17431719857147   SHARAFAT      HUSSAIN                      VA     81076027198
17431794191895   MARVA         WILLIAMS                     OK     21054777941
17435695657147   DONELL        JENKINS                      VA     90009306956
17435997991895   MATT          CASTODIO                     OK     21004529979
17436743157147   LISSETH       DOMINGUEZ                    VA     81035127431
17437962455976   TIFFANY       MCGUIRE                      CA     90011329624
17438776291588   JOSE          NAJERA                       TX     90012627762
17442247957147   JOSEPH        OBENG-BAAH                   VA     90007172479
17442375577539   ALVARO        ROMERO                       NV     90011843755
17442431891895   AUNDRIA       COWEN                        OK     90014854318
17443467161993   MIGUEL        RINCON                       CA     90011674671
17445784591588   EVANGELINA    ZAVALA                       NM     75028687845
17446225647956   AMANDA        BONNER                       AR     24048762256
17446516677539   INGRID        TURIO                        NV     43066275166
17449377955976   JOSE          OROZCO                       CA     90010703779
17449511561976   ERIKA         AGUNDEZ                      CA     90010315115
17453412591588   JOE           GAMEZ                        TX     90013554125
17454414855976   PERLA         ESCAMILLA                    CA     90012224148
17455546591569   IVAN          MONTES                       TX     90014425465
17459194155976   ZINA          VELA                         CA     90004011941
17459635561976   AIOTEST1      DONOTTOUCH                   CA     90015116355
17459999561958   MA ISABEL     ESPINOZA                     CA     46064839995
17461723777529   JAMES         JUNGEN                       NV     90011347237
17465279781629   TANISHA       GLADNEY                      MO     90001262797
17467811291588   ELDA          AGUIRRE                      TX     75033948112
17467917591588   CESAR         AQUIRRE                      TX     90005479175
17467945161976   ENRIQUE       GONZALAZ                     CA     90013779451
17469263931687   ROBERT        BLAIR                        KS     90008042639
17471258561958   GIOVANNI      LOEZA                        CA     90013662585
17471839261958   CAMILLE       SKIFF                        CA     90015018392
17472164291588   FRANCISCO     RODRIGUEZ                    TX     90014731642
17472368231434   STEVE         TURNER                       MO     90009933682
17473264791588   CINDY         SANDOVAL                     TX     75021432647
17474365657199   JEFF          TWOMEY                       VA     90009543656
17474875291573   LOUIS         JAMES                        TX     90007808752
17476958855976   SOPHIA        SCOTT                        CA     90011329588
17477193277567   KRISY         GARCIA                       NV     90008111932
17478879655976   TASHA         MILLS                        CA     49003708796
17485485691588   FERNANDO      ORTIZ                        TX     75097164856
17485821491322   VERONICA      BENDERMAN                    KS     90013978214
17485861361976   TAMIRA        CATLIN                       CA     90014748613
17486991955976   ANTHONY       CARROLL                      CA     49091599919
17487133191588   VERONICA      WATKINS                      TX     90006261331
17488933151542   TAYLOR        SAMPLE                       IA     90014579331
17491271861976   DAVID         MORA                         CA     46060542718
17492248361938   MARIE         BANCORUR                     CA     90006642483
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17495864661976   CRYSTAL         RAMIREZ                    CA     90014748646
17497127193725   JADE            THORNTON                   OH     90007101271
17497613693763   CHARLES         BLANKEN                    OH     90006396136
17498479761976   MARIA           ALVAREZ                    CA     46020694797
17512418991588   HECTOR          VELAZQUEZ                  TX     90013554189
17513147961938   BRENDA          CASTRO                     CA     46016141479
17513433791588   RICK            MONTOYA                    TX     75089804337
17513574157147   MARIA AUDELIA   AYALA                      VA     90014585741
17515161661958   BEN             HARRIS                     CA     90009501616
17517819691569   ROSA            RODRIGUEZ                  TX     90014088196
17518393261958   COURTNEY        MCKOY                      CA     46088823932
17518684977539   GRACIELA        RAMIREZ                    NV     90009276849
17518735655976   PARIS           WARD                       CA     90013207356
17521549347956   LYDIA           HARRIS                     AR     24011205493
17522557661938   QUIANA          SANCHEZ                    CA     46096975576
17522799447956   SHANIQWA        THREATT                    AR     90002247994
17523368273228   FRANCIS         OSEI                       NJ     90011083682
17523837351364   ROBERT          FOSTER                     OH     90012098373
17524347857147   DANIELA         ROMERO                     VA     90014763478
17527477457147   THERESA         DIXON                      VA     90013864774
17531783391588   RODOLFO         PUENTES                    TX     90012627833
17532559591569   EDITH           RODRIGUEZ                  TX     90007925595
17533167855976   JAVIER          DE LA TORRE                CA     90013801678
17533438391927   AMINA           TEKIL                      NC     17072184383
17534313791588   ISMAEL          FLORES                     TX     90011173137
17535479255976   DENISE          CORONADO                   CA     49085654792
17537272161976   LEONARDO        COTA                       CA     46003232721
17537391955976   SOFIA           TORREZ                     CA     90012953919
17538724491895   TYFANY          SAYRE                      OK     21095097244
17538818791569   REYNOSA         ALFREDO                    TX     75060068187
17539675391895   ANGELA          BROOMHALL                  OK     90011796753
17541697661976   ISAAC           FLORES                     CA     90013346976
17544837555976   MAI             LEE                        CA     49077838375
17544899455976   ROSIE           VERDUZCO                   CA     90014428994
17544935691895   MELVIN          TATUM                      OK     21090469356
17545166261976   ELIZABETH       SIPAQUE                    CA     90011271662
17545546491895   WILLIAM         VIERRA                     OK     90004945464
17546863357147   MITCHELL        MILKOV                     VA     90009538633
17547674555976   CAROLINE        LOPEZ                      CA     49004246745
17551493191549   REBECA          PORTILLO                   TX     75073594931
17551573657147   PAMELA          HITT                       VA     81052935736
17552787691569   DANIEL          GOMEZ                      TX     90011767876
17553164291588   FRANCISCO       RODRIGUEZ                  TX     90014731642
17553335955976   RICO            ONELAS                     CA     90010313359
17554272831687   ZACH            CREAMS                     KS     90014542728
17556966661976   RICARDO         GONZALEZ                   CA     90002529666
17558755457579   JULIE           DURON                      NM     90013827554
17562169891569   CLAUDIA         ARCHULETA                  TX     90012781698
17562376491584   MANUELITA       MIRAMONTES                 TX     90013903764
17563113191895   TERESA          SANDOVAL                   OK     21051451131
17563945561958   ERIKA           RANGEL                     CA     90014419455
17564861857147   AMINATA         FOFANAH                    VA     81009158618
17565232591569   SAMANTHA        HERNANDEZ                  TX     75029702325
17565889755976   MIAH            CLERE                      CA     90014068897
17565993455976   TATIANA         SMITH                      CA     90011149934
17566434761945   AMANDA          SCOFIELD                   CA     90015114347
17567329291569   JAIME           PENA                       TX     90014043292
17568176461958   MERCEDES        ALMEIDA                    CA     90003261764
17569795131687   MARIA           ALCALA                     KS     90013207951
17571886791588   ELVA            AVILA                      TX     90010138867
17573392491588   ARTURO          RODRIGUEZ                  TX     90012353924
17577743457147   NELSON          SOLARZANO                  VA     81009287434
17578365931687   BRYANT W        MOOSE                      KS     22036633659
17578421777539   DANNY           KELLOGG                    NV     90012414217
17579753331687   DON             BLEDSOE                    KS     90009257533
17582742731687   JESUS           SPINOZA                    KS     90013197427
17583749461958   JESUS           LOMENLI                    CA     90010797494
17584636461976   AIOTEST1        DONOTTOUCH                 CA     90015116364
17588951961976   MARGARITA       TRINIDAD                   CA     90014749519
17591759757147   JOSE            ALVARENGA                  VA     90012047597
17595364357147   SANDRA          ORELLANA                   VA     90011143643
17595737872453   TINA            CARR                       PA     51017787378
17595968591895   SYDNEY          PURVIS                     OK     90011799685
17596914661976   FERNANDO        GOMEZ GUZMAN               CA     90012059146
17598166161976   BETO            RAMIREZ                    CA     90006051661
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17598591761958   MANUEL        MORADO                       CA     90015275917
17598693691895   VANESSA       MUKES                        OK     90011736936
17599526561976   STEVE         HOMOKI                       CA     90011275265
17611342655976   ERIKA         SORIA                        CA     90011063426
17616392541384   HOPE          DILLARD                      MA     90011413925
17616639791588   NAOMI         SCOTT                        TX     75010696397
17616822447956   NIYA          WILLIS                       AR     24028218224
17618993991588   GABRIEL       GONZALEZ                     TX     90008049939
17623146433645   JAMES         WYRICK                       NC     90013411464
17623718161948   RUBEN         ALVARADO                     CA     90008517181
17624171161976   CARLOS        LARIOS                       CA     90008361711
17628746747956   DERRICK       LONG                         AR     90010307467
17629437731687   LISA          DEAN                         KS     22095954377
17629867257147   GENET         WORKU                        VA     90013628672
17631248861958   JOHN          GOLLIE                       CA     90008382488
17632214491569   VICTOR        MOYERS                       TX     90012522144
17632753191569   WILFREDO      SOLIVAN                      TX     90010367531
17634493357147   SAUL          GRANADOS                     VA     90013294933
17634623191895   SHELLY        BOGANS                       OK     21087896231
17635868161958   YANETTE       STUART                       CA     90012138681
17636552661976   SHERIE        JERRY                        CA     90010315526
17638434991569   RUBY          ORTEGA                       TX     90014154349
17641734261958   HEIDI         CHAIDEZ                      CA     46040827342
17642473291895   LINDA         EUBANKES                     OK     90014334732
17644644855976   AIOTEST1      DONOTTOUCH                   CA     90015116448
17644767757579   JESSICA       DURON                        NM     90013827677
17644817461976   CARMEN        OJEDA                        CA     90009338174
17645391457147   BRIAN         PUTT                         VA     90012713914
17646319261976   FERNANDO      TELLEZ                       CA     90008043192
17646683691588   ESPERANZA     HERNANDEZ                    TX     90006336836
17648698261976   JOHANN        AGUILAR                      CA     90008266982
17649873461938   EVY           ABURTO                       CA     46095558734
17651438161958   CASEY         FRITZSCHING                  CA     46095334381
17655318361958   ACOZTA        RITEA                        CA     90001993183
17656884491588   LOURDES       ALVARADO                     TX     90008348844
17659563861958   ROBERT        ALSTEN                       CA     46090515638
17661875457147   VIOLETA       GARCIA                       VA     81025058754
17663383191956   KIRSTEN       TIPTON                       NC     90001443831
17664486831687   KALI          MCKNIGHT                     KS     90006664868
17665831791895   ESTANISLAO    GOMEZ                        OK     90015168317
17666271691588   DARLENE       AGUILAR                      TX     90014572716
17666791447956   MARTHA JO     COLEMAN                      AR     24048947914
17666867891569   HUMBERTO      CANO                         TX     90012098678
17667182791895   AMANDA        RICHARDSON                   OK     90011801827
17667555361976   SARAH         CUEVAS                       CA     90010315553
17669624161976   JOSE          BERUMEN                      CA     90011276241
17671774457147   DANIELA       MADRIGAL                     VA     90011307744
17673483955976   MARY          CARRILLO                     CA     49098974839
17675761661938   DANETTE       MAJOR                        CA     46010047616
17677111461976   EFREN         ANGUIANO                     CA     90014871114
17677719784337   LUIS          PEREZ                        SC     19062557197
17678334661976   CIPRANO       VILLALOBOS                   CA     90009443346
17678971691569   KAREN         MARTINEZ                     TX     90012659716
17679525861958   MIROSLAVA     FUENTES                      CA     90009885258
17685238461976   DANIEL        GUTIERREZ                    CA     90014912384
17685798693763   DEBORAH       HEISTER                      OH     90003987986
17686292591895   YASMIN        JACKSON                      OK     21092622925
17686834731687   PAYGO         IVR ACTIVATION               KS     90008078347
17686985257147   ENIO          POLANCO AVILA                VA     81019999852
17687656755976   PAYGO         IVR ACTIVATION               CA     90014326567
17691956585966   CALVIN        MQUEEN                       KY     90004599565
17692171591588   ROCIO         GARCIA                       TX     75074261715
17692327931646   JOSEPH        VAUGHTERS                    KS     90007493279
17693339491263   CANDICE       BRANUM                       GA     90000913394
17694644855976   AIOTEST1      DONOTTOUCH                   CA     90015116448
17698363657147   ANTONIO       RIVERA                       VA     90008673636
17699281391895   ADILENE       BRAVO                        OK     21082542813
17711394957147   MARITZA       RODRIGUEZ                    VA     90012943949
17712157561958   MIGUEL        MARTINEZ                     CA     90010751575
17712288557147   JOICE         PADILLA                      VA     90011022885
17712653355935   SHEIKH        KAIUUM                       CA     90011656533
17713939761958   MARIA         ABREGO                       CA     90008059397
17716146861958   RANDALL       WEST                         CA     90013991468
17716473291547   ALBA          VAZQUEZ                      TX     75058104732
17716697661976   ISAAC         FLORES                       CA     90013346976
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17716912491588   ELVIRA         OCHOA                       TX     75089769124
17718166443588   EVELYN         BURCH                       UT     90000291664
17718211391569   ERIKA          LIRA                        TX     90013872113
17718669931687   MATTHEW        REICH                       KS     90012086699
17721477191569   JUAN           JIMENEZ                     TX     90014224771
17723432791588   ELIZA          GUERRERO                    TX     90013554327
17725839955976   HEATHER        LUJAN                       CA     49002828399
17726739191588   LAURA          VALENZUELA                  TX     90012907391
17727616491895   STEVE          SIMMONS                     OK     90004586164
17729852991895   TONY           BENTON                      OK     21012768529
17729889161958   ANGELA         RIVERA                      CA     46034668891
17732726861938   OMAR           NAVARRETE                   CA     46016337268
17733985761976   CRISTINA       ZARAGOZA                    CA     90014279857
17735435591569   ALMA           CASTANEDA                   TX     90014154355
17736158191569   PILAR          FLORES                      TX     90005611581
17736788391895   SHANTA         CLAYTON                     OK     90014587883
17738684391263   JAMELL         WRIGHT                      SC     90010936843
17739764557147   MARIO          FLORES                      VA     90013307645
17741288855976   MAI NENG       XIONG                       CA     49007402888
17741916761938   ELOINA         AGUILAR SOTO                CA     46038909167
17744696861958   HUNTER         MCCOMBS                     CA     90015556968
17745639291929   JUAN           MENDOZA                     NC     90006446392
17745977161976   MARTHA         HERNANDEZ                   CA     46013699771
17748273457147   YESENIA        CONTRERAS                   VA     90006312734
17748976355976   IRACEMA        MENDEZ                      CA     49010459763
17753718291588   LETICIA        GONZALEZ                    TX     90014627182
17754215791569   CONCEPCION     CARRASCO                    TX     90001522157
17755765891569   MARIANA        SANCHEZ                     TX     90012107658
17756387661976   MARIA          GODOY CARRILLO              CA     46021273876
17756967747956   HERBERT E      HARPER JR                   AR     90010169677
17757816185936   SCOTT          BODKIN                      SC     14592208161
17757977191588   DIANA          MORALES                     TX     90009159771
17758149891895   EDILSER        LOPEZ                       OK     90011941498
17759722293725   MICHELLE       SHINN                       OH     90004577222
17761395861958   ERIKA CARINA   ZUNIGA                      CA     90014093958
17762742851357   DOROTHY        PIERCE                      OH     90005027428
17762795291588   MIREYA         LUCERO                      TX     75088147952
17763847661958   BARBARA        MITCHELL                    CA     90013968476
17765514631687   JAFER          ALESH                       KS     90006215146
17766146993725   FREDERICK T    CRUM                        OH     90013041469
17767374361976   CONTANCE       COLE                        CA     90010073743
17767577191569   RAYMUNDO       AGUIRRE                     TX     75067655771
17769463161938   DEVON          DEVEREOUX                   CA     46093914631
17773175558535   PRISCA         ALEXANDER                   CO     90012661755
17774947861976   KIMBERLY       DECASTRO                    CA     46057889478
17775626855976   MARDY          VALENTINE                   CA     90014326268
17776393691569   STEVEN         COTTINGHAM                  TX     90009633936
17776716257145   ERICK          ZUNIGA                      VA     90006587162
17776981491588   MARIA          RUBIO                       TX     90014119814
17778955255976   MONEY          GOOD                        CA     49009059552
17779696793727   JOSEPH M       LOVELACE                    OH     90002666967
17783363591588   HENRY          HYDER                       TX     90014713635
17784917761976   SHAUN          HENDERSON                   CA     90011279177
17786393691895   MEE            LEE                         OK     90014353936
17787131291895   FRANK          FREEMAN                     OK     21025041312
17787532331459   KENOSHA        JOHNSON                     MO     90003135323
17788337455976   JULIO          MARTINEZ                    CA     49030333374
17789649591569   LUJAN          VANNE                       TX     75065566495
17791383761994   JULIO          SALAS                       CA     90012133837
17792871191569   ADRIAN         DE LA GALA                  TX     90013738711
17795562661958   TED            LOGAN                       CA     90003585626
17795933361976   CLAUDIA        BONILLAS                    CA     90008979333
17798849991584   MARIA          PEREZ                       TX     90009988499
17799632255938   RAYMOND        HERNANDEZ                   CA     90011306322
17799974791895   ERIN           BLACKFORD                   OK     90006149747
17811742291895   LANCE          OLIVER                      OK     90011967422
17811844591588   JESSICA        ACKER                       TX     75021868445
17812579631687   DARRIN         WHITE                       KS     90001585796
17813162891569   TEARZA         CHAVEZ                      TX     90013331628
17814222955976   CRISTOPHER     FLORES                      CA     90014592229
17815132891588   NACHO          ESCANDON                    TX     90003571328
17818119493783   MARGARET       CRIST                       OH     90001461194
17818546991588   ARTURO         TAFOYA                      TX     75082235469
17819119493783   MARGARET       CRIST                       OH     90001461194
17822589161976   BRANDON        RAMIREZ                     CA     90014775891
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17823647291588   LORENA        SIANEZ                       TX     90008926472
17824716791569   PERLA         CALDERA                      TX     90007327167
17825929161957   JORGE         VELAZQUEZ                    CA     90012339291
17826529857147   VICTORIA      TARMOH                       VA     81043895298
17826865591263   KELLY         ADDISON                      GA     90004718655
17829553747956   DESHAWNONT    RHODES                       AR     24090365537
17833628547956   JOSUE         CABALLERO                    AR     90008126285
17838467147956   EARLTON       MANLEY                       AR     24024354671
17838477591895   ANDREA        WALKER                       OK     90014144775
17839369186455   JAMES         WILLIAMS                     SC     90014763691
17842363855976   KRYSTAL       ESPINO                       CA     90012643638
17842814991588   GOXZLES       ELISABBTH                    TX     90003228149
17844353561958   PAUL          MBUGUA                       ID     90012573535
17844921777597   REYNA         URBINA-MONDRAGON             NV     90008909217
17845343455976   JENNIE        PENA                         CA     49036743434
17845437361958   CAROLINA      LOPEZ                        CA     90014034373
17845517461976   DANICA        MONTERO                      CA     90010565174
17846255857147   ALLAN         GUZMAN                       VA     90013472558
17849442861976   ANGEL         YOS                          CA     90007024428
17852136761958   LESSLEY       TORRES                       CA     90013511367
17852592331687   JOSHUA        COTTON                       KS     90013885923
17853316991569   LUIS          GONZALEZ                     TX     90013433169
17853397861976   BLAKE         VAN AMERONGEN                CA     90012743978
17854956293736   JEANIA        JOHNSON                      OH     90011199562
17855567455976   GLORIA        CUEVAS                       CA     90000825674
17858322255976   JAMES         FRANCIS                      CA     90007553222
17858638691588   MARCO         ALVARADO                     TX     90004866386
17859128961976   PERLA         BENAVIDES                    CA     90013681289
17862949691838   MICHELLE      NORTH                        OK     90003989496
17863919761976   MARTHA        SEVILLA                      CA     90012769197
17864418591569   LUCY          GARCIA                       TX     75039484185
17866564491569   ANGELICA      ANGUIANO                     TX     90013695644
17866727457147   RAMON         ROMERO                       VA     90001017274
17867996461958   SAMUEL        AGUIRRE                      CA     90006379964
17869243357147   HENRY         MARTINEZ                     VA     90000212433
17871863991263   SONIA         PICAZO                       GA     90008908639
17873719691263   TONY          SMITH                        GA     90015287196
17874297761958   JACKIE        ARGUETA                      CA     90013822977
17874553747956   DESHAWNONT    RHODES                       AR     24090365537
17874891193737   JUSTIN        CURRY                        OH     90005818911
17875194347956   FRANCISCO     GALINDO MARTINEZ             AR     90000471943
17881563371949   AARON         DUNHAN                       CO     90008335633
17882149191263   NAKIA         BROWNN                       GA     90009061491
17884923355976   ALICIA        ROJAS                        CA     49023509233
17886377155976   BERTHA        RODRIGUEZ                    CA     49096863771
17887641357147   GILBERTO      MARTINEZ                     VA     90011846413
17889899855976   RAY           CELAYA                       CA     90008768998
17891812533623   TERSEA        CORTES TORRES                NC     90012258125
17892193161938   EUGENE        MARTINEZ                     CA     46016211931
17892514191569   LUIS          CONDE                        TX     90008745141
17892751455976   RICHARD       NIRES                        CA     90011797514
17893174131687   MICHAEL       ERWIN                        KS     90010651741
17894538521647   JACQULINE     GRAVES                       OH     90014915385
17895499291549   LUBIA         BANDA                        TX     90009644992
17895664961958   ANA           CORONADO                     CA     90015166649
17895686761938   ISRAEL        GUZMAN                       CA     90006086867
17895949891569   EDWARD        QUINN                        TX     75000089498
17896638691588   MARCO         ALVARADO                     TX     90004866386
17896819684765   RAFATH S      ALI                          IL     20563628196
17899863793783   ASHLY         CLAAR                        OH     90009588637
17911477361958   SANDRA        GRIFFIN                      CA     90008114773
17911523157147   OSCAR         BENITEZ                      VA     90014745231
17912412291569   LUIS          AGUILAR                      TX     90000904122
17912757661958   LIZBETH       DE LA CRUZ                   CA     90014737576
17914791691569   JAVIER        MARTINEZ                     TX     90009727916
17916239591895   GLENDY        NAVARRO                      OK     90011812395
17917862391588   DUSTIN        NOROTHY                      TX     90012988623
17919279861548   AMANDA        MATTHEWS                     KY     90007662798
17919932461976   MARCO         FLORES                       CA     90010489324
17923545157147   MICHAEL       CLARK                        VA     81091245451
17925991491588   MELISSA       VALDEZ                       TX     90012159914
17927934991588   HECTOR        REYES                        TX     90010869349
17928555191569   ANDREA        ROJERO                       TX     90001625551
17931582991895   GENE          SULLIVAN                     OK     21017745829
17931836691588   KARINA        RAMOS REYES                  TX     90015148366
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17932634261934   JUAN           BARRERA                     CA     90007126342
17934742661976   NANCY          NOPPE                       CA     90012707426
17935594161976   TERRA          MAYS                        CA     90002545941
17936625861958   WESLEY         SAGE                        CA     90012736258
17936933691569   WALTER         LEON                        TX     75008539336
17937933691569   WALTER         LEON                        TX     75008539336
17938159361958   GONZALO        NAYA                        CA     90013221593
17938222561938   RODNEY         DEMASTERS                   CA     90013952225
17938317755976   ERICA          DELAVARA                    CA     90015193177
17939394655976   GRACIELA       BERMUDEZ                    CA     90014663946
17941383291569   JAMES          LEE                         TX     90013203832
17941796791588   ANAMARIA       LOPEZ                       TX     75012967967
17941849191549   RAUL           VASQUEZ                     TX     75015378491
17941916891263   GEORGESTA      BOSTICK                     GA     90007019168
17941961257147   JUAN           MANDUJANO                   VA     90013989612
17944368161958   NORVELL        FREEMAN                     CA     90013453681
17947732857147   OSMIN          RUIZ                        VA     90007917328
17948739191588   LAURA          VALENZUELA                  TX     90012907391
17949152291588   MARYBELL       PARADA                      TX     75080051522
17954151577539   CHARLES        NELSON                      NV     43047891515
17954468391588   PHILLIP        PANDY                       TX     75090884683
17954724191569   JOSE           AVITIA                      TX     75075387241
17955148591895   BRITTANY       BALL                        OK     90013021485
17955266957147   DENIS          HENRIQUEZ                   VA     90013092669
17962128461958   CECILIA        REYNOSO                     CA     90012911284
17962161261958   DANETTE        ALVAREZ                     CA     90013721612
17962254431687   MICHAEL        HURST                       KS     90013832544
17962748585853   KAREN          HERNANDEZ                   CA     90008017485
17963149357147   ESMERALDA      ROMERO                      VA     90000221493
17963229657133   ASHLEY         LESANE                      VA     90005332296
17965112461976   SHARONDA       TRAN                        CA     90008271124
17965525886455   HERIBERTO      ZAVALA                      SC     90015345258
17968742761976   MARIA          HERNANDEZ                   CA     90012707427
17971169991588   DELFINO        CORDOBA                     TX     90011211699
17971239331687   RONALD         ZEHR                        KS     22036302393
17974192755976   DANIEL         RAZO                        CA     90012601927
17974233851542   SHAWNICE       LAMAY                       IA     90015332338
17975962161958   DALIA          JIMENEZ                     CA     90004899621
17978562977362   CLARKE         CRIDDELL                    IL     90014805629
17981264793763   ADAMS          LEMASTER                    OH     90005592647
17981978861958   ALLEN          ELDRIDGE                    CA     46051929788
17984916491938   RYAN           POMEROY                     NC     90011469164
17989375961976   MELISSA        CARDENAS                    CA     46058113759
17992665561958   LINDA          RUSSELL                     CA     90002716655
17996988691263   MICHAEL        THOMAS                      GA     90009269886
17999284861958   CARLOS         FERNANDEZ                   CA     46007302848
18111426991569   ARACELI        SANDOVAL                    TX     75019664269
18116875391263   ARMANDO        GARCIA ANDREDE              GA     90010218753
18117641351337   YOLANDA        MARTINEZ ORTINEZ            OH     90009856413
18117784891569   SEAN           RENTERIA                    TX     90006997848
18118144261972   ALEJANDRO      VELARDE                     CA     90011491442
18118155851337   MARANDA        COOPER                      OH     66015291558
18118524451337   MARANDA        COOPER                      OH     90012705244
18119921761938   MIGUEL ANGEL   PEREZ                       CA     90014729217
18122384593724   BRITTANY       CAMPBELL                    OH     90004913845
18122585561958   KRISTINA       RODRIGUEZ                   CA     90010895855
18122738191263   BRITTANY       COLLINS                     GA     90001487381
18125954991523   DANIELA        FLOREZ                      TX     90013089549
18127227291569   MELISSA        CARRANZA                    TX     90010162272
18127358391523   SILVA          NOELIA                      TX     90012953583
18127689557199   RODNEY         SCOTT                       VA     90001296895
18127742957147   AUGUSTIN       LOPEZ                       VA     90011737429
18128687585966   DILOY          ROBINSON                    KY     90015426875
18129416785966   JAMES          SPICER                      KY     90014064167
18131461155976   JORGE          EVANGELISTA                 CA     49000914611
18134984491523   CINDY          ESTRADA                     TX     90013089844
18139358361958   ESTEBAN        ESPINOZA                    CA     90008363583
18141347555976   JOE            MARTINEZ                    CA     90010403475
18141727281639   ANDRE          JONES                       MO     29077637272
18141971772456   WILLIAM        STAUFFER                    PA     90009119717
18142244451355   MICHAEL        TRIBBLE                     OH     90014982444
18145282951359   MARCELA        SANCHEZ                     OH     90013062829
18147178291523   JORGE          GONZALEZ                    TX     75009171782
18147551691895   LISA           SANDERS                     OK     90002675516
18148381261976   ALEJANDRA      CAMPBELL                    CA     46076903812
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18151349851337   JENNIFER      WALLAR                       OH     90013873498
18151435557147   ZOILA         TEJADA                       VA     81006764355
18152542961938   BIANCA        ESTRADA                      CA     90014825429
18153348585966   JOTISHA       WEAVER                       KY     90012993485
18153963555976   BRITTANY      MALLONEE                     CA     49016389635
18155159791523   DANA          LYLES                        TX     75029071597
18156922657147   OSCAR         LOPEZ                        VA     90009209226
18157378791523   VICTOR        SALAZAR                      TX     90012793787
18158243955976   ROSA HILDA    DIAZ                         CA     90012902439
18159569147956   ULISES        FLORES                       AR     24012535691
18159663391523   LETICIA       CARRILLO                     TX     90009906633
18159747585966   DEXTER        PERRIN                       KY     90013967475
18159915981639   RUDY          AQUINO                       MO     29032229159
18161974991523   JAMES         BROWN                        TX     90013089749
18162323191523   CAESAR        ACOSTA                       NM     75032413231
18163295455976   MANUEL        RAMOS                        CA     90015262954
18163539391569   ANTONIO       MONTOYA                      TX     90003615393
18164632261938   GILMAN        TOBIN                        CA     46089036322
18169452791895   ASHLEY        ANDERSON                     OK     90013864527
18173239191523   GABRIELA      VAZQUEZ                      TX     75041962391
18175499791523   INEZ          RUVALCABA                    TX     90013104997
18175913591586   JULIAN        CERVANTES                    TX     75037519135
18177274851337   TERRAH        MCCLODE                      OH     90003412748
18177455951355   LINDA         BERGER                       OH     90007544559
18177639361958   ELVA          LOZA                         CA     90013456393
18177942491569   CESAR         MARTINEZ                     TX     90008119424
18178525651359   BRENDA        MCBEE                        OH     90011535256
18178748361938   JUAN          ESPITIA                      CA     46058037483
18178952731687   REGINA        WITCHER                      KS     22042939527
18179169751355   RICARDO       DUNKLIN                      OH     66007171697
18179238861934   FRASER        KEYS                         CA     46000392388
18181396141255   DOMINIQUE     TOMASSI                      PA     51014223961
18181885591569   DORA          CARDOZA                      TX     90013468855
18182234391569   SANDY         SALAS                        TX     75016932343
18183926171976   KELSEY        JOHANNES                     CO     90002439261
18187348361938   MARCOS        RAMIREZ                      CA     90014233483
18189192561938   PAMELA        LUERA                        CA     90011741925
18189832255976   ANNALISA      ARCINIEGA                    CA     90010398322
18192135157147   SAIF UR       REHMAN                       VA     90015051351
18192439561938   GUANG         PAPITE                       CA     90011484395
18192648691569   BRYAN         SAENZ                        TX     75040736486
18194139181692   BERENICE      MAGDALENA                    MO     90011051391
18194864361958   ASHLEY        WASHINGTON                   CA     90013438643
18195652755934   JOHN          DIREDO                       CA     49016966527
18196532331459   KENOSHA       JOHNSON                      MO     90003135323
18196792951337   MISTUI        DUNCIL                       OH     90009277929
18197197555976   AARON         CARDENAS                     CA     90009011975
18199466391569   FELIPE        DE LOS RIOS                  TX     90012024663
18211682785966   LINA          BRANDSHAW                    KY     90011396827
18212315285966   SHERRY        DICKERSON                    KY     67050453152
18212617691569   ANDRES        NARANJO                      TX     75079386176
18213156571965   DANIEL        ROBBINS                      CO     90010871565
18214752561958   TAYLOR        HARVILLE                     CA     90013217525
18217144285966   MARTHA        SPARKS                       KY     90006361442
18218575651355   SHANICEA      BENTON                       OH     66001855756
18219166561958   BEMY          CHARLTON                     CA     90004501665
18219313491569   JUAN          VARELA                       TX     90013773134
18221798477344   JESUS         CONTRERAS                    IL     90009867984
18221978647956   ANGELICA      MARTINEZ                     AR     24055719786
18222352191895   EDWARD        BURGESS                      OK     21034123521
18223175457147   TITO          POLANCO                      VA     81048231754
18224397761958   MARIA         ALVARADO                     CA     46023523977
18224435385966   LORI          HAZELWOOD                    KY     90011914353
18226548761976   OSIEL         PONCE                        CA     90006475487
18229999451355   AKILAH        BOYD                         OH     90015209994
18231376655976   CHESSARAY     NOVELLI                      CA     90002463766
18231714161958   SIRAKE        NEGATO                       CA     90013337141
18232736721933   DAWN          WILSON                       IN     90013767367
18235875593732   DOUGLAS       BALLARD                      OH     90004098755
18236183281639   THERESA       GARCIA                       MO     90013361832
18236648391569   RODOLFO       FERNANDEZ                    TX     75023556483
18238383551337   OVETTA        LEARY                        OH     90013263835
18241279981639   MELVIN        HERNANDEZ                    MO     90013622799
18242168455976   TONY          MASON                        CA     49008481684
18243586661938   ROBERT        HARRISON                     CA     90009485866
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18245318391569   RAFAEL        SERRATOS                     TX     90015293183
18245772661938   HERLINDA      GUTIERREZ                    CA     90008667726
18246122691523   ELENA         ORTIZ                        TX     90008151226
18248244393756   CHERISH       HURSH                        OH     90008962443
18248324851359   ESSENCA       WASHINGHEN                   OH     90012363248
18248872761958   CLARA         ARROYO                       CA     90003928727
18248916231687   JENNIFER      SIMERLY                      KS     90012439162
18249244393756   CHERISH       HURSH                        OH     90008962443
18249833391523   PEDRO         CAMUNEZ                      TX     90005268333
18252653491586   DIANA         LOPEZ                        TX     75036906534
18253775151359   DAVID         FOGELSON                     OH     66098367751
18254763191523   ARACELI       MARTINEZ DE AMAYA            TX     90014037631
18255351785966   KATIE         SAMUEL                       KY     67027033517
18255856591586   SASHARY       ALKAABI                      TX     90010798565
18256168455976   TONY          MASON                        CA     49008481684
18256183454197   CIPRIANO      RODRIGUEZ                    OR     90011941834
18258312371932   VERONICA      URIAS GARCIA                 CO     90011713123
18258713191523   RICARDO       FLORES                       NM     90010227131
18262469331687   ROGER         PEREZ                        KS     90012304693
18264931371933   MELISSA       STULL                        CO     90007669313
18266619691569   BYAN          ESCOBAR                      TX     90013716196
18266658661938   DION          SIMPSON                      CA     90014856586
18273683351337   BILL          THAN                         OH     90005906833
18275287651359   PLACIDO       ROBLERO                      OH     66061722876
18276249391584   HEDI          PLACENCIA                    TX     90010282493
18279861991897   SHALANDRA     RIJO                         OK     90008748619
18279968661938   ITALIVI       SUAREZ                       CA     90003579686
18281673861938   JUAN          MALDONADO                    CA     46045336738
18281871255987   MIKE          CASTANEDA                    CA     90015028712
18282718591523   NICOLE        CANO                         NM     75036967185
18283539661938   MIKE          SKILLINGS                    CA     90015065396
18285236591523   KARINA        HERNANDEZ                    TX     90002982365
18286787551355   LISHA         CANNON                       OH     90012197875
18286849585966   LEAH          FOWLER                       KY     90012818495
18288122591578   HILDA         AYALA                        TX     90007711225
18288637181639   MARVIN        HORN                         MO     90013826371
18289491891569   ELVA          MAGDALENO                    NM     75001794918
18291573251359   APRIL         MOORE                        OH     90010485732
18292464961938   BRYAN         GARDUNO                      CA     90015124649
18292525791263   STEVEN        BROWN`                       GA     14573825257
18294577191895   GERARDO       ROJAS                        OK     21052975771
18295753381639   AMY           BRYANT                       MO     90010437533
18296113831687   ERICA         FORD                         KS     90003701138
18296253191523   ARTHUR        FLORES                       TX     75087692531
18297452951355   JAMIE         SMALL                        OH     66028574529
18298123551359   JUSTIN        HORN                         OH     66016221235
18298995631687   MELVIN        MENDEZ                       KS     90011919956
18299134551355   MVONDO        ARNAUD                       OH     90011721345
18299583154122   AMELIA        PETERSON                     OR     47077475831
18299688785966   ANTWAUN       MITCHELL                     KY     90014506887
18312191651337   DAVINA        BRADSHAW                     OH     90014831916
18312473591569   GARY          GONZALEZ                     TX     90009654735
18312788731687   NICK          VASQUES                      CO     22087887887
18312884851359   MARVIN        NARED                        OH     90014798848
18314663731687   ANJANETTE     MONTANO                      KS     90007926637
18314944491523   VICTOR        CANALES                      TX     90001569444
18316759881639   TINA          MEYERS                       MO     90013237598
18318741581639   DARLA         IRVIN                        MO     90015097415
18319146891895   DENA          FINK                         OK     21078431468
18319558591569   ELSA          ESCOBAR                      TX     75099005585
18321633161938   ALEJANDRO     MELENDEZ                     CA     46061356331
18321653491586   DIANA         LOPEZ                        TX     75036906534
18325323157147   NOEL          HERNANDEZ                    VA     90012803231
18327372131687   CHAD          SMITH                        KS     22006463721
18328571731687   TASHIA        TOWNSLEY                     KS     90009075717
18329569551355   YVETTE        STEVENSON                    OH     66022295695
18332264181639   SARAH         ROBERT                       MO     29059382641
18333936251355   DAWN          INGRAM                       OH     66023069362
18334697691569   PANFILO       BERMUDEZ                     TX     75082486976
18337923385966   CHRISTY       SPARKS                       KY     90008579233
18338433784347   JACQUELINE    ONEAL                        SC     90004264337
18339267391569   SANDRA        RAMIREZ                      TX     90013752673
18339593257579   REBECCA       JONES                        NM     90014315932
18341751961932   ABBY          CLEMENT                      CA     90009377519
18342869557147   LORENZA       SUAREZ                       VA     81052128695
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18343554951355   MELISSA       KEMPER                       OH     90003795549
18345988957147   MICHELLE      WOODSON                      VA     90013229889
18346459161958   MARICEL       MARTINEZ                     CA     90013794591
18346982571935   STEPHANIE     PERRY                        CO     90011679825
18349576791569   GARETT        BILLINGTON                   TX     90005305767
18351311831687   JASON         CLARK                        KS     22000263118
18351457561958   ANGELICA      CEBRERO                      CA     90014114575
18352447255976   ANGEL         BLANCO                       CA     90009894472
18353314261976   DIANA         VARGAS                       CA     90006503142
18354143157147   NELSON        RODRIGUEZ                    VA     81076551431
18355696651359   JOYCE         BELL                         OH     90007986966
18355831355976   CHRISHONDA    SMITH                        CA     90011088313
18357213355976   JENNIE        SALINAS                      CA     90005752133
18357614261938   ALEJANDRA     ESTRADA                      CA     46050786142
18358796451355   CHRISTIAN     KINCAID                      OH     90015217964
18359235461958   YANINA        URIARTE                      CA     46054562354
18363117691399   JENNIFER      WILLIAMS                     KS     90011031176
18363523664135   THANG         MUNG                         IA     90014325236
18364244285966   SAMANTHA      GRANT                        KY     90013642442
18364546961993   CESAR         MENDEZ                       CA     90005735469
18365529457147   LUIS          MARQUEZ                      VA     90013275294
18368295455976   MANUEL        RAMOS                        CA     90015262954
18368565561938   WENDI         DOERR                        CA     90013775655
18369614991523   GABRIELA      FERRON                       TX     75004266149
18372786991569   CRYSTAL       REYES                        TX     90001307869
18373767931687   ERICKA        CARTER                       KS     90015377679
18373858361958   REFUGIA       PRADO MENDOZA                CA     46067748583
18374587551337   LAURA         HAMILTON                     OH     90006575875
18376672551355   TERRY         MANNS                        OH     90001876725
18377178291523   JORGE         GONZALEZ                     TX     75009171782
18377799961938   DON           WALLAR                       CA     90012327999
18378479655976   MICHAEL       NIJERA                       CA     90014984796
18379795493724   JACK          SMITH                        OH     90008497954
18384256191569   LISA          HINOJOSA                     TX     90012342561
18386253455987   STEPHANY      RARCIA                       CA     90010602534
18387318391569   RAFAEL        SERRATOS                     TX     90015293183
18388331985966   PAYGO         IVR ACTIVATION               KY     90010963319
18392757891569   MARIA         ALMEIDA                      TX     90011197578
18394458891578   JODY          HERRELSON                    TX     90008824588
18394828951359   JOSE LUIS     SANDOVAL                     OH     90012998289
18396786761958   NOEMY         FLORES                       CA     90008887867
18398242985966   SHAUNA        ESTELL                       KY     90010772429
18398464191895   VICTOR        GRIMES                       OK     21035284641
18398677591569   GLORIA        PARRA                        TX     90008076775
18399187791569   ERICA         GARCIA                       TX     90013271877
18415774855976   CHRISTOPHER   STEMPIEN                     CA     90013167748
18415911931687   MILES         LEE                          KS     90012139119
18416621631468   JOYCE         SABINE                       MO     90002676216
18416752155976   SALVADOR      PEREZ                        CA     90013457521
18416775961938   SANTINO       YOUNGBLOOD                   CA     90012137759
18418461351337   JALEESA       LEWIS                        OH     90013214613
18419363371967   MARY          BREWER                       CO     90013873633
18421757757147   SAMEH A       GHAREEB                      VA     90011807577
18422481491547   MARIA         DOMINGUEZ                    TX     90005654814
18422924151355   DAVID         WILEY                        OH     90005189241
18424296355976   ELIZABETH     VERDUGO                      CA     90014052963
18425164461958   JUAN          ORTIZ                        CA     90008041644
18426941691575   SOFIA         ACOSTA                       TX     90013099416
18428844847956   BALDOMERO     HERNANDEZ                    AR     24087548448
18429364451355   JOHN          DRUMMOND                     OH     90009703644
18429671661958   MARIA         QUEZADA                      CA     46079376716
18432462791569   JULIA         MORA                         TX     75044484627
18434492661958   LAMANCE       BURKS                        CA     46071244926
18436341555976   STEPHANIE     MOREYDA                      CA     90013693415
18438581591523   VERONICA      CASTILLEJO                   TX     90008395815
18441388785966   KEVIN         FELTNER                      KY     90012063887
18441856791523   PATRICIA      GARNICA                      TX     75042848567
18442875261938   MELILLO       FIKIRTE                      CA     90008458752
18443121857147   SALMA         SALGADO DE CAMPOS            VA     90011811218
18444523791523   OLGA          GARCIA                       TX     90013105237
18444938461938   JOEY          PACHECO                      CA     90013749384
18445527191569   ARACELI       GANBOA                       TX     75014365271
18446588291569   GUADALUPE     ACOSTA                       TX     90013945882
18448573571932   RAY           TARANGO                      CO     90010475735
18448598371929   STACY         BARNES                       CO     90007765983
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18449312455976   JONATHON      VERA                         CA     90001033124
18449594185966   CARTER        PAUL                         KY     90001955941
18451287191569   VERONICA      ESCOBEDO                     TX     90013352871
18454492351359   JESSICA       GOFF                         OH     90014874923
18454755461938   LAURA         TAVIZON                      CA     90014437554
18455382991569   DALIA         RANGEL                       TX     90014573829
18455673551337   STEPHEN       MOORE                        OH     66021716735
18455891757147   ANTONIO       CRUZ                         VA     90004578917
18458296161938   JOSE          REYES                        CA     90010352961
18461244285966   SAMANTHA      GRANT                        KY     90013642442
18463379731687   SAMMIQUA      CANNON-WITHERSPOON           KS     90012903797
18464318985966   REBECCA       MARTIN                       KY     90012913189
18465195551355   NICK          CONNER                       OH     90012831955
18466615251337   PATRICE       FREDERICK                    OH     90008506152
18467648455976   MARIA         BALLESTEROS                  CA     90014816484
18468973191524   IRMA          CASTRO                       TX     75069769731
18472291657147   BLANCA        REYES                        VA     90010592916
18473479161938   BRADY         REDWINE                      CA     90013154791
18475726455976   ALMA          GARCIA                       CA     90005217264
18479185685966   MICHAEL       RICE                         KY     90014411856
18482351791569   GINNY         NAVAR                        TX     90010413517
18482468281639   PAYGO         IVR ACTIVATION               MO     90011694682
18485942791569   SAMUEL        ORTIZ                        TX     90010859427
18486753385966   RANE          SLOAW                        KY     90006507533
18488325855976   JULIE         CASTRO                       CA     90013973258
18489364991885   SARA          ARZU                         OK     21011363649
18489495691569   JUAN          LECHUGA                      TX     90002474956
18489886157147   RKI CLAIMS    SPECIALIST                   VA     90011818861
18491281455976   ANTHONY       BOGOSIAN                     CA     90013612814
18493422563654   COURTNEY      HORNER                       MO     90015064225
18493575461938   VANNA         HIM                          CA     46097565754
18493886157147   RKI CLAIMS    SPECIALIST                   VA     90011818861
18494886157147   RKI CLAIMS    SPECIALIST                   VA     90011818861
18496671457147   WHITE         LYNN                         VA     81006766714
18498376351355   MARTIN        WILSON                       OH     66007303763
18499625955976   PATRICIA      BARAJAS                      CA     49050086259
18512118951337   JOSE          RODRIGUEZ                    OH     90013891189
18513424261938   MARIA         VAZQUEZ                      CA     90014924242
18513527591523   CLAUDIA       DELEON                       TX     75050195275
18516899551337   TIM           FREDRICK                     OH     90008178995
18519934791523   MISLEYDI      RIVERO PEREZ                 TX     90013099347
18521286955976   FAWAZ         ALMARI                       CA     90013612869
18523457561958   GILBERTO      TELLECHEA                    CA     90008364575
18523811291584   GABRIELA      FLORES                       TX     90009238112
18524329291524   STERLING      OUTRAM                       TX     90013453292
18525431593768   TINA          JACKSON                      OH     90003694315
18525983161938   PEDRO         MARTINEZ QUEZADA             CA     46078279831
18528556355976   THOOB         LEE                          CA     90012725563
18533429291895   SANDRA        SLANKER                      OK     21081614292
18533461861958   ELADIO        BURGOS                       CA     90013924618
18534412157147   NORBERTO      GALDAMEZ                     VA     90005394121
18534538351359   BRANDON       S. BARGER                    OH     66029135383
18534714955976   JOE           VALENCIA                     CA     49098727149
18535449351359   STEPHANIE     MCCOWAN                      OH     66016234493
18535948147956   ALEJANDRO     VASQUEZ                      AR     24094389481
18536824391569   STEVE         ONTIVEROS                    TX     90013228243
18538775991263   SCHENTERIA    BLAKE                        GA     14587287759
18539984491569   DAWN          LOVELL                       TX     90003389844
18541129831687   JOHN          ROETS                        KS     22006551298
18541847391523   ARMANDO       CONTRERAS                    TX     90010158473
18542485351337   COURTNEY      SORRELL                      OH     90003554853
18542612561938   NATASHA       GENDELMAN                    CA     46060596125
18543137891523   REBECCA       VIGIL                        TX     75028411378
18544543285966   RYAN          THOMPSON                     KY     90008755432
18545676861938   KATHERINE     HALLIGAN                     CA     46048216768
18546128761938   CARLOS        VAZQUEZ                      CA     90000591287
18548536655976   YOLANDA       VASQUEZ                      CA     90012855366
18548965357147   ROMULO        VENTURA                      VA     90013219653
18552351191569   ASHLEY        MORALES                      TX     90008963511
18552485691569   GUADALUPE     ESTRADA                      TX     90014834856
18553351191523   ROGELIO       CARRILLO                     TX     75068733511
18554366655976   MONICA        LEWIS                        CA     90002403666
18554665881639   CHANNING      HILL                         MO     90015206658
18557911161958   ALVARO        NEVAREZ                      CA     90011749111
18559718761938   ENRIQUE       MIRANDA                      CA     90001997187
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18559959991523   JASMIN         HERNANDEZ                   TX     90014999599
18561335555976   ANDREA         MARTINEZ                    CA     90006263355
18562216457147   CHRISTINE      PANNELL                     VA     81098572164
18563123555976   LINDA          VANG                        CA     90004871235
18564216457147   CHRISTINE      PANNELL                     VA     81098572164
18564974361958   HECTOR         GONZALEZ                    CA     90015139743
18566781951359   MARQUETTA      MASON                       OH     66071777819
18568693461958   LORENA         GAMEZ                       CA     90011396934
18572268661938   ANTONIO        BROWN                       CA     90014802686
18572329155976   ANDREW         MARTINEZ                    CA     90008523291
18572715951337   JOSE           HERNANDEZ                   OH     90014917159
18574912155942   MARIA          LUCIO                       CA     90014169121
18576591391263   EDGAR          PENA                        GA     14598265913
18577685831687   SEAN           HESS                        KS     90011876858
18579169781639   SHERE          TAYLOR                      MO     90010641697
18579245261976   LUZVIMEMOA     MONTERO                     CA     90006532452
18583961181639   ALONSO         PENA                        MO     29018159611
18584518751359   EDINSON        PACHECO                     OH     66029095187
18584536751337   GINA           WALKER                      OH     90004305367
18585178155976   DIANA          RAMIREZ                     CA     90010241781
18585244461938   DAVID          BURDELL                     CA     46032422444
18587765381639   KYLE           NORRIS                      MO     90014477653
18592376655976   CHESSARAY      NOVELLI                     CA     90002463766
18593228957147   MARTA          CALDERON                    VA     81086702289
18594595931687   WAYNE          KINNEY                      KS     90014675959
18594649961938   ERNESTO        JIMENEZ                     CA     90003556499
18595112485966   RACHEAL        HARRINGTON                  KY     67081391124
18598392257147   SEBASTIAN      ROJAS                       VA     90013143922
18598999261938   CRUZ           MENA                        CA     46024029992
18599343161958   NATHAN         CAMPBELL                    CA     90014593431
18611453351359   LETASHA        MCPHERSON                   OH     90011224533
18611476351359   LATASHA        MCPHERSON                   OH     90013394763
18612136357147   SACARIA        LOPEZ                       VA     81098591363
18612641161938   ARTEMIO        PEREZ                       CA     90012916411
18617649955976   FABIAN         VELASQUEZ                   CA     90007486499
18618411691569   ROSA           CHAVARRIA                   TX     90002984116
18619694555976   ESMERALDA      VILLALOBOS                  CA     90011496945
18619743891523   GRACIELA       CORREA                      TX     90010707438
18619883931687   ANNA           ORONA                       KS     90012168839
18621454285966   CLARENCE       SHOOK                       KY     90004694542
18622974551355   GERRI          WATKINS                     OH     90013129745
18623495251337   LEVONDA        BEEKS                       OH     66093774952
18625698751359   ROLANDO        LOPEZ                       OH     90011536987
18627842281639   JESUS          GUEVARA                     MO     29057978422
18629794691523   UBALDO         PEREZ                       TX     75071587946
18632155851337   MARANDA        COOPER                      OH     66015291558
18632487157147   TANYA          HARRISON                    VA     90011844871
18632524451337   MARANDA        COOPER                      OH     90012705244
18633561151359   AMBER          HEIDER                      OH     66080225611
18634164191895   JEFFREY        LINAMEN                     OK     21082531641
18634833757147   DAMARIS        MENLENDEZ                   VA     90011848337
18634862561938   CONNIE         JACKSON                     CA     90005028625
18637425536157   KIMBERLY       GARLEY                      TX     90006514255
18637987655976   DANIEL         BERA                        CA     90014889876
18638437377597   MARY           GAYTAN                      NV     90013764373
18638629755976   AMANDA         ARAMBULA                    CA     49084146297
18639427291569   JIMMY          BALDWIN                     TX     75078394272
18639467691897   SHERRELL       VESTER                      OK     90009504676
18641693361958   PILAR          SANTAMARIA                  CA     90003916933
18643113931687   ARMIDA         MACIAS                      KS     90009021139
18643739651359   ALLISON        HEEG                        OH     90004517396
18645667461958   MELISSA        MARTINEZ                    CA     90014416674
18647287491569   NICHOLAS       HERNANDEZ                   TX     90009632874
18647866191523   SANDRA         HERNANDEZ                   TX     90010908661
18647985485966   KENNETH        HAPPY                       KY     90014119854
18648181261938   JORDAN         GENTNER                     CA     90010631812
18648497651359   NATALIE        REYES                       OH     90011904976
18651847155976   MARCUS         GARZA                       CA     49034748471
18652683257147   DOUGLAS        SANCHEZ                     VA     90012636832
18653349251355   JAMES          SILVEIRA                    OH     90014853492
18654674257147   LINDA          CARABEZ                     VA     81009936742
18654887793725   REBECCA LYNN   RIVERA INESTROZA            OH     90011588877
18656234557147   TODD           WILLIAMS                    VA     90013142345
18657826391569   ARACELI        MIRELES                     TX     90014728263
18659478985966   CHRIS          LEACH                       KY     67082704789
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18661361885966   SERENA          BERTOTTO                   KY     90015303618
18661411591569   ERNESTO         REYES                      TX     90007524115
18663165251355   GERALDINE       MCQUITTY                   OH     90009581652
18664244391263   LOTOYIA         GROOVER                    GA     90009932443
18666373791523   SAUL            PEREZ                      TX     75082423737
18666815631687   CHRISTINA       GUERRERO                   KS     22010838156
18667826831687   PRESTON         SAUER                      KS     90015108268
18667934391895   MARK            BURKS                      OK     21002639343
18668372451355   NICOLE          KENNEDY                    OH     66004293724
18668818631687   KELLI           BRUBAKER                   KS     90011018186
18671644955976   JOSE HUMBERTO   GORDILLO                   CA     90008776449
18672554661958   OLYMPIA         SUAREZ                     CA     46050695546
18673626451337   FREDDIE         WILLIS SR                  OH     66044816264
18675869251355   VERONICA        CASTRO                     OH     90012218692
18676112191573   VERONICA        ENRIQUEZ                   TX     90001881121
18677542681672   GREGORY         SANDERS                    MO     90013475426
18678481391569   MARIA           MARIATA                    TX     90008474813
18679957591263   AARON           WEST                       GA     90008589575
18683267891569   ESTHER          NAVARRETE                  TX     75046382678
18683981893724   BANDON          MANGOLD                    OH     90006169818
18684755181639   AMETHYST        CAMPBELL                   MO     90008957551
18685369981639   TIM             BEAM                       MO     90012853699
18688931791569   MONICA          JONES                      TX     90008339317
18691229391523   SYLVIA          CARDENAS                   TX     75086652293
18691451791569   ROGERS          WIRELESS                   TX     90014964517
18692578391523   MARK            BEATICE                    TX     75048685783
18693181991569   GLORIA          PEREZ                      TX     75090381819
18693297451359   SUSAN           SPENNEBERG                 OH     90013362974
18694271561958   JOSIE           CASTRO                     CA     46082422715
18694443285966   TONI            JOHNSON                    KY     90011634432
18695217151359   STEVEN          JOHNSON                    OH     90015302171
18695571561958   RAY             CHAVEZ                     CA     90014675715
18696384351359   JENNIFER        LOVE                       OH     90008853843
18698813651355   CAROLYNE        ANGEL                      OH     66018038136
18698891361938   CANDELARIO      LIRA                       CA     90013248913
18699486371925   ABEL            ANDRADE                    CO     38036414863
18712353591569   ANTONIO         MANCINAS                   TX     90013933535
18712859485966   RICHARD         PARKS                      KY     90014598594
18714332961938   EDUARDO         VERDUGO                    CA     46046083329
18714383461976   IRIS            RIVERA                     CA     90006563834
18715347581639   WILLIAM         MONTERROSA                 MO     90003633475
18715452231687   GREGORY         HILL JR                    KS     90014144522
18715756461958   JOHNNY          YUMA                       CA     90013887564
18715977891835   KANDICE         ANDERSON                   OK     90014479778
18716189551355   IMANI           BECKWITH                   OH     90005751895
18717136151355   ADRIAN          MARTIN                     OH     90014831361
18717671176925   OQUARIUS        OATIS                      MS     90014566711
18719522891895   LESLEY          ELDER                      OK     21087825228
18721886591569   DAVID           CARRILLO                   TX     90003848865
18723582131687   SCOTT           SAINCLAIR                  KS     90009275821
18725939955976   PETE            HANAMAIKAI                 CA     90012299399
18726546491523   ANGELICA        GARAY                      TX     90008875464
18727424591263   MICHELLE        MCMASTER                   GA     14573994245
18732288591547   HILDA           RAMIREZ                    TX     90011132885
18735581461938   GERARDO         MAGALLANES                 CA     90001295814
18737738655976   LISA            HERNANDEZ                  CA     49034747386
18737924491523   ALBERT          PACHECO                    TX     90014099244
18741122461958   ANA             VELAZQUEZ                  CA     90012001224
18741365291895   LEILANI         BARLOW                     OK     90010173652
18741913151355   ELIZABETH       BEBOUT                     OH     66081159131
18743496691523   LUIS            BUSTAMANTE                 TX     90007904966
18744363831687   DAWN            WEHRLEY                    KS     90007933638
18745745281639   KEVIN           MEMBRENO                   MO     90010217452
18746313791895   BOYD            DAVID                      OK     90004363137
18748677991263   GUADALUPE       ALDANA SOTERO              GA     90009696779
18748845785966   VALERY          WARD                       KY     90011328457
18752232851359   ROBERT          STEINER                    OH     66090162328
18752548955976   BERNABE         ALCALA                     CA     90001285489
18752932861976   JUDITH          GARCIA                     CA     90011209328
18752979681639   TUCKER          HARPER                     MO     90014849796
18753118861938   ELVIRA          LOPEZ                      CA     90000641188
18754445351355   ASHANTI         RIDDLE                     OH     90010704453
18754952591984   JA KEYA         SHERMAN                    NC     90001099525
18755359291895   AARON           BRIXEY                     OK     21088373592
18755639131426   DEMETRIUS       BLAIR                      MO     27557416391
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18757417461958   ERNEST        DELGADO                      CA     90011054174
18758975685966   DUSTIN        HENSLEY                      KY     90014239756
18761454881639   BRIDGETTE     GOULETTE                     KS     90012014548
18761459271925   INGRID        NORMAN                       CO     90008204592
18763112691569   MINERVA       PARRA                        TX     75092661126
18763719191523   SANDRA        CANDELARIA                   TX     90002177191
18764614672433   ROBIN         KIRKPATRICK                  PA     90003186146
18765785551359   ERICA         MILLER                       OH     90011707855
18765988955976   BOBBY         GONZALES                     CA     49045359889
18766394591569   VIRGINIA      PROVENCIO                    TX     90014443945
18766466851337   SHANNON       HINES                        OH     66052084668
18766939557124   JOSEPH        SILVERA                      VA     90013879395
18767991191573   MARIA         WARD                         TX     75073129911
18768522785966   MARK          COMBS                        KY     67004965227
18769713931687   RICARDO       MURO                         KS     90010467139
18771252981639   REGINALD      DAVIS                        MO     90009742529
18771433991523   LAURA         WILLIAMS                     TX     90003194339
18771924485966   SLIG          NAYESHA                      KY     90012139244
18773698155976   LADY          VUE                          CA     90013856981
18774518293732   MICHAEL       BANKS                        OH     64535425182
18774825791569   PACO          FERNANDEZ                    TX     90014038257
18775561291569   EZEQUIEL      SOLTERO                      TX     90010275612
18777216481639   PAYGO         IVR ACTIVATION               MO     90013282164
18777433991523   LAURA         WILLIAMS                     TX     90003194339
18777439955976   CHESTER       BRINTLEY                     CA     90013094399
18777455571976   MEGAN         MCCABE                       CO     90011244555
18777538851337   ANTHONY       WILKERSON                    OH     90005505388
18778433991523   LAURA         WILLIAMS                     TX     90003194339
18779165151337   SANDRA        WILLIAMS                     OH     90011491651
18779957591569   YARA          ARMENDARIZ                   TX     90011859575
18781331855976   CODY          MALENDREZZ                   CA     90014993318
18782939255976   JUAN CARLOS   BAUTISTA VARGAS              CA     90010079392
18783141891569   RAMOS         CECILIA                      TX     90012191418
18784724831687   KYLEE         NIKKEL                       KS     90011497248
18785188981639   NATHAN        ROBINSON                     MO     90015261889
18785252191523   RUBEN         GUZMAN                       NM     75046862521
18785587351337   MICKELLA      FRANKLIN                     OH     90011015873
18785643451359   T             HINTON                       OH     90013986434
18788832791895   JERRY         MCDONALD                     OK     21070408327
18789196651337   KAITLYN       TUNNEY                       OH     90014611966
18789717351355   REBECCA       HALL                         OH     66032637173
18789971761985   DAMINAN       RESNDEZ                      CA     46015549717
18791375661938   SUCDI         HASSAN                       CA     90011853756
18791742581639   MATTHEW       BRADY                        MO     90013997425
18794137857147   LAURA         RAMIREZ                      VA     90013241378
18795137857147   LAURA         RAMIREZ                      VA     90013241378
18796745955976   DENNIS        LAUGHLIN                     CA     90012417459
18797844661996   GABRIELA      CANCHOLA                     CA     90000118446
18798678885966   JAMES         HARRISON                     KY     90001636788
18799357131687   JOY E         DOWNS                        KS     90002923571
18811217591835   REBECCA       MILSAPS                      OK     90010452175
18811912391523   JUAN          HERNANDEZ                    TX     75006589123
18812235355976   JEFFERY       CHENVERT                     CA     90014282353
18812414591523   YVONNA        SANCHEZ                      TX     90013934145
18813464461938   BIANCA        POPPLEWELL                   CA     90014484644
18814154757147   JOSE          MARTINEZ                     VA     90014191547
18815496657147   PABLO         ROMERO                       VA     90013244966
18816359951337   LANAYE        PEEPLES                      OH     66093313599
18819712751337   ROGER         MCGUIRE                      OH     90009877127
18822641891523   JAMES         BONNER                       TX     90011386418
18822996591569   GRACE         QUEZADA                      TX     90010729965
18823955355976   LY            VAN                          CA     90001569553
18824941181639   LEAH          PULLUAIM                     MO     29043389411
18825438591523   JEANETTE      MORALES                      TX     90007134385
18826914955976   LATOYA        LEWIS                        CA     90007989149
18827158985966   BRANDIE       ROBAR                        KY     90011201589
18827824791523   LAURA         SAUCEDO                      TX     90014528247
18832347361958   ROBERTO       QUIJAS                       CA     90013753473
18832615891569   ADRIANA       NAVARRO                      TX     90012126158
18833733291523   MARTIN        DELOLMO                      TX     90012247332
18833739391346   RICHARD       ALLEN                        KS     90006427393
18835412161938   T             HILL                         CA     46080344121
18836297431687   MONA          CROSS                        KS     22016282974
18839146191569   FRANKLIN      FREEMAN                      TX     75008301461
18841462181639   YOLANDA       WILLIAMS                     KS     29091314621
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18841914491523   SKYLER            JONES                    TX     90015209144
18842195791523   LILIAN            PALACIOS                 TX     90011181957
18844168593756   VERNON            STACEY                   OH     90014821685
18846414951359   KIMBERLY          GARRETT                  OH     66056724149
18848516757125   EVER              ESTRADA                  DC     90000835167
18852154961958   RICHARD           HOSEA                    CA     46031141549
18852569861938   CINDY             GARCIA                   CA     90005795698
18852639581639   SOLIMAR           ENRIQUEZ                 MO     90013216395
18853185791523   ANABEL            GOMEZ                    TX     90009621857
18853712591578   ELSA              GOMEZ                    TX     90013317125
18858477551398   HELEN             NELSON                   OH     90009034775
18858978591523   IRIS              APARICIO                 TX     75086969785
18862256151355   MIKE              ERTEL                    OH     66025852561
18862911751337   KELLY             TOLIVER                  OH     66031499117
18865287851337   DEZERAY           BUTTS                    OH     90011372878
18866335757147   KAREN             REYES                    VA     90005583357
18866534455976   OLIVIA            MARQUEZ                  CA     90014685344
18867396751337   MEGAN             RIES                     OH     66017773967
18868768331687   NEAL              MEKANNA                  KS     22093177683
18868878155976   MELISSA           PUGA                     CA     49005278781
18872863991523   MELISSA           LUJAN                    TX     90010158639
18873596561938   JESSICA           FELARCA                  CA     90012905965
18874774851355   BRANDY            METCALFE                 OH     90009157748
18877242951355   JULIA             WYATT                    OH     90010632429
18877542985823   GAIL              WIEDMAN                  CA     90000245429
18878342955976   PRENTICE          THOMAS                   CA     90015143429
18878364191569   IRMA              SORIANO                  TX     90014963641
18879745281639   KEVIN             MEMBRENO                 MO     90010217452
18882519751355   JOSEPH            LACINAK                  OH     90015145197
18882916691569   CELSO             BARRON                   TX     90009459166
18885461154173   JULIE             FULLMER                  OR     90013264611
18886938761958   JENNY             PONCE                    CA     90009479387
18887224691523   PABLO             OSANTE                   TX     90005322246
18889336361994   JULIO CEASAR      ROMERO ROBLES            CA     90011643363
18891814961938   CRISTINA          VERGARA                  CA     90013758149
18891832971932   FRANCES           BAPTISTE                 CO     32013658329
18892242551337   AMANDA            WEBER                    OH     90011132425
18892485251355   TIFFANY           SCOTT                    OH     90014584852
18893699491895   JANETTA           GROFF                    OK     21092986994
18894838255976   TODD              GOODMON                  CA     90007438382
18895759351337   KRISTINA          SINGLETON                OH     66094327593
18895979661938   CHANCE            ICAZEN                   CA     90013169796
18896672655976   ELVIS             FRAUSTO                  CA     49093166726
18896924357147   JAIRO             BONILLA                  VA     90006349243
18896995497126   AMPARO            GARCIA                   OR     90014889954
18897694991895   CAROL             MEADOWS                  OK     90007406949
18898668885966   CORY              SHORT                    KY     90012846688
18899857481639   ROSHANE           GRAVELY                  MO     90014868574
18911375455976   LYNNE             BAIRD                    CA     49045033754
18911791191569   MARTIN            LOPEZ                    TX     75062347911
18912171985966   ANGILA            WALKER                   KY     90014391719
18913618961958   MARTHA            ACOSTA                   CA     46065186189
18914299357147   JOHN              NEWMAN                   VA     90013352993
18914388191523   VALERIE           PEREZ                    TX     75079943881
18915456481652   JAMES             KING                     MO     29003544564
18917485391569   SUSANA Y ANDRES   AREVALO                  TX     90010854853
18918459291895   ALEXANDER         JOHNSON                  OK     21038644592
18918674691569   JORGE             REYES                    TX     90009336746
18918984957147   ALBERTO           TAPIA                    VA     81008909849
18918987851359   HENRY             LANCASTER                OH     66010169878
18919992791569   JOSE              GARCIA                   TX     90012159927
18921466391569   FELIPE            DE LOS RIOS              TX     90012024663
18921868993723   SAMUEL            JONES                    OH     90008758689
18921982861958   MARIO             SANCHEZ                  CA     90015139828
18922268161958   RENEE             SARDINA                  CA     46051032681
18923687391569   EMMANUEL          CASTANEDA                TX     90010396873
18924929857147   ELAINE            ARDIS                    VA     81053059298
18925453261938   KING              KARLA                    CA     90008904532
18925574757147   OSCAR             MORALES                  VA     90013355747
18926385655976   CELIA             OROSCO                   CA     90013263856
18927356555976   ALBERTO           RAMIREZ                  CA     90015143565
18928747261985   CHARLES           BRAUEL                   CA     90009867472
18929763951343   RONALD            BAUER                    OH     90004337639
18931349661958   EDWARD            PAURAZAS                 CA     90012033496
18932356991573   YVONNE            PAZ                      TX     90002533569
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18934159785966   BRANDY        BARRETT                      KY     90014081597
18936797481639   D'ANDREA      FRAZIER                      MO     90012877974
18936842161976   SERGIO        COLON VARGAS                 CA     90014038421
18937157785966   JANICE        MONTES                       KY     90014251577
18938411291569   VICTOR        IDALGO                       TX     90004904112
18939965291569   NATHAN        MAY                          TX     90011859652
18939997851355   TAMAICA       LEE                          OH     90014609978
18946662991569   MARIXSA       CORRAL                       TX     75046086629
18947554281639   BARBRA        EDWARDS                      MO     90015235542
18948471531687   CJ            BROWN                        KS     90007184715
18951976891523   RICARDO       SALAZAR                      TX     90009929768
18952161891523   ROBERT        VALLADAREZ                   TX     90010831618
18952172191569   DEBBIE        SORIANO                      TX     90014451721
18953353351355   FELIZ         CUEVAS                       OH     90013473533
18953576155976   JESUS         GONZALES                     CA     49008485761
18954243251359   ERICA         STEINBECK                    OH     90009742432
18954271885966   J SHANE       KAYS                         KY     90012872718
18955556547895   NATHANIEL     JORDAN                       GA     90013455565
18955746391569   GEORGINA      ROSE                         TX     75046087463
18957175191569   DANIELA       GARCIA                       TX     75085731751
18957711977577   LINDSEY       MEDINA                       NV     90009367119
18958325885966   AMANDA        COTT                         KY     90013653258
18962145185966   TAMMY         COLE                         KY     90011051451
18963158685966   DEAN          HALE                         KY     90014711586
18963169791569   EDWARD        ORTEGA                       TX     75086011697
18963675957147   UDELIA        GARCIA                       VA     90008986759
18966964557147   MARIA         ORDONEZ                      VA     90013369645
18968596191569   ROSEMARY      MONTELONGO                   TX     90014525961
18969459481639   REBECCA       SUMMERFORD                   MO     90013154594
18971786257147   ELVIS         AYALA                        VA     90000587862
18972315761958   MARIO         PINO                         CA     90015243157
18972854491569   MARIBEL       MARTINEZ                     TX     75091158544
18975441761958   ROBERT        BRIGHT                       CA     90010824417
18975568277375   CHAD          SAVOURE                      IL     90005675682
18976284361958   VICTORINO     SOMERA                       CA     46089662843
18976561891523   OSVALDO       AGUILAR                      TX     90014885618
18977615151337   MICHAEL       ROSE                         OH     90011756151
18978939391523   LARA          ROSARIO                      NM     90015609393
18979327551337   BECKY         WILLIAMS                     OH     66003403275
18981265985966   LILLIAN       LAWSON                       KY     67051292659
18981711855976   SAMUEL        SALAZAR                      CA     90013037118
18982983555976   FOR           VANG                         CA     90004619835
18984372691569   IAN           MARTIN                       TX     90013253726
18984567461958   PARROTT       FREDDI                       CA     90010025674
18985831951355   RON           HATFIELD                     OH     90004398319
18986539161958   DARRIAN       FERGUSON                     CA     46081305391
18986911761938   ARACELI       TABLAS                       CA     90010639117
18987392155976   TIA           YANG                         CA     49090823921
18987734761938   NELLY         CAZAREZ                      CA     90014697347
18987773951355   SUSAN         WHARTON                      OH     66006597739
18988842361938   ALICIA        MARTINEZ                     CA     90007568423
18991375455976   ALEJANDRA     FERNANDEZ                    CA     90014923754
18993178891523   VERONICA      ECKENROTH                    TX     75097571788
18994569541255   STEVE         KRUGLE                       PA     51075955695
18995323161976   EVA           VASQUEZZ                     CA     90006713231
18996131557147   TONY          WILLIAMS                     VA     90010541315
18996215561938   MARGARITA     APRESA                       CA     46086892155
18997458255976   RENE          REYES                        CA     49078644582
18998349551337   JASON         SCHUMM                       OH     90004043495
18999252455963   SERGIO        PLASCENCIA                   CA     90014032524
19111277885966   BRIDGET       POPPLEWELL                   KY     90013492778
19112277885966   BRIDGET       POPPLEWELL                   KY     90013492778
19112933191569   ERIKA         DE LEON                      TX     90014789331
19113181361938   JOHN          OLOYA                        CA     90002491813
19113641591263   PETRA         FOXWORTH                     GA     90015096415
19113983291346   FATOU         DIOUF                        KS     29083709832
19114434161963   CHRISTINA     BILLINGS                     CA     90009814341
19114477751359   LISA          BECK                         OH     90001294777
19119322261938   MICHELLE      MARQUEZ                      CA     90011393222
19119896251359   WESLEY        MILBURN                      OH     66003908962
19122389391263   PAYGO         IVR ACTIVATION               GA     90012633893
19122463791569   SERPIL        KURNAZ                       TX     75037454637
19122896357147   MARGARITA     AREVALO                      VA     90004488963
19124128461963   RAUL          QUINTANA                     CA     46095221284
19126586957147   ANGEL         GOMEZ                        VA     90014625869
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19127234391569   LORENA           MARTINEZ                  TX     75013842343
19128645557147   MARIE            ABEL                      VA     90009566455
19129717161963   NANCY            TUCKER                    CA     90014017171
19131195391979   MALEA            ANDREWS                   NC     90000601953
19131216993745   KATHY            COON                      OH     90010492169
19132882357147   OSCAR            PAZ                       VA     90012208823
19134421291263   DEANNA           ALSTON                    GA     90014524212
19135732791263   ERNEST           JONES                     GA     90013917327
19136725557147   KARA             BRATHWAITE                VA     90015027255
19136835961963   MARILYN          BENFORD                   CA     46090568359
19137837185966   MARIO            GREGORI                   KY     90010998371
19138114891569   ANDREA PAULINA   MACIAS                    TX     90006371148
19139372291263   KAYLA            HENRY                     GA     90002903722
19141643985853   GLORIA           WALTERS                   CA     90008176439
19141675391569   MONICA           SANCHEZ                   NM     90011356753
19143747751355   JAIME            CONTRERAS                 OH     90002047477
19144313261963   DANIEL           MORENO                    CA     46098393132
19145232591569   RUTH             CUMMINGS                  TX     90008932325
19147449561958   FRANCISCO        PINA                      CA     90010094495
19151831951359   JESSICA          WAHOFF                    OH     90013288319
19154763661938   GERARDO          MALDONADO                 CA     90010027636
19154919455947   MARCO            VILLARREAL                CA     90012439194
19154923385966   CHRISTY          SPARKS                    KY     90008579233
19156615157147   SERGIO           NANDO                     VA     90013926151
19157622291263   JOSUE            COBOS                     GA     90014856222
19157627857147   FANY             MARTINEZ                  VA     90007226278
19159867191569   ROBERTO          INTRIAGO                  TX     90005598671
19161111961963   BONNEY           GOTT                      CA     90011181119
19162288951359   RENEE            HAMBLIN                   OH     66013852889
19162376491569   RUBEN            RAMIREZ                   TX     75092753764
19162952657147   MIRNA            HERNANDEZ                 VA     90009029526
19163228861963   ANA MARIA        HICKS                     CA     90013782288
19164496561958   JOHANNA          HERNANDEZ                 CA     90010094965
19168733291569   ALESIA           GRISWOLD                  TX     75015147332
19169525161938   MICHAEL          BIELICKI                  CA     90012085251
19171488191569   MAGDALENA        MEJIA                     TX     90007384881
19173642457557   LISA             NUNEZ                     NM     90001766424
19174492661963   RHONDA           RHONNE                    CA     90014644926
19175231961924   CARLOS           CERVANTES                 CA     90014492319
19175283361963   JOHN             DOMINGUEZ                 CA     90012762833
19175394551337   LARONDA          THOMAS                    OH     90007183945
19176855442597   JEFFREY          MINDT                     WA     90015508554
19176955993745   PANNER           GATES                     OH     90010529559
19177239661938   ALEX             FIGUEROA                  CA     90004942396
19178311457147   DEMETRIUS        MALLISHAM                 VA     90014243114
19179129691885   TABATHA          WHITLEY                   OK     90002371296
19179249685966   RICKY            STAMPER                   KY     90014692496
19179664551355   RONDA            FARMER                    OH     90013736645
19181648493745   FELICIA          SULLIVAN                  OH     64568196484
19182564691263   JASMINE          HAYES                     GA     90015505646
19182953991569   MANNY            AMADOR                    TX     90004879539
19182996661958   ANGELICA         GONZALEZ                  CA     46046149966
19183198693745   COY              HUGHES                    OH     90003261986
19184246547956   JENNIFER         LAWS                      AR     24053252465
19184324433634   BRIAN            MARINO                    NC     90012073244
19185296561963   JENNIFER         SUMMEY                    CA     90001482965
19186667257147   MARIA            REYES                     VA     90008916672
19187125557147   JONATHAN         DIXON                     VA     90013931255
19187168491263   LUCHER           JOHNSON                   GA     90009381684
19192329491569   MOSES            VIRGEN                    TX     90003163294
19192541991263   JENNIFER         MORAN                     GA     90013975419
19192756791886   AMANDA           LONG                      OK     90013867567
19197558757147   TESHOME          LACHEBO                   DC     90012945587
19199647131444   KELLY            BAKER                     MO     90010696471
19211228684329   LEROY            GODFREY                   SC     90012382286
19213216457147   CHRISTINE        PANNELL                   VA     81098572164
19214347191569   MARIA            VELAZQUEZ                 TX     90010013471
19217876631687   HASHAWN          LOUDERMILK                KS     90001888766
19219681461938   FERNANDO         OCHOA                     CA     90010526814
19219985485966   KENNETH          HAPPY                     KY     90014119854
19222921585966   MONTANNA         KELLEY                    KY     90014139215
19224138491895   WALTER           JONES                     OK     90013901384
19224936891884   MICHAEL          MORGAN                    OK     90008649368
19225712425396   BRITTNY          GARBELMAN                 WA     90012517124
19226125893745   ERIC             CLAY                      OH     90010011258
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19226815191263   KEITH         CHENEY                       GA     90003548151
19226979961938   LASHUNDRA     SCOTT                        CA     46052359799
19227435491263   LUIS          REYES                        GA     90013964354
19228468991263   TRONDA        CAMPBELL                     GA     90013164689
19228581891569   MARIA         RASCON                       TX     90007695818
19229296293745   JANIE         LAUB                         OH     90013152962
19231372261958   ARTURO        LEON                         CA     46072213722
19232875557147   JOEL          GOMEZ                        VA     90012968755
19233654861963   SHANTELLE     VANDENRIES                   CA     90014646548
19233723457147   BLANCA        HERNANDEZ                    VA     90012737234
19233736185836   MARIA         PEREZ                        CA     90008827361
19237242651355   VICKIE        NUGENT                       OH     66076702426
19237739791263   ANTONIO       ROBBINS                      GA     90005697397
19238717551359   PRECIOUS      PRUITT                       OH     66057157175
19243996957147   ERNESTO       HERNANDEZ                    VA     90011989969
19244113757147   MARIA         ORELLANA                     VA     90012741137
19245293551337   CHRIS         HAMEL                        OH     90010762935
19245447133699   VIRGINIA      DIGGS                        NC     12071894471
19246721957147   RONALD        POLO                         VA     90014167219
19247738691263   LARHONDA      MORONTA                      GA     90013407386
19248235193745   BRITTANY      KENDALL                      OH     90014642351
19249765461963   PATRICIA      FLORES                       CA     46083717654
19251191147956   ERLIN         DODD                         AR     90011251911
19252486761938   BETTY         STEWART                      CA     90015334867
19252983433699   JUDITH        HERNANDEZ                    NC     12080799834
19253447861963   JEREMY        RIGDON                       CA     90013234478
19253481761963   HELEN         DAKHA                        CA     90011274817
19253726951355   LINDA         KIDD                         OH     66096647269
19254487171955   NOEMI         VICTORINO                    CO     90014824871
19254631561963   MARCO         SALGADO                      CA     90002666315
19255776757147   ROBERTO       MATOS                        VA     90011647767
19256264761963   PERLA         RIVERA                       CA     90009602647
19258514661963   JOEL          ISSAC                        CA     90013245146
19262375693745   ASHLEE        TUCKER                       OH     90011233756
19262733661938   LASHUNDA      KING                         CA     46084747336
19262761757147   JOSE          COLINDRES                    VA     90013527617
19262818141249   BRANDI        RUKOVENA                     PA     90012628181
19265339757147   TORI          GREEN                        DC     90013973397
19265441257147   TORI          GREEN                        DC     90011214412
19265448357147   TORI          GREEN                        DC     90011994483
19266167185966   DOMINIQUE     WHITTLE                      KY     90014751671
19266432631687   NANCY         MARTINEZ                     KS     90009884326
19266484693745   LINDSEY       DIETRICH                     OH     90014654846
19266864281466   MATT          BURKETT                      PA     90014128642
19267462461963   BONNIE        THARSHER                     CA     46095024624
19267595991895   RUBENN        GONZALES                     OK     90006865959
19267611191263   DAVID         HERNANDEZ                    GA     90015446111
19268484693745   LINDSEY       DIETRICH                     OH     90014654846
19272924693727   BEAUTIFUL     STAR                         OH     90008839246
19273785891569   CYNTHIA       CRUZ                         TX     75004017858
19275224591569   CRYSTAL       BURCIAGA                     TX     90008122245
19275612691569   SHANTELL      EDGERTON                     TX     75093766126
19275683351337   JAMES         CARTER                       OH     90011856833
19277665447956   KASSINDRA     SMITH                        AR     24087246654
19277951151355   PHILLIP       HANCOCK                      OH     90006109511
19278135591549   MARISOL       ARMENDARIZ                   TX     90010961355
19279681961963   SHAAKISHA     JUDKINS                      CA     90011016819
19279723485966   MICHEAL       CONN                         KY     90014857234
19279746257147   ENRIQUE       CARDONA                      VA     81084727462
19281837191569   JAVIER        ROMERO                       TX     90010498371
19284178651337   PEGGY         CARROLL                      OH     66060041786
19285213784344   MANDY         BRADHAM                      SC     90013692137
19286512451355   NATHANIEL     RIESELMAN                    KY     90013055124
19287935261958   JOSEPH        KEY                          CA     46010329352
19288376893745   JONATHAN      SWOB                         OH     90005123768
19288513291578   ORQUIDIA      MARTOS                       TX     90014695132
19288642761938   JUSTIN        FIGURON                      CA     90013106427
19291615731459   WILLIAM       DIEPENBROCK                  MO     27588656157
19292195861963   OLIVIA        GONZALEZ                     CA     46086581958
19292875591844   JUDY          MCCOY                        OK     90001668755
19293219257147   NELSON        VELIZ                        VA     90014842192
19299232861958   SARA          GARCIA                       CA     46039902328
19311161491263   ISAAC         GRIFFIN                      GA     14597521614
19311298161963   JESUS         VIZCAINO                     CA     46039902981
19311966741249   EMANUEL       PLATIKA                      PA     90008619667
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19314738861963   MUDHAFFER     MUGHIR                       CA     46032677388
19322239757147   SHEHIN        ESKANDARY ZADEH              VA     90013182397
19323679955947   VIVIANA       VALDIVIA                     CA     90008586799
19323984247956   JAMES         MOTON 3RD                    AR     24036579842
19326329861938   AHIDA         BAZQUEZ                      CA     90014373298
19326581291583   SAUL          GARCIA                       TX     75091265812
19327377691569   BELL          JAQUEZ                       TX     90012373776
19328247193745   MARIA         BILLA                        OH     90012072471
19329147157147   JAMES         NEGRONI                      VA     90012761471
19331274791263   BRIAN         PAGANO                       GA     90013272747
19331771557199   GRISEYDA      MARTINEZ                     VA     90010357715
19333389291895   LATERICE      BURLLEY                      OK     90001663892
19333859563654   SARAH         THEOBALD                     MO     90007668595
19333954491838   MARTINEZ      ZULEYMA                      OK     90010129544
19334268691895   ROBERT        WILLIAMS II                  OK     21005012686
19334273784344   MELISSA       WILSON                       SC     90013472737
19334329851337   JUNIOR        PASTORIZA                    OH     90014623298
19334572273228   RICHARD       APPLEGATE                    NJ     90015355722
19334977961963   BORATH        NOP                          CA     90014669779
19336483991569   MARISOL       RIBOTA                       TX     75018654839
19338225357147   KENDALL R     STUIT                        VA     90014922253
19341216151337   CARMENCITA    GERONIMO                     OH     90014172161
19342315651355   COY           MANNING                      OH     66007733156
19344145661963   ATHENA        MARIE                        CA     90014881456
19345886651337   BREANNA       BETTS                        OH     90014288866
19351775151355   CHASTIA       HINES                        OH     90006997751
19355349521654   LUIS          PEDRO                        OH     90014353495
19356356693745   DOYLE         FLORY                        OH     90012583566
19356727361963   MICKI         JACOBS                       CA     46088577273
19357989893754   SHELBY        BASIL                        OH     90012779898
19358686691569   CESAR         MARTINEZ                     TX     90011356866
19358918751359   KYLE          CLINGER                      OH     66062739187
19362129551355   DEAN          OSGOOD                       OH     90002631295
19362395691263   ARKEEM        MITCHELL                     GA     90010883956
19364268257147   ISAIAS        MEDINA                       VA     90013932682
19365662355948   CLEMENTE      MOTO                         CA     90012116623
19366299357147   MARVIN        MENJIVAR                     VA     90004682993
19366336351359   DAVID         MARK                         OH     90012473363
19368133555948   LUIS          DUARTE                       CA     90012181335
19371221157147   DELMI         GONZALEZ                     VA     90007242211
19372413761938   KENNETH       GREATHOUSE                   CA     90001974137
19374613151355   NICOLE        HENDERSON                    OH     66019996131
19374792691263   CHARISE       PERRY                        GA     90015237926
19375493851355   ERIC          DUSKIN                       OH     90007324938
19375813557147   NOHAWIT       BERMANE                      VA     90007948135
19376415457147   ULISSES       ALBERTO                      VA     90003604154
19377539661963   TERRANCE      RIVORD                       CA     46040505396
19377651461938   MARTINEK      WHITE                        CA     90010936514
19378144351359   SIYR          HAYGOOD                      OH     90012331443
19378449151337   SYMPHONY      WATTS                        OH     90006964491
19378596991263   JANICE        JELLY                        GA     90015455969
19379253931687   JEREMY        RUNYAN                       KS     22094652539
19379379861938   MARGARET      BROWN                        CA     46042023798
19379759161958   BERNADETE     BACAA                        CA     46066947591
19382182151355   PETE          STEINMETZ                    OH     90004291821
19383868793745   BONNIE        ASHER                        OH     90011758687
19384771991263   MELANIE       PARTAIN                      GA     14507167719
19385384493745   JAMI          BROWN                        OH     64556253844
19385839491263   ROBERT        OLLIFF                       GA     90009438394
19387864691569   MARCO         GUZMAN                       TX     75043288646
19387966457147   COSNTANCE     GILLETTE                     VA     90014179664
19389567393727   ANGELA        MILLER                       OH     90001265673
19391546151337   NOYLAN        DAVIS                        KY     66001065461
19391877191569   MARIA         MACIAS                       TX     90005878771
19391878933699   DAMON         BENNETT                      NC     12097998789
19392421293745   ORONDE        CLARK                        OH     90009374212
19392427857562   JUSTUS        CHEPSONGOL                   NM     90013344278
19392535791895   PAUL          DOWNING                      OK     21004715357
19392912791569   ALEX          GUILLEN                      TX     90014039127
19393367691263   SHARON        PHIFER                       GA     14502913676
19395345431687   LAQUISHA      JONES                        KS     90011023454
19396124391569   JOSHUA        GANDARA                      TX     90012541243
19396253891895   JAMES         MICHAEL                      OK     21056842538
19397744161938   MARIA         MIJANGOS                     CA     46024537441
19411157331687   GARY          MOORE                        KS     90004211573
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19411413993745   MARA            LAMBERT                    OH     90014834139
19411783291263   DIANE           DRAYTON                    GA     90012917832
19411934991569   YEDITH          CORTEZ                     TX     90014179349
19412175751337   HOMBERTO        CHACHA                     OH     90014021757
19413413993745   MARA            LAMBERT                    OH     90014834139
19415225547956   LISA            DRAXLER                    AR     24038582255
19415443833699   AMANDA          CLADNEY                    NC     12010324438
19416361793745   SIMON           DIXON                      OH     90004233617
19416421751359   ERIC            ALSTON                     OH     66077864217
19418138663622   SHANNON         BOWEN                      MO     90014181386
19418422191569   JANETH          RUIZ                       TX     75091264221
19418464157147   MARK            SHEETS                     VA     90012814641
19418513461938   ADEMAR          LOPEZ                      CA     90004415134
19419149661938   MONIQUE         PANGALIMAN                 CA     90012871496
19419316247956   PAYGO           IVR ACTIVATION             AR     90004243162
19419829751337   JORDAN          JOINER                     OH     66088158297
19421912951337   MARK            KUYKENDOLL                 OH     66016739129
19422683857147   LATIA           THOMAS                     DC     90014376838
19422747291263   NICOLETTE       ROBERTS                    GA     90008637472
19425215461963   EHH-OH          DESIGN                     CA     90014162154
19425269861979   FANON           PATTERSON                  CA     90002412698
19428738151337   BRENDA          CARROLL                    OH     90011927381
19432155791549   STEVEN          MARTINEZ                   TX     90009851557
19432716191322   JOEL            DIAZ                       KS     90011727161
19432784191569   ESTHER          ROMERO                     TX     75082487841
19435835351337   SARAH           CATRON                     OH     90009748353
19436995651359   KANDACE         COLE                       OH     66093159956
19438993231494   ALFRED          CATCHING                   MO     90006509932
19439152451355   CECIL           BOYKINS                    OH     90013701524
19441836933699   RAVYN           LONG                       NC     90007258369
19443129791569   ARACELI         REY                        TX     90007491297
19443989461938   CAROLINA        MORENO                     CA     90009999894
19444615631687   CAMILLE         RECIO                      KS     90013656156
19445498251337   JEFFERY         CLARK                      OH     90012764982
19446568161958   STEPHANIE       ALLRED                     CA     90003995681
19447158985966   BRANDIE         ROBAR                      KY     90011201589
19449938491263   LILLIAN         FISHBACK                   GA     90014289384
19451153291569   JEROME          PEARSON                    TX     90012541532
19452127561938   MARIA ELENA     GALVAN                     CA     90013411275
19453198531687   NICOLE          COMPTON                    KS     90014041985
19454359457147   AGENOR          MENDEZ                     VA     90013383594
19455454151337   ANABEL          PACHECO                    OH     66026544541
19456511191569   KARLA           RIOS                       TX     90002075111
19456637951359   JESSE           PLESSINGER                 OH     90007506379
19457783291263   DIANE           DRAYTON                    GA     90012917832
19457784757147   HUMBERTO        GOMEZ                      VA     90011147847
19461241661963   DARRYL          SCOTT                      CA     90012002416
19461243461938   CARMEN          VELAZQUEZ                  CA     90009482434
19461782561963   DARRYL          SCOTT                      CA     90013457825
19463157251337   MESFIN          KORME                      OH     90006011572
19463623451355   MANUEL          MARTINEZ                   OH     90013906234
19464467557147   KEVIN ANTONIO   ABARCA                     VA     90010184675
19465129931687   SANDY           STROUD                     KS     22016511299
19465891361963   MARCO           NUNEZ                      CA     90014108913
19469835161938   SAUL            SANCHEZ                    CA     90012838351
19471279491895   MICHAEL         BAER                       OK     21096882794
19471936231687   WILLIAM         CALLISON                   KS     22097509362
19472186857147   SIPHOSISO       MLAMBO                     VA     90010371868
19473646361958   MORALES         PETER                      CA     46034646463
19474527893745   SHAWN           WRIGHT                     OH     64507365278
19474815231687   TYLER           SIMLER                     KS     90013838152
19475112991263   ASHLEY          MILLER                     GA     90008281129
19475116891569   RICARDO         BECERRA                    TX     75080751168
19476379247846   BETTY           CLARK                      GA     90003593792
19484151341265   MIKE            WARD                       PA     90011741513
19485634451355   RONALD          HOLT                       OH     90010656344
19486233751359   PEYTON          WEEMS                      OH     90013802337
19488639957147   HENRRY          PANIAGUA                   VA     90012886399
19493223351359   SHARMELA        BARR                       OH     66006762233
19493512451355   NATHANIEL       RIESELMAN                  KY     90013055124
19493988261963   LUIS            GASTELUM                   CA     90005729882
19495857491263   KEITH           WHITE                      SC     90009168574
19495884791263   CINDY           PINCKNEY                   GA     90008118847
19496177291895   BRENDA          RAMIREZ                    OK     21011791772
19498285691263   SUNNIE          STAHL                      GA     14574402856
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19511535361938   ANTHONY        STEELE                      CA     90014665353
19513394577535   JARED          WHITMORE                    NV     90001653945
19513636261958   STEVE          HAWKS                       CA     46075796362
19516993393745   NICOLE         HOOVER                      OH     90011809933
19521279793745   TODD           FRANCIS                     OH     90003242797
19521952951359   STEPHANIE      FARTHING                    OH     90013919529
19522794793745   JASON          LEWIS                       OH     90001417947
19523788451355   JACKIE         KANE                        OH     90012787884
19524937191569   ESMERALDA      RODRIGUEZ                   NM     75086719371
19525741557147   IMAN           HASSANI                     VA     90010167415
19527138261963   BRETT          KOOPMAN                     CA     90013011382
19527189451359   JASMINE        GRAFINREED                  OH     90014581894
19528518351359   ANTOINETTE     ENGLE                       OH     66024855183
19529374347956   LYNETA         DEAN                        AR     24067013743
19531228691927   KENISHAA       MOODY                       NC     17016942286
19531968157147   CATALINA       PADILLA-ROMERO              VA     81055269681
19532278391569   ARCELIA        HERNANDEZ                   TX     90013822783
19533255591263   LAPORSHA       MUMFORD                     GA     90014712555
19533425891578   ANGEL          CHAIRES                     TX     90011604258
19533436661958   ANA            TELLEZ                      CA     90006944366
19534586261986   MICHEL         SEECHRIST                   CA     90010775862
19534933247956   JUANA          RAYA                        AR     24058839332
19537574993745   KATHRYN        ARNOLD                      OH     90011825749
19539252361958   CYNTHIA        BETANCOURT                  CA     46041402523
19539484493745   PAMELA         COPPOCK                     OH     64516794844
19541269451355   OUSMAN         HASSAN                      OH     66009582694
19541551391895   APRIL          ROBISON                     OK     21052565513
19541827351337   DION           HARMON                      OH     90011748273
19542613891569   RAMONA         ADAME                       TX     75015616138
19543144393767   NOREEN         SHROPSHIRE                  OH     90012401443
19543983751337   VALERIE        BRUNNER                     OH     90005659837
19544417651359   THADDEUS       LAINHART                    OH     90010264176
19546693761938   LETICIA        TRUJILLO                    CA     90003026937
19547256151355   SUMMER         HOWLETT                     OH     90013192561
19547269257147   AUGUSTINA      AMPEH                       VA     90003562692
19547798891569   RAQUEL         ZUNIGA                      TX     90000387988
19548572655935   LUIS           TORRES                      CA     49012865726
19552929591263   WINDY          LAWTON                      GA     90013719295
19553939593745   CHARLES        WILLIS                      OH     64582029395
19554542631687   TERRY          HENDRIX                     KS     90012405426
19554654391569   AMANDA         DE LA CRUZ                  TX     90014156543
19554861291263   DESTANIE       RILEY                       GA     90010118612
19556772151355   DEMETRIUS      WILCOX                      OH     90007617721
19557259691569   ARTURO         PUENTE                      TX     75079822596
19558889557147   VERONICA       TORREZ                      VA     90010798895
19559272191895   CHERYL         CHERRY                      OK     21085132721
19561824631687   DALE           KECK                        KS     22056798246
19562551761963   ENRIQUE        MENDOZA                     CA     90014415517
19562955131687   LORI           PEREZ                       KS     90013599551
19564347993768   BEN            EASY                        OH     90007933479
19565798793745   CHANDA         FUSTON                      OH     64570337987
19568171151359   CHRIS          SCIPPIO                     OH     90011901711
19568272661963   DAMIEN         FORTE                       CA     90014742726
19572627951337   BRYAN          JARBEAU                     OH     90012326279
19573364731687   BLANCA         SAUCEDO                     KS     90015113647
19573492761938   MARTIN         GODINEZ                     CA     46051824927
19573963961958   MARTIN         VILLEGAS                    CA     90010349639
19574884791569   JAIME          ESPINO                      TX     90008538847
19576651633699   JUMART         KELUBIA                     NC     12011456516
19579733831687   VALERIE        HAMILTON                    KS     22084757338
19582542363654   EMILY          SHIVLEY                     MO     90011895423
19582581793745   GAYLE          JONES                       OH     90006215817
19583818391569   MICHELLE       REYES                       TX     90010898183
19584265461963   JUSTIN         CORNWELL                    CA     90014672654
19585584757147   RUTILIO        ANGEL                       VA     81060825847
19586648831687   JOHN           WERTH                       KS     90015366488
19586769191569   ELEAZAR        JABALERA                    NM     75014957691
19587596591547   ALFREDO        SONORA                      TX     90008995965
19587973291852   JIMMIE         WALLER                      OK     21009039732
19591393451359   TRACY          FUGATE                      KY     90009883934
19591395251357   STEVE          LIGHTNER                    OH     66038323952
19591577291569   ISELA          MUNOZ                       TX     75066335772
19592236161938   ROSA           DIOSDADO                    CA     90010152361
19593418161963   JOHN           BATTAGLIA                   CA     90015264181
19593499961938   JUAN GABRIEL   ACEVEDO                     CA     90013244999
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19596252251337   JASMINE           PEREZ                    OH     90013742522
19596394693745   STEVE             SHELLABARGER             OH     64590043946
19596875861963   JOSUE             GOROILLO                 CA     46042048758
19597539891569   ARACELI           MIRANDA                  TX     75021165398
19611559431687   BARBRA            SHUGART                  KS     22073245594
19613563461938   LEAH              JULIANO                  CA     90007965634
19614625151359   AMBER             HILL                     OH     90009856251
19614761161963   SONIA             LOPEZ                    CA     46025457611
19616197591569   PAULO ANTONIO     ALONSO                   TX     90014741975
19616345793745   KYLE              GRUNKEMEYER              OH     64515983457
19617327757147   HANH              CHAU                     VA     90014253277
19619792731687   LOGAN             KELLEY                   KS     90010897927
19621354333699   JENNIFER          NELSON                   NC     12019843543
19621417651355   THADDEUS          LAINHART                 OH     90010264176
19621934691569   VICTOR            SANDOVAL                 TX     90001019346
19623131461958   JOEL              RODRIGUEZ                CA     46004621314
19623578661963   YAHAIRA           FERNANDEZ                CA     90010545786
19624315647956   WILLIS            FISHER                   AR     24066823156
19624781251359   JOQUINA           BROOKS                   OH     66095967812
19625288961963   SEAN              AREVALO                  CA     90014672889
19625698261938   ALMA              ALTAMIRANO               CA     90009646982
19626281557147   DANIEL            ADAMI                    VA     90014922815
19626341293745   RHONDA            SMITH                    OH     64555153412
19627776461963   MELISSA           ALMARO                   CA     90012817764
19628596391569   MARIA             MONCAYO                  TX     75034005963
19633123261963   JAKE              BOROWSKI                 CA     90014901232
19636294351359   KEITH             CLEAVER                  OH     66009982943
19638737691569   GLORIA            CHAVEZ                   TX     75068617376
19641638661963   AURORA            DOMINGUEZ                CA     90013566386
19643214991569   PATRICIA          VIZCARRA                 TX     90012542149
19643333351355   ALEJANDRO         PONCE                    OH     90015133333
19648499851337   ARNITRA           CRAWLEY                  OH     66005994998
19648886451359   MICHELLE          GAINS                    OH     90006538864
19649548293745   TERESA            EMMONS                   OH     64527615482
19649876457147   TRINIDAD          CINTRON                  VA     90010168764
19649923451337   SHEILA            IRVIN                    OH     90014499234
19651526391573   TERESA            RAMIREZ                  TX     75028645263
19651743633647   PHYLLIS           KIRKPATRICK              NC     12009857436
19652817651337   NAHUN             ESAU                     OH     90014758176
19653932157147   PEDRO             CASTILLO                 VA     90014419321
19654371591569   LAURA             MCCORD                   TX     90013293715
19655545991263   ERIC              WASHINGTON               GA     90015025459
19656362161969   JODY              COOPER                   CA     90006243621
19656753861938   ANGELA            CLARK                    CA     90012317538
19658376551355   ALEXANDER         BARLAGE                  OH     90013203765
19658484361963   TERESA            ROCHA                    CA     90008644843
19661982691569   SONIA             RAMOS                    TX     75045249826
19663645857147   EMNET             AMENSHOWA                VA     90003186458
19665665385966   ELIZABETH         GULLETTE                 KY     90009216653
19666547491524   MARIA             GARDEA                   TX     90012455474
19666625461958   STEVEN            SCHOW                    CA     90010396254
19668568691855   LANCE             VEALES                   OK     90010215686
19669491551337   BRITTANCY         WISICUP                  OH     90014714915
19671736451359   NOEMI             PALOMARES                OH     66001447364
19672376751355   PAIGE             FULTON                   OH     66046113767
19674276561963   RACHEL            FRANCO                   CA     90014162765
19675858761963   JUAN              BRASCH                   CA     90013888587
19676568551337   SAMEKA            STAFFORD                 OH     90013825685
19677364351337   ITZAPLENWAY AVE   LORETO                   OH     90008373643
19678452871932   CLAUDIA           VALDEZ                   CO     90014684528
19681525961958   YADIRA            MAZON                    CA     46091845259
19681575651359   SHANICEA          BENTON                   OH     66001855756
19682737151355   JOHN              CANNON                   OH     66051787371
19683741261963   MEGAN             KETTMANN                 CA     90001997412
19683845655938   CHRISTINA         EMERY                    CA     90001508456
19684328161963   ALI               ALKHAFAJI                CA     90012233281
19685788957147   WILBER            PARIONA                  VA     90003187889
19688862757147   STACIE            HENDERSON                VA     81004248627
19689374347956   LYNETA            DEAN                     AR     24067013743
19691497193745   SANDRA            RENYOLDS                 OH     64525604971
19693735291263   TROY              AIKENS                   GA     90012847352
19695346831687   GEORGINA          BRADFORD                 KS     90011023468
19695439784344   MONIQUE           ROYAL                    SC     90005724397
19695485771976   JESSICA           NANCE                    CO     90008174857
19698917257147   JOSE ISAAC        HERRERA                  VA     90012909172
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19713644851359   JASON         YOUNG                        OH     66015706448
19713673861958   CHRISTINA     DUNNAM                       CA     90010396738
19714753351359   MIRANDA       HAMBLIN                      OH     90012387533
19716443691569   CYNTHIA       FABIAN                       TX     75096474436
19717136951355   TAMMY         MURRAY                       OH     90014831369
19718288461938   AMADA         AGUILAR                      CA     90014962884
19718599757147   JUAN          MEDRANO                      VA     90008875997
19719163751337   JAMES         GOINS                        OH     66026551637
19723511691569   RICHARD       BASS                         TX     90011895116
19725613891263   BRENDA        STEPHENS                     GA     90015106138
19725687261938   GABRIELA      MUNOZ                        CA     90007966872
19726727251355   BRITTNEY      HEHN                         OH     66074827272
19727217231687   VERONICA      MCGINNIS                     KS     22073302172
19729343791895   CHRISTY       HAMMACK                      OK     90003433437
19731842351359   DANIEL        BREEHNE                      OH     90004308423
19734576251337   JOHNNY        COREY                        OH     66086045762
19738136951355   TAMMY         MURRAY                       OH     90014831369
19741257991895   EDWARD        OSTERHOUDT                   OK     21026872579
19741359961993   LOURDES       LOZANO                       CA     90012483599
19743778991569   EDGAR         MARTINEZ                     TX     90015097789
19743821747956   BRENDA        MEGEHEE                      AR     24069028217
19744532861985   JAINA         VASQUEZ                      CA     46085395328
19744857757147   NAILA         NOREEN                       VA     90012918577
19747118591569   JASON         JAMES                        TX     90004041185
19747993591895   VANTISHA      GARY                         OK     90005969935
19748346261963   RICARDO       GARCIA                       CA     46018843462
19748518591964   LYNDALE       COLEY                        NC     90008605185
19749425161963   HENRY         MONTEJO                      CA     46098574251
19752281261938   JENNIFER      AMAYA                        CA     90012742812
19752318191569   BRENDA        GONZALEZ                     TX     75047093181
19755492451337   CHRISTOPHE    KEYES                        OH     66016604924
19762232957147   VICTOR        GUZMAN                       VA     90014892329
19762765551355   PASTOR        PEREZ                        OH     66097797655
19762824861938   JAMES JJ      JOHNSON                      CA     90014868248
19763678661938   YENINE        GARCIA                       CA     90012176786
19764892593725   TRACI         CLEVENGER                    OH     90000998925
19765895461938   WANSON        DILIEU                       CA     90001548954
19767868861963   DEIDRA        WHITE                        CA     90014678688
19771951491569   SARENA        MINJAREZ                     TX     90014039514
19773241791263   KATINA        KING                         GA     90014712417
19773695191895   ARTURO        VAZQUEZ                      OK     21056006951
19774495531687   RICHARD       WISE                         KS     22076244955
19778255857147   ALLAN         GUZMAN                       VA     90013472558
19778553391569   BLANCA        CAMACHO                      NM     90001795533
19778928451355   JUAN          BRITO                        OH     90013509284
19779219151355   HEATHER       ELLERBUSCH                   OH     66096582191
19781391291263   MICHAEL       MCILWAIN                     GA     90003593912
19782666551355   TIFFANY       MILLER                       OH     90010286665
19783678661938   YENINE        GARCIA                       CA     90012176786
19785598361963   ROBERT        GAYS                         CA     90010015983
19785762661963   AMANDA        GRAYS                        CA     90014037626
19787227551359   RUDOLPH       BROOKS                       OH     90014152275
19787757591569   ROSA          BENAVIDEZ                    TX     75067357575
19788731751337   ANTOINETTA    WILLIAMS                     OH     90015017317
19789281361958   JENNY         VARGAS                       CA     90005712813
19789285731687   ANGELA        WILKINS                      KS     22005562857
19789627261963   EBONY         HIGGINS                      CA     90014836272
19789738691263   LARHONDA      MORONTA                      GA     90013407386
19793661691263   SHAKEIDRA     GRAY                         GA     90010056616
19794298531687   BARBARA       STEIN                        KS     22022492985
19794592451359   JACK          POLLARD                      OH     90013425924
19796222151359   NATASHA       ASHER                        OH     90010242221
19797176657147   CARLOS        ALVARADO                     VA     90007911766
19797881591263   SHAKERA       ROLAND                       GA     90014858815
19798185591569   DAYNA         JUAREZ                       TX     75083831855
19799657251355   LINDA         WALKER                       OH     90011126572
19799839957147   GLORIA        WILLIAMS                     VA     90010718399
19812494891569   ANGIE         CONTRERAS                    TX     75047084948
19814883757147   RENE          CASTRO                       VA     81005218837
19814957751398   NIKI          REDMON                       OH     90008709577
19814997651355   KELLY         HEATON                       OH     90013519976
19816187851337   WANDA         WAGERS                       OH     90014021878
19823498893745   JESSE         KELLER                       OH     64545444988
19824811657147   JOSE          MOJICA                       VA     90005598116
19826296491895   A             WALKER                       OK     21001282964
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19826898891979   MARIA         DEL CID VAZQUEZ              NC     17041128988
19827693761963   PEDRO         LOPEZ                        CA     90011896937
19828692133699   KIMBERLY      BAKER                        NC     90009916921
19831123131494   ALEX          SHAW                         MO     90007651231
19831258557147   BRIAN         REYNOLDS                     VA     90013162585
19833649493745   BOBBI         PIERCE                       OH     64537386494
19835579761938   ESTEBAN       TRUJILLO                     CA     90012115797
19836684251337   TIFFANY       LYNN                         OH     66012406842
19838138591263   YICHAO        YANG                         GA     90014381385
19839197261958   ANABEL        AYALA                        CA     46041741972
19839463651337   HEATHER       DIEFENBACH                   OH     90010804636
19842129451355   JASMINE       MIDDLETON                    OH     90009631294
19842251661938   YOLANDA       ZALDIVAR                     CA     90014912516
19842356561938   YOLANDA       ZALDIVAR                     CA     90014083565
19842528433645   DAVID         VACA-SALAZAR                 NC     90010595284
19844246743553   ROSARIO       ARMENTA                      UT     90015522467
19844351791266   TARA          SANKS                        GA     90014713517
19846497451355   LAMONT        STEWARD                      OH     66091504974
19846647957147   JUAN          ROJAS                        VA     81005236479
19847516191263   TRAVIS        BARNELL                      GA     14592425161
19849221351359   EDITH         WILLIAMS                     OH     90013702213
19852719561938   ALMA          RUIZ                         CA     90008187195
19852961191263   JOSHUA        MITCHELL                     GA     90013189611
19859712357147   MARTHA        CASTELLANOS                  VA     90010207123
19859712991569   ISAIAS        RODRIGUEZ                    TX     75015567129
19862614977577   GERSAM        FERENAL                      NV     90011056149
19865895957147   SYED          MUZAFFAR                     VA     90012948959
19869882761963   PAMELA        KELLOUGH                     CA     90011118827
19871357361958   DANIEL        LEON                         CA     90004823573
19871836861963   KARLA         LOPERENA                     CA     90014688368
19872269691569   GABRIELA E    DIAZ AVILA                   TX     90010372696
19872287993745   AMY           FOGT                         OH     90008682879
19873726493745   JUSTIN        CROSBY                       OH     90003387264
19873733751359   RYAN          MCBERRY                      OH     90013237337
19873882761963   PAMELA        KELLOUGH                     CA     90011118827
19874421161963   RAYMON        BELDEN                       CA     90012194211
19874444991263   TIM           HARDEN                       GA     90014354449
19877712761938   RAMON         GONZALEZ                     CA     46085527127
19877937861958   MICHELLE      ALVAREZ                      CA     46084009378
19878113141295   JOSEPH        BARRY                        PA     90001651131
19878299451355   CASSANDRA     KEYS                         OH     90005562994
19878968691263   GUDELIA       VELAZQUEZ                    GA     90012929686
19879174464135   EDGAR         HERNANDEZ                    IA     90015461744
19881359351355   DANIELLE      DUMAS                        OH     66004763593
19881571957125   RAMAFULAI     BAH                          VA     81098415719
19882385991263   LADY          SAPP                         GA     90015383859
19883136951355   TAMMY         MURRAY                       OH     90014831369
19883773791549   CHRISTOPHER   HALL                         TX     90010977737
19884367557147   ERICK         ROMERO                       VA     90014183675
19885685951337   CHRISTINA     BLEVINS                      OH     90015106859
19889567851337   JOHN          SIMPSON                      OH     90013325678
19889631491569   SANDRA        AGUIRRE                      TX     90014826314
19891387191263   DEANNA        DOUGLAS                      GA     90013773871
19891795191569   GERARDO       MUNIZ                        TX     90000877951
19894764147956   MICHAEL       BECK                         AR     24091517641
19896212861963   MARIA         RAMIREZ                      CA     90012322128
19897713785942   RAUL          RICO                         KY     90012837137
19897838591895   TENESHA       SMITH                        OK     90003378385
19897983133699   SHANTIA       HOWELL                       NC     12013679831
19899637991569   RICARDO       PEREZ                        TX     75069956379
19911136991578   ALEJANDRA     FONSECA                      TX     90007661369
19913139157147   GUSTAVO       TORRES                       VA     81009361391
19913142551337   ROSA          URENA                        OH     90012181425
19913424357147   NIKOLE        IRAHETA                      VA     90010374243
19914251591263   DENISETRIST   DIXON                        GA     90005362515
19914986651359   PAMALA        ASHER                        OH     90004819866
19915831561972   AURELIANO     ESTRADA                      CA     90013968315
19917564851355   TAUSHA        HOLLAND                      OH     66019315648
19921162493745   MELINDA       HATKE                        OH     64543301624
19922524391569   LAURA         DELGADO                      TX     90010945243
19922836751337   BRIAN         MERCER                       OH     90012718367
19922978351337   BRIAN         MERCER                       OH     90013849783
19924249661963   MIREYA        MARTINEZ                     CA     90007662496
19927518691569   ARIAS         ROXANNE                      TX     90008395186
19928292793727   MARIO         WILKS                        OH     90007512927
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19929179261938   LORENA        RAMIREZ                      CA     90009851792
19931576891895   TIFFINI       WAGNER                       OK     90006975768
19933111761963   SALWAN        MALEKO                       CA     46075721117
19933839957147   GLORIA        WILLIAMS                     VA     90010718399
19934479351337   DANYELLE      JACKSON                      OH     66074214793
19936344361963   MARSHA        PERRON                       CA     90000433443
19936741785843   CECILIA       PALMER                       CA     90006167417
19937717361938   DANIEL        KARCHER                      CA     90009947173
19937982151337   NICOLE        AMREIN                       OH     90013929821
19938762491997   OSCAR         VAZQUEZ-TREJO                NC     90007517624
19942268451337   TIFFANY T     HEDGES                       OH     90013992684
19942673251359   CAROLYN       MONTGOMERY                   OH     90002156732
19942765151337   CYNTHIA       GARCIA                       OH     90014977651
19945267151337   THOMAS        MARINICH                     OH     66094062671
19945823447956   THURETTA      ARNOLD                       AR     90005988234
19948117631687   CARLA         SALAS                        KS     22087361176
19948639951337   JOE           HARRISON                     OH     90008166399
19949494631687   KELLY         CARSON                       KS     22084434946
19953326831687   LUIS          CARDIEL                      KS     90012363268
19954538561963   JOANNA        CASTRO                       CA     90003625385
19955421531687   JAMES         TURLEY                       KS     90014864215
19957323664135   MA REFUJIO    PEREZ                        IA     90014013236
19959291661963   JOVAN         MATHEW                       CA     46002162916
19962561851359   HERMIONE      MAPP                         OH     66048645618
19962656361963   APRIL         VARGAS                       CA     90009636563
19964338251337   INMAR         FLORES                       OH     90014433382
19969878161963   MARIA         HERNANDEZ-FLORES             CA     90014698781
19973156651359   JOE           SOUTHERLAND                  OH     90012151566
19976215151355   STANISLAW     KASMER                       OH     90011082151
19977495461963   OFELIA        MARTINEZ                     CA     90002074954
19977673151355   AMBER         GOSSER                       OH     90014276731
19977882151359   TENISE        BLACKWELL                    OH     66056678821
19978219331687   LAFAYETTE     STARR                        KS     90013912193
19979273391895   ARTISHA       UTTON                        OK     90010212733
19981254357147   RENAN         BASILIO                      VA     90014212543
19982191531687   PATRICK       GOLDEN                       KS     22086881915
19983471591569   NUBIA         CERINO                       TX     75043654715
19984154681452   LISA          KARR                         PA     90015441546
19985271631687   MAURA         ORELLANA                     KS     90013612716
19987943357147   PATRICIA      ABELL                        VA     90012969433
19989783331422   JON           HOWARD                       MO     90015497833
19991671591263   SHANELL       SHELLMAN                     GA     90011186715
19991759761938   SALUME        NAVARRETE                    CA     90013157597
19992364691549   NICOLE        CHAVEZ                       TX     90007513646
19994231891263   JESSICA       HAMILTON                     GA     90013302318
19998268251359   KARLA         FIELDS                       OH     90008792682
19999987593754   RANDOLPH      PRITCHARD                    OH     90014159875
21116117181637   SAMANTHA      RICHIE                       MO     90010701171
21116876461921   JAQUELINE     ZACHAY                       CA     90006368764
21116912141245   BRANDY        BOROWSKI                     PA     90011239121
21117121491984   JOSE          CHAVEZ                       NC     90009561214
21117684581661   ANA           LOPEZ                        MO     90013726845
21119935184364   HILTON        WOODS                        SC     90001189351
21121517231453   ANNELLA       CROSS                        MO     90014625172
21121777281638   MICHAEL       WELSH                        MO     90010057772
21121928184364   DEIRDRE       BRODIE                       SC     90015139281
21122375491828   MIRIAM        BAENA                        OK     90010123754
21124349393724   JESSICA       LINDSAY                      OH     90001713493
21124449797941   JOSEPH        LOCKETT                      TX     90015014497
21124983191583   MARLO         BUILDING                     TX     75063889831
21127378891984   MARIA         MUNOZ                        NC     90013803788
21128341331453   TAYLOR        WOOD                         MO     90014163413
21128388855957   MARY          MENDEZ                       CA     90001133888
21128687551343   JUAN          CALVARIO                     OH     90009156875
21128898291241   DONALD        GATES                        GA     90014868982
21129288291828   CHRISTIAN     THOMPSON                     OK     90005052882
21129846551343   AMBER         HODGES                       OH     90003998465
21129984481661   CRISTINA      HERNANDEZ                    KS     90015139844
21131257955957   DENNIS        LOWAS                        CA     48071832579
21131393984364   JOSHUA        FLOWERS                      SC     90013033939
21131561291833   ANGELA        WILLIAMS                     OK     90011705612
21132527891541   ALBERTO       CALLEJAS                     TX     90014705278
21133145191241   MONTRAESE     WILBORN                      GA     90014171451
21133346784364   MICHAEL       MATTHEWS                     SC     90013953467
21133543291541   RAYMUNDO      FERNANDEZ                    TX     75043245432
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21133898247946   JAZZMENN      JOHNSON                      AR     90010058982
21134967641245   JOESPH        KANFOUSH JR                  PA     51082959676
21136726251369   WILLIAM       SMYTH                        OH     66055607262
21136954381661   JAVIER        RAMIRO SONTAY                KS     90008129543
21137576255941   BRANDON       GARCIA                       CA     90012895762
21138346784364   MICHAEL       MATTHEWS                     SC     90013953467
21138652431453   KAMEKIA       KNIGHT                       MO     90013606524
21139956441245   HUSSEIN       ALGHURAIRI                   PA     90009079564
21141561191828   BENJAMIN      RODRIGUEZ                    OK     90010825611
21141639147952   RYAN          ADAMS                        AR     24090886391
21142239991541   DANNY         GARCIA                       TX     90002872399
21142632255957   LUPE          AVILA                        CA     90005516322
21142747691528   ERIC          RAMIREZ                      TX     90003367476
21143891957157   ZIBOL         HUYAMH                       VA     90011898919
21144943391541   NANCY         SALMON                       NM     90010579433
21145278157157   LUIS          ASCENCIO                     VA     81000682781
21146627291984   MARIBEL       ABREGO                       NC     90005266272
21146674281638   CAITLYN       WISECUP                      MO     90001556742
21147196531631   RANDI         BECK                         KS     90010951965
21148683141245   PATRICIA      JHONSTON                     PA     90015136831
21149313891541   ISHAM         BURKS                        TX     75082413138
21151658557157   AWILDA        SOTOMAYOR                    VA     81097656585
21151784591528   MACIEL        GUADALUPE                    TX     90011617845
21152499193727   JACKIE        JOHNSON                      OH     90009104991
21152694591528   MARIA         MARTINEZ                     NM     90012916945
21152886455957   JOSEPH        HERNANDEZ                    CA     90013438864
21154228931631   SHYRELL       FISH                         KS     22065552289
21154713791542   PETE          VELASQUEZ                    TX     90002117137
21154957531453   ANDREA        JONES                        MO     90013439575
21155999491984   LASURE        TYSOR                        NC     17017089994
21157151657157   NODY          VALLECILLO                   VA     90009141516
21158183391828   MISTY         LAME                         OK     90013181833
21158985981637   ELMER         LOPEZ                        MO     90011969859
21161459191828   JEFF          GRAFTON                      OK     90011044591
21161515557157   MAKEBA        MOORE                        VA     90013395155
21162486991541   PEDRO         AGUIRRE                      TX     90009224869
21163728655923   SAMMY         CUEVAS                       CA     90011507286
21164169291828   RAMSEY        COMBS                        OK     90012151692
21166972431453   TAMMY         WATSON                       MO     27560959724
21167182261877   SHANA         MURRELL                      IL     90015331822
21167695984364   VINECIA       BROWN                        SC     90013956959
21167743693773   STACEY        CHANCE                       OH     90001077436
21168515791833   LAURA         BASLER                       OK     90001405157
21168525341245   EDWARD        GRAFT                        PA     90013295253
21168793851343   JACK          CHARTS                       OH     90015267938
21169294791587   JAIME         MARTINEZ                     TX     90007452947
21169395731453   DIONA         HOLT                         MO     90014843957
21169533531453   MARY          KEENAN                       MO     90014815335
21171119957157   KELSEY        FISHER                       VA     90012831199
21172114891541   LAURA         SOLIS                        TX     75034761148
21172836681637   AMANDA        BOLES                        MO     90011068366
21173639684364   DARLENE       SHOKES                       SC     90013966396
21174212181661   ANTONIO       ALVARADO                     MO     29050502121
21175765981661   MONA          COE                          MO     29060677659
21176753241229   LISA          RUE                          PA     90002317532
21178864147952   DENIS         CRUZ                         AR     24055958641
21179734531453   ANTHONY       DICKENS                      MO     90011847345
21181592591243   MICHAEL       FARLEY                       GA     90000625925
21182523691828   AUSTIN        SHIRLEY                      OK     90013105236
21183113851343   BRANDON       ADAMS                        OH     66029581138
21184297931453   JOSE          DIAZ MENDEZ                  MO     90012702979
21184763155941   ERICA         SEPULVEDA                    CA     90013497631
21184853191528   VICTOR        AVILA                        TX     75092418531
21184922255957   YOLANDA       LORETO                       CA     90001989222
21184997957157   JOSE          GARARARDO                    VA     90012649979
21185216184364   SCHONTAL      MCNEIL-JACKSON               SC     19071902161
21185553557531   SHAWNA        MONTGOMERY                   NM     35569225535
21186888991541   RAFAEL        RAMIREZ                      TX     75065788889
21186991631453   WILLIA        YATES                        MO     27552869916
21187199785938   CASSANDRA     PRESTON                      KY     90008601997
21187431241245   SHAWN         CARMAN                       PA     51005074312
21187532991241   CHANELL       RICKS                        GA     90006195329
21189771361925   SHARON        COLLINS                      CA     90001407713
21189816755957   WILMA         HAYWOOD                      CA     90002548167
21191658381661   BARTOLO       ARVIZU                       MO     90012736583
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21192878355957   VERONICA        GARCIA                     CA     90004978783
21193253361558   KATHY           HANCOCK                    TN     90015392533
21193294955941   MELISSA         DUARTE                     CA     90015262949
21193781391541   MIGUEL          ARROYO                     TX     75048737813
21194525455957   JUSTAVO         GARCIA                     CA     90010865254
21195935391241   PAYGO           IVR ACTIVATION             GA     90013369353
21196168155957   LIZETTE         SALAZAR                    CA     90012681681
21196899591828   LESLIE          PAYNE                      OK     90009958995
21198168531453   OLATOKUNBO      ADAMU                      MO     90014301685
21198278157157   DONNELL         PARKER                     VA     90009682781
21199697241245   JOY             CALTAGIRONE                PA     51052666972
21199757357157   KEVIN           WILLIS                     VA     90003987573
21199937791984   BARBARA         WORTHY                     NC     17069569377
21212422555957   JACOB           SERVIN                     CA     90011514225
21213177751369   SUSAN           FOX                        OH     90005561777
21214228631453   ANGELA          CATES                      MO     27559372286
21214429491528   ALBERTO         ORTIZ                      TX     90006524294
21214725481661   DAMITA          JONES                      MO     29005847254
21216465981637   AFRIKA          WALKER                     MO     29050604659
21216659151343   BRUCE           LOUALLEN                   OH     90015256591
21216875481661   MARY            DAVIS                      MO     90012538754
21218376981638   JOSHUA          VINCENT                    MO     90010953769
21219331647952   CRYSTAL         KESSLER                    AR     90013703316
21222334391541   AMANDA          RENTERIA                   TX     75030383343
21222642551343   AURELIA         BUSTOS                     OH     66016486425
21223552891541   EDGAR           GULLIEN                    TX     75050235528
21224438381661   MATTHEW         CREMEEN                    MO     29006464383
21224514751369   BRYAN           RICHARDSON                 OH     90012475147
21226176177523   LORENA          QUINTANILLA                NV     90009021761
21226664931453   DEBORAH         WASHINGTON                 MO     90013606649
21228562585938   DENNA           STAMPER                    KY     67094625625
21231645493773   CHRIS           WILLIAMS                   OH     90004966454
21232115357157   JIMMY           JENNINGS                   VA     90012901153
21232411757157   CARLOS          CHIRINOS                   VA     81033364117
21232618555941   ALBERT          WILLIS                     CA     90014666185
21233514681661   DONALD          HAWKINS                    MO     90010025146
21234832751369   DIANA           CAMPBELL                   OH     90006328327
21234937791984   BARBARA         WORTHY                     NC     17069569377
21236549581637   JESSE           NASH                       MO     29080795495
21236816181661   ANNE            TAYLOR                     MO     90003728161
21238348291541   VERONICA        MOLINA                     TX     90008723482
21239635891251   PHILLIP         LORD                       GA     90012586358
21239726681661   BRANDON         MCMAHON                    MO     29060857266
21239863781637   TRACY           VANN                       MO     90009688637
21243476755957   AIDA            RAMIREZ                    CA     90013924767
21244646491528   CALVIN          FOLK                       TX     90003886464
21244778755941   EFRAIN MARTIN   GRACIA                     CA     90012867787
21244782931453   SHAWN           MAHLER                     MO     90013977829
21245876685938   KATIE           OTERO                      KY     90008068766
21246251391541   LARA            NANCY                      TX     75025732513
21246725651343   BEVERLY         VICKERS                    OH     90015167256
21246849881661   DARRYL          MITCHELL                   MO     29027678498
21247353384364   LORI            BRIZENDINE                 SC     90015133533
21247897531631   ROBERTA         DAVILA                     KS     90012708975
21248342955957   TYLER           ZIGLER                     CA     90011803429
21249314461986   DONALD          OLIVER                     CA     46094463144
21249942891541   GERARDO         MERAZ                      TX     75034739428
21252134341245   THOMAS          HOWELL                     PA     90005411343
21252244741245   THOMAS          HOWELL                     PA     90014152447
21252959684364   DORA            LOPEZ                      SC     90013089596
21254217333122   CRISTY          BAKER                      IL     90003662173
21254434891833   DERICK          DAVIS                      OK     90011834348
21255372485639   MIKE            HARDEN                     NJ     90006723724
21256146381637   ROBERT          SHANKS                     MO     90013361463
21257517457157   LENNY           ZAMBRANO                   VA     90007145174
21259826191541   ANA             GUERRERO                   TX     75084698261
21261393291541   ANAPAOLA        DURAN                      TX     90008373932
21263741481637   LINDA           KING                       MO     29003417414
21265532191541   ADRIAN          LARA                       TX     90013175321
21265562651369   JAMEEL          NEVINS                     OH     90011425626
21267478291833   TINA            CUDJO                      OK     90002824782
21268356155957   JAMES           COLLLINS                   CA     90013713561
21268666481638   JOSE            GARCIA                     MO     90011906664
21268861351343   SHARON          SHIELD                     OH     90005658613
21269183655957   RAMIRO          AGUINIGA                   CA     48084081836
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21269324931453   LATOSHIA      WILLIAMS                     MO     90013683249
21269362685955   JULIUS        HIGGINS                      KY     90011903626
21269613331453   ALBERTO       VALLECILLO                   MO     90012696133
21269685184364   JULIA         TUTE-A                       SC     19043526851
21269867891541   GEORGINA      PHILLIPS                     TX     90012038678
21271795351343   VERMEICA      FRIERSON                     OH     66032707953
21272224291541   PHILLIP       MADRID                       TX     75006032242
21275389681638   STEVEN        HERNANDEZ                    MO     90010953896
21277969757157   ANGELINA M    CLARK                        VA     90014459697
21278824691828   TONYA         WISE                         OK     21039148246
21279348891828   BLAKE         DOLIN                        OK     90012693488
21283655141245   BRANDON       THORNTON                     PA     90009066551
21286673657157   JUAN          CRUZ                         VA     90012176736
21286933691541   HERNANDEZ     ALEJANDRA                    TX     90010849336
21287467684364   JANAY         HARLEY                       SC     90013114676
21288319147952   JEFF          JONES                        AR     90012313191
21288681977541   MARISSA       MARTINEZ-POTTER              NV     90000716819
21289599291828   JULIO         FERNANDEZ                    OK     21006315992
21289827955941   JESSICA       NORIEGA                      CA     90010248279
21292126551343   TRISTIAN      COMPBELL                     OH     90015211265
21293632691541   OSVALDO       CARDENAS                     TX     75034726326
21293863831453   CARLA         HYE                          MO     27586008638
21295155241245   BHIM          KADARIYA                     PA     90011581552
21295722755941   RAMIRO        MIRELES                      CA     49047827227
21296371991589   VIVIAN        BURGOS                       TX     75097913719
21296451433648   AMANDA        RAE                          NC     90007724514
21297266991984   BRENDA        ESCOBAR                      NC     90014992669
21297279455941   CINDY         CARRILLO                     CA     90006952794
21297951447952   MARKITA       BELL                         AR     90015449514
21299262957157   JOSE          JOSE                         VA     90011392629
21299294455941   JOHN          COSTA                        CA     90012972944
21299541547952   JOSE          GARCIA                       AR     90011465415
21299743341245   JACQUELINE    MURRAY                       PA     51012437433
21299884841245   ETHAN         ANTHONY                      PA     90010288848
21311747731631   PERRY         ROBINSON                     KS     90013197477
21311812755957   SHERRIE       THOMAS                       CA     90004258127
21313315755941   SARA          WITE                         CA     90014283157
21313636955957   JOSE          LEON                         CA     90013846369
21319529457157   IVETTE        ALACHE                       VA     90010625294
21321412141245   REBECCA       ULLRICH                      PA     51048464121
21321878631492   CARL          WHITTENBURG                  MO     27595688786
21322776381637   FELIX         HERNANDEZ                    MO     90015107763
21322797484364   LANEISHA      JOHNSON                      SC     90010697974
21322998391541   JERRY         ESTRADA                      TX     90004459983
21323984191541   MAYRA         GONZALEZ                     TX     75075929841
21324674384364   SARA          ELMORE                       SC     90008846743
21324696572473   JOSEPH        GORDON                       PA     90003456965
21324872972445   LEONARD       ABBRUZZESE                   PA     51007658729
21325455281638   MARCI         EIGENSCHENK                  MO     29015244552
21326845391828   LASHONNA      GUNN                         OK     90014288453
21327345531453   ALICA         CRUMER                       MO     90011133455
21329831491833   ASHLEY        KIMBALL                      OK     90009748314
21331282431453   PAULA         HORTON                       MO     90011092824
21331727391241   SHANNON L     WASHINGTON                   GA     90003647273
21331777951343   CARRIE        MCGOWAN                      OH     90008727779
21332145731453   ASHLEE        RENEA                        MO     90013291457
21332573331433   DALLAS        POWELL                       MO     27526855733
21333123155957   NICOLAS       ANDA                         CA     48092801231
21333925831631   JACKIE        LAWRENCE                     KS     22088289258
21334668941245   NICOLE        FORCINA                      PA     90011576689
21336568491522   SANDRA        SANCHEZ                      TX     90014455684
21336577641245   CAROLE        ELLISOR                      PA     51089245776
21338763491528   OLIVIA        PINEDA                       TX     75053507634
21338831491833   ASHLEY        KIMBALL                      OK     90009748314
21339691231453   JIMMY         JONES                        MO     90015436912
21341433755957   BENIGNO       GARCIA-LOPEZ                 CA     90014814337
21341926757157   MARTIN        DIAZ-VILLALTA                VA     90015139267
21344163541245   RONNISHA      MASON                        PA     90006281635
21344485691541   SYBIL         MIJAREZ                      TX     75023574856
21344878791833   RUSTY         LUDMAN                       OK     21035618787
21345159881661   MARCO         RODRIGUEZ-URQUIA             MO     90012951598
21345529931631   DANIEL        SPENCER                      KS     22097165299
21345985291241   ROBERT        BAKER II                     GA     90014409852
21346314455941   NORMA         MIRANDA                      CA     90006743144
21348643251343   TONY          SAMS                         OH     66079636432
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21351126955941   MIGUEL         PENA                        CA     90014131269
21351197531453   SARA           WALLACE                     MO     90013281975
21353153751343   ROBERT         HARRISON                    OH     90011601537
21355224591541   ANGEL          ORTIZ                       TX     90014122245
21355644631453   RITA           POTTS                       MO     27583076446
21355874791828   BRIANNA        ROGERS                      OK     90009568747
21357818791241   BEBORAH        ROUSE                       GA     14576558187
21362481891541   JACOB          SALGADO                     TX     90003834818
21362972784364   CHARLES        DOVE                        SC     90014179727
21363272284364   LAQUETTA       SALLIE                      SC     90013132722
21364476361986   RAQUEL         LOZANO                      CA     90011624763
21365396455941   CARLOS         SALSIDO GOMEZ               CA     90012023964
21365747291833   MANDY          CLIMER                      OK     90006357472
21365752585938   ORVELL         REDD                        KY     67054197525
21365793191984   ELIDA          CRUZ                        NC     90013687931
21366437285938   EMIN           GOOSHI                      KY     90005884372
21367447391541   MARIA          VALADEZ                     TX     90010424473
21367685391828   YOLANDA        GALLEGOS                    OK     90010826853
21367959931453   RASHANUNDA     MANNING                     MO     90009839599
21369914681637   MANUEL         VENEGAS                     MO     29050609146
21371112181638   KENNETH        COX                         MO     90013581121
21372338691984   MAXIE          BREWINGTON                  NC     90013703386
21372384347952   AARON          WHITE                       AR     90012313843
21373174191541   CONTRERAS      MARGARITA                   TX     75096661741
21373696891528   VERONICA       THOMAS                      TX     75092316968
21375113231631   DEMETRIA       MNTOGOMERY-WILSON           KS     90014841132
21375485684364   STEVEN         JONES                       SC     90014094856
21375878855957   VIOLETA        ZARAGOSA                    CA     90012058788
21375991981637   MILDRED        MACARIO                     MO     90006019919
21376361885938   JACKIE         RAYBURN                     KY     90013703618
21376471191541   RAUL           ESCOBEDO                    TX     75045964711
21378553681637   LINDSAY        BEAMER                      MO     29061565536
21379219531631   JOHN           PHILLIPPE                   KS     90008622195
21379337741245   LUCIOUS        ST CLAIR                    PA     90010433377
21379489331453   TYESHA         ROSE                        MO     90014564893
21381631655957   CELIA          ALVARADO                    CA     90007816316
21383199684364   WYLA           SPANN                       SC     90013131996
21384199684364   WYLA           SPANN                       SC     90013131996
21384427331453   SHERICKA       TAYLOR                      MO     90014174273
21384811891833   KRISTINA       FORRESTER                   OK     21070268118
21388779747952   LISANDRO       RIVAS                       AR     90013657797
21388954851369   ORLANDO        HUDSON                      KY     90014119548
21389326181661   REBEKAH        ALLISON                     MO     90003093261
21391385955941   AMBOR          FULTON                      CA     49097833859
21392622657157   ANA            PORTILLO                    VA     81090266226
21392688584364   ERIC           SUMMERS                     SC     19038076885
21393159891828   JESUS          LOZA                        OK     90003481598
21396352184364   GALEN          MAGEE                       SC     90014083521
21396481157157   MARIAM         SAEED                       VA     81018604811
21396937355957   BRANDON        CHILES                      CA     90015139373
21397421955957   JOHN           NINO                        CA     90012304219
21399412731453   TIERRA KEITH   STRONG ASKEW                MO     90013484127
21411293155957   ROSE           ORDONEZ                     CA     90011072931
21413619481637   CHRISTINA      REYNOLDS                    MO     90009576194
21413749751339   ANDRE          ROSS                        OH     90010347497
21414122471924   BERNADETTE     TORRES                      CO     90010491224
21414396591984   JESSICA        SKINNER                     NC     90013643965
21414622177584   STEPHEN        FLINT                       NV     90003566221
21414699591828   HURBANO        ESPARZA                     OK     90013856995
21416349891525   MIRIAM         ZUBIATE                     TX     90009113498
21416556857157   ELMER          HERNANDEZ                   VA     90012305568
21417882251343   KIMBERLY       DEATON                      OH     66087218822
21418231541245   DENISE         THOMAS                      PA     51041382315
21418293655957   KAREN          WALDEN                      CA     48054842936
21418372547952   MICHAEL        DILLION                     AR     24074263725
21418561984364   NATHALIE       SCHREITEL                   SC     90008285619
21418639991528   JAVIER         MENDOZA                     TX     75068126399
21421136347952   BERNERD        HASKINS                     AR     90004001363
21422437857157   MORGAN         TURNER                      VA     90014954378
21423935555957   BERNADETTE     PEARCE                      CA     90008729355
21425113891541   SAMANTHA       ZAPATA                      TX     90013801138
21425282557157   BRIAN          EDWARDS                     VA     90014622825
21425314381638   AJONA          BUSHNELL                    MO     90008643143
21426959947952   ERICA          MURPHY                      AR     90011049599
21427523385938   GREGORY        BLACK                       KY     67093025233
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21428517981638   TENEISHA      THOMAS                       KS     90010955179
21429764991541   JOSE          ALANIS                       TX     75067157649
21431459991541   MARILU        LOPEZ                        TX     75096284599
21431567491828   JASON         KITE                         OK     21000025674
21431599691984   PHYLLIS       LEAK                         NC     90013335996
21432759341245   AMYA          DEMUS                        PA     51017337593
21434718731453   ALEASHA       BROOKS                       MO     90015557187
21435136851337   JENNIFER      ELAM                         KY     90004091368
21436444585938   STEPHANIE     ALLEN                        KY     90011074445
21436449491541   MAYRA         ENRIQUEZ                     TX     90013234494
21439363991241   ROBERT        KENNEDY                      GA     90002933639
21441625931453   ANGELIA       RAMSDELL                     MO     27532766259
21442624991541   SILVIA        CORTEZ                       TX     90000896249
21443357893773   JESSICA       MAYNARD                      OH     64547693578
21443584131631   REBECKA       GARRISON                     KS     90008045841
21444486291828   CARRIE        CULKINS                      OK     90013764862
21446669338525   RALPH         VINCENT                      UT     90013706693
21446944681661   RYAN          DUGAN                        MO     90012349446
21447896941245   GEORGE        LANGFORD                     PA     51071338969
21447917955941   FELIX         IBARRA                       CA     90007639179
21448293131453   JEANNE        CRAWFORD                     MO     27530012931
21448295691828   BRANDON       COWANS                       OK     21065262956
21448612591541   MARGIE        ROACHO                       TX     75047946125
21449561391828   ADELINA       ALVARADO                     OK     90014255613
21451646747952   JONATHAN      TURNER                       AR     90012776467
21451699784364   REGINALD      HOSKINS                      SC     90014096997
21451877991241   BERNARD       MANGHAM                      GA     14597168779
21452142793773   ALISON        THOMPSON                     OH     90003681427
21453643691828   CHRIS         REYNOLDS                     OK     90004426436
21453983491541   RICARDO       CASAS                        TX     75014729834
21455619755985   JORGE         SANTOS                       CA     90013516197
21455659191241   PAM           HASLETT                      GA     90007906591
21455726741245   SEAN          COUSINEAU                    PA     90012927267
21456818291828   JUSTIN        MILLER                       OK     90013928182
21458538691828   AUSTIN        SLEEPER                      OK     90008165386
21458855151343   JESSICA       BURCHFIELD                   OH     90014828551
21459121457157   TINA          HARRIS                       VA     81018831214
21459472291541   MARISA        FLORES                       TX     75029714722
21459851733677   REGINOLD      NOLEN                        NC     90007978517
21461121457157   TINA          HARRIS                       VA     81018831214
21461485947952   MARIA         VALDEZ                       AR     24026634859
21461587591967   JOSE          GARCIA                       NC     90002235875
21462652491833   CRYSTAL       LEMMONS                      OK     90005446524
21462824955985   KONNIE        NEWTON                       CA     48087478249
21462953655941   ANA           CHAVEZ                       CA     90000869536
21465149391541   FREEMAN       WHITE                        TX     90000541493
21465283431631   ADRIANA       BACAHAR                      KS     90012832834
21467127191241   BRADLEY       MILLER                       GA     90015211271
21468126891828   SHANIKA       LURKS                        OK     90011451268
21471621681637   TRENTON       STREET                       MO     90013636216
21472466291541   JOSE          BRIONES                      TX     90013344662
21473337355957   TOMMY         SMITH                        CA     90009583373
21473339891528   MARGARITA     ESTRADA                      TX     75092383398
21473383491541   ROBERTO       VAZQUEZ                      TX     90014443834
21473973155941   MARCOS        RAMIREZ                      CA     90011499731
21474265481661   DREW          SYLVESTER                    MO     90013292654
21474724193773   ROXANNE       PARSHALL                     OH     64516177241
21475257791541   CHRISTINA     OLGUIN                       TX     90009922577
21475621851369   TYRONE        TOWNS                        OH     66039686218
21475985357157   DMETRIA       GORDIN                       VA     90014859853
21476619851343   WILLIAM       HUGHES                       OH     90010196198
21477243331453   DESTINY       CABLES                       MO     90013292433
21478391684364   MICHAEL       MCKELVEY                     SC     90014843916
21478943381661   CARMEN        BENAVIDEZ                    MO     29050689433
21478957281637   PATRICK       PRIDDY                       KS     29025999572
21479135181637   DONNELL       MORRIS                       MO     90013821351
21479672431453   TEIA          WEAVER                       MO     90013606724
21481437191984   DANIEL        HERNANDEZ                    NC     90001904371
21481867855957   ANTHONY       SALAZAR                      CA     90000798678
21482472684353   TANYA         BROWN                        SC     90012394726
21482485491984   TRENEE        FENNELL                      NC     90013524854
21482895581637   TRA           WILLIAMS                     MO     90015118955
21484192791541   FERNANDO      ALDAMA                       TX     90010711927
21484345881638   MONICA        GARRETT                      MO     29061133458
21485596491828   DERRICK       DUNN                         OK     90013555964
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21485873285938   SHERRI        MEDINA                       KY     67064098732
21486558355957   STELLA        LOPEZ                        CA     90007695583
21486811184359   LAURA         ROBONSON                     SC     90010618111
21486825451343   EMILY         LENTZ                        OH     66043138254
21487916855941   PEDRO         SILVA                        CA     49082499168
21492859191541   JORGE         MACIAS                       TX     90012458591
21493668731453   KAYLA         MOORE                        MO     90001396687
21496611755941   SILVIA        TORRES                       CA     49015766117
21497757891541   LASHBA        HARRIS                       TX     90013197578
21499487355941   TIFFANY       CASARES                      CA     90012614873
21512379591984   KIM           LOVING                       NC     90010873795
21512834281661   CHRISTINA     QUEZADA                      MO     29005468342
21513856955957   ARMANDO       CEJA                         CA     90010638569
21514513793754   CHRIS         MORELAND                     OH     90000545137
21514584657157   MARY          PRIMOZIC                     VA     90011185846
21515761691541   MARIANA       FLORES                       TX     90015017616
21515952281637   MUNER         HENDERSON                    MO     29004889522
21517159581637   SHAUN         CAMPBELL                     MO     90007431595
21517678455941   ALLYCHIA      ALCORN                       CA     90014286784
21518259391541   ANGIE         CLADERA                      TX     75090262593
21519593931453   LASHELLE      EDWARDS                      MO     90011135939
21521524431631   DEANA         MCWILLIAMS                   KS     90013495244
21522972841245   BARBARA       SMEYRES                      PA     90014779728
21523745555957   DEANN         KENNEDY                      CA     90004677455
21524247147952   DANIEL        LINTON                       AR     24050012471
21524666481637   BOBBY         BRIGGS                       MO     29001596664
21525475741274   HENRY         BAJWA                        PA     90010874757
21526379991828   THERESA       MCDOLE                       OK     90010983799
21529632291541   ADRIANA       RENTERIA                     TX     75032806322
21531322191828   LASHELL       THORN                        OK     90014313221
21531462991241   VERONICA      BROWN                        GA     90011504629
21532469691984   NORMA         CORONADO                     NC     90014684696
21532731951343   TIFFANY       LEE                          OH     66095037319
21532836855941   MARY          HUESCA                       CA     90014848368
21535125491541   NAYA          CHAVEZ                       TX     75077631254
21535676291828   MARCO         CALLEJAS                     OK     90015316762
21536933251369   GUADALUPE     CORTEZ                       OH     66079379332
21537154657157   BILY          GUILLLEN                     VA     90009511546
21537289684364   CHRISTINE     TAYLOR                       SC     90005292896
21537454991828   YASMEEN       AGEIL                        OK     90008464549
21537738157157   ELAINE        PRYOR                        VA     90015327381
21538652847952   TOYA          CRISP                        AR     24087146528
21543125957157   ELDER         ESPINA                       VA     81081901259
21543748391984   RANDALL       WALSH                        NC     90012997483
21543881755957   WILFREDO      PIMENTEL                     CA     90014478817
21544321131453   CHIFFON       WILSON                       MO     27575693211
21545128231453   FREIDDIE      OWENS                        MO     90011031282
21548466281637   MICAH         ALLINDER                     MO     29067764662
21552468981637   ALONDA        BIGGS                        KS     90009404689
21553915647952   ARNULFO       MEJIA                        AR     24062309156
21555851693773   SAMEKA        SCOTT                        OH     90002048516
21555963531453   LICOLE        MCKINNEY                     MO     27586139635
21556424131453   DIAMOND       JOHNSON                      MO     90014214241
21556469551343   LUIS          ANGEL                        OH     90014284695
21556552481661   BRIAN         MALTBIA                      MO     29053495524
21558985231453   JUSTIN        JACKSON                      MO     90014879852
21559237484364   JAMES         BARBOUR                      SC     90015172374
21561985991241   JOSE          RIOS                         GA     90009649859
21562468881661   LASHARNA      MOSS                         MO     90013434688
21562994955941   LETICIA       QUINTERO                     CA     90006919949
21563398451369   GABE          FOLMAR                       OH     66049013984
21565287891241   MAYFER        H                            GA     90013962878
21565434191984   CYNTHIA       OMERANI                      NC     17087934341
21565616891541   SHIDAVA       TILLMAN                      TX     90014176168
21565829391828   SHAWN         COX                          OK     90013818293
21566337947952   LETA          BARNETT                      AR     90014863379
21567589493773   THERESA       DOWNS                        OH     64527495894
21567748971925   ERIKA         RODRIGUEZ                    CO     90000207489
21568135181661   RYAN          OATES                        MO     90013701351
21568194151343   STEPHANIE     ROBINSON                     OH     66040681941
21569871981638   CHRISTOPHER   FLOHR                        MO     90009848719
21572628731453   JAMES         JACKSON                      MO     90010976287
21572724877541   SUSANA        RAMIREZ                      NV     90008877248
21572998591828   KRYSTEL       KEEN                         OK     90014519985
21573564851343   APRIL         HUMPHREY                     OH     90014755648
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21574439531453   CAMERON         MCGUIRE                    MO     90015314395
21574917841245   KELLY           BANNON                     PA     90000509178
21575462957157   KIRSTEN         MARTINEZ                   VA     90010784629
21575862955941   MAUREEN         WHITE                      CA     49024558629
21576182191984   CANDY           MENDEZ                     NC     90015111821
21576264955941   DEE             FOSTER                     CA     90013272649
21577221791541   GRISELDA        RUBIO                      TX     75081372217
21577511231453   FANISHA         HERNDON                    MO     90015385112
21578473891528   TTERESA         MORENO                     TX     90009974738
21579622257157   MAURICIO        PONCE                      VA     90006046222
21582468391828   LATONYA         PATTERSON                  OK     90008974683
21584757131453   BOBBIE          STOLTZ                     MO     90000227571
21585291991528   EYBAR           VASQUEZ-NEVAREZ            NM     90003382919
21585944884364   MICHAEL         PLUNKETT                   SC     90009389448
21587298331699   WENDELL         DAUGHERTY                  KS     22054882983
21587654455957   NADINE          BOBENRIETH                 CA     48046386544
21587967947952   MICHELLE        BRIGGS                     AR     90012709679
21588193255957   ANA             TORRES                     CA     90013961932
21589654585938   BESSIE          RHINEHIMER                 KY     90008806545
21589727891241   CHAVEZ          JONES                      GA     90013477278
21589816455957   CHARLIE         SANTIAGO                   CA     90015478164
21589848991984   SERGIO          GARCIA                     NC     90014908489
21591164491541   JACOB           QUINN                      TX     90010041644
21591293655957   KAREN           WALDEN                     CA     48054842936
21591297351369   BRIAN           GALLAGHER                  OH     90013762973
21591492555941   FELIPE          MENA                       CA     49078264925
21591497154123   SHARI           FUNKHOUSER                 OR     90013954971
21591943755941   LOUIE           ASANDA                     CA     90007989437
21592269891541   EDUARDO         WELCH                      TX     90010862698
21592938191589   GLORIA          PIMENTEL                   TX     75018999381
21594284241245   KAYLA           STEPANIK                   PA     90009232842
21595318155957   MONICA          REYES                      CA     48028073181
21595349251369   MANUEL          SANTIAGO                   OH     90003313492
21595875931631   RODNEY          KIRKENDALL                 KS     90000408759
21596385957157   ROCHELLE        SPEIGHT                    VA     90015273859
21597311831631   KENT            STUCKEY                    KS     22008503118
21598652891984   CALANDRA        MCLEAN                     NC     90013706528
21599359857128   JOSE            LOPEZ                      VA     90008363598
21599622381637   JANICE          STRONG                     MO     90013636223
21611228841245   CHRISTOPHER     NAHAI                      PA     90014572288
21614366857157   CODY            HUGHES                     VA     90012053668
21615626291541   ASHLEY          RESENDEZ                   TX     90012736262
21615711547952   BRANDON         HORTON                     AR     90012187115
21617213755941   CHRISTOPHER     FLAHERTY                   CA     90014352137
21619239393773   JESSICA         BELCHER                    OH     64572692393
21623431851369   RORY            SEEK                       OH     66017644318
21623646157157   RAQUEL          KING                       VA     90011126461
21623689193773   BRIANNE         DRURY                      OH     64597846891
21623772491984   GREGORY         WATSON                     NC     90003657724
21624539891984   RANJEL ARTURO   GOMEZ ALVAREZ              NC     90014105398
21624856291541   MOISES          LANDEROS                   TX     90011328562
21626396255957   LOUIS           MARCIEL                    CA     90013553962
21626857781661   TINA            KOVAL                      MO     90013598577
21628617657157   VICTOR          FUNES                      VA     90011996176
21629696847952   STANFORD        JONES                      AR     90015086968
21631658791241   KELSLEY         WHITEHEAD                  GA     90012766587
21632817161921   ABEL            MARTINEZ                   CA     90009948171
21632918784374   JUAN            PRESSLEY                   SC     90009529187
21635244891241   BEAUNERE        LOWMAN                     GA     90015282448
21635455831453   ALBERT          KEYS                       MO     27525694558
21637187131453   ALISA           JACKSON                    MO     27503411871
21638187281661   BELLY           JOE                        MO     90012871872
21638843185999   BENJAMIN        NEVELS                     KY     90012378431
21639221384364   JANET           PENA                       SC     90007702213
21641164991541   JACOB           DELGADO                    TX     75073481649
21642271641245   MARQUETTA       CLARK                      PA     90011242716
21643191631453   THOMAS O        MCLAUGHLIN                 MO     90001841916
21644232991542   SOCORRO         MORENO                     TX     90010902329
21644417957157   JOSE            MORALES                    VA     90006274179
21645324691828   TYLER           SLAIGHT                    OK     90014873246
21645795241245   DENIESE         DELOACH                    PA     51098387952
21646313281661   CAMILO          RAMIREZ                    MO     90014983132
21647715181638   JOSE            MARTINEZ                   MO     29013807151
21647812885955   ALEJANDRO       GARCIA                     KY     90014658128
21648429791528   PATRICIA        LOPEZ MONTENEGRO           TX     90003384297
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21648741261957   ELIZABETH       ALVARADO                   CA     90012057412
21651411757157   CARLOS          CHIRINOS                   VA     81033364117
21651855584364   KEVIN           GRANT                      SC     90008788555
21652285457157   JOHNATHAN       VANS                       VA     90011082854
21652987193773   SHANNON         WAGNER                     OH     90011069871
21653286431453   MAURIE          FREEMAN                    MO     90015032864
21654982491984   DENNA           LAIRMORE                   NC     90014579824
21657573193757   LONDRA          BAGFORD                    OH     90014105731
21658839841245   KEN             RUST                       PA     90013858398
21659515547952   PAUL            OLIVER                     AR     90013995155
21659528155941   RICARDO         GARCIA                     CA     49039885281
21659613581637   CARONDA         ARTT                       MO     90013336135
21659739851343   BRITTNEY        BOLDEN                     OH     90011007398
21661138555957   MARIA           PIMENTEL                   CA     90011311385
21662663631631   ANTHONY         NASH                       KS     22088386636
21662772791828   CHANDA          SPENCER                    OK     90015327727
21663481791541   JULIAN          GALARRA                    TX     90012994817
21665152255957   SEVENNA         REED                       CA     90015081522
21665258285821   JUAN            DELGADO                    CA     90003512582
21665284155957   MELISSA         STILLFIELD                 CA     48089582841
21665375147952   CHARLESE        BAKER                      AR     24042733751
21665965951343   KARL            GROSS                      OH     90015259659
21666455155941   FELICITAS       DIAZ                       CA     49008924551
21667829991241   KRISTINA        LOPP                       GA     90010118299
21668444391525   KEVIN           RAMIREZ                    TX     90008254443
21668454281661   CESAR           DOMINGUEZ                  MO     90014624542
21668552257157   EDRA            ESPINAL                    VA     90002815522
21668788631453   VINCE           CLEMONS                    MO     90011137886
21669737684364   RUBEN           CARDONA                    SC     90014157376
21673829381661   EDDIE           ROBERTS                    MO     90013648293
21674882491241   MATHEW          GREENE                     GA     90010998824
21674938191833   SARAH           RAMIREZ                    OK     21097039381
21675246451343   ANTHONY         BROOKINS                   OH     90002962464
21676159151343   JEFF            JOURNELL                   OH     90011001591
21677791555957   MICHAEL         CHAVEZ                     CA     90003737915
21677851161996   ELENA           KAMPA                      CA     90014558511
21677932881637   KYANA           BOWERS                     MO     29042699328
21678157557157   BLANCA          ZELAYA                     VA     81029471575
21678366391528   MARIA           ROSALES                    TX     75068043663
21678372791541   REBECCA         LOPEZ                      TX     90013493727
21679145181637   JOSEPH          GANT                       MO     90008581451
21679423555941   GLORIA          SOLIS CHACON               CA     90012714235
21682548341245   GEORGE          BABISH III                 PA     51067545483
21684154361986   ARMANDO         OCHOA                      CA     46051891543
21684372851343   FRANCES         BROWN                      OH     90014873728
21684759691828   JORGE           SOTO                       OK     90008547596
21684821181661   TODD            VEBER                      MO     90012478211
21684843681637   SKYLER          ROBINSON                   MO     90015508436
21684949131453   ASHA            ABDELA                     MO     90013849491
21685237931631   SHELIA          LAPLANTE                   KS     90002422379
21686118455957   REFUGIO         PEREZ                      CA     90013131184
21686741447952   FRANCISA        LOPEZ                      AR     90001457414
21689875931631   RODNEY          KIRKENDALL                 KS     90000408759
21693933291541   RUBI            OLVERA                     TX     90010749332
21694271681637   JONI            VARGAS                     MO     90013692716
21696437341245   MARIA           GUY                        PA     51004634373
21711288955941   ANALISA         GARCIA                     CA     49010152889
21712679547952   KARI            FENBY                      AR     24079936795
21713295591833   KANEKCO         GREEN                      OK     90008372955
21713427291323   CYNTHIA         SANTOS                     KS     90012704272
21714226755957   INES            VIRRUETA                   CA     48087582267
21715177991828   MARY            MCGEE                      OK     90014711779
21715431891833   RENAY           JONES                      OK     21058094318
21716625991541   FLORES          CYNTHIA                    TX     75064226259
21716674955957   TYEKA           WHITFIELD                  CA     48090566749
21718454347952   SONYA           WILLIAMS                   AR     24006084543
21718679491984   TEONJ JAMELLE   ADAMNS                     NC     90014156794
21718829184364   CEDRIC          GLOVER                     SC     90014158291
21719637655941   KUE             XIONG                      CA     90012746376
21719821157157   WILBER          CALLES                     VA     81007378211
21719987984364   JUSTIN          PHILLIPS                   SC     19050659879
21721142581661   ANDREA          SALCEDO                    MO     90010821425
21721613881661   ANDREA          SALCEDO                    MO     29032876138
21721971131448   TAMI            GENTRY                     MO     90000909711
21722181333644   JUAN MANUEL     FLORES                     NC     90007201813
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21722623155941   SAN              CRANFORD                  CA     90013656231
21723461391984   LUISA            VARGAS                    NC     90012604613
21724194391528   MARIA E          SCHEREN                   TX     75050351943
21725889191583   HAYDE            ESPARZA ONTIVEROS         TX     90003338891
21725915395634   MIRIAM           ACEVEDO                   TX     76507079153
21726142693773   SHANIQUA         BROWN                     OH     90008161426
21726371185938   BRENDA           MULLIGAN                  KY     67094733711
21732154857157   TANISHA          PEARSON                   VA     90013861548
21732982784364   CRYSTAL          POWELL                    SC     90014179827
21733696847952   STANFORD         JONES                     AR     90015086968
21734353991241   KEINESHA         GORA                      GA     90015173539
21734698255941   BRITTANY         WASHINGTON                CA     90012946982
21734812547952   BRANDY           WAGGONER                  AR     90013688125
21735411531453   JEAN             GRIMAUD                   MO     27573314115
21735975951369   BETH             WEBSTER                   OH     90001699759
21736598641245   JONATHAN         RIHN                      PA     51072365986
21736897431453   ADRIAN           MOBLEY                    MO     90011138974
21738474355957   DENISE           HERNANDEZ                 CA     90013194743
21738711531453   RENIECE          REEDER                    MO     90007897115
21739345847952   TIFFANY          BOLLING                   AR     90009873458
21742844991541   ANGEL DE JESUS   DUENAS                    TX     90012858449
21743817555941   YOLANDA          MELLO                     CA     90006758175
21744539931453   JOHN             ORTWEIN                   MO     90011475399
21744654785834   TEIXEIRA         LINDA                     CA     90012446547
21745533457123   KENIA A          ACOSTAS                   VA     81032225334
21745834491541   ROCIO            TORRES                    TX     75042698344
21746198984358   KATHLEEN         SHONTZ                    SC     90011091989
21748366341245   TANIEKA          JAMES                     PA     51080093663
21748973891541   HECTOR           ROSSY                     TX     90013419738
21749263291541   YESIKA           ESPINOZA                  TX     90013742632
21749441491241   TRINESHA         SOLOMON                   GA     90013044414
21749494141245   WILLIAM R        HILLEBRECHT               PA     90011244941
21751164255957   MONICA           RAMIREZ                   CA     90015281642
21751464581637   TYRONE           LONDON                    MO     90014734645
21751772377368   ELIZABETH        BENO                      IL     20571667723
21751821157157   WILBER           CALLES                    VA     81007378211
21753665391241   LEATICE          SEATON                    GA     90014916653
21756282557157   DARRYL           BOWDEN                    VA     90013592825
21758727331453   JEANETTA         JOHNSON                   MO     90015067273
21759482284364   ALLAN            JACKSON                   SC     19045564822
21759541491241   MORGAN           GAY                       GA     90014705414
21762151691828   HALELUYA         BROOKENS                  OK     90015211516
21764239557157   LUCAS            AHIABLE                   VA     81060662395
21764771533678   AIDA             MARTINEZ                  NC     90012347715
21765383191984   JOHN             OILMORE                   NC     90015113831
21767128784364   LEO              PEREZ                     SC     90014161287
21767312281661   TIM              GILIO                     MO     90007933122
21767532451369   GLORIA           MAKEPEARE                 OH     90006335324
21768428831631   SAM              SOMERVILLE                KS     90014544288
21768549531453   CHRISTOPHER      EVELAND                   MO     90012625495
21769779291541   DELORES          LUCERO                    TX     75028767792
21771357451343   EVGHENII         BACANURSCHI               OH     90011013574
21771384947952   RAIANNON         SHAKIA                    AR     90015503849
21772755855941   RHONDA           WOODS                     CA     90014727558
21773763831631   BRITTANY         VINTHER                   KS     90013787638
21773793947952   FLAVIO           SANDOVAL                  AR     24052447939
21774943491522   LAURA            ALVARADO                  TX     90010769434
21775212891522   PATRICIA         HOLGUIN                   TX     90010482128
21777749491541   ANA              SILVA                     TX     75058227494
21777769281661   ERIC             PIPER                     MO     90015167692
21777795641245   TAMEEKA          COOK                      PA     90014137956
21778626791541   DANIEL           MATA                      TX     90013866267
21779125484353   WANDA            GADSDEN                   SC     90001121254
21781186641245   KEHINDE          AWOSIKA                   PA     51089821866
21783319751343   MICHELE          WINTER                    OH     66056253197
21783958455941   IRIS             MUNOZ                     CA     90004449584
21784428231453   TIARRA           BYAS                      MO     27568694282
21785712371925   BARB             REED                      CO     90013797123
21785814985938   OCTAVIA          BAKER                     KY     67031888149
21787277857157   COLT             DICKERSON                 VA     90002732778
21787834685938   TONYA            EMBRY                     KY     90005308346
21788298881644   ISIDIRA          GARCIA                    MO     90004272988
21788344157157   METHIA           CARDERAS                  VA     90013273441
21789254751343   BRITTNEY         ALEXANDER                 OH     90015032547
21789612381637   ANNA             VALENCIA                  MO     90007066123
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21789948155957   JASON         PARKER                       CA     48001099481
21791416884364   PHILIP        JACKSON                      SC     90014164168
21793391547952   STEPHEN       SIMPSON                      AR     90010783915
21793824991984   CASSIE        GARY                         NC     90012698249
21795462447952   MICHAEL       SPENCER                      AR     24090794624
21796132993767   CODY          WIGGANS                      OH     90001561329
21796937291984   SHENNA        ATKINSON                     NC     90012499372
21798457191541   JASMIN        SUAREZ                       NM     90013624571
21799696957157   PAYGO         IVR ACTIVATION               VA     90012026969
21811592191828   ANTHONY       CLARK                        OK     90002445921
21812699481637   EUGENIO       DURAN                        MO     90015316994
21812974391528   GILBERT       QUEZADA                      TX     90014229743
21813178451369   JENNIFER      KENNEDY                      OH     66029951784
21814439931631   CATHY         CRAWFORD                     KS     90010954399
21814445731456   BRITTANY      BREELAND                     MO     90012414457
21815434191984   CYNTHIA       OMERANI                      NC     17087934341
21815494891241   CANDIE        ROBERT                       GA     90014614948
21815512584364   ALEJANDRA     CABRERA                      SC     19063545125
21815853391241   BARBARA       WILSON                       GA     90010948533
21816532691984   GENARO        CORONADO                     NC     90004145326
21816613657157   PAMELA        BROOKS                       VA     90004536136
21817389591541   ALEJANDRO     QUIROZ                       TX     75013473895
21817447381661   STEVEN        FORD                         MO     90014664473
21818162991542   FRANCISCO     PIZARRO                      TX     90008241629
21818441581661   KELLY         JENNINGS                     MO     90012154415
21821385791541   GUILLERMIN    ORDAZ                        TX     75025133857
21821433484364   DANA          SIMMONS                      SC     19042804334
21821462631453   FRED          SPEARS                       MO     90014714626
21821593341245   GAYNELL       KING                         PA     90009495933
21822489784364   JOSE          OTRERA                       SC     90010834897
21823589947952   GRADY         FREEMAN                      AR     24003135899
21823632284364   SHUNADA       CURRY                        SC     90010416322
21824519455957   LUZ           SILVA                        CA     90014045194
21824664284364   LAKQUIN       WILLIS                       SC     90014166642
21824894255957   LUZ           SILVA                        CA     90014328942
21824938291833   CRYSTAL       HAMILTON                     OK     21083109382
21824963391241   CALEB         BROWN                        GA     90014729633
21826373531631   ASHLEY        HAIGLER                      KS     22046583735
21826696851365   ANTHONY       THOMPSON                     OH     90007936968
21827275831453   SHAUNA        CANNON                       MO     90014352758
21827277755941   IRENE         CASTRO                       CA     49077632777
21827715984364   DAWNEISHA     CHISOLM                      SC     90014167159
21828165181661   WENDY         ANDINO                       MO     90012321651
21828627157564   ALMA          GARCIA                       NM     90001146271
21829677891241   JASON         CLARK                        GA     90013056778
21829837785938   GATHELE       SPICER                       KY     67040228377
21829917255941   GRISELDA      AMBROSIO                     CA     90012959172
21831125484353   WANDA         GADSDEN                      SC     90001121254
21831477257157   ALICIA        KANU                         VA     90011494772
21831511791984   CIRILO        MARQUEZ                      NC     90015235117
21834732685938   JAIRO         REVOLORIO                    KY     90010187326
21834825581638   JOSE          QUEREVALU                    MO     90006098255
21834853431631   JEFF          STRAIN                       KS     90015008534
21835833584364   DYMOND        HUDSON                       SC     90014168335
21836346381657   ERIC          BLACK                        MO     90012453463
21838165555941   JUAN          LEAL                         CA     49001721655
21838352955957   DAISY         YEPEZ                        CA     90002863529
21839881751348   NATALIE       BROWN                        OH     90007628817
21841427461999   MARICELA      OROZCO                       CA     90010944274
21841583781637   WESLEY        BRIM                         MO     29032425837
21841615191541   JESUS         SALCIDO                      TX     75075856151
21841693147952   SAMARAH       JOHNSON                      AR     90010956931
21841861881661   TIREESE       BROWN                        MO     90002108618
21842153455957   BERNADETTE    THOMPSON                     CA     48090781534
21842371491984   LILLIAM       MATOS-FRANCO                 NC     90005413714
21843272991828   JAMES         HUHN                         OK     90013802729
21843615457157   JOSE          MEDINA                       VA     81028836154
21844682581638   BREE          MYERS                        MO     29059296825
21844918931453   LONNELL       HUNT                         MO     90012079189
21844944255957   NADIA         GARCIA                       CA     90012369442
21845394151343   MANUEL        BALLESTEROS                  OH     66096703941
21845585591241   ANITA         ANDERSON                     GA     90014705855
21848924381637   ORALIA        ROMERO                       MO     29054839243
21851976555941   LUISA         SANTOS                       CA     90005899765
21852418981661   BASS          MAN                          MO     90013974189
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21853388984364   VALMIRA       LOMBARDI                     SC     90014683889
21853444181637   JODY          COOLEY                       MO     90012894441
21854343955941   LINDSEY       HAYES                        CA     90009083439
21857249391241   SHARITA       JOHNSON                      GA     90013262493
21857256151343   LUCIO         TORRES                       OH     90010762561
21857377191828   ADAM          HAMMONDS                     OK     90011833771
21859152784364   CARLOS        MACIAS                       SC     90014181527
21859658655957   ELIZABETH     MENDOZA                      CA     90013936586
21861128655957   ELIZABETH     SOLORZANO                    CA     90013851286
21863226985955   JIMMILLE      CMCMULLEN                    KY     90005642269
21865457557157   DAISY         RUBIO                        VA     90000584575
21865637855941   MATTHEW       ALEXANDER                    CA     90007466378
21865829231631   MAHOGANY      SNEED                        KS     90009998292
21865955151343   BEVERLY       STEPHENS                     OH     90004559551
21866799881661   KARA          HUFF                         MO     90005177998
21867298955957   JOSE          GARCIA                       CA     90001922989
21868164451369   VICTORIA      GARDENER                     OH     90009051644
21868339691984   SHARISE       SMITH                        NC     90015033396
21868937231631   SUSAN         BREWER                       KS     22095269372
21868961855941   MARCELINA     HERNANDEZ                    CA     49077039618
21869126155941   MICHELLE      MIRELES                      CA     49095351261
21871272784364   JOSE          VERDE                        SC     90014182727
21872923161936   ANA ROSARIO   ULIVARRIA                    CA     90011499231
21873371491984   LILLIAM       MATOS-FRANCO                 NC     90005413714
21873691931631   JESUS         PEREZ                        KS     22015106919
21873985631453   TRINA         MCKENNEY                     MO     90006679856
21874122731453   KEANTE        MILLER                       MO     90007901227
21875596281661   TRACEY        BOER                         MO     29069315962
21876281881638   ARLONA        SHERRILS                     MO     90014842818
21877441331453   SHERISE       COOPER                       MO     27559094413
21878236257157   FREDY         CASTILLO                     VA     90013852362
21879162391541   NORMA         CANO                         TX     75078101623
21879651351343   GAUDENCIO     MANZANAREZ                   OH     90014906513
21879676571923   MINA          HA                           CO     90014046765
21879753284364   JOSE          GARCIA                       SC     90007707532
21881116455941   KATHEE        WILKEY                       CA     90000641164
21881788941245   RICHARD       WASHINGTON                   PA     51012447889
21884446493773   MARCUS        WILSON                       OH     64599134464
21884469355941   JESUS         PENA                         CA     90011384693
21884759181661   TONYA         GOODMAN                      MO     29008537591
21884869251343   IVA           WRITEBOL                     OH     90011008692
21885264381637   JEREMY        THURMAN                      MO     29012802643
21887471791984   TANASHA       DURHAM                       NC     90014724717
21888877531453   THERESA       MALLORY                      MO     90015268775
21889157181661   HEATHER       HARMAN                       MO     29085081571
21889979591984   ALEJANDRA     LOPEZ                        NC     90013659795
21891164991541   JACOB         DELGADO                      TX     75073481649
21891534385938   MEGHAN        LITTLE                       KY     90013985343
21893328391984   MARISELA      ESPINOZA                     NC     90012153283
21893627581661   DONNA         HYCHE                        MO     90002966275
21893842981637   THERESA       TAYLOR                       MO     90003328429
21894284631453   HEATHER       RANKIN                       MO     90008972846
21894686341245   ROBERT        WELCH                        PA     90012886863
21896224155941   SARA          ACKERMAN                     CA     90015482241
21896438757157   MARLON        ALVAREZ                      VA     90014104387
21896684561939   GEORGIA       RITZ                         CA     90008076845
21896832357157   EDGAR         TERCERO                      VA     90012408323
21896876491541   FRANCISCA     RAMOS                        TX     75028768764
21897547991541   BERTHA        CERVIN                       TX     75097805479
21897862791828   MARIA         VARGAS                       OK     90008838627
21898737981637   NICHOLE       GRAY                         MO     29050637379
21899312455957   ROSA          GARCIA                       CA     48018393124
21899772481637   SHALI         WARE                         MO     90014877724
21899986857157   OLIVIA        DOLLED                       VA     90014599868
21911831751365   THERESA       SELDON                       OH     90006028317
21912494741245   GWENDOLYN     BROWN                        PA     90014664947
21912799881661   KARA          HUFF                         MO     90005177998
21915399555957   STEVEN        JIMENEZ                      CA     90005883995
21915843484364   NICHOLAS      BAILEY                       SC     90003428434
21916233755957   RODRIGO       VILLAPANDO-DURAN             CA     90012942337
21916299481637   ROSHONDA      OLIVER                       MO     90004932994
21917161231453   SHIRLEY       SMITH                        MO     27589101612
21917469491828   WESLY         WALKER                       OK     90013124694
21918112981637   TABITHA       MORRIS                       MO     90012701129
21921192181639   JOSEPH        CARR                         KS     90001351921
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21922221355957   ANTHONY       ANGEL                        CA     48043752213
21923365984364   TYREN         GAINES                       SC     19007593659
21923491891828   AUSTIN        BLAYLOCK                     OK     90008564918
21924425647952   PRESPON       SOUTHALL                     AR     90015584256
21926325957157   JOSE          DIAZ                         VA     90012313259
21928231957157   KESHAWNA      JONES                        VA     90014472319
21929168981637   DAVID         MAINES                       MO     90013271689
21929295981661   KARLA         DELEON                       MO     90008512959
21929526755941   COTY          RECEK                        CA     90014525267
21933247391984   ADELSO        PEREZ                        NC     90012612473
21934631391984   AMBROSE       GREENE                       NC     90014866313
21934882755957   CATHERINE     VERISSIMO                    CA     90008738827
21934936951343   TRINA         HEARD                        OH     90011349369
21935159793754   RACHEL        MARTIN                       OH     90013441597
21941929941245   NICHOLE       GOYDA                        PA     90011249299
21943565731631   KIM           STRICKLIN                    KS     90013255657
21943789284364   TAMESHA       WIGFALO                      SC     90014197892
21944334781637   YAZMIN        MARQUEZ                      MO     90011073347
21945165557157   PHILIP        KING                         VA     90012341655
21945311631453   SHANICE       JOHNSON                      MO     90015543116
21945465155941   VICTORIA      BAUTISTA                     CA     49033764651
21945485391541   SIMENTAL      KARLA                        TX     90012804853
21946223351333   AMBER         HOUSTON                      OH     90001702233
21946938841245   DAVID         HUGHES                       PA     90011249388
21947578531453   ASHLEY        LAWSON                       MO     90014885785
21953518231441   VISNJA        MCCULLAR                     MO     27561175182
21953569384364   ARMANDO       HERNANDEZ                    SC     19080215693
21953695355941   ZORAYA        VALIENTE                     CA     49012466953
21954544941245   JOSE          ROMERO                       PA     90013335449
21955395871945   CASSSIE       BERNARD                      CO     90013333958
21956132233126   MARCUS        JOHNSON                      IL     90015611322
21956187891241   ALICIA        PATTERSON                    GA     90014761878
21957697457157   ANTHONY       MENNELLA                     VA     90012486974
21958543331631   DAWNISHA      WILLIAMS                     KS     90014005433
21958581781668   CATEISHA      LEE                          MO     90001835817
21958715785938   TIFFANY       HARRIS                       KY     90011357157
21959139791984   DEANNA        ANDERSON                     NC     90014161397
21959339247952   ARABELLA      THOMAS                       AR     90005043392
21959349231453   JOWANA        JOHNSON                      MO     90013743492
21959649247952   ALLEN         LANE                         AR     24007946492
21959742557157   TIA           RICHARDSON                   VA     90014917425
21959912291828   CHEYENNE      PARKER                       OK     90014289122
21964244855957   DANIEL        RAMIREZ                      CA     48009192448
21964279347952   NORMA         HERRERA                      AR     90011242793
21965813391984   JUAN          RODRIGUEZ                    NC     90013138133
21966946384364   ELIZABETH     SLOSS                        SC     90014199463
21967771991541   ELIZABETH     ALANIZ                       TX     90015017719
21967946384364   ELIZABETH     SLOSS                        SC     90014199463
21969661391528   LILIA         MONDRAGON                    NM     75084836613
21971488355957   ASHLEY        GONZALES                     CA     90007714883
21971643781637   MANUEL        RAMIREZ                      MO     29061496437
21972289781637   LACRISHA      GEORGE                       KS     29011842897
21972475947952   BRANT         STILLWELL                    AR     90014284759
21973318591828   ANTHONY       MEANS                        OK     90013323185
21973513381661   ALBERT        WILLIAMS                     MO     90013215133
21974664281661   CLAUDIA       NUNEZ                        MO     29075286642
21975183131699   DARIA         BATHGATE                     KS     22081651831
21975187755957   GEORGE        GARCIA                       CA     48036511877
21975385255941   SALVADOR      ZUNIGA                       CA     90012483852
21976374981661   JACKIE        MCAFEE                       MO     90011023749
21978879891828   DWIGHT        JONES                        OK     90009928798
21979222181661   LORA          HANEY                        MO     90002682221
21979731451343   EMANUEL       STANBACK                     OH     90005587314
21979859131437   BELINDA       ARMSTRONG                    MO     90009628591
21979978931631   CLINTON       LEMOINE                      KS     90005169789
21981873781638   ERICA         NELSON                       MO     90010958737
21982464541245   KRYSTAL       KRIEGER                      PA     90013014645
21982596657157   LETISHA       SCOTT                        VA     90011005966
21983381884364   DEMOND        LANCE                        SC     90011993818
21984164347952   CHAN          SAITANG                      AR     90015171643
21985142331453   NICHOLE       CHICK                        MO     90012451423
21986678751333   JOSEPH        EHRMAN                       OH     90014696787
21987778691541   DANIEL        TARIN                        TX     75006867786
21987868247952   QASIM         ABDUL-KHALIQ                 AR     24023948682
21987873881661   BRIGITTE      EMERSON GREGG                MO     90010848738
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21989323355957   JORGE            HERNANDEZ                 CA     90013083233
21989378891984   MARIA            MUNOZ                     NC     90013803788
21989856447952   APRIL            HOUSTON                   AR     90015178564
21989949455941   ALBERTO          BOJORQUEZ                 CA     90015389494
21991315131453   ODIE             LACKEY                    MO     90015543151
21991527955941   BERNADETTE       ESTRADA                   CA     90014525279
21991531891541   BLANCA           SILVA                     TX     75088685318
21992448291241   JAMEEL           SHAMSIDDIN                GA     90015174482
21992774193773   RASHAWNDA        YOUNG                     OH     90005297741
21993447391828   TONY             JONES                     OK     90013974473
21993982141245   MICHAEL          WELSH                     PA     51029579821
21994948291541   MARCOS           RIOS                      TX     75051539482
21997292857157   GORE             MITCHELL L                VA     90014522928
21997858791241   DANNY            PATTERSON                 GA     90003168587
21998182581661   MARIE            JOHNSON                   MO     29059221825
21998576781637   MARIA            ROJAS                     MO     90015025767
21998868455957   IRENE            CERTA                     CA     90012898684
22111345277977   BRENDA           DOMINGUEZ                 IL     90000883452
22112265885938   RASHA            BRYSON                    KY     90014642658
22112352133644   ELIZABETH        CORNEJA                   NC     90007963521
22112645691251   LADARION         FONSECA                   GA     90015516456
22115822855957   KELLY            DOBBINS                   CA     90001548228
22117654691241   EILEEN           BEASLEY                   GA     90014866546
22117931591522   FABIOLA          SANTILLAN                 TX     90012609315
22121546991522   MARIA            RAMIREZ                   TX     90012615469
22123623993773   SAMMY            HOZE                      OH     90006336239
22125619591522   DANIEL           MEDRANO                   TX     75035786195
22127589691541   MARIA DE JESUS   RIVERA                    TX     90012025896
22127879491828   CHASITY          BATTLES                   OK     90013748794
22128725385938   MICHAEL          JORDAN                    KY     67061167253
22129487591522   GILBERTO         RIVERA                    TX     90012864875
22132254291828   ANGELIQUE        MILLER                    OK     21054262542
22134155181637   JOSE             RODRIGUEZ                 MO     90011781551
22134361291541   FRANCISCO        ALVARADO                  TX     90010713612
22134685485938   OLIVER           PEREZ                     KY     67005286854
22134825791522   MARIO            VALENCIANA                TX     90007798257
22134934891251   ZACHARY          PAYNE                     GA     90015599348
22136299181661   MARY             BLAKE                     MO     90014292991
22136523855957   PATRICIA         MCGLORTHAN                CA     90012975238
22138899955957   JOSEPH           ALBERTSON                 CA     90010158999
22141782791828   VANNA            DORSEY                    OK     90013167827
22141798891241   JOCELYN          KNIGHT                    GA     90013007988
22141941231453   KEN              JONES                     MO     90013969412
22142479531453   JASON            HARPER                    MO     90007374795
22143372891241   TONYA            ORANGE                    GA     90011133728
22145871485938   ASHLEY           HUFNAGLE                  KY     90012888714
22147417231453   ADAM             KESHINOVER                MO     90010494172
22149938591541   AMY              JIMENEZ                   TX     90007769385
22151372131631   CHARLES          TOMLINSON JR              KS     22063473721
22151614654163   ERIC             HIESTAND                  OR     90000846146
22152252877576   EVA MARIE        SPEARS                    NV     90010162528
22152614654163   ERIC             HIESTAND                  OR     90000846146
22153813791251   WYATT            HUTCHISON                 GA     90012338137
22154798891241   JOCELYN          KNIGHT                    GA     90013007988
22154818581661   JAMIE            RUFF                      MO     90004778185
22156667931453   STEPHEN          JOSEPH                    MO     90013236679
22157131255957   DAHNE            FRAKER                    CA     90002381312
22158435691828   TONYA            RICHARDSON                OK     21013964356
22159333281637   GADOR            FLORIDO                   MO     90011783332
22161286885938   JOHN             FREELAND                  KY     90015302868
22161711393773   STACEY           HODGE                     OH     90006767113
22163617955957   GUADALUPE        ESPINOZA                  CA     90014066179
22164969855957   JUAN             QUINTERO                  CA     90004699698
22167967291241   DARNELL          SINGLETON                 GA     90014729672
22168865491241   EMILY            LOUDER                    GA     90011988654
22169827755957   JOSE             ALBERTO                   CA     90015318277
22171265391541   BERNIE           ESPARZA                   TX     75043552653
22172238831631   CARISSA          VINCE                     KS     22018102388
22172696455957   GILBERT          ESCALANTE                 CA     90010776964
22173845785938   JOHN             ASEERE                    KY     90005838457
22175415831631   BECCA            PHILLIPS                  KS     90014244158
22175457881637   RAUL             QUINAREZ                  MO     90001974578
22175935755957   BOBBY            BOX                       CA     48052429357
22177122284364   BRITTANY         MCNEIL                    SC     90010941222
22177343391251   JESSICA          IVEY                      GA     90015083433
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22179148655936   JOSE          HERNANDEZ                    CA     90003601486
22182583831453   SHERELL       SWINK                        MO     90009855838
22183169155957   LUIS          LEMUS                        CA     48007121691
22184414151369   BREA          BULLOCK                      OH     66002614141
22185388155957   OSCAR         TORRES                       CA     48000043881
22188813251325   SHELI         MILLER                       OH     66087168132
22188921531631   DEBRAH        COOK                         KS     22059939215
22191528747952   CARISSA       MARTINEZ                     AR     90014465287
22192156791251   KASAUNDRA     BROWN                        GA     90013591567
22192329891251   TERESA        ALMARAZ                      GA     90015223298
22192793555957   THANIA        BENITEZ                      CA     48097857935
22193455331631   DESEREE       WHITAKER                     KS     90003424553
22194237885938   JOSE          GOMEZ                        KY     90014652378
22194468681633   JEREMY        BYRNE                        MO     90009594686
22196635455957   ADELFO        MARTINEZ                     CA     90012066354
22197398181661   SADIA         SIYAKE                       MO     90015023981
22197682591522   JOLYNN        GARCIA                       TX     90015116825
22197814355957   JUDITH        TORRES                       CA     90001578143
22198941791522   NANCY         LECHUGA                      TX     75019949417
22199385531453   JACKIE        GILMORE                      MO     90010883855
22199766291528   CELIA         NAVARRETE                    TX     90007387662
22212643585938   JESSICA       LAX                          KY     90010516435
22213357381658   BARRY         JACKSON                      MO     90013673573
22213429891241   CAROLYN       MILTON                       GA     14571424298
22213699391541   DOMINGUE      DIAN                         TX     90009856993
22216156651321   JOE           SOUTHERLAND                  OH     90012151566
22216338285938   MITCHELL      VIZTORIN                     KY     90005773382
22216695691828   YUGI          ARASHIRO                     OK     90014486956
22216741791522   KARINA        HERNANDEZ                    TX     90011857417
22217179281638   SHUNELL       STEWART                      KS     90004441792
22217765191251   TIJUANA       MINOR                        GA     90011887651
22218979755957   DUSTIN        REYNOLDS                     CA     48012629797
22222339131631   RON           TIDWELL                      KS     22031613391
22222546181637   MARY          DANIELS                      MO     90011785461
22223595985938   JASMINE       HOUSTON                      KY     90005965959
22224781185938   ALICIA        OWENS                        KY     67036967811
22224821484364   STEPHINE      JOHNSON                      SC     90008848214
22225342391828   BARBARA       TORRE                        OK     90008953423
22227151833126   MIRRIAM       PINA                         IL     90015591518
22227214684364   NORISSIA      BONNEAU                      SC     90008852146
22227298131453   STEPHANIE     HALL                         MO     90014712981
22227647591241   TOMOU         HARRIS                       GA     90014696475
22229615581638   GILDA         RANGEL                       MO     29088996155
22229969891541   EMMANUEL      VASQUEZ                      TX     90003079698
22231691791522   HOCHMAN       VAZQUEZ                      TX     75013056917
22232528491522   MAYRA         RIVERA                       TX     90007855284
22233715691522   JHOANA        FRANCO                       TX     90011477156
22233751291251   KATHY         YOUMING                      GA     90014927512
22233781884364   JORGE         ORTIZ                        SC     19068857818
22236225541245   JENNIFER      CANTU                        PA     51085252255
22239314147952   FELCIA        KALYOR                       AR     90014563141
22241296941245   BRITNEY       PELMON                       PA     51086932969
22242359493773   MICHAEL       EBBING                       OH     90006633594
22242534155957   MONICA        INGHAM                       CA     48017665341
22243282991828   TABITHA       PARENTI                      OK     90014852829
22243435691589   MARCO         BAEZA                        TX     90010764356
22245386691828   CARMEN        PEREZ                        OK     21006713866
22247165185938   LINDA         HAGGAED                      KY     67062461651
22247455691251   TIFFANY       UTLEY                        GA     90013354556
22247674691541   ELIZABETH     TOSTADO                      TX     90012616746
22248368947952   DARA          LOGAN                        AR     90000323689
22249889655957   CINDY         QUEZADA                      CA     90011658896
22251161431453   MCINNIS       CATHLENE                     MO     27502081614
22253887455997   DOMILTA       MARTINEZ                     CA     90003928874
22254334171963   DAVID         VALLIER                      CO     90013203341
22257947491528   PAULA         VARGAS                       TX     75010419474
22258428581661   CARLOS        DUMIAB                       MO     90015104285
22261144791881   TAMELA        MILLER                       OK     21093721447
22261267491241   ISRAEL        FLORES                       GA     90010122674
22261729641245   CONRAD        MAYO SR                      PA     51007277296
22263925985938   BILLIE        DEGARIS                      KY     67046389259
22266114885938   SAMANTHA      LIGHTFOOT                    KY     90010891148
22267127591828   SHELBY        MCMORRIS                     OK     90012901275
22267842555957   GABRIEL       MAGEE                        CA     90012598425
22268293361985   LISA          STENSVAD                     CA     46086922933
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22268326955957   MIGUEL            CONTRERAS                CA     90014363269
22269178191828   LISA              OCANAS                   OK     90008821781
22269525451369   PHARON            CRUSBY                   OH     66017305254
22271181691528   MARIA             MEDELES                  TX     75018051816
22272497447952   SAUL ADULBERTO    BARDALES                 AR     90002664974
22274913131453   MATTHEW           SHERMAN                  MO     90014039131
22275338991522   ROBYN             SUZANNE                  TX     90007283389
22276194585938   HALEY             WARD                     KY     90008951945
22281156181637   MARLON            CALLIER                  MO     29063431561
22282285291522   KERMIT            GARRETT                  TX     90010962852
22283835293773   CASSANDRA         DOANE                    OH     90012298352
22284557881661   MONICA            BUSH                     MO     90008525578
22284718631453   SAMANTHA          FIREBAUGH                MO     90003987186
22284769791541   LOPEZ             REGINA                   TX     90013297697
22285265485938   DOUGLAS           TAYLOR                   KY     90008502654
22285828284364   TROY              MCCLAIN                  SC     90011368282
22287223271923   TEDOSHA ROCHELL   CUMMINGS                 CO     90003812232
22287832985938   CRYSTAL           HAMMONS                  KY     90014668329
22288337791541   EVELYN            NUNEZ                    TX     75051383377
22288431891541   FERNANDA          MONSERAT DUARTE          TX     90014944318
22291211447952   SHAMEKA           MITCHELL                 AR     90007602114
22293521785938   DESTINY           NANCE                    KY     90015345217
22293524731453   ARNEL             BLAIR                    MO     90014875247
22293532547952   MISTY             MILEY                    AR     90000325325
22293967291522   RUBEN             ARMENDARIZ               TX     90003069672
22294585791828   JENNIFER          GARCIA                   OK     90014945857
22295528431453   EBONY             FINNIE                   MO     90014875284
22296241291541   ROBERTO           MAGANA                   TX     90013962412
22296835555957   LEO               BONIFICA                 CA     90012568355
22298752755957   JOSE              CUEVAS                   CA     48076047527
22311491438525   CHASITY           MORTENSEN                UT     90004394914
22311649231631   NATHANIEL         VINSON                   KS     90015046492
22312621741245   RILEY             BLAKE                    PA     90009976217
22313195641245   APRIL             FULLER                   PA     51094081956
22314259955957   JUAN              CORNEJO                  CA     48048642599
22314718157544   FRANK             ADLER                    NM     90014167181
22316488485938   MARY              BELLAMY                  KY     90009214884
22316534851369   SHEILE            GUENTHNER                OH     90007205348
22318298891251   ANTWAN            ROBERTS                  GA     90014952988
22321121831453   PAUL              BROWN                    MO     27559491218
22321176631631   ERIC              FELKER                   KS     22006471766
22321866591241   WILLIAM           WEBB                     GA     90013008665
22322889591828   KIMBERLY          POLLACK                  OK     90009858895
22324681977523   MARISSA           MARTINEZ-POTTER          NV     90000716819
22325514131453   LAWRENCE          PARKS                    MO     27517125141
22326374855957   LAMBERTO          LARA                     CA     90011523748
22326685991828   RICK              HILL                     OK     90011966859
22327657193773   AMANDA            BUSH                     OH     64567896571
22328462891251   OMAR              VAZQUEZ                  GA     90013604628
22332716555957   LYLE              RITCHIE                  CA     90012157165
22333211941245   CARL              NEELY                    PA     90007082119
22333485291541   GLORIA            SALAS                    TX     75036634852
22333853191522   CARMEN            BEALL                    TX     75078168531
22334147293721   PETER             ANEI                     OH     90011841472
22334199281661   MARCO             AVILA                    MO     90014831992
22335833791541   JOE               SALAZAR                  TX     90014858337
22337418241963   CATHERINE         BONNER                   OH     90012014182
22337479194984   JAMES             MULICK                   CA     90015094791
22339571391522   ALEJANDRA         CENICEROS                TX     90011305713
22341959191541   NANCY             DE LA CRUZ               TX     90004209591
22342411691522   GUADALUPE         ARMINIO                  TX     90012064116
22343396891541   ERNESTO           ZAPIEN                   TX     75035083968
22345787791522   JAIME             URANGA                   TX     90013427877
22345887791241   JAMES             GEIGER                   GA     90010318877
22346198755957   PABLO             CABRERA                  CA     90015231987
22348512691251   ANGEL             COLLINS                  GA     90011105126
22348629261959   LISA              HUNTSMAN                 CA     90015176292
22351544185938   TROY              BLACK                    KY     67064465441
22352932447952   GENA              COOK                     AR     24085899324
22354444391522   MARIA             RODARTE                  TX     75016274443
22357149991967   MARISSA           REYNOSO                  NC     90015101499
22361233191241   JENNIFER          ESQUIRE                  GA     90013972331
22361616781637   LORI              DAVIS                    MO     29097436167
22361628485938   KANDRA            FERNANDEZ                KY     90014716284
22361956491828   CESAR             VEGA                     OK     90014829564
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22362932691525   CARLOS       ALVARADO                     TX     90003359326
22362964791541   GABRIELA     HERNANDEZ                    TX     75074019647
22364255131453   DWAYNE       THOMPSON                     MO     90012532551
22364455191241   DESMOND      HARVEY                       GA     90013474551
22365675591541   MARIA        PORRAS                       TX     90009956755
22365745547952   BOBBY        MANNING                      AR     90013947455
22365872791241   CHIFFON      LAVANT                       GA     90013948727
22365911391828   MICHELLE     WALKER                       OK     90010299113
22368697291251   BRAD         FREEMAN                      GA     90013126972
22371113336165   FERMINA      GARCIA                       TX     90007511133
22372397491541   MAYRA        NORIEGA                      TX     90010993974
22372632161877   JOE          BUCKINGHAM                   IL     90002036321
22373372581637   LATONYA      EVANS                        MO     29031533725
22373432661977   DIANE        GARAY                        CA     46090834326
22373593555957   YAIR         ORTIZ-LOPEZ                  CA     48023555935
22373692584364   TAMMY        DOUGLAS                      SC     90010306925
22374524231453   ERIC         ANDERSON                     MO     90011575242
22375833831453   SHANNON      HAYES                        MO     90012718338
22376222584364   JULIE        JACKSON                      SC     90000222225
22376361381661   GARY         DUNFIELD                     MO     29006613613
22376617985938   ANNA         CHILDERS                     KY     90014706179
22381563331453   JEAN         REED                         MO     90013415633
22382421555957   JONES        DANA                         CA     90014804215
22382894691528   ARMANDO      TERCERO                      TX     75092908946
22383426391522   STEPHANIE    PHILLIPS                     TX     90010744263
22384721985938   RAYMOND      CANE                         KY     90014707219
22384786231631   SUSAN        SZYMKOWICZ                   KS     90014627862
22387159385938   ASHLEY       BARGER                       KY     90006431593
22387184591541   GREGORIO     ROSALES                      TX     90012801845
22387472947952   EDWARD       GRAHAM                       AR     90014024729
22387598891522   JOSE         ROGERS                       TX     75021265988
22389177681637   STEVE        EMBERTON                     MO     90008291776
22391333191522   ERNESTO      ROJAS                        TX     90004713331
22392846541245   NASTASSJA    REESE                        PA     51087078465
22393144461939   TRACY        TAPIA                        CA     90014021444
22393653941245   DEBRALYNN    FERRARO                      PA     51029026539
22394745291241   JIMMY        LEE                          GA     14579857452
22396744591828   JEROME       VERNON                       OK     90012157445
22397831131631   STEVE        LEE                          KS     90014628311
22398115381661   RYAN         BIGGS                        MO     90014331153
22398592685938   TAMARA       CARTER                       KY     90010715926
22399267751329   AMY          SCHAFFER                     OH     90013922677
22411656347952   JUAN         HERNANDEZ                    AR     90001566563
22411658691522   MIGUEL       ALDERETE                     TX     90014046586
22412437381661   RANDY        SPARKS                       MO     90012404373
22415173291828   JEREMY       PENDERGRAFT                  OK     90014581732
22415941191522   DEBRA        MORRILL                      TX     90002609411
22417256891828   NICK         SCANLON                      OK     90004212568
22418986485938   ARIELL       HAYES                        KY     90014719864
22421189547952   ANDREW       MALOUF                       AR     90004451895
22422432591541   MICHAEL      KNIGHT                       TX     90008114325
22422526491522   JOSUE        BARBOSO                      TX     75016225264
22423437547952   CAYSEY       DUTTON                       AR     90014484375
22423684481637   REBECCA      WILLIS                       MO     29015586844
22423693885938   TANYAUA      OLIVER                       KY     90009386938
22424545431631   ROSA         RIVERA                       KS     90013995454
22424881691541   ANA          ROMERO                       TX     90009478816
22425719891251   SHENNA       PRINGLE                      GA     90009317198
22427565691251   PRECIOUS     ALLEN                        GA     90011105656
22428215181661   MIKELA       OLIVER                       MO     29010862151
22428722491541   MARTHA       HERRERA OLIVAS               TX     90015107224
22428835581661   CURTIS       RICKS                        MO     90014988355
22431689193773   DEBORAH      WENING                       OH     64568176891
22432134341245   CYRIL        PETER                        PA     90011421343
22433324791522   SERGIO       TORRES                       TX     75005073247
22434283155957   ROBIN        CHRISTIANSEN                 CA     48012092831
22436134341245   CYRIL        PETER                        PA     90011421343
22437117531453   LADORIS      HARWELL                      MO     90013191175
22437136531453   LADORIS      HARWELL                      MO     90008381365
22437369141281   PHILIP       NORKEVICUS                   PA     51007423691
22437874931453   LADORIS      HARWELL                      MO     90014538749
22438412285938   SONIA        GARCIA                       KY     67038224122
22439742555957   LAVONNE      HARRIS                       CA     48088057425
22442521121929   ALEX         KISZENIA                     IN     90015355211
22444271581638   GILLIAM      CLARK                        MO     90005822715
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22445634655957   ANAMARIE     DELGADO                      CA     90009036346
22446296691541   ROXANNE      OAXACA                       TX     75051382966
22447793691522   WILLIAM      MARTINEZ                     TX     90007567936
22448669757144   PETER        VAZQUEZ                      VA     90006056697
22452523451369   FIDELIS      OGHOJAFOR                    OH     66054005234
22453133484364   AL           RAVENELL                     SC     19022791334
22453273355957   CINTIA       GONZALEZ                     CA     90012142733
22453664691828   CRICKETT     JORDAN                       OK     90008096646
22455322791541   BRIDGET      BELLE                        TX     90009193227
22458484947952   SIDNEY       GARRETT                      AR     90013114849
22459287547952   TIFFANY      CHANDLER                     AR     90014782875
22462398991522   TODD         LOCASTRO                     TX     90012413989
22464852791827   NORMAN       TALLY                        OK     90009728527
22466876295637   ZAIDA        SILVA                        TX     90012668762
22467191155957   MATHEW       ROGER                        CA     48019641911
22468565191828   GABRIEL      BLAKE                        OK     21091015651
22468915493773   BRADLEY      WHEELER                      OH     90008979154
22471292531453   JOY          BISHOP                       MO     90006352925
22472741391522   ERIC         VELEZ                        TX     75057407413
22474462947952   ERASMO       SAN MARTIN                   AR     24059084629
22475878947952   SAM          HARRIS                       AR     90009748789
22476384791522   MARIA        RAMOS                        TX     90003993847
22478238181661   SANDRA       DICKSON                      MO     29074202381
22481341585938   CHRIS        MANNING                      KY     90013653415
22481583431453   BRIDGET      WOODFORK                     MO     90010805834
22482227193773   BRANDON      THOMASSON                    OH     64530342271
22485316181661   MESHANNA     JACKSON                      MO     90006363161
22485686791828   DARREION     CLARK                        OK     90010836867
22485782155957   JESUS        VILLASENOR                   CA     90012177821
22486142691828   JENNIFER     ALEXANDER                    OK     90012141426
22488185591522   JOHNNY       MARTINEZ                     TX     90001481855
22489223285938   JASON        PARKER                       KY     67016112232
22491622991828   LAURA        GAROUTTE                     OK     90010226229
22492623447952   JESSICA      ARTHUR                       AR     90011276234
22492819277381   ENRIQUE      FLORES                       IL     20597158192
22493143591541   CONCHITA     ROBLES                       TX     90013561435
22493223285938   JASON        PARKER                       KY     67016112232
22494853921929   JUSTIN       ROEHR                        IN     90015348539
22497111184364   GRETA        MCCLARY                      SC     19059651111
22498346191828   CRYSTAL      SMITH                        OK     21091233461
22512859491522   ROBERTO      MONTOYA                      TX     90015048594
22512919891541   EMMANUEL     ALCAZAR                      TX     90006939198
22514953181661   PHILMORE     HAMILTON                     MO     29054279531
22516411261957   LAURA        GONZALES                     CA     46013064112
22516624291522   PILY         MOLINAR                      TX     90010976242
22517412291541   MARIA        MARQUEZ                      TX     90010994122
22518777493773   SEAN         MIDDLETON                    OH     64515187774
22522412291541   MARIA        MARQUEZ                      TX     90010994122
22522799191828   LAURA        GREGORY                      OK     21017977991
22523991591885   ANGELA       BLACKBURN                    OK     90007039915
22524224191528   CARMEN       CARDOZA                      TX     90013682241
22525162484364   RACHEL       BOWLES                       SC     90005881624
22525535955957   EVELYN       ESCARENO                     CA     48035135359
22525577191522   HERNANDEZ    YANETH                       TX     90011305771
22526345841245   RODNEY       DAVIS                        PA     51007063458
22526762855957   YVONNE       LUNA                         CA     90005797628
22527581731631   TANISHA      STARR                        KS     90011085817
22528472391522   ABEL         BARRIOS                      TX     90014874723
22528537593773   ALYSSA       LOWE                         OH     90005245375
22531261691528   ELSA         ARRIAGA                      TX     75096022616
22533689691528   TATIANA      BARRAZA                      TX     90003416896
22533918481661   JEFFERY      GEOGHEGAN                    MO     90014429184
22533935381661   TASHA        BEALS                        MO     90004769353
22534292991828   CRYSTAL      COX                          OK     90014152929
22535141955936   SERAFIN      ESPINOZA                     CA     90005271419
22535478951338   DAVE         CHASE                        OH     66087434789
22536835185991   JIM          BOYERS                       KY     66084038351
22536882591522   VERONICA     BETANCOURT                   TX     75000458825
22537412291541   MARIA        MARQUEZ                      TX     90010994122
22538158751369   BECKY        MURPHY                       OH     90006901587
22539185947952   LESLIE       DOROTHY                      AR     24002941859
22542134291241   PAYGO        IVR ACTIVATION               GA     90012451342
22542439255957   MAYRA        RAMOS                        CA     48083044392
22544128581637   ISRAEL       GARCIA                       MO     90011801285
22544264485938   STEPHANIE    GONZALEZ                     KY     90014742644
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22544439391828   MONICA       WALKER                       OK     90008894393
22547571455957   VERONICA     MALDONADO                    CA     90009595714
22548189185834   LORI         ROY                          CA     46068701891
22549532681637   JENNIFER     GUZMAN                       MO     29088055326
22549893385938   FRANK        CLOUD                        KY     90008798933
22549926491541   BECKY        DIAZ                         TX     90013269264
22553115247952   ASHTON       CARNEY                       AR     90011591152
22553268791828   TALICIA      RAESON                       OK     90009192687
22555423333126   JOSE         JUAREC                       IL     90013154233
22556455655957   MIGUEL       CORONA                       CA     90014804556
22556775947952   ROBERT       NUNNERY                      AR     24047507759
22558649593773   NANCY        DAVIS                        OH     64530966495
22559479381661   PATRICK      GEORGE                       MO     90013334793
22561169991522   EMMA         CARDOZA                      TX     90009281699
22562589441245   ELIZABETH    CAMERON                      PA     51000445894
22565497485938   KIMBERLY     WALKER                       KY     90004424974
22567825555957   EVERT        SAUSEDO                      CA     90006938255
22569432761963   FRANKLIN     OROZCO                       CA     46007614327
22569437985938   ANTOINE      JACKSON                      KY     90014744379
22571133991528   MARCO        SOSA                         TX     90006621339
22572288291241   TONNYA       BRADSHAW                     GA     90011952882
22572343191541   ROSA         VELEZ                        TX     90000513431
22573446385938   MARTHA       PEREZ                        KY     90014744463
22574127585938   CRYSTAL      DEERING                      KY     90014761275
22575174991541   HUMBERTO     AGUIRRE                      TX     90012371749
22575884155957   ERICA        LUPERCIO                     CA     90000448841
22575995184364   EARL         GRANT                        SC     19068419951
22576127585938   CRYSTAL      DEERING                      KY     90014761275
22576292991828   CRYSTAL      COX                          OK     90014152929
22578383881637   JEREMY       WEST                         MO     29005333838
22579733391241   ASHLEY       BENTA                        GA     90014877333
22582468955957   TRISH        MARTINHO                     CA     48061054689
22582615555977   REBECCA      GOFORTH                      CA     90013646155
22585175885938   KASSONDRA    COBB                         KY     90014761758
22585732791541   MIRANDA      ARELLIN                      TX     90008127327
22586316481637   MARQELL      STINSON                      MO     29007233164
22587929585938   RIVERA       RICARDO                      KY     90006779295
22587985491541   RITA         ALMANZAR                     TX     75082549854
22588122441248   COURTNEY     EZZO                         PA     90008051224
22588751791522   JOVANNA      ARMENDARIZ                   TX     90009257517
22589154931631   CHRISTOPHE   JONES                        KS     22052461549
22589461391522   ANTONIO      SILVAS                       TX     75007474613
22589659155957   AMALIA       GUTIERREZ                    CA     48068446591
22589837461877   TIMOTHY      BENNETT                      MO     90011888374
22591978247952   MARYLIN      SIFUENTES                    AR     24007339782
22592494385938   STEPHANIE    TRAVIS                       KY     90014744943
22597848555957   PERLA        MORENO                       CA     48069198485
22611717291522   ISABEL       MENDOZA                      TX     90013567172
22611841747952   JAIME        MEJIA                        AR     90013138417
22612361191528   MARIA        CHAVEZ                       NM     75093003611
22612394591522   VERONICA     CRUZ                         TX     90010033945
22615964631631   ETHEL        MERCER                       KS     90014639646
22618323591522   BRISSA       SALAS                        TX     90014843235
22619521391241   JAMIE        BRIANS                       GA     90009575213
22621332381637   BRENDA       HICKS-WIGGINS                MO     90011813323
22622155831631   MICHAEL      PLANK                        KS     22077071558
22622157161921   MARIA        CALDERON                     CA     90010511571
22624195291541   JAMES        CHILDRESS                    TX     75034941952
22624928485938   MARICELA     MAST                         KY     90014719284
22625351291541   NORMA        PONCE                        TX     90001433512
22625432281637   DAVID        CATER                        MO     90011804322
22625992591522   JAY          JAMES                        TX     90014649925
22626664484364   ERICK        ALVA                         SC     90013166644
22628213447952   KIMBERLY     GRAHAM                       AR     90013942134
22632297585938   LATISHA      AUSTIN                       KY     90014762975
22632349947952   BRENDA       RUIZ                         AR     90014573499
22633185393773   MIKE         NALLS                        OH     64558831853
22633297585938   LATISHA      AUSTIN                       KY     90014762975
22634358171923   WILLIAM      HIGHTOWER                    CO     90014843581
22634487855957   IGNACIO      AGUILAR                      CA     90000694878
22634685185646   NORMA        ROBLERO                      NJ     90006016851
22635891485938   SHANNON      PIERCE                       KY     67034688914
22636848881661   TEASIA       CLARK                        MO     90014648488
22637315255957   CONSUELO     RAMIREZ                      CA     90014483152
22637538181661   RYAN         TAYLOR                       MO     90014885381
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22639987991522   BRITNIE      COMER                        TX     90009829879
22641598281637   NICHOLE      ANDREWS                      MO     90011805982
22642333391241   APRIL        BROWN                        GA     90009763333
22642418991541   ARTURO       ORDOQUE                      TX     90012154189
22643211891241   REBA         CARTER                       GA     90013952118
22644513655957   FABIAN       ESTRADA                      CA     90014455136
22645342385938   VIVIAN       TIRABASSI                    KY     90014763423
22645369881661   JOHN         WENDLETON                    MO     90011153698
22648412685938   LACY         FERRELL                      KY     90014764126
22651236991251   AHMAD        JACKSON                      GA     90008252369
22651441691528   HILDA        ROMERO                       TX     75070444416
22651818247952   RANDALL      TRIPP                        AR     90014048182
22652763181637   MICELLE      TOOLE                        MO     90004617631
22653932291828   ROBERT       CONWELL                      OK     21055879322
22655396231453   DEMEKO       BECK                         MO     90009563962
22656359491528   PATRICIA D   TORRES                       TX     75053033594
22658868691241   TORRIS       SMITH                        GA     90005738686
22661794591522   MARIBEL      DE SANTIAGO                  TX     75078337945
22666441231631   SHERRYL      HALFHILL                     KS     22083564412
22666759761925   ISAIAS       ANGULO                       CA     90001367597
22667828191241   XAVIER       BEAMON                       GA     90013688281
22668361281661   RUBI         ORTEGA                       MO     90015313612
22671465126249   NORA         GUSTAFSON                    WI     90010924651
22671742731453   SIDNEY       STEBLETON                    MO     90012557427
22672326691522   ABRAHAM      MEDINA                       TX     90014843266
22673444757564   EDWARD       HERRERA                      NM     90005704447
22674438591528   FUENTES      ALEJANDRA                    TX     90007294385
22675287455957   VANESSA      MUSQUIZ                      CA     90014522874
22676285731453   ASHLEE       JOHNSTON                     MO     27559412857
22676326651343   ERICA        CACAVIO                      OH     90012483266
22676378741245   REBECCA      CRAIG                        PA     90005193787
22676869747952   NIKKI        LOPEZ                        AR     90014788697
22676968555957   LIDIA        AYALA                        CA     90012739685
22677815347952   RAFAEL       MANJARREZ                    AR     24038418153
22679184691522   ESTHELA      GALLARDO                     TX     90000411846
22679851591828   BETSY        MCCORD                       OK     21016878515
22682391491522   SIRENA       DONIGUEZ                     TX     75008733914
22682884931631   JAZMINE      BERNAL                       KS     90003968849
22682911393773   ADAM         COOLEY                       OH     90007209113
22682927747952   VALENTIN     NAVA                         AR     90013779277
22683252391541   CLAUDIA      ESMERALDA                    TX     90011882523
22683974991828   RAMONTRAY    LACY                         OK     90006099749
22685791381638   WANDA        GUNN                         MO     29015917913
22686597955957   MARISA       MONTANO                      CA     90007585979
22686721291528   MICHELLE     MARSHALL                     TX     75067317212
22686763791522   OSCAR        LUCERO                       TX     90014897637
22688943191522   DANIELLE     KRACH                        TX     90011949431
22689458191522   JOSHUA       LEDFORD                      TX     90009034581
22689796347952   CODY         COLLINGSWORTH                AR     90014087963
22691617247952   DARON        HEMPEL                       AR     24056906172
22693169241245   HEATHER      PETRO                        PA     90011631692
22693886291522   OLGA         CARRILLO                     TX     75047748862
22695515691525   BILL         NAVARRETTE                   TX     75021285156
22697822785938   TILISIA      TAYLOR                       KY     67094558227
22697843751369   BOBBY        POSTON                       OH     90007838437
22698323485998   MARGARET     CORDRAY                      KY     90011863234
22698671491522   VICTOR       LUNA                         TX     90006686714
22711557491241   STARR        OLIVER                       GA     90010265574
22713275131453   ANTHONY      DICKERSON                    MO     90014162751
22713326831466   KATHERINE    LOVSEY                       MO     27527643268
22714125591522   NORMA        SANCHEZ                      TX     90006751255
22714329491828   MARIA        NIETO                        OK     90009783294
22714335793773   MEGAN        MOORE                        OH     90002393357
22714394391547   JERRY        CASTELLANOS                  TX     75069943943
22714634231453   RICHARD      MOSHER                       MO     90015296342
22715543991241   LASHA        DEMPS                        SC     90014925439
22718742731453   SIDNEY       STEBLETON                    MO     90012557427
22721162785938   CHRISTINA    RUTHERFORD                   KY     90014791627
22721352555957   MARLANA      BOWERS                       CA     90014463525
22721849431453   EDDIE        LEWIS                        MO     90014778494
22723215847952   JEFFREY      CROTZER                      AR     90011682158
22725129841245   DIANA        GARZA                        PA     51066761298
22725573455957   TIMOTHY      FREYHOF                      CA     48084965734
22727437991541   ERIKA        ESCONTRILLAS                 TX     90013174379
22727662291528   ANA          FERNANDEZ                    TX     90011946622
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22727991985938   KENYAL       ROBINSON                     KY     90013709919
22728833491828   TERESA       GILSTRAP                     OK     21063648334
22732535591541   RAUL         DIAZ                         TX     75089375355
22733434381637   BRITTANY     WILLIAMS                     MO     90003524343
22734266847952   JESSICA      REEVES                       AR     24005902668
22735869991828   REYNA        VALDEZ                       OK     90009958699
22736656891541   DELILA       VILLARREAL                   TX     90010966568
22736722491541   ALISIA       VILLARREAL                   TX     75012217224
22739746581638   LADONNA      HARPER                       MO     29005917465
22741377281661   ANDREW       BARKS                        MO     90012873772
22746173431453   SHANTAY      PHILLIPS                     MO     90011021734
22746195941245   SAM          MARTIN                       PA     90009561959
22746489133666   JAMIE        DAVIS                        NC     90014864891
22747897191251   MICHAEL      COX                          GA     14508678971
22748839881646   RODRIGO      BASURTP                      MO     90012818398
22751796347952   CODY         COLLINGSWORTH                AR     90014087963
22753348841245   MARINA       SOLOMON                      PA     90010533488
22754543784364   VALDIRENE    MARQUES                      SC     19083685437
22754927891541   HECTOR       ARMENDARIZ                   TX     90010499278
22755339685938   CANEI        GUYN                         KY     90014093396
22755931431453   FATIMA       FISHER                       MO     90005229314
22756674291522   BRENDA       HOLGUIN                      TX     90013836742
22757555784364   RYAN         FELLER                       SC     90011585557
22757799791522   JESSICA      MUELA                        TX     90010667997
22757869981637   MICHAEL      REED                         MO     90011808699
22758937531453   JAY          MONEY                        MO     90013419375
22758978191522   THOMAS       STRALEY                      TX     90000639781
22759356491241   MICHAEL      GAUSE                        GA     90015133564
22759431555957   DANNY        RYAN                         CA     90002274315
22759972991522   LUIS         ONTIVEROS                    TX     90012329729
22761623381638   HVIS         GARCIA                       MO     29098106233
22762194838524   JUANITA      DEVAUL                       UT     90012571948
22762442485938   MIRANDA      PURVIS                       KY     90014784424
22763476991541   DOMINIQUE    BENSON                       TX     90014814769
22763647355957   MARIA        GAMINO                       CA     48010316473
22763894291828   TAMMY        JONES                        OK     90001708942
22764442485938   MIRANDA      PURVIS                       KY     90014784424
22764479155957   SEYDA        LOPEZ                        CA     48019624791
22764745951321   TERESA       RAMIREZ                      OH     90012457459
22765169921929   ERICA        CLARK                        IN     90015421699
22766512285932   JILIAN       CRUZ                         KY     90004385122
22769853691828   JESSICA      GOURLEY                      OK     21005128536
22772189951326   KEVIN        LEISTNER                     OH     66031851899
22772455755957   REFUGIO      MARAVILLA                    CA     90012274557
22772711291251   DESMOND      BROWN                        GA     14570357112
22774215391522   RAUL         CHAVIRA                      TX     75048732153
22774522391828   MARKITA      HARDY                        OK     90013045223
22774583931453   JOSEPH       LOVE                         MO     27559395839
22775291485938   KEITH        STRICKER                     KY     90014792914
22775424631453   BRITTANY     PATTERSON                    MO     90014164246
22775554431631   LAUREN       COLLINS                      KS     22098845544
22775634791541   HECTOR       MERCADO                      TX     90012136347
22776311181661   CALVIN       JONES                        MO     90012063111
22776545991528   CARMEN       PEREZ                        TX     75096585459
22777898661992   MASHEILA     TAYLOR                       CA     46093198986
22781429491828   EDWARD       STATUM                       OK     21004894294
22782127581638   JENNIFER     BUSH                         MO     90005861275
22783653941245   DEBRALYNN    FERRARO                      PA     51029026539
22785484485938   KRISTIN      MATTINGLY                    KY     90006294844
22785492771639   TONY         WILLIAMS                     OH     90015284927
22785515491828   AMBIA        JIMERSON                     OK     90005295154
22786613291522   MANUEL       VELASQUEZ                    TX     90011036132
22786625891541   DANIEL       LANDEROS                     TX     90015306258
22787254191522   ANA          CARRILLO                     TX     75030472541
22787373881661   JESSICA      LANE                         MO     29050483738
22787663691241   BEN          SCHWARTFIGURE                GA     90013086636
22788397755957   LINDSAY      STRYD                        CO     90012033977
22792733831631   VALERIE      HAMILTON                     KS     22084757338
22793447951369   STEVEN       RICHMOND                     OH     90003344479
22793548591522   JUANA        FERNANDEZ                    TX     75049465485
22795981391522   ELIZABETH    CORTEZ                       NM     75065689813
22797446191227   ROBERT       MILLER                       GA     14587404461
22798144747952   KESHA        TRAVIS                       AR     24088211447
22799475831453   FLORENCE     HALBERT                      MO     27589684758
22799773491541   JOSE         LARA                         TX     90009997734
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22811815347952   RAFAEL        MANJARREZ                   AR     24038418153
22812375531453   BELIA         OLIVA                       MO     90001393755
22815176791828   SHEENA        RABBITT                     OK     21083931767
22815263884364   TAVONNA       WILSON                      SC     90010182638
22816621741245   RASHEDA       DAVIS-GORDON                PA     90009516217
22817397191528   LEAH          LOPEZ                       TX     75093093971
22817516585938   ANGEL         CARTER                      KY     90014795165
22818252191522   RUBEN         GUZMAN                      NM     75046862521
22821575881661   GRACIELA      RAMIREZ                     MO     90011175758
22822215391522   RAUL          CHAVIRA                     TX     75048732153
22822931491528   RAMON LOPEZ   MUNOZ                       TX     90006529314
22824621741245   RASHEDA       DAVIS-GORDON                PA     90009516217
22825476185938   TAMMARA       HALL                        KY     90006174761
22826786893773   JENIFER       BROWN                       OH     64521107868
22827411851365   MELISSA       GANDY                       OH     90012234118
22827417491251   ANTONEAL      MOODY                       GA     90002934174
22827815347952   RAFAEL        MANJARREZ                   AR     24038418153
22829187581661   JASMINE       RICHARDSON                  MO     90013271875
22829621591251   BRANDON       MONTFORD                    GA     90008656215
22832143381637   DENNIS        ESCAGNE                     MO     90011811433
22833422455957   OLIVIA        ARROYO                      CA     90004044224
22833837491522   ANNETTE       KOST                        TX     90004518374
22834577451369   CARTAYA       TALISON                     OH     66045115774
22835348997121   ADYSMILDA     CASTELLANES                 OR     90008113489
22836233591522   EDNA          MARTINEZ                    TX     90012112335
22837363755957   ARTURO        REYES                       CA     90015123637
22837847131453   BARBARA       MAUNEL CROSSMAN             MO     27556618471
22838199785938   CASSANDRA     PRESTON                     KY     90008601997
22838964991828   BONNIE        PAUL                        OK     90007559649
22839663633651   GIOVANA       ZAYAS                       NC     90012786636
22841111791541   CLAUDIA       LARA                        NM     75032341117
22841636855957   OSCAR         GARIBO                      CA     90007526368
22842522891522   MAGALY        ESCARENO                    TX     90013385228
22842761691828   SHERMAN       WASHINGTON                  OK     90014757616
22843361555957   TIERRA        WILLIAMS                    CA     90012333615
22844364585938   GEORGE        GIBBINS                     KY     90009903645
22844466341245   DANIEL        MERRITT                     PA     51060404663
22849211831453   KATHLEEN      STEELE                      MO     90009122118
22849255991541   ALONSO        LOZANO                      TX     75096732559
22849875791959   DARNELL       WILSON                      NC     90011758757
22851374881638   KENNETH       BLEDSOE                     MO     90005863748
22851492891522   MARIA         SALDIVAR                    TX     90015024928
22851941155957   ROBERT        LAMBERT                     CA     90011309411
22852647491522   JENISA        MEDINA                      TX     90009336474
22853527461985   ALICIA        FIGUEROA                    CA     90011115274
22854979155957   ANTERO        MANGASER                    CA     90006039791
22855383131453   ELIZABETH     LIABLE                      MO     27551933831
22855512585938   TAJ           RICKETTS                    KY     90014805125
22856496757544   ANNA          ALCALA                      NM     90007344967
22856517385938   MARY          CARTER                      KY     90014805173
22857957741245   DONALD        LARGENT                     PA     51062159577
22858446333671   MAIR          MARTINEZ                    NC     12093834463
22858528491541   JOSEPH        MARTINEZ                    TX     90010995284
22859328331537   FT            FITZSIMMONS                 NY     90011323283
22859963531453   ZACH          CHRISTOPHER                 MO     90010459635
22859989255957   KENDRA        GEAR                        CA     90015159892
22861543585938   JAMIE         BROCK                       KY     90014805435
22862421391522   CESAR         HERNANDEZ                   TX     90012624213
22862461793773   MELISSA       PURVIS                      OH     90003434617
22863269891241   TAMASHA       GREEN                       SC     14516462698
22863932391541   ALEJANDRA     TOMLINSON                   TX     75002369323
22864669191828   MARY          HAVICE                      OK     90012816691
22865733291541   MICHELLE      THWEATT                     TX     90011797332
22866941291522   AMANDA        BOLASKI                     TX     75094989412
22868774491522   JORGE         GONZALEZ                    TX     90014897744
22868961947952   BECCA         SANCHEZ                     AR     90006079619
22871957991541   MARIA         HERRERA                     TX     90008129579
22874184357531   MARY          ESPINOZA                    NM     90002851843
22878834491541   DAVID         LANDEROS                    TX     75050028344
22881564241245   DEBORAH       DORSCH                      PA     51030235642
22881767985938   ADRIANA       GUTIERREZ                   KY     90014807679
22881878847952   NORMAN        TATE                        AR     90014788788
22882158281661   LYDIA         WAGNER                      MO     90014711582
22882318591522   YEHILA        VILLA                       TX     75068083185
22883449291251   LONON         LEON                        GA     90011094492
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22884161651369   JULIO          CRISTOBAL                  OH     66004621616
22888382955936   DUANE          VRYHOF                     CA     90003593829
22889269891241   TAMASHA        GREEN                      SC     14516462698
22891524691828   ANABEL         CHAVEZ                     OK     21054295246
22891648881661   CARMEN         KENNEDY                    MO     90012886488
22892221991522   CYNTHIA        VASQUEZ                    TX     75089432219
22894456884364   JULIA          HENDRIX                    SC     19085644568
22894725461979   JOSE           ORTEGA                     CA     46007967254
22895548251369   SIMONE         KELSEY                     OH     90013725482
22896995685938   NAPOLEON       AYODELE                    KY     90014809956
22897426691522   SALVADOR       GARZA                      TX     75071994266
22897745547952   BOBBY          MANNING                    AR     90013947455
22899493341245   SUZANNE        OWES                       PA     90010534933
22911684684364   SHAVON         HEYWARD                    SC     90014066846
22912738191541   AMNER          SANCHEZ                    TX     75050027381
22912832231631   JASON          MITCHEL                    KS     90008818322
22913916843551   TINA           BUTTARS                    UT     90013449168
22916479941245   IONA           LOFTON                     PA     51046014799
22916947491528   VIGINIA        TERRAZAS                   TX     90006529474
22918566991241   TREVOR         BOWERS                     GA     90014925669
22918968255957   JUANISHA       JONES                      CA     90013329682
22919899985938   JOHNNY         JOHNSON                    KY     90015238999
22922585491541   DAISY          BENCOMO                    TX     90013475854
22926485933636   FRANCISCO      CORTES                     NC     90006174859
22926767147952   SHENEL         WASHINGTON                 AR     90012387671
22927589331631   MELISSA        SLATES                     KS     90010775893
22928671881637   AUTUMN         CURRIE                     MO     90011816718
22929473181637   STEVE          BRIDGES                    MO     29000814731
22929488191828   PATRICIA       PEOPLES                    OK     21084564881
22929681531453   RAMON          DODDS                      MO     27559646815
22933322851333   DANIELLE       CLARK                      OH     90008203228
22933785391241   JENNY          DONNELL                    GA     90014227853
22933822691541   JUAN           ORDAZ                      TX     90012628226
22936144255957   SERGIO         VELOZ                      CA     90012241442
22937191191522   MAYRA          CANO                       TX     75022301911
22937583881661   MATTHEW        CHOAT                      MO     90015465838
22937642131631   SANDRA         DAVIS                      KS     22007006421
22939544393773   CHRISTA        JONES                      OH     64539805443
22941258691541   REYNA          RAMIREZ                    TX     90014772586
22942527191541   KEILA          TOVAR                      TX     75010465271
22942714491828   NATISHA        TUCKER                     OK     21005027144
22943576485998   SHEENA         TERRELL                    KY     90009755764
22944365143523   CODY           PETERSEN                   UT     90012073651
22944858655957   LUCINDA        GILBERT                    CA     90013148586
22945878191542   ARMANDO        CARILLO                    TX     90011028781
22946845591828   KENT           RIFE                       OK     21089538455
22948498431441   ROSANDA        MITCHELL                   MO     90014744984
22949184384364   GALDINO        LEON                       SC     19072261843
22949343585938   LUCIANO        JACOME                     KY     90009683435
22949416955957   MIGUEL ANGEL   JUAREZ                     CA     90006884169
22951227481661   CHRISTINA      SAMPEL                     KS     90013602274
22954573681661   JASON          PEREZ                      MO     90014175736
22955225681661   MONTEL         WALKER                     MO     90003472256
22955333147952   ELIGIO         GARCIA                     AR     24014873331
22955631331453   NICOLE         TATE                       MO     90001576313
22955918491828   LEONARD        HUTTON                     OK     21085639184
22956343351369   SAMUEL         MILLER                     OH     90003353433
22959431155957   EFRAIN         LEDESMA                    CA     48052604311
22962622991828   CHRISTOPHER    LEE                        OK     90009176229
22963943731453   HAROON         A-RASHID                   MO     90007789437
22964596591828   SHELDON        SHATSWELL                  OK     90012305965
22965742271681   MONICA         DAVIS                      NY     90015147422
22967735557133   ANDREW         JOHNSON                    VA     81084467355
22968394291241   MICHAEL        COAXUM                     GA     14594853942
22968418147952   CYLINDA        MERRILL                    AR     24043954181
22969379591541   ADRIAN         GRADO                      TX     90013573795
22972162291522   LUIS           ROJAS                      TX     75091301622
22973257291522   IRVING         GONZALEZ                   TX     90002242572
22973728731453   KATHALEEN      SHAW                       MO     90005587287
22975369181638   MIKE           HARRELL                    MO     29040783691
22977548491522   GARY           GANDARA                    TX     75022245484
22977992851369   MARIE          MCDAY                      OH     66026039928
22978344841248   THOMAS         BURCH JR                   PA     90012603448
22981419491541   MARIA          CARRASCO                   NM     75087254194
22982132481637   KRIS           FABELA                     MO     29007251324
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22982321131453   CHIFFON      WILSON                       MO     27575693211
22982431491522   CECILIA      MALDONADO                    TX     90004164314
22982558131497   DAWN         VOELKER                      MO     90007825581
22983268831453   DANITA       GIBSON                       MO     90007622688
22988373891522   GOMEZ        VERONICA                     TX     75089433738
22989511785938   AMY          DAVIDSON                     KY     90014815117
22991352891241   ANGELA       WASHINGTON                   GA     90014133528
22991767355957   KIM          ACEVEDO                      CA     90013047673
22992556451369   RONALD       SCHROEDER                    OH     66048925564
22993598191522   LUPE         CORTEZ                       TX     75000875981
22993682261967   MARY         PASHBY                       CA     90006536822
22994379255957   JOSEPH       OJEDA                        CA     90001153792
22994751591522   MARISOL      CASTANEDA                    TX     90002287515
22996666861921   SAAD         JABO                         CA     46017416668
22998174191522   IVONNE       SANCHEZ                      NM     75077831741
22998744847952   MALINDA      ALSTON                       AR     90007407448
23111244572447   PAUL         WINGATE SR                   PA     51022822445
23112444797992   JUANICE      JONES                        TX     71090984447
23113329391522   DIANA        RAMOS                        TX     90001433293
23114366891828   KALEB        HOLDMAN                      OK     21009943668
23115849372447   KAREN        BURNSWORTH                   PA     51049348493
23116449951369   ANGEL        OLIVER                       OH     90005834499
23117826641285   CHRISTY      SCHWEIGER                    PA     51089038266
23119166291522   CYNTHIA      PARKS                        TX     75065761662
23123455785938   VANESSA      SPICER                       KY     67081614557
23123849331631   MICHAEL      KETCHUM                      KS     90009838493
23124337893773   KRIS         KOLLMEYER                    OH     90005683378
23124866155957   JOSE         DURAN                        CA     90006588661
23124888757188   JERRY        LARNOR                       VA     90008178887
23126569391541   NOE          SORIA                        TX     90013345693
23127211484364   TRACY        ZOBEL                        SC     90010092114
23127385331453   JOHN         EVANS                        MO     90013743853
23127928991522   CYNTHIA      TERAN                        TX     90008979289
23131764191828   TIMOTHY      SPARKS                       OK     90013477641
23135781455957   CATHARINA    FERGUSON                     CA     48095527814
23137737831453   SANDRA       KRAUSZ                       MO     90011307378
23138139591541   RAY          GRANADO                      TX     75066351395
23139451391541   ESPINOZA     SUSANA                       TX     90006314513
23139879491528   BRYAN        ESCAJEDA                     TX     75093208794
23141854985998   JOANNA       CORKWELL                     KY     66009688549
23151238291522   PABLO        MENDES                       NM     90000112382
23151924841245   DIANE        JACKSON                      PA     90008599248
23152121985938   RONALD       WALKER                       KY     67022571219
23153677855957   GUADALUPE    CASTILLO                     CA     90012726778
23154698785998   CRYSTAL      CLEMONS                      KY     90013446987
23154967391541   ISMAEL       IBARRA                       TX     75051969673
23155216891541   BERENICE     NAJERA                       TX     90014912168
23155835991828   TRACY        PARKER                       OK     90009558359
23156724561997   JOSE         GONZALEZ                     CA     46015717245
23156966285639   MARGARITA    LOPEZ                        NJ     90006539662
23157536491959   CAROLYN      SINGLETARY                   NC     90012665364
23158574931453   QUINTON      BROWN                        MO     90014715749
23161765591828   JOSEPH       DAWSON                       OK     21068557655
23161842691528   IRMA         FLORES                       TX     90010348426
23163466391541   SERGIO       RUIZ                         TX     90014764663
23163795755957   IVAN         ECHAVARRIA                   CA     90013717957
23165448491541   KASSANFRA    DIAZ                         TX     90013654484
23166649272447   BRAIN        LARUE                        PA     51002746492
23166879191522   NOVA         PENA                         TX     90001118791
23167289631631   TERESA       GONZALEZ                     KS     90013852896
23167756291541   FRANCISCO    RODRIGUEZ                    TX     75097077562
23168223772447   KRISTA       UPTEGRAPH                    PA     90013942237
23169755185938   RAUL         TORRES                       KY     67011697551
23171122931453   SHANE        CROSSNO                      MO     90009891229
23171465341245   MELINDA      WILCOX                       PA     90008604653
23171688472456   CARLA        ALDRICH                      PA     90007586884
23173187272447   NICOLE       KLUGH                        PA     90002311872
23174512451325   JAMES        FRANCIS                      OH     66020405124
23175169461931   ROSARIO      YILMAZ                       CA     90012511694
23179225191522   AURORA       FLORES                       TX     75017572251
23182474991541   BETTY        GUERRA                       TX     75028684749
23183864591541   MANUEL       BAEZA                        TX     75075808645
23185924931453   JAREL        WILLIAMS                     MO     90013529249
23186422891541   JEANETTE     JUDY                         TX     90003974228
23187467591541   VANESSA      BAILON                       TX     90009774675
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23187667861982   PERRY        HUDGIES                      CA     90008726678
23187915331433   CRYSTAL      DELEE                        MO     90009569153
23188219491828   MARCIA       MASON                        OK     90012582194
23189932861989   CATHY        YAMASHIRO                    CA     90012639328
23193499691828   JOSHUA       STANLEY                      OK     21040774996
23193718141245   ANASTASIYA   LEVANDOSKY                   PA     90014157181
23194325291541   ROMERO       ANTONIO                      TX     75097083252
23194597831453   LAWRENCE     COLEMAN                      MO     90005835978
23195466391828   ASHLEY       EVANS                        OK     90009114663
23196126272447   LEA          SLUSAR                       PA     90010621262
23196797291541   DONOVAN      JACKSON                      TX     90013007972
23197569681637   DIANNA       RIDINGER                     MO     90012415696
23199186784364   JOHN         BRITTON                      SC     19039431867
23199334485999   JAMES        KIPP                         KY     66060643344
23199918791541   JESUS        RAMOS                        TX     90009279187
23212382791522   MARIA        LUPERCIO                     TX     90009923827
23212742741245   SARAH        ROSS                         PA     51006987427
23213262291522   VICTOR       ARREOLA                      TX     90014942622
23213632484364   ROBERT       BEASLEY                      SC     90011696324
23214487155957   TINO         QUIR                         CA     90009744871
23215623661963   ROBERT       REYNOLODS                    CA     90007156236
23215639761932   CHRIS        FUNTALL                      CA     46065856397
23216169691522   GARCIA       TANYA                        TX     90010861696
23216246551366   JAMES        CORSO                        OH     90011672465
23216549155957   APRIL        COLOCADO                     CA     90007385491
23216553672447   CHERYL       WILLIAMS                     PA     51042655536
23217472891541   BRYAN        CAMACHO                      TX     75097794728
23217984172447   NYJEWEL      CARTER                       PA     90014759841
23218148655957   ALEX         REYNOSO                      CA     48024511486
23219244172447   PHIL         JACKSON                      PA     51092632441
23219329881646   SAIMA        NADEEM                       MO     90010593298
23222195591828   MARQUA       JOHNSON                      OK     90011321955
23222822291522   IRMA         RUBIO-CAZAREZ                TX     90013538222
23224492997121   FELIPE       ARELLANO                     OR     90011154929
23226915855957   ADRIANA      DURAN                        CA     90010369158
23235739991541   RICHARD      DAVIS                        TX     90013397399
23236958991541   YOLANDA      MORALES                      TX     75035539589
23238325793773   JASSMINE     MONGOMERY                    OH     90005703257
23238367555957   PHYLICIA     ATTLES                       CA     48016083675
23239714155957   DIANA        BOONE                        CA     48066487141
23241215391241   LEYBER       SUCHIAPA                     GA     90009192153
23241516591828   MICHELLE     WALLACE                      OK     90013315165
23241766272447   SUNNI        STEDRAK                      PA     90010087662
23242334491828   JAMES        INGLETT                      OK     21085883344
23243178531631   JOSH         STRICKLAND                   KS     90000351785
23243419551369   BRITTNAY     STROTHER                     OH     90001264195
23244352591522   ELIZABETH    DE LA TORRE                  TX     75002703525
23247363972447   STEVE        LYNCH                        PA     90007713639
23248892491541   ALICIA       SANCHEZ                      TX     90011208924
23249275631453   GREGORY      ACHE                         MO     27558192756
23249857931631   BRIAN        GLENN                        KS     90014118579
23251431191541   SERGIO       ROJAS                        TX     75072324311
23253478393773   SCOTT        STOLL                        OH     90005704783
23253573231453   BELINDA      SUMMERS                      MO     90000675732
23254769941245   JOES         STEVEN                       PA     90014157699
23255566184344   DAMION       KING                         SC     90005315661
23255697757531   EZEQUIEL     CARRILLO                     NM     90012616977
23255759931631   TINA FAYE    HOOVER                       KS     90014767599
23256591651369   GHANA        NEOPANEY                     OH     66000015916
23257452841245   SHAWN        ZUGAI                        PA     51038704528
23257465181661   MARIA        DE JESUS                     MO     29078124651
23263197633672   SHEREDA      YEARY                        NC     12093441976
23263758931433   TAMMY        STANLEY                      MO     27588917589
23264831331453   JAMES        MCMULLIN                     MO     90012168313
23266412891828   CIN          TUNG                         OK     90014684128
23267876531453   REGINALD     GRIFFIN                      MO     90005268765
23268747991828   CARLOS       JUAREZ                       OK     90008457479
23269891891522   LORENA       GONZALES                     TX     75047728918
23271677791528   CONSTANCE    CORBETT                      TX     75093246777
23272652855957   MARCOS       CABALLERO                    CA     90010656528
23272653272447   ELISE        DWOREK                       PA     51054656532
23275966431433   DAVID        DOWNING                      MO     90004239664
23277224131453   NICOLE       HACKING                      MO     27505052241
23277326672447   MISHELLE     PELICONE                     PA     90012463266
23278916455957   MICHAEL      MADRID                       CA     90015579164
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23278999955957   GLORIA          ALVAREZ                   CA     90000289999
23281692631631   PATIENCE        THOMAS                    KS     90012496926
23285263591522   GABRIEL         GARCIA                    TX     90014142635
23285322891541   TIFFANY         BURCIAGA                  TX     75043593228
23286539891541   DION            BENITEZ                   TX     90010525398
23286923971958   EDWARD          PARRIS                    CO     90006409239
23287429491522   CANDY           MENA                      TX     90015124294
23287773371923   MARY            PRUETZ                    CO     32060017733
23292195761558   IMARHIA         GAINES                    TN     90011951957
23292362184364   CHUNTE          GREEN                     SC     90011703621
23293377941245   RONDELL         WILLIAMS                  PA     90011923779
23294337991243   CONNIE          HODGE                     GA     90003063379
23296179547952   SUSAN           DIXON                     AR     24020121795
23298153291241   EMILIO          LOPEZ GONZALEZ            GA     90003331532
23298889391522   JESUS           CRUZ                      TX     75067658893
23299117355957   MARIA           MENDOZA                   CA     90007251173
23299725641245   SHELBY          DURNELL                   PA     90012567256
23299836893773   SASHA           GARVIN                    OH     90010998368
23311597391541   JUAN            CORREA                    NM     75071705973
23311996431433   MIRZETA         LUKAC                     MO     90004239964
23318154391541   JESSICA         LARA                      TX     75068731543
23319137785639   GLORIA          RUIZ                      NJ     90012951377
23319432191828   FARMAN          DURANI                    OK     90003084321
23321291147952   CORLISS         BUTLER                    AR     24015352911
23322327584364   VIVIAN          ELMORD                    SC     19088563275
23323687255941   JASON           LEE                       CA     90006536872
23325347751346   DOUGLAS         PORTER                    OH     90007643477
23328263291528   RUTH            REYES                     TX     75093262632
23328443891541   DEYDRA          LUNA                      TX     90014444438
23329568591528   APRIL           REYES                     TX     75002175685
23332343191541   ROSA            VELEZ                     TX     90000513431
23333719784364   BRITTANY        CARLSON                   SC     19040067197
23333986585998   TRIBBLE         ANN                       KY     90014249865
23334518691541   RAUL            GUERRERO                  TX     90014815186
23335631941245   ASHLEY          PITTS                     PA     90009886319
23341475341245   EBONY           GRACE                     PA     51092304753
23342634131631   FRANK           WITT                      KS     90015136341
23342874891522   GLORIA          ESPINOZA                  TX     90008518748
23343326431631   KATHRYN         WOFFORD                   KS     90014883264
23344291191542   RAMIREZ         DAVID                     TX     75009292911
23344331685938   CAROLINE        BROWN                     KY     90002873316
23344812151325   PAPA            DIA                       OH     66097708121
23345368491541   ERIKA           CORDERO                   TX     90000923684
23346652791828   WARFORD         LOGAN                     OK     21075846527
23348245291541   JESUS           POLANCO                   TX     90009382452
23351174747952   CELIA           FLORES                    AR     24072821747
23351835391828   LEYDIANA        GARCIA                    OK     90011618353
23352261993773   PATRICIA        ORRENDER                  OH     64538982619
23352924191541   IRMA            HERRERA                   TX     90010249241
23353982781668   JANET           MCLAUGHLIN                MO     90000929827
23355274531433   JEFF            EVERETT                   MO     90007152745
23356914755957   JOSE            RUIZ                      CA     90010649147
23358595531453   KARL            HOWARD                    MO     90011025955
23361234631453   JERAMEKA        BELL                      MO     27575142346
23362747241245   ERIC            KNOX                      PA     51072657472
23363949985938   WARREN          MOORE                     KY     67020829499
23366568391541   MARIA           GUTIERREZ                 TX     90014655683
23366772155957   ATHENA          GARCIA                    CA     48070507721
23368559285938   LISA            JOHNSON                   KY     67006505592
23371798291547   CARLOS          VILLALOBOS                TX     90001507982
23373833791541   DEBORAH         ELLIOTT                   TX     90014558337
23374316191528   PATRICIA        MACIAS                    TX     75017063161
23375584791541   REYNA           COMPEAN                   TX     90004915847
23375663851326   STEVEN          BLANTON                   OH     90009736638
23375977191828   DARIOUS         DAWAYNE                   OK     90013619771
23378515391541   HECTOR          PROSPERO                  TX     90014745153
23379479872447   SUSAN           MCMUNN                    PA     90005994798
23381623591541   YSELA           MUNOZ                     TX     90010436235
23381822341245   JANET           ANDERSON                  PA     90012418223
23381993985938   TERESA          COTTON                    KY     90001769939
23383121455957   JUANA           PARTIDA                   CA     48012181214
23383161561932   MARIA DOLORES   BUENO                     CA     90014401615
23383549472447   CHRISTOPHER     SNELLGROVE                PA     90013945494
23385248391541   NANCY           DADILA                    TX     90012612483
23385492884364   JHANESS         DIXON                     SC     19023804928
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23385738855957   MARK         WALKER                       CA     48073537388
23385924184364   SADE         SMALL                        SC     90013909241
23396879885847   JAMES        GOODALE                      CA     90012668798
23397992971341   IRASEMA      SABAIZ                       TX     76514849929
23399574284364   LEONEL       GUTIERREZ                    SC     90001915742
23411881531453   TIFANI       HOLIDAY                      MO     90014488815
23411919791541   ELLOA        PEREZ                        NM     75016559197
23411971284364   DARA         ROTH                         SC     90012049712
23412753955957   ADRIANA      JIMENEZ                      CA     48052677539
23413269291323   ALDO         PEREZ                        KS     90008872692
23414642941245   MONTICA      CLAY                         PA     90007646429
23417159731453   MAC          PAYNE                        MO     90010321597
23417186247952   ANN          STOUT                        AR     90009861862
23423545155957   LORRIE       BLANKS                       CA     90014445451
23424228355957   GLORIA       MORENO                       CA     90013922283
23427576791541   YOLANDA      SIMENTAL                     TX     90002145767
23429778977393   YVONNE       JOHNSON                      IL     90010167789
23431472491541   ASHLEY       TORRES                       NM     90011524724
23432822341245   JANET        ANDERSON                     PA     90012418223
23432941251369   ANTHONY      TAYLOR                       OH     66023479412
23434115755989   CHRISTINA    SOTO                         CA     90001251157
23434576372447   DENISE       ZIMMERMAN                    PA     90012865763
23435296191241   PAYGO        IVR ACTIVATION               GA     90010962961
23435363641245   JOHN         DOLENO                       PA     90014173636
23435448672447   MICHAEL      BRELL                        PA     51035094486
23436231391522   SAMANTHA     GRAY                         TX     90011872313
23441148655957   JOSE         HERNANDEZ                    CA     90003601486
23443261191541   ANA          CASTILLO                     TX     90001212611
23446375991828   JAMES        FRANKLIN                     OK     21036273759
23447112841245   KEVIN        PERRY                        PA     51096791128
23448278155957   ENRIQUE      CERVANTES                    CA     48092172781
23449721355957   JUDITH       FLETCHER                     CA     48085647213
23451341585938   CHRIS        MANNING                      KY     90013653415
23451565481661   HEAVEN       TAYLOR                       MO     29010495654
23451571261996   PRIER        SCOTT                        CA     46010085712
23451777672447   BRADLY       WALSH                        PA     90012037776
23452386291241   HEIDI        CELESTIN                     GA     90011083862
23453714955957   TOBIAS       OLOUGHLIN                    CA     48000937149
23455758531631   ERIKA        FLOWERS                      KS     90010027585
23457184691528   MELINDA      RAMIREZ                      TX     75093311846
23457692155957   JOHNNY       VALADEZ                      CA     90008416921
23458976755957   BRANDON      FURTADO                      CA     90003509767
23459594891541   RICHI        CAMPOS                       TX     90014885948
23461572791541   LAURA        GUTIERREZ                    TX     90012345727
23461926455957   KATHLEEN     CARNEY                       CA     90012789264
23464176231631   TREVOR       BAKER                        KS     22076411762
23464292155957   LINDA        MORALES                      CA     48093762921
23464966891241   ASIANNA      GRANT                        GA     90011039668
23465172785938   JEFFREY      HOOD                         KY     90007751727
23465855571932   BEN          ROMERO LLL                   CO     90012878555
23466417991828   JUSTIN       PAUL                         OK     90013324179
23467731691241   MONICA       WILSON                       GA     90008957316
23467756455957   VICTOR       PUGA                         CA     90013927564
23472792341245   STEVE        FEKETY                       PA     51086507923
23472871191522   IGNACIA      BEJARANO                     TX     90007608711
23476639631433   JODI         WEBER                        MO     27513636396
23477169931433   AQUINDA      SCOTT                        MO     90004241699
23481281185938   ROBERT       STOUDT                       KY     67007002811
23481943251325   LILLIAN      CROOK                        OH     90009309432
23483335472447   SHARICE      WALKER                       PA     90012253354
23484795381644   NOE          TORRES-CALZADILLA            MO     90011667953
23485726557172   CLOTILDE     FLORES                       VA     90009917265
23486594831631   MICHAEL      TYSON SR                     KS     22019465948
23492945431453   COURTNEY     BOGAN                        MO     27595319454
23494457555957   LESETT       OCHOA                        CA     90010124575
23497141391541   IGNACIO      ULLOA                        TX     90013321413
23497468277534   JUAN         BARRERA                      NV     90012374682
23498584991828   SHAMIKA      GREEN                        OK     90004855849
23498968991522   OLGA         LOPEZ                        TX     90003939689
23511558872447   PAYGO        IVR ACTIVATION               PA     90013705588
23512348591522   JESUS        RAMOS                        TX     90013463485
23513744491522   ROBERT       WIGGINS                      TX     90005377444
23514548931631   CAMERON      CARTER                       KS     90015555489
23515985191528   CRUZ         MARQUEZ                      TX     90000439851
23516619272447   ALYSSA       DANCA                        PA     90003936192
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23519879355957   BETSABE      FIGUEROA                     CA     90012488793
23522154141245   DEBRA        STANTON                      PA     90011091541
23524791285938   ISIDRO       DE LA TORRE-LOPEZ            KY     67000627912
23525757233631   CRYSTAL      GRAVES                       NC     90012447572
23525788931631   BECKY        SAINTCALIR                   KS     90012367889
23527256291828   HUNTER       NULL                         OK     90015192562
23527959191828   NOE          CORDOVA                      OK     21044499591
23528175677576   JOSEFINA     CARABBACAN                   NV     43090901756
23529369941245   KATHY        MONTLABANO                   PA     90014003699
23531416254185   TREVACCA     WINTERS                      OR     90008744162
23531964655957   SETH         COPELAND                     CA     90014409646
23532642947952   KATHY        RODRIGUEZ                    AR     24012376429
23535264531453   ERNEST       WALKER                       MO     90013992645
23538884391828   AMANDA       SANCHEZ                      OK     90001018843
23538983731453   KIM          FERREE                       MO     90005059837
23541135791522   JESUS        TORRES                       TX     75045321357
23541432131433   CHAD         KEUTILE                      MO     90003694321
23541444991541   RUBY         AVILA                        NM     90009944449
23542943131433   CHRISTINE    SCHONE                       MO     27577229431
23543236491525   RAY          HOLGUIN                      TX     75092432364
23544379193753   TONI         PENEWIT                      OH     64507993791
23545866831453   BERNADETTE   OUSLEY                       MO     90014838668
23545874531631   SAVANAH      SCHWARTZ                     KS     90013278745
23546779255957   JULIO        ZUNIGA                       CA     90015087792
23546976191522   GRACIELA     HERSILLO                     TX     75087159761
23549842491542   LILIAN       GONZALES                     TX     75043488424
23552121372447   EZRA         BRIGGS                       PA     51057981213
23553437191828   TINA         MORROW                       OK     90010124371
23556644691828   BLANCA       SANDOVAL                     OK     90008736446
23558768841245   BARBARA      GAMRAT                       PA     51007187688
23562656991541   ERNIE        DIAZ                         TX     75083186569
23564562591541   STEPHANIE    HERNADEZ                     TX     90013105625
23565514747844   ALVIRA       BROWN                        GA     90006635147
23565594591522   SARAH        ROMERO                       TX     90014885945
23566654791541   THEODORE     NATION                       TX     75086486547
23566779231453   TOWONNA      ROBINSON                     MO     27582097792
23568748755957   SERGIO       ARROYO                       CA     90014847487
23573646291541   VICTOR       ALBA                         TX     90005376462
23573647991828   RITA         MORA                         OK     90014726479
23574478391541   JOSEFINA     VILLELA                      TX     90013064783
23578758931453   BUKATT       FOREVER                      MO     90011337589
23579822441245   LOUISE       POSEY                        PA     90003218224
23582711755957   JENNY        ROMAN                        CA     90013527117
23583393833677   BRIAN        SMITH                        NC     90000683938
23584928984342   TONY         BARRIOS                      SC     90014339289
23585459972447   ANGEL        REYES                        PA     90007784599
23585542591241   KEVIN        GARVIN                       GA     90011305425
23587895855957   NDIA         SEBRENOS                     CA     90013038958
23588929391522   ALEJANDRO    GARCIA                       TX     75002699293
23591318991828   TYLER        MASTIN                       OK     90011163189
23592121641245   STEVEN       JAMES                        PA     90014161216
23592514531453   GINGER       TRAVIS                       MO     27559595145
23593535155957   ROBERT       AVILA                        CA     48061005351
23593673731631   LUCIA        HERNANDEZ                    KS     90012426737
23595232391522   ANDREA       SANDOVAL                     TX     90011872323
23596856555957   JESUS        PUGA                         CA     90000618565
23597436641245   SHAWNDA      MAHAFFEY                     PA     90002794366
23597772991959   MONIQUE      DOLBERRY                     NC     90011607729
23598974791528   ESPARZA      SOCORRO                      TX     90009599747
23599529331631   ROCHELLE     LESTER                       KS     22042085293
23599871191522   MONICA       CARRILLO                     TX     75047028711
23611235891522   BRENDA       LARA                         TX     75066332358
23611478141245   KRISTIE      NAPLES                       PA     51090084781
23611772655957   JESSICA      AVALOS                       CA     48080237726
23611912291828   MELISSA      WILLIAMS                     OK     90013169122
23612153391828   ANTONE       RUDOLPHO                     OK     90011791533
23612645655957   MARIA        CRUZ                         CA     48095076456
23613396691541   KARLA        CHAVEZ                       TX     90008763966
23614496285938   RACHEL       CLARK                        KY     67009964962
23614663141245   RENEE        EDGAR                        PA     90004236631
23614863231631   HECTOR       BERUMEN                      KS     90009088632
23615344777371   BRIAN        DAVIS                        IL     90011833447
23615597791522   MICHAEL      LEE                          TX     75045315977
23615946391828   KAREN        BRYANT                       OK     90011389463
23617169491828   JAY          WEIBEL                       OK     90010911694
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23617325247952   CHESTER       STARR                       AR     24083153252
23617779255957   JULIO         ZUNIGA                      CA     90015087792
23617838891241   RASHEDA       COMEY                       GA     90011508388
23618574191241   MOLICA        LEGREE                      GA     90008855741
23618878141245   TAMMI         DICK                        PA     51027708781
23621319191522   JOSE ANDRES   CASTILLO                    TX     90013873191
23621981991828   PHILLIP       STEWART II                  OK     90009369819
23622332693727   CINDY         RAMSDAIL                    OH     90012713326
23622451631631   JENNIFER      CATRON                      KS     22091584516
23622573891541   MARISSELA     RAMOS                       TX     90010025738
23627112691828   SHANNON       WHITWORTH                   OK     90010731126
23627871331453   MOLLY N       MONA                        MO     90011508713
23634186551369   GLENN         HARDESTY                    OH     90003231865
23634244355957   ROSA          CORIA                       CA     90005362443
23635311391522   MYRNA         CABALLERO                   TX     75098903113
23636181491528   NOEMI         LOPEZ                       TX     90014901814
23636319481644   MARICELLA     PIZANO                      MO     90010093194
23637432372447   WILLIAM       KENNEDY III                 PA     90012674323
23638221491585   ARACELI       FLORES                      TX     90011032214
23638743131631   JUSTIN        RORABAUGH                   KS     22068237431
23642253355957   LYDIA         DONALDSON                   CA     90009022533
23642845491541   MARIO         TREVIZO                     TX     75016438454
23643432341245   JOHN          PHIRI                       PA     51024754323
23645246991522   DIANA         YANEZ                       NM     75003722469
23646721991522   MARIA         GALINDO                     TX     90004207219
23649218991589   GUSTAVO       ORTA                        TX     90003052189
23649362972447   AMANDA        BOWEN                       PA     90011623629
23652218491528   HUMBERTO      AGUIRRE                     TX     90005972184
23652441255957   JUAN          HUERTA                      CA     90013624412
23652823393742   TIFFANY       ALI-SHAW                    OH     90011718233
23653241691241   BROWN         MAE ALICE                   GA     90003832416
23655878391828   CANDY         BIRKHEAD                    OK     90008088783
23658284493773   MARIA         LUNA-RASCON                 OH     90005842844
23659873384364   LAWRENCE      TAYLOR                      SC     90009088733
23661293193773   ASHLEY        GRANT                       OH     90005842931
23661337972447   MARCELLA      MRVAN                       PA     90014663379
23662322391541   ROSEMARY      NILO                        TX     90002513223
23662715833691   BRITTNEY      LITTLE                      NC     90014917158
23665172891241   CHRIS         HARGROVE                    GA     90010671728
23665575191828   VICTOR        ZABALA                      OK     90010745751
23665774391528   IRVING        ROCHA                       TX     90012727743
23665992791522   CLAUDIA       DIAZ                        TX     90014909927
23667768491541   ALMA          MARTINEZ                    TX     75035337684
23668735885938   ELIZABETH     OCONNELL                    KY     90006997358
23672265955957   STACY         RENTERIA                    CA     48079282659
23672355591541   DAVID         REICHLEY                    TX     90015063555
23673981491522   JOSE          VAZQUEZ                     TX     90012499814
23675917491952   ROBYN         MILLER                      NC     90012409174
23677282791541   ARCELIA       HERNANDEZ                   TX     90007992827
23677855191828   JON LUCAS     CARRILLO                    OK     90014788551
23678414331453   HAWES         TIMOTHY                     MO     27559584143
23678456191541   MONIQUE       HOLGUIN                     TX     75035334561
23681322993724   SHACYTYRA     CHANNELS                    OH     90012823229
23681738791828   MICHELLE      TAYLOR                      OK     90006197387
23683518281661   ROBERT        HAGGET                      MO     90006995182
23684295131453   CODY          CRAWFORD                    MO     90015032951
23684646531453   ELIZABETH     COLEMAN                     MO     90010236465
23684717191541   YARIXSA       AISPURO                     TX     75087357171
23685163891541   DENISE        GARVIN                      TX     75026701638
23686491272447   CHRISTOPHE    GEORGE                      PA     51031354912
23686866831453   BERNADETTE    OUSLEY                      MO     90014838668
23687732191522   SOCORRO       GAMBOA                      TX     90006517321
23688184155957   BERNARD       BENSON                      CA     90008871841
23691128631453   ASIA          BUTTLER                     MO     90010381286
23692147131631   MELLY         RIVAS                       KS     90012671471
23692213372491   NIKKI         MCCARGO                     PA     90014612133
23695721431631   RAYMOND       POMPA                       KS     90002117214
23695822231631   ROBIN         HAYS                        KS     90011048222
23697528855957   PATRICIA      HERNANDEZ                   CA     48081525288
23712167872447   ALLEN         SMITH                       PA     90005531678
23712472131631   DEANNA        DAVIS                       KS     22093484721
23712478941245   LYNNETTE      LUCAS                       PA     51081904789
23712855747952   JUAN          GARCIA                      AR     90005858557
23713722855957   GUADALUPE     SERRANO                     CA     90007077228
23713836331453   ANGELA        REED                        MO     90005028363
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23715838155957   PEDRO            LARA                     CA     90015548381
23718222761925   LETTICIA         VIDRIO                   CA     46024622227
23718585941245   JOYCEANN         ROSE                     PA     51017975859
23719844181661   MICHELLE         NDIAYE                   MO     90011888441
23721487791541   ALEX             NAVARRO                  TX     90002714877
23721965591522   SYLVIA           GARCIA                   TX     90004699655
23723344331631   BOYD             DUCKETT                  KS     22006753443
23723547972447   ASHLEY           WALKER                   PA     51033465479
23724853555957   ERIC             BEJAR                    CA     90012688535
23726165572447   MELISSA          RICHARDSON               PA     90007271655
23727662872447   WILLIAM          BAYLOR                   PA     90010026628
23727669951369   ASHLEY           RUCKINGER                OH     90007406699
23727947247826   MARTIZA          PEARSON                  GA     90011489472
23729422847952   PATRICK          MAYS                     AR     90005864228
23729752451561   LACEY            MCGRUDER                 IA     90014847524
23731893991828   BRANDI           HODGE                    OK     90011918939
23732545941245   RICH             DEPASQUALE               PA     51068465459
23733839633636   CALVIN           JORDAN                   NC     90014768396
23736576372447   DENISE           ZIMMERMAN                PA     90012865763
23736939391828   DAVID            ROSE                     OK     21097449393
23737558241245   SHAUNTAY         BERRY                    PA     90012695582
23737985631453   RACHELLE         MOSS                     MO     90013829856
23741321691541   FABIOLA          CASTILLO                 TX     75044873216
23741328991522   MELISSA          HERNANDEZ                TX     90012653289
23741592591828   ROCIO            GONZALES                 OK     21077365925
23742547355957   ANGEL DE JESUS   ROBLEZ                   CA     90013825473
23742612791828   THATAR           INOSKA                   OK     90007036127
23742841391522   RAMON            VILLALOBOS               TX     90014308413
23743122681657   APRIL            SPILLMAN                 MO     90001781226
23744499891881   KAYLA            STEWARD                  OK     90010984998
23745575891828   NATALIE          GLASS                    OK     21020845758
23746828891541   SANDOVAL         LOZOYA                   TX     90014308288
23748438591828   MICHELLE         ADAMS                    OK     90014684385
23748699891522   JESUS            MEDINA                   TX     90000196998
23749552191541   MARY             LUEVANO                  TX     75028515521
23751254841245   KELLY L          GILES                    PA     90014162548
23751829891241   ALEJANDRO        BARRERA                  GA     90011078298
23752556341274   SHAYLA           JNKINS                   PA     90011425563
23752581855957   KEVIN            KOCH                     CA     90009625818
23752779691828   BRANDI           CUMINS                   OK     21094717796
23753932355957   KEVIN            BADASCI                  CA     90011569323
23754369891522   CARLTON          BOYD                     TX     75079013698
23754438893727   THOMAS           DONAHUE                  OH     90004534388
23755348791528   MARIA            LOPEZ                    TX     90007443487
23755411255957   MARTHA           SOTO                     CA     90013444112
23755772361963   ABRAHAM          HERNANDEZ                CA     90014987723
23756252491541   MARIANNE         HERNANDEZ                TX     75012102524
23756298831631   ROBERT           HENDERSON                KS     90013432988
23758934272447   CHRIS            BEIMEL                   PA     51056109342
23759566255957   BRANDI           PHENNEGER                CA     90012345662
23763242231631   MICHELLE         REYES                    KS     90014742422
23763763331631   DORAL            GWYN                     KS     90014757633
23764115177534   GUADALUPE        CARRILLO                 NV     90010081151
23764221884364   ANDREA           MANDRY                   SC     19044092218
23764764531453   AMIT             KUMAR                    MO     90010337645
23767397691541   HENRY            VILLALOBOS               TX     75092953976
23767596891522   CYNTIA           CAZARES                  NM     90001335968
23767794855957   JUAN ANDRES      RAMIREZ                  CA     90013437948
23774786891522   SALVADOR         ANCHONDO                 TX     75076247868
23775624984341   ALLISON          RICE                     SC     90010516249
23775742531453   DUSTIN           AUSTELL                  MO     90007947425
23777849772447   MARY             DUNCAN                   PA     90001588497
23781158155957   CHRISTOPHER      MOORE                    CA     90011111581
23782345291541   MATHEW           FLORES                   TX     75087263452
23784626991541   ANTONIO          LUCERO                   TX     90013296269
23785528757144   DINORA           VASQUEZ                  VA     90009255287
23786326872447   JAMES            WEYANDT III              PA     90009933268
23786812741245   HOPE             GAMRET                   PA     90014538127
23789279891522   TANIAS           ST CYR                   TX     90010992798
23792466741245   JANELLA          PARKER                   PA     90014294667
23792983455957   MATTHEW          WEBER                    CA     90004539834
23793112691828   SHANNON          WHITWORTH                OK     90010731126
23793147591541   LYDIA            GONZALEZ                 TX     75035041475
23794525891522   NADIN/RUTH       MARTINEZ                 TX     75023225258
23794573391541   MARCELA          MURGA                    TX     75024485733
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23794737955957   LINDA        MARTINEZ                     CA     48018037379
23794779941245   JARED        SCOTT                        PA     90012977799
23795349241245   CANDACE      ODONNELL                     PA     90014163492
23795653981657   AZUCENA      OZUNA                        MO     90012006539
23813547591828   LILLIE       FAULK                        OK     21005845475
23813772855957   TAMYRA       KAYAJANIAN                   CA     90008157728
23814931541245   TORRIE       ROBINSON                     PA     90009399315
23816347151369   ANTHONY      ELEFANTE                     OH     66045683471
23817136531453   BOB          ARNSPERGER                   MO     90013861365
23817267991522   YADIRA       MURGA                        TX     75023432679
23822241391541   ROCIO        VILLALOBOS                   TX     75000202413
23822418355957   RENE         RIOS                         CA     90013564183
23823886991522   ALEXA        POMPA                        TX     90007248869
23827438471925   MARTY        NIGHTINGALE                  CO     90008384384
23828877791541   ALONZO       BARAY                        TX     90014318777
23829374541245   JOHAN        DAVIS                        PA     90014163745
23832167391241   OCTAVIA      SMITH                        GA     90005541673
23833451772447   SHIRLEY      BETUSH                       PA     51050174517
23834375481661   KRIS         SEXTON                       MO     90014713754
23834592677541   MARIA        RICO                         NV     90002515926
23837787231453   ANNIE        HUBBARD                      MO     90003397872
23839388893773   KEEA         MELL                         OH     90005863888
23841281955957   NANCY        AMBRC                        CA     90015592819
23841523491522   GISELA       NAJERA-DELONGORIA            TX     90011965234
23842111347946   CHERYL       WILLIAMS                     AR     90013261113
23844985841245   LAMONT       WILLIAMS                     PA     90012849858
23845621531433   SHANNON      PAHLMANN                     MO     90004246215
23845639131631   AMBER        PALMITIER                    KS     90012616391
23846622693773   WAYNE        STEVENS                      OH     90005866226
23848571591541   RAUL         ROMERO                       TX     90012235715
23848648325359   JAMES        MILLER                       WA     90013916483
23849441491541   JUAN         VEGA                         TX     90011404414
23856421991522   ERICA        SOTO                         TX     90009624219
23857653955957   GEORGE       CASARES                      CA     90011966539
23857982791522   RUBY         GUITIERREZ                   TX     75084769827
23859187272447   NICOLE       KLUGH                        PA     90002311872
23861378191828   PAUL         FROST                        OK     90012343781
23861526191541   ADRIAN       SOTO                         TX     90010185261
23862226984344   CRISTAL      RAPOSA                       SC     90014832269
23864287891828   NICOLAS      VANUELLOS                    OK     90005202878
23864924391522   ANTONIA      RODRIGUEZ                    TX     90008159243
23866456331453   LAURA        RODEBAUGH                    MO     90000134563
23867159691541   RIVERA       JESS                         TX     90010971596
23867195155957   DAVID        SPEARS                       CA     90013531951
23869199172447   RICHARD      BOOKER                       PA     90013601991
23869281391541   GISSELLE     PAGAN                        TX     90014772813
23869669491828   MARIA        ALFARO                       OK     90011946694
23869859355957   TERESA       YOCKEY                       CA     90010468593
23869874631631   VICI         WRIGHT                       KS     22007108746
23871434591828   RICHARD      ADAMS                        OK     90010304345
23872653691828   PAMELA       COON                         OK     90010166536
23872774791528   YOLANDA      SOSA                         TX     90005977747
23872988272447   DEBORAH      CARTER                       PA     90009949882
23879351131631   LORI         SKAGGS                       KS     22083503511
23881648891828   TIFFANY      LEWIS                        OK     21036986488
23882292631631   HELEN        WILLIAMS                     KS     90014522926
23882664391522   ADOLFO       MORENO                       TX     75088856643
23882924691823   VERONICA     AGUILERA                     OK     90001559246
23883221391828   MONICA       CERVANTES                    OK     90010872213
23883635657531   ALEXANDRA    NUNEZ                        NM     90013986356
23883675431433   JAMIE        KUEHNER                      MO     90004246754
23883769493773   NOVA         SMITH                        OH     90005867694
23892881191522   YESICA       ORTEGA                       TX     90013188811
23893648391522   RODOLFO      FERNANDEZ                    TX     75023556483
23894499431631   JUSTIN       ROURKE                       KS     90001964994
23894883972447   ELIZABETH    BOGGS                        PA     90012698839
23896681663621   ELIZABETH    BLUMER                       MO     27510306816
23896859991522   LETY         VELASQUEZ                    TX     75093738599
23898815991528   SAMANTHA     TORRES                       TX     90005978159
23917118391828   HEATHER      HACKATHORN                   OK     90015111183
23918715572447   EMILY        DRUM                         PA     90002957155
23921257151369   CRISTY       PONDER                       OH     66095912571
23924346491828   J            WESLEY                       OK     90012253464
23925245391541   ROBERTO      HERNANDEZ                    TX     75097802453
23925498491522   BOBBY        MORALES                      TX     90014344984
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23926187772447   MINDY          NOVAK                      PA     51075711877
23926541991828   AIVARO         MARTINEZ                   OK     90009325419
23926591291541   JOSE           GUTIERREZ                  TX     75016845912
23928571641245   KATIE          SOBEK                      PA     90014165716
23929328355957   SYLVIA         MENDEZ                     CA     90014753283
23932945672447   ROBIN          PARADY                     PA     51002029456
23937231931433   BRENDA         HURSEY                     MO     27554942319
23938934731631   RANA           AHMAD                      KS     90014499347
23939366755957   OSCAR          BRAVO                      CA     90008413667
23942499531453   GARY           MILLER`                    MO     27587294995
23942656981661   YAKETHIA       BALL                       MO     29010216569
23946495391542   GERARDO        IBARRA                     TX     90011814953
23947245284364   ASHLEY         AYTES                      SC     19094722452
23947269491522   LIZETTE        MARQUEZ                    TX     75059962694
23948454841245   JAMIE          DAVIS                      PA     90015064548
23953364291828   THOMAS         WRINKLE                    OK     90015123642
23956118391828   HEATHER        HACKATHORN                 OK     90015111183
23958413791522   SARAH          COOPER                     TX     90014894137
23958534391828   KENNETH        SMILES                     OK     90014885343
23958746355957   HEATHER        DURAN                      CA     90015027463
23958785131453   JODIE          WELLNER                    MO     90014847851
23963429591828   JOE            SHELTON                    OK     90014684295
23965689272447   SHANNON        SWERTZER                   PA     90009046892
23966291672447   NICHOLAS       MCGUIRE                    PA     51075592916
23967666331631   CYLYNDA        MARTINEZ                   KS     90013986663
23971139891541   BRENDA         CARDENAS                   TX     90010851398
23971162991522   ROSA           LOPEZ                      TX     90006651629
23971354791828   STACY          PEEVY                      OK     90012053547
23971721447952   ANNIE          HENDRICKS                  AR     24043707214
23972135591522   ALBERTO        LARES                      TX     75027791355
23972868181657   MACOLE         MAYWEATHER                 MO     90001958681
23974262131631   MICHELLE       GIBSON                     KS     90010962621
23975193255957   ANA            TORRES                     CA     90013961932
23976694461982   THEODORE       MASON                      CA     46097506944
23977116377534   JOHN           HERRERA                    NV     90010581163
23977772377534   JOHN           HERRERA                    NV     90014127723
23978275261992   JOHN           DUVALL                     CA     90002242752
23978349131453   KAY            JAY                        MO     27560293491
23982542931453   JASMINE        STAPLES                    MO     90013305429
23985659681646   ANGIE          RICO                       MO     90014716596
23988458591522   HILLEARY       CRUZ                       TX     90011604585
23988611654123   JENNIFER       BELFI                      OR     90011316116
23991293361548   AMANDA         MATTHEWS                   KY     90007662933
23994153555957   JOSEPHINA      BANUELOS                   CA     48075521535
23994848991522   LARRY          DAWSON                     TX     90010638489
23995563155957   NANCY          PHILLIPS                   CA     90007525631
23998483631453   TRIXIE         LYNN                       MO     90015474836
24111784691241   ROMELL         MITCHELL                   GA     90013747846
24114774591541   LUIS           MEJORADO                   TX     75088157745
24114778691953   HONORATO       LECHUGA                    NC     90004357786
24114991151369   LEON           MCGEORGE                   OH     66058069911
24116942891828   SHANE          CANADY                     OK     90010329428
24117574984364   TABETHA        JENKINS                    SC     90007465749
24117887931433   JESSE          BARNETT                    MO     90001718879
24118126991241   SERGIO         MORENO                     GA     90010431269
24118262781687   MICHELLE       BROWN                      MO     29092102627
24119816691241   MARY           NAVA                       GA     90014388166
24121427871935   MICHAEL        ROGERS                     CO     90003794278
24122193231453   SCALES         EDWARD                     MO     90008421932
24123519191356   CANDACE        JENKINS                    KS     90002585191
24123683591959   DJ             Q                          NC     90011476835
24124331891541   NORA           DURAN                      TX     90012733318
24125686391953   JOSE           SANTOS                     NC     17038656863
24126319991541   EDGAR          RENTERIA                   TX     90012033199
24126544491953   GREYSI         PAZ                        NC     90009045444
24127259631631   IRMA           GRANADOS                   KS     90014442596
24127484471935   YULANDER       PEARSON                    CO     90012874844
24127676155957   FRANK          JIMENEZ                    CA     90010136761
24128533771935   STEVEN         BROWN                      CO     32048275337
24128932231453   DURRAND        SMITH                      MO     90014559322
24131832191356   JOSE ANTONIO   ORTEZ                      KS     90015188321
24131859731453   TENISHA        MCCLENTON                  MO     27511438597
24132318131453   ALLEN          GREEN                      MO     27590113181
24132778171935   CHELSEA        TROTTIER                   CO     90002607781
24133266991522   JOANNA         ARANDA                     TX     75045222669
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24134881791528   LAURA VICTORIA   SOROA                    TX     90009918817
24136668184364   ROSALIA          RODRIGUEZ                SC     19012786681
24136673691241   KENNETH          WRIGHT                   GA     90009176736
24137178891828   DAVE             BICKLE                   OK     21095701788
24137293191541   JIMMY            REVELES                  TX     90001822931
24138739531631   KOBE             LAWSON-MOSTELLER         KS     90013487395
24139989191541   ELIZABETH        DEL TORO                 TX     75009769891
24141468681644   DAVID            CANSINO                  MO     29017674686
24142189491828   JOSICA           BROWN                    OK     90013421894
24142428791541   ARACELI          HERNANDEZ                TX     75058324287
24143441891828   AMPARO           CASTANEDA                OK     90010824418
24143699991831   SHORONDA         WILSON                   OK     90012536999
24143933391542   ERIKA            CHAVEZ                   TX     90009939333
24144639291241   EFFIE            MIDDLETOM                GA     90014706392
24144981791522   RICHARD          DOMINGUEZ                TX     90009829817
24148243491522   ERNEST           RAMIREZ                  TX     75002692434
24148547455957   DEBBIE           RODRIGUEZ                CA     90009365474
24149633281644   KATHLEEN         KIRKHAM                  MO     90007546332
24149928384364   MARCELLA         THOMASON                 SC     90009549283
24151648591241   BLAKE            KNIGHT                   GA     90014706485
24151675271935   BRITTANY         BUTLER                   CO     90014306752
24152316771935   JOSE             GONZALEZ                 CO     90013913167
24152752391541   ARCELA           LOZANO                   TX     75089497523
24154149691541   LUIS             GOMEZ                    TX     75004621496
24154486531453   MARSHA           TRAVIS                   MO     27506784865
24156439591953   ACEB             NEGASH                   NC     90014214395
24156654271935   RICARDO          JASIEL                   CO     90012876542
24161698731631   FELICIA          WOODIN                   KS     90013406987
24161724431453   KAYE             PERKINS                  MO     90009027244
24162415531453   MARIAH           HALL                     MO     90011444155
24162425331433   LILLIAN          HAWKINS                  MO     27541394253
24164237191541   LUIS             ZEPEDA                   TX     90014752371
24164722241245   KENDALL          KENNDY                   PA     90011807222
24164976331453   KERRY            WILSON                   MO     90013019763
24165731491541   BRISELDA         VARGAS                   TX     75054057314
24166718691522   HERIBERTO        SILVA                    TX     90014317186
24167959555957   ALICIA           GRIJALVA                 CA     90013459595
24169581891522   ANNA             PEREZ                    TX     90014915818
24171859871935   LUZ ELENA        VEGA DOZAL               CO     90010398598
24171932281644   TYIESHA          WILSON-HUNT              MO     90014109322
24172198631453   UNTREL           SMILEY                   MO     90010101986
24172235755957   DAVID            TAFOYA                   CA     90010322357
24172618391522   MARK             RODRIGUEZ                TX     90013646183
24174451755957   LOUIS            VILLALVA                 CA     90012934517
24175379491356   ADRIANA          GUZMAN                   KS     29024063794
24175534147952   LATOYA           FISHER                   AR     24055885341
24175835531453   RAYMOND          HINES                    MO     27559998355
24176428791241   NATASHA          GREEN                    GA     90011104287
24176686647952   MELINDA          HOLDEN                   AR     90012146866
24177123384364   ROBIN            GIBBS                    SC     90013951233
24177627131453   TIFFANY          MOORE                    MO     90014636271
24178971855957   DAVID            CANTU                    CA     48017919718
24179546631442   DOMINICK         CACIOPP                  MO     27586825466
24179778841245   TYRONE           STAPLES                  PA     51088127788
24179889355957   GUADALUPE        RIVERA                   CA     90014578893
24181819155957   JOSH             DEBRIE                   CA     90008648191
24182454171935   JOE              LAMOUREU                 CO     32077244541
24183141184364   KIMBERLY         CHABOT                   SC     19063501411
24183697471935   ADAM             TRINIDAD                 CO     90012876974
24185669291828   EMMA             PROCTOR                  OK     90013916692
24185698271935   JASMINE          DUNCAN                   CO     90012876982
24185848991828   DARIN            ROLLINS                  OK     90014898489
24187296584364   KHARY            HUTEHINS                 SC     90012572965
24187358141245   JENNIFER         THOMPSON                 PA     90007933581
24188292947952   CYNTHIA          MOORE                    AR     24087632929
24188484871935   DOMINIC          TAFOYA                   CO     90013164848
24189691591828   KRIS             HACKBIRTH                OK     21068056915
24191688185938   ESTEBAN          VALDES                   KY     90002896881
24191699191541   JOEL             MORENO                   TX     90013596991
24193489257157   ANTHONY          MORALES                  VA     90003074892
24194236591541   ILIANA           MORENO                   TX     90014762365
24194285791953   SHARON           MILLS                    NC     17009912857
24194412955957   CONSUELO         MENDOZA                  CA     48017324129
24194631861932   JORGE            VARGAS-VALENZUELA        CA     90007526318
24195996291828   RACHAEL          WORLEY                   OK     90001959962
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24199352685639   FLOR             RODAS                    NJ     90014763526
24211485384364   SHARAE           SCOTT                    SC     90011414853
24213173631631   AMESHIA          MCCULLAR                 KS     90011421736
24214772531453   AMY              MCATEE                   MO     90013357725
24215862391541   VALERIE          ESCAMILLA                TX     90011168623
24217964991356   KYLE             ALFRED                   KS     90010849649
24218629591522   ROSA             SALAS                    TX     75023296295
24218663771935   NANCY            WOODS                    CO     90012986637
24218961791356   DONG             NGUYEN                   KS     90012299617
24219598171935   ALVINO           SANCHEZ                  CO     32074505981
24222755671935   ALFRED           BANKS                    CO     90012877556
24222879561939   OLAYEMI          SANTOS                   CA     90013828795
24223874691828   ALLYSON          ALDRIDGE                 OK     21059658746
24224932281644   TYIESHA          WILSON-HUNT              MO     90014109322
24225757471935   MOSES            GONZALEZ                 CO     90012877574
24225928431433   JEREMY           ROBERSON                 MO     90011519284
24227115155997   HERIBERTO        MORALES                  CA     90007851151
24227281155957   LEIA             CHIN                     CA     48058702811
24227791331453   MICHAEL          FRANK                    MO     27524227913
24227863791528   OLGA             PENA                     TX     75093628637
24227977391522   NIXON            TRISHA                   TX     75085089773
24228114661974   JULIA            SLEDGE                   CA     90009721146
24228115155997   HERIBERTO        MORALES                  CA     90007851151
24228698491356   DONALD           DIXON                    KS     90015316984
24228726631453   CHERMEKA         WHITLOCK                 MO     90014087266
24229183871935   ALVIE            HENDERSON                CO     90012941838
24229378891522   CYNTHIA          RODRIGUEZ                TX     90010843788
24231793391241   JUSTIN           QUAID                    GA     90012637933
24232886857188   WILLIAM          PINEDA                   VA     90005768868
24233765771935   PATRICK          SNODGRASS                CO     90012877657
24233894555957   EDUARDO          PENA                     CA     90006928945
24235191131492   RACHELLE         RICHARDSON               MO     27583961911
24235963531453   BRICE            HAUGHTON                 MO     90014799635
24236364191541   MARISELA         HERNANDEZ                TX     90008053641
24238834791828   EMILY            CLAUDIO                  OK     90010228347
24239417891541   MARIA            BONILLA                  TX     90014094178
24241153691356   LEON             CARTER                   KS     29018421536
24242666331631   CYLYNDA          MARTINEZ                 KS     90013986663
24244372555957   JESSICA          CORDOVA                  CA     90005263725
24244488891953   TANGER           JAMES                    NC     90011974888
24244757151325   DANTE            COLEMAN                  OH     90010097571
24248444891953   GRACE            FALCO                    NC     90006124448
24249613491356   BRIAN            FIELDS                   KS     90010006134
24251192891522   JUAN             CASTRO                   TX     90011411928
24251985371935   NELSON           MONTENEGRO               CO     90008619853
24252696255957   RUBEN            ACOSTA                   CA     90014176962
24252933155957   FERMIN           ZAMORA                   CA     90014569331
24253228291541   MARIA            GARCIA                   NM     75062702282
24253895581644   MANUEL           MERAZ                    MO     90014098955
24257139684364   JOSEPH           HOWARD                   SC     90009401396
24257718571935   NICHOLAS         STAVE                    CO     90014307185
24258426991241   MARIELA          BICENTE                  GA     90014364269
24258747891522   RUBINA           MURTAZA                  TX     90014877478
24258989431453   TRUV             J                        MO     90015489894
24259419193767   DAVID            POLLOCK                  OH     64514564191
24259771284364   MARK             COOPER                   SC     90010307712
24262319891541   SALVADOR         MARQUEZ                  TX     75008763198
24263579155923   MARIO            VASQUEZ                  CA     90008725791
24264812371935   SHIMIKO          MCNABB                   CO     90012878123
24264841591828   LOGAN            WEDDLE                   OK     90014128415
24265339891522   OMAR             PEREZ                    TX     90014823398
24265956191541   FLORENTINA       ALARCON                  TX     90005019561
24266796393753   MELINDA          PRITCHARD                OH     90012407963
24267143491828   MELISSA          WATKINS                  OK     90013461434
24267295391241   ANDREW           LARKIN                   GA     90013152953
24268145291356   DANIEL           HERNANDEZ                MO     29007061452
24269834241245   GERALD           SINGLETON                PA     90013878342
24271733131631   LORENA           CARTER                   KS     90011117331
24271864791828   SAMANTHA         WHEATON                  OK     90013388647
24272525191241   JEANETTE         BULLOCK                  GA     90012215251
24273649838531   NOVA             CLINE                    UT     90010646498
24275548931453   DON              FRANKLIN                 MO     90012885489
24277815971935   NOEMY            COLORADO                 CO     90012878159
24277886981644   NELSON RICARDO   GAITAN                   MO     90006218869
24277999193753   VALERIE          BLACKWELL-TRUITT         OH     90008869991
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24278134991953   ZAHIRUL       SOHAG                       NC     90012791349
24279681281644   PALLET        TREE                        MO     29028786812
24281218781644   JOSE          MANCILLA                    MO     90011192187
24282625591522   ITZEL         GOMEZ                       TX     90013646255
24282992591541   CHRISTINA     LOPEZ                       TX     90001409925
24283452491522   ANTONIO       APODACA                     TX     90014154524
24284569271935   STEVEN        KRAFT                       CO     32013735692
24285374691953   RUBEN         LESSO                       NC     90009613746
24286519691528   YVONNE        LIRA                        TX     75020305196
24289362977574   AURORA        BOLES                       NV     90001733629
24289586381644   TIFFANY       WILSON                      MO     90012355863
24291363484364   MARTIN        RUELAS-ASCECIO              SC     90015173634
24291848371935   AMANDA        TALEY                       CO     90012878483
24292583931453   ALEXIS        PALAZZOLO                   MO     90015425839
24292672431631   T NEST        ARECOUN                     KS     90013326724
24293627391953   ASHA          GASKINS                     NC     90013166273
24293943491828   JAMIE         WALLING                     OK     90014289434
24294128291953   TIMMY         HOOKER                      NC     90011071282
24294183981644   KELLY         ROBINSON                    MO     29072781839
24294848555957   JOSE          ZENDEJAS                    CA     90012468485
24295765271935   ROSA          BUSTOS                      CO     32066857652
24296281155957   LEIA          CHIN                        CA     48058702811
24298842191828   KAREN         PIACENTI                    OK     21027068421
24299219277381   KIMBERLY      GREEN                       IL     20589342192
24299923171935   SHONA         MEDINA                      CO     32009889231
24299945881644   JESSICA       ONTIVEROS                   MO     90014099458
24311115631453   STEPHANIE     PAPIN                       MO     27581021156
24311618391522   MARK          RODRIGUEZ                   TX     90013646183
24312898791522   JORGE         GUEVARA                     TX     75062608987
24314735284359   SONYA         STEINMEYER                  SC     90013507352
24315941531453   VERA          BILLINGSLEY                 MO     90013839415
24316783751369   LEONOR        GARCIA                      OH     90008287837
24317111731453   ARTHUR        ALLEN                       MO     90010321117
24317392281644   ISAIAS        RODRIGUEZ                   MO     90013953922
24319362431453   SCOTT         ARNOLD                      MO     27560303624
24319518691522   ARIAS         ROXANNE                     TX     90008395186
24321661891953   MARSHA        CONWAY                      NC     90015306618
24322438181644   KEVIN         FOLAND                      MO     29071714381
24322568871935   JESSICA       SIMONDS                     CO     32067635688
24322735281644   BRANDON       BEADLE                      MO     90013407352
24323445891953   ELEANOR       SMALL                       NC     90011824458
24324888471935   ROBERT        MATTICE                     CO     90012878884
24325138591241   SANDRA        EARLY                       GA     90001611385
24325698841245   CAVACINI      THOMAS                      PA     90003706988
24325913791541   MAYRA         MEZA                        TX     90014859137
24326271284364   AQUILLA       PARKER                      SC     90014712712
24326647171935   ERIK          KONIG                       CO     32055506471
24328262584364   KEVIN         BERTERAND                   SC     90012502625
24331474391547   RIGOBERTO     ENRIQUEZ                    TX     90004214743
24332177491953   ERICA         BALDERAS                    NC     90013281774
24333993391582   JUAN CARLOS   CUELLAR                     TX     90008999933
24334953371935   ROBERT        RIDER                       CO     90014909533
24337429691828   KEVIN         GONZALEZ                    OK     90014894296
24337768155957   ILEEN         PARRA                       CA     90001117681
24337855991522   SANDRA        OLIVAREZ                    TX     90014598559
24338461991828   MARK          COOPER                      OK     90010354619
24339428991541   JULIO         GARCIA                      TX     75087374289
24341458941281   ADRIENNE      MURRAY                      PA     90011174589
24342433231631   ADAM          MAGNUM                      KS     90000944332
24342957971935   WILLIAM       ZERINGUE                    CO     90001529579
24343176771923   STEPHANIE     BROWN                       CO     90008311767
24343575391953   QUEEN         GENTRY                      NC     90011625753
24345245851561   TRACY         MOORE                       IA     90014912458
24345493325138   RICHARD       BOSWELL                     AL     90009714933
24346377391356   ANGELA        GUTIERREZ                   KS     90014843773
24348478531631   JUDITH        REISINGER                   KS     90014924785
24349146491541   DAVID         PAZ                         TX     90012361464
24349673991241   MICHELLE      HUNTER                      GA     14565956739
24351258491828   CARLY         CHISUM                      OK     90012322584
24351678555957   DOLORES       LOPEZ                       CA     48069876785
24352196255957   JOSE          MENDOZA                     CA     48005581962
24352295954162   ASHLEY        CRESEY                      OR     90015282959
24352542984364   JOSHUA        WILKINSON                   SC     90012535429
24355895281644   ANGELA        PITTMAN                     MO     29033518952
24358319881644   MANDY         WINFREE                     MO     29088093198
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24359262651369   JACK             BENNETT                  OH     66025872626
24359446141245   DAVID            ROBERT ARLOTTA           PA     90010204461
24362864791953   MARTIE           WILLIAMS                 NC     90012128647
24363557291953   PORTIA           MCCULLERS                NC     90012735572
24363631891541   ALEX             GONZALEZ                 NM     90013556318
24366864991953   ANTOINE          LYONS                    NC     90006828649
24368799857157   JOSE             RUIZ                     VA     90001327998
24368886491522   JESSICA          QUEZADA                  TX     90013988864
24369634191541   MARIBEL          SUSTAITA                 TX     90013556341
24372982991356   LORENA           ANGUIANO                 KS     29086789829
24373896731453   SCOTT            DICKENSON                MO     90013868967
24374295171935   LORENZO          ARCHULETA                CO     32008152951
24375176455957   FRANCISCO        ENRIQUEZ                 CA     90010311764
24375197471935   MINERVA          RAYES                    CO     90010331974
24377125691541   MONICA           LUNA                     TX     90008591256
24377537584364   SABRINA          GREEN                    SC     90014705375
24377625491241   TANIESHALA       FUTCH                    GA     14573406254
24379523731453   SEAN             MCCLUSKUY                MO     90014245237
24383447871923   AARON            OMALEY                   CO     90009454478
24383575855957   JOSE GUILLERMO   MUNOZ                    CA     90006195758
24384398784359   DAVID            BUSSEY                   SC     14597543987
24384475831433   FLORENCE         HALBERT                  MO     27589684758
24385112991828   TAJVANA          WINN                     OK     90013881129
24385439431453   JEANETTE         COX                      MO     90015274394
24386433691522   OA               FINANCIAL                TX     90012064336
24389698991525   LOURDES          IBARRA                   TX     75052216989
24391558155957   MELISSA          CLAYTON                  CA     90013775581
24392277791241   CHRYSTAL         BROOKS                   GA     90014902777
24392548891541   MANUEL           FIGEROA                  TX     90005565488
24394443184364   MATIAS           PINTOS                   SC     90013924431
24395947884364   CHRIS            HINDS                    SC     90012979478
24397911691356   JODY             PRICE                    KS     29007119116
24398513771935   LUIS             CARMONA                  CO     90004045137
24398982691356   LUCRETIA         YOUNG                    KS     29011229826
24414217571935   JANICE           STURLANGSON              CO     32003342175
24414723991541   GABRIELA         TREJO                    TX     90012177239
24415315284364   PAUL             HERMAN                   SC     90014793152
24415739891541   GUILLERMIN       RODRIGUEZ                NM     75014697398
24416265591356   JACK             SANFORD                  MO     29063502655
24418755991828   BRENDY           OROZCO                   OK     90013757559
24418768871935   STEPHANIE        DAVIS                    CO     90014307688
24421497991953   CHRISTINE        JONES                    NC     90005464979
24421731691528   DAVID            DELAROSA                 TX     75093707316
24422345291541   MARIA            MARQUEZ                  TX     90012263452
24423157491356   NERY             ULLOA                    KS     90013401574
24423697591953   RAMIRO           RODRIGUEZ                NC     17001546975
24424382172432   SHEILA           HOOVER                   PA     90014153821
24424385841245   GABRIEL          NEGRON                   PA     51029353858
24424455731433   MICHELLE         KENT                     MO     27588294557
24424684331453   KENNETH          SKIPPER                  MO     90011946843
24426977691522   EDUARDO          GONZALEZ                 TX     90006399776
24427929661982   JUSTIN           MYERS                    CA     90001199296
24428186191541   GUSTAVO          RAMIREZ                  TX     90013241861
24428951971935   HOLLY            SMITH                    CO     90012899519
24429231131453   MARGARITA        AINLEY                   MO     90015052311
24429847771935   MICHAEL          FONTAINE                 CO     90013988477
24431327991953   JOE              POTTS                    NC     90007823279
24432951971935   HOLLY            SMITH                    CO     90012899519
24434321284345   MARQUITA         MYERS                    SC     90013093212
24434646991953   ARTURO           LOPEZ                    NC     90006636469
24435614291541   ADRIANA          SZVETECZ                 TX     90014526142
24438376291953   CAMILLE          PERRY                    NC     90014923762
24438524181644   SERGIO           MELENDEZ                 MO     90013955241
24439242791522   EVELYN           GUZMAN                   TX     90012112427
24439991891953   ERICA            SMITH                    NC     90007549918
24441175731453   DWANYE           CLEMONS                  MO     90015161757
24444365391541   YOLANDA          OLGUIN                   TX     90004863653
24444566484364   ELMA             SIMMONS                  SC     90013385664
24444661891953   MARSHA           CONWAY                   NC     90015306618
24446531991241   JUAN             LOPEZ                    GA     90014015319
24447215931631   KRISTINE         SCHOEMAKER               KS     22091512159
24447618884364   JENNIFER         WOODALL                  SC     90014556188
24448662185646   ELEZAR           MIGUEL                   NJ     85009256621
24448927471924   BARBARAH         TAFOYA                   CO     90011309274
24449422857133   HASINTO          DE PLAN                  VA     90010124228
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24452353955957   NORMA           CUEVA                     CA     90012993539
24452471391356   SABRINA         MANNING                   KS     90015554713
24454318291953   ESTHER          BASTARDO                  NC     90010303182
24454778591525   REY             MICHELLE                  TX     90008057785
24455959781644   JACQUELYN       CHAMBERS                  MO     90014109597
24455983671947   BRENNA          ABRAHAM                   CO     90014839836
24456245271935   ADAM            CRUMP                     CO     90013192452
24458813554162   DAVID           DOYLE                     OR     90015478135
24458843571924   GLORIA          SANTISTEVAN               CO     90014448435
24459578891828   CHRIS           REYNOLDS                  OK     90004105788
24461855941245   BRIAN           FLEMING                   PA     90003758559
24462174491828   TRISHA          THOMPSON                  OK     21015391744
24462664181644   DAMARRA         SMITH                     MO     90009936641
24463616591828   COLLEEN         DAVIS                     OK     90012146165
24463994991241   MORRILLA        SIMONS                    GA     90013789949
24465686631453   CANDICE         FENTON                    MO     90011336866
24465829391241   DEBRALEE        COBB                      GA     90014558293
24465993891356   STEVETTE        MCAFEE                    KS     90015079938
24466343191828   ANTHONY         MCINTIRE                  OK     90012763431
24466425491953   GUILLERMINA     CEDENO                    NC     90011484254
24466726991356   CARMEN          TORRES                    KS     29092797269
24467132491356   TASHA           HEARD                     KS     90015561324
24467588693767   MARCUS          STOKAS                    OH     90010035886
24469482484364   MARVA           HAYNES                    SC     19039124824
24471115681644   BRADLEY         DORSEY                    MO     90014881156
24471231647952   CHRISTOPHE      HERNANDEZ                 AR     24080292316
24471236141245   BRECK           CRAIG                     PA     51036802361
24471825171935   ALEXANDER       ZEMOJTEL                  CO     32018048251
24472163991241   SANONIA         RUFUS                     GA     90013071639
24472243191541   JAVIER          BORGARO                   TX     90010092431
24473296847952   CASSAUNDRA      ANDREWS                   AR     24005752968
24474779561999   KENNETH         RILEY                     CA     90007177795
24475432291828   AMANDA          ROGERS                    OK     90013394322
24475824291241   CHARLES         MOBLEY                    GA     90014708242
24476133391522   LEYRETH         GARCIA                    TX     75048801333
24476171241251   KRISTEN         TRACEY                    PA     90014841712
24477478141281   RICHARD         TEMAN                     PA     90010254781
24479848684364   MARIANA         PEREIRA                   SC     19084258486
24481995831631   BOBBY           ROBINSON                  KS     90013069958
24482542671935   MATHEW          YOUNG                     CO     90011245426
24484182691541   ADRIAN          ALVARADO                  TX     90012271826
24484231591522   DOMINGO         NIEVES                    TX     90011522315
24484233571935   JENNIFER        MATHUES                   CO     90012922335
24484351755957   BENJAMIN        CORDEIRO                  CA     48005183517
24485296191828   MARILU          CAMINOREAL                OK     90013912961
24485895271935   STEPHANIE       ARELLANO                  CO     90014248952
24486815347952   RUSSELL         HUFFSTETLER               AR     90013018153
24487682291522   BEATRIZ         ESPINOZA                  TX     90012426822
24488377871935   COREY           PUGLISIS                  CO     32014703778
24488613684364   SUSAN           CANNON                    SC     90014596136
24489398391356   DANNY           TORRES                    KS     90011853983
24492665191522   MINERVA         NAJERA                    TX     75060296651
24493819891541   DEBBIE          FLORES                    TX     90009318198
24494821797173   DAVID CALIXTO   PINEDA                    OR     90004688217
24495373591356   SAMANTHA        HOHIMER                   KS     29063123735
24496824333658   TEE             GOTTI                     NC     90014768243
24497436631433   JERROD          SCOWDEN                   MO     27558704366
24497694557157   FABIANA         VILLALBA                  VA     81012186945
24499331531433   RICK            RIEHEMANN                 MO     90002313315
24512292491356   DAISY           NOREZ                     KS     90010732924
24513584284364   FRANK           THOMSON                   SC     90012945842
24514142691953   RAZAN           AHMED                     NC     90011911426
24515678654162   PAYGO           IVR ACTIVATION            OR     90014646786
24516481291828   PAU             THANG                     OK     90014084812
24516629191241   NICKOLAS        BRYANT                    GA     90014366291
24517228491953   JAMES           GOULD                     NC     90014592284
24519966591881   SHANNON         DARBY                     OK     90014109665
24522198681644   QUENTIN         BOLLINGER                 MO     90006591986
24524472791522   HENRY           ELORDUY                   TX     75029594727
24524584284364   KELSEE          SIMPSON                   SC     90011265842
24524957155957   JOHN            VALADEZ                   CA     90010799571
24525728591828   DMARCO          ADAMS                     OK     90011967285
24526127491241   JORGE           ARIAS                     GA     90011931274
24526391357157   TERTIA          BALDWIN                   VA     81092073913
24527154491959   DEVIN           PURCELL                   NC     90007991544
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24527719341248   LYNETTE      WASHINGTON                   PA     90001767193
24528133191522   DAVID        GRANADOS                     TX     90013801331
24528531591241   VERNON       GIBSON                       GA     90010765315
24529262181644   SABRINA      DUNCAN                       KS     29012332621
24529632257157   ANTHONY      EDWARDS                      VA     90008316322
24531334191953   FAUSTO       HERNANDEZ-SALAS              NC     90006023341
24533695691356   LAJUANDA     WILSON                       KS     29007076956
24534267191953   TONYA        MOORE                        NC     17086932671
24534487231631   JAMES        GICHURU                      KS     90015104872
24534956891241   JAMIL        SINGLETON                    GA     90001859568
24535692755957   RUBEN        VALDOVINOS                   CA     90006556927
24536477671935   AMANDA       BOONE                        CO     90013864776
24538585341245   ANTHONY      VICKERS                      PA     51038655853
24539411291953   NETASHA      HILL                         NC     90001144112
24539511185938   TIMOTHY      TOMPSON                      KY     67036515111
24542535284364   NICOLE       HENDERSON                    SC     90007335352
24542622241245   DAVID        TATAR                        PA     90010576222
24544531884364   VERNETTA     SUNKINS                      SC     90011415318
24544978191534   PAZ          QUINTANA                     TX     90010409781
24548572284364   ANTONIA      ALSTON                       SC     90013525722
24548848455957   CARI         MCELNOYL                     CA     48033508484
24551934791953   JOSE         AGUILAR                      NC     90008049347
24555213691541   JESSI        HERNANDEZ                    TX     90012702136
24556125431433   ERIKA        FOX                          MO     27591421254
24556827831631   BARBARA      BANKS                        KS     90013028278
24557173593742   NICOLE       WARREN                       OH     90014791735
24557184471935   NATHAN       HERDLICKIA                   CO     90002321844
24557353931453   TARA         WICKS                        MO     90013873539
24557727591828   LARHONDA     TREMBLE                      OK     90013827275
24558785631433   DAVID        BOELHAUF                     MO     27591427856
24558932141235   NICHOLAS     YADRICK                      PA     90010229321
24559141984364   KYANIA       HOWARD                       SC     90014491419
24559797531453   MARCUS       BELL                         MO     90015017975
24559873191953   STEVEN       BECKWITH                     NC     90011288731
24561897955997   DAMARIS      MORALES                      CA     90000768979
24562862791522   ARACELY      MEJIA                        TX     90015218627
24564998855957   VALERIE      SANTIAGO                     CA     90014749988
24565335355957   MARIA        RAMOS                        CA     48006173353
24565769841245   JOHN         WOLFORD                      PA     90006907698
24566196671935   YVONNE       BROWN                        CO     90012931966
24566426231631   MICHAEL      TEHRANI                      KS     22034094262
24567335355957   MARIA        RAMOS                        CA     48006173353
24568348481644   ALTAGRACIA   BATORSON                     MO     90012323484
24568695391541   PETRA        BRICENO                      TX     75061876953
24568916191241   CINTHIA      ROGERS                       GA     90013239161
24569917191953   KATHY        PADILLA                      NC     90010849171
24571196671935   YVONNE       BROWN                        CO     90012931966
24571223791522   JOSE         VELOZ                        TX     90012352237
24571422791541   DANTE        VANCE                        TX     90012564227
24571861471935   YVONNE       BROWN                        CO     90013498614
24574788991541   ANNA M       AGUILAR                      NM     90010297889
24574927991241   PATRICK      BROWN                        SC     90013399279
24575457191522   FRANCISCO    CAZARES                      TX     75014464571
24576866991541   OMAR         FLORES                       TX     75004588669
24578372891541   EDNA         GARIBAL                      TX     90012823728
24578753531631   CHAD         SCHOFIELD                    KS     90002777535
24579228491953   JAMES        GOULD                        NC     90014592284
24579716231453   BENNIE       GRAHAM                       MO     27502207162
24579966291227   ARACELI      HARPER                       GA     90007949662
24581635331631   STEVEN       DRISCOLL                     KS     90013876353
24581884155957   HERBERT      MYLES                        CA     90007398841
24582958291953   QUANSHAUN    MORGAN                       NC     90013849582
24584123491522   BRIANNA      MIRANDA                      TX     90007981234
24584429691828   KEVIN        GONZALEZ                     OK     90014894296
24584595955957   JASON        GUECHO                       CA     90013915959
24585622157129   JESSE        D JOHNSON                    VA     90000926221
24587144291241   DONETTE      HOUSTON                      GA     90014561442
24589842691542   RAYMUNDO     GARCIA                       TX     75096538426
24589844871935   NICKIE       FRANK                        CO     90013788448
24589955791953   BRANDY       STRICKLAND                   NC     90014289557
24591677961932   LADRITA      ROBINSON                     CA     90007766779
24592541841245   ASHLEY       DEGOUNETTE                   PA     51020175418
24592625791541   GUADALUPE    HERNANDEZ                    TX     75004656257
24592644691522   ANTONIA      VALTIERRA CABADA             TX     90013646446
24593478291541   FERNANDO     LOPEZ                        TX     90001414782
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24593587391522   CYNTHIA           YOUNG                   TX     75093585873
24595599131453   MEGAN             COOK                    MO     90013355991
24596488691953   LATOYA            CANNADY                 NC     17043094886
24596635457531   ARMANDO           PENA                    NM     90008606354
24598465541245   PATRICIA          WOLFE                   PA     51042034655
24598888271935   LIZ               DEPPE                   CO     32099758882
24599211847952   LUIS              TAPIA                   AR     24001832118
24599968584364   TRACI             MITCHUM                 SC     90013409685
24611971584364   CHERYL            MEAD                    SC     90002809715
24612447691953   BRENDA            NYAMODI                 NC     17033644476
24612736671935   AUBREY            TOUNZEN                 CO     90011247366
24612844385938   SANDRA            THOMAS                  KY     90000358443
24613589585938   CHRIS             BOWMAN                  KY     67002515895
24614833691828   HARRY             STAFFORD                OK     90010668336
24615711671925   CHAD              LADUKE                  CO     90009547116
24619544255957   ISAIAS            GARCIA                  CA     90006995442
24621247291356   TIFFANY           KAINE                   KS     90015392472
24621843471935   RUDY              SALAZAR                 CO     90014728434
24622411791522   CODY              GWYN                    TX     90013654117
24622711591522   GUERRERO          JESUS                   TX     90015017115
24622825391241   BYRON             LEGGETT                 GA     90013518253
24622963991541   RACHEL            MARTINEZ                TX     90013329639
24624191291953   MOHAMED           DIRIYE                  NC     90012791912
24628964191541   JOSE              OGAZ                    TX     75094219641
24629727271935   BARBRA            MARTINEZ                CO     90012147272
24631655591541   SERGIO            TREVINO                 TX     90003776555
24632211591522   VIRGINIA          GUILLEN                 TX     90014022115
24632549155957   APRIL             COLOCADO                CA     90007385491
24632673291828   MARIA DE LA LUZ   TORRES                  OK     90009826732
24632843361995   DORA              MARTINEZ                CA     90002758433
24634156231453   JOHN              MORTON                  MO     90013081562
24634393291522   ANDREA            RODRIGUEZ               TX     90006283932
24637226491522   VICTORIA          FRAIRE                  TX     90010702264
24637858271935   ANTONIO           MAY                     CO     90014718582
24637879731453   WILLIAM           MCGEHEE                 MO     90011328797
24641538691241   REBECCA           HUTCHENSON              GA     90013365386
24641951391356   VALERIE           SHAW                    KS     29016429513
24642268191541   SANTIAGO          GUTIERREZ               NM     75004882681
24643588861939   DILERY            CAMPA                   CA     90008015888
24643963791828   MICHAEL           CASH                    OK     90009539637
24645299791522   CESAR             SIQUEIROS               TX     75047982997
24647613571935   LUZMARIA          CASTANEDA               CO     32025006135
24648138155957   JUAN              BARRANCO                CA     90011041381
24651464591241   YASMIN            JACKSON                 GA     90013594645
24652126331453   SHANICE           HARPER                  MO     90014111263
24652213991356   EDGAR             GONZALEZ                KS     90015322139
24653839133668   ANNETTE D         MILLER                  NC     90003988391
24654216681644   ELAINA            MARSHALL                MO     90003832166
24655481684364   TERESA            GARCIA                  SC     90011494816
24657488181644   KAREN             FRANK                   KS     90009874881
24657496571935   YONI              GOMEZ                   CO     90011324965
24659471691522   ANDREA            CHAPARRO                TX     90014154716
24663484455957   AVEL              PEREZ                   CA     90014534844
24666683431631   AMANDA            IVEY                    KS     90013496834
24669863791356   LAKISHA           BROWN                   KS     90014788637
24671344591828   VORCIE            HOWARD                  OK     21065863445
24672573841245   RIAN              HINDMAN                 PA     51083935738
24672594493742   MICHAEL           BRITCHETT               OH     90007505944
24673717681644   PEGGY             LALLAVE                 MO     29054577176
24676697491953   LYNORA            DUSTON                  NC     17000386974
24678254191356   STEFANY           REEVES                  KS     29066062541
24678575584364   TIMOTHY V         PORTEE SR               SC     90009735755
24681733591522   MIGUEL            SANCHEZ                 NM     75042927335
24683316131631   MICHAEL           BROOKS                  KS     22098773161
24683471557157   JEOVANY           GALDAMEZ                VA     90002164715
24684888891828   DEBRA             STITIES                 OK     90001618888
24684999271935   MATHEW            FUENTEZ                 CO     90013789992
24685865131453   RON               SMITH                   MO     90014068651
24686134891828   CHRIS             LOWE                    OK     90012301348
24687799471935   VANESSA           CARROLL                 CO     90009317994
24688188931631   JESSICA           POPE                    KS     90013601889
24688231371935   GERLYN            JUSTUS                  CO     32018052313
24688279891356   BRETT             WARSON                  KS     90015392798
24689284191241   MONICA            HALL                    GA     90014902841
24689888891828   DEBRA             STITIES                 OK     90001618888
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24693314231453   JAMIE        BROWN                        MO     90013373142
24693417291522   PERLA        ARAUJO                       TX     90013654172
24693774355957   LAEART       SPESSERT                     CA     90012567743
24694247431631   ANN          MEYER                        KS     90012342474
24695879931631   SHAWNTRICE   BEARD                        KS     90010908799
24714256481644   EDWARD       PADILLA                      KS     90008552564
24715733291522   NORMA        AGUILAR                      TX     75081597332
24716978184364   RICHARD      MOORE                        SC     90003459781
24717554191356   TAMIKA       YOUNG                        MO     90010985541
24718683591356   KACHAUNA     HARRISON                     KS     90014636835
24719565891522   LEONA        DANIEL                       TX     90012945658
24719816231631   MELVIN       PEARSON                      KS     22036858162
24721278355957   MARY         JEFFORSON                    CA     90006602783
24721541191356   DAMON        TAUER                        KS     90010735411
24722878691953   JANNA        FULLER                       NC     17078878786
24725814691547   MELISSA      ECHAVARRIA                   TX     90013058146
24726196131631   KATELYN      ROAT                         KS     90011421961
24726492791356   CLINT        SLATER                       KS     90015554927
24726922971935   LORENZO      RUIZ                         CO     90010059229
24734697231631   JOSH         KNACKSTEDT                   KS     90011306972
24735682391541   ARACELI      MONTALVO                     TX     90003776823
24736157581644   ERIK         WADE                         MO     90014161575
24736329731453   ASHLEY       LANE                         IL     90015483297
24737824171935   DELLA        ARCHER                       CO     32020698241
24738852591241   CHRISTINA    CHANCE                       GA     90014058525
24742492191953   JOHNNY       SULLIVAN                     NC     90009534921
24742831955957   STEFANIE     FOUST                        CA     48043098319
24743367171935   BRAIN        BRANCH                       CO     90012963671
24745135791356   JESSICA      WILLIAMS                     KS     90004411357
24745331347952   MARLON       BIRCHFIELD                   AR     90012653313
24745786181644   JOSE         HERNANDEZ                    MO     29039577861
24746112941248   LISA         BLANCHARD                    PA     90012591129
24747454591356   ETHEL        DOUGLAS                      KS     90014864545
24747863343551   DEENA        BALLS                        UT     90001248633
24749278355957   MARY         JEFFORSON                    CA     90006602783
24749899291828   ESAU         MARTINEZ                     OK     21074738992
24751169791953   REGINALD     LANGLEY                      NC     90013071697
24751997571935   JASON        YOCKEY                       CO     32015619975
24752163961957   RAFAEL JR    MAYA                         CA     90011941639
24752792491953   CHRISTIAN    REYES                        NC     90014877924
24753447671935   BARBARA      PALMER                       CO     90012994476
24754459855957   DEBRA        DART                         CA     48028134598
24755769291541   LIDIA        VARGAS                       TX     90001737692
24757637191828   DIONNE       SPICER                       OK     21021216371
24762558591522   MARTIN       CERECERES                    TX     90013965585
24764934191962   PAIGE        PERRY                        NC     17071009341
24767343191828   ANTHONY      MCINTIRE                     OK     90012763431
24767434371935   DEESHAAN     VENTURA                      CO     90015314343
24767544891541   VIRGINIA     MORALES                      TX     90008605448
24768572991356   TONY         TONE                         KS     90013305729
24768666191953   RANDY        BLAND                        NC     90015086661
24769316985938   IRENE        HERRING                      KY     90002313169
24771272991522   JUANITA      URIBE                        TX     90013362729
24771691431453   SUSIE        WILLIAMS                     MO     27574306914
24773761391241   SHANTEL      MCKITHEN                     GA     90014717613
24773953991828   VANESSA      ARMSTRONG                    OK     90013749539
24774514931453   CHARLES      SIMMONS                      MO     27593145149
24777219455957   ALFONSO      TORRES                       CA     48080042194
24779472491541   LYNDON       MAYFIELD                     TX     90010434724
24782565591828   ROBERT       MASON                        OK     90012925655
24783863891356   RICK         PASSANTINO                   KS     29052558638
24784194191541   ISMAEL       RENDON                       TX     90010941941
24784369681644   ESMERALDA    CHEDA                        MO     90014163696
24785513755957   JOHN         NEAL                         CA     90015035137
24786668684364   MICHELLE     BEAVEN                       SC     90012946686
24787174431433   JAZZMINE     HAMMOCK                      MO     27593631744
24787347731453   LASANDRA     EDWARDS                      MO     90011233477
24789215731631   KAY          BROWN                        KS     22012542157
24791968991953   MILDRED      FERNANDEZ                    NC     17067219689
24792336393742   JEFFREY      FAWELL                       OH     90010033363
24795322257157   NOIMA        FLORES                       VA     90002433222
24796228491541   CARLOS       RIOS                         TX     90013452284
24796428455957   ADRIANA      MONIQUE                      CA     90010754284
24796516891356   LEON         CROCKETT                     KS     90012785168
24796867191522   ROBERTO      DOMINGO CHASCO               TX     90013028671
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24799196255957   MARIA        GUADULUPE                    CA     48055941962
24811713391541   GLORIA       DURAN                        TX     90008867133
24812152591828   MARIA        CORTINAS                     OK     90014831525
24813431591356   ROBERTO      MEZA                         KS     29006224315
24813648671935   BRIDGETTE    PICKRUHN                     CO     90011276486
24814954991356   DAVID        ROCHA                        KS     90012419549
24815666685938   KALISA       THOMPSON                     KY     90012356666
24815723491541   DAISY A      RAMIREZ GONZALEZ             TX     90012697234
24815741491541   JENNIFER     SAMUDIO                      TX     90014227414
24816143191953   SAMAD        LYNN                         NC     17087621431
24816977371935   ANNE         MULLER                       CO     32097809773
24818794571935   KIM          STEWART                      CO     90012567945
24821983191953   EVERARDO     CHIRILO                      NC     17034289831
24822143491828   MELISSA      WATKINS                      OK     90013461434
24824513491953   AMY-MARIA    ALEXANDER                    NC     90007145134
24825578184364   JULIUS       ROBINSON                     SC     19051275781
24827586141245   TERI         KETTER                       PA     51087855861
24829399791953   DOROTHY      BASDEN                       NC     90012793997
24829857584364   SHIRLEY      KELLEY                       SC     90013708575
24832543191522   AMAIRANI     TREVINO                      TX     75006865431
24832953371935   ROBERT       RIDER                        CO     90014909533
24833945691356   ARMANDO      VASQUEZ                      KS     90015229456
24834321771935   STACEY       PRUE                         CO     32096603217
24836284881644   ANTONIO      ALVARADO                     MO     90014162848
24836727491828   VERONICA     GONZALEZ                     OK     90015307274
24837147591828   APRIL        HANEY                        OK     90013401475
24837413891541   BEATIZ       GARAY                        TX     90012564138
24838188791953   JOSE         GARCIA                       NC     90015101887
24842586557157   C.           SLIGER                       VA     81048345865
24842929891241   BRITTANY     BRANDYBURG                   GA     90013459298
24842978291241   THERESHA     MCGEE                        GA     90014779782
24842997947895   JENNIFER     TRUSSELL                     GA     90014089979
24843468771935   JEFF         WHITESCARVER                 CO     90007314687
24844553391953   TUIANA       SANDERS                      NC     90013945533
24844998991241   LORI         HOLTON                       GA     90014169989
24845469991522   JOSE         CORDERO                      TX     90013814699
24848325791525   JOSE         PADILLA                      TX     75006033257
24849274555957   NORMA        CASAS                        CA     48027572745
24851546255957   LEANDER      STEWART                      CA     90012095462
24852316791241   JASMONIQUE   FRANKLIN                     GA     90014903167
24852769541245   AMBER        RAU                          PA     90011817695
24852935555957   JOSE         MUNOZ                        CA     90015329355
24852973355957   LEANNA       DELACRUZ                     CA     90010949733
24853351271935   VIRGINIA     RAY                          CO     90011253512
24853367684364   ARIEL        GUERRA                       SC     19030773676
24853825691241   ALVENA       ROBINSON                     GA     14563118256
24853992381644   FRANCISCO    AGUILAR                      MO     90003459923
24854358951346   MATTHEW      SEHMIEG                      OH     90004993589
24854814291828   JESSE        BALLFOUR                     OK     90014898142
24855485791828   TARO         BRISENO                      OK     90009484857
24855855984364   ANDRE        DUNCAN                       SC     90014788559
24855856251353   TAMARA       HARRIS                       OH     90006368562
24856363991356   MOHAMMED     MAHMOOD                      KS     29029453639
24857673181644   DONOVAN      DIAL                         MO     29044106731
24857781491828   ANDREA       HOLMES                       OK     90011647814
24858363691953   TORRI        MCMILLIAN                    NC     17015153636
24858781281644   ED           BROWN                        MO     90008507812
24858943191828   MESHA        JONES                        OK     90010849431
24864318681644   CAROL        KASPUTIS                     MO     90014163186
24864816491828   LUCIDEL      AVALOS                       OK     90009638164
24865821931453   TAMIKA       PLUMMER                      MO     27561338219
24866284661554   MELISSA      BOSWELL                      TN     90015142846
24866763691541   ERIKA        TREVIZO                      TX     90011127636
24868411391356   OLMA         PORTILLO                     KS     90011854113
24868777955957   BEATRICE     RAMOS                        CA     90010557779
24869594191541   CARMEN       RIOS                         NM     90005475941
24871993531453   DONALD       REED                         MO     90015189935
24872327291356   PAUL         STAMP                        KS     90012423272
24873861291953   CARAYLA      MALEY                        NC     90009668612
24874693771935   ERIC         SCHROEDER                    CO     90002016937
24876518571935   DONALD       MCNEIL                       CO     32014485185
24876777491522   ELSA         ENCERRADO                    TX     75084467774
24879351291541   NORMA        PONCE                        TX     90001433512
24881388871935   JESSICA      DUGAN                        CO     90006263888
24882548755957   MARIA        GARCIA                       CA     90011255487
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24882576931453   FELECIA      NEWBY                        MO     90013365769
24882748491875   BRITTANY     JONES                        OK     21011297484
24883629871935   MERRILY      WALDRON                      CO     90012966298
24884145491241   SHELIA       SMALLS                       GA     14582801454
24886269391522   MARTHA       POSADA                       TX     75044962693
24886782381644   TERRELL      LASKER                       MO     90014987823
24887344147952   KERRY        SCOTT                        AR     24048803441
24887737555957   LUZ          FUENTES                      CA     90013227375
24888929891953   ALISSA       GONZALEZ                     NC     90012799298
24891182391541   JOSE         GURROLA                      TX     75033751823
24891222991356   MAI          SALGADO                      KS     29017312229
24891566431453   JAMES        SANCHEZ                      MO     90013875664
24891661371935   BRADLY       CONN                         CO     90012966613
24891882191542   MANUEL       RIOS                         TX     90002848821
24894593391953   CLAUDIA      CASTRO                       NC     17044885933
24897195991356   VICTOR       PORRAZ                       KS     90002991959
24897471291828   NATANAEL     VERA-OLIVARES                OK     21069734712
24897492491542   PEDRO        MIRANDA                      TX     90002444924
24897848555957   JOSE         ZENDEJAS                     CA     90012468485
24898735291541   ERIKA        FRAIRE                       TX     75041477352
24898761331453   DAQUANA      SMITH                        MO     90014077613
24911396641245   CHILD        RUSSEL                       PA     51064353966
24911576691522   ARMANDO      BERNAL                       TX     90012015766
24914525255957   AMELIA       AVALOS                       CA     90014115252
24914853591949   MARGARITA    OLEA-PEREZ                   NC     90013568535
24915865891522   MARYLOU      MORRILL                      TX     90013248658
24917316184364   BEVERLY      HILZENDAGER                  SC     19050983161
24919752984364   CAROLINE     PABON                        SC     90009247529
24921374691541   KENNY        GUTIERREZ                    TX     90014503746
24922214957157   TAIWO        OWOEYE                       VA     81077242149
24922868791828   JUSTIN       ELLIS                        OK     90013418687
24923869991828   REYNA        VALDEZ                       OK     90009958699
24923897471923   NORGE        ORAMA-CABALLERO              CO     90003268974
24924222891356   LARRY        GATLIN                       KS     29096992228
24925161391541   BRENDA       SILVA                        TX     90003801613
24925421581644   LETICIA      CHEDA                        MO     90014164215
24925712671935   ERIN         OGDEN                        CO     90012967126
24925782431699   AMY          COURTNEY                     KS     22012417824
24926917431699   CHRISTY      HANNON                       KS     22006759174
24927216391522   HUMBERTO     PANIAGUA                     TX     75014612163
24927692591541   KIMBERLY     NEVAREZ                      TX     90010986925
24929573891356   HUNTER       ZITTEL                       KS     90014255738
24931135191522   STEPHANIE    MENDOZA                      TX     90013081351
24932618791241   ALEXIS       BURKE                        GA     90009936187
24933273955957   LAURA        SHERWOOD                     CO     90013902739
24934612891953   ISRAEL       VELASQUEZ                    NC     90014376128
24935175881644   PAYGO        IVR ACTIVATION               MO     90012301758
24935521591828   AUDULIO      NAVARRO                      OK     90014175215
24935714931453   QUEENTELLA   JONES                        MO     90008307149
24936676247952   CHARLOTTE    RITCHIE                      AR     24082266762
24937299394984   LORETO       GUTIERREZ                    CA     90014752993
24937432681644   YAKIMA       IRVING                       KS     90014164326
24937755684364   EDWIN        PINTO                        SC     90013217556
24938151691522   FLORM        ORTIZ TENA                   TX     90010501516
24939421791522   MONA         BARRAZA                      NM     75028114217
24939756681644   LV           RAINEY                       MO     90015047566
24939938681644   BOBBIE       WILLIAMS                     MO     90015019386
24942212991828   LEVY         MARROQUIN                    OK     90012122129
24943589191522   MIGUEL       ALCANTAR                     TX     75043485891
24943921251369   TIFFANY      TUCK                         OH     66023689212
24944213671935   EVELIA       ALVAREZ                      CO     32077782136
24944517755957   RAYMOND      MIRANDA                      CA     90008375177
24945588341245   SANDRA       MORRIS                       PA     90008585883
24945867185869   ELI          RINEK                        CA     90010888671
24947611441245   BRANDY       CISCO                        PA     90010586114
24948486693742   LASHAE       PIPPINS                      OH     90009094866
24948754981644   ERICA        WEBSTER                      MO     29016067549
24949766191828   MIKE         JONES                        OK     21095137661
24951552971935   SERIGO       RUELAS                       CO     90011325529
24952422655957   EPIFANIO     QUAIR JR                     CA     48007824226
24954259291522   EDWARDO      CAMACHO                      TX     90007552592
24956356891541   ADRIANA      BENCOMO                      TX     90014743568
24956716641251   DAIVA        MONROE                       PA     90008737166
24957361355957   DULCE        MARQUEZ                      CA     90011883613
24958339291541   NANCY        FUENTES                      TX     90012033392
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24958572791241   ERVIN            TATE                     GA     90012315727
24958747371935   ANASTACIA        LOPEZ                    CO     90015007473
24959454881644   ROSEMARY         BORJAS                   MO     90014164548
24959644391356   AMADA            BRITO                    KS     90013096443
24961753891356   JESUS            LABRADO                  KS     90013837538
24962525791522   RAUL             DELGADO                  TX     90009385257
24962995691828   HELIODORO        MOLINA                   OK     21070069956
24963377531631   JACQUELINE       SKILLMAN                 KS     22009963775
24963475481644   MANUEL           MEDINA                   MO     90014164754
24963561191522   JESUS            PALACIOS JR              TX     90012565611
24963996355957   RUEBEN           BURNIAS                  CA     90013819963
24964475981644   JOE              RODRIGUEZ                MO     90014164759
24964748191541   DANIEL           PALACIOS                 TX     75031367481
24965342531631   TERRY            HUBBER                   KS     90007603425
24965783185938   NORMA            MILES                    KY     67017557831
24966691131631   KEVIN            WILSON                   KS     22004196911
24966835991961   SENECA           MCALLISTER               NC     90001288359
24969546241245   DERRICK          MCCLINTON                PA     51083755462
24971383255957   ASHLEIGH         THOMAS                   CA     90007303832
24971513991356   JAMES JOHN       ALSOBROOK                KS     29010655139
24971654691828   TRINA            MARSHALL                 OK     90010986546
24972941141245   REGINA           HAMMONDS                 PA     90011819411
24975791891828   MARTIN           MAR                      OK     90013637918
24976683231631   JANOS            TINDALL                  KS     22085886832
24977472691953   NALIZA           CALDERON                 NC     90015044726
24977931191241   ROBERT           FERGUSON                 GA     90013219311
24978248755957   JOHN             ANDERSON                 CA     90014802487
24978497381644   ANGEL            RODRIGUEZ                MO     90014164973
24978723281637   BARBARA          WOODSON                  MO     90004657232
24979497591541   OSCAR            RANGEL                   TX     75012944975
24981957971935   WILLIAM          ZERINGUE                 CO     90001529579
24984959391356   AVINAL ALFREDO   AMAYA                    MO     90015229593
24985959491828   HUGO             MARTINEZ                 OK     90010059594
24986443331453   BRIAN            HARRIS                   MO     27536644433
24986516281644   STEVE            ANDERSON                 MO     90014165162
24987248755957   JOHN             ANDERSON                 CA     90014802487
24987326393742   JAMES            BAKER                    OH     90008373263
24992921984364   CYNTHIA          SCOTT                    SC     90014519219
24992987843551   CJ               ELLIOTT                  UT     90002919878
24993447191522   LUZ MARIA        HERRERA                  TX     90005354471
24993649247952   ALLEN            LANE                     AR     24007946492
24994326481644   VIVIAN           HOLLOPTER                MO     90004973264
24996127491356   HULL             JANICE                   KS     90003161274
24997471391522   ARMIDA           PUGA                     TX     90010014713
24997921984364   CYNTHIA          SCOTT                    SC     90014519219
24998759771935   FANNCINA         COSTA                    CO     90005427597
25113331681698   JUDITH           GARCIA                   MO     90011483316
25113459631631   ARACELY          FORTIZ                   KS     90013954596
25114774381633   JAMES            SNELL                    MO     90008967743
25114935141281   RICHARD          MARCHELETTA              PA     51011859351
25115215931433   GRACE            MUNDIN                   MO     90012172159
25115234133669   YALENA           SMITH                    NC     90013392341
25116912291522   LETICIA          VALLES                   TX     90011369122
25118569851328   JOHN             LAKE                     OH     90001055698
25118656791828   VASHAWN          BLAKE                    OK     90011026567
25118739357157   MELISSA          STULL GRIFFIN            VA     90005747393
25121298685938   SHERYL           PETERSON                 KY     90011072986
25122162855957   LORENA           VILLA                    CA     90013411628
25122474171943   KORY             WYATT                    CO     90003504741
25123487591522   STEPHANIE        RAMOS                    TX     90013924875
25125848451328   DONALD           STEELE                   OH     66095468484
25129114485844   BILLIE           MACUSE                   CA     90010371144
25132715593731   ERICK            WILLIAMS                 OH     90008707155
25132879171943   CECILIA          GRIMALDO                 CO     32091918791
25133463993731   MICHAEL          LIDDY                    OH     90011254639
25134573551369   STEPHANIE        WATTS                    OH     90008315735
25134616685698   ELI              MENDOZA                  NJ     84046896166
25134646831453   JOSEF            WHEELER                  MO     90014886468
25135511271925   NATHAN           BELLOT                   CO     90011915112
25137623191828   SUSAN            COCHRAN                  OK     90015476231
25138791141245   WALLY            HODGE                    PA     90006347911
25139356491522   LEO              V                        TX     90009873564
25139989772447   KAREN            BRYAN                    PA     90007939897
25141159631631   RAQUEL           ORNELA                   KS     90001631596
25142116572447   KALI             JONES                    PA     90012061165
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25147891741245   RAMON          MORALES                    PA     90007908917
25148384772447   MICHAEL        SHIRLEY                    PA     90002413847
25148613655957   ERIC           BAEZ                       CA     90014816136
25151625731631   TOMASA         RUIZ                       KS     22038986257
25152176672447   MARQUIETTA     HALE                       PA     90013691766
25153578593731   LORETTA        RICHARDSON                 OH     64560845785
25153998355957   EDUARDO        HERNANDEZ                  CA     90005369983
25154319131631   ISMAEL         DOMINGUEZ                  KS     90008903191
25154633281661   JENNIFER       CINCOTTA                   MO     90010696332
25155264893757   WILLIAM        LILLY                      OH     90006042648
25155866157157   ALEJANDRO      SERRANO                    VA     90010768661
25156869184364   TRACEY         SIMS                       SC     19093758691
25157133481637   ROBERT         JENSEN                     MO     90015281334
25158631971943   GUADALUPE      HERNANDEZ                  CO     90011396319
25158697557157   MAID           AMERICA                    VA     81037116975
25159618981637   SASANA         PINO                       KS     90008626189
25159825231453   MARIA          LOEHR                      MO     90013928252
25162391571928   CHRISTY        ANELLA                     CO     90011643915
25163415171943   ANGLE          WILLIAMS                   CO     90009804151
25165298671928   RANDY          PRUIETT                    CO     90011122986
25165339681637   LAURA          FOLEY                      MO     90009493396
25165963881661   TIANDRA        BLAIR                      MO     29010269638
25166589455966   SERGIO         PEREZ                      CA     90014675894
25166661572447   ALEXANDER      BERTLES                    PA     90015096615
25167751781637   CHUCK          ROWELL                     MO     90014177517
25168699493743   DAVID          GLOVER                     OH     90012486994
25171356551328   CHELSEA        FORNSHELL                  OH     90014913565
25171387191522   JUNIOR         URRUTIA                    TX     90014333871
25171681293743   TEBNISHA       ALFORD                     OH     90012556812
25172353855957   SERGIO         NOLASCO                    CA     90011963538
25172585985938   DANTE          WILSON                     KY     90010275859
25172781171928   TIM            STEVENS                    CO     90013697811
25172839881661   NORRIS         ROBINSON                   MO     90015208398
25172896193731   YVONNE         GROOMS                     OH     64517898961
25174746271928   CASSIE         RHODES                     CO     90013247462
25175339171928   JOHN           MONTESANO                  CO     32096183391
25176288931433   MULIMA         NAWA-HUNT                  MO     90012382889
25178398957157   DAVID          OBIRI                      VA     81031253989
25179639257157   CHANTE         MCCLEARY                   VA     90011146392
25179716685938   YAMISH         SANDERS                    KY     90015147166
25179862471928   DAYNE          SAUCEMAN                   CO     90012918624
25183537755957   JOSE           GOMEZ                      CA     90015025377
25184182771928   CHAD           HOBSON                     CO     90014411827
25185954393731   TERRY          CHARLES                    OH     90014029543
25186929951328   KATELYN        MARSH                      OH     90015229299
25187525185998   BARB           DEATON                     KY     66057665251
25188737872447   NORA           ANDERSON                   PA     90005957378
25188947755935   NATALI         MADRIGAL                   CA     90012679477
25189114555957   ASHLEY         LOMBARD                    CA     48012041145
25189989151328   JAVON          ARNOLD                     OH     90014679891
25191535257157   MANUEL         HERNANDEZ                  VA     90011535352
25191855591828   WILLIAM G      PRATT                      OK     90004158555
25192347891522   JESSICA        FLORES                     TX     90013593478
25192457571924   BRENDA         CRESPIN                    CO     90010414575
25192917951328   WAYNE          ALLEN                      OH     90012719179
25193381336165   LILLIAN MOYA   ARZAVE                     TX     90012993813
25193421151328   KIERSTEN       ROBINSON                   OH     90014464211
25193639671943   BONNIE         SIPP                       CO     32094046396
25193755557157   INGRID         RIVERA                     VA     90013027555
25193788591522   CARMEN L       LOPEZ GRAHAM               TX     90010957885
25194165593731   JARREN         BROOKS                     OH     90013821655
25194674755957   DAVID          NUNES                      CA     90014736747
25195159271928   GERALD         SANDOVAL                   CO     32089221592
25196843981633   ASHLIE         STEWART                    MO     90013728439
25196878491522   JULIAN         VEGA                       TX     90010388784
25197167855957   ANGELINA       RAYGOZA                    CA     90013871678
25198189781635   ELIZABETH      FITZSIMMONS                MO     90004161897
25198387557157   LILIANA        BANEGAS                    VA     90012093875
25199174884364   CANDICE        RIVERS                     SC     90005301748
25211621951328   NATHAN         TAULBEE                    OH     90012846219
25216863471928   KEVINS         ENCLRARDE                  CO     90012568634
25218174972447   JESSICA        MEHALL                     PA     90014171749
25218236771943   CORA           REILLY                     CO     90014822367
25219731531453   KEANDRA        BEAL                       MO     90011377315
25221394271928   KENNY          RINCON                     CO     90014853942
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25222421755957   ERIC         JOHNSON                      CA     90015324217
25223589884364   HERMELINDO   PEREZ                        SC     90006465898
25223837931453   KRIS         RANDALL                      MO     90005088379
25224955971943   ERIKKA       HARVEY                       CO     90014579559
25225384381661   KESSA        GINES                        MO     29010283843
25225896691828   YENNI        NOPAL LOPEZ                  OK     90013528966
25226325447952   RICHARD      CALLAHAN                     AR     90003633254
25226749871935   JOSE         GARCIA                       CO     32078467498
25228129281661   SHANA        HASKINS                      MO     29009601292
25228256855936   CLAIRE       FITIAYSI                     CA     90011832568
25229219172447   PAULETTE     MCCARTHY                     PA     90013262191
25231829291828   CHERYL       RITCHIE                      OK     90013928292
25232962257157   CYNTHIA      DANIELS                      VA     90009499622
25234196457157   WILLIAM      MANNING                      VA     90001781964
25235988371928   AUDENCIO     MEDINA                       CO     90014529883
25236176371928   ANGELICA     TOVAR                        CO     90011551763
25237878291522   PRECILLA     GUERRERO                     TX     75083188782
25237916681661   DANIEL       INFRANCA                     MO     90009039166
25238215771943   KIMBERLY     DUGAN                        CO     90006032157
25241544493742   RUBY         COX                          OH     90011705444
25244268131631   DAVID        HOGAN                        KS     22038902681
25245252781633   RON          LOONEY                       MO     90011562527
25245298693731   DENISE       GREGORY                      OH     90014702986
25245966672447   JOSEPH       SABEEN                       PA     90015539666
25247181991828   CHRISTA      BULLINGER                    OK     90013121819
25247888372447   MICHAEL      DIALOISO                     PA     51081838883
25248332781637   CHRIS        ROBERSEN                     MO     29070173327
25251275357157   ALICIA       RODARTE                      VA     90001652753
25251524193731   DANA         SMITH                        OH     90011255241
25252377781637   WILLIE       WHITE                        MO     90008283777
25253771861932   TERRY        EWART                        CA     46071697718
25253877457157   JORGE        DIAZ                         VA     90015318774
25256457655957   JUAN         OLMOS                        CA     90008804576
25259922731453   ERIC         MATTINGLY                    MO     90014829227
25262239571943   LINDSEY      EDDY                         CO     90014332395
25263286693757   RONALD       BREWER                       OH     90008852866
25263348391522   JESUS        VALLES                       TX     90013593483
25263516681637   JORGE        RODRIGUEZ                    MO     90013405166
25263865655957   PAYGO        IVR ACTIVATION               CA     90012848656
25264872985998   AMBER        DANIEL                       KY     90001518729
25265931885938   WILLIAM      CARR                         KY     67036219318
25267877155957   MONICA       CHAVARIA                     CA     90009908771
25268552355957   CYNTHIA      CAMBELL                      CA     48064465523
25268639272447   PAUL         ACKLES                       PA     90014196392
25268856931433   GLENDA       KUMP                         MO     90009598569
25268957891828   JENNIFER     DECKER                       OK     90014549578
25271122771943   LENNY        INFANTE                      CO     32028411227
25272179472447   GEORGE       BISCEGLIA                    PA     51004511794
25272865431453   MONICA       MAGILL                       MO     90014018654
25274724771943   REBECCA      HUME                         CO     90005837247
25275499257531   TONI         BARELA                       NM     90001494992
25275618393731   TRINA        ANDERSON                     OH     90014866183
25276422391522   ALICIA       CISNEROS                     TX     75010224223
25276441151328   VINCENT      JONES                        OH     90014164411
25276636281661   ANGELA       PALMER                       MO     90012666362
25277125631453   KATHY        ROUNDCREE                    MO     90013331256
25277644455957   TERESA       ARANDA                       CA     48031236444
25281655472447   NICOLE       HUGHES                       PA     90015516554
25282319672447   RAYMOND      LASH                         PA     90015483196
25283189131453   KELLY        KEELY                        MO     27579781891
25283615251328   JAMIE        MCELROY                      OH     90002886152
25284472561979   DAVID        SCHOEN                       CA     46091094725
25284737257157   JOSE         DIAZ                         VA     90014327372
25285213655957   GLORIA       PARRAL                       CA     90008552136
25285386981638   OMAR         PEREZ                        MO     90011163869
25286957191828   LUCY         SOUPHANTHONG                 OK     21010809571
25287238757157   DORA         SMITH                        VA     90012122387
25287358881633   AMBER        SCOTT                        MO     29000973588
25287945881637   MARIE        VAUGHN                       MO     90014449458
25288437631433   KIANA        BAILYEY                      MO     27579654376
25288593251561   MAHMUD       SIED                         IA     90015035932
25288672381633   SADEE        DAVIS                        MO     90014876723
25292492372447   CODY         WOODSIDE                     PA     90009014923
25294156871928   MINNIE       RIVERA                       CO     90011921568
25294627531453   DUSTIN       BRABEC                       MO     27508356275
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25294974191828   DEBBY         EWALDT                      OK     21066159741
25297449231433   PATRICK       SHELBY                      MO     90011714492
25297687671928   STEPHANIE     BETTS                       CO     90009006876
25298431884364   JUAN          RAMIREZ                     SC     90007084318
25298686341245   ELIZABETH     RODGERS                     PA     51055236863
25299818741245   DIANE         KROSTYNE                    PA     90000408187
25312136381637   JACOB         SMITH                       MO     90003521363
25312188231453   PAMELA        HATTEN                      MO     90012461882
25312467471928   CLEO          KELLAM                      CO     90012554674
25313458531453   JAMIE         WALLER                      MO     27511804585
25313782931631   NANCY         ORTIZ                       KS     22094977829
25313893655957   MARTHA        VIRRUETA                    CA     48042998936
25315969751328   JENNIFER      POYNTER                     KY     66069409697
25316289155957   ANDREW        GOMEZ                       CA     48029372891
25316617393731   JOHN          SCHAEFFER                   OH     90010766173
25316639191582   SERGIO        CHIU                        TX     90009946391
25317974181661   JESSICA       SAGASTUME                   MO     90014179741
25318151157157   SHONDA        WILLIAMS                    VA     90014721511
25319186331631   PEARL         ERXLEBEN                    KS     90002351863
25321589431433   CHARITY       OKEKE                       MO     27591825894
25323219157133   JOSE          GOMEZ                       VA     90003302191
25324227291522   ANNE          TERAN                       TX     75047712272
25324679991828   BRYCE         FRANCIS                     OK     90014846799
25325454971943   GLENN         GIBSON                      CO     90014104549
25325659557157   JEFFERY       HONAKER                     VA     81003896595
25325732755957   VALERIE       MAGANA                      CA     90001207327
25326359593731   PAYGO         IVR ACTIVATION              OH     90010353595
25326772755957   NOLA          HORN                        CA     48008867727
25327991255957   REBECCA       MOLINA                      CA     48015419912
25332144841245   KEVIN         BROWN                       PA     51055601448
25332856293731   RORERT        LOWRY                       OH     90011398562
25332921193731   KISHA         ALSTORK                     OH     90014649211
25332968291528   ALEJANDRA     PRIETO                      TX     75093919682
25334144331631   VERONICA      STILLMAN                    KS     90008371443
25334729931453   ASHLEY        DELUNAS                     MO     90012237299
25335112351328   SHELLIE       DOLL                        OH     90013361123
25335134781661   ESTELLE       SHOCKLEY                    MO     90005711347
25335253333638   SHARIE        OTERO HERNANDEZ             NC     90010822533
25335599593731   EDBER         YOC                         OH     90011255995
25335775691828   WITTNEY       CHUMBLY                     OK     90015427756
25337138881637   KELLY         DEMINT                      MO     29041811388
25337448255957   MARIA         AVINA                       CA     90010354482
25337621791828   AMBER         MURRAY                      OK     90008506217
25339178881637   JAMES         HULEH                       MO     90001841788
25342337551328   BLAKE         CAUN                        OH     90012473375
25342363857157   BRUCE         MURRAY                      VA     90013093638
25342412171943   CHRISTINE     GONZALES                    CO     90005904121
25342725531453   JAMMIE        MASON                       MO     90014727255
25343366191542   SYLVIA        MENDEZ                      TX     75082783661
25343554751333   TONYA         HICKS                       OH     90008785547
25343662391828   IRMA          PERALES                     OK     21093316623
25344223781661   MICHAEL       DUMAS                       MO     90004252237
25344676381637   NIRVANA       LOBO                        MO     90013906763
25345128272447   ROBERT        MICENKO                     PA     90013931282
25346667172447   ALLISON       CAMPBELL                    PA     90013816671
25347979831631   RANDALL       WALKER                      KS     90013759798
25348117771928   LORA          WILLIAMS                    CO     90014461177
25348876941245   JESSICA       ANDERSON                    PA     90005638769
25348893391241   ERICA         BRYANT                      GA     14552208933
25349352871928   CHERA         MARTINEZ                    CO     90012273528
25349893291522   MAYRA         DOMINGUEZ                   TX     75019598932
25351443693753   CHARISMA      TREVINO                     OH     90012464436
25351617957157   RULLEWELLYN   ELDER                       VA     90012936179
25351652191241   JEFFERY       SMALLS                      GA     90007176521
25352492181661   TERESA        GALINDO                     MO     90007404921
25353758785938   PRINA         ITULA                       KY     90012777587
25354584957157   JULIA         BARRIENTOS                  VA     90011265849
25354985271943   SCHELAU       MCGUIRE                     CO     32053119852
25356441271928   CHAZ          KIMBLE                      CO     90014844412
25356588851328   PAYGO         IVR ACTIVATION              OH     90014845888
25356979971943   JUAN          LOPEZ                       CO     32004469799
25358648872447   EMMA          PARKER                      PA     51094456488
25361298151328   JUSTIN        FREEMAN                     OH     66048172981
25361785493731   JOE           RANDALL                     OH     90015097854
25363169393731   CARLYN        SMITH                       OH     64552361693
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25365775931453   LAURIE          JONES                     MO     90011377759
25365917293731   CARNETTA        POUNDS                    OH     90003119172
25366528593731   ANTWANN         MARTIN                    OH     90013415285
25366933855957   SELESTE         NUNO                      CA     90005439338
25367531471928   NOREEN          ZINGALE                   CO     90015095314
25367576757133   RASHEEDA        GREGORY                   VA     90008475767
25368422731453   ALICIA          SPINKS                    MO     27582804227
25369752581633   DOUGLAS         WIGGINS                   MO     29094137525
25371647361967   SHAWN           DAVIDSON                  CA     46071246473
25371751355957   EDWARD          DURAN                     CA     90015407513
25371755291528   MARY            LOZOYA                    TX     75074507552
25373457681661   MAKISHA         LEWIS                     MO     90004994576
25373774351328   DELFINO         MENDOZA                   OH     90014177743
25374362571928   JADEN           MORGAN                    CO     90014793625
25375573972447   JENNIFER        CAMPBELL                  PA     51026415739
25376818657157   STEVEN          BURDETTE                  VA     90002778186
25377111951561   SERGIO          PERES                     IA     90015041119
25377634972447   BECKY           ORRIS                     PA     90009686349
25378496451328   SEAN            REDMON                    OH     90013204964
25379523371943   ATHENA          MEYERS                    CO     90013235233
25381884481637   DONNA           JAMES                     MO     29075058844
25382861471943   CHEVY           MARTIN                    CO     32017378614
25383531651328   LISA            DETHERAGE                 OH     66070885316
25386857891522   MARGARITA       REYNA                     TX     75094228578
25387443791522   JAIME           CORREA                    TX     90014934437
25387521471928   GUILLERMINANA   LOPEZ                     CO     90007905214
25387679991828   BRYCE           FRANCIS                   OK     90014846799
25388252185938   ANGELA          RICHARDSON                KY     67002262521
25389261791522   VALERIE         TOLEDO                    TX     90009972617
25391872784364   THOMAS          RAINWATER                 SC     90014668727
25392657931453   JENNIFER        WILLIAMS                  MO     90015016579
25393239891828   CAMEKA          BOYD                      OK     90014992398
25394579181661   LINDA           GOODRICH                  MO     90012585791
25395141881661   CARL            DIGGS                     MO     90010991418
25395462371935   MICHAEL         RYAN                      CO     90010474623
25396495284364   OUSMANE         CAMARA                    SC     19006134952
25396874757157   CORY            TRAMELL                   VA     81074958747
25397156371928   MICHELLE        SUMMERSON                 CO     32085441563
25397632393731   LINAKA          HURT                      OH     90012656323
25398388855957   MARY            MENDEZ                    CA     90001133888
25411364691522   GLORIA          LUJAN                     TX     75068573646
25412321571928   JAMES           RILEY                     CO     90002693215
25412965691522   JENNY           COEN                      TX     75013039656
25413147993731   SERGIO          JARA                      OH     90014391479
25413341251328   CLEMENTINO      LORENZO                   OH     90009543412
25413342581661   FLORINA         HERNANDEZ                 MO     90012113425
25413537331453   LETASHA         SAIN                      MO     90013475373
25413712147952   MISTY           BAILEY                    AR     24057117121
25413792291522   NORMA LETICIA   DELA CRUZ                 TX     90004307922
25414187357157   VICTOR          TORRES                    VA     81026741873
25416221741245   JAMES           SILER                     PA     51016252217
25416912341272   ANGELA          MCKNIGHT                  PA     90007529123
25417313225138   THOMAS          JACKSON                   AL     90014023132
25417347857157   LITISIA         SHELLEY                   VA     81023453478
25417412555957   CHRISTINE       KILLEBREW                 CA     90010154125
25417884871928   JESUS           SOLIS                     CO     90013858848
25418183851328   CHAD            CHAMBERS                  OH     90014571838
25418888371928   KINGTANA        JESALI                    CO     90009938883
25421444957157   NELLY           DIAZ                      VA     90000694449
25422954581633   EMMA            THURMAN                   MO     90012409545
25423561471928   XIOMARA         SAMUELS                   CO     90010535614
25424459131631   TIMOTHY         RISINGER                  KS     22075034591
25425253391828   AUSTIN          RUSSELL                   OK     90013392533
25425814731453   SHALLON         SNEED                     MO     90008178147
25426178971928   JACKSON         TINE                      CO     32092281789
25426942972447   LISA            DIXON                     PA     51067089429
25427451971943   CHERA           JARVIS                    CO     32023354519
25429313893731   MIRANDA         MYERS                     OH     90012613138
25431474781637   JOSE            ROMERO                    MO     90013644747
25432853141245   JACQUELINE      MOONGA                    PA     51060838531
25436195191828   ALISA           SHACKELFORD               OK     21039161951
25436354947952   ERIK            SKELTON                   AR     24058213549
25436433791528   RICK            MONTOYA                   TX     75089804337
25437623193731   YESENIA         HERNANDEZ                 OH     90011786231
25438592291828   CAROLETTA       AVRIETT                   OK     21084705922
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25438886291522   DEL                 HUNT                  TX     75019438862
25439898655957   JESUS               SOTO                  CA     90007498986
25441569791828   ELAINE              BROOKS                OK     90014515697
25442669955957   YULI                GARIBAY               CA     90014816699
25442874254185   SARAH               WHITE                 OR     90008738742
25443379251369   VIKKI               PAINTER               OH     66070213792
25446117981637   REGEN               QUINN                 KS     29007211179
25448764451328   TIM                 WILLIAMS              OH     66052607644
25451184371943   LEMUEL              DONALDSON             CO     32049681843
25451753471928   SHELISA             STAFFORD              CO     90013267534
25451795193731   ASHLEY              LITTLE                OH     90001057951
25451799131453   WILLIAM             DAVID                 MO     90013177991
25451957885999   ANNA                BONHAM-WHITE          KY     90000319578
25453322657157   MARITZA             NOLASCO               VA     90014953226
25455282557157   PAULA               DEAN                  VA     90013382825
25456195257157   ARIEL               MENDEZ                VA     90015081952
25456415881637   ALLYSSON            BAKER                 MO     90013744158
25456579877584   DIANA               RIVERA                NV     90013955798
25457925555957   OLIVIA              RAMIREZ               CA     48003109255
25457943381633   REGINA              SITZMAN               MO     90015159433
25458831461921   AMY                 CASTILLO              CA     90007818314
25459312472447   REGGIS              JOHNSON               PA     90010033124
25461345172447   DONNA               GROSSI                PA     90014223451
25461414991828   MARIO               VASQUEZ               OK     90010864149
25461646991828   WAYNE               HOOVER                OK     90015166469
25461728181661   MONICA              TURNER                MO     90013157281
25461755455957   BEATRICE            CRANFORD              CA     90013007554
25461932771943   MIGUEL              ORANTES               CO     32000229327
25463617957157   GRISELDA            ZABALA                VA     90003606179
25463872431631   NICOLE              THOMAS                KS     90014108724
25465967357157   OSCAR               GARCIA                VA     90014899673
25466872431631   NICOLE              THOMAS                KS     90014108724
25467286481661   ANTHONY             SEXTON                MO     90012372864
25467742531433   TORSHA              PITTS                 MO     27597337425
25468113881633   KYRA                TURNER                MO     29014871138
25471722381637   ANTHONY             MAYER                 MO     29010607223
25472265772447   WENDY               HARRIS                PA     90013932657
25472471372447   SANDIE              GREENE                PA     51065964713
25473375471943   ANDREA              SELLERS               CO     90012193754
25473453931433   ELIJAH              STILESE               MO     90009544539
25474811157157   MARISSA             MCGINNIS              VA     81068518111
25475453571928   GOETZ               MELISZA               CO     90008294535
25475469741245   DONALD              WEBB                  PA     90005544697
25475913891828   ANGELA              BRONSON               OK     21009129138
25477288781661   KIA                 OATES                 MO     90003052887
25477592251328   LUIS                MOJICA                OH     66014585922
25477698455957   ERLINE              JOHNSON               CA     90014816984
25478517731631   JAMES               WILKINSON             KS     90010825177
25479245781633   TIM                 BUTT JR               MO     29048582457
25479678793731   BARBARA             ANDREWS               OH     90006856787
25481961731631   MICHAL              WIELAND               KS     90007509617
25482542371943   REBECCA SLAUGHTER   REAL STATE            CO     90007835423
25482735957157   JESSICA             MENTON                VA     90011347359
25484348991582   LUIS                SALAZAR               TX     90003473489
25484868671928   GABRIELA            RAMOS                 CO     90013798686
25485573391522   SARAI               CHOCOTECO             TX     90014015733
25485923291522   ROSA                ADAME                 TX     90010959232
25489623971643   BARBARA             RIGGS                 NY     90012756239
25489846671943   ALEXIS              JOHNSON               CO     90013008466
25492233781661   RAYMOND             DELANEY               MO     90014182337
25492764451328   TIM                 WILLIAMS              OH     66052607644
25492782931453   TIMOTHY             FISHER                MO     90013207829
25494686957157   OMAR                TORRICO               VA     90005686869
25494955791241   BARBARA             WILKINS               GA     90001189557
25496883593762   JESSICA             GOINGS                OH     90011678835
25496937531631   VICTORIA            HILL                  KS     90011049375
25497497381637   RAYE ANN            SHANE                 MO     90013314973
25497736557157   AIDA                BRAVO                 VA     90014927365
25497752571928   BRENDA              WOJTECKI              CO     32062617525
25499466771928   RYAN                SWANSON               CO     90009994667
25499688551328   STACEY              WEST                  OH     90008636885
25499846272447   SANDRA              JONES                 PA     90005008462
25512943591828   ANGEL               DIXON                 OK     21024749435
25513338981661   JUAN                SALDANO               MO     90014203389
25513858371928   CHRISTOPHER         FRANKLIN              CO     90007908583
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25514724657157   FEKADE       MERETO NIDA                  VA     90001517246
25515198831631   PATY         CARONA                       KS     90010001988
25515333331453   CHIQUITA     POPE                         MO     27563453333
25515572371928   MICHAEL      ADER                         CO     32007275723
25515964555957   KAREN        LAURANCE                     CA     90012469645
25516224155957   ITZEL        ACOSTA                       CA     90013182241
25516272991828   TRUMAN       KEPLINGER                    OK     90013762729
25516914661974   JOHN         DELCASALE                    CA     46059719146
25517284891528   JENNIFER     MARTINEZ                     TX     75036442848
25517639755957   ANNISAH      VILLAGRAN                    CA     90011606397
25517914661974   JOHN         DELCASALE                    CA     46059719146
25518198772447   FERDINAND    STRIDINGER                   PA     90011891987
25518566491522   SANDRA       JOHNSTON                     TX     90002725664
25519192551328   BOBBIE       SCHOCK                       OH     90013061925
25521164131441   THOMAS       VOLTZ                        MO     27526691641
25521524591828   PEDRO        ALBARES                      OK     90013265245
25521932351358   FREEMAN      CHERYL                       OH     90012369323
25523329971928   BYRON        HARDAWAY                     CO     90007423299
25523751793731   TASHIA       BOSTOCK                      OH     90011257517
25524265147952   KAY          SHARON                       OK     24057152651
25525498581637   WILL         DANIEL                       MO     29089584985
25526265147952   KAY          SHARON                       OK     24057152651
25527299281637   JAANGEL      WILLIAMS                     MO     29022332992
25527376251328   KENNETH      COLE                         OH     66019503762
25529659171928   AMANDA       TABACCHI                     CO     90015296591
25529754485938   ROBIN        PRESTON                      KY     67042147544
25531549357157   ALYSHA       GREEN                        VA     90010895493
25532119881637   BROOKLYN     MAYWEATHER                   MO     90008391198
25532244591828   JAMES        PLATT                        OK     90013302445
25534185957157   YISENIA      IDALGO                       VA     90014821859
25534643955957   MARTHA       LASTER                       CA     90013176439
25535242171928   STEPHANIE    MANZER                       CO     90010902421
25535443791522   JAIME        CORREA                       TX     90014934437
25537664381637   JESUS        FIERRO                       MO     29032566643
25537769355957   MELISSA      LUNA                         CA     90010457693
25537876941245   JESSICA      ANDERSON                     PA     90005638769
25538132241245   EDWARD       GANDY                        PA     51042311322
25539641981637   JAMES        WITT                         MO     90013616419
25539873151328   MICHELLE     WEBBER                       OH     66023178731
25542165393731   STEVEN       ISAACS                       OH     90014631653
25542428355957   DANIEL       MARTINEZ                     CA     90000674283
25542995351328   NATHAN       HEATHCOCK                    OH     90014079953
25542997481633   BRIANNE      SOWELL                       MO     29089819974
25543217571943   JANICE       STURLANGSON                  CO     32003342175
25543328291522   GABRIELA     ZAVALA                       TX     90005793282
25543394657157   ROGER        WILKINS                      VA     90011543946
25544383681633   JESSICA      PAGELER                      MO     90014713836
25544832671928   JEREMY       FITZGERALD                   CO     32089138326
25546386971928   LANI         BOWERS                       CO     90002803869
25547385251328   NICHOLAS     DRISCOLL                     OH     90014043852
25547472891522   ELVIA        LOGAN                        TX     75025164728
25548159831433   EBONY        STRONG                       MO     90008511598
25548874955957   BRENDA       CHAVARIN                     CA     90006778749
25549288584364   GINGER       ARIAS                        SC     19013052885
25549399981661   SAVANNAH     MILLS                        MO     90014183999
25549425872456   ERIC         WELLING                      PA     90011674258
25549552151369   LESVIA       DELEON                       OH     66024685521
25551483455957   ENRIQUE      ORTEGA                       CA     90014454834
25551493693731   JODY         WILLIAMS                     OH     64505994936
25551687991522   FRANCISCO    AGUILAR                      TX     75025166879
25552493693731   JODY         WILLIAMS                     OH     64505994936
25553512355957   DAVID        CARRANZA                     CA     48035985123
25554119131453   BRANDI       FOUGHTER                     MO     90009171191
25555122251328   RYAN         CARMACK                      OH     90010471222
25555833631631   LINDA        BOWEN                        KS     22035028336
25557452591828   MYESHA       CEASAR                       OK     21029404525
25558897555957   DORIS        JOHNSON                      CA     48074798975
25559575931433   ELIZABETH    ROBINSON                     MO     27574255759
25561896581661   KAYLA        WINKLER                      MO     90015018965
25561935281637   DONNA        JOHNSON                      MO     90013219352
25562857531453   TIARA        ROBINSON                     MO     90011328575
25563468581633   TONISHA      ALEXANDER                    KS     90015094685
25564827351328   STEPHANIE    MCINTOSH                     OH     66051298273
25565154931453   ANTOINETTE   KERNS                        MO     90014711549
25565258271943   ALEX         ROJO                         CO     90014122582
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25567391891828   DHEZARAE       CHAPIRN                    OK     90012103918
25568345271928   DANA           MARTINEZ                   CO     90007733452
25569162493731   MIKE           JONES                      OH     90010441624
25571219291522   DAWN           SPENCER                    TX     90002712192
25571625433651   LASHON         HILL                       NC     90012316254
25571627571943   MYIA           PENNINGTON                 CO     90015286275
25572733357157   JOSE           VASQUEZ                    VA     90010827333
25575361791522   MONICA         PARRA                      TX     90007883617
25575382631631   MICHELL        HILTON                     KS     22095513826
25575797555997   EDUARDO        HERRERA                    CA     90004297975
25575844871943   DOREE          HIGGINBOTHAM               CO     90008948448
25578259771224   PEGGY          MARTINES CAMPBELL          IA     90015132597
25582294693731   SHEILA         SMITH                      OH     90015222946
25582549272447   DOUG           SALYERS                    PA     51081155492
25584152351328   LESLEY         LINGO                      OH     90010991523
25584431191528   GABRIELA       AGUILAR                    TX     75084874311
25586288557157   UBALDO         SANCHEZ                    VA     81052382885
25586574491828   DESIRAE        STURDIVANT                 OK     21090745744
25588168971928   ALAN           KEARLEY                    CO     90013731689
25589142881637   ILIANA         READ PENA                  MO     90014061428
25589385291522   LORENA         MERANCIO                   TX     90013363852
25589876855957   CARMEN         CERDA                      CA     90010278768
25592587661987   TRINIDAD       AVILES                     CA     90005925876
25592686381661   OSCAR          HERNANDEZ                  MO     90014186863
25592977981637   AMBREE         ADIEN                      MO     90001319779
25593275793724   BRANDON        JACKSON                    OH     90006152757
25593331857157   EVA            KIRSCHNER                  VA     90013293318
25593414181633   WALTER         BOLDEN                     MO     90013894141
25594356893731   SHIANNE        NASH                       OH     90011343568
25594369985938   MARCUS         OWENS                      KY     90010533699
25594888951328   TIERRA         YOUNG                      OH     90014828889
25595551785838   TOM            STEFFY                     CA     46020005517
25595841855957   ALEJANDRA      CARREON                    CA     90010918418
25596137621677   GERMAN         FERNANDEZ                  OH     90015051376
25597128581637   CHRISTOPHER    ROBBINS                    MO     90014841285
25598273871943   MARC           PARRA                      CO     32001652738
25598757781661   AMBER          GEISINGER                  MO     29058847577
25599235657531   WILLIAM        SKINNER                    NM     90009382356
25611573161979   PAM            BJORKMAN                   CA     90012635731
25612257571928   MAYRA          DELGADO                    CO     32049962575
25612786493731   BRIAN          MOORE                      OH     90011617864
25613494771943   REBECCA        CLARK                      CO     32000264947
25614476281661   M              WILLIAMS                   MO     90010284762
25616997691828   ABIGAIL        JENSEN                     OK     90001549976
25617116391528   DELEANA        BUENO                      TX     90006751163
25617499657157   ERIC           STEWART                    VA     81017394996
25619939781637   MICHAEL        KNIGHT                     MO     90014399397
25621132891522   MARIA          DOMINGUEZ                  TX     75030351328
25623434181637   JOHN           RUSTMAN                    MO     29012284341
25623914557157   CANDIDA        BENAVIDES                  VA     90004359145
25624888891893   DEBRA          STITIES                    OK     90001618888
25625394971928   JOHN           NISEWANER                  CO     90015153949
25626164881661   MARIELA        ROCHA                      MO     90000451648
25626887847952   MISTY          HOODENPYLE                 AR     24005888878
25627213531433   IBRAHIM        JUSIC                      MO     90006812135
25627359955957   ERIKA          RODRIGUEZ                  CA     48052483599
25627619791828   GARRY          RAMSEY                     OK     21005976197
25628551693731   LONNIE         SAWYER                     OH     90014415516
25629217571943   JANICE         STURLANGSON                CO     32003342175
25629693857157   SEAN           GANLEY                     VA     90011146938
25632368981661   JONES          BRYAN                      MO     90011953689
25632378972447   DRAE           JAMES                      PA     90011073789
25634486255957   MARIA          VEGA                       CA     90006044862
25634664472447   LINDA          MUDRY                      PA     90003596644
25634878491522   JULIAN         VEGA                       TX     90010388784
25634965981633   KYLE           LADING                     MO     90013079659
25634996891885   ESPIDY         GONZALEZ                   OK     90012659968
25635949291547   LUIS           ALMANZA                    TX     75058789492
25636219271928   FRANCES        MARTIN                     CO     90010712192
25637614971943   LUIZ ANTONIO   ORTIZ                      CO     90013716149
25638224731453   CASSANDRA      HAMMONDS                   MO     27592442247
25638996271943   VANESSA        MARTINEZ                   CO     90002959962
25641792171943   TANYA          HAWKINS                    CO     90012847921
25641997993731   MICHAEL        GORE                       OH     90013739979
25642423591949   ROGER          PATTON                     NC     90011634235
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25642966431453   ANGELA       ROSITZ                       MO     90010969664
25643417351328   PAM          HELTON                       OH     90012334173
25643847881633   OLGA         VASQUEZ                      MO     90006318478
25644534861936   MOISE        DURANDISSE                   CA     90010115348
25645433371943   MARIA        BARRERA                      CO     32014394333
25646637131453   DARICUS      VAUGHN                       MO     27560066371
25648187381637   TEE          WEATHERS                     MO     90014711873
25648763693731   JASON        HORNADAY                     OH     90012517636
25648845691522   SANDRA       PONCE                        TX     90015018456
25649537257157   CARLOS       FLORES                       VA     90011085372
25651295691522   GLORIA       SANDOVAL                     TX     90011402956
25652848155957   KATHY        DAVIS                        CA     90012868481
25652918541245   MARY         MCALLISTER                   PA     51033899185
25655762385938   LASHONDA     COULTER                      KY     67001207623
25656794321677   WANDA        BROWN                        OH     90015377943
25656823471943   MARIA        RAMIREZ ALMARAZ              CO     90013258234
25659489171928   LUCINA       MORENO                       CO     90009634891
25659947251328   KYLE         TODD                         OH     90014889472
25661244231453   EMMA         CENDEJAS                     MO     27503482442
25661885551328   DRU          JEWETT                       OH     90015088855
25662746131631   GERARDO      ARMENTA                      KS     22045517461
25662841771943   MIKE         GUNTER                       CO     90004998417
25663694451328   ANDREA       RITCHIE                      OH     90011586944
25664492391522   PATRICIA     MARTINEZ                     TX     90008604923
25664833581633   DWAIEN       ROBINSON                     MO     29000998335
25665645171928   DONNA        GRIMALDO                     CO     90001546451
25666132757128   RAMIRO       ARAUJO                       VA     90010321327
25666482931631   ROBERTO      ROJAS                        KS     22074634829
25666485791828   TARO         BRISENO                      OK     90009484857
25666824291828   JAMIE        BRYANT                       OK     90013358242
25666846181633   TIA          CLINTON                      MO     90013728461
25667852531453   KIAWAYNA     WRIGHT                       MO     90001568525
25667931151328   PHILIP       HENSON                       OH     66019749311
25669595431433   TROY         HEMP                         MO     90014065954
25669924971943   KRISTINE     GOODMAN                      CO     90011909249
25672342955957   CINDY        CORTEZ                       CA     90000303429
25673131951328   CAMRON       MOCKABEE                     OH     90010151319
25673156691828   BRITTNE      SANDERS                      OK     90001801566
25673218193731   ALINE        MUKASEKURU                   OH     90013752181
25674716793731   ANTHONIE     BEGLEY                       OH     64588947167
25674824957157   GILMA        SARAVIA                      VA     81060418249
25675224555957   DANETTE      GAYTON                       CA     90009472245
25675837351889   TYRONNE      BENDERS                      NY     90015408373
25676831355957   ALEXI        RIVAS                        CA     90013248313
25677433793731   RENEE        HEYAS                        OH     90008364337
25677444141245   KEVIN        PATTERSON                    PA     51011144441
25678357131631   JOY E        DOWNS                        KS     90002923571
25678492461985   ALMA         RICO                         CA     90003744924
25678921391522   MARIA        VASQUEZ                      TX     75025459213
25678946391828   ISMAEL       TORRES                       OK     90013249463
25679677571943   GARY         CROSS                        CO     90013376775
25682545991522   ANTONIO      GONZALEZ                     TX     90010685459
25683288872446   TAMMIE       DILLA                        PA     90011092888
25685151281637   DANITA       PRESIDENT                    MO     90014711512
25685252671928   FRANKIE      CURA                         CO     32016432526
25685746731453   RACHAEL      MOORE                        MO     90002517467
25687276557157   EDWIN        PEREZ                        VA     90014992765
25687465431631   MICHAEL      MAPLES                       KS     90014164654
25688561171943   RICK         ANDERSON                     CO     90014925611
25689428581633   CARLOS       DUMIAB                       MO     90015104285
25692425531453   MICHKELL     AKIMS                        MO     90009634255
25692488971943   JESSICA      MELLARS                      CO     32069204889
25693185581661   THOMAS       WEBB                         MO     90005701855
25694736171928   MAYELA       SANCHEZ                      CO     32061197361
25695217557157   ADRIAN       MARTINEZ                     VA     90013722175
25696643857157   MARTA        GUEVARA                      VA     90010186438
25697134357564   HANSEN       SHELLEY                      NM     90003801343
25697942757157   ODIR LEON    PALMA                        VA     90006839427
25699212781637   TOYA         WHITLEY                      MO     90004452127
25699917281637   ERIC         STEFFAN                      MO     90010659172
25711696457157   RODNEY       HARRIS                       VA     90010896964
25711965691522   CYNTHIA      HOWETTH                      TX     90011519656
25711995331453   TERRENCE     JONES                        MO     27529589953
25712223957157   YADIRA       HERNANDEZ                    VA     90012372239
25712522291881   SHANNA       MCKNIGHT                     OK     90008305222
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25713527193731   PAM          FAVORS                       OH     64505255271
25713816657157   ROSLYN       DESERRANO                    VA     90015038166
25715433691547   BELTRAN      LAURA                        TX     90010024336
25715811891582   JOSE         SEJA                         TX     75008188118
25718912571943   ALYSSA       MARTINEZ                     CO     90005879125
25719772631453   SKILYAR      CHRISTIAN                    MO     90011127726
25721141272447   KENNETH      HARRIS                       PA     90014741412
25721592272447   DOMINICK     PELINO                       PA     90005765922
25722438855957   ULYSSES      RUVALCABA                    CA     90014264388
25722792972447   THOMAS       TROUTNER                     PA     90011337929
25728541584353   SHAWNTE      HENDERSON                    SC     90004815415
25728564555957   JARED        HAMMOND                      CA     48043845645
25728647881661   EDIS         MURILLO                      MO     90011786478
25732325791828   KATHRYN      LINSKY                       OK     90014413257
25733125851369   LUIS         MARTINEZ                     OH     66057811258
25736953972447   CHARLES      WHITEHAIR                    PA     90013659539
25739396291828   LISA         CASTELLANOS                  OK     90014923962
25741458151561   ADJO         PASSAH                       IA     90015344581
25741823481633   BETER        BIRXLER                      MO     90011478234
25741936141245   MICHAEL      MADDY                        PA     51062739361
25743447855957   PAMELA       CORWIN                       CA     90010434478
25743981331631   CARL         SUTTON                       KS     90014179813
25744332471943   ANASTASIA    BIGGS                        CO     90008033324
25744526291522   ARLENE       MCKINNEY                     TX     90008585262
25744732781633   RACHEL       MARTINEZ                     MO     90014837327
25744948431453   LANCE        MORRIS                       MO     90011489484
25744991291241   LARRY        JOYNER                       GA     14549459912
25751898957157   CRAIG        COMBS                        VA     90015318989
25752583131631   DEBORAH      PLASNER                      KS     22076105831
25752619151369   JOSEPHINE    HLAISI                       OH     66057826191
25754133971943   JESSICA      SMITH                        CO     32071151339
25754988691528   ELIZABETH    MEDINA                       TX     90001909886
25755753251328   JEREMY       DAYTON                       OH     90011147532
25757348891828   BRITTANY     JONES                        OK     90012763488
25758362181633   BRANDON      JONES                        MO     90010023621
25759527181661   TAMMY        BIGGS                        MO     29036115271
25761135355957   RICARDO      PINEDA                       CA     48061161353
25765155991522   JULIAN       VALLE                        TX     75002301559
25765241271928   ARTORO       PENALOSA                     CO     90015172412
25765426531631   CHRISTAL     WALKER                       KS     22085104265
25766462381633   BRYAN        WHITE                        MO     29078814623
25767335355957   MARIA        RAMOS                        CA     48006173353
25767784471943   KEENAN       BENDER                       CO     32030757844
25767911691828   BEVERLY      COLWELL                      OK     90014839116
25768751191522   DAVID        RODRIGUEZ                    TX     90014887511
25768855572447   GARY         BOHATCH                      PA     90014648555
25769434693731   JEREMY       BRIGHTMAN                    OH     90013074346
25769576991828   LAKESHA      HUNT                         OK     90013835769
25769975581633   HEIDI        REYES                        MO     90008459755
25771311255957   MICHAEL      SANDERS                      CA     90013713112
25771467981637   KIMBERLY     FERGUSON                     MO     90012824679
25772118971928   LISA         LOCKE                        CO     32070201189
25772973572447   JAMES        GEORGE                       PA     90011529735
25773424872447   SAMEUL       SMITH                        PA     90013964248
25774194472447   EMILY        DURCI                        PA     90009951944
25775972291828   ANGELIA      GARRETT                      OK     90000549722
25776974131631   JONATHAN     FOSTER                       KS     22035159741
25778254491522   ANABEL       JAQUEZ                       TX     75071122544
25778269391528   ANDREA       CORRAL                       TX     75094772693
25779434391528   NORMA        PEREZ                        TX     75081634343
25782916191828   KATHLINE     KELLEY                       OK     90008479161
25783133371943   BRUCELEE     RODRIGUEZ                    CO     90011901333
25783461457157   BRANDI       DELLINGER                    VA     90014364614
25783989391522   FRANKIE      STEVENS                      TX     90010959893
25784396272447   MICHAEL      ALLEN                        PA     90014103962
25785894972447   JAMES        LANG                         PA     51016108949
25788124657157   SARAH        MANCINHO                     VA     90013341246
25791889381637   YOLANDA      AUGUILAR                     MO     90012128893
25792537771943   JESUS R      RODRIGUEZ                    CO     32003415377
25792556872447   HEATHER      STIFFY                       PA     90012535568
25793935881633   AL           GREEN                        MO     90001739358
25794186251328   BRIAN        FIELDS                       OH     90012711862
25795491981637   ERIKA        ABRAHAM                      MO     90013294919
25796749431631   JORDAN       DIAZ                         KS     90014167494
25798421791522   ASHLEY       VILLALOBOS                   TX     90014684217
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25799229291522   ROSA         ESCOBAR                      TX     75045512292
25799533481637   TAMARA       BRISCOE                      MO     90003455334
25811663571928   EFRIN        GARCIA-ALVAREZ               CO     90004106635
25812575591528   ALICIA       VALLE                        TX     90005695755
25812863671928   CONNIE       MCBROOM                      CO     32070478636
25812927591828   DAWN         MYERS                        OK     90015219275
25813977357157   LUCIA        ESTRADA                      VA     81024719773
25815445871943   JENNIFER     NADEAU                       CO     90013724458
25816941981637   CATHERINE    LUCAST                       KS     90013289419
25817582555957   OIDIA        PELAYO                       CA     90001645825
25817658991522   CANDACE      DOMINGUEZ                    TX     75000986589
25818367755957   CRYSTAL      CONTRERAS                    CA     90011463677
25819538931437   YOLANDA      LEE                          MO     90012455389
25823396531631   MICAH        TIPTON                       KS     90008203965
25823441271928   CHAZ         KIMBLE                       CO     90014844412
25825263871928   SYLVIA       PHILLIPS                     CO     90014172638
25827769391522   VANAESSA     VENZOR                       TX     90012977693
25828511571943   ANASTASIA    CARNEAL                      CO     90006455115
25828531397949   MARIA        VILLANUEVA                   TX     90013965313
25828557293731   MICHAEL      HAMILTON                     OH     90011625572
25828718557157   FRANCES      DAY                          VA     90010147185
25831174972447   CHEYENNE     FOX                          PA     90008991749
25831426171943   RAY          VALESQUEZ                    CO     90012974261
25831564791522   LORENZA      CARDENAS                     TX     75075165647
25833429251328   STEVEN       MAYNARD                      OH     90008914292
25835114155923   CRYSTAL      WIGGINS                      CA     90011441141
25836241757157   VERONICA     RUIDIAS                      VA     90013902417
25836784191522   ARLEME       GARCIA                       TX     90004907841
25837691981661   KINDEL       WRIGHT                       MO     29010476919
25838643493731   TAVAHRIS     JONES                        OH     90013356434
25838742851328   DEBRA        LOPEZ                        OH     90012627428
25842773557157   ODIN         LOPEZ                        VA     81025027735
25843444391522   FILIBERTO    GONZALEZ                     TX     90011404443
25844191571928   ADELINE      LIPPINCOTT                   CO     32088611915
25844597893731   RICK         MORGAN                       OH     90011625978
25845764331631   BRIDGETT     BYRD                         KS     90009907643
25845844691828   MISTY        BROADAX                      OK     90010788446
25846517731433   GRACE        DUNBAR                       MO     27570695177
25846928161957   JAIME        OCAMPO                       CA     46033339281
25846946691828   AINSLEE      DUBBS                        OK     21061779466
25847112593753   KENDRA       ENGLE                        OH     90012961125
25847449555957   SHERRI       JONES                        CA     90006454495
25848685572447   LOGAN        ARNOLD                       PA     90013816855
25849162441245   LISA         SMITH                        PA     51033841624
25851276585698   EVELYN       WILLINGHAM                   NJ     90011392765
25851981771943   NOEMI        CASTELLON                    CO     90010059817
25852942131631   DONNA        LAMPKY                       KS     22054079421
25853156793731   SHERYL       BLESSING                     OH     64522881567
25853162555957   NATHAN       LOONEY                       CA     90008151625
25854562893731   LISA         RHINEHART                    OH     64551255628
25854934161986   CARLOS       PARRA                        CA     90001829341
25855984641245   AMR          BIUMY                        PA     90010109846
25856566955957   JESSE        ZAMARRIPA                    CA     90010155669
25856832791522   MARIA        BUSTAMANTE                   TX     90009248327
25857416141245   JUSTIN       PUTZLOCKER                   PA     51079694161
25857975651328   ROBERT       DEARDORFF                    OH     66080119756
25858163184359   CRYSTAL      CUMMINGS                     SC     90011481631
25859566491522   SANDRA       JOHNSTON                     TX     90002725664
25859592257157   JUAN         PEREZ                        VA     90012995922
25859595872447   ZACHARY      DEISEROTH                    PA     90014285958
25862986831433   LINDA        BOYKINS                      MO     90004429868
25864922771928   RICHARD      CASTRO                       CO     90012759227
25865445193731   JOHN         SCEARCE                      OH     64597524451
25865469581633   ALAINA       WEBB                         MO     90008164695
25865938631433   RACHEL       VONBEHREN                    MO     90011739386
25865982131631   DANIEL       DOOM                         KS     22036499821
25867442131631   GERARDO      MONTANEZ                     KS     22045534421
25867556757157   JULIO        CASTILLO                     VA     90011885567
25867566631433   RONALD       MARTIN                       MO     27547115666
25869635741245   SARAH        FEHL                         PA     90008826357
25871969193731   STEPHEN      MULLINS                      OH     90010999691
25872379791828   JOELENE      PETERS                       OK     90008513797
25874384891828   CYNTHIA      CHOTINIKORN                  OK     90008513848
25874387981661   ANGELA       GILLETTE                     MO     90012143879
25874899893731   GARRY        CORBIN                       OH     90000418998
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25874989691522   MELISSA      GARCIA                       TX     90013809896
25875328761986   IVETTE       LOPEZ                        CA     90014253287
25875493184381   JEANNETTE    MARTIN                       SC     14576484931
25875587655957   ANDREA       ARNDT                        CA     90014955876
25876414772447   RENEE        PILLART                      PA     90000444147
25876562951328   SELDON       HOWARD                       OH     90014635629
25876588381637   DEBRA        HURLBURT                     MO     90009335883
25877696391828   TONYA        BROWN                        OK     90014836963
25878969457157   ADA          QUINTANILLA                  VA     90006699694
25879138771943   MYRA         KIMBROUGH                    CO     90002641387
25879785993731   LINDSAY      TATUM                        OH     90011627859
25881846341245   JULIAN       GRAY                         PA     90011838463
25882317381635   TRACI        KIMBROUGH                    MO     90013013173
25883536131453   PAULLETTE    COX                          MO     27543155361
25884421355957   SABRINA      REYES                        CA     90003584213
25885343757544   CHRISTINE    STANFELL                     NM     35579533437
25885733691522   CARMEN       BANDA DE ARCE                TX     90007697336
25887235371943   ERIC         LOPEZ                        CO     90013932353
25888151157157   SHONDA       WILLIAMS                     VA     90014721511
25888534877577   JESSICA      HUERTA                       NV     90012355348
25889562131453   STEPHANIE    WYATT                        MO     27597305621
25889698271943   JASON        YORK                         CO     90002046982
25893634371928   JASTER       TUIMALEALIIIFANO             CO     90013176343
25893911757531   ARACELY      PARRA                        NM     90013459117
25894767355957   BRANDIE      SMITH                        CA     90000837673
25895821971943   DANIEL       CITILAN                      CO     90011958219
25896262572447   MYRNA M      NEGLEY                       PA     90002302625
25896263731631   MARIA        CORDOVA                      KS     90014182637
25896971793731   PAUL         MILLER                       OH     90015079717
25898336191828   CASSANDRA    OPPERMAN                     OK     90015343361
25898653871943   BRANDON      WARD                         CO     32006016538
25899885191522   ROSE         HERNANDEZ                    TX     90014848851
25911199893731   CORTNEY      ERISMAN                      OH     64520761998
25911776571928   VIRGINIA     VALOCCHI                     CO     32082667765
25913287481637   MAURICIO     ORTIZ                        MO     90013752874
25913439871928   SOCORRO      DURAN                        CO     32062814398
25913863343551   DEENA        BALLS                        UT     90001248633
25914466631453   CHO          BOY                          MO     90012474666
25915112971943   DANIEL       PASIERB                      CO     90015341129
25915375381661   MELISSA      FOLK                         MO     90013123753
25917632451328   LEWIS E.     KIRK                         OH     90012456324
25917645541245   JAMEEL       DAVENPORT                    PA     51005076455
25918358571928   CARLA        LARA                         CO     90012103585
25919322684364   EVELYN       MIDDLETON                    SC     19013543226
25919662791522   ANTONIO      RAMOS                        TX     90011426627
25919686881633   ANDREA       KINSEY                       MO     29069346868
25921249172447   HOLLY        AHSMANN                      PA     51003852491
25921735671943   KALSEY       GRIER                        CO     32018237356
25922416631631   CAMILLE      STANDIFER                    KS     90014184166
25922768681661   KEITH        BRASHEAR                     MO     90014217686
25922867972447   LILLIAN      MORRIS                       PA     90012598679
25923246981637   CARMEN       TURNER                       MO     90007142469
25923416631631   CAMILLE      STANDIFER                    KS     90014184166
25923696381661   BRANDIE      EALEY                        MO     29008526963
25924845931631   BRADLEY      STERLING                     KS     22045608459
25925416631631   CAMILLE      STANDIFER                    KS     90014184166
25927538171943   COLLEEN      BJORK                        CO     90014515381
25927614493731   MIKE         AKEMON                       OH     64514146144
25927997691522   VALERIE      BELTRAN                      TX     75096349976
25928151185999   EDWIN        PAYNE                        KY     66030911511
25928996591522   IRENE        CERVANTES                    NM     90009119965
25929762781637   ROSE         SHIPP                        MO     29005477627
25929824991528   ROBERT       SANCHEZ                      TX     75017188249
25929934131453   NYESHA       WILLIAMS                     MO     90014759341
25931179371943   OLIVIA       JONES                        CO     90014531793
25932673881661   OLIVIA       CARTER                       MO     29002646738
25933358571928   CARLA        LARA                         CO     90012103585
25933767131433   JONATHAN     LAMBERT                      MO     27583277671
25933793791528   ASTRIA       RODRIGUEZ                    TX     90002317937
25934771331631   PAUL         GRIMM                        KS     90009687713
25934986571928   KERSTIN      APASTON                      CO     90009619865
25935113131433   DAVID        BURNS                        MO     90012241131
25936721431631   RAYMOND      POMPA                        KS     90002117214
25936953891828   JENNIFER     DOBSON                       OK     90014829538
25937937781637   FERNANDO     HERNANDEZ                    MO     29080139377
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25942242891522   PABLO         FAVELA                      TX     75076762428
25942652471943   ARTEMIO       ALVARADO                    CO     90013556524
25943192657157   DUGLAS        PEREZ                       VA     90015161926
25943851781637   CARL          DORSETT                     MO     90007778517
25944171657157   MARGARET      SPANN                       VA     90010901716
25945564231631   JOSH          SCHROEDER                   KS     90000305642
25946546151369   REBECCA       BURTON                      OH     66058395461
25946849271943   JEAN          PARFAIT                     CO     90012418492
25947554791522   AMARIS        GARCIA                      TX     90009765547
25948114731453   KATELYN       FUCHS                       MO     90013321147
25948432357157   SARA          GORDON                      VA     90010914323
25948714681661   RASHANDA      MCMILLON                    MO     29072827146
25948881972447   BILL          ROSS                        PA     90007128819
25949566955957   JESSE         ZAMARRIPA                   CA     90010155669
25951632955957   ANTONIO       AREVALO                     CA     90005696329
25952285971943   ANGELA        AGUILAR                     CO     90014212859
25952354351328   TYLER         CRAIN                       OH     90012473543
25952614557128   KEITH         SMITH                       VA     90014816145
25952657331453   TONYA         DEDEAUX                     MO     27511666573
25953242271928   CARL          GIEM                        CO     90010312422
25953695881637   MARTA         LILIA MENJIVAR              MO     90008026958
25954943671943   HENRIETTA     JONES                       CO     90002959436
25955128672447   BETTY         ALLEN                       PA     90013441286
25955338831453   JACQUELINE    THOMAS                      MO     90013983388
25955912181661   ANJIE         WILLIAMS                    MO     29077409121
25957217557157   ADRIAN        MARTINEZ                    VA     90013722175
25957264231433   CHARLES       WHITE                       MO     90011872642
25957521371943   MATTHEW       MYERS                       CO     90014385213
25958286731453   LAVONDA       DAVIS                       MO     90012442867
25958981591828   SARAH         SNIDER                      OK     90014329815
25962697831433   BEVERLY       SHELBY                      MO     90011746978
25963558693731   MICHAEL       CASEY                       OH     64505925586
25964821271928   JOSHUA        WIGGINS                     CO     90014088212
25965523691522   AGUSTIN       CHAIREZ                     TX     90007795236
25965656681661   SHERIHA       GANT                        MO     90009656566
25965723671943   MARRYANNE     PARRA                       CO     90014407236
25965748191828   DANA          WEATHERFORD                 OK     21033947481
25966945181633   DAVID         VOHLAND                     MO     90006699451
25968595971943   ELIZABETH     HEY                         CO     90010965959
25971133871928   DANA          JOHNSON                     CO     90013651338
25971874491522   GLORIA        MORENO                      TX     90002088744
25973763141245   HELENA        DOMBROWSKI                  PA     51083437631
25974641757121   DANIELLE      RODD                        VA     81010626417
25975849181637   KRISTINA      KEENE                       MO     29061778491
25976979251328   AMY           LAMB                        OH     90013079792
25978185331453   EBONY         MORELAND                    MO     90012071853
25978856972447   ASHLEY        ABBOTT                      PA     51085378569
25978882472456   NATHAN        DOOLEY                      PA     90012598824
25979346791828   JERIMIAH      SEALS                       OK     90011453467
25979359855957   MATHEW        MOORE                       CA     90015003598
25983291671943   GERARDO       MARTINEZ                    CO     32080362916
25983874891528   GLORIA        ESPINOZA                    TX     90008518748
25985653891522   VICTOR        GARCIA                      TX     75080066538
25985791555957   MICHAEL       CHAVEZ                      CA     90003737915
25987536293731   VERONICA      VOGE                        OH     64594075362
25988134271928   VICENTE       NATIVIDAD                   CO     32065231342
25988544131433   LACEY         HOLLOWAY                    MO     90000435441
25988953855957   CHRISTOPHER   HART                        CA     90012769538
25989715361979   RENE          JONES                       CA     90010217153
25991848331433   TRAVIS        YOUNG                       MO     90011748483
25993585985938   TONY          SMITH                       KY     67002985859
25994673431453   TASHIKA       THOMPSON                    MO     27578826734
25995884971928   BELLA         RAMOS                       CO     90013148849
25996225891828   RENEE         JOHNSON                     OK     90014542258
25996273491828   RENEE         JOHNSON                     OK     90015132734
25996664671928   TRISTAN       COLSON                      CO     90015206646
25997583431453   BRIDGET       WOODFORK                    MO     90010805834
25998393871928   CESAR         FLORES                      CO     32025963938
25998548657157   LATOYA        HENSLEY                     VA     90003785486
25999612981633   SHANTEL       BROWN                       MO     90014976129
25999759472447   PATRICIA      YOUNG                       PA     90012187594
26111616684344   SUSAN         JAMES                       SC     90001446166
26113221293727   LINDA         MCCUTCHEON                  OH     90009042212
26113881391953   ESSENCE       ALLEN                       NC     90009778813
26113935291522   NORMA         GONZALES                    TX     90012379352
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26114153185938   PAULINO      CONTRERAS                    KY     67085931531
26114782955977   NOE          TORRES                       CA     48077517829
26116165355957   JOSE LUIS    MUNOZ MONTALVO               CA     90009541653
26116562661979   KEITH        NORTON                       CA     90009285626
26116687171943   MAURA        CORDERO                      CO     90011726871
26117535531631   MICHAEL      SCOTT                        KS     90001395355
26118783781661   NANCY        LEGGIO                       MO     29003137837
26119472691828   GRISELDA     SIERRA                       OK     21000504726
26124163957157   YOUMAN       COLEMAN                      VA     90003461639
26125463591828   TEREZA       TOMAS                        OK     90014984635
26126935884364   ASHLEY       WIGGINS                      SC     90011889358
26128187185938   CARRIE       RODRIGUEZ                    KY     90011091871
26129917755977   ROSA         LEMUS                        CA     90002759177
26131647191241   ELIZABETH    PARE                         GA     14587276471
26134688391953   JORGE        RAMOS CALIX                  NC     90014956883
26135266991953   TYSON        MCDONALD                     NC     90013622669
26135325155957   RONALD       BRIGHTWELL                   CA     48088533251
26137256457157   JEROME       AUSTRIE                      VA     90012512564
26137412755977   MELISSA      MARGARITA                    CA     90013984127
26141497154123   SHARI        FUNKHOUSER                   OR     90013954971
26142619291582   MIGUEL       ARZATE                       TX     75093856192
26143747757157   ELMER        MELENDREZ                    VA     90014177477
26146516925144   CHRIS        HENDERSON                    AL     90015375169
26146888557157   KATHY        COLEMAN                      VA     90010958885
26146989531466   BELANCIA     BROWN                        MO     90013309895
26149616441245   HOLLY        TENNYSON                     PA     51096066164
26151122454123   ELIZABETH    COLLINGWOOD                  OR     90012011224
26152399291953   BRYAN        HARRIS                       NC     90014523992
26154672691522   MARIA        ALMAGUER                     NM     90010216726
26159265691522   GILBERT      MARQUEZ                      TX     90012062656
26161354461936   CLAUDIA      CASILLAS                     CA     90014543544
26161529331631   RONALD       JONES                        KS     22063875293
26166129391828   STONEY       BOGGS                        OK     90008411293
26168197555957   KARA         LAMBERT                      CA     90006941975
26169262951369   BEVERLY      DUNN                         OH     66033702629
26171461191828   LETICIA      CORTES                       OK     90013774611
26171989784364   CASSANDRA    GOODYEAR                     SC     90013779897
26176672281661   ELVIRA       RODRIGUEZ                    MO     29024206722
26177592384364   SHAKARA      BLAKE                        SC     90014885923
26178161855957   CARLOS       QUAIR                        CA     90013451618
26178623851369   ANGELA       BARGER                       OH     66011536238
26183187351333   DEBORAH      BEAMON                       OH     90008991873
26184863131453   BEVERLY HI   PHARMACY                     MO     27501088631
26185382255977   KAREN        GUTIERREZ                    CA     90012873822
26186729131631   ESTHER       RIVERA                       KS     90004867291
26187214255986   JUAN         RUIZ                         CA     90006562142
26188521655957   JOSEPHINE    VALADEZ                      CA     90005275216
26188551991828   CARLOS       PEREZ                        OK     21081145519
26189438291828   BRADLEY      WYRICK                       OK     90012834382
26189898581661   VILMA        MERINO                       MO     29087078985
26191272685938   JANNIFER     BUCHANAN                     KY     67085992726
26196326484364   NATERYA      GREENE                       SC     90012463264
26197163791522   MARIA        CRAWFORD                     TX     75094311637
26211831755977   ELVA         PEREZ                        CA     48032858317
26215459157157   JOSE         ROMERO                       VA     81026384591
26216225751333   RONISHA      HOBBS                        OH     90008852257
26218773655957   DANAE        WILLIAMS                     CA     90015297736
26221241791828   KRISTOPHER   GROVE                        OK     90014382417
26221334391953   TROY         GARNER                       NC     90013243343
26222136197132   CLYDE        VIRELL                       OR     44586381361
26223989784364   CASSANDRA    GOODYEAR                     SC     90013779897
26224465331631   JESSIKA      COOKS                        KS     22098074653
26226188557157   SONJA        STALLWORTH                   VA     81067721885
26226669754123   LUCRETIA K   LAKE                         OR     90007376697
26227865391828   ASHLEY       CORONA                       OK     90012408653
26228917291828   JACOB        MCGUIRK                      OK     90014779172
26232291491828   REBECCA      BATTIEST                     OK     90005402914
26232369631631   RICK         SEARS                        KS     22065633696
26236286741245   JENNIFER     BLANK                        PA     51062282867
26236771991241   MELANIE      PARTAIN                      GA     14507167719
26237877355977   RAQUEL       RIOS                         CA     90015238773
26239321655977   JUANITA      RAMIREZ                      CA     90014833216
26241428291528   FRANCISCO    ORTIZ                        TX     75067794282
26242748755977   SERGIO       ARROYO                       CA     90014847487
26242842991522   MIGUEL       MURILLO                      TX     75024408429
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26244364691828   TOMMY        MODLIN                       OK     90010963646
26244431355957   NARCISO      MARQIQUEZ                    CA     90013024313
26244583591582   NOEL         PORTILLO                     TX     75095525835
26245713757157   COURTNEY     KIRKPATRICK                  VA     90014217137
26247862931631   JOSE         TORRES                       KS     22043218629
26248132881661   BRIAN        BRATTON                      MO     29092741328
26248659291522   TERESA       REYES                        TX     75046386592
26251653981677   MICHAEL      LANDRY                       MO     90015006539
26252592155977   JOSE         AVALOS                       CA     90011415921
26254925457157   MIRNA        NUNEZ                        VA     81045269254
26256542891828   VICTOR       VALADEZ-MARTINEZ             OK     90014915428
26257731255957   MARIA        TORRES                       CA     90011917312
26258538555957   BRANDY       MORADO                       CA     90014505385
26261915231631   TJ           TOMLIN                       KS     22013269152
26262424157157   ESBEIDY      LOPEZ                        VA     90008774241
26263599181661   MICHAEL      WOODFORK                     MO     29010665991
26264122484364   ROCHELLE     BRADLEY                      SC     90011571224
26264578591953   SHEENA       BODDIE                       NC     17092535785
26265285155923   TAMMY        ROSAS                        CA     49041802851
26265955555957   RUDY         MENDEZ                       CA     48062559555
26266354941245   DENISE       DECECCO                      PA     51094573549
26267293155977   ROSE         ORDONEZ                      CA     90011072931
26267499833686   JACKIE       WATSON                       NC     12005854998
26268475291522   MARYL LU     BUENO                        TX     90003664752
26268635791528   MARQUEZ      LETICIA                      TX     90011616357
26268785941245   ANITA        COATES                       PA     90013467859
26268868131453   RUTH         PAYNE                        MO     27508388681
26269469491953   MONIKAH      FISHER                       NC     90013634694
26271262955957   MABIL        FLORES                       CA     90010542629
26272412631453   THERESA      EVANS                        MO     27575324126
26278345391522   ADAM         REINBOLD                     TX     90013593453
26278523391953   IRIS         RAMOS                        NC     90010615233
26282294984364   LEO          ROSAS                        SC     90013422949
26282322291522   JOANN        MARTINEZ                     TX     75049983222
26282362191528   RAY          CASTILLO                     NM     75017533621
26282586951369   MICAH        MCMULLEN                     OH     90006785869
26283979391522   XAVIER       SANDATE                      TX     90012969793
26284365141245   BEVERLY      DIMOND                       PA     51054863651
26285286741245   JENNIFER     BLANK                        PA     51062282867
26285568855957   ANDRES       SEGURA                       CA     90003675688
26286786791828   RYAN         ARTERBERRY                   OK     90013457867
26288919984364   LUIS         RIVERA                       SC     90012119199
26292353691241   MIKE         CEDAR                        GA     90005963536
26292934491828   SAMANTHA     DENT                         OK     90012369344
26293572791241   PEDRO        GASPAR LAZARO                GA     90011425727
26294482291241   GEORGE       AKINS                        GA     90002704822
26294593457157   ISHMAEL      GERMANY                      VA     90012525934
26294935391522   REGINA       MONTEZ                       TX     75041439353
26295682491828   TABRIA       BROOKS                       OK     90007036824
26297444991241   SHELIA       SCOTT                        GA     90004224449
26297489455957   MCKINZIE     GRAY                         CA     90003444894
26298764491967   YESENIA      MENDOZA                      NC     90010747644
26299396991522   VALERIE      MIRANDA                      TX     90002233969
26313342955957   CINDY        CORTEZ                       CA     90000303429
26314664791953   KAYLA        SCOTT                        NC     90011176647
26316893491953   KEISHA       MANGUM                       NC     90012028934
26317438555957   ALAN         MENDOZA                      CA     90013794385
26317455655977   GEORGE       BURGOS                       CA     90004754556
26318671881635   ANGEE        HANEY                        MO     90008146718
26319723155957   MILDRED      RITCHIE                      CA     48070027231
26319846191227   SUSAN        PEEK                         GA     90009298461
26321528855977   PATRICIA     HERNANDEZ                    CA     48081525288
26322725391522   ROBERTO      ESCOBEDO                     TX     90014917253
26323197291522   ALEJANDRA    MUNOZ                        TX     90009441972
26323699731433   RONNICE      MOTTLEY                      MO     90013676997
26323778731433   RONNICE      MOTTLEY                      MO     90011767787
26324523391522   ARTURO       GUTIERREZ                    TX     90011515233
26324619684364   GEORGE       STEINBACK                    SC     90013986196
26324772691522   CARLOS       AIZ                          TX     90014437726
26328136855977   EDMUNDO      CASTANON                     CA     90014451368
26328549455957   PHILIP       DOUGLAS                      CA     48004515494
26328678491241   JERNICE      MCNEAL                       GA     90010276784
26333281691953   MELANIE      HARRIS                       NC     90009722816
26336221591528   GRICELDA     AMARO                        TX     75051182215
26336554131433   FELICIA      POPE                         MO     27507335541
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26336654255977   IVAN          MADRIGAL                    CA     90013046542
26336764831631   RYAN          NULAN                       KS     90012147648
26337368655977   CLEOFAS       LUNA                        CA     90013503686
26337613991522   TONY          SPARKLZ                     TX     90013456139
26337818955977   ELAINE        GAYTAN                      CA     90008528189
26341162291953   JARMAR        NEAL                        NC     90014711622
26344276191953   URSULA        GOBBE NOKONOKO              NC     17002432761
26345925591828   AARON         OSTERLOH                    OK     90012099255
26347592457157   RUDY          CASTILLO                    VA     90010275924
26348332891953   WHITFIELD     WASHINGTON                  NC     90014553328
26348449755957   JOAQUIN       MEDINA                      CA     90000304497
26349361531631   AIMEE         KONERT                      KS     22003923615
26349784455977   OLIVER        BASS                        CA     90003927844
26353433731631   PETE          ALCAREZ                     KS     22075144337
26356752784364   ANTHONY       DAWSON                      SC     90011847527
26358436391241   NATALIE       THOMAS                      GA     90010704363
26359164591953   CHERREL       THORPE                      NC     90014711645
26359495191585   SAMUEL        MUNOZ                       TX     75084184951
26359582884364   JESSICA       HOLMES                      SC     90013885828
26361177491525   MIRIAM        FABELA                      TX     75027431774
26361194391953   JARED         BONILLA                     NC     17017321943
26361647755957   ROBERT        GONZALEZ                    CA     48062486477
26361898857157   TARSICIO      MONTENEGRO                  VA     90013118988
26364381331433   LATIA         LEWIS                       MO     90008393813
26364913684364   EVODIO        HAYA                        SC     90005109136
26366675331433   MELISSA       STAMPS                      MO     27586436753
26367453631631   CHRIS         MENDOZA                     KS     22082424536
26369751355957   ALEJANDRO     ENRIQUEZ                    CA     90013987513
26369969651369   MARTIN        TARTER                      OH     66024919696
26371821855977   WILFREDO      RAMIREZ HERRERA             CA     90013378218
26374162555957   NATHAN        LOONEY                      CA     90008151625
26374595757157   RYAN          ANTWINE                     VA     90013635957
26375284181661   KAREN         HASS                        MO     29010692841
26376125691241   FREDDY        BURNSED                     GA     14591081256
26377752584364   OSMAN         VESQUEZ                     SC     90011297525
26381613491227   FELICIA       MCPHERSON                   GA     90013076134
26386467655977   CAROLYN       WILLIAMS                    CA     48062644676
26386848157157   SALVADOR      GASCON MEJIA                VA     81097458481
26392647481661   KARENE        EDWARDS                     MO     29037186474
26393386591828   MATOYA        GARY                        OK     21057643865
26394858877977   PAYGO         IVR ACTIVATION              IL     90014608588
26396242481661   JERIANN       ROBERTS                     MO     90012712424
26396586191522   DARLENE       MARTINEZ                    TX     90008075861
26397723955977   MELLISA       NIETO                       CA     90005957239
26398589891953   JAQUAN        RAYNOR                      NC     90008255898
26399787857564   DOLORES       BACHICA                     NM     35513907878
26411611255957   JUANA         RODRIGUEZ                   CA     90010786112
26412363557157   KEYOMIE       JENNINGS                    VA     90007973635
26413293191522   BOBBY         TOWE                        TX     90013432931
26415235491547   SAENZ         FRANCISCA                   TX     90006962354
26422287791828   TASHA         HARRIS                      OK     90000792877
26422979891828   TASHA         HARRIS                      OK     90013099798
26423954391522   CRYSTAL       RODRIGUEZ                   TX     75049979543
26424168857157   VIJAY         NAIR                        VA     90012531688
26426466891953   LACHOUNDA     WHITAKER                    NC     90008744668
26426881755957   WILFREDO      PIMENTEL                    CA     90014478817
26427547891522   ARTURO        MARTINEZ                    TX     90012335478
26427911555957   ROBERT        LOPEZ                       CA     90005099115
26432394855977   MARIA         SOLORIO                     CA     90010333948
26433142191953   GUSTAVO       B                           NC     90015261421
26433716691522   JULIAN        RONQUILLO                   TX     90008017166
26433749131453   NEDRA         SMITH                       MO     27560487491
26441296891522   DIAMOND       ORTEGA                      TX     90012062968
26441885555957   YESENIA       HAMMOND                     CA     90014538855
26443519284364   DELLA         LEACH                       SC     90013835192
26444527591522   MICHAEL       POWELL                      TX     75079455275
26445146391522   MICHELLE      PALACIO                     TX     90013271463
26446815993742   CAROLYN       MARSHALL                    OH     90013258159
26447522131453   SERENA        MASON                       MO     27563805221
26449187441245   ALBERT        CHLYSTEK                    PA     51062291874
26457555231433   LYNN          SCHAFFNER                   MO     27583125552
26457847991542   LORENA        HERNANDEZ                   TX     90010848479
26458751161435   EMMANUEL      FLORES                      OH     90013897511
26459956691953   SHAREIKA A.   ORTIZ                       NC     90010969566
26463392855957   ENRIQUE       ALDACO                      CA     48056323928
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26463442781683   RONALD       GARRISON                     MO     90012464427
26463965841245   MARSHA       CHAVIS                       PA     90008699658
26464674655957   ANGELA       BOX                          CA     90008376746
26465211831668   JUDY         HIGLEY                       KS     90000572118
26466282471935   ADRIAN       MADRIL                       CO     90012382824
26467319455977   ERIN         TURNER                       CA     90001313194
26467323157157   MATTHEW      CARROLL                      VA     90012603231
26469746591828   LORI         FOLEY                        OK     90011127465
26471359291522   JILLIAN      ESPARZA                      TX     90012823592
26471888861877   PAYGO        IVR ACTIVATION               IL     90004438888
26472684155977   RAYMUNDO     ARIAS                        CA     48006066841
26472897557157   MERCY        ALBAN                        VA     90013508975
26475516455957   ANDREA       RYBURN                       CA     90007155164
26475881131433   KEIRRA       HITCHCOCK                    MO     27512628811
26478422891828   CHESTER      BURCHER                      OK     90007774228
26479978691241   TYWANA       ROYAL                        GA     90014449786
26482242555977   ROSA         RUANO                        CA     48077892425
26482767691522   CLAUDIA      CARREON                      TX     90014157676
26483471891953   KEVIN        ZEPEDA                       NC     90012454718
26484857391828   LISA         PENA                         OK     90014788573
26485331791522   ABIB         Z. PEREZ                     TX     75029013317
26485728691828   NICHOL       DAVIS                        OK     90011397286
26489116291522   JESSICA      RASCON                       TX     90014761162
26496322791241   DONALD       JONES                        GA     14592613227
26498436841245   ROBERT       DINKFELT                     PA     51000574368
26498681491953   ROBBIN       STREET                       NC     90013626814
26499685891953   SEQUOIA      SMALLWOOD                    NC     90013626858
26511182791522   EULALIO      HERNANDEZ                    TX     90010371827
26513744155986   MARIO        COVARRUBIAS                  CA     49055437441
26515853881668   TAMIKA       MATTIC                       MO     90004188538
26515911457157   EDGAR        AMIREZ                       VA     90010219114
26517385591953   SABRINA      WHITE                        NC     90010433855
26517537355957   LINO         LOERA PARTIDA                CA     48053685373
26518426791522   TORRES       ADRIAN T                     TX     90001434267
26518739781661   LATASHA      DAVENPORT                    MO     29035837397
26519586984364   CYNTHIA      HARRIS                       SC     90001805869
26523165884364   ROBERT       MALONE                       SC     90013961658
26524864591522   KAREN        HINOJOSA                     TX     90002418645
26524965131453   SARAH        MCVEY                        MO     27559739651
26525954631433   LADOMINIQU   NELSON                       MO     90004979546
26525967791953   LINDA        ALOMARI                      NC     17042989677
26526158184364   JUAN         LOMELI                       SC     90014051581
26527863851369   HERSTEL      COUCH                        OH     90003758638
26528114981661   DENNA        KENNEDY                      MO     29060511149
26528836241245   JAMES        PATRICK                      PA     90006458362
26531537355977   LINO         LOERA PARTIDA                CA     48053685373
26532293155977   ROSE         ORDONEZ                      CA     90011072931
26533213255957   BILLY        BRYSON                       CA     90005522132
26534438891522   MAISIE       OLIVER                       TX     90013524388
26534872691953   JUSTIN       BAKERVILLE                   NC     90002398726
26535723184364   HEATHER      THARPE                       SC     90014837231
26537278355957   MARY         JEFFORSON                    CA     90006602783
26538468855957   RIGOBERTO    GARCIA                       CA     90009754688
26542553757157   ARA          DERBOGHOSSIAN                VA     90007715537
26542586891241   CINTHIA      ELLIOTT                      GA     90012725868
26545817955977   DANIEL       CANCHOLA                     CA     48003678179
26548937455977   SONYA        MARQUEZ                      CA     90006729374
26549343855989   DEEANNA      GUTIERREZ                    CA     90011263438
26553372161939   LEONARDO     GUERRERO                     CA     90009383721
26554489791828   RAFAEL       MARRUFO                      OK     21003404897
26554863391935   YVETTE       ADAMS                        NC     90013928633
26555247291953   EDWIN        BRAME                        NC     17034762472
26555639355957   SAMUEL       MCMATH                       CA     48012286393
26561476691953   ERIKA        VILLAS                       NC     90006634766
26562183684364   JESUS        LLEVARINO                    SC     90013511836
26562442855977   IRMA         CANTILLANO                   CA     90013984428
26565411255957   RAYMOND      LOYA                         CA     90011004112
26567529855977   KIMBERLY     KEY                          CA     90001375298
26567837761932   MEREDITH     TURNER                       CA     90006138377
26568331255957   FRANCISCO    ZARAGOZA                     CA     48093463312
26573113691522   EDGAR        BARRIENTOS                   TX     75023931136
26573963271943   ELIANA       ACOSTA                       CO     90001449632
26576341333631   ROBERT       HEARTWELL                    NC     12010723413
26577246836158   WALTER       RENTERIA                     TX     90006482468
26577536557157   TONIE        EVANS                        DC     90004455365
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26578435391828   EDWARD       MCDOWELL                     OK     90007774353
26578752484364   JIMMY        MARTIN                       SC     90006117524
26578771991953   TINA         TRICE                        NC     90011647719
26581287881661   PHILLIP      JOHNSON                      MO     29010752878
26581833857157   CHARLES      MENDS                        VA     90003268338
26584489391828   CEDRIC       WILEY                        OK     90015204893
26586129391522   VICTOR       SALAZAR                      TX     90013371293
26586447855957   PAMELA       CORWIN                       CA     90010434478
26586854155977   JUDITH       FLETCHER                     CA     90010208541
26588824691522   LEE          MARQUEZ                      TX     90009998246
26591155381635   VICTORIA     HARRIS                       MO     90010941553
26591688181661   VICTOR       DAY                          MO     29013956881
26592683141286   TONI         DOBRANSKY                    PA     51040756831
26595116255977   GUSTAVO      DIAZ                         CA     90002131162
26595173931433   RASHIDAH     MERRIWEATHER                 MO     90000511739
26598475836165   DOMONIQUE    STALLWORTH                   TX     73506494758
26599577191522   CYNTHIA      BERUMEN                      TX     90009285771
26612279851369   DARREN       COOK                         OH     66009172798
26612667361982   CARLOS       ORTIZ MENDEZ                 CA     90000686673
26615186891522   JOSE         MARTINEZ                     TX     90003261868
26615246743586   KRISTON      PAYNE                        UT     90014612467
26616336291953   JOHN         DOE                          NC     90015023362
26618155255957   MARCELO      CARBAJAL                     CA     90012671552
26618862391953   MARIANO      FUENTES                      NC     90003448623
26619481655977   PATRICK      RITTER                       CA     90012524816
26621713391953   ANTHONY      STEWART                      NC     90004397133
26622393391231   TYRON        WRIGHT                       GA     90014683933
26622549257157   PAULA        ARCHIE                       VA     90011045492
26623558491828   NICHOLAS     TASSIN                       OK     90004795584
26623796385938   CARLA        DUNCAN                       KY     67011267963
26624137691953   MICHAEL      DILLARD                      NC     90015261376
26624449561921   JAMES        CLINKSCALES                  CA     90004964495
26627485291828   ROY          NEEL                         OK     90009154852
26627516757157   DELMY        RIVAS                        VA     81043805167
26627891791522   DENISE       OLIVAREZ                     TX     75058898917
26628253731453   ERICHA       GILCHRIST                    MO     90009002537
26629438431453   RENEE        OTTS                         MO     27560224384
26633278655957   JOSE         MONTES                       CA     90014932786
26634926491828   TIA          RICHARDSON                   OK     90014119264
26636733131631   FRED         SLAVIN                       KS     90013807331
26638257791953   DORIS        GREENE                       NC     17056642577
26641597984364   WILLIS       PAULK                        SC     90014635979
26641775991522   MARIA        MENA                         TX     75099137759
26642353655977   DANIEL       HERNANDEZ HUERTA             CA     90013733536
26643199391828   MARIBEL      PEREZ                        OK     90014441993
26643218241245   MELODY       YANCEY                       PA     90001812182
26644268897122   YARA         ALVAREZ                      OR     44574662688
26645599884364   DIKENA       MIDDLETON                    SC     90014685998
26647426655947   ALEX         ENRIQUEZ                     CA     90013024266
26647432285823   ARIEL        CRUZ                         CA     90005134322
26647526384364   JUANA        LETICIA                      SC     90011865263
26647781255957   GLORIA       GARCIA                       CA     48069677812
26648494941245   LISA         PRICE                        PA     51087824949
26648861355957   VIRGINIA     BARRAGAN                     CA     90010898613
26649471791528   RFAEL        RAMIREZ                      TX     90006864717
26652476491828   HOLLY        CARROLL                      OK     90012974764
26653492591528   VIRIDIANA    JAUREGUI                     TX     90005184925
26654785755957   HEAVANNA     SHERRILL                     CA     90013967857
26656889651369   TYANN        HARRIS                       OH     90009508896
26657962761974   JAVIER       CRUZ                         CA     90008999627
26658562291953   ADONICA      HARRIS                       NC     90009795622
26659617691528   VIRGINIA     CRUZ                         TX     75039076176
26665244155957   ELEUTERIO    LOPEZ                        CA     90014632441
26665615191828   LUIS         VASQUEZ                      OK     21053976151
26666399791241   STANLEY      WILLIAMS                     GA     90011083997
26667774591828   BRENTON      GUINN                        OK     90014727745
26669144455957   OSWALDO      SOLANO                       CA     90010481444
26669735955977   MIRANDA      BACKUS                       CA     48017147359
26671722184364   RONILCE      SANTOS                       SC     90013987221
26671822891828   LORI         WREST                        OK     90004648228
26672515557157   MAKEBA       MOORE                        VA     90013395155
26674341231631   WENDI        PHILLIPS                     KS     22091363412
26677396355977   KAYLA        DELGADO                      CA     48073833963
26677731171943   JARED        PROCTOR                      CO     32080177311
26678628955977   ANNA         RENTERIA                     CA     90011966289
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26678681191828   DAMIAN         POWELL                     OK     90014516811
26678746891953   HALIMA         ALI                        NC     90015247468
26683788191522   JOSE           SANTIBANEZ                 TX     75097867881
26683934751369   JANE           BOWMAN                     OH     66025149347
26683978931453   YOHANES        TEKLE                      MO     90007209789
26684336661935   DANIELA        GUTIERREZ                  CA     90010973366
26684342855977   SABINO         MORALES                    CA     90006053428
26684457455977   GUSTAVO        IBARRA                     CA     90013984574
26684623357531   IRMA           BORUNDA                    NM     90000216233
26685864355977   HECTOR         ENRIQUEZ                   CA     90014898643
26688464955977   CARMEN         VALDIVIA                   CA     48013364649
26691737591522   JULIE          MORENO                     TX     90003357375
26692213791522   CORINA         MARTINEZ                   TX     75042662137
26693293931453   RAMBO          BEMMING                    MO     90003012939
26695432981661   MICHAEL        CARDENAS                   MO     90000444329
26696314591542   ERNESTO        PEREZ                      TX     90007983145
26696453331631   CRAIG          WATTS                      KS     90014554533
26696734291522   KRISTI         HARBEN                     TX     90012687342
26697778131433   CHARLOTTE      AUTTIN-HOLT                MO     27541247781
26699431391522   OSCAR CORPUS   CHURRO SPLIT               TX     90015024313
26711415791522   ALMA           CORDOVA                    TX     90005014157
26713224854136   TIFFANY        MERCHAIN                   OR     90015062248
26713371191522   CLAUDIA        HERNANDEZ                  TX     75012973711
26713986484364   MICHAEL        PHYALL                     SC     90008229864
26715986191522   ELIZABETH      HERNANDEZ                  TX     90015229861
26719383255957   ASHLEIGH       THOMAS                     CA     90007303832
26719845491828   JUNE           ELLER                      OK     90010948454
26721946255977   SERGIO         GONZALEZ                   CA     90006729462
26725131491828   ALYSON         SMITH                      OK     90011191314
26728784957157   IRMA           ROMERO                     VA     90012667849
26729645355977   SERINA         SOSA                       CA     90012336453
26734237291528   MARIA          ENRIQUEZ                   TX     75095412372
26737389255957   MAETYCIE       JONES                      CA     48047843892
26738659691528   RICHARD        EDWARDS                    TX     90006866596
26738853891953   JENNY          EDWARDS                    NC     17038178538
26741872355957   MEGAN          MCINTIRE                   CA     90014908723
26742293391953   ALICE          LACY                       NC     90006492933
26742918547826   YZAVIA         HARRIS                     GA     90010659185
26743383855957   JOSE GIBRAN    PINZON INZUNZA             CA     90012213838
26743436791828   DONNA          BARNES                     OK     90007584367
26745139391953   EBONY          JACKSON                    NC     90003001393
26745938685938   LAURENCE       HICKLING                   KY     67086709386
26746633484364   VERONICA       FORREST                    SC     90012476334
26747256751365   STEPHANIE      BISHOP                     OH     90006912567
26747348257157   MYRA           BROWN                      VA     81028413482
26751477291828   SHELBY         OSBOURN                    OK     90013204772
26751652155977   JOHNNY         PEDRAZA                    CA     90012006521
26752285184364   DELORIS        YOUNG                      SC     90012212851
26753544155977   GABRIELA       REYNA                      CA     90012965441
26753931755957   SAVANNA        CARDOSO                    CA     48016299317
26754546551255   JEFFERY        DINICOLA                   TX     90015065465
26755123731699   ANTONIO        MARTINEZ                   KS     22039861237
26756279455977   OCTAVIO        GOMEZ                      CA     90015332794
26757327784364   MARLA          FIELDS                     SC     90011593277
26757735755977   ANTONIO        SUAREZ                     CA     90011347357
26759215141245   DAVID          BREITENBACH                PA     51098692151
26759459255957   STEPHANIE      CASTILLO                   CA     90012854592
26761647257157   LISSETH        ABARCA                     VA     90012676472
26763975757157   SAU            LOPEZ                      VA     81040809757
26766274891828   JOHN           MUTANDA                    OK     90006912748
26766371831453   JOE            REISE                      MO     27583813718
26766393984364   JOSHUA         FLOWERS                    SC     90013033939
26766915991953   DONEIKA        DEMPSEY                    NC     90013839159
26767671955977   PATSY          PEREZ                      CA     90002916719
26768733431631   SHAKEITHA      SCALES                     KS     90008777334
26769626931433   TAMRA          CROSS                      MO     90006576269
26771286731631   DERRYL         GARCIA                     KS     90015432867
26772779591522   GRUMPY         P                          TX     90003557795
26774373323139   NELLA          THOMPSON                   MI     90015273733
26774739291522   ERICA          MARIN                      TX     90002997392
26775124291522   NICKIE         AHUMADA                    TX     75047951242
26775486957157   VERONICA       CHAVEZ                     VA     81029274869
26776149181661   ROSA           WILLIAMS                   MO     29010811491
26777752791828   JORGE          RODRIGUEZ                  OK     90013977527
26777771155977   JUDY           WESTGARCIA                 CA     48022297711
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26778955841245   WILLIAM       RAYYNOR                     PA     90005339558
26781566255977   BRANDI        PHENNEGER                   CA     90012345662
26781684991828   SHELLY        TALLON                      OK     90013106849
26782728184364   JOSE          IGNACIO                     SC     90014337281
26783442991828   MARTHA        CHAVEZ                      OK     90001964429
26787189472421   GARY          SCHRAG                      PA     90006781894
26787933191828   DEBRA         BOATMAN                     OK     21092879331
26789353691241   KAMONA        GREEN                       GA     90014113536
26791756831631   JOE           BANI                        KS     90013527568
26792333257157   ANA           PATRICIA                    VA     90009773332
26793193657157   MARIO         TRUJILLO                    VA     81019411936
26794252651369   TYLIN         HILL                        OH     90004052526
26794468284364   SUSAN         PICKENS                     SC     19014614682
26798263191547   LORRAINE      BELTRAN                     TX     90008982631
26798514131453   EDDIE         LOGWOOD                     MO     90003945141
26798555731631   DEVAUGHN      BROWN                       KS     22057275557
26798561155957   JUAN          GARCIA                      CA     90014415611
26798664751333   TALIKA        DENNIS                      OH     90012856647
26799216631631   KERRI         RICHARDSON                  KS     22091932166
26811747691522   CORINA        ALVAREZ                     TX     90002567476
26811857155977   HOLIVER       GODINEZ                     CA     90013368571
26812569991542   ISABEL        SALAZAR                     TX     90011025699
26813395141245   DON           ROZAK                       PA     51049353951
26813683831433   JOSE          TERRAZAS                    MO     27541276838
26814982755977   MAYTE         VASQUEZ                     CA     90013909827
26816241655977   TAMMY         BRADFORD                    CA     90014392416
26816622581661   FALESHAE      ALLEN                       MO     90010516225
26817764631631   RAMARA        DEAN                        KS     22018927646
26821339191522   MANUELA       TREJO                       TX     75073283391
26822516591953   CHARLENE      RICHARDSON                  NC     90013435165
26826538655957   ARACELI       JIMENEZ                     CA     90004195386
26828359555977   BLANCA        LOPEZ                       CA     90013943595
26831636855957   OSCAR         GARIBO                      CA     90007526368
26833349555977   LUCIA         FERNANDEZ                   CA     90011843495
26833646455977   ALVARO        HURTADO                     CA     90014366464
26834348751353   LARRY         DELK                        OH     90010023487
26834512855977   JESSICA       GUTIERREZ                   CA     48075735128
26835142291953   HUMBERTO      DEL CID PERAZA              NC     90001301422
26835442971933   MATTHEW       BAUMERT                     CO     90006054429
26835624257157   DANIELLE      PETERSON                    VA     81005186242
26836627455957   FRANCISCO     GAMBA                       CA     90001996274
26841946255977   SERGIO        GONZALEZ                    CA     90006729462
26843583491241   TONY          GARDNER                     GA     90012015834
26843923291833   JESSICA       MATTIX                      OK     90008759232
26844388784364   DAVID         THOMAS                      SC     90011923887
26844924155957   OMAR          RODRIGUEZ-MEDEL             CA     48068439241
26844977255977   LISA          PARKS                       CA     90009999772
26845815255977   SAUL          FRAJA                       CA     90006188152
26847454191528   RICK          CASILLAS                    TX     90011084541
26848585191522   BLANCA        RODRIGUEZ                   TX     90014715851
26849949455977   YESSENIA      MARTINEZ                    CA     90003709494
26853197251369   IVAN          PACE                        OH     66095561972
26855483431631   JANIE         JOHNSON                     KS     22003304834
26856583457157   ELIO          OTTIZ                       VA     90007825834
26859373255957   RACHEL        SAUCEDA                     CA     90014583732
26859418291953   MARTHA        ALVAREZ                     NC     90012714182
26859551655977   CALEB         GUERRA                      CA     48079795516
26861517931631   LISA          SORSHEY                     KS     90008095179
26863431891828   RENAY         JONES                       OK     21058094318
26864196457157   MARVIN        ERNESTO GUERRERA            VA     90012741964
26864551781661   GERALDJERRY   SERGUSON                    MO     90004525517
26864827791241   JOHNNIE       MERCER                      GA     90002158277
26867538491953   YESICA        FLORES                      NC     17016545384
26867866155977   JOSE          DURAN                       CA     90006588661
26868265457157   WALTER        VALLEJOS                    VA     90012742654
26873122691241   SEAN          KANE                        GA     90011921226
26874773441281   TIMOTHY       ROBERTS                     PA     51083907734
26875248157157   CHARLES       LOVETT                      VA     81026802481
26875353231433   KEITH         TOMPHSON                    MO     27585163532
26876179241245   DENISE        TERRELL                     PA     51074821792
26876186891953   CHISTINA      YATES                       NC     17000511868
26878461291522   DAVID         EDMONDS                     TX     75027774612
26878838355957   HEATHER       CUNNINGHAM                  CA     90011418383
26879452557157   MARY          TORRES                      VA     90000134525
26881232291828   DESIREE       RANDLE                      OK     90008182322
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26881589841245   STEPHEN          BODZINSKI                PA     90002675898
26882513655977   BRIANNA          FEAR                     CA     90014835136
26887696955977   MARILINDA        LUNA                     CA     90010106969
26888476957157   EMILIO           CHAVARIA                 VA     90010924769
26888499191241   VASILIY          RYBIN                    GA     90012994991
26888761791953   CHRISTINA        MIAL                     NC     90013617617
26889849755977   RODELLE          REED                     CA     48092658497
26891168785844   THOMAS           BAKER                    CA     90001761687
26891176284364   DONALD           ASHFIELD                 SC     90004901762
26892253284364   DOMINIQUE        JOHNSON                  SC     90013962532
26893517984364   GLENDA           MARSHALL                 SC     19070125179
26894729591522   CONST            SPARTAN                  NM     75058897295
26895884891528   SERGIO OSVALDO   ROMEO BARRIENTOS         TX     90006888848
26896627555957   DUSTIN           KINCAID                  CA     90014326275
26897379891953   MARK             YOUNG                    NC     90013213798
26899229791828   RODOLFO          JUAREZ                   OK     90012112297
26899588557157   RANDOLPH         CHENEVERT                VA     81030135885
26911223831631   RAY              SHUMAKER                 KS     90009692238
26914965481661   MICHAEL          SUMBI                    MO     90010519654
26917833391953   STEVEN           TORRES                   NC     90014378333
26918613781661   THOMAS           DOUGHERTY                MO     29002376137
26919283784364   BETH             BISHOP                   SC     90005312837
26919623777523   CAREN            IDZINGA                  NV     43050966237
26922641355957   ESMERALDA        LOPEZ                    CA     90004176413
26923797791828   BRITTAMY         HOUK                     OK     90006407977
26924277284364   ALFREDO          MERAZ                    SC     90011622772
26924446541245   MELISSA          KEENE                    PA     90013974465
26924476841245   KRIS             GAMBLE                   PA     51085484768
26925583331453   PATRICIA         HENSLER                  MO     27571025833
26927232855957   LADELLIA         SANDERS                  CA     90011342328
26931333691831   ALONDRA          ESCOBEDO                 OK     90011513336
26931554184364   AMANDA           DAQUINO                  SC     90013945541
26931866291241   PAMELA           JOHNSON                  GA     90001768662
26931886691227   ANGELA           HALL                     GA     90012268866
26933344555957   SLIVA            COVARRUBIAS              ID     48083323445
26935833391953   STEVEN           TORRES                   NC     90014378333
26936153631433   JOANN            EWING                    MO     90001111536
26937126233644   DEWAYNE          LAMBERT                  NC     12093451262
26938333455957   VERONICA         ARELLANO                 CA     90011993334
26938612651369   JANET            WILLIAMS                 OH     66033446126
26939754155957   RICARDO          CAMACHO                  CA     90008737541
26942386484364   ANTONIO          HODO                     SC     90013963864
26943261551369   CRAIG            PROPHETT                 OH     90008792615
26943685284364   JAMI             JACKSON                  SC     90013016852
26944546855977   REBECCA          URBINA                   CA     48075305468
26944881655957   SUMMER           TERRELL                  CA     90014528816
26945489397132   RICHARD          FLYNN                    OR     90011284893
26945498155977   CARLOS           DESOTO                   CA     90001664981
26946552591582   MARIA            CARRERA                  TX     75063755525
26947456691953   VELMA            SMITH                    NC     90004674566
26947725484364   SIMONE           PARKER                   SC     90014937254
26952994491547   VERONICA         SILOS                    TX     90012539944
26953638157157   LISSY            RODRIGUEZ                VA     81004576381
26954319455977   SANDRA           RODRIGUEZ                CA     90002913194
26954762491953   JOHN             FISH                     NC     90012987624
26956129781661   PAYGO            IVR ACTIVATION           MO     90010521297
26956156957143   HEBER            FLORES RAMIREZ           VA     90010661569
26956787355977   JENNIFER         FAGUNDES                 CA     48070937873
26957719184364   ROBERT           WELLS                    SC     90001487191
26958634684364   MONICA           MITCHELL                 SC     19094586346
26959331391828   KEVIN            BENNING                  OK     90014993313
26961137151369   VALENTIN         HERRERA                  OH     66018091371
26961845391522   CRYSTAL          TARRANGO                 TX     90000398453
26963316355957   ANGELICA         GONZALEZ                 CA     90004753163
26964319691528   KAREN            APODACA                  TX     90006893196
26965577957157   MILENA           GUARDADO                 VA     90009615779
26965599491953   MABIALA          PHUATI                   NC     17034325994
26967145555977   JOSE             OCHOA                    CA     48041051455
26967476841245   KRIS             GAMBLE                   PA     51085484768
26971267957157   ZIYA             LANGFORD                 VA     90009942679
26971837941245   LAXMI            KHATIWADA                PA     90002478379
26973254951365   SANDRA           JACOBS                   OH     66061922549
26973475655957   YVETTE           RICKS                    CA     90009434756
26973755884364   ABDEL            UKASHEH                  SC     90013987558
26974149591582   AIDE             AVILA                    TX     75063761495
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26976839131631   TIFFANY      PAYNE                        KS     90014598391
26976962191828   VICTOR       VELAZQUEZ                    OK     21033659621
26978621891828   DAVID        MARTIN                       OK     90006666218
26979345685892   FELIPE       BAZA MORALES                 CA     90013743456
26979831491828   DAWN         JOHNSON                      OK     90015088314
26979837955931   GABRIELA     MEIJA                        CA     90000578379
26981364591828   KYEN         BURNS                        OK     90010983645
26983315391953   PEACHIE      TURNER                       NC     90013693153
26983433584364   SHANNON      RUSSELL                      SC     90006314335
26984598855977   KIMBERLY     PHILLIPS                     CA     90013785988
26984843857157   DAMIANA      PORTILLO                     VA     90012748438
26985418755977   MARIO        QUIROZ                       CA     90013934187
26985978831433   TRICINA      FISHER                       MO     27541329788
26988146131433   VALARIE      HAYES                        MO     90005111461
26988288991953   ADAN         BARAHONA                     NC     90013122889
26988434331557   JOSETTA      DUFFUS                       NY     90012244343
26992112941245   MICHELE      FREEMAN                      PA     51036181129
26993528991953   PAULA        BEST                         NC     90002455289
26994129555957   STACY        MUSTIN                       CA     48096381295
26994591691323   TIFFANIE     CHEATOM                      KS     90014815916
26994642831433   LASHANON     NEAL                         MO     27592716428
26995846991522   ALONSO       HERNANDEZ                    TX     90013858469
26995929191828   STACY        QUEEN                        OK     90013899291
26996197731433   MERAJUDDIN   MERAJ                        MO     90011361977
26998865857157   MIGUEL       LOPEZ                        VA     90010268658
26999688891953   SANDY        JUDD                         NC     90012936888
26999746857157   BRYON        FELISKA                      VA     90012747468
27111749942565   BERNICE      SANDERS                      WA     90011307499
27113993631453   MOLLY        GREENBACH                    MO     90002239936
27114428991833   STACY        ATTERBERRY                   OK     21020164289
27117923191241   DEITRAI      QUIGLEY                      GA     90013229231
27118449991828   JAMES        PERRY                        OK     21019764499
27121273881637   KAREN        GRIGSBY                      MO     29055552738
27121823855957   DAVID        CABASOS                      CA     90011228238
27125281131453   PATTY        SIPES                        MO     27514332811
27125919531631   ASHLEY       WILLIAMS                     KS     90007989195
27127954381638   RELLY        RELL                         MO     90013519543
27128274491241   PATRICIA     LIBURD                       GA     90015432744
27128871391828   MELONY       PITTS                        OK     90013888713
27128932591542   LOURDES      PARADA                       TX     90001239325
27129986791356   JESSICA      PACHECO                      KS     90009349867
27131273655957   MARGARITA    GARCIA                       CA     90007942736
27132546993731   JEFFEREY     WASHINGTON                   OH     64505625469
27133259391833   MICHAEL      MARRIOTT                     OK     90009032593
27134919331433   DAVID        GLENN                        MO     27517379193
27135748681637   KRYSTAL      PONCE                        MO     29015187486
27135854757157   SAJILA       KHAN                         VA     90012658547
27136545555957   ALEJANDRO    LARA                         CA     90009945455
27138551585822   JENNA        SPENCER                      CA     90014865515
27143773891592   JOSE         AVILA                        TX     90007767738
27144267377577   JAMES        COLLINS                      NV     90013302673
27145312985822   JENNILYN     ALANZALON                    CA     90001243129
27145443891356   MARCELA      AVALOS RAMIREZ               KS     90012174438
27145713191547   LUIS         ACOSTA                       TX     90009427131
27146291281638   KATIA        HERNANDEZ                    MO     90013252912
27147539291592   PATRICIA     QUIROGA                      TX     75014195392
27147551331453   LAURIE       MURPHY                       MO     27500045513
27147736181638   STANLEY      ECKERT                       MO     29070647361
27148381691592   JOSE         ALVAREZ                      TX     90013773816
27154537255957   DANETTE      GAYTON                       CA     90011645372
27155694857157   SANDRA       ORTIZ                        VA     81078836948
27155971581661   DANIEL       JONES                        MO     90012419715
27156495191547   DIANA        RUIZ                         TX     90010124951
27157148293731   KIM          COATES                       OH     64588841482
27159681591828   LESLIE       BACHNER                      OK     90002616815
27159782493723   REYNALDO     MARTINEZ                     OH     90002497824
27164283591828   JAZZMAN      DOYLE                        OK     90012452835
27164463993731   DEBORAH      BULL                         OH     90010224639
27164524255957   JOANNA       RAMIREZ                      CA     90013875242
27165656455957   GUADALUPE    RIOS                         CA     90012056564
27166561585822   JOSEPHINE    ARCHULETA                    CA     46015015615
27166731841245   RANDOLPH     ADAMS                        PA     51076927318
27166837281638   KEVIN        RIGGLE                       MO     29090998372
27167239851338   DEBBIE       DERRISO                      OH     90010592398
27167249791828   JESSICA      BROUSSEAU                    OK     90000662497
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27167736931453   KAENTH       MCCLAIN                      MO     90011837369
27168848351338   SHEILA       HANCOCK                      OH     90000698483
27168874693731   CHRISTINA    COMBS                        OH     90014728746
27169565943523   MICHELLE     RUSH                         UT     31038875659
27171888891356   NAKIWA       NORRIS                       MO     29074708888
27174753777338   TREVONNA     AUSTIN                       IL     90008377537
27175819985938   KRISTIN      BAKER                        KY     67087638199
27177139291241   RAFAEL       CARRILLO                     GA     90004251392
27177287391828   MICHAEL      NORRIS                       OK     21050352873
27177525955957   AMBER        BRANHAM                      CA     90014265259
27177997481638   ANGELA       WALKER                       MO     90014239974
27179766585822   MIGUEL       GONZALEZ MEDINA              CA     90001387665
27181378731433   ALFREDIA     BONS                         MO     90005723787
27181383891356   ALEXANDIA    AREVALO                      MO     90015023838
27182496393731   FALLEN       KAYLA                        OH     90011024963
27183431591356   GAUDENCIO    RODRIGUEZ                    KS     29039024315
27183465191828   ROSHAWN      DALEY                        OK     21068894651
27184953385822   MARCELINO    ORNELAS                      CA     46001919533
27186699491828   ANDREW       FISCHER                      OK     21072116994
27187418491356   JOHN         VASQUEZ                      KS     29085404184
27188576785822   DINO         PALAVICINO                   CA     90013785767
27188838791356   ADRIAN       TORRES                       KS     90000978387
27191445355957   JOANN        SORONDO                      CA     90013444453
27192461157157   JOSE         MARIN                        VA     90006994611
27194521391356   ADRIAN       GUERRA-DUARTE                KS     90013635213
27194623193743   DAVID        DENLINGER                    OH     90006316231
27195819791828   OSCAR        LOPEZ                        OK     90003788197
27197417691241   SHELIA       BARTLEY                      GA     14572714176
27198358831453   RICHARD      HAGAN                        MO     90011833588
27198693771923   ERIC         SCHROEDER                    CO     90002016937
27198937955957   ARMANDO      LULE                         CA     90006879379
27199253791241   MIKE         GREEN                        GA     90014102537
27199364157172   NELSON       GOMEZ                        VA     81013023641
27211389257133   KEVIN        DOMINGUEZ                    DC     90001203892
27211531281638   SHELLY       MATHEWS                      MO     90006815312
27212456261931   DANIELLE     PERRINE                      CA     90010844562
27212537381638   PAYGO        IVR ACTIVATION               MO     90013355373
27213935141245   BRIAN        FETZER                       PA     51007439351
27214616493731   JANEICIA     SMITH                        OH     90014616164
27214634691356   ANA          MENDOZA                      KS     90010156346
27215253355957   MICHAEL      WILLIAMS                     CA     90012282533
27216142561931   JOE          BATTOU                       CA     90013621425
27216242331631   RICHARD      LEWICK                       KS     22021322423
27218715891356   EFRAIN       PLANCARTE                    KS     90010157158
27218773355957   LAURA        RODRIGUEZ                    CA     90010187733
27219598391356   TABITHA      NORRIS                       KS     90013165983
27222559447952   MELISSA      HUMBARGER                    AR     24028215594
27222717591592   ROSALINDA    MEDRANO                      TX     90011067175
27225735691833   ASHLEY       SANCHEZ                      OK     90009987356
27226943281638   KYLE         MERTZ                        KS     90005689432
27227441255957   MICHAEL      HALTOM                       CA     90009774412
27227817885822   ALEX         FERNANDEZ                    CA     90012258178
27228654793731   RONNESHA     MURPHY                       OH     90013256547
27231787291356   ARACELI      RODRIGUES                    KS     90007227872
27232986291592   RICARDO      SALCIDO                      TX     90013229862
27235722491241   KYLE         CONNERS                      GA     90009087224
27236299755936   DONNA        WOOD                         CA     90009122997
27237871785938   TIFFANY      BAILEY                       KY     90007278717
27241526741251   LYNN         STEINER                      PA     90002765267
27241826855957   HEATHER      FORTUNY                      CA     48009198268
27243423693731   JEFFERY      SMITH                        OH     90014604236
27243721291928   EMMANUEL     OYENEKAN                     NC     90003847212
27244713457143   MATIAS       TUFFA                        VA     90014927134
27247545791828   CASSIE       SCHNEBLY                     OK     90008025457
27247576891592   VALERIE      BARAY                        TX     90013295768
27248151391356   KRISTEN      BILLINGSLEY                  KS     90014561513
27248217291828   PRECIOUS     ISAAC                        OK     90004262172
27248375355957   ALEX         DIAZ                         CA     90005703753
27249362631631   ADRIAN       TORRES                       KS     90013563626
27255946285822   ERIC         BOOTHE                       CA     90011539462
27256477191592   MONROY       ROSA                         TX     90010014771
27257363991356   MOHAMMED     MAHMOOD                      KS     29029453639
27259151681638   PATRICIA     WILLIAMS                     MO     29002221516
27259164191592   JAIME        MARQUEZ                      TX     75041111641
27262624977541   ANA BEL      JUAREZ AYALA                 NV     90004226249
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27263718691227   BRANDY        GLENN                       GA     90008937186
27266286391356   ALEJANDRO     CRUZ                        KS     90014602863
27267195291356   JALISA        POINTER                     KS     90011521952
27268412855957   RICHARD       RENTERIA                    CA     90003404128
27269976481638   EDDIE         THOMAS                      MO     90001639764
27271868181638   VANESSA       BETTS                       MO     90008928681
27272264591528   PEDRO         APODACA JR                  TX     90000532645
27274359551325   PHILLIP       NEEDHAM                     OH     90012933595
27274643155957   LOIS          MIRANDA                     CA     48083336431
27275614191356   JESUS         FLORES                      MO     90013866141
27275675654185   TYLER         TURNER                      OR     90002666756
27276619285822   LALINDA       WICKRAMASINGHE              CA     90002466192
27276898191828   JANELLE       BURTON                      OK     90014128981
27277828261931   CHARLES       CARRANCO                    CA     90009868282
27278699947952   TAMMY         SHAFFER                     AR     24087686999
27278872457123   DANIJELE      VUKOVIC                     VA     90001678724
27279449155957   MARY          GONZALEZ                    CA     48014974491
27279479491356   MARLEN        NUFIO                       KS     90015174794
27279699947952   TAMMY         SHAFFER                     AR     24087686999
27281326957133   TODD          FRENCH                      VA     81008473269
27282665585822   BRADLEY       GUISE                       CA     90012386655
27283155991528   ROBERTO       MAYMI                       TX     90003281559
27283773281646   STEVEN        SIMON                       MO     90006307732
27285184331433   JONATHON      HARDWRICT                   MO     27522731843
27285979891356   SANDRA        PEREZ                       KS     29044729798
27286939231631   DEBBY         SANROMAN                    KS     90005539392
27287222231433   ANNETTE       STEVENSON                   MO     27568732222
27288326141245   ANTHONY       TURNER                      PA     90009693261
27289542791828   WAYLON        HUDSON                      OK     90013895427
27289938785822   JORGE         SILVA                       CA     46010989387
27294731281638   KATHLEEN      HAMLET                      MO     90013007312
27295622885822   NADER         SHAMMOUT                    CA     90013196228
27295642485938   MOHAMMED      QADIR                       KY     67087166424
27296685591241   TIMOTHY       HILL                        GA     90014916855
27298375591241   PATRICIA      ELLISON                     GA     90014693755
27298945231631   YOLANDA       JACKSON                     KS     22071689452
27299494991356   MELWEE        MINOR                       KS     90013984949
27299613781661   WILLIAM       BRADFORD                    MO     29018606137
27311573491356   KATIE         CARINES                     KS     90010275734
27312153281638   PAUL          EDWARDS                     MO     29045621532
27313151591528   MARIO         GONZALES                    TX     90011841515
27313275277541   CHARLEY       HANSEN                      NV     90006252752
27313416191356   TAMIKA        JOHNSON                     KS     29050734161
27313831381637   BONIDA        MCCOY                       MO     29076968313
27314547693731   SHAMAURI      BARNEY                      OH     90013385476
27315273655957   MARGARITA     GARCIA                      CA     90007942736
27315628757565   EDGAR         CEBREROS                    NM     90003766287
27315638891592   KARLA         VILLALOBOS                  TX     90007786388
27316174181661   SHAWN         BERRY                       MO     90010431741
27317315691241   AGUSTIN       MORA                        GA     14579983156
27319831881648   ANTONIO       SMITH                       MO     29021888318
27322217191528   JOSE          RUIZ                        TX     90004562171
27323275591356   JASON         WILEY                       KS     29014452755
27325559591241   ANGEL         MACKLIN                     GA     90013375595
27326339841251   TIFFNY        DAVIS                       PA     90013703398
27326391581661   RICK          LACORE                      MO     90006563915
27327548231433   LEBROOKE      RODRIGUEZ                   MO     90001575482
27328133241259   FRANK         JHON                        PA     90015331332
27328236993731   ALICE         ROBERTS                     OH     90010372369
27329127991592   LORI          TORRES                      TX     90014601279
27331326391356   LUIS          NAVARRO                     KS     90013963263
27331687931631   DIAMONTE      JEANS                       KS     90014206879
27331923581638   MARIAH        THOMAS                      KS     90014799235
27331956455957   VANESSA       LICON                       CA     90008649564
27332165784364   SCOTT         WHEELER                     SC     90006231657
27332167691927   PAIGE         HAGGETT                     NC     90005601676
27333797884364   JONATHAN      SMOAK                       SC     90010687978
27334781255957   YAZMIN        CORTEZ                      CA     90012057812
27335189491831   CARLA         WALKER                      OK     90009531894
27337765561997   JAMES         BYRNE                       CA     90004797655
27338556355957   JESSICA       LOPEZ                       CA     90014015563
27339972771923   CHRISTINA M   HERRERA                     CO     90011779727
27341268791833   SPENCER       FLETCHER                    OK     90003132687
27342576955957   CONNI E       STONE                       CA     90013655769
27343248391356   JORGE         REYES                       KS     90010752483
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27344256355957   ALEJANDRO    ROJAS                        CA     90014672563
27344372891592   RODOLFO      MARTINEZ                     TX     90013393728
27344636185938   ANDRE        FRANKLIN                     KY     67061146361
27344723891828   RACHEAL      DEVILLE                      OK     90014037238
27345669755957   JASIVE       MEZA                         CA     48001906697
27346156881661   ALFRED       DAWKINS                      MO     29033091568
27347514891356   ANDREW       STUEVEN                      KS     90013555148
27349383281637   TATIANA      SCHAFFER                     MO     29039373832
27349455455957   HELEN        VASQUEZ                      CA     48046374554
27351117781638   MILTON       BROWN                        MO     90014831177
27351128625144   TYIAMARTE    LINLEY                       AL     90015241286
27352126177523   MARITZA      HERRERA                      NV     90008971261
27352782291828   JAYE         MORRISON                     OK     90010747822
27352978385938   STACEY       WILSON                       KY     67013009783
27353634393731   MARYLOU      SMITH                        OH     64557646343
27353781255957   YAZMIN       CORTEZ                       CA     90012057812
27354333731631   CECILO       RODRIGUEZ                    KS     90013883337
27354876641245   DEBORAH      HOWZE                        PA     51011628766
27355743181661   THORNE       SPENCER                      MO     29016247431
27356964593731   TRISTAN      VEGEDES                      OH     90002589645
27358189581638   SUSAN        SEELEY                       MO     90013081895
27358725391528   ERIN         PORTILLLO                    TX     90005847253
27359888191592   RAUL         SANCHEZ                      TX     75069308881
27361123831441   WILLIAMS     TURNER                       MO     90014541238
27362352391241   FAITH        BENNETT                      GA     90012443523
27362873991828   SHANELL      MAYS                         OK     90011198739
27362963191356   VICTOR       MANSILLA                     MO     90002139631
27363487781638   KAT          EYES                         MO     90010074877
27364138893731   CASSANDRA    JOHNSON                      OH     90004641388
27364243485822   JARON        THOMAS                       CA     90014362434
27365376191241   TYRELL       JACKSON                      GA     90014923761
27368731155957   RICARDO      RODRIGUEZ                    CA     90008747311
27369681154121   ESTHER       SIERRA                       OR     90014566811
27371343985872   KELLY        PHILLIPS                     CA     90010373439
27372666285938   KIM          RAY                          KY     90007366662
27372673755957   MARIA        MACIAS                       CA     90011246737
27373281157157   JENNIFER     WILKINSON                    VA     90002532811
27373383181638   ANGELA       PARKS                        MO     29026963831
27374698857157   FRANCISCO    MARTINEZ                     VA     90000916988
27377172785822   JOY          BINN                         CA     90008701727
27378197391592   ROBERT       MCCALL                       TX     75095051973
27378466991241   TOSHAINA     MELTON                       GA     90015004669
27379176991592   VERONICA     PALOMARES                    TX     90005671769
27381537391356   RENE         RUIZ                         KS     90014885373
27383889681638   JOSHUA       NIELSON                      MO     90012468896
27384382585938   IVAN         AGUILA                       KY     67071943825
27385561191547   ALMA         LUNA                         TX     90013365611
27386162781661   ANN          LANDOWN                      MO     29053731627
27386192931631   ROY          DARNALL                      KS     90000981929
27388165855936   EVA          NIGG                         CA     90007611658
27389391581661   RICK         LACORE                       MO     90006563915
27392189581638   SUSAN        SEELEY                       MO     90013081895
27392487791592   MARLENE      CAMPA                        TX     90014854877
27392686355957   JOHNNY       RODRIGUEZ                    CA     90013326863
27393147785822   DIANA        NUNEZ                        CA     90014861477
27394262193731   DARRIELL     ROSS                         OH     64586482621
27394267685822   DUSTON       CRAWFORD                     CA     90014422676
27394861681648   LAURA        CASTILLO                     MO     90012788616
27395799351333   RAY          SMITH                        OH     90013377993
27395978791828   AGUSTIN      VARGAS                       OK     90014069787
27396224181638   MEGAN        BOND                         KS     90013662241
27397373433677   QUANSHELIA   TALLEY                       NC     90009163734
27398435991828   LEENAY       EASTLAND                     OK     90011304359
27398538155957   SOPHIA       CHISOM                       CA     90011655381
27412298885822   MIRA         WOO                          CA     90010462988
27412446991241   LACADIA      RANDOLPH                     GA     90013264469
27413279291528   LUNE         MAYRA LUNA                   TX     90009072792
27413613991241   MICHELLE     LAW                          GA     90014836139
27413619691592   GRISELDA     MALACARA                     TX     90005796196
27413881931277   ALFREDO      JOFFERY                      IL     90015538819
27415229181638   SHONTRAY     GILBERT                      MO     29075122291
27418224133621   MONICA       FOWLER                       NC     90015222241
27419436555957   DULCE        MARQUEZ                      CA     90011254365
27419833591356   CHANEL       UNION                        KS     90012978335
27421451991592   BENNY        ONTIVEROS                    TX     90011314519
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27423244191356   WALTER       MONTERROSO                   KS     29091112441
27423416693731   MICHELLE     ALLEN                        OH     90011194166
27423483384364   EMUEL        GREEN                        SC     19027364833
27423958591828   MORGAN       GREENFIELD                   OK     90010289585
27423997655957   SUSAN        OLSEN                        CA     90011559976
27424261891241   MARK         S CARPENTER                  GA     14535102618
27425392231433   JASON        WALZ                         MO     90002643922
27426964291525   ALBERTO      DELGADO                      TX     75096079642
27428692393742   ROBERT       EVANS                        OH     90012926923
27428755181648   VICKY        BURKE                        MO     29023127551
27429515491592   VIVIANA      GUEVARA                      TX     90009485154
27429694581648   JERRY        WRICE                        MO     29016146945
27431794455957   TABITHA      TOSTADO                      CA     90014757944
27432581491356   JEREMY       WILSON                       KS     29082315814
27433272591592   JUAN         GOMEZ                        TX     75072982725
27433613991241   HOPE         HOWARD                       GA     90009046139
27434626385822   ARACELI      SANCHEZ                      CA     90011966263
27435291691241   EMILIO       LOPEZ                        GA     90013652916
27436422251369   RYAN         NEAL                         OH     66046844222
27439757161986   JEFF         DECKER                       CA     90006357571
27439983991828   NECIA        WOLFE                        OK     21096929839
27441235655957   GARY         COTTON                       CA     90012772356
27441397591241   HARRY        HOPKINS                      GA     90007583975
27441615791356   JOSE         GARCIA                       KS     90011206157
27444752391592   VENNISE      DELGADO                      TX     90010767523
27447113593767   MEGHAN       MCFARLAND                    OH     90002141135
27448371341235   ALESIA       EVANS                        PA     90003473713
27449613881638   JULIUS       BRADLEY                      MO     90013936138
27452951593731   REGINALD     JACKSON                      OH     90014899515
27453989781661   CARLENE      MERRITT                      MO     29092959897
27454358391828   SHAKAUNYA    PIRTLE                       OK     90014023583
27454948151369   EDRESS       COLLIER                      OH     90001209481
27457379455957   REYNA        RODRIGUEZ                    CA     90002093794
27458472785961   CINJIN       HADLEY                       KY     90015274727
27458815147952   YOLANDA      IBARRA                       AR     24014818151
27459865181638   ANGELIC      WILLIAMS                     MO     29073848651
27461156991592   MARIA        PENA                         TX     75025201569
27461561691828   HARMANDO     CHAVEZ                       OK     21061265616
27462369561995   BASSAM       SHAMOON                      CA     46038913695
27463944477371   JEFFREY      GILMORE                      IL     90015029444
27465528372446   SHERRIE      DOMITROVICH                  PA     51040335283
27466112785822   TRAVIS       STEFFENS                     CA     90010691127
27468552585822   MORGAN       JOHNSON                      CA     90011955525
27468655331433   SHERLANN     BELL                         MO     90012986553
27468762341245   YALONDA      SCOTT                        PA     51060817623
27468818261985   BEATRIZ      GARCIA                       CA     90001208182
27473568181638   PEGGY        RAMSEY                       MO     90002505681
27474374751369   MABLE        SANDERS                      OH     90007363747
27474826425144   MUJAHID      ASSAD                        AL     90015168264
27474947355957   GERARDA      REYES                        CA     48004849473
27475974291528   MELISSA      HERNANDEZ                    TX     90013759742
27476191141245   CARMON       WILLIAMS                     PA     90003041911
27476193191241   BILLY        CREWS                        GA     90012811931
27476644981661   JAIME        MARTINEZ                     KS     90007686449
27477843981638   ASHLIE       STEWART                      MO     90013728439
27478129555957   MARCOS       MARTINEZ HERNANDEZ           CA     90008771295
27479193555957   KARANDA      PARKER                       CA     90013821935
27483556451326   RONALD       SCHROEDER                    OH     66048925564
27484635185822   AIOTEST1     DONOTTOUCH                   CA     90015116351
27485116885822   SARA         TRUJILLO                     CA     90013801168
27486514691356   MAMIE        SPRINGS                      KS     90014345146
27486974185822   JONNY        CASTANEDA                    CA     46010709741
27488593447952   MARIA        GUADALUPE                    AR     24072505934
27488777291356   EMMANUEL     GREEN                        KS     90013777772
27489139855957   VICENTE      BORGES                       CA     90013761398
27489556491592   DELIA        MARIN                        TX     75044165564
27491385691828   BENJAMIN     CALVILLO                     OK     90012533856
27491674181661   TAMEKA       SIMS                         MO     90007686741
27493438285822   HUMBERTO     SILLAS                       CA     90003724382
27496528791528   MICHAEL      GARCIA                       TX     90003285287
27496579481661   ASHLEY       DANIEL                       MO     90010955794
27496989341245   RAUL         LUCAS                        PA     90003979893
27497863393731   DAN          BUSSERT                      OH     90009938633
27511529581638   JOE          BOUL                         MO     90001245295
27513199255957   GABRIEL      VENEGAS                      CA     90014951992
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27514618131631   PATRICIA      DANIELS                     KS     90013026181
27515686471924   VALERIE       VALDEZ                      CO     38095646864
27515842457157   JOEL          MARTINEZ                    VA     81043348424
27516124791356   AMBER         LINK                        KS     29023311247
27517125221688   DAVID         BLEIGH                      OH     90015331252
27519274481638   ALYSE         MIRANDA                     MO     29033902744
27519853491241   DARNELL       STANBACK                    GA     90012228534
27521236185822   LAGUNAS       ELIDIA                      CA     46043242361
27521439993743   CHRISTOPHER   SCHLANGEN                   OH     90011454399
27521687491592   HELLEN        MARTEN                      TX     75051646874
27522116441245   SHARON        WILEY                       PA     51039771164
27523228755957   SAMANTHA      PULLEY                      CA     90013822287
27523348941245   JERRY         MAY                         PA     51080173489
27524436381638   KORY          SNIDEN                      KS     90010474363
27525639641245   JESSICA       BRANDON                     PA     90009996396
27526523255957   JUANITA       MENDOZA                     CA     90015165232
27526843391241   DANIELLE      SALTER                      GA     90011108433
27527467591828   AMANDA        GARCIA                      OK     90015204675
27527656977534   HOLLY         STOUT                       NV     90001236569
27529289493731   RONDA         WILLIAMS                    OH     64561822894
27531753791241   TIMIKA        GOLDSMITH                   GA     90015127537
27534984131631   ROBERT        DANIELS                     KS     90004339841
27536753291528   PALOMA        ULLOA                       TX     90005847532
27538628681638   PRINCESS      NUBIAN                      MO     29075066286
27539169651346   ERICA         SISCO                       OH     90008051696
27539612131631   GERGIAN       WEILERT                     KS     22004176121
27541347793767   LEONORAD      SHUMAN                      OH     64515403477
27541752791356   HAMDI         HOJIEV                      KS     90010967527
27543491381648   ANDRES        MARTINEZ                    MO     29064784913
27544278891952   QUESTON       WILDS                       NC     17011252788
27544278981638   JUAN          FRAUSTO                     MO     90004252789
27548388655957   WILLIAM       FREGOSO                     CA     90003393886
27548838241245   DONALD        CLEMENTS                    PA     51077208382
27551685355957   YOLANDA       ORNELAS                     CA     48095806853
27552525181648   GREG          GERING                      MO     29083835251
27553123355957   ROSEANA       ARRIOLA                     CA     90002531233
27553935155921   GUADALUPE     BRITO                       CA     90000499351
27555349691241   ROY           REAGAN                      GA     90014223496
27555475271221   TOM           BRUNKEN                     IA     90014624752
27556477491592   FRED          CAMACHO                     TX     75002754774
27556939231631   SANYALE       HOY                         KS     22080259392
27556969891241   RICHARD       FERYMUTH                    GA     90015179698
27558348993731   AMANDA        TERRELL                     OH     90007083489
27558512685938   DOUGLAS       BOND                        KY     67013025126
27558878391828   ELIZABETH     YARBER                      OK     21029388783
27559185391592   MANUEL        SAAVEDRA                    TX     75000631853
27561162941248   KEVIN         WESTFALL                    PA     90002301629
27561966491528   STEPHANIE     KLITZKA                     TX     75096639664
27562312657157   LUCILA        RUBIO                       VA     81016293126
27562388991828   ALICIA        MEYER                       OK     90013303889
27564281685875   BRIAN         LIVESAY                     CA     90010692816
27565749325142   WILTON        TERRY                       AL     90014837493
27566915991828   KELLY         DON                         OK     90012269159
27569489297121   SANTIAGO      GIL JORDAN                  OR     90013784892
27572124555957   PABLO         FLORES                      CA     90013771245
27572889991356   CHANTEL       YOUNG                       KS     90010228899
27573517493731   CHERRI        KINDRED                     OH     90013345174
27574947731631   OSMAN         ABDENABI                    KS     90013959477
27575412985822   ABEL          GOMEZ                       CA     46039854129
27575482391592   EMMANUEL      DURAN                       TX     90014614823
27578671131453   LEIGH         THOMAS                      MO     27560396711
27579893531631   EDDIE         GIBSON                      KS     22066988935
27581928691356   ANTONIO       ROMERO                      KS     90012209286
27583361691592   MORALES       RAFAEL                      TX     75074493616
27584423885822   JOSE          SANCHEZ                     CA     90014324238
27584757891241   MEGAN         PROCTOR                     GA     14570627578
27585973441245   ANTHONY       ZUCCO                       PA     51066399734
27586223431631   RENEE         MORGAN                      KS     90011322234
27587611285822   MARTIN        BADES                       CA     90000866112
27591848481637   SHARON        MARTIN                      MO     29076118484
27593148291592   ALMA          RODRIGUEZ                   NM     90003111482
27594523791241   ROBERT        BROADIE                     GA     90015155237
27595723891592   ARMANDO       MONTEZ                      TX     90002107238
27595729181638   LATASHA       COOPER                      MO     90011537291
27596451531453   FRANKS        DARNELL                     MO     27535634515
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27598749761997   OLIVIA        RODRIGUEZ                   CA     90010917497
27598826581638   LETESHIA      JONES                       MO     90014318265
27611562354185   MAURICIO      BAEZ DUARTE                 OR     90007675623
27612882541245   MICHAEL       REDMAN                      PA     51016328825
27613662893731   YOLAND        PERSON                      OH     90014836628
27614136791241   SHIRLEY       HOWARD                      GA     90013721367
27614694131631   LEA           SORENSEN                    KS     90012496941
27616224241245   RENEE         STRIBLING                   PA     51054522242
27616958391828   ROBERTO       ROMERO LEYVA                OK     90014969583
27616987191592   ROMIE         MACIAS                      TX     75016229871
27618322291542   LETICIA       RAMIREZ                     TX     75056283222
27621132731631   NUEMI         MENDOZA                     KS     90014521327
27621167491356   SHARON        SMITH                       KS     90012901674
27621497393731   SHARRON       HALL                        OH     90011204973
27622658593731   JAMAAL        HOLMAN                      OH     90011196585
27622672593731   CRIS          MOSS                        OH     90014606725
27624628691356   MARIA         MARQUEZ                     MO     90015096286
27628629891241   DOROTHY       STOKES                      GA     90012196298
27632399985822   GUADALUPE     PEREZ                       CA     90012743999
27632918891592   AGUILAR       JUANA                       TX     90003969188
27634848593731   APRIL         KOPECKY                     OH     90007968485
27635135991525   DEBORAH       ZAMORA                      TX     90001081359
27635599691528   MARIO         RAMOS                       TX     90006275996
27635819791828   DIANA         GAYTAN                      OK     90009628197
27635852977371   ESTHER        ULMAN                       IL     90003878529
27637741931488   DELANCEY      PAYNE                       MO     27571867419
27638134955957   JHOVANY       MARTINEZ                    CA     90013771349
27638583231631   EDGAR         CONTRERAS                   KS     90012845832
27639325691241   FRANKLIN      HENDRIX                     GA     90013653256
27639523555957   CINDY         PINON                       CA     90009775235
27641426391828   CONNIE        WOODS                       OK     90003244263
27641875272467   ANITA         LOJAS                       PA     90010868752
27642579891241   LILIANA       IBANEZ                      GA     90002125798
27642668633644   KAITE         HANSEN                      NC     90014816686
27644132891592   NACHO         ESCANDON                    TX     90003571328
27644842955957   CHANTILLEY    LEWIS                       CA     90009278429
27645892491828   FRANCISO      OSORNO                      OK     21033268924
27648364781661   ROXANNA       PENNINGTON                  MO     29027723647
27648447785822   ANDREW        PRINGLE                     CA     90004424477
27649465691828   THERESA       THORNE                      OK     90009904656
27651227991356   DORA          VERBENA                     KS     90007052279
27652449693731   AMERICA       GARCIA                      OH     90013894496
27653322693731   SHAWN         PAULEY                      OH     90011593226
27657368955957   ALICIA        MADRIGAL                    CA     90006103689
27657688257157   ELIESSER      MURILLO                     VA     90002876882
27658988385938   VICTORIA      PARKER                      KY     90009069883
27659366593731   MARK          WILLIAM                     OH     64555863665
27661893691356   REGGIE        HARRISON                    KS     90008568936
27663584191592   CESAR         GALVAN                      TX     90013295841
27663657291828   DAMESHA       ROSS                        OK     90010886572
27663726691592   NICK          HERNANDEZ                   TX     90013267266
27664178791528   ADAN          SIERRA                      TX     75094241787
27665388191961   JENNIFER      PERRY                       NC     90006363881
27665427355957   CESAR         RAMIREZ                     CA     90014124273
27666144291241   DONETTE       HOUSTON                     GA     90014561442
27666333671943   REBEKAH       OLIVAS                      CO     90010833336
27666395331631   JANELL        SOELL                       KS     22061693953
27666976991592   ERNESTO       ANGUIANO                    TX     75035579769
27667354491356   JOSE          SANTIAGO                    KS     29006693544
27668387291828   DEBORAH       FAULK                       OK     21046433872
27668585951369   MONICA        MCGRAW                      OH     90007455859
27668645731453   CORTEZ        BROWN                       MO     27592486457
27671326961967   STEVEN        HARRIS                      CA     90004843269
27671516181661   WENDY         ANGUIANO                    MO     90000905161
27671755455923   KAREN         MENDOZA                     CA     90009767554
27674174691356   MAURA         GARCIA                      KS     90013861746
27675524231437   MYLES         HERVEY                      MO     90010395242
27679423193731   JASON         DURHAM                      OH     64597654231
27679661641245   VICTORIA      COCHRAN                     PA     51086596616
27681978191592   NORMA         OCHOA                       TX     90008739781
27686987861932   LAUREN        PICKARD                     CA     90011339878
27687855991356   AMIRA         KELLY                       KS     90004968559
27689227885822   CHRISTOPHER   CAMPOS                      CA     90013512278
27689321455957   RICARDO       GUARDAMUZ                   CA     90014753214
27691147954129   GARRETT       RICHARDSON                  OR     90010081479
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27697552381661   PAUL         PROLAGO                      MO     29033485523
27699479491828   VIRIDIANA    GONZALES                     OK     90004264794
27711665391592   MARIA        LUCERO                       TX     75044136653
27712239555957   EVER         GUZMAN                       CA     90013022395
27712333755997   MARIA        ARZATE                       CA     90000583337
27712482655923   JOSE         CAMILO                       CA     90013474826
27713635331631   SOLEDAD      IBARRA                       KS     90013386353
27713716581661   MARY         AKINS                        KS     90001527165
27713747491241   DYONE        YOUMANS                      GA     90014067474
27713866693731   JESSICA      SAUNDERS                     OH     90013728666
27715475791241   ROSHON       JOHNSON                      GA     14575554757
27715491681648   WILLIAM      WILSON                       MO     90001384916
27716814841245   MICHELLE     OSTRANDER                    PA     90010478148
27717984131631   ROBERT       DANIELS                      KS     90004339841
27718677691241   ENRIQUE      FUNES                        GA     90014876776
27722291791592   LYDIA        PINON                        NM     90009952917
27723375391592   CYNTHIA      MONTOYA                      TX     90002463753
27725181691828   MAY          BURNER                       OK     90004861816
27725333347952   KAREE        FULBRIGHT                    AR     24004113333
27726248891241   KENNITH      LADSON                       GA     90014852488
27728627781638   CHRIS        MENTZER                      MO     90013936277
27729593847952   ALICIA       PERRY                        AR     24063785938
27732637355921   MARTHA       RAMIREZ VARGAS               CA     48066356373
27732761855957   PABLO        MEDINA                       CA     90012617618
27732977881638   BRIEN        NEWTON                       MO     29089119778
27733129221688   DAVID        BLEIGH                       OH     90015331292
27734945391241   NJERI        JOSUE                        GA     90000089453
27735459584364   SAD'A        MILLER                       SC     19013184595
27738824781637   ANGELA       JONES                        MO     90005928247
27739275384364   HEATHER      CHINNES                      SC     90002322753
27739776393731   RAYMOND      FROST                        OH     90005907763
27739858781648   TRAVIS       STAPLETON                    MO     29097478587
27739976891356   ROSHUNDA     GARDNER                      KS     90011339768
27741321431453   KANE         DECKER                       MO     90004853214
27741423491241   MICHEAL      MORENO                       GA     90012814234
27741595781661   CLAUDATE     STEWART                      MO     90010735957
27741634981638   VANESSA      BRENSON                      MO     90004706349
27741848185822   CHARLIN      SENIGER                      CA     90013128481
27742463991542   POLANCO      DIANNA                       TX     90012864639
27743113431631   BREANA       CARTER                       KS     90013991134
27743167293731   JAMELLA      FLOYD                        OH     90009821672
27743371391241   JADYN        TAYLOR                       GA     90005543713
27743658791356   WENDY        BULNES                       KS     90013916587
27745826985822   JOAQUIN      CHIQUI TO ARELLANO           CA     46050238269
27746126557157   GERSON       DEPAZ                        VA     81034921265
27746836491241   MARICELA     FARIAS                       GA     90013608364
27746845181638   ROGER        MCCLAIN                      MO     90011538451
27747238431453   MONICA       DOUUBLE                      MO     90005582384
27747532251369   TOYAH        LEWIS                        OH     90008765322
27749781551338   DARRELL J    BOWLING                      OH     90002467815
27751461297128   JOHNSON      JOSHUA                       OR     90009774612
27752259355957   JENNIFER     PLOOY                        CA     90003882593
27753239693731   ELLEN        BRANDENBURG                  OH     90004262396
27755898193731   STEPHEN      MAINARD                      OH     90015148981
27761258541245   DOROTHY      WALLACE                      PA     51094792585
27762217385822   CURIE        NATUKUNDA                    CA     90012962173
27763438393731   CAROL        MOORE                        OH     90013654383
27766142881648   LINNEA       PLOWMEN                      MO     90005061428
27767133691828   RACHEL       HUGHES                       OK     90014391336
27767235781637   NIETA        CLAYTON                      KS     29074332357
27767435377562   JOSE         ZARAGOSA-HERNANDEZ           NV     90011224353
27769685855957   BILL         FLOSSY                       CA     90013906858
27772475693727   HERBERT      KILBURN                      OH     90013064756
27772843291241   BRENDA       RAMOS                        GA     90014778432
27773253293731   KHALIA       GRIFFIN                      OH     90011982532
27774765893731   JWON         PRESTON                      OH     90013647658
27774885891592   SOILA        MARTEL                       TX     75050888858
27775159681661   JAY          IKMAN                        MO     90009341596
27776673791592   RACHEL       ZARATE                       TX     75087596737
27776987693731   JENNIFER     SILVERS                      OH     90014759876
27778454957157   STELVIN      BAIRES                       VA     90002904549
27779117391352   ESSA         JALLOW                       KS     90001201173
27779246191528   STEPHANIE    CORREA                       TX     75017072461
27779337691356   HECTOR       MIRANDA                      KS     90008363376
27782526591828   JAVIER       ESPARZA                      OK     90009205265
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27783192191844   MARANGELY     PEREZ                       OK     90012411921
27785939691528   VICTOR        LEAL                        TX     75010149396
27786178381648   KRISTEEN      JORDAN                      MO     90005551783
27788541991828   JENNIFER      SMITH                       OK     90013905419
27788748491241   CALVIN        WILLIAMS                    GA     90012027484
27788957431453   YAG           GAY                         MO     27570649574
27789483791541   INES          REYES                       TX     90010054837
27791555631433   SANDRA        GRISBY                      MO     90014385556
27791584685938   TYRONDA       MOBERLY                     KY     67048385846
27791859991828   VICTOR        ALVARADO                    OK     90013388599
27792269191592   GLORIA        IBARRA                      TX     75073472691
27794664584364   ROBER         CLEMENTE                    SC     19077406645
27794863861985   OSCAR         DIAZ                        CA     90014688638
27796445981648   CRYSTAL       CASTILLO                    MO     29033254459
27796755331437   LEAH          HOWARD                      MO     90002087553
27799166885822   GARCIA        ALVARO                      CA     46090201668
27812355491592   MARIA E       GAITAN                      TX     90009613554
27814157455957   CATHERINE     MORADO                      CA     90014541574
27814586661999   ELIEL         DIAZ                        CA     46009535866
27814734881638   NERVIN        DEDEAUX                     MO     90014077348
27816157455957   CATHERINE     MORADO                      CA     90014541574
27816669493731   SHATARA       CONNER                      OH     90014616694
27821798191589   FRANCISCO     CHAVIRA                     TX     90003907981
27822383381638   SOSA          ENTERPRISES                 MO     90002373833
27824982955977   CHRISTOPHER   MARSHALL                    CA     90004159829
27825315991241   ANTHONY       CUTTER                      GA     90015443159
27826117291833   MARY          COOK                        OK     90002711172
27826974185639   MARCOS        ARAGON                      NJ     90010019741
27827363881661   JASON         RODRIGUEZ                   MO     90011763638
27828214491356   ERICA         TYSON                       KS     90014172144
27828814785938   ROBERTA       WALKER                      KY     67088758147
27829292193731   KATIE         JONES                       OH     64514472921
27833159685822   ROSANNA       ZOLAYVAR                    CA     90012291596
27833894291356   AYDEE         PADILLA                     KS     90014478942
27837439291592   DIAMOND       ROJAS                       TX     90014464392
27837588771221   ADRIOUN       LARA                        IA     90014665887
27837744881638   BRENDA        OROZCO                      MO     90009267448
27837775881648   ROSELYNN      KUNTZ                       MO     90003437758
27841741455957   ELVIRA        TYLER                       CA     90009777414
27842375391356   ERIKA         FLORES                      KS     90012253753
27842543881638   SHANNON       STUVILLE                    MO     90011295438
27844985981637   SAMUEL        VARGAS JR.                  MO     29024659859
27845183385822   ALFONSO       VALDEZ                      CA     90012631833
27845332885822   RANDALL       HOWARD                      CA     90011503328
27846142881648   TAMMY         MARTENS                     MO     90009571428
27846734391828   TERRELL       WASHINGTON                  OK     90008727343
27847116181637   SHARON        OSAQIE                      MO     29020761161
27847561991828   KISHA         TATE                        OK     90014845619
27847998891592   ANTONIO       DOMINGUEZ                   TX     75068009988
27848483291356   CESAR         GARZON                      KS     90010374832
27848564585822   JERRELL       YOUNG                       CA     46085045645
27848664671923   DANIEL        DAVIDSON                    CO     90005226646
27851581191592   ALMA          MERAZ                       TX     90009295811
27853694891592   JUAN          RODRIGUEZ                   TX     90011526948
27854872631631   MAYA          MITCHELL                    KS     90010478726
27855218455957   SAUL          RUIZ                        CA     90013862184
27856134357157   CRYSTAL       BOLER                       VA     90004911343
27857265993731   TERRI         ASHMAN                      OH     64563922659
27863393691592   ISELA         GUZMAN                      NM     90013773936
27863845755957   ADELA         JACUINDE                    CA     90012588457
27864656955957   ANA           GARCIA                      CA     90004896569
27864721755921   FELIPE        VAZQUEZ                     CA     90002397217
27864913891927   MIGUEL        BALDERAS                    NC     90005099138
27865168791592   ALLEN         KIHARI                      TX     90014811687
27865479557157   ULISES        CRUZ                        VA     81016774795
27866822891828   KIMBERLY      WILLIAMS                    OK     90005788228
27868286693731   CRASE         DRILLON                     OH     90005832866
27869859791356   JESSICA       ROBERTS                     KS     90015138597
27871459291356   CATHERINE     AUDAS                       KS     90012154592
27872339791525   FERNANDO      BERNAL                      TX     90004413397
27872935784364   JOSE LUIS     HERNADEZ                    SC     19000209357
27873341891356   RICARDO       HERON                       KS     90009233418
27873592931453   JOHN          COURTNEY                    MO     27576755929
27873776885822   PAUL          HARBISON                    CA     90014877768
27875249891828   SHELEQUA      CALDWELL                    OK     90014812498
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27876175655957   ARTHUR        GONZALEZ                    CA     90012651756
27876459691241   ZAMBIA        GEIGER                      GA     90012834596
27876583731453   JEANETTE      WILLIAMS                    MO     27574745837
27876613131433   LUCRETIA      DOUGLAS                     MO     27510306131
27877847981661   MANUEL        ESPITIA                     MO     90009808479
27878681591592   CARLOS        GURROLA                     TX     75095416815
27879631291241   HUGO          PEREIRA                     GA     90013256312
27882413193731   TAMESHA       VAUGHN                      OH     64598054131
27883393861977   EFRAIN        PADILLA                     CA     46016533938
27885375331488   DOROTHY       DAVIS                       MO     90009303753
27886859191356   LILLIAN       JONES                       KS     29037208591
27887278585822   ERIK          DOMINGUEZ                   CA     90012332785
27887995593731   JESSICA       MYERS                       OH     64598569955
27888136791241   SHIRLEY       HOWARD                      GA     90013721367
27888252757121   MOHAMMAD      ANSAR                       VA     90003912527
27888795191592   GERARDO       MUNIZ                       TX     90000877951
27889867431453   CYNETRIA      WALKER                      MO     90001438674
27893472131631   GLADYS        MURRAY                      KS     90003934721
27893664891828   ADONIAS       LOPEZ                       OK     90012226648
27894172991592   GILBERT       ATILANO                     TX     90001771729
27899138491356   REMEISHA      BLAKNEY                     KS     90015311384
27912525191241   JEANETTE      BULLOCK                     GA     90012215251
27913472131631   GLADYS        MURRAY                      KS     90003934721
27913649691828   HECTOR        HERNANDES                   OK     90012106496
27914227291592   BRENDA        SALAZAR                     TX     90008542272
27914685793731   EDGAR         QUEVEDO                     OH     64559136857
27915368391828   ANTHONY       HUMPHRIES                   OK     90013253683
27915881555957   KATY          AMEZCUA                     CA     90007328815
27916658981661   CRYSTAL       PALMERIN                    MO     90010736589
27917322555957   PAUL          PERRY                       CA     90003923225
27918458131631   HARRINGTON    CHARMEY                     KS     22075874581
27918877855957   MICHELLE      HERNANDEZ                   CA     90013008778
27922465191828   ROSHAWN       DALEY                       OK     21068894651
27922531991828   DESMAN PAUL   HICKS                       OK     90014835319
27927328591592   MARIA         MURILLO                     TX     90010333285
27927861785938   CELESTINO     PIEDRA                      KY     67057098617
27928421955957   RYAN          GREEN                       CA     90013084219
27928466681638   CHRIS         TURNER                      MO     90004884666
27928786791241   NICOLE        MACDANIELS                  GA     90013837867
27929561591356   MONICA        SANDOVAL                    KS     90013445615
27931553955957   DAVID         STEPP                       CA     90012155539
27932111557129   JUAN          SERNA                       VA     90006871115
27932268691356   IDELISA       SOLIS                       KS     90009562686
27932652781648   ASHLEY        LUNN                        MO     29097076527
27934478791592   DIANA         ROQUE                       TX     90011314787
27935483891528   CUITLAHUAC    HERNANDEZ                   TX     75017164838
27935899991592   LAURA         RODRIGUEZ                   TX     90003178999
27936541531631   DARYEL        NELOMS                      KS     90009735415
27937865591241   EMBER         HUNTER                      GA     90012988655
27938348581648   MARIA         ERLINDA                     MO     90006083485
27938716941245   JOYCE         FAYNOR                      PA     51096797169
27942433885822   NICHOLAS      PRATT                       CA     90012644338
27942623381661   TERENCE       ROSS                        MO     29068616233
27942674193731   WILLIAM       SMITH                       OH     90010386741
27943135855957   HEATHER       MANAION                     CA     90011581358
27943792391592   SALVADOR      MUNETON BANUELOS            TX     75010997923
27944163591356   JAQUELINE     SOLIS                       KS     90015311635
27945149441245   CHRISTOPHER   DONATO                      PA     90004211494
27945362191241   VALARIE       EDWARDS                     GA     90015123621
27945612731631   MARVIN        HICKS                       KS     90013206127
27947889391241   VICKIE        JOHNSON                     GA     90013588893
27949234391592   LORENA        MARTINEZ                    TX     75013842343
27949244155957   MIGUEL        MACHO                       CA     90014482441
27951419185822   RONAL         MONTOYA                     CA     90008934191
27951861791828   LAURIE        FISHER                      OK     90014338617
27954459193731   LAMARR        BYRD                        OH     64596474591
27954692331433   BRENT         M                           MO     90010886923
27956196431631   LATONJA       SHUGART                     KS     22007471964
27958589681638   TYLER         BOOTH                       MO     90015235896
27959239591828   DEBORAH       LEDBETTER                   OK     90012412395
27962198377534   GRISELDA      GOMEZ                       NV     90013121983
27963971191828   JACINDA       OAKLEY                      OK     90010999711
27966285781648   DANIEL        HEFTER                      MO     90009822857
27968742131631   JESSIE        PAYNE                       KS     22015407421
27969196131433   CHUCK         SNYDER                      MO     27593311961
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27969558791356   KILEY         MILES                       KS     90012475587
27971794291828   MARIA         MALDONALDO                  OK     21079717942
27971842355957   MARGARITA     MORENO                      CA     90014878423
27971849731631   JESUS         HERNANDEZ                   KS     90013288497
27974665731466   LILLIANOUS    SAMPLE                      MO     90004776657
27976289661986   IRANIA        VEGA                        CA     90007082896
27978146491828   MICHAEL       LUNSFORD                    OK     90007671464
27978845181638   ROGER         MCCLAIN                     MO     90011538451
27983938391356   CYNTHIA       BROWN                       KS     90008739383
27987162685822   ANDREW        ENYOGHWERHO                 CA     90007841626
27987973493731   BRENT         MCCLELLAN                   OH     90013379734
27991893347952   ANDRES        GONZALEZ                    AR     24009588933
27992779591241   DEVONTE       HODGES                      GA     90015307795
27995152731433   DAVID         ROBINSON                    MO     90010071527
27995913591828   ORLANDO       GONZALEZ                    OK     90008619135
27997867857157   HRANT         TASHDJIAN                   VA     81016908678
27997959691241   DUKE          MITCHELL                    GA     90013999596
27998681231453   ENRICO        HALL                        KY     27515816812
27998724141245   RICHARD       MCCAW                       PA     51006057241
28113471791828   TOSHA         COWANS                      OK     90013634717
28113585931453   KIMBERLI      HOLTS                       MO     90014665859
28113636281633   ANGELA        PALMER                      MO     90012666362
28115213785949   TERRY         SMALLWOOD                   KY     90009702137
28117364391833   CALAB         DENTON                      OK     90012433643
28117657691928   JOSHUA        SPENCER                     NC     90013046576
28118421731631   ALEJANDRO     RUEDA                       KS     22006894217
28118452591356   ALESHIA       AMMONS                      KS     90014734525
28118654357157   JOSEPH        KERR                        VA     90014586543
28121599851328   DANIEL        SANTOS                      OH     90014315998
28121765157157   KEVIN M       HENDERSON                   VA     81047347651
28124435581633   NYJEE         RICHMOND                    KS     90009454355
28124911391828   MICHELLE      WALKER                      OK     90010299113
28127311891547   CRISTOPHER    CADENA                      TX     90010753118
28127316561996   MARIA         SANDOVAL                    CA     90011633165
28127459491828   TRAVIS        BALL                        OK     90013094594
28129711781638   RONALD        WASHINGTON                  MO     90003997117
28131534857157   CHRISTOPHER   BROWNE                      VA     90002865348
28131787581633   TIM           MCCLENTO                    MO     90014647875
28132673791356   MARIA         VELASCO-GARCIA              KS     90010636737
28132752791828   DONNA         BASHAM                      OK     90013167527
28132836491547   MIKE          SANCHEZ                     TX     90014848364
28133355391241   CHERYL        PRY                         GA     90014743553
28134622257157   NILA          CARDOZO                     VA     81030656222
28135856681638   MISTY         ESPANA                      MO     29016608566
28135912491528   ELVIRA        OCHOA                       TX     75089769124
28136741381633   SHANEQUEA     ROTHSCHILD                  MO     90013717413
28143993891833   RANDALL       BRIXIE                      OK     90011919938
28145311391356   DONNA         LOUISE WRIGHT               MO     29039443113
28148577957157   MILENA        GUARDADO                    VA     90009615779
28149165791241   CARRIE        MILLER                      GA     90014801657
28149186857157   JOEL          GONZALEZ                    VA     90001341868
28149358172481   JAMIE         CAHILL                      PA     51047833581
28149382192864   ESTELA        CARRENO                     AZ     90014243821
28149433491241   EUGENE        WRIGHT                      GA     90014744334
28151185951328   JENNY         ERTEL                       OH     90013281859
28151716291356   STANFORD      BAILEY                      KS     29077097162
28153652157157   DAVID         NICHOLS                     VA     90013426521
28157795491828   MICHAEL       SINGLETON                   OK     21064487954
28157861891547   VICTOR        VASQUEZ                     TX     90013918618
28158987691592   DANIEL        BARRAGAN                    TX     90015319876
28159555791241   JASMINE       ECHOLS                      GA     90014745557
28161329636149   GARY          GNUSCHKE                    TX     90003163296
28161941991592   JAMES         MARQUEZ                     TX     90006519419
28163526791592   RAUL          YANEZ                       TX     90013375267
28165129551328   DEAN          OSGOOD                      OH     90002631295
28165411591592   JIMMIE        JONES                       TX     90001094115
28167512651361   CANDICE       BLAIR                       OH     90011095126
28169447191241   STEVEN        MUNN                        GA     90004574471
28171161191356   GWEN          MCKOY                       KS     90009871611
28171233691833   DANICA        CAMPOS                      OK     21097802336
28171721251328   ANTONIO       RODRIGUEZ                   OH     90013327212
28171894381637   DEREK         YATES                       MO     90006228943
28176138957143   CINDY         GALO                        VA     90013931389
28177538181633   CRYSTAL       PENNY                       MO     90014425381
28178856991833   RUSTEE        MONDAY                      OK     21015688569
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28179434591547   ANDREA         CHAPARRO                   TX     90009344345
28179612591241   ROSALYN        WILSON                     GA     90014746125
28181275291949   NICOSIA        MERKERSON                  NC     90011412752
28182612591241   ROSALYN        WILSON                     GA     90014746125
28182928491592   DOLORES        OCHOA                      TX     90005169284
28185133885991   MERRY          ELLIOTT                    KY     90006491338
28186133885991   MERRY          ELLIOTT                    KY     90006491338
28186445391547   PABLO          AVALOS                     TX     75086444453
28187133885991   MERRY          ELLIOTT                    KY     90006491338
28187231591241   WLINI          PRYCE                      GA     14530482315
28188443591241   KIMBERLY       SMITH                      GA     90002274435
28191189291356   VICKI          JACKSON                    KS     29018651892
28191766491547   PEDRO          CARRASCO                   TX     90010797664
28193426291241   LATOYIA        HUMPHRIES                  GA     90011564262
28194156491833   CHRIS          BOND                       OK     90012461564
28194452181633   ROBERT         HATCH                      MO     90015214521
28194537771933   JESUS R        RODRIGUEZ                  CO     32003415377
28195326781637   CARLOS         PONCE                      MO     29091843267
28195465951328   PHIL           DAVIS                      OH     66086884659
28197567491241   JENNIFER       WHITE                      GA     90005875674
28199217491241   PAYGO          IVR ACTIVATION             GA     90011992174
28199991781638   LAKINNA        GILL                       MO     29040609917
28211463961997   JORGE          GONZALEZ                   CA     90003384639
28211499191833   SHAWN          TAYLOR                     OK     21016244991
28211877257157   KATY           MARTINEZ                   VA     90014108772
28213187781633   KYSTINA        COWAN                      MO     90014711877
28214664591592   RUBEN          REYES                      TX     90007276645
28217324877523   ANGELA         RODNEY                     NV     90003813248
28217964451328   ALEX           HERNANDEZ                  KY     66017499644
28222528131433   DERRICK        MINION                     MO     27593975281
28223673791356   MARIA          VELASCO-GARCIA             KS     90010636737
28224466651328   MATHEW         WRIGHT                     OH     90014684666
28224597291547   HECTOR         RODELA                     TX     75089095972
28225666291833   KRISTIN        SANCHEZ                    OK     90011306662
28226193155935   MARCO          GARCIA                     CA     49009101931
28227752591356   OMAR           CONTREGAS                  KS     90014527525
28227848751351   TEDDY          BOOP                       OH     90010708487
28228671491356   EFRAIN         LANDAVERDE                 KS     29056856714
28231119691241   RUBEN          MORENO                     GA     90015041196
28233121272481   ROBERT         JOSEPH                     PA     51048281212
28235238457157   GERMAN         CRUZ                       VA     90002542384
28236223881633   JOSE           SOTO                       MO     90013932238
28236627651328   OTHANIEL       PLATA                      OH     66057156276
28239138591241   SANDRA         EARLY                      GA     90001611385
28241235251328   DAVID          LYNCH                      OH     90005182352
28241555981633   TIFFANY        GREEN                      MO     90014035559
28241993972481   MATT           MCKENDRY                   PA     90006329939
28242257385941   CRAIG          WOLTERING                  KY     90012502573
28242987691592   DANIEL         BARRAGAN                   TX     90015319876
28243257385941   CRAIG          WOLTERING                  KY     90012502573
28243469284382   LUIS ANTONIO   LOPEZ                      SC     90003894692
28243584661939   ABBEY          GONZALEZ                   CA     46060265846
28243911491241   LYNDA          KING                       GA     90014789114
28244252651328   AMANDA         COWGUILL                   OH     90013422526
28244849791241   DEMETRIA       WASHINGTON                 GA     90010168497
28245111131453   JENNIFER       WHITE                      MO     90014671111
28245438591547   LUIS           CASTRO                     TX     90001774385
28246161481638   DORTHY         HARRIS                     MO     29094641614
28246319191592   AMELIA         RANGEL                     TX     90011873191
28247253391592   ROSA ELVA      MALDONADO                  TX     90010582533
28247859331631   KAREN          WOODSON                    KS     22024468593
28251546251328   DANIEL         THOMPSON                   OH     66000715462
28254466725144   LEKEITTA       CARTER                     AL     90014564667
28254691991356   ROSA           RICO                       KS     90014256919
28254787151328   NICHOLAS       SAMS                       OH     66008697871
28255329391241   ANNETTE        WILLIAMS                   GA     90014783293
28256851291547   JESUS          GOMEZ                      TX     90014958512
28259899491833   MARQUIS        MAYHEW                     OK     21017788994
28259916585998   KRISTEN        MERMAN                     KY     90007719165
28261913561987   ESMERALDA      RUELAS                     CA     90010989135
28262435591592   RICARDO        SALAZAR                    TX     75096144355
28263267991828   PAUL           JENNINGS                   OK     90007502679
28263331891356   AMBER          GERMAIN                    KS     90013783318
28263532451328   TONYA          MENDOZA                    OH     90011815324
28264538651328   JOAN           MENDOZA                    OH     90011815386
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28264569491828   MICHAEL      WEISE                        OK     21083375694
28267394291241   MICHAEL      COAXUM                       GA     14594853942
28268193491844   BRYTNE       DOWNING                      OK     90010701934
28268756791592   LUIS         SAUCEDO                      TX     90008757567
28273413657157   SAMUEL       RIVERA                       VA     81021094136
28276961157157   RAFAEL       VALENCIA                     VA     90009299611
28278355181633   DAT          NIGGA                        KS     29018453551
28278771791547   AMANDA       MARTINEZ                     TX     75080607717
28279294985965   GARY         VEST                         KY     66055792949
28281856191547   JOANNE       MOLINA                       TX     90003648561
28283395191356   TAMIKA       JONES                        KS     29090173951
28284792255931   STEPHANIE    LOPEZ                        CA     90012137922
28287171791241   KIMBERLY     WHITE                        GA     90015041717
28287367751328   ANNA         DRAKE                        OH     90014853677
28289889491356   BLAKE        JONES                        KS     29063478894
28289899851328   MAURICE      COKES                        OH     90013588998
28293927691547   KARINA       GUDINA                       TX     75001429276
28294455391592   JESSIE       INFANTE                      TX     90014504553
28294598593722   JOHN         POLAVICS                     OH     90007325985
28295744957128   MIRNA        BAUTISTA                     VA     90014107449
28297142691241   SABLE        BURTON                       GA     90014791426
28298528691241   TIFFANY      BECTON                       GA     90008575286
28311588291356   LINDSEY      HAYDEN                       KS     29005905882
28312444857157   GRISELDA     AREVALO                      VA     90015024448
28312734781638   SHAMEAL      TRICE                        MO     29017047347
28313281231453   C            MARTIN                       MO     27560702812
28313738851328   COURTNEY     WYNN                         OH     90014687388
28316928491828   KIM          EGLESTON                     OK     90005139284
28316933781633   KEITH        THOMPSON                     MO     29046399337
28317332541245   BRANDON      GIBSON                       PA     90007043325
28318465631453   MIKE         CLAYTON                      MO     90010964656
28321999731453   ALEXIA       BARNES                       MO     27515439997
28322782861994   CHRIS        MAZIAS                       CA     90010067828
28323889291528   LE TINIA     BEDELL                       TX     75094918892
28325183931453   RON          LAMONT                       MO     27500321839
28325984631631   ASA          SNITCHLER                    KS     22058419846
28326984591356   MYRKA        GONZALEZ                     KS     29003079845
28327419691241   NIKKI        BARRS                        GA     90014794196
28327444157157   MICHAEL      JONES                        VA     90008864441
28327446491828   AMANDA S     RUMFELT                      OK     90012634464
28332323191592   TIMOTHY      CHARBONNEAU                  TX     90011463231
28333346757157   ELWIN        MEJIA                        VA     81017133467
28333651891525   AIDA         PARDO                        TX     90010556518
28337462991241   VERONICA     BROWN                        GA     90011504629
28337494957157   CARLA        RUPKER                       VA     90011244949
28338318681633   ASHLEY       GILLILAND                    MO     90009713186
28342594891592   JAZMIN       CHAVEZ                       TX     90014655948
28343944231631   IRVING       LANGILLLE                    KS     90000439442
28344825757157   ALBA         CEDILLO                      VA     81049038257
28345357731453   BRANDY       CLEMONS                      MO     90014673577
28346249391547   CARMEN       DELGADO                      TX     90009022493
28346529241245   DAWN         ROYSTER                      PA     90012015292
28349453781638   NAMOEE       WALKER                       MO     29052044537
28349784491592   JULIO        RAMOS                        TX     90012787844
28349911591547   MERCEDES     CASTORENA                    TX     75074659115
28351534491833   TOMASA       CARREL                       OK     90012055344
28351682357157   XAVIER       BATES                        VA     90014606823
28352476391592   ALICIA       DE LOS SANTOS                TX     75009574763
28352596436165   MARISOL      GOMEZ                        TX     90012475964
28354272591241   BERTENNIE    PATERSON                     GA     90014802725
28354967591592   ISAAC        ACOSTA                       TX     75012729675
28355339757157   JORGE        MOLINA-SANCHEZ               VA     90010243397
28355878981633   TIMOTHY      BUSH                         MO     90013938789
28356272591241   BERTENNIE    PATERSON                     GA     90014802725
28356952691828   JANET        SCROGGINS                    OK     90010669526
28357166391528   ROBERTO      QUINONES                     TX     75039751663
28357617791592   DIEGO        JIMENEZ                      TX     90011306177
28358235631433   KATIE        NARROW                       MO     90004612356
28358561281637   KENNETH      KIPPER                       MO     29089585612
28359732591547   SANDY        CASTILLO                     TX     90011177325
28359785191592   CARLOS       MORALES                      TX     90014547851
28361377891356   CARLOS       MEJIA                        KS     90001003778
28361641831453   ANTONIA      GOTOW                        MO     90013026418
28362317691592   BERTHA       MUNOZ                        NM     90007483176
28363424631453   JASMINE      MARIE KING                   MO     90001144246
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28364154391828   CLAUDIA             DOHN                  OK     21015691543
28364324951328   RACHEL              NORTHERN              OH     90009673249
28365237431631   KENNETH             NELSON                KS     22018092374
28366691672481   MARGO               HART                  PA     51057326916
28366783657157   IMPERIL             VAN                   VA     90013187836
28367578391528   VINCENT             RUIZ                  TX     90005735783
28368575491356   ALONSO              FUENTES               KS     90005125754
28377927851328   CAMERON             HERRINGTON            OH     90014839278
28379297131433   LEROY               MILLER                MO     90004612971
28379374891828   MICHELLE            HOLBERT               OK     90012783748
28379587391528   JANINE              JUAREZ                TX     90005735873
28379948391833   CHRISTINA           SANTOS                OK     90014729483
28382323291356   JOSH                BALDUCCI              KS     90011423232
28382873461932   EVY                 ABURTO                CA     46095558734
28383154691828   STEVEN              RATHBUN               OK     90014961546
28383384291592   ROBERTO             CICERO                TX     90013013842
28384945751328   KASEE               HERRINGTON            OH     90014839457
28385221131433   WINNIE              THOMAS                MO     90004982211
28388123891547   CHRISTOPHER         WILLIAMS              TX     90007621238
28388234697128   JONATHAN AND MOON   OWENS-YODTHAISONG     OR     90009912346
28388731941245   ADAM                BUCKS                 PA     51030017319
28391568391828   NICOLE              JOHNSON               OK     21029965683
28391589391528   LEONOR              AGUIRRE               TX     90005735893
28392577157157   OSCAR               ARIAS                 VA     90009135771
28393917691833   LAUREN              TERRELL-GREEN         OK     90006689176
28393986651328   MARKAYLA            NARED                 OH     90000839866
28394166757157   MONICA              GRAHAM                VA     81049631667
28395283285991   CLAUDIA             CRUZ                  KY     90006622832
28395323991828   ANN                 MILLER                OK     90004903239
28395476991828   TAWANIA             LUMPKIN               OK     90013634769
28411517591828   JILLIAN             WARREN                OK     90004085175
28413369491547   JENNA               MARTIN                TX     90012403694
28414698691356   MARISOL             ALEJO                 KS     90011206986
28416768643523   JACLYN              JONES                 UT     90014727686
28417626685965   ANGELA              BROSSART              KY     66039296266
28422376591547   MARIA               GODINEZ               TX     75033833765
28422928491828   KIM                 EGLESTON              OK     90005139284
28423718331631   ALISON              HOFFMAN               KS     90001867183
28424178193724   JOHN                GARBER                OH     90006851781
28429714931433   ALYSSA              WESLEY                MO     90010577149
28431964991828   JESUS               MENDEZ                OK     90010669649
28433266991592   SERGIO              RUBIO                 TX     90010832669
28434666391833   MIKE                RICHARDSON            OK     90015446663
28437424491828   PATRICIA            WHITE                 OK     21009184244
28437495772481   JOHN                SWIFT                 PA     90006334957
28438469957157   GERMAIN             GRANADOS GOMEZ        VA     81049484699
28441138581633   TYRONE              BLAED                 MO     90013771385
28442988557157   DONNE               DAVIS                 VA     90009399885
28444417857157   CLAIRE              FLOWERS               VA     90010414178
28444781191592   SERGIO              CORDERO               TX     75065467811
28445144491592   GREGORY             HOLLINGER             TX     90009811444
28447333991833   KIRSTEN             LEE                   OK     90011513339
28447489991547   MARIO               HERNANDEZ             TX     75009214899
28449487857157   EMMANUEL            BASOAH                VA     90002894878
28453318933679   CARLTON             BURSLEM               NC     90006163189
28454189291547   GLORIA              DURAN                 TX     90014771892
28454688291241   JESSE               GAY                   GA     90015046882
28454898691547   SILVIA              FIERRO                TX     75030488986
28455153777541   GRACE               NDOLO                 NV     90012031537
28456764291528   JUAN                RIVERA                TX     90003297642
28458417291528   SYLVIA              OLIVAS                TX     90001634172
28458512657138   RISTU               LAKEW                 VA     90000175126
28458538461995   ALEJANDRO           ROJAS                 CA     90007715384
28459366557157   YOLANDA             JOSEPH                VA     90011243665
28461324591889   CHARITY             TIMOTHY               OK     90006083245
28461948191592   ALMA                GONZALEZ              TX     75013269481
28462147985868   PETER               LEVEN                 CA     46075301479
28462157891592   VALERIE             SOTO                  TX     90004751578
28464724357157   NATALIE             DANIELS               VA     90012907243
28465161941245   ERIN                KERTING               PA     90013751619
28465241391833   STACY               WILSON                OK     90013082413
28465282231453   LATHERIAL           PHILLIPS              MO     90011022822
28466748891592   TATIANA             ESTRADA               TX     90014837488
28467272561932   ANGELA              RUIZ                  CA     90002282725
28467973191592   MIGUEL              MUNIZ                 TX     90003269731
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28468185251328   CATHY        MARSHALL                     OH     66009971852
28468211791547   YOLANDA      CORRAL                       TX     90001532117
28471111557157   CLAUDIA      ORTIZ                        VA     90014711115
28472164672432   SAMANTHA     TEETS                        PA     90015011646
28472684291828   DAN          HARTMAN                      OK     90003456842
28473711657157   DEE          PARROTT                      VA     90012067116
28474317591356   JEREMY       JOHNSON                      KS     90011403175
28474674781638   HALEY        NORMAN                       MO     29017976747
28475251361935   OMAR         CEJA                         CA     90011682513
28475616977534   JOEL         RAMIREZ                      NV     90004336169
28475889157157   KANIRAN      MIRZA                        VA     90014548891
28476199691589   MYRA         CARRILLO                     TX     90009181996
28479982777534   ILODIA       BETTINGER                    NV     90008219827
28481258591327   BECKY        ETNIER                       IA     90014162585
28481858891833   MICHAEL      THOMPSON                     OK     90014758588
28482374291833   SHAUNTE      WILLIAMS                     OK     90013223742
28486395793724   ROB          JOHNES                       OH     90009263957
28486744831433   CHASSIDY     HOWARD                       MO     90008357448
28487139191547   MELANIE      RAMIREZ                      TX     75071481391
28487472231453   JESSICA      MASSEY                       MO     90014914722
28488884472481   MELISSA      LOGAN                        PA     90009818844
28489325891547   RAUL         CISNEROS                     TX     75002153258
28492229157157   JAMES        HARRIS                       VA     81095802291
28492576222454   JAMES        MULLEN                       IL     90013915762
28492771191356   PATRICIA     CASTRO                       KS     90014157711
28495145291823   CAROLYN      WILSON                       OK     90008891452
28495392481633   ANDREA       HARRIS                       MO     90008883924
28496296581633   AS           BARUTI                       MO     90013872965
28497541791828   SUSAN        LASSITER                     OK     90012015417
28497884831453   SAMANTHA     ESTES                        MO     90014698848
28498926431453   SOEUM        NAY                          MO     90014699264
28499276457157   NICANOR      ESPINOZA                     VA     90010442764
28499832291833   MARKISHA     MILLER                       OK     90008698322
28511115791833   ANDRA        BRESHEARS                    OK     90010121157
28513474351351   ANGEL        MATIAS                       OH     90013204743
28513565572481   JASON        PRUTZ                        PA     90006495655
28513777792864   KATHY        DOMINGEZ                     AZ     90014517777
28514172191547   NATALIA      DURAN                        TX     90014131721
28514639631453   CORY         DANSLER                      MO     90009766396
28514877291528   NORMA        MENDEZ                       TX     75031278772
28521744657157   FRANCINE     COX                          VA     90013117446
28522951781633   TONISHA      COUSER                       KS     90012099517
28523727891833   JOEL         MONTIEL                      OK     90015217278
28523894561925   LILIAN       GONZALEZ                     CA     90009698945
28523978891592   CUAUHTEMOC   COSSIO                       TX     90012169788
28524124191828   OTIS         MOSELEY                      OK     90012461241
28524275191547   MARIA        PERALTA                      TX     75057942751
28524582157157   GARY         SHERROD                      VA     90010485821
28524768491592   CYNTHIA      LOPEZ                        TX     90000367684
28525815191356   DAWN         GINGRICH                     KS     29015398151
28527618791592   OLIVIA       KENT                         TX     75001296187
28531969157157   YOJANA       COLTEZ                       VA     81053359691
28533894561925   LILIAN       GONZALEZ                     CA     90009698945
28534453991592   PASCUALA     MARTINEZ                     TX     75074324539
28535139161939   LORI L       HOWELL                       CA     90002141391
28535491157157   SAMANTHA     ROBERTSON                    VA     81053364911
28537687181637   LASHONDA     MAGIC                        MO     29034936871
28541891391547   STREAMS      DATA                         TX     75023078913
28542921457157   MARGARITA    MELENDEZ                     VA     81055929214
28542993391828   KIMBERLY     ROBERTS                      OK     90015129933
28543436172432   JOSEPH       PITTS                        PA     90007684361
28543862231433   DEMETRIUS    CLARK                        MO     90005628622
28544241691356   ALMA         ORNATES                      MO     90014692416
28545192591592   ERIC         MARTINEZ                     TX     75090291925
28545233831453   TASHONNA     GROSS                        MO     90011282338
28545881791356   CHRISTIE     CLOINCH                      KS     90009298817
28546778661982   ANA          ARMS                         CA     46040537786
28547688391828   RONALD       DUKE                         OK     21023106883
28548155957157   DAWIT        TEKOLA                       VA     90011251559
28548389591828   JOSE         REBOLLAR                     OK     90008643895
28548575131439   TENESE       JEFFRIES                     MO     90000355751
28554644691833   TODD         SHORT                        OK     90010226446
28554742891547   ASIA         FLORES                       TX     90014837428
28557415755936   CARMEN       MADERA                       CA     90011804157
28557613291356   DARRYL       JOHNSON                      KS     90010146132
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28558942991356   ELVIA        BRIZUELA                     MO     29024849429
28559233831453   TASHONNA     GROSS                        MO     90011282338
28563131825142   BERNITA      SPENCER                      AL     90014161318
28563229131453   EUGENE       CUFF                         MO     27549592291
28563872491547   JOE          LOPEZ                        TX     75090058724
28565935991833   AMBER        AGNEW                        OK     90014129359
28566957791592   ANDREA       MUNOZ                        TX     90010889577
28569957791547   MANUEL       GARCIA                       TX     75063219577
28573315257157   CHARLENE     BRYANT                       VA     90014663152
28573795131453   SHAMIRA      RICE                         MO     90014707951
28576577491356   ELOISA       VENANCIO                     KS     90007115774
28577982757157   SHAWNTE      PORTER                       VA     81008349827
28578862431453   KELLY        SIMMONS                      MO     27508318624
28582178891828   DAVE         BICKLE                       OK     21095701788
28582554291528   MERARY       CARBAJAL                     TX     90009875542
28583224441245   AARON        BURR                         PA     90004782244
28584224981637   JORGE        MORENO                       KS     29009072249
28585199785998   CHRISTINA    BELEW                        KY     90007101997
28585522457157   FELICIA      WILSON                       VA     90005485224
28586372291547   YAMEL        VAZQUEZ                      TX     90015213722
28586775481633   OLBEN        MARTINEZ                     MO     90009957754
28586842731453   SHANTRICE    LITTLE                       MO     90014708427
28586912333639   YVONNE       RAY                          NC     12075089123
28587387191828   TRACY        PORTER                       OK     21004023871
28589514291547   HUGO         HERNANDEZ                    TX     75051205142
28589797191356   BLANCA       PASTRANA                     KS     90008007971
28592316891592   FLORENTINA   AGUILAR                      TX     90010983168
28593458551326   DENISE       WEMKEN                       OH     90006494585
28594788491592   ANA          GUTIERREZ                    TX     90004537884
28595412491547   JAVIER       MACIAS                       TX     75002194124
28595767241245   TAMMY        CARROLL                      PA     51002207672
28596141991833   MIKE         AGNEW                        OK     90014581419
28597525991833   LISA         SQUIRE                       OK     90010815259
28611859781633   CALEB        COSSAIRT                     MO     90010628597
28613653885965   KENNETH      MARDIS                       KY     66075256538
28613982391547   SAMUEL       TREJO                        TX     75092679823
28614436131453   CHRISTOPHE   RAYBURN                      MO     27557994361
28614853591547   SUSANA       CEPEDA                       TX     90014898535
28615293681638   KISHA        ROBINSON                     MO     29018522936
28616858191356   NIKKI        ROWE                         MO     90015058581
28617154431453   JAMES        FOXWORTH                     MO     27595681544
28617548257157   HAPPY        TIMO                         VA     81053575482
28617894993724   ANTHONY      HOLLEY                       OH     90012348949
28618392691547   CHRISTIAN    CADY                         TX     90009163926
28618514157157   PEDRO        BONILLA                      VA     81083805141
28621986491833   SHAWNA       DACYCZYN                     OK     90008669864
28623181891833   ELIZABETH    TATE                         OK     90012381818
28623876331453   NATE         HILL                         MO     90014708763
28624489591356   DEONDRA      JONES                        KS     90014914895
28624783391592   GLORIA       DOMINGUEZ                    TX     90014087833
28624897731453   TAMIKA       TURNBOW                      MO     90014708977
28627182931453   MICHAEL      HEUSCHOBER                   MO     90001491829
28627568791528   ANGELA       NUNEZ                        TX     75084895687
28629341531453   CHARLES      ROBERSON                     MO     27560603415
28632814781633   BEATRICE     MORALES                      MO     90014288147
28632923831453   MARY         CARDER                       MO     90014709238
28633113191547   DIANA        CORAL                        TX     90010891131
28634947585941   ANNE         RILEY                        KY     90013689475
28635273391547   ELIZABETH    PARGA                        TX     90007202733
28635858891833   MICHAEL      THOMPSON                     OK     90014758588
28638384291592   ROBERTO      CICERO                       TX     90013013842
28642862185698   GRISELDA     LOPEZ                        NJ     90013028621
28642996891828   KENNETH      WRIGHT                       OK     90008149968
28643894391547   SYLVIA       RODRIGUEZ                    TX     75016788943
28644516781633   CASSIE       JOHNSON                      MO     90009745167
28645122281638   RAUL         GONZALEZ                     MO     29011461222
28646559591828   KIM          ALLISON                      OK     90014725595
28647238891828   DAVID        MEHAFFEY                     OK     21008842388
28647945291547   MARGARITO    ARANDA                       TX     90002869452
28648362484523   CHLOE        MORLEY                       NY     90010993624
28649486491547   LIZET        CARRASCO                     TX     90009064864
28651894291356   AYDEE        PADILLA                      KS     90014478942
28651965791528   MARTIN       RODARTE                      TX     90003299657
28653149451333   JONTUE       WALKER                       OH     90013881494
28655345291592   MATHEW       FLORES                       TX     75087263452
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28655616281637   CHRISTINA     DEGEARE                     MO     29029926162
28656932257157   DECOIA        WILLIAMS                    VA     90014859322
28659385257157   AURELIA       MENDOZA                     VA     81015393852
28661214751351   CODY          IVY                         OH     90012652147
28661284991828   COREY         JONES                       OK     90006612849
28664147781637   PATRICK       GILLINGHAM                  MO     29089041477
28664214691833   CHASE         LABARR                      OK     90011442146
28666922991547   MICHELLE      VELAZQUEZ                   TX     90004909229
28667625781633   CANDICE       ALMENDAREZ                  MO     29010726257
28669391891528   NORMA         RODRIGUEZ                   TX     90008553918
28671611791828   EVA           VILCHIS                     OK     90010636117
28672158691833   TIMOTHY       SEIGLER                     OK     90000361586
28674154831453   ADRIANA       GREEN                       MO     90014721548
28674281157157   JENNIFER      WILKINSON                   VA     90002532811
28675144991592   MAYRA         NAVA                        TX     75068571449
28676561491592   KITTY         ARREOLA                     TX     75095525614
28676627191547   ELIZABETH     GONZALEZ                    TX     75050746271
28678264991592   MARIO         RODRIGUEZ                   TX     75084752649
28679179131453   PARIS         LATIMORE                    MO     90014721791
28679417657157   SANDRA        PINEDA                      VA     90011464176
28679672485965   DESIREE       SWEENEY                     KY     90004086724
28679842991592   ALFREDO       ZAMBRANO                    TX     90010388429
28682584425144   CHARLES       LEWIS                       AL     90011555844
28684329891592   BILLY         SANDERS                     TX     90014763298
28685229154123   MICHELLE      STEWARD                     OR     90000842291
28686744381633   EDWARD        NEWSOME                     MO     90010857443
28687965791528   MARTIN        RODARTE                     TX     90003299657
28688214781633   CHANTAL       MALTBIA                     KS     90014712147
28688734491592   DANIEL        BENITEZ                     TX     75046847344
28689585691828   CIERA         HILLIARD                    OK     90014975856
28691331891547   LOURDES       GRAFT                       TX     90005803318
28691723191592   CARMEN        REYES                       TX     90004417231
28692495281633   ANNIE         TAYLOR                      MO     90013974952
28694846391828   TERESA        WILSON                      OK     21056958463
28695581791592   MIREYA        GUZMAN                      TX     90013165817
28696425757157   MIGUEL        COFFER                      VA     90010524257
28697976231631   ANGELA        WILLIAMS                    KS     22037999762
28698637631631   LINDA         PAYNE                       KS     22037856376
28698815931453   MARK          BERRY                       MO     27559298159
28699567585965   STEPHANIE     WOOD                        KY     90001875675
28712357491356   SPARKLE       GUMANGAN                    KS     90014393574
28714472981633   JESSI         TORRES                      MO     29054224729
28715534391547   NANCY         RENTERIA                    TX     90002095343
28715982691828   ASHA          HARRIS                      OK     90015129826
28722357491828   ROBERTA       WATASHE                     OK     90007213574
28725242971943   FREDDY        FRANCO                      CO     90014252429
28725869991933   MIGUEL        ANGEL                       NC     90006738699
28726425381635   CHISSANDRIA   GIDDEN                      MO     90014004253
28726972591949   SARA          WHITE                       NC     90012169725
28727329591356   HUGO          MORALES                     MO     29010603295
28727358957172   REYNA         FUENTE                      VA     90012413589
28728328131631   BRANDON       WILLIT                      KS     22002943281
28729329951328   CHANCE        DONALDSON                   OH     90004543299
28732464391833   RADONNA       ALLEN                       OK     21041804643
28733321331453   NAKONA        CLAY                        MO     90014723213
28733355893753   CLAUDETTE     ROUNTREE                    OH     90003413558
28733983891547   ROBERTA       MUNOZ                       TX     75015289838
28734219791356   STACEY        SIMMONS                     KS     90009032197
28734528881637   ANDREW        BUFFINGTON                  MO     90005415288
28735887191528   LUIS          TORRES                      TX     75095078871
28736467551343   CAROLYN       MATTHEWS                    OH     66059384675
28736525191833   ANGELA        VICK                        OK     21089625251
28737822191241   JACKSON       RICHARD                     GA     14587008221
28739176991833   BONNIE        MANUEL                      OK     90001081769
28741853757157   IRMA          SIMS                        VA     90011628537
28743149981633   NICKOLE       GONZALEZ                    MO     90014451499
28743931255936   MARTHA        TORRES                      CA     90006649312
28745355891547   LIZETH        CHAIREZ                     TX     90012843558
28746958941245   DELLANET      PATTON                      PA     51054029589
28747331433621   JAMIE         CORBETT                     NC     90011343314
28747964585961   TONIA         HOPPER                      KY     90008989645
28749291357157   OSCAR         CERON                       VA     90013022913
28749521591528   YOLANDA       CANO                        TX     75095085215
28751627991241   TIFFANY       SMILEY                      GA     90011136279
28752518671933   KELLI         BIROU                       CO     90012135186
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28752782677371   JOEL         MUNOZ                        IL     20512627826
28753832991547   BLANCA       VALENZUELA                   NM     75029718329
28755425991833   KIMBERLY     COY                          OK     21064254259
28756175951353   ROBERTO      GARCIA                       OH     90000121759
28763785631453   ERIC         MCCAULEY                     MO     90014727856
28764163191547   JACOBO       TONCHE                       TX     90012471631
28764611491592   LEONOR       ESTRADA                      TX     90010296114
28765189791828   TAMIKA       TURNER                       OK     21077741897
28766131557157   TONY         WILLIAMS                     VA     90010541315
28767919681637   HAKEEM       SHABAZZ                      MO     29078929196
28768661891356   MARCY        VAUGHN                       KS     90015156618
28768793731453   VALENCIA     HUMPHREY                     MO     90014727937
28769929791828   GUSTAVO      GUZMAN                       OK     90013799297
28771399491828   FRANCISCO    LOZA-LARA                    OK     90010253994
28771577581638   ONOFRE       LANSANGAN JR.                MO     29084795775
28772737991828   ESTEFANIA    SANTOS                       OK     21082787379
28773924931453   CIERRA       ROBERSON                     MO     90014729249
28774864785965   PATRICIA     WATKINS                      KY     66032208647
28777172181633   RENE         CASTANEDA DE LEON            MO     90013911721
28777436341286   REBECCA      POLLICE                      PA     51083084363
28778127357157   SISAY        YACOB                        VA     90013091273
28778145391528   PATRICIA     TORRES                       TX     90014601453
28779539191592   RAUL         MORALES                      TX     90003755391
28781926691356   JESSIE       BAKER                        KS     29057629266
28782672791547   MARIA        GUTIERREZ                    TX     90014006727
28782679481638   JERRY        LONG                         MO     29027836794
28783127357157   SISAY        YACOB                        VA     90013091273
28783159391828   CANNE        HUNTER                       OK     90012441593
28783163191547   JACOBO       TONCHE                       TX     90012471631
28785853831453   JUANITA      LAWRENCE                     MO     90014238538
28788184391547   RUBEN        OROZCO                       TX     90013421843
28789115951328   DESTINY      BRANDENBURG                  OH     90004731159
28789481691356   MARVIN       BURGOS                       KS     29051424816
28792597191828   MARIA        ROGEL                        OK     21097805971
28795812581637   MZ           GARRETT                      MO     29003048125
28798123691592   CECILIA      SERRANO                      TX     90014801236
28798567391547   JANIS        CARROLL                      TX     75013725673
28799872791356   ERICA        BOETTCHER                    KS     90012208727
28811579761982   ESTEBAN      TRUJILLO                     CA     90012115797
28813381581633   JUDY         MCCLARIN                     MO     90014583815
28814136291528   RAQUEL       FUENTES                      TX     90000601362
28814191455989   SAUL         RODRIGUEZ                    CA     90008311914
28814315255936   CONSUELO     RAMIREZ                      CA     90014483152
28815271431433   TYISHA       MALLORY                      MO     27555672714
28818376591547   KARINA       CHAVEZ                       TX     90013933765
28823446491592   OFELIA       ESPINOZA                     TX     90010374464
28825314872432   JAMIE        BROWN                        PA     51042333148
28826561685844   BRENT        WAMMACK                      CA     90008765616
28826576591592   RODRIGO      MONTANEZ                     TX     90014985765
28827188985991   LATASHA      BURT                         KY     90006061889
28827232591833   MARIAH       HENEBY                       OK     90013362325
28828672157157   ESAYAS       GESSESSE                     VA     81073346721
28828734131631   AHIDA        VELASCO                      KS     22081767341
28829487497942   TABITHA      BOONE                        TX     90010814874
28831175791542   MARIA        RAMIREZ                      TX     90000491757
28832799351328   CHRIS        SAUTHERLAND                  OH     66017477993
28834218481633   BRENDA       GRANADOS                     MO     90013742184
28835227491828   HEATHER      IEZZI                        OK     21092052274
28836212831453   BOB          BARKER                       MO     90011642128
28837432691828   ADALY        LOPEZ                        OK     90013764326
28841282281633   CHRISTINE    RIVERA                       MO     29001082822
28841554981633   TAMMY        ESTIS                        MO     90015185549
28843215385965   DAVID        ROBERTS                      KY     66032592153
28843786291356   MELVINA      BAYNARD                      KS     29018027862
28844173191547   MERCEDES     HACKETT                      TX     90014131731
28845464391592   LATONYA      HOUSTON                      TX     90013434643
28847121891828   RACHELLE     DENNIS                       OK     90011431218
28848144891528   ROGER        MONTELLANO                   TX     90005741448
28848728791356   JOSEFINA     ALVAREZ                      KS     29019977287
28849996157157   JOSCELYN D   WARD                         VA     90001599961
28851956455957   VANESSA      LICON                        CA     90008649564
28852246131453   TIFFANY      MAXIE                        MO     90010632461
28852279191547   RIVERINO     ESTRADA VARGAS               TX     90010332791
28852666891828   TANYA        TROUT                        OK     21033496668
28853169491356   JUANA        GONZALES                     KS     90009191694
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28854336491592   ANETH          RAMIREZ                    TX     90010983364
28855131391356   MIGUEL         XOLOT                      MO     90015361313
28856113131453   SHARON         MULLINS                    MO     90006741131
28856711391833   JUBAL          NICHOLAS                   OK     90011337113
28859551691592   ALFREDO        ORNELAS                    TX     90014485516
28862978391547   ROSAURA        ROMERO                     TX     75019119783
28863294557157   RONDELL        BRIGGS                     VA     90013992945
28866443291547   ERICKA         GUILLEN                    TX     90012094432
28867899791241   GALE           KIDD                       GA     90008498997
28868363181633   JOEL           JACKSON                    MO     90014113631
28869195591828   SARA           BARKER                     OK     90013811955
28869969285991   MIKE           BROWN                      KY     90008739692
28869985991547   JUAN           HERNANDEZ                  TX     75093949859
28871318157157   CHARLES        SCHLICHT                   VA     90013123181
28871511857157   JAMES          BYARS                      VA     90013175118
28873289491547   LILIA          ARGOMEDO                   TX     90001642894
28874959531631   MARIA          ORTEGA                     KS     22094389595
28876677891356   DAVIS          JERMALE                    KS     90012846778
28879442291547   ANTILANO       BARAJAS                    TX     75004724422
28879482591833   JOHN           WILLIAMSON                 OK     90008674825
28879489477541   KENDALL        MCGEE                      NV     90008034894
28879841657157   JOSE           ASCENCIO                   VA     81029538416
28881293791833   CHELSE         REAGAN                     OK     90006452937
28881998385882   STEVE          SPAHR                      CA     46043409983
28882435991592   LAURA          MENDOZA                    TX     90012664359
28883318157157   CHARLES        SCHLICHT                   VA     90013123181
28883885591547   DORA           CARDOZA                    TX     90013468855
28884762557157   MARIA          RIVAS                      VA     90010577625
28885661891828   JUSTIN         GARNER                     OK     90013826618
28886489457157   ILIANA         NUNEZ                      VA     90013454894
28888674291547   ANTHONY        ALVAREZ                    TX     75002316742
28889939891241   KRISTY         BIRCHFIELD                 GA     14579139398
28891495831453   BILL           PURCELL                    MO     90013584958
28891661657157   REBECCA        SALAZAR                    VA     90011596616
28892617357157   HILARY         TORRES                     VA     90013106173
28892978591356   JOSHUA         BASHAM                     KS     90004399785
28893419963635   KIMBERLY       RUNYON                     MO     90012434199
28893786592864   DAVID          SPEER                      AZ     90014677865
28893955491547   DAVID          VILLEGAS                   TX     90013939554
28894634531453   LILLIE         JACKSON                    MO     90012106345
28894692191547   JAMIE          CARDENAS                   TX     90012526921
28895121481633   KELLY          YOUNG                      MO     90012531214
28895613457157   DILCIA         RAMIREZ                    VA     90010586134
28896276591356   PRISCILA       UZCANGA-BERRUM             KS     90009832765
28897449791592   JENNIFER       ERIVEZ                     TX     90010374497
28899111691828   MARIAH         SMITH                      OK     90014301116
28899326291592   CARILLO        NATALIE                    TX     90012453262
28899377857157   ROSIBEL        RIVAS GONZALEZ             VA     90013123778
28911169191828   MARTIN         LOPEZ                      OK     90010821691
28911215385965   CHRISTINA      WOLFE                      KY     66032812153
28914174391833   TERRELL        LAGRONE                    OK     90013911743
28914217155931   ISMAEL         QUINONEZ                   CA     90001012171
28914816891241   ROBIN          SCOTT                      GA     90005528168
28915149891828   EDILSER        LOPEZ                      OK     90011941498
28917226957157   RAQUEL         FELTON                     VA     90014692269
28918226957157   RAQUEL         FELTON                     VA     90014692269
28918442691592   ANAKAREN       MORENO                     TX     90013854426
28919396581633   POOH           TAYLOR                     MO     90008883965
28919491431453   ROBERTO        INSO                       MO     90002124914
28928328355921   MARIA          ARREDONDO                  CA     90014523283
28929663281637   GABY           OLALDE                     MO     29004196632
28932647491356   JUSTIN         SHARP                      KS     90012266474
28932686347826   QUANTERRIOUS   CALHOUN                    GA     90011346863
28934957291828   SORRELS        KAREN                      OK     90014739572
28934981481633   SHAWNA         SAUTER                     MO     90009169814
28937998751346   JOSEPH         GRIFFITH                   OH     90012739987
28938514957157   ISAIAH         GRAHAM                     VA     90011285149
28938863331631   MARK           BACHMAN                    KS     22090518633
28939613231453   ROBIN          MASON                      MO     90014736132
28939672541245   CHARNEDZA      ANDREWS                    PA     90009806725
28941157281633   TEREASA        BAKER                      MO     90012531572
28943714281637   LAVENE         BURRIS                     MO     90005417142
28945327251328   KAREN          HUGHES                     OH     90006083272
28947938391833   ANDREA         JESTER                     OK     90002319383
28949259854129   ALICIA         PAPPE                      OR     90015272598
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28949348781633   ANTHONY      PERKINS                      MO     90008683487
28951799491828   PATRICK      YOUNGBLOOD                   OK     90012087994
28951896341245   DARLENE      KENT                         PA     51090728963
28952164884395   SHIRLEY      SPANN                        SC     90001151648
28952198754123   LORI         FORD                         OR     47094541987
28952388885998   CARLOS       VILLIGRAM                    KY     90011693888
28958117785991   SCOTT        PAULY                        KY     90007281177
28958646991592   LETICIA      RODRIGUEZ                    TX     90010296469
28959324181633   QIANA        ROUNDS                       MO     90014903241
28963554685991   ERIK         NIEDERKORN                   KY     90007195546
28966383491547   ROSALBA      CARRILLO                     TX     75092693834
28968122881633   ANDREW       EIGENSCHENK                  MO     29001091228
28968591673268   BARTIEZ      LEON                         NJ     90015345916
28969258557157   MILTON       BELTRAN                      VA     90014692585
28972431491241   JOHN         BROWN                        GA     90000124314
28972567557157   RONALD       JAMES                        VA     90012125675
28974382891356   TERESA       MALDONADO                    KS     90003833828
28975499381638   JENNISE      TURKS                        MO     90014624993
28976825991828   MICHAEL      BYRNE                        OK     21085378259
28977322491833   SHELLY       ROGERS                       OK     90007443224
28977939457157   JOHN         WAHAB                        VA     90003559394
28978866881638   STEPHANIE    GREGALUNAS                   MO     29018658668
28979436591241   TONI         WASHINGTON                   GA     90013294365
28979814781633   BEATRICE     MORALES                      MO     90014288147
28982256391833   STACY        MAUCK                        OK     21072622563
28982482391592   EMMANUEL     DURAN                        TX     90014614823
28983467385965   SIDNEY       TAYLOR                       KY     66025954673
28985224757157   CHRISSY      KELLER                       VA     90007382247
28986355231433   DAMON        COLEMAN                      MO     90007673552
28988311791547   DANIEL       HERNANDEZ                    TX     90006393117
28989914571943   ELIZABETH    ALVARADO                     CO     32012259145
28993531691547   GLORIA       SALAZAR                      TX     75087065316
28995313781633   CAMESHA      ROWE                         MO     90014153137
28995782791356   ALFREDO      PEREZ                        KS     90013897827
28995933191828   HEATHER      BRADLEY                      OK     21042209331
28999189491833   DAVID        FRANK                        OK     90009111894
29111896951328   ADRIAN       GREGORY                      OH     90013958969
29112499531453   IMANI        JACKSON                      MO     90012334995
29113411791592   CYNTHIA      SANCHEZ                      TX     90010944117
29113596391522   CRISTINA     RUIZ                         TX     90013635963
29114751661897   DANELLE      PRESTON                      MO     27533837516
29115412955957   CONSUELO     MENDOZA                      CA     48017324129
29116272291828   TIM          NEIDHOLDT                    OK     90012122722
29116882755941   MICHAEL      RENTERIA                     CA     90014068827
29116944185822   SHRUTI       DAGA                         CA     46001309441
29117111881633   MR           THOMPSON                     MO     29001101118
29118246281633   JAMIE        STUART                       MO     90014632462
29119583484364   TERRY        WELLS                        SC     19054855834
29122894391592   MARLON       BARRIOS                      TX     75082138943
29123497991522   MARIO        BILBAO                       TX     90012164979
29125313431453   MALIKA       FULTZ                        MO     90003813134
29126435685822   JOE          CROWE                        CA     46001314356
29126565991592   ANA TAPIA    ROSA                         TX     90003845659
29126878951336   DAWN         EWING                        OH     66041048789
29127518291589   ANNETTE      ARATA                        TX     90008465182
29128822977576   JOSEPH       ROBB                         NV     90005798229
29129441791828   JOSEPH       CORLEY                       OK     90014504417
29132295191522   PATRICIA     MAYNEZ                       TX     75002112951
29132676455957   MARIA        DONZE                        CA     90012436764
29133517951346   IVAN         SANCHEZ                      OH     90013405179
29134746991592   MARIA        GUEVARA                      TX     90011477469
29134748891522   EDMUNDO      VAZQUEZ                      TX     75040307488
29134911722971   FLORIBERTA   HERNANDEZ                    GA     90015529117
29137536251328   SHAW         MATANIC                      OH     90013695362
29137798291525   ELIZABETH    VARGAS                       TX     75018027982
29138922291953   DALMAR       OMAR                         NC     90012009222
29139449391522   LUIS         GAITAN                       TX     75094814493
29142941651328   RUBEN        SANTANA                      OH     90015229416
29143884891522   ARMIDA       SALDIVAR                     TX     75081368848
29144646631453   ANN          WELLINGTON                   MO     90007776466
29145475391828   ISABEL       GENAY                        OK     90013014753
29145562691522   YUNHUEN      JUAREZ                       TX     75081215626
29146477751336   TIARA        DOCKERY                      OH     66076054777
29147798551343   SHERMECA     LAMB                         OH     90009547985
29149635685822   AMY          GARCIA                       CA     46005046356
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29154334591592   JOEL          GUZMAN                      TX     90000703345
29154645951336   CATHRYN       SECOR                       OH     90005816459
29155221354162   KEVIN         PROFFITT                    OR     90015252213
29156317791953   CHRISTOPHER   STEPHENS                    NC     90013963177
29157373291828   KYLEE         HEAPS                       OK     90013803732
29161353591522   LINDA         BECK                        TX     75003663535
29162583885822   KEVY          FIGUERA                     CA     46044945838
29165486531433   VICTOR        JOHNSON                     MO     90009574865
29167157591522   MICHAEL       MORALES                     TX     90013661575
29169972191828   RENE          CHAISSON                    OK     90005789721
29171832497124   ERIN          THIELBAR                    OR     90008688324
29172159431453   JOHN          ARELLANO                    MO     27564481594
29172393155957   JAVIER        LLAMAS                      CA     90013253931
29172429381633   SONDRA        SMITH                       MO     90008584293
29173451791522   ROGERS        WIRELESS                    TX     90014964517
29175666191953   FRANCOIS      SERUSHYANA                  NC     90013976661
29175824955957   KONNIE        NEWTON                      CA     48087478249
29177934141455   HEBER         ARMENDARIZ                  TX     90002839341
29178882471935   TD            TILTON                      CO     90001578824
29179118991547   EVA           MARQUEZ                     TX     75042381189
29179568391592   LAURA         ALVAREZ                     NM     75086655683
29182963891241   LISA          WATERS                      GA     90011069638
29183376791953   JIMMIE        BLUE                        NC     90012943767
29185779391828   MELANIE       RAFFENSPERGER               OK     90010487793
29187358691881   LAVONDA       PRUITT                      OK     90012683586
29188142831631   DEBORAH       FARR                        KS     90012231428
29188845531453   DEWAYNE       DIGGS                       MO     90011428455
29189181455935   FRANCISCA     MARTINEZ                    CA     90007781814
29189462931453   LAMONT        ELLIS                       MO     90015114629
29189845881633   KAREN         NUNEZ                       MO     29080828458
29191183731631   DUSTIN        PERRY                       KS     90013001837
29191585191592   SANDRA        HERNANDEZ                   TX     75080765851
29194859291522   VANESSA       SOLTERO                     TX     90012218592
29194917131671   TIFFANY       BRITTANY                    KS     90005889171
29195866291953   FERNANDO      DOMINGUEZ                   NC     90002658662
29195995555957   VICTOR        SILVESTRE                   CA     90004529955
29197285791592   CARMEN        VAGUHN                      TX     90013332857
29198656451336   DANNY R       WELLS                       OH     90015166564
29199294555957   SOCORO        RUIZ                        CA     90014792945
29199726351328   CATHY         BRANDENBURG                 OH     90003447263
29212214857565   SARAHI        REYES                       NM     90009352148
29212783531631   EDWARD        BRADFORD                    KS     22069497835
29214364455957   FELICIA       GUTHRIE                     CA     90014793644
29214541784364   DANIELLE      LINGARD                     SC     90008465417
29217632884364   JULIO         CONCEPCION                  SC     19013116328
29217758331453   DENISE        SMITH                       MO     90013747583
29218256991592   JESUS DAVID   GONZALES                    TX     90010812569
29218349251328   STAPHANY      JAMES                       OH     90014803492
29219943191522   JORGE         HERNANDEZ                   TX     75089469431
29224415255957   MITSY         VILLAGRAN                   CA     90013984152
29226312781633   EDWARD        HARRIS                      MO     90012453127
29226876751351   SHARLENE      KNOX                        OH     90006398767
29227791191528   MARTIN        LOPEZ                       TX     75062347911
29228125791592   RALPH         GAY                         TX     90010991257
29228698391528   LILIANA       GONZALEZ                    TX     90003246983
29229146255957   BEATRIZ       SOLIS                       CA     90015501462
29231638851328   JUSTICE       SCHNAP                      OH     90012776388
29232494431453   MEGAN         COBBS                       MO     90001804944
29232631971923   BRANDI        GARCIA                      CO     90015216319
29233252285822   ELISHA        PUGEL                       CA     90003952522
29233698391528   LILIANA       GONZALEZ                    TX     90003246983
29234574655957   DAINY         SMITH                       CA     90002365746
29235587355957   ADRIANA       RODRIGUEZ                   CA     90013335873
29237369391522   ERICK         BETANCOURT                  TX     90012823693
29237715761979   NAJVAN        OSMAN                       CA     90001327157
29238426491828   MARIA         HERNANDEZ                   OK     21060514264
29239422655957   EPIFANIO      QUAIR JR                    CA     48007824226
29239468291953   MARSHARELLE   EVANS                       NC     90012234682
29241319331433   SAMKA         KRUHO                       MO     90004363193
29241348955957   SIERRA        TORRES                      CA     90004653489
29243793891391   HAROLD        BRENTS                      KS     90014997938
29244638791592   MANUEL        MOLINA                      TX     90009196387
29245315651336   KEITH         TEIPE                       OH     66020403156
29246885891592   LORENA        JACQUEZ                     TX     75044078858
29246998951336   LEONEL        CRUZ                        KY     90003289989
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29248578455957   BREANNA             BALL                  CA     90013695784
29248935381633   TASHA               BEALS                 MO     90004769353
29249482931453   LAKEESHA            HILL                  MO     90013634829
29249927591953   LISANDRA            COURTNEY              NC     90014809275
29251886751336   ELIZABETH           MANNING               OH     90015138867
29254861191828   OLIVARES            ORAILA                OK     90007738611
29255314822971   FLOR                MENDOZA               GA     90015473148
29256215941455   LONISHA             DURHAM                WI     23552672159
29256596891953   ELIZABETH           HARCOURT              NC     90015015968
29257658391592   YVONNE              MENDOZA               TX     90012526583
29257829555957   MARITZA             FARIAS                CA     48002818295
29261545751328   KAREM               DAVIS                 OH     66006515457
29261651251348   WOLDE               DINBERU               OH     66097106512
29263615485822   SHAWN               ROYAL                 CA     46022666154
29265615485822   SHAWN               ROYAL                 CA     46022666154
29267688651328   DONTE               WHEELER               OH     90014676886
29271123181633   AMBER               NICHOLS               MO     29061491231
29271419657128   CINDY               CLEMENTS              VA     90012344196
29271635291828   AMBER               ZORN                  OK     90010516352
29271828491241   LINDA               JOHNSON               GA     14582378284
29272656661925   VERONICA            FERRAZ                CA     90002646566
29273771231453   TARA                BALDWIN               MO     27560937712
29273954191953   GONZALO             PEREZ                 NC     17003959541
29276216731453   CAROLYN             MCCRAY                MO     90011172167
29276647991828   JOHN                BAKER                 OK     90010516479
29277818481633   MICHAEL             HIGHTOWER             MO     29001318184
29278139191528   MELANIE             RAMIREZ               TX     75071481391
29278185251328   CATHY               MARSHALL              OH     66009971852
29278238355957   SUSANA              LOPEZ                 CA     90007912383
29278534531453   BIRHANE             TESHAY                MO     90013435345
29279493571925   BARBARA L           MICKLICH              CO     90012624935
29281889657124   CARMELO             VASQUEZ               VA     81057418896
29282169751328   LISA                BROUGHTON             OH     90004041697
29282543855957   JAIME               JIMENEZ               CA     90015445438
29282758331453   DENISE              SMITH                 MO     90013747583
29283738391522   JASMIN              FLORES                TX     90010687383
29287152331453   PHILLIP             HANCOCK               MO     90005641523
29287421591592   VIANETTE PATRICIA   CARREON               TX     90013604215
29287948325144   WHITLEY             SAFFORD               AL     90014579483
29288376831453   MAPLE               HARGROVE              MO     90011003768
29288657555957   ROBERT              GONZALES              CA     48081686575
29289716191953   LOISE               FDRKPAH               NC     17077207161
29289975651328   ROBERT              DEARDORFF             OH     66080119756
29292123151336   RUSHEMA             MADDOX                OH     90013501231
29292916351328   SKYE                BOLYARD               OH     90013959163
29293966691592   BLANCA              DELATORRE             TX     75060679666
29294655593742   CURTIS              PINKEY                OH     90001256555
29295315691953   GUADALUPE           PEREZ                 NC     90004943156
29295578131453   ALONDA              LOVE                  MO     90001735781
29296621491522   LAURA               CASTILLO              TX     90014006214
29298224731631   PAYGO               IVR ACTIVATION        KS     90013212247
29299363931453   MICHAEL             MARTIN                MO     90011163639
29299475791926   KEVIN               ARMOUR                NC     90005964757
29311229191828   STEPHEN             PFOHL                 OK     90001082291
29311839981633   JASON               WOODS                 MO     29050908399
29313331491953   TYEESE              CHANDLER              NC     90011383314
29314984131631   KIMBERLY            BYERLY                KS     90003649841
29317912391592   E                   ARREDONDO             TX     90015319123
29319236591953   APRIL               TORAIN                NC     17094912365
29321312691953   YADIRA              FLORES                NC     17037743126
29321718691953   JORGE               PONCE                 NC     90001477186
29323552481633   BRIAN               MALTBIA               MO     29053495524
29325238291828   REINA               HERNANDEZ             OK     90013182382
29327152231433   KERRON              RHONE                 MO     27594311522
29327264691953   SALENA              JASNOSZ               NC     90014952646
29328454431453   DORIS               PENDLETON             MO     90012784544
29331696391522   LUCILA              DIAZ                  TX     90014856963
29332535291541   JESUS               MARTINEZ              TX     90011695352
29333129491953   ROSELYN             YAMBA                 NC     90015161294
29333726651336   RALPH               LAWRENCE              OH     66016957266
29335389281633   R. KEVIN            PASLEY                MO     29011713892
29335852655957   DORTHEA             HAMILTON              CA     90013238526
29337211851336   KATHERINE           SWEARINGEN            OH     90011312118
29338695591592   GABRIEL             GONZALEZ              TX     75011886955
29339146491592   ALBERTO             QUIROZ                TX     90014331464
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29339227891522   JUAN             MALDONADO                TX     90008172278
29341824397121   GLADYS           MORALES                  OR     44534448243
29342475281633   AMANDA           KROENKE                  MO     90010894752
29343334185991   KATHRYN          COLLINS                  KY     66046883341
29343433831631   ANTHONY          PARKER                   KS     22052854338
29343928581633   SUSAN            SOTTORIVA                MO     90001439285
29347723555957   FLAVIO           AGUILAR                  CA     48010157235
29347946191592   DIEGO            RASCON                   TX     75012469461
29348423397173   AMANDA           HOLBROOK                 OR     90004234233
29351591755957   MARIA            GARZA                    CA     90002025917
29351756651328   JAMES            SANDLIN                  OH     90014207566
29352196255957   JOSE             MENDOZA                  CA     48005581962
29356587355957   ADRIANA          RODRIGUEZ                CA     90013335873
29357825991522   JUANITA          VASQUEZ                  TX     90014248259
29358333531453   SHANTAR          ALDRIDGE                 MO     90005903335
29359523751336   CANDUS           WILLENBRINK              OH     90013045237
29361274291828   DIM              CING                     OK     90014962742
29362449691522   JENNIFER         ELIAS                    TX     90014524496
29362585781633   KASSANDRA        FRANCO                   MO     90014095857
29362658631453   MICHELLE         JOHNSON                  MO     90013486586
29363598491953   SHAWN            RAYBURN                  NC     17005605984
29363639531631   DARYANNE         OTT                      KS     90012146395
29364286391953   KRYSTAL          DANIELS                  NC     90010992863
29365835991522   MARCUS           BORUNDA                  TX     90002528359
29367621738523   DEBRA            ISBELL                   UT     90008586217
29369574951336   DELANIA          BIL-WARNER               OH     90000925749
29371434491241   JAMES            LUCAS                    GA     90006814344
29371852655957   DORTHEA          HAMILTON                 CA     90013238526
29371883491522   ISRAEL           ESTORGA                  TX     75002098834
29371934885822   RON              KENNEDY                  CA     46023329348
29372153855957   KELLIE           BORGES                   CA     48025661538
29372893931453   JACQUELINE       WILEY                    MO     27560918939
29373696641235   TERRANCE         JOHNSON                  PA     90000996966
29374984951328   JESSICA A        SMITH                    OH     90001759849
29376711831453   JANNELL          STRONG                   MO     90003207118
29377312291953   VIRGINIA         GONZALEZ                 NC     17057323122
29378592851336   STEPHANIE        SNEED                    OH     90005855928
29378873955957   JESUS            CISNEROS                 CA     90004888739
29379599691522   MARIO            RAMOS                    TX     90006275996
29381997481633   BRANDON          RIVERA                   MO     90013789974
29383126291522   ERIC             ESTRADA                  TX     90010531262
29386755391953   ERICA            STEWARD                  NC     90008957553
29386778731433   JAHAD            OZIER                    MO     27563857787
29387879681633   ALONSO           ERASMO                   KS     90006538796
29388756691953   DARVIN MAGDIEL   ROBLERO BARTOLON         NC     90012107566
29391125191241   KYLE             CONNERS                  GA     14502881251
29391182251336   CHIQUITA         TERRY                    OH     90014001822
29391922655957   CELINA           VALE                     CA     90013769226
29392585991828   ANGELA           SARTAIN                  OK     21049525859
29393897591828   DANIEL           HERNANDEZ                OK     90006038975
29394898631453   KELLER           MCLAURIN                 MO     90007438986
29395298491953   ERIC             BARNES                   NC     90010992984
29395972851328   STEPHANIE        BROWN                    OH     90011519728
29396778955957   KARINA           GUEVARA                  CA     90013277789
29397323731453   JOE              WHELPLEY                 MO     90011243237
29397668651328   JENNIFER         MIRANDA                  OH     90015536686
29399133931453   HARRIET          MEEKS                    MO     90013351339
29399499291953   JOEL             OMBASA                   NC     90000274992
29411241391953   ROXANNE          BON                      NC     17067342413
29411827351328   STEPHANIE        MCINTOSH                 OH     66051298273
29412599491522   MARTHA           GUTIERREZ                TX     75022585994
29413858851336   CHRISSY          COLLINS                  OH     90011608588
29416675955957   SYLVIA           BOTELLO                  CA     90007926759
29418963531453   LICOLE           MCKINNEY                 MO     27586139635
29421272871923   OSCAR            RIOS                     CO     32008272728
29421352572431   NICOLE           GARUCCIO                 PA     90008303525
29421987791592   TANIA            GOMEZ                    TX     90010719877
29422372851336   TERRI            CAHALL                   OH     66006433728
29422591991592   ANA              GONZALEZ                 TX     75095035919
29422686255957   GINA             ROBERTS                  CA     90014456862
29422719291522   CLADIA           LOPEZ                    TX     75002127192
29423797255957   ANGEL            DELGADO                  CA     90013937972
29424777591522   IDA              ALLEN                    TX     90002877775
29425986151336   KELLY            ANDRESEN                 OH     90010869861
29426454855957   SERGIO           MANCILLA                 CA     48011884548
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29426757991828   TINA             BRIDGEWATER              OK     21043847579
29429485955957   JANET            ALAPISCO                 CA     90013984859
29429736391592   CECILIA          FRAIRE IBARRA            TX     90013057363
29429782385865   IRENE            MCCONAUGHEY              CA     90012457823
29431798651336   LASHAWNA         MORRIS                   OH     66013817986
29432376181633   LYNESSA          COOK                     MO     29013133761
29433151291953   RICKY            SNEAD                    NC     90012951512
29433287357176   DELMY            HERNANDEZ                VA     90008242873
29433392351336   NATHAN           LAY                      OH     66082843923
29433418241961   CATHERINE        BONNER                   OH     90012014182
29434437691522   ARMANDO          JACOBO                   TX     90014094376
29434443331453   DANIELLE         LAWRENCE                 MO     90014954433
29439427781633   TRISHAL          DREW                     MO     29050734277
29439576531453   PHYLLIS          MOORE                    MO     90014025765
29442333284364   AISHA            MICHELL                  SC     90011773332
29442398971945   QUENTIN          SHELTON                  CO     90010003989
29442894951336   LAVERNE          COLWELL                  OH     66073218949
29443421961986   MARTHA           ARAIZA                   CA     90012534219
29443956291953   LASHONDA         TOGBE                    NC     90012049562
29444414791592   BONIFACIO        TREVIZO                  TX     75012164147
29445417631631   RANDY            PAINTER                  KS     90013314176
29445725551328   DARNELL          JEWETT                   OH     90014927255
29446221391828   BRENDA           CRUMPTON                 OK     90011152213
29447597855957   SUSANA           BARAJAS                  CA     48004265978
29448451555957   CARYN            COLLINS                  CA     48074104515
29449562281633   JESUS            ORTIZ                    MO     90013285622
29451839991953   SALLY            GONZALEZ                 NC     90013608399
29452234991953   STEVEE           ALSTON                   NC     90014872349
29452575951336   KELA             ROSE                     OH     90013685759
29453253691592   LESLIE           ORTEGA                   NM     75066442536
29453591191953   OLIVER           SANCHEZ                  NC     90009515911
29453837151328   PERRY            DUSKIN                   OH     90010808371
29456253754123   JOEL             STEPHENS                 OR     90007932537
29456789451328   DESIREE          BRYANT                   OH     90012977894
29457448991828   CHARLES          HARREL                   OK     90011404489
29463937751328   TRACI            FIELDS                   OH     90009889377
29464513861995   CASSANDRA        CAVETTE                  CA     90011125138
29465112655957   MARK             SERRANO                  CA     90007371126
29465127681633   MARTHA           JASSO                    MO     29069021276
29466193591522   ALEJANDRO        ARIAS                    TX     90009091935
29468161191592   RICARDO          CASTRO                   TX     90014831611
29468365391241   DARLA            COGHILL                  GA     14570623653
29468457491953   TIFFANY CHERIE   ELDER                    NC     90002244574
29469167291592   BLANCA           ZUBIATE                  TX     90014831672
29471834791522   RODRIGUEZ        JUAN                     TX     90014248347
29473112391953   WILLIE           COOK                     NC     17004831123
29473333291592   ENRIQUE          SALAZAR                  TX     90010813332
29474219255957   LIONEL           RODRIGUEZ                CA     48089602192
29474759491953   WILFREDO         MARTINEZ                 NC     90009127594
29475389651336   ISABEL           OVIEDO                   OH     90014173896
29476654591953   MARY M           SIBENGE                  NC     90002086545
29477369891592   YVONNE           GARCIA                   TX     90010163698
29477627351328   KEVIN            MONTGOMERY               OH     90011066273
29478339191828   DONNA            MORAN                    OK     21060113391
29479436355957   JANETTER         MEDOZA                   CA     90014794363
29483644851336   STEPHANIE        BRIGGS                   OH     90014906448
29484362655957   YVETTE           VIDALES                  CA     90009263626
29485322791592   JORGE            LUJAN                    TX     75041513227
29485412131631   AMBER            BRADLEY                  KS     90013664121
29486957391592   AMANDA           GALLEGOS                 TX     75063469573
29488636955957   ERIBERTO         CORNELIO                 CA     90012426369
29489429991522   REY              RIVERA                   TX     90011904299
29491144131453   INDIA            WILLIAMS                 MO     90007661441
29491341155957   CHUCK            ALCALA                   CA     48075443411
29494625181633   AARON            KELLY                    MO     29000976251
29495831891953   LE TRYSE         INGRAM                   NC     90003088318
29496145651328   MARIA            STASSER                  OH     90014041456
29499326151328   ROGER            ROETHELI                 OH     90002813261
29499876991528   GLORIA           ESTRADA                  TX     90012938769
29512232191592   MARIA            ORTIZ                    TX     75068772321
29515422291828   KYISHA           LENTZ                    OK     90009544222
29515477481633   CAROLYN          ISOM                     MO     90014684774
29515988191953   ISIAH            JENKINS                  NC     90004159881
29516424185931   ALEJANDRO        RODRIGUEZ                KY     90013694241
29516672755957   DIANA            BARAJAS                  CA     48059626727
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29522161651336   JULIO         CRISTOBAL                   OH     66004621616
29524491685865   KEITH         WILLIAMS                    CA     90012914916
29524587631433   MERLIN        SMITH                       MO     90004415876
29524723591828   MILAN         OWENS                       OK     21064997235
29524734591522   MIGUEL        VASQUEZ                     TX     90013737345
29525391951338   CANELA        PERSON                      OH     90013773919
29526294791828   KAREEM        BROWN                       OK     90014702947
29526395431631   DANNY         BRASHAR                     KS     90009403954
29528522581633   GWEN          MCGUIRE                     MO     90014675225
29528573661977   GABINO        RODRIGUEZ                   CA     90002395736
29529532951336   ASHLEY        FREDERICK                   OH     90009735329
29532867591942   MICHEAL       FENTON                      NC     90008088675
29532982331453   ANTIONETTE    SIMMONS                     MO     90015129823
29534253157173   SHERRY        CAMPBELL                    VA     90012662531
29534397455957   GUADALUPE     GARCIA                      CA     48076213974
29535832431453   CHERYL        MCROBERTS                   MO     90010098324
29536648931433   LAR ANN       FELLOWS                     MO     90004416489
29536976391592   ISRAEL        VALDEZ                      TX     90004339763
29538764277338   ANNA          BRADSHAW                    IL     90014757642
29541673131453   TERESA        CAPPELLO                    MO     90012336731
29542799931453   KENEICKA      HARRELL                     MO     90011607999
29543657791592   JORGE         HERNANDEZ                   TX     90007896577
29544546631631   JOSE          LOYA                        KS     90010135466
29545986455957   JUAN          CANO                        CA     48005659864
29548775751328   CHRIS         PLOWMAN                     OH     90012887757
29548966841255   LAUREN        DAY                         PA     90008689668
29551348355957   OFELIA        GUZMAN                      CA     48025533483
29551865991828   DESTINY       THOMAS                      OK     90011558659
29553361331631   APRIL         HUMBLE                      OK     90001533613
29554157585841   PATRICIA      CRUZ                        CA     90008491575
29556156491592   CLAUDIA       DOANE                       TX     75081281564
29556552491547   HECTOR        JURADO                      TX     90007565524
29556652881635   LAKESHIA      AVERY                       MO     90007146528
29558592151328   GUADALUPE     AGUIRRE                     OH     90015415921
29561559381633   JESSIE        GARRISON                    MO     90013325593
29563125351336   DONNA         SANDER                      OH     90001001253
29563226191828   JAMES         RUTH                        OK     21049882261
29563586291522   AIDE          GUSTAMANTE                  TX     90014835862
29564171991592   JULIAN        LOPEZ                       TX     90007611719
29564788191828   SHANNON       HUNT                        OK     21098517881
29564882291953   DANIEL        ROMERO PONCE                NC     90013928822
29565123355957   ROSEANA       ARRIOLA                     CA     90002531233
29566695785822   PAUL          WEINER                      CA     46037966957
29567947151328   RAJESH        SELVARJ                     OH     90010339471
29568597731453   CHRISTOPHER   ROSE                        MO     90012925977
29571172991592   ANA           SHIRSAT                     TX     75096871729
29571333531453   SHANTAR       ALDRIDGE                    MO     90005903335
29573941991828   ANDREW        NEELEY                      OK     90012389419
29575667291528   CHRIS         PACHECO                     TX     90006316672
29576379691953   JOHN          JOHNSON                     NC     90013193796
29577575691528   TANIA         RORIGUEZ                    TX     75094425756
29578294891953   JAIRO         ORTEGA                      NC     90013432948
29578563391241   ANDRE         STEPHERSON                  GA     14500795633
29578679251336   SARAH         WILKING                     OH     90012436792
29578849391592   MELBA         CHAIREZ                     TX     90011108493
29579159991522   EDUARDO       LIRA                        TX     90003861599
29579742755957   ANTONIO       O SOTO                      CA     90013687427
29582462991528   CHAYNA J      RIMPLE                      TX     75097424629
29582676185822   OSCAR         CARMONA LUNA                CA     90004896761
29584957931453   TASHA         SWIFT                       MO     90012479579
29585833855957   CHRISTINA     ANDERSON                    CA     90013078338
29586793651336   STEVEN        AMBRUSTER                   OH     90011517936
29587547231453   DELISA        THOMAS                      MO     90013225472
29587582685822   BOMI          KIM                         CA     90010505826
29589163555957   CINDY         CASTRO                      CA     90010771635
29592389771954   JAMES         BUSTAMANTE                  CO     38075373897
29595939891522   MAGDALENA     SOLANO                      TX     75014089398
29596814491953   REMEDIO       NORITA                      NC     90011648144
29597915151348   SUSANA        ARAUJO                      OH     90009969151
29598143284353   MARION        GILL                        SC     19063711432
29598212131631   MATTHEW       CZECHOWSKI                  KS     22090752121
29599261491953   JAMAAL        KELLY                       NC     90011392614
29611217971923   TRACY         GRAZIOSII                   CO     90007502179
29611367355957   SUSAN         OTTO                        CA     48080323673
29611567951328   LINDSEY       PETTIT                      OH     90015325679
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29611872871923   T             GRAZIOSI                    CO     90013848728
29612558455957   JESUS         VILLALOBOS                  CA     90014795584
29613139884364   PAMELA        JONES                       SC     19028741398
29613772655957   CHRISTINA     SANCHEZ                     CA     48032707726
29619229691592   DEZARAY       MARTINEZ                    TX     90014812296
29621541291592   DENISE        SANCHEZ                     TX     90011325412
29624243831453   ANDREA        BUTLLER                     MO     90009402438
29626615351328   MICHELLE      KORTE                       OH     90012756153
29627942785822   MARIAH        RODRIGUEZ                   CA     90011229427
29629763231631   PHOEBE        VINCENT                     KS     22055037632
29631485691522   ALFREDO       PEREZ                       TX     75065834856
29632562591953   URCIA         MATSINNA                    NC     90014455625
29634715691522   CELESTE       APODACA                     TX     90002537156
29636454555957   MARTIN        MARTINEZ                    CA     48031044545
29638988391522   GERARDO       MEOUCHI                     TX     90012599883
29639574791828   BRENDA        RAMIREZ                     OK     90013165747
29639715985895   AMBER         STRONG                      CA     90001307159
29643988191522   MARTHA        MENDEZ                      TX     75002629881
29644688991828   EBONY         TODD                        OK     90011506889
29645583155957   MAYRA         CEJA                        CA     90006075831
29645824751336   MISTY         JONES                       OH     90012708247
29645975622971   PAYGO         IVR ACTIVATION              GA     90015149756
29646484885822   MARGARITA     RAMIREZ                     CA     46064454848
29646756181635   JULIE         MOORE                       MO     29040507561
29648719355957   JOSEPHINE R   VAZQUEZ                     CA     90007827193
29648887381633   RENEE         SHERROD                     MO     29009258873
29649666391522   SUSANA        JUAREZ                      TX     75000186663
29651934591953   JOSEPH        SPOKES                      NC     90014809345
29652122877338   RYAN          MEGALE                      MO     90011391228
29652293391522   ELIZABETH     GUTIERREZ                   TX     75086722933
29652546555957   GUSTAVO       RUIZ                        CA     90014605465
29652694391953   ISRAEL        TIQUET OSORIO               NC     90014436943
29652763331453   SHANIECE      MCCOY                       MO     90014877633
29653473991592   SANTIAGO      MUNOZ                       TX     90012604739
29654296851336   CODY          JOHNSON                     OH     90014362968
29656463991528   MANUEL        OROZCO                      TX     75095514639
29656468351336   CATHERINE     BENDER                      OH     66039284683
29656975531453   CHRISTINA     RENEE                       MO     90011649755
29657177891592   REYNA         GARCIA                      TX     90014441778
29657516491525   ELIZABETH     AKGUN                       TX     90000825164
29657943831453   BREAUNA       WILSON                      MO     90003429438
29661514493757   LYNN          CLEMANS                     OH     90003815144
29661962971923   JODI          VALDIVIA                    CO     90001559629
29662723785999   DOMINIC       CARLOTTA                    KY     66046237237
29667759497173   ARLETTA       QUADRO                      OR     90001297594
29668182251336   CHIQUITA      TERRY                       OH     90014001822
29668534597173   HENRY         SPAHN                       OR     90009225345
29668574355957   STEPHANIE     ANDRADE                     CA     90012785743
29668971491592   VIANEY        MARTINEZ                    TX     90014059714
29669565885822   CECILIA       DANGELO                     CA     90008075658
29673731891828   PAULA         DREW                        OK     21004737318
29676955555957   RUDY          MENDEZ                      CA     48062559555
29677985631631   ETHEL         ADAMS                       KS     22015279856
29678119591522   JOSE          PUENTES                     TX     90013401195
29679184631631   KATHY         POLACIOS                    KS     90008601846
29681452391522   SHAWN         WHITEHURST                  TX     90014524523
29681735755957   LILIANA       GONSALEZ                    CA     90014157357
29682432391522   IVON          RENNDON                     TX     90010384323
29685223285822   KYLE          KRISTOFF                    CA     90006762232
29685553133631   JOAQUIN       NELSON                      NC     90007745531
29685681855957   AMANDA        NORRIS                      CA     48038756818
29686125891592   SALVADOR      HERRERA                     TX     90010171258
29688683255957   BLANCA        OSUNA                       CA     48034376832
29692629131453   QUEITA        BAILEY                      MO     27511726291
29692896931631   LAWRENCE      SANDERS                     KS     90014008969
29694547191592   ANN           TAPIA                       TX     90012135471
29698229851328   KELLY         BOWLING                     OH     90013212298
29711218742565   ALFONSO       PALAFOX                     WA     90015492187
29712759491953   LAURA         KING                        NC     17089097594
29713442951336   WILLIAM       HOWARD                      OH     90009144429
29713628891241   LINDSAY       HUNT                        GA     90003866288
29713986231453   SEPTEMBER     MILES                       MO     90001359862
29714118431631   NANCY         RUVALCABA-HERNANDEZ         KS     90009721184
29714413231433   DANA          STRAIN                      MO     27516564132
29717178451328   ROBIN         BOLIN                       OH     90013931784
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29718385251328   NICHOLAS           DRISCOLL               OH     90014043852
29721928731631   LESTER             CARRELL                KS     90010319287
29721934791828   TERRENCE           CHISHOLM               OK     90010609347
29722568891542   VALENTIN           DIAZ                   TX     90012995688
29722934593762   KORI               BLESSING               OH     90012509345
29725667691828   ASHLEY             WYNN                   OK     90014916676
29725768855957   CHRISTINE          HOUK                   CA     90014947688
29726591351336   ROXAN              BYRGE                  OH     66050975913
29726821355957   EDGAR              ALVARADO               CA     90014998213
29732289991528   SANDRA             MARTINEZ               TX     90010982899
29734568855957   ANDRES             SEGURA                 CA     90003675688
29734963385822   MYISHA             BARNHILL               CA     90011229633
29735842961994   CESAR              HERNANADEZ             CA     90006098429
29735986155957   KEVIN              KNOTT                  CA     48078819861
29737419391522   JUAN               HINOJOSA               TX     90008174193
29739666391547   CINTHIA            MEZA                   TX     90010496663
29742655891522   LAURA              GUEVARA                TX     75068176558
29743974555957   GREGORIO           GAMBOA                 CA     48073719745
29744646291528   VICTOR             ALBA                   TX     90005376462
29744699681633   CURTIS             DRAFFEN                MO     90012156996
29745388985822   OMAR               GONZAGA                CA     46025273889
29745891755957   VALENTE            MEDINA                 CA     48003218917
29747544451328   BOBBI              ONDREKA                OH     90010345444
29748998484364   CLARENCE           BRYANT                 SC     90010409984
29749589851328   WILL               HAMM                   OH     90008805898
29751796931631   ANTOINETTE         WILLIAMS               KS     22078447969
29752539131631   A                  A                      KS     90007515391
29752541451328   JEREMY             CROWDER                OH     90009605414
29753451591952   LOUVENIA           PLATTS                 NC     90007934515
29754499854123   JASON              WILLIAMS               OR     47038334998
29754665631631   KRISTI             CALVIN                 KS     90012756656
29755141591953   STEPHANIE          YORK                   NC     90011011415
29755226891828   PATRICIA           GRAYSON                OK     90013832268
29756153331631   JESUS              LERMA                  KS     90014621533
29759128491522   KARINA             GARCIA                 TX     75047381284
29761318484343   JIM                BROWN                  SC     90015353184
29763687491828   CIIN               CING                   OK     90011856874
29765657897124   JOSE R             RAMIREZ                OR     44572716578
29766239891522   KENDY              WILLIAM                TX     90005152398
29767397491241   JAVON              SAMS                   GA     90015133974
29767798791592   CORINA             SANDOVAL               TX     90003707987
29767964955957   DANYUELL           BENNETT                CA     90012789649
29768627681633   RENE               TRITLITT               MO     90009276276
29771449191522   CHRISTOPHER        DIAZ                   TX     90008174491
29772438691592   DIANA              PALACIOS               TX     90010814386
29772857631631   CARLOS             CONDE                  KS     90010268576
29773475731631   MEGAN              STEPHEN                KS     90012354757
29775615491592   GABRIEL            CEBALLO                TX     90003826154
29776281431453   TIJUANA            SIMPSON                MO     27510822814
29781418481633   SMASH              A                      MO     90015134184
29784745891828   MARIAELENA         RUIZ-VALADEZ           OK     21084697458
29785949291592   LUIS               ALMANZA                TX     75058789492
29788981381633   ISAIAH             EDWARDS                MO     90014249813
29789697385822   ENRIQUETA          EVITA                  CA     90004316973
29791261551328   KATIE              SHEPHERD               OH     90010602615
29792345855957   JORGE              CERVANTES              CA     90013643458
29792573491828   AMANDA             HYATT                  OK     90006015734
29792865631631   BRADLEY            PILAND                 KS     90014298656
29793118384325   DARRNELL           HOUSTON                SC     90008991183
29793291131631   JANET              TORKELSON              KS     22033302911
29795794855957   GUILLERMIN         ACEVEDO                CA     90010777948
29795853931453   JIAN               HE                     MO     90012338539
29796174191828   TYRONE             PAYNE                  OK     90012261741
29797319991953   VALERIE            REID                   NC     90014843199
29797397591592   RAQUEL             GOMEZ                  TX     90013873975
29798961847826   BENITA             FIMNNEY                GA     90010919618
29799335581633   KRISTEN            ANDREWS                MO     29090243355
29811237191522   JORGE              CHAVEZ                 TX     90013722371
29811528291592   JOSE LUIS          VIDANA                 TX     90015235282
29811646477572   JARED              HYER                   NV     90013116464
29812239261982   ORALIA             GONZALEZ DE CARRASCO   CA     90013062392
29812342955957   KIETH              BILLINGS               CA     90005713429
29812629791828   TOMMY              RILEY                  OK     21085226297
29813183851328   LEAH               MEREDITH               OH     90015111838
29814732891953   STEVEN ALEXANDER   ESTRADA                NC     90007687328
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29815237891953   SHAMIRA           PRIDGEN                 NC     90011012378
29815285691592   JENISSA           LOI                     TX     90014692856
29816238393742   MARKITA           CARTER                  OH     90010622383
29816619881633   GUADALUPE         SANCHEZ                 MO     90010406198
29818188151328   JORGE             SANTOS-RAMIREZ          OH     90014681881
29821526491828   ANGELINA          GILLMAN                 OK     90010125264
29822837455957   CHRISTINA         GOMEZ                   CA     90000278374
29823676331631   TIM               NEWTON                  KS     22024196763
29824169591522   MARTHA            LOPEZ                   TX     90013661695
29824388291592   MARIA ESTHER      VALDEZ                  TX     90009223882
29825183191522   CLAUDIA           ARCINIEGA               TX     90011741831
29825457291953   OSMAN             MENDOZA                 NC     90008664572
29826821591592   JASMINE           WILLIAMS                TX     90010258215
29828282484364   MARIA             HOLMES                  SC     19006602824
29828585151328   JORDAN            FIELDS                  OH     90013495851
29828976191828   KASHONIQUE        HOLT                    OK     90012849761
29829976391828   JOSEPH            GENTRY                  OK     90011919763
29831829151328   SHANNON           ALESHIRE                OH     90002288291
29836179191528   ALEJANDRO         CANALES                 TX     75068241791
29836611891592   HECTOR            RODELA                  TX     75070466118
29839665731453   LILLIANOUS        SAMPLE                  MO     90004776657
29839818791241   SONYYA            BENNETT                 GA     90009408187
29841291441455   GENA              GONZALEZ                WI     90015332914
29842436391828   KASEY             BANN                    OK     90014364363
29846139491828   BRIAN             SUSI                    OK     90014011394
29846255491241   MARCO             ALBORCA                 GA     90011532554
29846427761957   JESUS HECTOR      ANDRADE                 CA     90010674277
29846817951336   SHUNA             PITTS                   OH     90008298179
29847457991522   SAUL              RODRIQUEZ               TX     90010384579
29847625351328   BILLY             LITTLE                  OH     90014756253
29848334491828   KRYSTAL           SPEARS                  OK     90009493344
29853127655957   JUDY              SCHMELZER               CA     90013121276
29855516891592   JESUS             BARRIOS                 TX     75007115168
29856182391522   DIANA             FERNANDEZ               TX     75030221823
29856341685955   ANNA              CASE                    KY     67086443416
29856399755957   PEDRO             LUNA                    CA     90001413997
29857284591828   JAMES             ROBISON                 OK     21092202845
29857644791528   OSCAR             RAMIREZ                 TX     75094526447
29858627533621   SANDRA            THOMPSON                NC     90012196275
29859416791592   JOSEPH            MATA                    NM     90014594167
29861161791953   RICARDO           FERNANDEZ               NC     90008761617
29861447381633   ANTHONY           JOHNSON                 MO     90012524473
29862621251328   JULIE             COUCH                   OH     90007096212
29864744655957   CAROLINA ESTHER   CRUZ                    CA     90015147446
29865539731453   MARCIA            RICHARDSON              MO     90010785397
29866279791828   HARVEY            IRON                    OK     90014962797
29866537791592   IRVING            WEISEL                  TX     90012485377
29868237551328   AMANDA            PERRY                   OH     90003532375
29868273131433   OLISHA            HARRIS                  MO     90013462731
29868654731631   CAIQUN            DOU                     KS     90013856547
29869424555957   FAVIAN            QUINTERO                CA     90007364245
29871221691953   JUDY              SPEIGHT                 NC     90002272216
29872298591828   SALVADOR          GARCIA                  OK     90012712985
29873558731433   RECORDIA          THOMAS                  MO     90010215587
29874688991953   JUAN CARLO        SANDOVAL                NC     17026416889
29875216551328   CHRIS             COOPER                  OH     90007622165
29876899831444   DEBBIE            WASHINGTON              MO     90009388998
29877183655957   RAMIRO            AGUINIGA                CA     48084081836
29882463391522   DELIA             M MUNOZ                 TX     90011954633
29882953991592   EDNA              GONZALEZ                TX     90013609539
29883432491953   MIRNA             REYES                   NC     17016554324
29883438985822   ORPEZQA           CI                      CA     46084214389
29883916893757   SCOTT             SHIVELY                 OH     90008469168
29883991255957   JOSE              NUNES                   CA     90006419912
29884325151328   CHRISTOPHE        GRAY                    OH     66069173251
29885938155957   JO ANN            GOMEZ                   CA     48088649381
29886369951328   KIMBERLY          FUGATE                  OH     90009983699
29887991391592   ALMA              HERNANDEZ               TX     90013209913
29889864191828   THELMESHA         EVANS                   OK     90001258641
29891699884343   QUENTIN           CHERRY                  SC     90014556998
29892515991828   MEREDITH          GOODVOICE               OK     90005815159
29892851651336   SARAH             SMITH                   OH     90015078516
29895247431631   PAULA             ABRAHAM                 KS     22039282474
29896522231453   COREY             GALCZYNSKI              MO     27559405222
29897987561932   JORDAN            MARTINEZ                CA     90000139875
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29898446185822   TAMAYO        FABIAN                      CA     46018464461
29898692231485   KELLY         ROBINSON                    MO     27516946922
29899592291828   BRENDA        HARGIS                      OK     90011425922
29899796955957   ANNE LORI     NANSTIEL                    CA     90009147969
29911324991241   BOBBY         BLANTON                     GA     14571053249
29913184155957   ALBERT        VIDALES                     CA     90003051841
29914227591592   JAVIER        PUENTE                      TX     75043762275
29914363651328   RICHARD       VOLZ                        OH     90013153636
29914865184364   CALVIN        STACEY                      SC     19024828651
29915284491522   ELVIRA        BARRAZA                     TX     90004962844
29916264191592   ANA           GOMEZ                       TX     90008922641
29916865184364   CALVIN        STACEY                      SC     19024828651
29918487191953   JOHN          MCBRYDE                     NC     90011914871
29918878355957   VERONICA      GARCIA                      CA     90004978783
29919665591828   MARI          HENDRIX                     OK     90009316655
29919993491953   JOSE          CAMARILLO                   NC     90012729934
29921748155957   PERLA         PENUELAS ROMERO             CA     90013807481
29922419651328   TIMOTHY       TRAUT                       OH     90010874196
29923688291522   JESICA        GUROLA                      TX     90010916882
29923866697122   STEVEN        MCCALMONT                   OR     90014388666
29924299985991   TRACY         ROBERTS                     KY     90012552999
29924643791953   EMILIO        MERINO DOMINGUEZ            NC     90009806437
29924738391522   JASMIN        FLORES                      TX     90010687383
29927563851336   EDDIE         MILNER                      KY     90014545638
29929666881633   TAUFAANUU     WARE                        MO     90013936668
29931383855957   RICHARD       LACEY                       CA     90015313838
29932931351336   JENNY         JONES                       OH     66094599313
29936817951328   ASHELY        SMITH                       OH     90014628179
29937323991522   GONZALES      ERIKA                       TX     75052893239
29939415691522   LAURA         ONTIVEROS                   TX     90008904156
29942659981633   BRANDON       AMOS                        MO     90014086599
29943944285965   STEVE         FOSTER                      KY     90013479442
29944165891828   DORIS         BASS                        OK     21062721658
29945329291953   JAZMYNE       WHITE                       NC     90007403292
29945817784342   KAIA          LICEA                       SC     14509478177
29946148691522   GABRIEL       ACOSTA                      TX     90012261486
29946999155957   AMY           ROMAN                       CA     48030339991
29947727791528   CONSUELO      AYALA                       TX     75096557277
29951723481633   JAMES         WHARTON                     MO     90013647234
29952448681633   JODY          MCCAULEY                    MO     90012094486
29952712391828   STEVEN        ROUSH                       OK     90013987123
29953649491528   ROSANGELICA   NUNEZ                       TX     90005826494
29954332191522   EVA           VEGA                        TX     90012083321
29954969731631   SHERRY        MORRISSEY                   KS     90014009697
29955373791522   MARYBEL       RUBIO                       TX     90002443737
29956759931631   TINA FAYE     HOOVER                      KS     90014767599
29957111851336   WINONA        JACKSON                     OH     90007631118
29958468951328   HANNAH        KUETHE                      OH     90012154689
29959519751328   CRYSTAL       LOWERY                      OH     66040625197
29959666791828   MUHAMMAD      ALMMANI                     OK     90010536667
29961955251328   BRITTANY      HOGAN                       OH     90013359552
29964369781633   DAVID         BANUELAS                    MO     90014643697
29966413191828   MEAGAN        HAGERDON                    OK     90008474131
29966992851336   ASIA          GRAY                        OH     90012979928
29967299791828   LORA          POLK                        OK     90009012997
29968447291522   CHRISTOPHE    BREAZEALE                   TX     90000484472
29968815555957   TANEAL        MALLOY                      CA     90013758155
29968845131453   TONILLE       COX                         MO     27560758451
29971545851336   FRANCES       DAY                         OH     90006925458
29972164681633   GINGER        HUNTER                      MO     90015161646
29972196551328   TRAVIS        BISHOP                      OH     90012731965
29972759855957   LYNETTE       MADRUGA                     CA     48017517598
29974139551336   TINA          BARNETTE                    OH     90003691395
29974694684364   KISHA         BRYAN                       SC     90000946946
29974711491828   REACONDA      WALKER                      OK     21021987114
29974718155957   CAMERON       SUMAYA                      CA     90003557181
29976439191522   BIANEY        ALARCON                     TX     90008184391
29978313291953   RUBEN         HERNANDEZ                   NC     90013923132
29978753891522   ISABEL        OLMOS                       TX     90014927538
29981911161935   JASMIN        RAMIREZ                     CA     90010399111
29983714431631   JOHNTRAIL     JOHNSON                     KS     90013917144
29984742991592   ESTHER        CARDENAS                    TX     90001457429
29986182491953   PHONG         TRANG                       NC     90014981824
29986219591522   MARA          NEVAREZ                     TX     90003602195
29986253651328   CHYRIE        HOWARD                      KY     90015132536
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29986326151336   DERRICK      DAVIS                        OH     66080683261
29987285791828   STEVEN       GERHARD                      OK     90012402857
29988587191828   ENRIQUE      PADILLA                      OK     90013165871
29989816151328   DAVE         HENDERSON                    OH     66033888161
29992231751328   PAGE         TAUCHERT                     OH     90007642317
29992992461558   ARNULFO      MESQUITIC                    TN     90014869924
29993336351328   JERRY        PROFFITT                     OH     66064603363
29993542891241   JAMEICA      ASHLEY                       GA     90011545428
29995269991522   IVETTE       ROLDAN                       TX     90006942699
29995477951336   CANDICE      WILLIAMS                     OH     90008194779
29995661191528   JAIME        RICO                         TX     90001736611
29996272651328   ADRIANA      MALDONADO                    OH     90014242726
29997956951336   JEROME       WALKER                       OH     66040559569
29998276255986   TERESA       ORTIZ                        CA     90012662762
29999175291828   JUAN         RODRIGUEZ TREJO              OK     90012261752
31111466572455   SHEMEKA      SMITH                        PA     51088674665
31111998161981   GONZALEZ     FABIAN                       CA     46014449981
31112812891831   NATASHA      NEWTON                       OK     90010948128
31113166384368   COURTNEY     SINGLETON                    SC     90002931663
31113221654165   TRAVIS       NAPIER                       OR     90013362216
31113439755972   ISMAEL       RIOS                         CA     90010914397
31115122591584   MARIA        RENTERIA                     TX     75074551225
31115812747931   VERONICA     PHILLIPS                     AR     90015518127
31115981155972   SALVADOR     LOPEZ                        CA     90013099811
31116418991584   VIRGINIA     ESTRADA                      TX     75087094189
31116646597131   JOYCE        OLIVO                        OR     90001636465
31117557784368   HILLARY      DRIGGERS                     GA     90012125577
31117812331424   MICHELLE     SMITH                        MO     90005128123
31117964181653   BREE         FORBES                       MO     29000319641
31118149891371   QUINTON      SCHNECK                      KS     90013301498
31118494751369   NAKIIMA      REID                         OH     66002574947
31118926536143   RICARDO      CISNEROS                     TX     90012129265
31119325272496   ANN          RUNKLES                      PA     51098963252
31123259891831   DORIS        LONG                         OK     90013832598
31123392947931   STEPHANIE    RAMIREZ                      AR     90015123929
31123866151339   DANA         PRUITT                       OH     90014308661
31125123591584   ALFRED       FLORES                       TX     75053351235
31126153854165   STEVEN       DUNN                         OR     90010611538
31127316372496   GOLDIE       KLINE                        PA     51093043163
31127845384368   ANTON        WATSON                       SC     90014108453
31128679155931   HARRY        BEDROSIAN                    CA     49040316791
31132331747931   ADEOLA       YUSUF                        AR     90002023317
31132768491831   ANGELIC      RANGEL                       OK     90010287684
31133283491371   MELINDA      RAMOS                        KS     29044122834
31134443172496   MIKAYLA      HORNER                       PA     90010534431
31134659354165   MATTHEW      SINK                         OR     90010826593
31134719841258   MAYA         BOYD                         PA     90014067198
31135691191371   DAN          PETERS                       KS     90002836911
31136135651321   DANIEL       COFFEY                       OH     90010671356
31136237155972   ANGELA       BOCANEGRA                    CA     48095332371
31137463955972   ANTHONY      ENOS                         CA     48016634639
31137631941277   KAYLA        JAKOVAC                      PA     90013796319
31138657733642   TIMOTHY      DIXON                        NC     90010326577
31139314647931   BRIAN        CAMPBELL                     AR     90014073146
31141315651329   TIMOTHY      DANIELS                      OH     90002503156
31142327891232   LAKEN        CHATMAN                      GA     90012573278
31142741341285   COLLEEN      ROSKY                        PA     51055207413
31143182272496   JODELL       SCHOCH                       PA     90010971822
31145991384378   LUZ          JIMENEZ                      SC     90007009913
31146118791232   LINDA        HAUFT                        GA     14579411187
31146315841277   GERALDINE    CAFEO                        PA     51097663158
31148459772455   GINA         FUSTICH                      PA     51069704597
31149293291371   LYNN         EAGLE                        KS     90014102932
31149562231424   HILLARY      STUCKEY                      MO     27561455622
31152528477544   RAUL         MELENDEZ                     NV     90014865284
31153417551338   JENNIFER     DRAGISIC                     OH     90008384175
31154556772496   ASHLY        HULL                         PA     90014885567
31155463955972   ANTHONY      ENOS                         CA     48016634639
31155475477544   MAYRA        SALDANA                      NV     90011494754
31156139157128   GUSTAVO      TORRES                       VA     81009361391
31156619647931   JUDITH       LUGO                         AR     90012986196
31157732493772   GEORGE       WHITE                        OH     64506717324
31157778747931   JESSICA      WRIGHT                       AR     90010517787
31158494681642   NICHOLAS     CARTER                       MO     90006344946
31158958991831   JEFFERY      HARRIS                       OK     90010169589
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31161463391531   SARAHI       LUJAN                        TX     90009584633
31162685454165   JESICA       RAMIREZ                      OR     90005626854
31163948855972   FRANSICO     MUNEZ                        CA     90007809488
31163963777544   JOSEPH       RAMIREZ                      NV     90011089637
31164538954165   JENNIFER     LAKE                         OR     90013375389
31164557791537   ARTURO       JIMENEZ                      TX     90001005577
31164563677544   ANGELICA     VARGAS-MURILLO               NV     90012485636
31165771591232   MARY         ALVINO                       GA     90014577715
31165931291584   TIMOTHY      DENISON                      TX     90008549312
31166663291584   ASHLEY       PARRA                        TX     90011246632
31167398177544   DAISY        HERNANDEZ-FLORES             NV     90014823981
31167782691584   ROBERT       CHAVEZ                       TX     90014747826
31167876641277   NICK         SHEEHAN                      PA     90014828766
31168334741258   PAULA        DUMAS                        PA     51072033347
31168534991831   MARIA        MORRIS                       OK     21096345349
31168762347931   SUMMER       NELSON                       AR     90015597623
31168766136143   JACKELY      OLIVARES                     TX     90014707661
31169593491232   HASAMANTA    JOHNSON                      GA     90014855934
31171453191831   TAMARA       DANIEL                       OK     90011494531
31171668672496   THERESA      SOLTIS                       PA     90004306686
31172327884368   MANUEL       GARCIA                       SC     90014153278
31172349554165   SHELLY       SMITH                        OR     47001303495
31172396791831   JENNIFER     SOUTH                        OK     21052373967
31172663591584   LAURA        JOHNSON                      TX     90011246635
31172775855972   RICARDO      BRAN                         CA     90002757758
31172914691232   NOHEMI       ARREOLA                      GA     90015229146
31173417155972   MICHELLE D   TERRY                        CA     90007144171
31173779554165   REGECCA      FITZGERALD                   OR     90005007795
31173969291584   GUILLERMO    FERNANDEZ                    TX     90013819692
31174951655949   ALMA         SARABIA                      CA     90000969516
31175743791584   SAENZ        BLANCA                       TX     90006017437
31176169891831   ROBERT       EVANS                        OK     21022131698
31176175131424   VALERIE      MACK                         MO     90011481751
31176254736143   GREGORY      RUEFF                        TX     90007652547
31176696955972   CRAWFORD     GUSMAN                       CA     90004296969
31177426384368   GABRIEL      PAZ                          SC     90014734263
31177548641285   KATHLEEN     RICHARDSON                   PA     51010255486
31178288672496   TARA         NICHOLSON                    PA     90013382886
31178454184368   ELIAS        RODRIGUEZ LOPEZ              SC     90014154541
31178648591584   SAMUEL       SANCHEZ                      TX     90013946485
31178861854165   KATHERINE    YAOGO                        OR     90001178618
31181498491371   OSCEOLA      BENTLET                      KS     90013824984
31181586991893   JIMMIE       CRAFTON                      OK     21066135869
31182181385921   LAURA        WALLACE                      KY     90009861813
31182443855949   ESTABAN      ACEVEDO                      CA     90000444438
31182463141258   EILEEN       VINCENTI                     PA     51063114631
31182845991371   ALOISHIA     MARSHALL                     MO     90014648459
31183311791584   DANIEL       HERNANDEZ                    TX     90006393117
31183434547931   ALEXIS       SANCHEZ                      AR     90014994345
31184728241285   CORY         DEVAUGHN                     PA     90011677282
31185611854165   JOHNATHAN    HODGIN                       OR     90011616118
31185744831424   CHASSIDY     HOWARD                       MO     90008357448
31187313191549   JANET        COMENERO                     TX     90014903131
31187551277544   LINDSEY      CALVERY                      NV     43072275512
31187651291584   SUSANA       TERRAZAS                     TX     75020776512
31187753351369   JOE          HORNSBY                      OH     66032497533
31188371336143   PAYGO        IVR ACTIVATION               TX     90014893713
31188613791232   DONNA        FORKNER                      GA     90006616137
31188923755972   THONG LEE    PHOUNY                       CA     48010689237
31188994955921   CASEY        JAMES                        CA     90015319949
31189783831424   JOYCE        JONES                        MO     27515217838
31191264741277   RANAE        REIFMAN                      PA     51087442647
31191852947931   NATALIE      WELLS                        AR     90012978529
31192792555936   DORRINNE     SHARP                        CA     90005887925
31193491251369   NANCY        ADAMS                        OH     90014924912
31193769177544   JOSE         RUIZ-MERCADO                 NV     43080877691
31193844591893   KEYANA       GRAHAM                       OK     21012818445
31194246451369   AMY          STANLEY                      OH     66012842464
31194515184368   TYSHENE      DOCTOR                       SC     90014925151
31195588577544   CHRISTY      BARDASHOV                    NV     43024495885
31196267941258   CARL         JONES                        PA     90014862679
31197662491584   HERMILA      DELGADO                      TX     90013946624
31197885477544   FILOMENA     SMOKEY                       NV     43088028854
31198735684368   SAMANTHE     WRIGHT                       SC     90013857356
31198998691525   JOHANA       MIRANDA                      TX     90002669986
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31211881691831   CHRISTY      MARTIN                       OK     90001938816
31214158647931   TRUMAYNE     CUFFIE                       AR     90012901586
31214559847931   ANGELA       SPARKS                       AR     90013755598
31215815991831   SAMANTHA     PERDON                       OK     90011548159
31216759284368   CESAR        BARTOLON                     SC     90012917592
31217475391584   MARIO        GABALDON                     TX     90009354753
31219474736143   ORLANDO      RODRIGUEZ                    TX     73517404747
31219672391584   MICHAEL      LUONG                        TX     90011246723
31219954291584   JANET        GARDEA                       TX     90013009542
31221474736143   ORLANDO      RODRIGUEZ                    TX     73517404747
31222125141285   ALAJUAN      MOSS                         PA     51062761251
31222441284368   LEONOR       LATTARO                      SC     90014884412
31223321657128   FAUSTINO     LOPEZ                        VA     81035273216
31224191251339   BECKY        COX                          OH     90011231912
31224541166134   PATRICIA     GALVAN                       CA     90015495411
31224579654165   WOLFSKILL    TRENTON                      OR     90006845796
31225126493744   ZACK         KESTING                      OH     90015111264
31225157831424   EBONY        FIELDS                       MO     27562531578
31225491755972   JOSE         VASQUEZ                      CA     90011174917
31226225751369   CARLA        GOINES                       OH     90008482257
31226415772496   CARMELA      PRICE                        PA     90013634157
31228674291584   BRYAN        PARRA                        TX     90011246742
31229331191831   EDWARD       LEDBETTER                    OK     21045393311
31231232751339   JESSICA      MEADOWS                      OH     90008562327
31232214577544   AIA          SEVE                         NV     43080952145
31232476491831   FYDIO        PLETCHER                     OK     90015394764
31233183391371   JEFFERY      WOOD                         KS     90015171833
31237911741285   RHETT        SPEARS                       PA     51074669117
31237933455972   JORGE        ROJAS                        CA     90015199334
31237972536143   MARIA        HERNADEZ                     TX     73573319725
31238676757124   ROBERT       WINTERS                      VA     90008526767
31238886954154   DARREN       JONES                        OR     90013738869
31239677755949   JOHN         FLETCHER                     CA     49092026777
31241927736143   GARRETT      BARHAM                       TX     90013009277
31243474136143   BRIAN        ARTERBERRY                   TX     90009174741
31244359636143   TODD         OHLSON                       TX     90015143596
31244957491831   RODNEY       GIBSON                       OK     21051679574
31245554491831   CYNTHIA      GATES                        OK     90009435544
31245591141277   NINA         WILLIAMS                     PA     51087495911
31246373972496   CHAZ         WARDELL                      PA     90011613739
31246521591371   MAURICIO     MARTINEZ                     KS     90014915215
31248175877544   ASHLEE       COPE                         NV     90015211758
31249912555964   BENITO       GOMEZ                        CA     90004799125
31251532493761   RONDA        MITCHELL                     OH     90009315324
31251587141277   NICOLE       MCDOODLE                     PA     90009075871
31251973291831   DONALD       GIBSON                       OK     21071369732
31252364691371   LETICIA      HERRERA                      KS     90013043646
31253992177544   MANUELA      CHAVEZ                       NV     43003629921
31255169191584   JAQUELINE    BOUCHE                       TX     90010691691
31255957491831   RODNEY       GIBSON                       OK     21051679574
31256316155972   VALENTIN     MENDOZA                      CA     90013313161
31256894372496   NICOLE       SEMANS                       PA     51056078943
31261168455949   TONY         MASON                        CA     49008481684
31261477391584   LILIANA      GUTIERREZ                    TX     90013204773
31263254351339   VALETTA      WEEKS                        OH     90012992543
31263647691371   ROBERT       SMITH                        KS     90011156476
31263798241258   EARNEST      FRAZIER                      PA     51092217982
31266713691584   JORGE        ZAVALA                       TX     90013397136
31266785984368   SALVADOR     CARDONA MARTINEZ             SC     14592027859
31267785691371   TARA         PIMENTAL                     KS     90013407856
31269696654165   JOLENE       DOBBINS                      OR     47083986966
31271588855972   ESTEBEN      CERVANTES                    CA     90000485888
31272416955949   PHILLIP      MARTIN                       CA     49002484169
31273652941277   YVONNE       CURRY                        PA     51018236529
31274283451369   DOMINIQUE    BERKIL                       OH     90014682834
31276535761945   AURIEL       SEARCIE                      CA     90008695357
31277914691371   JOSE         BURGOA                       KS     90012119146
31279132831424   MICHELLE     BAILEY                       MO     90004811328
31279981936143   JOERICK      RODRIGUEZ                    TX     90011009819
31281947731424   CHRIS        BUTLER                       MO     90014509477
31282236136143   STEPHANIE    PENA                         TX     90013982361
31282683791584   YASMIN       ARANGO                       TX     90011246837
31282937991831   GAIL         BENJAMIN                     OK     90014019379
31283317172496   TRACY        FROWCZEK                     PA     90004783171
31284265191584   MERCEDES     TOVAR                        TX     75061442651
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31285571255949   DUBLAS IRAEL   BONILLA                    CA     90006895712
31285683691371   ARMANDO        GALVAN                     KS     90011626836
31286625391893   MARY           HAYES                      OK     21083806253
31287292936143   JESSIE         CADENA                     TX     90012722929
31287662954165   JOEY           WHITTAKER                  OR     47061216629
31287692347931   STEPEN         HARRISON                   AR     25048426923
31289647647931   JEREMIAH       HALE                       AR     90008146476
31292835597126   MYRA           ESQUIVEL                   OR     90014528355
31293113891371   HECTOR         TEJADA                     KS     90014191138
31293524755949   CARMAN         RUBIO                      CA     49089785247
31294235791232   TYSON          BROWN                      GA     90013402357
31294467954165   SCOTT          O'NEIL                     OR     47085254679
31294817972496   TIKIA          BURTON                     PA     90009308179
31295653755972   PAULA          GAMA                       CA     90009426537
31296574291371   NORMA          SUAREZ                     KS     29098565742
31296695491584   MARIA          BETANCOURT                 TX     90013946954
31297129831699   JOHN           ROETS                      KS     22006551298
31297828231424   MILES          ROBINSON                   MO     90003138282
31297937657128   OSVALDO        BORDA                      VA     81053439376
31298366636143   CHASTITY       CASTILLO                   TX     90013653666
31299443951369   PENNY          WEAVER                     OH     90013884439
31299562272496   EDWIN          LOWRY                      PA     90014865622
31299824291893   FONDRA         EDWARDS                    OK     21081078242
31299862647931   NOE            PACHECO                    AR     25084328626
31311287791584   GUADALUPE      MENDEZ                     TX     90008092877
31312381551339   BRIAN          CHILDERS                   OH     66001683815
31313267872496   NICOLE         HOMER                      PA     90010202678
31313562555949   JOSE           FERNANDEZ                  CA     90010455625
31314154755949   JESUS          LOPEZ                      CA     49044401547
31314213636143   MIGUEL         MARTINEZ                   TX     90014152136
31314518884334   VICTOR         PAYED                      SC     90009175188
31314885947931   HEATHER        STAMPS                     AR     90006718859
31316373361981   ULISES         ORNELAS                    CA     46092483733
31317149155972   PAUL           MATA                       CA     90005911491
31317433731424   LAKITA         TAYLOR                     MO     90012954337
31318599191584   JASHUA         LUTAN                      TX     90003735991
31318658455964   EDWARD         MONTANO                    CA     90009216584
31319245791232   TIA            WILLIAMS                   GA     90012712457
31322646955972   BRITNI         WILLIAMS                   CA     48084756469
31323116872496   REBECCA        BREAKIRON                  PA     51093861168
31324243991371   DAWN           PERRY                      KS     90003912439
31324894441285   BRANDIS        THOMPSON                   PA     51037688944
31325257591584   SERAFIN        ADAME                      TX     75040412575
31325553636143   ALEX           PAZ                        TX     90013795536
31327734131424   XAVIER         BROWN                      MO     27573257341
31327897355949   MICHELLE       GALVIN                     CA     90014288973
31329681191831   MICHELLE       JONES                      OK     21067546811
31331215251339   ROBMEKA        MOORE                      OH     90014852152
31331248291893   RITA           OLMOS                      OK     21041002482
31332285855939   SKYE           DANCER                     CA     48017242858
31332353741285   ANTONIO        ALLEN                      PA     90011243537
31332586772496   EVELYN         HARRIS                     PA     90014835867
31332715141258   REGIS          CASE                       PA     90011187151
31333116291232   GLORIA         HARDEN                     GA     90013671162
31333849591893   JOLANTA        ALONSO                     OK     21088118495
31333966881681   MARIA          DAVIDSON                   MO     90003789668
31335627191584   NICANDRO       MIJAREZ                    TX     75084906271
31338874341277   CARLA          STREET                     PA     90013838743
31339293541277   DEMETRIUS      DAVIS                      PA     90002832935
31339477541285   MICHAEL        SKONCEY                    PA     90013234775
31341116391355   CLORISSA       SILVER                     KS     90010751163
31341684391549   LAURA A        CADENA                     TX     90007676843
31342121854165   MICHAEL        ESTORJA                    OR     90009401218
31342373191371   SEAN           NICKS                      KS     29057333731
31342849972496   TYSON          KESLAR                     PA     51004998499
31344266631472   DARYL          WEST                       MO     90015012666
31344328336143   KEVIN          BLACK                      TX     73577733283
31344527591584   CHANTAL        ARMENDARIZ                 TX     90013095275
31345366577544   HEATHER        KENNY                      NV     90015593665
31345691391371   CARMEN         CONTRERAS                  KS     90002876913
31346853884368   VENECIA        SANTIAGO                   SC     90012628538
31347945641258   SAUNTIA        MCCLAIN                    PA     90002269456
31348513891584   BERTHA         HERRERA                    TX     90002065138
31348733141277   SALLY          JAMES                      PA     90010907331
31349497936143   TINO           ALVAREZ                    TX     73507414979
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31349567947931   SHAWNETTA    MARTIN                       AR     90014305679
31349576651369   ALFREDO      ANDERSON                     OH     90001675766
31349578791584   IGNACIO      VASQUEZ                      TX     75055945787
31349614831424   BRYAN        MCCLELLAND                   MO     90011206148
31349732741277   MARY         SACCO                        PA     51089317327
31352457377544   MARTHA       DIAZ                         NV     90011844573
31353379684368   ROSALIO      MEJIA                        SC     90006353796
31353894572496   DOUGLAS      MORAN                        PA     90013188945
31353971641258   WIRELESS     CALLER                       PA     90015239716
31354424791371   ANGELA       SMITH                        KS     90011154247
31354726255949   JASON        RYAN                         CA     90003377262
31355235691881   IRENE        TRINIDAD                     OK     21009052356
31356249555949   JULIA        HAYNES                       CA     49062072495
31356319972496   SUZANNE      SAVAGE                       PA     51060923199
31358657377544   KAREN        DICKERSON                    NV     90014336573
31362244255949   ANTONIO      SANDOVAL                     CA     90004792442
31362342293754   MADALYN      KOPCZYNSKI                   OH     90013003422
31362741172441   TROY         SMITH                        PA     90010747411
31363293891584   NINA         CORDOVA                      TX     75001382938
31363424151369   ASHLEY       MCCLUNG                      OH     66059054241
31363526991371   LACI         HUTTON                       KS     90007815269
31363763191584   MARIA        MIRANDA                      TX     90005707631
31363989554165   TANYA        HUFF                         OR     47039319895
31364364191371   JAMES        STALLINGS                    KS     90009733641
31364627441258   LINDSAY      NELSON                       PA     90011506274
31364839877544   KRISTINA     COOPER                       NV     90010138398
31366266631472   DARYL        WEST                         MO     90015012666
31366752836143   TAMMY        DAVIS                        TX     90014627528
31368696747931   RANDY        SAIRBANKS                    AR     90015596967
31369781972496   BARRY        PRADELLA JR                  PA     51010877819
31371559336143   SABRINA      ZAMORA                       TX     90011705593
31372317531424   KYLA         LARDGE                       MO     90008783175
31372869951369   AMBER        FORREST                      OH     90012378699
31374151991831   LAURA        ROBLES                       OK     90009451519
31374368455949   LISA         BELTRAN                      CA     90015263684
31374956741277   AKBAR        MAKHKAMBAEV                  PA     90012329567
31376296536143   DANIEL       GARICA                       TX     90005902965
31376868355949   GE           YANG VANG                    CA     49035648683
31377237391831   AMY          HILL                         OK     90013012373
31377912877544   REMI         HANSHEW                      NV     90014549128
31378498991584   THOMAS       GORDON                       TX     90010114989
31379547191831   ROBERT       POWELL                       OK     21025975471
31379775755949   CLAUDIA      HUITRON                      CA     49013757757
31382345255949   RONNIE       URAN                         CA     49070253452
31383257472496   RICHARD      FLYNN                        PA     90011032574
31384466591232   MEGEAL       JORDAN                       SC     90014584665
31385171572496   JOSHUA       PERHUS                       PA     51085751715
31385379131424   KYESHA       HOWARD                       MO     90007813791
31385397755972   LINDSAY      STRYD                        CO     90012033977
31385527991831   RICKY        WILSON                       OK     90015275279
31385844681642   JANET        BRUNSON                      MO     29070038446
31385959491584   CARMEN       CALDERON                     TX     90009709594
31386817784368   KAIA         LICEA                        SC     14509478177
31387355851339   AMY          BALLINGER                    OH     90011693558
31387369272496   ALEXANDRIA   ALLEN                        PA     51091163692
31387838481642   JUAN         GARAY                        MO     29011818384
31388277651369   KELLY        WALKER                       OH     90013702776
31388894941258   SEAN         QUINLAN                      PA     90013518949
31391755291584   HORTENCIA    PEREZ                        TX     75091297552
31392687284368   ERIKA        SANDOVAL                     SC     90014926872
31393687284368   ERIKA        SANDOVAL                     SC     90014926872
31393817441285   JUDY         LINKES                       PA     90009858174
31394281351339   ISABEL       RIO                          KY     90014662813
31395687492886   PAUBLO       GAYOSSO                      AZ     90014796874
31396219593761   BRANDI       CARGLE                       OH     90011612195
31398566191584   MARTHA       MASCORRO                     TX     75087105661
31411613755972   ARMANDO      TIRADO                       CA     90001366137
31411962854165   DERRICK      KUPPER                       OR     90013949628
31411964554165   DERRICK      KUPPER                       OR     90007569645
31412797951369   BALENTINA    CRUZ                         OH     90009367979
31413618691831   VIRINGIA     OJEDA NIETO                  OK     90009736186
31414994591371   RODOLFO      RAMIREZ                      KS     90005569945
31415211172496   SUSAN        LEIGHLITER                   PA     90015032111
31416156281642   ERIC         MAIR                         MO     29005101562
31418515941258   KEITH        ROSSER                       PA     51037325159
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31418562284368   HILDA         NAVA                        SC     90014965622
31418586431424   MICHELLE      ASHLEY                      MO     90014885864
31419251555949   RUSSELL       DEATHERAGE                  CA     90000412515
31419396254165   CASEY         ALLISON                     OR     47008413962
31419942147931   MEGAN         TUGGLE                      AR     90015129421
31422317654165   JAMES         MICHAUD                     OR     90015213176
31422866991893   KORI          SMITH                       OK     90014118669
31425743591584   VELIA         RINCON                      TX     90013097435
31426624493744   JESSICA       WARD                        OH     90005816244
31426757391584   GUADALUPE     ARAIZA                      TX     90013947573
31426947351339   BRITTNEY      FELTNER                     OH     90013829473
31427237855972   LIZETTE       HERNANDEZ                   CA     90013652378
31428919431424   DANIELLE      HEISNER                     MO     90014019194
31429426172496   KENNETH       HOLT                        PA     51051304261
31429538691232   REBECCA       HUTCHENSON                  GA     90013365386
31431958772496   CHRISTOPHER   CROMO                       PA     90014739587
31432592347931   VALERIE       QUINTANA                    AR     90007735923
31433924777544   PATRICK       TOWSLEY                     NV     43010939247
31434865291232   TONYA         JACKSON                     GA     14590668652
31435588451369   RAYMOND       JONES                       OH     90012235884
31435889641277   KIERA         JOHNSON                     PA     90006188896
31436446655972   ISABEL        MENDOZA                     CA     48051624466
31436743331424   JUSTIN        SCHUETTENBERG               MO     27567297433
31439944255972   INDERJIT      GHOTRA                      CA     90011549442
31443133991371   ZACKARY       SULLAVAN                    KS     90015471339
31443546331424   SARAH         PETERS                      MO     90011475463
31443547551339   LYNN          PERRY                       OH     66092225475
31444146772496   DARLA         CODE                        PA     51074291467
31444893254165   KIM           HOOGENDOORN                 OR     47079858932
31445715441258   CHRISTOPHER   WILT                        PA     90004837154
31445956751369   DANIEL        HALL                        OH     90006649567
31446472436143   LYDIA         ARAGON                      TX     90014954724
31446953554165   HARRIET       ROBINSON                    OR     47088669535
31447376977544   LUCIO         NUNEZ-SANCHEZ               NV     90013173769
31447795391831   CRYSTAL       MERTZ                       OK     90006127953
31449246941277   LATISHA       IRVIN                       PA     90015132469
31449457377544   MARTHA        DIAZ                        NV     90011844573
31454673554165   KRISTA        SMEAD                       OR     90014346735
31455814672496   KEITH         MILLER                      PA     90004378146
31456773291584   ELISA         MORALES                     TX     90013947732
31456979631424   AMELIA        HODGE                       MO     27575819796
31457445755972   TONYA         MORRIS                      CA     48086794457
31458218341277   SIMOM         AMDABLO                     PA     90011792183
31459483791371   RICARDO       MONROY                      KS     90011894837
31461115993744   ALEXANDRIA    VAN DYKE                    OH     90002551159
31461285491232   ANDRE         JACKSON                     GA     90015132854
31462459251339   ROBERT        IRVIN                       OH     90012324592
31463598751339   JULIA         MITCHELL                    OH     90005495987
31464392155972   JAVIER        HERMOSO                     CA     48083773921
31464457141285   AMY           YOUNG                       PA     51026194571
31464736785995   CHARELL       HOLMAN                      KY     90002427367
31464773791584   JONATHAN      GARCIA                      TX     90013947737
31466377936143   CHAD          HARDIN                      TX     90010863779
31466489491885   SHEILA        MIZE                        OK     21006874894
31467433141277   JEANNE        MAIMONE                     PA     51007964331
31468113177544   TEARA         VORIS                       NV     90004691131
31469253554165   PAYGO         IVR ACTIVATION              OR     90013312535
31471614585944   JEREMY        MCCULLAH                    KY     90013216145
31472622291584   ROSA          ALVARADO                    TX     90000496222
31473497772496   MARQUIS       BAILEY                      PA     90013014977
31474178547931   LUKAS         AHEARN                      AR     90013891785
31474667791232   ROY           DICKEY                      GA     90013936677
31474818651369   TORY          COLEMAN                     OH     90008228186
31476387672496   APRIL         RICHTER                     PA     90014073876
31476851272496   MAURICE       FITZGERALD                  PA     90005128512
31477474351339   ASHLEY        TAYLOR                      OH     90014544743
31478946841285   CARLA         ELLIS                       PA     90013449468
31481344454165   MICOL         HOLMES                      OR     90011333444
31481459741277   JEFF          SMITH                       PA     90015234597
31481555491831   ROSA          CANTERO                     OK     90013885554
31483513951369   AUSTIN        FIELDS                      OH     90008375139
31484111891587   CONAN         VALLES                      NM     90003741118
31484256581642   RODRIGO       GARCIA                      MO     90012172565
31484345751341   DARSHENEA     WILSON                      OH     90010373457
31484732172496   CHAD          MILLS                       PA     90015167321
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31484796551339   JANIE            ROSS                     OH     90014097965
31485274177544   ANDRES           VILLALOBOS               NV     90015162741
31485718251339   JARED            PITMAN                   OH     90006497182
31486321781257   KIMBERLY         DIXIE                    IN     90012863217
31486479172496   KEVIN            BAKER                    PA     90014574791
31487194791831   KHAILA           VANG                     OK     90012701947
31487537231424   SIMA             SMITH                    MO     27508605372
31488131655972   VINCENT          MARTINEZ                 CA     90012891316
31489152972496   DIANE PETERSON   DIANE PETERSON           PA     90013801529
31492173477544   DENNIS           BROWNS                   NV     43027421734
31492186191371   MICHAEL          GARRETT                  KS     90014711861
31492191641285   WAYNE            KELLEY                   PA     51089351916
31492941877544   DENNIS           BROWNS                   NV     90014489418
31493788491584   SUMAYO           RAYAS                    NM     90012057884
31494215754165   JAMIE            RAJKOVIC                 OR     47023302157
31495192172496   JENNIFER         BUTLER                   PA     90014781921
31495745441285   ROBIN            JENKINS                  PA     51006277454
31497636391584   RAFAEL           ESPINOZA                 TX     90001646363
31497693355972   CHRISTINA        VIDAL                    CA     90009186933
31499327151369   RHODA            EDWARDS                  OH     90012613271
31499529591831   ZAKIYA           BELL                     OK     90005635295
31511224151369   WILLIAM          STOVALL                  OH     90015072241
31511556431472   BRITTANY         MARSHALL                 MO     90005095564
31511744651339   DECEMBER         BRYANT                   OH     66049577446
31513258541285   MATTHEW          KACIK                    PA     51097442585
31514124354165   VICTORIA         HUMMEL                   OR     90012371243
31515832555949   CHRISTINA        GILBERTH                 CA     90004688325
31516536172496   DANA             ROMONOSKY                PA     51061075361
31518826277544   KIM              EWING                    NV     90015248262
31519174677544   MARK             DELA-FUENTE              NV     90005161746
31522445191831   WILLIAM          LAWSON                   OK     21088214451
31523615391371   TYLER            DRUSSELL                 KS     29079056153
31524897655972   MARY             PETTY                    CA     48024458976
31525159355972   WENDY            BRAVO                    CA     90013101593
31525413172496   MELISSA          JOSEPH                   PA     51059054131
31526218391525   CORINA           SOLIS                    TX     90005752183
31526448681681   JODY             MCCAULEY                 MO     90012094486
31527693941277   JOHN             SCHWARTZ                 PA     51065896939
31529553851339   RHIANNON         BECKETT                  OH     90003965538
31532246891371   MARY             ZAVALA                   MO     90010972468
31532277255949   KIMBERLY         JOHNSON                  CA     90012832772
31532349255949   ELEANOR          MARTINEZ                 CA     90007583492
31532697736143   ALENA            BROWN                    TX     90002966977
31532879654165   GIOVANNI         ROJAS                    OR     47013908796
31532924177584   DUANE            DONRE                    NV     90009019241
31533734655972   THERESA          HARVEY                   CA     90001807346
31534272591831   JERMAINE         MILLER                   OK     90014402725
31534834136143   VERONICA         SENICEROS                TX     73588858341
31535327691587   NANCY            AGUILAR                  TX     90012053276
31536511141277   FAITH            HANSEN                   PA     90014835111
31536837955949   GABRIELA         MEIJA                    CA     90000578379
31538794451339   RYAN             LOVELY                   OH     90006937944
31539114591531   MOISES           APODACA                  NM     90015081145
31539578741285   JACKSON          CURTIS                   PA     51037215787
31541744255972   MARCOS           RIVERA SR                CA     90014177442
31542559555949   GENOVEVA         SANCHEZ                  CA     49048785595
31543811491584   JESUS            ORTIZ                    TX     75096388114
31544376141285   AHMAD            HANDAN                   PA     90014883761
31544413172496   MELISSA          JOSEPH                   PA     51059054131
31544436551339   KASEY            HENSLEY                  OH     90009764365
31544474691371   LATASHA          TRAZIER                  KS     90014724746
31545877541258   JERROD           BROWN                    PA     51019778775
31546139147873   JESSICA          HUGHES                   GA     90001201391
31547751131424   COURTNEY         COOK                     MO     27575757511
31548965941285   MICHELLE         ADAMS                    PA     51042629659
31549115277544   REFUGIO          JIMENEZ                  NV     43010281152
31553122754165   SARAH            FUGOK                    OR     47017341227
31554781551339   NICK             MILLER                   OH     90008257815
31555771891584   AURORA           HERRERA                  TX     75046607718
31556644691538   LORENA           GONZALEZ                 TX     90012526446
31557953741258   BRITTANY         LOWER                    PA     90011609537
31558443841258   VERA             LOMAX                    PA     51042224438
31558489855972   JOHANNA          CASTANEDA                CA     90010344898
31559255954165   CHRIS            GREEN                    OR     90010622559
31561243161972   JOSE             GOMEZ JR                 CA     90009202431
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31561919191584   RAMON        OLIVAS                       TX     75041749191
31564648172496   JOANN        SMITH                        PA     51064826481
31565298381642   ROCIO        MACIAS                       MO     29069942983
31565443777544   PAULA        GARCIA                       NV     90009044437
31566877936143   MIRANDA      ZUNIGA                       TX     90012938779
31567166836143   MIHAEL       MENDOZA                      TX     90012771668
31567297491584   RAYMUNDO     SIMENTAL                     TX     90012962974
31567487981642   CALVIN       CHILDRESS                    MO     29064754879
31567949147931   JESUS        VALENCIA                     AR     90015609491
31568296131424   KELLY        DUNCAN                       MO     27564622961
31568572791232   PEDRO        GASPAR LAZARO                GA     90011425727
31568739355949   VIANEY       GRANDA                       CA     90008377393
31569578251369   WYATT        TOLIVER                      OH     90010155782
31571134491584   LILIANA      ORTEGA                       TX     75086781344
31571253254165   RUSSEL       HOWARD                       OR     47043352532
31571528651369   MELISSA      MILLS                        OH     66098675286
31572175791371   MIGUEL       PEREZ                        KS     29001491757
31572267591584   ERNESTO      SIMENTAL                     TX     90009702675
31572553972496   ELIZABETH    WINGROVE                     PA     51051625539
31574281547931   JESSICA      MCLENNAN                     AR     90009512815
31576211291371   ABRAHAM      HERNANDEZ                    KS     90013302112
31576322751369   NATASHA      VANDERGRIFF                  OH     90008483227
31576657247931   BONNIE       JORDAN                       AR     90012566572
31583487351339   LISA         SIZEMORE                     OH     90009164873
31584561755949   LEON         JONES                        CA     90012145617
31584738991371   GILBERT      OJONG                        KS     29060837389
31586449291371   DAWN         QUIRARTE                     KS     90009764492
31588448372496   WILLIAM      SIMON                        PA     51094744483
31591851677544   TRINITY      MATTHEWS                     NV     90013738516
31592275455972   LUIS         GUZMAN                       CA     90008072754
31593334451339   SABAH        IQBAL                        OH     90009543344
31593528291831   LEE          DAVIS                        OK     21062805282
31593847491232   MARK         BRANEGAN 2                   GA     90014318474
31594684351339   THOMAS B     SORRELL                      OH     90015466843
31594764777544   LARISSA      FAULKNER                     NV     43090317647
31595595977544   RAELLE       MARQUIS                      NV     90015055959
31595675691584   ROBERT       SMITH                        TX     75030086756
31595878741277   CHRIS        GILES                        PA     51045228787
31596462154165   JESSICA      CAMPBELL                     OR     47040734621
31596589151369   FRANCES      MOORE                        OH     90011055891
31597199731424   TIJUANA      BARNETT                      MO     90005541997
31597742472496   ROBERT       JOHNSTON                     PA     90014487424
31598639741258   ALLAN        MARCELLE                     PA     51076926397
31599622855949   BRANDON      GIBSON                       CA     90009646228
31611739541277   RONALD       KILLEN                       PA     51061107395
31612316871921   JUDY         CLAY                         CO     90003103168
31612475572496   KELLY        HOLT                         PA     51001084755
31612532154165   JEFF         BEARDEN                      OR     47016795321
31613312854165   ALBA         LINDQUIST                    OR     90000703128
31613356536143   LILIAN       THREADGILL                   TX     73502043565
31614516251339   JAMIE        TINCHER                      OH     90008605162
31614753155972   RENE         GONZALES                     CA     90009837531
31615222651339   MICHAEL      SMITH                        OH     90013252226
31615225341285   WAYNE        TYREE                        PA     90012872253
31617581254165   JESUS        MUNGUIA                      OR     90012345812
31621741571923   DURAN        YOUNG                        CO     32008837415
31624378651369   ANTHONY      MANN                         OH     66045803786
31624547947931   SMANTHA      REDDING                      AR     90014255479
31626182647931   ANDREZ E     MENDEZ                       AR     90014151826
31626274972496   KEN          BRINK                        PA     90010972749
31626432747931   IRENE        TORRES                       NM     90006004327
31627639891584   GENEVA       FLORES                       TX     90011906398
31627656555972   LINDA        SOUSA                        CA     90014076565
31627912991584   JESSE        TORRES                       TX     90010349129
31627945851339   DERRICK      GEORGE                       OH     90007479458
31628552155972   SAMANTHA     RIOS                         CA     90014855521
31628752791232   ROSHELL      GLEESE                       GA     90011637527
31629544931424   WILLIAM      AMOS                         MO     90011525449
31629842991831   KEEVA        HARRIS                       OK     90014008429
31631249155972   AMY          PARKS                        CA     90015132491
31631335155972   DIANA        QUINTERO                     CA     48089183351
31631881451369   GUSTAVO      MALDONADO                    OH     66079778814
31633136736143   MICHEAL      FREEMAN                      TX     90014121367
31633284955949   FRANCISCO    HERNANDEZ                    CA     49030972849
31633644561925   VERNON       FORBES                       CA     90013476445
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31634468541285   SHANITA      CASH-DAVISTON                PA     90013114685
31634694891831   CONSUELO     ESCALANTE                    OK     90004266948
31634723631424   ROD          LINK                         MO     90011287236
31635485755921   JULITA       RODRIQUEZ                    CA     49013134857
31636351141285   CYNTHIA      MARTIN                       PA     51090923511
31636523941258   DANIEL       BRADWISCH                    PA     90013395239
31636616941277   ANGELA       BRUNDAGE                     PA     51025776169
31637687355972   JOY          FRAUSTO                      CA     48025536873
31637893291232   ROB          SEDLACK                      GA     90012498932
31638851431424   NORMAN       AKINS                        MO     90003738514
31639414936143   HECTOR       ZEPEDA                       TX     73586954149
31641367255972   ALEX         GARCIA                       CA     48082583672
31641836141285   ALICIA       DUNMIRE                      PA     51005248361
31642616941277   ANGELA       BRUNDAGE                     PA     51025776169
31644547641258   BRITTNEY     ARNOLD                       PA     51005205476
31645696991371   PATRICK      DIXON                        MO     90011176969
31646533291232   JEQUETTA     BROWN                        GA     14513515332
31647863791371   LAKISHA      BROWN                        KS     90014788637
31648442655949   ANGELILCA    GOMEZ                        CA     90014364426
31651458391584   MICHELLE     MENDOZA                      TX     75072234583
31653718391584   GEORGE       MC CUSTER                    TX     90014087183
31653776455949   SHALLACE     MOORE                        CA     90012867764
31654454141277   ERIC         WILLIAMS                     PA     90014934541
31658795691232   GORGE        ROBINSON                     GA     90011637956
31658874754165   KASIE        SALLENG                      OR     47011558747
31659641655972   ANTHONY      SANCHEZ                      CA     90009166416
31659829141258   ALINA        BIVINS                       PA     90007558291
31661396372496   SHAYLON      SMITH                        PA     90013273963
31662468541285   SHANITA      CASH-DAVISTON                PA     90013114685
31664352891554   JOSEPH       PLOOF                        TX     90011333528
31664442655949   ANGELILCA    GOMEZ                        CA     90014364426
31666295351321   ERICA        SMITH                        OH     90008922953
31666461255949   JACQUELINE   MARTINEZ                     CA     90013784612
31666583436143   EMMANUEL     MCNICKLES                    TX     90012255834
31667427391232   LATANAYA     GRIFFIN                      GA     90014484273
31668498655949   JANIE        VASQUEZ                      CA     90009984986
31671529977544   AARON        KLAES                        NV     90013255299
31671672891584   IBARRA       ELECRICAL CONTR              TX     75029776728
31671773336143   JOSE         LOPEZ                        TX     90011917733
31672281541277   DUSTIN       JONES                        PA     51016902815
31672345791232   ROBERT       KENNEDY                      GA     14571503457
31672353141285   DEBORAH      SHEFFEY                      PA     51014283531
31673233672496   TIERRA       HALFKENNY                    PA     51055982336
31674193155972   ELISA        FLORES                       CA     90012321931
31674382455949   MELISSA      SANTILLANEZ                  CA     90004193824
31674928341258   LAURA        FRONCZAK                     PA     90015199283
31674959841285   BARBARA      HARRIS                       PA     51070909598
31677192591371   ALEJANDRO    LOPEZ                        KS     29000091925
31678871591831   TIFFANY      SUMMEIS                      OK     90013638715
31682137191371   ALBERT       ROGERS                       KS     90007481371
31682832155949   KWASI        MALVOUX                      CA     90009318321
31683142636143   CATHY        GARCIA                       TX     90014131426
31683317141277   CHARMEKKA    RHONE                        PA     51097033171
31683966151339   TERRY        COOK                         OH     90012269661
31684251754165   MATTHEW      NORRIS                       OR     90013642517
31685591841277   STEPHANIE    WADE                         PA     90002195918
31686437841258   NAJEENA      WALKER                       PA     90013764378
31686467151369   MICHELLE     BISCHOFF                     OH     66001124671
31686598455949   LIA          HER                          CA     90011035984
31686649947931   PAYGO        IVR ACTIVATION               AR     90014606499
31686864691371   CINTHYA      CLEMENTE HERNANDEZ           KS     90008118646
31688197372496   AMANDA       AUSTIN                       PA     51095571973
31689771991232   MELANIE      PARTAIN                      GA     14507167719
31691734491371   AMANDA       KLEINER                      MO     29016507344
31691837491584   JOCELYN      COTA                         TX     90013948374
31692694341285   JESSICA      ALEXANDER                    PA     90014906943
31693459491584   JOSE         OROZCO                       NM     75036984594
31697291536143   JOHN         LARA                         TX     73593372915
31697292372496   KELLY        OVERLY                       PA     51018032923
31697561854165   TRACY        JONK                         OR     90014575618
31698661984368   MONIQUE      COLLINS                      SC     90007186619
31699694791584   CHRISTOPHE   BOLAND                       TX     75075646947
31712525684368   PLINEO       VELASQUEZ                    SC     90007195256
31715464291831   ROBERTA      WHITE                        OK     90015074642
31717422877544   RENE         AVILA                        NV     90002174228
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31718358172496   JAMIE        CAHILL                       PA     51047833581
31718627284368   IVON         ACOSTA                       SC     90002676272
31718765272496   JAMES        CLARK                        PA     90007737652
31719587791232   SHONTERRIO   KINDER                       GA     90013225877
31721484936143   SERAFIN      MONTOYA                      TX     73509954849
31722311991371   ROSALBA      TORAL                        KS     90011873119
31723238531424   CECILIA      LORENSO                      MO     27569352385
31723929654165   JAMES        KASHUBA                      OR     90014989296
31725168677544   TIA          HEFLIN                       NV     43070971686
31725499572449   DONNALEE     FLEMING                      PA     51093214995
31726186261925   MARIA        GUERRA                       CA     46041861862
31726575154165   DANA         MORGAN                       OR     90014875751
31726819677544   HERIBERTO    RAMIREZ-CRUZ                 NV     90013808196
31727515931424   ERICA        THOMPSON                     MO     90007735159
31727534991992   CAMELIA      LATTA                        NC     90008785349
31729652891371   ABDIEL       RODRIGUEZ                    KS     90014956528
31729937577544   LOURDES      LARA                         NV     90000709375
31731682791584   ALICIA       PINALES                      TX     90014836827
31731856777544   REMIGIO      HERNANDEZ CASTRO             NV     90012638567
31732588141277   DARLENE      BRUDER                       PA     51045035881
31732985455972   JONA         FORD                         CA     90006219854
31733127941258   HEIDI        LEYTRICK                     PA     90010641279
31734167691831   ERIC         GUERRERO                     OK     90009031676
31738565641277   ALEJANDRO    MARTINEZ                     PA     90014865656
31739366651369   APRIL        ROEMELEN                     KY     90013063666
31739634191371   DEBBIE       ROSS                         KS     29012666341
31739894641277   ROSANNA      OPFER                        PA     51020908946
31741113936143   AMY          DELOSSANTOS                  TX     90013401139
31741845841258   GARRETT      STEFANIAK                    PA     51085258458
31743973291232   G            JENKINS                      GA     90014069732
31744172391232   NIASHA       SLOAN                        GA     90013081723
31745114236143   SUSAN        GOMEZ                        TX     90003791142
31745912791584   RAUL         VILLARREAL                   TX     90013949127
31747836951363   LASHANDA     SIMMONS                      OH     90013998369
31747859891831   JOYCE        WILSON                       OK     21009968598
31748747636143   HENRIETTA    HUMPHREY                     TX     90006427476
31749146491584   CLAUDIA      LARA                         TX     90005121464
31751912255949   ARMANDO      ALVAREZ                      CA     90008239122
31752171741277   JACEN        MORRIS                       PA     90006881717
31752516372496   JANIS        MCGEE                        PA     90015015163
31753297291584   CLAUDIA      MURPHY                       TX     75045082972
31753372454151   DARRELL      BASSETT                      OR     90010593724
31753423981642   TIRONDA      MOSBY                        MO     29001834239
31755286777544   KERRY        GEHLKEN                      NV     90007842867
31755445931424   JENNIFER     MARCOULIER                   MO     90013964459
31755726355972   VINCENT      HERNANDEZ                    CA     90010907263
31755868491584   ARMANDO      ESTORGA                      TX     90013948684
31755898471931   SHERREE      SHANCHEZ                     CO     90013588984
31756499991266   PAUL         MONTGOMERY                   GA     90012534999
31757156791584   RACHEL       GOMEZ                        TX     90012891567
31757247641277   PATRICIA     MORONEY                      PA     51083852476
31757357551369   TISHA        FLOURNOY                     OH     90014713575
31757591977544   ALLAN        FROMEYER                     NV     90014985919
31759674791232   RASHAD       MIKE                         GA     90004586747
31761432272496   RONALD       MARTRAY                      PA     51097734322
31761919141258   MELANIE      MUCKIVCH                     PA     90008759191
31762246655972   BRYAN        ROBINSON                     CA     90011332466
31762381281642   KENNETH      DAVIS                        MO     90004113812
31765795291333   JUAN         BELLO                        KS     90011787952
31767431491831   MARQUIS      ROGERS                       OK     90013784314
31767728541285   JEANINE      CARTER                       PA     51064757285
31768116391232   HENRY        MITCHELL                     GA     90014751163
31769932772496   TAMMY        PRINKEY                      PA     51011109327
31771322372496   TRACI        SCHROYER                     PA     51087673223
31772148191893   ORTEGON      VINCENT                      OK     90005031481
31772432631424   PAMELA       MABRY                        MO     90014494326
31772799172496   AGNES        HARRIS                       PA     51052127991
31772875691584   JOVANNE      ESPARZA                      TX     90013948756
31772935355972   MARIBEL      HELO ESQUEDA                 CA     90007869353
31773568191232   JOSEPH       REECE II                     GA     14585405681
31773877491584   DIANA        SANCHEZ                      NM     90013948774
31774558241258   SUSAN        YNIGUEZ                      PA     90014865582
31774859891831   JOYCE        WILSON                       OK     21009968598
31774878491584   ADRIANNA     QUIZ                         TX     90013948784
31775518436143   MISTY        GARZA                        TX     73584045184
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31776689891831   LOIS         BIBBS                        OK     90008996898
31777594241277   WILLIAM      HABIAN                       PA     90004745942
31777874151339   MARCIE       JENNINGS                     OH     66006318741
31778147191371   MALAYNA      DOMINGUEZ                    KS     90014541471
31778154254165   KELLY        LONG                         OR     47091611542
31779762436143   MARCO        ORTIZ                        TX     90013377624
31781124991831   CRYSTAL      IRVIN                        OK     21089441249
31782434391371   JUAN         ALBERTO                      MO     90009614343
31782728436143   MANUEL       GARCIA                       TX     90014197284
31784752847931   RICARDO      CRUZ-LOPEZ                   AR     90013627528
31786158647931   TRUMAYNE     CUFFIE                       AR     90012901586
31786237736143   JENNIFER     MARTINEZ                     TX     90012762377
31786243161972   JOSE         GOMEZ JR                     CA     90009202431
31786645155949   REGINALD     PHILLIPS                     CA     90011036451
31787155236143   KENNETH      AMAYA                        TX     90011091552
31787467651594   CRYSTAL      ALVAREZ                      IA     90013804676
31787953391371   IRVIN        LONGOLIA                     KS     90015549533
31787989891396   AJAY         SOOD                         KS     29023109898
31788264551594   DAYDAY       RAMIREZ                      IA     90014132645
31788672691584   CLAUDIA      JIMENEZ                      TX     90013836726
31789784541258   MIGUEL       REYMUNDO                     PA     90015187845
31791155641285   AWES         MUZHIMU                      PA     90009471556
31791926736143   CORY         WILLIAMS                     TX     90014139267
31791967151339   LA RONEE     BOARDS                       OH     66020289671
31794383151369   EVERTON      THOMAS                       OH     66001993831
31794436491232   KARLENE      WEICKERSON                   GA     14514074364
31796118441277   RICHARD      HUGHES                       PA     90013901184
31796978155949   PEDRO        REYES                        CA     49080409781
31797133791371   ELIUD        AGUILERA-GONZALEZ            KS     29037281337
31797274691831   JUANA        MENDOZA                      OK     90003462746
31797716231586   WILLIAM      RENTAS                       NY     90015487162
31798151491232   ALICIA       WASHINGTON                   GA     90015201514
31798246691831   GREG         MICHNO                       OK     21001462466
31799419747931   TREVOR       HUTTON                       AR     90013864197
31811768655949   VICTOR       MURILLO                      CA     90001707686
31812469355949   JESUS        PENA                         CA     90011384693
31813891141285   ASHLEY       HUNTER                       PA     90009168911
31814154254165   KELLY        LONG                         OR     47091611542
31814953741285   CHRISTY      WOLFF                        PA     90009759537
31815244431424   DEREK        WEEMS                        MO     90015042444
31815464455972   DARRIN       MCBRIDE                      CA     90014694644
31815814291538   ISABEL       CRUZ                         TX     90005798142
31816179891584   SUSANA       SANCHEZ                      TX     90012801798
31816181291232   JOSHUA       MUNNS                        GA     90012151812
31816332354165   TERESA       BEARDEN                      OR     90008363323
31817245941277   LINDA        KING                         PA     90012122459
31819392781681   RIC          MIDDLEKAMP                   MO     90009533927
31819491985943   DJ           GOMEZ 1                      KY     90011314919
31819841251339   SARA         NAEGELEN                     OH     66090988412
31822339154165   CHARLES      MCCUNE                       OR     90014743391
31822564951369   ROBERT       LUNG                         OH     90009555649
31823465577544   KARISSA      RIVAS                        NV     90014484655
31824611572496   BRAD         BUTTS                        PA     51063196115
31825553491584   DANIEL       BARRAGAN                     TX     90012115534
31825982791584   DANIEL       BARRAGAN                     TX     90009839827
31826225455949   SEA          YANG                         CA     90003552254
31828165141258   MATHEW       MCHUGH                       PA     51050231651
31828299891893   ANGELA       HENDRIX                      OK     90005072998
31829612272496   MATTHEW      CIAMPANELLI                  PA     51060856122
31833471741277   ROCCO        DERENZO                      PA     51007474717
31833484885858   AUDELIO      CALDERON HERNANDEZ           CA     46066954848
31833779591232   PAMELA       PERKINS                      GA     90013097795
31834242631663   AMANDA       LANDRY                       KS     90013532426
31835234436143   LILLIAN      ELLIS                        TX     90003862344
31835627391371   CARLOS       GALVEZ                       KS     29026186273
31837126951369   ANTOINE      BEIGHLE                      OH     90015271269
31837463277544   GLINDA       COOPER                       NV     90015514632
31838794591371   ZACHARY      WHALEN                       KS     90004647945
31838939391584   JESSICA      ZAMBORA                      TX     90013949393
31842344977544   MARTHA       HERNANDEZ                    NV     43018083449
31843476791371   CHRISTINA    CASTILLO                     KS     90012704767
31843754151339   JAMILAH      WAUGH                        OH     66025407541
31844114233647   RONALD       LOCKHART                     NC     90007331142
31844187891232   JAMAR        LEE                          GA     90014831878
31844615151339   DAMIEN       STANDAFER                    OH     90010696151
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31846434251339   JOHN         LEWIS                        OH     90014884342
31846514455949   IRIS         MOORE                        CA     49081865144
31846625931424   ANGELIA      RAMSDELL                     MO     27532766259
31846654491584   LAURA        CORDOVA                      TX     90005856544
31847285536143   PILAR        SOLIS                        TX     90012012855
31847514651369   BECKY        BOYLE                        OH     90012135146
31849428436143   MARY         VALDERAMOS                   TX     90012644284
31849866291831   WHITNEYY     SORTORE                      OK     90013648662
31849899191831   VINCENT      PRICE                        OK     90013638991
31851142954165   ELIZABETH    DE LA PAZ MARTINEZ           OR     90005541429
31851737772496   JONETTA      BOYD                         PA     90014767377
31852313251369   MAC          ROBINSON                     OH     90006493132
31855312791371   BYRON        PITTMAN                      KS     90013013127
31855354873221   TERESA       SANCHEZ                      NJ     90015083548
31856612151339   JONATHAN     THOMAS                       OH     90003476121
31856921741277   STEPHEN      MONGIOVI                     PA     90008399217
31857773491584   JORGE        CADENAS                      TX     90012067734
31858127254165   ANTHONY      WALLACE                      OR     90007711272
31858685847931   MANUEL       FRAIRE                       AR     90013756858
31861986191584   CARLOS       VARGAZ                       TX     90012429861
31862119777544   ROY          WRIGHT                       NV     43088031197
31863252831424   MIA          JONES                        MO     90007792528
31863953291232   RAHEEM       BONDS                        GA     90002389532
31864224377544   ISABEL       RUIZ                         NV     43008702243
31864341255921   AWANA        JOHNSON                      CA     90011263412
31865239431424   BRENDA       YOUNG                        MO     90008872394
31867263461974   BRANDON      HOLMBERG                     CA     90011282634
31867437191584   ERIKA        ZAVALA                       TX     90010424371
31868851677544   TRINITY      MATTHEWS                     NV     90013738516
31869711141258   WESLEY       BAILEY                       PA     90014727111
31871138651369   ALVIN        HALL                         OH     90015221386
31871288591232   VALENCIA     ALLEN                        GA     90010562885
31873339155972   MAYRA        HERNANDEZ                    CA     48005683391
31873825291584   MARY         PULIDO                       TX     90010498252
31875677991584   TROY         GAYTAN                       TX     90008626779
31875816155972   ELMER        CONTRERAS                    CA     90012788161
31879878677544   GRASIA       PIZANO                       NV     90011058786
31882769972496   ASHLEY       MAUSER                       PA     90009277699
31883644451339   TIMOTHY      HOGAN                        OH     66096066444
31884993891371   STEVETTE     MCAFEE                       KS     90015079938
31885178877544   AMANDA       WHITE                        NV     43088811788
31885258472496   AMY          DEAVER                       PA     51000202584
31886464831424   PHIL         BROWNLEE                     MO     27570154648
31888358991831   ALMA         MORENO                       OK     21054753589
31888587191587   GREGORIE     HEIDENESCHER                 TX     75016455871
31889848951369   AREIONA      BROWN                        OH     90012128489
31891121541277   ELIO         JUAREZ                       PA     90015121215
31891576691232   TONI         WILL                         GA     90015015766
31891781154165   MAXWELL      MORRIS                       OR     47018177811
31893762354165   ASHLEY       THOMAS                       OR     47063237623
31894189236143   VICTORIA     VELASQUEZ                    TX     90009041892
31895272391831   JESSICA      RAMSEY                       OK     90013362723
31895435936143   MARCOS       MUNOZ                        TX     90012714359
31896574155972   LUZ          HERRERA                      CA     48041965741
31897119436143   TINA         SANCHEZ                      TX     90012781194
31897718221631   TERRELL      JOHNSON                      OH     90011977182
31898436247931   RANDALL      GAGE                         AR     90004094362
31898911891831   ENRIQUE      JARAMILLO                    OK     21094569118
31898941251339   MYRANDA      BIRCH                        OH     90013789412
31913346731683   JOHN         SCHARR                       KS     90008473467
31913753372496   ADRIENNE     EWING                        PA     90010057533
31914349491883   JOSH         MACIAS                       OK     90008403494
31914365291584   JESUS        HERNANDEZ                    TX     90014513652
31915288336143   KIM          PAREDEZ                      TX     90013622883
31915532181685   LAURA        MILAM                        MO     90009295321
31916687447931   CHRIS        THARP                        AR     90013196874
31917451354165   AYLA         MCCORD                       OR     90004774513
31917461551339   ERIC         LAMB                         OH     90004764615
31917525291584   SANTIAGO     TERRAZAS                     TX     75030285252
31918615477544   KEVIN        SHERMAN                      NV     90004216154
31918946431424   DARLENE      SCOTINO                      MO     27561199464
31919167691584   SANDRA       ENCISO                       TX     90010321676
31919696836143   DANIEL       BELMARES                     TX     73574886968
31919713555936   JANET        HERRERA                      CA     49003997135
31919853491831   MISTY        MURPHY                       OK     90011108534
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31921958172496   SELENA             SIMON                  PA     51005399581
31921981547931   COURTNEY           STACY                  AR     90013289815
31922153141277   BARBARA            BLACK                  PA     90003021531
31922833977544   JENNIFER           AMATO                  NV     90014558339
31922946431424   DARLENE            SCOTINO                MO     27561199464
31923433691544   MARIA              BROOKS                 TX     90007724336
31923891572496   ELIZABETH          OCBORN                 PA     90013878915
31924271291537   JOHN               PETERSON               TX     75094712712
31924366197131   JASON              JOHNSON                OR     90011373661
31924374681621   SILVIA             COPAS                  MO     29012343746
31925264441277   DERRIAH            TOLBURT                PA     90015032644
31925828841258   PAM                GARDNER                PA     51095198288
31926376891584   PERLA              HERNANDEZ              TX     90011623768
31926939651339   KIMBERLY           CLAGGETT               OH     66018149396
31928277181642   EMMANUEL           THOMPSON               MO     90005642771
31931192691371   ROBERT             MABRY                  KS     29007541926
31931345241258   MARIA              ZELIK                  PA     90002623452
31932411291831   JESSE              FITZLOFF               OK     90004014112
31933546463629   AIDA               TZUH                   MO     90006225464
31935635455972   ADRIANA            IBARRA                 CA     90008356354
31936741541258   JAQUELINE          ROCHELLE LOVETT        PA     90012457415
31936794172496   SHAWN              ZGELA                  PA     90011007941
31938274491893   JESSICA            SANCHEZ                OK     90004402744
31938478891549   LUIS               COTRERAS               TX     90010084788
31939162591831   SHANIKA            HOLLAND                OK     90009921625
31941641251339   CHRIS              RICHARDSON             OH     66060236412
31942243541285   ALONZO             GRIFFIN                PA     51008422435
31942978177544   BRYNT              ELMER                  NV     90015109781
31945139261945   CARMEN             CAPERON                CA     90013171392
31945295747931   ERICK              GALO                   AR     90010642957
31946392441277   ROCHELLE           HAZZARD                PA     51060693924
31946836777544   SHAWN              KADELL                 NV     90012928367
31947576472496   BROOKE             GUTH                   PA     51065935764
31948233181642   CARLA              RICE                   MO     29011822331
31949213141258   ROBERT             REIBER                 PA     51089352131
31949365654165   WILLIAM            RHODES                 OR     90007583656
31952992672496   SAMANTHA           STEPANIK               PA     90013509926
31953246891232   SHADAYIA           RENOLDS                GA     90014242468
31954412354165   WANDA              STILLION               OR     47076714123
31954432441258   SHAVONNA           COLLINS                PA     90014834324
31955865955972   ERIKA              GARCIA                 CA     48021718659
31956411855972   CELINA             FRAUSTO                CA     48065344118
31956688936143   NOEL               CHAPA                  TX     90012816889
31956697951339   RAUL               CAMPA                  OH     90002686979
31957196755972   JULIO              LOAIZA                 CA     90009521967
31958556177544   MARIA DE LOURDES   VEGA                   NV     90010215561
31959313851369   YULANDA            HALL                   OH     90010083138
31959376241258   KATHERINE          CHASE                  PA     51067903762
31962182173221   YOLANDA            FERNANDEZ              NJ     90014471821
31962952291584   MONIQUE            JOHNSON                TX     90013949522
31963969691584   MARY               ORTEGA                 TX     90013949696
31964432291371   BEATRIZ            BARTOLON               KS     29091834322
31964483941277   PATRICIA           FULCOMER               PA     51085114839
31965217155949   VALENA             BENDER                 CA     49081132171
31965955136143   JESSE              PENA                   TX     90014779551
31966242336143   MELINDA            GARCIA                 TX     90000512423
31967556693782   CHARLES            COATS                  OH     90011355566
31967854251339   PARNELL            FOX                    OH     66041618542
31967923591531   LUZ                GUTIERREZ              TX     90001319235
31968621654165   ANNA               PEARSON                OR     47003516216
31968644631424   DIONNE             SPARKS                 MO     90014866446
31968891236143   NICOLE             LISERIO                TX     90012818912
31969714441277   RAIONA             GAYDOS                 PA     90014917144
31969793751347   PHILL              HART                   OH     90005477937
31971187147931   HELLEN             PHELAN                 AR     25054691871
31972164777544   KORY               GARVER                 NV     90010971647
31972489591371   DEONDRA            JONES                  KS     90014914895
31972969491584   JOSE               CORDOVA                TX     90013949694
31973483436143   CASSANDRA          REYES                  TX     90014414834
31976262255972   DEISY              RODRIGUEZ              CA     90006862622
31977686347931   LILLYBETH          ALLENSON               AR     90009876863
31977794255927   PEDRO              RAMIREZ-CORTES         CA     90008647942
31978685151339   KATHY              KING                   OH     90008926851
31978823254165   VALENTE            RODRIGUEZ              OR     90011838232
31981362254165   MARK               WARREN                 OR     90004893622
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31981843672496   JAMES        ISLER                        PA     90002468436
31982534441258   TENIECE      TONETTE                      PA     90009425344
31982551691584   OCTAVIO      SOLTERO                      TX     90012315516
31983237241285   MORGAN       STANSFIELD                   PA     90014412372
31983723472496   RALPH        FALCO                        PA     51089457234
31984233991584   ELIZABETH    HERRERA                      TX     90012162339
31984788672496   FRANK        BURTON                       PA     90002897886
31985712247931   EDGAR        HERRERA                      AR     90013767122
31986184831424   PATRECE      GRIFFIN                      MO     90011081848
31986647777544   ANNABELLA    LOPEZ                        NV     90014826477
31986894754165   TAHNIE       WEST                         OR     90008028947
31993417536143   MATTHEW      PEREZ                        TX     90014794175
31993422751339   KEISHLA      VALLES                       OH     90005154227
31994742341258   BIRENDRA     JHA                          PA     90014067423
31995488791584   ADELA        VAN RUITEN                   TX     90003034887
31995853891371   ROSA         LEDEZMA                      KS     29083238538
31996935186597   MEGAN        PAINTER                      TN     90015579351
31997138651369   ALVIN        HALL                         OH     90015221386
31997667436143   BILLY        WATSON                       TX     90014906674
32111915672496   WILLIAM      FURNIER                      PA     90009409156
32112322891538   AMY          AVILA                        TX     90012003228
32113549191563   CYNTHIA      ACOSTA                       TX     90010825491
32114281436143   ANTHONY      OTTO                         TX     90003862814
32114373777544   ANTONIA      RODRIGUEZ                    NV     43093103737
32114687455972   ALEJANDRA    VALLE                        CA     90012546874
32115291291563   ESTRELLA     ARROYOS                      TX     90006122912
32115793451339   EDEN         JOHNSON                      OH     66006397934
32118955772496   ADRIENNE N   SISLER                       PA     90014679557
32119284791563   JUAN         CHAVEZ                       TX     90005362847
32119313791356   STEVE        URIBE                        KS     90015023137
32119414431424   RENATA       STEVENS                      MO     90015244144
32121251591531   KRISTI       GREENLEE                     TX     90006572515
32121579254165   MISTY        SHNEIDER                     OR     47089235792
32122283536143   YVONNE       MEDRANO                      TX     90009012835
32123932391563   CAROLYN      CALLOWAY                     TX     75068409323
32124226191356   TRACY        SAMS                         KS     90013962261
32126246155972   JIMMY        WATSON                       CA     90014372461
32126395236143   DERRICK      BUCKNER                      TX     90003433952
32126831531424   CASEY        ALBRECHT                     MO     90011008315
32126976291942   SHELIA       RAINEY                       NC     90001269762
32127968791563   DWAYNE       HILL                         TX     90009599687
32128854251369   PARNELL      FOX                          OH     66041618542
32129951491356   JOHN         ERB                          KS     29001359514
32131577754165   DAVID        OLEVERA                      OR     90013875777
32131765384368   LASONYA      EADY                         SC     90007427653
32132717677544   JOSE         CONTRERAS                    NV     90014217176
32134126651369   ROXANNE      ADAMS                        OH     90015601266
32135514654165   GARY         BARTLETT                     OR     90004175146
32135732947931   JOSE         FLORES                       AR     25095097329
32135856241258   DAESHAWN     LUCAS                        PA     51003438562
32136182791831   SHURRI       SHORTHAIR                    OK     90013361827
32136813555972   BREANNA      NEWMAN                       CA     90011858135
32137347955972   MARINA       TAPIA                        CA     90002033479
32137667447931   JILLTHA      MIELSON                      AR     90014756674
32137912451339   SHAYLYN      DAVIS                        OH     90013459124
32138254391537   EFRAIN       DOMINGUEZ                    NM     90001432543
32138836672496   TONJA        BRYNER                       PA     90014158366
32139562541277   MARGARET     BLUMLING                     PA     51065955625
32139829851369   GEOFFEREY    GOENS                        OH     90010568298
32139856191531   JESSIE       LUCERO                       TX     90014778561
32141223941285   YVONNE       ROBINSON                     PA     51077482239
32142448177544   JESUS        VAZQUEZ                      NV     90000504481
32143177591531   JESUS        SALCIDO                      TX     75050171775
32143754847931   LAURA        PARAGIOUDAKIS                AR     25010057548
32144427877544   ENRIQUE      AGUILAR                      NV     90010994278
32146253951339   JAMES        HOUNSHELL                    OH     90013362539
32151197291531   KARLA        MORA                         TX     75028211972
32152556251369   ROFINA       MARDINEZ                     OH     90014885562
32152817684368   ALEJANDRA    ADAME                        SC     90014638176
32155586955972   CRISTINA     RAMIREZ                      CA     90011605869
32155614847931   SCOTT        JANSSEN                      AR     90003726148
32156355336143   MARIECELLA   DELEON                       TX     90000943553
32156411391531   ALEJANDRO    LEGASPI                      TX     90009144113
32156966972496   CLARE        FARRAR                       PA     51012959669
32157684577544   JEANISE      ARM                          NV     90003956845
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32158427751339   CHRISTIANA   RIEMANN                      OH     90011944277
32158636254165   AMBER        STARK                        OR     90001096362
32159217891563   LUZ          BORUNDA                      TX     90012572178
32159599861925   MARTHA       ORTIZ                        CA     90009405998
32159892677544   KAYLA        DENBOER                      NV     90014218926
32162435991356   ALLYSSA      RAMOS                        KS     90013804359
32163199272496   JAMES        CAMPBELL                     PA     90014581992
32163366191563   EBER         ESPINOZA                     TX     90012263661
32164846755972   STEVEN       WOOLSEY                      CA     90012868467
32165855472451   DEANNA       LYNETTA                      PA     90012868554
32166426984368   MARIA        ISABEL                       SC     90015204269
32167356472496   TEANN        WINGROVE                     PA     90013933564
32168727791831   AUDREY       LEE                          OK     90014897277
32168985591356   AMANDA       WILLIAMS                     KS     90015319855
32172855751578   LANGSTON     HUGHES                       IA     90015428557
32172986591831   MEGAN        OLMSTEAD                     OK     90014799865
32173179285943   SYLVIA       BEACH                        KY     90012611792
32174291141277   DALE         CROWELL                      PA     90014532911
32174377872496   KRISTY       HIBBARD                      PA     90014793778
32174493293754   JULIA        DOWNS                        OH     90007364932
32174596491563   CYHTHIA      CORDOVA                      TX     75071795964
32175195691885   TERRI        TUCKER                       OK     90010161956
32175726951369   JACEY        SCHUNK                       OH     90011147269
32177318555972   EVA          RODRIGUEZ                    CA     90014623185
32177849541957   ANGELA       HALBEISEN                    OH     90015358495
32178382291831   NEWMAN       TARYOLE                      OK     21006913822
32178527491531   RAUL         AMEZQUITA                    TX     75016265274
32178853154165   EINSELE      AMANDA                       OR     47068518531
32179461991563   RICARDO      REYNA                        TX     75097384619
32181245877544   SIDNEY       JENKINS                      NV     90015062458
32182189747931   JASE         BURBANK                      AR     25091251897
32182612491356   CLAUDETTE    HARRELL                      MO     90002486124
32182811925655   VATINA       DAVIS                        AL     90013158119
32182961957128   DANTE        DURAND                       VA     90011639619
32183211977544   PATRICIA     CARMONA-OVOA                 NV     43011372119
32183323951339   KIMBERLY     LANGLEY                      OH     66024563239
32186881851339   SAVAUN       HUTCHINSON                   OH     90010888818
32186986191356   ROSA         VAZQUEZ                      KS     90007769861
32187358191531   GERARDO      PACHECO                      TX     75078513581
32188112855972   MASOU        SEE                          CA     48008261128
32188623541481   TINA         TOOMBS                       WI     90002886235
32188814641277   JOHN         STEPHENS                     PA     90010118146
32188936631424   BRANDON      JACKSON                      MO     90015319366
32189621991563   YOLANDA      TAPIA                        TX     75019846219
32189695691831   PEDRO        PUENTE                       OK     21045486956
32191158141285   WILLIAM      BANKS                        PA     51086421581
32191833291531   ARTURO       SALAS                        TX     90005768332
32191932747931   DANNY        LESTER                       AR     90011899327
32192128241277   DANIELLE     EPPS                         PA     90012221282
32192481591356   MESLI        LOPEZ                        KS     90012444815
32192575251339   MICHAEL      SMALL WOOD                   OH     90005985752
32193725555972   JUVENAL      RODRIGUEZ                    CA     90012067255
32194653491531   JUAN         HERNANDEZ                    TX     90014676534
32198967491356   HARRY        HAWKINS                      MO     90012269674
32199347254165   JASON        WASSON                       OR     90014683472
32213495831424   MARYTRICE    BROWN                        MO     90002274958
32213588784368   LYDIA        GRANT                        SC     90013765887
32215153751369   ANGELA       NORTHGARD                    OH     90010301537
32217372955972   MARCO        SALAS-ROBLERO                CA     90013693729
32217621531424   KEVIN        HODGES                       MO     90011166215
32217625351369   MAURICE      FOSTER                       OH     90012596253
32218322857153   MIRIAN       ALVERTO                      VA     81040033228
32218555536143   GINO         CUELLAR                      TX     90007845555
32219179851321   JASON        SERMERSHEIM                  OH     66019251798
32222162236143   THOMAS       GARZA                        TX     73589111622
32222227872496   DEBRA        EVANS                        PA     90002142278
32222535891893   PAULINE      GOSS                         OK     21083335358
32222574691232   BRENDA       JOHNSON                      GA     90009325746
32222579791587   ELSA         OCHOA                        TX     75028815797
32224238136143   SHAYLA       WYSONG                       TX     90014572381
32224438584368   TRENT        COBB                         SC     90013644385
32225119355972   REBEL        GALAZ                        CA     48084281193
32225183647931   MARIA        RAMIREZ VEGA                 AR     90014501836
32225712857153   SAUL         SILVA                        VA     90006407128
32226915372496   RAYLIN       HARRIS                       PA     90014159153
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32227727547931   SAN JUANITA   SANCHEZ                     AR     90013017275
32228435272496   DEREK         ALLER                       PA     90012704352
32228847291531   KENNETH       COOPER                      TX     90012138472
32228954255972   RICHARD       HAMILTON                    CA     90002429542
32232338855972   FELICITAS     GARZA                       CA     90007423388
32232892251339   ISRAEL        GOMEZ                       OH     90015308922
32232948177544   RAMONA        MEDINA                      NV     43081469481
32233573761925   GREGORY       LEHNIG                      CA     90012815737
32233814597939   CLARISSA      BLACK                       TX     74058738145
32234229841277   KRYSTAL       VOELKER                     PA     90006332298
32234295331424   ANEESAH       BANKS                       MO     90008942953
32235923531938   ANONIMOUS     ANONIMOUS                   IA     90015599235
32236869955972   AMBER         RAYO                        CA     90013638699
32238369372496   VIRGINIA      DENNIS                      PA     90013433693
32239827157153   AURORA        DURAND                      VA     90006408271
32241246884326   PAULET        DOBINE                      SC     90007402468
32241248754165   STANLEY       HIXSON                      OR     90003092487
32241926972496   JOSEPH        BASS                        PA     90014889269
32243212672496   LISA          RAY                         PA     51055382126
32245357591563   KARLA         GARCIA                      TX     90010783575
32245634691356   MONYAL        FRANKLIN                    KS     29012676346
32246493651339   BRITTNEY      PRATHER                     OH     90013114936
32246533491531   GORGE         LUQUE                       TX     90012425334
32246663854165   ROBERT        WOODRING                    OR     47081336638
32247871572496   RAYMOND       RUSH                        PA     90013938715
32247939591356   GREGORY       MORROW                      KS     90012959395
32248719531424   CHARKENA      JONES                       MO     90011567195
32249561991531   MAYRA         ORIBE                       TX     90011195619
32249642472496   SHALAN        THOMAS                      PA     51004346424
32251235231424   BRANDY        CLAY                        MO     90014332352
32252217155972   RAFAEL        SOLIS                       CA     90014012171
32253379691563   PICILLA       SANDOVAL                    TX     90012643796
32253435941277   MIA           TURNER                      PA     90012394359
32253729351369   CARLA         BACKSCHEIDER                OH     66040987293
32253871277544   RAMONA        RIVERA                      NV     90012928712
32254448191563   CARMEN        MARTINEZ                    TX     75095324481
32254545541285   JOYCE         PFEIL                       PA     51072255455
32254632285873   RUTH          SAMAD                       CA     46020346322
32255343136143   JOE           GARCIA                      TX     90001533431
32255369541277   DAKOTA        BUNDY                       PA     90012023695
32256431854165   GARY          MARTINDALE                  OR     90013744318
32256721291531   VARVARA       RAMIRES                     TX     75016477212
32256931747931   CHARLES       CLARK                       AR     90002119317
32258436551339   AWILDA        VEGA                        OH     90015444365
32259253154165   CHRYSTYNA     HENSON                      OR     90014382531
32261119957153   ABU           SAKAR                       VA     90006421199
32261537241285   CHRISTINE     DURICA                      PA     90014305372
32261538841258   AMY           SIGAL                       PA     51003715388
32261927271656   ASHLEY        LUKE                        NY     90015519272
32262545361557   PAUL          STEWART                     TN     90015495453
32262741191831   TYSHAN        ACKERSON                    OK     90013797411
32263324541258   MAURICE       SAUNDERS                    PA     90010553245
32264732284368   DEYANIRA      BLOUNT                      SC     90011987322
32266375491831   CATALINA      GOWENS                      OK     90012493754
32266872791356   JOSEPH        MANIS                       KS     29011548727
32266873451339   CHRISTINA     WAVER                       OH     90013428734
32267635891538   BLANCA        GALINDO                     TX     90010456358
32267746141277   MICHAEL       LADIK                       PA     51088937461
32268377191356   LEONIDA       RIVERA                      KS     29090703771
32271126447931   DINA          PERLERA                     AR     90003391264
32271481472471   JOHN          MORGART                     PA     51043114814
32271813191531   VALENTIN      LOZANO                      TX     90002648131
32271891741285   BETTY         HOSZOWSKI                   PA     90013548917
32272656691356   AMY           HANSON                      KS     90014906566
32273337441258   ALLEN         BENNETT                     PA     90010483374
32275147984368   ADRIANA       JAEN                        SC     90014051479
32275149191563   CRAIG         RIVERA                      TX     90014521491
32275245877544   SIDNEY        JENKINS                     NV     90015062458
32276436336143   MARTIN        CAVAZOS                     TX     90013674363
32277179684368   ELEAZAR       JERVASIO                    SC     90010291796
32277197591537   LIZETH        BALTAZAR                    TX     90008721975
32277271441277   ROCKY         JONES                       PA     90012632714
32277648551339   DARRIN        FISHER                      OH     90003636485
32282353791831   JOHN          GARCIA                      OK     90009543537
32282841436143   EDNA          BUSTOS                      TX     90014868414
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32282913591563   JAIME        PADILLA                      TX     75040249135
32285867677544   YOLANDA      STATUM                       NV     43052688676
32286456551339   JENNIFER     CORNWALL                     OH     66016544565
32286875554165   JUSTIN       JENSEN                       OR     90014848755
32287129841277   AUDREY       ARDIS                        PA     90008581298
32288135891543   BRANDY       TAYLOR                       TX     90012131358
32288739336143   SHIRLEY      WEST                         TX     90001487393
32291141977544   HEMERY       RAMIREZ                      NV     43041291419
32293254872496   CAROL        CRAGGETTE                    PA     90013652548
32293921591531   OSCAR        MELENDEZ                     TX     90011749215
32294938791563   SARHA        QUIROZ                       TX     90003559387
32295172751339   STACEY       SANTOS                       OH     90010561727
32297368736143   JOHNNY       CORONA                       TX     90010903687
32298858551369   CHRISTINA    BRYANT                       OH     90010918585
32299877847931   CARLEE       HARRIS                       AR     90007908778
32311867191563   DIANA        MARQUEZ                      TX     90004918671
32312358147931   IRIS         VEGA                         AR     25030053581
32313155772441   DARRIN       PETTERSON                    PA     90001141557
32314184941277   JENNA        HUDSON                       PA     90014961849
32314722372496   BONNIE       SPIKER                       PA     51043897223
32315112872496   LISA         FOSBRINK                     PA     51061821128
32316544151369   SANDY        ROBERTSON                    OH     90014515441
32317379754165   SANDRA       PRENTISS                     OR     90014743797
32318887272496   VALERIE      CARTER                       PA     51044118872
32318954351339   MARIA        VALLE                        OH     66061049543
32319386391538   ASHLEY       SEPULVEDA                    TX     90000823863
32321237177544   ANITA        PARRA                        NV     43096112371
32322242336143   MELINDA      GARCIA                       TX     90000512423
32322581872496   JEREMY       KALAMETS                     PA     51030025818
32322731291356   KEVIN        WHITE                        KS     90013947312
32323826672496   DANNY        REDDING                      PA     90015188266
32324286777544   KERRY        GEHLKEN                      NV     90007842867
32324387736143   HOPE         GOMEZ                        TX     90013183877
32324675151339   DUSTIN       SANDERS                      OH     90010896751
32325268691356   MARIO        NINO                         KS     90009672686
32325477141285   ASHLEY       GODFREY                      PA     90004774771
32326365991356   WILVOR       GUILLER                      KS     90014113659
32326476625124   MARY         DRIVER                       AL     90014864766
32331883451369   SANDRA       COLE                         OH     66067748834
32332586997126   BRIANNA      COCHRAN                      OR     90008565869
32332692757153   CHRISTIAN    CHAVEZ                       VA     90010706927
32333193341277   JORDAN       PACKY                        PA     90014151933
32333554591363   MARIA        AGUSTIN                      KS     90004285545
32334867984368   FLORENTINO   PEREZ                        SC     90013218679
32335775484368   DAVID        STIR                         SC     14574817754
32336887851369   JUSTIN       LOVELACE                     OH     90013288878
32337183331424   AMY          JACKSON                      MO     90001771833
32337495577544   ROCIO        VILLAGRANA                   NV     43039884955
32337589772496   AMY          CARRIGAN                     PA     51061945897
32337861791831   EPHRAIM      PRESTLEY                     OK     90008608617
32338529891531   JUDITH       VALADEZ                      TX     75052835298
32338733884368   FERNANDO     HERNANDEZ                    SC     14598357338
32338767341258   LARONDA      PAGE                         PA     51086637673
32339826591831   LATARA       JEFERSON                     OK     90010268265
32341248377544   ASHELY       MCCAULEY                     NV     90010662483
32341278831424   KANTRELL     LEE                          MO     90014572788
32342261441277   MARIE        LOIDL                        PA     51091682614
32342861791831   LAURIE       FISHER                       OK     90014338617
32343518884368   EDGAR        LOPEZ MEDINA                 SC     90012615188
32343977391563   JAIME        SIFUENTES                    TX     75045549773
32345168791356   DONTERRILL   FOWLER                       KS     29023381687
32346398251369   CRYSTAL      ROBINSON                     OH     90014703982
32347152591356   KAREESA      IKERD                        KS     90013871525
32347171641277   TASHAWNA     PATTERSON                    PA     51010821716
32347972851369   TOMMY        WITT                         OH     90011339728
32348134141258   FAUSTINE     GREEN                        PA     51008571341
32348761877544   MYERIEM      SHEVERNOGA                   NV     90010827618
32348864354165   REBECCA      HILL                         OR     90005118643
32349147151339   JAY          WATSON                       OH     90012391471
32349269484368   JONATHAN     SOTO                         SC     90012142694
32349584491356   KIMBERLY     BUSH                         KS     90011175844
32352113641277   BRADLEY      IRWIN                        PA     90014371136
32352569591356   MIKEL        JOHNSON                      KS     90013095695
32352676651369   VERONICA     COLBERT                      OH     90000136766
32352785254165   JULIE        CARTER                       OR     47094637852
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32353261191531   ZULEMA R       CONTRERAS                  TX     90002572611
32353274236143   KEVIN          TOLLE                      TX     73541442742
32354624577544   ELIZABETH      HARRISON                   NV     90001686245
32355945151339   KONNEE         REXROAT                    OH     90010609451
32356896791356   KRISTINA       FERSTL                     KS     29077208967
32357995354165   LISA           FERRIS                     OR     90012039953
32358664155972   BERNARDO       OLIVEROS                   CA     48000646641
32362533177544   BRENDA K       KROTSMER                   NV     90011475331
32363213336143   DEREK          LUGARO                     TX     90012892133
32363298955972   CARLOS         MIRELES                    CA     90013262989
32363746284368   JUAN CARLOS    ALONSO                     SC     90014897462
32363944855951   DIANA          SANDOVAL                   CA     90010649448
32363983731424   SYLVESTER      HUFFMAN                    MO     27557619837
32364234841258   YVONNE         YARBOUGH                   PA     51015972348
32365155977544   CASTULA        LOPEZ                      NV     90014951559
32366137141277   JESSICA ERIN   GRAF                       PA     90010521371
32367589651339   BARRY          MCDONALDS                  OH     90002305896
32367685491563   LAURA          REY                        TX     90007146854
32368472641277   ANTHONY        CHIRICO                    PA     90011344726
32368532851339   REBECCA        CALHOUN                    OH     90013835328
32368537541285   GENNIE         SHELBY                     PA     90000255375
32369671877544   TIM            EWING                      NV     90015036718
32371561854165   TRACY          JONK                       OR     90014575618
32371821391831   CASEY          MAHONE                     OK     90014768213
32372227141277   JUDI           POND                       PA     51072092271
32372254272496   MICHELE        COOKE                      PA     90011382542
32372639191893   LARRY          ARMITAGE                   OK     21079016391
32372932784368   MARLON         PINEDA                     SC     90006589327
32373952491531   VICKY          GASTELUM                   TX     75082689524
32374915372496   RAYLIN         HARRIS                     PA     90014159153
32374931354165   JENNIFER       JONES                      OR     90005949313
32374957251339   KAYDEE         COMELY                     OH     66017739572
32375757172496   DARREN         HUDOCK                     PA     90009497571
32376143851369   TERESA         ROSEBERRY                  OH     66049421438
32376711491831   REACONDA       WALKER                     OK     21021987114
32378454241258   MEGAN          NOLAN                      PA     90010554542
32378639191893   LARRY          ARMITAGE                   OK     21079016391
32379632347931   PABLO          MOTA                       AR     90014916323
32381415751369   MELISSA        HATMAKER                   OH     90004234157
32381871931424   SHELLY         HOLDER                     MO     27550118719
32382311477544   RAUL           ROJAS                      NV     90011093114
32382432491531   ADAM           LEYVA                      TX     75005844324
32382522236143   YOLANDA        MARTINEZ                   TX     90014785222
32383619691531   PABLO          PAREDES                    TX     90013796196
32384731284368   SOFIA          DIAZ                       SC     90014907312
32384774555972   DANIEL         PADILLA                    CA     90006557745
32386359951369   ANDRES         ELASQUEZ                   OH     90006583599
32386417236143   ROSALINDA      MARTINEZ                   TX     90005044172
32386446391531   JOSE           MACIAS                     TX     75040544463
32386528972496   AMANDA         FULMER                     PA     90012235289
32387153131424   JOSEPHINE      JONES                      MO     90008711531
32387881947931   MANUEL         BAUTISTA-SANTIAGO          AR     90011548819
32388436931424   TYRON          CONLEY                     MO     90015134369
32391896151369   BELINDA        WASHINGTON                 OH     66075068961
32393481172496   ANTHONY        BROWN                      PA     90014024811
32393765751369   TINA           HOFFMAN                    OH     90010077657
32393959591356   SHANNON        SMITH                      KS     29011199595
32394424357153   WILLIAM        CARL                       VA     90006474243
32395881947931   MANUEL         BAUTISTA-SANTIAGO          AR     90011548819
32396167147931   DERRICK        GARRETT                    AR     90013831671
32396737885939   JEREMY         WADE                       KY     90003707378
32397727954165   PAMELA         CABALLERO                  OR     47089377279
32398496841277   TERESIA        COUCH                      PA     51052254968
32399145231424   YULONDA        CHAPPLE                    MO     90003231452
32411528377544   CRYSTAL        THOMPSON                   NV     90014455283
32411824691543   LEE            MARQUEZ                    TX     90009998246
32413393141277   WESLEY         MOYLE                      PA     51045833931
32414248931424   JOSHUA         LEWIS                      MO     90007192489
32415767691893   DEREK          CHAMBERS                   OK     90012077676
32415777677544   SAMUEL         DIXON                      NV     43074497776
32416471391531   ANDREA         FONG                       TX     90013974713
32416896241277   DONALD         MUTUSKY IV                 PA     51058638962
32418554347931   JOSE           PLATA                      AR     25096925543
32418846351369   LEON           SHAVERS                    OH     90012288463
32419987391356   CRISTINA       TREVINO                    KS     90005389873
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32422112441258   SARAH          SOWA                       PA     51028421124
32422198684368   YUSMARI        HERNANDEZ                  SC     90014991986
32422444377544   MARCELA        GUADALUPE                  NV     90011834443
32422734541285   ANTHONY        LAIDELLA                   PA     90006147345
32423293891356   BRAINNA        NOEL                       KS     90010822938
32423578391525   MARK           BEATICE                    TX     75048685783
32424566655972   SHANNON        GARCIA                     CA     48040085666
32425593884368   MARIA          VEGA                       SC     90015205938
32426127972496   PAUL           EVANS                      PA     90010311279
32426325391544   CARLOS         GRAJEDA                    TX     90011333253
32427875984368   YOLANDA        AVILA                      SC     14504538759
32428777355972   PEREZ          MIGUEL                     CA     90005387773
32428978872496   MEGAN          STEWART                    PA     90013119788
32429765841277   ANGELO         RUSSINI                    PA     90011067658
32429858555972   WENCESLAO      DE LA PAZ                  CA     48091828585
32431193541277   JAMIE          MANGONE                    PA     51091331935
32432567155933   FAVIOLA        RODRIGUEZ                  CA     90010165671
32432722391831   FA RANA        HOMAS                      OK     90014317223
32432841941277   WILLIE         WILLIAMS                   PA     51092078419
32433734451339   MEGAN          ANTHONY                    OH     90013447344
32434242591831   TIMOTHY        ETTINGER                   OK     90009092425
32434826691563   RITA           BENAVIDES                  TX     75040588266
32438349836143   MARIA          HERNANDEZ                  TX     73592173498
32438455291232   JESSICA        PATTERSON                  GA     90006024552
32438874151339   MARCIE         JENNINGS                   OH     66006318741
32438945984531   AWA            SHABAZZ                    NY     90015399459
32439774354165   JENNIFER       CERVANTES                  OR     90007037743
32441338954165   DEVON          WALLACE                    OR     90011583389
32441889561984   MICHAEL        MAIS                       CA     46012718895
32443317191563   LUIS           MIEALES                    TX     90011183171
32444568691563   ROSALIA        FERNANDEZ                  TX     75098165686
32444645277544   CONSUELA       ZAVALA-REYNOSO             NV     90003586452
32444982336143   DAVID          BANDA                      TX     90013759823
32445229336143   MARIA          OLIVIA                     TX     90010942293
32446557172496   CHRISTINA      ASHBY                      PA     90013095571
32446718391563   DANIEL         AVALOS                     TX     90011507183
32447266291356   JOSE           ORTEGA                     KS     90013532662
32447853791563   JACQUELINE     MILLER                     TX     90003668537
32448235231424   BRANDY         CLAY                       MO     90014332352
32448648151339   DANIELLE       CALHOUN                    OH     90011386481
32448831177544   TRINA          GALVAN                     NV     90012728311
32449242555972   CANDELARIO     BEDOLLA                    CA     48015972425
32449699247931   BERTHA         PEDROZA                    AR     25083626992
32451765341277   RAMOND         NELSON                     PA     90000677653
32452128991587   MELINDA        FIERRO                     TX     90012131289
32452247831699   MARISSA        SUTTER                     KS     90013332478
32453191842558   MOISES         CARPIO                     WA     90015021918
32453629655972   JOSE           CARDENAS                   CA     48036616296
32454754847931   LAURA          PARAGIOUDAKIS              AR     25010057548
32454995755972   JOSE EDUARDO   ACERO                      CA     90012189957
32455337391831   DENNIS         WARFEL                     OK     90014503373
32456559284368   JORGE          DOMINGUEZ                  SC     90005645592
32459974351339   STEVE          MONK JR                    OH     66009329743
32462585771931   ARICA          ADAMS                      CO     90003815857
32464453141285   ALISHA         FELDMAN                    PA     51016644531
32464463955972   ANTHONY        ENOS                       CA     48016634639
32464666191963   DOLLY          SWINSON                    NC     17084846661
32464821431458   FATIMA         FISHER                     MO     90009478214
32465624331424   FRANCHESKA     SANDFORD                   MO     90014686243
32466533991531   KRYSTLE        HERNANDEZ                  TX     75095415339
32469464291831   SHANEKA        BORENS                     OK     90004924642
32469755836143   CINDY          HOWE                       TX     73588857558
32474281584368   MAIKOL         ZARATE                     SC     90011072815
32475889155951   DIEGO          BETANCOURT                 CA     49016018891
32476931191831   GLORIA         GAONA                      OK     90011929311
32477257291831   GUSTAVO        MORALES                    OK     90003562572
32477521884368   SAPORIAH       SIMS                       SC     90012255218
32478458641277   TYLOR          OCONNELL                   PA     90011854586
32478817291563   JAIME          GONZALES                   TX     75050648172
32479736891831   STEVEN         HIETT                      OK     90013867368
32481536455972   MARTINA        ASCECIO                    CA     48042255364
32482132484368   SERGIO         HUERTA                     SC     90014751324
32482993872496   BLAKE          KNOPSNIDER                 PA     90013949938
32483365791563   ANTONIO        PEREZ                      TX     90015053657
32484212991356   ANGEL          HIPOLITO                   KS     29075602129
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32486684736143   JOHN          OROZCO                      TX     90012786847
32487548847931   PATRICIA      SHEPHERD                    AR     25094845488
32487562455972   SUSIE         RUSSELL                     CA     90013935624
32488439851339   AMANDA        COPHER                      OH     66046974398
32489598957153   JULIAN        FERRUFINO                   VA     81091055989
32491858291563   LUIS          GIL                         TX     90010178582
32493258171939   JAMES         WILLIAMS                    CO     90006012581
32493395491831   WILLIE        KAUFFMAN                    OK     21096813954
32495151951339   JENNIFER      STEELE                      OH     90013541519
32496387954165   AMANDA        BENITEZ                     OR     90015213879
32497983372496   JESSICA       BURLEY                      PA     90013839833
32498363441277   SHARITA       WYATT                       PA     90009853634
32511273772496   STEPHANIE     FABIAN                      PA     51051022737
32512685491563   LAURA         REY                         TX     90007146854
32514441641258   GEORGETTE     PELKOFER                    PA     90007404416
32514545941285   RICH          DEPASQUALE                  PA     51068465459
32515673591563   YASMIN        KALUAKINI                   TX     75070076735
32516714391563   LEON          ROQUE                       TX     90007517143
32516848891831   KEVIN         LEWIS                       OK     90012478488
32517815847931   DANIEL        COWLES                      AR     90012518158
32518455577544   ROBIN         DUNKEL                      NV     43045794555
32519179436143   MARIA         MEDINA                      TX     90006541794
32521113884368   JOSE          ALFREDO                     SC     14577391138
32524367651369   ROBIN         BRICE                       OH     90013053676
32524667331424   DENISE        BROWN                       MO     90009816673
32524889951339   JODI          QUICK                       OH     90011528899
32525826641277   LADONNA       HESTER                      PA     51060658266
32525885147931   GERMAN        MORAN                       AR     90009758851
32526448331428   FELICIA       KING                        MO     90010734483
32526618947931   MARTIN        SALAZAR                     AR     90013326189
32528728341258   MALIKA        YOUNG                       PA     51013987283
32529499172496   TRAVIS        GRADY                       PA     90015104991
32532653147873   ROBERT        POTTS                       GA     90014576531
32532658331424   ANIKA         LEE                         MO     90005906583
32532819291232   MICHELLE      WILMORE                     GA     90000238192
32533736391563   LINDA         GARZA                       TX     90014327363
32534562336143   JASON         BURNS                       TX     90014885623
32534593991563   MARIA         REYES                       TX     75080465939
32536982651337   FELECIA       NAPIER                      OH     66004549826
32538126872496   ADRIAN        BRYNER                      PA     51013081268
32538634755972   JOSE          LUPERCIO                    CA     90011956347
32541342251339   TIFFANY       GIBBS                       OH     90009463422
32541596272496   CHRIS         MILLER                      PA     90012285962
32542437155972   MARTHA        GARCIA                      CA     90012054371
32542613991563   CECY          DOMINGUEZ                   TX     90014586139
32543749655972   MARIO         RODRIGUEZ                   CA     48047897496
32543783891831   SUSANA        MERCADO                     OK     90008987838
32544423631424   SHAUNA        MILLER                      MO     90009634236
32544662255951   EUGENIO       LOPEZ                       CA     90002436622
32546193851339   TODD          CURRIER                     OH     90010541938
32547169454165   DAVE          GOLDMAN                     OR     47090111694
32548212447931   CLAUDIA       IRAHETA                     AR     90013942124
32548484191563   MARTIN        YANEZ                       TX     75089034841
32549658955972   VICTOR        BELTRAN                     CA     90010966589
32551559891531   MICHAEL       VARELA                      TX     90004995598
32551852591963   MARIA         MORALES                     NC     17074598525
32552694254165   JUAN          MEJIA CHAY                  OR     90010216942
32553259955972   ANGEL         ESPINOZA                    CA     90014842599
32553323255951   ANDRES        VILLA                       CA     90005493232
32553719984368   OBET          ORTEGA                      SC     90012037199
32554148947931   MARISELA      ALBARRON                    AR     90002971489
32554313784368   QUINISHA      FREEMAN                     SC     14574993137
32555746991563   NAVARRETE     SYLVIA                      TX     90005817469
32555825255972   ANGELICA      ENRIQUEZ                    CA     48026268252
32556561854165   TRACY         JONK                        OR     90014575618
32556571171943   SARA          FOSTER                      CO     90010465711
32556764351369   GURINDERJIT   SANGHERA                    OH     90013827643
32556956251339   DENISE        KERR                        OH     90001539562
32557195872496   ANGEL         KNOPSNIDER                  PA     90013951958
32558398651369   JAJUAN        WILLIAMS                    OH     66025163986
32558987691831   SALLY         WILLIAMS                    OK     90012129876
32561877847931   CARLEE        HARRIS                      AR     90007908778
32563833691356   PABLO         MARQUEZ                     KS     90011888336
32564187591356   IRMA          ROSALES                     KS     90011581875
32564219531424   JUSTIN        RANSOM                      MO     90015562195
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32566368291563   RAMON        MACIAS                       TX     90013963682
32566864831424   MARCO        LOMAT                        MO     90012268648
32567239951369   YAN          RAI                          OH     90012322399
32567591191587   PATRICIA     MARTINEZ                     TX     75083975911
32567631647931   MANUEL       GALLARDO                     AR     90012066316
32569878557153   MIRNA        GUTIERREZ                    VA     81016288785
32571147255972   ALMA         SPURLOCK                     CA     90013191472
32572897631433   CLIFLORE     PIERCE                       MO     90005258976
32573663141277   CHRISTY      FORCUCCI                     PA     51015966631
32573749884368   CARLOS       ARGUEDAS                     SC     90006747498
32574288191531   ANGEL        GRANADOS CAUDILLO            TX     90001702881
32574512991563   ISABEL       GAUCIN                       TX     90013815129
32575236336143   SHAY         KREMLING                     TX     90012452363
32579795651339   ROBERT       HUGHES                       OH     90008507956
32581165391356   DEBBIE       STEPHENS                     KS     90013871653
32581345451339   MIKE         SALLEE                       OH     66009713454
32584698955972   LAI          SAECHAO                      CA     90010936989
32585415151339   SHANNAN      LEE                          OH     90012394151
32587768791356   DONALD       BOUCHARD                     KS     90011087687
32589696455951   LUIS         LARA                         CA     90002736964
32589834941277   DYANE        DICK                         PA     51016408349
32592157883225   DEVON        GUIDRY                       TX     90014231578
32592225336143   MELVIN       SORIA                        TX     90013662253
32593162791831   RICKIE       CAVIN                        OK     90013111627
32593787131424   ELIZABETH    LOPEZ                        MO     90009577871
32594139554165   CHARLES      WELLS                        OR     90001651395
32595998355972   RAMIRO       TORRES                       CA     90010269983
32597685641258   LASONS       DUNCAN                       PA     51011266856
32598232455951   ERICA        DEOLGADO                     CA     90005492324
32612278831424   KANTRELL     LEE                          MO     90014572788
32612824691356   KARLA        MORROW                       KS     29007218246
32613387755972   CESAR        CASTRO                       CA     48037593877
32614159955972   JORGE        FUENTES                      CA     90000281599
32614782191356   SHAELAH      WALL                         KS     90011087821
32614863891537   EDUARDO      DIAZ                         TX     75075718638
32615242336143   MELINDA      GARCIA                       TX     90000512423
32615432241258   LESTER       WILLIAMS                     PA     51009234322
32615943391563   JUAN         CORONADO                     TX     90009879433
32616646851339   WILLIAM      HONCHUL                      OH     66057496468
32617321391563   LUIS         ARTURO BARRAZA               TX     90014833213
32617539284326   SINCERE      LAWNSCAPERS                  SC     90007155392
32617686655972   CARRIE       VILLAREAL                    CA     48047166866
32618262584368   BRAYAN       VASQUEZ                      SC     90007592625
32618866277544   FRANCISCO    GARCIA                       NV     90003038662
32619317891851   MICHAEL      POSEY                        OK     21009683178
32619857541277   MARLANA      HUMPHRIES                    PA     51019878575
32621116855972   BLANCA       CHAVEZ                       CA     90013401168
32621411141285   WAYNE        ALTMAN                       PA     51065674111
32621583261551   HUMBERTO     MUNOZ                        TN     90014795832
32622182651369   LANCE        FINCH                        OH     90013621826
32623288255972   HECTOR       OSORIO                       CA     48068632882
32623311872451   JAMES        HOLSINGER                    PA     90008613118
32625728661972   ANTONIO      IDARZA OROZCO                CA     46078187286
32625928191531   YAZMIN       ANAYA                        NM     90015259281
32626539191531   ALEJANDRA    SANCHEZ                      TX     90014065391
32628728891356   CARRIE       GIBSON                       MO     90002957288
32629539484368   ROBERT       HARTWIG                      SC     90007195394
32631727991356   ANDRE        PORTER                       KS     90014977279
32632122291356   TIFFANY      COLBERT                      KS     90011071222
32632139131424   CRAIG        SNARZYK                      MO     90013681391
32632665691531   DENISSE      GOMEZQ                       TX     90012996656
32632827891831   SALES        TRAVIS                       OK     21082018278
32632959591356   NATASHA      NASH                         KS     90014599595
32633388131424   SHERRIEFF    SMITH                        MO     90014603881
32635113154165   RICARDO      GUINN                        OR     90006451131
32635213241277   SHERRIE      MCAULIFFE                    PA     51072242132
32635867355972   MIRNA        JIMENEZ                      CA     48013138673
32639528155951   RICARDO      GARCIA                       CA     49039885281
32643939841285   KAI          KAMANO                       PA     51028119398
32645954141277   LISA         CONLEY                       PA     51031049541
32646319141285   BARRY        LITCHEY                      PA     51068983191
32647765531424   EDWARD       FAYNE                        MO     90015267655
32647932884368   JORGE        SARMIENTO                    SC     90011409328
32648236954165   PETER        BURGESS                      OR     90014732369
32649568631424   CHRISTY      LEWALLEN                     MO     90015135686
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32651146841277   LAMONT       WRIGHT                       PA     51082301468
32652436591563   DIANA        PENA                         TX     90000244365
32652993251341   NIKKI        FITRAKIS                     OH     90008709932
32653181741285   SHANNON      STARR                        PA     90011621817
32653277555951   JOSE         GARCIA                       CA     49030512775
32654492155972   MARYANN      FRANCO                       CA     48011664921
32654739891563   GERARDO      PAZ                          TX     90010377398
32655756261957   MAGALY       VALLEJO                      CA     90012347562
32656336855972   TERRI        BECK                         CA     90014913368
32656459191531   DANIEL       MUNOZ                        TX     75074604591
32656655185998   QUINTIN      WINGATE                      KY     67072396551
32657336591356   JESSICA      SUSSE                        KS     90012213365
32657381191531   LESLIE       MUNOZ                        TX     90011813811
32657617361925   ALEJANDO     MARRUFO                      CA     46045586173
32657735851339   RYAN         SMITH                        OH     90002997358
32658414791831   HELMIN       LARA                         OK     90012564147
32658417484368   MICHAEL      WILLIAMS                     SC     90006304174
32661163777544   ARMANDO      MONTES                       NV     43098581637
32661289231424   GUAN         HEAD                         MO     90013962892
32661393231424   TIERRA       SILLS                        MO     90012923932
32661539991563   JOSE         CARRILLO                     TX     90014845399
32663416531424   WILLIAM      DUNN                         MO     27576054165
32663643941258   MICHAEL      SHAWVER                      PA     90011526439
32663923591531   PAULINE      PRINCE                       TX     75007099235
32664428772496   JOSEPH       JOHNSON                      PA     90012714287
32664485951339   LAURA        BOYER                        OH     90001164859
32664975154165   KATHLEEN     MILLER                       OR     90011729751
32666627572496   CHARLENE     MAUST                        PA     90010736275
32666739291538   ANDY         DIAZ                         TX     90011257392
32667583947873   DARRELL      SMITH                        GA     90001765839
32668591191544   YESENIA      PAGAN                        TX     90010805911
32668717336143   JESSE        HERNANDEZ                    TX     90011867173
32669413247931   RUFUS        MCCORMICK                    AR     90015134132
32669717954165   CORRIE       NORTON                       OR     90013397179
32671217436143   SAMANTHA     GARZA                        TX     90011072174
32671842847931   LACRETIA     TECH                         AR     90012258428
32672579691531   ALFREDO      RUBIO                        TX     90004835796
32672656891831   JOSEFINA     BADILLO                      OK     90010386568
32673929272496   BOBBY        BROWNFIELD                   PA     90013499292
32674148136143   MICHAEL      HAZOURI                      TX     73594311481
32675483547931   KRISTEN      TUCKER                       AR     90008764835
32676797291356   CLAUDE       FANTROY                      KS     90012587972
32677218941277   BRIAN        GUROWSKI                     PA     90013432189
32677686191893   KELLY        ROSS                         OK     21036896861
32677744131683   JOEL         WEIHE                        KS     90000367441
32678185355972   ROMELIA      MATEO                        CA     90014321853
32679553655962   ADRIAN       RAMOS                        CA     90012635536
32681558531424   CHAD         SPILKER                      MO     90007935585
32681779154165   RIAN         GARBODEN                     OR     47003567791
32683498891563   MANUEL       LIZALDE                      TX     90005174988
32683537977544   MARCO        LOPEZ                        NV     43004355379
32686112636143   RUDOLPH      PADIERNA                     TX     90011971126
32686987791563   JOSE         SALDANA                      TX     75089019877
32687227754165   PATRICIA     HUFFORD                      OR     90008932277
32687738341285   JOSHUA       KRESS                        PA     90000877383
32689512736143   NORMA        VASQUEZ                      TX     73506845127
32691455584368   ADRIAN       NUNEZ                        SC     14561444555
32691647555972   AUSTIN       WALK                         CA     90012206475
32692564291356   ELIUD        TORRES                       KS     90015225642
32692595872496   CINDY        BROWN                        PA     90013155958
32693736372496   BARABRA      JONES                        PA     51041397363
32694743484368   CYNTHIA      HUNT                         SC     90014507434
32695752141285   JAMES        RUSSELL                      PA     90011207521
32696734151339   ABBY         ZACKER                       OH     90010067341
32696759636143   ANGELA       YBARRA                       TX     90007367596
32697485591831   JAYME        WARD                         OK     21090344855
32698946151339   CATHY        SPARKMAN                     OH     90008619461
32699661747931   DORIS        DUVAL                        AR     90012686617
32711155591356   DENISE       LEE                          KS     90014801555
32711258291531   ROMEL        ROSALES                      TX     90013732582
32711532491531   MELISSA      ZAMBRANO                     TX     75060745324
32711595584368   DELORES      JOHNSON                      SC     90010635955
32711635554165   RANDY        TERREL                       OR     47063906355
32713624591563   JUAN         LOPEZ                        TX     75089906245
32714214941285   JOSE LUIS    GALDAMEZ                     PA     51088652149
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32714815636143   BRANDON       GIRDY                       TX     90013288156
32716349331625   JODY          INSCHO                      KS     90011173493
32716893855972   ANDREA        DE LA CRUZ                  CA     48082138938
32717943191531   LETICIA       RIVERA                      TX     75026739431
32718169454165   STEVEN        BRUCE                       OR     90006571694
32721314891831   CRAIG         STILWELL                    OK     90015123148
32721681747931   KRISTINA      SALGADO                     AR     90013556817
32721713791831   JUSTIN        HOLT                        OK     90013987137
32721856491356   NARCISCO      GALVEZ                      KS     90014988564
32722589141258   MARK          GORDON                      PA     90004515891
32722872591831   EMILIANA      MUNIZ                       OK     90010738725
32724129841285   AUDREY        ARDIS                       PA     90008581298
32724652891356   GUADALUPE     GONZALEZ-CASTRO             KS     90015156528
32725117991531   MEDINAJESUS   ALFONSO                     TX     90010181179
32726776291531   VILCHIS       MARTHA                      TX     90013697762
32732188691831   MICHAEL       GRAVES                      OK     90006901886
32735624291563   TOMAS         RIOS                        TX     90005396242
32735885447931   ANTHONI       FLORES                      AR     90015568854
32737494472496   NIYA          FAIRFAX                     PA     51002834944
32739188991831   TAHER         SHOUBAKI                    OK     90013891889
32739284741481   DAVID         LAMIR                       WI     90015552847
32739296236143   ALLYSON       WISE                        TX     73592482962
32742939357126   IGNACIO       ESPINOZA                    VA     90009819393
32743326273269   MARIA         GARRADO                     NJ     90014183262
32743951291831   GENO          TRINIDAD                    OK     21066049512
32745152536143   CHRISTINA     SALAZAR                     TX     90010991525
32745721551339   CARL          SCHAFER                     OH     90013797215
32747296155972   MARIO         LUEVANOS                    CA     90011802961
32749273772496   DAMON         WALTERS                     PA     90013232737
32752113655972   ROBERT        YOUNG                       CA     90008341136
32752278772496   HENRY         SWOPE                       PA     90013932787
32753262684368   LARRY         WOOTEN                      GA     90010202626
32753389651369   LATORIA       SMITH                       OH     90014563896
32753893572496   SHERRI        KING                        PA     51020738935
32754253355972   MARCO         BECERRA                     CA     90009622533
32754756431424   ELIZABETH     WALTERS                     MO     90011447564
32755728691356   TIFFANY       GARRISON                    KS     90011307286
32757355647931   LINDA         WESTON                      AR     25063293556
32757666291563   EDUARDO       ITO                         TX     75081706662
32757676157153   CARLOS        OLMOS                       VA     90003926761
32757767641258   TAMIKA        PENN                        PA     90003767676
32758588491563   IPOLITO       RAMIREZ                     TX     90004075884
32758653157153   JOSE          LARIOS                      VA     90006816531
32762393655972   KENNETH       HALL                        CA     90005253936
32763952991531   RUTH          RIVAS                       TX     75002059529
32763954947931   TIMMY         BRONSON                     AR     90013189549
32764242741277   PETER         HESS                        PA     51045972427
32764574455972   SAMANTHA      CASTELLANOS                 CA     90012055744
32765129647931   JASON         DEGONIA                     AR     90013421296
32765334351339   YOHAN         LOPEZ                       OH     90013553343
32768537891831   JEREMY        FREEMAN                     OK     21025395378
32769523754165   JACKIE        VILLARREAL                  OR     90012245237
32771958772496   CHRISTOPHER   CROMO                       PA     90014739587
32772147551369   MAURICIO      BERRIOS                     OH     66083651475
32773687851369   JUAN CARLOS   PILAR MATINEZ               OH     90010936878
32774429322462   MOISES        REYES HERRERA               IL     90014044293
32775324451339   KAREN         BOWMAN                      OH     90008923244
32776168951339   SHIRLEY       WRIGHT                      OH     90004231689
32777428191563   EMMA          CAMARGO                     TX     75011784281
32778183341277   MARIO         LOPEZ                       PA     90011691833
32778856651339   EDWIN         TOVAR                       OH     90014958566
32779526754165   ELIZABETH     THOMAS                      OR     90014015267
32779938657153   JOSE          ROMERO                      VA     90006819386
32781797591356   ANITA         LOPEZ                       KS     90006217975
32782654354165   SHANNON       MYRAND                      OR     90012236543
32782857736143   KENTRAL       HOUSTON                     TX     90013818577
32782919991531   ROSAELENA     DEANDELIS                   TX     75020359199
32782949955972   JOSEPH        DAWSON                      CA     48040029499
32783488357153   ERICK         RODRIGUEZ                   VA     90006824883
32784417851339   MELISSA       WILSON                      OH     90008644178
32785155891563   DIANA         OZUNA                       TX     90015011558
32786122372496   KIMBERLY      DALEY                       PA     90014161223
32786229936143   ELIZABETH     BALADEZ                     TX     90007902299
32786665891531   JAMES         BAIRD                       TX     75090036658
32786885447931   DALE          NICHOLS                     AR     25096748854
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32786958241277   SPENCER      MCKAIN                       PA     51076379582
32787968284368   MIKELL       WILLIAMS                     SC     14545109682
32788638547931   TIFFANY      LUCAS                        AR     25068336385
32788765791587   ESPERANZA    FLORES                       TX     90001587657
32788975761972   MANDANA      PIROUZAN                     CA     90011729757
32789235472496   DAVID        MILLER                       PA     90014162354
32793246372496   RAMONA       BURNEY                       PA     90014162463
32793519936143   ROSE         PARTIDA                      TX     73579725199
32794373391563   ANA          TORRES                       TX     90009083733
32796349636143   LAURA        CANTU                        TX     90010993496
32796691691356   DAVID        PERAZA-RAMOS                 KS     90012126916
32797433191831   ELIZABETH    FLEWELLEN                    OK     21084814331
32797547154165   KRISTEL      GREFF                        OR     90009225471
32797713151369   STACEY       HUCKLEBY                     OH     66079607131
32798999947931   OMAR         LAGUNA                       AR     90012079999
32799413584368   KEVIN        LUCENA                       SC     90007934135
32799946991356   AMANDA       CHRISTIE                     KS     90010929469
32812216272496   LESLIE       FIKE                         PA     90014182162
32812465741277   ADRIENNE     THOMPSON                     PA     90015374657
32815387954165   AMANDA       BENITEZ                      OR     90015213879
32815516251339   FRANKLIN     ADKINS                       OH     90006165162
32815761831424   DANIELLE     TILLIS                       MO     90010387618
32817793691531   ROSE         DIAZ                         TX     90015057936
32817959872496   JAMES        HETTENSCHULLER               PA     90003789598
32818175431424   MIKE         WOODS                        MO     90003131754
32818741141277   JAMES        HOPKINS                      PA     90009347411
32819454691531   CARLOS       DELGADO                      TX     90003424546
32822438791538   MARTA        ACOSTA                       TX     90001214387
32822631331424   ALISHA       LATHAM                       MO     90014686313
32823275491563   GLORIA       CANDELARIA                   TX     90006152754
32823639884368   ALEJANDRO    RAGEL SARRATE                SC     90013496398
32823781855951   JOSE         DELGADILLO                   CA     49075377818
32823959872496   JAMES        HETTENSCHULLER               PA     90003789598
32825558151369   KARIN        CAIRO PASTOR                 OH     90014965581
32826744131683   JOEL         WEIHE                        KS     90000367441
32827735691356   JENNIFER     RUSK                         KS     90012977356
32827757181681   KAREN        PORTER                       MO     90006387571
32827797791831   VANESA       BENGOCHEA                    OK     90011607977
32828729351369   CARLA        BACKSCHEIDER                 OH     66040987293
32829645284368   JACIVE       COLMENARES                   SC     90012436452
32831854491531   MARIBEL      MARTINEZ                     TX     75091158544
32832474955972   RODOLFO      PINEDA                       CA     90009394749
32832497936143   TINO         ALVAREZ                      TX     73507414979
32832614691531   JOSE         GONZALEZ                     TX     90010656146
32833142472496   STEVEN       SMITH                        PA     90008501424
32835931691831   VALENTIN     VARGAS                       OK     90013039316
32836521972496   JOY          HOLCOMB                      PA     90010515219
32836693236143   ROSALINDA    GARCIA                       TX     90014256932
32836825651339   APRIL        ROBERTS                      OH     66024548256
32837496841285   TERESIA      COUCH                        PA     51052254968
32841296355972   ROCKY        CORTEZ                       CA     48079492963
32842683551339   JACOB        SALLIE                       OH     90012506835
32843823472455   WILLAM       BENSON                       PA     90007618234
32845552654165   ROSE M       BREITHAUPT                   OR     90004865526
32846693491563   SAMANTHA     MARTINEZ                     TX     90015286934
32847683141277   LAURA        MEDIATE                      PA     51011066831
32848838441285   MARK         NAGY                         PA     51045588384
32851951931424   SUSAN        FINLEY                       MO     27593479519
32854123631424   CEEARA       PIERCE                       MO     90011601236
32855193593761   CHRISTINA    COLLIER                      OH     90006701935
32856152791563   GUADALUPE    COBOS                        TX     90014091527
32856656855972   CAMERON      JONES                        CA     90015016568
32859555531424   ZACHARY      O CONNELL                    MO     90012615555
32861441284368   LEONOR       LATTARO                      SC     90014884412
32863244647931   TOSMA        THOMAS                       AR     90013952446
32863348531424   KELLIE       BLISS                        MO     90003953485
32863592491531   VERONICA     GALARZA                      TX     90001235924
32866519791531   ARMANDO      ALVAREZ                      TX     75090015197
32866717541277   DERRICK      REED                         PA     51088107175
32869189454165   SHALISHA     JARVIS                       OR     90005081894
32871337491893   HILARIO      ROSALES                      OK     21072423374
32871679531424   NOREEN       CLARK                        MO     90012826795
32871773451369   MONTEZ       KIDD                         OH     90011957734
32872318951369   BOCAR        DIA                          OH     90008943189
32872394757153   JENIFER      SANCHEZ                      VA     90006863947
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32872446572496   TIM           LINHART                     PA     90010704465
32873593136143   TONEY         AGUILAR                     TX     90010345931
32874454672496   TANA          MCBETH                      PA     90014214546
32874498247931   LYNDON        NESBITT                     AR     90013544982
32874675941285   RON           MILLER                      PA     90011206759
32874743784368   ADRIAN        CORREA                      SC     90013607437
32874983291563   ISABEL        VILLA                       TX     90011489832
32875832941258   DENISE        GATES                       PA     90010568329
32876743885655   RONALD        MASON                       NJ     90006947438
32877929791563   SILVIA        VIRAMONTES                  TX     90003429297
32878316947931   ADA           RODRIGUEZ                   AR     90014373169
32878828747931   MICHAEL       GARCIA                      AR     25049628287
32883145531424   MARGARET      RUFFIN                      MO     90013751455
32883418641285   DAMEON        RAY                         OH     90007334186
32886117941285   JOSHUA        MALLEY                      PA     51086961179
32889984251339   GINA          DUNSON                      OH     90011319842
32892292191831   NOEL          RUTHERFORD                  OK     90010342921
32892869855951   EVELYN        GIL                         CA     49009978698
32895785755951   PEREZ         MARIA DE JESUS              CA     49057587857
32896238954165   MARNIE        MCCAMMON                    OR     47005872389
32897127955972   BURKE         RUSSELL                     CA     48029781279
32897489641277   PATRICIA      DUFFEY                      PA     90007554896
32897525177544   ALBERTO       ALONSO                      NV     43089035251
32898833231424   TRACY         TAYLOR                      MO     90014638332
32911235184368   SAMELYA       AIKEN                       SC     90011102351
32911777191831   JARED         NISSEN                      OK     21009567771
32912335391356   JOSEPH        SHAHAN                      KS     90006573353
32912624791531   GERARDO       PEREZ JR                    TX     90013836247
32913811155972   NORA          GUZMAN                      CA     90014758111
32913834841277   MARY          HOLZWARTH                   PA     90002498348
32914289851369   LATRENA       WELLS                       OH     66000732898
32914562847931   LADONNA       MENISEE                     AR     90015515628
32915619451337   MARRTYIA      HUNTER                      OH     66086586194
32915695551369   AURA          THOMAS                      OH     90007686955
32915857591356   LASHAUNDA     BROWN                       MO     90001058575
32916159191563   SANDRA        ACOSTA                      TX     75040311591
32916521541258   KIMBERLY      KOROPAL                     PA     51011085215
32916941451369   MATTHEW       COTTINGHAM                  OH     90015009414
32917672351369   THERASHIA     JONES                       OH     90013636723
32918587531424   WILLIAM       KENDLE                      MO     90001125875
32921143951369   BRANDON       MONROE                      OH     90009031439
32921226191563   ALMA          RAMIREZ                     TX     90014002261
32921352154165   DANIEL        WALLACE                     OR     90008553521
32921445272496   REBECCA       ELLIOTT                     PA     90014304452
32922372691942   WACKIMA       WRIGHT                      NC     90010153726
32923227391531   MAYBLE        VILLA                       TX     90014682273
32924294684326   JAMES         SIMON                       SC     90003242946
32924558231424   BRENDA        JONES                       MO     27583135582
32924582336143   DAVID         YOUNG                       TX     90012245823
32925443872496   AMANDA        SHOWMAN                     PA     90015164438
32925876791356   JENNIFER      GRESTY                      KS     90007098767
32926239891531   KENDY         WILLIAM                     TX     90005152398
32926975351369   JORGE         LEON                        OH     66020199753
32928625991563   MICHELLE      BARON                       TX     90014306259
32928924941285   JERMAL        JACKSON                     PA     51082659249
32929369591531   GERALD        AGUIRRE                     TX     75089993695
32931283231433   CHRISTOPHE    MCREYNOLDS                  MO     90001412832
32931977284368   FLAVIA        BALDEZ                      SC     90007669772
32932865791531   JOSE          AVITIA                      TX     90014378657
32933732536143   LETYCIA       JIMENEZ                     TX     90014127325
32933965954165   JENNIFER      YOST                        OR     47093899659
32935455691831   JAMES         WALKER JR.                  OK     21059144556
32936335155972   MICHELLE      HEDGECOTH                   CA     48048393351
32936862791531   JORGE         SANTOYO                     TX     75085928627
32937316736143   KEISHA        RINGLAND                    TX     73580073167
32937795855972   RUBEN         SOTO                        CA     48003977958
32937835191531   JUAN          FLORES                      TX     75009888351
32937882551339   JUSTIN        ROSE                        OH     90009948825
32942455391881   CHRISTOPHER   FALCK                       OK     90013264553
32942871247931   JACKSON       ABERCROMBIE                 AR     90012788712
32943827351339   GARCIA        MARCELO                     OH     90015298273
32943984277544   DAYL          ROACH                       NV     90007279842
32944352391831   NOYAH         DOWNING                     OK     90009333523
32945549972496   MICHAEL       CRAYTON                     PA     51001885499
32945715751339   JENLYN        PAXSON                      OH     90009467157
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32945923247931   JOHNNI        GARCIA                      AR     25084019232
32948393155951   JOSEFA        RODRIGUEZ                   CA     90005493931
32948624391531   JANET         NUNEZ                       TX     90011666243
32949294491356   ADELA         MONTUFAR                    KS     90012492944
32951933751339   MELANIE       CLAPP                       OH     66043479337
32952187731424   ANGELA        KENDALL                     MO     90010281877
32952546857335   WILLIAM       SINCLAIR                    MO     90013785468
32952631472496   LIVIA         COCHRANE                    PA     90010556314
32952693151369   DARLENE       FRITSCH                     OH     66002686931
32953185941258   LINDA         WEARING                     PA     90002521859
32953283784368   ARTURO        FRANCISCO HERNANDEZ         SC     14517462837
32955425984368   RUPERT        GOODEN                      SC     90009264259
32955599291356   AYANNA        LEWIS                       KS     29006375992
32958728731494   MATTHEW       BEALUE                      MO     90003897287
32958842491563   LOUIS         MORALES                     TX     75051918424
32962213733669   VENECHIA      MATTHEWS                    NC     90013182137
32962359451369   AIDA          LOZANO                      OH     66071383594
32962634891883   MARIETTA J    COWANS                      OK     90007716348
32963324941258   PATRICIA      HELD                        PA     90007183249
32964931491563   RAMON LOPEZ   MUNOZ                       TX     90006529314
32965275836143   VANESSA       RODRIGUEZ                   TX     73535782758
32965354754165   RICHARD J     CHURCH                      OR     47003263547
32965558531424   LEONDRIA      DOGAN                       MO     90014435585
32965634291356   SARAH         YOUNG                       KS     90011126342
32965693147931   JEBEEL        JABJULAN                    AR     90011116931
32968575272496   KIM           HORMELL                     PA     90007455752
32969759284368   CESAR         BARTOLON                    SC     90012917592
32971294384368   ESMERALDA     PRECIADO                    SC     90001722943
32971583831424   SHERELL       SWINK                       MO     90009855838
32972125484368   ANGEL         HERNANDEZ                   SC     90007681254
32972494977544   KANDY         MALTERER                    NV     43080024949
32973336591356   WENDY         HERNANDEZ                   KS     90005583365
32973845191531   DIBIA         VILLALOBOS                  TX     90013208451
32975157954165   EMILY         SVENDSEN MCLEAN             OR     90012521579
32975372972496   JACQUELINE    OGOOD                       PA     90010573729
32975568841277   JOHN          LEE SR                      PA     51097475688
32976366955933   HECTOR        AVALOS                      CA     90010323669
32976674854165   MATTHEW       MICKEL                      OR     90011626748
32977531591356   MARIA         GONZALES                    KS     29053245315
32978256891356   GUADALUPE     NAVARRO                     KS     29067002568
32983393655972   KENNETH       HALL                        CA     90005253936
32984419991831   STAKE         LINWOOD                     OK     90013704199
32986775651339   TYLER         HILL                        OH     90009307756
32987369441277   EZZARD        JAMES                       PA     51071653694
32988611572496   BRAD          BUTTS                       PA     51063196115
32989996291831   TED           POOLE                       OK     90010129962
32992752691831   SHELLEY       ELDREDGE                    OK     21092587526
32993821791831   ROBERT        ALLEN                       OK     90013688217
32995244684368   ANA           ELEUTERIO                   SC     90009492446
32996566491531   RACHEL        ZAVALA                      TX     90002785664
32997335691531   MICHELLE      SILVA                       TX     90015153356
32998495577544   ROCIO         VILLAGRANA                  NV     43039884955
32998864191531   OSCAR         RAMIREZ                     TX     75070888641
32999194391587   OSCAR         CARRILLO                    TX     75080281943
32999358184368   PHIL          JONES                       SC     14594843581
32999591251331   NICOLE        MURPHY                      OH     66071425912
33111875491563   RUPERTO       VALERO                      TX     90011408754
33112161191563   GLORIA        DURAN                       TX     75045091611
33112467591831   AMANDA        GARCIA                      OK     90015204675
33112622184378   FATIMA        SALAS                       SC     90012976221
33112693641277   KATHY         BRANDON                     PA     90002906936
33113573254165   DANIEL        HART                        OR     90012585732
33114758155955   BRYAN         SCHAPPER                    NV     90013867581
33114837641258   ERIC          JOHNS                       PA     51084318376
33117577654165   KIKI          SIBERT                      OR     90007165776
33118574854165   RENEE         CROSS                       OR     90012615748
33119935941285   CHARLOTTE     BUTLER                      PA     51071899359
33121873257172   NADIA         MAYORGA                     VA     90008168732
33122164584378   ROSALINO      FRANCO                      SC     90011101645
33122447791232   DAVARIUS      GORE                        GA     90001364477
33124174691371   MAURA         GARCIA                      KS     90013861746
33124796251321   LASHAWNA      RAILEY                      OH     90006207962
33124818751369   GIRI          SAPKOTA                     OH     66077088187
33124894691831   KELLI         MASCARIN                    OK     90001688946
33127737584378   JASON         GREEN                       SC     90015417375
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33131998977544   JUAN         VAZQUEZ                      NV     43098109989
33132363991371   KENISHA      JOHNSON                      MO     90013743639
33134451641285   ERIK         GENSLER                      PA     90012344516
33134641855972   SARAH        HENDERSON                    CA     90014106418
33135784851594   CARLOS       NABOR                        IA     90013917848
33136244551339   SHANTE       HORNE                        OH     90013942445
33136536154165   KATHERYN     FOSTER                       OR     90010115361
33136562684378   JOSE         LUIS                         SC     90009125626
33136934541285   DARREN       KIEFER                       PA     90014229345
33137756441277   SHARON       MILTON                       PA     90002907564
33138543751339   ERIN         PERCIFULL                    OH     66000255437
33139776841285   ASHLIE       CURCIO                       PA     90014747768
33141266851369   VANESSA      ARNOLD                       OH     90011302668
33141595741285   MONICA       PALMER                       PA     51061515957
33142622555927   CARLOS       JIMENEZ                      CA     49070206225
33142685891831   KARLA        MENDEZ-VASQUEZ               OK     90007186858
33144257184378   RICHARD      BROWN                        SC     90011382571
33145698291371   JESUS        PACHECO                      KS     90012726982
33145984141277   ELMA         PORTERFIELD                  PA     90010479841
33146169391371   ROBERTO      FUENTES RODRIGUEZ            KS     29014211693
33149495884378   LAWRENCE     BURRISON                     SC     90014794958
33152469491371   VANESSA      QUICK                        MO     90014374694
33155627151339   DESTINY      PUCKETT                      OH     90011236271
33155632955972   LONNIE       VOSSLER                      CA     90013206329
33157228991563   MARNI        ABOUD                        TX     75096122289
33157717677544   JEFFERY      GRAEHL                       NV     90011247176
33158884654165   RICHARD      HERRON                       OR     90013528846
33159685672455   AL           SMITH                        PA     51007616856
33161241336143   LYDIA        SALINAS                      TX     90010202413
33161469691831   LATOSHIA     TURNER                       OK     21004074696
33162198641258   PEG          TRESSLER                     PA     90004441986
33162291991831   CRUZ         HERNANDEZ                    OK     21011342919
33162717651339   JAMILY       BUSH                         OH     90014497176
33165412931471   MARY         SHELTON                      MO     27561874129
33166778251339   STEVEN       HIMES                        OH     90014047782
33172117751369   SIDNEY       LOVE                         OH     90013121177
33173226651369   MISTY        ROWE                         OH     90010712266
33174153591232   BETTY        BARKER                       GA     90006981535
33174393847873   BENJAMIN     GRAHAM                       GA     90011613938
33174759747931   VIOLA        GUYTON                       AR     90011107597
33174892855978   GABRIEL      HOOKS                        CA     90014248928
33174893641258   KATE         FISCHER                      PA     90008138936
33176829991371   BOOK         FROST                        KS     90008888299
33177427591831   LUIS         RODRIGUEZ                    OK     90010464275
33177441155947   ERICA        FLORES                       CA     90010374411
33178123551369   TALEAH       MITCHELL                     OH     90013121235
33178444131424   JAMES        BOTTORFF                     MO     90014264441
33178587691831   DAVID        CAMP                         OK     90013765876
33179115141258   DEBBIE       MITCHELL                     PA     51005841151
33181761641258   MISTY        SCHANZ                       PA     51094447616
33182123551369   TALEAH       MITCHELL                     OH     90013121235
33182386891563   LAURA        RUIZ                         TX     90007563868
33183388554165   DANIEL       FISHER                       OR     90013583885
33186184291831   JON          FOWLER                       OK     90014581842
33186994291893   CARL         ROBERTS                      OK     90003319942
33191589455972   MARIA        RIVAS DE REYNOSO             CA     48056515894
33192515555972   ANITA        CUELLAR                      CA     48049875155
33192987691563   DAVID        ALVAREZ                      TX     75019199876
33194233881642   THOMAS       SORRENTINO                   MO     90002882338
33194868655972   CINDY        HERNANDEZ                    CA     90015598686
33194921141285   CRAIG        GATES                        PA     51089809211
33195382651339   ARICA        ZEHE                         OH     66050523826
33195528991549   FRANK        KORIBANIC                    TX     90014935289
33196141184378   LUIS         MORENO                       SC     90014371411
33196933391371   IEISHA       SHELTON                      KS     29082729333
33198438341285   THOMAS       RAMOND                       PA     51018514383
33199388254165   SHARON       WILSON                       OR     90008473882
33211845651339   KRISTINA     BOOHER                       OH     90011258456
33213213751369   RUDY         MAREE                        OH     90013122137
33213433491563   REBECCA      LEONARD                      TX     75003934334
33213691891371   RUDY         PADILLA                      KS     29026356918
33215665851339   ERICA        GROSS                        OH     90014156658
33218611791563   IVONNE       ACOSTA                       TX     90006316117
33218655636163   ADRIANNA     LOPEZ                        TX     90013976556
33219376984378   RUDWIN       CARCAMO                      SC     90002023769
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33221461861931   LILIA          RENDON                     CA     46003104618
33222332847931   JOSE           MORENO                     AR     25061803328
33223425255972   REINA          MARTINEZ                   CA     48096294252
33223471341285   ASHLEY         MORRIS                     PA     90007364713
33224147791563   MICHAEL        PICKETT                    CO     75001031477
33225416741285   MARLO          BRYANT                     PA     51081314167
33227136554151   ROXANNE        PEW                        OR     90011791365
33227325541258   JASMINE        BAILEY                     PA     90011313255
33228426151339   SONJA          LAKES                      OH     90014794261
33229448291831   PATTON         LISA                       OK     90012684482
33229616391563   ISIDRO         TAPIA                      TX     90012116163
33233213191831   ARIEL          WILLAMS                    OK     90010622131
33234567291563   MELISSA        DUNN                       TX     90014075672
33236368151369   FREDERICK      WILLIAMS                   OH     90014303681
33238742491563   LUIS           RIVERA                     TX     90015097424
33238938441258   TY             LEE                        PA     90013949384
33239424631424   SHAWL          BRIGGS                     MO     27511484246
33239755251339   SHAWN          LATTIMORE                  OH     90011277552
33239771231424   SHAWL          BRIGGS                     MO     90014227712
33241248651339   KENDRA         VENTERS                    OH     90007702486
33241286951369   WILLIAM        NIXON                      OH     90013122869
33241314451369   JOY PAYTON     ROE                        OH     90014193144
33241325747931   REGINA         EDWARD                     AR     90014813257
33242739691563   RICARDO        SERRANO                    TX     90013457396
33243245391371   LETIZIA        WASHINGTON                 KS     90013752453
33244934791371   ROBERT         SAALE                      KS     90011679347
33245268691371   IDELISA        SOLIS                      KS     90009562686
33246286951369   WILLIAM        NIXON                      OH     90013122869
33246711191584   ARCY           VELASCO                    TX     90007197111
33247755454165   BRYAN          CRUZ AGUILAR               OR     90006977554
33248112491563   KRYSTAL        GADDIS                     TX     90012241124
33248858991831   CHRISTINE      PASTRANA                   OK     90014888589
33249274736143   JUAN           RAMIREZ                    TX     90011032747
33249731291563   VERONICA G     RAMIREZ                    TX     90005437312
33251688484378   HERBERT        PARKER                     SC     90013666884
33251791125234   ERNESTO        POLANCO                    NC     90012057911
33251874451369   TALIA          LEWIS                      OH     90014068744
33251894991371   LADONNE        ARREOLA                    MO     90005138949
33252234241258   RONALD         SIMMONS                    PA     90001402342
33253345577544   ALBA ROSA      SANCHEZ                    NV     43079593455
33254111231424   NICOLE         MERKSON                    MO     27514731112
33256139555972   BEVERLY        SWEREDOSKI                 CA     90014851395
33258267941258   VALERIE        EBERHARDT                  PA     51079502679
33258378255972   SYREETA        CLARK                      CA     48006843782
33258457491893   ANDREA         DENNIS                     OK     90001924574
33263557441285   MATTHEW        PETERS                     PA     90012165574
33265463351339   CHRIS          FRAZIER                    OH     90008194633
33266139691538   HERMINA        SOTODERIOS                 TX     90003421396
33266212654165   FRANK          GORMAN                     OR     90006592126
33266668441277   KULBAHADUR     POUDEL                     PA     90009656684
33267294991831   MEONKA         IRONS                      OK     90014702949
33269327951369   ALEX           KASSOW                     OH     90014713279
33271875251369   CALVIN         ACERS                      OH     90003478752
33272822841297   TIMOTHY        ASHCRAFT                   PA     90015088228
33274742431424   LETISHA        BENSON                     MO     27561977424
33275242693767   STEVEN         SALMONS                    OH     90011362426
33275629955972   JOSE           RAFEAL                     CA     90012736299
33276812547931   MIRIAM         CASTRO MARTINEZ            AR     90013678125
33277275747931   JOSE ALFREDO   GALVAN                     AR     90014892757
33277537491371   TRINITY        VASOS                      KS     90015105374
33277834391831   JOSEPH         HALL                       OK     90013848343
33283162436143   LIZETTE        CARRANZA                   TX     73579871624
33284848454154   ARACELI        RODRIGUEZ                  OR     90013328484
33286879291371   TONY           DIFOLCO                    KS     90014158792
33287527484378   SOPHIA         MARTIN                     SC     90000765274
33288629155951   FRANCISCO      LUNA                       CA     90007306291
33292333784378   LOCKSLEY       BENNETT                    SC     90007603337
33294114454165   MICHAEL        WADLOW                     OR     90012911144
33294373591563   CARMEN         MARQUEZ                    TX     75037943735
33295139591563   ESTRA          CLAUDIA                    TX     90003791395
33298245861972   STFKA          DELI IVANOVA               CA     90009022458
33312136554151   ROXANNE        PEW                        OR     90011791365
33312932447931   JOHEL          PEREZ                      AR     25002389324
33313818755972   LIZ            GUTIERREZ                  CA     90014458187
33314593477544   ROBERT         FROST                      NV     90008365934
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33316578651369   LUTHERA       LEE                         OH     90002525786
33316785491831   APRIL         GRUNDEI                     OK     90000447854
33317433451369   STEPHANIE     HILL                        OH     66039364334
33317565651339   JOSEPH        MIRACLE                     OH     90005345656
33318911991831   RICHARD       KELLEY                      OK     90009509119
33321577955972   DANIEL        SANCHEZ                     CA     90009705779
33322614691831   IVET          LUEVANO GARCIA              OK     90009696146
33323265991893   CHRISTI       BUSH                        OK     90011582659
33324775647931   TIFFANY       MARTZ                       AR     25080527756
33325536136143   JUANA         SANTILLAN                   TX     90011965361
33326967755927   BULMARO       ZANABRIA                    CA     90002189677
33326993836143   JUANITA       ORTIZ                       TX     73583039938
33327318184378   PATRICIA      SMITH                       SC     14502973181
33329511936143   SONYA         BAILEY                      TX     90006435119
33329655641258   RAE           BARKER                      PA     51024446556
33332193141277   EDWARD        JOHNSON                     PA     51089771931
33332253391371   SAMANTHA      HICKMAN                     KS     90001562533
33334597447931   CORY          TROY                        AR     90010195974
33334695486436   MARY          HARLOW                      SC     90015076954
33335649451339   DEANNA        SMITH                       OH     90014576494
33335952341285   BHARAT        KUMAR                       PA     90015309523
33337513551369   JAMES         BARNETT                     OH     90015215135
33338325555972   MARIA         CHAVEZ                      CA     90011483255
33339367855972   VERONICA      VIRRUETA                    CA     90001463678
33339494191587   ANTHONY       HARVEY                      TX     90011254941
33341123336143   CHRISSY       ALVAREZ                     TX     90010451233
33343911477544   JUANA         ORNELAS                     NV     90003419114
33344523151339   DAVID         SMYTH                       OH     66039525231
33344694347931   DIANN         ROBINSON                    AR     25041406943
33345435541285   MARIE         YEAGER                      PA     90010534355
33345672654165   SEAN          DOWNING                     OR     90011706726
33346682341277   MARCI         BARIE                       PA     51016126823
33347856951339   BRIAN         TAULDEE                     OH     90011578569
33348385991893   WILLIAM       WOODS                       OK     21068543859
33348794736143   TOO           TRILL                       TX     90011477947
33352558293721   MICHAEL       PENNINGTON                  OH     90002535582
33353519541285   ROBERT        JONES                       PA     51084345195
33353521291371   SERGIO        NAVARRO                     MO     90013075212
33354695151369   MELISSA       COMBS                       OH     66039356951
33354788251339   TIFFANY       INGRAM                      OH     90005387882
33355738241285   LATOYA        WILLIAMS                    PA     51051947382
33356479491831   CHRISTOPHER   WILLIAMS                    OK     90014564794
33357629591232   BARBARA       DANZI-SMITH                 GA     14579106295
33358459591371   SHAKITA       ROBINSON                    KS     90013654595
33361719747931   SASA          CVJETKOVIC                  AR     90010777197
33361731391831   MIGUEL        FLORES                      OK     90004927313
33361788155972   ROBERTO       DENIZ                       CA     48004137881
33362187741285   KELLY         MCDONALD                    PA     51058701877
33364385455972   JUAN          RAMOS                       CA     48092493854
33364939293746   HOLLIE        GIBSON                      OH     90008639392
33365288541285   JAMES         KOPP                        PA     51017552885
33367243291831   RAIMONDI      JOHN                        OK     21048892432
33367468147931   MEGAN         BYRD                        AR     90012864681
33367852347931   KACHIA        PHILLIPS                    AR     90014508523
33368692191893   LARRY         HAMILTON                    OK     90007976921
33371244236143   CRYSTAL       GARZA                       TX     90011062442
33372927841285   ANTHONY       FRAUENHOLTZ                 PA     51073079278
33373684691831   LISA          RENTIE                      OK     90009646846
33374719747931   SASA          CVJETKOVIC                  AR     90010777197
33375334241258   RAHUL         WILLIAM                     PA     90013473342
33376313591831   KIMBERLEE     TURNER                      OK     90009523135
33377131191371   DANIELLE      ADAMS                       KS     90007271311
33377131555972   RENO          CANTU                       CA     90011191315
33379721341285   JAWANNA       MILLER                      PA     90013637213
33381661191538   MARIA         BOOTH                       TX     75025416611
33382683391563   JOSE          REYE                        TX     75059266833
33385723855955   YOLANDA       CAVASOS                     CA     90004147238
33385891354165   DANIEL        STRAWSER                    OR     90013158913
33386383691821   DOUGLES       JONES                       OK     90002533836
33387142455972   VICTORIA      PALACIO                     CA     90013971424
33387761251339   ASHLEY        TOMLINSON                   OH     90011597612
33388993891371   STEPHANIE     HALE                        KS     90014159938
33389282191371   ROSA          OSEGUERA                    KS     90013752821
33389481257126   ANA           MELGAR                      DC     90001084812
33389694291563   ROCIO         ARANA                       TX     90013766942
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33392195754165   SAM          EARLE                        OR     90014531957
33393489941258   MARY         HARPSTER                     PA     51088444899
33395549991371   ERICA        CARRILLO                     KS     29078515499
33395976484378   ROMINA       MARTINEZ                     SC     90012419764
33397134991232   JAMES        WILLIAMS                     GA     90012881349
33398174247931   PEDRO        GARCIA                       AR     25085511742
33399574841285   ERIC         SHARPLES                     PA     90015535748
33399731155947   ALONSO       MERCADO                      CA     90008777311
33411512551339   MANUEL       BERROA                       OH     90012655125
33412731541285   KEVIN        ERNST                        PA     90013787315
33413879741258   OSVALDO      CARATTINI                    PA     90006898797
33415539151339   CAROL        MICHAEL                      OH     90011615391
33417356991563   IRASEMA      MADIAS                       TX     75078593569
33417569291584   MANUEL       CORDOVA                      TX     90006315692
33417779341258   DEBBI        CATON                        PA     90013457793
33418711784378   MERCED       GOMEZ                        SC     90012697117
33418986191584   JESSIE       ARAUJO                       TX     90007209861
33419536491544   ARLENE       MARISCAL                     TX     75089725364
33421736521578   JOSEPHINE    SCERE                        UT     90000967365
33421993691525   RUTH         GARCIA                       TX     90006809936
33424365351369   RAKESHA      THOMAS                       OH     90010863653
33425145941285   LAURA        HOCKENBERRY                  PA     90013601459
33426531436143   PAUL         RESENDEZ                     TX     90011955314
33431867241258   STEVEN       SCOTTI                       PA     51009278672
33432521591831   DAVID        JOHNSON                      OK     21002725215
33432928391371   YAMILKA      PAREDES                      KS     90013799283
33434663191563   CARMEN       GONZALEZ                     TX     75089256631
33439328436143   ARIEL        ALLEN                        TX     90002813284
33439399755972   DARRELL      OVERSTREET                   CA     90015173997
33439755641258   RAYNELLE     HURT                         PA     90014417556
33441846761921   JOE          BUSELT                       CA     90012248467
33442932281621   BEVERLY      DEWITTE                      MO     29027739322
33445984991821   JACK         ANDERSON                     OK     90015089849
33446284551339   LAURA        GRAY                         OH     90011632845
33446418291831   AUSTIN       CAIN                         OK     90015304182
33446787451594   KYIRON       BROWN                        IA     90013917874
33447729785655   HERNANDEZ    RUPERTO                      NJ     90008767297
33447792284378   CARL         TOENNESSEN                   SC     90014707922
33448624991831   VANESSA      WESLEY                       OK     90003896249
33448656641277   DANIELLE     DINNING                      PA     51007586566
33449577791584   PAULA        POWELL                       TX     90003355777
33449867191831   CHRISTINA    PADDOCK                      OK     21077088671
33452377354165   STAS         WALLACE                      OR     90012053773
33453344991563   JOSE         MACIAS                       TX     75071573449
33453668193753   SYM          CORWIN                       OH     90006706681
33453699654165   JULIO        VELASQUEZ                    OR     90013846996
33454377941277   RALPH        BROWN                        PA     90014863779
33455431954165   JULIE        BUTCHER                      OR     47085934319
33456196572499   CHRISTINA    HELMICK                      PA     90010351965
33456486191563   LETICIA      CASTILLO                     TX     75004664861
33456994655972   LUPE         ARREDONDO                    CA     90007589946
33459393141277   WESLEY       MOYLE                        PA     51045833931
33461117591587   HELEN        AGOSTA                       TX     90005061175
33461282781678   ALLYNN       LEE                          MO     90005722827
33461443391893   ISREAL       OROZCO                       OK     90000124433
33461572161557   PAMELA       HAMILTON                     TN     90014305721
33462849351369   DOMONIQUE    JAMISON                      OH     90013408493
33467728947931   KARLA        MEJIA                        AR     90001727289
33468544191831   FLORA        CARLO                        OK     90003665441
33471795991563   DEBBIE       SOSA                         TX     75014697959
33473425536143   KIMBERLY     GARLEY                       TX     90006514255
33473441391563   GUADALUPE    CARREON                      TX     75060004413
33473697855972   DELLA        SOLIZ                        CA     48054376978
33474577941277   ROBERT       GALLOCHER                    PA     90005315779
33474611184378   MARGARITA    BERDUO                       SC     90013876111
33476445691563   MELANIE      HERNANDEZ                    TX     90010714456
33476531291371   BOO          REH                          KS     90014705312
33477883141258   HYSHEIA      SCOTT                        PA     51009878831
33478617191563   BENITO       MENDOZA                      TX     90014156171
33478922347931   BRIANNA      MILLER                       AR     90010159223
33479596554165   JOSHUA       JOHNSON                      OR     90013195965
33481178291371   ERVING       ROMAN                        MO     90003101782
33481194391563   OSCAR        CARRILLO                     TX     75080281943
33482221851339   DOUG         HAMISCH                      OH     90011632218
33482297991371   ARGELIA      DE LA MORA                   KS     90002142979
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33484134255972   AMERICA       DELGADO                     CA     90014931342
33484643641258   DONALD        HARRIS                      PA     90008926436
33485516636143   PATRICIA      RAMOS                       TX     90011075166
33486285191831   GAIL          NELSON                      OK     90013462851
33486986291538   VERNICA       DAVILA                      TX     90010509862
33489597391525   CHRISTIAN     REYES                       TX     75098795973
33489699455972   BRENDA        FLORES                      CA     48040096994
33492553454165   AMIE          BRALEY                      OR     90012885534
33492748791584   SERGIO        BELMONTE                    TX     75074997487
33493248131424   MARIA         GONZALES                    MO     27504192481
33496622184378   FATIMA        SALAS                       SC     90012976221
33499616151339   SHAWN         GOMIA                       OH     90014666161
33499631791831   VICTOR        RADUALES                    OK     90009696317
33512249891371   STEPHANIE     STEVENSON                   KS     90008362498
33512627184378   MARY          BLIGE                       SC     90010066271
33513457961986   GRACIEL       SALMERON                    CA     46005034579
33513595791563   MARCELA       VAZQUEZ                     TX     90009375957
33514578784374   MORQUITA      JENKINS                     SC     90002285787
33515772391563   QUINTANA      DENISSE                     TX     75005537723
33516657191563   JOSIE         MCCLEARY                    TX     75089246571
33517649291584   ALEJANDRA     TREJO                       TX     90010026492
33518898451339   AMIEE         TAYLOR                      OH     90014678984
33519139691831   LAURA         WATSON                      OK     90014361396
33519696851369   ASHLEY        VILLAR FELIX                OH     90014876968
33521263491831   MICHAEL       OVERACK                     OK     90012952634
33521538451339   KENDRA        BLANTON                     OH     90011235384
33523278851339   SHEILA        LINDSEY                     OH     90011722788
33523412554165   MERCEDES      FAHLMAN                     OR     90014654125
33524271391963   RICKY         HUNT                        NC     90009492713
33524428436143   ANASTACIA     CAVASOS                     TX     90005214284
33524666141285   MARK          ANDERSON                    PA     90015316661
33524751891831   JEREMY        GILBERT                     OK     90001457518
33525139491371   BRITANI       GONZALES                    KS     90005611394
33525581884378   ERNESTO       ALARCON                     SC     90014795818
33525944954165   JANEL         JOHNSON                     OR     90007139449
33526594291893   DANIELLE      MARSHALL                    OK     21036925942
33526743881621   NAJEME        NYOKI                       MO     29025627438
33528815161925   JAVIER        BELTRAN                     CA     90010548151
33532182254165   ROBIN         ANN CALLAWAY                OR     90010271822
33534312851339   TERESA        MURRAY                      OH     90006223128
33534422841258   LISA          SCHRADER                    PA     90008144228
33534956441285   DAMIAN        CUROTOLA                    PA     90004679564
33535229751339   NICHOLAS      MILLER                      OH     90014502297
33536378741285   REBECCA       CRAIG                       PA     90005193787
33536668391232   JAIME         SAGUILA                     GA     90005636683
33538631933642   JUSTINA       WILLIAMS                    NC     90012936319
33539881554165   WAKARA        MILLER                      OR     47003138815
33542328241277   JAIME         COSTELNIK                   PA     90006873282
33544514341277   SHANGO        WALTERS                     PA     90011235143
33544866941277   WALTERS       SHANGO                      PA     90006458669
33545562831424   CHRISTOPHER   ELLISON                     MO     90001855628
33546937884378   JOAQUIN       MORENO                      SC     90009649378
33547182131424   TREMIEKO      DRAKE                       MO     27561891821
33547242984368   MAGDALENA     DELLE VALLE                 SC     90002122429
33547754255972   JAIME         MENDEZ                      CA     48032477542
33548263391831   REGGIE        CHERRY                      OK     90013092633
33549479177367   FERMIN        ESPARZA                     IL     90015444791
33554819454165   JAROM         SMITH                       OR     90012708194
33557812441277   HEATHER       GOGARTY                     PA     51043278124
33557942441258   THOMAS W.     OWENS                       PA     90012499424
33558583577545   THOMAS        PARTON                      NV     90006075835
33559825451339   HEATHER       SIMMONS                     OH     66097288254
33561988461921   RUTH A        SILVA                       CA     90013129884
33562943391831   MELVIN        MARTIN JR                   OK     21079119433
33566575491893   JENNY         BARNETT                     OK     90001365754
33567295284378   JERRY         BACKER                      SC     90013132952
33567786991563   DIANA         HOFFMANN                    TX     90002767869
33571825777367   GEORGE        ELAM                        IL     20515358257
33574371661925   BARBARA       GASKIN                      CA     90001713716
33574768371937   ZHAKARY       LASTER                      CO     90013807683
33577157184378   BRIAN         ROBINSON                    SC     14586211571
33577291391563   ISMAEL        VILLALOBOS                  TX     90008672913
33577384341285   SHAILA        ASHBY                       PA     90013223843
33577558355972   REBECCA       WINTERS                     CA     48070195583
33578416561937   DENISE        HOOD                        CA     90013834165
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33578825531472   BEVERLY       DUNLAP                      MO     90008808255
33581628691563   ALEJANDRA     CHAVEZ                      TX     90011026286
33584753451339   ASHLEY        ROBERTS                     OH     90014727534
33586322731683   DEBRA         BLAINE                      KS     90003343227
33591573455972   BRENDA        SIMMONS                     CA     90011615734
33594934751339   DEDRA         MEADOWS                     OH     90010209347
33595257754165   MELISSA       MUSGRAVE                    OR     90005582577
33596628591963   DENNIS        AMEKA                       NC     90010846285
33598891941258   ILA           CASH                        PA     51053978919
33613238151325   TERAZZIA      RONE                        OH     66098812381
33615665891563   JESUS         SOTO                        TX     90013526658
33615796341258   CRAIG         ADAM                        PA     90011657963
33616112951339   CHELSEA       JONES                       OH     90013331129
33616693284378   MICHELLE      TOOMER                      SC     90013776932
33617634651339   SAMANTHA      POWELL                      OH     90014796346
33618153141285   JAMIKA        JOHNSON                     PA     90010471531
33619515841277   JUSTIN        SMITH                       PA     90003805158
33621364541258   MARK          MICKMAN                     PA     90013963645
33621627455972   BRITTANY      VASQUEZ                     CA     90005936274
33622515591371   HANNAH        FRANKLIN                    KS     90013655155
33624691251369   APRIL         GOOLSBY                     OH     90013206912
33625114341258   RON           POLK                        PA     90008171143
33626351184378   DAWN          CALLAHAN                    SC     90009723511
33628131231424   ERIC          BERTUBIN                    MO     90006331312
33628195391563   JESSICA       GARCIA                      TX     90012791953
33628622791563   JESSICA       GARCIA                      TX     90014776227
33629777184378   HOLLY AMBER   LANIER07181991              SC     90006257771
33629943341285   DUWAYNE       WALKER                      PA     90013119433
33631147347931   LEONARDO      VILLALOBOS                  AR     25021381473
33631372291563   IRVIN         CELIS                       TX     90012853722
33631434241285   JAYMIE        NELLIS                      PA     90013664342
33635692391538   JOSE LUIS     BAILON                      TX     90001586923
33637631391563   THOMAS        DOOLAN                      TX     90011106313
33638877436143   SYLVIA        LUNA                        TX     90002598774
33643235851339   ADAM          TAYLOR                      OH     90011782358
33643583355972   JOSE          ALATORRE                    CA     90015045833
33644523341258   PENNY         WILSON                      PA     51068475233
33646484855972   DARCY         PRINE                       CA     90012834848
33646796291371   SALVADOR      LIMON                       KS     90015167962
33646824436143   MARK          COPE                        TX     73505038244
33647726355972   ALMA          JOHNSON                     CA     90013627263
33648199661945   JOSE          GONZALES                    CO     90015071996
33648232455972   ALBERT        PEREZ                       CA     48048912324
33648771347931   TROY          HOSTLER                     AR     90013817713
33654993891371   STEPHANIE     HALE                        KS     90014159938
33655921851339   JUAN          DELGADO                     OH     90014869218
33657299951369   MELKEMU       LEMBESO                     OH     90013062999
33657865591584   RUBEN         RAMOS                       TX     90007268655
33658449391563   JOSE          SAUCEDO                     TX     90006044493
33661911251369   PATRICIA      SMITH                       KY     66030149112
33662954355972   JENNIFER      YOUNG                       CA     90005899543
33665379754165   SANDRA        PRENTISS                    OR     90014743797
33665383651369   LATRINA       DAVIS                       OH     90005223836
33665438933625   CORTTEA       JACKSON                     NC     90011654389
33666835291563   MARIA         MARES                       TX     90013128352
33668348951339   LINDA         HUFF                        OH     66056543489
33669381391563   GUADALUPE     HURTADO                     TX     90008433813
33671786751339   KATELLA       WILLIAMS                    OH     90014877867
33674439584378   ISRAEL        SEGUNDO                     SC     90008034395
33676713191232   SAMATHA       SHEPHERD                    GA     90007707131
33677832691371   IRMA          CARAVEO                     KS     90014228326
33678425891563   IRMA          HURTADO                     TX     75036944258
33678569391831   TAMMIE        DAVIS                       OK     90008725693
33678845651369   FRANCISCO     FLORES                      OH     66069138456
33679921851339   JUAN          DELGADO                     OH     90014869218
33681665251369   RAFAEL        CHAVEZ                      OH     90002256652
33683574191371   ALEJANDRO     GARCIA                      KS     90013395741
33683954651339   BRADLEY       MULLINS                     OH     90014879546
33684442661559   MYESHA        HATHAWAY                    TN     90013734426
33686167336143   VERLIE        MCCONAHIE                   TX     90003381673
33686422341258   JENNIFER      HOGAN                       PA     51077704223
33688628655972   MARIA         PASION                      CA     90010926286
33692912131464   EDDIE MAE     BROWN                       MO     90004299121
33693623555972   RYAN          ISKENDERIAN                 CA     90013226235
33694784191371   HECTOR        GALLEGOS                    KS     90013387841
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33695662391831   IRMA                PERALES               OK     21093316623
33695851741285   CYNTHIA             PORTER                PA     51014638517
33697917691563   JESSICA             BALDERAS              TX     75010719176
33698669951339   LORI                SHEALEY               OH     90006926699
33698792755972   ANASTACIA           NARVAEZ               CA     90013327927
33699484855972   DARCY               PRINE                 CA     90012834848
33699883254165   LANDON              CHAPPELL              OR     90000158832
33711528991365   LOU                 RIVAS                 KS     90013975289
33711764454165   NILESHNI            NARAYAN               OR     90014377644
33712329341285   ROSEANN             LUBAWSKI              PA     51084643293
33713462954165   JESSICA             OREILLY               OR     90010024629
33713573951339   JOSEPH              THIEL                 OH     66020355739
33713683841258   ALESIA              HILL                  PA     90014146838
33713772247931   CHRYL               HARDIN                AR     25054517722
33714414684378   MARIO               AVILA                 SC     90004454146
33715675691563   MARIA               GAONA                 TX     75016386756
33715781551369   FRANCISCO           RAMOS                 OH     66072177815
33716158541258   JAMES               BROWN                 PA     90013951585
33716255236143   YVONNE              ROJAS                 TX     90006992552
33719922151369   EARNEST             GREGORY               OH     66001769221
33719924454165   TOMAS               HERNANDEZ             OR     47005019244
33724666236143   ROBERT              ELLIOTT               TX     90011116662
33729124641258   SHAWNA              MOOREFIELD            PA     51090381246
33729677454165   DAVENA              NEWELL                OR     90013696774
33732496691563   EMILY               MARQUEZ               NM     75015904966
33734326931468   JASMICIA            TOMPKINS              MO     90001503269
33737176791371   OSCAR               HERNANDEZ             MO     90015211767
33738318591371   FRANK               KRAFT                 KS     90014993185
33741555931424   JESSICA             SCHNEIDER             MO     90013465559
33742487147931   MARITZA             FINO                  AR     90003634871
33742836991371   HENRY               VELASQUEZ             KS     90012518369
33744918955972   CANDICE             SHROYER               CA     90013189189
33747531285965   KIMBERLY            WOLFE                 KY     66071725312
33748559654165   MICHAEL             WEST                  OR     47005115596
33748838941258   VERA                MAREK                 PA     90013208389
33751124155972   LUPE                MARTINEZ              CA     90014971241
33751713291371   NESTOR              SALAZAR               KS     90013447132
33753747454165   SHANNON             LINGERFELT            OR     47089837474
33753878984378   KEVIN               MITCHELL              SC     14546588789
33755456891371   JESSIE AND ROBERT   MORRISON              MO     90014714568
33755945551594   MIHRTI              KOSHI                 IA     90013569455
33762322151369   ELIZABETH           KELLER                OH     90007813221
33763223755972   DELBERT             MILLER                CA     90012582237
33763583491584   MORA                GUADALUPE             TX     90008725834
33764564371931   MELISSA             JEWELL                CO     90006325643
33765678154165   APRIL               SMITH                 OR     90012656781
33766471391831   CLAUDIA             AVALOS                OK     90011854713
33766716891587   PEST CONTROL        EXTREME               TX     90007727168
33767517354165   SUSAN               GOODWIN               OR     90006695173
33768265291831   VERONICA            LOEZA                 OK     90001162652
33772151254165   ANDREW              FORBESS               OR     90011891512
33772263151339   MICHAEL             BURKE                 OH     90004242631
33774532654165   MARIA ELENA         RODRIGUEZ PEREZ       OR     90005195326
33774934655972   MARIA               MENDOZA               CA     90004839346
33775241677367   JAMEL               DREW                  IL     90014132416
33782678254165   SCOTT               SCHARN                OR     90002966782
33784388161925   ANGUS               PORTER                CA     46039043881
33785199491371   LUIS                ANTONIO               KS     90015101994
33786431155972   MICHAEL             MAY                   CA     48027164311
33786685141225   SHATERA             LINNEN                PA     90010666851
33786738791371   ADRIANA             CHAVEZ                KS     29089287387
33787294351369   CARLITO             RODRIGUEZ             OH     90014992943
33787947791371   DIGNA               GAMEZ                 KS     90010689477
33788278751339   KENNETH             BLANKENSHIP           OH     66029102787
33792954991563   PATRICIA            TORRES                TX     75016969549
33794454251369   LINDSAY             MOSES                 OH     90010784542
33794962591563   ARTURO              MEDRANO               TX     90010849625
33795365655972   AMELIA              CALDERON              CA     90000123656
33796977554165   DEBRA               ASHDAUGH              OR     47062559775
33798462884378   NATASHA             JOHNSON               SC     14518074628
33798887154165   VERNON              RICE                  OR     47078118871
33799433654154   J                   DAWSON                OR     47090524336
33812433854165   JULIE               MORRIS                OR     90013494338
33812963191563   RICARDO             MARTINEZ              TX     75066419631
33813355541285   TIMOTHY             HILF                  PA     90014563555
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33814276891563   ANDY         GOMEZ                        TX     90013792768
33814423591831   LIVIA        KISS                         OK     90000484235
33815825847931   JESUS        ROJO                         AR     25085608258
33817892955972   ALFREDO      MAYORGA                      CA     90014898929
33818579336143   SUSANA       GARCIA                       TX     90010685793
33818795854165   CAROLINA     ARAYA                        OR     90008077958
33818824141258   MIA          MCDANIELS                    PA     90005908241
33822283151369   VICTOR       ARELLANO                     OH     66056562831
33822763151369   VICTOR       ARELLANO                     OH     90014847631
33823338991584   ROBYN        SUZANNE                      TX     90007283389
33823517891831   CESAR        SALAZAR                      OK     21001825178
33823576777367   JORGE        AGUILAR                      IN     90015465767
33823845147931   CHRYSTAL     PEREZHERRE                   AR     90014898451
33824228751321   SHANIECIA    GODWIN                       OH     90012532287
33824596741285   NICHOLE      PIERCE                       PA     90012505967
33825632255972   LUCIA        SANCHEZ                      CA     90013926322
33826525847931   BEATRIZ      GALVAN                       AR     25083085258
33827676436143   VERONICA     JONES                        TX     73597766764
33827826491831   HEATHER      WINTERS                      OK     90011438264
33828758691563   JORGE        MARTINEZ                     TX     90003367586
33829796691584   ANGELICA     MARQUEZ                      TX     90013987966
33831383647931   MARIA        ANDERSON                     AR     25070353836
33831459131472   STANLEY      WALLACE                      MO     90003734591
33833149341285   JAMES        NEWMAN                       PA     51056401493
33836624191831   GERARDO      GALVAN                       OK     90011026241
33842196591563   YOLANDA      ESTRADA                      NM     90013731965
33845758191831   JUENGER      MIRANDA                      OK     90008727581
33851965191563   IRMA         CHAVEZ                       TX     90008179651
33853278541277   VINCENT      BONIDIE                      PA     51012672785
33854143791584   ROSA MARIA   ALVAREZ                      TX     90010171437
33855315741258   LADARREL     TOM                          PA     90013953157
33856826554165   MORGAN       ELLIOTT                      OR     90008728265
33857154651369   ALEXANDER    COOPER                       OH     90009871546
33857686991371   FRANCISCO    AYALA                        KS     90014516869
33859327551369   BECKY        WILLIAMS                     OH     66003403275
33859698663629   MARY         PEPPERS                      MO     90006606986
33861542591831   JOSE         GUARDERAS                    OK     21063995425
33862174641285   ABBIE        HARVEY                       PA     90013891746
33863281441258   LINDA        CLARK                        PA     51076852814
33863771654165   EVARISTO     RUIZ                         OR     47059777716
33864396836143   REBECCA      REYES                        TX     73507383968
33866185454165   KRISTINA     JOHANSEN                     OR     90012921854
33866559841258   CARLOS       SANCHEZ                      PA     51071945598
33867348241258   NICOLE       PORTERFIELD                  PA     90013953482
33868848284378   PAYGO        IVR ACTIVATION               SC     90010508482
33869727191831   SANDRA       HARBERT                      OK     21023187271
33869949941285   DENISE       TALMADGE                     PA     51041419499
33872367291563   CYNTHIA      ROBLES                       TX     90011863672
33872914441258   HAROLD       BREINING                     PA     90013209144
33873526191371   PHANMAHA     CHANTHAVONG                  KS     90011305261
33875165254165   ORLANDO      CENTENO                      OR     90000161652
33875231791563   LETICIA      CHAVEZ                       TX     75014502317
33875599791893   TE'RIKA      NEAL                         OK     21017495997
33876975191232   PATRICIA     JOHNSON                      GA     90002199751
33878515291563   AMANDA       OLIVAREZ                     TX     90014075152
33879257151339   LISA         MOLLIS                       OH     90006342571
33879611591831   DUSTAN       MOSS                         OK     21092756115
33879699436143   SHONDA       SITTINGDOWN                  TX     73527436994
33881667591563   BRANDY       ROBINSON                     TX     90013686675
33883776841277   RICH         BUSZINSKI                    PA     51005107768
33883853184378   ERIKA        NAVA                         SC     90008668531
33884236741258   ASHLEY       HOWELL                       PA     90012242367
33885343455972   JENNIFER     RAYO                         CA     90014783434
33885741555972   JENNIFER     RAYO                         CA     90011167415
33886636591831   JOY          STEVENSON                    OK     21047096365
33889117273221   SANTOS       GARCIA                       NJ     90014451172
33891375141285   BRIANNA      RANDALL                      PA     90015373751
33891456541285   REENE        SNIPE                        PA     90014154565
33891567291563   IRENE        RIVERA                       TX     75008035672
33891829551369   ADRIEANNA    DAVIS                        OH     90011838295
33892939255972   MARIA        LOMAS                        CA     90015579392
33894189141285   GEORGE       BRICE                        PA     90012651891
33894836391893   ANIELKA      MENDOZA                      OK     90006608363
33895467455972   BELINDA      RODRIGUEZ                    CA     90011314674
33895989354165   ISAIAH       RUSSELL                      OR     90012279893
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33896418491831   MAURINE      DEVONSHIRE                   OK     21090464184
33896662447931   SCOTTY       CASSIDAY                     AR     90002286624
33897738155931   TANYA        BORJAS                       CA     90009607381
33898336455972   PAUL         FLORES                       CA     48064913364
33911819791893   LANA         MACK                         OK     21060298197
33912569141258   JAYKUMAR     PANDYA                       PA     90010485691
33914245691371   CHENCHO      ROMERO                       KS     90014122456
33914544991563   JOSE         HERNANDEZ                    NM     75046955449
33916351822432   BRANDON      ISCHAR                       IL     90009723518
33918571831424   SHAIKH       ZAHIR ABBAS                  MO     90005665718
33918851541277   MELISSA      LANE                         PA     90004168515
33919771654165   EVARISTO     RUIZ                         OR     47059777716
33919891751321   KEITH        ISAAC                        OH     90001338917
33921759355972   JUNE         CARINO                       CA     90012867593
33921793791563   FRANCISCO    CASTILLO MEDINA              TX     90004867937
33922363891831   SHANELLE     AGUNU                        OK     90014153638
33923665691563   BELINDA      FLORES                       TX     90008166656
33927727251369   CHRISTINA    CASTILLO                     OH     90012447272
33929877741258   RHIANNON     MARTIN                       PA     90006898777
33933151191893   STACY        COZART                       OK     21069571511
33935294547931   EDGAR        AMODOR                       AR     90014942945
33935726536143   ALONDRA      MARQUEZ                      TX     90000767265
33936521336143   MARIA        CASTILLO                     TX     90010305213
33936918541285   ISRAEL       PEREZ                        PA     90015369185
33937414247931   JEN          DUNN                         AR     90012304142
33937669854165   HEATHER      ELLIOTT                      OR     90012586698
33938476784378   MATTHEW      ROUNTREE                     SC     90013354767
33938964341258   CALVIN       PETTY                        PA     90010729643
33939114241277   YOLONDA      GREENE                       PA     90010851142
33942737191371   MAGALI       CARDOZA-MIJARES              KS     90013867371
33944384991831   TIFFANY      PATRICK                      OK     90011123849
33945654691584   YACKELIN     TREVIZO                      TX     90007296546
33947378255972   SYREETA      CLARK                        CA     48006843782
33948383793761   RASHAAN      JONES                        OH     90011663837
33952619191831   MANUEL       ORTA                         OK     90011926191
33952771654165   EVARISTO     RUIZ                         OR     47059777716
33958267254165   JENNIFER     FICKE                        OR     90012382672
33959429191371   SALLY        BIALEK                       KS     90014694291
33959698291584   RACHEL       ELLIOTT                      TX     90002016982
33961883532573   MUGARURO     BOSCO                        TX     90015048835
33962683291584   RAFAEL       MARTINEZ                     TX     90007296832
33965569141258   JAYKUMAR     PANDYA                       PA     90010485691
33966674355972   ADELIEDA     ORTEGA                       CA     48006066743
33966885854165   HEATH        JAS                          OR     90014058858
33968825872426   BETH         WRIGHT                       PA     51004478258
33968866491831   NAKIA        DUNN                         OK     90008728664
33971586141258   ALAN         CUTIS                        PA     90003845861
33975143747931   ASHLEY       EAST                         AR     90009271437
33976371891371   ANTONIO      VEGA                         KS     90001563718
33978833754165   ANDREA       KACIN                        OR     90012428337
33981692155972   DANIEL       ESQUEDA                      CA     90002436921
33981846851369   JENNIFER     CALLIHAN                     OH     66030788468
33981989571921   PARAA        VERONICA                     CO     32061989895
33982285436143   ESPERANZA    PARKER                       TX     90005382854
33984838855928   JUCAB        BURTON                       CA     90014818388
33984857991563   RUBI         GOVEA                        TX     75098478579
33986417647931   JAMES        HAYES                        AR     90013414176
33987268155972   MICHELLE     UZZELL BETTENCOURT           CA     48008412681
33991653291371   DAVID        ROBLES                       KS     90013326532
33992874291563   MELISSA      SOLIZ                        TX     75016648742
33993434891942   HERRERA      IRIS                         NC     90015244348
33993441691831   BIANCA       VARGAS                       OK     90013784416
33994318891831   JOHN         FISHER                       OK     90012563188
33994444541258   MICHAEL      DAMON                        PA     90013954445
33995895191563   CHRIS        MORALES                      TX     75090128951
33997186155972   GAUDENCIO    VEGA                         CA     90012711861
33997261984378   TAMEIKA      FERGUSON                     SC     90004262619
33998261984378   TAMEIKA      FERGUSON                     SC     90004262619
33998643755972   SANDRA       HENDERSON                    CA     90010066437
33998678191893   JAMIE        TURLEY                       OK     21038626781
33998825941285   RICHARD      STRATEMEIER                  PA     90014868259
34113171355972   DANIEL       WEST                         CA     90010791713
34113432451339   CAITLIN      YONKOSKY                     OH     90014224324
34114449441285   ELIZABETH    HARABAUGH                    PA     51007334494
34116237691831   INDICA       HOUGE                        OK     90014852376
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34118146491563   ALVARO        RUIZ                        TX     75042381464
34121321541277   ANTHONY       FORD                        PA     51094083215
34124284463629   DEVIN         MAUS                        MO     90010762844
34125188891563   JOHN          HINOJOS                     TX     90012531888
34126118191563   NORMA         MENDOZA                     TX     75054551181
34126435851339   PEDRO         SANCHEZ                     OH     90013274358
34126715531497   SUSAN         DIPERT                      MO     27589287155
34128948341277   SCOTT         DAVIS                       PA     51007899483
34129832651339   AMY           JONES                       OH     90003558326
34134624155972   KELCIE        LOPEZ                       CA     48042796241
34134686191525   YVONNE        RODRIGUEZ                   TX     90011766861
34135575191831   SONYA         HAMILTON                    OK     21091645751
34137541354165   MELINDA       CHANDLER                    OR     90014215413
34137544855972   LIZEL         SANTIAGO                    CA     90004995448
34137769791563   LOURDES       CARBAJAL                    TX     75019127697
34139287251328   DARLENE       BROWN                       OH     66052072872
34143145141258   CAITLIN       GILBERT                     PA     90012581451
34146632261963   RANDEE        AKOOBI                      CA     90004156322
34146872981622   ANGELA        MORALES                     MO     90001008729
34147166361963   KRISTINA      RAZA                        CA     90006341663
34148167651339   KENNETH       CHRISTIAN                   OH     66059271676
34151756741258   WILLIAM       HARRIS JR                   PA     90013947567
34153923355972   OMAR          CERVANTES                   CA     48015429233
34155719641258   RACHAEL       SEGER                       PA     51090457196
34157887891563   JAVIER        CHAVARRIA                   TX     90003528878
34159215341258   LEAH          ERANTZ                      PA     90008152153
34159488961963   LAUREL        WETZEL                      CA     90014504889
34161462141285   TIMOTHY       GUMPHER                     PA     90007074621
34163825661963   ANDREW        KING                        CA     90013888256
34164158555972   MELISSA       SALINAS                     CA     90014771585
34168789941258   MARY          HAAS                        PA     51083097899
34168952855972   JESSICA       RODRIGUEZ                   CA     48064449528
34173555841285   TANISSHA      STEADMAN                    PA     51069865558
34173818831632   AARON         POWELL                      KS     90001938188
34174815941277   LAURIE        BALDAUF                     PA     51088408159
34174827547931   JEREMIAH      HIGH                        AR     90001018275
34174975351339   MARGERET      BURKS                       OH     66009919753
34175696161963   ADRIEN        SMITH                       CA     90007226961
34176334781621   CHARLES       SATTERWHITE                 MO     90001683347
34178612151339   JONATHAN      THOMAS                      OH     90003476121
34182167151339   ASHLEY        TAYLOR                      OH     90008451671
34182365741258   MICHELLE      DAVIS                       PA     90006223657
34183374241285   JOHN          JEFFERY                     PA     90015393742
34183416951339   JAMES         MCINTOSH                    OH     90014584169
34187599141258   KENNETH       SIDBURY                     PA     90011145991
34189898761963   DIANA         CHURCHILL                   CA     90013548987
34196866691563   OCTAVIO       BORREGO                     TX     90008488666
34198435851339   PEDRO         SANCHEZ                     OH     90013274358
34213314993761   JAMES         BOLDEN                      OH     64557953149
34213695791563   JORGE         VIZCAINO                    TX     75044396957
34215361541258   ALBERTO       CASAS                       PA     90014523615
34215612491563   LIZBETH       LUCERO                      TX     90006926124
34215626391563   ANA           MARUFO                      TX     90011146263
34217681491563   PETRA         AVILA                       TX     75089686814
34218537741285   KEVIN         HUFF                        PA     51007005377
34219417241285   LISA          BELFIORE                    PA     90013964172
34223136341258   GARY          PAULL                       PA     51004681363
34224968231424   COURTNEY      THORPS                      MO     27512029682
34229325856321   REBECCA       KAMM                        IA     90014703258
34231561841258   MICHELE       COLL                        PA     51065865618
34231927241455   SHEE          NAY                         WI     90015489272
34232261891563   BRIAN         PETERMAN                    TX     90014852618
34234854154165   JESSICA       MCGINNIS                    OR     90013498541
34235158854165   JUAN          GARCIA                      OR     90014861588
34237565551339   RICKEY        ACREE                       OH     90001855655
34238539155972   LUIS          CORTEZ                      CA     90015155391
34242651741285   LINDA         MCCLUNG                     PA     90006036517
34243546155972   JUAN          DELGADO                     CA     90013405461
34244157231439   BRITTANY      CARTER                      MO     90001691572
34244296791563   ROSA ESTHER   MANRIQUEZ                   NM     90013962967
34244581491831   TONYA         BROWN                       OK     21077795814
34246837663623   CVTE          LOBER                       MO     90012438376
34246873361963   MICHAEL       PRICE                       CA     90013098733
34247239561963   JACOB         HAVINS                      CA     90001802395
34251331861963   BRANDON       MACCARTHY                   CA     90003193318
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34251827547931   JEREMIAH     HIGH                         AR     90001018275
34252334561963   ANNETTE      BERGSCHNEIDER                CA     46016483345
34254219591543   ANABEL       NOYA                         TX     90010132195
34254952641285   MONTAY       KING                         PA     90000239526
34257956855972   KARLA        HERNANDEZ                    CA     90002529568
34262297131424   SKYLRA       CHRISTON                     MO     90010152971
34264589641285   KRYSTAL      ALLEN                        PA     51032255896
34267916851347   VERONICA     ALBAVERA                     OH     66071479168
34269952541258   KATHLEEN     MARSHALL                     PA     90014029525
34273377355972   RUBY         CORTEZ                       CA     90010973773
34273438641285   SAM          JOHNSON                      PA     90013964386
34273528954165   RAMIRO       HERNANDEZ                    OR     90002685289
34274599471921   CARMEN       QUEZADA                      CO     90012645994
34276614255951   ABIGAIL      RICO                         CA     90011376142
34277928141277   DARNELLA     COFFEY                       PA     51043709281
34277934691563   SANDRA       HERNANDEZ                    TX     90002679346
34278718854165   JOSE         SANCHEZ                      OR     90010397188
34282161191232   STERONDIA    MCALLISTER                   GA     90003591611
34282695591563   ALEJANDRA    PACHECO                      TX     90013196955
34282751191979   BETH         OCONNON                      NC     90006887511
34283711155972   DANIEL       COTTA                        CA     48042807111
34288332991831   REYNA        GERRA                        OK     90010193329
34291142691831   JENNIFER     ALEXANDER                    OK     90012141426
34292784641258   KRISTINA     BRYER                        PA     90013917846
34296599451339   WILLIAM      TAULBEE                      OH     90013805994
34297272441258   LEO          HEFFERAN                     PA     51037442724
34297695261963   ALEJANDRO    SANDOVAL                     CA     90009096952
34311896461982   PHIL         CREPEAU                      CA     46089428964
34312326941285   ANGELA       STARK                        PA     51041023269
34312589755972   DENISE       CABRERA                      CA     90013185897
34314564433641   DONNA        JOYNER                       NC     90009105644
34315679591563   JOSE         BARRAZA                      TX     75003716795
34315985141258   DAMON        GREEN                        PA     90005329851
34316397154165   AMANDA       WARD                         OR     47040613971
34317164997131   MINDY        VANG                         OR     90007871649
34321568854165   JACKIE       BURKEL                       OR     90000525688
34322161541258   ANDREW       PRITCHETT                    PA     90013581615
34324393754165   DARRELL      DRAPER                       OR     90012753937
34326419551339   APRIL        JAMES                        OH     90014784195
34327442791563   GONZALE      ANTON                        TX     90012884427
34328741955927   MARCO        ARONI                        CA     49043607419
34328873961999   RAQUEL       LOPEZ                        CA     90012388739
34329364791563   EDUARDO      MUNOZ                        TX     90015313647
34331232251339   DUSTIN       HOLLON                       OH     90013402322
34333715551341   JAVON        JORDAN                       OH     90011697155
34333875261963   JODI         SOTO                         CA     90014838752
34335291431439   DANA         FRAZIER                      MO     90005382914
34335834155972   SERGIO       REYES                        CA     48013108341
34336611154165   GERALD       MOGENSEN                     OR     90002066111
34337176651339   TIVETTA      ALDRIDGE                     OH     66075051766
34338631793761   CLYDE        THOMASON                     OH     90010986317
34345446191563   FLORES       DIANA                        TX     90013214461
34345513855974   MARLYN       GUERRERO                     CA     90009625138
34347621251339   CHANELL      BOYD                         OH     90007996212
34348465955972   MARIA        HERNANDEZ                    CA     90015144659
34349832847931   RUSTON       PERRY                        AR     25060958328
34352147431424   BRUCE        TIPTON                       MO     90009381474
34353651155972   FRANCISCA    PATINO                       CA     90014856511
34359226591831   GRECHANEL    WALLACE                      OK     21026462265
34361367161963   CLIFFORD     FLANDREAU                    CA     90010413671
34361482831424   NIGELL       JONES                        MO     90007954828
34362169191543   JAQUELINE    BOUCHE                       TX     90010691691
34363689291352   CRISTI       MOONT                        KS     90000496892
34363695151339   SHAWN        GOMIA                        OH     66095516951
34364273891396   GEORGE       NJAU                         KS     90014142738
34365265941285   ADELE        PASLOW                       PA     51055752659
34365473751339   TONDA        LAIRSON                      OH     90012094737
34366666755972   RICHARD      CONTRERAS                    CA     90015106667
34373248454165   AIMEE        MAKI                         OR     47083622484
34374246731424   ANDREA       STEINBRUEGGE                 MO     90011642467
34374612161963   ODILIA       SANCHEZ                      CA     90003196121
34374882141258   DENNIS       MASON                        PA     51030478821
34375978891563   ROXANNE      MARTINEZ                     TX     90012849788
34376999655972   DIANNA       AVALOS                       CA     90014139996
34378856461963   MARLENE      BLACK                        CA     90008608564
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34379274341258   TINA             FRANK                    PA     90014102743
34383217591563   DEBORAH          JACOBS                   TX     90007932175
34383699954151   MOISES           CHAVEZ                   OR     90007296999
34384461641258   KIMBERLY         FRITZIUS                 PA     90014234616
34388114155972   ALONZO           NINO                     CA     48005881141
34389441354165   VEGA             BARKLEY                  OR     90013474413
34391758351339   STEVE            DOWNS                    OH     66041827583
34393415855972   ERIKA            PANDURO                  CA     90013084158
34394334441258   AMBYR            JONES                    PA     90013393344
34394575641285   AURORA           THOMPSON                 PA     51003905756
34394945855972   DONALD           ESLINGER                 CA     48023499458
34395136191831   CHRISTY          DRIVER                   OK     21096711361
34397693791563   JULIO            QUINONES                 TX     75089446937
34411333991563   FRANCISCA        JACQUES                  TX     90009393339
34413378751321   JAY              MITCHELL                 OH     90010093787
34413753851339   CLINTON          WILDER                   OH     90008277538
34413876857126   VERONICA         GONSALES                 VA     81047668768
34415378455972   LUPE             BERNAL                   CA     90012563784
34415683991831   XIMENA           MARTINEZ                 OK     90014046839
34422265791563   VERONICA         HAMBRICK                 TX     75012232657
34425472161963   AARON            HILL                     CA     90009084721
34426663454165   MONIQUE          CRITCHETT                OR     90015196634
34428973961963   MICHAEL          WANSER                   CA     46082489739
34433443291831   TERA             SAULKNER                 OK     21005654432
34434381491563   MICHELLE         PEREGRINO                TX     90015313814
34435472161963   AARON            HILL                     CA     90009084721
34435826854165   MARIBEL          ELIZALDE                 OR     90011768268
34436599451339   WILLIAM          TAULBEE                  OH     90013805994
34438619561963   RAGIH            YOSSIF                   CA     46047216195
34439263141277   THOMAS           DOUGHERTY                PA     51062692631
34439454241258   JOHN             JAMES                    PA     90013044542
34439854533696   JAYSON           DAVIS                    NC     90005858545
34441424841285   DEREK            SCOTT                    PA     90012114248
34441527854165   GARY             MILLER                   OR     90009275278
34443949361963   MARCO ANTONIO    MELGARJERO-PIRITA        CA     90011549493
34444463555972   STEVEN           CEBALLOS                 CA     90004044635
34444568891587   GARCIA           SUSANA                   NM     90000135688
34445178651339   PEGGY            CARROLL                  OH     66060041786
34445285954165   DOUGLAS          TREISCH                  OR     47003882859
34446365691232   KEIL             BROWN                    GA     14515973656
34447855354165   LUIS             RODRIGUEZ                OR     47000868553
34451328551339   JACK             PROKOP                   OH     66007343285
34455252647931   ELIZABETH        PERRY                    AR     25076012526
34455298241455   TERRY            JANNKE                   WI     90015502982
34455319831424   CARLA            BARTON                   MO     90004993198
34455371991587   VIVIAN           BURGOS                   TX     75097913719
34455917255972   MARTIN           RODRIGUEZ                CA     90011329172
34456724654165   KATHY            HAMANN                   OR     47012517246
34457168991831   MADISON          OWENS                    OK     90013941689
34462636455951   MARINA           ESCARENO                 CA     90005626364
34463313641258   ARTHUR           ROLLAND                  PA     90000773136
34464555591563   IDALI            ESTRADA                  TX     90008695555
34465386291563   GEHU             CARMONA                  TX     75082173862
34465765455951   MARIA REMEDIOS   CANCHOLA-HERNANDEZ       CA     90004537654
34466122855972   JESSICA          OLVERA                   CA     90000661228
34466181991831   ROBERT           SMITH                    OK     90013941819
34467964941285   JEREMY           KIM                      PA     90013959649
34472551541258   AUTUMN           HENCHELL                 PA     90011515515
34473694791563   JAIME            CORDERO                  TX     90012866947
34475527991563   FRANCISCO        MORALES                  TX     90012095279
34476244491831   SALONE           CATALAN                  OK     90012442444
34476425961963   RACHEL           FENTON                   CA     90013604259
34476454241258   JOHN             JAMES                    PA     90013044542
34477372291831   NOLAND           SMITH                    OK     90009563722
34481416141285   VANITA           MULDOW                   PA     51045224161
34481594754165   MARY             KING                     OR     90009275947
34481685361963   AMIE             RAMIREZ                  CA     90004066853
34483849785939   DANIEL           REFFITT                  KY     90005648497
34484658141258   JOLYNN           GRUSZEWSKI               PA     90014836581
34485948455921   ANDRE            RAMIREZ                  CA     49006729484
34486454841285   CHARLES          SISK                     PA     90013674548
34486464761963   LUCIA            HERNANDEZ                CA     90013604647
34487817361963   KIMYARTE         SMITH                    CA     90008388173
34487992191831   LILIANA          ALVARADO                 OK     90009989921
34491139654165   JESSICA          SMITH                    OR     90012321396
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34493135244398   LUIS         BARRA                        MD     82004931352
34496142351339   WILBURT      JOHNSON                      OH     90006991423
34497287561981   EMILIANO     MENDOZA                      CA     46082832875
34497911841258   KEN          RUSSELL                      PA     90010809118
34511111655972   MARIA        DELGADO                      CA     90003741116
34511734451339   MEGAN        ANTHONY                      OH     90013447344
34512144161963   YENIFER      GARCIA                       CA     90006161441
34513214591563   ADRIAN       MARTINEZ                     TX     75057862145
34514466841285   RANDALL      SMITH                        PA     90013964668
34516152991563   GABRIEL      MORALES                      TX     90013931529
34521813291831   DENTON       DANNY                        OK     90012188132
34525311861963   MAMA         WOO                          CA     90003203118
34526935651321   CONSTANCE    GRAYSON                      OH     66074939356
34527624555972   DANNY        GILBERT                      CA     90008466245
34527721651339   STEVE        REPYNECK                     OH     90014347216
34527825551339   KEITH        HIGGINS                      OH     90014388255
34533981251339   LISA         WILLIAMS                     OH     90015129812
34535472661963   LONNIE       JACKSON                      CA     90012474726
34535981251339   LISA         WILLIAMS                     OH     90015129812
34537964941285   JEREMY       KIM                          PA     90013959649
34542374951339   KENNETH      SPIVEY                       OH     90014173749
34543732191563   ESPERANZA    ELORZA                       TX     90014227321
34544685791831   ELVIRA       VAZQUEZ                      OK     21049126857
34545288157123   MAURO        PORTILLO                     VA     90006332881
34546225354165   CLAYTON      WILLIAMS                     OR     90012922253
34548694255972   LARRY        GUZMAN                       CA     90014816942
34548975747931   VORYAGE      JACKSON                      AR     90002399757
34549183191563   CLAUDIA      ARCINIEGA                    TX     90011741831
34551221751339   DESIREE      RODRIGUEZ                    OH     66007902217
34554888561963   DALE         MAC EWEN                     CA     90013768885
34556514291544   LILIA        MARTINEZ                     TX     90010335142
34557322461963   NONEI        LARKIN                       CA     90015073224
34558928861963   FELECIA      CANTU                        CA     46079859288
34561479341285   UMAIR        MALIK                        PA     90013964793
34565216851339   DANIEL       COFFEY                       OH     90012882168
34565563291563   SANDRA       BADILLO                      TX     75089415632
34568316841285   STEVE        MARINI                       PA     51026763168
34571713555927   JANET        HERRERA                      CA     49003997135
34571858655972   ANDREA       BADILLO                      CA     48087098586
34574936355972   LETICIA      CASTILLO                     CA     48096379363
34575835791544   JORGE        ESPINOZA                     TX     90009848357
34576718431424   TAMIKA       FORD                         MO     90013187184
34577446251339   SABRINA      BYLKAS                       OH     90003814462
34578211591831   ROBERT       MORRISON                     OK     90013942115
34583369261972   LEE          BARKEN                       CA     90001133692
34586333185943   CHARLENE     BROOM                        KY     90009673331
34587894961963   RAYMOND      BEYTO                        CA     46081758949
34588281491563   CLAUDIA      SALAS                        TX     75024902814
34591189231424   MIKE         PILLA                        MO     90008011892
34591241554165   DAPHNE       STEPHENS                     OR     90014292415
34591521391831   PETER        KRAJIAN                      OK     90009145213
34591924941258   JERMAL       JACKSON                      PA     51082659249
34593299491563   JACKIE       ONTIVEROS                    TX     90011852994
34593395355927   JUICY        BABY                         CA     90000383953
34593395361963   ADRIANA      GONZALEZ                     CA     90007133953
34595557691563   ESMERALDA    ORNELAS                      TX     90013725576
34595622791831   CYNTHIA      LANDRUM                      OK     90009246227
34596487231424   NAIL         CARTER                       MO     27561364872
34596794391563   GREGORY      SMART                        TX     75022637943
34597832151371   DARRELL      DUBOSE                       OH     90010938321
34599132855972   GLORIA       ARELLANO                     CA     90015511328
34599311754165   KARRIN       RADCLIFFE                    OR     47075863117
34616429941258   NICOLE       LUCCI                        PA     51057564299
34616739591831   SONYA        SONYA GRIMALDO               OK     90004957395
34617362451339   TONIA        SMITH                        OH     90013123624
34617865291831   DAN          BAXLEY                       OK     90009988652
34622268754165   BRIANNA      COLWELL                      OR     90006122687
34624253151339   CRYSTAL      WELLS                        OH     90015562531
34624642984334   CHELSEA      MUNDAY                       SC     90013516429
34625585191831   NICOLE       JONES                        OK     90009585851
34626685981557   MICHELLE     MCAFEE                       IL     20589846859
34627118751339   ALLISON      MYNHIER                      OH     90013591187
34627242855972   DAVID        ARZDIA                       CA     90013792428
34628455991831   ANGIE        HOOVER                       OK     90011054559
34631334191945   ELIZBETH     MARTINEZ                     NC     90006723341
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34632211251339   KATIE         MANNS                       OH     90013932112
34632485941285   SHAMARA       WEST                        PA     90013674859
34634822854165   KATHY         RENFROW                     OR     90013538228
34636397541455   ERRICA        WARNER                      WI     90015363975
34638369131471   DAVID         HARTIG                      MO     27570113691
34643247831424   VENTURA       GUILLERMINA                 MO     90010862478
34646912141285   TONYE         HOOPER                      PA     90005229121
34647793551339   DENNIS        WORKMAN                     OH     90013957935
34647879655972   LETICIA       RAMIREZ                     CA     90009728796
34653259657123   ALICIA        CARO                        VA     81057192596
34655143355972   MARIBEL       TRINIADAD                   CA     90003321433
34655317555921   MICHELI       SANTOYO                     CA     90010373175
34657266351339   SALUD         FISHER                      OH     90012372663
34661541491563   LUIS          DIAZ                        TX     90012825414
34662946355972   ROSA          VALADEZ                     CA     90010039463
34663195491831   ANTHONY       YOUNG                       OK     90009171954
34663322654165   ROBERT        HUGILL                      OR     47088753226
34665664361963   SAMANTHA      SALAS                       CA     46013666643
34665773641258   TINA          CLEGG                       PA     51044007736
34666318554165   NILESHNI      NARAYAN                     OR     90012513185
34666494384368   RICARDO       ROSAS                       SC     90007644943
34668687491563   HELLEN        MARTEN                      TX     75051646874
34669332391831   YOLANDA       HOWARD                      OK     90014223323
34669615871937   NICOLE        WESTLAKE                    CO     90011016158
34669766491563   MICHELLIE     CUELAR                      TX     90007537664
34671139654165   JESSICA       SMITH                       OR     90012321396
34671968691831   SUSAN         RODRIGUEZ                   OK     90006289686
34673382651339   ARICA         ZEHE                        OH     66050523826
34675264655972   LIZ           RAMIREZ                     CA     90001702646
34675511441285   KRISTAN       CIMINO                      PA     90013965114
34676179591563   PANCHO        SILVERTHORNE                TX     75027861795
34677368151339   BRIAN         CHILDERS                    OH     90004063681
34677645391563   NORMA         VALLES                      TX     75092426453
34677846955972   CANDYCE       GALVAN                      CA     48052048469
34678261691831   BILLY         HARDY                       OK     90013942616
34681261691831   BILLY         HARDY                       OK     90013942616
34685869741277   MICHELLE      CARYLL                      PA     90005788697
34686885451339   MICHAEL       BROWN                       OH     90013138854
34687147791525   CYNTHIA       SCHAFER                     TX     90002221477
34693193851339   MICHAEL       HUNTSBERGER                 OH     90001171938
34694618991563   IDA           MANICNAS                    TX     90006306189
34695529441285   TARUNA        G                           PA     90013965294
34698773641285   CARLA         STREET                      PA     51084757736
34699363281667   CASHENA       SOLOMON                     MO     90015063632
34699424241258   CHRISTINA     SCOTT                       PA     51031934242
34711579141258   ELIZABETH     BRAZELL                     PA     90014815791
34713996331424   JESSICA       INGRAHAM                    MO     90011639963
34716894191563   IVETTE        MURILLO                     TX     90012688941
34717845455972   SOPHIA        NUNEZ                       CA     48077708454
34719481591831   TANISA        MARSHALL                    OK     90013204815
34721514991831   JOANNA        CHAIREZ                     OK     90013215149
34722733255972   SABRINA       SEDILLO                     CA     90004427332
34723136155951   VALERIE       SIFUENTES                   CA     49015211361
34723461554165   DONELLE       RUCKER                      OR     90000544615
34725754691537   BRENDA        CORONA                      TX     90007117546
34728394791563   APRIL         MORENO                      TX     90011103947
34728482541277   HEATHER       ROCK                        PA     90001274825
34729824455972   YESENIA       ALONZO                      CA     90013738244
34731654351339   JOYCE         MASSIE                      OH     66076886543
34733895661963   JESSY         ORTIZ                       CA     90011568956
34735612855972   ROBERTO       FIGUEROA                    CA     90009896128
34735668951339   EDDIE         PRITCHARD                   OH     90015036689
34735677431424   WENDELL       HERRON                      MO     27518576774
34736718641285   CHRISTOPHER   ALLEN                       PA     90006067186
34737866151339   RICHARD       REED                        OH     90013408661
34738811451594   ROY           MOORE                       IA     90014128114
34739249684334   PASIANO       NIETO-GONZALEZ              SC     90009012496
34744789191831   ROBERT        DAVIS                       OK     21092067891
34745198451339   RIGOBERTO     SERRANO                     OH     90011851984
34746599555972   MANUEL        HERNANDEZ                   CA     90008205995
34747782741285   DANA          KUNF                        PA     90003547827
34752846157123   MARVIN        LOPEZ                       VA     81008268461
34752963691831   DESTINI       ULRICH                      OK     21010279636
34754679141258   FRANKLIN      HOLBY JR                    PA     90005686791
34755355955972   ELIZABETH     SHARP                       CA     90010803559
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34755644554165   JOHNNY       WILSON                       OR     90014736445
34757114255962   LINDSAY      DENNEY                       CA     90006701142
34757678261963   RAFAAH       MCKHAA                       CA     90006866782
34758682655972   ELIZABETH    HERNADEZ                     CA     90011386826
34761465551339   KRYSTAL      MOLE                         OH     90015284655
34761788991831   DONALD       GRIFFIN                      OK     90012117889
34762327955951   DUSTEN       MUCKEY                       CA     90001463279
34763398891563   ESTRADA      ENARO                        TX     90010233988
34763851691563   MARTHA       PESINA                       TX     90011628516
34764437954165   ROSA         MUNGUIA                      OR     90009354379
34764548291831   AYANA        WILLIAMS                     OK     90014125482
34767557241258   SHAHIASTA    KHAEDAROVA                   PA     90012645572
34768478555972   JANINE       SALISBURY                    CA     48044574785
34769118961963   TROY         SWEDEEN                      CA     90014431189
34771322141258   JACOB        SNYDER                       PA     90013473221
34773197551339   ASHLEY       BENSON                       OH     90003241975
34777645491831   CHARMAINE    MACK                         OK     90012026454
34778266731494   GABRIELLE    JACKSON                      MO     90008522667
34782385941285   SARA         MEYERS                       PA     90013963859
34783519755972   MARIA        MADRIGAL                     CA     90010425197
34783857555927   OFELIA       WELCHOR                      CA     90000268575
34785573291538   MIRIAM       GONZALEZ                     TX     90012635732
34785674293773   LEANDERA     BURLESON                     OH     90007946742
34787163191563   LERMA        HERNANDEZ                    TX     90005031631
34788719255972   STEPHANIE    TORRES                       CA     90012477192
34795213291563   DENISEE      VALTIERRA                    TX     90004422132
34795366251339   JAMES        MOCKABEE                     OH     66045363662
34797586491563   MARIA        REYES                        TX     90012695864
34799861954165   MAJESTY      HESS                         OR     90000838619
34811442861557   JENNIFER     LAMB                         TN     90015384428
34811576541285   ANJUM        KHAN                         PA     90013965765
34811628971921   JOSEPH       MONTOYA                      CO     90007636289
34813429851339   EMILY        SHEPARD                      OH     90010184298
34813564755951   MICHAEL      WATTS                        CA     90006055647
34814366251339   JAMES        MOCKABEE                     OH     66045363662
34814571991563   VANESSA      CARMONA                      TX     75039175719
34816866454195   JANAE        FOX                          OR     90011818664
34818566191831   GUYLA        SCHELLER                     OK     21080545661
34818722961963   JESSICA      CLAVEL                       CA     90005527229
34822174241258   DAVID        GONZALEZ                     PA     90013901742
34822935354165   GERALD       JOHNSON                      OR     90005139353
34823739991831   DIEDRA       FOSTER                       OK     90013837399
34824579491831   PAMELA       TREAT                        OK     90013265794
34824964754165   BRENDA       BEDOLLA                      OR     90001389647
34825137254165   STEPHANIE    IVERS                        OR     90009421372
34825149861963   ALYSSA       BARWIG                       CA     90011571498
34825192991831   JESSICA      HAMPTON                      OK     90013021929
34826637841258   SHAQUALLAH   BEY                          PA     90014726378
34827514231458   PATRICE      EVANS                        MO     90014005142
34827579491831   PAMELA       TREAT                        OK     90013265794
34829629954165   JOHN         MOSCONE                      OR     90013956299
34829923955972   MANUEL       LANIZ                        CA     90004989239
34831385755972   MARGARET     RODRIGUES                    CA     48031773857
34831559891563   MICHAEL      VARELA                       TX     90004995598
34831843684334   DANIELLE     GROOM                        SC     90011608436
34832464851339   DIANA        SAMGADO                      OH     90006774648
34834826791831   KARA         LARGENT                      OK     90013258267
34835782191563   MINERVA      WOJTKUN                      TX     90003377821
34836437891831   ALVARO       MENDOZA                      OK     90012624378
34837125661963   EDGAR        TERUEL                       CA     90000351256
34837669451339   EDDIE        PRICHARD                     OH     90015036694
34838163751339   ALDUTUS      TOMSTOCK                     OH     90015451637
34841117155972   MADELYN      SMITH                        CA     90015281171
34842549555972   MARIA        MEZA                         CA     90001145495
34844122941277   NORMA        DLESIC                       PA     51046291229
34847471841258   SHANNON      COLLINS                      PA     51023364718
34849496791831   TERI         CARVER                       OK     21089264967
34852562451339   SABRINA      SINGH                        OH     90009835624
34852785191232   THOMAS       STOKES                       GA     14571947851
34854743147931   JESSICA      KRAMMER                      AR     25047837431
34858334754165   WILLIAM      BRUMBACK IV                  OR     90012803347
34858341541285   CAPRICE      ASSOULINE                    PA     51059923415
34859649155972   ESMERALDA    BARRON                       CA     90006656491
34859916191543   ROBERT       PIERCE                       TX     90009999161
34862994491563   JULIO        OLVERA                       NM     75091809944
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34864156141258   STEPHANIE      LEWIS                      PA     90015161561
34864623741285   MICHAEL        YANKOVITCH                 PA     90014116237
34865437351339   WILLIAM        HAVEN                      OH     90004814373
34866281255972   IDA            GARCIA                     CA     90014032812
34867358691563   KIMMBERLY      ALVAREZ                    TX     90013833586
34871285541258   DIANE          PALASHOFF                  PA     51014562855
34871541354165   ALLISON        PARMENTER                  OR     47070755413
34872139955972   SARAH          DE LOS SANTOS              CA     48066811399
34872638361963   YOLANDA        MALDONADO                  CA     90005196383
34873358691563   KIMMBERLY      ALVAREZ                    TX     90013833586
34873994161963   JOSE           MEZA                       CA     90002789941
34874256791831   DEBRECKE       FIELDS                     OK     90006962567
34875513555951   KELLY          PARKS                      CA     90013035135
34875735691563   ILSE           BRITO                      TX     90012927356
34875924851339   JAMES          ROBERT                     OH     90013419248
34878369291831   CHERYL         SAMUELS                    OK     90013943692
34878646851339   WILLIAM        HONCHUL                    OH     66057496468
34878981991563   BARRAZA        TERESA                     TX     90007139819
34879723991563   ERIKA          MARTINEZ                   TX     90007137239
34882315291563   RICK           GOMEZ                      TX     90014043152
34882478551339   NINA           RUFFIN                     OH     90009204785
34883678691831   JEFFREY        COX                        OK     21070926786
34886135141285   JUDY           DEANE                      PA     51024351351
34889134955939   BENITO         MORALES                    CA     90013881349
34889769431424   ARMITTA        DICKSON                    MO     90009667694
34892656161963   DONNA          HERNANDEZ                  CA     90010116561
34892887291831   KATHELEEN      LOWE                       OK     90008038872
34893668661993   STEPHAN        LAWRENCE                   CA     90002946686
34893944131424   SHANNON        VELASCO                    MO     27563209441
34894668661993   STEPHAN        LAWRENCE                   CA     90002946686
34894994541285   JOHN           PIRL                       PA     90014519945
34895231141258   LJ             BOLDEN                     PA     51017662311
34895797791563   ISABEL         LUNA                       TX     90012847977
34896174355951   MIGUEL         MADRIGAL                   CA     90005711743
34897646761963   ANTONIO        MARTINEZ                   CA     46066716467
34898881961963   ANNE           PETERSEN                   CA     90013868819
34911357131424   MELIA          ROWE                       MO     90011343571
34914142861963   ARMINDA        OLEA                       CA     46038631428
34915382561963   ANNA           CONTRERAS                  CA     90005953825
34921283541277   KRISTEN        BLACKSTONE                 PA     51069882835
34921346151339   HEATHER        FELTNER                    OH     90014103461
34924138454165   ALISHA         KELLER                     OR     90015091384
34924479855972   HORTENCIA      RAMIREZ                    CA     90008954798
34924918755972   HORTENCIA      RAMIREZ                    CA     90014639187
34925326641258   KRISTOPHER     KOHAN LANG                 PA     90010403266
34926823854165   PAYGO          IVR ACTIVATION             OR     90010658238
34928497355972   MONSERRATO     SALAZAR                    CA     90013044973
34929239291563   JEFFREY        TREIBLE                    TX     75088202392
34931566931424   JOSEPH         DUCLERNE                   MO     27562125669
34932225851339   KENNETH        HENDERSON                  OH     90014512258
34932421991563   REBECCA        PALLERES                   TX     75065154219
34932492155927   WILLIAM        GILLILAND                  CA     49008254921
34933161554165   KATIE          BURNS                      OR     90013611615
34933266391563   JOSE           SOTO                       TX     75089422663
34935572341285   TRISHA         SCARANO                    PA     90001145723
34935926654165   ANDREA         SHIBLES                    OR     47075819266
34935972791563   CORINA         MATA                       TX     90012389727
34937521251339   DAVID          KING                       OH     90015435212
34942673631424   PATRICIA       TOWNS                      MO     90012846736
34945579141285   LANELL MARIA   PENNINGTON                 PA     90013675791
34946339755972   ALMA           TORRES                     CA     90001023397
34947262581686   VICTOR         SNOW                       MO     90001772625
34947787491563   ALBERTO        SANCHEZ                    TX     90009927874
34948556981686   LORI           SNOW                       MO     90001875569
34949681857126   ADELSO         DIAZ GARCIA                VA     90010046818
34949746361963   JACOBO         JACOBO                     CA     90013917463
34952564755951   MICHAEL        WATTS                      CA     90006055647
34953436191831   MARIA          BUSTOS                     OK     90013944361
34954247254165   SABRINA        RICH                       OR     90011812472
34954483761963   ARAEL          QUIROZ                     CA     90012754837
34954933691563   GRACIELA       PINA                       TX     75005889336
34956498954165   JAIME          SILVA                      OR     90007154989
34957278954165   JEREMIAS       MONTALVO                   OR     90011012789
34959116955972   BREANNA        VALDEZ                     CA     90005941169
34961212991587   ANA            CORONADO                   TX     90013872129
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34962247254165   SABRINA       RICH                        OR     90011812472
34966178661963   LEROY         LEWIS                       CA     90012651786
34966523755933   WENDY         SANCHEZ                     CA     90010825237
34966875791831   RODERICK      ANDERSON                    OK     21089098757
34968518791831   SUAN          THAWN                       OK     90013945187
34973817651331   ERIC          TOTTEN                      OH     90008158176
34975228161963   MARIA         DE LA CRUZ                  CA     90014882281
34977362691563   BELEN         GONZALEZ                    TX     90014153626
34982788991563   JOSE          ONTIVEROS                   TX     90012767889
34985937251339   EARNEST       MOSLEY II                   OH     66045269372
34987182791563   JULIO         LUNA                        TX     90013071827
34988267641285   JANE          LAWRENCE                    PA     90013922676
34991118554165   TEENA         BROWN                       OR     47016231185
34992699761963   LORRAINE      ESCUDERO                    CA     90000526997
34992974641258   CYNTHIA       COOKE                       PA     90014029746
34993662391563   ZULMA         ROJAS                       TX     90012996623
34993732755972   TANYA         TRINIDAD                    CA     90002907327
34994474291831   ROBIN         WHITE EAGLE                 OK     90013944742
34994546154165   CHRISTINA     CHAPMAN                     OR     90014485461
34996918554165   WENDY         MCDONALD                    OR     90010079185
34998469761963   MICHELLE      REGIS                       CA     90010884697
34998834154165   LAURA         LAVENDER                    OR     90010538341
34999324261963   ASHLEY        THOMSEN                     CA     90013033242
35111813991891   PAYGO         IVR ACTIVATION              OK     90015428139
35112573791243   TERRI         REEDER- HOLMES              GA     90009385737
35113831561963   LINDA         LOPEZ                       CA     90009268315
35114646151339   CRAIG         RICHARDS                    OH     90011136461
35114792291538   IRMA          REYES                       TX     90013507922
35115216991891   NATHAN        HENDRICKSON                 OK     90015352169
35115511491831   JUAN          VILLAVICENCIO               OK     90011565114
35116454991563   ALEJANDRO     RAMIREZ                     TX     90014534549
35117432691891   CAROLYN       COMREY                      OK     90010964326
35119646291232   DUSTIN        BROAN                       GA     90011856462
35122861555972   CHRISTINA     CASTRO                      CA     90013238615
35122935854165   LISA          HANSON                      OR     47080999358
35123363491563   MONICA        CASTANEDA                   TX     90007683634
35124127255972   EVENLYN       RENTERIA                    CA     90013741272
35124139454165   SHAYNE        RUNGE                       OR     90009411394
35124588191891   STACY         AYERS                       OK     90008165881
35125933147931   RACHEL        ATIENZA                     AR     90015229331
35129198791584   NAHARA        PALMA                       TX     90002091987
35131266891371   SHARIANN      ESCOBEDO-RODRIGUEZ          KS     90014352668
35131582954165   FRANCISCO     DIAZ JIMENEZ                OR     90014745829
35132153891563   ADRIAN        AGUIREE                     TX     90010131538
35132866243571   TAYLOR        SPACKMAN                    UT     90010538662
35133594855972   BIBIANO       GARCIA                      CA     90005035948
35134211655936   VENEDIXA      RAMIREZ                     CA     49062142116
35135217591891   AMBER         ALEXANDER                   OK     90010622175
35135447791232   DAVARIUS      GORE                        GA     90001364477
35135732447931   TIMOTHY       CARTER                      AR     90013057324
35136394555972   AURELIO       DIAZ                        CA     48014523945
35137571955972   MARIA         LOPEZ                       CA     90000935719
35138517891584   MARGARITA     CERON                       TX     75003585178
35139575531424   CARL          SUTTON                      MO     27501395755
35139672661963   OLIVIA        GAYTAN                      CA     90001186726
35139732447931   TIMOTHY       CARTER                      AR     90013057324
35143688591563   IVONNE        VAZQUEZ                     TX     90013716885
35144315954165   CECELIA       CARDIEL                     OR     90014013159
35144983591584   CHRISTOPHER   CANDELARIA                  TX     90014659835
35145637991371   JESSICA       SICKLER                     KS     29058136379
35145727655972   BRENDA        GOMEZ                       CA     90012917276
35147939591891   TALIA         FINLEY                      OK     90015369395
35148239254165   SARA          DEAN                        OR     90009412392
35151684655933   DOROTHY       ARELLANO                    CA     90001546846
35151863391891   DEVIN         MARTIN                      OK     90010238633
35153298391371   M             WILLIAMS                    KS     90005772983
35153315954165   CECELIA       CARDIEL                     OR     90014013159
35154289241258   ALEXANDRA     PATTON                      PA     90013402892
35154844855972   ELIZABETH     ACOSTA                      CA     90015508448
35154974561557   JOSH          ANDERSON                    TN     90015389745
35155545231424   KILWANA       JOHNSON                     MO     27549815452
35155611855972   MARIA         ARELLANO                    CA     90011906118
35155659591891   JOANNE        REYNOLDS                    OK     90013506595
35155984154165   DANYALE       WARMING                     OR     47003569841
35156398491563   ELISA         ORTIZ                       TX     90010783984
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35157448491831   CHRISTINA     DOBBS                       OK     90005104484
35157531391891   KEITH         PIERCE                      OK     90015615313
35157547455939   JOSE A        GONZALEZ                    CA     90013235474
35158244491371   JACLYN        HOPKINS                     KS     90015572444
35158315954165   CECELIA       CARDIEL                     OR     90014013159
35159299791831   MARKQUIZE     FAVORS                      OK     90014362997
35161581155972   FLORINDA      ALEJANDRO                   CA     90007735811
35162627741258   ROBERT        VENURO                      PA     51093576277
35162894461963   MARTIN        TOSCANO                     CA     46059748944
35163283993753   MICHELLE      KEENER                      OH     90014902839
35163629391584   DAISY         DELGADO                     TX     90010606293
35164933447828   JARVIS        WALKER                      GA     90012749334
35165146841258   JESSCIA       NAGEL                       PA     90011021468
35166526955939   MARIA         ARREOLA                     CA     90013275269
35166597991243   ALYN          WOOLFORD                    GA     90010435979
35166765451382   BRITTANY      FLOWERS                     OH     66049587654
35169227855972   ANDRES        GARCIA                      CA     90010292278
35169239891891   MELANIE       BRUNER                      OK     90013752398
35172452355972   ANITA         PACHECO                     CA     48000404523
35172683591563   VICTOR        VILLA                       TX     75095606835
35173116991563   CLARA         GUTIERREZ                   TX     90011481169
35173892155972   KRISTIE       ROBERTSON                   CA     90014118921
35175595341285   MARK          SWAB                        PA     90014495953
35176595655972   NAEE EE       SEE                         CA     90012655956
35177367791543   JOSE          LAGUNAS                     TX     90013593677
35178493791891   BARBARA       QUALLS                      OK     90011994937
35179824141277   ANGELA        SELINGER                    PA     51015488241
35179879591371   LISA          MORREIRA                    KS     90010498795
35181592431424   BONNIE        HURSTON                     MO     27577245924
35182549741258   JULIO         AGUIRE                      PA     90013345497
35184522331424   KALA          SHACKELFORD                 MO     90014605223
35184935491563   ADRIANA       CORTES                      TX     90012099354
35186349461972   ROZLYN        CANNON                      CA     90004393494
35186549347931   GERARDO       CERVANTES                   AR     90014925493
35186981891563   ROSA          DOMINGUEZ                   TX     90015319818
35188319991584   ELIZANDRO     TELLEZ                      TX     90014923199
35189511855972   DIANA         BAILEY                      CA     48012745118
35194466454165   JOHNNIE       CASE                        OR     90006284664
35194785955936   ANALEE        GONZALEZ                    CA     90013827859
35195227855936   ALICIA        RAMOS                       CA     90013272278
35195635251339   JOSEPH        MULLINS JR                  OH     66031546352
35196541483289   MELANIE       CLARK                       TX     90014505414
35199448491891   AARON         CRAIGER                     OK     90012844484
35211681931424   ARTICHER      THOMAS                      MO     90009316819
35211943941258   JENNIFER      TAYLOR                      PA     90012199439
35212697391587   CESAR         ROMO                        TX     90010626973
35212892484347   MELISSA K     PENNISTON                   SC     90005438924
35213978191563   ALMA          IBARRA                      TX     90014909781
35216867391584   KARINA        RUIZ                        TX     90011718673
35217281791371   EDMOND        RICHMOND                    KS     90014072817
35217733391891   ANNIKA        WILSON                      OK     90014777333
35218259331424   ROBIN         BRUNNER                     MO     27586262593
35218275255936   JOSE          RUIZ                        CA     90013552752
35218411291891   ROBYN         SWANSON                     OK     90013224112
35218885891563   ALAN          OJEDA                       TX     75073418858
35219475954165   SORCCIA       FORRESTER                   OR     47091714759
35222186855972   AMELIA        AGUIRRE                     CA     90014061868
35222288891584   OMAR          JUAREZ                      TX     90011652888
35224668361963   ROWAID        BANYAMEEN                   CA     90014786683
35226954361963   JAVIER        CARBAJAL                    CA     90006849543
35227217591563   ERIC          GAUCIN                      TX     90009232175
35227681631424   MARCEL        HARRIS                      MO     90013486816
35227759991232   PAYGO         IVR ACTIVATION              GA     90008807599
35228139654165   JESSICA       SMITH                       OR     90012321396
35228197991563   STEPHEN       BENTON                      TX     90010281979
35229454991371   ANUAR         LOPEZ                       KS     90015414549
35231142591371   JAGGER        VANDERPOOL                  KS     29075621425
35232181241258   SHAWN         TOWNSEND                    PA     51007521812
35233289954165   STEVE         SOSKI                       OR     90014792899
35233567355972   JANET         WELCH                       CA     90015305673
35234721747931   LINDA         SAATHSY                     AR     90002487217
35235465741285   CHRISTOPHER   ANDREWS                     PA     90009294657
35236925391831   BRANDON       HESTER                      OK     21000999253
35237934891891   VANDEN        HANSHAW                     OK     21030939348
35237996755936   RECARDO       LOPEZ                       CA     90015169967
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35239842341258   DORIS        BURKE                        PA     51049838423
35239936491831   HANG         LIAN                         OK     90013019364
35242833243571   KADEE        MARIE                        UT     90010798332
35244849554165   CHONTEL      PELKEY                       OR     90014708495
35244966491584   MARK         ANGON                        TX     75016019664
35245235355936   TANYA        MIRANDA                      CA     49080512353
35246166391831   SHOAIB       MUHAMMAD                     OK     90000481663
35246255291831   MARVA        STALLINGS                    OK     90014712552
35246766341277   BRENDALE     BOWLES                       PA     51089467663
35248475941285   AUBREY       SANDERS                      PA     51024904759
35248597391891   KHALID       ALOTHMAN                     OK     90010625973
35249322225481   DUSTY L      WINKLER                      TX     90013033222
35249442841285   HERBET       YANKO                        PA     90010184428
35249946991891   JESSICA      DUTTON                       OK     90010859469
35251518354165   DONALD       SNIDER                       OR     90014795183
35252322225481   DUSTY L      WINKLER                      TX     90013033222
35252523255974   MARI CRUZ    CHAPA                        CA     90012815232
35252785155936   JUAN         GARCIA                       CA     90012377851
35253111747931   ASHLEY       WILBANKS                     AR     90013511117
35253517191891   ANGIE        HOUSTON                      OK     90001555171
35253679391831   ESTRELLA     RODRIGUEZ                    OK     90013366793
35254548554165   TANA         KIGHTS                       OR     90011645485
35254785455972   ROY          BENAVIDES                    CA     90012457854
35255212654165   AMBER        SHARPE                       OR     90011062126
35255241231586   KALYAN       RACHAPUDI                    CO     90013642412
35255453841258   SHEILA       RANDALL                      PA     90010204538
35255469391881   SUSAN        BREDEMEYER                   OK     90014414693
35256656331424   SHARLENA     STEPHENSON                   MO     90014606563
35256881191831   RYSHANA      WEBB                         OK     90007858811
35257611861962   SANTOS       ROMERO                       CA     90008566118
35258211991563   HELEODORO    PEREZ                        TX     75038642119
35259189655947   JOSEPH       JIMENEZ                      CA     49075611896
35259233691881   DANICA       CAMPOS                       OK     21097802336
35261372191831   DIANA        OSORIO                       OK     90015023721
35261867391584   KARINA       RUIZ                         TX     90011718673
35261963291371   KATHY        DAVIS                        KS     29046589632
35262712254165   AMANDA       SWISHER                      OR     90010837122
35262777747931   RHEA         MURRAY                       AR     25027757777
35263233891831   JEREMY       DILEY                        OK     90012982338
35264143731424   HALF         JAMES                        MO     90015141437
35264698291831   CARDENUS     BOYLES                       OK     90013366982
35265823731424   MIR RAHEEM   ALI                          MO     27570068237
35266136591371   TIFFENY      MOZINGO                      KS     90002391365
35267337255972   ELIDA        LOPEZ                        CA     90010583372
35269743141285   NEVADA       BOWEN                        PA     90015097431
35269765891563   APRIL        PORTILLO                     TX     90013777658
35272426591563   MARIA        RODRIGUEZ                    TX     75025074265
35274393155936   MARIBEL      MORALES                      CA     90014813931
35274859191891   MARTINA      NATASHA                      OK     90014598591
35276176561963   BERNARD      GROEFSEMA                    CA     46091891765
35276685554165   CASSI        KRUEGER                      OR     90014796855
35277126891584   LORENA       OROZCO                       TX     90010061268
35277577561963   ATTILA       SZILAGYI                     CA     90001365775
35277648591584   NIGUEL       OROSCO                       TX     90011286485
35279259147931   CONSUELO     LUGO                         AR     25062222591
35279939155936   MARTHA       HERNANDEZ                    CA     49036119391
35281282291371   JOSE         BALDERAS                     KS     90010672822
35281427191584   LUIS         GALAVIZ                      TX     90012504271
35282327741285   JOSE         DIAZ                         PA     90015043277
35284354955951   JOSE         DURAN                        CA     90011043549
35286337161963   WILLIAM      MCKINSEY                     CA     46009893371
35287352261963   RUBY         GONZALEZ                     CA     90011503522
35287771141277   DIONELLE     AYERS                        PA     90008527711
35288728351382   REGINA       FUERBACKER                   OH     90005707283
35289986591831   LACRERTIA    KNOX                         OK     21006189865
35291174354165   SERGIO       FLORES MUNOZ                 OR     90015231743
35292627491891   MELISSA      HILL                         OK     90012126274
35295318991371   TAKELA       ESTES                        KS     29023173189
35295516891891   LONNIE       MURPHY                       OK     90014435168
35295622755972   HILDA        GONZALEZ CEBALLOS            CA     90015176227
35295814641258   SHINETTA     PETERSON                     PA     90004718146
35296184591831   BRANDI       PESTEL                       OK     90011571845
35296568591831   ERIKA        RYAN                         OK     90014685685
35296722491584   MANUELA      GARCIA                       TX     90014757224
35311366791371   ELIZABETH    GONZALEZ                     MO     90006083667
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35314925891831   ERIN         CHAFFIN                      OK     90014199258
35315246191831   SARA         HOOD                         OK     90014182461
35315272741258   ELIZAETH     LORESKY                      PA     90014382727
35315842591891   CARY         HERON                        OK     90011798425
35316321191563   VIRGINIA     MARTINEZ                     TX     75095833211
35316659785933   AIMEE        LYNNE-HIRSCHOWITZ            KY     90002196597
35316696391891   JIMMY        DALE                         OK     90014396963
35317611591371   DONALD       JENKINS                      MO     90014296115
35317646941285   MARISSA      PALERMO                      PA     90014496469
35317788654165   JAMIE        OTWELL                       OR     90014807886
35318965361963   QUMAR        AUSTIN-PINES                 CA     90001459653
35321742291891   LESLIE       GIBSON                       OK     90012847422
35321819955936   BILL         FOSTER                       CA     49021558199
35322491755972   LUIS         MONTOYA RODRIGUEZ            CA     90014144917
35323573455972   PATRICIA     BRAVO                        CA     90014275734
35325532491563   MELISSA      ZAMBRANO                     TX     75060745324
35325843755972   ITAY DOV     MAYER                        CA     90015068437
35325989391831   TONYA        MCCOLLUM                     OK     21000309893
35326386241285   AMILY        BEATTY                       PA     90009653862
35327322491563   GLORIA       ZAVALA                       TX     90000143224
35328371391371   JUSTIN       DEMERS                       KS     90015383713
35329252755972   ARSENIA      ESPINDOLA                    CA     90014682527
35331134691371   LAURA        GUZMAN                       KS     90013941346
35335586455972   LUIS         BOLELLO                      CA     48049435864
35338652691371   KIEFER       RENFRO                       KS     90015126526
35339589331424   CHASTIDY     RICE                         MO     90010895893
35343142891563   DORA         ESPINO                       TX     90005031428
35343796861963   JORGE        GARCIA                       CA     90003227968
35344919291831   AZIA         BROWN                        OK     90011599192
35345349561963   RACHEL       RICK                         CA     90011503495
35346265391563   JULIO        OLIVAS                       TX     75098622653
35346523147931   YARILIZ      TORRES                       AR     25091955231
35347974191563   ROSA         ARRIOLA                      TX     75093359741
35349519585996   ANTHONY      KELLEY                       KY     90005505195
35349713991831   KALI         KELLER                       OK     21022097139
35351183641285   JOSEPH       ZORO                         PA     90011251836
35351741241277   ANTHONY      PAYNE                        PA     51084527412
35351871891584   ROSALIA      PONCE                        TX     75098888718
35351976691371   ANDREW       FARISH                       KS     90013749766
35353941172455   RHONDA       SCHEIDMANTLE                 PA     51059339411
35355277731424   MARIAN       YARBROUGH                    MO     27586272777
35355579255936   MICHELE      MARTINEZ                     CA     49085185792
35355644554165   JOHNNY       WILSON                       OR     90014736445
35358714731424   GEORGE       PFEIFFER                     MO     27574417147
35358893661925   ANTONIA      MORENO                       CA     46042708936
35362516291371   HEATHER      MCELOROY                     KS     90002625162
35362572855972   ISABEL       MARTINEZ                     CA     90015105728
35362973851323   CINDY        FOSTER                       OH     90005389738
35364115641258   RHUMAUD      BROOKS                       PA     90013821156
35364849841227   WAYNE        MAZZA                        PA     90012598498
35367871291584   IRMA         RODRIGUEZ                    TX     90014668712
35368433755972   CONSUELO     DIAZ                         CA     48046454337
35369112455972   GABRIELA     MENDEZ                       CA     90012631124
35369482554165   EMILY        MOORE                        OR     90012574825
35369535731424   CHRISTINE    ISAM                         MO     90014615357
35371821231424   JOHN         HARLY                        MO     90010898212
35371828754165   MICHEAL      HARLAND                      OR     90014818287
35372828754165   MICHEAL      HARLAND                      OR     90014818287
35372829155972   MONICA       BARNETT                      CA     90014438291
35375492155972   MARYANN      FRANCO                       CA     48011664921
35375937491831   ABDELHAMID   ISMAEIL                      OK     90014179374
35376815255936   GIOVANNI     RAMIREZ                      CA     90009768152
35377842491563   VICTOR       MURILLO                      TX     90007948424
35378674555936   JIM          KRUSE                        CA     90010616745
35381121691371   ARON         BARKSDALE                    KS     90014411216
35381635691891   JANETTE      HOUSTON                      OK     90011206356
35381836491584   ELIZABETH    SAAVEDRA                     TX     75008758364
35381884354165   RENEE        STEWART                      OR     90014818843
35382498455972   STEVEN       VALVERDE                     CA     90015094984
35382945254165   SAMANTHA     HALE                         OR     90014819452
35383956754165   ALICIA       STARK                        OR     90014819567
35384843491563   CORA         MESTA                        TX     75029718434
35385219792853   ALEX         DEHERRERA                    AZ     90011952197
35385858455972   CRYSTAL      RIVERA                       CA     90009638584
35387347855936   MARIA        ZAMORA                       CA     90013053478
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35388473991371   SAIRA        VILLA-SIMENTAL               KS     90011314739
35389635755936   GUADALUPE    RAMIREZ                      CA     49073406357
35392281791371   EDMOND       RICHMOND                     KS     90014072817
35393315157163   FABRICIO     GARAY                        VA     90005353151
35393885231424   GEE          RUM                          MO     27506568852
35394521541285   RAYMOND      WEIBLINGER                   PA     90013885215
35394728991831   CESAR        SALAZAR                      OK     90011577289
35394996354165   JOLINDA      CHAMBERS                     OR     90014819963
35396379361963   TANGO        TEVERBAUGH                   CA     90010113793
35396791991584   LORENZO      MENDOZA                      TX     75032357919
35397618691584   JAZZE        SANCHEZ                      TX     90006626186
35398887691563   LETICIA      GOMEZ                        TX     75029718876
35399232591232   NATASHA      JAMES                        GA     90003682325
35399426655972   JILLANA      WILSON                       CA     90012914266
35399428791584   JOSE         GARCIA                       TX     90012504287
35411128555928   PATRICIA     HARRIS                       CA     49091831285
35411156347931   LASHEENA     ALI                          AR     90011421563
35411631791891   CARLA        MILTON                       OK     90010016317
35411664291371   JANET        FONDREN                      KS     90013706642
35412368285835   JUAN         ESCUDERO                     CA     90005903682
35412427551339   JOSHUA       BUCHANAN                     OH     66065074275
35414379554151   MCCRARY      PATRICIA                     OR     90002653795
35414413391371   JAMES        COLUNGA                      KS     90002964133
35415488341258   CARLOS       HAMLIN                       PA     90014934883
35417757991891   JAMES        WILLIAMS                     OK     90010287579
35418224491584   ADELINA      FRANCO                       TX     90010722244
35419152791563   MONICA       TORRES                       TX     75089641527
35419429744233   VIRGINIA     BOWEN                        CA     90012304297
35419694391371   LANIQUE      GILBERT                      KS     90015536943
35421578791584   CESAR        CONTRERAS                    TX     90011655787
35422366591584   SKY          MORIEL                       TX     90013573665
35422641591891   BRITTANY     BROWN                        OK     90010856415
35423823551339   KAREN        PARKER                       OH     90012838235
35425381891891   TAWANNA      SOAP                         OK     90014663818
35425578791584   CESAR        CONTRERAS                    TX     90011655787
35425669991563   ABRAHAM      TARIN                        TX     90015066699
35427998851382   RACHEL       HOLMES                       OH     90006499988
35431978391584   ROBERTO      CORTORREAL                   TX     90005099783
35432938155972   LAURA        ESPINOZA                     CA     48045689381
35435415991371   BRIAN        WEBB                         KS     90007384159
35437648347931   HENRY        MADISON                      AR     90014156483
35438774177523   CINDI        JENKINS                      NV     43019897741
35438867554165   MARVELLA     GORDON                       OR     47028288675
35439612457554   MELINDA      HERNANDEZ                    NM     90009386124
35445517591891   DIONNE       TRIGGS                       OK     90011465175
35447165991891   TIFFANY      OLIVER                       OK     90005441659
35448479751321   APRIL        TRUE                         OH     90001114797
35449611191584   ARIEL        CARMONA                      TX     90011656111
35453392691584   MARISELA     GARCIA                       TX     90000223926
35454341855936   LEONARD      CLARK                        CA     49017563418
35454595173221   MEL          GALLINDO                     NJ     90015405951
35455175591584   CINDY        ARAGON                       TX     90012971755
35456259147931   CONSUELO     LUGO                         AR     25062222591
35456746941258   DEANNA       MARPLE                       PA     90004027469
35456848231424   DEANDRE      HAYES                        MO     27562518482
35457632891371   MARIA        NAVARRO                      KS     90009406328
35458322791563   GUADALUPE    ESCALANTE                    TX     90010713227
35458638493762   TAMARA       ORDING                       OH     64560996384
35459621591831   MELISSA      DANIEL                       OK     90010306215
35459959191584   ARACELI      HERNANDEZ                    TX     90014669591
35461259391563   ANGIE        CLADERA                      TX     75090262593
35462219693761   DONNA        INGRAM                       OH     90005552196
35463416761963   JOSE         DESANTIAGO                   CA     90010664167
35463961391584   JAVIER       AGUIRRE                      TX     90014669613
35465879591371   JULIANNE     GREEN                        KS     90012188795
35466983841258   LISA         BRUCE                        PA     51023359838
35467428755972   LUPITA       RICO                         CA     90011074287
35468152391563   DIANNA       BRIONES                      TX     90010271523
35468811931424   LOUTREECE    MILLER                       MO     27552038119
35471771844362   JENNIFER     WASHINGTON                   MD     90004147718
35473839154165   LAURA        WHALEN                       OR     90009198391
35473966791584   ROBERT       RAMIREZ                      TX     90014669667
35474366254165   TAMATHA      NEELY                        OR     47011623662
35474662447931   SCOTTY       CASSIDAY                     AR     90002286624
35475756455936   PATRICA      CHONG                        CA     90015177564
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35476165547931   JESUS         GALISIA                     AR     90012821655
35476443491831   ERIK          PINKERTON                   OK     90014184434
35476795591584   AUDREY        JUAREZ                      TX     90013067955
35476947461963   PAUL          GARCIA                      CA     90001939474
35477687491584   HERT          CORPORATION                 TX     90010486874
35477945591891   CHRISTY       GRAY                        OK     90009969455
35479686961962   MICHELLE      NUNO                        CA     90008206869
35483812741285   MEL           WILSON                      PA     51082398127
35484582355972   GARCIA        LUCIA                       CA     90003695823
35484784731424   EARNESTINE    BRANOM                      MO     27596557847
35486724855936   IRENE         VALDEZ                      CA     49060377248
35489167341258   MICK          DIDOLCE                     PA     90011121673
35489625161963   LAURA         GIL                         CA     90001686251
35491386593761   WENDY         PERLTA                      OH     90009183865
35491464841285   CHRISTOPHE    DAVIS                       PA     51071504648
35493362691584   SERGIO        ORTEGA                      TX     90001183626
35493633155972   VICTORIA      MARTINEZ                    CA     90014936331
35494143791371   LUIS          APARICIO                    KS     90014171437
35494821871937   APRIL         KERBY                       CO     90010698218
35495117554165   LISA          FRYMAN                      OR     90014881175
35495394291563   MIGUEL        JIMENEZ                     TX     75072433942
35496631855972   STACY         HERNANDEZ                   CA     90001736318
35497626791584   JUAN          DE LA HOYA                  TX     90013116267
35497941131424   DOMONIQUE     JOHNSON                     MO     27575769411
35498677955936   DIANA         CALDERON                    CA     90012746779
35512234391891   LESTER        PHILLIPS                    OK     90013342343
35512498947931   KEONIA        NICKERSON                   AR     90015284989
35512887291831   KATHELEEN     LOWE                        OK     90008038872
35513185841285   DANA          YEARMOSKI                   PA     90010471858
35514112141277   IRWIN         BANKS                       PA     51065011121
35514743331424   ANTHONY       LEE                         MO     27577017433
35514995891584   MARIO         CONTRERAS                   TX     90014669958
35517188472439   HEATHER       KOWALSKI                    PA     90012821884
35517248255936   CLEOFAS       RODRIGUEZ                   CA     90014912482
35519637455972   PATRICIA      RAMIREZ                     CA     90002436374
35519746441285   FRED          HARMS                       PA     90014527464
35521381991831   MELANIE       MOROSE                      OK     90001053819
35521578555972   VINCENT       MANDRELL                    CA     90015305785
35522831455972   FRANCISCO     LEON                        CA     48089598314
35523688991563   CARMEN        MEDRANO                     TX     90009726889
35523746991831   SANDRA        GARWOOD                     OK     90013047469
35523957554165   MARCI         WOODY                       OR     90007819575
35524135991371   ESTEBAN       CABRERA                     KS     90014441359
35524397955936   MATTHEW       HERNANDEZ                   CA     90013733979
35525197441258   WILLIAM       MANTZ                       PA     90014561974
35526199591587   ANDRES        GONZALEZ                    TX     90001701995
35527663931424   KEENA         CARR                        MO     90011216639
35527861454151   BREAN         ZARATE                      OR     90010348614
35527949554165   PHILLIP       WIDELL                      OR     90014929495
35528718691584   SUSANA        MONETON                     TX     75080397186
35529837341285   OMOBOLA       OLUWATUYI                   PA     51017438373
35531573961963   LUIS          CHAM                        CA     90011485739
35532229755972   JOSELUIS      RIVERA                      CA     90000292297
35536231541285   DENISE        THOMAS                      PA     51041382315
35537993931424   FRAZIER       PAMELA                      MO     90009769939
35538333331424   CHIQUITA      POPE                        MO     27563453333
35538919691563   JULISSA       MARDEN                      TX     90010469196
35539437647931   ROSALYN       DAVIS                       AR     25009434376
35541546891563   EVA           BARRON                      TX     90013225468
35543499291584   LUBIA         BANDA                       TX     90009644992
35545522791563   CLAUDIA       LOZANO                      TX     90014405227
35547418491891   PAYGO         IVR ACTIVATION              OK     90012204184
35548837141455   ALLAIRE       LAGRONE                     WI     23512318371
35549677654165   GRACIE        QUATIER                     OR     90014936776
35551443491831   ERIK          PINKERTON                   OK     90014184434
35551988355936   ALEJANDRINO   DURAN                       CA     90015269883
35552298255972   DALLAS        WRIGHT                      CA     90013492982
35554524772441   TAWANA        FIELDS                      PA     90013225247
35554945591891   CHRISTY       GRAY                        OK     90009969455
35554995191563   LAURA         GOZALEZ                     TX     90013759951
35557738891831   TALESA        FANNIN                      OK     90014837388
35559153547931   VIRGINA       VIZUET                      AR     90015321535
35562543255936   NEFTALI       GARCIA                      CA     90009885432
35562583491891   MIKE          KAYS                        OK     90004025834
35564459655936   CHRIS         LOPEZ                       CA     90015334596
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35565216891371   FLOR         ALVAREZ                      KS     90002032168
35565459331424   JANICA       LARUE                        MO     90007974593
35566858231424   BRIAN        DIXION                       MO     90014628582
35567857891563   ELSA         QUEZADA                      TX     75042358578
35568815955972   STELLA       GARMON                       CA     90011528159
35569287991584   JOEL         GUTIERREZ                    TX     90006562879
35571383155972   RUDY         ACOSTA                       CA     90004503831
35572392755936   OCTAVIO      GARCIA                       CA     90013553927
35572584941285   CHARLES      SMITH                        PA     90010295849
35572699231424   SIMON        GOODEN                       MO     27502066992
35572748691891   CARA         THOMASON                     OK     90013737486
35573937491584   CHRISTINA    CAMPOS                       TX     75035829374
35574343641258   WILLIAM      FORKEY                       PA     90013573436
35574659155936   BLADIMIR     PASTOR                       CA     90002736591
35576848741258   JOE          MAZZOCCHETTI                 PA     90012128487
35577481691371   MARVIN       BURGOS                       KS     29051424816
35578543661945   DENISE       BETTS                        CA     90005285436
35581181991537   RODOLFO      REYES                        TX     90012201819
35582386384326   ANGELETTE    CAPERS                       SC     90013343863
35582639954165   MICHAEL      NORRIS                       OR     90011656399
35583552891371   ZENIA        ACEDO-JURADO                 KS     90010405528
35588677741277   KIMBERLY     BANDY                        PA     51064646777
35589342755936   VICTORINO    PEREZ                        CA     90013913427
35589414161925   WES          STEWART                      CA     46090014141
35589422733669   AMANDA       BAUGHN                       NC     90009544227
35591278961972   ERIKA        LOPEZ                        CA     90008662789
35592154754165   LINDA        BENNETT                      OR     90015021547
35594142291584   PAUL         VALENZUELA                   TX     90011661422
35594824643571   JUAN         PACHECO                      UT     90004128246
35594951147928   JACQUELINE   CEBALLOS                     AR     90014149511
35595125393761   DEANNA       ABNEY                        OH     90008041253
35595262891831   ELIZABETH    ROACH                        OK     90013032628
35595731191584   CLAUDIA      RIVEROL                      TX     90011577311
35596458241277   BEN          BEYER                        PA     51079504582
35596815991371   CARLI        MCCONNAUGHY                  KS     90011238159
35596958731424   T ARA        HURN                         MO     90014919587
35597484331424   JOSEPH       HOLT                         MO     90007974843
35598626131424   TREVON       BISHOP                       MO     90012696261
35598673391891   KEYONNIA     NOLEN                        OK     90013216733
35611518263629   CLAIRE       BOYLAN                       MO     90010625182
35611691141227   RENEE        HUDSON                       PA     51097536911
35612449761963   PAUL         THOMPSON                     CA     90003034497
35612957191831   MARICELA     HERNANDEZ                    OK     90003539571
35613298961993   JESUS        DOMINGUEZ                    CA     90003472989
35616581491371   ROSIE        GAONA                        KS     90014675814
35617652191891   PEGGY        HENNINGSEN                   OK     90010666521
35621736354165   RUTH         PHILLIPS                     OR     90015047363
35622466591371   HEATHER      MATHEWS                      KS     90014844665
35622489491563   ARMANDO      LUNA                         TX     90010394894
35624263391891   NICHOLAS     BROWN                        OK     90010932633
35624379461963   MICHAEL      FRISHKORN                    CA     90010503794
35628738761963   SALGADO      LUIS                         CA     90000537387
35631414455972   EVELYN       RIVERA                       CA     90014964144
35632648191563   JOE          GANDARA                      TX     75057346481
35632915951359   MELVIN       LARSON                       OH     66014579159
35637245791891   SHAMON       JONES                        OK     90007362457
35637652891563   ERIC         SIGALA                       TX     90013096528
35638289891232   JULIAN       MOORE                        GA     90003052898
35638638155972   DUANE        DEAVER                       CA     90007006381
35641525455939   REYES        CORTEZ                       CA     90001775254
35641849333654   SHERRI       NORMAN                       NC     12001548493
35643127391584   SILVIA       AGUIRRE                      TX     90014271273
35643268491371   CRICKET      WIRELESS                     KS     90009982684
35644776241258   SONYA        RUTHERFORD                   PA     90001177762
35645828247931   RANDALL      BLANTON                      AR     90013088282
35646798154165   SHAUNTEL     KRIMBOW                      OR     90013257981
35647526941258   AARON        MCCOULLUM                    PA     90014555269
35648139255936   VERONICA     PIMENTEL                     CA     90002021392
35648394891891   CHELSIE      MURPHY                       OK     90010203948
35648456491563   CRYSTAL      RUIZ                         TX     90012784564
35649773691538   CLEOFAS      SOTELO                       TX     90007777736
35651332555972   ARTURO       GONZALEZ                     CA     90002963325
35651869391891   BILLY        PERRY                        OK     90007618693
35652265491584   NORMA        OBREGON                      TX     90011662654
35655273847931   LUS          AGUILAR                      AR     90015112738
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35656169454165   STEVEN       BRUCE                        OR     90006571694
35657341155972   KIMBERLY     FOGG                         CA     48031033411
35657878361963   MANUEL       CHICO                        CA     46079318783
35659257491563   DIANA        PADILLA                      TX     90014392574
35659935761437   JACOB        DECLOUET                     OH     90013969357
35659976547931   LAURA        MEDINA                       AR     90011449765
35661849547931   PAYGO        IVR ACTIVATION               AR     90009868495
35662711291891   PRECIOUS     GILBERT                      OK     90011107112
35663615647931   MARIA        PATINO                       AR     90009466156
35664538947931   BLANCA       HERNANDEZ                    AR     90005605389
35664778455959   JOSH         AMIS                         CA     90004207784
35665549691363   ANTONIO      LOVE                         KS     90002485496
35666332747931   KENIE        JUROUT                       AR     90010953327
35666785655972   BENITO       ORROSTIETA                   CA     90010537856
35667761431424   QUYANA       MITCHELL                     MO     90012347614
35668943391831   MELISSA      NUNEZ                        OK     21033509433
35671717955972   JESSE        HARMON                       CA     90012337179
35672436993762   BARRY        MORELAND                     OH     64510934369
35674211641258   LEONARD      MUCKLE SR                    PA     51069732116
35674495191232   HERIBERTO    HOWARD                       GA     90004384951
35674646191831   DAVID        STONEBARGER                  OK     21066126461
35674998855972   MICHELLE     GARCIA                       CA     48007059988
35677331991584   ANTONIO      ROSALES                      TX     90011663319
35681345991584   MARIA        GARCIA                       TX     90011663459
35683245591563   CLAUDIA      CAMILLE                      TX     90007412455
35684534241285   ANDREWE      ROSS-BRANDAU                 PA     90014585342
35685425491371   RICHARD      SCOTT BISHOP                 KS     90000774254
35687769441285   ERICA        WILLIAMS                     PA     90005097694
35688388791371   MEGAN        TREINEN                      KS     90014813887
35691113191584   AGUIRRE      LORENA                       TX     90014671131
35691374154165   JOSH         GAROUTTE                     OR     47084693741
35693441541258   KIMBERLY     BUJAK                        PA     51039904415
35694174254165   ANTHONY      ARAGON                       OR     90015091742
35695113191584   AGUIRRE      LORENA                       TX     90014671131
35695183854165   BRIAN        WEEKS                        OR     90015091838
35695612155936   BOBBY        URIBE                        CA     90015216121
35695797891563   JORGE        LOPEZ                        TX     75004817978
35697788861963   PEDRO        NAJERA                       CA     90001927888
35699612155936   BOBBY        URIBE                        CA     90015216121
35699688255936   ALBERTO      RAMIREZ                      CA     90012746882
35711859655972   JAIME        MENDOZA                      CA     48015388596
35713387755921   EVELIA       GUERRERO                     CA     90011193877
35713426155972   DARRIN       WALKER                       CA     90012204261
35714332355972   MANUEL       RAMIREZ                      CA     90007273323
35714741891563   SABRINA      LOPEZ                        TX     90013277418
35715955191831   KERRY        STANTON                      OK     90003829551
35716798177531   CARLOS       GARCIA                       NV     90010347981
35717774155972   JENIFFER     THOMPSON                     CA     48010177741
35718111155936   TIBURCIO     HERNANDEZ                    CA     90013581111
35718267291891   VIRGINIA     PIERCY                       OK     21030002672
35719217443536   NATALLIA     KUREK                        UT     90004262174
35719311455936   JORDAN       GROENEWEG                    CA     90008393114
35721672191584   ANTONIENTA   LUCAS                        TX     75077806721
35722651855936   JOMANUEL     TOLENTINO                    CA     90013636518
35722716285955   BRYAN        HUEBENER                     KY     90015357162
35724556457537   ANTONIO      CHAVEZ                       NM     90012515564
35724965691371   MICHAEL      CHAVIRA                      KS     29039239656
35727353461963   SUMMER       ANDERSON                     CA     46097863534
35727755191831   NIKKI        NEUENDORF                    OK     21054577551
35728172151339   TIMOTHY      HINELINE                     OH     66058201721
35728342155972   JOSE         SALDANA                      CA     90001953421
35731139741285   DAN          LICHTEN                      PA     51019421397
35731195691891   TEQUILA      GRAYSON                      OK     90011331956
35731615355972   DOLORES      GARCIA                       CA     90005996153
35731697791831   RACHEL       BEAN                         OK     90015166977
35732138691584   JOSE         CERVANTES                    TX     90014671386
35733818291371   VANESSA      MCGEE                        KS     90000628182
35733979154165   MATT         HARDY                        OR     90011789791
35734153161962   CASIMIRO     GONZALEZ                     CA     90011421531
35734576491563   LIBIA        VERA                         TX     75047045764
35735928391563   ENRIQUE      SANCHEZ                      TX     90012139283
35738138691584   JOSE         CERVANTES                    TX     90014671386
35738268355972   ELIZABETH    CHAVEZ                       CA     90014272683
35739643255936   MARIA        RUEDA                        CA     49098206432
35744184891584   SARA         PEREA                        TX     75067871848
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35744328271996   CARRIE       WATSON                       CO     32032803282
35744476291831   HOLLAND      MARTEN                       OK     90012954762
35744517391359   GEORGE       SCARLETT                     KS     29052295173
35744852491584   JOSE         PAYEZ                        TX     90006388524
35745272491831   ELIZABETH    VINAJA                       OK     21022352724
35747256455972   ROSA         GARCIA                       CA     48047282564
35747776991831   CARMEN       GIBNEY                       OK     90010757769
35751658391584   CARLOS       VELAZCO                      TX     90013116583
35753532541258   NICOLE       GRUBER                       PA     51052965325
35753996491891   ERICK        BROADNAX                     OK     90014969964
35754548341277   GEORGE       BABISH III                   PA     51067545483
35756483291584   AMY          MULLIS                       TX     90011664832
35758223191563   PATRICIA     RODRIGUEZ                    TX     90013202231
35759464991537   MARISSA      REYES                        TX     90011224649
35765591354165   PAUL         FERNANDEZ                    OR     47097485913
35766652547931   BRANDI       MILLER                       AR     90013116525
35766941684381   ANDREA       RAMIREZ                      SC     90012349416
35769772455959   LORILEE      ROBINSON                     CA     90013807724
35774675441285   THERESA      OSBORNE                      PA     90013816754
35774836541258   KATHLEEN     FERRARI                      PA     51021088365
35775625991371   BONNIE       DROGE                        KS     90012376259
35776615343571   DENNIS       CONOVER                      UT     90010826153
35777868691891   CAROL        HARPER                       OK     90014768686
35778515455972   YESENIA      BARCENAS                     CA     90015595154
35779781451382   CESAR        RODRIGOES                    OH     90005857814
35781929391563   PRISCILLA    RODRIQUEZ                    TX     90011309293
35782952191371   BRIANA       KIESLING                     KS     90014029521
35783694291891   ANJANNETE    COOPER                       OK     21051076942
35786313155972   CLAUDIA      CONTRERAS                    CA     90013763131
35786314141285   LAWRENCE     CSOKULY                      PA     90014023141
35786355491584   MARIA E      GAITAN                       TX     90009613554
35786688241258   LINDSAY      VASKO                        PA     90009796882
35787974941258   ZULEMA       RUIZ                         PA     51006459749
35789133254165   DANIELLE     MACHUCA                      OR     90015131332
35792459847931   DARREN       DYE                          AR     90014594598
35792646661963   JOSUE        RAMOS                        CA     90010536466
35794789551362   ERIC         BROWN                        OH     90000997895
35794972491371   CAROLINA     PEREZ                        KS     90014359724
35795255454165   WILLIAM      GASS                         OR     90015132554
35795389561973   SCOT         KLUMPH                       CA     46001783895
35796141857367   BRIAN        WILLS                        MO     90014731418
35796554291271   JAMES        CONAWAY                      GA     90008495542
35797241381681   TASHA        FLESNER                      MO     29017382413
35797861547931   JESSICA      MIKIDOU                      AR     90006348615
35798476891371   ANTONIA      DUE?AS                       KS     29016224768
35811515255972   RAFAELA      PONCE                        CA     90009835152
35811734541285   TAD          THORPE                       PA     90014577345
35812626254165   ANNAH        CLARK                        OR     90011396262
35812918754165   ANNAH        CLARK                        OR     90012579187
35813391355936   OCTAVIO      MEJIA                        CA     90014943913
35813415147931   KELLY        JENDESKI                     AR     90012814151
35813464647931   GUSTAVO      GOMEZ                        AR     90014824646
35813812354165   SUSAN        COLLETT                      OR     47083668123
35813983391563   DANIEL       RAMIREZ                      TX     90002969833
35814924955972   EDIE         COMONFORT                    CA     90007219249
35815199941285   DONALD       BRANTLEY                     PA     90014601999
35815255292853   FRED         JOSWIAK                      AZ     90014272552
35815734541285   TAD          THORPE                       PA     90014577345
35816734541285   TAD          THORPE                       PA     90014577345
35817547377584   KARLA        CORNEJO                      NV     43082745473
35817734541285   TAD          THORPE                       PA     90014577345
35817798191584   ZACK         RICKS                        TX     75085157981
35817835855972   ALAN         CARRILLO                     CA     90003698358
35819732491371   JESSICA      ACOSTA                       KS     90014327324
35821869147931   ESTELA       JUAREZ                       AR     25062348691
35822581991584   PATRICK      LOERA                        TX     90011665819
35824213391891   AMANDA       GOAD                         OK     90014142133
35824283755936   PETE         KING                         CA     90014802837
35825957181621   JUDY         LEWIS                        MO     29025519571
35826351131424   ADAM         HENSLER                      MO     90014643511
35826424955936   YADIRA       GIRON                        CA     90012914249
35826954555972   RODOLFO      ALCANTRA                     CA     90010149545
35828453655972   MARIANA      VALDOVINOS                   CA     90002034536
35828516731424   VERONICA     OWENS                        MO     90009545167
35828681791232   AHMAD        ALI-SALAAM                   GA     90012246817
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35828754247931   STEFANIE           COOPER                 AR     90008247542
35829749691891   LOGAN              BROWN                  OK     90013757496
35831928691831   VERNON             GILL                   OK     90012779286
35832217647931   MELVIN             JONES                  AR     90013742176
35834916841285   WENDY              MCCUE                  PA     51021439168
35835247161963   HUMBERTO           PEREZ                  CA     90011532471
35835399691371   MARKUS             VANDAWALKER            KS     29084963996
35835533354165   CARLA              WHEELER                OR     90003735333
35835966631424   MARANDA            WILLIAMS               MO     90010899666
35835985691831   MARQUITA           TOLBERT                OK     90012039856
35836154631424   SANDRA             WILKES                 MO     27550151546
35836168191563   JOSE LUIS          CRUZ                   TX     90010271681
35836863547931   IAN                MOTES                  AR     90013588635
35837382291371   JAIME              MONTOYA                KS     90011393822
35838398341258   DAMON              DIPAOLO                PA     90006333983
35839742555972   JAMES              PENA                   CA     90012437425
35842133141277   CATHLEEN           LONG                   PA     51086521331
35842778947931   ALTERIA            LEWIS                  AR     90014707789
35843352191831   YOLANDA            GONZALEZ               OK     90014693521
35843527191959   LATAUSHA           TABRON                 NC     17005835271
35844166291584   MANUEL             ERIVES                 TX     90015181662
35845133191891   CHARLES            CLEM                   OK     90002401331
35845134691371   LAURA              GUZMAN                 KS     90013941346
35847176351339   JESSICA            PROPPS                 OH     90008371763
35847624391584   JANET              NUNEZ                  TX     90011666243
35851115261963   STEVEN             MANN                   CA     90004331152
35852917831424   J                  TAYLOR                 MO     90003659178
35853156141277   ERIC               BROOKS                 PA     90006491561
35854382791371   PRABHASH KUMAR     PATRO                  KS     90015123827
35856612751865   HILARIO            EABIN                  NY     90015456127
35857225391891   MARINA             VILLARREAL             OK     90013292253
35858555285996   MARIO              PEREZ                  KY     90000265552
35859163491584   BEATRIZ            HOLGUIN                TX     90013911634
35859319955936   LUIS               DURAN                  CA     90001763199
35859477731424   PAUL               BALLARD                MO     27543914777
35861272955972   BEATRIZ            LIZAMA                 CA     90010272729
35861668541285   RON                GRISER                 PA     90010296685
35862711947931   CARL               LACKEY                 AR     90005297119
35863684455936   GREGORY            RODRIGUEZ              CA     90012316844
35863948155936   GREGORY            RODRIGUEZ              CA     49053059481
35864694154165   LYN                NIX                    OR     90004676941
35864872754165   ARTHUR             LANE                   OR     90015208727
35865487831424   DONNA              BINGHAM                MO     90014644878
35865969751594   JOAN               CREES                  IA     90015519697
35868771531436   DEBORAH            GRAY                   MO     90002137715
35871775591371   RAYMUNDO MARCIAL   DE HOYOS VERDUGO       KS     90010797755
35872169891994   CARLA              POSVIC                 NC     90005531698
35872827431424   TEASHA             CUNNINGHAM             MO     90011458274
35872972991584   ERICK              EGURE                  TX     90011669729
35874932291584   ANGELICA           PEREZ                  NM     90006449322
35875283355936   JOAQUIN            JIMENEZ                CA     90001042833
35875589491831   RUBI               QUINTANA               OK     90014685894
35877527743571   TAWNEE             HANSEN                 UT     90011285277
35877754941285   ROBERTA            PAXON                  PA     90013637549
35878174891563   BRENDA             AGUILAR                TX     90010271748
35878187661963   FRANCISCO          OLVERA                 CA     90006341876
35879187391563   EMANUEL            ESTUPINAN              TX     90007951873
35879466591371   HEATHER            MATHEWS                KS     90014844665
35881549691584   MONCERRAT          GRANADOS               TX     90007685496
35881725941277   SHAWN              REINERTSON             PA     90009437259
35882236831657   CURTIS             KITCHEN                KS     90008632368
35883293891525   MARIBEL            WOOD                   TX     90013142938
35883735891831   KAYLA              RIPPY                  OK     90005417358
35884212291584   HILDA              ASTORGA                TX     90014132122
35884279955972   JOSH               RODRIGUEZ              CA     48007752799
35884644341258   THOMAS             GILMER                 PA     51017546443
35886223991584   SOCORRO            PARRAZA                TX     90014672239
35888481791891   CASEY              MARTIN                 OK     21005034817
35889586755972   STEPHANY           SERVIN                 CA     90015005867
35891223341258   MIKE               WILLIAMS               PA     51094702233
35891678354165   STANLEY            WARREN                 OR     90001816783
35894774131424   MIRANDA            LAUGHLIN               MO     27591997741
35895272431424   FRANSOTA           SWOPES                 MO     90011052724
35895638891891   LORI               WOOD                   OK     90006606388
35895661731424   FRANSOTA           SWOPES                 MO     90011806617
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35896175391584   JOSHUA       DE SANTIAGO                  TX     90014681753
35897676155972   FRANK        JIMENEZ                      CA     90010136761
35912136961963   FOXCY        SMITH                        CA     46054731369
35912339891891   JENNIFER     BRESHEARS                    OK     90007313398
35912526255936   NICONORA     HERNANDEZ                    CA     49040515262
35913847431424   SYLVIA       BLACK                        MO     90005958474
35914336431424   MELISSA      HARRSON                      MO     90014653364
35914523921936   JEFFERY      BROWN                        IN     90012695239
35915232991584   EDGAR        RENTERIA                     TX     90014672329
35915381555936   TEMPLE       VALENCIA                     CA     90013713815
35915643684347   BEVERLY      BROWN                        SC     90010496436
35917223755972   JOSE         VILLALOBOS                   CA     90012192237
35917976191563   JESUS        GUILLEN                      TX     75037239761
35918854891831   BRANDON      EVANS                        OK     21079568548
35919612255936   ALICIA       HARNER                       CA     90014706122
35922865691563   NORAYVETTE   TORRES                       TX     75019468656
35925478891371   MARIA        ARAMBULA-CARRILLO            KS     90012914788
35925814991563   YVONNE       AGUILAR                      TX     90013698149
35926996141285   DONNA        COUSINS                      PA     51055499961
35928249131424   FLIEG        MICHAEL                      MO     27503422491
35932596555936   CYNTHIA      GANBAY                       CA     90012095965
35933685255936   SARAH        COLE                         CA     90015216852
35935896191831   PATRICIO     GOMEZ                        OK     21027438961
35936245691584   RAUL         RAMIREZ                      TX     90014672456
35938245691584   RAUL         RAMIREZ                      TX     90014672456
35938633141258   WILLIAM      NAU                          PA     51007556331
35939646854165   TIMOTHY      RICE                         OR     90010576468
35939824731424   KEMAL        NAKICEVIC                    MO     90010968247
35941732141285   ALISHA       SMITH                        PA     90014587321
35943713655936   NELIDA       VASQUEZ                      CA     49013847136
35944137791891   PAYGO        IVR ACTIVATION               OK     90015001377
35944349141258   MICHELLE     NIEHL                        PA     51074123491
35944417331424   CRYSTAL      WATSON                       MO     90014654173
35945243841285   CHRIS        HOHMAN                       PA     90014602438
35945879291891   MAGHAN       WALKER                       OK     90014828792
35946252555936   APOILNAR     CRUZ                         CA     49042852525
35947592691891   TARA         ANDERSON                     OK     21068475926
35948317741258   MELISSA      GARRISON                     PA     90005883177
35948684891563   LEONILE      CRANADOS                     TX     90010886848
35949274591587   CHRISTY      SALAZAR                      TX     90011012745
35949411241258   WILLIAM      SMITH                        PA     90009464112
35949996354165   SETH         LANEY                        OR     90015159963
35952113991831   RYAN         HORTON                       OK     90014801139
35952215991891   CHRISTIAN    CALABAZA                     OK     90013292159
35953174954165   SHEILA       HAMMONS                      OR     90002281749
35953647141258   COLBY        WEAVER                       PA     90010286471
35956292151382   KRISTAL      EDMONDSON                    OH     66049512921
35957635891563   ANTHONY      TALAVERA                     NM     90004996358
35958292151382   KRISTAL      EDMONDSON                    OH     66049512921
35958334291831   FATIMA       GAETA                        OK     90010173342
35959115855972   MAYRA        TINOCO                       CA     90005991158
35961249241277   ZINA         LOWE                         PA     90002222492
35962798855972   AGUILAR      GABRIEL                      CA     90006227988
35967271291584   OSCAR        MARTINEZ                     TX     90014672712
35968258491584   HERNANDEZ    SYLVIA                       TX     90014672584
35968266441285   ARNELL       BARNETTE                     PA     90014612664
35968733341277   PATRICK      OHARA                        PA     90008507333
35968813991587   XIAO         GUILLEN                      TX     90014888139
35971367191538   JUAN         LOPEZ                        TX     75069843671
35971753191584   WILFREDO     SOLIVAN                      TX     90010367531
35972297954165   LARRY        KENNETH                      OR     90015162979
35972397455972   VERONICA     SISNEROZ                     CA     90011513974
35974673754165   LEANNA       HURST                        OR     47060686737
35974764191891   CRAIG        FARNELL                      OK     90014317641
35974896851382   ERIC         BEARD                        OH     90005868968
35976536761963   SABAH        TOMA                         CA     90011295367
35977258491584   HERNANDEZ    SYLVIA                       TX     90014672584
35977424954165   JOHN         AUBERT                       OR     90012534249
35978588455972   SOFIA        CRUZ                         CA     90004445884
35981424954165   JOHN         AUBERT                       OR     90012534249
35981952247931   JESSICA      FRASHER                      AR     90004029522
35982561551594   JOHNA        WADEL                        IA     90015415615
35983428755972   LUPITA       RICO                         CA     90011074287
35983641691891   CHRISTIAN    ALBABRO                      OK     90012036416
35983685255936   SARAH        COLE                         CA     90015216852
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35984712455936   MARIANITA      LOPEZ                      CA     90013797124
35985476155936   ALEXIS         MOLINA                     CA     49095124761
35987592341285   CHELSEA        BUGIELSKI                  PA     51068855923
35987647531424   PRESTON        DAVIS                      MO     90011256475
35987694432573   CASEY          BOWEN                      TX     90015216944
35987755654165   CHRISTINE      KELLY                      OR     90002907556
35988561941258   TRACY          SMITH                      PA     90012865619
35992267991584   TAYLOR AMBER   CORDOVA                    TX     90014672679
35992388655936   REBECCA        RODRIGUEZ                  CA     90011353886
35995192691831   TOMIKA         VERSER                     OK     90014211926
35995276791563   PAUL           CHAVARIA                   TX     90013642767
35995645531424   KEITH          WARE                       MO     27521616455
35995796141277   KARRIE         MUNZ                       PA     51002637961
35995925941258   JASON          THEYS                      PA     90007099259
35996938731424   LARRY          GLASSON                    MO     27512719387
35996964341258   STANLEY        HORVAT                     PA     51084289643
35997283154165   MARIO          CARLOS                     OR     47002282831
35998367454165   REMEDIOS       MARICHE CORTES             OR     90015163674
35999625941277   ANGIE          LEE                        PA     51064746259
36111376541258   LORI           ANN WERNER                 PA     90010343765
36112843455972   RAUL           GUITERREZ                  CA     90003008434
36114615951382   DAVID          ABNER                      OH     90015026159
36115345291831   DEIRO          WILLIS                     OK     90001893452
36115473451339   CURTIS         HAMILTON                   OH     90009724734
36116883161962   RUBEN          BARRIOS                    CA     90004308831
36119264891831   TRACY L        CADDY                      OK     90014372648
36119644791891   JAMES          JOHNSON                    OK     90015106447
36121498431424   ROSANDA        MITCHELL                   MO     90014744984
36121994691891   CAROLYNE       FALUCONER                  OK     90004719946
36123439591584   JESSICA        RUIZ                       TX     75036004395
36125498431424   ROSANDA        MITCHELL                   MO     90014744984
36125872251321   ERICA          ALLEN                      OH     90012558722
36126334741258   MICHELLE       MCCABE                     PA     51012723347
36126513531424   BRANDON        MCKNIGHT                   MO     90014745135
36126519155972   ANDY           ANDRADE                    CA     90010505191
36127729255972   MARIA          HERNANDEZ                  CA     48046447292
36127981191831   VINCENT        RAGLAND                    OK     90015139811
36128179991891   BOBBIE         MCDONALD                   OK     90012601799
36128434791584   FRANCISCO      SANTIESTEBAN               TX     75036504347
36128873161963   MEREDITH       JOHNS                      CA     90005078731
36133494951382   LISA           MOORE                      OH     90008544949
36134111441258   MYAH           DAVIDSON                   PA     90014211114
36135181957172   KARINA         PERALTA                    VA     90003421819
36137296451339   MIKE           MCFARLAND                  OH     66062842964
36137476941258   ABDELKADER     TABETI                     PA     90007064769
36137799461963   LUIS           PULIDO                     CA     90013077994
36138139541258   STEPHANIE      THOMAS                     PA     90014211395
36138652391584   LUIS           MENDOZA                    TX     75084156523
36141234731424   MARK           HALBERT                    MO     27551052347
36143153591363   LUCINDA        SENDA                      MO     90004941535
36144754191891   JENNIFER       TAYLOR                     OK     90009787541
36145614741251   KATHERINE      MOSLEY-TURNER              PA     51045646147
36145855261963   RUDY           FRANCO                     CA     90002458552
36146266591891   BRANDY         CLOPTON                    OK     90011232665
36147846941285   CHRISTY        LOWRY                      PA     90002348469
36148319755951   MELINDA        GUTIERREZ                  CA     49055053197
36148442761963   WATHIK         YOUHANA                    CA     90014184427
36151526361963   BRANDON        CUMMINGS                   CA     90014775263
36151786741258   BRIAN          CLAYTON                    PA     51028337867
36151837855972   SILVA          TERAN                      CA     48066728378
36152484493785   MATTHEW        WRIGHT                     OH     90013524844
36153583741285   ANDREW         SMITH                      PA     90013205837
36153879761963   MIKE           CAGLE                      CA     90002888797
36154256791891   NATALIE        LEIPHARDT                  OK     90009392567
36155289891584   ISELA          MADRID                     TX     75002262898
36155824291831   FONDRA         EDWARDS                    OK     21081078242
36156452791584   CLAUDIA        VALENCIA                   TX     90014764527
36157262691584   VICKY          RAVELO                     TX     90010842626
36158156151339   DEBBIE         COX                        OH     90009441561
36158715555972   JOSE           GONZALEZ                   CA     90003037155
36161692151339   MALINDA        MESSER                     OH     90014586921
36165195932573   MIKE           ASHLEY                     TX     90011761959
36166183591891   DESHAUN        EDWARDS                    OK     90010271835
36166897777531   ROBERT         JOHNSON                    NV     90002368977
36167659891584   ELISA AIDE     RICO                       TX     90014746598
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36168819755951   EDWARDO      LOPEZ                        CA     90012748197
36172268951339   LESLIE       DURBIN                       OH     66097482689
36173546231494   TAVON        BROOKS                       MO     90008475462
36174785791831   JESUS        RUIZ                         OK     90002647857
36175982391584   SAMUEL       TREJO                        TX     75092679823
36176462451339   ARIELE       HADDIX                       OH     90013064624
36178318361963   RAYMOND      JACQUES                      CA     90011583183
36178989151865   DAVID        WISE                         NY     90015459891
36179713851339   NICOLE       MASON                        OH     90003797138
36182399491831   MARILYN      COLLEY                       OK     90011703994
36182791255951   CODY LEE     ALLEN                        CA     90010587912
36183694991232   KISHA        ROYAL                        GA     90010306949
36184569441285   STACEY       TUNDER                       PA     51097875694
36185253191831   CORTNEY      BROWN                        OK     90011852531
36188795341258   KATRINA      TATE-WHITLOCK                PA     51005967953
36189295431424   MONICA       STEWART                      MO     90014762954
36189419851382   MARY         MITCHELL                     OH     90010294198
36189497691343   VANESSA      MOLINA                       MO     29003754976
36189857155951   DAWN         PORTER                       CA     49025898571
36189946891584   JESUSQ       RUIZ                         TX     90012909468
36194724541258   CINDY        CLYMIRE                      PA     90011597245
36196946891584   JESUSQ       RUIZ                         TX     90012909468
36197576551382   JENNIFER     POLLEY                       OH     90015035765
36198111551339   ASHLEY       REY                          OH     90013471115
36198717651382   NASHANA      GLOVER                       OH     90015027176
36199717651382   NASHANA      GLOVER                       OH     90015027176
36199921557126   MEDARDO      LOPEZ                        VA     90008609215
36211586655972   NENG         THAO                         CA     90011495866
36211621681557   PAUL         BALAS                        IL     90012336216
36212596761963   MIKE         STEVENS                      CA     90004785967
36216737855972   SHAUNTEL     DAVIS                        CA     90005377378
36217151361963   DONGLAS      DILLAY                       CA     90013941513
36217369591359   ESTELA       ORTIZ                        KS     90015323695
36217795555972   KIM          PARRA                        CA     90014137955
36219689191584   CRISTINA     GARCIA                       TX     90014746891
36221383772496   TRAVIS       NEIDERHISER                  PA     90003873837
36221581155972   MARTIN       GUZMAN                       CA     48059885811
36221694691584   SANDRA       GASPAR                       NM     90014746946
36223222691831   MARIO        GARCIA                       OK     90015202226
36223625391943   JUAN         TECAN                        NC     90008856253
36223643391891   JAMIE D      FREEMAN                      OK     21045706433
36224494761986   EDMUNDO      ESPINOZA                     CA     90003484947
36229326985933   STEVE        KELLEY                       KY     90013093269
36229579541285   ANGELA       BETTS                        PA     51004305795
36229785751339   DIEGO        CASTRO                       OH     90010497857
36233877241285   JEWANA       DAVIS                        PA     51088268772
36235459331424   LISA         WARE                         MO     90014764593
36235575691831   DARNELL      WALKER                       OK     90011705756
36236298541285   MYESHA       MCCLADON                     PA     90010142985
36236797161982   JOHN         CRUZ                         CA     90000867971
36236993855972   JEFFREY      VANHERREWEGHE                CA     90013559938
36238154955972   RACHEL       VELASQUEZ                    CA     90003061549
36239149941285   BUDDHI       MAHAT                        PA     90012291499
36239483761963   LAURIE       PEVETO                       CA     90010904837
36245633851339   ANGELA       ZINCK                        OH     66094206338
36248171551362   TAMARA       CORTES                       OH     66097651715
36249984761999   SHANICE      EDWARDS                      CA     90007569847
36252761891831   ROXANA       IBARRA                       OK     21073467618
36252793251339   TAMMY        BRADEN                       OH     90012247932
36252881851339   THEODORE     BLOCK                        OH     90015018818
36253332961963   TANYA        EVANS                        CA     90010673329
36255254861963   PATTY        GUTIERREZ                    CA     90002942548
36255466836143   REINALDO     DORTA                        TX     90011684668
36257213671943   NICOLE       GUERRA                       CO     90014332136
36257535661963   MARIA        ALDRETE                      CA     90014785356
36259166291561   SERGIO       FLORES                       TX     90010801662
36259185291584   HECTOR       RODRIGUEZ                    TX     90011811852
36263581141285   KELLEY       JOHOVIC                      PA     51043885811
36265651961963   FRANCISCO    BERNAL                       CA     90014826519
36266659736143   ADRIANA      GONZALES                     TX     73596026597
36266812991831   ESTEFANY     OLIVERA                      OK     21052068129
36268445461963   FAREED       DAWOOD                       CA     90001164454
36268466541285   JAIMIE       STYCHE                       PA     90010024665
36271456551339   TRAVIS       ALLEN                        OH     90013474565
36272193731424   DEEDEE       IULI                         MO     90014771937
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36272345191271   STACY        SHABAZZ                      GA     90013003451
36275831331424   JAMES        MCMULLIN                     MO     90012168313
36277827851339   JOSEPH       REED                         OH     90014918278
36279235855972   VERONICA     GUTIERREZ                    CA     48004352358
36281285255972   ANTONIO      CONTRERAS                    CA     48014472852
36282117461963   HECTOR       ARROYO                       CA     90013091174
36283341257138   ELENA        ARBELAEZ                     VA     90008533412
36283856951339   BRIAN        TAULDEE                      OH     90011578569
36284611255972   GUADALUPE    IBARRA                       CA     90013616112
36284732751594   MARIO        ELA                          IA     90014457327
36287232261963   DASHAWN      FOX                          CA     90013942322
36289278991587   EDDIE        RIOS                         TX     90007472789
36292497555951   CASPER       NICHOLS                      CA     49010034975
36292931141285   AMBER        MASSEY                       PA     51008529311
36294484141246   JENNIFER     KUWICKI                      PA     90008644841
36294491591831   GEROGIA      NINO                         OK     90014814915
36294926455951   TAMMY        FREEMAN                      CA     90011109264
36295595855951   CANDACE      JOHNSON                      CA     90011655958
36295917241258   PONEBSHEK    SUN HEE                      PA     51085889172
36295925771921   LINDA        GREGG                        CO     32084369257
36313131141258   STEPHEN      FRISCO                       PA     51072711311
36314118991584   EVA          MARQUEZ                      TX     75042381189
36314757355951   MAYRA        BARRAGAN                     CA     90011877573
36315152641285   MORGAN       DAVIS                        PA     90007521526
36318118261963   JENNIFER     HURLEY                       CA     90013801182
36318856751339   ALISON       ROUSTER                      OH     90001008567
36318866941285   JOSEPH       JORDAN                       PA     90012098669
36319197941258   WENDY        DOBRANSKY                    PA     90014301979
36321618141297   SAMANTHA     SMAJDA                       PA     51091796181
36321928885996   MARIO        CORTEZ                       KY     90013879288
36322531231424   SAM          BOWMAN                       MO     90004635312
36323127351382   KAYLA        TURPIN                       OH     90009411273
36323454331424   RICKY        EMILY                        MO     90014774543
36323873951382   BRANDEN      HIBBITTS                     OH     90010968739
36324547555951   MELODY       GREER                        CA     90009515475
36325146436143   CRYSTAL      CHACON                       TX     90004771464
36328291655933   JUAN         CEBALLOS                     CA     90011882916
36332717972496   NICKIE       WHIPKEY                      PA     90010057179
36334225191891   BRADLEY      SOWELLS                      OK     90015192251
36334654255972   MONIQUE      HANNNAN                      CA     90011496542
36336226955951   RACHEL       ORDONEZ                      CA     90012902269
36336484591891   CYNTHIA      MARIANO                      OK     90014854845
36337217391891   TINA         THOMAS                       OK     90012262173
36337667855951   TERESA       MONTES                       CA     49057816678
36339646391891   HOLLIE       WOOD                         OK     90013446463
36339958291831   GREEN        CHANDIS                      OK     90011709582
36341558131282   LAKISHA D    COLLINS                      IL     90012515581
36343373851339   JAE          RIVERA                       OH     90012943738
36343459591584   SULEMA       BUENO                        TX     90014764595
36344727641258   WILLIAM      ZIMMERMAN                    PA     51001457276
36344955655933   SILVIA       ALMANZA                      CA     90007059556
36347973351339   JESSE        WILLIAMS                     OH     66064659733
36348766455951   DOGG         DOGG                         CA     90009747664
36348946991584   MARIO        GONZALES                     TX     90014389469
36349442151339   JORGE        SALAZAR                      OH     90015324421
36351895841258   KATHY        COPPLE                       PA     90011748958
36352845555951   MARTHA       OROZCO                       CA     90008818455
36353348731424   KELLY        HUIGHE                       MO     27562873487
36353671955972   MARIA        IBARRA                       CA     90009966719
36353811241285   JOSPHE       BISHKOFF                     PA     90015388112
36354262691584   VICKY        RAVELO                       TX     90010842626
36354359657335   TYLER        JAMES                        MO     90015563596
36354816591525   SERGIO       RODRIGUEZ                    TX     90001068165
36357418231424   MIA          CONEY                        MO     90014844182
36358356291891   DEANNA       ADAIR                        OK     90009033562
36361395241258   DARLENE      STAYMATES                    PA     51002423952
36363945891831   TEQUILA      FRANKLIN                     OK     90014759458
36364392391891   SHANIKA      DEAN                         OK     90013583923
36364944891584   DAVID        JOHNSON                      TX     90010959448
36366785341285   LOYD         ROBERT                       PA     51075267853
36367489961963   AYMEN        KIRKUKI                      CA     90003324899
36369358691584   TOMAS        GONZALEZ                     TX     90014583586
36369914431424   CLYDE        HAYES                        MO     90014789144
36371111655972   MARIA        DELGADO                      CA     90003741116
36373724761963   JESSICA      DELL                         CA     90013117247
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36374262351382   JOSE          ANDRADE                     OH     90011242623
36375964591891   ROSALYN       BROWN                       OK     90002619645
36376847841258   MICHAEL       TARBY                       PA     90011598478
36378697431424   GENE          RAYFORD                     MO     90014056974
36379164631424   LATISHA       JOHNSON                     MO     90014781646
36379392655951   ERICA         MARTINEZ                    CA     49057843926
36379931891232   JUSTIN        HINES                       GA     90011609318
36382531336143   EVA           GONE                        TX     73596525313
36382926231424   CRYSTAL       GLASS                       MO     90014789262
36383891455972   ALMA          ISAIS                       CA     90013818914
36384285391584   ROCIO         GARCIA                      TX     90013712853
36384312591891   SHANE         PITTS                       OK     90011863125
36384351841258   SHAWN         WRIGHT                      PA     90009673518
36384954131424   NAKISSIA      EVANS                       MO     90014789541
36385173361963   YESENIA       DURAN                       CA     90013101733
36385548341258   FELICIA       COLMAN                      PA     51060005483
36386233931424   AMANDA        COLBERT                     MO     90014782339
36388747541258   TIFFANY       JOHNSON                     PA     90002457475
36391327351339   ALEXANDER     RYAN                        OH     90010333273
36391374591831   RONNIE        FLICK                       OK     90013023745
36392281731424   NECHELL       ADAIL                       MO     90014782817
36394586751339   NATE          BOTTS                       OH     66001535867
36395668736143   BRIANNA       RODRIGUEZ                   TX     90011726687
36395796991525   GRACIELA      TERAN                       TX     75025157969
36398317231424   JOHNNY        DONELSON                    MO     90011123172
36399181161963   VALENCIA      JOHNSON                     CA     90015041811
36411285763625   KIM           KELLER                      MO     90010022857
36411965951382   FRANCISCO     VILLATORO                   OH     90006889659
36414149961963   ERIC          WHITAKER                    CA     90013951499
36414655255972   FELIPE        HOLGUIN                     CA     90004726552
36415573591891   DAVID         SWEARINGEN                  OK     90012085735
36415643955947   LUIS          MEZA                        CA     90011156439
36415956251339   DENISE        KERR                        OH     90001539562
36416193161963   DAVID         GONZALES                    CA     90003331931
36417846491584   PHIL          BROWN                       TX     90014748464
36418645291584   REBECCA       PAEZ                        TX     90011816452
36418982451339   TERRY         GOODE                       OH     90015079824
36419344255972   KELLY         FERGUSON                    CA     90012323442
36419664651339   CINDY         ROTH                        OH     90013776646
36419846491584   PHIL          BROWN                       TX     90014748464
36422295855972   TAMY          ROBINSON                    CA     48016822958
36423887861963   IRVIN         MCFARLIN                    CA     90000378878
36424153251392   DENNIS        TURNER                      OH     90012041532
36424418491831   OLGA          COWLEY                      OK     90005274184
36425125661474   AMONDAUX      DALTON                      OH     90014291256
36425569891891   CAROLYN       MAXWELL                     OK     90015315698
36426157361963   SAEED         WAAD                        CA     90013801573
36426231931424   BRENDA        HURSEY                      MO     27554942319
36426628451392   STACY         TURNER                      OH     90012146284
36426675791584   ADRIAN        LOERA                       TX     90011816757
36427519291232   LUQMAN        EL AMIN                     GA     14578755192
36427825991891   JIMMY         COOPER                      OK     21097928259
36428153251392   DENNIS        TURNER                      OH     90012041532
36428195691891   MORGAN        CLARK                       OK     90014661956
36429535931424   NEKEITA       FULTON                      MO     90013865359
36429672141285   STEVEN        JOHNSON                     PA     90009236721
36431792431424   RODERICK      HOLBROOK                    MO     27560587924
36433599161963   SYLVIA        GALVEZ                      CA     90014185991
36434668591891   STACY         ALLRED                      OK     90008316685
36435229255951   YOUN          POK                         CA     49016202292
36435418561963   OLNI          CALLAHAN                    CA     90003444185
36435928655972   ALICE MARIE   MARTINEZ                    CA     90015119286
36437574236143   HILDA         TAVARES                     TX     73503545742
36438175131424   PATRICIA      RICE                        MO     90007771751
36438426241285   ANDREA        HANNER                      PA     90007974262
36438919391891   WATTS         KAMISHA                     OK     90012849193
36441436361981   GEORGINA      BAUTISTA                    CA     90007534363
36442959531424   ALISHA        TAYLOR                      MO     27597179595
36443939655972   BRANDON       MONROY                      CA     90013639396
36445289761963   CASEY         LONG                        CA     90013952897
36445392255951   CHRISTINE     JAMES                       CA     49016203922
36446294155972   EMILY         DOMINGUEZ                   CA     90010922941
36446891755951   JONATHAN      ESPEJO                      CA     90011078917
36447169555939   DIEGO         CABRERA                     CA     90014951695
36448377991584   OMAR          JACABO                      TX     90006743779
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36449544831424   EPIPHANI      DALE                        MO     90014785448
36449927861963   JONATHAN      SAN AGUSTIN                 CA     90013649278
36452834531493   LATISHIA      BOLDEN                      MO     90012538345
36454333991584   LAURA         GINEZ                       TX     90013263339
36454752161963   ERIK          MORGAN                      CA     90012667521
36454971251382   JUAN          RIUZ                        OH     90005379712
36455443455972   ANGEL         REDONDO                     CA     90012524434
36456436855972   JESSICA       VALDEZ                      CA     90012204368
36457219261963   ANALEE        NARANJO                     CA     90008892192
36457977231424   MORGAN        JOHNSON                     MO     90014789772
36458181161963   VALENCIA      JOHNSON                     CA     90015041811
36458462155972   GRAMELIA      GARCIA                      CA     90013634621
36458735491584   MIGUEL        HERNANDEZ                   TX     90011817354
36458755886436   CHALVALIER    MARQUEE                     SC     90011167558
36458778351392   IVY           CLARK                       OH     90006877783
36459237836143   ARKEIA        ALEYANDER                   TX     90003622378
36461362961963   ALMA          CARRILLO                    CA     90013953629
36462283657138   ANA           ROLDAN                      VA     90008812836
36462363661963   GLORIA        OCEGUERA                    CA     90013953636
36464452155979   BRENDA        PINEDA                      CA     90005014521
36467589341285   STEVEN        ROSS                        PA     90013315893
36468253184368   CLAUDE        MCELVEEN                    SC     14582232531
36468797231629   BONNIE        AHLSTEDT                    KS     90006427972
36471717477584   MAXIMILIANO   FARIAS                      NV     90006267174
36472562657173   STEPHANIE     VERGARA                     VA     90012975626
36473286791584   CORONELL      ROBERT                      TX     90008492867
36473868591831   HARRY         SIMMONS                     OK     90013118685
36474657751339   JASON         LOVILL                      OH     90010666577
36474913155972   MISAEL        RAMIREZ                     CA     90012629131
36476198491584   JUAN          CARREON                     TX     75036171984
36476352351339   LISA          BROWN                       OH     90008103523
36477398455972   MAURA         CUELLAR                     CA     48060573984
36477619157569   BRYAN         WESTON                      NM     90015156191
36478371351339   JAMES         KNISLEY                     OH     90014573713
36478514791831   NA SASHA      MOORE                       OK     90011715147
36479168441258   ASHLEY        RUEA                        PA     90009941684
36479282155939   BLANCA        GUTIERREZ                   CA     49059222821
36479361651339   ELIZABETH     INGRAM                      OH     90006663616
36479975791891   CYNTHIA       WILSON                      OK     90015209757
36481462191584   IVONNE        DIAZ                        TX     75064114621
36484861791584   EZEQUIEL      DELARIVA                    TX     90014748617
36485984655951   RICHARD       GARCIA                      CA     90012269846
36486789291584   ESTHER        MONTOYA                     TX     90011817892
36486851991891   KERI          GIBSON                      OK     90014508519
36486877191232   RICARDO       PEREZ III                   GA     14591708771
36486957991232   RICARDO       PEREZ III                   GA     90014669579
36487345741258   RAYMOND       SCHRELLO                    PA     51011793457
36487438691891   LYNN          SOLBACH                     OK     90012584386
36487694541285   CRAIG         ROMAIN                      PA     90013606945
36488531131424   BERNARD       JOYNER                      MO     90015205311
36489522741285   SUNBEAR       COE                         PA     90010785227
36491243861984   JORGE         BARRIGA                     CA     90010602438
36492426491584   MARISOL       ARIAS                       TX     90000764264
36493544393761   ELONDA        DANCE                       OH     90006025443
36494438251382   JILL          BIERMAN                     OH     66097874382
36497438251382   JILL          BIERMAN                     OH     66097874382
36498972536143   MARIA         HERNADEZ                    TX     73573319725
36511779155972   LUIS          MARQUEZ                     CA     90007927791
36513249451339   JESSICA       CAMPBELL                    OH     90013012494
36513668941285   ELIZABETH     DOYLE                       PA     51025496689
36515853736143   JOE           GARCIA                      TX     73533328537
36515922291831   DARREN        JONES                       OK     90009789222
36517276691831   JEREMY        SMITH                       OK     90015182766
36517634155972   CHRISTINA     NUNEZ                       CA     48042946341
36517911236143   THERESA       GALLEGOS                    TX     90011789112
36518565751382   DIEGO         CEBALLOS                    OH     90006905657
36519832891584   RAMIREZ       AJ                          TX     90011818328
36524781161963   ALYSON        MCCREERY                    CA     46048987811
36525498691831   ORIELLE       WASHINGTON                  OK     90014814986
36525785141285   JANAYA        PEOPLES                     PA     90013837851
36526536561963   MICHAEL       TACTAY                      CA     90013955365
36527749361963   OSCAR         AMADOR                      CA     90014187493
36528537655972   MARIA         DEORIJEL                    CA     90010255376
36529746691561   ELSA          SOLIS                       TX     90009907466
36531785841258   NATHAN        KISZER                      PA     90014247858
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36534742991831   TIFFANI       GERMANY                     OK     90014417429
36535799991831   ALEJANDRO     GUAJANDRO                   OK     90000897999
36539319851339   MALLORY       BLAIR                       OH     90012743198
36539495231424   SHAYLA        BUCKLEY                     MO     90002614952
36539868686524   BARRY         GOSNELL                     TN     90014648686
36541545691831   MIGUEL        ARREOLA                     OK     90012905456
36541856951339   BRIAN         TAULDEE                     OH     90011578569
36541972551339   JUSTIN        CARTER                      OH     90014379725
36542114351359   JESUS         JACINTO                     OH     90013331143
36544298255972   VICTORIA      TORRES                      CA     90013302982
36545517955972   SAMANTHA      HINTZ                       CA     90013035179
36546127151339   ANDREA        LATIMORE                    OH     90014711271
36546421151339   ANDREA        LATIMORE                    OH     90002924211
36547538851347   DYLAN         CONN                        OH     66087475388
36548932161986   ROBERTO       CRUZ                        CA     46080849321
36549697391891   MICHEAL       YOUNG                       OK     21096126973
36553157285966   SHELLEY       JETT                        OH     90010671572
36554999761963   KORFO         LEMI                        CA     90002319997
36556585791831   BENJI         ROWE                        OK     90003215857
36557337241285   FRANK         LAGANA                      PA     90004693372
36557687491891   COLBY         ALEXANDER                   OK     90013826874
36558131691891   BREANNA       JONES                       OK     90003301316
36558972991584   ERNESTO       MORALES                     TX     90001149729
36559891236143   MIRIAM        RAMOS                       TX     73526318912
36561154591584   EDUARDO       ALCANTARA                   TX     90010511545
36562766691891   MAURICE       WHITE                       OK     90011307666
36563195631424   LATARI        HARROLD                     MO     90014791956
36565369755951   LOURDES       SALTO                       CA     90007303697
36565434291891   FRED          OLIVER                      OK     90013124342
36566465155972   ANGELA        RODRIGUEZ                   CA     48000304651
36567396191584   ROSARIO       LARA                        NM     90003193961
36568164651339   DEANNA        MICHELLE                    OH     90005981646
36568352755972   CHRISTINE     ROSADO                      CA     90013183527
36568787461963   ALEX          LOPEZ                       CA     90014187874
36568972341285   WILLIAM       KABLACH                     PA     51036299723
36569466361963   ANGELO        CAUDLE                      CA     90011654663
36571134984326   LESLIE        GANT                        SC     90006091349
36572791661963   ANNA          LOPEZ                       CA     90014187916
36573643751382   MELVIN        JONES                       OH     90002446437
36574779391831   BLANCA        ARREOLA                     OK     21081957793
36576132251339   DAVID         HELTON                      OH     90006331322
36576986155972   STEFANI       SHELER                      CA     90009679861
36577315655951   MARISELA      GUITERREZ                   CA     90010593156
36577612485921   LATASHA       WRAY                        KY     90014986124
36578244131424   NICHOLAS      HOFFMEISTER                 MO     90014792441
36578327491584   CESAR         GARCIA                      TX     90014773274
36579165161963   DOMINIC       CARRANZA                    CA     90013161651
36579473255972   CYNTHIA       CONLIN                      CA     48089774732
36582198741258   VICTORIA      MCGINNIS                    PA     51061971987
36582878441285   ERIC          LIPPERT                     PA     51039458784
36585385377359   ARTURO        ARZATE BUSTOS               IL     90012503853
36585955761963   SHAWNA        GARCIA                      CA     46021849557
36586681936143   MANUEL        VALADEZ                     TX     90006936819
36586889783288   ANGEL         PATTON                      TX     90014028897
36587678791891   JANE          MILLER                      OK     21056036787
36589132251339   DAVID         HELTON                      OH     90006331322
36589642261963   DANIELLE      DUNCAN                      CA     90011656422
36593225961963   EDEN          PONCE                       CA     90013682259
36594142931424   DONNA         CHAMBERS                    MO     90011071429
36594332691584   MARTHA        CORREA                      TX     90014773326
36594884351339   RODNEY        MITCHELL                    KY     66047448843
36595173161927   CLAUDIA       GOMEZ                       CA     90012041731
36597678184351   JOSE          CARREDANO                   SC     90010956781
36598183731432   ZACHARY       KELPE                       MO     90004001837
36598256836143   AMANDA        ZUNIGA                      TX     73514462568
36599215391891   KARILYN       ROBBINS                     OK     90011482153
36599446655951   FATIMA        GUTIERREZ                   CA     90010554466
36611229751339   NICHOLAS      MILLER                      OH     90014502297
36611767651382   CARLA         COLE                        OH     90012687676
36612521491584   NIDIA         CALDERON                    TX     90014765214
36612576481557   THOMAS        JONES                       IL     90012855764
36612887455951   SAUL          SERRANO                     CA     49062698874
36613786991584   YULMA CORAL   ALVAREZ                     TX     90013067869
36613853736143   JOE           GARCIA                      TX     73533328537
36614781925621   KENNY         WORTHEY                     AL     90014517819
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36616521591584   YANET           MONTOYA                   TX     90014765215
36616876851382   TRACY           HENSLEY                   OH     90009928768
36619352851339   CANDY           COLLINS                   OH     66039993528
36619525191584   VICTOR          FARN                      TX     90014765251
36621558291975   DANIELA         OREA                      NC     90013305582
36622525191584   VICTOR          FARN                      TX     90014765251
36623224841285   DERRIAN         SLOAN                     PA     90014102248
36623525191584   VICTOR          FARN                      TX     90014765251
36623993661963   KENIA           CANTELLANO                CA     90013969936
36624455255972   EDITH           GONZALEZ                  CA     90009924552
36624525191584   VICTOR          FARN                      TX     90014765251
36625525191584   VICTOR          FARN                      TX     90014765251
36628952393761   ANITA           HEMMING                   OH     90003559523
36629218641258   BENJAMIN        MORALES                   PA     90010562186
36629948855972   FRANSICO        MUNEZ                     CA     90007809488
36631111361963   GABRIELA        ARENAS                    CA     90013971113
36631796741285   CHRISTY         BLOOMER                   PA     51068047967
36632561955972   ALJEANDRA       MARTINEZ                  CA     90013965619
36634947855972   ALEJANDRA       PADILLA                   CA     90015059478
36635177955951   DONALD          SANCHEZ                   CA     49023221779
36635646591584   JOSE            RIVAS                     TX     90011826465
36636589341285   STEVEN          ROSS                      PA     90013315893
36636764257126   LOURDES IRENE   GARCIA                    VA     90003217642
36637375241285   JAMIE           SCHNEIDER                 PA     90008723752
36637589591584   GUADALUPE       MARTINEZ                  TX     90010735895
36644453631424   CARLA           JOHNSON                   MO     90014794536
36644776461963   MAEEK           BUTRUS                    CA     90008077764
36645473991584   ROBERTO         RIVAS                     TX     90014624739
36648767961963   JOHN            BAILEY                    CA     90014947679
36651873761963   JENNIFER        MCINTOSH                  CA     90010698737
36652575555972   HELEN           SALINAS                   CA     90013965755
36652813351339   REBECCA         LEACH                     OH     90006708133
36653879831424   CASSANDRA       CLEMENT                   MO     90014858798
36654833691831   CAMERON         HENDRICK                  OK     90014598336
36655679361963   GINA            LERMAMATEO                CA     90008046793
36658118731424   EUYLAN          WELCH                     MO     27558551187
36663148891584   MARTIN          AVILA                     TX     90011821488
36663414955957   BERTHA          HERNANDEZ                 CA     90010734149
36664928255972   ALOUNEE         SEE                       CA     90007389282
36665223851339   LATASHA         HOOKS                     OH     90013912238
36667918691831   BOOKER          HURTE                     OK     90014419186
36668236872441   CLAUDETTE       HOLIK                     PA     51015282368
36668526341258   ANGEL           ESCALONA                  PA     51030645263
36668936991891   CRYSTAL         RILEY                     OK     90014369369
36669626961963   TAYLOR          HUNT                      CA     90011666269
36669737641258   ETHEL           RICHIE                    PA     51084897376
36671452354195   JOHN            BREITMEYER                OR     90005684523
36674629161963   JEANETH         ECHON                     CA     90011666291
36676568351339   ILIANNY         RODRIGUEZ                 OH     90011355683
36678931155972   ANGELA          CHAVEZ                    CA     48087759311
36681298451594   MEBRAT          TADESE                    IA     90012462984
36682642931424   MONICA          HINDSMAN                  MO     90008356429
36683669941285   RONALD          ARLOTT                    PA     90010776699
36684477491831   ZELLAREE        VANN                      OK     90010264774
36685183731424   ZACHARY         KELPE                     MO     90004001837
36685512655951   LOPEZ           ADRIANA                   CA     90005785126
36685683991831   ANDREW          BROWN                     OK     90005316839
36685938555972   JUAN            MELENDEZ                  CA     48095469385
36685957591891   ANTONIA         CAMACHO                   OK     21057109575
36687411241258   DARLENE         JACKSON                   PA     51021924112
36687497155951   LORY            TORREZ                    CA     90004544971
36689344141285   ROB             MALONE                    PA     51064973441
36692773455972   ROGER           WHITFIELD                 CA     90012887734
36694296455972   JOSE            ZAPEDA                    CA     90014232964
36695518151339   ANDREW          GENTRY                    OH     90013005181
36695651891584   AIDA            PARDO                     TX     90010556518
36695777631424   JESSICA         HOLMES                    MO     27578337776
36697524181667   MARTA           KIFLE                     MO     90006365241
36697992951382   SHIELAH         SMITH                     OH     90011279929
36699171355957   DANIEL          RODRIGUEZ                 CA     90010741713
36699889741285   BREANNE         MAZZA                     PA     90015228897
36711584251339   STEPHANIE       ADKINS                    OH     90013065842
36711842871996   BONNIE          MOON-WALKER               CO     90013628428
36712843355951   ANTONIO         HERNANDEZ                 CA     90011518433
36713217391891   TINA            THOMAS                    OK     90012262173
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36713688861963   JORGE        HERNANDEZ                    CA     90010336888
36714579491891   WENDY        PENNEY                       OK     90011115794
36715637355951   RICARDO      ESCALERA                     CA     49077306373
36719117451339   MIRELYS      TORRES                       OH     90013371174
36719368991891   LARRY        MOORE                        OK     90013083689
36721266331424   BRADLEY      AUBUCHON                     MO     90014362663
36723578191584   CARLOS       RAMIREZ                      TX     90014765781
36723643591891   JOSEPH       LINDSEY                      OK     21046996435
36724184341258   KEVIN        KEENAN                       PA     90005091843
36724582891584   STEPHANIE    JAZQUEZ                      TX     90014765828
36724676755972   SHANNON      JONES                        CA     90012116767
36724971941285   TILMON       MOYE                         PA     51039469719
36725245191891   DIANNA       MANNS                        OK     90014802451
36727432155972   YOLANDA      HARROUN                      CA     48061664321
36728526155972   MOISES       ZARAGOZA                     CA     90013565261
36729817341285   RAY          PATTERSON                    PA     90013628173
36733241591396   JEROD        JACKSON                      KS     29095982415
36734128371924   KIM          HHOWARD                      CO     32092411283
36734645855972   SERGIO       PALOMERA                     CA     90011726458
36736352654154   CARRIE       RICHARDSON                   OR     90014093526
36737655431424   CARVELL      HOUSTON                      MO     90001106554
36739698491891   NATASHA      PERRY                        OK     90010516984
36741557291831   JESUS        MOLINA                       OK     90011725572
36742247133638   KATIE        ATTON                        NC     12020762471
36744113461963   EXXIEANN     CORTES                       CA     90014821134
36744387291891   ALAN         PERRY                        OK     90010523872
36748147251339   DOUG         MATHIS                       OH     90010481472
36749981861963   SAAD         MATTI                        CA     90014839818
36751383991891   TAMMY        GILLENWATER                  OK     90010533839
36752217551382   AMANDA       LEECE                        OH     90012602175
36754275991584   LILIA        OCHOA                        TX     90011822759
36754342451382   LINSEY       PATTERSON                    KY     66096293424
36754429441285   MARY         HALL                         PA     51065894294
36756139555972   JAVIER       CHAVEZ                       CA     90014831395
36756782555972   HECTOR       MANZO                        CA     90012887825
36756981861963   SAAD         MATTI                        CA     90014839818
36757198155972   JESSE R      GALEANA                      CA     90010691981
36759362651339   LEAH         AGINS                        OH     90002913626
36761674255972   MARTHA       PEREZ                        CA     90000606742
36762732141285   TINA         JARACZ                       PA     90000227321
36763315491831   NORBERTO     BANOS                        OK     21008713154
36763339461963   LEAH         DURBIN                       CA     90011513394
36765523231424   DAVIDSON     MERRIWEATHER                 MO     90014865232
36767532631424   SHARON       COLEMAN                      MO     90014865326
36768433991584   HEBER        SANCHEZ                      TX     90010424339
36769237541258   COREY        HAZELBECK                    PA     90014242375
36772311991584   NONIE        MENDEZ                       TX     90011823119
36772899961963   JESSICA      MCGRAW                       CA     90011688999
36773128371924   KIM          HHOWARD                      CO     32092411283
36773257492853   JULIAN       VILLA                        AZ     90015412574
36774346591584   VICTOR       OCHOA                        TX     90010453465
36776156741285   KEVIN        BARNETT                      PA     51084291567
36776477861963   RODRIGO      OCAPMO                       CA     90002324778
36776753991584   ARMIDA       NUNEZ                        TX     90008017539
36776894851339   JAMES        FLETCHER                     OH     90008328948
36779566731424   ALENE        MARTIN                       MO     90014865667
36781979955972   TOMAS        QUIJANO                      CA     90010249799
36782935791891   MARISELA     YEBRA                        OK     21088679357
36784247441258   MARTIN       HARP                         PA     90014242474
36784828591587   IVAN         PUENTES                      TX     90007318285
36785665291831   NIANG        DOPMUI                       OK     90014466652
36786339291584   LLOANA       VIRRUETA                     TX     90011823392
36786714155951   CHEYENNE     VARELA                       CA     90011557141
36787675591584   ELIZABETH    HERNANDEZ                    TX     90014156755
36792962341285   BETTY        ROSE                         PA     90014529623
36793349991584   ADRIAN       RETANA SOLORIO               TX     90014773499
36793897731424   TAMIKA       TURNBOW                      MO     90014708977
36794352755972   CHRISTINE    ROSADO                       CA     90013183527
36794835655951   MAURICE      KELLY                        CA     90005428356
36795631161963   MAURICE      DELA                         CA     90004286311
36795865951339   TONYA        WILLIS                       OH     66010128659
36796211861963   HUGO         MARTINEZ HERRERA             CA     90002122118
36796523291831   MELISSA      ALBUS                        OK     21006205232
36797457151339   TYSON        SCHAUER                      OH     90014664571
36797647191232   ELIZABETH    PARE                         GA     14587276471
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36798355336143   MARIECELLA   DELEON                       TX     90000943553
36799376951339   PRESTON      HAINES                       OH     90011543769
36799563391891   MEGAN        NEWTON                       OK     90014845633
36799766291831   KODY         HARRIS                       OK     90011727662
36799858151382   CHRISTINE    THOMAS                       OH     90009018581
36811367491831   AMANDA       JOHNSON                      OK     90008103674
36812431261925   SCOTT        SALUS                        CA     46002214312
36812798751382   RICHARD      ALLEN                        OH     90014827987
36813139955951   OMAR         VENEGAS                      CA     90003271399
36813395391584   MONICA       BURCIAGA                     TX     90014773953
36813785255962   JENNIFER     GUTIERREZ                    CA     48008837852
36814553891584   VICENTE      CRUZ                         TX     90005145538
36814616791831   MARIAH       SCRAPER                      OK     21079776167
36815318451382   MARTEZ       MARSHALL                     OH     66097933184
36817395751325   GAYLE        COLVIN                       OH     66052013957
36821872191831   ADRIAN       DIAZ                         OK     90011728721
36822862891584   ARMANDO      OCHOA                        TX     90015228628
36824762291831   CARLA        THOMAS                       OK     90014467622
36825298355972   ALFREDO      MENDOZA                      CA     90001862983
36825911991831   RICHARD      KELLEY                       OK     90009509119
36826188991891   SARAH        ARMSTRONG                    OK     90014791889
36827532141258   THOMAS       EICHERT                      PA     90011215321
36828627391891   JEAN         MARTIN                       OK     90012336273
36828875161963   MARIA        GRANDE                       CA     46001558751
36828958751339   MICHELLE     ALBERTSON                    OH     90012099587
36829173351382   KRISTIN      THOMAS                       OH     66049831733
36829581531424   RENNE        HOLMES                       MO     90009515815
36831688991584   CARMEN       MEDRANO                      TX     90009726889
36831849351339   SHERRY       FUGATE                       OH     90002288493
36833338951339   DONALD       ELAM                         OH     90012323389
36833813791831   KAYLA        BROWN                        OK     90012388137
36835152131424   CHRIS        BOWMAN                       MO     27594491521
36835675141285   ASHLEY       MATHIS                       PA     90011136751
36836762155927   ALICE        CANO                         CA     90011907621
36837596491584   CYHTHIA      CORDOVA                      TX     75071795964
36837989755972   BEATRICE     GARCIA                       CA     90003969897
36838197961963   LUAY         KURKEES                      CA     90014891979
36838371791831   KALEE        CHRISTENSEN                  OK     90008193717
36841498661963   DEBRA        GRAHAM                       CA     90009944986
36841747681681   JASON        BARTON                       MO     90004087476
36841888191584   REBECA       CALDERON                     TX     90010728881
36841937651339   ROBERT       WEIMER                       OH     66016009376
36843397491584   BOBBY        MORALES                      TX     75047813974
36843789238531   CHRISTIAN    YOUNG                        UT     90012317892
36846245491584   VIAHNEY      CHAVEZ                       TX     90013022454
36847493191584   JESUS        GURROLA                      TX     90014774931
36848142191584   VANESSA      CASTORENA                    TX     75023401421
36848541141258   JOHN         FINNEGAN                     PA     51013955411
36848787591584   ANTONIO      ALVAREZ                      TX     90013067875
36849857531424   BARREN       BOYCE                        MO     90014868575
36854211741258   WAYNE        GORDON                       PA     51007282117
36855259961963   ROBERT       FLANAGAN                     CA     46084762599
36855316355972   ANGELICA     GONZALEZ                     CA     90004753163
36856425991831   ANGELA       WILLIAMS                     OK     90009214259
36858426391584   JUSTIN       FIFER                        TX     90014774263
36858461551339   BILLY        RUSSELL                      OH     90010704615
36861157361963   SAEED        WAAD                         CA     90013801573
36861463461963   ALBERTO      PEREZ                        CA     90014904634
36861987831424   CHRITINA     RODGERS                      MO     90008959878
36862484555972   DIVINA       NAVARRETTE                   CA     48076904845
36863463461963   ALBERTO      PEREZ                        CA     90014904634
36866426161963   AMILIA       RESENDEZ                     CA     90009674261
36867193851339   TODD         CURRIER                      OH     90010541938
36867745591537   BRIAN        REYES                        TX     75029297455
36869297477523   ELIZABETH    RUIZ                         NV     43024582974
36869697991831   SHAYLA       JACKSON                      OK     90007476979
36871656741258   LISA         ANTKIEWICZ                   PA     90002846567
36872418355951   IVETTE       VARGAS                       CA     90003274183
36872913751363   VICKIE       SHEETS                       OH     90009639137
36872935631424   MONICA       ANDREWS                      MO     90014869356
36873543751339   ERIN         PERCIFULL                    OH     66000255437
36873647593785   TESSIE       BECKNER                      OH     90011956475
36874351841258   SAMANTHA     BUCK                         PA     90014243518
36874975961963   MICHAEL      QUINN                        CA     90006839759
36875249855972   ISRAEL       CHAVEZ                       CA     90010692498
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36875339385841   JAIME        RIVERA                       CA     90003873393
36876979131424   ARVELL       CONEY                        MO     90014869791
36877578641285   LATOIA       COLLIER                      PA     51060795786
36878949455972   DAVID        SANCHEZ                      CA     90015059494
36881267855927   LIZBET       PADRON                       CA     90010132678
36881445191891   COLLIN       SWANAGAN                     OK     90013234451
36883692155972   HOPE         URIAS                        CA     90013996921
36883967391584   DIANA        HOLGUIN                      TX     90006139673
36884983655951   ESTEBAN      ARCHAN                       CA     90005679836
36885744355972   SERENA       LEYVA                        CA     48079627443
36886637755951   RUBEN        MARQUEZ                      CA     90010426377
36886692961963   ROLANDO      ESPINOZA                     CA     90004406929
36887821391891   NELSON       HUNT                         OK     90011008213
36889138691891   CHRISTIAN    CALABAZA                     OK     90011011386
36891974391584   CLAUDIA      FELIX                        TX     90011079743
36894599655972   MICHELLE     SCHOETTGEN                   CA     90012995996
36895257155972   ADELA        DELMASO                      CA     90013482571
36895457791891   CHARITY      CHRISTWELL                   OK     90011034577
36896662751339   JUAN         FLORES                       OH     90015086627
36898272947931   DAVID        PUGH                         AR     25050132729
36898794791584   NORMA        MARTINEZ                     TX     90012447947
36899661591891   JAMES        STIMMEL                      OK     90011036615
36911841655972   JORGE        FERNANDEZ                    CA     90015218416
36912126855951   KELLIE       PAYNE                        CA     90010501268
36912138851339   BOBBY        CORNETT                      OH     90011531388
36912418691537   AMY          MUGG                         TX     90007724186
36915593191584   MARIA        ELIZALDE                     TX     90014775931
36916897751382   TERRY        MCNAMARA                     OH     66098328977
36919748231424   TORRY        WILLIAMS                     MO     90010027482
36921499391584   VIOLETA      VALDEZ                       TX     90014774993
36921736751329   ASHLEY       YOUNG                        OH     90013187367
36922977391584   JAIME        SIFUENTES                    TX     75045549773
36923218631424   PAYGO        IVR ACTIVATION               MO     90014872186
36924221741285   FELICIA      DEGREE                       PA     90012832217
36924247841285   JOSH         BOONE                        PA     90015522478
36927499691831   CLAUDIA      JIMENEZ                      OK     90011734996
36931639591831   ANGELIQUE    ANDERSON                     OK     21004366395
36932635391584   MARIA        DE LOS ANGELES               TX     90013606353
36932732641285   MYA          ARTHUR                       PA     90010777326
36933145241285   ARMANDO      GARCIA                       PA     90012111452
36934187357123   FIDEL        RODRIGUEZ                    VA     90006401873
36935942851339   DAVID        HATTON                       OH     90010729428
36936213155972   VICTOR       RODRIGUEZ                    CA     90001082131
36938734291584   LOURDES      RIOS                         TX     75053547342
36938973157172   SAMUEL       DOGBY                        VA     81074089731
36941397361963   MINDIE       LUNDY                        CA     90015043973
36941545731586   ZACHERY      MCACTIVATION                 NY     90014825457
36943681455947   TRECHIA      HOUSER                       CA     90010886814
36944944141285   JAYMAH       HARTAGE                      PA     90015219441
36945362851339   GARY         THOMPSON                     OH     66088173628
36947958591584   OSCAR        CHAVEZ                       TX     90011829585
36948541281667   LORENA       JOHNSON                      MO     90006945412
36948733761963   MARTIN       RUIZ                         CA     90015047337
36949253391584   MAGDALENA    IGLESIAS                     TX     75072642533
36951869841258   TIFFANY      BARBER                       PA     90014248698
36952216691584   MANUEL       COHETO                       TX     90013912166
36953491861963   SIMON        HUBBLE                       CA     90004424918
36954766551339   SHERRY       BACKER                       OH     90004237665
36955189241285   JEFFREY      EDDER                        PA     51005451892
36955433351382   ALIYAH       HAWKINS                      OH     66090374333
36955848231424   EPONY        SNEED                        MO     90001028482
36956321191972   JENNY        PERRY ESTRADA                NC     90012983211
36957624531424   RAMANU       MOHAMMED                     MO     27518396245
36958774751339   ESTRADA      YESENIA                      OH     66052617747
36959221751339   BRITTANY     SMITH                        OH     90009692217
36959747561963   JUDITH       FIEDLER                      CA     90015047475
36962662355972   LUPITA       DE ANDA                      CA     90008976623
36963164471996   MICHAEL      SMITH                        CO     90014271644
36963164751339   JAMES        COBY                         OH     90013601647
36964537155972   MELISSA      GUTIERREZ                    CA     48021985371
36965232591831   MARK         WELLS                        OK     90015202325
36965255851339   CARLA        WEBB                         OH     90014642558
36967232491891   ASHLEY       BOYKINS                      OK     90014712324
36967786155972   GABINO       CHAVEZ                       CA     90014167861
36968294391584   DORA         ROBLES                       TX     90005392943
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36969294391584   DORA         ROBLES                       TX     90005392943
36969656831424   KENNETH      COX                          MO     90011076568
36972164471996   MICHAEL      SMITH                        CO     90014271644
36972586251339   VICTORIA     SMITH                        OH     90014545862
36972617291891   BRIAN        JOHNSON                      OK     90011136172
36973577191584   JAIME        TORRES                       TX     75088475771
36973931831424   ANDREA       POWELL                       MO     90009579318
36974258941297   HAROLD       MICHAELS                     PA     90003652589
36974517751339   MARCUS       CASH                         OH     90014575177
36975471561963   SANI         MAROOKI                      CA     90004964715
36975645261986   GUILLERMO    DOMINGUEZ                    CA     90012166452
36975665291584   ESTELA       FLORES                       TX     90014076652
36977246851382   MERT         BECKER                       OH     90007102468
36977282491831   KIM          HURLEY                       OK     90003232824
36977338951339   DONALD       ELAM                         OH     90012323389
36977517491584   FRANCISCO    JARQUIN                      TX     90014775174
36978242741258   PETER        HESS                         PA     51045972427
36979282491831   KIM          HURLEY                       OK     90003232824
36979881941258   DENNIS       LAWSON                       PA     51067648819
36981424555972   CHERELLE     FINLEY                       CA     90009334245
36987758155972   BRYAN        SCHAPPER                     NV     90013867581
36987774751339   ESTRADA      YESENIA                      OH     66052617747
36988263151339   MICHAEL      BURKE                        OH     90004242631
36991294151339   BRITTANI     GENTRY                       OH     90004242941
36991424731424   NATASHA      JACKSON                      MO     90014874247
36992511991891   LISA         HANSON                       OK     90013535119
36996163751339   ASHLEY       EVERIDGE                     OH     90014391637
36997328841285   DONTE        WILLIAMSON                   PA     90012523288
36997528891584   LUIS         TOVAR                        TX     90014775288
36999458851339   AMY          HITCHCOCK                    OH     90004244588
37111237655951   JOVITA       PRIDGEON                     CA     90012942376
37111726391395   BECKY        MANCHION                     KS     90007597263
37112336531424   MONTELL      GUNN                         MO     90014213365
37112751791831   KEVIN        SERNA                        OK     90012787517
37113789891584   RAQUEL       CAMACHO                      NM     90013967898
37114212741285   MAXINE       BEATTY                       PA     90011202127
37116272291578   LIZET        HERNANDEZ                    TX     75013652722
37116283484334   SARAH        HOLMES                       SC     90004222834
37116642191584   JESUS        MALDONADO                    TX     90013226421
37117361491584   ARMANDO      BETANCOURT                   TX     75087703614
37119375391893   RUSSELL      BARNETT                      OK     90013553753
37121257891584   WHITNEY      RIOS                         TX     90011222578
37122187941258   FRAN         WEAVER                       PA     51032351879
37122436255964   GONZALO      RIVERA                       CA     90012444362
37122862691893   MIGUEL       ROJO                         OK     90009608626
37124655755972   FELICIA      BROWN                        CA     90015156557
37126311673221   AILEEN       ACOSTA                       NJ     90014073116
37126377741285   CANDICE      PERCHMAN                     PA     51076293777
37126521291893   AURTHER      DAVIS                        OK     21034655212
37126853555972   CHRIS        LOPEZ                        CA     90012928535
37129125191831   BRANDON      COAKLEY                      OK     90015351251
37129632291584   ADRIANA      RENTERIA                     TX     75032806322
37136231141285   CARMEN       JORDAN                       PA     51080782311
37136639455951   AMALIA       GRADY                        CA     90012446394
37136748531424   TIFFANY      WALLER                       MO     90004407485
37136852655972   KHAM         SEECHAN                      CA     90013978526
37137596991584   EVELYN       GUERRA                       TX     75061845969
37138258685837   KEITH        QUARTERMAN                   CA     90011842586
37138387655972   MARC         MILLS                        CA     90013833876
37138848741258   JOE          MAZZOCCHETTI                 PA     90012128487
37141446991893   ASHLEY       WYNN                         OK     90013554469
37141746291584   EUGENIA      LONGORIA                     TX     90012727462
37143711133682   CHRISTIAN    DUMAS                        NC     90014087111
37145552491584   HECTOR       JURADO                       TX     90007565524
37146472191893   KENDRA       THOMPSON                     OK     90013554721
37148184891584   SONIA        CARRASCO                     TX     90002391848
37149884691584   OMAR         ESCALONA                     TX     90014838846
37151349541285   THOMAS       WRIGHT                       PA     51070083495
37152591755972   ALEXIS       TORRES                       CA     90013885917
37152837441285   ARDRETTA     SCOTT                        PA     90014568374
37152857561921   LEONEL       MARTINEZ                     CA     90012048575
37154343291584   MARINA       DELGADO                      TX     90011223432
37154522791893   HEATHER      HARTLEY                      OK     90013555227
37156721891893   TAMIRA       AUGUSTINE                    OK     90014917218
37156897691831   FRED         MCCOMBS                      OK     21072788976
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37158288155972   LORNA           FINDER-SHILTS             CA     48048952881
37161117984345   KEVIN           BRANHAM                   SC     90014091179
37164576791584   YOLANDA         SIMENTAL                  TX     90002145767
37165559591831   ANTHONY         TEYON                     OK     90013695595
37171493191831   FELICIA         GRAY                      OK     90013074931
37175332491232   HASAN           PROCTOR                   GA     90011053324
37178934655972   ALONDRA         MARTINEZ                  CA     48054759346
37179289155951   ANTONIO         PALESTINA                 CA     49062892891
37179713291893   EVELYN          LANDAVERD                 OK     90013557132
37182379891584   FIDEL           URIBE                     TX     90011223798
37182461455972   GUADALUPE       ORTEGA                    CA     90011624614
37183385557139   LEYDI BEATRIZ   MENDEZ                    VA     90011673855
37184964397126   MAYRA           SERNA                     OR     90008679643
37185339591831   CLAYTON         JOHNSON                   OK     90011003395
37186963555951   CHRIS           ROBBINS                   CA     49031229635
37187771431494   LAVERNE         ROBINSON                  MO     90015017714
37187792891893   KELLI           BURCH                     OK     90013557928
37189344141285   ROB             MALONE                    PA     51064973441
37192661771955   TORIBIO         MARTINEZ                  CO     90010956617
37195866291831   WHITNEYY        SORTORE                   OK     90013648662
37197996931424   PAUL            OLSON                     MO     90012299969
37198958391893   LUCIANA         VEGA                      OK     90013559583
37199883731424   KATHERINE       VENTURA                   MO     27596598837
37212935981557   DANIEL          LAFEVERS                  IL     90013069359
37213135277357   MARC            BATES                     IL     90010191352
37213397472495   NICK            ROSA                      PA     51010423974
37215943655951   LORI            ZUNIGA                    CA     49039149436
37219291641258   SARAH           GOLEM                     PA     51096942916
37223314455972   AUGUSTIN        PENA                      CA     90013833144
37226675391831   ARNOLD          CORTEZ                    OK     90015106753
37227229891893   SHAINA          PENNINGTON                OK     90013562298
37227551751321   ANTHONY         JOHNSON                   OH     66074155517
37227777451382   ALEXANDER       DECALUWE                  OH     66094497774
37228129741285   TAMMY           ADAMS                     PA     51040351297
37228791992853   MELLANIE        COMBEST                   AZ     90014017919
37231232591584   ROBERTO         CASTILLO                  TX     90004942325
37231639641258   KELLY           DAVIS                     PA     90013316396
37231642355951   GINA            SWEARINGTON               CA     90001636423
37232683757126   DEJA            BROWN                     VA     90001876837
37234795231424   BRITTANY        BRECKENRIDGE              MO     90013307952
37235416791893   VALACE          SANDERS                   OK     90015214167
37236151191831   STEPHANIE       TULSA                     OK     21075941511
37236276155951   OLIVIA          ABARCA                    CA     90012942761
37238667591893   MIKE            PRINCE                    OK     90014936675
37239489741258   JOHN            MAINOLFI                  PA     51036314897
37239853691584   JASON           PEREZ                     TX     90002918536
37242434741258   DEON            BENTON                    PA     90013554347
37242998155972   VANESSA         RODRIGUEZ                 CA     48005169981
37244861454151   BREAN           ZARATE                    OR     90010348614
37246885491584   NANCY           CARRERA                   TX     90014838854
37248885491584   NANCY           CARRERA                   TX     90014838854
37249429231424   CHARLES         ROBINSON                  MO     90011924292
37251287791935   ANYA            MCGILVEARY                NC     90014902877
37251484791584   REBBA           LEGE                      TX     90010484847
37251731841285   JERRI           JONES                     PA     51093937318
37251885491584   NANCY           CARRERA                   TX     90014838854
37252893991584   ADRIAN          ZAPIEN                    TX     90014838939
37254893991584   ADRIAN          ZAPIEN                    TX     90014838939
37255771741285   C WEBB          JACKSON                   PA     90013617717
37257331491584   MIRIAM          OLIVARES                  TX     90006393314
37258352991584   EDUARDO         ARRIETA                   TX     90005703529
37259549891584   MARTHA          MARTINEZ                  TX     75017795498
37262578855972   JOHN            MOORE                     CA     90009385788
37262917791893   SAMANTHA        BELL                      OK     90014719177
37264813231424   JOANN           PIZZO                     MO     90013308132
37265437491831   AMBER           COLEY                     OK     90004204374
37265967391584   JESSICA         VARGAS                    TX     90014849673
37267763141258   DWAYNE          FREEMAN                   PA     51032597631
37267834531424   VERNTEZ         JONES                     MO     90011398345
37268287631424   MICHELLE        AUSTIN                    MO     90005222876
37271961391831   QUANTE          WILLIAMS                  OK     90010459613
37272162391893   WHITNEY         WINKLE                    OK     21030071623
37274622955951   KARLA           MORENO                    CA     90011656229
37274768393744   NICOLE          MARTIN                    OH     90012347683
37275533491893   APRIL           DOBYNS                    OK     90008055334
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37277284241258   AMOS            JACKSON                   PA     90012882842
37277297755972   FRANCICA        RAMBEAU                   CA     90014902977
37278268891831   MARIAN          TURNER                    OK     21052102688
37278568184359   KEITH           PINCKNEY                  SC     90013735681
37279586491893   CARLA           VILLADA                   OK     90013565864
37279631755972   ARTURO          ASPEITIA                  CA     90006116317
37281876655972   VIRGINIA        DURAN                     CA     48018258766
37283355855972   SANDRA          HUERTA                    CA     90012053558
37284273531424   JAY             JENNINGS                  MO     90009022735
37284577455972   TIFFANY         COX/JOHNSON               CA     48024715774
37285287191587   LEONOR          VALDEZ                    TX     90004452871
37287361155972   JOSE            RODRIGUEZ                 CA     90012723611
37291628841258   JAMIE           MAZZA                     PA     51056746288
37292649791831   BEATRIZ         CRUZ                      OK     21073566497
37297913191584   NOEMI           TORRES                    TX     90014839131
37299815891893   WILLIAM         MILLARD                   OK     21074988158
37311789955972   ANGEL           LARA                      CA     90012907899
37311973791893   JODY            WHITE                     OK     90011569737
37312489391271   AUDREY          YOUNG                     GA     90001844893
37312652255951   KONG            LEE                       CA     90006526522
37313732131424   KESHEARA        ROSS                      MO     90011157321
37313892131424   KESHEARA        ROSS                      MO     90013008921
37315462793761   KAMIKA          WORKS                     OH     90011954627
37316285191584   XENIA           ROMERO                    TX     90000102851
37316817631424   STEAFON         PERRY                     MO     90014258176
37322764155931   MARIA           BUSTOS                    CA     90011867641
37323934641258   CAITLYN         GALLAGHER                 PA     90014899346
37324975991584   NOSES           MORALES                   TX     90014849759
37325271991893   STEFANIE        BAZE                      OK     21083962719
37327576791584   YOLANDA         SIMENTAL                  TX     90002145767
37328157891232   ROXANNE         MARTINEZ                  GA     90001211578
37328185491584   AIDE            REYES                     TX     75006061854
37329422191584   KARLA           ESTRADA                   TX     90005704221
37331171291232   WIKENYA         MOBLEY                    GA     90014101712
37331272984334   KRYSTAL         SIMMONS                   SC     19090032729
37334975891881   RODNEISHA       SMITH                     OK     90012499758
37336448555972   GENOVEVA        TORRES                    CA     48005994485
37339353841258   ZENIA           JACKSON                   PA     90014383538
37339429891232   CAROLYN         MILTON                    GA     14571424298
37342863631424   STEVEN          HART                      MO     90003788636
37343564741258   SARAH           COYNE                     PA     90008865647
37343918291396   KAYLA           ANDREWS                   KS     90011559182
37344198461973   BRIAN           WINANS                    CA     90007981984
37344929591584   STEPHANIE       TADEO                     TX     90014839295
37346543281686   ADAM            TRINIDAD                  MO     90008835432
37354195241258   MARLESE         KELLY                     PA     90011001952
37354655241258   MIRANDA         CRUTHERS                  PA     90012916552
37354689691831   PAULA           WILSON                    OK     90010096896
37354758691893   DAVID           SERNA                     OK     90015107586
37355256691584   BERENICE        TORRES                    TX     75062772566
37358672291893   CHRISSA         TIGER                     OK     90011696722
37359243454191   RHIANNA         GREENWOOD                 OR     90007332434
37361316141258   NICHOLAS        BUZZELLI                  PA     90014013161
37362487141285   SHARON          BLOUGH                    PA     90010234871
37364119991584   MARIANO         CHAIREZ                   TX     90010271199
37365385557139   LEYDI BEATRIZ   MENDEZ                    VA     90011673855
37365395355972   CRISTINA        HOLGUIN                   CA     48071293953
37366891355951   OMAR            DOLORES                   CA     90011908913
37372212291831   KACY            BIGGS                     OK     90010992122
37372979291584   TALIA           HERMOSILLO                TX     90014849792
37373412731424   CANDIS          PETTIE                    MO     90014914127
37375487791992   DANYA           CENA-RAMOS                NC     90011824877
37376297591893   SHAYA           ZWITZ                     OK     90013572975
37377615491831   ALESHA          WILSON                    OK     90001286154
37378946191584   VANESSA         GONZALEZ                  TX     90014839461
37379123391584   CAROLINE        ESCOBAR TREJO             TX     75074771233
37381331361945   JAIME           RIOS                      CA     90013953313
37384946191584   VANESSA         GONZALEZ                  TX     90014839461
37386273551594   NURA            KUKU                      IA     90012482735
37386951991831   SARAH           ZUNIGA                    OK     90000859519
37387455454165   STEPHEN         MINNICK                   OR     90006944554
37388683891831   MARY            WESTBAY                   OK     90013136838
37388842141285   CHRISTINE       CAPRINO                   PA     90014568421
37388846491584   MARIA           DURAN                     TX     75015008464
37389594655972   MONICA          IZQUIERDO                 CA     48015405946
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37393156355951   PEDRO         RAMIREZ                     CA     90011821563
37394512251347   MICHAEL       MARTINO                     OH     66022865122
37395916441285   MICHAEL       SWEENEY                     PA     51043519164
37396392491831   CHARLES       JONES                       OK     90013623924
37399482391584   JUDY          DE ANDA                     TX     90001624823
37399485931424   ROBIN         HELEM                       MO     27537454859
37412481331424   TEREMIAH      ELLISON                     MO     90011194813
37416172331424   PAULETTE      ROEBUCK                     MO     90012321723
37416198555951   EDUARDO       OCHOA                       CA     90011821985
37416454441285   KELLIE        TURNER                      PA     51065214544
37421111731424   ARTHUR        ALLEN                       MO     90010321117
37421188577367   CHERELLE      WILLIAMS                    IL     90004881885
37423514291893   ARACELY       MONTOYA                     OK     90008475142
37424255355951   JOHNATHON     FRANCO                      CA     90011822553
37424929651382   KURT          MURDEN                      OH     66030719296
37425716691584   LUCIA         NUNEZ                       TX     75035437166
37427138541258   KEVIN         WELTY                       PA     51017611385
37427523491831   HUAHONG       CLEVELAND                   OK     21069305234
37428698991584   PABLO         GARCIA                      TX     90001416989
37429483341285   CHRISTINE     CARR                        PA     51097104833
37436843791544   OSWALDO       APODACA                     TX     90009808437
37436952355972   LEONARD       LIZOYA                      CA     90013869523
37437267891831   ROSE          LYNCH                       OK     90003852678
37438272155951   MIGUEL        BAHENA                      CA     90011822721
37439742391584   ALEJANDRA P   RIDERA                      TX     90004357423
37439774191831   JOHN          APPLEGARTH                  OK     90013167741
37443448255951   DONITA        PULIDO                      CA     90002184482
37445249831424   GIOYA         GOLDEN                      MO     90009782498
37447132955972   RAUL          SALAS                       CA     90012971329
37448456891831   CINDY         AVELAR                      OK     90013044568
37448815551382   RUTH          HERNADEZ                    OH     66021268155
37452423891584   JOANNA        MUNOZ                       TX     90015204238
37456231831424   SHARON        JACKSON                     MO     90011322318
37456388231424   MAGDALENA     POSAS                       MO     27535293882
37456944991584   NICHOLAS      GARDEA                      TX     75065029449
37457239191584   MARVIN        HERNANDEZ                   TX     75035042391
37457931355972   KATHERINE     REYNOSO                     CA     90012599313
37458344491831   JAMES         WATSON                      OK     90011003444
37458744441285   BRITNY        OHARA                       PA     90014767444
37461379341455   TRACY         HOGAN                       WI     90014053793
37461745991232   ROBERT        HODGES                      GA     14501297459
37463283941258   ISUA          REEDY                       PA     90009852839
37464335491831   ROSA          BAUTISTA                    OK     90011973354
37466329591831   KELSEY        COOPER                      OK     90011763295
37467844755972   OSCAR         BONALES                     CA     48073718447
37469831391831   MELVIN        HENRY                       OK     90002378313
37472537191831   AMY           AMBRIZ                      OK     90014285371
37473666391831   DAVID         CLARY                       OK     90012986663
37474935291584   ANGEL         HARRIS                      TX     90014859352
37476979991831   MARIA         QUIROZ                      OK     90012929799
37477218941258   ANNA          FILOTEI                     PA     51001532189
37477282391963   LUHENGA       MUSHUNGAY                   NC     90007922823
37478624355972   ALEJANDRO     GOMEZ                       CA     48089256243
37481748391584   BRENDA        SAPIEN-PACHECO              TX     90009047483
37482892991584   GUADALUPE     VILLATORO                   TX     75017308929
37482995555972   JESSICA       RODRIGUEZ                   CA     90013979955
37485536751369   GINA          WALKER                      OH     90004305367
37487571891831   STACI         LEHMANN                     OK     90014525718
37488181141285   MIKE          SMITH                       PA     90013301811
37489598241285   CHARLES       HINERMAN                    PA     51070115982
37489848831424   RENIECE       REEDER                      MO     90002748488
37492192351594   MCAYLA        FRISTL                      IA     90014771923
37492268991861   SHAWNDA       SEILER                      OK     90013002689
37494279491584   NAYELY        OLIVAS                      TX     90014922794
37496243791893   JOANNA        MARSHALL                    OK     90008832437
37498524155951   MARIA         GONZALEZ                    CA     90002185241
37499258841258   CHRIS         HAIRSTON                    PA     90014152588
37499647991831   HAYLEY        SCHABERG                    OK     90009026479
37499821125655   DAMION        MACON                       AL     90014588211
37512177541285   DEBORAH       KUNZ                        PA     90010331775
37513312931424   GREGORY       BUSHUR                      MO     27512903129
37513473991831   SANDRA        GOMEZ                       OK     90013214739
37515548255951   MONIQUE       GARCIA                      CA     90002185482
37516336571996   MARK          CLEMENTS                    CO     90013333365
37518641691584   DAVID         JUAREZ                      TX     90011246416
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37518683555951   CHARLES          TEAL                     CA     90012956835
37521327755972   CARLOS           MARQUEZ                  CA     48010033277
37522249141258   ANDREW MICHAEL   SHANE                    PA     90011002491
37522774155972   ANGELITA         GONZALEZ                 CA     48086617741
37525524191525   LETICIA          GUILLEN                  TX     75043805241
37525646571924   ROBERTO          RAMOS RIOS               CO     90004366465
37525951591584   BAUDELIO         VALDEZ                   TX     90014859515
37527443755947   CARLO            GARCIA                   CA     90001764437
37527558541455   DEICY            ORTEGA                   WI     90013415585
37528393231428   TIERRA           SILLS                    MO     90012923932
37529619891831   ALONZO           CALIXMACEDO              OK     90010296198
37532558255972   ELIZABETH        LOZA                     CA     48035675582
37533633591584   DANNY            LOMAS                    TX     90011226335
37534682591831   AMBER            CLARK                    OK     90013996825
37539124831424   CAROL            JACKSON                  MO     90009171248
37541918355972   AURORA           SPAULDING                CA     48045499183
37542624157599   MAURO            GONZALEZ                 NM     75047456241
37543624355972   LUCY             SIGALA                   CA     48056456243
37543945391893   TIM              SNODGRASS                OK     21030609453
37545373791893   KIMBERLY         SOWELL                   OK     90013583737
37545459555972   JENINE           OCHOA                    CA     90007894595
37547373791893   KIMBERLY         SOWELL                   OK     90013583737
37547617993744   TOIKEYAH         WARD                     OH     90005496179
37549725191584   MANUEL           MONREAL                  NM     75078317251
37553195591893   JACQUITA         ROTERT                   OK     90012201955
37554429491893   FRANSHON         MAYS                     OK     90013584294
37554947784326   PHILLP           BEATY                    SC     14504919477
37555593793757   JULIE            GROSS                    OH     90000305937
37556293691831   THOMAS           MCCURRY                  OK     21064922936
37556642191232   JAN              RHETT                    GA     90000326421
37558763191584   MARIA            MIRANDA                  TX     90005707631
37559282591831   NALLELY          PACHECO                  OK     21064032825
37561352191584   LAURA            MANRIQUEZ                TX     75012213521
37563729855972   JOEY             ALVES                    CA     90013887298
37563748951371   ANGELEE          DONDERS                  OH     90014707489
37565383731424   DAVID            REANDO                   MO     90014243837
37566536991831   MARK             TURNER                   OK     21028575369
37566637255972   VICTORIA         GERARDO                  CA     90011806372
37566961891893   PASCHE           BARNETT                  OK     90014729618
37568559391831   MISTY            HASKETT                  OK     90014065593
37569939192853   VANCE            HUTCHISON                AZ     90014039391
37572495191584   SAMUEL           MUNOZ                    TX     75084184951
37572589751594   FATUMA           NURI                     IA     90012485897
37574514491584   NORMA            CASTILLO                 NM     75060815144
37588567341285   DERRICK          VIRE                     PA     51060305673
37591424691584   MARIA            LOZANO                   TX     90009524246
37594584493731   DONNA            REED                     OH     90012535844
37595564241258   DEBORAH          DORSCH                   PA     51030235642
37597351791584   ECTRADA          LUPE                     NM     90000823517
37597719855972   ALEX             RUIZ                     CA     48025487198
37598511291831   COURTNEY         BOYD                     OK     90006405112
37611498841258   TIMOTHY          NAMATH                   PA     90013264988
37612894291893   FRANKIE          JOHNSON                  OK     90013588942
37614919891893   ROSA             PLAZA                    OK     90004279198
37617718491831   BRENDA           SEALS                    OK     21062837184
37618116791967   DANIEL           RODRIGUEZ                NC     90014391167
37618782385837   IRENE            MCCONAUGHEY              CA     90012457823
37619473171921   SARAH            ROBINSON                 CO     90005254731
37619521891584   DENISE           DIAZ                     TX     90009965218
37619983355972   GILBERT          SABIO                    CA     90005469833
37621798855951   FRANCISCO        ZUNIGA                   CA     49063167988
37622428691831   CARLOS           FLORES                   OK     90008004286
37626826131424   EARLINE          EARNEST                  MO     90014248261
37628129255951   WHITE            JARAMIE                  CA     49063171292
37632276791831   MARCO            WILLIS                   OK     21008432767
37632997691893   JEROME           PAYNE                    OK     90013589976
37633294551347   DANNY            HOLLAND                  OH     90002142945
37634964931586   BRIAN            WILLIAM                  NY     90015499649
37634999991893   DROSS            PENNY                    OK     90013589999
37635176991831   LINDA            OBRIEN                   OK     21031551769
37636923755951   ROBERT           RODRIGUEZ                CA     49086869237
37636985491831   VIVIAN           PETERSON                 OK     21064589854
37638194155972   SARAH            LUCERO                   CA     48086781941
37638792191831   FANNIN           CARL                     OK     90007147921
37639744241285   SUSAN            GIVNER                   PA     90013987442
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37641567991831   KAYSHA            HESS                    OK     90010925679
37641578555972   MONIQUE           MENDOZA                 CA     90011085785
37642759141285   ALISON            STUBENBORT              PA     90008967591
37642792355972   JOY LYNN          ROBINSON                CA     90012567923
37644711661987   JOEL              GARCIA                  CA     90006077116
37644792651367   GRACE             CARR                    OH     90001677926
37645322341258   PHYLLIS           RUCKER                  PA     51018463223
37647578341285   MELONIE           BURRISS                 PA     90013325783
37648429591831   HEAVEN LEIGH      HUGHES                  OK     90009344295
37649443455972   NORMAJEAN         RUIZ                    CA     48065414434
37649591941285   STEVEN            RANKER                  PA     51096585919
37652974291584   DINORAH           SOTO-MORALES            TX     90011549742
37653296791584   MARIA             RIVERA                  TX     75004242967
37656581191831   ALEXANDER         FLORES                  OK     21067555811
37659134841258   AELISSA           SPAN                    PA     90010481348
37659765241285   MIA               BARNES                  PA     90010327652
37662477191584   LAURA             RODRIGUEZ               TX     75043464771
37663113151382   GARY              GAMBLE                  OH     66060571131
37663673591893   TERRI             FAREBAS                 OK     90008846735
37663673691831   STEPHANIE         AKERS                   OK     21081036736
37664137255928   MATILDE           TORRES                  CA     90011571372
37664361691584   RAUL              RAMIREZ                 TX     75035103616
37667435731424   HELM              RONALD                  MO     90009544357
37667584155972   JAMES             RODRIGUEZ               CA     48022755841
37668418351321   ANTONIO           LARKIN                  OH     90002154183
37672173241285   TIMOTHY           SWARTZWELDER            PA     90014821732
37672977891831   JENNIFER          GIPSON                  OK     90012869778
37673217491893   ANGELA            COLBERT                 OK     90009072174
37676247155972   CHRISTOPHER       ENOS                    CA     90011412471
37677484291584   SABRINA           PORTILLO                TX     90009094842
37678949391831   JUSTIN            BAGGETT                 OK     90001059493
37679439261993   AGUSTIN           QUINTANA                CA     46016814392
37679492791942   MARIO             CINTO                   NC     90004254927
37681477191584   LAURA             RODRIGUEZ               TX     75043464771
37681979431424   BRIAN             MURPHY                  MO     90014249794
37682237291584   ADRIANA           RAMIREZ                 TX     75082492372
37682279891893   TIARA             HUNT                    OK     90013592798
37684697755951   JESUS             MELO                    CA     90012956977
37695353391893   MARIA DE LA LUZ   MUNOS                   OK     90013593533
37695586738531   JOANA             RODRIGUEZ               UT     90011195867
37695813341285   SHERI             COCCARO                 PA     90013108133
37699152141285   STEPHEN           BUMBLIS                 PA     90014131521
37715239841258   ANNA              FORRESTER               PA     51007742398
37715951455972   JESUS             DIAZ                    CA     90012929514
37717887191584   LUIS              TORRES                  TX     75095078871
37717968491893   AMY               BEARDSLEY               OK     90015019684
37718429291831   SANDRA            SLANKER                 OK     21081614292
37719826755972   JOHN              TORREZ                  CA     48090688267
37723596155951   OMAR              SEGURA                  CA     90000335961
37724659491584   VERONICA          MEDINA                  TX     90006446594
37725319891538   MARIA             FERNANDEZ               TX     90006203198
37726297391831   MARSHALL          FLORENCE                OK     90009362973
37726426731988   QUENTIN           WILLIAMS                IA     90013944267
37726793786436   CAMILLA           ALEXANDER               SC     90015347937
37727995355972   EDUARDO           DIAZ                    CA     48082969953
37728779241285   ARDRETTA          SCOTT                   PA     90008087792
37735253291893   JENNIFER          LARSON                  OK     90008392532
37738153355972   ANITA             BLALACK                 CA     48052511533
37739349591831   AMARYLIS          BOLTON                  OK     90014953495
37739467791584   SAMANTHA          ROSALES                 TX     90008124677
37741467141258   DAVID             SOUTHWOOD               PA     90011544671
37742777341285   BRANDON           FIELDS                  PA     90015317773
37743512155951   ROSEANN           MARTINEZ                CA     90011835121
37745224155972   AARON             BLACKBURN               CA     48062902241
37745755291893   JOSH              HART                    OK     90013597552
37751299391831   DERIK             COATES                  OK     90002462993
37752187291584   CLAUDIA           HERNANDEZ               TX     90014491872
37755811991893   KELSEY            YOUNG                   OK     90013598119
37756772631424   SKILYAR           CHRISTIAN               MO     90011127726
37757195357599   MARIBEL           VELAZQUEZ               NM     35548601953
37759177347829   BRANDT            LANCASTER               GA     90008361773
37761698491584   ALICIA            APODACA                 TX     90010486984
37763317391831   PAYGO             IVR ACTIVATION          OK     90015393173
37763784841258   MBA               COMMUNICATIONS          PA     90010617848
37766991355972   KARLA             MARTINEZ                CA     90011909913
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37767471655972   FLORES        JENNIE                      CA     90013924716
37768394293782   MARCUS        BORTON                      OH     90012833942
37769357531424   ANETTE        HAGEN                       MO     90014273575
37769841591893   RICHARD       CRISEL                      OK     90015248415
37771487591831   LARRIS        STEWARD                     OK     90013204875
37771536855921   RICARDO       NUNEZ                       CA     90007245368
37772566661993   ANGELICA      GARCIA                      CA     90002915666
37773782141285   SHARON        BROWN                       PA     90014827821
37775629455972   RAMON         GUTIEREZ                    CA     48062056294
37778485291578   ART           GANDARA                     TX     75006374852
37779464531497   AMANDA        GRIFFITH                    MO     90003044645
37779814691831   NATHAN        WAHL                        OK     90015338146
37779947991893   TOMMY         SHIPLEY                     OK     90013599479
37783692455951   ERIC          WOOD                        CA     90005226924
37784929857569   EUSTORGION    MOGICA                      NM     90014209298
37786469291831   MICKEL        HARRIS                      OK     90014844692
37789774191831   JOHN          APPLEGARTH                  OK     90013167741
37789822777581   ERNESTO       PONCE                       NV     90007298227
37792842455951   JAIME         AVINA                       CA     90011838424
37794924155972   MARIA         MALGOZA                     CA     90007729241
37795832155921   NORMA         LOPEZ                       CA     90012108321
37796917455972   DIA           VUE                         CA     48082589174
37797157661435   MEDUIN        LEMUS                       OH     90013791576
37811812354191   BRIAN         SAVAGE                      OR     90001228123
37814916441285   MICHAEL       SWEENEY                     PA     51043519164
37816287131424   JEANINE       OVERALL                     MO     27563022871
37817127491893   NENGPI        TOUTHANG                    OK     90013601274
37817869641258   LAMMAR        VALENTINE                   PA     90013588696
37818147955951   KELLY         HOLMAN                      CA     49072921479
37819338591232   BRANDY        PIKE                        GA     14519243385
37823344155972   MARICELA      DUARTE                      CA     48037863441
37823955855951   ARCADIO       PEREZ                       CA     90011839558
37826335341258   CHUCK         MOTTE                       PA     90014943353
37827324891831   ROGER         CHERRY                      OK     21030833248
37828842141285   CHRISTINE     CAPRINO                     PA     90014568421
37829299255972   BALTAZAR      BACA                        CA     90003222992
37834393191584   MARIA         ORNELAS DE GUERRERO         TX     90014843931
37836659491584   VERONICA      MEDINA                      TX     90006446594
37844258155951   ELENA         GOMEZ                       CA     49055692581
37844559755972   KENNETH       HAROLD                      CA     90015095597
37845212441285   RAMIREZ       DIEGO                       PA     90015292124
37846448155972   BRAYAN        REYES                       CA     90007904481
37849888531424   BRITTNEY      COLLINS                     MO     90008848885
37851924555972   LUZ           CARDENAS                    CA     90011179245
37854499331424   SIARA         ROBINSON                    MO     90014284993
37854517941285   KELCEE        ALDRIDGE                    PA     90008055179
37854625155951   CHOUA         YANG                        CA     90012966251
37855542441258   CHRISTOPHER   LEE                         PA     90013495424
37858783541285   SHOMARI       GERRIFTH                    PA     90014827835
37865128355972   LISA MARIE    DUNCAN                      CA     90013401283
37865191972451   ERIN          GLANZ                       PA     90014611919
37865284861962   LIONEL        LILLIARD                    CA     90013172848
37865777141258   MATTHEW       DISANTO                     PA     90000247771
37867514691831   LAWRENCE      HAWKINS                     OK     90010995146
37869347291232   SHAY          SHAMSIDDIN                  GA     90011053472
37871378255951   MICHAELA      DEGORTARI                   CA     90013143782
37871977241258   JUANITA       MILLSAP                     PA     51006769772
37873658691893   URIEL         ARELLANO                    OK     90013606586
37873859841285   SALENA        BAUER                       PA     90013848598
37874658691893   URIEL         ARELLANO                    OK     90013606586
37877956955951   LEDUC         STEVEN                      CA     49067589569
37878629655972   JOSE          CARDENAS                    CA     48036616296
37882386484368   DONNA         SHERRILL-DALY               SC     14570583864
37884718191893   MIRTHA        SOTO                        OK     90013607181
37884883391942   MICHAEL       ZEGEYE                      NC     90012958833
37887469281681   MARVIN        HUXTABLE                    MO     90004084692
37888249641285   AMY           MONGELLUZZO                 PA     90008792496
37888312791232   RALPH         STAIR                       GA     14587653127
37888989441258   MIKE          SMITH                       PA     90013509894
37892594455972   GONZALO       VELIZ                       CA     90011855944
37892654855972   JOSE          LANDEROS                    CA     90013926548
37893251855972   ERIKA         SERVANTES                   CA     90009382518
37896995631424   TERRIE        CASEY                       MO     90005809956
37897538191831   RITA          STENGEL                     OK     21082175381
37898661855972   ROSA          VELASCO                     CA     90013926618
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37899346941251   JEREMY       PUCKETT                      PA     51067753469
37899411891584   DAVID        RAMOS                        TX     75035144118
37911969655972   BROOKE       ROBERTS                      CA     90012929696
37913755831424   RAKESHA S    BROWN                        MO     90011437558
37914951541285   SHAVON       PRATCHETT                    PA     90005189515
37915485241258   MARLO        JONES                        PA     90015034852
37916271441258   AMANDA       ROYAL                        PA     90009402714
37917913741285   DEBORAH      SAIR                         PA     51069299137
37918824155951   CHRIS        FIERRO                       CA     90013598241
37919294731586   AMANDA       KNAPP                        NY     90015472947
37919382541258   MARK         ROBERTS                      PA     90001293825
37919825351382   SANDRA       MADIGAN                      OH     66059348253
37922258451347   DESPEANNE    ANDREWS                      OH     90006372584
37925244541258   PAUL         WINGATE SR                   PA     51022822445
37929147191831   DEBBIE       LEE                          OK     90014941471
37929357655972   ORLANDO      GOMEZ                        CA     90014393576
37931472177368   RAUL         CRUZ                         IL     90015384721
37932138391584   CECILIA      MUNOZ                        TX     90014861383
37932436641285   AMY          DAVIS                        PA     90003854366
37933984255972   ANGIE        FUNEZ                        CA     90012929842
37935138991584   MARIA        ALONSO                       TX     90014861389
37935147191831   DEBBIE       LEE                          OK     90014941471
37935932991831   FERNANDO     PULIDO                       OK     90007469329
37937321731424   MONUETTE S   BURRELL                      MO     90014223217
37938276185821   PAULA        MURILLO                      CA     90011852761
37943958855972   DESTINY      NIETO                        CA     90006399588
37945723191584   GABRIELA     DURAN                        TX     90014357231
37945733555951   MARIELA      GARCIA                       CA     90011967335
37946723191584   GABRIELA     DURAN                        TX     90014357231
37947142791584   DAVID        ESPARZA                      TX     75095621427
37948578241258   KOYA         FRYE                         PA     51091675782
37949894755972   ERIC         HAWKING                      CA     90013938947
37951719755972   MIREYA       SUAREZ                       CA     90008387197
37953723191584   GABRIELA     DURAN                        TX     90014357231
37954996697126   ROBERT       DAVIDSON                     OR     90008769966
37956124391893   RAYMOND      BRADFIELD                    OK     90013611243
37956532661559   FELICIA      WILLIAMS                     TN     90013535326
37957124391893   RAYMOND      BRADFIELD                    OK     90013611243
37957253591831   MAKAILA      MCGONIGAL                    OK     90014812535
37957951597126   ESMERALDA    BARRANCA                     OR     90008769515
37961847655972   DENNIS       BOMSBURGER                   CA     48084018476
37962187191893   JOSHUALIN    WADE                         OK     90013611871
37963527891831   OZETTA       TAYLOR                       OK     90007955278
37964246155972   JIMMY        WATSON                       CA     90014372461
37966156125123   CHAD         CAYLOR                       AL     90014751561
37966259923422   MICHEAL      SABOL                        OH     90011462599
37967149691584   LUIS         ESCAJEDA                     TX     90014861496
37967542655972   NYCOLE       BARRIER                      CA     90002525426
37968149691584   LUIS         ESCAJEDA                     TX     90014861496
37971238191893   TONY         NELSON                       OK     90013612381
37974297255972   PATRICIA     DE LA CRUZ                   CA     90014972972
37974323691831   HENRY        BUECHLER                     OK     21027473236
37975225291232   JACKLYN      TANNER                       GA     14547782252
37975915651321   CHANEL       JONES                        OH     90014559156
37976622431424   DENNY        ROEDEL                       MO     27550366224
37977385291831   JANA         SHIRLEY                      OK     21090533852
37977679391544   ANA          FRANCO                       TX     90010746793
37978312291831   ANGEL        LATHAN                       OK     21016433122
37979796491584   EDGAR        RUIZ                         TX     90011227964
37981543141258   ROBERT       NETHERTON                    PA     90008915431
37982435455972   ALEX         VELASQUEZ                    CA     90015334354
37984316961956   FRANCISCO    HERNANDEZ                    CA     90005493169
37985183391584   JESUS        JIMENEZ                      TX     90001361833
37985491291831   KAYENG       YANG                         OK     90012634912
37988133471921   THERESA      LEGARSKI                     CO     90014931334
37989565455972   TAMI         BACKMAN                      CA     48096325654
37989862655951   ARACELI      LARA                         CA     49091648626
37991626691893   MARIA        MEMBRILLA                    OK     90013616266
37992634291893   MARICELA     GUTIERREZ                    OK     90013616342
37994682231424   LORENZIA     FRANKLIN                     MO     90015086822
37996898341285   JHANEAY      NELSON                       PA     90002468983
37999167391232   BETO         AVILA                        GA     90005061673
37999656851329   SONDRA       ANDERSON                     OH     90005386568
37999919691979   DAVID        GONZALEZ                     NC     90010019196
37999959355951   KIMBERLY     MARTINEZ                     CA     49013659593
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38113729136143   BRANDI       CARRERA                      TX     90014707291
38114592291831   MONIQUE      MCGEE                        OK     90012205922
38115636331424   MINYATTA     SIMMONS                      MO     90008606363
38116264231439   TYRONE       GARY                         MO     90001522642
38116338491831   JASON        HAWKINS                      OK     90011013384
38116549436143   DESIREE      GARCIA                       TX     90003375494
38124437361982   WILLIAM      GLASSOW                      CA     46016204373
38126313155972   DAVID        BROWN                        CA     48098223131
38127847941285   SANDRA       MOZES                        PA     51067208479
38129677993761   JOHN         DAVID                        OH     90012856779
38131556936143   RICKY        RIOJAS                       TX     90013885569
38131646141285   CRYSTAL      KINSEL                       PA     51017676461
38132178131424   AARON        JONES                        MO     90015031781
38132695536143   TANYA        TREVINO                      TX     90011356955
38135267744376   MANUEL       RENTERIA                     VA     82060012677
38137645972441   JENNA        EALY                         PA     90015426459
38137739455972   YAMILLETS    CHAVEZ                       CA     90010757394
38138571831424   LAUREN       COOPER                       MO     90013865718
38139131251335   KALIROU      MOUSSA                       OH     90013241312
38139193941285   ANTOINETTE   FLOT                         PA     51019251939
38139418891371   JUAN         RAMOS                        KS     90011714188
38141383341258   GARRETT      TURZAK                       PA     90012653833
38141789555972   AMANDA       JORDAN                       CA     48084567895
38142741951369   TAWANA       CRAWFORD WILLIAMS            OH     90014557419
38144935491831   TED          MANORE                       OK     90014059354
38145292441258   MCKENZIE     ZIEGLER                      PA     51087702924
38149554855972   RUDY         GUIDO III                    CA     48047965548
38151316891831   CHESTER      GREEN                        OK     21079883168
38151416936143   PATRICIA     RIVERA                       TX     73587514169
38155498942341   TRUDY        PORTER                       GA     90001514989
38155878755972   RUSSELL      POLES                        CA     48068828787
38156181251369   KENDALL      GAULT                        OH     66081531812
38156888191831   KIM          COLE                         OK     21093008881
38159756355972   JIMMY        THONGSENG                    CA     90014527563
38162762631424   FARHAN       SEISAN                       OK     90000847626
38162851391371   ANA          GARCIA                       KS     29065898513
38163253671996   KRISTINA     LOPEZ                        CO     90003052536
38164539891893   JUDY         BILLINGS                     OK     90009575398
38164851454154   GABRIELLE    KOHNE                        OR     90003108514
38165991536143   MALLORY      MONROY                       TX     90010199915
38167913391356   ANA          VERGARA                      KS     29014979133
38168748636143   NATHAN       VASQUEZ                      TX     90012067486
38169584455972   JONEZ        RODRIGUEZ                    CA     90006135844
38169692991831   MALISA       REEL                         OK     90009546929
38174646355972   E            SOTO                         CA     90009536463
38175579855972   AMANDA       ISAACS                       CA     90012775798
38175858491863   ARNOLD       CHAVEZ                       OK     90010768584
38176998191232   JERAMY       ROBERTS                      GA     90004759981
38178924891831   ELDER        AGUILAR                      OK     90010299248
38182683991831   AYE          THANG                        OK     90012656839
38183298191831   ROBIN        PIERCE                       OK     21048582981
38183521531632   RANDE        MEIS                         KS     90008625215
38184929736143   SAJID        FILLMORE                     TX     90012129297
38185463251382   TANYA        JENKINS                      OH     66056954632
38187897691356   ALBERTO      VELAZCO                      MO     90000108976
38192554991356   VICTOR       MENDOZA                      KS     90001425549
38194114236143   SUSAN        GOMEZ                        TX     90003791142
38194658255972   MARLENE      MORENO                       CA     90013546582
38195667531424   ASHLEY       TANTER                       MO     90015106675
38197471461943   MAYRA        CAMARGO                      CA     46097874714
38198482955939   JERRY        NEVES                        CA     90006094829
38199842841285   MITZY        BURKES                       PA     90011508428
38213935151335   ED           PETRE                        OH     90001049351
38221389655971   IVAN         VARGAS                       CA     90008573896
38221553841285   VICTOR       NICHOLS                      PA     90003125538
38222111626759   PATRICIA     HYMAN                        PA     90011371116
38222336991371   SUSANA       ZAVALA                       KS     90007603369
38222716655972   JUAN         VILLAGOMEZ                   CA     90013697166
38223413191831   MARIO        SHAW                         OK     21051784131
38223546741258   PAMELA       YASKO                        PA     51012585467
38224359255972   SOR          SEE                          CA     90013453592
38226625533638   JULISA       MURPHY                       NC     90014066255
38227246536143   BRYAN        HOBGOOD                      TX     90008692465
38231748255972   VICTORIA     AVILES                       CA     90011437482
38232267761925   ELISEO       GUTIERREZ                    CA     90007952677
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38232319944376   MEOSHA       BROWN                        NC     90001333199
38233853736143   JOE          GARCIA                       TX     73533328537
38233943441285   TERRA        CANNATA                      PA     90012939434
38235826591831   LATARA       JEFERSON                     OK     90010268265
38236431831657   JUAN         CALVILLO                     KS     90012874318
38237138136143   VANESSA      RODRIGUEZ                    TX     90010001381
38238393491941   MIRA         BAILEY                       NC     90010033934
38238972155972   SHANNON      JOHNSON                      CA     90014569721
38239622351382   AILEEN       WUENNEMANN-DIAZ              OH     66013346223
38239848341258   CAMEIYA      ELEM                         PA     51001748483
38241641972424   ALEXIS       FAUVIE                       PA     90009456419
38242246255972   JOE          DEVER                        CA     90012852462
38243558791831   SHERRY       WILLIAMS                     OK     21004625587
38244513731424   KECIA        COSTELLO                     MO     90006325137
38244519691371   ROBERT       LEWIS HICKS                  KS     90009165196
38245134291356   LINDA        BELL                         KS     29045871342
38245267151369   TOM          FARMER                       OH     90006152671
38246367691831   KRISTEN      DEMENT                       OK     90009063676
38246938555972   JUAN         MELENDEZ                     CA     48095469385
38246965136143   EMILIO       BALADEZ                      TX     90014639651
38247543972424   VIRGINIA     PUGLIESI                     PA     90005345439
38251862191232   GREGORY      PINCKNEY                     GA     14506898621
38251964331657   ANGELA       WARD                         KS     90012239643
38253181861571   JAMES        JONES                        TN     90008441818
38253423341286   WILLIAM      BRADY                        PA     90012904233
38256441855972   ROSA         GARCIA                       CA     90015174418
38257614572424   SHAWN        DONNELLY                     PA     90006496145
38258246255972   JOE          DEVER                        CA     90012852462
38258451791356   TERRY        ZAURATSKY                    KS     90010064517
38258976736143   JEREMIAH     LOPEZ                        TX     90014889767
38259983336143   JOSH         LOPEZ                        TX     90013159833
38262924891232   MARQUITA     BROWN                        GA     14585249248
38263459991371   RYAN         HICKS                        KS     90003194599
38265535451382   JULIE        MOTTS                        OH     90005945354
38266512355972   ANTOINE      JACOBS                       CA     90014425123
38268338141258   MARLON       MILES                        PA     90005053381
38268513531424   JUSTIN       WHITE                        MO     90010685135
38268855755972   LEANN        RODRIQUEZ                    CA     90002758557
38269438891831   BRADLEY      PARKER                       OK     90014924388
38271154491831   BROOKE       WASHINGTON                   OK     90014741544
38272753391831   TEKINA       JONES                        OK     90006787533
38272826436143   RACHEL       SALAZAR                      TX     90010268264
38275126391371   IDANA        ORTIZ                        KS     90008971263
38275719155972   EDWARD       XAVIER                       CA     90013697191
38275844751323   ELIZABETH    KERR                         OH     66072068447
38275845431424   VALERIE      BROWN                        MO     90012208454
38276362791371   TAMMY        FULLER                       KS     29067953627
38277146541421   EVELYNN      MUBASA                       WI     90014731465
38277546141258   HOLLY        CARUSO                       PA     51021375461
38279246141285   MARC         PETERS                       PA     51078812461
38281271641251   SHEENA       STENHOUSE                    PA     51003172716
38281728751382   ERIC         MCGUIRE                      OH     90005947287
38282111541285   CARRIE       BURFEILD                     PA     90012851115
38282796341258   KARREN       LITTLE                       PA     90006087963
38283563531586   CAROLYN      GRANT                        VA     53086975635
38283777455972   CORINA       RIOS                         CA     90012707774
38283845491831   LARONICA     HICKS                        OK     90009218454
38286384372424   MARMIE       HAMILTON                     PA     51077623843
38287174436143   MICHEAL      ESTRADA                      TX     90014791744
38287723255972   VANESSA      ANGULO                       CA     90006347232
38291735431424   SHAYLA       SHERMAN                      MO     90013377354
38293244251382   JOESPH       FRITZ                        OH     90010142442
38293732591831   JUSTIN       MARTIN                       OK     90014077325
38298997372424   ARIANA       BENNETT                      PA     90006509973
38311725636143   MARILYN      CHOMOUT                      TX     90014657256
38312883377545   FERANDO      FERNANDO ORTIZ               NV     90012548833
38314543455979   JACOB        MURDOCK                      CA     90008515434
38316411241285   ARNOLFO      GOMEZ                        PA     90012814112
38316645355972   LIZETTE      LARA                         CA     90013646453
38319787441258   CHARMEL      GREEN                        PA     51037337874
38324834431424   FAITH        OLIVER                       MO     90013228344
38326774672424   SARA         HOUSEMAN                     PA     51034767746
38332616877581   JENNY        CHILDS                       NV     90013646168
38332731255972   MICHEAL      BROWN                        CA     48090587312
38334448361973   CARY         KANAVEL                      NV     90009424483
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38334871191356   ASHLEY       HARMON                       KS     29044518711
38338412441227   MARGARET     TUGGLE                       PA     90008644124
38341295491371   MACY         SEARS                        KS     90011722954
38341356591831   LELAND       BENDER                       OK     21062473565
38342247961987   CARRIE       JORDAN                       CA     90013842479
38342515555972   ANITA        CUELLAR                      CA     48049875155
38344417191543   JESUS        SATARAIN                     TX     90014274171
38347248555972   LARISSA      DUTRO                        CA     90003042485
38348798851369   STEPHANIE    MULLINS                      OH     90001117988
38353423991243   JOHN         SUMMERVILLE                  GA     90005124239
38354744936143   JOSHUA       YBARBO                       TX     90011237449
38355636141258   MARIA        HAWTHORNE                    PA     51029726361
38356475291831   MARIELA      GONZALES                     OK     90011014752
38357743141285   SANDRA       LANG                         PA     51039267431
38358349991831   CHRIS        BURGOON                      OK     21019243499
38359758431424   TRAVIS       MCCULLOUGH                   MO     90001827584
38359761751382   SARAH        SWEET                        OH     90014927617
38359796541258   JENNIFER     JIRSA                        PA     51068557965
38362297191831   DASHAWNA     WATKINS                      OK     90014812971
38362625993731   TORRES       JORGE                        OH     90002316259
38362998691831   KIM          SINGLETERRY                  OK     21090839986
38366378591831   CARLOS       TAYLOR                       OK     90013223785
38368257761973   COLONA       ERIC                         CA     46097672577
38369165431424   CAMERON      LAWRENCE                     MO     90013401654
38372665891371   JARROD       MORGAN                       KS     90009326658
38372787136143   VIRGINA      MOOSBAUER                    TX     73509917871
38376175655972   MARIA        REYNA                        CA     48075191756
38387617891881   ANTHONY S    TUCKER                       OK     21005476178
38388234555972   BELEN        CARRANZA                     CA     90011612345
38389383855972   MEL          GARCIA                       CA     48021553838
38391175293767   CHARITY      DIX                          OH     90009991752
38392627341285   ALEXIS       MC BRYDE                     PA     90003186273
38393195831424   SHARNEICE    HASKIN                       MO     90009351958
38393361491831   JESSICA      COLLIER                      OK     21084473614
38394126141285   ALONZO       SEAY                         PA     90012851261
38395617661437   REY          ALCANTARA-VALLADARES         OH     90014046176
38398743461925   ANA          PENA                         CA     90008747434
38399557691356   VALERIA      SANTOS                       KS     29003705576
38411432691979   SAMUEM       MBOYA                        NC     90012974326
38412338141285   JASON        KREY                         PA     90010653381
38412676336143   CHRISTIE     TREVINO                      TX     73540066763
38414268491831   TINA         CANDELAS                     OK     90013542684
38415348931424   ASHLEE       GULIFORD                     MO     90014313489
38417142731424   FELECIA      DRAPER                       MO     90012461427
38418452836143   SANDY        GONZALEZ                     TX     90010314528
38422119255949   EMMA         PEREZ                        CA     90005581192
38423112331424   THOMAS       PATTON                       MO     27501651123
38424564391356   AMANDA       CADENA                       KS     29067785643
38425292657172   MIGUEL       RIVERA                       VA     90008122926
38426548861972   RAFAEL       CAZARES                      CA     90012675488
38427165291371   TRACY        BRAUN                        KS     90010911652
38428195991371   VICTOR       PORRAZ                       KS     90002991959
38429377951369   TINA         O'NIELL                      OH     90006603779
38434972341285   DEONTE       ROBINSON                     PA     90013229723
38435849191831   GWEN         MAXWELL                      OK     21055678491
38438887141258   CAROL        PARTEE                       PA     51080728871
38438944955972   CARNELL      AUSTIN                       CA     48049319449
38439282391831   JERA         WHITE                        OK     90013542823
38439456355972   ARMANDO      VARGAS                       CA     90015174563
38439538491371   CASHANDRA    WALS                         KS     90013195384
38439822336143   BRITTANY     GOMEZ                        TX     90008268223
38444764455921   SAMANTHA     RODRIGUEZ                    CA     90004407644
38447363541258   HALEY        SANFORD                      PA     90012433635
38447676841258   CAMILLE      JOYCE                        PA     90010486768
38448565791831   ANIESHA      ALEXANDER                    OK     90002555657
38449581391356   MARIA        CASTRO-GAXIOLA               MO     90006125813
38456765741285   EDWARD       MARKUNAS                     PA     51048607657
38461292941455   ANTHONY      RIVERA                       WI     90014792929
38462681891356   MARIA        RAMIREZ                      KS     29039106818
38464533741258   DA'JUAN      WINDOM                       PA     51055365337
38464598991371   LAURA        TERRAZAS                     KS     90013205989
38467189191831   GINA         BRUMLEY                      OK     90009321891
38467316841285   JAMES        HEID                         PA     90012363168
38468292455972   FIDEL        SANDOVAL                     CA     48048722924
38468689891885   DIANE        DAVIS                        OK     90008946898
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38471556591538   ADRIANA      HERNANDEZ                    TX     75008875565
38473569791232   MARCIA       PENNIE                       KY     14577025697
38473948191831   LADONNA      CLARK                        OK     90014909481
38474824831424   JACKIE       WILLIAMS                     MO     90012938248
38476461436143   NICK         GUERRERO                     TX     90013934614
38478129191959   JOSHUA       PAYNE                        NC     90001441291
38478995331629   KIMBERLY     JACKSON                      KS     90009749953
38481172655972   DAVID        MEDINA                       CA     90012951726
38484647551369   DEBORAH      HILL                         OH     66047426475
38486837441258   THOMAS       BRINBLE                      PA     51014808374
38487397131424   ALLEN        BUGGY                        MO     90001693971
38487935391525   GEORGINA     PINALES                      TX     90012439353
38489742241285   CANDICE      BRAZIL                       PA     90014907422
38489951536143   MICHELLE     BALDERAZ                     TX     73517859515
38491993236143   ZACHRY       RAMIREZ                      TX     90013939932
38494286636143   LOUIS        EDWARDS                      TX     90015052866
38494799661981   HENRY        MAES                         CA     90006587996
38497762455972   MARTHA       VALENTIN                     CA     90000297624
38498363536143   JONNATHAN    BLATON                       TX     90011253635
38511711236143   GREGORY      HOOK                         TX     90013947112
38512571836143   VANESSA      DELGADO                      TX     90010215718
38513116231424   DOUG         WALTERS                      MO     90007411162
38513154736143   CARLOS       MARTINEZ                     TX     90005731547
38515741531424   SIERRA       WALKER                       MO     90013127415
38516461655972   KRAUS        SAECHAO                      CA     90012054616
38519964331424   OSCAR        CRUZ                         MO     90014299643
38522911251382   LADONN       BOOKER                       OH     90006999112
38524837431424   VANITA       DULANEY                      MO     27592278374
38525561555921   TANYA        NEWSON                       CA     90004545615
38526471941285   JASON        MONTI                        PA     90006564719
38528418831424   MARNICE      JOHNSON                      MO     90004804188
38528587191831   MARK         ELLIS                        OK     90011015871
38529816151363   RICK         EDWARDS                      OH     90002438161
38536266691959   EUDOCIA      BENITEZ                      NC     90011092666
38537279472424   BRYAN        RITTENBERRY                  PA     51094052794
38538223236143   GENARO       GARCIA                       TX     73511832232
38538446655972   ROGELIO      CASTRO                       CA     48013594466
38538639541285   MICHAEL      VASIL                        PA     90002066395
38541282551369   JOSE         SANCHEZ                      OH     90007202825
38541494131424   MARCUS       COLLOR                       MO     90010934941
38542636831424   DELISA       BANKS                        MO     90015096368
38542973892853   JENNIFER     MILLS                        AZ     90014139738
38543551691831   CHARLES      INKELAAR                     OK     90010475516
38544369891356   GEORGIA      JONES                        KS     90006223698
38547712791831   DANIEL       MONTOYA                      OK     90012697127
38549413247828   KAMEIKA      DAVIS JOHNSON                GA     90007534132
38552411731424   SHIMMERNIK   HOLLEY                       MO     90005274117
38552785141285   GEORGE       MAGDICH                      PA     51056687851
38555579341285   ALEESHEA     COSBY                        PA     90006505793
38558559741285   ALICIA       MCDONALD                     PA     90014075597
38561667236143   CRISTINA     JIMENEZ                      TX     90008556672
38562417291321   TERESA       ENDSLEY                      KS     90013154172
38563484991881   KACIE        FRANCIS                      OK     21089384849
38564772755972   NOLA         HORN                         CA     48008867727
38565721136143   KATIE        FARIAS                       TX     90013957211
38565873531424   JAMES        BRENNER                      MO     90005078735
38567261951382   ROSIO        CEGOBIANO                    OH     90005822619
38568137591831   KRISTINA     ELKINS                       OK     90014361375
38571552236143   MONICA       KING                         TX     90001065522
38574215357335   TIGER        ELLSWORTH                    MO     90015242153
38577546631424   NINICHKA     SHAW                         MO     90014975466
38578363254154   TERRAH       DORRIS                       OR     47037453632
38578382191356   LINDA        BARBER                       KS     29085223821
38578465241258   DENISE       MURPHY                       PA     51097044652
38581763491371   GENIEVA      GARRISON                     MO     29014587634
38583174436143   MICHEAL      ESTRADA                      TX     90014791744
38583656591554   CORAL        PEREZ                        TX     90005486565
38585283391988   MIGUEL       CONTRERAS                    NC     90002552833
38588314391356   ANGELA       RODRIGUEZ                    KS     29015013143
38594718741258   LAJUAN       RICHARDSON                   PA     90014917187
38595862841258   BRENLYNN     SMITH                        PA     90003858628
38595894391371   STEPHEN      DAVERN                       KS     90009148943
38598177431424   SAM          EVANS                        MO     90012651774
38612647736143   ALEXANDER    CASTILLO                     TX     90011266477
38615845131424   MAHTESA      FOWLER                       MO     90013188451
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38616633451382   QUIANA       BENNETT                      OH     90006506334
38619131372424   RONALD       CURRAN                       PA     51094491313
38619154491831   BROOKE       WASHINGTON                   OK     90014741544
38619341741285   TANK         LEAVY                        PA     90012313417
38622119241258   PHILIP       MARTINO                      PA     51012871192
38622829636143   JOSE         MENDOZA                      TX     90014038296
38625636536143   MICHAEL      VALADEZ                      TX     90004146365
38628794191893   JOHNEISHA    TITUS                        OK     21015937941
38628882731424   BRIAN        CRAWLEY                      MO     90007878827
38631137151369   HEATHER      GEOPPINGER                   OH     90008451371
38631561741285   SYLVIA       KELLY                        PA     90012155617
38632841136143   VALARIE      VALDEZ                       TX     73541278411
38634464255972   DEBBIE       CLAY                         CA     90008014642
38639346191831   GERMIRAH     GOUDEAU                      OK     90014813461
38641997277368   JOVITA       QUINTERO                     IL     90013659972
38643436491232   KARLENE      WEICKERSON                   GA     14514074364
38643571836143   VANESSA      DELGADO                      TX     90010215718
38644876251382   GEORGE       HOFFMAN                      OH     66098508762
38645963391829   WANDA        DOWDY                        OK     90008939633
38651169491831   AHISHA       SMITH                        OK     90015491694
38651575236143   JAIME        MCDOUGALL                    TX     90014085752
38653575236143   JAIME        MCDOUGALL                    TX     90014085752
38654266891371   PATRICIA     PRIETO                       KS     29093972668
38654337891232   LATARSHA     WARD                         GA     14593153378
38655622636143   KACEY        MENCILLAS                    TX     90014086226
38659584791861   LISA         MOSS                         OK     90010955847
38659682391831   FRANCISCA    MONGE                        OK     90011016823
38662225691831   LESLIE       SIMMONS                      OK     21062192256
38665127541285   TIFFANY      MICELLI                      PA     90007681275
38675217736143   AMY          ESTRADA                      TX     90014192177
38676482955972   MELISSA      AVINA                        CA     90014634829
38681827491371   DERRICK      WILLIAMS                     KS     90009388274
38684995291232   JAMAL        DAILEY                       GA     90006519952
38685521241285   NAJAH        KADHIM                       PA     90002135212
38685989191543   MAYELA       ANGEL                        TX     90007639891
38688532291831   LORNA        WILLIAMS                     OK     21084565322
38689468741285   PETER        SCHWAB                       PA     90009684687
38689844451369   PAMELA       CLINE                        KY     66011888444
38689844455972   GUILLERMO    GARZA                        CA     48057568444
38697375791356   ERNESTO      RESENDIZ-GALLEGOS            KS     90002573757
38699244291831   TOI          GARDNER                      OK     90004282442
38712848891371   CRYSTAL      SANDER                       KS     29016558488
38713146891959   MARIO        RODRIGUEZ                    NC     90009471468
38714685336143   MONICA       SANCHEZ                      TX     90006646853
38714823761945   THOMAS       WOOD                         CA     90010918237
38716375141285   JEANETTE     WRIGHT                       PA     51098783751
38716835691243   BETO         AVILLA                       GA     90001468356
38717523336143   MANUEL       BALADEZ                      TX     90014645233
38718329741285   DESIRAE      TAYLOR                       PA     90013273297
38719463551337   TERRY        MAY                          OH     90004294635
38725812141258   DERITA       PORTER                       PA     90014548121
38726258941258   KEVIN        EDUARDO SARATE               PA     51056622589
38728513984334   VERONICA     CARTER                       SC     90001905139
38732225341285   WAYNE        TYREE                        PA     90012872253
38743811791831   MISTY        MYRICK                       OK     90007408117
38744422191831   BRITTANY     WHITE                        OK     21044514221
38745871141285   ANDREW       BOWDEN                       PA     51029068711
38748355291831   CHARLIE      LIEATH                       OK     90015383552
38749119331424   RONALD       EASON                        MO     90009471193
38749219331424   RONALD       EASON                        MO     90014292193
38754281341285   VICTORIA     POCIASK                      PA     90013432813
38754597241285   VICTORIA     POCIASK                      PA     90012725972
38755475755972   PAULA        MAESTAZ                      CA     48031244757
38759118893761   CASSANDRA    MOORE                        OH     90004161188
38762976141285   DEIRDRE      BATTLE                       PA     51067359761
38763116941285   LLOYD        GERSTER                      PA     90013441169
38765489836143   FAWN         GOKEY                        TX     90011284898
38766129155972   BRENDA       CONNELY                      CA     48063061291
38768925251382   ASHLEY       SCHULER                      OH     66004449252
38769386736143   NICOLAS      RUIZ                         TX     90014263867
38769472155972   CARMEN       LOPEZ                        CA     48078944721
38773859991831   SANDRA       SMITH                        OK     90014358599
38774169181681   BEVERLY      SWINNEY                      MO     29008351691
38774387155972   JORGE        MEDINA                       CA     48074453871
38776259141285   LISSA        LUDINICH                     PA     51066422591
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38777149751369   JAHMECA      OSBORNE                      OH     90006521497
38778121391356   DOYLE        BROWN                        KS     29027451213
38781753391831   TEKINA       JONES                        OK     90006787533
38781976755972   DRENDA       YBARRA                       CA     90008979767
38784647736143   ALEXANDER    CASTILLO                     TX     90011266477
38791627891831   ESTRELLA     KENOLY                       OK     90002786278
38792912455972   CYNTHIA      ESPINOZA                     CA     90014909124
38793325531424   JAQUECE      MASON                        MO     90013303255
38793627155972   ORLANDO      PADIILA                      CA     48066696271
38795279131424   VICKYE       ALLEN                        MO     90013702791
38797766855972   MELISSA      BAILON GOMEZ                 CA     90013397668
38813843831424   STACY        KNEIP                        MO     27533758438
38814629491356   EDWIN        HARRIS                       KS     90011616294
38817319736143   JESSICA      BENAVIDES                    TX     73542603197
38818579191942   JUAN         JUAREZ                       NC     17089635791
38818639691831   ADAM         SMITH                        OK     90014456396
38819234641261   JEFFEREY     SENIOR                       PA     90007272346
38821914991831   MATILDE      BUENROSTRO                   OK     90003369149
38822429936143   KIM          ROSALES                      TX     90003334299
38823933455972   ESMERALDA    CASTREJON                    CA     48032299334
38825986831424   LINDA        BOYKINS                      MO     90004429868
38826244231424   SHARNA       PERKINS                      MO     27588042442
38826735691831   JAMIE        PLUAREZ                      OK     90012107356
38832872236143   DANIEL       YBARRA                       TX     90014728722
38833481841285   MARANDA      LONG                         PA     90014424818
38833571155972   TONG         SEE                          CA     48069105711
38833716893731   ERNEST       ARNOLD                       OH     90011377168
38834429691831   ASHLEY       BARLOW                       OK     90013774296
38836369191356   JORGE        ALBERTO                      KS     29019373691
38836938836143   MARK         NORMAM                       TX     90014729388
38841313151382   JASON        CROMER                       OH     66057913131
38842853936143   MARLENE      SACOBIE                      TX     90008648539
38844194136143   CRISTINA     HERRERA                      TX     90014731941
38844838941258   CHARLEENE    WILLIAMS                     PA     90014728389
38845764161999   CONNIE       FIGUEROA                     CA     90012887641
38846533263629   KATHERINE    SARGENT                      MO     90008835332
38847293491831   FRANCES      JUAREZ                       OK     90001592934
38849697736143   ALENA        BROWN                        TX     90002966977
38851345372451   ANTHONY S    POLK                         PA     90002413453
38852322871958   MONICA       KLEINHEIM                    CO     38031863228
38853855391232   CARMEN       MOLINA                       GA     14555798553
38855676936143   CYNTHIA      DURHAM                       TX     90014596769
38856633251594   BOGO         MAN                          IA     90014556332
38857217436143   TYRESE       DURHAM                       TX     90014762174
38857258351329   CHRIS        KENNEDY                      OH     66011162583
38861861391232   RICHARD      ADAMS                        GA     90004698613
38862198236143   ROBERT       PARTIDA                      TX     90014791982
38863354785974   DEBBIE       BRICKING                     KY     90011123547
38863398591831   SHANNON      ALVIAR                       OK     90011243985
38865561331424   RICKSHA      CODY                         MO     90014635613
38866265961437   GARPAR       TUM                          OH     90014062659
38866431631424   DANIELLE     HENDERSON                    MO     90010864316
38867447384379   WILLIAM      BILLINGTON                   SC     90010764473
38867974341285   SUE          KRETCHUN                     PA     51001299743
38869257136143   MONICA       SANCHEZ                      TX     90014792571
38873417536143   MATTHEW      PEREZ                        TX     90014794175
38873694563623   JACKLIN      OCTAVE                       MO     27515176945
38874471536143   RENE         JACKSON                      TX     90014794715
38876818141258   HELEN        LEININGER                    PA     90012398181
38881218732573   SANANIYE     BERNARD                      TX     90012762187
38881345636143   CYNTHIA      FUENTEZ                      TX     90007673456
38892781736143   JOSE         LIMON                        TX     90003257817
38894182361979   RICARDO      PAREDES                      CA     90003601823
38895834441258   SHAWNTAE     STEVENSON                    PA     90012398344
38896643241285   EDWARD       PATTERSON                    PA     90010686432
38911727441285   RANFIS       PEREZ                        PA     90014437274
38912198155972   CAMILA       CRUZ                         CA     48016611981
38913231536143   STACY        VERHAGE                      TX     90013332315
38914548991831   ALFREDO      ARIAGA                       OK     90012215489
38918927155972   ESTHER       CASAS                        CA     90013299271
38919783841258   DWAYNE       EDWARDS                      PA     90011787838
38919959841285   BARBARA      HARRIS                       PA     51070909598
38921597955972   LATOYA       SANCHEZ                      CA     48089285979
38925261391831   BETHANY      REDDOUT                      OK     21038792613
38925387555947   ROBERT       CRUZ                         CA     90013483875
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38927723455972   ALEXIS       STEWART                      CA     48088507234
38928587251369   DARLENE      LOWE                         OH     66081655872
38929967755972   MARGARITA    DIAZ                         CA     90011819677
38931389941258   LEELA        DAHAL                        PA     90013093899
38932193941258   JACOB        KEFFER                       PA     90014561939
38932394191356   AMBER        HARTSOOK                     KS     29042493941
38933125555972   RICK         ARTES                        CA     90013461255
38935182791371   KENIA        MCELROY                      MO     90009861827
38938739555972   CHRISTINA    PONCE                        CA     48032727395
38941169836143   CRYSTAL      CASTRO                       TX     90008991698
38942324541285   THOMAS       WILSON                       PA     90013493245
38946993841285   LISA         LANZA                        PA     90007759938
38952157941285   ROBERT       VAIL                         PA     51054331579
38952722991561   ERICK        BEJARANO                     TX     90011227229
38953117791371   MARI         REYES                        KS     29005441177
38954246255972   ELIZABETH    ALCARAZ                      CA     48077002462
38956278291356   ANNA         SANDOVAL                     KS     29028022782
38961759591885   RANDIE       CRAWFORD                     OK     90014987595
38965859391371   JAIME        RECINOS                      KS     90011978593
38965897755927   HECTOR       FELIX                        CA     90007508977
38971314871921   MIGUEL       ANGEL                        CO     90011293148
38971931951377   JUSTIN       HAFNER                       OH     90014829319
38976678472496   MELISSA      PORTERFIELD                  PA     90010506784
38978723231424   RUTH         ASHER                        MO     90014157232
38981387641258   QUENCY       HEAD                         PA     90013033876
38982645891232   MIKE         BROCKETT                     GA     14577396458
38984564731424   PAMELA       BUTLER                       MO     90015015647
38984645891232   MIKE         BROCKETT                     GA     14577396458
38985429555972   MITCHELL     ZERMENL                      CA     48012434295
38985541191831   CHRIS        POINDEXTER                   OK     21064005411
38985591491232   TYRONE       THOMAS                       GA     90000705914
38986161955972   RAYLENE      FLORES                       CA     90012321619
38986792191525   ALICIA       AYALA                        TX     75038397921
38988626331485   GAIL         BRASFIELD                    MO     90006226263
38993993291831   MICHAEL      CURTIS                       OK     90012039932
38995113741285   DANIEL       SEALS                        PA     90010991137
38995346794981   JULIO        FRANCISCO                    CA     90014703467
38995477455972   REGINA       DOMINGUEZ                    CA     90013084774
38995531391356   DINO         GIANNIOS                     KS     90005135313
38995761991525   DALIA        PACHECO                      TX     90009487619
38996328661931   ELIZABETH    RAMOS                        CA     90007773286
38998899791831   IRENE        JOHNSON                      OK     21036918997
39112495854151   PATRICIA     FREEMAN                      OR     90009014958
39112697391525   LILIANA      SELF                         TX     90014426973
39112979855949   CAROLINA     REYES                        CA     90013249798
39113221155972   JOE          GONZALES                     CA     90010642211
39113413291831   SANDY        CLIMER                       OK     90012234132
39115147555972   NANCY        FALCON                       CA     48016791475
39115438771962   ARCIELIA     SMITH                        CO     90013094387
39115932833649   DIANA        ROSARIO                      NC     90013489328
39122131731424   AMBER        WEBB                         MO     90010721317
39122613391831   VANESSA      PAYNE                        OK     90011056133
39123554941258   BELINDA      WILSON                       PA     51072135549
39126548241258   ANGELA       LYLE                         PA     90013805482
39127554955949   ALBERT       OCHOA                        CA     49073225549
39128659177544   NICHOLE      WELLINGTON                   NV     90011756591
39128977531424   MICHELLE     CLAYTON                      MO     90014889775
39129464791371   TODD         LESH                         KS     90010344647
39131411355972   JOSHUA       VAUGHN                       CA     48008364113
39131416455921   ASTRID       HERRERA                      CA     90013134164
39131543351578   MARTIN       GONZALES                     IA     90015515433
39135912791232   BERNARD      JONES                        GA     14516539127
39136367841285   BRENDON      SWIFT                        PA     90011463678
39136946855939   ERIKA        VEGA HERNENDEZ               CA     49016779468
39137241841277   LONI         VOLPE                        PA     51047792418
39137536141258   MARK         LEPPERD                      PA     90011705361
39137584941285   KRISTINA     NELSON                       PA     90010385849
39137859291371   JOSE         BARAHONA                     KS     90009228592
39138788591587   YESENIA      AGUIRRE                      TX     75016297885
39141177342365   LARRY        GOMEZ                        GA     90013081773
39144486457569   JANET        RASCON                       NM     90014134864
39152855255949   GERRY        VANG                         CA     49073148552
39153269351578   PRETOUSH     HARRIS                       IA     90015082693
39154343855972   BARBARA      VANHOEK                      CA     90013203438
39155222441285   CHENEA       ARINGTON                     PA     51029592224
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39155478461925   CYNTHIA      ARECHIGA                     CA     46001194784
39157985377544   HECTOR       SANTOYO-RODARTE              NV     90011789853
39158399191371   DEANDRE      SEALS                        MO     90003683991
39158679491584   JOSEFINA     RODRIGUEZ                    TX     75077506794
39158736541277   DONALD       KAZMIERCZAK                  PA     51060287365
39161397355972   SONIA        SALAZAR                      CA     90011113973
39161583585833   PRUDENCIO    VAQUIER                      CA     46004575835
39161865831424   MORGAN       TOWNSON                      MO     90013758658
39165972641277   JOSH         WEST                         PA     90008089726
39168929341285   EDWARD       SMITH                        PA     51026999293
39169585191885   BONNIE       WOODARD                      OK     90001045851
39169589155949   GUADALUPE    MIRANDA                      CA     90014345891
39173257591525   WENDY        ZEPEDA                       NM     75017032575
39173917891831   MARIA        MARRUFO                      OK     90012979178
39174495255972   TINA         FRIAS                        CA     48024084952
39174835771955   GILBERT      MUNOZ                        CO     90010318357
39176439291371   PEDRO        RAMIREZ                      MO     90007904392
39182582955949   JACOB        JEFF                         CA     90012575829
39182771492853   CINTHIA      MACIAS                       AZ     90011167714
39183579791371   MICAH        WALKER                       MO     90013715797
39186971755949   RACHEL       GALVAN                       CA     90012639717
39187117631424   KIONNA       MCCOY                        MO     90008491176
39187571491371   SAUL         MONREAL                      KS     90006745714
39189195141277   ROBERTA      WALLACE                      PA     90006631951
39189714831424   ALICIA       BERRY                        MO     90002867148
39189739431458   REBECCA      FANNINGS                     MO     27513017394
39189878291831   GINA         GRAHAM                       OK     90001658782
39192154691584   JESSICA      LIRA                         TX     90003161546
39195549141258   JASMINE      HOUSER                       PA     90003735491
39212398691831   GABRIELA     CRUZ                         OK     21003983986
39213485157131   CARLOS       AGUILERA                     VA     90008054851
39213963871955   HUMBERTO     PACHECO                      CO     90010769638
39214577277544   ADELA        CASTILLO                     NV     90003755772
39214789391543   GRACIELA     RODRIGUEZ                    TX     90000577893
39215767691831   AMA          DONSU                        OK     90015227676
39216133655972   JOHN         JONES                        CA     90012121336
39218481655949   MARIA        MORENO                       CA     90013934816
39218822441258   LOUISE       POSEY                        PA     90003218224
39219342555949   ROSITA       BOU                          CA     49007933425
39221892991371   MARTHA       ABBOTT                       KS     29085408929
39222925691371   LILIANA      CAMPOS                       KS     90013839256
39224845231424   PRESTEN      PINNELL                      MO     27537508452
39226175891994   NICHOLAS     SYDOW                        NC     90000881758
39226939155949   WILLIAM      FANE                         CA     90014639391
39229768741297   TINA         SHAY                         PA     51089077687
39233584741258   CYNTHIA      CEPHAS                       PA     51033105847
39234263955949   CAROLINA     MONROY                       CA     90011572639
39234691691543   EDUARDO      CARRASCO                     TX     75038726916
39236529955949   KEVIN        PRIAULX                      CA     90007845299
39239251155972   HECTOR       RIOS                         CA     48091422511
39239748685833   KAREN        PINO                         CA     90006697486
39244854491371   JAMMIE       SADLER                       KS     29014318544
39245581185824   MELISSA      WALTER                       CA     90005135811
39246585785939   KENNY        LOWE                         KY     66078725857
39247879285833   BALDEMAR     GOMEZ                        CA     90003378792
39248284391831   TARAS        WYNNE                        OK     90014872843
39249168571945   ALEJANDRO    ALDAVE                       CO     32012621685
39249178291831   JAKOBE       YOUNG                        OK     90013271782
39249477591831   JAKOBE       YOUNG                        OK     90014174775
39249862555949   EMILY        CROUCH                       CA     90011428625
39253185641258   RICSHAWN     JACQUELINE                   PA     51039531856
39254949641285   MICHAEL      HATFIELD                     PA     51072209496
39255134855949   YOLANDA      BAEZ                         CA     49082881348
39256252741285   ROSA         DOMINGUEZ                    PA     90012212527
39256337855972   ASHLEY       DURAN                        CA     48073613378
39257351451341   TINA         AKERS                        OH     90012733514
39257352841258   AMINI        NERSON                       PA     90012303528
39257936841258   JAVIER       ESPARZA                      PA     90014119368
39258323455972   ANA          HERNANDEZ                    CA     90014613234
39261474331424   ROCHELLE     GATES                        MO     90010804743
39264365377544   MARLON       BANDIJA                      NV     43095103653
39264545455972   TANYA        PASILLAS                     CA     90004505454
39265993761986   OSCAR        OLGUIN                       CA     90013529937
39266117851322   DANNIELLE    POWELL                       OH     90008341178
39266685441277   NICHOLAS     BOYKO                        PA     51072666854
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39272787991831   ALEJANDRO      SOLIS                      OK     21087027879
39273824931424   SHERITA        SANDERS                    MO     27594808249
39275929291831   CHARLES        JONES                      OK     21081139292
39276531655949   MARISKA        LOPEZ                      CA     49051315316
39276681261924   SERGIO         RODRIGUEZ                  CA     90002736812
39277736557131   REINA          MERCADO                    VA     81012647365
39278738771924   KATHERYN       TORRES                     CO     90011067387
39279214941277   JENNIFER       PESTOK                     PA     51069912149
39281231631424   JANAE          OWENS                      MO     90014612316
39282324885833   MICHAEL        HARRIS                     CA     90003403248
39283187355949   TRACY          GONZALEZ                   CA     49062661873
39283384191831   ERICA          MAKINS                     OK     90011953841
39283841291549   JOSE           AGOSTO                     TX     90013088412
39284268431424   TONY           ATKINS                     MO     90014712684
39285355155949   YADRIA         CERVANTES                  CA     49072003551
39285389131424   ALEXANDER      JOHNSON                    MO     90012943891
39291632541258   MOUREEN        PINDU                      PA     90012106325
39297129655949   CANDELARIO     QUINTERO                   CA     90015081296
39297498191831   GEORGINA       GARCIA                     OK     90014914981
39299188341258   KELLY          MICKMAN                    PA     90014771883
39311584655949   MARTHA         CASTALLENOS                CA     90008415846
39314129291831   KELLY          COYLE                      OK     90000901292
39316366755949   TERRENCE       SMITH                      CA     90011373667
39316411877544   OSCAR          VARGAS                     NV     43016004118
39316566691371   SILVIA         SIGUENAZ                   KS     29013555666
39319796884345   DRE            SMITH                      SC     90014587968
39322485191371   AUDREY         MITCHELL                   KS     29098784851
39323813755949   REYNA          HERNANDEZ                  CA     90013058137
39325426231424   CHRISTOPHER    DAVIS                      MO     90010224262
39326669141277   SANDRA         MARTINEZ                   PA     51096296691
39326974491371   EMILY          SQUIRE                     KS     90012429744
39327332391371   ALMA           SAENZ                      KS     29086873323
39329918491543   MIGUEL         VILLA                      TX     90014879184
39331116155949   WAYNE          BERG                       CA     49052751161
39331435641285   VANESSA        WILLIAMS                   PA     90014814356
39332477491831   SAMUEL         TOTO                       OK     90013974774
39335762685833   DOMINGO        RAFAEL                     CA     90011787626
39337424955972   EVA            SORIA                      CA     48038594249
39337752791831   VIOLETA        BECERRA                    OK     90002147527
39338249772495   JERRY          MOFFA                      PA     90010472497
39341116491587   NEYRA          ALCANTAR                   TX     75098741164
39342754591371   TODD           PREATOR                    KS     29043707545
39344437291584   ARACELI        CUEVAS                     TX     75067484372
39345313841258   ANGELA         SINGLER                    PA     90013923138
39347278441277   PAULA C        FERRIS                     PA     51046372784
39347767654154   TIFFANY        SEXSON                     OR     90000277676
39347951631424   BRANDON        STEWART                    MO     90012529516
39349466141258   RAHEEN         ALLEN                      PA     90013784661
39351913241258   PAYGO          IVR ACTIVATION             PA     90013859132
39353288555972   MICHELLE       MORENO                     CA     90007672885
39354624541258   RICHARD        TECK                       PA     90003796245
39357654125655   JENNIFER       POINTER                    AL     90015006541
39357863891371   RICK           PASSANTINO                 KS     29052558638
39358123855972   TONY           PONCE                      CA     90004781238
39359848577544   RUBEN FABI     TORRES                     NV     43011688485
39361658355949   JESSE          FLORES                     CA     90013296583
39364242941258   RICHARD        TUITE                      PA     90014652429
39364898631424   MELODY         EDMOND                     MO     27502048986
39366719547935   JOHNNIE        CRAWFORD                   AR     90002837195
39369955641258   RICH           SIPKO                      PA     51024579556
39372742971923   LARRY          EDWARDS                    CO     90007087429
39376489155972   OLGA           CORONA                     CA     48030424891
39378949577544   ANGEL          VAZQUEZ                    NV     90006609495
39379574355972   JUSTIN         LOVELL                     CA     48054395743
39379815477544   LEAH           MOORE                      NV     43056278154
39383282291371   CINDY          GUERRERO                   KS     90013962822
39384985961557   DERVIS         ALPIREZ                    TN     90003329859
39385481277544   STACY          LOPEZ-ROSAS                NV     43014024812
39385585931424   CHARLOTTE      RICHIE                     MO     90012765859
39386118255972   PEDRO          MACEDO                     CA     48044681182
39386194655949   LUIS ALBERTO   ROSALES                    CA     90012791946
39386984841258   SAMANTHA       MIRT                       PA     51044199848
39387898855949   JUAN           LOPEZ                      CA     90001568988
39389315555972   JOY            BAKER                      CA     90013233155
39389654991584   WENDY          FLETCHER                   TX     75007046549
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39389777171921   LISA               HINTON                 CO     32014317771
39389863541246   AMIR               MILLER                 PA     90008788635
39393198972495   JENNIFER           CARTER                 PA     90012641989
39393494141285   BARBARA            MULDROW                PA     51063974941
39393714255949   JESUS              SERATO                 CA     90013867142
39395287455949   NOEMI              VILLANUEVA             CA     90012752874
39395386831424   THOMAS             WINGENBACH             MO     90013903868
39398935841258   BODIE              ESSIET                 PA     51029979358
39411536191371   LEONEL             PALOMINO               KS     29074495361
39411968655972   BRENDA             VIRAMONTES             CA     90005999686
39412916285833   STEPHANIA          CAMBERO                CA     90013009162
39413515977544   SANDI              STUCHLIK               NV     43061915159
39415181231424   RYAN               BECK                   MO     90013811812
39416211531424   CHENELLE           CHEFFEN                MO     90010912115
39417249541285   TIMOTHY            KALLAY                 PA     51094882495
39418556741285   MARY               WIELGOLESKI            PA     90001395567
39418683255972   ALVEARN            HOWARD                 CA     90008336832
39418958891232   TONYA              WILLIAMS               GA     14528049588
39419455191831   REBECA             SALDANA                OK     90003914551
39424185241285   AMBER              WHITAKER               PA     90011101852
39424296871955   TIFFANY            TRUJILLO               CO     90013082968
39427127891831   RACHEL             BOHANAN                OK     90010891278
39427147341258   RONNA              FREUND                 PA     90011511473
39427488171962   STEPHANIE          DISPOTO                CO     32004454881
39427674741285   CHARLES            LUSTER                 PA     90014326747
39428799941258   LEDDIE             BARNA                  PA     90014847999
39429918655972   ISIDRO             OLEA                   CA     48043059186
39431734155936   MARGARITA          ARREDONDO              CA     49084297341
39432825355972   YOANA              ESTRADA                CA     90004298253
39433196355972   JUANCARLOS         REYNOSO                CA     48055741963
39435382455949   EBELIA FARIAS DE   BARRAGAN               CA     90014013824
39435436941277   MICCHELE           GREEN                  PA     90009154369
39435941831424   KENNY              BANKHEAD               MO     90014649418
39436528655949   NICOLE             SANCHEZ                CA     90010415286
39436964955972   CLAUDE             TOLBERT                CA     90004989649
39437689641285   ROB                ROSE                   PA     90010386896
39438757791525   LUZ                FAVELA                 TX     75089887577
39439423855972   DIANA              CASTRO                 CA     90007674238
39441216355949   CHEE               YANG                   CA     49000802163
39441939655972   ALBER              CUCHILLA               CA     90004139396
39442153391371   KARINA             AMAYA RAYMUNDO         KS     90006171533
39442327455972   TIM                DUKES                  CA     90007823274
39442568831424   ELVIS              SMAJIS                 MO     90013835688
39445723777544   JAMES              JUNGEN                 NV     90011347237
39446271541285   ASIA               MILLENDER              PA     90013432715
39446917855972   ALLYRIANE          DIAZ                   CA     90011479178
39452914191967   BOBBY J            HORTON                 NC     17037859141
39452962931424   KAYLA              CROY                   MO     90006039629
39453671377584   SHAWN              ROSSER                 NV     90008476713
39455856941285   BERNICE            DILL                   PA     90014738569
39457934341285   TRAYVON            SNOE                   PA     51050609343
39462487231424   NAIL               CARTER                 MO     27561364872
39463116155972   BERNADETTE         RODRIGUEZ              CA     90013771161
39463762591967   KENNETH            SCOTT                  NC     90015037625
39464741441258   LINDA              MCGINNIS               PA     90013687414
39465153685833   STEPHANIE          LOPEZ                  CA     90006951536
39466397941258   ERIC               RATTENNI               PA     90014743979
39466592955972   JOSE               CRISANTO               CA     90014865929
39469732141258   JACK               TARDD IV               PA     51067347321
39472193841258   SANDRA             ELLIS                  PA     90013181938
39472195891584   ALEJANDRA          DIAZ                   NM     90003891958
39476374455949   GUILLERMO          PEREZ                  CA     90010663744
39478926541258   JERRELL            HOSTON                 PA     90012179265
39481754191831   EDWARD             MCKINNEY               OK     21011227541
39483777355972   PEREZ              MIGUEL                 CA     90005387773
39484976491371   MARY               GROVES                 KS     29066029764
39485851755972   ESTER              FLORES                 CA     90013868517
39486728361982   EVANGELIO          RAMIREZ                CA     90008457283
39492237331629   STARLA             VANN                   KS     90013492373
39493795191831   JASMINE            BERRY                  OK     21078047951
39494544555949   STEPHEN            DIAZ                   CA     49082875445
39498162385833   ROSALVA            JUAREZ                 CA     90011931623
39511123141285   EL CANIO           SMITH                  PA     51027431231
39511635491831   JOSE               ZARATE                 OK     90010926354
39512127991831   WINDY              COBBS                  OK     90014811279
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39512147431424   TRACEY           BENGAIES                 MO     90005261474
39513695255949   OPAL             MAJOR                    CA     90014876952
39516759425365   PRE              HTOO                     WA     90015487594
39516846891371   CHRISTENSEN      MAXINE                   KS     90007638468
39518952961489   JANET            WARTON                   OH     90014809529
39519767757131   KASSAHUN         SHENKUTE                 VA     90002837677
39521343925655   CLENTHIA         JONES                    AL     90015053439
39521691691831   MARGARET         MILLER                   OK     90012746916
39521917391371   ROXANNE          EVANS                    KS     29083029173
39521932291371   ROXANNE          EVANS                    KS     90012579322
39523124755949   ANDREA           PILLUS                   CA     90000671247
39524536431424   MARY             GRAY                     MO     90005015364
39524877341285   SAMSON           LEE                      PA     90013138773
39526186855949   MARIA            MARTINEZ                 CA     90011691868
39526329691371   MICHAEL          BUSSONE                  KS     90014093296
39527497291831   TRAVIS           RILEY                    OK     90009684972
39528443141258   AMY              DAVIS                    PA     90014704431
39529984641258   THOMAS           DUPESKO                  PA     51078209846
39532753155949   RAYMUNDO         NAVARRO                  CA     49081947531
39533546333625   GAIL             SUTTON                   NC     12006775463
39533924591584   ALMA             CORTEZ                   TX     75023999245
39535348591538   YVETTE           FLORES                   TX     75009103485
39539474541285   AMBER            KOPRIVER                 PA     90013314745
39543678491371   MARIA            CALDERA                  KS     90015156784
39544286491831   TIANDRA          SWISHER                  OK     90014692864
39544392141258   MARGARETT        HAYS                     PA     90003103921
39545636455972   CIRILA           ROBLEDO                  CA     90013796364
39546557255949   MARIA            URIBE                    CA     49074895572
39552498955949   JOE              CAVAZOS                  CA     90013034989
39553111741285   TONY             BARTKO                   PA     90001021117
39554824855949   FELICIANO        MENDEZ                   CA     49021838248
39556352541285   BRENDAN          HERRON                   PA     90014833525
39556862877544   MICHAEL          BIRD                     NV     43083048628
39557599597126   CLAUDIA LORENA   LOPEZ AGULIAR            OR     90013115995
39557892291371   COURTNEY         LESPERANCE               KS     90015008922
39559263141258   RYAN             GRIFFITH                 PA     90013742631
39561775831424   ANN              SMITH                    MO     90010247758
39562393585833   ANTHONY          VANZANT                  CA     90007073935
39562466755972   OMAR             GUDINO                   CA     90014854667
39563535785833   DIONICIO         HERNANDEZ                CA     90005345357
39563868791831   COCO             REED                     OK     90014508687
39565868141285   DAVID            VELAZQUES                PA     90013348681
39568221441258   JAMES            LUNN                     PA     90014402214
39568533685833   DAVID            JURISOO                  CA     90011025336
39569477891831   ROBERTO          VARELA                   OK     90006164778
39572375991371   ADRIAN           OLIVAS                   KS     90015303759
39572841441285   ROSEANNE         DEBRUYN                  PA     51073238414
39573593731424   KELLEN           BOST                     MO     90010675937
39573594591549   STEPHANIE        ZAVALA                   TX     90004575945
39573955851595   KELLY            WILSON                   IA     90010349558
39575146591831   FERNANDO         AGUILAR                  OK     90013971465
39575559555949   GENOVEVA         SANCHEZ                  CA     49048785595
39577759741285   RONALD           RUSSELL                  PA     90002577597
39578831155949   FEAN             CHA                      CA     49015488311
39578855261999   JOSE SANTO       VALDEZ GONZALES          CA     90000388552
39578856941285   GREGORY          SHIELDS                  PA     90015178569
39578882991831   KRYSTAL          KIRBOW                   OK     90005188829
39579756191861   RENEE            NELSON                   OK     90007607561
39581271641258   TINA             TITUS                    PA     51068732716
39581886191371   CODY             GUMM                     KS     90014968861
39581923177544   DAWN             PAPLIA                   NV     43056279231
39582784955949   RICKY            NOVELLA                  CA     49011317849
39585996891831   STEPHANIE        BANGARD                  OK     90014739968
39586114555949   HUFFSTUTLE       CAROLYN                  CA     49096761145
39587715241285   SHELDON          BOYER                    NC     51001237152
39589721471923   HECTOR           VILLEDA                  CO     90006037214
39592991955972   JACK             DALOIAN                  CA     48010629919
39596744977584   JOSE             RODRIGUEZ                NV     43000997449
39599781641285   PENNY            GHRIST                   PA     51005147816
39599889691371   AMBER            MENDOSA                  KS     90008408896
39611639941258   CHRISTOPHE       PERKINS                  PA     51000876399
39614555271937   JAIME            GENDOES                  CO     90012615552
39614933355949   ANA              BECERRA                  CA     90015039333
39615516185833   EMA              MEJIA                    CA     90007155161
39616613277544   TIFFANY          CASINO                   NV     90004246132
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39616689991544   ALLEN        TIFFANY                      TX     90003536899
39618661655972   SHARON       RODRIGUEZ                    CA     48092276616
39619863755972   CRISTINA     IVARRA                       CA     48054398637
39622369291831   EDNA         CHERRY                       OK     90013203692
39624367577534   KEVIN        PHILLIPS                     NV     90011723675
39626685441285   NICHOLAS     BOYKO                        PA     51072666854
39627266955972   JUANITA      MARTIN                       CA     48013722669
39628298691584   JESSICA      CHAVEZ                       TX     75036622986
39632188891584   MARGARET     TONCHE                       TX     75005011888
39632917955928   LUCIA        MENDEZ                       CA     90004999179
39632931731424   TRACY        ENLOW                        MO     90013009317
39632996891831   STEPHANIE    BANGARD                      OK     90014739968
39633778955949   JEMSON       CHASENGNOU                   CA     90012707789
39635719441258   GARCIA       ZARAGOZA                     PA     90013257194
39636137391881   MACKENZIE    HYDE                         OK     90010361373
39637293841285   KRISTIE      NAPLES                       PA     90013982938
39639165255972   JOSE         GONZALEZ                     CA     90011491652
39641156731424   NAOMI        MCCALL                       MO     27563611567
39642976941258   PAIGE        MOODY                        PA     90008109769
39645513631424   JOE          WATHEN                       MO     90010785136
39647875491584   ANDREW       DOUGLAS                      TX     75017428754
39648863691371   KATHERINE    RICHTER                      KS     29080828636
39649211531424   CHENELLE     CHEFFEN                      MO     90010912115
39649512991371   AMY          MILLS                        KS     29012345129
39649962955972   NORA         ALVARADO                     CA     90011399629
39651732855972   GRACIELA     MARTINEZ                     CA     48043917328
39652623441258   JESSY        JONES                        PA     90014036234
39653953591371   KARLA        CASTRO                       KS     29095589535
39658499177544   PEDRO        ROMERO-GARCIA                NV     43015064991
39662453425655   RASHUN       CROOK                        AL     90015484534
39662625977544   JULIE        WEBB                         NV     43017546259
39664246441285   GLENN        HOFER                        PA     90001652464
39665229155949   RAFAEL       REYES                        CA     49057302291
39666749391537   AUDON        ROSALES                      TX     75065607493
39667777951347   JOSE         PADILLA                      OH     90008057779
39671883577544   DIANE        MORROW                       NV     43034808835
39671971391831   CALLIE       YOUNG                        OK     90013539713
39672372941285   WILLIAM      ANSELMI                      PA     51040243729
39673487931424   FALEENA      CRAPE                        MO     27558664879
39673936441258   LINDA        HARSHBARGER                  PA     90003729364
39678821841277   JESSICA      LANZ-SALOMON                 PA     51083468218
39682514291371   ERIC         NORMAN                       KS     90012215142
39684261757121   JAMES        BOHRER                       VA     90004902617
39685325485833   IRMA         MUNOZ                        CA     90011963254
39688542441285   JOHN         SMITH                        PA     90014885424
39691888991831   TERRY        MCGUIRE                      OK     21073858889
39692298891371   CHARLES      BALDREE                      KS     90011312988
39692513631475   ROXANNA      TREBUS                       MO     27548275136
39694916541258   JENNIFER     MARTY                        PA     90014359165
39712146591831   FERNANDO     AGUILAR                      OK     90013971465
39713921755972   ZEFERINO     BONIFACIO SALVADOR           CA     90012139217
39715447591831   ANGELA       WALLACE                      OK     90014344475
39716541191584   EVELENA      VEGA                         TX     75007265411
39717645591371   CRYSTAL      EVERIDGE                     KS     90012716455
39723491955972   DANIEL       ACEVES                       CA     48073394919
39726912455949   MICHELLE     MCKEE                        CA     90001729124
39727241185833   KEVIN        KELLY                        CA     46014972411
39729431861933   RICHARD      BROWN                        CA     90010874318
39735516955972   MIGUEL       DUARTE                       CA     90015045169
39735949585833   AGATA        EBONA                        CA     90008459495
39736784641258   SARA         OSBORNE                      PA     90013607846
39736932141277   LARRY        WILLIAMS JR                  PA     51014499321
39737218191371   MARIA        ORTIZ                        KS     90001022181
39737585641258   KARRILEE     MCINTYRU                     PA     90012035856
39743319691831   TANIECESHA   WILLIAMS                     OK     90010893196
39745787955949   ROGER        BRANZUELA                    CA     49074497879
39746354931424   CHAD         HICKS                        MO     27511423549
39747619871691   MELINDA      RICHARDS                     NY     52037856198
39749812841277   ELIZABETH    MARRY BALKOVEC               PA     90010718128
39751289777544   WENDI        FOX                          NV     43033022897
39751411385833   JOSE         CORTESCRISPIN                CA     90011864113
39751485791371   TAMIE        BUCKLER                      KS     29007534857
39753982191584   MIRIAM       ORTIZ                        TX     75015439821
39754794322922   ROBERT       JOHNSON                      GA     90014107943
39755532941285   SABASTIAN    PERELLA                      PA     90015365329
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39755951241258   CHRISTOPHE    WEBB                        PA     51096749512
39757448591831   SHELBY        MCADOO                      OK     90011854485
39759177441285   LEKESHA       PURTER                      PA     90011081774
39761656991584   ERNIE         DIAZ                        TX     75083186569
39762338841285   ANDREA        TURNER                      PA     51093783388
39763452255972   KENNETH       MYATT                       CA     90012874522
39764133755947   JOHNNEY       GUTIERREZ                   CA     90015151337
39764149831424   LEON          MACON                       MO     90012551498
39766294955949   DARIO         DOMINGUEZ                   CA     49051722949
39766358641285   CHIMERE       MOORE                       PA     90001563586
39769341291232   DEMETRIA      BREWTON                     GA     90003863412
39769573957131   MARIA EMMA    ERICK GONZALEZ              VA     90014925739
39769945755949   VALERIE       PALOMINO                    CA     90014639457
39773525441285   ANDRE         JOHNSON                     PA     51069275254
39775863977544   KERRY         HUMPHRIES                   NV     43067128639
39775956357135   ALEXANDER     CHAVEZ                      VA     90002489563
39776527157164   DENNIS        ROMERO                      VA     81015565271
39776652255949   PAUL          LARA                        CA     90014316522
39777457691952   IRIS          ULLOA                       NC     17089144576
39786623691584   LYNN MARIE    MARTINEZ                    TX     75080286236
39788782941285   EARL          DUNHOFF                     PA     51026707829
39794551391831   LIEN          KINGERY                     OK     90013435513
39795197891371   DUANE         BOHNERT                     KS     90011901978
39796147441285   RJ            SILAK                       PA     90002621474
39797173971924   ENOCH         VINING                      CO     90007891739
39797358591584   MARIA         NAVENAS                     TX     75062363585
39798573891356   MARCO         LOPEZ                       KS     90013265738
39799178385833   JOHN          LOPEZ                       CA     90006921783
39822871751578   JASON         MITCHEL                     IA     90013488717
39823338555949   RAYMOND       GARCIA                      CA     49097463385
39823399331424   JAMES         BOATRIGHT                   MO     27596743993
39823917855972   ALLYRIANE     DIAZ                        CA     90011479178
39825379991371   CHEVON        BLANKS                      KS     90010063799
39825465141258   GARY          STEIMER                     PA     90014464651
39827189191371   JAIME         PINTO                       KS     90013751891
39828534933665   MAYRA         VASQUEZ PEDROZA             NC     90001615349
39832446691584   GILBERTO      PAYAN                       TX     90006594466
39835589741258   LESLIE        RAINEY                      PA     51074315897
39837991191371   TEENA         HERRICK                     KS     29008419911
39839355791371   BHOLA         REGNIU                      KS     90013853557
39839649955949   ANGELA        LOZA                        CA     49057026499
39839828691831   JOSHUA        HOLLON                      OK     90011038286
39841599655972   ALEXANDRA     LEON                        CA     90014875996
39842724355949   MALINDA       YANG                        CA     90012667243
39843735841258   LAURA         BEALS                       PA     90013257358
39845725355972   MARIA         SANCHEZ                     CA     90010597253
39846656755949   STEPHANIE     COROANDO                    CA     90015346567
39851369661925   RAQUEL        SANDOVAL                    CA     90014763696
39852998277544   CHRISTOPHER   MARTINEZ                    NV     90003379982
39855464491371   LESLIE        SMITH                       KS     90013394644
39859441541285   ERIN          YOEST                       PA     90001864415
39859545477544   JULIE         CLEMENTS                    NV     43088205454
39863627841285   ULYSSES       CHURCH                      PA     90013456278
39864332371943   LINDA         WATKINS                     CO     90001583323
39868436431424   CHARLES       THOMAS                      MO     27517104364
39869247141285   AMY           LOWE                        PA     51094612471
39869863491584   ASCENCION     MENDOZA                     TX     75030288634
39872633491371   LISA          KIMBLE                      KS     90012876334
39872834851594   STEVE         DEGI                        IA     90014138348
39874317171955   LISA          PATE                        CO     90012373171
39876512477523   ROLANDO       RODRIGUEZ                   NV     90002945124
39878956891831   KIM           WILLIAMS                    OK     21029589568
39881846531424   TAMEISHA      SIMMONS                     MO     90010668465
39882765391371   FLORENCIO     GOMEZ-MONTOYO               KS     90013177653
39885519741285   MALIKA        EPPERSON                    PA     90011185197
39885613355949   EDDIE         HUERTA                      CA     90013336133
39885995491371   JEHIELL       ARTETA                      KS     90010009954
39887282955921   SANTIAGO      CORTEZ                      CA     90014052829
39888399441285   KELLY         FRAZIER                     PA     90014463994
39888796591584   LAURA         SILVA                       TX     75036707965
39889123591371   DANA          GAGE                        KS     90015061235
39889461455964   STEPHANIE     GONZALEZ                    CA     90000694614
39891414755949   VANESSA       MOBLEY                      CA     90008634147
39892537731424   TIERA         BROWN                       MO     90014495377
39892677255972   BENI          SALGADO                     CA     90014656772
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39892742291881   LEE          HENSON                       OK     90001827422
39895148761991   JESSICA      SANCHEZ                      CA     90010701487
39895431591371   SABRA        ROE                          KS     29023454315
39896418755972   CARRIE       MICHAELSON                   CA     90003984187
39897512641258   ERICKA       WHITE                        PA     90013085126
39899588141258   RICHARD      MORAN                        PA     51088325881
39912769633751   AMANDA       WILLIAMS                     LA     90015337696
39912924455972   JOSE         TRUJILLO                     CA     48078439244
39913964891831   PENNY        MOORE                        OK     21022579648
39915829431485   MIKAL        JONES                        MO     90004188294
39916748241258   VINCENTI     RAYMUNDO                     PA     90013687482
39917554355972   JESUS        RAMOS                        CA     90015135543
39918472555949   PETE         SIERRA                       CA     49007864725
39918867972496   YVONNE       BROWN                        PA     90008598679
39924558255972   DANN         HARRASSON                    CA     90015135582
39924688631424   DEANNA       WILLIAMS                     MO     90012356886
39926364291232   DENNIS       LISLE                        GA     14581203642
39926493577581   ANTONIA      HERNANDEZ-BAUTISTA           NV     90011164935
39926723791371   CHRISTINA    HUTCHERSON                   MO     90014777237
39929113477368   PAYGO        IVR ACTIVATION               IL     90015021134
39931188791831   JOSEPH       WALSH                        OK     90013641887
39939294455972   JANETH       CHAVEZ                       CA     90011432944
39939383841258   ROBERT       SLAINSKY                     PA     90013543838
39942352131424   JAMIE        HERBERT                      MO     27557893521
39943237491831   BO           WHEELER                      OK     90014412374
39946445855949   IGNACIO      ROMERO                       CA     49010924458
39946927831424   ALESIA       FEATHERSTONE                 MO     90011009278
39951356555949   RALPH        RIVERA                       CA     49080023565
39954792773221   ILSA         ABREU                        NJ     90015367927
39955384531424   RENIECE      RANDLE                       MO     90011123845
39957251531424   LAURA        LOVE                         MO     90006142515
39957989641277   MANUAL       MARTINEZ                     PA     51084449896
39958695941285   THERESA      RUNSKI                       PA     51036086959
39959759441285   ALESIA       MCFADDEN                     PA     90012527594
39962366291371   ARIF         JOARDER                      KS     90007613662
39963654254191   JAMES        DARROUGH                     OR     47051046542
39964831591371   MARIA        MOLINERO                     KS     90000658315
39966961331639   JANAYA       PAYNE                        KS     90001689613
39966977441258   DEREK        BAUER                        PA     90013649774
39967711991831   MEIKA        ROBINSON                     OK     21076937119
39972678191371   JOANA        HERNANDEZ                    KS     90012766781
39978315241285   NICK         GIESE                        PA     90012683152
39979666141258   MARK         ANDERSON                     PA     90015316661
39981271655972   MARTHA       AGINAGA                      CA     90009762716
39981328255949   MONICA       VALDIVIA                     CA     90012673282
39982355855949   CAROLYN      BARSAMIAN                    CA     90010133558
39983131855972   TOMAS        MANDUJANO                    CA     90012131318
39983179977523   JUSTIN       CONE                         NV     90012321799
39983189241285   JENNIFER     MANSON                       PA     90011101892
39984511641244   JASON        WASIELEWSKI                  PA     90010605116
39984566585965   TERRA        SELLERS                      KY     90010735665
39985927851594   NASIR        KEMI                         IA     90015269278
39988647955949   MERCEDES     IBARRA                       CA     90012666479
39989266191831   PAM          NOBLE                        OK     90008552661
39994355691561   CARLOS       HERNANDEZ                    TX     90011523556
39995556591831   JULIE        MURRAY                       OK     90014065565
39997959141277   SHAWN        JOHNSON                      PA     51062669591
39997981555949   MARIA        ONZALEZ                      CA     90003839815
39998173241258   KIM          WILLIAMSON                   PA     90007071732
39998963191371   VICTOR       MANSILLA                     MO     90002139631
41111587971999   DEBBIE       VALDEZ                       CO     90013705879
41111897491549   MARISA       SANTAMARIA                   TX     75097588974
41113156991988   LOURDES      HERNANDEZ                    NC     90012791569
41113678755939   AMAIRANI     MAGALLANES                   CA     90001286787
41114731951334   VONDALE      ELLERY                       OH     90005707319
41114866955939   ARACELI      ARREOLA                      CA     90011558669
41116195651334   LEE          LUX                          OH     90012701956
41116245184351   KEVIN        KUCH                         SC     19035652451
41117396886448   GINA         DUGUAY KNOP                  SC     90014843968
41117576371999   MARY         ANTRIM                       CO     90007445763
41117741951334   ROSCOE       FIELDS                       OH     90011507419
41118176955939   GORGE        TINOCO                       CA     49053551769
41118387891569   ADAN         RENTERIA                     TX     75054243878
41118791641294   DESALLES     ROBBINS                      PA     90000697916
41121832755939   JUAN         CASTILLO                     CA     90014688327
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41125856191873   TONYA        TACKETT                      OK     21064178561
41125913831649   JERRY        LEIS                         KS     90010999138
41128934993794   AMBER        LIMING                       OH     90012389349
41129277171999   SHANTEL      FRAZIER                      CO     38051692771
41131132571999   DAVID        MARMOLEJO                    CO     38095571325
41131356791988   KOURTINI     BRANDON                      NC     90009443567
41132966655939   OSCAR        CARRERA                      CA     90010349666
41133241451334   JONEA        ANDERSON                     OH     90015162414
41134291861967   ERNESTO      CRUZ                         CA     90011412918
41135726747954   TINA         ROBERTSON                    AR     25004117267
41135744191569   CECILIA      ANDREWS                      TX     75013917441
41138723171934   KENNETH      HARREL                       CO     32092417231
41139877591873   RICKY        PRICE                        OK     90003598775
41141927161967   DANIEL       LICON                        CA     90012929271
41142113955939   MARIA        AYALA                        CA     90014491139
41143529291394   JASMINE      GRANT                        KS     29003965292
41143745893794   TONYA        DAVIS                        OH     90005547458
41144261291569   WELLINGTON   FIGARO                       TX     75015282612
41146324747871   JOHNNITRE    PALMORE                      GA     90012113247
41146631491569   SANDRA       AGUIRRE                      TX     90014826314
41146832891394   DENEDRA      CALDWELL                     KS     90002338328
41148816793794   THIMOTHY     COLMS                        OH     90007468167
41149873691394   MATTHEW      JENKINS                      KS     90009368736
41151395661963   VIDAL        PATRICIO                     CA     46011093956
41152572751334   CLIFFORD     OLVERSON                     OH     66093275727
41153431891394   ELOY         AGUIRRE                      KS     90014034318
41154375661963   NATE         CURTIS                       CA     46003753756
41154544891394   TRACY        PARKS                        KS     90015305448
41154831771934   ANGEL        MATTHEWS                     CO     32008238317
41155148791569   NORMA        NAVARRO                      TX     90004591487
41156481691569   PRISCILLA    VARGAS                       TX     90011354816
41158395855939   APRIL        FANE-HARDEN                  CA     49061763958
41161519771999   DONALD       PIKE                         CO     38075775197
41162937561933   LINDA        BOMAR                        CA     90012289375
41163268651334   NICK         YOUNGER                      OH     90004312686
41167791991873   MARK         COOLEY                       OK     90013817919
41172461891988   CHANIECE     TABORN                       NC     90014574618
41172969271999   ANTHONY      DEVAN                        CO     38009959692
41173544991394   VICTOR       SEGURA                       KS     90015305449
41176853671999   NIKKI        JARAMILLO                    CO     38074748536
41176957261967   MARCO        REYES                        CA     90001309572
41177198885949   KEITH        BEVERLY                      KY     90007541988
41177493141294   JOSE         HERNANDEZ                    PA     90006404931
41179877591873   RICKY        PRICE                        OK     90003598775
41181126941294   KEVIN        CHAMBERS                     PA     90008561269
41181236993794   HAZEL        WASHINGTON                   OH     66008462369
41181654261963   BARAKI       TEKLEHAIMANOT                CA     90013116542
41183566191873   MARGOT       WALL                         OK     90010745661
41186652191872   MEGAN        MCCONNAUGHEY                 OK     90009096521
41188457393794   JENNIFER     COUCH                        OH     90012684573
41191739361967   MARCO        GARCIA                       CA     46031037393
41191916791988   CHISTINE     MCCLURE                      NC     90000399167
41191931792825   ANCELMO      RANCISCO                     AZ     90015299317
41192188761963   JAMES        DEY                          CA     46036701887
41192253191988   SHONTIA      DANIELS                      NC     90014272531
41193438393768   DONNA        MILLER                       OH     90001024383
41193883961967   CARLOS       VAZAN                        CA     90012648839
41194129593794   TAMI         TUPLIN                       OH     90015131295
41194192171999   JIMMY        KIEFER                       CO     38092651921
41198138251334   KIMBERLY     DAVIS                        OH     90013931382
41198514191569   MARTIN       ZAMARRIPA                    TX     75081535141
41199843461956   RAUL         RAMIREZ                      CA     90002328434
41199995471999   KATHLEEN     SHISLER                      CO     90014949954
41211291391569   MONICA       GUZMAN                       TX     75007052913
41212862891873   NICCARO      COLE                         OK     90014208628
41213928161967   ROBERTO      VARGAS                       CA     90012929281
41215465193784   HEIDR        OWINGS                       OH     90011304651
41215657555939   BIANCA       HER                          CA     90009036575
41216914761967   DAVID        GONZALEZ                     CA     90009699147
41217934993794   AMBER        LIMING                       OH     90012389349
41217938971934   FRANCISCO    ROSAS                        CO     32098539389
41218113371999   URIEL        BOGARIN                      CO     90012991133
41218686393794   TIFFANY      MYERS                        OH     66004736863
41221863171999   MADELINE     FIGUEROA                     CO     90013038631
41222362291394   GUADALUPE    ORTIZ                        KS     90013153622
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41223213991569   JOSE         CORDERO                      TX     90011152139
41223243951334   ANGELA       BURCHETTE                    OH     66092342439
41224994591873   JESUS        DELGADO                      OK     90003599945
41225692547954   STEPHANIE    REYGADAS                     AR     25024576925
41226672257134   SAEEDA       SHARIF                       VA     90004296722
41227116791394   MARIO        ESPINOZA                     KS     90013341167
41228244693724   ANNE         EMMONS                       OH     64509362446
41229278961963   HUGO         SANCHEZ                      CA     90013842789
41232779161963   NELSON       LEON                         CA     46030517791
41233121355939   KENG         LOR                          CA     90013091213
41233647591547   ERIC IVAN    GARCIA                       TX     75015346475
41234967191569   JASMINE      HIDROGO                      TX     90013229671
41235563955939   MARIA        VALDOVINOS                   CA     90015215639
41236829261967   ADRIANA      GILBERT                      CA     90009708292
41237683991873   PAUL         WALLACE                      OK     90014816839
41238377891988   GLADIS       FUNTES                       NC     90015133778
41238432691988   ASHLI        GREEN                        NC     90014274326
41239187293794   JOSHUA       PEREZ                        OH     90008251872
41241878391873   CANDY        BIRKHEAD                     OK     90008088783
41243315661967   MONICA       HINOJOS                      CA     90013373156
41243362186545   DEBORAA      CHASTAIN                     TN     90013943621
41243618351334   KARL         OVERTON                      OH     66007596183
41244995371999   ROSE         PINO                         CO     90003039953
41245775855939   BOBBY        GIPSON                       CA     90007937758
41246534371999   KRISTAL      PATTI                        CO     90005195343
41246787171934   JAMES        CLOWSER                      CO     32059727871
41247739531621   SANDRA       DUNN                         KS     90012117395
41248754191569   DONOVAN      BYERS                        TX     90015317541
41248819955939   ENRIQUE      CARDENAS                     CA     90012038199
41251145951383   MARIA        MARTINEZ                     OH     66069731459
41252476291988   JUVENAL      IBARRA                       NC     90014274762
41253816591394   PATRICIA     TORRES                       KS     90008008165
41254197451334   NATALIE      MCCREARY                     OH     66084631974
41254429571999   AMADO        DIAZ                         CO     90014884295
41255958791394   AMANDA       EVANS                        KS     90006389587
41256145551334   BRENDA       CROLEY                       OH     66093291455
41258395585877   AMY          KATHEISER                    CA     90001573955
41259622691394   HERCULANO    SANTOYO                      KS     90007426226
41262622571999   JUSTIN       COOPER                       CO     90007956225
41264126555939   JORGE        GARCIA                       CA     90013091265
41265413351334   BRANDY       FLEMING-BROOKS               OH     90001984133
41265985342354   WINSTON      SHAVER                       GA     90008289853
41266798961963   MACARENA     HERNANDEZ                    CA     46050767989
41269714971934   MAURICE      MCCLAIN                      CO     90001677149
41269981955939   ROWDY        RUSCONI                      CA     90005089819
41271184793794   MARSHA       SHULTZ                       OH     90010881847
41271356955939   JESUS        GASPER                       CA     90006173569
41272291755939   JAY          GALLARDO                     CA     90006822917
41272989991394   TED          HAWJ                         KS     90013409899
41273183293794   ROBERT       GERRARD                      OH     90015011832
41273452755939   ALEJANDRO    CHAVEZ                       CA     90007874527
41273634161963   VICTOR       NEVAREZ                      CA     46015946341
41273699351334   JUAN         GAMEZ                        OH     90011906993
41273932447954   JOHEL        PEREZ                        AR     25002389324
41274582291873   DAVID        COOK                         OK     90012695822
41276982893794   CATHY        STEWART                      OH     90013539828
41278819491988   LUCERO       PONCE                        NC     90011738194
41281326185841   RICHARD      SWANSON                      CA     90005863261
41281425951383   KEN          PATRICK                      OH     90004624259
41282212771934   JUAN         CARLOS SOLIS                 CO     32052952127
41282825261956   ROBERT       ELLERING                     CA     90006438252
41282861791569   PRISCILLA    FLORES                       TX     75086698617
41283487461963   LAWRENCE     SOMERS                       CA     90002214874
41283593461967   VIDA         MONTES                       CA     90013475934
41284319386478   JONATHON     WHITEFIELD                   SC     90013353193
41285133555939   DANIEL       GARCIA                       CA     90013091335
41285929173264   CARLOS       SANCHEZ                      NJ     90015249291
41287888461963   MARIA        DEL PILAR                    CA     46065228884
41288385991394   LISA         BOYD                         MO     29086313859
41288816893794   ASHLEY       TURNER                       OH     90012988168
41292617491873   CR           BERENGUER                    OK     21005836174
41294485271999   JOSE         PALMA                        CO     38087854852
41295728255939   JORGE        OSEGUEDA                     CA     90014257282
41297793361967   MARIA D      SANCHEZ                      CA     90014067933
41299399941258   KHAIYA       ROSE                         PA     90006493999
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41299671461967   MAGDALENA       AVILA                     CA     90015216714
41312388461963   MARIA           CERVANTES                 CA     90012413884
41314188491873   STEPHANIE       EMSPERITT                 OK     21040941884
41315516661967   HEYDY           HERNANDEZ                 CA     90014155166
41317517461963   DANIEL          ARCE                      CA     90015135174
41317862393794   GLENN           PHILLIPS                  OH     66012278623
41318458991873   RACHEL          FRITZ                     OK     21070704589
41318558861967   CODY            MELTON                    CA     90014155588
41319684555939   MARISELA        CEJA                      CA     90014826845
41319696771934   BRANDA          SCOTT                     CO     32083116967
41322199355939   CHARLES         MCMATH                    CA     90013101993
41323151151334   BRENDA          SUMNER                    KY     66039411511
41323785393794   RICKY           BOBBY                     OH     90015247853
41324758691569   MARIA           LOPEZ                     NM     90007497586
41325436251334   TAMI            WHITAKER                  OH     66006534362
41325625891988   ALFONSO         REYES                     NC     90014576258
41325983791569   JACKIE          REYES                     TX     90007849837
41329614961963   DINA            IBARRA                    CA     90014656149
41332853761963   MANUEL          LUGO                      CA     90013358537
41333416171999   PRIEN           TANYA                     CO     90012334161
41334212791394   ADAN            HERNANDEZ                 KS     90015462127
41336655891988   CHRISTINA       DECOSHA                   NC     90014576558
41339238193794   SCOTT           EMINGS                    OH     90012962381
41339398755939   RUBEN           SARAGOZA                  CA     90008963987
41342221431474   SHENEA          GARY                      MO     90007572214
41342686651334   MATTHEW         BURKE                     OH     90015236866
41345146891569   ALEX            MARTINEZ                  TX     75074231468
41351293991873   DWAYNE          WEBSTER                   OK     21030712939
41351523355939   CRYSTAL         RAMIREZ                   CA     90010985233
41352748951334   DEIBRAN         SANTIAGO                  OH     90008947489
41353299291988   GABRIEL         MARTINES                  NC     90012962992
41353389355939   CYNTHIA         PRECIADO                  CA     90011553893
41353545771999   PAUL            BUENO                     CO     38008095457
41355282551334   DANIELLE        GEORGE                    OH     90007362825
41355335693794   SHERRIE         CODY                      OH     90010023356
41355781671999   DANNY           ROCHESTER                 CO     90013987816
41356956531448   HELEN           GUBO                      MO     27518019565
41359762251334   BRITTANY RAYE   DAVIS                     OH     90013167622
41364579555939   PABLO           AVILA                     CA     90015215795
41366345841241   LATAIJA         BARRON                    PA     90008853458
41366597771999   MICHAEL         GONZALES                  CO     90011315977
41367427581639   DALE            LINDSEY                   MO     90007834275
41368366291988   VERONICA        TUCKER                    NC     17079943662
41369433471999   CHRISTINE       YALOTZ                    CO     38064434334
41371389651334   LATORIA         SMITH                     OH     90014563896
41371559491988   YOLONDA         GUI                       NC     90014585594
41371573685941   KEVIN           LEEK                      KY     90014035736
41371838461967   TIMOTHY         FRANKLIN                  CA     90014728384
41374143191988   CARLOS          GONZALES                  NC     90013301431
41376313361967   CONNIE          WEHRER                    CA     90014623133
41376854291988   TAMARA          LEAK                      NC     90014568542
41377142471999   DARYL           WALLACE                   CO     90010811424
41378748271934   EDDIE           BLACK                     CO     32001737482
41382594293794   TERA            GROW                      OH     66078315942
41384871991394   OCTAVIO         MARQUEZ                   KS     29045378719
41384916191569   RUBEN           DAVILA                    TX     75050779161
41385364691394   LETICIA         HERRERA                   KS     90013043646
41385773241265   SHAWN           OCONNOR                   PA     90005007732
41385972155939   NORMA           CEJA                      CA     90000309721
41387186871999   ANTHONY         GALINDO                   CO     38052361868
41387318281639   BRIANA          KENEFAKE                  MO     90001063182
41388327791569   VIVECKA         VALDEZ                    TX     90014153277
41388592891394   TORI            SHIRK                     KS     90012515928
41389254893794   LARRY           GARRISON                  OH     90013092548
41389258691569   MARIA           ESCARENO                  TX     90010222586
41389312941294   SCOTT           O DONNELL                 PA     90010543129
41391142471999   DARYL           WALLACE                   CO     90010811424
41392772161963   JOHN            WIPF                      CA     90014557721
41392798985697   MICAELA         CHAVEZ                    NJ     90012717989
41392969293794   TOM             FORD                      OH     66009009692
41393745893794   TONYA           DAVIS                     OH     90005547458
41394492955939   GREGORY         COTTON                    CA     90013404929
41394838585931   DEBORAH         COLE                      KY     67014638385
41397912791348   PATRICK         MCGINNIS                  KS     29041309127
41398466961967   ARTURO          NAVA                      CA     90013074669
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41412311993794   WILLIAM       MYERS                       OH     66017793119
41413976161963   VINCENT       TOLAN                       CA     46034369761
41414826255939   CODY          XAYPANGNA                   CA     90010488262
41419575191394   MEGAN         ANDERSON                    KS     29076405751
41419618351334   KARL          OVERTON                     OH     66007596183
41421362491569   ENRIQUE       ZARABIA                     TX     75004473624
41421414991873   WILLIAM       WHITE                       OK     90012924149
41422785771934   JUAN CRUZ     GARCIA                      CO     32015687857
41422912491394   STACI         ZUEL                        KS     90012009124
41424639193794   BRITTA        SHAFFER                     OH     66043556391
41425431593794   KAYLA         WAGNER                      OH     90009974315
41425547871933   LETICIA       ESCALANTE                   CO     90002305478
41426632961967   RAMIL         BULATOV                     CA     46044486329
41428437193767   KIMRII        PERRY                       OH     90012924371
41428531491873   JOHN          WASHINGTON                  OK     21006335314
41428713255939   CHRISTOPHER   DAVENPORT                   CA     90013117132
41429869791873   EDITH         B BÁEZ                      OK     90014188697
41432943191569   JORGE         HERNANDEZ                   TX     75089469431
41434249351334   ANDREW        LETNER                      OH     90014812493
41435294961963   ASHLEY        CROSS                       CA     90013412949
41436865391394   ERICA         BOATMAN                     MO     90012348653
41438297591988   MICHAEL       ROSS                        NC     90002222975
41438363755939   SUKHDEEP      SINGH                       CA     90005553637
41438478551361   KELLY         WAGNER                      OH     90005514785
41438621971999   BRANDON       CORDOVA                     CO     90011316219
41438973393794   PAUL          ANDERSON                    OH     90013239733
41439191293794   JEFF          HENSLEY                     OH     90012801912
41442148993794   ROGER         BURTON                      OH     90014541489
41442891291569   GUADALUPE     POLANCO                     TX     75038698912
41444661771999   STEPHANIE     QUINTERO                    CO     90013326617
41444998261963   RYAN          JUAREZ                      CA     90015139982
41445226861963   OCTAVIO       VALENZUELA                  CA     90005182268
41445671661967   SHIELA        HOFILENA                    CA     90012716716
41446661891988   SHANETHA      ANDERSON                    NC     90010606618
41446991261967   JAIMI         MCGRAW                      CA     90001039912
41447659961965   VICENTE       MARROQUIN                   CA     90012026599
41449334671934   KIM           GORMAN                      CO     32015553346
41449395855939   APRIL         FANE-HARDEN                 CA     49061763958
41449576347954   SHELLY        WILSON                      AR     90004295763
41451489261963   RICHARD       EGAN                        CA     90014924892
41453989191881   LAWRENCE      HENSON                      OK     90005239891
41455332291873   MANGLEE       WEAY                        OK     90010243322
41458249451334   JULIA         NIKLAS                      OH     90014812494
41458279621622   JEFFERY       NEWELL                      OH     90014072796
41458897861967   PATRICIA      DUARTE                      CA     90009718978
41461219991988   KIARA         DAVIS                       NC     90011262199
41463792571934   FERNANDO      MARAVILLA                   CO     32032047925
41464282161963   BRITTANY      POSEY                       CA     90008412821
41464717341258   TRICIA        CARTER                      PA     51085747173
41464892491569   PRISCILLA     FLORES                      TX     90009478924
41465832971934   FRANCES       BAPTISTE                    CO     32013658329
41466881591394   BILLY         WOODS                       KS     90010298815
41467977355939   GLORIA        VELAZQUEZ                   CA     90010799773
41473267891394   CARMEN        JONES                       KS     90001582678
41475177891394   SAMIYYAH      EPPS                        KS     90014901778
41475961155939   ROBERT        JORDAN                      CA     90014859611
41476676471999   RAYMOND       CORTEZ                      CO     90012126764
41478211441258   TATILA        BELL                        PA     51009502114
41478766261963   DARRYL        JONES                       CA     90015167662
41479528743576   MARIBEL       BRAVO                       UT     31002935287
41482762181639   BRANDY        MAYS                        MO     29080937621
41486336571934   JOHNATHAN     GRIFFITHS                   CO     90003773365
41486358355999   ROGELIO       ESTRADA                     CA     90014693583
41486844591569   JESSICA       ACKER                       TX     75021868445
41486853191988   KENYATTA      BIGGENS                     NC     90013108531
41488988671999   GABRIEL       DEHERRERA                   CO     90015089886
41489851861967   CARMEN        CASTILLO                    CA     90013018518
41491521871999   RICARDO       MARTINEZ                    CO     38036365218
41494653591988   PAMELA        HOLE                        NC     90008486535
41495147993794   JANICE        CRAMER                      OH     90012601479
41496257991873   CHRISTY       DEMERY                      OK     21001072579
41496727961967   JAN           HURTGEREN                   CA     90014147279
41496991741294   TANESHIA      DEMUS                       PA     90003169917
41497526891988   TOM           BEAN                        NC     17008495268
41497768793794   CAROL         NOREN                       OH     90006067687
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41498283791394   DRENNA         CAMPBELL                   KS     90004362837
41511167391394   TYLER          HUGHES                     KS     90012701673
41513347771231   WES            ARRICK                     IA     90006233477
41513571191873   MARIA          PETERSEN                   OK     90012915711
41514669191988   LATOYA         DAVIS                      NC     90014586691
41514742361973   TONIA          HERNANDEZ                  CA     90014737423
41515815931432   ANGELA         CLIFFTON-HARPER            MO     90013438159
41517534942339   EDWARD         MULLINS                    GA     90011355349
41518423191569   JOSE DISMAS    ANAYA DISMAS               TX     90013764231
41519756191569   BRENDA         LEDEZMA                    TX     75037637561
41521332991988   CHRISTINO      HERNANDEZ                  NC     90003273329
41522188654191   SCOTT          WALES                      OR     90002601886
41523421481639   KIMBERLEY      RUNYON                     MO     90011684214
41523899391873   MONNICA        LAWRENCE                   OK     90012148993
41524168193794   KIMBERLY       DALZELL                    OH     90011051681
41525375841294   PRUDENCE       NORMAN                     PA     90006793758
41527115191394   MALIA          GRAFF                      KS     29075261151
41528355291569   CAROLINA       GALINDO                    TX     90013083552
41528669961967   FRANCISCO      VARGAS                     CA     90002886699
41531374761967   STEVE          YOUNG                      CA     90003503747
41531919855939   ADALVERTO      ZUNIGA                     CA     90015119198
41532576191873   CLINTON        USSERY                     OK     90009245761
41535894291394   AYDEE          PADILLA                    KS     90014478942
41536147891873   CODY           FITZGERALD                 OK     90008991478
41537417251334   KRISTINA       KOEBBE                     OH     90014564172
41537486491569   JENNY          ALVAREZ                    NM     90011404864
41537897491988   MIRIAN         MENDEZ                     NC     90013798974
41538683471999   BENJAMIN       BOND                       CO     38059336834
41541474361963   JERLENE        MASON                      CA     90001474743
41542637371999   MARK           HERNANDEZ                  CO     90007706373
41542767241258   DAVID          MORIS                      PA     90005647672
41542839385841   MICHAEL        MARASCO                    CA     46009318393
41544324861963   ARRON          LOPEZ                      CA     90013843248
41544638193755   MELANNE        WHEELER                    OH     90002446381
41544691571934   TAYLOR         GALLAGER                   CO     90005446915
41545532291873   PAULINA        PEREZ                      OK     21008835322
41546939893794   FREDRICK       JACKSON                    OH     90013279398
41547762991988   SHAMIKA        LYONS                      NC     90013277629
41548129191873   SHERRY         CHANCE                     OK     21087531291
41548215291569   CECILIA        GONZALEZ                   TX     90013402152
41548382291988   SEAN           BANNISTER                  NC     90010343822
41551818391873   LASHAND        BUTLER                     OK     90008658183
41552787355939   HUAS           THAO                       CA     90015027873
41553349661963   PEDRO          ROMERO                     CA     90014233496
41553567133668   JUANITA        SANTOS                     NC     90014615671
41555343591569   MARIA          HERNANDEZ                  TX     90014153435
41557714261963   ELENA          SANDOVAL                   CA     90013117142
41558942371999   PAMELA         GERM                       CO     38054899423
41559317491569   SHANNON        MARTINEZ                   TX     90013313174
41561497493794   SUMMER         DAVIS                      OH     90013584974
41564445541258   TIFFANY        THOMPSON                   PA     51010254455
41566776381639   JEFF           GREGORY                    MO     29055867763
41567324391873   YHACOODAIL     REZZAQ                     OK     90014403243
41571635461956   MARIA          ELIZONDO                   CA     90001786354
41572521655939   JUSTIN         BETTENCOURT                CA     90013125216
41573166191549   ADRIANA        MAESE                      TX     90007671661
41574623761967   LISBETH        SALGADO                    CA     90014156237
41574956791569   ELIZABETH      VILLALBA                   TX     90014759567
41575269872491   FRANK          ADAMS                      PA     90012032698
41575979272491   FRANK          ADAMS                      PA     90006999792
41576296291988   JEANIE         LITTLE                     NC     90011272962
41576768391569   MANUEL         CRUZ                       TX     75030057683
41579634171999   ANDREA         PADILLA                    CO     90014846341
41581453961967   JAZMIN         ORTEGA                     CA     46008734539
41581489151383   CLIFFORD       VANOVER                    OH     90005624891
41581621771999   TRAVIS         ALLEN                      CO     90011366217
41585435161967   MIGUEL ANGEL   LOPEZ                      CA     90011644351
41585619271934   JONATHON       CRENSHAW                   CO     32067446192
41585974761963   ETHAN          RUSSELL                    CA     90014249747
41586928661963   ROSARIO        RAMIREZ                    CA     46087809286
41587525451334   DOMINIQUE      ACREE                      OH     90011015254
41588576891569   BIANCA         RIVAS                      TX     90013195768
41588791385697   JUANA          MARTINEZ                   NJ     90010577913
41591947161963   CRYSTAL        JOHNSON                    CA     90013899471
41592839891873   MONICA         KING                       OK     90012558398
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41592993191569   JUAN ANGEL     PORTILLO                   TX     90013319931
41594747471999   ERIC           KING                       CO     90008617474
41596392193794   LATASHA        MEDLEY                     OH     66030913921
41597148447954   KIRBY          BRIDGER                    AR     90006231484
41598628955939   LORENZO        ACEVES                     CA     90015046289
41599635291363   IVRON          ROBINSON                   KS     90011196352
41611137871934   TAMMY L.       SOUTHARD                   CO     90005451378
41611348291821   DEBORAH        SHARP                      OK     90011483482
41612723361963   ANTONIO        AVILA                      CA     46009927233
41612852641258   LINDSY         DODDS                      PA     90005648526
41613984861967   ROBERTO        LEON                       CA     90006419848
41614563251334   DENA           CURLESS                    OH     66056045632
41614636681639   RAMON          TABOR                      MO     29003186366
41616533861963   TUM            SANG                       CA     90011665338
41617723971999   BRIGIT         SCHROEDER                  CO     38017117239
41617898991527   SULEMA         MARTINEZ                   TX     90001348989
41618112191873   STEVEN         TAYLOR                     OK     90013701121
41618253193794   KATHY          MOORE                      OH     90009562531
41621211471934   EDUARDO        VEGA                       CO     90005912114
41622517391988   LATANYA        TANKSLEY                   NC     17088995173
41623856193794   MICHELLE       PRIEST                     OH     90014728561
41623924755939   BRIANNA        ORNELAS                    CA     90013799247
41624453384369   RAY            PRYOR                      SC     90011944533
41624459861963   ARNOLDO        GUERRA                     CA     90013404598
41624829655939   LYNETTE        TUMOINE                    CA     49030908296
41625381691943   VONA           CUFFEE                     NC     90012943816
41628226291394   TONYA          LEWIS                      KS     29083012262
41628466957569   SUSANA         MAJALCA                    NM     90009584669
41629375455939   LYNNE          BAIRD                      CA     49045033754
41629489491394   SEAN           DRUMRIGHT                  KS     90011774894
41632585771999   BARBARA        HIGGS                      CO     38044085857
41633822991569   LESLEY         ROGERO                     TX     75024398229
41634916351334   RON            HARTLEY                    KY     90012529163
41635437491394   NATHANIEL      BRADY                      KS     90014814374
41635759755939   KARINA         RODRIGUEZ                  CA     90004107597
41636698351334   BRYON          JONES                      OH     66033556983
41636833491873   TRENTON        MORRIS                     OK     90010148334
41637355541258   VERONICA       KRAUS                      PA     51066883555
41639223841294   JUDITH         KEENAN                     PA     51063842238
41639571755939   RAQUEL         AMBRIZ                     CA     90013125717
41641688791569   HERMILIA       HERRERA                    TX     75087196887
41643317971999   BELINDA        GALLEGOS                   CO     90010403179
41644311191873   MICKEY         HARDMAN                    OK     21058633111
41647949741258   STACEY         SMITH                      PA     90001929497
41648747557148   DELVONNO       BLACK                      VA     81076287475
41649661771999   STEPHANIE      QUINTERO                   CO     90013326617
41651253291873   TERRY          ODONNELL                   OK     90007962532
41651735391394   TAURUS         FOSTER                     KS     90013137353
41653837657549   GLORIA         OROZCO                     NM     90011328376
41654725861963   MANUEL         RAMOS                      CA     90013117258
41657381591873   MITCHELL       WHITNEY                    OK     90013413815
41657443491394   HORACIO        MARTINEZ                   KS     90014814434
41657642961963   LIZETH         NOGAL                      CA     90011666429
41657896591394   JOSHUA         HUNT                       KS     90012848965
41657914661967   CRISTOBAL      LOZANO                     CA     90012699146
41658356581639   ANTHONY        EMANUELE                   MO     29086643565
41662192561963   MARIA          GARCIA                     CA     90013941925
41663363771999   MAESTELA       BERNAL                     CO     90000193637
41663991591394   TERIE          FUNG                       MO     29053049915
41664148791924   EDDIE          HODGE                      NC     90014391487
41664672741265   DASHAWNA       TIGNEY                     PA     90012446727
41671283392825   VERONICA       ACUNA                      AZ     90014612833
41672312891394   CARMEN         GOMEZ                      KS     90012493128
41672651681656   LALO           MADERA                     MO     29017386516
41673551571934   CORREY         CLAUSSEN                   CO     32033845515
41673751141294   TYLER          LOCKE                      PA     90005227511
41677186951334   CHRISTOPHER    DEMOSS                     OH     90013461869
41679978491988   PAMELA         LEWIS                      NC     90011289784
41681123291394   ADELAIDA       RIOS                       KS     29047061232
41681993191569   JUAN ANGEL     PORTILLO                   TX     90013319931
41682899641258   TIA            LOPEZ                      PA     51005938996
41684661971999   DEENA          MONTOYA                    CO     90007686619
41687682293794   ASHLEY         KNOX                       OH     90014856822
41688129251555   GEBRETENSAYE   GEBREHIWOT                 IA     90012731292
41688376191394   ANGELA         POWER                      KS     29071573761
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41691149254151   JESSE        CLARK                        OR     90012561492
41691312981639   CATINA       TIMLEY                       MO     90010163129
41692429761967   AREATHA      HOLMES                       CA     90012854297
41693397891988   RODRIGO      ESCOTO                       NC     90011633978
41693568271999   REGINA       KOMORNIC                     CO     90010815682
41695817493794   KATHY        MOORE                        OH     90009688174
41696242491873   ROY          BINGHAM                      OK     90003682424
41698311391873   MARY         HOWARD                       OK     21040273113
41711459841258   ANTHONY      SHROPSHIRE                   PA     90006494598
41713349891569   MAYRA        CALZADILLA                   TX     90009043498
41714322155924   MARIA        SANTOS                       CA     49060273221
41715383651334   MELONNA      RITCHIE                      OH     66015953836
41716661771999   STEPHANIE    QUINTERO                     CO     90013326617
41717447761963   MELINDO      GALINDO                      CA     90008154477
41717731785968   JEAN         CRAVENS                      KY     90011277317
41718492291569   SALCIDO      MARISABEL                    TX     90011404922
41718728255939   JORGE        OSEGUEDA                     CA     90014257282
41719233931448   AMANDA       COLBERT                      MO     90014782339
41719996741294   LANCE        MACKLIN                      PA     90004229967
41722468172445   JOE          BECKINGER                    PA     51068774681
41724192351334   KIM          MINCY                        OH     90006491923
41724414293794   NORMA        PANKO                        OH     90012534142
41725447251336   PHILIP       DILLINGHAM                   OH     90015094472
41726899371934   JEANETTE     OCHOA                        CO     32097268993
41727486961963   RICK         BOYD                         CA     90014324869
41731188761967   FRANK        PRADO                        CA     90013521887
41732492291569   SALCIDO      MARISABEL                    TX     90011404922
41733164251334   JOSE         LUNA                         OH     90009231642
41733886386545   BRIAN        SILVEY                       TN     90014078863
41734184861963   SMITH        MARQUIS LAMAR                CA     90011671848
41735181991569   MARIBEL      SANCHEZ                      TX     90000481819
41735956371934   RENEE        ROMERO                       CO     90008749563
41736477871999   ERIC         HERNANDEZ                    CO     90004434778
41737379371999   JAMES        ROMINES                      CO     90009443793
41737421491394   ROSA         RODRIGUEZ                    KS     90006714214
41737841293794   ALEXIS       MCKEE                        OH     90012988412
41738665841258   LANCE        LOGAN                        PA     90008616658
41738788191569   ANNETTE      CHAVEZ                       TX     90010277881
41741242661963   SIERRA       GILDON                       CA     90014762426
41743342455939   VANESSA      CASTRO                       CA     90010313424
41744519255939   ANA          HERNANDEZ                    CA     49030965192
41744998661967   JOSHUA       MCDANIEL                     CA     90011219986
41745298851334   CARLA        JOHNSON                      OH     90008942988
41746919191569   AUTUMN       SALGADO                      TX     90006029191
41747485761967   MARYCLAIRE   BILUNO                       CA     90012754857
41748268291988   OSHA         EDWARDS                      NC     90009182682
41749282491988   DERRICK      MACK                         NC     90014622824
41749666451334   REBECCA      HARRISON                     OH     66093506664
41752222691864   SAMUEL       FOSTER                       OK     90007272226
41753972991881   HUMBERTO     FRANCO                       OK     90014429729
41754283961963   JACKELYNNE   ORTIZ                        CA     90014742839
41754291291988   JOY          SPENCER                      NC     90014622912
41754421561938   JESSE        SOLIS                        CA     90013474215
41754958955939   MONE         PHANHTHOUKONE                CA     90001359589
41756341161967   AMADOR       MORALES                      CA     90009163411
41756682361963   MONSERRAT    MEZA                         CA     90013876823
41757752741258   BRUCE        ROMESBURG                    PA     90009847527
41758525181691   JASON        JONES                        KS     90007955251
41758755591988   AURELIANO    CANDELARIO                   NC     90004677555
41759422291873   KYISHA       LENTZ                        OK     90009544222
41761239591988   LAJUANE      SOUTHERLAND                  NC     90014622395
41761245893794   TENLEY       TAGHI                        OH     90014702458
41761862391394   INOCENCIA    DEL CRAMEN RAMIREZ           KS     90012888623
41762314136189   VERONICA     ESCALONA                     TX     90014393141
41762757693794   JEFF         BALLARD                      OH     90015297576
41764598491394   JOSUA        PATTERSON                    MO     90012505984
41765252391988   DANELLE      KEITH                        NC     17059232523
41765623791569   JOE          NUNEZ                        TX     90005006237
41766195371934   BUSTER       HANDLOS                      CO     90001201953
41766367293794   DIANNA       DARNELL                      OH     90003653672
41766784291988   JASMIN       GOLDSTON                     NC     90014627842
41766849171999   LISA         FAWKS                        CO     90007098491
41769284955939   FRANCISCO    HERNANDEZ                    CA     49030972849
41769697193794   KIMBERLY     PINKERTON                    OH     90015226971
41773847761967   VANESSA      BERMUDEZ                     CA     90009868477
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41774314791394   CANDICE      COVINGTON                    KS     29091703147
41776372191873   ROY          HOWARDS                      OK     90006973721
41776388851334   STEVEN       TEDRICK                      OH     90014623888
41776615371934   STEPHANIE    VAN NESS                     CO     90000826153
41776671261963   GERARDO      MONTANEZ                     CA     46005816712
41779672991569   JASIEL       TOVAR                        TX     90011056729
41781514691873   KENDRICK     JOHNSON                      OK     90013695146
41781794871999   NORMAN       GONZALES                     CO     90015147948
41782762761967   PIERRE       SAVILLE                      CA     90013047627
41784634671996   CARRIE       MORTON                       CO     32098296346
41785935193794   KELLEY       LOVIN                        OH     66087519351
41786373161967   MARCOS       GURULE                       CA     90012553731
41786996271999   LORELEI      JIMENEZ                      CO     38044189962
41787429851334   KALLY        LIPPS                        OH     90008554298
41787675191569   TREVIZO      EDWIN                        TX     75095416751
41789426791569   MARIBEL      SOLANO                       TX     75058464267
41795923651334   DONNETTA     SMITH                        OH     90010519236
41797966891569   NICOLE       HERNANDEZ                    TX     90014759668
41811268461967   ELISA        VILLALOBOS                   CA     90015212684
41815244955939   TRAVIS       RIOS                         CA     90013722449
41815695893794   RAYMOND      MOORE                        OH     90009496958
41816631693794   VIRGINIA     WEBB                         OH     66068936316
41817641393794   ERIC         MOORE                        OH     90012996413
41818125493794   LEA          JONES                        OH     90013331254
41819145793794   ZAKARY       MCMAHON                      OH     90012721457
41819495191547   DIANA        RUIZ                         TX     90010124951
41819972991569   MARCO        GONZALEZ                     TX     90003179729
41821553261963   JOSH         MIKE                         CA     90005245532
41821587555939   MARIA        RAMOS                        CA     90001475875
41822674471999   BRANDY       MONTOYA                      CO     38006966744
41824254155939   LISA         ALVAREZ                      CA     90013132541
41824631691988   JOVANI       GONZALEZ                     NC     17082506316
41824757693794   JEFF         BALLARD                      OH     90015297576
41826451361963   CARLOS       GARCIA                       CA     90013124513
41827513291988   COURTNEY     THORPE                       NC     90009685132
41835236651334   LATEEFAH     SPENCER                      OH     66093372366
41835337591988   WILMER       CASTILLO                     NC     90011653375
41836737493794   DUSTIN       DRAKE                        OH     90012907374
41837538861963   DARLENE A.   WIGLEY                       CA     90013245388
41838258461967   JARED        GRADY                        CA     90015002584
41838514991394   RICHARD      COWAN                        KS     90014695149
41839176241294   PHIL         GEORGE                       PA     51010391762
41839478751334   CARLOS       MENDOZA                      OH     90008734787
41839753191569   JULIO        ALMANZA                      TX     75077717531
41841426891988   MAMIE        JONES                        NC     90014654268
41842292393794   CHRISTA      DUGGINS                      OH     90014572923
41843354391394   MISTY        DANIELS                      KS     90007993543
41844251455997   ANGEL        PEREZ-MONTIEL                CA     90013372514
41844267451334   EMILY        CORNELIUS                    OH     90013932674
41844898193794   DENISE       PRICHARD                     OH     90014158981
41845958291569   ANDRES       ARZATE                       TX     90010509582
41846585755999   KATRINA      MORALES                      CA     90010125857
41846693171999   KATRINA      KINGSTON                     CO     90011106931
41846945591569   OMAR         ESCALONA                     TX     90008179455
41847837393794   SARAH        HALCOMB                      OH     90005028373
41848969751334   JEFFREY      BAARLAER                     OH     66082299697
41851264691873   MILA         SAYLES                       OK     21072992646
41851356251334   WESLEY       KRAUS                        OH     90011563562
41851367391988   EDILZER      CASTANON                     NC     90012963673
41852383991569   ELVIA        MELENDEZ                     TX     75073173839
41852441991988   TANEQUIA     BRANCH                       NC     90014654419
41852511691547   ARTURO       ESCALANTE                    TX     90006835116
41853276771999   CHRIS        MARTINEZ                     CO     38000822767
41856989171934   JEREMIAH     OKEEFE                       CO     32056219891
41857221661967   ANDRES       GASPAR                       CA     90009882216
41859389161967   SHEREE       MYLES                        CA     46056663891
41859466561963   TASSILI      TALAMANTES                   CA     90013124665
41859799855939   MARIA        NUNEZ                        CA     49087867998
41861595261963   BRENDA       MOODY                        CA     46092495952
41865333161963   OMAR         ALTAMIRANO                   CA     46094683331
41866716993794   CHARLES      PERRY                        OH     90012467169
41867298991394   VANESSA      BRIZUELA                     MO     90012132989
41871538797957   ERICK        MORENO-CENTENO               TX     90008025387
41871587561963   JULIET       PEREZ                        CA     90011675875
41872253691873   NOAH         ROGERS                       OK     90009222536
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41872583151334   STEVE            TENDAM                   OH     66018095831
41873661891982   CLINTON          CENTRY                   NC     90012466618
41873785691569   VALERIA          PALMA                    TX     75014357856
41873974661963   BERTIN           GRANDA                   CA     46018189746
41875196391873   CHICO            OLVERA                   OK     90010181963
41875196955939   SARRINA          STAUB                    CA     90013431969
41875726661963   NEISI            GOMEZ                    CA     90013877266
41876582391988   ROBERTO          RODRIGUEZ                NC     17077805823
41877475393794   AMANDA           MORETON                  OH     90014574753
41878438147954   TRUE             FARMAN                   AR     25091034381
41879126591873   RICHARD          LEWIS                    OK     90007101265
41879334761963   ROBYN            WEATHERBY                CA     90000193347
41882371141294   JAINEIL          MATTOX                   PA     51075783711
41884767591394   NICOLE           MOORE                    KS     90014247675
41885355657159   CAROLINA         LOPEZ                    VA     90013563556
41885863661963   PAMOJA           DAWSON                   CA     90005438636
41888246661541   KANEITHA         NELSON                   TN     90015262466
41888528561963   JAZMIN           FRANCO                   CA     90013405285
41889995591394   BRETT            SMART                    KS     90014149955
41891583391988   NIKKI            FORD                     NC     90011815833
41891717791569   LORENA           QUEZADA                  TX     90012997177
41891952161967   MARIE            MARQUEZ                  CA     46003769521
41892893993728   BRANDY           WILSON                   OH     90010668939
41893694291988   JOSE             OROZCO                   NC     90014656942
41894728593794   SANDRA           DELAWDER                 OH     90014777285
41895922171934   ERIC             WATTS                    CO     32083209221
41897165161967   FREDI            DANIELS                  CA     46042691651
41897295971999   JEFFREY          CARRIER                  CO     38048722959
41897386955939   IVIS             SANCHEZ                  CA     90000313869
41898954671999   REGINA           STRONG                   CO     90012769546
41899823993794   DEBRA            SCOTT                    OH     90014128239
41911428591394   LAURA            IBARRA                   KS     90014504285
41911522455999   SARAH            GUZMAN                   CA     90004435224
41911853691569   LILIANA          GALLEGOS                 TX     90011848536
41912957455939   ADRIANA          TOSCANO                  CA     90014659574
41913181191988   JUAN             ESPINOSA                 NC     90004941811
41913315455939   MARTHA           RODRIGUEZ                CA     90010503154
41913581491394   JEREMY           WILSON                   KS     29082315814
41916737871999   AMANDA           SELLERS                  CO     90013377378
41917628751334   GANTERIA         HEARST                   OH     90001256287
41918145991241   GLENDA           ROJAS                    GA     90008301459
41918146391873   SHARON K         IZETT                    OK     90010421463
41919129591988   ASHLEY           RIGGAN                   NC     90015081295
41919444951383   RASALYN          WILLIAMS                 OH     90005674449
41919618738541   PATRICIA         HERNANDEZ                UT     90010356187
41921245761925   MITCHELL RALPH   ARANDA                   CA     90006802457
41921416171999   SANDRA           NIVAL                    CO     90007824161
41922372451334   DEMICO           TOLLIVER                 OH     90012943724
41922566191873   GUYLA            SCHELLER                 OK     21080545661
41923512391394   DAMONICA         THOMAS                   MO     29086365123
41928372855939   ANDREA           SWIFT                    CA     49013553728
41932153555939   ALICIA           WATTS                    CA     90004751535
41932351191569   FEDERICO         ALVAREZ                  TX     75094873511
41933566991569   KYMBERLY         AGUILAR                  TX     90011885669
41934599555939   MARIO            MARTINEZ                 CA     49043875995
41934927191988   WHITNEY          WHITE                    NC     90013119271
41935372581639   RAHMAN           BRADLEY                  MO     29043093725
41936257561963   ADRIANNE         GARCIA PRIETO            CA     46054452575
41936314791394   CANDICE          COVINGTON                KS     29091703147
41936664181639   DAMARRA          SMITH                    MO     90009936641
41937363655939   EMILIE           CASTRO                   CA     90010503636
41938422555939   PEDRO            TREJO                    CA     90013134225
41942828151334   WILLIAM          HARRIS                   OH     90014138281
41943729891873   CHARLES          HOLLIS                   OK     21011737298
41944451291394   ALEX             CORDOVA                  MO     90012164512
41944836893794   LAURA            MCCROBIE                 OH     90003118368
41945367851334   DEVONIQUE        HERBERT                  OH     90012973678
41946124341258   ERICKA           NICHEL                   PA     90003411243
41946389591569   ALEJANDRO        QUIROZ                   TX     75013473895
41946564261963   LUIS             ROMERO                   CA     90006355642
41947569593794   ANDREW           MURARESCU                OH     90015005695
41947619181639   JABON            TURNER                   MO     90005116191
41949671661963   MELISSA          GILBERT                  CA     90011676716
41951432955939   IRIS             VALLEZ                   CA     90013134329
41953361457342   AMANDA           KOFMAN                   MO     90014313614
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41956298391569   MICHAEL            WILKERSON              TX     75040212983
41957557661967   ISRAEL             ORTIZ                  CA     46015655576
41957738991394   DEYANIRA           ANDRADES               KS     90012337389
41958185871999   DEBBIE             CRESPO-TORRES          CO     90013271858
41958381691943   VONA               CUFFEE                 NC     90012943816
41958822291988   ALEXIS             MITCHELL               NC     90013598222
41961576551334   WHITTIER           HEARD                  OH     90012525765
41962387955939   ALANA              POWERS                 CA     90010503879
41965895861963   JOSE               BARRAGAN               CA     90013088958
41967365271999   SYLVIA             GARCIA                 CO     38071643652
41967874251334   T                  HONCHELL               OH     66057968742
41968882691873   APRIL              LEWIS                  OK     90004118826
41971235891988   NICOSIA            MARSHALL               NC     90014662358
41971759561963   MANUELA CRISTINA   TORRES                 CA     90012107595
41971843291569   MIKE               RIVERA                 TX     90011128432
41972295447954   MELINDA            YEGGY                  AR     90000422954
41975448851334   SAMANTHA           SMITH                  OH     90011114488
41976467161963   JESSICA            CATANEDA               CA     90013234671
41976613493794   JERRY              WALKER                 OH     90010326134
41976653871934   BRANDON            WARD                   CO     32006016538
41977772771999   FRANSICO           CHISM                  CO     90011947727
41981469741241   RICHARD            CELOVSKY               PA     51090754697
41981714371934   MIGUEL             ONTIVEROS              CO     32030097143
41985617791569   NORMA              ZUNIGA                 TX     75080956177
41988334471999   BEVERLEE           FIX                    CO     90008553344
41992271991394   JOSE               VILLANUEVA-MENDEZ      KS     90014542719
41992913791988   DEITRA             LIPSCOMB               NC     17071869137
41992915393794   SALINA             SELF                   OH     66074869153
41995161581639   NICK               CANON                  MO     29080711615
41997153371999   BERTHA             BARELA                 CO     90009851533
41998611171999   RICHARD            DEHERRERA              CO     38092846111
41998982461967   ERIC               ESTRADA                CA     90012829824
42112771171999   PEGGY              BACA                   CO     38004697711
42115761493794   DOUG               GIBSON                 OH     90008937614
42116724861963   PERCIVAL           VERAYO                 CA     90000147248
42118466893728   TAMMY              BOBB                   OH     90008674668
42118728291248   BROWN              WILLIAMS               GA     90013447282
42122212761963   JOE                PEA                    CA     90000162127
42123986891873   SHANON             TYSON                  OK     90013839868
42124193191351   FREDRENIA          WALLACE                KS     90013931931
42124485251383   PABLO              JIMENEZ                OH     66005434852
42124785251382   JOSEPH             MINK                   OH     90011967852
42125182991569   CHRISTINA          TORRES                 TX     90007511829
42125565751334   CARLA              RICE                   OH     66002515657
42126467661967   MAURA              CARRERA                CA     90010474676
42132327771999   SUSAN              KINTIGH                CO     38046473277
42132737761967   CHANSE             A                      CA     90013947377
42132869491351   JANICE             PICKETT                KS     90004268694
42133993391873   SHLYNDA            JAMISON                OK     21002409933
42136192693794   REX                CORDY                  OH     90014661926
42136226257122   PETER              OCTHERE                VA     81027212262
42136293571999   PABLO              MOLINA                 CO     90014392935
42137563561967   JACQUES            TJWREATT               CA     90013235635
42142733571999   FRAUCISCO          LOZANO                 CO     90003617335
42144564951334   ROBERT             LUNG                   OH     90009555649
42144656847954   MICHAEL            CATES                  NM     25073116568
42145342391569   KARLA              SANCHEZ                TX     90001843423
42145895397957   YULIANA            REYES                  TX     90012628953
42146125393794   KRISTINA           HAMM                   OH     66012031253
42148246451334   ANTHONY            BROOKINS               OH     90002962464
42152573277349   CARMEN             GUEVARA                CA     90009935732
42153464391351   LANCE              JONES                  KS     90012664643
42156585471999   ANGELA             FLORES                 CO     38050065854
42158241193794   JOSEPH             MANNING                OH     90009162411
42158854171999   AIOTEST1           DONOTTOUCH             CO     90015128541
42159111391569   JOSE               GONZALES               TX     75076911113
42162176271999   TRACY              SMITH                  CO     38023171762
42165617961963   SAMANTHAN          RINCON                 CA     90012916179
42167698355939   JUANCARLOS         ARVIZU                 CA     49080326983
42167928791351   T.                 BROCKMAN               KS     29027359287
42167988561963   SONIA              REUSCH                 CA     46018939885
42168358551326   MARY               RAMIREZ                OH     90012903585
42169412751555   JESUS              SANDORA                IA     90015404127
42172264951388   NICOLE             GRESHAM                OH     66050682649
42172578944335   LEAH               PARKER                 NC     90014425789
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42173429791873   MARY          MCKINNEY                    OK     90002824297
42173777691569   CARLOS        SANTIAGO                    TX     90003657776
42174728391569   ROBERT        CASARES                     TX     90010727283
42174847993794   RYAN          JONES                       OH     90014698479
42177548161967   HUMBERTO      VARA SOSA                   CA     90013245481
42177959671999   ROSEMARY      VEGA                        CO     90011079596
42179567691569   NEFERTITI     OJEDA DE ENRIQUEZ           TX     90015115676
42181619793794   CHAD          CRAYCRAFT                   OH     90014706197
42184247791569   VALDEZ        VALDEZ                      TX     90013442477
42185368661967   EMILIO        JIMENEZ                     CA     90002593686
42186424291569   EDUARDO       VILLANUEVA                  TX     90014524242
42187931641229   ERIKA         SIMMONS                     PA     90008069316
42188476391873   MARIA         PATINO ESTRADA              OK     90013224763
42188796354132   PAYGO         IVR ACTIVATION              OR     90013387963
42193577991569   SERGIO        PEREZ                       TX     90012395779
42193669555939   LEONEL        MENDEZ                      CA     90008026695
42194778561967   EDGAR         RUIZ                        CA     90013947785
42195695391873   MAYTE         HERNANDEZ                   OK     21073516953
42196331191351   ESMERALDA     VILLARREAL                  KS     90014823311
42196694147954   MARIA         ARCOSDECOLLADO              AR     25066726941
42196735151334   ROLENE        TAYLOR                      OH     66033757351
42197733593728   CYNTHIA       DUNCAN                      OH     90008757335
42197828893794   NATHANIEL     PERDUE                      OH     90009398288
42198391371999   ANTHONY       CASH                        CO     90014863913
42198455255951   LUPE          CORONA                      CA     90012364552
42199119333626   JACQUELYN     HERBIN                      NC     90009541193
42199166171999   MARCI         COCHRAN                     CO     90015091661
42199828291351   DANIEL        RINARD                      KS     90013248282
42211314151383   MELISSA       WALTNER                     OH     66046323141
42212817261967   SILVIA        CORTEZ                      CA     90013948172
42213191893794   AMBER         ROBBINS                     OH     90011231918
42214588191569   CECILIA       COMPOS                      TX     75089255881
42215499691569   ISABEL        MAYNEZ                      TX     75022214996
42216918993794   SOPHIA        SINGLETON                   OH     90014779189
42217444993794   STEVE         MEACHEM                     OH     66069164449
42218623471999   OSCAR         MORALES                     CO     90014996234
42218934993794   JASON         HICKS                       OH     90014779349
42219625991569   GABRIEL       GARCIA                      TX     90009376259
42221851161963   KRISTI        ALVES-HISCOCK               CA     46011328511
42222712561967   JESUS         PANTOJA                     CA     90013067125
42223735691351   JENNIFER      RUSK                        KS     90012977356
42224675755939   LAWRENCE      ORONA                       CA     90010546757
42225262191351   GINA          CHAPMAN                     KS     29061682621
42229365391569   YOLANDA       SOLORIO                     TX     75048233653
42231253361963   BENJAMIN      WEBER                       CA     46011842533
42231395161963   COREY         ALVAREZ                     CA     46088443951
42232892161963   RUBIDIO       JIMENEZ                     CA     90004818921
42235259171999   ROSALIO       RODRIQUEZ                   CO     38071732591
42235839161963   SYLVIA        MARTINEZ                    CA     46012228391
42237332751361   MANNETTE      CRUTCHER                    OH     66075163327
42238812791569   SOL           JURADO                      TX     90007798127
42239462191873   VRIGINIA      CRAWFORD                    OK     90012344621
42242144671999   BARBARA       MAES                        CO     90013981446
42244346371999   OCTAVIO       BORJORQUEZ                  CO     38081633463
42244539191873   AMIE          RADABAUGH                   OK     90009845391
42244867591351   SARA          SALAZAR                     KS     90012808675
42245357271999   ROBERTA       J                           CO     90009173572
42246191471999   KATHIE        LUGO                        CO     90012581914
42246412491873   JAMES         WRIGHT                      OK     90011834124
42246982491569   GABRIEL       TORRES                      TX     90008299824
42247479891569   LAURA         LUGO                        TX     90011854798
42248436591569   CHRISTEL      YLLARRAMENDI                NM     75087054365
42249445661945   SARAH         GARCIA                      CA     90012534456
42253423971999   DANEILLE      QUINTANA                    CO     90006734239
42255114455939   MELICIA       NANEZ                       CA     49090891144
42256177493728   ARLENA        CROCHRAN                    OH     90007941774
42258976291569   JASON         ALBRIGHT                    TX     90002599762
42259273391351   SELENA        MALDONADA                   KS     90013752733
42264558691873   CHRISTOPHER   PHILLIPS                    OK     90009885586
42264997491873   GUISELA       OROZCO                      OK     90013839974
42265362441258   RHONDA        TRUAX                       PA     90001413624
42266484491351   DAVID         TIPTON                      KS     90015164844
42267288471999   SERGIO        MENDOZA                     CO     38003332884
42267978655939   SONIA         ROLDAN                      CA     49078259786
42268854161963   MARK          DOBIE                       CA     46050268541
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42269224193794   KELLI         MOORE                       OH     90013202241
42269632893794   KELLI         MOORE                       OH     90003326328
42269694191569   CARLOS        RETANA                      TX     90006316941
42271997491873   GUISELA       OROZCO                      OK     90013839974
42274675271999   JAMES         PEABODY                     CO     90013296752
42275459691873   AMBER         SPELLMAN                    OK     90009744596
42276656293794   VICKI         HUTCHENS                    OH     90011536562
42281846955939   ERIN          EVANS                       CA     49082948469
42283913551326   DOMONQUE      ERVIN                       OH     90014509135
42287213151334   DELIA         RUBIO                       OH     90010342131
42287472851383   STEVE         BURNS                       OH     66065344728
42288957593794   CATHY         TOWNSEND                    OH     90015049575
42291224761967   DG            MINNER                      CA     90012792247
42291281791351   ROYAL         WESTBROOK                   KS     90006762817
42291295971999   LINDA         PONCE                       CO     38026452959
42291917361963   MICHAEL       AMARO                       CA     46011889173
42292174391569   JOSEFINA      MOTA                        TX     75059391743
42311173941258   JAMES         RANDOLPH                    PA     51067761739
42311383154132   EVERETT       SHELTON                     OR     90014803831
42323138991569   IRAN          ORTIZ                       TX     75014521389
42324183261967   JUANITA       VELASQUEZ                   CA     90012921832
42328567191873   MARTIN        RAMOS                       OK     21021425671
42332987161967   ALMA          SILVA                       CA     90011629871
42335155251334   CHERYL        ILHARDT                     OH     90014831552
42335857147954   STEVEN        NEIL                        AR     25061398571
42336742555939   PAULA         MARTINEZ                    CA     90010547425
42337277491351   KAYLY         CORRELL                     KS     90011112774
42338962551334   ANGEL         PERALES                     OH     90012019625
42339521561963   EMILY         GARCIA                      CA     90011425215
42345134691351   LAURA         GUZMAN                      KS     90013941346
42345366851348   RICHARD       BUSH                        OH     90008793668
42348931951383   LINDA         CAMPBELL                    OH     66059889319
42351445191569   DANIELA       VALVERDE                    TX     75027224451
42352553591351   CARLOS        RAMIREZ                     KS     29063825535
42353943171999   ARACELI       PEREGRINO                   CO     90006309431
42354922861967   MARGARET      MILLER                      CA     90012239228
42361464271999   JAMES         GOLDEN                      CO     90013204642
42361796377522   BARBARA       VANDYKE                     NV     90002517963
42363381161963   CIPRIANO      CONTRERAS                   CA     90014183811
42364115684322   LEE           BROWN                       SC     90014471156
42367277491351   KAYLY         CORRELL                     KS     90011112774
42367534341258   KEESHA        YAGER                       PA     51015675343
42368441171999   PAUL          MARQUEZ                     CO     38019564411
42369154261967   HIKS          NESHE                       CA     46078191542
42369231291569   FRANCISCO     MANRIQUEZ                   TX     90012072312
42371464651334   NEFTALI       NOLASEO                     OH     90013464646
42372229291873   MISTY LIN     SCHRIMSHER                  OK     90014102292
42374352991351   PRIYANG       BHATT                       KS     90013963529
42374536351334   RAEJEAN       WHITAKER                    OH     90009155363
42375432461941   LUDER         PALACIOS                    CA     46063954324
42375741771999   GENNY         DEANS                       CO     90012167417
42375889151383   SHERRY        JOHNSON                     OH     66066438891
42376357391873   KYERRA        ANDERSON                    OK     90011533573
42379589991569   TOMAS         BUENO                       NM     75056785899
42382989841258   KYLIE         BEAVER                      PA     90003979898
42384836461967   VICENTE       CORTES                      CA     90013058364
42386195661927   MARTHA        P DE SANTIAGO               CA     90008071956
42386256471999   GUILLERMO M   MOLINA                      CO     90012972564
42386399361963   MUKHTAR       ABDULLE                     CA     46011743993
42386662891873   SAMUEL        LYTLE                       OK     90013436628
42387145393751   MARK          BROWN                       OH     90011521453
42389449361967   KORAMA        LOZANO                      CA     90010214493
42391566861967   DONALD        WATKINS                     CA     46078555668
42395589671999   JUDY          SANTOS                      CO     38067965896
42395986961967   OLIVOR        SANDOVAL                    CA     90014189869
42396779291351   MICHELLE      RHODES                      KS     90008747792
42398765261967   JOSE          GUZMAN                      CA     90010217652
42416565171933   STEVEN        WRENN                       CO     90011455651
42416812261963   CARL          FREY                        CA     46031138122
42417875291828   SHERRY        LIDDY                       OK     90012768752
42419666591569   VANESSA       MOLINA                      TX     75071386665
42422841761967   LILI          JAIN                        CA     90000888417
42423535947954   ANA           GONZALEZ                    AR     90000245359
42425429691569   JUAN          RODRIGUEZ                   NM     90005704296
42427223191873   SEPTEMBER     BEQUETTE                    OK     21092602231
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42427484861967   DYLAN        SALGADO                      CA     90013124848
42427729291569   MELISSA      TORRES                       TX     75000347292
42427789555939   MARGARITA    ESTRADA                      CA     90010547895
42431559693794   DEVON        KNICELY                      OH     66079165596
42433453391351   AMANDA       MAHAN                        KS     90013374533
42434229671999   MATTHEW      HAMILTON                     CO     90013962296
42434794751334   APRIL        WHITEHEAD                    OH     90010477947
42435454361995   JOSE         FLORES                       CA     90008114543
42435457661967   JESUS        ZELEDON                      CA     46088574576
42438664693767   NEFERTARI    BATTLE                       OH     90013626646
42439287355927   DAVE         SMITH                        CA     49055672873
42441562691873   ASHLY        LOVE                         OK     90008185626
42442161293794   KIMBERLY     MICHAELS                     OH     66029681612
42443413491569   BOBBY        GALLARDO                     TX     90002834134
42445924347954   ROSEMARIE    MACKEY                       AR     90001069243
42447663951334   TEKESTE      GHEBREBR                     OH     90012846639
42448725661967   ROGELIO      HERNANDEZ                    CA     90013417256
42449138591873   WILLIE       HILL                         OK     21009071385
42449659791527   MARIE        BARRON                       TX     90010896597
42451177761967   ROMENDA      JAMES                        CA     46045181777
42452627361963   LUPE         LOMELI                       CA     46014796273
42453783357549   ANGELICA     BENCOMO                      NM     90009987833
42453966193724   TRENTON      WALLACE                      OH     90012659661
42455124981665   MEGHAN       MEADE                        MO     90013231249
42455311651334   CRISANTA     RAMOS                        OH     66091293116
42455768491873   GLENDA       DAVIS                        OK     21035747684
42457386591351   DANE         COKE                         KS     90014583865
42458982291873   SHARI        DUNSON                       OK     90004209822
42459644661967   RICHARD      BURCHARD                     CA     90013986446
42459688193794   ORLANDO      PAJAN                        OH     66039746881
42459722691351   NEYDY        LICET                        KS     90014727226
42462479691873   JOHN         BANKSTON                     OK     90013224796
42463142291873   LAURIE       GREGORY                      OK     21049691422
42464756261967   NORMA        CAMACHO                      CA     46049307562
42464859293794   MADELINE     ALLEN                        OH     90011828592
42466943391351   JOSE         MOLINA-GUZMAN                KS     90000129433
42472497441241   WILLIAM      INGOLD                       PA     51098264974
42472515561963   ANGELICA     SANCHEZ                      CA     90005585155
42472555191351   TREMONE      MITCHELL                     KS     90015185551
42473286171999   CHRIS        STEWART                      CO     90013352861
42473756591873   DANIELLE     DUNLAP                       OK     90004867565
42475732254165   LAURIE       JACKSON                      OR     90010527322
42476223141258   JOE          RUSH                         PA     51047042231
42477944391873   WHITNEY      SCHLIENZ                     OK     90014359443
42478448471999   JOETTA       COLLETT                      CO     90015334484
42482169241258   ROBIN        PHILLIPS                     PA     51037981692
42484589451334   SHERRY       QUEEN                        OH     90010265894
42484968451334   MICHAEL      FRITZ                        OH     90014599684
42484975271999   JACOB        CORBETT                      CO     90014529752
42485449571999   NATASHA      CASON                        CO     90014044495
42488637457549   JOHANA       MAJALCA                      NM     90008856374
42492856831487   SHUNITA      OWENS                        MO     90001278568
42493495151383   DEBRA        MAYS                         OH     66015524951
42495434491351   LUCIA        ORTIZ                        MO     29013944344
42498362155939   CARISSA      GONZALEZ                     CA     49008673621
42498484491351   DAVID        TIPTON                       KS     90015164844
42511486391569   BLANCA       GRIEGO                       TX     90007834863
42511694361967   LORENZA      CHAIDEZ                      CA     46017086943
42512112161963   ALAN         LOPEZ                        CA     90015151121
42512785461967   JONNIE       BENAVENTE                    CA     90012967854
42514588471999   MARGARET     HOUSH                        CO     38080665884
42514686561956   ANGIE        TORRES                       CA     90013276865
42515165491873   KIRSTEN      FITCH                        OK     90009821654
42516294355939   YOLANDA      CARLOS                       CA     49032532943
42516624684321   LATOYA       FERONE                       SC     90009016246
42517596147954   RICHARD      STOUT                        AR     25076445961
42517642951334   KAYLABREE    CIOFFI                       OH     90014526429
42517658171992   CARLOS       CAZARES                      CO     90013026581
42519562491873   CESAR        SANCHEZ                      OK     90013685624
42521213161963   ESPERANZA    MORA                         CA     90012162131
42523227891351   TREVOR       STINNETT                     KS     90011892278
42523569671946   RICHARD      ALEXIS                       CO     90008875696
42523831261963   CRISTAL      MURILLO                      CA     90006758312
42525783651336   KEVIN        EDMERSON                     OH     66029017836
42526397961963   FERNANDO     CUNHA JR                     CA     90013703979
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42526669671999   ANTHONY      ARELLANO                     CO     90008686696
42527188171999   LUIS         CHAVARRIA                    CO     90012161881
42527761593768   BRYANT       MCGOWAN                      OH     90012527615
42527965551383   ROSE         FREDERICK                    OH     66081839655
42528471251332   JEFFRY       BRADLEY                      OH     90006924712
42528761455939   AMY          AVELA                        CA     49076757614
42531995971999   RAY          ABEYTA                       CO     38067589959
42532374461967   SANTOS       ANGULO                       CA     90011633744
42535453391351   AMANDA       MAHAN                        KS     90013374533
42535534651334   SUSAN        SUPPLE                       OH     66076745346
42536161691569   JESSICA      CORAL                        TX     90014281616
42536391591569   JESSICA      CORAL                        TX     90012243915
42542759391873   RONNIE       MULLINS                      OK     21074987593
42542811255939   FELICIANO    FRIEGO                       CA     49049878112
42545186955939   RICKY        RODRIGUEZ                    CA     49013301869
42548236547954   GUILLERMO    MELCHOR                      AR     25058762365
42548723591351   ASHLEY       HOBBS                        KS     90006797235
42551243491873   MICHELLE     MURFIN                       OK     90015152434
42552389755927   SHONNON      MONTGOMERY                   CA     90014923897
42552512491569   MARIA        CISNEROS                     TX     75086355124
42557867291873   DON          RAKE                         OK     21004238672
42559528991351   LOU          RIVAS                        KS     90013975289
42559661971933   DEENA        MONTOYA                      CO     90007686619
42561526391569   GABRIELA     RUIZ                         TX     90011245263
42562258941235   HAROLD       MICHAELS                     PA     90003652589
42565197591569   MARIBEL      HERNANDEZ                    TX     90014081975
42573857971999   ASHLEY       MALDONADO                    CO     90011188579
42573878691351   VICTOR       ALANIS                       KS     90015318786
42574181855939   SANDY        DAKIN                        CA     90007951818
42576296261963   MARIBEL      LOPEZ                        CA     90015072962
42578438661967   CHARLES      LEFLET                       CA     90011634386
42579549991569   SOLIS        MARIA                        TX     90000715499
42583159572462   CHRYSTIAN    STONE                        PA     90011391595
42587885555939   JANETTE      VASQUEZ                      CA     90010548855
42588183691351   VENUSTIANO   PRIMERO                      KS     90002971836
42588342951388   FILEMON      MARTINEZ                     OH     66073203429
42588735871999   JEFF         SEARS                        CO     38053317358
42589512191351   JEREMY       TOLBERT                      KS     90005325121
42591877191569   ALEJANDRA    JIMENEZ                      TX     75040588771
42591885555939   JANETTE      VASQUEZ                      CA     90010548855
42592271761963   GEORGIE      CRUZ                         CA     46082352717
42593468971999   RODNEY       MILLIGAN                     CO     90015114689
42595219191569   CLAUDIA      PEREZ                        TX     75087032191
42595676751383   KARL         WHITE                        OH     66008436767
42596214571999   NATHAN       URENDA                       CO     90007872145
42596913891873   TAMEKA       NELSON                       OK     90008329138
42599113991873   EVELYN       WALLACE                      OK     90013841139
42599124991873   TERRENCE     WILLIAMS                     OK     90014701249
42599839651334   RAYMOND      COVINGTON                    OH     66093978396
42611188461967   ANN          LEE                          CA     90012921884
42611293591873   EDILMA       AGUILAR                      OK     90008552935
42612224471999   CAROL        KING                         CO     90012652244
42614178291351   MARLEN       GARCIA                       KS     29094941782
42614516791873   LAKEISHA     SAMPSON                      OK     21089305167
42616326561967   RUBY         SEMI                         CA     90013953265
42618838277398   JOSE         LOPEZ                        IL     20517388382
42625331361967   JAIME        RIOS                         CA     90013953313
42625384771999   RACHELLA     MARTINEZ                     CO     90011153847
42628597491873   ANDREA       HILLHOUSE                    OK     90014725974
42632215891873   WANERBEE     MCCALL                       OK     90014652158
42633676751383   KARL         WHITE                        OH     66008436767
42633866151334   SHANNON      CARPENTER                    OH     90003988661
42636982691873   JAGGER       RAZO                         OK     90011049826
42638328551383   JACK         PROKOP                       OH     66007343285
42638948351334   DIOULDE      DEM                          OH     66091299483
42643362691569   BELEN        GONZALEZ                     TX     90014153626
42644832471999   DANA         BIGAM                        CO     90014878324
42645656847954   MICHAEL      CATES                        NM     25073116568
42646223581682   SHALANDRA    JOHNSON                      MO     90003482235
42649342251334   TIFFANY      GIBBS                        OH     90009463422
42651147261967   JAIME        PADILLA                      CA     46088631472
42651953951334   JASON        DUNCANSON                    OH     90011049539
42652943461967   JORGE        AYALA                        CA     46079259434
42653696661963   JOSE         GONZLAEZ                     CA     90012956966
42654739151334   CURTISS      HOWARD                       OH     66071947391
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42655243541258   TRACY             SCHULTZ                 PA     51015822435
42657714572498   JAMIE             GRAHAM                  PA     90007837145
42661291891569   MARIO             GONZALEZ                TX     90014392918
42661456347871   KAREN             WASHINGTON              GA     90012424563
42662459891569   MARTHA            SANCHEZ                 TX     90004374598
42664773991351   HENRY ALEJANDRO   MEDA MARCOS             KS     90006417739
42666821861924   MICHELE           MAULUCCI                CA     90003168218
42669192555939   MAGDALENA         FERNANDEZ               CA     49060941925
42671248661963   JUAN              MONTOYA                 CA     90006982486
42674226285939   STEPHEN           GINN                    KY     90008292262
42676394861967   MARICELA          QINTANILLA              CA     90013953948
42677869655939   ARIANNA           ZAVALA                  CA     90001788696
42678196291351   TYMESHA           THOMPSON                KS     29042121962
42678394861967   MARICELA          QINTANILLA              CA     90013953948
42679162491873   DUSTYE            MONAHWEE                OK     90012761624
42679398151334   APRIL             BLUNT                   OH     66093993981
42679437293767   DIOR              ISOME                   OH     66095004372
42679514571999   MATTHEW           ROYBAL                  CO     90008925145
42683516561956   ROSEANN           MESTA                   CA     90001665165
42685499851334   JAMIE             BERNARD                 OH     90009734998
42688996191569   CESAR             MARTA                   TX     75000019961
42691149171999   DANIEL            DACE                    CO     38082801491
42692438561967   ERIC              STEWART                 CA     90013954385
42692568991569   GLORIA            MANRIQUEZ               TX     90011925689
42692589691873   TIFFANY           JUSTICE                 OK     90012345896
42696112671999   DOUGLAS           VIGIL                   CO     38050891126
42696969971992   HEATHER           GOFORTH                 CO     90011809699
42714294161963   ALAX              RAMIREZ                 CA     90007792941
42714938391569   DOMINICK          ELIZONDO                TX     90012229383
42714971551334   OMAR              WOOD                    OH     90001169715
42716182891351   DE ANGELO         THOMPSON                KS     90013271828
42716693461967   MARIE             WARD                    CA     90002556934
42718231291351   RYAN              GREER                   KS     90012632312
42719387391569   DANIEL            ESPARZA                 TX     75098683873
42719827691873   DAVID             STEINBERG               OK     90009158276
42724157893794   NICHOLLE          FRANK                   OH     66047251578
42724723591351   ASHLEY            HOBBS                   KS     90006797235
42724866351334   DARLENE           LANG                    OH     90013718663
42726157893794   NICHOLLE          FRANK                   OH     66047251578
42728198691873   JERI              MCCAIG                  OK     90010541986
42728385761963   JULIO             JULIO                   CA     90014393857
42729561671999   VICTOR            MENA                    CO     90011115616
42731783561967   MICAH             SANFORD                 CA     46091437835
42732542351334   RONISHA           LONG                    OH     90012935423
42734137171999   RICHARD           VIGIL                   CO     90013121371
42734781641241   MICHELE           SMYDA                   PA     51087497816
42734821391569   VERONICA          RINCON                  TX     75019338213
42735485661963   TIJUANA           HARVEY                  CA     46011664856
42737596391873   JOSE              PEREZ                   OK     21028375963
42739182761963   MANUEL            ACOSTA                  CA     90013981827
42739234251334   CHRISTEL          LACINAK                 OH     90008722342
42741534861963   ALEX              LEARY                   CA     90013205348
42744722251334   SELENA            ROBINSON                OH     90011747222
42747578491873   PHYLIS            SIMPSON                 OK     90000205784
42752634991873   AMBER             RATHBUN                 OK     90009576349
42754327391351   VICTOR            MANSILLA                KS     90002333273
42756719471999   MICHAEL           HOVRUD                  CO     90011117194
42757426391873   LAURA             CARRANZA                OK     21033984263
42758476691351   MAGGIE            OGREN                   KS     90014974766
42759698591351   AMY               ELDER MONTOYA           KS     29040826985
42762641193797   MARY              TAYLOR                  OH     90013526411
42763468891873   MILDRED           BLOCKER                 OK     21069304688
42763637181669   MARVIN            HORN                    MO     90013826371
42767375391351   YOLANDA           MUNOZ                   KS     90012653753
42772313751346   ELONZO            HOBBS                   OH     90010613137
42772683491873   ADA               MORALES                 OK     90002756834
42772949291892   DIM               TAUNG                   OK     90012909492
42775383761967   MARIO             GARCIA                  CA     90007013837
42778179391351   ANTONIO           NETO                    KS     90012711793
42778949991873   DIANA             SMAIL                   OK     90006049499
42781414671999   MIRANDA           ALFARO                  CO     90014744146
42784959361967   VICTOR            ANGUIANO                CA     90014699593
42786329251383   DENISE            WHITE                   OH     90005133292
42787465151334   MISTY             LUNSFORD                OH     90005314651
42788126991351   JASON             ARAMBULA                KS     90014741269
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42789157451334   KRISTIN          WHEELER                  OH     90010571574
42791893991547   CRISTINA         HOLGUIN                  TX     90009388939
42792625293741   TRACIE           WAX                      OH     90001696252
42795817481621   JERI OR DAMIEN   WOMACK                   KS     90013908174
42796495191351   DEMONTE          HARRIS                   KS     90013224951
42813834361963   GRACE            CARPIO                   CA     46075678343
42815967461938   MARYANN          AUSTIN                   CA     90011449674
42816975861967   HUMBERTINA       PITA                     CA     90014839758
42817919291351   GERGE JR         CONNER                   KS     29024369192
42825224791351   ANTHONY          MARTIN                   KS     90012402247
42825544391569   JOSE LUIS        RIVAS                    TX     75063625443
42826934491569   JOHN             RECKWELL                 TX     90008389344
42828531171999   LATASHA          CERVANTES                CO     90012695311
42828941791351   JEREMY           JONES                    KS     90008309417
42831846341258   KURT             ACHESON                  PA     51075368463
42832357791569   JEANNETTE        FELIX                    TX     90011593577
42832497861986   MARIA            GONZALEZ                 CA     90013804978
42832636491569   MAYELA           JASSO                    TX     90012866364
42835647361925   GUILLERMO        TORRES                   CA     90003846473
42835914861967   JOHN             WALKER                   CA     90007979148
42837365161963   ARRU             OELKE                    CA     90009513651
42837391491873   CHRISTY          HITCHCOX                 OK     90011223914
42838292861963   WAIL             ALBAKRI                  CA     90008492928
42839682751339   WAYNE            BECKMAN                  OH     90012686827
42839768491569   OSCAR            RODRIGUEZ                NM     90008327684
42841181951334   DANIEL           STURGIL                  OH     90009561819
42842515561963   ANGELICA         SANCHEZ                  CA     90005585155
42842744651382   KENNETH          ALEXANDER                OH     90014167446
42847382171999   KRYSTAL          MUSTARD                  CO     90007803821
42856924291873   JENNIFER         MALONE                   OK     90004829242
42857551891569   OLGA             TRIANA                   TX     90007265518
42862611391351   SHAWN            BOSWELL                  KS     90013216113
42863423151334   SCOTT            TERWILLIGER              OH     66016364231
42865882493794   DARRIS           WILLIAMS                 OH     90005648824
42868169291873   KAP              LIAN                     OK     90015321692
42872443291351   JUAN             GOMEZ                    KS     90011134432
42874713371999   JENNIE           SALAS                    CO     38053237133
42877356441258   BELINDA          ABBOTT                   PA     90004063564
42877382171999   KRYSTAL          MUSTARD                  CO     90007803821
42878827491569   LORENA           VEGA                     TX     75040368274
42879189491547   BLANCA           CORRAL                   TX     90009131894
42879712961963   CHRISTINA        LEE                      CA     90013797129
42881527351348   JERRY            DOUGLAS                  OH     66082015273
42881762761963   SERGIO           MONTES                   CA     46063887627
42881847391873   MATTHEW          TERRAL                   OK     90013928473
42882831371999   GINA             MEDINA                   CO     90011118313
42883466361963   GELACIO          MORALES                  CA     90013204663
42884953455939   PATRICIA         GONZALEZ                 CA     90007389534
42885528561967   TATIANA          WHIZAR                   CA     90013125285
42886566851334   BRANDON          SPICER                   OH     90013295668
42888531971999   LEXI             FOULK                    CO     90000645319
42888976351334   JOEL             BROOKS                   OH     90011319763
42889311651388   THOMAS           FARRIER                  OH     90014023116
42889473591351   KATRINA          FARAGE                   KS     90011134735
42893253555939   NORA             LOPEZ                    CA     49040502535
42893786791569   LUIS             VILLA                    TX     90006037867
42894196961963   MEGAN            PERDUE                   CA     46085721969
42895296171999   LYNETTE          REYES                    CO     90014262961
42895889191351   RAMON            ORTIZ                    KS     90014108891
42896524791351   ANTOLIN          JUAREZ                   KS     90012315247
42896992451334   ROBERT           LITMAN                   OH     66094139924
42898186571999   DANIEL           HOWELLS                  CO     90012851865
42899889461963   COURTNEY V       SWEPSTON, SR             CA     90012638894
42913132491351   AMBER            BOYLE                    KS     90011151324
42916896254151   NICHOLE          SWARTOUT                 OR     90013738962
42919554661963   TYRONE           WHITE                    CA     90011905546
42924266791873   MARIA            ESCOBEDO                 OK     90013012667
42924285851334   CHRISTINA        WILLIAMS                 OH     90013202858
42924468861963   VICTORIANO       CARDENAS                 CA     90010684688
42924677661967   KATHERINE        RODGERS                  CA     90013956776
42926724355966   REYNA            SOLANO                   CA     90010627243
42928931855939   YESENIA          BEJINEZ                  CA     90009019318
42929711955939   GLORIA           DELGADO                  CA     90010557119
42931678861967   JORGE            RIVAS                    CA     90011866788
42931719755939   VICTOR           DELGADILLO               CA     90010557197
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42932525571999   NICOLE       JASPER                       CO     90013485255
42933551671999   ANISHA       LUCERO                       CO     90000255516
42934847891569   CARLA        DE LOERA                     TX     75097478478
42935964791569   GABRIELA     HERNANDEZ                    TX     75074019647
42936899271999   ERNEST       FOX                          CO     90014778992
42937378251334   BRANDY       MOTZ                         OH     90015093782
42938613951334   DEMETRIA     JONES                        OH     90008716139
42941122251383   JIMMY        SELVIDGE                     OH     90001641222
42944267891873   MARIANELA    DEL SANTISI DELGADO          OK     90013012678
42949552861967   HEIDI        PLUMMER                      CA     46007615528
42953828471999   JAMES        SIERRA                       CO     90014388284
42955212761963   TROY         PERRON                       CA     90014512127
42956286171999   CHRIS        STEWART                      CO     90013352861
42956294471999   FRANKIE      TRUJILLO                     CO     90010122944
42961392491873   SONIA        CHAMBERLAIN                  OK     21081603924
42962357391569   OLICARPIO    DURAN                        TX     90009613573
42965127161967   JAZMINE      NAVARRO                      CA     90008551271
42968839991873   RORIE        MITCHELL                     OK     90002498399
42969822555939   CHEYANNE     JAMESON                      CA     90010558225
42973288691569   MARIA        VEGA                         TX     75051182886
42973945251383   VICTORIA     GNITKE                       OH     90001829452
42974463461995   ALMA         BRISENO                      CA     90011584634
42974689571999   FRANK        ANDAVERDE                    CO     38089966895
42977882491351   SONIA        SANDOVAL                     KS     90000248824
42978188991873   TAHER        SHOUBAKI                     OK     90013891889
42978568355928   SANDRA       WARD                         CA     49007755683
42979892961967   ELIZABETH    JIMENEZ                      CA     90008438929
42984241155939   SUSIE        CASARES                      CA     49062662411
42984986961963   JOEL         DE LEON                      CA     46018169869
42985722151383   OCTAVIO      SANCHEZ                      OH     66065677221
42986496261996   AIDA         REYES                        CA     90002984962
42986694655939   CAROLYN      CARRISOSA                    CA     90008666946
42987496261996   AIDA         REYES                        CA     90002984962
42988212751334   LUIS         GONZALEZ                     OH     90012532127
42993953191873   RON          GILTON                       OK     90015089531
42999949571999   GABE         MARTINEZ                     CO     90011929495
43111312361963   ROXANNE      LIANG                        CA     46085233123
43113112361963   ALBERTO      ALONSO                       CA     46016631123
43113173572452   LARRY        DUNCAN                       PA     90008311735
43113552791569   IVONNE       HOLGUIN                      TX     90008435527
43113879251354   AMANDA       HOUSE                        OH     90001698792
43114182277595   MARIA        GARCIA                       NV     90009971822
43114524691523   BLANCA       HERNANDEZ                    TX     75055355246
43114834671999   IRENE        GARCIA                       CO     90011238346
43115123461547   PAYGO        IVR ACTIVATION               TN     90015011234
43115173221981   MEGAN        BOGER                        IN     90015461732
43115737791569   CESAR        HERNANDEZ                    TX     90014887377
43118918571999   REGINALD     BROADUS                      CO     90012169185
43119396561963   DANIEL       NARVAEZ                      CA     90007133965
43119932291523   ANGELICA     PEREZ                        NM     90006449322
43121358661967   ESTHER       AGUILUZ                      CA     90012183586
43121383861963   MARTIN       DELGADO                      CA     90000923838
43121557361986   DELIA        MONCAYO                      CA     46034115573
43121753251383   JENNIFER     VAUGHN                       OH     90009707532
43122597661963   PEDRO        ESPINOZA                     CA     90012485976
43125211355939   JENNIFER     CISNEROS                     CA     90006172113
43128294961967   ALEX         ALTAMIRANO                   CA     90013032949
43129178461967   ERIC         WHITE                        CA     90015231784
43129523891873   MYKELL       HARRIS                       OK     90014465238
43132643155939   CESAR        RODRIGUEZ                    CA     49016606431
43133889651383   MIKE         DAVID                        OH     90006498896
43133912461963   ARIANA       GOMEZ                        CA     90014959124
43136578871999   HILDA        KNIGHT                       CO     38008965788
43137869351334   MALLORY      BANKS                        OH     66009388693
43137889651383   MIKE         DAVID                        OH     90006498896
43138772851334   KEASIA       ROBERSON                     OH     90013347728
43141721855939   TONYA        SMILEY                       CA     90004387218
43142862491569   GUIRMO       LOPEZ                        TX     75037238624
43144986591569   BRENDA       MENDOZA                      TX     90013159865
43145416461967   JOSUE        BATALLA                      CA     90008654164
43145892671999   CRYSTAL      ZUNIGA                       CO     90014788926
43146752172452   ROY K        MELCHERT                     PA     90014147521
43146935577595   JOSE         RIVAS REYES                  NV     43088159355
43147444491873   FLORENCE     SMITTICK                     OK     90009674444
43147516672452   LAURA        JONES                        PA     90009465166
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43151331971999   BROOKE           VIGIL                    CO     90013243319
43152813372452   DOUGLAS          SLAVIN                   PA     90011038133
43152977291926   FRANK            ADAMEK                   NC     90010969772
43153824372452   BRANDI           ZIMMERMAN                PA     90005638243
43153924877595   JESSICA          PRICE                    NV     43088999248
43157995361941   ANGELICA         VALENZUELA               CA     90009299953
43158719721981   CHRISTIAN        BIRKHOLZ                 IN     90015357197
43158883871999   JOSH             GONZALES                 CO     90001958838
43161142191569   JESSICA          ARMENDARIZ               TX     90013511421
43161834755939   MAGNOLIA         RAMIREZ                  CA     90012918347
43162119984336   MARCUS           COLEMAN                  SC     90012141199
43167115361967   ITZEL            MENDOZA                  CA     90005091153
43167124491394   CHARLES          PENLAND                  KS     90006111244
43167399477595   ARACELI          SILVA                    NV     90014203994
43168672951334   BRITTANY         BLEVINS                  OH     66032176729
43169242372452   CHRISTINE        HEREDA                   PA     90000962423
43171144461963   TRACY            TAPIA                    CA     90014021444
43171242361967   LEONOR           CASTANEDA- FRAIRE        CA     90014492423
43172297971934   JODY             VOLK                     CO     32005082979
43174834961963   LUCINA           PERPULY                  CA     90007498349
43175764555939   ASHLEY           MONSON                   CA     90012787645
43175955977595   DESIREE          JACKSON                  NV     90010229559
43178372361963   DILIA            VASQUEZ                  CA     90015333723
43181672791873   TERRY            MCNIEL                   OK     90015406727
43183678455939   LAFAYETTE DION   WASHINGTON               CA     90012696784
43184453891394   MIGUEL           ESPARZA                  KS     90009034538
43184588851334   HEATHER          SALZ                     OH     66006565888
43186614891873   SONYA            NWANKWO                  OK     90010896148
43189716661963   JESENIA          CUEVAZ                   CA     46078377166
43191998951334   DWAINE           HILL                     OH     66017939989
43193438271999   MICHAEL          LYONS                    CO     90003434382
43193941291873   JAMIE            GUTHRIE                  OK     90008229412
43194276321981   IDA              HENDERSON                IN     20500482763
43195221821981   VICTOR           PAGAN                    IN     90012462218
43196233155939   JESUS            MALDONADO                CA     90012102331
43197435861967   FABIAN           SEGOVIA                  CA     90014994358
43199588572452   GINGER           MACLELLAN                PA     90013425885
43211663577595   JESUS            RODRIGUEZ                NV     43006546635
43211829251334   SARA             GONZALEZ                 OH     90014488292
43212537651334   CHRISTOPHER D    BRADFORD                 OH     90012505376
43213555477595   JOSE             NUNEZ                    NV     90012525554
43216162291569   DE-LA CRUZ       RAQUEL                   TX     90004501622
43216467877595   JUAN             ROMERO                   NV     90011064678
43217718371934   RICHA            GRUNDEN                  CO     32069237183
43218874455939   TINA             VELA                     CA     90004318744
43219152255939   ZENAIDA          MACHUKA                  CA     49084971522
43219718151383   TIL              SUBEDI                   OH     66013787181
43219945641222   MARKIA           FERGUSON                 PA     51046789456
43221353451336   ERIC             LEATHERWOOD              OH     90011523534
43224958493728   DAWN             SHIRK                    OH     90010039584
43225353821981   FELICIA          GATHERS                  IN     90014593538
43226116485697   MARIA            CONIGLIARO               NJ     90008801164
43226254558528   GARY             BURKETT                  NY     90015602545
43226258491873   JACKLYN          ALVEREZ                  OK     90010952584
43228234171999   ROSETTA          CAMPBELL                 CO     38068022341
43229154571999   JOHN             COULTER JR               CO     38075121545
43229233991569   ALFREDO          GONZALES                 TX     90009902339
43231479471999   ALICE            MONTANO                  CO     90006964794
43232346491873   WAYNE            MILES                    OK     90010343464
43232982291873   BELSER           AGUILAR                  OK     21064429822
43233199851383   LISHA            JONES                    OH     66065721998
43233278791873   SHAREIKA         PHILLIPS                 OK     90013772787
43234138261967   ANTHONY          MACIAS                   CA     90011181382
43234467391873   RAMON            RODRIGUEZ                OK     90002564673
43234828972452   THERESA          SMITH                    PA     90011868289
43236584291873   AMY              ROE                      OK     90009005842
43239113671999   RENEE            FASANO                   CO     90013381136
43241327455939   GARCIA           VRINEY                   CA     49072863274
43241573991569   ANGELA           DURAN                    TX     90014715739
43242979491873   MYLANIA          HAMILTON                 OK     90014819794
43243352891569   EVELYN           RODRIGUEZ                TX     90004513528
43243795871934   JUSTIN           OLSEN                    CO     90003277958
43244396191873   JOHN             MOROSE                   OK     90010093961
43246721261963   WILMA            DURBIN                   CA     90011007212
43247933151383   KEVIN            NASH                     OH     90014629331
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43249881191892   ALEXANDRIAN   ALLEN                       OK     90012838811
43252533177595   YVONNE        GONZALEZ                    NV     90011075331
43252873355939   ROBERT        CERVANTES                   CA     90011478733
43252933261963   JASON         TAYLOR                      CA     90014989332
43253969891523   C.D           WILBOR                      TX     75055169698
43254933591873   REBECCA       OMALLEY                     OK     21088229335
43256952731437   MONTY         HAMPTON                     MO     27561599527
43257644331437   GWEN          GORDON                      MO     90001206443
43258268661938   MELVIN        CASTELHANO                  CA     46006602686
43261858191569   MANUEL        SALAZAR                     NM     75030348581
43262226661963   JOHN          SIMMONS                     CA     90012392266
43262345871999   JOSE          HERNANDEZ SOTO              CO     38084343458
43262493461967   CARINA        CASTRO                      CA     90006054934
43263766161967   MARIA         VELASQUEZ                   CA     46013237661
43264768171999   ANDREW        ASBURY                      CO     90014147681
43265832851383   MARCUS        SAWYERS                     OH     66006048328
43267789791527   MANUELA       MENDOZA                     TX     75005407897
43269613261963   JORGE         LOPEZ                       CA     46041946132
43269937751334   JAIRO         FERNANDEZ                   OH     90012309377
43271157271999   DORTHOY       FLAVIN                      CO     90002641572
43272539255939   ANNA          COCHRAN                     CA     49054755392
43275147851332   TIMOTHY       TEAGUE                      OH     90010051478
43275937751334   JAIRO         FERNANDEZ                   OH     90012309377
43276457891873   SAMANTHA      RANKINS                     OK     90011524578
43277449561925   ANTONIO       GARCIA                      CA     90009624495
43278782751334   MINYA         GROODMAN                    OH     90013477827
43279599861967   ESTHER        CARDONA                     CA     90012205998
43282328261963   BROOKE        HENRY                       CA     46096703282
43282369977595   CHRISTINE     BOYD                        NV     90011243699
43282663971999   HILARY        GALLEGOS                    CO     90002476639
43284692547954   STEPHANIE     REYGADAS                    AR     25024576925
43284974691569   MARIANA       MACK                        TX     90013769746
43285957391873   AUDREY        MYKELOFF                    OK     90014769573
43286783755939   LISA          STANTON                     CA     90006367837
43287271691873   JEFFERY       CUMMINGS                    OK     90013772716
43287825891569   ALBA          SOSA                        TX     90001228258
43289111591324   KHEN          TUNG                        KS     90001861115
43289761555939   MARO          ALPOONARIAN                 CA     90007427615
43291319991892   LETICIA       GUILLEN                     OK     90009893199
43291853671999   DIANA         MERCARDO                    CO     90015188536
43292838361967   ISRAEL        TOVAR                       CA     90014558383
43293282391569   ERICA         DIAZ                        TX     90010372823
43293737561963   OBED          KING                        CA     90007097375
43294574793767   MARK          LOFTON                      OH     90013435747
43294791551334   DESHAWN       PHILLIPS                    OH     90013247915
43294948591873   GEORGE        DERBOVEN                    OK     90015269485
43295912755939   FABIOLA       LOPEZ                       CA     90006669127
43298144951334   EMMANUEL      MARTINEZ                    OH     90001581449
43298556971999   ANGELA        BREKKE                      CO     90014155569
43311189455939   ARMANDO       DUARTE                      CA     90011211894
43311315185931   CARRIE        PRESTON                     KY     90000943151
43313586361547   TONEE         HUDSON                      TN     90013415863
43316264291523   GEEGA         A                           TX     75042242642
43322184851334   KATHY         SMITH                       OH     66008911848
43323163491569   MARILYN       DEL RIO                     TX     90011981634
43326571355939   BRIAN         KIRBY                       CA     90013495713
43328463971999   BRIANNA       HOLDERNESS                  CO     90013694639
43329842897134   TRISHA        HOSTETLER                   OR     90013228428
43331465271999   CHELSEA       ARAGON                      CO     38093114652
43336184491342   GERARDO       PENA                        KS     90002371844
43341744477595   MARK          STEVERMAN                   NV     90001817444
43342677655939   KEISHA        HOUFF                       CA     90009786776
43344374255999   CARLOS        ARONI                       CA     49059013742
43344396151334   KATIE         HOUSE                       OH     66050733961
43345942777522   ANGEL         HERNANDEZ                   NV     90009129427
43346517755928   ALFREDO       HERNANDEZ                   CA     90014955177
43346914371933   YVONNE        TRUJILLO                    CO     90012479143
43348836161967   MARIA         VALDEZ                      CA     46015858361
43348869985944   RONALD        MALSI                       KY     90012408699
43352517791569   FRANCISCO     MORALES                     TX     90014665177
43354646791569   ELVA          RUIZ                        TX     75072666467
43355452761967   JOHN          GRONDONA                    CA     90013394527
43355725777595   JEROME        SANTIAGO                    NV     90007937257
43356777171956   MARGARET      CAMARGO                     CO     90015257771
43357349521981   SYDNEY        FORRESTER                   IN     90012143495
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43357531171934   BUTCH              HILLEN                 CO     32095675311
43357767551383   PAULA              MITCHELL               OH     66065777675
43358564661963   ENRIQUE ANTONIO    SANDOVAL               CA     90013935646
43359883571999   CRYSTAL            SOSA                   CO     90014578835
43361295761963   JUAREZ             JUANIT                 CA     90006522957
43361972691873   CHRISTINA          MCSPAREN               OK     90011339726
43364824671934   BRIAN              BECKER                 CO     90000718246
43365158291873   JOSELUIS           FUENTES                OK     90015301582
43366175261963   SARAH              BURNS                  CA     46084611752
43366731855939   JOHN               FAULKERNBERRY          CA     90010027318
43369469661967   ADRIANA            OSUNA                  CA     46084594696
43369569755939   ELVA               CHAIDEZ                CA     49074255697
43371637655939   KUE                XIONG                  CA     90012746376
43371792891569   TELMA              RAMIREZ                TX     90009857928
43372478151334   SALOME             PEREZ                  OH     66032844781
43372524251383   SARA               MUMFREY                OH     90004235242
43372877151334   SHAUNTIA           PHILLIPS               OH     90014568771
43373164961945   CUAUHTEMOC         VIZCARRA               CA     90012541649
43373249641265   DANIELLE           TABB                   PA     90012092496
43373482221981   PAYGO              IVR ACTIVATION         IN     90006004822
43373564291982   MONICA             LONG                   NC     90006565642
43374914751334   MICHELLE           MCCAIN                 OH     66055399147
43375765791569   JONATHON           ARGANDONA              TX     90012757657
43376889751336   VERONICA           SIFFEL                 OH     90005678897
43378192677595   JUAN               OJEDA                  NV     90013141926
43378569391569   NOE                SORIA                  TX     90013345693
43381979391523   MUNOZ              CHRIS                  TX     90010959793
43382125371999   JAMES              CARBAJAL               CO     90014281253
43382299661967   ADRIAN             ARROYO                 CA     90013032996
43383564361963   PATTY              HERNANDEZ              CA     46018185643
43384696491873   MARIE              LEMOINE                OK     90015426964
43387643151383   TIMOTHY            CRAWFORD               OH     90011596431
43392498577595   JORGE              URIDE                  NV     90014244985
43393419591873   JAMES              SCOTT                  OK     90014384195
43393457891873   SAMANTHA           RANKINS                OK     90011524578
43394466541265   CINTHIA            CRAIG                  PA     90010534665
43394568577595   OMAR               RAMIREZ                NV     90000795685
43395498561967   BRANDI             MEZA                   CA     90007164985
43396761851383   GARY               BRIDGEFORD             OH     66001947618
43398368591569   ANGELINA           ALMANZAR               TX     75086973685
43398731477595   FIDENCIO           AMADOR                 NV     90009607314
43399557391569   CRISTINA           HERNANDEZ              TX     90014835573
43411788461967   JAMIE              MARTINEZ               CA     90014497884
43411835951326   TIFFANY            BALDWIN                OH     90001068359
43413167651383   KIMBERLY           SPAHR                  OH     90014631676
43413464877595   GUILLERMINA        CASTILLO               NV     90003774648
43413515977595   BRITTNEY           OLEARY                 NV     90014245159
43414167651383   KIMBERLY           SPAHR                  OH     90014631676
43416167651383   KIMBERLY           SPAHR                  OH     90014631676
43416884961941   MARIA DEL CARMEN   PENA                   CA     90011948849
43417991771996   BERTA              CECILIA MUNOS          CO     90011329917
43418167651383   KIMBERLY           SPAHR                  OH     90014631676
43418736561967   GRACIEL            RIVAS                  CA     90001827365
43419352291394   ALFREDO            CATALAN-FELIX          KS     90003263522
43421965691394   MICHAEL            CHAVIRA                KS     29039239656
43424478491873   DANIEL             BROWN                  OK     90009404784
43424553561963   ROBERTO            HERNANDEZ              CA     46006125535
43426237451344   ELI                SCHATZLE               OH     66060352374
43426864861963   LINDA              VEJAR                  CA     90010828648
43426921854132   THOMAS             DIAZ                   OR     90015269218
43427237451344   ELI                SCHATZLE               OH     66060352374
43429331651383   GINA               ABBOTT                 OH     90014013316
43429348591569   JESUS              RAMOS                  TX     90013463485
43432113871999   KARA               BRILL                  CO     38070301138
43432458161963   GIOVANNY           GALVAN                 CA     46010894581
43432593691873   DONZA              SETTLES                OK     90015185936
43433687461963   CLEMENTE           VEGA LEYVA             CA     90012896874
43433822261967   MELVIN             PRICE                  CA     90005228222
43438257151334   KIMBERLY           LACEY                  OH     66028652571
43438545421981   JULIE              LOSEY                  IN     90013825454
43441919661963   JAMES              HUFF                   CA     90014959196
43442731255939   TOU                VANG                   CA     90012197312
43443278461963   OLIVIA             ORTIZ                  CA     90002912784
43443689577595   ERICK              ESTRADA-CHAVEZ         NV     43031246895
43445731161967   MARIA              ESPARZA                CA     90011287311
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43446759151383   ASHAWNTAY     COLLINS                     OH     90005087591
43447924955939   KATHY         RIVERA                      CA     49081249249
43448568991569   YOLY          HERNANDEZ                   TX     90003865689
43451447821981   KERRI         MARTIN                      IN     20591314478
43453425891569   ANTHONY       CARRILLO                    TX     90009414258
43453613161963   AMILCAR       LOPEZ                       CA     90002316131
43454488161963   RUBY          PRECIADO                    CA     46098724881
43455394491569   GLORIA        ROMAN                       TX     75074313944
43458887351334   ASHLEY        CARDWELL                    OH     90013658873
43461459755939   CARLOS        GOLLETTE                    CA     90013104597
43462147861975   ILLIANA       AYALA                       CA     90001291478
43463575477595   GERARDO       REYES-HERNANDEZ             NV     90010915754
43463648271999   ULISES        ANTILLON                    CO     38007496482
43467552161967   ROBERTO       RAMIREZ                     CA     46008045521
43467673933694   TONYA         GOINS                       NC     90003556739
43468475442524   ROSIO         TOFELO                      WA     90015364754
43468727361963   JUSTINO       FUENTES                     CA     90010697273
43471335571999   CHRISTOPHER   ROBERTS                     CO     90015213355
43472369871999   ROBERT        ROMERO                      CO     90009423698
43474357751325   JUDY          HUGHES                      OH     90014643577
43477161361963   REYNA         REYNOSA                     CA     46098471613
43483833971968   KACY          COOPER                      CO     32052428339
43484653251334   DE ASIA       BROCK                       OH     90012796532
43484828461963   PERLA         ZAZUETA                     CA     46007948284
43489355371934   JUAN          GARCIA MENDOZA              CO     90006493553
43489881361955   LOURDES       HERRERA                     CA     90013298813
43491179661963   FLOYD         MAYWEATHER                  CA     90010241796
43493315371999   KATLYN        CASTRO                      CO     90013463153
43493544477595   RAFAEL        GONZALEZ                    NV     43044945444
43494825851383   MONTIJAE      MARTIN                      OH     90011808258
43495136891569   JOVANNA       RODRIGUEZ                   TX     90004741368
43495737977595   MELODY        HERNANDEZ                   NV     90007357379
43496415157549   ANTONIO       JIMENEZ                     NM     90008724151
43496631171999   MARIAN        LERMA                       CO     90008266311
43497851151383   JEANNOT       NGALAMO                     OH     90011808511
43499141671999   JONATHAN      MACIAS                      CO     90013961416
43514413771999   CONNIE        NEWTON                      CO     38029324137
43515385277595   RANDY         SUBILLAGA                   NV     90014253852
43516543151334   MARCO         GOMEZ                       OH     90011915431
43517574471999   JAMES         MEDINA                      CO     38004825744
43518553177595   SHANNON       BRISTOW                     NV     90014645531
43518745547954   VERONICA      DOMINGUEZ                   AR     25095967455
43518947577595   SKYLA         HOYOPATUBBI                 NV     90014669475
43521452561967   CYNTHIA       DRENSKY                     CA     90014924525
43523457177595   JULIO         PEDROZA                     NV     43040534571
43523478361963   LUKE          HASTINGS                    CA     90013304783
43524999861967   BENJAMIN      VALDEZ                      CA     90011159998
43525567471999   GLORIE        FALCON                      CO     38065005674
43526981791569   CHRISTOPHER   VASQUEZ                     TX     90011349817
43527445377595   MICHAEL       LABRIE                      NV     90012194453
43531849391926   MICKEY        LYCHN                       NC     90011208493
43532319471999   RENA          CANO                        CO     90011253194
43532686931481   KAREN         LEE                         MO     90001176869
43533714341229   MICHAEL       NAHAY                       PA     90015067143
43533725251334   BRANDON       FELIX                       OH     66014777252
43535267951334   JOSELINE      RODRIGUES                   OH     90010722679
43535531291569   STEPHANIE     MANRIQUEZ                   TX     90013365312
43538984161963   FLORENCIA     C                           CA     90002209841
43541179591569   STACEY        LUJAN                       TX     90014021795
43541498193768   PAIGE         SMITH                       OH     90012544981
43543311961967   TANNEESHA     TURNER                      CA     90013033119
43546197177595   ROLAND        BROOME                      NV     90009341971
43546789733673   GLADYS        VENTURA                     NC     90013107897
43548659777595   EVAUGHN       NICHOLE                     NV     90014646597
43551385177366   MELISSA       BLANCHARD                   IL     90014883851
43551934291873   CHARLIE       VUE                         OK     90013169342
43552313891523   ALFREDO       JAQUEZ                      TX     75055243138
43552522691569   VANESSA       TALAMANTES                  TX     90013285226
43554445961941   ROBERTO       GOMEZCABRAL                 CA     90010194459
43555251355939   SAULO         HERNANDEZ                   CA     90011212513
43556351955939   AXEL          NINO                        CA     90013983519
43556835861967   VICTORIA      BOWERS                      CA     90006978358
43557142861963   AMBER         MARTINEZ                    CA     46060541428
43557711261963   AMBER         MARTINEZ                    CA     90014477112
43558287251334   NANCY         HINES                       OH     66001232872
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43559529461963   BILLIEROSE       SCHNEIDER                CA     46044635294
43563233691569   BOGAR            ORTIZ                    TX     90012872336
43563971251383   PATRICIA         KING                     OH     90004209712
43568282951334   VICTOR           SANCHEL                  OH     90012682829
43569111961963   JESUS            DIAZ                     CA     46098291119
43571116991569   BLANCA           LOPEZ                    TX     90011341169
43571241551334   ROXANNE          LAU                      OH     90010862415
43571291251383   JOHN             MULCAHEY                 OH     90002462912
43572142861963   AMBER            MARTINEZ                 CA     46060541428
43572624151354   THOMASINA        SIMMONS                  OH     66017156241
43573579691873   CHRISTINA        CLARK                    OK     90013265796
43574997291873   BRIAN            SCHENCKS                 OK     90013719972
43575864591569   SHON             STEVENS                  TX     75010578645
43576547561967   COBBIE           DIXON                    CA     90014915475
43578319951383   JULIEN           WAGNER                   OH     90011803199
43579829951334   KESHA            FORD                     OH     90015048299
43582519755939   JOSH             BRANTLEY                 CA     90010145197
43582748877595   OSCAR            MURGA                    NV     43062397488
43585398877595   BRENDA           MAYNOR                   NV     90006793988
43587284377595   FRANCIS          CONTRERAS                NV     90006812843
43588215791873   SHELIA           CEARLEY                  OK     21038402157
43588579691873   CHRISTINA        CLARK                    OK     90013265796
43589858891523   EULALIO          GARCIA                   TX     90009048588
43592397555939   JESSIE           LEE                      CA     90005073975
43592441461967   CU               VO                       CA     90012444414
43593734377595   LUIS             RODRIGUEZ                NV     43008177343
43595196691569   AVLEN            GONZALEZ                 TX     75013931966
43595549271999   SHERRY           MCDONOVAN                CO     90013695492
43596251751383   ASHLIE           CHEATHAM                 OH     90014652517
43597722391873   FA RANA          HOMAS                    OK     90014317223
43599812291569   KRYSTAL          BERRY                    TX     90010688122
43613727371924   HUGH             DOWNEY                   CO     90001417273
43618629991569   PATRICIA         GUILLEN                  TX     75003386299
43619772555939   SONYA            ZAVALA                   CA     90001237725
43621174751383   TORI             GRANT                    OH     90014641747
43621292861924   JAKE             STEWART                  CA     90013182928
43622883571999   CRYSTAL          SOSA                     CO     90014578835
43623191361963   ISIS             VERDUGO                  CA     90013081913
43625314151383   MELISSA          WALTNER                  OH     66046323141
43625756655939   ULISES           MONTES                   CA     49066447566
43627484591881   ASHANTE          RICH                     OK     90010704845
43627679951334   EUFRANO          ANDRACA-FLORES           OH     90014396799
43628674971999   MATRINA          ARELLANO                 CO     90010456749
43628954261963   MITZI            ITURBIDE                 CA     46025719542
43629555433673   JAMES            SHORTER                  NC     90009335554
43631519891982   BERTHA           GOMEZ                    NC     90006335198
43634968961967   MORGAN           UPCHURCH                 CA     90013169689
43635366993768   MARK             BALLING                  OH     90007073669
43636776655939   JANESSA          MORA                     CA     90014847766
43637966431491   CARL             GREER                    MO     90004539664
43638787871999   PRESTON          RODRIGUEZ                CO     90014437878
43641314391873   ROBERT           HAGGARD                  OK     90015593143
43642439191873   LACYE            HUDSON                   OK     21080404391
43643957157122   EMELY            ANAFI ACQUAH             VA     90003969571
43644571861967   ESTHER           MANZO                    CA     90001325718
43645185361963   ANTHONY          WIGGERS                  CA     90003961853
43645834161967   HECTOR           BARRAZA                  CA     46047878341
43647173651334   GREG             BETHEA                   OH     90003031736
43647818861963   CARL             MELILIO                  CA     90014378188
43649182777595   CARLOS ALBERTO   RAMIREZ-RIZO             NV     90003091827
43649483151326   DIANE            ADAMS                    OH     90001404831
43649659951334   MARISOL          RIVERA                   OH     90009116599
43649683391394   ANISSA           FINGER                   KS     90001926833
43651347491569   ROBERTO          GONZALEZ                 TX     90013643474
43652776655939   JANESSA          MORA                     CA     90014847766
43653212755939   JUAN             ATKINSON                 CA     90008432127
43653275291549   JOSEFINA         LOPEZ                    TX     90013322752
43654139591547   RAY              GRANADO                  TX     75066351395
43654643193794   SCARLETT         HILTON                   OH     90013516431
43654849655939   AMADOR           VENEGAS                  CA     90013178496
43656184891569   SARA             PEREA                    TX     75067871848
43657769555939   ARTHUR           CASTILLO                 CA     49054387695
43658191871999   JANIE            DAY                      CO     90010421918
43659651771934   JEREMIAH         NEWMAN                   CO     90003326517
43661535291873   ROSE             MCQUEEN                  OK     90012785352
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43661677861963   MARIA              PEREZ                  CA     90001186778
43663283871999   ALICIA             GALLEGOS               CO     38092302838
43663426251334   JEREMY             MEADORS                OH     90012954262
43663858455939   MAOMI MARIE        GALINDO                CA     90014888584
43665341877595   DAVID              GARCIA                 NV     43078023418
43665972991873   KALYNN             MYERS                  OK     90002039729
43666961693755   MICHAEL            VENCILL                OH     64578369616
43667142655939   JOSE               HERNANDEZ              CA     90013321426
43668719951334   MONIQUE            KINKADE                OH     66035927199
43669557261963   AHSAKI             HUDSON                 CA     90010935572
43671324647954   SANTIAGO           VASQUEZ-LOPEZ          AR     25095833246
43671718655939   MERCEDES           SANCHEZ                CA     90014857186
43673268851383   EDGAR              GABRIEL                OH     90014652688
43673872377595   JOSE               NUNEZ                  NV     90014318723
43674771955939   DEMAR              SMITH                  CA     49064917719
43674849261963   FLAVIO             CARLOS                 CA     90012838492
43674941661967   GLENNA             RANKIN                 CA     90004869416
43676452761967   JOHN               GRONDONA               CA     90013394527
43676533851383   SARAH              MCGINNIS               OH     90013085338
43676946191394   GISELLE            SLAUGHTER              KS     29047359461
43677221355939   CARLOS             QUINTERO               CA     90014572213
43681346371999   OCTAVIO            BORJORQUEZ             CO     38081633463
43681441891873   DEE                HENDRIX                OK     90010914418
43682312151334   DONNA              ASH                    OH     66014343121
43684283661963   HECTOR             COVARRUBIAS            CA     90000702836
43686241891523   MARIA              YOLANDA                TX     90010822418
43688362761967   BRIO               HURD                   CA     90003003627
43688947461963   BIBINO             REA                    CA     90013569474
43689694377595   VERONICA           CHAVEZ                 NV     43031726943
43691756977595   KASEY              HUENNEKENS             NV     90014707569
43692461691569   YVETTE             ORDAZ                  TX     90009814616
43692615651334   KAREN              LOVELESS               OH     66001796156
43695839277595   RANDALL            BERG                   NV     43050448392
43696994191569   CORINA             VILLANUEVA             NM     75001499941
43697516691569   SANTIAGO           CHAVEZ                 TX     75029455166
43697644491873   ARACELI            MORENO                 OK     90006366444
43711859455939   RAFAEL             SANTILLANES            CA     90007698594
43713617671999   BILLY              JONES                  CO     90006866176
43714265491569   BRIAN              VALLE                  TX     90014362654
43714645171934   GWEN               YARBROUGH              CO     90004206451
43715985861963   CORRINA            FITZQERALD             CA     46034089858
43717518771934   FELICIA            ORTEGA                 CO     32045705187
43717556777595   VINCENT            TRAN                   NV     90006995567
43718356791881   MONICA             PIERCE                 OK     90012563567
43721817861967   MICHAEL            DAVIS                  CA     90006148178
43724684791569   ANGELES            GONZALEZ               TX     75047386847
43726927751334   LAQUANDA           JEMISON                OH     90008309277
43727281591569   ARMANDO            GRIEGO                 TX     75071422815
43727377951383   DOUGLAS            BRANHAM                OH     90014913779
43727391355939   SANDRA             MORALES                CA     49010993913
43731269551383   HEATHER            SHOOK                  OH     90014642695
43732836755939   SEAN               SEARLES                CA     49023908367
43733124131959   ISIAH              FURLOW                 IA     90015421241
43733484555939   AMBER              FAIRBANKS              CA     90003854845
43734232261963   LAMONT             RUSSELL                CA     90002012322
43734552891873   KATIE              GOLDSMITH              OK     90014085528
43736512461967   CHRIS              WATSON                 CA     46084825124
43736943377595   MARIA GUIADALUPE   JARAMILLO              NV     90014709433
43738936651334   MATHEW             BATES                  OH     90015549366
43739787251383   NICOLE             JACKSON                OH     90011817872
43741837291569   LUIS               LASPRILLA              TX     75010678372
43744623971999   ALFRED             SHISLER                CO     90011266239
43745832747954   ANDREW             OLIVER                 AR     25055488327
43746171451334   HENOK              CHERNET                OH     90012701714
43747593391873   ABEL               GOMEZ                  OK     90009915933
43747732247954   TINA               BAKER                  AR     25050597322
43749629177595   MICHAEL            SWART                  NV     90010576291
43753533151326   CHARLES            CAUDILL                OH     90009695331
43754527891873   ALETA              THOMAS                 OK     90014425278
43754528191549   NANCY              HERRERA                TX     90008965281
43754778671999   AARON              BROWN                  CO     90014457786
43755751551383   ALLISON            DIEM                   OH     90002747515
43756613791569   JACOB              CORTEZ                 TX     90015216137
43758443271999   LUCY               EZPINOSA               CO     90011874432
43759782261963   CHONA              MOSER                  CA     90013627822
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43761486577595   GUADALUPE    GOLDSMITH                    NV     90014734865
43761671771999   ERNESTINA    CASTILLO                     CO     90003576717
43761889651334   JAMES        DOLTHY                       OH     90015588896
43762249491569   XAVIER       ESCOBEDO                     TX     90001872494
43763663655939   JESSE        GALINDO                      CA     90011936636
43764826191523   WILLIAM      KINCAD                       TX     75067248261
43765118761963   LUIS         INIGUEZ                      CA     90013381187
43767258991569   HEIDI        GUTIERREZ                    TX     90014012589
43769635361967   SMILEY       GUARDEDO                     CA     90014956353
43771752751383   RONALD       BAUER                        OH     90004337527
43773977391569   CARRIE       LITTEN                       TX     90002839773
43775556355939   THOOB        LEE                          CA     90012725563
43775979171999   LEANN        LEWANDOWSKI                  CO     38048289791
43776296251383   LILLIAN      DOZER                        OH     90014642962
43777958591873   JUANITO      BROOKFIELD                   OK     90013159585
43778882321981   JOSE         CORONA                       IN     90003448823
43783247177595   WESLEY       BOHANNON                     NV     90014722471
43784314177595   JUAN         CHAVEZ                       NV     90014723141
43785146991523   ANGELICA     RODRIGUEZ                    TX     75055291469
43785354261967   JOI          JENKINS                      CA     90004353542
43786615171934   MISTY        HUNT                         CO     90003346151
43786684371999   SARAH        ALIRE                        CO     90013626843
43788615171934   MISTY        HUNT                         CO     90003346151
43788721691569   VICTOR       BRECEDA                      TX     90000647216
43792129677595   JOSE         FIERROS                      NV     43086781296
43792237451383   BARRY        REYNOLDS                     OH     90006512374
43793712654121   LELIA        JOHNSON                      OR     90014097126
43796832851383   MARCUS       SAWYERS                      OH     66006048328
43796961551383   EFREM        CHARLES                      OH     90011819615
43797845361963   MELISSA      GALLEGOS                     CA     90009888453
43798373151383   ALFONSO      MAZARIEGOS                   OH     90006663731
43811795191569   CESAR        BELTRAN                      TX     90011687951
43812421461967   GONZALO      LOPEZ                        CA     90010414214
43813193147954   BETZAIDA     VALENTIN                     AR     25018751931
43813975255939   GUADULUPE    PEREZ                        CA     49065029752
43815952871999   JAMES        TURNER III                   CO     38091069528
43822754755939   JESSICA      GONZALEZ                     CA     90010897547
43824391761963   MARCY        WISE                         CA     90004903917
43824671971999   DEION        GARCIA                       CO     38036986719
43829214951334   LATASHA      EATON                        OH     90004292149
43833834877595   JUAN         SERAFIN                      NV     43066928348
43834572155939   YER          HER                          CA     90014085721
43836195657148   ELSY         BAIRES                       VA     90013931956
43838162891569   DORA         TORRES                       TX     75057621628
43839217961967   BELLADONNA   COX                          CA     46064342179
43839843491873   LADONNA      GARCIA                       OK     21093528434
43841221491394   RICHARD      GONZALEZ                     KS     90009592214
43842236571999   LATISHA      PACHECO                      CO     90008732365
43842238355939   DAVID        CHATWIN                      CA     90010862383
43843752977595   HENRY        GRAY                         NV     90014737529
43844924671934   STEPHANIE    GARCIA                       CO     32076099246
43845342677595   DELFINA      ALVAREZ                      NV     90007573426
43847478161963   JOSE         MARTINEZ                     CA     46012434781
43848125377595   MIKE         SALISBURY                    NV     90004271253
43848732351334   MONROE       BURNS                        OH     66031857323
43849547177595   PRINCE       CORDOVA                      NV     90007965471
43851924155939   MOISES       ANDREADE                     CA     90015139241
43852164277595   JESUS        DOMINGUEZ                    NV     90014341642
43852282871999   RAYMOND      MORA                         CO     90015032828
43852936271999   JONATHAN     LOPEZ                        CO     90012539362
43853373771999   GLORIA       VALDEZ                       CO     90010393737
43853731977595   ELIZABETH    WRIGHT                       NV     90014747319
43856983461967   NOEMI        RUEDA                        CA     90014069834
43859371371999   ALEXANDER    SERNA                        CO     90009843713
43862837291569   HORTENCIA    LOZANO                       TX     90012508372
43864878251383   VICTORIA     JAMISON                      OH     90013018782
43865375451383   DERRICK      JACKSON                      OH     90014643754
43866752577595   JAIME        CAMBELL                      NV     90006177525
43866775777595   JUAN         ACOSTA-ESCOBAR               NV     90014747757
43867375451383   DERRICK      JACKSON                      OH     90014643754
43868819651388   RANDALL      MCCLOUD                      OH     90008618196
43868987447954   ROSALINA     BOCHE                        AR     25018789874
43869142255939   ROBIN        BAULKMAN                     CA     90011961422
43869234171999   ROSETTA      CAMPBELL                     CO     38068022341
43869528561927   DANIELLE     VINZANT                      CA     90006705285
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43869744577595   REBECA        VALENCIA-LARA               NV     43091737445
43871123991569   ROLANDO       GUSTAVO                     TX     90010131239
43871794751334   IFE           COX                         OH     90004697947
43872199971934   JAMES         LOVE                        CO     32020911999
43872699177595   ROBERT        DAWSON                      NV     90007176991
43873583891569   GLORIA        TRUJILLO                    TX     90009955838
43875191261963   NORA          CORIA                       CA     90012181912
43877559791873   PATTI         CARLSON                     OK     90012395597
43879473671999   CHRISTINA     CONTRERAS                   CO     90013294736
43879524161963   GENNY         URREA                       CA     46072775241
43881647691569   JORGE         CAZARES                     TX     75016616476
43882123461967   JUDEAN        LEWIS                       CA     46014141234
43882867577595   CLAY          SMITH                       NV     90014748675
43884749961955   ELISEO        ALVARADO                    CA     90012067499
43884872471999   JENNIFER      HOWELLS                     CO     90006778724
43884943651383   JAMES         FUGATE                      OH     90002159436
43885229351383   KIM           POWELL                      OH     90004212293
43888442961967   SAID          LAQLACH                     CA     46095444429
43888855771934   JERRY         D LANE                      CO     90003358557
43889646891873   BRIANNA       WARRIOR                     OK     90010216468
43889975255939   GUADULUPE     PEREZ                       CA     49065029752
43891397451383   BRIANNA       THOMPSON                    OH     90014643974
43891735171999   ANJA          ROSALES                     CO     38096907351
43892294993723   ABRAHALE      KETEMA                      OH     90008172949
43892397451383   BRIANNA       THOMPSON                    OH     90014643974
43892647691569   JORGE         CAZARES                     TX     75016616476
43893824551383   JUAN          MONDIJO                     OH     66040358245
43894236151334   WILLIAM       VAUGHN                      OH     66094302361
43894654371999   BREANNE       ORTEGA                      CO     90013156543
43895865891569   AIDA          RODRIGUEZ                   TX     90013568658
43896755191222   DELISA        MOCK                        GA     90011647551
43899371751383   DEANNA        CALHOUN                     OH     90014643717
43899752391873   ROGER         SCHAEFFER                   OK     21045147523
43911436591834   MICHAEL       COMBS                       OK     90010294365
43913939791873   PATRICIA      LAY                         OK     90013449397
43914177955939   ALEXAUNDRA    GRANDISON                   CA     90014481779
43915989677595   LEONEL        VALDEZ                      NV     90006219896
43919954277595   JUAN          DE SANTOS                   NV     43074229542
43921246561963   KARA          HARMER                      CA     90015182465
43922832761963   ENRIQUE       VIZCARRA                    CA     90013128327
43924624361967   TERESA        ARREOLA                     CA     90013936243
43924833191873   RUBY          REA                         OK     21092378331
43924899651328   GARY          RESURRECCION                OH     90002118996
43925188471999   DEBBIE        CHAVIRA                     CO     38077281884
43925943361963   JINGXING      WAN                         CA     90009519433
43926295855939   SHEIKARA      MAYBERRY                    CA     90012252958
43927881985877   JOSE          ALVAREZ                     CA     90008308819
43929159151326   EBONIE        COLEMAN                     OH     90015131591
43929264377595   LUIS          LOPEZ SALINAS               NV     90014752643
43931139461967   ROBERT        CARBLAY                     CA     90012491394
43931487677595   BRITTANY      JOHNSON                     NV     43000944876
43932967951334   ASHLEY        TURNER                      OH     90010469679
43934425451383   LATITIA       MOORE                       OH     66027714254
43935724791873   FRANKLIN      HERERA                      OK     90009937247
43936377671999   TIMOTHY       AGUERO                      CO     90011753776
43938752261963   ALMEND        ENRIQUEZ                    CA     90012707522
43938797871934   JOHNNIEMAE    HAMPTON                     CO     90012287978
43939968961967   MORGAN        UPCHURCH                    CA     90013169689
43942438951383   STEPHEN       LAIRSON                     OH     90014644389
43944921451334   CHRISTOPHER   GRIFFIN                     OH     90014369214
43946941931472   ANTHONY       CARUTHERS                   MO     27586569419
43949116461967   MARTHA        ITURRALDE                   CA     90009471164
43951433361963   TSEDALE       RASHAW                      CA     46005404333
43954214151336   RASHUNDRA     SMITH                       OH     90004162141
43954222555939   JOSE          SANCHEZ                     CA     90014472225
43956531291569   STEPHANIE     MANRIQUEZ                   TX     90013365312
43956536491524   SANDY         ROBLEDO                     TX     90010995364
43958258761967   MARIEL        COLON                       CA     90000932587
43959986585981   STUART        FREEMAN                     KY     90013339865
43959986861967   ISRAEL        NUNEZ                       CA     90011209868
43964997991394   SULMA         HERNANDEZ                   KS     29098609979
43966473671999   CHRISTINA     CONTRERAS                   CO     90013294736
43969734377595   LUIS          RODRIGUEZ                   NV     43008177343
43971995371999   ROSE          PINO                        CO     90003039953
43972539671999   MICHAEL       AGUILERA                    CO     90011505396
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43972715761967   MICHAEL            QUICK                  CA     46077987157
43973662377595   TED                SANFORD                NV     90007966623
43976935155939   CHANNY             MEP                    CA     90012639351
43977195171934   BRYCE              CEJKA                  CO     32001521951
43979742377595   CLARA              CARRILLO               NV     43037057423
43981643251383   DEBRA              HAYES                  OH     90014646432
43982369571999   MARLENE            CAMUS                  CO     38097923695
43982745651383   DEVINA             SCHUBERT               OH     66030517456
43983599961986   VICTOR             ARAMBURO               CA     90007675999
43984426255939   AUSENCIA           ROJAS                  CA     90002014262
43987187171999   NEISHA             LOPEZ                  CO     90015221871
43989353971999   ANTHONY            COPLEY                 CO     38058093539
43991926191873   ROSIE              MCQUARTERS             OK     90012189261
43992247151383   LEE                MILLER                 OH     90011892471
43992356291569   NADIA              HARCO                  TX     90002323562
43992766551334   DONNA              STOUT                  OH     90009717665
43993498571999   CHEVY              MONTOYA                CO     90012364985
43994165381639   ROBERT             ROGHWELL               MO     90013581653
43994522972434   BRIAN D            MILLER                 PA     90006985229
43994823851334   SHELLY             DENNIS                 OH     90013118238
43995112877595   GARY               LYNN                   NV     43040761128
43999637671999   ANTONIO            TREADWAY               CO     90010396376
44111475731959   MARBELLA           PERDOMO                IA     90009274757
44111616451334   JAZZMIN            ILLIAMS                OH     90012856164
44113727191869   KELLI              INMAN                  OK     21096167271
44115533191873   VICKI              CARPENTER              OK     90011955331
44115871151334   BLAIR              COUCH                  OH     90012838711
44118244151383   ADAM               MARTIN                 OH     90006802441
44118363761963   JAZMIN MONSERRAT   GARCIA PEREYRA         CA     90014163637
44119596191873   MARIA              GUADALUPE              OK     90004955961
44119958772443   CHRISTOPHER        CROMO                  PA     90014739587
44122846272443   JAMES              BURGOS                 PA     51001428462
44122865747954   GONZALO            RODRIGUEZ SALINAS      AR     25005318657
44124435572443   HEATHER            WILSON                 PA     51092874355
44124688171934   ALBERT             YBANEZ                 CO     32059486881
44124979361967   ELENA              PEREZ                  CA     90007989793
44126214372443   SHANEE             BROOKS                 PA     90014382143
44127321351334   HERSHEL            WHITE                  OH     90009843213
44131663491351   KATI               BECK                   KS     90013466634
44132986672443   SCOTT              VANSICKLE              PA     90000319866
44133254491569   YOLI               PARRA                  TX     75059372544
44133932447954   JOHEL              PEREZ                  AR     25002389324
44134271751334   STEPHEN            YOUNT                  KY     66094352717
44135362655939   RONALD             HANSEN                 CA     90004243626
44138548351383   MICHAEL            LOMBOY                 OH     90006495483
44139747661963   ENRIQUE            CORONADO               CA     90006747476
44141327172443   WALTER             LEHMAN                 PA     90013443271
44141333991569   ELIODORO           FERNANDEZ              TX     90015343339
44144486757136   COTHEIA            REYNOLDS               VA     90011314867
44146867561963   KARLA              ZAMORA                 CA     46012188675
44147362755939   DIANE              CERCADO                CA     90013873627
44148199361963   ANNETTE            REYES                  CA     90012921993
44149467991873   SHELIA             RASH                   OK     21058424679
44149686147954   JOSE LUIS          MARTINEZ               AR     90014686861
44151743791569   CESAR              DURAN                  TX     90014367437
44152154891941   LORRAINE           DOUTHIT                NC     90014191548
44153213161967   ABRAHAM            ALATORRE               CA     46089692131
44153651672443   SUZETTE            HOUGH                  PA     90014846516
44156957641294   ORREIN             GODFREY                PA     90011789576
44159261672443   ERIC               VASQUES LOPEZ          PA     90014002616
44163242861967   ANNIE              DAVIS                  CA     90007702428
44163383791569   VERONICA           CONTRERAS              TX     90010013837
44164595931673   WAYNE              KINNEY                 KS     90014675959
44165144961967   REGINALD           LITTLETON              CA     46038071449
44166518771934   FELICIA            ORTEGA                 CO     32045705187
44168133743575   CARLOS             MANZIA                 UT     90013081337
44169554291569   MERARY             CARBAJAL               TX     90009875542
44171127771999   JUSTIN             RICHARDSON             CO     38047891277
44171134647954   JOLENE             WATKINS                AR     90012981346
44171543291569   MARY ESTHER        GALVAN                 TX     90009535432
44171956955939   JACKIE             AVILA                  CA     49062879569
44172642551382   LUCIUS             RICE III               OH     66000696425
44172968233631   ANTHONY            BARNES                 NC     90002349682
44174128761963   ROSALIO            AGUILAR                CA     90012911287
44175347155939   JESUS              CARDENAS               CA     90014183471
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44176987591523   JESUS           LOPEZ                     TX     75089859875
44177147961963   NANCY           BURSEY                    CA     46026411479
44178451591569   VERONICA        GOMEZ                     TX     75064664515
44178848251334   ALA             KISHAWI                   OH     90003658482
44182465651332   MARCEL          WALTON                    OH     90010104656
44182772461963   CESAR           RODRIGUEZ                 CA     90008827724
44183473691351   JEREMIAS        TOLEN                     KS     90011204736
44185174591351   ARMANDO         GOMEZ                     KS     90013361745
44186194451382   MELLANIE        BEGLEY                    OH     90005611944
44187493355939   JACOB           RAMIREZ                   CA     90000484933
44188558172443   MINA            DONATO                    PA     51021405581
44191317491569   LORENA          GUARDADO                  TX     90014383174
44193497154195   SHARI           FUNKHOUSER                OR     90013954971
44195954661967   PEDRO           BERNAL                    CA     90011799546
44197113755939   MIRIAM          MARTINEZ                  CA     90002791137
44197951691873   MEGAN           BOND                      OK     90014069516
44198557172443   ROBERT          CALLEN                    PA     90014755571
44212318151334   DAMETRIAS       DURETTE                   OH     90002713181
44213499291351   MARIBEL         ENRIQUEZ                  KS     90014654992
44215653591873   TOM             JOHNSON                   OK     21092636535
44217749771968   ALEJANDRA       GONZALEZ                  CO     90004247497
44218163647954   JUANCARLOS      LOPEZ                     AR     90008871636
44218175851334   KEVIN           BROWN                     OH     90012271758
44218618861963   TOMAS           PEREZ                     CA     46059126188
44218849991351   TASHA           REED                      KS     90012898499
44219294351383   AVIA            VIERLING                  OH     66036272943
44223284191523   FERNANDEZ       LINA                      TX     75012522841
44223671391873   OLIVER          OROZCO                    OK     21037816713
44224518761963   MARIANA         VELAZQUEZ                 CA     90013555187
44225434991569   INSLEY          EVANS                     TX     90014594349
44225863891328   SHANTY          JOHNSON                   KS     29006538638
44226934891569   BEATRIZ         MUNOZ                     TX     75009759348
44226973891523   ANA PATRICIA    FIGUEROA                  TX     90006909738
44226977255939   BENITO          PEREZ                     CA     90013629772
44227477751334   MARIANNE        KOEDEL                    OH     66046124777
44228526941432   KATHERINE       FUCHS                     DC     81027815269
44232651254191   JONATHAN        HOLMES                    OR     90010066512
44237216751334   CLETUS          JARMON                    OH     66088922167
44237338491873   RENEKA          COTTON                    OK     90010393384
44237963291351   KATHY           DAVIS                     KS     29046589632
44238562591523   STEPHANIE       HERNADEZ                  TX     90013105625
44238852672443   LISA            GISHNOCK                  PA     90011058526
44239224355939   PAULA           ESPINO                    CA     49028352243
44239841491873   MIREYA          GARCIA                    OK     90006378414
44242221761963   RUBEN           CORONA                    CA     90009082217
44243244947954   MERYL           PETERSEN                  AR     90007702449
44243452255939   JOSE            HUERTA                    CA     90012484522
44243911851334   ISRAEL          MORA                      OH     90014419118
44245184891569   PATRICIA        ACEVEDO                   TX     75088671848
44246469391569   JACQUELINE      VASQUEZ                   TX     90008464693
44246649341454   BRIANNA         WILLIAMS                  WI     90015386493
44247112472443   TERENA          WALTERS                   PA     90006331124
44247218551334   DAWNEISHA       PRUITT                    OH     90012142185
44249726391926   ANGELICA        RIMEREZ                   NC     90012497263
44252515351334   MELINDA         BECK                      OH     90008565153
44252593891873   CARLOS          MARTINEZ                  OK     21096645938
44253918447954   FRANCISCO       SALAZAR                   AR     90014659184
44255154151334   KELSY           AMERSON                   OH     66066371541
44255197491569   IRMA            SORIANO                   TX     75087411974
44255298891523   OLIVIA          ROMAN                     TX     90012022988
44257992791569   BENITO          PADILLO                   TX     75040619927
44258813491569   JANET FRANCO    FRANCO                    TX     90015538134
44262474255939   KENIA           SMITH                     CA     49028354742
44263912291523   GALTERIO        CAMARA                    TX     90006929122
44265786451334   BRITTANY        ROYER                     OH     90015317864
44265918572443   DAVID           RENZE                     PA     51055069185
44267937891569   MARIANO         MALAGON                   TX     90014149378
44268533461994   ALBERTO         LOPEZ                     CA     90007685334
44269533461994   ALBERTO         LOPEZ                     CA     90007685334
44269685961967   COLLINS         LORENSZO                  CA     90003466859
44269699791351   JOHN            FRED                      KS     29015906997
44271381761967   PATRICIA        CARTER                    CA     90011803817
44273531255939   JEREMY DWIGHT   DELVEAL                   CA     90003775312
44275332947954   JUAN            AYALA                     AR     90012803329
44275634477562   LISA            OPENSHAW                  NV     90008206344
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44277617261967   DOUG            MEIDVIS                   CA     46077226172
44277976655939   PATRICK         MCGINNIS                  CA     49097799766
44278352571934   SABINE          ALVARADO                  CO     32013073525
44279147691873   KATHY           SEALS                     OK     90010941476
44281531255939   JEREMY DWIGHT   DELVEAL                   CA     90003775312
44281715772443   CHEIS           DELLO                     PA     90013757157
44289291547954   AMANDA          SPILLERS                  AR     90014912915
44289755171934   RACQUEL         MARTINEZ                  CO     32097497551
44289826355982   PAQUETTA        BRYANT                    CA     90012638263
44293347961967   CRYSTAL         GOODMAN                   CA     90011803479
44295975347954   RIGO            BALLESTEROS               AR     25091489753
44296354661967   JOSEPH          HUMPHREY                  CA     90011803546
44296655971946   JESSICA         CUMMINGS                  CO     90007726559
44298492191873   MIKE            MCCONNELL                 OK     21085304921
44298966155939   JESSICA         LEDESMA                   CA     90000449661
44311215961963   ANTHONY         SMITH                     CA     90012922159
44311817361963   SHAQUAN         MCDONALD                  CA     90014608173
44312444855939   HECTOR          MOLINA                    CA     90014784448
44312989972443   POPPY           MCGEE                     PA     51003079899
44316358691351   REBEKAH         HOWELL                    KS     90008283586
44316778491527   LEOVARDO        CERDA RIVERA              TX     90006227784
44316886772443   LINDSAY         PRATT                     PA     90008448867
44317285951334   LESLIE          YOUNG                     OH     66017522859
44318389261967   LUIS            LEYVA                     CA     90011803892
44319468861963   DALAS           NICHOLSON                 CA     46067144688
44321389361967   JAMES           GROVER                    CA     90011803893
44324431161967   LEIDI           LOPEZ                     CA     46065014311
44324842351382   DARRYL          BROWN                     OH     90009788423
44325266191569   SILVIA          PEREZ                     TX     75059892661
44325583951383   ROBERT          WALLACE                   OH     66099265839
44325643461963   TYLER           SCOTT                     CA     90010526434
44329563691569   MARIA           SAENZ                     NM     75003025636
44331159151336   JEFF            JOURNELL                  OH     90011001591
44333139551325   NISCHI          PHILLIPS                  OH     66012181395
44335559191569   DAVID           MUNOZ                     TX     90009875591
44336335491351   TARESSA         SWYGERT                   KS     90014783354
44338992361967   DEANNA          DAVE                      CA     90013849923
44341353255939   ANGIE           MORENO                    CA     90014803532
44343423361963   ALBERTO         RUIZ                      CA     90014864233
44344682755939   KORINA          SIERRA                    CA     90014846827
44346319691569   EDUARDO         HERNANDEZ                 TX     90012313196
44346962885697   FRANCISCO       RUIZ                      NJ     85016159628
44348113291351   JAMES           BOWSER                    KS     90010971132
44348373791523   ANABEL          ZAVALA                    TX     90011253737
44351967972443   JOSEPH          LESZCZYNSKI               PA     90014419679
44353848761967   MARGARITA       RAMIREZ                   CA     46044798487
44354452751334   HENRY           FOSTER                    OH     90015114527
44354471372443   ROSE            VISNOSKY                  PA     90000914713
44354614541258   JOHN            FREIBERGER                PA     51078186145
44354756471934   MAKAYLA         EDWAKDS                   CO     90009867564
44355665671934   CHARLES         COINE                     CO     90007506656
44356546271934   JOSEPH          MICHAEL                   CO     90010535462
44356627491351   CESAR           ALEMAN-BOLIVAR            KS     90004066274
44356967151334   MELISSA         SHERMAN                   OH     90010219671
44357558855992   SUSAN           DAMIANI                   CA     48086085588
44357666347833   KATHY           BERRYHILL                 GA     90015056663
44357758551328   MELINDA         GABBARD                   OH     90006337585
44357762872443   LINDSEY         WEIMER                    PA     90014857628
44358758455939   JANET           AHUMADA                   CA     49036007584
44359779547954   BRIDGET         PLANCARTE                 AR     90004717795
44361622272443   FELICITY        BURGESS                   PA     90004986222
44361843571999   DANIEL          BISHOP                    CO     38039838435
44362696855939   NIKITA          TAYLOR                    CA     90013096968
44363525361963   RICARDO         LAZOS                     CA     46010405253
44363568471934   APRIL           ADAMS                     CO     90011685684
44365559491351   HELEODORO       ESTRADA                   KS     90012715594
44365915672445   BETTY JO        SWOPE                     PA     51017379156
44369255447954   JUDIT           SUAREZ                    AR     25067622554
44369256691328   ERIC            LARA                      KS     90014182566
44372117141294   THERESA         HINES                     PA     51078811171
44375593291873   BENITA          BECTON                    OK     21013475932
44376392451334   JESSICA         ADAMS                     OH     90014663924
44376978591351   JOSHUA          BASHAM                    KS     90004399785
44378617791569   DARRON          THOMAS                    TX     90003606177
44378647521622   ANNESE          WATSON                    OH     90015406475
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44378745271924   IAN           WILSON                      CO     90002267452
44378984591351   KATHY         WICKOREN                    KS     90009559845
44379959751382   JESSICA       EDISON                      OH     66080069597
44381388261963   YANET         ROQUE                       CA     90014163882
44382914351334   CASEY         MINTON                      OH     90001889143
44383523391523   EDITH         LOPEZ                       NM     75055585233
44383722951334   ABY           GONZALEZ                    OH     66006587229
44384659451334   AMY           STAMPER                     OH     66026636594
44384853291351   LASHI         BROOKS                      KS     90012298532
44387557691524   ESMERALDA     ORNELAS                     TX     90013725576
44388486591569   ALVARO        PANTOJA                     TX     90006664865
44389898891569   BRYANT        OKELLY                      TX     75003028988
44392161451555   JESUS         SANDOVAL                    IA     90013561614
44392375271934   TONY          TIDWELL                     CO     32027203752
44394425161967   SAUNJA        TUCKER                      CA     46067414251
44394535791873   PAUL          DOWNING                     OK     21004715357
44395521651382   ANGELA        JONES                       OH     66010305216
44395961571999   ERIC          AYUNGUA                     CO     90005459615
44396497154195   SHARI         FUNKHOUSER                  OR     90013954971
44396757591351   SANDRA        MEJIA                       KS     90006847575
44396923971934   CHRISTOPHER   OSWALD                      CO     90007319239
44397493355939   JACOB         RAMIREZ                     CA     90000484933
44397524191569   JAVI          MORLES                      TX     90000865241
44413725677366   BIANCA        MILLER                      IL     90014357256
44414314491926   ADRIANNE      BROWN                       NC     90007603144
44414494191864   JUSTIN        WENNINGER                   OK     90011014941
44414599271968   MICHELLE      FREEMAN                     CO     90004705992
44417141741454   CHRISTA       HOOVER                      WI     90014561417
44417845985834   BELINDA       ROSS                        CA     90009868459
44419197455939   CHRISTIAN     CHANEY                      CA     90015091974
44419219661963   JENNIFER      BUSTOS                      CA     90012932196
44421253451361   JUAN          FLORS                       OH     90010232534
44422432361963   MOSES         REYES                       CA     90014244323
44422856271992   PATRICIA      RUDOLPH                     CO     38068418562
44423237271934   ROBERT        PROCTOR                     CO     90003252372
44424819581625   ACE           WHEELER                     MO     29014298195
44428774755939   MARIA         MACIAS                      CA     49082817747
44429416651334   PATRICIA      LAWRENCE                    OH     90011544166
44434641271934   JOSEPH        VERGA                       CO     90011686412
44434721251334   JENNIFER      JOHNSON                     OH     90007837212
44436478191873   STANFORD      HURT                        OK     21039844781
44438755191569   ANA ELISA     GUTIERREZ                   TX     75098817551
44439359355939   RIGOBERTO     SANCHEZ                     CA     90014803593
44439545477366   CHARLOTTE     SUTTON                      IL     90013555454
44439747491523   MARIA         RODRIGUEZ                   TX     75017357474
44443424151382   ASHLEY        MCCLUNG                     OH     66059054241
44443435761967   LOURDES       HONORATO                    CA     90008634357
44443621591569   LAURA         LOZANO                      TX     75000666215
44443718991873   STEPHANIE     MOHL                        OK     90013197189
44444582471934   ESTEFANITA    ALDAVA                      CO     90010535824
44445413351334   BRANDY        FLEMING-BROOKS              OH     90001984133
44445935661967   AARON         PRIOR                       CA     90011809356
44448556191569   CLAUDIA       ESPARZA                     TX     75091815561
44449211855939   MICAELA       LUNA                        CA     90002992118
44451718591351   JERRET        FRANKLIN                    MO     90013217185
44452891191873   MIGUEL        ZUNIGAJR                    OK     90014078911
44454435272443   BRENT         NICOLO                      PA     51074444352
44454741961963   CECILIA       MENDOZA                     CA     46035237419
44459323691873   DARLA         RODRIGUEZ                   OK     21030423236
44462828691857   AMBER         COMPTON                     OK     90005018286
44463586561925   MARRYANN      VIZINA                      CA     90011445865
44464524457148   JESUS         RIVERA                      VA     81017475244
44464573571999   JESUS         LOPEZ                       CO     90007195735
44465968891569   HECTOR        JURADO                      TX     90013419688
44469911651382   TIMOTHY       WATSON                      OH     66075139116
44471274472443   HELEN         BULLOCK                     PA     51095982744
44471941955939   CHARLES       ATKINS                      CA     90013989419
44472154261963   BERNY         ROSALES                     CA     90012941542
44473999761967   EDWARD        STARLARD                    CA     46003659997
44474278772443   HENRY         SWOPE                       PA     90013932787
44474692171934   MARLON        PHILLIPS                    CO     90011686921
44475792261967   NELSON        CRUZ                        CA     46038527922
44476823491873   REBECCA       SMITH                       OK     21010468234
44476874591569   ROSARIO       LUJAN                       TX     90010128745
44477752351334   LAURENCE      RIVERS                      OH     66047437523
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44479248325637   DANNY            SOTO                     AL     90013852483
44483132751382   ED               OTEY                     OH     66086411327
44484685471999   CHEREE           GUNTER                   CO     38055736854
44485131251334   REGINALD         WHIPPLE                  OH     90012861312
44485172891873   MARK             CHILES                   OK     90012711728
44486594286545   KAREN            KYLE                     TN     90015065942
44488249951348   TRACY            PUGH                     OH     66092582499
44488828291351   DANIEL           RINARD                   KS     90013248282
44489549972443   MICHAEL          CRAYTON                  PA     51001885499
44491549972443   MICHAEL          CRAYTON                  PA     51001885499
44494393855939   RODOLFO          RAIGOZA                  CA     90015133938
44496928972443   TERRI            MOLINARO                 PA     51037389289
44497862871934   DULCE            GALICIA                  CO     90008798628
44511679291873   TED              BROWN                    OK     21077766792
44512152791351   ERIKA            RAMIRES TIBURCIO         KS     29026171527
44512312961965   TIM              FRITZ                    CA     46085573129
44513187272443   CLARENCE         NICHOLSON                PA     51048001872
44515245561955   OMAR             ALAHERI                  CA     90008602455
44518473351382   UUALDO           RAMIREZ                  OH     66049304733
44518479351334   DANYELLE         JACKSON                  OH     66074214793
44519531891873   MICHAEL          POND                     OK     90007905318
44522194191569   BRANDON          MONTANO                  TX     90004791941
44522467491523   ANTHONY          HARVEY                   TX     90011254674
44523163691569   RAMONA           PEREZ                    TX     90007361636
44523967455939   GLENDA           VASQUEZ                  CA     90001299674
44524169891351   CLAUDIA          GALLEGOS                 KS     90013651698
44524777591569   LIDA SUE         JUAREZ                   TX     75087577775
44525575972443   SAMUEL           HERNANDEZ                PA     90012705759
44525891161944   AUDREY           DAZZO-REYES              CA     90010178911
44526467491523   ANTHONY          HARVEY                   TX     90011254674
44528156172443   STEVEN           SANDERS                  PA     51055161561
44529369372443   VIRGINIA         DENNIS                   PA     90013433693
44529757151383   KEISHA           WASHINGTON               OH     66096487571
44529778891523   NUBE             BARAZA                   TX     90013217788
44529973751334   THOMAS           RICKETTA                 OH     90010859737
44532892755939   SELINA           PEREZ                    CA     90013608927
44533363247954   BLANCA ESTHELA   GARCIA                   AR     90002543632
44533512151334   TAMMY            YADEN                    OH     90012355121
44538211461967   TRINITY          COLES                    CA     90011812114
44539171571934   RICARDO          GUTIERREZ                CO     90011691715
44541896361945   PRIMO            LOTTA                    CA     90008618963
44543611557148   NAIM             MAHBUBI                  VA     81092976115
44545575451334   PAULA            FAUST                    OH     90011715754
44545762891873   BRADLEY          RICHARDS                 OK     90010347628
44545787291569   BRIANDA          BAILON                   TX     75071897872
44546174157126   NERE             FRANCO                   VA     90002941741
44546861751383   BARRY            SCHUEBEL                 OH     90003378617
44547762591328   ALEXIS           RAYFORD                  MO     90011797625
44547922191873   OSPELI           LOPEZ                    OK     21007059221
44547954751383   EVA              LOPEZ                    OH     66056669547
44548364771644   NICOLE           CORRAINE                 NY     90005933647
44548744661994   DANNIELLE        DE LARA                  CA     90002277446
44548826872443   DONALD           PHIFER                   PA     51009558268
44549293161963   MINERVA          MUNOZ                    CA     90010532931
44549861751383   BARRY            SCHUEBEL                 OH     90003378617
44549881172443   RAY              WHITE                    PA     51013338811
44551462191523   BRENDA           CRUZ                     NM     90009604621
44551964351334   BRAD             KIHNIKE                  OH     66094459643
44551964751382   CHARLES          PAGAN                    OH     90011369647
44553775655939   JUAN             GUTIERREZ                CA     49038437756
44554439447954   LILIA            ALMA                     AR     25064844394
44554999791523   JOEL             GARCIA                   TX     90006969997
44555338771934   JOHN             SMITH                    CO     90011733387
44556394451334   GUARDADO         MENA                     OH     90014473944
44558619691569   JENNIE           GLOVER                   TX     90008996196
44561864661963   CARLA            VALENCIA PALOMARES       CA     90013438646
44563491861967   PATRICIA         HALSELL                  CA     46078454918
44564319191873   ERIC             DON                      OK     90012703191
44565786451334   BRITTANY         ROYER                    OH     90015317864
44567145371934   ANGELIQUE        CABRERA                  CO     90007391453
44567265991523   GLORIA           CUETO                    TX     75074082659
44568317381682   VICTORIA         WINGATE                  MO     90001033173
44568641251382   PAULA            DAVIS                    OH     66085376412
44568747661963   STACY            PRIOR                    CA     46098477476
44569657491873   SARAH            MICCO                    OK     90009666574
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44572446755939   DRYDEN       MANNON                       CA     49033584467
44573564651334   MELANIE      WILLIAMS                     OH     66078325646
44573976591873   MICHAEL      DUGAN                        OK     90014079765
44574366571999   JORDAN       MORRIS                       CO     90011603665
44575864491527   CRYSTAL      CONTRERAS                    TX     90008568644
44576815355939   FERNANDO     VARELA                       CA     90013508153
44576976591873   MICHAEL      DUGAN                        OK     90014079765
44578432491873   BYRON        TRULOVE                      OK     90000844324
44578885671934   SHERYL       KOSZALKA                     CO     32067948856
44579636671934   FRANCES      GALE                         CO     32011756366
44581434972443   DESHAEN      DOUGLAS                      PA     90012634349
44583154355939   LAURA        SANZ                         CA     90007441543
44585693691351   EDWARDO      MOTA                         KS     90012376936
44586345461967   JOSE         VALDERAMA                    CA     90011813454
44586359171999   SHARON       GARCIA                       CO     38098043591
44586552384386   DEMETRIA     JENKINS                      SC     90009405523
44587222691351   DERIUS       HENDRICKS                    MO     90014762226
44588116791351   ZOEUNDRA     MCCAINE                      KS     90015131167
44588337861927   JOSE         MAGANA                       CA     46002713378
44588351191569   ANGELINA     ANZURES                      TX     90009663511
44591264691873   JOY          RISER                        OK     90010362646
44591589772443   AMY          CARRIGAN                     PA     51061945897
44592127361963   OMAR         SPRINGFIELD                  CA     90013541273
44594869791569   ERNESTO      LOPEZ                        TX     90015218697
44595678691351   QUINIQUE     IVORY                        KS     90014846786
44595949691569   DAVID        MORALES                      TX     75001849496
44598252551334   ALICE        EDMONDS                      OH     90014482525
44598721661967   ERNESTO      SALAZAR                      CA     90011817216
44599794491873   AMY          MITCHELL                     OK     90002857944
44613612491351   MARIA        HERNANDEZ                    KS     90013556124
44613657791569   JORGE        HERNANDEZ                    TX     90007896577
44614298551334   CELSO        HERNANDEZ                    OH     90012342985
44614764591873   HELEN        ESPINOSA                     OK     21069217645
44616155225637   PHILLIP      SHIRLEY                      AL     90014921552
44618863772443   KEITH        GANTNER                      PA     90007768637
44618984351334   PAYGO        IVR ACTIVATION               OH     90012749843
44619312872443   SHATIKA      FORD                         PA     90013073128
44622479755939   MARIA        ROCHA                        CA     90009514797
44622974947954   BRETT        ALLEN                        AR     25003069749
44623163551382   BRYAN        HILSON                       OH     66094911635
44623455691569   HECTOR       MURILLO                      TX     90012554556
44624463161953   JOSE         MACIAS                       CA     90001464631
44624634647954   FRANKIE      RODRIGUEZ                    AR     90010146346
44625268771934   SHARYL       BOSSEN                       CO     90007372687
44626812361458   JUAREZ       LOPEZ                        OH     90014398123
44629653855939   OLIA         LANKFORD                     CA     90012036538
44629732771999   BETTY        LOPEZ                        CO     38030317327
44634164271999   CARLOS       ABEYTIA                      CO     38059581642
44635289847954   TIMOTHY      DO                           AR     90010642898
44639161961963   ERIKA        GONZALEZ                     CA     46006081619
44639692691873   JAMES        CARTER                       OK     90012776926
44641635851382   AARON        ANDRADE                      OH     66011346358
44642812272443   BRENDA       KONDRLA                      PA     90013928122
44644459551383   VALINDA      HALLUMS                      OH     66001574595
44645755655939   BERNADETTE   RODRIGUEZ                    CA     90003697556
44646764571999   LAJUNE       WHEELER                      CO     38018897645
44647944161963   SAMANTHA     AHUMADA                      CA     90014839441
44648438191873   JOHN         GRUENWALD                    OK     21064804381
44648742471999   TOMIE        RUSSOM                       CO     90011747424
44651897491362   LEISLIET     MARQUEZ-VICENTE              KS     90013748974
44652423347954   JUDITH       BAARS                        AR     25011734233
44652554861963   NATALIE      GUARDADO                     CA     46065385548
44652996972443   DANIELLE     CLEMENTS                     PA     51063099969
44653179551354   ARCHIE       MOBLEY                       OH     90005091795
44653352991873   MYNER        PEREZ                        OK     21019903529
44656137191569   RUTH         PORTILLO                     NM     75016711371
44657384191873   SHELLY       MCCLAIN                      OK     90005343841
44658992191351   ALANA        DIAZ                         KS     90013519921
44659438155939   THOMAS       JARAMILLO                    CA     49016784381
44662874891351   ROHNDA       EPSON                        KS     90000398748
44663182761963   TIMOTHY      BEDFORD                      CA     90013001827
44665996972443   DANIELLE     CLEMENTS                     PA     51063099969
44669677755939   SONIA        MONTANTO                     CA     90005926777
44671122591523   MARIA        RENTERIA                     TX     75074551225
44671828261963   CHRIS        BREWER                       CA     90012838282
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44673571951382   AMBER        TWITTY                       OH     66086535719
44675892151326   ALICIA       SIERRA                       OH     90001768921
44675983451382   LATRINA      HIGHTOWER                    OH     66098019834
44676976655939   PATRICK      MCGINNIS                     CA     49097799766
44677636591941   JAHWID       AHMADI                       NC     17068436365
44677645861963   HERBERT      ASHLEY                       CA     90009196458
44678698455939   NELSIN       AGUIRRE                      CA     90012276984
44678872861967   DIANA        GARCIA                       CA     90006578728
44679269391569   LUZ          CARO                         TX     90011332693
44682233261963   CALHOUN      ERICA                        CA     90009652332
44684863461967   MALYSSA      TOPETE                       CA     46045468634
44685436381656   TAMARA       THOMPSON                     MO     29048534363
44688589791547   DIANNA       ALANIZ                       TX     90009915897
44688722691351   NEYDY        LICET                        KS     90014727226
44688891955939   VALERIE      PARKER                       CA     49010418919
44691382151382   DANIELLE     SAUJON                       OH     90011713821
44693837191873   TODD         BRANUM                       OK     21014948371
44696454971921   GINA         MALDONADO                    CO     90012914549
44698561855939   JORDON       BREWER                       CA     90014825618
44699853955939   EVONIVALDO   RODRIGUEZ                    CA     49050788539
44711476491873   DIEGO        OCHOA                        OK     90003694764
44711786655939   SAUL         PEREZ                        CA     49056907866
44717446671999   RUBEN        MARTINEZ                     CO     38056114466
44719465691351   TRENA        SMITH                        KS     29027384656
44723537451334   DERRICK      SANDERS                      OH     66048955374
44723678691351   QUINIQUE     IVORY                        KS     90014846786
44725399451383   IRENE        CHAPARRO                     OH     66015773994
44729193457126   DAWN         TOWNES                       VA     90012641934
44731222171992   MICHAEL      CORONADO                     CO     90012602221
44732937891569   MARIANO      MALAGON                      TX     90014149378
44733571351334   DAVID        SIMPSON                      OH     90014085713
44734621991547   LUDOVICO     GRANILLO                     TX     75023826219
44735671191873   JUSTLEAN     SMITH                        OK     90009836711
44736698451382   JAMES        CARTER                       OH     66006626984
44737126757121   DAVID        PATTERSON                    DC     90001761267
44737285391873   JACKIE       CAFFEY                       OK     21096652853
44741279571999   EFRIN        ROMERO                       CO     90005642795
44742294355939   YOLANDA      CARLOS                       CA     49032532943
44742994271999   RUDY         VAZQUEZ                      CO     38005819942
44744182561967   MICHAEL      TOSNEY                       CA     90011821825
44745399655939   ANITA        PEREZ                        CA     90008763996
44745661291351   CHRIS        KNIGHT                       KS     90013296612
44748797991523   BRIZA        HERNANDEZ                    TX     75055677979
44752696851334   CECIL        YOUNG                        OH     66031406968
44754824671934   JENNA        FIGUEROA                     CO     32035008246
44754967391569   MARTHA       GUEVARA                      TX     75062389673
44758157161963   CAROL        HIAN                         CA     46081001571
44759547651334   NAKYA        CURY                         OH     90005185476
44761187861963   MARIA        BAUTISTA                     CA     46063521878
44762662571934   ANDREW       JOSEPH                       CO     32068226625
44762958791873   MAXINE       SMITH                        OK     90002369587
44764883491873   DESIREE      BROOKLN                      OK     90012398834
44766454991873   ERIC         PEREZ                        OK     90010214549
44768942891351   NORMAN       DAMM                         KS     90013899428
44773822371934   JONAE        HESLIP                       CO     90007458223
44773959651334   INFINITY     BEASLEY                      OH     90013689596
44774585891351   ISRAEL       RUIZ                         KS     90009205858
44774758372443   TY           PRATT                        PA     90012077583
44775514651359   CARRIE       SOLEM                        OH     90004805146
44775581772443   BRENDA       TEMPLETON                    PA     90014965817
44776277991523   JAIME        REYES                        TX     90004172779
44776296861967   SERGIO       MARTINEZ                     CA     90011822968
44776683691351   ARMANDO      GALVAN                       KS     90011626836
44777474755939   HAVEN        ALBRECHT                     CA     49012004747
44778716458528   EDIESER      MARTINEZ                     NY     90015487164
44778992591351   ALBERT       BOETTCHER                    KS     29098219925
44779192151383   PEGGY        WELDON                       OH     66096791921
44779319261945   FERNANDO     TELLEZ                       CA     90008043192
44779941991569   MIGUEL       GALLEGOS                     TX     90011469419
44781363372443   ELIZABETH    DANKO                        PA     90014153633
44781998755939   ANGELICA     NOCHOLS                      CA     90012769987
44784861271934   LAURA        MONTANO                      CO     32079588612
44786189891873   LINN         REE                          OK     21042461898
44787269761963   BLANCA       GUTIERREZ                    CA     90004962697
44789358555939   GABBY        MOLINA                       CA     49010523585
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44789825672443   MARQUES       WILLIAMS                    PA     90006328256
44793862361967   SARAH         HILL                        CA     90011738623
44794978851354   JOSH          THATCHER                    OH     66016219788
44795484991881   KACIE         FRANCIS                     OK     21089384849
44796861255939   CHRISTINA     CHEDRICK                    CA     90011268612
44811236685825   JILL          CHENEY                      CA     90009592366
44811618291569   JOSEPH        FORBES                      TX     90012986182
44813694191873   JAY           YOUNG                       OK     90010496941
44817371151334   MONTEZ        WARE                        OH     90011863711
44817411191873   JASON         JOHNSON                     OK     90014144111
44818422191569   LAURA         KIDWILER                    TX     75011854221
44818481951383   NICOLE        OLVERSON                    OH     90012054819
44818525361963   JANUS         HIGHSMITH                   CA     90013675253
44818835577522   NORMAN        PAULEY                      NV     90007968355
44821131371934   VALDOMERO     ESTEBAN                     CO     90011701313
44821723547954   JUAN CARLOS   SILVA                       AR     90010147235
44821842855939   MICHAEL       GARCIA SR                   CA     49006158428
44822584791873   LISA          MOSS                        OK     90010955847
44822827655939   MARIA         RODRIGUEZ                   CA     90008068276
44824452161963   ISRAEL        RAMIREZ                     CA     46059134521
44824516372443   JANIS         MCGEE                       PA     90015015163
44825276261963   JERICCA       THORPE                      CA     90004102762
44826155871934   KERI          VINYARD                     CO     90011701558
44827247591523   LUIS          CARLOS GARCIA               TX     90011582475
44829326158528   RYAN          PYATT                       NY     90015503261
44831155772443   STEPHEN       MARTIN                      PA     51074201557
44833122672443   ASHLEY        JOHNSON                     PA     90014611226
44835827591569   VILMA         MACIAS                      TX     90012808275
44837192172443   JENNIFER      BUTLER                      PA     90014781921
44837297971934   JODY          VOLK                        CO     32005082979
44838419191569   VELIA         CHAVEZ                      TX     90014854191
44838839855939   JUYULISSA     GOMEZ                       CA     90011868398
44841554161963   JOSE          GUERECA                     CA     90012955541
44845459972443   ROY           BLACK                       PA     51096034599
44846746691873   SONIA         HERNANDEZ                   OK     90009457466
44847629991569   NOE           DIAZ                        TX     90013786299
44847744461967   ARTEMIO       BASAVE-SALGADO              CA     90011827444
44849723791857   DEIDRA        MILLS                       OK     90009837237
44849759572443   DANIELLE      BOONE                       PA     90012927595
44851182755939   MACIAS        VALENTINA                   CA     90011951827
44852817891873   TOMAS         BECERRA                     OK     90014088178
44853138384321   CHAD          WESSINGER                   SC     90013491383
44855199171934   SARAH         VENZOR                      CO     90012301991
44856118191569   MANUELA       MORENO                      TX     90014071181
44857855461999   ROB           IRVING                      CA     46025828554
44858167391569   REYES         BERNANDIDO MIGUEL           TX     90007711673
44858331872443   TIFFANY       SAWYERS                     PA     90014613318
44861813791569   YVONNE        ZIEGLER                     TX     75023968137
44862298551382   GERONTA       TAUL                        OH     90011152985
44862638391523   MARIBEL A     RUEDA                       TX     75055706383
44863189891873   LINN          REE                         OK     21042461898
44864395672443   DYQUAN        SCOTT                       PA     90013963956
44864754991351   IVAN          MARTINEZ                    KS     90014397549
44865221184321   KRISTOPHER    BROWDER                     SC     90011782211
44869859461967   DEANNA        HAAS                        CA     90002458594
44872438172443   SAMANTHA      VAN SICKLE                  PA     90013204381
44874752991982   DEBORAH       WILSON                      NC     90008177529
44874827591569   VILMA         MACIAS                      TX     90012808275
44876398791569   ROGELIO       ARREOLA                     TX     75021303987
44877329851334   JUNIOR        PASTORIZA                   OH     90014623298
44878867355939   SABRINA       SERVANTES                   CA     90001278673
44878917961999   MIREYA        SEAMAN                      CA     90013299179
44879869351334   RICHARD       BALLINGER                   KY     90012238693
44881431132586   ANTONIO       HERRERA                     TX     90015344311
44881444672443   AMANDA        HAIR                        PA     90013364446
44883299361967   JAY           JARJOSA                     CA     90013132993
44883525451382   ANTONIO       PACHECO                     OH     66070395254
44883792758528   BOBBI         JEFFRIS                     NY     90015357927
44884934561963   CARMEN        VELAZCO                     CA     90000659345
44885922955939   KAYLA         HICKS                       CA     90010249229
44886692961963   DANIEL        GARCIA                      CA     90010546929
44889281751334   BOBBIE        SMITH                       OH     66024832817
44889476272443   SHEA          MCLELLAN                    PA     90014524762
44891615591892   FRANKLIN      WHITE                       OK     90012116155
44896214161963   ERIC          GWALTNEY                    CA     46039392141
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44897724161963   NOHELY       SANDOVAL                     CA     90010547241
44898544172443   EMMA         ARMOLT                       PA     90013675441
44899912455939   NANCY        CUEVAS                       CA     90011269124
44912855591569   LIZETH       RODRIGUEZ                    TX     90012448555
44913171761967   DESIREE      VALDEZ                       CA     90008241717
44913696191351   ERICA        MORALES                      KS     90015256961
44914496881669   CHANELLE     GRIDDINE                     KS     90012334968
44914933272443   DAVID        BLACK                        PA     90013929332
44917287872443   JEFFERY      NICHOLSON                    PA     90013582878
44918263351382   SAMANTHA     KIRBY                        OH     66058432633
44918437791569   SIGIFREDO    DOMINGUEZ                    TX     90015204377
44918936255939   LETANYA      GAMEZ                        CA     90011269362
44919446171934   ARNOLDO      HERNANDEZ                    CO     32076784461
44919978261963   ALEJANDRA    ALDANA                       CA     90014619782
44923214891353   CINDI        XIONG                        KS     90012382148
44923519233655   PAYGO        IVR ACTIVATION               NC     90014225192
44924659471934   CHAZEL       CARTER                       CO     90007476594
44925427591569   MELCHOR      JAUREGUI                     TX     90013814275
44926818571934   SHARMAINE    MIRANDA                      CO     32000118185
44927422991351   RHIANNON     CARAWAY                      KS     29068424229
44927659471934   CHAZEL       CARTER                       CO     90007476594
44927887372443   TINA         LOWDERMILK                   PA     90001398873
44927944455939   GABRIELA     VACA                         CA     90011269444
44928413451334   SAMANTHA     BOHRER                       OH     90010194134
44928734372443   DEVON        CHAMBERS                     PA     90002827343
44933353491569   PIUS         SODIPE                       TX     75034603534
44934419533631   KATHERN      SCOTT                        NC     90012164195
44934447161963   VICTOR       CANTERO                      CA     90014364471
44936466191351   PILLAR       BELTRAN                      KS     90011364661
44937983991351   MARIA        RODRIGUEZ                    KS     90009859839
44938978461963   FAYE         MALONE                       CA     46056009784
44939168155939   DEBORAH      WILLIAMS                     CA     90014561681
44948979761963   BRITTANY     MENDIOLA                     CA     90014619797
44951782255939   DORA         HIPOLITO                     CA     49009397822
44952869351334   RICHARD      BALLINGER                    KY     90012238693
44953654791569   JUDITH       MONTES                       TX     90012916547
44956111755939   PEDRO        TRUJILLO                     CA     90002571117
44957732191569   SOCORRO      GAMBOA                       TX     90006517321
44958183172443   CODY         SWINK                        PA     90010181831
44959723371933   ANTHONY      BEN                          CO     90007967233
44961599351383   EMMIT        SMITH                        OH     90006505993
44962482391523   JUDY         DE ANDA                      TX     90001624823
44968996731457   ED           MCNEIL                       MO     90008979967
44971334955939   RUBEN        GUEVARA                      CA     49046213349
44973196855939   CARLOS       LAZCANO                      CA     90013481968
44975918191569   DELFINA      CARRASCO                     TX     90014419181
44976769361967   DIANA        MORENO                       CA     90012617693
44976789451383   TERESSA      RISO                         OH     90006497894
44981367991569   VELMA        RODRIGUEZ                    TX     75092393679
44981769591351   KEITH        BAILEY                       KS     90014867695
44982778443576   HEIDI        TROLSON                      UT     31072477784
44983465191873   HAROLD       MENDENHALL                   OK     90011204651
44983516971934   JUAN         ESPINOZA                     CO     90011385169
44983638991569   LUIS         GUZMAN                       TX     75056966389
44983648691351   VALERIE      GROGAN                       KS     90006786486
44984418991569   ALEXANDER    ESCARCEGA                    TX     75044354189
44984959155939   JOEL         REA                          CA     90011269591
44985729772443   CHANTE       LEWIS                        PA     90014617297
44986534458528   VICTORIA     BRYANT                       NY     90015525344
44986897147954   MARINA       BOSLEY                       AR     25079378971
44986939691569   FELIPE       RODRIGUEZ                    TX     90012869396
44987729772443   CHANTE       LEWIS                        PA     90014617297
44988661591873   JEREMY       BAKER                        OK     90010956615
44989884672443   TIFFANY      BOYD                         PA     90014638846
44991562851334   COLLEEN      LILLIS                       OH     66016475628
44992661491569   PRISCILA     SAUCEDO                      TX     90004976614
44993414691569   JOSE         GARCIA                       TX     90009994146
44993488891881   LAKESHA      HUGHES                       OK     90005934888
44996553972443   ELIZABETH    WINGROVE                     PA     51051625539
44997612291569   OMAR         SANCHEZ                      TX     90003006122
44998115555939   NORA         CURIEL                       CA     49073281155
44999483861963   TINA         ESTRELLA                     CA     46009924838
45112459191988   MYRNA        WHITE                        NC     90007384591
45113954991547   ROGELIO      ROJAS                        TX     75004419549
45114482755939   ALMA         MENDIVIL                     CA     90013854827
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45116867355939   KATHY        MILLER                       CA     90011148673
45118199447954   NORA         LOPEZ                        AR     90013111994
45121294391988   ANGEL        SANTOS                       NC     90015312943
45122832171999   JOHN         SANDERS                      CO     90012388321
45123984291523   TERESA       REYES                        TX     90009299842
45124763791569   ESMERALDA    MUNOZ                        TX     75009057637
45125547591938   JOSE         FERNANDEZ                    NC     90014615475
45125581251334   GLADIS       GONZALES                     OH     66034145812
45125862355939   TAMMY        ESPARZA                      CA     90012908623
45132477491527   FRED         CAMACHO                      TX     75002754774
45132641591873   ASHLEY       NAHMAHPEAH                   OK     90013276415
45133141471999   HERNRY       HERRERA                      CO     38065751414
45133417491394   JAMES        MCDONALD                     KS     90014514174
45134686361963   SOCORRO C    BAUTISTA                     CA     46090406863
45135358961963   GUADALUPE    TORRES                       CA     90009903589
45136197591873   ROCHELLE     BUCKLEY                      OK     90011871975
45136585355939   ISMAEL       ZAMBARA                      CA     90013265853
45136768258528   STEPHANIE    ERVIN                        NY     90015457682
45136969947954   ANNABELLE    OLIVAREZ                     AR     25013479699
45139557361967   PETER        JURIC                        CA     90011835573
45141743391569   JESUS        MARTINEZ                     TX     90010217433
45145127661979   JOSE         GARCIA                       CA     90010761276
45146127661979   JOSE         GARCIA                       CA     90010761276
45148715971999   MONA         ORTEGA                       CO     38032417159
45149159291988   KASEY        DILLARD                      NC     90008191592
45149869647954   JOHN         PHILLIBER                    AR     25077868696
45157838291523   DESTINY      TAPIA                        TX     90011258382
45159121691988   RACHELLE     BURTON                       NC     17036241216
45159455491569   YVONNE       OCON                         TX     90010024554
45161615891873   JEREMY       MOORE                        OK     90011466158
45162787391569   CRYSTAL      LUDDEN                       TX     90014317873
45164546191569   ROMAN        LOUCCYSHYN                   TX     90012605461
45167654591873   WILLIAM      PELEP                        OK     90014156545
45168299271999   ADRIAN       MAES                         CO     38015172992
45168763785877   LORENA       RAMIREZ                      CA     90002027637
45169486191569   YOLANDA      MUNOZ                        TX     90009944861
45174746247954   HEATHER      DOE                          AR     90010907462
45175159691988   TIARRA       CLEMONS                      NC     90013191596
45175515691348   FREDERICK    HIGGINS                      KS     90014655156
45175619491523   SASHA        RODRIGUEZ                    TX     75075086194
45177774171999   TESS         HAMMONDS                     CO     38014427741
45181366271999   ZACH         MARTINEZ                     CO     90011903662
45182766291394   THANIA       SANTIAGO                     KS     90006137662
45183933491873   PATRICK      SCOTT                        OK     90011529334
45185534591569   ADRIAN       HERNANDEZ                    NM     75058155345
45186332861967   RANDALL      HOWARD                       CA     90011503328
45187326951334   JOESPH       HODGE                        OH     66033043269
45188419955927   EMME         MERCADO                      CA     49096404199
45188543691873   RAMONA       DRY                          OK     90007035436
45189319855939   DON          JONES                        CA     90001443198
45191456847954   NELLY        NOLASCO                      AR     25057964568
45192477255939   RAYMOND      RUBIO                        CA     90014894772
45193132991569   ANGEL        CHAVEZ                       TX     90015231329
45193312171999   LUCY         GARCIA                       CO     38036373121
45193616547954   CHRISTIAN    ALVERANGA                    AR     90014156165
45197224743576   ANNA         BURTON                       UT     90013982247
45211557151334   DAVID        INGRAM                       OH     90010495571
45211648261965   ROCIO        BUENROSTRO                   CA     90008796482
45212431171999   MYRA         TRUJILLO                     CO     38023724311
45214464991988   NELA         BARJON                       NC     17074494649
45215291751334   JAMES        CLAY                         OH     90014462917
45217258655939   GILBERT      CRUZ                         CA     90012942586
45217743457135   NELSON       SOLARZANO                    VA     81009287434
45218736361953   JOSE         HERNANDEZ                    CA     46067467363
45219643591523   JUAN         MONTES                       TX     75056526435
45222923871999   JEFFERY      HASCH                        CO     90008839238
45223364451336   PEDRO        CASTELLANOS                  OH     90011893644
45225749555955   MICHAEL      ROBESON                      CA     90013057495
45226394891873   JOSHUA       ALLEN                        OK     21018183948
45226881891569   NORMA        PIMENTEL                     TX     75021718818
45227475891873   TARA         HAVLICK                      OK     90015004758
45227759347954   SANDRA       GAMEZ                        AR     90012837593
45229868385825   DANIEL       OHALLORAN                    CA     46097518683
45231665771999   SEAN         MCCAIN                       CO     90012636657
45237484391524   LESLIE       CHAVEZ                       TX     90013234843
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45239576991523   OCTAVIO       TORRES                      TX     75011035769
45241782891988   DAVID         JOHNSON                     NC     90009997828
45242132951334   RAYMOND       MURDOCK                     OH     66060611329
45242821191988   HUGO          ANGULO                      NC     90012218211
45243498855939   TOU           HER                         CA     49075694988
45245441261967   REGINALD      FOXWORTH                    CA     46030804412
45246841961963   BRIANA        MUNOS                       CA     90013048419
45249277847954   TERESA        CLARK                       AR     25091212778
45249862671999   BRETT         BOERNER                     CO     90014108626
45251267491988   UNA           BRONSON                     NC     90013742674
45251644451334   DARREL        WOODSON                     OH     90012826444
45253177961963   CAMILO        GONZALEZ                    CA     90013111779
45255435871999   RANDY         JONES                       CO     90006094358
45256499161963   JOANN         MURPHY                      CA     46026324991
45257743651361   DORETHA       HALL                        OH     90010037436
45257863661963   HERIBERTO     BRAVO                       CA     90012898636
45259343661986   MARIELENA     ALVAREZ                     CA     90011663436
45261861571999   EVY           VASQUEZ                     CO     90011848615
45261992655939   ELBA          ZUNIGA                      CA     49060509926
45262618191523   LASHAWNDRA    HARRIS                      TX     90009596181
45263117891569   ANA           VILLAREAL                   TX     90002091178
45263166491873   JIMMY         HILL                        OK     90013491664
45263363461967   IVAN          RODRIGUEZ                   CA     90011843634
45263784191394   CHRISTIAN     STEPHENS                    KS     90007177841
45264895451334   LLUVIA        GUZMAN                      OH     90012168954
45268473261963   DOMINIQUE     SMITH                       PA     90013544732
45271156271999   LORRAINE      ALGIEN                      CO     90001891562
45272239691988   KIM           MCLILLAN                    NC     90001942396
45275897461967   RUBI          GRIEGO                      CA     90006668974
45279433461988   THALIA        ALVAREZ                     CA     90012804334
45282494161963   ROBIN         SPRINGER                    CA     90014504941
45283983191873   DELNO         CORNISH                     OK     90009499831
45284741271999   CINDY         VALENZUELA                  CO     90012787412
45285378291873   KEN           JONES                       OK     90013653782
45287684371999   SHAUN         ROMERO                      CO     38077286843
45287965351334   BRIDGETT      BREWSTER                    OH     90010629653
45288353847954   JIMMY         HERRON                      AR     90004313538
45288484391524   LESLIE        CHAVEZ                      TX     90013234843
45291127947954   STEFANY       MORALES                     AR     90012071279
45292657761963   JAYSON        SALUS                       CA     46006406577
45293314791988   BRITTANY      JUDD                        NC     90014153147
45293486947954   JONATHAN      ALVAREZ                     AR     90013804869
45293841155939   BERTHA        ARTEAGA                     CA     90013808411
45293886451334   MATT          STANKORB                    OH     66017948864
45294894391988   VICTOR        FINESSE                     NC     90010368943
45295155791569   SERGIO        SANTILLAN                   TX     90012131557
45295858691873   KELVIN        BAIN                        OK     21028848586
45297123291394   ADELAIDA      RIOS                        KS     29047061232
45311628955939   DIEGO         RISUENO                     CA     90013066289
45311847255939   LEOBARDO      RAMOS                       CA     90014438472
45313154355939   BRITTNEY      THOMPSON                    CA     90002871543
45314877891569   ALBERTO       GERARDO                     TX     90013378778
45315691655939   ARTURO        GUZMAN                      CA     90014836916
45316552255939   JODY          SISOWANG                    CA     90014815522
45317645471999   JESUS         VALLES                      CO     90003796454
45318537871999   CHRISTOPHER   MICHAEL                     CO     90014935378
45318613991241   VICTOR        BROWN                       GA     90015396139
45318924291988   FRANCISCO     ESTRADA                     NC     90010219242
45319676491873   GERTRUDE      BROWN                       OK     90012696764
45321992791523   LUIS          ARROYO                      TX     90007089927
45323985291569   ALEJANDRO     VILLANUEVA                  TX     90007979852
45324529991527   FELIPE        VEGA                        TX     90004995299
45325237154151   BRANDI        SORLING                     OR     90011892371
45326495861967   JOHN          MASCHKA                     CA     90011844958
45328444271999   DANIEL        MILLER II                   CO     38083784442
45328488955982   GABRIEL       FLORES                      CA     90001714889
45329845891394   AURORA        MOLINA                      KS     29005468458
45333715791569   ROSA          RACON                       TX     75096527157
45333842555939   TAMMY         ISAM                        CA     90011868425
45335485291873   SHAUNTAYA     MYERS                       OK     21083434852
45336525991873   LISA          SQUIRE                      OK     90010815259
45337427391882   KYRA          POOLE                       OK     90002834273
45338334691873   MONICA        BECERRA                     OK     90010813346
45339363461963   ERIKA         MARQUEZ                     CA     90013443634
45339611755939   SILVIA        TORRES                      CA     49015766117
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45341264571999   MELISSA       WORMINTON                   CO     38004762645
45341925391873   LADONNA       GOEBEL                      OK     90001689253
45342452491873   JEREMY        BETCE                       OK     21086374524
45342987691988   SANDRA        WILLIAMS                    NC     17044269876
45344284191988   TERRELL       WATSON                      NC     90012642841
45345516147954   DETRO         THOMKINS JR                 AR     25060815161
45346119561967   YUSELI        LEON                        CA     46007491195
45346364755939   BENE          MOTTA                       CA     49035823647
45346988691873   KRISTY        MILLER                      OK     90015189886
45347431751334   CHRISTINA     LEWIS                       OH     90012234317
45348716891873   JONA          DOMINO                      OK     21004377168
45348788161963   DAVID         HERNANDEZ                   CA     90011817881
45349725855939   MICHELE       GALVAN                      CA     90014717258
45353371286453   BEATRICE      SIMS                        SC     90014743712
45356122851325   JARED         FANNING                     OH     90009061228
45357564147954   JOHN          ROBINSON                    AR     25061625641
45358666361963   DONALD        JAQUEZ                      CA     90014416663
45359511754184   MICAELA       SANTIAGO LOPEZ              OR     47002035117
45359728561963   CHRISTOPHER   GILLETTE                    CA     90015287285
45361238397134   ANTHONY       MCDONALD                    OR     90011362383
45362188671999   MARTHA        RODRIGUEZ                   CO     38081631886
45367435657126   LATISHA       CARTER                      VA     81063554356
45368339355939   MARIANO       BAUTISTA                    CA     90005363393
45368564851334   TAUSHA        HOLLAND                     OH     66019315648
45371353581639   SHAUN         MOORE                       MO     90000403535
45373366271999   ZACH          MARTINEZ                    CO     90011903662
45376679671999   RACHEL        VANDEGRIFT                  CO     90011126796
45376989691873   SHAWN         LINER                       OK     90008129896
45377629855939   CARMEN        RICO                        CA     49042566298
45377688947954   DEBORAH       SMITHHART                   AR     25083996889
45378255891988   TONYA Y       COLE                        NC     17008282558
45382558861963   MARTHA        KNAPP                       CA     46027295588
45383379891527   GLORIA        GUTIERREZ                   TX     75072743798
45383871491988   RON           REAMS                       NC     90012328714
45387256851334   CARLOS        NEELEY                      OH     90014792568
45389169455939   ROBERT        GARZA                       CA     90013821694
45391461391988   JEFFREY       VELET                       NC     90014864613
45391725855939   MICHELE       GALVAN                      CA     90014717258
45392418751334   PAT           MARTINI                     OH     66093514187
45393237291988   AMBER         PENICK                      NC     90008792372
45393718158528   ENRIQUE       MUNOZ                       NY     90015617181
45394917881639   ANDREA        PEARSON                     MO     29084489178
45395566891569   ISABELL       GALVEZ                      TX     75087155668
45396236391988   ERIKA         VANESSA                     NC     90010052363
45396473491569   MICHELLE      GARCIA                      TX     90004894734
45396966961963   BERENICE      INZUNZA                     CA     90012999669
45397554661963   RAY           TREJO                       CA     46052205546
45398958591988   DOMINIQUE     SINGLETARY                  NC     90012359585
45411984761963   DION          JOHNSON                     CA     90013329847
45412712591988   MARY          BRANCH                      NC     90012477125
45414961191953   VIOLA         WEDEMAN                     NC     90001259611
45417282555939   JUANA         NARANJO                     CA     90012752825
45417515391523   CLAUDIA       GALARZA                     TX     75075485153
45423597461967   ALEX          MONTES                      CA     90012025974
45423862971999   DIANA         BARELA                      CO     38048138629
45426623371999   SHAWNA        VEGA                        CO     38082336233
45433921491394   MARTHA        RODRIGUEZ                   KS     90007209214
45435125647954   ANDREW        ROLAND                      AR     90015171256
45435237161963   MARIANA       DOMINGUEZ                   CA     46076942371
45435743971999   RICHARD       VALDEZ                      CO     38015177439
45436715591988   MARIA         LOPES                       NC     90010757155
45437246771999   JULIE         FARMER                      CO     90003092467
45438833981639   SHARON        KEY                         MO     90011668339
45442479991873   BRIAN         KENSINGER                   OK     90007564799
45442967471999   DWIGHT        MOLINA                      CO     90002699674
45443443391569   DIANA         MARTINEZ                    TX     90010144433
45447398771999   JAMES D       EBERHART                    CO     38051173987
45449765947954   REBECCA       WATKINS                     AR     90001617659
45451486247954   ANA LIDIA     MIRA                        AR     90014014862
45459119151334   CRISTY        CRAIG                       OH     90014621191
45461375991523   ADRIAN        VILLALOBOS                  TX     90007103759
45462788291873   ANDY          FISH                        OK     90004387882
45463667155939   EDNA          SANDOVAL                    CA     90011026671
45463766155931   ELISA         FLORES                      CA     90014057661
45466461791873   DAKNELL       LEATHERWOOD                 OK     90011304617
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45466626147954   CECILIA         GUTIERREZ                 AR     90007576261
45466898355939   JESUS           CASTILLO                  CA     90001578983
45467863951326   QUIANA          KING                      OH     90012758639
45468252791569   SALVADOR        MARTINEZ                  NM     75071872527
45468644991569   ERICA           GOMEZ                     TX     90013266449
45469231547954   SHANNON         RUSSOW                    AR     25070642315
45469752581639   KATHY           ROGERS                    MO     29003537525
45472287891222   SHAMARYL        BEST                      GA     90012612878
45473182191876   MOISES          LOPEZ                     OK     90012971821
45475864891873   ANA             SANCHEZ                   OK     90014158648
45478139333632   ASHLEY          HUFF                      NC     90001221393
45478771161963   OCTAVIANO       GARCIA                    CA     46064707711
45482295655939   GRACIELA        ANDRADE                   CA     90010152956
45483114191569   LUZ             FELIX                     TX     75024131141
45484847391569   MARIA           ZAVALA                    TX     90013628473
45486691655939   ARTURO          GUZMAN                    CA     90014836916
45488762855939   ADAM            ALZAMZAMI                 CA     90013967628
45489967471999   DWIGHT          MOLINA                    CO     90002699674
45491486791523   ADRIAN          MARTINEZ                  TX     75009164867
45494549355939   LETICIA         FARIAS                    CA     90013815493
45494724671999   SAMUEL          RIVERA                    CO     90011417246
45498847191569   ADRIANA         SOLOS MEDINA              TX     90011018471
45511213347954   FRANSCISCO      MELKIADES                 AR     90015512133
45511565851334   TIFFANY         MASSEY                    OH     90014275658
45512281147954   JAMIE           ABERNATHY                 AR     90014472811
45512518691569   SAUL            PENA                      TX     75048275186
45513636561963   SARA            RAMIREZ                   CA     46089146365
45513937361967   RONALD          WATSON                    CA     46091199373
45517192171999   JIMMY           KIEFER                    CO     38092651921
45517315191988   MARTHA          CRUZ                      NC     90011163151
45519798161967   DIONNE          TOWNSEN                   CA     90003927981
45519846891569   FRANCISCO       SERRANO                   TX     75052308468
45521899571999   MICHAEL         RIVERA                    CO     38011268995
45522376191988   XITLALIC        ROJAS                     NC     90014153761
45523966191988   ANGELINA        MALVAEZ                   NC     17082699661
45526161151334   PAMELA          STAPLES                   OH     90014291611
45528991291569   BRENDA          PASTRAN                   TX     75093159912
45529563791569   HERERA          JUAN                      TX     75085065637
45531197571999   PAUL            CARABAJAL                 CO     90015101975
45531555491547   SAYEG           IDAHIR                    TX     90007895554
45531748491569   CELIA           SAPIEN                    TX     75077257484
45532149677382   MAXIMINO        CASTILLO                  IL     90011501496
45533854171999   EYDIE           RAMIREZ                   CO     90007598541
45535968671999   SHEILA          SMITH                     CO     90004689686
45537632591569   MANUEL          SANCHEZ                   TX     90013656325
45541324881639   LATASHA         WILLIAMSON                MO     29098773248
45541488991988   ANGEL           COUNCIL                   NC     90012344889
45542986271999   ROBERT          MONTOYA                   CO     38009299862
45543152161963   KESHA           PEARCE                    CA     46023131521
45543833491873   KYM             LAWRENCE                  OK     21094278334
45544649791527   VERONICA        CASTRO                    TX     90008076497
45548521891873   JHOSELINE       LOPEZ                     OK     90010815218
45553837791873   NHIA            VANG                      OK     90013138377
45556684291988   DAMIEN          JONES                     NC     90007786842
45557236991857   MARIBEL         SANTELIZ                  OK     90011032369
45558827141258   WOODROE         WILSON                    PA     51015608271
45561415961995   DWAYNE          GARCIA                    CA     90009594159
45561473261963   DOMINIQUE       SMITH                     PA     90013544732
45561925671999   JESSICA         TAFOYA                    CO     90006509256
45562759891569   ABIGAIL         REYES                     TX     90000247598
45563392171999   MILLER          RAY                       CO     90012583921
45568121151334   FELICIA         JEFFRIES                  OH     90009011211
45568269771999   MICHEAL         WARK                      CO     90015192697
45568756561963   YOLANDA         MARTINEZ                  CA     90010277565
45569124471999   SHARI           SISNERO                   CO     90010991244
45571674191523   PRISCILLA       RAMIREZ                   TX     90007106741
45571819942339   SHERRY          CLAYTON                   GA     90009568199
45572892491857   TRACI           HEDRICK                   OK     90009598924
45574439255939   KAYLYN          MELENDEZ                  CA     90009134392
45575491571999   KIMBERLY ANNA   MARTINEZ                  CO     90015334915
45576527991523   ALEXIS          DELGADO                   TX     90007775279
45578119151334   CRISTY          CRAIG                     OH     90014621191
45578661758528   MICHELLE        TORRES                    NY     90015406617
45578779555939   VANESSA         CASTRO                    CA     90011477795
45578982747954   JACKELINE       MARTINEZ                  AR     90003749827
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45579934491569   VANESSA         DAVIS                     TX     75087139344
45581167661963   PRICILLA        VIRGEN                    CA     90014771676
45581978991569   ELIDIO          ARZOLA                    NM     75076779789
45582563791569   HERERA          JUAN                      TX     75085065637
45583491571999   KIMBERLY ANNA   MARTINEZ                  CO     90015334915
45586175791527   MARIA           RAMIREZ                   TX     90000491757
45586644291569   PINON           CHRISTOPHER               TX     75087026442
45587519951334   GREGORY         ANDERSON                  OH     90005335199
45587545291873   CLEO            SMITH                     OK     21021575452
45588893391988   GEMILYA         WRIGHT                    NC     90010728933
45593612855939   CARMEN          LEAL                      CA     90001846128
45595935161955   ESTEFANIA       TAPIA                     CA     90010329351
45596518855939   JESSE           GARCIA                    CA     90006535188
45596542247954   AMANDA          POLLOCK                   AR     25069595422
45596855791988   HERMILO         VELAZQUEZ                 NC     90013228557
45597876791394   JENNIFER        GRESTY                    KS     90007098767
45598184191873   MARIA           GOMEZ                     OK     90010371841
45599718491523   JESUS           ALDERETE                  TX     90007107184
45611257161963   CANDY           HENSLEY                   CA     90009442571
45611423157124   CAROLINA        DOMINGUEZ                 VA     90011444231
45612491281639   WAHLIA          KING                      MO     29015544912
45615654691988   ERIKA           KELLY                     NC     90000536546
45616864691569   FELICIANO       HERNANDEZ                 NM     75067288646
45617979961967   CECILIA         BARRAR                    CA     90001339799
45619762591988   NICHOLE         RIVERS                    NC     17045677625
45619764991523   FEDERICO        REYES                     TX     90007107649
45622123961963   JOSEFINA        MORENO                    CA     46075901239
45622839591873   BEATRICE        LEVELL                    OK     21073738395
45623451891873   SHAWNTAE        SLOAN                     OK     90010054518
45623856355939   PASTOR          BARRACA                   CA     90011848563
45623864691988   SONIA           AYALA                     NC     90008728646
45624373191873   RONALD          PERRY                     OK     21002973731
45625162991988   HARRY           NICKELSON                 NC     90005911629
45626111191988   MICHELLE        POWELL                    NC     90014611111
45626996171999   SALLY           BAKER                     CO     90012159961
45627611247954   RALPH           EVANS                     AR     90004986112
45628293691523   RUBIO           JOSE                      TX     90009302936
45629551591569   SANDRA          RODRIGUEZ                 TX     90008995515
45629643291988   EC              HAUT                      NC     90015016432
45629981171999   ANTANETT        SALAZAR                   CO     90011049811
45632281147954   JAMIE           ABERNATHY                 AR     90014472811
45632711761967   ROY             PETERS                    CA     46075657117
45632858691569   CYNTHIA         JIMENEZ                   TX     90011018586
45634949661967   FRED            GOMPE                     CA     46003229496
45636755855939   ROBERT          BARTON                    CA     49008537558
45637427371999   PHYLLIS         ROBINSON                  CO     38063924273
45639931191394   CULTIVATE       KANSAS CITY               KS     90014649311
45641521155939   MARTHA          GONZALEZ                  CA     90005075211
45642756955939   PAUL            HER                       CA     90006357569
45643295261967   CARMEN          SANCHEZ                   CA     46062652952
45645398861967   MIKE            RISSER                    CA     90006783988
45646529461963   KASSANDRA       KEZERIAN                  CA     90012985294
45647333457126   LORI            CARRICO                   VA     90004313334
45649863481639   TIM             DENSON                    MO     29097608634
45653311747954   WILLA           PRESSLER                  AR     25074543117
45653644891569   LAURA           VALERO                    TX     90013656448
45656388271999   MISTY           KASAN                     CO     90011103882
45656962161963   CHRISTINE       HAWKS                     CA     46030029621
45658435891988   URI             OROZCO                    NC     90014154358
45659868391569   ALMA            AGUERO                    NM     90009158683
45668859361967   JANET           MANY                      CA     90005648593
45669422171924   MARY            CARROLL                   CO     32012194221
45669424381639   JESSICA         LEUTY                     MO     29041624243
45669731661967   MONICA          ARREOLA                   CA     46078627316
45671347891873   MAGDALENA       SILVA                     OK     90009873478
45671835991569   EDGAR           BADEA                     TX     90005038359
45672858691569   CYNTHIA         JIMENEZ                   TX     90011018586
45673756847954   PERLA           ROMAN                     AR     25077537568
45674899571999   JULIE           EARP                      CO     38051138995
45674989155939   JESSICA         CASILLAS                  CA     90013909891
45675543551337   THOMAS          SANDERS                   OH     90007685435
45675932471999   LEONA           BOBIAN                    CO     90009479324
45675975361967   KRISTINA        JONES                     CA     90007269753
45676373971999   CHERIE          LAFEBRE                   CO     38001413739
45676379247954   ELIZABETH       HARDY                     AR     90006583792
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45677245791873   TRACY        ROYSTON                      OK     21097962457
45678278471999   TINA         GONZALES                     CO     90010992784
45681921561963   KARLA        PEREZ                        CA     46051509215
45681978891569   AMERICA      REYES                        TX     90011789788
45683833691873   TRACY        PUETT                        OK     21093178336
45685585491569   DE LA ROSA   SANDRA                       TX     90008525854
45685657655939   BLANCA       PADILLA                      CA     49030296576
45687568871999   DESIREE      GONZALES                     CO     38018075688
45688526791873   DANIEL       BAUTISTA                     OK     21019015267
45691739971999   EDGAR        MENDOZA                      CO     90014477399
45693825555939   MARCO        GONZALES                     CA     49091288255
45693888131621   MATTHEW      LOWE                         KS     22096208881
45693911651334   TIMOTHY      WATSON                       OH     66075139116
45694111884381   JACQUELINE   ROBINSON                     SC     90005821118
45712235851338   SAM          FULKAN                       KY     90003932358
45713989247954   ANGEL        MARTINEZ                     AR     90007519892
45716941691988   TERRENCE     HORNE                        NC     90012949416
45719429291873   JIM          MEDOR                        OK     21033314292
45722293561963   DENIS        CORTEZ                       CA     46095872935
45723358271999   MARK         OSTEEN                       CO     90009533582
45723882984342   CARLOTTA     MCCRAY                       SC     90014208829
45723957791873   JOSALYN      SCAIFE                       OK     90014329577
45724765991527   VERONICA     GARCIA                       TX     75086707659
45732528881639   HEATHER      NACHBAR                      MO     29036515288
45733369171999   JANETTE      MONTOYA                      CO     90010993691
45734461551334   ERIC         LAMB                         OH     90004764615
45737122861966   ERIKA        GILBERT                      CA     90012931228
45739178591394   ROMAN        RODRIGUEZ                    KS     29055061785
45741856681639   LOUIS        WALKER                       MO     90000538566
45744619355939   STEPHANIE    CAUDILLO                     CA     90014876193
45746232347954   RONALD       RICKETTS                     AR     90012372323
45747251636148   CHRISTY      MCNARY                       TX     90014612516
45747567947954   SHAWNETTA    MARTIN                       AR     90014305679
45748886181639   SHAUN        MCGEE                        MO     29067068861
45749578891988   JULIO        DEL CID                      NC     90003115788
45752585355939   KATHY        MARQUEZ                      CA     90011005853
45753774171999   JUANITA      WHITAKER                     CO     38083177741
45754647761967   RICHARD      PLOMONDON                    CA     90003076477
45755261651334   STACEY       MCCLELLAN                    OH     90014262616
45756274361963   GEORGINA     VILLA                        CA     46085482743
45757923791569   JAIME        PERALES                      TX     90010299237
45757955961963   YOLANDA      DE ESTRADA                   CA     90013619559
45757965591988   ERNESTINE    CHARLES                      NC     90008529655
45761851591988   JOSE         GARCIA                       NC     90012218515
45762257251334   LEAH         CHOMA-CANTON                 OH     90014612572
45763985247954   ALESHA       ASKEW                        AR     25063879852
45764458691569   GEORGE       PEDROZA                      TX     90009454586
45765542854121   JACOB        MARINOVICH                   OR     90013055428
45767628955939   SANDRA       SAMBUESO                     CA     90004936289
45768337671999   SABRINA      MAES                         CO     90014523376
45768858272423   RONALD       SEVCIK                       PA     90001258582
45771749791873   VIRGINIA     PEREZ                        OK     21063597497
45778837991569   OLGA         ROCHA                        TX     90012518379
45779828391523   LUS          MORALEZ                      TX     90009718283
45781393971999   CARL         MANZANARES                   CO     90006963939
45782746255939   MARTY        ENGLISH                      CA     90013937462
45786632761963   LUZ ERANDY   SALDANA                      CA     90012226327
45788436471999   MARY         MELGARES                     CO     90012144364
45793356271999   STEVEN       WILSON                       CO     90011023562
45793925291569   MARISOL      WILLIAMS                     TX     90010299252
45794394591988   ANA          AVALOS                       NC     90006183945
45795383691523   MARIAN       PEDROZA                      TX     90012273836
45796267441241   TRENTON      JONES                        PA     90000902674
45796633471999   MARY         VELLAR                       CO     90001116334
45797952255939   ANA          MARTINEZ                     CA     49051389522
45811893391988   GEMILYA      WRIGHT                       NC     90010728933
45812439272455   LARRY L      BENNETT                      PA     90007234392
45813719833694   VERONICA     WILLIAMS                     NC     12010627198
45814449455939   YLERIBERTO   PEREZ                        CA     49005114494
45816298191523   CESAR        VARGAS-ORTIZ                 TX     90007142981
45817682171999   FERNANDO     GUITERREZ                    CO     90004506821
45818576461967   BENNIE       TATE                         CA     46055565764
45818588851334   HEATHER      SALZ                         OH     66006565888
45818892291873   LUZ MARIA    MOLINA                       OK     90009688922
45819233641233   JENNIFER     ORWIG                        PA     90005502336
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45819682491523   ADRIAN       BARRAZA                      TX     90005726824
45821836855939   EDITH        PENA                         CA     90004818368
45825326391569   JESSICA      ZIJLSTRA                     TX     90014933263
45826944191988   GABRIEL      CARDENAS                     NC     90011029441
45828341891857   ELISA        FRAIRE                       OK     90010793418
45828745391523   JUANA        SALAZAR                      TX     90011587453
45828863671931   YVETTE       WARFIELD                     CO     90010408636
45829328771999   TAHANI       CORDOVA                      CO     90010903287
45829969936189   JERRY        HEGGEM                       TX     90001189699
45831164291873   MAURO        IBANEZ                       OK     90014161642
45833978271999   ANNETTE      VILLEGAS                     CO     90008049782
45834365271999   LAURA        GONZALEZ                     CO     90015293652
45835135951334   LAKEITIA     ROSEMOND                     OH     90014841359
45835295991569   JORGE        MARQUEZ                      TX     90011982959
45837834891523   HECTOR       GORDILLO                     TX     90000468348
45838292347954   HERBERTO     SOTO                         AR     90012572923
45841344591873   VORCIE       HOWARD                       OK     21065863445
45841963671999   SAMANTHA     CERVANTES                    CO     38016319636
45843224558528   VERONICA     RONDAN                       NY     90015422245
45843631151336   THOMAS       STORER                       KY     90001256311
45845155851334   JOSEPH       SILER                        OH     90001091558
45845891191988   LATORIA      WILKINS                      NC     90012188911
45846345855939   LESLIE       LANGDON                      CA     49098823458
45846641691569   AMY          QUEZADA                      TX     90013096416
45847782171999   CHRIS        WOLFE                        CO     38006197821
45848922961963   CRYSTAL      CERVANTES                    CA     90014859229
45852654961963   APRIL        AGE                          CA     46082166549
45853166455939   ALONDRA      VARGAS                       CA     90007261664
45853775347954   ANGELA       EBEERHARD                    AR     90007647753
45853948761963   MARIO        ORTIZ                        CA     90003249487
45855847447954   FERNIE       PLANCARTE                    AR     90009078474
45856114761963   SASHA        LIPPMAN                      CA     90013981147
45857319191523   RAUL         GURROLA                      TX     75072023191
45859393491569   JOSE         BORREGO                      TX     90006903934
45859478151334   RUBEN        MIZELL                       OH     66093624781
45862665884321   TODD         HAMPTON                      SC     90010826658
45863515561963   SALOME       RENTERIA                     CA     90011785155
45864125271999   GERALDINE    MACIAS                       CO     38078671252
45865459991569   PATRICIA     VIDALES                      TX     75011614599
45865464991523   MONTOYA      MARTHA                       TX     90007154649
45865959861963   ALICIA       DIXON                        CA     46014409598
45866131755939   MARIBEL      FLORES                       CA     90012931317
45866422591873   SHELLY       WAGGONER                     OK     21068394225
45866912451334   JOSE         AGUILON-MIRANDA              OH     66025109124
45877324447954   JEREMY       MCGINNIS                     AR     90014863244
45878551147954   ANA          MORAN                        AR     90012915511
45882824291873   JAMIE        BRYANT                       OK     90013358242
45883793691354   IRMA         MARIN                        KS     90007337936
45885315771999   KRISTI       MARTINEZ                     CO     90013083157
45886673771999   CHRISTINA    ZAVALA                       CO     90013826737
45887481991873   ALAN         BRANNON                      OK     21003894819
45888864691569   ANGELA       GONZALEZ                     TX     90000248646
45889568191523   NUBIA        ARRAS                        TX     75056115681
45893523891547   BRENDA       COLLAZO                      TX     90011525238
45897749551334   ALEXIS       DELATORRE                    OH     90013997495
45912377851334   TYLER        ERKINS                       OH     90011883778
45913745547954   VERONICA     DOMINGUEZ                    AR     25095967455
45915823442331   TIMOTHY      BOUTON                       GA     90008838234
45916584691873   MONICA       NARON                        OK     90011885846
45918127947954   STEFANY      MORALES                      AR     90012071279
45918972991569   MARISELA     RAMOS                        TX     75063839729
45919537255939   SHADYNE      HENDERSON                    CA     90011485372
45919693681639   URIAS        DOLORES                      MO     90007296936
45921619755939   SOFIA        QUINTERO                     CA     49003426197
45921677647954   DINORA       DOMINGUEZ                    AR     90005406776
45921679933635   LEOPOLDO     NOYOLA                       NC     12016666799
45921732991549   FRANSICO     BALLENGER                    TX     90012667329
45921988671999   GABRIEL      DEHERRERA                    CO     90015089886
45923456255939   MARISELA     CHAVEZ                       CA     49073084562
45924692491873   PAU          NANG                         OK     90013786924
45925316991864   NINA         DIXON                        OK     90010783169
45926184191569   CHRISTINA    GALLEGOS                     TX     90015271841
45926211791873   RAFAEL       DURAN                        OK     90014162117
45926817991873   MARY         ADKINS                       OK     90014388179
45926861991328   MARTHA       CARDOZA                      KS     90010368619
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45927542655939   MANUEL          LEMUS                     CA     90009345426
45931943591569   MARIO C         RAMIREZ                   TX     90010229435
45934379271999   SAMANTHA        TRUJILLO                  CO     90009723792
45934815891988   ADELINA         CABALLERO                 NC     90004448158
45935815291873   DIAMOND         FIELDS                    OK     90014648152
45936237255939   YING            YANG                      CA     90015012372
45936288491988   KACI            CLOUGH                    NC     90006792884
45937375591523   SEASSIEU        GON                       TX     90010113755
45937946591873   QUASHUNA        JONES                     OK     90011609465
45938152591988   MARIA           RAMIREZ                   NC     90001501525
45938232661963   CORINA          JAIME                     CA     90002852326
45938253851334   MEGAN           SPURLING                  OH     90010932538
45939692691873   BRIAN           HAGEDORN                  OK     90009926926
45943356271999   STEVEN          WILSON                    CO     90011023562
45944225751334   SANDRA          SAMS                      OH     90014982257
45944821591873   MICHAEL         CHILDRESS                 OK     90014388215
45946356791873   KETCY           ACEVEDO                   OK     90014943567
45946545991988   MAGDELENA       CORREA                    NC     17062275459
45948375891569   BRENT           CROCKETT                  TX     90014483758
45949567191873   ABEL            NAJERA                    OK     21055695671
45951359961963   MARIO           VILLEGAS                  CA     46045123599
45954525961963   ANTHONY         ROSE                      CA     90014795259
45955817491523   ZAIRA ANGIE     MALDONADO                 TX     90011588174
45958925461967   LEWIS           JONES                     CA     90007189254
45966599591988   KEVIN           WARNER                    NC     90009735995
45967394971999   MARTIN          FRAIS                     CO     38070673949
45967943991988   ALEXANDRA       GALEAS                    NC     90007599439
45968923291523   MIREYA          REYNA                     TX     90009969232
45969351951334   CYNTHIA         WALTERS                   OH     66093653519
45971434632586   ROBERT          WEIFORD                   TX     90015444346
45972534581639   KIERRA          CASTON                    MO     29021045345
45972972555939   GABRIELA        BALTAZAR                  CA     90008929725
45974257491873   JANETTA         WARD                      OK     90014162574
45975864571999   RACHEL          ALCON                     CO     90004258645
45978548391952   EVANGELINA      ROSALES                   NC     17010625483
45978954983289   TIMOTHY         JOHNSON                   TX     90012159549
45979217591527   DEBORAH         JACOBS                    TX     90007932175
45979727791569   JOSE            CAMPUZANO                 TX     90014517277
45981451891873   SHAWNTAE        SLOAN                     OK     90010054518
45983542191569   MICHAEL         HINOJOSA                  TX     75065765421
45985941291569   MARIA           MONTES                    TX     90010299412
45986661761963   ARACELI         JIMENEZ                   CA     46067996617
45987215591988   CHOMPIS         ROJAS                     NC     90012362155
45991734491873   LOUIS           CONRADY                   OK     21009817344
45991762191988   SHONGA          JONES                     NC     90007847621
45993388351334   LOUIS           PENLEY                    OH     90014723883
45993632747954   HEATHER         LONG                      AR     90007546327
45995532191523   FERNANDO        DIAZ                      TX     75056155321
45996818651334   TORY            COLEMAN                   OH     90008228186
45998198351334   LUNA            PATINO                    OH     90011371983
45999534991523   JESUS           MEDINA                    TX     75063795349
45999661591569   YOLANDA         LEON                      TX     90009416615
46111397871999   CANDANCE        MONTOYA                   CO     90011283978
46112397871999   CANDANCE        MONTOYA                   CO     90011283978
46115346861963   EDWARD          BROWN                     CA     90013063468
46117599961963   BRYAN           MINNIGERODE               CA     90011105999
46118998691523   YVETTE          RAMIREZ                   TX     75056189986
46124146891523   ADREA           ARELLANO                  TX     75056191468
46129412661967   KALANI          MASON                     CA     90014324126
46129837351334   JENNIFER        RENEER                    OH     90015278373
46132514571999   JUAN            LIBERATO                  CO     90015195145
46135444591523   ARTHUR          IBARRA                    TX     90010574445
46135556293724   JENNIFER        STEINER                   OH     90007585562
46136126661963   STACUY          PIPPIN                    CA     90010041266
46139719947954   SANDRA          MIRA PINTO                AR     90005457199
46141648761963   MELISSA         HEFFERMAN                 CA     90014956487
46143679751334   NATASHA         FRAZIER                   OH     90013236797
46144925257126   JOSE FRANSICO   MARTINEZ                  VA     90010509252
46147187155939   BIANCA          HELMS                     CA     90005791871
46147581573264   AIDEN           PALLOS                    NJ     90015215815
46148192655939   DANIEL          BELTRAN                   CA     49010051926
46148556271999   CHERYL          VIGIL                     CO     38064935562
46149187155939   BIANCA          HELMS                     CA     90005791871
46153374771999   GARY            BROOKS                    CO     90001113747
46153383161967   MONICA          OCHOA                     CA     46067503831
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46156414791523   MONSERRATH   GONZALEZ                     TX     90009804147
46166445951334   CARMEN       BLACKWELL                    OH     90010974459
46166619361967   GUSTAVO      HOLGUIN                      CA     90012216193
46167392671999   DESTINIE     LEFEBRE                      CO     90003563926
46169424251334   RAY          WILLIAMS                     OH     90012824242
46176419271999   DAVID        CHAVEZ                       CO     90012014192
46176551671999   ANISHA       LUCERO                       CO     90000255516
46177723351334   RUTH         YOUNG                        OH     66038277233
46182317761945   ISRAEL       POLO                         CA     90009983177
46183466361963   VIANEY       VELASQUEZ                    CA     90014654663
46183726191873   BRANDON      WHALEN                       OK     21043577261
46184627231655   MELISSA      ROBISON                      KS     90013756272
46185856671999   AIOTEST1     DONOTTOUCH                   CO     90015128566
46186731661547   LAKEISHA     SMITH                        TN     90015387316
46187489391523   GABRIELA     CASTELLANO                   TX     75098514893
46191176455947   MARIA        URIBE                        CA     90011471764
46192483861963   KAREN        PINEDA                       CA     46023074838
46197999971999   ED           GARZA                        CO     90012939999
46211314291873   GONZALO      CASTRO                       OK     90005863142
46213581761963   MARIANA      GOMES                        CA     90004365817
46216995584332   EILEEN       FRASIER                      SC     90008479955
46217836547954   EDUARDO      ROJAS- ACEVES                AR     25088738365
46218553471999   SILVIA       CHAVEZ                       CO     90013045534
46218864577595   SIMEAULI     SOFARA                       NV     90002118645
46219153271999   DENNIS       GILLEY                       CO     90012931532
46221485561967   MARIA        CAMPOS                       CA     90014184855
46221781991547   JAY          JAYS AUTOMOTIVE              TX     75039617819
46224666991569   JESUS        MEZA                         TX     90006536669
46225371291873   ROBERT       GOEBEL                       OK     21064503712
46226684684336   SHAVON       HEYWARD                      SC     90014066846
46236267691873   JORDAN       ASCENCIO                     OK     21009862676
46236492371999   KAYLA        GONZALES                     CO     38084064923
46237865351326   ASHLEY       LEWIS                        OH     90001038653
46238441171999   PAUL         MARQUEZ                      CO     38019564411
46239415661963   JORGE        RIVAS LIMA                   CA     90012264156
46241564777595   ARACELI      CABRERA                      NV     90007595647
46243258251334   CARRISA      BENTON                       OH     90010882582
46244612561967   VIRGINIA     LOPEZ                        CA     90008806125
46244899271999   NICOLE       TORRES                       CO     38044338992
46245161877595   JESSICA      GIL                          NV     90011281618
46245568291569   STEPHANI     SOSA                         TX     90003625682
46246882961967   VERNITA      THORNTON                     CA     90014728829
46247721891523   EVELYN       CARDENAS                     TX     75005737218
46249218147954   ANAIY        HERNANDEZ                    AR     90007902181
46253111191569   ELENA        RODRIGUEZ                    TX     75087271111
46253136361963   MERRILL      HARVEY                       CA     90010021363
46259364336148   JUANITA      GARZA                        TX     90014603643
46261229591992   RODNEY       ALLEN                        NC     90005692295
46261367361967   JOSEPH       MANNINA                      CA     90006123673
46262884547954   CRYSTAL      STEFFENS                     AR     90005488845
46266485561967   MARIA        CAMPOS                       CA     90014184855
46269411991549   JOSE         GONZALEZ                     NM     90012794119
46272821991569   PIERRE       BLANCHARD                    TX     90010858219
46273612377595   MELISSA      MALAILUA                     NV     43097866123
46273619361963   ELIZABETH    WINDMILLER                   CA     90014986193
46273632661963   DARREL       WHEELER                      CA     90013976326
46283361772466   CLINTON      WILLYARD                     PA     51087843617
46284248577595   RANDY        JONES                        NV     90013502485
46284723251334   KENNETH      TUCKER                       OH     66020847232
46285141291569   VERONICA     SMITH                        TX     90012921412
46287746651334   KELLIE       MCCARTER                     OH     90011477466
46287844961963   SHANNON      SHARP                        CA     46024798449
46291868671999   YESENIA      BALDERRAMA                   CO     90014438686
46293365477595   FRANKYE      GONZALEZ                     NV     90010413654
46293578261967   ISAAC        JOHNSON                      CA     90000415782
46295447171999   MICHAEL      WILLIAMS                     CO     90008964471
46296447171999   MICHAEL      WILLIAMS                     CO     90008964471
46296737191992   EFRAIN       RODRIGUEZ                    NC     90005857371
46298131797134   AMY          BERNAL                       OR     90009101317
46298278661967   PHILLIP      SCHNEIDER                    CA     46055552786
46298458891523   ELIZABETH    CORRAL                       TX     90007364588
46298596391241   JAMES        WATERS                       GA     90002845963
46311779977595   JESSE LEE    CORNETT                      NV     43099117799
46312649391926   JOSE         MONTALVO                     NC     90003326493
46313932791569   ALEX         TAPIA                        TX     75072689327
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46314715961967   EMILIO       MENDOZA                      CA     90013117159
46315476372499   JOSHUA       BAKER                        PA     90011074763
46315765591876   LORI         MAYNARD                      OK     90011357655
46318632993724   WILL         PFLEGER                      OH     90011456329
46323239451334   MELODIE      MARJSBURI                    OH     66076772394
46324519357122   JOSE         DIAZ VARGAS                  VA     90013685193
46324573361967   JOHNY        BRUZEUS                      CA     90012295733
46324954977595   GILBERT      ACHOLA                       NV     90005299549
46325268961967   MARCOS       RADIATOR                     CA     90014162689
46326971591284   FELICIA      SCOTT                        GA     90003949715
46327322581639   DION         JACKSON                      MO     29064913225
46327997591569   SOCORRO      VALDEZ                       TX     90010909975
46328555471999   JEANINE      TURNER                       CO     90014595554
46329312661967   BRENDA       SOTO                         CA     90012873126
46329723777595   PHIL         PRUNIER                      NV     43000027237
46329959191873   NOE          CORDOVA                      OK     21044499591
46331524177595   GENOVEVA     MORILLON                     NV     43095495241
46331586591569   ORALIA       RAMOS                        TX     75054195865
46332237861967   ARNOLD       VILLACUSA                    CA     46011982378
46332689251334   MISAEL       PINASNO                      OH     90015396892
46332916171999   OSIL         LOVATOZ                      CO     90010309161
46332917671946   AMY C        RANDOLPH                     CO     90008649176
46333552461973   DILOVAN      DAWOOD                       CA     90007315524
46335783155939   ADAM         VALLADORES                   CA     90005097831
46336642393769   LAQUINTA     HOWARD-SMITH                 OH     90012756423
46337349691569   LUIS         MARQUEZ                      TX     90014903496
46337749391569   DELILIA      ORTIZ                        TX     90013257493
46337914291523   ALFONSO      VARGAS                       TX     75046299142
46345455951334   KIANA        CHAMPION                     OH     90008754559
46349269461967   FRANSISCO    HERNANDEZ                    CA     90014162694
46353617477595   JESSIE       BALDWIN                      NV     90000406174
46356966891873   SCOTT        SMITH                        OK     90010819668
46358248291873   BUDDY        KONS                         OK     90012802482
46359868447954   TRACIE       SEALS                        AR     90008338684
46361363171999   LYNN         BEAN                         CO     90006553631
46364486391569   KARINA       HERNANDEZ                    TX     75091734863
46366875361963   SHANA        COOK                         CA     90012898753
46367243291569   EDDIE        DIAZ                         TX     90014502432
46369896461969   PHIL         CREPEAU                      CA     46089428964
46371472171999   DIOSONE      GEONZALES                    CO     38064994721
46372926371999   THERESA      DAWSON                       CO     90012249263
46375229851334   CHERIE       HOCKL                        OH     90014442298
46375966461963   ANFIE        WESSEH                       CA     90011059664
46376176451334   ITHEA        DONKOR                       OH     66017431764
46381536691523   RYAN         LEURQUIN                     TX     90005115366
46381867891569   MICHELLE     MAYNEZ                       TX     75012378678
46382866391569   ALMA         ANDRADE                      TX     75036568663
46385445961967   JOSE         SMITH                        CA     90013974459
46391269151334   JEFFREY      AYERS                        OH     66096772691
46393911191569   JESUS        MORALES                      TX     75067949111
46395834691569   MARTHA       ARAGON                       TX     90010988346
46397246461498   JOHN         HARACHIS                     OH     90014362464
46397438771999   ANTHONY      CHAVEZ                       CO     90013234387
46398367271999   DELIA        PIZARRO                      CO     38044443672
46398485561967   MARIA        CAMPOS                       CA     90014184855
46398876871999   DELIA        PIZARRO                      CO     90015278768
46399898791523   LYAN         MENDOZA                      TX     90007368987
46411898791523   LYAN         MENDOZA                      TX     90007368987
46416136164195   RODNEY G     SKINNER                      IA     90014561361
46416937261963   KARINA       MORENO                       CA     90006669372
46417631351334   GARY         STAPLETON                    OH     90003496313
46418531241289   TERRI        DERKAS                       PA     90003925312
46421169391394   ROBERTO      FUENTES RODRIGUEZ            KS     29014211693
46421289747954   REBECCA      SHUPTRINE                    AR     90005912897
46421342851334   TRACY        HEINZ                        OH     90013523428
46421975491569   BERNICE      ALVAREZ                      TX     90005039754
46422686291569   ERNESTO      ROMO                         TX     75061066862
46422828461955   GERARDO      DELARIVA                     CA     90011488284
46426971291523   YOSIE        BAYASHI                      TX     90007369712
46429742691569   ART          MUELA                        TX     75004497426
46432971291523   YOSIE        BAYASHI                      TX     90007369712
46435589291569   ERNESTO      RAMIREZ                      TX     90015115892
46438551861963   JIM          ELLTON                       CA     90007425518
46439369691523   MARVIN       WILLIAMS                     TX     75003323696
46439827677595   MARIA        MEDINA                       NV     90003848276
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46439845461963   ADELA        NAJERA                       CA     46028748454
46448584255982   JOSEPH       RODRIGUEZ                    CA     90006835842
46449165971999   BRANDON      SARMIENTO                    CO     90014761659
46452215277595   DUSTIN       CASTODIO                     NV     90010492152
46452828761967   JIMMY        HERNANDEZ                    CA     90010438287
46453789877595   JOSEPH       LAURIDSEN                    NV     90010027898
46454778981639   CRYSTAL      CROWLEY                      MO     90002817789
46456641355939   MIKE         AYERS                        CA     90003576413
46456981561967   VINICIO      QUINONEZ                     CA     90014949815
46457468661924   MARLENE      SANTOS                       CA     90001864686
46459191355939   KELLY        HER                          CA     90003461913
46462745261967   ANTONIO      LOPEZ                        CA     90014587452
46464161647954   YOLANDA      GOMEZ                        AR     90003101616
46464191371999   RANDY        MATA                         CO     90012951913
46466893461967   ELIZABETH    CONTRERAS                    CA     90014728934
46467623471999   JED          CHRISTENSEN                  CO     90015156234
46467894161963   REYNA        ALGANDAR                     CA     90013798941
46468836361967   MARBELLA     CHIN                         CA     46001618363
46468918291569   TANIA        SILVA                        TX     90000219182
46469994261963   ALFREDO      CORRAL                       CA     46064139942
46471853361967   ELIZABETH    AZHOCAR                      CA     46054408533
46472922461967   DEREK        DUFOUR                       CA     90011019224
46473677791873   BOBBY JR     GREEN                        OK     21068546777
46477922661967   WILLIE       HANNAH                       CA     90011019226
46478154191569   ROSARIO      FERNANDEZ                    TX     75026651541
46478314877595   TERESA       MCCOY                        NV     90004643148
46481162351334   EVELYN       THARP                        OH     90013201623
46483125461963   LIZBETH      MACHUCA                      CA     90010241254
46483599477595   JOSEPH       CONWAY                       NV     43085465994
46484114671999   ARMANDO      ALANIZ                       CO     90014381146
46484268984375   CHARLENE     CHMABERS                     SC     90013982689
46487549871999   CHARLIE      DREW                         CO     90009195498
46488285391527   IRLANDA      YON                          TX     90009332853
46488522955939   ROSA         PETRA                        CA     90006065229
46488821891569   MARIA        SOLEDAD                      TX     75069468218
46488888291523   VALERY       HERNANDEZ                    TX     90007178882
46489998361963   EDURADO      ARIZMENDI                    CA     90014399983
46491245651334   CHRISTINA    BASKERVILLE                  OH     90011372456
46493394161963   HECTOR       ORTIZ                        CA     90010753941
46495272151334   HING         CHOI                         OH     90013922721
46495452861967   ANA          LOPEZ                        CA     90014334528
46496671761967   BESSIE       TURNER                       CA     90013906717
46497654891569   OSCAR        MACIAS                       TX     90009216548
46497816951334   CHARLOTTA    COOLER                       OH     90015138169
46511565591873   KELSEY       WILSON                       OK     21001105655
46512131661963   GARRY        HARDEN                       CA     90015511316
46513523743575   DAVID        SCHOFIELD                    UT     90012135237
46513711191873   CORBIN       WILSON                       OK     90011577111
46513849561963   JUDITH       WOODARD                      CA     90013418495
46517474181669   MARCUS       WATSON                       MO     29002804741
46518615858528   PAYGO        IVR ACTIVATION               NY     90011726158
46518854251348   THOMAS       BURROUGHS                    OH     90003988542
46519652955939   HNOU         LEE                          CA     90010706529
46522399571999   DUSTIN       MORTENSEN                    CO     90012963995
46522786677595   ZACHARY      VERESCHAGIN                  NV     90007597866
46523898791569   SELENA       ROMERO                       TX     90010308987
46524917377595   REYNALDO     HERNANDEZ                    NV     43092059173
46525987451334   EMETT        MCFARLAND                    OH     90003449874
46526412661963   JEFFREY      HAYES                        CA     90011794126
46527282191523   MANUEL       GUERRERO                     TX     90007372821
46527384491524   CLAUDIA      PENAFIEL                     TX     90011773844
46529179391569   ANTHONY      GALLEGOS                     TX     90014781793
46532966771999   BRIAN        HANNA                        CO     90005549667
46533232261967   MARLA        GUTIERREZ                    CA     90013552322
46535967291549   GERMAN       LOPEZ                        TX     90011009672
46538875871999   JOANN        BOYES                        CO     38053528758
46539839171999   MICHCEL      GONZALEZ                     CO     38053528391
46539951261967   HUGHES       CHARLERON                    CA     90011419512
46542685577595   KIRSTEN      OPENLANDER                   NV     43095946855
46546644851334   JASON        YOUNG                        OH     66015706448
46546821891982   O TENICIA    WALL                         NC     90011518218
46548568571999   RAMON        YANEZ                        CO     90012955685
46549592371999   CHRISTY      ROMERO                       CO     90014565923
46549832881639   MANDE        ELLENBERGER                  MO     29067648328
46551569291873   PAYGO        IVR ACTIVATION               OK     90006255692
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46552437391547   SONIA         LEOS                        TX     90011974373
46552736861941   GUADALUPE     LICEA                       CA     90012627368
46553592871999   DONNITA       VIGIL                       CO     90012955928
46553738355939   JOHNNY        MARROQUIN                   CA     90011457383
46555564971999   LEON          TURNER                      CO     90014485649
46555691191873   GABRIELA      CASTRO                      OK     21076056911
46555966277366   BERTHA        VARGAS                      IL     90015149662
46556921777595   ALICE         WILLET                      NV     43004119217
46558276391569   JAMMIE        PEREA                       TX     75004372763
46558388855939   SARA          VILDOSOLA                   CA     90010643888
46561128561963   JOSE          ROSALES                     CA     90012891285
46562953461963   ARMANDO       ZAVALA                      CA     90009329534
46564589191569   ERICA         TORRES                      TX     90004765891
46564661191523   CECILIA       GUEVARA                     TX     90006606611
46571732451334   SHERRY        CLOUSE                      OH     90011517324
46572255161963   MARIA         CHAVEZ                      CA     90014902551
46572875591394   JESSE         REED-SCHALL                 MO     29067948755
46572897891873   ROBERT        HAMBER                      OK     21099038978
46573377877595   MELISA        SUTTON                      NV     90012103778
46578484171999   ABEL          MANZANARES                  CO     90012584841
46578675977535   OSCAR         PARTIDA                     NV     90011456759
46579583761967   FERNANDO      MARTINEZ                    CA     90012735837
46579684951334   CLOVIS        NDIZEYI                     OH     90015116849
46582358451388   SARAH         BREWER                      KY     66012843584
46583361441297   LAURA         DIMUZIO                     PA     90011533614
46584141291569   VERONICA      SMITH                       TX     90012921412
46584552571999   CHRISTEAH     MONTOYA                     CO     90013405525
46586913961963   MARITZA       ROBLES                      CA     90007729139
46588446855939   KAREN         CHANSOMBAT                  CA     90010624468
46589144591569   JOELDA        ESTRADA                     TX     75053511445
46591361261963   MIKE          FIEDLER                     CA     90004413612
46593168491569   GUADALUPE     GUERRA                      TX     75067061684
46593921161963   DENNIS        SHEA                        CA     46072429211
46596351677595   CATALINA      RIOS                        NV     43088863516
46596445961967   JOSE          SMITH                       CA     90013974459
46596952755939   MARISELA      CASAREZ                     CA     90012629527
46611515361967   IRMA          MORENO                      CA     46032505153
46613314661967   JASMIN        PERAZA                      CA     90014813146
46616392191569   LETICIA       ARELLANO                    TX     90006563921
46616885747954   IVAN          RODRIGUEZ                   AR     25081938857
46617774771999   EDWIN         GONZALEZ                    CO     90011297747
46621771761963   RAQUEL        LOPEZ                       CA     90012637717
46622698191569   LAURA         AGUILAR                     TX     75084906981
46623457477595   DAVID         RODRIGUEZ-MONROY            NV     90009664574
46625448933625   BERENDA       SLADE                       NC     12065284489
46628157691873   LATONYA       MCWHIRT                     OK     21059421576
46628665151334   CLAY          STRASSER                    OH     66036176651
46631666361963   DONALD        JAQUEZ                      CA     90014416663
46632647871999   BYANCA        SMITH                       CO     90012966478
46635767772462   DAVID         DEMBROWSKI                  PA     90001697677
46637787871999   JAMES         TRUJILLO                    CO     38040447878
46639484561963   CHRISTOPHER   GASTELUM                    CA     90006864845
46641461377595   JOSE          DOMINGUEZ-MENA              NV     90011294613
46646799851334   JAY           JOHNSON                     OH     66044087998
46647114977595   LACEE         ESCOVEDO                    NV     43046821149
46647266261963   RICHARD       LOTTES                      CA     46013732662
46648927971999   MELANIE       MAURER                      CO     90008129279
46652739971999   JOSEPH        CORDILLO                    CO     38017747399
46655857577595   HENRIETTA     GAUDARD                     NV     43081948575
46657696851326   KISHA         PRYOR                       OH     90007216968
46657943291873   SHAWN         FLANAGAN                    OK     90006239432
46661155372466   JEREMY        REEDY                       PA     90010311553
46662673457126   JOSE          SANTOS                      VA     90008276734
46662699391873   DASAW         MONTGOMERY                  OK     21032996993
46663122477595   LEONARDO      LOPEZ                       NV     90011581224
46666883371999   AMBER         ORTEGA                      CO     38054658833
46666919661963   ANGELICA      LUCAS                       CA     90010669196
46668294791394   GUELLERMINA   RIVERA                      KS     90006942947
46668295151334   CARRISSA      DAY                         OH     90011392951
46668917684353   BERNARDO      FELDER                      SC     90005409176
46669549471999   ADONIS        VIGIL                       CO     38097395494
46674135577595   SUSANA        SALINAS                     NV     90000101355
46678643491569   JASIEL        TOVAR                       TX     90012056434
46679954771999   BERNADETTE    SINTAS                      CO     90007119547
46681324647954   SANTIAGO      VASQUEZ-LOPEZ               AR     25095833246
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46682457861924   STEPHEN      PADULA                       CA     90012584578
46682551191569   GRECIA       MARTINEZ                     TX     90012995511
46684964977595   MADELL       SARAH                        NV     90003769649
46684983461963   NOEMI        RUEDA                        CA     90014069834
46685172277595   DEVARIS      AREVALO ORDONEZ              NV     43039231722
46689824177595   ALEJANDRO    DURAN                        NV     90006848241
46695978491876   CHARLES      MILLS                        OK     90014799784
46697665471999   SOMINITA     VALDEZ                       CO     90015126654
46699129661963   ANA          CARRANSA                     CA     90003531296
46711599191523   JASHUA       LUTAN                        TX     90003735991
46713464133632   JALA         HARDEN                       NC     90009134641
46718113391569   ANGELICA     CABRERA                      TX     90011951133
46719678571999   RUBY         LILE                         CO     90004106785
46723684157124   MIRTILA      BARAHONA                     VA     81096236841
46724762861963   ROSA         DOMINGUEZ                    CA     46017887628
46725956691569   ADRIAN       AGUILAR                      NM     75013679566
46727364491547   JEANETTE     GALVAN                       TX     75017583644
46729621654195   DONNA        DOOLITTLE                    OR     90000886216
46731383161963   MONICA       OCHOA                        CA     46067503831
46731846977595   JAIMIE       GUBBINI                      NV     90011298469
46732356491569   LILIANA      ANGEL                        TX     90014903564
46733386791394   MONICA       CONDE                        KS     90006033867
46733557277595   PAULA        ARZOIAN                      NV     90010315572
46734942391569   CESAR        RIOS                         TX     90014079423
46735527661963   JASON        SEXTON                       CA     90012675276
46736954861967   DOROTHY      MARTIN                       CA     46003349548
46737639181682   ROBERT       LYONS                        MO     90015426391
46737946171999   SONDRA       ANDREWS                      CO     38082999461
46744564451332   DONALD       WILSON                       OH     90006815644
46746146591569   JORGE        BRISENO                      TX     75045051465
46746261441287   COLLEEN      RAUSCHENBERG                 PA     90003742614
46746351961967   JOLEONARD    BROWN                        CA     90002943519
46747215691569   LOPEZ        MYRNA                        TX     90014442156
46747491271999   MARIO        VALDEZ                       CO     90010214912
46751662877595   ENRIQUE      LOPEZ                        NV     90005016628
46751837471999   DELLA        COLLINS                      CO     38050638374
46752959561979   GREGORIO     GOMEZ                        CA     90012119595
46754185661963   MARIO        OCHOA                        CA     46012121856
46754198971999   ROBERTO      RAYA                         CO     38008341989
46754677791569   CONSTANCE    CORBETT                      TX     75093246777
46755793171999   CATHERINE    MILLER                       CO     90013057931
46755884961967   JOEL         MERAZ                        CA     90013698849
46756148471999   RONALD       PARKS                        CO     38088781484
46757254361963   ROGER        NAVARRO                      CA     90012022543
46758632371999   ALEJANDRA    PEREZ                        CO     90011416323
46763959591873   LANASHA      CARTER                       OK     21054649595
46764627161967   FELICIA      HILLARD                      CA     46047776271
46764737471999   MALINDA      BIBBY                        CO     38050557374
46765635561967   JASON        PROTHRO                      CA     90009346355
46766135171999   JHONATHAN    RODRIGUEZ                    CO     38010041351
46769822747954   ROSA         RIOS                         AR     90014168227
46772168561963   ELISE        COLE                         CA     90007041685
46772293261963   ELISE        COLE                         CA     90014802932
46775588391569   IDALIA P     GONZALEZ SAENZ               TX     90010235883
46777782561967   ADRIANNA     ESPINOZA                     CA     90015027825
46778489691569   GUILLERMO    GOMEZ                        TX     90010224896
46782267691873   JORDAN       ASCENCIO                     OK     21009862676
46783559347954   NANCY        CAMPOS                       AR     90006085593
46784559347954   NANCY        CAMPOS                       AR     90006085593
46791789891569   ANA          PENA                         TX     90010167898
46792318655939   ALEJANDRA    ORTIZ                        CA     90007173186
46793398261963   MARIA        ALVAREZ                      CA     90004393982
46793666361967   MICHAEL      LUNA                         CA     46067016663
46793733291569   MELISSA      HUERTA                       TX     75027697332
46793887993721   ANGELA       SMITH                        OH     90002158879
46793937871999   JOSE         PACHECO                      CO     90010469378
46794986855939   JACKIE       KETTERING                    CA     90000859868
46796997471999   CHRIS        WALLACE                      CO     90008829974
46797165661988   NORMA        RODRIGUEZ                    CA     46086691656
46799814684321   HOWARD       SIMMONS                      SC     19023248146
46799972371999   JESSICA      BENSON                       CO     90008109723
46811761585844   ELSA         TOMPKINS                     CA     90006987615
46813313461967   SANFORD      NICHOLS                      CA     90005243134
46815187455939   STEVE        SHARP                        CA     90008161874
46817556991927   DESHAWNDA    WORSLEY                      NC     17067965569
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46818865855939   EZEQUIEL     LOPEZ                        CA     90012668658
46822913538541   RAUL         MORENO-PICHARDO              UT     90002839135
46823243291569   EDDIE        DIAZ                         TX     90014502432
46823886661967   DIEGO        TORRES                       CA     90009018866
46825245751334   DOUGLAS      ALSIP                        OH     66077102457
46825372581639   LATONYA      EVANS                        MO     29031533725
46826617251334   ANNA         OHARA                        OH     66007316172
46826937261963   KARINA       MORENO                       CA     90006669372
46829976177595   JESUS        ACOSTA                       NV     43038749761
46831523951334   GONZALO      VILLAGAMEZ                   OH     90012765239
46832234471999   MARVIN       WILLS                        CO     90008412344
46835578977595   DARYL        HUMPHREYS                    NV     43023265789
46838776951334   CARLI        RANSICK                      OH     90011277769
46842439991873   ROBIN        RICHARDSON                   OK     21088804399
46845569561967   SAUSHA       PENN                         CA     90015115695
46845663391569   FERNIE       CARO                         TX     90010666633
46845868991523   MARIA        MIRANDA                      TX     90007458689
46846924693734   KIM          DURAN                        OH     90011749246
46847332261967   ROSA LIDIA   GONZALEZ                     CA     90001733322
46847415157549   ANTONIO      JIMENEZ                      NM     90008724151
46848353791394   RUBEN        ESCAMILLA                    KS     90007873537
46848652993769   RANDALL      WILLIAMS                     OH     64507666529
46849516155947   ALEJANDRO    PEREZ                        CA     49062705161
46851578977595   DARYL        HUMPHREYS                    NV     43023265789
46851847971999   NATALIA      CAZAREZ-OLVERA               CO     90014998479
46851915655939   MANUELA      VALDEZ                       CA     90008589156
46852358551334   SHAYNA       BEDEL                        OH     90010323585
46852456161967   LUIS         BARRAGAN                     CA     90003114561
46855478651334   KEYNU        STRICKLAND                   OH     90014724786
46863117171999   SHANNON      AVILA                        CO     38058441171
46864755951334   IRIS         HUGHES                       OH     90013617559
46865117791569   TERESA       TRINH                        TX     90014241177
46865439991873   ROBIN        RICHARDSON                   OK     21088804399
46866795571999   DENELDA      CORDOVA                      CO     90013047955
46867835861924   WALTER       GOMEZ                        CA     90008408358
46868148391569   MARTIN       CENTENO                      TX     90004801483
46871261561963   HUGO         DE ALBA                      CA     90012082615
46871339277595   GARY         SMITH                        NV     90011583392
46872352161967   ELIZABETH    URRUTIA                      CA     90013833521
46872439991873   ROBIN        RICHARDSON                   OK     21088804399
46873664461967   BERNARDA     RODRIGUEZ                    CA     90009916644
46874439991873   ROBIN        RICHARDSON                   OK     21088804399
46875363891569   BERTHA       RIOS                         TX     75046523638
46875393661963   KEVIN        EWING                        CA     90004413936
46878825671999   YOVANNE      MENDOZA                      CO     90013048256
46879469591363   DORIENDA     JONES                        KS     29020864695
46884813293747   MALISSA      WATKINS                      OH     90001868132
46886364471999   RICHARD      MONTELONGO                   CO     90012403644
46887174261963   KEN          MACARAEG                     CA     90013611742
46888561661945   CHRISTIAN    VILLANUEVA                   CA     90010485616
46889139271999   REBECA       BANUELOS                     CO     38066341392
46891141761967   JOHNNY       PHILAVONG                    CA     90012431417
46892789391569   MENDOZA      GRACIELA                     TX     75089517893
46893644771999   ADAN         VALENTIN                     CO     90001326447
46893884922476   ESPERANZA    VASQUEZ                      IL     90013428849
46896216661963   AL           PISELLI                      CA     46069172166
46899423771999   IAN          ANDERSON                     CO     90013734237
46912543291569   ALEJANDRA    CHAVEZ                       TX     90013705432
46913415191569   ROBERT       MAESE                        TX     90009764151
46913478277595   IVAN         HERNANDEZ                    NV     90011584782
46914356381639   YOLANDA      REYES                        MO     90003463563
46914636791569   VIANNEY      HERNANDEZ                    TX     90013926367
46915357555939   CAROLINA     TOVAR                        CA     49005583575
46915363191569   BRISA        BRISENO                      TX     90013303631
46916529155939   CORNELIO     VIRAMONTES                   CA     49008325291
46926269191834   SERENA       ALLEN                        OK     90011652691
46929833555939   LAURIE       AINSWORTH                    CA     90010298335
46931897151334   ELIZABETH    COLE                         OH     66097378971
46932889661963   LISAELENA    ASTUDILLO                    CA     90012898896
46938782261963   CHONA        MOSER                        CA     90013627822
46939114151334   ALEASHA      MICHELLE                     OH     90014681141
46945661191569   MELISSA      ALANIZ                       TX     90013066611
46946167554121   ELIZABETH    SHERMAN                      OR     90012501675
46946261661967   CYNTHIA      LOPEZ                        CA     90000692616
46948724961963   MARIA        CHAVEZ                       CA     90005997249
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46951514577595   PEDRO             ALCARAZ                 NV     43045815145
46952191861967   JADWIGA           WLOCZEWSKI              CA     90000721918
46952397491569   BOBBY             MORALES                 TX     75047813974
46953116361967   CARLOS            HERNANDEZ               CA     90010671163
46953191291569   CASTANEDA         TERRESA                 TX     75029881912
46955362471999   CHRISTOPHER       VALDEZ                  CO     90013073624
46955754961963   RAYLENE ANNETTE   COBB                    CA     90013277549
46956133161967   RAFAEL            GOMEZ                   CA     90013591331
46956999361967   NOE               GOMEZ                   CA     90011429993
46957332661963   GLENN             COUSINS                 CA     90013353326
46957868361967   NOEMI             O BRYANT                CA     90014578683
46957968191873   TIMOTHY           JOHNSON                 OK     21026829681
46959121891569   ALFREDO           HERNANDEZ               TX     90012531218
46959746551334   THOMAS            ABNEY                   OH     66099447465
46962945191873   WILLIAM           KOZIK                   OK     90006239451
46963183761963   RAY W             EVERETT SR              CA     90011391837
46964772171999   RICHARD           TRUJILLO                CO     38076707721
46968965161967   JESSICA           RODRIGUEZ               CA     90013329651
46969563251334   CARRIE            MOORE                   OH     90001965632
46971254791549   CHRISTOPHER       THOMAS                  TX     90004132547
46972984136148   DOMINIQUE         NUELLS                  TX     90009829841
46973367361967   PAPRICIO          APRICIO                 CA     90004043673
46973551671999   ANISHA            LUCERO                  CO     90000255516
46975773291569   CHRISTOPHER       WOOD                    TX     90013137732
46976199261967   SANTOS            MERCADO                 CA     46040791992
46976536991873   STEVEN            YORK                    OK     21096425369
46977632871931   JANEL             AMELLA                  CO     90011286328
46982433361963   ALMA              VALADEZ                 CA     46065484333
46982919251334   ASHLEY            GREENE                  OH     90015179192
46982973491569   GABRIEL           JASSO                   TX     90012639734
46985766361967   JEREMY            SMITH                   CA     90012207663
46988598461963   CHANTE            BROOKINS                CA     90008775984
46991657457124   NELSON            MOLINA                  VA     90008676574
46992246291394   KELSEY            KIMBLE                  KS     90007072462
46996578281639   CRYSTAL           BEDWELL                 MO     29017625782
47112485851326   TRAVIS            SHACKELFORD             OH     90011884858
47113714861967   RONALD            WOMACK                  CA     90013627148
47115548191569   DANIEL            PUEBLA                  TX     90010385481
47117519891394   RAHA              HOSAINZADA              KS     90009545198
47117795561963   HAROLD            COLLIER                 CA     90010277955
47119659491569   VICKY             SANCHEZ                 TX     75051986594
47125996491569   SAILE             RODRIGUES               TX     90012919964
47127491191988   MECHELLE          MCKAY                   NC     90003904911
47127584651334   YUNIQUE           THOMAS                  OH     90011565846
47128597455939   GISELLE           VENEGAS                 CA     49098735974
47128823391569   MARIA             SAUCEDO                 TX     75036648233
47131992455966   BEN               MEDINA                  CA     90011499924
47137525461966   KELLY             RAMIREZ                 CA     90014735254
47137599191569   JUAN              BLANCO                  TX     90013825991
47138451555966   NICK              BABASOUCO               CA     90009284515
47138499171999   WENDY             KOCH                    CO     90012494991
47139863955939   JESSE             OSORNIO                 CA     90014868639
47141188991569   REYNALDO          VALDEZ                  TX     90011291889
47143149855966   CECILIA           ROMERO                  CA     90010961498
47144271991394   JOSE              VILLANUEVA-MENDEZ       KS     90014542719
47145743561967   CYNTIA            CARDONA                 CA     90004277435
47146914655939   GARY              GONZALEZ                CA     49047439146
47148613761967   JUANA             BURCIAGA                CA     90010596137
47149494191394   TERRY             LEMUS                   KS     29076314941
47151944191873   KATHRYN           FLORA                   OK     21039579441
47151965361967   KARLA             HAYES                   CA     90012949653
47153862155933   RUTH              HERRERA                 CA     90014618621
47155396761967   CORAL             SUMMERVILLE             CA     90014113967
47156597661963   LAKISHA           CANADY                  CA     90013205976
47156798355966   OLGA              CASTRO                  CA     90014617983
47159499361967   JOE               DURAN                   CA     90004264993
47163259351334   TIFFANY           FENTON                  KY     90007422593
47163968441287   ROBERT            YINGLING                PA     90009009684
47164723555966   CONRADO           RODRIGUEZ               CA     49056407235
47165831955966   GINA              TAYLOR                  CA     49093878319
47166417761967   ROSARIO           AVINA                   CA     90013004177
47167237284322   DONNA             DUCKWORTH               SC     90010382372
47167485951334   DOUG              LEMASTER                OH     66094884859
47175418891394   JUAN              RAMOS                   KS     90011714188
47176177861963   ROBERT            BABAUTA                 CA     90013901778
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47176435661963   TRAVIS                 DURBIN             CA     90012754356
47183553855939   REED                   SIMPSON            CA     49039805538
47184661955966   OBDULIA                ARZOLA             CA     90005196619
47186486691394   SHAWNDRA               BANKS              KS     90005034866
47186984951334   DERICK                 WILKERSON          OH     66000019849
47187662251334   GAMEL                  MUSAH              OH     66057116622
47188942461963   ALEX                   FLORES             CA     46092549424
47189287291988   ALEXANDER              BOANOS             NC     90006432872
47189621951334   LYNN                   SAUCEDA            OH     90000816219
47189892271999   JOHN                   MARTINEZ           CO     90007808922
47193283755939   FRANSISCO JR ERNESTO   VALEZ              CA     90005342837
47196273255966   ADELINA                LUNA               CA     90013622732
47196878593755   DANNY                  BANTZ              OH     64511868785
47211824771999   BERLINDA               BOBIAN             CO     90014888247
47212686451334   EARL                   FOWER              OH     66045546864
47212984155966   MOISES                 SANCHEZ            CA     90014899841
47214596691982   TONNELL                LLOYD              NC     90004415966
47214625455966   JOBANY                 HERNANDEZ          CA     90013436254
47216443855966   TALINA                 ALVARDO            CA     90013344438
47218518941265   BARBARA                GILES              PA     90005605189
47218665791394   SHASHANA               OBERIE             KS     90012256657
47219763871996   WILLIAM                HEISING            CO     32057217638
47221359661963   GLENDOR                VEASEY             CA     46012043596
47221982191394   BOB                    REYES              KS     90008119821
47222478671999   CRYSTAL                WETZ               CO     38051334786
47223745347954   ANGEL                  GUADARRAMA         AR     25015857453
47224222771999   JEANETTE               ENGLISH            CO     90008912227
47224458255966   TIM                    SPRAGUE            CA     90000164582
47225985357126   NORMA                  HERNANDEZ          VA     90005749853
47226958491945   TIFFANY                HARRIS             NC     90004389584
47229571255966   DUBLAS IRAEL           BONILLA            CA     90006895712
47229875955939   NIKKI                  ROSE               CA     49049438759
47234878247954   KATHY                  BERTSCHY           AR     25009188782
47235944151334   CRISPIN                GONZALEZ           OH     90005819441
47238236561967   CLAUDIA                GARCIA             CA     46042182365
47239951357149   CINDY PATRICIA         ZELAYA             VA     90011609513
47241436871999   MONICA                 CASTILLO           CO     90012734368
47242258891873   MATT                   BERTWELL           OK     21040702588
47244858355997   BRIAN                  CARROLL            CA     49077518583
47244922591873   LANDON                 CARDWELL           OK     21074839225
47245654986443   TYQUONA                NESBITT            SC     90014566549
47246168157124   FLABIO                 CADIMA CASTRO      VA     81056421681
47247986791394   KATIE                  HARWICK            KS     90005629867
47249888371999   ANTHONY                VIGIL              CO     90013858883
47251246161927   RUBEN                  HOLGUIN            CA     90000302461
47252237151334   PEGGY                  BAKER              OH     66008672371
47253496391569   LARRY                  TORLA              TX     90000234963
47254634555966   ELISA                  HERNANDEZ          CA     90009146345
47254857671999   AIOTEST1               DONOTTOUCH         CO     90015128576
47255857671999   AIOTEST1               DONOTTOUCH         CO     90015128576
47256858371999   AIOTEST1               DONOTTOUCH         CO     90015128583
47257456291569   MARIANA                DURAN              TX     90013624562
47259427771999   GUILLERMO              JAIMES             CO     90010054277
47261673961963   JULIA                  WOOCK              CA     90003506739
47263865491569   ROGELIO                BARBOSA            TX     90009538654
47264242861967   ANDREIA                SOUSA              CA     90014942428
47265867551334   YSIDRO                 MEZA-RUIZ          OH     90015008675
47266196755939   SHALONDRA              CHATMON            CA     90009431967
47266539771999   KODDI                  ENGLERIGE          CO     90011055397
47267922761967   MAUREEN                LANADA             CA     90013659227
47268811641241   DIANE M                KACSUTA            PA     51003628116
47269467371931   SONJA                  LAMPERT            CO     32020114673
47269936957148   YUSSIF                 ALHASSAN           VA     90006299369
47269998391569   ROSA                   RIOS               TX     90002009983
47272277271999   JENNIFER               JAQUES             CO     38065332772
47273585955966   RIGOBERTO              HERRERA            CA     90004105859
47276744355928   RENE                   SALAS              CA     90001637443
47277736171999   MONICA                 DURAN              CO     38006167361
47278726391569   MELISSA                MACIAS             TX     90013227263
47283699491569   RICH                   PONCE              TX     90000636994
47283875861963   JOSUE                  GOROILLO           CA     46042048758
47284485761963   ERNESTO                PAYAN              CA     90008084857
47284598155966   JOSE                   BANUELOS           CA     90013405981
47285923891394   VICROR                 PATRICIO           KS     90013099238
47286143655939   KATHLEEN               HANCOCK            CA     90012101436
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47286287671999   MELISSA      LORENZO                      CO     90011182876
47286622161963   DWAYNE       HOSEY                        CA     90009186221
47287473341229   JUDITH       YUHAS                        PA     90005044733
47289923891394   VICROR       PATRICIO                     KS     90013099238
47291111971999   JENNIFER     MYERS                        CO     90006831119
47291578291873   ALICIA       HANEY                        OK     21040175782
47291993251334   EMILIO       LOPEZ                        OH     90011839932
47295553851334   RHIANNON     BECKETT                      OH     90003965538
47295588855939   MARTHA       ALVAREZ                      CA     90008295888
47296164351334   SARAH        RAMSEY                       OH     90011521643
47296598155966   JOSE         BANUELOS                     CA     90013405981
47298178761963   TYLER        BUSBY                        CA     90012771787
47298854991394   NICOLE       HANEY                        KS     29009738549
47311838861967   RAFAEL       PLASCENCIA                   CA     90013148388
47312684455966   GREGORY      RODRIGUEZ                    CA     90012316844
47313673755939   MICHELLE     HERNANDEZ                    CA     90010336737
47315485891569   EDUARDO      LOYA                         TX     90014114858
47316476361967   CLAUDIA      DIAZ                         CA     90013974763
47316731255966   ROSAURA      GARZA                        CA     90014977312
47318133857124   REBECCA      DONNELL                      VA     81056201338
47318769961963   SAMANTHA     CASARRUBIAS                  CA     46023787699
47319195255966   GILBERTO     VENEGAS                      CA     90013791952
47319297455939   KAREN        RIOS                         CA     90011612974
47321212151334   LAWRENCE     GREENE                       OH     66073092121
47321369171999   AIDE         RIVERA                       CO     38077303691
47322824355939   RUDY         SILLER                       CA     49006678243
47323275555939   LISA         FARMER                       CA     49076042755
47323791384369   JAMILIA      JACKSON                      SC     90010107913
47331446771999   MELANIE      MARTINEZ                     CO     38078954467
47334833291988   INDIA        MACK                         NC     90005728332
47335627251334   MICHAEL      FORTUNA                      OH     90009216272
47336396755939   ARTHUR       FLORES                       CA     90015173967
47337437461967   MICHAEL      JACKSON                      CA     46044314374
47338447857149   KENNY        ANDRADE                      VA     90011654478
47339272661967   BARBARA      PURNELL                      CA     46004582726
47341257761963   DORA         TORRES                       CA     46037812577
47342858371999   AIOTEST1     DONOTTOUCH                   CO     90015128583
47343858361967   KRISTEN      ORONA                        CA     46084428583
47344392755966   PATRICIA     REYES                        CA     90012313927
47344851455939   MARIBEL      CARILLO                      CA     90003988514
47349586571999   LILLIAN      ROGERS                       CO     38089875865
47351254851334   GT           MONTANA                      OH     90008452548
47351928155966   VERO         ZAMORA                       CA     90002959281
47355182761967   LEONORILDA   CRUZ                         CA     90008611827
47356131491873   DONALD       SMITH                        OK     21062191314
47356837455939   JOHN         DOE                          CA     90015288374
47358753171999   DANIELLE     ANSELMO                      CO     90012927531
47358984191988   TERRA        MCGHEE                       NC     17013399841
47361979191873   GENARO       SALAS                        OK     90005699791
47365658755966   MARGARITA    HERRERA                      CA     90007056587
47368327761967   MELISSA      BORGNER                      CA     46019783277
47368799355939   LORENA       MOTA                         CA     90002747993
47372588851334   HEATHER      SALZ                         OH     66006565888
47374493961963   NICEFORO     ZUNIGA                       CA     46035044939
47374979171999   MONYCA       GURANT                       CO     38010759791
47376236491394   MARLON       BANDO                        KS     29050422364
47376889755939   DIANA        MARTINEZ                     CA     49060228897
47377262591569   NATALIE      RODRIGUEZ                    TX     75054992625
47379175851334   GENE         STATZER                      OH     66020531758
47379256561967   JOHN         MILLER WILKINS               CA     90013152565
47379568255939   JUAN JOSE    NAVARRO MARCILLAS            CA     90009035682
47379912871999   PAUL         TRUJILLO                     CO     90012849128
47382741971999   SHANE        EACKER                       CO     90014857419
47389858671999   AIOTEST1     DONOTTOUCH                   CO     90015128586
47391787255939   ISABEL       DOMINGUEZ                    CA     90000367872
47393355191394   SELENA       MALDONADA                    KS     90013133551
47393478661967   JACQUELIN    DEESE                        CA     90014274786
47393864155939   BETTY        MIDDLETON                    CA     90008198641
47394242161967   SANDRA       DEL CAMPO                    CA     46017862421
47394464291394   STEVEN       WARREN                       KS     90008504642
47398619771999   GREG         CARBAJAL                     CO     90014186197
47412764955966   MARIA        JIMENEZ                      CA     90008107649
47414363951338   CHRISTINA    ROGERS                       OH     90005793639
47415641791395   LORNA        JARRETT                      KS     90014666417
47416211655966   RODOLFO      VASQUEZ                      CA     90014532116
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47416576691394   JERARDO      SANTOS                       KS     90006385766
47416618161967   DARYL        MAGNUSON                     CA     90005296181
47417247861967   CINDIA       NUNEZ                        CA     90013042478
47421126971999   LUCAS        GAMMA                        CO     38084121269
47421577291873   RAE          FOLKERTS                     OK     90001785772
47423544761963   LANCE        DENESH                       CA     46008975447
47424898361967   RAYNE        R                            CA     90008628983
47426922961927   DIANA        AVILA                        CA     90009209229
47427338271999   ASHLEY       ADRIAN                       CO     90012663382
47427339461963   GRISELDA     CAZARES                      CA     90002653394
47427844561955   MARIA        CHAVEZ                       CA     90012538445
47428427551334   CAROLYN      ANDREWS                      OH     90014724275
47428545161963   BRIAN        POWERS                       CA     90014325451
47428761571999   HERACLIO     AYUNGUA                      CO     90002497615
47429791151334   CYNTHIA      NELSON                       OH     66051357911
47431774491394   THERESA      LONG                         KS     90013027744
47432456691394   TINA         HESTAND                      KS     90006794566
47432664655966   JORGE        CHACON                       CA     90008486646
47432858671999   AIOTEST1     DONOTTOUCH                   CO     90015128586
47433471561967   EDGAR        CASTRO                       CA     90009314715
47433767255966   MICHAEL      CASTANEDA                    CA     90013637672
47435652851334   DEBORAH      JONES                        OH     90004226528
47436334761967   FELIPE       ESPINDOLA                    CA     46081393347
47437318755966   JOSE         AVILA-ARGUELLO               CA     49014223187
47439176351334   LATEEFAH     RAGLAND                      OH     90008511763
47439176955939   MARIA        CRUZ                         CA     90013521769
47445712861963   MARK         STENZEL                      CA     90012687128
47445858971999   AIOTEST1     DONOTTOUCH                   CO     90015128589
47448932351334   CHRISTY      CARTER                       OH     90012849323
47452883355966   CODEY        SPRADLEY                     CA     90009498833
47453277361963   DANIEL       MILLS                        CA     90014362773
47454616491569   MONTALVO     MARIA                        TX     75017386164
47454858971999   AIOTEST1     DONOTTOUCH                   CO     90015128589
47455724654191   GABRIAL      ASHWORTH                     OR     90005827246
47457272455966   ANAHI        MENDOZA                      CA     90012852724
47457784951334   TOLLIVER     MICHAEL                      OH     90013767849
47458166471999   ADONIJAH     VIGIL                        CO     90006601664
47458558777535   LUCERO       ACOSTA                       NV     90012955587
47459449355966   LUV          LOPEZ                        CA     90008764493
47462281855966   SHAYLEEN     BRAND                        CA     49006202818
47465672161963   JOSE LUIS    MICHEL                       CA     90013546721
47466342591569   CECI         GONZALEZ                     TX     90011033425
47466859371999   AIOTEST1     DONOTTOUCH                   CO     90015128593
47467254891569   JESSICA      BARAJAS                      TX     90012952548
47467447591959   NAJJUWAH     WALDEN                       NC     90001544475
47468874291569   MELISSA      SOLIZ                        TX     75016648742
47469717761963   MIGUEL       MARTINEZ                     CA     46028847177
47471742255939   JESSIE       VEGA                         CA     90014467422
47471968991569   EDUARDO      ESTRADA                      TX     75006369689
47472924161963   BLANCA       RODRIGUEZ                    CA     90013329241
47473767255966   MICHAEL      CASTANEDA                    CA     90013637672
47476447257124   SANDRA       BAUTISTA                     VA     90012604472
47478958555966   SUMMER       BROWN                        CA     90013529585
47479643791394   MICHAEL      MAROON                       KS     90010626437
47481392591394   CHARLE       DEAN                         KS     90006613925
47482554747954   DANIEL       ROGERS                       AR     25043005547
47484892255966   DAVID        MAGANA                       CA     90015298922
47485975391988   LINDA        HUNT                         NC     90003049753
47486413261967   ERIKA        TAYLOR                       CA     46017374132
47486567891569   ROCIO        GARCIA                       TX     90000235678
47489289561963   MICHAEL      FULGRAM                      CA     90011432895
47491275291873   BOBBY        ORTEGA                       OK     90005732752
47492142255966   CECILIA      VELARDE                      CA     90013351422
47492225551359   GREGORY      PHILPOT                      OH     90000132255
47492486591945   RENATA       RODRIGUES                    NC     90010244865
47493859555939   AGUILERA     JESSICA                      CA     90008458595
47494563651334   CARRIE       HEMBREE                      OH     90010635636
47495317171921   LISA         PATE                         CO     90012373171
47495892771999   MALENY       GONZALEZ                     CO     90012948927
47499589455966   CAROL        CEJA                         CA     90009265894
47499691361963   ANA ROSA     RAMIREZ DE TAPIA             CA     90013056913
47499756671999   SAMANTHA     TRUJILLO                     CO     90012917566
47499877291394   KARA         GARROUTTE                    KS     90015258772
47511749455966   JUAN         PEREZ                        CA     49069337494
47512152351597   SONORA       SMITH                        IA     90014571523
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47516192455966   VALENTINO     FALCON                      CA     90014991924
47518342591569   CECI          GONZALEZ                    TX     90011033425
47523996291569   JOSE          LOYA                        TX     90012139962
47524359861963   DARIO         MUNOZ                       CA     90014183598
47525712191569   JUANA         HERNANDEZ                   TX     75069007121
47527229351334   CAROLYN       RANDOLL                     OH     90013702293
47528311791569   DANIEL        HERNANDEZ                   TX     90006393117
47528741891394   VICTORIA      MARQUEZ                     KS     90015247418
47529721955966   RICARDO       GUZMAN                      CA     90013497219
47531311191873   TOMAS         PENA REYES                  OK     21050943111
47533113151334   MICHAELINA    LISSAL                      OH     90000471131
47533184171954   DAVID         MARTINEZ                    CO     38071761841
47534491291569   MARIA         MADRID                      TX     75011284912
47534729985939   AMANDA        CLEGG                       KY     90013747299
47535244391569   PATRICIA      CADENA                      TX     90006312443
47535929855939   CHRISTINE     NOETHER                     CA     49094899298
47536388455966   MARIO         TADEO                       CA     90006903884
47536685551334   SAMUEL        MONDOZA                     OH     90002766855
47539997955939   SIERRA        PALMANTIEL                  CA     90013299979
47541886361934   JUAN          AGUILAR RAMIREZ             CA     90010498863
47543567991959   JACQUELINE    BAKER                       NC     90013605679
47543653551334   SHARI         WINBUSH                     OH     90001336535
47543768261967   MICHAEL       TARICH                      CA     90014547682
47546859371999   AIOTEST1      DONOTTOUCH                  CO     90015128593
47547215261967   STAN          BELL                        CA     90008632152
47548585791569   JANET         SCHICK                      TX     75008175857
47549327155966   GERARDO       PADILLA                     CA     90003043271
47549563291569   MARTHA        VALENZUELA                  TX     90007965632
47551771751334   SHAWN         HERRON                      OH     66059707717
47553146655939   GLORIA        PEREZ                       CA     90012101466
47554487655939   BRENDELL      HURD                        CA     49012274876
47554842731482   SWEETASIA     THOMPSON                    MO     90013818427
47556528655966   DEISY         VALENCIA                    CA     90013585286
47556552691569   CLAUDIA       ALVAREZ                     TX     90005925526
47558891961963   MIGUEL        ROBLES                      CA     46064518919
47559379391569   GABRIEL       SERMENO                     NM     90000763793
47563156755966   DIANA         GARICIA                     CA     49000271567
47564312991569   G             ARTHUR                      TX     90015323129
47564783861967   ISMAEL        LOERA                       CA     90014917838
47564981251354   NEYONE        JOHNSON                     OH     90004569812
47566898151334   PAULA         UNROE                       OH     66046488981
47568272791988   JULIA         ALSTON                      NC     17093672727
47568313651334   GEORGE        STEVENSON                   OH     66062913136
47569184855966   MARY          FUENTES                     CA     90010411848
47569324391988   LUIS          OLIVERA                     NC     17093673243
47572354171999   DAVINE        R RAMIREZ                   CO     90005413541
47573947161963   IVONNE        LINOS                       CA     46003579471
47574613491394   JORGE         RAMIREZ                     KS     90012426134
47574862491569   GUIRMO        LOPEZ                       TX     75037238624
47581747855966   LONNIE RUDY   MARTINEZ                    CA     90014977478
47581882591394   BRITTANY      COLBERT                     KS     29096898825
47582157991394   IESHA         TOMLINSON                   KS     90014021579
47585941155966   GONZALO       MAYA                        CA     49083149411
47587434784342   JESSICA       RUSHING                     SC     90013904347
47587624691873   JACQULINE     PARKER                      OK     21041346246
47587836861933   MIGUEL        RODRIGUEZ                   CA     46061688368
47587853791342   DUSTIN        BALDWIN                     KS     29089398537
47588486251597   SANDRA        CORTEZ                      IA     90009524862
47588671261967   JOSE          TORRES                      CA     90014216712
47592126891394   SIXTA         ARCINIEGA                   KS     90015081268
47595261391394   ANNE          HUNT                        KS     90014942613
47596618861963   ALFONSO       SCHARFF                     CA     46085816188
47599454361963   ALFONSO       HERNANDEZ                   CA     90011784543
47611635171999   ADRIANA       CHAVEZ                      CO     38061196351
47614285461963   ERNESTO       PULIDO                      CA     90015402854
47615447391547   DORA          MUNOZ                       TX     90001644473
47615953555939   ROSARIO       RODRIGUEZ                   CA     49080939535
47618119161967   JUAN          RAMIREZ                     CA     46035921191
47622545655966   JESUS         HIPOLITO                    CA     90014565456
47622993755999   GABRIELA      MENDEZ                      CA     90009959937
47623776291569   PRISCILLA     MICHELLETTI                 TX     90012927762
47624486551334   BEVERLY       SPURLOCK                    OH     90006584865
47624973155939   MARCOS        RAMIREZ                     CA     90011499731
47626811855939   GUILLERMO     VILLEGAS                    CA     90002158118
47633256293797   COREY         HESTER                      OH     90011682562
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47633552851336   LAMAR         BERRY                       OH     90001135528
47636417551334   JENNIFER      APPLEGATE                   OH     66079514175
47638762161963   NOE           CORREIA                     CA     46090717621
47639147991569   CRYSTAL       CRUZ                        TX     90015451479
47639881455939   MARIA         MORALES                     CA     49087488814
47641595191569   OSCAR         GARCIA                      TX     90014915951
47641768261967   MICHAEL       TARICH                      CA     90014547682
47642524955939   ADRIANA       DURAN                       CA     90015475249
47643721184336   PATTY K       KNAGGS                      SC     90004827211
47643966161963   ELOY          MEDINA                      CA     90013649661
47644526391524   GABRIELA      RUIZ                        TX     90011245263
47645536191523   ROBERTO       ROCHA                       TX     75075255361
47646377491569   JOSE          MARTELL                     TX     75087673774
47649232771999   STEPHEN       GARCIA                      CO     90005342327
47649415951334   JEAN          BISHOP                      OH     90002314159
47651415991569   CLAUDIA       MARTINEZ                    TX     90011034159
47652494585964   HUGO          QUIROZ                      KY     90006604945
47652635361967   SUSANA        RIOS                        CA     46017426353
47653256755966   MARIA         GUZMAN                      CA     49085572567
47654333255939   FRED          HEIZAM III                  CA     90005113332
47655782451334   LEODAN        MARTINEZ                    OH     90005467824
47657948361967   LEZLEY        GREEN                       CA     46086399483
47658138555966   MARIA         RAMIREZ                     CA     90014401385
47659918491569   ARMANDO       ELIAS                       TX     90009369184
47659951461963   BERTA         HERRERA                     CA     90014189514
47661566761995   JOSE LUIS     EZPARZA                     CA     90010765667
47661872455939   MARCOS TONY   ALEMAN                      CA     90010288724
47663539161963   ANTHONY       DIGIOVANNI                  CA     90014405391
47664255371999   EGAR          DARDEN JR                   CO     90010942553
47665196391549   TED           STRETMOYER                  TX     75089741963
47665295771999   AUDREY        HUTTON                      CO     90009392957
47665324361963   ENRIQUE       NAVA                        CA     90014423243
47665855891394   EARL          MARSHALL                    KS     90009568558
47667468961967   SHANA         JAMCHI                      CA     90015134689
47668759293734   PAUL          AMEND                       OH     90008117592
47669729391569   DIANA         URENA                       TX     75039127293
47674381455966   LIBBY         RIVERA                      CA     49054173814
47677895155966   ALFREDO       GARCIA HERNANDEZ            CA     90012918951
47681972491394   CAROLINA      PEREZ                       KS     90014359724
47682267755966   FREDERICK     BARTLETT                    CA     90014962677
47683419291569   ANTONIO       CHAVEZ                      TX     90011034192
47683745291394   MISAEL        SANCHEZ                     KS     90015187452
47684185591569   VERONICA      CALDERON                    TX     90013901855
47688381455966   LIBBY         RIVERA                      CA     49054173814
47688583991569   AARON         HARRIS                      TX     90008995839
47688969561967   FRANCISCO     GUZMAN                      CA     90011169695
47689428791569   ARACELI       HERNANDEZ                   TX     75058324287
47691232591569   TONY          PORTILLO                    TX     90008332325
47692216161963   HUSSAIN       HUSSAIN                     CA     90001512161
47695134991394   ADRIENNE      PRICE                       KS     29034491349
47695689591394   JORGE         SANCHEZ-PEREZ               KS     90003166895
47695814761963   ABIGAIL       VILLARREAL                  CA     90007998147
47697536491988   CYNTHIA       LILES                       NC     17017605364
47698369871921   ROBERT        ROMERO                      CO     90009423698
47699122991394   RAQUEL        DELGADO                     KS     29074551229
47699777255939   KATIE         HERRERA                     CA     90011017772
47699976155939   KATIE         HERRERA                     CA     90012279761
47711217593755   ROGER         THOMPSON                    OH     90004312175
47712576391988   REBECA        FLORES                      NC     90007695763
47712839655939   SHIRLA        KEEN                        CA     90014178396
47713894222463   BEN           WINANDY                     IL     90002208942
47714949371999   CAROL         HANNA                       CO     90013609493
47717429654191   MISENGA       MAKAMBO                     OR     47077924296
47718986791394   KATIE         HARWICK                     KS     90005629867
47726936555966   MARCELA       DOMINGUEZ                   CA     49048539365
47727436541241   ALAN          MUSKA                       PA     51095234365
47727634951334   CYNTHIA       MCDANIEL                    KY     66095076349
47727913891394   MARIA         CAZARES                     KS     90001819138
47729377691394   ANDREW        CHARMLEY                    KS     90014473776
47729764757149   JANICE        GOODLOW                     VA     90001657647
47729858291569   LUIS          GIL                         TX     90010178582
47731738184386   JANETTE       COLANTONIO                  SC     19002637381
47733452191569   FATIMA        CEPEDA                      TX     75094864521
47733636155939   JOHN          YEM                         CA     49018596361
47733636971999   JESSICA       GARCIA                      CO     90014366369
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47733981151334   FRAN          TORIBIO                     OH     90014769811
47734135157148   HELEN         ARGUETA                     VA     81098841351
47734162591394   RACHEL        GUERRA                      KS     90015291625
47734396455939   FERNADO       VASQUEZ                     CA     90012353964
47734464861967   MARIA         MCCLISH                     CA     90015324648
47735199151334   KEN           MERIDITH                    OH     90003501991
47735291961963   ASHLEY        PARTON                      CA     90012412919
47736165761963   ELDA          CORTEZ                      CA     90002781657
47736951355939   SAY           PHASAKDA                    CA     90015189513
47737334855966   GENOBEBA      VALENZUELA                  CA     90013073348
47739471771999   DAVID         MADRID                      CO     38094254717
47742378491988   MAURO         JERONIMO                    NC     90011373784
47743814251555   MARIA         VARGAS                      IA     90013898142
47745455355966   CARLOS        RABAGO LOPEZ                CA     49070964553
47749291991873   JOHN          PRINGLE                     OK     21093142919
47753126455939   ALEJANDRA     SAHAGUN                     CA     90015181264
47755536861967   LARRY         SMITH                       CA     90015145368
47756114747828   RANDY         LEWIS                       GA     90011091147
47756788747828   RANDY         LEWIS                       GA     90008307887
47758111351359   JAN           DENTON                      OH     90007241113
47758329655966   DAVID         JARAMAILLO                  CA     90010753296
47759996171999   ROSEANNE      MARTINEZ                    CO     38040579961
47761492761963   CINDY         VILLAFANE                   CA     46019314927
47762599571999   JATZIRI       JARACUARO                   CO     90011725995
47763471355939   DANIEL        CASTILLO ALVAREZ            CA     49037164713
47766558991869   BETTINA       HILTON                      OK     90005725589
47766892461963   ROBERTO       ACOSTA                      CA     90010258924
47766965991569   DANNY         QUINTAN                     TX     75086759659
47767191655939   BILLY         SANDERS                     CA     90009851916
47767451191569   ANTONIO       MORIEL                      TX     75058434511
47771898461967   LORETO        FRANCISCO                   CA     46021188984
47772125861938   RAMON         QUINONEZ                    CA     90005781258
47773546561967   SAMANTHA      LUANGVISETH                 CA     46072525465
47773758551334   DANE          BRUCE                       OH     66037777585
47775199251336   KAMICA        JOHNSON                     OH     90004561992
47775391251334   EMMANUEL      ASEM                        OH     90009153912
47776163291569   ISABEL        GONZALEZ                    TX     75008321632
47776267755966   FREDERICK     BARTLETT                    CA     90014962677
47776579791988   LELISHA       COX                         NC     17050905797
47777866655929   JON           PIATT                       CA     90001848666
47779815991881   JIMMY         MCCASLIN                    OK     90011208159
47783425433695   JOSEPHINE     WILLIAMS                    NC     90011534254
47783631391569   THOMAS        DOOLAN                      TX     90011106313
47784245791569   JOE           LASSICH                     TX     90013702457
47784657971999   FELICIA       SACCOMANNO                  CO     90012886579
47784792755966   SONIA SOFIA   GONZALEZ                    CA     90002757927
47785478661967   JACQUELIN     DEESE                       CA     90014274786
47786372433695   TIFFANY       BRICKLEY                    NC     90009073724
47788122791569   CHELSEA       HARP                        TX     75014951227
47788229161967   BEATRIZ       ARRIOLA                     CA     46042272291
47789298355966   DORAIN        BRAND                       CA     90014812983
47791481571999   DIEGO         MARQUEZ                     CO     90014424815
47791847291394   JAVIER        SANCHEZ                     KS     29077618472
47791978355939   JESUS         TORRES                      CA     90013349783
47792624661963   VALERIO       NARANJO                     CA     46091936246
47792969561967   FRANCISCO     GUZMAN                      CA     90011169695
47794143151334   JACKIE        WHITEHEAD                   OH     90007291431
47795421561967   LATRICIA      PRICE                       CA     90008384215
47795582791569   TONY          MORALES                     NM     75084335827
47796632455966   ROBERT        FELIX                       CA     90014736324
47799838761967   JACINTO       LUNA                        CA     90008648387
47811223655939   ROCKY         NICHOLAS GONZALEZ           CA     90004752236
47811712273264   RIGOBERTO     GUERRERO                    NJ     90015387122
47811849391873   HOLLY         MASON                       OK     21050238493
47812277771999   SELENA        KELLY                       CO     90013482777
47813726291569   FERNANDO      CAMACHO                     TX     75027317262
47814676451334   MARV          BONNER                      OH     90013536764
47822212551334   RANDY         BROWN                       OH     90013622125
47822816655939   SAGE          ZENT                        CA     90013158166
47824768171999   JEFF          MADISON                     CO     90014367681
47826186255966   GENARO        ESCALANTE                   CA     49002301862
47827656361994   FLOREDA       MARY                        CA     90001306563
47827818391569   RAY           GOMEZ                       TX     90015598183
47831276561967   SONIA         PASILLAS                    CA     46055342765
47834426855933   ELIJAH        AMMI                        CA     90006044268
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47842495455966   MARIN          HERNANDEZ                  CA     90010754954
47843334747828   APRIL          COUTTE                     GA     90001453347
47843521591873   DAVID          PALINSKEE                  OK     90008195215
47843553591988   LONNIE         HOLLOWAY                   NC     17017515535
47844384671999   MERCEDES       MARTINEZ                   CO     90005283846
47845742491569   JACOB          GOMEZ                      TX     90013767424
47846229691547   IRENE          ESCALANTE                  TX     75043532296
47846558951334   BONNIE         ROCKER                     OH     90013135589
47846643661967   GRACIELA       CALDERON                   CA     46001676436
47849265571999   AMBER          ROMERO                     CO     90014932655
47849344855966   EDUARDO        TIJERO                     CA     90014823448
47849878261967   ROSA           SALAZAR                    CA     90001348782
47852756355939   MELISSA        LOZA                       CA     90000847563
47855359191394   JOSE           GIRON                      KS     90015303591
47858381255966   BERNABE        GALINDO                    CA     90002273812
47858468471999   AZALEA         MARTINEZ                   CO     90010384684
47859634291926   BRADY          PRICE                      NC     90006046342
47861485941222   RAVEN          DUNCAN                     PA     90001364859
47863158161967   LADDAVANH      SOUKPASUETH                CA     46085951581
47864864471999   CASSANDRA      LUJAN                      CO     38004678644
47865738955966   SEBASTIANA     ACEVEDO                    CA     90012997389
47867559855966   ISIDRO         MARTINEZ                   CA     90011105598
47867563155939   STACEY         JACKSON                    CA     90013475631
47867972971999   KIRSTEN        RIES                       CO     90008199729
47868464691569   JENNIFER       CASTRELLON                 TX     90011034646
47868712655966   CHERI          PATTERSON, RN              CA     90013667126
47871548171999   CASSIE         GRADISAR                   CO     90013055481
47872254791569   HILDA          BADILLO                    TX     90012672547
47872284791569   JONES          ROY                        TX     90014612847
47872483461967   RAQUEL         RAMIREZ                    CA     90000864834
47874495861967   CHARISE        LAMPERELLI                 CA     46010734958
47874511691394   PATRICIA       KELSEY                     KS     29085465116
47875152771999   COLTON         MCGARVY                    CO     90012471527
47877116555966   YOLANDA        GARCIA                     CA     90013561165
47877642455939   ETHEL          JONES                      CA     90014356424
47877881161963   CHRISTINA      HERNANDEZ                  CA     46018058811
47879524891569   MARLENE        NEGRETE                    TX     90013325248
47882127531621   ANGELA         CABRAL                     KS     90009541275
47882833655966   EDUARDO        LOPEZ                      CA     90005428336
47882981261967   JOSE           JUAREZ                     CA     90015329812
47885372961967   GLADYS         VELEZ                      CA     90007313729
47887397163639   JAMES          NICHOLS                    MO     27581203971
47887626155939   MICHELLE       MENA                       CA     90015156261
47887679257122   TRANCITO       FLORES                     VA     90003416792
47889191991569   AILED          TORRES                     TX     90013881919
47891144255966   HUGO           FERNANDEZ                  CA     90010461442
47891975233683   DAVID          LUCERO                     NC     90012469752
47892221271999   KEVIN          HERNANDEZ                  CO     90011152212
47892681791394   MIGUEL         GUZMAN                     MO     90007666817
47892856191873   TONYA          TACKETT                    OK     21064178561
47894949261967   EDUARDO        RUIZ                       CA     90011119492
47896551757149   JOSEPH         ASANTE                     VA     90012525517
47898692991394   JOHNELL        WILLIAMS                   KS     90013656929
47899385677535   MYNOR          MILIAL                     NV     90013253856
47899725871999   EMMILE         BUGARIN                    CO     38058957258
47915779531437   KENDRA         SCHNEIDER                  MO     27575967795
47917184691394   SALLY          QUINN                      KS     29080201846
47917311191873   MICKEY         HARDMAN                    OK     21058633111
47918559761967   STEVEN         PENA                       CA     90012355597
47919533891394   MIRANDA        CALDERA                    KS     90014485338
47921338851334   MESSINA        NORRIS                     OH     66072883388
47923453561967   BILLY          GOSS                       CA     46074664535
47925661855966   HUGO           VAZQUEZ MUNOZ              CA     90014696618
47926518571999   ANNE           CABELLO                    CO     38025335185
47926835261963   MANUEL         VALDEZ                     CA     90012908352
47928246451334   AMY            STANLEY                    OH     66012842464
47931757436148   RUBEN          GARZA                      TX     90000977574
47934395891394   VERONICA       DIAZ                       KS     90014893958
47934715761967   ELIZABETH CT   VILLARREAL                 CA     90011137157
47936451861967   OLIVIER        THOMPSON                   CA     46075784518
47936654891394   ROSA           MUNOZ-PADILLA              KS     90014176548
47937265571999   AMBER          ROMERO                     CO     90014932655
47938618291569   JOSEPH         FORBES                     TX     90012986182
47943451461967   VIRIDIANA      SALGADO                    CA     46069114514
47945893155939   MICHELLE       BALZER-DOUGLAS             CA     90012058931
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47946189851334   JOSEPH       ZIELONSKI                    OH     90000161898
47947272661967   SAUL         ACEVES JR                    CA     90001882726
47947272871999   MELISSA      BELTON                       CO     90007932728
47947771633653   SHARDA       LONG                         NC     90010637716
47949157755933   BERENICE     MENDOZA                      CA     90013911577
47949229161941   JESSICA      JOHNSON                      CA     46056222291
47953213255939   BRITTANY     MENDONCA                     CA     90012622132
47953314961963   JOSEPH       RODRIGUEZ                    CA     90000443149
47953369891394   SHERRON      GREEN                        KS     90000543698
47955991561925   GORGE        RESTO                        CA     46007859915
47958567891569   LUIS         LUCERO                       TX     90001685678
47959623171999   JOSE         CORDOVA                      CO     90003816231
47959917451334   JOSE         PEREZ                        OH     90012439174
47964329255939   JASON        TURNBULL                     CA     49013963292
47964429261925   ZINEB        FEHRI                        CA     90000854292
47965592191394   JASON        JONES                        KS     29015315921
47967166661963   ROY          CULLINS                      CA     46013841666
47968318655966   FREDDY       CERVANTES                    CA     49006323186
47968949491394   ELIZABETH    GETER                        KS     90008869494
47971878191569   JOHN         JACOBS                       TX     90012188781
47974755351334   ALEXANDER    BROWN                        OH     90011677553
47975418791873   OSVALDO      GONZALEZ                     AR     21088714187
47975556691569   JUAN         CARBAJAL                     TX     90000455566
47976273155939   MIGUEL       CONTRERAS                    CA     49062352731
47976483461967   RAQUEL       RAMIREZ                      CA     90000864834
47977434784342   JESSICA      RUSHING                      SC     90013904347
47977758841255   GEORGE       SHEARER                      PA     90003657588
47979168661963   DAVID        LOPEZ                        CA     90014741686
47981152461963   LUZ          CEDILLO                      CA     46055841524
47981319761963   JAMIE        GRADY                        CA     90013173197
47981548491569   VANESSA      TORRES PRIMERO               TX     90011035484
47981713255966   ALEJANDRA    HERNANDEZ                    CA     90014737132
47982511631448   KIETH        DOTSON                       MO     90008705116
47984542191569   JAIME        SEGOVIA                      TX     90007685421
47986432991569   HENRY        GARCIA                       TX     75011104329
47986626791394   PAMELA       WILSON                       KS     29050746267
47987247951334   CHRIS        GASTON                       OH     90015022479
47989643257126   VICTOR       LEZAMA                       VA     81046496432
47992497761963   BRANDON      CUMMINGS                     CA     90014514977
47992811855966   SYLVIA       CANO                         CA     90013798118
47992991791569   AMANDA       CASTILLO                     TX     90010659917
47997716555966   PRISCILLA    CABALLERO                    CA     90014737165
48113856291569   MOISES       LANDEROS                     TX     90011328562
48114229291988   LATANYA      LANGSTON                     NC     17011312292
48119961357133   ROSA LINA    GUTIERREZ                    VA     90011529613
48123927991956   CESAR        GALDAMEZ                     NC     90008519279
48124499771999   THERESA      PEREZ                        CO     38010504997
48125493191956   MARIO        KRUME                        NC     90005134931
48127556871999   ORLINDA      MARTINEZ                     CO     38045105568
48128963991569   LAURA        BURKS                        TX     75011289639
48129945571999   ELIZABETH    GARCIA                       CO     90015149455
48133989571946   NANCY        RODRIQUEZ                    CO     90012439895
48135348191988   RONALD       JOHNSON                      NC     90012483481
48136556577595   ALLAN        JACKSON                      NV     90000795565
48138141277554   MARIA        RIOS                         NV     43056901412
48141975751334   DORIS        LENOS                        OH     90002499757
48142585891873   CALYA        BUTLER                       OK     90004415858
48143153691394   KASEY        ROBINSON                     KS     90014791536
48143562471999   TAYLOR       DIONISIO                     CO     90013115624
48145129177595   ERIC         LAMBRIGHT                    NV     43028311291
48145297571999   CHALOTTE     SCHIERMEIER                  CO     90008302975
48148469597134   ELIJAH       CLAY                         OR     90001494695
48148641777595   FERNANDO     TORRES                       NV     90010116417
48149472391394   PAUL         BRAKE                        KS     29079794723
48152446661963   MARIA        ROBINSON                     CA     46028724466
48153656777595   AMANDA       LINARES                      NV     90010116567
48154657271999   TIERRA       CARNES                       CO     90013116572
48154869791569   ERICK        MORALES                      TX     90010698697
48155957236148   VIRGINIA     PENA                         TX     73566819572
48156368391569   BERNABE      REYES                        TX     90014723683
48156411291988   BERTA        DIAZ                         NC     90002644112
48159198177595   MARIA        LOPEZ                        NV     90002431981
48161633971999   JOHN         ARAGON                       CO     38059356339
48164398771999   RICK         CHAPPELL                     CO     90013123987
48165192891988   DELMA        WOODSON                      NC     90010631928
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48165241184336   OCTAVIO       PEREZ                       SC     90013052411
48166396871999   JESUS         ANGELMACIAS                 CO     90006233968
48167178961963   ROSA          MARTINEZ                    CA     90004511789
48167398771999   RICK          CHAPPELL                    CO     90013123987
48168358791988   LARRY         BROWN                       NC     90008363587
48169872351361   TANYA         WILLIAMS                    OH     90008518723
48171398771999   RICK          CHAPPELL                    CO     90013123987
48171928891988   JESSICA       LIVERMAN                    NC     90001319288
48173398771999   RICK          CHAPPELL                    CO     90013123987
48173519184336   KATHYLEEN     JACKSON                     SC     19092425191
48173636491394   VUNTAYA       JOHNSON                     MO     90008806364
48175247261963   DARLENE       HARRIS                      CA     90012662472
48176233458528   JOE           BROWN                       NY     90015512334
48176237191524   RITA          LOPEZ                       TX     90012392371
48176297191569   EMILIO        GUERRERO                    TX     90007502971
48184176991569   ARTURO        DIAZ                        TX     75014681769
48188268791873   TARA          HILL                        OK     21001462687
48188984357122   RILMA         ZENTENO                     VA     90005799843
48191513991394   JAMES JOHN    ALSOBROOK                   KS     29010655139
48191644291988   SANDRA        ATKINS                      NC     90004586442
48192736491569   JOSE          YANEZ                       TX     90002627364
48196268291988   OSHA          EDWARDS                     NC     90009182682
48196299861967   CYNTHIA       HOGGATT                     CA     46089142998
48196694371999   ANTHONY       HERNANDEZ                   CO     90014186943
48196923551334   ALICE         LAINHART                    OH     66077319235
48197121251334   KYLE          CANNON                      OH     66095231212
48197159891988   JACKQUELIN    HAMLETT                     NC     90005981598
48199215861541   MARIA         GOMEZ                       TN     90013672158
48214419491873   PAOLA         ALQUINO                     OK     21098524194
48216784691873   CHARLEY       WILSON                      OK     21098697846
48217842191988   TYONA         ROGERS                      NC     90014018421
48224247371999   IAN MICHAEL   RIVERA                      CO     90013132473
48226596591956   COREY         JACOBS                      NC     90003895965
48227785691569   PATRICIA      ROSALES                     TX     75031257856
48227922791956   JAQUELIN      RANGEL                      NC     90005139227
48228147691394   YADIRA        HERNANDEZ                   KS     90012851476
48228235461967   EEVERLINE     WHITE                       CA     90010912354
48228252291889   ROBERT        DAGENDESH                   OK     90012102522
48228489391569   RODOLFO       ZEPEDA                      TX     90011914893
48229252291889   ROBERT        DAGENDESH                   OK     90012102522
48231158984322   MATHEUS       MUNIZ                       SC     90010591589
48232536571999   ERNEST        HOLMQUST                    CO     90001665365
48232554458528   RICARDO       VARGAS                      NY     90015595544
48233168771999   CHERIE        ORTIZ                       CO     90007441687
48233296161967   EDUARDO       SANDOVAL                    CA     46094422961
48237666561963   JESUS         PEREZ                       CA     90014446665
48237694251334   CRYSTAL       YOUNG                       OH     66026966942
48241298971999   JESSICA       WEIN                        CO     38011152989
48242469597134   ELIJAH        CLAY                        OR     90001494695
48245556391873   ANTWAN        MONTE                       OK     90005015563
48246217861963   ROSA          MARTINEZ                    CA     90004512178
48247561491569   MARIA         CASTRO                      TX     75085695614
48247619191988   SHARNITA      SMITH                       NC     90012526191
48254761351555   SERGIO        RAUL                        IA     90014377613
48254924293767   JAMES         WILLIFORD                   OH     90011739242
48255964691569   RITA          MARMOLEJO                   TX     75029999646
48256382451344   ANNA          LOVELY                      OH     90002723824
48257639677595   JOSE          ZARARTE                     NV     90010836396
48261877251334   JOHN          HILLIARD                    OH     90010568772
48263848177595   ANA           MARTINEZ                    NV     43010358481
48264236171999   TIMOTHY       LEASQRE                     CO     90011352361
48265761861963   AMBER         CALDWELL                    CA     90012757618
48269686561967   KEILA         GARCIA                      CA     90004186865
48272958491956   TIREICO       RYALS                       NC     90004279584
48273843461963   AURIEL        SEARCIE                     CA     90012488434
48274475991873   TONI          TILLERSON                   OK     21076554759
48276417657129   NORMA         VANEGAS                     VA     90000274176
48278464591952   TUNISIA       COOPER                      NC     90002304645
48279784191988   JOSE          GUADALUPE                   NC     90013787841
48279868271999   ROSALIE       MAESTAS                     CO     90014188682
48281342691569   ALONDRA       PARRA                       TX     90012563426
48281914671999   KAYLA         MESTAS                      CO     90013739146
48283788191569   JOSE          SANTIBANEZ                  TX     75097867881
48284527191569   KEILA         TOVAR                       TX     75010465271
48284653671999   ALEJANDRO     MORAN                       CO     90008586536
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48287127471999   JOEY             ROLDAN                   CO     90013141274
48287279691988   SANTOS           ARROYO-ALEJANDRO         NC     90015012796
48287559971999   SIMON            PINO                     CO     90014215599
48287633791988   LUIS             MACARIO                  NC     90013656337
48289195591394   MAYRA            MORA                     KS     90002881955
48294135391523   WALKER           MAUNTEL                  TX     75057241353
48294694991569   VALERIE          ALVAREZ                  TX     90012236949
48297154291988   DANIELLE         HEADEN                   NC     90010661542
48297166561963   PATRICIA         TEJADA                   CA     90010861665
48299743591394   MISTY            FRANKLIN                 KS     90014807435
48311555961967   PAMELA           BISHOP                   CA     90015115559
48312522961995   JOSE             CASTANON                 CA     46056125229
48314313791394   REBECCA          JOLLY                    KS     29037873137
48316248661938   MAGDALENA        CABRERA                  CA     90013852486
48317442751367   DESIREE          MINCEY                   OH     90010614427
48318132491527   CARLOS           CORONA                   TX     90007431324
48318881477595   MARIA            MALDONADO                NV     90001528814
48319776391394   ISABEL           VALENTIN                 MO     90014807763
48322688651334   BRANDI           HANEY                    OH     66074236886
48324161491569   ALMA             RAMIREZ                  TX     90014421614
48324276891284   KATINA           HOWARD                   GA     90008522768
48325135861967   RAQUEL           CASTELLANOS              CA     90012871358
48327546136135   CHRIS            PIERCE                   TX     90013495461
48328157771999   MARIO            MARTINEZ                 CO     90010621577
48331653477595   LUIS             MOLINA                   NV     90004366534
48332756391559   ROLLAND          AVEDICION                TX     90005027563
48332987631449   KELLY            UGALDE                   MO     27563579876
48333243161963   YOSSI            SALDANA                  CA     90004512431
48333987886443   BRIAN            HUMPHRIES                SC     90015089878
48334742861963   PATRICIA         PERCY                    CA     90013627428
48335298491331   CHARLES          WELDON                   KS     90001662984
48337598371999   LONNIE           CHAVEZ JR                CO     90004095983
48337671191569   JAMIE            TORRES                   TX     75029706711
48338141691569   MARIBEL          ARRUNADA                 TX     75090301416
48339297658528   VICTORIA         PEREZ                    NY     90015552976
48342569884381   JAY              BOYER                    SC     90010985698
48343365561963   DAVID            LUQUIN                   CA     90013013655
48349417291956   MECO             WHITAKER                 NC     90001264172
48351725861963   ROSARIO          RODRIGUEZ                CA     46085837258
48351941251334   SELINA           WRIGHT                   OH     90010619412
48352643758528   NAKARIE          HEARD                    NY     90015516437
48352831161965   CARMEN           LUGO                     CA     90010858311
48352941791394   JOSE             MELENDES                 KS     29065009417
48353152851334   CRYSTAL          HAWKINS                  OH     66002911528
48357561591956   CHAUNTIA         GILCHRIST                NC     17082475615
48363767891394   MITSY            PICKENS                  KS     90014817678
48364525791569   OMAR             VELEZ                    TX     75018745257
48367399861963   MARY             HOSTON                   CA     90007653998
48371463871999   MARTINA          FALCON                   CO     90011454638
48372129561963   KELLY            ALPERS                   CA     46081221295
48372898591569   SOPHIA           DE LA GARZA              TX     90009648985
48374833885968   ERICA            BOND                     KY     67096298338
48374854471999   KEVIN            JIMINEZ                  CO     90006568544
48377341361963   JOSE             CARILLO                  CA     90009663413
48377828161994   JOSEPH           ROE                      CA     90009258281
48378828161994   JOSEPH           ROE                      CA     90009258281
48379788931491   BRETT            FLEIS                    MO     90008757889
48379975161967   EDUARDO          AYALA                    CA     90012839751
48383323861963   KENNETH          SWEET II                 CA     46015193238
48383869191394   JENNY            ORTIZ CHIGUIL            KS     90014818691
48386895691988   ERIC             COVINGTON                NC     90004218956
48386896891394   ADRION           WEST                     MO     90014848968
48392625761967   ALMA             ILDEFONSO                CA     90013936257
48394896661963   JEREMIAH         WILLIAMS                 CA     90000248966
48395994791943   SUAMYS YOVANNI   VELEZ MEJIA              NC     90007289947
48397884291988   ARMANDO          GUZMAN                   NC     90008388842
48413122471999   CRISTINA         MARROQUIN                CO     90003981224
48417483261945   BRIAN            JONES                    CA     90001774832
48418318271999   SARA             ANTONIO                  CO     90002653182
48418542891988   WENDI            WILLIAMS                 NC     90010935428
48419717171999   MICHELLE         PEREZ                    CO     90015057171
48421312891988   DANIELLE         HEADEN                   NC     90010663128
48421868191394   MARIA            CALDERA                  KS     29073618681
48423128791569   PABLO            PAREDES                  TX     90012901287
48424813761963   ROZELLE          GROFF                    CA     90010988137
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48427743851334   TANEESHA       THOMAS                     OH     90011347438
48428278661966   JOSE ANGEL     RAMIREZ                    CA     90012752786
48429632461963   PEDRO          MARTINEZ                   CA     90004826324
48431986177595   ANITRA         WILSON                     NV     90005129861
48434987785941   ANDREW         MCCLANAHAN                 KY     90011599877
48435539961967   LUIS           MORALES                    CA     90007995399
48435851691569   MARTHA         PESINA                     TX     90011628516
48437325261963   LUIS           LIOPEZ                     CA     90013253252
48439269491988   NICOLE         BAINE                      NC     90012682694
48442669361963   DAMIAN         REYES                      CA     90013176693
48443441661967   JEREMY         QUINN                      CA     90014884416
48443939951334   LADONNA        ALLEN                      OH     90009039399
48444558391988   JESSICA        LIVERMAN                   NC     90004245583
48444695486432   LONNIE         CHAMPION                   SC     90012466954
48445163191394   JASON          WALKER                     MO     29077431631
48445796761963   MEDIA          BATTOU                     CA     46014127967
48446141561963   VERONICA       CALZADA                    CA     46008271415
48447577451334   GUSTAVO        PALOMINO                   OH     66091685774
48448197691394   MAUREEN        HILL                       KS     90014731976
48451831661967   KRISTIN        HIDROBO                    CA     90013988316
48452199554121   BRITTANY       BABB                       OR     90014721995
48452653991873   DAKOTA         BEAR                       OK     90006836539
48452663261967   MICHELLE       CARTAGENA                  CA     46017616632
48453461491873   LARHONDA       HUEY                       OK     90002634614
48454751461967   LANA           TABBS                      CA     90007887514
48455163191394   JASON          WALKER                     MO     29077431631
48455836191569   EDUARDO        PEREA                      TX     75009948361
48456387991569   ANGEL          URBINA                     TX     90012153879
48457452491394   JOSHUA         DAVILA                     KS     90011584524
48457859291394   SHANETTA       MOORE                      KS     90014858592
48458392151334   TIM            MOORE                      OH     66089663921
48458858761967   VERDELLE       PRICE                      CA     90003738587
48458964961963   KELLY          ROSALES                    CA     46027429649
48459887591988   SAKONYA        TRICE                      NC     90002838875
48465474593752   CHRISTOPHER    ADKINS                     OH     90006954745
48465822661967   NICHOLE        BRACKS                     CA     90013538226
48466268171999   MELLISA        AYALA                      CO     90013982681
48468112991569   SANDRA         ACOSTA                     TX     75087601129
48471958191956   MONIQUE        SAVAGE                     NC     17016359581
48472943751334   MICHAEL        PENNINGTON                 OH     90015449437
48474289191569   MANUELA        GONZALEZ                   TX     90002352891
48474761371999   LORETTA        ESCOBAR                    CO     90012207613
48479325161963   MILTON         MORENO                     CA     46014763251
48483429191988   GWENDA         CARR                       NC     17086624291
48485736561963   GRACIEL        RIVAS                      CA     90001827365
48491349861963   REBECCA        MACIAS                     CA     90009193498
48492831591873   VICTOR         GIL                        OK     90013728315
48493588955955   BRANDIE        BROWN                      CA     90014735889
48493884291394   SULMA          HERNANDEZ                  KS     90014878842
48495251971999   CRYSTAL        LOPEZ CASTILLO             CO     90011632519
48495698161963   PAZ            BARRALES                   CA     46063556981
48496846471999   MATT           SNYDER                     CO     90012488464
48511499151334   AIJA           ALFORD                     OH     90011524991
48514823491394   MELVA          THOMAS                     KS     90014888234
48516112333626   TONY           JENNINGS                   NC     90006191123
48522262491569   ELVIA          MEDINA                     TX     90009502624
48522782461994   MANUEL         MARTINEZ                   CA     46042927824
48522899961967   SAMANTHA       MOLINA                     CA     90014238999
48522934261967   SAMANTHA       MOLINA                     CA     90014239342
48523891291956   JESUS          FLORES                     NC     17012928912
48527253891569   PHIL           MARTINEZ III               TX     90011002538
48528386391569   FRANSISCO      CHAVUEZ                    TX     90011173863
48529218251334   JULIO          PEREZ                      OH     90006762182
48529869871999   SHAROL         KUTCHER                    CO     90014588698
48536611677595   CHRISTINA      KISER                      NV     43040756116
48543233661963   HADEE          EARLES                     CA     46090052336
48548867961967   YOSVANI        CEIDES                     CA     90015268679
48549293571999   PABLO          MOLINA                     CO     90014392935
48549478271999   AMY            MOLINA                     CO     90012054782
48551857651334   MARVIN         WEBBER                     OH     90013108576
48552632561967   NICOLE         BEARD                      CA     90004136325
48553233561967   ABAD           DELGADO                    CA     90004692335
48554373791394   ROSI           COLON                      KS     29000543737
48554382377595   CAROLYN JEAN   HARMON                     NV     90011313823
48555431551334   JORGE          GONZALES                   OH     90009934315
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48555539891569   ARACELI      MIRANDA                      TX     75021165398
48556457461963   JOSEPH       VICTORIAN                    CA     90010934574
48558135291988   TOMMY        ATWATER                      NC     90013551352
48562736391569   LINDA        GARZA                        TX     90014327363
48562825361967   MARCO        GOMEZ                        CA     90013538253
48563964371999   JANELLE      ALMARAZ                      CO     38048619643
48564478191873   JOE          HARO                         OK     90010394781
48565715591569   MARIA        VELA                         NM     75084817155
48568914571999   SUSANNE      LINDSAY                      CO     38061799145
48569693491569   PETRA        JUAREZ                       TX     90011996934
48572325991394   ESTHER       ARVIZU                       KS     90014903259
48572452451332   KINDRA       NELSON                       OH     90012784524
48574325991394   ESTHER       ARVIZU                       KS     90014903259
48574792261967   ALBERTO      ROJAS                        CA     46019457922
48579427391988   MARC         WALKER                       NC     90012544273
48579723351334   RUTH         YOUNG                        OH     66038277233
48581471491956   JOSE         DIAZ                         NC     90009894714
48584825277595   JOSEPH       KUDRYK                       NV     90010548252
48587882991394   DOROTHY      CHAVIS                       KS     29009288829
48588584371999   ROSEMARIE    GAONA                        CO     38097965843
48589391551334   SHELTON      GABBARD                      OH     90011093915
48589483591988   ADRIENNE     STONE                        NC     90011104835
48592338191569   ABRAHAM      HERNANDEZ                    TX     90008343381
48593368177595   BRIAN        BEKOWSKY                     NV     90010553681
48593948191394   JAERRED      WILLIAMS                     KS     90010119481
48594346991988   NATALY       DIAZ-SORTO                   NC     90009353469
48594671161967   JOHN         HIGHTOWER                    CA     90009516711
48595684571999   SHERRAN      AFOA                         CO     90013746845
48596844791956   ANGELA       WHITTED                      NC     17021208447
48597153677595   EHAB         ISHAK                        NV     90011081536
48598662461967   ERENDIRA     TIBURCIO                     CA     46036686624
48611385261963   LUCILE       ROBINSON                     CA     46095363852
48612541171946   RILEY        EHRLICH                      CO     90011235411
48612666591988   JAKSHA       BALDWIN                      NC     90010916665
48613616271999   AARON        REESE                        CO     90014606162
48614131761967   DOMINIQUE    WHITE                        CA     46072421317
48615616271999   AARON        REESE                        CO     90014606162
48615884961963   IDELMIRA     DIAZ                         CA     90012558849
48617184251334   LINDA        MILLER                       OH     90014711842
48618814191956   CHARLES      THOMPSON                     NC     90006068141
48619173951334   TY           RONE                         OH     90000131739
48619867861967   ALEJANDRA    ZAMORA                       CA     46048028678
48622441171999   PAUL         MARQUEZ                      CO     38019564411
48626292161967   LEELAND      WATT                         CA     46029522921
48627165391873   CHRISTINA    MORRIS                       OK     90009791653
48631332191569   LUIS         GONZALEZ                     TX     75096833321
48631374291248   TIWANDREA    CAPERS                       GA     90001333742
48633819591988   EULALIO      HERNANDEZ R                  NC     90011758195
48634566691324   SALLY        FARRELL                      KS     90007055666
48634582251334   YACIR        JAOUHARI                     KY     66043095822
48635523691988   DEANDRE      CARTER                       NC     90010805236
48635955591956   CLAUDIA      GOMEZ                        NC     90004339555
48638753391873   BRITTANY     BROWN                        OK     90004127533
48639869461963   DEMETRIA     SILVA                        CA     90007588694
48641388961967   SCOTTIE      STRONG                       CA     46042283889
48642674191523   ROBERT       MEZA                         TX     75062026741
48643972591569   CRISTAL      RAMIREZ                      TX     90010699725
48644536791394   MIKE         BRADEN                       KS     90007965367
48645569451334   LAWANDA      BANKS                        OH     90010745694
48645586591988   LILLIAN      DIXON                        NC     90012455865
48646534961967   TERESA       AGUILAR                      CA     90013065349
48647262161967   JOSHROY      MAFFIN                       CA     90012172621
48649656991394   LETICIA      AGUIRRE                      KS     29081266569
48649866491988   SHARNA       JACKSON                      NC     90012618664
48653146891394   ARTURO       REYES                        KS     90009071468
48653318961963   STEVEN       JUSTICE                      CA     46093033189
48655664151334   NOAH         CRAWLEY                      OH     90013186641
48656829761967   ANA          VERA                         CA     90013548297
48657419661967   BETTY        DOMINGUEZ                    CA     46066914196
48657423377595   JOSE         VALENCIA-GALVEZ              NV     90003054233
48662134691394   ZEUS         GANNON                       KS     90012341346
48665519571999   BERNICE      MEDINA                       CO     38076875195
48665686873264   STEPHEN      FIORESE                      NJ     90015506868
48667926691394   JESSIE       BAKER                        KS     29057629266
48669591191569   MUNIZ        PERLA                        TX     90009325911
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48669637991547   MINDY        JACOBI                       TX     90012586379
48674182291394   HUGO         RIVERA-MEDINA                KS     90014911822
48674783271999   SHYENNE      DURAN                        CO     90013317832
48676412851334   BRAD         HOLLANDER                    OH     90013564128
48677199891394   MAYRA        GUEVARA                      KS     90014911998
48677769161963   BRENDA       MORALES                      CA     90012537691
48683998771999   CHERRELL     MARTINEZ                     CO     90006999987
48684831871999   TONI         CLARK                        CO     90014608318
48684976851334   JEREMY       RANDALL                      OH     90010619768
48685832871999   TONI         CLARK                        CO     90014608328
48686796791873   MARY         WILHOIT                      OK     21045077967
48686948391988   JOSE         ROLANDO                      NC     90010819483
48687268651334   WEI          LEOW                         OH     90012182686
48689735491988   MARIA        RAMIREZ                      NC     90013697354
48693356491569   MARTHA       LEMUS                        TX     90012813564
48694782893741   SHEILA       MELVIN                       OH     90004677828
48696572791569   SOPHIA       FIERRO                       TX     90012625727
48697469741241   RICHARD      CELOVSKY                     PA     51090754697
48697772472434   JONATHAN     MATTOZZI                     PA     90014007724
48699186271921   DONAVAN      BREWER                       CO     90013881862
48699431261967   RICKY        DELONEY                      CA     46065824312
48711574991988   CHRIS        BALLARD                      NC     17077615749
48711834292825   VERONICA     GONZALEZ                     AZ     90014428342
48712414361967   TOM          COOK                         CA     46060914143
48713186871999   ANTHONY      GALINDO                      CO     38052361868
48714814761963   JUAN         HERNANDEZ                    CA     90012338147
48716778891961   DAMIAN       JOHNSON                      NC     90013427788
48717352471999   JACLYN       MARTINEZ                     CO     90010903524
48718262251348   JOHN R       FUGATE                       OH     90005052622
48718617877595   COLUMBA      RUVALCABA                    NV     90008416178
48721813877595   RACHEL       SAUM                         NV     43075128138
48723964391988   ROLANDO      JERONIMO                     NC     90013779643
48727224691569   CARLOS       GOMEZ                        TX     75044142246
48727299393755   ROBERT       PATTERSON                    OH     90009262993
48727862791394   AMANDA       AGADO                        KS     90014928627
48728386671999   JACKLYNN     MARTINEZ                     CO     90010983866
48728769391988   OTTONIEL     LOPEZ DIAZ                   NC     90004257693
48733496277595   MARIA        ROZYCZKA                     NV     43012554962
48733634957133   SEUNG        HONG                         VA     90014476349
48738965591959   ONYX         HARDY                        NC     90014019655
48741356361967   JOHN         SAHLIN                       CA     90010353563
48745449591569   TONY         GOMEZ                        TX     90015574495
48745681758528   JESSICA      GARCIA                       NY     90015566817
48745815161967   DENISE       MCNELTY                      CA     90014858151
48748456961963   JACKSON      EVERETT                      CA     90012924569
48749677861966   TRINIDAD     GALLIGAN                     CA     90004626778
48751157491988   AHDENAH      MCTIER                       NC     17087901574
48751452761967   JOHN         GRONDONA                     CA     90013394527
48756269761963   JAZMIN       ANDRADE                      CA     46008282697
48758849891988   VANESSA      GIRON                        NC     17038358498
48763761491988   VICKI        DUNN                         NC     90010207614
48764825361963   JASMINE      STEPHENS                     CA     90013818253
48768325172495   JANE         HEENAN                       PA     90012043251
48769781591549   JAIME        ARANDA                       TX     90009737815
48771419471999   SIERIA       MOLDONADO                    CO     90013744194
48771882591394   BRITTANY     COLBERT                      KS     29096898825
48772719771999   LOUIS        CHAVEZ                       CO     38005917197
48774421251334   TRICIA       DIETZ                        OH     90012974212
48775162477595   DIOSELINA    GONZALEZ                     NV     43077461624
48775764161967   ZACHARY      NATAL                        CA     90011937641
48776639161988   ALEJANDRA    LUDLOW                       CA     46004386391
48777517191956   MARISA       HEMBRICK                     NC     17075595171
48777959491988   RENAN        VELASQUEZ                    NC     90012619594
48779834291569   HILDA        HERNANDEZ                    TX     75050428342
48784392161963   REBECA       RUIZ                         CA     46081223921
48785298941222   JACKIE       FLETCHER                     PA     90001672989
48785892191569   JEANNINE     SOSA                         TX     75052528921
48786376461963   JASMIN       GONZALEZ                     CA     90014113764
48788575391988   QUEEN        GENTRY                       NC     90011625753
48788689591394   JASON        LANG                         KS     90014936895
48788758291956   CEETTA       SCOTT-COBB                   NC     90005247582
48791514161967   ROSALINDA    GONZALES                     CA     90007845141
48794427584342   CRISTIE      VEREEN                       SC     90015204275
48794742751334   PABLO        CASTELLANOS-SANTIZ           OH     90012497427
48798287461967   OSCAR        SAN MARTIN                   CA     46054062874
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48798637571999   TOM             PENCIS                    CO     38092316375
48811454277595   VICTOR          PONCE                     NV     43031744542
48812722793762   LABONNA         SUNDAY                    OH     90012637227
48815378491988   JOSPEH          PARKER                    NC     90002353784
48816274191394   GAITAN          KATHLEEN                  KS     29055122741
48816746751334   SANDRA          BLOOMER                   OH     90014207467
48818951491394   JOHN            ERB                       KS     29001359514
48819391161967   CYNTHIA         GUTIERREZ                 CA     90006213911
48826152191569   ISAAC           ORTEGA                    TX     90013431521
48826372193767   ANGELA          ELZEY                     OH     90004073721
48838851191988   MARIO           MORALEZ                   NC     17018188511
48839432191394   MICHAEL         WISE                      KS     29008574321
48844756691988   ANTOINE         BALDWIN                   NC     17068327566
48847395851334   STACEY          BALDWIN                   OH     66058103958
48848831861967   MONICA          NARANJO                   CA     46019258318
48849741461967   DARLYNN ANGEL   GONZALEZ                  CA     90002217414
48852283377595   YVONNE          MCMILLIAN                 NV     90012582833
48854436591394   MICHAEL         MOUA                      KS     90014134365
48854522691569   BLANCA          GARZON                    TX     90012835226
48854672151334   MARIEA          DE LE ROSA                OH     66068676721
48855492691988   ROB             RHODES                    NC     90011104926
48856263151334   MICHAEL A       MILLER                    OH     90014982631
48857233351334   JACK            DAVENPORT                 OH     90013012333
48858556361967   JOSEPH          ALLEN                     CA     90014315563
48861419171999   JOSEPH          VIGIL JR                  CO     90014644191
48862789651334   TRAVIS          BURGAN                    OH     90003097896
48862867391394   STEPHANIE       WALKER                    KS     90004278673
48864841861967   VINCENT         NICKERSON                 CA     46018948418
48865111451334   DAHMYNIQUW      CROMWELL                  OH     90012861114
48865356491569   MARTHA          LEMUS                     TX     90012813564
48866422891569   JEANETTE        JUDY                      TX     90003974228
48866577391523   MARIA           PUENTES                   TX     75062125773
48867712761963   IMANI           FULMER                    CA     90011327127
48868837555982   MAI             LEE                       CA     49077838375
48868965177595   JOSE            TORRES                    NV     43008849651
48872112761967   LORRY           BRADY                     CA     46077051127
48872572373264   MIGUEL          PACHEO                    NJ     90011845723
48873322177595   CRISTAL         ROLDAN                    NV     43077303221
48878358493769   JOSEPH          MAYES                     OH     90013423584
48881658891988   AQUARIUS        TABOR                     NC     90005816588
48882211761967   MARIANNE        GREENE                    CA     90003572117
48882571877595   MARIA           MUNGUIA                   NV     43043395718
48883683161963   CHARLES         ELLERY                    CA     46003636831
48886649393765   ANGELA          OMBEGO                    OH     64510276493
48892177591394   JOE             SCHOONOVER                KS     90004901775
48892386391569   FRANSISCO       CHAVUEZ                   TX     90011173863
48894584371999   ROSEMARIE       GAONA                     CO     38097965843
48895281361967   LETICIA         RODRIGUEZ                 CA     90011492813
48895727861963   SARAHY          DARCIA                    CA     90011907278
48897276171999   NICHOLAS        MARTINEZ                  CO     38095092761
48911462961967   JASON           GIMENO                    CA     90012634629
48911542671999   JESUS           PACHECO                   CO     90009955426
48912956571999   THERESA         LUCERO                    CO     90002629565
48913621371999   RENE            RUIZ                      CO     38046286213
48915854471999   KEVIN           JIMINEZ                   CO     90006568544
48916151691988   REBEKAH         RUSHING                   NC     90013351516
48916478391394   JANET           CRUZ                      KS     90004004783
48917556451334   TERRANCE        SCHOOLER                  OH     90011855564
48922491361967   LUIS            CARDOZO                   CA     90002884913
48925887291394   CRYSTAL         MARCUS                    KS     90004398872
48926498871999   JEREMY          MCDANIEL                  CO     90014654988
48927499971999   KRISTINA        GONZALES                  CO     90014654999
48927766891569   RAUL            MENDEZ                    TX     75091187668
48928499971999   KRISTINA        GONZALES                  CO     90014654999
48929752191547   LINDA           APODATA                   TX     75011857521
48931379551334   MEREDITH        ARNOLD                    OH     66014423795
48933439491569   ANDREA          JURADO                    TX     75081634394
48934754761967   MOHAMMED        ALQURAISHI                CA     90010337547
48935839591988   GREGORY         LUNGSFORD                 NC     90013878395
48936518791988   DENISE          DICKINSON                 NC     90014915187
48936629391988   TIMOTHY         PARKER                    NC     90014846293
48937386891959   EDRICK          DUNN                      NC     90012783868
48937852851334   CHRISTINA       EMMONS                    OH     90010878528
48938879291569   MARIA           LUNA                      NM     90014628792
48939916191569   OLGA            ORTIZ                     TX     75017109161
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48942451985896   RANIA         SALMAN                      CA     90004194519
48944468961969   JESUS         MURGA                       CA     90007944689
48944755951334   IRIS          HUGHES                      OH     90013617559
48945233661967   LATOYA        SCOTT                       CA     90013242336
48947338785944   MANDY         MAXWELL                     KY     90011233387
48949734185886   JANINE        WAGNER                      CA     46018897341
48951133677595   MIGUEL        ARMENTA                     NV     90003291336
48951193955933   JEDIDIAH      BOSLEY                      CA     90001761939
48953716261963   GLENDA        CATALAN                     CA     46014317162
48953892191988   CHRISTINA     WILLIAMS                    NC     17012158921
48958439491988   Y             LOVE                        NC     17083324394
48958563251334   MIGUEL        RIVERA                      OH     90014985632
48962653277595   RIGOBERTO     AMAYA                       NV     90002816532
48963784277595   KODY          HACKBUSCH                   NV     90010857842
48968268555982   CATALINA      CID                         CA     49068992685
48968852961999   SHERYL ANN    ANDERSON                    CA     90007308529
48971216577595   EDGAR         SIERRA                      NV     90011172165
48971521591959   TAURIE        LORFILS                     NC     90004375215
48974568191569   ANTONIO       VARELA                      TX     90014975681
48974926291394   EDWIN         PORTILLO                    KS     90014949262
48978396761963   MIKE          IBRAHIM                     CA     90004873967
48979473291873   NICOLE        FRY                         OK     21055644732
48981881471999   MICHELLE      ACOSTA                      CO     90014658814
48983635391569   GILBERTO      DELGADO                     TX     90000276353
48983883971999   PAULETTE      VIGIL                       CO     90014658839
48987548991394   TRECIE        JONES                       MO     90007095489
48988217391569   CYNTHIA       CRUZ                        TX     75067332173
48989248951334   ADAM          PERKINS                     OH     90015162489
48989341872498   BROCK         VASBINDER                   PA     90002293418
48991363771999   MAESTELA      BERNAL                      CO     90000193637
48992734161994   KEVIN         VOSHEL                      CA     46057737341
48994945191988   INDIA         HOLLOWAY                    NC     17096909451
48997996371999   FRANCES       ESPINOSA                    CO     90007949963
49111229591523   ERIK          GUTIERREZ                   TX     90013512295
49113655491394   BERTA         SANTIAGO                    KS     29056676554
49115467791394   ALONZO        DIAL                        KS     29051124677
49116654171999   ALICIA        VASQUEZ                     CO     90011946541
49116871931664   YSA           GALLARDO                    KS     90008098719
49117427691394   DEBBIE        WASHINGTON                  KS     90008094276
49119724985834   MATHEW        KRAUSE                      CA     90008767249
49119789591394   SALVADOR      SANCHEZ                     KS     29056677895
49119991661967   MARIA         RAMOS                       CA     90014619916
49121258471947   SAVINA        GARCIA                      CO     90014592584
49121493271946   ELOY          EDWARDS                     CO     90014754932
49122671458528   MYEESHA       GREEN                       NY     90015556714
49125226591569   ERICA         MANSO                       TX     90010312265
49126972591583   JASMINE       VASQUEZ                     TX     90014579725
49129271791523   JAQUELIN      CARDENAS                    TX     90013512717
49129979661967   JOSE MIGUEL   CONTRERAS                   CA     90007169796
49132467456355   BRUCE         REICHERT                    IA     90014884674
49133246157138   JOHN          WISLEY                      DC     90010772461
49133787191959   RUFUS         MILLIAM                     NC     90012987871
49133834771947   DERIA         SMITH                       CO     90013898347
49134564191569   JORGE         SAENZ                       TX     75002135641
49134716291959   LORETTA       AYSCUE                      NC     90013697162
49135155491873   BOBBI         TREJO                       OK     90014721554
49135289591569   EDWARD        SMITH                       TX     75089372895
49135466571946   ANA           ROBLES                      CO     90015204665
49135771551334   AMBER         CHAMBERS                    OH     66060447715
49136722636148   LAURA         SHANNON                     TX     90001377226
49139551771946   ISELA         GOMEZ                       CO     90011875517
49139718991583   JUAN          MENDEZ                      TX     90008587189
49141937371946   DAWN          LITTLEFIELD                 CO     32067309373
49142156271947   ANTONIO       CLEMENTS                    CO     90013221562
49142255571946   MYRA          ARAGON                      CO     32017232555
49142316891523   NORMA         HINOJOS                     TX     90013513168
49143297791881   KEVIN         CASH                        OK     21073462977
49143316891523   NORMA         HINOJOS                     TX     90013513168
49144712191569   BLANCA        MONARREZ                    TX     90011417121
49145343991873   ISRAEL        RIOS                        OK     90014253439
49145648171999   GARY          SANKOT                      CO     38095426481
49147719491959   SHANE         BLADE                       NC     17007167194
49148231851335   THERESA       KOGER                       OH     66090452318
49148679561963   JUAN          ROMERO                      CA     46002446795
49148783491583   GABRIELA      LARA                        TX     90014677834
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49149742191959   FRANCINE      CRAVEL                      NC     90015307421
49149931571947   ASHLEA        VAMPLE                      CO     90013319315
49151134261963   MYRA          CRUZ                        CA     90013041342
49152928691583   SARAI         SORIA                       TX     75089779286
49153121271947   ROSA          LOPEZ                       CO     90014971212
49153178761967   TERESA        HERNANDEZ                   CA     46005351787
49153316761967   JOCELYN       HUERTA                      CA     90013753167
49153984291569   ORTIZ         CRYSTAL                     TX     90008739842
49154788871946   REINA         LOPES                       CO     32078337888
49155444191523   ELIZABETH     ROEL                        TX     90010164441
49156655991583   MONI          SANCHEZ                     TX     90014586559
49158324151334   MICHELLE      MORRISON                    OH     90007143241
49158712393755   REBECCA       GIBSON                      OH     90012687123
49159156791873   MERLIN        ERNST                       OK     90010311567
49161249191583   ANTHONY       GURADO                      TX     90001612491
49162533391959   TIMOTHY       THOMOS                      NC     90011135333
49163444391569   FILIBERTO     GONZALEZ                    TX     90011404443
49165351791523   LUZ           URENO                       TX     90013513517
49166141791524   ROGELIO       RODRIGUEZ                   TX     90004871417
49166339691583   REYNA         RODRIGUEZ                   TX     75017863396
49166842461967   SERGIO        HERMOSILLO                  CA     90012138424
49168972771946   CHRISTINA M   HERRERA                     CO     90011779727
49168976991569   JORGE         BAYONA                      TX     90013569769
49169464125334   TAWANNA       WHITEHEAD                   WA     90015514641
49169876991583   CAROLINA      VALENZUELA                  TX     90011098769
49172562391959   DONNA         BATCHELOR                   NC     90014385623
49173556861963   BEN           AMEZCUA                     CA     90011525568
49173665572473   ORTEGRO       BENTZ                       PA     90014606655
49174464991569   GABRIEL       RODRIGUEZ                   TX     75001974649
49174518571947   MATT          TORRELLI                    CO     32054025185
49174892791583   COREY         GONZALEZ                    TX     90007068927
49175598791873   SHERITA       MORRIS                      OK     90013835987
49175946791523   ROSA MARIA    DE ANDA                     TX     75073829467
49177763891394   BALTAZAR      BERMUDEZ                    KS     29015587638
49179532861967   JAINA         VASQUEZ                     CA     46085395328
49179747586436   TELISHA       WILLIAMS                    SC     90014657475
49179887491583   EFRAIN        TRUJILLO                    TX     90001428874
49181181271947   COREY         WINDLE                      CO     90010001812
49182585361967   KEVIN         RAMIREZ                     CA     46009435853
49182767251334   GREGORY       SIMMONS                     KY     66050297672
49183174271947   CHRIS         BREWTON                     CO     90013471742
49185664991583   DIANA         RUELAS                      TX     90014586649
49187573971947   CHRISTOPHE    RICHARDSON                  CO     32031625739
49189313171999   CHADWICK      MCCLURE                     CO     90011593131
49191719481698   DAVID         PETERSON                    MO     90013157194
49191761871999   AUGUST        JAMES                       CO     90013947618
49194468271946   DAWN          SURBER-MILLER               CO     90012664682
49194749171999   IZAN          CORTEZ                      CO     38094737491
49195466161963   JASMINE       EADDY                       CA     46021534661
49198261284321   ZAHARE        BELLMAN                     SC     90011182612
49198576571999   DAVID         MARTINEZ                    CO     90014565765
49198615591959   TAYLOR        DUNN                        NC     90011136155
49199916171999   PUEBLO        COLORADO                    CO     38095499161
49211484871946   PHARIA        RICHARDSON                  CO     90014764848
49212145931437   TRACI         MARTINEZ                    MO     27586521459
49212826251326   KYLE          GERDES                      OH     90013418262
49212826771999   ERIKA         DELACRUZ                    CO     90013948267
49213347271999   ADELINA       SISNEROZ                    CO     90010973472
49214438561963   ROBERT        ELRING                      CA     90014844385
49216155891873   ISIDRO        CAMPOSCAMPOS                OK     90014731558
49218448977554   DIEGO         MEDINA GUIJARRO             NV     43000914489
49219572433695   ERICKSON      PENA                        NC     90013605724
49221687491569   MAGDALENA     GOYTIA                      TX     75026536874
49223298971921   JESSICA       WEIN                        CO     38011152989
49223322351334   KENYA         LEWIS                       OH     66094203223
49224459651334   TONYA         RAMSEY                      OH     90014884596
49224874571999   EUGENE        AMES                        CO     90013948745
49226454291873   DEBRA         TOPPAH                      OK     90010374542
49227976781691   RAUL          CAUCHI                      MO     90013349767
49228342791959   RONALD        SOUTHERLAND                 NC     17044243427
49228858391547   JOE           ALBA                        TX     75034638583
49229494571946   MARK          WORTHEN                     CO     90012664945
49231297791569   JASMINE       ALI                         TX     90007962977
49231755891959   DYSTANIE      RIGGINS                     NC     90015307558
49232454791394   VICTORIA      GILPIN                      KS     90003074547
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49233994291394   GUADALUPE       RASCON                    KS     29036539942
49235317761967   GORDON          REYNOLDS                  CA     90012383177
49237459891569   CECILIA M       VILLAPANDO                TX     90013374598
49237545791569   JAVIER          DELGADO                   TX     90010825457
49238587151597   WYNTER          WILLIAMS                  IA     90014985871
49238731771946   SUGAR           ROBINSON                  CO     90011787317
49238759361963   ALTHEA          STEWART                   CA     46029457593
49239975584322   DESTINIE        ELLISON                   SC     90012389755
49241863171946   STEPHANIE       CHAPPEL                   CO     90014678631
49242139971947   DAVID           BAERT                     CO     90005141399
49242521991583   VALERIA         LOPEZ                     NM     75000995219
49242851391569   GUADALUPE       CASTAÑEDA                 TX     75004098513
49243554171999   ETHAN           GILL                      CO     38014565541
49244218371947   MARIA           OSUNA                     CO     90011062183
49244648771999   MICHEAL         QUINTANA                  CO     90012936487
49245189291873   MARIA           HERNANDEZ                 OK     90014731892
49246441171999   PAUL            MARQUEZ                   CO     38019564411
49246842691569   NORMA           GALINDO                   TX     75017388426
49246923361963   FREDERICK       BROWN                     CA     90012799233
49247677771999   SARAH           MONTOYA-VIGIL             CO     90013086777
49248677771999   SARAH           MONTOYA-VIGIL             CO     90013086777
49252463971946   INEZ            FALCON                    CO     90014104639
49253932684321   HOLLIE          SNORDEN                   SC     90003089326
49255846471946   SANDRA          TORRES                    CO     90011788464
49256994955924   ERIC            MARTINEZ                  CA     90008889949
49257478951334   HERTH           DARLENE                   OH     66093694789
49257496291959   TANEISHA        THOMAS                    NC     90009924962
49261457791583   WILLIE          HOLGUIN                   TX     90014604577
49261798961963   FRANKLIN        MENDOZA                   CA     46088167989
49262856691873   TAWANA          WILLIAMS                  OK     90010308566
49263659891959   WILLIE          JILES                     NC     90012266598
49264117861967   ANDREA          ISIDRA                    CA     46005191178
49265414271999   JEREMY          HERNANDEZ                 CO     90007764142
49265919361967   MIGUEL          SANCHEZ                   CA     90015299193
49266264771999   VERONICA        CHAVEZ                    CO     90008872647
49267814871999   RITA            DELACRUZ                  CO     38049148148
49268297791569   JASMINE         ALI                       TX     90007962977
49269226891873   ITALY           HOUSTON                   OK     90014732268
49269627371999   DARIN           RUSSELL                   CO     90012696273
49271112171947   ELIAS           GONZALES                  CO     90004741121
49271329891394   RAMIREZ STONE   TILE                      MO     90004803298
49272739971946   GABRIELLA       HERNANDEZ                 CO     90014067399
49272939371946   GABRIELLA       SPRAGUE                   CO     90011789393
49273953371946   LUCAS           ESQUIBEL                  CO     90011789533
49274585391583   KARINA          CARO                      TX     90006445853
49275771691547   ARHMAND         JAIME                     TX     90004047716
49276679861963   EDEN            RODRIGUEZ                 CA     90013616798
49276941661967   TERESA          MARMOLEJO                 CA     90010249416
49277517158528   JOHNNY          RODRIGUEZ                 NY     90015375171
49278758971946   DARLIN          CHAVEZ                    CO     90013357589
49281243271999   CORINA          MINJAREZ                  CO     90001362432
49281556991569   VALERIA         VELASCO                   TX     90010825569
49281889955928   JAMES           GONZALES                  CA     90002798899
49282122571947   MARTA           BENTIVOGLIO               CO     90011351225
49282229391583   EMILY           PONCE                     TX     90010022293
49282244391873   JACQUELINE      DENICE                    OK     90014732443
49284242351334   SARAH           CHARLES                   OH     66062582423
49284871671999   VALERIE         AMES                      CO     90002868716
49285611471947   MARIELA         TREVIZO                   CO     90011886114
49285817191569   DIANE           WINGO                     TX     90012928171
49287392571946   JAIME           MARTINEZ                  CO     90014783925
49288747171946   JOHN            TOUNZEN                   CO     32090747471
49289885461967   CARLOS          CRUZ                      CA     90011268854
49291883357126   THELMA          NAVARRETE                 VA     81095258833
49292688491583   RACHEL          REYES                     TX     90014586884
49293499871946   TREVOR          BARTOSHIK                 CO     90005664998
49293736441222   DEVONNA         JOHNSON                   PA     90005817364
49294257661963   RUSTY           PALMS                     CA     90010922576
49298747171946   JOHN            TOUNZEN                   CO     32090747471
49299688891569   DIANA           MENDOZA                   TX     75087656888
49311156261963   JULIO           GARCIA                    CA     90010221562
49311536371999   MARTIN          MENDEZ                    CO     90009925363
49314853381576   ANTONIA         PURDIMAN                  IL     90008268533
49315839391583   CRUZ            ALVAREZ                   TX     75001538393
49316234241222   PAYGO           IVR ACTIVATION            PA     90009812342
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49321191571947   LORI           SHINER                     CO     32086771915
49321753371946   TRAVIS         JOHNSON                    CO     90012837533
49322297977348   MALCOLMSAED    CUNNIGHHAM                 KY     90008572979
49322473538522   MARIA          MENDIOLA                   UT     90013724735
49322591371946   HOWARD         FAUTT                      CO     90011805913
49323146961963   JERLAYNE       SIKORSKI                   CA     90014031469
49324287171946   ROSE           TEAL                       CO     32092662871
49326176455947   MARIA          URIBE                      CA     90011471764
49326426351555   IRMA           ZIMIC                      IA     90012114263
49327633671947   TASHA          ARELLANO                   CO     90012046336
49328499971946   KRISTINA       GARCIA                     CO     90014774999
49329257661963   RUSTY          PALMS                      CA     90010922576
49329744791583   ZULEMA         CANO                       TX     90015167447
49331647361963   ANTONIO        MONGUIA                    CA     46051366473
49331882991583   ERICK          MONTANEZ                   TX     90011098829
49332355291873   THEDA          GARFIELD                   OK     90008693552
49332853471946   ADRIANNA       SOOS                       CO     90010918534
49333266171946   NORMA          URBINA                     CO     32094782661
49333939171947   LIZBETH NAVA   ADAME                      CO     90003809391
49334815991394   JOSE           ESTRADA                    KS     90006058159
49335337791959   VICTOR         PEREZ                      NC     17044493377
49335725891583   JOAQUIN        VARGAS                     TX     90014587258
49337154591523   CHRIS          PRANGNER                   TX     90013521545
49337882825164   GREG           DANIELS                    AL     90012148828
49337989891959   SHANEALL       SATTERWHITE                NC     90013249898
49342172391523   STEPHANIE      SOLIZ                      TX     90013521723
49343174491959   ERIBERTO       BENTEZ                     NC     90008151744
49343884755928   ALEJANDRA      ONTIVEROS                  CA     90014158847
49344297791569   JASMINE        ALI                        TX     90007962977
49345556171946   HEATHER        BUNN                       CO     32097505561
49345942371999   RAQUEL         RAYA                       CO     90011889423
49346977671999   STORMY         BALLOU                     CO     90005169776
49347788684381   MICHELLE       CROSS                      SC     90011087886
49348195886443   QUINZELLE      BAKER                      SC     90013941958
49351285961967   CHARLES        BURNS                      CA     90013242859
49351564171946   AARON          MATA                       CO     90014775641
49352653461967   MILAD          BEHNAM                     CA     46085666534
49353215691873   ANNA           MOWRY                      OK     90014742156
49354196471957   RICHARD        HILL                       CO     90014251964
49354528461963   LUZ            URIBE                      CA     46081485284
49354646571947   MATTHEW        QUICK                      CO     90014146465
49354736471999   JOSHUA         SANDERS                    CO     90013087364
49355562533443   BRIANNA        WILLIAMS                   AL     90015025625
49356311191873   DUSTIN         PUGH                       OK     90014763111
49356372671999   CELINA         CHAVEZ                     CO     90010403726
49356592771946   ANTONIO        HERNANDEZ                  CO     90014775927
49357981471999   CRYSTAL        SANCHEZ                    CO     90013519814
49358791871947   ARAM           SOLANO-ARAIZA              CO     32029337918
49359246571999   LATISHA        COX                        CO     90013952465
49359297791569   JASMINE        ALI                        TX     90007962977
49361263671999   MANUEL         ZEGARELLI                  CO     90013952636
49363661891873   JUSTIN         GARNER                     OK     90013826618
49364468891873   CRISTIAN       PAREDES                    OK     90014734688
49365146891924   SUHAD          JARRAR                     NC     90011751468
49366434761967   MAXIMINO       HERNANDEZ                  CA     90008514347
49367154571999   JOHN           COULTER JR                 CO     38075121545
49368637271946   LARRY          SANCHEZ                    CO     90014776372
49368899631283   REBECCA        LOCKETT                    IL     90011958996
49371181593769   LYNTHIA        PUCKETT                    OH     90011611815
49372715791569   ROSA           RACON                      TX     75096527157
49373269691873   DOLORES        CERVANTES                  OK     90011032696
49373499771933   THERESA        PEREZ                      CO     38010504997
49374139281698   EBONI          SPENCER                    MO     90015071392
49374354191394   TRISH          FRAZIER                    KS     29007203541
49375454461967   MELINA         O'LOUGHLIN                 CA     46018504544
49377627291873   ANTHONY        COX                        OK     90014686272
49377892991583   HERRERA        CARLOS-ENRIQUE             TX     90004778929
49379438891523   MAISIE         OLIVER                     TX     90013524388
49379443271946   MATT           DYMOND                     CO     90014784432
49381447771946   VICKRY         KAYSER                     CO     90014784477
49381613591569   LUZ            COFFMAN                    TX     90014036135
49383515291583   VALERIE        ROJAS                      TX     90012785152
49383667171999   ERIC           ROSALES                    CO     90014716671
49385456771947   ROBERTO        CARMONA                    CO     90014824567
49386489691873   MARCUS         HENIGAN                    OK     90014734896
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49387489691873   MARCUS       HENIGAN                      OK     90014734896
49388449991569   MARIA        MARTINEZ                     TX     90012734499
49388454871946   SARAH        BERRY                        CO     90004434548
49389472361966   MARTIN       ALVAREZ                      CA     90013424723
49389929191873   STACY        QUEEN                        OK     90013899291
49391133191569   GILBERT      FLORES                       TX     75087381331
49391534561967   ALEXANDRIA   ROLLAN                       CA     90002085345
49392758191873   PAULA        LEWIS                        OK     90009927581
49393677861963   ESTELA       ASCENCIO                     CA     90012076778
49394517191583   MARISSELA    RAMOS                        TX     90014455171
49394621261967   ANA          VARGAS                       CA     90013156212
49394651671999   IVAN         JOHNSON                      CO     38065596516
49396973631664   JEREMY       BLITZ                        KS     90008609736
49397223761963   ARACELI      GARCIA                       CA     46066372237
49397248971947   ROBIN        GRIFFITH                     CO     90014832489
49397724391959   LAZARO       BONIFILIO                    NC     90007217243
49412294961967   JOSE         BELLO                        CA     90012762949
49412453261963   JAVIER       DAVALOS                      CA     90012724532
49412547591873   JEREMY       BALLARD                      OK     90014735475
49412748161963   MARIA        CORTES                       CA     90014137481
49413237271947   CHAD         VINK                         CO     90004632372
49413318761967   RAYLENE      BOGUS                        CA     46035083187
49415123391569   ANA          SILVA                        TX     90001861233
49418175191583   NORMA        IRIGOYEN                     TX     90013781751
49418459771999   ALVIN        MILLER                       CO     90013874597
49418668251361   WESLEY       GALLAHER                     OH     66012556682
49418997261967   PETER        OLIVARES SANCHEZ             CA     90011269972
49421461991569   HUGO         ESTRADA                      TX     90001984619
49422682371999   JOSEPHINE    RODRIGUEZ                    CO     90004546823
49425218391569   JAIME        GONZALEZ                     TX     75039502183
49426169271999   MITCHELL     DELGADO                      CO     90001871692
49426955971946   TERRI        BAHM                         CO     90011799559
49427256391583   DIANA        SALAS                        TX     90004362563
49427756671947   ASHLEY       ALTOP                        CO     90003207566
49428638491583   ALMA         TERRELL                      NM     75091806384
49429764991583   TOMAS        ALMANZA                      TX     90014587649
49429871671946   KIM          HARLOW                       CO     90014578716
49433244571999   JESSICA      CARREIRO                     CO     90012872445
49433615857134   MAHDI        MOHAMED                      VA     90007726158
49433685771947   DANIELLE     HAMILTON                     CO     90014236857
49434486791569   BARAGAS      RICHARD                      TX     90011664867
49434781391583   MIGUEL       AGUILAR                      NM     90003927813
49435445991959   DANIELLE     BENJAMIN                     NC     90001194459
49435571491873   ALEJANDRA    MENDOZA                      OK     90014735714
49435914691583   JASON        AVILA                        TX     90011099146
49436731491583   ROY          MURILLO                      TX     75014737314
49436849591569   HELEN        POWELL                       TX     90011938495
49436916491583   ANA          RIOS                         TX     90011099164
49439776891873   ARACELY      HERNANDEZ                    OK     90010057768
49439787971946   JANE         FOSTER                       CO     90012817879
49441673271946   RICARDO      QUINTERO                     CO     90013116732
49443716691394   MAVEL        TORRES                       KS     90001267166
49444296141288   THOMAS       CLIBBENS                     PA     90008732961
49444427491583   ROBERT       ULLRICH                      TX     90007384274
49444582391873   MICHAEL      GRAY                         OK     90014735823
49447492161963   JULIAN       AGUIRRE                      CA     46094534921
49447581191394   JOSE         GALDAMEZ                     KS     90013995811
49448542591583   CARMEN       PEREZ                        TX     90005195425
49448568255924   EDUARDO      MENA                         CA     90009205682
49451237261967   FLYNOIND     DEMERY                       CA     90009372372
49452527291959   GABRIELA     DURAZNNO                     NC     17016955272
49453598571946   ABRAHAM      MORENO                       CO     90014785985
49453892261967   EDITH F      ROGERS                       CA     90011488922
49453912191873   TASHA        WILLIAMS                     OK     90002989121
49454629991873   DEMARIO      FOWLER                       OK     90014736299
49457335691583   YASMIN       VIVAR                        TX     90013493356
49457492171999   SHANES       SMITH                        CO     38054864921
49457611861963   SHONTANE     LUCAS                        CA     90003916118
49457919491583   YASMIN       VIVAR                        TX     90011099194
49458113271946   GRACE        SANCHEZ                      CO     90011801132
49458179741265   BRANDYN      GOFF                         PA     90008391797
49462329691873   CHANIKA      ANDERSON                     OK     90011033296
49463215871999   RACHELLE     FINLEY                       CO     90003902158
49463281891873   MELODY O     BOECKMAN                     OK     90010332818
49463721841222   CATIE        PARRICH                      PA     90007317218
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49464688757124   JOAQUINA     MONTES                       VA     90006966887
49465923361963   FREDERICK    BROWN                        CA     90012799233
49466478691569   MARINA       CRUZ                         TX     90007774786
49466968261967   COSETTA      FOSTER                       CA     46048249682
49467316591569   ARMIDA       ZAMORA                       TX     90010343165
49467353291394   GLENNA       RAY                          KS     90005813532
49469854991583   JESSICA      URUETA                       TX     90012468549
49471597771999   MICHAEL      GONZALES                     CO     90011315977
49472468291394   JEAN         KEITH                        KS     90007184682
49473948571947   SARA         CODDINGTON                   CO     32091199485
49474355271947   STEFFANIE    HERRING                      CO     90014613552
49474493171999   JENNIFER     SANCHEZ                      CO     90007894931
49475395391959   CAROL        JONES                        NC     90012903953
49477348341222   BRIAN        GRAVANTE                     PA     90007323483
49478642691959   ERIC         SLEE                         NC     90008056426
49478664651334   STEPHEN      PETERS                       OH     66025946646
49479187291873   PEARL        OFORIO                       OK     21062801872
49479996325637   DANNY        SOTO                         AL     90014139963
49481136691873   RAMSEY       ASHLEY                       OK     90007181366
49483261891959   TRAVIS       HANKINS                      NC     90014832618
49483547871999   LETICIA      ESCALANTE                    CO     90002305478
49484434971999   CHRISTINA    OGRADY                       CO     90012564349
49485187791569   ERICA        GARCIA                       TX     90013271877
49486793991583   DAVID        MARTINEZ                     TX     90014587939
49487198371947   TINA         BELL                         CO     90013021983
49487635991569   ANABEL       ENRIQUEZ                     TX     75023716359
49488144891959   MARCUS       MCLEAN                       NC     90013151448
49488652161963   JUAN         PINEDA                       CA     46043086521
49489287284371   NAKIDA       GATHERS                      SC     90011232872
49489427571999   LANA         BISHOP                       CO     90006234275
49492931461963   ALLEN        TOOMEY                       CA     90011869314
49492997155997   AIMEE        LAFRENAYE                    CA     90004929971
49494114791873   POOH         WILSON                       OK     90006831147
49494921761967   MARIA        HAROS                        CA     90013389217
49494943777355   CHARLES      WILLIAMS                     IL     20597279437
49495411791959   PORTIA       WILLIAMS                     NC     90012464117
49495643991959   GERMAN       GAMONEDA                     NC     90014466439
49495685971946   AUBRY        ATMA                         CO     90014786859
49495973591549   LUIS         HINOJOS                      NM     90012589735
49498391271946   TANESHA      DOTTSON                      CO     90011803912
49499227561963   GABRIEL      CONTRERAS                    CA     90013502275
49511347361967   LATOSHA      LUCAS                        CA     90014633473
49511929257127   CIRA         JAIMES                       VA     90005679292
49512169491959   OLIVIA       HERNANDEZ                    NC     17076521694
49513536771999   REBECCA      RUYBOL                       CO     38016285367
49515298271946   BRIAN        MCCONNAUGHHAY                CO     90003232982
49516645471999   JESUS        VALLES                       CO     90003796454
49517567161967   MELODY       TIBBETS                      CA     46077735671
49518327171947   DIANA        HANCOCK                      CO     32033333271
49521311871946   JAKE         MCNEESE                      CO     90014793118
49521712791873   MARLENA      ROCOLE                       OK     21015057127
49521825857126   ANGELA       DIAZ                         VA     90009998258
49524748191569   ROSALIO      ROJAS                        TX     90009937481
49526316571946   CINTHIA      ROSARIO                      CO     90013293165
49528776591873   LURQUETTA    JAMES                        OK     21044107765
49529868851555   CYNTHA       HOBBS                        IA     90014568688
49531222591569   MAYRA        RUIZ                         TX     90008102225
49531566661963   JASMIN       MALDONADO                    CA     90011885666
49531666961967   MARTHA       PEREZ                        CA     90008206669
49531682871947   JOSE         OSORIO                       CO     90009246828
49534613391394   JOSE         MARTINEZ                     KS     29097456133
49534623841222   SEAN         JACKSON                      PA     51058386238
49535267691873   SHALEEN      WHEATLEY                     OK     90014742676
49536362571946   JADEN        MORGAN                       CO     90014793625
49538146791394   ANDY         MCGREGOR                     KS     29016001467
49539265291583   LUIS         DURAN                        TX     75003222652
49541754771999   JUSTIN       HORN                         CO     90001067547
49542471461967   MELANIE      FOOTE                        CA     46021894714
49543383391569   MARGARITA    DAVILA                       TX     90001363833
49545495491959   NABRICA      REAVES                       NC     90011154954
49545539391569   ANTONIO      MONTOYA                      TX     90003615393
49547289491583   XAVIER       VALENZUELA                   TX     75030932894
49547657571999   ALISSA       SANCHEZ                      CO     90014996575
49548129291569   ROLANDO      MOTA                         TX     90000791292
49548332391873   MANGZO       MILUN                        OK     90014743323
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49549842191583   SONIA        AVALOS                       TX     90014588421
49549921136189   ROBERT       WILLIAMS                     TX     90004599211
49551345391873   FERNANADO    GARCIA                       OK     90014743453
49551921136189   ROBERT       WILLIAMS                     TX     90004599211
49552364991873   SARA         ARZU                         OK     21011363649
49552491891569   JULIO        MOLINA                       TX     90000184918
49554349491873   JERAMIAH     RATHFON                      OK     90014743494
49555114291569   CHRISTOFER   RIOS                         TX     90014611142
49556998271947   MELISSA      BALTIERRA                    CO     90012369982
49559666961967   MARTHA       PEREZ                        CA     90008206669
49562525461967   KELLY        RAMIREZ                      CA     90014735254
49565578361967   MICHELLE     SILVA                        CA     46017705783
49565784591959   DOUGLAS      LAPAN                        NC     90014427845
49566381891873   DIANNA       BOFFER                       OK     90014743818
49567127771999   JUSTIN       RICHARDSON                   CO     38047891277
49569699391959   EVELYN       GARCIA                       NC     90014916993
49571397871999   JUANITA      JAQUEZ                       CO     38070443978
49572767761963   FELICIANO    LEDEZMA                      CA     90013177677
49572863191959   ALICIA       FLONARD                      NC     17016818631
49573656957126   ANA          MARROQUIN                    VA     90005946569
49574198371946   TINA         BELL                         CO     90013021983
49574573991583   ANGELA       DURAN                        TX     90014715739
49574736341222   PATTIE       JOHNSON                      PA     51016067363
49576322671947   MODESTO      REYES                        CO     90014693226
49578625386478   KENNETH      ADDIS                        SC     90012836253
49579123461967   LISA         SUDA                         CA     90011271234
49579761571999   HERACLIO     AYUNGUA                      CO     90002497615
49581426791873   DOROTHY      BRITTO                       OK     90014744267
49581654771947   RENEE        HENRY                        CO     90012736547
49582218291889   ANGIE        NEWCOMER                     OK     90003832182
49582443371946   MICHAEL      NORMAN                       CO     90014794433
49583475291394   DAISHA       LEONARD                      KS     29000714752
49583833291569   ISABEL       ORTIZ LEVARIO                TX     90015138332
49584696371946   ERIKA        GARCIA                       CO     32073976963
49585137291569   TODD         MURRAY                       TX     75087341372
49585459191873   LISA         MCCLOUD                      OK     21092854591
49586135371999   JENNIFER     BUTCH                        CO     38072571353
49587846491583   VIRIDIANA    MALDONADO                    TX     90003958464
49588266341222   QUINETTE     BANTOMA                      PA     51016062663
49588324671999   GEORGE       YACCARINO                    CO     90012263246
49589511491959   ROBERT       DOCTOR                       NC     90000215114
49591483171946   BILL         MAIER                        CO     32090274831
49592227891569   LARRY        MORIN                        TX     75017902278
49592594991959   DANIELLE     SMITH                        NC     90015055949
49593772591583   EFFRAIN      CALDERON                     TX     90011567725
49594448391873   BRANDON      FOSTER                       OK     90014744483
49596495671946   TREVOR       MORARIE                      CO     90014794956
49597713591569   JUAN         LEANOS                       TX     75083047135
49599851671999   DONNY        GARRIS                       CO     90013088516
49611613571947   LUZMARIA     CASTANEDA                    CO     32025006135
49611713591569   JUAN         LEANOS                       TX     75083047135
49612544191959   JUAN         MURRILLO                     NC     90012425441
49612789436189   ROBERT       GARCIA                       TX     73516597894
49615174693724   EUGENE       DERANLEAU                    OH     90014581746
49615855591583   LIZETH       RODRIGUEZ                    TX     90012448555
49617969271947   TIZOC        RODRIGUEZ                    CO     90011489692
49618161471999   VICTOR       PEREZ                        CO     90012381614
49618722391583   CLUADIA      ORNELAS                      TX     90003667223
49619115561963   JOSEPHINE    FLORES                       CA     90014011155
49619515936189   TABATHA      CALZADA                      TX     73516615159
49621514191583   NANCY        BALDERAS                     TX     75089135141
49621713591569   JUAN         LEANOS                       TX     75083047135
49622267771947   MANUEL       SALAZAR                      CO     90005782677
49624715471946   JANICE       SPRINKLE                     CO     32072527154
49625383761967   CURTIS       PATTERSON                    CA     90014633837
49625484791873   VICTORIA     HERNANDEZ                    OK     90011664847
49627541991873   SHYANNA      CLARK                        OK     90014745419
49628568471999   JEFF         MARES                        CO     90001835684
49629521991959   TIAH         CASTELINE                    NC     90013855219
49631782671999   CHRIS        GARCIA                       CO     90014037826
49632474561965   DAVID        MIRELES                      CA     90001184745
49632535191394   BRETT        BURGESS                      KS     29064625351
49632648671946   ARLENE       ACOSTA                       CO     90011196486
49633173491583   NORMA        PALACIOS                     TX     90013321734
49633698491569   MARIA        RODRIGUEZ                    NM     90002086984
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49633961671999   GERALD           RIVERA                   CO     90012889616
49636767271946   JASON            GULLIFORD                CO     32097897672
49636825371947   JEFFREY          HOOCK                    CO     90014158253
49638646191583   VERONICA         SOTO                     TX     90009116461
49642519186478   ALLEN            WARD                     SC     90015265191
49643316561967   ESMERALDA        GUZMAN                   CA     90013073165
49643488171947   AUSTIN           UBALLE                   CO     90015474881
49643543691873   JONATHAN         JAGGER                   OK     90014745436
49643947991395   SHERRI           MCDONALD                 KS     90014069479
49643959361963   NORMA            CASTRO                   CA     90006529593
49644871861967   ISRAEL           CASTANEDA                CA     90012668718
49645822291569   EDGAR            POLANCO                  TX     90013808222
49646314971947   TERRY            LOVE                     CO     90012963149
49648773361963   SHANQUETTA       BLACKMON                 CA     90014537733
49649726391873   KHEDRICK         MIMS                     OK     90014777263
49651338591889   CYNTHIA          GILLEY                   OK     90011983385
49653384891394   MARICELA         LARA CRUZ                KS     90000103848
49653389991873   CHARLENE         BALLARD                  OK     21028613899
49654256391569   DIANA            SALAS                    TX     90004362563
49654669391523   JOSEPH           GUYE                     TX     75088176693
49655459491569   JOSE             OROZCO                   NM     75036984594
49657336871999   FRANK            SANCHEZ                  CO     90013793368
49658384991873   MATTHEW          NITCHALS                 OK     90014763849
49658466991569   RAUL             RODRIGUEZ                TX     75003344669
49659514491569   APRIL            MACIAS                   TX     75069535144
49659545371946   TINA             TARIN                    CO     90011815453
49659596691873   KAYLENE          HAIR                     OK     90014745966
49659678993756   CHRISTOPHER      BENTON                   OH     90010146789
49661868654155   TONI             MILLER                   OR     90011118686
49663645271946   EVA              BERRYHILL                CO     90014796452
49663934191873   TERESA           MOTT                     OK     21016089341
49663947671999   JESALI           MARQUEZ                  CO     90009299476
49664787191959   TIFFENEY         GENTLE                   NC     90012147871
49666125471946   MARLA            CHRISTIANSEN             CO     90012941254
49666497591959   YOLANDA          SPRINGS                  NC     90014614975
49667327171947   TAMMIE           CRAIG                    CO     90014693271
49668929591569   MONICA           OLIVAS                   TX     90012949295
49669484491569   DANIEL           CERA                     TX     90006994844
49672945361963   NICK             LOPEZ                    CA     90010359453
49672964691583   JAVIER           TOREJO                   TX     90011099646
49673947671999   JESALI           MARQUEZ                  CO     90009299476
49674583491873   LEONOR           HERNANDEZ                OK     90014745834
49675657271946   HEATHER          GRAHAM                   CO     90014796572
49677595891583   CYNTHIA          DE ANDA                  NM     90008895958
49677888891873   DEBRA            STITIES                  OK     90001618888
49677962691527   JOB              TERRAZAS                 TX     90001369626
49678618651382   SHEILA           WILLIS                   OH     90004546186
49679353258528   JIMMY            ROLDAN                   NY     90015593532
49679779691873   BRANDI           CUMINS                   OK     21094717796
49681692791959   RAFAEL RICARDO   GONZALEZ                 NC     90012106927
49682666471946   SCOTT            SMITH                    CO     90014796664
49682788191394   CHUCK            MORSS                    KS     29090557881
49682835791583   CESAR            NAVARRETE                TX     90013548357
49684661771999   STEPHANIE        QUINTERO                 CO     90013326617
49684678471947   JALENE           ARGUELLO                 CO     90011226784
49684932991959   TIMOROW          DOBBINS                  NC     90000269329
49684957371947   KENIA            THOMAS                   CO     90012579573
49686255471947   MAHNAZ           BROWN                    CO     90012852554
49687613591873   LARRY            BENNER                   OK     90014746135
49689676761963   TANYA            NEWGENT                  CA     90012256767
49692247371999   GREGORY          GUERRA                   CO     90015612473
49692571191569   ELIAZER          BUSTILLOS                TX     90013015711
49692633271999   GREGORY          GUERRA                   CO     90010416332
49694398891569   MONICA           SANCHES                  TX     75003723988
49694521891873   CHRISTINA        DONALDSON                OK     90010395218
49696227371947   SUSAN            SMITH                    CO     90002142273
49697115671947   ELEANOR          ARELLANO                 CO     90012871156
49697249471947   CHARLES M        HECKERT II               CO     90006462494
49697621171946   ELOINA           GONZALEZ                 CO     32029006211
49698183361967   MARLYN           CHAVARIN                 CA     90011701833
49698884691583   SHIRLEY          RAZO                     TX     75067518846
49712941691873   CHARLIE          CHILDS                   OK     90008679416
49713931791583   JORGE            ALVARADO                 TX     90014589317
49714931791583   JORGE            ALVARADO                 TX     90014589317
49715274291569   OSCAR            FLORES                   TX     90013742742
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49715389291959   LARRY              RICHARDS               NC     90014573892
49716141171947   BRIAN AND MARINA   LONG                   CO     90013461411
49717386591583   ELEAZAR            VARELA                 TX     75087383865
49718741691873   WENDY              GONZALEZ               OK     90014747416
49722723291569   SERGIO             SALCIDO                TX     90015327232
49724481691569   MANUEL             JIMENEZ                TX     90000184816
49724931791583   JORGE              ALVARADO               TX     90014589317
49726823541222   AMBER              FITZROY                PA     51010928235
49727667261967   SHEENAE            WILLIAMS               CA     90002626672
49728296391959   GREGORY            MC CANELLEY            NC     90015092963
49728914761967   MAGDALENA          CORTES                 CA     90013129147
49729432991873   AMY                GROSE                  OK     90012154329
49734368691527   FLORENTINA         LUJAN                  TX     90005033686
49734631455947   STEVEN             CHAMBERS               CA     90007806314
49735994191959   TERESA             HANNAH                 NC     90014599941
49736251471946   JON                MORRIS                 CO     90014912514
49736371461963   DAVID              CUBILLAS               CA     90013263714
49736725191873   ANGELA             CHAIREZ                OK     21068877251
49737496171999   JOSE               RODRIGUEZ              CO     90011654961
49738949486478   CRISTINA           ALTA MIRANO            SC     90013889494
49739462991597   ELIZABETH          LOPEZ                  TX     90010974629
49739775591881   RUBEN              COLATO                 OK     90011147755
49739813884381   CHRISTEN           TORNERO                SC     90013618138
49741191184368   JOSE               HRNANDEZ               SC     14571561911
49741542736189   BERTHA             DELAFUENTE             TX     73517005427
49741889591873   ROSA               CHAVEZ                 OK     90014748895
49745427891583   FERNANDO           MORALES                TX     75096554278
49746461861963   VICTOR             LARROQUE               CA     46064104618
49746492891873   SONIA              VIRUETE                OK     90011034928
49746659691583   BEATRIZ            RODRIGUEZ              TX     90014516596
49747524184371   IASHA              SIMMONS                SC     90008905241
49749877271947   ANDREW             MCROY                  CO     90014158772
49751996991959   DAVID              GONZALEZ               NC     90012999969
49753472691569   AARON              CARRILLO               TX     90010944726
49753594484332   LARRY              HAYNES                 SC     90015045944
49754815791583   ARMANDO            GUAJARADO              TX     75029238157
49755252371946   KYALLAH            COOPER                 CO     90014252523
49756592861963   JERALD             LOVE                   CA     90013525928
49757399991873   RICHARD            MICHAEL                OK     90014763999
49757814371947   HAROLD             CATRELL                CO     90015328143
49758149461967   JAMES              GARCIA                 CA     90013381494
49761421971999   ANTONIA            ZAMORA                 CO     90014754219
49761862961967   JOHANNA            SANDERS                CA     90012428629
49762419491873   KANDICE            CRONE                  OK     90014764194
49765645261967   PEDRO              OBRETADO TENORIO       CA     90009966452
49765798571999   SERGIO             MORALES-ORONA          CO     38064927985
49765921491959   CESAR ROLANDO      DE LEON GONZALEZ       NC     90013319214
49767565471999   TAMMY              SMITH                  CO     38020565654
49767961736189   STEPHANIE          SUAREZ                 TX     90005419617
49768183491959   JOSE               FLORES                 NC     90014481834
49768437491873   STEPHANIE          BENNETT                OK     90014764374
49769695391959   EDUARDO            GARCIA                 NC     90010256953
49769862971999   DIANA              BARELA                 CO     38048138629
49771389436189   CATHERINE          GOMEZ                  TX     90012653894
49772437491873   STEPHANIE          BENNETT                OK     90014764374
49773457791583   JUSTINE            RODRIGUEZ              TX     90007344577
49773665671946   TIMOTHY            THILL                  CO     90014806656
49775452561963   MIREYA             CERVANTES              CA     90008944525
49775671971947   JAMES              BURKE                  CO     32015316719
49776253671947   KRISTINA           LOPEZ                  CO     90003052536
49777676471947   JUAN               DIAZ                   CO     90011926764
49777676761963   TANYA              NEWGENT                CA     90012256767
49778837191569   MORLOCK            JENNY LEE              TX     90006048371
49781883291569   OSCAR              LOPEZ                  TX     90013188832
49782368358528   PABLO              MARQUEZ                NY     90015593683
49782383161967   DANIEL             MANCINI                CA     46038253831
49783285671947   JAMES              WILSON                 CO     90011232856
49784765591873   GINESSA            BLAKE                  OK     90011107655
49786796171946   ROSENDO            RAMIREZ                CO     32091047961
49787636291873   DENA               MACK                   OK     90008046362
49789419191569   MANUEL             AMADOR                 TX     90013254191
49791456671947   GABRIEL            RAKEMEL                CO     90012794566
49792218161963   MARIBEL            ROMERO                 CA     90009472181
49792527193751   AUDREY             HERALD                 OH     90010155271
49792772391888   MELISSA            GILTON                 OK     90010697723
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49793768491569   ALMA         MARTINEZ                     TX     75035337684
49795366371999   HEATHER      BECKER                       CO     90014123663
49795549371946   MARIA        RODRIGUEZ                    CO     90004685493
49796556191569   SERGIO       ALMERAYA                     TX     75064205561
49797133891873   YESICA       GRISELDA                     OK     90015041338
49797175391873   CARLOS       JIMENEZ                      OK     90012791753
49797496671946   JULIO        FIGUEROA                     CO     90014844966
49799131971947   MARLENE      SMITH                        CO     90001661319
49811442585968   JOE          BROWN                        KY     90015164425
49815235461967   JESSE        CAMACHO                      CA     90006252354
49815433191569   ANA          RAMIREZ                      TX     90013094331
49815767891394   ALFREDO      MONTEZ                       KS     29067177678
49816578461967   JESSICA      ORTIZ                        CA     46093565784
49817389891569   ANA          VILLELA                      TX     90014193898
49818148961967   GABRIEL      LOPEZ                        CA     46024501489
49818859871947   LUZ ELENA    VEGA DOZAL                   CO     90010398598
49821689991527   VERONICA     TORRES                       TX     90005846899
49822256891873   MARIA        GUTIERREZ                    OK     90014772568
49826885771947   JACKI        COWAN                        CO     90011838857
49827679991873   ALEJANDRO    GONZALEZ                     OK     90000626799
49828455891569   VIRGINIA     VILLANUEVA                   TX     90014514558
49832724461967   RICHARD      STRICKLAND                   CA     90011277244
49832927161963   ERIKA        CORONA                       CA     46090159271
49834198561547   JORGE        CORTEZ                       TN     90015041985
49834915571946   MONICA       MARANVILLE                   CO     32089419155
49836348891569   TEODORO      FRAGOSO                      TX     90008783488
49838126691873   MATTHEW      MYERS                        OK     90012871266
49838338971947   LYNNE        OSTWALD                      CO     32077143389
49843727571999   MARIA        CANTY                        CO     90002727275
49845435761963   CHERYL       SMITH                        CA     90012344357
49846844571949   MISTY        SABO                         CO     90012598445
49847784271999   ALEX         PEREZ                        CO     38016567842
49854665191569   ALAN         RODARTE                      TX     90010826651
49855615791583   MONICA       SEATON                       TX     90005506157
49856225291583   RAMON        DIAZ                         TX     90002392252
49857197371946   TAYLOR       FULKERSON                    CO     90012791973
49858535571947   MAJEEDA      MURPHY                       CO     32068305355
49858742361953   DEMETRIA     KIMBLE JOHNSON               CA     90010567423
49859217591569   JUAN         OLMOS                        TX     75014692175
49859991431472   BETTY        LANDERS                      MO     90001409914
49861626891569   PATRICIA     PEREZ                        TX     90007966268
49864375871947   CECILIA      MONTELONGO                   CO     90010003758
49865351891873   CRYSTAL      HENDERSON                    OK     90014773518
49868357671946   THEA         SKINNER                      CO     90014883576
49868857761967   TANYA        FLORES                       CA     90010438577
49871835971946   VICTOR       CASTANEDA                    CO     90004498359
49872255171947   LALANA       WEIMER                       CO     90011342551
49876924561967   MARIA        PEREZ                        CA     90013639245
49877244371999   DUANE        WALLER                       CO     90010442443
49877448291569   JOHANNA      JARAMILLO                    TX     90012494482
49879872891569   ESDEINE      GUARDADO                     TX     90012978728
49881893691959   MARIA        VAZQUEZ                      NC     90011408936
49882198261963   ARIANNA      RAMIREZ                      CA     90011581982
49884674961967   ZAID         LUNA-ALVAREZ                 CA     90014006749
49884777591873   JODEE LEE    REED                         OK     90014777775
49886413671946   MAGDA        JACQUEZ                      CO     90000944136
49886578791873   MCGEE        JAMAIL                       OK     90011035787
49887372871946   GEORGE       STEVENS                      CO     90012763728
49887689991394   MICAELA      PONCE                        KS     90009626899
49888489291394   CONCEPCION   CASTRO                       KS     90009024892
49889744547833   DE JA        THOMAS                       GA     90010127445
49891777261963   DONDRA       BARRON                       CA     90013647772
49892958191873   RALPH        HOFFMAN                      OK     21088909581
49893272271999   DUANE        WALLER                       CO     90010442722
49896351241222   KEVIN        BEATTY                       PA     51057533512
49897322991569   JOSE         GANDARA                      TX     90013743229
49897484871999   ANTHONY      CASADOS                      CO     38007754848
49897722391959   SIDHARTH     BHATIA                       NC     90011167223
49915267871999   SHANTELLE    ARGUELLO                     CO     90015072678
49915567161967   ALFONSO      MAZARI                       CA     46019075671
49916165591959   HOMAR        CASTILLO                     NC     90002861655
49917571891569   QUNONEZ      OCTAVIO                      TX     90004145718
49917761161925   FELICIA      HANSEN                       CA     90007797611
49918182486478   SUSAN        RODGERS                      SC     90015361824
49919456951348   ANTHONY      ADAMS                        OH     90012154569
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49919466361967   MARTIN          MORENO                    CA     90014934663
49919545971999   ODELIA          BACA                      CO     90014615459
49919855261498   DIAMOND         INGRAM                    OH     90013868552
49921479291873   HUGO            LOPEZ                     OK     90009884792
49921715771946   MIKE            MIDDLEBROOKS              CO     32017547157
49922617191394   SONDRA          RADCLIFF                  KS     29098056171
49924367471946   CLAUDIA         GARCIA                    CO     90012743674
49927516691569   CLAUDIA         GARCIA                    NM     90014385166
49928966171999   LETISHA         ADAME                     CO     90012479661
49932662691569   ALICIA          PLACENCI                  TX     90007966626
49933251671947   CARLOS          SANTIAGO                  CO     90013882516
49934635271947   DILLON          MATTHEW                   CO     90004536352
49934919161963   NERI            JUAREZ                    CA     46003919191
49935667858528   CARLOS          AVELARDO                  NY     90015606678
49942474991583   CLARISSA        CORDOVA                   TX     75058944749
49943646791583   GILBERTO        LOYA                      TX     75096556467
49946461391873   CELIA           MALDONADO                 OK     90014774613
49946628771999   DONALD          GONZALEZ                  CO     90008496287
49947667891889   EDWIN           TORRES                    OK     90003786678
49948115371999   CASEY           BUNDY                     CO     90002051153
49948686691569   ANDREA          ROMERO                    TX     90010826866
49957426471946   DANIELLE        GALICIA                   CO     90010994264
49958221861967   NORA            JOHNSON                   CA     46007372218
49959694171947   DAVID           WEBB                      CO     90013876941
49959794461995   LEONARDO        GARCIA                    CA     90011617944
49961865861967   RODRIGO         GARCIA                    CA     90005038658
49962634291583   MARTINEZ        HOMER                     TX     75007006342
49962937191873   CELIA           MARTIN                    OK     90010529371
49963989891959   SHANEALL        SATTERWHITE               NC     90013249898
49964634471946   JORGE           ARRIAGA                   CO     90014846344
49966193771947   RICKY           WILLIAMS                  CO     90011861937
49968237271946   ROBERT          PROCTOR                   CO     90003252372
49968442891583   ELISAMA         RUIZ                      TX     90011114428
49968513491873   LUIS            CUEVAS GARCIA             OK     90014775134
49968844571999   DESTINY         FIMBRES                   CO     90011668445
49971812791569   TEDDY           MILLER                    TX     75027058127
49972425271999   DAVID           DECESARO                  CO     38034044252
49972527791569   LISEL           FLECK                     TX     75089105277
49972627791873   ISMEAL          KING                      OK     90011036277
49974285225637   TRISTAEN        MATTHEWS                  AL     90015382852
49975731991569   ANGELICA        VAZQUEZ                   TX     90011417319
49977343441222   MONICA          TAYLOR                    PA     90013933434
49979296561963   TAMESHIA        WALLACE                   CA     90011012965
49981363991569   NICHOLAS        LOPEZ                     NM     75009213639
49981947371999   CRYSTAL         MCALPINE                  CO     90011669473
49982737991569   LLUVIA          JUAREZ                    TX     75087307379
49983634471946   JORGE           ARRIAGA                   CO     90014846344
49983952791583   MARISELA        OCHOA                     TX     75088379527
49984432156355   GABRIELLA       CARRILLO                  IA     90011514321
49984856391959   JOSE            BETANCOURT                NC     90010798563
49985516661945   LISA            MIGUEL                    CA     90005565166
49985798571947   CONSLYN         MURRY                     CO     90002607985
49986663991873   MEGAB           MAXWEL                    OK     90005986639
49987132171946   LATESHA         HALL                      CO     90004501321
49987632671947   COURTNEY        MICHELLE                  CO     90013396326
49989781271946   MELISSA         BALTIERRA                 CO     90014847812
49992666147968   RENE            MENDEZ                    AR     90008706661
49993267961963   OBED CASTILLO   DEGRACIA                  CA     90013692679
49993436791583   MIGUEL          MORALES                   TX     75000584367
49993887171946   KAELEI          KING                      CO     90013448871
49994534891873   DORA            SILVERIO                  OK     90014775348
49994624991569   JESUS           VILLALBA                  TX     90002766249
49997437371946   VICTORIA        WALKER                    CO     90009904373
49997571336135   KRISTI          SLAYTER                   TX     90013215713
49997992391946   ALVIN           HINES                     NC     90014279923
49999475386478   GLORIA          CERON                     SC     90013804753
49999664791959   KAYLA           SCOTT                     NC     90011176647
51112537391895   JUDY            HAYTER                    OK     90002615373
51113439533696   DARIUS          PRICE                     NC     12090734395
51114538361973   MAX             HOFSTETTER                CA     90012885383
51114723897123   TROY            MCMILLAN                  OR     90010437238
51114826761971   BOBBY           BAKER                     CA     90010768267
51116923584357   MICHAEL         OLESON                    SC     14570609235
51117695833699   JUAN            CONTERA                   NC     90014486958
51118545361975   RAY             JOHNSON                   CA     90005895453
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51118946991576   MARIO         GONZALES                    TX     90014389469
51119128857148   NORA          RAMIREZ                     VA     90004961288
51119321861973   CAROLINA      DOZAL                       CA     90015323218
51121719357148   GERMAN        QUINTANILLA                 VA     90013947193
51122122957157   EARL          WILLIAM                     VA     90014161229
51122574685862   DIEGO         VARGOSA                     CA     90014705746
51123854957148   DANIEL        BRAN                        VA     90013948549
51124546161973   BETTY         PETERSION                   CA     46070165461
51125516151348   ANDREW        ADAMS                       OH     90013455161
51125885757148   GABRIEL       LIUZZI                      VA     90013948857
51126885757148   GABRIEL       LIUZZI                      VA     90013948857
51126896285862   MARIA         AGUILA                      CA     90014178962
51127965151348   CARRIE        STATON                      OH     90014809651
51128889357148   JOSE          HERNANDEZ                   VA     90013948893
51128921191895   MARIO         CALIX                       OK     90011979211
51129985757143   DFSD          ASFDSA                      CA     90007319857
51132332561975   BLANCA        SANDOVAL                    CA     90014833325
51132465433699   STEPHANIE     BINNS                       NC     90012224654
51132644791989   ELMER         MONGE                       NC     90009666447
51132974784373   JOSHUA        ROBINSON                    SC     90006569747
51133142651348   SCOTT         BERGER                      OH     90003461426
51133826757148   DANIEL        GUZMAN                      VA     90003268267
51134343591576   AIME          MARTINEZ                    TX     90002233435
51134863957148   DOROL         KING JR                     VA     81094778639
51136547757157   JUAN          MARQUEZ                     VA     81050875477
51136774251348   LINDON        THOMPSON                    OH     66022367742
51138395357121   REYES         RODRIGUEZ                   VA     81060243953
51139263133699   LESLIE        HARDY                       NC     12005332631
51139499384357   JEWELDAWN     JOHNSON                     SC     90013544993
51139643361973   JOPHNSOOM     CRISTEAL                    CA     90008056433
51139778591989   FLORENTINO    MARTINEZ                    NC     90014987785
51139862933696   MELISSA       LINEBERRY                   NC     90014008629
51141427984373   LINDA         BREMENOUR                   SC     90013984279
51141974431429   LATASHA       LYNCH                       MO     90005649744
51142596791884   DALLAS        COLLETT                     OK     90008825967
51143619891895   DEBRA         FREGARA                     OK     90012346198
51143857433696   RONALDLEE     SNIPES                      NC     90014778574
51146476733699   SEMORA        BITTLE                      NC     12091594767
51147974584357   SHEYTOREIA    RIVERS                      SC     90014699745
51148495861975   NOEMI         LOPEZ                       CA     90009354958
51151912891895   FRANCISCO     OCHOA                       OK     21097149128
51152361261973   KALEE         RASMUSSEN                   CA     90013453612
51153319951348   JERMAINE      RUCKER                      OH     90010203199
51154333784357   BRYAN         BROWN                       SC     90011393337
51154672291576   LISET         REYES                       TX     90012746722
51155582931428   SHANNON       JONES                       MO     27582075829
51156138833696   TAMI          BROWN                       NC     90006241388
51156356861971   THOMAS        EDWARDS                     CA     90015213568
51157978591895   LISA          GONZALEZ                    OK     90015459785
51158628484373   CHRISTINA     MCCLAIR                     SC     90012336284
51159571384373   AVENLEN       CASELLA                     SC     90014915713
51159648561975   JOSE          AYON                        CA     90010056485
51159882191989   JESSIE        SECHRIST                    NC     90015148821
51161582861971   FARIS         QAWASMI                     CA     90001765828
51161595684357   CARRIBEAN     JAMES                       SC     90013155956
51163554861975   TANIA         GONZALEZ                    CA     46080775548
51164495184373   JORGE         MORALES                     SC     19014214951
51166936561973   TIA SHANICE   NIX                         CA     90013639365
51167347833696   LINDA         GANT                        NC     90009543478
51167632261975   JUDITH        ROBLES                      CA     90001676322
51167844157157   PATRICIA      FULLA                       VA     90000938441
51168197784357   MARK          SKONIECZENY                 SC     90010811977
51168498357157   KENNETH       REDWOOD                     VA     90007514983
51169297157157   JOSE          PEREZ                       VA     81065662971
51172238885862   ALFREDO       RODRIGUEZ                   CA     90009852388
51172641361975   SALVADOR      DURATE                      CA     90011316413
51172888484357   DAJAA         FIELDS                      SC     90013648884
51173512861971   ANNIE         BARNS                       CA     90007285128
51173652391934   MARILYN       COLES                       NC     90013946523
51174565761973   ANTHONY       HOARD                       CA     90014725657
51176932357148   BLANCA        SORTO                       VA     81045519323
51177531861973   PONZEO        NANCY                       CA     46004145318
51177627391576   ITZEL         CERECES                     TX     90010526273
51177752881678   ALEJANDRO     MELENDEZ                    KS     90001307528
51178116285928   TONEKA        ANDERSON                    KY     90011051162
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51179296784373   GUADALUPE       VARGAS                    SC     19061592967
51182957291556   ROBERT          FERNANDEZ                 TX     90006659572
51183342461971   CHRIS           JOHNSON                   CA     46007863424
51184228561971   ISAEL           LEON                      CA     46017642285
51184395771964   MATTHEW         CARTER                    CO     90003153957
51184717457157   JESSICA         NOONE                     VA     90008307174
51186435491934   KAREN           DAVIS                     NC     90013204354
51187342584357   HERIBERTO       CRUZ                      SC     90014053425
51187544861971   TYLA            WILKS                     CA     90001895448
51188381561973   ZULEMA          BELTRAN                   CA     46030913815
51188736533699   GLENDORA        PAYNE                     NC     90015537365
51189773951348   SUSAN           WHARTON                   OH     66006597739
51191591961973   MARK            SULLIVAN                  CA     90015045919
51192353833696   MANUEL          SOTO                      NC     12017183538
51192492161971   JORGE           ACUNA                     CA     90014164921
51192597751348   SHEENA          WILCOX                    OH     90010145977
51193185961971   RICK            LEWIS                     CA     90014771859
51193616533699   ELAINE          SCALES                    NC     12074786165
51194715861971   PETTER          SERVANTES                 CA     90006727158
51194772157157   EDWIN           TREJOS                    VA     81050767721
51194799661975   HENRY           MAES                      CA     90006587996
51197167757157   ELIAS           LOPEZ                     VA     90012111677
51199748233696   WANDA           PASS                      NC     90012477482
51213561684373   DAVIOUS         HUGULEY                   SC     90011985616
51214621685862   SHAUNN ZAVIER   NASH                      CA     90015126216
51214811444363   SHENELL         STANSBURY                 GA     90011308114
51214915785928   SHAWN           BEISLER                   KY     90010339157
51215422663634   BEVERLY J       JONES                     MO     90010284226
51215785161973   RAQUEL          GRANADOS                  CA     90008127851
51216384185928   ASHLEY          GIBSON                    KY     90001703841
51216538551348   CHRISTIAN       IDWELL                    OH     90013325385
51217147884357   CLIFF           PRUSSIA                   SC     14524831478
51218155357157   YAMILET         GLEN                      VA     90011611553
51218857461973   INC             GREENEAGLE                CA     46064968574
51221399784357   CHARMAINE       WRIGHT                    SC     90012463997
51221961361975   SALVADOR        SANCHEZ                   CA     90010919613
51223156985862   TAESERK         CHUNG                     CA     90013291569
51223347261973   JENNIFER        BAZZO                     CA     90004683472
51225846251348   CHARLOTTE       GUILFORD                  OH     90013928462
51226743847968   CASSANDRA       RICHARDSON                AR     90013367438
51226951691576   PATRICIA        AGUILAR                   TX     90015309516
51227159131551   TODD            MAHONEY                   NY     53093051591
51227769991895   THELMA          JONES                     OK     90014717699
51228674561971   MARIA           CAMARENA                  CA     90014006745
51229811185862   VANESSA         TREY                      CA     46039408111
51231371491989   LILLIAM         MATOS-FRANCO              NC     90005413714
51232259161975   SERGIO          CORONA                    CA     90010732591
51232552533696   NORA            OLIVAS                    NC     12079935525
51233854561975   AIOTEST1        DONOTTOUCH                CA     90015128545
51233988442335   TAMARA          MCGDE                     TN     90015369884
51234789457148   MARLENY         BELLOLI                   VA     90004727894
51235299561975   LILIANA         GARCIA                    CA     90012192995
51236148333696   MEHDI           AGHILI                    NC     90001521483
51236444461971   DERRICK         WHITTY                    CA     90010274444
51244212785928   SHAWN           RILEY                     KY     67078362127
51245394685928   JENNIFER        DIXON                     KY     90005793946
51245789357148   FIDEL           REYES                     VA     81063427893
51246354457157   NELLY           RODRIGUEZ                 VA     81034613544
51246462357124   FERNANDO        GARCIA                    VA     90002324623
51247432684357   JOSIE           MALDONADO                 SC     14572964326
51247584433699   MICHELLE        BURGESS                   NC     90005115844
51251279561973   LAURA           VILLA                     CA     90013362795
51252224891576   KENNY           WU                        TX     90015452248
51252955885928   VERONICA        VARGAS                    KY     90015139558
51254856184373   CHRIS           WATSON                    SC     19098288561
51254875285928   MICHAEL         WESLEY                    KY     67001668752
51256754751348   TIMOTHY         MCINTYRE                  OH     66015937547
51257935451388   PATRICIA        IWALLS                    KY     90001649354
51261716385862   TAESUCK         SON                       CA     90012137163
51263321184373   CHARLES         VANCE                     SC     19015463211
51265748485862   TIFFANY         NAVARRETE                 CA     90014077484
51266741861971   THOMAS          RHODES                    CA     90014367418
51267415157157   INGRID          GARCIA                    VA     90014164151
51267893751348   ROBERT          SAHLIN                    OH     66011218937
51268995585862   JAMES           BRYANT                    CA     90013679955
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51273863633696   ANGELA       REMORE                       NC     90010908636
51273924191895   TRACY        BARNETT                      OK     90011049241
51273972926222   DANIEL       HILL                         WI     90015609729
51274973785928   KIMBERLY     BUTLER                       KY     67011819737
51275825138522   JASON        EVES                         UT     90013218251
51275995861975   ANA          RIVERA                       CA     90005039958
51276259151348   NATASHA      SPENCER                      KY     90005242591
51276558561986   JOSE         NIXON                        CA     46018325585
51278311191323   JASON        STONE                        KS     90010233111
51278341484373   LASHELL      EVANS                        SC     90012523414
51278921761971   SHANE        GAGALIANO                    CA     90015099217
51281464491535   JOSE         MENDOZA                      TX     75037764644
51282169457157   SAMANTHA     WILKS                        VA     90012261694
51286129491576   RAUL         AISPURO                      TX     90015461294
51286222157157   DAVID        SPATES                       VA     90003082221
51286873961973   RAFAEL       MACIAS                       CA     90015328739
51287316333692   JOHN         DOE                          NC     90012063163
51287756433696   ASIA         SADLER                       NC     90002067564
51291952784357   ROGER        KELL                         SC     90012709527
51292169961973   GODOFREDO    PEREZ                        CA     90012541699
51292486385928   NICORA       DAVIS                        KY     90014074863
51292875584373   LESLIE       ELDRIGE                      SC     90013628755
51293323233699   VERNON       HOBSON                       NC     90002743232
51294152485862   MARIA        CEDILLO                      CA     90006711524
51294197491267   JUAN         DIAZ                         GA     90009561974
51294895661971   TONY         BENDER                       CA     90003248956
51295545684373   DOROTHY      BLACKBURN                    SC     90004865456
51295729785862   RENELL       HILL                         CA     90014787297
51311592761973   JENNIFER     MAGANA                       CA     90013265927
51313247433696   JATLEN       SILER                        NC     90013492474
51317781421623   BEVERLY      DAVIS                        OH     90011637814
51318136584373   REGINALD     SMITH                        SC     90010601365
51321137557157   JOHN         HUDSON                       VA     81034691375
51321491761971   ROBERT       CRANE                        CA     90014164917
51321634561973   AIOTEST1     DONOTTOUCH                   CA     90015116345
51323797257157   MARLENE      FINK                         VA     90014177972
51324599891895   EUGINA       MARTORELLI                   OK     90014555998
51325111761971   SALWAN       MALEKO                       CA     46075721117
51325137691989   JOVONDA      REAVES                       NC     90011801376
51325844933696   TAMEKA       PRITCHETT                    NC     90007818449
51326756433699   LORENDA      JACKSON                      NC     12012177564
51327137691989   JOVONDA      REAVES                       NC     90011801376
51328566161975   GENEVIEVE    VIGIL                        CA     90009515661
51329974971964   HERBERT      ROMAN                        CO     32090489749
51331973133696   TYRONE       HARSHAW                      NC     90009369731
51332764884373   BRANDON      BURROUGHS                    SC     19057557648
51334938784373   RASHAAD      RICHARDSON                   SC     90014569387
51335718484334   ANGELINA     DOCTOR                       SC     90009667184
51335742861975   JUAN         BARRAGAN                     CA     90013317428
51336162657148   SAMUEL       GRANT II                     VA     81065101626
51336265657157   WILLIAM      SOLIS                        VA     81063132656
51337277481693   MIKE         CANTRELL                     MO     29025702774
51337291761971   JUAN         CARLOS                       CA     90003412917
51337579133696   RALPH        BARTLETT                     NC     12002125791
51337646757157   MARIAM       BANGURA                      VA     90002026467
51338849184357   JASMINE      POLITE                       SC     90014018491
51342495631449   TRENT        WOODRICK                     MO     27570114956
51343246157157   MUSSIE       WOLDAY                       VA     90014842461
51344924157157   PAULINA      MENDEZ                       VA     90012609241
51345233831429   TASHONNA     GROSS                        MO     90011282338
51345646791576   GERARDO      RAMIREZ                      TX     90012186467
51346881757148   HANNER       HERNANDEZ                    VA     81096398817
51348355684357   TISHA        ALLAN                        SC     90010853556
51348742691576   NICOLAS      FRAIRE                       TX     90015387426
51349483251348   SAVANNA      TURNER                       OH     90010574832
51349491661973   MONICA       CORTES                       CA     46061484916
51351477291895   STANLEY      WILLIS                       OK     90014814772
51351547833696   JOE          DRAYTON                      NC     90014655478
51352597951348   MITCHELL     SNYDER                       OH     90015095979
51353318731431   SHELLY       STRINGER                     MO     90010393187
51354256957157   RASHID       DUMBUYA                      VA     81001692569
51354685885928   AMANDO       LOPEZ                        KY     67081536858
51356641361973   JOSE JESUS   CARMONA                      CA     90010036413
51357427485862   PRAVEEN      DUGYALA                      CA     90014154274
51357525731428   WILLIAM      HAFFER                       MO     27588855257
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51358993233696   SUN          WALDEN                       NC     90007939932
51359286861973   INEZ         NAVARRETE                    CA     90013362868
51359468861971   KEVIN        CONNELY                      CA     90013044688
51359921784342   JENNIFER     DOSS                         SC     90011609217
51362356771964   KENNETH      LISTER                       CO     32096763567
51363126557157   GERSON       DEPAZ                        VA     81034921265
51363721761973   ALEJANERO    VALDEZ                       CA     90011887217
51364314461971   FARLEY       RONNA                        CA     90003413144
51364642661973   BRIAN        WOOD                         CA     46005976426
51365619785928   OMERO        GONZALES                     KY     90015206197
51365683485928   KIARA        JACKSON                      KY     90010886834
51369738757157   ALBERTO      ROSALES                      VA     81095927387
51371285391989   TRAVIS       HAITH                        NC     90003422853
51371367551348   KELLY        GAHERTY                      OH     90009513675
51371471757157   GRACIELA     ROMERO                       VA     90012994717
51371772231428   TILLONNI     HAMILTON                     MO     90009177722
51372839984373   FRANK        HOWELL                       SC     90015218399
51373665485928   JACKIE       OLNEY                        KY     90015206654
51373739291895   MIKE         EVANS                        OK     90012507392
51375255161973   JACOB        PAGE                         CA     90014162551
51375665485928   JACKIE       OLNEY                        KY     90015206654
51377383891576   IRENE        BALBUENA                     TX     90010643838
51377473561975   JUAN         GONZALEZ                     CA     90015024735
51377782157157   TREVINA      MCNEAR                       VA     90001297821
51378652891945   JUDY         WOOD                         NC     90013986528
51379356161971   MAKEHNA      THORNTON                     CA     90009793561
51379752491895   JEREMY       BEVINS                       OK     21001287524
51382184985862   BARON        GREEN                        CA     46000471849
51382491833696   CAROLYN      MCLEAN                       NC     12006564918
51384637391895   LISA         DENNIS                       OK     90012246373
51385274861973   JUAN         MORALES                      CA     90014162748
51386288733699   JONAH        GENT                         NC     90011422887
51386617461971   DAN          CASTLE                       CA     90014816174
51386991361975   JORDAN       JOSHUA                       CA     90012829913
51387115484373   EDGAR        RAMIREZ                      SC     90014541154
51387764161975   JUSTTIN      WOLF                         CA     90012867641
51389831661971   MARC         BOYKINS                      CA     90003708316
51391282931428   STEPHINE     ARNOLD                       MO     27579762829
51391654991895   LAURA        JAIMES                       OK     21095736549
51392235785862   FRANCISCA    LARA LOPEZ                   CA     90006102357
51392947984373   JOAO         INACIO                       SC     19046769479
51392961484357   COURTNEY     SINGELTON                    SC     90006479614
51395549743522   CODY         HEBERT                       UT     90011725497
51395636561971   KEITH        STEWART                      CA     46010626365
51397529284357   HOLBROOK     SANDERS                      SC     90008775292
51397744191576   NICOLAS      AGUILAR                      TX     90015387441
51397791385824   THOMAS       LILLEY                       CA     90008257913
51398931885862   MARIA        MENDOZA                      CA     90007909318
51399351761973   FABIOLA      REMIGIO                      CA     90006683517
51411513661971   MICHAEL      CALDERON                     CA     46024495136
51412483384357   VICTORIA     WEED                         SC     90015544833
51413593433696   JASMINE      HILL                         NC     12042505934
51415495485928   NAKIESHA     TAYLOR                       KY     90015214954
51416233851348   STEVEN       GILLUM                       OH     66070872338
51416495485928   NAKIESHA     TAYLOR                       KY     90015214954
51417225691576   KARINA       GONZALEZ                     TX     90009082256
51417815385862   ALBERT       RAMIREZ                      CA     46083918153
51418383991895   NATHANIAL    BATSON                       OK     90010273839
51418631991576   ADRIANA      CASTOR                       TX     75090046319
51423471461971   GARY         BRINGINO                     CA     90014504714
51423871891576   SALVADOR     SANCHEZ                      TX     75010028718
51424659284373   TEVYA        MATTHEWS                     SC     90001036592
51425134861975   VIVIAN       RODRIGUEZ                    CA     90010411348
51425544457563   PATRICK      FERNANDEZ                    NM     90015165444
51426313191895   EDWARD       MORTON                       OK     21092733131
51428425184373   CAMEO        BROWN                        SC     19079554251
51428451342335   CHRISTINE    PICKARD                      GA     90014584513
51428812461973   WAFAA        SMITH                        CA     90001538124
51429658742335   JOHN         MOORE                        GA     90014596587
51431525961973   YADIRA       MAZON                        CA     46091845259
51431687784373   MARIBEL      OLIVERAS                     SC     90010086877
51432234284373   DONNA        FRYE                         SC     19053392342
51432278233699   NORRETHA     BROWN                        NC     90014842782
51436242285928   ASHLEY       CORTEZ                       KY     90013432422
51436519233696   JASMINE      PHILLIPS                     NC     12063575192
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51436721251348   CHRISTINA    PROST                        OH     90014577212
51439265751348   NIKITA       HARRIS                       OH     90002382657
51442293957157   NICOLE       BENNETT                      VA     90010982939
51442478385928   RAMIRO       HERNANDEZ                    KY     67032224783
51445353251348   REGINA       PERRY                        OH     90004943532
51445477491576   OSCAR        STEPHENSON                   TX     90013984774
51446352331428   LAPORSCHE    BICKLEY                      MO     90003793523
51447194833696   LATOYA       WHITAKER                     NC     90014461948
51449868857157   JOSE         SANCHEZ                      VA     90014888688
51452983191576   ANA          ROSALEZ                      TX     90012209831
51454378971235   KASIE        HAVEN                        IA     90013123789
51456233733699   ALMADELIA    PENALOZA                     NC     90010022337
51456897657157   JUAN         TORRES                       VA     90013418976
51456911384373   BRIAN        CANADY                       SC     90009779113
51457429133696   KEYASHA      INGRAM                       NC     90013564291
51458815757157   BREYONNA     WILLAMS                      VA     90013478157
51458816161971   SERRANO      MICHAEL                      CA     46082118161
51459667191895   JOSE         ARGOMANIZ                    OK     21075526671
51461931585862   ERMA         DUTTEN                       CA     90011589315
51462286491576   AIDA         ARVELO                       TX     90011262864
51463155457157   TAMEKA       FELTON                       VA     90011001554
51463659785862   SONIA        KAUR                         CA     90013146597
51463894185862   SONIA        KAUR                         CA     90014338941
51464371661971   MARISOL      ALTAMIRANO                   CA     90014753716
51464591191895   JACOB        PETERSON                     OK     21037685911
51465834461971   KAREN        SMITH                        CA     90014038344
51466356161975   ANGELINA     SOTO                         CA     90009633561
51466647433696   SHAQUITA     CHAPMAN                      NC     90010046474
51467158326747   CHENILLE     BENNETT                      CO     33012061583
51467697985862   BRUCE        COLNESS                      CA     90012526979
51472428684357   JOEY         BRABHAM                      SC     90013164286
51472594361975   JORGE        NEGRON                       CA     90011145943
51473726157148   MARTA        BAUTISTA                     VA     81030307261
51475985984357   CECIL        OBANNER                      SC     90013289859
51476666857148   SELVIN       CARCAMO                      VA     81074506668
51476843585928   JESSICA      BURDEN                       KY     90010888435
51477332861975   BELCHERE     MONTESZ                      CA     90004043328
51478129661973   ANA          CARRANSA                     CA     90003531296
51481197991576   ROSEMARY     MARTINEZ                     TX     90003911979
51483962784852   SHAQWANA     DAVIS                        NJ     90013879627
51486525761973   JAVIER       GARCIA                       CA     90002055257
51486763884357   ANGELIQUE    BEULAH                       SC     90015087638
51487175333696   TARRELL      ROWE                         NC     12099471753
51487271333699   MICHELLE     HUGHES                       NC     90010962713
51487834391895   BRUCE        MADDEN                       OK     21000168343
51491111861971   PEARL        CHAPMAN                      CA     46008371118
51491692193724   JENIPHOR     COMPTON                      OH     90012736921
51492348433699   FRANCISCO    AVILA                        NC     12005023484
51492758261973   VINCENT      PROM                         CA     90010297582
51493634884357   RAYMOND      EUGENE                       SC     90013186348
51493641733699   JORGE        RODRIGUEZ                    NC     90011996417
51493992151348   TIMOTHY      PETERSON                     OH     90008329921
51494854791576   LAURA        GORDON                       TX     75039268547
51495399261924   IRENE        EDNE                         CA     90006833992
51496159485928   NICOLA       WEST                         KY     90010951594
51496281684357   KATHLEEN     CLIFT                        SC     90012992816
51498361461975   ROSA         MEDINA                       CA     90009743614
51498642733699   JERRY        EVENS                        NC     12092776427
51498818331429   STACY        PAPPADLUOS                   MO     90005698183
51499259433699   JOHN         STANELY                      NC     90009842594
51499738654152   MISTIE       MUNDELL-DITLEFSEN            OR     90002967386
51499868857157   JOSE         SANCHEZ                      VA     90014888688
51512587842335   STEPHEN      BRANDON                      GA     90014585878
51514247485862   GERARDO      NUNEZ                        CA     90012762474
51514525991576   SYLVIA       RODRIGUEZ                    TX     90004345259
51514937984373   JAMES        MOSKOW                       SC     90012569379
51515772491895   THERISA      CULLOM                       OK     90009057724
51516179151323   TRACEY       FAIRBANKS                    OH     90005551791
51516289691576   MARILYN      MIJARES                      TX     90015012896
51516828657153   CARLOS       GUERRA                       VA     90008018286
51517191941242   KIMBERLY     GODESKY                      PA     90003791919
51517478961975   CHRISTINA    CASTELLANOS                  CA     90004304789
51517768985928   GUERIN       PHOTOGRAPHY                  KY     67039077689
51519433451348   LISA         SWAIN                        OH     90013114334
51519699385862   PATTY        CARNERIE                     CA     90014306993
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51523143784373   ELDON        RITTER                       SC     90012151437
51523463997123   MAX          DAY-SMITH                    OR     90011984639
51525195291895   ANTOINETTE   COHEN                        OK     90010351952
51525566751348   MORIAH       LEBRETTON                    OH     90013435667
51527954633696   JUVENTINO    MENDOZA                      NC     90000649546
51528517154133   SHEILA       MOGSTAD                      OR     90001435171
51529551833696   KELVIN       LENARD                       NC     90013635518
51531888836165   MIROSLAVA    GONZALES                     TX     90007678888
51531979661973   ANA          FLORES                       CA     90000139796
51532245557124   RAFAEL       IZQUIERDO                    VA     90008912455
51532816751348   LAUREN       ANDERSON                     OH     90013648167
51533427484334   CARROLL      SANTOS                       SC     90005464274
51533435457157   ROXANA       LOPEZ                        VA     90010684354
51534285951348   YOUSSOUF     SILLAH                       OH     90003142859
51534459771964   THELMA       MONTES                       CO     90000494597
51535117833696   CECIL        SPENCER                      NC     12087841178
51535693461973   RAFAEL       OCHOA                        CA     90005796934
51536276261973   JERICCA      THORPE                       CA     90004102762
51536839157157   RINA         RAMIREZ                      VA     90008578391
51538283971964   RONALD       LEVASSEUR                    CO     90010052839
51539969985833   GUADALUPE    RAMIREZ                      CA     90014059699
51543124531429   DANIEL       NOVAK                        MO     90005701245
51543563961971   AMANDA       WALLER                       CA     90013565639
51543651391895   KRISTI       REPLOGLE                     OK     21009606513
51544416785928   ADRIANNE     NICHOLS                      KY     90001404167
51545197384373   NICOLE       LEWIS                        SC     90015461973
51545892261975   CECILIA      HERNANDEZ                    CA     90012568922
51551216157148   BADRA        RAJA                         VA     81077252161
51551654961999   APRIL        AGE                          CA     46082166549
51552315461971   JOSHUA       HAYES                        CA     46016713154
51552738385862   LADON        MOSES                        CA     90011197383
51552771484357   AIDA         MORENO                       SC     90014757714
51553649857157   LUIS         ALBERTO                      VA     90012056498
51553873231429   TAMARA       LOGAN                        MO     90009538732
51554646533696   EDSEL        WILLIAMS                     NC     12081046465
51556167157157   JUAN         ALVARENGA                    VA     90013621671
51557314331428   JAZZ         BAILEY                       MO     27561533143
51557931191895   DOROTHY      HALL                         OK     21063899311
51559891251348   MICAELA      STEVENSON                    OH     90012868912
51561637133623   DOMINIQUE    WATKINS                      NC     90001936371
51563727957157   ANA          MENA                         VA     90006057279
51564235951586   ZACH         WASHINGTON                   IA     90014052359
51564756833696   WILLETTA     GREEN                        NC     90010107568
51566249961973   ELVA         KRAMER                       CA     46025102499
51567685361971   REYNA        HERNANDEZ                    CA     90014996853
51567726591895   SHIRLEY      THOMAS                       OK     90010647265
51568528333696   DALIA        CABALLERO                    NC     12011965283
51568732791895   RICKEY       ARTHUR                       OK     90012567327
51569562961975   JORGE        VAZQUEZ                      CA     90013955629
51571299161971   ADRIAN       MORAN                        CA     90013052991
51571925891895   MARITZA      EJIA                         OK     90007099258
51571986691521   EDGAR        HERNANDEZ                    TX     90012429866
51573275371964   AYLA         BARTLETT                     CO     32090722753
51573783633696   ALANO        JOHNSON                      NC     90013957836
51577439391576   OSCAR        CEBALLOS                     TX     90006604393
51577836933699   KIA          WAGNER                       NC     90000838369
51578133357157   ISAIAS       GOMEZ                        VA     81070021333
51579587191895   WILLIS       MCPHERSON                    OK     90014935871
51583477157157   AVALOS       ESCOBAR                      VA     81035464771
51583826791895   ANGELA       WALLS                        OK     90015228267
51585543733696   ZANTWOIN     DAWKINS                      NC     90013805437
51587149557157   FASIKA       MESHESHA                     VA     90014181495
51587736433699   REGINA       WEST                         NC     90010907364
51587792184373   KRISTEN      SMITH                        SC     19096007921
51588177751348   SUSAN        FOX                          OH     90005561777
51588386561975   CIRILDO      ALANIZ                       CA     46061193865
51588534461973   PATRICIA     GOMZALEZ                     CA     90015155344
51588785861971   GAY          GARRIS                       CA     90001407858
51589669385862   FERNANDEZ    CARLOS                       CA     90002806693
51589715857148   MARIA        OSPINA                       VA     90001707158
51589867457157   RENEE        POWELL                       VA     90010518674
51591313691895   SARA         RAMIREZ                      OK     90009173136
51591452257157   APRIL        WALLACE                      VA     81095464522
51591668733696   TIFINE       PEGUES                       NC     90014326687
51592499661971   ALAN         WILLIAMS                     CA     46008494996
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51593581658528   GERALD       HOAD                         NY     90015375816
51593856591895   AMANDA       SANTIAGO                     OK     90011048565
51594193984357   TERRANCE     ADDERLEY                     SC     90009401939
51594635561973   AIOTEST1     DONOTTOUCH                   CA     90015116355
51595558557157   PEDRO        MARINERO                     VA     90014235585
51596113591895   KENDRA       CROCKER                      OK     90012361135
51597353433696   SHANNON      PERMAR                       NC     90012853534
51597358151348   BRANDON      JOHNSON                      OH     90014893581
51597374257131   RENE         DAGOBERTO LOPEZ              VA     90001483742
51597428933696   SHANNON      PERMAR                       NC     90011314289
51598223261971   LISSETH      LOPEZ                        CA     46074152232
51611519233696   VICTOR       GOMEZ                        NC     90010325192
51612214185862   KELLEEN      PORTER                       CA     46075782141
51612813761971   MARY         BECKUM                       CA     46058918137
51614116357157   JOSH         LEE                          VA     90011311163
51616113985862   DANIEL       OLFERT                       CA     90000801139
51616634171964   RAQUEL       TRUJILB                      CO     32056596341
51617386361973   WILLIAM      PORTER                       CA     90002003863
51618488391576   MARTHA       MORALES                      TX     90002734883
51618745661973   HERMAN       WRIGHT                       CA     46029187456
51619814891895   SARAH        PARRISH                      OK     90015018148
51621269791895   CRYSTAL      OLIVER                       OK     90013982697
51621592461973   ENRIQUE      FLORES                       CA     90012365924
51622275557153   CLEMENTO     SANTILLAN                    VA     90006182755
51623258233699   TENISHA      PRICE                        NC     90012072582
51624125961975   AMY          SHERBUNDY                    CA     46036371259
51626535926222   POLLY        BASSETT                      WI     90010725359
51626688591521   GLORIA       GARCIA                       TX     90013876885
51627184657157   EDWIN        DURAN                        VA     90014181846
51629137157157   TIFFANY      BOWEN                        VA     90004651371
51629795651348   REBECCA      BLANCHARD                    OH     66038177956
51632539991895   MICHAEL      GRAZIANO                     OK     90013775399
51633563284373   KARRIE       SANDERS                      SC     90014345632
51633827733699   BONNIE       DODD                         NC     12044608277
51634483961975   MITZY        ULLAND                       CA     46005054839
51634628957148   MARIA        HERNANDEZ                    VA     90002906289
51635257884373   EARNEST      DURDEN                       SC     19052722578
51636259157157   HENRY        MARTINEZ                     VA     90015162591
51636473233699   JESICA       MENDEZ                       NC     12023854732
51637653857157   JUNIOR       WALKER                       VA     90010716538
51638694261975   MARIANA      ESPARSA                      CA     46064006942
51642569733696   CHRISTINE    CRIDER                       NC     12015895697
51643718561973   BRANDON      BRAVOS                       CA     90012767185
51643854561975   AIOTEST1     DONOTTOUCH                   CA     90015128545
51643894633696   RICHMON      HAIRSTON                     NC     90013348946
51645388184373   SHAWONNA     GILLIARD                     SC     90011023881
51645595791576   EVELYN       GUTIERREZ                    TX     75093975957
51645858161986   KEVIN        CHILDERS                     CA     90001808581
51646383491895   BRABARA      DEJEAR                       OK     90010223834
51646494285862   SRINIVAS     VUPPALA                      CA     90010844942
51647756857148   VICTOR       AYALA                        VA     81064697568
51649911133699   JONTHAN      MCNEILL                      NC     90011849111
51652213684373   NICOLE       MANIGAULT                    SC     90004502136
51653246157157   MUSSIE       WOLDAY                       VA     90014842461
51655944551348   REBECCA      IRWIN                        OH     66025939445
51657562633696   LINDA        MCLEAN                       NC     90007035626
51657859685862   FERNANDO     CARRILLO                     CA     46043848596
51658291161971   NICHOLAS     HOWARD                       CA     90013312911
51658564484357   DANIELLE     SIMMONS                      SC     90012945644
51659982251348   LUISA        LOPEZ                        OH     90011259822
51661252451348   JAMES        LIVELY                       KY     90014142524
51661353284357   SCOTT        MARCELE                      SC     90013893532
51661636584373   REGINALD     JOHNSON                      SC     90000456365
51663436484357   MONICA       BROWN                        SC     90014414364
51663574361975   JORGE        MEDRANO                      CA     46069525743
51664385761971   SAMIA        FELIX                        CA     90001643857
51665919442335   JENNIFER     GOINS                        GA     90014599194
51667711191895   DIANNA       PICKENS                      OK     21089237111
51667882233696   MEBRHIT      HAGOS                        NC     12015768822
51667937584357   DONNA        CLEVELAND                    SC     90011029375
51668159184373   VERONICA     STEWART                      SC     90009401591
51668383685862   FRANCISCO    JIMENEZ                      CA     90010253836
51668744961973   MOISES       OLIDEN IBARRA                CA     90010247449
51671352231428   KILE         GILREATH                     MO     27535533522
51671578661975   VICTOR       ACEVEDO                      CA     46092025786
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51672654951388   GLENN         KINDELL                     OH     90007786549
51678414661971   MARK          KENNEL                      CA     90012194146
51681814284357   HASSAN        INABINETT                   SC     90014398142
51682638855947   STOCKSTILL    LISA                        CA     49052196388
51684241861971   DANIAL        CONRAD                      CA     46076482418
51685171191895   TIFFANY       WHITE                       OK     90013311711
51685939484341   ANA           ERSKINE                     SC     90010909394
51685992361548   PAYGO         IVR ACTIVATION              TN     90015239923
51686531161975   LUIS          RAMIREZ JR                  CA     90010175311
51686734991576   GONZALO       VELAZQUEZ                   TX     75085347349
51688132984357   CALEB         HILL                        SC     90013051329
51688627871964   DIANA         MEDINA                      CO     90011496278
51689197533699   CHRISTOPHER   TRUESDALE                   NC     90013011975
51689338351329   TRACEY        REESE                       OH     90010123383
51691595751348   EMILY         FLAVIN                      OH     66028535957
51693536391895   TIFFANY       MERRILL                     OK     90015155363
51694614361971   BETSAVE       CARJABAL                    CA     90013436143
51695444257157   CONNOR        MCGEHEE                     VA     90014184442
51697511233699   THOMAS        WILLIAMS                    NC     12033875112
51699136561971   MARIA         CASTNEDA                    CA     90003501365
51699189184357   JACQUELINE    MOULTRIE                    SC     14512571891
51711728755928   IDAMAE        GRACIA                      CA     49016887287
51712221333699   SMITH         JAMES                       NC     12042292213
51717474991895   CORTNEY       GRAY                        OK     90012454749
51718674731428   IRISHCA       NASH                        MO     90006146747
51722951233696   GLENDA        BROWN                       NC     90013029512
51722973833699   EDITH         CLARK                       NC     12064399738
51724851585862   AIOTEST1      DONOTTOUCH                  CA     90015128515
51725235491895   TROY          BRANCHCOMB                  OK     90013252354
51726156284373   LATOYA        JEFFERSON                   SC     19056491562
51727689884373   FRANK         SIMMONS                     SC     19015206898
51728584251348   JAMES         ELLINGTON                   OH     66018175842
51729166461975   ILIANA        MARTINEZ                    CA     90014201664
51729221461971   JAMES         BILODEAUX                   CA     90013612214
51733599633696   STELLA        PENUELAS                    NC     90013775996
51734655961975   JESUS E       CRUZ                        CA     90013436559
51735687561975   GINA          RODRIGUEZ                   CA     90011316875
51735829991895   JESSICA       MCGUIRE                     OK     90015228299
51736384351348   JENNIFER      LOVE                        OH     90008853843
51736619933699   RAMON         ESCAMILLA                   NC     90010646199
51738855761975   LISA          ROMERO                      CA     90008978557
51741433951348   LOUIS         COOLEY                      OH     66046754339
51743243361975   JACQUELINE    HURTADO                     CA     90013342433
51743578184373   VICTORIA      FIELDS                      SC     19026495781
51744598771964   DELLA         MOORE                       CO     90000955987
51745948961971   LISA          IVORY                       CA     90009319489
51746366251348   STEPHANIE     CLARK                       OH     66022173662
51748386161973   MARCUS        ESTRADA                     CA     90011993861
51748543461973   JESUS         ALMARAZ                     CA     90014165434
51749467985862   KEIONDRA      BELCHER                     CA     90014754679
51751223761973   NICOLE        ROSALES                     CA     90002492237
51752467851333   AARON         RANDOLPH                    OH     90011774678
51753637784373   SAUL          MAYA-ARREGUIN               SC     90010706377
51753812361975   YESSICA       ATENCO                      CA     46055378123
51754438257153   SAMMANTHA     STEWART                     VA     90008894382
51755252933699   EDWIN         HAMLIN                      NC     12007252529
51757317961975   NICOLE        KERN                        CA     46060963179
51758392985862   JANETT        GUZMAN                      CA     90014253929
51758421351348   ANDREW        STEPP                       KY     90014824213
51761577657148   VICTOR        ORELLANA                    VA     90004545776
51761653861973   MARIBEL       HERMONSILLO                 CA     90002546538
51763445557157   JO            COHEN                       VA     81035834455
51765117861975   GUILLERMO A   GONZALEZ                    CA     90009991178
51771316961971   DUSTIN        COOMBS                      CA     90014063169
51771755591895   KERI          MCCLARY                     OK     90009247555
51772393871964   CESAR         FLORES                      CO     32025963938
51773275154129   BEN           SOTELO                      OR     90006262751
51774152757157   RONNIE        COLBERT                     VA     90014611527
51774282451354   LUELLA        MCKINNEY                    OH     90014522824
51775378761975   MIRNA         ARAMBULA                    CA     90002403787
51778413457157   KENNETH       OWUSU                       VA     90009204134
51779898361973   ESTEBAN       CAYETANO                    CA     90014418983
51781165171954   ANDREW        BACA                        CO     90009361651
51781556461971   SAUL          LOPEZ RAZO                  CA     90001435564
51783134757157   JACINTO       SANCHEZ                     VA     90010701347
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51783616193724   THEODORE     HEILIGENBERG                 OH     64506506161
51784285261975   GERARDO      GUETIERES                    CA     90012392852
51786443685862   ANELLE       MISKOWISLZ                   CA     46037624436
51786934661973   PEDRO        SANCHEZ                      CA     90014419346
51788263791895   JUAN         HERNANDEZ                    OK     90012492637
51789658271964   ADALIA       SEGURA                       CO     90006696582
51792549961971   ANTOLIN      NEMECIO                      CA     90005335499
51793172857157   JUAN         GARMENDEZ                    VA     90013171728
51795183657148   PATRICIA     RIVAS                        VA     90000641836
51796133971964   TYLER        RIECSS                       CO     32017251339
51796136333699   JESUS        REQUEJO                      NC     90013041363
51796563557157   JOSE         DE LEON                      VA     90008385635
51811516685862   DAVID        JAURIGUE                     CA     90014075166
51812278457157   LINWOOD      WILLIAMS                     VA     90014712784
51812745431428   MONICA       LEGGETTE                     MO     27564637454
51812793233699   DEBRAH       TUCKER                       NC     90005527932
51813851585862   AIOTEST1     DONOTTOUCH                   CA     90015128515
51814474661973   ESTHER       LOPEZ                        CA     90007284746
51814732791895   RICKEY       ARTHUR                       OK     90012567327
51815875384357   NICKIE       JENKINS                      SC     90001788753
51816511561971   HAKMT        TOMA                         CA     46081715115
51818723984357   IIESHA       CLATT                        SC     90004587239
51821311461971   ISABEL       ACEVEDO                      CA     90008083114
51821865261971   FERNANDO     CRUZ                         CA     90009888652
51821884161973   JESUS        RODRIGUEZ                    CA     90008688841
51822583285862   JUAN         BAUTISTA                     CA     90012925832
51823998861971   DANIEL       VARGAS                       CA     46068649988
51824653557157   MARCO        REYES                        VA     90007536535
51824896484357   MIKE         JONES                        SC     14570608964
51825336184357   TYRONE       MIDDLETON                    SC     14504633361
51826259591895   ALICIA       PATTERSON                    OK     21013072595
51826278285862   MICHAEL      CONTRERAS                    CA     46055692782
51826925357157   VILMA        FUENTES                      VA     81054709253
51827187461971   MELISSA      NAOMI                        CA     90015121874
51827961861975   RODNEY       LANE                         CA     46081959618
51829964185862   CIPRIANO     MARTINEZ-VALZZQUEZ           CA     46097509641
51829972733699   DIANE        BUNN                         NC     12042069727
51831434584357   JATIA        ALSTON                       SC     90012674345
51832451451348   SEAN         BURNS                        OH     90008334514
51832549761971   CHARISSE     PORTER                       CA     46052365497
51833514961971   CAROLINA     MALDONADO                    CA     46070065149
51833516691979   MITCHELL     MOHRMANN                     NC     17040355166
51834683584357   SHARON       BUSBY                        SC     90011406835
51834699361975   NADIA        MORENO                       CA     90013216993
51837172784373   CHARLES      HARRIS                       SC     90012391727
51837395761973   JAVIER       PALOMARES                    CA     90012373957
51837596961971   SANDRA       RAMOS                        CA     46034435969
51838799251348   ALISHA       HALL                         OH     90010917992
51841324685862   RUSSELL      PETE                         CA     46008343246
51841855261975   AIOTEST1     DONOTTOUCH                   CA     90015128552
51842397171964   ROSA         WHALEN                       CO     32056593971
51843575461973   MIGUEL       VILLARESPE                   CA     90014165754
51845221961975   RICARDO      RODRIGUEZ                    CA     46033532219
51845764351348   BRAD         BROOKS                       OH     90004967643
51846359961971   MARIO        VILLEGAS                     CA     46045123599
51847388161975   ROCHE        FLORE                        CA     46097613881
51848384461975   SILAILAI     SAVALI                       CA     90010663844
51848798284373   MALCOLME     CLARK                        SC     90011627982
51849452757157   SHERINA      BRUCE                        VA     90010794527
51849949191377   ROBERT       ROBINSON                     KS     90010999491
51851765433696   WILLIE       SANDERS                      NC     12018047654
51852836154151   AMY          TRAN                         OR     47090758361
51853846351348   MICHAEL      ADKINS                       OH     90014298463
51853851585862   AIOTEST1     DONOTTOUCH                   CA     90015128515
51854196591321   TARA         JONES                        KS     90012611965
51854562585928   DENNA        STAMPER                      KY     67094625625
51855128833696   SHAWNDA      LOWERY                       NC     90004991288
51856944144363   ACQUALINE    PRIDGET                      MD     82025149441
51857234231428   LISA         BISHOP                       MO     27579182342
51857883791895   EDWIN        WEBB                         OK     21070638837
51858364785862   LEANN        MEDSKER                      CA     90012653647
51858968857563   JESUS        ONTIVEROS                    NM     90006679688
51859596661971   PAULO        RINCON                       CA     90011545966
51864781657148   HERNAN       SANTOS                       VA     90013627816
51864929457157   AJ           MONTALVO                     VA     90011059294
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51865389561975   CAROLYN      CLARK                        CA     90014813895
51865913891895   TAMEKA       NELSON                       OK     90008329138
51865948733699   SHEREE       OLIVER                       NC     90009229487
51866718533696   DONOVAN      LAMONT                       NC     90013857185
51867951533696   RICKEY       BULLOCK                      NC     12066969515
51868267184373   JOVITO       TALUCOD                      SC     19056542671
51868764161973   VICENTE      BUSTOS                       CA     46087187641
51872443961975   MARTHA       RAMOS                        CA     90011164439
51873635991895   MARISA       WOOD                         OK     90014886359
51875182391895   TAMMY        WILSON                       OK     21056031823
51877495461973   ALMA         MOTA                         CA     90012814954
51879919793782   CASEY        SMITH                        OH     90002109197
51879971161973   ZAID         ALLOS                        CA     90015229711
51882135891895   COURTNEY     STOUT                        OK     21027491358
51882243384373   GERALDA      DE JESUS                     SC     90006132433
51882414657157   FRASPER      POWELL                       VA     90010434146
51882466242335   JOSEPH       MAYS                         GA     90012964662
51885534361966   BONNIE       DAVIS                        CA     90003005343
51886539251348   JOSEPH       WOODS                        OH     90008335392
51887758861975   TINA         JONES                        CA     90007697588
51887793461973   TRINIDAD     SILAHUA                      CA     46069677934
51888362391895   BRITTANY     TAYLOR                       OK     90011903623
51888826285862   MARJORIE     SAMAJAIO                     CA     90013198262
51889858557157   CARYN        LESSER                       VA     90011808585
51891495171964   REBECCA      GOFORTH                      CO     32066554951
51892965151348   CARRIE       STATON                       OH     90014809651
51894246784357   EASTON       BRASSON                      SC     90015422467
51894387961973   NEIL         GABRINTINA                   CA     90010813879
51895674561971   MARIA        CAMARENA                     CA     90014006745
51896118261971   JENNIFER     HURLEY                       CA     90013801182
51897423233696   LASHANA      WALL                         NC     90005694232
51915511157157   JACKIE       BIGBY                        VA     81089975111
51916153584373   DARRELL      MCCROD                       SC     90013581535
51917179161971   SAMI         DAWUD                        CA     90008791791
51919495391576   PAUL         CORRALEJO                    TX     75074524953
51921754161975   MELQUIADES   BRIZUELA                     CA     90011487541
51923348784373   JEKEARA      GADSDEN                      SC     90012313487
51924166461975   ILIANA       MARTINEZ                     CA     90014201664
51924822161975   MARIO        FLORES                       CA     90014158221
51926526833696   BIONCA       HUNTLEY                      NC     90013785268
51926532842335   TREYSHONDA   HIGH                         TN     90009585328
51929487884373   ANA          HERNANDEZ                    SC     90013984878
51931827451586   TSEGAY       GEBREKIDAN                   IA     90013898274
51931916585928   KELLY        GROVS                        KY     90012409165
51932336261924   ALBERTO      RODRIGUEZ                    CA     90007743362
51932341651348   TROY         GRIFFITH                     OH     66036873416
51932837491895   ADAM         TRACY                        OK     21051918374
51933652841279   DIANA        ROGOWSKI                     PA     51065816528
51933813991895   JONATHAN     KANTOLA                      OK     90007338139
51934344561971   ANA          QUANTIRO                     CA     90001603445
51935391184357   SHADREKA     PERRY                        SC     90012693911
51935718131429   EBONY        FOSTER                       MO     90001257181
51935744357157   JANA         TILLER                       VA     90014187443
51937357931428   TONYA        WILLIAMS                     MO     27589143579
51937669961936   RAYMOND      SULLIVAN                     CA     90010046699
51938129171964   ALEX         GRAJEDA                      CO     32052541291
51938574461973   CARLOS       SANTANA                      CA     90000905744
51938758591521   EDWARD       LARK                         TX     90010987585
51938769833157   JESSICA      LAWTON                       IL     90014267698
51939519184357   TIFFANI      MORRISON                     SC     90009845191
51941221791895   RONNIE       ATKINS                       OK     90013672217
51942431351348   JULYO        GUDIER                       OH     90009524313
51944242157157   DAVY E       CHAWU                        VA     81012722421
51944575961971   BRENDA       GUADARRAMA                   CA     46052205759
51945465733699   YESENIA      SOLORIO                      NC     12003324657
51945735557148   ANDREW       JOHNSON                      VA     81084467355
51946711461973   JOY          ALVA                         CA     90010427114
51946883284357   LATASHIA     SMALLS                       SC     90014028832
51949696651348   CATALINA     VILLADA JAIMES               OH     90013976966
51951247861971   MARY         PARKER                       CA     90002672478
51951986184373   JOHNNY       TAYLOR                       SC     90008449861
51952921961971   DAVID        GARD                         CA     90006769219
51953375857157   YOLANDA      MURCIA                       VA     81073363758
51953549161975   GEORGE       HACKER                       CA     90014845491
51953614685862   JODI         JEFFS                        CA     90012816146
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51957114151348   SOHNA        TOURE                        OH     66067821141
51957167633696   LAMAR        MCILWAIN                     NC     12020481676
51957487931429   HEZEKIAH     WILLIAMS                     MO     90010754879
51957553185862   AJIBOLA      BOLARINWA                    CA     46045765531
51961335961975   EVENY        REYES                        CA     90012333359
51962779261971   BRIDGETT     WILDS                        CA     46008867792
51962794184357   RONALD       MIDDLETON                    SC     90014397941
51963927591895   RICHARD      REECE                        OK     90013289275
51965579661973   JAMES        ANDERSON                     CA     90012095796
51967386161973   MARCUS       ESTRADA                      CA     90011993861
51968124561975   MELANIE      CAMACHO                      CA     90014401245
51971591961973   SAUL         CORONADA                     CA     46090745919
51971619361975   JOE          ROBERTSON                    CA     90012716193
51973431433699   WILLIAM      BELL                         NC     90001074314
51974344333699   YVONNE       CALLEJA                      NC     90012523443
51977397357148   AMANUEL      MEKURIA                      VA     81051303973
51979154584373   SHANNON      MOORE                        SC     90014481545
51981417591521   BLANCA       LUNA                         TX     90003104175
51981868261971   VICENTE      GARCIA                       CA     90004878682
51983185233699   AYESHA       HAWKINS                      NC     90013431852
51983784161941   RICARDO      LOPEZ                        CA     46010297841
51983954171964   IRMA         GARCIA                       CO     32098649541
51984182731426   ESMIR        DEUMIC                       MO     90010281827
51985511991895   ALONZO       KELLY                        OK     90010705119
51985546161973   BETTY        PETERSION                    CA     46070165461
51989528361971   MARCELA      ESPINOZA                     CA     90014115283
51991128861971   EDITH        YATES                        CA     90010781288
51992561685928   LUIS         GONZALEZ                     KY     67040895616
51995583885862   KEVY         FIGUERA                      CA     46044945838
51998262785928   PHILLIS      MINLEY                       KY     67033752627
51999533733696   HAPTESLASE   YHEDOGO                      NC     90014725337
51999871991895   JUAN         HERNANDEZ                    OK     90008898719
51999897384357   TONI         GREEN                        SC     90014828973
52111179661971   MARIA        MORALES                      CA     46007431796
52112546857157   JOSE         RIVERA                       VA     81043345468
52112599361973   MICHELLE     SLANE                        CA     90008645993
52113437651348   CHRIS        MARTIN                       OH     66085804376
52113881761965   FARIDA       BEDAHI                       CA     46075828817
52115284471964   PAIGE        NELSON                       CO     90003172844
52116173791895   CHELSEA      LEWIS                        OK     90008101737
52118154861973   ALEXANDER    GUTIERREZ                    CA     90011631548
52118379157157   JOSE         PEREZ                        VA     90014843791
52118433861965   DAVID        HERNANDEZ                    CA     46039774338
52118666891587   CHRISTIAN    PATATUCHI                    TX     75042436668
52118894185928   CESAR        PIEDRA                       KY     90003258941
52121967484357   TRE          AUSTIN                       SC     90007839674
52122242333699   DOROTHY      THOMAS                       NC     12037662423
52123987155951   LINDA        CHAVEZ                       CA     49092299871
52124733993724   RICK         JAMES                        OH     64540767339
52124759271964   SONIA        DUMON                        CO     32038867592
52126433284357   SHANIQUE     STEVENSON                    SC     90015534332
52127631561965   RICARDO      PEREZ                        CA     90007626315
52129469761973   BRAULIO      CRUZ                         CA     90012574697
52129769371964   FLOR         MONTOYA                      CO     90008997693
52133627251348   JUAN         MENDOZA                      OH     90008506272
52134732157591   AARON        QUEZADA                      NM     90009257321
52135354861975   DANIEL       AVITIA                       CA     90012773548
52135933161973   BERNICE      TORRES                       CA     90010089331
52136417533696   LEONARD      BROWN                        NC     90005114175
52136657833699   WILLA        ROBINSON                     NC     12025686578
52136897361971   JUAN         GUTIERREZ                    CA     90013168973
52137462751348   MADALINE     GOODWIN                      OH     90003914627
52139398555951   HELEN        RIVERS                       CA     49010323985
52141431161965   JENNIFER     ELIAS                        CA     90012534311
52141825633699   JOSEFA       PRUDENTE ALBERTO             NC     90013928256
52142615655939   CARLOS       RIVERA                       CA     90007846156
52143415744352   CLAUDIA      BOULWARE                     MD     82014104157
52143492893724   ADAM         ROHRER                       OH     90009804928
52143821261975   FRANCISCA    FLORES                       CA     90012238212
52143961931428   YASHICA      STEWART                      MO     90012009619
52144132191895   CRYSTAL      HANG                         OK     90011151321
52145591661965   RUTH         GONZALEZ-LOZANO              CA     90014005916
52145755133699   MICHELLE     KINSEY                       NC     90014767551
52148634684357   NICOLE       SHARP                        SC     90008886346
52148798731428   JESSICA      ELLISON                      MO     90010537987
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52149763691587   MARIA        ESTRADA                      TX     90003167636
52151212691895   BRAD         PETTY                        OK     90003762126
52151441757157   MARIA        FLORES                       VA     90003844417
52151933961975   IRMA         ROWLAND                      CA     46070249339
52152348641296   NICOLLE      PALMER                       PA     90015033486
52152518761965   HOLLEE       ROMANICK                     CA     90014575187
52152611191391   LUIS         RODRIGUEZ                    KS     90000636111
52152873161975   VALERIA      BARRERA                      CA     90011308731
52153467371964   EDWARD       VIGIL                        CO     90003894673
52154582255936   PERYNA       WASHINGTON                   CA     90012605822
52155223961973   DEEDEE       JENKINS                      CA     46016932239
52157417661973   NANCY        HERNANDEZ                    CA     90014344176
52157616284373   GLORIA       NORRIS                       SC     19069466162
52157897957157   GERALD       LOCKWOOD                     VA     81053778979
52161163391895   DENISE       PHILLIPS                     OK     90011151633
52161927731426   LINDSAY      MCDOUGALL                    MO     27571449277
52162464833696   VERTAISHA    WOMACK                       NC     90012034648
52163215293724   SHATANA      ARNOLD                       OH     90010852152
52165766971964   FRED         PERRY                        CO     32091377669
52166351391895   RUFINO       DELGADO                      OK     90005693513
52166988971964   COREY        SAUNDERS                     CO     90014109889
52167177191587   JOSE         SEGOVIANO                    TX     90012851771
52167468693724   MELISSA      TRAUFLLER                    OH     90010964686
52167962791521   CYNTHIA      LOPEZ                        TX     90012839627
52169357484373   WILLIAM      INFINGER                     SC     90013893574
52169413161965   ANGEL        ABITION                      CA     46095254131
52169431833699   WILLIAM      PRINGLE                      NC     90013334318
52169473761975   AURORA       ACOSTA                       CA     90007584737
52171679893724   AMBER        MCGUIRE                      OH     64510006798
52171715471964   SELSO        LEAL MOJICA                  CO     32012667154
52171884857157   DIANE        JONES                        VA     90012258848
52172167991895   SARAH        WATKINS                      OK     90011151679
52172361451336   KYM          DAVIS                        OH     90006793614
52172675691587   JEANETTE     PEREZ                        TX     90012206756
52173148457157   JOSELINA     FUENTES                      VA     81060471484
52173197861975   JANET        DIAZ                         CA     90013281978
52173513893724   KELLY        PARKER                       OH     64537515138
52174165333696   PEDRO        GRANADOS                     NC     90009511653
52174481161975   ROCIO        MALDONADO                    CA     46017784811
52174714391895   JOSE         ENRIQUEZ                     OK     90014217143
52176273791587   PAMELA       NIETO                        TX     75087492737
52176632133657   OLANDO       SPEAS                        NC     90011616321
52177477785928   J.DANIEL     WILLEY                       KY     67007814777
52177782893724   NATAY        JOHNSON                      OH     64558747828
52178549291587   EDNA         HEREDIA                      TX     75093735492
52182436484357   MONICA       BROWN                        SC     90014414364
52182847557124   ROBERT       FIELDS                       VA     90014958475
52183199393724   DARREN       WARE                         OH     90011321993
52183216361971   TERESA       MARTINES                     CA     46069442163
52183899461975   MARTHA       VALDEZ                       CA     90014618994
52184686993724   LEE          MCGURIE                      OH     90005876869
52185462561971   PETRA        BAHENA                       CA     46091034625
52186267784373   TIFFANY      CAMERON                      SC     90012492677
52186274733699   MARCELIO     MEDINA                       NC     90014472747
52187119833696   LAVONDA      LEDWELL                      NC     90010191198
52191536533699   WALTER       HOLLINGSWORTH                NC     90013565365
52193211491587   RODRIGO      LARA                         TX     90013992114
52193463433699   NEFATERIA    KNIGHT                       NC     90013764634
52193641791895   MICAELA      PEREZ                        OK     90010066417
52195596231428   EBONY        PHILIPS                      MO     90013055962
52196341393724   DAVID        WHITE                        OH     64510923413
52197155625424   ELIZABETH    SANDERS                      UT     90011961556
52198753584373   MONT         MITCHELL                     SC     19014547535
52199992351348   CAMERON      HUSTON                       OH     66077439923
52211946984373   ROBERT       LINCOLN                      SC     90012949469
52213578261965   DENNIS       SONNER                       CA     90012605782
52213772493724   NICK         RUCKER                       OH     90009037724
52214775691587   ARMANDO      APODACA                      TX     90013367756
52214781961971   TOBY         GANNUSO                      CA     46001317819
52215313391895   DOUG         BIRNIE                       OK     90011153133
52215533461971   JIMENEZ      CHRISTIAN                    CA     90007945334
52216742985928   BIANCA       WATES                        KY     90010297429
52217626833696   ASHLEY       SMITH                        NC     90005296268
52217745161971   ANTHONY      YOUNGBLOOD                   CA     90013327451
52217827491895   NYTESHIA     PALMER                       OK     90003498274
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52219371133696   LILLIAN      MANNING                      NC     12084873711
52219898761965   FARTUN       OSMAN                        CA     90010148987
52219949661975   ELENA        MARTINEZ                     CA     46094379496
52221675891587   SANDRA       MERCADO                      TX     90013296758
52223999481658   STACY        EACRET                       MO     90009759994
52225551771964   MICAELA      SANCHEZ                      CO     90009545517
52225571461975   LEONARDO     LEON                         CA     90010215714
52226296961975   LEON         JACO                         CA     90004502969
52227931491587   BRENDA       HERNANDEZ                    TX     75080469314
52227971984357   RONALD       HACKLER                      SC     14588649719
52228146977583   CAMERON      PEEK                         NV     90010871469
52228218555951   SUZANNE      ORTEGA                       CA     90006002185
52228328393724   ROGER        DUDLEY                       OH     90009343283
52229442861971   CARLOS       BAZAN                        CA     90012574428
52229981361973   JOHN         COY                          CA     90011839813
52233354955964   LETISCIA     MURO                         CA     90008943549
52233395361971   ADRIANA      GONZALEZ                     CA     90007133953
52233399555951   CHRISTINA    ANN MARBERRY                 CA     49016983995
52235182641222   JEFFREY      SANDERS JR                   PA     51016661826
52235325591895   BAIRO        FUENTES                      OK     90013253255
52235963684357   PERRYMAN     MICHAEL                      SC     90012179636
52236871661975   ELVIRA       MAURIN                       CA     46083628716
52238493584357   GAIL         WHITEHEAD                    GA     90010294935
52239585371964   DON          TAPLIN                       CO     32091505853
52239695233699   TIFFANY      JOHNSON                      NC     90008556952
52239923684373   CAROL-ANN    ROPER                        SC     90011639236
52242414361965   JOSE         CABEZAS                      CA     90013774143
52243468857157   MITSY        GOMEZ                        VA     81071554688
52244724451336   BRANDON      MOHN                         OH     66047027244
52245595684357   CARRIBEAN    JAMES                        SC     90013155956
52246489391587   OMAR         RAMIREZ                      TX     90012754893
52247712633696   JAIRO        CAMPOS                       NC     90011787126
52248381184357   MELISSA      KOON                         SC     90012823811
52248591431428   CARLA        MCCLENDON                    MO     27505895914
52249299355951   BARBARA      ARREDONDO                    CA     90006002993
52249332657157   SILVIO       LOPEZ                        VA     81008203326
52249919661973   NANCY        MENDEZ-VALDEZ                CA     46029769196
52249972384357   ANDREA       BONEPARTE                    SC     90003159723
52251534361965   MONICA       CEVALLOS                     CA     90001355343
52251979661973   ERIC         HILL                         CA     90013009796
52253888833699   FREDDY       GONZALEZ                     NC     90014908888
52253923191587   ROGELIO      SEPULVEDA                    TX     90012479231
52254785884357   CEILISHA     JONES-CHAPLIN                SC     90010957858
52254975733696   ERICA        DAVIS                        NC     90011869757
52256454831426   JONATHAN     BUTLER                       MO     90013264548
52256461171964   FERMIN       TORRES                       CO     32071114611
52256465984357   ALLEENA      BRYAN                        SC     90014284659
52258434833699   LAMONTE      HAWKINS                      NC     90012964348
52259267784373   TIFFANY      CAMERON                      SC     90012492677
52268636444363   ANTHONY      LEWIS                        MD     82063036364
52268682191895   BRENDA       BAKER                        OK     21009566821
52269283157157   STEFANI      MASON                        VA     90014152831
52272519371964   MOSES        VARGAS                       CO     90000495193
52272572761975   MOISES       GARCIA                       CA     90013095727
52272958291587   BERTHA       TRILLO                       TX     90010739582
52273536384373   JULIAN       HILL JR                      SC     19008525363
52273628191587   PATRICIA     MOLINA                       TX     90015126281
52273632391895   RANDI        DELAO                        OK     21066626323
52274125284373   DANIEL       BROWN                        SC     90014121252
52276214393724   JEFFREY      AMMON                        OH     90009692143
52276299451348   MARTIN       REYNOSO                      OH     90013792994
52277881951348   SHIEKQULIA   TAYLOR                       OH     90007138819
52278225271964   EDGAR        ELIZONDO                     CO     32091542252
52278725551348   SCHERINA     THOMAS                       OH     90005437255
52279213957157   LUIS         ALFARO                       VA     90003872139
52281638161965   JULIAN       FLORES                       CA     90000946381
52282678193724   JAZMIN       MENDIOLA CERVANTES           OH     64509136781
52282761333696   LAKIA        RHODES                       NC     90015077613
52283318191535   JULIAN       GUTIERREZ                    TX     90009473181
52283684281666   ORAEL        MAY                          MO     90014986842
52284298891587   JOSE         SUSTAITA                     TX     90011902988
52284339633696   CANDICE      MILLER                       NC     12004893396
52284679561975   PRICILLA     ACEVES                       CA     90010276795
52285287233699   SHAMEKA      FRANCE                       NC     90011092872
52285675361965   LUIS         CRUZ-GONZALEZ                CA     90009276753
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52288671761973   MARK          CALVARIO                    CA     90013956717
52288798861975   SAMUEL        CORONADO                    CA     90011437988
52289675584357   NYASHIA       GRIFFIN                     SC     90013456755
52289754491895   HAZEL         PALMER                      OK     90001457544
52291199393724   DARREN        WARE                        OH     90011321993
52291787561971   PAULO         SALAS                       CA     90013897875
52292297661965   MICHAEL       FRISHKORN                   CA     90010002976
52293676191895   MICHAEL       HOLT                        OK     90014476761
52294111733699   CATALINO      OLIVA                       NC     12037771117
52294171491587   ANA           CARVANTES                   NM     75012431714
52295911531429   TONYA         LOWE                        MO     27514669115
52296184755926   SAMANTHA      GALLYER                     CA     49015241847
52297658461973   SABRINA       GONGORA                     CA     90009946584
52298531433696   BRITTANY      BROWN                       NC     90002335314
52311859693776   TIFANY        FOX                         OH     90001648596
52314321761965   LETICIA       NUNEZ                       CA     46009053217
52314779393772   KYLE          FRANCIS                     KY     90004557793
52315896961965   CLAUDIA       TOSCANO                     CA     46002578969
52317997461971   SARA          FIERRO                      CA     90013459974
52318468184357   JAKIA         SINGLETON                   SC     90010784681
52318477693724   BRANDON       COTTON                      OH     90014274776
52321393184373   KOWALSKI      CATHERINE                   SC     90015003931
52321665461971   MARIA         PEREZ MEZA                  CA     46077926654
52322216851348   SUSANA        ARAUJO                      OH     90014152168
52322291657133   RACHEL        RODRIGUEZ                   VA     90014872916
52323581333699   PATRICIA      BRUNER-HOOVER               NC     90011825813
52323966291895   JUSTIN        WHITE                       OK     90014829662
52324849831428   MICHAEL       THOMAS                      MO     27576848498
52325519655951   JOE CARMELO   RODRIGUEZ                   CA     90006005196
52331755533157   ARTURO        SANCHES                     IL     90000187555
52331918881693   ROSALYN       ARRINGTON                   MO     29079739188
52332158984357   SAVONDA       SMALLS                      SC     90012571589
52332687251348   JACKI         COX-LOVINS                  OH     90002436872
52332934961971   TONI          SOALABLAI                   CA     90015349349
52333289931429   JAMAL         COLE                        MO     90005852899
52338513461965   ANTONIO       TEJEDA                      CA     90013405134
52338611791892   EVA           VILCHIS                     OK     90010636117
52338673633699   RUTH          CALDWELL                    NC     90014806736
52339572655951   MICHAEL       AVILES                      CA     90009355726
52341676384357   IDA           WIGGS                       SC     90012476763
52342339984373   TRAVIS        GORDON                      SC     90014763399
52346294351348   AVIA          VIERLING                    OH     66036272943
52346464361965   IRENE         FARIAS                      CA     46076344643
52346849284357   DANIEL        WRIGHT JR                   SC     90015138492
52346859991587   ANOTHY        HALL                        TX     90013748599
52346986361473   ABDI          DIRIE                       OH     90013889863
52347872491895   CHRIS         BOONE                       OK     90014238724
52348641257157   LORENA        PONCE                       VA     90009976412
52349739684373   LATASHA       SMALLS                      SC     90015137396
52349783571964   ESPERANZA     SIMS                        CO     90008747835
52352469933696   HEATHER       GLENN                       NC     90007494699
52353179161973   JULIETTA      BECERRA                     CA     90013031791
52354864857157   PATRICIA      OCHOA                       VA     90004228648
52354955351348   DALLAS        HINES                       OH     90005109553
52354963684357   PERRYMAN      MICHAEL                     SC     90012179636
52355351133696   MERRICK       MARION                      NC     90009733511
52356494593724   JEREMY        RIFE                        OH     64526154945
52356628161965   SONIA         YOUNUS                      CA     90013986281
52357666361973   CAMI          KELLEY                      CA     46030096663
52357886151348   CASSANDRA     BLAND                       OH     66092918861
52358863251348   SAMANTHA      PAULEY                      OH     66032728632
52361231961995   ARLENE        LUGO                        CA     90013772319
52361279161973   LAURA         OROZCO                      CA     90008842791
52361815133696   VANECIA       GAINEY                      NC     12041898151
52363581291535   SAUL          GARCIA                      TX     75091265812
52364725461965   JOSE          ORTEGA                      CA     46007967254
52366178891587   SAMUEL        GARCIA                      TX     90013951788
52366193751348   DESTINY       RAYBOURNE                   OH     90014511937
52367561761973   ANA KARINA    ASCENCIO                    CA     90011445617
52367986561971   TETO          FIERRO                      CA     90007829865
52368281591587   GABRIEL       HERNANDEZ                   TX     90013992815
52368588484373   MARITE        SOSOL                       SC     19070485884
52369297893724   TAUNA         FLOYD                       CO     64579952978
52369453291587   JESSICA       MARTINEZ                    TX     90013784532
52369713291895   EFRAIN        VASQUEZ                     OK     21085237132
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52371557684357   MAURICE       HUNT                        SC     90012935576
52372748661975   LETICIA       LIRA                        CA     46050187486
52372764751348   KIMBERLY      PHILLIPS                    KY     90013667647
52373511233696   TIFFANY       FARM                        NC     90013275112
52374896457157   MARIA         MENDOZA                     VA     90014758964
52374977333699   AMANDA        FOSTER                      NC     90013319773
52377224871964   CONCEPCION    GARICA                      CO     32079212248
52377227233696   ALPHONSO      CHAMBERS                    NC     90011932272
52377367161965   RODNEY        JORDAN                      CA     90010323671
52377617384357   PRISCILLA     MARTINEZ                    SC     90004116173
52379484661971   CYNTHIA       WILKEY                      CA     46009594846
52381145491895   JUSTIN        NEWPORT                     OK     90013131454
52382271961936   CATALINA      RODRIGUEZ                   CA     90010492719
52382749871964   DUANE         BACK                        CO     90008467498
52383341451379   ANGEL         PUFALL                      OH     90012923414
52383573951348   CHRISTOPHER   RUTLEDGE                    OH     90012065739
52383639433699   CERVANDO      PINEDA                      NC     90013926394
52384547484373   KEOSHA        THORNE                      SC     19056395474
52384751461973   CESAR         GRACIANO                    CA     90005037514
52385553384373   ERSHIE        MCNIEL                      SC     19031685533
52386646671964   THOMAS        MOUSAW                      CO     90006866466
52387538161975   RALPHY        COTA                        CA     90012085381
52391179591587   JESUS         ALPANZA                     TX     90013951795
52393291561975   JASMINE       SANTOS                      CA     90007742915
52393327551348   GAITHER       HARRIS                      OH     90012983275
52394499993724   REBECCA       ARDEN                       OH     90002874999
52394594761973   DIANA         TUTTLE                      CA     46067555947
52394754961973   VICTOR        ESTRADA                     CA     46065457549
52394818391348   ANTRINA       KING                        KS     90009538183
52395313691895   ALISSA        GROGAN                      OK     90014233136
52395317961965   VU            TRAN                        CA     90007633179
52396444857157   JERARDO       VALLE                       VA     90010904448
52396464333699   BETTY         WILLIAMS                    NC     90011074643
52396847157157   OTIS          JACKSON                     VA     81083448471
52397339371964   SEAN          PORTER                      CO     90010083393
52399183584357   STACI         HEYWARD                     SC     90002981835
52411324841244   GAIL          LOOKER                      PA     90004253248
52412284293724   TINA          WALTERS                     OH     90010362842
52416423984852   MIGUEL        ANAYA                       NJ     90015064239
52416899891999   KRYSTAL       CORNISH                     NC     90010408998
52416957957157   JOSE          REYES                       VA     90011329579
52417151357123   PEDRO         HERNANDEZ                   VA     90002501513
52418284231429   LASHONDA      THURMAN                     MO     90005012842
52418785861973   WILLIAM       MORAN                       CA     90012627858
52419121685928   FELIPE        GARCIA                      KY     67051521216
52419358891587   BRENDA        RINCON                      TX     90010393588
52419655142335   SHELBY        HAMILTON                    GA     90013596551
52419835257157   TYRONE        STEWART                     VA     90012838352
52421574155951   MARIA         GONZALEZ-PEREZ              CA     49091555741
52421843491856   GAIL          NELSON                      OK     90008868434
52422632257157   ANTHONY       EDWARDS                     VA     90008316322
52423368951348   ISHA          CHAM                        OH     90008643689
52423437555947   ANGELA        GALLOWAY                    CA     90009954375
52423478457124   GENAR         PADILLA                     VA     90008364784
52424919561973   GRICELDA      RIVERA`                     CA     46090609195
52425194561973   BERNANRDO     RUIZ                        CA     90012741945
52426332833689   CHUKI         MARTIN                      NC     90012823328
52427175133696   CHAZ          WRIGHT                      NC     12064001751
52428664784373   LAKENYEA      ROYAL                       SC     90014036647
52429865957157   RUT           AGUILAR                     VA     90007618659
52432115633699   JENNIFER      DUNCAN                      NC     90013891156
52432616861975   GUILLERMO     MARTINEZ                    CA     46017556168
52433142591968   DONNA         HOLLOWAY                    NC     17067781425
52434261884357   SHANTA        BOLES                       SC     90012442618
52434383951348   GERALDINE     HARRIS                      OH     90010983839
52434418333696   TERRANCE      LOTT                        NC     90014284183
52436312593724   LATOYA        SCANDIRICK                  OH     90012033125
52437736357157   CERICK        GRIFFIN                     VA     90012847363
52441372351348   DAWANA        RISTON                      OH     90014623723
52441595384357   SHANTEL       WILLIAMS                    SC     90009175953
52442142833699   TERESA        MURPHY                      NC     12032971428
52442186191587   ROSA          CORTEZ                      TX     75095001861
52442412661975   ISRAEL        SANDOVAL                    CA     90010094126
52444299361975   MICHEAL       SMITH                       CA     90015332993
52445662784373   CARRIE        BROWN                       SC     90010246627
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52447772757131   DAVID         RODRIGUEZ                   VA     90006067727
52447942961965   SUSANA        RODRIGUEZ                   CA     90015179429
52448224293724   MELINDA       WELLS                       OH     90010982242
52448538733699   ADRIAN        MARTIN                      NC     90004745387
52449613131428   INASS         ELOUERRASSI                 MO     27500586131
52449779561965   YVONNE        SERVIS                      CA     90008837795
52451981771964   DARRON        HOWARD                      CO     90006879817
52452875877522   MARIO         WILLIAMS                    NV     90014128758
52453197684373   MARIANA       GARCIA                      SC     90008361976
52454494157157   VERONICA      MORENO                      VA     90011904941
52455981757157   BRIAN         JHONSON                     VA     90012849817
52457649291895   IMAD          SAFA                        OK     21074606492
52457798733696   MARILYN       GAITHER                     NC     12015537987
52458378833699   LATOYEA       FINNEY                      NC     90014923788
52459458433699   ANA MARIA     BERNARDINO                  NC     90013084584
52461299733696   EARL          ARTIS                       NC     12094762997
52462612561973   ROSA          MUNOZ                       CA     90009776125
52462748361965   VITALII       PUKAS                       CA     90009297483
52462865484357   NICHLAS       BLAZEWICZ                   SC     90014268654
52463236361975   ALEJANDROO    ESPINOZA                    CA     46034042363
52463429731428   EDRAR         SOSA                        MO     90010554297
52463519333699   JENNIFER      CAUDLE                      NC     90012335193
52464923591587   CAMILA J      BATRES                      TX     75070019235
52465422593724   LAURA         TERRELL                     OH     90014964225
52465533661971   JOSEPH        LUTERO                      CA     46094305336
52469987251348   THORNBERRY    JAMES                       OH     90003449872
52471511233699   JAMIKA        WATTS                       NC     90015155112
52472172961965   NORMA         GONZALEZ                    CA     46087721729
52472292533696   RASHETTA      ARCHER                      NC     90012922925
52472333736165   VERA          MARTINEZ                    TX     73512223337
52473299291895   ELIDA         HELER                       OK     90005542992
52476484361975   JAVIER        CARDENAS                    CA     90011424843
52477172391895   NIKI          DAVIS                       OK     90011181723
52477293761965   RUTH          CALLIHAN                    CA     46008992937
52477586186427   FIDEL         CRUZ                        SC     90014375861
52477774451331   DAVID         EALY                        OH     66018097744
52478954693724   BRIAN         TELL                        OH     90009179546
52479198291587   MARIA         MARTINEZ                    TX     90013951982
52479268961965   LUIS          QUEVEDO                     CA     90011332689
52479695593724   BILLIE        BUCK                        OH     64530776955
52481198291587   MARIA         MARTINEZ                    TX     90013951982
52482297591895   PRISCILLA     BERRYHILL                   OK     90013132975
52482685433699   KAREN         WILLIAMS                    NC     90013836854
52485144551348   SHERRY        GRIFFIN                     OH     90013871445
52485283651326   CHRISTI S     SOLLMANN                    OH     90007852836
52485422961965   REYNA         MANJARREZ                   CA     46015914229
52485874133696   CLESHAY       BREECE                      NC     90013678741
52486944784373   GORGONIO      MORENO                      SC     19041239447
52487127861973   NEPH          HH                          CA     90008001278
52488861761971   REYNALDO      SANDOVAL                    CA     46017798617
52489692991521   SIMON         LOBBAN                      TX     90012006929
52489843651348   JEFFREY       TURNER                      OH     90011888436
52489948884373   JOSE          HERNANDEZ LOPEZ             SC     90014589488
52491673861971   DAISY         ROJAS                       CA     90012886738
52492221591895   FREDRICK      MEEKS                       OK     90014462215
52494427493724   ERICA         TOLIVER                     OH     90011174274
52495192693724   JACOB         MACKEY                      OH     90013581926
52496944291587   GLORIA        VIDAL                       TX     90014649442
52498121961971   ANN MARIE     GOFFENEY                    CA     90010871219
52511461133696   DAYNEZ        ORDONEZ                     NC     90010984611
52511566755947   ANGEL         VALENCIA                    CA     90015135667
52512377371964   SHILOH        LILLEY                      CO     90011613773
52512514231428   AISHA         WILKES                      MO     90011185142
52512931191895   PATRICK       BRIGGS                      OK     21084919311
52513141391534   AMANCIO       GONZALEZ                    NM     90011431413
52513678661975   CHRISTOPHER   SCHILAWSKI                  CA     90011876786
52514628161965   SONIA         YOUNUS                      CA     90013986281
52515147193724   VERA          PEPPER                      OH     64572091471
52515583491587   MARTHA        MADRIZ                      TX     75007555834
52515628331428   JANICE        JAMES                       MO     90010556283
52517223171964   KALEB         ALLEN                       CO     90011312231
52518896391535   SAMUEL        CAMPOS                      TX     90013248963
52519211633699   JONATHAN      MAUDIEL-MIRON               NC     90014272116
52519428271964   ARTHUR        GALLEGOS                    CO     90011614282
52521755161971   WILL          MOOG                        CA     90010747551
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52523215591587   NANCY                 MUNGUIA             NM     75042372155
52524167357157   MARINA                MONTERROSA          VA     90007931673
52524197171964   ROBERT                SANFORD             CO     32092091971
52525943431428   VICTORIA              SMITH               MO     90009399434
52526646731429   MARCUS                NOLEN               MO     90005866467
52526689593724   JAMES                 RICE                OH     90012466895
52527149391535   LETICIA               DURAN               TX     90011401493
52527557791552   CECILIA               CISNEROS            TX     90013245577
52528378571964   DENNIS                SHENK               CO     90006893785
52528887193724   JAMES                 VANHOOSE            OH     90011068871
52534532691587   SAMMY                 CHAVEZ              TX     90012495326
52534667561971   AYLIN                 RIVERA              CA     90013826675
52535442731428   HARRY                 WILLIAMS            MO     27595844427
52536635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH          CA     90015116353
52536918933696   KIMBERLY              MINOR               NC     90004649189
52537592361971   KHOSROW               EFTEKHARI           CA     90014285923
52538179791895   KAREN                 PAYNE               OK     21078601797
52541755961949   MARIA                 VILLALVAZO          CA     90014167559
52545997691895   JENNIFER              LUGO                OK     21079859976
52546811491895   MARY                  HYNES               OK     90009478114
52548155284373   WILLIAM               TARTER              SC     90012831552
52548217251348   OCIEL                 CASTRO              OH     90014152172
52548787284373   WILLIAM               TARTER              SC     90011657872
52549223857157   MILTON                TURCIOS             VA     81040872238
52549298357157   ELSA                  VALLADARES          VA     90014172983
52549723897127   TROY                  MCMILLAN            OR     90010437238
52551245791587   ELVIA                 CABRAL              TX     90012722457
52551961761975   DAWB                  LURVEY              CA     90013449617
52552137457157   HENRY                 BAUTISTA            VA     90011911374
52552334833696   DARREN                GOINS               NC     90009973348
52552452557157   TENINA                DAVIS               VA     90014694525
52552759593724   BRANDI                GUY                 OH     90010137595
52553274471964   JONATHAN              MENDEZ              CO     90000692744
52553726361975   RUBY                  ARELLANO            CA     90000127263
52553754961975   LIZBETH               CANELA              CA     90013857549
52554551371964   STEPHANIE             TRUJILLO            CO     90011615513
52557413884373   ANTON                 SMALL               SC     90014914138
52557683161975   CHRISTIAN             HERNANDEZ           CA     90007806831
52557765691895   TIYANKA               WASHINGTON          OK     90004327656
52558582331692   CARLOS                MARROQUIN           KS     90012455823
52561743861548   ARISTEO               TORRES              TN     90014837438
52563428591587   DEBBIE                ROJAS               TX     90011354285
52563555461975   EVERARDO              HERNANDEZ           CA     46034715554
52564223684852   ESMERALDA             CUITERREZ           NJ     90013842236
52564538661973   MARQUEEN              MECASIEB            CA     90005165386
52564949891587   THEODORE              PERRY               TX     90011959498
52565546891587   EVA                   BARRON              TX     90013225468
52566178451348   JENNIFER              KENNEDY             OH     66029951784
52567583491587   MARTHA                MADRIZ              TX     75007555834
52568285561973   GUADALUPE             MARQUEZ             CA     46030112855
52569742833699   GREGORY               LIPSCOMB            NC     90014127428
52571694855939   EDUARDO               RUIZ                CA     90004196948
52574599461975   IVAN                  MARTINEZ            CA     90010115994
52575952561971   RAYMOND               MARQUEZ             CA     90013509525
52576195671923   DOMINIQUE             MARTINEZ            CO     90006071956
52576237761973   KENYA                 SANCHEZ             CA     90012922377
52577476261973   RAY                   RAMOS               CA     46078194762
52578832284357   HOWARD                ALLEN               SC     14548138322
52581763358528   MONIQUE               NORMAN              NY     90009217633
52582691761975   KAREN                 URREA               CA     90015156917
52584953233696   FREDDIE               CORNELIUS           NC     90001629532
52587787291587   EVA                   SIANEZ              TX     90001917872
52588249731428   PHIL                  BROWNLEE            MO     27589372497
52588548961975   ADRIANA               SPICUZZA            CA     90013975489
52592545861973   JORGE                 OCHOA               CA     90004855458
52593413657157   SAMUEL                RIVERA              VA     81021094136
52593478191587   ANGELA                GONZALEZ            TX     90014434781
52595546333699   BERENICE              SALINAS             NC     90013305463
52596441251348   ANGELA                PARKER              OH     66068314412
52597982633696   CHERYL                DIAZ-RAMIREZ        NC     90014689826
52599781984357   TRAE                  EVERETT             SC     14594037819
52599857433696   JADA                  HUNTER              NC     90006168574
52599977584357   TRAE                  EVERETT             SC     14594739775
52613514491587   VANESSA               LORENZO             TX     75082205144
52613622561973   CONSUELO              MENDOZA             CA     46042066225
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52613935133696   DARLENE      KITCHEN                      NC     12043389351
52614729291587   NAYELI       SOLIS                        TX     90010977292
52615193585928   PAUL         HUFF                         KY     90001641935
52617883591895   MARCUS       HENSINGER                    OK     90014738835
52618168861965   BIANCA       MALDONADO                    CA     46088031688
52619383131429   DAYZHA       CURR                         MO     90005913831
52622271481683   STEVEN       DYE                          MO     90011802714
52622371761971   MANUEL       FUENTES                      CA     46022243717
52622512951348   DESHANAE     LEWIS                        OH     90013535129
52622759361973   ALTHEA       STEWART                      CA     46029457593
52623239791587   RAYMUNDO     CARRILLLO                    TX     90013952397
52624522671388   AMBER        PHILLIPS                     CO     90010335226
52625342891265   ALICIA       BRENNAN                      GA     14505503428
52625982184373   LABINIA      MEDINA                       SC     90014829821
52627753991587   JESSICA      MACIAS                       TX     90009947539
52633824461973   JEAN         MICHEL                       CA     90003458244
52635344884357   PHILICIA     WING                         SC     90009173448
52635653751351   JESSICA      MARCUM                       OH     90003736537
52637989991587   CRYSTAL      HERNANDEZ                    TX     90006839899
52638836154151   AMY          TRAN                         OR     47090758361
52639323891895   SOLOMON      TARIAH                       OK     90014933238
52639375893724   JENNIFER     COURTNEY                     OH     90007113758
52639863491587   CODY         CLIFTON                      TX     90004148634
52641462291895   JANE         ESTES                        OK     90014824622
52641581293724   DARLA        WILLIAMS                     OH     64563105812
52642285157157   RENEE        LILLY- HOLMES                VA     81072262851
52642596784373   HENRY        MORRISON                     SC     90013965967
52642598966186   CALEN        EVERETT                      CA     90015175989
52642849461971   MARTIN       CISNEROS                     CA     46012238494
52643575484373   LEANDRO      FORTADO                      SC     90012045754
52643576961965   AMBER        CASTRO                       CA     90014985769
52644182654151   MARIAH       RAMSEY                       OR     90007951826
52644689561965   KRIS         BRUCE                        CA     46057576895
52645447484357   DANIA        NUNZIE                       SC     90010184474
52648281261975   DENNIS       VENEZIA                      CA     46034562812
52651393761971   MEGAN        PERKINS                      CA     90010713937
52651693661965   MICHAEL      JOHNSON                      CA     90015286936
52652718191895   RITA         FANNIN                       OK     21003157181
52653161885928   RODNEY       LIGHTFOOT                    KY     90005501618
52653399861975   MATTHEW      SMITH                        CA     90013283998
52653541761965   OLGA         DIAZ                         CA     46037865417
52653988851348   KIMBERLY     ALLEN                        OH     66025629888
52656529757157   JUNIOR       ECHEGARAY                    VA     90010355297
52656741557157   ALIEU        KAMARA                       VA     90012867415
52657171751348   DOLORES      UNGERBUEHLER                 OH     90001991717
52657436657157   ZEESHAN      KHALID                       VA     90008204366
52657819361973   DIANA        CASTRO                       CA     90005818193
52662613884357   AMBER        STIBITZ                      SC     90011406138
52663366861971   SANDRA       MONDRAGON                    CA     90005283668
52663789957157   PEDRO        INAJA                        VA     90010937899
52664685891535   HILDA        PONCE                        TX     90011236858
52664842561975   DANTER       ELIZALDE                     CA     46017788425
52665549733699   LATASHA      FINNEY                       NC     90014885497
52666245591587   DULCE        LOERA                        TX     90013952455
52666625442335   LACEY        SHARKEY                      TN     90015506254
52666828861965   ALBA         PINEDA                       CA     90006838288
52667677184373   LELAND       WARING                       SC     19072996771
52667864161973   RUFINO       QUEZADA                      CA     46085868641
52669321791587   ALEJANDRO    ORTEGA                       TX     90004493217
52669638391587   JORGE        GOMEZ                        TX     90015206383
52669727451348   ANTONIO      PEREZ MENA                   OH     90015127274
52669866871964   JOSEPH       FISH                         CO     90011618668
52671225161975   LUZ          MARTINEZ                     CA     90009732251
52672523184357   DOMINIQUE    EUGENE                       SC     90015465231
52672546291587   LUZ          VASQUEZ                      TX     90014085462
52672991261965   ALICIA       VELLEGE DE SANCHEZ           CA     90010929912
52673123391895   MARIA        DIAZ                         OK     90014241233
52673264233699   KARENA       MOBLEY                       NC     90013802642
52673622151348   MONICA       BRIDGES                      OH     66007596221
52673683531429   THEODIS      WATTS                        MO     90005916835
52674265991587   SANDRA       SIGALA                       TX     90013952659
52674611333699   HUMBERTO     JUAREZ                       NC     90011466113
52674726784357   JEREA        HAYES                        SC     90013227267
52677278733696   RADOVAN      BANOVIC                      NC     12083412787
52678276661975   DAVID        JACKSON                      CA     90000952766
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52678698561973   ANA                   MORALES             CA     46073576985
52679391171964   RYAN                  RICHARDSON          CO     90001703911
52683265991587   SANDRA                SIGALA              TX     90013952659
52684258731479   AMELIA                HILL                MO     27553612587
52684589651348   TIMOTHY               JACKSON             OH     66022765896
52686642871964   TIM                   LEWIS               CO     32091986428
52687192333696   GARRY                 LOWERY              NC     90013771923
52689829831429   NICHOLAS              NADEAU              MO     90005918298
52691548893724   WANETTA               PETERSON            OH     90008355488
52692184491521   JUDITH                MEDINA              TX     90009981844
52693396493724   BRETT                 WOOLERY             OH     90011933964
52695186391895   SHALEIGH              MCLAIN              OK     90010321863
52695234233696   ERIC                  AMOS                NC     90011162342
52695275991587   NANCY                 AGUILAR             TX     90013952759
52695912491895   SHALEIGH              MCLAIN              OK     90014659124
52696427484357   LATOYA                ROYSTER             SC     90008744274
52696833671964   BRIAN                 TABAR               CO     90006878336
52699359551336   CHARLOTTE             ROGERS              OH     90007413595
52699938351348   DEBRA                 HEBEL               OH     90014869383
52711894271964   ROBERT                ROMO                CO     90012458942
52712819961965   EMMETT                MARTIN              CA     46010208199
52714477271964   SEAN                  MCCONWILL           CO     32092014772
52715627942335   YVETTE                SHARKEY             TN     90015506279
52716753661965   BRIAN                 SULLIVAN            CA     46095507536
52716948693724   LESLI                 MARTINEZ            OH     90013609486
52717827257157   STELLA                ESQUIVEL            VA     81072068272
52722182671964   JAMES                 TAYLOR              CO     90011621826
52723316341233   SAMANTHA              MICHAEL             PA     90001393163
52723367784373   TESSCIA               SIENNINGSEN         SC     19034693677
52724115184357   SHARON                LING                SC     90015571151
52724639831428   WILLIAM               DESPAGNI            MO     90000656398
52724768661965   AMY                   TODD                CA     90000947686
52726554261965   VIRIDIANA             MENDEZ              CA     90012975542
52727267657157   JONATHAN              MUNIZ               VA     90002362676
52728617571964   TIARIA                MAJORS              CO     90009286175
52729127757157   SADE                  HARRIS              VA     90015081277
52729327533699   TASHA                 SAMUELS             NC     90010373275
52729471384373   BERNADETTE            LADSON              SC     90000984713
52731465261973   JEREMY                POWELL              CA     90011224652
52732334591587   JOEL                  GUZMAN              TX     90000703345
52732785451348   SHYLAH                MASON               OH     90010317854
52733348231428   MASONE                NASH                MO     90007943482
52735549233157   CLAUDIA               HERNANDEZ           IL     20597755492
52737153661975   SHAWN                 FULLER              CA     46035381536
52742593357157   ADA                   QUINTANILLA         VA     81028475933
52743273533699   REYNA                 OCAMPO              NC     90012662735
52743579251348   JAMES                 LUEHRMAN            OH     90000425792
52743848991895   TERRELL               GERMAN              OK     90011208489
52744625791587   BEATRIZ               RAMIREZ             TX     90002076257
52745449791587   AARON                 TERAN               TX     90014454497
52745787561971   JASON                 SANDERS             CA     46058937875
52748227533699   MARLENE               THOMAS              NC     90012882275
52748322731429   ASHLEY                THOMPSON            MO     90005923227
52748931585928   ANTONIO               FLORES              KY     90000559315
52749423991587   ARMANDO               CASTRO              TX     90014424239
52751857261971   ANTHONY               NATALLEZ            CA     90012198572
52751877757157   LUIS                  RIVAS               VA     90014868777
52751972733696   JULIE                 JORDAN              NC     90011389727
52752666861975   RAUL                  PALONERA            CA     90003846668
52754635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH          CA     90015116353
52754742891587   VICTOR                FALCON              TX     75061417428
52756584961965   ESMERALDA             PRECIADO            CA     90013585849
52756637971964   MANUEL                SMITH               CO     32092076379
52758546661975   ELI                   CAVAZOS             CA     90012085466
52758944684357   JAMIE                 HANNAH              SC     90014089446
52759746731428   JOHNNY                HOLT                MO     90000287467
52761481184373   NATALIE               BONDURANT           SC     90014934811
52761484657157   TERRIE                MULLINS             VA     90000474846
52761752633696   JAMES                 DULA                NC     90010627526
52763593357157   ADA                   QUINTANILLA         VA     81028475933
52764188333699   NYKIAAH               CURRY               NC     90004381883
52765591291587   JOSE                  GUTIERREZ           TX     75016845912
52765795893724   ALYCIA                WELLZ               OH     90003037958
52767248684373   JHOANA                MOLLINEDO           SC     90013112486
52768193833696   SAMUEL                CHAVIS              NC     90009441938
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52768548861965   PATRICIA     REYES MARTINEZ               CA     90014895488
52769464757157   ALFRED       BLAKE                        VA     90000654647
52769769133699   SHELAINE     WHITLOCK                     NC     90006887691
52771281171964   DARRYL       ABERNATHY                    CO     90011622811
52772217661975   ERIKA        SECENAS                      CA     90005352176
52773578184342   CHARSETTA    GRAHAM                       SC     90013315781
52773587371964   HUMBERTO     GALLEGO                      CO     90012415873
52774324991587   FRANSCICO    CHAVIRA                      TX     90013953249
52774652293724   DEBRA        BROWN                        OH     90012626522
52775355561973   ERICK        GOODALL                      CA     90011963555
52775679591587   JOSE         BARRAZA                      TX     75003716795
52776329991587   ADOLFO       MELENDEZ                     TX     90013953299
52776343357157   ALEXIS       WHITE                        VA     90013323433
52776766533696   FLOYD        AYDELELLE                    NC     90013247665
52776889133699   RAQUEL       OLMEDO                       NC     90012038891
52776892461975   LIDIA        LOPEZ                        CA     46004928924
52782717591587   JESSICA      REYES                        TX     90011877175
52783431991587   HECTOR       RAMIREZ                      TX     90014864319
52783679361975   JOSUE        EMMANUEL                     CA     90008356793
52783816161973   LUCIA        BROWN                        CA     90013078161
52783838184357   BRAD         MCCOLLOCH                    SC     90010388381
52784275391895   DULCE        BECERRA                      OK     90013142753
52785329991587   ADOLFO       MELENDEZ                     TX     90013953299
52786669961973   MARIA        OLAGUE                       CA     46055696699
52788366191895   ERICA        MAGEE                        OK     21019283661
52788447757157   DAGOBERTO    POSADA                       VA     90005454477
52788625533696   JAMES        JAMESON                      NC     90013686255
52789982557157   JHON         TOMAS                        VA     90009859825
52791587984373   EMILY        SMITH                        SC     19077095879
52792969871964   ELDER        DELGADO                      CO     32015689698
52793151471964   JAMES        BOYER                        CO     90011771514
52793284184373   BRUCE        KASTENMEIER                  SC     90013932841
52794984991895   DIGENE       MISHION                      OK     90011209849
52795167951348   ASA          MC NEIL                      OH     90001781679
52798892293724   JASON        JOHNSON                      OH     90012918922
52799763751348   MARLAN       LEARY                        OH     66062677637
52811637191348   SCOTT        GLOEB                        KS     29032356371
52812783257157   CARLA        GARCIA                       VA     90014727832
52813323861973   BLANCA       CAMBEROS                     CA     46046153238
52813968533696   WILLIE       JEFFRIES                     NC     12067349685
52815562461965   ISABEL       RUBIO                        CA     90006015624
52815797297125   SHALONTE     CRAWFORD                     OR     90012527972
52817829961971   CESY         GARZA                        CA     46046268299
52817831661965   PARKER       TRAMMELL                     CA     90012708316
52818248761971   AGUILAR      ANGEL & MANDI                CA     46013132487
52818695393724   IVR          ACTIVATION                   OH     90008336953
52818731161975   TORREZ       ELISA                        CA     90010217311
52818739284357   ZION         HOLMES                       SC     90010407392
52819287471671   MATTHEW      LABARGE                      NY     90009272874
52821134985928   JANET        LOWE                         KY     67030411349
52821157691587   CLAUDIA      DELGADO                      TX     90002071576
52821481284357   SAMERIA      MUHAMMAD                     SC     90015094812
52821576493724   JACK         SIMMS                        OH     90012265764
52824659557157   WILMER       FLORES                       VA     90006156595
52824982461971   JOHN         HICKS                        CA     90012849824
52824991351348   JESSICA      LOWRY                        OH     90013689913
52825245757157   BLANCA       CARABANTES                   VA     90014392457
52825595951348   PUNKIN       HICKSON                      OH     90004225959
52826411461975   JANNET       FERNANDEZ                    CA     90011334114
52828444591895   TILDA        SIMMONS                      OK     21051554445
52829696171964   NATHAN       BRESCI                       CO     90004036961
52831696171964   NATHAN       BRESCI                       CO     90004036961
52834248691895   JANELLE      WHITE                        OK     21088162486
52835312791895   PATRICIA     BEHN                         OK     90014243127
52835468861548   DERRICK      STEWART                      TN     90014094688
52835711891587   DYLAN        BAIRD                        TX     90007307118
52835982633696   AVA          WHITWORTH                    NC     90014129826
52837854684357   JAVASSIA     ROBINSON                     SC     90015238546
52838151651343   JAY          WINSTON                      OH     90007171516
52838193761973   JAVIER       RAMIREZ                      CA     90011491937
52839743133699   WILLIE       GWYN                         NC     12083647431
52841144261971   LUCY         ALVARADO                     CA     90012781442
52841399961965   ANDREW       DENNY                        CA     90010663999
52841589161975   JAQUELIN     GARCIA                       CA     46035035891
52841991391895   THOMAS       MENCHACA                     OK     21004169913
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52842365391895   AARON         HUMPHREYS                   OK     90014243653
52842994133699   BENJAMIN      GARIBAY                     NC     12085109941
52843483184373   MALIK         HARDIMAN                    SC     90014704831
52843811491587   DESIDERIO     NAVA                        TX     75082878114
52843831451348   THOMAS        BANKS                       OH     66026468314
52844263733696   CRYSTAL       PRICE                       NC     90011302637
52844951433699   MIKEYA        GADSON                      NC     90009459514
52845378584357   CARLOS        ALVAREZ                     SC     90004633785
52845938893724   CIERRA        MALLORY                     OH     90014229388
52848625393724   PAUL          MACK                        OH     90010306253
52848938351348   RICHARD       HALL                        OH     90002059383
52849756933696   JENNIE        KONOSKI                     NC     90015137569
52851315361939   FERNANDO      DURAN                       CA     90009413153
52851581884334   JOSHUA        HASELDEN                    SC     90014845818
52853524784373   CHRISTOPHER   CONNELLY                    SC     90015045247
52853638291895   CANDACE       WOOD                        OK     90008066382
52854234661548   WILL          BENEFIEL                    TN     90015592346
52854251161975   YOLANDA       ADKINS                      CA     90012562511
52854632184357   JONATHAN      PATRICK                     SC     90015586321
52854715551348   JORJE         PEREZ                       OH     90012347155
52855149593724   MICHELLE      HEINLEIN                    OH     90013601495
52855536985928   JENNIFER      GUNN                        KY     67091705369
52855977391587   JOSE          HOLGUIN                     TX     90013329773
52858396161965   DEBRA         ROBINSON                    CA     90001873961
52859824391587   JOSE          ACOSTA                      TX     90014758243
52862185193724   JAMES         CLARK                       OH     90014711851
52862435661971   LARRY         SLINGERLAND                 CA     90013534356
52862996484357   LISA          MOULTRIE                    SC     90013069964
52864631861975   GUADALUPE     COLADO                      CA     90008576318
52865885284357   ADRIANA       RODRIGUEZ                   SC     90013408852
52865939261971   JUSTINE       BATTS                       CA     46048219392
52866775357124   RAUL          BENITEZ                     VA     90010027753
52866973693724   MARIA         COOPER                      OH     90011929736
52867999684373   MALIK         TAYLOR                      SC     90013669996
52868529531428   LINDA         STREICHER                   MO     90010575295
52868911761965   TIARE         CORRAL                      CA     90010029117
52868939891587   KARLA         CARDONA                     TX     90011429398
52871822177581   CASSANDRA     KIMBROUGH                   NV     90008238221
52872368793724   STEVEN        WILSON                      OH     64594603687
52872755261965   MAY           ALJUMAILI                   CA     90013987552
52874198533699   MEGAN         COLLINS                     NC     90014301985
52874275461986   LIDA          WOODARD                     CA     90006682754
52878399785824   CURTIS        JENNINGS                    CA     90008653997
52879752361965   JUANA         BONILLA                     CA     90010667523
52883334661973   KATRINA       QUEZADA                     CA     90010373346
52884213633699   SELAMAWIT     TEKLEMICAEL                 NC     90012602136
52886693533696   JAMES         GILMORE                     NC     90013046935
52886871784373   TIMOTHY       BROWN                       SC     90013768717
52887193751348   DESTINY       RAYBOURNE                   OH     90014511937
52887363471964   KARISSA       CRUMP                       CO     90003193634
52887596861949   CRISANTO      VENTO                       CA     90000315968
52888117861971   MARIBEL       RODRIGUEZ                   CA     90008091178
52888318333696   KIMBERLY      OLIVER                      NC     12003863183
52888496593724   DOROTHY       BROWN                       OH     90011084965
52888631384357   BERNARD       ROBINSON                    SC     90012236313
52889336333696   JAMES         BOND                        NC     90010063363
52891562361944   EVELYN        KUEPPERS                    CA     90007795623
52891675384357   KIWANA        DONEISE                     SC     90014126753
52892975663623   PAYGO         IVR ACTIVATION              MO     90014279756
52893663461965   LARRY         PINNICK                     CA     90011566634
52894538961936   ELVIRA        DELGADO                     CA     90011665389
52898188293724   TANESIA       HOPSON                      OH     90001181882
52899377333696   TIWANNA       TAYLOR                      NC     90013393773
52914167451348   LADE          AEYEMI                      OH     90014041674
52914462761965   ERICA         PARRIS                      CA     90013174627
52914799861975   DIANA         DE DIOS GAYTAN              CA     90010227998
52914897833699   JENNIFER      HERNANDEZ                   NC     90012938978
52915465891895   KARIN         CAUDLE                      OK     90014244658
52916628161975   GLORIA        TRASVINA                    CA     90014646281
52918748184373   GEOVANI       LOPEZ                       SC     19087827481
52923113591587   VICTOR        PALACIOS                    TX     75026011135
52923728491895   MELISSA       JORGENSEN                   OK     90011217284
52924382161975   MARISELA      RAMIREZ                     CA     90014843821
52924839757157   PATRICK       DYSON                       VA     90013758397
52925329891925   SHERRY        ALSTON                      NC     90003433298
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52925917585928   SHARON       MORRIS                       KY     67036169175
52926684861973   DIANE        BLACKWELL                    CA     46055706848
52927241493724   LARISHA      SPEAR                        OH     90011782414
52927288733699   JONAH        GENT                         NC     90011422887
52928868961971   GENOVEVA     CHAVEZ                       CA     90013248689
52929157561965   PATRICIA     BELLING                      CA     90012031575
52929815633696   SHERETA      SMITH                        NC     90006208156
52931518791895   JOSEPH       GIBSON                       OK     90011215187
52931761561975   NOEMI        HERNANDEZ                    CA     46073967615
52932161591587   ALBA         VILLELA                      TX     90003311615
52933253691587   JOHN         NUNEZ                        TX     90004802536
52933745431428   CASS         SHEWBART                     MO     90008757454
52935214884373   CONNETTAR    GREEN                        SC     90013682148
52936277731428   DAVID        LEE                          MO     90011302777
52938892654152   KAITLYN      SMITH                        OR     90012918926
52941213591587   VANESSA      CASTRO                       TX     75050942135
52941853761973   ANDRES       TELLO                        CA     90009428537
52942241685928   ASHLEY       MARTIN                       KY     90006262416
52946946761971   GREG         SULLIVAN                     CA     46035229467
52947528331666   SAMANTHA     GUIRINO                      KS     90005205283
52947572551348   ENJOLI       BETTS                        OH     90013335725
52948948191587   JENNIFER     SAUCEDO                      TX     90011019481
52949713284373   LATASHA      FIELDS                       SC     90013527132
52949963351348   MIKE         WATHEW                       OH     90009139633
52951323257157   ADALID       MALDONADO                    VA     90006693232
52951436461975   MONICA       CRUZ                         CA     90008204364
52951579131428   DANIELLE     BOWE                         MO     90011525791
52953498961971   LAUREN       PENA                         CA     90011054989
52953963861965   MARIE        CHAVEZ                       CA     90012639638
52956289757131   JESUS        PEREZ                        VA     90008172897
52956713455951   LEANNA       CORANDO                      CA     90007007134
52957146384357   DAREL        JENKINS                      SC     90014001463
52957322531462   SHANAE       WALKER                       MO     27576863225
52957437957157   CARLOS       OSEGUERA                     VA     90014284379
52958981161975   MICHAEL      JOSEPH                       CA     90014969811
52965627333699   ANTONIA      VALENZUELA                   NC     90015166273
52965629691895   NANCY        ORTIZ                        OK     90006116296
52968679361971   ARDITH       GESTRA                       CA     90012076793
52971273161975   GABRIELA     BANALES                      CA     90005082731
52973495133699   DEANDRE      ALLEN                        NC     90009274951
52974666161971   STEVEN       ESTRADA                      CA     90000326661
52974949293724   SONIA        POLING                       OH     64527759492
52975382884373   MALCOM       GARRETT                      SC     90013933828
52975547651348   AGUSTIN      MEDINA                       OH     90013495476
52975882361975   GABRIELA     SANCHEZ                      CA     90007198823
52975948861548   ABIMAEL      VILLEGAS                     TN     90015539488
52977825731428   LAMARO       MARTIN                       MO     90010878257
52977857491587   DANIEL       CAZARES                      TX     90010308574
52978449857157   SANDRA       CHAVEZ                       VA     90011154498
52978593891587   SIRIA        PURCELL                      TX     90005645938
52979159684357   JESSICA      NECESSARY                    SC     90014601596
52979172761973   BERTHA       ROMERO                       CA     90011971727
52981546391895   JIMMY        CHILDS                       OK     90015085463
52982159981683   MICHELLE     TOLIVER                      MO     90000971599
52982892458577   ARDELIA      CORRES                       NY     90015538924
52983323161975   GOCHEZ       GEORGE                       CA     90007593231
52985575833699   JASMINE      WILLIAMSON                   NC     90013085758
52986567371964   JENNIFER     WALLACE                      CO     32008005673
52986774291895   RITA         BELLO                        OK     21034357742
52987861961975   MAYNARD      LEE                          CA     90010678619
52987959285983   ANDREA       LANGEFELD                    KY     90008969592
52988346391895   ALEAHA       JONES                        OK     90011323463
52989924761965   AURIEL       POOLE                        CA     90014859247
52992214233696   ISRAEL       ESQUIVEL                     NC     12077302142
52992261861975   LUIS         MENDOZA                      CA     90011912618
52992329885928   SAMPSON      WUO                          KY     67080613298
52993492633696   MELISSA      JAMES                        NC     90001234926
52993827161971   YOLANDA      MEJIA                        CA     90012038271
52994453393724   ROXANNE      NUTHMAN                      OH     90012364533
52994591257157   MAURICE      REID                         VA     90010375912
52995776791895   ASHLEY       RAYMOND                      OK     21098187767
52996244791587   ISRAEL       LOPEZ                        TX     75088932447
52997159684357   JESSICA      NECESSARY                    SC     90014601596
52997312184357   TINA         WILLIAMS                     SC     14548473121
52997353333696   KHALIL       VANCE                        NC     90011143533
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52998379461975   MARIA        MARTIN                       CA     90014823794
52998599661965   IRENE        DEAVITT                      CA     90010905996
53112218261971   GUADALUPE    SANCHEZ                      CA     46061262182
53113185371964   BRIAN        BAETZ                        CO     90014731853
53113335971964   JUANA        PALAFOX                      CO     90012763359
53113964151348   ERIC         YOUNG                        OH     66092339641
53115519371964   MIGUEL       MENDOZA                      CO     32066245193
53118458131428   SHANNA       HAWKINS                      MO     27547064581
53118927193724   BRAD         BROWNING                     OH     90015019271
53119658971964   NATHANIEL    BENSON                       CO     32076146589
53119911184373   EUGENA       CADDEN                       SC     90000959111
53121644893724   MARK         ROWLAND                      OH     90015026448
53125349891587   ALONSO       RUIZ                         NM     90013483498
53125526161933   VIVIAN       CHEE                         CA     46040665261
53125824961971   BRADLEY      PASSEHL                      CA     90013698249
53126677857157   SERGIO       SORTO                        VA     81008816778
53126965191895   STEVEN       AUSTEN                       OK     90012659651
53126982491895   CLAUDIA      SHELLEY                      OK     90001619824
53128257493724   TINA         CUNNINGHAM                   OH     90011242574
53128434861971   RONALD       SCHWARTZ                     CA     46073284348
53129365385928   LAURISSA     VARGAS                       KY     67002033653
53129529191587   JOSE LUIS    DE LA CRUZ                   TX     90009405291
53129563791834   SHERRONDA    PHILLIPS                     OK     90012465637
53129687655959   BEKY         GONZALES                     CA     90013686876
53131197291534   REBECCA      REYNOLDS                     TX     90001061972
53131368271964   INGRID       MEISER                       CO     90011633682
53131819351348   MICHAEL      MCHALE                       OH     90012538193
53132185471964   DARREN       SALAZAR                      CO     90010441854
53137686591534   ANGELICA     MORALES                      TX     75028796865
53138982261971   LOUIS        AQUINO                       CA     90005019822
53139665561975   RAUL         OBESO                        CA     90014616655
53141265757157   TONY         BROOKS                       VA     90013142657
53141414791534   FRANK        RIZO                         TX     90015154147
53141745555959   ERIK         SANCHEZ                      CA     90015237455
53142118361971   JEREMY       BROWN                        CA     90015121183
53143239861975   ANTHONY      ALLISON                      CA     90013922398
53143952343569   HYMMIE       BOWEN                        UT     90014709523
53144834543569   GLADE        BRYANT                       UT     90004678345
53144971193782   ASHLEY       FINN                         OH     64506999711
53145643451348   CORNELIA     WHITE                        OH     66075446434
53145663991895   DANIEL       MOSLEY                       OK     90013926639
53146526291534   WENDY        MELERO                       TX     90014575262
53146762761973   OMAR         GANDARA                      CA     90012747627
53148298851348   MELVINA      REEVES                       OH     66033992988
53148663484357   CRYSTAL      GREEN                        SC     90014706634
53149391184357   SHADREKA     PERRY                        SC     90012693911
53149433657157   MONICA       PETERSON                     VA     90013144336
53151219793724   ANN          MASTERS                      OH     90008952197
53151428457157   IVIE         MEDRANO                      VA     90013214284
53151561351348   IRIS         HENDERSON                    OH     90012995613
53152897757157   JASMINE      BELIZ                        VA     90014728977
53154361733696   CHRIS        HOCKADAY                     NC     12010263617
53154734157157   LAURENA      VARMAL                       VA     90003937341
53156667491534   MIGUEL       LIRA                         TX     90014816674
53156757155959   TERESA       CABRERA                      CA     90007687571
53156913991535   ARGELIA      LARA                         TX     90000569139
53158267361975   EDGAR        GALARZA                      CA     90014192673
53158337685928   KEIARA       BURDETTE                     KY     90014153376
53158995761975   BUNTHA       CHHUON                       CA     46091339957
53159382951348   THOMAS       DEWALD                       OH     90014533829
53161581481698   PAUL         ANDES                        MO     90014815814
53162591484357   KELLY        COLHER                       SC     90011175914
53163265764145   ONKEL        DIDE                         IA     90012412657
53163779184357   KATRECE      RIVERS                       SC     90014627791
53163973571964   MICHAEL      SCHLEIKER                    CO     90014589735
53164224357157   TARA         HOLLIS                       VA     90006792243
53164234733696   HORTENCI     RAMIRO                       NC     90013592347
53165271655959   ANA          CORTEZ                       CA     90012522716
53165287591895   JEANNETTE    FOSTER                       OK     21061142875
53165681961971   SHAAKISHA    JUDKINS                      CA     90011016819
53165929384357   BONITA       MARLOW                       SC     90013879293
53166416833696   TAVE         JOHNSON                      NC     90015204168
53167925391895   ROBERT       COOPER                       OK     21048889253
53168993161973   STEVE        RAMBO                        CA     90012879931
53169484833699   MARILYNN     FLIPPEN                      NC     90014354848
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53169638884357   JOHNNY       PEASE                        SC     90014716388
53169879957157   PRISCILLA    ANUM                         VA     81090408799
53169884971964   MATTHEW      NIMKE                        CO     90011768849
53169942343569   DEBORAH      SNOW                         UT     31096639423
53171351181688   LENEIL       JOHNSON                      MO     90014813511
53171626171964   AARON        VALDIDAVES                   CO     90012166261
53171843461949   RAUL         RAMIREZ                      CA     90002328434
53172698561973   ANA          MORALES                      CA     46073576985
53173287591895   JEANNETTE    FOSTER                       OK     21061142875
53173389657157   JASMIN       CALIXTO                      VA     90013233896
53173555555959   ALEJANDRA    MORALES                      CA     90015085555
53173712133699   SOPHIA       JAMES                        NC     90002237121
53173889351348   MARK         WOODS                        OH     90013448893
53175428533696   ANTON        HARPER                       NC     90014574285
53175815484357   AUDREA       LOWE                         SC     90014718154
53176542284357   SHANTE       GREEN                        SC     90014725422
53176636461975   AIOTEST1     DONOTTOUCH                   CA     90015116364
53179289851348   JENNIFER     WILSON                       OH     90007582898
53179729161975   RICHARD      BECKER                       CA     90001867291
53179751961973   RICHIE       QUINTANA                     CA     90014367519
53181289191534   CRYSTAL      AVILA                        TX     75002672891
53181296943569   JACCI        MCDONALD                     UT     31010952969
53182885761971   MARIA        RAMOS                        CA     46066968857
53183365861973   HELDA        LOPEZ                        CA     90014813658
53183776285928   TRAVIS       SMITH                        KY     90014637762
53183823291534   ALEJANDRO    DE LA PENA                   TX     75072708232
53185548633696   CRYSTAL      CHAVIS                       NC     90011155486
53186651391534   ADRIANA      CACERES                      TX     90010846513
53186725185941   MANDY        DYE                          KY     90011807251
53188436661975   ANGELICA     CAMARENA                     CA     90013434366
53188841391534   MONICA       CORONA                       TX     90011238413
53189249791895   KEVIN        DALE                         OK     90014402497
53192136243569   HYMMIE       BOWEN                        UT     90014841362
53192392933699   BRENDA       ROGERS                       NC     90013003929
53192581133696   OSCAR        TATE                         NC     90014815811
53194167671964   FERMIN       RAMOS                        CO     90012101676
53194872791534   RAMIRO       VARELA                       TX     90009908727
53195913961975   ABRAHAM D    VIZCARRA                     CA     90012459139
53196374384357   HOWARD       WILSON                       SC     14592803743
53196476771964   CAROLINE     LEFEBVRE                     CO     32059854767
53211479771964   LUIS         CALDERON                     CO     90014384797
53213555485928   SHAWN        SWICKARD                     KY     90013195554
53217234733696   HORTENCI     RAMIRO                       NC     90013592347
53217269991534   NOEL         JIMENEZ                      TX     90010992699
53218639261973   AIOTEST1     DONOTTOUCH                   CA     90015116392
53219774543569   CARL         LA ROSE                      UT     90015157745
53219792171964   MICHELLE     MIKEL                        CO     90013057921
53223191161971   AMANDA       AKIKI                        CA     90012331911
53224911855959   YADIRA       JIMENEZ                      CA     90010959118
53225952171964   ERIN         BORDELON                     CO     90014739521
53226242433699   LASHUNDA     CROWDER                      NC     90012792424
53226413551348   NINA         SMITH                        OH     66056054135
53227296943569   JACCI        MCDONALD                     UT     31010952969
53227432684357   JOSIE        MALDONADO                    SC     14572964326
53228991293724   MIKE         RUNIONS                      OH     90009939912
53229723857157   FILEMENA     OTERO                        VA     90008687238
53229763191587   ROSA         ESQUEDA                      TX     90013487631
53229952284357   BRIAN        BLECHA                       SC     90014749522
53231856955959   MARIA        PEREZ                        CA     90014498569
53231912355959   ARELI        SALAZAR                      CA     48033589123
53232354551348   ALEX         RENKEN                       OH     90014073545
53233147484357   COLE         BOLTIN                       SC     90014771474
53233676757157   NERSA        JOHNSON                      VA     90008346767
53235786633646   JOSHUA       HERNDON                      NC     90011977866
53235923684852   JENNIFER     PEREZ                        NJ     90013959236
53236922491895   KATHRYN      ALVAREZ                      OK     90007749224
53237239257157   JORDAN       HOGAN                        VA     90013172392
53237335885928   RAI          DIL                          KY     90012693358
53237887571964   MASHAYLA     OPOKU BERKO                  CO     90012678875
53238237757157   CLAUDIA      CERRATO                      VA     90006432377
53239781791587   JORGE        TORRES                       TX     90013487817
53239842684357   DWAIN        MILLIDGE                     SC     90010018426
53241345684357   RENESSIA     PRYOR                        SC     90014773456
53243727784373   MARCUS       EDWARDS                      SC     19089627277
53244795991587   JAHIR        MORENO                       TX     90013487959
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53245712743569   CHRIS        GREEN                        UT     90014857127
53245945291534   GLORIA       CHAVEZ                       TX     75076009452
53246699291895   JESSICA      REYNA                        OK     90013926992
53247336943569   SARAH        WILLIAMS                     UT     90010813369
53249242691895   CATHY        SANCHEZ                      OK     90010652426
53249352657157   GUILLERMO    SOLIS                        VA     90013173526
53249639161973   AIOTEST1     DONOTTOUCH                   CA     90015116391
53249657255959   PATSY L      SIMPSON                      CA     90014046572
53251326885928   DORIS        WALKER                       KY     90010373268
53251499151348   NATHAN       ALLEN                        OH     66073484991
53252121425398   KEIRI        HARTNETT                     WA     90015361214
53253739384357   PAYGO        IVR ACTIVATION               SC     90014787393
53256224971922   VALERIE      GALLEGOS                     CO     90010342249
53256639161973   AIOTEST1     DONOTTOUCH                   CA     90015116391
53261368484357   DEMON        MITCHELL                     SC     90006263684
53261676561971   ALICIA       CISNEROS                     CA     90012666765
53262977484357   DEIDRE       COAXUM                       SC     90014789774
53263259891587   ESTELA       MORALES                      TX     90012612598
53263436951348   MERRILL      DURHAM                       OH     90002704369
53263914771964   JONATHAN     STREICH                      CO     90012859147
53264669384357   NANN         SEARLES                      SC     14581556693
53265622657157   HECTORIA     BANGURA                      VA     81043876226
53267444757157   JOHN         CAMPUSANO                    VA     90013174447
53267786361973   VICENTE      AMEZCUA                      CA     46080987863
53267829391587   JOSE         DE SANTIAGO                  TX     90013488293
53267955571964   ALLEN        BRADLEY                      CO     90014659555
53268549685928   GARY         NEWMAN                       KY     67027435496
53269833191587   CHERYLENE    CHATMAN                      TX     90013488331
53271593661975   ERICKA       CORDERO                      CA     90012685936
53271639261973   AIOTEST1     DONOTTOUCH                   CA     90015116392
53273484391587   ADAN         HERNANDEZ                    TX     90007474843
53273565551348   DEBORAH      REINDAL                      OH     90001525655
53274259133699   NICOLAS      HERRERA ZARATE               NC     12014312591
53274439455959   MARIA        ISARRARAS                    CA     90012254394
53274712951348   MICHELLE     DOCKERY                      OH     90006547129
53275197161975   AVILA        GUILLERMINA                  CA     46083851971
53275684151348   MARTINE      IRAKOZE                      OH     90015116841
53277456331428   ROSE         HARRIS                       MO     27589834563
53278567933699   PATRICE      EDWARDS                      NC     12062355679
53279615761973   AARON        CARRIGAN                     CA     90012786157
53281423171964   EMILIANO     LOPEZ                        CO     32073874231
53282456331428   ROSE         HARRIS                       MO     27589834563
53283579491895   JAZZ         PIERCE                       OK     90006475794
53283856933699   JOSE         FOMPEROSA                    NC     12006978569
53284694761975   JOSE         RODRIGUEZ                    CA     90014996947
53286798833699   ERNISTA      MIRENERA                     NC     90007777988
53286865133622   THOMAS       INSCOE                       NC     90011658651
53288515893724   JAYME        WOODY                        OH     90014975158
53288613233699   MARCIA       BOWENS                       NC     12082596132
53291869691587   OLGA         CALDERON                     TX     90013488696
53292936491895   BARNETT      RUSSELL                      OK     90007749364
53292974957157   MARIA        CAMPOS                       VA     90015269749
53293349785928   ANTHONY      FRAZIER                      KY     90014873497
53293616671964   VERONICA     ESTRADA                      CO     90012446166
53294892861975   JOY          EDWARDS                      CA     90013088928
53296729261975   BETTY        LOPEZ                        CA     46053667292
53296957891895   KEVIN        GIFFIN                       OK     90013929578
53297924291895   JENNIFER     MALONE                       OK     90004829242
53298526561973   DONNA        STAMMEN                      CA     90012995265
53298558561975   ARTURO       VALADEZ                      CA     90013165585
53299915591587   ANN          FIERRO                       TX     75012569155
53299929484357   CLARENCE     SIMMONS                      SC     90014869294
53311286385928   LOEN         KEERPS                       KY     90012742863
53311959291895   DIANNA       NENA                         OK     90013929592
53313131261971   JORGE        BORDON                       CA     46067201312
53313175491587   JUAN         LUNA                         TX     90013491754
53313869351332   GWENDOLYN    BARNES                       OH     90012568693
53315332191895   ASHLEY       HERNANDEZ                    OK     21058903321
53315652442335   LLOYD        COPPINGER                    GA     90006646524
53316582861975   MARTHA       VALLE                        CA     90014895828
53317521543569   PAUL         STURM                        UT     31079405215
53318346684357   PAULESE      HARRISON                     SC     90014923466
53319289233699   MILRED       GAFFNEY                      NC     90013572892
53321595893724   LISA         LINTON DAVIS                 OH     64515585958
53322236491587   JULIO        RINCON                       TX     90013492364
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53322681361973   REBECA         POPOFF                     CA     90011756813
53322886485928   DESIREE        JACKSON                    KY     67081878864
53325897833699   JENNIFER       HERNANDEZ                  NC     90012938978
53326118561975   ANA            LOPEZ                      CA     90013281185
53326483743569   JORIE          NICHOLAS                   UT     90013064837
53327557843569   FABILOA        RODRIGUEZ                  UT     90014155578
53328169561971   LAURA          GONZALEZ                   CA     46079981695
53328492984357   ISMEALEA       GONZALEZ                   SC     90014924929
53331398271964   ARMANDO        DE LEON PONCE              CO     90012183982
53335922877574   HERIBERTO      LEDEZMA-OLMEDO             NV     90014149228
53336214833696   RICHELLE       DAVIS                      NC     12012522148
53336256191534   SYLVIA         LOPEZ                      TX     75026792561
53341196984357   GEORGE         STIBITZ                    SC     14589131969
53341236733696   SABRINA        NOBLE                      NC     90012912367
53341471971964   NATHAN         PETTIT                     CO     90001894719
53341516791587   JOSE LUIS      SANCHEZ                    TX     90011685167
53341893451329   MARILYN        FRIERSON                   OH     90012188934
53342776321631   REANELLE       SCHACHNER                  OH     90015117763
53343814371963   ADELITA        AGUILERA                   CO     90008038143
53343827885928   ALI            HUSSAN                     KY     90015338278
53344421361973   GAITAN         FRANSISCO                  CA     46043404213
53344687151348   ERICA          REEDER                     OH     66002986871
53345253157157   GERBER         APARICIO                   VA     81042752531
53346121961971   ANN MARIE      GOFFENEY                   CA     90010871219
53347336233699   JOHNNY         CROSBY                     NC     90012903362
53349334791587   LUIS ARMANDO   URIBE                      TX     90013493347
53352586191534   BENJAMIN       BUSTAMANTE                 TX     90010655861
53353639261973   AIOTEST1       DONOTTOUCH                 CA     90015116392
53355165433696   PATRICKA       HOPKINS                    NC     90001531654
53355399961971   CRYSTAL        ROBLES                     CA     90014923999
53355565293724   DREAMA         BALL                       OH     64575915652
53355777155959   ALYSHA         HERNANDEZ                  CA     90014697771
53356149161971   WILBUR         ROPER                      CA     46046211491
53356285971964   LEVI           JACKSON                    CO     90011642859
53356296943569   JACCI          MCDONALD                   UT     31010952969
53357762985928   DAZURAE        BLANKENSHIP                KY     90014887629
53357772343569   VIVIANA        NUNEZ                      ID     90015237723
53358666761975   BLANCA         TEC                        CA     46059326667
53359397893724   CHRISTOPHE     FLOWERS                    OH     64572053978
53359431891587   GARZA          FELIPE J                   TX     75097844318
53361698761971   SUZAN          BUTRUS                     CA     90003276987
53362642151343   JENNIFER       LITTLE                     OH     90008726421
53363214493724   IDA            MAZE                       OH     64579602144
53363333485928   CLAUDIA        EMOUNGUE                   KY     90013773334
53363892861975   JOY            EDWARDS                    CA     90013088928
53364393591587   MARTIN         RENTERIA                   TX     90013493935
53365595391895   JOSE           MONTES                     OK     90012045953
53368913455959   JOSE           MORENO                     CA     90012409134
53368927755959   ASHLEY         LOPEZ                      CA     90013049277
53374726157157   ROBERTO        ARIAS                      VA     81059457261
53376619361975   LETICIA        BRAVO                      CA     90009096193
53377165393724   MIKALA         DUNKLIN                    OH     90015041653
53377444191587   ELIZABETH      ROEL                       TX     90010164441
53377817661973   JACOB          RODRIGUEZ                  CA     90001198176
53378595533699   MICHAEL        WESLEY                     NC     12075955955
53379572857157   JIMMY          LOVATO                     VA     90013205728
53382592557157   NORDIA         SMITH                      VA     90009645925
53384989685928   DAMIAN         CLEMONS                    KY     67013609896
53386531871964   JAZMIN         CUEVAS                     CO     90013245318
53386666357157   EUGENIO        MARTINEZ                   VA     81002986663
53387754991535   HECTOR         M MIRELES                  TX     90007077549
53388137851337   ANDREA         SMITH                      OH     90008531378
53388686985928   ANDREW         DRURY                      KY     90000486869
53389636461975   AIOTEST1       DONOTTOUCH                 CA     90015116364
53391136685928   ELZABETH       RICHADSON                  KY     67047471366
53391852843569   MICHAEL LEE    BROWN                      UT     90014458528
53392315531428   NEAL           STAPF                      MO     27500283155
53392995355959   CHRIS          CABRERA                    CA     90008439953
53393492891587   KIMBERLY       SOSA                       TX     90013494928
53393884161975   KIARA          JONES                      CA     90004708841
53395335291895   ERENDIRA       CARRANZA                   OK     90011863352
53395557233696   DOMINIQUE      AVERETT                    NC     90013605572
53395628591895   ERENDIRA       CARRANZA                   OK     90014406285
53399499691587   JAIME          PENA                       TX     90013494996
53411499871964   NOHEMI         VASQUEZ                    CO     90010024998
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53414284391895   IVAN         GARCIA                       OK     90011902843
53414742461973   IVAN         PEREZ                        CA     90015157424
53414987791939   RICHARD      UDEAGHA                      NC     17096489877
53415415533699   LATONYA      JACKSON                      NC     90010684155
53415727361971   DAN          GARRET                       CA     46014767273
53416535455959   MARIA        CASAREZ                      CA     90010415354
53416824961971   BRADLEY      PASSEHL                      CA     90013698249
53417571691587   CLAUDIA      CERENIL                      TX     90013495716
53417639684357   TOYA         FERGUSON                     SC     14505156396
53418277193724   THELMA       SIGMON                       OH     64545752771
53418584943569   AARON        CLEAPOR                      UT     90009855849
53418713861975   KENNETH      EATON                        CA     90001987138
53418743785928   DEBORAH      KESNER                       KY     90004097437
53418955733696   VANETTA      AGEGEE                       NC     90009029557
53419171191895   JESUS        HERNANDEZ                    OK     21059951711
53419628161975   MICHELLE     TORRES                       CA     90004306281
53419892891587   MELISSA      MORALES                      TX     75039118928
53419974391534   ELADIO       JAUREGUI                     TX     90004659743
53424463385928   JOHN         HUDDLESTON                   KY     67089314633
53424492261973   MARGARITA    RAMIREZ                      CA     90008694922
53425162761973   ANA          ALCARAZ                      CA     90012691627
53425173233699   TALYA        EDMONDS                      NC     90011081732
53428761843569   DEBORAH      WILBUR                       UT     90006007618
53431594291587   ROSA         VELAZQUEZ                    TX     90013495942
53431631885928   EDNA         TAYLOR                       KY     67006156318
53432652761973   FLORES       PABLO                        CA     90004496527
53433526184357   TERRA        BRINGLE                      SC     90001825261
53434187533696   TABITHA      MATHIS                       NC     90004381875
53435135591885   PEDRO        ARROYO                       OK     21095171355
53436862561973   MARIA        VERA                         CA     90009908625
53437214291534   OSCAR        OTERO                        TX     90013292142
53438218791587   MARIA        BRECEDA                      TX     75008732187
53438333391534   YANETT       GONZALES                     TX     90011973333
53438615861971   DERRICK      HARHAUSEN                    CA     46074066158
53439178391587   CESAR        GALLEGOS                     TX     90008021783
53441591161971   ALAN         ANTHONIS                     CA     46018095911
53441964857157   LARRY        MYRICK                       VA     90013789648
53442135633696   ALEX         STOREY                       NC     90013971356
53443842757157   BERTILA      VASQUEZ                      VA     90013218427
53444815461971   SEAN         ADAMS                        CA     90013708154
53445347133699   KELLY        KING                         NC     90010633471
53445378757157   ROBERTO      ZEPEDA                       VA     90014463787
53445461891534   NATALY       RODRIGUEZ                    TX     75079654618
53445586293724   AMANDA       MANNING                      OH     90010435862
53445663584373   LECHAE       HYES                         SC     19053146635
53446225691895   KRISTEN      PECK                         OK     90011852256
53446773833696   DAVID        RUNION                       NC     12056467738
53447958157157   ROGELIO E    ALVAREZ                      VA     81044259581
53449453871964   SAMANTHA     DOBSON                       CO     90011284538
53451262251348   JIBRI        MCKINNIE                     OH     90014082622
53451316633696   JENNIFER     SMITH                        NC     90010143166
53452392161971   CORY         RICHARD                      CA     46091803921
53454992733699   ASHLEY       IVERSON                      NC     90015099927
53455145171964   ROZALIND     RAMIREZ                      CO     32009571451
53455168985928   ELIZABETH    SANCHEZ                      KY     90012221689
53455474431428   JENNIFER     STINSON                      MO     90001734744
53457282771964   DALILA       CAZARES                      CO     90010472827
53458781651348   SANDRA       BEGLEY                       OH     90014057816
53461182893724   STEPHANIE    FUGATE                       OH     64589331828
53461887957157   JOSEFINA     ANDRADE                      VA     90013558879
53462235791895   TOMAS        MENDOZA                      OK     90013232357
53462973561971   BRIAN        NORIEGA                      CA     90012679735
53463636461975   AIOTEST1     DONOTTOUCH                   CA     90015116364
53463894355959   CARMEN       ECHEVESTE                    CA     90009838943
53463915861973   JULIA        RIVERA                       CA     90014449158
53465111955959   BRENDA       CUEVAS                       CA     90013091119
53465571631428   CHARITY      VAUGHN                       MO     90002395716
53465655871964   ELIZABETH    CRONGEYER                    CO     90008806558
53466145955959   LUCERO       SANTOIO                      CA     48093331459
53466515793724   TRACEY       WILCOX                       OH     90001655157
53466678261975   VALERIA      REAL                         CA     90012636782
53467424561971   WALAA        ELIA                         CA     90012044245
53467775157157   OBED         MOLINA                       VA     90008817751
53468147284357   RANDY        AVERY                        SC     14528171472
53471253291895   JENNIFER     LARSON                       OK     90008392532
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53471384561975   VIRGINIA      BENITES                     CA     46035523845
53472166261973   GUADALUPE     MEDINA                      CA     90011431662
53472523233699   PAULA         TOCHTROP                    NC     12033355232
53472731991587   DAVID         CRUZ HERNANDEZ              TX     90013497319
53473359971964   TODD          SWAN                        CO     32093393599
53473664184373   JEFFERY       PIERCE                      SC     90002836641
53474734391587   JOSE          GALLEGOS                    TX     90013497343
53474996785928   LARA          FRALEY                      KY     90013889967
53476763361975   CHRISTINA     PRECIADO                    CA     90012967633
53477175557157   MARIA         GUEVARA                     VA     90002681755
53477315333699   STEPHANI      SUMMERS                     NC     90012793153
53478226451348   MISSY         FREE                        OH     90002332264
53479673133696   DEVANTE       SMITH                       NC     12014316731
53479866761973   JOE           KAZANYA                     CA     90013308667
53479949161973   TRINIDAD      ESPINOZA                    CA     90007579491
53481143555959   CRISTIAN      SOTO                        CA     90010461435
53481213343569   CHRISTINA     CHURCH                      UT     31092582133
53481433933699   FARRAH DAWN   WOLFORD                     NC     90011194339
53481718631429   SAMANTHA      FIREBAUGH                   MO     90003987186
53481896743569   LISA          BIRD                        UT     90014658967
53482458255947   ALBERTA       LOPEZ                       CA     90011034582
53482787661973   LETICIA       MORENO                      CA     90012177876
53483174371964   KALEB         BRYANT                      CO     90014271743
53483977951348   CHRIS         JONES                       OH     90012969779
53484478891895   SHERRY        SMITH                       OK     90005454788
53485555491534   SAYEG         IDAHIR                      TX     90007895554
53485983457157   JOSE          JOVEL                       VA     90013219834
53486239651348   BONNIE        TEMPLE                      OH     66073942396
53486468284341   CHRISTOPHER   MATHE                       SC     90010494682
53486647691534   JASON         LEE KUHIO                   TX     90011386476
53488189791535   OLIVIA        DELGADO                     TX     75018171897
53489219193724   DEVONNA       HENDRIX                     OH     64580722191
53491715961973   ADRIANA       GAETA                       CA     90011307159
53491946957157   MIGUEL        RIVAS                       VA     81015269469
53492414591587   THOMAS GLEN   GOODWIN                     TX     90013054145
53493839785928   MISTY         SWEAT                       KY     90010998397
53494281955959   FATIMA        CASILLAS                    CA     48089732819
53494662157157   RYAN          BOYD                        VA     81075346621
53495761331429   JONNIE        SANDFORD                    MO     27568477613
53496427671964   BRANDI        TODD                        CO     90012334276
53496469361971   VLADAMIR      VERA                        CA     90012474693
53496875185928   DEBORAH       STONE                       KY     90012098751
53497966791895   JOE           SLOAN                       OK     90006779667
53498293931443   ADAM          BARNSTEAD                   MO     27595072939
53498365861973   HELDA         LOPEZ                       CA     90014813658
53498398933696   TONIA         WOMACK                      NC     12083543989
53498766191895   MIKE          JONES                       OK     21095137661
53512394261971   CHARLES       SMITH                       CA     90011973942
53512987157157   LUIS          RIVERA                      VA     90007519871
53514114891895   SANDRA        CUEVAS                      OK     21077471148
53515694761975   JOSE          RODRIGUEZ                   CA     90014996947
53516789561973   JOSE          URENA                       CA     90014107895
53516932261975   SHERRIE       BROWN                       CA     46035569322
53517457457157   MARINA        HERNANDEZ                   VA     81086794574
53519427933696   AARON         ALSTON                      NC     90013104279
53519446143569   DONOVAN       BUSBY                       UT     31006324461
53519591181678   EUGENIA       MORALES                     MO     90008595911
53521695191869   JAMIE         BOHANNON                    OK     21094496951
53521952161921   MARIA         SANCHEZ                     CA     90010779521
53522717831429   BECKY         WILLIAMS                    MO     27537997178
53522855585928   ADRIANA       GONZALEZ                    KY     90013608555
53523269931429   ROBERT        LAWRENCE                    MO     90005952699
53524347461973   ABRAHAM       VIZCARRA                    CA     90012493474
53524417833699   SHENIKA       MASHORE                     NC     90014924178
53525624655959   MARK          MILLHORN                    CA     90002576246
53528653485928   TABATHA       DRY                         KY     90014916534
53529935161973   DARRELL       JHONES                      CA     90012459351
53531234893724   LINDSAY       JUSAKE                      OH     64511812348
53531276455959   MIRNA1        ALVAREZ                     CA     48046702764
53531411185928   SAMANTHA      BROWN                       KY     90015334111
53533514943569   JEREMIAH      EGBERT                      UT     90002515149
53533886261971   CIRILO        JUAREZ                      CA     90013738862
53534249585928   DARLENE       BROWN                       KY     90013482495
53537588157157   JOSE          FLORES                      VA     90008765881
53537831633645   CLAUDETTE     WILLIAMS                    NC     90000448316
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53538322157157   MARIA           GONZALEZ                  VA     81051393221
53539153555959   AMANDA          AMBRIZ                    CA     90010061535
53541532661973   VANESSA         GONZALEZ FLORES           CA     90012845326
53541967661975   EVONY           FRAZIER                   CA     46066439676
53542437157157   EDWIN           PINEDA                    VA     90010334371
53542674984357   BARBARA         JOHNSON                   SC     90009326749
53544327243569   TERESA          MACIAS                    UT     31023323272
53544457491895   ASHLEY          EPPS                      OK     21098464574
53544858391587   JOE             ALBA                      TX     75034638583
53545515357157   MARLON JAVIER   POLIO                     VA     90013245153
53545578385928   DEANGELO        WILLIAMS                  KY     90014865783
53546826284357   DALLAS          MAJOR                     SC     90011748262
53546854291895   GINA            LEE                       OK     90003708542
53548352555959   MARTIN          TORRES                    CA     90013113525
53548578731428   LARRY           PENTON                    MO     90003045787
53549818291895   PATRICK         OHAVER                    OK     90013958182
53549925693724   JOSH            LUNSFORD                  OH     90011249256
53551925693724   JOSH            LUNSFORD                  OH     90011249256
53552365671964   JENNIFER        CANTRELL                  CO     90013403656
53552852491895   KRISTIE         CARVER                    OK     90004298524
53553411661973   MARISSA         CANTERO                   CA     90013904116
53555861261949   DAVID           PORTER                    CA     46043288612
53558428761971   MICHEAL         OWENS                     CA     46072334287
53559123633696   SARAH           WILLARD                   NC     90014081236
53559551991534   DEBRA           LOPEZ                     TX     90014305519
53559751951348   SHARYN          SHERMAN                   OH     66041447519
53563161461973   LORENA          ROMERO                    CA     90012511614
53563475884357   DARIELLE        KINLOCK                   SC     14586324758
53563947533699   CHYNEICE        CURRY                     NC     90013799475
53564848533699   JENNIFER        BROWN                     NC     90013738485
53565739161973   NIA             BLACKBURN                 CA     90004497391
53565759855959   VANESSA         GARCIA                    CA     48008167598
53566979891534   LUZ             MENDOZA                   TX     75062409798
53571598251348   JOSEPH          WANNINGER                 OH     90013175982
53572575251348   HEATHER         THOMPSON                  OH     90013785752
53572641491587   CARLOS          CENICEROS                 TX     90013506414
53572711861967   THOMAS          LOGAN                     CA     46085287118
53573214455959   PEDRO           MENEGAS                   CA     90008862144
53573439885928   KEELLA          DUKES                     KY     90003964398
53573731957157   KEITH           SCOTT                     VA     90013267319
53574677843569   LESTER          MILBURN                   UT     90006896778
53576615771964   DESTINEE        JOYNER                    CO     90014706157
53576666191534   MARTIN          ARRENDONDO                TX     90014076661
53577215791534   ERENDIDA        GALVAN                    TX     90013632157
53577529284373   PATSY           BARNHILL                  SC     19019865292
53578736455959   LEO             HERNANDEZ                 CA     90008667364
53578838771964   SHASTA          JACKSON                   CO     90005638387
53578988191895   RAYNA           PEREA                     OK     90009259881
53579712493724   DAN             WALKER                    OH     90007957124
53581554655935   GEORGE          GARCIA                    CA     90008575546
53582665855959   STELLA          VARGAS                    CA     90013116658
53583583351337   DEBRA           MILLER                    OH     66032625833
53583588191895   TANIA           BLEDSAW                   OK     21002845881
53584293691534   RYAN            GIANNI                    TX     90008152936
53584418861975   MARIA D         TORRES                    CA     46080614188
53586636461975   AIOTEST1        DONOTTOUCH                CA     90015116364
53586942693724   CATALINA        PADILLA                   OH     90011249426
53587561684357   CAROL           WOODS                     SC     14511085616
53587648355959   TARCICIO        VASQUEZ                   CA     90011856483
53588178785928   SHAWNEE         YOUNG                     KY     90009671787
53588646293724   ARLISSA         JACKSON                   OH     90014906462
53589622971964   FOOSHEE         LORNA                     CO     32092696229
53589818161973   BELEN           PEREZ                     CA     90010758181
53589818851348   TONI            VICKERS                   OH     66040958188
53592331242335   ROBIN           MINES                     GA     90009903312
53592552561971   DAVID           SIPES                     CA     90014885525
53592988291895   JOSEPH          THOMPSON                  OK     90014649882
53593198871964   CHRIS           DIPENTINO                 CO     90011651988
53593224251348   AMANDA          MAAS                      OH     90013912242
53593313343569   SALPAPORET      MALTESE                   UT     90014913133
53594956731428   YAKIMA          DONALD                    MO     90006339567
53596117533696   TIFFANY         HERBIN                    NC     90014691175
53597567755959   BRENDA          GUZMAN                    CA     90000865677
53598227791534   CELIA           SANCHEZ                   TX     75012182277
53599534531429   NATASHA         JONES                     MO     90004985345
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53599714461975   MINOR        RODRIGUEZ                    CA     46027527144
53599866361973   JESSICA      GONZALEZ                     CA     90012688663
53599933791534   MIRIAM       MORALES                      NM     90011509337
53612748485928   DEBBIE       POWELL                       KY     90006487484
53615542961975   JESSICA      SERVIN                       CA     90000455429
53617374991895   HECTOR       RESENDIZ                     OK     21033693749
53617991985928   ROGER        HAYNES                       KY     67098959919
53618169391869   TONYA        NOWLIN                       OK     90011421693
53619312161973   RAUL         FLORES                       CA     46066213121
53621856657157   EVER         CASTILLO                     VA     90011488566
53623734951348   JILLIAN      HOWARD                       OH     90011397349
53623815481693   VALENCIA     SIMPSON                      MO     90009088154
53624344451348   PAMELA       GIPSON                       OH     66015053444
53624783985928   KITTRANE     RICHARDSON                   KY     90014127839
53626175233699   EDUVIGES     ROMERO                       NC     12042101752
53626176943569   ABBY         GOFF                         UT     31035891769
53626179391587   CRYSTAL      CENICEROS                    NM     75062871793
53628179391587   CRYSTAL      CENICEROS                    NM     75062871793
53631655791534   ALEJANDRO    ZARAGOZA                     TX     90002536557
53632986461975   DANIEL       BADGETT                      CA     90013479864
53634795661971   ANGELA       KEETER                       CA     46060967956
53635186284373   KAY          DAVIDSON                     SC     19035211862
53635884361973   JACKIE       PHILLIPS                     CA     46079438843
53637291157157   DAVID        RYALS                        VA     90002812911
53637429185928   KRISTIN      MEAL                         KY     67091524291
53637492461973   DIANA        BARRAGAM                     CA     90014984924
53638426733699   WANDA        GREENE                       NC     90011154267
53638794561971   MARTIN       MENDOZA                      CA     90009517945
53639932843569   PAYGO        IVR ACTIVATION               UT     90011759328
53643714457157   ISAE         GOMEZ                        VA     81045117144
53645421885928   PAMELA       DERRY                        KY     67013994218
53645437393721   CHARLES      HAYDEN                       OH     90010014373
53645913891275   CARLTON      HALL                         GA     90010989138
53646334984357   ANGEL        SALAZAR                      SC     90010023349
53646699731429   CHERYL       RAPERT                       MO     27511846997
53647361971964   JEFFERY      CRUEA                        CO     90007663619
53649279691895   MICHAEL      WITHROW                      OK     90012872796
53651267631428   SIEGLINDA    FOX                          MO     90006722676
53651654155959   MARGARITA    MENDOZA                      CA     90014736541
53652148855959   MARTHA       IZQUIERDO                    CA     90004501488
53652468555939   STEVEN       TOPPING                      CA     90009294685
53652859184357   RAE          HOLMES                       SC     90008688591
53653774171964   DEVIN        COGDILL                      CO     90014907741
53654155155959   FERNANDO     BANDA                        CA     48003641551
53654781891895   JAMES        MAYNARD                      OK     21015677818
53655258261973   ARMANDO      RIOS                         CA     46005982582
53655364991895   KERI         CHASTEEN                     OK     90011463649
53658187985852   BENJAMIN     PRICE                        CA     90013111879
53659224961975   ROSAURA      ALLUP                        CA     90009602249
53659263791534   EVAN         BURRIS                       TX     90013392637
53659437157157   EDWIN        PINEDA                       VA     90010334371
53662291133699   SCOTT        VINCENT                      NC     12098772911
53663552185928   SAMANTHA     NEAL                         KY     90014435521
53664535761973   RICARDO      OCHOA                        CA     46016175357
53665776733699   DAQUAUN      WAGNER                       NC     90015017767
53666192861971   SAFARDON     JABO                         CA     90000931928
53666269285928   BRITTANIE    DUDLEY                       KY     67040452692
53667336293724   ANTHONY      SMITH                        OH     64587943362
53673449361973   HECTOR       IBARRA                       CA     46086364493
53673756661975   ROCIO        ESPINDOLA                    CA     90006437566
53674117791895   MONTE        BROWN                        OK     21072751177
53674245771964   DAVID        HAISE                        CO     90014732457
53675134691895   TALEISHA     DASHAY                       OK     90013931346
53675481151348   PEGGY        ANGEL                        OH     90013884811
53676137491895   DASHA        BRADLEY                      OK     90013931374
53676878461971   CLAUDIA      MENDOZA                      CA     90013608784
53677825857157   SANTOS       MEMBRENO                     VA     90002658258
53678245761924   MARISSA      MURANA                       CA     90011072457
53678355243569   MONIKA       MANN                         UT     90000363552
53678894861971   TIM          LARSON                       CA     90012578948
53678937655959   LETICIA      TRUJILLO                     CA     90014179376
53679232291321   CYNTHIA      ELMER                        KS     29020292322
53679377885928   DONNA        HODGE                        KY     67019203778
53679641831428   ANTONIA      GOTOW                        MO     90013026418
53682419961971   EVA          CASTILLO                     CA     46072354199
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53682623471964   GARY           LOVELACE                   CO     90000196234
53687283961971   DAKOTA         POE                        CA     90012902839
53688127933696   FRED           FRED                       NC     90006531279
53689125755959   IRALDA         LOPEZ                      CA     90005931257
53691367557157   CYNTHIA        HERNANDEZ                  VA     90014503675
53691495291391   DON            SECREST                    MO     90001054952
53692647455959   MARTHA         FRANCISCO                  CA     90008866474
53694339893724   HELEN          BLANKINSHIP                OH     64556343398
53694419533696   JUDY           HORNE                      NC     90004154195
53694522251348   LATANYA        DAVIS                      OH     90005475222
53696217433699   JULIAN         HERNANDES                  NC     90013042174
53696715561975   JOE            SANCHEZ                    CA     46035687155
53696939685983   BRETT          MORENO                     KY     90010309396
53697148561975   BRIAN          SPREWELL                   CA     90013101485
53697182233696   MURIEL         HILLIARD                   NC     90013181822
53697861191988   NORMA          CABRERA                    NC     17011348611
53698238342335   CODY           LAMONT                     GA     90011322383
53711112791895   ANDREA         STUDEBAKER                 OK     90014691127
53711671585928   DAWSON         SHANTA                     KY     67062406715
53715164161975   JASMINE        HERNANDEZ                  CA     90013101641
53715347233699   CHUKEIMA       LEGRANDE                   NC     12054053472
53715687691534   STEPHANIE      ACOSTA                     TX     90013136876
53715846831428   ANGELINA       KENT                       MO     90007888468
53716378933696   MATTHEW        LOCKLEAR                   NC     90003943789
53718321961921   JOSE ANTONIO   BARAJAS                    CA     90010293219
53718954171964   MARCELINO      PARRA                      CO     90014719541
53719819133696   YARILIS        GRANT                      NC     90012508191
53719914151348   TABITHA        HELTON                     OH     90001669141
53722188261975   FERNANDO       CASTRO                     CA     46025081882
53722516571964   LISA           SMITH                      CO     90012405165
53722917257157   CHUCK          MIRELES                    VA     90014919172
53723171533696   KORMORRIUS     OUSLEY                     NC     90014171715
53725975671964   SENCENA        CASEASTAS                  CO     90014719756
53726142933699   JOSEPH         PAYNE                      NC     12042711429
53727287791534   OSCAR          GONZALES                   TX     90013932877
53727363243569   JULIE          CARLOS                     UT     31077003632
53727464661975   ANA            DE LA ROCHA                CA     90010654646
53729171791895   ANGEL          MENDOZA                    OK     90013931717
53729222885928   JAMES          MORROW                     KY     90010392228
53729281161973   MARTHA         VASQUEZ                    CA     46004832811
53731282871964   MARIA          BAEZA                      CO     90008242828
53732137533699   KEONICA        WORTHY                     NC     90014941375
53732955661975   JESUS          JIMENEZ                    CA     46005739556
53734468755959   MARY           CERVANTES                  CA     48032114687
53735119685928   TELEEIKA       WEBB                       KY     90014351196
53735141291534   KARLA          KLEINERT                   TX     75095701412
53735494655959   LOURDES        LIRA                       CA     90009614946
53735621557157   DANIS          REYES                      VA     81074886215
53736255171964   STEVEN         COLEMAN                    CO     90014732551
53737165791895   KRISTIN        HARRIS                     OK     21083391657
53737777255959   JESSICA        RUIZ                       CA     48079797772
53739348271964   MICHAEL        STITES                     CO     90013883482
53739617561975   PATRICK        KAUWOH                     CA     90013476175
53739658161971   BRANDON        SMITH                      CA     46051536581
53741248661971   DOMINQUE       ROBINSON                   CA     46050222486
53741252157157   MARIA          AREVALO                    VA     81034702521
53742338531422   VERONICA       CLARK                      MO     90011583385
53742435285928   FELICIA        EVANS                      KY     90008074352
53742779157157   SANDRA         MURILLO                    VA     90010707791
53742991493724   LAURA          COMBS                      OH     90013559914
53742993161973   STEVE          RAMBO                      CA     90012879931
53743174561971   DAWN           SHULTS                     CA     90007301745
53743496384357   NORMA          SANDERS                    SC     90008774963
53743995771964   KERRY          KILLEN                     CO     90014719957
53745526491534   IRAM           GARFIAS                    TX     90013965264
53746145751348   LAMISHA        OLIVER                     OH     90012741457
53746297957157   SUSANA         MEDINA                     VA     81055132979
53746761733699   TARA           HARDY                      NC     12002157617
53747733785928   RICARDO        ALMARAZ                    KY     90014537337
53753544551361   EASTER         SEALS WRC                  OH     66056025445
53753646461975   JOHN           FRANCO                     CA     46060036464
53754572291939   CHRIS          TRUITT                     NC     17047905722
53755154484357   EBONY          KAISERHYAE                 SC     90013531544
53755391951348   ERIN           LEIGH                      OH     90009213919
53757552561971   DAVID          SIPES                      CA     90014885525
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53757697285928   EDWARD        JONES                       KY     90012246972
53758363451348   ROBERT        PLAVSIC                     OH     90012663634
53758591491534   ITZEL         LOPEZ                       TX     90010885914
53758759855959   VANESSA       GARCIA                      CA     48008167598
53759668571964   ALMA          SALAS                       CO     90010026685
53759846791895   ROSA          GUZMAN                      OK     90010418467
53761183761971   RICO          GALES                       CA     90013111837
53761491861975   NATALIE       LABORDE                     CA     90007854918
53762911654151   ISAAC         JOHNSON                     OR     90012509116
53763497151348   WILLIAM       WINN                        OH     66059904971
53765427285928   WILLIAM       OLSEN                       KY     90014174272
53765621961973   MIGUEL        GARCIA                      CA     90013476219
53765682855959   ERIK          RAYA                        CA     48082536828
53766371961975   DEREK         GRIFFIN                     CA     90013383719
53766379555959   DAVID         RANGEL                      CA     90013923795
53766398561971   BRANDEE       DECKARD                     CA     90014623985
53766825833699   DESHAYLA      JACKSON                     NC     90010108258
53767657451348   DESTINY       BUELL                       OH     66073606574
53768232871964   JOSH          CASEY                       CO     90008752328
53768329784329   JOSHUA        ROBERTS                     SC     90013033297
53768659557157   JEFFERY       HONAKER                     VA     81003896595
53769453233699   JESSICA       SMITH                       NC     90012814532
53769732161971   SUZANNE       EVANS                       CA     46011937321
53771222191895   SUQUANA       FOX                         OK     90013932221
53771395451333   CHELSEA       WEISS                       OH     90010493954
53771497833699   TINA          GENTRY                      NC     90015094978
53771533455959   MARIO         NARANJO                     CA     48034365334
53772757357157   KEVIN         WILLIS                      VA     90003987573
53774986533699   HENRY L       WHITE                       NC     90014819865
53775277761975   MICHELLE      OLSEN                       CA     90015202777
53778117271964   SONIA         NOYES                       CO     32014281172
53781372591895   STEPHEN       ROGERS                      OK     90003933725
53781533555959   EMMA          GARCIA                      CA     48071605335
53783586391895   PATRICIA      LOZANO                      OK     90000915863
53783898833696   UNEDA         FOUST                       NC     12088968988
53784165757157   PATRICIA      ABANTO                      VA     90011031657
53784526493724   MARTY         GISEWITE                    OH     90010965264
53785166861975   BETZUA        GARDUNO                     CA     90013101668
53786391171964   CHRIS         BRONSON                     CO     90014193911
53786535833699   HILDA         HERNANDEZ                   NC     12095975358
53786798891534   RAQUEL        ZUNIGA                      TX     90000387988
53787923591323   PHILIP        MIRAMONTES                  KS     90013349235
53789814133699   VAL           SMITH                       NC     12022148141
53791196491534   CARMELO       MARTINEZ                    TX     75082441964
53791864561975   MARICELLA     ARANDA                      CA     90015208645
53793666651348   PAUL          TRIANCE                     OH     90009726666
53793777171964   ARTURO        GALAVIZ JR                  CO     32007707771
53794233191534   JOSE          RAMIREZ JR.                 NM     75055912331
53794356591895   MARIO         PANIAGUA                    OK     90013933565
53794444971964   EDY           RIVEROS LEON                CO     90012214449
53794611931436   WILLIAMS      GLENDA                      MO     90002506119
53795118657157   JONATHAN      MADUAKOR                    VA     81045601186
53796526951348   TIMOTHY       HISER                       OH     66062105269
53797585955959   JAIME         JIMENEZ                     CA     48009405859
53797828261973   LORENA        OSUNA                       CA     90002618282
53798228651348   MICHAEL       ODENBECK                    KY     90012702286
53799839884373   SUSAN         HOGAN                       SC     90012598398
53811152491895   THOMAS        MCENTIRE                    OK     90003581524
53811649357157   PHYLLIS       AWAP                        VA     90002476493
53812227741221   MALANI        KEEFE                       PA     51071862277
53813287851348   MEGAN         RIES                        OH     90011852878
53813295171964   CHRITINE      NAGLE                       CO     90011662951
53813388351348   LOUIS         PENLEY                      OH     90014723883
53813963355959   PEDRO         ZEPEDA                      CA     90001099633
53814653361973   CAMERON       FIELDER                     CA     90011446533
53816226784357   KELYNDA       FREEMAN                     SC     90003702267
53817216793782   CHRIS         LANNERD                     OH     90014592167
53817222231428   CHRISTOPHER   PAYNE                       MO     90010982222
53818197533696   ASHLEY        VARELA                      NC     90010761975
53818299893724   LACI          LESTER                      OH     64553972998
53819219771964   KAYLA         JOHNSON                     CO     90014722197
53821257561973   JONATHAN      OCHOA                       CA     90009302575
53823377533699   LOLETTA       WILLIAMS                    NC     12022523775
53823546761971   DAWN          COMO                        CA     46029525467
53823558593724   AUSTIN        MILLER                      OH     90011345585
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53823854791981   RICHARD      EVANS                        NC     90008088547
53824383551348   BOBBY        TRENT                        OH     90012663835
53825599761973   PATRICK      PEREA                        CA     90000505997
53826616361971   RICARDO      HERNANDEZ                    CA     46037446163
53826711791534   EDUARDO      DURAN                        TX     90008617117
53827218761973   MARIA        ALVARADO                     CA     90012732187
53827263933699   YTANG        KSOR                         NC     90010112639
53829486171964   LOPEZ        LUZ                          CO     32020924861
53829755491534   LUIS         GONZALEZ                     TX     90010717554
53831475661971   ROCKY        SMITH                        CA     90006194756
53831854791981   RICHARD      EVANS                        NC     90008088547
53832168561971   DOUGLAS      STEPHANIE                    CA     90001961685
53832817561973   MARTHA       VILLALOBOS                   CA     46023518175
53833335761921   HUGO         BALTAZAR                     CA     90006613357
53834238433696   SYREETA      SAUNDERS                     NC     90013922384
53835747185928   HUMBERTO     TAPIA                        KY     90006717471
53838257736145   TAQUANA      HOUSTON                      TX     90004902577
53838784333699   LINDSAY      WILLIAMS                     NC     90012997843
53838845691885   VICTORIA     SLAGLE                       OK     90009638456
53838958585928   KRISTEN      RAYBOURN                     KY     90010689585
53841987661921   EVAN         WILLIAMS                     CA     46016859876
53843633791895   PAU          KHIA                         OK     90014756337
53843797284357   ANGEL        SALAZAR                      SC     90007677972
53844639685839   HEIDI        SWANSON                      CA     90007126396
53845685461966   REBECCA      BRAMBILA                     CA     90010416854
53846127655959   NORMA        ESPINOZA                     CA     90008061276
53846668571964   ALMA         SALAS                        CO     90010026685
53847785291587   NANCY ANN    CARR                         TX     75053337852
53848415491895   RODNEY       FUDGE                        OK     90010914154
53849723957157   VICTOR       CONTRERAS                    VA     90011037239
53849731691895   NEPHTALI     VINAJA                       OK     90003967316
53849939591534   MARCELA      TELLEZ                       TX     75046129395
53853965691895   ALLIE        HUDSON                       OK     90012519656
53854391651348   STEFFANIE    POPE                         OH     90013303916
53854594361971   MATT         WHITE                        CA     90002705943
53854771461975   HARIM        ROBLES                       CA     46036347714
53855312385928   KELLY        WEBB                         KY     90014883123
53857519161973   FLORES       MARIA DEL ROCIO              CA     46071115191
53861227661975   ELENA        GUIZA                        CA     46092762276
53862311957157   JESUS        MARTINEZ                     VA     90014763119
53862486585928   BRANDY       GARCIA                       KY     90012114865
53863253391895   HUGO         HURTADO                      OK     90013932533
53863781933699   ANDRIL       CHESTNUT                     NC     90011517819
53865316691895   LETITIA      MANN                         OK     90013933166
53866194885928   CHERYL       BABB                         KY     90013001948
53869796785928   BRIAN        HARM                         KY     90013097967
53871661761975   RUBEN        PEREZ                        CA     90013116617
53872296943569   JACCI        MCDONALD                     UT     31010952969
53874118661975   LESLIE       OJEDA                        CA     90003601186
53874521857157   ROBERT       FRAZIER                      VA     90013425218
53874763991895   NATESHIA     DELONIA                      OK     90012997639
53875396571964   GARY         HARTASG                      CO     90010183965
53877594833699   CATINA       HEATH                        NC     12059775948
53877784284373   MICHAEL      KINARD                       SC     90005007842
53878534557157   MIRIAM       HERNANDEZ                    VA     81074435345
53882351461971   AISHA        MUHAMMED                     CA     46031083514
53882465557157   VIRGINIA     PAUCCAR                      VA     90014854655
53882611984373   APRYL        WRIGHT                       SC     19089066119
53884124155959   TAMMI        SMITH                        CA     90013171241
53884151261941   ANDREW       VOLPER                       CA     90007661512
53884214991587   LUZ          SALOME                       NM     75063102149
53887456561971   SONIA        MONTOYA                      CA     90013264565
53887723261973   RONALD T     GARLAND                      CA     90002327232
53887792833699   JASMINE      WARREN                       NC     90014787928
53888437391895   JOSHUA       DAY                          OK     90007204373
53889284191558   WILLIAM      FENNEL                       TX     75088372841
53889441771964   GERSON       ALMICAR                      CO     32086864417
53891459833699   SHADAE       PENDERGRASS                  NC     90015154598
53891495757157   MARIE        COOK                         VA     90014094957
53891889261975   ANDRES       RAMIREZ                      CA     90014918892
53892711484357   RANDALL      LEWIS                        SC     90006627114
53893282585928   KISHA        LEWIS                        KY     90013662825
53893295191895   ISAU         BAUTISTA                     OK     90013932951
53893443133696   JERRY        POTEAT                       NC     90011214431
53893621591534   PATRICIA     TORRES                       TX     75001806215
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53894231666186   SERGIO              ALVAREZ               CA     90015202316
53894287255959   GILBERT             MARTINEZ JR           CA     48078972872
53894698861975   EDITH               CERVANTES             CA     90014826988
53895487291895   ELLEN               EUBANKS               OK     90014724872
53897212891534   JESSICA             DOMINGUEZ             TX     75017642128
53898244385928   ANNA                THOMPSON              KY     90012052443
53899541191534   CHRIS               CANALES               NM     75083985411
53911718261973   JOSH                CORNELL               CA     90012757182
53911732561971   SHERI               PARSONS               CA     90011937325
53912132461971   GUSTAVO             GONZALES              CA     90013581324
53912529271964   STEVEN AND NIKITA   JACKSON               CO     90012405292
53914642193724   JEREMY              STEPHEN               OH     64587736421
53914739531429   ADRIAN              MITCHELL              MO     27596197395
53915963285928   JOSEPH              JOHNSON               KY     67005619632
53916721371964   ROY                 ROSS                  CO     90010077213
53916878791534   MONICA              IANNI                 TX     90010328787
53921271557157   AVELINO             MALAQUIAS             VA     81063232715
53921488233696   JENE                STILES                NC     90011214882
53922278831429   KIMBERLY            MCDANIEL              MO     27576392788
53922366557157   FRANK               SCHIAVONE             VA     90001963665
53923462371964   MARIA               CUEVAS                CO     32009634623
53923879691895   ANDREW              BROAD                 OK     21009718796
53924513961973   ORTIZ               VICENTE               CA     90010865139
53924754357157   SORIE               KONNEH                VA     81031057543
53924848751348   JOHN                DURHAM                OH     90004018487
53925297785928   JEFF                NOE                   KY     90002042977
53925728157157   COURTNEY            WILSON                VA     90014767281
53925743991534   ANABEL              CERVANTES             TX     75026647439
53926341561971   ABRAHAM             FLORES                CA     90008713415
53926689757157   LUIS                VALENCIA              VA     90011116897
53927591785928   CLADIA              OSORIO                KY     67054385917
53927678261975   LISA                SEXTON                CA     90015166782
53931161284357   MOSES               YOUNG                 SC     14587651612
53931422491534   MIGUEL              HERNANDEZ             TX     90015154224
53932231533696   BOBBY               HIGHTOWER             NC     90002152315
53933714391534   ROCIO               LANDEROS              TX     90008617143
53934224791895   EMERY               PHILLIPS              OK     90009332247
53934557333696   WILLIAM             FRALIN                NC     12089045573
53934731261975   MARCOS              HERNANDEZ             CA     90013117312
53934815757157   BREYONNA            WILLAMS               VA     90013478157
53935275461973   JOAN                FRAZIER               CA     46068752754
53935958585928   KRISTEN             RAYBOURN              KY     90010689585
53936731185928   LESLIE              WICKHAM               KY     90014917311
53936921251348   CHERYL              WILSON                OH     66012499212
53937545671964   MONICA              CAIN                  CO     90007195456
53937722961973   GABINO              GUADALUPE             CA     90005017229
53937855551348   MYRON               HAMPTON               OH     66043778555
53938545671964   CHARLOTTE           WILEY                 CO     90011665456
53939164257157   MOHAMED             TRAAD                 VA     90011631642
53941883491534   JUAN                CARRILLO              TX     90005998834
53943565791534   JOSE                MARMOLEJO             TX     75001835657
53943761733696   ARCHIE              BABCOCK               NC     12030027617
53944195391895   CAMERON             JARRETT               OK     90010821953
53946415491895   RODNEY              FUDGE                 OK     90010914154
53946446961973   SANDRA              OROZCO                CA     46007324469
53946812151348   RICHARD             JOHNSON               OH     90012988121
53947488233696   JENE                STILES                NC     90011214882
53948286461975   CHRISTENE           TERESA                CA     90013122864
53948646271964   JORDAN              CRUZ                  CO     90007196462
53952451691534   SILVIA              ADAME                 TX     90010194516
53952666433699   KIYHREA             ROBBINS               NC     90013606664
53953573161971   FATIMA              GOMEZ                 CA     90000445731
53954175433696   LISA                LITTLE                NC     12081311754
53954527155959   NANCY               MENDOZA               CA     90013815271
53957146661975   CANDELARIO          HERNANDEZ             CA     46044571466
53958356791534   ISABEL              ROJAS                 TX     75040823567
53959224451348   CRYSTAL             HOSKINS               OH     90003102244
53959373591534   SERGIO              REYES                 TX     90006433735
53961367685928   NATHAN              WILLIAMS              KY     90015173676
53961695161973   JESSICA             SEGURA                CA     90013716951
53961977861973   JESSICA             SEGURA                CA     90014779778
53962661781696   SUSANA              FARIAS                MO     90013716617
53963587555959   JESUS               COSSIO                CA     90010945875
53963617791534   JESSICA             FLORES                TX     75063066177
53966277884357   PAULETTE            MCKEE                 SC     90002922778
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53966523291534   KEVIN        VILLANUEVA                   TX     90015395232
53966766551348   SHERRY       BACKER                       OH     90004237665
53967364591895   EDUWIGES     HERNANDEZ                    OK     90013933645
53971617971964   FAVIOLA      SANCHEZ                      CO     32021346179
53971975851348   DARRYL       ASHCRAFT                     KY     66012089758
53972414643569   RICHARD      VADNAIS                      UT     90009724146
53972758133696   KENETH       STACY                        NC     90005107581
53973751655959   CARLOS       BALLADAREZ                   CA     90015157516
53974672571964   GABE         VTEC                         CO     90014736725
53975497485928   MO           BROWN                        KY     90013864974
53975745851348   MALIKAH      COFFEY                       OH     90011957458
53979249455959   GABY         TRUJILLO                     CA     90014632494
53979272233696   JULIO        GOMEZ                        NC     90012992722
53981959884373   CRAIG        PERRY                        SC     90010669598
53982768771964   MARIA        PLEWNIAK                     CO     90013587687
53983216781666   DWAYNE       JONES                        MO     90008052167
53983991161971   DUANE        ROBERTS                      CA     90013149911
53984192185928   PATRICIA     DAVIS                        KY     67093791921
53984439693782   LATEENA      ROBINSON                     OH     90004234396
53984543333696   MONIQUE      MCQUEEN                      NC     90011215433
53985174185928   MIOEKA       MORSE                        KY     67014621741
53985859833699   RACHELL      GALLOWAY                     NC     90011318598
53987112461973   EDUARDO      ESPINO                       CA     90014541124
53987913191895   KAREN        SANDERS                      OK     90010199131
53988277733696   CLIFTON      ILLS                         NC     90012992777
53988844133699   ANTONIO      JACKSON                      NC     90014188441
53989377933699   ELADIA       GUTIEREZ                     NC     90014483779
53989467457157   SKYE         COSNER                       VA     90013484674
53989637761973   ALEX         HEREIDA                      CA     90014916377
53989741871964   STEPHANIE    ONTIVEROS                    CO     90014737418
53991463361971   JOVANNA      SMITH                        CA     90015204633
53991584357157   MARCO        LEMUS                        VA     90010175843
53992588861975   KYLE         SWIM                         CA     46051335888
53992635763667   DIETRICH     CLEMMONS                     MO     90007266357
53992635984357   DEBRA        JONES                        SC     14506416359
53993653385928   ADRIANA      GAYTAN                       KY     90012936533
53993654555959   MARIO        BAUTISTA                     CA     90014876545
53997179255959   MELISSA      GONZALEZ                     CA     48028441792
53997427691895   LOUIS        CAMPBELL                     OK     90007564276
53997694961971   CARISSA      OSTEEN                       CA     90009926949
53997924133699   BUTTER       FIELD                        NC     12037469241
53998717851336   MONICA       BLACKWELL                    OH     66097527178
53998966243569   DENILEIGH    NEVILLE                      UT     90002519662
53999147784357   NATASHA      PRINGLE                      SC     90010211477
53999152261971   ALICIA       RENTERIA                     CA     90010861522
54112813631428   IVORY        MOBLEY JR                    MO     27506038136
54114896731468   MAURICE      PARKER                       MO     90008748967
54117616284373   LEONARDO     HARNANDAZ                    SC     90015096162
54117783161973   ADAM         MOORE                        CA     46007617831
54118442151348   COLLEEN      RIPLEY                       OH     66040084421
54119185785928   ASIANNA      FORD                         KY     90014591857
54122663331429   ALECIA       DENT                         MO     90007086633
54125732385928   ALLISON      HARDIN                       KY     67032427323
54125859884373   RANGER       SEGUNDO-TIBURCIO             SC     90010968598
54127795261975   ARASELI      VARGAS                       CA     90012847952
54128783561975   ROSANA       MORA                         CA     90007977835
54128823555959   MAURICIO     BELMONT                      CA     90013638235
54129795661975   MARLENE      HERNANDEZ                    CA     90007977956
54131912961971   JAMES        JACOBS                       CA     90015259129
54133863831428   ANDREW       ALLSUP                       MO     27506048638
54133921961971   DAVID        GARD                         CA     90006769219
54134866193724   AMANDA       ROUTT                        OH     90013948661
54137484291895   SABRINA      VAN HANYNING                 OK     90007124842
54137828833696   BRANDON      MCNEIL                       NC     90015008288
54141112961973   MARIA        ABARCA                       CA     90010821129
54143884893724   MICHAEL      BURKE                        OH     90013948848
54143942451348   RYKIEL       CULBRETHY                    OH     90010999424
54144693291895   ALEXANDER    WOODS                        OK     21004646932
54145421751388   STEVEN       WILCOXSON                    OH     90007384217
54146249493724   TAJUAN       HOUSTON                      OH     64576122494
54148388161971   MYNOR        HERNANDEZ                    CA     46073723881
54148987633696   GAIL         HALL                         NC     90009089876
54149224684373   TERRELL      SLATER                       SC     90008962246
54149325891587   RUBY         SILVA                        TX     90001693258
54149743133699   EBONY        HOUSER                       NC     90009587431
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54152125233699   MARIA         SANTOS                      NC     90015221252
54153824233696   MICHAEL       SKIPPER                     NC     90014738242
54154388533696   ALISHA        LANE                        NC     90014063885
54154422291895   MARIA         NUNEZ                       OK     90012574222
54154684433696   YALONDA       BETHEA                      NC     90011066844
54155191951348   LATOYA        BROWN                       OH     90012001919
54155612761975   KEVIN         GRIFFITHS                   CA     90015016127
54155781191587   BRANDIE       CASSIO                      NM     75004467811
54156341333696   ROBERT        HEARTWELL                   NC     12010723413
54156664633699   DONNIE        FORD                        NC     90013216646
54156858261975   LANETTE       FOSTER                      CA     90007958582
54156976793724   ANGELA        WOODS                       OH     90013949767
54158475631429   AARON         GILBERT                     MO     90010174756
54159761191895   SHERRY        GARRISON                    OK     21057787611
54161438641229   RONDA         KELLY                       PA     90011754386
54161749291895   THERESA       WILLIAMS                    OK     90009467492
54164124455959   ROSA MARTHA   ESPARZA                     CA     90015091244
54164727133696   PATRICIA      HICKS                       NC     12092357271
54165627651348   MELISSA       MOYER                       OH     90015156276
54166139155959   MARTHA        CARDENAS                    CA     48091541391
54167353484334   HEIDY         ANGELITA                    SC     90010453534
54168283233696   TYKERIA       DEBERRY                     NC     90007082832
54169465691895   MATTHEW       SPEIGHT                     OK     90014554656
54169743784357   PATRICIA      MULLINS                     SC     90006547437
54169976891587   NELIA         NAVARRETE                   TX     90014469768
54171357285928   GERARDO       LUNA                        KY     67009023572
54173345991587   LUIS          GUERRA                      TX     90002883459
54174435551348   TATIANA       FINLEY                      OH     90013284355
54175526755959   JOANN         RUIZ                        CA     90014815267
54177381151348   KIM           ROBBINS                     OH     90013373811
54177518161971   COLTON        KELLEY                      CA     90012305181
54179445693724   JOSHUA        MATTHEWS                    OH     90003144456
54184374273268   MELISSA       CARTER                      NJ     90013283742
54187738591587   WILLIAM       SNIDER                      TX     90010747385
54188637833699   FRANK         JONES                       NC     12061206378
54189192185928   CRYSTAL       TRINIDAD                    KY     90007521921
54189625961975   CASSANDRA     TORRES                      CA     90011176259
54191715661971   RYAN          BRADLEY                     CA     90011327156
54194861155959   CINDY         JUAREZ                      CA     90012698611
54195278993782   KELLI         WAGNER                      OH     90008862789
54195946591895   ALANA         BERRY                       OK     90009399465
54199465761975   PEDRO         LABRA                       CA     90009664657
54211894693724   SARENA M      SMITH                       OH     90006218946
54212655651348   MARIE         LEWIS                       OH     66091716556
54213792361973   LUIS          ALVAREZ                     CA     90014917923
54214843484373   KIMBERLY      WALKER                      SC     90013788434
54218427284373   DARNITA       WORTHAM                     SC     90011494272
54221131757157   VICTOR        DE LEON                     VA     81007211317
54225145393724   MELISSA       TAYLOR                      OH     64574021453
54225432561975   CLAUDIA       WILLIAMS                    CA     90013884325
54226392193724   CHRISTOPHE    EVERETT                     OH     64556043921
54227744193724   JANICE        MCGEE                       OH     64560017441
54231628433699   NUBIA         TRINIDAD                    NC     90011156284
54231762161975   GARY          STEPHENSON                  CA     46053697621
54231862785928   TERESA        BLOT                        KY     90008178627
54232944484373   JAMAAL        GADSDEN                     SC     90013029444
54233299457157   THOMAS        HENDERSON                   VA     90012042994
54233926257131   UNALDO        AYALA                       VA     81024029262
54234138931429   KEVIN         VOISEY                      MO     90007101389
54234541755959   VIOLET        PELOYAN                     CA     90012925417
54235155531429   ALONZO        ZALLOWAY                    MO     90007101555
54235197261975   ANABEL        AYALA                       CA     46041741972
54235872477534   YOLANDA       LOPEZ                       NV     90000428724
54236849351348   JULIE         HIMM                        OH     90009968493
54237382684373   MYRNA         WARREN                      SC     90003703826
54241156433699   EDNA          THOMPSON                    NC     12070921564
54242438951348   NICOLE        HALLORAN                    OH     90014714389
54242837161973   DIANA         GOMEZ                       CA     90013538371
54243182161973   JORGE         ROSAS                       CA     90012871821
54244514161973   MARY          HERNANDEZ                   CA     90012625141
54245196951348   MEGAN         HUGHES                      OH     90014291969
54246427743569   MARSH         JACLYN                      UT     90008674277
54247197491535   JESSICA       ROBLES                      TX     90005491974
54248173693724   GILBERTO      CASTILLO                    OH     90011641736
54248871884373   TAMEKA        EDWARDS                     SC     90012318718
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54251269255959   JOSHUA       LOPEZ                        CA     90015292692
54251399661975   RODRIGO      AGUILAR                      CA     90012863996
54252192791895   BRANDON      ALEXANDER                    OK     90013051927
54252595291587   GILBERT      MENDOZA                      TX     90012315952
54252627784373   KENDRICK     MAYS                         SC     90009406277
54253775591895   GILBERT      MOORE                        OK     21024737755
54255445133696   DONALD       ASHLEY                       NC     90008354451
54255538493724   RONALD       SHELTON                      OH     64530545384
54256224733699   MARILYN      MCRAE                        NC     90013082247
54257941133696   OTIS         ROBINSON                     NC     12043859411
54258292385928   MARY         GREEN                        KY     67009882923
54259971191895   JUAN         URTIA                        OK     21075609711
54262516661975   BRYAN        MALDONADO LOPEZ              CA     90012705166
54263164133696   ALICIA       HANNAH                       NC     90012871641
54263873391587   VIVIAN       AVILA                        TX     75081938733
54265473961975   ROBERTA      EDWARDS                      CA     90014384739
54265962893772   TIMOTHY      FRAZIER                      OH     90008529628
54267728761971   RICKEY       DAVIS                        CA     46031017287
54273327491587   SHAWN        GREER                        TX     90010153274
54274469755959   BLANCA       SANTANA                      CA     48002334697
54274776631428   RASHONDA     NORTHCROSS                   MO     27564017766
54274845961973   MARTIN       JUAREZ                       CA     46084698459
54275833133645   RONNA        GIBBS                        NC     12097728331
54276666991587   ARTURO       DIAZ                         TX     75061746669
54276728261973   ISABEL       MORENO                       CA     90002317282
54278139484357   COLIN        EADY                         SC     90006481394
54278219661975   ALMA         CHAVEZ                       CA     90007982196
54279121881669   DENISE       DAMERON                      MO     29052551218
54282562561975   FELIPE       CONTRERAS                    CA     90004365625
54282711561971   BRIAN        MILLER                       CA     46016017115
54282894691895   LAKIN        N HAMILTON                   OK     90011318946
54283264533696   SANDRA       ABARCA TAPIA                 NC     90000662645
54284387661973   HANAH        SATTLER                      CA     90009253876
54286547691587   JOSE LUIS    GAYTAN                       TX     90014385476
54289636161973   VALLES       MIKE                         CA     46096116361
54292817651348   MERCEDES     ARAUJO                       OH     90015168176
54295465491587   ERICKA       ESCANDON                     NM     90012374654
54297385377522   HEATHER      SANCHEZ                      NV     43016733853
54297922685928   HEATHER      WETHINGTON                   KY     67003359226
54298333491587   DANIEL       GONZALEZ                     TX     90008453334
54298556284373   JENNIFER     LUCAS                        SC     90013095562
54298929784357   TREMAINE     MILLEDGE                     SC     90006519297
54311122851348   PABON        MORALES                      OH     66072971228
54311187961971   JENISE       ROGERS                       CA     90011131879
54311293785928   NAITAI       TILLMAN                      KY     67099572937
54311399661975   DESMOND      MOTT                         CA     46010333996
54317671331428   ROBERT       JACKSON                      MO     90005396713
54319587961973   MS           DANIELS                      CA     90012945879
54321621993724   JACQUELINE   FINCH                        OH     64574816219
54325972591587   ANGEL        TELLEZ                       TX     90010259725
54326394561975   FRANCIS      NICHOLS                      CA     90013043945
54327821785928   NOAH         HARMON                       KY     90010998217
54328171151348   AVA          KING                         OH     66013931711
54328242755959   MARIA        BARRAGAN                     CA     90007162427
54328678661973   LISA         HOUSTON                      CA     90012716786
54331523591587   MARIA        ACOSTA                       TX     75077785235
54332597391895   CHRIS        LITTLEJOHN                   OK     90013755973
54332736933696   ASHLEY       TEEL                         NC     90013477369
54333329285928   LINDA        TABOR                        KY     90008913292
54333513984373   VERONICA     CARTER                       SC     90001905139
54333863261971   RICHARD      KNOX                         CA     46012958632
54334989855959   LUCERO       DE DIOS                      CA     90003689898
54335952343569   NICOLE       PLATT                        UT     31057309523
54337695361971   ROSARIO      FELIZ                        CA     90013066953
54338728891587   RUBISELL     BARRAZA                      TX     90014417288
54339945184373   JULIE        LANCASTER                    SC     19075959451
54341625893724   KRISTINE     CLAXTON                      OH     90013216258
54342216555935   JUAN         MEDINA                       CA     49096592165
54342256191895   PAULA        SHARP                        OK     90008192561
54342369141247   SHAITISHA    CAMPBELL                     PA     51029473691
54342612461971   JAMES        SWEETWOOD                    CA     46041726124
54343516155959   SANDRA       VARGAS                       CA     90007695161
54345314931428   LAURA        FIELDS                       MO     27515193149
54345541785928   EMMMETT      MANLEY                       KY     90012385417
54346224133699   ANDREYA      CHURCHILL                    NC     90007702241
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54346341461971   LORENA        BELANDER                    CA     90014363414
54347117991534   MICHAEL       ROBLEDO                     TX     90010601179
54347431261973   LUZ           FEREZ                       CA     90014754312
54348636884373   ALICIA        RAMOS                       SC     19087856368
54349624391895   CARRIE        SNEED                       OK     21006126243
54349851893724   GEORGE        CORE                        OH     90014818518
54351561161971   ROSLYN        CASH                        CA     90012055611
54351623651336   NAKESHA       FRAZIER                     OH     90011196236
54351752855959   RUBIEL        CIRILO                      CA     90012637528
54354176493724   CURTIS        BECKETT                     OH     90015001764
54354789391895   DELISE        ESPARZA                     OK     90004717893
54357974333699   DEBORAH       RAPHAEL                     NC     12065699743
54359331493724   KELLY         JUDY BAILEY                 OH     64556053314
54362194193724   CHRISTOPHER   WILLIAMS                    OH     90012591941
54363153391587   JULIAN        TINAJERO                    TX     90015121533
54363154951348   CHRISTINA     PEREZ GUTIERREZ             OH     90012761549
54364567291587   ALESHA        WOLOSZYN                    TX     90014045672
54364642791587   RUBY          VARGAS                      TX     90009446427
54365371185928   DACOMA        WALKER                      KY     90009373711
54367338157157   HAROLD        STRICKLAND                  VA     81056313381
54369494884373   DAVIDA        SIMMONS                     SC     90013684948
54371178484373   JASON         NICHOLS                     SC     90012711784
54371719261975   ESPERANZA     GONZALEZ                    CA     90012427192
54371852661973   ALMA          ALCANTARA                   CA     46078648526
54374414661973   JESUS         RIVERA                      CA     90013354146
54375224161973   PAMELA        ESPINO                      CA     90013452241
54375594561971   BRICE         BARNEY                      CA     90010745945
54377822593724   NICOLE        BERRY                       OH     90014858225
54378373891587   ALMA          MAGERS                      TX     75092273738
54379146185928   LIONER        BRANNON                     KY     90005911461
54379713185928   STEVEN        SMITH                       KY     90014767131
54382368191267   CHRIS         MARTIN                      GA     90009463681
54382778693724   JOSEPH        SHEPHERD                    OH     90005237786
54383158643569   TINA          MILEWSKI                    UT     31014111586
54383613584373   MARIO         FERMIN TURCIOS              SC     90012046135
54384819361973   JONATHAN      YOCHUM                      CA     90007208193
54386127891895   EVELYN        CARTER                      OK     90003681278
54388325755959   ARNULFO       LOPEZ                       CA     90013233257
54389584161973   MARIA         NUNEZ                       CA     90014325841
54392342991587   RAMON         CHAIREZ                     TX     90013083429
54392696261973   ALEX          CRESPO                      CA     90011466962
54394133641271   FRANK         REOLA                       PA     90009361336
54394153393782   AMANDA        LECKEY                      OH     90010951533
54395122733696   JACQUELINE    MICKEL                      NC     12097071227
54395638451348   CARRIE        CARTER                      OH     90015126384
54397866961973   ISRAEL        VILLA                       CA     46057688669
54398283157124   PEDRO         FLORES                      VA     90003142831
54398636733696   CRYSTAL       LANGFORD                    NC     12016816367
54411495361973   ISRAEL        MOYEDA                      CA     90014294953
54411814361971   JOSEPH        OSBORNE                     CA     46082188143
54412161355947   KARLA         DELORBE                     CA     90012711613
54414689451348   ANGELA        SPEARS                      OH     90012456894
54415184133696   LEE           GORDON                      NC     90010931841
54417965593724   ROGER         BOOARDO                     OH     90014729655
54419758333696   ANTHONY       JULIUS                      NC     90014877583
54419836851348   RAMIRO        HERNANDEZ-RAMIRO            OH     90015018368
54421858893724   GUY           WILSON                      OH     90010768588
54422635233696   THIAGO        KIDD                        NC     90012266352
54423576655947   LAURA         DIAZ                        CA     49092325766
54429514142335   JAMES         HANCOCK                     GA     90002135141
54431333691587   VASQUEZ       NANETT                      TX     75016923336
54431669791895   SARAH         KUNIHIRA                    OK     21077586697
54432176855959   BARBARA       ORDAZ                       CA     90005321768
54433351484373   DANIELLE      LOWERY                      SC     90006973514
54433527855959   RUBEN         SANDOVAL                    CA     90012475278
54435763961939   RICARDO       R HERNANDEZ                 CA     90012607639
54435767493724   LAJUANA       MASTON                      OH     90003717674
54436262293772   EDDIE         BOSIER-SHOLLER              OH     66038602622
54436498555959   JUAN          SUAREZ                      CA     48069614985
54436828461973   PERLA         ZAZUETA                     CA     46007948284
54437281584373   KRISTOPHER    VERRETT                     SC     90012822815
54438353261971   TRACI         PAULSON                     CA     90011533532
54438677484373   RASHEMA       PAYTON                      SC     90015156774
54441817143569   LISIATE       POMEE                       UT     90008868171
54442933691895   CAROL         SHOULDERS                   OK     90013159336
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54442997884373   MARIA        NESBIT                       SC     90013569978
54444322691895   LINDA        WILLIAMS                     OK     90014303226
54444987861975   MAYRA        JIMENEZ                      CA     46011199878
54445621791895   BENNY        LONGORIA                     OK     90014116217
54445797991587   EDGAR        BAEZ                         TX     75089397979
54447954133699   SHEREKA      THOMAS                       NC     90013449541
54448249391895   BONNIE       GALLOWAY                     OK     90009292493
54448583361971   MARIA        CASTRO                       CA     90015105833
54449315431428   MICHEL       HENDERSON                    MO     90009633154
54449479333699   LUIS         OLAGUE                       NC     90014344793
54452481461971   NICOLE       RESSLER                      CA     90008434814
54452767793724   YOLANDA      MURRAY                       OH     64590657677
54455319793724   ANIYAH       LILLARD                      OH     90013953197
54455833251348   KEVIN        KOMBRINCK                    OH     90013998332
54456355433699   LEANDREA     MCNAIR                       NC     90007433554
54456885693724   MILIKA       HAMPTON                      OH     90014758856
54457236491587   JULIO        RINCON                       TX     90013492364
54458245791587   JOANNA       GUERRA                       TX     90004012457
54461517384373   JERALD       BENNETT                      SC     90013645173
54461834385928   JEFFERY      HIGGINS                      KY     90003538343
54462256461971   JUSTIN       RIMOLDI                      CA     90012752564
54462683893724   RHONDA       BROOKS                       OH     90012816838
54462854961971   IVY          SOLATO                       CA     90014188549
54463697684373   YERIKA       RIVERA                       SC     90005296976
54464563361973   ERICKA       VERGARA                      CA     90014685633
54467482461975   GONZALO      ALEJANDRE                    CA     90014564824
54467687231428   SANTRELL     DUFF                         MO     90011116872
54468547833645   TAMARA       CUTHBERTSON                  NC     90012225478
54468957255959   JUAN         DIAZ                         CA     90012149572
54471199691587   GLORIA       ZAVALA                       TX     75059771996
54471731261975   LAURA        ALVAREZ                      CA     90011557312
54471848733696   KATRINA      MORRISON                     NC     90008078487
54472696761971   MICHAEL      BULICK                       CA     90010916967
54474352655959   MIGUEL       ROJAS                        CA     48060903526
54475432584373   MARIA        LOERA                        SC     19037774325
54475466755959   MARIBEL      GOMEZ                        CA     48043224667
54476265357157   MURIEL       RIAZ                         VA     90003662653
54479869355959   MARIA        LOPEZ                        CA     90015278693
54481922733699   JACQUELYN    OKAFOR                       NC     90013929227
54481941684373   ANDREA       RAMIREZ                      SC     90012349416
54482195755959   PABLO        RANGEL                       CA     90000111957
54482339693724   DARLA        BROWN                        OH     90013953396
54483843291587   CHRISTINA    GRAU                         TX     75031928432
54486469833696   PAMELA       MCCLURKIN                    NC     90013194698
54487131155959   GENEVE       MARES                        CA     90011211311
54487189561975   CHRISTINE    HEARD                        CA     90014181895
54488878361971   GARY         JOHNSON                      CA     46013278783
54489113143569   RYAN         REDDISH                      UT     31058221131
54492245891895   BRANDON      BUFFINGTON                   OK     90003702458
54495125291895   SHAREEFAH    MESTAD                       OK     21030151252
54495349433699   GERALD       ATWATER                      NC     90010273494
54497851193724   MONICA       HUNT                         OH     64581938511
54499297791587   FRANCISCO    HENRY                        TX     90012092977
54499615593724   DENISE       PATRICK                      OH     64573146155
54512458261973   CARMEN       GUTIERREZ                    CA     90013344582
54513715658577   VANE         ANDERSON                     NY     90001597156
54514385693724   ROBIN        PULLIAM                      OH     90000603856
54515453357379   JOHNNY       COX                          MO     90015234533
54515756591895   AMY          DARNELL                      OK     21077667565
54517461393754   RICK         KRAMER                       OH     90011894613
54517659157127   ALEMAYEHU    MESHESHA                     VA     81011696591
54517974391587   JANINE       RAMIREZ                      TX     90010259743
54519318461975   ROBERTO      CHAVEZ                       CA     90001433184
54519413191895   FRANCES      ROBERTS                      OK     90013314131
54524389855959   GOVANI       ZARCO                        CA     90013083898
54524981491895   KASHEDRA     CALHOUN                      OK     90013069814
54525322785928   APRICA       HOOTEN                       KY     90014383227
54526879333699   PATRICK      PERRIN                       NC     12073148793
54527496361975   MERCADO      JOEL                         CA     46071894963
54527525233699   CYDNEY       MARTIN                       NC     12064615252
54528151191895   STEPHANIE    TULSA                        OK     21075941511
54528527684357   SHANNIKA     WILSON                       SC     90008705276
54528977761975   LUIS         JUAREZ                       CA     90003709777
54529823261975   LOGAN        BUTLER                       CA     90010458232
54531874161973   GABRIELA V   BERMUDEZ                     CA     90012378741
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54532575584373   JENNIFER        CRUSINBERRY               SC     90015125755
54533466191895   ANGELA          BUTLER                    OK     21007144661
54535213433696   SHELETHA        PARKER                    NC     90013772134
54535916793724   JAVIER          REBOLLO                   OH     64500249167
54536488661975   RAY             VASQUEZ                   CA     90011154886
54536736155959   FRANCISCO       MELENDEZ                  CA     48026027361
54537131184373   TWANNA L.       DAVIS                     SC     90011121311
54542427293782   HEATHER         HILL                      OH     90010524272
54542879161973   VARINIA         HAYNIE                    CA     90014248791
54543156885928   LATOYIA         BUTTS                     KY     90004131568
54543662984373   DONNA           RIVERA-RENTAS             SC     90012196629
54545142261975   EDITH           HERNANDEZ                 CA     90010621422
54546687493724   JENA            WILSON                    OH     90013046874
54546841733696   KENNETH         GIBSON                    NC     90011998417
54547481161973   PATRICIA        TRINIDAD                  CA     46086664811
54548661661975   HIGUERA         MARIA ISABEL              CA     46015006616
54548758757121   JESUS ANTONIO   CHAVEZ                    VA     90012217587
54548861491895   APRIL           WYTCH                     OK     90012248614
54549133885928   JESSICA         TRAUTWEIN                 KY     90011891338
54555741993782   CHEYENNE        DAWES                     OH     90013797419
54555754157157   JOSE            CEDILLOS                  VA     81075117541
54555823893782   CHEYENNE        DAWES                     OH     90001768238
54556871393724   MARK            NEYMAN                    OH     64562498713
54558258993724   DAWNYALE        MOORMAN                   OH     64583972589
54558993651348   JEFFERY         SHELLEY                   OH     90010869936
54559849461971   JERRY           MCGRATH                   CA     90013048494
54559985491587   DAVID           BUSTER                    TX     90014309854
54561433661971   MARLENE         NUNEZ                     CA     90006214336
54564521361971   MANUEL A        ESTRADA                   CA     90014345213
54565165493724   KIMBERLY        DEER                      OH     64502631654
54565778761971   ROBERT D        BARR                      CA     46031537787
54566129591587   CESAR           CHAVARRIA                 TX     90007571295
54566643181622   TRACIE          RICE                      MO     90014676431
54567121485928   BARBARA         MILLER                    KY     90010621214
54567528391895   ELICIA          HAUSMANN                  OK     90014885283
54569282933696   ROBENA          GRIFFIN                   NC     90010572829
54569597561971   RODNEY          NETTLES                   CA     90006355975
54569863561975   CHRIS           FRANCO                    CA     90006568635
54571135785928   RICKY           COBB                      KY     67076241357
54571296491895   AMEER           BOWLDS                    OK     90013012964
54571514161971   KARINA          IBARRA                    CA     46089535141
54572939691587   SIOBHAN         MATA                      TX     90013859396
54574598263679   DENNIS          PRUITT                    MO     90000285982
54576975761971   SUSAN           ALLNUTT                   CA     90012899757
54577176733699   ARIANA          SERRANO-SANTIAGO          NC     90014171767
54577187651348   STEFANY         FLORES                    OH     90015201876
54577241661973   JOSE            ALVARADO                  CA     90009482416
54578798551346   MARTIN          ARY JR                    OH     90001157985
54581635191895   KURT            MILLER                    OK     21004436351
54582324761971   ARISTEO         QUIROGA                   CA     90004393247
54583424757379   KIMBERLY        HICKMAN                   MO     90015084247
54583528233699   MALAIKA         PENNINGTON                NC     12022475282
54584392893724   STAFFORD        MOLDEN                    OH     90014493928
54585566855959   ANTHONY         GARCIA                    CA     90011465668
54586434551348   ALEJANDRA       RAMIREZ                   OH     90014264345
54587442151348   COLLEEN         RIPLEY                    OH     66040084421
54588227955959   WYATT           COPE                      CA     90015202279
54588972791587   JEANNETTE       VENTURA                   TX     75071789727
54592435961973   WILLIAM         PAYNE                     CA     90013354359
54593356895677   ERIKA           SALDIVIA                  UT     90006213568
54593544655959   JUAN            FLORES                    CA     90010335446
54593875661973   JAIME           ZARATE                    CA     90014188756
54595492293724   PAMELA          BUTTS                     OH     90011804922
54595595291587   ROZXANA         GARCIA                    TX     90012005952
54596374433696   ANTONIO         FERNANDEZ                 NC     90011103744
54597741651586   AMANDA          SEGENT                    IA     90015247416
54597855357157   KEVIN           STRONG                    VA     81008348553
54598867955963   JOSEFINA        RAMIREZ                   CA     90012228679
54599215833699   LUNA            WILLIAMS                  NC     90005812158
54599911561973   LETICIA         HURTADO                   CA     90011859115
54599969161975   ELIAS           GALDAMEZ                  CA     90014159691
54611758491587   MORENO          YMARIE                    TX     90008737584
54612521131429   LOREN           SCHWENT                   MO     90006885211
54613279751348   MARIA           MARTINEZ                  OH     90003522797
54615323261973   COSME           SANCHEZ                   CA     46084833232
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54617665855959   MARYLOU           LOPEZ                   CA     48076826658
54617986861971   ZULY              NUNEZ                   CA     90011329868
54618291861973   JULIO             HERNANDEZ               CA     90012612918
54619728833696   LAKEIA            HERBIN                  NC     90008427288
54619932191267   DANIEL            BROWN                   GA     90011819321
54623776161973   JESUS             PEREZ                   CA     90012977761
54625516561975   ROSEANN           MESTA                   CA     90001665165
54626273385928   MONTERIO          BURNETT                 KY     90015022733
54627445184373   GLORIA            COOPER                  SC     90013674451
54627996733696   JACKIE            FULP                    NC     90014679967
54628433133696   TRACY             MCINNIS                 NC     12004284331
54628785193724   MARILYN           DIXON                   OH     64516577851
54629215693724   HEATHER           PERRY                   OH     90013792156
54629659261973   ELIZABETH         BOWMAN                  CA     90013046592
54629994491587   VERONICA          SILOS                   TX     90012539944
54632481155959   VICTOR            PENA                    CA     90010004811
54633742633645   TAMISHIA          LEATH                   NC     12083487426
54637739861975   MARIA GUADALUPE   REYNOSO ESPARSA         CA     90012107398
54639676693724   SAMANTHA          BREWER                  OH     90003926766
54639869351348   TAMI              COYLE                   OH     90008448693
54643363955959   MIGUEL            ZARAGOZA                CA     90014753639
54643414291895   SYLVIA            DAVIS                   OK     90014924142
54644154585928   FERMIN            HERNANDEZ               KY     90011901545
54644297831429   NICK              PRICE                   MO     90007212978
54644491361971   CARLA             VIRGEN                  CA     90007944913
54644854884373   RYAN              WOOD                    SC     90006008548
54645337684373   DAVON             PRIOLEAU                SC     90015033376
54647224951348   DAN               SIEFERT                 OH     90015202249
54647342661975   ADRIANA           GUTIERREZ               CA     90005903426
54648711855959   VICTORIA          MEDINA                  CA     90013557118
54648841161973   XOCHILT           GONZALEZ                CA     46073938411
54649784984373   STEVEN            SKIPPER                 SC     19053027849
54652612161971   ODILIA            SANCHEZ                 CA     90003196121
54654263255959   JOSEPH            SANCHEZ                 CA     90013822632
54654761851348   JESSE             WALLER                  OH     90014877618
54655724191587   NATALY            ORTIZ                   TX     90011087241
54656375384373   RENEE             SIMMONS                 SC     90011213753
54656754833699   ROMULUS           SIMPSON JR              NC     12011367548
54656774451348   AISHA             WADE                    OH     66088447744
54657386761975   YESENIA           ORTA                    CA     90014853867
54658478561973   CARLOS            PADILLA                 CA     46023044785
54659377761975   GRISELDA          NIETO DE SALCIDO        CA     90014713777
54661164733645   GWENDOLYN         CARTWRIGHT              NC     90007231647
54662567291587   ALESHA            WOLOSZYN                TX     90014045672
54663859255959   MICAELA           IBARRA                  CA     90012868592
54665322131428   TOM               GLENN                   MO     27563623221
54665369731429   DOUGLAS           HANSON                  MO     90012583697
54665687255959   JUAN              GUZMAN                  CA     90008836872
54665778891587   RICHARDO          HIDALGO                 TX     90014107788
54666239884373   AMANDA            POSEY                   SC     90013592398
54666433933696   NICOLE            RICKARD                 NC     90014424339
54667536655959   ERICA             SOLIS                   CA     90014705366
54671139184373   FRANCOIS          JEAN                    SC     90013751391
54671973797957   JESUS             VILLARREAL              TX     90004789737
54673584257131   TAKEYA            UMANZOR                 VA     81018055842
54674126993724   MARIVIC           RICHARDS                OH     64578731269
54674532961973   KARLA             CASTANEDA               CA     90005185329
54674835751348   RICKY             BARNETT                 OH     90013028357
54675481831428   CALVIN            SHAW                    MO     90004344818
54675868451348   ROBERT            JAMES                   OH     90002218684
54676231191587   MARINA            DURAN                   TX     75092372311
54677324361975   GABRIEL           DUARTE                  CA     46087763243
54677345381622   FELIPE            JIMENEZ                 MO     29054733453
54678178493724   DARELL            THOMPSON                OH     90014771784
54678513961973   NATHAN            VAIFALE                 CA     90010785139
54678543855959   LINDA             ARCHULETA               CA     90004735438
54678753955959   LINDA             ARCHULETA               CA     90014947539
54681356455959   MALLORY           ESTRADA                 CA     48008303564
54681998661971   MARK              MATHISON                CA     90002499986
54683734291895   NICOLE NOEL       SINKINSON               OK     90014537342
54684347661975   JORGE             MORALES                 CA     90013643476
54684769461973   LORENA            AGUIRRE                 CA     46008517694
54685388984373   ANTHONY           BURKE                   SC     90015603889
54685472191587   MARIA             DURAN                   TX     90012404721
54686675491587   JESSICA           MAGALDE                 TX     90010736754
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54686747331429   CANDICE      SIMMONS                      MO     90011407473
54691363151348   JAY          SHIPLEY                      OH     66035723631
54691432485928   CRISTINO     JAVIER                       KY     90007534324
54693275155959   VIANEY       CORTES                       CA     90012042751
54694953433699   JAMEKA       MARTIN                       NC     90011279534
54695189784373   GARY         RICKS                        SC     90012241897
54696946161995   ROBERT       LINDAHL                      CA     90012249461
54698124291587   MIKE         MARTINEZ                     TX     75048211242
54698577643569   AMBRIZ       ARTURO                       UT     90006005776
54698752161973   BRYAN        GABRIEL                      CA     46028987521
54699318142359   SHANNON      PUTMAN                       GA     90009263181
54699322791895   WILLIAM      HIGGINS                      OK     90012013227
54711492185928   JULIO        SANCHEZ                      KY     67024844921
54711776431429   CAMMILE      YOUNG                        MO     90012517764
54712426391895   CHRISTY      JACKSON                      OK     90010304263
54714274657554   MATTHEW      SCHIPPER                     NM     90008712746
54714625855959   RENE         OROZCO                       CA     90014716258
54715444621631   JUSTIN       WEATHERSPOON                 OH     90014354446
54715795233699   LASHELL      ANTHONY                      NC     90012237952
54715889161975   JOSE         VALLES                       CA     90012058891
54716185961973   MONICA       QUEZADA                      CA     46001761859
54722264693724   TIMOTHY      SHOPE                        OH     64586242646
54723935461973   ISAAC        QUEVEDO                      CA     90015149354
54725358655959   JESUS        VEJAR                        CA     90013593586
54727672951348   BRITTANY     BLEVINS                      OH     66032176729
54728683433699   AIDA         MARTINEZ                     NC     90014766834
54729528543569   ROBERT       GARDER                       UT     90007935285
54731776291587   DANIA        MEDRANO                      TX     90014097762
54732551991587   ELSA         SANCHEZ                      TX     90012805519
54732725151348   SUSAN        MILLS                        OH     90009647251
54733351661975   ENRIQUETA    MARTINEZ                     CA     90004503516
54735148961975   KAREN        HALL                         CA     90011881489
54737729891587   ISMAEL       ZUBIA                        TX     75092427298
54741847961975   AIOTEST1     DONOTTOUCH                   CA     90015128479
54744744184373   TWANNISHA    DYLEY                        SC     19079127441
54744754161975   MARINA       KLASNO                       CA     90012837541
54747185661973   EMILIA       DIGHERO                      CA     90012721856
54748892884373   LORETTA      COOK                         SC     19070408928
54749233593724   HADIYAH      WASHINGTON                   OH     64557872335
54749319131436   SAM          POSTON                       MO     27560773191
54751588255959   ENEDINA      CISNEROS                     CA     48083495882
54752599257157   MIREILLE     DIALLO                       VA     81076775992
54753216861971   LUIS         RICO                         CA     90013382168
54753229661989   MICHAEL      JOHNSTON                     CA     90014122296
54753519161973   ANGELICA     MACHAIN                      CA     90010635191
54754186851348   SYLIVIA      SMITH                        OH     90009971868
54754697131428   ANTOINETTE   CORRELL                      MO     90005446971
54755776785928   CAROLYN      WOODS                        KY     90014907767
54756313833696   NATASHA      WRIGHT                       NC     90012853138
54756518957131   ELSA         TORRES                       VA     90004245189
54756871755959   VICTOR       MARTINEZ                     CA     48084088717
54757444361973   JOSE         ARAMBULA                     CA     90010224443
54757611255959   ARTEMIA      GUZMAN                       CA     90015416112
54757745985928   ERIC         YOUNG                        KY     90003957459
54757858361971   KRISTEN      ORONA                        CA     46084428583
54758376984373   JULIE        WEINBURG                     SC     19032253769
54759144991587   MARTHA       GARCIA                       TX     75092431449
54759885661971   DALIA        BALBUENA                     CA     90011468856
54759896151348   BELINDA      WASHINGTON                   OH     66075068961
54761434591895   RICHARD      ADAMS                        OK     90010304345
54761483291587   VALDEZ       MANUELA                      TX     90012404832
54761566433699   OMEGA        BAUTISTA                     NC     90015205664
54761652851348   TYNATA       CARTER                       OH     90015126528
54761876391535   RICARDO      GAUCIN                       TX     75064168763
54762748331428   DOMINIQUE    RICE                         MO     90005447483
54762767291587   BENJAMIN     DOMINGUEZ                    TX     90002047672
54765491257157   BERNITA      NEAL                         VA     90014344912
54765666257157   BERNITA      NEAL                         VA     90008986662
54766962893772   TIMOTHY      FRAZIER                      OH     90008529628
54767839761975   MIGUEL       LOPEZ                        CA     90015288397
54767933161973   BERNICE      TORRES                       CA     90010089331
54768713533157   BEVERLY      PETERSEN                     IL     90011027135
54769853784373   SHAMBELE     LOAFF                        SC     90008428537
54771231477322   MANUEL       MENDOZA                      IL     90015602314
54771592984373   ANETRIA      EVANS                        SC     19073605929
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54771866485928   JAMES        ADAMS                        KY     90014738664
54772178243569   CARLI        ORE                          UT     90009111782
54772812461998   WAFAA        SMITH                        CA     90001538124
54773713391895   LUIS         BURSOS                       OK     90014147133
54776947491587   TIARA        LITTLEJOHN                   TX     90014869474
54778226991895   ROWENNA      GAINES                       OK     90012882269
54778624361973   TERESA       PEREZ                        CA     90012096243
54781423351346   KIM          COON                         OH     90000684233
54783375733699   ALICA        BLANCO                       NC     90011523757
54784212931429   STEVEN       LAMAR                        MO     90007282129
54784423351346   KIM          COON                         OH     90000684233
54784477961973   VERONICA     MONAY                        CA     46061334779
54785893151348   TARISSA      EVERIDGE                     OH     90013828931
54786168733645   JAE          HILLIARD                     NC     12002171687
54786819933696   TIANA        TROTMAN                      NC     90014348199
54791198933699   BRIANA       ROCKETTE                     NC     12023191989
54792836561975   SEAN         HEGEDUS                      CA     90012848365
54793189155959   FIDEL        MARTINEZ                     CA     90015361891
54794163761971   ISRAEL       LOPEZ                        CA     90011471637
54798735291895   LINDSEY      SCHULTZ                      OK     90014147352
54799435155959   DANIEL       NAVA                         CA     90000824351
54812511691895   ALFONSO      BARRIOS                      OK     90013445116
54812523855959   ALEJANDRA    TORRES                       CA     90002125238
54813429461975   JOSEPH       NIETO                        CA     90013334294
54813776191535   GILBERTO     GARCIA                       TX     75001097761
54814677961973   MARI         VALDOVINOS                   CA     90007866779
54815524784373   TONY         ANDERS                       SC     19037475247
54815545485928   TERRY        CARTER                       KY     90012925454
54816525233699   CYDNEY       MARTIN                       NC     12064615252
54819179861975   ADRIANNA     PADILLA                      CA     46037951798
54819386333696   TRAVIS       REDWINE                      NC     90014293863
54819673161971   DAWN         PHILIPS                      CA     46074866731
54821279784373   CHRIS        FULTZ                        SC     90001962797
54823847961975   AIOTEST1     DONOTTOUCH                   CA     90015128479
54824517885928   TONIA        CARTER                       KY     90006955178
54825647991895   JOHN         BAKER                        OK     90010516479
54827279384373   KIMBERLY     SIMMONS                      SC     90011362793
54828322933696   GREGORY      BOYKINS                      NC     90012283229
54828515833699   MILLER       LADONNA                      NC     90010825158
54828868661971   AMMAR        SHAFIK                       CA     90008798686
54829845291587   JAVIER       RODRIGUEZ                    TX     90012808452
54831144555959   TISHA        SOTO                         CA     90010391445
54831592133696   SHAQUAE      GIBSON                       NC     90013645921
54832382433696   FELTON       ADAMS                        NC     90013983824
54832518291895   DUSTIN       COLT                         OK     90014875182
54832917461973   MARIA        FELIX                        CA     46081709174
54833658161971   MARSHA       ADAMS                        CA     90003676581
54835672161975   SOFIA        BARRERAS                     CA     90013016721
54837552557157   MARCUS       TOWNES                       VA     90006145525
54838164855959   DANIEL       TAPIA                        CA     90012741648
54838258891895   BRAD         SCOTT                        OK     90010262588
54839146833699   INFINITI     PENN                         NC     90013581468
54839464333696   BRITTANY     LAWRENCE                     NC     90013454643
54841318385928   ABBY         BOONE                        KY     67090463183
54841519691587   JASMINE      ENRIQUEZ                     TX     90012585196
54842161955947   GEORGE       ACAJABON                     CA     90004581619
54842389251348   FLORA        DIAZ                         OH     90010303892
54842745491895   TRACY        SUMLAR                       OK     90014147454
54842788733699   JEFFERY      BROOKS                       NC     12008077887
54844987391558   ANTONIA      NAVARRO                      TX     75097919873
54845268561975   SUZANNE      SCOTT                        CA     46036732685
54845286484373   PERRY        BOWERS                       SC     90013072864
54848638993724   BERNISHA     MAXWELL                      OH     90014046389
54849873191895   JAY          CLAPP                        OK     90014538731
54851933355959   RAFA         MEDINA                       CA     90014629333
54852627751348   MARY         HACKER                       OH     90001616277
54854713484852   ESTEBAN      RODRIGUEZ                    NJ     90013927134
54854734755959   MATTHEW      COCHRAN                      CA     48036027347
54854754391895   ELIAS        MENDEZ                       OK     90014147543
54854933185928   BLAKE        BROOKS                       KY     90010179331
54856298161921   GERARDO      MORENO                       CA     90010522981
54858673791351   KELLY        DUNN                         KS     29015656737
54861311361973   ALBA         AGUAYO                       CA     90014563113
54862877291587   ALMA         VASQUEZ                      TX     75033008772
54863489257157   REYNA        RAMIREZ                      VA     90002334892
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54863776591895   KIMBERLY     BAILEY                       OK     90014637765
54864625561971   JOSE         HERNANDEZ                    CA     46014866255
54864675661975   ABRAHAM      GARATE                       CA     90014626756
54866785491895   VICTOR       GONZALES                     OK     90010237854
54866883361973   OSVALDO      ENRIQUEZ                     CA     90010808833
54867435271927   ANDREW L     WEAVER                       CO     32039924352
54868691251348   BRITTNEY     JOHNSON                      OH     90011506912
54868794784373   TIFFANY      WRIGHT                       SC     90013327947
54869163985928   MARCHEAL     RUSSELL                      KY     90011021639
54869538151348   RICHARD      SMITH                        OH     90013775381
54869813131428   CORY         CARLISLE                     MO     90014388131
54871992591587   ANDREW       GOMEZ                        TX     90014309925
54873696761973   ROBERT       NIEBLAS                      CA     90013006967
54874178491587   GILBERTO     LOPEZ                        TX     90009751784
54874839761975   MIGUEL       LOPEZ                        CA     90015288397
54875317191587   LUIS         MIEALES                      TX     90011183171
54875478561973   CARLOS       PADILLA                      CA     46023044785
54876854385928   EBONY        DAVIS                        KY     90010818543
54878886751367   DAVID        DUBOIS                       OH     90010568867
54881163761971   ISRAEL       LOPEZ                        CA     90011471637
54881914751348   ANTHONY      NIEDERHELMAN                 OH     90011949147
54882638555959   JUANITA      FRANCO                       CA     90003426385
54883528391895   ELICIA       HAUSMANN                     OK     90014885283
54885784431429   CHANITA      VASSER                       MO     90007567844
54886941833696   SCOTT        HANBACK                      NC     12040799418
54886963161971   SAFAA        GORGEES                      CA     46081459631
54886981593724   BLACK        HORSE                        OH     90014629815
54887752385928   PEDRO        RIVA                         KY     90014387523
54889352651348   SANJUANA     SANTOS                       OH     90013923526
54889845561975   ELIZABETH    RULLODA                      CA     90015288455
54892941891895   SANDRA       FIGUEROA                     OK     90014849418
54894661991895   CHARLENE     KEMPER                       OK     90014276619
54895136257157   ROCIO        COMAYAGUA                    VA     81068971362
54895772933699   CARLA        DANIELS                      NC     90011457729
54897765591587   SONIA        MEZA                         TX     75093917655
54898526755959   JOANN        RUIZ                         CA     90014815267
54899178185928   VIRGINIA     CRUZ                         KY     90012801781
54911335655959   NORMA        RAMOS                        CA     90009003356
54913122661971   KESHAWN      WATKINS                      CA     90015181226
54913487633696   SONIA        LOCKLEAR                     NC     12035164876
54913949751348   KIMBERLY     FIORESI                      OH     66077609497
54914141551348   BECKY        DRYER                        OH     66013941415
54916662985928   DENISE       HULETT                       KY     90011156629
54917339991587   LISSETTE     ORTIZ                        TX     90012563399
54921661551348   EMMA         HICKSON                      OH     66024446615
54922215491895   OPAL         DELANCY                      OK     90013462154
54922259685928   RANDALL      NEWSOME                      KY     90007792596
54922991631628   THOMAS       GAULTNEY                     KS     22006709916
54924613455959   GILBERT      MAGANA                       CA     90001206134
54924673561973   JUAN         VEGA                         CA     90011796735
54925984493724   SHANHA       ARMSTRONG                    OH     90014629844
54926216485928   BRIAN        ENGLISH                      KY     90010012164
54927475185928   RENAY        SAWYERS                      KY     67097164751
54928566791323   JENNIFER     HERNANDEZ                    KS     90006215667
54929171384373   HUBERTA      RODRIGUEZ                    SC     90012731713
54929212786427   PAIZ         GUILLERMO                    SC     90015152127
54929449993782   NIKI         ROSS                         OH     64561514499
54929567855959   LETICIA      PENA                         CA     48014685678
54931524133696   EMMA         HUNTER                       NC     90014535241
54931544557157   ASHLEE       REYNOLDS                     VA     81098165445
54934173693724   HEATHER      GRIMES                       OH     90013131736
54934851777522   VANDETTA     BAKER                        NV     90003088517
54935158991587   VANESSA      BATTLE                       TX     90014771589
54936143261975   ANGELINA     GARCIA                       CA     90013191432
54936173693724   HEATHER      GRIMES                       OH     90013131736
54936346191587   SANTANA      RUBI                         TX     90009423461
54937168191895   BRANDON      CURCIO                       OK     90010871681
54937741261973   CESAR        GARZA                        CA     46036127412
54938981791535   OSVALDO      PERALTA                      TX     90007689817
54939548191587   RODOLFO      GUTIERREZ                    TX     75092095481
54941171161975   NORMA        ESQUIVEL                     CA     90014701711
54944196633699   GERALD       ROSEBORO                     NC     90001281966
54944364461975   CYNTHIA      BARNES                       CA     46037223644
54944454191587   MARIO        TORRES                       TX     90012244541
54944826285928   RICHARD      CAMPBELL                     KY     67021288262
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54945676661971   STEPHANIE    NICHOLS                      CA     90011396766
54946111133696   HOWARD       WASHINGTON JR                NC     12011041111
54946519585928   ANTHONY      KELLEY                       KY     90005505195
54948872891587   ADRIANA      MALDONADO                    TX     90013318728
54948921761971   DIANA        LOPEZ                        CA     90013269217
54949113161975   VICTOR       MORENO                       CA     90011441131
54956243761971   LANCE        DARINGER                     CA     90001482437
54956526185628   ELLEN        WILLIAMS                     NJ     90000525261
54956578184373   ANNETTE      THOMAS                       SC     90007035781
54958585361975   ANDREW       DIFFENBAUGH                  CA     90001665853
54961472984373   RENITA       JACKSON                      SC     19037324729
54961719191895   VIRGINIA     EVANS                        OK     21090887191
54961912281631   MATTHEW      SAUCEDO                      MO     90013469122
54961934381631   JUAN         DOE                          MO     90007589343
54962454733699   JOSEPH       HARVEY                       NC     12098164547
54963122133645   DARIEN       LEVINE                       NC     90004421221
54963211833696   ANGELA       MCCRAY                       NC     90000312118
54963483955935   SHALON       BESS                         CA     90011644839
54964419461975   GUADALUPE    GARCIA                       CA     90008834194
54964431591587   FLORES       RITA                         TX     75081004315
54965156991895   MICHELLE     HITES                        OK     90010081569
54965418784373   CHERYL       THOMPSON                     SC     90009024187
54965445761971   DEBORAH      HILL                         CA     90014404457
54965951643569   VALENTINO    FOOTRACER                    UT     31070769516
54967781361973   FRANSISCO    HERNANDEZ                    CA     46019157813
54968914457157   JUAN         DIAZ                         VA     90000129144
54969862191895   CHRISTIE     PEREZ                        OK     90010938621
54971996533645   ADAM         JONES                        NC     90009679965
54972255877322   CEDRIC       PEOPLES                      IL     90015552558
54972821991587   SOFIA        ALONSO                       TX     90007888219
54973739133699   CHARLOTTE    PETERSON                     NC     90014207391
54973776191939   ELENA        SAN AGUSTIN                  NC     90002127761
54974539833645   CHERELLE     ROPER                        NC     90004845398
54975134384373   SHANTEL      LEE                          SC     90012461343
54975711551336   MICHELLE     LEWIS                        OH     90010557115
54976649833699   TAKARA       WATSON                       NC     12023096498
54977459391895   ADAM         BUTLER                       OK     90014424593
54978986833699   LEONARD      BAILEY                       NC     90014689868
54979224885928   ORA EILEEN   DEERING                      KY     90008432248
54981416333699   BEATRIZ      PEREZ                        NC     12082574163
54981479491587   MELISSA      ROMERO                       TX     90011174794
54983585861973   ALFREDO      BOGORIN                      CA     46006115858
54984223661971   ASA          BARGER                       CA     90012762236
54985457655959   ROMINA       GARZA                        CA     48067954576
54986538157127   DELTON       BRODIE                       VA     81065035381
54987175861975   JOSHUA       KAUWOH                       CA     90013801758
54989474255959   THEODORO     MATA                         CA     90007114742
54989686933699   KISHA        DEWITT                       NC     90015206869
54989942661975   ANTONIO      MAGALLON-CABEZAS             CA     90014969426
54993295791895   JESSICA      AYUB                         OK     90009182957
54993934884373   MARVIN       BUTLER                       SC     19095019348
54994161661971   JASON        CRIM                         CA     46055021616
54994427755959   YARELI       GARCIA                       CA     90011484277
54996196193724   DUSTIN       PARSONS                      OH     90004041961
54996316257157   DIGNA        MELENDEZ                     VA     81020243162
54999935857157   FABRICIO     GARCIA                       VA     81066869358
55111764191587   SARA         SHORES                       TX     90013537641
55113899491587   ADRIANA      MARQUEZ                      NM     90010508994
55115394251348   LUIS         CARDENAS                     OH     90012213942
55119377891356   CARMEN       BORJA                        KS     90014703778
55122617581698   NAKIA        LEWIS                        MO     29011956175
55122913133699   MARISOL      LOLA                         NC     90014199131
55126111561975   ANGELICA     CUEVAS                       CA     90011541115
55126454185928   DORA         RODRIGUEZ                    KY     90013684541
55128852391356   KATLYNN      DAVIS                        MO     29074408523
55129494984357   JOANNE       YOUNG                        SC     90003764949
55131333684357   INABINETT    GENINE                       SC     90013413336
55134687684357   DEAZHANE     GATSON                       SC     90003766876
55134695857124   MARIBEL      ORELLANA                     VA     90013036958
55135897281265   CANBIDA      HANEY                        IN     90015558972
55136144757157   ROSA         MOLINA                       VA     81057861447
55137665933645   MARTIN       GARCIA                       NC     12065006659
55141328891525   YVETTE       LUELLMAN                     TX     90006063288
55141797657541   JOANNA       SEITZ                        NM     90012137976
55143675961971   MICHEAL      RODRIGUEZ                    CA     90012046759
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55143962691587   ELIZABETH      RAMIREZ                    TX     75058269626
55144827985928   VERONICA       ALFARO                     KY     90012978279
55145657261975   TATIANA        BRANCH                     CA     90014626572
55145665651348   OLLIE          TURNER                     OH     90014106656
55146372591587   JOSE           VASQUEZ                    TX     90008203725
55147376561975   ALESHA         FLORES                     CA     46069923765
55148547233699   CHRISTINE      MOSS                       NC     90008865472
55151551761973   ROBERT         PESEBRE                    CA     90014435517
55152537361971   JOANNA         MOJICA                     CA     90015155373
55153767291925   SHANIQUA       JULLY                      NC     90002357672
55156343861975   MICHAEL        PACK                       CA     90014263438
55156685761975   MICHAEL        PACK                       CA     90012556857
55156817191587   NOHEMI         ACOSTA                     TX     75093588171
55157218933696   BYRUM          GILBERT                    NC     90001302189
55157731684357   PAMELA         GRAY                       SC     90000307316
55159317785928   EBONY          ELLISA                     KY     90014883177
55159413361975   TIMOTHY        HARPER                     CA     90013304133
55159513391587   LUIS ROBERTO   MARTINEZ                   TX     90011015133
55159839331491   HARLEY         MITCHELL                   MO     90015388393
55162289681265   SIERRA         HELD                       IN     90015592896
55162421991587   ARTURO         GALLEGOS                   TX     90008244219
55162797684357   SHAUMA         ELEESE                     SC     90003767976
55162985741288   TAMRA          MCKENNA                    PA     90007329857
55164122684357   TIFFANY        BROWN                      SC     90012151226
55165735955951   ANGLICA        GONZALEZ                   CA     49001777359
55165857991587   PRISCILLLA     REINA                      TX     90002178579
55167177577533   DEVON          BREEN                      NV     90012721775
55169126291356   JOHN           LIPP                       KS     90015101262
55169127733696   BRYCE          MORGAN                     NC     90011681277
55171138733699   GLORIA         BOSTON                     NC     12054081387
55171717284357   PAYGO          IVR ACTIVATION             SC     90015247172
55171895381265   JULIA          DYER                       OH     90005148953
55172514961975   DULCE          CANIZALES                  CA     90013525149
55172743851348   ALISHA         DAVIS                      OH     90014097438
55173396691895   GARY           COLBERT                    OK     21018113966
55175727291895   THOMAS         WIGGS                      OK     90010127272
55178988991356   HEATHER        CONNERY                    KS     29069249889
55182146551351   DIANA          KLEIN                      OH     66002071465
55184263361971   SUSANA         CHAVEZ                     CA     90007582633
55185638661971   TONIO          MALDONADO                  CA     46044666386
55186532591356   MARVIN         HOWARD                     KS     90014935325
55187821291587   ADRIAN         PRADO                      TX     90014548212
55188189261971   KRISTINE       HOWARD                     CA     46051481892
55188353991895   MARKEIT        WILLIAMS                   OK     90013193539
55189919391356   BENNY          LANDRUM                    KS     90015219193
55191319591356   SHALEISHA      PHOX                       MO     29014113195
55191742791895   UNIQUE         MOORE                      OK     90013267427
55191928684357   DAVID          TAYLOR                     SC     90013349286
55193925543569   KOLOMALU       VAIOLETI                   UT     90006629255
55195148761971   BALDEMAR       MEJIA                      CA     90013931487
55195824685928   AUDREY         PATTERSON                  KY     67011238246
55197289491587   ENRIQUE        DELAROSA                   TX     75032002894
55197579977534   MANUEL         VILLAREAL                  NV     90006625799
55199436485928   GUILLERMO      SANTIAGO                   KY     67096124364
55211746557157   FABRICIO       DURAN                      VA     90013937465
55213748161971   ANECITA        WEBSTER                    CA     90015147481
55214683433696   TIA            SIMPSON                    NC     90014306834
55217771691356   KRYSTALE       PETERSON                   KS     90012167716
55218164151348   STEPHANIE      PARROTT                    OH     90011391641
55218585791895   RITA           PLENGE                     OK     90003495857
55219595361973   KARLA          LEIVA                      CA     90013065953
55221226391356   PAYGO          CANDILLO                   KS     90013962263
55221714951348   ENEREIDA       JUAN                       OH     66056087149
55223233791895   RICHARD        SAMPLEY                    OK     90009862337
55225899291895   ERENA          MOYNIHAN                   OK     90009988992
55227386457157   LISSETH        HERNANDEZ                  VA     90013853864
55227762884357   ALVIN          BLACK                      SC     90009727628
55228583661973   SUSIE          MORENO                     CA     90012325836
55229889933696   STEPHANINE     ARTIS                      NC     90010728899
55233773833645   REBECCA        BOSIER                     NC     12001727738
55234922755951   ALBERTO        HUERTA                     CA     49079649227
55235516733645   YORDANO        ZEREZGI                    NC     12093595167
55236372655951   DIANA          SOTO                       CA     90010763726
55237246961971   DELIA          PANTOJA                    CA     46024062469
55238572657157   JUAN           BARRIOS                    VA     90005845726
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55239493733696   SIMONA       STUBS                        NC     12089564937
55241336591587   JESSICA      MENDOZA                      TX     75043973365
55241587231428   KENAG        TYISKA                       MO     90005745872
55242378185928   AUGUSTIN     DIA                          KY     67082793781
55243484185928   NAJAH        THOMAS                       KY     90009264841
55243534791587   RODOLFO      CHAVEZ                       TX     90011015347
55245332261971   JESSICA      ROBERTS                      CA     90009223322
55245333231428   JOSHUA       RICE                         MO     27516933332
55246765561971   FE           TAYLOR                       CA     46012577655
55247782861975   CINTHYA      ATENCO                       CA     90009777828
55248378591356   GENETTA      BOLTON                       KS     90012603785
55248535385928   PAYGO        IVR ACTIVATION               KY     90010295353
55251253461975   RICHARD      AZHOCAR                      CA     90013132534
55252356261973   MARIA        ISAIS                        CA     46031243562
55252598161975   JAQUELINE    SANCHEZ                      CA     46064705981
55253781281265   JOQUINA      BROOKS                       OH     66095967812
55253783391356   DEBORAH      MORRIS                       KS     29013987833
55255281184357   MICHELLE     WASHINGTON                   SC     90008642811
55255913161975   JOHANNA      FLORES                       CA     90006989131
55256315761971   BRYAN        ALEMAN                       CA     90013923157
55256552561973   MARRIETTA    MOSLEY                       CA     90000645525
55258586831429   CLAYTON      VANCE                        MO     27516095868
55258778561973   CARLOS       HERNANDEZ                    CA     90011207785
55258945291356   RANDALL      FIELDS                       KS     90008399452
55259516885928   TAMARA       SMITH                        KY     67008765168
55259722881265   TODD         PIPKIN                       OH     90012837228
55262441161971   RICHARD      DOBBS                        CA     46028844411
55265946391895   JINA         KILLOUGH                     OK     90015159463
55267841491895   MARIK        MAXVILLE                     OK     90014648414
55268635161971   KRIS         GRIFFING                     CA     46071926351
55269823991587   JACKIE       CASTRO                       TX     90013828239
55271558591587   JOSEFINA     SANCHEZ                      TX     90013785585
55271855291895   CHERYL       STOWERS                      OK     21015288552
55272786157157   MARY         DOFF                         VA     81076937861
55273619891895   DEZARAE      BEAVER                       OK     90014756198
55274287131428   JEANINE      OVERALL                      MO     27563022871
55274456761975   HARRIS       RODERICK                     CA     90006264567
55275214391356   CRAIG        LORD                         KS     90008192143
55275452191587   FATIMA       CEPEDA                       TX     75094864521
55275515951348   KIM          BIRKENHAUER                  OH     90008715159
55276243933645   WANDA        HARIRI                       NC     90007362439
55277987691895   TIFFANY      GENSEL                       OK     90013349876
55278875161975   HECTOR       ARMENTA                      CA     90012648751
55278965457123   EMMA         ZELAYA                       VA     90009889654
55281157251348   MESFIN       KORME                        OH     90006011572
55284586484357   WILLIE       MORGAN                       SC     90013415864
55284712491587   JOSE         GUILLEN                      TX     90013537124
55285129591356   REBECCA      EBBE                         KS     90014731295
55286177161973   GLORIA       SANDOVAL                     CA     90000151771
55287787833699   TRACY        WILLIS                       NC     12067327878
55291324285928   BRYAN        GREEN                        KY     90012843242
55293493485928   TABITHA      STAMPER                      KY     90014874934
55293558561973   NLARISA      RAMIREZ                      CA     90005585585
55295485231436   LAKISHA      DAY                          MO     90001254852
55296942961971   LEAH         CLEGG                        CA     90013189429
55311727161975   ADRIAN       OJEDA                        CA     90011287271
55312192633625   PEDRO        SANCHEZ                      NC     90013841926
55312555461975   ANGELO       BUTLER                       CA     90004595554
55313435733696   RAHEINE      REID                         NC     90003664357
55315773791945   EMAD         MAGDY                        NC     90012447737
55317156991587   ALBERTO      SILVA                        TX     90014491569
55317317157157   WALTER       CAMACHO                      VA     90013943171
55321799761973   JAIME        LOPEZ                        CA     90010787997
55322123461973   JUDEAN       LEWIS                        CA     46014141234
55322177561975   FRANCISCO    SIERRA                       CA     90012451775
55324833557157   ENRIQUE      BARRAZA                      VA     81023248335
55325175961975   SARA         GONZALES                     CA     90011541759
55325525885928   JANICE       COULTER                      KY     67071045258
55327759557122   MEGGAN       DAVIS                        VA     90010397595
55328881384357   FRANK        WASHINGTON                   SC     90013648813
55328895451348   NICOLE       ASHER                        OH     90006328954
55329526585983   CRYSTAL      MCKNIGHT                     KY     90008095265
55329919633699   SHAYNA       STEVENSON                    NC     90009229196
55329937581265   SARA         MEISTER                      KY     90015269375
55334672661971   ESMERALDA    EL CANTERRA                  CA     90000636726
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55334714757157   JOSE           BONILLA                    VA     90013947147
55336728757157   DALILA         CASAS                      VA     90013947287
55337159391587   MARINA         LOPEZ                      TX     90012761593
55338386651348   DECNISA        CHANEY                     OH     66023403866
55338556661975   GENOA          CHAPMAN                    CA     46052615566
55342141491587   OTILIO         ORNELAS                    TX     75027231414
55342562385928   MOLLY          BURDETTE                   KY     67081005623
55343682791356   ANNA           DUSSAULT                   KS     90014226827
55343762961971   BRUNO          LORONA                     CA     90014337629
55343854857157   JOSE LUIS      CRUZ                       VA     90013948548
55343969861548   JADE           THOMAS                     TN     90013189698
55346131581265   MARK           HINRICHS                   KY     90013231315
55346132557157   CECILIA        OSEI                       VA     90013951325
55347287957157   SABA           ABRAJ                      VA     90013952879
55347734291356   PAULA          PAVLICH                    KS     90014227342
55348177461975   JONATHAN       SALMERON                   CA     90013841774
55348798685928   ANDREA         NORFLEET                   KY     67053337986
55349177161973   GLORIA         SANDOVAL                   CA     90000151771
55349331761971   ALONDRA        MADRIGAL                   CA     90012723317
55349446184357   AVA            TORMAN                     SC     90014174461
55351442391895   REBECCA        BROOKS                     OK     90008594423
55353854561971   MICHELLE       SHERMAN                    CA     90009928545
55357169661973   JOSEPH         CLEMENTS                   CA     90004381696
55357574133696   LOUKISHA       DAWKINS                    NC     90013095741
55361556951348   HASHEEM        RASHEED                    OH     90012785569
55362189461975   LATOYA         COOPER                     CA     90011541894
55362299255951   ANDY           SINARONG                   CA     90008902992
55364226561975   LINDSEY        SMITH                      CA     90012382265
55368231985928   GERARDO        TEJEDA LANDA               KY     90011382319
55368482791356   KATRINA        ANDERSON                   MO     29045444827
55369464191587   ANGELICA       SORRELL                    TX     75072314641
55371484491587   LAURA          GARCIA                     NM     90014914844
55371484561973   ERICK          JAIMES                     CA     90011984845
55371741133699   RAY            WHALEY                     NC     12089397411
55371862343569   DANIEL         ROMERO                     UT     90006818623
55372134591356   CORTNEY        BRILEY                     KS     90011671345
55373191891356   ASHLEY         WARD                       MO     29011301918
55373345291587   MATHEW         FLORES                     TX     75087263452
55373615455951   ROBERT         THOMAS                     CA     90005526154
55374865281265   KIRSTEN        GENTRY                     OH     66047238652
55375634861973   AIOTEST1       DONOTTOUCH                 CA     90015116348
55376481561973   MIGUEL         AVINAT                     CA     90008934815
55376868861971   BASEEMAH       ADYON                      CA     46087348688
55378196357157   EDDIE          FITZGERALD                 VA     90013151963
55379379661971   ANTHONY        HARVIN                     CA     90013543796
55379476791356   LISA           FELDER                     KS     29014144767
55381388884357   NICOLE         BANKS                      SC     90010263888
55383185358528   JURONE         HARRIS                     NY     90012021853
55383597184329   TIANNA         CLEVELAND                  SC     90011335971
55383642391895   CASSANDRA      COLE                       OK     21045006423
55389166885928   ARON           BRYAN                      KY     90013551668
55389754985928   DIONNEANDREA   ROBERTS                    KY     90015137549
55392548333699   JESSICA        ROBINSON                   NC     90010935483
55394287391895   TANYA          STAUSS                     OK     90012112873
55394617484357   LESLIE         SMALLS                     SC     14552516174
55394693133699   LATONYA        YOUNG                      NC     90014706931
55395693133699   LATONYA        YOUNG                      NC     90014706931
55396864733696   HBRIN          BUONYA                     NC     90013018647
55396962981265   ZULLY          ESCAJADILLO                OH     90009189629
55397778191895   PEGGY          MARTIN                     OK     21081417781
55399688384357   MARYANN        OLAR-SIMMS                 SC     90004096883
55412682185928   SYREETA        LACY                       KY     90015296821
55413985661971   LARRY          GRANT                      CA     90010069856
55414288351354   KENNETH        SEALS                      OH     90012592883
55414798551348   JEFFREY        HOLT                       OH     66023737985
55416713944352   EBONY          RAINEY                     MD     90015597139
55417346861973   MICHELL        HENRY                      CA     90002013468
55417622557122   JOSE           ZAPATA                     VA     90012616225
55419545285928   GABRIELLE      RICHARDSON                 KY     90013215452
55419778861975   DARINEL        MOLINA                     CA     46070067788
55423581551348   JOHSUA         RAIDER                     OH     90013545815
55423664961973   SERGIO         GOMEZ                      CA     90009376649
55423833491895   JUSTIN         PHILIPS                    OK     90011328334
55424195133699   SHARI          PERRY                      NC     90014711951
55424533991356   K              THE REAL DEAL              KS     90011575339
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55425493485928   TABITHA      STAMPER                      KY     90014874934
55426426684357   DEVORIA      DELOACH                      SC     90014854266
55426974685928   DEVON        MOORE                        KY     90012779746
55428475661971   MARALEE      WAINESCOTT                   CA     90010314756
55428825885928   BENITO       PERALTA                      KY     90014338258
55428844261975   JUAN         SAENZ                        CA     90005038442
55429327451333   HEATHER      GEBHARDT                     OH     90014573274
55432967131429   ANNETTE      GLOVER                       MO     27586879671
55433494933696   MARISELA     CERVANTES                    NC     90014554949
55434421691587   MIKE         MORENO                       TX     75077314216
55435672151348   ODETTE       SAMS                         OH     90005156721
55436387191895   TRACY        PORTER                       OK     21004023871
55438775991587   SHIAN        CUTTITTA                     TX     90009477759
55439119761975   BRANDIE      BURCIAGA                     CA     90009761197
55439396184357   THELMA       BLANDING                     SC     90014163961
55439545625349   MARCUS       CURTINDALE                   WA     90015425456
55441228533699   SUSANA       ARELLANES                    NC     90014712285
55441333891895   REBECCA      OROZCO                       OK     90005433338
55441621584357   HENRY        WRIGHT                       SC     90013486215
55445574133696   LOUKISHA     DAWKINS                      NC     90013095741
55446686391895   MITCHELL     ULLRICH                      OK     90014396863
55447716655941   VICENTE      CAMPOS                       CA     90006447166
55448335191587   LUIS         ORTIZ                        TX     75069563351
55452976733696   KARA         ROGEL                        NC     90014689767
55453981585928   JASON        TREXLER                      KY     90012319815
55454316633696   HAZEL        FORNEY                       NC     12088623166
55454875341222   ALLISON      ADAMS                        PA     90010568753
55455655281265   CHANTEL      CRAULEY                      OH     90006166552
55456296491587   MELLISSA     GIRON                        TX     90000942964
55456471557563   KARI         LEE                          NM     35547684715
55456521161973   MONICA       SILVA                        CA     46007035211
55457588761973   NORMA        RODRIGUEZ                    CA     90014325887
55457869161973   YADIRA       AYALA                        CA     90010378691
55459676491895   NATALIE      PECK                         OK     21028906764
55459846384357   CHALESA      MERCER                       SC     90011178463
55461663251348   DAVID        HUGHES                       OH     66024136632
55463928591356   ASHLEY       HERSKIND                     KS     90014939285
55464393985928   MUSTAFA      AL YASRI                     KY     67064393939
55465481584357   YOLANDA      HOLMES                       SC     90014854815
55467729541242   DIANA        MONKELIS                     PA     90008847295
55468536884357   ANDRE        SIMMONS                      SC     90012125368
55469631491895   SAMANTHA     ARMSTRONG                    OK     90015146314
55469896133699   JESSE        DUGENSKE                     NC     12062138961
55472844261975   JUAN         SAENZ                        CA     90005038442
55473577791356   JESSICA      BARLOW                       KS     29003405777
55473764961971   ANA          TAPIAMIJARES                 CA     90001857649
55475866161973   ARLEEN       SALCIDO                      CA     90003878661
55478433391895   EDNA         SMITH                        OK     21015444333
55479439461975   RUDY         BUSTILLOS                    CA     90010484394
55479946391587   GUSTAVO      GARCIA                       TX     75004319463
55481397891587   CAROLINE     ESCOBAR                      TX     90015613978
55483242377581   OLIVER       GARRISON                     NV     43098532423
55483381761971   KYLEE        ALBRIGHT                     CA     90013733817
55483854761552   LISA         CLINTON                      OH     90000338547
55484119761973   ALANA        MAFUD                        CA     90010751197
55484242691587   MIGUEL       RODRIGUEZ                    TX     90001972426
55484952761973   WENDY        ARAIZA                       CA     90014849527
55485627233699   NICOLE       NIANG                        NC     90014716272
55488669131428   JEREMY       IVY                          MO     90006606691
55488975291587   LIZETTE      LUNA                         TX     75042029752
55489265454152   TAD          MORRIS                       OR     90001712654
55496178461975   TINO         PEREZ                        CA     90013381784
55496534391552   CARLOS       RIVERA                       TX     90003995343
55498121391587   CORTEZ       JOEL                         TX     90014331213
55498353161973   SAMUEL       LOAIZA                       CA     90011353531
55498372185928   LORETTA      JENKINS                      KY     90010823721
55499288691356   SUSAN        LINDQUIST                    KS     90008742886
55499445191928   MARJORIE     BUCKINGHAM                   NC     90007754451
55499595191587   ROSALINA     ORTEGA                       TX     75055585951
55499597261973   DANIEL       GACIA                        CA     90013895972
55512128885928   ROBERT       JONES                        KY     67077571288
55512877491356   TIFFANY      ROHDE                        KS     90014098774
55513171891587   CYNTHIA      CABALLERO                    TX     75048401718
55513845961975   LIZA         GRAY                         CA     46010998459
55515882133645   JASON        LLOYD                        NC     12085548821
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55516234491587   HAYDE        GUTIERREZ                    TX     90014652344
55516882133645   JASON        LLOYD                        NC     12085548821
55517431661971   JESSICA      HERNANDEZ                    CA     90014844316
55521245361975   ARACELI      RAMIREZ                      CA     90011942453
55521372285928   SAULO        ARREOLLA                     KY     90006653722
55522272261975   LAWRENCE     RUEDEN                       CA     46011682722
55522576981265   BRISKA       YCHOKWAN                     KY     90014865769
55523946785928   BRANDON      HOWARD                       KY     67052989467
55524129761973   TERESA       VALERIO                      CA     90008651297
55524892885928   LISA         ANDERSON                     KY     90008868928
55525943161975   ADRIANA      GARCIA                       CA     90014779431
55526735861971   TORI         HOLBROOK                     CA     90012837358
55527318733696   SHIRLEY      SADLER                       NC     90012843187
55527681585928   ELENA        POPOVA                       KY     90010966815
55527925291587   GABRIEL      RODRIGUEZ                    TX     90011539252
55528694984357   JESSICA      DESANTIS                     SC     90014066949
55528721751348   FARMESHA     AMISON                       OH     66094897217
55531438333696   HELEN        GRAY                         NC     90002104383
55532115985983   OBDULIO      RENOSO                       KY     90009441159
55532515691356   LAHANA       BAILEY-MORRIS                KS     90011615156
55533933257157   JOSE         BATRES                       VA     81015169332
55536791451348   MONICA       CRANDALL                     OH     90014097914
55536849461971   MARTIN       CISNEROS                     CA     46012238494
55537838991895   KIMBERLY     WISE                         OK     90004038389
55537844451348   ROSE         BEITLY                       OH     90012848444
55539359491587   STEVEN       TISCARENO                    TX     90013053594
55541262891587   GABRIEL      CARDOZA                      TX     90011612628
55542939143569   MATTHEW      GREEN                        UT     90011489391
55544419751348   MIRANDA      MORELAND                     OH     90004724197
55544735633696   AMBER        TAYLOR                       NC     90007647356
55545282884357   JAMON        GRAHAM                       SC     90013952828
55547247661975   EDDIE        KING                         CA     90013822476
55548715633699   DUAN         CARTER                       NC     90014487156
55553633472456   JIMMIE       CARRIER                      PA     90012686334
55555388591356   BRENT        PARR                         KS     29035183885
55556193285928   CHRISTY      RIGGS                        KY     90010721932
55556718461975   BRIAN        THOMAS                       CA     90013167184
55558371761975   DARWIN       BEN                          CA     90014903717
55558885761973   CAESAR       ESTRADA                      CA     90013048857
55562147161971   DENI         MONTIEL                      CA     46015151471
55564788191895   ANGELA       BOOKER                       OK     21015487881
55567184891895   SARAH        STEELE                       OK     90009661848
55567921585928   MORRIS       LAGRONE                      KY     90013959215
55571178861973   DAVID        DIDDON                       CA     90011701788
55572253355951   ANGEL        VASQUEZ                      CA     90000652533
55572773361975   MODESTA      DANIELS                      CA     46039387733
55573446184357   AVA          TORMAN                       SC     90014174461
55574128333699   NEON         JOHNSON                      NC     90014731283
55576499384357   JEWELDAWN    JOHNSON                      SC     90013544993
55577947861971   GEORGE       HERMEZ                       CA     46065769478
55579214661973   MARIO        QUINTERO                     CA     90004992146
55579265251348   ABDEL        RAS                          OH     90013042652
55579893861975   OLIVIER      WENSESSE                     CA     90009898938
55581232881265   RACHELLE     STARNES                      KY     66067222328
55582885161973   HUGO         CASTILLO                     CA     90012068851
55583749851348   KATHY        STUBBERS                     OH     90013637498
55583796557126   RAHEL        WELDEYESUS                   VA     90009097965
55584416461975   CECIA        BELTRAN                      CA     90007254164
55584882233696   KAYLAH       PATTERSON                    NC     90014488822
55586782761975   DENYSSE      VELAZQUEZ                    CA     90012967827
55587378731429   MARKEITA     SMITH                        MO     27521933787
55587423391356   THOMAS       KING                         KS     29083074233
55587882233696   KAYLAH       PATTERSON                    NC     90014488822
55589245133699   RHONDA       REAVES                       NC     90014732451
55593852233699   DOMINIGUL    CLAYBURN                     NC     90012768522
55595121161975   PEGGY        RICE                         CA     46017421211
55595942631422   KATHERINE    LINDSEY                      MO     90005889426
55596229861973   ENEDINA      WADLEY                       CA     90012682298
55596565991356   KEVIN        SIEG                         KS     90000965659
55596894557157   AMBAR        VAZQUEZ                      VA     81020998945
55597716184357   ASHLEY       ZIMMERMAN                    SC     90013597161
55598386785928   CIPRIANO     SANTIANGO                    KY     90002153867
55599536251348   RYAN         HALE                         OH     66023515362
55611497961975   JOSE         GARCIA                       CA     90003794979
55611514941286   MELISSA      HALLIGAN                     PA     90014885149
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55612589361975   VANESSA      CASTRO                       CA     90014675893
55613817991587   KARINA       SALAZAR                      TX     75042358179
55614524291587   CRUZ         URBINA                       TX     90012565242
55615595351348   STEPHANIE    SMITH                        OH     90013545953
55615821791356   STEVEN       ROBERTSON                    KS     29079528217
55615924657157   MARIA        TORRES                       VA     81061579246
55616422333699   SHARRIKA     YOUNG                        NC     90014734223
55619256751348   STEPHANIE    BISHOP                       OH     90006912567
55622522585928   ANGEL        KING                         KY     90014875225
55623821491895   JAMES        KAMAI                        OK     90012458214
55624228484357   NAKIA        BROWN                        SC     90013602284
55627969361975   HECTOR       PRECIADO                     CA     90004859693
55628563961975   JOSE         AYALA                        CA     90008245639
55631391733696   ALVARO       MARTINEZ VILLANUEVA          NC     12088703917
55632876661971   ERVIN        POWELL JR                    CA     46015318766
55633322591356   LATOSHIA     KILLOUGH                     KS     90011723225
55633426861975   NOHEMI       GUTIERREZ                    CA     46068294268
55634358661971   PRICILA      CERVANTES                    CA     90013443586
55634687984357   DEMETRIA     MULLIGAN                     SC     90013416879
55634881891895   WHITNEY      LANDRUM                      OK     21091268818
55634916391587   ELIZABETH    E AGUILAR                    TX     90007039163
55638486733699   LASHAWNDRA   BLACK                        NC     90014744867
55638768661971   AMY          TODD                         CA     90000947686
55638996691587   JACQUELINE   CHAGRA                       TX     90007909966
55642269484357   FRANK        MAJOR                        SC     90013652694
55646355985928   SABRINA      STORIE                       KY     67008163559
55646368261971   CLARA        DELACRUZ                     CA     90012343682
55646539884357   JUDITH       SMITH                        SC     90009405398
55647615361975   SAYED        KAGHAZI                      CA     90014496153
55647616861924   JANE         HOPKINS                      CA     90014266168
55647756961971   TATIANA      MAGRUDER                     CA     46012967569
55648368431428   MATHEW       COX                          MO     27517063684
55649229138598   BUSHMAN      JENNIFER                     UT     90010112291
55651882291934   MELONY       MANGUM                       NC     90010278822
55652166133164   SHAWNA       ANDERSON                     IL     90013051661
55653333161973   ROSE         SOTO                         CA     46007433331
55654481891895   TRAVIS       COCHRAN                      OK     90008594818
55655852791587   MIGUEL       RODRIGUEZ                    TX     90012928527
55656643551348   KIMBERLEE    SHIELDS                      OH     90004226435
55656875261975   VICENTE      MONDRAGON                    CA     46006178752
55664388351348   LESLIE       HUGHES                       OH     90006223883
55664427457157   SAHIED       MENSARAY                     VA     81085144274
55664553384357   ERIC         JENKINS                      SC     90011615533
55665195791587   LILIAN       PALACIOS                     TX     90011181957
55667422191356   DARVIN       THOMAS                       KS     90002794221
55671411651348   DINA         SHEPARD                      OH     66052204116
55673121531425   SHALANDA     LONGMIRE                     MO     27559761215
55674775951348   JAIME        TODT                         OH     90012857759
55678559951348   DAVID        HARDY                        OH     66077385599
55679324185928   JEANENA      BATES                        KY     67031053241
55679974191587   ANGELINA     HUIZAR                       TX     75021829741
55683189933699   MONIQUE      WASHIGTON                    NC     90004371899
55683682933696   COURTNEY     MOSLEY-JONES                 NC     90005076829
55686164833699   HENRY        TORRENCE                     NC     90014761648
55686825157157   DAMIEN       COMFORT                      VA     81012308251
55687856561975   ISMAEL       RODRIGEZ RAMIREZ             CA     46038698565
55688115533696   LATIF        NEAL                         NC     90013361155
55691595351348   STEPHANIE    SMITH                        OH     90013545953
55692767161966   ANDRES       CASTREJON                    CA     90000627671
55693196161973   DIANA        KANE                         CA     90013481961
55694587284357   JASPER       MARLOW                       SC     90014105872
55694696591356   DOLORES      RIDLEY                       KS     29071486965
55695328884357   WOODROW      DANIELS JR                   SC     14570603288
55695654491587   JOSUE        CASTILLO                     TX     90011016544
55696429133699   GEORGE       PULP III                     NC     12000344291
55697228293782   BARBARA      BECKLEY                      OH     90010922282
55698399891864   MELVIN       MONDAY                       OK     90002213998
55698975591895   JAMES        KEMP                         OK     21006529755
55711763961971   SUSAN        MARS                         CA     90014637639
55715343961971   MIKE         FLYNN                        CA     46012243439
55717517555951   ISREAL       R REYNAGA                    CA     49017725175
55717758485928   CURTIS       SEXTON                       KY     90009147584
55718338433699   TOMMIE       BARKER                       NC     90014763384
55718459391351   SUNNY        SNODERLY                     KS     90013154593
55721778161971   KIM          FORD                         CA     46023977781
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55722258957157   NANCY                  SERRANO            VA     81061962589
55723499561975   MARCOS                 MURILLO            CA     90008974995
55724558191895   JONATHAN               PIERCE             OK     21026555581
55724939333699   KENDRA                 SIMMONS            NC     90014769393
55733245161975   RAYMOND                REBAYA             CA     90012172451
55733358261971   SAMANTHA               TATE               CA     90011413582
55733559533699   ODESSA                 WOODRUFF           NC     12095865595
55733891561548   MAGG                   CRONIN             TN     90015348915
55734159591895   DEANA                  BARROWS            OK     90007341595
55734888661975   DANIEL                 ENRIQUEZ           CA     90009708886
55737748784342   SYRENIA                JOHNSON            SC     90013747487
55737842385928   DEBRA                  MORROW             KY     90012778423
55739874991895   MAYRA                  AGUINAGA           OK     90010018749
55741842891587   LUIS                   AGUILAR            TX     90013028428
55742288761971   SARAH                  DRISCOLL           CA     90013902887
55743624861971   RUDRA                  THAPA              CA     46051116248
55744421431491   CHARLES                MARTIN             MO     90010344214
55746621951348   LYNN                   SAUCEDA            OH     90000816219
55746747351348   ADANE                  MARKOS             OH     90013377473
55747639991356   CLAYTON                SPEARS             KS     29082186399
55748659561971   NANCY                  AVILA              CA     46082396595
55751378457157   MICHAEL                ST CLAIR           VA     90000503784
55751778691895   KA-LEE                 WILLIS             OK     90005467786
55752752633696   ZANE                   CHEEK              NC     90003057526
55753165361973   STAYSHA                LEA                CA     90011611653
55753829751348   TAMARA                 BURTON             OH     90001868297
55754932261971   CEMERINA               LOPEZ              CA     90010259322
55755222161971   KRISTINA               YORGIN             CA     46006682221
55755984933696   BRITTNEY               HARRISON           NC     90014549849
55757399433699   NAKANZA                BAINES             NC     90003953994
55757851886452   GLORIA                 WANG               SC     90014488518
55758682497128   MARSHALL               HARTMAN            OR     90009836824
55758772391356   DEBORAH                MORRIS             KS     29028977723
55758788133696   IRIS                   LOPEZ              NC     12013737881
55758859391587   YOLANDA                ALBIDREZ           TX     90015238593
55759665933696   MARTIN                 GARCIA             NC     12065006659
55759812261973   ARMANDO                GUERRERO           CA     90012758122
55761245261973   LUZVIMEMOA             MONTERO            CA     90006532452
55762987985928   LASHANDA               GARY               KY     90015219879
55763194291587   MARIA                  GARCIA             TX     90009651942
55768178333699   EBONY                  JORDAN             NC     90014771783
55768635491988   BRITTANY               BATES              NC     90015066354
55768826661975   BOBBY                  CAMACHO            CA     90002258266
55769222161971   KRISTINA               YORGIN             CA     46006682221
55772794157127   MARIA DE LOS ANGELES   MELENDEZ           VA     90013737941
55773398461975   MARY                   OKELLO             CA     90006063984
55773514533699   FERNANDO               HOWARD             NC     12022425145
55774697161973   ELEODORO               OJEDA              CA     90007116971
55775866633696   ANGEL                  HOOPER             NC     12076228666
55777184591587   GREGORIO               ROSALES            TX     90012801845
55779966691587   VICTOR                 GARCIA             TX     90013169666
55781546371922   ELIZEBETH              MATA               CO     90001525463
55782317157157   DAYSI                  IRAHETA            VA     90004903171
55782564391587   BAETRIZ                MARTINEZ           NM     75080865643
55784378833699   SHAMEKA                HILLIAN            NC     90014773788
55785362891895   KATHLEEN               SHEPHERD           OK     21040493628
55785965961971   JENNIFER               SCIACCA            CA     90010369659
55785973785928   KIMBERLY               BUTLER             KY     67011819737
55786381233699   NEKESHA                HAWKINS            NC     90014773812
55787166491525   DATIA                  CASILLAS           TX     90014781664
55788497391587   ANTONIA                VELAZQUEZ          TX     90006364973
55789934361971   CHRISTINA              NICELER            CA     46064239343
55792352791864   JULIE                  FULTZ              OK     90005383527
55792955391895   ANDY                   RAINES             OK     90012689553
55794293591895   STEPHANIE              BROWN              OK     21082832935
55794459451354   MARISOL                GUTIERREZ          OH     90011124594
55794759633699   MARY                   BASS               NC     90014777596
55795529261975   CIERRA                 MICHAEL            CA     90013095292
55796362751348   THONG                  DANG               OH     90008663627
55798668655951   VICTOR                 VILLAREAL          CA     90010606686
55798719951348   JODI                   COBB               OH     90012447199
55811948185928   STEPHANIE              CLARK              KY     90001179481
55812445191587   EMILIO                 MACIAS             TX     75020344451
55813364291895   ERICA                  GULLICK            OK     90011393642
55813377585928   JASMINE                HARDIN             KY     90013563775
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55813575933696   MONICA        HEMINGWAY                   NC     12089645759
55814617161973   JEANETTE      ARMIJO                      CA     90002916171
55814719791587   GILBERT       ZAVALA                      TX     90011867197
55815512561971   INDRA         AGUILAR                     CA     46036105125
55816244491922   CHASYAW       WORTHAM                     NC     90003092444
55819287457157   NICHAEL       FREEMAN                     VA     81058832874
55819332384357   PATRICIA      MOORE                       SC     90003683323
55821136331426   KADIR         POLJAREVIC                  MO     90015221363
55822685791587   CRUZ          MIRANDA                     TX     90011016857
55826792791895   FELICIA       WILSON                      OK     90012387927
55827996391535   DAVID         BURROLA                     TX     90010699963
55828121833699   TERRY         DAVIS                       NC     90014781218
55828126891587   MARIA         PALACIOS                    TX     90014331268
55828521661971   PATRICK       KNADLER                     CA     90015205216
55828998151348   GERMANINE     HILLARD                     OH     90013629981
55831979985928   PAYNE         LYNN                        KY     90014789799
55832616233696   SHANDA        ALSTON                      NC     90014556162
55834837684357   BRYANT        BLACK                       SC     90015248376
55834995733699   MICHELLE      SELLERS                     NC     12062519957
55835513284357   JENITA        PERRYMAN                    SC     90010015132
55835555461975   RUDY          ENCISO                      CA     90010245554
55839733285928   SAVANHA       BERGER                      KY     90013607332
55839993285928   MARCOS        DELGADO                     KY     90011909932
55841575361975   DANIEL        ALMARAZ                     CA     90013815753
55842334133699   JAMI          MORNING                     NC     90014783341
55849356161971   MAKEHNA       THORNTON                    CA     90009793561
55852366433699   DWAYNE        PENN                        NC     90014783664
55853287361973   TARA          COOMES                      CA     90014802873
55854326561971   GREGORY       EDDY                        CA     90012153265
55854727251348   CHRISTINA     CASTILLO                    OH     90012447272
55854972333696   LEOLA         MCADOO                      NC     12075669723
55855483961931   JAMES         MARCUM                      CA     90011164839
55856257885928   JAMES         GUEST                       KY     67003102578
55856393333699   RONNIE        ISON                        NC     90014783933
55857724161975   MARIAH        SALAZAR                     CA     90014537241
55858212761971   CRYSTAL       LOPEZ                       CA     90014532127
55858444233699   NAKIA         BRIDGES                     NC     90014784442
55858488355941   APRIL         PARRA                       CA     90012754883
55859195784357   AMANDA        COX                         SC     14570611957
55861448261971   MONICA        KAMOSS                      CA     90015024482
55862748591895   SAMUEL        NGARDU                      OK     21059537485
55862753784357   KELLI         RICHARD                     SC     90007607537
55864323861971   CHARLES       NESS                        CA     90012433238
55864558491895   NICHOLAS      TASSIN                      OK     90004795584
55864699585928   JORGE         OCAMPO                      KY     67090936995
55864953455941   ANA           VALADEZ                     CA     90006469534
55866274761971   JUAN          CARRVAJAL                   CA     46099072747
55866393284357   CHRISTY       ELAINE                      SC     90014403932
55867384161971   OLIVIA        WHITE                       CA     90014583841
55868979533696   CHARMAIN      SMITH                       NC     90014559795
55871522855951   SILVIA        MARTINEZ                    CA     90005505228
55873118784852   MARK          MILLIGAN                    NJ     90010751187
55875529991895   MICHAEL       LINSKY                      OK     90000985299
55875552733699   ANGELA        WILDS                       NC     90014785527
55876142231477   CHRISTOPHER   FORD                        MO     90014881422
55876214391356   CRAIG         LORD                        KS     90008192143
55876265961975   CARLA M       ALVARADO                    CA     90010282659
55876824833699   MONIQUE       MILLER                      NC     90014788248
55879179661973   SALVADOR      SANCHEZ                     CA     90013231796
55879585291535   BERTHA        YRIGOYEN                    TX     90011225852
55881521185928   SERGIO        DIAZ                        KY     90014835211
55881884561971   ROBERT        WILHELM                     CA     46038798845
55882458261975   MARIA         CONTRERAS                   CA     90006014582
55882489836193   FAWN          GOKEY                       TX     90011284898
55883474585928   SYLGA         OSSETE                      KY     90012984745
55883836733699   ANTOINETTE    BISHOP                      NC     90014788367
55884983561971   AMALIA        VINOLE                      CA     90002009835
55885634861973   AIOTEST1      DONOTTOUCH                  CA     90015116348
55886147891895   ROBERT        TYLER                       OK     90004301478
55886246191587   JOSE          CHAIREZ                     TX     90012092461
55887487491895   JUWON         MATTHEWS                    OK     90014144874
55887951384357   JESUS         LOPEZ                       SC     90014209513
55892895791895   BRIAN         FOUNTAINE                   OK     21011398957
55894722961971   JESSICA       CLAVEL                      CA     90005527229
55895555233696   ERICA         BROWN                       NC     90014855552
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55895894447929   KRYSTAL          KEITH                    AR     90007118944
55897574531429   K                RAINY                    MO     90004235745
55898699685928   ASHLEY           RISON                    KY     90001106996
55911613151348   STAR             WAGERS                   OH     66093556131
55911725433696   LEONARDO         GUZMAN                   NC     90014807254
55911765691895   DANNY            GREEN                    OK     21092877656
55912977891895   CHRISTINE        BOWMAN                   OK     90014179778
55914133591587   MARTHA           MEDINA                   TX     75017001335
55914811325154   PREPAID          CUSTOMER                 AL     90014138113
55916224885928   PATRICIA         COLLINS                  KY     67063872248
55917365333696   RAY              HILL                     NC     90014163653
55918476661973   ROSALBA          RENDON                   CA     90011454766
55919323861971   BLANCA           CAMBEROS                 CA     46046153238
55919499691587   RIKI JOE         LONGORIA                 TX     90013214996
55919835333699   PATTERS0N        AUDREY                   NC     12020728353
55921429285928   RAKEEMA          FACEY                    KY     90011124292
55921677361971   DELIA            SHRADER                  CA     46018556773
55922461584357   JALESSA          SIMMONS                  SC     90004144615
55923151833699   JAERIKA          GAMBLE                   NC     90014791518
55923589851354   JUAN             MIRANDA                  OH     90013165898
55924172233699   KENDRA           FLOYD                    NC     90014791722
55924266284357   TEISHA           ROPER                    SC     90010952662
55924385591587   JOSHEPH          FUENTES                  NM     75015483855
55924395191895   ADAM             HENDICKS                 OK     21064633951
55925899691587   GLORIA           PAZ DE PACHECO           TX     90015158996
55927553561975   ROBERTO          HERNANDEZ                CA     46006125535
55927883861973   MARY             CASTANEDA                CA     90013938838
55928111361973   HENRY            GARIBAY                  CA     90014761113
55932385661973   CRISTIAN         MARQUEZ                  CA     46011143856
55933258761971   ARORAE           LUCE                     CA     46028282587
55933536291999   ZAC              DUFFY                    NC     90013685362
55933947293747   SAMICO           SMITH                    OH     90011689472
55934435233699   KIM              KIM                      NC     90014314352
55935372461975   ARLENE           MOOKINI                  CA     90012483724
55936121655937   MICHELLE SALLY   ABARCA                   CA     90009551216
55936477461931   APRIL            ANDERSON                 CA     46016134774
55937778133696   JAMAL            BOWERS                   NC     90013047781
55937914861973   KIMBERLY         SHOUP                    CA     90013329148
55938146161975   ELIAS            PEREZ                    CA     90002491461
55941769461975   DALTON           PETERSON                 CA     90012317694
55942468184357   ALLICIA          WIGGS                    SC     90014224681
55943244691587   RUDY             OLIVAS                   TX     90015082446
55945653391535   MARIBEL          TALAMANTES               TX     90012336533
55947367384357   MICHAEL          HOLDEN                   SC     14514633673
55951524891356   NEKEYA           OWEN                     KS     29016805248
55953493633696   SASHA            MONIQUE                  NC     90014564936
55953894861973   YESSICA          ARGUELLES                CA     90012928948
55954622261971   YVETTE DELFENE   YOUNG                    CA     90014996222
55956252985928   COREY            EDDY                     KY     90013822529
55957264561973   KRISTINE         KELLY                    CA     90003502645
55957992261971   ANDREW           WHEATBREAD               CA     90002649922
55958348591895   BRITTNEY         LITTAU                   OK     90014883485
55959651733699   BREANNA          WALL                     NC     90014796517
55961949551348   TANIKA           ISOM                     OH     66071499495
55962113285928   ARNITE           SHELTON                  KY     90014681132
55962692933699   DANIEL           RICE                     NC     90014796929
55962998151348   GERMANINE        HILLARD                  OH     90013629981
55964661557157   EUCLIDES         HERNANDEZ                VA     90012146615
55964724841292   CARLA            NOLAN                    PA     90004597248
55965869591587   HARO             MARTHA                   TX     75014458695
55967836861971   KAYLA            LEE                      CA     90013608368
55969195361971   LAMEE            MATTI                    CA     90009091953
55969247557126   FATMATA          KAMARA                   VA     90007582475
55973666491895   CHASSIE          WILLIAMS                 OK     90011986664
55976662991587   KALEAH           AGUIRRE                  TX     75053266629
55979397461971   SIMON            HUBBLE                   CA     90013543974
55979619221685   ASHLEY           REESE                    OH     90014836192
55979865751326   WENDALL          RUSSELL                  OH     66050948657
55981367491895   AMANDA           JOHNSON                  OK     90008103674
55983562691587   ANAIS            ALVAREZ                  TX     90010215626
55984348257124   DELCAR           JUAREZ                   VA     81017663482
55985853785928   MARIE            BATES                    KY     90012028537
55986136191895   KELLY            SAPPINGTON               OK     21087361361
55986927261975   DANIEL           LIERA JR.                CA     46060599272
55987126891587   ROGELIO          TORRES                   TX     90013801268
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55991123861973   JEFFREY      MITCHELL                     CA     90012761238
55991935533699   LASHAE       BASKIN                       NC     90014799355
55993892285928   BENA         MABSON                       KY     90009358922
55994218284357   COURTNEY     WIILSON                      SC     90003942182
55995528333696   DALIA        CABALLERO                    NC     12011965283
55995672431429   BRUCE        LENHARDT                     MO     90004236724
55995677761975   LAFRAYE      HILL                         CA     46075076777
55997883533699   KIMBERLY     CUNNINGHAM                   NC     90010628835
55998123991895   ALEXANDER    TIJUANN                      OK     90013861239
55999644451348   CRYSTAL      BURTON                       OH     90013546444
55999774291251   SHELIA       ROBINSON                     GA     90013107742
56111481272442   MARK         ARTHUR                       PA     90014714812
56112316791895   CONNOR       WHITE                        OK     21004033167
56112519455939   GLORIA       PEREZ                        CA     49096275194
56112897355997   RUBEN        HERNANDEZ                    CA     90013498973
56113113591587   NOE          PICHARDO                     TX     90001101135
56114132691895   SARAH        PLEASANT                     OK     90012871326
56115411333696   LANARD       JAMES                        NC     12088664113
56115781355997   MARTIN       MAGDALENO                    CA     90014517813
56118922357157   CHARLES      EDWARD                       VA     90003549223
56119572261965   LESLEY       TORES                        CA     90001205722
56121519951354   MIRANDA      LOVINS                       OH     90008885199
56121852886545   VERONICA     CASTANETA                    TN     90015478528
56121856155997   VIRGINIA     ADAMS                        CA     90012788561
56122899751348   JUANA        LUNA                         OH     90001338997
56123276684357   JULI-ANNA    MULLINS WARREN               SC     90006992766
56124346972442   MELANIE      LUCKEY                       PA     90011683469
56125745336165   BRITTANY     HENRY                        TX     90000857453
56125881191895   RYSHANA      WEBB                         OK     90007858811
56125965285928   BREANNA      WEBB                         KY     90013779652
56126836391939   SHANTA       CREECH                       NC     90005338363
56128773855997   LUIS         MORENO                       CA     90012947738
56129263684346   BRAZIL       BRAZIL                       SC     90015072636
56129678172442   ROSCOE       COOPER                       PA     90014716781
56131171385928   MICHAEL      LEWIS                        KY     90011731713
56131375857157   YOLANDA      MURCIA                       VA     81073363758
56132361833699   PHYLICIA     TWITTY                       NC     12088433618
56132482257134   ABDELRRIM    ELMOVHIB                     VA     81087104822
56134473631428   SHALONDA N   HOPGOOD                      MO     27550694736
56135953833157   MICHEAL      HUERTA                       IL     90012749538
56137453322925   GRAHAM       JACKMAN                      GA     90014014533
56137678172442   ROSCOE       COOPER                       PA     90014716781
56138597186545   MANUELA      DUARTE                       TN     90015535971
56138719951348   ZACK         BALLEW                       OH     90012387199
56139216357148   JOSE         CEA                          VA     90005912163
56144439961973   DANIEL       VILLEDA                      CA     90001414399
56144795631468   NEICEY       WILLIAMS                     MO     90010587956
56145375857157   YOLANDA      MURCIA                       VA     81073363758
56146671955997   GENEVIEVE    SOTO                         CA     90014556719
56147359855997   SHANNON      MEEKER                       CA     90006953598
56147616761965   JORGE        ALONZO                       CA     46021296167
56149713655939   NELIDA       VASQUEZ                      CA     49013847136
56151122855939   BARBARA      GIL                          CA     90011931228
56152247555997   ERIC         REY                          CA     90012782475
56153627685928   CECIL        LEWIS                        KY     90009326276
56154787342363   BILLY        BRADFORD                     GA     90009187873
56154866485928   JAMES        ADAMS                        KY     90014738664
56155329361971   CHEDLIA      OUIDIANI                     CA     46010403293
56158139455997   ALEXI        VAZQUEZ                      CA     90013241394
56159358391895   CIRILO       JUAREZ                       OK     21089933583
56161718551348   LAWRENCE     SMITH                        OH     90002767185
56162969561965   FELIX        DELEON                       CA     90011179695
56164146233699   RHONDA       BARNES                       NC     12074061462
56164355285928   MAX          DHEMBY                       KY     90014943552
56165953455939   ANGEL        BRUNE                        CA     90004749534
56166666161965   STEVEN       ESTRADA                      CA     90000326661
56167873191587   VICTOR       IBARRA                       TX     75052558731
56169686761965   JERRY        JONES                        CA     90013196867
56171353461965   SUMMER       ANDERSON                     CA     46097863534
56172464655939   MARIA        GONSALEZ                     CA     49060444646
56172567457157   ATENTCION    JESUS                        VA     90012655674
56173229557134   ZAINABU      SESSAY                       VA     90011912295
56174262555997   DANIEL       POORE                        CA     49080502625
56174319255939   ANA          CORDOVA                      CA     49090553192
56174488757157   CARMEN       MENDEZ                       VA     90006174887
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56175567785928   CEDRIC        BOAZ                        KY     67034675677
56176148961971   GABRIEL       LOPEZ                       CA     46024501489
56177493331428   BORI          DOMINGUEZ                   MO     90011754933
56178256641292   EVON          ALEXANDER                   PA     90009392566
56181363557157   MARIA         MARAVILLA                   VA     90004923635
56181419255939   ZEFERINA      DOMINGUEZ                   CA     90010664192
56182162151348   GLENN         WYATT                       OH     66086561621
56183382851348   THERSA        SPRINGER                    OH     90014573828
56184547391587   MANUEL        REYES                       TX     90004685473
56189591957157   SERGIO        HERNANDEZ                   VA     21591235919
56191888661965   CORAL         ASTRONG                     CA     46020468886
56193373661965   SEDRICK       GATES                       CA     90014803736
56194844161965   CARSON        CHRISTOPHER                 CA     90007748441
56195755955939   PAULA         PAGE                        CA     90008617559
56198777757126   GRISELDA      HERERA                      VA     90006837777
56199299884357   LINDA         WILSON                      SC     90011802998
56199894251348   SHAWNA        PARKS                       OH     90014638942
56199994355939   VICTORIA      MAYA                        CA     90010459943
56211463661965   BRITTANY      WHITTAKER                   CA     90014894636
56211616891895   KENDALL       BONNER                      OK     21081826168
56211846661971   STEPHANIE     SANTOS                      CA     46079998466
56213736755997   STEVEN        RODRIGUEZ                   CA     90013197367
56213764933696   BRANDON       FREEMAN                     NC     12025837649
56213972257127   ANA           DIAZ                        VA     90009209722
56215234885928   TENISHA       HARRIS                      KY     67032202348
56219422461971   ALMA GLORIA   RIVAS-TORRES                CA     90013834224
56223954955939   LUIS          RODRIGUEZ                   CA     90006549549
56224257561971   STEVE         WELCH                       CA     90010572575
56224415555997   LEROY         ESPARZA                     CA     90014814155
56227331331429   SHARLISE      BOND                        MO     27517353313
56227391285928   BLANDINE      OLUNGU                      KY     90014723912
56228495451348   JACQUELYN     GRESHAM                     OH     90013214954
56228782657157   BLANCA        VALLADARES                  VA     81082497826
56231878243553   SHANNON       ASHBY                       UT     90000888782
56233243861956   JORGE         VARGAS                      CA     90003732438
56233932955997   GUILLERMIN    FIGUEROA                    CA     49045149329
56234138272442   JESSIE        WILSON                      PA     90014771382
56234993761971   CATHERINE     KALMAN                      CA     90002879937
56235192191895   STEPHANIE     BRUNNER                     OK     21051871921
56235367891587   ELIDA         MAESE                       TX     90011063678
56236159357379   HEATHER       QUISENBERRY                 MO     90014471593
56236435555939   ROSA          DAZA                        CA     90012794355
56237128133696   ANGEL         CHAVE                       NC     90013841281
56238563672442   DOROTHY       PREMUS                      PA     51001045636
56239357872442   ROBERT        LUCKEY                      PA     90009163578
56241125857157   GIFTY         ASARE NKANSAH               VA     90004291258
56241394391587   JESUS         YANEZ                       TX     90014923943
56243776657148   PHILIP        CLISHAM                     VA     90005987766
56244563672442   DOROTHY       PREMUS                      PA     51001045636
56244739151348   MARCUS        MANLEY                      OH     66093557391
56245346772442   JOHN          CAMPBELL                    PA     90011093467
56246346772442   JOHN          CAMPBELL                    PA     90011093467
56246482555997   CHRISTOPHER   TRUJILLO                    CA     90012914825
56247563672442   DOROTHY       PREMUS                      PA     51001045636
56247762191587   DIANA         ESCAMILLA                   TX     90009877621
56247959231428   ASHLEY        BAILEY                      MO     90006449592
56248646861971   SYDNE         REA                         CA     90014726468
56248851891587   CLAUDIA       GARAY                       TX     90009128518
56251633661965   ELIZABETH     CRUZ                        CA     90010876336
56251722155997   KATHERINE     PENA                        CA     49080457221
56251936555939   MARCELA       DOMINGUEZ                   CA     49048539365
56252141491895   SARA          ADAIR                       OK     90013871414
56252719333696   SHEREE        BENTON                      NC     90003337193
56255829255939   ADAN          GARCIA                      CA     90015188292
56256571957157   WALTER        RIVAS                       VA     81025415719
56256798555939   SOCORRO       RUIZ                        CA     90015087985
56258187961965   JOSHUA        SANDOVAL                    CA     90009651879
56259113591587   NOE           PICHARDO                    TX     90001101135
56264687191895   BRITTANY      WASSON                      OK     90010436871
56267779991895   HOLLY         BROWN                       OK     90014637799
56268321985928   JOLENE        DAVIS                       KY     90011753219
56268698891587   SARA          GALINDO                     TX     75007316988
56269442972442   NANCY         NEAL                        PA     90014804429
56269621597123   LRAE          ANDERSON                    OR     44517306215
56269821651348   ALES          SMITH                       OH     90014868216
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56271196755939   LOUIS        HARDESTY                     CA     90014581967
56274487655997   BIBIANA      COVARRUBIAS                  CA     90013204876
56274628161965   SONIA        YOUNUS                       CA     90013986281
56275137433645   DAVIS        LAKISHA                      NC     90005591374
56275789633696   CHRISTINE    SIMPSON                      NC     12001657896
56275935355939   HONEY        WHEELOCK                     CA     90010989353
56276864291895   STEPHANIE    ROTERT                       OK     90010958642
56277339385928   BREEVEL      WHITE                        KY     90014013393
56277936133696   TERRI        CLIFFORD                     NC     12079429361
56279561955939   VICKY        VELA                         CA     90009435619
56279564157135   LACY         TAYLOR                       VA     90004505641
56279658572442   TRACY        SCHOMER                      PA     90012866585
56283461391895   HAVANNA      FLETCHALL                    OK     90015154613
56286272781625   DONALD       SCHROER                      MO     29091352727
56286469757157   VICTOR       SOTO                         VA     90010734697
56286868285928   PAYGO        IVR ACTIVATION               KY     90013918682
56287651985928   PAMELA       LEEPER                       KY     67065346519
56289986491895   CIERA        PARRISH                      OK     90011049864
56291252661548   KEVIN        NUNLEY                       TN     90008962526
56291974884357   ANNIE        GARNON                       SC     90009849748
56295698984357   JOSEPHUS     ATKINS                       SC     14518016989
56296752391895   MARIA        RODRIGUEZ                    OK     90002067523
56297421593721   PEGGY        ROUSE                        OH     90010574215
56299521361971   MANUEL A     ESTRADA                      CA     90014345213
56299991291895   TIFFANY      RODRIGUEZ                    OK     90000959912
56311551857157   FRANSISCO    CONTRERAS                    VA     90012725518
56312192531429   SHAKHARA     HUGHES                       MO     90007231925
56314398151348   KAMI         KELLEY                       OH     90014933981
56315237491587   JOSEFINA     HERNANDEZ                    TX     75013432374
56315737155939   MARIA        DELACURZ                     CA     49061557371
56316155772442   STEPHEN      MARTIN                       PA     51074201557
56317562561965   TERRY        HOLSTEIN                     CA     90014765625
56318727663639   BRIAN        CHILDRESS                    MO     90007097276
56321215655939   GURPREET     KAUR                         CA     90010132156
56321561391895   BILLY        VENTRIS                      OK     21034695613
56321929533699   LOUISE       PINO                         NC     90001539295
56321964591535   MARCELA      LICERIO                      TX     90011469645
56322862685928   QUEONTE      HOWARD                       KY     90013948626
56323469133696   JOSEPH       PERRY                        NC     12009874691
56323716161965   DYONNA       BACA                         CA     90013357161
56325346391587   RICKY        MUSGROVE                     TX     90015143463
56326836854128   ELIZABETH    HANCOCK                      OR     90013748368
56331272155939   BRENDA       DEARING                      CA     49080262721
56331649791881   SCOTT        GREEN                        OK     90012016497
56333926351348   ELIDA        JIMENEZ                      OH     66049419263
56334578755939   JAIME        ZEPADA                       CA     90013295787
56335694391587   GUADALUPE    GLAZEBROOK                   TX     75047256943
56335751361965   RAYMOND      MAUSER                       CA     90014307513
56336459931429   KEYSHA       MOSBY                        MO     90006924599
56341933691587   MIGUEL       ORTIZ                        TX     75053639336
56343619285928   VALERIE      SCOTT                        KY     67060906192
56347111885928   RICARDO      SANDRES                      KY     90013931118
56349111885928   RICARDO      SANDRES                      KY     90013931118
56349728561965   MARTIN P     BUNCH                        CA     90013367285
56351975857157   ARMANDINA    CABANILLAS                   VA     90014799758
56352127661926   MARIA        OCEGEDA                      CA     90010631276
56352435985928   SIBONA       HALI                         KY     90013914359
56352551361971   BENNY        UNTALAN                      CA     90010955513
56352669861971   BENNY        UNTALAN                      CA     90013206698
56353438361971   DIANA        WILEY                        CA     90006114383
56353538457128   EDWIN        RODRIGUEZ                    VA     90007745384
56356873391895   ANITA        MOSLEY                       OK     90009188733
56357977391895   CANDIDO      SANTACRUZ                    OK     90012109773
56358196755939   LOUIS        HARDESTY                     CA     90014581967
56358259961965   SHANNON      FRANCIS                      CA     46057592599
56359367361971   JOSEPH       MANNINA                      CA     90006123673
56359527557121   DESALEGN     MENGIE                       VA     81017835275
56361157585928   KRISTY       SOBLESKI                     KY     90013931575
56361177951348   GINA         GUNN                         OH     66016431779
56361527557121   DESALEGN     MENGIE                       VA     81017835275
56361739891587   SONIA        HERNANDEZ                    TX     90009787398
56363157585928   KRISTY       SOBLESKI                     KY     90013931575
56363158291534   CHRISTINA    RODRIGUEZ                    TX     75002831582
56366116571922   PATTI J      BROWN                        CO     90013261165
56366344533667   JAMES        JACKSON                      NC     18010763445
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56367992757157   YONI            ALVARES                   VA     90012749927
56368192861965   SAFARDON        JABO                      CA     90000931928
56368529157157   ALIANGEUIS      DAVILA                    VA     90001865291
56368656391895   JERRY           MARTIN                    OK     21070116563
56368718785941   MORGAN          BARNS                     KY     90008977187
56368871533696   GRICELDA        LIMONES                   NC     12072058715
56371173161971   FADI            SARO                      CA     90014671731
56374562557157   ANTONINO        ROSAS HERNANDEZ           VA     90006175625
56375154857157   TANISHA         PEARSON                   VA     90013861548
56376964151348   CINDY           PENNINGTON                OH     90008299641
56377358933699   MARCELO         BERNAL                    NC     90006283589
56378419455997   LAURA           MEJIA                     CA     90014634194
56378932461965   STEVEN          MURIEL                    CA     90011399324
56379351791525   ECTRADA         LUPE                      NM     90000823517
56382558331428   MARTEZ          HOLLEY                    MO     90006535583
56386123131428   MONIKA          HENDERSON                 MO     90001171231
56387861885928   CRYSTAL         BURKS                     KY     90011308618
56388344761965   JOSE            BALLON                    CA     90012653447
56391358833696   RODNEY          ROBERTSON                 NC     90006563588
56394992757157   VICKI           MCCORMICK                 VA     81085939927
56397797961971   MISTY           LANGMEYER                 CA     46012147979
56411573851348   DIANA           MCGUIRE                   OH     66041465738
56412184751348   FRANKIE         WILLINGHAM                OH     90006881847
56412199961971   CHRISTINE       BLAISDELL                 CA     90011541999
56412348955939   ANTHONY         FAILLA                    CA     49086963489
56413936957157   YANETSY         TORRES                    VA     90008059369
56414991791587   ELIZABETH       FLORES                    TX     75009649917
56415378585928   JEROME          DAWSON                    KY     67015943785
56418638651348   TRINA           SCOTT                     OH     90001566386
56419148355939   MARISELA        TORRES                    CA     90010231483
56419345741224   LAUREL          MC CALLISTER              PA     90012983457
56419989185928   EMMA            CASTILLO                  KY     67005959891
56421259286545   JENNY           ELLENBURG                 TN     90015532592
56424758372442   TY              PRATT                     PA     90012077583
56424831157157   MICHAEL         SAINTZ                    VA     90013218311
56426228561971   ISAEL           LEON                      CA     46017642285
56429782185928   MARIA           RODRIGUEZ                 KY     67035097821
56433514755997   EDUARDO BAEZA   BAEZA                     CA     90013065147
56433746555997   FRANCISCO       IBANEZ                    CA     90014737465
56434253133696   GASPAR          ARROYO                    NC     12034502531
56434341191895   DON             WEAVER                    OK     21064393411
56434523833625   CHRIS           THACKER                   NC     90000945238
56434819957157   SANDRA          EVANS                     VA     90010228199
56435533657157   JAY             JHONSON                   VA     90014785336
56435555491895   CARLOS          AMBRIZ                    OK     90013845554
56435625955997   JUAN            VELAZQUEZ                 CA     90014896259
56439329155939   MILDRED         LAMATTINA                 CA     49080963291
56439758361971   DEVOL           SAMANTHA                  CA     90012387583
56441264155997   RICK            GALVAN                    CA     49050022641
56441729461971   LUIS            BARAJAS                   CA     90013717294
56442315555939   ALEJANDRO       SANTIAGO                  CA     90013033155
56442789651348   PHILLIP         JENKINS                   OH     90014877896
56443596155997   SANDRA          ARVIZU                    CA     90003955961
56444477455939   JESUS           VALDEZ                    CA     90014634774
56444623251348   AARON           GALLIHER                  OH     66055626232
56444675861965   KENNETH         CLAY                      CA     90014536758
56445917961971   STEVEN          BINGHAM                   CA     90001329179
56447154351348   KRISTI          WEBER                     OH     90010991543
56447666657157   JOSE            AMAYA                     VA     90009416666
56448759557122   MEGGAN          DAVIS                     VA     90010397595
56448989655939   MISTY           SINKS                     CA     49089109896
56449882691895   NICHOLE         TONEY                     OK     90015148826
56452766385928   JEAN            CASTLE                    KY     90013937663
56452944433669   TASHICKA        HICKMAN                   NC     90011679444
56453611661965   ROBERT          CHARITY                   CA     90013196116
56454299455997   ALEJANDRA       CERVANTES                 CA     90014772994
56454646391881   ERNESTINE       MOTLEY                    OK     90011526463
56455116991587   CLARA           GUTIERREZ                 TX     90011481169
56455685191269   HEATHER         ROGERS                    GA     90007746851
56456514855997   ETEL            PEREZ                     CA     49087795148
56457657351348   AMY             DE-NISE                   OH     90014226573
56462438361971   DIANA           WILEY                     CA     90006114383
56462863661965   JAMAL           BANKS                     CA     90007748636
56463176333465   DEEANN          ADAY                      AL     90014641763
56463375957157   CLAUDIA         ABREGO                    VA     90012253759
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56463498855939   BENJAMAN      OWEN                        CA     90012154988
56463713872442   TABATHA       ASHTON                      PA     51094927138
56464426285928   GARY          BARR                        KY     90014944262
56465633257157   DONNA         MOORE                       VA     90012106332
56467557161971   ARRON SHAWN   PRIDDY                      CA     90013345571
56467824255939   FLORENTINO    MENDOZA                     CA     90001008242
56467983761965   KIMBERLY      NOBLE                       CA     90012979837
56469512891895   SHERRA        WOODS                       OK     90010065128
56469595761971   CARY          TURRISE                     CA     90014625957
56472186433465   KRISTAL       ADAY                        AL     90014641864
56472221361986   SERGIO        SANCHEZ                     CA     90013522213
56473537791895   ERICKA        SAUCEDO                     OK     90012695377
56473894861965   FRANCISCO     MEZA                        CA     90010388948
56474158655939   FRANK         RUACHO                      CA     49000001586
56474913351348   BRANDON       STOREY                      OH     90013189133
56475243691523   SALVADOR      OLIVARES                    TX     90011652436
56481527733696   MICHEAL       GARRISON SR                 NC     12092995277
56481924157157   PAULINA       MENDEZ                      VA     90012609241
56482582761971   SUSAN         MARS                        CA     90007525827
56485925661965   SUSAN         BONNE                       CA     90006299256
56486426285928   GARY          BARR                        KY     90014944262
56486996861971   HONEY         MCDONALD                    CA     46010519968
56487156561971   BROOKLYN      GEBUR                       CA     90012281565
56488358961971   R.ANGELICA    O.MUNOZ                     CA     46083993589
56488442757157   HERLINDA      WILSON                      VA     90014204427
56488561291895   JENNIFER      BODWELL                     OK     90002425612
56489529991587   JOSE          DIAZ                        TX     90012215299
56491271133699   VANESSA       CAMPBELL                    NC     90008742711
56491923991587   ARMANDO       ARANDA                      TX     90012919239
56494667961936   MARIA         PEREZ                       CA     90013896679
56495525855997   MARY          RODRIGUEZ                   CA     90012355258
56496167955939   KELLI         CANADY                      CA     90003941679
56497439991587   GABRIELA      ESCARZAGA                   TX     90000504399
56498217851361   GWENDOLYN     BASKIN                      OH     90008642178
56499192185928   CRYSTAL       TRINIDAD                    KY     90007521921
56511388233699   TAMEKA        WALKER                      NC     90010373882
56511931891552   CHRISTOPHE    GARCIA                      TX     75047229318
56512179672442   JEREMY        BOYER                       PA     51034591796
56512695661965   SEROR         MIKHA                       CA     46074066956
56513181691587   EMILY         RODRIGUEZ                   TX     90013171816
56513559991587   EDUARDO       FLORES                      TX     90015085599
56514556461965   SAUL          LOPEZ RAZO                  CA     90001435564
56514781991895   STEPHEN       NEWBY                       OK     90013787819
56515458433699   JEFFREY       COOK                        NC     90011944584
56515592791895   RONALD        MCMORRIS                    OK     90014875927
56515842655997   VERONICA      MARQUEZ                     CA     90014158426
56517623285928   FRED          FAUST                       KY     67015956232
56517739161971   JAMI          PRADFUTE                    CA     90012317391
56518122291988   YEKIA         HITE                        NC     90014861222
56519784961965   ADELLA        SWEET                       CA     90008377849
56521754891895   RAVEN         GREER                       OK     90007647548
56522426657127   FREEDOM       AFEBOH                      VA     90008034266
56522555157591   PAYGO         IVR ACTIVATION              NM     90011855551
56524319255939   KARINA        ALAVARADO                   CA     90015293192
56524543555939   PABLO         RODRIGUEZ                   CA     90013235435
56524655161965   CINTHIA       CASTELLON                   CA     90014956551
56524898231468   KATIE         DAVID                       MO     90003518982
56526577855997   ROXANNE       MUCHA                       CA     49015425778
56527661233699   KHADIJAH      SHABAZZ                     NC     12033926612
56527859131428   TYNISHA       HALE                        MO     27581868591
56528784433699   ELMER         HERRERA                     NC     12015917844
56534195891587   ROBBIE        RIVAS                       TX     75000901958
56534261572442   CRYSTAL       SMITH                       PA     51063062615
56535537761971   LISBETH       TELLEZ                      CA     90014065377
56536771991587   JOSELIN       ARIAS                       TX     90014907719
56536846357157   BRIDGETTE     SPANT                       VA     90014148463
56539199947877   BRITTNEY      DUMAS                       GA     90014751999
56539636361971   HILARIA       ROJAS                       CA     46029026363
56541178747877   TERRI         SHAW                        GA     90014751787
56543542155997   MARIA         CORTEZ                      CA     90013925421
56544154791895   ROBERTO       JUAREZ                      OK     90012101547
56544948251348   ANGELA        THOMPSON                    OH     90010959482
56545335333634   LETITIA       HINES                       NC     90004333353
56545415357124   IRIS          RAMOS                       VA     90006694153
56545489555939   LISSET        VARGAS                      CA     90010564895
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56546327961971   NARANJO       SYD                         CA     46038453279
56546931455937   ANA           HERNANDEZ                   CA     90009879314
56547135131429   BRYTLYNNE     KEETON                      MO     90005511351
56549459661971   LUIS FELIPE   JAIME                       CA     90011444596
56552453472442   ANTHONY       NATIVIO                     PA     51098414534
56554881855939   ARTURO        VASQUEZ                     CA     90009438818
56557122685928   LEONEL        AGUILAR                     KY     90013941226
56557311257157   NILSA         GUERRERO                    VA     90012873112
56559668991587   ANDREW        MEDRANO                     TX     90009766689
56561415755997   EDGARDO       HERRERA                     CA     90013104157
56562131272442   MICHAEL       HUFFER                      PA     51098041312
56562553555997   JUAN          PALACIOS                    CA     90013925535
56564824461971   MINERVA       CORTEZ                      CA     90011398244
56565584485928   KIMBERLY      STREJAN                     KY     67001485844
56569612857148   HENRY         MOLINA                      VA     81072096128
56571813461971   AYAD          SAADEDEEN                   CA     46098178134
56574435272442   BRENT         NICOLO                      PA     51074444352
56574821651348   ALES          SMITH                       OH     90014868216
56574938533696   RONALD        HERMES                      NC     90005659385
56578134533699   CISNEROS      JANET                       NC     90003811345
56578668257157   LASHONDA      DAY                         VA     90013166682
56582557391587   JAVIER        GONZALEZ                    TX     90007455573
56583242661965   MICHAEL       CONWAY                      CA     90013882426
56584582255997   BEATRICE      RAMIREZ                     CA     49023265822
56588985931428   ANTWON        BALLWIN                     MO     90011769859
56591424457157   CANDELARIO    TENAZ RAMIREZ               VA     90014794244
56592498386452   STANLEY       MONTGOMERY                  SC     90015274983
56592781285928   JAVIER        PARKS                       KY     67015217812
56592861955997   PATRICIA      CARREON                     CA     90007488619
56593447951348   STEVEN        RICHMOND                    OH     90003344479
56594644961971   BEATRIZ       GAMEZ                       CA     90014456449
56595625955997   JUAN          VELAZQUEZ                   CA     90014896259
56597267591587   MECHELLE      GARDNER                     TX     90014572675
56597477372442   MICHELLE      VOLEK                       PA     90001224773
56597816551348   JULIO         GUTI                        KY     90011148165
56598315555997   ELIZABETH     OSUNA                       CA     90012563155
56598361957157   EVELYN        ALVAREZ                     VA     90013853619
56598656257148   ZULMA         MELGARES                    VA     90007166562
56599647391587   HILDA         GOMEZ                       TX     90002356473
56599778161971   KIM           FORD                        CA     46023977781
56611385747877   JESSE         LATTIMORE                   GA     90013923857
56612516957157   KENDRA        CHAPMAN                     VA     90014795169
56612651355997   MANUEL        IBARRA                      CA     90014236513
56613596191895   MELISSA       RODRIGUEZ                   OK     90013395961
56613945891895   TEQUILA       FRANKLIN                    OK     90014759458
56617755891535   YOLANDA       HERNANDEZ                   TX     90010017558
56619999651348   CARLA         WILLIAMS                    OH     90014859996
56621814971946   SANTOS        BARAHONA                    CO     90010938149
56621894955997   HENRY         RIOS                        CA     90011228949
56624727155997   MATHEW        ELISALDE                    CA     90013927271
56625528685928   CHASE         BAIRD                       KY     90013945286
56627165757563   REBECCA       PAZ                         NM     35591211657
56627263533699   TANJA         BROWN                       NC     90003812635
56628573331628   BRITTANY      MYERS                       KS     90003035733
56628828357148   JOSE          CASTILLO SANTOS             VA     90014548283
56631288233699   ARTHUR        GENE DIXON JR               NC     12093312882
56634254551348   MICHAEL       HOWARD                      OH     66041302545
56635252351348   ALESHA        DURHAM                      OH     90010992523
56635391155939   VIRGINIA      CISNEROS                    CA     90013033911
56636526561941   GLORIA        ROBLES                      CA     90010675265
56636642891587   MARIA INES    ALVAREZ                     TX     75060856428
56636662885928   TINA          SUMPTER                     KY     90013156628
56637267491895   KYLAH         CRISP                       OK     90010012674
56638426361965   JOSE          LUNA ARENAS                 CA     90013514263
56643159991587   ALICIA        ORTEGA                      TX     75047921599
56643316886545   BRANDY        TAYLOR                      TN     90015503168
56644697961971   BERNICE       SPARKS                      CA     90002306979
56645213751348   RUDY          MAREE                       OH     90013122137
56645316491523   JUANA         ALDAZ                       TX     90010883164
56645832741221   MARLA         CHARNESKY                   PA     51098198327
56645847685928   MICHAEL       BARNES                      KY     90011818476
56645921461965   DOLORES       BENITEZ                     CA     90014129214
56646937657157   KENNETH       HALL                        VA     90000859376
56646999161965   CRUZITA       RODRIQUEZ                   CA     46056309991
56647877661965   SAMANTHA      PEREZ                       CA     90012018776
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56648534557157   MIRIAM                  HERNANDEZ         VA     81074435345
56648599233699   RICHARD                 CLAYTOR           NC     90008965992
56648829491895   SANTA TERESA DE JESUS   ALVAREZ           OK     90013788294
56649355855997   DONSHY                  WARREN            CA     90007223558
56654659491587   JOE                     GOMEZ             TX     90015136594
56655871357148   JULIO                   CEVALLOS          VA     90007278713
56655999357157   REINA                   PONCE             VA     90008639993
56656318861971   KENNETH                 DYNES             CA     46038853188
56658822786545   ANNE                    GORDON            TN     90015448227
56658964791523   PERLA                   DOMINGUEZ         TX     90008769647
56661225251348   TERRI                   ARNOLD            OH     90009472252
56661348751348   ALLEN                   HIGGINS           OH     90015313487
56666391561966   CECENIA                 VICTOR            CA     46017533915
56669995151348   JAMES                   BELTRAN           OH     90013619951
56671589457157   TESSA                   ICHITT            VA     90014815894
56671843661971   RYAN                    DARBY             CA     90006998436
56673621861965   EDUARDO                 VERONICA          CA     90002946218
56674542355939   ERIC                    BELTRAN           CA     49007505423
56676563291587   GERALDINE               GARCIA            TX     90012015632
56677285791895   JEREMIAH                KAYIZA            OK     90008562857
56678354561936   ANTONIO                 PADILLA           CA     90007963545
56681229155939   CONCEPCION              VALDEZ            CA     49042302291
56682179833699   JUAN                    PINEDA REYES      NC     12014181798
56682721455997   TANIA                   RIVERA            CA     90013937214
56684295861971   DAWN                    FENNEY            CA     90002652958
56684988457157   MOISES                  INTERIANO         VA     90013649884
56685327431428   ERIC                    BOWMAN            MO     90012823274
56685471561931   CARLOS                  SANTIAGO          CA     90005304715
56686632785928   YADIRA                  SOTO              KY     90014066327
56693337891895   DIANA                   SANCHEZ           OK     90012323378
56695536955939   ANITA                   MAYA              CA     90013415369
56695993761971   CATHERINE               KALMAN            CA     90002879937
56696234641221   JEFFEREY                SENIOR            PA     90007272346
56697156933677   SANDRA                  GREEN             NC     12047861569
56697754255997   DOLORES                 ALVARADO          CA     90013937542
56699581884357   MARK                    EDWARDS           SC     90005195818
56712522591587   ZINNIA                  HALL              TX     90008405225
56713526161971   HAROLD                  NICELER           CA     90004615261
56713842255997   RIGOBERTO               VILLAFAN          CA     90013938422
56714215385928   NOEL                    MARTINEZ          KY     90012412153
56714741191895   ROBERT                  HILL              OK     21023597411
56715739661936   CESAR                   CORTEZ            CA     90008047396
56716761155997   JESUS                   PEDRAZA           CA     90013037611
56716957533645   CEDRO                   CHIGO             NC     90005739575
56717338861965   TAMARA                  CRAWFORD          CA     90014423388
56717541857157   FELIPE                  IBARRA            VA     90008775418
56717861755997   JOAN                    LEE               CA     90013938617
56717919133696   SINDA                   LEWIS             NC     12034759191
56719541857157   FELIPE                  IBARRA            VA     90008775418
56722211757157   CHRISTINA               SHANLEY           VA     90010312117
56723417585928   WILLIAM                 BUSTER            KY     90014674175
56724879857131   ROSENDO                 CEBALLOS          VA     90011468798
56726541857157   FELIPE                  IBARRA            VA     90008775418
56726668257157   LASHONDA                DAY               VA     90013166682
56731944133699   DAMIEN                  ROMINGER          NC     12014199441
56732637236165   FRANK                   KASSNER           TX     90004316372
56733345157157   KEITH                   BURKS             VA     90002503451
56733557591895   LYNNDI                  ATKINS            OK     21093305575
56734951257157   FERNANDO                VARGAS            VA     90014819512
56735787131428   ELIZABETH               LOPEZ             MO     90009577871
56736411285928   SHAUNETTA               THOMAS            KY     90000334112
56738753155997   GUILLERMO               N BERNARD         CA     49005337531
56741171686545   TEONIA                  RUSSELL           TN     90015531716
56741741291587   VICTOR                  TERRAZAS          TX     75030077412
56742614155997   DIANA                   GUTIERREZ         CA     49043946141
56743779991895   HOLLY                   BROWN             OK     90014637799
56744775561971   SANTIAGO                MARQUEZ           CA     90014177755
56744778591587   ADRIAN                  ESCOBAR           TX     90013097785
56745535931428   NEKEITA                 FULTON            MO     90013865359
56745951257157   FERNANDO                VARGAS            VA     90014819512
56746437561965   RANIA                   SHORIS            CA     90014904375
56749422755939   ELIA                    GALARZA           CA     90011444227
56749951257157   FERNANDO                VARGAS            VA     90014819512
56751224385928   BRANDON                 GREEN             KY     90013042243
56751425672442   JAMES                   BEASLEY           PA     90005494256
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56752786251348   ROGER          PIERCE                     OH     66035757862
56752837191895   ROSALVA        CORTES                     OK     21086058371
56754944572442   LUTHER         LEE                        PA     51080089445
56756945885928   BETH           GACHUKI                    KY     67088199458
56756956455997   JEANNETTE      ZAVALA                     CA     49018929564
56757365684329   MATTHEW        HOLLAND                    SC     90011893656
56757965755997   FIDEL          VASQUEZ                    CA     90013939657
56758265151348   BRIAN          RILEY                      OH     90011052651
56759376757157   TORKORNOO      & ASSOCIATES               VA     81002993767
56761495391587   JAVIER         TORRES                     TX     90013084953
56761881122925   DONALD         LOOD                       GA     90014218811
56764337155939   VICTORIA       JOHNS                      CA     49092413371
56766498591587   JOSE           ORNELAS                    TX     90005424985
56768525355939   FRANCISO       LOPEZ                      CA     90012355253
56769996855939   PATRICIA       MONTOYA                    CA     90012939968
56771229551348   KYLE           SMITH                      KY     90011602295
56771429891895   JOSEHUMBERTO   DELGADO                    OK     90014034298
56772694861971   LISA           BERMUDEZ                   CA     90014416948
56782959461965   CARSON         MARRIES                    CA     90009209594
56785536651348   ANDREA         MARSHALL                   KY     90009605366
56786327191895   TERESA         WILLIAMS                   OK     21057113271
56786714555939   JOSEPH         CALZADO                    CA     90014727145
56789141291525   JESUS          DEL VAL                    TX     90003181412
56792752855997   ZANDRA         COSTA                      CA     90014047528
56793548461971   REGGIE         WILLIAMS                   CA     46036835484
56795437891535   BRENDA         INZURRIAGA                 TX     90011634378
56795696891587   BRIANA         DELGADO                    TX     90009506968
56796884685928   STEVEN         WIMSATT                    KY     90015078846
56798214455997   DINORA         LOPEZ                      CA     90015042144
56799254891587   JESSICA        BARAJAS                    TX     90012952548
56814139155939   JOSE           CEJA ALVAREZ               CA     49037491391
56816943857157   CONNIE         WASHINGTON                 VA     90015379438
56822818555997   JOSE           GARCIA                     CA     90013338185
56823769591895   ROSA           FLORES                     OK     21078107695
56824688433696   KUBWAYO        GERVAIS                    NC     12017066884
56824979385928   ANGEL          AGUIRRE                    KY     90006509793
56826182555997   ROLANDO        ROMUALDO                   CA     90013941825
56827847157157   BROOKER        TAYLOR JR                  VA     81088288471
56828492561971   ELIZABETH      JOHNSTON                   CA     90010754925
56832245961965   ASSEEL         SALIH                      CA     90011502459
56833432385928   AMBER          DENNIS                     KY     90000794323
56834679185839   JOERG          VOLLNER                    CA     90006666791
56835189957127   BARTOLO        VASQUEZ ORTEGA             VA     90009271899
56837553891587   VICENTE        CRUZ                       TX     90005145538
56838682661971   MICHAEL        SPANN                      CA     90003846826
56839142861965   TRACIE         RODGERS                    CA     90012431428
56839182721696   TIFFANY        FORD                       OH     90014711827
56839979991587   MARISELA       MARINES                    TX     90002089799
56843442955997   NATALY         SANDOVAL                   CA     90014604429
56843913591895   SHARON         PHILLIPS                   OK     90013789135
56844986491895   CIERA          PARRISH                    OK     90011049864
56847469257157   JOSE           VARGAS                     VA     90010024692
56849899685983   BRANDON        LEWIS                      KY     90008198996
56849917761971   CAROLINA       GALVAN                     CA     90012989177
56851569884329   TIGRA IYESHA   ZEIGLER                    SC     90012835698
56852269555939   SAMANTHA       FLORES                     CA     90009792695
56852836361986   PORFIRIO       ELVIRA                     CA     46096668363
56854846861965   BRAYDEN        DUZAN                      CA     90011698468
56854874257157   OLVIN          GARCIA                     VA     90001128742
56855152655997   LUIS           SANCHEZ                    CA     90011971526
56856595191587   XAVIER         PLASENCIA                  TX     75075245951
56858262761965   JESUS          VACA                       CA     90004342627
56861331633645   TIFFANY        GOMES                      NC     90009293316
56861689133699   MELODY         HAIRSTON                   NC     90000316891
56861943431428   CATHI          BRANNON                    MO     90011779434
56864378851348   SHAE           LINDER                     OH     90010993788
56864599161965   SHANE          MUNDA                      CA     90012685991
56865755151348   NATASHA        ALLEN                      OH     90003247551
56866111761971   SALWAN         MALEKO                     CA     46075721117
56866949661998   FRED           GOMPE                      CA     46003229496
56869219155939   JUAN           ZUNIGA                     CA     90015162191
56869699791895   JOSE           MARTINEZ                   OK     90013836997
56871331155997   LYNDE          CHARLESTON                 CA     49085743311
56871462191587   DAVID          CARRASCO                   TX     90013784621
56876319185928   GARY           LILLY                      KY     67003983191
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56876599372442   DELPHIA      MILLS                        PA     51049405993
56876853733645   AKEEM        HARDEN                       NC     90014788537
56878166491587   MARIA        HERNANDEZ                    TX     90014461664
56878483761971   LAURIE       PEVETO                       CA     90010904837
56885521961965   ESTHER       MELGAR                       CA     90013235219
56885861455939   SABRINA      JIMENEZ                      CA     90010008614
56886913185928   ELIZABETH    EVANS                        KY     90015139131
56887229791895   CHELSEA      MARSH                        OK     21046722297
56888538851348   ANTHONY      WILKERSON                    OH     90005505388
56889967671922   LINDA        OLGUIN                       CO     90008159676
56891763491587   OLIVIA       PINEDA                       TX     75053507634
56894441351348   SHON         ADDIS                        OH     90006474413
56895337997125   JESUS        GUTIERREZ                    OR     44559923379
56897144385928   SERGEI       SARGAEV                      KY     90014061443
56897581661971   LORIA        CHANNELL                     CA     90013365816
56898641633699   TIA          DALTON                       NC     90011806416
56899618684357   AMELIA       PORTER                       SC     14507936186
56911663457157   LUKE         ENGELKING                    VA     90008266634
56912523855939   CRISTINA     TORRES                       CA     90013965238
56916915841221   MIK          JHONSON                      PA     90015339158
56917845691587   YOLANDA      TORRE                        TX     90008188456
56918925184346   TATEYANNA    JACKSON                      SC     90015519251
56921181833674   BRANDI       POPE                         NC     90006231818
56921465184357   TASHA        SCANTLING                    SC     14506144651
56923982457157   MONIQUE      MOSLEY                       VA     81002879824
56924593857157   GUSTAVO      GONZALES                     VA     81069255938
56924844151348   ROBERT       LEDBETTER                    OH     90005998441
56925569284357   COTASHA      WASHINGTON                   SC     90005775692
56925945891895   TEQUILA      FRANKLIN                     OK     90014759458
56925949861975   ERICA        RIOS                         CA     90011849498
56926129761965   JACQULYN     GAITER                       CA     90010661297
56926548291968   BRIDGET      ARRINGTON                    NC     90015365482
56927578661965   JOSE         DELACRUZ                     CA     46091655786
56928983861971   GERARDO      CAMACHO                      CA     90014329838
56928997972442   RICHARD      GRANT                        PA     90006549979
56929921891895   JAIME        RODRIGUEZ                    OK     21065619218
56931218231428   AYESHA       GORDON                       MO     90009692182
56931593133696   INDIA        NELSON                       NC     90010715931
56931822961956   MARIA        RUIZ                         CA     90009448229
56932122391895   CHARLES      OATES                        OK     90010971223
56932718185928   CASSANDRA    MCCARTY                      KY     90002487181
56934257957157   GORDON       ANKOMAH                      VA     81067772579
56934953455939   ANGEL        BRUNE                        CA     90004749534
56935464661965   SALVADOR     ZAPIEN                       CA     90009894646
56937871161971   SASHA        JONES                        CA     90013298711
56939399831429   KAREN        THOMPSON                     MO     27559513998
56943766651348   OLABISI      FAULKNER                     OH     90012777666
56944472251348   JOHN         MEADOWS                      OH     66035514722
56945558655997   LARRY        FLORES                       CA     49082015586
56945695191587   SYLVIA       MARTINEZ                     TX     75078086951
56947334361965   JORDAN       WILSON                       CA     90011133343
56947785451348   JEFF         HOLT                         KY     90014977854
56951223185928   HUGO         ESCOBEDO                     KY     90004232231
56952782684357   KATIE        BOGARDUS                     SC     90013687826
56952793533699   JONETTA      HAWKINS                      NC     12095367935
56953426285928   GARY         BARR                         KY     90014944262
56953428457157   IVIE         MEDRANO                      VA     90013214284
56954539761965   MARICELA     RICO TAMAYO                  CA     90014895397
56955165461976   ARTEMIO      TRUJILLO                     CA     90006721654
56956141955939   ADAM         YOCKEY                       CA     90011571419
56957212691587   GUS          HADDAD                       TX     90006622126
56959588533699   TECARRA      BYRD                         NC     90007985885
56959824851348   CHARLES      ALLEN                        OH     90015118248
56959875561965   SHERI        SANCHEZ                      CA     90013268755
56962893651348   MIKE         ROYSE                        OH     66040648936
56965363355939   BLANCA       JIMENEZ                      CA     49070313633
56965732291587   SANDRA       GARZA                        TX     75026407322
56966635991587   ANABEL       ENRIQUEZ                     TX     75023716359
56967121485928   PRISHA       GREEN                        KY     90014071214
56967522551348   LARRY        EDWARDS                      OH     66081925225
56968312151348   KIMBERLY     JENKINS                      OH     90009843121
56969539791535   LISA         MARTINEZ                     TX     75038735397
56972486385928   NICORA       DAVIS                        KY     90014074863
56973938131428   RICARDO      TORRES                       MO     90006789381
56975124757157   TAHRIE       BREVARD                      VA     90007931247
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56975264991587   YADIRA       CHAIDEZ                      TX     90012042649
56977368491895   MARIA        GARCIA                       OK     90007093684
56978942551351   JAMES        MAGEE                        OH     90001199425
56979997951348   JULIE        VAZQUEZ                      OH     66040399979
56981412171942   CHRISTINE    GONZALES                     CO     90005904121
56982282991587   ALEJANDRO    CARBAJAL                     TX     75019922829
56984144331665   BRAD         KUMPF                        KS     90014251443
56984678933645   LEROY        COOPER                       NC     90008786789
56985738791587   ROBERTO      VALENZUELA                   TX     90014057387
56985988985928   BEN          SPEIGLE                      KY     90006599889
56986428791587   YVETTE       VILCHIS                      TX     90010004287
56986636351348   ANDREA       CANNAVINO                    OH     90014886363
56987638961971   TONY         CONNERS                      CA     46013766389
56988531991895   PENNY        STANLEY                      OK     90002955319
56989537761971   CRISTINA     REYES                        CA     90013235377
56991224661971   ANA          REYES                        CA     90013222246
56991433757157   LISA         TERRANCE                     VA     90006384337
56991466961965   AMY          HAMES                        CA     90010944669
56992277255997   ISABLE       CHILDS                       CA     49084382772
56993329161965   MARCOS       RODARTE                      CA     90004363291
56993435455997   FILEMON      CALVILLO                     CA     90012644354
56996359457157   JACKELIN     SEGURA                       VA     90013663594
56996635761967   JOSEPH       ARANJO                       CA     90013556357
56996847833696   ALICE        CLAPP                        NC     90006828478
56997147972442   JEROME       DEAN                         PA     90001421479
56997573955939   GLORIA       LUENGAS                      CA     90014695739
56997715561965   SOPHIA       DYJAK                        CA     90008607155
56998158377533   GONZALO      VALENCIA                     NV     43012721583
56999147972442   JEROME       DEAN                         PA     90001421479
56999642991391   PAULA        ROSAS                        KS     90015106429
57111183655997   DANIEL       RODRIGUEZ                    CA     49080161836
57112244755997   JAMIE        DAVIS                        CA     90006392447
57112777291895   THOMAS       LANEY                        OK     21091137772
57114675955997   DEBORAH      BLYTHE                       CA     49098056759
57116333661965   SYLVIA       MILLER                       CA     90003493336
57116543633699   KENDALL      JOHNSON                      NC     90004695436
57119398355997   GENOVEVA     SANCHEZ                      CA     90014893983
57121672191552   ANTONIENTA   LUCAS                        TX     75077806721
57121811933699   MELODY       COUTHEN                      NC     12010408119
57124157791535   MIGUEL       LUNA                         TX     90013681577
57124959651348   VALENTINA    FOLEY                        OH     90014879596
57126458531426   ANGELA       PRETE                        MO     90007934585
57126515351348   MELINDA      BECK                         OH     90008565153
57128376561965   ALESHA       FLORES                       CA     46069923765
57128755791587   CARLOS       MERCADO JR.                  TX     75079647557
57129141151348   KISHA        PRYOR                        OH     90010481411
57132825555997   CAROL ANN    AGUERO                       CA     90014718255
57134422291587   GRACIELA     ESTRADA                      TX     90008994222
57134854151348   MARJORIE     WILLIAMS                     OH     90014888541
57136992491587   EVA          NAVARRO                      TX     75082489924
57137363461965   D EE         HUBBLE                       CA     90013623634
57139615154152   JOSE         VICTORIANO PELAYO            OR     47037566151
57141359291982   DONALD       BRIGGS                       NC     90008953592
57143828291856   AMANDA       CORTEZ                       OK     90015018282
57143858751348   JULIE        STEPHENSON                   OH     90014888587
57144492151322   ED           LANGDON                      OH     66082004921
57144495755997   ORALIA       MAYA                         CA     49001084957
57147929391587   ALEJANDRO    GARCIA                       TX     75002699293
57148339431428   CHARLES      JOHNSON                      MO     27514933394
57148517355997   RAMON        FLORES                       CA     90014885173
57151497547928   KENNETH      MASSEY                       AR     90011824975
57151569851348   ANTHONY      DOAKS                        OH     90005475698
57153652455997   DANIEL       VALDEZ                       CA     49048896524
57153748361965   VITALII      PUKAS                        CA     90009297483
57154667254152   ANGELICA     GONZALEZ                     OR     90015216672
57155619851383   CELESTINE    STRAYHORN                    OH     66085526198
57156414651348   RICHARD      KALB                         OH     90014904146
57156971391587   CLAUDIA      INOJOSA                      TX     90011239713
57158169454152   STEVEN       BRUCE                        OR     90006571694
57158362361971   ROBERT       MICHAEL                      CA     90003923623
57159835361965   CORIN        JONES                        CA     90008518353
57159928551348   DOMINICK     FINNELL                      OH     90014209285
57161999333696   DEVIN        HOLLAND                      NC     90006429993
57162889755997   MARTHA       RAMIREZ                      CA     49025068897
57164785991895   DEBBIE       DIXON                        OK     21043947859
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57165589161971   TINISHIA     OWENS                        CA     46095755891
57165822691587   MARIA        MORENO                       TX     90003338226
57166624655997   LUZ MARIA    DAVILA                       CA     90011486246
57166692261965   ELVIA        MORENO                       CA     90006316922
57167922231429   D            SCHEITER                     MO     27505359222
57168663633699   JEFFREY      NIVENS                       NC     12016086636
57169241151354   LONNIE       GRAY                         OH     90004322411
57172156791587   KARLA        GUERRERO                     TX     75015771567
57175632451348   KIANNA       HILSON                       OH     66009886324
57176213291587   RUDY         HERNANDEZ                    TX     75012302132
57177414651348   RICHARD      KALB                         OH     90014904146
57177439957157   JAMES        COX                          VA     81094294399
57178768291587   MARTIN       TRIANA                       TX     75031067682
57182974191587   MIRIAM       TREJO                        TX     90011359741
57184176591535   EDGAR        VILLA                        TX     90002621765
57185817133677   BEVERLY      BREWER                       NC     90015168171
57188137855997   JULIUS       TORRES                       CA     90010221378
57191412257157   EBONY        SEWARD                       VA     90002864122
57192366891587   VALDEZ       JENNIFER                     TX     90010003668
57192986957157   JUSTIN       MOWRY                        VA     81094329869
57194439491895   JAMES        AUTEN                        OK     90012724394
57197729161971   ALLEN        ZIEBER                       CA     90009157291
57212574291895   BRIAN        ENGLISH                      OK     90002725742
57213336261971   KEVIN        KITCHEN                      CA     90014813362
57215466661971   DESTINY      THOMAS                       CA     46095994666
57216337155997   LORA         GRIGGS                       CA     49008123371
57216941291587   MARGIE       ALARCON                      TX     75072169412
57222854225666   ALBERTO      SIXTO                        AL     90015388542
57224798561971   JOHN         REYNARD                      CA     90013437985
57226864431462   JEANETTE     BREW                         MO     90008858644
57227215391895   LAURA        STRONG                       OK     90004442153
57231587751348   REDDEN       GARFIELD                     OH     90005835877
57233126191587   ROSY         CONTRERAS                    TX     90013881261
57233145655997   YVONNE       GONZALEZ                     CA     90014341456
57233831151348   JONATHON     WILLIAMS                     OH     90007568311
57235428961965   CYNTHIA      RENTERIA                     CA     46083454289
57236385251348   MICHAEL      NORFLEET                     OH     90005073852
57237652191895   ASHLEY       GREEN                        OK     90011096521
57238551633699   KARENA       MOBLEY                       NC     90010965516
57241518861965   GRISELDA     MORALES                      CA     46060485188
57243246691893   KAMEISHA     HAWK                         OK     21014602466
57243658361971   MARIANA      HIGUERA                      CA     90013056583
57245147591587   ALFIA        CHACON                       TX     90009541475
57246541455997   ANGELICA     VITAL                        CA     90005835414
57247118691947   ALLAN        JOYNER                       NC     90013941186
57247441254152   NANCY        STARKS                       OR     90011834412
57247776461971   MAEEK        BUTRUS                       CA     90008077764
57249635361971   JACINTO      HERNANDEZ                    CA     90014846353
57249976561971   JOEL         CRISOSTOMO                   CA     90005339765
57251248791895   CIIN         CING                         OK     90013652487
57251937155997   GREGORY      PENA                         CA     49043549371
57253731433699   JOYCE        MILLER                       NC     90001547314
57254998391587   BARBARA      DOMINGUEZ                    TX     90011539983
57255776461971   MAEEK        BUTRUS                       CA     90008077764
57259742161965   SULIEMAN     ALI                          CA     46004817421
57259775591895   CLAUDETT     BROWN                        OK     21014247755
57262288191895   JOHNSON      JANETTE                      OK     90014402881
57263552455997   NOE          CATALAN                      CA     90012935524
57264479461971   GREG         RUFFIN                       CA     46037014794
57268998151348   LUIS         TOMAS                        OH     90014909981
57271145855997   BRANDON      MCKAY                        CA     49009241458
57271268254152   MICHAEL      BAIRD                        OR     90013242682
57272235891587   MARISOL      CORTINAS                     TX     75098322358
57273482891524   ERIKA        GOMEZ                        TX     90015094828
57274756161965   KIMBERLY     GONZALEZ                     CA     90010547561
57274965591895   NICHOLAS     SCHWARTZ                     OK     90011149655
57275722361965   MARIA        RODRIGUEZ                    CA     90002447223
57275896555997   ZULEYMA      DAZA                         CA     90012688965
57276869661971   FRANK        NEESE                        CA     90012488696
57281592291895   CAROLETTA    AVRIETT                      OK     21084705922
57282513261971   PHILLIP      KEEHAN                       CA     90001605132
57282761854152   ROBERT III   HOWELL                       OR     90004337618
57282781931429   BETH         REIFSTECK                    MO     90004747819
57288384791895   CALEB        HUNT                         OK     90013233847
57289544961971   SYLVIA       CASTANEDA                    CA     90012325449
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57289938991856   ELOISA            PINA                    OK     90011539389
57296314533696   CIERRA            POTTS                   NC     12090773145
57296761451348   INEQUA            HARRIS                  OH     66049427614
57297444336165   SAMUEL            HERNANDEZ               TX     90010234443
57297819591999   TARQUEENIA        WILKERSON               NC     90010918195
57298842151348   CHRIS             WASHINGTON              OH     90010688421
57299333857157   JOSE              VILLALTA                VA     81064243338
57299845391895   GERMAN            VAZQUEZ                 OK     90010968453
57299976991587   EDGAR             CHAVEZ                  TX     90011359769
57311572491895   KANDIS            BLAIR                   OK     90010195724
57313597691895   MICHAEL           CAMPBELL                OK     90012075976
57314117791587   RAQUEL            HERNANDEZ               NM     75015241177
57319427961971   TIMOTHY           DEVON                   CA     90013334279
57322272654152   JASON             STOUDER                 OR     90011842726
57322641433696   KIONNA            EVANS                   NC     12061936414
57322758551586   AMANDA            SERGENT                 IA     90015247585
57323381931429   BRITTANY          OATS                    MO     27529113819
57328359561965   JURY              BYRD                    CA     46056453595
57331244761971   TED               APOSTOLIDIS             CA     90010742447
57331472291587   ESDRAS            RUIZ                    TX     90011154722
57332576655997   JESUS             CARRILLO                CA     90014615766
57338827161965   YOLANDA           MEJIA                   CA     90012038271
57339933681631   VICTORIA          VAUGHT                  MO     90002239336
57342159254152   TISA              MILLER                  OR     90000581592
57342575261971   BILL              CARDINAL                CA     90012255752
57343831231428   JANICE            BERNARD                 MO     27508608312
57344299855997   MARISA            RODRIGUEZ               CA     90013982998
57344439391895   ALICE             BERRY                   OK     21005964393
57344579661965   NAJEEB            ARABO                   CA     90011855796
57344633533696   LATORIA           CHAVIS                  NC     12004656335
57346572261965   YAREN             PLAYAS                  CA     90014045722
57347511191587   KARLA             RIOS                    TX     90002075111
57348893191895   STEVEN            EASTHAM                 OK     90014358931
57351992757157   VICKI             MCCORMICK               VA     81085939927
57352682855997   MIGUEL            ZEPEDA                  CA     90010776828
57354868851348   CHANDRA           MILLS                   KY     90014918688
57356627651348   JACOB             SHEPHERD                OH     90013326276
57356787331428   AMY               BRANAM                  MO     90006167873
57356793891552   ERIK              GARCIA                  TX     90014427938
57357386891895   JASMIN            PETE                    OK     90013233868
57359432261965   TIM               WADE                    CA     90014004322
57359897991587   ROGELIO           TARANGO                 TX     90005728979
57362392141224   VANESSA           SECRIST                 PA     51095913921
57362427685873   WENDY             CHMIELNIK               CA     46062444276
57363353291587   DAVID             MARQUEZ                 TX     90004843532
57364552671942   JUSTIN            OWENS                   CO     90009585526
57368662451348   JANAE             JACKSON                 OH     90001336624
57371143591587   ERICA             PUGA                    TX     90012301435
57372274254152   ANGELA            CLARK                   OR     47033572742
57373278691895   DONESHA           DAVIS                   OK     90010372786
57373912491587   LUISA             FLORES                  TX     90015299124
57374558231429   AMBER             COBB                    MO     90001895582
57375834291895   PALLOP            CHIVALUKSNA             OK     90012948342
57377139931429   CURTIS            MUSE SR                 MO     90002691399
57379165291895   ELVA              HERNANDEZ               OK     90013951652
57379837931431   CODY              AARON                   MO     27593518379
57382149191862   SUSAN             MARTIN                  OK     90012181491
57382216961971   NANCY             HERRERA                 CA     90012492169
57382931361965   PAYGO             IVR ACTIVATION          CA     90014969313
57383234833699   MARIA             GARIBO                  NC     90007822348
57384183154152   DANIELLE          LOVINGER                OR     47015231831
57386187661971   FRANCISCO         OLVERA                  CA     90006341876
57387553455997   ALEXA             LEON                    CA     90015345534
57388344454152   SHANA             G WRIGHT                OR     47018013444
57393927851348   MARKUS            SULLEN                  OH     90014919278
57396979155997   PABLO             MANZO                   CA     49000359791
57397819491895   THOMAS            DOYLE                   OK     90014888194
57398737761971   RAYMON            RAMIREZ                 CA     90009937377
57398863772482   WOODROW           PRENTICE                PA     90002158637
57411485391587   SUSANA Y ANDRES   AREVALO                 TX     90010854853
57411615851336   JOYCE             GAITHER                 OH     66035556158
57412399661998   TRINIDAD          HERNANDEZ               CA     90008423996
57412762431429   ANDREA            GULLY                   MO     90013237624
57413125261971   TAINA             ROZIER                  CA     90008541252
57413514391535   JISSA             RAMIREZ                 TX     90005435143
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57413775191587   RUTH              ZEPEDA                  TX     90001307751
57414829654152   MATTHIAS          CRANDALL                OR     90002748296
57416882291587   MARGIE            HERNANDEZ               TX     75052378822
57418589391587   VICTOR            ALVARADO                TX     90014145893
57422218281683   MEKEYA            WILSON                  MO     29026152182
57422597691895   MICHAEL           CAMPBELL                OK     90012075976
57428344855997   HAMILTON          HYATT                   CA     90002463448
57429141554152   SAMUEL            GIBSON                  OR     90006401415
57433173791895   SUMMER            MCCLELLAN               OK     21064521737
57434148261971   TOMI              STIDGER                 CA     90015531482
57444869561956   DANIEL            CONTRERAS               CA     90002888695
57446147551348   MAURICIO          BERRIOS                 OH     66083651475
57449194691895   KEANDRE           WALTON                  OK     90013951946
57451648391587   MA                ALMARAZ                 TX     90012036483
57452594781688   JOY               JOHNSTON                MO     90009495947
57453467655997   BELEN             CHAVEZ                  CA     49035674676
57454219491587   BRISSA            CASTELLANOS             TX     90012222194
57455914351348   CASEY             MINTON                  OH     90001889143
57456286157379   SCHLAN            MATTOX                  MO     90015352861
57458152755997   ROMAN             AVILA                   CA     49092731527
57459346861965   VICTOR            BRAVO                   CA     90012963468
57461193691895   LAWANA            OSBORNE                 OK     90001621936
57463188155997   EDUARDO           TORRES                  CA     49060051881
57463861391587   DONNA             COGANN                  TX     75016708613
57465425151348   JESSICA           ASBURY                  OH     90003364251
57466154933661   DESIREE           SANDERS                 NC     90006611549
57467182661931   BEATRIZ           AVILA                   CA     90003331826
57468194791895   LATOYA JUANETTE   MCVAY                   OK     90013951947
57468591655997   SUZANNE           MONTOYA                 CA     90009815916
57471761651348   HEATHER           ROBERTS                 OH     66089667616
57476638436165   SHANIQUA          WILLIAMS                TX     90013876384
57482278854152   ANDREA            PETLEY                  OR     47030432788
57483823354152   NURAN             ARAS                    OR     90000838233
57484684491922   CIERA             PHELMETTA               NC     90008486844
57486495931429   ALI               WILLIAMS                MO     27596124959
57488938181265   DESHAUNAT         ROBB                    OH     66023349381
57489866291576   BRENDA            SOLORZANO               TX     90004458662
57497584857157   DAVID             MENDEGILA               VA     81080505848
57497952591587   MARTHA            SANCHEZ                 TX     90014409525
57499979861965   DIEGO             CARRASCO                CA     46000469798
57511692377574   SIDNEY            BROWN                   NV     43080756923
57511912951348   CARLA             CLIETT                  OH     90006339129
57512252161971   YOBANY            ALTAMIRANO              CA     90013362521
57512796333699   VICTORIA          HOOSIER                 NC     12010227963
57513398851348   GEORGE            HARMON                  OH     66052153988
57517529655997   CANDICE           SCHWARTZ                CA     90004275296
57518849561965   ANDRES            ROSSAINZ                CA     90012858495
57519258831428   GARY              BURGESS                 MO     27598872588
57519489791895   KITTY             EZELL                   OK     21020194897
57519717955935   DALIA             MONTIVEROS              CA     90014027179
57522326241244   GEORGEANN         PISTELLA                PA     90013653262
57524957185947   DANIEL            MARESCA                 KY     90008819571
57525214151336   JANICE            MITCHELL                OH     90010672141
57525935391895   DONNA             GRIFFITH                OK     90014739353
57534662691895   LIVIER            HERNANDEZ               OK     90008826626
57534735161965   OBDULIA           MAGDALENO               CA     90006757351
57534926261971   YOUNUS            HANNA                   CA     90008109262
57541919154152   DAVID             LOCKHART                OR     90009329191
57542351655997   MAYANIN           VALLE SALAS             CA     90013453516
57543379355997   HENRY             WIENS                   CA     90014413793
57544734191895   SHANNON           MOSS                    OK     21002657341
57546874855997   JOSHUA            REYES                   CA     90011478748
57548342451348   ANGELA            PERDUE                  OH     66028333424
57549265691587   CARLOS            MIJARES                 TX     90013832656
57549863772482   WOODROW           PRENTICE                PA     90002158637
57552875181621   ANTHONY           STOWELL                 MO     90012798751
57553427355997   ALEJANDRA         GIO                     CA     90014894273
57554458466186   SONYA             GOMEZ                   CA     90012044584
57555157361965   SAEED             WAAD                    CA     90013801573
57555522291895   CONNIE            CRABB                   OK     90005225222
57555611951348   NICOLE            MARSHALL                OH     66075286119
57555918961971   JACQUELIN         OREA                    CA     90000219189
57556126633699   PATRICIA          MARTIN                  NC     90006771266
57557494131428   DEVONTE           FAIR                    MO     27508614941
57557963761971   YANNICK           NGAMUYEKA               CA     46032689637
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57558272631429   TONYA                 MULL                MO     90001592726
57562445161965   KIMBERELY             BRADEEN             CA     90014854451
57562476155997   ALEXIS                MOLINA              CA     49095124761
57562694157157   MELANIE               BUSHROD             VA     81001686941
57565941271671   PAMELA                BROWN               NC     52038099412
57566192261965   GRETCHEN              REGENAUER           CA     46070331922
57566238391895   SHAWN                 WILLIAMS            OK     21088592383
57567357461971   RUSSEL                ALEXANDER           CA     90012743574
57568378491587   FABIOLA               RODRIGUEZ           TX     90004893784
57569199461971   SHANNON               PINKHAM             CA     90014631994
57573433857157   AUGUSTA               M-BANGURA           VA     81001704338
57574439431428   RACHEL                BIECK               MO     27542004394
57576173461965   ANGELA                ANGELETTA           CA     90011111734
57577994151348   STEPHANIE             JANSEN              OH     90010499941
57584587255997   HUGO                  MARTINEZ            CA     90000505872
57586843791895   EDWARDS               WILLIAMS III        OK     90011698437
57586862191535   EUNICE                ROMERO              TX     90012528621
57593729655997   JULIO                 SANCHEZ             CA     49000567296
57593839951348   MICHELLE              HUDSON              OH     90011348399
57595318655997   FREDDY                CERVANTES           CA     49006323186
57599287855997   ALBERTO               CHAIDEZ             CA     49095422878
57611383491895   MARGIE                BRAY                OK     21092223834
57611388686443   KIRSTON               EPPS                SC     90014163886
57611569391895   MARTEEZA              STIGGER             OK     90012975693
57612363991895   KIMBERLY              MAYES               OK     21091173639
57614285891895   STEPHANIE             BRYANT              OK     90013952858
57615292861965   JOANNE                YARD                CA     90013132928
57615588351348   JAMES                 WILLIAMS            OH     90002915883
57618454691895   JOSE                  GONZALEZ            OK     21047654546
57619244261971   RAYMOND               HENNECART           CA     46098642442
57622467491587   ADRIANA               DIAZ                TX     90013894674
57622543951348   TRECIA                ORTIZ               OH     66003825439
57623362854152   STEPHEN               EASTMAN             OR     90007443628
57625822755997   JOSIE                 CARRILLO            CA     90014758227
57632641861971   LITH                  QARYAQOS            CA     90010686418
57633421561965   MANUEL                SOTO                CA     90003094215
57635414533696   KEENAN                JONES               NC     90006654145
57638212555997   EVA                   DE LA CRUZ          CA     49071952125
57638356391856   LAKISHA               CYRUS               OK     90009173563
57638629431444   SHANE                 MCCOMISH            MO     27503376294
57639121242335   CHELSEA               ERNST               GA     90010971212
57639319642335   CHELSEA               ERNST               GA     90013583196
57639597355997   JORGE                 LOPEZ               CA     90014255973
57639879651348   JOELLE                GILBERT             OH     90014938796
57641674555997   SARA                  HERNANDEZ           CA     90012946745
57643445161965   KIMBERELY             BRADEEN             CA     90014854451
57644395955997   BERTHA                VARGAS              CA     90013183959
57645254961965   SARAH                 HENRY               CA     90014392549
57645852661965   NATALIE               WOODS               CA     90012848526
57647316391895   DANA                  RILEY               OK     90014823163
57647398461965   MARY                  OKELLO              CA     90006063984
57648297791895   JANET                 FEELEY              OK     21071622977
57648838661971   KELLI                 HOLBROOK            CA     46012728386
57649175591895   CAROL                 WILIAMS             OK     90009241755
57649775551383   NUVIA                 YANEZ               OH     90004417755
57649892757157   JOSE                  PORTILLO            VA     81082658927
57651487191587   MARYSOL               MOLINA              TX     90013894871
57651984784357   DAMIEN                COHEN               SC     90010479847
57655256151348   LUCIO                 TORRES              OH     90010762561
57657899325428   TERESA                JOHNSON             GA     90001988993
57661261697164   MIRIAM                CHAN                OR     44579492616
57661635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH          CA     90015116353
57661816861971   JITA                  JONES               CA     90005368168
57662956691552   ADRIAN                AGUILAR             NM     75013679566
57666975755997   VICTOR                HERNANDEZ           CA     90006059757
57667125591587   SERGIO                RAMOS               TX     75015401255
57667924331428   MARIO                 SMITH               MO     27510689243
57667977833699   LUKE                  ROBERTSON           NC     90009169778
57668275355997   ESPERANZA             RIOS                CA     49059102753
57673492691587   ALEJANDRA             LOPEZ               TX     90013894926
57674997231429   ANNA                  SCHNEIDER           MO     90002129972
57676268855997   MARIA                 DALGADO             CA     90009242688
57676342991895   KIMBERLY              DOWNING             OK     21082653429
57679316161965   YONNATAN              YOHANNES            CA     46024243161
57684844151348   DALE                  PHILLIPS            OH     90012448441
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57685115261971   STEVEN       MANN                         CA     90004331152
57685119791895   IRAN         CARRASCO ORTIZ               OK     90010921197
57687156491587   ILUSION      MONCADA                      TX     75076381564
57687969257123   EMILIO       RODRIGUEZ                    VA     90009879692
57691195271942   JOSEPH       COOK                         CO     90010801952
57691349955997   REGINA       JACKSON                      CA     90014513499
57692666691587   LAURA        BRYANT                       TX     90009716666
57692975291895   JENNIFER     LINDSEY                      OK     21097949752
57693394651348   ASHLEY       CLEMMONS                     OH     90010693946
57693424355997   VERNON       CHILDERS                     CA     90001404243
57693773557153   ODIN         LOPEZ                        VA     81025027735
57694854155997   AHMED        ALHOMEDI                     CA     90013008541
57697238293782   TAMMY        VAUGHAN                      OH     90012382382
57697712291587   CYNTHIA      RAMIREZ                      TX     75092957122
57698626591587   BEATRIZ      RODRIGUEZ                    TX     90006666265
57699561161965   EVA          CHAVEZ                       CA     90003955611
57711693981265   RYAN         HOLLINGSWORTH                OH     90008676939
57712489591587   JOSEAH       MELENDEZ                     TX     90005274895
57713828261965   MARTHA       ROMERO                       CA     46079768282
57713888191587   AMABILIA     PAYEN                        TX     90012268881
57714962761971   JAVIER       CRUZ                         CA     90008999627
57721677191895   JENNIFER     WEARSTLER                    OK     90003786771
57721756257157   TESJAYJU     DAQNEW                       VA     90006587562
57724139155997   PEGGY        ASTON                        CA     49026871391
57729522161965   JESUS        PARRA                        CA     90011405221
57731545391587   MIKE         JIMENEZ                      TX     90013895453
57733736433696   HERBERT      PURCELL III                  NC     12092457364
57735448957157   REINA        RODRIGUEZ                    VA     81010454489
57736624161965   SHARON       KEMP                         CA     46094796241
57736627755997   ANGIE        MUNOZ                        CA     49032196277
57737375161971   CLEMENTE     SOLIS                        CA     46056753751
57738527191587   MARTIN       ROSALES                      TX     90013865271
57738635791587   MARTIN       ROSALES                      TX     90012166357
57741316161965   GEORGE       MILLSPAUGH                   CA     90008873161
57741719393782   EDWINA       SWANN                        OH     90008357193
57741968957157   ROSA         RAMIREZ                      VA     81011789689
57745675584852   FRANSISCO    ANDRADE                      NJ     90015216755
57748756351348   CESAR        VIRUET                       OH     90014957563
57751266161965   EVELYN       LINDGREN                     CA     90006942661
57751923191535   RUTH         RAMIREZ                      TX     90000859231
57751955261971   BRANDON      CONNER                       CA     90013219552
57752618784346   GEORGE       STOKES                       SC     90013876187
57753494791587   TERE         HERRERA                      NM     75025014947
57758111355997   LETICIA      HERNANDES                    CA     90012851113
57758544457131   JULLIANO     ALVARADO                     VA     90011465444
57758699861965   EMMILLEE     TEC                          CA     90013356998
57759688161971   SILVIA       QUEVEDO AVALOS               CA     90013516881
57759719393782   EDWINA       SWANN                        OH     90008357193
57759756791895   AMANDA       LONG                         OK     90013867567
57761235191576   JAIME        TREJO                        TX     90009572351
57761277855997   HUGO         FLORES                       CA     90013842778
57761888261965   ROBERT       CHARITY                      CA     90013208882
57762346891895   MANUEL       MONTOYA                      OK     90013953468
57763277191895   BETTY        DENNEY                       OK     90015092771
57763347291895   TOMMY        EDMUNDSON                    OK     90013953472
57764165291265   TARA         JONES                        GA     90009011652
57765393751348   ERICA        RUFFIN                       OH     66056053937
57765763991982   LEIGH        KHELIFI                      NC     17063837639
57766496857157   SAADAT       RANA                         VA     90013884968
57771182151348   COURTNEY     WAHOFF                       OH     90014961821
57771554155997   CELIA        RAMIREZ                      CA     49091875541
57775677151348   LATOYA       THOMPSON                     OH     90011426771
57775914391895   KEWANNA      THOMPSON                     OK     90012939143
57777887961971   RITA         JABBO                        CA     90014158879
57779541131429   ANTOINETTE   WASHINGTON                   MO     27555765411
57783883991587   BRIAN        HERRERA                      TX     90011208839
57785715655997   LAURA        MOSS                         CA     49085457156
57785834633699   ELEANOR      BRADY                        NC     12063268346
57785898731428   BRANDY       JOHNSON                      MO     27538508987
57788246485657   GIL          GARCIA                       NJ     90012662464
57789457791587   FRANCISCO    RUIZ-AGUILAR                 TX     75017894577
57791187161965   DANIEL       GUERRERO                     CA     90007141871
57794466991587   MARIA        CRUZ                         TX     75000694669
57795715655997   LAURA        MOSS                         CA     49085457156
57798159561971   KAELIN       HEDRICK                      CA     90010531595
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57798174355997   MATTHEW       CORONADO                    CA     90015211743
57798379641247   NICOLE        WILLIAM                     PA     90011303796
57798428663634   TONYA         WALKENHORST                 MO     90005834286
57813177433699   BECKY         SEDIG                       NC     12006581774
57815258531429   CINDY         MOORE                       MO     90006472585
57817571761971   BRENDEN       COCHRAN                     CA     90012575717
57818716984342   DENNIS        DOLKANI                     SC     90008057169
57822347561965   GIOVANNA      SOTO                        CA     90012043475
57825152451348   KEVIN         GREEN                       OH     90000981524
57826413291587   IRMA          LOPEZ                       TX     75088004132
57827956151348   JOHN          LYNCH                       OH     90010509561
57828174233699   NEANA         GLENN                       NC     12034731742
57828527761971   JESSELYN      SMITH                       CA     46030775277
57831237591895   MERLIN        VELAZQUEZ                   OK     90008872375
57835914251383   WILLIE        POMPEY                      OH     66089459142
57836123151348   AMANDA        REECE                       OH     90000511231
57836458161965   BUSHRA        DALLI                       CA     90010764581
57836521791323   ANDREA        BELL                        MO     90005485217
57837744861971   RONI          MAROOKI                     CA     46088787448
57843431661965   JESSICA       HERNANDEZ                   CA     90014844316
57847386391895   CHRISTOPHER   CHRONISTER                  OK     90013953863
57847767691895   IRIS          RUIZ                        OK     90012017676
57848732691587   JOSE A.       QUINTANA                    NM     90013927326
57851917891587   OSCAR         FLORES                      TX     90003859178
57853411161971   JASON         ENRIQUEZ                    CA     90011994111
57855113391587   CHARLES       EDWARDS                     TX     90010921133
57858429261971   ZINEB         FEHRI                       CA     90000854292
57862781691524   MICHELLE      FLORES                      TX     90012027816
57862941491881   ROCKY         BALLARD                     OK     90010389414
57863115261971   BASHAR        QANBAR                      CA     90009601152
57863535691895   GARVIS        COLLINS                     OK     90012835356
57865261191587   ZULEMA R      CONTRERAS                   TX     90002572611
57866795151383   ELIZABETH     MUSIC                       OH     90009517951
57867894151348   TODD          NICHOLAS                    OH     90014958941
57868894151348   TODD          NICHOLAS                    OH     90014958941
57872792761971   LAWRENCE      HAPP                        CA     90013447927
57873894151348   TODD          NICHOLAS                    OH     90014958941
57878156851329   TIFFANY       STEWART                     OH     90001681568
57878982451348   AMBER         CALVIN                      OH     90001959824
57878998151294   CATHERINE     HOTT                        PA     90011739981
57879759657157   AMUSCHETTE    BROOKS JR                   VA     81041147596
57882429191587   ANTONIO       REYES                       NM     75079814291
57883383357157   DUSTIN        CUTLIP                      VA     81003113833
57885472155997   JENNIFER      CORTEZ                      CA     90013204721
57886565955997   MARIA         JAURIQUI                    CA     90013915659
57889276155997   ALISON        BEAVERS                     CA     90014742761
57889688761965   JOHN          RWIYAZA                     CA     90013096887
57891694842335   CRISTOPHER    FIELDS                      GA     90003326948
57893837991587   STEPHANIE     SAENZ                       TX     90011858379
57893998151294   CATHERINE     HOTT                        PA     90011739981
57896343854152   TANYA         POWELL                      OR     90005683438
57896372651383   PATRICIA      TUBBS                       OH     90002093726
57897581461971   CYNTHIA       ESCOBAR                     CA     90000225814
57899856454152   NYDIA         ESCOBAR                     OR     47004938564
57911134254152   ROBERT        MCCAN                       OR     90012871342
57912333533699   SHARON        MCCRAE                      NC     12046893335
57912919661965   DIANE         SPAGNUOLO                   CA     90013389196
57913985591587   RUBEN         VALLES                      TX     90014019855
57914678961971   SANAA         JIBOO                       CA     90009006789
57918718557157   EDWIN         GARCIA                      VA     90000827185
57919782455997   ISMAEL        GUZMAN                      CA     90013517824
57923562891895   SHANNON       PERKINS                     OK     90010545628
57924912125154   JANE          BREWER                      AL     90011149121
57925469161965   TIM           BURNS                       CA     46088284691
57926678454152   JONIE         STINER                      OR     47049776784
57928433291895   VANESSA       STEVENSON                   OK     90013954332
57931356151348   ERIKA         JONES                       OH     90010513561
57931934591587   MCDANIEL      IRENE                       TX     90003029345
57932516155997   JUAN          ORTIZ                       CA     90014835161
57933962531443   JOHNSON       LARRY LEE                   MO     90007479625
57934147691587   VALERIA       ORTEGA                      TX     90010921476
57934743457157   RUDIDIA       NUNEZ                       VA     90002747434
57937797691895   LILA          OSCEOLA-HEARD               OK     21010897976
57938469577583   JOHN          WHITE                       NV     90012404695
57938857661965   LIZBETH       MORALES                     CA     90009978576
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57939539855997   AMANDA          VELASCO                   CA     90014385398
57941166261971   MANUEL          VUSILLOS                  CA     46032721662
57946319591535   MIGUEL          BONILLA                   TX     90007973195
57946371161949   ERIKA           NEGRETE-SUBIAS            CA     46086743711
57946384891895   LEO             CALLAHAN                  OK     90011753848
57947457961965   MEKO            BOWDEN                    CA     90011794579
57948385391587   CRYSTAL         QUINTERNO                 TX     90014823853
57949247555997   ERIC            REY                       CA     90012782475
57949985661941   JOANNE D        PEAKE                     CA     90004329856
57951433584784   ROY             ROSALES                   IL     90012494335
57955581251348   ROBERT          ROBINSON                  OH     90014555812
57955624561965   HODGES          LUCAS                     CA     46088196245
57956968661971   LUCKY           ANGAYEN                   CA     90013429686
57957151591587   GIOVANNI        BLANCO                    TX     90010921515
57958848951348   TONYA           MCCLURE                   OH     90014968489
57958958697164   FLAVIANA        TELLO-ARZOLA              OR     90012699586
57963368751348   DONALD          BACHMAN                   OH     66058463687
57964953951348   WILLIE          DANIELS                   KY     66042609539
57965387361965   ERIKA           HERNANDEZ                 CA     90007733873
57965643451354   AMY             GRUBB                     OH     90013636434
57969476655997   ROSA            MAPICORO                  CA     90009874766
57971226891587   LUZ             CALANCHE                  TX     90001652268
57971673757123   ALBERTO         SALGADO                   VA     81084586737
57973462784852   LASZLONE        KISS                      NJ     90014374627
57974379761965   MICHELLE        BENJAMIN                  CA     46082313797
57976763751331   ISIDRA          JIMENEZ                   OH     90001037637
57978337161971   MARIA           SANTOS                    CA     90003053371
57978539191895   AMIE            RADABAUGH                 OK     90009845391
57981438991587   TABETHA         TREME                     TX     90010954389
57983764771956   JEFFREY         MAYFIELD                  CO     90013377647
57984152855997   YESSICA         BAUTISTA                  CA     90013761528
57985121855997   IRMA            FERNANDEZ                 CA     90015191218
57985371861971   SIMER           JERJIS                    CA     90000813718
57988995691587   CLETO           ESPARZA                   TX     90005889956
57994125191587   MARGARITA       ROCHA                     TX     90013371251
57994188861971   JOSE DE JESUS   GOMEZ                     CA     90014641888
57994416691895   TERRY           FLORES                    OK     21083244166
57995172261971   JAMES           HOOD                      CA     90012211722
57997995631429   TERRIE          CASEY                     MO     90005809956
58113632261971   RANDEE          AKOOBI                    CA     90004156322
58113643591895   TROY            MILES                     OK     90014766435
58119563457541   MACARIO         BITELA                    NM     90012955634
58122415625666   JAKE            SEATON                    AL     90009514156
58124256461965   VALENTINA       CAAMANO                   CA     46082042564
58125687333696   DAVID           ESCOBAR                   NC     90008686873
58125813761971   ROZELLE         GROFF                     CA     90010988137
58128727884342   TWANGIA         VINSON                    SC     90014417278
58128978861971   ROBERTA         LERMA                     CA     46056859788
58136343933699   KEYIA           WRIGHT                    NC     90013383439
58141465733699   YESENIA         SOLORIO                   NC     12003324657
58141964151348   CINDY           PENNINGTON                OH     90008299641
58142952333696   AAA             COMM                      NC     90013969523
58145344623171   FELICIA         MORGAN                    MI     90015533446
58147328133696   NADEZSHA        HERBERT                   NC     12091393281
58149798285833   JESUS           PENA                      CA     90006777982
58153867354152   SIERRA          WOOD                      OR     47062268673
58156427661971   IBRAHIM         ABDALLAH                  CA     46034354276
58156774633699   JULIAN          RENTERIA                  NC     90004747746
58158849185824   NARCISIO        OJEDA                     CA     90006308491
58163113857153   WILLIAM         LITATES                   VA     90010751138
58166142433699   ANNASTASHIA     LEE                       NC     90014051424
58166212157541   ABIGAIL         MATURINO                  NM     90013352121
58168781857541   VERONICA        TAVE                      NM     90010127818
58169221491895   ANDREA          FRYE                      OK     90012672214
58169498251348   DANNIELLE       FUQUA                     OH     90012894982
58169558854152   ELIZABETH       CARR                      OR     90005065588
58172169391895   AOB             ENT                       OK     90007671693
58172447561971   APRIL           AGE                       CA     90012934475
58173511251322   DERRICK         WELTON                    OH     90003705112
58174811561965   CASSANDRA       WHITLEY                   CA     90013788115
58175677451348   AUSTIN          NELSON                    OH     90015126774
58177197133696   AMANDA          CALVIN                    NC     12063501971
58179483751348   DEBORAH         WEST                      OH     90004224837
58181489451383   CHRIS           MOORE                     OH     90007964894
58182115991895   SHAMICA         ESCOE                     OK     90011491159
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58182845861965   JENNIFER          VEGA                    CA     90014578458
58183617861965   JAMES             AVITIA                  CA     90014486178
58183692493754   SILVIA            RAMOS-RATLIFF           OH     90013836924
58187313433696   RITA              LAWRENCE                NC     12041273134
58189795351348   REGGIE            CASELLAS                OH     90003587953
58191917531428   QANI              BUSHO                   MO     90009279175
58192222961971   JOANNA MICHELLE   ROMERO                  CA     90014912229
58193749161971   CRYSTAL           JENKINS                 CA     46014137491
58193836733699   JARMICA           JOHNSON                 NC     90014198367
58194594831477   KENDRA            WILLIAMS                MO     90007815948
58196119233699   ANAYELI           CHAVEZ                  NC     90009631192
58196414691895   CONCEPCION        MONDRAGON DE MERCADO    OK     90009114146
58212636561965   CHRISTINA         KORALCHECK              CA     46087416365
58213522161965   ELVIS             CANSECO                 CA     90012095221
58213574557541   CHRISTAL          RODRIGUEZ               NM     90003165745
58215324593721   JOEL              LINO                    OH     90013693245
58215985761965   AMEER             JAJU                    CA     90010799857
58218165772487   STACY LYNN        ACHHAMMER               PA     90002891657
58218281157541   JENNIFER          MOTE                    NM     90010182811
58219217454152   DAVID             SMITH                   OR     47052882174
58219357551383   KIMBERLY          KELLY                   OH     90008893575
58226642233699   SONYA             ALLEN                   NC     90010026422
58226814442363   JENNIFER          BROCK                   GA     90003828144
58227271391895   BOBBY             HITCHCOCK               OK     90014692713
58227652161971   RUGINA            BELL                    CA     90014516521
58228212157541   ABIGAIL           MATURINO                NM     90013352121
58229181754152   SHEILA            OSBURN                  OR     47007281817
58231715451348   SHANNON           VEHR                    OH     66010637154
58232987877568   JANET             KEMP                    NV     43091769878
58234891633696   CHARLENE          CHEEK                   NC     90014848916
58239948457541   PATRICIA          RIOS                    NM     90006039484
58243621891895   DAVID             MARTIN                  OK     90006666218
58245157158528   JOHNATHON         VASUTHEVAN              NY     90015461571
58249138533696   EMILY             CRANE                   NC     90013971385
58251926533696   YVONNE            PEEBLES                 NC     90014909265
58254178161971   GLORIA            SARABIA                 CA     90014341781
58255178161971   GLORIA            SARABIA                 CA     90014341781
58255435151383   LEEROY            LARKINS                 OH     66069844351
58256311885657   RAFAEL            OTERO                   NJ     90008383118
58257399361971   MUKHTAR           ABDULLE                 CA     46011743993
58262632971922   VERA              SCHERMERHORN            CO     90009986329
58262693771922   TONY              GRICE                   CO     90010606937
58266797657541   JOANNA            SEITZ                   NM     90012137976
58267371331665   CAROL             TIGER                   KS     90009603713
58267476633699   TEKIA             SCALES                  NC     90001724766
58267485791895   DERRAI            HUFF                    OK     90005474857
58267655561971   ALEXANDREA        ABERBOM                 CA     90014816555
58269564233696   ELVIA             TAPIA                   NC     90003125642
58271819631429   NATALYA           JOHNSON                 MO     27535728196
58274383851348   JEFF              SHORTH                  OH     90014403838
58274937561971   CINDY             LUNNY                   CA     90014869375
58275611533699   STEVEN            MCLAURIN                NC     90012336115
58278492361949   JUSTIN            HEIAN                   CA     90011134923
58278814442363   JENNIFER          BROCK                   GA     90003828144
58282447561971   APRIL             AGE                     CA     90012934475
58283572593747   JEROME            DENMARK                 OH     90001085725
58286642857541   AMBER             COLDWELL                NM     90011366428
58288213457541   TRICIA            SAUCEDO                 NM     90011612134
58293834391895   ISABEL            CASTANEDA               OK     90010588343
58293866361971   CASSANDRA         CARR                    CA     90013468663
58295231777581   MARTA             GARCIA                  NV     90012232317
58297621157541   RICHARD           GUILEZ                  NM     90012836211
58297843841229   ASHLEY            DELLICARPINI            PA     90001118438
58298791581621   ARTIE             COOPER                  MO     29063707915
58311889733696   TREVAR            ROGERS                  NC     90009658897
58312692257541   MARCOS            RODRIGUEZ               NM     90013376922
58313318351348   KAY               MCCANTS                 OH     90014173183
58313676354152   GARY              GAUDETTE                OR     90003286763
58313897491895   GABRIELLE         TWEEDY                  OK     90010588974
58314874361965   ROSS              WILSON                  CA     90013158743
58315183657541   VALARIE           REISNER                 NM     90012411836
58317391157541   CYNTHIA           DRISOLL                 NM     35526733911
58317422333699   SHARRIKA          YOUNG                   NC     90014734223
58318851291895   HILDA             HOLLOWAY                OK     90005388512
58318925661939   ARASELI           RUIZ FARIAR             CA     90011619256
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58319431861965   BARBRA        BARKER                      CA     90000884318
58321592233696   ANGELA        EDWARDS                     NC     12068375922
58322441733699   LAFONDA C.    SHORE                       NC     90013214417
58322651851348   TRACY         STEAGALL                    OH     90015206518
58324285485877   SHAHROKH      PARVINI                     CA     90003732854
58325914557541   MARY          KEITH                       NM     90013469145
58328265151348   YA-MIAH       DAVIS                       OH     90013002651
58329189261971   DANIEL        CORTEZ                      CA     90013861892
58329563861971   DANIEL        CORTEZ                      CA     90013015638
58331746661965   DIANA         TELLO LINARES               CA     90012677466
58334217661965   CHRISTOPHER   KIRCHNER                    CA     90008102176
58334285954152   DOUGLAS       TREISCH                     OR     47003882859
58336297191895   DASHAWNA      WATKINS                     OK     90014812971
58336884533696   VIVEON        JOHNSON                     NC     90015188845
58337843561971   AUSTIN        ALDRICH                     CA     90014588435
58342756291895   BRANDON       DAVIS                       OK     90014727562
58343412433699   APRIL         HARRIS                      NC     90003004124
58344863991895   FABIAN        GODOY                       OK     90013918639
58345499191895   SHAWN         TAYLOR                      OK     21016244991
58346243557541   JARED         BROWN                       NM     90005162435
58346825754152   DANA          BEN                         OR     90007268257
58347858757541   WILLIAM       LATHAM                      NM     90012628587
58347916861965   JULIETA       FRANCO                      CA     90014669168
58348475931428   JETTAQUA      JOHNSON                     MO     90013424759
58348767791895   JAMES         WATSON                      OK     90014197677
58351726833699   ROBIN         DAVIS                       NC     12016967268
58357784161971   CHRISTIAN     THOMAS                      CA     90015167841
58358183961965   HANEEN        HAMAD                       CA     90010791839
58362667251348   KAREN         CARSON                      OH     66031256672
58363513651332   TATIANA       CORCORAN                    OH     90009155136
58363781657541   BENJAMIN      CALDERON                    NM     90013667816
58367866261965   JENNIFER      BINGHAM                     CA     90015248662
58368781657541   BENJAMIN      CALDERON                    NM     90013667816
58369125851348   DERISSA       WALKER                      OH     90014801258
58371531377568   MANUEL        HERNANDEZ                   NV     90001155313
58371898161965   JUANA         GODINEZ                     CA     46042698981
58372393661998   CARLY         JOSEPH                      CA     90001343936
58375416361965   DUSTIN        NICHOLAS                    CA     90006384163
58375992357541   PENNY         JENNINGS                    NM     90009309923
58376179657541   ROBERTA       KAULAITY                    NM     90011311796
58376686451348   SHARONDA      MASTER                      OH     90009876864
58376975231428   MARICRUZ      JARAMILLO                   MO     90011799752
58377427391895   DANIELLE      BUTLER                      OK     90012884273
58378126477568   MARTHA        FRAUSTO GALVAN              NV     43073371264
58378389857541   GERALD        CRAWFORD                    NM     35507623898
58378872931428   KAMILHA       PARKER                      MO     90010208729
58379279721653   SAMMIE        DAVIS                       OH     90014042797
58379867291895   TERESA        DAWN                        OK     90013918672
58381487357541   TORIE         MCCASLIM                    NM     90010964873
58384745533696   TAMARA        ARTIS                       NC     90015007455
58385331891895   SHANON        MAUPIN                      OK     21052383318
58385432131429   CHAD          KEUTILE                     MO     90003694321
58389433431429   MARSELL       BOYD                        MO     90003694334
58389875591895   FLORENTINA    PALAFOX                     OK     90013918755
58391874361965   GORDON        PERKINS                     CA     90013768743
58393647154152   SANDRA        LINKENBACK                  OR     90005036471
58393958433699   BEATRIZ       JIMENEZ                     NC     12058469584
58394145991895   ARTURO        SANCHEZ                     OK     90010591459
58394329851348   JUNIOR        PASTORIZA                   OH     90014623298
58394422333696   ZAQUAIL       RUSSELL                     NC     90005124223
58395332991895   MARY          RAMSEY                      OK     21034623329
58395624461971   EUGENIA       GUERRERO                    CA     90008156244
58395997954152   ANNA          DUNLAP                      OR     47058779979
58396388177568   ANEL          RIVERA                      NV     90004123881
58399363933699   NICOLE        KELLER                      NC     90012943639
58399654357126   NELSON        UMANA                       VA     90001026543
58399713131428   ANGELA        FORD                        MO     90004237131
58411827891895   MELISSA       HUGHES                      OK     90011608278
58414973877568   DESIREE       WORSCHE                     NV     90011329738
58417979261965   LISA          LANE                        CA     90009769792
58422595741231   TIESHA        BOLES                       PA     90007905957
58427834761971   CONSUELO      RODRIGUEZ-LANDINO           CA     90010688347
58427856557541   JOHN          EGBERT                      NM     90010498565
58432261561956   SABRINA       CARROLL                     CA     90005872615
58432466154152   MICAH         SPROSTON                    OR     47053614661
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58432724761971   MARILYN       DILL                        CA     46060747247
58432982491895   CLAUDIA       SHELLEY                     OK     90001619824
58436148651348   CRYSTAL       TAYLOR                      OH     90000521486
58436493191895   PATRICIO      AGUAYO                      OK     21002714931
58439941861971   RHONA         WILLIAMS                    CA     90014939418
58442378333696   ZURAMA        BARRERA                     NC     90014113783
58442835161971   LILIA         ENRIQUEZ                    CA     90010688351
58443424131428   DARLENE       MCKINNEY                    MO     90006154241
58446374157127   ROSMARY       DORADO                      VA     81024493741
58447393761965   MARY          CARRIZOSA                   CA     90012853937
58448951461971   MISTY         STEELE                      CA     90003079514
58452226257541   PRUDENCE      PUERTO                      NM     35555132262
58452655251348   POLLY         WASHINGTON                  OH     66071976552
58453779261965   FRANCISCO     MILLAN                      CA     90008367792
58454598557541   DOMINIQUE     THOMPSON                    NM     90008365985
58454685861965   LUIS          MORALES                     CA     90014156858
58457925877568   GABRIEL       GARCIA                      NV     90006129258
58459881933699   TAMIKA        LINDSAY                     NC     90010428819
58464514431429   DAVIDA        NEAL                        MO     90002535144
58466372571956   ALVIN         WALTERS                     CO     90012323725
58466559657541   JADE          HICKS                       NM     90000935596
58466736461971   FRANCISCO     MENDEZ                      CA     46034357364
58471677554152   TIMOTHY       OVERLANDMILLER              OR     47009776775
58471795791895   SARAH         HARRELL                     OK     90013547957
58472365791895   ALVARO        GOMEZ                       OK     90010593657
58472447451348   KARLA         THOMAS                      OH     90014934474
58474199633699   CECILIA       HAYNES-SHORE                NC     90012841996
58475575661965   JUAN          CHAN                        CA     46030975756
58481514131428   DANIEL        KURTH                       MO     90006895141
58481916857541   VERA          MARRERO                     NM     90006249168
58482694691925   DEANNE        CARDENAS                    NC     90005346946
58487146457541   SONYA         MCKINLEY                    NM     90013121464
58487848991895   SHAYLA        MARSHALL                    OK     90012928489
58492867761965   COURTNEY      MENTZER                     CA     46044328677
58493138761965   SARA          SYBERSON                    CA     90008451387
58493291377582   DUBIA         DE LA TORRE                 NV     43068202913
58495269954152   AARON         NADEAU                      OR     90010702699
58495475491895   DAVID         VASQUEZ                     OK     90011454754
58496148661965   ROSS          TAKASUGI                    CA     90013211486
58496448951348   BLANCA        ARDON                       OH     66025224489
58496723591895   MILAN         OWENS                       OK     21064997235
58498615491895   DARRELL       DAVISON                     OK     90010866154
58498774177568   ADELAIDA      MEDINA                      NV     90001277741
58498893861924   ANDY          BEERS                       CA     90006348938
58499125377568   MIKE          SALISBURY                   NV     90004271253
58499495861971   CHRISTINA     SARFF                       CA     46006314958
58512419833699   RICK          HINNANT                     NC     90006924198
58522379933699   DESHAUNA      NAPPER                      NC     12000523799
58523446433696   BO            BLACK                       NC     90011154464
58525119133699   MONICA        TIMMONS                     NC     12006351191
58525356791895   MONICA        PIERCE                      OK     90012563567
58529239161971   HASHIM        KHAIRO                      CA     46088032391
58543933233696   LARRY         HARRIS JR                   NC     12006129332
58545845851348   RONNIE        JORDAN                      OH     90014868458
58546767161965   LUIS          MORALES                     CA     90014157671
58547234551365   SHANICA       FRAZIER                     OH     90014182345
58548152931483   DAVID J       HEDIGER                     MO     90002451529
58549595161971   LATIFU        SAMS                        CA     46058345951
58551228761971   WES           HOWARD                      CA     46097532287
58553826131428   JERRICA       SLATE                       MO     90009428261
58555278591979   LESLIE        RICHARDSON                  NC     90014872785
58555422591895   ROSCOE        PARNELL                     OK     90012904225
58555941361965   JHON          CASWELL                     CA     90014039413
58555943357541   COURTNEY      SPIKES                      NM     90011009433
58558325277568   LESTER        DUENAS                      NV     90007293252
58559667761965   TOMAS         HERNANDEZ                   CA     90013716677
58561818351348   JAENNIE       TURICH                      OH     90013418183
58564338991895   SHERATON      JAMES                       OK     90014713389
58564726531428   NAVONNE       BILLS                       MO     90009327265
58564884231429   MARIE         HUGHES                      MO     90003478842
58567237831429   CHELESEE      COOPER                      MO     90011152378
58567633257541   AUGUSTUS JR   ROBEDEAUX                   NM     90012876332
58571141691552   ERICA         SILVA                       TX     90007791416
58572562451383   MATT          BICKEL                      OH     90001105624
58573859851348   CLAUDE        MORRIS                      OH     66006118598
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58574623931428   WILLIAM      ARNOLD                       MO     90011806239
58575337661971   PAULA        MOURA                        CA     90013063376
58575529151348   OBDULIA      GOMEZ                        OH     66009175291
58576621654152   JESSICA      CHANDLER                     OR     90013956216
58578659157127   ALEMAYEHU    MESHESHA                     VA     81011696591
58583275861965   TOM          KNIGHT                       CA     90000532758
58583399357541   KRISTINA     KENNEDY                      NM     90010023993
58584346957541   DE ANNA      PITT                         NM     35506033469
58589977233699   GWEN         HUNTER                       NC     90012519772
58591644131428   GEORGE       WALKER                       MO     90011806441
58594581161971   BRENT        BOSCH                        CA     46076495811
58595237877568   VICTOR       SOSA                         NV     90001432378
58596866333696   DINAE        THOMAS                       NC     90006998663
58597576131428   KAREN        RUFFIN PAYNES                MO     27557325761
58612472255949   SIMON        CASTRO                       CA     90008174722
58613355171956   ESTHER       GONZALEZ                     CO     90007113551
58615272984334   FRANCISCO    GONZALEZ                     SC     90005842729
58618399151348   THERSA       BOATRITE                     OH     90008533991
58618424591895   OLETA        WHIBBEY                      OK     21034534245
58622148661965   ROSS         TAKASUGI                     CA     90013211486
58622334351383   DAVID        MYERS                        OH     90004243343
58622917191934   OLADOYIN     IRANLOYE                     NC     90006069171
58624652331428   KRISTINE     GERLING                      MO     90010586523
58625631181669   CRYSTAL      SHOTWELL                     MO     90006846311
58626795358528   CANDIDO      JUAREZ                       NY     90015567953
58632167133699   REGINALD     C00PER                       NC     12042761671
58634744161965   DANIEL       ORTIZ                        CA     90014407441
58636772351348   JEREMIE      WHEELER                      OH     90000877723
58637228177574   JUAN         GUERRERO                     NV     43013812281
58638196191895   KELSEY       HOLMES                       OK     90014501961
58638716791895   TERI         GRAVES                       OK     21064877167
58638955851348   JANUARI      BROWN                        OH     66007619558
58641598561965   GUADALOPE    GOMEZ                        CA     46014885985
58641837791895   KARLA        NIETO                        OK     90008998377
58642283457122   FRED K       FORSON                       VA     90000832834
58643839161971   PRISCILLA    DELEON                       CA     90015098391
58644546891534   DANIEL       ROSALES                      NM     90006625468
58646141691895   TRAVIS       YORK                         OK     90013221416
58647386151383   NAUTIKA      BROWN                        OH     90004243861
58647881931428   KAI          WARFIELD1                    MO     90001988819
58652159633696   BRITTANY     MILTON                       NC     90013621596
58652442861965   JENNIFER     PEREZ                        CA     90013344428
58657584957541   MELISSA      MANCHA                       NM     35557085849
58657774931428   SABINA       SMITH                        MO     90011807749
58658559331465   CARLA        SMITH                        MO     90007075593
58659763761971   ARLETTE      RUIZ                         CA     90009917637
58661861991895   PAUL         THOMPSON                     OK     90009568619
58663286885873   MIRIAM       FAIRBOURN                    CA     90009732868
58663483533696   MICHAEL      GARY II                      NC     90013344835
58663875261965   JODI         SOTO                         CA     90014838752
58664638161971   DANIEL       SCOTT                        CA     46033596381
58665992133696   EDITH        SLOAN                        NC     90007979921
58667657391524   SARA         OCHOA                        TX     90010526573
58668444451348   SHANA        SPITZNAGEL                   OH     90014154444
58669213133699   CHRISTOPHE   GODFREY                      NC     90001422131
58669882251383   KIMBERLY     DEATON                       OH     66087218822
58672447761965   OSVALDO      SANDOVAL                     CA     90012734477
58672539877568   ANA MARIA    MONTALVO                     NV     90006605398
58675739754152   LAURA        JAMEISON                     OR     47015557397
58676758758528   CARLA        DOZIER                       NY     90015497587
58676853157131   SUYAPA       PAZ                          VA     81059048531
58678396131428   KATY         SMITH                        MO     90010113961
58681265933696   JOYCE        TULLOCH                      NC     12002062659
58682474433696   SHATIERA     GAINYARD                     NC     90014194744
58683262461929   SANDOR       CARDENAS                     CA     90003052624
58683275961965   BOBB         MARLEEY                      CA     90007042759
58683465361971   BRIAN        RUNGE                        CA     90013104653
58684418657541   TERRY        GREEN                        NM     90004064186
58684776461965   MAEEK        BUTRUS                       CA     90008077764
58685686861965   KILIS        MATAITUSI                    CA     90008896868
58686229157541   JOSE         ESCARPITA                    NM     90008602291
58691976833696   WILLIAM      CARTER                       NC     90014069768
58693849591895   WILFRED      CASE                         OK     90011468495
58694728957541   MICHELLE     MIRABAL                      NM     90009487289
58695823861965   BRIAN        KISSEL                       CA     90011508238
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58696438977568   KEOLA            HAGAN                    NV     90003264389
58697686861965   KILIS            MATAITUSI                CA     90008896868
58699587633699   JOSE GUADALUPE   PUGA                     NC     90014305876
58713758361971   DEVOL            SAMANTHA                 CA     90012387583
58718175561949   CRISTINA         ROMAN                    CA     90012631755
58719237191534   VICENTE          DURAN                    TX     75071152371
58722311357541   MARRIYA          SHELLAND                 NM     90010493113
58723839191895   TIMOTHY          ROUTT                    OK     90005298391
58724519833699   LOUISE           WRIGHT                   NC     90002105198
58724882757541   TARA             MOHAMED                  NM     90014578827
58726953657541   JOSIE            GURVITZ                  NM     90011979536
58728991785657   AVERY            BURTON                   NJ     90012489917
58729362554152   KENNETH          RESCHERT                 OR     47017153625
58731332961448   ALLENDE          HINOJOSA                 OH     90013793329
58731599844352   DAWIT            NEGASH                   MD     90015345998
58736686861965   KILIS            MATAITUSI                CA     90008896868
58738475661971   MARALEE          WAINESCOTT               CA     90010314756
58739237133657   FELIX            REYES                    NC     12096812371
58739382633699   SHANIQUE         MARSHALL                 NC     90012983826
58739944861965   JOHNI            AZIZ                     CA     90013599448
58741528431425   REBECCA          PIEL                     MO     90010115284
58753654861971   PAULA            MORENO                   CA     90015156548
58753934891895   VANDEN           HANSHAW                  OK     21030939348
58757632993782   GRETCHEN         MILLER                   OH     90012286329
58758631185928   SIFA             MBIDA                    KY     90014426311
58759294461971   ZACHARY          BERCEGEAH                CA     90012572944
58761879551348   MARK             HARRISON                 OH     90014758795
58762354761971   VANESSA          CHRISTOPHERSON           CA     90007143547
58765152136165   CYNTHIA          TORRES                   TX     73541451521
58765616291895   SUMEKO           REX                      OK     90006206162
58765924561965   TAREQ            ELIAS                    CA     46045259245
58771956777357   MARK             A MAZZONE                IL     90004509567
58771996457541   CARLOS           VARGAS                   NM     35545889964
58773656857541   DORI             HORTON                   NM     90014426568
58773924561965   TAREQ            ELIAS                    CA     46045259245
58777395184852   LISA             SMART                    NJ     90011643951
58778572461971   RAY              EVANS                    CA     90007395724
58778899451574   AMY              WINTERS                  IA     90014768994
58781142451383   DEBORAH          MILLER                   OH     90010881424
58781745233699   ASHANTA          BYRD                     NC     12046087452
58783197951348   DIANE            PARTEE                   OH     66039741979
58784528633699   ASTERIA          BURNS                    NC     90012835286
58787292361971   PETITE           HADLEY                   CA     46064172923
58794271131428   VONN             ROGERS                   MO     90011812711
58794924561965   TAREQ            ELIAS                    CA     46045259245
58796215657541   LUIS             RAMOS                    NM     35575982156
58799223491895   ELIZABETH        ROJAS                    OK     90004942234
58812655433699   CATALINA         CATANA                   NC     90011386554
58815435631428   NEVA             GARRISON                 MO     27565294356
58815525561988   ALEJANDRO        VALENZUELA               CA     46038895255
58816921954152   JEFFREY          STRICKLAND               OR     47016739219
58817437151348   OUSMANE          SINE                     OH     90007814371
58819628757541   ANGEL            SHUMAN                   NM     90011226287
58821967971956   MELISSA          RIVERA                   CO     90010899679
58826753661971   BRIAN            SULLIVAN                 CA     46095507536
58828393457541   SHENICKA         TURNER                   NM     90005783934
58832579461965   ERIN             GRAY                     CA     90014215794
58832598557541   DOMINIQUE        THOMPSON                 NM     90008365985
58833845461965   BUCKLEY          THOMAS                   CA     46073958454
58833895621653   JOI              YARBROUGH                OH     90014048956
58834415133696   SHIRLEY          MILLER                   NC     12008274151
58835865633674   DELOIS           MCCLURE                  NC     90013568656
58841315861971   JOSE             MARTINEZ                 CA     46065793158
58845984333699   DENAAL           HASKINS                  NC     90004869843
58846289361971   TIM              MERKEL                   CA     90014212893
58846383151383   BECCA            GRUBBS                   OH     66006503831
58847158457541   JAMES            ROBINSON                 NM     90014471584
58851652442363   LLOYD            COPPINGER                GA     90006646524
58855855591895   ELIZABETH        QUILLMAN                 OK     90009188555
58858214861965   GILVER           MAZARIEGOS GOMEZ         CA     46045352148
58859771661965   JOSEPH           GONZALEZ                 CA     90012027716
58861215357123   AREYA            FRANCE                   VA     90012142153
58865612654152   STARK            CODY                     OR     90004106126
58873894291895   BRENDA           BOLDEN                   OK     90010608942
58878495555945   ROBERT           ROMERO                   CA     90009564955
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58879236433699   MORNEKIA     BLAKE                        NC     90014922364
58881722961971   KEISHA       JONES                        CA     90015017229
58883587161971   CHERYL       ORE                          CA     90012805871
58883724731449   KIMBERLY     JONES                        MO     27561777247
58885279957541   MICHAEL      HOWARD                       NM     90003412799
58886575661965   JUAN         CHAN                         CA     46030975756
58887414257541   THERESA      ROMERO                       NM     90003414142
58887474131429   REGINA       JOHNSON                      MO     27587224741
58887896391895   SHATOYA      DUDLEY                       OK     90012638963
58891298633699   LAKRISHA     DAVIS                        NC     90012552986
58892282591895   VIVIAN       MCCOY                        OK     90014692825
58894672157541   JENNIFER     WHEELER                      NM     90011436721
58896831457541   WILLIAMS     JOHNS                        NM     90002958314
58898288261975   NADISHA      MCCALLA-FRANK                CA     90010802882
58898831457541   WILLIAMS     JOHNS                        NM     90002958314
58899993561965   STEFAN       TURNER                       CA     90014039935
58911698173268   LAUREANO     GONZALEZ                     NJ     90015486981
58911834391895   REBECCA      LEEPER                       OK     90001718343
58912922161971   MARIA        NUNEZ                        CA     46066539221
58913213351348   LAWERENCE    JONES                        OH     90011122133
58915731657541   AMBER        WATTERS                      NM     90011257316
58917425833696   KAZIA        HOOKS                        NC     90009614258
58917575161965   DAWN         HOUSEMAN                     CA     90001815751
58918437561971   JESSICA      SHROUDER                     CA     90013794375
58919148457541   EDWARD       GORE                         NM     90010481484
58921189333696   TAMMY        TATUM                        NC     12099031893
58922343561965   SUSANA       FRAIREABARCA                 CA     90014063435
58923439261965   JESSIE       ROJAS                        CA     46058744392
58924948651348   DONALD       CREW                         OH     90015049486
58925622757541   PHILIP       ACUNA                        NM     90010486227
58925964233699   SPONG BOB    SQUAREPANTS                  NC     90015269642
58927195633699   EBONY        HAYES                        NC     90001671956
58927851233699   GONZALO      MERINO                       NC     90014968512
58931736257541   GEOFFROI     STEINAUER                    NM     90005037362
58933354957541   IMELDA       FRANCO                       NM     90014593549
58933884461971   ROBERT       VILLEGAS                     CA     90014588844
58933967755937   BULMARO      ZANABRIA                     CA     90002189677
58934552654152   ROSE M       BREITHAUPT                   OR     90004865526
58936431261971   RICKY        DELONEY                      CA     46065824312
58936719691895   SHARYN       THORNTON                     OK     21096637196
58936897157541   LUIS         GUZMAN                       NM     90005038971
58937211454152   MICHAEL      CUNDIFF                      OR     90005952114
58937896291895   DEREK        SIMPSON                      OK     90013928962
58938491455937   MARIA        RAMOS                        CA     90002794914
58938591661971   RUTH         GONZALEZ-LOZANO              CA     90014005916
58938783451348   KEVIN        JESSIE                       OH     90013217834
58941333851348   MICHAEL      MOORE                        OH     90015033338
58941419331465   DJUANIA      ARMSTRONG                    MO     27576244193
58944122191895   ROSA         RABANALES                    OK     21044931221
58944262157541   ROBERT       STEVENS                      NM     90014802621
58946171831429   PHIL         MEIER                        MO     90003481718
58948896291895   DEREK        SIMPSON                      OK     90013928962
58948946657541   CLARENCE     CHASE                        NM     90011349466
58949424333699   CIERRA       CLYBURN                      NC     90013964243
58949661757541   BARBARA      KIRK                         NM     90014606617
58951243557541   JARED        BROWN                        NM     90005162435
58952591691525   MARIA        MADRID                       TX     75098505916
58953555991895   LUIS         CARVAJAL                     OK     90013925559
58953832561971   HANSEN       DANA                         CA     90007048325
58955891551383   RODRIGO      CABELLO                      OH     66093228915
58957899651383   ERICA        CENTERS                      KY     66037058996
58958271191895   CLAUDIA      MUNOZ                        OK     90008822711
58959558491895   MARCELO      HERNANDEZ                    OK     90013925584
58961635261971   ERIC         HERNANDEZ                    CA     90011776352
58962194191895   ALLIE        WILSON                       OK     90010611941
58963561691895   ALEX         JOVANNI                      OK     90013925616
58964484133696   SEAN         EGAN                         NC     12089404841
58965679433696   POLLY        ERVIN                        NC     12087506794
58966947361971   MARC         ALVARES                      CA     90003959473
58969774161965   ADRIAN       MARTINEZ                     CA     90005617741
58971356357541   SHANE        CURRY                        NM     90005283563
58971453761971   APRILL       CADOTE                       CA     90006784537
58973188331429   THOMAS       LOVIS                        MO     90003481883
58973616333699   RAYMOND      JONES                        NC     90008546163
58975325961971   RACHEL       DARBY                        CA     46042133259
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58975571433696   NAKEYA         HAIRSTON                   NC     90012945714
58979971161971   VANESA         GARCIA                     CA     90014889711
58981827857541   ERIC           DENNIS                     NM     90005318278
58981977161971   CHESTON        HAUER                      CA     90014099771
58981989441244   MICHAEL        CHAMBERS                   PA     90001099894
58982214185944   KENNY          MILLS                      KY     90012012141
58982453933699   ARELY          LUCERO SILVA               NC     90013964539
58984567791895   PATRICIA       KANTAL                     OK     90013925677
58985757291266   ELMER          RODRIGUEZ                  SC     90013007572
58987125133657   MELISSA        CASTILLO                   NC     90007741251
58987417754152   CHRYSTAL       OTTO                       OR     90004884177
58989267331428   MONIC          HENDERSON                  MO     90008152673
58992911751354   KRISTY         CHILDERS                   OH     90011239117
58994558431428   SUMMER         AUSTELL                    MO     90009405584
58994762761971   ALLIENE        PARKS                      CA     46009657627
58995424851348   GWENDOLYN      HUNTER                     OH     90011084248
58996598833696   CONSTANCE      GARNER                     NC     12075255988
58996769151348   RODRIGUEZ      WYATT                      OH     66064617691
58998914551348   JAIME          RUIZ                       OH     90010209145
59111378957541   MARKUS         TESSMER                    NM     90014783789
59112662731429   TANYA          ALDRIDGE                   MO     27501666627
59113282461965   LYANNE         LUNA                       CA     46062512824
59114262157541   ROBERT         STEVENS                    NM     90014802621
59114771361965   ANDY           CHAVARRIA                  CA     46080397713
59115131333699   MICHELLE       MILLER                     NC     12086151313
59115262157541   ROBERT         STEVENS                    NM     90014802621
59116262157541   ROBERT         STEVENS                    NM     90014802621
59117262157541   ROBERT         STEVENS                    NM     90014802621
59119393891895   ANDRE          POOLE                      OK     90009763938
59121298355971   DORAIN         BRAND                      CA     90014812983
59122367257541   ARIEL          LOWE                       NM     90014803672
59122975991895   FRANCISCO      SANCHEZ                    OK     90010009759
59125367257541   ARIEL          LOWE                       NM     90014803672
59128139657541   ELEANORA       THORNTON                   NM     90005891396
59128624151348   TERRY          MULLINS                    OH     90012526241
59128715591587   ALEJANDRO      ARAIZA                     TX     90013467155
59134138591895   MEOSHA         MCGEE                      OK     90009131385
59134319655971   TIMOTHY        MATLOCK                    CA     90009673196
59134849557541   SHASTA-MARIE   ANCHONDO                   NM     90014818495
59136913891895   SANDRA         GONZALEZ                   OK     90007639138
59137453561965   TD             MARTINEZ                   CA     90014014535
59138175331428   LAMARR         ROBINSON                   MO     27535521753
59141916391587   ALBERTO        GUZMAN                     TX     90012129163
59142181491895   SCOTT          STINSON                    OK     90013081814
59142234197129   MIRIAM         GARCIA                     OR     90008092341
59142626231449   JOE ANN        ALLEN                      MO     27569916262
59143829251348   SARA           GONZALEZ                   OH     90014488292
59144432761965   BEN            BADAL                      CA     90010854327
59144643357541   NICHOLETTE     BAKER                      NM     90014826433
59147575491587   DANIEL         HERNANDEZ                  TX     75039785754
59149939551348   ROBERT         GUSTIN                     OH     90001729395
59151575491587   DANIEL         HERNANDEZ                  TX     75039785754
59153165255971   JESSICA        LAYTON                     CA     90013171652
59153333961971   JENNIFER       SMITH                      CA     90014823339
59154323557157   MERCEDES       RODRIGUEZ                  VA     81074613235
59154329357541   SHELLEIY       RIEGERT                    NM     90008823293
59157634261971   OSCAR          PEREZ                      CA     90014156342
59159569757126   ARTURO         AGUIRRE                    VA     81028945697
59164621191587   ENRIQUEZ       HILDA                      TX     90009236211
59165713591587   JUAN           LEANOS                     TX     75083047135
59167275861965   APRIL          SHIVERS                    CA     46062652758
59171551191856   AMANDA         MURRAY                     OK     90009265511
59175293191587   PATCHINA       MC COY                     TX     75059842931
59175375761971   KIMBERLY       SKARYAK                    CA     90014823757
59176376157157   CATHERINE      REVERON                    VA     81067863761
59177462761965   ERICA          PARRIS                     CA     90013174627
59177626561965   MARY           MCPHERON                   CA     90014706265
59177739391895   KORTNEY        FIELDS                     OK     90011207393
59177889181693   SHANTE         MORRIS                     MO     29013368891
59178317257541   ANGELA         GONZALES                   NM     90013703172
59179373161965   MARIA          CEDILLO                    CA     46067093731
59179461757541   JOAN           MARQUEZ                    NM     90014504617
59182464391587   ISELA          BALDERAS                   TX     90013634643
59183366133699   DECARLOS       WILLIAMS                   NC     90011293661
59183863351348   ASHLEY         HUDDLESTON                 OH     90013008633
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59184745957541   APRIL        STILES                       NM     90014877459
59184962561971   RAMI         TOMA                         CA     90001229625
59185333951348   PAMELA       WEBSTER                      OH     66050323339
59185364861965   MARK         TURNER                       CA     90001203648
59187353691895   KATHRINE     TYNES                        OK     90010233536
59187792451348   ANDREA       GARCIA                       OH     90007287924
59189795491587   KARLA        HERRERA                      TX     90013077954
59191875191587   GUSTAVO      CAMPOS                       TX     75055158751
59192318391587   ESTRADA      GENARO                       TX     90010233183
59194783461971   LORENZO      LEARNED                      CA     90004437834
59197419633699   LARRY        ROBERTS                      NC     90011294196
59198294361971   JAKOIA       DALLY                        CA     90004732943
59198743933699   CATALINA     GONZALEZ                     NC     90008867439
59199331261473   DANI         HERNADEZ                     OH     90015383312
59211153751348   ANGELA       NORTHGARD                    OH     90010301537
59212436957591   NAOMI        MONGE                        NM     90005304369
59215332351348   ANGEL        RAMIREZ                      OH     90012713323
59216658661971   SALA         HANNA                        CA     90013206586
59217194755971   MAYRA        GONZALEZ                     CA     90012801947
59217537761965   CRISTINA     REYES                        CA     90013235377
59222378151383   ANGIE        FERNANDEZ                    OH     90008783781
59222934431428   APRIL        ANDERSON                     MO     27540919344
59223427193724   ANDREW       EASTRLANG                    OH     90002754271
59225154951294   JANIE        MORRIS                       KS     72016161549
59226296591587   DANIEL       GRAJEDA                      TX     90007412965
59226985357135   NELLY        TERRAZAS                     VA     90006119853
59227884357541   AZARINA      LAVOIE                       NM     90011728843
59228162661971   WILLIE       WILSON-SMITH                 CA     90011371626
59228314461965   JAMES        WATKINS                      CA     90014753144
59228979391895   ERIC         FOSTER                       OK     90002829793
59229127851348   CASTO        CORRALAS                     OH     66016111278
59229792161971   MARIA        GONZALEZ                     CA     46072307921
59232874661965   YESENIA      MORALES                      CA     90011098746
59235277731429   MARIAN       YARBROUGH                    MO     27586272777
59236686457541   ASA          HOFFMAN                      NM     90011736864
59236982461971   JOHN         HICKS                        CA     90012849824
59237164161965   ARIKA        TIMMINS                      CA     90007931641
59237876757541   KIMBERLY     MENEFEE                      NM     90014938767
59238452457591   DANIEL       FELIX                        NM     35596144524
59241121155971   CONNIE       BRANDT                       CA     90005241211
59241219191895   SHANDLE      GOFF                         OK     90014582191
59241234961986   JAMES        PATINO                       CA     90003262349
59241598233696   MARCUS       BROWN                        NC     90005435982
59242863191587   NATALIE      RIOS                         TX     90010978631
59243429993724   CHRIS        GEETING                      OH     90011734299
59243888855971   ALFREDO      SIFUENTES                    CA     90011088888
59243947191587   VANESSA      HERNANDEZ                    TX     90014919471
59244889791895   AUNDREA      DAVIS                        OK     90014788897
59245358155971   SHELLY       CLINTON                      CA     90013983581
59245735161965   LOLA         VERDUGO                      CA     46034037351
59245948961971   LISA         IVORY                        CA     90009319489
59247212951348   DONNA        SIMPSON                      OH     90013402129
59248276251586   JARED        PACE                         IA     90014802762
59251898661971   DAVID        GRIPON                       CA     46022808986
59253613257541   GILBERT      ZAMORA                       NM     90009296132
59253797741229   EDMUND       OPOKU                        PA     90006627977
59253927754151   WRETHA       BRECKENRIDGE                 OR     90004519277
59255974861965   CODY         BOGLE                        CA     90007739748
59257714491895   LUCINDA      NEW                          OK     21088187144
59257777361965   THOMAS       OWEN                         CA     90015287773
59258348491895   NOEL         MATA                         OK     90009813484
59258685857541   JOSE         MENDOZA                      NM     90011756858
59259159561971   PATRICK      BRANNON                      CA     46085851595
59265483651348   GRACE        HAFFEY                       OH     90008404836
59267569151323   JULIE C      PELK                         OH     66082605691
59271545561965   CHRISTINA    CROWE                        CA     90012805455
59271842433699   JAMAL        BLAKNEY                      NC     90014918424
59272924791534   CALVIN       KEARNEY                      TX     75007839247
59274627961965   MACASOSI     LOLOTA                       CA     90010296279
59275614851348   VICTORIA     WADE-TONEY                   OH     66095376148
59276555241231   CHERISH      HARRIS                       PA     90010575552
59277327251348   SHAWN        STEPHENS                     OH     66049283272
59277523491587   CECILIA      GARCIA                       TX     75098125234
59277688361971   EDGAR        CASTRO                       CA     46023006883
59277815855971   AMYLOIS      WEST                         CA     90007018158
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59281145361965   LEASA         BARBEE                      CA     90005311453
59283814131456   ANGELA        EWHAREKUKO                  MO     27557458141
59284356657541   CRISTINA      GARCILAZO                   NM     90011813566
59285394755971   MARIA         OROZCO                      CA     90012753947
59288151893724   DWAIN         ANDERSON                    OH     90014641518
59288297851383   CHARLES       TAYLOR                      OH     66087662978
59291838193724   KEVIN         SIMS                        OH     64508798381
59292286661965   VALERIE       CALOCA                      CA     46048022866
59295324161965   ALVIN         HEARD                       CA     90007933241
59295689351348   NICHOLAS      GRIFFITH                    OH     90010326893
59295721257591   ANTELMA       DIAZ                        NM     35587877212
59295978161965   ALVIN         HEARD                       CA     90012129781
59296493933696   ROBBI         BOWMAN                      NC     12005964939
59297855522424   ANA           CHADWELL                    IL     90015318555
59298248393724   EZPERANZA     ALVAREZ                     OH     90013742483
59298556331433   CASSIE        HANSON                      MO     90004545563
59298565157541   MARINA        REYES                       NM     90012185651
59311993931429   FRAZIER       PAMELA                      MO     90009769939
59314197593724   JASON         BROWN                       OH     90014641975
59315116885944   COREY         LYNCH                       KY     90011101168
59319888461971   BRANDON       TONECK                      CA     90014778884
59321695931428   LINDA         POSS                        MO     90003226959
59321811464145   MIRETEAB      BERHE                       IA     90015398114
59322711192831   CHRISTOPHER   PETERSON                    AZ     90014307111
59322718361965   CHRISTOPHE    NOAKES                      CA     46015007183
59322839157135   TRACY         TEJADA                      VA     90011558391
59323434451348   JASMEN        LARKIN                      OH     90013274344
59325494251348   JAMES         RANDALL                     OH     90011154942
59326972891587   LORENA        CHAVEZ                      TX     75063929728
59328848191587   ANTONIO       SALCEDO                     TX     75039778481
59329818931482   LEROY         HAMILTON                    MO     90003328189
59332912231433   JENNIFER      BOSTON                      MO     90005149122
59333552155971   JASMIN        SIERRA                      CA     90011445521
59333763933696   DONNA         MCCOMBS                     NC     12035627639
59335484251348   ERNEST        WESTFALL                    OH     90011154842
59336214761971   JAMES         LOGAN                       CA     90013152147
59337177761965   FERNANDO      HERRERA                     CA     90004061777
59338326557157   JESSE         BURGESS                     VA     81088683265
59339197133699   YOLANDA       CHAVEZ-GRACIA               NC     90013141971
59344548557591   THERESE       SHAKRA                      NM     35519995485
59345497757157   ROBERTO       MENDOZA                     VA     90004694977
59345917693724   KAYLA         POURBAIX                    OH     90011939176
59347187961971   BENJAMIN      PRICE                       CA     90013111879
59347558133699   GLORIA        MENDOZA                     NC     90011565581
59348825657157   MAURICIO      CANO                        VA     81068308256
59352591693721   SHANTA        CHILTON                     OH     90013855916
59354659491895   JACE          WILLIAMSON                  OK     90004086594
59356937391962   MANUEL        MONZON                      NC     90003179373
59357118957591   DANIEL        JACQUEZ                     NM     35597911189
59358127161965   SHERI         GARCIA                      CA     90013971271
59361849233696   ARGENTINE     JOHNSON                     NC     90014408492
59364126851348   JOHN          CHALFANT                    OH     90015301268
59364446561965   JOANNA        RAMOS                       CA     90013384465
59365746461965   ABEL          VASQUEZ                     CA     90015097464
59366784561971   RACHELL       HERNDON                     CA     46053777845
59366922891525   JAVIER        PEREZ                       TX     90006139228
59366995871922   SOPHIA        ATENCIO                     CO     38006569958
59369477661965   ROBERTA       NETTELS                     CA     90012184776
59369768661971   AMY           TODD                        CA     90000947686
59372252291587   BEN           MUNRILLO                    TX     90008832522
59373228291587   MARGARTITA    OCHOA                       TX     90003442282
59373741633699   CRYSTAL       THOMPSON                    NC     90014597416
59374315751348   TERRENCE      HENDRICKS                   OH     66062683157
59374446751348   ADA           MILLER                      OH     90012884467
59376719391895   FRANCIS       TAYLOR                      OK     90012527193
59377161551348   NICOLE        ADKINS                      OH     90001691615
59377713361971   DORTHY        GURRA                       CA     90003077133
59378767693724   MALYNDA       MORONES                     OH     64589967676
59378839691934   ADEWUMI       IRANLOYE                    NC     90006068396
59379135261965   LUIS          MARTINEZ                    CA     46005881352
59379389757126   LONNIE        ELLIS                       DC     90008693897
59381414331428   DEBRA         COLLIER                     MO     90009384143
59381965855997   JEFF          MYERS                       CA     90003489658
59382226461965   LYDIA         VALDEZ                      CA     90014012264
59382451261971   CYNTHIA       THOMAS                      CA     46055454512
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59384577791895   MACAYLA      SLEY                         OK     90014625777
59384692461971   ESMERALDA    SALDIVAR                     CA     90010156924
59387442633699   MARIAH       GALLOWAY                     NC     90014284426
59394928155971   VERO         ZAMORA                       CA     90002959281
59395687657157   KAY          SAK JR.                      VA     81091856876
59396387633699   ADA          HERNANDEZ NOYOLA             NC     90013933876
59396738451348   LINN         ABNEY                        OH     66016837384
59397144161965   YENIFER      GARCIA                       CA     90006161441
59399274391895   BECKI        HOPPE                        OK     21089042743
59411171531429   CYNTHIA      DODSON                       MO     90004891715
59411429771547   PAYGO        IVR ACTIVATION               WI     90015144297
59413158761971   HEATHER      ROGERS                       CA     46079261587
59416645491587   VICTOR       MATA                         TX     90008376454
59416815541222   CRISSY       BROWN                        PA     90001828155
59419593491587   NANCY        FIERRO                       TX     90001615934
59421271957128   SALVADOR     RAMIREZ                      VA     90012882719
59422592355971   ALLAN        WILSON                       CA     90001885923
59424895784347   ZOILA        MENDEZ                       SC     90011878957
59424977393724   DEEDEE       RASH                         OH     64565689773
59426251255971   JACOB        HAIR                         CA     90010642512
59428147561971   KIMBERLEE    BLOOD                        CA     90014241475
59428756157591   NICK         TELLES                       NM     90005387561
59433444251348   AMANDA       GRIMES                       OH     90013274442
59435637761971   THOMAS       GOCHE                        CA     90014156377
59435838451348   WILSON       TWENEBOAH                    OH     66023988384
59436362861965   SUSANNA      REYES                        CA     46040503628
59436488391587   JAIME        CUELLAR                      TX     75073554883
59438594161971   RAUED        ALNAJAR                      CA     46013615941
59443484251348   ERNEST       WESTFALL                     OH     90011154842
59444782281664   TIMOTHY      SYLVESTER                    MO     29007117822
59444825491895   LAKISHA      HENDERSON                    OK     21099778254
59446712991895   GEORGINA     FUENTES                      OK     90012517129
59447598433699   ANJEL        DOMINGUEZ                    NC     90013935984
59451114791561   MYRIAM       GUERRERO                     TX     90012711147
59452357131428   WILLIAM      MCHANEY                      MO     90006453571
59455144655971   ASHLEY       KOUKLIS                      CA     90013751446
59455565761965   CHERYL       DUBOIS                       CA     46031195657
59455696693724   LEANDRA      GREEN                        OH     90009126966
59456889491895   JAMES        PITT                         OK     90012948894
59463693133699   TERRY        RICE                         NC     90013936931
59465948961965   KALIB        DOYAL                        CA     90010959489
59465959191895   NOE          CORDOVA                      OK     21044499591
59466544833696   CAELISA      JONES                        NC     90006925448
59466588933699   ORBELIN      JARAMILLO                    NC     90012295889
59469426791895   CHERYL       STALLINGS                    OK     90012434267
59469737661971   CAMERON      WALKER                       CA     90009697376
59471939933699   MICKIA       BYRD                         NC     12004009399
59473318461965   MARTHA       MELENDEZ                     CA     90000123184
59474759755971   SHAMIKA      MADDEN                       CA     90007707597
59475552191895   LINDA        RUSHING                      OK     90014685521
59476796431429   LOGAN        CHEATHAM                     MO     27584417964
59477389891587   LUISA        HERNANDEZ                    TX     90014163898
59478297361965   EVAN         AZEEZ                        CA     90001892973
59479765855971   RAMIRO       SANCHEZ                      CA     90013077658
59481678651348   MAGON        MORE                         OH     90012246786
59482554161965   YULIANA      ISLAS                        CA     90011165541
59487154557591   NEVAREZ      EDGAR O                      NM     90006041545
59488727461971   MATTHEW      STRANDBERG                   CA     46094417274
59489865351348   MARCUS       SMITH                        OH     90012938653
59492498955976   BOBBI        BLANTON                      CA     90003254989
59496556851378   AMANDA       DALTON                       OH     90010685568
59497719591587   GABRIELA     RODRIGUEZ                    TX     90011877195
59498634461971   AIOTEST1     DONOTTOUCH                   CA     90015116344
59499378951348   CLAUDIA      SEGOVIANO-ESTRADA            OH     90012583789
59499627693724   AMANDA       CLAYTON                      OH     90011746276
59512475351348   ALLEN        SPARKS                       OH     90013354753
59513222491587   GLORIA       NAVARRO                      TX     75059992224
59513978151329   FATIMA       HASAN                        OH     90013849781
59516189242335   MOSE         ADAMS                        GA     90013981892
59516739991587   GISELA       LEYVA                        TX     75057787399
59517286393724   CHANTILLY    COLQUITT                     OH     90012302863
59518646255971   MELISSA      GRIFFIN                      CA     90012026462
59519346861971   VICTOR       BRAVO                        CA     90012963468
59519556891587   NORMA        GARZA                        TX     75071855568
59521236381622   ELICIA       REDMOND                      MO     90001052363
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59521541491895   MARGARITA      LOPEZ                      OK     90008445414
59522198891587   VICTYOR        GAETA                      TX     90014801988
59523632491895   AMBER          RIDEOUT                    OK     90009466324
59523939861965   FABIAN         ABRAHAMS                   CA     90012889398
59525631655951   CRISTIAN       URENA                      CA     90009746316
59526728451348   AMY            RAWLINGS                   OH     66099057284
59527641197164   LAURA LYNNE    REYES                      OR     90003966411
59528157961965   ESTEBAN        REYES                      CA     90013311579
59529433433699   WANDA          SPRINKLE                   NC     90011994334
59529535657591   MEGAN          HALL                       NM     90001945356
59529982861965   COREY          HAGUE                      CA     90012859828
59531441691895   GUSTAVO        RAMIREZ                    OK     90014424416
59533352861971   ISMAEL         RIVERA                     CA     90012593528
59533676161965   SAMI           KHALEEL                    CA     46061956761
59535375761971   KIMBERLY       SKARYAK                    CA     90014823757
59535985233699   FELICIA        HOWARD                     NC     12013469852
59538229661971   CHARLES        HILLEY                     CA     90006552296
59538257451348   ARLAXES        KELSOR                     OH     90012402574
59538275691587   MARIA          ARAIZA                     TX     90011902756
59538336993721   CHELSEA        HODSON                     OH     90008523369
59538722951348   RYNELL         HAMPTON                    OH     90011157229
59547214993724   HEATHER        JARVIS                     OH     90013422149
59547785161965   PATRICIA       CESENA                     CA     90013247851
59549263597129   AMANDA         ACKERMAN                   OR     90011012635
59551222591895   JOHNATHAN      MORGAN                     OK     90013822225
59553791433696   BETH           ACKWOOD                    NC     90002597914
59553866231429   DAVID          WESTBROOK                  MO     90002778662
59556148257591   ELI            CORTEZ DIAZ                NM     35597731482
59556217191895   COURTNEY       PURIFOY                    OK     21023692171
59557569691979   MARRISSA       MCKOY                      NC     90001705696
59557822261971   ISMAEL         OLANDA                     CA     90007438222
59561351731428   CALVIN         THOMPSON                   MO     27593613517
59562338391895   DYLAN          BROWN                      OK     21042073383
59564268161971   VALENTINA      BOSS                       CA     46054362681
59564313155971   NELLY          PIZARRO                    CA     90013513131
59566815591587   GUADALUPE      VILLANUEVA                 TX     90011588155
59567816161965   KYLE           MCDANIEL                   CA     90007948161
59568255593724   TANESHIA       LINDSAY                    OH     90013422555
59571828861965   ALBA           PINEDA                     CA     90006838288
59573442957591   JOSE           RAMIREZ                    NM     35596734429
59574988191587   SANDRA         IBARRA                     TX     90012659881
59575617291587   MARIA          MACK                       TX     75098266172
59575878761965   RODRIGO RIES   DOS SANTOS                 CA     90002148787
59578777657591   GENEVIEVEB     TREVINO                    NM     90001237776
59582819551348   AMANDA         WARNER                     OH     66080808195
59586985591587   ALMA           SANTA                      TX     90013129855
59587292661965   ELEAZAR        VALENZUELA                 CA     90010472926
59588319467861   CYNTHIA        BENNETT                    GA     90015333194
59592527491587   WILFREDO       GUERRERO                   TX     90006875274
59593867461971   LEONILA        VIDAL                      CA     90012058674
59594777493724   STACIE         GRIDER                     OH     90013987774
59597571691587   JONATHAN       LUTHER                     TX     90014565716
59597892755971   PRISCILLA      RAMOS                      CA     90005988927
59597972191895   KAREN          MANNS-YOUNGER              OK     21029059721
59598419833699   RICK           HINNANT                    NC     90006924198
59598446561965   JOANNA         RAMOS                      CA     90013384465
59599371591587   NORMA          GUTIERREZ                  TX     75029543715
59611614161965   TAISHA         GAINES                     CA     90014856141
59612457481631   BRIAN          PETTIT                     MO     90015254574
59613571331444   BERNARD        HILL                       MO     90001335713
59614916251348   CHRISTINA      SMITH                      OH     90011549162
59616147561971   KIMBERLEE      BLOOD                      CA     90014241475
59616857961965   JAY            LOMBARDI                   CA     90012878579
59618215533699   FLORINDA       MORGAN                     NC     12077292155
59618951131429   LESLIC         JEFFERSON                  MO     27510139511
59619458433699   SAMUEL         RAMOS                      NC     90013944584
59621168991587   AJ             TRUJILLO                   TX     75016981689
59621323761971   ROBERT         NAFFA                      CA     90013153237
59621424291895   ISAIAH         JOHNSON                    OK     90014754242
59624852693724   KELLSIE        BROOKS                     OH     90014088526
59625285193724   TIARRA         BROWN                      OH     90014642851
59625624355971   AMY            FICKLE                     CA     90013946243
59627624355971   AMY            FICKLE                     CA     90013946243
59628246351348   KATIE          BOLTON                     OH     66064252463
59628733955971   MARIA          CASTILLO                   CA     90013947339
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59632152793724   BLANCHE      WRIGHT                       OH     90005561527
59632273984329   JOHN         MAYS                         SC     90010572739
59633789254151   ROCKY        BELL                         OR     90013267892
59635994655971   CATHERINE    IBARRA                       CA     90014339946
59638561933699   EDWIN        PINEDA                       NC     90013945619
59638969851348   DAVID L      HENSLEY                      OH     90011159698
59641297193724   JASON        HANKS                        OH     90014642971
59641561933699   EDWIN        PINEDA                       NC     90013945619
59642395257591   LUCERO       JUDY                         NM     90003233952
59642483291895   ROBERT       WARTSON                      OK     21004644832
59643439161971   AISH MUSA    RIOS                         CA     90014124391
59644625833699   ROLANDO      PENALOZA                     NC     12068606258
59647559151348   ANDREA       GADD                         OH     66010795591
59652585291587   AMANDA       AVILA                        TX     75015915852
59654228193724   LEAH         FRAZEE                       OH     64532242281
59656883491535   LONEL        MEDELLIN                     TX     90006168834
59657852855971   MIKEA        ARNOLD                       CA     90008438528
59659426993724   FREDERICK    ALLEN                        OH     90011234269
59662267631429   RICHARD      BRADY                        MO     27563992676
59662591833699   HUGO         LOPEZ HERNANDEZ              NC     90013945918
59662718933699   HUGO         LOPEZ HERNANDEZ              NC     90014937189
59662984581632   DANEKA       PONDS                        KS     90013979845
59663345933621   JOSEPH       MOORE                        NC     12013873459
59665254961965   SARAH        HENRY                        CA     90014392549
59669582461965   DENISE       CERVANTES                    CA     90011405824
59673181193724   EDWARD       DI FLORIO                    OH     64522501811
59674918561965   BRITTANI     RIVORD                       CA     90012879185
59676684754133   ZOEY         REEVES                       OR     90004856847
59677215931428   DARRYL       HEAROD                       MO     27532492159
59677768293724   KATIE        HICKMAN                      OH     64506767682
59677963761965   MARY         GLOVER                       CA     90000859637
59677996961965   CARLOS       MENDOZA                      CA     90012889969
59678797691587   REYNA        ESCOBEDO                     TX     90011517976
59678832955971   YOLANDA      RODRIGUEZ                    CA     90012668329
59681813391587   ERIKA        PALMA                        TX     75077158133
59684715385822   FRANCIS      BACANI                       CA     90012077153
59687699491561   SYLIVIA      VASQUEZ                      TX     90012736994
59688784461971   GALVEZ       SYLVIA                       CA     90015227844
59689734691895   NOE          DURAN                        OK     21041377346
59692249891895   GABERIAL     JONES                        OK     90012512498
59692537491895   GABERIAL     JONES                        OK     90011315374
59693477991587   FABIOLA      LARA                         TX     90014844779
59694385491587   MARTHA       ELIZALDE                     TX     90004783854
59698984393724   PANNIE       DOWNEY                       OH     64555469843
59712318561965   CHRIS        BRASUELL                     CA     46062653185
59715598991587   FRANCISCO    DE LA CRUZ                   TX     90014665989
59716742831429   DENISE       MINOR                        MO     27555137428
59716871191948   HOSAM        SHIGLAWI                     NC     90012758711
59717756851348   KATHY        HALL                         OH     90010527568
59718768591233   INELL        GADSON                       GA     90013957685
59718827733699   AIDA         NOYOLA                       NC     90013948277
59722111233699   ERIKA        SIMON                        NC     12095911112
59722861731428   MONICA       WRIGHT                       MO     90013208617
59724438757591   MARIA        ACOSTA                       NM     90006554387
59726153251348   JAVIER       QUEZADA                      OH     90012611532
59726178533696   MARIA        GUEBARA                      NC     12022951785
59727123757157   ANTHONY      MORRIS                       VA     90000461237
59729568831457   OVERERE      EWHAREKUKO                   MO     27530415688
59729855261971   RUDY         FRANCO                       CA     90002458552
59731132233699   SALLY        MERES                        NC     90013231322
59734234533699   WILLIAMS     TIEF                         NC     12011442345
59734253691587   MARTHA       KRILING                      TX     75075792536
59736334851348   DEMACHEA     RUFF                         OH     90014603348
59736758361971   MANI         QUIDIANI                     CA     90010187583
59737795333699   CYNTHIA      MARTIN                       NC     90005157953
59739124881625   MAZETTA      JOHNSON                      MO     90011761248
59741481761965   HELEN        DAKHA                        CA     90011274817
59743321591587   ANTONIO      MUNOZ                        TX     90012913215
59743614161965   TAISHA       GAINES                       CA     90014856141
59744226991895   ROWENNA      GAINES                       OK     90012882269
59745542357157   MIGUELINA    CAMACHO                      VA     81060535423
59746665751348   PATRICIA     GIBBS                        OH     66092826657
59747614861949   ANTONIO      ARELLANO                     CA     90005996148
59747759761965   YVONNE       DURAN                        CA     90009777597
59751332961971   TANYA        EVANS                        CA     90010673329
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59752133231428   DARLA        ROWAN                        MO     27596291332
59753672591885   ANGELIC      URQUIZA-ROJO                 OK     90014836725
59754334961965   ELISE        LOGAN                        CA     90012893349
59757586951348   BETHANY      TAXIS                        OH     90009685869
59758845751348   CAROL        STUCKEY                      OH     90010148457
59759519191885   RYAN         LOVE                         OK     90014775191
59759681561965   DANIEL       BRITTAIN                     CA     90013966815
59761676561965   ALICIA       CISNEROS                     CA     90012666765
59761713151348   ALYCIA       COX                          OH     90013067131
59762137961965   ALMA         MALDONADO                    CA     90012931379
59762337133699   ANNIE        DALTON                       NC     12007343371
59763275191895   CHARON       POWELL                       OK     21000672751
59763929691993   NIKKI        FORGET                       NC     90010219296
59766168391895   VALERIE      OGLE                         OK     90009021683
59766875361998   VICTOR       COCA                         CA     90011098753
59767755491895   RANDY        CRANMER                      OK     21002437554
59774586461965   ALPHONSINE   JONES                        CA     90009375864
59774892391587   JAMES        THOMAS                       TX     75016378923
59775366591864   ALICIA       BARBER                       OK     21093603665
59775694291587   ISRAEL       CISNEROS                     TX     90010656942
59776383961971   KEITH        BOLEY                        CA     46041493839
59776558393724   LATASHA      HOWARD                       OH     90015005583
59781361561971   CHRIS        BOOTH                        CA     46022913615
59783848491584   RITA         SALASAR                      TX     75062578484
59784575791521   RUDY         MELENDEZ                     TX     90010815757
59784855391895   COURTNEY     ADKINS                       OK     90014388553
59785985491587   RITA         ALMANZAR                     TX     75082549854
59787119793724   LINDA        HARDIN                       OH     90001861197
59787583977574   KATYA        NUNEZ                        NV     90001645839
59788975457157   NAYRA        ACOSTA                       VA     90005269754
59789765793724   STEVEN       CHAMPION                     OH     64517277657
59791386757591   STEPHANIE    RIVERA                       NM     35512273867
59792786331428   VICTOR       JACOBS                       MO     27593577863
59794169461965   GABRIELA     MENDEZ                       CA     90012931694
59796818933699   DONOVAN      HOLMES                       NC     90013968189
59797374284342   FAYE         HOLMES                       SC     90013413742
59799315433696   CYNTHIA      AMARO                        NC     90004363154
59815936491521   MONICA       CARRISAL                     TX     90013489364
59816212633696   HERMINIA     TAMARIZ                      NC     90002822126
59816325333623   CATHERINE    MCCOLLUM                     NC     90005953253
59816414651348   AARON        HOLLINGSWORTH                KY     90011854146
59816936491521   MONICA       CARRISAL                     TX     90013489364
59817238861965   MARTHA       RODRIGUEZ                    CA     90012932388
59817862455971   SHY          G                            CA     90009968624
59818469551348   MICHAEL      KING                         OH     66036494695
59822892461965   BIBICHE      KUTI                         CA     90015298924
59825343693724   ERIC         CLEMANS                      OH     90013423436
59826251651348   DENZEL       JOHNSON                      OH     90001692516
59826551191856   AMANDA       MURRAY                       OK     90009265511
59826552261956   BELINDA      GOBBLE                       CA     90005895522
59828523991587   RAYMUNDO     CHAVEZ                       TX     90002565239
59828599851348   JAIRO        VASQUEZ                      OH     90013745998
59832763691981   LINDA        JONES                        NC     17088257636
59832895191587   MARIA        INCHAURRIGA                  TX     75091928951
59833911891587   MARIA        GURROLA                      TX     75027009118
59834932133699   SHAREINA     MILLER                       NC     90013969321
59835364933699   FRANUEL      ESPINOZA BUENO               NC     90013953649
59835652391895   CRYSTAL      CLARK                        OK     90008666523
59837522655971   ERIC         MARTINEZ                     CA     90010115226
59838567851348   EDBON        SWITCHER                     OH     90015565678
59838948433699   BISMAR       MORGA                        NC     90013969484
59839842891561   FRANCIZCO    LOZANO                       TX     90007428428
59841732257591   RAUL         ENRIQUE                      NM     35507027322
59841892391587   JAMES        THOMAS                       TX     75016378923
59841972293724   FLOYD        COCHRANE                     OH     64547429722
59842231691895   EVANGELINE   NEWTON                       OK     90007882316
59843654493724   MIKE         BREWER                       OH     90014816544
59845588391895   CINDY        LATHENA                      OK     90011315883
59846745481664   CRYSTAL      HERDINA                      KS     90013807454
59846794333699   BRITTANY     HARDY                        NC     90014847943
59847512957591   DIANA        ORTIZ                        NM     90003265129
59848385291895   DIEGO        AVILA                        OK     90004453852
59849149531629   LEONARD      TRILLO                       KS     90002391495
59852228133699   LAMARETTE    PITTS                        NC     90013972281
59855588591587   GRISELDA     SANTOS                       TX     90009295885
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59855595291895   LORI         TALLENT                      OK     90011315952
59858638993724   JIM          JONES                        OH     90014176389
59859841161971   MICHAEL      ZOUMARS                      CA     46017998411
59862217991895   PAUL         RAGSDALE                     OK     90011512179
59862424293724   MELISSA      FEWLASS                      OH     64508844242
59862896561965   ALEXIA       JOHNSON                      CA     90014238965
59864162451348   CHRISTI      MCVEY                        OH     90013591624
59864217393724   COURTNEY     JOHNSTON                     OH     90014252173
59868294793754   JOYCE M      HOLLOWAY                     OH     90010352947
59872565761965   CHERRI       BOSSERMAN                    CA     46092415657
59872771333699   SOLEDAD      ESIQUIO                      NC     90011667713
59875632661971   DELVIN       SULEIMAN                     CA     90009546326
59875719191895   SETH         ARREDONDO                    OK     90001467191
59876811533699   DEREK        GLENN                        NC     90014848115
59878834761965   VICTOR       ACOSTA                       CA     90008658347
59879888151348   MAISHA       DENNIS                       OH     90013008881
59884261451348   ANDREW       PHILLIPS                     OH     90014842614
59885561631428   ERIC         SIMSON                       MO     90006435616
59886595691895   DEMARELL     SPEED                        OK     90014785956
59887641991587   DANIEL       NEVAREZ                      TX     90014826419
59894886133699   ZENON        CRUZ                         NC     12077258861
59896842991587   OSCAR        BALLESTEROS                  TX     75021318429
59897227361965   DESIREE      JOHNSON                      CA     90005572273
59899388391895   NICOLE       CASSARES                     OK     90000903883
59899956691587   ADRIAN       AGUILAR                      NM     75013679566
59912841891587   FRANCES      GONZALEZ                     TX     90005538418
59913372438533   BERNARDO     ALPIZAR                      UT     90014433724
59914147291895   RODOLFO      GARCIA                       OK     90011011472
59915915357591   TAISA        ROSBAUGH                     NM     35511849153
59916453561965   TD           MARTINEZ                     CA     90014014535
59916463993724   MONTGOMERY   MALIKA                       OH     90004934639
59919358493724   JOSEPH       MAYES                        OH     90013423584
59921359593724   MARCUI       PAOLIELLO                    OH     90014643595
59923526191895   DWAYNE       ARMSTRONG                    OK     21093775261
59923567451348   PATRICIA     BUTLER                       OH     90011195674
59924518451348   LAURA        TRUJILLO                     OH     66053445184
59924988357591   DAVID        CHAVEZ                       NM     35569559883
59931191191895   TEKEYA       SCOTT                        OK     90012721911
59931735857129   EBER         AGUILAR                      VA     90003927358
59932238951348   JOSH         CURLESS                      OH     90011612389
59933211931429   ROBERTO      PEREZ                        MO     90005902119
59934154951348   HEATHER      MURRAY                       OH     90008511549
59934661191587   SERGIO       MERCADO                      TX     90010926611
59936693761971   JOSHUA       LOWE                         CA     90010656937
59936727333699   NICOLE       CLARK                        NC     90007867273
59936847331428   LAKISHA      MONIQUE                      MO     90012908473
59943448751348   CHARLENE     NEAL                         OH     90013054487
59943775584329   ANTHONY      BARONE                       SC     90008807755
59945478861965   TERESA       RIVERA                       CA     90009344788
59946147491587   MAYRA        MURILLO                      TX     75085491474
59946343661965   ROCIO        GUTIERREZ                    CA     90012953436
59947216861965   TANYAH       KEWARAKIES                   CA     90015142168
59948641251348   KRISTY       EHRHARDT                     OH     90009296412
59948842261971   ANGENEA      MOBY                         CA     90012778422
59949482591587   YESSENIA     GUADALUPE                    TX     90013634825
59949531651379   ANGELA       THOMIN                       OH     90011625316
59953776531429   GERALD       DANIELS                      MO     90008447765
59954171261971   KUPID        DAVIS                        CA     46087761712
59956738133699   DENISE       GALLOWAY                     NC     12025547381
59957554261971   VIRIDIANA    MENDEZ                       CA     90012975542
59957883991269   BRIELLE      THOMAS                       GA     90001438839
59959512157591   BERNADETTE   POTTS                        NM     35556055121
59959935861971   MIKE         OSBORNE                      CA     90011739358
59964522657124   JOSE         REVELO                       VA     90007125226
59964535791895   PAUL         DOWNING                      OK     21004715357
59972319751348   MICHAEL      CARPENTER                    OH     90011543197
59972433991895   JEREMY       FORD                         OK     90013474339
59972724661965   WILLIAM      ODOM                         CA     90001127246
59973937491584   RUBI         LUJAN                        TX     75098889374
59973957191895   MARICELA     HERNANDEZ                    OK     90003539571
59974925161965   MARIA        RODRIGUEZ                    CA     46010559251
59974991933699   KHADYDRA     JOHN                         NC     90009569919
59975683557591   MARISELA     GARCIA                       NM     35545046835
59981233591895   ANGELA       HEARN                        OK     90014422335
59983924891587   OFELIA       HIDALGO                      TX     75088739248
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59984211151348   ASHLEY        MACHUCA CRUZ                OH     90013572111
59985891691895   BRANDON       MARION                      OK     90006208916
59985922191587   JESSE         ESTRADA                     TX     90011319221
59986153661971   JOSE          DE SANTIAGO                 CA     90014991536
59988223291895   OSCAR         ESCOGIDO REYES              OK     21060412232
59989141951586   HILDA         GARCIA                      IA     90015031419
59989198593724   KRISTINE      LAWWILL                     OH     64536671985
59991166731428   FRANK         BROWN                       MO     27558771667
59994227747968   LAURELLE      PRUNCE-XAVIER               AR     90013642277
59996478451348   SANDRA TODD   MC CLINTON                  OH     90002124784
59997244733696   MONIQUE       JARRIS                      NC     90012642447
59998548393724   BRANDON       WIGGINTON                   OH     90011765483
61111136957538   ROMAN         GARCIA                      NM     90013031369
61112176391352   ANTHONY       WOODS                       KS     90012051763
61112531991894   PENNY         STANLEY                     OK     90002955319
61113547861936   TONY          MORALES                     CA     46081205478
61116924657538   TERESA        GALINDO                     NM     90013389246
61116962331445   BRENDA        JONES                       MO     90000859623
61118392533698   YOLALYNN      MAES                        NC     90014153925
61118462663646   WANDA         WALKER                      MO     90009864626
61118992471921   DANIEL        GARCIA                      CO     90013859924
61119296657538   THOMAS        JOHN                        NM     90004972966
61119637761964   AIOTEST1      DONOTTOUCH                  CA     90015116377
61121163455973   CHEYENNE      LILES                       CA     90004421634
61121438163646   ALICE         VINCENC                     MO     27585174381
61122267631453   RICHARD       BRADY                       MO     27563992676
61122349791522   JAIR          ZAPATA                      TX     90000883497
61123272355973   GEORGE        RODRIGUEZ                   CA     90005972723
61124244991894   YANG          YAO                         OK     90014662449
61124294755973   RAMIRO        VALLEJO                     CA     48074892947
61126435691894   JACK          FRAZIER                     OK     90005724356
61126487491975   DAVID         HOWARD                      NC     90011214874
61127591833698   JONATHAN      ROSS                        NC     90014155918
61127828731453   MICHAEL       NEWTON                      MO     90012208287
61128282191975   MARTA         SANCHEZ                     NC     17011792821
61131375761964   ISABEL        AVALOS                      CA     90012453757
61131449557538   MONIQUE       GARCIA                      NM     90014574495
61134289163646   RENEE         WHITWORTH                   MO     27565802891
61134465986593   AVIMILEC      HERNANDEZ                   TN     90015594659
61134637361964   AIOTEST1      DONOTTOUCH                  CA     90015116373
61135431857538   MARIA         ACOSTA                      NM     90011374318
61136932891894   LEON          MOODY                       OK     90014769328
61137538263646   DANEIL        BECKARD                     MO     90012475382
61141286657538   DEBORA        TRYON                       NM     90013072866
61141466157538   KRISTOPHER    HAMMONDS                    NM     90014684661
61142624971921   TRISH         GARRET                      CO     90013386249
61142696163646   MARK          PETTIG                      MO     90011026961
61143422557538   RYLEE         WOODS                       NM     90013074225
61143688431453   KIMBERLY      WILLIAMS                    MO     90012986884
61143697391521   LILIANA       SELF                        TX     90014426973
61144117455975   MIRIAM        CAMPOS                      CA     90008301174
61146565861964   EDNA          ALVAREZ                     CA     90014895658
61146658491522   JESUS         RINCON                      TX     90006986584
61146737333698   LINDA         LOPEZ MARICHE               NC     90014157373
61148422561964   SHELBY        KOMADINA                    CA     46089644225
61148648931453   LAR ANN       FELLOWS                     MO     90004416489
61149517171921   MARCUS        TOREE                       CO     90015555171
61149954754128   JENNIFER      MACKLIN                     OR     47066259547
61153168471921   WILLIAM       SMITH                       CO     90009231684
61155492855975   PEDRO         GUTIERREZ                   CA     90001484928
61156637761964   AIOTEST1      DONOTTOUCH                  CA     90015116377
61157823961936   BERNARD       PUNGI                       CA     90007968239
61158125357538   ROMANA        RIOS                        NM     90014551253
61158177661936   KIFFINIE      GARY                        CA     46079651776
61158721351354   MANUEL        BERROA                      OH     90012627213
61159565431453   JONATHAN      COVERT                      MO     90015385654
61159891954128   KATHY         LINCOLN                     OR     47069538919
61162315961964   TONY          RODRIGUEZ                   CA     46052233159
61162558457538   GRACIELA      GRAJEDA                     NM     35594515584
61163573857432   ANTONIO       CAMPOS                      IN     90015355738
61163951433698   EDSON         OLIVERA                     NC     90014159514
61165323533698   SHAWN         SAWYER                      NC     90000233235
61166564941299   MARISSA       SANDERS                     PA     90010025649
61167169691975   ANDREA        WHITE                       NC     17013941696
61171447457538   HEATHER       WINSLETT                    NM     90014754474
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61171483563646   ANGELA         PEARL                      MO     90009874835
61173537855935   CYNTHIA        PENA                       CA     90003585378
61173945163646   AMY            WOOD                       MO     90015219451
61173978361964   CARLOS         ARGUELLO                   CA     90014489783
61174616855975   KAILA          CLIFTON                    CA     90012126168
61175239461558   CONEY          ROSE                       TN     90015482394
61175464755975   SIMA           EDSELL                     CA     48081724647
61175758461931   CLAUDIA        CRUZ                       CA     46030437584
61176698655973   FELICIA        ORTIZ                      CA     90012246986
61177963493753   VICTORIA       CHANNELS                   OH     90014289634
61178193772482   JUSTIN         CRISSMAN                   PA     51057241937
61178278631453   LYNDAIA        TAYLOR                     MO     27559232786
61178823761964   MARIA          QUIROZ                     CA     90004798237
61179636231468   NICK           STADLER                    MO     90014796362
61179724157538   VICTOR         DURAN                      NM     90011617241
61181359191975   LAVETA         JACKSON                    NC     17039453591
61183443131453   TEWANNA        VERNER                     MO     27520594431
61183519255975   ALICIA         ALDACO                     CA     90013265192
61184422557538   RYLEE          WOODS                      NM     90013074225
61184455361964   DIANA          CAMPOS                     CA     90015064553
61186278231453   TORI           BRANCH                     MO     90004122782
61186961251374   JONATHAN       HAY                        OH     90010319612
61186988897125   NATALIE A      CONSTANCE                  OR     90006999888
61187944857538   JOANN          GUTIERREZ                  NM     35557149448
61191238471921   ELDON          HICKMAN                    CO     90012672384
61191414891894   JUSTIN         NEAL                       OK     21084124148
61192852457538   VALERIE        HORNBEAK                   NM     90014438524
61193474751354   FRANK          VONER JR                   OH     66000614747
61193759147821   ANGELECK       BROWN                      GA     14016097591
61194897255975   ALMA LETICIA   BACA ORTIZ                 CA     90014538972
61195637761964   AIOTEST1       DONOTTOUCH                 CA     90015116377
61195761291975   CALITA         MCLAURIN                   NC     90014277612
61196385563646   GARY           MUELLER                    MO     90010363855
61196956757538   STELLA         MATTA                      NM     90013389567
61197196691522   AVLEN          GONZALEZ                   TX     75013931966
61197448251354   AMBER          CONERLY                    OH     90014644482
61198534271921   DOMINIC        MARRS                      CO     90000235342
61199751891975   RASHID         HURST                      NC     17004627518
61199828371921   ERICA          ROMERO NEWELL              CO     90002258283
61211777351354   JAIME          CAUDILL                    OH     90007867773
61212827955973   VANESSA        WILLIAMS                   CA     90004088279
61213298557432   BRANDI         SMITH                      IN     90015442985
61213433755973   CONSUELO       DIAZ                       CA     48046454337
61214341461964   PATRICIA       OLEA                       CA     90008183414
61216382271921   RICARDO        AGUIAR                     CO     90015023822
61217775163646   HENRY          REPROGLE                   MO     90011447751
61219234263646   JESSICA        LECRONE                    MO     90013442342
61224852391998   ANA            PEREZ                      NC     90002028523
61224991791522   ELIZABETH      FLORES                     TX     75009649917
61225159361964   GLORIA         CASE                       CA     90013961593
61226433991894   ARIEL          THOMPSPON                  OK     90014164339
61228355997125   RENEE          SPRAGUE                    OR     90007003559
61229489133698   PEDRO          ZAMORA                     NC     90014164891
61229494857432   EMILY          BUTRICK                    IN     90015374948
61229572261936   LUZ            BESARES ROSADA             CA     90012005722
61231731231453   CONNIE         BIVENS                     MO     90010797312
61231815891894   LAEAVEN        JACKSON                    OK     90012998158
61232337351354   VICTOR         BREAZELL                   OH     90010633373
61233633251354   KATHERINE      DEANGELIS                  OH     90014076332
61233638261964   AIOTEST1       DONOTTOUCH                 CA     90015116382
61234196171921   AUTUMN         KRAMER                     CO     32091221961
61236659331434   DIANE          IKEMAN                     MO     27564426593
61238146657538   ARTURO         AVILA                      NM     90013031466
61238424971946   EMILY          HUFF                       CO     90011594249
61241673861936   SCOTT          WALKER                     CA     46091246738
61242323485957   XIURONG        CHENG                      KY     90012683234
61243827391975   AMARYLLIAS     DIXON                      NC     90000678273
61244561791894   MATTHEW        LONG                       OK     21010005617
61245125961934   JASON          BRAZEL                     CA     90013781259
61245922791527   RAUL           OLIVAS                     TX     90005859227
61246125961934   JASON          BRAZEL                     CA     90013781259
61247152833698   BILLY          CARTER                     NC     12085381528
61247437757538   CYNTHIA        RODRIGUEZ-RODRIGUEZ        NM     90013074377
61247889291534   GUILLERMO      ORDAZ                      TX     75025488892
61248117272482   DEBORAH        CARNEY                     PA     51058841172
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61248476491362   PHIL           PETERSON                   KS     90013824764
61248678755973   SALUSTIA       CASAS                      CA     90001096787
61251739455975   ROXANNE        SILLER                     CA     48092897394
61252245431453   NIERA          MAYS                       MO     90012732454
61252871851354   DAN            PENIFF                     OH     90014858718
61252913771921   ANTHONY        ROVEDO                     CO     32026429137
61253396731453   LADONA         HOPPER                     MO     90010893967
61254331955975   MISTY          GRAY                       CA     48001093319
61254694663646   ADAM           ESCHBACHER                 MO     90015546946
61256193291894   CHANDA         WELLS-KIDDY                OK     21050481932
61258643461964   BERENIS        LARIOS                     CA     90000636434
61261147455975   MELISSA        HERNANDEZ                  CA     90014331474
61261592463646   D              GRAHAM                     MO     27577135924
61262179955975   CONSUELO       NAJERA                     CA     90008971799
61262292255973   PEDRO          HERNANDEZ                  CA     90013982922
61262934891975   MARY KAYE      WILLIAMS                   NC     17083279348
61263515291894   TRISTA         GOULD                      OK     90014165152
61263661171921   HENRY          HAAG                       CO     90013166611
61265132691894   DAVID          MCADAMS                    OK     21036901326
61269195155973   JACOB          MORAIDO                    CA     48032581951
61271133291525   OLGA           HERNANDEZ                  TX     75014401332
61271291793728   STEVEN         WIWI                       OH     90013892917
61271923255975   SARAH          GARCIA                     CA     48025569232
61272928351354   MARIE          BREHIM                     OH     90015259283
61273777991894   MARCIA         STARKS                     OK     90014177779
61274473351354   JEFF           ANDI                       OH     90013874733
61274744661936   MIA            STEWART                    CA     90012857446
61282929391894   ANDRES         SANTIAGO                   OK     21015919293
61283195191894   CONY           DIAZ                       OK     90005151951
61283868491522   JUDITH         GUERRERO                   TX     75009168684
61284179433698   PETER          WILSON                     NC     12053491794
61284636861936   JOSE           PORTILLO                   CA     90014266368
61285251133698   JOHNNETTA      STEWART                    NC     12047452511
61286633431453   KRYSTAL        REESE                      MO     90008316334
61287142471921   COURTNEY       CASWELL                    CO     90013271424
61287183531256   D-ANTHONY      SMITH                      IA     90014081835
61288638261964   AIOTEST1       DONOTTOUCH                 CA     90015116382
61288779461936   RENE           DUBON                      CA     90012857794
61289282491975   SHELENCIA      HOLMES                     NC     90014352824
61289611863646   CHARLES        BLACKWELL                  MO     90015166118
61289638261964   AIOTEST1       DONOTTOUCH                 CA     90015116382
61289995131453   DERICK         LEWIS                      MO     90003379951
61291949455975   ANDREW         TAYLOR                     CA     90014199494
61292291984392   EXAEL          ALVAREZ-LOPEZ              SC     19054692919
61292352755975   ALMA           LOPEZ                      CA     90008633527
61292384861936   RAMON          CABAL                      CA     46019603848
61293452191975   KATRINA        WRIGHT                     NC     90014574521
61294253551354   YJOHNEA        TIPTON                     OH     90014832535
61295722161936   VERONICA       NIEVES                     CA     46083957221
61297139271921   LEROY          MAESTAS                    CO     90009501392
61297583455975   ERASMO         SANCHEZ                    CA     90013755834
61311452191975   KATRINA        WRIGHT                     NC     90014574521
61313558961936   CASSIOUS       HENRY                      CA     90012575589
61315279455973   YESENIA        ARREGANDO                  CA     90007042794
61315367855975   LAURA          GUTIERREZ                  CA     48006533678
61316181891975   SHERN          ROBERTS                    NC     90014171818
61316534491975   QUANZANEYSHA   ROBERSON                   NC     90013295344
61316849171921   ALICIA         MORGAN                     CO     90015538491
61317249357432   JEREMY         WIREMAN                    IN     90015412493
61317419361936   MONICA         RUBALCAVA                  CA     46016164193
61319947563646   SHERRI         HAMMOND                    MO     27538869475
61321256151354   MIKE           ERTEL                      OH     66025852561
61321638661964   AIOTEST1       DONOTTOUCH                 CA     90015116386
61328213833698   DONALD         STOWE III                  NC     90009572138
61328638661964   AIOTEST1       DONOTTOUCH                 CA     90015116386
61329471891894   NEISHA         DUMAS                      OK     90014604718
61331738171921   RAMESES        ALVAROD                    CO     90006327381
61332142157538   DONNA          MENDOZA                    NM     90002531421
61332763925236   SHARITA        EVANS                      NC     90005797639
61332886786593   LETICIA        ZAVALA                     TN     90014368867
61332933233698   JAMES          WRIGHT                     NC     90014179332
61333381457538   SANCHEZ        HELEN                      NM     90000373814
61335963891894   LAZABIAR       MARION                     OK     90014679638
61336812657538   BONNIE         BARNES                     NM     90000288126
61337563963646   BRAD           WALTERS                    MO     90003215639
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61338316931453   MELISSA      STAFFORD                     MO     90013723169
61338946991881   JESSICA      DUTTON                       OK     90010859469
61339841861936   JOANNA       MALDONADO                    CA     90012858418
61339883533698   ANTHONY      SHEPHERD                     NC     90011068835
61339888171921   AUBRA        SAVAGE                       CO     32012238881
61341391755973   ALEXIS       AVINA                        CA     90003023917
61341617255975   RACHEL       BROCK                        CA     90014436172
61341996591975   DANA         CRUMPLER                     NC     90014689965
61342147871976   GAIL         COOK                         CO     90000231478
61342457461936   CYNTHIA      JACOBS                       CA     46006624574
61343957361936   MARK         AZHOCAR II                   CA     46030979573
61344298261964   REYNALDO     VEHENA                       CA     90011802982
61344837841272   TARA         CLANAGAN                     PA     51017208378
61345936291894   D            HARGRAVE                     OK     90004599362
61348211863646   HEIDEE       WAGNER                       MO     90015362118
61349211571921   BRANDON      SPROUSE                      CO     90013572115
61351752972482   MARY         FREEMAN                      PA     51090367529
61352191563646   STEPHEN      WILSON                       MO     90006331915
61354332691894   TERI         GRAVES                       OK     90014343326
61354682951354   STEPHANIE    FRICKE                       OH     90013186829
61356119261936   MICHELLE     CHABOLLA                     CA     46063281192
61356317881678   SEAN         PRICE                        MO     29074833178
61357526255973   ROSIE        DAVIS                        CA     48075395262
61358612771921   LORRI        RAMOS                        CO     90008606127
61358619586593   ROGER        TERUEL                       TN     90015616195
61359296955975   MARTIN       GOMEZ                        CA     90004302969
61361514471921   ANDRZEJ      HAIG                         CO     32024025144
61361569931453   ALYSSA       MABINS                       MO     27546925699
61362665191894   RACHEL       MELTON                       OK     90014106651
61362889851354   KIA          BYRD                         OH     90008878898
61363549161964   LUZ MARIA    ARISTA                       CA     90010945491
61363741655973   CHRIS        MORENO                       CA     90012537416
61364145672455   BRIANNE      LAYMAN                       PA     90015151456
61365213661964   JAMES        FEKETE                       CA     90011422136
61366316155975   CORINA       MURGUIA                      CA     90003003161
61366493855973   JAIME        GATES                        CA     48004904938
61367149663646   ALVIN        SEGAL                        MO     90014411496
61367174933698   JOSE         REGULES                      NC     90014181749
61368225147996   TOVAR        MANUEL                       AR     25096062251
61372193733698   ALLAQUA      HOWELL                       NC     90014181937
61372366155975   ESTELA       ESQUIVEL                     CA     48026453661
61372455347821   JANEY        MORGAN                       GA     90005544553
61375113471921   LAWRENCE     NIBERT                       CO     90010741134
61375187463646   ELCID        STRICKLAND                   MO     27563331874
61375327133698   CHASITY      RACHEL                       NC     12006693271
61375726555975   SAMUEL       CASTILLO                     CA     90014077265
61376691157538   JEAN         CAMACHO                      NM     90014566911
61377827291975   ANTOINETTE   HARRINGTON                   NC     90014578272
61378577961936   MUHUBO       DIRIYE                       CA     90014815779
61378852671969   PAULINE      ROMERO                       CO     90011258526
61381147455975   MELISSA      HERNANDEZ                    CA     90014331474
61382874455975   ANGELICA     JOVEN                        CA     48066218744
61383424551354   ROBERT       ARMENTROUT                   OH     90009584245
61384454263646   MELIISA      MCKAY                        MO     90010594542
61386298697125   ASHLEY       LACKSTROM                    OR     90007062986
61386836733698   JARMICA      JOHNSON                      NC     90014198367
61388138471921   ROBERT       REINHARD                     CO     90010221384
61388396451354   ALEX         SWANGO                       OH     90013213964
61392873371921   KAYLA        TERRY                        CO     90010768733
61394451457142   YOHANNES     MENGISTU                     VA     90013394514
61395559661936   MERARY       ROMAN                        CA     46060395596
61395979161964   KEVIN        MASSEY                       CA     90012889791
61397152547996   MARVIN       MAGANA                       AR     25078741525
61397973554128   JOHN         MCCOARD                      OR     90005459735
61398274161964   RICHARD      OROZCO                       CA     90011862741
61398575657432   SYLVIA       CAMPOS                       IN     90015355756
61398711991527   STEPHANIE    KITRIDGE                     TX     90012377119
61399772631453   SKILYAR      CHRISTIAN                    MO     90011127726
61411174361964   JAQUELINE    GONZALEZ                     CA     90010991743
61411388781691   SHANNLON C   MARQUEZ                      MO     90009933887
61411867361558   BILLY        MILLER                       TN     90015518673
61412111163646   DONALD       ANGLES                       MO     90012021111
61412433563646   DONALD       ANGLES                       MO     90013564335
61413435571921   CATHIA       BELL                         CO     90012344355
61413923633698   LATOYA       FULLER                       NC     90005799236
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61415174357538   ROSA         ZAMARRIPA                    NM     90013881743
61416481691894   VANESSA      VANN                         OK     90011674816
61417962863646   ANTONIO      ESCAMILLA ROGUE              MO     90015309628
61418886961936   FRED         APOCADA                      CA     90012858869
61419786754128   JAMIE        KLOTZ                        OR     47079387867
61419886961936   FRED         APOCADA                      CA     90012858869
61424584461936   RAUL         YANEZ                        CA     90013545844
61424751951354   JOHN         PHILLIPS                     OH     90003437519
61426328231453   MICHEAL      MILLER                       MO     90011693282
61427287981624   BETH         HARTZLER                     MO     29010882879
61427656171921   CHRISTIAN    HERMOSA                      CO     90014926561
61428676955975   MELISSA      BEAN                         CA     48082766769
61428715451354   DEBORAH      GREENE                       OH     90013237154
61428894386593   BRIANNA      GILMORE                      TN     90015518943
61429297561964   IVETT        GODOY                        CA     46057892975
61429495355973   JAIME        CRUZ                         CA     48073104953
61429935871921   TIFFANY      MATTHEWS                     CO     90014369358
61432254831453   PAMELA       DAVENPORT                    MO     27578172548
61432396955975   FERNANDO     SALDIVAR                     CA     90012123969
61432685161936   ALONZO       V ARELLANO                   CA     90013616851
61432997991975   SYLVIA B     HEIN                         NC     90015079979
61433134257538   SONNY        MATA                         NM     90005611342
61433959863646   MATTTHEW     AHOLT                        MO     27559979598
61434195481687   LARRY        WILBER                       MO     29060931954
61435355784392   CARLOS       AGUILAR                      SC     90011073557
61435683691975   ALBERTO      HERNANDEZ                    NC     90012036836
61437521351354   STEVEN       KLEIN                        OH     90013875213
61437841897125   ANDREW       BEAL                         OR     90007228418
61437895163646   SOON IL      BAEK                         MO     90010848951
61438243633698   JANNET       BLUE                         NC     90014202436
61439323655975   SUSAN        INTHAVONGSA                  CA     90002123236
61441954747996   PENNY        PATTON                       AR     25019689547
61441972157538   MARYLOU      LASCANO                      NM     35541209721
61441986357538   JOSE         ROMERO                       NM     90013989863
61442217547996   ANITA        SANDLIN                      AR     90013432175
61444749155973   KRISTEN      FOWLER                       CA     90013867491
61445735251354   MITZI        RANGEL                       OH     66052537352
61446543691894   TYLER        BELL                         OK     90011675436
61447288885953   VICTOR       CASTILLO                     KY     90010032888
61449644955975   NATHAN       CORDOVA                      CA     48094066449
61452595157538   DAENA        PAISANO                      NM     90011815951
61453617955973   LILIA        CERVANTES                    CA     90014916179
61453673291894   MARSHA       GRIMES                       OK     21008316732
61453947271921   SAM          MERCADO                      CO     90012369472
61454637491894   JASMINE      FLETCHER                     OK     90014166374
61455322961936   GLORIA       GARRIDO                      CA     90010663229
61455638961964   AIOTEST1     DONOTTOUCH                   CA     90015116389
61457192661936   BENJAMIN     HART                         CA     90008161926
61459445871921   JASMINE      WARREN                       CO     90015124458
61461535991975   CINSEASON    MCNEILL                      NC     90004815359
61461866285939   AMY          HILL                         KY     90013138662
61462953161936   JUAN         TORRES                       CA     46052169531
61463313691522   ADRIAN       CHAVEZ                       TX     75048793136
61464136691975   JEANIE       HOLEMAN                      NC     17005431366
61464228157538   FATIMA       PEREZ                        NM     90006652281
61464738563646   JOE          WILLIAMS                     MO     90015387385
61464938951354   JOSE         HENRIQUEZ                    OH     90015579389
61465195351376   SHARA        WOOSTER                      OH     66017491953
61465841791894   MARIA        MUNOZ                        OK     90011678417
61465982384392   NORBERTO     GARCIA                       SC     90011699823
61466827431453   TEASHA       CUNNINGHAM                   MO     90011458274
61466932633698   CHICHA       TRAVIS                       NC     90014209326
61467597584392   LAURA        GEE                          SC     90005005975
61468638961964   AIOTEST1     DONOTTOUCH                   CA     90015116389
61469254231453   RICHARD      JOPLIN                       MO     27590352542
61471522371921   STEPHEN      DAVIS                        CO     90011435223
61471592991894   AUDREY       SEELEY                       OK     90012975929
61471982351354   SANDY        ARGUETA DE LUNA              OH     90013619823
61474913141226   DAVID        GRIFFIN                      PA     51059789131
61475252791522   JULIE        MILLER                       TX     75010872527
61477157555975   LUCIANO      VILLAR                       CA     90003511575
61479432591894   YOLANDA      SANTIAGO                     OK     21061574325
61481523655975   ANGELICA     RAMIREZ                      CA     48006475236
61483358551354   BARBARA      CALDERA                      OH     66014373585
61484229761936   DAVID        SHAVER                       CA     46060212297
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61485135861936   RAQUEL       CASTELLANOS                  CA     90012871358
61489587191894   YAMILEZ      NAVARRO                      OK     90014165871
61489736555973   MARIBEL      SUAREZ                       CA     90010737365
61491171755973   DOUG         WELCH                        CA     48091251717
61494188463646   JESSICA      LIVERAR                      MO     27596721884
61495379531455   AMER         HAMDEH                       MO     90013523795
61496288451354   LLENA        MALTA                        OH     90012052884
61496567161964   ARTURO       GIL                          CA     90005535671
61497876957538   V HUGO       GONZALEZ                     NM     90008268769
61498662447821   TERRELL      MCCLENDON                    GA     90005616624
61498718271921   MARK         WHITE                        CO     32040727182
61499754755973   JEREMY       LYNN                         CA     48097257547
61511372691975   SHAINA       HORTON                       NC     17097083726
61511854631453   TAMMY        PALKO                        MO     27574168546
61512134357538   HANSEN       SHELLEY                      NM     90003801343
61512467591975   GARREN       WASHINGTON                   NC     17015924675
61514179984392   ASHLEY       LUKE                         SC     19076861799
61517347621626   BRANDON      LUCAS                        OH     90014033476
61517349455973   MARIA        MERAZ                        CA     48096643494
61517735551354   BONNIE       CALDWELL                     OH     66076157355
61518531471921   MARIA        CASTANEDA                    CO     32092425314
61519238657538   DOMONIQUE    GONZALES                     NM     90013792386
61521954561936   DANIEL       PORET                        CA     90012859545
61522642451354   DANTE        LANDER                       OH     90012376424
61523619784392   THOMASINA    BELL                         SC     90011826197
61524567757538   CLAUD        BIRD                         NM     90003055677
61527136671921   LISA         GUTERRIZ                     CO     90007971366
61527498171921   ANDREA       BUZO                         CO     90015354981
61529268155973   EVA          GOMEZ                        CA     90010862681
61529648771976   MICHEAL      QUINTANA                     CO     90012936487
61531495791894   ISAEL        TORRES                       OK     90012724957
61531737251354   MAUUEL       BERROA                       OH     90012627372
61532258761936   FERNANDO     CAJICA                       CA     46085712587
61532593671921   JESSICA      GARCIA                       CO     90012175936
61532869691894   JENNIFER     TUFTS                        OK     90010988696
61536369891894   JORDAN       CHRIST                       OK     90014833698
61536912457432   RYAN         EGAN                         IN     90015359124
61537394457538   ARTURO       CASTILLO                     NM     90011693944
61538495233698   ERICA        CAGLE                        NC     90004694952
61538827263646   CHARLOTTE    GREEN                        MO     90009978272
61539321571921   ROBERT       GUTIERREZ                    CO     32040353215
61541287355975   OFELIA       RANGEL                       CA     90015402873
61541892184392   TERESA       GARNER                       SC     19001828921
61542232961936   ANGEL        ROMAN                        CA     90015082329
61542327771921   MORAN        ELDAR                        CO     90004323277
61542739357538   GONZALEZ     MARTIN                       NM     90002997393
61544123591894   CLYDE        MCCALL                       OK     90013421235
61544533955993   MARTHA       MOLINA                       CA     48096055339
61548568771921   TRE          VAUGHN                       CO     90013705687
61548686491527   ZAIRA        FRAIRE                       TX     90014146864
61549486855973   RUSSELL      SIMMONS                      CA     90011684868
61552126431453   SHATONYA     QUALLS                       MO     90015171264
61552544833698   MICHELLE     BROOKS                       NC     90014215448
61553123691527   JEANNIE      MEZA                         TX     75017731236
61553258691923   SAYE         SENDOLO                      NC     90005632586
61553645191894   MORRIS       WILLIS                       OK     90014166451
61553811263646   JAUN         RANGEL-ACOSTA                MO     27592538112
61554194555975   JUAN         MEZA                         CA     90013311945
61554276391975   TINA         WILLIAMSON                   NC     90013282763
61554592433698   KNEEKA       BROWN                        NC     90014215924
61555144261936   LUIS         LOPEZ                        CA     90008101442
61555618291522   ELVIA        SILVA                        TX     90009926182
61556892184392   TERESA       GARNER                       SC     19001828921
61557662561936   PRISCILLA    MARTINEZ                     CA     90007896625
61559642861936   PERLA        HERNANDEZ                    CA     90012876428
61561754131453   LAVONDA      GRAY                         MO     90011697541
61562546844335   PAYGO        IVR ACTIVATION               MD     90012765468
61563245486593   BERTHA       HERNANDEZ                    TN     90013852454
61563471731453   JOE          BOXER                        MO     27578424717
61563569171921   MELINDA      BAEZ                         CO     32070355691
61565467371921   SONJA        LAMPERT                      CO     32020114673
61566235663646   JENNIFER     BROOKS                       MO     90013922356
61566613457538   NICHOLSON    DEBORAH                      NM     90013116134
61566686455973   FRANKIE      DIAZ                         CA     90008026864
61566855191894   JON LUCAS    CARRILLO                     OK     90014788551
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61566869851354   JENNIFER      EVANS                       OH     90011318698
61567544361936   JOSEPH        LOPEZ                       CA     90003815443
61567722191894   TERESA        BASQUEZ                     OK     90012147221
61567738755973   OTONIEL       LEANOS                      CA     48030337387
61568257661936   KAREN         MILLER                      CA     90011432576
61568914355975   SHANNON       GENTRY                      CA     90001579143
61569691272498   CAMERON       MCCLURE                     PA     90001586912
61569784431453   FAITH         CULLEN                      MO     90011697844
61573123855973   EDDIE         MARTINEZ                    CA     90012871238
61573212457538   LIZ           HERNANDEZ                   NM     90011702124
61573735357538   LAUREN        SPILSBURY                   NM     90015097353
61574858661966   JULIE         CHAVEZ                      CA     90005608586
61575675391522   SILVA         MARTHA                      TX     90003656753
61575887691923   YESENIA       MENDOZA                     NC     90001348876
61578582757538   JUAREZ        VALERIE                     NM     35575665827
61578956191975   SANDRA        WALL                        NC     90013829561
61579435271921   CHAROLLETTE   CLARK                       CO     90013964352
61579933191894   HEATHER       BRADLEY                     OK     21042209331
61582489731453   FELICIA       JOHNSON                     MO     90014884897
61584199151354   GILMAR        MONASTERIO                  OH     66094261991
61584321257432   PAYGO         IVR ACTIVATION              IN     90014263212
61586547691975   JACINDA       JOHNSON                     NC     90013265476
61586566655973   STEPHANIE     TORRES                      CA     90011425666
61586775161964   SANDY         LEMONI                      CA     90014707751
61587526561964   GLORIA        ROBLES                      CA     90010675265
61588531251354   CHARLES       LAWSON                      OH     90012745312
61589638961964   AIOTEST1      DONOTTOUCH                  CA     90015116389
61591484457135   ARMANDO       CHAPAS                      VA     90010804844
61593779591522   LETICIA       FUENTES                     TX     90002167795
61595639161964   AIOTEST1      DONOTTOUCH                  CA     90015116391
61596641361964   JOSE JESUS    CARMONA                     CA     90010036413
61597249131453   KIMBERLY      HAMILTON                    MO     27574692491
61597437551354   DEBORAH       SLAYBACK                    OH     66010174375
61599922557538   SANDRA        CASILLAS                    NM     90011709225
61612256855975   MARISELA      RODRIGUEZ                   CA     48034662568
61614383661964   JOSE ABEL     AGUAYO                      CA     90005743836
61614576863646   CRYSTAL       HANLEY                      MO     90013185768
61615568271921   ANTHONY       DEACON                      CO     32061445682
61615597157538   CAMBREY       JOHNSON                     NM     90013585971
61616429291522   ANGELA        HERNANDEZ                   TX     75024434292
61616491651354   CARRIE        RICHARDSON                  OH     66098844916
61616656257538   CARMEN        RIVAS                       NM     90013176562
61616723691975   JERELL        PRINGLEY                    NC     90015177236
61617259961964   ERNEST        SILVA                       CA     90004722599
61617619631453   SUNSHINE      CALDWELL                    MO     90014506196
61617754571921   JOE           NIEMAN                      CO     90010967545
61618484531453   TAMARA        DUROSO                      MO     90003574845
61622179833692   ZULMA         GOMEZ                       NC     90011461798
61622295455975   PHILLIP       BERNAL                      CA     48040712954
61622297641229   JAMES         INKS                        PA     51042262976
61622579857538   JOHN          LANDRUM                     NM     90012735798
61623745891975   TANYA         ALSTON                      NC     90008767458
61625925257538   PABLO         HORCASITAS                  NM     90014819252
61625938163646   RICARDO       TORRES                      MO     90006789381
61626276584347   NAAJIYA       COAXUM                      SC     90005502765
61627258391894   EDDIE         WATSON                      OK     90010992583
61628687131453   KITCHEN       ERIC                        MO     90012386871
61629223591362   VELIA         HURTADO                     KS     90009132235
61629836991975   JONATAN       RUANO                       NC     90012958369
61629992155973   LEAH          MUNOZ                       CA     48079859921
61632145757538   LUIS          ROSALES                     NM     90004981457
61633225963646   JENNIFER      CALLAWAY                    MO     90014372259
61633295671921   BRANDON       SMITH                       CO     32023752956
61633365961964   JULIO         DIAZ                        CA     90012833659
61633639691894   JOSHUA        STACY                       OK     90012676396
61635354731453   ANTOINETTE    OSBY                        MO     90012673547
61635514263646   MELISSA       COWIN                       MO     27564215142
61635569755973   CARMEN        UBIEDO                      CA     90002665697
61635799855975   VANESSA       CERVANTES                   CA     90011967998
61636343691894   RUBEN         REYNOLDS                    OK     90007543436
61636926857538   CHELSIE       STEWART                     NM     90013629268
61637783871921   JOHN          VENEGAS JR                  CO     90013457838
61638651155973   FRANCISCA     PATINO                      CA     90014856511
61639154871921   LINDA         RIDGES                      CO     90013611548
61639594771921   SCOTT         NICKEL                      CO     90011525947
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61641181363646   JAIMIE       ESCUDERO                     MO     27550921813
61641783393792   JAIME        WATSON                       OH     90011727833
61643853455973   MARY         GRUBERT                      CA     90013788534
61644735263646   JACKIE       MCKINNEY                     MO     90003217352
61645628361936   LUIS         GALINDO                      CA     90002626283
61645697363646   PETER        ANDERSON                     MO     90015136973
61645712451354   PEARL        ANDERSON                     OH     90011487124
61645719491894   PEMIGIO      PERALTA                      OK     90014167194
61645745393741   CARL         BALLACHINO                   OH     90007287453
61645756591894   CHER         THAO                         OK     90000487565
61649563471921   VINCE        CAFARCHIA                    CO     32084915634
61651569555975   RUBEN        ESPONIZA                     CA     48001125695
61651976992844   CHRIS        PALACIO                      AZ     90015259769
61653374697122   GERARDO      RUIZ                         OR     44510953746
61654471557538   KARI         LEE                          NM     35547684715
61654639161964   AIOTEST1     DONOTTOUCH                   CA     90015116391
61657128384347   ALEXYS       BROWN                        SC     90006841283
61658249471921   JANICE       TRUJILLO                     CO     90000852494
61661199631459   SHANNON      FOSTER                       MO     90008831996
61661724955975   JAVIER       MEZA                         CA     90011917249
61661766497125   JOSHUA       CASTILLO                     OR     90015117664
61662851251354   JOSE         BERRIOS                      OH     90010818512
61663321133698   KIMBERLY     BYERS                        NC     12008423211
61665666691527   COSME        ALVARADO                     TX     75017726666
61666362933698   JAPUAN       HARDIAL                      NC     90014743629
61667298333698   JESSE        MCKINNEY                     NC     90014242983
61667494531453   RANDY        ROBINSON                     MO     90011004945
61668426161964   ARACELI      LOPEZ                        CA     46008934261
61669331855973   DANIEL       CEBALLOS                     CA     90012903318
61671765555975   ANGELO       SANCHES                      CA     48021887655
61671948257538   PALMIRA      PACHECO                      NM     90013709482
61672127361964   TAMARA       CADE                         CA     46090781273
61673453157538   CRYSTAL      MANCHA                       NM     90000764531
61673836947958   ELIZABETH    GARIBALDI                    AR     25088048369
61674217957538   ESMERALDA    GARDEA                       NM     90013232179
61674871454128   MATT         HINER                        OR     47042888714
61675725491975   JACQUELINE   LITTLE                       NC     90005327254
61676159863646   JESSICA      WINFORD                      MO     90013751598
61676697763634   CHIRS        REINEKE                      MO     27558516977
61678616333698   RAYMOND      JONES                        NC     90008546163
61679135561964   SHERI        MERCADO                      CA     90001051355
61681583855975   LUIS         VENTURA                      CA     48053265838
61682249561964   BERTHA       RAMOS                        CA     90013532495
61684893163646   KEITH        HENON                        MO     90008438931
61686132857538   IVAN         CARRILLO                     NM     90001861328
61686513957432   PAYGO        IVR ACTIVATION               IN     90011465139
61686639161964   AIOTEST1     DONOTTOUCH                   CA     90015116391
61688881691975   FAUSTINA     ORONO                        NC     17067578816
61689658331423   GINA         BODEN                        MO     27553746583
61692131891975   JOE          ROGERS                       NC     90003031318
61692299757538   LUISA        MADRID                       NM     35559562997
61692585831453   ORA          GRANT                        MO     90013155858
61693262857538   MELISSA      WALKER                       NM     90013232628
61693932161964   ALVARADO     GUSTAVO                      CA     46074039321
61694185547996   JOSHUA       FARRIS                       AR     25093771855
61694498331453   KENEITHIA    WATSON                       MO     90014744983
61695531555975   JOSE         CISNEROS                     CA     90012495315
61696135455975   VERONICA     GARCIA                       CA     90010341354
61696482963646   KAYLA        BORDERS                      MO     90014734829
61697862871942   DULCE        GALICIA                      CO     90008798628
61698727751354   JANISE       TIPTON                       OH     90011437277
61698786754128   JAMIE        KLOTZ                        OR     47079387867
61698929361936   FRANCISCO    VASQUEZ                      CA     90010199293
61716235755975   BRENDA       LAMB                         CA     48017472357
61717371463646   TAMMY        JUNGE                        MO     90001893714
61722262451354   ANGELA       SMITH                        OH     90008202624
61722712563646   KENNY        FETSCH                       MO     90014937125
61722866163646   PAYGO        IVR ACTIVATION               MO     90014948661
61724238133698   OCTAVIO      AGUILAR                      NC     90015042381
61724995463646   TIMOTHY      JANDA                        MO     27568119954
61725684571921   GAIL         ROSADO                       CO     32039746845
61727331791522   CARMEN       MUNOZ                        TX     75086993317
61729425821731   TYLER        ROSENKOETTER                 IL     90015504258
61729947361954   MARC         ALVARES                      CA     90003959473
61731123555975   JOSE         GARCIA                       CA     90008001235
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61732298255975   GAUDENCIO     BERNAL                      CA     90007372982
61736413857538   ORLANDO       NEGRON                      NM     90015324138
61736683155973   CHRISTOPHER   MITCHELL                    CA     90007416831
61736837255928   EVA           LUNA                        CA     90005188372
61737776155975   ROSA          ROQUE                       CA     90007607761
61737833791894   MICHAEL       RAMBY                       OK     21049678337
61737969361936   MOHAMED       HASSAN                      CA     90014819693
61739471791521   BERTA         ZARZOZA                     TX     90012144717
61741124571921   VITORIA       REYES                       CO     90014531245
61743535155973   DANIEL        SANCHEZ                     CA     90012555351
61744122633698   ROZELIAMI     MILLER                      NC     90011341226
61745188261964   COURTNEY      LEWIS                       CA     90011791882
61746476471921   YVETTE        LEMUEL                      CO     90010034764
61746729731453   MICHELLE      DAVIS                       MO     27574897297
61747626851354   ANNE          REID                        OH     66028256268
61748188563646   TERESA        EVOLA                       MO     90011161885
61749916161936   BENJAMIN      BARNETT                     CA     90012869161
61751613791894   JOSE          GARCIA                      OK     90014256137
61752668857538   MARIA         ESCUDERO                    NM     90013416688
61752785991522   GUADALUPE     VILLALOBOS                  TX     90002167859
61753865763646   DIANE         MCGLYNN                     MO     90009788657
61754168733698   MARTIN        SALAZAR                     NC     12092621687
61754399255973   DREW          VANDEMARK                   CA     90013543992
61755317633698   ANTWANNIA     ROBERS                      NC     12093453176
61757563433698   JOSEPH        ROBERTS JR.                 NC     12090185634
61758268147821   GARY          RICHARDSON                  GA     90005732681
61759623163646   FRANK         FINOCCHIARO                 MO     27506716231
61761936855973   CINDY         ONSUREZ                     CA     48051129368
61762323191894   JOAQUIN       RUIZ                        OK     90013423231
61762868855941   BALDOMERO     PINEDA                      CA     90008458688
61762952471921   ASHLEY        GOODE                       CO     90013419524
61763392371921   JONATHAN      PEARSON                     CO     90013433923
61763839391942   ROBERT        ARRINGTON                   NC     90013928393
61765657971921   COSME         GOMEZ                       CO     90004156579
61765665571921   ROSARIO       RUIZ                        CO     90014276655
61766456371921   MONICA        SAUCIER                     CO     90013404563
61766573291975   WANDA         POSEY                       NC     90003225732
61767119491975   CATHY         MERIDETH                    NC     90013501194
61769622755975   MARCOS        CANABA                      CA     90012126227
61769914255975   ELOI          MARIN                       CA     90009259142
61772963755993   MIGUEL        MEJIA                       CA     90011659637
61776168731453   JAMES         LOEFFLER                    MO     27516481687
61776235884392   NICOLE        SIMMONS                     SC     90008362358
61776994751354   CYNTHIA       PELIOTES                    OH     66014099947
61778745557538   DEVAN         NIETO                       NM     35583327455
61779421931453   DWAN          MEEKS                       MO     27590354219
61781283571921   ANDREA        LEHL                        CO     32004852835
61782558186593   JONNATHAN     FIGUEROA                    TN     90015515581
61783786791894   MILTON        MARQUEZ                     OK     90012347867
61784864831453   JOSEPH        FONVILLE                    MO     90010608648
61785474391522   JUNIOR        SAENZ                       TX     75011304743
61785941661964   NORMA         MEDINA                      CA     90013749416
61786298391527   MIGUEL        GUZMAN                      TX     90010732983
61786926231453   ANTIONETTE    HARRIS                      MO     90004069262
61788344671921   DANIELLE      RUNGE                       CO     32034903446
61788384691958   NATALIE       BASS                        NC     90007093846
61791645361964   GILBERTO      BELTRAN                     CA     90013176453
61791793991857   ANGELA        WALD                        OK     90014267939
61792134791894   ANGELICA      BERNAL                      OK     90015181347
61792271291552   JOHN          PETERSON                    TX     75094712712
61792311361936   CAREN         LUKE                        CA     90013703113
61795442131453   LIONEL        COLLINS                     MO     27590354421
61796311991975   MARGARITA     GARCIA                      NC     90003973119
61797261555973   ORLANDO       ROSALEZ                     CA     90008712615
61799835861936   JOSEPHINE     THOMAS                      CA     90012878358
61812496571921   HEATHER       BOLES                       CO     90015594965
61813458433698   ANA MARIA     BERNARDINO                  NC     90013084584
61816485791534   MYRNA         SANCHEZ                     TX     90008644857
61816679461936   RYAN          FULKERSON                   CA     90003426794
61819131651354   PAUL          GOHMAN                      OH     90013551316
61819333771921   LIZEBETH      BUSTILLOS                   CO     90003533337
61819541425236   DECKY         WARREN                      NC     17097755414
61821356771921   KENNETH       LISTER                      CO     32096763567
61821726161966   LIZBETH       GUERRERO                    CA     90013397261
61821854961964   MARCOS        CLAROS                      CA     90014278549
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61823842584347   EBONY            GREEN                    SC     90013468425
61825351657538   JUAN             JIMENEZ                  NM     90013233516
61826427261936   SHELDON          MILLER                   CA     46014834272
61827759655975   KIM              RUIZ                     CA     90012977596
61829249991894   JAMES            CAMPBELL                 OK     90011692499
61831895861964   TINAMARIE        HERRERA                  CA     90011358958
61833231557538   STEPHEN          SWAIN                    NM     90013632315
61834191784392   JESSICA          PYE                      SC     90010051917
61835282855973   LUIS             CONTRERAS                CA     90009442828
61835639161964   AIOTEST1         DONOTTOUCH               CA     90015116391
61836228455973   ASHLEY           MARTIN                   CA     90014782284
61836856491894   RICHELLE         KELLEY                   OK     90014168564
61837533263646   KATHERINE        SARGENT                  MO     90008835332
61838359391894   FLORE DE MARIA   ESCALERA VICENCIO        OK     90013423593
61838494157538   JANET            CAMPBELL                 NM     90013664941
61841534431453   DAVID            LEE                      MO     90015125344
61843883691894   RAYMUNDO         RODRIGUEZ                OK     90014168836
61844513831453   MAURICE          JONES                    MO     27584395138
61845775161964   SANDY            LEMONI                   CA     90014707751
61846361391894   MAURO            CASTILLO                 OK     90013423613
61847651871921   WALTER           PAYTON                   CO     32009026518
61852223955973   CHASTITY         BURLESON                 CA     90013892239
61852385971921   JOSE             RIVERA                   CO     90013603859
61854296361936   JOEL             CAMACHO                  CA     90009772963
61855593477351   DIANE            ROBERSON                 IL     20514805934
61855665691522   JAVIER           HERNANDEZ                TX     90005516656
61855868633698   HOLLIIE          STEVENS                  NC     90013108686
61856471161964   SIV              SWAY                     CA     46004384711
61859958963623   RON              RALEIGH                  MO     27595709589
61859968786593   KHRYSTYNE        NESBITT                  TN     90015519687
61861193361936   JESUS            ALVARADO                 CA     46027791933
61861318554155   NILESHNI         NARAYAN                  OR     90012513185
61861732831453   LAMIKA           BOXX                     MO     90013147328
61861887355973   RACHEL           HARLOS                   CA     48058278873
61862368993753   MIKE             BELLENGER                OH     90003573689
61864194257538   MANUEL           VALANDRAN                NM     90011761942
61864335731455   TONY             DUKES                    MO     90001313357
61864825891894   CIERA L          MILLER                   OK     90015038258
61865175663646   HELEN            JONES                    MO     90014991756
61865246957538   YOLANDA          GONZALES                 NM     90008462469
61868629597125   MIGUEL           MARTINEZ                 OR     90007196295
61869383271921   NICOLE           SANDOVAL                 CO     90012933832
61869659531453   FAUSTINO         GODOY                    MO     90015376595
61869868561936   MARCEL           WILLIAMS                 CA     90012728685
61872617955973   LILIA            CERVANTES                CA     90014916179
61872945451354   BEONCA           HOWELL                   OH     90013749454
61874951971921   HOLLY            SMITH                    CO     90012899519
61875157551354   STEPHANIE        ADAMS                    OH     90003301575
61875263661936   ALMA             GUTIERREZ                CA     90013672636
61875744161936   ALMA             GUTIERREZ                CA     46034697441
61876522771921   JOHN             TADDY                    CO     90012555227
61877531961964   TIMOTHY          JOHNSON                  CA     90011105319
61878413955973   BRITTENY         RICHEY                   CA     90013364139
61878634655973   RON              ROCHA                    CA     90014866346
61881235584392   HECTOR           SANTES                   SC     19052352355
61881497531453   DUAN             BROOKS                   MO     90014014975
61881635391894   JERMAINE         GUNN                     OK     21005416353
61882333233698   RENEE            GIBBS                    NC     90011353332
61884937333698   DANIELLE         WILLIAMS                 NC     90002469373
61885888961936   ROOSEVELT        DELANS                   CA     90012878889
61886616757538   NARTHA           CONTRERAS                NM     90013656167
61887639961936   CYNTHIA          MACKEY-MACKWRIGHT        CA     90014586399
61888281661964   SEAN             WEBER                    CA     90013292816
61888857771232   SARA             HARTMANN                 IA     90011088577
61889561191894   STACEY           GOAD                     OK     21030315611
61891639161964   AIOTEST1         DONOTTOUCH               CA     90015116391
61892133961936   EQUIHUA          BENICIO                  CA     46017171339
61892678157538   SANTA            GARCIA                   NM     35583446781
61894933855975   ALEJANDRA        SAAVEDRA                 CA     90014899338
61895336731453   SHAWN            PREWITT                  MO     90012243367
61895491272482   DARLYN           GUNTER                   PA     51013974912
61895626855975   JEFF             ADNEY                    CA     48060946268
61896335491975   WENDY            HARDIE                   NC     90008063354
61896642861964   MIGUEL           PEREZ                    CA     90010996428
61898175663646   HELEN            JONES                    MO     90014991756
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61899118684347   RONIQUE      PARKER                       SC     90006891186
61899474463646   DAWN         WRIGHT                       MO     90011044744
61913696831453   ANTONIO      TOWNSELL                     MO     90013706968
61913737355973   JOEY         MORA                         CA     90011867373
61914999155975   ANDREA       STEELMAN                     CA     90012299991
61916757655975   ANABELL      BRAMBILLA                    CA     90008157576
61919397157538   MARK         MENDOZA                      NM     35526753971
61919748263646   KALEE        SCHELL                       MO     90013197482
61922384191989   MALIKA       DUHART                       NC     90004043841
61922388291894   TARIKA       MARKHAM                      OK     90014833882
61925668271921   FRANCHESA    BARGER                       CO     90004346682
61926974191894   DEBBY        EWALDT                       OK     21066159741
61927745855973   JOSE         RAMIREZ                      CA     48063647458
61927922361936   ANDRES       CASTANEDA                    CA     90012879223
61928956255973   SANTA        VILLAGOMEZ                   CA     48014679562
61931371661936   LESLIE       CASTRO                       CA     90010663716
61932572961964   JUAN JOSE    LEON                         CA     46009155729
61933323157538   JOSEPH       NIETO                        NM     90013723231
61933924671921   LANCE        MELLEM                       CO     90011299246
61933926961936   SANDRA       RICHMOND                     CA     90012879269
61934349291522   CARLA        MUNOZ                        TX     75053703492
61935248563646   TRACI        STEWART                      MO     90011322485
61935759133698   CYNTHIA      JOLLY                        NC     90014277591
61935822857538   ESTHER       LOPEZ                        NM     90011768228
61936817563646   DANA         THORNBURGH                   MO     90013018175
61937464755975   SIMA         EDSELL                       CA     48081724647
61937824833698   RAKEMA       WILLIAMSON                   NC     90013108248
61938669661936   JUAN         RAMIREZ                      CA     90007646696
61939293725236   KIMBERLIN    HUMPHREY                     NC     17028742937
61939887357538   GREGORY      DAVIS                        NM     90011768873
61941215751354   WILLIAM      BROCK                        OH     90012602157
61941561157538   JOSE         CHAVEZ                       NM     90013665611
61943119972482   EDWARD       HETRICK                      PA     51039881199
61943298951354   DONNA        RUDD                         OH     90015002989
61945488691894   RAQUEL       LANE                         OK     90011074886
61946849457538   JAKKI        TURRIETA                     NM     90013088494
61947145847821   ISRAEL       FINCH                        GA     90005411458
61947541555973   DANIEL       ROSALES                      CA     90012675415
61947687731453   BILLY        JOHNSON                      MO     90015426877
61949713661961   RONALD       COCA                         CA     90004117136
61951559871921   DOMINIQUE    MARSHALL                     CO     90010885598
61952478771921   ERNESTINE    GOMEZ                        CO     90010564787
61952813855975   GABBY        GODOY                        CA     90005868138
61953275571921   ELIZABETH    GANN                         CO     90015112755
61953561455973   GLENDA       RODRIGUEZ                    CA     90014435614
61954671971921   JAMES        BURKE                        CO     32015316719
61956356455973   TEODORO      CAMPOS                       CA     90011453564
61956849457538   JAKKI        TURRIETA                     NM     90013088494
61957325547821   NANCY        CHIPPS                       GA     90000343255
61957988357538   DAVID        CHAVEZ                       NM     35569559883
61958331161936   JAMES        MORAN                        CA     90005753311
61959372761936   SUSAN        PHELAN                       CA     46091933727
61959648531453   CAROL        HINKLE                       MO     27513306485
61961812571921   BROOKLYN     RUSH                         CO     90014638125
61963188161964   LEO          LOWE                         CA     90013961881
61963294355975   MARIA        CRUZ                         CA     90014702943
61963851357538   KRISTY       GONZALEZ                     NM     90013088513
61966182691894   STANLEY      BUFORD                       OK     90006071826
61966732155973   DAWN         DUGGER                       CA     90008397321
61967581447821   RONTAVIOUS   WILLIAMS                     GA     90005015814
61967752663646   DAKOTA       FRANKEBBURG                  MO     90015287526
61968864991894   HENRIETTA    OWENS                        OK     90014178649
61969414355973   ISAMAR       GUTIERREZ                    CA     90013724143
61969697172482   JOHN         SALATI                       PA     90010896971
61969925991894   LARRY        AVEY                         OK     90014179259
61972664661936   VIVIAN       XAYABUNH                     CA     90010346646
61973884391894   MARY         LIMA                         OK     90014178843
61973898571921   DAVID        MARTIN                       CO     90001498985
61974837761964   IRMA         TORRES                       CA     90013638377
61975118547821   SHANTA       BRISCOE                      GA     90010071185
61975234651354   BETTY        LITTLE                       OH     66006042346
61975912657538   PARRA        STEPHANIE                    NM     90006689126
61976789291522   LETICIA      GODINEZ                      TX     90006967892
61978747284392   SHAWN        GRIMM                        SC     19086557472
61979943947821   JAMIE        THOMAS                       GA     14035299439
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61981748971921   GUILLERMO    ESCOBAR                      CO     90005467489
61981867555973   DANIEL       SWAFFORD                     CA     48000808675
61982212361964   OLGANIDIA    VILLA                        CA     46039572123
61982245555975   LUCILA       GUZMAN                       CA     90013992455
61983593651354   JACOB        FLOWERS                      OH     90012515936
61983796183227   NORMA        VEGA                         VA     81023327961
61984219151374   ROBERT       PARROTT                      OH     66047692191
61984569471921   NATASHA      EDWARDS                      CO     90012165694
61984628791894   MELISSA      ROE                          OK     90011696287
61984699961964   OLGA         SKUBSKI                      CA     90012856999
61985623861964   MARVIN       FLORES                       CA     90012896238
61986912561936   TAIT         GUTHRIE                      CA     90009919125
61986989355975   ISAAC        SANCHEZ                      CA     48057849893
61987826957538   VICTOR       PINON                        NM     90011778269
61989228533692   TREASURE     BROWN                        NC     90014802285
61993168757538   MARIA        DE LA ROSA                   NM     35560701687
61993389771921   AMBER        HIIESALU                     CO     90007813897
61995663951374   JAMES        WILBURN                      OH     90013376639
61996141133698   DIAMOND      VALENTINE                    NC     90014301411
61997468485949   SHARON       APPLEGATE                    KY     90014094684
61997497591894   AERIAL       ALBERTY                      OK     21029184975
61998193251354   RANDALL      DEANGELIS                    OH     66088991932
61998954857538   ALBERTO      LINO                         NM     90011779548
61999466131453   JUDY         SMITH                        MO     90015234661
62112274251354   CHARLES      MILLER                       OH     90014832742
62112996455977   RICHARD      BUNTIN                       CA     90014289964
62113458963646   JOSUE        MURILLO-COLON                MO     90013804589
62114121361964   VICKY        RICE                         CA     90014791213
62114775161964   SANDY        LEMONI                       CA     90014707751
62115612455977   LONDA        ORNDUFF                      CA     49093206124
62116113755977   BOUALAY      PHETXOUMPHONE                CA     49001381137
62116666784392   SARAH        BROWN                        SC     19061956667
62117347857538   JESUS        GOMEZ                        NM     90005423478
62117788354121   EFREN        AVILES                       OR     90013197883
62117951163646   DAWNA        KUNZ                         MO     90011799511
62118588354121   CORY         THODE                        ID     90012815883
62121131697121   TOM          LEMOX                        OR     90005391316
62122223761964   JOSE         GONZALES                     CA     90009342237
62122365284392   SIDNEY       GOVAN                        SC     90012113652
62122732681621   LARON        TAYLOR                       MO     90011727326
62122836197121   PEDRO        LOPEZ                        OR     90008588361
62124399457538   LUIS         GRANADOS                     NM     90014483994
62125741181621   LUIS         SANTOS                       MO     90011727411
62125833155975   BREANNA      GARICA                       CA     90011328331
62126623597121   GABRIEL      HERNANDEZ ORTIZ              OR     90011916235
62126834263646   WILLIAM      GORDON                       MO     90007358342
62127375854121   CINTHIA      ROMERO                       OR     90010083758
62127869255973   SHAWNA       RUTLEDGE                     CA     90007518692
62128423354121   ROSEMARY     WHEELER                      OR     90010084233
62129489455975   RICHARD      VIRRUETA                     CA     48043514894
62131257257544   ANETTE       DUNN                         NM     90013752572
62131272261964   TONY         JUMAQUIO                     CA     90014102722
62131523954121   FERNANDO     VILLAS                       OR     90012365239
62131552355977   JAMIE        WARREN                       CA     90009635523
62133738251354   DAVID        RUCKER                       OH     66074157382
62134792463646   PAYGO        IVR ACTIVATION               MO     90013427924
62135244697121   SETH         HARRIS                       OR     90006902446
62136858955973   JULIO        BARAJAS                      CA     48061868589
62136967855977   THOMAS       WIGGIN                       CA     90009209678
62137785697125   TRACI        KARGE                        OR     90001917856
62137821155973   MORMA        MERAZ                        CA     90004058211
62141257257544   ANETTE       DUNN                         NM     90013752572
62141353697125   MR BRIAN     CEK                          OR     90011343536
62142151155975   ESAUL        CEBALLOS                     CA     48006261511
62142837954121   MOSES        HERNANDEZ                    OR     90013328379
62143271454121   VICTORIA     ROBINSON                     OR     90010212714
62143766297121   MANUEL       CASTRO JIMENEZ               OR     44037957662
62144667184392   COURTNEY     IRIZARRY                     SC     90013736671
62145831957544   MARIA        SOLIS                        NM     90001488319
62146586933698   CATHY        HOPKINS                      NC     90014545869
62146859481644   JERI         WATSON                       MO     90014898594
62147219461936   CONCEPCION   PEREZ                        CA     90014572194
62147479425236   DENIRO       WILSON                       NC     90014714794
62149198655977   NICOLE       WILLIAMS                     CA     90014301986
62149756651384   EMMA         BAKER                        OH     90012467566
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62153565554121   VICENTE       SILVA                       OR     90013655655
62153636351361   DAN           HORNSBY                     OH     90013706363
62155967551354   TAMARA        MCINTOSH                    OH     90012959675
62156931755973   BETTY         BEJAR                       CA     90000109317
62156961561936   SEBASTIAN     QUINIONES                   CA     90008149615
62157678254121   STEPHEN       MEEKS                       ID     90015296782
62158979657538   LORI          VALLES                      NM     90010889796
62159638855977   JUSTIN        DOWNS                       CA     90008366388
62159992554121   MARK          WILLIAMS                    OR     90013879925
62161313455973   LUCINA        LARA                        CA     90007773134
62163243954121   RAQUEL        GARZA                       OR     90010572439
62163496681644   JOSHUA        SULLIVAN                    MO     90013584966
62163788354121   EFREN         AVILES                      OR     90013197883
62164741633698   ELVIA         NOYOLA                      NC     90011977416
62165225557538   JIMMY         GIRON                       NM     90013702255
62165228197121   FLORENCIO     RAMIREZ                     OR     90015082281
62165699654121   ROBERTO       PARRA                       OR     90015106996
62166187957538   LUIS          MUNOZ                       NM     90013781879
62166393154121   ELIANA        RAMIREZ                     OR     90010593931
62166686155975   DAVID         TAPIA                       CA     90013826861
62166856697121   MARTHA        PEREZ                       OR     90003348566
62167758861936   MARIA         RODRIGUEZ                   CA     90014837588
62168391455973   KATHERINE     LYNCH                       CA     90006543914
62168742961936   CUAYHTEMOC    ASCENCIO                    CA     90013317429
62169223263646   SHEILA        SAVISKY                     MO     90013982232
62169226357538   IVAN          ARAMBULA                    NM     90011802263
62172387133698   NAUTICA       BUTTERFIRLD                 NC     90010373871
62172614954121   RANDALL       COSTNER                     ID     90011146149
62173484861936   RUTH          TADEO                       CA     46058304848
62173579397121   MARIA         RIESTRA                     OR     90015115793
62174385257544   SANTIAGO      MIRABAL                     NM     90015163852
62174416557538   SYLVIA        ORTIZ                       NM     35550144165
62174577961936   JACQUELINE    ANAYA                       CA     90011865779
62174835761964   AMELIA        ESCOBAR                     CA     90011868357
62175429291363   EVERARDO      GONZALEZ                    KS     90005974292
62176651755975   KRIS          LINDLEY                     CA     48060686517
62176812781621   DARRIELLE     BROWN                       MO     90011728127
62177154897121   MARIA         RAMIREZ                     OR     90015151548
62178315684327   STANLEY       MACDOUGALL                  SC     90008183156
62178865954121   MARIA         RUIZ                        ID     42003908659
62179774757544   JOHN          QUINN                       NM     35523647747
62181244161964   VERONICA      VILLAFANA                   CA     90013452441
62181755863646   BRANDI        WREN                        MO     27512027558
62183381291522   ORTENICA      GARCIA                      TX     90014473812
62183414457544   JOSH          HERNANDEZ                   NM     90009084144
62183478881678   VONDA         MAIDEN                      KS     90009094788
62184413154121   LYNN          WROBLEWSKI                  OR     90011344131
62186286297121   CHRISTOPHER   STEDMAN                     OR     90005672862
62187154361936   ROSA          ARROYO                      CA     90002061543
62187263491525   JOSE          LOZANO                      TX     90006632634
62187612457544   PEDRO         GALINDO                     NM     90015146124
62187854454121   MAYRA         ESTRADA                     ID     90013948544
62189431257538   DORA          VALDEZ                      NM     90015014312
62189611554121   TOMASA        TRINIDAD                    OR     90013966115
62189788354121   EFREN         AVILES                      OR     90013197883
62191182391522   MELISSA       LOPEZ                       TX     75072041823
62191326154121   MARIA         CASTLLAS                    ID     42007483261
62193161755973   DANIEL        JONES                       CA     90013401617
62193173755973   BERTHA        DURAN                       CA     90014251737
62193275454121   LAUREN        WOOD                        OR     90013132754
62193715657544   HEATHER       VELEZ                       NM     90014727156
62195849454121   ESTANISLAO    DIAZ                        OR     90011698494
62195865555975   ADRIANA       CISNEROS                    CA     48008638655
62196538533698   CURTIS        INGRAM                      NC     90015165385
62197218761936   JATZIVE       PEDRAZA                     CA     46087862187
62197354797121   SPENCER       WATTS                       OR     90005703547
62197548255973   ELIZABETH     GUTIERREZ                   CA     49087575482
62197676554121   ADRIAN        ZAPATA                      ID     90015196765
62198461254121   SHAWNTELLE    KASPER                      OR     90011794612
62198462857544   MATTHEW       HALL                        NM     90015404628
62198538557544   BARBARA       GONZALES                    NM     35508745385
62199528655975   CINDY         LUTZ                        CA     48090505286
62211499321781   LETICIA       SANCHEZ ESPINOSA            IL     90015534993
62211697284392   TYSHEIKA      WRIGHT                      SC     19007296972
62212156261964   ROD           CHARLES                     CA     90010071562
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62214245657544   NATHAN       TICKNER                      NM     90015582456
62214485655975   MARISELA     GUZMAN                       CA     90012914856
62215332891861   SHERRY       SALLIS                       OK     90011873328
62215795855973   CELENA       CUELLAR                      CA     90010637958
62216936754121   MARIBEL      CARBAJAL                     OR     90013199367
62218472454121   JUAN JOSE    ALMARAZ                      OR     90010114724
62219297997125   BRANDON      STAGL                        OR     90007372979
62221157184392   PATRICIA     JONES-VANGUNDY               SC     19076041571
62222348297121   MICHAEL      SMITH                        OR     90015243482
62222536577376   MARIA        VIDES                        IL     90014705365
62223967491522   LORENA       CORRAL                       TX     90012819674
62226178781644   TIMOTHY      MCLOUGHLIN                   MO     90006861787
62228873981621   KATHY        BOND                         MO     29049138739
62228944786593   ISSAC        SPEARS                       TN     90015379447
62229132991522   MARIA        DIXON                        TX     75083161329
62229652391958   MARILYN      COLES                        NC     90013946523
62231247786426   PEGGY        HUDGINS                      SC     90014152477
62232731561964   FABIOLA      AGUAYO                       CA     90011527315
62232883354121   FRANK        BASHON                       OR     90014178833
62233917733698   TIFFANY      WOODBURY                     NC     90014059177
62234475455977   SHANE        PELKEY                       CA     49070994754
62234925433698   JUDY         HALE                         NC     90013629254
62234943191522   LETICIA      RIVERA                       TX     75026739431
62235642381621   LARRY        BURD                         MO     90012676423
62237138557538   THERESA      PADILLA                      NM     90015021385
62237169961936   GUADALUPE    CHAVARRIA                    CA     90014741699
62237236857544   PAYGO        IVR ACTIVATION               NM     90015032368
62237287625236   JOHN         FERRELL                      NC     90014802876
62237616531476   LORETTA      CARTER                       MO     90000716165
62238218585833   VANCE        HIVORAL                      CA     46086352185
62238345563646   TONY         BELLAGAMBA                   MO     90008463455
62238392754121   GERALDO      TRUJILLO                     OR     90014183927
62238784455977   LEE          LEE                          CA     90007517844
62239445391522   FRANCISCO    CARDENAS                     TX     90013414453
62239454555973   MARTIN       MARTINEZ                     CA     48031044545
62239877781644   ARACELI      MARTINEZ                     MO     90013948777
62239991591243   KRAIEA       WESLEY                       GA     90015119915
62241135355973   ALFONSO      FRANCO                       CA     90012121353
62241582754121   POWELL       TRENT                        OR     90014565827
62244644181691   KYNA         SATTERWHITE                  MO     29064706441
62244899457538   ABEL         MARQUEZ                      NM     35595078994
62244969491522   ADRIANA      CALLEROS                     TX     90012819694
62245298233698   FELICIA      GIBSON                       NC     90014982982
62246584161936   ALEXANDER    HENRIQUEZ                    CA     90015015841
62247549957135   TIFFANY      DARNELL                      VA     90003375499
62247552261964   ANTONIA      BARAJAS DE ZATARAIN          CA     90012155522
62247873981621   KATHY        BOND                         MO     29049138739
62249739161936   LYDIA        OWEN                         CA     46053267391
62252423755973   ALFRED       ZAMUDIO                      CA     48092084237
62253582161936   MARIZOL      PALOMINO                     CA     90015115821
62254463597125   KIMBERLY     DENNIS                       OR     90007374635
62254492663646   DAVID        BLAKE                        MO     27570324926
62255478354121   WANDA        TALBOT                       OR     90014844783
62255967193762   TERESA       MILLER                       OH     90001809671
62256531455977   JOANN        MADRIGAL                     CA     90011975314
62256811861964   NOEMI        FLORES                       CA     90009808118
62256816157538   TERESA       DE LA ROSA                   NM     35586478161
62257125684392   AIMEE        MORTERO                      SC     90011551256
62258611884392   LEE          HUMPHREY                     SC     90013026118
62259146786435   DAWN         CARTEE                       SC     90015041467
62259544825236   KATHY        STONER                       NC     90014875448
62259865555975   ADRIANA      CISNEROS                     CA     48008638655
62259894461936   JAIME        DENTON                       CA     90012288944
62261647255977   IRENE        LARA                         CA     49090016472
62261794554121   ANTHONY      CASTRO                       OR     90014847945
62262451563646   IAN          WINBER                       MO     27552864515
62264279991863   CHERYL       VANWINKLE                    OK     90004362799
62264578891522   VALERIE      LOPEZ                        TX     90012875788
62264733397121   TYSON        WALLACE                      OR     90010657333
62265852261964   NORMA        RIVERA                       CA     90010888522
62266535955975   SHAUNA       NEEDHAM                      CA     48029755359
62267528997125   JULIA        JOHNSON                      OR     90007375289
62268822291522   ALEJANDRA    MATA                         TX     90014518222
62271162555973   ELIZABETH    CASTANEDA                    CA     90012491625
62271634691963   HEATHER      MARSHBURN                    NC     90003906346
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62272689454121   SONIA        MONREAL                      OR     90014976894
62274476691522   ANDY         HERNANDEZ                    TX     90008164766
62275179251354   JOANNNA      SONDERMAN                    OH     90013931792
62275456831453   SARAH        NOBLE                        MO     27578634568
62276489191522   MAYRA        NAVARRO                      TX     90012214891
62279555391363   CHRISTOPHE   KITAVI                       KS     90000795553
62279661855973   ROBERT       SANCHEZ                      CA     90006086618
62281475961964   CLAUDIA      VAZQUEZ                      CA     46081244759
62282879631434   JEFFREY      SPEARS                       MO     90010738796
62283596961936   ELIZABETH    SANCHEZ                      CA     90010985969
62283846261964   BLANCA       SANZ                         CA     46009348462
62283971891522   ERIC         SILEX                        TX     90014179718
62284441333698   SHARON       FRAZIER                      NC     12029024413
62284887881621   MARIA        CORRAL LAOERA                MO     90009518878
62285353157538   ANGEL        BARRIO                       NM     90015043531
62285524584392   EARL         REYNOLDS                     SC     90011325245
62286281555973   ROSALVA      HERNANDEZ                    CA     90012642815
62286346391525   LUIS         RAMOS                        TX     90011243463
62286661433698   PERCILLA     FARMER                       NC     90015136614
62286995381621   JEFF         JULIAN                       MO     90012799953
62291421781644   MICHEAL      BROWN                        MO     90013894217
62291699654121   ROBERTO      PARRA                        OR     90015106996
62292523261936   BRAD         KENNEDT                      CA     90012135232
62292591757538   SOTERO       SOTO                         NM     90004855917
62293273555973   KATHERINE    COWELL                       CA     90014282735
62293753561936   LETICIA      OVIEDO                       CA     46075057535
62293811261936   LETICIA      OVIEDO                       CA     90013318112
62297715255973   BEVERLY      ROHRENBACK                   CA     90006557152
62297992891522   GREGORY      PLOTT                        TX     90007189928
62298649961964   MARTHA       SALISBURY                    CA     90005546499
62298714341262   MICHAEL      NAHAY                        PA     90015067143
62299454961964   ANTONIO      MENDEZ                       CA     90014154549
62311264893741   WILLIAM      LILLY                        OH     90006042648
62311749463646   BRANDY       ANDERSON                     MO     27586407494
62311964855977   MARIA        SERNA                        CA     90007459648
62312275157538   MICHAEL      ESPANA                       NM     90015052751
62313148955975   VIRGINIA     PULIDO                       CA     90014481489
62314825257544   MAICHEAL     TERRAZAS                     NM     90011958252
62314934491522   HUGO         NAVARRO                      TX     90015059344
62316174455977   LETICIA      AMARILLO                     CA     90012431744
62317218751354   CIERRA       ISOME                        OH     66008822187
62319265263646   DAVID        AHRENS                       MO     90014312652
62319292663646   DAVID        AHRENS                       MO     27568682926
62322831163646   STANLEY      COLE                         MO     90013278311
62323326555977   STEPHANIE    MCDONALD                     CA     90009783265
62323725897121   MARIBEL      FERNANDEZ                    OR     90013717258
62326561861936   DALE         JHONSON                      CA     90012915618
62327563433698   LUIS         PULIDO                       NC     12066875634
62327967551354   TAMARA       MCINTOSH                     OH     90012959675
62328822125236   CYNDLE       BOWMAN                       NC     90011278221
62333475457538   RALPH        STEINHOFF                    NM     90015054754
62333529555977   HECTOR       GUTIERREZ                    CA     90015165295
62334766955983   NICOLAS      MOROLES                      CA     90006727669
62335315561964   PRISCILLA    HERNANDEZ                    CA     46046443155
62336456633698   ROSA         CARTER                       NC     90011494566
62337293291522   MICHELLE     JIMENEZ                      TX     90005142932
62337595531422   TIERRA       WINDSOR                      MO     90010695955
62337862881644   RYAN         GRAVES                       MO     90006768628
62338326725236   CLYDE        LITTLE                       NC     17018473267
62338424355975   GERARDO      LICEA                        CA     90015184243
62339766655975   GEORGIA      HARNESS                      CA     90013517666
62341187657544   HERMAN       GOERDELLO                    NM     90010981876
62342391361936   DULCE        MARISCAL                     CA     90003203913
62343359255975   GILBER       SANCHEZ                      CA     90013853592
62343534381644   KARRAH       KITTERMAN                    MO     90006925343
62343623633698   JOYCE        PYRTLE                       NC     90014286236
62343819561964   ROSANA       DAVILA                       CA     46014798195
62344199281644   CARLOS       DE LA CRUZ                   MO     90007511992
62344798861964   DANIELLE     SEYMOUR                      CA     46048387988
62345196461936   ANGELICA     SANCHEZ                      CA     90009791964
62345682257544   SOSHANA      TREAF                        NM     90015566822
62346226761964   ALBERTO      CARDENAS                     CA     90011532267
62346276855977   ELEAZAR      CUEVAS                       CA     49066972768
62346551455975   VERNON       CLOWER                       CA     90013335514
62346572981621   JOHN         NEWSOM                       MO     90005205729
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62347954557544   ESTHER       OAKLEY                       NM     90012569545
62351226633698   LATONYA      GIST                         NC     90014172266
62351241955973   AMAMDA       WILLIAMS                     CA     90013872419
62353455351354   KEONTE       SLOCUM                       OH     90013324553
62353679157544   MAX          PRESLEY                      NM     35567416791
62356366257544   IRENE        HARRIS                       NM     35592233662
62356512391969   JENID        LOPEZ                        NC     90013575123
62359977581644   DAVID        TRUMPS                       MO     90013829775
62361214481644   JESSICA      CAIN                         MO     90012962144
62362276757538   FREDDY       VASQUEZ                      NM     35595292767
62362377861964   LEAH         DOKTOR                       CA     90009973778
62365384633698   LATOYA       FRIESON                      NC     90013543846
62365864755975   FELIPE       SERVIN                       CA     48067358647
62365953355977   TANIA        LOPEZ                        CA     90012139533
62366845397121   LARISSA      GONZALES                     OR     90009588453
62368895355977   CHRISTIAN    SALCEDO                      CA     90011398953
62368943555973   LYDIA        RITCHIE                      CA     48037969435
62372491861936   NATALIE      LABORDE                      CA     90007854918
62372641657544   GILBERT      GUILEZ                       NM     90012926416
62372979363646   DIMARCO      GARCIA                       MO     90014259793
62373171363646   GREG         BARROW                       MO     27572251713
62373756861964   MICHELLE     OLMOS                        CA     46033747568
62375192591522   LILIA        LOZOYA                       TX     75055901925
62377725251354   ELIZABETH    KNAPP                        OH     66017097252
62378989955975   GUADALUPE    HUANACO                      CA     48049429899
62379635457544   LAURA        WHITE                        NM     90012996354
62381124157544   KAREN        WOOD                         NM     90012251241
62381255481621   AMANDA       MADDOX                       MO     29056682554
62383369433667   DERICK       SUTTON                       NC     90005443694
62388389161936   JOAN         LINDEN                       CA     46069253891
62389548361984   ESPINOSA     ELIA NAOMI                   CA     90001635483
62389753655977   KEITH        JEROME                       CA     90012157536
62389871491522   KARLA        SANCHEZ                      VI     90014158714
62391375561936   ALICIA       AGUILAR                      CA     90014893755
62392284861964   DANILO       MEGIA                        CA     90014002848
62392391657544   MARIA        MONTES                       NM     90009823916
62393262584392   JASON        HODGE                        SC     19040632625
62393318763646   ELISABETH    PHELPS                       MO     90014923187
62393696997121   SHANNON      SCOTT                        OR     90012166969
62393926391362   DJUANA       STALLING                     KS     90012569263
62394614957544   LEIGH        DELEON                       NM     90010916149
62395583261936   JUAN         BAUTISTA                     CA     90012925832
62397165455975   JANET        MARTINEZ                     CA     90014691654
62398554261964   ANEL         CORTI                        CA     90010845542
62399566257538   MICHAEL      SALMON                       NM     90004155662
62412216255973   BRANDY       DEAN                         CA     48012362162
62412327291863   ILIANA       MEDINA                       OK     90012333272
62413331955975   MISTY        GRAY                         CA     48001093319
62414184533648   MICHAEL      HANNAH                       NC     90014681845
62415489863646   MONICA       SCOTT                        MO     90004704898
62416841163646   SHERRY       CARTER                       MO     27593708411
62417157661964   ABEL         MARTINEZ                     CA     46009951576
62417625433698   CARMELA      GARCIA                       NC     90007506254
62418597955981   CAROLINE     GARCIA                       CA     48017645979
62418874484347   WILLIAM      GREEN                        SC     90002138744
62419273541291   MICHELLE     PHIFER                       PA     90012332735
62422352155975   MONICA       HUERTA                       CA     90002873521
62422854333698   TRINA        KIRBY                        NC     12067888543
62426389857544   GERALD       CRAWFORD                     NM     35507623898
62427635457544   LAURA        WHITE                        NM     90012996354
62427965261964   MARTHA       LUZ                          CA     90004269652
62428189661964   RICHARD      FOX                          CA     90015111896
62428336897121   HEIDI        FLORENTINO                   OR     90007143368
62428969561936   TARAEMI      BUTLER                       CA     46089139695
62429642863646   CARRIE       JULIN                        MO     90011836428
62431726355973   VINCENT      HERNANDEZ                    CA     90010907263
62432485297121   BROWN        STEPHANIE ANNE               OR     90007154852
62433746457544   DEREK        CURTIS                       NM     90013037464
62433854455975   MARCO        ESTRADA                      CA     90002988544
62434891291522   TIFFANI      JORDAN                       TX     90014158912
62436256997121   JUANITA      OHARA                        OR     90011822569
62436822261964   MELVIN       PRICE                        CA     90005228222
62438231455975   SYLVIA       RODRIGUEZ                    CA     90015302314
62439245363646   LIZ          THOMAS                       MO     90014152453
62439519925236   ARTURO       PERALTA GOMEZ                NC     90010475199
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62441649184392   SAMUEL           CAPERS                   SC     90012626491
62441892991522   JOSE             PENA                     TX     90014158929
62444668357544   JOSIE            SIDA                     NM     90012306683
62446564984392   VICTORIA         HARGROVE                 SC     90013295649
62448229661972   CHARLES          HILLEY                   CA     90006552296
62448327657544   DANIEL           WHITE                    NM     90006873276
62448925191522   ARMIDA           HERNANDEZ                TX     75077999251
62449338785944   MANDY            MAXWELL                  KY     90011233387
62449994755975   NANCY            MENA                     CA     90014769947
62456276981644   PAMELA           BRYANT                   KS     90008832769
62457868155973   FRANK            PEREZ                    CA     90014748681
62458289757538   LIYA             ASGHEDOM                 NM     35588512897
62458532481644   KEY              JOHNSON                  MO     90013425324
62458561261936   XOCHITL          AYALA                    CA     90009895612
62459125484392   WANDA            GADSDEN                  SC     90001121254
62459653981644   AZUCENA          OZUNA                    MO     90012006539
62461673657538   MARIA            MADRID                   NM     35508666736
62461829361964   RENE             MONTOYA                  CA     90014898293
62464783833698   RUN              PUIH                     NC     90012377838
62465915897121   ANIKA            ROMERO                   OR     90011859158
62466346161964   MIGUEL           ZAPIEN                   CA     90012773461
62466386561966   OVET             FELIX                    CA     90004263865
62467347985836   CRYSTAL          GOODMAN                  CA     90011803479
62467579957544   DELILAH          BORUNDA                  NM     90013295799
62468646357538   MARIA            OLIVAS                   NM     35509906463
62468772861964   RAMON            LOPEZ                    CA     90012597728
62469389797121   KIRSTEN          MARTIN                   OR     90011873897
62471353455973   ZACH             VISCARRA                 CA     90012323534
62471489391522   HEBER            LUIS                     TX     90014164893
62472966991522   THIAGO           FIALA                    TX     90011599669
62473248855975   BEATRICE         ARELLANO                 CA     90014672488
62473376181644   ASHLEY           GREENFIELD               MO     90014793761
62474112257544   JACOB            HOVEY                    NM     90013301122
62474492255975   LUZ MARIA        ESPINOZA                 CA     48093834922
62477519184392   LORENZO          BENNETT                  SC     19040535191
62477673551354   STEPHEN          MOORE                    OH     66021716735
62477876255973   SERGIO           CANTU                    CA     90002898762
62481986733698   SHAWN            ALLEN                    NC     90012759867
62483281797121   JUAN DE DIOS     ANDRADE                  OR     90009002817
62483617781644   KIAUNA           WHITNEY                  MO     90007176177
62483824484392   WENDELL          MANIGAULT                SC     90008888244
62484414231453   WD               HARRIS                   MO     90007484142
62485991841259   JOHN             PETRARULO                PA     90012129918
62486689284392   CANDIS           MACK                     SC     90009856892
62487225991522   JOSHUA           MONAREZ                  TX     90014772259
62487835231422   TAMMIE           NEWHOUSE                 MO     90013418352
62488247355977   ADRIANA          NAVARRO                  CA     90000392473
62488996457544   ALBERTO          BONILLA                  NM     90004069964
62491655791522   AMANDA           TOUCHY                   TX     75008846557
62492143384392   JOHN             GAINEY                   SC     90015181433
62492588397121   BRITTANY         BRIGHT                   OR     90012185883
62493615133698   NAKESHA          BECOAT                   NC     90014106151
62494211531453   IGNATIOUS        GATEWOOD                 MO     90000722115
62495125484392   WANDA            GADSDEN                  SC     90001121254
62496165991522   WEABER           MARIA                    TX     90008851659
62496913855975   ALESSANDRA       PASKWIETZ                CA     90013699138
62497982661964   MELISSA          CERVAR                   CA     46077659826
62498195333698   NICOLE           MOSBY                    NC     90014851953
62498432761936   ASENACA          MOANA RAKANACE           CA     90001264327
62498468651354   DOUGLAS          ALLEN                    OH     66043214686
62498628351354   AMANDA           HILL                     OH     90015166283
62512277561964   VICTORIA         PHILLIPS                 CA     90007372775
62513595233698   CURTISHA MCCOY   YOUNG                    NC     90014445952
62514366861936   ALEX             MORENO                   CA     90009623668
62514717541257   NICOLE           STRIBLING                PA     90003787175
62515198285944   STEVEN           HERZOG                   KY     90010631982
62515297597121   ROBERTO          CASTRO                   OR     90014912975
62516198285944   STEVEN           HERZOG                   KY     90010631982
62516353561964   KENDALL          JONES                    CA     90010353535
62516796393725   AMY              BALLACHINO               OH     64534207963
62518131963646   ELIZABETH        LEE                      MO     90014721319
62519417791522   ALMA             GONZALEZ                 TX     75008854177
62519636955977   ALEJANDRO        GARCIA                   CA     90013276369
62524312981621   RACHEL           ALLISON                  MO     90007703129
62525819151354   JENNIFER         NULLMEIER                OH     66037798191
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62528453957544   TARA             BOSTON                   NM     90004114539
62529456781644   CARLOS           DIAZ                     KS     90014314567
62529761891965   CHARLENE         GRZYBOWSKI               NC     90009997618
62531119733698   AMBERLENE        BENTON                   NC     90014811197
62532896761964   MARIA ELENA      REYES                    CA     90014878967
62535441961936   LEONARDO         MORLES                   CA     90012984419
62536441781644   PATRICIA         WILLIAMS                 MO     29043214417
62537167455975   BRYTNEY          BARRET                   CA     48086911674
62539986157549   BRENDA           AVALON                   NM     90006289861
62541751297121   CASEY            LAGONI                   OR     90012007512
62541873284392   MICHAEL          HAMILTON                 SC     90013348732
62545743884392   BRANDON          BROWN                    SC     90013347438
62546323633698   TAMI             STEWART                  NC     90012083236
62546862261966   OLIVIA           JUAREZ                   CA     90014688622
62547465661936   JONATHAN         PIERCE                   CA     46009404656
62548398663646   DOROTHY          HINKLE                   MO     90010113986
62551149493753   KELLI            SHAKE                    OH     90009031494
62551995984392   LORENZO          GUZMAN                   SC     90011609959
62552186961964   ALEJANDRO        MONZON                   CA     90002441869
62553959791522   CLAUDIA          ARROYO                   TX     90014159597
62554611184392   KYLE             BUSCH                    SC     90014846111
62555333457544   FERNANDO         PENA                     NM     90013193334
62558467351354   TERI             LOTHES                   OH     66056364673
62559944757544   RUBEN            LOZANO                   CO     35572519447
62561323655975   SUSAN            INTHAVONGSA              CA     90002123236
62561599655973   ALEXANDRA        LEON                     CA     90014875996
62561832851354   MARCUS           SAWYERS                  OH     66006048328
62562336857544   CLINT            CORINUS                  NM     90010763368
62562886791522   ERIKA            AGUIRRE                  TX     90013058867
62563181791522   JOSE             FLORES                   NM     90000891817
62563863857538   OMNI             MONTOYA                  NM     35589248638
62565213555975   HELEN            GARCIA                   CA     90010842135
62565862791321   AMANDA           AGADO                    KS     90014928627
62567547855973   VIOLANDA         GONZALEZ                 CA     90007625478
62568344163646   ROBERT           GRINSTEAD                MO     27568883441
62568644281621   CHARLA           ESTILL                   MO     90011736442
62572818861936   CESAR            ALVARADO                 CA     90011558188
62572981697121   CARRI            AHI                      OR     90012089816
62573388263646   BECKY            SANDBERG                 MO     27586243882
62573579651322   BRANDY           ROUSH                    OH     90000375796
62573775333698   SARAB            HUSSIN                   NC     12009507753
62575582655973   SARA             DEPRADA                  CA     90013075826
62576364757538   OSCAR            DOMINQUEZ                NM     35512183647
62576612433698   KARISHA          WHITAKER                 NC     90003226124
62576684231453   WARNER           COLEMAN                  MO     90002236842
62577956657544   ROBIN            DOSSEY                   NM     35516239566
62579279997121   JULIETA          RODRIGUEZ                OR     90012122799
62579287984736   LUIS             MARTINEZ                 IL     90000112879
62579657561936   MARLENI          BAZA                     CA     46082646575
62581149457127   FERNANDO         SANCHEZ                  VA     90008471494
62581611191522   MANUEL           MELENDEZ                 TX     75008876111
62581614957544   DENATA           THOMAS                   NM     90007816149
62582144884392   ZACHARY          STANSELL                 SC     19082721448
62582989991522   MANUEL           FAVELA                   TX     90014159899
62584218863646   ARNOLD           HUMBLE II                MO     90011872188
62584636561936   DAVID            SIGUENZA                 CA     46017176365
62586972272431   CARRIE           SCHWIZER                 PA     90011639722
62587267655977   MARLEN           AMBRIZ                   CA     90015082676
62587483291522   VANESSA          GONZALEZ                 TX     90004894832
62588438755991   CAROLYN SUSANE   BARSAMIAN                CA     90005354387
62588527861964   PATRICIA         GOCHICOA                 CA     90014225278
62589915584392   TIMOTHY          DICKENS                  SC     90006599155
62591568957544   J BAR            ENETERPRISES             NM     90012025689
62591889563646   JAMIE            LABONDE                  MO     90014848895
62592829361964   RENE             MONTOYA                  CA     90014898293
62593452691522   ALBERTO T.       MORAN                    TX     90006924526
62593613933698   KEONNA           ROBERSON                 NC     90012976139
62593941761936   YVETTE           BROWN                    CA     90014509417
62595172231587   TYRONE           BACON                    NY     90015491722
62596559884392   JOHN             DOE                      SC     90014215598
62599847381621   RIGOBERTO        VEGA                     MO     90009088473
62611676155977   JORGE            JUAREZ                   CA     49048346761
62611899461964   LINA             LOPEZ                    CA     90009878994
62611925857538   CLARIVEL         VILLA                    NM     90012339258
62612629363646   JUSTIN           HEMBROCK                 MO     90012606293
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62612984951354   STEPHEN       WATT                        OH     90015199849
62613772863646   JESSE         VAUGHN                      MO     27586607728
62615877533698   DENA          RAINWATER                   NC     90013928775
62616215555945   FRANCISCA     GOMEZ                       CA     90005972155
62617284261936   VIVIANA       LUNA                        CA     90009982842
62618313891522   VICTORIA      SOTO                        TX     90013173138
62618573384392   RUTH          WHEELER                     SC     19077085733
62618997481621   ERICA         ROBINSON                    MO     90008169974
62621354361964   BERNARD       CHIA                        CA     90014763543
62621439631948   KLEVAR        LAWRENCE                    IA     90015344396
62622984951354   STEPHEN       WATT                        OH     90015199849
62623179655977   JOE           TAMAYO                      CA     90014041796
62623985991522   ROGELIO       VASQUEZ                     TX     90014179859
62626446581644   IVORY         TRIPP                       MO     90011384465
62626669755975   JONATHAN      JARAMILLO                   CA     90011576697
62627951991522   DESANTIAGO    MIGUEL C                    TX     90010769519
62631616555973   CARRIE        MATTOX                      CA     90013196165
62633294255975   KATINA        BENAVIDEZ                   CA     90013022942
62635527891522   ALBERTO       CALLEJAS                    TX     90014705278
62635587781621   ROCHELLE      WILLIAMS                    MO     90008405877
62635769755977   MARLON        MARTINEZ                    CA     90011907697
62636425255975   JONAH E       WILSON                      CA     48015084252
62639228355975   NOEMI         MUNOZ                       CA     90006242283
62641223961936   DEEDEE        JENKINS                     CA     46016932239
62641688851354   JAMES         RUTHEMEYER                  OH     90013126888
62642252551354   LARRY         SANDERS                     OH     90013802525
62642881355973   NATALIE       URIBE                       CA     90015118813
62643394955975   LAST CHANCE   ENTERPRISES                 CA     90012753949
62643431551354   THOMAS        ROTH A JR                   OH     90013264315
62643815584392   ROGENIA       JONES                       SC     90012748155
62643994591522   ANGEL         SALAZAR                     TX     90014179945
62644365581644   ROBERT        GARDNER                     MO     90014293655
62645221755975   SARAH         COVARRUBIAS                 CA     48075492217
62645695955977   ROBERT        MUNOZ                       CA     90007546959
62645944761964   KIRBAN        KELLER                      CA     90013849447
62646525791961   JOHN          DUNCAN                      NC     17092925257
62647587651354   LEONEL        LOPEZ                       OH     90015455876
62651897981644   BETHANY       DILLEY                      MO     90014598979
62653651131453   ASHLEY        JONES                       MO     90004966511
62653674733698   ANTHONY       WALLINGTON                  NC     90013776747
62653755751354   JASMIN        HERNANDEZ                   OH     90012907557
62654241533698   KATRICE       RUSSEL-MILLER               NC     90014172415
62655883781621   MARIA         MARTIN                      MO     90007178837
62656634561964   AIOTEST1      DONOTTOUCH                  CA     90015116345
62656886255975   ANASTASIA     CAMARGO                     CA     48029208862
62657337761964   COSME         HERNANDEZ                   CA     46069433377
62658625631453   LARRY         CRUMP                       MO     27571106256
62658675181644   JESUS         CRUZ                        KS     90002756751
62658796555977   JOSE          RIOS                        CA     90000357965
62659733657544   PRISCILLA     MORENO                      NM     35517307336
62662646655973   GUADALUPE     MARIN                       CA     48041626466
62663413755977   ANNA LAURA    JUAREZ SANCHEZ              CA     90015114137
62665992591522   JUAN          URBINA                      TX     90012819925
62666458355975   CARLENE       TORRES                      CA     90014164583
62666473981644   JESSICA       EVANS                       MO     29097334739
62666737955973   LORAINE       GARZA                       CA     48001217379
62667499755973   VANESSA       COLLINS                     CA     90000114997
62667796755977   BIANCA        GALINDO                     CA     90009047967
62667844655975   TEODORO       CONEJO                      CA     90004998446
62669889584392   NANCY         ENCARNACION                 SC     90012488895
62671824555973   JACK          CORTEZ                      CA     90013058245
62676529461936   GINA          NAVARRO                     CA     90012075294
62676917951354   ROSEMARIE     BAILEY                      OH     90006209179
62677123533698   VIRGINIA      MALLEY                      NC     90014691235
62677442961936   SAID          LAQLACH                     CA     46095444429
62681288157544   TIM           AMODEO                      NM     90013932881
62682226761936   BLANCA        BLANCA                      CA     90015072267
62682561855977   DIANE         HOLL                        CA     90012095618
62683147781671   SYLVIA        PIZANO                      MO     90006151477
62684764757544   JASON         ROCHA                       NM     90012127647
62686491363646   ALEXIS        GRASHEL                     MO     27594554913
62687673491522   CESAR         DUARTE                      NM     90015006734
62687693461936   LORENA        GAMEZ                       CA     90011396934
62688972657544   YEVALDA       LYNCH                       NM     90013939726
62688982755975   ALFREDO       ROBLES                      CA     48094099827
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62691473361964   JUAN           CARDENAS                   CA     90008524733
62694237961936   SOPHATH        CHAN                       CA     90009892379
62694839961964   MIGUEL JR      RUIZ                       CA     90011868399
62695847657538   JESSE          RODRIGUEZ                  NM     35539328476
62695882955975   DOMINGUEZ      PATRICIA                   CA     90013358829
62696623655973   VICTORIA       MARTINEZ                   CA     90008126236
62697556486593   DANIELLE       JIMENEZ                    TN     90015365564
62697693461936   LORENA         GAMEZ                      CA     90011396934
62699232591522   RUTH           CUMMINGS                   TX     90008932325
62699991784392   ASHLEY         HIOTT                      SC     90013809917
62711462584392   JOSHUA         BRAITHWAITE                SC     90011184625
62712139731453   AUDREY         SCOTT                      MO     90013511397
62713348533698   KIYUNTA        WILSON                     NC     90010423485
62713484255973   MAIRA          ROBLES                     CA     90010584842
62715611457544   KYLE           MILLER                     NM     35500386114
62715987384392   KATHRYN        BOLES                      SC     90010129873
62716256855975   MARISELA       RODRIGUEZ                  CA     48034662568
62716469284327   LUIS ANTONIO   LOPEZ                      SC     90003894692
62717857391525   JESSICA        NAVARRO                    TX     90004188573
62719115855975   ALFONSO        ZARAGOSA                   CA     90014911158
62719381355977   BALTAZAR       DIAZ                       CA     90015313813
62721912551354   HAROLD         LANTER                     OH     90014799125
62722658433698   ANGELICA       HERNANDEZ                  NC     90013176584
62724126561936   IRMA           ESTRADA                    CA     90012271265
62725247191534   JORGE          MENDOZA                    NM     90011672471
62725425855973   ANDRE          KERSBERGEN                 CA     90012104258
62726928455973   IRENE          SMITH                      CA     90013169284
62727277255975   AMY            MAHAM                      CA     48009042772
62727421155973   NICK           SAENZ                      CA     90009594211
62727796281644   ANTHONY        PINKERMAN                  MO     90014457962
62728158161936   ANGEL          ALEXANDER                  CA     46051461581
62728521291522   EDUARDO        VAZQUEZ                    TX     90011615212
62729336955973   ARTURO         FARIAS                     CA     90010733369
62731399357544   KRISTINA       KENNEDY                    NM     90010023993
62732536857544   MORGAN         FOOR                       NM     90007635368
62734643757538   MARTINEZ       MARIA                      NM     90000716437
62735412351354   DONALD         HARVEY                     OH     90013384123
62737419755973   ERIN           BALES                      CA     48075364197
62737563491522   MAYRA          THURMAN                    TX     90013075634
62737848133698   SHAYTOYA       FLETCHER                   NC     90015158481
62741429991522   MARISOL        CARRASCO                   TX     90014694299
62742495984392   CHRISTOPHE     GAILLARD                   SC     19003624959
62746326761936   LUPITA         RIOS                       CA     46008883267
62747491455975   CESAR          LEMUS                      CA     90015274914
62749978163646   MALACHI        CROWDER                    MO     27524819781
62751398851354   GEORGE         HARMON                     OH     66052153988
62751465355977   LOUIS          PRITCHETT                  CA     49060534653
62751816461936   MARIA          RUBIO                      CA     90008798164
62752278961964   NATASSJA       PATMON                     CA     90015302789
62752521655977   JASON          BEITER                     CA     49089755216
62753596251354   DIANA          BARNETT                    OH     90013025962
62755369757544   PAUL           HICKS                      NM     35596683697
62755599463646   PATRICIA       TRARES                     MO     90010015994
62756344857538   JAZMIN         CENICEROS                  NM     35552613448
62756989184392   QUANTELLA      PERRY                      SC     19016449891
62756997557544   WESLEY         WALKER                     NM     90006229975
62757932461936   MARCO          FLORES                     CA     90010489324
62758323661936   NANCY          RUVALCABA                  CA     90000643236
62758825561964   ANA            GUERRERO                   CA     46006158255
62759652533698   CHARLES        ABERNATHY                  NC     12061066525
62761629755973   LARRY          THOMAS                     CA     90011496297
62763864481644   ALEX           BARAJAS                    KS     90013268644
62765634957544   DELBERT        BAADE                      NM     90012596349
62766287555975   ANTONIO        PASTRANA                   CA     90014822875
62766614957544   LEIGH          DELEON                     NM     90010916149
62768258761936   LARRITA        COWNAS                     CA     46004942587
62768633255977   DONYALE        KINGSBY                    CA     90015336332
62771217533698   LINDA          MACFARLANE                 NC     90007522175
62773537563646   CHRIS          DIERKES                    MO     90013805375
62775725663646   DAVE           SMITH                      MO     90011407256
62775946991522   ALEJANDRO      ESTRADA                    TX     90009589469
62776788633698   MELISSA        SHREWSBURY                 NC     90012867886
62778313461964   VICTORIA       DESMOND                    CA     90012643134
62778587557544   ANAMARIA       VILLA                      NM     90014845875
62781341855975   MARINA         HUERTA                     CA     90012793418
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62781442181644   JESSICA       WASHAM                      MO     90012664421
62781926257538   CHRIS         MORENO                      NM     35543919262
62782572655973   DANIEL        MARTINEZ                    CA     48064535726
62783736257544   GEOFFROI      STEINAUER                   NM     90005037362
62783799961964   DAVID         MENDOZA                     CA     46086147999
62784328491522   MARISOL       MUNOZ                       TX     90012153284
62784627761936   SEAN          MONROE                      CA     90014456277
62786145661964   RAUL          SEPULVEDA                   CA     90006441456
62786864351354   DESIREE       WALKER                      OH     90014778643
62787769663646   MIRENA        HILEMAN                     MO     27553217696
62788336861936   KEVIN         SPELMON                     CA     46019603368
62788591457544   CHRISTOPHER   WOLFE                       NM     90010775914
62789357555973   TERE          AVILA                       CA     48046393575
62789573181621   EVERETT       FOX                         MO     90007195731
62791343155973   GONZALO       PADILLA                     CA     48005283431
62791371225236   TYNEQUA       FARMER                      NC     90006233712
62792696184392   ASHFORD       NELSON                      SC     19079076961
62793783561936   VICTOR        GUMERREZ                    CA     90003047835
62795217355977   JUSTIN        LEDESMA                     CA     90014912173
62798258761964   RODOLFO       TOSCANO                     CA     90013662587
62798763291522   OLIVIA        SALGADO                     TX     90015127632
62799422684392   ARCHIE        GADNER                      SC     90010634226
62811531531422   MARC          WELCH                       MO     90002395315
62813698661936   MI SHAN       PERRY                       CA     90011396986
62813984331453   STEVE         MATTHEWS                    MO     27555079843
62816697884392   OSTAVIA       SIMMONS                     SC     90014936978
62816981961936   OLIVIA        MARTINEZ                    CA     46087509819
62817647425236   IVANNA        LYONS                       NC     90008306474
62819434155975   JESTINA       MARTINEZ                    CA     90013154341
62821426361936   PATRICIA      ARCINEGA                    CA     90013734263
62821436891522   ERIK          DELPALACIO                  TX     90014694368
62821538651354   CELINE        BRAY                        OH     90003815386
62821711161988   NATASHA       SIERRA                      CA     90004737111
62821786291285   LULA          SWEETS                      GA     90011887862
62822477457538   JESSICA       RAMIREZ                     NM     35510984774
62824194691522   VICTORIA      BUSTILLOS                   TX     90014781946
62824347433668   CYNTHIA       CHAPMAN                     NC     90013233474
62825131591522   LUZ MARIA     REYES                       TX     90014161315
62826821833698   CASTOR        TROY                        NC     90013568218
62829443157544   STACY         TURNER                      NM     90009034431
62829776863646   CRAIG         ROSS                        MO     27508097768
62831162591522   SYLVIA        LECHUGA                     TX     90003101625
62831694751354   HASSAN        CAIRO                       OH     90015326947
62833136991522   RAMONA        FEDERICO                    TX     90014161369
62833799461964   ANNA          MEDINA                      CA     90003037994
62835521861936   JACKELYNNE    ORTIZ                       CA     90012865218
62836389761964   MANUEL        VARGAS                      CA     46005833897
62836431891522   VARGAS        MARTHA DOLORES              TX     75068284318
62845473184392   DOROTHY       HARRIS                      SC     90009314731
62846743651354   DORETHA       HALL                        OH     90010037436
62847373981644   JOSE          BERRIOS                     MO     90015193739
62847484463646   KRYSTAL       BRODERICK                   MO     90013054844
62848237655975   JEANETTE      HENDERSON                   CA     48054092376
62848296331473   CHAMPAGNE     BROWN                       MO     90013632963
62848989357544   AMANDA        SNAPP                       NM     90013409893
62849472451354   KAITLIN       WARE                        OH     90005134724
62849491155973   ROSA          MENDOZA                     CA     48077664911
62849623761964   RODOLFO       GALLARDO                    CA     90012396237
62851288863646   AMY           WYCKHOUSE                   MO     90011912888
62851877955977   CELINA        GONZALEZ                    CA     90002238779
62853185561936   DALVIS        TAQUECHEL                   CA     90014301855
62854443857544   CRAIG         STRINGER                    NM     90013594438
62854572384392   GINA          CAMACHO                     SC     19073805723
62855327584392   ROBERT        MORRIS                      SC     90013383275
62855795263646   PAUL          HILGERT                     MO     27563867952
62855985891522   PATRICIA      ORDONEZ                     TX     75092459858
62856741157538   OMAR          GARDEA                      NM     35563407411
62859372151354   MARILYN       WASHINGTON                  OH     66000753721
62861959781644   JIM           CONAWAY                     MO     29009099597
62863151851354   KELLY         PENNINGTON                  OH     90014121518
62863751491522   ERIKA         CASAS                       TX     90005857514
62865521455975   MIGUEL        ALMANZA                     CA     90012215214
62865646955977   KATHLEEN      QUIROZ                      CA     90012136469
62865697284392   TYSHEIKA      WRIGHT                      SC     19007296972
62866469261964   VERONICA      RUIZ                        CA     90002184692
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62868564233698   DEMARKO      DEGRAPHENREED                NC     90007715642
62869765161936   EDGAR        RODRIGUEZ                    CA     90011107651
62871477455975   MARTIN       GOMEZ                        CA     90014184774
62871548981621   TRECIE       JONES                        MO     90007095489
62872728957544   MICHELLE     MIRABAL                      NM     90009487289
62874315755975   SHERI        ST CLAIR                     CA     90014333157
62875613461964   TANIA        MEJIA                        CA     90004336134
62876327584392   ROBERT       MORRIS                       SC     90013383275
62877565657544   MARIKA       WOLFE                        NM     90010955656
62878153555975   JOSEPHINA    BANUELOS                     CA     48075521535
62878637663646   MATTHEW      WINKLEMAN                    MO     90013256376
62879792591522   ISELA        ORTIZ                        TX     90011617925
62881121531476   SHALANDA     LONGMIRE                     MO     27559761215
62881526155977   SYNTHIA      LOPEZ                        CA     49092455261
62882442951354   LAKESHA      HALEY                        OH     66092024429
62883818855975   JOSE         CAMARGO                      CA     90011468188
62884424561936   LAUREN       SPOUNIAS                     CA     90014074245
62886262961936   MARK         BRASH                        CA     90013982629
62887445725236   KENYA        PERRY                        NC     17001924457
62888534355977   JAMES        MOORE                        CA     49088075343
62889449255973   RUSSELL      CORTEZ                       CA     48037854492
62891664355973   DIANA        FIGUEROA                     CA     90013866643
62893151333698   TARJI        CORNELL                      NC     90011121513
62893585663646   BREEANN      HAWKS                        MO     90014655856
62893663191522   ERIKA        MARTINEZ                     TX     90015016631
62894194461936   JAMES        NORWOOD                      CA     46089661944
62894982257544   SANDRA       HITA                         NM     90012829822
62898497955977   SARA         MARTINEZ                     CA     49094854979
62898923355975   SARA         VALDEZ                       CA     90001029233
62898979857544   VERONICA     GONZALEZ                     NM     90011009798
62913755263646   JOSHUA       AL-HAMEED                    MO     90005877552
62914515555977   MARDLENE     ROJAS                        CA     90008995155
62917727255964   LILIANA      CORONA                       CA     90014057272
62917974841221   MARI         ROLEWICZ                     PA     51011449748
62918738861964   PRISCILLA    MARTINEZ                     CA     90010477388
62918874391522   JESUS        FERRER                       TX     90011618743
62919227855975   SILVIA       HERNANDEZ                    CA     90011412278
62919381457544   JOHN         OSTENDORF                    NM     35517273814
62921274551354   NANCY        LEMKE                        OH     90015592745
62925588851354   CORNELIA     REYNOLDS                     KY     90007315888
62925788933698   SANDRA       VERGARA                      NC     12014597889
62927658591522   YESENIA      OCHOA                        TX     90014716585
62927742561936   ADRIANA      ORTEGA                       CA     46075727425
62928736555973   ROBERT       CONTRERAS                    CA     90010107365
62929314355975   LETICIA      BROWN                        CA     90013533143
62929913655973   LETICIA      LUPERCIO                     CA     48092959136
62931234661964   YADIRA       RUBIO                        CA     90010322346
62933714263646   CRAVYN       FALLON                       MO     27594197142
62935162557544   LUBIA        GWAK                         NM     90014051625
62935647581644   KATRINA      THOMPSON                     MO     29081716475
62936767481621   BEN          KNEPP                        MO     90009277674
62937285651361   JAMES        PIPER                        KY     66028102856
62938289733698   TRINIDAD     CORTEZ                       NC     90003162897
62939724955977   EDUARDO      MARTINEZ                     CA     49006497249
62942135391522   DEREK        PALEY                        TX     75046271353
62944274661964   AARON        SCHMID                       CA     90000102746
62945195757544   VICTORIA     ALGARD                       NM     90007571957
62946624851354   LUIS         CRUZ                         OH     66039476248
62946746955973   NATALIE      MALDONADO                    CA     48055387469
62947323257544   MATTHEW      MIRABAL                      NM     90009813232
62948126581644   KEYONIA      HUDSON                       MO     29088251265
62951388161936   ANGUS        PORTER                       CA     46039043881
62955558957544   LARISA       JIMENEZ                      NM     90012185589
62956939261964   PEPE         REYES                        CA     46053889392
62957414461964   JOHN         RATLFIF                      CA     90004004144
62957939791522   RUAL         OCHOA                        TX     90014249397
62958311455977   JORDAN       GROENEWEG                    CA     90008393114
62958368791572   PATRICIA     HERNANDEZ                    TX     75089113687
62959228751354   LAUREN       CHAMBERS                     OH     90003932287
62959597633698   TAMMY        BROOKS                       NC     90011465976
62961519284392   DELLA        LEACH                        SC     90013835192
62962167751354   SAMANTHA     HOSKINS                      OH     90014151677
62963546281644   GEORGE       MCGAUGH                      MO     90015185462
62963885555973   ALYSSA       HERNANDEZ                    CA     48085408855
62964814891522   SANDRA       BLANCO                       TX     75073398148
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62964912481644   VANESSA               VENZOR              MO     29035429124
62965199384392   MIGUEL                GUZMAN              SC     90011611993
62965311861936   ISABEL                LOPEZ               CA     90014933118
62965425763646   NORMA                 BARBER              MO     27529284257
62966413955973   EVANGELINA            GARCIA              CA     90012904139
62968258131453   CHRISTY               MARTIN              MO     90002122581
62968297791522   JASMINE               ALI                 TX     90007962977
62968314891525   RENE                  VASQUEZ             TX     75071813148
62968619363646   DARREN                CARTER              MO     90011906193
62968846755973   MICHAEL               MARSHALL            CA     90013548467
62968922533698   MIGUEL                OLMEDO              NC     90002409225
62971218955977   MIGUEL                VILLEGAS            CA     90006412189
62971685255975   PEDRO                 ESPINO              CA     48077746852
62972179157544   ANGELA                DE LA ROSA          NM     90014281791
62972323255977   EVELYN                CORTES              CA     90005423232
62972439155975   SOVEDA                RAMIREZ             CA     90012734391
62972817181671   LACHUNDRA             JONES               MO     29005448171
62973596855977   MIRIAM                QUINTERO            CA     90012935968
62974283531651   CHRISTIAN             NELSON              KS     90002672835
62975117861936   EMMA                  RAMIREZ             CA     46009421178
62975256433698   MIREYA                SANCHEZ             NC     12052412564
62977519863646   SARAH                 HARRISON            MO     90007225198
62977841161964   JOHN                  ADCOCK              CA     90000458411
62978575361964   BEATRIZ               PULIDO              CA     90002155753
62979155661964   JARED                 NADERMANN           CA     90006551556
62981437691522   ABEL                  SANCHEZ             TX     90005144376
62981514684392   VELLANEY              ZALAZAR             SC     90012305146
62983276771924   CHRISTINA AND SCOTT   MISNER AND HARRIS   CO     90009472767
62983838481644   ANA                   MALDONADO           MO     90015108384
62984293733698   JAMILIA               JOHSON              NC     12010002937
62987931855975   FRANCISCO             HERRERA             CA     48083249318
62988358161936   JESSICA               RICHARDSON          CA     90014833581
62989416555973   JOSE LUIS             MOLINA              CA     48079104165
62992816655975   ARACELI               CEBALLOS            CA     90013938166
62993147484392   RICO                  SINGLETON           SC     90015131474
62993517261964   KARINA                TORRES              CA     90014155172
62994933391534   ERIKA                 CHAVEZ              TX     90009939333
62995434991522   DAVID                 DURAN               TX     90014504349
62997332581644   JESSICA               ALCORN              MO     90003643325
62997697155975   MARIA                 LUPIAN              CA     48061856971
62997813363646   KARIE                 JEWELL              MO     90009438133
63111164561964   ANTONIO               MARQUEZ             CA     90006071645
63113786863646   DUANA                 JONES               MO     90014847868
63116149255975   RIGOBERTO             RAMOS               CA     90015121492
63118182833698   ANTONIO               SEASE               NC     12028351828
63118567981644   EARL                  MACK                MO     90003505679
63122317351354   SHERRY                CLIFFORD            OH     66068423173
63122976655975   SANDRA                PEREZ               CA     90011399766
63123898991522   GRACE                 ARROYO              TX     90009878989
63124417791549   ALMA                  GONZALEZ            TX     75008854177
63124484171968   ORAINE                CROOKS              CO     90012604841
63124991391522   ROSA                  LIMON               TX     90014959913
63125337355977   MANUEL                LOPEZ               CA     90000323373
63125885891522   FRANCISCA             HERNANDEZ           TX     75033438858
63125934241263   HEATHER               BLAKE               PA     90009939342
63125941891549   MARK                  JEFFERSON           TX     75002049418
63126185555977   GABRIELA              PALOMAR             CA     90014001855
63126316771968   JOSE                  GONZALEZ            CO     90013913167
63127181191522   LAURA                 MELENDEZ            TX     75065441811
63128447191522   LUZ MARIA             HERRERA             TX     90005354471
63128558355973   JORGE                 FERNANDEZ           CA     90015535583
63128679671976   RACHEL                VANDEGRIFT          CO     90011126796
63129375951354   LAFREDA               SIMMONS             OH     90008763759
63129992191522   CRUZ                  TORRES              TX     75045539921
63131281591522   AYLIN                 CHAIREZ             TX     90008742815
63131799291549   JESSICA               BARBA               TX     90014677992
63132315255975   JOSE                  PALACIOS            CA     90000293152
63133721733698   SAMUEL                ALLEN               NC     90012767217
63133745371976   EDWARD                THOMAS              CO     38088247453
63135237461964   RICHARD               FLORES              CA     90013962374
63135496355975   MARIA                 ANAYA               CA     90002624963
63136337191549   VANESSA               RIVERA              NM     90012063371
63136994891522   IRMA                  OROPEZA             TX     90014959948
63137131755973   MARLIN                JACOVO              CA     90002181317
63137649131453   SHEIRIE               REYNOLDS            MO     90000966491
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63138266971976   GABRIEL      ASQUEZ                       CO     38079102669
63138529871968   ULEXUS       SHEPPARD                     CO     90014455298
63138994891522   IRMA         OROPEZA                      TX     90014959948
63139169591549   JESUS        DOMINGUEZ                    TX     90005701695
63139994891522   IRMA         OROPEZA                      TX     90014959948
63141657561964   DIANE        FAVALE                       CA     46036736575
63141763191522   MARIA        RIVERA                       TX     75068757631
63142137851354   ANDREA       SMITH                        OH     90008531378
63142713771976   LEILANI      AGUERO                       CO     38055597137
63143134561936   PERLA        ORTIZ                        CA     46070551345
63144221155973   JOE          GONZALES                     CA     90010642211
63145266971976   GABRIEL      ASQUEZ                       CO     38079102669
63146697951354   KANDICE      FLORES                       OH     90013626979
63146819655975   MICHELLE     BAILEY                       CA     48093488196
63147981933698   KEI'AUNDRE   LOVE                         NC     90014399819
63149164791549   JAZMIN       NUTTER                       TX     90013151647
63149319855941   ROBERT       SALAS                        CA     90010493198
63149512355977   MICHELLE     CALHOUN                      CA     90013385123
63151439191549   BIANEY       ALARCON                      TX     90008184391
63151924451354   KARRIE       DUNN                         OH     90013219244
63154362657538   ADEL         DAVIS                        NM     90005743626
63154561155973   SABRINA      NACHOR                       CA     90013535611
63155295655977   GRACIELA     ANDRADE                      CA     90010152956
63156649131453   SHEIRIE      REYNOLDS                     MO     90000966491
63156845884392   RACHAEL      SPEARS                       SC     90009848458
63156923133698   MICHELLE     DOBBS                        NC     90011099231
63158364431453   JASMINE      POWELL                       MO     90010243644
63158418661988   MARIO        PADILLA                      CA     90002374186
63162717963646   TAMITHA      TROMBLEY                     MO     90012827179
63165186355977   AMANDA       HENDERSHOT                   CA     49074621863
63169165161936   VICTOR       TREJO                        CA     46043391651
63171138555973   MARIA        PIMENTEL                     CA     90011311385
63171427484392   JALISA       SMALLS                       SC     90013204274
63171913555973   ERICA        MCKINNEY                     CA     90014249135
63173185551354   DAVIS        LOMBRE                       OH     66089111855
63173932971968   LAURA        MERZ                         CO     90015089329
63174194261964   CLARISSA     PENA                         CA     90011921942
63174977755983   ARMANDO      HARRIS                       CA     90014759777
63175253633698   BERNARD      SMITH                        NC     90008562536
63175554455975   SALVADOR     PEREZ                        CA     90014135544
63175991751354   RON          ANDERSON                     OH     66040669917
63176238155973   SERGIO       COTA                         CA     90013452381
63177545557538   SOFIA        PARRA-JUAREZ                 NM     90003595455
63178579655977   KRYSTLE      PERALTA                      CA     90015245796
63178876561964   ELOINA       CARRILLO                     CA     46059178765
63179979663646   AMELIA       HODGE                        MO     27575819796
63182442971968   MATTHEW      BAUMERT                      CO     90006054429
63182511725236   CARLOS       SOTO                         NC     90015465117
63182666255973   AMANDA       STEELMAN                     CA     90010126662
63182712761964   JOE C        MONTES                       CA     90012987127
63182738251354   MICHELE      ADKINS                       OH     90010127382
63184294651354   YANETTE      DIAZ                         OH     90014472946
63185348663646   FRANKIE      SUTTON                       MO     90008393486
63185929461936   ANTONIA      VIZCARRA                     CA     90014849294
63185936857538   CRISTOPHER   OLSEN                        NM     90002629368
63186499171976   SHERRY       SCHERMERHORN                 CO     90011754991
63186919291863   AZIA         BROWN                        OK     90011599192
63187212791549   GLORIA       ROSALES                      TX     90007742127
63187275163646   JOEY         DONNELLY                     MO     90013362751
63189524961936   NATHAN       DARDEN                       CA     90008005249
63192178451364   PATRICK      CLOKE                        OH     66047111784
63194469871968   NATHAN       ESPINOZA                     CO     90014524698
63195393384392   SHELVA       ANDERSON                     SC     90009463933
63198297151354   RHONDA       COOK                         OH     90012292971
63198512561964   POWELL       GERALD                       CA     90011385125
63213194871968   JOE          FOSTER                       CO     90013391948
63213882525236   KIMBERLY     MCCRAE                       NC     90014358825
63215566171968   GABRIEL      LIBRADO                      CO     90011505661
63215759555977   BENITO       VACA                         CA     90005197595
63217399455975   MARYSOL      FUENTES                      CA     90012063994
63217949933698   GUADALUPE    DURATE                       NC     12057079499
63218369361964   SERGIO       PERALTA                      CA     90013853693
63218389977582   SANDRAMARI   HERNANDEZ-PLASCENCIA         NV     43012123899
63219863555973   NORMA        PEREZ                        CA     90005298635
63221536891549   OFELIA       BANUELOS                     TX     75029945368
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63223966191549   ROSALBA      BOGGS                        TX     90013639661
63225979663646   AMELIA       HODGE                        MO     27575819796
63226174351354   ERIKA        WOODS                        OH     90014691743
63226532681644   JENNIFER     GUZMAN                       MO     29088055326
63227513755975   MARIBEL      MORENO                       CA     90011175137
63231279561964   SUGEY        SALMERON                     CA     90010542795
63233348771976   DEREK        HOGUE                        CO     90001433487
63234238155973   SERGIO       COTA                         CA     90013452381
63234536271968   SCOTT        THOMPSON                     CO     90002665362
63235331171968   MARISELA     GUILLEN                      CO     32090123311
63237161881631   RICHARD      LOPEZ                        MO     90002921618
63237418471976   ENRIQUE      CHAVEZ                       CO     90008744184
63237443191549   YVETTE       CASTILLO                     TX     90013424431
63237838155977   MIGUEL       GONZALEZ                     CA     49044428381
63238252184392   ANTHONY      BROWN                        SC     19021512521
63238521555973   DEANDRE      MAXWELL                      CA     90007525215
63239281551354   SHARON       STONE                        OH     90010012815
63239811791549   HECTOR       PALACIOS                     TX     90012878117
63239963891527   BLANCA       ESPITIA                      TX     90007289638
63242246855977   VANG         YENG                         CA     49013012468
63242346161964   MIGUEL       ZAPIEN                       CA     90012773461
63242537355973   ELIDA        MEDINA                       CA     90013155373
63243618291522   SILVIA       WHITE                        TX     90014966182
63244785933698   JESSICA      ALBRIGHT                     NC     90011107859
63248377671976   ELIZABETH    ROMERO                       CO     38088023776
63253624355973   LUCY         SIGALA                       CA     48056456243
63253717171968   JOEY         MAES                         CO     90012917171
63254868433698   YURIDIA      ROJAS VILLALVA               NC     12073178684
63255297871976   TRACI        AARAGON                      CO     38047972978
63258683781644   KYLE         STARR                        MO     90006956837
63262266355973   CARLOS       FALCON                       CA     90014382663
63262328255975   YAMMI        MARTINEZ                     CA     90014903282
63262627193762   TOCCARRA     HENLEY                       OH     90001386271
63262819161936   GABRIEL      ORONA                        CA     90010788191
63263578971968   VALERIE      MONTOYA                      CO     32067055789
63264664651354   STEPHEN      PETERS                       OH     66025946646
63264928561936   MARLIN       CASTANEDA                    CA     46068719285
63265319355975   MANUEL       KELLY                        CA     48005183193
63265589791549   ROBERT       HARBER                       TX     90013195897
63265652471968   DAVID        COONTZ                       CO     90013626524
63265775671976   SHAWN        ARAGON                       CO     90004347756
63266158581644   KIMBERLY     SINCLAIR                     MO     29045001585
63266628291522   MONICA       VALENCIA                     TX     90014966282
63267858751354   KAYLA        ROBERTSON                    OH     90013818587
63268522471968   SARAH        BURKE                        CO     90014395224
63268653391522   RODDAM       JUSTIN                       TX     75075396533
63269214971968   TINA         TRUJILLO                     CO     90014642149
63271979225236   ANTONIO      RENTERIA GONZALES            NC     90015219792
63275429155973   MELINDA      BERMUDEZ                     CA     90013864291
63276412671968   ABRAHAM      AVILA                        CO     32049264126
63277452133698   ABRAHAM      MARICHE-CANDELA              NC     90012184521
63278855791549   EDMUNDO      AVILA                        TX     75000108557
63281339171968   ERIN         CRAFT                        CO     90014603391
63281838171968   MATTHEW      BEAVER                       CO     90010668381
63282564555975   CAROLYN      SOLIS                        CA     90007505645
63283893355975   CHELSEY      OLMOS                        CA     90001288933
63284296861964   SERAFIN      MIRANDA                      CA     90011172968
63284379157538   SONIA        TORRES                       NM     90002273791
63285214391863   DERICK       BARDELL                      OK     90011922143
63285772491522   CYNTHIA      TORRES                       TX     75082207724
63286626961936   JULIO        VIELMA                       CA     90010496269
63287478577321   INEZ         GABINO                       IL     90012474785
63287854291894   GINA         LEE                          OK     90003708542
63287979891549   TAMMECHA     JOHNSON                      TX     90010409798
63288469271968   JOHN         MCCREREY                     CO     90013714692
63288478155977   DEBRA        SUSTAITA                     CA     49049934781
63289461661936   KARAH        TIFELE                       CA     90013274616
63289688761964   LISA         SNYDER                       CA     46028236887
63289955491549   DAVID        VILLEGAS                     TX     90013939554
63293768861964   JOSE         RINCON                       CA     90011997688
63294496371976   ANTHONY      CARBAJAL                     CO     38056134963
63294739261964   MANUEL       GOMEZ                        CA     46060467392
63295546371976   DEANNA       GALVAN                       CO     90012905463
63295715955973   MARIA        BARBOZA                      CA     90002997159
63296799291549   JESSICA      BARBA                        TX     90014677992
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63298112177568   REYNALDO     JIMENEZ VARGAS               NV     90011701121
63299284484392   SUYAPA       RUIZ                         SC     90013742844
63299694231453   JOHN         WILLIAMS                     MO     90010646942
63311165984392   BRENDA       KNOWLES                      SC     19006291659
63311656433698   CAROL        GAINEY                       NC     12080496564
63312167655973   JAVIER       ALVEREZ                      CA     90012351676
63312294651354   YANETTE      DIAZ                         OH     90014472946
63312938655973   KHAMVILAY    PHETHVILAY                   CA     90013379386
63313893263646   PAYGO        IVR ACTIVATION               MO     90012248932
63314182391549   MIGUEL       MONTEZ                       TX     90012101823
63314758184392   DELLA        STEPHENS                     SC     90008977581
63315411825236   LESLI        LUIS                         NC     90013244118
63315922455973   ARMANDO      CORTEZ                       CA     90001659224
63318155671976   BRANDY       REITER                       CO     38070801556
63318645661964   MIGUEL       PACHECO                      CA     90012926456
63319268355973   ELIZABETH    CHAVEZ                       CA     90014272683
63319325771976   LORENA       MERCADO                      CO     90015253257
63319436791549   JUAN LUIS    GARCIA                       TX     75092324367
63319723684392   DORETHA      CHAVIS                       SC     90012987236
63319725363646   JORGE        ALBERTO                      MO     27568507253
63321219263646   JESUS        ESCAMILLA GIL                MO     90012612192
63321538255975   JEANETTE     KEEL                         CA     48055655382
63322249761964   ANGELA       DRAWHORN                     CA     46011772497
63322735355977   RACHEL       MOUKA                        CA     90002587353
63322999555983   ANNETTE      ATTILANO                     CA     90014769995
63323417871968   DEBRA        REN                          CO     32064674178
63326613486438   RICARDO      ASCENICON                    SC     90014156134
63328587355975   ISABEL       HERNANDEZ                    CA     90015305873
63328657855977   ARTURO       CASTRO                       CA     90013286578
63329326855975   JUANITA      SERNA                        CA     48012623268
63329818751354   GIRI         SAPKOTA                      OH     66077088187
63332753591552   GREGORY      WILLIAMS                     TX     75096317535
63333161555973   MARIBEL      HORCASITAS                   CA     48014941615
63333419861936   FRANCES      ESTRADA                      CA     90010734198
63333737871968   NICHOLAS     RHAMY                        CO     32095777378
63333875391549   ARACELY      SALCIDO                      TX     90010158753
63335197871976   YOLANDA      ATENCIO                      CO     38019251978
63335777261964   DONDRA       BARRON                       CA     90013647772
63335784855977   ANGELICA     BRAVO                        CA     90010247848
63336681381631   MARIA        MCGRONE                      MO     90002936813
63336996281644   KIMBERLY     EILAND                       MO     90006739962
63338989191522   MAYELA       ANGEL                        TX     90007639891
63339983561964   AMALIA       VINOLE                       CA     90002009835
63341238361964   CAROLINA     SERRANO                      CA     90015172383
63345212377537   FLOYD        CARPENTER                    NV     90012522123
63345651951354   JEFFREY      KNAB                         OH     66088556519
63345666591522   JUAN         IBARRA                       TX     90014946665
63347621471968   DIANE        WADE                         CO     90010936214
63347665761936   ADRIAN       RUVALCABA                    CA     90015176657
63351243284392   JESLER       LOPEZ                        SC     90010672432
63351443155975   STEPHANIE    LISENBERRY                   CA     90013804431
63352379563646   AMOS         HERNANDEZ                    MO     90012323795
63353341855975   ROSA         ALCANTAR                     CA     48067613418
63353654991522   MELISSA      DUNN                         TX     90015116549
63353983961936   CARLOS       SIGARROA                     CA     90005399839
63354122591522   DIANA        ESTRADA                      TX     75045321225
63354725891549   RICARDO      DOMINGUEZ                    TX     90010227258
63355673355973   MARIA        GOMEZ                        CA     90000366733
63355776161936   LOTTIE       OLITHANT                     CA     46067537761
63356654455975   DAVID        GONZALEZ                     CA     90010636544
63357161691522   ROBERT       BENITEZ                      TX     75045321616
63357246471976   RONALD       PACHECO                      CO     90011772464
63358835881644   FELIX        CHACON                       MO     90008748358
63359595355973   DENISE       WHITFIELD                    CA     90010045953
63361877433698   CASSANDRA    THOMAS                       NC     90011008774
63361993125236   KATINA       WINSTEAD                     NC     90014689931
63362243891522   EDDIE        GONZALEZ                     TX     90009852438
63362341984392   LINDA        POOSER                       SC     90009643419
63362378161964   BRITTANY     GUEVARA                      CA     90014583781
63362598163646   TREVOR       FROSCH                       MO     90012875981
63363629791522   MARIA        GUADARRAMA                   TX     90011096297
63364293184392   CATHERINE    FRIERSON                     SC     90013042931
63364844533698   DANIELLE     GRAY                         NC     90014188445
63365471755977   JOSE         REMERIZE                     CA     90013054717
63365494531453   REBECCA      BROWN                        MO     27526094945
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63366353884392   DAVID         HUGGINS                     SC     90012033538
63367378961936   FRANK         FANUA                       CA     90013743789
63367978261964   ANA           SMITH                       CA     90011189782
63368442357538   MARIA         GOMEZ                       NM     35549234423
63368472463646   CHRISTOPHER   MASSEN                      MO     90010684724
63368539961964   JOSE          MIRAMONTES                  CA     90010825399
63373498461964   ANTONIO       HUARCAS                     CA     90010454984
63374653455977   GUSTAVO       HERNANDEZ                   CA     90013906534
63375682455977   SOPHEA        MAK                         CA     90010826824
63375821991522   ANGELICA      LOPEZ                       TX     75004588219
63376572291549   ANDRES        MONREAL                     NM     90014595722
63378438733698   JAMAL         SMITH                       NC     90015454387
63379271684392   MIGUEL        RIOS                        SC     90014102716
63379327455975   MARINA        GARZA                       CA     90010253274
63379722157538   TINA          VASQUEZ                     NM     90005977221
63382341555975   ELENA         CEBALLOS                    CA     48068803415
63382576651344   AMANDA        STICKROD                    OH     90001005766
63382728155977   RHONDA        ABENIDO                     CA     90014577281
63384445261964   MARILYN       CERVANTES                   CA     90014894452
63384518263646   CLAIRE        BOYLAN                      MO     90010625182
63386337251354   JARED         MORRIS                      OH     90014143372
63387545761964   PATRICIA      ESCAMILLA                   CA     90012805457
63388159455973   JONATHAN      MARTINEZ                    CA     90015031594
63389114461936   MARIA         YORK                        CA     90009261144
63389677855973   DANIEL        PYLE                        CA     90014746778
63389985871968   RICKEY        BAEZ                        CO     90012089858
63391722157538   TINA          VASQUEZ                     NM     90005977221
63392179371976   CAROL         JONES                       CO     38024231793
63392865884392   PATRICIA      PARKER                      SC     90008878658
63393479171968   TAMRA         CRIM                        CO     32095824791
63393527557538   MARISELA      AGUILERA                    NM     90011675275
63393818993189   SONJA         HILL                        KY     90002448189
63394383784392   KEVIN         JOHNSON                     SC     90006283837
63394796451354   CHRISTIAN     KINCAID                     OH     90015217964
63394825291549   PRIETO        JOSEE                       TX     90012878252
63394898633698   JEDDA         ADAMS                       NC     90014238986
63397357384392   MICHEAL       JAMES                       SC     90002823573
63397556163646   FRANKLIN      EVANS                       MO     27537675561
63398571361936   OCTAVIO       DUARTE                      CA     90013895713
63398875155977   JOSE          MURILLO                     CA     90010768751
63399311155973   WENDY         SANDOVAL                    CA     90009373111
63399611184392   KYLE          BUSCH                       SC     90014846111
63399734391549   MARCO         CASTRELLON                  TX     90014957343
63411935261936   RANDY         PITTMAN                     CA     90008029352
63412484361964   SCOTT         OLIVER                      CA     90011114843
63412934481631   CORDIA        MILLER                      MO     29096299344
63415228251354   NIKOLE        TAYLOR                      OH     90014422282
63415573661975   RICHARD       GORMAN                      CA     90009225736
63415814141261   LUCHIA        YANOTTI                     PA     90007238141
63417391584392   YASMINE       SIRIS                       SC     90000783915
63417897355977   ERICA         DIAZ                        CA     90004698973
63418216384392   DANIEL        SERRANO VERA                SC     90013592163
63418345763646   JOHN          CASEY                       MO     90013393457
63418457361964   JD            EVANS                       CA     46004214573
63418477255977   VALERIE       GUTIERREZ                   CA     49085354772
63418598861936   JOSE          PAZ                         CA     90015155988
63418742755973   MARINA        BELL                        CA     90008467427
63418946481644   RONALD        GARRISON                    MO     90008749464
63419246685944   OSCAR         CASTRO-ENCINA               KY     66051832466
63419543461936   ANA LADY      RESENDIZ                    CA     90013105434
63423655555975   MAGALI        ESTRADA                     CA     90010456555
63423814961936   LANCE         CAMERON                     CA     46085618149
63426113755977   MAGNOLIA      SERIOS                      CA     90010831137
63426899461936   AGUSTIN       CARRASCO                    CA     46072728994
63427415491534   MARIO         GARCIA                      TX     75041264154
63428874555973   RAQUEL        MORALES                     CA     90009338745
63429459755973   MARIA         MADRIGAL-BEDOLLA            CA     90012084597
63433319661936   BECKY         GAY                         CA     90013473196
63433674391522   DIANA         ESPINOZA                    TX     75073166743
63434445125236   ROCIO         VERNAL                      NC     90012624451
63434567955993   ALVARO        SANCHEZ                     CA     90008075679
63437373761964   MIGUEL        DAMIAN                      CA     46014333737
63437694771968   GLENN         HARMON                      CO     90009876947
63437943244351   PRISCILLA     NKIE NGWA                   MD     90011899432
63438113833698   RUBEN         COLMENARES                  NC     90013831138
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63438584561936   JOOK           GARANG                     CA     90014355845
63439351671976   DOREEN         CHAVEZ                     CO     90006503516
63439571861964   ROBERTO        RUVALCABA                  CA     90011315718
63444214991522   LUZ            SALOME                     NM     75063102149
63445131481644   TYLER          ELLIOT                     MO     90010961314
63445378261964   STEPHANIE      CABRERA                    CA     90014583782
63445717371968   JOEL           REYES                      CO     90013257173
63446496963646   JOSEPH         HOFMEISTER                 MO     27522024969
63446895381631   JENNIFER       JACKSON                    MO     29096378953
63449934151354   ADRIANE        BROWN                      OH     90011879341
63451356733698   CHRIS          SMITH                      NC     12091063567
63452987861964   KATRINA        ESTRADA                    CA     46093439878
63454947855973   JERRY EDWARD   WALLACE                    CA     90007649478
63457769384392   TAYLOR         BAKER                      SC     19081957693
63458394671976   CECILIA        JAQUEZ                     CO     38065273946
63459129761936   TERESA         VALERIO                    CA     90008651297
63461442155973   STANLEY        OWSLEY                     CA     48001094421
63461735563646   EFREN          HEREDIA                    MO     90000237355
63461976957538   MARIO          CABRAL                     NM     35513219769
63462522451354   TAHNIA         BUTLER                     OH     90011435224
63462728825236   QUAMAINE       CURTIS                     NC     90014127288
63463667933698   CRYSTAL        CRAVEN                     NC     90012946679
63463921171968   RAY            LANNIGAN                   CO     90012539211
63466289155977   ANGELICA       CRAWFORD                   CA     49061182891
63467434225236   JAY            RUFFIN                     NC     90014854342
63467443471968   RACHEL         CASAREZ                    CO     32045324434
63469421671976   SUAL           GONZALES                   CO     90011784216
63473426255975   MELISSA        CARRANZA                   CA     90013934262
63474314451354   CLARA          STODGHILL                  OH     90006583144
63474473841261   PATRICIA       MAUND                      PA     90000314738
63474884961936   NOHEMI         GARCIA                     CA     90012438849
63475721184392   KIMBERLY       SMITH                      SC     90011587211
63475741925236   WILLAIM        GARLICK                    NC     90011137419
63476124171968   CAITLIN        DEYOUNG                    CO     32059661241
63477748241257   SUSAN          POLLACK                    PA     90008167482
63478462661924   ARNOLD         AVALOS                     CA     46049154626
63479563271968   MARK           BRADLEY                    CO     90009975632
63479683191522   ARTURO         RODRIGUEZ                  TX     90009336831
63481135191549   ROGELIO        DELGADO                    TX     90001521351
63481188971968   CAROLINA       FLORES                     CO     32074521889
63482248171968   WALTER         BURKHOLDER                 CO     90007612481
63482269385948   TRISHA         FOWLER                     KY     90006552693
63482624361964   PASCUALA       RUIZ                       CA     90010256243
63483499955975   CELESTE        ZUNIGA                     CA     48075664999
63485577961964   JAZMIN         GAYTAN                     CA     90011315779
63487478761964   ARROLLO        LEOX                       CA     90004934787
63487498184392   JAMES          CLARK                      SC     90014864981
63488766825236   JANELL         KOOHESTANI                 NC     90001357668
63488816491527   SELENE         ACOSTA                     TX     90013068164
63492175655975   DEANNA         JARAMILLO                  CA     90011191756
63492975663646   CARL           BELL                       MO     90002589756
63493193763646   VICKI          THOMAS                     MO     90011961937
63493374191522   BALTAZAR       HERNANDEZ                  TX     90014973741
63495986555975   EVA            GARFIELD                   CA     48032189865
63496143455973   YOLANDA        ROBLEDO                    CA     48063221434
63496573571968   CODY           STONE                      CO     90012675735
63498651333698   VERDELLIZ      MCMURTRY                   NC     12050896513
63499651155973   FRANCISCA      PATINO                     CA     90014856511
63511383161972   MONICA         OCHOA                      CA     46067503831
63511723151354   CHRISTOPHER    PLUMMER                    OH     90012647231
63512119591549   ROCIO          GARCIA                     TX     75006921195
63513385255977   CARLITA        GARCIA                     CA     90009563852
63514248261954   CHAVELA        MCMURRAY                   CA     90000892482
63514288771976   ISRAEL         LOPEZ-ALONSO               CO     90011792887
63514544961936   BRENDA         AULT                       CA     90010205449
63514653391522   JOSE           RAMOS                      TX     90005396533
63514952461964   ESTELA         VASQUEZ                    CA     90007539524
63514965855973   JOSE           HINOJOSA                   CA     48090989658
63516912455973   CYNTHIA        ESPINOZA                   CA     90014909124
63517167325236   JANA           ARMSTRONG                  NC     90014551673
63517355655977   VANESSA        GOMEZ                      CA     90011043556
63517756384392   GABRIELLE      MACK                       SC     90012997563
63519225741272   SUSAN          PAWARSKI                   PA     51096262257
63519398391522   DIANA          TREJO                      TX     90014973983
63519525255975   PHANH          SAENGKO                    CA     90008435252
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63521216281645   TINETRA      POUNAL                       MO     90004212162
63521822961966   MARIA        RUIZ                         CA     90009448229
63523283691522   ELIZABETH    PRADO                        TX     75013722836
63524121941261   KOKO         JOHNSON                      PA     90013741219
63525445181631   MARGARET     MARTIN                       MO     29093924451
63527767151354   CHRIS        SAVAGE                       OH     90009267671
63528296155973   MARIO        LUEVANOS                     CA     90011802961
63531429251354   STEVEN       MAYNARD                      OH     90008914292
63532958361964   ANNNA        LOUISA ALVAREZ               CA     46052629583
63533939455977   JOSE         ROSALES                      CA     90013329394
63534616733698   NES BITT     LORRAINE                     NC     12004366167
63535498251354   DENNIS       DOANE                        OH     90012154982
63536437855975   ANDRES       ATRISCO                      CA     90015474378
63536787651354   LEAH         SAVAGE                       OH     90009267876
63537849955975   JORGE        MUNOZ                        CA     90011428499
63538458455977   SANDRA       PARRA                        CA     90002084584
63538995581631   CAROL        BARTFIELD                    MO     90002939955
63541115184392   SCOTT        WILDER                       SC     19027181151
63541522171968   TEKPASSAGA   SIMTAYA                      CO     90014155221
63543635561936   JASON        PROTHRO                      CA     90009346355
63543693455975   AVEDELIA     BERNABE                      CA     48053766934
63544667541261   KRISTYN      KELLY                        PA     51000456675
63545425671976   NANCY        ARMIJO                       CO     38009564256
63545628863646   BRIAN        DIAL                         MO     27587936288
63549428557549   ERIC         TALAMANTES                   NM     90014324285
63549534163646   JEANNETTE    COLEMAN                      MO     90004265341
63551852561936   GLORIA       CEJA                         CA     46059448525
63552932163646   ANDREA       ESTRADA                      MO     90011869321
63553321671976   CHELSEY      CARDENAS                     CO     90009763216
63555279191549   RIVERINO     ESTRADA VARGAS               TX     90010332791
63555728155977   RHONDA       ABENIDO                      CA     90014577281
63557658485953   NIETTA       FRAZIER                      KY     67009676584
63557751457538   DAVID        RIOS                         NM     90007307514
63558197563646   NANCY        LOUCKS                       MO     90002571975
63559516384392   OLIVIA       RUIZ                         SC     90009455163
63562472351354   DARLENE      WILSON                       OH     90013544723
63563972184392   CAITLIN      BRINTON                      SC     19013879721
63566811171976   AUDESIA      CHERRY                       CO     38017868111
63568196641261   MARKEYA      WILLIAMS                     PA     90011421966
63568553563646   LYNN         WERNER                       MO     90014805535
63568565355973   RUDY         JIMENEZ                      CA     90004565653
63569356361936   JOHN         SAHLIN                       CA     90010353563
63571521955941   ARAGON       RAMIREZ                      CA     90012375219
63572149263646   MARIE        DEES                         MO     90014891492
63572683584392   REGINA       BUTTER                       SC     90012596835
63572961181631   ALONSO       PENA                         MO     29018159611
63573884171976   ESPERANZA    GONZALES                     CO     38013428841
63573943961558   DEZIN        MORRIS                       TN     90015449439
63574154763646   WILLIAM      BRITT                        MO     90013931547
63574853784392   LASHAWNDA    BROWN                        SC     19092238537
63574884391522   ABRAHAM      MEDINA                       TX     90000558843
63574918731453   TERRY        MOORE                        MO     90009989187
63575175963646   RAUL         RAMIREZ                      MO     90014381759
63577641355977   AIOTEST1     DONOTTOUCH                   CA     90015116413
63578111591549   DOLORES      OJEDA                        TX     90009471115
63578348284392   MELVIN       BOWENS                       SC     90014603482
63578543461936   ANA LADY     RESENDIZ                     CA     90013105434
63578721451354   JUAN         MONTALVO                     OH     90011577214
63579826961936   NANCY        SANDOVAL                     CA     46069228269
63581658181631   KAITLYN      BARANEZ                      MO     29035606581
63581949271976   JAMES        BUENO                        CO     90003339492
63583799525236   LAKHDAR      BENLERNEB                    NC     90012187995
63584316263646   KEVIN        DEBRECHT                     MO     90014133162
63584698651354   HAYLEE       COUSINO                      OH     66005966986
63584761255973   RHONDA       BAGBY                        CA     90013627612
63585681681645   DEBRA        MECLAIRE                     MO     90003286816
63588154955975   LUIS         SOLIS                        CA     90015141549
63591676855977   RANDELL      HELSEY                       CA     90012896768
63592229991957   COLETTE      LOPEZ                        NC     90006392299
63593377691857   GORGIE       MCNAC                        OK     90012363776
63593546757538   ASHLIE       HERNANDEZ                    NM     35506485467
63594467155973   JUAN         GARZA                        CA     90010764671
63595265761964   OSVALDO      DIAMANO                      CA     46056862657
63595587471968   MICHAEL      BALDWIN                      CO     90005445874
63597884155973   HERBERT      MYLES                        CA     90007398841
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63598114781644   DONNA        HOWE                         MO     29064811147
63598621331453   BIRDIE       GROSS                        MO     27582846213
63598884171976   JOSEPH       CHAVEZ                       CO     90011808841
63599822551354   JAMIE        PERRY                        OH     66050218225
63611451233698   RICARDO      ENCISO                       NC     90014484512
63611831271921   CHRIS        HORN                         CO     32007988312
63612411661964   JOSE         LUNA                         CA     90014584116
63613376961924   LELAND       LITTLETON                    CA     90010663769
63614773155975   ZULEMA       ANDRADE                      CA     90010137731
63615184361964   MARI         TORRES                       CA     90008431843
63615218181644   MISS         CLEO                         MO     29060242181
63615985491522   YESSICA      MORALES                      TX     75000199854
63616651655975   CLEMENTE     DIAZ                         CA     90004836516
63616772755973   ADAN         SANCHEZ                      CA     48087577727
63616977561964   VILLAR       JACK                         CA     46030039775
63617454333698   AL           LIPSCOMB                     NC     90014944543
63618817555977   KAREN        GILL                         CA     90013328175
63619928331453   KIERRA       VAUGHN                       MO     90014259283
63621277771968   MELISSA      GREENLEAF                    CO     32043942777
63622376341261   SAMANTHA     WITHEROW                     PA     51096493763
63622553563646   LYNN         WERNER                       MO     90014805535
63623631933698   JUSTINA      WILLIAMS                     NC     90012936319
63624973891549   MANUELA      VALDEZ                       TX     90014419738
63625551591522   RICARDO      DELGADO                      TX     90014265515
63627195333698   PORSCHE      JETER                        NC     12010031953
63627524271968   CRYSTAL      JACK                         CO     90002265242
63628344191522   CESAR        DIAZ-GUILLEN                 TX     90007243441
63631619355977   OCIEL        ESCOBAR                      CA     90002756193
63632127333698   DAVID        TAYLOR                       NC     12007181273
63634679131453   CAROL        BECKER                       MO     27527176791
63634995581631   CAROL        BARTFIELD                    MO     90002939955
63636938191549   YVETTE       OCHOA                        TX     75077739381
63637167555973   ROSHANDA     SMITH                        CA     90007781675
63637784633698   WILLIAM      SMITH                        NC     90011127846
63639378951354   CLAUDIA      SEGOVIANO-ESTRADA            OH     90012583789
63639617961936   VICTORIA     LLAMAS                       CA     90010786179
63641261363646   DAVID        HAMMACK                      MO     90010052613
63643797131453   MARGARET     AKINS                        MO     27550787971
63643813771968   MARVIN       HOSTETLER                    CO     90013258137
63644486255975   NANCY        GONZALEZ                     CA     90015324862
63644667584392   STACEY       FAVORS                       SC     19045976675
63644769391599   MARIA        PALOMINO                     TX     90012177693
63645423825236   ANGELINA     LARA                         NC     90000284238
63647665863646   CORY         FETSCH                       MO     90011236658
63647848341261   JOSEPH       MILLER                       PA     90015178483
63647897481644   TANEISHA     BRICE                        KS     29088268974
63648284871968   ZACH         POSIK                        CO     32007492848
63648318991525   ALMA         VALADEZ                      TX     90011823189
63648576371976   KIM          HAMLIN                       CO     90010795763
63648979161964   KEVIN        MASSEY                       CA     90012889791
63652224155973   MARCO        SPINDOLA                     CA     90015142241
63652328571968   NICHOLE      DORN                         CO     32069893285
63652492884392   PATRICK      FLOWERS                      SC     90014734928
63652634981631   ANGEL        PAREDES                      MO     29021096349
63653568791522   MELINDA      AHORTALEJO                   TX     90010025687
63657315784392   SHERRY       KNIGHT                       SC     90014373157
63657717155977   MARTAIN      JORDAN                       CA     90012567171
63658814855977   HERMAN       STOUT                        CA     90015268148
63659573861936   ALEXIS       WARD                         CA     90014005738
63662679271968   TOYAN        WILLIAMS                     CO     32009236792
63663664741257   YOLANDA      WYCHE                        PA     90009706647
63664142471968   MELINDA      SAUNDERS                     CO     90014501424
63664537655973   MARIA        DEORIJEL                     CA     90010255376
63665783163646   JILL         BRUNE                        MO     90000817831
63665879831453   NATHAN       DUNCAN                       MO     90011178798
63667242684392   DANIELLE     CHARTRAND                    SC     90014892426
63667392661964   KETTELIE     SAINTELIASLAVOILE            CA     46061883926
63668712563646   KENNY        FETSCH                       MO     90014937125
63669671691549   EDGAR        SOLEDAD                      NM     90014836716
63669912455977   NORA         HERRERA                      CA     49076549124
63671318433698   TOMEKA       PRICE                        NC     90014113184
63671744831453   BERNITA      BOLDEM                       MO     90001877448
63672327161964   KAREN        MONTOYA                      CA     90012883271
63674132181631   LYNN         VOLK                         MO     90002941321
63675133141292   FRANCIS      DICKERSON                    PA     90008421331
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63675479155977   DARLENE      HOLLAND                      CA     90013104791
63676336591522   JESSICA      MENDOZA                      TX     75043973365
63676719955973   VANESSA      ACOSTA                       CA     90014067199
63676755955975   JULIE        VASQUEZ                      CA     90015027559
63677174155977   LEMUEL       MORALES                      CA     49023141741
63677874993728   JOE          KREITZ                       OH     90010078749
63679334761987   FELIPE       ESPINDOLA                    CA     46081393347
63681792251354   MARGARET     LAFORCE                      OH     90011577922
63682511391549   REBECCA      MARRUFO                      TX     90000125113
63683228184392   TAMMY        PRINGLE                      SC     90006662281
63683796771968   ANTHONY      JONES                        CO     90009147967
63683963261422   DARCHAE      BURLEY                       OH     90014249632
63684727155973   VICTOR       GONZALEZ                     CA     90010337271
63684877384392   MICHELL      PANGBURN                     SC     19072558773
63684877961987   DINAH        PURCELL                      CA     90010938779
63685454861964   DAVID        ERDMAN                       CA     90013564548
63685917271976   VALERIE      LIRA                         CO     38009579172
63686622255977   MARY         GARCIA                       CA     49034396222
63686869184392   TRACEY       SIMS                         SC     19093758691
63687931257538   CORINA       HURSEY                       NM     90005729312
63688257255977   MANUEL       GARCIA                       CA     90007782572
63688543871968   ROBERT       ROCHA                        CO     32096105438
63688737555977   MIKE         GARZA                        CA     90013907375
63689951771968   KRISTA       KELLY                        CO     32099479517
63691553171968   PAUL         GILLBERT                     CO     90014225531
63692482155977   PAULA        OVERSON                      CA     90013054821
63693739531468   JUSTIN       PATTON                       MO     90009917395
63694566331461   TERIKA       WORTHY                       MO     90014845663
63695972163646   KIM          SCHMIDT                      MO     90014179721
63696641631587   DANIEL       NAGY                         NY     53090636416
63698487255975   JAIME        MACIEL                       CA     90010684872
63699325155973   GEORGIA      GUTIERREZ                    CA     48038833251
63699664957538   DAVID        IGNACIO                      NM     90005016649
63711949851354   ASHLYN       EDELMAN                      OH     90010479498
63713327751354   MARIA        CREECH                       OH     66084213277
63713555163646   ELIAZER      RAMIREZ                      MO     27500605551
63714313391549   MAYELA       REYNA                        TX     75075683133
63714534761936   MARIA        NEVAREZ                      CA     90011315347
63714884463646   CHACE        THIES                        MO     90012338844
63715724971968   MIKEL        SHANE                        CO     90013687249
63715873991522   MARTHA       RAYMOND                      TX     90008798739
63717124655975   ANGELINA     CHAIDEZ                      CA     90011031246
63717443491549   PAMELA       IBARRA                       TX     90012294434
63719189161936   RAMON        REYES                        CA     90009911891
63719456191522   ANA          HUGHES                       TX     75075294561
63721279555973   MARIA        ACEVES                       CA     90007782795
63721415233698   GREGORIO     AGAMA                        NC     90014974152
63722969291549   ANGELICA     MARQUEZ                      TX     90010939692
63723567971968   YESICA       PRIETO                       CO     90013785679
63723775671976   DARNELL      JONES                        CO     38088927756
63723919791549   JOSE         ESPARZA                      TX     90012929197
63724742991549   ESTHER       CARDENAS                     TX     90001457429
63725315655924   ELIJAH       WILKINS                      CA     90012463156
63726458761964   RODRIGO      AYALA                        CA     90005614587
63727972155975   ISIDRO       MARTINEZ                     CA     48012869721
63729965951354   FRANCISCO    VILLATORO                    OH     90006889659
63732915741261   SAMANTHA     UTLEY                        PA     51000469157
63735418855973   FAVIOLA      RUIZ                         CA     90009814188
63735642955973   JENNY        RAMIREZ                      CA     90010956429
63735758971968   NEILA        ZANGANEH                     CO     90011917589
63736572291549   ROSA         LOZANO                       NM     75043825722
63737341481631   LUIS         SANCHEZ                      MO     29004673414
63737433257538   JUAN         PRIETO                       NM     90010334332
63738966271968   TOBICS       DIXON                        CO     90010659662
63739567981644   EARL         MACK                         MO     90003505679
63741748655935   RAMIRO       SANDOVAL                     CA     90003227486
63741853871968   RAMON        CHAVEZ                       CO     32073218538
63744139884392   PAMELA       JONES                        SC     19028741398
63744565372498   JESSE        YOCUM                        PA     90008145653
63744719425236   LETISIA      MUNOZ CANO                   NC     90012037194
63746914731453   JUAN         MIJANGOS                     MO     90011179147
63747943584392   MARIA        SWEET                        SC     90004999435
63748988831453   LAKEISHA     DAY                          MO     90010939888
63749624151354   ROBERT       BATES                        OH     90013006241
63753146957538   MARICELA     RODRIGUEZ                    NM     35548571469
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63753486661936   MIREYA       COVARRUBIAS                  CA     46068174866
63753795191549   JOSE         SEGOVIA                      TX     75092527951
63753924955981   MARCHELL     MOORE                        CA     48089179249
63754346684392   ANIBAL       RIVERA                       SC     90014373466
63754489961964   MARGARITA    SANDOVAL                     CA     46044464899
63754849291522   EMMANUEL     PENA                         TX     75012108492
63755334791522   THANIA       QUINONES                     TX     90011803347
63755552884392   JOSE         RAMIREZ                      SC     90011485528
63758268984392   CHARLENE     CHMABERS                     SC     90013982689
63759957255977   ESTHER       RODRIGUEZ                    CA     90013869572
63762964155977   ARMANDO      BALBOA                       CA     90008009641
63763447861964   LEVI         UELI                         CA     90015144478
63763761757563   DONALD       BROWN                        TX     35513527617
63763963985946   TIA          MORGAN                       KY     66039389639
63764121851354   CAMERON      COLEMAN                      OH     90014351218
63766173893792   DAVID        HOUSER                       OH     90009531738
63766888491549   JOSE         RIETO                        TX     90011188884
63768573861936   ALEXIS       WARD                         CA     90014005738
63769134881631   RICK         VANDEVEER                    MO     90001711348
63769633951354   DOMINIC      PEDIGO                       OH     90005316339
63772126571968   PERDRO       PACHECO                      CO     90006461265
63772294133698   SHAKITA      HAIRSTON                     NC     90013152941
63774842361964   YESENIA      CAMACHO                      CA     46036708423
63775313591525   MIRIAM       GARCIA                       TX     90010763135
63776159684392   SPENCER      SAMUELS                      SC     90013821596
63777558684392   POOH         BEAR                         SC     90012425586
63777611963646   LAUREN       MITCHELL                     MO     27539206119
63777817571976   RICK         CARLYLE                      CO     38090738175
63778827225236   JESSICA      THORPE                       NC     90012778272
63779137981644   JERONIMO     GOMEZ                        MO     29093551379
63782256331453   SHANIKA      SIMMONS                      MO     90000332563
63784898271976   SAMUEL       HAMMOCK                      CO     90011838982
63786542871968   MICHELLE     NEMEC                        CO     90005235428
63787149671968   AMBER        LANZA                        CO     90012371496
63787176371976   ABEL         GUERIN III                   CO     90014691763
63789424861964   OMAR         BARROSO                      CA     90012634248
63792161955975   FRANCES      BEARDSLEY                    CA     90015331619
63792956884327   TED          DUBS                         SC     90007439568
63793548955975   JOSE         ROBLES                       CA     90014155489
63794674291522   ANTHONY      ALVAREZ                      TX     75002316742
63795614761936   ANTONIA      LARA                         CA     90012616147
63795677357538   VINCENT      MARTINEZ                     NM     90002906773
63795846263646   FOREST       HENRY                        MO     90014668462
63795885761964   EDUARDO      MORALES                      CA     90013698857
63796928891988   TYKEYAH      BREEDEN                      NC     90006869288
63798322591522   DEANNA       STEWART                      TX     75014413225
63811144363646   DAWN         HOWERY                       MO     27540311443
63811642171968   REBECCA      LAWRENCE                     CO     32028266421
63812527391549   SILVIA       SANDOVAL                     TX     75013265273
63814556655977   JOSEPHINA    ZAVALA                       CA     90015205566
63815114591549   LLUVIA       MARTINEZ                     TX     90012661145
63815633261964   AIOTEST1     DONOTTOUCH                   CA     90015116332
63816784972446   DIANE        HUNTER                       PA     90002067849
63816971161964   ROSENDA      PEREZ                        CA     90011979711
63816982391549   JAVIER       ARANDA                       TX     75039369823
63817633261964   AIOTEST1     DONOTTOUCH                   CA     90015116332
63817849871968   JEREMY       BUHRINGER                    CO     32068278498
63821986855977   CASEY        CASARES                      CA     90001619868
63822378561936   JORGE        FIGUEROA                     CA     90006873785
63822698561936   EDDER        ROBLES                       CA     90011086985
63824337361936   MARIO        MARCIAL                      CA     46050363373
63824586891522   PAUL         JUAREZ                       TX     75087715868
63824757884392   BERSA        DELEON                       SC     90014437578
63824795581671   SCOTT        FIELDS                       MO     29050617955
63825277284392   LUIS         HERNANDEZ                    SC     90012372772
63825872855977   ANDREA       CLAY                         CA     90014938728
63826622791549   EDITH        REYES                        TX     90013216227
63827657341261   ANGELA       GRACE                        PA     90013456573
63829768384392   ALDEN        SHERRILL                     SC     90012867683
63831853255973   MARIA        CERVANTES                    CA     48066238532
63833116751327   LYNDSEY      STEPHENS                     OH     66004981167
63833189155973   SONIA        RODRIGUEZ                    CA     48010411891
63833739255975   MICHAEL      BATES                        CA     90007977392
63837721231453   JASON        FRIEHS                       MO     27585227212
63837961361966   JESUS        MARTINEZ                     CA     90011229613
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63837983491549   RICARDO             CASAS                 TX     75014729834
63838646485935   BARBARA             MCDANIEL              KY     90010716464
63842626881644   BRITTNEY            GADDY                 MO     29041416268
63843876991549   TERESA              RODRIGUEZ             NM     75040948769
63844126657538   JIMENEZ             OSCAR                 NM     90004261266
63844939471968   SUNDAY              BRODRICK              CO     90015139394
63847428171968   JEREMY              INGO                  CO     90013584281
63847478851354   CHRISTOPHE          WALLEN                OH     66043204788
63847932555975   VICTORIA            LOPEZ                 CA     90014849325
63849128331453   JUDITH              HUNTER                MO     90001311283
63849289255975   XINOG               VANG                  CA     90003272892
63849627371968   CARLOS              MASCARENAS            CO     90012996273
63849778955977   LILI                MARTINEZ              CA     90010227789
63851393663646   MICHELLE            HUGHES                MO     90006773936
63851713733698   DOMINGUEZ           RICARDO               NC     12015297137
63853274257538   CRYSTAL             GUZMAN                NM     90002942742
63853966125236   ADAIRA              ADAMS                 NC     17017369661
63854516755975   VANESSA             MARTINEZ              CA     90013385167
63854632833698   YESENIA             CHANELO               NC     90014416328
63855515455975   RENE                CERVANTES             CA     90008165154
63855562791522   JUAN                DIAZ                  TX     75045705627
63857274257538   CRYSTAL             GUZMAN                NM     90002942742
63857475871968   DENISE              ESTERGARD             CO     90013064758
63857495463646   CHRIS               HANNERS               MO     27589064954
63857496563646   TIMOTHY             REILY                 MO     90014374965
63857613784392   LASHAWNDIA          WAITERS               SC     19041436137
63858825655973   LUCINA              SANTANA               CA     90010228256
63858896841261   BRANDI              DESAVAGE              PA     90007238968
63859316255975   MARICELA            GALLEGOS              CA     90013963162
63859649371968   SCOTT               KAUFMAN               CO     90010076493
63863865591522   TITO                PUENTE                TX     75046948655
63863875255973   JOSELYN             CASAS                 CA     90011978752
63864692455981   IRMA                LOPEZ                 CA     90009786924
63868686881631   BERNER              MARCARIO              MO     29096406868
63871359391522   MAESE               MARICELA              TX     90012733593
63871578955977   MICHAEL             PAREDES               CA     90011105789
63872146825236   LEONDRO             PEREZ                 NC     90015201468
63872463971968   SILVESTRE           AGUIRRE               CO     32095134639
63873273984392   MELESIO             SANCHEZ               SC     90012722739
63874643961964   EDGAR               GARCIA                CA     90015326439
63875174284392   SANTANA             TODD                  SC     90012651742
63875195771968   ROBERT              MARTINEZ              CO     90009401957
63875593455977   MELODY              HATCHETT              CA     90010985934
63875722561936   ROBERTO             NAVARRETE             CA     90012887225
63876692371968   ELVIA               LOPEZ-NUNEZ           CO     32055776923
63876856831453   TERRIONA            STARKS                MO     90009828568
63877495391522   BERTHA              CARVALLO              TX     90014994953
63877689871968   STACY               GALVEZ                CO     32042406898
63881877684392   LESLIE              FLOWERS               SC     90013828776
63882424891522   ANDERA              RAMIREZ               TX     90010314248
63882773755975   LEANNA              PHELPS                CA     90012067737
63882794133698   SHMICKA             MCQUEEN               NC     90005147941
63883541255973   ADAN                REGOLLAR              CA     48092215412
63883662461936   ERIKA               HERNANDEZ             CA     46073796624
63884936461964   RODNEY              JERRY                 CA     46033049364
63885355391549   ALEJANDRA           GARCIA                TX     75032383553
63886915633698   DENISHA             GALLOWAY              NC     90012329156
63888961961975   JEMMA               RICHMOND              CA     90013249619
63889351591549   IRMA                MARRUFO               TX     90007673515
63889399257549   NORMAND R           PAQUETTE              NM     90012263992
63892229647825   ANTONIO             JACKSON               GA     90002052296
63899653463646   JESSIE              MILLS                 MO     90013076534
63899868757538   ONTIVEROS-HERRERA   LIBIA J               NM     90011068687
63911168757538   MARIA               DE LA ROSA            NM     35560701687
63911275461936   LESLIE              MARTIN                CA     46065222754
63912125763646   JUAN                ZARATE                MO     27514391257
63912413261936   OSWALDO             PEREZ                 CA     46074914132
63912817255975   BERLINDA            MACIAS                CA     48075398172
63913641355977   AIOTEST1            DONOTTOUCH            CA     90015116413
63913676261964   REID                TABORN                CA     46086456762
63914938671968   PAYGO               IVR ACTIVATION        CO     90015299386
63915244825236   GRAHAM              SMITH                 NC     90011862448
63915812181631   TIFFANY             EIDSON                MO     29080828121
63915936533698   EBONY               PETTERS               NC     90009119365
63916156191522   MARIA               FRANCO                TX     75077771561
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63916676271968   TAQUIVIA           JOINER                 CO     90011396762
63917756461936   MIKE               CARDENAS               CA     90008087564
63917783791549   LOURDES            ALVARADO               TX     90001567837
63917974961964   TANISHA            FLANAGAN               CA     90013049749
63918351784392   NIKITA             MANIGAULT              SC     90014933517
63918779291522   GRACIELA           PADILLA                TX     75071477792
63919489951354   GENE               MACKEY                 OH     90015444899
63919968284392   ANTHONY            CORTES                 SC     19064829682
63921356157538   MARIA              HERRERA                NM     90004263561
63922165961964   MICHELLE           CARTER                 CA     90008421659
63922714291599   ELVIA              ROSALES                TX     90009377142
63922987951326   IAN                BURTON                 OH     90011159879
63924114984392   SHANIKA            EASTER                 SC     90015161149
63924614991549   JAMES              HORNER                 TX     90013206149
63924989455973   JESSICA            JIMENEZ                CA     90013129894
63925926691549   TITO               SANCHEZ                TX     90012819266
63926164991549   ALBERTO            ESTRADA                TX     90010741649
63926531951354   TIERRA             SANDERS                OH     90012785319
63926927171976   STEPHANIE          AMBRIZ                 CO     38046729271
63926945755932   TERRON             NOLAN                  CA     90007209457
63927214471976   MELISSA            CASAREZ                CO     90000542144
63927394791534   JULIO              GUAVARA                TX     90008283947
63928985961936   AUSTIN             OTOOLE                 CA     90013899859
63931388493726   LARONDA            GREEN                  OH     90001283884
63931924561964   JUAN               DONATO                 CA     90007499245
63932567391522   LILIANA            GARCIA                 TX     90014995673
63935373125236   JAQUEZ             HARGETT                NC     90013343731
63935468461936   DIANA              RIVER                  CA     90005084684
63935537355975   MONICA             CORONA                 CA     90015175373
63936493955977   ALBERTO            ORTIZ                  CA     90012054939
63937452733698   JACKIE             HALLETT                NC     12057954527
63937778855973   MARCELLA           JIMENEZ                CA     90010137788
63938652291522   DELIA              GUERRERO               TX     90003456522
63939697991534   MARIA              GUDINO                 TX     90008196979
63942569271968   STEVEN             KRAFT                  CO     32013735692
63944277155977   SALUSTIA           MARTINEZ               CA     49041622771
63944995463646   TIMOTHY            JANDA                  MO     27568119954
63945582263646   BRENT              FERRILL                MO     90008635822
63945938684392   NECOLETTE          GRANT                  SC     19053649386
63947332481644   LATOYA             GOODWIN                MO     90011563324
63948372825236   MARIA DEL CARMEN   LEZAMA MEDEL           NC     90012873728
63948571151354   ELISA              VASQUEZ                OH     90009275711
63948829351354   CONSUELO           REYES                  OH     66024758293
63948914161936   JASON              FRANCO                 CA     46096399141
63949714931453   NICOLE             ROBINSON               MO     27508337149
63949841471968   KIMBERLY           CONNOLLY               CO     90008858414
63949845884392   VERNON             TOWNSEND               SC     90000928458
63951571371968   KATHY              MAU                    CO     90012485713
63952114363646   DAVID              RUFKAHR                MO     90009171143
63954316691549   ANIVAL             ONTIVEROS              TX     90015013166
63955141255973   JOSE               SANTILLAN              CA     48015241412
63955249491527   IRMA               CARRASCO               TX     90013262494
63955392255975   MARIA              ESCALERA               CA     90009133922
63956663455975   MARIO              CISNEROS               CA     90004686634
63957584171968   JAMES              WOODRING               CO     32049635841
63958261881631   BRIAN              DENNIS                 MO     90001652618
63958358386435   LARRY              RANDOLPH               SC     90014113583
63958671581644   DONNA              WEIR                   MO     90006766715
63958831661964   MARI               GARCIA                 CA     46072528316
63958954725236   BERNARD            ROBERTS                NC     90013659547
63959392991549   EDUARDO            GARCIA                 TX     90002073929
63961432163646   ROBERT             MILBERG                MO     27503374321
63963596571968   BRENNAN            TRASS                  CO     90014665965
63963857851354   BENJAMIN           PETERSON               OH     90013088578
63964716651354   CHARLIE            SHEEN                  OH     90000947166
63965697171968   ANGEL              SANCHEZ-TORRES         CO     32058346971
63967261955977   CHELSIE            DCHINEN                CA     49066732619
63968456961936   KARLA              WOO                    CA     90014814569
63969649963646   BARBARA            DISHMAN                MO     90014816499
63971288571968   SIUSAN             FRENCH                 CO     32017862885
63973373655977   RACHEL             VALDIVIA               CA     90014823736
63974813251354   TONY               POWELL                 OH     90011258132
63975427184392   ROSA               ROBINSON               SC     90013764271
63975624363646   KATHY              STEELE                 MO     90011276243
63976759971968   ZINNAH             DOWAH                  CO     90013787599
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63978923355975   SARA         VALDEZ                       CA     90001029233
63979921757549   SAMANTHA     BORUNDA                      NM     90012149217
63981615955977   JUDY         EILTS                        CA     49016446159
63982542555977   GARY         CROSS                        CA     90007935425
63983361331453   KELSEY       READ                         MO     27579783613
63983473563646   ALEXANDER    SCHAPER                      MO     90012924735
63985266563646   PAYGO        IVR ACTIVATION               MO     90012522665
63985786961936   WILLIAM      COLGATE                      CA     90005097869
63985857971976   IDA          CASIAS                       CO     38022218579
63986879381644   TARENCE      MADDOX                       KS     29040868793
63987257851354   SALVADOR     PEREZ                        OH     90008572578
63988575255977   EDWARD       GONZALES                     CA     90012455752
63991626184392   SHANTA       GREEN                        SC     90002346261
63991928655977   KOLTEN       KEENEY                       CA     49049059286
63992195155973   CHANTAL      GONZALES                     CA     48096781951
63992492955977   KHU          YANG                         CA     49032954929
63993133461936   JOHN         QUINN                        CA     90014211334
63994178851354   MICHAEL      TURNER                       OH     90012751788
63994294555975   ROSALBA      LOPEZ DE VILLAGOMEZ          CA     90015162945
63994641355977   AIOTEST1     DONOTTOUCH                   CA     90015116413
63995747955973   MARIANA      CHIMEO                       CA     90012007479
63996818291522   YVETTE       AGULLAR                      TX     90003118182
63997251555975   SORIDA       MACARIO                      CA     90009922515
63997676271968   TAQUIVIA     JOINER                       CO     90011396762
63998248633698   MALCOLM      HINTON                       NC     90013122486
63998641955977   AIOTEST1     DONOTTOUCH                   CA     90015116419
63999479592836   ADOLPH       KLATT                        AZ     90014014795
63999719663646   EDWARD       SANDERS                      MO     90013097196
64111297555973   BLANCA       FLORES                       CA     90002232975
64112519371968   BIVINS       WALTER                       CO     32086895193
64113328355973   ANGEL        ARTEAGA                      CA     90009553283
64115193257555   JUDITH       CHAVEZ                       NM     90011941932
64115324181675   DREW         BRYAN                        MO     90013863241
64116431155977   MATHEW       DART                         CA     90013384311
64116536691522   JORGE        JUAREZ                       TX     90001575366
64118986257555   MARLO        FLORES                       NM     35591479862
64119164455975   ROCIO        CHAVEZ                       CA     90013461644
64119275385689   BRAULIO      FRIAS                        NJ     90011162753
64119867191562   ROBERTO      DOMINGO CHASCO               TX     90013028671
64121174491562   IVONNE       MENDOZA                      TX     90010781744
64121363461964   IVAN         RODRIGUEZ                    CA     90011843634
64121849891562   MAGDALENA    RODRIGUEZ                    TX     75045248498
64121915351338   LAUREN       HUTCHINS                     OH     66035479153
64125182557555   JOSUE        PONCE                        NM     90013781825
64125979251338   LARRY        MORGAN                       OH     90015569792
64126467755975   ABRAHAM      MARTINEZ                     CA     90014584677
64126619861964   DENNIS       VEGA                         CA     46085856198
64126914781644   RAMON        WILLIAMS                     MO     29055229147
64127492551338   AMY          PLEIMAN                      OH     90013194925
64127967255973   ERICK        QUEZADA                      CA     90010839672
64128434485886   DAVID        ARROYO                       CA     46017244344
64129381131453   MAMADEE      SHERIFF                      MO     90001333811
64129931163646   LINDA        VOLPE                        MO     90013479311
64132142884392   SHONE        GREEN                        SC     90014651428
64132699985886   JESSENIA     AREVALO                      CA     90004826999
64132742691998   EDUARDO      PALACIOS                     NC     90007797426
64132941171968   CHERISHA     GALLEGOS                     CO     90014849411
64134527691998   KORY         BYRD                         NC     90002875276
64135479691998   BRITNEY      BROWN                        NC     90012144796
64135634963646   VIRGINIA     PITSCHNER                    MO     90004816349
64136331771968   BILL         NANCE                        CO     90004683317
64136528881675   CHRIS        ICENOGLE                     MO     90007125288
64136753855973   SARA         PITTS                        CA     90008887538
64138536363646   ASHLEY       LAUTH                        MO     90015485363
64141558351384   ELIZABETH    TOWNSLEY                     OH     90010445583
64142213661964   MATHEW       EARLE                        CA     90004362136
64142626955977   JUAN         MEDINA                       CA     90002166269
64142646784392   NILZA        RODRIGUES                    SC     19015266467
64143467985689   JOHNNY       VELASQUEZ                    NJ     85021314679
64144385981644   SHERL        LEWIS                        MO     90014713859
64144491557555   JESUS        DELGADO HERRERA              NM     90014354915
64144764331453   ANDREW       FOAST                        MO     90009587643
64145399751337   DEVIN        BALES                        OH     90015093997
64145828391998   STACEY       AGUIRRE                      NC     90012868283
64146257691522   MARGARITA    GUTIERRES                    TX     75026292576
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64146431361964   VERA         CARILLO                      CA     46055354313
64146783184392   TUNISIA      BRYANT                       SC     90013017831
64147195984392   SUSAN        BENJAMIN                     SC     90014691959
64147461385886   PAYGO        IVR ACTIVATION               CA     90012544613
64148277555973   ALEJANDRO    ZAMORA                       CA     90010812775
64148923491522   MONICA       AGUILAR                      TX     90002039234
64148956391998   NATISHA      HALL                         NC     90005499563
64148964491562   MOISES       GONZALEZ                     TX     90010199644
64149496261936   OMAR         MENESES                      CA     46067234962
64152498751337   EMILY        FARTHING                     OH     90007744987
64152697461931   ARMANDO      MACIAS                       CA     90012326974
64156525671968   ARIAYANNA    WILSON                       CO     90012945256
64156568863646   DARREN       MCGILL                       MO     27517855688
64157443291522   CARMEN       CERECERES                    TX     90008764432
64157843561936   DORA         CANO                         CA     90004528435
64159741261961   NEQUEY       CASTRO                       CA     90009347412
64161454191363   CAROLINA     BERROA-CARRASCO              KS     90011624541
64161718255975   CHRISTINA    TORRES                       CA     90015447182
64161938885689   JUSTINA      VARGAS                       NJ     90015029388
64162178481675   PAUL         BLISS                        MO     90003521784
64162427691599   YAMILI       REYES                        TX     90010124276
64162431271968   TIMOTHY      GRAND                        CO     90014604312
64162467755975   ABRAHAM      MARTINEZ                     CA     90014584677
64162834561961   TEO          CORTES                       CA     90009418345
64162992355973   SYLVESTER    GOMEZ                        CA     90010839923
64162995185689   SHARON       BARBAR                       NJ     90014809951
64163252255973   KRISTA       MACARENO                     CA     90002092522
64163261757555   ISELA        JAQUEZ                       NM     90003442617
64163699284392   MARIA        SANTANA                      SC     90013216992
64164112891998   KIMBERLY     WISE                         NC     90009381128
64164267857555   JUAN         MUNOZ                        NM     35550492678
64164342381675   MARK         QUINN                        KS     90005883423
64164722155975   JUAN         MORENO                       CA     90015487221
64165268181644   LACINDA      REESE                        MO     29053252681
64165995784392   CHEROKEE     DEWEY                        SC     19025159957
64167112557555   STEPHANIE    AVITIA                       NM     90001811125
64167922681675   MARCUS       ROBINSON                     MO     90008209226
64168122161936   RUSSELL      WILHELM                      CA     90014861221
64168761261961   KHALIDA      KARAAK                       CA     90013007612
64168773825236   WYLLIE       CUMMINGS                     VA     90007807738
64169141251338   NATASHIA     WILSON                       OH     90015011412
64169168861936   VICENTE      HARA                         CA     90012161688
64169931341261   ALEXANDRA    ZEPIC                        PA     51001929313
64171449657555   ESTEBAN      CORRAL                       NM     90008394496
64172792485886   NICK         NANNA                        CA     90012857924
64173824261964   JORGE        RODRIGUEZ SANTOS             CA     90008898242
64174185155973   MARTIN       AGUILERA                     CA     90004061851
64175115363646   ERIC         STREET                       MO     90010971153
64175125855973   DANNY        VALENCIA                     CA     90010001258
64175199691572   MYRA         CARRILLO                     TX     90009181996
64177128131456   CHARLES T    HIGGINS                      MO     27551391281
64177849784392   CHALONDA     GOSS                         SC     90011538497
64178279955973   JOSH         RODRIGUEZ                    CA     48007752799
64179239955975   ANGEL        SUCCAW                       CA     90002972399
64179433171968   ISIDRO       GONZALES                     CO     90015274331
64181173971968   ENOCH        VINING                       CO     90007891739
64181328781644   ERIONNA      KELLY                        MO     90011833287
64181942491562   GABRIEL      REYES                        TX     90012129424
64182196361964   JANELLE      GARELA                       CA     90012301963
64182973884392   ENRIQUE      SOLANO-LARIOS                SC     90013139738
64182997371968   LOURDES      HERRERA                      CO     90012089973
64183963361964   IRENE        LOPEZ                        CA     90003909633
64184364855975   EDGAR        GUERRA                       CA     90001033648
64185247391562   BRIAN        BANDA                        TX     90013302473
64185775685689   URIEL        VELASQUEZ                    NJ     90010937756
64187245481644   CHRYSTAL     BURTRUM                      MO     90006632454
64187537161964   LAFS         ONE                          CA     46035185371
64188688491522   IRIZ         MICHELLETTI                  TX     75024076884
64188822485886   DANIEL       RIOS CHAVARRIA               CA     90014158224
64188838484392   LATOYA N     GREER                        SC     19050108384
64189227961964   SARRARIO     HERRRERA                     CA     90010672279
64189233763646   DONTE        STEELE                       MO     90012642337
64191163181675   KESHA        EVANS                        MO     29059391631
64191658355975   ISELDA       GARCIA                       CA     90013856583
64192444657555   RUBEN        BUSTILLOS                    NM     90014804446
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64193433391998   LAKEISHA     LAWRENCE                     NC     90004254333
64193483255977   DALILA       GONZALEZ                     CA     90007024832
64194583955975   KELLY        HOPKINS                      CA     90009665839
64195479961936   JOHANNA      DIAZ                         CA     90014764799
64195935457555   LETICIA      ENRIQUEZ                     NM     35535219354
64196247855977   EMILINDA     WILSON                       CA     90014002478
64196561685689   STEVEN       ALVAREZ                      NJ     90014235616
64197122851338   PABON        MORALES                      OH     66072971228
64197283591562   RAUL         CAMPOS                       TX     75087952835
64197485371968   NICOLE       MINER                        CO     32016944853
64197973581644   MELISSA      WEST                         MO     29000879735
64198215231453   SHARAYE      TERRELL                      MO     27575862152
64198283491522   MANUELA      GONZALEZ                     TX     90001662834
64198356691527   CLAUDIA      REYES                        TX     90011593566
64198674341261   DANNISE      GARNY                        PA     90006146743
64211579151338   LIDA         REDDEN                       OH     90009645791
64211764161936   EMANUEL      CORTEZ-ROBLES                CA     90013857641
64211945857142   THIERRY      AKINOTCHO                    VA     81005269458
64213478881675   RYAN         ALLEN                        MO     90011924788
64213748785886   ELLIE        EDELMIRA                     CA     46036947487
64214122555975   ADRIAN       MONTGOMERY                   CA     90010991225
64214664381675   JESUS        FIERRO                       MO     29032566643
64214938281675   VITA         GRANT                        MO     90010779382
64215489255973   KARINA       FLORES                       CA     90012264892
64215879655975   PATRICIA     SERVANTEZ                    CA     90008468796
64216728261936   HOMERO       VILLA                        CA     90014167282
64217359661936   MARIA        ABREGO                       CA     90006873596
64217863251338   HICKS        J                            OH     90011178632
64219146651338   BRITTANY     STEVENS                      OH     90015071466
64219985684392   ALTHEA       BROWN                        SC     19022209856
64221778381644   DAN          MAJORS                       MO     90014897783
64222124833698   ANTHONY      WILLIAMS                     NC     90013591248
64223639684392   VALDOMIRO    PRUDENCIO                    SC     90012066396
64224655761964   PABLO        CHAN                         CA     90007386557
64225555755977   YOLANDA      CRUZ MANZANO                 CA     49027205557
64225969451338   MISTIN       FINK                         OH     90014569694
64226113331453   ELIZABETH    BROWN                        MO     27583161133
64227626557555   WILLIAM      ROBINSON                     NM     35563726265
64228321984392   MARY         SMITH                        SC     90014613219
64228477871968   NICK         GARY                         CO     90011304778
64228832954124   SARAH        YOUNGER                      OR     90013788329
64228996163646   LYNNETTE     SHELTON                      MO     90013619961
64231497791861   JODI         BECHTOLD                     OK     90014804977
64231554381675   JOELL        GARRETT                      MO     90013415543
64231941485886   CORINA       CASTILLO                     CA     90010399414
64232258971968   CHANDRA      WHETLEY                      CO     90014292589
64233774985886   BAILI        ZHANG                        CA     90014727749
64234339233648   ROBERT       DAWNEY                       NC     90011763392
64235451931453   MIKE         SMITH                        MO     90002454519
64236218155977   ALEXANDER    JAVIER                       CA     90012302181
64236234285886   CRISPINA     ASID                         CA     90012972342
64238163451337   LONNIE       JACKSON                      OH     90013831634
64239232555977   AIOTEST1     DONOTTOUCH                   CA     90015122325
64239311651337   JANET        SCHNECKER                    OH     90013933116
64239419455977   DUSTIN       HAYES                        CA     90014744194
64239639957555   ADOLFO       FAVELA                       NM     35583866399
64241252163646   CHASTITY     BRELSFORD                    MO     27587612521
64241743481644   RENEE        STOVALL                      MO     29039717434
64243149285886   JULIAN       CHAVEZ                       CA     46004521492
64243923191562   LUIS         GARCIA                       TX     90014599231
64244659985689   ALBERTO      SANJUAN                      NJ     90015336599
64244826271968   SEAN         BULLARD                      CO     90014448262
64244995485886   CESAR        TORRES                       CA     90013009954
64245774985886   BAILI        ZHANG                        CA     90014727749
64246434291998   PAUL         VANNOORT                     NC     90014774342
64246753855978   MICHELLE     MONTOYA                      CA     90003507538
64247484955935   JULIE        LAFLEUR                      CA     90006404849
64248795961961   TABRIZ       RAIMEY                       CA     90006047959
64249222461964   ROBIN        VICKERY                      CA     46064102224
64249945181675   BRENDA       SIFUENTES                    MO     90011609451
64249982855973   CARLOS       PINTO                        CA     90012429828
64251192561964   DANA         ADDERLEY                     CA     90014811925
64252298263646   JESSICA      MALIN                        MO     90014722982
64252413931456   TERRANCE     CARTER                       MO     90008394139
64252571877538   MARLA        GREENE                       NV     90014435718
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64253678871968   PETER        MAISEL                       CO     90014666788
64255365581644   JANAESIA     WRIGHT                       MO     90011083655
64255444857555   RASHAWN      GARCIA                       NM     90010944448
64255492463646   MATTHEW      BAUER                        MO     90013494924
64256874784392   DOMINICK     GRAHAM                       SC     90000718747
64257282161936   CARLOS       MUNGUIA                      CA     46039182821
64257744861936   LUZ          MEDINA                       CA     90013307448
64259872355977   KAM          SRIMALA                      CA     90013768723
64262351671968   SHANELLE     MONTEZ                       CO     90010663516
64264752291998   LAKENYA      CAMPBELL                     NC     90008157522
64266821551337   HARRY        FIELDS                       OH     90012528215
64266862371968   DAVID        WHITCOMB                     CO     32067208623
64267312661964   FALINA       ZEPEDA                       CA     46020833126
64268186391998   REINAI       SOTO                         NC     90011731863
64269112485689   PEDRO        CRUZ                         NJ     90011021124
64271179585886   ALMEZ        ROOZBAHAN                    CA     90014181795
64271757191998   MARICELA     VARGAS                       NC     17055437571
64271835155975   PAYGO        IVR ACTIVATION               CA     90007638351
64272377385886   ELBER        ZATARAIN                     CA     90014393773
64272426451338   TERESA       GUEVARA                      OH     66012114264
64272757751337   TAVON        BEASLEY                      OH     90013667577
64273247791522   TANIA        FLORES                       TX     90010952477
64273498961936   BARBARA      SUMMY                        CA     90013814989
64273551891998   MICHAEL      PERSON                       NC     90012305518
64275917561936   URIEL        FRUTOS                       CA     90014889175
64276156955973   TYLER        SHIPMAN                      CA     90014641569
64276511361936   SAENGTHANG   VANGSA                       CA     90014765113
64277934891522   PRISCILLA    JENNINGS                     TX     75046649348
64278911455975   AGEDA        PEREZ                        CA     90008629114
64279124963646   DARRIS       SPILKER                      MO     90015051249
64279578791562   ANA          PEREZ                        TX     90013385787
64283233951338   JAIRO        LOPEZ                        OH     90014772339
64283766451337   BRANDON      SCOTT                        OH     90004647664
64283851385886   LEIDY        GONZALEZ                     CA     90012338513
64284285951337   OLIVARES     TOMAS                        OH     90014292859
64284595955975   ANDREA       LOPEZ                        CA     90014615959
64285797851338   KEIN         KIDD                         OH     90014857978
64286999231453   KERMIT       SUMMERS                      MO     90008529992
64287349351337   JOSEPH       HARTMANN                     OH     90014353493
64287921984392   JOHN         MCCONNELL                    SC     90012659219
64288245485886   TIARA        BELCHER                      CA     90014732454
64289474184392   CHRISTINA    MCCONNELL                    SC     19049224741
64291457191998   LEKISHAN     BATEMAN                      NC     90012884571
64293653541261   BRANDON      WHITE                        PA     51018306535
64294252981644   REGINALD     DAVIS                        MO     90009742529
64294767157555   CHARLOTTE    MAYNES                       NM     90008887671
64295255481675   AMANDA       MADDOX                       MO     29056682554
64295755451331   ANTHONY      QUINN                        OH     90004227554
64295836785689   TOMAS        LOPEZ                        NJ     90005168367
64297783881644   NICK         LAUCK                        MO     29049867838
64299326981644   SEAN         MCINTOSH                     MO     90014153269
64299485355975   ANQELICA     RAMOS                        CA     48096674853
64311386557555   DOLORES      FERNANDEZ                    NM     90002873865
64311546561964   MIRIAM       LOPEZ                        CA     90011515465
64313155151338   DARREN       CRIPE                        OH     90009871551
64313879757123   JOSE         AMAYA                        VA     90009218797
64314659157555   LEXI         PARRA                        NM     90007236591
64315198461964   MANUEL       RUIZ                         CA     90012321984
64316593291522   NLEMCHUKWU   OSITA                        TX     90002905932
64316832257555   ANGELICA     LEDEZMA                      NM     90011138322
64317657331453   TONYA        DEDEAUX                      MO     27511666573
64318544457555   LUCILLE      BENAVIDEZ                    NM     35540365444
64319296355977   PRISCILLA    GARCIA                       CA     90011502963
64321653271968   THOMAS       FITZPATRICK                  CO     90015096532
64323741251337   HALEY        PRUITT                       OH     90014227412
64323972591562   JORGE        CANO                         TX     75077819725
64324397472439   NICK         ROSA                         PA     51010423974
64324542251337   BARBETT      CLARK                        OH     90002675422
64324842261936   MICHAEL      ILANO                        CA     90007638422
64326994131453   LAUREN       WHITE                        MO     27562479941
64327251961961   ROBERT       VAZQUEZ                      CA     90011822519
64327562851338   JESUS        LOPEZ                        OH     90014015628
64327591657563   LILLIANA     HERNANDEZ                    NM     35588035916
64327797581675   ANTHONY      BOSTIC                       MO     90013187975
64328935871968   TIFFANY      MATTHEWS                     CO     90014369358
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64329234351338   ALEX          GOODRICH                    OH     90014772343
64329687257555   SAGARNAGA     EVELYN                      NM     90008436872
64329798263646   MONICA        EVANS                       MO     27561047982
64331137971968   THOMAS        COSTANDINE                  CO     90013991379
64331481751338   SANDY         BENNIE                      OH     66089234817
64332293971968   TEENA         WHITSO                      CO     32005472939
64332948985886   TOMASZ        WOJCIECHOWSKI               CA     90007749489
64333436857555   PAULITA       RAMIREZ                     NM     35596374368
64333831491562   JAQUELINE     SOLIS                       TX     90011858314
64333889184392   STEPHEN       CASE                        SC     19049608891
64334142457192   ARIA          DRAYTON                     VA     90009981424
64334927985957   JUDY          BAILEY                      KY     90011069279
64335493985886   ELBER         ZATARAIN                    CA     90012874939
64337422755973   MIRIAM        PEREZ                       CA     90004504227
64337569461936   JORGE         GATICA                      CA     90014765694
64337642891562   MARIA INES    ALVAREZ                     TX     75060856428
64337867671968   JEREMIAH      WILLARD                     CO     90000148676
64338419261964   RACHEL        KELLIE                      CA     90015154192
64338992384392   RAVEN         HARLEY                      SC     90012129923
64339253655977   DOUGLAS       RIOS                        CA     90014132536
64339311885689   RAFAEL        OTERO                       NJ     90008383118
64341252351337   ALESHA        DURHAM                      OH     90010992523
64341995891998   QUWON         MIAL                        NC     90011989958
64342272761936   GWEN          WEISCHEDEL                  CA     90013482727
64342358491562   HUGO          CAMARILLO                   TX     75097643584
64342916491998   MARY          KITTERLL                    NC     90015019164
64343316951338   DANNY         BANKS                       OH     90004763169
64344346291979   WILLIAM       BLOW                        NC     90005983462
64344355557555   TERESA        SPEDALIERI                  NM     35523643555
64345216285689   THOMAS        MOLYANEUX                   NJ     90014872162
64345856385886   DANIEL        VASQUEZ DDS. PC.            CA     90014038563
64346995485689   CRESENCIANO   AGUILAR                     NJ     90005789954
64347595751338   TAMMARIAH     ZINK                        OH     90013675957
64348169751338   RANDALL       SHERMAN                     OH     90015321697
64348811191522   CELIA         HERNANDEZ                   TX     90002728111
64349261161964   CLAUDIA       MORALES                     CA     46001622611
64351611871968   LUCAS         SARGENT                     CO     90010806118
64351944455973   MINERVA       MARQUEZ                     CA     48084379444
64352978131453   MARIAH        TINYAN                      MO     27584789781
64353147351338   DIAMOND       BRIDGES                     OH     90015071473
64353397585886   ANGELICA      OROZCO                      CA     90014733975
64354274833698   LATIA         BROWN                       NC     12065892748
64354299861964   MARIBEL       RODRIGUEZ                   CA     46014412998
64354466357555   CAROLE        BRANDT                      NM     35593584663
64354593971968   JACQUELYN     RAYE                        CO     90005885939
64355282755973   BENJI         MENDEZ                      CA     90010842827
64356325781675   ROBERT        BOURQUE                     MO     90012323257
64356359755975   STEPHANIE     CEBALLOS                    CA     90012403597
64356477861936   CHRISTOPHER   RODRIGUEZ                   CA     90012264778
64358262761961   HUGUES        BELLEVUE                    CA     90012722627
64358345161936   LYNNETTE      CHASE                       CA     90010443451
64359488531453   CHRISTY       CHAMBLY                     MO     90009514885
64361526151337   YVETTE        WATSON                      OH     90007985261
64362186781675   MARENDA       EASLEY                      MO     29035861867
64362641585689   HEPAFRODITO   CAMPOSECO ABARCA            NJ     90013236415
64363165551337   SCOTT         GRUBBS                      OH     90013251655
64363166785689   JOHNNY        PEREZ                       NJ     90014611667
64363238255977   GACHLEE       THAO                        CA     90011352382
64363282584392   SHELTON       JACKSON                     SC     90009212825
64364844455973   CHASSITY      KIRKLAND                    CA     90011208444
64367684241261   CHARNEKA      JACKSON                     PA     51088046842
64367687651337   TRACIE        WARMAN                      OH     90011126876
64367883491562   ISRAEL        ESTORGA                     TX     75002098834
64367968491998   DANIEL        JACOBS                      NC     90011149684
64368926561961   EMILIO        SANCHEZ                     CA     90014179265
64368946685886   RAUL EFREN    ESPINOZA ORDUNO             CA     46090579466
64369376791965   CARLYSE       JORDAN                      NC     90013663767
64371739991522   ALICE         GUTIERREZ                   TX     90013607399
64372982451337   AMBER         CALVIN                      OH     90001959824
64373384561961   CESAR         ZAMORA                      CA     90010293845
64373523591562   MARIA         ACOSTA                      TX     75077785235
64373574985886   SERVANDO      CARRILLO                    CA     46067695749
64374273155975   ANTHONY       CONTRERAS                   CA     90013972731
64375586557555   GUADALUPE     LOPEZ                       NM     90012625865
64375947291562   LUIS          REYES                       TX     90014999472
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64375971655975   CLAUDE            ALITEN                  CA     90014969716
64376125584392   STEVE             KAUFMANN                SC     90009661255
64377111585886   NAZARIO           GASPAR GARCIA           CA     90013011115
64377455281675   SAMUEL            MARTIN                  MO     90014934552
64377574655973   BAUDELIA          LOPEZ                   CA     48038145746
64377591951338   JESSICA           POWELL                  OH     90014725919
64377645733698   RAYSHAUNA         ROLLINS                 NC     90005276457
64378357951338   CHEALSEA          MARTIN                  OH     90012443579
64378792641261   BRUCE             MONSOUR                 PA     51084837926
64379345455975   ALNA              SOLIS                   CA     90008573454
64381783985886   KENDRA            SQUAZZO                 CA     90014187839
64384996631453   CATINA            LEE                     MO     90009169966
64385727484392   CRAIG             KEELING                 SC     90014847274
64386391455977   JILLIAN           ORNDUFF                 CA     49079483914
64387274685886   KIRK              OSEO                    CA     90006922746
64388912585886   AUTUMN            JANKS                   CA     90008569125
64391391155977   MA DE JESUS       MAGANA CASTANEDA        CA     90013643911
64391647391522   REYNA             APODACA                 NM     90010416473
64393321991522   JUDY              VARGAS                  TX     90005323219
64393967591562   ERIKA             ROMERO                  TX     90013739675
64394922191522   EFRIN             GAYTAN                  TX     75013329221
64395346341261   MALLORY           HERGENROEDER            PA     90005393463
64395386471968   ALETA             HENRY                   CO     90007783864
64395591555973   ALEX              SALAZAR                 CA     90011675915
64396152351338   TIFFANIE          STAMPER                 OH     90011201523
64396673685689   CRYSTAL L.        SIRFI                   NJ     90013186736
64397185271968   HOWARD            PUDDER                  CO     32023091852
64397528455973   ELIANA            CARASCO                 CA     90013845284
64398237484392   JAMES             BARBOUR                 SC     90015172374
64398723455977   RIP               WASHINGTON              CA     90010037234
64398969133698   TANAISHA          BUTTLER                 NC     90005279691
64399885861964   JUDITH            ENRIQUEZ                CA     90012168858
64411973191998   HEATHER           TOMCZYK                 NC     90011849731
64413287185946   ROBERT            KELLY                   KY     90013882871
64414339555975   JOSE              JIMENEZ                 CA     90013673395
64414457684392   RYNELL            GREEN                   SC     90013524576
64414522185946   BRIAN             MEADOWS                 OH     90013995221
64416575491998   JALEEL            LILES                   NC     90012025754
64416677155975   LAURA             PATTON                  CA     48059906771
64417199125236   MICAELA           MIRANDA                 NC     90010401991
64417398471226   ERAV              SHLTU                   IA     90015343984
64417626161961   ERICA             TORRES                  CA     90007776261
64417891855977   PANG              YANG                    CA     90013898918
64418525181675   GREG              GERING                  MO     29083835251
64419392461961   LAURA             VELAZQUEZ               CA     46040713924
64422195485689   JHONNY            MENJIVAR                NJ     90000401954
64423264255977   JASON             SURABIAN                CA     90011352642
64424321991522   JUDY              VARGAS                  TX     90005323219
64425329851337   JEFF              KOCHERSPERGER           OH     90013933298
64427229191998   TERRY             LUCAS                   NC     17069322291
64428331351337   STEPHEN           ELLIOTT                 OH     90013933313
64428672691998   OLGA              GUTIERREZ               NC     90009626726
64429487263646   MELVA             WOODSON                 MO     90002804872
64429587761961   LUIS              G. MUÑOZ                CA     46040635877
64429781991998   LACRISHA          BRINKLEY                NC     90008057819
64429797357555   CHASTITY          VOCALE                  NM     35585947973
64431184591562   MIRNA CHRISTINA   ACOSTA                  TX     90013191845
64432598757555   GERARD            GUTIERREZ               NM     90001985987
64433319261961   RAMONA            DIAZ                    CA     90011723192
64433593963646   TERRY             BLATZ                   MO     90013525939
64433753984392   CHRISTOPHE        MCGEE                   SC     19002957539
64435234461936   JUDY              HOLMES                  CA     90011912344
64435762625236   AUDREY            BATTLE                  NC     90010807626
64435782181644   ANGELA            ADKINS                  MO     90012907821
64436193771968   AURORA            VENZOR                  CO     90014541937
64437526471968   LISA              DEIGO                   CO     90015005264
64438543891562   KIMBERLY          ANDRADE                 TX     75079365438
64438745761936   ROSAMARIA         ZAVALA                  CA     90014167457
64438945955975   BRYAN             GODOY                   CA     48019429459
64439392491562   JASMINE           AGUIRRE                 NM     75033443924
64439514961936   ERIKA             POMPA                   CA     90013585149
64441436541221   MICHELLE          JONES                   PA     90005134365
64441464571968   KRISTA            WISE                    CO     90008434645
64442668191522   MELISSA           MENDEZ                  TX     90010416681
64442685555977   SOUTHERN          JACOB                   CA     90002976855
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64442961363623   NATALIE      WRIGHT                       MO     90008679613
64443911755959   JOSE         CUEVAS                       CA     90013899117
64444535871968   ROBERT       PESANTE                      CO     90011885358
64444899355978   SANDY        BARRAGAN                     CA     48055218993
64445452291562   RANGEL       SOFIA                        NM     90008364522
64446212491998   MARLON       GAITAN                       NC     90005792124
64446325755977   DEVONA       GARCIA                       CA     49093093257
64447615481644   DEVIN        DEFORD                       MO     90015446154
64448261981644   CARL         JOHNSON                      MO     29009632619
64448682351338   CARL         COOK                         OH     66087296823
64449877191998   JAMES        WILLIAMS                     NC     90011538771
64451355771968   SANDRA       FRIEDA                       CO     90006793557
64451667661936   MARIA        SHAKSHINA                    CA     90013196676
64451829991562   MARCOS       RAMOS                        TX     90011308299
64454357551337   MATT         BRUNS                        OH     90011893575
64454768863646   DESTINY      COKE                         MO     90011017688
64455594557555   ROBERTA      MARQUEZ                      NM     90013805945
64456292761961   VERONICA     SANCHEZ                      CA     90010022927
64456436755977   PAULA        LANDIN                       CA     90014854367
64456975651338   EVERETTE     HOWARD                       OH     66039579756
64457218585886   STEVE        SOUTHERLAND                  CA     90013082185
64457511351338   TABETHA      BROWN                        OH     90013795113
64459233285886   JOSE         BANTUM                       CA     46037542332
64459388785689   OVIDIO       GOMEZ                        NJ     90003603887
64461248781675   LILLOYD      WATSON                       MO     90004992487
64461985671968   ERIN         SHELBY                       CO     90014769856
64462263151337   CINDY        RIVERA                       OH     90002552631
64462778163646   CHRISTINA    KOENIG                       MO     27537247781
64463361884392   KRISTEN      MCGEE                        SC     90011003618
64463829791562   MIKE         RAMIREZ                      TX     75030458297
64464513391998   JUAN         ORELLANA                     NC     90012725133
64465862955964   YOLANDA      VILLEGAS                     CA     90013858629
64466129155975   BRENDA       CONNELY                      CA     48063061291
64466363263646   PHILLIP      MACKEY                       MO     27574253632
64466586791998   SHERRY       NEAL                         NC     90009045867
64467247585886   BRANDON      VOYER                        CA     46005172475
64467261591998   TAMMY        HUDDLESTON                   NC     90008232615
64467583451337   TIMOTHY      SCHAFFNER                    OH     90015145834
64467656991998   NED          STANJEVIC                    NC     90015156569
64468794185886   JOSE         OCHOA                        CA     46010137941
64468912255973   JASON        DELGADO                      CA     48015969122
64468921863646   JORDAN       SCHEPP                       MO     90006089218
64471111655975   MARIA        DELGADO                      CA     90003741116
64472781991562   MARGARITA    JAUREGUI                     TX     90009987819
64472911971226   BRYAN        DECK                         IA     90009599119
64472983771968   FRANKLIN     RUSSELL                      CO     90010659837
64474351657555   JUAN         JIMENEZ                      NM     90013233516
64474477384392   PERCY        JONES                        SC     90011234773
64474527863646   CLAYTON      DUNNERMAN                    MO     90013515278
64475394585689   DANIEL       MORALES                      NJ     90014173945
64475648851337   EMI          PARROTT                      OH     90013596488
64475868661964   AHTZIRI      AGUILAR                      CA     90010268686
64476969461961   JOSE         GARDUÑO CARMONA              CA     46078809694
64477195685886   ANGELICA     HERRERA                      CA     90011541956
64478665855977   EMA          MANRIQUEZ                    CA     90013806658
64478679191562   JESSICA      SORIA                        TX     90011366791
64478949963646   MERSADIES    LINSON                       MO     90013239499
64479118291522   MARIA        PRUEVA                       TX     75013341182
64479412584392   LOIS         JENKINS                      SC     90008794125
64479978361936   MAYRA        GARCIA                       CA     90002679783
64481395591522   RAQUEL       VALENZUELA                   TX     90005323955
64482797761961   ALBERTO      GARAYZAR                     CA     90010677977
64484163855973   GARY         PIETROFORTE                  CA     48084771638
64484273684392   TAMMIE       TURNER                       SC     90014602736
64485268271968   MARCUS       JOHNSON                      CO     90003562682
64485348251337   LAIWAH       PENNINGTON                   OH     90008013482
64485734955975   GUADALUPE    RODRIGUEZ                    CA     48007497349
64485836261936   OSCAR        CAMBEROS                     CA     90011918362
64486132857555   IVAN         CARRILLO                     NM     90001861328
64486512463646   NATALIE      FRAZIER                      MO     90008545124
64487164661936   ANASTACIA    SHIMASAKI                    CA     90014681646
64487212871968   VERONICA     BANDA                        CO     32034272128
64487618285886   PATRICIA     HEGEMEYER                    CA     90014806182
64487888651338   VERALDENE    WITHROW                      OH     90010718886
64487946361961   ANNA         PEDROSO                      CA     90011429463
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64488683491562   JUAN          RAMOS                       TX     90010106834
64489298791562   ROBERTO       GARCIA                      TX     90011102987
64489531271968   JAMES         HODGE                       CO     90012785312
64489629785886   GABRIEL       PAEZ                        CA     90012896297
64489641971968   DANIELLE      SEILEY                      CO     90010496419
64491392363646   CASSAUNDRA    EVENS                       MO     27578313923
64491672981675   ARMAN         KALIYAN                     MO     90015466729
64491838991562   CHRISTY       NEVAREZ                     TX     90013858389
64492161891562   LINDA         VILLA                       TX     75040101618
64492215771968   TERRY         JACKSON                     CO     32097982157
64492736871968   TERRY         JACKSON                     CO     90013567368
64493243163646   WADE          BAKER                       MO     90014752431
64493916763646   JESSICA       GONZALES                    MO     90015589167
64493966241261   MICHELLE      WALKER                      PA     90012069662
64494175363646   SARAH         LINSON                      MO     90015531753
64494745991588   APOLONIA      TORRES                      TX     90000297459
64495759691522   YURIKO        BARRERA                     TX     90006057596
64496477871968   NICK          GARY                        CO     90011304778
64496617455975   SERGIO        RAMIREZ                     CA     90013426174
64497446751338   ADA           MILLER                      OH     90012884467
64497597761964   ELIZABETH     GONZALEZ                    CA     46054315977
64498268755924   MAYRA         FLORES                      CA     90012012687
64498275291998   MARIANO       FLORES                      NC     90012432752
64511354671968   ABEL          ORTIZ                       CO     32088673546
64511893291957   KELLY         JOHNSON                     NC     90008808932
64512688855977   BRANDY        LEE                         CA     90012896888
64514494691998   CHRISTOPHER   SMITH                       NC     90012054946
64514668755975   FREDRICK      ZAPANTA                     CA     90014156687
64514875285886   AURELIO       AGPAOA                      CA     90014808752
64515494441261   TORIANO       THOMAS                      PA     51042374944
64515656661964   NATALIA       CORTEZ                      CA     90003536566
64515924557555   SARAH         SORIA                       NM     90011009245
64516243285689   MARCOS        ORTIZ                       NJ     90014152432
64516822581644   SHAUN         CLAYTON                     MO     90014788225
64516825581644   LYNDA         PERRY-GRIGSBY               MO     29005508255
64516875285886   AURELIO       AGPAOA                      CA     90014808752
64517215591562   NANCY         MUNGUIA                     NM     75042372155
64518141391998   TANEKA        WYNN                        NC     90014611413
64518719155973   ANTONIO       MENDOZA                     CA     90002157191
64519527663646   IDELLA        BROWN                       MO     90014065276
64519892191998   PATRISHA      RUCKER                      NC     17020168921
64521225161961   VERONICA      TOSTADO                     CA     90013462251
64521336355973   DIANA         BOND                        CA     90012883363
64521439691998   NORRIS        HARRIS                      NC     17004544396
64521873955975   RACHEL        FLORES                      CA     90002018739
64521879461936   BRENDA        CASTELLANOS                 CA     90014928794
64522819191562   RUBEN         AVILA                       TX     90008598191
64523423457131   JOSE          ALVARADO                    VA     90003604234
64523461281644   JACQUELYN     EVANS                       MO     29008514612
64523499451338   OUMAR         SIDIBE                      OH     66065444994
64525172685886   MERCEDES      GIESE                       CA     90014861726
64525689791562   LUCIA         GUERRERO                    TX     90006966897
64526877392844   PETE          CARRENO                     AZ     90015488773
64527218155975   PATRICIA      ROMERO                      CA     90006962181
64528354555973   PEDRO         OLEA                        CA     90013923545
64528691155975   DONNA         MARTINEZ                    CA     90014626911
64528883261964   SAMUEL        DE LOS RIOS                 CA     90013508832
64529198461961   JOSE          GONZALEZ                    CA     90015311984
64531391251338   ANGELIQUE     BERRY                       OH     90010123912
64531647751337   THOMAS        CANTRELL                    KY     90004956477
64532475263646   PAYGO         IVR ACTIVATION              MO     90010604752
64532741751338   REAGAN        SWEAT                       OH     90004137417
64533251855975   ERIKA         SERVANTES                   CA     90009382518
64533372291998   ROBIN         OAKLEY                      NC     90015093722
64536349657555   SALVADOR      GONZALEZ                    NM     90010823496
64537472391562   JOE           DAVILA                      TX     75072334723
64537598961964   MARTHA        GALINDO                     CA     90011385989
64537757984392   ZACHARY       MORRIS                      SC     90010357579
64538564481675   MATTHEW       MORRIS                      MO     90011945644
64539131881644   JOY           EDWARDS                     MO     90000191318
64541168755977   CORRINA       MALDANADO                   CA     90004921687
64541514381675   TYESHA        OLDEN                       KS     90013375143
64541575361964   OSVALDO       JIMENEZ                     CA     90014455753
64541979857555   VERONICA      GONZALEZ                    NM     90011009798
64543631191998   RACHEL        REED                        NC     90007736311
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64544351755975   DANIELLA     BLUMENTHAL                   CA     90012013517
64545159561964   PATRICIA     MARTINEZ                     CA     46077531595
64545171185689   JAIRO        VAZQUEZ                      NJ     90012191711
64547481141261   TIFFANY      SABATELLO                    PA     90007274811
64547835285689   MELISSA      BELTRAN                      NJ     90012758352
64547927951337   LASHAWN      BUTLER                       OH     90013419279
64548482461961   GONZALO      ALEJANDRE                    CA     90014564824
64548839655975   QUENTIN      STROLL                       CA     90012768396
64548937985689   UBAGO        VELASQUEZ                    NJ     90010819379
64549622561936   CONSUELO     MENDOZA                      CA     46042066225
64552798363646   MARSHALL     CLEMONS                      MO     90006367983
64552865561964   PATRICIA     DE LA CRUZ                   CA     90005858655
64552913357555   NORMA        MEZA                         NM     35530179133
64554957661964   CARLOS       RODRIGUEZ                    CA     90014599576
64556321161936   ADOLFO       MARIN                        CA     90015163211
64556732257555   RAUL         ENRIQUE                      NM     35507027322
64558956755973   ANGELICA     YANEZ                        CA     90010079567
64562746161964   SARA         MENDEZ                       CA     90009587461
64563132384392   MELISSA      PILL                         SC     90014711323
64564292991998   TRAVONION    MCFARLAND                    NC     90014932929
64564638391562   GREGORY      MEJIA                        TX     75095796383
64564979857555   VERONICA     GONZALEZ                     NM     90011009798
64565425191562   ALBERT       SALAZAR                      TX     75038094251
64566299655977   IVAN         SANCHEZ                      CA     90013642996
64566634191998   ETHAN        BANKS                        NC     90004906341
64566924481644   LYNNETTE     SHELBY                       MO     90013009244
64567397957549   CYNTHIA      CHAVEZ                       NM     90015343979
64567455793754   KIMBERLY     RUSSELL                      OH     90001194557
64567482163646   JASEN        DENISTON                     MO     90011034821
64568782251338   HORTENCIA    MARTINZEZ                    OH     90008607822
64569622384392   ANDREW       SITES                        SC     90013866223
64569637271968   LORI         JOHNSON                      CO     32061966372
64569745555975   GERARDO      NAVARRO                      CA     90013357455
64572961155977   JOSHUA       ROGERS                       CA     90004509611
64573151361936   SONIA        TORRES                       CA     90001131513
64573389751337   MARK         JOHNSON                      OH     90015093897
64573459455973   PEDRO        RODRIGUEZ                    CA     49023874594
64574883251338   BRIAN        ADAMS                        OH     90009308832
64574886651337   JUAN         GONZALEZ                     OH     90003288866
64575524257555   FERNANDO     GAMEZ                        NM     90013815242
64575668891998   JOSHUA       SLOOP                        NC     90015156688
64576781355975   BRITTANY     PENA                         CA     90015067813
64578456455973   IVAN         VILLAGRAN                    CA     90012574564
64578493761964   MARK         D.WIGHTMAN                   CA     46078844937
64579356984392   BRANDEE      KEIFER                       SC     90005293569
64579994493771   CARMEN       BROWN                        OH     90005539944
64583792661964   JOSEFINA     ZAMORA                       CA     46046157926
64584277961964   IRENE        BERNAL                       CA     90012042779
64584746425236   JERVAI       BODDIE                       NC     90010127464
64584822655983   RACHEL       ORTIZ                        CA     90000258226
64584871255973   LEANDRO      FERREIRA                     CA     90011868712
64585228891522   MARTHA       ORTEGA                       TX     75006202288
64585757961936   RICARDO      VASQUEZ                      CA     90014167579
64586898261964   RODRIGO      CRUZ                         CA     46094698982
64587782461961   JULIO        RODRIGUEZ                    CA     90015207824
64588524257555   FERNANDO     GAMEZ                        NM     90013815242
64589239751338   JOANNAHA     COPELAND                     OH     90015342397
64589762985689   RAMON        AROCHO                       NJ     90014777629
64591393291562   ANAPAOLA     DURAN                        TX     90008373932
64591687461936   ALVARO       GUZMAN                       CA     90015176874
64591925555977   ROSA         GARCIA                       CA     49066479255
64592273757555   SERGIO       MELENDEZ                     NM     90012772737
64592493561964   JORGE        LOPEZ                        CA     90014674935
64593943355975   LETECIA      OROZCO                       CA     90010229433
64596935461961   YOLANDA      MURILLO                      CA     90014179354
64598385761936   SAMUEL       FALAISE                      CA     90009753857
64612119133698   DIANNE       SMITH                        NC     12042871191
64612284161961   LAURA        CARRILLO                     CA     46014232841
64612699284392   MARIA        SANTANA                      SC     90013216992
64613433257555   LORENZA      FLORES                       NM     90002344332
64613471255975   BRANDY       REAVES                       CA     90014854712
64613955291522   ROBERT       CANE                         TX     90007209552
64616335663646   MADIE        GRACE                        IL     90015423356
64619641355977   MIKE         AYERS                        CA     90003576413
64619717457555   MARIA        VAZQUEZ                      NM     90012517174
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64619744391998   ADRIAN       WILLIAMS                     NC     17062387443
64621949455975   PEARL        CEBALLOS                     CA     90010689494
64622213255975   ANTHONY      SANDOVAL                     CA     90014512132
64622338141261   JEREMIAH     CALANDROS                    PA     90000603381
64623491461964   DEVORA       FRYER                        CA     90006104914
64624425291998   SHAINA       BROWN                        NC     90011114252
64624846957555   EMILY        WEAVER                       NM     90010248469
64624882355975   MARCO        ANAYA                        CA     90009738823
64625832561964   MONICA       RODRIGUEZ                    CA     90014128325
64626572451337   CHARLES      GAMBLE                       OH     66088425724
64627264251337   JASON        BALDOCK                      OH     90012462642
64627438655977   MIRNA        GARCIA                       CA     90013934386
64627768391522   ERIKA        HERNANDEZ                    TX     75038297683
64628367561964   DANIEL       RATHBUN                      CA     46015973675
64628726955973   BONITA       DANIELS                      CA     48013007269
64629196751338   ROBERT       KRAFT                        OH     90011171967
64629738755975   LIGHTNER     STEPHANIE                    CA     90001007387
64631152561964   ELVIA        DIAZ                         CA     90003621525
64631799551338   ANTHONY      BERGMANN                     OH     90008107995
64631883257555   ERIKA        LOPEZ                        NM     90012368832
64632216557555   GEORGE       TORRES                       NM     90013622165
64632241961964   ONESIMA      GOMEZ                        CA     90012222419
64632456761964   HARRIS       RODERICK                     CA     90006264567
64632758581644   JOSE         FUENTES                      MO     90010077585
64635139191998   YORDANOS     HABTEMICHAEL                 NC     17057541391
64635758861936   PRISCILLA    GARCIA                       CA     90014167588
64635973963646   JOSHUA       ESTES                        MO     27593239739
64636438555973   RAMON        RODRIGUEZ                    CA     48089024385
64636838681675   DANIEL       QUINN                        MI     90001538386
64637352161964   TELESENO     LEGROEE                      CA     90006073521
64638637141221   WILL         CAMPPELL                     PA     90012596371
64638673385689   SHEILA       WARNER                       NJ     90012516733
64638871155977   RUBY         GARZA                        CA     90011438711
64641152255977   ZENAIDA      MACHUKA                      CA     49084971522
64641896451338   JENNIFER     WASHINGTON                   OH     66081958964
64642663385689   CARMEN       SALDIVAR                     NJ     90011106633
64643126171968   TREAUNA      CARTER                       CO     90010371261
64644291261964   KAREN        ROWLANDS                     CA     46053032912
64644294251331   TRAVIS       SEBREE                       OH     90012862942
64644625885689   ROMAN        COBIX                        NJ     90010286258
64645121155975   PAMELA       LOPEZ                        CA     48004441211
64645195791522   LUCIA        MARTINEZ                     TX     90001401957
64645196161961   DIANA        KANE                         CA     90013481961
64645277651337   TEARLE       LUMAS                        KY     90001512776
64646776271968   ROBERT       BEEBE                        CO     90010017762
64646892184392   CHARLIE      AIKEN                        SC     19083168921
64646894285689   RENE         ANTONIO                      NJ     90014488942
64647398885689   NESTOR       NEGRON                       NJ     90000903988
64647734181675   HALEY        JARMAN                       MO     90015577341
64648353951337   URIEL        ROBLERO                      OH     90013933539
64648675391998   TONYA        WADE                         NC     17083216753
64649485491522   SAMANTHA     MIRANDA                      TX     75092744854
64649731981675   OCTAVIA      BENSON                       MO     29043547319
64649899461964   SERGIO       PENA                         CA     46005248994
64651142881644   ERIC         DIAZ                         MO     29036621428
64652274241261   DANA         SAUNDERS                     PA     90001532742
64653423891562   ROGELIO      GUEVARA                      TX     75095144238
64653791751337   ANDREW       CRAWFORD                     OH     66056627917
64653859261422   STACEY       WICKE                        OH     90014798592
64654397631453   RITA         HESSE                        MO     27510253976
64656114291998   MIRIAM       SARMIENTO                    NC     17010931142
64656137981644   JERONIMO     GOMEZ                        MO     29093551379
64656577257555   EFREN        ALEMAN                       NM     90013495772
64657299757555   LUISA        MADRID                       NM     35559562997
64657435585689   ARACELIA     SANTIAGO                     NJ     90006344355
64657617471968   SALLY        RODRIQUEZ                    CO     90013656174
64657631661936   JOHANA       LOMELI                       CA     90012716316
64658251261936   MARILYN      CUBILLAS                     CA     90014252512
64658345841261   JESSICA      JOHNSTON                     PA     90007043458
64658498361936   CESAR        OREJEL                       CA     90014774983
64659454661961   VINCENT      RAMOS                        CA     90011564546
64664385893728   MOHAMED      REDHA                        OH     90008013858
64664489561961   DANIEL       MARTINEZ                     CA     90014904895
64664591291998   KIM          TRUSDALL                     NC     90010485912
64665337371968   LUIS         PEREZ                        CO     90010343373
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64665577761964   ALEJANDRO    DE LEON                      CA     90015225777
64666277161936   LESSLY       LOPEZ                        CA     46063182771
64666387255977   ALEJANDRO    MUNOZ                        CA     90013963872
64666491491522   SILVIA       VALENZUELA                   TX     90003674914
64666565257555   ERIKA        BARRIOS                      NM     90012425652
64667585771968   ARICA        ADAMS                        CO     90003815857
64667663455975   MARIO        CISNEROS                     CA     90004686634
64668417551337   CECELIA      COOK                         OH     66018074175
64668897757555   CHRISTINA    NEVAREZ                      NM     90011138977
64669133555975   JAMES        CAHANT                       CA     90011001335
64669782461961   JULIO        RODRIGUEZ                    CA     90015207824
64669892233698   RANULFO      JOFFRE-ARENAS                NC     90005338922
64671267155975   GEANIE       HOSLER                       CA     90013462671
64671867861961   ALEJANDRA    ZAMORA                       CA     46048028678
64671927451338   WINTON       RAY                          OH     66005379274
64672129491522   ROBERTO      RAMOS                        TX     75013371294
64673279391522   STEVE        WAGES                        TX     90003162793
64673618257549   TIDDLE       KRIS                         NM     35596156182
64673919955977   PAULA        VINDILOA                     CA     49052599199
64674539561961   ISRAEL       ORTIZ                        CA     90013405395
64675138963646   MARIA        LIMA                         MO     90015141389
64677393461559   ROGER        VALER SUCRE                  TN     90014423934
64677916663646   RACHEL       SEYBOLD                      MO     90014879166
64678255263646   KAREN        ASHLEY                       MO     90010222552
64678673751338   SARA         HARRISON                     OH     90008136737
64679412151338   REBECCA      HACKER                       OH     90015464121
64679469591562   JOSE JUAN    MENDOZA                      TX     90014004695
64679632257555   RAMON        CARRILLO                     NM     90008486322
64679685391998   QOQISHA      CHAVIS                       NC     90011266853
64679814851337   JUDY         ROSE                         OH     66027908148
64681115863646   TREVOR       REESE                        MO     90015431158
64681213881644   OSCAR        VALASQUEZ                    MO     90014632138
64681225371968   DAVID        HULL                         CO     90007712253
64681345351337   MARTELL      WILLIAMS                     OH     90013933453
64681458691998   CYNTHIA      SEWARD                       NC     90006144586
64682638181661   LAKEDRA      FREEMAN                      MO     29021646381
64684475655975   REBECCA      CAMARENA                     CA     90004524756
64684717851338   AXEL         AGUSTIN                      OH     90009087178
64686165385886   EDUARDO      ORTEGA                       CA     90003901653
64686525261936   MITCHELL     NEEDHAM                      CA     46052645252
64686576571969   MONICA       ROMERO                       CO     90008915765
64687335751337   TONY         CARPENTER                    OH     66081103357
64687549661559   CAMERON      FAGAN                        TN     90015345496
64687571591259   MARRIAH      KELLEY                       GA     14574185715
64688164881644   ANDREW       PAHOPIN                      MO     90013871648
64688865581675   GEORGE       MOSLEY                       MO     90012598655
64689134755977   PAYGO        IVR ACTIVATION               CA     90013651347
64689487191522   ALEJANDRA    REYES                        TX     90010984871
64689572863646   KERRY        HENRY                        MO     27563585728
64689634357555   ARIANA       GARCIA                       NM     90010816343
64691271555973   JORGE        GARCIA                       CA     90014832715
64691618991998   JUAN         CARLOS                       NC     90008256189
64692916657555   DELIA        JIMENEZ                      NM     90014639166
64694619485689   ABIMAEL      VELAZQUEZ                    NJ     90009636194
64694635363646   SHARON       MARTIN                       MO     90011056353
64695677581675   LATOYA       JORDAN                       MO     90010146775
64695929961964   CESAR        MARTINEZ                     CA     90012169299
64696922161961   YESENIA      LEYVA                        CA     46027499221
64698284784392   RASHAD       RUTLEDGE                     SC     90010242847
64698528685689   DONALD       HIBBERT                      NJ     90014885286
64698712563646   KENNY        FETSCH                       MO     90014937125
64698894631453   SARA         MILLER                       MO     90011398946
64699331531453   BRIAN        CAMPBELL                     MO     90013343315
64699826151338   JENNIFER     JOHNSON                      OH     90014858261
64712431191562   GABRIELA     AGUILAR                      TX     75084874311
64713194491562   TAMARA       VARGAS                       TX     90013191944
64713227561936   MARIA        ULLOA                        CA     90013032275
64714838471968   JAMES        SPENCER                      CO     90014908384
64715174155973   ABRAHAM      RIANO                        CA     48086351741
64715567161961   CODY R       MARTINEZ                     CA     46038235671
64717369651338   SARAH        ADKINS                       OH     66082893696
64717429184392   TIFFANY      HANAKEE                      SC     90014094291
64717679455977   ERICA        MALDONADO                    CA     90014716794
64718427755975   ENRIQUE      ORTIZ                        CA     90014904277
64719156571968   LILIANA      DAVILA                       CO     90011391565
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64719239151337   ONARAE         HEATH                      OH     66095782391
64719291285689   RAVEN          MARSHALL                   NJ     90001932912
64719349155973   MARY           LEBUS                      CA     48089603491
64719581181675   K'LA           REVELS                     MO     29081445811
64721375381644   MELISSA        FOLK                       MO     90013123753
64722564581675   JOSEPH         FUENTES                    MO     90008565645
64723279491562   THELMA LYN     MALLARD                    TX     75007602794
64723886791525   CHRISTIAN      REYES                      TX     75093428867
64724156485689   JOSE           GALINDO                    NJ     90014661564
64724262141261   SARA           GREEN                      PA     90005262621
64724696761961   CHRISTINE      VERGARA                    CA     90014356967
64725467484392   JACQUELINE     SZABRIES                   SC     90014874674
64725559651338   ANITA          CHANDLER                   OH     90011295596
64725977661936   LESLIE         GREEN                      CA     90014079776
64726764255975   NATALIE        ROSALES                    CA     90014847642
64727291851337   MICHELLE       FOPPE                      OH     66097252918
64727592851338   JENNIFER       SHIDLER                    OH     66095585928
64727723455975   ANDREA         SANCHEZ                    CA     90010927234
64728259261961   VALERIE        ROBINSON                   CA     90012232592
64728264355977   RAMIRO         CARVANTES                  CA     90014832643
64729288351335   COREY          SMITH                      OH     90012672883
64729611281644   PHILLIP        WESLEY                     MO     90001236112
64729629651338   RAPHEAL        DAVIS                      OH     90001166296
64731685751338   STACY          WADGERS                    OH     90011786857
64731922171968   ERIC           WATTS                      CO     32083209221
64733222191562   ROSA           PADILLA                    TX     90012462221
64733384455973   DIANE          DAVIS                      CA     90013253844
64733433155977   KYAIRSHALIA    WILLIAMS                   CA     90010454331
64733437557555   ERIKA          CARRILLO                   NM     90011494375
64733517126267   EYTASHA        REED                       WI     90014925171
64733569551338   MICHELLE       WILLIAMS                   OH     90013205695
64734417291998   FADUMA         MUSSE                      NC     90012414172
64734542155973   WILLIAM        LOFTIS                     CA     90008455421
64734552855977   CARLITA        PERALTA                    CA     90008415528
64734922661961   RODOLFO        LOPEZ                      CA     90002699226
64735256661961   MARIA          OROZCO                     CA     90012082566
64735669655975   STEVE          ROSS                       CA     90006666696
64736522884392   SHAWNA         HARRINGTON                 SC     90013075228
64737856485689   ELIZABETH      HORNES                     NJ     90013398564
64737871891998   DIAMANTINA     DIXON                      NC     90005658718
64738523961964   MATTHEW        LOVETT                     CA     90013165239
64738844581675   PERLA          ASTORGA                    MO     29037138445
64739481881644   MALCOLM        HAMILTON                   MO     90013554818
64741247791522   CHRISTINA      CHAVEZ                     TX     90010892477
64741625671968   MARTIN         HERNANDEZ                  CO     32064886256
64742338125236   ANTHONY        RICKS                      NC     90006993381
64743255155975   ROSEMARY       HERRERA                    CA     48045652551
64743443771968   LONNY          HERZOG                     CO     90014584437
64744141185886   JOSE           CARDENAS                   CA     46071421411
64744428251322   TROY           JACKSON                    OH     90004674282
64745418691562   AMY            MUGG                       TX     90007724186
64745692761961   ULISES         MEJIA                      CA     90012846927
64745756281675   TENIA          BUTLER                     MO     90014897562
64746292791562   GUILLERMO      CHAVEZ                     TX     75031912927
64747292131453   CLEVELAND      SIMS                       MO     90009172921
64747694885689   LEOPOLDO       RICARDO BAUTIZTA           NJ     90014956948
64748672191998   JAMES          SINGLETON                  NC     90014206721
64749356791562   ISABEL         ROJAS                      TX     75040823567
64749818663646   AMANDA         MERTENS                    MO     90015488186
64751292985689   OSCAR          JIMENEZ                    NJ     90012482929
64752492385689   OMAR           ARIAS                      NJ     90007914923
64753394661961   ALESIA         BLACKINGTON                CA     90012703946
64753529361936   VANESSA        GONZALEZ                   CA     90014775293
64754622655973   SAE            CHANG                      CA     90014516226
64755615551337   CARRIE         HATFIELD                   OH     90013046155
64755885461961   GUSTAVO        MENDOZA                    CA     90014518854
64756142455928   ROSA           CHILENO                    CA     49015741424
64756145891998   CHARLOTTE      GRIMES                     NC     90004041458
64756561341261   JESSICA        HODDER                     PA     90005415613
64757324961964   VERONIKA       CHAVEZ                     CA     46069513249
64757551455973   LORENA         VALENZUELA                 CA     48033265514
64758691963646   PAYGO          IVR ACTIVATION             MO     90014236919
64758726571968   BRETT          MATHENY                    CO     90014677265
64759499457555   LESLIE         GREEN                      NM     35549284994
64759727681644   MASRSHEIONNA   SANDERS                    MO     90011627276
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64761628771968   JOSH         RUSHDOONY                    CO     90013646287
64761647755964   LEO          RUELAS                       CA     90014036477
64761969255973   ALICIA       LARIOS                       CA     48002089692
64762932771968   MIGUEL       ORANTES                      CO     32000229327
64763194557555   JOSE         HURTADO                      NM     35557401945
64763367791562   ZULEMA       GUERRERO                     TX     75013093677
64763628391998   HUGO         JONATHAN DURAN               NC     90012606283
64763677184392   LELAND       WARING                       SC     19072996771
64764973291562   JUAN         ROSALES                      TX     90012399732
64765432157555   MARCO        CHAPA                        NM     35594874321
64765512861964   CHRISTOPER   MARQUEZ                      CA     46050195128
64765618461961   RICARDO      MARTINEZ                     CA     90015006184
64768375561936   JENNIFER     TORRES                       CA     90011623755
64768498961964   CHRIS        MARROQUIN                    CA     90014894989
64768647251337   PHYCEE       WRIGHT                       OH     90013366472
64768896163646   VAIN         MC                           MO     90015438961
64771168684392   DENISE       SHAW                         SC     90013351686
64772198385689   ALBERTO      MARTINEZ                     NJ     90008051983
64772394784392   DANA         LEGREE                       SC     90013553947
64774673681644   KIM          MARTIN                       MO     29013796736
64775233491525   CIPRIANO     RAMIREZ                      TX     90002472334
64775277161936   LESSLY       LOPEZ                        CA     46063182771
64776321485886   JOSE         PEREZ                        CA     90012383214
64776838971968   LORENA       HERNANDEZ                    CO     90014848389
64777117581675   MICHAEL      MANNERING                    MO     29084551175
64777891951338   ALISA        NIMMO                        OH     90011178919
64778324555978   LAWRENCE     MARTINEZ                     CA     90011423245
64778754351337   ELLEN        TITVINIDZE                   OH     90014647543
64779379491998   JOSE         MARTINEZ                     NC     90010233794
64781125861936   OLGA         BON DA RENKO                 CA     46025381258
64781668291562   RICK         RIVERA                       TX     90008356682
64782916663646   RACHEL       SEYBOLD                      MO     90014879166
64783282281644   CHRISTINE    RIVERA                       MO     29001082822
64783353284392   ALEXIS       SMALLS                       SC     90009593532
64785982361936   ANDY         CORCOVELOS                   CA     46023119823
64786746261964   ANGEL        RUBEN CAMPOS                 CA     90006227462
64787437631453   LAQESHA      DOYLE                        MO     90013374376
64787587781675   ROCHELLE     WILLIAMS                     MO     90008405877
64788511133698   DWIGHT       HILL                         NC     12029985111
64788768661961   LIZETTE      RIVERA                       CA     90013927686
64789116881644   SUGAR        ANDERSON                     MO     90001511168
64789695261961   ALEJANDRO    SANDOVAL                     CA     90009096952
64789725955977   ALEX         GARCIA                       CA     90012707259
64791331871968   MAURICE      SANFORD                      CO     32083213318
64791526791562   MARISELA     INIGUEZ                      TX     90014885267
64792478891562   LORENZO      SILVA                        TX     90014874788
64793476691998   WALTER       COLEMAN                      NC     90012724766
64793549291522   HECTOR       OLIVAS                       TX     75067925492
64793599781675   BRANDON      THOMPSON                     MO     90014035997
64794214591562   JAIME        ORTEGA                       TX     90012362145
64794485761936   ERNESTO      PAYAN                        CA     90008084857
64795413481671   JUAN M       CUEVAS                       KS     90003554134
64795746961936   LEILA        PAUGH                        CA     46079537469
64796115151338   ADAM         HOLLIMAN                     OH     90014691151
64796272571968   KIMBERLY     MYERS                        CO     90009902725
64797994157555   TONA         LUCERO                       NM     35575989941
64798347151338   CHRISTY      BOWER                        OH     90012743471
64798519463646   ROBERT       WEST                         MO     27511775194
64798689661961   MICHEAL      ANTELO                       CA     90012996896
64798918181675   ROGER        SIMMS                        MO     29056959181
64799183163646   MATTHEW      ESMAR                        MO     90007681831
64799226851337   EVELIA       PEREZ HERNANDEZ              OH     90014272268
64799318885689   RAFAEL       OSORIO                       NJ     90012833188
64811387481644   RODNEY       TAYLOR                       MO     90010273874
64811897771968   GEORGE       WILLIAMS                     CO     90006628977
64814114661961   CELIA        AVINA                        CA     90012381146
64815253355977   ANGEL        VASQUEZ                      CA     90000652533
64815816931453   MCQUITTA     ANDERSON                     MO     90014248169
64816827291562   MARTHA       GALLEGO                      TX     75012898272
64817684391562   VERONICA     FAVELA                       TX     90012976843
64817972491522   CLADUDIA     GAYTAN                       TX     90009019724
64818148561964   ROCIO        PADILLA                      CA     90011091485
64818211961936   DARICK       DUBOSE                       CA     90008742119
64818541471968   JIMMIE       REESE                        CO     90013445414
64819223861961   EDWIN        QUIAMBAO                     CA     90014912238
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64819973481644   EVA MAE      LONGMORE                     MO     29077429734
64821829461964   SOTELO       LIVIER MARIA                 CA     90001758294
64822791551338   CHRIS        PERKINS                      KY     90013477915
64823186391998   MARTHA       ABARCA                       NC     90009391863
64823591761961   YESLIE       CRUZ                         CA     90011905917
64824131761964   VERONICA     SANCHEZ                      CA     46050371317
64824318761961   RAYLENE      BOGUS                        CA     46035083187
64824381955975   KENDRA       YORBA                        CA     90008693819
64825467985689   SHANEKA      JENKINS                      NJ     90014424679
64825895455977   ROSALINDA    VARELA                       CA     90013458954
64827141955973   EILEEN       MOLINA                       CA     90010851419
64828129171968   ANNA B       HARRIS                       CO     32001481291
64828828781675   KEITH        SMITH                        MO     90011988287
64829269751338   JENNA        THOMAS                       OH     90010052697
64829925763646   JACLYN       BROWN                        MO     90006269257
64831372651337   KARON        COX                          OH     90013933726
64831591561936   IVANNA       SANCHEZ                      CA     90014955915
64831678971968   STEPHANIE    TANIS                        CO     32058226789
64831752755975   JOSE         RAMOS                        CA     90015137527
64831994657555   LIZETH       MATA                         NM     90013829946
64834353571968   VENETTA      MIRANDASA                    CO     90011103535
64834577784392   STEVEN       SMITH                        SC     90013315777
64834584351337   RHONIE       MCLEOD                       OH     90003805843
64835464381675   DAMIN        BICKERSTAFF                  MO     90012094643
64835779555975   SAULO        JIMENEZ GONZALEZ             CA     90011917795
64835892184392   SAMANTHEIS   CAMPBELL                     SC     90008228921
64836751557555   BRINDA       LYDICK                       NM     90004657515
64836799584392   CATHY        GETMAN                       SC     19056627995
64837583463646   KRYSTAL      MATHENY                      MO     90011145834
64837672591522   ARLEEN       BROWN                        TX     90011176725
64837934871968   MANUAL       CHACON                       CO     90015279348
64839244531651   REX          MURPHY                       KS     90009952445
64839693291522   JENNIFER     STROUD                       TX     75041896932
64841164881644   ANDREW       PAHOPIN                      MO     90013871648
64841711191562   RODRIGUEZ    VIRGINIA                     TX     90008657111
64842847591998   VICTOR       TORRES                       NC     90013928475
64844179685689   MARVIN       SARMIENTO                    NJ     85029391796
64844747855973   MARITZA      LOPEZ                        CA     90014697478
64845521971968   THERESA      CARMONEY                     CO     32098095219
64846356191562   ELOY         LIRA                         TX     75014783561
64846429184392   TIFFANY      HANAKEE                      SC     90014094291
64846646171968   SONJA        JOHNSON                      CO     32098096461
64846989955975   GUADALUPE    HUANACO                      CA     48049429899
64848468771968   DOLORES      CISNEROS                     CO     32099524687
64851838361972   ADAN         OCANA                        CA     90001458383
64852375691522   ELISABETH    PARADA                       TX     90010093756
64852385155975   TANIA        LEWIS                        CA     90002243851
64852731791998   JOHN         CORDEIRO                     NC     90012047317
64853671785689   ANSELMA      ALAVEZ                       NJ     90015146717
64855469791562   KARINA       ALVAREZ                      TX     90011864697
64856167731453   DANIELLE     PROSISE                      MO     27587051677
64856486785689   MIGUEL       LOPEZ                        NJ     90012604867
64857421626267   KRISTIN      TENHAGEN                     WI     90009294216
64857513263646   RYAN         SMITH                        MO     90015055132
64858719455977   DAVID        CANSECO                      CA     90010497194
64858859185689   MARCOS       JIMINEZ                      NJ     90014628591
64859129557555   SAMANIEGO    BRANDY                       NM     90008641295
64859372481644   BOBBY        JUDIE                        MO     90006883724
64859529371968   RANDI        KIETE                        CO     32005635293
64859969591562   NANCY        BARRAZA                      TX     75097259695
64862586261936   ALEJANDRA    AGUIRRE                      CA     90007505862
64862772861964   PATRICIA     BELMONT JUAREZ               CA     90011967728
64863836171968   WILLIAM      WARNER                       CO     90014488361
64864782357555   GRISELDA     LEVARIO                      NM     90010897823
64864871285689   ROSAURA      OLARTE                       NJ     90013928712
64864957351338   TIMOTHY      ESTES                        OH     90014199573
64866837651338   ALBERTA      RIDLEY                       OH     90015018376
64867127457555   MARIA        AGUIRRE                      NM     90000721274
64867596271968   MANUEL       BARCENAS                     CO     32050465962
64867943181644   DORIS        WHITE                        MO     29007609431
64869211584392   DARWIN       CRESPO                       SC     90014482115
64871173971968   SANDRA       HINOJOSA                     CO     32063621739
64871673681644   ROSE         THOMAS                       MO     29007096736
64871947285886   ALMA         RODRIQUEZ                    CA     90005739472
64872861371968   THOMAS       HENRY                        CO     90002528613
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64873558831455   PAULA        BUSHH                        MO     90008375588
64873661151337   LOWANDA      WOODS                        KY     66091076611
64873942161964   MELISSA      LOPEZ                        CA     46049979421
64874841661964   PRATT        SUSAN                        CA     46049978416
64878167891998   RAVEN        STEVEN                       NC     90014691678
64881612485689   ORLANDO      GERONIMO                     NJ     90015016124
64882314284392   MALAYSHIA    BENNETT                      SC     90014603142
64882814557555   KAREN        ESPINOZA                     NM     90011918145
64883784884392   BRANDON      THOMPSON                     SC     90014487848
64884852361961   MAYELINA     VILLAESCUZA                  CA     90014518523
64884955391562   ELENA        DORADO                       TX     75059299553
64885318591998   ANGELA       WADE                         NC     90014863185
64886592355975   SERAFIN      JIMENEZ                      CA     90000175923
64887542651338   JODI         WORTHINGTON                  OH     90013435426
64887712491522   RAUL         VALDEZ                       TX     90008657124
64888218841291   CHRISTINA    TRKULA                       PA     51057832188
64888332131453   KHANEETAH    MILLER                       MO     27566793321
64888652155975   SIDNEY       JONES                        CA     90010556521
64889828485689   MAGDALENA    BELTRAN                      NJ     90015198284
64891241891562   IRMA         MUNOZ                        TX     90008152418
64895947291885   JESSI        ELLINGTON                    OK     90008569472
64896473363646   DAVID C      MCFARLAND                    MO     90011974733
64896639571968   CRYSTAL      LOPEZ                        CO     90004546395
64897539385689   JACOBO       PEREZ                        NJ     90014375393
64897728451338   ERSLER       JOHNSON                      OH     90013217284
64898154891998   KATHLEEN     RATCLIFF                     NC     90013301548
64898317161964   CODY         BARROWCLOUGH                 CA     90013103171
64898568861936   DIANA        LARES                        CA     90014775688
64899572181644   SHERRY       HUDSON                       MO     90015315721
64899953131453   RENNEL       PARKER                       MO     90011589531
64912241971968   TRACY        BALDWIN                      CO     32087332419
64912339457555   DESTINEY     GRANILLO                     NM     90012113394
64912462155975   JOEL         NUNEZ                        CA     90014474621
64912587955975   CARLOS       ESTRELLA                     CA     90008785879
64912735763646   SHONDA       SHEAR                        MO     90011127357
64913288555975   FORTUNATA    MURILLO DE VALDEZ            CA     90013312885
64913372555973   MICHAEL      OBRIEN                       CA     90010853725
64914398651337   DERRICK      BOYD                         OH     90013443986
64914973955975   HERLINDA     GONZALEZ                     CA     90012219739
64915186855977   MARIA        MARTINEZ                     CA     90011691868
64915266751352   MICHAELA     DANIELS                      OH     90012732667
64915452763646   EPIFANIO     GARCIA                       MO     90013744527
64916273155975   ANTHONY      CONTRERAS                    CA     90013972731
64916485991562   ARMANDO      LOPEZ                        TX     75044104859
64917195571968   TAMMI        EISENBRAUN                   CO     32098161955
64917839661964   BRIEANA      ISON                         CA     90014098396
64917927941261   RUFUS        SHERILL                      PA     90010569279
64918353263646   DAVID        DAVIS                        MO     90013413532
64918546141261   GLORIA       COLLON                       PA     90003945461
64918837785886   JASON        DEAL                         CA     90012968377
64918988357555   DAVID        CHAVEZ                       NM     35569559883
64919798141261   ROBERT       HEELEY                       OH     51020977981
64919861271968   LAURA        MONTANO                      CO     32079588612
64921185184392   BERTHA       MEJIA                        SC     90015131851
64921746931453   CARLOS       SANCHEZ                      MO     27568897469
64923292761961   VERONICA     SANCHEZ                      CA     90010022927
64923417261964   DANIEL       CALDERON                     CA     46049854172
64924287661936   LAURA        ANSELMO                      CA     46023252876
64924717763646   ELLEN        SHAW                         MO     90015447177
64925142963646   MINDY        RABY                         MO     90013961429
64925148851338   ASHLEY       SCHUSPER                     OH     90015561488
64925923761961   PHOULOM      NOVANG                       CA     90013519237
64927126484392   GREGORY      PATRICK                      SC     19025171264
64927176157555   KATHY        TORRES                       NM     90011031761
64927685361964   JOSE         SALAZAR                      CA     90009976853
64927854351337   JENNELL      MERRILL                      OH     90012948543
64927929161936   GABRIEL      MENDOZA                      CA     90013329291
64928155581644   ALI          ALMAWALI                     MO     90013791555
64928399155973   MARGARET     COLLINS                      CA     48083853991
64928626871968   CHARLOTTE    STAFFORD                     CO     90012966268
64929418291525   KARLA        HERNANDEZ                    TX     90009894182
64929535361961   HOAN         TRAN                         CA     46033325353
64929626855975   JEFF         ADNEY                        CA     48060946268
64929713541261   GREGORY      ROSSMILLER JR                PA     90002727135
64929784357555   DESIREE      MARTINEZ                     NM     90008127843
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64931197561972   MICHELE      LUCAS DELLINGER              CA     46075631975
64931298681644   GARY         HARTMAN                      MO     90013982986
64932851677355   LATAVIA      FREEMAN                      IL     90011398516
64933144151337   DERON        HOLMES                       OH     90012531441
64933417555935   LAZARO       VALERO                       CA     90008364175
64934464571968   KRISTA       WISE                         CO     90008434645
64936426291998   VICTTOR      GARCIIA                      NC     90009004262
64936683181675   STEVE        CINCOTTA                     MO     90012256831
64937613857555   DAVID        BRISTOW                      NM     35502936138
64937994561936   TUATAU       FA AI UTAUSAGA               CA     90014079945
64938354785689   HEATHER      DIPAOLO                      NJ     90013323547
64939314691998   SANDRA       POWELL                       NC     90011883146
64939413891522   YASMIN       SEGOVIA                      TX     90011404138
64939672284392   HEATHER      CAUGHILL                     SC     90012886722
64941472131453   THOMAS       SAWDY                        MO     27501644721
64941572655977   MICHAEL      GUTIERREZ                    CA     49097975726
64942571191562   ORALIA       DIVERA                       TX     75009415711
64943413257555   ASHLEY       GOINS                        NM     90004834132
64943759261924   KETH         STOUT                        CA     46092907592
64945417985689   MIGUEL       HERNANDEZ                    NJ     90013784179
64945428663646   TONYA        WALKENHORST                  MO     90005834286
64945649581644   JAMI         CHAPA                        MO     90013136495
64946427491562   RICARDO      GONZALEZ                     TX     90008664274
64946772961961   RONALD       MARCUS                       CA     46001847729
64947927891562   ISABEL       HERNANDEZ                    TX     75016229278
64952363333698   DEMETRA      SEAN                         NC     90005453633
64953333555973   ALFORD       OVERACKER                    CA     48049203335
64954844391998   JASMINE      MORRIS                       NC     90004788443
64955644285689   YAJAIRA      TORRES                       NJ     90011896442
64955733191562   CHRISTIAN    AGUIRRE                      TX     75004487331
64957286471968   LEONARD      JAMES                        CO     32063232864
64957992541261   GLORIA       TAYLOR                       PA     51021479925
64958382463646   RACHEL       ABSHIER                      MO     90007653824
64959328255975   JUAN         RODRIGUEZ                    CA     90001043282
64961179685689   MARVIN       SARMIENTO                    NJ     85029391796
64961315991998   MIGUEL       CORREA                       NC     90007503159
64961839851337   TRACY        HUMPHREY                     OH     66007468398
64962111585886   NAZARIO      GASPAR GARCIA                CA     90013011115
64962731991522   KAREN        ORTEGA                       TX     90009707319
64963813585689   SALVADOR     MARTINEZ                     NJ     90013038135
64964478655975   CHRISTIAN    GOMEZ                        CA     90013974786
64965445851338   PAMELA       BATISTA                      OH     90010424458
64965887585953   ANTHONY      MORTON                       KY     90000688875
64966287661936   LAURA        ANSELMO                      CA     46023252876
64966295791562   MARIA        DOZAL                        TX     90012192957
64966961551338   RASHAE       AUSTIN                       OH     90015209615
64968717461961   ADRIAN       COVARRUBIAS                  CA     90013197174
64969292185689   CHARLES      HAINES                       NJ     90010412921
64971132791998   ROBERT       COOPER                       NC     90012751327
64971252261964   IVETTE       MARSHALL                     CA     90012492522
64972811257555   ANTHONY      LITZENBERG                   NM     90012198112
64972957384392   CLARENCE     SCOTT                        SC     90013319573
64974461971968   ALAN TROY    BEEBE                        CO     32049034619
64975345455975   MARIA        GONZALEZ                     CA     48066223454
64975641281644   EAN          KELLY                        MO     90011876412
64977958393777   JOSEPH       CLARKE                       OH     90002329583
64978518151338   DUSTIN       PLATT                        OH     66094505181
64979596181675   WILSON       BROWN                        KS     90015075961
64979679557549   BRANDY       GONZALEZ                     NM     90011076795
64979892363646   HEATHER      OELLERMANN                   MO     90012798923
64979912491562   LUISA        FLORES                       TX     90015299124
64982179391998   SHERITA      SPENCER                      NC     90011131793
64982763561961   VICTOR       CRUZ                         CA     90009977635
64982911363646   LOUIS        RETZLER                      MO     90003559113
64983833961964   IVETTE       GARCIA                       CA     90012468339
64984392955977   CRUZ         GONZALEZ                     CA     90000213929
64985959485689   JESUS        RAMIREZ                      NJ     90009169594
64986731181644   HEATHER      FIRTH                        MO     90009937311
64987293191998   JONATHAN     FAIRCLOTH                    NC     90012722931
64988619285689   JOSE         GUADALUPE                    NJ     90012686192
64988826361961   EVERADO      TOVAR                        CA     46014588263
64989187185886   JOHNSTON     CHRISTINE                    CA     90001421871
64989288461964   SHERLONDA    ALLEN                        CA     90004182884
64991246755973   JOSE         MARTINEZ                     CA     48096062467
64991484857555   TONY         SCOTT                        NM     90001664848
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64991651555975   SANTOS         BARAJAS                    CA     90000336515
64991767281644   FRANCISCO      ENRIQUEZ                   MO     90013567672
64992346771968   CLAUDIA        HERNANDEZ                  CO     90001613467
64994135491522   GABRIEL        GARAY                      TX     90007951354
64994944763646   JEFFREY        BECKMAN                    MO     90009189447
64995155161936   VANH           VONGPHACHANH               CA     46061481551
64995528891522   BLANCA         VARGAS                     TX     90009175288
64995636191998   MIRIAN         MONTOYA                    NC     90007746361
64995742391998   JAYLAH         BRYANT                     NC     90014757423
64996566651337   PATRICIA       WILSON                     OH     66060555666
64996686661964   SUSAN          PUCKETT                    CA     46067966866
64999225381675   HALSHO         AHMED                      MO     90015152253
65113818355973   CINDY          RAMIREZ                    CA     90009828183
65114283225236   PATRICIO       VARGAR                     NC     90015572832
65114291255975   NELLY          BARRIENTOS                 CA     90006112912
65115946455977   CONRADO        FLORES                     CA     49015009464
65115995791549   ALBERTO        ARELLANES                  TX     90010889957
65116916555977   JEFFREY        WEBB                       CA     90014879165
65117357861964   LAKESHIA       MCVAY                      CA     90004293578
65118995191522   MARIA          SALDES                     TX     75015599951
65118998181644   SABRINA        MALONE                     MO     90014629981
65119711155975   HECTOR         ROBLES                     CA     90013397111
65121995191522   MARIA          SALDES                     TX     75015599951
65122371184392   JAMIE          MITCHELL                   SC     90002803711
65122627691998   STEPHANIE      RANDALL                    NC     90009756276
65123447181644   JESSICA        BETZ                       MO     90014244471
65124161761961   JOSE ALFREDO   VALENCIA                   CA     90012491617
65125348484392   JACQUELINE     CROSBY                     SC     90009633484
65125793661964   ANTONIO        ISAIS                      CA     46092767936
65127725461964   CHRIS          CONWAY                     CA     46000977254
65128258985689   JORGE          HERNANDEZ                  NJ     90012732589
65129771763646   ANDREW         ALDRIDGE                   MO     90013817717
65132372661964   ESPERANZA      PAREDES                    CA     90008443726
65132491951354   RANDALL        GILLESPE                   OH     90013214919
65137937791549   ELISA          SANCHEZ                    TX     75075869377
65138586571976   LILLIAN        ROGERS                     CO     38089875865
65141896555975   SHARON         MOYA                       CA     90013258965
65142119261961   OLGA           GUERRERO                   CA     46079951192
65142556155977   ALTA           WADE                       CA     90003695561
65142826291894   HERIBERTO      LORENZO                    OK     90011968262
65144183384392   MORRIS         HODGES                     SC     90014801833
65144753391549   JUAN           ALVAREZ                    TX     75069437533
65146434963646   DAVID          KENDRICK                   MO     90012614349
65146642825236   ANTONIO        RODRIGUEZ                  NC     90015416428
65146652654124   MARIA          IZUCAR                     OR     90005146526
65146654755977   ALEXUS         WATKINS                    CA     90012126547
65147187284392   BROOKS         JONHSON                    SC     90014801872
65147299761961   ROXANNA        CAMPOS                     CA     46087722997
65149325584392   ASHLEY         GRAHAM                     SC     90003833255
65151587491549   JACQUELINE     OPDYKE                     TX     90014825874
65151863851354   KIMBERLY       TRENT                      OH     90012638638
65153274484392   VERONICA       YOUNG                      SC     90014802744
65153929391522   ANA            ROMERO                     TX     90012999293
65155858891923   MARIA          ESCOBAR                    NC     90001378588
65156419261964   JUAN           GARCIA                     CA     46008154192
65158223455975   ANNABEL        VALDEZ                     CA     90014742234
65158851151323   CHRIS          SCHWAB                     OH     90006748511
65159885957131   MILTON         CAMPOS                     VA     90013918859
65162548955977   BERNABE        ALCALA                     CA     90001285489
65162594181644   WILL           CRAWLFORD                  MO     29057545941
65162997555973   GABRIEL        SAHAGUN                    CA     90011229975
65163394261961   GILLBER        PALACIOS                   CA     90013833942
65164279861961   ALEJANDRA      ROSALES                    CA     90010502798
65165247451354   ASHLEY         HOLT                       OH     90005642474
65165357825236   IRIS           AMAYA                      NC     90014943578
65165488484392   JAMES          DRIGGERS                   SC     90014804884
65165859755973   ERICA          RUIZ                       CA     90010848597
65166374691549   ARACELY        APODACA                    TX     90014473746
65167151391998   SHAWN          WILLIAMSON                 NC     90012391513
65168413291522   IRMA           LOPEZ                      TX     75088004132
65168436725236   PEARL          TORRES                     NC     90014424367
65172157381644   ERIKA          MARURI                     MO     29073341573
65173982642587   CARMEN         CHAVEZ                     WA     90015419826
65175482355973   RACHEL         LARA                       CA     90014464823
65176348491549   GLORIA         GANDARA                    TX     75050943484
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65177246391522   JASON          BUZBEE                     TX     90014722463
65177356161964   ANGELINA       SOTO                       CA     90009633561
65178246391522   JASON          BUZBEE                     TX     90014722463
65179427251354   HARRY A        PUCKETT                    OH     90015154272
65179817481644   RAQUELL        HAWKINS                    MO     90002608174
65181246691522   DEBBIE         HERRERA                    TX     90014722466
65182599761936   JOSE           FLORES                     CA     90012685997
65186395155973   JULISSA        CHAVEZ                     CA     48015953951
65187429555975   FIDEL          SERRANO                    CA     90008394295
65187959885939   LINDIN         LAIRSON                    KY     90010899598
65188757851354   NEDRA          WALKER                     KY     90013407578
65192264791522   STEPHANIE      LEON                       TX     90014722647
65192427191522   JOE            LASSICH                    TX     90011734271
65192491284392   PATRICE        STEVENS                    SC     90003934912
65192796825236   FELICIA        SMITH                      NC     90008377968
65192877533648   DENA           RAINWATER                  NC     90013928775
65193642381644   LARRY          BURD                       MO     90012676423
65193878255975   ZACHARY        COLES                      CA     90011368782
65194348585981   EMILE          MUNANGA                    OH     66013393485
65194584991522   MAYRA          RAMIREZ                    TX     90010725849
65195443391522   LEONOR IRENE   MORALES                    TX     90011734433
65195718263646   KIRK           DANBROUGH                  MO     90015377182
65197128255975   JOSE           VASQUEZ                    CA     90013471282
65199112251354   SCHMAIYA       TRAVIS                     OH     90011001122
65199576491549   ARACELI        GONZALEZ                   TX     90004495764
65213134231454   STEPHANIE      BROWN                      MO     90001611342
65214975763646   DANIEL         MANNING                    MO     90013159757
65215215191549   LUIS M         MEZA                       NM     75042382151
65215236991522   ROSA           GALINDO                    TX     75085352369
65215262655973   STEPHANIE      BUSTAMANTE                 CA     90014702626
65216516755977   JOHN           ALATORRE                   CA     49000905167
65217175555973   CESAR          TAFOYA                     CA     90012081755
65217427931225   MANUELA        SANCHEZ                    IL     20587674279
65217778161964   CESAR          RIVERA                     CA     46052107781
65218839391998   ROBERT         ARRINGTON                  NC     90013928393
65219218451354   DAVID L        AMOS                       OH     90013772184
65219377291998   SARENA         MCCULLERS                  NC     17041653772
65219528981644   TIA            TILLMAN                    MO     29094225289
65219927851354   VICKIE         ADKINS                     OH     90011189278
65221552561961   DANIEL         PURSEL                     CA     46059865525
65222294555975   ROSALBA        LOPEZ DE VILLAGOMEZ        CA     90015162945
65222747555977   FERESA         FERNANDEZ                  CA     90010157475
65223431751354   CHRISTINA      LEWIS                      OH     90012234317
65223671284392   SHANNON        EADY                       SC     90009396712
65224261391998   EDELMAN        OROZCO                     NC     90004822613
65228482491522   ABEL           QUINONEZ                   TX     90012794824
65232142284392   DAVID          CAMPBELL                   SC     90006661422
65232461791362   KEVIN          MCCOSH                     KS     29007804617
65232598455973   FONSECA        SAMUEL                     CA     90005955984
65232633261964   ANTONIO        MENDEZ                     CA     90014156332
65234987491535   VIRIDIANA      BARAJAS                    NM     90006409874
65236394484392   DENEANE        MATTHEWS                   SC     90000983944
65237597591522   DARLYN         MORALES                    TX     90011735975
65237744761972   MOSES          GOLLAZ                     CA     90010427447
65238693361964   FRANKY         TERZOLI                    CA     90012036933
65239581691549   JR             CERVANTES                  TX     90011915816
65239941681644   ANTHONY        GERACI                     MO     90000319416
65241261555928   JASON          MEDSKER                    CA     49082632615
65241543461961   JUAN           LUQUIN                     CA     90014715434
65241921191998   MAXIMILIANO    CLAVEL                     NC     90010669211
65243223455975   ANNABEL        VALDEZ                     CA     90014742234
65243312161961   JOSE           GUZMAN                     CA     90011983121
65244684291998   JAQUALA        SURLES                     NC     90011786842
65245633631225   ELIA           ZUNIGA                     IL     90010836336
65247799184392   ROSANIO        LOPEZ                      SC     19054907991
65248136561964   MARIA          CASTNEDA                   CA     90003501365
65251149591522   EFREN          PEREZ                      TX     90014731495
65251255684392   ERNEST         SNOW                       SC     19057312556
65252529655977   FRANK          LOPEZ                      CA     90012585296
65253891381644   ROSETTA        MCFADDEN                   MO     90014658913
65254886591998   DENISE         HARRIS                     NC     90012838865
65255693825236   ALNEISA        RAY                        NC     90011486938
65256275491522   PAOLA          VALLE                      TX     90011512754
65257375584392   CHARLIE        SNYDER                     SC     90008833755
65257894681644   JEREMY         ARNDT                      MO     90014658946
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65258775491998   MAKESHIA      WOODS                       NC     90014767754
65261483563646   ANGELA        PEARL                       MO     90009874835
65262135755975   ROSIE         ALMENGOR                    CA     48083291357
65262164291522   FRANCISCO     RODRIGUEZ                   TX     90014731642
65262432151354   JANE          BUSCHARD                    OH     66057524321
65262695791549   SANDRA        CHAVEZ                      TX     75043806957
65263143963646   JEFFREY       DUNKIN                      MO     27509131439
65263331371976   ANTHONY       MARCELLO                    CO     90011063313
65264281361961   DANIEL        SANCHEZ                     CA     90012872813
65267779325236   JOSUA         GARICA                      NC     90011937793
65269495233698   ERICA         CAGLE                       NC     90004694952
65271377463646   GREGORY       OTTINGER                    MO     90010343774
65272661181644   ANGELA        HEWITT                      MO     90014666611
65272749984392   CHERRELLE     WHITE                       SC     90012977499
65273122291549   GUILLERMINA   RODRIGUEZ                   TX     90010861222
65274169791998   TONYA         SMITH                       NC     90014461697
65274888755977   JAMES         STEVEN KING JR.             CA     49000108887
65275234955977   JUANA         QUEZADA                     CA     90007652349
65276218691549   JUAN          LOPEZ                       TX     90014972186
65276388255975   AARON         GILLIT                      CA     90000183882
65276675525236   CHARLES       CAUDLE                      NC     90010716755
65276911284392   ANNETTE       HAWKINS                     SC     90013509112
65277322191549   ROGELIO       SAVALA                      TX     75087663221
65278667461961   MARIA         SEVILLA                     CA     90011726674
65278731361964   BERNARD       SOUFFRANT                   CA     90008267313
65281182251354   ELENA         CRUZ                        OH     66097471822
65282992355973   MONICA        OVIEDO                      CA     48001639923
65283585771976   BARBARA       HIGGS                       CO     38044085857
65283874257124   OLVIN         GARCIA                      VA     90001128742
65284796651354   ASHLEY        JUSBASIC                    OH     90015117966
65284969241232   LATEKA        WASHINGTON                  PA     90006209692
65285384754124   CHERI         MCCLAIN                     OR     47033923847
65286286181644   WILLIAM       BAUM                        MO     90015142861
65287153491549   ROBERT        IRIGOYEN                    TX     90013801534
65287444241272   SHANNON       BLACKWELL                   PA     90004494442
65287681361494   KEENYA        ROGERS                      OH     90014506813
65287743491998   MIKE          WILLIAS                     NC     90006197434
65287843251354   ASHLEY        CANNON                      OH     90014568432
65288683861961   IRENE         IBARRA                      CA     46013406838
65289228555977   MINDY         PADILLA                     CA     49031172285
65289923654124   ASSITAN       SYLLA                       OR     90007339236
65291294784392   CARLY         BOWMAN                      SC     90014902947
65291684455977   TERRY         ORTEGA                      CA     90003696844
65292692491923   JUSTIN        REYNOLDS                    NC     90001106924
65294294784392   CARLY         BOWMAN                      SC     90014902947
65296593755973   ALYSSA        TIENDA                      CA     48058565937
65296786161936   DEL           GAINES                      CA     46023057861
65298184425236   JERMECO       LOWERY                      NC     90014391844
65299846225236   ROGELIO       GOMEZ                       NC     90015508462
65311962251331   COURTNEY      MORROW                      OH     66094579622
65312267255973   ARISTEO       MENDEZ                      CA     48041052672
65313559663646   CAMELIA       AL BUSAIDY                  MO     27580715596
65316233855975   BARBA         SMOTHERS                    CA     90003282338
65316353161936   JAY           MEDLAM                      CA     46080763531
65317322561961   ANGELIA       NAVARRO                     CA     46081103225
65317359491549   STEVEN        TISCARENO                   TX     90013053594
65317543391522   HECTOR        RODRIGUEZ                   TX     90010645433
65319381557142   ANTHONY       JOY                         VA     90009453815
65321939184392   KEVIN         TOBIN                       SC     90014919391
65322811791549   MARIA         CHAVEZ                      TX     75012148117
65323446233692   NOE           PELAGIO                     NC     90001564462
65323478591549   PABLO         DE LA PAZ HERNANDEZ         TX     90000174785
65324654863646   CHARLES       HENRY                       MO     27512126548
65325277491522   BLANCA        CAMPOS                      TX     90011732774
65325618355975   ADELINA       HERNANDEZ                   CA     90002396183
65326446355973   NANCY         GARCIA                      CA     90004164463
65326531191522   RICHARD       LUJAN                       TX     75048655311
65326995361961   ANGELA        AVILA                       CA     46007869953
65328557355973   DINORA        CONTRERAS                   CA     90006945573
65329332425236   GUADALUPE     VILLANUEVA                  NC     90015583324
65331461277584   MICHAEL       HEUBERGER                   NV     90007024612
65333117263646   KEITH         IMFELD                      MO     27509411172
65333452797122   EMAULIA       ESCOBAR                     OR     90008174527
65334287855973   SUZY          FUNK                        CA     90010702878
65334867581644   LOIS          RUMANS                      MO     90012528675
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65335448155973   VALERIE      GONZALES                     CA     48047714481
65335849663646   SANDRA       HINDERLITER                  MO     27591318496
65336149851388   MYESHA       WILLIAMS                     OH     90004351498
65336575963646   STEVEN       MAYOR                        MO     90013555759
65338128471976   LINDA        WERTZ                        CO     90005951284
65338773755975   ERIK         VASQUEZ                      CA     90013197737
65338955163646   TOMMY        SEEGERS                      MO     27523789551
65339652791522   AGUSTIN      SANCHEZ SOLIS                NM     90014696527
65339883925236   OSCAR        VILLALANTE                   NC     90015558839
65341287291549   MARIA        RODRIGUEZ                    TX     90000552872
65341419561961   ANABEL       CASTREJON                    CA     90015154195
65341685454124   JESICA       RAMIREZ                      OR     90005626854
65341729981644   EMANI        CLEMENT                      MO     90012217299
65342167761961   PERLA        GARCIA                       CA     46083921677
65343568855975   DERRICK      ORTIZ                        CA     90013235688
65343846771976   VELMA        MONTOYA                      CO     90006978467
65344643891998   ARACELI      SANCHEZ                      NC     90013256438
65344846771976   VELMA        MONTOYA                      CO     90006978467
65346526155977   CRYSTAL      MARTINEZ                     CA     49051775261
65351364861964   VICTOR       MOLINA                       CA     90001423648
65352331154124   JERRY        HEUNSTEIN                    OR     90005653311
65355218455977   JOSE         HERNANDEZ                    CA     90014452184
65355228751354   LAUREN       CHAMBERS                     OH     90003932287
65355666355973   ANA          VALENZUELA                   CA     48016466663
65356633555977   TALIA        VASQUEZ                      CA     90013646335
65356652984392   LAVONA       SAWYER                       SC     90003836529
65357477291998   ARTHUR       WAMBAA                       NC     90007704772
65359291133698   SCOTT        VINCENT                      NC     12098772911
65359918761961   MIGUEL       NAVARRETE                    CA     90010589187
65362288861961   LARRY        LOVE                         CA     90015322888
65362858285866   TAKAHIRO     KUROSE                       CA     90013098582
65364943991522   MARGARITA    FIERRA                       TX     90014649439
65365371455973   RAVEOLLA     VIEZA                        CA     48057883714
65366591155977   ADRIAN       CHAIDEZ                      CA     49079475911
65366967661961   EVONY        FRAZIER                      CA     46066439676
65367588561936   IRYNA        VUL                          CA     46016005885
65368446355973   NANCY        GARCIA                       CA     90004164463
65369312461961   SANDOR       MOLNAR                       CA     46089263124
65369367955973   LORENA       MIRANDA                      CA     90015023679
65371311691522   BRISSA       GARCIA                       TX     90014733116
65371362181644   BRANDON      JONES                        MO     90010023621
65371432891549   ELIZABETH    ANGUIANO                     TX     75008904328
65372895791522   JESUS        HERNANDEZ                    TX     90011738957
65373171161961   KARINA       CARVAHAL                     CA     46022511711
65373377255973   MARIA        GALAVIZ                      CA     48092143772
65375393861964   LILIA        QUINTANA                     CA     90004293938
65376854391527   JOSE         AVILA                        TX     90013068543
65377675725236   JOSE ANGEL   CASTENDA LOPEZ               NC     90015556757
65378494191522   CLAUDIA      RUIZ                         TX     75081294941
65379216191998   LISA         SMITH                        NC     17066402161
65381196681644   SHANE        HILL                         MO     90013451966
65383897161964   OMAR         ALCALA                       CA     46037628971
65385591991522   ROGELI       RUEDA                        TX     90013115919
65386936985948   ROYCE        MILNER                       KY     66001159369
65388372591522   BEATRIZ      CHAVEZ BAQUERA               TX     75024543725
65389583833698   DONALD       SMITH                        NC     90009575838
65389975851354   HAMMA        FAYA                         OH     66080269758
65391428991549   CRISTINA     ORTIZ                        TX     90007594289
65393142461964   BLANCA       RAZO                         CA     90014481424
65394174355977   MIGUEL       MADRIGAL                     CA     90005711743
65394255925357   MICHAEL      FAIRMAN                      WA     90015372559
65397212733698   JOSEPH       BOLES                        NC     12082332127
65397383861961   PATRICIA     REAL                         CA     90009923838
65398355491522   FRANCISCO    GALLEGOS                     TX     90014733554
65398545855975   RICHARD      MONTOYA                      CA     90013085458
65398559361964   DEANNA       DOUGLAS                      CA     90013535593
65398872891535   PHILIP       PEDREGON                     TX     75082698728
65412157755975   MARIA        OROZCO                       CA     90004911577
65412193591549   ROSIO        GALLO                        TX     90015231935
65412614155977   LETY         HERRERA                      CA     49076636141
65413353391549   ANGELLEAH    CAYLOR                       TX     90014173533
65414982591525   ALICIA       VASQUEZ                      TX     75031169825
65415172563646   DEBBIE       DAY                          MO     90002961725
65415361561961   VENESSA      GARCIA                       CA     90012873615
65416437761961   LAURISSA     HERRERA                      CA     46017314377
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65417388263646   BECKY               SANDBERG              MO     27586243882
65419597691549   JENNIFER            CORRALES              TX     90011575976
65421919891234   HUGO                GONZALEZ              GA     90008809198
65422538255975   JEANETTE            KEEL                  CA     48055655382
65423688251354   BIRTTIANIE          BERING                OH     90008836882
65423964931453   YANA                NELSON                MO     27513039649
65424315155973   ROBERT              RAMIREZ               CA     48041943151
65424783391998   ALFREDA             HEGGIE                NC     90014397833
65425768363646   ANDREW              JACKSON               MO     90011067683
65427322761964   OSCAR               TAPIA                 CA     90010843227
65427855655973   SYLVIA              RAMERIZ-SOLIZ         CA     90004548556
65429262861961   HUMBERTO            BARRAZA               CA     46032982628
65431622491998   CINDY               SOLA                  NC     90013666224
65432552151331   LETICIA             LOPEZ                 OH     90009805521
65433125691522   MONICA              LUNA                  TX     90008591256
65434414451354   DARMISCHIA          LEACH                 OH     90012524144
65436367561961   ANDRES              LORENZO               CA     46090123675
65436488361936   MATT                FINLEY                CA     90006534883
65438743255975   GARDUNO             MOISES                CA     90013677432
65441827881644   GARY                BROWN                 MO     90010408278
65442733391549   MARISELA            SALINAS               TX     90013297333
65445677991549   LOURDES             GUZMAN                TX     90005456779
65446188691998   DIEGO               VAZQUEZ               NC     90014751886
65447563955975   MIGUEL              TAPIA                 CA     90013895639
65448327684392   MARIBEL             LOPEZ                 SC     19021403276
65449271785981   NATASHA             CARMICHAEL            KY     90010652717
65449427791522   JESUS               GARAY                 TX     90014734277
65452232933698   KENNETH             CHANDLER JR           NC     90011252329
65454226161961   ARISTEO             CRUZ                  CA     90013842261
65454488325236   LUICO               CLELO                 NC     90015584883
65454555355973   ADRIANA             VASQUEZ               CA     48014335553
65461435151347   BRENT               MUSGRAVE              OH     66002444351
65461857555977   OFELIA              WELCHOR               CA     90000268575
65463383855973   MEL                 GARCIA                CA     48021553838
65463782161961   MARIA               GALINDO               CA     90013047821
65464315125236   MARIA               HERNANDEZ             NC     90014753151
65465673641232   GEORGE              MARTIN                PA     90001616736
65466896671976   LOUISE              CASTRO                CO     38090758966
65467449255973   RUSSELL             CORTEZ                CA     48037854492
65469181691522   MARIA               MEDELES               TX     75018051816
65469286363646   MIGUEL              MARTINEZ              MO     27586542863
65471252954124   CASH                REYNOLDS              OR     47084022529
65471637471976   JOHNN               SANTISTEVAN           CO     90005996374
65472129991549   KARINA              FLORES                TX     75060081299
65474528563646   TORRIE              THONE                 MO     27579475285
65475728655975   COLLEEN             GRAY                  CA     90009447286
65477215561964   ZACHARY             SKINNER               CA     90013832155
65477943355977   PETE                SANCHEZ               CA     90010369433
65481354255977   MELANIE             FISHER                CA     90015303542
65482174391549   ORALIA              VIESCA                TX     75083141743
65483773181644   RAMIRO              DAMIAN                MO     29034357731
65484211891522   MELISSA             HERNANDEZ             TX     90006702118
65484862261964   FRANSISCO           AVENDANO              CA     90012188622
65484977561961   JORGE               ROCHA                 CA     46009489775
65485628863646   LISA                CHANDLER              MO     90011986288
65486682181644   GERARDO             PLATA                 MO     90014666821
65487228151374   MICHELLE            COOPER                OH     66093072281
65488211891522   MARIA DEL ROSARIO   CARRANZA              NM     90011742118
65489678155975   KENNETH             JONES                 CA     90014986781
65492186551354   FARRAH              GATTS                 OH     90009991865
65493141955977   RAYMOND             COLMENERO             CA     49046211419
65493897271976   GINO                KASAN                 CO     90005998972
65494374384392   VICTOR              FLORES                SC     90011143743
65494443725236   LEROY               MCQUIRE               NC     90004124437
65494486861936   THEODORE            KENNEDY               CA     90010614868
65495693155977   ALEJANDRA           VILLAGOMEZ            CA     90014606931
65497987155977   ROSALINDA           SANZON                CA     90011909871
65498154855977   JAMES               WALTON                CA     90003341548
65498391763646   ASHLEY              SPIKER                MO     90004013917
65498644351354   MELINA              NUGENT                OH     90009756443
65499664325236   CARLOS A            ORNELAS               NC     90015416643
65512172884392   HAYDEE              LOPEZ                 SC     90010001728
65512279191549   MIGUEL              SERRANO               TX     75021462791
65512383391522   MILDRED             VENEGAS               NM     75091753833
65512441661961   NIZA                GARCIA                CA     90011114416
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65512874755977   OLGA            CHAIDEZ                   CA     90009918747
65514144291998   HEIDI           HOLLOWAY                  NC     90012891442
65514783661961   ANTONIO         RIOS                      CA     46013667836
65515341761961   RAMON           RODRIGUEZ                 CA     46086813417
65517575191549   MARIA           ROJAS                     TX     90010275751
65518215561964   ZACHARY         SKINNER                   CA     90013832155
65519899881644   ANGELICA        VIELMA                    KS     90010418998
65524311591522   SANDRA          RAMIREZ                   TX     90011013115
65526597491522   EMILIO          AVENDANO                  TX     90011465974
65527613191998   KEREFA          WATKINS                   NC     90008496131
65529145691998   MORRIS          EVANS                     NC     90015131456
65529625691522   MARISELA        CAMUNEZ                   TX     90000796256
65529835381644   MEGAN           YOCAM                     MO     90008738353
65529925751354   CRIM            LESLIE                    OH     90006049257
65532597641272   JOHN            CUNNINGHAM JR             PA     90000215976
65532675333698   GINGER          MCCALL                    NC     90011256753
65533515391522   FELIPE          PADILLA                   TX     90014735153
65533652333698   ALVINA          PORTER                    NC     12006426523
65534515391522   FELIPE          PADILLA                   TX     90014735153
65537152233698   EBONIE          COLBERT                   NC     12095421522
65537597491522   EMILIO          AVENDANO                  TX     90011465974
65537772663646   PAYGO           IVR ACTIVATION            MO     90014637726
65538489591572   MARIA           MARTINEZ                  TX     75029784895
65538813855975   GABBY           GODOY                     CA     90005868138
65538929691522   ROMAN           SAMBRANO                  TX     75073369296
65539195291234   KEITH           WILLIAMS                  GA     90009231952
65542652763646   TRENT           RENO                      MO     90006746527
65542777261964   BETTY           CRACKER                   CA     90010457772
65544959261961   ANA             CORNEJO                   CA     46012779592
65546194255977   KOGIAH          ETHRIDGE                  CA     90013431942
65546964633698   KENNETH         EATON                     NC     12093899646
65547268661964   SANDRA          HERNADEZ                  CA     46095142686
65548141581644   JESSICA         MARTINEZ                  MO     90014061415
65548235255973   LYDIA           HUERTA                    CA     48084742352
65548573891549   ALEJANDRA       TURRUBIATE                TX     75011115738
65548999955975   ADRIAN          RODRIGUEZ                 CA     90008989999
65549684791522   ANGELES         GONZALEZ                  TX     75047386847
65549866484392   EMILY           BURNSED                   SC     90009368664
65552662361975   JESSICA         HERNANDEZ                 CA     90009616623
65552684791522   ANGELES         GONZALEZ                  TX     75047386847
65553235291522   LISA            RODELA                    TX     90006432352
65553599555977   MARIO           MARTINEZ                  CA     49043875995
65553677963646   CLIFFORD        MORRIS                    MO     90010246779
65554256855975   MARISELA        RODRIGUEZ                 CA     48034662568
65555684791522   ANGELES         GONZALEZ                  TX     75047386847
65555849255973   DEBRA           GOLDSMITH                 CA     48080998492
65556353661961   HIGINIO         VALADEZ                   CA     90004773536
65557221355977   GUAFALUPE       DICKERSON                 CA     49094022213
65557419691522   PETE            ESPARZA                   TX     90007074196
65558583984392   ANGIE           PARKER                    SC     19089045839
65558728861961   LORNE           HAMPTON                   CA     46032287288
65558733154124   DANA            STUCKY                    OR     90005997331
65559367655973   RAYMUNDO        LOPEZ                     CA     90010613676
65559655961964   JON             KRENZ                     CA     90013616559
65561331591552   JOSE            SALVATIERRA               TX     90010903315
65562175255973   TAMMY           HUDSPETH                  CA     48016611752
65563372591522   BEATRIZ         CHAVEZ BAQUERA            TX     75024543725
65565383784392   DEVONA          KINLOCK                   SC     19023353837
65565631361961   GABRIELA        SANORA                    CA     46079956313
65566834484392   JONES MICHAEL   JAMES                     SC     90009398344
65567831355977   JAVIER          TORRES                    CA     49076638313
65568125861961   RAMON           QUINONEZ                  CA     90005781258
65568318691998   LASHANDA        JOHHNSON                  NC     17009893186
65568719925236   BARBARA         WYCHE                     NC     90015517199
65569367955973   LORENA          MIRANDA                   CA     90015023679
65569399891998   KENDREKA        JENKINS                   NC     90014623998
65569898391549   RUTH            LABRADO                   NM     90002798983
65571547955973   CORINA          HERNANDEZ                 CA     90014205479
65573662755977   RAMIRO          MARTINEZ                  CA     90013646627
65574887891998   LARISHA         JOHNSON                   NC     90009638878
65575814955973   YESICA          CORONA                    CA     90009528149
65576178191549   REBECCA         MALDONADO                 TX     75076941781
65577146261964   VALERIE         STEWART                   CA     90014011462
65577235725236   JONEKA          ALSTON                    NC     90013102357
65577362451325   SCOTT           BURNS                     OH     66098583624
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65578529291549   MARIBEL       CABADA                      TX     90012515292
65579552991522   ROSA          SALDANA                     TX     90014735529
65582552191234   RANDI         WHITFIELD                   GA     90007325521
65583281555975   ROSEMARY      HERNANDEZ                   CA     90014832815
65584562891522   ALMA          ACOSTA                      TX     90014735628
65586135255977   CRYSTAL       ZAMUDIO                     CA     90010991352
65586184391998   KELLIE        WESTER                      NC     17029921843
65588475754124   ARNOLD        COLETTE                     OR     90006004757
65588563181644   JOHN          ROBERTSON                   MO     29076505631
65588718355977   BONNIE        GONZALES                    CA     90002407183
65588767291522   ROCIO         IBARRA                      TX     90012567672
65589475754124   ARNOLD        COLETTE                     OR     90006004757
65591898881644   ELICIA        ROBINSON                    MO     90014668988
65592753755977   ANTONIO       VALENCIA                    CA     90014477537
65592835341231   KRISTINA      WILLIAMS                    PA     90010498353
65592865561961   PATRICIA      DE LA CRUZ                  CA     90005858655
65593315591522   CHRISTINA     FIGUEROA                    TX     75016093155
65593475754124   ARNOLD        COLETTE                     OR     90006004757
65594321463646   SHEILA        DOBBS                       MO     90000393214
65594718691998   DIANA         ARIAS                       NC     90008597186
65594756155975   ELENA         SANCHEZ                     CA     48042257561
65595664361936   LETICIA       LOPEZ                       CA     46016536643
65596154955973   RACHEL        VELASQUEZ                   CA     90003061549
65597222155973   RYAN          BAKER                       CA     90000212221
65597911981644   KEN           DANIELS                     MO     90014669119
65612929681644   CHRISTOPHER   HILL                        MO     90014669296
65612997591265   ANDREA        BROWN                       GA     90013709975
65614847261558   ASHLEY        STEELE                      TN     90011158472
65615177933698   DECOBE        PETTUS                      NC     90011261779
65615321791998   FELICIANO     CERRANZA                    NC     90015333217
65615452925236   ERICSON       ESCALANTE                   NC     90013114529
65615514455928   FIDEL         SALMERON                    CA     90005905144
65616273261964   SERGIO        RODRIGUEZ                   CA     46083252732
65616651163646   ASHLEY        JONES                       MO     90004966511
65616832691525   DINA          NAJERA                      TX     90006818326
65617456225236   ANTONIO       RODRIGUEZ                   NC     90015534562
65617976371976   AMBRIA        DOLGAN                      CO     38011179763
65618831761961   SILVIA        MEDINA                      CA     46049718317
65619191591998   LYDIA         JOSEPH                      NC     17023611915
65619533763646   STEVEN        BOYD                        MO     90000915337
65622518281644   MARILYN       BENNETT                     MO     90013355182
65622538391998   LYNDA         MORGAN                      NC     90005855383
65623978591549   IRIS          APARICIO                    TX     75086969785
65624881455975   JESUSL        LOPEZ                       CA     90005018814
65625328855977   KHRESTA       DUNCAN                      CA     90012863288
65625453691998   SHAGUANNA     DOTSON                      NC     90002854536
65625765391522   MARIA         GUEREQUE                    TX     75060967653
65627213591965   OLGA          ZEFAZ                       NC     90008652135
65627877691998   AQLFREDO      VALDEZ JIMENEZ              NC     90005328776
65628152791522   CINDY         DE LEON                     TX     75055591527
65629395455973   TERESA        DEMACABALIN                 CA     90003013954
65631381863646   ALEX          MALOY                       MO     90013943818
65632863955973   ESTRADA       JOHANA                      CA     48068718639
65632948691549   BRENDA        MARQUEZ                     TX     90010689486
65633744755975   LEWIS         FOWLER                      CA     90001097447
65633941181644   HOPE          GREEN                       MO     90014669411
65635986491998   FRANK         CHRISP                      NC     17093189864
65636665491522   ANTONIO       MONTANA                     TX     90007046654
65639538191998   LETEBRABRAN   ABRHA                       NC     90007215381
65643195191522   WALTER        PELLICANO                   TX     90011871951
65643725561964   BALTAZAR      CRUZ                        CA     90011097255
65646243455975   JESSICA       SANCHEZ                     CA     90013842434
65647626191522   CORINA        SEPULVEDA                   TX     90014736261
65649399291522   LORENZO       CASTILLO                    TX     90013033992
65652281363646   MATTHEW A     GIERER                      MO     27596612813
65652513525236   KYLE          WILLIAMS                    NC     90015615135
65653815791998   TAMIKA        WILLIAMS                    NC     90010218157
65653996361964   LEE           CAIN                        CA     46086619963
65654698791549   PAULINA       ADELAIDA                    TX     90011526987
65654857261961   MIGUEL        ARELLANO                    CA     90014168572
65655923591522   MIGUEL        HERNANDEZ                   TX     90013869235
65656695355973   SARAH         JERCICH                     CA     90015266953
65656844255975   MIRNA         JIMENEZ                     CA     90012918442
65657613233698   SARAH         BYERS                       NC     90002616132
65658228361936   HARRIS        KELLY                       CA     46016242283
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65658274584392   NAKITIA       GADSDEN                     SC     90013342745
65661617361964   JILL          JORGENSEN                   CA     46068776173
65662795891998   CAROLYN       GUPTON                      NC     90012947958
65663953361961   CARMEN        LABORDE                     CA     90014689533
65663978355973   CRYSTAL LEN   PYLE                        CA     90014639783
65664982625236   JOSE          BAUTISTA                    NC     90013119826
65665448961964   ISAMAR        CARRILLO                    CA     90015284489
65667777491522   FLORA         ROJAS                       TX     90011747774
65668167455975   BRYTNEY       BARRET                      CA     48086911674
65669631361936   JAIME         ESTRADA                     CA     46016566313
65674982691998   DONTRELL      EVANS                       NC     90014899826
65676682291522   ROOT          METRICS                     TX     90011846822
65677939561961   IRMA          GRANADOS                    CA     90004389395
65678253391552   MAGDALENA     IGLESIAS                    TX     75072642533
65678596955977   JUANITA       FLOREZ                      CA     49076855969
65678948691549   BRENDA        MARQUEZ                     TX     90010689486
65679125381644   JESSICA       NICHOLS                     MO     90006111253
65682447391549   ANTONIA       ACOSTA                      TX     75020594473
65682741663646   TRENT         HAUSMANN                    MO     90014167416
65683719663646   KELLY         ROACH                       MO     90014167196
65684221655975   NICOLAS       VENEGAS                     CA     90011642216
65684254561964   CRISTINA      HURTADO                     CA     90012612545
65684298261964   CALYIN        MALKELL                     CA     90014552982
65684648263646   ANDREA        HENSON                      MO     90002636482
65684765991522   RAMONA        CENICEROS                   TX     90010397659
65685165761964   JESSICA       AVITIA                      CA     90014011657
65685924891527   PERFECTA      VARGAS                      TX     90011419248
65687287191535   LEONOR        VALDEZ                      TX     90004452871
65689868851354   TONYA         HUNT                        OH     66059478688
65691844863646   KELLY         MESLE                       MO     90012888448
65693138663646   SHANNON       BOWEN                       MO     90014181386
65693256281644   K             KUTII                       MO     90011712562
65694866461961   JANNET        PALAFOX                     CA     90006788664
65695458641292   JENNIFER      L DEARTH                    PA     90009704586
65697482155975   SANDRA        IBARRA                      CA     90009074821
65698642461961   HILDA         RAMOS                       CA     46025816424
65698799891522   VERONICA      MORALES                     TX     90005137998
65699582591522   OSCAR         SOLIS CHAVEZ                NM     75058155825
65699677291998   RICARDO       LEAL                        NC     90000566772
65711848555977   APRIL         SUMMERLIN                   CA     90012858485
65713917284392   LAKESHA       CLEMENT                     SC     90007939172
65714474355975   MARILYN       DURAN                       CA     90004964743
65715387151354   SHAMAR        ALLEN                       OH     90010963871
65715734655973   THERESA       HARVEY                      CA     90001807346
65716219891998   CLARA         SANTOS                      NC     90010122198
65718876361961   ALICIA        PEREZ                       CA     90014168763
65721521455975   MIGUEL        ALMANZA                     CA     90012215214
65723187484392   GONZALO       VELASQUEZ                   SC     90002681874
65723193251354   TONY          CALLAHAN                    OH     90014471932
65723472381644   ALICIA        NONATO                      MO     29076374723
65725453191549   MICHELLE      OVIEDO                      TX     75032654531
65726565991552   SERGIO        MAGALLANEZ                  TX     90009245659
65727242661961   LOURDES       ROMO                        CA     90013842426
65727998361964   STEVE         SPAHR                       CA     46043409983
65728397161964   RANDY         MAGBANUA                    CA     90001533971
65728474481644   JAMI          MORRIS                      MO     90011694744
65729785761964   DIEGO         GONZALEZ                    CA     46019397857
65732779955975   HZONGCHUA     VANG                        CA     48097287799
65733474161964   LOPEZ         PAMELA                      CA     90001634741
65739529985946   ANGELA        ROBERTS                     KY     90013495299
65742179891522   ARTURO        GAMEZ                       TX     75018571798
65742447555977   SABRINA       RAMOS                       CA     90014784475
65742532261961   LILIA         BEASON                      CA     46008185322
65743624591549   SANDRA        CARDOZA                     TX     90013746245
65744745233698   ASHANTA       BYRD                        NC     12046087452
65744994751354   LEE           STIVER                      OH     66014429947
65745652291522   AMANDA        MACIAS                      TX     90000626522
65747319892844   NATALIE       PEREYRA                     AZ     90014823198
65748233554124   VILLA         LUCERO                      OR     90006892335
65748456725236   MICHELLE      BLACKMAN                    NC     90015614567
65749142936139   WALTER        RUIZ LOPEZ                  TX     90003881429
65749888661961   MONDO         MARTINEZ                    CA     90014168886
65749949661964   ALFONSO       PEREZ BAUTISTO              CA     90014949496
65751568455973   ANA           GONZALEZ                    CA     90010725684
65751844725236   ANGELA        WHITTED                     NC     17021208447
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65752853784392   ALEXANDREA   MARSTON                      SC     90009218537
65753833225236   GEORGE       FUNDERBURK                   NC     90013928332
65754492271976   DEE          TRUJILLO                     CO     38050654922
65756364284392   BRANDI       MAZYCK                       SC     90011463642
65756612791525   BERTHA       WARNER                       TX     90008036127
65757511161964   VIVIAN       SHARP                        CA     46045555111
65758217155973   RAMIRO       GOMEZ                        CA     48061382171
65759623755975   DEBORAH      HERNANDEZ                    CA     90014346237
65759762261961   SOFIA        GONZALES                     CA     90010047622
65761168861964   JOHNATHAN    LOPEZ                        CA     90009471688
65761525155973   DANIELA      BOURNE                       CA     90015155251
65761542455973   JOSE         GUERRERO                     CA     90013575424
65761844355975   MARIO        MUNOZ                        CA     48002698443
65762553555975   CECILIA      ATRICO                       CA     90015115535
65762616355973   LYDIA        ECHEVERRIA                   CA     90010896163
65763751392844   JULIO        MACEDONIO                    AZ     90014367513
65764369555977   JOSE         VAZQUEZ                      CA     90014303695
65764491791522   LILIANA      SANCHEZ LEON                 TX     90011274917
65764636455973   YULI         MARQUINA                     CA     90004436364
65766348491522   MARTHA       TORRES                       TX     90009553484
65766627825236   ROLANDO      GARCIA                       NC     90015536278
65766775357142   EDWIN        MACHADO                      VA     90008897753
65767214231455   VELLY        DUVERNY                      MO     90006002142
65767756381644   CHRIS        RAGSDALE                     MO     90004097563
65768781755977   GLADYS       GONZALEZ                     CA     90012927817
65772121291522   ANGEL        RODARTE                      TX     90011811212
65772313291998   MICHELLE     YORK                         NC     90011103132
65772365685986   RICHARD      NEAVES                       KY     90004283656
65772939561961   IRMA         GRANADOS                     CA     90004389395
65773492661936   ALVARO       GONGORA                      CA     46042674926
65774444484392   JOSEPH       DECKER                       SC     90006644444
65774539655975   GRACIE       SUMMERS                      CA     90014845396
65775711891522   KAITLYN      RODARTE                      TX     90014737118
65775939561961   IRMA         GRANADOS                     CA     90004389395
65776156961961   JUAN         GALAVIZ                      CA     90011441569
65777224661961   CESAR        JULIO                        CA     90008202246
65777863684369   MELONY       MULLIGAN                     SC     90011368636
65778628155977   REUK         SOM                          CA     49052416281
65779268555973   JASON        GARRETT                      CA     90006262685
65782181563646   ALETHA       BARKER                       MO     90015031815
65782576991572   JOSE         RODRIGUEZ                    TX     75029325769
65784995281644   CHRISTIAN    HALL                         MO     29048249952
65787778155977   NICHOLE      STEIN                        CA     49038657781
65787896951337   LISA         CRISP                        OH     90013418969
65788278191549   PATRICIA     HERNANDEZ                    TX     75035352781
65788445891535   MARIA        GARCIA                       TX     90008784458
65788619455973   ADRIEL       RUELAS                       CA     90011866194
65792392763646   NICHOLAS     JOHNSON                      MO     90010813927
65793562384347   MAGGIE       MITCHELL MCKAY               SC     90010735623
65794543255975   ANTONIO      CEBALLOS                     CA     90006205432
65796318591549   JOHN P       SCHRIVER                     TX     90012133185
65797563361961   RENE         LERMAN                       CA     90014185633
65797844725236   ANGELA       WHITTED                      NC     17021208447
65798934891522   BEATRIZ      MUNOZ                        TX     75009759348
65811853355935   LAURA        DIAZ                         CA     90013798533
65811999755975   MARIA        VILLA                        CA     90010669997
65815717761961   JHON         PUENTE                       CA     46021307177
65816838961964   JOVANNA      RAMIREZ                      CA     90007338389
65817374625236   QUE          PITTMAN                      NC     90014083746
65817693991549   FRANCISCO    PEREZ                        TX     90012176939
65819171291522   JESUS        GOMEZ                        TX     75033301712
65821625151354   JOY          HOWARD                       OH     66016956251
65822528333698   AMBER        MABE                         NC     90010685283
65822737781644   DUANE        DOOLIN                       MO     90014677377
65823114163646   ANA          GUTIERREZ                    MO     27562581141
65823266361964   RICHARD      EGBERT                       CA     46092792663
65823298825236   KEPAULA      SOMUAH                       NC     17016962988
65823565561961   GABRIEL      PADILLA                      CA     90011595655
65824679155973   ABEL         AYALA                        CA     48022316791
65826186455975   ADAN         ESPINOZA                     CA     90011981864
65826334781644   RANDY        MULL                         MO     29012563347
65828864451354   VALERIE      NELSON                       OH     66038108644
65829326855975   JUANITA      SERNA                        CA     48012623268
65831236655973   JESSICA      MENDOZA                      CA     90015562366
65835399355975   HEATHER      DOTSON                       CA     90014373993
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65836619461961   GIANNI       SIMMS                        CA     90011876194
65836994891522   ENRIQUE      MERAZ                        TX     75088719948
65837745154155   BENJAMIN     BEKKER                       OR     47015977451
65837757455969   STAR         DIAZ                         CA     90013077574
65838339461961   ARMANDO      MORALES                      CA     90012453394
65839819481644   JELISA       BERNARDO                     MO     90014678194
65841344161936   FERNANDO     ESTRADA SAZUETA              CA     46062903441
65844279981644   GLENN        BOLTON                       MO     90014392799
65844746291549   DIANA        SALAZAR                      TX     90014557462
65845681355975   LAURA        ALCANTAR                     CA     90010276813
65845928963646   JOSHUA       FORD                         MO     90011049289
65846281555973   SOCORRO      ARIAS                        CA     90013842815
65846964255975   MANUEL       MARTINEZ                     CA     90009449642
65849144691363   FELIX        VEGA NUNEZ                   KS     90014321446
65849182851354   ERIN         MARTIN                       OH     90014751828
65851623755975   DEBORAH      HERNANDEZ                    CA     90014346237
65852485451354   KATIE        GRIFFIN                      OH     90014144854
65852893755977   VERLENDRA    RUFF                         CA     90011808937
65854897461961   HARRIET      MARTINEZ                     CA     90014168974
65854928581644   SAMANTHA     OCHOA                        MO     90010229285
65855929555973   NICHOLAS     SMITH                        CA     48060039295
65858277455975   EDITH        OROZ                         CA     90006532774
65863335885689   MARY         BORDEAUX                     NJ     90001993358
65863739455977   STACY        ANDERSON                     CA     49006107394
65864444461961   KERVIN       ANDERSON                     CA     90015024444
65864521951354   GARY         POUNDS                       OH     90008315219
65865472963646   KENNETH      CRAWFORD                     MO     27515004729
65866543955973   ANITA        FRAUSTO                      CA     48021495439
65867135491549   JESUS        HERRADA                      TX     90013871354
65867466125236   ZAIDA        MUNIZ                        NC     90015114661
65867564591998   MICHAEL      GILCREST                     NC     90015075645
65869393855975   MARIA        GONZALEZ                     CA     90012463938
65869765551354   PASTOR       PEREZ                        OH     66097797655
65871211391522   ALFREDO      CAZARES                      TX     90014752113
65871621551337   CHRISTINE    SAMSONE                      OH     66017576215
65871715491525   SAUL         AMBRIZ                       TX     75010767154
65872217591998   JERRI        JONES                        NC     90011512175
65875469555975   GUSTAVO      BACA                         CA     90002834695
65876622961964   ROBERT       BANA                         CA     90011916229
65878165891549   ANGELICA     RAMOS                        TX     90013791658
65878878555973   JUAN         MORALES                      CA     90006718785
65883722425236   IESHA        ARRINGTON                    NC     90001257224
65884461451337   AMBER        BLAND                        OH     90000124614
65885767891549   ROBERT       FRESCAS                      TX     90012367678
65886327491522   RILEY        MORALES                      TX     90013743274
65886782855977   JAIME        BERMUDEZ                     CA     49040777828
65888567681628   KELLEY       SCHMITZ                      MO     90010105676
65889579655975   ROBERT       BACA                         CA     90013475796
65892528672451   JACOB        CRIPPEN                      PA     90009985286
65892827863646   KAYLEIGH     MARSHALL                     MO     90014658278
65893317461961   SEAN         SHERIDAN                     CA     90011333174
65894366957142   JUANA        RODRIGUEZ                    VA     90008903669
65894923851354   AMBER        WALLACE                      OH     90011319238
65895724591998   CLAUDETTE    ISANGWA                      NC     90013147245
65895871455975   ENRIQUE      CONTRERAS                    CA     48097608714
65896579825236   NETTA        BROWN                        NC     90014155798
65896692461961   WILLIAM      BOWLES                       CA     90012066924
65896874463646   CHARLES      CROWDER                      MO     90014658744
65897845555977   MARIA        VILLAGRAN                    CA     90014168455
65911451925236   GRISELDA     DELGADO                      NC     90010034519
65912562955973   SUANNA       RENTERIA                     CA     48012005629
65912668461964   RAQUELLE     TAYLOR                       CA     46008066684
65913357391549   LAURA        AGUIRRE                      TX     90011873573
65915252291549   PIXII        STAR                         TX     90010912522
65915341191522   VIRGINIA     GARCIA                       TX     90014123411
65915846263646   FOREST       HENRY                        MO     90014668462
65917455763646   DOUGLAS      PROCTOR                      MO     90002034557
65917826955975   LUZ          MAGANA                       CA     48086748269
65918612555973   MICHEAL      TRUJILLO                     CA     90013546125
65921572361964   DAMON        KRANKKALA                    CA     90006755723
65921989991549   CRYSTAL      HERNANDEZ                    TX     90006839899
65922863163646   DIANE        OBRIEN                       MO     90014668631
65925124163646   ANGELA       CARPENTER                    MO     90013041241
65925549471232   CHRIS        HUMPAL                       IA     90008685494
65926337255973   ELIDA        LOPEZ                        CA     90010583372
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65926454455975   FELISHA       RIVERA                      CA     48082524544
65926961591998   YAVANDER      MELVIN                      NC     90013229615
65928129163646   NORA          PETERS                      MO     90014671291
65929453891998   CARLOS        LESSO                       NC     90013094538
65929624155975   GABY          RAZO                        CA     90014896241
65931722391994   JOHN DANIEL   POSADA                      NC     90003477223
65932396181644   MARIO         GARCIA                      MO     29009163961
65933528184392   DAUNA         MOLTON                      SC     19065495281
65935449191522   ESTELLA       BARAJAS                     TX     90004854491
65935731393777   LINDA         CONNORS                     OH     90003647313
65935979633698   TIMOTHY       FLEMMING                    NC     90013809796
65936762855975   NATALIE       DUNLAP                      CA     90014087628
65937514155975   MELISSA       OJINAGA                     CA     48051105141
65942321261961   FABIAN        ZEPEDA                      CA     90007723212
65942437255975   NACASIA       SOTO                        CA     90001704372
65943172161936   SILVANO       VALLE                       CA     90006801721
65944183161936   CYNTHIA       CAMACHO                     CA     90006801831
65944572863646   KERRY         HENRY                       MO     27563585728
65944848191549   TERESA        BLAKE                       TX     90013268481
65947758255973   VIANEY        MORENO                      CA     90014177582
65948461891549   JOSE          GERMAN                      TX     90011484618
65948762855993   MARIO         DIAZ                        CA     90005437628
65949427161964   ASHLEY        STEEL                       CA     90000704271
65951695525236   CHAVONTE      BLACKMAN                    NC     90015616955
65951731733698   RANSOM        REDM0N                      NC     90013147317
65952674391522   BELEN         VEGA                        TX     75076916743
65955488491522   CLAUDIA       LOZANO                      TX     90014744884
65955492755975   DAVENA        VILLALBA                    CA     90014864927
65956573691522   BERENICE      CABRIALES                   TX     90004795736
65957488491522   CLAUDIA       LOZANO                      TX     90014744884
65958268163646   ROLDEN        IMMANUEL                    MO     90014692681
65958381284392   TRACY         DICKINSON                   SC     19017793812
65958857255973   FRANK         ORTEGA                      CA     90013738572
65959937161961   JOSE          MORALES                     CA     90014169371
65961488955973   JESSIE        DAVENPORT                   CA     90010984889
65961996751354   JAEDIN        DEAN                        OH     90013349967
65962524461964   ALICIA        SANCHEZ                     CA     90006455244
65963573361961   TAWNA         GRISHAM                     CA     90014715733
65963713961964   SANDRA        WEST                        CA     90013447139
65965535761964   RICARDO       OCHOA                       CA     46016175357
65965976784322   WHITNEY       RYAN                        SC     90014639767
65966117461961   CECILIA       PINEDA                      CA     90001041174
65966612655973   VIVIANA       ORTIZ                       CA     48015146126
65966818163646   ANASTACIO     GARCIA                      MO     90014708181
65969548555973   AKEVA         RICHARDSON                  CA     90014625485
65971446555973   VICTORIA      PEREZ                       CA     90012754465
65971586961961   HERIBERTO     VILLAFANE                   CA     90014715869
65971793291522   RAUL          FRANCO                      TX     75014147932
65972282861964   EUGENIO       DUSCUSIN                    CA     90014892828
65972995955975   LUISA         ANDREWS                     CA     90012779959
65974697491923   NAKEISHA      TAYLOR                      NC     90007516974
65976754951323   JOHN          JANSON                      OH     90007547549
65977281163646   PATTY         SIPES                       MO     27514332811
65979796584392   JAMES         DAVIS                       SC     19022567965
65979853655977   ESTHER S      MONTES                      CA     90004398536
65981288291549   MICHAEL       MITCHELL                    TX     90005202882
65981421561936   GLORIA        AVILEZ                      CA     46016824215
65981629955975   RENNE         GIN                         CA     90011896299
65982421561936   GLORIA        AVILEZ                      CA     46016824215
65983317881653   JENELL        CLARK                       MO     90010623178
65984364933698   ANGELA        JOYNER                      NC     12010313649
65984688493762   SUSANA        BANEGAS                     OH     90011396884
65985228355977   VERONICA      QUEZADA                     CA     49061502283
65986259855973   AMANDA        PALMER                      CA     90007732598
65987945561961   HECTOR        BALANZAR                    CA     46072919455
65988447191522   LUZ MARIA     HERRERA                     TX     90005354471
65988459381644   CINDY         KAPLANIS                    MO     90014684593
65989491991522   MARIA         ARRIETA                     TX     90014744919
65991159581644   ALISHA        WALKER                      MO     90011701595
65991326955975   BLANCA        CHAVEZ                      CA     90013953269
65991491891522   JOSE          CENICEROS                   TX     90014744918
65991826591525   GRISELDA      TORRES                      TX     90010548265
65991883585953   TIFFANY       CAISE                       KY     67039548835
65992224984561   MARIO         LOPEZ                       NY     90015522249
65995225281644   WILLIAM       GREENE                      MO     90009802252
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65996161755973   SAUL            CAMACHO                   CA     90005641617
65996416863646   GLYNNIS         ANDERSON                  MO     27569044168
65997699725236   TIA             KNIGHT                    NC     90014616997
65998186255975   SALVADOR        ROCHA                     CA     90008511862
65998939854124   GINA            NEAL                      OR     90007279398
65999319955977   DORA PATRICIA   AGUILAR                   CA     90013883199
66111259161964   SELMA           BENITEZ                   CA     46007292591
66111286855973   JONATHAN        HINES                     CA     90014972868
66111698191522   MARIE           ROBLES                    TX     75042666981
66111844251354   BETHANY         DURBIN                    OH     90002808442
66113967491522   HILDA           GUERRERO                  TX     90013159674
66113969871964   EULALIO         CHAVEZ                    CO     90003019698
66116954955973   SERGIO          HERNANDEZ                 CA     48063519549
66117396955975   VERONICA        MUNOZ                     CA     90010853969
66117794191562   APRIL           LOERA                     TX     75011297941
66117852555973   BRENDA          MARTINEZ                  CA     90014888525
66121413971964   DAVID           OCHOA                     CO     90009884139
66122852781644   CLEMENTINA      MARTINEZ LOPEZ            MO     90013968527
66123319951354   PAMELA          SPARNALL                  OH     90014463199
66123429155977   CHRISTA         HER                       CA     90015094291
66125665655973   ANA             RAMIREZ                   CA     90012206656
66125729291562   MIKE            RAMOS                     TX     90009937292
66125765391998   SALUSTIO        MENDOZA                   NC     17008647653
66126123463646   RANDY           CROWLEY                   MO     27560051234
66126365371964   MICHAEL         GIANNI                    CO     90014253653
66127664584392   ROBER           CLEMENTE                  SC     19077406645
66128651555975   SANTOS          BARAJAS                   CA     90000336515
66132678691522   ADRIANA         ALVAREZ                   TX     75011246786
66133932761936   MARIE           CASH                      CA     90012899327
66134473955975   SERGIO          LOPEZ                     CA     90008964739
66134685451354   JASON           JENSON                    OH     90015256854
66135823481644   DONNA           BLACKSERE                 MO     29065708234
66136587393729   CHANTEL         PIKE                      OH     64561085873
66137966371964   JAMES           HAMER                     CO     90001569663
66138295171964   FAITH           LOPEZ                     CO     32020782951
66138934591998   JOSEPH          SPOKES                    NC     90014809345
66139122191562   SANDRA          SALAZAR                   TX     75038591221
66139316861964   ESTELA          OJEDA                     CA     46017643168
66141551861936   AALIYAH         KIMBLE                    CA     90012375518
66142649361936   EDWARD          ODELL                     CA     90012736493
66142991871964   THOMAS          WEBSTER                   CO     90010099918
66143751391998   DWAYNE          JOHNSON                   NC     90014867513
66143942161936   MELISSA         LOPEZ                     CA     46049979421
66144213955973   STEPHANIE       TORRES                    CA     90011442139
66145476155977   ALBERTO         CRUZ                      CA     49093484761
66145516151354   TED             DEREMER                   OH     90013825161
66146163291998   JOSEPH          BLEDSOE                   NC     90011641632
66146283391592   CINDY           KIO                       TX     90013462833
66146358555975   JUAN            VALDEZ                    CA     90012333585
66146634571964   MICHAEL         BROWN                     CO     90009776345
66146744361936   CINDY           ESPINDOLA                 CA     90013037443
66147154891562   JOEL            GONZALEZ                  TX     90015231548
66147754855977   DYLAN           NEWBILL                   CA     90009957548
66147929393729   BRANDI          SHANKS                    OH     64597239293
66148371271964   REGIANA         STAFFORD                  CO     90012263712
66149249271976   THOMAS          MONTEZ                    CO     90007282492
66152141691562   MARIBEL         ARRUNADA                  TX     75090301416
66153989655975   MARTIZA         HERNANDEZ                 CA     48094249896
66153999191562   JOSEFINA        SANCHEZ                   TX     90010749991
66154623871964   MELANIE         CLARK                     CO     90014366238
66155236451354   JESSE           ISAACS                    OH     90012692364
66155623871964   MELANIE         CLARK                     CO     90014366238
66155755455935   MARISELA        RAMIREZ                   CA     90001607554
66156143761936   MARIA           SERRANO                   CA     90009061437
66156236541292   CARMEN          JORDAN                    PA     90001572365
66158941261964   LETICIA         OCAMPO                    CA     46001869412
66159436991522   JOHN            RONQUILLO                 TX     90010984369
66162415691592   LAURA           ONTIVEROS                 TX     90008904156
66163944955973   CARNELL         AUSTIN                    CA     48049319449
66166241681644   AIKIELA         WILSON                    MO     90013652416
66167148781675   JASON           KEIGHTLEY                 MO     29057641487
66167739855977   ZENIA           ARENAS                    CA     90002647398
66168137655973   MARYELLEN       MAZON                     CA     90013681376
66176343271964   JUDITH          DAHLBERG                  CO     90013233432
66178732991998   EDWIN           MELENDEZ                  NC     90004147329
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66181323655973   CARLOS         BECERRA                    CA     48062933236
66183246155975   ROSALVA        VILLAGOMEZ                 CA     90014912461
66184535151354   RHONDA         EADS                       OH     66064995351
66184869693729   SAM            COOK                       OH     90014588696
66185332755975   DANNY          SANCHEZ                    CA     90009503327
66185431491592   CARLOS         OREPEZA                    TX     90000394314
66185852781644   CLEMENTINA     MARTINEZ LOPEZ             MO     90013968527
66186723593729   BRYCE          CURRY                      OH     64503627235
66188213755975   DAISY          TORRES                     CA     90014542137
66191175655935   MIGUEL         DIAZ                       CA     90007881756
66191176171964   DERECK         SAUNDERS                   CO     90001151761
66191332655975   DONTAIE        HUNTER                     CA     90005133326
66191594161964   DEBORAH        HEDRICK                    CA     90014845941
66192283391592   CINDY          KIO                        TX     90013462833
66193848655975   SALVADOR       GONZALEZ                   CA     90005308486
66194325991522   SUSANA         LUJAN                      TX     90010153259
66194597691525   LUIS CARAVEO   GONZALEZ                   TX     90013885976
66195152491522   NAOMI          BARRAZA                    TX     90010801524
66195728591592   MARIA          DE LA HOYA                 TX     75043987285
66196143661964   AZUSENA        ARROYO                     CA     90014351436
66196412591562   ERIC           THOMPSON                   TX     90011544125
66196596355975   ROBERTO        VELASQUEZ                  CA     90013565963
66196968455973   CHRISTINA      WILBORN                    CA     48013059684
66197469781631   WILLIE RAY     WILLIAMS                   MO     29042624697
66197486751354   JON            WALKER                     OH     66012864867
66197918791522   JESUS          RAMOS                      TX     90009279187
66198467791562   VALPAR         ENTERPRISES                TX     75097034677
66211624391998   DENISE         LULL                       NC     90001936243
66212414693729   WILLIAM        SHEPHERD                   OH     64537874146
66212836391592   JOSE           VILLARREAL                 TX     75080568363
66214433691562   BELTRAN        LAURA                      TX     90010024336
66216428661936   JAZMIN         DIAZ                       CA     90013664286
66216555591998   AMRAN          HUSEEN                     NC     90013115555
66219395151354   COURTNEY       MOORE                      OH     90014513951
66221515191592   MANNUEL        MORENO                     TX     75015235151
66221629955975   AURORA         COVARRUBIAS                CA     90012976299
66221791991562   LORENZO        MENDOZA                    TX     75032357919
66223776255977   JOHN           SAMPLES                    CA     90011337762
66224182785877   THOMAS         RYAN                       CA     90013111827
66224213393726   FRANK          REESE                      OH     90013912133
66224879263646   KAREN          HUDSON                     MO     90002498792
66226234391998   CARLOS         HERNANDEZ                  NC     90013832343
66228874491998   KENNY          MARTINEZ                   NC     90013928744
66229265655973   SIERRA         DYKES                      CA     48091302656
66232163651354   FRANCISCO      HERNANDEZ                  OH     90009491636
66233917771964   HUMBERTO       OLIVARES                   CO     90014829177
66233982393729   TAYLOR         JARVIS                     OH     90013789823
66234182981644   ERICA          WALTON                     MO     29008351829
66234873831225   TONY           GAGLIARDI                  IL     90005898738
66234981255975   ROJELIO        MARTINEZ                   CA     90013969812
66235642491522   PATRICIA       HUGHES                     TX     90014686424
66237753251354   JENNIFER       VAUGHN                     OH     90009707532
66238452161936   EVELYN         PADILLA                    CA     90011614521
66238521155975   NORMA          NAVARRO                    CA     90014585211
66239146891592   ERICK          MERCADO                    TX     90015181468
66241329657593   ABRAHAM        HERNANDEZ                  NM     90010373296
66241578891592   FERNANDO       CHAVEZ                     TX     90010875788
66242478691998   DOMIQUE        MCCULERS                   NC     90015114786
66244384491592   EDITH          VELOZ                      TX     75060523844
66244712791998   XIOMARA        FELICIANO                  NC     90012747127
66245628391998   KATRICE        WILLIAMS                   NC     90013746283
66246147755977   NICOLE         LOPEZ                      CA     90012841477
66246378855975   KRISTINA       PLUMLEE                    CA     90012813788
66246564371964   CONSULO        GONZALEZ                   CO     90007815643
66246741155975   KRISTINA       PLUMLEE                    CA     90011207411
66247288691562   LINDA          TORRES                     TX     90004622886
66247939955977   PETE           HANAMAIKAI                 CA     90012299399
66249888791998   TONIE          MACK                       NC     17091298887
66251448861964   JOAN           DEAN                       CA     90002454488
66251558655973   JAY            MATTIOLI                   CA     90012275586
66251712591592   RENE           FRANCO                     TX     90014847125
66251771671964   RUBEN          CHAVEZ                     CO     32018867716
66252131555973   RIGOBERTO      SANTILLA                   CA     90014021315
66253554293789   JUANITA        KEMP                       OH     90012335542
66256911361936   BLANCA         HERNANDEZ                  CA     90012849113
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66257238471964   GREGORY        LEVOS                      CO     32087232384
66257679191998   KATHLEEN       MCDONALD                   NC     90013636791
66257951933698   GONSALEZ       EDUARDO                    NC     12049599519
66261139861964   LIZ            PEREZ FIGUEROA             CA     46072761398
66262131955973   ALONDRA        MORALES                    CA     90013681319
66262136791522   PATRICIA       VALDEZ                     TX     90002461367
66262661793729   AYISHA         WALKER                     OH     90005316617
66265342691562   PAEZ           YESENIA                    TX     90004743426
66265423191522   EDWARD         GOMEZ                      TX     90014774231
66265792193729   DONALD         MOON                       OH     64514547921
66267326891522   SANDRA         VASQUEZ                    TX     75021263268
66267532471964   ROSA           VELASCO                    CO     90011865324
66268677455973   JUSTIN         WILSON                     CA     90012556774
66269849661996   DAISY          ROSAS                      CA     90011898496
66272495755973   MAGANA         MARIA                      CA     48016194957
66277287361964   TESFAYE        SAHLE                      CA     90013432873
66278995155975   JOEL           LARIOS                     CA     90001549951
66279354891522   PATRICIA       MACIAS                     TX     90013123548
66282649881644   CHIP           TOOLEY                     MO     90006906498
66283853291527   LYDIA          BANUELOS                   TX     90010968532
66284399493729   ALEX           HADDIX                     OH     90003963994
66284874961936   JOHN           SHEPARD                    CA     90011358749
66285184755973   LIZA           WHEELER                    CA     90007401847
66285221355977   RICHARD        NIETO                      CA     49093652213
66285611455975   MA ERNESTINA   ZAVALA DE MORENO           CA     90013586114
66286713451354   JANEY          KESSEL                     OH     90014497134
66288978955975   MATT           CRAMER                     CA     90013029789
66289734881644   DENNISE        WILSON                     MO     90013807348
66291499593729   PAUL           MCDANIEL                   OH     90011254995
66291729391592   DIANA          URENA                      TX     75039127293
66292941481644   ASHLEY         PRICE                      MO     29087659414
66293521655975   BERTHA         MAGANA                     CA     90003835216
66293557161964   ROBERT         BRACKEN                    CA     90013915571
66293832184392   AMANDA         RYAN                       SC     19007188321
66294168991998   JAMIE          MORENO                     NC     90014811689
66295692191562   CYNTHIA        TIJERINA                   TX     90005006921
66297257371964   LILIANA        DAVILA                     CO     90009112573
66297756455975   CHERYL         CHAMBERS                   CA     90012017564
66298675691522   MARGARITA      AVALOS                     TX     90014696756
66312215591998   EBONY          CLAY                       NC     90013662155
66312835871964   TAVIA          BURNS                      CO     90008438358
66313176691592   JOSHUA         MEANEY                     TX     90013961766
66313422751354   ALEMNESH       ASFAW                      OH     66099294227
66313896791522   DAVID          MORALES                    TX     90011888967
66317446371964   SORAYA         VELEZ-CRUZ                 CO     90013234463
66317878155977   GRACE          GOMEZ                      CA     90005128781
66322263491592   VALERIE        GOMEZ                      TX     90014582634
66322321985986   DOMICILIO      CONOCIDO                   KY     90009103219
66322944691592   BERTHA         LAVRADO                    TX     90010439446
66324539771964   MELISSA        GREGORY                    CO     90007205397
66326884293729   ANTHONY        COLE-YOUNG                 OH     90008398842
66327671751354   NISHA          JOHNSON                    OH     90009546717
66328962191522   APRIL          MONTANEZ                   TX     90013839621
66329679191998   KATHLEEN       MCDONALD                   NC     90013636791
66332579833698   DONALD         ELLIS                      NC     90007085798
66332936491562   CHRISTINE      GOUGIS                     TX     90008959364
66333622161964   ZACHARY        YOUNG                      CA     46004286221
66334163821731   SONNY          RUPERT                     IL     90009951638
66334441455973   YUBI           CORTEZ                     CA     90013964414
66335158455975   LISA           HERNANDEZ                  CA     48090761584
66335611255993   LISA           BARNES                     CA     90000666112
66336213251347   NUTAN          SHAH                       OH     90012702132
66336814991998   KARINA         CORONA                     NC     90015108149
66337293761936   CHRISTIAN      RAGGIO                     CA     90011962937
66338522161936   FREDERICK      PEREGOY                    CA     90013205221
66339262361964   MATTHEW        LIVINGSTON                 CA     90013992623
66342186291562   ALEJANDRA      SANCHEZ                    TX     75087931862
66342343455977   DANIEL         MONTEZ                     CA     90009183434
66342765481631   AARIEL         LOWE                       MO     90005947654
66342849871964   ROSEMARIE      REDMOND                    CO     90006708498
66343774255975   BRENDA         AMBRIZ                     CA     90011377742
66344487455973   DANIEL         DIAZ                       CA     90007794874
66345481191562   JOSE           DIAZ                       TX     90007624811
66345756561936   YOLANDA        MARTINEZ                   CA     90010277565
66346482455975   SANDRA         CAMPOS                     CA     90014204824
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66346974771964   JOSE         IGNACIO                      CO     90009049747
66347197851354   ROSETTA      MCDOWELL                     OH     90005561978
66347552481675   BRIAN        MALTBIA                      MO     29053495524
66347851655973   KATHLEEN     TAUSSIG                      CA     48022688516
66349156171964   TINA         LAYGHLIN                     CO     90002921561
66351197961964   THOMAS       SANDOVAL                     CA     46048761979
66351356891592   ARTURO       AGUILAR                      TX     90013233568
66353623191522   IVAN         MARTINEZ                     TX     90005346231
66353691755977   JOSHUA       HOLMES                       CA     90001386917
66353814891998   WILLIAM      MCEACHIN                     NC     17061138148
66354622961936   IVETTE       SANCHEZ                      CA     46062246229
66356197861936   JANET        DIAZ                         CA     90013281978
66356922691592   BRISEIDA     LOPEZ                        TX     90009989226
66357447981675   TELINA       SMITH                        MO     90009134479
66358411355973   JOSHUA       VAUGHN                       CA     48008364113
66358812691592   GUILLERMO    ALVAREZ-CHAVEZ               TX     75031348126
66359312291998   VIRGINIA     GONZALEZ                     NC     17057323122
66359759155975   DAVED        SALGADO                      CA     90012017591
66362523655975   ANGELICA     RAMIREZ                      CA     48006475236
66363629291522   ZURIZAMAR    CHAVEZ                       TX     90011766292
66364348581644   SARAH        MCINTIRE                     MO     90012263485
66365379561964   LINDA        SHAW                         CA     90003423795
66365469155975   VICTORIA     LOPEZ                        CA     90013244691
66365569391562   MARK         ESCAJEDA                     TX     90013955693
66366845691592   SANDRA       PONCE                        TX     90015018456
66367268955975   TOMAS        GUTIEREZ                     CA     90011212689
66367626661936   JEANNE       JENNINY                      CA     46049676266
66368564555975   SARMIENTO    SANCHEZ                      CA     90013655645
66369449591562   NICKOLAS     QUINONEZ                     TX     90013934495
66371283591998   MARCIAL      RODRIGUEZ                    NC     90013542835
66372443955977   FERNANDO     GARCIA                       CA     90007624439
66374356271964   REYNA GARC   VALDEG                       CO     32082493562
66376913191998   JHONELLE     GUION                        NC     90005019131
66377921491998   JAVON        DANCE                        NC     90014779214
66378423281644   JOSH         MASON                        MO     90013784232
66378458991562   SANCHEZ      LUCIA                        TX     90013934589
66378677891522   GERARDO      MARTINEZ                     TX     90014696778
66378918321927   TABITHA      HAYES                        IN     90014909183
66381359291562   SANDRA       PEREZ                        TX     75087923592
66382629891592   ELIZABETH    SANCHEZ                      TX     90010406298
66382951271964   TRISHA       DALE                         CO     90009609512
66384477781644   YOLANDA      GARCIA                       MO     90001904777
66385622891522   EDGAR        MARTINEZ                     TX     90011766228
66386138261559   DEZTANEE     SUMRALL                      TN     90015561382
66391665393729   JEFFERY      BOSTWICK                     OH     90014156653
66391853491562   MAYRA        MATA                         TX     90012748534
66392585771964   JAMIE        BERTHIAUME                   CO     90007395857
66393453193729   ACACIA       MUNDY                        OH     90010054531
66395233155977   AIOTEST1     DONOTTOUCH                   CA     90015122331
66395244291998   ANTHONY      JACOBS                       NC     90014572442
66396143581631   FLORA        GONZALES                     MO     90005951435
66397254555973   MASHELLE     RHODES                       CA     90011292545
66398144761964   AYLEEN       NUNEZ                        CA     46088281447
66398292851354   LORIA        CLARK                        OH     90014712928
66399545585843   CAROLINE     GONZALEZ                     CA     90012005455
66411637555973   MARIA        ROSALES                      CA     90000436375
66412482991562   RICHARD      HART                         TX     90013934829
66415584491562   LILIA        ZAMORA                       TX     90011225844
66415945491998   MARIO        MENENDEZ                     NC     90014859454
66416457461936   JOSEPH       VICTORIAN                    CA     90010934574
66416668691522   JULIA        MONTANO                      TX     90011766686
66416968691998   STEPHEN      MOMOANYI                     NC     90004649686
66417321155975   RUDY         BELTRAN                      CA     48067333211
66417491491562   JANETH       VENEGAS                      TX     90013934914
66418926671964   AGUSTIN      PRADO-RUIZ                   CO     90010989266
66419467586426   RYAN         WALKER                       SC     90015044675
66422831151354   JONATHON     WILLIAMS                     OH     90007568311
66423359791998   NERI         LOPEZ VELAZQUEZ              NC     90013793597
66423825384392   WILLIAM      TOPPING II                   SC     90005148253
66425855151354   MARK         GOVIG                        OH     66073828551
66426531281644   SHELLY       MATHEWS                      MO     90006815312
66428265191265   LARRY        HURT                         GA     14574272651
66428429855973   JONATHAN     TORRES                       CA     90014664298
66429622863646   MIRANDA      HILL                         MO     90010546228
66429798591998   SANDRA       LOCKLEAR                     NC     90013917985
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66429943491592   ANGEL         RIOS                        TX     90014599434
66431256791592   SERGIO        MORA                        TX     75042362567
66431473291522   CRISTIAN      TOVAR                       TX     75012824732
66431681771964   MONTGOMARY    MICHAEL                     CO     90012316817
66432224763646   GLEN          KILLBREATH                  MO     27516382247
66433446391998   AKOKO         DOSSAH                      NC     90011674463
66434181591522   ANBREA        CISNEROS                    TX     75002901815
66434962191592   ALFONSO       ARRAS                       TX     75062149621
66435473993729   CHANDA        REESE                       OH     64505384739
66436271655973   MARTHA        AGINAGA                     CA     90009762716
66437586193729   RHONDA        HUBER                       OH     64579515861
66438959191522   ARACELI       HERNANDEZ                   TX     90014669591
66439522491562   LIVYER        HOLGUINVARELA               TX     90003285224
66439828951354   STEFANIE      FELTS                       OH     66099458289
66441673681644   KIM           MARTIN                      MO     29013796736
66441828951354   STEFANIE      FELTS                       OH     66099458289
66442471591592   JAVIER        CERDA PADILLA               TX     75077924715
66445115655975   JILLIAN       SMITH                       CA     48081091156
66445788663646   KIMBERLY      MENNEMEIER                  MO     90010547886
66446872691592   MICHAEL       RAMIREZ                     TX     90011088726
66447353951354   STEPHANIE     MOORE                       OH     66029453539
66447717171964   MARIA         MORALES                     CO     32095167171
66447991455977   JOSE LUIS     VILLALOBOS                  CA     90012439914
66448318491562   GLORIA        BARRAZA                     TX     75097183184
66448644855977   PHILLIP       YORK                        CA     49026506448
66449319193729   STEPHANIE     RUSSELL                     OH     90002803191
66452178891998   ASHLEY        HART                        NC     90013411788
66453291451354   JUAN          ORTIZ                       OH     90009582914
66453582155973   CHRISTOPHER   MORGAN                      CA     90012915821
66453881691998   LORENA        NOYOLA                      NC     90014738816
66455114961995   JOSH          ALEGR                       CA     90013371149
66455735581644   CALE          MAHAN                       MO     90007827355
66458171381644   JOYCIE        BARNETT                     MO     90011251713
66458324661964   JULIETA       GOMEZ                       CA     90010423246
66458651261964   ROBERTO       CASTERENCE                  CA     90012156512
66459148391562   GRACIELA      RAMOS                       TX     90015161483
66461184755973   LIZA          WHEELER                     CA     90007401847
66461655191562   SONIA         MELENDEZ                    TX     90013116551
66461967491592   VIANNEY       ZATARAIN                    TX     90002489674
66462381591562   LORENA        HERNANDEZ                   TX     90004493815
66463112255975   MARICELA      CHAVEZ                      CA     90011991122
66463279651354   COURTNEY      JACKSON                     OH     66067592796
66464199171964   COUNTRY       CAT                         CO     32016641991
66465563991592   LAURA         TORRES                      TX     75073215639
66467645293729   SARAH         BROWN                       OH     90014876452
66467646155973   SYDNEY        OWENS                       CA     48007726461
66467813293729   TENISE        ROSE                        OH     90007998132
66469193191998   BRANDY        ETCHENSON                   NC     90013411931
66471379455973   STEFFANY      RENEE                       CA     90015063794
66472388261936   RICARDO       GOMEZ                       CA     46062243882
66472546881644   CRYSTAL       CHAPPLE                     MO     90013575468
66473138991998   SHIQUITA      TAYLOR                      NC     90004871389
66473637391522   MARIA         CARDOZA                     TX     75072896373
66475394981631   CRYTAL        COLLIER                     MO     90000963949
66476133991562   SANDRA        RAMIREZ                     TX     75082831339
66477523193729   PAMELA        MCCLELLAN                   OH     64580895231
66478637855973   JORGE         MORA                        CA     90005156378
66483177791998   MICHAEL       LEACH                       NC     90011681777
66483364855973   NATHAN        CORRALES                    CA     90003683648
66485518991562   ALICIA        ZAVAL                       TX     90013935189
66485712361936   DANIEL        ROJAS                       CA     90007957123
66486844491998   RIEGINALE     BARNES                      NC     90009568444
66487188581644   ARIEL         RANEY                       MO     90011251885
66488219393729   WILLIAM       DAVIDSON                    OH     64593812193
66491277891592   SANDRA        TREJO                       TX     90011962778
66492228791592   JORGE         PEREZ                       TX     90012122287
66492758181644   TERRY         RILEY                       MO     90008657581
66493347771653   NEVAEH        SMITH                       NY     90015443477
66496865171964   JOHN          JACKSON                     CO     90014788651
66497798591998   SANDRA        LOCKLEAR                    NC     90013917985
66498269561964   CHRISTIAN     HERRERA                     CA     46039092695
66511713751354   ANGELO        DEVINE                      OH     90010167137
66511794855973   JEROME        MEDLEY                      CA     48016197948
66513138693729   COURTNEY      BROWN                       OH     90014601386
66513293991998   OHINI         SODJI                       NC     90013412939
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66513514591592   CLAUDIA      PACHECO                      TX     75009915145
66513616993729   COURTNEY     ANSLEY                       OH     90013086169
66513844755977   JEANNIE      LOUISE                       CA     90013508447
66514848655975   SALVADOR     GONZALEZ                     CA     90005308486
66515365961936   BRENDA       HERNANDEZ                    CA     46090893659
66516355563646   VALERIE      SHELLEY                      MO     90012303555
66526393391592   ALEJANDRA    PULE                         TX     90014353933
66527169991522   DELFINO      CORDOBA                      TX     90011211699
66527365191562   ELIZABETH    MENDOZA                      TX     75047583651
66529225491535   PRISCILLA    HERNANDEZ                    TX     75043332254
66531282361936   DEALFRED     PERKINS                      CA     90012612823
66532196455973   CINDY        WHITLOCK                     CA     48047221964
66532915891562   NORMA        ZUNIGA                       TX     90014999158
66533752155975   CUCA AUTO    REPAIR                       CA     90005817521
66534664593729   ALEX         SCHROLL                      OH     90013086645
66534682261964   ODETTE       MOYAL                        CA     46088636822
66535563491562   LUIS         ROSALES                      TX     90013935634
66535769471964   JESSIE       JONES                        CO     90002297694
66535886491562   REGINA       GONZALEZ                     TX     90011518864
66536141661964   LUCY         GARCIA                       CA     46046101416
66536163651354   FRANCISCO    HERNANDEZ                    OH     90009491636
66536271461936   MARIA        AGUINIGA                     CA     46000822714
66538291581644   LEAEISA      GOODWIN                      MO     90011252915
66538776855973   ASHLEY       SMITH                        CA     48045277768
66538778591562   JUAN         CAMPOS                       TX     90013257785
66539924863646   ASHLEY       NELSON                       MO     27582319248
66539991451354   RACHEL       MATHIS                       OH     90014569914
66542515691562   BILL         NAVARRETTE                   TX     75021285156
66543589991592   DIRK         DIGLER                       TX     90014395899
66543732261964   THOMAS       WARSAW                       CA     90014477322
66544284191522   FERNANDEZ    LINA                         TX     75012522841
66545875891562   JERRY        JARVIS                       TX     75096438758
66545956461936   LUCIA        PERRIEDO                     CA     90009099564
66546385391998   JAMELA       ATWATER                      NC     90013413853
66546475263646   PAYGO        IVR ACTIVATION               MO     90010604752
66547857155973   DIANA        MARTINEZ                     CA     48079958571
66548347471964   STEVEN       PADDACK                      CO     90013333474
66548655361936   ANGELICA     HERNANDEZ                    CA     90011046553
66548911663646   TRACY        COLLINS                      MO     90006339116
66548976761964   JENNIFER     SAURER                       CA     46054809767
66549752155975   CUCA AUTO    REPAIR                       CA     90005817521
66549878147992   DARRELL      GORDEY                       AR     90005338781
66551322981644   CHARLES      SCOTT                        MO     90015153229
66552988771964   ANTHONY      TRUYILLO                     CO     32054039887
66553514961964   PABLO        RIOS-GRACIANO                CA     90011085149
66553939361936   TIAN         MCCUBBIN                     CA     90008009393
66554582655977   SANTOS       JARAMILLO                    CA     90012755826
66554863963646   OSIAS        TOTO                         MO     90001728639
66555366255977   NOE          RODRIGUEZ                    CA     90014373662
66555545755973   TIMOTHY      TAYLOR                       CA     90014835457
66556476871964   AUTUMN       BIGBACK                      CO     90013474768
66556882863646   ZACK         GRANT                        MO     27516948828
66558265555977   PETE         TUMOLINE                     CA     90011312655
66558728191562   GILBERTO     RAMIREZ                      TX     75076707281
66559267861936   MARK         VILLAVICENCIO                CA     46044522678
66561362955975   VIVIANA      SOLTERO                      CA     90000873629
66562529951354   CHRIS        HARRIS                       OH     90013825299
66565475541259   KATE         SCALZITTI                    PA     90009934755
66565722755977   INES         PORRAS                       CA     90002307227
66565884681644   UBIER        SOTO                         MO     90013988846
66567427381675   MAHOGANY     BOSTIC                       MO     29036844273
66567487291552   CESAR        ARMENDARIZ                   TX     75007154872
66572548755975   ANTHONY      BRAVO                        CA     90012405487
66572689155973   T            BELLA-MENDOZA                CA     48000216891
66573491691592   JOSE         RODRIGUEZ                    TX     90013984916
66573535271964   BARBARA      PEPPER                       CO     32020685352
66573571855975   PATRICIA     MANZO                        CA     90012405718
66573996593762   KELLEY       HUGUELY                      OH     64509629965
66574918693729   AMITY        CRIST                        OH     64582109186
66574954791522   VALERIE      FERNANDEZ                    TX     90014909547
66575618181631   HEIDI        LECK                         MO     29016516181
66575778551354   OLGA         GUERRERO                     OH     66069777785
66575898991562   GRACE        ARROYO                       TX     90009878989
66576583391562   ROSA ISELA   ROJAS                        TX     90013935833
66576784293729   JOI          WHITING                      OH     64517587842
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66578538651331   CELINE       BRAY                         OH     90003815386
66579935981644   BRANDAN      BENNETT                      MO     29030619359
66581152155973   NATALIE      MENDIVIL                     CA     90012071521
66582177291562   SERGIO       BUSTAMANTE                   TX     90006561772
66582339991562   GONZALO      MONREAL                      NM     90015523399
66584168561964   JOANNA       RODRIGUEZ                    CA     90013591685
66584694761936   HEIDI        PASTORE                      CA     46043526947
66585942691522   ROBERTO      RODRIGUEZ                    TX     90011769426
66586881151347   MICHAEL      MCCUTCHEON                   OH     90001538811
66587452161936   EVELYN       PADILLA                      CA     90011614521
66587774991562   VALENTIN     GRANA                        TX     90007967749
66588474155975   INDIRA       TRONCOSO                     CA     90013194741
66589248991998   OBINNA       FRANK                        NC     90005832489
66589642955973   JENNY        RAMIREZ                      CA     90010956429
66589788371964   JONATHAN     SANTANA                      CO     90007557883
66589878571964   JONATHAN     SANTANA                      CO     90014278785
66591655993729   TIA          LORITTS                      OH     90014876559
66591684661936   LUIS         FLORES                       CA     90012296846
66592141661964   RANDOLPH     PACHECO                      CA     90013011416
66592794971964   ANA          GARCIA                       CO     90008797949
66592878147992   DARRELL      GORDEY                       AR     90005338781
66593319191998   SHANAN       COX                          NC     90011693191
66593588591562   CRYATAL      ALVAREZ                      TX     90013935885
66594455981631   SHARON       BARR                         MO     29069424559
66595591491562   JESSICA      RODRIGUEZ                    TX     90013935914
66596138691522   JOSE         CERVANTES                    TX     90014671386
66596657955973   YESENIA      YBARRA                       CA     48006956579
66597855891522   MIRIAN       LUNA                         TX     90014688558
66598725655977   ESTELLA      ZAVALA F                     CA     90011437256
66598727991863   LYNDELL      POWELL                       OK     90010407279
66599193991522   PRICILLA     PEREZ                        TX     90014701939
66599329191998   YANET        LAZO                         NC     90011543291
66599524655975   BILLIE       SOTO                         CA     90014475246
66611366751354   DANIELLE E   FELBLINGER                   OH     90014523667
66611524161964   VERICA       SORIANO                      CA     90003485241
66614768351354   JAMEE        CALLAWAY                     OH     66090227683
66614889433656   LORI         JOHNSON                      NC     90013858894
66615679255977   MARGARITA    LEAL                         CA     49064136792
66617616555975   OMAR         ESTRELLA                     CA     90012406165
66618143471964   NIDYAWATI    SUSANTO                      CO     90001801434
66621943881644   JOSE         MARTINEZ                     MO     90008579438
66625148255973   ROBERT       FRENCH                       CA     90010531482
66627696791562   GUADALUPE    GONZALEZ                     TX     75039536967
66628744391592   FRANCISCO    VALENZUELA                   TX     75084477443
66631457691592   ANAHI        CARMONA                      TX     90007384576
66631868291522   BLANCA       GONZALEZ                     TX     90014688682
66632478893729   GABRIELA     MIRAND                       OH     90012934788
66632931581644   CHRISTOPHE   LOBATO                       MO     29002619315
66633866191522   JOSE         DE LA TORRE                  TX     90004138661
66634173791562   ALMA         FLOREZ                       TX     90011831737
66634469361936   TRAVIS       LONG                         CA     90012654693
66634537871964   PABLO        AYALA                        CO     90010385378
66635773655973   JAMES        GUERRERO                     CA     90004607736
66637832755975   NANCY        CASTANEDA                    CA     90013448327
66637852463646   MARK         LARUE                        MO     27590908524
66638846561964   FELIPE       MERAZ                        CA     46045378465
66639357155973   TAMMIE       SNOW                         CA     48046623571
66641652991998   JUAN         SANTIAGO                     NC     90011696529
66642249691998   HEATHERY     DUNN                         NC     90013122496
66642576561964   MAYTEE       GOMEZ                        CA     90013675765
66643366751354   DANIELLE E   FELBLINGER                   OH     90014523667
66645623655973   VICTORIA     MARTINEZ                     CA     90008126236
66645868881631   GRIA         ELLISON                      MO     29035198688
66648263555973   YESENIA      HERRERA                      CA     90011922635
66649336591998   DONALD       SNELL                        NC     90013123365
66649758891592   ANA          FRANCO                       TX     90007307588
66652113891522   ROBER        GARCIA                       TX     90004821138
66652599961936   HEATHER      DURAN                        CA     90011035999
66652911893729   DARIA        CARTER                       OH     90001089118
66654223455975   ANNABEL      VALDEZ                       CA     90014742234
66654721171964   JENNIFER     MCINTYRE                     CO     32048287211
66654975381631   ALEXANDRIA   VARGAS                       MO     29047229753
66655156742587   MAMIE        TOURAY                       WA     90011151567
66656377671964   HOWARD       SMITH                        CO     90011133776
66656542891562   JAQUELINE    RIVAS                        TX     90011105428
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66658247691592   GIA               MICELI                  TX     90008382476
66658284161964   ANA               ISABEL BARRIOS          CA     46014872841
66659352391592   CLAUDIA           ANGUIANO                TX     90012723523
66659352855975   TONY              RODRIGUEZ               CA     90013813528
66661673681644   KIM               MARTIN                  MO     29013796736
66661965591562   LORENZO           GOMEZ                   TX     75053659655
66662848371964   JENNIFER          RABELL                  CO     90014498483
66663393391592   CRYSTAL MARIE     GOMEZ                   TX     90014043933
66663788391998   FRANCISCO         JUAREZ                  NC     90015097883
66666431891562   NICOLE            ARMENDARIZ              TX     90012434318
66666467755991   LEEROY            HOLLEY                  CA     49024504677
66667174391998   MARIA             AGUILAR                 NC     90010821743
66667252755977   CLIFFORD          MCILLWARN               CA     90012582527
66668922591998   WENDY             ALEMAN                  NC     17064009225
66669376855977   JOE               GOMEZ                   CA     90011333768
66671363591562   ISELA             LEON                    TX     75077313635
66671842471964   DANTE             BUTCHER                 CO     90014518424
66673424591522   NOE               RODRIGUEZ               TX     90011774245
66676883691562   VICTOR            PEREZ                   TX     75065528836
66678175791998   JAVIER            ROBLERO                 NC     90008651757
66678295691592   GLORIA            SANDOVAL                TX     90011402956
66678457731422   DENISE            FLYNN                   MO     90004104577
66678774254173   ALBERT            JAYMA                   OR     90002477742
66679757255983   JESSICA           CORONA                  CA     90013017572
66681313551354   MIGUEL            ALCOIN                  OH     90014883135
66682639651354   JILL              STIDHAM                 OH     66000276396
66682787981644   EH                MOO                     MO     90014777879
66683156691998   ANGELA            IMENEZ                  NC     90013131566
66685381261961   ALEJANDRA         CAMPBELL                CA     46076903812
66685645281644   GUADALUPE         NAJERA                  MO     90007836452
66686342461936   ESTHER            PENA                    CA     90013183424
66687691151374   MICHELLE          R.SESTER                OH     66027946911
66687833355973   REYNA             RENDON                  CA     48086458333
66688334793729   TAMMI             EVENS                   OH     90013933347
66688544255975   ANDREINA          SALINAS                 CA     90012185442
66688695451354   ROBERT            GILREATH                OH     90014756954
66689217451354   RITA              STAPLETON               OH     90014842174
66689734791562   JOE               DE LA PAZ               TX     75020737347
66691519371964   MOSES             VARGAS                  CO     90000495193
66692425377584   REBECCA           HARVEY                  NV     43088094253
66693438691998   DAVID             HENCE                   NC     90015174386
66693467655975   ELIZABETH         VILLA                   CA     90013244676
66693565691998   SEBRELLE          JENKINS                 NC     90013575656
66694515871964   MICHAELA          GRHAM                   CO     90012515158
66694878861936   DAVID             RODRIGUEZ               CA     90005568788
66694942291998   BRITTAINEY        DUNN                    NC     90011149422
66695511991562   SILVIA            GONZALEZ                TX     75095765119
66697381291522   SALAZAR ARNULFO   PARRA                   TX     90011803812
66698911755973   MARINA            SOUSA                   CA     90009809117
66699843691998   ITALY             LANDRY                  NC     90007238436
66699936181644   SHANTEL           BRITTON                 MO     29042589361
66712396993729   NATHAN            CANNON                  OH     90013933969
66714636384392   TIERRA            TOWNSEND                SC     90009996363
66714774171964   MICHAEL           WADSWORTH               CO     90013047741
66715487261995   FRANCOIS          KOVAKOU                 CA     46011004872
66715846671964   ALEXIS            JOHNSON                 CO     90013008466
66716215255975   OVIEL             LUNA                    CA     90011242152
66716614691562   YADIRA            AMBRIZ                  TX     90013936146
66716752455977   HON               SOLO                    CA     90012777524
66716942861964   JORGE             SECUNDIN                CA     90013629428
66717411691592   GUADALUPE         ARMINIO                 TX     90012064116
66717513791522   THOMAS            WICKENBERG              TX     90011775137
66718513791522   THOMAS            WICKENBERG              TX     90011775137
66718536871964   CARLOS            ZEPEDA                  CO     32051585368
66718817891562   ALMA              ALVARADO                TX     90013228178
66718983471964   DERRIN            SIMMONS                 CO     90014589834
66719591791592   ERICA             JAQUEZ                  TX     90014675917
66722341855975   ROSA              ALCANTAR                CA     48067613418
66722463281644   PETER             LINDSTROM               MO     90014884632
66723756491998   RUDY              HALE                    NC     90011707564
66724584463646   STACI             JOKELA                  MO     90005485844
66725231891998   VIRGINIA          AGUILAR DOUTHAT         NC     90013132318
66725365371964   SANTOS            ARELLANO                CO     32076163653
66726483661964   GUADALUPE         MERRELL                 CA     90012174836
66726584463646   STACI             JOKELA                  MO     90005485844
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66729458681675   WANDA         GIVEN                       MO     29009734586
66734185361936   JORGE         VAZQUEZ                     CA     90000321853
66735992455975   LIZ           GOMEZ                       CA     90008739924
66737297997122   SELENE        ZACARIAS                    OR     90012342979
66737384955977   EMELITO       SANTIAGO                    CA     49011653849
66737531484392   TONY          REEVE                       SC     19018945314
66739468191562   ANA           GUZMAN                      TX     75087874681
66744119855975   RAUL          RAMIREZ                     CA     90006251198
66746139557549   ANDREW        BRAINARD                    NM     90013031395
66746434151354   TROY          POWELL                      OH     90010794341
66748347161964   CLEMENTINE    MUNYAGA                     CA     90012033471
66748613955973   GABRIEL       GARCIA                      CA     90014156139
66752426461936   TERA          MONTELEON                   CA     90014454264
66752663161996   KARLA         RAMIREZ                     CA     90011226631
66752722791522   MARISELA      RIVAS                       TX     90014697227
66753449491522   XAVIER        CARRANZA                    TX     75061374494
66753775463646   PAUL          POWERS                      MO     27562867754
66754211855973   MICHAEL       OYELAKIN                    CA     90003782118
66754773371964   MARY          PRUETZ                      CO     32060017733
66755515391592   JOSE          MONTOYA                     TX     90011015153
66756139261964   ENRIQUE       ESPINOZA                    CA     90008551392
66756776891522   FERNANDO      HUITRON                     TX     90001727768
66757156663669   BRENT         LABONDE                     MO     90010371566
66757489691998   SHAWANDA      VALDIVA                     NC     90011714896
66758328561964   NICHOLAS      NORTH                       CA     90015153285
66759249691522   NORA          SIERRA                      TX     90012762496
66759523371964   ATHENA        MEYERS                      CO     90013235233
66759578271964   TAYLOR        SIMPSON                     CO     90015585782
66763724191522   ISRAEL        HARDEN                      TX     90014697241
66766988285944   CHRISTOPHER   MUGHES                      KY     90007609882
66767584791998   LACIE         WOOTEN                      NC     90013415847
66768235751354   NANCY         METCALF                     OH     90001532357
66768583481631   MICHEAL       HURLEY                      MO     90005985834
66771426391522   JESENIA       GARFIO                      TX     90000964263
66772234661936   MARTHA        MACIAS                      CA     90012762346
66772974855975   MARIA         HERRERA                     CA     90012899748
66778272161964   ARMANDO       MORALES                     CA     90012452721
66781289381644   KIESHA        JEFFRY                      MO     90012592893
66781677661936   SEAN          MURPHY                      CA     90013016776
66782645293729   TYRONE        OODY                        OH     90013096452
66782685161936   ISOJXELA      AICLEAV                     CA     90015206851
66783547261964   MOLINA        IRMA                        CA     90012555472
66783639355977   SCOTT         CLARK                       CA     90013226393
66784626291592   ASHLEY        RESENDEZ                    TX     90012736262
66786663355975   ROBERT        URBANEK                     CA     90013076633
66786983391522   SUSANA        ARANDA                      TX     75025789833
66787725891522   BRENDA        SOLIS                       TX     75085637258
66791186191562   GUS           RAMIREZ                     TX     90010981861
66791657891522   CRUZ          ACEVEDO                     TX     90011776578
66792585891592   ISMAEL        MARTINEZ                    TX     90012605858
66792654161964   FRANK K.      NADERMANN                   CA     90005236541
66794555691562   ESTELA        MURILLO                     TX     90010575556
66794574291592   MARLINA       CARRILLO                    TX     90003295742
66795112885677   MARLO         RUSSELL                     NJ     90005481128
66796642451354   CIAIRAH       MARSHALL                    OH     90011066424
66797785555973   HONORATO      LOPEZ                       CA     48032647855
66797858655977   JOHN          ESPINOZA                    CA     49038298586
66797877991562   JOSE          CASTEDA-ELIZALDE            NM     90012288779
66798766461964   WILLIAM       HAYNES                      CA     90010667664
66811643791562   ALEXSIS       YUDICO                      TX     90013936437
66815421455973   JOE           RUIZ                        CA     90014404214
66815627391998   PAUL          TOLE                        NC     90014976273
66815635891562   SAUL          RAMIREZ                     TX     75098426358
66816264571964   CLARISA       MARTINEZ                    CO     90014522645
66816664451354   EDITH         WASHINGTON                  OH     66074136644
66817718591522   IRMA          ESPINOZA                    TX     90015067185
66818347591998   CATALINA      MONTOYA                     NC     17077203475
66819674281644   CAITLYN       WISECUP                     MO     90001556742
66819746691562   MELISSA       CONTRERAS                   TX     75000207466
66819781291562   ROSIO         YANEZ                       TX     90009147812
66821448191562   AYDE          REYES                       TX     90012984481
66821479691522   MARIE         LOPEZ                       TX     90013214796
66822292651354   CHERISH       MARCUM                      OH     90010932926
66822298657131   EMILY         JACKSON                     VA     90005292986
66822697351354   CHERISH       MARCUM                      OH     90012586973
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66822771481644   DANIEL       KEIL                         MO     90010287714
66829191991998   ANASTASIA    RICHARDSON                   NC     90015291919
66829427361936   JOSE         PEREZ                        CA     46090804273
66829537531448   MATHEW       LINDSAY                      MO     90011515375
66832415761964   LUISANA      REYES                        CA     90004244157
66835997361964   ROSA         PAVON                        CA     90009299973
66837476261936   BLAS         VAQUEZ                       CA     90005174762
66839168551354   BETHANI      NOLAN                        OH     66020641685
66841568451354   CHRISTY      MATHIS                       OH     66077635684
66841833955975   MARIA        LUNA                         CA     90014308339
66843537951354   JOSE         TREJO QUINTANA               OH     90004925379
66844984155975   OSCAR        CARRILLO                     CA     90000979841
66845238161964   JOSE         CARLOS                       CA     90015032381
66846737291998   KYONTA       ANSBURY                      NC     90015337372
66846928991522   BRENDA       ESCAJEDA                     TX     75079349289
66847981291937   FRANCISCA    DURAZNO                      NC     90003119812
66848499981644   TRAVIS       REILEY                       MO     90014864999
66849268455977   NANCY        LOPES                        CA     90000292684
66851444881644   CHAUNTAE     HUGHES                       MO     29034554448
66852112461964   SHARONDA     TRAN                         CA     90008271124
66852645691522   FENIX        CALDERON                     TX     75073636456
66855478861964   LISA A       HOSKINS                      CA     46039114788
66856345481631   TIFFANY      TAYLOR                       MO     29016613454
66856546791592   AGUSTIN      OLVERA                       TX     90009055467
66856899455973   JON          RAINS                        CA     48028398994
66857295691522   GLORIA       SANDOVAL                     TX     90011402956
66857654191562   VANESSA      ALVARADO                     TX     90013936541
66857951791998   DIANA        CORBETT                      NC     90013159517
66858754355973   ADOLFO       MENERA                       CA     48093607543
66858812651354   MARY         TURNER                       OH     66005738126
66859165161964   JULIO        LINARES                      CA     90011201651
66859419261936   REYES        MARTINEZ                     CA     46073134192
66862654391562   LUIS         MONTERO                      TX     90013936543
66862749155975   JOSHUA       ESURRECCION                  CA     90014147491
66863788861988   RODRIGGUEZ   FRANCICCO                    CA     90003317888
66864419161964   STELLA       DELGADILLO                   CA     90007514191
66864666155975   JAMES        MATHEWS                      CA     48065076661
66865344761936   ROCIO        CHAVEZ                       CA     46006643447
66865975751354   REBEKAH      HORNSBY                      OH     90011169757
66867162391592   MARIA        HERRERA                      TX     90012761623
66867912261936   FRANKIE      KELCHNER                     CA     90011649122
66868461291592   CAROLINA     GONZALES                     TX     90012304612
66869658291562   LINDA        AGUIRRE                      TX     90013936582
66869841755975   TERESA       FACIO                        CA     90002118417
66871186255975   SALVADOR     ROCHA                        CA     90008511862
66872459891592   VICTOR       ALMAGUER                     TX     90012754598
66872482857549   DESTINIE     FLORES                       NM     90012604828
66872521391562   ALICIA       GARCIA                       TX     90014015213
66873594971964   ADELICIA     KARAFFA                      CO     32086195949
66873618991522   ANGEL        DIAZ                         TX     75012196189
66873787191562   LISA MARIE   BROWN                        TX     90013937871
66873827791592   MARIBEL      ALBA                         TX     90000948277
66874456161964   LUIS         BARRAGAN                     CA     90003114561
66875455181644   PEDRO        ALFONSO                      MO     29047544551
66875546191592   ARTURO       AZCARATE                     TX     90006265461
66876656591562   MATEO        JIMENEZ                      TX     90013936565
66877656591562   MATEO        JIMENEZ                      TX     90013936565
66877698891522   SALVADOR     MARTINEZ                     TX     90002566988
66877821371964   MATTHEW      SHAVER                       CO     90014618213
66879458191592   RODOLFO      MUNIZ                        TX     90012454581
66879821371964   MATTHEW      SHAVER                       CO     90014618213
66881179191522   ELISEO       VELARDE                      TX     90012781791
66881353661964   ROSA         DURAN                        CA     90015143536
66881529355977   JAMES        HOOVER                       CA     49088985293
66883352761936   GERARDO      GASPAR                       CA     46068873527
66884457455975   OMAR         AESTRELLA                    CA     90015264574
66886572491562   ALFRED       GALLARDO                     TX     90013365724
66887649271964   TARA         BUDESHEFSKY                  CO     32040206492
66887662991562   CLAUDIA      ROBLES                       NM     90013936629
66888432791998   JAMES        DALLAIRD                     NC     90015004327
66892345551354   ARMONDO      THOMAS                       OH     90015093455
66892784391562   ARACELI      CARLOS                       TX     90011977843
66893181461936   NOE          MORALES                      CA     46010961814
66893233761964   MARISSA      MENDOZA                      CA     90012932337
66893647155977   SHAWNA       FICKLE                       CA     49082536471
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66894259551354   TAMMY          ISOME                      OH     90011642595
66894262681678   SHERITA        MLOINZEY                   MO     90011662626
66895269455975   RUDY           GARCIA                     CA     90014912694
66896144455977   GLORIA         SAYLES                     CA     90010921444
66896899591592   NORMA          GARDEA                     TX     75009188995
66897329891592   TIMOTHY        MALONE                     TX     90013603298
66897557181644   APRIL          MERCER                     MO     90010975571
66897891155975   STACY          CHASSAR                    CA     90012458911
66898148591998   DONNA LITTLE   LITTLE                     NC     90006611485
66911823871964   JASMIN         MCCOY                      CO     90014088238
66912121941291   WILLIAM        ZOLLNER                    PA     51015621219
66912571355973   BERNARDINO     VILLAREAL                  CA     90009635713
66912939691562   NICOLE         BENCOMO                    TX     75028659396
66913593591522   ANGEL          CABRRERA                   TX     75030355935
66914414393729   CHRISTY        SMITH                      OH     90013934143
66914764181644   ROBERT         KING                       MO     90003717641
66915185261936   MARCELLA       PHILEMON                   CA     46078961852
66915588255977   DOMINIQUE      NOVELLA                    CA     90013975882
66916166791998   SHIRLEY ANN    LUZZIE                     NC     90006481667
66917255655977   RIYADH         MUTHANNA                   CA     49094202556
66917488491592   JOSE           ZEPEDA                     TX     75045484884
66917524671964   ROLANDO        LOPEZ                      CO     90012455246
66917612491562   LEYLA          ZEIDAN                     TX     75002576124
66918178791998   RASHONDIA      YOUNG                      NC     90013421787
66918254591592   SALVADOR       VELASCO                    TX     90010392545
66919874291522   MELISSA        SOLIZ                      TX     75016648742
66921535661936   SHERRELL       KINSLER                    CA     90012855356
66923153193729   DESTINY        HUFFMAN                    OH     90014231531
66923277351354   TERRY          WHITED                     OH     90013212773
66923639191522   KIMBERLY       GONZALEZ                   TX     90012176391
66923863391525   CHRISTIAN      CARRASCO                   TX     90009738633
66924183261936   JESSICA        CROWELL                    CA     90010551832
66926663161964   RICHARD        DEGRAFFENREID              CA     46073226631
66927121591998   COREY          BYNUM                      NC     90013451215
66927392761936   PEDRO          GONZALEZ                   CA     90000323927
66927462761964   ROSLEEN        LEON                       CA     90010744627
66929489693729   DANETTE        ZURFACE                    OH     64504814896
66932167281675   HAROLD         TRABUE                     MO     90006531672
66932514751354   ADAM           GIBBS                      OH     90014515147
66933147561964   PURISIMA       PALADA                     CA     46088801475
66933417155973   MICHELLE D     TERRY                      CA     90007144171
66933554393777   AMANDA         HOWERTON                   OH     90011295543
66934876281631   JAMES          BROWN                      MO     90005368762
66935857261964   NORLAN         CAMPOS                     CA     46025758572
66936433151354   JANET          PUCKETT                    OH     66068074331
66936491191592   MARIBEL        SIERRA                     TX     75006234911
66937162991522   ROSA           LOPEZ                      TX     90006651629
66938239891522   MARIA          ARRELLANO                  TX     90000192398
66938688491562   CHAVEZ         REBECA                     TX     90013936884
66939983491592   RICARDO        CASAS                      TX     75014729834
66941439961936   DANIEL         VILLEDA                    CA     90001414399
66941588981644   ELIZABETH      MENDEZ BENAVIDES           MO     90014175889
66942233381644   ISIDIO         GARCIA                     MO     90012242333
66942877955975   JOSE           REYES                      CA     90000358779
66944469693729   SHERYL         MANNING                    OH     64575964696
66944523171964   JACKIE         PITONES                    CO     90012885231
66944581293729   JANINE         THOMAS                     OH     90014615812
66946325751354   DANIEL         REEVES                     OH     66012383257
66946359555973   DAVID          RUTLEDGE                   CA     48014263595
66946553733681   ANTWAN         STEELE                     NC     90012465537
66947879391998   SIERRA         WILLIAMS                   NC     90013928793
66952688591592   PATRICIA       RIVERIA                    TX     90002056885
66953529391592   BOBBY          PADILLA                    TX     90012615293
66953694155977   FRANK          SIERRAS                    CA     49032576941
66954378791522   CARLOS         BALLI                      TX     90003123787
66954436791592   JOVITA         ARMENDARIZ                 TX     75047884367
66956572581661   TERESA         HALE                       MO     29004085725
66957994871964   MONICA         DOUGLAS                    CO     32043759948
66958252885695   ABISAI         HERNANDEZ                  NJ     90007962528
66958752155973   ROMIE          CARRASCO                   CA     90014847521
66959637355975   CONSTANZA      TOPETE                     CA     90013016373
66961367633698   JOSEPH         ASHE                       NC     12006503676
66961533361964   GUADALUPE      GIBSON                     CA     90006325333
66963851361964   RICARDO        DE LEON                    CA     46058778513
66966917791522   LESLYE         GARCIA                     TX     90014699177
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66967446461936   EULALIA      PULIDO                       CA     46054164464
66969513591562   JAIME        CISNEROS                     TX     90013935135
66971366251354   STEPHANIE    CLARK                        OH     66022173662
66971462891592   DEANNA       MAXWELL                      TX     75031584628
66973827951354   KASSANDRA    NEDVED                       OH     90010338279
66974749551354   SHAWN        UBREY                        OH     66039487495
66976788255975   MARISELA     SANCHEZ                      CA     48052477882
66976971955973   RACHEL       BINNING                      CA     48044669719
66977274993729   TINA         EBBING                       OH     90011302749
66977482691998   SAM          GARDNER                      NC     90015214826
66977785861936   JUSTIN       DEAN                         CA     46092607858
66977865991562   JOSE         SOTO                         TX     90014368659
66977966381644   RACHELLE     BYRD                         MO     29067639663
66978833355973   REYNA        RENDON                       CA     48086458333
66979237391535   DIAZ         NORMA                        TX     75094292373
66981295655973   MONICA       HOUSER                       CA     90011352956
66981537891592   JANI         MEDINA                       TX     75054765378
66981831291998   MAYRA        RAMOS                        NC     90006278312
66982288871964   MICHELLE     LAUDONE                      CO     90014602888
66983162293729   JESSICA      HALL                         OH     90009261622
66983244891998   GRAHAM       SMITH                        NC     90011862448
66983332931256   BRENDA       DAMIAN                       IA     20535473329
66984543893753   LAWRENCE     LITTLE                       OH     90000965438
66985513591522   CYNTHIA      ESPARZA                      TX     90001835135
66985674171964   TANIA        VALDES                       CO     32065396741
66987573393729   EBONI        TURNER                       OH     90015045733
66988297593729   BRANDON      BRZOZIWSKI                   OH     90014602975
66989249155977   BEN          LUCERO                       CA     90014012491
66989435991592   JORGE        DURAN                        TX     75086064359
66991467255977   WILSON       ZUNIGA                       CA     49059924672
66992543584392   STACIA       MURRAY                       SC     19014215435
66992997155941   AIMEE        LAFRENAYE                    CA     90004929971
66993259961964   GRACIELA     GUERRERO                     CA     90008582599
66993524491998   JANSY        ABREGO                       NC     90014695244
66994726771964   TEGAN        BREHM                        CO     90013097267
66995472991562   JUAN         RUIZ                         TX     75038874729
66997821355975   ALEXIS       ALEXANDER                    CA     90013178213
66998161841271   STEPHANIE    WITTLER                      PA     90013731618
67111326151354   WAYNETH      PHELPS                       OH     66094413261
67112257255977   LISA         CASTILLO                     CA     49072702572
67113473661964   ALEJANDRO    JIMENEZ                      CA     90014024736
67114111321633   LATIA        DOWD                         OH     90014241113
67114981671921   TABITHA      DEKREY                       CO     32066729816
67116737391522   URIEL        OROZCO                       TX     75046177373
67117245791562   LETTY        SANDOVAL                     TX     90013332457
67117586351354   TRACY        MCFARLAND                    OH     90011865863
67119288651354   KEISHLA      ABREU                        OH     90009242886
67119976785689   FREDDY       LORENZO                      NJ     90011919767
67121785555973   HONORATO     LOPEZ                        CA     48032647855
67123632961964   ALEXANDER    REYES                        CA     90010916329
67124763455977   ELSA         MARTINEZ                     CA     49058797634
67125423371921   MARA         O'SULLIVAN                   CO     90013334233
67126416691572   ELIZABETH    GONZALEZ                     TX     90008624166
67126875281675   AYLA         LOUISE                       MO     90003718752
67126895984392   LUCILLE      VEGA                         SC     90011408959
67126999555973   ANNETTE      ATTILANO                     CA     90014769995
67128189971921   SOFIA        APODACA                      CO     90014531899
67128959191522   MARLON       FRIAS                        NM     90014699591
67129195684392   PRISCILLA    DUGGINS                      SC     90013621956
67129372671921   JENNIFER     ANSELMO                      CO     90012243726
67131867191534   JORGE        SANCHEZ                      TX     75046928671
67133138955973   TEVITA       TONGA                        CA     48050871389
67133256261964   DANIEL       IBARRA                       CA     90013172562
67133458755969   LAURA        MURILLO                      CA     90014704587
67134778631455   LATARA       FRANKS                       MO     90002677786
67134968951354   CAROL        JACKSON                      OH     90012009689
67135936591549   GUADALUPE    GARCIA                       TX     75090519365
67136528693762   DONNA        ROSS                         OH     64577935286
67136559991522   LUZ          MARTINEZ                     TX     75069525599
67136719891562   LOPES        ALEXIS                       TX     90007827198
67137686584392   YUMILA       LOPEZ                        SC     90014376865
67138367261936   SHAWN        PORTER                       CA     46065173672
67138857491522   ESMERALDA    VILLAPANDO                   TX     90011108574
67139338891522   DAVID        MORALES                      TX     90013483388
67141832671921   JANELLE      MIELBECK                     CO     90013768326
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67141853691522   JASON        PEREZ                        TX     90002918536
67143725461964   CHRIS        CONWAY                       CA     46000977254
67145635584392   JASON        BOOTS                        SC     90014886355
67145755591998   DWAYNE       CARRIGO                      NC     17065727555
67146378855977   PAMELA       RICHMOND                     CA     90001673788
67146887755973   LEWIS        WILLIAMS                     CA     90009748877
67149553581675   MERIAH       HIGGINS                      MO     90010165535
67149846957595   LUCY         CHAVEZ                       NM     90014678469
67151991661936   MICHAEL      BOJORQUEZ                    CA     90008789916
67153244772449   CARA         THOMPSON                     PA     90001662447
67153634861964   AIOTEST1     DONOTTOUCH                   CA     90015116348
67154811555977   XOB          VANG                         CA     90010258115
67157693561964   JOHNNY       RIVERA                       CA     90013256935
67158589755977   STEVEN       KILLIAN                      CA     90013925897
67158834491522   JOSE         MARTINEZ                     TX     90011788344
67159817191522   JOSE         CRUZ                         TX     90011788171
67159895485689   JUAN         RODRIGUEZ                    NJ     90010798954
67163933855973   MARLENA      TALAMANTEZ                   CA     90001299338
67164117561964   LETICIA      REYES                        CA     90013641175
67164345661936   RAPHAEL      BELL                         CA     90014333456
67165435991562   VILLANUEVA   RAMIREZ                      TX     90014654359
67165852151354   ROBIN        RETHERFORD                   OH     90012118521
67167582981644   LORITA       DAVIS                        MO     90014835829
67168159385689   EDGAR        GABRIEL                      NJ     90014251593
67168346661964   NOEMI        CHAVEZ                       CA     90009973466
67169255161964   ELISA        FERNANDEZ                    CA     90012602551
67169284254163   ANTONIO      SALGADO                      OR     90013952842
67169434155973   CLAUDIA      PINEDO                       CA     48075274341
67169945691998   FELECIA      HARRIS                       NC     17050869456
67171311891562   ZENAIDA      PEREZ                        TX     90010723118
67172637261936   LEE VIRT     QUILLAR JR.                  CA     90004736372
67173227791522   CELIA        SANCHEZ                      TX     75012182277
67173526361936   ADAN         GONZALEZ PENA                CA     90012695263
67173786384327   TERRI        DANTZLER                     SC     90010507863
67175149655977   DELORES      HILL                         CA     90014711496
67175529385689   TAMIKA       STOKES                       NJ     90010965293
67175996655993   SALVADOR     ORTEGA                       CA     90011489966
67176136393762   IESHA        BARRETT                      OH     90013251363
67176567971964   KAREN        MADRILL                      CO     32082125679
67176682931661   JEFFREY      MERRY                        KS     90001596829
67177333891562   JULIAN       TORRES                       TX     90013773338
67177515771921   JENNIFER     MANDEVILLE                   CO     90014085157
67177714881675   MELISSA      MITCHELL                     MO     90014807148
67177721151354   ALEJANDRO    CORTEZ-HERNANDEZ             OH     90013607211
67179521171921   ADAM         BURDGE                       CO     90013845211
67182267991562   GLORIA       MENDEZ                       TX     90014772679
67182623555977   ANTONIO      OLIVERA                      CA     90014446235
67183836691562   JOSEFINA     REYES VELASCO                TX     90005598366
67183932971964   JOHN         DAVID                        CO     90011969329
67184523391562   JULIO        LOPEZ                        TX     75040495233
67189251461936   REBECCA      MCCARREN                     CA     90009912514
67189289791562   LUIS         ROSALES                      TX     75040162897
67189885751352   KRYSTAL      LEWIS                        OH     90010838857
67191114691562   BRIAN        PETERMAN                     TX     90011431146
67193826661936   MARIA        VEGA                         CA     46077598266
67194351581644   MRS          EVETTE                       MO     90004623515
67194374371921   STEVEN       SETOLA                       CO     32050893743
67194425455977   MARTHA       RAMOS                        CA     49009724254
67195577655977   KALEB        WITHERSPOON                  CA     90009915776
67195745281675   ALEXISIS     SLATES                       MO     90010937452
67197299161936   MICAELA      SANCHEZ                      CA     46016092991
67197679291552   MARIA        BUJANDA                      TX     90000246792
67198484891562   HECTOR       HOLGUIN                      TX     90009684848
67199152141272   PHYLLIS      REILLY                       PA     90009171521
67199548161964   DEBRA        RODRIGUEZ                    CA     90001775481
67211628261936   VICTOR       MENDOZA                      CA     90012016282
67211995581644   JESSANN      HAHNER                       MO     90006109955
67212765251354   RITA         JOHNSON                      OH     66073407652
67212874191522   SAUL         JAGUAR                       NM     90011788741
67213691691522   MAIRA        RORALEJO                     TX     75024776916
67213741991527   LISA         SANCHEZ                      TX     75099237419
67214139385689   PEGGY        JONES                        NJ     90001561393
67214238961964   FRANK        FEREDONI                     CA     46009572389
67214923591998   SYLVIA       PERSON                       NC     90010579235
67215298591998   RIQUERIA     BARREIRO                     NC     90014902985
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67219598455973   CARLOS             PEREZ                  CA     48006505984
67219763791562   JESSIE             LUNA                   TX     90012797637
67222674771964   MIA                REEDER                 CO     90012486747
67222727755973   TIM                THOMAS                 CA     90003737277
67223848581661   JOE                PACE                   MO     29021398485
67224793784392   CHARLES            BOLGER                 SC     90003547937
67228191571921   JOSHUA ALLEN       TERRELL                CO     90011341915
67228623191522   MIGUEL             VALDEZ                 TX     90007456231
67228771591998   ERIIC              WIINSTEAD              NC     90008327715
67229445291522   JESSY              GONZALEZ               TX     90012804452
67232358655973   FAYETH             LIPPS                  CA     48069643586
67232933761954   RICHARD            BENEDICT               CA     90011719337
67233757455973   MARCOS             LEYBA                  CA     90007027574
67233766871921   DAVID              MYERS                  CO     90005507668
67234292261936   JORGE              RAMIREZ                CA     90013832922
67235499755977   TERESA             BRITOGILES             CA     90012914997
67235872163646   LISA               DUKE                   MO     90003528721
67237288171921   YAQUELIN           PRIETO                 CO     32005342881
67237479591562   JAVIER             MARRUFO                TX     75031754795
67238213291522   DENISEE            VALTIERRA              TX     90004422132
67242314761981   CLAUDIO            ARZILLO                CA     90004643147
67243138591943   NATASHA            WALKER                 NC     90011041385
67243438991552   ALMA               RINARD                 TX     90015214389
67244979351354   WILBUR             HAMILTON               OH     90011179793
67248786671964   JOSEPH             GRAVES                 CO     90011857866
67249986681675   COEN               CARR                   MO     90010889866
67251573971921   CHRISTOPHE         RICHARDSON             CO     32031625739
67252426671921   DAN                COLLINS                CO     32089574266
67253441861936   JOHANNA            ESTRADA                CA     90014814418
67253729561964   FRED               GENHART                CA     46014447295
67253935691522   MARISELA           DELGADO                TX     90011789356
67254437561945   RANIA              SHORIS                 CA     90014904375
67255535671964   COLORADO BBQ       OUTFITTERS             CO     90005815356
67255788191562   MARCO              SOSA                   TX     75088517881
67256194291522   MARCELA            TREJO                  TX     75032841942
67257856771964   MILDRED            CRUZ                   CO     32032968567
67258263281644   VICKIE             ANDERSON               MO     90012552632
67258679384392   BRITTANY           FRAZIER                SC     90014866793
67259696191522   MARIA DEL CARMEN   FIERRO                 TX     90014706961
67261417885689   FIDEL              VELASQUEZ              NJ     90002434178
67261439351354   BRENDA             DAY                    OH     66030314393
67261696191522   MARIA DEL CARMEN   FIERRO                 TX     90014706961
67263299991562   GERARDO            ACOSTA                 TX     90010912999
67263528557595   DAVID              PALOMAREZ              NM     90014335285
67264136584392   REGINALD           SMITH                  SC     90010601365
67265132191998   ADEBUKOLA          ADEKEMI                NC     17071621321
67265433491562   NORMA              BETANCOURT             TX     90010984334
67266698891522   JAVIER             FAVELA                 TX     90014706988
67266816455977   ELIZABETH          LEON                   CA     90010678164
67267661884392   HOPE               QUARLES                SC     90003946618
67268133155977   CRYSTAL            PLESS                  CA     90010961331
67268228761936   ROMEO              BUNDOC                 CA     90014322287
67271525291562   PERRY              JACQUELIN              TX     90008575252
67274136851354   ISMAEL             BARRERA                OH     90009591368
67274237181675   JASMINE            HERNANDEZ              MO     90015172371
67274749791998   JORDAN             MCCARTY                NC     17046357497
67274877291562   ROBERT             HOLGUIN                TX     90002298772
67276351591562   IRMA               MARRUFO                TX     90007673515
67276442857595   LESLIE             ROMO                   NM     90015344428
67277371691998   JAZMIN RENEA       CLEVERSON              NC     90014903716
67281948884392   SIERRA             SANDERS                SC     90015329488
67281984691522   VANESSA            MONJE                  TX     90011789846
67284591257135   MARCELINO          PEREZ                  VA     90012665912
67286137671964   MIRANDA            CHAMBERLAYNE           CO     90011191376
67286557551354   MONICA             FOUNTAIN               OH     90014635575
67286746455973   RON                SANDERS                CA     48014607464
67287674186498   DEVON              CORNELIUS              SC     90011076741
67289258884392   KALIEFA            WHITE                  SC     90014682588
67289811255973   ALONSO             GONZALEZ               CA     48081968112
67289917985689   ROSALINO           GARCIA                 NJ     90011429179
67289923661964   JULIE              VILLANUEVA             CA     46071819236
67291263191522   LORRAINE           BELTRAN                TX     90008982631
67291683291998   LAMONT             HINTON                 NC     17081556832
67292734591522   MIRIAM             GARCIA                 TX     90014707345
67292943385689   DAVID              PEREZ                  NJ     90007899433
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67293533261936   AMANDA               GREENE               CA     90010955332
67295212371921   CHERIE               GUADAGNO             CO     90015082123
67295735691522   RUBY                 GUTIERREZ            TX     90014707356
67296986161964   ANTHONY              ALVE                 CA     90013049861
67298735691522   RUBY                 GUTIERREZ            TX     90014707356
67311422361964   VIRI                 CAMPOS               CA     46025734223
67312622191562   KARLA                ARRAS                TX     90002306221
67313154431225   ELIZABETH            LANDOR               IL     90011441544
67313178161936   JESSICA              LUGO                 CA     90014741781
67313667955973   CINTHIA              FIGUEROA             CA     90009866679
67315716551354   MARQUELL             DAWSON               OH     66018937165
67316528226758   PAUL D               PRECOPIA             PA     90013035282
67318997561936   KENNETH              RORABAUGH            CA     46021139975
67321127355973   MARIA                MADRIGAL             CA     90013211273
67321254151354   MARCELA              DZURKOVA             OH     90009592541
67323752655973   EEBOON               SAESEE               CA     90012877526
67324274555973   JUAN                 REYES                CA     90008942745
67324276163646   DAVID                MCCANN               MO     90006512761
67324893391522   LUIS                 GARCIA               TX     75045978933
67325254151354   MARCELA              DZURKOVA             OH     90009592541
67325575141272   KELLY                DURRETT              PA     51013285751
67326181651354   ANGELO               LUCKEY               OH     90013641816
67327434961964   MARIA TERESA         VILLA                CA     90014854349
67327629681675   LIPETI               MOE                  MO     29078416296
67327935571921   KIALONDOH            PABAI                CO     90013179355
67329656655973   BRISA                MARKES               CA     90007756566
67331313151354   TIYOTA               SMITH                OH     66097453131
67331833255973   ANGELA               MARTINEZ             CA     90013708332
67331968591562   VALERIA              DAVILA               TX     90007349685
67333689171964   SHERRY               SEEVER               CO     90006136891
67333712231661   SPENCER              HOCH                 KS     90008307122
67333846255973   REBECCA              ANDREAS              CA     48076128462
67333856261964   HENRY                CASTRO               CA     46012028562
67334868951354   KEVIN                BROWN                OH     90015078689
67335219855973   JANEY                MEDINA               CA     90000432198
67336451984392   WHITNEY              WHITE                SC     90013044519
67336546161936   LIZBET               ZAMOA                CA     90007675461
67338416355973   LILIA                DUARTE               CA     48042914163
67338989531455   BELANCIA             BROWN                MO     90013309895
67341399691998   JASMINE              ALFORD               NC     90013053996
67343452981644   TISHA                REDDEN               MO     90000664529
67345537491998   TERESA               GOLDSON              NC     90011235374
67345544961936   EARLE                BANKSTON             CA     90012785449
67345719455973   MARK                 MARTINEZ             CA     90014347194
67345845155977   LISA                 DOMBROSKI            CA     90014058451
67346414561964   TRACY                LAWRENCE             CA     90013804145
67347392191562   RAFAEL               HERNANDEZ            TX     75052673921
67348538491998   YESICA               FLORES               NC     17016545384
67351713785689   CHIME                TERRASA              NJ     90011997137
67351897981675   NICOLE               MULMORE              MO     29087998979
67352212285877   VINETTE              COLE                 CA     46044672122
67352246161936   NOE                  MENDOZA              CA     90013392461
67352576651354   AMANDA               STICKROD             OH     90001005766
67353776155973   ANDREW               PARRIERA             CA     90015127761
67354772181675   VINCENT              DISTEFANO            MO     90014297721
67355451551354   DEVONTE              CANNON               OH     90012514515
67357241891562   ANA                  ARREDONDO            TX     75015942418
67357841891522   FAUSTINO ALEJANDRO   FLORES               TX     90014708418
67358786291562   MONICA               TRESSET              TX     90008817862
67358939781644   BRANDI               KINDRED              MO     29004599397
67359557471964   JOHN                 PETER                CO     90011095574
67359613361936   JOSEPHINE            VELAZQUEZ            CA     90014996133
67361139551354   NAOMI                STREAKER             OH     66078111395
67363165881675   MARISA               VANN                 MO     90008371658
67363468591525   GERARDO              GARCES               TX     75088784685
67363516471921   OLIVIA               GRIEGO               CO     90008715164
67365679681661   PAT                  MARTIN               MO     29019226796
67365978991998   DONTE                ANDERSON             NC     90013149789
67368215461936   KEYANN               MARTINEZ             CA     90009652154
67368356155977   MARY                 BROWN                CA     49046233561
67368666991998   MOHAMMAD             ISLAM                NC     90012176669
67369978184392   ERNEST               SPEIGHTS             SC     90010209781
67372147655973   JUAN                 LOPEZ                CA     90012011476
67373171361936   GABRIE               PEREZ GONZALES       CA     90000721713
67373622351354   CAROL                WEST                 OH     90013926223
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67374397291522   SOCORRO      HERNANDEZ                    TX     75050833972
67374582561964   VICKY        TOSCANO                      CA     90013965825
67375657955973   YESENIA      YBARRA                       CA     48006956579
67375717761964   JULIA        MELENDEZ                     CA     90014127177
67377539891522   ERICK        RAMIREZ                      TX     90008465398
67379739155973   JERRY        NOE                          CA     48030237391
67381653355977   RICHARD      BOYLES                       CA     49085586533
67381892291522   FRAIRE       LUIS                         TX     90008668922
67383511984392   DAVID        SIMMONS                      SC     19069325119
67384161881644   RICHARD      LOPEZ                        MO     90002921618
67384897181675   SCOTT        BLATTMAN                     MO     29062018971
67385199381644   RICARDO      QUIROZ                       MO     90014531993
67385531491522   PATRICIA     ESCOBEDO                     TX     75052495314
67385917291562   MARIA        SANTANA                      TX     90014119172
67386126455973   ABEL         VILLA                        CA     90014121264
67386634961964   LEO          SIMPSER                      CA     90008996349
67387233661964   ALBERTO      OCAMPO                       CA     90009782336
67388132391525   DIANA        GUERRERO                     TX     90013321323
67388566351354   JENA         PACKER                       OH     90013515663
67389915891998   ASHIYA       FOWER                        NC     90013819158
67391841585689   OMAR         SANTOS                       NJ     90012978415
67393623185953   MOHAMMAD     FELWA                        KY     90001296231
67394368271921   SONJA        NEVERS                       CO     32087343682
67394712581644   SHANNAH      TAYLOR                       MO     90007547125
67395452981644   TISHA        REDDEN                       MO     90000664529
67395769884392   LIZBETH      RIVERA                       SC     90013947698
67395859855973   LYDIA        SANCHEZ ESTRADA              CA     90014848598
67396218761936   JATZIVE      PEDRAZA                      CA     46087862187
67396532891998   MARIA        SCHOEN                       NC     90014615328
67397182151354   ALLISON      AICHELE                      OH     90014811821
67412481961964   LESLEY       JIMENEZ                      CA     90014934819
67413877284392   TAVIUS       ROBINSON                     SC     90015198772
67414668791522   YVONNE       ARROGO                       TX     90013716687
67415172985689   SARAI        ROSARIO                      NJ     85011211729
67417634171921   AUTUMN       MARQUES                      CO     90008326341
67417874193726   MISSY        DANIEL                       OH     90012218741
67419847291522   ORTIZ        ZULEMA                       TX     75054068472
67424498857595   LILLIAN      SALAS                        NM     90014964988
67426421984392   CARLOS       JUNIOR                       SC     90010624219
67426456685689   ELISEO       LOPEZ                        NJ     90006634566
67426763651354   TEKIQUIA     BAILEY                       OH     90010717636
67427174555973   FRANCISCO    PEREZ                        CA     90003991745
67427768585689   SAUL         LOPEZ                        NJ     90011467685
67427936285953   KYSHA        NANCE                        KY     90010799362
67428676455973   NATHANIEL    INONG                        CA     48093086764
67429186255977   PEDRO        RAMILEZ                      CA     49096321862
67429928991562   ARTURO       MUNOZ                        TX     90011329289
67432319371964   ERIC         BAILEY                       CO     90008853193
67432321885689   CARLOS       MARTINEZ                     NJ     90010723218
67432678971921   STEPHANIE    TANIS                        CO     32058226789
67434211781675   KINESHA      COLE                         MO     90013812117
67434822785689   RACHEL       HOOVER                       NJ     85011218227
67435828755977   ANTHONY      LOWE                         CA     90004628287
67435988171921   VICTOR       BECERRA                      CO     90013029881
67436175591894   BRANDI       GANT                         OK     90013331755
67436619784392   RANDY        MOSELEY                      SC     90004936197
67436845791998   JESSICA      SMITH                        NC     90013118457
67439471685689   MARTIN       MARTINEZ ORTIZ               NJ     90006424716
67443793971921   MELISSA      TYLER                        CO     90014237939
67445327481675   AMBER        PRITCHETT                    MO     90005403274
67446732471921   LUCAS        STEELE                       CO     90014197324
67446954691998   DIAMOND      AUSTIN                       NC     17050889546
67447816985689   ESLEBAN      JUSTO                        NJ     90010808169
67449988385689   ELIZABETH    RODRIGUEZ                    NJ     90013019883
67451133481675   JASON        HUTSON                       MO     90010911334
67453545671964   NDAYIZEYE    ALSON                        CO     32010115456
67458461151354   JAMES        BAKER                        OH     90013104611
67458487641259   BARBARA      VOJTECKY                     PA     90007394876
67459154291998   BRADLEY      DECKER                       NC     90014571542
67462722151354   JONATHAN     BOLMER                       OH     90013807221
67462787784392   TYE          COLSTON                      SC     19097537877
67463652355977   VINCENT      APODACA                      CA     49085546523
67463697291998   TARA         BROOKS                       NC     90013596972
67464153555973   MARIA        BENAVIDES                    CA     48017391535
67465981361422   ALEXANDRO    GARCIA                       OH     90015399813
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67466427191562   BLANCA            FUENTES                 TX     90012994271
67466481961964   LESLEY            JIMENEZ                 CA     90014934819
67467633491894   LORI              INMAN                   OK     90012726334
67467668261964   RICHARD           GRADY                   CA     46034606682
67467773684392   CURTIS            BROWN                   SC     90013377736
67469355491522   SANDRA            ORTEGA                  TX     90011793554
67469528585689   LEWIS             DUTTON                  NJ     90013035285
67472635861936   BAGO              RAMIREZ                 CA     90015176358
67473948155973   OFELIA            PENA                    CA     90001529481
67474655261964   ANA               NIEVES                  CA     90014916552
67476473891998   NANCY             KING                    NC     90010614738
67476762171964   DAVID AND ANNA    DUMPSON                 CO     90011877621
67478841581675   AMBER             CALTON                  MO     90013678415
67479168171964   LORIE             DE PAULA                CO     32096181681
67479838591522   PEDRO             INFANTE                 TX     75068278385
67481184791562   JOSE              HERNANDEZ               TX     90013531847
67481283441259   JUDI              DENAULT                 PA     90002612834
67481347661964   JORGE             MORALES                 CA     90013643476
67481367591522   CASANDRA JAZMIN   GARCIA JUAREZ           TX     90011793675
67481922591522   RITA              VELASQUEZ               TX     90014709225
67482115891522   TERESA            LOZANO                  NM     90002921158
67482259571921   JIMMY             BUSHA                   CO     32088662595
67482697277533   SANTOS            ORTIZ                   NV     90010376972
67482829671964   KIMBERLY          OSBORNE                 CO     90011458296
67482991381675   LARRY             BASSETT                 KS     90014509913
67485394584392   DELESNIE          THROPOLIS               SC     90011203945
67485713355977   LYDIA             MENDOZA                 CA     90012607133
67486814391522   ISABEL            RIVAS                   TX     75057868143
67487466985689   KHIRY             CISROW                  NJ     90013254669
67487635971964   KENNETH           HALSEY                  CO     32081906359
67488334485948   JAMES             KIPP                    KY     66060643344
67488374491522   MANUEL            CASTILLO                TX     90011793744
67489253184392   MICHELLE          BRUNSON                 SC     90014162531
67489271191998   ROILAN            ESQUIVEL                NC     90013552711
67489454981644   LEON              AKINS                   MO     90015024549
67491338491562   JUAN              IBARRA                  TX     90012683384
67493261251352   ARSELIE           OLVERA                  OH     90010402612
67493369281644   CHANELLE          HOWARD                  MO     90014953692
67494435451354   CLARISSA          STEVENS                 OH     90003554354
67494986655973   TANAJA            ANDREWS                 CA     48059189866
67495397371921   IRVING            HALIBURTON              CO     32089453973
67497735281675   BRANDON           BEADLE                  MO     90013407352
67498128671964   STEPHANY          BOS                     CO     90008491286
67498291785689   CYNTHIA           COOK                    NJ     85065702917
67498424381675   WALTER            HILL                    MO     90013374243
67498922455973   ARMANDO           CORTEZ                  CA     90001659224
67512332255973   ESAUL             JIMENEZ                 CA     90011183322
67512551471921   MATT              POST                    CO     90008045514
67514441281644   MELISSA           REILLY                  MO     90012634412
67524252491562   MARIANNE          HERNANDEZ               TX     75012102524
67524586991549   JAVIER            PEDROZA                 TX     90002275869
67525656191998   DELMY             ALVARADO                NC     90010606561
67526939791522   GARCIA            PEDRO                   TX     90014709397
67527137571921   JOHN              EDWARD                  CO     90012741375
67527491691998   KUJAYJI           KABBA                   NC     90011944916
67533439291522   CARMEN            CEPELLANO               TX     90011794392
67533517891572   ERNESTO           CORONADO                TX     75048385178
67534725155973   GUADALUPE         AGUILAR                 CA     90015157251
67535454381644   JAMES             BENNETT                 MO     90013774543
67536929461936   SAL               GELORMINI               CA     46026919294
67537558551388   KENYA             DAVIS                   OH     90008095585
67537594284392   WILLIAM           THOMPSON                SC     90014305942
67537769991562   RUEL              SHAFFER                 TX     90013177699
67537938671964   MELISSA           MOZEY                   CO     90011099386
67538348131651   EBONY             JOHNSON                 KS     22012893481
67539435591522   CLAUDIA           ANGUIANO                TX     90011204355
67539855355973   AMY               KUNZE                   CA     90014158553
67542425851354   CASSIE            MARINICH                OH     90009674258
67542483191562   MARIBEL           DE LEON                 TX     75037544831
67544231371964   STEVEN            MAESTAS                 CO     90010042313
67544954955973   NOE               SANTOYO                 CA     48093119549
67546486871921   JUSTIN            JONES                   CO     90015034868
67547361171964   MISTY             GODFREY                 CO     32078133611
67547755791998   WILLIE            JORDAN                  NC     17022587557
67547858751354   DONYELLE          WORKMAN                 OH     90014508587
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67548149655977   DELORES       HILL                        CA     90014711496
67548443691562   JOEL          HUERECA                     TX     75081054436
67548844555973   NICOLE        CADENA                      CA     48061898445
67549468571921   KATHLEEN      WILLIAMS                    CO     90013244685
67552228861936   ROBERT        SORRELL                     CA     90009972288
67553625251354   KELLY         WILSON                      OH     90013046252
67554672455977   JOE           PHANHNOUVANG                CA     90014446724
67554835251354   DEBRA         GRAU                        OH     90001828352
67555957281675   ALGI          PUJOLS                      MO     29070879572
67556731155977   RALPH         TOPALIAN                    CA     90012817311
67557984933634   ERIN          STIMPSON                    NC     90008389849
67558738751354   MATT          RONE                        OH     90000767387
67558969991522   SELENE        NELSON                      TX     90014709699
67559259355977   VALENCIA      PERKINS                     CA     90015082593
67561823151354   DONALD        BROCK                       OH     66075428231
67562215584392   ANNETTE       ROLERSON WATSON             SC     19073032155
67563847291522   ROSARIO       MOTA BANDA                  TX     90014718472
67564377691522   BELL          JAQUEZ                      TX     90012373776
67565561451354   ALEXANDER     WHITE                       OH     90014635614
67566579371964   ISAIAS        ACOSTA                      CO     32013925793
67566847291522   ROSARIO       MOTA BANDA                  TX     90014718472
67571186161964   SHONDETEENA   NILLAGA                     CA     90014351861
67572728891522   LAURA         SALINAS                     TX     90002907288
67572747284392   MELVIN        MOYD                        SC     90013007472
67572814561936   MARTINA       GARCIA                      CA     90013248145
67573433755973   ALEX          CHAVEZ                      CA     48085074337
67574813581675   SHANAE        DUNMORE                     MO     90006588135
67576286385948   LORETTA       BRICKER                     KY     90011202863
67576298691998   JESUS         PEREZ                       NC     90011452986
67576527961964   MARIA         HUERTA                      CA     90001845279
67577394885986   CHRISTOPH     ROTHFUSS                    KY     90001003948
67578434991562   ESTEBAN       HERNANDEZ                   TX     75002714349
67582321191522   LINDA         RAMOS                       TX     75017383211
67582519681675   STACY         LARK                        MO     29005605196
67583381977342   GEORGE        ROBINSON                    IL     90015153819
67583624684392   LATOYA        FERONE                      SC     90009016246
67584228555977   MINDY         PADILLA                     CA     49031172285
67584663581644   TREMAYNE      UMBLES                      MO     90011806635
67584943461936   JORGE         AYALA                       CA     46079259434
67584962991522   ELIZABETH     CRUZ                        TX     90014709629
67585677651354   CHRISTOPHE    KINNEY                      OH     66039746776
67587688655977   EBELIA        TORRES                      CA     90004936886
67589845291998   SYLVIA        MASSENBURG                  NC     17044008452
67591375171964   GUADALUPE     MACIEL                      CO     32000183751
67591964791522   ISMAEL        MADRID                      TX     90014709647
67592112161964   TIM           BURTON                      CA     46003671121
67592775561964   TERESA        ROJAS                       CA     90014627755
67593217991998   EUDENCIO      URBANO MORALES              NC     90010612179
67593444481675   RICHARD       KENT                        MO     90013784444
67594247771921   ROSE          ROSE                        CO     90012142477
67594457351352   AMBER         JENNINGS                    OH     90005284573
67594485351354   COURTNEY      SORRELL                     OH     90003554853
67594952355977   ANNETTE       NICHOLS                     CA     90007339523
67594965191522   GUADALUPE     ONTIVEROS                   TX     90014709651
67595121355977   KARLA         CAMPOS                      CA     90011511213
67595373691572   NOCOLE        MARTINEZ                    TX     90002753736
67595672491562   TOMASA        RABELO TORRES               TX     75093866724
67598561181675   ANGELA        HOWARD                      MO     29044305611
67611333951354   KEN           DAUGHERTY                   OH     90014283339
67611972991522   JOSHUA        NEVAREZ                     TX     90014709729
67613157761964   FERNANDEZ     CHAVEZ                      CA     90009951577
67613186191522   GLORIA        SMITH                       TX     90002921861
67613266261936   LISA          CASAS                       CA     90003502662
67614274681675   DESTINY       PEARSON                     MO     90011672746
67614398591998   ADRIAN        FACIO                       NC     90014173985
67615289557143   TONY          BELLAMY                     VA     90001242895
67616987855973   DOLORES       MALDONADO                   CA     90004139878
67617176361964   MARIA         SALGADO                     CA     90008921763
67617468271921   ABENI         CLAYBROOKS                  CO     90001334682
67623255261964   GREGORIO      AVALOS                      CA     90012392552
67623732291522   LUISA         MONTELONGO                  TX     75021257322
67625651984392   PAYGO         IVR ACTIVATION              SC     90009996519
67626269381675   MICHAEL       ROSS                        MO     90014622693
67626433661936   MARLENE       NUNEZ                       CA     90006214336
67628245481675   CHRYSTAL      BURTRUM                     MO     90006632454
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67628474191527   JESSICA      HERNANDEZ                    TX     90014804741
67628692784392   JOHNNY       WALTON                       SC     90013336927
67628699361964   DERRIK       HARRELL                      CA     90013256993
67628744191522   BERTHA       MARTINEZ                     TX     90012427441
67629529455977   MARIA        GONZALEZ                     CA     90013975294
67629986691522   IRIS         VILLANUEVA                   TX     90014709866
67631189281644   TERRY        DRONE                        MO     90008431892
67631597991534   SOCCORRO     HERRERA                      TX     90014485979
67632241671964   CLAUIDA      SANCHEZ DYER                 CO     90003542416
67633345691522   DANIEL       DURAN                        TX     90013653456
67633391884392   VICTORIA     SANDERS                      SC     90013073918
67633398791998   SARENA       MCCULLERS                    NC     90014173987
67634839661936   JUAN         PEREZ                        CA     46008458396
67636573991998   TONYA        LAWS                         NC     17013705739
67639112161936   VARGOS       LOURDES                      CA     46082491121
67642119581644   TERRA        SPAULDING                    MO     90014741195
67643213991522   JOSE         CORDERO                      TX     90011152139
67644143861936   SOCORRO      VAZQUEZ                      CA     90013131438
67645322384392   JASMINE      MANIGAULT                    SC     90013553223
67645679491522   GABRIELA     LOPEZ                        TX     75040476794
67647266555973   RUBEN        OLGUIN                       CA     90001152665
67647476771964   CAROLINE     LEFEBVRE                     CO     32059854767
67649244891522   SANDRA       AGUIRRE                      TX     75046032448
67651759377538   ERIKA        CONNER                       NV     90013937593
67652236884392   DANGNE       CRUZ                         SC     90008182368
67653197481644   SERGIO       GONZALEZ                     MO     90010271974
67653989891522   VERONICA     GOMEZ                        TX     90014709898
67654394784392   JAMES        SARVIS                       SC     90013073947
67655412651354   JETERA       BRYANT                       OH     90009854126
67655532784392   SAMUEL       STEELE                       SC     19063815327
67655594671921   NAKIA        JONES                        CO     90013115946
67655989891522   VERONICA     GOMEZ                        TX     90014709898
67656997861964   OFELIA       TAVARES                      CA     90010169978
67657989891522   VERONICA     GOMEZ                        TX     90014709898
67661244561964   ANTHONY      ALLISON                      CA     90013922445
67661671631587   LUIS         ANTOLA                       NY     90009626716
67663535671921   DANIEL       CHAVEZ                       CO     32096305356
67664564881675   PAYGO        IVR ACTIVATION               MO     90015215648
67664923591522   DEVAN        LOISELLE                     TX     90014719235
67666967271921   ALEJANDRO    BARCENAS                     CO     32058449672
67667145191562   HECTOR       VEGA                         TX     75086931451
67667224961964   KILEE        PETERSEN                     CA     90006952249
67672112981644   KELLEY       DAY LEWIS                    MO     90008531129
67672377891522   MARCO        ROMERO                       TX     75016923778
67672639685689   ANTONIO      SILMAR                       NJ     90013026396
67672886461964   SERGIO       GARDUNO                      CA     90002038864
67673819221692   PEGGY        BLACKMAN                     OH     90014708192
67674232451352   MICHAEL      RUCKES                       OH     90003942324
67674382191259   ROBERT       PHILLIPS                     GA     14503523821
67674599481644   MARVIN       PIPER                        KS     90014835994
67674814771964   HEATHER      ROBER                        CO     32095708147
67676174361964   JESSICA      ZAZUETA                      CA     90015141743
67676311751354   ACQUE        YOUNG                        OH     90014173117
67677329591562   BRENDA       NIETO                        TX     90012483295
67677433991522   RACHEL       CONTRERAS                    TX     90011924339
67677493291522   LOURDES      RODRIGUEZ                    TX     75087674932
67681178161936   JESSICA      LUGO                         CA     90014741781
67684464961964   SHILOH       MULLER                       CA     90002434649
67684616355977   LINDA        SANTILLAN                    CA     90002906163
67684967151354   MARIA        ROBLERO                      OH     66091889671
67686696884392   TONY         ARENSDORF                    SC     90000886968
67691695161936   MINERVA      MENDOZA                      CA     90010626951
67692125371964   YVONNE       VIGIL                        CO     90011951253
67692342461964   NICOLASA     RIVERA                       CA     90013283424
67693156555977   MEISHA       MACILLAS                     CA     49067301565
67693363461559   ESUBIO       TORRES                       TN     90013893634
67694436361964   MATHEW       WINSLOW                      CA     90010784363
67694978861964   PATRICIA     VALENZUELA                   CA     90012749788
67695329655973   DAVID        WHEAT                        CA     90006833296
67695916984392   OLAJUWON     EDWARDS                      SC     90011609169
67696839981675   JASON        WOODS                        MO     29050908399
67697387581672   CHARLENE     SMITH                        KS     90012423875
67697497671964   RENALDO      MARTINEZ                     CO     90013334976
67698313581675   JARRAE       WELLS                        MO     90013353135
67699548271921   MICHAEL      ALFARO                       CO     90010205482
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67699584881675   VICTORIA     WILLIAMS                     MO     90013505848
67712798491562   LORENA       REYES                        TX     75098027984
67712991955973   BOYCE        CERVANTES                    CA     90009079919
67713331761936   MARTIN       ALEJOS                       CA     46021083317
67713976855977   HERIBERTO    ROBLES                       CA     49028519768
67714222981675   ERIC         POTTS                        MO     90013432229
67714515361936   CARLTON      JOHNSON                      CA     90013815153
67714845981675   MELISSA      SCHEITER                     MO     90014828459
67715353971921   SANDRA       VIGIL                        CO     90009093539
67716699793762   JAHANZEB     YAQUB                        OH     90014166997
67716957991998   RICO         SCOTT                        NC     17018009579
67716984261964   GABRIELA     MORALES                      CA     90013839842
67717118685689   JUAN         CARLOS                       NJ     90007871186
67717994191522   OSCAR        JIMENEZ                      TX     90006409941
67721749551354   ALEXIS       DELATORRE                    OH     90013997495
67722422261964   KHADAR       MOHAMED                      CA     90007374222
67722462391562   PETE         SANCHEZ                      TX     90004354623
67723954461936   JOSE         HERNANDEZ                    CA     90000659544
67724331991562   JAIME        DE LA ROSA                   TX     75046943319
67724634561964   AIOTEST1     DONOTTOUCH                   CA     90015116345
67724736481644   ITTY         BETTY                        MO     90011607364
67724838155977   MARK         DENSMORE                     CA     49067088381
67726334291522   FLOR         OLIVAS                       TX     90014633342
67726632255977   NICOLAS      TORRES                       CA     49029886322
67727291681675   JOSE         DE LA CRUZ HERNANDEZ         MO     29034642916
67728334291522   FLOR         OLIVAS                       TX     90014633342
67728478581644   SABRINA      SHEPHERD                     MO     90014734785
67728897855973   APOLINAR     NUNEZ-HERNANDEZ              CA     90014628978
67729652491998   IGNACIO      IBARRA                       NC     90007126524
67732228284392   TONI         ALLSBROOK                    SC     90014102282
67732494261991   BRONTE       GALLOWAY                     CA     90001644942
67732635861936   BAGO         RAMIREZ                      CA     90015176358
67734679761964   RUBEN        HERNANDEZ                    CA     46002156797
67734979355973   MARISSA      ROMO                         CA     48010489793
67735525391562   JESUS        LEGARRETA                    TX     90014175253
67737981991998   TONYA        GREGORY                      NC     90013349819
67743158855978   OSCAR        SANTOS                       CA     90008091588
67745516171921   ELICK        CORTEZ                       CO     90013665161
67748351784392   ANGELINA     HUGGINS                      SC     90014153517
67748792261936   SANDRA       VIEYRA                       CA     90011877922
67749277561964   JESUSITA     CASTILLO                     CA     46021552775
67752462981675   BARBRA       MORROW                       MO     90012324629
67753253191522   ARTHUR       FLORES                       TX     75087692531
67754266555973   RUBEN        OLGUIN                       CA     90001152665
67754945386438   JOSE         ESPINOSA                     SC     90013779453
67754955571921   LEIONNA      YAZZIE                       CO     32093969555
67755221431476   TRACEY       GIBSON                       MO     27508872214
67755623351354   MARGARETT    STIVER                       OH     66068346233
67757978371921   MAGIC        SALEH                        CO     90001089783
67758783391549   IVETTE       VALLES                       TX     90013067833
67758789891998   JE'QUAN      DAVIS                        NC     90003237898
67758855251354   TRUDY        STOWERS                      OH     66024978552
67759121881644   BIANCA       MARIE GASTON                 MO     90014941218
67759526755973   STEPHEN      EDWARDS                      CA     48015965267
67761511391562   ANA          ZAPATA                       TX     90010965113
67761573571921   CODY         STONE                        CO     90012675735
67761875585689   IRIS         RODRIGUEZ                    NJ     90009778755
67762621551354   MARK         SIMMON                       OH     90015126215
67762715555973   MAYRA        ALVARADO                     CA     90004067155
67762793961936   BETHANY      BEACHAM                      CA     90009857939
67766867581644   JUAN         GERMOZEN                     MO     90007718675
67767492184392   ANGELA       PHILLIPS                     SC     90011874921
67771483355977   JONATHAN     NAJERA                       CA     90010864833
67776483251354   TALYA        RICHARD                      OH     90013884832
67776619281675   EVANGELINA   CORADO                       MO     29072536192
67777457857595   BETTY        ANAYA                        NM     90014144578
67777631855977   HELEN        JACKSON                      CA     90010976318
67777687361964   MARCHALY     RICHARDSON                   CA     90000656873
67777994491572   VERONICA     SILOS                        TX     90012539944
67783225984392   LIGIANE      ANDRADE                      SC     90003992259
67783391191562   MINERVA      ORTIZ                        TX     75008893911
67785924871921   RYAN         MCCAFFERTY                   CO     90012829248
67786111491998   ROSELY       BETANCOURT                   NC     90013271114
67786593991562   KARLA        ALVAREZ                      TX     75098535939
67786628155977   ENEDINA      HERNANDEZ                    CA     90010976281
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67787262961964   MARTHA       MARTINEZ                     CA     90013532629
67788368881675   LUCIANO      GARCIA                       MO     90009433688
67788968751354   LORAN        RUSSEL                       OH     90009689687
67789215284392   JEFFREY      HOLLAND                      SC     90014692152
67789352391562   CLAUDIA      ANGUIANO                     TX     90012723523
67789435591562   CLAUDIA      ANGUIANO                     TX     90011204355
67791179191562   ALEJANDRO    CANALES                      TX     75068241791
67791497955973   THOMAS       DENNIS                       CA     90013244979
67791831391522   MICHAEL      FRAUSTO                      TX     90009398313
67794362755973   TYLER        SANDERSON                    CA     90014963627
67795462691534   MARK         MARTINEZ                     TX     75028924626
67795673984392   ADRIANA      RODRIGUEZ                    SC     90014916739
67795977891522   ELIZANDRO    VENTURA                      TX     90014719778
67796381391522   VERONICA     GARCIA                       TX     75046243813
67796974481675   JANEAN       GARRETT                      MO     29080529744
67811952891998   WANDA        SPRINGS                      NC     90011249528
67814335471964   ANDREW       SULLIVAN                     CO     90008373354
67814377391562   SUSANA       GAMEZ                        TX     90010793773
67816543555977   AYSI         VALDES                       CA     90015045435
67821828993726   SANDRA       CURTIS                       OH     90006328289
67823948955977   BACON        DAVID-BRIAN                  CA     49082559489
67824233561964   WILFRIDO     LOPEZ                        CA     46052882335
67824443731423   LAPARISH     PRIMUS                       MO     90011594437
67824659351354   JAMES        BINGHAM                      OH     66016126593
67824987191522   ROBERT       AVALOS                       TX     90013159871
67825521985689   ASPEN        JONES                        NJ     90011855219
67826318771921   LAURA        BERGER                       CO     90010223187
67826332681644   RICHARD      ROBERSON                     MO     90014403326
67826361884392   JOHN         PITKO                        SC     90001333618
67826657972439   DEANNA       BUNDY                        PA     90012336579
67827272955973   ROBERT       DERR                         CA     90014232729
67828211361936   VICTOR       MORALES                      CA     90010192113
67828876331948   ANA          VILLACORTA                   IA     90011168763
67829639155973   JOHN         FOWLKES                      CA     90013676391
67831131785689   JAVIER       FELICANO                     NJ     90012341317
67831362984392   PAYGO        IVR ACTIVATION               SC     90007593629
67832266971964   KAILYN       MURPHY                       CO     90005342669
67832326751352   GARY         BURT                         OH     66033663267
67833179241291   JEFFERY      HODDER                       PA     90008421792
67835112571921   LUIS         BUSTAMANTE                   CO     32024741125
67835273684392   KELSEY       ALVES                        SC     19064312736
67835461691562   JESUS        HERNANDEZ                    TX     75088414616
67835798955973   INEZ         VILLALBA                     CA     90012447989
67836399257549   NORMAND R    PAQUETTE                     NM     90012263992
67836519984392   JOECEPHUS    GREEN                        SC     90014725199
67837444684392   WILLETTE     HAMILTON                     SC     90014624446
67837461691562   JESUS        HERNANDEZ                    TX     75088414616
67841286251354   MAX          TRANTMAN                     OH     66019042862
67841675255977   DEFI         AZALI                        CA     90010976752
67842418971921   DAVE         LLOYD                        CO     90013244189
67842686455973   MICHAEL      CITI                         CA     90005016864
67844257591998   MARTIN       ROBBINS                      NC     90012752575
67845269661964   LEONARDO     VALDEZ                       CA     90014942696
67846458557595   PAYGO        IVR ACTIVATION               NM     90013614585
67848412771964   MILES        LUPER                        CO     32003014127
67849379885689   LIZMARIE     GARCIA                       NJ     90010923798
67851227691998   STEPHANIE    TOLLIVER                     NC     90011252276
67852998551354   KAYLA        JOHNSON                      OH     90010639985
67853734255973   BRENDA       ROJAS                        CA     90013877342
67854266791998   MICHELL      MULDROW                      NC     90012752667
67855326561936   RUBY         SEMI                         CA     90013953265
67857423391562   ZEPHRAH      MAULDIN                      TX     90007184233
67858592455973   JONATHON     RIOS                         CA     90014615924
67861128857595   FELICITY     DOMINGUEZ                    NM     90014541288
67861985855973   AMANDA       FOLLOWILL                    CA     90014319858
67862381871921   MARIA        NEGRETE                      CO     90011463818
67862852581675   DILLARD      DELL                         MO     90011518525
67863358891522   ALEJANDRO    GUTIERREZ                    TX     75041733588
67864631791998   RADISHA      SMITH                        NC     17083226317
67868984471964   KRISTI       FARMER                       CO     90008969844
67871741981644   TERRY        CLASS                        MO     90015437419
67872375671964   DELLANA      TAFOYA                       CO     32062223756
67874263355977   MARIE        ARMIGO                       CA     90014622633
67876343581644   SELENE       REY                          MO     90013853435
67879667551354   LISA         WRIGHT                       OH     90011136675
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67881458471921   LOE             CHAVEZ                    CO     32008364584
67882432191522   HEIDI           GARCIA                    TX     90002944321
67884147491562   HILDA           DOMINGUEZ                 TX     90013301474
67884148791522   JUAN            GONZALES                  TX     90012101487
67884435555977   SARA            BOYD                      CA     90012354355
67884852485689   FREDDY          LOPEZ                     NJ     90010838524
67885246671964   JUN             SUH                       CO     90008592466
67885694681675   MARISELA        BALDERRAMA                MO     90008416946
67887213191562   ALMA            PALACIOS                  TX     90012882131
67887392991863   RICH            KEELEY                    OK     90001543929
67887758981675   AMANDA          MOORE                     MO     90012637589
67889358691998   CLAY            FAULKNER                  NC     90013643586
67889884585689   SAMUEL          ALVARAZ                   NJ     90010838845
67891384191998   MALIKA          DUHART                    NC     90004043841
67891591655977   SUZANNE         MONTOYA                   CA     90009815916
67892476381675   DAMON           DANIELLS                  MO     90011124763
67892939561936   IRMA            GRANADOS                  CA     90004389395
67893977561936   SASHA           MILITSHA                  CA     90014139775
67894775285689   CLAUDIO         PASTRANA                  NJ     90006767752
67896183161964   CYNTHIA         CAMACHO                   CA     90006801831
67897338171964   KEVIN           MACDONALD                 CO     90004043381
67898172855977   TIFFANY         OROSCO                    CA     49061691728
67899728361936   BRYAN           BAUTISTA                  CA     90002797283
67912333291998   ASHANTI         THOMAS                    NC     90015013332
67913844255977   PHAYTHOON       PONSANOUPHIT              CA     90014388442
67914331797943   CHERMECE        WHITE                     TX     90014943317
67914791381644   ROCKY           BRADLEY                   MO     90013617913
67915972955977   ANGELICA        DELGADILLO                CA     49026539729
67916368661936   KENNETH         JOHNSON                   CA     90013623686
67917752684392   IESHA           LINEN                     SC     90003447526
67919363761936   CARLOS          QUEZADA                   CA     46054033637
67921261291562   BRANDON         WARD                      TX     90014972612
67922346584392   CHERYL          GAYNOR                    SC     90005243465
67922378255973   SYREETA         CLARK                     CA     48006843782
67922775755973   CRISTINA        OSORIA                    CA     48064287757
67923112984392   MICHELLE        MONROY                    SC     90007771129
67924651491525   EDDIE           ALCALA                    TX     75030316514
67925749591522   LILLIANA        SORIANO                   TX     90004167495
67927227571921   MARCA           DEL GUERCIO               CO     32031602275
67928235491522   CYNTHIA         RODRIGUEZ                 TX     90012232354
67933551591998   JOSE            RIVERA                    NC     17046445515
67933873561936   OMAHAR          CLARIDAY                  CA     90015168735
67934215791562   IDA             MUNOZ                     TX     90012882157
67934549455973   ANGELICA        GONZALES                  CA     48056055494
67934845261936   ALFONSO ROMAN   LOPEZ                     CA     90009678452
67936576771921   JULIA CESAR     VALLADARES                CO     90007685767
67936936293753   BRENT           APPLIN                    OH     90008399362
67936989971964   PAULA           HAYES                     CO     32080479899
67937875671921   STEPHANIE       JORDAN                    CO     90014628756
67938431355977   YER             THAO                      CA     49001804313
67938864155973   MARCOS          PEREZ                     CA     90013158641
67939791181644   TERESA          THOMAS                    MO     29080967911
67939888355973   VICTOR          OSORIO                    CA     90014848883
67941746161936   IRMA            PEREZ                     CA     90015157461
67941782286438   ANTONIA         PETERSON                  SC     90015367822
67942725291998   ELSIE           ANGEL                     NC     17072667252
67942879355977   RUBEN           CAMACHO                   CA     49032988793
67943251491998   TRACEY          TOBIAS                    NC     17062602514
67944955171921   JUSTIN          JOSLIN                    CO     90012469551
67945174371921   TERRELL         DALTON                    CO     32089271743
67945195955977   VERONICA        MARTINEZ                  CA     49084371959
67945751661936   JESUS           LUIS                      CA     90005217516
67946535481644   SYKEYA          HORN                      MO     90003205354
67946812355977   KRISTOPHER      KIRCHNER                  CA     90013098123
67947666191998   FRANCOIS        SERUSHYANA                NC     90013976661
67948184426758   JAMAL           MARKS                     PA     90013101844
67949862581644   MELISSA         SHINN                     MO     90015118625
67949886255973   JESSICA         KEARNEY                   CA     90007528862
67952445291562   TANIA           LARA                      NM     90000484452
67952548491522   CELIA           ORTIZ                     TX     90005565484
67953473381675   PATRICIA        MILLS                     MO     90013444733
67954445691562   MICHAEL         FEAMSTER                  TX     90014654456
67954684391562   JESUS           JAQUEZ                    TX     90012136843
67955338293728   ROSE            PARKER                    OH     90003073382
67957251171964   LORI            GERDIS                    CO     32087672511
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67957263655977   TYNIKA        MCCRAY                      CA     90010842636
67957557691522   ESMERALDA     ORNELAS                     TX     90013725576
67959334791522   THANIA        QUINONES                    TX     90011803347
67962753761936   SANDRA        AMARO                       CA     90014077537
67963156191562   AVELINO       VELEZ                       TX     75043061561
67965147191522   YVONNE        MOJICA                      TX     90013861471
67965196591998   GREGORY       BLEDSOE                     NC     17060261965
67965543991562   MARGARITA     SALAZAR                     TX     90004775439
67966426591522   MARIA         RODRIGUEZ                   TX     75025074265
67966573691562   JUAN          LEYVA                       TX     90012175736
67967996281644   ROBERT        EVANS                       MO     90002049962
67969399271921   BRANDON J     BALLIETT                    CO     90009833992
67972468291522   SAMUEL        BISHOP                      TX     90014884682
67973851991522   SORIA         MARIA                       TX     90009618519
67973975291522   BREANNA       CERVANTES                   TX     90012819752
67975119271964   FABIAN        BACA RAMOS                  CO     32069211192
67976135555977   EDGAR         LOPEZ                       CA     90001591355
67976547551354   YEHIRI        YANEZ                       OH     66034755475
67976919561936   KRYSTAL       BROWER                      CA     90001659195
67977425555977   NANCY         LOPEZ                       CA     90013734255
67978221571921   CHELSEA       WHITE                       CO     90013962215
67978256681644   ROBIN         MOORE                       MO     90008232566
67982644651354   CRAIG         SPARAGAS                    OH     66068456446
67982851755977   JUANA         VEGA                        CA     49000308517
67983186591998   ANDREY        SUDIRO                      NC     90012071865
67983455284392   SHARNIQUE     BROWN                       SC     90014724552
67983486871921   JUSTIN        JONES                       CO     90015034868
67986314881675   CARISSA       WARFIELD                    MO     29086273148
67989578561936   MEHARI        GEBREMESKEL                 CA     90002185785
67991461584392   NORMA         ABADIA                      SC     90014834615
67991961191522   MARIA         WILLIAMS                    TX     75057869611
67992653585646   ELISEO        REYES                       NJ     90011556535
67992885191998   GARY          MOORE                       NC     17075388851
67992944231423   PAMELA        ROBINSON                    MO     90006289442
67993775561964   TERESA        ROJAS                       CA     90014627755
67995449651331   MATHEW        BATES                       OH     90013324496
67995491931445   STEPHANIQU    MEREDITH                    MO     27592614919
67998542371964   YAMAI         LIMA                        CO     32080395423
67998898191522   CLAUDIA       RAMIREZ                     TX     75095928981
68112792161964   SALVADOR      SANTIAGO                    CA     90010407921
68112895555975   JOSE          FARIAS                      CA     90014458955
68114722755973   JUANA         SERRANO                     CA     90011967227
68114728591923   YOLANDA       BONILLS                     NC     90004327285
68114867571964   COLE          JOHNSON                     CO     90014688675
68115143655973   GEORGE        REYNOLDS                    CA     90014271436
68116119755975   ALONZO        JOHNSON                     CA     90013011197
68117337771964   NALLELY       OROS                        CO     90004503377
68118278291998   BREON         SCARBOROUGH                 NC     90006022782
68119654991562   ANDREA        GOMEZ                       TX     90012846549
68119684855975   ANDREA        CORNEJO                     CA     48010426848
68121178261936   EMMANUEL      KINGSAM                     CA     90009641782
68121241891562   GUADALUPE     MOORE                       TX     90013202418
68121528271964   DEANDRE       SULLIVAN                    CO     90010215282
68121578855973   JOHN          MOORE                       CA     90009385788
68122771561964   JOSE RAMIRO   CASTRO GARCIA               CA     90011127715
68122895555975   JOSE          FARIAS                      CA     90014458955
68123461671964   KAZI SUMS     ZUBAIR                      CO     90013174616
68123464891562   MARIA         HERNANDES                   TX     90000604648
68126231591562   AURELIO       GOMEZ                       TX     90011962315
68128955491562   AURORA        MEDINA                      TX     75054279554
68129739791562   EDNA          GARCIA                      TX     75009007397
68129996371964   SHANNON       MYERS                       CO     90002359963
68131775681644   CHRISTOPHER   DAYBERRY                    MO     90012787756
68133574455973   SAMANTHA      CASTELLANOS                 CA     90012055744
68133662555975   MARISOL       RANGEL                      CA     90014786625
68134227391562   SANDRA        MARTINEZ                    TX     75088742273
68134358971964   THOMAS        TRUAX                       CO     90013033589
68139611755973   MONICA        MALDONADO                   CA     90014826117
68139692155975   JAMES         LAYMAN                      CA     90014786921
68141457993728   MONICA        BEACH                       OH     90000184579
68142218871921   MICHAEL       DELEON                      CO     90013762188
68142651361964   JAZMIN        GARCIA                      CA     90014456513
68142863671964   CONNIE        MCBROOM                     CO     32070478636
68146379591562   ADRIAN        GRADO                       TX     90013573795
68147813651354   DARRYL        JOHNSON                     OH     90013828136
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68149714971964   MAURICE              MCCLAIN              CO     90001677149
68153466991562   LILIANA              RODARTE              TX     90001484669
68154151341273   KYLIE                LINK                 PA     90002351513
68155541891562   AURORA               KROLL                TX     75050245418
68156283171921   VYNNESSA             ODOM                 CO     90009532831
68156378171964   JOSE                 BETANCOURT           CO     32081183781
68156991555975   JOSE                 MORALES              CA     48070079915
68157451371964   KEYRO                SALAZAR              CO     90013034513
68157721671921   DONNA                SCHMIER              CO     32065397216
68158696771964   KIMBERLY             BLAKLEY              CO     90014406967
68159528271964   DEANDRE              SULLIVAN             CO     90010215282
68161989455975   ISAIAH               MARTINEZ             CA     90011099894
68162388181644   LISA                 BOGGS                MO     90013643881
68163936991522   MICHAEL              COLON                TX     90011139369
68164726851354   NICHOLAS             SIMMONS              OH     66073877268
68165446791522   ROSALINDA            FLORES               TX     90003144467
68166482461964   VERONICA             LORA                 CA     90000344824
68166567951354   JOHN                 BEDELL               OH     90013165679
68169266155975   CLARA                CARBAJAL             CA     90014792661
68169466861964   ANA                  PEREZ                CA     90014694668
68169612971964   SANDRA               MOORE                CO     90007266129
68171342991562   ELIZABETH            AGUIRRE              TX     90004933429
68173876584392   KIA                  HOWARD               SC     90009968765
68174255461964   JESSICA              BELTRAN              CA     90011992554
68174542261964   MARIA                TORRES               CA     46081985422
68176343755975   ANTHONY              DOMINGO              CA     90014793437
68177461781675   DORA                 SANDERS              MO     29056584617
68177668881644   DEIDRA L             CHATMAN              MO     90013006688
68177699191522   ARACELI              CASTANEDA            TX     75057996991
68177822391562   JANETH               HERRERA              TX     90012788223
68178513291522   AURELIA              PAEZ                 NM     90012735132
68178528271964   DEANDRE              SULLIVAN             CO     90010215282
68178666355973   ANA                  VALENZUELA           CA     48016466663
68179343755975   ANTHONY              DOMINGO              CA     90014793437
68181138471921   VANESSA              LOPEZ                CO     90011931384
68181651755975   KRIS                 LINDLEY              CA     48060686517
68181669447992   KRYSTALINE           HOFER                AR     90012026694
68182289261984   SEAN                 SALINAS              CA     90013072892
68183667461964   JAIME                CASTILLO             CA     46066596674
68183969271964   TIZOC                RODRIGUEZ            CO     90011489692
68184392255975   MARIA                ESCALERA             CA     90009133922
68184771771964   BRITNEY              HOFFPAUIR            CO     90009157717
68185737384392   ANGELA               LEE                  SC     19088137373
68186157855975   FORTINO              URIBE                CA     90011001578
68188666563622   LINDSEY              PIRTLE               MO     27583146665
68189786755973   MAYRA                NIETO                CA     90013307867
68192486351388   SANTANA              HURT                 OH     90005444863
68192776886435   AZHAN                GAMBRELL             SC     90014147768
68193746855975   ROGELIO              RESENDIZ             CA     90005547468
68194251791522   MARCELA              VARELA               TX     75020002517
68195529555975   AURORA               TERRIQUEZ ZAMORA     CA     90014795295
68195671281644   ANTONIO              HERNANDEZ            MO     29079016712
68196834261936   JESUS                GONZALEZ             CA     46017198342
68196943771964   MYRIAH               AMSDEN               CO     90010409437
68198499555973   JULIA                MARTINEZ             CA     90009324995
68199113291522   PEDRO                AVILA                TX     90015211132
68212925671921   SALVADOR             CHAVEZ               CO     90013289256
68213257455975   JAMIE                BRANNON              CA     48010622574
68213726471921   CECEE                GUTIERREZ            CO     90011917264
68216572561964   EMILIA               RODRIGUEZ            CA     90015135725
68217633455975   JESUS                VILLAGOMEZ           CA     90014796334
68218763791562   OSCAR                LUCERO               TX     90014897637
68219945584327   TYRONE               VANISH               SC     19070909455
68222791271964   LEO                  DAUGHERTY            CO     90013637912
68223557481644   MARIO                REED                 MO     29087195574
68223731555975   FEDERICO             REYES                CA     90014797315
68225654591522   ROSARIO              TALAMANTES           TX     75047276545
68226395655973   JERONIMO             MALDONADO            CA     48047493956
68227492461964   ALMA                 RICO                 CA     90003744924
68227951751354   LEMMA                BEDADA               OH     90013409517
68229174161964   CHRISTIAN            PAUL                 CA     90002201741
68229271755973   DANIEL               HERNANDEZ            CA     90012672717
68231369471921   EREDIRA AND ALEXIS   OSUNA                CO     90012633694
68231964871964   PEACHES              MCENNIS              CO     32078659648
68232981171964   JASON                CARREON              CO     90013039811
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68233281181644   MAURICE        DAVIS                      MO     90013262811
68233678381644   MORRIS         DAVIS                      MO     90008076783
68235264855973   GERARDO        FLORES                     CA     48005962648
68235755181644   CANTIS         WILLIAMS                   MO     90007667551
68239435261964   SHIRL          BARTLETT                   CA     46031054352
68239462955975   HAYLEY         SWEENEY                    CA     90013124629
68239677571964   GARY           CROSS                      CO     90013376775
68241596971964   MICHELE        TOMORWITZ                  CO     32073795969
68241632285949   DEBRA          MURDOCH                    KY     90007866322
68241673284392   BRYAN          AGUILAR                    SC     90010346732
68243283655975   LAURA          GUTIRREZ                   CA     90011182836
68244916133698   MIGUEL         NUNEZ                      NC     12079879161
68246189397122   VIRGILIO       CRUZ ALONSO                OR     90010611893
68247556571921   CHET           ROANE                      CO     32075315565
68247644291562   MIGUEL         MARTINEZ                   TX     75057756442
68247668155973   KHAM           KHAMSOUK                   CA     90014816681
68247694571964   DEREK          JONES                      CO     90011876945
68248914355973   SHANNON        GENTRY                     CA     90001579143
68249681355975   LAURA          ALCANTAR                   CA     90010276813
68249784271921   TONYA          DIEHL                      CO     90011067842
68249932461964   GUIL           MURRIETA                   CA     46018709324
68251212471921   ARWORN         HAMILTON                   CO     90014612124
68251213277533   SARAH          BRADLEY                    NV     90002132132
68251961771964   ROMEO          ROMERO                     CO     90013049617
68252649171964   CESAR          CHAVEZ                     CO     90012256491
68253876171921   JAMES          HARRELSON                  CO     90013478761
68254332255973   ZACHARY        LULWITZKY                  CA     90010113322
68257181271921   JASHUA         WINNEY                     CO     90012451812
68258542861964   GLADYS         CRUZ                       CA     90001715428
68258641561936   RANDY          LEWIS                      CA     90003696415
68259357881644   MARKEES        JACKSON                    MO     90008993578
68263317571964   LORENA         RODRIGUEZ                  CO     32058713175
68264116955975   FELIX          FUENTES                    CA     90014871169
68264548755993   VICTOR         RODRIGUEZ                  CA     90008795487
68267439381644   TERRY          MARCUS                     MO     90014844393
68269258357595   KOURTNEY       MADRID                     NM     90015062583
68269282871964   MARIA          BAEZA                      CO     90008242828
68271171751352   DOLORES        UNGERBUEHLER               OH     90001991717
68271788961936   TINA           DARROW                     CA     46088217889
68272281261964   MITZI          MARTINEZ                   CA     90000782812
68273986477375   BECKY          JAMES                      IL     90008059864
68274491861964   OSIRIS         COLIN                      CA     90010124918
68274817171964   MICHAEL        CLARK                      CO     90011008171
68275785161558   COLINA         BAKER                      TN     90014537851
68277693351374   RICKIE         WEST                       OH     90012646933
68282336471921   MARIE          MENDOZA                    CO     32035583364
68284169555973   MANUAL         ALCARAZ                    CA     90013181695
68285891951354   COURTNEY       DRAKE                      OH     90007658919
68286122855975   MARK           HENRY                      CA     90014861228
68286841855973   ALEJANDRA      CARREON                    CA     90010918418
68287739971964   MARCUS         MARK                       CO     90009577399
68288179181474   TREVOR         FRENCH                     PA     90014121791
68288771391943   ALICIA         HYMAN                      NC     90015077713
68289427281644   MARVENA        JONES                      MO     90014834272
68289991491894   KATRINA        CRICK                      OK     90001589914
68292581471964   JOHN WILLIAM   VANDERVERE                 CO     90011665814
68293433555975   FRANCISCO      MENDEZ                     CA     90013034335
68294262155975   PATRICIA       CHOLNOP                    CA     90001882621
68294521751354   SIDNEY         SHAUNTEE                   OH     90005585217
68294853271964   BARBARA        HENDERSHOT                 CO     90013098532
68296257691562   SANDRA         VERDIER                    TX     90009272576
68298472855975   TELLE          MECUISTIOS                 CA     90011244728
68312919871964   JOHNNY         RALSTON                    CO     32015939198
68313555155973   PATRICIA       CRUZ                       CA     48030915551
68313732255975   DOLORES        CORTEZ DE VEGA             CA     90014927322
68313955941258   RAM            HARI                       PA     90010269559
68314251791522   MATTHEW        ALMANZAR                   TX     90005522517
68321344361964   CUAHTEMOC      ORNELAS                    CA     90014463443
68327219155975   JOSE           VALDAVINO                  CA     90011532191
68327887671964   JAMIE          CHAVEZ                     CO     90002878876
68332891281644   RACHEL         SMITH                      MO     90013518912
68334398791562   ROGELIO        ARREOLA                    TX     75021303987
68337445725226   KENYA          PERRY                      NC     17001924457
68339666155975   JAMES          MATHEWS                    CA     48065076661
68342672557538   TOMAS          CLARK                      NM     90005136725
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68342689461964   IRMA           QUEZADA                    CA     46084286894
68342814971964   AISHA          CHAMBERS                   CO     90013068149
68344376255975   NANCY          VANKHAM                    CA     48023553762
68344575891562   ROBERTO        PEREZ                      TX     75008465758
68345775481644   WILLIAM        WIGGS                      MO     29053677754
68346164471964   MICHAEL        SMITH                      CO     90014271644
68347154361936   ARMANDO        OCHOA                      CA     46051891543
68347567355975   LAURA          MACHUCA                    CA     90014935673
68348617955973   MARISSA        VALDEZ                     CA     48088736179
68349372661964   ASCENCIO       PADILLA                    CA     90013623726
68351726591535   DAILA          SALINAS                    TX     90014957265
68354269671921   LEROY          ATENCIO                    CO     90008932696
68354297521652   JAMES          WELCH                      OH     90013942975
68357127655973   STEVEN         SMITH                      CA     90013991276
68357611691562   RAMON          VASQUEZ                    TX     90015186116
68357619355975   MARICELA       SANCHEZ                    CA     90014936193
68358154671964   JAMI           THOMAS                     CO     90014251546
68359311391562   JUAN           GUTIERREZ                  TX     90004253113
68361517355975   ALICIA         GUILLEN                    CA     90014485173
68362975391363   SUSAN          EICKHOFF                   KS     29061259753
68363619355975   MARICELA       SANCHEZ                    CA     90014936193
68363859871964   JERRY          BEAN III                   CO     90013098598
68363975391363   SUSAN          EICKHOFF                   KS     29061259753
68364327871964   WILLIAM        SMITH                      CO     32040433278
68366367355975   GLORIA         MENDEZ                     CA     90012353673
68366741791562   ROSA           ZUBIA                      TX     90011467417
68369519957124   EDWIN          TEJADA                     VA     81015985199
68369582555973   OIDIA          PELAYO                     CA     90001645825
68369872571964   HARRY          HOLTON                     CO     90006908725
68372885891562   TRACY          STANWICK                   TX     90014208858
68374218371921   VERNELL        BROWN                      CO     32019572183
68374642271964   BIANCA         MENDOZA                    CO     90013076422
68374678455973   VANESSA        ALOVERA                    CA     90015506784
68376738857538   MAESTAS        ELIZABETH                  NM     90004597388
68376849355975   ELISABET       GARCIA                     CA     90002298493
68378471281644   HEATHER        HASSLER                    MO     90014834712
68378869381644   ARNULFO        GOMEZ                      MO     90003858693
68379837955975   NOEMI          ORTIZ                      CA     90014938379
68382216181644   RYONITA        BYERS                      MO     29040302161
68384964955973   CINDY          MARTINEZ                   CA     90013909649
68385228855975   MARIA          OROZCO                     CA     90004342288
68386353751354   JAMES          KING                       OH     90014153537
68386775491562   EDGAR          DEVORA                     TX     90012927754
68386799661964   JULIO          SALDANA                    CA     90014447996
68387894884392   JENNIFER       FORDYCE                    SC     19025828948
68388883655975   MARIA          TEJEDA                     CA     90014938836
68391664751354   TALIKA         DENNIS                     OH     90012856647
68393151261936   GUSTAVO        CRUZ                       CA     90006511512
68393829151354   SHANNON        ALESHIRE                   OH     90002288291
68395727855973   JUAN           GARCIA                     CA     90010457278
68396295981644   KARLA          DELEON                     MO     90008512959
68396693571921   ELIZABETH      PERKINS                    CO     90011056935
68396844161964   MELISSA        RANDALL                    CA     46013558441
68399652681644   ASHLEY         BYRED                      MO     90015096526
68411148561944   DESTINY        PANGANIBAN                 CA     90012811485
68411951971921   HOLLY          SMITH                      CO     90012899519
68413398561964   NATALIE        NOCHCHALAD                 CA     90008963985
68413561591562   LORENZO        ARROYO                     TX     75008845615
68414352871921   DARIONE        COLE                       CO     90014613528
68417711471964   MARK           BELL                       CO     90013077114
68418639455975   MIGUEL ANGEL   GUZMAN LARA                CA     90010996394
68421467155973   JUAN           GARZA                      CA     90010764671
68421495671921   SUSAN          THOREN                     CO     90013924956
68422522581644   JAMES          WILLIAMS                   MO     90011495225
68423271881644   JASON          ROLL                       MO     90008802718
68424632255973   GABRIELA       SANCHEZ                    CA     48048756322
68424688661936   SHANDA         WILSON                     CA     90013466886
68425999351354   KIRK           BURNETT                    OH     90000969993
68426819757595   PAYGO          IVR ACTIVATION             NM     90010978197
68429927391521   NELLY          FIGUEROA                   TX     75026179273
68433169351354   COLLEEN        ROESCH                     OH     66094561693
68433795471921   LAUREN         BERKBUEGLER                CO     90012247954
68435244591562   MICHELLE       TARANGO                    TX     75057822445
68435754351354   DELORIS        CLARK                      OH     90013197543
68436825291562   JOSEPH         DELGADO                    TX     90015198252
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68436974491562   VICTOR        GOMEZ                       TX     90005169744
68437588261964   AARON         GONZALEZ                    CA     90015195882
68441962655973   BERNARDO      VASQUEZ                     CA     48081039626
68442761191562   ANGELICA      RIVERA                      TX     75065897611
68442926651354   DAVID         HILL                        OH     90010659266
68443436981644   RAMON         MARTINEZ                    MO     29088854369
68444895581675   BRIANNE       MILLIGAN                    MO     29079738955
68446726971921   TINA          COULTER                     CO     90001327269
68448628971921   YOLANDA       PINA                        CO     90010676289
68454556491562   ROBERT        SANCHEZ                     TX     90015425564
68458429751354   SHANNON       MURPHY                      OH     90014964297
68458841755975   TERESA        FACIO                       CA     90002118417
68459116785667   ALFREDO       HERNANDEZ                   NJ     90014841167
68459476384392   FIDEL         GOMEZ                       SC     19010054763
68462189755973   LUIS          HERNANDEZ                   CA     90005951897
68462466271964   CHERYL        MASTERS                     CO     90013084662
68462533184392   NEYOKO        WHITAKER                    SC     90007975331
68463796257538   BEATRICE      RAMIREZ                     NM     90005157962
68465628355973   RAFAEL        GONZALEZ                    CA     90013176283
68465855771964   GARY          LUCERO                      CO     90013078557
68469681941299   CAROL         STARKE                      PA     90002136819
68471316291562   RICARDO       MENDEZ                      TX     75009773162
68471631971921   BRANDI        GARCIA                      CO     90015216319
68472631971921   BRANDI        GARCIA                      CO     90015216319
68472695991994   JAMES         WASHINGTON                  NC     90011336959
68474466271964   CHERYL        MASTERS                     CO     90013084662
68474923157538   EDIT          TORRES                      NM     35579539231
68475698438522   SARA          BARNEY                      UT     90011356984
68475744351354   LAURA         WILLIAMS                    OH     90013627443
68479489981644   CHRISTINA     APPLEGATE                   MO     90012644899
68479686161964   SEAN          GORDON                      CA     46030836861
68481714471964   MICHAEL       PACHECO                     CO     90014557144
68483395257538   LUCERO        JUDY                        NM     90003233952
68483457481644   STEPHANIE     CONLEN                      MO     90014834574
68485937881644   KATELUND      HOUGAS                      MO     29038149378
68487382861964   SALINA        DELARGE                     CA     46017683828
68487747961934   VERNON        FISHER                      CA     90011577479
68487975171921   MARK          FREUND                      CO     32087859751
68489866991923   LEKISHA       TORAIN                      NC     90005648669
68491644361559   PAYGO         IVR ACTIVATION              TN     90010946443
68493135771964   BRIAN         GRANT                       CO     90009571357
68496323855975   DE JESUS      JOSE                        CA     90003083238
68496443271964   ESPERANZA     GONZALEZ                    CO     90014524432
68497554561936   ENRIQUE       IBARRA                      CA     46017355545
68499853455973   MARIA         SANTANA                     CA     90010498534
68499965271921   A             VELASQUEZ                   CO     90011969652
68511727755975   ERNESTO       LEMUS                       CA     90002357277
68512334861558   KENDRICK      DAVIS                       TN     90015363348
68513713855973   GUADALUPE     IBARRA                      CA     90004807138
68514627961964   ELVIA         PADILLA                     CA     46019186279
68515381161994   JAIME         CAMARENA                    CA     90007993811
68518313471921   JESSICA       RAMSEY                      CO     90007843134
68519925661964   LAURA         AVILEZ                      CA     46061959256
68521618871964   KAYLA         BOWERS                      CO     90013086188
68523613991522   JULIAN        VELAQUEZ                    TX     90004256139
68525315251354   SHARON        BLUNT                       OH     90013533152
68525435255973   ANTHONY       VARGAS                      CA     90012604352
68525884271921   DANA          IKENER                      CO     32040188842
68526677851354   WILLIAM       BAKER                       OH     90000626778
68527724855977   EMELIA        DIEGO                       CA     90004157248
68528417333659   OFELIA        RIVERA                      NC     90015214173
68529716855973   MARIBEL       LOPEZ                       CA     90014527168
68529751755975   MARIA         GONZALEZ                    CA     90002727517
68529832455973   JACI          HERNANDEZ                   CA     90015328324
68532264361964   STEPHANIE M   BARCENAS                    CA     90013052643
68533633671921   HANNAH        HALE                        CO     90014406336
68535492161924   VICKI         COOPER-MURPHY               CA     46055144921
68535585971964   CRYSTAL       BERNHART                    CO     32034965859
68536335551354   CHANDRA       FAIRBANKS                   OH     90010003355
68539169161964   DOMINIQUE     MALLORY                     CA     46097261691
68542113655975   ALBERT        DURAN                       CA     90011961136
68544515963634   PAYGO         IVR ACTIVATION              MO     90013495159
68544875151354   SANDRA        SCHULER                     OH     66084608751
68548797761964   LUIS FELIPE   GONZALEZ                    CA     90011307977
68548975951354   BETH          WEBSTER                     OH     90001699759
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68549341771921   LAHOMA        MOSELEY                     CO     32074673417
68553479691562   EDDIE         NARVAEZ                     TX     75050404796
68553654655975   CHRISTINE     AUGUSTINE                   CA     90011036546
68554229155993   CECILIA       LARES                       CA     48010992291
68554425191969   TANIKA        BYRD                        NC     90010614251
68556758771964   ESTEVAN       CANO                        CO     90014097587
68557797361964   JESUS         CRUZ                        CA     46036577973
68563892191562   ENRIQUE       ESPINO                      TX     75044518921
68564757951322   ELLEN         WOOD                        OH     66097017579
68564944484322   SHONTAE       WEBB                        SC     90013999444
68566539433656   CORY          BYRD                        NC     90013975394
68566937191535   ELVIRA        HERNANDEZ                   TX     75094799371
68567498655973   ALEJANDRA     LOPEZ                       CA     90009384986
68568458391562   MARIA         GUTIERREZ                   TX     90010064583
68569492891562   PAULINA       ALMADA                      TX     90012174928
68569782451354   VALESSIA      WISE                        OH     90005277824
68571429761964   JOSE          GALLARDO                    CA     46046454297
68571486747825   DAAIYAH       SALEEM                      GA     90012454867
68571722291359   SOLEDAD       CHAVIRA                     KS     29013787222
68573448971964   SOYIN         PETPRADITH                  CO     90002024489
68573889684392   TIFONEE       EPPS                        SC     19016028896
68574344371964   AVERY         LEE                         CO     32067203443
68574374661936   CHRISTOPHER   VALMA                       CA     90006513746
68574618491522   GILBERTO      TORRES                      TX     75010146184
68574962171921   DONNA         WAGNER                      CO     32059899621
68575113655973   ROBERT        YOUNG                       CA     90008341136
68575344371964   AVERY         LEE                         CO     32067203443
68575421671921   KELLY         HICKS                       CO     90013154216
68576229455975   JACKY         CORTEZ                      CA     90009652294
68577341871921   ANGEL         PARKS-MATTHEWS              CO     90011003418
68577824191986   JEANINE       NGANGOLA                    NC     17070408241
68578412671964   ABRAHAM       AVILA                       CO     32049264126
68579647981644   KAREN         BLONG                       MO     90012116479
68585382151354   CODY          BOLDEN                      OH     90013813821
68585517271921   TULLY         STUFFELBEAM                 CO     32076195172
68585642461964   HILDA         RAMOS                       CA     46025816424
68585688877568   MICAELA       ZEPEDA                      NV     90012606888
68587757391562   LUPE          HERRERA                     TX     75088667573
68589619281644   MISTY         BECHTOLD                    MO     29002186192
68589624271964   JOSEVELYN     MORALES                     CO     90014466242
68591528991259   BEVERLY       BENNETT                     GA     90002505289
68591547991522   RUBEN         GOMEZ                       TX     90005525479
68591798255973   ASHLEY        YOUNG                       CA     90013487982
68591839671964   JOSEPH        ABSHIRE                     CO     90013088396
68591981181675   ROGELIO       RAMOS                       MO     29002049811
68593371557124   JUAN          CRUCES                      VA     90007683715
68593421871964   MELISSA       ARMSTEAD                    CO     90009594218
68593798461964   CARMEN        MENDOZA                     CA     46003947984
68594341655975   MARIA         CABRERA                     CA     90002683416
68594524891562   ALMA          HERNANDEZ                   TX     75082125248
68594547991522   RUBEN         GOMEZ                       TX     90005525479
68595817691527   MELISSA       VELASQUEZ                   TX     90009338176
68596748271964   EDDIE         BLACK                       CO     32001737482
68597346491562   JULISSA       GUILLEN                     TX     75071663464
68598458691562   DOMINIQUE     MONTEROS                    TX     90014094586
68598538381226   LOUIS         SMITH                       IN     90014785383
68611287951354   BEVERLEY      DEBRUSE                     OH     90011322879
68611936371921   KATHY         TAYLOR                      CO     90009629363
68612285371964   TINA          GETTMAN                     CO     90006372853
68612567655975   OLIVER        MARTINEZ                    CA     90009445676
68612692757595   DEBBIE        BACA                        NM     90014216927
68613855551354   MYRON         HAMPTON                     OH     66043778555
68614872971964   VANESSA       MONTES                      CO     90010928729
68615369255973   DAVID         SPIER                       CA     90010313692
68617472471964   VINCENT       LOVATO                      CO     90015134724
68618527155973   DENNIS        DORADO                      CA     90007895271
68622966785939   TIFFANY       DAGETTE                     KY     90001629667
68622993851354   LIBERTY       BURNS                       OH     90003979938
68623365381644   TYE-LEKA      MILLER                      MO     90014303653
68626152181675   KARINA        BERNAL                      MO     29011601521
68626853271964   BARBARA       HENDERSHOT                  CO     90013098532
68632566184392   CAROL         KARESH                      SC     19072595661
68634862371964   DAVID         WHITCOMB                    CO     32067208623
68635398571921   LISA          TAFOYA                      CO     32019403985
68635635155973   ANTONIO       GARZA JR                    CA     48043356351
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68636343855973   BARBARA      VANHOEK                      CA     90013203438
68637157955973   RUDY         CAVAZOS                      CA     48033721579
68638894861964   RON          SMITH                        CA     46074778948
68643369461936   RICARDO      FERNANDEZ                    CA     46062313694
68644677393762   TREMAYNE     ADAMS                        OH     90012356773
68646211861964   CELESTE      DELGADO                      CA     90015232118
68646628755969   DENNIS       ELIA                         CA     90012776287
68656474955981   OSCAR        RAMIREZ                      CA     90014074749
68656593161991   AUSTIN       LOVETT                       CA     90011285931
68657635571964   MARK         LUCAS                        CO     90015006355
68657784761964   NIKI         TORRES                       CA     90010537847
68659511455973   BRANDEN      CARTER                       CA     90005525114
68659996171964   PATRICIA     PARKER                       CO     90010809961
68661487691562   ABRAHAM      SEGURA                       TX     90010564876
68662318955973   JUAN         GRANADOS                     CA     48048773189
68665791161936   MANUEL       PRADO                        CA     46017447911
68667663584392   JAMES        CARRIGG                      SC     19038086635
68667979851354   FELICIA      TOWE                         OH     66052669798
68669214551354   VINESIA      BREWER                       OH     90014002145
68669236371964   JAVIER       DOMINGO                      CO     32051902363
68676687155973   ATONIO       TONGA                        CA     90012016871
68677653491834   TRISTA       GOULD                        OK     90009896534
68678653381644   DANIEL       LAKE                         MO     90012906533
68679942571921   MICHAELA     GOEBEL                       CO     90014949425
68681849855975   MARIELA      ESTRELLA                     CA     90005738498
68681982351354   MICHAEL      MARTIN                       OH     90013599823
68682252971921   RACHEL       HAZEL                        CO     90011952529
68683167761964   PERLA        GARCIA                       CA     46083921677
68683892471964   HENRY        COTHRAN                      CO     90008278924
68685317571964   MARIA        REYES                        CO     32006513175
68694268891562   SORAYA       MARISCAL                     TX     75003462688
68699627871964   DAMIAN       CHARLES                      CO     32095306278
68699988851354   TABATHA      WOLFE                        OH     90014579888
68711284191562   NOHEMI       OSTOS                        TX     75036962841
68711683691359   ARMANDO      GALVAN                       KS     90011626836
68711831751354   LISA         PADGET                       OH     90011408317
68712769441258   ERICA        WILLIAMS                     PA     90005097694
68714743955975   MELISSA      RAMIREZ                      CA     48016317439
68716862851354   LISA         RATLIFF                      OH     66035568628
68718815961964   EDWARD       DANOW                        CA     90011968159
68719611681644   NICOLE       DONATO                       MO     90014136116
68719842591562   CESAR        SERRANO                      TX     75088638425
68719949161964   ANTHONY      OPESKY                       CA     90014759491
68719964357595   MARGARITA    ROBINSON                     NM     90012349643
68721798161936   MICHAEL      HALFORD                      CA     46015427981
68724472471964   VINCENT      LOVATO                       CO     90015134724
68725192861964   VANCE        HIVORAL                      CA     90012321928
68727435255973   ADANARY      GONSALEZ                     CA     90012024352
68728457481644   STEPHANIE    CONLEN                       MO     90014834574
68728935871921   LUCRETIA     COLPITTS                     CO     32006769358
68729481571964   KATHLEEN     KOTTKE                       CO     90010794815
68729947151354   MITCHELL     DEGLER                       OH     90014509471
68732786155973   KEVIN        VASQUEZ                      CA     48041387861
68733675991562   DIEGO        MARTINEZ                     TX     75016886759
68733695455973   MAIRA        MENDOZA                      CA     90012936954
68734544571921   CRISTIANA    LYNN                         CO     90012305445
68735692491522   GRISELDA     ROSAS                        NM     75081766924
68735899691562   GLORIA       PAZ DE PACHECO               TX     90015158996
68737453655973   LUIS         GARCIA                       CA     90013304536
68738477871921   ELVIS        BOSNIC                       CO     90012874778
68746966691998   CARRIE       SHACKLEFORD                  NC     90010609666
68748666281687   LARRY        HARRIS                       MO     90012986662
68748944681687   IDA          COLE                         MO     90014099446
68748992271964   DORIS        RAMOS                        CO     32067229922
68752492951354   STEPHANY     STALLWORTH                   OH     90013764929
68753355861964   VIRGIL       RANDLE                       CA     46067103558
68753793191562   SANDRA       GARCIA                       TX     75035127931
68755224355973   LLUVIA       CHAVEZ                       CA     48076782243
68756592251354   EDWARD       LAHAM                        OH     90005085922
68756755155973   MICHAEL      DILLON                       CA     48041167551
68757227555973   TISA         FORD                         CA     90015102275
68757321891998   ARACELIS     CABRERAS                     NC     90005863218
68757798891562   RAQUEL       ZUNIGA                       TX     90000387988
68759862955983   KRISTINE     SANCHEZ                      CA     90011568629
68762612171921   JAMES        CARPENTER                    CO     32063796121
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68762658361964   JASON        YOCHUM                       CA     90014126583
68763146171964   CEASER       PEREZ                        CO     90008291461
68763639471964   GEREMIAS     HERNANDEZ                    CO     90012346394
68765867557538   EDDIE        TORREZ                       NM     90012368675
68766611985949   ROBERT       MATTHIS                      KY     90010736119
68767427155975   JOE          ANTONIO                      CA     48016504271
68767942371921   MICHAELINE   WHITNEY                      CO     90012169423
68771778484392   JACQUELINE   DANTZLER                     SC     19038187784
68771857961944   JEAN         LCATULA                      CA     90001708579
68772777571921   BRADLEY      MITCHELL                     CO     90014397775
68772971871964   REBECCA      RAY                          CO     90014309718
68773315155973   MIGUEL       MIRANDA                      CA     90009113151
68774918461964   ELOIZA       JUARES                       CA     90004799184
68776322671921   MARIO        CUEVAS                       CO     32051053226
68777187755975   ROSA         LEDESMA                      CA     90005821877
68777363651354   BRITNEY      HOBBS                        OH     90011163636
68779871191942   HOSAM        SHIGLAWI                     NC     90012758711
68781165171921   DAVID        ABEYTA                       CO     90000241651
68783489491998   BRIDGETTE    WILSON                       NC     90004974894
68786744171921   AMI          MCQUILLIAMS                  CO     90005587441
68787636651354   RUDY         GALVAN                       OH     90011076366
68787834355975   HERIBERTO    SOTO                         CA     48082268343
68788157861964   MELISSA      GONZALEZ                     CA     90009201578
68788315155973   MIGUEL       MIRANDA                      CA     90009113151
68789537255973   ROSALINDA    ONATE                        CA     90002385372
68789637551354   RAY          BASTIN                       OH     90010686375
68792549681644   TONY         MAC                          MO     90010865496
68793279481644   EBONY        ROBINSON                     MO     90010912794
68796258191562   ROSA ISELA   SEGURA                       TX     75066102581
68811333261964   GLORIA       MORFIN OCHOA                 CA     90014143332
68813442551354   TYAIR        HODGE                        OH     90012154425
68816976422925   THOMAS       MATHIS                       GA     90014019764
68817488957131   SOFIA        HERNANDEZ                    VA     90002544889
68819486671964   SELMA        HALLS                        CO     90013104866
68821166991552   IRENE        GARCIA                       TX     90007061669
68822389757538   EDUARDO      QUEZADA                      NM     35503263897
68823883461988   RODRIGO      SEWELL                       CA     90002478834
68824454671964   LACIANA      HARDING                      CO     90007404546
68825492891562   PAULINA      ALMADA                       TX     90012174928
68825632171921   FLORENTINO   LOPEZ- PLANCARTE             CO     90012136321
68825846155973   ADRIANA      RIOS                         CA     48015088461
68825914971964   JOSHUA       SANDERS                      CO     90014099149
68827273771921   RYAN         HAYES                        CO     90012432737
68827541651354   ENRIQUE      AIDAR                        OH     90003855416
68827651461964   RAUL         CALIMAG                      CA     90004776514
68828263371921   JENN         SPIELMAN                     CO     90003502633
68831536655975   JOSE         CARDENAS                     CA     90010475366
68832665591562   KIMBERLY     GARCIA                       TX     90014196655
68833869771964   JOHN         FORD                         CO     90007228697
68834227955975   MARIA        BARAJAS                      CA     48042642279
68834447751354   RANDY        LYNCH                        OH     66078374477
68834623591599   LOURDES      MOLINAR                      TX     90011716235
68834987871964   SONIA        ORTEGA                       CO     90014909878
68835343955975   DAVIANNA     MARTINEZ                     CA     90001273439
68835862371964   DAVID        WHITCOMB                     CO     32067208623
68837653971964   STEVEN       CAUDILL                      CO     90011196539
68839136755973   VICTORIA     ESTRADA                      CA     48037531367
68839977861975   RAYMUNDO     GARCIA                       CA     90006749778
68841524171964   KARINA       FRAGOSO                      CO     90013105241
68843531171964   BUTCH        HILLEN                       CO     32095675311
68843671171921   JOHN         ARAGON                       CO     32043356711
68843881191522   MARIA        GANDARA                      TX     75054378811
68844365771964   CRYSTAL      TETIK                        CO     90002153657
68844928471921   ROBERT       ZECHA                        CO     32099629284
68845698777533   KEITH        HERMANN                      NV     43063296987
68846465955973   MARIA        HERNANDEZ                    CA     90015144659
68847167284392   LINDA        WILLIS                       SC     19056481672
68847263157595   ESPERANZA    MEDRAN                       NM     90013822631
68847768191525   ARTURO       CADENA                       TX     90009907681
68848393661964   PAULA        MUNOZ                        CA     90013183936
68848846391535   LLUVIA       CARNERA                      TX     90012038463
68849317491522   MAGDA        GONZALES                     TX     75085143174
68851271571921   AMANDA       SULIVIN                      CO     90014792715
68851318251354   JESSIE       BURTON                       OH     90014593182
68851423881675   DELANA       ROACH                        MO     90005544238
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68851495391562   MARIANA       GANDARA                     TX     75002334953
68853621581644   JUSTIN        MILLER                      MO     90014926215
68853738871921   CHRISTINA     DAME                        CO     32089777388
68854738871921   CHRISTINA     DAME                        CO     32089777388
68856551881644   DAVID         CARPENTER                   MO     29041645518
68858775391562   DANIEL        LUNA                        TX     75096037753
68859326281644   AMY           SNYDER                      MO     90014623262
68861978671921   MARK          KEEL                        CO     90013719786
68863142471964   MELINDA       SAUNDERS                    CO     90014501424
68863972831432   CHEERELL      MILLER                      MO     90014659728
68864168351354   AYDIN         ELIEYIOGLU                  OH     90010761683
68864185757538   JAMES         ALEMAN                      NM     90005551857
68865519655975   JILLYNE       ROWELL                      CA     48017075196
68865639571964   CRYSTAL       LOPEZ                       CO     90004546395
68866524955973   RENE          SANCHEZ                     CA     48023805249
68868159791562   KAREN         JACOBO                      TX     90006181597
68869689781644   SHEENA        JACKSON                     MO     90012456897
68873859471921   RANDALL       KUBIN                       CO     90009548594
68875777181644   JULIE         PFISTER                     MO     29012667771
68876778455973   JOHNNY        DELACRUZ                    CA     90014397784
68878167591522   GUSTAVO       CONTRERAS                   TX     90006571675
68878245571964   KENNETH       COLEMAN                     CO     32051632455
68882219351354   STACY         TURNER                      OH     90012042193
68884431871964   ZACHARIAH     BURT                        CO     90010724318
68885299861936   CYNTHIA       HOGGATT                     CA     46089142998
68886251355975   SHELLIE       LITTLEJOHN                  CA     90005352513
68886579833626   RONALD        CLAPP                       NC     90007885798
68891158457135   EDWIN         SIGUENZA                    VA     90011021584
68892188191522   JORGE         HERNANDEZ                   TX     75000691881
68892935855973   ABRAHAM       GARCIA                      CA     90000109358
68893754471921   JENNIFER      ZEE                         CO     32090547544
68895694961936   KRISTA        PRICE                       CA     46093926949
68895743751354   MOHAMED       YEHDHIH                     OH     90004707437
68895991371921   WINFREDO      SILVA                       CO     90013369913
68897845991923   SOCORRO       CORTES                      NC     90004508459
68898654351354   MARY          WARDEN                      OH     90014306543
68899167255973   JUAN MANUEL   RODRIGUEZ                   CA     90013271672
68899867571921   JANET         DAVIDSON                    CO     32045508675
68911117151354   JAMES         WACHTER                     OH     66090991171
68912718661964   SALATIEL      OCAMPO                      CA     90012897186
68912758861936   CRISTINA      HERNANDEZ                   CA     46017517588
68915424591562   ALFREDO       ALVARADO                    TX     90001984245
68916187755973   VIANCA        FARIAS                      CA     90013611877
68917499155969   DAYSI         MORENO                      CA     90012214991
68917766461964   MICHAEL       SAH                         CA     90015007664
68918811151354   DANNY         PELCHA                      OH     90012098111
68919671971964   JAMES         BURKE                       CO     32015316719
68924673271964   RICARDO       QUINTERO                    CO     90013116732
68925244561586   ANTHONY       HOWSE                       TN     90014412445
68925491971921   LUIS          GARCIA                      CO     90010014919
68929417181675   KEVIN         VAUGHN                      MO     90010214171
68929626685953   ROBERT        CANTER                      KY     90014106266
68931529591522   AMY           TORRES                      TX     90002805295
68933492957595   TOBY          ALLISON                     NM     90014594929
68934483581644   IRENE         GATES                       MO     90009384835
68936796671921   MARKISHA      BRYANT                      CO     90014897966
68938849881644   DARRYL        MITCHELL                    MO     29027678498
68939135985986   JAIME         LANDERO                     CO     90009651359
68939422461964   GAILE         TURNER                      CA     90007794224
68941371681691   ANNA          ORTIZ                       MO     29000883716
68941925991998   TERRI         BYRD                        NC     90005949259
68942657155975   BARBARA       LACY                        CA     48047806571
68943372571921   KARAH         BAZZY                       CO     90003503725
68945574393762   SONYA         WILLIAMS                    OH     90006095743
68949731381644   SHATATA       JOHNSON                     MO     90014867313
68949875657595   TREGOR        DOLE                        NM     90014618756
68949893455975   DANIEL        LEMUS JR                    CA     90000268934
68954621655973   ALEXANDRIA    M                           CA     90009746216
68955663891562   JAQUELINE     GALVAN                      TX     90010286638
68957575271964   JOSEPH        QUINONES                    CO     90008305752
68958284871921   ZACH          POSIK                       CO     32007492848
68959422684392   ARCHIE        GADNER                      SC     90010634226
68962311291572   JOSE          LEOS                        TX     90001273112
68964865457131   LISA          MOBLEY                      VA     90007888654
68965214471964   MARIO         KURRY                       CO     90013732144
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68965719255973   MICHAEL            LIMA                   CA     90009547192
68966797851354   MARY               KOGER                  OH     90013527978
68966827861936   EILEEN             CASTRO                 CA     46017488278
68967269771921   JASON              LAMOUREY               CO     90015152697
68968899461964   ROBERT             HUSTON                 CA     46010808994
68968982971964   SEAN               VITERA                 CO     90013109829
68969863691562   SERVANDO           GANDAL                 TX     90011168636
68971345661936   WONDIMA            KASSA                  CA     90006523456
68971834281644   JEFF               JOHNSON                MO     90014128342
68971863171964   STEPHANIE          CHAPPEL                CO     90014678631
68972332171964   J                  BROWN                  CO     90010293321
68974745551354   LEON               MCGUIRE                OH     66019557455
68975954771921   LANCE              PETERSEN               CO     90005569547
68976582751354   DAVID              DAWKINS                OH     90003855827
68976891271964   MARIA              RODRIQUEZ              CO     90005138912
68976922291234   HECTOR             LOPEZ                  GA     90012409222
68981581171921   ANGELINA           SHUMAKER               CO     32089715811
68981968684392   KIP                CARLSON                SC     90007989686
68982439355973   VALENTINO          JIMENEZ                CA     48006634393
68982624471964   NICOLE             ANSON                  CO     90007686244
68983822191562   CARLOS             GAYTAN                 TX     90011108221
68985463361964   DANIEL             FELIX                  CA     46088084633
68987267255973   ARISTEO            MENDEZ                 CA     48041052672
68991821455973   SUE                STRICKLAND             CA     90014888214
68993438155983   JOSE               SANCHEZ                CA     90012744381
68994728951354   JAMES              PRYOR                  OH     90013227289
68998552651354   SHANE              BACZYK                 OH     90014585526
68998723255973   BENJAMIN           ESTRADA                CA     90013877232
69111473755975   JESSICA            LOPEZ                  CA     90010584737
69112443491592   RAMON              HERRERA                TX     90008084434
69113286855975   OLGA               ALCANTAR               CA     90014572868
69113358971921   JACK               SAMPLE                 CO     90013193589
69114948492824   NATALIA            RESENDES               AZ     90014269484
69116649655975   MONICA             ROJAS                  CA     90013956496
69124883955975   KRISTINE           LOOMIS                 CA     90007388839
69126367961964   JAVONNA            ROBINETT               CA     90015273679
69129649655975   MONICA             ROJAS                  CA     90013956496
69135424591562   ALFREDO            ALVARADO               TX     90001984245
69136257621977   KEITH              MOELLER                IN     90013582576
69137484291525   MARTHA             CASTRO                 TX     75043224842
69138656691562   ROMELIA            DAVIES                 TX     75018366566
69138769455975   JESSICA            GIBBS                  CA     90013457694
69139498991522   YVETTE             TORRES                 TX     90011644989
69141169191592   ITZEL              RAMOS                  TX     75042101691
69142297651352   KIMBERLY           MCDONALD               OH     66005492976
69142876555975   RBECCA ANN         JONES                  CA     90003308765
69145988491522   DESIRAE            SANCHEZ                TX     90011659884
69149543291522   IVAN               ORTIZ                  TX     75044825432
69152418255966   MICHAEL            MUNIZ                  CA     90010484182
69153149591592   HIPOLITO           GARCIA                 TX     90001211495
69153158871921   ERIN               DUTCHER                CO     32047701588
69157154691522   SUE                MIRANDA                TX     75060991546
69157763391592   MARIO              HERRERA                TX     90011897633
69158596655975   PAMELA             HUNTER                 CA     90013475966
69159515955975   GEORGINA           NAVARRO                CA     49005725159
69163945255975   ANDREW             RIVERA                 CA     90014789452
69164445191998   JIMMY              JOHNSON                NC     17086014451
69166685491592   LAURA              REY                    TX     90007146854
69167118755975   JESUS              GONZALEZ               CA     90015181187
69167379591592   MARISELA           VARGAS                 TX     90008103795
69168847993739   BRIDGET            CONNER                 OH     90007788479
69171736455975   ROSAURA            GONZALEZ               CA     90005397364
69173288961964   YOLANDA            CONTRERAS              CA     90015082889
69174176991522   RIOS               OSCAR                  TX     90003151769
69175366591592   ELISA              PEREZ DEL REAL         TX     90003723665
69176611681675   NOLAND ROAD 2903   PHONE BAR              MO     90010026116
69177495291592   JOSIE              BADILLO                TX     75077374952
69182282457563   DANIEL             PAYAN                  NM     90013602824
69182759891522   LORRAINE           FRIAS                  TX     75076957598
69183346191592   LETICIA            BURUATO                TX     90008083461
69186491891562   JULIO              MOLINA                 TX     90000184918
69187819961964   ALEJANDRO          CHAVEZ                 CA     90007298199
69188896131499   TIFFANI            TAYLOR                 MO     90012208961
69192343991894   JOSE               LUNA                   OK     21016463439
69192832655981   SELINA             VALLES                 CA     90011688326
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69193287555975   GYSSELLE     JIMENEZ                      CA     90011572875
69195531491522   JOSE         RAMOS                        TX     75017005314
69195814361964   RODRIGO      ARCE                         CA     90012278143
69195818855975   MARGARITA    SANCHEZ                      CA     90013088188
69195818991894   JOSE         CASTILLO                     OK     21078258189
69197929171921   LUCIA        HERNANDEZ                    CO     32072299291
69198371155975   ROXAN        NAVARRO                      CA     90011893711
69199419631461   KRISTIN      RHODES                       MO     90007884196
69199861855975   BRIANA       COCHRAN                      CA     90014038618
69211163281675   ROSIE        HUNTER                       MO     29017481632
69212716771921   AMANDA       JACKSON                      CO     90005187167
69216697661937   ISAAC        FLORES                       CA     90013346976
69217761755975   TRACY        SMITH                        CA     90014947617
69221186571921   JUAN         ALDAVA                       CO     32000661865
69221535793787   SUMAR        RUSSELL                      OH     90010225357
69221987591572   MANUEL       RAMIREZ                      TX     90007779875
69222227657131   FAUSTINA     BLANCO                       VA     90003322276
69222546591522   EMA          MIRAMONTES                   TX     90011835465
69222629657131   OSCAR        GAMEZ                        VA     90013576296
69223452555943   MARIO        VEJAR                        CA     90011534525
69227439891562   ANA          ELICERIO                     TX     90007034398
69227947491522   PAULA        VARGAS                       TX     75010419474
69233713691259   ANGELICA     ALFONSO                      GA     90006547136
69239732956367   NICOLE       SKELLEY                      IA     90009987329
69243951491522   DENISE       PRIEVE                       TX     75081839514
69244883591562   JUANITA      YEPEZ                        TX     90010608835
69247514371921   LOUIS        CASTLE                       CO     90009935143
69248992561964   TAI          QUACH                        CA     90010829925
69249996461964   ADRIAN       VILLALPANDO                  CA     46003479964
69252444381675   GEOFFORY     HALE                         MO     90008674443
69252936191894   RUTH         ARCHER                       OK     21088709361
69253841991522   CLAUDIA      CAZARES                      TX     90011838419
69254526271921   JESSE        RANALS                       CO     90014695262
69254629561964   AIOTEST1     DONOTTOUCH                   CA     90015116295
69257675191592   MARIA        GARCIA                       TX     90014966751
69257755691562   DIANA        DIAZ                         TX     90014287556
69259343461559   CONDA        POLK                         TN     90015443434
69262822291562   ROSALIA      MARISCAL                     TX     90010278222
69264342555948   SHANNA       BATLEY                       CA     90013663425
69264556491562   ALFONSO      LOPEZ                        TX     75018025564
69268775991592   ANA          DURAN                        TX     75097627759
69268913971921   EVELYN       REVELLO                      CO     90012149139
69269597291522   ELIZABETH    APODACA                      TX     75082215972
69272437271921   DAVID        VILLA                        CO     90012484372
69275889591522   FRANCISCO    MALDONADO                    TX     90011838895
69278136855975   JULIE        HERNANDEZ                    CA     90013031368
69279274491986   YUMAXI       ROJAS-RODRIGUEZ              NC     90010032744
69279278361936   PATRICA      FLORES                       CA     46047282783
69281593561964   MICHAEL      MALVEAUX                     CA     90008835935
69282412455975   ANDREY       AGUIRRE                      CA     90014254124
69285646761964   MIGUEL       LOPEZ                        CA     46005936467
69286341855975   MARINA       HUERTA                       CA     90012793418
69289847961964   AIOTEST1     DONOTTOUCH                   CA     90015128479
69291193191562   CARLOS       SIMENTAL                     TX     75040861931
69291445291592   JESUS        CASTANON                     TX     75020824452
69293834155975   YESINA       RAMOS                        CA     90013078341
69294696891893   ASHLEY       NICHOLS                      OK     90008436968
69296945591562   PEDRO        GARCIA                       TX     75091459455
69297312191562   MARIA        MORENO                       TX     90009443121
69298231391525   MANUEL       GUTIERREZ                    TX     75092542313
69299383855977   SERINA       HERNANDEZ                    CA     90012013838
69299723471921   FRANK        WILLIAMS                     CO     90014257234
69299914771921   FRANK        WILLIAMS                     CO     90013619147
69312336671921   JULIA        FAITH                        CO     90014113366
69313626661964   BALVINA      CUELLAR                      CA     90014236266
69318713371921   TONI         MONTEZ                       CO     90002277133
69321627761936   CORALS       MARBEL                       CA     46009426277
69323284855975   LOUIE        ESPINOZA                     CA     48046982848
69325326831651   LUIS         CARDIEL                      KS     90012363268
69327166861964   ISELA        CASTANEDA                    CA     90011401668
69327758591562   EMMA         MARTINEZ                     TX     90010647585
69332683481675   MICHAEL      MOORE                        MO     90010026834
69334953671921   MARIA        MURILLO                      CO     90005519536
69339238691592   MARGARITA    MARTINEZ                     TX     90012372386
69339346391592   BERNICE      ESTRADA                      NM     90013963463
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69342762391592   ALEJANDRO          NAVARRETE              TX     90011897623
69344868591592   GILBERT            CANALES                TX     75065918685
69345554971921   SEVERIANO          DIXON                  CO     90014695549
69349848561964   AIOTEST1           DONOTTOUCH             CA     90015128485
69352336551352   EBONY              SMITH                  OH     90009643365
69353391281527   JOSE               PRADO                  IL     90014113912
69354147161964   OSCAR              BELLOZO                CA     46007491471
69356682755975   SALVADOR ATILANO   TRINIDAD               CA     90014986827
69356756672436   RONALD             HOAR                   PA     90004957566
69357724371921   ELIZABETH          DOMINGUEZ              CO     32085997243
69358586261964   ALEJANDRA          AGUIRRE                CA     90007505862
69362713391562   MIRIAM             QUINTANILLA            TX     75028627133
69363694391522   LUZ                OLAVE                  TX     90001226943
69364451271921   MICHAEL            DALE                   CO     32039554512
69364744561964   MICHELLE           LYNCH                  CA     90014437445
69371832384324   MONICA             HUNT                   SC     90012148323
69372581861937   JACOB              APPELL                 CA     90012905818
69372727771924   RON                FILKOSKI               CO     90005847277
69373442855975   LINDA              LARA                   CA     90012924428
69373477261964   SILVIA             GONZALEZ               CA     46040614772
69374238961964   CLAUDIA            JACKSON                CA     90014582389
69374426355942   JERRY              MARTINEZ               CA     90013834263
69374688691943   EVELIA             MATEOS                 NC     90007776886
69375131491562   ALMA               RODRIGUEZ              TX     75005781314
69377159485953   SHERRETA           HENDERSON              KY     67051651594
69377265391562   URBINA             PEREZ ALEJANDRO        TX     90005882653
69378367791522   PATRICK            JOSEPH KIDMAN          TX     90000983677
69378815661936   ROCIO              RODRIGUEZ              CA     90010718156
69381889181675   CHARLES            BEEGHLEY               MO     29017508891
69382156391363   SERGIO             FALCON                 KS     90012791563
69382241261964   CARLOS             COTA                   CA     90014772412
69383632791894   SYLVIA             SCOTT                  OK     21038616327
69384648691522   BRYAN              SAENZ                  TX     75040736486
69388915897121   ANIKA              ROMERO                 OR     90011859158
69391985861964   JESSE              MORALES                CA     46068139858
69393186271921   AREIL              ROBINSON               CO     90005771862
69394214971921   NELLIE             STROUGHTER             CO     90013052149
69395446131454   JENNIFER           COLEMAN                MO     27506464461
69396486391562   KARINA             HERNANDEZ              TX     75091734863
69399625371921   KEVIN              ARVIZU                 CO     90014176253
69413385191522   HECTOR             SOSA                   TX     75054003851
69413989161936   GRANDVILLE         JONES                  CA     90011739891
69417337391592   JESUS              BORREGO                TX     90009443373
69417921855975   ANITA              NAVARRO                CA     90014109218
69418125871921   JOSE               ALVARADO               CO     90001691258
69418229961964   ESLIE              BUGARIN                CA     90012162299
69419825391562   JJ                 KOMP                   TX     90010668253
69421449761964   JEAN               SMALL                  CA     90014844497
69422353391572   DEXTER             BUSTOS                 TX     90004913533
69424347361964   ROBERTO            QUIJAS                 CA     90013753473
69425159555975   JASMINE            AYON                   CA     90011651595
69426816855975   BRENDA             VARGAS                 CA     90005598168
69426857261964   MIGUEL             ARELLANO               CA     90014168572
69429831691592   CHRISTIAN          RODRIGUEZ              TX     90010368316
69431462171921   DAVID              WOMBLE                 CO     90014584621
69433962591522   RAMON              ALVARADO               NM     75013119625
69435696155975   ARLENE             ALVAREZ                CA     90014966961
69436254293787   BRITTANI           ELLARS                 OH     90012792542
69436476455975   ALYSSA             CRUZ                   CA     90011654764
69436756591894   AMY                DARNELL                OK     21077667565
69437836191562   LUIS ARMANDO       CADENA                 TX     90012408361
69438693891562   JESSICA            AGUILAR                TX     90008916938
69443996155975   NICHOLAS           MILLAN                 CA     90008009961
69446371155975   ROXAN              NAVARRO                CA     90011893711
69448912461964   CARRILLO           ROBERTO                CA     90008679124
69452368791522   ARTURO             PONCE                  TX     90004213687
69455782391592   CARLOS             CHAVEZ                 TX     75005377823
69457314263634   PHILLIP            FAIRBRIDGE             MO     90014733142
69459292191522   ENRIQUE            MARTINEZ               NM     75026232921
69459838491931   JOSE               OROZCO                 NC     90004678384
69461831491562   GUADALUPE          RUELAS                 TX     90010938314
69462363657134   ANTONIO            RIVERA                 VA     90008673636
69462756561964   CARLOS             VELASCO                CA     90006227565
69464467377345   THERESA            BIRCH                  IL     90010024673
69464494671921   CAROLYN            MAYO                   CO     32067424946
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69466482161964   BERTHA       RAVER                        CA     46047884821
69467489991562   DIANA        CASTANEDA                    TX     90007694899
69468139791285   RONALD       HARDY                        GA     90004891397
69469221161964   COLMAN       ELIZABETH                    CA     46072742211
69469968291562   MARCO        LOPEZ                        NM     75043669682
69471167391522   SANDY        RODRIGUEZ                    TX     90011841673
69473512381698   ANGELLA      GILL                         MO     90008795123
69475525761924   ANGELA       DAMECKI- CORDERO             CA     46005805257
69479625861936   SAM          ARMSTEAL                     CA     90011956258
69481633955993   CARMEN       DURAN                        CA     90010476339
69483879171921   JOSHUA       STANNARD                     CO     90014458791
69489792891592   FELIPE       ROSALES                      TX     90011367928
69491788655975   ERIKA        CEBALLOS                     CA     90012527886
69493443355975   GAVINA       PAZ                          CA     90005804433
69495162991592   LOURDES      REYES                        TX     75004521629
69496224161984   MARSHALL     HINOJOSA                     CA     90006542241
69497422161964   CHARLES      MYERS                        CA     46090654221
69498465891592   DAVID        MADRID                       TX     90010784658
69512126371921   ANH          NUGYEN                       CO     90007961263
69514171261964   JOSE         JUAREZ                       CA     46006331712
69514428191592   OMAR         COLON                        TX     90005054281
69514635671921   DEILBER      FUENTES                      CO     90010776356
69515324871921   BEVERLY      PERRY                        CO     90012453248
69516613891592   RICARDO      GARSIA                       TX     90004366138
69516924993754   ALICIA       DAY                          OH     90005259249
69518119391986   NICOLE       SMITH                        NC     90010821193
69518416591894   SHONNA       CHECOTAH                     OK     21070964165
69519192291522   DAVID        GARCIA                       TX     75060521922
69521826697127   CANDY        CAUICH                       OR     90010638266
69523928691234   MARQUITA     SHELTON                      GA     90009759286
69524717661964   ALFREDO      LAGUNAS                      CA     90004027176
69525771591522   NINFA        CASTILLO                     TX     90007707715
69526741891562   CRYSTAL      OROZCO                       TX     75081367418
69531849261964   JENNIFER     GUERRERO                     CA     90004888492
69532757655975   REYNA        MENDOZA                      CA     90014857576
69534942591522   ANN          RIDINGS                      TX     90006409425
69538384855975   CHRISTINA    ANDRADE                      CA     90014763848
69539582155975   ALICIA       GUILLEN                      CA     90014165821
69541423291562   SUSIE        MOSS                         TX     90009494232
69543883355975   FERNANDO     HERRERA                      CA     90013218833
69545934251354   RENEE        MASON                        OH     90008519342
69545934455975   JOSE         LOPEZ                        CA     90011709344
69546268691522   DIEGO        GAMEZ                        TX     90011842686
69547378571921   ROBERT       BUTTLE                       CO     32086543785
69548475181675   CARLA        PALMER                       MO     29008604751
69549493191592   REBECA       PORTILLO                     TX     75073594931
69552526161936   CARMENE      LAFATA                       CA     46006645261
69553938591562   MARTHA       VONILLA                      TX     75015899385
69554745191562   ADRIAN       AVITIA                       TX     90013337451
69555732291592   DANIEL       ORONEZ                       TX     90014117322
69557244891562   GLORIA       GUTIERREZ                    TX     90008412448
69557764991592   CESAR        NAVARRO                      TX     90013137649
69559462955975   HAYLEY       SWEENEY                      CA     90013124629
69561732161964   TIMOTHY      DAVIS                        CA     90012887321
69563362291535   LISA         MEDINA                       TX     75087153622
69564475371921   NATE         JUVERA                       CO     90014584753
69565696555973   SANDRA       HIDALGO                      CA     90004736965
69567356971921   TODD         HENSON                       CO     90001703569
69569214981675   BRIANNA      TOLSTON                      KS     90001962149
69569424591562   PERLA        ENRIQUEZ                     TX     90009474245
69571528755973   MONICA       RAMIREZ                      CA     90014245287
69572546761936   MARLENE      VASQUEZ                      CA     46039575467
69575784286426   ABRAHAM      MONTELEON                    SC     90015367842
69575873971921   ELIZABETH    FLORES                       CO     90012468739
69576294891522   ANDREW       FULLER                       TX     90005302948
69577854581675   KIM          FIELDS                       MO     29002778545
69577924555975   LUZ          CARDENAS                     CA     90011179245
69579492555948   CLAUDIA      SAGRERO                      CA     90008634925
69582564955975   SARAI        NIETO                        CA     90014805649
69584642891592   MARIA INES   ALVAREZ                      TX     75060856428
69585498891522   MANUEL       LIZALDE                      TX     90005174988
69585718191592   ALBERTO      CERVANTEZ                    TX     90002197181
69587568271921   ANTHONY      DEACON                       CO     32061445682
69588286381675   DAKOTA       FERGUSON                     MO     90010092863
69588363161964   LATIONA D    SIMPSON-JAMES                CA     90010803631
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69591363361964   JOSE          BOMBADILLA                  CA     90012283633
69593276861964   VERONICA      FIGUEROA                    CA     46097112768
69593861791592   MARTIN        MARMOLEJO                   TX     90011858617
69595999757134   MARISSA       HERNANDEZ                   VA     90014859997
69597735155973   EMILIA        ROCHA                       CA     48056797351
69599678455975   TERESA        LOPEZ                       CA     90013176784
69611773857127   MAIHUONG      PARHAM                      VA     90006247738
69613316891552   ARELI         OLIVARES                    TX     90000273168
69615825191522   MARIA D       TORRES                      TX     75077568251
69617915591562   ANN           FIERRO                      TX     75012569155
69618551855975   JOSEFINA      MUSQUIZ                     CA     90011725518
69622242691592   ROSA          DUARTE                      TX     90012412426
69624559661936   MERARY        ROMAN                       CA     46060395596
69629476691562   JULIETA       MURGA                       TX     75090704766
69629677455943   JUAN          GUZMAN                      CA     90012116774
69631727291592   ESTRADA       WENDY                       TX     90013987272
69631983763669   ASHLEY        KIRK                        MO     90009779837
69633629561964   AIOTEST1      DONOTTOUCH                  CA     90015116295
69634387191592   PRISCILLA     CARROLL                     TX     90014693871
69635169881675   PAYGO         IVR ACTIVATION              MO     90009251698
69635271571921   HENRY         RIVAS                       CO     90012702715
69636487291562   SALAR         LETY                        TX     90009974872
69637156491562   LARRY         VAZQUEZ                     TX     90010281564
69638859991562   ISAAC         CEDILLO                     TX     90013628599
69639186191592   GUS           RAMIREZ                     TX     90010981861
69639873685833   EDGER         GONZALEZ                    CA     90003598736
69641931691562   RICARDO       BECERRA                     TX     90012279316
69642224861936   AMANDA        AMAZQUITE                   CA     90013052248
69642669791234   WADE          GARVIN                      GA     90014936697
69643365355973   JESSICA       GARCIA                      CA     48044273653
69645645161964   LYDIA         MADRID                      CA     46043806451
69651364271921   SCOTT         CLAY                        CO     32039653642
69651752861964   CASSANDRA     GIROUX                      CA     46053687528
69652773871921   ROBERT        RUSHWORTH                   CO     90011747738
69654629961964   AIOTEST1      DONOTTOUCH                  CA     90015116299
69656844355975   JESUS         GOMEZ                       CA     90014558443
69656919833656   JOSE          VALLEJO                     NC     90014159198
69659627991522   ELIZABETH     GARCIA MARTINEZ             TX     75031066279
69659772581675   WILLIAM       POWELL                      MO     90006877725
69659853357123   CAROLYN       CHAPPELL                    VA     81005398533
69662127285944   PHIL          BLACK                       KY     90009531272
69662888271921   DARCY         BARNES                      CO     90010988882
69663138961964   JOVITA        GALEANA                     CA     90013741389
69664111391592   GABRIEL       ESTRADA                     TX     90014171113
69667285455975   SALVADOR      GARCIA                      CA     90006132854
69668288691592   CHRISTINE     SANDERS                     TX     90012862886
69673492891592   CHRISTINA     ALONSO                      TX     90013314928
69674992155975   ISMEAL        PEREZ                       CA     90011879921
69675422891592   MARY          HOSENDOVE                   TX     90013984228
69675551891562   MARIBEL       CHAVEZ                      TX     90005715518
69678511591522   JOSE          HERNANDEZ                   TX     90011845115
69679526791522   DEIS          ARTALJO                     TX     90011845267
69682759377533   JUAN CARLOS   ALBA-VALENCIA               NV     90012897593
69684242991592   USULA         SILVERSTEIN                 TX     90013032429
69686792655943   SUSANA        SUA                         CA     90014557926
69689129871921   JUAN          CARLOS                      CO     90002071298
69689686955973   DARRYL        JONES                       CA     48061696869
69689927761964   NIKITA        HAWKINS                     CA     46075569277
69691569261964   BORISHLAV     BOAISSOV                    CA     46073075692
69692692661964   JUAN          GARZA                       CA     90014416926
69693469181675   CHARMIN       PATTON                      MO     90010094691
69693764671921   DAVID         WILCOX                      CO     90012767646
69694475651555   VALERIE       MCPHEE                      IA     90015354756
69711334771921   AVILD         ENRIQUE                     CO     32005523347
69711771391562   ANTHONY       SIFUENTES                   TX     75007777713
69712516755975   FELICIA       ARIAS                       CA     90007175167
69714816481672   JNAI          RUBIN                       MO     90002518164
69716572355973   MANUEL        JIMENEZ                     CA     90005395723
69718243297126   OLIVIA        JAMES                       OR     90011812432
69718585361964   LUANNI        REYES                       CA     46014995853
69718949155983   MIKE          VALDEZ                      CA     48094659491
69719277861964   ERICA         RODRIGUEZ                   CA     90000622778
69722597755969   DORIS         FREEMAN                     CA     49008455977
69723719371921   PORTIA        DUNLAP                      CO     32086727193
69724439161936   MAYRA         MARQUEZ                     CA     46046834391
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69725878571921   HARLEY          CAUGHLIN                  CO     90015238785
69726688491522   GARCIA          MARIA                     TX     90002166884
69727342691592   ISELA           ROJAS                     TX     75075883426
69727556581675   CRUZ DE JESUS   MELENDEZ                  MO     90002295565
69727772355973   GUILLERMO       MENDOZA                   CA     90013077723
69731919491592   MARIA           CASTRO                    TX     90006959194
69733831591522   BRIANA          FAVELA                    TX     90000418315
69734199891534   IVONNE          MARROQUIN                 TX     90006561998
69734875291894   MALLORY         BAIN                      OK     21015408752
69741352555973   CYNTHIA         RODRIGUEZ                 CA     90003343525
69741368791522   ARTURO          PONCE                     TX     90004213687
69743856971921   AMILCAR         ESPINOSA                  CO     90000448569
69745136191592   ALEX            ESCUDERO                  TX     75022491361
69745288961964   YOLANDA         CONTRERAS                 CA     90015082889
69746212751352   LUIS            GONZALEZ                  OH     90012532127
69747422955975   SARAH           ANDERSEN                  CA     90013304229
69747827671921   TERRY           DECKARD                   CO     32038328276
69749664741273   BIVINS          EDWARD                    PA     51070726647
69761232891562   ZELINA          BEJARANO                  TX     90013152328
69761715455978   MARIA           CORTEZ                    CA     48082897154
69764759255975   VICTOR          ACUNA                     CA     90003677592
69766334255973   PATRICIA        GUZMAN                    CA     48070943342
69766651755975   JULIA           RODRIGUEZ                 CA     90012816517
69767735657123   HUGO            GOCHEZ                    VA     90006757356
69767932641249   GREGORY         MAYO                      PA     90006329326
69769349255975   MIGUEL          MEZA                      CA     90011783492
69769698361943   FORTINO         TEPEXPA                   CA     90013416983
69769742155973   FELICIA         PINEDA                    CA     90001187421
69771911755975   MARIA           MURILLO                   CA     90011189117
69772665691562   DE              SHEPHERD                  TX     90010136656
69773562891562   MARIBEL         AGUILERA                  TX     75052355628
69787651561936   DON             CURTIS                    CA     90003156515
69793174991592   ELIZABETH       PEREZ                     TX     90008941749
69794882681675   CHARLENE        MATHEWS                   MO     90010108826
69795123555975   JOSE            GARCIA                    CA     90008001235
69812228191562   SERGIO          TREVIZO                   TX     90010422281
69813319261936   RAFAEL          GARCIA                    CA     90010583192
69814622191534   CARLOS          DIAZ                      TX     75052036221
69814967371921   JOSE            MENJIUAR                  CO     90011859673
69816989691592   RAFAEL          MONARREZ                  TX     75006139896
69818155961964   ROGER           MIRET                     CA     90013741559
69818556191592   CLAUDIA         ESPARZA                   TX     75091815561
69819944861964   DEENITA         GONZALEZ                  CA     46085199448
69821161291572   ELIAS           REYES                     TX     90008061612
69821931755975   SHAWNY          BLEDSAW                   CA     90014659317
69822975191522   MOISES          TOVANCHE                  TX     75025879751
69825137271921   TERESA          MCLAUGHLIN                CO     90002561372
69825476691527   ANDY            HERNANDEZ                 TX     90008164766
69825844755935   DOLORES         VARGAS                    CA     90011498447
69826837555975   JOSEPHINE       MOISA                     CA     48073518375
69826981891562   LAKITA          SMITH                     TX     90003619818
69827291391592   KEVIN           CAMARENA                  TX     75030432913
69829734371921   LUIS            MERCADO                   CO     90011477343
69829837555975   JOSEPHINE       MOISA                     CA     48073518375
69832153691562   RICARDO         CONTRERAS                 TX     90013611536
69833348891562   JESSICA         ARMENDARIZ                TX     90002723488
69833381491562   NANCY           CANO                      TX     90012243814
69833659291592   VANESSA         LOPEZ                     TX     90011316592
69835294957142   MARIA           SERRANO                   VA     90013782949
69841888271921   DARCY           BARNES                    CO     90010988882
69843265671921   MIKE            ROMERO                    CO     90005282656
69844999793741   BRIAN           HEIS                      OH     64520619997
69846458591562   LUPITA          MONSIVAIS                 TX     75005674585
69848739455975   OSCAR           ESPINOZA                  CA     90006557394
69849443861964   MARCELIN        SATURNE                   CA     90014504438
69852347455975   JODEE           MALLETT                   CA     90012893474
69852721591522   BRENDA          SANTILLAN                 TX     75025887215
69854325785957   BENITA          INGRAM                    KY     90010763257
69854687291592   JOSE            PARRA                     TX     75015416872
69854814855975   NOLAND          LEMAE                     CA     90014668148
69856695655975   MIGUEL          MEDINA                    CA     90013116956
69857597172498   BETH            HOMER                     PA     90013365971
69858819193728   MARK            PHEANIS                   OH     90010488191
69859127661936   MARIA           OCEGEDA                   CA     90010631276
69864488171921   MICHAEL         GIST                      CO     32018864881
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69864488761964   JOE          PORRAS                       CA     90013784887
69865712591572   KARINA       HOGGAN                       TX     75086537125
69866899791562   JAVIER       TOVAR                        NM     90013128997
69867285991562   MARIA        DE LA PENA                   TX     75077732859
69871893393735   ANTONYO      BELL                         OH     90009508933
69873187961964   BRENDA       JAIME                        CA     90008241879
69873944261936   MELISSA      DE LA CRUZ                   CA     46090969442
69874492555973   GRISELDA     IBARRA                       CA     48094594925
69876228991592   ISMAEL       JIMENEZ                      TX     90012812289
69876579655975   ROSALWA      ARRLAGA                      CA     90006625796
69877376793735   SHAWN        TAYLOR                       OH     90008923767
69877692591522   GERARDO      ARANDA                       NM     75024576925
69877765161936   JORGE        GARCIA                       CA     90000667651
69881832255975   JEREMY       SALAZAR                      CA     90006638322
69882496971921   LUZ          MERCADO                      CO     32082954969
69884275555975   ALEJANDRA    CORONA CORONA                CA     90014672755
69884844961936   LETICIA      TIZNADO                      CA     90010458449
69885414161936   SILVIA       CONTRERAS                    CA     46078504141
69886629961964   AIOTEST1     DONOTTOUCH                   CA     90015116299
69888275555975   ALEJANDRA    CORONA CORONA                CA     90014672755
69888715971921   JOHN         URBAN                        CO     90014857159
69889439671921   KAYLUNA      QUILALES                     CO     90008954396
69891462361964   MARTIN       MUEGUIA                      CA     90004164623
69896432891562   ANGELICA     LUEVANO                      TX     90014514328
69896753591552   GREGORY      WILLIAMS                     TX     75096317535
69896776955975   TAHA         HUSSEIN                      CA     90014687769
69899975191894   RICKY        BLEIER                       OK     21001959751
69913941291562   ANAHI        PEREZ                        TX     90002919412
69914258155975   ROSA         CASTILLO LEON                CA     90011822581
69914866461964   CARLOS       AVILA                        CA     90010008664
69915312291592   MARISA       SANCHEZ                      TX     75097893122
69915617791562   DIEGO        JIMENEZ                      TX     90011306177
69922658955942   INOCENCIO    RODRIGUEZ                    CA     90010426589
69924751655991   JOSHUA       MORRISSEAU                   CA     49076077516
69925229661936   MARTHA       DAVALOS                      CA     46084962296
69925353591562   CLAUDIA      SIFUENTES                    TX     90014833535
69925626591592   BEATRIZ      RODRIGUEZ                    TX     90006666265
69927163591562   MAYRA        VELOZ                        TX     90003501635
69927268761961   CINDY        MUENNICH                     CA     90011432687
69928453785981   LISA         MITCHELLE                    KY     90006664537
69929619761964   KARLA        JUAREZ                       CA     90014276197
69929685781675   ANDRE        JONES                        MO     90006906857
69934268955975   EVANGLINA    LUCIA                        CA     90011832689
69934521991562   VILLEGAS     MICHELE                      TX     90009965219
69935143991562   MARIO        RIVERA                       TX     90014351439
69938414371921   RANDY        AKMENKALNS                   CO     90013014143
69941276571921   JOHNNY       ARREOLA                      CO     90013052765
69942577155975   ALEX         TAPIA                        CA     90013265771
69944462261936   MONICA       CASTLEBERRY                  CA     90010584622
69946746991592   CRUZ         CHAVEZ                       TX     75055667469
69946837157142   FLORENSIO    BORHOQUEZ                    VA     81063308371
69946851661964   RIKKI        MITCHELL                     CA     90015268516
69947842461936   GUADALUPE    CONTRERAS                    CA     46079138424
69948465461936   RICARDO      CORTEZ                       CA     90010584654
69949254455975   ESPERANZA    HERRERA                      CA     90006802544
69956423561936   DIANA        LOPEZ                        CA     90006074235
69956952855975   JOSE         HERNANDEZ                    CA     90014709528
69958187461964   JOHN         CLANCY                       CA     90013541874
69958848561964   AIOTEST1     DONOTTOUCH                   CA     90015128485
69958884791522   LAURA        MARQUEZ                      TX     75069048847
69959946861964   JESSICA      OROZCO                       CA     90014449468
69962496481621   ADELE        SOSA                         MO     90014034964
69963177855975   TAMMY        MCFARLAND                    CA     90014721778
69967198991527   ALMA         DOMINGUEZ                    NM     90010691989
69972439451555   CHARLES      GRAZIER                      IA     90015304394
69974173455975   JOSE         MORALES                      CA     90009951734
69975858933641   MINNAY       EDUCATION                    NC     12083598589
69979892871921   TAYLER       SAPPINGTON                   CO     32062558928
69981488961964   VALENTIN     CRUZ                         CA     90013724889
69981723361936   ANTONIO      AVILA                        CA     46009927233
69982696655975   VERONICA     FABELA                       CA     90014736966
69984315991562   YOLANDA      FABELA                       TX     75038223159
69985386771921   GERARDO      CRUZ                         CO     90011983867
69988596891562   CYNTIA       CAZARES                      NM     90001335968
69989844991592   JOHNY        GARCIA                       TX     90004348449
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69989859355975   MELVIN           FANNING                  CA     48087958593
69991784571921   MICHELLE         STEELE                   CO     90000577845
69993572855975   DANNY            TAFF                     CA     90006985728
69993931461936   LORENA           ZATARAIN                 CA     46072679314
69994154691592   BEATRIZ          AGUIRRE                  NM     90011411546
69995717577585   EDGAR            GRANILLO                 NV     90014877175
69996974561936   CHAVONNA         FRAZIER                  CA     90012869745
69998848191592   SANDRA           PEREZ                    TX     75021068481
69999752491592   MONTSERRAT       DOMINGUEZ                TX     90013457524
71111296951586   JACK             CARR                     IA     90014112969
71111459431433   DEWAYNE          CLAIBORNE                MO     90013964594
71112784857157   EDGAR            CLAROS                   VA     90004517848
71113157572479   AMBER            GISHNOCK                 PA     51014271575
71114265685937   KRISTINA         JOHNSON                  KY     90012942656
71114746872441   DAYNA            TANTALO                  PA     90005577468
71115172185937   KAYLA-ANN        PIROZZI                  KY     90014641721
71115468557157   YOVANIS          MARTINEZ                 VA     90012654685
71116127255939   WILFRED          CACAYORIN                CA     90004871272
71116437391548   SONIA            LEOS                     TX     90011974373
71117766884322   DAVALTE          FROST                    SC     90015527668
71118153785937   JAIME            HERNANDEZ                KY     90013071537
71118325555931   RAENISHA         JEFFERSON                CA     90009673255
71118957641227   ORREIN           GODFREY                  PA     90011789576
71119441655939   PERSCILLA        CARRANZA                 CA     90012624416
71119658981633   JEREMY           STILL                    MO     90013766589
71122269531443   LETONYA          BELL                     MO     27512992695
71123245833699   BRIAN            MOSSES                   NC     90009382458
71123282284373   KAITLIN          BROWN                    SC     90008502822
71123665341237   JESSE            BOOKER                   PA     51013916653
71124975184322   THOMAS           ALLEN                    SC     90007599751
71126683655966   BRIAN            ADNEY                    CA     90014006836
71126721233699   CHERRON          GILMORE                  NC     90010607212
71129127355969   JOSE RICKI       PASEA                    CA     48070971273
71129283891981   COFFEE           BROWN                    NC     90010992838
71129335331443   PAMELA           LOCKETT                  MO     90012803353
71131424255966   MARIA            VILLALVAZO               CA     90008484242
71132892271921   GARY             MCDANIELS                CO     90011408922
71134922672441   SARA             NAIRN                    PA     90001649226
71137726357157   MILTON           FUENTES                  VA     81093537263
71138565472441   OMAR             RIVERA                   PA     90010555654
71138792281633   LUCIA            SCOTT                    KS     90014587922
71139263257157   ALBERTO          VILLANUEVA               VA     81082482632
71141576172421   SHAREN           MICHAEL                  PA     51006715761
71141792281633   LUCIA            SCOTT                    KS     90014587922
71142457185937   ERIC             MILLER                   KY     90002154571
71143172784322   MICHELLE         SANDERS                  SC     90013271727
71143341533698   PATRICAA         HARRIS                   NC     90010573415
71143448433657   SHERIKA NICOLE   HENRY                    NC     90006414484
71144791291855   KATHERYN         OLMSTEAD                 OK     90012487912
71145198484322   MOISES           GAMBOA                   SC     90009131984
71146762255939   GRISELDA         GONSALEZ                 CA     90011497622
71147317571921   LORENA           RODRIGUEZ                CO     32058713175
71147792433698   CHERLY           YOUNG                    NC     90010037924
71147874893739   DONNA            JOHNSON                  OH     90012008748
71148551457474   PAYGO            IVR ACTIVATION           IN     90013885514
71149418931433   RYAN             SETLICH                  MO     90006464189
71149928131443   DANIELLE         RENFROW                  MO     27551269281
71151823241237   RONNISHA         YATES                    PA     90014908232
71152228755939   DIANE            BEALS                    CA     48011792287
71152563631443   ALTHEA           SHERMAN                  MO     90011145636
71153828131433   LISA             LOWE                     MO     90010918281
71153859591588   COLIN            MCCORMICK                TX     90012588595
71154386931433   FELICIA          BUFFINGTON               MO     90007623869
71155233293767   ANTHONY          BROWN                    OH     64513822332
71155727872421   JETT             FULLER                   PA     90004547278
71156862791991   SHERRELLE        CASEY                    NC     90000838627
71158116641237   ED               HORN                     PA     51007051166
71159136881643   JENNIFER         KURTZ                    MO     90009401368
71159149555934   SHIRLEY          XIONG                    CA     90000711495
71159559931443   ALEX             SODIPO                   MO     90003545599
71159844555969   NICOLE           CADENA                   CA     48061898445
71161735133698   BABARA           DINKINS                  NC     12013207351
71161836355996   LAURA            HUIPIO-GUZMAN            CA     48096738363
71161873141227   JOSEPH           CRIVARO                  PA     51087828731
71162977155969   NORBERTO         CALDERON                 CA     90012779771
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71163781955939   CORA             VERA                     CA     90011067819
71163944581643   ANGLA            BAILEY                   MO     90010549445
71164212581643   HERBERT          GUTIERREZ                MO     29036352125
71167563155966   CARLOS           FERNADEZ LEAL            CA     90011565631
71167739871921   OMAR             THORNE SR.               CO     32053817398
71167911141253   ROBERT           ZYNOSKY                  PA     90001029111
71167948555969   DAVID            LUMPKIN                  CA     90008609485
71168521771921   RALPH            CRONK                    CO     90006415217
71169492155921   ANTONIO          SILVA                    CA     90001624921
71169629343424   JOSE GUADALUPE   MARTINEZ                 VA     90015466293
71171541761997   MARTIN           RAMIREZ                  CA     46059695417
71172798972441   PHYLLIS          MARTIN                   PA     90014787989
71175373993767   ASHLEY           DOCKERY                  OH     90010713739
71175418991993   AN'JANAE         LANIER                   NC     17048544189
71175644355969   JORGE            LOPEZ                    CA     90013116443
71176189285937   EUNICE           REYES                    KY     67017991892
71176484255969   MAIRA            ROBLES                   CA     90010584842
71177642841227   PATRICK          WILSON                   PA     51044516428
71178493431433   K                DILLOW                   MO     90007814934
71179188593739   BRANDON          CRIDLIN                  OH     90013841885
71181486931443   STEPHANIE        SHELTON-MONTEZ           MO     90008304869
71184189891549   ANA              SANCHEZ                  TX     90012161898
71184475141237   EMELENE          MANLEY                   PA     90011214751
71184748955966   ANGELA           SIMS                     CA     48074977489
71185351133698   UNKNOWN          UNKNOWN                  NC     12001703511
71185959281643   RITA             VONGKHAMCHANH            MO     29098309592
71186458261964   YVONNE           MARTINEZ                 CA     90012104582
71186468972441   MERLE            LOVE                     PA     90011994689
71186918884363   IAN              WALTS                    SC     90012209188
71187947791959   EMMA             ARMSTRONG                NC     90006239477
71188751655939   CARLOS           BALLADAREZ               CA     90015157516
71189275531433   ASHIA            THOMAS                   MO     90010902755
71189741341237   LORREECE         FULTZ                    PA     90005407413
71191828431482   WAYNE            BUIE                     MO     27588278284
71195525441237   BHARAT           RAI                      PA     90012125254
71195718393739   MARY             MARK                     OH     90011007183
71196892641227   PAIVA            BARACUHY                 PA     90010588926
71197232181643   NATASHA          HEDGES                   MO     29042082321
71197371155966   AMIE             POOLE                    CA     90013953711
71198823361935   DEENA            MARIERAYNIESHA FORD      CA     90008108233
71211437191522   ACOSTA           RUBE THOMAS              TX     75028714371
71211474451349   KEVIN            MCBRIDE                  OH     90012604744
71211482655966   MISAEL           MENDEZ                   CA     90007204826
71211837733447   FERNISA          MILLS                    AL     90014478377
71212159884322   ROMAN            UDVORNOCKY               SC     90012451598
71214196841253   ANGEL            POWELL                   PA     90003651968
71214477241227   BONNIE           TUCKER                   PA     90013704772
71215195191991   RAYMOND          HARRIS                   NC     90005321951
71215429631433   JESSICA          SMITH                    MO     90014714296
71215951384322   JUAN             RODRIGUEZ                SC     14500319513
71217368555969   JOSE             MUNOZ                    CA     90014653685
71218161793739   WANDA            LAI                      OH     90012451617
71218598681633   JORGE            SALAZAR                  MO     90014105986
71221182971921   LARRY            WISMER                   CO     90011511829
71222413841237   JOSEPH           RUSSELL                  PA     90006334138
71222697431443   GARDELL          WAYNE                    MO     90003296974
71225371155966   AMIE             POOLE                    CA     90013953711
71226275157157   ROSA             GOMEZ                    VA     81030602751
71226873384322   KIM              GOODMAN                  SC     90005658733
71226886655939   ALUCIANA         VALDOVINOS               CA     90009988866
71227525981633   LISA             HEDGES                   MO     90011085259
71231615791993   JAMES            THOMAS                   NC     90003386157
71231628331482   KIMBERLY         BRANNEKY                 MO     90012166283
71232135141253   ASIA             TYUS                     PA     90012731351
71232565984322   DONOVAN          ANDUAGA                  SC     90013795659
71233788933699   JENNIFER         KELLEY                   NC     90010287889
71234342672441   JOSEPH           BATTALINI                PA     90013333426
71234412933699   STEVEN           WELLS                    NC     90009714129
71235377357157   SOPHEARA         YIM                      VA     90013163773
71235379971921   KRISTAN          HOFFPAUIR                CO     90009223799
71235674731438   LASHA            DEFRANCE                 MO     90008446747
71236499155969   JOANNA           MARTINEZ                 CA     90013854991
71238529155966   MARIA            CAMPOS                   CA     48082345291
71239271531433   DAMIEN           ROSS                     MO     90002382715
71239458181255   BRETT W          MILLER                   KY     90015164581
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71239729384322   VALERIE      SINGLETON                    SC     90008467293
71239915933698   STARLYN      LITTLE                       NC     12053059159
71241482755966   GUILLERMO    PEREZ                        CA     90008424827
71241625631443   LARRY        CRUMP                        MO     27571106256
71242538193739   LAKIESHA     GREEN                        OH     90009145381
71242674961986   ZAID         LUNA-ALVAREZ                 CA     90014006749
71243148757157   ATTILA       FRIWALD                      VA     81060201487
71244698655969   KAREN        BREWER                       CA     90013826986
71245276655969   SAMANTHA     GAMEZ                        CA     48067542766
71247216391991   AHKEE        MMANN                        NC     90005342163
71247793833699   BARBARA      LOPEZ                        NC     90012197938
71248544733699   NADRE        BARRON                       NC     90009745447
71248971555939   NAIROVY      GUERRERO                     CA     48090059715
71251444841227   CONCEPCION   SEGUNDO                      PA     90004164448
71251795933699   JESUS        ALEGRIA MENDOZA              NC     12008937959
71252656972479   CHARLES      HEATH                        PA     90010946569
71253262893739   STACY        FERRENCE                     OH     90014032628
71253369985937   ANNA         MONTGOMERY                   KY     67045273699
71253793455939   ANA          RODRIGUEZ                    CA     90010747934
71254557433698   DARRIUS      MASSEY                       NC     90009745574
71254976657157   JAQUELIN     DELCID                       VA     90006619766
71255665455966   MATTHEW      KUHN                         CA     90002576654
71255672141237   DERWIN       HARTON                       PA     90010906721
71256698155939   SANDRA       MEDINA                       CA     48014516981
71259249861924   JORGE        SANCHEZ                      CA     90004072498
71259469584322   SELAIR       MELBOURNE                    SC     90002824695
71259551581633   PAUL         RICHARDSON                   MO     90002175515
71261194755969   HECTOR       SOTO                         CA     90013831947
71261299755939   ALEJANDRO    REYNA                        CA     90007532997
71261628331482   KIMBERLY     BRANNEKY                     MO     90012166283
71262423193739   ERICA        HARTWICK                     OH     90009724231
71262894385937   LACHRISHA    DENNY                        KY     90006078943
71262933172479   JASON        TROY                         PA     51046419331
71264223341253   MIKE         WILLIAMS                     PA     51094702233
71265381354121   JULIA        JACKSON                      OR     90015003813
71265999751325   SHAMAIAH     DAVID                        OH     90013549997
71266146855969   TIARA        SHACKLEFORD                  CA     90009731468
71266588381633   CRYSTAL      SNOW                         MO     90013355883
71267448941253   CHELSEA      PROVIANO                     PA     90012344489
71269458533699   MARIA        DE LOS ANGELES MORENO        NC     90010374585
71271311991548   JOANNE       GOMEZ                        TX     90011283119
71272546831443   ROBERDIA     IRVING                       MO     90011885468
71272719431433   CARMEN       BOURE                        MO     27569327194
71272892641227   PAIVA        BARACUHY                     PA     90010588926
71273619455939   JORDAN       HERNANDEZ                    CA     90006826194
71274244431451   CHASITY      PARKER                       MO     90010342444
71274594184322   TEARIKKA     PAYNE                        SC     90014075941
71275426493739   KARLA        FLEMING                      OH     90001234264
71275887755939   VICTOR       RAMIREZ                      CA     90006908877
71276123551331   TERRI        DAVIS                        OH     90010121235
71278419281643   LAUL         LAUL                         MO     90009074192
71278463672479   CAROL        COOPER                       PA     51016494636
71278961493739   MITZI        DANIELS                      OH     64516189614
71278999791827   AKPO         ORURU                        OK     21032989997
71279261661998   JERRYLEE     RAUCH                        CA     90012832616
71279847257157   JOSE         MAJANO                       VA     81056758472
71281344771937   LAVERNE      ARCHULETA                    CO     90011553447
71281746233698   ALLEN        MOORE                        NC     90010847462
71282334755939   JACQUELINE   AVALOS                       CA     90013253347
71283132757157   MCKYNZE      FERGUSON                     VA     90013801327
71283918555939   ORALIA       LEAL                         CA     90004379185
71283918655969   ISIDRO       OLEA                         CA     48043059186
71284227571921   MARCA        DEL GUERCIO                  CO     32031602275
71285724133699   MEL          YOUNG                        NC     90009367241
71285993584322   NATALI       SAWAYA                       SC     90014179935
71287492531433   JOSEPH       MAYFIELD 3                   MO     90014804925
71289242641253   KIRKE        BRINK                        PA     90013212426
71291926481633   JIANYICIA    MEGGERSON                    MO     90010099264
71292253941237   SHEILA       TAYLOR                       PA     90001612539
71292383657144   SULEMA       ZELAYA DE DIAZ               VA     90011923836
71292729855966   JOEY         ALVES                        CA     90013887298
71293454155966   NATHANIAL    ISAACSON                     CA     90012954541
71294531681633   SYLVIA       SERRATO                      MO     29058525316
71295157772441   STAR         RICHARDSON                   PA     51088121577
71295456831433   SARAH        NOBLE                        MO     27578634568
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71295555431443   CARRIA        WINFREY                     MO     90012155554
71295784761935   LORNA         LEONTI                      CA     90005857847
71296784761935   LORNA         LEONTI                      CA     90005857847
71296958841253   JACQUELINE    HERNANDEZ                   PA     90008929588
71298878131443   KELLIE        MANNING                     MO     27589638781
71299611141237   DWAYNE E      ANDERSON                    PA     51063886111
71311489477565   KENDALL       MCGEE                       NV     90008034894
71312146891991   BEVERLY       HOLSTON                     NC     90005351468
71312429972441   NICOLE        LUCCI                       PA     51057564299
71313677655966   WENDY         JOHNSON                     CA     48059916776
71316131855969   TOMAS         MANDUJANO                   CA     90012131318
71316799533698   DEXTER        VINES                       NC     12051397995
71316863971921   FELIPE        TENORIO                     CO     32095458639
71317842581633   IJHANAI       COLLINS                     MO     90014588425
71317993631443   MOLLY         GREENBACH                   MO     90002239936
71318332581633   TONI          CARROZZI                    OK     29004453325
71318488372441   KELLY         COLELLA                     PA     51085524883
71322869271921   LILIANA       SOTO-MURILLO                CO     90012388692
71323938355966   JEANETTE      JONES                       CA     90005989383
71324378584322   CARLOS        ALVAREZ                     SC     90004633785
71326481555939   VANESSA       GRANADOS                    CA     90000174815
71326541841237   PATRICIA      WASHINGTON                  PA     51063465418
71326563961935   GARRETT       GRAY                        CA     90006905639
71327112571921   CAVIN         EDNA                        CO     90014261125
71327363772479   PAULA         LEECH                       PA     90013613637
71327755293739   JEREMY        HAYS                        OH     90009217552
71328359331433   BRUCE         HOLMES                      MO     90009363593
71328459341227   GODAWARI      CHHETRI                     PA     51076474593
71328768184322   WADE          SMITH                       SC     14546377681
71329367631433   ROCHELLE      CUMMINGS                    MO     90011303676
71329661331433   ROCHELLE      CUMMINGS                    MO     90012846613
71329686272479   NICOLE        WITT                        PA     90011946862
71329776291522   HECTOR        CANO                        TX     90006577762
71329841255939   ANA           DAMASO                      CA     90011928412
71329991455966   DESTINY       DILLIHUNT                   CA     90013649914
71331559855939   LEONARDO      RAFAEL                      CA     90011385598
71332517231433   LINDA         BROWN                       MO     90014805172
71333177131482   BRENDA        TRAPP                       MO     90006511771
71333484855969   TONY          DELAHZ                      CA     48015634848
71333893693739   DENISE M      STRINGER                    OH     90010318936
71334318755939   CARLOS        REYES                       CA     90001903187
71334359131433   CECILE        MOORE                       MO     90014003591
71334594277528   CARLOS        HERNANDEZ                   NV     43065675942
71336865841253   CHRISTOPHER   MCCLOSKEY                   PA     90008848658
71337318355969   ANDREA        ACOSTA                      CA     90008633183
71338442731482   HARRY         WILLIAMS                    MO     27595844427
71338631551361   DOUG          STEPHENS                    OH     66092666315
71338729233698   YANET         SANCHEZ                     NC     12048297292
71339395393739   DANNY         BROWN                       OH     90015543953
71339453355966   DIANA         ROMO                        CA     90011984533
71342666231428   CHRIS         DWIGGINS                    MO     90011176662
71343765741237   EDWARD        MARKUNAS                    PA     51048607657
71347735457563   STEPAHNIE     MARTINEZ                    NM     90014187354
71348952655996   BELMA         PADILLA                     CA     90008169526
71351488472421   MARY          SILVASY                     PA     51001794884
71351762831432   LAKEUA        BROWN                       MO     90012907628
71352166471921   HONG          KIM                         CO     90008131664
71352827781633   SUE           HOGAN                       MO     29058528277
71355616291993   JODY          SIKATWE                     NC     17087436162
71356823557563   WHITNEY       SURRETT                     NM     90014108235
71357886841237   GERALD        LEE                         PA     90014568868
71359162193739   SHANNON       MINIARD                     OH     90014741621
71359691861997   JOHNNY        TRAYNOR                     CA     90007526918
71362495255966   TINA          FRIAS                       CA     48024084952
71362559855939   SANDRA        GARCIA                      CA     90002745598
71363643431433   EMANUEL       FREEMAN                     MO     90014446434
71363659855939   ELEANOR       GALAVIZ                     CA     90012926598
71363781184322   SANTIAGO      SANTOS                      SC     90014177811
71364334761935   ROBYN         WEATHERBY                   CA     90000193347
71364463981643   MARQUITA      MASON                       MO     29072574639
71365168755966   RYAN          NIX                         CA     90013391687
71365922581633   SHALETTE      ROSS                        MO     90010189225
71366413593739   AMY LYNN      BILLOTO                     OH     90012394135
71366442381633   MICHELLE      HAYES-WHINERY               MO     90012464423
71367244855966   RUBEN         CAMPOS                      CA     90009782448
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71367332231443   SARITA       JACKSON                      MO     27567293322
71368517171921   JEANETTE     DELOACH                      CO     90005365171
71368731755939   JAVIER       MURILLO                      CA     48079637317
71371343957157   JORGE        CASTRO                       VA     90010693439
71371399672479   REBECCA      ROBERTS                      PA     90003393996
71371433672479   ANDREW       KOHLER                       PA     90014504336
71372524757157   FLOR         QUINTANILLA                  VA     90008285247
71373592433699   QUIMIA       HINES                        NC     12052185924
71373598757157   VICTOR       GUTIERREZ                    DC     90012205987
71373966993739   MARY         MCCANDLESS                   OH     90005329669
71374341286523   DOMINIQUE    BILLINGSLEY                  TN     90015613412
71374548871921   CLAUDIO      RODRIQUEZ PEREZ              CO     90009995488
71375352531433   ANTON        LOGAN                        MO     90015453525
71376448191323   KIMBERLY     ALFARO                       KS     90008294481
71381258855939   TED          ROBERTS                      CA     90011682588
71381435155939   DANIEL       NAVA                         CA     90000824351
71381485455966   MARIA        JIMENEZ                      CA     90012754854
71382986133698   MARTHA       CUACUA                       NC     12040089861
71383559831433   JANISHA      JOHNSON                      MO     90013945598
71385149555934   SHIRLEY      XIONG                        CA     90000711495
71385256372479   VANESSA      JOHNSTON                     PA     90013922563
71386357655966   ORLANDO      GOMEZ                        CA     90014393576
71386556731443   TYNTARICA    WHITE                        MO     90005265567
71386685733447   JESSICAN     BURTON                       AL     90011706857
71386796972421   ROBERT       OHALEK                       PA     51054247969
71387864331433   ANDREW       GRANT                        MO     90012298643
71389526151323   JOSEPH       BUTLER                       OH     90012425261
71393446193739   TONIE        PACKNET                      OH     90013874461
71393861272479   MARIBETH     SMITH                        PA     90009928612
71393947755939   VIVIANA      MATEO                        CA     90010169477
71394195985937   DAVID        MONTGOMERY                   KY     90014561959
71394687981255   TETRA        BRIGGS                       KY     68006476879
71395811355966   VERONICA     ONTIVENOS                    CA     48067188113
71398414533698   CHARLENE     COOPER                       NC     90002314145
71398499255939   LUPE         QUINTERO                     CA     90013774992
71399615393739   RUDIMBA      MUNEZERO                     OH     90010856153
71412979457157   ANGELIGA     TORRES                       VA     90010179794
71413239731443   AIESHA       PRICE                        MO     90005262397
71413328881633   KIANA        BAKER                        MO     29001383288
71413548131443   TAMARA       TYSON                        MO     90014125481
71413811272441   JOSEPH       SCHISSLER                    PA     90015088112
71414889572441   JOSHEPH      CHARLES                      PA     90014508895
71415595933699   DONYAL       BARKSDALE                    NC     90011105959
71416493291586   LOURDES      RODRIGUEZ                    TX     75087674932
71417679631432   DANIELLE     BELL                         MO     90007056796
71417863672421   MICHAEL      MOFFE                        PA     90006238636
71419164672421   LACINDA      WRIGHT                       PA     51062861646
71419756555969   WILLIE       DEHOWARD                     CA     90013457565
71421423991991   ALLISON      MILLER                       NC     17024514239
71421562793739   MATHEW       PHILLIPS                     OH     90011305627
71421837381633   MISTY        KEETON                       MO     90010918373
71422413455966   KRISSY       VELASQUEZ                    CA     48063174134
71423295872421   JOHN         PORINCHAK                    PA     90003262958
71423371171921   ADAM         ROBERTSON                    CO     90014523711
71423414533698   CHARLENE     COOPER                       NC     90002314145
71425373631432   SEVELLA      BALDWIN                      MO     27564563736
71425465691991   ANTHONY      TUCKER                       NC     17010054656
71425999393739   DAWNN        CAPORALE                     OH     90012969993
71427945157157   ELIAS        HAILE                        VA     90013679451
71431182857157   NORMAN       PARHAM                       VA     90011731828
71433319541253   CHERLYN      JENNINGS                     PA     51031723195
71433747457157   LUQMAN       ABDUL-SALAAM                 VA     90000507474
71434582855997   KARINA       FIERO                        CA     90011975828
71434869271921   LILIANA      SOTO-MURILLO                 CO     90012388692
71435432755966   DIVA         LAREZ                        CA     48081904327
71435958285937   RODNA        JOHNSON                      KY     67084579582
71436253571921   ADAN         CORTEZ                       CO     90015082535
71436277384322   WILLIAM      DUPONT                       SC     90014862773
71436346684336   ALFORD       JOHNSON                      SC     90009263466
71436485955966   SARAH        BRINKLAY                     CA     90012754859
71436944633698   SEQUOIA      PRESTON                      NC     90013839446
71436987981643   FIRE         SAPHIRE                      MO     90009929879
71437757257157   JOSE         CARBALLO                     VA     90011637572
71439881841237   ANDREW       SCHNUPP                      PA     51044548818
71441568655939   ALMA         ROSAS                        CA     90010345686
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71442653655966   JANET        ROBLES                       CA     90012296536
71442974857157   JOSE         HERNANDEZ                    VA     90008309748
71443449241237   MILLIE       MURPHY                       PA     90002454492
71443955555969   WENDY        BECERRA                      CA     48084499555
71444828655966   OLGA         JIMENEZ                      CA     90013048286
71445258341227   MICHAEL      HOFFMAN                      PA     90006742583
71446382241227   LARHONDA     EROADUS                      PA     51029553822
71446542871921   LUCERO       GOROSTIATE                   CO     90007605428
71446564341237   GANICE       ALLEN                        PA     90012035643
71446673272441   REBECCA      BAKER                        PA     51026796732
71447914555969   JAMIE        SLATE                        CA     90014109145
71448192941237   NYEISHE      HARRIS                       PA     90015331929
71448517933699   DAVID        FRYE                         NC     90011085179
71448615833698   RONNA        MOREHEAD                     NC     90012866158
71449147471921   SERENITY     MARQUES                      CO     90009541474
71449833161935   LANE         HUTCHINSON                   CA     90005998331
71451162372421   ROBERT       ROBERTSON                    PA     51048361623
71452336231433   HUGH         WEST                         MO     90013053362
71452763355969   NIKKI        CREE                         CA     48027837633
71454643657157   LUIS         GOMEZ                        VA     90003976436
71455175961995   THERESA      GONZALES                     CA     46001041759
71455272731443   PATRICK      DORNBACH                     MO     90010032727
71455453157157   GLENDA       MARROQUIN                    VA     90008684531
71455691991993   ESTER        BELTRAN                      NC     17094486919
71456928841237   ALAIN        JOHNSON                      PA     51044219288
71457419555939   EDDIE        RAMIREZ                      CA     48028934195
71457475355966   DAVID        LEWIS                        CA     48092824753
71457968172441   SHAWN        BAZMORE                      PA     51002479681
71459317272479   RICHARD      LESSMAN                      PA     51080473172
71459822755969   MARCOS       MORA                         CA     48054558227
71459835455966   FRANCISCO    GARCIA                       CA     90014038354
71461168755966   RYAN         NIX                          CA     90013391687
71461582181643   BENJAMIN     HEUWINKEL                    MO     29007905821
71463313893739   KYLE         DITTY                        OH     90011853138
71463897481633   RONALD       HOWELL                       MO     90010918974
71463967433699   LATOYA       ZIGLAR                       NC     12034379674
71465122757157   ANNE         DIXON                        VA     90010321227
71465429785833   MATHEW       WILLETT                      CA     90008674297
71466147755969   LYNZIE       MIRAMONTEZ                   CA     90015141477
71466595655966   LINDA        COMBS                        CA     48059105956
71467756233624   TAMMIE       PRITCHETT                    NC     90012567562
71469487633698   BRIDGET      JONES                        NC     90015004876
71469526255969   ADRIANA      RAMIREZ                      CA     90014785262
71471122731482   ANTWAUN      MCLEMORE                     MO     90006681227
71471198193739   THERESA      SPURLING                     OH     64594921981
71471933472441   JUSTIN       SMITH                        PA     90012539334
71472719331482   KARLA        ANDERSON                     MO     27556607193
71474443455969   ANGEL        REDONDO                      CA     90012524434
71474557493739   GARRY        WATSON                       OH     90010325574
71475116855969   TONY         HERNANDEZ                    CA     90013161168
71475848733447   NICHOLAS     BOUTWELL                     AL     90014778487
71476459141253   KEVIN        REED                         PA     90011864591
71477828331475   MELITA       ROBINSON                     MO     90011418283
71477912155966   MICHELLE     SYLVESTER                    CA     90014689121
71478113757157   THOMAS       HICK                         VA     90013201137
71478281472441   ANDREW       HOMICK                       PA     90009572814
71478334955969   CASSANDRA    VELASQUEZ                    CA     90006253349
71479354831433   YVONNE       HAZE                         MO     90014883548
71479981631432   CHASTITY     HEUER                        MO     27567019816
71481265671921   TINESHA      SAMUELS                      CO     90008462656
71482456381643   DAMON        WOODARD                      MO     29005584563
71483186457157   MIRELLA      QUIROZ                       VA     90014081864
71483319941483   ERNESTINA    CORREA                       WI     90009213199
71483578555969   MONIQUE      MENDOZA                      CA     90011085785
71483922331443   KRIS         WEBB                         MO     90015389223
71484231657157   CESARR       LOPEZ                        VA     90013672316
71484726131443   JUSTIN       DICKERSON                    MO     90013167261
71485259855966   BENJAMIN     JUSTUS                       CA     48036842598
71486792772441   TERRENCE     ELLISON                      PA     90012497927
71487681755966   JANETTE      AVILA                        CA     90010616817
71487921381643   DONALD       SHELTON                      MO     29072649213
71488172371921   THOMAS       SCHNERDER                    CO     90012901723
71488531972441   MATTHEW      JONES                        PA     51094275319
71488742784322   JERMAINE     STROBERT                     SC     90015327427
71488793833699   EDGAR        HERNANDEZ                    NC     90000407938
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71488883955966   JAIME        AGUILAR                      CA     90014038839
71489575561994   MARCO        FERNANDEZ                    CA     90013515755
71491421384322   ANTHONY      GRANT                        SC     90015234213
71492771457157   ANA          GONZALEZ                     VA     81000777714
71492775955966   ROBERT       DOW                          CA     90013747759
71492786355939   JOSE         GONZALES                     CA     90011277863
71494312541253   LOREN        FORD                         PA     90005333125
71494516171921   ELICK        CORTEZ                       CO     90013665161
71494594733699   TAMIKO       ALLEN                        NC     12013925947
71494981184322   WILLIAM      ROOKER                       SC     90015119811
71495938372421   MELISSA      MASSARI                      PA     51077199383
71497243172441   GLEN         DAVIS                        PA     90014082431
71497635141253   PAUL         COPELIN                      PA     51018186351
71498376772421   CAMERON      SCHADE                       PA     90003313767
71499392772479   AARON        BELL                         PA     90014313927
71499847131482   BARBARA      MAUNEL CROSSMAN              MO     27556618471
71511317593739   DANIEL       FRADY                        OH     90014003175
71511629431433   MARIA        JONES                        MO     27543466294
71511745331433   AKELIA       HOLMES                       MO     90013947453
71512997572441   CYNTHIA      CONNER                       PA     90001669975
71514296493739   MEGHAN       SHIVELY                      OH     90000232964
71514541931482   LATOYA       JOHNSON                      MO     27588635419
71514934241253   TOM          OTOOLE                       PA     51043299342
71515178561935   RAGHDA       ZAYA                         CA     90006711785
71515511957157   BILAL        MOHAMMED                     VA     90011775119
71516871531433   JERRY        PORTER                       MO     90012488715
71517462272421   LORI         WRIGHT                       PA     90005434622
71518436233698   KEITH        DEFREITAS                    NC     12001244362
71518788772421   MALLORIE     LINDEN                       PA     51014907887
71519669541253   ALLIE        WLIAMSON                     PA     90011926695
71521798671921   SHELBY       GONZALES                     CO     90011987986
71524782341227   JHON         SMITH                        PA     90009197823
71525214493739   HOPE         HUMAN                        OH     64506492144
71525854331433   RICKEETA     BROOKS                       MO     90007378543
71525981771921   NOEMI        CASTELLON                    CO     90010059817
71526127493739   JIEMA        SHULAR                       OH     90013251274
71527875361964   SHEILA       GARIBAY                      CA     90010588753
71529189184322   JOSE         ALISEA                       SC     90013591891
71532374161999   ALICIA       HERNANDEZ                    CA     90011173741
71534295584343   MARIA        MORALES                      SC     90007992955
71534575372421   DAVID        FRANK                        PA     90003325753
71535415881633   NOLAN        PINKNEY                      KS     29001394158
71535643584322   JOSE         CARLIS                       SC     90001286435
71535716355966   DAMARY       JIMENEZ                      CA     90011287163
71535789355939   BRENDA       LOZANO                       CA     90012217893
71535936131433   DERRICK      WALKER                       MO     90004649361
71536534555969   JERMI        WESTBROOK                    CA     90011155345
71538372957157   CEOMARA      ARRERE                       VA     90013673729
71539461831443   ROBERT       MCKINLEY                     MO     90014714618
71539729672421   LISA         THORNTON                     PA     90002707296
71541131272479   LINDSAY      SANTORI                      PA     90011241312
71541225284322   DARCY        BLACKSHEAR                   SC     90014982252
71541281733699   RAMONA       JAMES                        NC     90008462817
71542836771921   RAYMOND      LILLEY                       CO     32075808367
71544539155939   TERESITA     DE JESUS CALDERON            CA     48046195391
71544796431482   ALYCIA       MCGOWAN                      MO     90014057964
71544871572479   WILLIAM      BROWN                        PA     51043288715
71544964441242   TIM          BARTELS                      PA     90010439644
71545871572479   WILLIAM      BROWN                        PA     51043288715
71547412684322   FRANCISCO    JIMENEZ                      SC     90013384126
71547493155969   PAULINE      RUIZ                         CA     90012124931
71547676826257   JULIA        THOMPSON                     WI     90004846768
71547754461995   TINA         CUFF                         CA     90014797544
71549913455921   AMY          CHANG                        CA     90005319134
71549913581633   RUBI         SALAZAR                      KS     90011489135
71551284433698   VICTOR       MILLER                       NC     90014682844
71551515593739   AMY          ZAVACKY                      OH     64562975155
71552348481654   DORIAN       FERGUSON                     MO     90008473484
71553618255966   TONYA        THOMPSON                     CA     90014216182
71553757155966   JOSEPH       BLEZKOSKI                    CA     90013427571
71553765855966   ARMANDO      VALENZUELA                   CA     90011287658
71554147431432   DENNIS       KING                         MO     27586721474
71555478571921   RICHARDS     MICCOY                       CO     90012134785
71555865661978   ALLISON      SALDANA                      CA     46009838656
71556717255966   LISA         SANCHEZ                      CA     90012737172
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71556941741262   ARRON        GAINES                       PA     90013149417
71557131731482   SHARON       EWING                        MO     27571721317
71557654754121   RANDI        GIBSON                       OR     90014376547
71559142172479   SCOTT        THOMAS                       PA     90004491421
71559225655939   LUPE         BONDS                        CA     48054502256
71559259233699   CHRISTIAN    FIELDS                       NC     90014572592
71559929757157   LUIS         ROJAS                        VA     81095959297
71562164141237   RICHARD      RHINES                       PA     51014991641
71562218993739   ROSIE        SIMON                        OH     90006802189
71562498172441   PATRICIA     MCCUSKER                     PA     90011464981
71564281131443   JASMINE      WILLIAMS                     MO     90005522811
71564739955969   DOLORES      BEAM                         CA     90010377399
71565287884322   SHANTELL     FIELDS                       SC     90012412878
71565517381643   JANINA       CHEFFEN                      MO     90010975173
71565921833698   LASHAWNDA    KELLY                        NC     90007869218
71566988171921   VICTOR       BECERRA                      CO     90013029881
71567431431443   N            MCCOY                        MO     90003854314
71567572933698   MARK         SIMPSON                      NC     90014915729
71568415155966   ERICA        OLIVARES                     CA     90013324151
71571145871921   CRUZ         ROJAS                        CO     90000201458
71572147771921   NANCY        DAVIS                        CO     32096471477
71573112272479   STANLEY      NEDZESKY                     PA     90002651122
71573563931432   DANIEL       HAYES                        MO     27558245639
71576223684346   ENRICO       CANTILLO                     SC     90012262236
71576422355939   ARMANDO      SALAZAR                      CA     90009794223
71578461831443   ROBERT       MCKINLEY                     MO     90014714618
71579285681627   PATRCIA      MILES                        MO     90008372856
71579462272421   LORI         WRIGHT                       PA     90005434622
71579497833699   ASSYRIA      GREEN                        NC     90014574978
71581633831443   DANIELLE     TAYLOR                       MO     90012006338
71583574161935   JUAN         ANGELES                      CA     90006515741
71583953633698   KETERINA     ANDREWS                      NC     90009299536
71586362131482   VONDINA      WASHINGTON                   MO     27547463621
71589338733698   AMANDA       FLEMMING                     NC     90003143387
71589376241289   BRIAN        PLYLER                       PA     90009553762
71589848457157   LOUIS        ROLDAN                       VA     81087798484
71591415733698   DANA         DAWSON                       NC     90012664157
71591438255969   SONIA        LEON                         CA     90012184382
71592529131433   LAKENYA      DANIELS                      MO     27506525291
71593216741237   KATHLEEN     TIMLIN                       PA     90010962167
71594112984322   SHAWIE       CROMARTIE                    SC     90005851129
71595278755939   SYLVIA       PAYAN                        CA     90014292787
71595888843424   SERGIO       VELASQUEZ                    VA     90015518888
71596187233698   TAMEKA       SETTLE                       NC     90012751872
71596193571921   KENISHA      SMITH                        CO     90015121935
71596575672441   JOE          LEASHA                       PA     51006335756
71596943941253   COURTNEY     MOSLEY                       PA     51017869439
71597821533698   KENY         MURPHY                       NC     90014908215
71598214372441   PATRICIA     PERKINS                      PA     51076972143
71598945231482   KEN          LOCKETT                      MO     27508579452
71611778355966   MANUEL       CONTRERAS                    CA     90003877783
71612365355997   SARAH        COOK                         CA     49010533653
71612698984322   OSCAR        FIGUEROA                     SC     90011266989
71613384841237   MELISSA      PORTIS                       PA     90011033848
71613523581633   ALLY         PATTON                       MO     90014025235
71613553591993   LONNIE       HOLLOWAY                     NC     17017515535
71614965993739   MIRANDA      WAITUKAITIS                  OH     90003469659
71616548472479   JAMES        SHASHURA                     PA     90006455484
71616584281643   CANDIDO      LARA                         MO     90012995842
71617174933698   JORGE        ESTRADA                      NC     90010681749
71617453157157   GLENDA       MARROQUIN                    VA     90008684531
71617966772421   JONATHAN     LYNN                         PA     90003379667
71619868491991   FERNANDO     FINELO                       NC     90005478684
71626624191993   CATRISHA     BLAKE                        NC     17007196241
71626713591522   ANNA         MALDONADO                    TX     90007477135
71628888357474   DANIEL       BERMUDES                     IN     90014878883
71629764241253   CHARLEY      PARKS                        PA     90010887642
71629923957157   JAMZ         MORRISON                     VA     81015029239
71632579933698   ANTONIA      MEJIA                        NC     90013705799
71634531333699   TALMADGE     VERNON                       NC     12084745313
71634961857157   CLAUDIA      MALDONADO                    VA     90015119618
71635423231443   TIERRA       FOOTE                        MO     27513094232
71635454755939   JUAN         HINOJOSA                     CA     90011884547
71635624893739   CHARLES      REED                         OH     90004136248
71635661861997   VIVIAN       MITCHELL                     CA     90014816618
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71638331231433   FELICIA         ROBERTSON                 MO     90007633312
71638496872441   SHANNON         BAUCAN                    PA     90015164968
71638814755966   MARIA           PASILLAS                  CA     90011298147
71638975155969   MARISSA         LEWIS                     CA     90011099751
71638998284322   LUIS ALFREDRO   CHAMUL S                  SC     90012489982
71639631331443   NICOLE          TATE                      MO     90001576313
71639734833698   TEMIKA          HOKETTE                   NC     90008587348
71641691572441   JONATHAN        KOPRIVA                   PA     51080576915
71641727131443   MERCEDES        HODGES                    MO     90015137271
71642537481633   DAMEON          WATTREE                   MO     90013875374
71642662284381   CHRISTOPHER     BUESING                   SC     90002546622
71643146741227   STEPHANIE       BLAKEMORE                 PA     90011481467
71643286131443   DOMNIQUE        WINSTON                   MO     90014692861
71645875833699   JESSICA         ROBINSON                  NC     90014598758
71647163872479   MICHELLE        FALBO                     PA     90008801638
71647329881633   DAJUAN          MCCLANAHAN                MO     90014293298
71647427771921   FLORA           SIMBENGA                  CO     32090744277
71648372355939   KATHY           TRINIDAD                  CA     90012263723
71649229155982   CECILIA         LARES                     CA     48010992291
71649558431482   STORMEE         PENROD                    MO     90006995584
71651198693739   FIDA            SEEH                      OH     90011161986
71652351141227   CYNTHIA         MARTIN                    PA     51090923511
71653229481644   JOSE            FLORES                    MO     90001682294
71653842631672   LEAH            HANSON                    KS     22011158426
71654332772479   MATTHEW         HUWEART                   PA     90005373327
71654419591993   DEYANIRA        MEJIA                     NC     17087344195
71655786941237   SHANE           MELE                      PA     90015137869
71655881255969   ANTHONY         RUIZ                      CA     90008558812
71656283991991   EDGAR           MOLINA                    NC     17098522839
71656948455969   AMALIA          GODINEZ                   CA     90002789484
71658761693739   EMMANUEL        TUYISHIME                 OH     64586637616
71659648655939   VALERIE         RODRIGUEZ                 CA     90007816486
71661794172479   FANNIE          WALKER                    PA     51081927941
71663287261986   SHAUTE          MILNER-HAJI               CA     90015002872
71663838141253   BRANDI          NOCK                      PA     51022538381
71663853455966   ANITA           GARCIA                    CA     90014588534
71664382641237   DAVID           MILLER                    PA     90012733826
71666452872421   JACK            FERGUSON                  PA     51008554528
71667695655966   PAULINE         DOMINGUEZ                 CA     90009776956
71668677755939   LUPE            NUNEZ                     CA     90010126777
71669595272441   KEVIN           BURNS                     PA     51075915952
71669822255969   MONICA          WERNER                    CA     90000468222
71672243841237   TODD            CARROLL                   PA     90013562438
71673784491863   STEPHEN         BORENS                    OK     21025437844
71673911355966   LOERA           RAMON                     CA     48088179113
71674385255939   VERONICA        RUIZ                      CA     90014523852
71674391581633   RICK            LACORE                    MO     90006563915
71675465331432   SHAUNTA         BUSBEY                    MO     90002474653
71675714381633   WILLIAM         ROSS                      MO     90003117143
71676246893747   GREG            WALLER                    OH     90009602468
71676644455939   SHYENNE         BABB                      CA     90001906444
71676863357157   MITCHELL        MILKOV                    VA     90009538633
71679376755977   RAQUEL          FLORES                    CA     90010753767
71679947972479   TIMOTHY         EDWARD                    PA     51035409479
71682196631433   LASHAY          JONES                     MO     27542371966
71682314931443   VICKIE          JACKSON                   MO     90011313149
71682489871921   JERED           KEITH                     CO     90012934898
71682976231482   RONNIE          DAVIS                     MO     90003769762
71683589955966   ITZEL           RODRIGUEZ                 CA     90012965899
71684343461935   DUANE           PRESTON                   CA     90006533434
71685463991827   KERRY           GARRISON                  OK     90011014639
71685987155966   YAHAIRA         CANO                      CA     90012909871
71686224655966   FELIPE          SANCHEZ                   CA     90009702246
71686681491991   INGRID          MUHAMBI                   NC     90012856814
71686711461935   DANIELA         CARRILLO                  CA     90001977114
71687757884322   CHARYSE         PALMER                    SC     90011487578
71688368781633   MECHINZA        SAM                       MO     90013933687
71688428457157   STEFANIE        ALLEN                     VA     90014844284
71688636741237   BONNIE          ASKEW                     PA     51042866367
71689584633698   KASIV           SALAM                     NC     90013505846
71689761955966   PRISCILLA       MARTINEZ                  CA     90014547619
71692623493739   JADE            GLOVER                    OH     90001726234
71693193571921   KENISHA         SMITH                     CO     90015121935
71693346133699   SHAREE          BURKS                     NC     12012063461
71693819831443   NICHOLAS        FOSTER                    MO     27567208198
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71693961831433   KELVIN       FORD                         MO     90010289618
71694142191993   STACY        FIEDLER                      NC     17078451421
71694244772441   JASON        HOUGH                        PA     90012592447
71694414581643   TONIA        THOMPSON                     MO     29082614145
71695413533626   JUAN         MARTINEZ LOPEZ               NC     90015184135
71695697555966   NATHANIEL    TOMAS                        CA     90013776975
71695869841227   MICHAEL      CERVONE                      PA     90011798698
71695889781633   WILLIAM      THOMPSON                     KS     90013168897
71696855581633   HILDA        HILL                         MO     90007068555
71697394357157   YOLANDA      HERNADEZ                     VA     90010233943
71698587133698   RAQUEAL      LOGAN                        NC     90012995871
71698683784322   ANGELICA     OCHOA                        SC     90001716837
71711252455939   JOSE         ALEJANDRO-URBINA             CA     90007672524
71711915843424   CRECENCIO    HERNANDEZ                    VA     90015569158
71712866172441   GERALD       CORDES                       PA     90013448661
71712963455939   ANA          CORTEZ                       CA     48034429634
71714566257157   FELICIA      DAVIS                        VA     81000715662
71714662971921   QUIZZIE      SHELTON                      CO     90012656629
71715453155939   YESENIA      ALVARADO                     CA     90011004531
71715458181255   BRETT W      MILLER                       KY     90015164581
71715529457157   DAVID        CRUZ                         VA     81035385294
71716342231433   ASIA         WINSTON                      MO     27546883422
71716557181643   APRIL        MERCER                       MO     90010975571
71716612631482   TERRENCE     GOLLIDAY                     MO     27593086126
71716765551349   RETHA        SWAFFORD                     OH     66069597655
71719969871921   ELDER        DELGADO                      CO     32015689698
71723199171921   COUNTRY      CAT                          CO     32016641991
71723364984322   JOSE         MARTINEZ                     SC     90013523649
71723699355969   TOM          CHAMBERS                     CA     48081086993
71725653957157   MARVIN       ALBERTO                      VA     81035396539
71726459191993   MYRNA        WHITE                        NC     90007384591
71726745855966   JOSE         RAMIREZ                      CA     48063647458
71726947271921   FAVIOLA      BALTAZAR                     CO     32097829472
71727112591991   CHRISTINA    FLOWERS                      NC     90005511125
71727169557157   ELIANA       SANTILLANO                   VA     81065691695
71727249591563   ANGIE        CRUZ                         TX     90010082495
71727396655966   CLARA        CASAS                        CA     90012763966
71727728731433   KATHALEEN    SHAW                         MO     90005587287
71727794255969   CARLOS       MARTINEZ                     CA     90015097942
71728448672441   ADAM         GALLETTA                     PA     90012324486
71728487555939   MARIA        LEMUS                        CA     48088694875
71731213684322   ALFREDO      GALINDO                      SC     90011282136
71731911431443   JAWANNA R    WILKINS                      MO     90012979114
71731988831433   LAKEISHA     DAY                          MO     90010939888
71732136855966   BRENDA       PAULIMO                      CA     90011811368
71732225741237   SUSAN        PAWARSKI                     PA     51096262257
71732461971921   BRENDA       WILLY                        CO     32045244619
71733228655969   JUAN         OWEN                         CA     90012722286
71733732361935   MIGUEL       THOMPSON                     CA     90006537323
71735427584322   FANNY        BAUTISTA                     SC     90014024275
71737286757157   ELMER        MEDINA                       VA     81016372867
71737368691993   JAIME        LOPEZ                        NC     90004603686
71737677581633   SAMANTHA     SMITH                        MO     29084876775
71739342793739   LEOTA        HARRIS                       OH     64505153427
71739639641253   LINDA        DAVIS                        PA     51012926396
71739726791925   LA'TOSHA     DALE                         NC     17010117267
71741155193739   MOLENGI      MBOMA                        OH     64541551551
71741211931443   CHAMILL      HINES                        MO     27563402119
71741945831433   JEROME       GRAY                         MO     90013399458
71742884372441   DARRYL       HARDY                        PA     51032678843
71743892172479   LANCE        LEWIS                        PA     90008928921
71745348731482   REGINA       SMITH                        MO     90000493487
71745486471921   CYNTHIA      MONEYMAKER                   CO     32016124864
71746131772441   CHRIS        ZEDAK                        PA     51038281317
71746523341237   KHIA         REED                         PA     51010755233
71746967772479   ROXANNE      CLEGG                        PA     90008699677
71747139491939   JIMMIE       ROBINSON                     NC     90009191394
71747188657157   ERIKA        MARROQUIN                    VA     81012451886
71748327431433   ERIC         BOWMAN                       MO     90012823274
71748336971921   LACEY        LILLEY                       CO     90013303369
71748914431443   HOWARD       TATE                         MO     90011979144
71748994757157   EVELIN       AMAYA                        VA     90015119947
71751317971921   DEE          GRAYAM                       CO     90014393179
71752288733699   JONAH        GENT                         NC     90011422887
71753855591924   JUAN         AVALOS                       NC     90009278555
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71754659957157   ESTEFANY     ALVARADO                     VA     90013876599
71755564141253   JASON        YOUNS                        PA     90009285641
71756396655966   CLARA        CASAS                        CA     90012763966
71757468193739   JAMES        ALLEN                        OH     64553754681
71758155772479   ANTHONY      STAROPOLI                    PA     90010451557
71758346991993   JAMES        CAMP JR                      NC     17086263469
71758571133641   WILLIS       BRIGGS                       NC     90002895711
71759365333698   LAVANCE      BURNETT                      NC     12085073653
71761457657157   GLENDA       VENTURA                      VA     90014304576
71762116731433   MARIO        NAVAROS                      MO     90013951167
71763144781643   LUIS         PIETANESI                    MO     29083291447
71763432557157   ADEN         HAJI-MUMIN                   VA     90013904325
71765632581633   STEPHEN      HENKE                        MO     29001386325
71766291555939   SERGIO       MORALES                      CA     90011052915
71766671831482   STEPHANIE    ROBINSON                     MO     27508586718
71768813871921   ROY          JAMES                        CO     90011718138
71769316455969   PATRICIA     MONTOJA                      CA     48051763164
71771357655977   RICHARD      AMARO                        CA     90013073576
71771432361597   EDGAR        LOPEZ                        TN     90015504323
71772622655969   ARTURO       FARIAS                       CA     90012066226
71773553161935   JESSE        SULLIEAN                     CA     90006595531
71774361757157   KAREN        FLORES                       VA     90004733617
71776968684322   CLAUDETTE    WRIGHT                       SC     90011979686
71777466991852   VESTER       FINCH                        OK     90011314669
71777711631443   MARY         THORNTON                     MO     90011587116
71779183955939   RAMON        VEGA RABAGO                  CA     90012771839
71781293472441   JESSE        BURROUGHS                    PA     90011922934
71781437355969   DUSTIN       MORRIS                       CA     90008694373
71781539133699   KATRINA      LESLIE                       NC     90014605391
71781715177528   STEVEN       WINTERS                      NV     90004817151
71781758331443   DENISE       SMITH                        MO     90013747583
71782715584322   STEVEN       WOODS                        SC     90012997155
71785561833699   AJANNE       SMITH                        NC     90014605618
71785577355969   JULIO        HERNANDEZ                    CA     90006965773
71786261571921   LINDA        SALINAS                      CO     32025122615
71787117333698   LATRINA      TORRENCE                     NC     12029721173
71788596333699   BONITA       TAYLOR                       NC     90014605963
71789139631433   JENNIFER     DAVIS                        MO     90013951396
71789898857157   CARLOS       GONZALO                      VA     90005788988
71791383961994   KATIE        RHOTON                       CA     46024703839
71791559233698   CALEB        RAMOS                        NC     90012845592
71793144231433   RACHEL       LAY                          MO     90012651442
71793146855966   CESAR        ALVAREZ                      CA     90011581468
71793659331443   DIANE        IKEMAN                       MO     27564426593
71795435157157   MARIA        RODRIGUEZ                    VA     81079884351
71795712184322   KRISTINA     PHILLIPS                     SC     90014767121
71795818172441   RACHEL       BARTOLINI                    PA     90006328181
71797775731433   DONALD       JOHNSON                      MO     27596097757
71798763433699   JASMINE      LOVE                         NC     90011367634
71798782955939   LEONEL       SERRANO                      CA     90013737829
71812193257157   GRACIELA     HERNANDEZ                    DC     90014001932
71814131655969   MARTHA       HERNANDEZ                    CA     90008681316
71815265731443   TIFFANY      ROBINSON                     MO     90013362657
71816886793739   TERRY        HOLT                         OH     90011408867
71817248431432   ANDREA       TERRELL                      MO     27510092484
71817262871921   HEIDE K      RETTIG                       CO     90013162628
71817488431433   DAJA         GRAHAM                       MO     90014004884
71817672631443   SARA         MALONE                       MO     90001926726
71817738633698   MJ           JONES                        NC     90002687386
71819465655966   CYNTHIA      MARES                        CA     90010724656
71819913984322   NORMA        RIVAS                        SC     90010179139
71821687571921   JOSE         BENITEZ                      CO     32088866875
71822815471921   SYLVIA       DURAN                        CO     32074888154
71822981261972   VERONICA     RAMOS                        CA     46060059812
71823214155969   LUZELENA     CAOILE                       CA     48064992141
71824762731432   GALE         LANDERS                      MO     27588147627
71826898833699   ANGELA       CAIN                         NC     90012718988
71826976491993   CHARLENE     GILL                         NC     90009879764
71827343761984   ROQUE        ALFREDO                      CA     90008143437
71828279531433   C            BARTON                       MO     90013952795
71829277457157   MARIO        MAJANO                       VA     90007882774
71831242891993   APRIL        BLOUNT                       NC     90008502428
71831431855966   AMPARO       LARA                         CA     90011584318
71831557881633   ASHLEY       OVERSTREET                   MO     29027415578
71832198231443   BAPOLEON     NORWOOD                      MO     90010881982
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71833259531433   SARAH        LASHER                       MO     90003022595
71833439372479   TIM          BRESSLER                     PA     51007914393
71833958155969   ARTEMIO      PEREZ                        CA     90014819581
71834397155969   TANIA        HERRERA                      CA     90012343971
71834525157157   JUAN         HERNANDEZ                    VA     81063255251
71834594333698   KELLY        SHEFFIELD                    NC     90014065943
71835391741227   LORETTA      CLARK                        PA     51082763917
71835893755969   ADRIANNA     ALVARADO                     CA     48079608937
71838213361972   MARIA        BURRELL                      CA     90010292133
71839166633698   BRANDON      SMITH                        NC     12074701666
71839249881643   EBONEY       JOHNSON                      MO     29022042498
71842194255939   MELINDA      GARCIA                       CA     48032781942
71842619131433   KEYOA        JOAEN                        MO     90010406191
71843298657157   CHRISTINA    RAMIREZ                      VA     90014762986
71844771855939   ANEL         HERNANDEZ                    CA     90009917718
71845187141253   SYLVIA       LANIOUS                      PA     51087261871
71846188784322   DEE          COMELLI                      SC     90012491887
71846572781255   TINA         ACRES                        KY     90008735727
71847119893739   ALLEN        DAVIS                        OH     64514461198
71847218857157   BERTHA       GUTIEREZ                     VA     81036152188
71847926872479   RICHARD      BOORD                        PA     51072779268
71848236893739   BRYON        PRIEST                       OH     64541822368
71849731555966   JENNIFER     KING                         CA     90011947315
71852618972479   SHALONDA     COTTON                       PA     90014756189
71852971655966   GREGORY      FLORES                       CA     90014109716
71854949755966   ALTA         NEIL                         CA     90011589497
71856362572441   ERIN         BARDALL                      PA     90010493625
71856418481633   EVELYN       SANTOS                       MO     90009414184
71856666541253   DAVONTE      HUNTER                       PA     90011926665
71857931271921   EVELYN       SIERRA                       CO     90010709312
71858128793739   MICHAEL      HOGANS                       OH     64500731287
71858144231433   STEVEN       ARMSTRONG                    MO     90015531442
71858213241237   SHEILA       RANKIN                       PA     90014662132
71859593841253   KOROPAL      SANDRA                       PA     51048345938
71859666471955   BRIA         MORENO                       CO     90013226664
71861873872479   JAMIE        TRIMNAL                      PA     90012608738
71864761941227   AMY          MCCORKLE                     PA     51017417619
71871675455931   JASMIN       ROSALES                      CA     90014216754
71872234693739   DAVID        BECKETT                      OH     90007512346
71872323655969   RICKY        NAVARIEZ                     CA     90013503236
71873382271921   CONNIE       ANAYA                        CO     32030313822
71874144781643   LUIS         PIETANESI                    MO     29083291447
71874295557157   JAIRON       GRAMAJO                      VA     90010452955
71874556731433   TYLISHA      WHIPFIELD                    MO     90015555567
71875456361935   SERGIO       AVALOS                       CA     90006714563
71875995355969   EDUARDO      DIAZ                         CA     48082969953
71876459255966   MARIA        CONTRERA                     CA     90013054592
71876757555969   ARNULFO      VALENCIA                     CA     90002747575
71877165872441   CRAIG        WALKER                       PA     51015561658
71877191951327   P            MURPHY                       OH     90004321919
71878439241253   MONICA       LONG                         PA     90007464392
71882717472479   MIKE         TIRPAK                       PA     51050467174
71883184555966   FELICIA      BAKER                        CA     48097901845
71883477255966   EMILIY       PARTON                       CA     90014884772
71883768231432   CHARLES      SMITH                        MO     90007187682
71885116131443   ABEL         HUNT                         MO     90008201161
71886684241237   CHARNEKA     JACKSON                      PA     51088046842
71886913655969   CECILIA      AMEZCUA                      CA     48057359136
71887185181643   KENNEY       GOODWIN                      MO     29006911851
71887698841253   DENNISE      WILLIAMS                     PA     90005666988
71888562581633   LARRY        ALLNUTT                      MO     90010195625
71891646931443   DONETTA      BOND                         MO     90013526469
71891742391586   SANDRA       SANCHEZ                      TX     75038927423
71892391155939   DIANA        LOPEZ                        CA     90012373911
71892883731433   LASHA        THOMAS-JONES                 MO     90009588837
71892943361958   BICHELE      RODICH                       CA     90008899433
71893159431482   JOHN         ARELLANO                     MO     27564481594
71893456355966   KARINA       GONZALEZ                     CA     90002334563
71893622793739   GARY         DENNIS                       OH     90011306227
71894911161922   LOREEN       OREILLY                      CA     46061179111
71894996572441   DAN          FORSYTHE                     PA     90003459965
71895661671921   IVAN         RAMIREZ                      CO     90012446616
71896119355969   SAMMY        HERNANDEZ                    CA     90011101193
71896388457157   MARIA        BARAHONA                     VA     90010783884
71896449655939   GUADALUPE    CRUZ BENICIO                 CA     90012874496
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71896837981643   PHILLIP      PARKS                        MO     29055648379
71897113931443   JENNIFER     STARNS                       MO     90008601139
71899612793739   BRANDI       SNIDER                       OH     90012896127
71913747331443   JONMALET     BENNETT                      MO     90010097473
71915951571921   NELSINA      COOL                         CO     32096019515
71917682331433   ITHAMAR      FENERSON                     MO     90007636823
71917951581643   KELVIN       TURNER                       MO     29070259515
71917984333698   DENAAL       HASKINS                      NC     90004869843
71918468657157   OMAR         VILLEGAS                     VA     90012804686
71918493155969   MARIA        ROCHA                        CA     48047484931
71919841241227   MARTIN       NICHOLAS                     PA     90010608412
71921311433698   FRANCISCO    RODRIGUEZ                    NC     90014483114
71921428155966   JESUS        GALVAN                       CA     90012764281
71921782491869   JAKINAH      SMITH                        OK     90007987824
71923264141253   MICHELLE     LEIGHTY                      PA     51062272641
71923356233699   ALEXCUS      BAILEY                       NC     90014653562
71923598572441   DESHAWNDE    WEST                         PA     90012435985
71923999655939   JERRY        NEVES                        CA     48065629996
71924153341253   DAVID        POWELL                       PA     51068771533
71924159755966   KARLA        GAETA                        CA     90001621597
71925992655966   RHONDA       CARDER                       CA     90010689926
71928469133699   FERNANDO     HERRERA                      NC     12083544691
71929987171921   SHANNON      WELLS                        CO     32024699871
71932231541237   DENISE       THOMAS                       PA     51041382315
71934564384322   MATTHEW      SCARRETT                     SC     90014905643
71935765872479   THOMAS       DAVIN III                    PA     90010887658
71936625455969   NATALIE      MARTIN                       CA     90009816254
71937197141253   DERIC        SNOOKS                       PA     51090691971
71939395255939   JOSE         CARRANZA ALCARAZ             CA     48061443952
71941526131443   TAMMY        TUGGLE                       MO     27567735261
71941649984322   RYAN         STACY                        SC     90007056499
71941736772441   BILL         STAMM                        PA     90015227367
71941975391993   LINDA        HUNT                         NC     90003049753
71942318772441   CRYSTAL      DELOUIS                      PA     90010143187
71942845941253   RHONDA       NELSON                       PA     51050638459
71943526131443   TAMMY        TUGGLE                       MO     27567735261
71944113341227   JONATHAN     RUBY                         PA     51018281133
71944151941253   TENEASHA     PATTERSON                    PA     51061381519
71944413372421   JAMES        DAVIS                        PA     51058834133
71944516884322   MARIELA      OLGUIBN                      SC     14522545168
71944866871921   SUZANNA      PHILLIPS                     CO     90002098668
71945954181643   TIFFANY      METCALF                      MO     29048939541
71946441741237   RICARDO      COTTRELL                     PA     51075034417
71946795531443   LOPEZ        SIMMS                        MO     27514047955
71947496541227   SUGAR        BROWN                        PA     90007614965
71948265731443   TIFFANY      ROBINSON                     MO     90013362657
71949321531443   LETTIMA      FIGGERS                      MO     90010653215
71949784555969   ANA          CHACON                       CA     90007477845
71951644357127   MOHAMED      OMAR                         VA     90003176443
71952253141227   CASONDRA     CLEMONS                      PA     90002462531
71952897172479   HARRY        TUMAN                        PA     51027038971
71953544541237   RHONDA       LITTLE                       PA     90009345445
71954266572441   TOM          WOLBERT                      PA     90006922665
71955531733699   DEBORAH      BANKS                        NC     90014655317
71956276681643   KEVIN        STANLEY                      MO     29000782766
71956357171921   TERRELL      TAYLOR                       CO     90009643571
71956572771921   DARREN       DODGE                        CO     90012425727
71957237781633   RANEKKA      DICKERSON                    MO     90013652377
71957345833698   KRISTEN      HOWARD                       NC     90001223458
71957473693739   SAMANTHA     SPARKS                       OH     90013874736
71957865186523   ADAM         STENFORD                     TN     90015538651
71962596772479   TONYA        LESNIAK                      PA     90010075967
71962998557157   JAVIER       RAMIREZ                      VA     90013079985
71964364271921   SCOTT        CLAY                         CO     32039653642
71965519191869   RYAN         LOVE                         OK     90014775191
71965889991993   HTOON        LIAN                         NC     90005788899
71966326341253   MARY         GAERTNER                     PA     51061333263
71966576471921   ARMANDO      GRACIA ESTEBAN               CO     90009175764
71967447384322   SHAWN        BRYAN                        SC     90014914473
71968569655966   PRISCILLA    LOPEZ                        CA     90014785696
71968618241237   BRITTANY     MITCHELL                     PA     90011056182
71969115357157   CARIN        MUNOZ                        VA     90014981153
71973786531443   YOLANDA      BUCHANAN                     MO     90004007865
71974247872421   JASON        FERRARO                      PA     51079032478
71975182481633   LARRY        BALMER                       MO     29001921824
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71976693455969   BOBBY          LARA                       CA     90013656934
71977368255966   REBEKAH        DIAL                       CA     48009103682
71977869855969   AARON          THOMAS                     CA     90011118698
71978323431443   OCTAVIA        YOUNG                      MO     90008003234
71979689681255   JESSICA        BANTA                      KY     90006856896
71979961684322   CHARITY        RIVERS                     SC     14507099616
71981351171921   AMPARA         DIAZ                       CO     90014343511
71981448241253   BISWA          PRADHAN                    PA     90009234482
71981782491869   JAKINAH        SMITH                      OK     90007987824
71982869855969   AARON          THOMAS                     CA     90011118698
71983142751347   VICKIE         COOPER                     OH     90009271427
71986932772479   TAMMY          PRINKEY                    PA     51011109327
71987165693739   PATRICK        WOOLARD                    OH     90003441656
71989172181643   MARIA          VELALQUEZ                  MO     29026481721
71989329133698   DEANA          RICE                       NC     90014303291
71992511531433   WESLEY         WILLIAMS                   MO     90013955115
71992712455969   IRMA           ARIAS                      CA     90008547124
71993451755939   GERARDO        VASQUEZ                    CA     48077564517
71994115533698   EDRA           COLBERT                    NC     90012691155
71994131255939   LUISA          FLORES                     CA     90015121312
71994165693739   PATRICK        WOOLARD                    OH     90003441656
71994579672479   MICHAEL        BERDAR                     PA     90014545796
71995463472479   LYNNE          FLEMING                    PA     90006014634
71996231771921   MIKE           DYKHOFF                    CO     32017762317
71996518831433   MARVIN         GOMEZ                      MO     90012065188
71996989181633   PATRICIA       AYALA MALA                 MO     90012109891
71997436371921   STORM          TAYLOR                     CO     90009984363
71998692631432   RONALD         HAMILTON                   MO     27548466926
71998941884322   LUDIER         ORTEGA                     SC     90000289418
72112682955966   GLORIA         MARTINEZ                   CA     90014166829
72113721871921   NADINE         ROBINSON                   CO     32088297218
72113727441237   SHEILA         ROEHRIG                    PA     51036167274
72114181655966   TIMOTHY        KLEIN                      CA     48047441816
72117752555939   VERONICA       BELL                       CA     90014617525
72118221172441   DONNA          ADAMS                      PA     51095942211
72118249793767   SHAKIRA        GARY                       OH     90011662497
72118799357157   JOSE ALFREDO   AMAYA                      VA     90006207993
72119641771955   CHRIS          MORA                       CO     90006136417
72119735333657   HIDE ALFONSO   CARMONA-HERNANDEZ          NC     90012757353
72119988681633   FREDRICA       ROSS                       MO     90013309886
72122369772421   FRANK          KOLAR JR.                  PA     51029703697
72123144555939   IDA            SEPULVEDA                  CA     90005601445
72123788441237   RICHARD        SMITH                      PA     90013097884
72125473972479   WILBUR         WOODALL                    PA     51081814739
72125852672441   MALCOLM        BELL                       PA     51002438526
72126916671921   OLGA           PENA                       CO     90008549166
72128514641265   MELANIE        MOORE                      PA     90010195146
72128781855947   JOSE           DELGADILLO                 CA     49075377818
72129216584322   BRANDON        SPANN                      SC     14505782165
72129988457157   FATIMA         VALDEZ                     VA     90015279884
72133386655939   JUAN           TREVINO                    CA     90012193866
72134859271921   C DAVE         CROOK                      CO     90014848592
72135221257157   SEROULO        YASABA                     VA     90013452212
72135563141253   RICHARD        ADAMS                      PA     90014455631
72135936693739   MEAGAN         WHITE                      OH     64551629366
72136452857157   MICHELLE       LAWRENCE                   VA     90014764528
72136932133698   KADEEJAH       MILLER                     NC     90011359321
72138983831433   KRISTINA       PENLY                      MO     90015289838
72139228155966   ANTONIO        RANGEL                     CA     90014322281
72139984755966   RAFAEL         PEREZ                      CA     90004579847
72141324572479   BRYAN          ASBURY                     PA     51066773245
72141883255939   PATRICIA       GARCIA                     CA     90006598832
72143163193739   IDA            MOBLEY-HUMMONS             OH     64581201631
72144433557157   VENKATRAM      SUNKARA                    VA     90010324335
72145815372441   JOSELLE        SCHOOLEY                   PA     90014138153
72145899893739   GARRY          CORBIN                     OH     90000418998
72147183657157   JOSE           LOPEZ                      VA     81037281836
72148769155966   HUGO           FLORES                     CA     90014167691
72148874484322   SUSANA         MACIAS                     SC     14504728744
72152851793739   SAFFIYAH       RAJHUN                     OH     90010998517
72153857671921   MICHAEL        WASHINGTON                 CO     90010248576
72155386786434   THELMA         JACKSON                    SC     90014733867
72156164641253   JAMES          MCCLAREN                   PA     51084361646
72157297431684   SANESHA        PEDEN                      KS     22083652974
72157371755966   MARIA          CHAVEZ-BRAVO               CA     90013113717
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72157786471921   KEN           MARTINEZ                    CO     32041587864
72159237572479   NATHAN        ROSENSTEEL                  PA     90011452375
72159457255969   RAFAEL        SEBASTIAN                   CA     90013794572
72161642841253   PATRICK       WILSON                      PA     51044516428
72161727784322   MARK          WEAVER                      SC     14563687277
72163324241227   MARTIN        TORRES                      PA     51094253242
72165413231432   TARA          DECKER                      MO     90009184132
72165675555939   JESSICA       GARCIA                      CA     90010386755
72166427584322   FANNY         BAUTISTA                    SC     90014024275
72166573733699   TYWANA        JONES                       NC     12024185737
72166682741227   LA SHAWN      VINCENT                     PA     51061856827
72166772731433   TINA          HENDERSON                   MO     90014677727
72167399771921   CHRISTINA     BLOOM                       CO     32073603997
72168564531433   KEMARA        RANDOLPH                    MO     90009995645
72168763171921   RODNEY        DODSON                      CO     90014427631
72169348531432   JEN           MINNIS                      MO     27541483485
72171195155969   ROBERTO       PARGAS-ESPINOZA             CA     90002671951
72171496872441   SHANNON       BAUCAN                      PA     90015164968
72171651955947   NANCY         LEE                         CA     90004656519
72171826641237   TIFFANY       FERRY                       PA     51071408266
72171992671921   CASSANDRA     ROUT                        CO     32054389926
72172816655939   OCTAVIO       CANO                        CA     90005048166
72173823831433   JESIKA        SOHNREY                     MO     90009468238
72173841355969   LAURA         CELA                        CA     90013548413
72173932457157   JULIO         GONZALES                    VA     81081069324
72173943171921   CHRISTINE     SAVOY-JOHNSON               CO     32088279431
72174413231432   TARA          DECKER                      MO     90009184132
72175335433684   TABOTHIA      DAWKINS                     NC     90005503354
72178816372421   JAMES         NICOLETTE                   PA     90001558163
72182146855969   TIARA         SHACKLEFORD                 CA     90009731468
72182359755966   HAZEL         CORLEY                      CA     90011633597
72182877155966   BRICIA        LOPEZ                       CA     90014168771
72184763155969   FAUSTINO      CASTRO                      CA     48067887631
72184794271921   EMMETT        LARSEN                      CO     90012027942
72185787361935   APRIL         ZIMMERMAN                   CA     90006967873
72187599672441   ALEXIS        WALKER                      PA     51015085996
72189446572421   JAMES         TRAY                        PA     51057154465
72192291731433   NAIMAH        ABDULLAH-GALES              MO     27572532917
72193851455966   MEGEANE       LOPEZ                       CA     90014188514
72194682493739   TIFFANY       NEWTON                      OH     90008786824
72195272871921   THOMAS        SCHREPEL                    CO     32091512728
72195338791991   ANTHONY       YATES                       NC     17057343387
72195745281633   VYLINDA       MATTERN                     MO     29064757452
72196331433698   CHOWAN        GREEN                       NC     90014023314
72196756841227   SABRINA       JACKSON                     PA     51088147568
72196849172441   CRAIG         FADELEY                     PA     51060578491
72196938972421   HEATHER       BURK                        PA     90009439389
72198465657124   JAMIE         HANSON                      VA     90004084656
72198775872421   JENNIFER      CECCONELLO                  PA     51037387758
72199221861935   NORA          JOHNSON                     CA     46007372218
72199385455973   SAMUEL        PRESTON JR                  CA     48072943854
72199499393739   TERRY         MURPHY                      OH     90003534993
72211561391991   GLORIA JEAN   MASSENBURG                  NC     90008715613
72213731672477   CARA          VALLECORSA                  PA     90006087316
72214165855939   CHRISTINA     GALANG                      CA     48034161658
72214394931433   JAMES         GERLING                     MO     27568463949
72215785131433   SHYLIYAH      COTTON                      IL     90015427851
72217434672421   JOHN          DNEASTER                    PA     90011104346
72217624141237   KIMBERLY      MAZZOLENI                   PA     51054056241
72218288331432   GREGORY       RUSSELL                     MO     90011122883
72218636455966   AMALIA        CHAVEZ                      CA     90013946364
72219311655939   SARA          DEL BOSQUE                  CA     90006043116
72219582771921   SPENCE        MASSEY                      CO     90002465827
72219816472441   JOSEPH        BARNHOUSE III               PA     51051978164
72219826433698   SHARON        COOPER                      NC     90013758264
72219829855969   GERMAN        LOPEZ                       CA     90012058298
72221561193739   ANGELA        SPENCER                     OH     64544755611
72222574357157   SANDRA        ORTUÑO                      VA     81039365743
72223985366255   BRENDA        FITTS                       MS     90010989853
72224673493739   JOLENE        DILLON                      OH     64552936734
72225745731443   THOMAS        ANDERSON                    MO     90012027457
72226513831433   MAURICE       JONES                       MO     27584395138
72228521641227   BRUCE         MILLER                      PA     90001275216
72228787841253   MICHAEL       TRAUTMANN                   PA     51039587878
72229633771921   JAKE          KEHRET                      CO     90011916337
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72229697557157   ROSEMARY      MONERROSO                   VA     90008436975
72231938633698   JAKWA         TURNER                      NC     90014339386
72233276957157   MARIA         SORTO                       VA     90001392769
72233867636182   ROY           ALLEN                       TX     90001498676
72235389655939   JESUS         REYNOSO                     CA     90010663896
72235512381633   KEITH         BYERS                       MO     90004975123
72235848455939   LEOPOLDO      NAVARRO                     CA     90012778484
72236963455939   BASILIO       CARRANZA                    CA     90012999634
72237322933699   MONTRALLA     PRESSLEY                    NC     90011383229
72237926455939   JUAN          MENDEZ                      CA     90013229264
72238942155966   SARAH         CASO                        CA     90014169421
72239287831443   KAREN         VINSON                      MO     27587272878
72241398693739   GEOEGINA      LISO                        OH     90006493986
72242665172421   BETTY         BOHONIS                     PA     51060686651
72242674891939   HAZEL         MONTGOMERY                  NC     90008716748
72243136441237   CRYSTAL       DELANCEY                    PA     90014781364
72243679457157   VNS           CONSTRUCTION                VA     90007196794
72244332372441   TAMMY         JOHNSON                     PA     90011193323
72245411541227   MATTHEW       HACKERT                     PA     51009684115
72247163355947   DAISY         MENDEZ                      CA     90001241633
72247395733699   KASEY         HAUSER                      NC     12086253957
72248585355939   ANA           DE LEON                     CA     90012605853
72249359133699   ROSA          CHEFF                       NC     90005123591
72249381261935   ESTELA        TREJO                       CA     90009863812
72249671772441   ROLAND        DELANEY                     PA     51062236717
72251429672421   DENNIS        BACKUS                      PA     90012474296
72253721741237   GARY          HOLMAN                      PA     51079497217
72253789172441   KATHLEEN      LEGGE                       PA     51077757891
72254451633698   TONYA         RHODES                      NC     12046924516
72257611471921   ABRAHAM       BRITO                       CO     32091576114
72258293441253   JORDAN        CUMMINGS                    PA     90009922934
72258861993736   LAURA         SINGER                      OH     90008238619
72259572231433   KENYA         HAMILTON                    MO     90014365722
72263421272479   DEBBIE        MIMIDIS                     PA     51085084212
72264172741237   JOANN         VANARD                      PA     90011861727
72264819381633   IVY           LEE                         MO     90014768193
72264922557157   ZOILA         MARTINEZ                    VA     90014789225
72266814272479   DARRIN        COLEMAN                     PA     90014788142
72269477741237   ANDREA        JOHNSON                     PA     90009214777
72269616871921   TODD          BOURDELAIS                  CO     90011596168
72272415772441   WILLIAM       PALMIERI                    PA     90013164157
72272552372479   AMY           ALTEMARA                    PA     51038135523
72276186555966   ALFRED        HERNANDEZ                   CA     90014881865
72276268381633   GARY          JONES                       MO     29004752683
72277114555939   RYAN          ANDERSON                    CA     48007251145
72278664366181   JIMMI         VANCUREN                    CA     90012706643
72279572955966   NOE           CISNEROS PEREZ              CA     90014575729
72279769993739   AARON         ROSE                        OH     90014997699
72279963733699   EDNA          PETATAN                     NC     12019219637
72281269472421   NICOLE        MORRIS                      PA     90001032694
72281385972479   TIFFANY       RIMSEK                      PA     90013373859
72281425581633   JAMES         MURPHY                      MO     90009304255
72281518855939   BLANCA        CISNEROS                    CA     90013985188
72284122855966   LISA          GUTIERREZ                   CA     90014881228
72284549481255   REBEECA       COLBERT                     KY     90003825494
72284767855969   CHERLY        LUNA                        CA     48042497678
72284844681687   ERIC          MCCLAIN                     MO     90011368446
72286836572474   HARRY         ROSS                        PA     90000718365
72287484441253   ANTHONY       JACKSON                     PA     90008304844
72288445436182   CELESTE       GARCIA                      TX     90008914454
72288587857157   NORMA         AVILA MOZ                   VA     90006945878
72288884972421   GARY          EARHART                     PA     90009188849
72292542755969   CHRISTOPHER   DEROZA                      CA     90012865427
72293165855966   KASSANDRA     DUARTE                      CA     90014341658
72293627761981   JUAN CARLOS   MARQUEZ                     CA     90011626277
72294187691991   ROBERT        GOLD                        NC     90003321876
72294613293739   CHRISTOPHER   LEIGHTY                     OH     90009016132
72294785281633   HARLAN        OGUIN                       MO     90012747852
72295497472441   TRAMANE       JOHNSON                     PA     90015084974
72295791533698   BERTHA        THOMAS                      NC     90015187915
72296369384322   JASON         BATEMAN                     SC     90012023693
72297126833698   KYLE          POTTER                      NC     90008151268
72297293555966   STEPHANE      CASTILLO                    CA     90011882935
72298294471928   JANEL         OHAYRE                      CO     32099322944
72299294557157   ARMANDO       ALVARADO                    VA     90009042945
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72299357972441   BRANDI          ELLIS                     PA     90011223579
72311165933698   STEPHANIE       MITCHELL                  NC     12085911659
72311258731443   CANDICE         BECK                      MO     27508622587
72312295491586   EDWARD          ROHRER                    TX     75010842954
72312318341227   ANGELIC         LEWIS                     PA     90001813183
72312614355966   ROBERT          RIOS                      CA     90002946143
72313625855966   DEZIRAE         VELAZCO                   CA     48001306258
72313862772441   TIMOTHY         BIRGE                     PA     90013418627
72314819872479   GREGORY JAMES   DUNLAP                    PA     90014128198
72315912384322   LORENZO         GONZALES                  SC     90009189123
72317254431432   JOSEPH          BRADFORD                  MO     90014852544
72317398341237   PAUL            DANNHARDT                 PA     51029543983
72317898231433   VICTORY         WORTHY                    MO     90013588982
72318713755969   NORBERTO        CALDERON                  CA     90011227137
72321627833699   SAMIYA          STOVER                    NC     90012066278
72321982455966   ROCIO           PERALTA                   CA     90000639824
72322946655947   ALEXANDRA       GARZA                     CA     90012829466
72322982355966   NORMA           PARGA-ESPARZA             CA     90002359823
72323172333698   LYNN            MARSHALL-REID             NC     90006791723
72323288772479   CHARLES         HILLEN                    PA     90011002887
72323545891991   DARLENE         NADIEUL                   NC     90006445458
72323677555966   DANIEL          ROSAS                     CA     90012966775
72324319855969   FRANK           CHAVEZ                    CA     48046073198
72324484571921   ROBERT          SIMMONS SR                CO     90014684845
72324864157157   CARLOS          GONZALEZ                  VA     81040158641
72325513671921   NINA            GETMAN                    CO     32077145136
72326217671921   ROCCO           DEPAOLO                   CO     32086962176
72326695955969   CINDY           MCLAINE                   CA     90013196959
72327343955966   DAVIANNA        MARTINEZ                  CA     90001273439
72327652131432   EDWARD          ROBERTS                   MO     27545916521
72328319857157   THORPHAK        KITIROT                   VA     90005813198
72328325231433   KEVIN           LESTER                    MO     27516733252
72328498684322   YAZMIN          BENITES                   SC     90013464986
72329777933698   MELISSA         CAPPS                     NC     12084407779
72331589331433   CHASTIDY        RICE                      MO     90010895893
72332557381633   REDONDA         COLEMAN                   MO     90013415573
72334946671921   TAMI            NEWBY                     CO     32095039466
72335167955939   ESTELA          CLEMENTE                  CA     90014731679
72335813155969   DANIEL          PINEDO                    CA     48082068131
72337665972441   ANGELA          MILLER                    PA     90013596659
72337697671921   DEBORAH         JACKSON                   CO     90011166976
72338297771921   BRANDY          LIAS                      CO     32035962977
72339886791577   ANALY           CASTILLO                  TX     90012228867
72341137155966   CHRISTY         JONES                     CA     90012931371
72341171633699   STARICE         SAMUELS                   NC     12074341716
72341275833698   MYA             JONES                     NC     90010992758
72341726372479   SEAN            OBRIEN                    PA     51033237263
72342265733699   LARITA          JOHNSON                   NC     90013242657
72342844541253   AGNES           TAULTON                   PA     90007958445
72343295572441   CATHY           LUNT                      PA     90012552955
72345554755947   DIEGO           SANCHEZ                   CA     90011565547
72345663371921   SHANE           MARSHALL                  CO     90012696633
72345693191572   CARLOS          CHAVEZ                    TX     90007366931
72345716733698   JAMES           BRADLEY                   NC     12073327167
72346359831453   BARBARA         BRAXTON                   MO     90011753598
72346583772421   DONALD          CRAMER                    PA     51047125837
72346772631433   YOLANDA         COLE                      MO     90013767726
72347179157144   YESENIA         VILLALOBOS                VA     90011451791
72347435872479   MARCUS          ASKERNEESE                PA     90014384358
72348358557157   DELMI           BONILLA                   VA     81032513585
72348895555947   DESIREE         MOLINERO                  CA     90004388955
72349368355966   GUILLERMO       GARCIA                    CA     90014523683
72352296251322   DEREK           SNOW                      OH     66020652962
72352361131432   KEESHA          ROBINSON                  MO     90012253611
72352574455966   SEASON          ELLIS                     CA     90006705744
72353985671921   ERIN            SHELBY                    CO     90014769856
72355285371921   ANASTASIA       HARRISON                  CO     90011512853
72356455255939   JOSEPH          MORALES                   CA     90015124552
72356592572479   ROSEMARIE       LAMBERT                   PA     90007015925
72356944991827   JO              LOWE                      OK     90009639449
72356981757157   DUSLEY          CALDERON                  VA     90012729817
72361124972421   BRANDY          COGDELL                   PA     51020971249
72362433733698   TRACY           DEARMON                   NC     90009704337
72362756984322   ROBERTO         GOMEZ                     SC     14575647569
72363433893739   TAMMY           PALMER                    OH     90015044338
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72363682255939   OMAR         ALBA                         CA     90012646822
72364845855969   NANCY        ALVARADO                     CA     90010978458
72365634357157   DARWIN       SANTOS                       VA     90015086343
72365642433698   BETHZAIDA    SOLLA                        NC     90009296424
72365828731433   CAMERON      THORLA                       MO     90014998287
72366271755947   CARL         CLAY                         CA     90004582717
72367517655939   DOMINGA      GONZALEZ                     CA     90007415176
72368154155969   LESLY        GONZALEZ                     CA     48018711541
72369785957157   ANTONIO      SANCHEZ                      VA     90013007859
72371779357157   ANA          ARTEAGA                      VA     90013487793
72371891481633   MICHELLE     ALEXANDER                    MO     29071868914
72372166855966   ALEJANDRO    FUENTES                      CA     90011651668
72373655671921   NIKKI        GRUBBS                       CO     90013006556
72373763755966   ASHLEY       PEREZ                        CA     48092897637
72374259733699   DAVID        DICK                         NC     90005432597
72375371441227   ROBERT       NOVENDSTERNN                 PA     51015213714
72375831772479   SHERRY       ERNST                        PA     90014068317
72377611741253   KRISTINA     PHILLIPS                     PA     90013196117
72378444833698   DANIELLE     BLACK                        NC     90013204448
72382357257157   CHRISTELLA   UWERA                        VA     90012093572
72382752472441   JONATHAN     DURANEY                      PA     51041487524
72383499171921   JENNIE       ROMERO                       CO     32007224991
72383562357157   ROGER        GONZALEZ                     VA     90012895623
72383759141253   BRIDGETT     SMITH                        PA     51042407591
72383821755969   SANDRA       GARCIA                       CA     90008158217
72384738372479   PAUL         GALLA                        PA     90014937383
72384854455969   NANCY        ALVARADO                     CA     90010978544
72385171591991   FREDY        MARTINEZ                     NC     90011551715
72385218841237   CLARENCE     JOHNSON                      PA     51092002188
72385353655966   CAROL        BROWN                        CA     90007983536
72385849257157   ALEJANDRA    ESPINOZA                     VA     90012638492
72387116555969   RALPH        PADILLA                      CA     90011801165
72387538493739   RONALD       SHELTON                      OH     64530545384
72387634955966   JUAN         LEMUS                        CA     90000696349
72388428655939   GLENDA       RAMIREZ                      CA     48082984286
72388443181687   THOMAS       UPTON                        MO     90005634431
72388637893756   RONNEE       TINGLE                       OH     90007826378
72389479781255   SYDNEY       TREAT                        KY     90002144797
72389714455939   NONE         NONE                         CA     90008907144
72392641441253   MARVA        BRYANT                       PA     90013326414
72393177133699   SAM          HOOD                         NC     90004651771
72393859884322   MARTIN       GERONIMO                     SC     90008638598
72394758331433   JONATHN      HOLMES                       MO     90003387583
72395679533698   MICHEAL      ROBERTS                      NC     90009836795
72396837641253   ERIC         JOHNS                        PA     51084318376
72397116555969   RALPH        PADILLA                      CA     90011801165
72397333772421   DANYELLE     COOPER                       PA     51008813337
72397488255939   KARINA       TORRES                       CA     90014594882
72398298855966   RICARDO      TORRES                       CA     90012402988
72398463233698   HOLLEY       BELL                         NC     12022544632
72398583455939   RAUL         MARTINEZ                     CA     90000855834
72399783841237   ROSALINDA    MCHLER                       PA     51001807838
72411516781644   SANDRA       ZAMORA                       MO     90010315167
72413235531433   JAMES        CURRIE                       MO     27557452355
72413378372421   RUSSELL      ESHMAN                       PA     90013923783
72413755672479   JOSH         VEDDER                       PA     90012137556
72414139841237   KORIE        BRUCE                        PA     51023971398
72414894555939   CESAR        VARGAS                       CA     90011388945
72417344871921   TRACEY       KERCHEVAL                    CO     90014083448
72418191955966   JOSE         GARCIA                       CA     90014201919
72419494393756   ROCHELLE     WASHINGTON                   OH     90006494943
72421142471921   OSCAR        GALLEGOS RIOS                CO     90010451424
72421147441253   TALAYA       MONTGOMERY                   PA     51089141474
72421413972421   CRYSTAL      CLARK                        PA     51044124139
72421869255939   DANIEL       ROMERO                       CA     90012058692
72423157133699   PAULA        SMITH                        NC     90013491571
72423512955966   ALMA         MUNIZ                        CA     48014755129
72423571391991   ZAKKEE       HILL                         NC     17057715713
72424339655969   MAYRA        VELASCO                      CA     90005643396
72426578433698   TOMESHA      RORIE                        NC     90011455784
72427344472479   HEATHER      SIBURT                       PA     90014923444
72427567891522   FERNANDO     JAQUEZ JR                    TX     90013535678
72427934255956   MARIO        IRAHETA                      CA     90013859342
72428894755969   RADAY        BOCANEGRA                    CA     90014548947
72428962531433   BRIAN        MILLER                       MO     90012929625
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72429141855939   ADELINA          TAPIA                    CA     48060131418
72429418172421   JOSEPH           SCHRECENGOST             PA     51016604181
72431272933698   GREGORY          ALBA                     NC     90013742729
72431637384322   PARISH           WRICE                    SC     90013856373
72432744841253   ROBERT SAMUEL    OSHEA                    PA     90009647448
72433235455966   GRISELDA         VARGAS                   CA     90014202354
72433625331433   TIFFANIE         WILLIAMS                 MO     90012506253
72435954272479   JOSHUA           BRIDGE                   PA     90011529542
72436588933699   ORBELIN          JARAMILLO                NC     90012295889
72437794793739   LORI             MORRIS                   OH     90013147947
72438762781633   HANNAH           SHATTO                   MO     90011867627
72441385781633   JASON            KNIGHT                   MO     90013963857
72441656291827   MICHELLE         HICKS                    OK     90013856562
72443478972421   SHAWN            SMAIL                    PA     51013944789
72444637841253   OMAR             MATIN                    PA     90010076378
72444887133698   KATRINA          SUMMERS                  NC     12004208871
72445175891354   SHERRI           HARRISON                 KS     90012311758
72445822572421   SUZANNE          CHAMBERLAIN              PA     51041298225
72446636133699   WILLIAM          SOLOMON-HYNES            NC     90014926361
72447138671921   DAVID            WARREN                   CO     32042281386
72447816555969   RICHARD          FIERRO                   CA     90009908165
72448264555966   NALLELI          TORRES                   CA     90013872645
72448286841227   RONSENDO         PAEZ                     PA     90003762868
72448477933699   STEVENSON        WHITE 2                  NC     90012334779
72449712757157   EDGAR            ZUASNABAR                VA     81085627127
72449956861935   MANUEL           QUINONEZ DIAZ            CA     90007169568
72451636133699   WILLIAM          SOLOMON-HYNES            NC     90014926361
72452539155939   ANA              CANCHOLA                 CA     48071655391
72453169484322   JESSICA          ELGARTE                  SC     90011871694
72453197751378   MIKE             JONES                    OH     90010991977
72455156793739   SHERYL           BLESSING                 OH     64522881567
72455877955966   JOSE             REYES                    CA     90000358779
72456574255947   STEPHANIE        MELENDEZ                 CA     90011115742
72458834772441   KATHY            BUCHANAN                 PA     90015008347
72458869257157   LINDA            VALLEJO                  VA     81083138692
72459128581633   CHRISTOPHER      ROBBINS                  MO     90014841285
72462333684322   LASHONDA         SINGLETON                SC     90014773336
72462424993739   BRAD             SPENCER                  OH     90009354249
72463531172479   MARCY            CAPICOTTO                PA     51027185311
72463694671921   CODY             NORTON                   CO     90011086946
72466262184322   AALYAN           JACKSON                  SC     90009642621
72466343172441   ROBERT           MITCHELL                 PA     90008733431
72466625293739   ISAIAH           LEWIS                    OH     90009146252
72466667491548   JESUS            IBARRA                   TX     90012616674
72467157555969   ZUSANA           LOPEZ                    CA     90012981575
72467215431432   TEYONDA          MURPHY                   MO     90011462154
72467928672441   BRIAN            MCCOY                    PA     51083899286
72469838972479   MICHAEL          RODDEN                   PA     90000228389
72471756472421   AMBER            PATTON                   PA     51004977564
72472296981633   JUAN             CORDERO                  MO     90010622969
72473888431433   KIRK             DOUGLAS                  MO     90011448884
72476473171921   DUANE            BROWN                    CO     32096704731
72476648955939   JUAN             HERNANDEZ                CA     90014456489
72477285355947   GURDAWAR         SAHOTA                   CA     90001152853
72478312481633   JOAN             PERKINS                  MO     90013473124
72478841484322   SANTOS           NAZARIO                  SC     14565758414
72479259491924   CLARRISSA        FARRAR-HINES             NC     90011922594
72479439461986   OSCAR            MUNOZ                    CA     90014194394
72483186171921   KING             ALEX                     CO     32038971861
72483565836182   ANGELICA         AYALA                    TX     90002645658
72484364755939   CORINA           AMBRIS                   CA     90006183647
72485357933698   VERSHON          WARD                     NC     90009073579
72486181833698   DISHAE LADARIS   WORKMAM                  NC     90014271818
72488665855947   LARRY            FRANKLIN                 CA     90011566658
72489845955947   PENNY INEZ       ARRIOLA                  CA     90009388459
72491877291586   RIGOBERTO        NAVARRO                  TX     90014328772
72492175755939   RAYMOND          ARELLANO                 CA     90013101757
72493617284322   DANA             PINCKNEY                 SC     90014416172
72493626155969   FABIOLA          HERNANDEZ                CA     90010276261
72493837531433   JAIRO            TEMORES-DE ROJAS         MO     90014238375
72495646555966   MARIA            ZUNIGA                   CA     90013116465
72496111884322   USIEL            SANCHEZ                  SC     90014831118
72496429631433   JESSICA          SMITH                    MO     90014714296
72496823933699   SOLOMON          V. REID                  NC     12044598239
72498841833699   MARISA           GEVARA                   NC     90013878418
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72498975931433   KEVIN         RUFUS                       MO     90012979759
72499423855939   JORGE         GARCIA                      CA     48004594238
72499695872441   WILLIE        ROBINSON                    PA     90008966958
72499957133699   MARY          RIWDY                       NC     12097209571
72511373681633   RASHONDA      PORTER                      MO     90013083736
72512192655939   PEDRO         CHARLES                     CA     48002411926
72512391733698   ALVIN         WADDELL                     NC     90013473917
72513468984322   ERIDEL        HIDALGO                     SC     90015124689
72514356231433   ANGELA        DAVENPORT                   MO     90008623562
72515154557157   LORENA        CONZOLEZ                    VA     90015281545
72515974577524   KEITH         COMSTOCK                    NV     90001279745
72516672684322   ALLAN         MORALES                     SC     14591336726
72516991793739   AMILILANA     ROBINSIN                    OH     90010449917
72517462372479   LORI          ESSEY                       PA     51064474623
72517856357157   JUAN          CABRERA                     VA     81053598563
72518664381633   JESUS         FIERRO                      MO     29032566643
72518732655969   MIREYA        MENDOZA                     CA     90011987326
72521261391572   CLAUDIA       RODRIGUEZ                   TX     90013362613
72521639241253   JONATHAN      BALL                        PA     90013196392
72522785141252   LINDSAY       STAUFFER                    PA     51017427851
72524616572421   JOSCELYN      CHACKO                      PA     90014306165
72525369455969   JOSEPH        TORRES                      CA     90008713694
72525769691991   RAYAN         EL-ATTAFI                   NC     90013507696
72525858131433   JASON         PORTER                      MO     27511168581
72526341831432   SAKIESHA      PHILLI10PS                  MO     90014413418
72526446955969   ISIDRO        GUZMAN                      CA     90001714469
72526999231432   SAKIESHA      PHILLI10PS                  MO     90009679992
72527869955966   AMBER         RAYO                        CA     90013638699
72528361484322   KARINA        MARTINEZ                    SC     90013453614
72528639155966   JOSE          ISASI                       CA     90011666391
72529253972421   ANDREW        MELLON                      PA     51018062539
72529574391572   DAVID         MARINES                     TX     75013665743
72532216766255   BARBARA       MOORE                       MS     90014862167
72533178672474   CHUNG-CHEN    CHAO                        PA     90003271786
72533888341237   PAYGO         IVR ACTIVATION              PA     90014558883
72535241457157   ISAIC         ROQUE                       VA     90007592414
72536887441227   MICHAEL       AARON                       PA     90005388874
72536925361991   GERARDO       DELGADO MADRID              CA     46071399253
72537191484322   SALAMANTA     CERVANTES                   SC     90014171914
72537393591991   BAYE          SECK                        NC     17010933935
72539657672479   LONNIE        ASTLE                       PA     90011596576
72542252355939   ROBERTO       GONZALEZ                    CA     90011912523
72542374872421   REBECCA       TALAMANTES                  PA     90005383748
72542624172441   DESMON        CLEMENTS                    PA     90014696241
72542657884322   JAHIEM        WILLIAMS                    SC     90014856578
72543344891577   MARGO         LEAL                        TX     90014123448
72544219341237   BROWN         MARJORIE                    PA     51065762193
72545287631433   THOMAS        BROOKS                      MO     90013442876
72545433371921   STEPHANIE     COLEMAN                     CO     90000664333
72547983172441   NATHANIEL     GREEN                       PA     90014729831
72549436941237   JERRY         MELLOVICH                   PA     90006034369
72551379472479   BRANDI        HILLEN                      PA     90011003794
72552378333698   TONY          ISLEY                       NC     90015173783
72552889633699   MAYRENE       SMITH                       NC     90014818896
72553948391991   CINDY         MUNGUI                      NC     90003339483
72554626193739   ALONZO        DIGGS                       OH     90010906261
72554895355969   VANESSA       PULIDO                      CA     90013488953
72554983684322   BRIDGET       LOPEZ                       SC     14593409836
72556423171921   CHRISTOPHER   GOODING                     CO     90015154231
72556728672421   JENNIFER      BROOKS                      PA     90001237286
72556888431433   KIRK          DOUGLAS                     MO     90011448884
72557299341265   MICHAEL       DAVIS                       PA     90014822993
72558676133699   MARCUS        DORSEY                      NC     90013536761
72558854955939   VALERIA       CARREON                     CA     90008918549
72561355241237   STERLING      FONDREN                     PA     51087733552
72561523541253   INDIA         WALKER                      PA     90011225235
72562725772421   JOAN          HERNLEY                     PA     51088787257
72563286655969   JUAN          ROSALES                     CA     90007362866
72563414481633   PAULA         GARCIA                      MO     90014984144
72565116272421   NICOLE        COLEMAN                     PA     90005961162
72565316272479   KIMBERLY      DODATO                      PA     90005223162
72565451741227   MICHELLE      MANNS                       PA     90002784517
72565557571921   SAGE          SANCHEZ                     CO     32048955575
72566549757144   JOSE          MARTEL                      VA     90009895497
72566985731433   JACQUELINE    BAKER                       MO     27563299857
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72567195872421   JOLEEN       LUEHM                        PA     51020641958
72567914757121   KECIA        HONESTY                      VA     90001669147
72568153372441   DAVID        POWELL                       PA     51068771533
72568313591991   KAREEM       RAHMAN                       NC     17014463135
72568591541253   KEYISHA      PRINGLE                      PA     90014985915
72568664555969   COURTNEY     SHORT                        CA     48077536645
72571574572421   LINDA        BLOSE                        PA     51081745745
72571613255939   ANA          MURO                         CA     90007646132
72571758733698   ALEXIS       REID                         NC     90013257587
72572153372441   DAVID        POWELL                       PA     51068771533
72572186693739   JENNIFER     WEIL                         OH     90013071866
72572447955947   TANZANIA     EASLEY                       CA     90009814479
72572716284322   JUAN         CARLOS                       SC     90014037162
72573486393739   JESSICA      JONES                        OH     90010294863
72573981372479   KIMBERLY     DOYLE                        PA     90014559813
72574894891963   MARY         MOORE                        NC     90001038948
72576215431432   TEYONDA      MURPHY                       MO     90011462154
72577459855969   PEDRO        ELIZALDE                     CA     90001714598
72577827872479   COLTON       KISNER                       PA     90011008278
72578616255947   CRYSTAL      MARTINEZ                     CA     49074476162
72578626672479   SCOTT        KNIGHT                       PA     51053426266
72579692857157   AMBER        CARY                         VA     90014256928
72579999833699   MARINA       CAMARGO                      NC     90009599998
72582167891991   TAMEKA       NEWKIRK                      NC     90005411678
72584177655939   JOSE         HERNANDEZ                    CA     90008401776
72584963457157   REMY         CHAMPAGNE                    VA     90010009634
72586194741265   TORRE        MOLLETT                      PA     90010101947
72586271655939   ANGEL        FARIAS PENA                  CA     90015282716
72586339484322   ATREYU       UZZLE                        SC     90014583394
72589999355947   GARY         WORTHAM                      CA     90007719993
72592163757157   SANTOS       NOLASCA                      VA     90013501637
72593793833698   CYNTHIA      ROBINSON                     NC     12082837938
72594588691931   ALMONTE      MARSHALL                     NC     90008155886
72594817572479   TERI         BRUNDEGE                     PA     90009598175
72594986657157   JOSUE        MARTINEZ                     VA     90014669866
72595394755969   RICHARD      ST CLAIR                     CA     90011453947
72596579657157   CARLOS       BARRERA                      VA     81064185796
72596884693739   LISA         COLLIER-REDIC                OH     90012598846
72597126761935   JOSE         AGUIRRE                      CA     46084231267
72597444672441   VALERIE      BRISCO                       PA     90010374446
72598344241237   DONALD       MARKS                        PA     90013863442
72598384357157   GLORIA       MILES                        VA     90013073843
72598396361935   MARIA        RAZO                         CA     90003043963
72599683255966   YERALDIN     AMBIRZ                       CA     90014216832
72599766631443   GEORGE       CALMESE                      MO     90001767666
72599976272479   MARIE        KEFFER                       PA     51008789762
72611157241253   ALISHA       FRYE                         PA     90014691572
72612598333698   KRISTIAN     WILLIAMS                     NC     90011485983
72612913184322   CARMEN       FIGUEROA                     SC     90014899131
72613171141237   RAYMOND      BROWN                        PA     90011341711
72613578772441   GLEN         HUTTON                       PA     90013355787
72614395372479   ANDY         MCWILLIAMS                   PA     90014083953
72614649284322   SHAY         DAVIS                        SC     90012506492
72614786455966   JOHANNA      AGUILAR                      CA     90009097864
72615275657157   VICTOR       DE LEON                      VA     81035322756
72615425384322   ERIKA        BUSH                         SC     90007934253
72615686272479   NICOLE       WITT                         PA     90011946862
72616129457157   JOHN         RECTOR                       VA     90014691294
72616791333698   AMELIA       JONES                        NC     90010907913
72617217684322   DAEYONNA     ANDERSON                     SC     90014472176
72617581155939   RAMON        GODINEZ                      CA     90015125811
72619678241227   AUDRICA      MCKEITHEN                    PA     90014346782
72621391981633   SHEKA        NEWSOME                      MO     90002043919
72622656657157   RUDI         CARDENAS                     VA     81062736566
72622667731443   TIFFANY      DAY                          MO     27505986677
72623239271921   GAIL         EDWARDS                      CO     32057742392
72623477471659   GRACIE       JACKSON                      NY     90002294774
72624751891577   MARK         POER                         TX     90014837518
72626637671921   MICHEAL      CHRISTENSEN                  CO     90006616376
72627181833698   TIFANIE      RUDD                         NC     12092041818
72627397331433   ANGELA       PURNELL                      MO     90011423973
72628489472441   SHAWN        DANIEL                       PA     90006164894
72629312931443   KELLEY       FAIRLEY                      MO     90010843129
72631421284322   BARBARA      NEWTON                       SC     90014804212
72631483257157   ABDULLAHI    ISMAIL                       VA     90014694832
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72631758655966   MIGUEL       PEREZ                        CA     90014357586
72632419784322   RONGERA      LAWYER                       SC     90010354197
72632848772479   JASON        CHACKO                       PA     90009928487
72633428191991   CRAIG        CHERRY                       NC     17024424281
72633439972479   LUCAS        ROSE                         PA     51043344399
72633975461984   MARIA        CHAVEZ                       CA     90008909754
72634736684322   SHERRY       BRAHBAN                      SC     90012747366
72635172731432   IYANNA       MOSLEY                       MO     90014211727
72635575331433   NURIJA       MRSIC                        MO     90005365753
72636293155969   CHRISTINA    ESTRADA                      CA     90013912931
72637526591991   JOSE         SOLORZANO                    NC     90003345265
72638925155969   RITO         HERNANDEZ                    CA     90012339251
72639224893739   THOMAS       ENSCOE                       OH     90001592248
72641925155969   RITO         HERNANDEZ                    CA     90012339251
72642347781633   TRISHA       DAVIS                        MO     90013473477
72643952584322   CHRIS        ANSELMO                      SC     14576379525
72644418855939   GRICELDA     MENDEZ                       CA     90011354188
72644792955947   REYNA        GOMEZ                        CA     49059077929
72644847241253   BAILEY       WILSON                       PA     90006348472
72645653172479   MARIAH       BOBBS                        PA     90008356531
72645891484322   ADRIANA      CALLEJAS                     SC     90010938914
72646184233698   ENARI        MITCHELL                     NC     90013921842
72646699741237   LEIGH        FURMAN                       PA     90012756997
72647558372479   TERRI        PAYNE                        PA     51025455583
72647885584322   HERNANDEZ    MANUEL                       SC     90011188855
72648249855969   ELISA        PACHECO                      CA     48095942498
72648354271921   TAMMY        LOWERY                       CO     32013863542
72649255155966   CODY         RODRIGUEZ                    CA     90012932551
72649279455969   DOLORES      MARTINEZ                     CA     90003722794
72651468433698   IVONE        RIVAS                        NC     12083124684
72652791591855   MICHAEL      ANGELO                       OK     90007907915
72652877257157   DAIBY        RODRIGUEZ MARAVILLA          VA     81062758772
72653485133698   PRISCILLA    ALSTON                       NC     12019534851
72653743455969   MARIA        GONZALEZ                     CA     90009167434
72653989784322   JUAN         CANO                         SC     90007829897
72653992431433   BOBBY        WELCH                        MO     90014369924
72654936341237   DARLA        CALFO                        PA     51018179363
72655899157157   WILSON       PONCE                        VA     90013778991
72656538372479   AMANDA       WANHOOVER                    PA     90013965383
72661135972479   MICHAEL      HARMON                       PA     51039291359
72661797861935   WILLIAM      BOWMAN                       CA     90007297978
72663315133698   VERNON       BYERS                        NC     12035123151
72663475357157   BRIAN        MARTINEZ                     VA     90014764753
72664483241253   AALIYH       BELL                         PA     90013544832
72665413333699   SHEREKA      THOMPSON                     NC     12008344133
72665615661984   ERNESTINA    OROZCO                       CA     90012646156
72665732561984   ERNESTINA    OROZCO                       CA     90008447325
72666219757157   JOEL         RIVERA                       VA     90006292197
72666275555947   LISA         FARMER                       CA     49076042755
72666325555939   JOSE         MARTINEZ                     CA     90012733255
72666487255973   MARIA        OROZCO                       CA     48088194872
72666863255969   GUADALUPE    PAZ                          CA     90011418632
72667159471921   BOBBI        PENA                         CO     90009161594
72668373193739   NANCY        CALDWELL                     OH     64568953731
72669723255969   BENJAMIN     ESTRADA                      CA     90013877232
72671185355969   SILVIANO     URIETA                       CA     90009541853
72671894841253   OWUNAROI     ROEUBEN                      PA     90014268948
72671925155969   RITO         HERNANDEZ                    CA     90012339251
72672172533699   DENISE       VASQUEZ                      NC     90013491725
72672213972421   LATOSHA      KEENE                        PA     90014572139
72672226872479   TIFFANY      KUHAR                        PA     51040552268
72672284584322   AMERICA      CASTILLO                     SC     90010292845
72672287191991   CAROLINA     HERRERA                      NC     90011422871
72672984555939   DOMINGO      PEREZ                        CA     90013209845
72673644633699   ANTONIO      DUNLAP                       NC     12093206446
72674759372441   CHARLES      HUMPHRIES                    PA     51059817593
72675552755969   JOSHUA       BRUTLON                      CA     90011335527
72676518333699   STEVEN       WILSON                       NC     90014825183
72676596261982   JASMINE      TOBA                         CA     90006545962
72677621161459   CEDRICK      FILES                        OH     90013986211
72678913833698   NSOH         RLAYANG                      NC     90015359138
72679597355939   SANDRA       HOWELL                       CA     48071755973
72681351741237   RIECHELLE    GRIFFITH                     PA     90013553517
72682655772421   MARILYN      WILLIAMS                     PA     51084546557
72682756155947   MONIQUE      CHAVEZ                       CA     49084167561
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72685261972421   CASEY         HANKS                       PA     90014872619
72687331531443   RICK          RIEHEMANN                   MO     90002313315
72689713955966   EDWARD        CANELA                      CA     90008037139
72691391155969   ANDREA        AVILES                      CA     90014183911
72693326433699   SHANEE        KARRIEM                     NC     12014613264
72694328991991   ELIZABETH     ESCOBEDO                    NC     90006373289
72695494757157   ELIAS         MORALES                     VA     90011864947
72695539955941   PATRICIA      LAICHOUR                    CA     90000775399
72696374531433   YASMEN        SMITH                       MO     90013693745
72696744641227   ETHEL         MCFADDEN                    PA     90010187446
72696993371921   BRITTANY      RODRIGUEZ                   CO     32047409933
72697861672421   MICHAEL       LILLEY                      PA     51015818616
72698733355969   LUIS          PEREZ                       CA     90013877333
72711254455969   MARIA         GUTIERREZ                   CA     48085782544
72711437972441   XIOMARA       RIVERA                      PA     90015544379
72712412593739   SHAWN         GRIGLEY                     OH     64548304125
72712542641253   RICKY         PIETROBONI                  PA     90014875426
72712754371921   MARIE         FAIREY                      CO     32035487543
72713153371955   LEAN          PACHECO                     CO     90011331533
72714637533699   JOSH          WILLIAMSON                  NC     90014926375
72714877793739   TANYA         ROBISON                     OH     90010998777
72715733831433   SCOTT         JANSSEN                     MO     90012917338
72716168771921   RAMONA        BEGAY                       CO     90013721687
72716733493767   JESSICA       MOSS                        OH     90011647334
72717786233699   TRACY         MORRISON                    NC     12032307862
72718634272421   AMY           LEONARD                     PA     51029136342
72719166955969   ALICE         FERRAZ                      CA     90007371669
72719355641253   THOMAS        PODGORSKI                   PA     51017023556
72719975891991   ANNETTE       SMITH                       NC     17063789758
72723192172479   ADAM          GREENLIEF                   PA     51092901921
72723398872441   KEITH         BUTCHER                     PA     90004233988
72723996481633   CHARLES       SHURN                       MO     90009619964
72724381355939   TANIA         TINOCO MARQUEZ              CA     90014123813
72725186457157   BALBINO       PEREZ DIAZ                  VA     90002051864
72725822233699   TIMOTHY       BROWN                       NC     90007738222
72726124855939   STACIE        SMITH                       CA     90003901248
72726125341237   BRIAN         HAWKINS                     PA     90014111253
72726263141253   ROBERT        CULPEPPER                   PA     90012722631
72727184555969   TERRY         O DANIEL                    CA     90003281845
72727556633698   LATANYA       PLATT                       NC     90007155566
72728143241253   LEWIS         EDWARDS                     PA     90012601432
72728972431443   TAMMY         WATSON                      MO     27560959724
72731769957157   HUGO          EDGARDO ORTIZ               VA     81005297699
72732491991991   KIESE         MPONGO                      NC     90003354919
72732545155966   DAVID         MEDINA                      CA     90012955451
72732639293739   JENNIFER      BUSH                        OH     90011416392
72734335833698   TOCORA        MAYNARD                     NC     90014863358
72734549533698   LAZARO        JONES                       NC     90013675495
72734657684322   KARLA         VALERIA                     SC     90014586576
72735622871921   SHAUNA        HECKMAN                     CO     90007946228
72735985755966   CELENE        MACIEL                      CA     90013449857
72737294431443   LAMONICA      BILLUPS                     MO     27578992944
72738992284322   CLEMEMTE      CASIQUE                     SC     90014789922
72739179172421   TINA          LEONE                       PA     51072061791
72741785957157   ANTONIO       SANCHEZ                     VA     90013007859
72741878333699   ALICIA        WIKES                       NC     90014768783
72741932833698   DIANA         ROSARIO                     NC     90013489328
72741952984322   KATHERYN L    GREGGO                      SC     14504599529
72742446881633   ELISA         GILLILAND                   MO     90011904468
72745748133698   RICHARD       BOGART                      NC     90010267481
72746839272421   LISA          REYNOLDS                    PA     90008298392
72747179472441   GEORGE        BISCEGLIA                   PA     51004511794
72747216241253   TARA          MALONE                      PA     90011082162
72747576955966   LETICIA       CARRISALEZ                  CA     90014245769
72747748555939   YUVANY        CORTEZ                      CA     90012607485
72748611141227   ALYSSIA       HOEY                        PA     90005116111
72748843493739   VIRGINIA      WARD                        OH     64592348434
72748963633698   KATONDRA      WILSON                      NC     90013759636
72749113671921   ARTURO        GIL                         CO     90011931136
72749468441237   SONYA         SIMPSON                     PA     90011084684
72749985755966   CELENE        MACIEL                      CA     90013449857
72752681755947   SHARON        LUDWIG                      CA     49090776817
72753829472441   RON           HANNAH                      PA     51012328294
72755632971921   GLADYS        BASANTE                     CO     32003996329
72756154593739   BRIDGETTE M   WRIGHT                      OH     90014691545
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72756442333699   KEYONA        HUNTER                      NC     90012774423
72757315571921   JONATHAN      FLORES                      CO     90012803155
72758644584322   JOSE          ABRAJAN                     SC     90015086445
72759346772479   JOHN          CAMPBELL                    PA     90011093467
72759866981633   DAVID         COOPER                      MO     90010958669
72761475933624   JOHN          HOLT                        NC     90006344759
72761767131432   GLENN         CAMPBELL                    MO     27509497671
72761998281633   ALBARO        ALBANIL                     MO     90010669982
72762112971921   DAIJAH        SMITH                       CO     90013231129
72762754355966   ADOLFO        MENERA                      CA     48093607543
72762921672479   DANNY         BREWER                      PA     51093779216
72763687733699   DOMINIQUE     GRAY                        NC     90014676877
72763715281633   MICHELLE      ROBINSON                    MO     90013337152
72763832255969   CHARLES       SERRANO                     CA     90009938322
72763887855969   BRENDA        LOPEZ                       CA     90013208878
72764331741253   DAVID         HORRELL                     PA     90014223317
72764748133699   TRIVY         WESTBURY                    NC     90006067481
72764874785883   MEGAN         MORIARTY                    CA     90001338747
72765561457157   BRYAN         RUMUALDO                    VA     90015155614
72766324984322   RUTH          CAPONE                      SC     90012483249
72767411641253   STEVE         TONETTI                     PA     51011844116
72768362441253   MARY          CALDWELL                    PA     51063933624
72771672391522   VICTOR        ARELLANO                    TX     90000236723
72772759636182   ANGELA        YBARRA                      TX     90007367596
72773536681633   MATTHEW       DUNN                        MO     90014675366
72774397991586   JOSE          CORTEZ                      TX     90014173979
72774495931443   JOSEPH        CLEVELAND                   MO     27587324959
72776413941253   ASHLEY        KLEMZ-BUCKLAD               PA     51018974139
72776816155969   SONYA         ALAFA                       CA     90012538161
72776866372421   BOB           DOROHOVICH                  PA     51036538663
72776983951322   JESSICA       VALENTINE                   OH     90013779839
72777441371921   COLIN         BROWN                       CO     90009804413
72779146931443   SHERRI        RANDALL                     MO     27567711469
72781178831433   RODNEY        WILLIAMS                    MO     27503971788
72781211271921   PAT           CALDWELL                    CO     32088042112
72781629355969   MARIA         RAYO                        CA     90008676293
72783472155969   MONICA        SANTOS                      CA     48080974721
72784448557157   JORGE         SANCHEZ                     VA     90013934485
72784847884322   SABRINA       MANOA                       SC     90013618478
72785784672479   THOMAS        MARREE                      PA     51085117846
72786323684322   APRIL         GROGAN                      SC     14584093236
72786861555936   JOSEFINA      GOMEZ                       CA     90014998615
72787235984322   SHIRLETTE     BENTLEY                     SC     14551082359
72787855533699   ROBERTO       GUILLEN                     NC     90012478555
72788342871921   TERESA        GUTIERREZ-CHAVEZ            CO     90011723428
72789482284322   TONY          WILLIAMS                    SC     90008954822
72791437372421   MICHAEL       PAVLIK                      PA     51085404373
72791513771921   LUIS          CARMONA                     CO     90004045137
72792889841237   SHAINA        MURRAY                      PA     51014938898
72793857431433   MARQUETTA     JENNINGS                    MO     27501468574
72794632941237   ANDREW        MONDINE                     PA     51053606329
72794779257157   GUSTAVO       GOMEZ                       VA     90013937792
72794845481633   TERITA        WOODS                       MO     90006218454
72795372833625   JALEA         MARLEY                      NC     90010733728
72795538461994   MERY          NEDEDOG                     CA     90006935384
72797498241253   LINDA         GRINAGE                     PA     51096204982
72798254772479   RAVEN         RANDALL                     PA     90013352547
72798364755969   ANNE          GREENE                      CA     90012013647
72799669761991   DIANA         ANDRADE                     CA     90009806697
72799671641253   JUDY          WILLIAM                     PA     90013196716
72811442441252   LISA          KLAVORA                     PA     51077074424
72811689191522   JUAN MANUEL   ARANDA                      TX     90004816891
72812365584359   VARNITTA      BEST                        SC     90006213655
72813546193739   GWENDOLYN     UNDERWOOD                   OH     90007235461
72813838831443   WALTER        SCHULTHEIS                  MO     27567728388
72814524957157   THOMAS        FORD                        DC     90014785249
72814775941237   ALEXANDRIA    BOWMAN                      PA     90008597759
72815786355939   MARIA         JUAREZ                      CA     48015197863
72815827733698   PHYLLIS       OWENS                       NC     12006688277
72815899257157   LAZARO        CARBAJAL                    VA     90007368992
72816195793739   JIM           BEAM                        OH     90011171957
72816672741237   THOMAS        TOWNSEND                    PA     51024136727
72816746255966   DAWN          TWING                       CA     90014287462
72817952555969   VERONICA      DELATORRES                  CA     48040169525
72819514355969   ADRIANNA      DORAME                      CA     48011955143
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72821217633447   SHANTENI     WOMACK                       AL     90014582176
72822284555969   EBONI        GONZALES                     CA     90012362845
72822352372479   LORENZO      GARDNER                      PA     90001223523
72822624957157   SAIF         ALSHEHRI                     VA     90014786249
72822997271921   TIMOTHY      ROBINSON                     CO     90011049972
72823831993739   RICKY        CURRAN                       OH     64567308319
72824448571921   JERRY        DICK                         CO     32082544485
72825748741253   DAVID        ALLEN                        PA     90011647487
72825839772479   DONNA        WNEK                         PA     90014928397
72827742671921   DEVI         ROGERS                       CO     90014237426
72828316272479   KIMBERLY     DODATO                       PA     90005223162
72828782833699   RICARDO      CAZARES                      NC     12086637828
72831619172441   MATTHEW      SOWA                         PA     51082156191
72831839461493   LISA         WILSON                       OH     90015498394
72831874991962   ERIN         CAMPBELL                     NC     90008928749
72832426472421   JERMAINE     WOMACK                       PA     90014414264
72833399631463   BRENDA       TENSHLER                     MO     90001213996
72833967193739   JESSICA      OBRYAN                       OH     64577149671
72834583941227   PAUL         PC                           PA     51092375839
72835386271921   MARGARITA    JIMENEZ                      CO     32085653862
72835492931433   BRADLEY      BOWLING                      MO     27596664929
72837286755941   DONYEL       TITUS                        CA     49017682867
72838627541253   ERIC         MATHEWS                      PA     90006166275
72839236484322   GERARDO      VELAZQUEZ                    SC     90014152364
72839549333698   CHRIS        WEAVER                       NC     90007885493
72841185271921   HOWARD       PUDDER                       CO     32023091852
72841963684322   CARLOS       LOPEZ                        SC     90014469636
72843876431443   DELORES      BLUE                         MO     90001358764
72846787881633   DIANNA       OSIECKI                      MO     90012477878
72846792133698   SONYA        DAVIS                        NC     90013377921
72847221872421   ROBERT       KUJAWA II                    PA     51036042218
72847358955966   DEGNA        CASTRO                       CA     90014253589
72847544833699   ANDREA       MYERS                        NC     90001565448
72851327772421   OMAR         LEON                         PA     90014353277
72852338533698   DENISE       HENDERSON                    NC     90014883385
72853126893739   DAWN         BRYANT                       OH     64528351268
72854584255969   NADIER       BATSHON                      CA     90004895842
72856197955939   ODIR         ZELAYA                       CA     90005621979
72857582686456   SJ           GREENE                       SC     90014075826
72857586793739   ANTONIO      PEREZ                        OH     90012285867
72857597871921   MARGUERITE   BANISTER                     CO     32088025978
72858965333698   TONY         LOWE                         NC     12044109653
72859855131433   KENNETH      CROSSLAND                    MO     90012718551
72863377184322   IVONNE       GUEVARA                      SC     90009953771
72863665541227   DAVE         MARTI                        PA     51028826655
72864693681633   URIAS        DOLORES                      MO     90007296936
72864865671921   BRITTANY     STEPHENSON                   CO     90014488656
72866197191962   DEMISHA      TURRENTINE                   NC     90014821971
72866265755969   MADRID       ERNEST                       CA     90012732657
72866332484322   PAYGO        IVR ACTIVATION               SC     90011873324
72866454141227   SALEM        TRAI                         PA     90009954541
72866573771921   JASON        CONNER                       CO     90006975737
72866658872479   SAMANTHA     GRIFFITH                     PA     51010216588
72866748255969   VICTORIA     AVILES                       CA     90011437482
72867498355947   DALENE       BASH                         CA     90004244983
72867629455966   ROSA         YANEZ                        CA     90012956294
72868147641237   WHITNEY      HATCHER                      PA     51040151476
72868257572479   LAURA        LENHART                      PA     51075352575
72868336371921   JORDAN       PRIETO-PEREZ                 CO     90010973363
72868753371921   ANGEL        MOORE                        CO     90013897533
72868788555969   DAUNELLE     OJADA                        CA     90013297885
72869172484322   RASHEEN      DUPONT                       SC     90014011724
72871234484322   EMILY        MURO                         SC     90012172344
72871967981633   DONNA        VANMETER                     MO     29030549679
72873139491857   VIRGIL       ROSE                         OK     90008461394
72873259641237   DIANE        CLARK                        PA     90012252596
72873342693756   RHONDA       LUDWICK                      OH     90001483426
72873472684322   NOE          BERNAL                       SC     90010914726
72873845481633   IKECHI       HIGH                         MO     90014758454
72874249272441   JONATHAN     BRICKNER                     PA     90001392492
72874374531433   YASMEN       SMITH                        MO     90013693745
72875997355947   ADAM         DUREN                        CA     49017059973
72876976731433   AMANDA       CARMI                        MO     90015189767
72877232955966   RAE DAWN     SALDIVAR                     CA     90012872329
72878497472479   MARK         DEMCHAK                      PA     90011994974
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72878892584322   SHARON          FORD                      SC     90010278925
72879547255939   GERARDO         VELASCO                   CA     48064915472
72881137531432   JUDITH          ALVEY                     MO     90003241375
72881327933699   EMETERIO        CASTILLO GONZALES         NC     90012833279
72881381172421   AMY             GIRON                     PA     90014513811
72881867957157   NUBIA TERESA    PALMA                     VA     90014898679
72882362672479   JOYCE           WINKLER                   PA     51066733626
72883131772441   CHRIS           ZEDAK                     PA     51038281317
72883911341253   CLIFFORD        BAXTER                    PA     90012469113
72884384631433   JEFF            DAVIDSON                  MO     27502743846
72884386755939   RUBEN           ALVARADO                  CA     48035933867
72884853333699   TERRY           DENNISON JR               NC     90001118533
72885525157157   JUAN            HERNANDEZ                 VA     81063255251
72885632355939   VICTOR          ROMO                      CA     90001646323
72885913871921   ALANA AND AKI   BROOKS AND MOSE           CO     90011479138
72886999393739   MARK            EWRY                      OH     64596189993
72888675541227   KARLA           WOOD                      PA     51017476755
72889114833698   SHERRIE         COLE                      NC     12090121148
72889881855939   EDITH           RAMIREZ                   CA     90000508818
72891499755947   LINDA           GUDINO                    CA     90003434997
72894225993739   SHERTENA        FERGUS                    OH     90008432259
72894359457157   DANIEL EVIN     PINEDA                    VA     90011483594
72895183784322   JOSE            LOPEZ                     SC     90009601837
72896741455966   VALARIE         GARCIA                    CA     90014367414
72897344733698   STEPHANIE       KINNEY                    NC     90014453447
72897743833699   SHAKEITA        SMITH                     NC     90010947438
72899286755969   DAVID           GALLO                     CA     90003362867
72899372184322   JABON           WILLIAM                   SC     90014553721
72899967172479   JOHN            MARKS                     PA     90013389671
72911713331433   JASMINE         ELLIS                     MO     90012797133
72912242257157   JOSE            BLANCO                    VA     90008732422
72913391181651   NICOLE          SNELL                     MO     29059853911
72913616481633   CHESTER         GASKIN                    MO     90011786164
72913843684322   ARMANDO         GUTIERREZ                 SC     90013518436
72914233241237   ARIEL           GREENE                    PA     51064702332
72914318193739   WILLIAM         BRUNDON                   OH     90007223181
72914375461984   AARON           SAIZAN                    CA     90008753754
72915659355969   JOSH            TAYLOR                    CA     90010996593
72915698884322   JOHN            TAYLOR                    SC     90000996988
72916186757157   LAMANTHIA       ROBERTS                   VA     90014901867
72916692671921   JENNIFER        STICKLER                  CO     90011996926
72918211872441   CHRIS           GALLAGHER                 PA     90005232118
72918738372479   PAUL            GALLA                     PA     90014937383
72918763833699   LACQUEENNA      CASTON                    NC     90011297638
72919286631433   SARAH           LEWIS                     MO     90011732866
72919626541227   DAVID           HICKMAN JR                PA     51033526265
72919919984322   ELMER           LOPEZ                     SC     90007839199
72921238981633   LANDAN          MEIXUEIRO                 MO     29070372389
72922152255939   MITZAIL         ARCIGA                    CA     48057161522
72923965655939   ALEJANDRO       MENDOZA                   CA     48070519656
72924226533698   MARK            HENDERSON                 NC     90008492265
72924972157157   DINORA          REYES                     VA     90014479721
72925261272479   LEONA           DEUELL                    PA     90011112612
72925669255966   VERO            BURGOS                    CA     90012956692
72925789772479   JESSICA         BURRIS                    PA     51098477897
72926772272421   DIANE           WHEELUS                   PA     51034057722
72926839955966   SALINA          SANCHEZ                   CA     90011718399
72928263855939   KEVIN           CARDENAS                  CA     90013402638
72931335972421   ANGELINA        OJEDA                     PA     90010883359
72932496872421   RAYMOND         POWELL                    PA     51035574968
72933531941237   CHRISTINE       JOHNSON                   PA     51017075319
72933794684322   JULIE           PITTS                     SC     90012487946
72934412331433   AIMEE           MARSH                     MO     90012394123
72935319833699   METOYER         CLAYTON                   NC     90014883198
72935591784322   PATRICIA        PELAEZ                    SC     90010965917
72936672855966   YVETTE          HERNANDEZ                 CA     90012956728
72937779341227   ILENE           HELMS                     PA     90007977793
72938842433699   JAMAL           BLAKNEY                   NC     90014918424
72939323171921   RACHEAL         BLUNCK                    CO     90013773231
72941383841237   ROBERT          SLAINSKY                  PA     90013543838
72941516633699   KIM             HAYES                     NC     12072995166
72941717657157   CARLOS          NUNEZ                     VA     81065817176
72942999733699   MARK            BRADY                     NC     90008849997
72943123757157   PAOLA           FERNANDEZ                 VA     90014911237
72943219371921   URSULA          MCPHAIL                   CO     32062212193
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72943959692881   CHRISTIAN    CASTRO                       AZ     90014579596
72944383831433   HARVEY       MASSEY                       MO     90014583838
72944886733698   LATOYA       GREEN                        NC     90015158867
72945391457157   JOSE         ZAUALA                       VA     81019673914
72946362377552   CHARLES      SOUTH                        NV     90001543623
72946628141237   MAVIS        THOSTON                      PA     90015186281
72947383531432   BRANDON      RUCKER                       MO     90010963835
72947599757157   MILLIE       RODRIGUEZ                    VA     90013325997
72947614872441   DOMINIC      SAYSON                       PA     90014416148
72948879955969   BRENDA       RENTERIA                     CA     48087758799
72949499231432   JASMINE      LUCAS                        MO     90009264992
72951411591522   JIMMIE       JONES                        TX     90001094115
72951859833698   ROLAND L     COLE                         NC     90011468598
72954169631432   CHANTEA      HARRIS                       MO     90015171696
72954365991982   CYNTHIA      RICHARDSON                   NC     90001553659
72955738141237   BONNIE       SPADARP                      PA     51011947381
72956321233699   SHAENICE     TEAL                         NC     90014663212
72956845331433   KIM          HALL                         MO     27557958453
72957556372441   TICARA       BOARD                        PA     51088325563
72958771733698   ANITRA       PATRICK                      NC     90013147717
72959123757157   PAOLA        FERNANDEZ                    VA     90014911237
72961665472421   DIANE        SHOFF                        PA     51049386654
72961856257157   KIMBERLY     TAVARES                      VA     90015178562
72962686757157   JAMIEL       BROWN                        DC     81087526867
72962739541237   TERIKA       MEGGETT                      PA     90014647395
72963238957157   MANFREDIS    PORTILLO                     VA     90004772389
72963621755947   JAIME        DURAN                        CA     90006186217
72964375993739   HARRY        BAILEY                       OH     90011523759
72965262172479   MATTHEW      SCIORE                       PA     51086762621
72967567555939   RITA         BLANCO                       CA     90008175675
72967678241253   WALTER       WRIGHT                       PA     51017536782
72971643831433   ALICHIA      ROWAN                        MO     90010716438
72971865493739   PAUL         MOUNTS                       OH     64558858654
72972123757157   PAOLA        FERNANDEZ                    VA     90014911237
72972541655966   RONDY        MARTIN                       CA     90005325416
72972936455969   SUSIE        RUSSELL                      CA     90002599364
72973987633699   JONATHAN     HIGHFILL                     NC     90013459876
72974124484322   IVON         MCPHERSEN                    SC     90014901244
72975717233447   JACKIE       FOSHE                        AL     90009617172
72976156491931   STAR         GANDY                        NC     90012541564
72976344441237   HEATHER      JUBIC                        PA     90007433444
72976661472441   ALDA         BOGOLEA                      PA     90015116614
72976772684322   ADA          PEREZ                        SC     90014697726
72978293655966   SHAYE        HISTO                        CA     90000812936
72978345257157   RIOSS        HERNANDEZZ                   VA     90012433452
72978863255939   DANILLE      DELACERDA                    CA     90013438632
72979133333698   LARONDA      EURY                         NC     90013071333
72979312372421   LINDA        TOMPKO                       PA     51058713123
72979436831432   KIMBERLY     MULLEN                       MO     90010964368
72981242172479   SHANE        HARRISON                     PA     90013932421
72983767272441   THOMAS       BISHOP                       PA     51043437672
72983994341253   THERESA      FIELDS                       PA     51074529943
72984563655947   LEANDRO      GONZALEZ                     CA     90000595636
72985216541229   TAILYN       HOWARD                       PA     90011102165
72985231281633   PHILIP       MURDICK                      MO     90013642312
72985687191572   MAT          GUERRERO                     TX     90007796871
72985798584322   ORESSER      YOUNG                        SC     90012937985
72986116285945   ELPIDIO      GOMEZ                        KY     90011291162
72986436831432   KIMBERLY     MULLEN                       MO     90010964368
72986452893739   RICK         HALL                         OH     64589614528
72986533581633   NATASHA      MICHEALS                     MO     90012875335
72987123757157   PAOLA        FERNANDEZ                    VA     90014911237
72987125672421   RACHEL       HEASLEY                      PA     90009831256
72987163655969   GABBY        VILLA                        CA     90008941636
72987549993739   SAMANTHA     GILLIS                       OH     90012235499
72988544871921   JAMES        PARHAM                       CO     90014835448
72988955831443   SEAN         KELTING                      MO     90009879558
72989329557157   BRANDON      FITZGERALD                   VA     90013643295
72989966781633   STACY        BLUNT                        KS     90012959667
72991279755966   ELI          DIAZ                         CA     90011722797
72991552855947   PAUL         MORALES                      CA     90000235528
72991868457157   JUAN         AGUILAR                      VA     90013218684
72992238755947   LISA         HIATT                        CA     49080932387
72992453993767   AIRIYELLE    COSBY                        OH     90009744539
72992888655947   RANDY        CIAVAGLIA                    CA     49080378886
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72993165333699   TERTIA          MARSHALL                  NC     90014571653
72993522957157   YENIS           SALMERAN                  VA     90014955229
72994111281633   CASSANDRA       KELLER                    MO     29031241112
72995289357157   WENDY           DUENAS                    VA     90014182893
72995312355947   SALVADOR        VARGAS                    CA     49009113123
72995456455939   DANIEL          GUZMAN                    CA     48008274564
72995855857157   NIKITA          MCKENZIE                  VA     90013228558
72996583572441   DARLANN         STARR                     PA     90014585835
72997475355947   ANNISSA         FLORES                    CA     90001654753
72998244291982   AMANDA          EASTON                    NC     90011682442
72999234855969   GINA            GARCIA                    CA     48083352348
72999526857157   FROYLAN         PEREZ                     VA     81095535268
73111827233698   AMETTE          HARRIS                    NC     12084708272
73112299571947   DARREN          BURNETT                   CO     90012442995
73113953271947   LATISHA         JONES                     CO     32015709532
73113956441253   CARRIE          JACKSON                   PA     90014429564
73114925241227   MIKE            JAMES                     PA     90014359252
73115423531432   MARSHON         ASHLEY                    MO     90012874235
73115766571921   YANILYN         VARELA DE DIOS            CO     90006297665
73115867831433   LOLA            LUTZ                      MO     90008408678
73116489931433   SEMAJ           PORTER                    MO     90013584899
73116527455939   ADRIANA         SALAZAR                   CA     90014245274
73118645771947   RACHEL          SCHOENBERNER              CO     90008926457
73121846671921   ALEXIS          JOHNSON                   CO     90013008466
73122774741253   JASON           COLEMAN                   PA     90013957747
73123545655973   VANESSA         LUPIO                     CA     90008425456
73123957333698   HUINH           RAMAH                     NC     90000839573
73125538472478   DIANE           REPKA                     PA     90006815384
73125544772421   KEVIN           GENARD                    PA     51012725447
73126953831443   DAVE            CHAPMAN                   MO     27520759538
73127254855947   MARIA           LEDESMA                   CA     90002412548
73127413955974   KRISTY          BANKS                     CA     90013874139
73127576585945   KATHY           LOCKHART                  KY     67049965765
73128336793739   SANDRA          BRANDT                    OH     90013523367
73128769372421   KEITH           CONNELLY                  PA     90014437693
73129514755947   DORA PATRICIA   AGUILAR                   CA     90008425147
73131385733699   RON             DAVIS                     NC     90012973857
73132267533699   LATAYA          GLENN                     NC     90007262675
73134342541253   DARLENE         DOMER                     PA     51090233425
73137699272441   CHARLENE        SIMMONS                   PA     51061656992
73138352571947   VALERI          SPENCER                   CO     90013723525
73138358533699   DETICIA         RUCKER                    NC     90011133585
73139517531433   KIMBERLY        EDWARDS                   MO     90014085175
73139571255939   SALVADOR        HERERRA                   CA     48092395712
73141421972479   JEFF            MILLER                    PA     90000214219
73142489871921   DOLLY           LANDIN                    CO     32087924898
73143348531433   DANIELLE        POWELL                    MO     90014703485
73146428955939   SUSANA          GARCILAZO                 CA     90015194289
73147279457157   HENRY           LEONARD                   VA     90003232794
73147573671947   ANNETTE         GAITHER                   CO     90006445736
73148624691549   LUIS            VALLES                    TX     90012176246
73148687671947   STEFANIE        WATKINS                   CO     90014056876
73149172433699   MARIO           MADRID                    NC     12085091724
73149623791933   SHAQUANA        HARRISON                  NC     90007796237
73149644633698   HATTIE          HAMMOND                   NC     90011376446
73152131772441   CHRIS           ZEDAK                     PA     51038281317
73152172633699   MIGUEL          CASTILLEJOS               NC     12037381726
73154667155947   RANDY           DANIEL                    CA     90013536671
73157435455966   VERONICA        MUNOZ                     CA     48012864354
73158153471947   NORA            HERNANDEZ                 CO     90008251534
73158179541253   FRANCES         FISHER                    PA     51018041795
73158281284322   ROQUE           HERNANDEZ                 SC     90014112812
73158787455966   JAIME           RAMIREZ                   CA     90014427874
73158889941237   JAMES           STEEB                     PA     51022838899
73159357355966   DAWN M          TWING                     CA     90012253573
73161228155947   GUILLERMO       ALVARADO                  CA     49014062281
73161638671947   MARICA          NOVAK                     CO     90005986386
73163145555966   CHERRI          CARMON                    CA     48089711455
73163241351378   LATISHA         TUCKER                    OH     66007282413
73163382641253   RICHARD         BUTLER                    PA     90012143826
73163665571921   ROSARIO         RUIZ                      CO     90014276655
73164227941237   GEORGE          DIAZ                      PA     90001112279
73164321855989   MARIA           MARQUEZ                   CA     90008243218
73164532557474   PAYGO           IVR ACTIVATION            IN     90007195325
73164615471947   GAR             MOORE                     CO     90002806154
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73164669855947   ANTHONY       CHAVEZ                      CA     49048656698
73164733384322   RAY           GAYOSSO                     SC     90012657333
73164817293739   CARLOS        BARAJAS                     OH     90015088172
73165269772441   SCOTT         REYNOLDS                    PA     51064782697
73165751555947   EDITH         SURIA                       CA     49023817515
73167381871947   MARIA         NEGRETE                     CO     90011463818
73168489691572   MONICA        HERNANDEZ                   TX     75047074896
73168839455966   JOSHUA        RODRIGUEZ                   CA     90014428394
73168982655939   CESAR         CORONA                      CA     90013779826
73171114733699   BRIANA        HOLLINGSWORTH               NC     90012451147
73172787155939   JUANA         FERNANDEZ                   CA     90011317871
73172844933699   VELICIA       GADDY                       NC     12033788449
73172887871947   DUSTIN        FADDIS                      CO     32012998878
73174113841253   CHARLES       DENNISON                    PA     90004221138
73175279555966   GLENDA        UVEGA                       CA     90012772795
73175498561985   SCOTT         ANTHONY                     CA     46089974985
73177537433699   FELICIA       JOHNSON                     NC     90005815374
73178674255947   RAMON         RAMIRES                     CA     49096366742
73178763541237   APRIL         BROWN                       PA     51054087635
73181373231432   TAMMISHA      SPRATT                      MO     90011953732
73181385655966   LORENA        MADRIGAL                    CA     90005803856
73181635355939   JOSE          DOMINGUEZ                   CA     48009066353
73182763871947   TAMU          TUCKER                      CO     90004017638
73183587771947   WILLIAM       WATKINS                     CO     90014425877
73184575972421   SAMUEL        HERNANDEZ                   PA     90012705759
73185174731432   CHRISTOPHER   THOMPSON                    MO     90009971747
73187262584322   BRAYAN        VASQUEZ                     SC     90007592625
73187445893739   CHARLES       COMBS                       OH     64534164458
73188682241237   CHRISTOPHE    BROWN                       PA     51053546822
73191515872441   ZELIZABETH    NEWMAN                      PA     90001255158
73191943455947   ANDRE         SMILEY                      CA     49079969434
73192339393767   MARCUS        MITCHEL                     OH     90011773393
73192757593739   JANDI         BIRT                        OH     64511187575
73193261755973   STEPHANIE     GARCIA                      CA     90009652617
73193423533699   JANET         ROBINSON                    NC     12013014235
73194687641227   HASSAUNDRA    BURTON                      PA     90014506876
73194715531432   JUSTICE       ENTERPRISE                  MO     27510877155
73195433731443   LAKITA        TAYLOR                      MO     90012954337
73195536555939   MARIA         FLORES                      CA     90015495365
73196914133699   ELIE          CANDELA                     NC     12095759141
73197284871947   ZACH          POSIK                       CO     32007492848
73197319131432   ERIKEYA       MOORE                       MO     90012373191
73197574772479   JOSE          PEREZ                       PA     90014585747
73197976193739   HOLLY         WEBB                        OH     64562189761
73199588971947   VICTOR        GARCIA                      CO     90012255889
73213341971921   DANNY         WILSON                      CO     90011223419
73213973993739   JAMES         MOORE                       OH     64537779739
73214446331433   BARBARA       HERRERA                     MO     90015344463
73214495572441   BOBBIE JO     YOST                        PA     90005914955
73215331533699   CANDICE       LEMON                       NC     90011323315
73215351471921   DANIEL        COUILLARD                   CO     90013053514
73215895581255   LUIS ANGEL    CASTRO                      KY     90014448955
73216397241253   GINO          SANTONI                     PA     90013843972
73217349841237   WENDI         GARZA                       PA     90012783498
73218633355939   GERWARD       MONTOYA                     CA     90006756333
73221349884322   TYQUAN        BRAYBOY                     SC     90014883498
73222378541237   JOHN          KNOX                        PA     90014813785
73222556833699   JOSE          GONZALEZ                    NC     90012355568
73223863371921   CAROLINA      ENRIQUEZ                    CO     90001388633
73224451941227   NGOZIE        OBIAKU                      PA     90011844519
73225619671947   MARIA         ABSHIRE                     CO     90010016196
73227959193739   MICHAEL       WOODRICK                    OH     64575199591
73228169941253   BABBIE        CASH                        OH     90004871699
73228339655947   VERONICA      CAYETANO                    CA     49046353396
73228487655939   ELIA          PEREZ                       CA     90012424876
73229114993739   JIM           SLACK                       OH     90010381149
73231199233699   SHIRLEY       BRANTLEY                    NC     90013771992
73231341984322   JULIO         DIAZ                        SC     90013383419
73231489941237   MARY          HARPSTER                    PA     51088444899
73233971672441   MATT          LOMBARDO                    PA     90011319716
73234281341253   LAMAND        TAVIS                       PA     90009212813
73235811955947   SHARRON       ROWLAND                     CA     90013608119
73236172455966   MARY          QUINTERO                    CA     90011721724
73238658871947   MONICA        GARCIA                      CO     90014886588
73239235184322   KEWAN         EADY                        SC     90007872351
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73241834471947   JOSHUA       LEMUEL                       CO     90012848344
73242271941253   CHANESSA     SCHULER                      PA     90013012719
73242273555928   JENNIFER     KRAMER                       CA     90010482735
73245579672479   MICHAEL      BERDAR                       PA     90014545796
73247352871947   BERLIN       MARTINEZ                     CO     32048873528
73247468331433   MICHAEL      HEMBROUGH                    MO     27510024683
73247876757157   JOSE         COREA                        VA     90003268767
73249436581255   BRITTANY     WARREN                       KY     90012074365
73249756272479   KIMBERLEE    TELEGRAPHIS                  PA     90002757562
73251347772421   BRIAN        JOHNSON                      PA     90003623477
73251736171921   MAYELA       SANCHEZ                      CO     32061197361
73252169633699   SAUL         ROMERO MAYO                  NC     90012461696
73252476771947   NANCY        WORTKOETTER                  CO     32066484767
73253987384322   JOSE         CERON                        SC     90013229873
73254855972479   CLIFFORD     SMUTNEY                      PA     51089238559
73255893455947   LEAH         CORREO                       CA     90011228934
73256349761935   LISA         DENNISON                     CA     90013953497
73256733471947   FRANSISCO    CERVIN                       CO     90012787334
73259988572479   DARLA        HALL                         PA     51040289885
73261395171921   JASON        SPINAS                       CO     90005943951
73262273555947   JANET        HERNANDEZ                    CA     90015202735
73263187172421   MICHAEL      MORGAN                       PA     51039951871
73263344531432   DANIEL       PHELAN                       MO     90015023445
73263839193739   CASSANDRA    PRESSLEY                     OH     90014088391
73263924972441   SHERRY       JONES                        PA     90012039249
73268436757157   MAXWELL      VELLELIZ                     VA     90002074367
73268632955939   MIGUEL       MORENO                       CA     90012446329
73268736171921   MAYELA       SANCHEZ                      CO     32061197361
73269524672479   BRITTNEY     HARMON                       PA     51038535246
73269988941237   KRYSTAL      RIES                         PA     51093379889
73271654833698   JASON        BROWN                        NC     90013276548
73271687384322   EYMI         MARTINEZ                     SC     90012726873
73271858855947   JOSE LUIS    ESQUIVEL SEGUNDO             CA     90011358588
73272841272421   JOANN        RHOME                        PA     51058798412
73273397341253   MONFQUE      PAYNE                        PA     90013843973
73273722371921   ROBERT       RODRIGUEZ                    CO     90010257223
73273765155966   OLGA         MARTINEZ                     CA     48066697651
73274643431432   KIMBERLY     KOPF                         MO     27525746434
73275745471947   ROCIO        MENDOZA                      CO     32000077454
73276493971921   TERRY        RAY                          CO     32086954939
73276961944346   JOSEPH       ANTHONY                      MD     90015429619
73277134531433   TIMMONS      CLARK                        MO     90004451345
73279125255966   RICARDO      HERNANDEZ                    CA     90012491252
73279472572441   DONELL       BOOTH                        PA     51010094725
73281513861951   CASSANDRA    CAVETTE                      CA     90011125138
73281578172479   RACHELL      NUTT                         PA     90009555781
73281987957157   BRENT        CRANT                        VA     81091279879
73285264257147   TONY         RANDLE                       VA     90005992642
73286239433658   KYM          PERRY                        NC     90006662394
73286868172421   SONJA        ECKELBERRY                   PA     51093768681
73288516131433   PENNY        SIMPSON                      MO     27557735161
73288556271947   LASHUANTE    HALL                         CO     90007975562
73288564655947   TONY         SIMPSON                      CA     49032655646
73288668155991   ELIZABETH    HERNANDEZ                    CA     90009286681
73288841671921   OSCAR        ESTRADA                      CO     32085808416
73289142784322   JARIEL       VELAZQUEZ                    SC     90013651427
73291173972441   JOSEPHINE    GALVAN                       PA     51079541739
73292241591885   KATERRA      MEACHEM                      OK     90011132415
73295651331433   JERECE       DAVIS                        MO     90014596513
73297483284322   HECTOR       PENA                         SC     90012714832
73299945633658   JUNGHO       KANG                         NC     90005169456
73312677572441   CHRIS        GLASS                        PA     90000606775
73314877541253   JERROD       BROWN                        PA     51019778775
73315416141227   ANNETTE      LAMIA                        PA     51087684161
73315475372421   LORRAINE     STEBAN                       PA     51047314753
73316946141237   MIA          GIUNTA                       PA     90015139461
73317572641253   RAYLANE      MITCHELL                     PA     90014975726
73317636841227   STACEY       DAVIS                        PA     90000876368
73318717484322   MOISES       APARICIO                     SC     14513537174
73318899731432   JAMES        JONES                        MO     90015088997
73319335184322   JESSICA      RUSHING                      SC     90014883351
73321421731433   JAMIKA       HUNTER                       MO     90014704217
73324162931432   LYNNSY       LENARD                       MO     90013781629
73324898955947   LUCIA        MENDOZA                      CA     90015098989
73324946133699   TIFFANY      TURBEVILLE                   NC     90015109461
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73327397157127   VIBOL         HUYNH                       VA     81085093971
73331194191549   TONY          GARCIA                      TX     90011661941
73331324833698   MIRACLE       SCHOFIELD                   NC     90014153248
73331888393739   JASON         KELLEY                      OH     90015268883
73332692971921   MIGUEL        GARCIA                      CO     90004536929
73333156472479   WILLIAM       LEACH                       PA     51084011564
73333317761956   ISRAEL        POLO                        CA     90009983177
73335519831432   JANELLE       WARNER                      MO     90011055198
73336467171921   KUHN          MICHELLE                    CO     32015064671
73337284331433   JORDAN        THOMAS                      MO     90014142843
73339668371947   MICHAEL       GARCIA                      CO     90012996683
73342272884322   VICTOR        VILLITORO                   SC     14505822728
73342296255939   ANDREA        VALLEJO                     CA     90010952962
73343511771921   JEREMY        EGGLESTON                   CO     90007225117
73343624755939   BREANNA       CERVANTES                   CA     90014036247
73343933855966   MARLENA       TALAMANTEZ                  CA     90001299338
73344431741237   ANWAR         HASAN                       PA     90008384317
73345612731432   KIMBERLY      ALEXANDER                   MO     90001396127
73346314672479   ADAM          KRISE                       PA     51051423146
73347478872441   RICHARD       KASPER                      PA     51071614788
73348572372441   DAVID         BREWER                      PA     90001055723
73349514455941   TOMASITA      RODRIGUEZ                   CA     90006395144
73349717861986   DONALD        LEWIS                       CA     90013417178
73351596731443   CHANDRA       HAWKINS                     MO     27568555967
73352552293739   SCOTT         NEELD                       OH     64571285522
73354837341253   OMOBOLA       OLUWATUYI                   PA     51017438373
73355272333698   CRYSTAL       ALLEN                       NC     90014152723
73355721184322   BLANCA        HERNANDEZ                   SC     90008307211
73356689941253   DAVID         BROWN                       PA     51063136899
73357356257157   FRANCISCO     ADAN                        VA     81071983562
73357774172479   SHELLY        DEROSA                      PA     51060587741
73358343831433   NATHANIEL     SMITH                       MO     90002383438
73362856955939   MARIA         PEREZ                       CA     90014498569
73363257572421   KATINA        STEWART                     PA     51006142575
73364328141237   CHRIS         FORNEY                      PA     51003553281
73364911493739   RINARDO       WILLIAMSON                  OH     64515079114
73364982357531   CLARA         CISNEROS                    NM     90011629823
73365524571921   LUCIO         VELAZQUEZ                   CO     90014825245
73365956555939   BLANCA        ROMO                        CA     90009259565
73366232685945   ALEXANDER     WATKINS                     KY     90001832326
73366743655939   MANUEL        SILVA                       CA     90012017436
73367142433699   ANNASTASHIA   LEE                         NC     90014051424
73368595571947   LOGAN         ASBURY                      CO     90014555955
73369868355939   JORGE LUIS    MARTINEZ                    CA     90015378683
73371854851278   ZARIA         LOPEZ                       NE     90014748548
73371883971947   RENE          BUSTILLOS                   CO     32011938839
73371959531432   ALISHA        TAYLOR                      MO     27597179595
73373127231432   ANNA          MORUZZI                     MO     90012601272
73373189955947   MARIO         MARAVILLA                   CA     90012961899
73373238581255   WALTER        LOPEZ                       KY     90007102385
73373778733699   DESIREE       RENDER                      NC     90013677787
73374921531432   KELLY         TOVAR                       MO     90015079215
73376249433699   MARAGRITA     MEDINA CASTRO               NC     90013932494
73377623484322   EMILY         HEATH                       SC     90001336234
73378546172479   SEAN          GANOE                       PA     90002195461
73378832984322   JOSUE         ACOSTA                      SC     90013498329
73378932555947   TERRANCE      HEBRON                      CA     90011229325
73379572771947   ROBERT        TANNER                      CO     90010185727
73382454384322   JANET         AZUARA                      SC     90014994543
73383181633698   JENKINS       DOMINIQUE                   NC     90012331816
73384591372441   LEAH          STRINGERT                   PA     90009485913
73387473657157   JOSEFA        CAMPOS                      VA     90001144736
73387843231432   SPECIAL       JACKSON                     MO     90011518432
73387955755939   ANGELA        ANIAG                       CA     90013759557
73388473657157   JOSEFA        CAMPOS                      VA     90001144736
73391714191225   CESAR         LASTRA                      GA     14517457141
73396742993739   DELOREAN      DORSEY                      OH     90009917429
73396977684322   ESTEBAN       RAMIREZ                     SC     90011979776
73397475531433   LAVONZE       STOMER                      MO     90015344755
73397877655939   FELICIANO     RODRIGUEZ                   CA     90013728776
73398142255966   MARIA         PACHECO                     CA     48030781422
73398788471921   EDWARD        FRANK                       CO     32039307884
73411783755939   MARCIELA      JIMENEZ                     CA     48051787837
73411881693739   TRACY         FLETCHER                    OH     64500808816
73412854293739   ALEX          BAUGHN                      OH     90000988542
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73413774393739   BEVERLY        ELY                        OH     90001487743
73414685471947   YONI           AGUILERA                   CO     32060866854
73415677141253   ANTWAN         MOOREFIELD                 PA     90012746771
73416579672479   MICHAEL        BERDAR                     PA     90014545796
73416763633699   SANDRA         MURILLO                    NC     90015287636
73417472484322   VALERIA        ALCAZAR                    SC     90013554724
73417753133698   THOMAS         BRANDT                     NC     90014147531
73418274741227   KYM            SMITH                      PA     51068432747
73422454155966   NATHANIAL      ISAACSON                   CA     90012954541
73424936441237   LINDA          HARSHBARGER                PA     90003729364
73424984455966   LARRY          VOLZ                       CA     90009709844
73427564384322   FRANSISCO      REYNOSO                    SC     90009685643
73429721355947   SHARON         MCKINLEY                   CA     49070097213
73433552857147   CAROLINA       MORALES                    VA     90007225528
73436149755947   CRISTAL        LIRA                       CA     49082571497
73438517971947   SIR CHEARLES   WATTERS                    CO     90014845179
73438982231433   FORREST        JOHNSON                    MO     90013709822
73442123984322   SITIERA        JENKINS                    SC     90010291239
73442659533698   NAOMI          HILL                       NC     90009086595
73444451755939   GERARDO        VASQUEZ                    CA     48077564517
73444652871921   DENNIS         NOESKE                     CO     90015106528
73444831372479   KIMBERLY       FARKAS                     PA     51030418313
73444834857147   ALEXANDER      SANDOVAL                   VA     90007228348
73445473171947   MARIAH         COULTRIP                   CO     90015184731
73446445372479   DEANNA         BROWN                      PA     90007524453
73446491755947   VERONICA       DELGADO                    CA     90001204917
73447454455947   VICTORIA       HOMAN                      CA     90009144544
73447615771947   JOHN           MAGOUIRK                   CO     90012386157
73448211372441   MELISSA        WOLF                       PA     90010772113
73448848633698   DEYAN          DAVIS                      NC     90013838486
73452197731433   ADA            SAMUEL                     MO     90011031977
73453621593739   DARYL          ROBINSON                   OH     90013936215
73454115141253   DEBBIE         MITCHELL                   PA     51005841151
73455175484322   NELLY          HAMMET                     SC     90011701754
73461673793739   CYNTHIA        COLLINS                    OH     90013766737
73464396184322   MELISSA        RODNEY                     SC     90014983961
73464475355939   MIKE           LOPEZ                      CA     90014654753
73465725972441   JOHN           LASKY                      PA     51092807259
73465779133698   YEON HWA       JUN                        NC     12049037791
73466922855947   MARISA         MONK                       CA     90012799228
73467329857157   MARWIN         MEDRANO                    VA     81077013298
73467688431443   KEVIN          MCGLYNN                    MO     27587006884
73467961866255   BARBARA        COOL                       MS     90009159618
73468813231433   MATE           ZUBCIC                     MO     90008498132
73471697393739   MELISSA        DAVIS                      OH     90011066973
73471763171921   ERICA          TAFOYA                     CO     32087447631
73473154533698   KERTONIO       FISHER                     NC     90009451545
73474161333698   CHAYANE        MCKINNEY                   NC     90012551613
73474661855947   ELSA           ROJA                       CA     90011986618
73475879372479   DENISE         BRISTOL                    PA     51001418793
73476889193739   JEFFEREY       NICELY                     OH     90009008891
73476935672441   KAREN          CARR                       PA     90011529356
73477723255939   STEVEN         VERA                       CA     90015527232
73481312672441   ROBERT         MALACKANICH                PA     51059473126
73482684655939   ERIK           GUZMAN                     CA     90010046846
73482835172441   JEFF           LININGER                   PA     51008498351
73483333591863   HOLLY          FAIRCHILD                  OK     21045773335
73483334171947   TINA           MARIA                      CO     32033253341
73483856755939   TERESA         SANDOVAL                   CA     48010138567
73484225284322   JUAN           GOMEZ                      SC     90013662252
73484259655991   JESSE          JIMENEZ                    CA     90014732596
73484483185945   CHINTEE        BEARD                      KY     67016704831
73486933341253   SUSAN          PODZON                     PA     51096729333
73487237541227   YVETTE         HARRIS                     PA     51050092375
73487265141237   CHRISTINA      VIVOLA                     PA     51070962651
73487417936168   KATHLEEN       MOORE                      TX     90013154179
73488645155947   KACIE          BAIS                       CA     90010216451
73489289584322   BENNIE         MITCHELL                   SC     90011222895
73489776791969   MARIA          REYNA                      NC     90010807767
73489791671921   JEANNETTE      VALDEZ                     CO     90014437916
73489939755966   MARIA          GUERRA                     CA     48067019397
73491849831433   DARRYN         BROWN                      MO     90014908498
73492366371921   SHAUN          GILL                       CO     90013963663
73495117855939   FRANCISCO      MARTINEZ                   CA     48005481178
73495141855966   ROSALIE        SEARS                      CA     90012891418
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73495293272441   ROBERT P     PROPST                       PA     51005462932
73495455171947   ALEXANDER    CORRALES                     CO     90002584551
73496425655947   YOLANDA      RAMOS                        CA     90011254256
73498241831433   TONY         JORDAN                       MO     90011032418
73498496472441   JAMES        CONNER III                   PA     51097964964
73498665355947   MICHELLE     TEJEDA                       CA     49071226653
73511443933699   CHRISTINE    ROGERS                       NC     90014674439
73511939433698   CYNTHIA      CLARK                        NC     90007919394
73512219755939   REYNA        HERNANDEZ                    CA     90008522197
73512567741253   KIMBERLY     WILSON                       PA     90012425677
73512776372479   JILL         FULTON                       PA     51072597763
73512861971921   NINA         ADAME                        CO     90013028619
73513528272479   DOROTHY      LENZI                        PA     90013675282
73515275255966   MALINDA      FRANKLIN                     CA     90014562752
73515354172479   COURTNEY     RISHUR                       PA     90015603541
73516341351378   KARRIE       PAYNE                        OH     90014813413
73516913355966   RUBEN        MUNOZ                        CA     90011779133
73521291831432   GRACIA       DE REYES                     MO     90007942918
73522182155939   MARIA        RAMIREZ                      CA     90010751821
73522918333624   CRYSTAL      ALSTON                       NC     90011449183
73523325655939   ALMA         DUENAS                       CA     90011453256
73523418871947   SHANNA       MANN                         CO     90009384188
73523882355966   DIANA        GARCIA                       CA     90014588823
73524582133699   SAMUEL       LITTLE                       NC     90014525821
73526298171947   ANAIRIS      SANTOS                       CO     32074612981
73528175194925   ROSA         MEDINA                       CA     90014951751
73528676855939   MONSERRAT    MEZA                         CA     90001786768
73529453572421   MATT         SOISSON                      PA     90013484535
73531159184322   ERIKA        AGUILAR                      SC     90013681591
73531587772479   MELINDA      HEINLEN                      PA     51055825877
73532337641237   KAYLA        MCCASKEY                     PA     90015133376
73533681771921   REBECCA      MORGAN                       CO     90003746817
73533837331433   TERRILL      GIVENS                       MO     90011958373
73535189833699   MBOLUWO      MATTEWS                      NC     90009261898
73535696531433   STEPHANIE    CRAIG                        MO     90014556965
73536179684322   ELEAZAR      JERVASIO                     SC     90010291796
73536257955947   DELPHIA      ROBINSON                     CA     49000322579
73537235255936   ALLEN        DOWNS                        CA     49082332352
73538414993739   VERONICA     MELTON                       OH     90014694149
73539287631433   WENONA       BAKER                        MO     90009242876
73539514371947   CRYSTAL      SIMON                        CO     90013155143
73539635855966   JOE L.       TORRES                       CA     90012966358
73541697241237   THOMASINA    GILBERT                      PA     51080976972
73542867577397   CANDYCE      HINES                        IL     20536658675
73543285433699   RASHEKA      TERRY                        NC     90004052854
73543416472421   JASON        MCBRIDE                      PA     90010194164
73544784855939   LINDA        RODEROS                      CA     90010837848
73545247655939   CARLA        TRINIDAD                     CA     48096852476
73546731472441   HEATHER      BRANDON                      PA     90010707314
73547195781255   DANIELLE     PHILLIPS                     KY     90008171957
73547639471947   ISAIAH       WALTERS                      CO     90013696394
73547639941237   BRITTANY     SWARTZWELDER                 PA     51089886399
73548998155939   VANESSA      RODRIGUEZ                    CA     48005169981
73549622655939   ALMA         ARTEAGA                      CA     48083056226
73549679731433   KAREN        BARBET                       MO     27566576797
73549947784322   DUSTIN       PAYNE                        SC     14517839477
73551591172479   KEVIN        ROSSINI                      PA     51036655911
73553495333699   KCMARIE      MESSER                       NC     12060414953
73554148133698   DOUGLAS      JOHNSON                      NC     90013241481
73555432755939   DIVA         LAREZ                        CA     48081904327
73556357555939   OSCAR        SANCHEZ                      CA     90013623575
73556534671947   CHARLES      ADANS                        CO     90009805346
73556539384322   EVAN         SANCHEZ                      SC     90011185393
73558399391982   MONICA       CHEEK                        NC     90010743993
73558889672421   TOM          DEMATTY                      PA     90004908896
73558915431433   LAUREN       RABBITT                      MO     90008469154
73559341371947   GILBERTO     MARTIN CUMES                 CO     90006163413
73561389755947   LINA         SANDOVAL                     CA     49051793897
73561529755939   FERNANDO     QUEVEDO                      CA     90012705297
73562559161971   MARIA        AGUISSE                      CA     46056295591
73564242233625   PAUL         FOLEY                        NC     90008492422
73564318655966   MICHAEL      MAXWELL                      CA     90008473186
73564685641237   SHAWN        BARNETT JR                   PA     90002086856
73565579691563   ALFREDO      RUBIO                        TX     90004835796
73566257761971   CHRISTIAN    CARMONA                      CA     90012402577
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73566688255939   JORGE        VERDUZCO                     CA     90009946882
73567318141237   EMILY        SMITH                        PA     51039493181
73567833333699   QWAMAINE     LAFORD                       NC     90010068333
73568561333698   TRISHA       SMITH                        NC     90012335613
73569349684322   ABDEL        MARTINEZ                     SC     90014103496
73569544955966   NORA         GONZALEZ                     CA     48096815449
73569577872421   EDITH        BAINBRIDGE                   PA     51035685778
73571516633699   KIM          HAYES                        NC     12072995166
73572165971947   JAVIER       GONSALEZ                     CO     32054841659
73572542771921   JOHNATHAN    GARCIA                       CO     90012665427
73574133741253   GINA         BARBER-CASTELVETER           PA     51020071337
73574314133699   SULI         GARCIA                       NC     12010273141
73575469872421   CHRIS        ROBERTS                      PA     51001134698
73576759271921   RAYMOND      GRIEGO                       CO     90014097592
73577281455966   JOE          RODRIGUEZ                    CA     90010592814
73578392871947   MOSES        GILDER                       CO     90009043928
73581485593739   WAYNE        KINGSOLVER                   OH     64520284855
73583188655966   GERALD       URIBE                        CA     90014491886
73583243333699   LAWANDA      LYLES                        NC     90015132433
73583522455947   CANDY        DELFIN                       CA     90013055224
73583784455939   RAMON        LONGORIA                     CA     90014947844
73585254331432   BRITANY      HILL                         MO     90014332543
73585412691572   CESAR        CARREON                      TX     90012504126
73585787955939   REYNALDO     GONZALEZ                     CA     48032037879
73586149472441   JODIE        BYRD                         PA     51029251494
73586292761971   JACKLEYN     TRUJILLO                     CA     46000712927
73586584184322   ISRAEL       BALTIZAR                     SC     90007055841
73586726131432   KENNETH      GRIFFITH                     MO     90014237261
73587223531432   BRIAN        HARRIS                       MO     90012292235
73587413872421   JULIE        JOYNER                       PA     90002884138
73588367984322   ROAN         HARVEY                       SC     90007413679
73588776355928   BILL         JACKSON                      CA     90012877763
73588873531432   JAMES        BRENNER                      MO     90005078735
73588887555928   BILL         JACKSON                      CA     90011348875
73589172641253   TAMMY        HESS                         PA     90010351726
73593361772479   DENNIS       VACCARO                      PA     51000453617
73593861391566   MAYRA        VELAZCO                      TX     75054078613
73594636886436   JEREMY       LEWTER                       SC     90015046368
73594986433698   BILLIE       SCOTT                        NC     90014169864
73596254193739   ERIKA        CRAWFORD                     OH     90009962541
73596515333698   REGINALD     MONTGOMERY                   NC     90014155153
73597334672441   JOHN         KUTTER                       PA     90013643346
73598237455966   BRADLEY      PRICE                        CA     90000992374
73599252357157   SANDRA       BERIOS                       VA     90012752523
73599448484322   VIVIAN       NICOLE                       SC     90014934484
73599465657124   JAMIE        HANSON                       VA     90004084656
73599935772479   STANLEY      CAIN                         PA     90000459357
73612277731433   PATRICIA     FOREMAN                      MO     90009372777
73612733355939   GILBERT      GONSALEZ                     CA     90007967333
73612733981637   JAMES        LOWRY                        MO     90008777339
73613687571947   LINDA        MONTOYA                      CO     90005836875
73613845284322   JOSELUIS     VELASQUEZ                    SC     90011658452
73614485433699   KEVIN        MCRAE                        NC     90012164854
73615995572441   JOHN         LEASHA                       PA     51083299955
73616282455939   ERICA        LOPEZ                        CA     90007012824
73616557855966   APRIL        LUSK                         CA     48098485578
73617396441227   JAMES        GERHART                      PA     90006233964
73618481233698   BRIAN        MCNEILL                      NC     12013894812
73618773155966   ANDREW       RODRIGUEZ                    CA     90002217731
73619481431443   LUTHER       WATKINS                      MO     90010644814
73621647172441   JUSTIN       CORDES                       PA     90007786471
73623391655947   NANCY        REYES                        CA     49095283916
73623637633699   MARY         LEE                          NC     90010556376
73624796255939   ADELA        GONZALEZ                     CA     90007847962
73625358455939   ARMANDO      LOPEZ                        CA     90014753584
73626367172479   MARTIN       BINDI                        PA     51064003671
73626386155939   MONICA       RODRIGUEZ                    CA     90014563861
73626444741227   JULIE        CORCORAN                     PA     51001344447
73627862261891   KIMBERLY     JOHNSON                      MO     90013778622
73628952272441   JOSEPH       MAJEWSKI                     PA     90010839522
73631132372479   BELINDA      YAGER                        PA     90006701323
73631289531432   VIVIAN       JONES                        MO     27565462895
73632347831661   DAWN         YODER                        KS     22059433478
73632656571947   SEAN         ADAMS                        CO     90012176565
73632778831432   EBONIE       TURNER                       MO     90014527788
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73633583471947   DORIS        GALLEGOS                     CO     90004225834
73633857933699   TEGBA        HUNTER                       NC     12004848579
73634656231433   PROSPER      MENGE                        MO     90015136562
73635241355966   VICTOR       GARCIA                       CA     90014492413
73635313641253   SURENU       FRANK                        PA     90004223136
73635356455947   BRYON        PELLEY                       CA     90009383564
73635514541253   JASON        MCCONNELL                    PA     90014185145
73636487131433   JOSEPH       POKORNY                      MO     27506284871
73636549933699   MIGUEL       NEGRETE                      NC     90012945499
73636635131432   AMANDA       THOMPSON                     MO     27565466351
73638755972479   DESIREE      ALLEN                        PA     51091297559
73638781685833   JEFFREY      WOLF                         CA     46057797816
73639541593739   KRISTA       DICKERSON                    OH     90012515415
73639563533698   ANDRE        BOWLES                       NC     90014345635
73641539571921   KIRK         FERGUSON                     CO     90014345395
73642398631432   TRINITY      THOMPSON                     MO     90011003986
73642981455947   SHERRY       LONG                         CA     90012399814
73647352891586   SALVADOR     VARELA                       TX     75074073528
73647583472441   THERESA      BOOHER                       PA     51009255834
73648757331432   NATHAN       SHORT                        MO     90015097573
73648995485945   SHAKIA       WILLIAMS                     KY     67017259954
73649644755939   JOSE         HERNANDEZ                    CA     90013936447
73649718233698   SHAREE       HENDRIX                      NC     90014157182
73651242433698   SHON         HUTTON                       NC     90012922424
73651583572441   STACEY       JETER                        PA     90009715835
73651872341227   BEVERLY      CHILDERS                     PA     90011428723
73652656191979   ANN          DOW                          NC     90014716561
73653176355928   MICHAEL      BLATHERS                     CA     49084501763
73653335584322   ADOLFO       LOPEZ                        SC     90013943355
73653415393739   ROBERT       GARNER                       OH     90010964153
73653639755939   EDUARDO      ALVARADO                     CA     90010436397
73654215472479   PATRICK      STOCK                        PA     90015032154
73656235271947   FERNANDA     ESTRADA                      CO     32078492352
73657147655957   ELSA         GONZALEZ                     CA     49077351476
73658993633699   BARBARA      KLUTTZ                       NC     12001749936
73659719272479   ERNEST       LEEZER                       PA     51034307192
73661122171921   HUGO         GONZALEZ                     CO     90013981221
73661279893739   WILLIAM      THOMAS                       OH     64594202798
73663447291521   CHRISTOPHE   BREAZEALE                    TX     90000484472
73663741171921   KOLONDUS     BROADNAX                     CO     90009657411
73663889372421   PATRICIA     MENZ                         PA     90011408893
73664189941237   SHALA        TAYLOR                       PA     90011481899
73665658871947   MONICA       GARCIA                       CO     90014886588
73666224597123   HEATHER      RODRIQUEZ                    OR     90005442245
73666453484322   KIM          GOODMAN                      SC     90004584534
73668321541227   ANTHONY      FORD                         PA     51094083215
73668431584322   ABU          BARK                         SC     90014664315
73668754331432   SABRINA      MINNERS                      MO     90014887543
73669218272421   DENNIS       OHR                          PA     90012302182
73669532584322   CLEOTILDE    PEREZ                        SC     90013985325
73669641155966   DAISY        GALINDO                      CA     90008396411
73671463155947   MARIA        PIMENTEL                     CA     90013204631
73671644784322   NOELIA       LEIVA                        SC     90013986447
73672461231433   TAVACEAU     WAGNER                       MO     90003454612
73673397555939   ROLANDO      NUNEZ                        CA     90013663975
73677593984322   TOSHA        MITCHELL                     SC     90013205939
73678736133698   KENDALL      CROMARTIE                    NC     90014157361
73679346871921   ALIZE        MACK                         CO     90015133468
73679784331432   TERRY        SILLS                        MO     90008007843
73681832655966   MARCEL       BARTON-SABO                  CA     90014498326
73681971991572   SUSANA       FLORES                       TX     90001849719
73682636255947   CHIA         VANG                         CA     90011956362
73682917933699   JANEE        COCKERHAM                    NC     90015149179
73684216855939   ANGELICA     GARCIA                       CA     90009372168
73685129955966   ANA          BARRETO                      CA     90011591299
73688497871947   LEONA        MCFEE                        CO     90015084978
73688884651323   SONJA        PHILLIPS-ANDERSON            OH     66013238846
73689658447873   MICHAEL      PURCELL                      GA     90011726584
73689683171947   CHARLES      SUDDETH                      CO     90014906831
73691592672479   DANA         BLOCK                        PA     90011065926
73691758931433   DELNITA      LOWE                         MO     90015107589
73692254241229   ERIKA        SCHULTZ                      PA     90008922542
73692665541237   DAVE         MARTI                        PA     51028826655
73692716993739   KELLY        HUFFMAN                      OH     90006037169
73692866471947   DAISY        COPLEN                       CO     90012988664
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73693191472441   TIANA         GIBSON                      PA     90007791914
73693211455939   ALMA          AYUNGUA                     CA     90010282114
73693434833698   SHAQUITA      STRICKLAND                  NC     90005464348
73693734184322   SOFIA         CASTILLO                    SC     90013987341
73696157191572   REY           ALONSO                      TX     90012411571
73696273833699   DARLENE       WILLIAMS                    NC     90015132738
73697659355947   BREANNA       SENGPACHANH                 CA     90012836593
73697945972479   BRENDA        WHEELER                     PA     90012189459
73697973484322   DANIEL        HERNANDEZ                   SC     90013989734
73698769671947   JACOB         SCHALLER                    CO     90007137696
73699212731433   CHRISTINA     RAMANU                      MO     90008912127
73699417671947   EMILY         ZELL                        CO     90014704176
73699537171921   JENNIFER      AMES                        CO     90011465371
73699768171921   CYNTHIA       ARAGON                      CO     90014817681
73699793333698   ROSEMARIE     PRESNELL                    NC     90014287933
73711134741237   BRIAN         SPLANE                      PA     51002841347
73711549757157   NOEL          RIVERA                      VA     90006825497
73712592731433   ELVIS         SMAJLS                      MO     90013835927
73713656655939   BRISA         MARKES                      CA     90007756566
73716684471921   MARYANN       GILMERE                     CO     90012836844
73718993584322   NATALI        SAWAYA                      SC     90014179935
73719143293739   JOELLE        MOBLEY-EPPS                 OH     90013791432
73723325484322   SHANTA        MATTIS                      SC     90002833254
73723376255966   JORGE         MAGANA                      CA     90005553762
73723594671947   NAKIA         JONES                       CO     90013115946
73724492331432   BRANDI        GREEN                       MO     90011004923
73724985731433   JACQUELINE    BAKER                       MO     27563299857
73725255593739   LISA          CARLISLE                    OH     90014622555
73725528955947   MARTIN        LOPEZ                       CA     49014375289
73725956857127   VERONICA      CRUZ                        VA     90001319568
73726362893739   ALVIN         JACKSON                     OH     64550173628
73726646991827   LUCIA         SUAREZ                      OK     90013616469
73727898333699   MARK          SMITH                       NC     90013948983
73731725772479   IAN           TOMASIAK                    PA     90002987257
73732867972479   RACHEL        FOSTER                      PA     51027128679
73733739331432   HELEN         PERSON                      MO     90015117393
73735524672441   HELEN         MILLIGAN                    PA     90013995246
73735836355966   TERRY         COX                         CA     90011798363
73736216755947   JOSE          TENIZA                      CA     90014092167
73736442133698   GRAEME        PRUE                        NC     90006334421
73736536855982   CELESTE       MONTEJANO                   CA     90014325368
73737627971921   SAVANNAH      JOHNSON                     CO     32047796279
73737838831433   DENISE        VEHAUS                      MO     90014438388
73738192655947   DANIEL        BELTRAN                     CA     49010051926
73738555593739   DANIELLE      GRINSTEAD                   OH     64597635555
73738686672441   DONALD        SESSIE III                  PA     51091266866
73739217533698   RANDALL       DARROW                      NC     90012802175
73739279455966   YESENIA       ARREGANDO                   CA     90007042794
73739399755939   HAYDEE        ALMAGUER                    CA     90012713997
73741165331433   THOMAS        DONELSON                    MO     27511461653
73741492955939   JOSE          MACA                        CA     90007994929
73742827684322   JULIE         BULGER                      SC     90011998276
73744158455947   ISIDRO LEAL   ORTEGA                      CA     90008071584
73746367672421   JENNIFER R    MAFFIT                      PA     51007113676
73746424693739   JOHN          BREWER                      OH     90015204246
73746598671947   CHARLES       IHEKWOABA                   CO     32016935986
73746751155966   SUHEY         SANCHEZ                     CA     90014567511
73747837171947   SANJUANA      GONZALEZ                    CO     90010648371
73748556772479   MARY E        SHIPERS                     PA     90002485567
73748714357157   JONATHAN      ZUNIGA                      VA     81004747143
73749131655966   VINCENT       MARTINEZ                    CA     90012891316
73749332272479   MANDY         RUSSO                       PA     90001893322
73751123571947   LUCY          MARTINEZ                    CO     90013151235
73752796133699   EDSON         GARCIA                      NC     90009707961
73754495284322   EBONY         FRIPP                       SC     90014274952
73754713755947   STEVEN        GAYTAN                      CA     90001457137
73754767533699   KINA          ARBER                       NC     90005787675
73755934271947   JORGE         SAMANIEGO                   CO     90010269342
73756175341253   HARI          RIJAL                       PA     90010351753
73757126272479   ERICA         ROWE                        PA     90005001262
73757348784322   MAXHAYANE     INSANTE                     SC     90002903487
73757468371947   NICHOLAS      STECK                       CO     90014854683
73759416772441   RYAN          WOLZ                        PA     90013924167
73759976971921   YADIRA        RICO                        CO     32061779769
73761345933698   MISA          CROSSON                     NC     90014023459
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73764747555947   FERESA         FERNANDEZ                  CA     90010157475
73765619185945   NIELEN         MARGALLO                   KY     67013616191
73765683261984   VICENTE        CASTANEDA                  CA     90009596832
73765986672441   GREG           MILLER                     PA     90010089866
73766552455947   JUANA ISABEL   GOMEZ                      CA     90011235524
73767658871947   MONICA         GARCIA                     CO     90014886588
73769242761971   YVONNE         MORENO                     CA     46092262427
73769737972479   GREG           ADAMS                      PA     90011127379
73771596533699   KEANA          CAPERS                     NC     90011505965
73772527384322   CESAR          GASPAR                     SC     90014275273
73773475855939   TERESA         MANZO                      CA     90000844758
73774525372421   MICHELLE       MILLER                     PA     51014845253
73774541155947   ARA            KELLY                      CA     90009955411
73774918555966   DAVID          MADURO                     CA     90014579185
73775634471921   DEBRA          WOODRUFF                   CO     32060306344
73776111361978   GEORGE         BELTRAN                    CA     90000681113
73776262931468   JOSHUA         LAUER                      MO     90003842629
73776531771947   VICTORIA       HUNTER                     CO     32016975317
73777192133698   KEYANDA        ARMSTRONG                  NC     90014161921
73777195872421   CONSTANCE      STEVENSON                  PA     90012501958
73777415355947   ROBERT         RAMOS                      CA     49040574153
73777549671921   KIRK           FERGUSON                   CO     90014345496
73778395171947   DANIEL         LOBATO                     CO     32005233951
73778582872479   DESTINY        JOHNSTON                   PA     90009505828
73779248161972   SANDRA         FERNANDEZ                  CA     90008072481
73779881531432   TIFANI         HOLIDAY                    MO     90014488815
73781127941237   HEIDI          LEYTRICK                   PA     90010641279
73781447631433   JAMELA         LOVE                       MO     90010384476
73782729572479   STACEY         CAIN                       PA     90008177295
73783892641253   LINDSAY        HALL                       PA     90006168926
73784944841227   KARLETHA       BELL                       PA     51034019448
73785197333698   MELISA         HAMM                       NC     90014161973
73785795955939   CARLOS         CISNEROS                   CA     90014987959
73786198231432   DAMORIA        IZEMAN                     MO     90014471982
73786639744346   RICKY          FOREMAN                    MD     90012846397
73787213393739   MARIE          JENKINS                    OH     90013892133
73788452157128   LOUIS          GAVOR                      VA     81036284521
73788687331432   PATRICIA       DAVIS                      MO     90013786873
73789874572421   MARK           SCHAFER                    PA     51049148745
73792694141253   TRACIE         WRIGHT                     PA     51097196941
73794346355947   YOLANDA        AVINA                      CA     90001563463
73794797655939   JOSHUA         HUERTA                     CA     90012917976
73794968341237   DENISE         BUDZINSKI                  PA     90007119683
73795193155939   DOMINGO        COSTILLA                   CA     90009321931
73795834671921   CHELSIE        GILLHAM                    CO     90002188346
73796488491548   JOSE           ZEPEDA                     TX     75045484884
73796969155966   BENJAMIN       ALCALA                     CA     90014579691
73796979671921   JAMES          PUGH                       CO     90013999796
73797769833699   EVIE           MCAFEE                     NC     90012637698
73798571871921   FRANCISO       CHAVEZ                     CO     90014345718
73798822493739   KELSIE         BRYANT                     OH     90014538224
73799539672421   JOHN           DONALDSON                  PA     90010645396
73811542871921   MICHELLE       NEMEC                      CO     90005235428
73811856771947   MILDRED        CRUZ                       CO     32032968567
73812975131433   DIANE          HARDEN                     MO     27515789751
73813232472479   LETTIE         AXTON                      PA     90009582324
73813719731432   FATIMA         FLEMINA                    MO     90014437197
73814159241253   MARIA          ESTRADA                    PA     90011611592
73814662255966   TRUMAN         MCMURTREY                  CA     90012816622
73814747541227   SHERY          THOMAS                     PA     90002487475
73814926961986   MARISOL        BUENO                      CA     90012859269
73815318833699   ANDREA         HERNANDEZ                  NC     90013983188
73815874155939   GABRIEL        VASQUEZ                    CA     48060178741
73815922984322   SCHERRIE       BRYAN                      SC     90014639229
73816998184322   MARTIN         CRUZ                       SC     90008759981
73817533472479   BENJAMIN       LIGHTOWLER                 PA     51080635334
73818964872479   SHERMAN        ALDERICH                   PA     90013949648
73822298671921   RANDY          PRUIETT                    CO     90011122986
73823145755939   MARGARITA      ORTIZ                      CA     48041751457
73823376941237   JO SIA         DAVIS                      PA     51039513769
73823485193739   TIFFANY        WARD                       OH     64551054851
73823929271947   PATRICK        TAYLOR                     CO     90014759292
73824318142382   SHANNON        PUTMAN                     GA     90009263181
73824656161964   DONNA          HERNANDEZ                  CA     90010116561
73824679131433   STEPHANIE      GIPSON                     MO     90011416791
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73826634372421   LYNDSEY        BEATTY                     PA     90000616343
73828933231432   AMANDA         LANTRIP                    MO     90012299332
73829499733698   LAQUITA        RAGIN                      NC     90005004997
73829961655966   LOUIE          RAZO                       CA     90014589616
73831447671921   BARBARA        PALMER                     CO     90012994476
73831691941227   DOMINIQUE      MILLSAPP                   PA     90002506919
73832239772479   LAKISHA        DIGGS                      PA     90009592397
73833568731433   KIRK           BLAKES                     MO     90013465687
73834631851347   BRENTON        ZUCH                       OH     90008606318
73835537171947   TYNA           DAVIS                      CO     90010035371
73836194891979   ERICA BAINES   BAINES                     NC     90013011948
73836589733698   KRISTY         MCGEE                      NC     12094065897
73837828171921   MICHELE        BAILEY                     CO     32091558281
73838319871947   JEANET         RICHARDSON                 CO     90014753198
73839614831432   BRYAN          MCCLELLAND                 MO     90011206148
73842682955966   JESUS          PACHECO                    CA     90005736829
73843471371921   RICARDO        CORTEZ                     CO     90011864713
73843733272479   SARAFINA       PACE                       PA     90006767332
73843742831433   DREW           TAYLOR                     MO     90011037428
73844747155939   LEO            TREVINO                    CA     48025337471
73845252231433   MICHAEL        LANG                       MO     90010302522
73845613571947   ISELA          ADKINS                     CO     90010186135
73846455472441   AMANDA         SARAKOWSKI                 PA     51094814554
73846539831449   BRYAN          GRZINA                     MO     90011175398
73848193833698   LAMARR         SHEILDS                    NC     90010981938
73849633671947   HANNAH         HALE                       CO     90014406336
73856274631432   KEARRA         WESTBROOK                  MO     90014622746
73857573833698   HUYEN          TRAN                       NC     12025785738
73858311384322   JOSE           HUERTA                     SC     90014603113
73859911241237   MONICA         LOWE                       PA     90015189112
73861256371921   SILVIA         PALOMERA                   CO     32032732563
73862848772479   JASON          CHACKO                     PA     90009928487
73863358231468   TAMELA         HUDSON                     MO     90001723582
73865377341227   STACEY         LEE                        PA     51005603773
73865486471947   CYNTHIA        MONEYMAKER                 CO     32016124864
73866643631433   CARON          BURRESS                    MO     27557556436
73866719941237   SUSAN          SALMEN                     PA     51011807199
73867436233698   KATAUI         LOWE                       NC     12005034362
73867553531433   LYNN           WERNER                     MO     90014805535
73867988171947   VANESSA        CHOWING                    CO     90013769881
73868799843523   EDWARD         BOGUE                      UT     90012097998
73869562471921   SAMANTHA       TIRADO                     CO     90012985624
73869862872441   JODI           MCCUTCHEON                 PA     51044688628
73869928155939   ANTHONY        OCANAS                     CA     48038429281
73869973541227   MADIA          HALL                       PA     51020589735
73871333872441   BILL           ODELL                      PA     90013983338
73871793491993   FRANCISCO      ANDRADE                    NC     90010787934
73872212771947   JUAN           CARLOS SOLIS               CO     32052952127
73872882241253   WAYNE          CARNEY                     PA     51031988822
73872989955939   CESAR          CAZAREZ                    CA     48004079899
73873499693747   MELODY         AMOS                       OH     90013314996
73873814684322   LORI           PEDDIE                     SC     90012308146
73874387971921   QUINN          SALES                      CO     90013053879
73874558841227   ANDREW         SIKORA                     PA     51090535588
73875184691586   CHRIS          SHINDO                     TX     75088301846
73876216971947   MARC           HUNTSMAN                   CO     90007992169
73876413451326   KREAN          GROSS                      OH     90006334134
73877114641237   SEQUOYA        HALL                       PA     51008221146
73877578484322   LAKISHIA       SMITH                      SC     90014895784
73878199731433   TIJUANA        BARNETT                    MO     90005541997
73878515141253   JOAN           HALL                       PA     51065585151
73879123533698   CHRISTOL       DRAUGHN                    NC     12001761235
73879153372441   PETER          DALE                       PA     51097011533
73879727255939   LILIANA        CORONA                     CA     90014057272
73882463961999   JORGE          GONZALEZ                   CA     90003384639
73883735872421   CARLA          POWELL                     PA     51091707358
73886768731433   TINA           BOLTON                     MO     90015107687
73887815355966   JENNIFER       ZACARIAS                   CA     90012818153
73891446533699   TENISHA        FULLER                     NC     90012434465
73891817233698   BRIAN          THOMPSON                   NC     90014448172
73892215771947   ALYCIA         BROOKS                     CO     90002252157
73892462131433   DEBORAH        KLASEK                     MO     90005614621
73892757855947   BRET           TAYLOR                     CA     49011567578
73893424333699   AGUSTINA       SANTOS                     NC     12027184243
73895917141253   TAMIKA         TERRY                      PA     51093399171
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73896215541237   ERICK        WASHINGTON                   PA     51072602155
73896526172421   SANDRA       HYNES                        PA     90002245261
73896571971947   STACIE       ROGERS                       CO     90013655719
73896689455947   JOSE         M                            CA     90005616894
73897117431432   MONICA       WILLIAMS                     MO     90008921174
73897369855947   DONALD       HATTER                       CA     49075583698
73898222831432   TEON         BROWN                        MO     90014002228
73898268957133   WILLIAM      SIERRA                       VA     90014682689
73898437593739   ROBERT       HENN                         OH     90005224375
73912145384322   DONNA        MARSHALL                     SC     90014761453
73912572471921   LAURA        RODRIGUEZ                    CO     32083575724
73913458571947   ANITA        ALENZUELA                    CO     90001544585
73913668255966   GASPAR       AGUILAR                      CA     90011816682
73914222284322   JALEN        TURNER                       SC     90014772222
73914797155966   DAISY        RUIZ                         CA     90014617971
73915748771947   JAMIE        COOK                         CO     90009557487
73918447833698   JULIE        JORDAN                       NC     90008314478
73919174555966   CARLOS       VALENTINE                    CA     90013171745
73919198231432   DAMORIA      IZEMAN                       MO     90014471982
73919567133698   LEIGH ANNE   SMITH                        NC     12043895671
73919876755939   REYNA        HERNANDEZ                    CA     90005738767
73921333684322   LASHONDA     SINGLETON                    SC     90014773336
73921536372479   CECIL        TARTT                        PA     51047635363
73921794141227   GILBERT      SMITH                        PA     90003797941
73922474733631   LAVERNE      DAVIS                        NC     90001524747
73923399977524   MARIA        SALAS-JIMENEZ                NV     90008693999
73924281361982   LILIA        ODGERS                       CA     90014082813
73926836555966   SERGIO       ESQUITIN                     CA     48020468365
73927971472441   ADRANA       GORDON                       PA     90014159714
73927972172421   DAVID        TARR                         PA     90013929721
73928368241253   ROBIN        ANGELO                       PA     90014133682
73929471371921   TYLER        FREDERICK                    CO     90012384713
73929518154149   TREENA       SANDERS                      OR     47074145181
73932279831433   TEE          ALLEN                        MO     90009182798
73933571341237   MELVIN       PAYNE                        PA     90011505713
73933586641253   RICHARD      HIROSHI                      PA     90015055866
73934137155966   MICHEAL      MARTINEZ                     CA     90000681371
73934386571921   EFRAIN       GONZALEZ                     CO     90002953865
73935587741253   LAVIDA       WARDEN                       PA     51021885877
73936288284322   TRACY        SCOTT                        SC     90014782882
73937288284322   TRACY        SCOTT                        SC     90014782882
73939332672421   AMY          NECHEFF                      PA     51081283326
73941493871921   NUVIA        MARQUEZ                      CO     90014084938
73941787585945   JUDY         TAYLOR                       KY     90008707875
73942257285945   JEAN PAUL    MUJAWAYEZU                   KY     67017372572
73945487272479   MARCUS       POPELAS                      PA     90014084872
73947358141237   LORIE        MEBANE                       PA     51068763581
73947554661964   SHERI        SANCHEZ                      CA     90011035546
73949668971947   ILONKA       CASTANEDA                    CO     32057356689
73949774171921   JEFF         MCCLEARY                     CO     90004897741
73949937441227   ANGELA       COOK                         PA     51088259374
73951297191827   JANICE       CHILDRES                     OK     90005662971
73951394655947   JESSICA      RAMIREZ                      CA     90009413946
73953893291982   YANSHA       LEAK                         NC     90001828932
73954286851391   JENELL       BLEVINS                      OH     66006902868
73954654771947   ROSA         SERRANO                      CO     90003696547
73955149631433   MICHEAL      DRIVER                       MO     90012501496
73955296771921   TEYONDRE     WILLAMS                      CO     90010702967
73955588991566   DAVID        MADRID                       TX     90007755889
73955764472479   GREGORY      WOODDELL                     PA     90015177644
73957227633699   JACKSON      MAUREEN                      NC     12086472276
73958216855939   MARIA        VEGA                         CA     48053272168
73958527784322   JESUS        SILVA                        SC     90014885277
73959385131443   KATHLEEN     MARTIN                       MO     27587133851
73959577372479   TINA         WILSON                       PA     51070305773
73959625884322   JADI         RHODES                       SC     90014886258
73959654541237   SHELLAY      WASHINGTEN                   PA     90007556545
73961328971947   RONALD       MARACLE                      CO     90013703289
73961388484322   FRAY         QUESADA                      SC     14504653884
73963642555947   ENID         MCHORSE                      CA     49072386425
73963875271921   DAMIAN       PARKS                        CO     90013178752
73965226871921   JAMES        KELLEY                       CO     32035192268
73965454293739   DAWN         MANEY                        OH     90014464542
73966448484322   VIVIAN       NICOLE                       SC     90014934484
73969258384322   SERGIO       GARCIA                       SC     90014942583
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73969346771947   SARA         PATE                         CO     90014563467
73969377941237   NANCY        GRANT                        PA     90011433779
73969837493767   TAFFY        MOSS                         OH     64512708374
73971528271947   RONNEY       SATCHELL                     CO     90012915282
73972119271947   FABIAN       BACA RAMOS                   CO     32069211192
73972599855939   OSBALDO      QUIROZ                       CA     90015495998
73973211571921   BRANDON      SPROUSE                      CO     90013572115
73973254331432   BRITANY      HILL                         MO     90014332543
73974557772441   NICOLE       LUTON                        PA     90014635577
73974772841253   CHARLES      FINNIGEN                     PA     51001377728
73974859285945   SHANELL      PERKINS                      KY     67017388592
73974962531443   BRANDON      JACKSON                      MO     27506249625
73975445233699   VICTOR       OLIVA                        NC     90011614452
73976394755939   ESBEIDY      DELGADO                      CA     90009493947
73976458372441   STEPHANIE    HALEY                        PA     51013044583
73976648431443   BRANDACE     COLEMAN                      MO     90007986484
73976879484336   JUAN         GARCIA                       SC     90013528794
73977195655947   PEREYRA      AZUL                         CA     90009821956
73977336572421   ANDREA       DANIELS                      PA     51066473365
73978264333698   DARRYL       HOOPER                       NC     90013412643
73979433371921   MARIA        BARRERA                      CO     32014394333
73979793541253   BRYAN        PROPHY                       PA     90008987935
73981232355947   ELAINA       GOMEZ                        CA     90013882323
73981711684322   DANIELLA     ALVAREZ                      SC     90014987116
73982346971947   STEPHANIE    DAVIS                        CO     90014813469
73982391255939   PATRICIA     RIOS                         CA     48019273912
73982998181255   RODIGO       FRANCO                       ID     68001159981
73983499672441   BRANDI       MOORE                        PA     90010024996
73984484133698   NICOLE       MACK                         NC     90014174841
73985257941227   DAVID        PAXON                        PA     51061922579
73985562471921   SAMANTHA     TIRADO                       CO     90012985624
73986549884322   DUNIA        MARTINEZ                     SC     90013495498
73986864131433   MARCO        SIMMONS                      MO     90015138641
73988621972479   EDWARD       KIBE                         PA     51071656219
73991195455939   VANESA       MEZA                         CA     90012771954
73991481793739   NINA         WASHINGTON                   OH     64547694817
73993466172441   ANGIE        ANZUR                        PA     51071644661
73993593991827   ANGELLA      GURARD                       OK     90009285939
73993914372421   JESSICA      STEELE                       PA     90004909143
73994129855939   ANGEL        ROMO                         CA     90015371298
73994187184322   AJI          ADEYEMI                      SC     90015011871
73994381371921   ERIKA        ONTIVEROS                    CO     32087313813
73996456671921   LANE         TURREL                       CO     90011904566
73996521391827   ELENA        PEREZ-BERRY                  OK     21005005213
73996623872441   DONALD       GORDON                       PA     90015026238
73997952661597   CARMEN       CARRANZA                     TN     90015479526
73998126231432   JELIZA       JOHNSON                      MO     90014831262
73998143355966   MARIBEL      TRINIADAD                    CA     90003321433
73998292133698   FERNANDO     MARTINEZ                     NC     12063512921
73998386531443   HEATHER      SMITH                        MO     90003933865
73998515231433   ROBIN        WILLIAMS                     MO     90012255152
73998546855991   JOHN         WALLIS                       CA     49014835468
73999613571921   LUZMARIA     CASTANEDA                    CO     32025006135
74111412241227   NEDZAD       PEZEROVIC                    PA     90013654122
74111814731433   SHALLON      SNEED                        MO     90008178147
74112657591354   SHARRON      ANDERSON                     KS     90015246575
74114196393726   DEREK        MEFFORD                      OH     90013231963
74114955655939   RONDA        ARNOLD                       CA     90003599556
74115892872479   WILLIAM      BAISDEN                      PA     90011188928
74116471972479   TERRY        BOBIN                        PA     51071794719
74116726391566   BRENDA       GUERRERO                     TX     90001707263
74116963151391   CATHERINE    BYERS                        OH     66094819631
74116977671921   SHERRY       HENDERSON                    CO     90015099776
74117762441227   SHAWNTAYA    COASTON                      PA     51067277624
74118147941227   AMY          BALESTRA                     PA     51064651479
74119133572479   AMANDA       WOLFE                        PA     90011571335
74119215331443   CATHAREAN    BALL                         MO     90002202153
74121554461927   JUAN         VARGAS                       CA     90005505544
74122729893739   YVETTE       MORGAN                       OH     64539927298
74123963633699   MICHELLE     PARKS                        NC     12069999636
74124829593739   NICOLE       ADKINS                       OH     90008448295
74127473393726   ANGELA       ADKINS                       OH     90015114733
74127512193739   JAIME        CARSON                       OH     90010995121
74127544741237   TOYA         PRYOR                        PA     51094635447
74128435631432   NEVA         GARRISON                     MO     27565294356
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74129643941253   MICHAEL       SHAWVER                     PA     90011526439
74131543455939   ALEJANDRO     GONZALEZ                    CA     48099215434
74132451355939   ADAM          SERNA                       CA     48020794513
74132685531433   KAYLENA       BLANKS                      MO     90010296855
74134946741253   CARLA         ROBERTS                     PA     90014289467
74135187172441   JAMYRA        HARRELL                     PA     90006441871
74137127231443   LAVON         TAYLOR                      MO     90013051272
74137846431433   TALANYE       KARTER                      MO     90012638464
74138749131443   HENRY         GUILBEAUX                   MO     90001397491
74141737155939   NICOLAS       ZAPOTECO                    CA     90010407371
74143147272421   JAMES         MORENCY                     PA     51007191472
74143235272479   JUSTINA       MINNIE                      PA     90014152352
74143966572479   LISA          MEEHAN                      PA     90012739665
74147435733698   RAHEINE       REID                        NC     90003664357
74151969371948   JUAN          ADAME                       CO     32072689693
74152179341253   ANDREA        ZACK                        PA     90011571793
74154644155939   MARIA         VELASCO                     CA     48064306441
74154773471921   AIMEE         GONZALES                    CO     32046777734
74154824972421   PAMELA        BROOKS                      PA     51034388249
74155776571921   BRIAN         LINN                        CO     90012937765
74158215741227   JENNIFER      SPROWLS                     PA     90012442157
74159523731433   SHERYL        FOSTER                      MO     90012605237
74161222261984   ARELI         LOPEZ MOLLEDA               CA     46047272222
74162121585945   CHABLIS       MURRAY                      KY     67004561215
74162483631433   RICHARD       SHIELDS                     MO     27576814836
74164391891522   ALEXANDRA     MUNOZ                       TX     90008783918
74165655931433   DAWN          WISE                        MO     27550436559
74165874461984   CRENSHELLA    CROFT                       CA     90010488744
74166514993726   JASON         SCHROEDER                   OH     90010975149
74168278557147   WAYNE         MCKENZIE                    VA     90004522785
74168714471921   JERMEY        WILLAIMS                    CO     90013577144
74169113941227   MICHAEL       ANDREWS                     PA     90005141139
74169672831443   LYDIA         RODENBERG                   MO     90014676728
74171843372421   JAMIE         NANGLE                      PA     90013878433
74174142773233   DAN           FLAGG                       NJ     90015121427
74175169831433   SHAWNA        FRANKLIN                    MO     90007891698
74175594833699   CATINA        HEATH                       NC     12059775948
74176542133698   ANITA         DEHART                      NC     90012395421
74176544272479   BRANDON       HENDERSON                   PA     90010285442
74176993472441   SHEKELA       FORD                        PA     90003619934
74177423555939   MIRTHALA      MARTINEZ                    CA     90009744235
74178966572479   LISA          MEEHAN                      PA     90012739665
74179128693726   KAREN         MILLER                      OH     90014351286
74179298691549   EDUARDO       FRANCO                      TX     75051462986
74181938172479   IRIZARRY      MEGAN                       PA     51056579381
74181988285945   MARIA         DUARTE                      KY     67095179882
74183372455939   JESSIE        VALENCIA                    CA     48030173724
74183457431443   TIESHA        ALFORD                      MO     90012964574
74184458833698   TRACEY B      JONES                       NC     12008114588
74184626841237   DESIREE       BAILEY                      PA     90012256268
74185966371921   JAMES         HAMER                       CO     90001569663
74186219631443   ASCALE        NEBIAT                      MO     90013662196
74186275371948   CRISTINA      RENDON                      CO     90010072753
74186372241237   LAQUALA       MIDDLEBROOK                 PA     90014313722
74186439972479   TIFFANY       RIMSEK                      PA     90013374399
74187421972421   DAVID         KNOPP                       PA     90003934219
74187735371921   CHRISTOPHER   KENDALL                     CO     90012457353
74188199493726   NEWPORT       RONDA                       OH     64597471994
74188854841237   LOENIDAS      LOPEZ                       PA     90014448548
74188937393739   MARVA         CLEMONS                     OH     90001109373
74191495893739   WALTER        BRAWLEY                     OH     90014564958
74192574841227   RACHEAL       SCHON                       PA     90004025748
74192995572441   JOHN          LEASHA                      PA     51083299955
74194111531433   JASON         HALL                        MO     90004271115
74194137541253   GARY          ISHENBAUGH                  PA     51006711375
74194746971948   LOU           SANCHEZ                     CO     32087717469
74194766191852   MICHAEL       NACKE                       OK     21081077661
74194989185945   SHAUNETTE     WILLINGER                   KY     90001859891
74195472941253   BARBARA       GARNER                      PA     51054714729
74195559131432   VIVIAN        HOLTS                       MO     27513335591
74196289131432   LYNDA         ALEXANDER                   MO     27595752891
74197257872479   CHARLENE      POVRZENICH                  PA     51005612578
74197569941227   EDWARD        HICKS                       PA     90007585699
74198365444344   DOLORES       BROWN                       MD     82008553654
74198617481643   BRANDON       HARRIS                      MO     90008416174
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74198976431433   VINCENT          MILLS                    MO     90011339764
74199762441227   SHAWNTAYA        COASTON                  PA     51067277624
74213155355939   ANTHONY          ALVARADO                 CA     90010671553
74213312555939   ARECELI          SAUCEDA                  CA     90014603125
74213914933624   UNAJI            MORGAN                   NC     90011569149
74215749431432   MARGARET         FURLOW                   MO     90015117494
74215796293739   PAYGO            IVR ACTIVATION           OH     90010067962
74216219933698   ZANDRA           MASSEY                   NC     90005482199
74216299585833   PAUL             CURRIE                   CA     90000562995
74218126933698   BRENDA           HANSEN                   NC     90008601269
74218175372421   NICOLE           MOORHEAD                 PA     90011111753
74219129333698   JORDAN           JAMES                    NC     90010741293
74223398372421   JEFFREY          FRASER                   PA     90010283983
74224551191566   ANDRES LAGUNAS   ERIKA MACIAS             TX     90011115511
74225518172421   TED              HONICK                   PA     90012705181
74226734993739   CASSANDRA        EVANS                    OH     90013987349
74226924971921   CHUONG           TRUONG                   CO     32098429249
74229897671921   JEOUNG           OH                       CO     90004978976
74231495893739   WALTER           BRAWLEY                  OH     90014564958
74231656272479   JIM              MILLER                   PA     90013626562
74231753441237   ROSALIND         ROBERSON                 PA     90014397534
74232395985945   MAURO            MORENO                   KY     90002323959
74233333672479   ROY              FRYE                     PA     90000793336
74234966172421   CINDY            CONWAY                   PA     51038419661
74235311157147   LUISA            BONILLA                  VA     81011993111
74237315655939   ROSA             ESTRADA                  CA     48098183156
74237557433643   ALICE            WISE                     NC     90011705574
74237787831433   TIFFHANY         OWENS                    MO     90009347878
74238435931443   RAPHAEL          CARTER                   MO     90009804359
74238684741237   DAVID            LUPINE                   PA     90004716847
74241611141227   MICHAEL          WICOBRODA                PA     51017976111
74241999455939   DAVID            LOPEZ                    CA     48020129994
74242662331433   CRYSTAL          SPENCE                   MO     90013566623
74244876233698   ELIZA            MARTIN                   NC     90014608762
74245282631433   REVA             NELSON                   MO     90014662826
74245673933698   TONYA            GOINS                    NC     90003556739
74246521133698   AMANDA           BLAKE                    NC     90000495211
74246569741253   NICOLLE          TIMBERS                  PA     90007645697
74247273455934   ISMAEL           QUINONEZ                 CA     90001012734
74247823193739   AUNDREA          MARTIN                   OH     90006128231
74248524193726   DANA             SMITH                    OH     90011255241
74248896131433   SAMATHA          DECKER                   MO     90007998961
74252168741237   NICK             JONNET                   PA     90010151687
74253325641237   JAMIE            CRYTZER                  PA     90010193256
74253642172479   JASON            MINNIE                   PA     51095986421
74254363641253   SULEMAN          CHAPMAN                  PA     51055803636
74254831331443   JAMES            MCMULLIN                 MO     90012168313
74254939171921   INNES            HINES                    CO     32028379391
74256957155939   JAIME            ROQUE                    CA     90013029571
74257437531432   QUINTEZ          TAYLOR                   MO     90014664375
74257738831433   LEON             MINNER                   MO     90007987388
74258357651586   VICTOR           ROBLEDO                  IA     90014193576
74259133441253   SYLVESTER        TAYLOR                   PA     90012441334
74261213672479   TRAVIS           COTTRELL                 PA     90012842136
74262586831443   OCTAVIA          BARR                     MO     27506045868
74262747581643   ANDREW           FALCO                    MO     90007387475
74262878271921   ZACHARIAH        HANGARTNER               CO     90013168782
74262894593739   BRANDI           WHITE                    OH     90010208945
74263327755939   MIGUEL           SANCHEZ SEGUNDO          CA     90013733277
74265855991962   MAIGUA           LOPE                     NC     90015158559
74269544793726   SEAN             KNIGHT                   OH     90014135447
74269892131433   CELESTINE        CARROLL                  MO     90014368921
74271432193739   CHRISTOPHER      WALDEN                   OH     90011004321
74273258841253   MARTA            HERNANDEZ CORTEZ         PA     51083772588
74273269572441   ERIC             DICKSON                  PA     90005012695
74273422531432   MARIA            UTRERA                   MO     27512414225
74274519931443   BELINDA          ANDERSON                 MO     90014695199
74274722193739   JOSE             RAMIREZ                  OH     90012537221
74275163872421   TODD             HOOK                     PA     51079901638
74275929593726   AMBER            SMITH                    OH     90010759295
74276381191323   LUIS             RIOS                     KS     90010643811
74276544785953   MIGUEL           GOMEZ                    KY     90014145447
74277231772479   KRYSTAL          PANDULLO                 PA     90013062317
74281522293726   OMAR             HILL                     OH     90007915222
74282859193726   RICHARD          STEINWAY                 OH     64500958591
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74283249433698   SHAMAINE     BRIGHT                       NC     12086522494
74286693841262   JENNIFER     MILES                        PA     90011366938
74287639171921   ALICIA       MONTOYA                      CO     90007726391
74289218741253   DANIELLE     MEYERS                       PA     51094702187
74289878271921   ZACHARIAH    HANGARTNER                   CO     90013168782
74292218333699   BOBBY        LOVE                         NC     12008602183
74292378841252   LAURA        GAETANO                      PA     51067003788
74293695431432   JASMINE      COLEMAN                      MO     90002866954
74293833791563   LUIS         ROMERO                       TX     90009308337
74294143231432   TANISHA      BROWN                        MO     90008871432
74294842241253   LORETTA      RETSCH                       PA     90013928422
74295897393739   CIARA        TURNER                       OH     64506018973
74296649541253   OMAR         FORBES                       PA     90014416495
74312334833698   WILLIAM      JESSUP                       NC     12026013348
74313661671921   ISRAEL       LOPEZ                        CO     32096626616
74313727372479   DEBBIE       HAKOS                        PA     90013527273
74313946141253   JOHN         SMITH                        PA     90013579461
74314119533699   LASECA       PANKEY                       NC     90002291195
74315328993726   COREY        JOHNSON                      OH     90014583289
74315775141253   JOCELYN      HUGHES                       PA     90007557751
74316534733698   JOHN         ALLEN                        NC     90013865347
74317179331432   PEDRO        DENNIS                       MO     90012761793
74317644881643   SARAH        WEAVER                       MO     29051836448
74318863331443   ORLANDO      MACK                         MO     90014768633
74319491681643   WILLIAM      WILSON                       MO     90001384916
74319722357147   ELSY         CEDILLAS                     VA     90004417223
74322198555939   CRYSTAL      CASTRO                       CA     90010451985
74323465872479   LARRY        ROSE                         PA     90013914658
74323595571921   MICHELLE     MEAD                         CO     90014135955
74325331361985   TIMOTHY      DVORAK                       CA     90014113313
74325771771921   RAFAEL       CHAGOYA                      CO     90014427717
74325842931432   LATONYA      FARMER                       MO     90005608429
74326262331433   PATTIE       WEBB                         MO     27538402623
74327788944346   GREGORIO     SIERRAS                      NC     90001767889
74327935733698   EMILY        SMITH                        NC     90010309357
74328563993726   ALICIA       WASHABAUGH                   OH     64588125639
74329197351391   ANDREAH      HILL                         OH     90011811973
74331387793739   JUANA        ESPINO                       OH     64574803877
74331864172479   BOBBI        BIRD                         PA     90013608641
74332735193739   MARXUS       SMITH                        OH     90010997351
74332842793726   STELLA       ROWLAND                      OH     64509348427
74333866631433   LISA         AUBUCHON                     MO     90009368666
74336816685945   SAMANTHA     BROWN                        KY     90011288166
74339697241253   DEANNE       WILLIS                       PA     51011656972
74341982593739   CHARLES      JONES                        OH     90013539825
74342888133699   LISA         HICKMAN                      NC     90014548881
74343461493726   ANN          PHILLIPS                     OH     90013874614
74344682872479   JAMEY        SUMMERS                      PA     90011036828
74344861931661   JAY          MCLAURIAN                    KS     22040088619
74345287272474   MICHAEL      KOZAR                        PA     90002642872
74345318331443   CARMEN       STOCK                        MO     90014893183
74346388172421   JASON        PHILLABAUM                   PA     90011353881
74346725241237   MARY         LOWREY                       PA     51093147252
74347354272421   SANDY        BLACK                        PA     90004533542
74347479572479   VALERIE      JOHNSON                      PA     90009284795
74349697331433   HERMAN       GORDAN                       MO     90014046973
74351548891521   PERLA        CORRALEJO                    TX     90001285488
74353447771921   CHRISTINA    MCNABB                       CO     90014694477
74354143471948   NIDYAWATI    SUSANTO                      CO     90001801434
74358546557147   WILMER       HENRIQUEZ                    VA     90007115465
74364663485945   DAVID        ROSS                         KY     90011786634
74364854441237   SHAWN        REESE                        PA     90009808544
74364865171921   LAHELA       TEIXEIRA                     CO     90012988651
74365425672421   JASON        SHERMAN                      PA     90011184256
74365868181643   STACY        HOLLOWAY                     MO     90005778681
74365951755939   JAIRO        AMBRIZ                       CA     48008869517
74366618531443   PATRICIA     IVES                         MO     90013326185
74366899931433   SOPHIA       JONES                        MO     27546028999
74367779593726   DUSTIN       FUGATE                       OH     64515397795
74369145971921   CHAVEZ       AMBER                        CO     32048901459
74369961193726   ELICIA       TUDOR                        OH     90008509611
74373228341237   KATHLEEN     SULLIVAN                     PA     90004372283
74374179272441   KEITH        COPE                         PA     51056781792
74375642831433   CARRIE       JULIN                        MO     90011836428
74375942372421   JACOB        SHOEMAKER                    PA     90013349423
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74376443531432   SHERI          CARTHAN                    MO     90013694435
74382336233698   BEVERLY        NEAL                       NC     12048573362
74382524841253   JERRY          CARDONA                    PA     90012175248
74382937372479   CARLOS         DAVIS                      PA     90013139373
74386297755939   ALFREDO        SANCHEZ BASURTO            CA     90014582977
74386357341227   MALINDA        MCKEE                      PA     90006743573
74386524641253   YVETTE         OLANDO                     PA     90010205246
74386929433698   LATOIA         THOMAS                     NC     90010999294
74388162141237   RYAN           STRANKO                    PA     90014121621
74389833557147   JOSE AGUSTIN   SORTO                      VA     90003368335
74391869341237   RAYMOND        MCCORKLE                   PA     90010748693
74391891593726   MICHAEL        MOOREFIELD                 OH     64574108915
74391958572479   REYNOL         MANRIQUE-MANRIGUE          PA     51006089585
74392617771921   THOMAS         ALLEN                      CO     90006286177
74393454593767   NIQUEESHIA     HORTON                     OH     90005104545
74393785444344   LARRY          REED                       MD     90013627854
74396855941237   DANIEL         SULLIVAN                   PA     90010748559
74397329231432   AARON          FRANCIS                    MO     90015173292
74398184131432   MARK           CHARBONEAU                 MO     90014371841
74398543531432   KENNETH        CONNELLY                   MO     90010735435
74399392133698   SHAYLA         WALKER                     NC     12022673921
74399686172479   ANDREW         MCPARTLAND                 PA     51044426861
74411477193739   EBONY          DARDEN                     OH     64537574771
74411518471921   DARWIN         RODRIGUEZ                  CO     90009705184
74412462933698   LESLEY         RILEY                      NC     90010824629
74413515833698   SHERMENA       INGRAM                     NC     90013045158
74413911657132   NERY           AMAYA                      VA     90007719116
74415333672479   ROY            FRYE                       PA     90000793336
74416437638522   ELI            ALAMOS                     UT     90010434376
74417888541253   AARON          GIBSON                     PA     90011198885
74418114591563   MOISES         APODACA                    NM     90015081145
74418725855939   RAMIRO         SALADAR                    CA     90015507258
74419858493726   BRIAN          KEDANIS                    OH     90006978584
74421277871921   ROBERT         WALKER                     CO     90001952778
74423114993739   LISA           JONES                      OH     90014601149
74423314633624   LIKAH          MCNEAIR                    NC     90011673146
74424752831432   WILLIAM        FANT                       MO     90014417528
74424874433698   RAMONA         GYEKYEWAH                  NC     90012598744
74425756931432   JARRED         VINYARD                    MO     90014417569
74427281441253   LINDA          CLARK                      PA     51076852814
74431582261971   ERIQUE         VICTORIA                   CA     46001165822
74431814453977   DANA           ROSS                       OK     90010438144
74432522141253   JONATHAN       PETITTA                    PA     51052805221
74433549681651   TONY           MAC                        MO     90010865496
74434584441237   CURT           WHITE                      PA     51094485844
74436114731443   VERALEE        HOWARD                     MO     27551181147
74436942755939   CHRISTOPHER    ALANIZ                     CA     90013219427
74436976872421   DIANE          BAACKE                     PA     51090459768
74439196993739   ANNIE          ARMSTRONG                  OH     90006431969
74439225533699   APRIL          POUNCEY                    NC     90000292255
74441887871948   DUSTIN         FADDIS                     CO     32012998878
74443194431443   DESTINY        WALLCE                     MO     90014941944
74443331293726   EUGENIA        MOORE                      OH     90012053312
74443679572421   ASHLEY         BARKLEY                    PA     90009996795
74444814455939   KATHERINE      RODRIGUEZ                  CA     90015278144
74445514293739   DANA           MOSCHETTI                  OH     64508535142
74446345672479   ZACHARY        COURTLEY                   PA     90014003456
74448179641237   BRITTNEE       THOMPSON                   PA     90012861796
74451461341262   SHEREE         REYNOLDS                   PA     90011414613
74454397357127   ABRAHAM        TEWODROS                   VA     81016803973
74457355831432   DESUIREA       HARRIS                     MO     90015173558
74459371131443   LAWANDA        THIGPEN                    MO     90003333711
74459648431432   MEGHAN         THOMAS                     MO     90007546484
74461872681637   ANTHONY        WALKER                     MO     29062478726
74464856131432   JASON          DECLUE                     MO     90012948561
74466956991572   KARLA          RAMIREZ                    TX     90010069569
74467352372479   LORENZO        GARDNER                    PA     90001223523
74467452272479   HEATHER        DEVAULT                    PA     90015094522
74468112272479   STANLEY        NEDZESKY                   PA     90002651122
74469981693726   ABDUL          CLEMENTS                   OH     90015139816
74471895461982   MARTIN         OSUNA                      CA     90010748954
74473291831433   GRACIA         DE REYES                   MO     90007942918
74474668172421   JOEY           KEFFER                     PA     90013186681
74475278666181   JERRY          PEDRO                      CA     90014992786
74475576631432   GNISHA         BALDWIN                    MO     90010735766
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74475798841253   ISIAH        BROOKS                       PA     90002657988
74475911266137   PENNY        ELLIS                        CA     90015369112
74476542185945   FRANKIE      GALLEGOS                     KY     90009785421
74477113131432   SHARON       MULLINS                      MO     90006741131
74483126272479   JAMIE        FERRARI                      PA     90011041262
74484297231443   KANDI        BARNES                       MO     90013622972
74484726941253   ROAMELL      EDWARDS                      PA     90015267269
74484845171921   SANDY        SIESSER                      CO     32059928451
74487493531449   JARVIS       GAMBLIN                      MO     90006584935
74487739641237   NICHOLAS     SLATTERY                     PA     90014867396
74487842731432   KEITH        VERSIE                       MO     90015118427
74489277493726   ALAINA       TOTO XALA                    OH     90012202774
74492898772479   JAMES        WILLIAMS                     PA     90006328987
74493825641253   LOUISE       PHELPS                       PA     51098018256
74494175955939   MARCOS       LEONOR                       CA     90009601759
74498582941237   ARDELE       DULL                         PA     51083425829
74498975855939   MICHELLE     EKIZIAN                      CA     48097929758
74511285755939   JULIANA      MENDOZA                      CA     90012722857
74511536871921   CARLOS       ZEPEDA                       CO     32051585368
74512591341237   AMY          GREGRIS                      PA     90009585913
74513126271921   ANTONIO      RIVAS                        CO     32020341262
74513358491852   ROBERT       STEPHENS                     OK     90006083584
74514899355939   ELENA        SANCHEZ                      CA     90013108993
74518929931432   MONEY        GET                          MO     27583569299
74519348972421   BEN          COLFLESH                     PA     90003943489
74519673531443   STEPHEN      HOWARD                       MO     90009936735
74521172433698   KATHY        RICHARDS                     NC     90000861724
74521218185945   DEIDRE       INGRAM                       KY     67081762181
74521221293726   JAWANE       GILLIS                       OH     90011342212
74522358331433   JENNIFER     CERUTTI                      MO     90013233583
74523848531432   COOBY        HORNER                       MO     90015118485
74525197331432   CRISTINA     JENKINS                      MO     90005611973
74525826831433   MALEANA      BELL                         MO     90011048268
74526164472479   THERION      NELSON                       PA     90015211644
74526846184332   MICHELLE     GRANT                        SC     90010958461
74527151391521   JOSE         JASSO                        TX     90001481513
74527613655939   EDUARDO      IBARRA                       CA     48050786136
74533142393739   NADINE       SCOTT                        OH     64567931423
74533586157147   MICHELLE     GRYLIK                       VA     90005725861
74536774671921   TRIS         BABCOCK                      CO     90013857746
74538211255939   XOCHITL      JAUREGUI                     CA     90010672112
74538865641253   PAULA        KALB                         PA     90012618656
74539221531443   JUVENTINO    CRUZ                         MO     90014612215
74539724955931   BRENDA       CHAVEZ                       CA     90012697249
74542328741237   GAVAN        JOHNS                        PA     90012423287
74542379333698   MARY         LEGETTE                      NC     90012003793
74542828641253   MARTIN       LUCAS                        PA     90013958286
74542944593726   DANIELLE     BREEDEN                      OH     90013379445
74543938871921   BRAULIO      CARRERA                      CO     32011789388
74544232772479   DYLAN        PATCH                        PA     90012502327
74544712591855   KENNETHA     GILLESPIE                    OK     90004857125
74544827671921   SANDRA       GREEN-GOOD                   CO     90014668276
74546169772479   ANGEL        NETH                         PA     90014011697
74547365341253   JAY          MASON                        PA     51022693653
74548317541237   JEREMIAH     SEGAN                        PA     90010963175
74549887471948   HEATHER      PETTY                        CO     32018328874
74551615841237   GREGORY      STARKS                       PA     90011506158
74552118672421   KANDIS       MILLER                       PA     51024691186
74552587741253   LAVIDA       WARDEN                       PA     51021885877
74552683871921   NIKKI        NOBLE                        CO     90012696838
74553314371921   ROBERT       ALLEN JR                     CO     32074753143
74553824172479   KELLEY       SADLER                       PA     90012528241
74554151971948   THERESSA     QUARLS                       CO     90005151519
74554896833698   SHEMA        GAITHER                      NC     90005508968
74554952755939   JOSE         HERRERA                      CA     48085229527
74555235831433   REGINALD     RICHARDSON                   MO     90015152358
74555974131432   BRITTANY     JOYNER                       MO     27529169741
74557525972479   LAUREN       EVANS                        PA     90008615259
74557612761971   JESSY        VALENZUELA                   CA     46022496127
74557752555939   VERONICA     BELL                         CA     90014617525
74558516293726   GENEVA       WEAVER                       OH     90011085162
74558815133698   TOMMIE       MOORE                        NC     90010098151
74559114193739   THOMAS       MCDONALD                     OH     90013571141
74559576841237   YOLANDA      PETTWAY                      PA     51007335768
74559734993726   JOHN         MCGUFFIE                     OH     64514997349
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74559786772479   WAYNE        STASKO                       PA     90001327867
74559885871928   RICHARD      STRANDBERG                   CO     32000588858
74565813231433   JOANN        PIZZO                        MO     90013308132
74567287671948   PABLO        VALENCIA                     CO     90001672876
74568119131433   BRITTNEY     CHILDS                       MO     90013581191
74568316872421   TATILA       BELL                         PA     90014363168
74569334741253   MICHELLE     MCCABE                       PA     51012723347
74569647657147   JUAN         AGUILAR                      VA     90007126476
74569674741237   MONTE        WELLS                        PA     90010756747
74572486471921   CYNTHIA      MONEYMAKER                   CO     32016124864
74572815931432   ANGELA       CLIFFTON-HARPER              MO     90013438159
74573572371921   DEREK        HARRISON                     CO     90008795723
74574276293739   MARVIN       SAMS                         OH     90014022762
74574719272479   ERNEST       LEEZER                       PA     51034307192
74575476172421   TINA         SMOREY                       PA     51083064761
74575683393739   ELAINE       STRANGE                      OH     90007736833
74575835431432   MARSHA       PRIZE                        MO     90013438354
74581746541253   ARUNA        CHHETRI                      PA     90010477465
74581953133699   JOSEPHINE    WEST                         NC     12022519531
74583592931443   SAMANTHA     NELSON                       MO     90008885929
74584742631443   MONIQE       JONES                        MO     90011517426
74585615841237   GREGORY      STARKS                       PA     90011506158
74585842393739   DANIEL       EVANS                        OH     90008548423
74585916331432   SHANNON      PETTY                        MO     90013929163
74586112272479   STANLEY      NEDZESKY                     PA     90002651122
74586149693726   DESIREE      SIMONIS                      OH     90012721496
74586822133699   CRYSTAL      CALDWELL                     NC     12059268221
74587495141253   GEORGE       COLEMAN III                  PA     51000954951
74588121161971   TOMMIE       L. JACKSON JR                CA     46011771211
74592138272441   ADRIENNE     WEATHERS                     PA     90011201382
74593914771921   HUGO         GARCIA-NUNEZ                 CO     90013239147
74594396872479   RANDY        EARLEY                       PA     90002543968
74595543285945   SERGIO       COXAC                        KY     90011295432
74595769372479   SHARON       HALL                         PA     90001687693
74596483233698   STEPHANIE    M ANDERSON                   NC     12042544832
74596685731432   CALVIN       HARPER                       MO     90015326857
74598761733699   VERONICA     FERNANDEZ SERRANO            NC     12057997617
74598863693726   HANADI       HUSSIEN                      OH     90010468636
74599237341227   ASHLEY       BERKICH                      PA     90001562373
74611768772479   ANGELEQUE    MCWILLIAMS                   PA     90013767687
74612171755939   ANGIE        VEGA                         CA     48097321717
74618355133698   HEATHER      WOMACK                       NC     12001443551
74621624693739   KAYLAN       POLAND                       OH     90011006246
74622865893739   MICHAEL      GALLOWAY                     OH     64563728658
74622974185945   FERNANDO     LUCAS                        KY     90010579741
74623623955939   DELFINA      ORTIZ                        CA     90012156239
74625342431433   SENITA       ROBINSON                     MO     27550463424
74625926972441   EDWARD       MOORE                        PA     51015149269
74626826372421   MAGGIE       BARRETT                      PA     51078228263
74627663971921   SHANTEYLA    RUSSELL                      CO     90013816639
74628773631433   PATRICIA     LARDGE                       MO     27504037736
74631255372421   CHRIS        BELLA                        PA     90001422553
74632234272421   JAIME        EDMUNDS                      PA     90008732342
74634214331443   DEMETRIUS    MILOU                        MO     90013052143
74634329431432   EYONNA       JOHNSON                      MO     27565933294
74636612785945   DESEAN       HENDERSON                    KY     90011296127
74637153833698   NATASHA      DAVIS                        NC     90008041538
74637169572479   DANI         HUMBERT                      PA     51057591695
74637252391566   GEORGINA     AVILA                        TX     90004032523
74638641641227   JASON        HEIL                         PA     51059636416
74641126372421   MATT         HUTCHISON                    PA     90013141263
74641797655939   JUAN         FRAUSTO                      CA     48011457976
74641941672441   ADRIENNE     WEATHERS                     PA     90011209416
74642612531432   JOYCE        MCRATH                       MO     27575246125
74643517733698   EVITA        FREEMAN                      NC     90002895177
74646127855939   MARIA        ROMERO                       CA     48014781278
74646423533698   JAY          BROWN                        NC     90014334235
74648112531443   LEETOYA      GRANT                        MO     90001411125
74648586431432   MICHELLE     ASHLEY                       MO     90014885864
74648757372479   MICHAEL      TABRON                       PA     90010947573
74648815672441   JOHN         CLOVER                       PA     51098838156
74651117155939   LORENZO      CENDEJAS                     CA     48058901171
74651583793726   RITA         CONLEY                       OH     90013855837
74651593172421   JEAN         SULLIVAN                     PA     51054665931
74652593172421   JEAN         SULLIVAN                     PA     51054665931
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74653541133698   LAFAYETTE      CLARY                      NC     90012245411
74655525684359   CHASSITY       SMALLS                     SC     90005305256
74656245755939   RITA           CASAREZ                    CA     90011242457
74657649831433   LETERICE       SCURLOCK                   MO     90014466498
74658776331443   MARITA         TURNER                     MO     90012487763
74661692897121   MARK           IMEL                       OR     90001586928
74662462893739   MASON          MOSLEY                     OH     90001874628
74662558872479   FRANKLIN       PANCOAST                   PA     51075035588
74666791171948   DEMETRIA       MORENO                     CO     90002187911
74667822593726   NICOLE         ADKINS                     OH     64501278225
74671569733698   CHRISTINE      CRIDER                     NC     12015895697
74671673761999   JEANINE        GALEANA                    CA     90003576737
74672184641253   LISA           GOSHAY                     PA     90013041846
74673226531443   KELLY          JONES                      MO     90012862265
74676996593739   KELLEY         HUGUELY                    OH     64509629965
74677294541237   SAHARA         BANKS                      PA     90010642945
74681588986523   SAMANTHA       MITCHELL                   TN     90013565889
74684173255939   ANA            RIVERA                     CA     90011161732
74684219831432   RANER          COLLINS                    MO     90013002198
74685955971921   ERIKKA         HARVEY                     CO     90014579559
74686966733699   ROBERTO        MENDEZ                     NC     12000349667
74689536931433   LYNN           MONDAINE                   MO     90012145369
74689623193726   JAMES          LEAK                       OH     64501186231
74689632161951   CYNTHIA        RODRIGUEZ                  CA     90011646321
74691793871921   KALLEY         NELSON                     CO     32081367938
74693138841253   TONYA          DEAN                       PA     90013901388
74693557233631   ANYTHONY       RIVERA                     NC     90015085572
74698199533698   CAMILLA        BURWELL                    NC     90015061995
74712939131443   WILLIE         LEE                        MO     90014759391
74713228771921   ROSALIO JUAN   BARAJAS-TORRES RAMOS       CO     90010322287
74714278831433   DANIELLE       REGANS                     MO     90010982788
74714947857531   CODY           JEFFRIES                   NM     90014389478
74715211871921   SAMUEL         SUTLIFF                    CO     90011132118
74716451493739   ROCHELLE       WALKER                     OH     90007954514
74716915672421   BETTY JO       SWOPE                      PA     51017379156
74717954341253   PARLA          BOYD                       PA     90008469543
74718637251366   EDDIE          JELKS                      OH     90012766372
74718928971928   KHALED         ABDELWAHED                 CO     90012539289
74719637251366   EDDIE          JELKS                      OH     90012766372
74719732197126   TIMOTHY        CLAYTON                    OR     44591607321
74721246872479   KAREN          NEIL                       PA     90014402468
74721325531433   TYKEISHA       THOMAS                     MO     90014093255
74722824141227   HARRY          CARLINO                    PA     51072038241
74722882361984   GABRIELA       SANCHEZ                    CA     90007198823
74722949351325   ANTHONY        MALLORY                    OH     90006289493
74723654631443   JASMINE        MITHCELL                   MO     90004906546
74725264241253   JOSEPH         BROWN                      PA     90013012642
74725465641253   JOSE           VAZQUEZ                    PA     90014964656
74726973941237   KRISTAL        HOLLIS                     PA     90010979739
74727467972421   MELISSA        MOORE                      PA     51082834679
74729425131453   DANA           HANEY                      MO     90001734251
74732363331433   NIKKI          DAVIS                      MO     90010813633
74732413951382   LATOYA         COLLINS                    OH     90014734139
74732624693739   KAYLAN         POLAND                     OH     90011006246
74732769951378   CHRISTINA      HEGER                      OH     90011117699
74732921855939   JOANNA         LARA                       CA     90000829218
74732955431433   MARK           EDWARDS                    MO     90013379554
74732963731432   NYESHIA        HAYMORE                    MO     90014819637
74734124685945   JUAN           SANCHEZ                    KY     90013831246
74734285771921   TASHA          ASHER                      CO     90011132857
74734666831432   JANEST         HALE                       MO     90013026668
74737881855996   FRANCISCO      VERA                       CA     48014478818
74738713441253   NICHOLAS       SARAFIS                    PA     51098087134
74739649655939   MATTHEW        MEJORADO                   CA     48007616496
74741452672479   PAM            CARSON                     PA     90005944526
74742938171921   MARKETA        TAYLOR                     CO     32080179381
74743825593726   CHANDRA        DUNIGAN                    OH     64570058255
74744233531432   GARRY          JOHNSON                    MO     90014552335
74744449531433   MARISSA        HAMMONDS                   MO     90013404495
74745669171921   TARA           WORLEY                     CO     32088416691
74745684431443   SUZANA         SUSKIC                     MO     27595386844
74746991555939   PRISCILLA      DUARTEZ                    CA     90002819915
74747241972421   LISA           WALKER                     PA     90010122419
74747335631443   ELSI           REYES                      MO     90014153356
74747651185945   JAMES          WATSON                     KY     67070196511
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74748345272479   JAMES        LANGFORD                     PA     90013883452
74748918531433   JAY          MASSEY                       MO     90014739185
74751316293739   TAMIKO       JOHNSON                      OH     90013783162
74752864841253   GORDON       AUSTIN                       PA     51095938648
74752937172479   DANIEL       HELMANTOLER                  PA     90003169371
74752945831443   JEROME       GRAY                         MO     90013399458
74754332441253   GINO         AQUILINE                     PA     51054073324
74755417441227   JENNIFER     ZIEFEL                       PA     90007214174
74755979385945   ANGEL        AGUIRRE                      KY     90006509793
74756158485996   DEWAN        MILLER                       KY     90014561584
74756517633698   SANDRA       WHITENER                     NC     90012285176
74758437433698   RUMONDA      BRIDGES                      NC     90011204374
74758694293726   MARANDA      NUCKLES                      OH     90004906942
74759211872421   PAUL         TOOHEY                       PA     90006842118
74761399955939   QIN          AMBRIZ                       CA     90014223999
74762722557147   BRIAN        LEONARD                      VA     90005487225
74762978733698   CARLOS       LEMUS                        NC     90010469787
74763712671921   JAYSON       GOUKER                       CO     90010897126
74764657993726   FRED         LANGSTON                     OH     64505696579
74765549155939   BALDEMIRO    ORTIZ                        CA     90012545491
74765866691586   MARIO        TORRES                       TX     90008758666
74766184241253   ALYSSA       SNYDER                       PA     51005911842
74766993355939   ALBERTA      VALLE                        CA     48056859933
74767551831433   ADRIAN       JESSIE                       MO     90013865518
74767865741237   JASON        MILLER                       PA     90002978657
74769361231672   KRISTEN      SPILLER                      KS     90010123612
74771344272421   KERRIE       ANDERSON                     PA     51085573442
74772346271921   REUBEN       THOMPSON                     CO     90002663462
74772482931433   NIQUITA      BLANTON                      MO     90013584829
74773146171921   ALINS        PEREZ                        CO     90014211461
74774556341237   DANA L       ANDERSON                     PA     90012435563
74775236141237   BRITANEE     GUTA                         PA     90014902361
74776322855996   FRANCISCO    ESPINOZA                     CA     73054383228
74776664541237   JEREMY       SEICH                        PA     90013426645
74776827931432   OPAL         PARTEE                       MO     90011518279
74777254441237   JEFREY       DEBORAH                      PA     51008502544
74777832393739   LAMICHAE     YOUNG                        OH     64539798323
74778829172441   BENJAMIN     KIRK                         PA     51071758291
74778928531447   PHYLLIS      GREER                        MO     27522889285
74779534772479   MATT         MATT                         PA     90015455347
74779621141227   SAMUEL       HUGHES                       PA     90005156211
74781274841253   RANDY        BOTTORFF                     PA     90012482748
74783375633698   VANESSA      MEZA                         NC     90013623756
74783594193726   WILLIAM      COMBS                        OH     64509455941
74785214793726   MARIO        SOSA                         OH     90010172147
74785582133698   ASHELY       BURTON                       NC     12062975821
74785674272479   FELICIA      MULL                         PA     90008846742
74787448971921   SOYIN        PETPRADITH                   CO     90002024489
74788487555939   MARIA        LEMUS                        CA     48088694875
74789517631443   NICOLE       CARTER                       MO     90014715176
74791137325128   JUMA         HARON                        AL     90014371373
74791312285945   LASHONDA     GAY                          KY     67057323122
74791762555964   KIMBERLY     COX                          CA     90001377625
74794627741237   ERICKA       BACCUS                       PA     90014876277
74794923693739   PAMELA       JONES                        OH     90010869236
74795193941237   MICHAEL      SOKOLOWSKI                   PA     90014121939
74796498631432   ELLA         JONES                        MO     27598024986
74797573472479   TARA         KELEMEN                      PA     51076785734
74797786493739   KIMBERLY     HELTON                       OH     90012227864
74798559793739   SEAN         SOUDERS                      OH     64592245597
74811935533698   AZINATH      DONALDSON                    NC     90015179355
74813212471921   KRYSTALE     SHAW                         CO     90013922124
74813581193726   BRANDON      MUSICK                       OH     90013295811
74814556141253   MARSHA       JOHNSTON                     PA     51075035561
74814558921664   DEMETRIUS    WHITE                        OH     90014715589
74814887272421   ROSEMARY     ELLINGTON                    PA     90013198872
74815186391963   KIARA        CUMMINGS                     NC     90006791863
74815589993739   DAVID        SHORTT                       OH     64576595899
74816292793739   MARIO        WILKS                        OH     90007512927
74816516741237   MARVIN       CORLEY                       PA     51027055167
74817152141253   WILLIAM      LOVELL                       PA     51091191521
74817564431443   SHAWN        NANCE                        MO     90010465644
74818616755939   IRENE        GARCIA                       CA     48015876167
74819219671921   GARY         CLARKSON                     CO     32070042196
74824429691548   CLAUDIA      HERRERA                      TX     75085294296
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74825399291827   MARIA                 CHAIREZ             OK     90012893992
74825473993726   TIMOTHY               MIGLOTHIN           OH     90013884739
74825965431432   OMEGA                 MORRIS              MO     90014819654
74826994931433   MUNA                  FARAH               MO     90010279949
74829437155939   MAYRA                 BARRIENTOS          CA     90005034371
74831411331443   MARIE                 PATTERSON           MO     27569074113
74831789441253   DWIGHT                JONES               PA     90015037894
74832717141227   LAMONA                MCFADDEN            PA     90010487171
74833636471921   MARGARITA             MARQUEZ             CO     32054786364
74833772841253   CHARLES               FINNIGEN            PA     51001377728
74834981972421   PATRICK               MORAN               PA     90011239819
74836455631433   XAVIER                ANDERSON            MO     90013304556
74836485971921   JEDD                  PROCTOR             CO     32040154859
74836694193739   NELLA                 HILL                OH     64560016941
74837185181643   KENNEY                GOODWIN             MO     29006911851
74837457651323   LYNAY                 STRAUGHN            OH     90012034576
74837561741253   AKIA                  OVERTON             PA     90014315617
74838697684359   STANLEY               AUSTIN              SC     90007776976
74841323193726   CARRIE                STEELE              OH     90014983231
74841863841237   SABRINA               MOBLEY              PA     51073078638
74842198555939   CRYSTAL               CASTRO              CA     90010451985
74842699171948   PAVEL                 OROS                CO     90003076991
74842964631433   DORCAS                REDD                MO     27521189646
74846539572421   TARA                  DAVIS               PA     90004985395
74848976971921   YADIRA                RICO                CO     32061779769
74851616433698   TRINA                 THORPE              NC     90001106164
74851818593739   LATASHA               STEVENS             OH     90012708185
74852886431433   JAMILLIA              LARDGE              MO     90015338864
74853812471921   CASONDRA              TAVARES             CO     90013138124
74853896831433   TERRION               WILLIAMS            MO     90015338968
74854628955951   SANDRA                SAMBUESO            CA     90004936289
74855233831443   TASHONNA              GROSS               MO     90011282338
74855359441253   THOMAS                LUBANOVIC           PA     51020973594
74858591893739   MILLIE                BILLS               OH     90001025918
74858948655939   GABRIEL               LOEZA               CA     90003539486
74859357741237   KIMBERLY              CORDELL             PA     51089863577
74859738993726   NAKIA                 STEED               OH     90015147389
74861746172479   LOLA                  DUNCAN              PA     51098637461
74862748671948   JULIO                 HERNANDEZ           CO     32063957486
74863651772421   DESIREE               BOATRIGHT           PA     90006456517
74864393141237   EILEEN                KARRAS              PA     51040333931
74864491972479   NICOLE                SALVINO             PA     90012434919
74864935472441   KASONGO               KABESHA             PA     51080379354
74866981141237   JERMAINE              SMITH               PA     90014389811
74867978241237   JOHN                  HOGAN               PA     90012379782
74868156641253   TIFFANY               HOLMAN              PA     51052061566
74868598931443   JASMINE               RODRIGUEZ           MO     90009795989
74869265931443   MR POLO               THECEO              MO     90012212659
74872915355939   NEREIDA               OCHOA               CA     48049389153
74873147371948   DIANA                 LANDEROS            CO     90010491473
74873569933698   KAHLIL                STOCKTON            NC     90013385699
74874216831433   WENSHA                JOORE               MO     90015252168
74874259293739   LATOYIA               HARDING             OH     90003092592
74874556485945   ALFREDO               ESCAMILLA           KY     67060105564
74877619131433   PRISCA                NWAMBA              MO     27597056191
74878314641237   GANGA                 MAINALI             PA     90012623146
74878471557147   ERID                  MARTINEZ RIVERA     VA     81031514715
74881189293726   KILLIAN               THOMAS              OH     90014021892
74882423831433   MICHELLE              BONDS               MO     90009714238
74885626171921   AARON                 VALDIDAVES          CO     90012166261
74887686293739   CARA                  SMITH               OH     90011006862
74888398331443   SHANTE                BRYANT              MO     27561843983
74888411333698   GERALD                GORDON              NC     90004494113
74891965681643   MARIE                 TOWNSEND            MO     29000039656
74892376172421   ROBERT                WILLIAMS            PA     51048043761
74892722157147   ABU BAKARR SULAIMAN   KABBA               VA     90006137221
74892889172479   BILLIE                LENHART             PA     51066228891
74893433593739   KIMBERLY              HALL                OH     90011284335
74894263893726   AMBER                 MARTIN              OH     90010122638
74895251561465   GASPAR                TUM                 OH     90014062515
74895481733698   SANDRA                ZIMMERMAN           NC     90014934817
74896377472479   PAYGO                 IVR ACTIVATION      PA     90014663774
74896556431432   SABRINA               SMITH               MO     90014455564
74897963855939   JUAN                  AREVALO             CA     48004359638
74898745971921   KEITH                 DAY                 CO     90015217459
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74911168533658   ERIC          CHAMBERS                    NC     90012201685
74911171855939   SILVIA        SANCHEZ                     CA     90015071718
74912558372441   MINDY         DEVALKENEER                 PA     51094885583
74912798693739   HEIDI         BAKER                       OH     90014777986
74913342641237   TOM           GRAY                        PA     90012463426
74913459993726   KIM           BROOKS                      OH     64577364599
74913956831432   LAWRENCE      MCCALL                      MO     90011349568
74915865731432   TIFFANY       POWELL                      MO     90014578657
74915975672421   SALLY         EVERETT                     PA     90004369756
74916685831443   JUSTIN        CERULO                      MO     90013896858
74917158133628   DEREIKA       STONE                       NC     12065931581
74918591331432   DANIEL        HILL                        MO     27581605913
74919883393726   MARJORIE      HULL                        OH     64591978833
74921376631433   JESNETTA      KLACK                       MO     90006843766
74922882891563   ERNESTO       GONZALEZ                    TX     75043148828
74924129193726   HEIDI         HUNSBARGER                  OH     90014761291
74926124793726   SHAWN         SCHULER                     OH     64515221247
74926184772441   STEPHEN       ROEBUCK                     PA     51068191847
74926356433698   GREGORY       TATUM                       NC     90008783564
74927169593739   CELINA        YOUNKER                     OH     90006741695
74927378331433   DEWAYNE       RICHTSON                    MO     27500503783
74927619455939   SERGIO        ZAVALA                      CA     90014716194
74927756841237   SABRINA       JACKSON                     PA     51088147568
74929241171921   JENNIFER      CUNNINGHAMM                 CO     90011872411
74929678533698   MELISSA       MARSHALL                    NC     90011146785
74931975431443   MADISON       WHITE                       MO     90013319754
74933274341253   SALLY         GALLOS                      PA     51032792743
74933697833698   CIARRA        TALFORD                     NC     90014886978
74933991133698   ANTOINETTE    ARMSTRONG                   NC     12024539911
74935269593739   ASHLEY        SCHULTE                     OH     90007172695
74935517731432   CANDACE       PORTER                      MO     90012905177
74935691291572   SILVIA        CASTRO                      TX     90012586912
74935763171948   ERICA         TAFOYA                      CO     32087447631
74935918241253   LARA          CHENSNY                     PA     51089719182
74936237655951   GLADYS        LOPEZ                       CA     90011502376
74936594293739   TAMMY         ISAACS                      OH     64567515942
74937811961958   ALMA          BACA                        CA     90009578119
74942796393726   NIA           TAYLOR                      OH     90012697963
74943225193726   MATTHEW       CLARY                       OH     64552002251
74943815672441   JOSE          HERNANDEZ                   PA     90006148156
74945691471921   JOSE          REYES                       CO     90011766914
74948119571921   KATHY         NOEL                        CO     32033931195
74948381631433   JOSEPH        MOORE                       MO     90012443816
74948952241227   MITCHELL      ROSE                        PA     90006479522
74951619441253   THERESA       SPEZZANO                    PA     90008456194
74953836691572   LUIS          SANTOS                      NM     75004348366
74956291331433   RICHARD       GREEN                       MO     90015482913
74957255141253   ELEANOR       ROBERTS                     PA     51081892551
74958642833624   HAYLEY        ADKINS                      NC     90012456428
74961993972479   BERNADETTE    ZETKA                       PA     51056459939
74963133293739   XITLALLI      CHAVEZ                      OH     90012901332
74963279541461   ASHLEY        JONES                       WI     90014582795
74964226751325   SAMANTHA      BLACK                       OH     90002392267
74966533641253   STEPHANIE     WATSON                      PA     90015315336
74967297193739   BEN           MONTEZ III                  OH     64575252971
74967376455939   ALFREDO       MONTOYA                     CA     90012083764
74967553193728   TRENAY        CAMPBELL                    OH     90005465531
74967973955921   HELEN         CANEL                       CA     49093179739
74968111155996   ANA           BARAJAS                     CA     48055221111
74969766493739   JESSE         MARSDEN                     OH     90014887664
74971117571948   PENNY         MCSHERRY                    CO     32062641175
74971284731432   CHRISTOPHER   WALKER                      MO     90015232847
74972485261971   OSCAR         RENTERIA                    CA     90010214852
74974937231432   COTTRELL      WARD                        MO     90001109372
74976541855939   VIVIANA       ARIAS                       CA     90013845418
74976625271948   JORDAN        MUMPER                      CO     32062636252
74976824141237   ANITA         BROWN                       PA     90010478241
74976871331433   MOLLY N       MONA                        MO     90011508713
74977468755939   MARY          CERVANTES                   CA     48032114687
74981495155939   MARAGRET      OCHOA                       CA     90009404951
74983396293739   CHRISTOPHER   BOWLING                     OH     90012093962
74984474441237   KRISTEN       BAKER                       PA     90001124744
74985468841237   CORNEL        OLIVER                      PA     90007204688
74985849831432   MARK          SIMPSON                     MO     90013458498
74987688881643   DANIELA       INIGUEZ                     MO     90003286888
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74987729363657   KRISTEN                 REEL              MO     27509287293
74987983671921   GENA                    COMBS             CO     90012159836
74988633831443   DANIELLE                TAYLOR            MO     90012006338
74989682531443   D                       BENFORD           MO     27548606825
74993114993739   LISA                    JONES             OH     90014601149
74993538672421   MARJORIE                BARNHART          PA     90009485386
74994827272421   JAMIE LEE               PLASSIO           PA     51049568272
74995775155934   CLEMENTE                RODRIGUEZ         CA     49078317751
74996269172421   CATHY                   BESTERCI          PA     90011252691
74996935893765   GARY                    BATES             OH     90007879358
74997721641237   DAWNAROW                SIMMONS           PA     90009587216
74997892872421   JENNIFER                PRAVLIK           PA     51014498928
74999767933698   SUSAN                   MARTINEZ          NC     12051877679
75111764451533   SAUL                    VARGAS            IA     90013747644
75111836633698   JESSIE                  JACKSON           NC     90008698366
75113422657157   CHARLES                 TIMBERS III       VA     81000644226
75113482291572   ROSA                    SANMIGUEL         TX     75080914822
75113533155966   BRENDA                  NAJERA            CA     90003395331
75117262672479   LAURA                   NEIL              PA     51050422626
75118844955947   LETICIA                 MARTINEZ          CA     49046238449
75119348531433   JEN                     MINNIS            MO     27541483485
75121552871921   SANDRA                  SANCHEZ-ANDRADE   CO     90007945528
75122318291563   MIKE                    TORRES            TX     90007683182
75123394755939   VERONICA                CERNA             CA     48023253947
75123416661938   EZEQUIEL                PONCE             CA     90010664166
75123453231433   JAMIL                   ABDELJABBAR       MO     90013054532
75123821257474   PAYGO                   IVR ACTIVATION    IN     90013398212
75126798572421   JOSEPH                  PLATANIA          PA     90011777985
75128426155939   JOSE                    RODRIGUEZ         CA     90011454261
75132438157157   RICHARD                 RUMMINGS          VA     81081394381
75132493931443   AMEENAH                 GORDON            MO     90008104939
75132538733699   BETTY                   LEAK              NC     12026425387
75134545861935   REYNA                   CHAMBERS          CA     90008525458
75135148193739   SANDY                   CLARK             OH     64548401481
75135992271921   CASSY                   JENSEN            CO     90014979922
75137667455947   RAMON                   CASTRO            CA     90009106674
75139648433624   MANNY                   HIDALGO           NC     90012466484
75142345381627   BRANDEE                 BUSHMANN          MO     90003263453
75142814657157   CLARISSA                PRIEST            VA     90009978146
75143972341253   JONATHON                FORRESTER         PA     51034019723
75144518685945   DARLA                   BLEVINS           KY     90007745186
75144522331432   LISA                    LEWIS             MO     90010865223
75144625455939   ERNESTO                 FRANCO            CA     90007626254
75144813985871   ALVARO                  SOLIS             CA     90003628139
75145654971921   MARGARET                PELLOW            CO     90007176549
75145758881645   ASHLEY                  DANIELS           MO     90011857588
75148941931443   JARON                   FISHER            MO     90009879419
75149255485945   GEORGE                  PLUNKETT          KY     67089852554
75149585955939   CLAUDIA                 SANCHEZ           CA     90009355859
75154233471921   DAN                     ISAACSON          CO     90013382334
75154893433698   JACKIE                  WHITWORTH         NC     12057178934
75155622255939   AMPARO                  RENTERIA          CA     90014836222
75155634381643   ROBERT                  THOMPSON          MO     29056056343
75155769933624   SALVADOR                CASTENEDA         NC     90014987699
75156134151378   MARCO                   DEGANTE           OH     90007751341
75156267171921   JAMES                   FERNANDEZ         CO     32071612671
75156291657123   A P WINDOWS AND DOORS   INC               VA     90008682916
75156815293739   DELECCA                 STEPHENS          OH     90014418152
75157466871921   JOSE                    CASTRO            CO     90015334668
75157569431433   JOHN                    MELSON            MO     90012475694
75158166155947   MAI                     CHANG             CA     90013921661
75158565631433   CHAUNCIA                MEEKINS           MO     90013135656
75158714172441   JESSICA                 EVANS             PA     51086947141
75159998471921   RICHARD                 HAYS              CO     90014289984
75161493772441   PAUL                    CERNANSKY JR      PA     90003424937
75161735857157   IVAN                    MARTINEZ          VA     90008607358
75161998671921   ADRIANA                 CHAPARRO          CO     90014709986
75162338971921   MARY                    TOUSSAINT         CO     32094923389
75162378233698   EVAINNA                 ROSS              NC     90003843782
75164297555939   SAMANTHA                GALLARDO          CA     90012772975
75164462355947   CATHY                   REYES             CA     49081764623
75165429172479   CHRIS                   PELZER            PA     90011664291
75165465681645   TRENA                   SMITH             KS     29027384656
75167475593739   CURTIS                  CORNWELL          OH     64586374755
75167864861985   MARCOS                  RADIATOR          CA     90007848648
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75167926855947   MARCELA          SANCHEZ                  CA     90010849268
75167997755947   JESSICA          PUENTES                  CA     90014669977
75168948571921   SARA             CODDINGTON               CO     32091199485
75169238551347   DREW             MARCUM                   OH     90005222385
75169684544346   MUBANGA          KALIMAMUKWENTU           MD     90014846845
75171341831432   SANDRA           NEWSON                   MO     90008683418
75172357681645   JENNIFER         REDE                     MO     90013853576
75172758261459   GABRIEL          RAMIREZ                  OH     90014467582
75173641172479   THOMAS           HORNER                   PA     51017496411
75174235393739   CURTIS           CORNWELL                 OH     90007462353
75176524771921   FRANSISCO        BARCENAS                 CO     90007705247
75177367755947   AARON            WILLIAMS                 CA     90015143677
75178731372441   TRACY            HILL                     PA     51043367313
75179526961951   HOLLY            BIANCO                   CA     90005185269
75181532671921   TAYLOR           MADE                     CO     90015035326
75181733272421   TABITHA          MCBETH                   PA     51097797332
75182184771921   STEPHEN          TURSA                    CO     32001541847
75182682472421   JAMES            BECKWITH                 PA     90004886824
75183387681633   ALFREDO CARLOS   LOPEZ                    MO     90002623876
75183949193739   PAMELA           JONES                    OH     90014499491
75184684455947   YESENIA          FRIAS                    CA     49071436844
75184768293739   CHRISTOPHER      SEEGER                   OH     90014307682
75186247741253   JAMERY           POLITO                   PA     90010412477
75186419231432   VITO             CASTELL                  MO     90010164192
75187947472421   ERIC             FALLECKER                PA     51093989474
75189518671921   MARSHALL         ZAKOPYKO                 CO     90000915186
75191345672479   KIMBERLY         ROBERTS                  PA     51006873456
75191365671921   TWYLA            ESPINOZA                 CO     90007713656
75191737957157   JAIME            MARTINEZ                 VA     81020097379
75193554841253   DENAI            WILLIAMS                 PA     90011145548
75194134455939   MONICA           PEREZ                    CA     90011211344
75195172571921   BOX              CARMEN                   CO     90011341725
75196479781645   ASHLEY           CARR                     KS     90014474797
75196629933698   TINA             BETTERSON                NC     90010516299
75196983857157   YULIANA          SOLORNAZO                VA     90012149838
75197247691991   JANINE           NDOSSOKA                 NC     90011232476
75197266631432   KEIA             MOORE                    MO     90011602666
75197534841227   JOSHUA           MARSHALL                 PA     51046955348
75197684291572   CLAUDIA          PEREZ                    TX     75074676842
75198653772441   ELWYN            STOCK                    PA     51081156537
75211396455947   TANISHA          BROOKS                   CA     90013353964
75212283185945   REBEL            RALEIGH                  KY     90008552831
75215494972441   JOSH             KUTTESCH                 PA     51042804949
75216878285945   SENOVIA          DE LEON                  KY     90012528782
75217115181645   TIFFANY          MYERS                    MO     29017241151
75219354731433   CYNTHIA          BIGHAM                   MO     90014843547
75221552351331   KEVIN            SANDUSKY                 OH     66098005523
75221766355939   EMMANUEL         MARTINEZ                 CA     90013587663
75222436757157   JAMEELA          AL-HASSAN                VA     90014154367
75222858641242   REV CARL         DENSON                   PA     90008698586
75222972185945   TIM              O'CONNOR                 KY     67068219721
75224426741253   TOMMY            JENKINS                  PA     90013294267
75225825931433   SHANITA          BUNETT                   MO     90013318259
75228871355939   JOE              GARZA                    CA     90015278713
75233456157157   MARIBEL          RIVERA                   VA     90013154561
75233926281633   SUKARNO          GRANT                    MO     29005019262
75234484781645   JONATHAN         IMLER                    MO     90013564847
75235727761994   MARIA            CASTILLEJO               CA     90004467277
75236593193739   ANTONIO          GATES                    OH     90014195931
75237194893739   VICTORIA         RANGEL                   OH     64514411948
75243744855947   PACO             IBARRA                   CA     90013157448
75244592641237   AARON            NOLFI                    PA     51085595926
75244682881645   TOM              SMITH                    MO     90013876828
75246715872479   JAMES            GRIMES                   PA     51082677158
75247122172479   STEVE            SIRIANNI                 PA     90010551221
75248976355947   THOMAS           JACKSON                  CA     90003359763
75249193655966   KELSEY           HAY                      CA     90003421936
75249478641237   DAVID            BRADLEY                  PA     90009344786
75249793193739   LAKEISHA         RAMEY                    OH     90010127931
75251517181645   SEBIRNA          WILLIAMES                MO     29004925171
75252257172441   EBONY            CARTER                   PA     51035732571
75253167455939   LUIS ALBERTO     RODRIGUEZ CANO           CA     90012781674
75253731555939   RICARDO          VARGAS                   CA     90013707315
75253974341227   SCOTT            GALLO                    PA     51031779743
75254158993739   MICHAEL          DIXON                    OH     90013891589
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75255738472421   NANCY            SPALLONE                 PA     51084787384
75255975285945   LATISHIA         TAYLOR                   KY     90008419752
75256334241237   HEIDI            WELCH                    PA     51066993342
75256424255939   RICHARD          RODRIGUEZ                CA     90014514242
75256722831433   TAYONA           FOWLER                   MO     90014667228
75258871381643   BETSY            GRAHAM                   MO     90011428713
75261179155939   MIGUEL           CARILLO                  CA     90004981791
75261466357157   BARTON           WEBSTER                  VA     90010024663
75263339172479   CARRIE           GALLAGHER                PA     90014613391
75267755431432   TRACEY           STAMMER                  MO     27523577554
75268475181645   CARLA            PALMER                   MO     29008604751
75269177185945   BLAISE           MANGIANDA                KY     90012531771
75269262431433   TIFFANY          NICHOLS                  MO     90014882624
75271971493739   HENRY            LEDBETTER JR             OH     64579089714
75273896472421   TONYA            DICKANT                  PA     90011788964
75274524157157   LUIZ             RUBLES                   VA     90010545241
75275692841253   SHARON           LEWIS                    PA     90015086928
75281815872441   FRANCIS          XAVIER                   PA     51066888158
75283223341253   MIKE             WILLIAMS                 PA     51094702233
75283335833699   QUENSHETA        JACKSON                  NC     90009883358
75283721891572   EVELYN           CARDENAS                 TX     75005737218
75283722155947   RICHARD LEE      MEANS                    CA     90014077221
75288173871921   ERNESTO          GOMEZ                    CO     90014411738
75289297131433   KELLEY           YAHL                     MO     27571732971
75291362961997   ELBA             CEDENO                   CA     90007103629
75291765255947   DOLORES          ROMO                     CA     90010637652
75292819371921   DAMIEN           PORTER                   CO     32032438193
75295849872441   KAREN            BADER                    PA     51037778498
75296456551349   CHALANDA         MARSHALL                 OH     66034254565
75311263966171   CHRISTINA        CHASE                    CA     90014802639
75313189721664   MATTHEW          ONEIL                    OH     90014661897
75313222871921   SASHA-KAYE       GRAHAM                   CO     90012742228
75313733572479   JOSHUA           DRAGONE                  PA     90014627335
75314118581643   JASON            WHITE                    MO     29056061185
75314188333699   NYKIAAH          CURRY                    NC     90004381883
75315838581645   JEFF             TRUMP                    MO     90014978385
75317926833699   NIKOLE           FRYER                    NC     90009549268
75318834255947   LISA             RICHARDSON               CA     90004028342
75318978772441   ALESHA           MCKENZIE                 PA     51053739787
75319127833698   PARIS            HAIZLIP                  NC     12014681278
75321216457474   PATRICIA         SMITH                    IN     90015492164
75321341781645   MELVETTA         WALTER                   MO     90013163417
75322361771921   SUSANNA          GARAY                    CO     90014593617
75322784933683   YVETTE           SQUIRES                  NC     90007737849
75322983455947   LISA             LOPEZ                    CA     49047669834
75324145771921   JOSH             FISHER                   CO     90008451457
75324215772441   MATT             SMITH                    PA     90012902157
75325293433698   JOSHUA           GRAHAM                   NC     90012852934
75325949371948   MIGUEL           CARRERA                  CO     90010869493
75325959981621   CLARENCE         BROWN                    MO     90000559599
75327279755939   EMANNUEL         MARTINEZ                 CA     90012612797
75328428372479   JOSEPH           FEELY                    PA     90011824283
75328842172421   JASON            MYERS                    PA     90010668421
75333528555947   LUIS             VASQUEZ                  CA     90013605285
75334733533698   MONICA           STURDIVANT               NC     90013307335
75335362533698   CHARNELLE        WASHINGTON               NC     90014843625
75336247755939   TAMMY            CHAMBERS                 CA     90011842477
75336734572479   SARAH            SMITH                    PA     90014637345
75338321555947   NADYNE           EWING                    CA     90005473215
75338733272421   TABITHA          MCBETH                   PA     51097797332
75339664255947   SAMANTHA         CARILLO                  CA     90012826642
75341597655947   SAMANTHA         DAVIS                    CA     90006385976
75341721557157   BESSY CAROLINA   ALAS                     VA     90002237215
75343777941237   LAUREAN          KILE                     PA     51039547779
75344417455939   ESTRELLA         RAMOS                    CA     90008504174
75345297431433   ANTHONY          JOHNS                    MO     90014832974
75345944955939   CLISERIO         GALLEGOS                 CA     90015179449
75346359355947   KO               VUE                      CA     90013043593
75347914672421   EUGENE           DUGAN                    PA     51062329146
75348216241227   RACQUEL          REED                     PA     90006872162
75348827272421   DAWN             SOPHER                   PA     90008208272
75352495531432   TINA             LACHANCE                 MO     90001974955
75354565455947   ROSENDO          SANCHEZ                  CA     90009105654
75355167181643   OMAR             ENRIQUEZ                 MO     29015431671
75355335333698   TINA             LEE                      NC     12052753353
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75357437281645   MONICA             TAYLOR                 MO     90014744372
75357551972441   MARIA              BRANDERHORST           PA     90011325519
75357729755939   CRISTINA           ARIAS                  CA     48068267297
75358761741253   BRENDA             STAR                   PA     51082247617
75359487785945   ALLISON            PRESTON                KY     67006624877
75361943541237   REGINA             COOK                   PA     90006229435
75362337591969   WILMER             CASTILLO               NC     90011653375
75363761184326   DANIEL             HERNANDEZ              SC     90015467611
75363812172479   ANGELA             BELTRAM                PA     90014668121
75366174461958   JAHAZIEL           HERNANDEZ              CA     90013591744
75367183285945   MIRACLE            RISON                  KY     90009581832
75367564681645   GABRIELA           VILLA                  MO     90011865646
75368618181645   BONNIE             CROWDER                MO     90002886181
75371441333698   DAVID              JETER                  NC     12087484413
75371468471921   MYECHA             TAYLOR                 CO     90012654684
75371488555939   MISTY              LOPEZ                  CA     90014864885
75372884155939   MARIA              SOLORZANO              CA     90011118841
75373246971921   GREG               RAY                    CO     32062942469
75373497955947   KIM                RAINWATER              CA     90003014979
75373498231433   CHARLES            CROSS                  MO     90013764982
75373792333698   AUNDREA            NEWKIRK                NC     90011097923
75374712872441   CARRIE             NEWMAN                 PA     51056527128
75375292155939   REBECCA            KOEHLER                CA     90013062921
75376541441237   COLLEEN            DRAGOSIN               PA     51013575414
75381358685945   CAROLYN            MASTERS                KY     90011653586
75382798772421   SHATOYA            SEWELL                 PA     51050827987
75386249641253   KATRINA            BASSETT                PA     51052422496
75386985133698   ELIN               ELORAZ RIOS            NC     90006279851
75387139736123   JEANNIE            DECKER                 TX     90002691397
75387858281645   MARIA ESTELA       MORALES                MO     90013518582
75388554841253   DENAI              WILLIAMS               PA     90011145548
75389646655966   GUADALUPE          MARIN                  CA     48041626466
75389943681645   STEVEN             MARSHALL               MO     90014879436
75391195271921   GARRETT            THORPE                 CO     90012661952
75392789855947   JUAN               ANGEL                  CA     90014557898
75393591155947   RANDY              HOLLIDAY               CA     90001605911
75393666955939   NONE               NONE                   CA     90009466669
75394462155966   JOHN               MENCHACA               CA     90005524621
75395177457157   LILIANE            ASOLO                  VA     90002601774
75395462155966   JOHN               MENCHACA               CA     90005524621
75398384433698   CHRISTOPHER        ZACHERY                NC     90013293844
75399662633683   SONIA              BEDOLLA                NC     90005186626
75399677933698   PEDRO              MARTINEZ               NC     90007996779
75413421555947   THELMA             DRONES                 CA     49080054215
75413622357157   TEREEN             JONES                  VA     90012056223
75414672791979   JOAQUIN            VASQUEZ                NC     90014986727
75414987293736   KELLEY             GRUBBS                 OH     64593269872
75417173557157   GLADYS             TAPIA                  VA     90003461735
75418926833698   CYNTHIA            WATSON                 NC     90011099268
75419328655947   MARIA              SILVA                  CA     90014903286
75421467431433   JOANNAH            KELLY                  MO     90013774674
75423358241253   JUSTIN             COX                    PA     90001593582
75424123461922   JUDEAN             LEWIS                  CA     46014141234
75424244541237   BRIAN              DAETWYLER              PA     90013812445
75425248281645   KEYION             WARREN                 MO     90015012482
75425295757157   DONNA              PRINCE                 VA     90012062957
75426118431433   PAYGO              IVR ACTIVATION         MO     90014941184
75426366657474   TESLA              HAYES                  IN     90015463666
75427427141227   JUDY               KARMANN                PA     51004954271
75428749431432   BYRON              POTTS                  MO     27564687494
75428947572479   BETHANY            ALTOMORE               PA     90014759475
75434349855939   FRANCISCO JAVIER   JUAREZ                 CA     90015163498
75435157981645   LORI               LAWRENCE               MO     90006991579
75435215555966   JENNIFER           TORRES                 CA     90005552155
75435932841253   TRISTAN            ROYAL                  PA     90013629328
75436453857157   DAVID              PONSE                  VA     90003924538
75437474172479   DOTI               HEADY                  PA     51084104741
75438125972479   DAWN               EVANS                  PA     90014741259
75438732381645   MAY                TAUTU                  MO     90014757323
75439489571921   ROSA               RODRIGUEZ              CO     32056024895
75439998757474   SARAH              DROCKIE                IN     90015409987
75441237733698   SONIA              MONCADA                NC     90013002377
75441469141237   FRANK              MISITIS                PA     51043144691
75441815955966   DAVID              CAMPOS                 CA     90007318159
75441849855939   SAMANTHA           BELL                   CA     90012878498
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75442158755939   ROSLINA      QUEZADA                      CA     48031111587
75442219555947   ALAN         PEREZ                        CA     90007972195
75443218531433   CHARLENE     EDWARDS                      MO     27592832185
75443617471921   KATHY        FIELD                        CO     90015096174
75443716541253   TONY         NATALE                       PA     51017347165
75444321872441   ELIZABETH    SEERY                        PA     51017163218
75444581841237   THOMAS       WEBER                        PA     90004765818
75444842172421   CURT         BURKHOLDER                   PA     90010588421
75445616471921   BRANDIE      MCDANIEL                     CO     90009606164
75446533891572   NEREIDA      FLORES                       TX     90010915338
75447365881644   DAN          FORS                         MO     90006453658
75449871872421   BRITTANY     BALES                        PA     51051118718
75451632355939   VICTOR       ROMO                         CA     90001646323
75451892471921   RAFAEL       FLORES                       CO     32065458924
75452397693739   TOYCE        HUTTON                       OH     64548483976
75452426155939   CLYDDETTE    VALLE                        CA     90006384261
75452677455947   JESSICA      HEIMANN                      CA     90011966774
75453867233698   ANTHONY      PINNIX                       NC     90011108672
75455686172479   ANDREW       MCPARTLAND                   PA     51044426861
75456217671921   JEROMY       MORAN                        CO     90008182176
75456295472479   BROOKLYN     LINNEMAN                     PA     90014742954
75456437893739   LAURA        HORN                         OH     64561024378
75457539381633   LEON         WILLIAMS                     MO     90009295393
75458363393739   LINDA        THARP                        OH     64571353633
75458521553977   CYNTHIA      BAGGETT                      OK     90014455215
75461589281633   JOSE         GONZALEZ                     MO     90009425892
75464387955966   FERNANDO     SERRATO                      CA     90005593879
75465186855947   CARLOS       DIAZ                         CA     90015101868
75466524581645   REOLA        HAMLEPP                      MO     90006235245
75466752472441   JONATHAN     DURANEY                      PA     51041487524
75466944781643   DENISE       JONES                        MO     90013749447
75469992131443   DENNIS       BOEHLE                       MO     27579349921
75471335855939   RUDY         MENDOZA                      CA     90013033358
75471467257157   JACK         HENRY                        VA     90005654672
75471565771921   TIFFANIE     WHEELER                      CO     90008935657
75472158585945   DEANTHONY    HONAKER                      KY     90008101585
75472587955947   ALBERT       DELUNA                       CA     49070105879
75473686955947   DEMETRIO     GARCIA                       CA     49083286869
75473858761998   ANDREAS      GLUCK                        CA     46009808587
75475334931432   RICKER       BROOKS                       MO     27566373349
75475657793739   SEAN         MORELAND                     OH     90008056577
75475865541253   NICOLE       ROACH                        PA     51036098655
75478748555966   JENNIFER     MORALES                      CA     90005597485
75478791331443   MICHAEL      FRANK                        MO     27524227913
75479632371921   ADIN         ADINRAMIRE                   CO     90001976323
75481721755939   NICOLAS      DE LA CRUZ                   CA     90013897217
75481791331443   MICHAEL      FRANK                        MO     27524227913
75482354971921   HECTOR       MARTINEZ                     CO     90000763549
75482736633698   TEASHIA      SPRINGER                     NC     12073427366
75483655457474   ALBERTO      SANTANA                      IN     90015496554
75486383431433   CHARLES      BONDS                        MO     90014573834
75486393881645   RIGOBERTO    DE JESUSVEGE                 MO     90014373938
75486481371921   ARLENE       CHAVARRIA                    CO     32023634813
75487283181643   MIKILIA      TURNER                       MO     90004612831
75487615355939   GUADALUPE    SANCHEZ                      CA     90004836153
75488918131433   KIARA        BROWN                        MO     90013209181
75489278185945   MARTY        PERKINS                      KY     67067762781
75489329255947   JAMILI       CRUZ                         CA     90013983292
75489336533698   ANNABELLA    HARRIS                       NC     90014173365
75489741531443   SIERRA       BURNS                        MO     90011087415
75489839941237   MELISSA      MELVIN                       PA     51017968399
75491525871921   RYAN         KAZAN                        CO     32005575258
75492115472421   BERNADETTE   TRISOLINE                    PA     51057331154
75492181555947   CRISTOPHER   REYNOLDS                     CA     90012091815
75492279171921   PATRICK      SMITH                        CO     90012532791
75492992981633   SAREAH       BROWN                        MO     90004799929
75493332241237   RICHARD      FITZGIBBONS                  PA     90007473322
75493561633698   JORGE        ALONSO                       NC     90015175616
75495119785945   PAYGO        IVR ACTIVATION               KY     90009081197
75495432191378   MICHAEL      WISE                         KS     29008574321
75496589372479   JOANNE       HULL                         PA     90006955893
75498223661597   LISA         MCHOLLAND                    TN     90015542236
75513582281645   MARISOL      VIDANA                       MO     90015215822
75514387741253   ROBERT       COLLINS                      PA     90013353877
75515929871921   KRYSTAL      MARTIN                       CO     90003189298
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75515957741237   DONALD        LARGENT                     PA     51062159577
75517414541237   JOSEPH        SELL                        PA     90012884145
75517422172441   LAUREN        DERZIPILSKI                 PA     90012914221
75518765557157   WILLIAM       LEZAMA                      VA     81045697655
75522311981633   HEIDI         TORAN                       MO     29001723119
75522899572479   WILLIAM       ROSE                        PA     51015968995
75523129881633   DEB           LOOMIS                      MO     90013331298
75523215531432   SHAULAWN      BELL                        MO     90008832155
75524455541237   NICKOLE       FORD                        PA     51007034555
75525598255928   TONY          VALLEJO                     CA     49077275982
75525931991548   DANIELA       GUERRERO                    TX     90011019319
75526355572479   MEGHAN        FOGLIA                      PA     51019833555
75529626781645   DENISE        GRIFFIN                     MO     29021076267
75533925841237   ROBIN         SHEFFEY                     PA     90002559258
75535439663666   CHRISTOPHER   WHEAT                       MO     90007484396
75535463571921   ROBERTO       BOOHER                      CO     90012404635
75536894133699   TEVIN         WITHERS                     NC     12069688941
75537381941253   JILLIAN       CANASTRARO                  PA     51058333819
75537776933698   SHAMIRA       DESSASAU                    NC     90012997769
75538278872421   AMANDA        BAKER                       PA     51042772788
75538834971921   KERRI         HUSTAD                      CO     32070288349
75539784281633   LEOPALDO      NIEVES                      MO     29049237842
75542631281643   KAREN         DAHMAN                      MO     29075426312
75544421872479   CEAN          BRITT                       PA     51094554218
75545864181643   MICHAEL       STODDARD                    MO     29083858641
75546872755947   ISAAC         SCHOOLEY                    CA     49046848727
75547284372441   ANGELA        MASSIE                      PA     51023502843
75547591455939   DENISE        MEJIA                       CA     90002085914
75547782484322   SHARYN        TAYLOR COX                  SC     14549427824
75548444285975   AMANDA        CRUISE                      KY     90006354442
75549465231443   TAMARA        GALBREATH                   MO     90007644652
75552476493739   SEAN          MALONE                      OH     90013574764
75552866855947   KENT          SMELTZER                    CA     49057938668
75553299541253   JESSICA       MURDY                       PA     90013542995
75553676831433   MIROSLAVA     JUAREZ                      MO     90004976768
75555581281643   QUEEN         OYBG                        MO     90004615812
75555929941237   DOMINIOUE     KAMPELL                     PA     90013929299
75556617571921   JENNIFER      DAY                         CO     90011326175
75556989955947   PERLA         GUERRERO                    CA     90012959899
75558826481645   LORI          COLLINS                     MO     90001718264
75559389272479   JARED         ALTAMARE                    PA     51067533892
75559789293739   JENNIFER L    WASHINGTON                  OH     64564727892
75561424941253   RYAN          OOSZEWSKI                   PA     90013354249
75561887431443   ERIC          WILLIAMS                    MO     27508088874
75561917355947   CHRIS         MORENO                      CA     90010409173
75562527285945   SHARON        ALEXANEER                   KY     67011585272
75563684781643   SANTIAGO      BARRIENTOS                  MO     29001586847
75564119772479   TERRY         HUWEART                     PA     90014911197
75564717541253   DERRICK       REED                        PA     51088107175
75566534585945   NADIA         TAYLOR                      KY     67011585345
75566872271921   CLOVER        BAKER                       CO     90013458722
75567185381645   CAROLYN       ROACH                       MO     90013461853
75567889931443   SHIRLEY       JOHNSON                     MO     27590698899
75569567555947   MARTIN        QUEZADA                     CA     90012135675
75571891955947   VALERIE       PARKER                      CA     49010418919
75572152455939   ELIA          MICHEL                      CA     48045861524
75573156741253   SHONA         BATES                       PA     90014841567
75573843193739   BILLY         CLAYPOOL                    OH     90005878431
75574257341253   LAUREN        GREEN JR                    PA     51074942573
75578226831432   DIANE         TAYON                       MO     90003102268
75578884633698   PRINCESS      SMITH                       NC     12043468846
75578899155947   SANDRA        GUZMAN                      CA     90003748991
75579233341253   ISHMAIL       AYI                         PA     90014852333
75589124893739   CIARA         QUISENBERRY                 OH     90008521248
75589132881645   BRIAN         BRATTON                     MO     29092741328
75589686355947   ASHLEY        ROSE                        CA     49040316863
75589749171921   HERBERT       RUSSELL                     CO     90013317491
75591134572441   TAMMY         SANGEMINO                   PA     90006491345
75591452672479   PAM           CARSON                      PA     90005944526
75592957433698   LEROY         HENRY                       NC     90011999574
75594844493739   THOMAS        CREAGER                     OH     90010908444
75594953455966   NANCY         BERMUDEZ                    CA     90002849534
75596246533624   JOSE AMAYA    BORREGO                     NC     90012582465
75597888241237   GREGORY       NOVICH                      PA     90000668882
75598342781645   ISABELLA      SANCHEZ                     MO     90012573427
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75598622255939   AMPARO       RENTERIA                     CA     90014836222
75611251931433   CHARLENE     DONOHOUE                     MO     90013532519
75612224141253   JADA         WILLIAMS                     PA     90014982241
75612668891869   TANYA        JEFFERSON                    OK     90010036688
75613355481651   LUCIA        ROGERS                       MO     90012263554
75613638231443   CANO         MARTIN                       MO     90000246382
75614323241237   JANIN        GIANT                        PA     90007703232
75614961471921   CHAROL       COUSETT                      CO     90010299614
75615573555939   ESMERALDA    VELASQUEZ                    CA     90004775735
75615633241227   MATT         DETTLINGER                   PA     51062526332
75617824571921   KATHRINE     KANE                         CO     90008818245
75618769731433   RICKEY       BRANSCOMB                    MO     90015257697
75619136631432   KAWANA       AKINS                        MO     27575251366
75625593255939   JOSE         GARCIA                       CA     90014715932
75625796191563   IVONNE       RODRIGUEZ                    TX     90005697961
75627255231433   DAVION       CHRISTON                     MO     90012512552
75628548955939   DAVID        MEZA                         CA     90012575489
75628587193739   GABRIEL      SCANDRICK                    OH     90011795871
75628849741237   URBAN        HOUSING                      PA     90011508497
75628952371921   ANTONIO      NERO                         CO     90014389523
75629397672421   JAMES        WAITE                        PA     90003943976
75629647341253   VERONICA     STANTON                      PA     51075906473
75629965233698   ERIC         COLEMAN                      NC     12079169652
75632762455939   JOSE JUAN    MARTINEZ                     CA     90013837624
75634321293739   BRYAN        MCADAMS                      OH     90010303212
75636535431443   DAEMTRUS     JOHNSON                      MO     90007645354
75636626971921   DESIREE      RUIZ                         CO     32060316269
75637946833698   LYNNE        ROWLAND                      NC     12065919468
75639569731433   KAYLA        CROFT                        MO     90013795697
75639684691572   CARLOS       DELGADILLO                   NM     90005916846
75641852785945   LAKOXTA      DIVENS                       KY     90009508527
75642199172441   KATHLEEN     PARONE                       PA     51024871991
75642232581633   SARA         STEWART                      MO     90009752325
75642431681255   JASHUA       DUNFORD                      KY     90009784316
75645483471921   JOSE         HERNANDEZ                    CO     32019534834
75646342555939   JUSTIN       ETHERIDGE                    CA     90013693425
75646827585945   WILLIAM      WEAVER                       KY     90011678275
75646844431433   GEORGE       DUNN                         MO     90007668444
75647534855939   MARIANA      RIOS                         CA     90013185348
75648219855966   JANEY        MEDINA                       CA     90000432198
75648547555947   MELODY       GREER                        CA     90009515475
75649375857129   YOLANDA      MURCIA                       VA     81073363758
75649833355966   OLGA         ALVARADO                     CA     48044418333
75651477355947   MARIO        SOTO                         CA     90000904773
75652345172431   VIRGINIA     LAWSON                       PA     90008623451
75652758757474   ALEX         ROMERO                       IN     90015507587
75653182541253   WILLIAM      CHAPMAN                      PA     90008191825
75653515341237   MARGARET     SCHAEFER                     PA     90007435153
75653662671921   KACEE        COLEMAN                      CO     90010736626
75653988681645   TIESHA       PIPPEN                       MO     90012689886
75656746255939   ESTELA       LEMAS                        CA     90007637462
75657541131443   JENNIFER     NOLAN                        MO     90010315411
75658262672479   LAURA        NEIL                         PA     51050422626
75658313681645   SANTANA      GONZALES                     MO     90000113136
75661836631443   MAURICE      JOHNSON                      MO     27505578366
75663426871921   ELISE        NIELSEN                      CO     32009214268
75663455433698   DEAN         SHAW                         NC     12001804554
75663581193739   CARL         HOWELL                       OH     90014565811
75664126131432   ANNETTE      JONES                        MO     27521271261
75665271755966   CARMEN       BORJA                        CA     90005742717
75665482855939   MARY JANE    CANALES                      CA     90014694828
75666628271921   RUBY         GARDNER                      CO     32016516282
75667921181633   CATHY        COX                          MO     29053079211
75668124131433   JAMES        HOSSMAN                      MO     90015491241
75671659933683   KOLE         METZ                         NC     90008316599
75672153933698   JAMES        HARRIS                       NC     90010621539
75672722481645   KRISTY       HOEGLER                      MO     90013127224
75673161591855   CAMERON      O BRYAN                      OK     90010241615
75673345493739   JUSTIN       BROWN                        OH     64510003454
75673952371921   ANTONIO      NERO                         CO     90014389523
75674785286523   ALLEN        MACINTYRE                    TN     90015487852
75675434241253   KELCIE       PARADA                       PA     90003334342
75676966971921   FERNANDO     BALTIERRA                    CO     32025639669
75677282771921   PATRICIA     LADZINSKI                    CO     90001402827
75677732186443   TIFFANY      ABRAMS                       SC     90014657321
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75678343957157   GREGORY      FINNEY                       VA     90003333439
75678796393739   KENNETH      SCHOEBE                      OH     90010947963
75682182391586   JOSE         GURROLA                      TX     75033751823
75682533541253   DANIEL       PAINTER                      PA     90013365335
75682981272441   TINA         GIBBS                        PA     51083129812
75685415593739   PENNY        ERWIN                        OH     90011104155
75686573293739   CHRISHANA    WALKER                       OH     90014575732
75687843471921   RUDY         SALAZAR                      CO     90014728434
75688427593739   TRENT        JOHNSON                      OH     90014874275
75693595993739   TAMERA       WALLACE                      OH     90011325959
75695255981645   ASHLEY       JONES                        MO     90004412559
75695696731433   LAKESHA      MOORE                        MO     90010036967
75697265181645   NICHOLAS     HIGGENBOTHAM                 MO     90010572651
75698382561982   CONSUELO     MAGANA                       CA     90007753825
75711236672478   DONNA        BURNS                        PA     51018442366
75713638531443   ERNESTINE    RANKINS                      MO     27587276385
75713658131433   JULIUS       UNDERWOOD                    MO     27506986581
75714361772479   DENNIS       VACCARO                      PA     51000453617
75714452141237   SOLOMON      VAN GIESON                   PA     51040244521
75714459633699   BLANCA       GONZALEZ                     NC     12049784596
75715322881633   SARAH        PHILLIPS                     MO     90013523228
75715658441253   ARLICIA      NAVARRO                      PA     90014486584
75718459193739   MINDY        BISHOP                       OH     64526034591
75722797757474   INOSENCIO    SAUCEDO                      IN     90015527977
75723389955947   MARVIN       PORTILLO                     CA     90011153899
75724655671921   NIKKI        GRUBBS                       CO     90013006556
75729664655947   JOHN         GALVAN                       CA     49043376646
75729684355947   JEFFREY      NELMS                        CA     90012146843
75731465161975   ANAYA        TRINIDAD                     CA     90010844651
75731789193739   CHRISTINA    FISHER                       OH     90013597891
75732726257129   DARIO        JIMENEZ CASTRO               VA     90008537262
75733243844346   BRANDI       TALIASERRO                   MD     90015572438
75733882433698   DONALD       KELLY                        NC     90011128824
75733937285896   KARINA       MORENO                       CA     90006669372
75734674641237   MICHELLE     PASSARO                      PA     90004976746
75734734831433   ADELINA      GINES                        MO     90013997348
75739528841237   HALEY        ENGLEMAN                     PA     51077685288
75742941541237   MARLYCE      WERTENBACH                   PA     90013379415
75745251931433   CHARLENE     DONOHOUE                     MO     90013532519
75751777771921   JODY         LOPEZ                        CO     90012667777
75751994333699   SHIRLEY J    ROBINSON                     NC     12074839943
75752581855996   JAIME        SANDOVAL                     CA     90007625818
75752858451331   JERMAINE     CALDWELL                     OH     90006398584
75753533451366   ZACH         ZHOBA                        OH     90012655334
75754515872441   ZELIZABETH   NEWMAN                       PA     90001255158
75755247355947   TABITHA      CHAVEZ                       CA     90009952473
75759878833698   ANDREW       POLLARD                      NC     90013408788
75761158255947   BOBBY        MUNIZ                        CA     90012461582
75761563655947   JANNETTA     LANE                         CA     90011735636
75761773181633   ZEE          SMITH                        MO     90007417731
75762314431433   LUIDBIN      MIRANDO                      MO     90012683144
75762783181643   MARIA        MENJIVAR                     MO     29073567831
75763855141237   WILLIAM      MAXWELL                      PA     51000048551
75764534533651   JENNIFER     INGRAM                       NC     90007745345
75765714655947   REYNALDO     VILLAGRANA                   CA     90014877146
75767277257157   JOSE         VANEGAS                      VA     81048242772
75769148181645   PEGGY        WEST                         MO     29000061481
75773161841227   SARENE       FOSKEY                       PA     51000971618
75773821933628   NICOLE       PARKER                       NC     90013128219
75774431771921   LINDSEY      TAFOYA                       CO     90012154317
75775511655939   ADRIANA      GOMEZ                        CA     90012755116
75777237772479   RAYMOND      DICKERSON                    PA     51003852377
75778295193739   JEFF         COOPER                       OH     90015272951
75778626333699   RICARDO      HERNANDEZ                    NC     90002276263
75778882755966   EDUARDO      ROJAS                        CA     90005858827
75779454141253   JUDITH       VIETMEIER                    PA     51021144541
75783328531433   CHERYL       NOACK                        MO     90008683285
75785114533698   SAMRETH      KEM                          NC     90008621145
75787569433699   SABLE        WITHERSPOON                  NC     12008325694
75788138455966   RAMON        BEDOYA                       CA     90005861384
75788358333698   RAISHA       MERCER                       NC     90014483583
75788721655939   ERIC         MEDINA                       CA     48013847216
75789135755939   MARCALA      LUJAN                        CA     90012561357
75791896933698   BENJAMIN     SIDES                        NC     90014798969
75792755655947   MIKE         JOHNSON                      CA     90003467556
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75793817571921   MEGHANNE         DIAZ                     CO     90014338175
75793957531433   ANDREA           JONES                    MO     90013439575
75794318951323   BOCAR            DIA                      OH     90008943189
75794589493739   WILLY            JENNINGS                 OH     90002515894
75794868685945   PAYGO            IVR ACTIVATION           KY     90011698686
75795695355939   MARISELA         MACEDO                   CA     90009886953
75796133741253   SONNY            RIPPEE                   PA     90014441337
75796558355939   ABEL             SALAZAR                  CA     90013445583
75796567481645   LASHAE           SHAW                     MO     90012775674
75797143941253   TINA             PASQUALE                 PA     90011891439
75797342655966   MAYRA            URIBE                    CA     90005863426
75797619255939   MARTIN           RODRIGUEZ                CA     90000666192
75798111257474   JORGE            LEYVA                    IN     90015561112
75799957831433   JAMI             HINTON                   MO     90013209578
75812238372421   BOBBI            ROBINSON                 PA     51064152383
75813137955947   ROBIN            BRYANT                   CA     90006041379
75813458431443   SAM              MCDONALD                 MO     27569834584
75813749771921   ALEJANDRA        GONZALEZ                 CO     90004247497
75816246871921   RICKY            WILLIAMS                 CO     90013282468
75817152333698   TEDDI SHAUNICE   HOUSTON                  NC     90011131523
75817229255966   VALERIA          SEPULVEDA                CA     90011342292
75817934897123   HEATHER          BRODEN                   OR     90007389348
75818195481645   FERNANDO         GONZALEZ                 KS     29015061954
75818512631433   QUINTIN          TOBIAS                   MO     90007365126
75819238171921   CATHERINE        ROWLAND                  CO     90012602381
75819718381645   ALEJANDRO        NORIEGA                  MO     90012937183
75821262433699   JEMICEO          GRAHAM                   NC     12096632624
75822344871921   MARVIN           BARRERA                  CO     90010783448
75823843371921   JESUS            GARCIA                   CO     90013798433
75825245293767   ALLISTER         THORPE                   OH     90010912452
75825934885945   APRIL            RAGLIN                   KY     67059969348
75827535271921   BARBARA          PEPPER                   CO     32020685352
75829158581633   JENNIFER         GANT                     MO     29003071585
75829175831433   MARK             JHOW                     MO     90012411758
75829461881645   CONNIE           BROWN                    MO     90010434618
75831927171921   RODERICK         OWENS                    CO     90013199271
75832166893739   COURTNEY         LUNSFORD                 OH     90013621668
75832358771921   MICHELLE         MEAD                     CO     90013623587
75832985533698   JAMES            KEMP                     NC     90011349855
75833968681645   KHALIL           WARE                     MO     90014879686
75835556981645   JONATHAN         RODRIGUEZ                KS     90014935569
75841139593739   NANCY            CARROLL                  OH     64595071395
75841413333699   SHEREKA          THOMPSON                 NC     12008344133
75842417481633   NALLEY           ROSARIO                  MO     90000114174
75842468733698   EMMANUEL         ALVARAZ                  NC     90001174687
75844374271921   RAYMUNDO         MORALES                  CO     90010333742
75844833441227   CLAY             SCHOEDEL                 PA     90007278334
75846453471921   DERRICK          BOSCH                    CO     90014744534
75846824972421   PAMELA           BROOKS                   PA     51034388249
75847455593739   AMANDA           WIESEMAN                 OH     90012724555
75848252231443   MICHAEL          LANG                     MO     90010302522
75848338181643   RENE             FLORES                   MO     90005083381
75849572641253   JOHN             MCKEEVER                 PA     51032905726
75852456431468   RONALD           TOWNS                    MO     90010894564
75853273955939   SHAWN            DEPRIEST                 CA     90005322739
75853939891962   MARY             BARNES                   NC     90010389398
75854496955947   SONIA            HERNEANDEZ               CA     49063854969
75855752371921   ZACHARY          MUNCH                    CO     32057677523
75856853557157   MARK             TIMBERLAKE               VA     90001708535
75857236133698   RENEE            STATON                   NC     90001942361
75861363541237   CHRISTOPHER      DEPAOLO                  PA     90011103635
75862167386433   ELIZABETH        OLPADE                   SC     90015091673
75864572893739   SAMANTHA         SWANEY                   OH     90013465728
75865793341237   GLADYS           ROWSER                   PA     90010687933
75867123685995   BRANDI           COYLE                    KY     90002551236
75868141393739   STEPHEN          FORBES                   OH     64535791413
75868743155947   AIOTEST1         DONOTTOUCH               CA     90015117431
75869713555939   DAVID            MARTINEZ                 CA     90012987135
75871755955939   MIGUEL           RAYA                     CA     90015607559
75873346881645   TODD             BEHR                     MO     90012573468
75873683986443   DENISE           STARKS                   SC     90014686839
75873689131443   BARBARA          MULLER                   MO     27524366891
75875392693739   RYANE            WILLIAMS                 OH     64583773926
75876757155939   RYKER            RODRIGUEZ                CA     90010397571
75877316155947   JOHNNY           HOLLINGSWORTH            CA     90009863161
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75878491731433   MONYA        RIDEOUT                      MO     90005434917
75881988971921   JONATHAN     RODRIGUEZ                    CO     90010889889
75882539131433   VANITYE      BRADFORD                     MO     90011425391
75882572184336   SELINA       TURNER                       SC     90004675721
75883533972421   EMMY         DEPOLO                       PA     51069575339
75886581355947   BRANDY       HICKS                        CA     49050635813
75886664131433   MATIKA       KELLY                        MO     27507916641
75888563155939   EDUVINA      BARAJAS                      CA     48066125631
75892195472479   FRED         MILLER                       PA     51075411954
75892782971921   JOHNATHAN    DIAZ                         CO     90015287829
75894146957474   JONATHAN     MILLER                       IN     90015601469
75894862755947   BRISEYDA     ENRIQUEZ                     CA     90012278627
75896895355947   JAMES        ROMLEY                       CA     90012418953
75897115441253   GEORGE       BRICE                        PA     90013411154
75897866955991   CHIA         YANG                         CA     90006528669
75897921241253   JOY          JOHNSON                      PA     90014499212
75899435781645   ANTHONY      ROWDEN                       MO     90004414357
75911924871921   PATRICK      ANOSIKE                      CO     32064579248
75912531431447   MICHELE      ROBERTS                      MO     90002515314
75914129855947   JOSE         CARDENAS                     CA     90003431298
75914516451325   TANIA        REYES                        OH     90012395164
75915549641253   BRIAN        GRIFFIN                      PA     90001055496
75915969355966   ANNABELL     MENDOZA                      CA     90006489693
75916617731432   SHANNON      FOSTER                       MO     90000116177
75916654731433   MATT         LACKEY                       MO     90012426547
75918285441253   MELISSA      GIL                          PA     51059562854
75919522833699   DEHAVELYN    WILSON                       NC     90004525228
75919745861927   DANIEL       ESCOTO                       CA     90014357458
75922787293739   SUE          WATSON                       OH     64561117872
75922916441253   MICHAEL      SWEENEY                      PA     51043519164
75923291372421   JEREMY       NEIDIGH                      PA     51075752913
75923947731433   JULIA        ALLEN                        MO     90004229477
75924123881645   LARRY        CROUSE                       MO     90013071238
75924147655957   ELSA         GONZALEZ                     CA     49077351476
75924171991572   JULIAN       LOPEZ                        TX     90007611719
75924693533698   ASHLEY       HENDERSON                    NC     90005206935
75925263371921   JENN         SPIELMAN                     CO     90003502633
75925381433698   JAMEL        WILLIAMS                     NC     90011133814
75925687133698   KRYSTAL      ROSSER                       NC     90014856871
75926735372479   TRAVIS       PETTY                        PA     51098377353
75927772441237   JEFF         SCOPEL                       PA     90003017724
75928252381633   ADRIANE      BROWN                        MO     90007742523
75928432793739   BRUCE        MATHENY                      OH     90010954327
75934571941253   MARGARET     WALKER                       PA     51034325719
75934998455947   AVER         MOREHEAD                     CA     90014669984
75935343241237   QUILA        SULLEN                       PA     51096613432
75935455641253   LASHAWN      ABRAHM                       PA     90014544556
75936463355947   ADEL         ABDULLA                      CA     90000234633
75936597721771   MARTINEZ     RAMOS                        IL     90015445977
75936834771921   MARIO        VALLEJO                      CO     90013038347
75937438181643   KEVIN        FOLAND                       MO     29071714381
75938342951323   FILEMON      MARTINEZ                     OH     66073203429
75939128331443   JUDITH       HUNTER                       MO     90001311283
75939224351533   CINDY        COX                          IA     90006902243
75941628755947   ARACELI      PIMENTEL                     CA     90014386287
75942995281645   THOMAS       WALLACE                      MO     90013289952
75943854493739   JAMES        WEISGARBER                   OH     64532588544
75944437881645   MARVIN       MEYER                        MO     29014184378
75944716693739   AUNDREY      CARTER                       OH     64543247166
75945292633631   CAROLYN      CALE                         NC     90008152926
75945569371921   ELOY         CHAVEZ                       CO     90012115693
75945964472421   SUSAN        GRIMM                        PA     51027539644
75946178941237   ELLEN        JONES                        PA     51091931789
75946216181645   BLANCA       REYES                        MO     90013942161
75946958172441   JOHN         SPROTT                       PA     51015449581
75947386931433   VINCENT      DITCH                        MO     90014843869
75947671533699   ANNIE        WITHERSPOON                  NC     12070276715
75949649431443   JASPER       GRIPPI                       MO     27580806494
75949653971921   MASADONIO    SANDAVOL                     CO     90007266539
75951899557474   ISRAEL       LUNA                         IN     20596008995
75952319941237   JESSICA      COBBS                        PA     51028413199
75952677731433   NIKKI        OWENS                        MO     90014716777
75953283541253   ENID         GREEN                        PA     90013432835
75954873281633   TERESA       HUBERT                       MO     29025658732
75954891455947   VERONICA     ZAVALA                       CA     90005538914
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75956158955966   DESIREE         PONCE                     CA     48096161589
75956177633698   REGINA          COLE                      NC     90014091776
75963143585945   BRITTANY        MERRILL                   KY     90009771435
75963269741237   TIFFANY         GARRETT                   PA     90014852697
75963679841253   MARSHALL        JARRETT JR                PA     51039416798
75964248785945   ERNST           HALE                      KY     90011712487
75964463372478   HEATHER         NOVOTNY                   PA     90012684633
75965639731432   HEATHER         DECKER                    MO     90000116397
75967557893739   DALE            KING                      OH     90013755578
75967842381633   CORA            FAYNE                     MO     29087708423
75968791741227   DAVID           LIPPERT                   PA     51074327917
75969785593728   JOHN            HIMES                     OH     90011987855
75969844671921   FREE            THROWER                   CO     90009098446
75971773972479   AMY             HILPERT                   PA     51040827739
75972845541237   DENA            CHEATHAM                  PA     51077648455
75972985157157   CINDY           LOMBARDI                  VA     81057549851
75975374281645   HUGO FERNANDO   CASTANEDA DE LEON         MO     90013433742
75976573833698   DEVEELE         ASHBY                     NC     90011135738
75976618655939   FIDEL           GOMEZ                     CA     90015396186
75978242972479   ASHLEY          CHEW                      PA     51078702429
75978753241227   KENNETH         POLLARD                   PA     51013397532
75981274441253   PAIGE           FORD                      PA     90013412744
75981835555947   MONIQUE         RODRIGUEZ                 CA     90014718355
75982613957474   OSCAR           HERNANDEZ                 IN     90015606139
75985167786433   ELIZABETH       OPLED                     SC     90015091677
75985481433698   DARON           DAVIS                     NC     90012334814
75988153131432   FELICIA         KING                      MO     90007661531
75989625641227   JOYCE           KELLY                     PA     51013406256
75991861731451   FELICIA         WOOLENS                   MO     90014818617
75992197744344   RONALD          EDMONDSON                 MD     82087531977
75992317571921   LORENA          RODRIGUEZ                 CO     32058713175
75993214872421   SHAWN           COLEMAN                   PA     51063602148
75995388455947   JERRY           PRICE                     CA     90007483884
75996269257474   WALTER          BERMUDEZ                  IN     90011352692
75998118833699   JOSE            GRANADOS                  NC     12086961188
75998397631432   RITA            HESSE                     MO     27510253976
75998579171921   DON             POMELEO                   CO     32043355791
75999976741253   CLARENCE        MCCALLISTER               PA     51048209767
76111213941253   PASCAL          ETRIPLET                  PA     90011982139
76111387971921   LUCITA          TURNER                    CO     90014493879
76111666755966   ANGEL           GOMEZ                     CA     90002906667
76112291755966   SARA            TAPIA                     CA     90014682917
76112863772479   JEREMY          THEAKSTON                 PA     90014068637
76113685455966   SHERELLE        JOHNSON                   CA     90012756854
76113952971921   JOSHUA          TERRELL                   CO     90014139529
76115494881633   FRANK           MORALES                   MO     90009114948
76115866871921   KEVIN           MCCURLEY                  CO     32027928668
76115875951355   KIMBERLY        POWELL                    OH     90014858759
76119274831432   SANDRA          CLANTON                   MO     27546632748
76119695372479   AMANDA          VANHOOSER                 PA     90014106953
76125157571921   MARK            WALLIS                    CO     90011431575
76125487633698   SONIA           LOCKLEAR                  NC     12035164876
76126253631443   JENNIFER        FALL                      MO     27569732536
76126254241229   ERIKA           SCHULTZ                   PA     90008922542
76128315355939   ULISES          CORTEZ                    CA     48083253153
76129231355947   MARTHA          LOPEZ                     CA     90011192313
76129458151355   ANTHONY         KREIDENWEIS               OH     66070974581
76129541371921   JOSE            CHAVEZ                    CO     90011165413
76132324533699   ROBIN           STANLEY                   NC     12085273245
76133536771921   JULE            SLEDGE                    CO     90006045367
76134582671921   LORI            TAYLOR                    CO     32018365826
76137615431433   JESSICA         EVERETT                   MO     27585726154
76139692755966   BRITTNEY        APPLING                   CA     48075946927
76143436772479   PAMELA          YANKEL                    PA     90012064367
76144426955966   SUZIE           MEDINA                    CA     90008474269
76144775171921   CAROL           ROONEY                    CO     32061527751
76145533371921   JOHNATHAN       MCCORD                    CO     90013015333
76145895541237   MARCI           VASQUEZ                   PA     90011148955
76146196591993   MAYLIN          ELIZABETH MAYAS           NC     90010821965
76146438477585   VICTORIA        SEELE                     NV     90012634384
76146524231433   PAUL            JONES                     MO     90004915242
76146592341233   JILL            GUY                       PA     90010745923
76146894841253   DIONNE          DAVIS                     PA     51065308948
76147872541253   KRISTEN         GARY                      PA     90015018725
76148962751355   GEORGE          SCALF                     OH     90013079627
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76149337381633   FRED         TALTON                       MO     90013493373
76151888155939   CINDY        TORRES                       CA     48004328881
76152971455947   CARLOS       MORALES                      CA     90008059714
76153226161984   PABLO        OLIVA                        CA     46096502261
76153229255947   RICHARD      GAMEZ                        CA     90012462292
76153566325144   ANDREW       HARMON JR                    AL     90013805663
76153974755966   JIMMY        SHILTS                       CA     90011299747
76154382661973   ANGELICA     PRETTY                       CA     90001223826
76155117151355   CHARLES      WYNN                         OH     66095261171
76156684672479   JACOB        TRICKETT                     PA     51010966846
76156769781633   MARIO        AGUILAR                      MO     90012087697
76157334781633   YAZMIN       MARQUEZ                      MO     90011073347
76157472531432   ELIZABETH    LARUE                        MO     90012354725
76161118255966   RAYMOND      MCELWAIN                     CA     90014861182
76161423491993   ATAI         RUIZ                         NC     90006174234
76163788633699   ABEL         ARRIAZA                      NC     12077487886
76163955541237   DEVIN        MORRIS                       PA     90014019555
76165883841253   ERIC         MCDONALD                     PA     51082218838
76165891772479   SHAUN        LENZI                        PA     90014848917
76166418241237   JANICE       CLAYTON                      PA     90013714182
76166696131443   DAEIN        KANG                         MO     27569746961
76167585655939   EFRAIN       CALDERON                     CA     90011675856
76168665831432   KELTON       JENKINS                      MO     90013006658
76168752541227   VERNON       SALTERS                      PA     90012567525
76171119881633   ELIZABETH    SOLIS                        MO     90013471198
76171941541253   STARLENE M   BELP                         PA     90002079415
76172447957144   ISRAEL       VEIZAGA                      VA     90010874479
76172532551355   ANA          GOMES                        OH     66095055325
76172634391572   MARIA        MORALES                      TX     90008356343
76174385633698   SHEILA       DUGGINS                      NC     12073143856
76174914441227   JAMES        WELSH                        PA     90002889144
76175977457563   CLARA        CISNEROS                     NM     90011629774
76177234855966   GINA         GARCIA                       CA     48083352348
76177958455947   IRIS         MUNOZ                        CA     90004449584
76179243171921   LISA         GONZALES                     CO     32045982431
76179617655966   MARLEN       GARCIA                       CA     90014786176
76181989691266   EMMA         GRAHAM                       GA     14592839896
76182423981633   TIRONDA      MOSBY                        MO     29001834239
76182825255947   PANTALEON    MORALES                      CA     49095348252
76182975433698   KING         WONDA                        NC     12040619754
76183831355939   MONICA       CARREON                      CA     90011368313
76184314591993   VANESSA      SHORT                        NC     90007753145
76184819871921   ELIZABETH    ZARAGOZA                     CO     90015518198
76185134993739   NOEL         RODRIGUEZ                    OH     90014631349
76187652971921   NAHIMANA     PROSPER                      CO     32053156529
76187665251322   RAFAEL       CHAVEZ                       OH     90002256652
76187874131432   CHRISTINA    ROBERSON                     MO     90011238741
76188214293739   ANGELA       TURNER                       OH     90012872142
76188266133699   GUILLERMO    GARCIA GUTIERREZ             NC     90005542661
76189639355966   MARIA        CISNEROS                     CA     90014786393
76191452671921   EDWARD       HONG                         CO     90009634526
76193666355966   MELISSA      MEJIA                        CA     90014786663
76194531593739   SARGENT      ENGLE III                    OH     90013935315
76195681655966   CHERRY       TERRY                        CA     90014786816
76196681655966   CHERRY       TERRY                        CA     90014786816
76197674181621   MELANIE      GROOMS                       MO     90000716741
76198161793739   WANDA        LAI                          OH     90012451617
76199527171921   CLESA        JOHN                         CO     90009995271
76212144931621   KRYSTAL      SOLORIO                      KS     90006391449
76212448571921   ISIDOR       WILLIAMS                     CO     90012364485
76213126633698   MARVIN       WILLIAMS                     NC     12069451266
76213876281633   MEGAN        HELE                         MO     90010168762
76213968931443   STEWART      MICHAEL                      MO     90007039689
76215827231432   CHARLOTTE    GREEN                        MO     90009978272
76216187341237   JEJUAN       FLUNORY                      PA     90012061873
76217894871921   JOSHUA       GUTIERREZ                    CO     90007998948
76217896191993   MICHAEL      HELMS                        NC     90006478961
76218157271921   EDMUND       GRIME                        CO     90012901572
76218857555947   OFELIA       WELCHOR                      CA     90000268575
76219691171921   ARMANDO      RAMIREZ                      CO     32089636911
76219895581633   BRIANNE      MILLIGAN                     MO     29079738955
76221452831433   JAMES        WALLS                        MO     27592394528
76222316741237   JUSTINE      SHAFFER                      PA     90006073167
76223272541237   ANTHONY      FASULO ROBERT                PA     51005362725
76224224181633   MEGAN        BOND                         KS     90013662241
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76224262871921   GABRIELA     FELIZ-GAXOILA                CO     32065752628
76226313572479   BRADLEY      MASON                        PA     90012973135
76226374541253   MICHAEL      SCHACHT                      PA     90010263745
76228266841237   MAURICE      WARREN                       PA     51092332668
76228736172479   BRANDYN      BROWN                        PA     51086357361
76231179971921   JOSEPH       SMITH                        CO     90015211799
76231963493739   ERIC         PATTERSON                    OH     90010899634
76232873972479   CRIS         MARTIN                       PA     90013718739
76233223441227   PATRICK      SMITH                        PA     51051102234
76233724755966   ELVIA        VILLARREAL                   CA     90014807247
76233853331432   JOHN         SMITH                        MO     90003538533
76234468255939   KARINA       CAMPOS                       CA     48026744682
76234753966142   CARLOS       DAVIS                        CA     90013667539
76234917431432   KATRINA      MCCRAY                       MO     90012669174
76236611891849   MONICA       MILLER                       OK     90011176118
76237373961973   ROBERT E     ROAHRIG                      CA     90006373739
76237547855966   LETICIA      DEGUZMAN                     CA     90013255478
76237894851355   DIONNA       MOORE                        OH     90005448948
76241375891935   CARLOS       MORALES CIFUENTES            NC     90008203758
76241659933698   ESTEBAN      GUILLEN                      NC     90001636599
76242172433698   KATHY        RICHARDS                     NC     90000861724
76242447871921   BRITTANY     STEPHENSON                   CO     90003244478
76242817741253   SHYLA        MITCHELL                     PA     90011998177
76242957471921   GLORIA       LESSO                        CO     32098299574
76243482555939   JOSEFINA     ALEJANDRE                    CA     90013744825
76245674691993   CHRIS        ALLEN                        NC     17049656746
76245886471921   CAMERINO     ARZATE                       CO     90000218864
76246795881633   DANIELLE     RIPPLE                       MO     90012797958
76247946871921   HENRY        WAFER                        CO     90010149468
76249962642537   MARIO        BELLO-MEDINA                 WA     90015499626
76251663281633   GABY         OLALDE                       MO     29004196632
76251789155947   WILLIAM      YBANEZ                       CA     49098617891
76254534355966   ERIKA        TEJEDA                       CA     90014795343
76254974141237   ANDREA       KISH                         PA     90012989741
76255517855947   JODYANN      OSBOURNE                     CA     90009355178
76255626633626   EFRAIN       APARICIO                     NC     90015606266
76256941341227   VICTOR       NOEL                         PA     51017889413
76257264455928   NORMA        HUNTER                       CA     90000452644
76257675351368   EARLIENE     MADISON                      OH     90011056753
76259331351391   MARQUIA      WILSON                       OH     90008413313
76262829241253   BEDFORD      TRANSPORTATION               PA     90010088292
76262883455947   EL           BLUE                         CA     90012858834
76263454441253   JAMIE        WHISENHUNT                   PA     90005734544
76263754155966   STEPHANIE    SWONGER                      CA     90014807541
76264853941253   MYAH         LOWRY                        PA     90006328539
76264949441253   CHARLES      SPENCER                      PA     90014679494
76265584281633   HAJAH        HAJAH KAMARA                 MO     90014155842
76265614755966   JENNA        REED                         CA     90014796147
76265871651355   SHANNON      VEHR                         OH     90012118716
76271466191941   MYSHAUN      FOGG                         NC     90008884661
76272322691522   ALONSO       RIVAS                        TX     90010823226
76272486951355   MARC         MINTER                       OH     90010794869
76273165372479   JOANNA       ZELINSKY                     PA     90009901653
76273414355947   MICHELLE     REA                          CA     49070024143
76273683333698   SHAWN        HENRY                        NC     90010176833
76274117131432   TIN          JONES                        MO     90013121171
76275312381633   TIMOTHY      MCHUDSON                     MO     90013623123
76277857381633   MOLLY        JONES                        MO     90012388573
76278669591993   ARENA        RAMSEY                       NC     90010026695
76279356972479   ROBERT       LAATU                        PA     90014603569
76279893331432   RHONDA       WEBER                        MO     90000578933
76282242451355   MICHELLE     TSCHEINER                    OH     90014462424
76284778393739   TAMEIKA      JONES                        OH     90013287783
76284998572479   GREG         BARR                         PA     51026759985
76286117955947   SAMANTHA     GLENN                        CA     49000771179
76286333472479   JOHN         GOOD                         PA     90013583334
76286563141227   DAVID        LESNESKI JR                  PA     51014745631
76286741841237   DALE         MOORE                        PA     51086707418
76287365391572   MAYRA        ALVARADO                     TX     90010003653
76288235193739   DAVID        STROHOFER                    OH     64539812351
76288798241237   EARNEST      FRAZIER                      PA     51092217982
76288952955966   GARBIL       GARCIA                       CA     90014419529
76291741181633   FRED         HARRIS                       MO     90011437411
76292987691993   SANDRA       WILLIAMS                     NC     17044269876
76294884781255   MS KENGELA   BAKER                        KY     90002638847
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76294898741253   JOHN         ARLET                        PA     90013908987
76295163655966   GABBY        VILLA                        CA     90008941636
76295463491993   ARMIDA       JIMENEZ                      NC     90006494634
76295853931432   ROSEMARY     GARTH                        MO     90013608539
76296716255966   JESSE        RODRIGUEZ                    CA     90014797162
76296853931432   ROSEMARY     GARTH                        MO     90013608539
76297948231432   DONNELLA     FUTRELL                      MO     90014739482
76298491641227   SEAN         JONES                        PA     51055874916
76298632255939   CHRISTIAN    RODRIGUEZ                    CA     90009776322
76299491641227   SEAN         JONES                        PA     51055874916
76299733255966   LEANDRO      NUNEZ-RODRIGUEZ              CA     90014797332
76299864255939   PABLO        JIMENEZ                      CA     48018258642
76313286171921   ALEJANDRO    GARCIA                       CO     90015172861
76313587581255   KATHY        MAERTZ                       CA     68064885875
76313683855966   FRANCISCO    AVALOS                       CA     90006806838
76315191893739   REGINALD     WILLIAMS                     OH     90008971918
76316514541227   LAMAR        PHILLIPS                     PA     90002355145
76317651655966   IAN          WOCUM                        CA     48003016516
76317672955939   TOMAS        PIZANA                       CA     90006606729
76318425641227   WESLYNN      JONES                        PA     90004334256
76318624855939   RAFAELA      LOZANO                       CA     90005196248
76319728255966   CARLOS       ZEPEDA FLORES                CA     90006807282
76323176755947   YESSICA      RODRIGUEZ                    CA     90013831767
76323834141227   KARRI        THREETS                      PA     90006378341
76324457555966   SANDRA       ORTEGA                       CA     48034034575
76324683393739   HELENA       SHEPHARD                     OH     90001956833
76324997891993   SHELICIA     DIXON                        NC     90006499978
76325187655939   YULIANA      GARCIA                       CA     90010711876
76326989291993   CONSWELLA    PLEASANTS                    NC     90011129892
76327625855957   APRIL        JAURIQUE                     CA     90007756258
76327844471921   DWAIN        DAILY                        CO     90015268444
76331277855956   GABRIEL      A ALVARADO                   CA     49096612778
76332178771921   MONICA       MYRICK                       CO     90003761787
76333897131432   ANJANETTE    SPIKES                       MO     90014648971
76338166131432   JANNICE      BARTEE                       MO     27501831661
76339194155939   GREG         TORRES                       CA     90006921941
76339336571921   LAURA        DUFF                         CO     32076943365
76339863851355   NEISHA       SCHIBLEY                     OH     66004318638
76342939472479   TRACY        AMATI                        PA     90014469394
76344339572479   CECIL        GROW                         PA     90013233395
76344694771921   MARIA        RAMIREZ                      CO     90013376947
76345253231432   NATARRA      TRIPLETT                     MO     90014702532
76346746693739   MICHAEL      GARRISON                     OH     64592427466
76347287351355   BRITTANY     HOLLANDSWORTH                OH     90013042873
76348985461938   TALAL        JABBO                        CA     90003529854
76351353555939   CONNIE       JURADO                       CA     90008083535
76353961371921   VANESSA      RODRIGUEZ                    CO     90013839613
76354475272474   JAMES        STEWART                      PA     90001934752
76355183872421   JAMES M      IAPALUCCI                    PA     51028191838
76358334672441   TRIKYNA      TURNER                       PA     51097813346
76358522991993   AMIE         LLOYD                        NC     90008405229
76361446241237   ALEXIS       YOUNGER                      PA     90011114462
76361561841237   ALEXIS       YOUNGER                      PA     90013335618
76361842951355   LINDA        FANTETTI                     OH     90008228429
76362288172479   COURTNEY     HALL                         PA     51067592881
76362899855947   SANDEEP      KAUR                         CA     90015588998
76363632155947   MELVIN       BARRIENTOS                   CA     90014396321
76364586691993   SHIRLEY      RUTLEDGE                     NC     90009785866
76365698841227   CAVACINI     THOMAS                       PA     90003706988
76366958741237   MELISSA      STALEY                       PA     90012029587
76368388231432   IESHIA       LOMAX                        MO     27581313882
76369161271921   SANDRA       ORTEGA                       CO     32049421612
76369252921664   BARBARA      DICKINSON                    OH     90014112529
76369623255982   JUAN         MORALES                      CA     90011666232
76371735241227   CRYSTAL      GATCHIE                      PA     90000397352
76371779351355   TRAMELL      JACKSON                      OH     90012067793
76372154955966   RACHEL       VELASQUEZ                    CA     90003061549
76374287571921   LUKE         BALDWIN                      CO     90009092875
76375162455966   CHARLES      HERRINGTON                   CA     90014861624
76377191591993   LYDIA        JOSEPH                       NC     17023611915
76377236871921   DARIUS       COX                          CO     90014572368
76379513655966   LINDA        GEORGE                       CA     90008425136
76381479172479   MARSHA       KARLOWSKY                    PA     90004444791
76382363231634   EDWIN        MANDELA                      KS     90013873632
76383393371921   STORMI       EATHERTON                    CO     90009603933
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76384925541237   WALEAH       GRIFFIN                      PA     90003549255
76385632493739   ROSEMARY     WITMARSH                     OH     64549596324
76385638493739   KEENAN       BROWN                        OH     90013936384
76386517141253   TINA         KREIL                        PA     51096495171
76387724872479   PATRICIA     BURKETTE                     PA     90005247248
76388211741227   JOHN         MASON                        PA     90006342117
76389121572479   RENEE        ANDERKOVITCH                 PA     51089461215
76391938455947   MICHELLE     URENA                        CA     49051879384
76392862871921   DERRICK      NORMAN                       CO     90000248628
76392922341237   TARTHAN      JACKSON                      PA     90014739223
76395196931443   JOYCE        SMITH                        MO     27568271969
76395383441237   KEVIN        YOUNG                        PA     90010013834
76395826781633   KYRAH        NYAZE                        MO     90012978267
76396871293739   JAVION       HILL                         OH     90014848712
76399472731443   MELVIN       WEA                          MO     90000714727
76414496951355   ANGELA       CLIFTON                      OH     90011084969
76414658293739   MARCIA       LIVINGSTON                   OH     90000536582
76415417861453   JOHN         CITIZEN                      OH     90013884178
76417152641227   ELIZABETH    ZMITRAVICH                   PA     90002051526
76418217255939   ROSITA       GONZALEZ                     CA     90010112172
76418977941242   JOYELLE      BATEMAN                      PA     90010329779
76419543941237   FRANK        WHITE                        PA     90014535439
76421228241237   CHRISTINE    ROCK                         PA     51023502282
76422347671921   JOSHUA       COOK                         CO     90015343476
76423689581633   MICHAEL      SMITH                        MO     90010296895
76425696981633   EMERITA      ORTEGA                       MO     29054336969
76426292171921   RICHARD      CONNELL                      CO     90012692921
76426333831443   YAUNAH       HAIRSTON                     MO     90003313338
76427284331447   GREGORY      MOORE                        MO     90010022843
76427547193728   DEDRUIA      REESE                        OH     90012585471
76428963151355   TISHA        ROCKER                       OH     90013799631
76433392281633   JEAN         THOMS                        MO     90001663922
76433828681633   RANDY        THOMAS                       MO     90012978286
76434159155966   RAQUEL       REYES FLORES                 CA     90014871591
76434255881633   COURTNEY     SIMPSON                      KS     90002042558
76435253355957   VICTORIA     DE LA CRUZ                   CA     90014492533
76435942641253   AMANDA       BOWLING                      PA     90014609426
76437796133699   BARRY        PARRISH                      NC     12005377961
76438567131432   TRENIECE     SUTHERLIN                    MO     90012725671
76442849855947   JACOB        BISTO                        CA     90015098498
76443225741253   SUSAN        PAWARSKI                     PA     51096262257
76443643931432   DAVID        JOHNSON                      MO     90014876439
76443784555939   CARLOS       VALENCIA                     CA     90002957845
76443887571921   MASHAYLA     OPOKU BERKO                  CO     90012678875
76445125241227   KIMBERLY     MAINS                        PA     51088311252
76446191393726   DAVID        CHAFFIN                      OH     90009691913
76447425351355   LINDA        BOSTON RICHTER               KY     90003314253
76451219641237   DEANNA       GARNER                       PA     51078852196
76454323655966   CARLOS       BECERRA                      CA     48062933236
76454585971921   CRYSTAL      BERNHART                     CO     32034965859
76455468955966   OCTAVIO      GUERRA                       CA     90011284689
76457524255939   YURIDIA      GUTIERREZ                    CA     48051315242
76457823793739   VIRGINIA     HUGHES                       OH     64540968237
76458268851355   EDGAR        GABRIEL                      OH     90014652688
76458566393739   PHILIP       LOGES                        OH     64590375663
76458741341253   BYRON        DAVIS                        PA     90006427413
76459458533698   ERICA        MATIER                       NC     90014284585
76459592433698   ERICA        MATIER                       NC     90011305924
76459638572479   ALEASA       WARD                         PA     51054246385
76461142561973   JOE          BATTOU                       CA     90013621425
76463531471921   MARIA        CASTANEDA                    CO     32092425314
76463615693739   MELISSA      STONE                        OH     90010856156
76463916531433   JULIAN       JENKINS                      MO     27554629165
76464737972477   TRACY        BRYSON                       PA     90003557379
76466339355939   ERIC         AMBRIZ                       CA     90011313393
76468367972479   JEFFREY      KENDERS                      PA     51040493679
76469253271921   CLEMENTE     LOPEZ-VIBANCO                CO     90012122532
76469944255966   JONATHAN     SOLTERO                      CA     90012639442
76472291255939   BIANCA       MOLINA                       CA     90011962912
76472572393739   ELIZABETH    SHUPERT                      OH     90009925723
76473967872479   KRISTOPHER   BROWN                        PA     51030359678
76474221191982   RAKILLI      WASHINGTON                   NC     90011592211
76476139931432   RYAN         BLANCHARD                    MO     90010381399
76476298493739   JAMES        BARBOSA                      OH     90007132984
76477294155966   EMILY        DOMINGUEZ                    CA     90010922941
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76477926593739   LLOYD           MCGHEE                    OH     64589609265
76478381536123   DONNA           CASTOR                    TX     90008783815
76478394172479   LAMONT          CLARK                     PA     90014623941
76481425431443   STEPHANIE       BYRD                      MO     27539384254
76482288341253   CASHEY          RIENHART                  PA     90006112883
76484342541237   DARLENE         DOMER                     PA     51090233425
76484835155939   JAMES           THOMAS                    CA     48002068351
76484898641253   MATTHEW         PAWLAK                    PA     90012518986
76485261855939   BLANCA          HERNANDEZ                 CA     90013952618
76486233993739   THERESA         DAVIS                     OH     90014802339
76487117131432   DECARLOS        LOMAX                     MO     90011241171
76489144755966   MARIBEL         LOPEZ                     CA     90014891447
76489677791993   CHERYL          HARRIS                    NC     90005356777
76491134655966   JORGE           MELENDEZ                  CA     90014891346
76492288571921   SIUSAN          FRENCH                    CO     32017862885
76493465241237   DENISE          MURPHY                    PA     51097044652
76494978361924   MAYRA           GARCIA                    CA     90002679783
76495374731432   ALONA           COTTON                    MO     27558033747
76496241972479   LISA            WALKER                    PA     90010122419
76496568471921   KENNETH         BOYKIN                    CO     90014525684
76496675951355   KAREN           BUCIO                     OH     90012466759
76496684871921   REBECCA         VANBUSKIRK                CO     32040916848
76496898651544   DUSTIN          GURWELL                   IA     90014298986
76496939751349   CHRISTINA       HIGHTOWER                 OH     90003979397
76497462972479   HEATHER         MOCK                      PA     90009184629
76497763251355   SHAUNTA         HOLSINGER                 OH     90012427632
76497793991993   CARLOS          CHAVEZ                    NC     90011547939
76498853331432   JOHN            SMITH                     MO     90003538533
76499629555939   ROSARIO         GRANADOS                  CA     90015156295
76511491741253   JON             GOLASHEWSKI               PA     51078314917
76512188755947   SONIA           HERRERA                   CA     90010991887
76512814831432   VINTRELL        RUFF                      MO     90013938148
76515155551355   ANTHONY         NOLEN                     OH     66093681555
76515484671921   DAVID           AGUILAR                   CO     90014434846
76516359941237   DAVID           CURTIS                    PA     90012713599
76516431381633   CANAA           JONES                     MO     90013204313
76517147155947   CHARLIE         VANG                      CA     90003561471
76517894781633   JASON           RIDENHOUR                 MO     29087178947
76519149981633   SARAH           ROBERTS                   MO     90014521499
76519524172479   MICHAEL         LEAVER                    PA     51082155241
76521989291521   RAUL            CAMPOS                    TX     90009439892
76522125621942   DIONE           LANE                      IN     90012941256
76522688255939   JORGE           VERDUZCO                  CA     90009946882
76523479641237   GREGORY         GIACOMINO                 PA     51053794796
76523749933698   SEPTIMIO        FLORES                    NC     12052317499
76523843872479   RACHEL          JASZEMSKI                 PA     90005148438
76526288291993   ROCHELLE        PADEN                     NC     90011552882
76527815471921   DOMOTILA        VIDAL GARCIA              CO     32090868154
76528416631433   CHRISTOPHE      EZELL                     MO     27512534166
76529417284784   JENNIFER        JURKOWSKI                 IL     90004594172
76531172244346   TAYVON          BRANCH                    MD     90015371722
76531572872479   JOSHUA          POPULAS                   PA     90012085728
76532394351355   KISSHIYAH       ISRAEL                    OH     90007343943
76534893691993   MARTIN          GOMEZ                     NC     90011548936
76534977871921   GEORGE          GIBSON                    CO     90014849778
76535123155947   DIANNA          ORTEGA                    CA     49025101231
76535977355939   MARISOL         GARCIA                    CA     48056459773
76536361891993   SHANNA          CLAXTON                   NC     90007903618
76536397177599   MARISOL         DUENEZ                    NV     43016393971
76537242133699   WHITLOCK        DREAMA                    NC     12040462421
76537538155947   XAI             YANG                      CA     49054785381
76539774755997   ERICA           AVINA                     CA     90000307747
76544497131432   GABRIELLE       KELLOGG                   MO     27574984971
76545747755966   JOSE            AGUILAR                   CA     90014947477
76546154755947   ERICA           VALENZUELA                CA     49044511547
76546915581633   EUGENE          STROTHER                  MO     29069179155
76546928555966   MARIA LORENZA   URSULO CUARAO             CA     90014929285
76549871381633   BETSY           GRAHAM                    MO     90011428713
76553861681255   JACKIE          CODY                      KY     68075318616
76553881155939   MATTHEW         MARTINEZ                  CA     48088918811
76554294461998   RUBEN           SOLANO                    CA     90010532944
76556119381633   ODETE           BELTRAN                   MO     90000291193
76557646881633   CHRISTINE       GARGIA                    MO     90012246468
76557886972479   DARLYN          PRINKEY                   PA     51082468869
76557939871921   JACQUELINE      EVANS                     CO     90012649398
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76558876172479   JOE          TIMKO                        PA     51084508761
76559744391993   JACOB        MCINTYRE                     NC     90011207443
76559886972479   DARLYN       PRINKEY                      PA     51082468869
76561273191993   FELICIA      HOWELL                       NC     17008382731
76562986771921   AMY          BRYAN                        CO     90011429867
76564329355947   MAY LEE      XIONG                        CA     90003023293
76564517893786   GREG         LANDER                       OH     90007235178
76564811293739   AMANDA       SMITH                        OH     90013938112
76565165731432   DORIS        DEE                          MO     90014811657
76565865191549   DAVID        ARANDA                       TX     90010638651
76565899357152   JAMA         MOHAMUD                      VA     90000858993
76566295793739   MICHAEL      KRIEGER                      OH     64503762957
76567882355939   ANGEL        FRIAS                        CA     90013498823
76568161193728   ASHLEY       ANTHONY                      OH     64574821611
76568483941237   JACLYN       SEDLAK                       PA     90013394839
76571538671921   CLARENCE     RUFFIN                       CO     32065905386
76574635786436   GILBERT      WELLS                        SC     90014236357
76575337336123   JESSICA      LOZANO                       TX     90001643373
76577643255939   NELY         HERNANDEZ                    CA     90011396432
76578142671921   KATHRYN      MCAN                         CO     90015121426
76582815955966   ALMA         MENDIOLA                     CA     90014948159
76583192741237   SANDY        NIGGH                        PA     90014841927
76583423361982   REBECCA      LOPEZ                        CA     90011644233
76584346741253   ZECHARIAH    WHITE                        PA     90014453467
76584728233698   LISA         HOSKINS                      NC     12063977282
76585797555921   EDUARDO      HERRERA                      CA     90004297975
76586144855947   GRISELDA     GARCIA ESCAMILLA             CA     49038211448
76586759141253   GEORGENE     ISANHART                     PA     90000937591
76587614155939   B            PEREZ-ALVAREZ                CA     90003986141
76588286455964   ANTONIO      TAMAYO                       CA     90008752864
76594331655947   LUCINA       HERRERA                      CA     90014823316
76595715151355   ANTRIA       MCGHEE                       OH     66008217151
76595915141237   SHENEENA     WILMER                       PA     51054479151
76596855531443   KAHDEJA      HAWKINS                      MO     27551658555
76611547554133   ROBERT       HARP                         OR     90013405475
76611597655939   CAROLINA     RUIZ                         CA     90012555976
76612556631432   KARNIESHIA   BARRETT                      MO     90007705566
76613771171921   THOMAS       RUSSELL                      CO     90014477711
76613832731432   AMANDA       FISH                         MO     90014968327
76614754441237   JENNIFER     FISHER                       PA     90000447544
76616751472479   DARLA        BALMER                       PA     90004837514
76616943831432   BREAUNA      WILSON                       MO     90003429438
76617966255947   JAIME        GARCIA-ABAD                  CA     49083709662
76618882641227   DIANA        TORRES                       PA     51081438826
76622738181627   TAJUANE      LISTER                       MO     90000957381
76624662131432   VANESSA      WOODS                        MO     90002026621
76626333351355   JEROMY       FRY                          OH     90013643333
76626795372479   DIANA        EISEL                        PA     51049847953
76627288293739   SAMANTHA     SHILL                        OH     90012872882
76628372972479   BRANDON      KALBAUGH                     PA     90010053729
76631761793739   MICHAEL      MILLS                        OH     90013937617
76631993441237   LASHELLE     BROWN                        PA     90012709934
76632482561938   DIANA        SEMAK                        CA     90013184825
76633955741253   KENNETH      KALOZ                        PA     51011569557
76636268772421   ANDREW       TRAY                         PA     51082232687
76638437491993   MICHELLE     JONES                        NC     90011154374
76639451771921   MARTIN       PADILLA                      CO     32008144517
76639964872479   SHERMAN      ALDERICH                     PA     90013949648
76641352381623   TITUS        LAUDERDALE                   MO     90003943523
76642471131433   DEROND       JACKSON                      MO     90010184711
76642619251355   MILTON       BROWN                        OH     90008866192
76642647131432   JASMINA      DZAFIC                       MO     90002106471
76644993841237   BRANDA       BURRELL                      PA     90006769938
76645956655939   PETRA        REYES                        CA     90013969566
76647419441227   SHARON       BONNER                       PA     90002404194
76648478341237   QUALA        PARKS                        PA     90008064783
76649419441227   SHARON       BONNER                       PA     90002404194
76652213772479   L BYRON      WEST                         PA     90006332137
76652813751355   RAFAEL       SOLIS                        OH     90012088137
76655265651349   AJEKOIYA     ADIGUN                       OH     90009762656
76656261572479   ERIC         CONVERSO                     PA     90013952615
76656287931433   DARREN       EDMONDS                      MO     27558722879
76657645531432   KEITH        WARE                         MO     27521616455
76658666155947   ASHLEE       VARELA                       CA     49008306661
76658996741253   MYAISHA      ROBINSON                     PA     90008849967
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76659133741253   BERTRAND      CARUTHERS                   PA     51020951337
76659522255947   TERRELL       THOMPSON                    CA     90013785222
76661241993739   CHEYENNA      WHITEHEAD                   OH     90012952419
76663488355939   JUAN MANUEL   ARAUJO                      CA     90014324883
76663988131433   CAROL         BRUMGARD                    MO     90002639881
76664997641253   ALEX          DROGOWSKI                   PA     90012519976
76665347755947   ALEX          MIRAMONTEZ                  CA     90008973477
76665682355939   TERRY         WILLIAMS                    CA     90014026823
76666159741253   JOSEPH        HUDYMA                      PA     51093431597
76667824171921   JOSE          ALCONTAR                    CO     32003228241
76668122351355   ZACHARY       STEVENS                     OH     90015141223
76669131881644   JOY           EDWARDS                     MO     90000191318
76669556751355   RENEE         POWELL                      OH     90015205567
76672377755947   GABRIELA      ARRIAGA                     CA     49064903777
76672787472479   JAIME         HUDACHEK                    PA     51086227874
76673377655939   MANUEL        VALLE                       CA     90011313776
76674364551355   NICOLE        DUNCAN                      OH     90013283645
76674989471921   CONNIE        YOUNG                       CO     90012959894
76676895872479   MICHELLE R    MAVILLA                     PA     90003838958
76677354393739   BRIAN         SMITH                       OH     90011033543
76678287171921   FELIPE        PALACIO                     CO     90012122871
76678326133698   DEWAYNE       MORGAN                      NC     12088673261
76678679291563   MARIA         BUJANDA                     TX     90000246792
76678856355939   CRISTIAN      ORTIZ                       CA     90003598563
76678898651355   JARED         PERRY                       OH     66037018986
76679177193739   ALBERTO       ARENAS                      OH     90013681771
76681343531432   CHERISE       MCKNIGHT                    MO     90011243435
76681951171921   MONEKE        FRY                         CO     90000979511
76682851255939   ART           CERVANTEZ                   CA     90012398512
76683613393739   JOHN          MARTIN                      OH     64568676133
76685276155966   SHERYL        JONES                       CA     48003572761
76688354931433   CHAD          HICKS                       MO     27511423549
76688937681633   LASHONDRA     JOHNSON                     MO     90014799376
76692622855939   ROSA          GONZALEZ                    CA     90013756228
76692972941227   TIARA         MCCOLLUM                    PA     90007039729
76693439191586   JUANITA       CORTEZ                      TX     75009944391
76696418593739   DESTINY       HUBBARD                     OH     90011034185
76697375931432   MELVIN        WALKER                      MO     90013253759
76697539955947   CARLOS        HUMBERTO                    CA     90013975399
76699624861984   LOVELYN       ALBANO                      CA     46095216248
76699854671921   LANCE         HANKS                       CO     90015268546
76713587781633   DELILIAH      CURRIE                      KS     90013635877
76714778171921   JON           ELLIOTT                     CO     90004387781
76715227141227   KAYLA         TROVY                       PA     51065022271
76716236933698   SHANDERLEAR   TATE                        NC     90009192369
76717646191892   BECKY         PORTER                      OK     90013256461
76717749455947   CYNTHIA       HERNANDEZ                   CA     90014757494
76717776993739   THOMAS        ADAMS                       OH     90013937769
76718281791586   MARTHA        TORRELOZA                   TX     90010662817
76718486591563   ADRIANA       HOLGUIN                     TX     90006384865
76719983455939   BELINDA       AVILA                       CA     48088369834
76721192841237   MARCUS        MULDROW                     PA     90013471928
76722359141253   ROBERT        WRIGLEY                     PA     90014243591
76723537341253   RAYMOND       CONEY                       PA     90010455373
76724288981633   NOTRE         WILSON                      MO     90004272889
76724372331249   VINCENT       HENRY                       IL     90015273723
76726199851368   SARAH         WEIGLE                      OH     66070401998
76726894155939   FRANCISCO     CORONADO MEDINA             CA     48002608941
76727622255947   JAIR          CHAVEZ                      CA     49085236222
76727856881633   KHASHEME      STOTHER                     MO     29001778568
76728151951355   JAMES         ISABEL                      OH     66034881519
76728329341237   ROSEANN       LUBAWSKI                    PA     51084643293
76732379555939   VERONICA      RODRIGUEZ                   CA     48063383795
76732497493739   ANTHONY       DUHART                      OH     90005054974
76732615241253   JAME          CHOUNAEM                    PA     51082586152
76733173631432   JEREMY        PATTERSON                   MO     90014811736
76734682881633   TOM           SMITH                       MO     90013876828
76735437677524   MICHAL        BEST                        NV     90005064376
76735854451323   GLENNA        BORCHELLT                   OH     66046918544
76737163951349   JOSE          GARCIA-CARMONA              OH     90003531639
76737862281633   JONEA         CHARLES                     MO     90006648622
76738186255947   LUIS          RAIZ                        CA     90013121862
76738355133698   HEATHER       WOMACK                      NC     12001443551
76741213891586   ERICA         ESTRADA                     TX     90002512138
76741376391993   JOSE          MARTINES                    NC     90007073763
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76741478457364   PAYGO         IVR ACTIVATION              MO     90009284784
76742362851355   PATRITA       BRYANT                      OH     90013493628
76742513255947   MIGUEL        CORDOVA                     CA     90014895132
76742688631433   NASSUMA       JABATEH                     MO     27565986886
76743396955947   CARLOS        GARCIA                      CA     90012213969
76744797371921   DARLENE       BOHATCH                     CO     32094567973
76745471181255   JEFFERY       PARKS                       KY     68077234711
76746693193739   DARRELL       ELAM                        OH     64540866931
76749121455947   PEDRO         LOPEZ                       CA     90010131214
76749464255966   DEBBIE        CLAY                        CA     90008014642
76751537771921   KARL          FRONDA                      CO     32002935377
76752179541253   THOMAS        MILLER                      PA     90013661795
76752444672479   AMANDA        LOCY                        PA     90014794446
76754488855939   LORENA        ALCAZAR                     CA     48076574888
76755181371921   JOVANY        CRUZ                        CO     90012411813
76755793531432   THOMAS        PHEGLEY                     MO     90006627935
76755937355939   MARIA         VASQUEZ                     CA     90007639373
76756768631432   SHAYLA        VERGES                      MO     90001757686
76757288571921   BRITTANY      FISHER                      CO     90015162885
76757687655996   GLADIZ        DIAZ                        CA     48003216876
76757814655982   LILLIAN       GARZA                       CA     90006408146
76758985493739   JAMES         WEBER                       OH     90014639854
76762353255946   CANDICE       COLEY                       CA     48032883532
76762379193739   JESSE         ORR                         OH     64579613791
76762433881633   JASMIN        DONAHUE                     MO     90010784338
76764592491521   EDWARD        RUIZ                        TX     90010735924
76766293193739   THOMAS        GUNN                        OH     90012682931
76768273731432   AHMED         LEWIS                       MO     90014682737
76768644771921   PATRICK       CAGLE                       CO     32079086447
76769754231443   MEHEDIN       SALIHU                      MO     27557437542
76772723547987   JUAN CARLOS   SILVA                       AR     90010147235
76773353941237   MARTEL        SISCO                       PA     90014113539
76773389255966   RUTILIO       CHAVEZ                      CA     90012033892
76776274141253   PEGGY         CLARK                       PA     51022262741
76776943881633   LISA          FULTE                       MO     90005829438
76777184836123   MARY          RODRIGUEZ                   TX     90013891848
76781194931432   KEYUANA       RICHARDSON                  MO     27591681949
76782423355939   PAMELA        JUAREZ                      CA     90013794233
76783789293786   SHAY          PENNINGTON                  OH     90013417892
76786454531443   BRANDY        DUNHAM                      MO     27506964545
76787746571921   NATASHA       FLORES                      CO     90007017465
76788641181633   ROBERT        JORDAN                      KS     90013776411
76789478571921   RICHARDS      MICCOY                      CO     90012134785
76793122393786   JOSELYN       WELLMAN                     OH     90004591223
76793886833698   CLAUDIA       MONZON                      NC     90012528868
76795186555939   GUADALUPE     LEON                        CA     48060181865
76795527351355   YULIYA        BUI                         OH     90012595273
76797194631432   CARTER        BLUE                        MO     90009701946
76797779831433   KALVIN        DAVIS                       MO     90007237798
76798775741237   DANYETTE      HARRIS                      PA     51046607757
76812276281633   LETITIA       ENGLISH                     MO     90010392762
76812325271921   CRISTIAN      LOPEZ                       CO     90012083252
76812983841237   MICHEAL       SMITH                       PA     90000159838
76813946851391   TERRENCEL     WALKER                      OH     90013979468
76814385384381   TARLOWSKI     LAUREN                      SC     19066643853
76814849391225   CHARLES       HAMILTON                    GA     90001828493
76815972651355   OLANDAS       JOHNSON                     OH     90006479726
76816172641237   THOMAS        YOCUM                       PA     90013441726
76816869855947   EVELYN        GIL                         CA     49009978698
76817856131432   TRACY         SMITH                       MO     27511618561
76818127171921   BRANDON       LEE                         CO     90015141271
76818578955947   CHRISTINA     LARSEN                      CA     90010795789
76819299141253   RANDY         THOMPSON                    PA     90013262991
76819336693739   MAC           WARD                        OH     90010543366
76819389793739   NATURE        ROSS                        OH     90013243897
76822374241227   FRED          FRICKS                      PA     51094113742
76823772355966   RAYMOND       MONTEJANO                   CA     90015027723
76823917972479   MARSHA        CHAMBERS                    PA     90002439179
76824125871921   JOSE          ALVARADO                    CO     90001691258
76829313693746   KYLE          SCANTLAND                   OH     90015343136
76829521955947   VALENTINO     AGUERO                      CA     90014665219
76831195841253   CONSTANCE     STEVENSON                   PA     90012501958
76832924833698   ANDREA        TYSON                       NC     12036929248
76833385341227   JOSEPH        LINDAHL                     PA     51069453853
76835549144344   CARLOS        MURILLO                     VA     82038935491
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76835818472479   SUSAN        CALDWELL                     PA     90010168184
76836257355939   DIANA        RUIZ                         CA     48086142573
76841497271921   SANDY        HUGHES                       CO     90010044972
76842396872479   RANDY        EARLEY                       PA     90002543968
76842619541253   SHANA        SCHILLER                     PA     90013026195
76844897331432   CHERON       WALLACE                      MO     90011238973
76845795655939   JOSE         MENDOZA                      CA     90012547956
76847278633699   SHAKIRA      CAMPBELL                     NC     90005842786
76847677951355   JAMES        BRANTLEY                     OH     90000186779
76847719491993   JAQUELINE    MIDENCE                      NC     90011237194
76847963331453   TONITA       EDLEY                        MO     90008669633
76855212731432   RYAN         KAVANAGH                     MO     90014802127
76856971933698   LINDA        LEE                          NC     12008269719
76857699955939   SIOMARA      MENDOZA                      CA     90014076999
76857814641237   JOSH         MARLING                      PA     51006068146
76858646793767   DERION       JOLLY                        OH     90004386467
76859325555939   MYRA         ONTIVEROS                    CA     90012093255
76861272871921   THOMAS       SCHREPEL                     CO     32091512728
76862398155947   JESSE        GUTIERREZ                    CA     90013803981
76862811233626   HFHHH        HNJ                          NC     90015438112
76862998541253   JASON        DEMMIE                       PA     90014559985
76864535451355   RICCA        PETTIJOHN                    OH     90012505354
76864598833698   NATICOLE     SURGEON                      NC     12012415988
76865999255947   ALYSSA       GARZA                        CA     90015389992
76866389793739   ROBIN        COATNEY                      OH     64522463897
76866898581633   MARY         MESTETH                      MO     90007328985
76867593851355   SHAMIER      CARPENTER                    OH     90015195938
76868897355939   ALBERTO      GOMEZ                        CA     90003148973
76869112171921   ELIAS        GONZALES                     CO     90004741121
76871738161997   GEORGE       LEWIS                        CA     46084827381
76872714655947   LETICIA      ZAMARRIPA                    CA     90003847146
76873569555964   LETY         SAUCEDO                      CA     90001145695
76873711155947   TAMEKA       CROCKETTS                    CA     90014337111
76874147933643   ARISTIDA     TORREZ                       NC     90011661479
76874955955947   JUAN JOSE    GONZALEZ-CRUZ                CA     90009409559
76875177893739   SARAH        MATHENY                      OH     64500791778
76876863284336   TANEEKA      WRIGHT                       SC     90008628632
76877529431426   TIMOTHY      NORATH                       MO     90010685294
76877631451355   GIOVANI      SALGADO                      OH     90012946314
76878684472479   ROBERT       NICHOLS                      PA     90009586844
76878974255939   MARIA        MADUENA                      CA     90008639742
76879972341227   MICHELLE     MURRAY                       PA     51095459723
76879997571921   STEVEN       GURALE                       CO     90007689975
76881591372479   AMY          GREGRIS                      PA     90009585913
76882446141227   DOROTHY      HARPER                       PA     51085694461
76882937871921   JOSLIN       SCANNELL                     CO     90012229378
76883276841253   MICHAEL      VIDNIC                       PA     90011982768
76883462191924   ELVIRA       ALVAREZ                      NC     17096724621
76884214471921   CHARLES      MAIER                        CO     32092842144
76884884481633   REITA        ROE                          MO     90003328844
76886169572479   PRESCOTT     PRANKE                       PA     90012231695
76886495371921   KURT         TIPTON                       CO     32092844953
76886518341237   ASHLEY       MUSTIN                       PA     90001765183
76887852241253   MONIQUE      KINSEL                       PA     51027168522
76888166955966   ALICE        FERRAZ                       CA     90007371669
76888535341253   CHARLES      MCDONALD                     PA     51082095353
76888796755947   JESSICA      PADROSA                      CA     90012197967
76891381473233   VIVEN        SHAW                         NJ     90014773814
76892233155966   LEONARD      GARCIA                       CA     90011242331
76892514191522   LUIS         CONDE                        TX     90008745141
76893735755947   SHAWNTEE     WHITFORD                     CA     90011167357
76894495972478   JEFFREY      HOUSER                       PA     90007814959
76894658881633   LANELL       DONALDSON                    MO     90009816588
76894966451355   LISA         STIDHAM                      KY     90013799664
76896495341253   FRED         SHORT                        PA     51012134953
76896569155946   MARIO        COLUNGA                      CA     90012095691
76912679293739   ANGIE        GIBSON                       OH     90010546792
76916366851337   PATRICIA     EDWARDS                      OH     90011773668
76919545684329   DOROTHY      BLACKBURN                    SC     90004865456
76924675951355   KEYASHA      SPIKES                       OH     90009706759
76927215631432   DARONTE      JOHNSON                      MO     90014802156
76927371263669   DIANA        MANN                         MO     90013413712
76927785451326   MATT         STEWART                      OH     90002677854
76928743655947   GUADALUPE    VILLANUEBA                   CA     49085447436
76929121355947   DIANA P      FELIX                        CA     49048581213
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76929298171921   GUADALUPE    PEREZ                        CO     90015352981
76931877441227   NATALIE      WAGNER                       PA     51046598774
76933425631443   LAURA        DUDLEY                       MO     90012574256
76935878193739   PARIS        HILL                         OH     64526858781
76936199171921   COUNTRY      CAT                          CO     32016641991
76936874641237   KIRK         DUVE                         PA     90008018746
76937462561981   REYNA        REBOLLEDO                    CA     90008424625
76937487551355   MARY         JORDAN                       OH     90010794875
76937913691993   TENISHA      JORDAN                       NC     90007309136
76939777777382   ADAMA        LOVE                         IL     90008227777
76941193931432   VAUGHN       SPIVEY                       MO     90013941939
76941519655939   PRICILLA     NARVAEZ                      CA     90014915196
76943566593739   JOHN         VANDERPOOL                   OH     90012605665
76945178931443   E            WHITE                        MO     90011791789
76945927241237   JOANNE       TRUSCHINGER                  PA     90012759272
76949548131432   RAI          MONI                         MO     90012465481
76949718641253   JEREMY       SONNER                       PA     90014777186
76955237641227   BRITTANY     JONES                        PA     51029342376
76955516931432   INDIA        HATCHER                      MO     90006935169
76958959472479   MARLA        SILLINGS                     PA     51093359594
76961789693728   SHAYLA       SHEARER                      OH     90001077896
76962785972479   HEATHER      BUCH                         PA     51006507859
76963955751355   SARRA        ZIMMERMAN                    OH     66065839557
76964787991566   RAMIRO       OZAETA                       TX     90001597879
76965776651355   TONYA        MOBLEY                       OH     66020467766
76969486755939   ALMA         ROSA CASTELLANOS             CA     48011684867
76969644731243   THERESA      MATHEUS                      IL     90007546447
76971755872479   JEFFREY      BITTINGER                    PA     90014187558
76972198531458   GILBERT      LLOYD                        MO     90001111985
76972533872479   LOU          MARINOS                      PA     90001375338
76973919951355   EMILY        CAIN                         OH     90014859199
76974446255947   CONRAD       DELMVNDO                     CA     90007114462
76974837171921   SANJUANA     GONZALEZ                     CO     90010648371
76975584781633   ROBERT       JACOBS                       MO     90008485847
76978536755947   MEGAN        BONMAN                       CA     49091625367
76978784271921   TONYA        DIEHL                        CO     90011067842
76982341793739   BARBARA      TRENT                        OH     90012423417
76982934155939   EILEEN       CARROSA                      CA     90011489341
76983548155947   TERESA       MARTINEZ                     CA     49021055481
76984457255939   RAFAEL       SEBASTIAN                    CA     90013794572
76985924693739   DEANA        MYERS                        OH     90005909246
76987842641227   NIKKI        SIMON                        PA     51034038426
76988821191969   HUGO         ANGULO                       NC     90012218211
76989318291563   MIKE         TORRES                       TX     90007683182
76989466471921   TANYA        BRYANT                       CO     90012474664
76989483955939   ESPETACION   QUINONEZ                     CA     90014494839
76992491141253   IMOGENE      JOHNSON                      PA     51013734911
76992967655947   LYNETTE      SANDOVAL                     CA     90012589676
76993487157144   SONYA        WATKINS                      VA     90013144871
76995765193739   ROBYN        ROBERSON                     OH     64519637651
76995811591993   MONICA       AGUIRRE                      NC     90011248115
76996896791549   SERGIO       LARA                         TX     90012458967
76997197372479   AMANDA       AUSTIN                       PA     51095571973
76997447891578   MELISSA      MARTINEZ                     TX     90012964478
76997949161964   GEORGE       SNYDER                       CA     46085899491
76998345951355   KEYANA       BROWN                        OH     90012863459
76999122855939   YADIRA       RODRIGUEZ                    CA     90003601228
77111378131443   BRIANNA      LEE                          MO     90012923781
77111811341253   ISRAEL       HILL                         PA     90011188113
77111864955969   TARA         WILDER                       CA     90007568649
77112954551368   RENY         GRAY                         OH     90004389545
77114653651391   RONDA        TUSSEY                       OH     90001566536
77115833381633   DAVID        WILLETT                      MO     90014538333
77116156931443   AMBER        DANCER                       MO     90011251569
77117174431432   TERINE       LAMB                         MO     90014831744
77117932671921   AMY          DUTCHER                      CO     90014279326
77118518891588   RODLFO       LOPEZ                        TX     90010805188
77119779791588   DARIO        RODRIGUEZ                    TX     90002817797
77122148891588   JAVIER       AGUILAR                      TX     90014901488
77122357881633   YOLANDA      WALKER                       MO     90013443578
77127572144344   MARIA        CONDO                        MD     90015475721
77128166555951   JONI         STEINAUER                    CA     90007691665
77128318872477   GWENDOLYN    MOORE                        PA     90003563188
77128978691588   MARIA        RODRIGUEZ                    TX     90007889786
77128987491522   ESMERALDA    CASILLAS                     TX     75064039874
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77131432791588   JUAN         MARTINEZ                     TX     90000334327
77132368371933   RICK         GRIEGO                       CO     90002683683
77134617971937   KAYLA        COLE                         CO     90010036179
77135557755947   HUBER        MEDRANO                      CA     90013875577
77135828731433   CHRISTY      HUNT                         MO     90006968287
77135915731443   ANGELA       ALLEN                        MO     90014179157
77138372955969   CARMEN       DIAZ                         CA     48047423729
77141332433699   CLAUDE       GOODWIN                      NC     90005973324
77142566141227   DONNA        SCOTT                        PA     90002045661
77143229133698   CHARMYA      THORNTON                     NC     90014012291
77143369272479   ALEXANDRIA   ALLEN                        PA     51091163692
77143426971921   CAROLANN     VIGIL                        CO     32091004269
77143589193739   KIYA         TESS                         OH     90009335891
77145865121759   TAIA         WILLIAMS                     IL     90013288651
77148544491588   HUGO         JARAMILLO                    TX     90001615444
77149175241227   MICHELLE     HANLIN                       PA     51043921752
77149445581633   FIDEL        BRITO                        MO     90014464455
77151828831432   SHANRQUIK    SHAW                         MO     90014008288
77152793671921   MELISSA      REDMAN                       CO     90013477936
77153199731432   TIJUANA      BARNETT                      MO     90005541997
77153612193739   WILLIAM      SEAL JR                      OH     64531106121
77154478633698   MONICA       LEDEZMA                      NC     90013544786
77155562472479   GINA         DENITTI                      PA     51055115624
77157211155969   PEGY         HENSON                       CA     48095412111
77157944431443   ANTHONY      BROTHERS                     MO     90014179444
77161653591588   BRENDA       CEBALLOS                     TX     75097486535
77162173433698   BARRINGTON   MILLNER                      NC     90013151734
77162381171921   KRISTINE     HERSELIUS                    CO     32029673811
77162515655969   ASHLEY       CLINE                        CA     90014615156
77163498155969   DOMINGA      CRUZ                         CA     48098984981
77164942371921   JERRY        JONES                        CO     90010619423
77166149344344   KAREN        GONZALEZ                     MD     90013251493
77166264547956   DAISY        ALVARADO                     AR     90015582645
77166756355921   ERINE        MORENO                       CA     90007837563
77167299255947   SOURITH      THENBOUAPHA                  CA     90009232992
77168317331432   HALL         CARLE                        MO     90009843173
77168984231443   ANNETTE      COLE                         MO     90014179842
77169621557152   JORGE        MORDI                        VA     90013876215
77169995371921   CONRADO      VILLEGAS                     CO     90006369953
77171645431432   STEPHANIE    KELLY                        MO     90007036454
77175311833698   NIKI         SHULER                       NC     90008203118
77177476341241   MARY         ANN DEAN                     PA     90012224763
77177477331482   JAMECIA      GILCREASE                    MO     90013124773
77179415531443   STEPHANIE    RATLIFF                      MO     27570164155
77182167141286   JACQUELINE   HARRIS                       PA     90003141671
77184389493739   DAVID        HARVEY                       OH     90002553894
77185678491588   MARIA        MELENDEZ                     TX     90013576784
77187648731433   CHRIS        BROWN                        MO     90011986487
77188266791588   ABRAHAM      MORALES                      TX     90010422667
77188445333698   PATRICIA     MOORE                        NC     12062614453
77192996531443   SHONTAY      BAKER                        MO     90014179965
77193316871921   ABBEGAIL     TALAIN                       CO     90015353168
77196576241237   GERREN       WASHINGTON                   PA     90008795762
77197155181633   JOY          JONES                        MO     29087391551
77197547655947   LILY         GARCIA                       CA     90001415476
77199499271921   PATRICIA     BEATRIS                      CO     90007764992
77211139571921   LUCIA        MALDONADO                    CO     32053161395
77212722757143   SANTOS       AREVALO                      VA     90013897227
77215392591588   GINA         GOMEZ                        TX     75067953925
77217258672479   JOSEPH       KOVAL                        PA     90002482586
77217991741253   MICHAEL      DOBRANSKY                    PA     90008159917
77218974791588   MANDY        FUENTES                      TX     90004209747
77221895891588   FRANK        DOMINGUEZ                    TX     90001108958
77222448731432   KAYLA        LEVENBERRY                   MO     90014534487
77222887493739   TIMOTHY      HAWKINS                      OH     64515218874
77227781238522   BRITTANY     KINDER                       UT     90006357812
77228474671921   NIKKITA      WOMACK                       CO     90009654746
77228773491588   MARTIN       ALCANTAR                     TX     75092737734
77228917133698   MICHELLE     VANHERPEN                    NC     90010899171
77232573277339   AIDA         BURGOS                       IL     20590375732
77232986591588   BRENDA       MENDOZA                      TX     90013159865
77234264331433   DWAYNE       KENNELL                      MO     90013192643
77235139593767   LEBRISSKA    PWERS                        OH     90001571395
77235197254121   RANDY        PITTMAN                      OR     90015021972
77235876733698   KRISTY       GALVAN                       NC     90005538767
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77237189271921   MICHAEL        FORSTROM                   CO     90013871892
77238326271921   JUAN           SANCHEZ-SAAVEDRA           CO     90014543262
77238518391588   RAMON          RAMIREZ                    TX     75033235183
77238726893739   ANTANIQUE      WATTS                      OH     90012507268
77239116491588   BEATRIZ        SANCHEZ                    TX     90014321164
77241397655969   TINIDAD        VERONICA MORENO            CA     90013233976
77241512961985   CHRIS          HIGGINBOTTOM               CA     90009595129
77241567655982   ALVARO         ARIAS NAVARRO              CA     90001365676
77241575941237   CHRISTINA      LEONARD                    PA     90015055759
77244889991849   ALEJANDRA      VALENCIA                   OK     90010328899
77245418193739   JANET          POWELL                     OH     90013194181
77246451531433   TAMARA         GIBSON                     MO     90008744515
77246885831432   SANNI          DALIPI                     MO     27512728858
77247245155947   JAIME          FLORES                     CA     90013842451
77247525493739   DANA           HAIRSTON                   OH     64568315254
77247945855969   TEODORO        GOMEZ                      CA     90014159458
77248578733698   GAIL           HENRY                      NC     12059905787
77249773433698   JOEY           JONES                      NC     90014127734
77252127441227   RAYMOND        KOCAK                      PA     51077021274
77252912551378   CHARMAINE      JONES                      OH     90001499125
77253293241253   JIM            ZEITLMAN                   PA     90005752932
77253473631432   SHALONDA N     HOPGOOD                    MO     27550694736
77254677133698   LAQUIS         COBBS                      NC     90012946771
77254815741227   JAMIE          GRABOWSKI                  PA     51065398157
77255352855969   ERICA          DENNIS                     CA     90015033528
77256578831433   JIMMY          DEMIERRE                   MO     90012585788
77257751371921   JENNIFER       MOON                       CO     90010627513
77257982391588   SAMUEL         TREJO                      TX     75092679823
77258316131432   ERROL          MORUZZI                    MO     90010973161
77258372641237   ANNITHRA       SALTER                     PA     90014263726
77258425321676   GLORIA         VAUGHN                     OH     90014344253
77263558131443   HOLLY          LOEHR                      MO     90013405581
77265877531433   PA DAI         DAI                        MO     90014758775
77266583631443   CLAUDIA        HIGGINS                    MO     90013595836
77267452991588   MIGUEL         SEGOVIA                    TX     90010654529
77271234386523   CALVIN         MCMAHAN                    TN     90015472343
77271353591588   LINDA          BECK                       TX     75003663535
77271771393739   GARY           ZIMMER                     OH     90010357713
77272343171921   LAVONNA        SLATER                     CO     90010213431
77272732761985   LEWIS          LEARY                      CA     90011987327
77273594751331   CYNTHIS        STONE                      OH     90009445947
77275426633698   BEATRIZ        ORTIZ                      NC     12010174266
77276313791588   ALBERTO        MORENO                     TX     90005333137
77277117891588   MIRIAM         CASTRUITA                  TX     90014321178
77277329333698   KIMMERLY       WALDEN                     NC     90009653293
77277377441227   KRISTIE        TONDOLO                    PA     90005453774
77278366933698   ANA GABRIELA   LOPEZ GUERRERO             NC     90010643669
77279164555969   JESSICA        RODRIGUEZ                  CA     90013911645
77279413671921   MAGDA          JACQUEZ                    CO     90000944136
77279696851382   ANTHONY        THOMPSON                   OH     90007936968
77281381693739   DEMARRION      SMITH                      OH     90013063816
77281734541227   ASHLEY         ANKROM                     PA     51088327345
77282285631433   TAIWON         OLIPHANT                   MO     90012322856
77282899741227   TASHA          SPENCER                    PA     51085258997
77283175193739   AMY            JACKSON                    OH     64541801751
77283428755969   DAVID          TOUJILLO                   CA     90014904287
77283569981633   AERIELL        CHRISTENSEN                MO     90002635699
77283793571921   ROCKY          ARMIJO                     CO     90001847935
77284399793739   AARON          ROBINSON                   OH     90014843997
77285787391588   ZAIRA          SALINAZ                    TX     90010167873
77286544931433   IVONNIE        MARSHALL                   MO     90012665449
77291283931443   STACCIE        BELL                       MO     27570422839
77291587231432   KEYLA          SMITH                      MO     90008945872
77292781991588   ALMA           RAMIREZ                    TX     75043487819
77293512841253   MARIA          LOPEZ RENOJ                PA     51047235128
77293579271921   CONSTANCE      AVALOS                     CO     32003415792
77294918831432   JAMES          STIDHAM                    MO     27515269188
77296134971921   ROBERTA        VIGIL                      CO     32026641349
77296736231443   TRICIA         CROSS                      MO     90012467362
77297332355969   LUIS           SALCIDO                    CA     90010363323
77297355431443   CROWS          SEVEN                      MO     90008553554
77311625271921   JORDAN         MUMPER                     CO     32062636252
77313688541253   LORI           BRELL                      PA     51011146885
77313878691932   STACEY         SMITH                      NC     90014998786
77314245155947   JAIME          FLORES                     CA     90013842451
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77316374291588   BRENDA       SALAS                        TX     75045583742
77317122833698   MARIA        DIBUT                        NC     90010431228
77317271331443   STEPHAN      CANO                         MO     90014182713
77317624671921   STEVEN       BENAVIDEZ                    CO     90004906246
77321767241237   GEORGE       KORDISTOS                    PA     51036037672
77321862891588   LETICIA      RODRIGUEZ                    TX     90015018628
77323369833698   LAKEENA      FRAZIER                      NC     90012883698
77326385531443   TANEISHA     WHEELER                      MO     90012773855
77326434981633   MARIA        CASTRO                       MO     90015034349
77326683131433   OCTAVIA      WALKER                       MO     27567616831
77327398481633   TARA         HUTCHINSON                   MO     90000683984
77331324131443   TAIWU        KIM                          MO     90014183241
77331571455969   SELINA       QUIHUIZ                      CA     90015115714
77331711341253   SARA         DUNNETT                      PA     90011327113
77332935191588   IVAN         GARDEA                       TX     90004969351
77333828331475   MELITA       ROBINSON                     MO     90011418283
77333917371921   STEPHANIE    WHITTEMORE                   CO     32006299173
77334925455921   ALBERTO      CASTILLO                     CA     49086119254
77335395571921   TINA         SPIELMAN                     CO     90009683955
77335417531443   WARDELL      MORGAN                       MO     27505044175
77338558955969   KASANDRA     WALKER                       CA     90012915589
77338639141253   SHARON       ORBIN                        PA     51008386391
77342429451376   CHRIS        FITZGERALD                   OH     66009504294
77343763291588   VERONICA     BENAVENTE                    TX     75066937632
77345456671921   TERESINA     AVILEZ                       CO     90006094566
77345727831433   SHELIA       HARVEY                       MO     27559007278
77348191391966   DESSENA      HILL                         NC     90010451913
77349951991932   PETRA        HERNANDEZ AGUILAR            NC     90006799519
77353531233698   SARA         WEEKS                        NC     90013205312
77353847981633   MANUEL       ESPITIA                      MO     90009808479
77353982355969   NORMA        PARGA-ESPARZA                CA     90002359823
77354213191588   JOSE         CARBAJAL                     TX     90003812131
77355455731432   DOUGLAS      PROCTOR                      MO     90002034557
77355625491966   PHRELANKA    WOODS                        NC     17031066254
77355626291863   BRENDA       LARK                         OK     90000686262
77355653155969   ALEXANDRIA   JIMENEZ                      CA     90008416531
77355719231432   ASHLY        LOREN                        MO     27509867192
77356594155969   CHRISTINA    GOMEZ                        CA     48097305941
77358874341253   CARLA        STREET                       PA     90013838743
77359525171921   CLAUDIA      GONZALEZ                     CO     32028385251
77359874255947   AUDONMARO    MONTES                       CA     90011218742
77364534393739   CHEROKEE     PERKINS                      OH     90010355343
77364819931433   STEPHANIE    MOORE                        MO     90011098199
77365873431433   TIFFANY      SCHOONOVER                   MO     90000708734
77365897291588   GUALBERTO    CASTRUITA                    TX     90010718972
77367785971921   YOLANDA      LOPEZ-CHAVEZ                 CO     90012127859
77368313431432   MALIKA       FULTZ                        MO     90003813134
77368861733698   JENNIFER     GUARINO                      NC     12066108617
77371887741227   NINA         RANDOLPH                     PA     51044878877
77372723141237   SHANITA      SMALL                        PA     90010987231
77373622171921   SAMANTHA     SHRIVER                      CO     32044016221
77376999231433   GERARD       WILLIAMS                     MO     90013269992
77377432961997   LINDA        MURRAY                       CA     90003574329
77377643931443   MARCUS       CASIMERE                     MO     90011256439
77377763931432   ELEA         JONES                        MO     90008997639
77378842555969   SOCORRO      MARTINEZ                     CA     90004128425
77379418171921   CORY         HARVISON                     CO     90015174181
77379793631432   EARLENE      HURD                         MO     90000467936
77381443331432   JOHNNY       DAMES                        MO     90015414433
77381862131433   RAYMOND      FIELDS                       MO     90013868621
77382555791588   ESTEBAN      RELIVASQUEZ                  NM     90013235557
77383929131433   SHERREECE    MCINTYRE                     MO     90013609291
77384688371921   LAUREN       THOMAS                       CO     90006746883
77385642672479   HANNA        RUDOVSKY                     PA     51045066426
77385939141237   QUINTON      WRIGHT                       PA     90003749391
77386219855947   VIRGINIA     SANTOS                       CA     49099202198
77386623241227   BRENDA       PARKS                        PA     90000566232
77387733291588   BRENDA       GOMEZ                        TX     75026227332
77389181155969   AMALIA       ZARAGOZA                     CA     48091941811
77392466247956   MARCOS       VILLALOBOS                   AR     90015464662
77392475272479   TABATHA      MALONEY                      PA     51028554752
77392542931433   JACQUELINE   HURVEY                       MO     90015105429
77394221955969   KEVIN        FOSTER                       CA     90009412219
77395544955947   ANTONIO      SANDOVAL                     CA     90014355449
77396954861964   SHERRY       SUMMERS                      CA     46053709548
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77397321371921   JAMES        FRAZIER                      CO     90007803213
77398964371921   ALEJANDRO    ZAMORA                       CO     90014999643
77399952741227   DANIEL       FORRESTER                    PA     51025289527
77412226691588   RICHARD      MORENO                       TX     75084972266
77412486133698   SAJUNA       MCCOY                        NC     12045844861
77414944341237   SHELTON      GREEN                        PA     90013579443
77417677131433   MICHAEL      CLEMONS                      MO     27509036771
77418195691588   ERIC         PRIETO                       TX     90011321956
77418879291588   VIRGINIA     LUPERCIO                     TX     90011678792
77421856331432   LASHAWNDA    COLEMAN                      MO     90010028563
77423314171921   MARZELL      CARTER                       CO     90012343141
77424295631443   SHARHONDA    MOORE                        MO     90008832956
77425197541253   CHAD         GRIFFITH                     PA     90014551975
77425752531432   DAVID        TOMPSETT                     MO     90013817525
77426455631443   EDMOND       LILLARD                      MO     90015304556
77427514231432   JAVIER       RODRIGUEZ                    MO     90001915142
77428152455969   PASCUAL      IBARRA                       CA     90013021524
77428283531443   RYAN         RISK                         MO     27578252835
77428592631432   MELVIN       BRADLEY JR                   MO     90012595926
77429381433698   JAMEL        WILLIAMS                     NC     90011133814
77429873431433   TIFFANY      SCHOONOVER                   MO     90000708734
77431553731432   SAILY        VAZQUAZ                      MO     27572175537
77431578755947   LUK          SOCHERTRA                    CA     90005755787
77432298631432   JAIME        COWLEY                       MO     90001512986
77432695971921   MARION       JACKSON                      CO     32005216959
77433793272421   LANNY        DETORE                       PA     51030757932
77434125781633   JOSE         ALVARADO                     MO     90013451257
77434387671921   SHARICE      MELVIN                       CO     32064973876
77434828791549   GUADALUPE    MENDEZ                       TX     90011688287
77437464441237   YVONNE       GARNER                       PA     90000764644
77437861233698   GEORGIA      JOHNSON                      NC     90002278612
77438619755947   VICTOR       CABREREA                     CA     90011646197
77439435581633   JULIE        SMITH                        MO     29083804355
77439927861465   ABEDOM       ZEDINGLE                     OH     90014429278
77442962731433   TERRANCE     WADLEY                       MO     90005739627
77443373291588   NANCY        HERNANDEZ                    TX     90012583732
77445415547956   JALON        FALCONER                     AR     90015484155
77445937241253   CHRISTINA    FITZGERALD                   PA     90014379372
77446754241237   TERIANN      FIFE                         PA     90010987542
77447344655947   CECILIA      MORENO                       CA     90013283446
77447476431453   BENJAMIN     AYRES                        MO     90011234764
77447717172479   JORDAN       MARISH                       PA     90006787171
77447989931433   PATRICIA     A RASPONI                    MO     90012509899
77448343891588   RAYMOND      CELAYA                       TX     90002983438
77449629191588   MANNY        MARTINEZ                     TX     90010696291
77449891131433   DAWN         PYATT                        MO     90000908911
77452342631432   TWANAE       DULANEY                      MO     90013773426
77454346531433   QUINCHAE     ROBERSON                     MO     90013263465
77457146233699   JAMES        ALLISON                      NC     90006151462
77457263993739   DAVID        EKBERG                       OH     90000492639
77457858231443   DANIEL       DOHERTY                      MO     27516998582
77458652971921   NAHIMANA     PROSPER                      CO     32053156529
77462391431432   RICH         TAYLOR                       MO     90010973914
77463944291522   LOREANA      BRAVO                        TX     90011159442
77464279631443   ORLANDO      LUCKETT                      MO     27584382796
77464815491933   MICHAEL      JOHNSON                      NC     90006898154
77464866571937   ROSE         WOMERSLEY                    CO     90011748665
77465239271921   GAIL         EDWARDS                      CO     32057742392
77465862791548   OSCAR IVAN   GARCIA                       TX     90011628627
77467756571921   MARION       SCOTT                        CO     90012757565
77469383341253   SHANNON      VISCONTI                     PA     90002923833
77473817672479   WILLIAM      FABBRI                       PA     51095938176
77473962771921   JAMES        LOVE                         CO     32069979627
77475576171921   EUNICE       ODRIGUEZ                     CO     90011325761
77477268333698   NEKEIA       ANDERSON                     NC     90012832683
77481426855969   MARIA        ESPARZA                      CA     90013234268
77481659241253   KERRY        MARTIN                       PA     90003236592
77484186541237   JEFFREY      POLITO JR                    PA     51088111865
77485847981633   MANUEL       ESPITIA                      MO     90009808479
77487821241237   DENISE       PERKINS                      PA     90014538212
77488125871921   MANUEL       GONZALEZESANCHEZE            CO     90002641258
77489281441253   LINDA        CLARK                        PA     51076852814
77491438641237   RONDA        KELLY                        PA     90011754386
77491662871921   MICHELLE     COOK                         CO     90013576628
77491997855969   ANTHONY      SANDERS                      CA     90012849978
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77492475391572   MARIO         GABALDON                    TX     90009354753
77493166181633   ELIAS         GARCIA                      MO     90011891661
77493765831432   CAPRI         GARRETT                     MO     90013817658
77494962731432   MARY          SHEROD                      MO     90000849627
77495883541227   CHARLES       LEE                         PA     90007438835
77496546441253   RONALD        HARPER                      PA     90013455464
77497123131427   STEPHANIE     HUNTER                      MO     90005551231
77498348533698   MAHOGANY      BLAKE                       NC     90014773485
77498872471921   JESSIE        SEARLES                     CO     90013428724
77499978231433   LANEZE        DOOM                        MO     27594879782
77513417155969   VICTORIA      RAYO                        CA     90013854171
77514771651368   LISA          WEST                        OH     90008497716
77516636793728   MARSHA        HICKS                       OH     90006996367
77517169431432   LASANDRA      EDWARDS                     MO     90014991694
77518967171921   PAULINE       COBB                        CO     90014969671
77519353381633   SYDNEY        PRECHT                      MO     90014623533
77519953771921   PATRICIA      ETHERTON                    CO     90014329537
77521787991586   RAMIRO        OZAETA                      TX     90001597879
77521867255947   JOSE          MUNOZ                       CA     90009978672
77522445985833   DAVID         SANDERFER                   CA     90003974459
77522787991586   RAMIRO        OZAETA                      TX     90001597879
77523279455973   DOLORES       MARTINEZ                    CA     90003722794
77523639971921   ALICIA        HANSEN                      CO     90014376399
77523734372479   MARY          SISLEY                      PA     90014137343
77523926877528   JUANA         MARTINEZ                    NV     90006099268
77531474133699   BEATRIZ       ORTIZ CRUZ                  NC     90004084741
77532293955996   HUBERT        MOORE SCOTT JR              CA     48007522939
77532397331443   RICHARD       BLUNT II                    MO     27570273973
77532441755969   RHODA         HILL                        CA     48048824417
77532455155947   MINNIE        TAYLOR                      CA     49080184551
77535512631433   STACEY        MOSMAN                      MO     27593775126
77535633281633   JENNIFER      CINCOTTA                    MO     90010696332
77536287671921   PATRICK       QUICKBEAR                   CO     90004802876
77538224955947   CANDACE       MONTES                      CA     90014182249
77538462841237   LASHAUNA      BROWN                       PA     90014414628
77538482431443   TOMMIE        JONES                       MO     90002744824
77538589555969   JUANA         LOPEZ                       CA     90003425895
77542382631443   COURTNEY      BOBO                        MO     90015303826
77542486631433   ANTONIO       GREEN                       MO     90011534866
77543433141253   ROBERTA       TALLON                      PA     51042004331
77543831781633   DARWIN        SMITH                       KS     90013978317
77545315241227   KAROL         ROSENGARTH                  PA     51037353152
77545663531621   WILLIAM       KESSINGER                   KS     90014796635
77546456572479   TINA          O'DELL                      PA     51041094565
77548237541253   BRITT         MIZIA                       PA     90012152375
77548957431433   CHRISTOPHE    SANDERS                     MO     27594979574
77552627355947   SOPHIA        BOTELLO                     CA     90013986273
77552984241237   ALICIA        OROURKE                     PA     90014809842
77553842231433   HEATHER       LIVINGSTON                  MO     90015308422
77554526155969   BONNIE        MOLINARA                    CA     90009825261
77554974655947   CHRISTOPHER   HAYS                        CA     90012999746
77555295691588   GLORIA        SANDOVAL                    TX     90011402956
77555948955969   JESSICA       MIEJIA                      CA     90011019489
77556325641253   BRIDGET       MALONE                      PA     90014323256
77557977241237   JUANITA       MILLSAP                     PA     51006769772
77559643372479   RICKI         ROBERTS                     PA     51010516433
77561333755969   ENRIQUE       VAZQUEZ                     CA     48000653337
77561414591863   RICHARD       WILLIAMS                    OK     90013274145
77561853855982   DANIEL        BELTRAN                     CA     46019898538
77563415191588   MARIA         MUNIZ                       TX     75084934151
77563733555969   TONY          WILDEY                      CA     90010217335
77565638641253   BRIAN         DIGGINS                     PA     51083056386
77566897331432   CHERON        WALLACE                     MO     90011238973
77567796671921   KENYON        ROBINSON                    CO     32082257966
77568711141237   WILLIAM       KING                        PA     51046167111
77569485381633   SHAQUESE      GREENE                      MO     90014874853
77571254755947   SYLVIA        DURAN                       CA     49025302547
77571533691823   DAWN          SEDERSTEN                   OK     90001215336
77572398551382   KYLE          HAGGARD                     OH     90011423985
77572533691823   DAWN          SEDERSTEN                   OK     90001215336
77573398551382   KYLE          HAGGARD                     OH     90011423985
77573854855947   JOSE          ARELLANO                    CA     49029378548
77578158333699   RAQUEL        DOUTHIT                     NC     90006471583
77578328131432   KURT          SULLIVAN                    MO     90012143281
77578951971921   JONATHAN      WICKHAM                     CO     32008149519
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77579482871921   MARA         TOKALIJA                     CO     90010994828
77581399531432   WILLIAM      LICKLIDER                    MO     90015413995
77581566141253   MARY         PIPER                        PA     90015255661
77581712281633   SARAH        GUETTERMAN                   MO     29071197122
77582553355957   NATYSHJA     ALVEREZ                      CA     90012085533
77583962191588   ALFONSO      ARRAS                        TX     75062149621
77584793141237   MIMI         PRINCE                       PA     90001667931
77584883855947   DIEGO        TZOC                         CA     90010938838
77585221933699   TONY         DENOFRIO                     NC     90003832219
77587284881633   NATALIE      SEARS                        MO     29005622848
77587853771921   PAYGO        IVR ACTIVATION               CO     90009778537
77587896691588   DANIEL       MENDOZA                      TX     90011568966
77589658871921   LUIS         OROZCO                       CO     32074836588
77591533731432   LEOBARDO     CASTORENA                    MO     90015475337
77593156355947   YULIANA      MADRIGAL                     CA     90012771563
77593447933698   LETARRICA    BIRGS                        NC     90013904479
77594186341253   PATRICK      GARRITY                      PA     90010881863
77594462231432   TRENAY       WILLIAMS                     MO     90010974622
77594666141237   HECTOR       GAONA                        PA     51072416661
77594985993739   ALDO         MEDINA                       OH     90012729859
77595747381633   MANUEL       ALVAREZ                      MO     90014787473
77596164931432   RICHARD      GALE                         MO     90004291649
77596849481633   ANGELA       S WEST                       MO     90006228494
77597791131443   MAHMOUD      NAQI                         MO     90012467911
77599638631432   KYLE         HARVEY                       MO     90011896386
77612561972479   JOHN         MORRIS                       PA     51010595619
77613952355969   JENNIFER     KIMBER                       CA     90005879523
77614122857143   UVALDO       MADRID                       VA     90012681228
77615612893739   DAVID        NORMAN                       OH     90013686128
77616623171921   RWAYNE       THOMAS                       CO     90011066231
77617854471921   MARCO        LOPEZ                        CO     90013908544
77619479555969   YOLANDA      ROMO                         CA     48038684795
77619837433698   ZARED        JONES                        NC     12031908374
77624512855969   LINDSAY      ISAM                         CA     48096205128
77626173851341   TOM          VARGA                        OH     90009361738
77627968941253   JAEL         GREENLEAF                    PA     90011759689
77628913541253   MELISSA      GEORGE                       PA     90013399135
77632294581633   HECTOR       PEREZ                        MO     90014472945
77632579955969   ERIK         LOGDON                       CA     90002775799
77634899541227   DIANE        HUNTER                       PA     90006378995
77635522541237   FRANCIS      PUSKARIE                     PA     51012155225
77636975431443   TIFFANY      SONFORD                      MO     90011259754
77637647233631   ALEXIS       ROBBS                        NC     90011996472
77638562471921   ACKEEM       SIMPSON                      CO     90015435624
77639643693728   TERRY        PERDUE                       OH     90014706436
77641141533698   GABRIELLE    HILLIARD                     NC     90003441415
77641199941227   EDWARD       HARGROVE                     PA     90011391999
77644494872423   KRISTIN      KELLER                       PA     90012334948
77647312971921   MICHAEL      OROSCO                       CO     90002513129
77647754355969   LORENA       ORTIZ                        CA     90010217543
77647984831432   PAULA        JACKSON                      MO     90013149848
77648815155969   JUANMANUEL   SERRATO                      CA     48006748151
77649278641227   BRENDAN      ATCHISON                     PA     90004892786
77649475171921   KATHINE      CHACON                       CO     32043224751
77651247555969   ALEJANDRO    LEMUS                        CA     90013842475
77651475831443   FLORENCE     HALBERT                      MO     27589684758
77653988131433   DAISY        LATHAM                       MO     90002439881
77654486491588   LIZET        CARRASCO                     TX     90009064864
77654837955947   ADRIANA      VARGAS                       CA     90011548379
77656413161967   CATRINA      HAMER                        CA     90011874131
77656454731433   STEPHANIE    HESSLING                     MO     90010114547
77656843831432   CHRIS        PRETZ                        MO     27586988438
77657924491588   JEREMY       PERKINS                      TX     75013159244
77658519591588   JUAN         MACHADO                      TX     75023155195
77658747981633   TAMMY        LAWRENCE                     MO     29078597479
77662214261941   ADOLFO       VALENCIA                     CA     90009202142
77662367991588   ILIANA       DAVILA JANETTE               TX     90013683679
77662524355947   ELIZABETH    YBARRA                       CA     90013855243
77663743641237   MEGAN        QUINN                        PA     90012387436
77664173955969   AMANDA       DEAN                         CA     48012001739
77664222531433   LANESIA      HALL                         MO     90013642225
77664224531435   TERRELL      NICHOLSON                    MO     90011592245
77664374991588   JONATHAN     VASQUEZ                      TX     90013303749
77666378255969   SYREETA      CLARK                        CA     48006843782
77667713233698   PORFIRIO     TORRES ZAMORAN               NC     90011177132
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77668558372479   TERRI        PAYNE                        PA     51025455583
77671148391588   MARTIN       CENTENO                      TX     90004801483
77671594431432   KIARA        GREEN                        MO     90013745944
77673564981633   IANTHA       RAMSEY                       MO     90013715649
77674497547956   WRANGLER     DAVIS                        AR     90015544975
77674534593739   KRISTLE      HARVEY                       OH     64562395345
77674749271921   KEITH        CARTER                       CO     32090757492
77675665231432   HILLARY      CLAMPETT                     MO     27508786652
77677754166171   LIZBETH      OCAMPO                       CA     90012327541
77678172781633   ONESIMO      MARQUEZ                      MO     29033691727
77678224861972   BELISA       VASQUEZ                      CA     90013652248
77678671755969   VANESSA      TORRES                       CA     90010336717
77678831347938   DERRICK      PORTER                       AR     90014768313
77682819271921   DAWN         WILLIS                       CO     90013798192
77684999855931   MICHAEL      MARTINEZ                     CA     90007829998
77685758733698   DAVID        ALSTON                       NC     90014897587
77686292255947   JAMES        VANG                         CA     90014472922
77689552871921   STEVE        HARTMAN                      CO     90012825528
77689574231443   I'TASKA      GIVANS                       MO     27509645742
77693554181633   TIMOTHY      CARROLL                      MO     90014975541
77698379655969   JULIA        GOMEZ                        CA     90005283796
77699329231432   CHRISTY      JAROS                        MO     90005633292
77712243691588   LAZARO       CASTANEDA                    TX     90001372436
77712251931432   NISHIKE      URSERY                       MO     90001372519
77713555933699   TARIG        COLEMAN                      NC     90006495559
77714697331433   MICHELLE     SMITH                        MO     90013106973
77715871761988   FERNANDO     HERNANDEZ                    CA     90012048717
77715991555969   MAUREEN      SIFUENTES                    CA     90008689915
77717428733698   EVELYN       WASHINGTON                   NC     12054924287
77717864431432   KENISHA      CANNON                       MO     90013108644
77718848433698   NIYOKA       JONES                        NC     90013128484
77719169941237   REBECCA      ROBERTS-MCPHERSON            PA     51032751699
77719598371921   STACY        BARNES                       CO     90007765983
77721569131433   SHAMEKA      BRICE                        MO     90002015691
77721623991566   MARIA        OCHOA                        TX     90011466239
77722777431432   JESSICA      SHIREMAN                     MO     90006847774
77723121681633   COREY        PHILLIPS                     MO     90009571216
77724322691588   JUAN         NAVARRETTE                   TX     90012733226
77725138191588   IVAN         DEL RIO                      TX     90014321381
77727194555947   JOEY         GOMEZ                        CA     90014321945
77728212371921   LEAH         CHAPMAN                      CO     90010252123
77728492455947   JENNEQUA     GREEN                        CA     49075814924
77729721171921   MARGARITO    RODRIGUEZ                    CO     90010627211
77731853733698   IRLEN        MENDOZA                      NC     90001098537
77732884971921   BELLA        RAMOS                        CO     90013148849
77733189391588   AMPARO       VELAZQUEZ                    TX     75005391893
77733212581633   KANITA       AVIS                         MO     90015162125
77733758655947   AMY          LOCASTRO                     CA     49018117586
77736953741253   CHRISTY      WOLFF                        PA     90009759537
77737389771921   AMBER        HIIESALU                     CO     90007813897
77738229191588   FABIAN       ARCIGA                       TX     90003812291
77739356731443   VALENTIN     CONTRERAS                    MO     90015363567
77739746833698   YAVEL        SIMPSON                      NC     90014347468
77741352155969   SANDRA       LUNA                         CA     90014183521
77741834671921   CHELSIE      GILLHAM                      CO     90002188346
77741927841227   ANTHONY      FRAUENHOLTZ                  PA     51073079278
77744253391588   ISAAC        PAYNE                        TX     90013242533
77745484671921   JAMES        PIERCE                       CO     90013064846
77747326286436   APRIL        SMITH                        SC     90015223262
77747377881627   LISA         SHELTON                      MO     90007533778
77751846651337   RENI         GRAY                         OH     90014908466
77752911655947   KAYTE        VAN DE MARK                  CA     49080199116
77753455531433   CYNITRA      GARDNER                      MO     90011114555
77753592931432   SHANEIKA     MITCHELL                     MO     90004805929
77753688631443   NASSUMA      JABATEH                      MO     27565986886
77754436631433   KIMBERLY     BADOLATO                     MO     90012134366
77756349441237   TUESDAY      STEVENS                      PA     51071313494
77758832881627   CURTIS       FULLER                       MO     90001558328
77759477231433   TIFFANY      SMITH                        MO     90011114772
77759662691588   AL           JOHNSON                      TX     90000886626
77763193491588   ARACELI      GALLEGOS                     TX     90014231934
77764281931443   DOMINIC      BLOUNT                       MO     90010792819
77765287931432   JALISSA      HALKMON                      MO     90013202879
77765368141253   KAYLA        HOYLE                        PA     51082723681
77767443731443   CARI         MULVHILL                     MO     90008584437
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77767537541227   GENNIE        SHELBY                      PA     90000255375
77768279733698   YOLANDA       JACKSON                     NC     90013922797
77773733272479   SARAFINA      PACE                        PA     90006767332
77773927493739   PATRICIA      MILLER                      OH     64588379274
77774171191588   MARYLYN       SANCHEZ                     TX     75077031711
77774878981633   TIMOTHY       BUSH                        MO     90013938789
77776936241237   BOBBIE        CUPP                        PA     51098119362
77777243631433   JOSHUA        DENNIS                      MO     90009912436
77777649855968   GLADYS        DIAZ                        CA     90011766498
77778649855968   GLADYS        DIAZ                        CA     90011766498
77782363693739   LAURA         ABRAMS                      OH     90014553636
77782491133698   JOWAN         SMITH                       NC     90013534911
77783747371921   WILLIAM       BLUE                        CO     90011347473
77784835855969   RAYMOND       FIERRO                      CA     90002728358
77786238931443   VANESSA       WHITEHEAD                   MO     90011262389
77787914555969   MARIA         RIOS                        CA     48035989145
77792283491588   CLAUDIA       ACEVEDO                     TX     90014472834
77792831761975   STEPHEN       HERNANDEZ                   CA     46066068317
77793781231433   CATHERINE     KNOX                        MO     90011677812
77794957433698   HAYLE         HALL                        NC     90008549574
77796667171921   DENISE        GRECO                       CO     90013576671
77797348181633   YOLANDA       WILLIAMS                    MO     90011543481
77798434455969   MIRAMONTES    RAQUEL                      CA     90008884344
77798647333698   CARRIE        STAFFORD                    NC     12081156473
77799455355947   CARLOS        RABAGO LOPEZ                CA     49070964553
77799825793739   LORI          LEMING                      OH     90013868257
77812265191588   MERCEDES      TOVAR                       TX     75061442651
77814347571921   MARY          OKETUNMBI                   CO     90012643475
77815257393739   ERICA         MITCHELL                    OH     90014152573
77815879471921   LASHANDA      HARRISON                    CO     90014768794
77818447931443   PATRICE       HAYMON                      MO     90012524479
77818597341237   PATRICIA      LYNCH                       PA     90011365973
77818746833698   YAVEL         SIMPSON                     NC     90014347468
77819911291588   LUIS          GUADERRAMA                  TX     90012279112
77821157184329   VEDA          RICHARDSON                  SC     90002931571
77822871281633   NORINE        CHRISTIAN                   MO     29006288712
77822966977339   VERLEAN       NOBLE                       IL     90012619669
77824866255947   DANIEL        THURSTON                    CA     90009378662
77825256655947   KARLA         FELIX                       CA     90014562566
77827562731443   EBONY         ABRAMS                      MO     90011915627
77828634431432   KAYLA         MAYABB                      MO     90014516344
77831111655969   GERARDO       RIOS                        CA     90013861116
77833952233698   ENDIAH        CORPENING                   NC     90001509522
77834653333698   SYLVIA        BEASON                      NC     12034006533
77834751291588   ALEJANDRO C   P SAENZ                     TX     90009587512
77835392331433   ROBIN         COLBERT                     MO     27583433923
77835831571921   GUSTAVO       MONTANO                     CO     90011498315
77836133741273   JACQUELINE    NICHOLS                     PA     90001661337
77837114241237   DARVIN        PORTER                      PA     51094581142
77837596271921   MITCHELL      MANALAKOS                   CO     90008925962
77838189893739   JAMES         CAMPBELL                    OH     90008961898
77839557886523   SHYANN        GARDNER                     TN     90015235578
77839956855934   JUAN          RODRIGUEZ                   CA     49094959568
77841827751326   TIMOTHY       MOTLEY                      OH     90013958277
77842341993739   TIMOTHY       ZIEGLER                     OH     90008413419
77843776777528   ORLANDO       MACHADO                     NV     43066377767
77843871693739   TAMIE         NORMAN                      OH     90000268716
77844226772474   ZACHARY       MYCYK                       PA     51023962267
77846156461951   AURORA        HERNANDEZ                   CA     90002091564
77846299593739   MACY          OINOS                       OH     90013322995
77846377955947   JAVIER        VEGA                        CA     90012113779
77846675455947   JAVIER        VEGA                        CA     90014576754
77847856872479   SHA-NIKKA     DICKERSON                   PA     51010408568
77848139181633   SHEANTE       TAYLOR                      MO     90015301391
77848167371921   JAMIE         MAINE                       CO     90014451673
77848537951368   ALLISON       SMITH                       OH     90006785379
77849268631432   HEATHER       HORTON                      MO     27578242686
77852528272479   MARCY         BAKAITUS                    PA     51013145282
77852973833698   MEGAN         RUSH                        NC     90013529738
77854676531432   MINNIE        JONES                       MO     90010976765
77854979931432   SUSAN         BRAIS                       MO     90015219799
77855919331433   DANA          MAYS                        MO     90012239193
77856365231433   SHANTA        JOHNSON                     MO     90011193652
77856827691378   NEAHMIAH      WILSON                      KS     90001558276
77858122591566   MISTY         HERNANDEZ                   TX     75091561225
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77859612891395   CANDICE      POTTS                        KS     90015126128
77859871181633   DETRICIA     PATRICK                      MO     90014088711
77859974871921   GWEN         MARTINEZ                     CO     90009609748
77863966591588   GENOVEVA     SANTILLANA                   TX     90003899665
77863999981621   JANET        FRIEDRICH                    MO     90009969999
77864499191932   HERBERT      BARBER                       NC     90003084991
77865165972474   MICHAEL      RICH                         PA     90010631659
77865678172479   COLLUS       SMITH                        PA     90006336781
77866259791588   ALEX         RODRIGUEZ                    TX     90013242597
77866869755947   RICKY        PEREZ                        CA     90014818697
77868995591588   JAQUELINE    GARCIA                       TX     90005789955
77869491972479   NICOLE       SALVINO                      PA     90012434919
77871319941253   JEFF         BEERS                        PA     90012473199
77871679531433   NOREEN       CLARK                        MO     90012826795
77874469493739   SEAN         WELSH                        OH     64584614694
77875184672479   MANDY        GERESHENSKI                  PA     90004021846
77875353855947   DANIEL       MORALES                      CA     90007203538
77875633161924   EDWARD       CASHMAN                      CA     90013056331
77876425131432   RAKIN        ALLEN                        MO     27506944251
77876743993739   WILLIAM      SERENO                       OH     90014777439
77877113761973   JANISSE      RAMOS                        CA     90003711137
77877594191588   ELENA        BARRON                       TX     90006435941
77882724431443   APRIL        LONGMEYER                    MO     27557627244
77883151893739   BRANDY       BUTTS                        OH     90006341518
77883888931433   DIANNE       ELLIS                        MO     27583148889
77884311671921   FRED         SALAZAR                      CO     90014593116
77884434131438   TREVON       BRACKETT                     MO     90001564341
77889273355969   PETER        QUINTANA                     CA     90000542733
77889842641227   OLGA         AGAFONOVA                    PA     90001268426
77896781331443   TRACI        HAINES                       MO     90004057813
77898113355969   GUADALUPE    GUTIERREZ                    CA     90013861133
77899255133698   LORENZO      CALLAHAN                     NC     12097772551
77911212255947   JESSICA      HUGHES                       CA     90015232122
77911746493739   DORIAN       NEVINS                       OH     90014507464
77912348855931   GABRIEL      PRINE                        CA     90011813488
77916344871921   SHAWN H      CRAWFORD                     CO     90007233448
77919931281633   GERALD       WASHINGTON                   MO     90011829312
77919949331432   KENNESE      STEWART                      MO     90001719493
77922278781633   SOHN         CARTER                       KS     29039532787
77922313431443   MALIKA       FULTZ                        MO     90003813134
77923495455947   DANIELA      RODRIQUEZ                    CA     90010024954
77924741231433   LUMPKINS     CHRISTINA NICOLE             MO     90008977412
77924829733698   TYRONE       HAMPTON                      NC     90013918297
77925246581633   ERIC         JOHNS                        MO     90008682465
77926368841227   NINA         GREER                        PA     51038703688
77927316831432   VICKI        THOMAS                       MO     27578533168
77927829733698   TYRONE       HAMPTON                      NC     90013918297
77931472931432   RUSSELL      HANDY JR.                    MO     27566724729
77932553155969   CARLOS       ALEMAN                       CA     48068455531
77935219372477   BROWN        MARJORIE                     PA     51065762193
77935438791588   PEDRO        NAVARRO                      TX     90001834387
77936346171921   THOMAS       PETERSON                     CO     90014923461
77937764671921   DAVID        WILCOX                       CO     90012767646
77939164391588   ALICIA       BARRAGAN                     TX     90014901643
77939223381633   WILLIAM      JOLLIFF                      MO     90009352233
77941534341237   KEESHA       YAGER                        PA     51015675343
77941624841253   DYLAN        REDNER                       PA     90014476248
77942288141227   REBEKAH      MURPHY                       PA     90000572881
77942973941237   JAMIE        ROBINSON                     PA     51093779739
77943317355996   CORINA       RODRIGUEZ                    CA     90014653173
77943333541253   STEPHEN      NIKITHSER                    PA     90011953335
77943337431432   VINNIE       FROHLICH                     MO     27579753374
77944634993728   CRYSTAL      LAUGHMAN                     OH     64514476349
77945344355947   ANTIONETTE   JOHNSON                      CA     90015213443
77945574841253   ANGELA       SCOTT                        PA     51057505748
77948811171921   JUDY         GARICIA                      CO     90012088111
77949427181633   ALAN D       BROWN                        MO     90005364271
77949889471921   DANIEL       TRAMEL                       CO     32007658894
77951124741237   CORDELLA     MILLER                       PA     90014121247
77952493381633   CANDIDO      MILLAN                       MO     90008174933
77954553155969   CARLOS       ALEMAN                       CA     48068455531
77955567341237   TAMIE        MYERS                        PA     90006195673
77957611333698   WILLIAM      ADAMS                        NC     12045866113
77957933555969   DAISY        FERNANDEZ                    CA     48014279335
77959394531432   TORRIANAH    FOWLER                       MO     90013823945
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77961439772479   PATRICK       LEE                         PA     51095284397
77961988185853   RAYMUNDO      DALIGDIG                    CA     46015659881
77963357985629   LATASHA       BYRD                        NJ     90001593579
77964612541273   CAROLYN       SLOAN                       PA     90007366125
77964718431438   TAMIKA        FORD                        MO     90013187184
77965125593739   DARLENE       BEDINGER-PARKER             OH     90007271255
77966539131433   SUSAN         BAUMANN                     MO     90003965391
77968436291588   ERICKA        ORTEGA                      TX     90014814362
77968817293739   DAINE         GALVAN                      OH     64598908172
77973244971921   OLIVIA        VILLALBA                    CO     32003922449
77973482172479   CHUCK         BAMFORD                     PA     51055624821
77975282793739   JACQUELINE    BERRY                       OH     64507592827
77976426591588   LESLEY        GARCIA                      TX     90010344265
77977454555947   SMOKEYS       GRILL                       CA     49095554545
77977579391588   DELIA         IGLESIAS                    TX     90001965793
77978567941253   GIA           WESLEY                      PA     51091165679
77981742433631   BRANDIE       BRIDGERS                    NC     90008657424
77982536141483   ISENIA        MARTINEZ                    WI     23598085361
77983817631433   ANGELA        REID                        MO     90015198176
77985798141253   KEIRSTON      PARHAM                      PA     51092417981
77987483593739   JOHNNETTA     CORE                        OH     64529144835
77988355841237   ALBERT        FRANK                       PA     51073023558
77988577581633   DANIELLE      DIXON                       MO     90015105775
77988933741227   RAMIRO        CARRILLO                    PA     90006679337
77994757331433   CHRISTOPHER   TOWNSEND                    MO     90014847573
77994877541286   JOHN          CONSTANTINO                 PA     90012308775
77997796655947   MARTHIN       GARCIA                      CA     90013057966
77998936841253   SHANNON       BASTIAN                     PA     90014829368
78111646955939   FRANCES       AVILA                       CA     90013036469
78112491341237   MICHAEL       TURNER                      PA     90011004913
78114379455969   CHRISTINA     VILLEGAS                    CA     90011223794
78114624985969   EDDIE         SNOWDEN                     KY     90014606249
78114827155939   HERMINIO      GONZALEZ                    CA     90006688271
78115533551355   SHEILA        COLLOPY                     OH     90013805335
78117171151355   TRACY         SHERICK                     OH     90013991711
78117562755947   KEVIN         WEST                        CA     49080235627
78118133941253   JOANNE        LINDSEY                     PA     90013471339
78119514355969   CINDY         TOPETE                      CA     90013105143
78121689881633   DESTINY       HOLCOMB                     MO     90015546898
78121859955939   MELISSA       RENTERIA                    CA     90015088599
78124362993739   DAVID         CRIDER                      OH     90012753629
78125262291588   VICTOR        ARREOLA                     TX     90014942622
78125752955939   CLAUDIA       VENEGAS                     CA     90008857529
78126217285945   JOHN          LEGGE                       KY     90006022172
78126813531433   JACOB         BAUMANN                     MO     27553728135
78126833171921   YEISY         TRUJILLO GONZALEZ           CO     32033638331
78127588681651   MELISSA       STRUTTON                    MO     90001515886
78127635891588   LORENA        DURON                       TX     90008586358
78128127333699   DAVID         TAYLOR                      NC     12007181273
78128527541237   TIERANEY      MOHOSKA                     PA     90014815275
78131811193739   MELISSA       GAU                         OH     64593478111
78136721171921   SHAE          DUNCAN                      CO     90008657211
78138122951348   BRANDI        GARRETT                     OH     66010191229
78138834661994   ALONSO        LOPEZ                       CA     90010678346
78139562391588   LUIS JOSE     LEDEZMA                     TX     90001145623
78139743341253   JESSICA       SCHELL                      PA     90014387433
78145196633699   SONYA         FLETCHER                    NC     90002721966
78148145355969   RAFAEL        GARCIA                      CA     90015191453
78148388191522   VALERIE       PEREZ                       TX     75079943881
78148611871921   LUCAS         SARGENT                     CO     90010806118
78149456681633   BECKY         VAUGHN                      MO     90004514566
78151768393739   NICOLE        MARTIN                      OH     90012347683
78153239951355   JENNIFER      LAY                         OH     90013452399
78153336871921   MARIA         HERNANDEZ TORRERO           CO     90005853368
78153565341237   MARY          GOODMAN                     PA     51078955653
78153662591979   BRYAN         MOORE                       NC     90008586625
78154217155947   VALENA        BENDER                      CA     49081132171
78155475131433   ANDREW        JOHANNINGMEIER              MO     27558584751
78156122861924   DIANE         REYES                       CA     90010061228
78157752881633   PHILLIP       BASURTO                     MO     90014567528
78157963391588   DIANA         ZAMORA                      NM     75067709633
78161914891863   RANDY         STOALABARGER                OK     21091049148
78163313471921   LORI          BALLARD                     CO     32008393134
78163421293739   ORONDE        CLARK                       OH     90009374212
78163524233698   TAMMY         HUGHES                      NC     12090165242
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78165118685975   JENNIFER     JORDRE                       KY     66095421186
78165696581679   TAMARA       BATES                        MO     90008426965
78166526255969   ADRIANA      RAMIREZ                      CA     90014785262
78169413933699   TAMMY        MITCHELL                     NC     90002724139
78169781171928   TIM          STEVENS                      CO     90013697811
78174177791588   ANTHONY      LOPEZ                        TX     90014601777
78174525381633   CARL         CARTER                       MO     90014075253
78175292851391   NISHAY       HOLLOMAN                     OH     90009982928
78175622655939   ALMA         ARTEAGA                      CA     48083056226
78176776755939   CITLALI      GARCIA                       CA     90014197767
78176821593739   AATAYA       MOLETTE                      OH     90011558215
78176933491588   JOSE         DELGADO                      TX     90012969334
78179292441227   AMBER        PETERSON                     PA     51042572924
78179499884322   LAMONT       FIELD                        SC     90004544998
78179745191522   LAWRENCE     PETERSON                     TX     75017877451
78181442155969   STANLEY      OWSLEY                       CA     48001094421
78181834381633   MARTINA      FERNANDEZ                    MO     90002438343
78182534657127   CHRIS        PATTERSON                    VA     90002345346
78182872271921   CLOVER       BAKER                        CO     90013458722
78184142497123   CARMEN       MARTINEZ                     OR     90013131424
78184844551348   JAMES        BENDER                       OH     90011328445
78184919133698   LIZET        HERNANDEZ                    NC     12019569191
78185456641253   DARLENE      KENNY                        PA     51060074566
78185789171921   ERIN         DUTCHER                      CO     32018907891
78185983791588   VERONICA     RODRIGUEZ                    TX     90007379837
78188517731432   JOHN         HENRY                        MO     90011285177
78188643684322   CLAUDIA      FLORES                       SC     90006796436
78188957551355   AARON        HADDIX                       OH     90012869575
78189283361459   JEREMIAH     DAWSON                       OH     90015182833
78189995951355   CHANTAL      LUTETE                       OH     90013959959
78192698651348   HAYLEE       COUSINO                      OH     66005966986
78192754793746   JARED        MENDENHALL                   OH     90012217547
78194462841237   TOM          BISCHOFF                     PA     51014324628
78194471555969   DESTINY      KEENEY                       CA     90012104715
78194696581633   PATRICK      FALES                        MO     90015256965
78195463591588   JESSICA      ORTEGO                       TX     90001484635
78196195151355   KASIYA       COLEMAN                      OH     90011441951
78197761941237   ATHENA       BEY                          PA     51027027619
78198142581633   KURTIS       BIDONDO                      MO     90003831425
78198872731428   NARK         FRIED                        MO     90011628727
78199279685945   JOYCE        FOSTER                       KY     90005852796
78199346231433   LILLIAN      BROASTER                     MO     90004273462
78199975655969   ARTURO       MARISCAL                     CA     48001809756
78211419441227   BRIDGET      LANDER                       PA     90014724194
78211833451355   SASHA        ESTEP                        OH     90007678334
78212192633624   KELLY        BUCHANAN                     NC     90013261926
78213935541227   BENITA       MORRIS                       PA     90000539355
78215311671921   FRED         SALAZAR                      CO     90014593116
78216245755969   MIA          MEEKS                        CA     90013392457
78217227871921   JODY HOPE    SARINAS                      CO     90013992278
78217629555947   CIARA        CASTILLO                     CA     90001816295
78218835871921   SEAN         MORRIS                       CO     90014418358
78221117593739   SCOTTY       SLY                          OH     90011221175
78223314671921   ANTONIO      MENDOZA                      CO     90011513146
78224456141237   SUZETTE      KEEFER                       PA     51090564561
78225249855969   ELISA        PACHECO                      CA     48095942498
78225269691588   JOANNA       MORALES                      NM     90011872696
78225659951348   ANGELA       YOUNG                        OH     90006126599
78225926247874   STEPHANIE    JOHNSON                      GA     90013349262
78226112655969   LAIZA        BECERRA                      CA     90002131126
78226848451355   DEVIN        KINNEY                       OH     90013378484
78226944851348   APRIL        WOOFE                        OH     90015219448
78227225471921   SANTOS       SATIER                       CO     90009352254
78227431184322   STEVEN       MCNULTY                      SC     14500944311
78227875155969   FELIPE       HUATO                        CA     90014708751
78228477441253   ADAM         MONDINE                      PA     90014694774
78231256872479   BRIAN        OGLETREE                     PA     51064842568
78233169671921   MARISELA     SANCHEZ                      CO     90009851696
78233855381633   CANDICE      LOVINGS                      MO     90013798553
78234136371921   STEPHEN      RHOADES                      CO     90007581363
78235214655969   PATRICIA     BANDA                        CA     48000472146
78235919681633   MARINA       ROJAS                        MO     90013689196
78236315941237   STEPHEN      SORTMAN                      PA     90013903159
78237312851348   TERESA       MURRAY                       OH     90006223128
78237913784355   SANTONIO     MILLER                       SC     90010589137
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78237925271921   MARK          WATKINS                     CO     32031809252
78238865531443   LARRY         BECKETT JR.                 MO     27571708655
78243552333699   TESHA         THACKER                     NC     12085385523
78243983693739   PATRICIA      POLING                      OH     90005129836
78244928655969   ALICE MARIE   MARTINEZ                    CA     90015119286
78247175471921   JUAN          HERNANDEZ                   CO     90015361754
78248464251348   JEANN         JORDAN                      OH     90011364642
78248466393739   EBONY         AVERY                       OH     90012854663
78249818555939   ROBERTO       GONZALEZ                    CA     90013308185
78251292584384   JAIME         MORALES                     SC     90001422925
78251671455984   VERONICA      GARCIA                      CA     90009446714
78251779571921   SHANNON       HARTT                       CO     90012897795
78252366131433   JESSICA       FOSS                        MO     90013353661
78253723631432   ROD           LINK                        MO     90011287236
78254443555981   KATHERINE     WALKER                      CA     90011284435
78255673986456   DIEGO         DIAZ DIAS                   SC     90015066739
78255829191588   MARTIN        BANDA                       NM     90013618291
78256162455947   RUBY          BREAZEALE                   CA     49016011624
78258197791588   MARGARITA     SAMORA                      TX     90008621977
78258879633699   LEKEI         CARPENTER                   NC     12019418796
78259471591588   SERGIO        LUNA                        TX     90012974715
78261592755969   VANESSA       MADRID                      CA     90013065927
78263277731432   PATRICIA      FOREMAN                     MO     90009372777
78263318931433   PHILLIP       JOHNSON                     MO     90014583189
78263611193739   PARRIS        PITSTICK                    OH     64555616111
78265689951348   LENA          PIERCE                      OH     90013856899
78267432471921   TREVOR        JACOBSON                    CO     90010984324
78267882141237   JULIE         MCNALLEY                    PA     51097458821
78269325555939   JOSE          MARTINEZ                    CA     90012733255
78269549731443   KEYONNA       CRAWFORD                    MO     27515915497
78273175355939   ADRIANA       MORADO                      CA     48028191753
78276515793739   TRACEY        WILCOX                      OH     90001655157
78277768855947   NOAH          MUNSEY                      CA     90014077688
78278767893739   AIMEE         NICHOLE                     OH     90012437678
78278942451355   STEPHANIE     PELCHA                      OH     90014739424
78279434693765   MICHAEL       THOMAS                      OH     90012824346
78281673384322   MELANIE       HOBLER                      SC     14575996733
78282272533699   ANABEL        NOYOLA                      NC     12060712725
78282896855969   FELIX         LOPEZ                       CA     90014958968
78283354655969   MAKAYLA       SALAZAR                     CA     90012553546
78283554933699   BETTY         ROBERSON                    NC     12055765549
78284836731433   STACEY        RAINBOLT                    MO     27581768367
78286529541237   PYSHAIA       KELLY                       PA     90013725295
78286711333699   BRANDY        BASS                        NC     12000927113
78287781257599   KENDRA        SHAHAN                      NM     90015107812
78289338555947   RAYMOND       GARCIA                      CA     49097463385
78291613691577   ARACELI       SERRANO                     TX     90004936136
78294124971921   JACQUELINE    JOHNSON                     CO     32002801249
78294427851355   JUANA         BURGOS                      OH     66073894278
78294773655969   NAYOR         SAESEE                      CA     90015127736
78296624491588   LORENZA       ROQUE                       TX     75051166244
78296777441253   MARGARET      CULLIVER                    PA     90012937774
78297787431432   KETRA         FUTRELL                     MO     90013087874
78297941655939   JUANA         ZAVALA                      CA     90008549416
78299283341253   ANNA          RYLAND                      PA     51091092833
78311419891588   MARIO         CONTRERAS                   TX     90009774198
78313286485945   ELIZABETH     HISEL                       KY     90005862864
78313686151348   CRYSTAL       PREUSS                      OH     90010766861
78313691671921   ANASTASIYA    BOBRINEVA                   CO     90001666916
78316668941227   HELEN         JOHNSON                     PA     90004816689
78318265471921   JOSH          KIRBY                       CO     90014702654
78318383531433   ASHEY         MOORE                       MO     90014853835
78319949981633   JOSEPH        KING                        MO     29010189499
78321578472479   ALEXANDRA     JONES                       PA     51082805784
78323894831433   KATHERINE     MCMEANS                     MO     90014568948
78328491455969   ZANAIDA       SAUCADO                     CA     90002564914
78329222231433   ANNETTE       STEVENSON                   MO     27568732222
78329634433698   RUBEN         ALCOMENDAS                  NC     90011746344
78333257231432   TRUEMYER      STALLINGS                   MO     90009582572
78334329555939   RENE          VASQUEZ                     CA     90002603295
78335561555969   ADRIANA       PILAR                       CA     90008795615
78337271385945   TORREY        PHILON                      KY     90011622713
78337722884322   TAMIKA        SINGLETARY                  SC     90005487228
78338189281633   SANJUANA      CABRAL-CONTRERAS            MO     90013421892
78338332855939   MARIA         ARREZOLA                    CA     48049223328
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78338858251348   NAOMI         BOEDICKER                   OH     90011328582
78339459855969   PEDRO         ELIZALDE                    CA     90001714598
78339679993739   REED          RONALD W                    OH     90005376799
78341354555939   ALEJANDRO     NARCISO                     CA     90013983545
78341992255947   ESPINOZA      NANCY                       CA     49050049922
78342426193739   AMOS          HARRIS                      OH     90009424261
78343441755969   RENNIE        PROVENCHER                  CA     90000404417
78343527255947   SIMORA        RODRIGUEZ                   CA     90014935272
78343869333658   LETICIA       TSHIPAMBA                   NC     90001708693
78344287971921   ARGENTINA     GARCIA                      CO     32098122879
78344357741232   A. SANDRA     KELLEY                      PA     51003943577
78344926291588   JOSE          RICO II                     TX     90012129262
78345324341237   ALAN          SMITH                       PA     51013723243
78345765531433   DANNEN        CLARK                       MO     90014117655
78346379655947   JESUS         GARCIA                      CA     90014793796
78346725891588   BRENDA        VASQUEZ                     TX     75017787258
78346796331443   LEE           LEWIS                       MO     90002637963
78347698441237   CHRISTOPHE    BARTON                      PA     51082236984
78348356531432   VIRGINIA      THOMPSON                    MO     90013603565
78348874455939   RODRIGO       HERRERA                     CA     90012358744
78351877751355   ANTONIO       CORTEZ SOLAND               OH     90015348777
78351922155969   OLIVIA        ARREDONDO                   CA     90012999221
78354548651348   STEPHANIE     LATHAM                      OH     90010965486
78354838951348   STEPHANIE     LATHAM                      OH     90011348389
78355233755934   HECTOR        RODRIGUEZ                   CA     90010452337
78355623741237   MICHAEL       YANKOVITCH                  PA     90014116237
78358515231432   ROBIN         WILLIAMS                    MO     90012255152
78358699784322   JORDAN        CLIFTON                     SC     90005516997
78359494371921   BLAINE        SPRATLEY                    CO     90012424943
78359613533698   CRYSTAL       MILES                       NC     12010026135
78361946871921   KELLY         DEMARTINE                   CO     32089149468
78362545981633   KARLA         PORTILLO                    MO     29072725459
78363472684322   NOE           BERNAL                      SC     90010914726
78364877831433   JERMAINE      DANIELS                     MO     90014268778
78365752141253   EVELINA       KOELSOCH                    PA     90012427521
78366127257147   WILLIAM       GUILLEN                     VA     90008801272
78367811193739   MELISSA       GAU                         OH     64593478111
78368223555969   RODRIGUEZ     PATRICIA                    CA     48012252235
78368412341253   ANTONEIETTE   ROUSE                       PA     90014774123
78369263191588   ELIZABETH     RODELA                      TX     75045602631
78369695355969   MEGAN         ROBINSON                    CA     90010196953
78371645855969   RYAN          JONES                       CA     90009276458
78373149971921   CAROL ANN     BATES                       CO     90011471499
78373614551348   REBECCA       JENSEN                      OH     90013706145
78374718641237   SHAWN         GROOMES                     PA     90000857186
78375187455947   STEVE         SHARP                       CA     90008161874
78375452984322   MARIO         RIDRIGUEZ                   SC     14534124529
78375712372479   NICOLE        CUSMANO                     PA     90006587123
78377253481633   ANGELA        CARVER                      MO     29017762534
78377913955939   THOMAS        PEREZ                       CA     48011369139
78377964651337   TEKI          FOGGIE                      OH     90010599646
78378157291588   VERONICA      GABALDON                    TX     75022231572
78378655355969   CASSANDRA     SALINAS                     CA     90013596553
78378699631432   KELSEY        AMOROSO                     MO     90003776996
78379327185945   DAVID         GONZALEZ                    KY     90008853271
78381555655969   MORIANA       VALENZUELA                  CA     90014785556
78381718431433   ROSETTA       GIBBS                       MO     90006857184
78382174971921   TERRELL       ALLEN                       CO     90010101749
78382331141227   JOSEPH        BORZACCHIELLO               PA     90001113311
78382441355947   DANIEL        GONZALEZ                    CA     90013034413
78383252833698   LOVIE         WOOD                        NC     12090582528
78383425893739   KIESHA        EDWARDS                     OH     90012734258
78383791741227   ELAINE        RUSSELL                     PA     51068727917
78384555951348   DEMETRIUS     DALLAS                      OH     90010455559
78385424841253   DAMBER        NEPAL                       PA     90013534248
78385982755939   MATTHEW       DREW                        CA     48064609827
78387815471921   SYLVIA        DURAN                       CO     32074888154
78388582451355   AUSTIN        MARTIN                      OH     90015495824
78392537761975   SETHI         KMWR                        CA     90007605377
78394854972479   DOUG          HAYDEN                      PA     90002828549
78395134271921   VICENTE       NATIVIDAD                   CO     32065231342
78395924955947   STELLA        ZAPATA                      CA     90012829249
78396593171921   KENDY         ARRIOLA                     CO     90011375931
78397333172479   MELVIN        HALL                        PA     51044203331
78397735493739   CYNTHIA       CAMPBELL                    OH     90006647354
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78399179293739   TEIA          BANKSTON                    OH     64567821792
78411786551355   PAYGO         IVR ACTIVATION              OH     90015167865
78411934231466   ALBETTHA      BOND                        MO     90013219342
78413997251355   BRANDI        CANNON                      OH     66080899972
78414222741286   JIM           SCOT                        PA     90010882227
78414352771921   DELON         RANDON                      CO     90013193527
78414524493739   FLICIA        LOGGINS                     OH     90014575244
78414538655947   ROBERT        ESQUIBEL                    CA     49074345386
78416796191572   JOAQUIN       LABRADO                     TX     90007727961
78417954655969   GONZALES      ENRIQUE                     CA     90011229546
78418367455969   MONICA        RODRIGUEZ                   CA     48001523674
78418399591959   JEFF          RILEY                       NC     90012363995
78419276733699   SUSAN         MULLINS                     NC     12082412767
78419838631433   ARTHUR        JACKSON                     MO     90014768386
78422744784322   SHARON        STANLEY                     SC     90006097447
78424556155947   MARISOL       TORRES                      CA     49039235561
78427368471921   JUAN          ALVARADO                    CO     90015273684
78427517141237   TINA          KREIL                       PA     51096495171
78427567293739   DEBRA         WILES                       OH     64579785672
78428387171921   SURAE         BERNED                      CO     90009663871
78428734491588   DANIEL        MARQUEZ                     TX     90010137344
78432216681633   ELAINA        MARSHALL                    MO     90003832166
78436229155969   ALICE         REYES                       CA     48082082291
78438392741227   CARLA         HORTON                      PA     90006153927
78438411431433   MARK          SMITH                       MO     90004214114
78438889841237   TORI          KAZEW                       PA     90013758898
78439284891588   MARIA         GUTIERREZ                   TX     75014832848
78441628841237   LATONYA       WHITE                       PA     90012256288
78442497172479   JULIE         BARTOLOZZI                  PA     51087874971
78443465281633   MARCUS        JONES                       MO     90007834652
78443467831432   DANIELLE      WILLIAMS                    MO     90014604678
78444617593739   VICTORIA      ELY                         OH     90006496175
78445341355947   ROGELIO       DUARTE                      CA     90010983413
78445393251355   RYAN          PASTOR                      OH     90011993932
78445662633699   RASHUNDA      DOWNEY                      NC     12001176626
78446477471921   AMY           MARTINEZ                    CO     90010654774
78446613941253   SARA          BOTTOMS                     PA     51096926139
78448138777528   SHELLY        MIKES                       NV     90014011387
78448992655947   SANTIAGO      SERVIN                      CA     90000869926
78449384255969   LOVINIA       CALDERA                     CA     90011973842
78449956971921   DANIEL        TELLEZ                      CO     90001489569
78451231451348   JESSICA       BUSSIE                      OH     90012022314
78451542881633   MARIA         LEYVA                       KS     90014835428
78451593361958   LAURA         RINCON                      CA     90011695933
78451858655947   KAREN         JAUREGUI                    CA     90013168586
78452217391588   CYNTHIA       CRUZ                        TX     75067332173
78453825141237   FRANK         CARUSO                      PA     51066898251
78454224531432   CORA          NICHOLS                     MO     90014172245
78455161333624   CHAYANE       MCKINNEY                    NC     90012551613
78455625855969   DEZIRAE       VELAZCO                     CA     48001306258
78456222441227   CHENEA        ARINGTON                    PA     51029592224
78457516341253   JEFFREY       EATON                       PA     51007095163
78457596955947   JUANITA       FLOREZ                      CA     49076855969
78458388655969   SALVADOE      ORTEGA                      CA     90009573886
78458689471921   ROBERTA       O'GILVIE                    CO     32079356894
78462277841237   DOROTHY       DANCY                       PA     90014622778
78463482333698   EVELENA       CARTER                      NC     12052794823
78463882181633   MERCEDES      RAUCHLE                     MO     90004838821
78464278881633   INA           CASTRO                      MO     29016582788
78464816751348   LAUREN        ANDERSON                    OH     90013648167
78464936941247   NICOLE        DUNCAN                      PA     90001399369
78465582155969   CHRISTOPHER   MORGAN                      CA     90012915821
78466276991588   TANYA         DENSON-MOORE                TX     75063542769
78466675981633   WILSON        NIC                         MO     29078836759
78466774672479   SARA          HOUSEMAN                    PA     51034767746
78466837671921   MARISELA      HOLGUIN-SOTO                CO     90004988376
78471455441227   DONALD        COLES JR                    PA     51045044554
78474382651355   BRINA         MEDELLIN                    OH     90009533826
78474846441237   TONYA         DANIELS                     PA     51090228464
78474964972479   RICHARD       MAGLET                      PA     51088969649
78479625155939   DEBORAH       HUNTER                      CA     48001586251
78479836481633   LILIAN        SALDANA                     MO     90013528364
78479883371921   APRIL         HERNANDEZ                   CO     90013468833
78481398372479   CHRIS         RUNK                        PA     90001943983
78481727331433   JEANETTA      JOHNSON                     MO     90015067273
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78482278531432   CRYSTAL         GREGORY                   MO     90002532785
78482624355947   BONNIE          LEDGER                    CA     90014616243
78483172371921   THOMAS          SCHNERDER                 CO     90012901723
78483269831432   LAUREN          WRIGHT                    MO     90009262698
78484374855939   LAMBERTO        LARA                      CA     90011523748
78484642755947   JESUS           ALVARENGA                 CA     90010996427
78484917473233   JAMES           ZELLER                    NJ     90014209174
78485686855969   MARIA           ZAMORA                    CA     90013376868
78485993655939   MICHAEL         MEAVE                     CA     90014509936
78486269931432   DAHMEN          LEE                       MO     90011872699
78488667155939   DOLORES         SANDOVAL                  CA     90006236671
78488766351348   MATTHEW         ANDERSON                  OH     90015327663
78492133391225   MARCUS          LUCKY                     GA     90009671333
78492563333699   JESUS           CRUZ                      NC     12066305633
78493627371921   MICHELLE        MARTINEZ                  CO     90015516273
78494354371921   ANTONIO         GONZALEZ                  CO     90014833543
78494451691588   SILVIA          ADAME                     TX     90010194516
78494461655969   SANDRA          ROMERO                    CA     48003024616
78494494741253   ROBERT          HARRIS                    PA     90014874947
78496463355947   LENORA          MORALES                   CA     90014854633
78496738871921   CHARLES         HOPPER                    CO     32038057388
78497136441232   JUSTIN          BETTS                     PA     90009531364
78497153551348   STEVE           CHARLES                   OH     90013421535
78513181455969   AMY             MESSERLY                  CA     90008451814
78514246593739   FELICIA         FORTHOFER                 OH     64557172465
78514457885945   LANNY           TURNER                    KY     90002194578
78514584551586   JESSICA         CASHMAN                   IA     90014015845
78516385631433   MARQUIS         PAYNE                     MO     90009223856
78517345255939   JOSE            VILLA                     CA     90010943452
78517464591586   CYNTHIA         ESTRADA                   TX     90006214645
78517693951348   ARIC            EVANS                     OH     90015286939
78518185555939   MARGO           ORTIZ                     CA     48057081855
78518263141237   CHRISTINA       DAVIS                     PA     90012332631
78521513661958   MARIA           OROZCO                    CA     90011895136
78521539651355   TARA            HUSSONG                   OH     66045435396
78521767133698   PRINCESS        JONES                     NC     12091787671
78522248293739   BRITNEY         ELOFSKEY                  OH     90004222482
78522685555947   ANGELA          HENRY                     CA     90009696855
78523139751355   BARBIE          KIDDER                    OH     66078371397
78523915641267   JAMES           OSHEA                     PA     90009229156
78524169841237   JOHN            MEYER                     PA     90012261698
78524523691588   AGUSTIN         CHAIREZ                   TX     90007795236
78525167341227   MATTHEW         DURRANT                   PA     90002041673
78525243631443   MELONIE         GEORGE                    MO     27571922436
78525255233698   MISTY           PARKS                     NC     12062822552
78525445951355   JOSHUA          CAUSEY                    OH     90013824459
78525464693739   SHAWNA          DAVIS                     OH     90014714646
78526693671921   TRACY           KLOEFKORN                 CO     90007276936
78529661786435   CHRISTOPHER     CARSON                    SC     90015506617
78531777855947   STACI           HUDGENS                   CA     49040587778
78531796251378   SARAH           AKERS                     OH     90013007962
78531811993739   MARY            ROWLAND                   OH     90014788119
78532779955939   GARY            RODRIGUEZ                 CA     90012327799
78532821241253   FRANK           WOODSON                   PA     51020728212
78533262651348   GREG            RILEY                     OH     90010912626
78533374451355   KARI            TAYLOR                    OH     90010883744
78534734593739   AARON           CRUSHON                   OH     90014077345
78535633371921   PAUL            RUCHALSKI                 CO     90007936333
78535779931433   DORRELL         YOUNG                     MO     90012047799
78538814855939   LUIS FERNANDO   CARDENAS                  CA     90008918148
78538993651355   SANDRA          BOWLING                   OH     90001149936
78539228331432   YESENIA         ROJAS-MARTINEZ            MO     90011292283
78539228585972   JAMES           ACREE                     KY     90011092285
78539567831433   HENRY           HAYES                     MO     90012775678
78539813591588   MARISELA        ESTRADA                   TX     90011168135
78541161833698   TINIKA          TRIPLIN                   NC     90002471618
78541672655969   DALY            SYPRASERT                 CA     90011526726
78543653751348   ALBERTO         ARAMILLO                  OH     90013966537
78543746431433   FREDRICK        HIGGS                     MO     90010937464
78543946133699   CESAR           ROSALES GONZALEZ          NC     12002609461
78545285984322   YESENIA         GUZMAN                    SC     90006782859
78546125791588   MIRNA           ARRAS                     TX     75041251257
78546894855939   ALFONSO         RAMIREZ                   CA     48006118948
78548754355939   MARISOL         CONTRERAS                 CA     48045747543
78549197355947   JACQUELIN       ESTREDA                   CA     49030291973
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78551517251348   MARSHALL        RUSNAK                    OH     90012385172
78551827141237   CHRISTINE       WAGNER                    PA     51020818271
78552299191588   ROBERT          RIVAS                     TX     75097982991
78556229641237   DARLA           RUSSELL                   PA     51075052296
78556547151348   GABRIELLE       SHERIDAN                  OH     90014205471
78557137451348   PAUL            LALONDE                   OH     66020511374
78558569533698   KANDICE         COLLIER                   NC     12090775695
78558766791588   LISBETH         RESENDIZ                  TX     90015117667
78559354491588   CITHIA          CARRANZA                  TX     90014833544
78561814855939   LUIS FERNANDO   CARDENAS                  CA     90008918148
78562323955947   JOHN            OJEDA                     CA     90002123239
78562654131432   RICK            SCHWEIZER                 MO     90010376541
78565115351348   TOM             ROELL                     OH     90012951153
78565219855939   KARLA           CHAVIRA                   CA     90012982198
78565715685995   CASSANDRA       WASHINGTON                KY     90010107156
78566279931443   TIERRA          GILL                      MO     27531542799
78566415431433   CHRISTOPHR      SIMMONS                   MO     27547534154
78566481493767   GERALDINE       ARMOUR                    OH     90010524814
78567584355969   KERRY           ALVES                     CA     90003585843
78569231851348   THERESA         KOGER                     OH     66090452318
78569678455969   CESAR           PARRA                     CA     90011526784
78569936172479   CHUCK           STEINER                   PA     51009339361
78571816455947   MEGA            FALE                      CA     90013228164
78572145555939   VICTORIA        REYES DE BARRAGAN         CA     90013561455
78572995855947   ERICA           CARDENAS                  CA     90013049958
78573152571921   PAYGO           IVR ACTIVATION            CO     90012591525
78573575891588   ROBERTO         PEREZ                     TX     75008465758
78573969131433   SHEILA          OWENS                     MO     90014759691
78573972757126   CARLOS          MOLINA                    VA     81086959727
78578112431443   MILTON          DAVIS                     MO     27500091124
78578261555939   JESUS           SANCHEZ                   CA     90014832615
78578729571928   NAYTRESE        WHITE                     CO     90012777295
78579863155939   ERASMO          DIAZ                      CA     90010038631
78581777141227   KRISTINA        LAURENCE                  PA     51010987771
78582279451355   BRITTNEY        JOHSON                    OH     66014212794
78583588181633   MALIKA          LANE                      MO     90003395881
78583675955947   SHANICE         NGOV                      CA     90005506759
78583851555969   SARA            PALOMINO                  CA     90011418515
78585114191588   LUZ             FELIX                     TX     75024131141
78586215941237   ROSS            BURTNER                   PA     90012262159
78586834293767   ANTONIO         MCCOY                     OH     90001258342
78586911161951   FRANKIE         ARAGON                    CA     90011629111
78586941655956   ANTONIO         RODRIGUEZ                 CA     90014699416
78587323191588   CAESAR          ACOSTA                    NM     75032413231
78588996941227   KAREN           LEWIS                     PA     51046859969
78589413241253   JEFFREY         HUTCHISON                 PA     90014584132
78591391155969   ALMA            LOPEZ                     CA     90008813911
78592784241237   JOSEPH          COOK                      PA     90014887842
78593466555939   JONNY           JIMENEZ                   CA     90014884665
78594298871921   STEPHEN         PEARCY                    CO     32067682988
78594663455947   LORETTA         NIETO                     CA     90012946634
78595722655939   KARLA           ARAUJO                    CA     90011987226
78597541272479   RONNIE          GRIFFIN                   PA     51083225412
78597938593728   THERESA         BRUGGEMAN                 OH     90008339385
78598681155969   MAYRA           OLEA                      CA     90012066811
78611187455947   STEVE           SHARP                     CA     90008161874
78611758455939   GUADALUPE       VILLEGAS                  CA     48059657584
78612797655939   ELIZABETH       ORTIZ                     CA     48030527976
78613314131433   ELIZABETH       MACK                      MO     27586613141
78613344755947   MARTIN          GUITIERREZ                CA     90014443447
78613396751355   JUANA           BURGOS                    OH     90014453967
78613475781633   RONNY           BRITAIN                   MO     90003094757
78613624491588   LORENZA         ROQUE                     TX     75051166244
78614493471921   ANNETTE         MCMANUS                   CO     90002134934
78615241184355   OCTAVIO         PEREZ                     SC     90013052411
78615475271921   MICHAEL         MEDLOCK                   CO     90010484752
78615726751355   ASHLEY          SNOWDEN                   OH     90000967267
78616345351348   SYLVAN          CARR                      OH     66008773453
78617385991588   IVAN            MARTINEZ                  TX     90013653859
78617918671921   MARTIN          ARAGON                    CO     32081209186
78618469855969   ANDREA          GUTIERREZ                 CA     90013384698
78621686831433   EDWARD          STARR                     MO     90001426868
78622598133698   ERIC            MOORE                     NC     12087995981
78624732141253   TINA            JARACZ                    PA     90000227321
78626393186451   TAMARA          RICE                      SC     90011163931
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78626449293739   RYAN               GRUBER                 OH     90005134492
78626863141227   JUSTIN             LEVY                   PA     51095738631
78627242193739   JENNIFER           BARNES                 OH     64556652421
78627521631433   LAKEESHA           BORDEN                 MO     27598835216
78628148151355   CARLOS             ELMENGOR               OH     66050701481
78628531531433   BENJAMIN-BARBARA   SLAY                   MO     90014935315
78629676771921   TARA               BRIENZA                CO     90012946767
78631271131433   JASONNA            HUNLEY                 MO     90011042711
78632693355947   DONALD             HADLAND                CA     90010996933
78633369941253   ROBERT             PULSON                 PA     90013913699
78634711355939   JESSICA            GUERRA                 CA     90004917113
78634934855947   KELLIE             PAYNE                  CA     90011029348
78636391272479   RICHARD            MORGART                PA     51098343912
78637693355947   DONALD             HADLAND                CA     90010996933
78638325591963   BINIAM             KELATI                 NC     90013923255
78638644541237   THENICA            CARMICHAEL             PA     90004966445
78638952672479   JAMIE              GAREIS                 PA     51003109526
78639215941237   ROSS               BURTNER                PA     90012262159
78641137955969   MAXIMINO           VILLAREAL              CA     48056681379
78641935155947   CHANNY             MEP                    CA     90012639351
78642235555939   SANDY              HERNANDEZ              CA     90009472355
78644158441237   FANNIE             MARSHALL               PA     51003211584
78644236555947   AEJANDRINA         REYES                  CA     90008312365
78644381981633   DANIEL             LUNA                   MO     90014573819
78645153477524   HERMINIA           NUNEZ                  NV     90009481534
78645731172479   LAURI              THOMPSON               PA     51029737311
78646172991939   ISAAC              YORK                   NC     90010561729
78646998755947   JUANITA            VENEGAS                CA     90009819987
78647179391588   SERGIO             VASQUEZ                TX     90013931793
78647531855947   CORINA             ARREGUIN               CA     49043805318
78651395293739   ANGEL              LOPEZ                  OH     90013503952
78652284755939   ROSAURA            GONZALEZ               CA     90014932847
78652334341237   MARDIS             ETHRIDGE               PA     51040293343
78652727851355   DEBORAH            HAYES                  OH     66011997278
78653661277552   DAVID              BROOKS                 NV     90013886612
78653824571921   IAN                SMITH                  CO     32008368245
78654513751355   MIGUEL             ANGEL                  OH     90014125137
78656612691952   DEDE               JONES                  NC     90014796126
78658891144277   MARIO              GALLEGOS               CA     90013698911
78659159593739   LONNI              ROWE                   OH     90009231595
78659169831433   SHAWNA             FRANKLIN               MO     90007891698
78661351571921   YOUNG              SAVAGE                 CO     32085993515
78664165281633   IGNACIO            CASTILL                MO     90013021652
78664277841237   DOROTHY            DANCY                  PA     90014622778
78664482755947   ALMA               MENDIVIL               CA     90013854827
78666147951355   SIXTO              CORONADO               OH     90014521479
78667852441237   JAMAICA            RAMSEY                 PA     51066928524
78667915651348   BLOSSOM            WARD                   OH     90010459156
78668275571921   ELIZABETH          GANN                   CO     90015112755
78671837655939   OSCAR              GOMEZ                  CA     90008918376
78671921451348   ASHLYN             BAKER                  OH     66015959214
78672377355969   KRYSTAL            RAMIREZ                CA     90006873773
78673555293739   DARELL             MAY                    OH     90015085552
78675158493739   JAMES              KYNE                   OH     64560271584
78675237355939   JUAN               JIMENEZ                CA     48014712373
78675293955996   HUBERT             MOORE SCOTT JR         CA     48007522939
78675661391588   BRENDA             RAMIREZ                TX     90013536613
78675757981633   AGUSTIN            TREJO-CRUZ             MO     29045857579
78675843255969   ROSE               RENTERIA               CA     90008828432
78676989741237   BRIAN              ALLEN                  PA     51007819897
78677888131433   GERALDINE          WHITAKER               MO     90014268881
78678969731433   SHERMIKA           WARD                   MO     90013879697
78679335331432   PAMELA             LOCKETT                MO     90012803353
78679897841237   TYRONE             WILLIAMS               PA     51060608978
78681396555939   JESSICA            REYES                  CA     90009713965
78683623551368   HEATHER            DEES                   OH     66069416235
78684653131443   MARIANNE           MUEHLENBROCK           MO     27503786531
78685695451337   EDWIN              GERDES                 OH     66010706954
78686235661967   NICOLE             DOMKE                  CA     90008992356
78686861655947   MAI                THAO                   CA     90014138616
78687827431432   HAROLD             BLANCHARD              MO     90011598274
78687868391588   LUIS               BARRAZ                 TX     90014438683
78689611691323   DANIEL             SEPULVEDA              KS     90014776116
78689655355939   CASSANDRA          SALINAS                CA     90013596553
78689739891588   JUAN               ESTRADA                TX     90010137398
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78691719551355   PAYGO           IVR ACTIVATION            OH     90015557195
78692168231463   TYRONE          MOORE                     MO     90013551682
78693656155939   DIEGO           BORUNDA                   CA     90010226561
78694939955939   ANTHONY         PADILLA                   CA     49077859399
78694945641253   NINI            HLAING                    PA     90012289456
78695585844346   DAMARIS         GRANER                    MD     90012565858
78695732955947   ROSALIO         ESTRADA                   CA     90005697329
78696412555969   SHEENA          LUNA                      CA     90008984125
78696468171921   BRENT           DAMRON                    CO     90013164681
78696681531433   JENNIFER        NOLAN                     MO     90009446815
78697678155947   JOAQUIN         CONTRERAS                 CA     49080276781
78697827661973   GRISELDA        MONDRAGON                 CA     46070758276
78698211451355   CLADUIA         CLAUDIA                   OH     90003582114
78698351551348   KELLY           CAUDILL                   OH     90007403515
78698495593739   MELINDA         ESTEP                     OH     64539554955
78698844493739   CHRISTINA       LONG                      OH     90008378444
78699221455947   ALMA            HERNANDEZ                 CA     49073682214
78711733755939   MANUEL          AREVALO                   CA     48048757337
78712365841253   VESHIA          GUICE                     PA     51031373658
78713293341227   SHAUNAY         WOODRUFF                  PA     51083052933
78713343151355   NICOLE          RUNIONS                   OH     66033303431
78714622871921   SHAUNA          HECKMAN                   CO     90007946228
78714732931443   DAGNA           LONG                      MO     27572217329
78715791655947   NORMA           NAVARRETE                 CA     90014727916
78716629651391   RAPHEAL         DAVIS                     OH     90001166296
78718351941237   MARYJEAN        CONTE                     PA     51046703519
78718537651348   CHRISTOPHER D   BRADFORD                  OH     90012505376
78719355451355   WILLIAM         RAPIER                    OH     66046333554
78724541751355   NELSON          CASTRO                    OH     90015285417
78724946531432   LATOYA          CHATMAN                   MO     90013159465
78725496893739   ALICIA          BLOUNT                    OH     64507884968
78725865581633   JESSICA         BATTON                    MO     90013768655
78727256144346   PODD            COOLHAN                   MD     90015542561
78727774155947   SOUA            LEE                       CA     90013987741
78727918781633   BRIONES         MANUEL                    MO     90001729187
78728248171921   DEBBIE          MERCER                    CO     32034532481
78729175731432   CHRIS           DAVIS                     MO     90014781757
78732442441227   DANIELLE        DAVINPORT                 PA     90005124424
78733187955969   ANGELA          GONZALEZ                  CA     90010171879
78733353951348   MONT            NORMAN                    OH     90003163539
78733373391588   RIVERO          ROSENDO                   TX     90012183733
78733612771921   KAYLA           INNESS                    CO     90014176127
78735452251355   BRAXTON         PRATT                     OH     90014534522
78735789293739   SHALYNNE        ROOKARD-MILLS             OH     90011227892
78735866851355   TERENCE         COLEMAN                   OH     90013208668
78736889671921   RAMON           MONTOYA                   CO     90009788896
78738543231433   CLARA           MCCOMBS                   MO     27505415432
78738746291588   LAURA           DELGADO                   TX     90009937462
78743448531433   TANISHA         WEBB                      MO     90013544485
78743575151348   MELANIE         FORNEY                    OH     90010085751
78745484531432   SHAWN           NEARLY                    MO     27572274845
78746692155969   GERARDO         RUIZ                      CA     90012066921
78749872893739   MARIE JOSIANE   DUSABE                    OH     90013778728
78753963372479   ANGELA          GLOVER                    PA     51047359633
78755572855947   ELISE           MARIE BANDY               CA     90000845728
78756744793739   APRIL           MOORE                     OH     64593177447
78758199991979   SHAMIRE         TUCKER                    NC     90013251999
78758591281633   JENNIFER        MARTINEZ                  MO     90009455912
78758937951348   MAURICIA        ANDRE                     OH     90006919379
78759463255947   HORTENCIA       COVARRUDIAS               CA     49047104632
78761184933698   JESUS           ARELLANO                  NC     90005351849
78762524991588   CARINA          CHAVIRA                   TX     90007995249
78763881855969   JOSE            CASTRO                    CA     90012728818
78764259891588   LETICIA         FLORES                    NM     90001082598
78764273791368   SAMANTHA        MOORE                     KS     90005052737
78764912855969   SHANDRA         SMITH                     CA     90000169128
78766456291588   JONATHAN        BELTRAN                   TX     90010984562
78767417951355   LINDA           GENTRY                    OH     90006244179
78767812541253   SANDY           REYNOLDS                  PA     90007158125
78769961772479   JIMMY           DORA                      PA     90001419617
78771767781633   VONZELL         SWAN                      MO     90015307677
78773428686436   GEORGE          FOY                       SC     90013864286
78775273151348   RICO            ASBERY                    OH     66002462731
78775372331433   RONZELL         MCPETERS                  MO     90014583723
78775424841237   GEORGE          SMITH                     PA     90014944248
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78775681271921   LEROY           PHILLIPS                  CO     90000606812
78775923151355   WADE            ROBERTSON                 OH     66009589231
78776271391588   LILIANA         MUNOZ                     TX     90012272713
78777856141237   MELINDA         ERNY                      PA     51039618561
78777934781679   CONNIE          LAMKIN                    MO     29083109347
78782572155969   ISABEL          CARDENAS                  CA     48033585721
78782798931433   TIMOTHY         SIMS                      MO     27572817989
78786237141253   SA              HOANG                     PA     90008282371
78787496755969   PENNI           TSOCHEFF                  CA     90013284967
78788956593739   LISA            JENNINGS                  OH     90011229565
78789521851355   SANDRA          GARCIA                    OH     90014385218
78789912871921   CHRYSTAL        SANCHEZ                   CO     90012679128
78791444533698   ROSANNE         DOWDY                     NC     12004264445
78791659661984   MARTH           LOPEZ                     CA     90011686596
78792242531443   PATRICK         AKERS                     MO     27511452425
78792372641237   JAMMIE          CLEMANTE                  PA     90011913726
78792976971921   YADIRA          RICO                      CO     32061779769
78793481855969   TINA            PENA                      CA     90004964818
78793813893739   MARK            GIBSON                    OH     90014788138
78794551193739   JUAN            GOMEZ                     OH     90012065511
78798423273267   SHAY            MAGIDOV                   NJ     90013844232
78799239733699   NELSON          ECHEVERRIA                NC     90002802397
78811152155921   CHRIS           BEASTON                   CA     49035051521
78811956593739   LISA            JENNINGS                  OH     90011229565
78812836233698   CHAUNCEY        HALL                      NC     90005588362
78813195751348   TERSIA          MARKSBERRY                OH     66064731957
78816394755947   HEATHER         HUGHES                    CA     90011343947
78818424772479   JOAN            KOVALCHUK                 PA     90004604247
78818622871921   JENNIE          AQUINO                    CO     90013226228
78819663471921   MARTHA          CERVANTES                 CO     90014816634
78821166836123   MIHAEL          MENDOZA                   TX     90012771668
78821599551348   VALENTIN        GARCIA                    OH     90011965995
78824265651348   DAVID           BUNNER                    OH     90014812656
78825112533698   JASMIN          BURRELL                   NC     90012591125
78826928155939   ANTHONY         OCANAS                    CA     48038429281
78827434255947   DIANA           HUBBLE                    CA     90013744342
78828288893739   SCOTT           DAVIS                     OH     90013612888
78828654131432   RICK            SCHWEIZER                 MO     90010376541
78828715755947   ROBERT          ESTRADA                   CA     49048697157
78828959191588   NANCY           DE LA CRUZ                TX     90004209591
78829585981633   BROOKLYN        VAUGHAN                   MO     90013075859
78831167541227   ALIYYA          LEE                       PA     90000521675
78833766155939   ANA             MARTINEZ                  CA     48057167661
78834127897123   TRACEY          HIGGINBOTHAM              OR     90014811278
78834678855969   RAYMOND         WITTMAN                   CA     90001646788
78834994581633   DEWAYNE         COOPER                    MO     90011759945
78835352493739   KALI            COLLIER                   OH     90013903524
78835434181633   ANDREW          ADEN                      MO     29015724341
78835882455969   ANA             HERNANDEZ                 CA     90008558824
78836434181633   ANDREW          ADEN                      MO     29015724341
78836481871921   STAN            MEEKS                     CO     32098684818
78836528393739   TERRI           JONES                     OH     90002045283
78837577981633   ANGELA          DALE                      MO     90010945779
78837615141237   SUSAN           WOODWARD                  PA     51096186151
78837931231432   DALFRED         TAYLOR                    MO     90010229312
78838735157126   GLADIS CELINA   HERRERA                   VA     90003047351
78839165551355   ANTHONY         GREEN                     OH     90012541655
78839594955939   JOSE            SERRANO                   CA     90014265949
78839952485954   TRAVIS          BOSWELL                   KY     90013149524
78841139185896   CHRIS           JASAK                     CA     46048981391
78842829191588   CLAUDIA         DEL LA SIERRA             TX     90014488291
78843675593767   JULIA           MATTHEWS                  OH     90004766755
78845424991572   BRENDA          CEBALLOS                  TX     90007374249
78846767141289   JAMES           BROWN                     PA     90000307671
78846844791588   CESAR           PONCE                     TX     90013238447
78847423984336   RUBINSTEIN      BROWN                     SC     90002534239
78848669286433   VERNON          CARTER                    SC     90015166692
78849288893739   SCOTT           DAVIS                     OH     90013612888
78851248431432   SONIA           STRINGER                  MO     90015132484
78851581341265   SUSMITA         GURUNG                    PA     90008945813
78851976555947   FERNANDO        BELTRAN                   CA     90012619765
78852278371921   DAVID           HENDRICKSON               CO     90012482783
78853545757531   NANCY           PEREZ                     NM     90009355457
78854541491588   STEPHANIE       TORRES                    TX     90013565414
78854773451355   SERGIO          PEREZ VELASCO             OH     66087707734
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78854861855947   MARIA        GARCIA                       CA     49021848618
78854956841253   ASHLEY       MATHESON                     PA     90013149568
78856471141253   JORDAN       WILDER                       PA     90012584711
78858515455982   BRANDON      GONZALEZ                     CA     90003095154
78858738755969   MARCIAL      DELGADO                      CA     90014517387
78859248431432   SONIA        STRINGER                     MO     90015132484
78861463351355   BRANDON      STURGEON                     OH     90011734633
78862263541253   ERIC         BROWN                        PA     51030562635
78862797155939   EMMA         HERNANDEZ                    CA     48007577971
78862827571921   RHIANNA      GAVIN                        CO     32087638275
78862999931432   ANTHONY      CASSADAY                     MO     27538999999
78864824551368   WANDA        WOODARD                      OH     90008298245
78865836233698   CHAUNCEY     HALL                         NC     90005588362
78865917455969   JEREMIAH     VELA                         CA     90013909174
78866582251391   YACIR        JAOUHARI                     KY     66043095822
78867499731433   ROSALIND     VAUGHN                       MO     90009224997
78869149941237   RUBY         MUNSEY                       PA     90005151499
78869481551355   ASHLEY       WILSON                       OH     66047264815
78871445931433   LETITIA      MOORE                        MO     90014704459
78871717971921   DEZARAY      ZOCARRO                      CO     90014457179
78872271393739   CAMERON      STORM                        OH     90015152713
78872429951348   JACQUELINE   BREWER                       OH     90013344299
78873777755969   GUSTAVO      CEBALLOS                     CA     90009297777
78874272171921   SACHAE       HAIGLER                      CO     32023392721
78875369655939   TOMASA       PEREZ                        CA     90014553696
78875635231466   DEBORAH      NORMAN                       MO     27512036352
78876797141257   QUINNESHA    ALVEREZ                      PA     51010797971
78878439855939   ANTHONY      CASTELLON                    CA     90013984398
78881232693739   RONALD       NARED                        OH     64530762326
78884392555947   SOUK         POLSENA                      CA     90014553925
78885419693739   LORETTA      HALCOMB                      OH     90004974196
78887187455947   STEVE        SHARP                        CA     90008161874
78887293541237   RICHARD      PLISH                        PA     90012482935
78889614571921   RUTILO       LUNA                         CO     32087626145
78891656481633   AURIOS       PERZO                        NE     29005986564
78892158151355   JAY          WHYLE                        OH     66064821581
78892262433698   JEMICEO      GRAHAM                       NC     12096632624
78893248481633   KELLY        DILLARD                      MO     90008912484
78893665333625   AMANDA       CASSINELL                    NC     90011876653
78894328751348   JOSHUA       DILBERT                      OH     90003263287
78894525541253   LAVONNE      JOHNSON                      PA     51043235255
78895449481633   DAMIAN       MAYS                         MO     29062214494
78895521591963   HORACE       BROWN                        NC     90005875215
78897233933698   MELISSA      JOHNSON                      NC     90002692339
78897462755947   ROQUE        CARRILLO                     CA     90011384627
78898266155997   CANDANCE     RAMIREZ                      CA     49005882661
78898812431432   HEATHER      NICOLAS                      MO     90014868124
78899553863669   TIM          DICKHERBER                   MO     90011345538
78911128331432   JUDITH       HUNTER                       MO     90001311283
78911382433698   CARLA        FULTON                       NC     90008823824
78911457481633   LESLIE       ELLISON                      MO     29034104574
78912161655946   HEIDI        PORCHIA                      CA     90011491616
78914677731432   VICTORIA     RODGERS                      MO     90010376777
78916666255939   OMAR         DUARTE                       CA     90013786662
78921126444346   STEVE        FUNK                         MD     90015381264
78921697651355   TAMARA       SCRATCH                      OH     90012796976
78921995793739   KRISTEN      KWASNY                       OH     64565919957
78923229851355   CHERIE       HOCKL                        OH     90014442298
78923581155969   FLORINDA     ALEJANDRO                    CA     90007735811
78924685291588   MELISSA      JASSO                        TX     75043756852
78924748255969   VICTORIA     AVILES                       CA     90011437482
78924751431439   JANELLE      JONES                        MO     90001137514
78925145281633   COLTON       JACKSON                      MO     90015171452
78926313641227   ALI          ABDULLAH                     PA     90005213136
78928347631433   SHANON       LEE                          MO     27568883476
78928676455939   CARLOS       MENDOZA                      CA     90010036764
78928943431432   VICTORIA     SMITH                        MO     90009399434
78929275581633   JENNIFER     GAULTER                      MO     90013852755
78931246993739   ROYAL        CURRY                        OH     90010652469
78931296193739   CATHERINE    HEDGES                       OH     90009762961
78931318193747   SAMANTHA     WITT                         OH     64562303181
78934844493739   CHRISTINA    LONG                         OH     90008378444
78935128451355   LINA         LGWAL                        OH     90011091284
78935592455939   CLAUDIA      RIVERA                       CA     90004285924
78936353591368   ROCIO        FERNANDEZ                    KS     90012333535
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78937862171921   KAYLA           COX                       CO     90010088621
78938119944346   MALCOM          OWENS                     CO     90011141199
78938227741237   MARC            JACOB                     PA     90013852277
78938311655939   AMANDA          DELACRUZ                  CA     90014683116
78939419357531   FRANCISCO       RUBIO                     NM     90014764193
78941354691588   SILVIA          ALAMO                     TX     90013103546
78941597651348   MARY            WHITLOW                   OH     90012885976
78942428571921   AARON           LOCHER                    CO     90014824285
78943621171921   SARA            ANGELINE                  CO     90011056211
78944543161939   MONICA          ESPINOZA                  CA     90012315431
78946343951355   SHAWN P         CARDWELL                  OH     90013943439
78947647891588   VERONICA        PEREZ                     TX     75091576478
78949965333624   YVONNE          MARIE                     NC     90010699653
78951471893739   KELLY           RIGGS                     OH     64567204718
78951977231433   TYLISHA         WILLIAMS                  MO     90014759772
78953154455969   MARICELA        MONTENEGRO                CA     90012381544
78955169531433   SHIRELL         HENRY                     MO     90013961695
78958615672479   RYAN            TURIN                     PA     51016876156
78962786871921   CHRISTOPHER     GRONHAGEN                 CO     90013027868
78963325555939   JOSE            MARTINEZ                  CA     90012733255
78965416241253   CYNTHIA         DINI                      PA     90011364162
78967542871921   CARLOS          PACHECO                   CO     90010235428
78967736141227   JUAN            CEDILLO                   PA     90002887361
78968528155939   JHOVANI         SEGURA                    CA     48037845281
78968684493739   MICHAEL         ORTH                      OH     90013926844
78968796433698   SHAWANDA        JOYCE                     NC     12036747964
78969187991566   FRANSISCO       SAPIEN                    TX     90001761879
78969399893739   RICHARD         CRON                      OH     90013413998
78969661891588   GABRIELA        RODRIGUEZ                 TX     90005916618
78972768431433   RICHARD         CONREY                    MO     90003887684
78973214655969   PATRICIA        BANDA                     CA     48000472146
78973741641227   SARAH           ROSS                      PA     90002887416
78974818693739   DENISE          MORGAN-HARMELING          OH     64537918186
78975336355947   JUAN            MERCADO                   CA     49054713363
78976399191588   APRIL           GALVAN                    TX     75090323991
78976741751348   LINDA           HARRISON                  OH     66016787417
78976749197126   JOAQUIN         FLORES                    OR     90015157491
78977324571921   TERRY           WOODS                     CO     90014583245
78981466591588   LORENZO         MENA                      TX     90014374665
78982793731556   TANYA           CONKLIN                   NY     90009257937
78983843733698   PHIL            SOUTHARD                  AR     12068018437
78984686191588   CHERYL          MARTINEZ                  TX     90011526861
78985366171921   NORMA           FUENTES                   CO     90011513661
78986435731433   JAMELL          MCBRIDE                   MO     90012834357
78988723893739   CHRIS           BROWN                     OH     90013927238
78991359391924   SANDRA BOMOLO   NGADIENE                  NC     90004183593
78991529541237   SHAUNA          MCKOWN                    PA     90012785295
78991549272479   DANIELLE        PATTON                    PA     51087995492
78991995533698   ALEJANDRO       DEL ANGEL MARTIN          NC     12082249955
78992773531433   KENNETH         BROWN                     MO     90014347735
78992898655969   ANNETTE         GARRETSON                 CA     90006518986
78994624151355   AARON           MILASSO                   KY     90012476241
78994882193739   ANTHONIQUA      TERRY                     OH     90013778821
78995999755969   ZELEIDA         HERNANDEZ                 CA     48054459997
78996839551348   ALENA           ANSBERGS                  KY     90003788395
78999661741241   CHRISTINE       HYATT                     PA     90002986617
78999886171921   JAN             GASTER                    CO     90011208861
79111546955969   CINDY           MCGUIRE                   CA     48041715469
79111917371921   STEPHANIE       WHITTEMORE                CO     32006299173
79114344441253   GUALBERTO       CARHUASLLA                PA     90006013444
79114514455969   MARCOS          SOUSA                     CA     90013235144
79115951641253   DONNA           CONNOR                    PA     51027839516
79117973355969   SUSANA          PALMA                     CA     90013789733
79118676181633   XOCHITL         CASIQUE-BALBUENA          MO     90008906761
79122328357132   DORIS           JAICO                     VA     90002953283
79122575933698   MONICA          HEMINGWAY                 NC     12089645759
79125675977524   NOE             ESPANA                    NV     43011336759
79125826991952   FERNANDA        NOYOLA HERNANDEZ          NC     17008648269
79126163191588   SERGIO          VENEGAS                   TX     90014811631
79127278955947   CAROL           SPENCER                   CA     90014572789
79129854851348   GREENWOOD       RUSSELL                   KY     66067908548
79132174144346   LATONYA         BRANDON                   MD     82080401741
79133414293728   DANTE           WOODLEY                   OH     90000254142
79133564691588   ANA             NAVARRO                   TX     90010845646
79134227841253   DUSTIN          OLIVIER                   PA     90014702278
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79135711151348   STEVENS      CATHERINE                    OH     66095947111
79135779241253   ARDRETTA     SCOTT                        PA     90008087792
79138965491577   OKANEE       PATINO                       TX     90015199654
79139664555939   DANIEL       SMITH                        CA     90014866645
79139837991588   OLGA         ROCHA                        TX     90012518379
79141737471921   JOSE         GUADALUPE                    CO     90013887374
79142432155969   YOLANDA      HARROUN                      CA     48061664321
79143525941237   APRIL        HAYDEN                       PA     51082155259
79145635655969   MONICA       FIELDS                       CA     48086216356
79146159431433   JOHN         ARELLANO                     MO     27564481594
79147794841237   ALICE M      PANARO                       PA     51021567948
79147915441237   MUENSTER     DOUGLAS                      PA     51085409154
79148112191969   KEILA        SALINAS                      NC     90013631121
79148359251325   SENEBA       MAME                         OH     90007403592
79148648293739   ANGEL        BURTON                       OH     90003476482
79151389891588   LUIS         BARRAZA                      TX     90009623898
79151527341237   TANAIA       KURKA                        PA     90010075273
79154749755939   CESAR        ALEMAN JR                    CA     90012947497
79154852341227   BRENDAN      GAMBRELL                     PA     90006908523
79155278833698   TERRANCE     CARTWRIGHT                   NC     90003662788
79155742893739   GERALD       OVERHOLTZ                    OH     90010317428
79159135855939   ANA          GUTIERREZ                    CA     90011741358
79159423233698   LASHANA      WALL                         NC     90005694232
79159425241253   CLAIRE       RODRIGUEZ                    PA     90010494252
79159655331433   DEANDREAL    HERRON                       MO     90005596553
79162424655939   JOSE         MARIN                        CA     48076784246
79163847233651   ISRAEL       RODRIGUEZ                    NC     90013418472
79164658891588   ALMA         DOMINGUEZ                    TX     90014386588
79164854851348   GREENWOOD    RUSSELL                      KY     66067908548
79164953781633   LINDA        LOWERY                       MO     90014639537
79166327455997   TIFFANY      TULTON                       CA     90006893274
79166898991588   SANDRA       FIERO                        TX     75076598989
79167332193739   ALISON       PERRY                        OH     64590603321
79167336551348   JENNIFER     KAVEN                        OH     90012983365
79171367981633   DAVID        HEMBREE                      MO     90011383679
79171839377524   ALEXANDREA   WURTHMANN                    NV     90001078393
79174229381633   LYNNETTE     HASKINS                      MO     29067942293
79175139551348   NAOMI        STREAKER                     OH     66078111395
79176567455939   GILBERTO     NARANJO                      CA     48090555674
79176693481633   JOSHUA       HOOVER                       MO     90008906934
79178479955969   JAIME        GONZALEZ                     CA     48005854799
79178927951355   DESTIN       LUMUMBA                      OH     90013179279
79178968761967   JOHN         BRAY                         CA     90014129687
79179168747956   BAKODA       DREAK                        AR     90015531687
79179729641237   CONRAD       MAYO SR                      PA     51007277296
79179768951355   TAWNYA       COLE                         OH     66087507689
79181459241227   ELIZABETH    COOK                         PA     51049944592
79181699941253   BEVERLY      SNOW                         PA     51024576999
79182411455939   ALEJANDRO    HERNANDEZ                    CA     48006434114
79182574957126   JOSE ROMEO   SANABRIA                     VA     90010425749
79182746333698   DONNA        WHITE                        NC     12082997463
79185944341237   SHELTON      GREEN                        PA     90013579443
79186491991969   JASMIN       GOLDSTON                     NC     90001594919
79186542455969   FERNANDO     RODRIGUEZ                    CA     90013945424
79186686655939   REYNOLDO     VILLALOBOS                   CA     90010426866
79186715451348   WILLIAM      FERRY                        OH     66069167154
79189531933698   JO           SAWNEY                       NC     90011365319
79191477671921   BARBARA      LAINEZ                       CO     90012344776
79192337284384   DERRICK      NELSON                       SC     90014113372
79193132755969   ROBIN        SCOTT                        CA     90015121327
79195691941237   UNKNOWN      UNKNOWN                      PA     90014526919
79197371571921   JESUS        VASQUEZ                      CO     90010763715
79198945641253   MARKIA       FERGUSON                     PA     51046789456
79199317861967   JESSE        BUSO                         CA     90008453178
79199847191588   CRISTINA     DE LEON                      TX     90010228471
79211259655947   GABRIEL      RODRIGUEZ                    CA     90014632596
79211956371921   RENEE        ROMERO                       CO     90008749563
79212351191942   ROGELIO      MALDONALO                    NC     90011403511
79214122461967   ANA          VELAZQUEZ                    CA     90012001224
79214954755969   SERVANDO     LOPEZ                        CA     48042679547
79215732355947   EDDIE        ALVARADO                     CA     90012207323
79215759455947   ALICIA       MYCETT                       CA     90010427594
79216285371921   ANASTASIA    HARRISON                     CO     90011512853
79217526241237   STACEY       MILLER                       PA     90011395262
79217948655939   JUAN         PACHECO                      CA     48086969486
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79219497581633   ROCHELLE     DYE                          MO     90001184975
79221272633657   MINDY        TUCKER                       NC     90012492726
79222433291588   ROSA         GARCIA                       TX     75089374332
79222714971921   MAURICE      MCCLAIN                      CO     90001677149
79224836351348   CHRISTINA    SCHLEEHAUF                   OH     90001398363
79226391155939   MARIA        PEREZ                        CA     90004153911
79226396877524   DANA         WOOD                         NV     90002183968
79228422357531   CARLOS       RUBIO                        NM     90013954223
79228589897126   JESSE        HICKERSON                    OR     90002835898
79228942877524   MARILYN      LOUISE MCCAN                 NV     90006499428
79229647971921   JOSE         REYES                        CO     90013096479
79229665531432   ELLIOTT      VAUGHAN                      MO     27580236655
79232317241237   LINDA        ROSS                         PA     90012653172
79232387971921   LAURA        SANCHEZ                      CO     90011113879
79233464493767   LEONIA       JONES                        OH     90006194644
79233649361967   THOMAS       RIOS                         CA     90013896493
79233671271921   JUDY         SLAUGHTER                    CO     32085086712
79233674955947   ERICKA       RIVAS                        CA     90007416749
79235363531443   TITO         BROWN                        MO     27562973635
79235632355969   MEGAN        SWEENEY                      CA     90009816323
79236173692828   BERNARDINO   FABIAN                       AZ     90014431736
79236294755939   BLANCA       PENA                         CA     90015182947
79238671571921   PAYGO        IVR ACTIVATION               CO     90006436715
79239332555947   OZIEGBE      IDONI                        CA     90012803325
79239499855939   MARIO        COLIN                        CA     90015114998
79239584841253   NIKKIA       JACKSON                      PA     90010715848
79239922155928   JOSE         MARTINEZ                     CA     90012479221
79241189231487   RAY          THOMAS                       MO     90011641892
79241218555947   ZANE         JURY                         CA     90012392185
79241524855939   JUAN         LOZANO                       CA     90013235248
79241924391588   ALEJANDRA    MORALES                      TX     90013179243
79242572941246   BRITTNEY     HAST                         PA     90001615729
79242638751355   TESS         SHARKEY                      OH     90012386387
79243538391588   JENNY        GOMEZ                        TX     90014265383
79243698393739   LAKEISHA     WILSON                       OH     90011816983
79244783941253   LORI         HUBBARD                      PA     51096217839
79244833551348   STEVE        UMEL                         OH     66031578335
79244912533698   STEADY       ROCK                         NC     90014789125
79245444561967   DANIEL       NYAGGAH                      CA     90010184445
79245533155969   BRENDA       NAJERA                       CA     90003395331
79245731177524   OSCAR        VAZQUEZ-COPADO               NV     90005517311
79246568871921   JESSICA      SIMONDS                      CO     32067635688
79246656254121   HERIBERTO    RODRIGEZ                     OR     90015196562
79247235331432   NICK         MUCHITELLO                   MO     27580242353
79247484171921   ANNDREA      CLARK                        CO     90014854841
79247917181633   CINNEMON     CORNWIN                      MO     29011019171
79253497571921   JAMES        LANGER                       CO     32009064975
79253934455969   MARIA        GONZALEZ                     CA     90012679344
79254989181633   PATRICIA     AYALA MALA                   MO     90012109891
79255564941246   JANET        THOMASON                     PA     90006495649
79255868291588   JORGE        HERNANDEZ                    TX     75012078682
79256124971921   JACQUELINE   JOHNSON                      CO     32002801249
79256754441253   CARTRELA     TATE                         PA     51092847544
79256767855946   GLORIA       MAGALLANES                   CA     48000457678
79257228851348   KATRINA      DRAPER                       OH     90014422288
79257443881633   SHAVON       ADAMS                        MO     90013074438
79258615455969   ANDRES       VALADEZ                      CA     90015116154
79259218251348   TONYA        K EISNER ELLIOT              OH     66006442182
79259925771921   MARION       SIRE                         CO     32001869257
79261588791588   RAYMUNDA     SILVA                        TX     90012185887
79264652386436   ANGELA       DARRITY                      SC     90013996523
79264712633698   REYNALDO     ARTEAGA                      NC     90000427126
79265755461967   MARIA        DURAN                        CA     90011197554
79265943991588   CRISTINA     MOLINA                       TX     90013849439
79266111155969   ANA          BARAJAS                      CA     48055221111
79266243371921   KACHONNE     WILLIAMS                     CO     32049262433
79266698181633   PHYLLIS      MOORE                        MO     90013246981
79267791471921   EDGAR        ZUNIGA                       CO     90013267914
79268781371921   RICARDO      VALVERDE H                   CO     90014887813
79269155271921   HIPOLITA     PEINADO                      CO     90011741552
79273483451348   MARTEIA      POELLNITZ                    KY     90013774834
79273972561459   CONNIE       FAIRCHILD                    OH     90014119725
79274357777524   CHAYA        FEBBAG                       NV     90002193577
79274743581633   JAMES        POLFER                       MO     90014467435
79275692455947   ERIC         WOOD                         CA     90005226924
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79276547555969   YVETTE          PEREZ                     CA     48095495475
79277427151348   LADON           JOHNSON                   OH     66076734271
79278178891588   VERONICA        ECKENROTH                 TX     75097571788
79278249641273   SARA            GERWIG                    PA     90013282496
79281186831433   JEFFREY         RIGGS                     MO     90011271868
79281716455939   MARTHA          ALATORRE                  CA     48086727164
79281797633698   LATASHA         MILLER                    NC     90012247976
79282398831432   CHELSA          WOODALL                   MO     27517983988
79282772955969   KATHRYN         ROBERTS                   CA     90006887729
79283641451355   DANIELLE        ROGERS                    OH     90012386414
79284178377524   JOHN            HOLTSHOUSER               NV     90010221783
79285876933698   TRACHELLE       WALINGTON                 NC     90009728769
79285974351348   REBECCA         REID                      OH     90013449743
79287658351348   TIFFINEY        MCGHEE                    OH     66037986583
79288151755969   DAVID           ARRIAGA                   CA     48085091517
79288496961967   ERICK           VELASQUEZ                 CA     90003954969
79289124771677   ZHANE           JEADER-JONES              PA     90014151247
79289271981633   YARITZA         CACERES                   MO     90010332719
79289519731443   JACOB           CHRIST                    MO     90009955197
79289786193739   TANIA           BAXTER                    OH     64512917861
79291513151348   LAKESHA         KELLY                     OH     90013775131
79291986693739   REDA            ELIDRISSI                 OH     90009979866
79293515181633   LISA            WHITE                     MO     29088505151
79294476771921   LACEY           ALBONICO                  CO     90009774767
79294916141237   KELLY           BROWN                     PA     51060029161
79295658891588   ALMA            DOMINGUEZ                 TX     90014386588
79295977291563   VITERBO         URQUIDI                   TX     75033749772
79296842191585   ARMANDO         CRUZ                      TX     75086718421
79311995891588   ERICK           ZAMBRANO                  TX     90013739958
79312158181633   ZAYRA           GONZALEZ                  MO     90003541581
79312491933698   ASHLEY          FREEMAN                   NC     90014774919
79313983931432   CONTINA         FRAZIER                   MO     90007529839
79314895555947   AARON           DELGADO                   CA     90013088955
79314926493739   GENRY ALBERTO   MONTERROSO                OH     90011819264
79315852936123   EMILY           REAGAN                    TX     90002928529
79315957271921   GILMAR          LUSH                      CO     90014899572
79315978333698   ANGELA          MCCLURKIN                 NC     90011029783
79316332255969   ZACHARY         LULWITZKY                 CA     90010113322
79316492361967   ISAEL           ORTIZ                     CA     90014934923
79317289831432   ELAINE          GIBBS                     MO     90006602898
79317467655947   STEPHANIE       MORAN                     CA     90014654676
79318578741246   JACKSON         CURTIS                    PA     51037215787
79319183771921   ROBERTA         MONDRAGON                 CO     90013401837
79319262491588   NOEMI           HERNANDEZ                 TX     90014682624
79321846455939   SUSANA          DIAZ                      CA     90011168464
79322166981633   TIM             HOWE                      MO     90010311669
79322425751348   STEVE           ROSE                      OH     66065144257
79322647141237   COLBY           WEAVER                    PA     90010286471
79323172891588   MARIA           TARANGO                   TX     90013551728
79323189251348   ALISHA          MIMES                     OH     66045881892
79323296461967   JOSE            QUINTERO                  CA     90008992964
79323358355969   KEITH           WEMMER                    CA     90012513583
79323488341237   CARLOS          HAMLIN                    PA     90014934883
79323711381633   DONALD          DOLES                     MO     90013817113
79324134281633   GLENN           JONES                     MO     90014371342
79326439971921   AHBREYONNA      STURLAUGSON               CO     90014404399
79326648541253   RICHARD         SIMMONS                   PA     90013696485
79327297586436   APRIL           SMITH                     SC     90015182975
79327359391563   MARLEN          MEDINA                    TX     90001313593
79327865681633   BRITTANIE       GOMEZ                     MO     90014848656
79328833955939   TFFANY          WARD                      CA     90014468339
79329122971921   JADON           DOUGLAS                   CO     90015211229
79329618161967   DARYL           MAGNUSON                  CA     90005296181
79333452661967   LACY            DONAHOE                   CA     90013354526
79334376133698   KERA            BELL                      NC     90013553761
79334447441237   RIKKI           SMALLEY                   PA     90002674474
79335593333698   JAMES           JORDAN                    NC     90005155933
79336579855947   MELISSA         NORMART                   CA     90014885798
79337668655969   MICAELA         CARRILLO                  CA     90014466686
79337821151348   BRYAN           WOOD                      OH     66091108211
79337959133698   MICHAEL         SELLERS                   NC     90014789591
79342477781633   ANDRES          SANDOVAL                  KS     90014104777
79344686361967   MARIA           LOPEZ VERA                CA     90014886863
79347521891588   TODD            MURPHY                    TX     90014115218
79348388171921   CHARLES         HARVELL                   CO     90014093881
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79349994157132   CHARLES           KATO                    VA     81089339941
79351564555939   GABRIEL           ESPINOZA                CA     90014205645
79351781493728   RYAN              GABBARD                 OH     90010657814
79352139555939   SYLVIA            CASTILLO                CA     90004691395
79352397755947   FRANKIE           CONTRERAS               CA     90014633977
79352634591588   MARIA             NEVAREZ                 TX     90013546345
79352668893786   AARON             KEGLEY                  OH     90009236688
79352721971921   DAVID             WEBSTER                 CO     90008067219
79354562651331   MYLA              GYARMATI                OH     90009935626
79354638671921   MCKINLEY          MOSS                    CO     90007846386
79355174357531   OMAR              QUEZADA                 NM     90015081743
79355934141253   HEIDI             BLINN                   PA     51038469341
79357514781633   JULIV             MARTINEZ                MO     90014175147
79359528591588   ASHLEY            GALINDO                 TX     90014115285
79359788851348   DOUG              MOSS                    OH     90009097888
79359973361972   HEATHER           SANDY                   CA     90011579733
79362352691578   SANDRA            RAMOS                   TX     90004363526
79362842571921   JENNIFER          JONES                   CO     90014008425
79362878551368   MALIKAH           HALL                    OH     90000788785
79363156441253   JAMES             NICKOLLS                PA     51042191564
79363346381633   JENNIFER          SHADDOX                 MO     90011123463
79363984184788   KATHERINE         SALAVARRIETA            IL     90014049841
79364376955939   LORENA            MORFIN                  CA     48030103769
79364866441253   BERNADETTE        DEVAULT                 PA     51016788664
79365119755969   BLANCA            FARIAS                  CA     90000711197
79366168431443   GINA              STEWART                 MO     90008031684
79366169391588   MARINA            PEREZ                   NM     90000121693
79366338355947   JESSICA           SALAZAR                 CA     90012743383
79369334741253   MICHELLE          MCCABE                  PA     51012723347
79369415655947   CRYSTAL           SMITH                   CA     90014634156
79369438381633   MATTHEW           CREMEEN                 MO     29006464383
79369983191588   ALEJANDRO         HERNANDEZ               TX     75011779831
79371526155947   LUZ               GARCIA                  CA     90011515261
79372683672478   JOHN              URSIC                   PA     51089886836
79374278571921   JOSE              ARCHULETA               CO     32012872785
79375538193728   TANYA             ROHRBACK                OH     90005015381
79376781531443   DWIGHT            DAVIS                   MO     27573097815
79377224593739   BRIDGITTE         GAMBLE                  OH     90011822245
79378111881633   MR                THOMPSON                MO     29001101118
79382531655939   CHRISTOPHER       JUAREZ                  CA     90014445316
79383694731231   IGNACIO           GARCIA                  IL     90015176947
79384198651348   ELIAS             ORTIZ                   OH     66064831986
79385283341237   MELISSA           MARTINEZ                PA     90012422833
79387861584346   DONAVAN           MCMANUS                 SC     90015448615
79388289977524   MARIA             SORIANO                 NV     90005522899
79392236655969   NORMA             LOPEZ                   CA     48069472366
79393396641253   NICOLE            TRENT                   PA     90010303966
79393697255939   JESSICA           RODRIGUEZ               CA     90012066972
79394143455969   YOLANDA           ROBLEDO                 CA     48063221434
79395187251348   COURDNEY          BENTLEY                 OH     66065021872
79395431155947   MICHELLE          SALWASSER               CA     90014634311
79396118851348   DANIEL            YOUNG                   OH     90009341188
79398868981633   KEVIN             WILLIS                  MO     90014308689
79411856755939   ELIVETH           MANCILLA                CA     90014698567
79412878355947   ANGELINA          TRUJILLO                CA     49077528783
79412925371921   ANDREA            JOHNSON                 CO     90013319253
79416414241253   YARDLEY           KING                    PA     51036694142
79419632751355   GEORGE            SHEPHERD                OH     90010786327
79419666493739   LATASHA           MULLINS                 OH     64513606664
79421121293739   ANDY              SMITH                   OH     64519781212
79421311651355   YONAS             TEW                     OH     90013923116
79424768151355   BLAKE             CARPENTER               OH     90015137681
79425821857147   MARCUS            GRANT                   VA     90012568218
79426765431443   LISA              KAESHAMER               MO     90009537654
79427596441227   THOMAS            PASTORES                PA     90013465964
79428238751355   JESSIE            WRIGHT                  OH     66058752387
79431457491588   GRACIELA          QUINTANA                TX     90014874574
79431549841237   JESSICA           POLOWSKY                PA     90013205498
79432684771921   TYRONE            NELSON                  CO     90013906847
79433485391588   SUSANA Y ANDRES   AREVALO                 TX     90010854853
79433489451348   GINO              BERNAL                  OH     90013934894
79434513151348   LAKESHA           KELLY                   OH     90013775131
79438619341237   ANGEL             MILLS                   PA     90010326193
79441144155969   EVERARDO          LOZA                    CA     90015121441
79441661191563   RAQUEL            VILLALOBOS              TX     75050856611
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79444426633658   BEATRIZ            ORTIZ                  NC     12010174266
79444719861978   LYDIA              CAMPOS                 CA     90005217198
79446753171921   KIMBERLY           RAMIREZ-LABOY          CO     90014917531
79447498172423   ANDREA             CECCONELLO             PA     90009114981
79447592433624   MARCO              ANTONY                 NC     90010515924
79448639591588   RANDY              MACIAS                 TX     90004866395
79449618855939   BEATRIZ            LEDEZMA                CA     90015196188
79451744341253   MADGE              MITCHELL               PA     51095417443
79453474641237   WYATT              ROBINSON               PA     90014834746
79454851941253   KIMBERLY           HUGHES                 PA     90007958519
79455132755969   ROBIN              SCOTT                  CA     90015121327
79455759791588   JOSE               ORTEGA                 TX     90013737597
79455956171921   HELEN              COLANGELO              CO     90011499561
79456435233698   KIM                KIM                    NC     90014314352
79456595441253   JAMIL              POSEY                  PA     90008185954
79456731381633   DERON              DAWKINS                MO     90015017313
79458623791588   JACKIE             VASQUEZ                TX     90011026237
79458829251355   SARA               GONZALEZ               OH     90014488292
79458882471955   BRANDON            DIAZ                   CO     90011458824
79461436941237   ANNAJEAN           ARTHRELL               PA     90015234369
79463293357133   NELSON ALEXANDER   CABEZAS                VA     90007922933
79464998871921   ANAHI              DIAZ                   CO     90015069988
79465515933698   BRYANT             COWAN                  NC     90014795159
79465589771921   SHAUNA             MATTHEWS               CO     90011525897
79466151181633   LEONARD            DWAYNE                 MO     90003991511
79466231533698   LEOLA              WHITAKER               NC     12045702315
79466765331487   ROSALIND           MOORE                  MO     27558257653
79469179641227   JULIE              LUDOVICI               PA     90012441796
79469624581633   CYNTHI             TYSON                  MO     90013736245
79473245833698   JACINTO            VARGAS                 NC     90001702458
79473262571921   ANTHONY            QUINTANA               CO     90009472625
79473558933698   RUBY               MARSHALL               NC     90014795589
79473592491588   ANGELICA           GONZALEZ               TX     90013225924
79474269593739   LESLIE             BLAKES                 OH     64548282695
79475153872431   HAZEL              BOYD                   PA     90005421538
79475957555939   BLANCA             RIVERA                 CA     90004789575
79477346241237   CINDY              WHITE                  PA     90011703462
79477398161967   KRISTINA M         KRUTOP                 CA     46057143981
79478814781633   CINTHIA            REW                    MO     29064608147
79479319693747   MICHAEL            HAMMEL                 OH     64578673196
79481182491588   KARINA             MEDRANO                TX     75045881824
79481285455939   EDWARD             DOMINGUEZ              CA     90006182854
79482191771921   PARTICK            SMITH                  CO     90002271917
79482385691322   ROBERT             RAMSEY                 KS     29095053856
79482433981633   KIASA              CLEMENTS               MO     90014564339
79483294655969   BRANDON            ANDRES                 CA     90014182946
79483469155939   LUIS               ACEVEDO                CA     90013964691
79483681166143   KHAMPHASONG        DONGDILATH             CA     90014276811
79484241471921   JACKIE             THARPE                 CO     32034662414
79484488251325   STEVE              SMITH                  OH     90009384882
79486194655939   RAFAEL             DOMINGUEZ              CA     90014891946
79486474341237   VINCENT            CZACHOWSKI             PA     90010724743
79486555881633   FERNANDO           HERNANDEZ              MO     90013315558
79486899551348   AMBER              BICE                   OH     90011088995
79486977791588   JESSICA            ESQUIVEL               NM     90001809777
79487237233698   TWANNA             WHYTE                  NC     90014902372
79488228955939   PEDRO              MORALES                CA     90012382289
79488754871921   JAMES              HOBDY                  CO     32069747548
79489551961967   JOLENE             FRAKER                 CA     90011755519
79489714671921   LUIS               HERNANDEZ-DIAZ         CO     90014557146
79492585791588   MARTHA             SIDA                   TX     90009805857
79493159355969   DAVID              MUNOZ                  CA     90014731593
79493179371921   GRECIA             DELEON                 CO     90011971793
79493493251355   JACQUELYN          FRIDLEY                OH     90010644932
79494699141228   ICB                INC                    PA     90007066991
79495222681633   DERIUS             HENDRICKS              MO     90014762226
79497925281633   SERGIO             RIOS                   MO     29093809252
79498248392825   ROSE               NELSON                 AZ     90014392483
79498315933698   ALEXA              CHERRY                 NC     90014803159
79499748191588   DANIEL             PALACIOS               TX     75031367481
79511164791588   YOLANDA            HOLGUIN                TX     90013641647
79512556655939   HECTOR             LOPEZ                  CA     90008955566
79512899357152   JAMA               MOHAMUD                VA     90000858993
79512942141246   FLACK              ANNE BRITTANY          PA     51097189421
79513659271921   MONTE              SUDBRACK               CO     32094086592
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79514634555939   DANIELA         VILLEGAS                  CA     90013286345
79515198755947   PA              VANG                      CA     90001851987
79515339391588   CRISTIAN        LOPEZ                     TX     90010783393
79518154361967   SALVADOR        CASTILLO                  CA     90014151543
79518354981621   ANNA            CRUM                      MO     90004053549
79518589455969   HERMELINDA      BARAJAS                   CA     90001515894
79519225351355   YOLANDA         COLLIER                   OH     90014242253
79519594381633   DALIA           QUIROZ                    MO     90005815943
79521849181633   STEPHONNE       JONES                     MO     29013808491
79522579933698   JERMAINE        JARVIS                    NC     90014805799
79522721151326   MICHELLE        SORRELL                   OH     90010737211
79525954955939   JAIME           HERNANDEZ                 CA     48077029549
79527986541253   CHRISTOPHER     IOCCA                     PA     90012609865
79529317541237   CARRIE          FIKE                      PA     90015483175
79531415761967   STEPHANIE       SHIPLEY                   CA     90005874157
79532392891588   ROSALINDO       VELARDE                   TX     90014413928
79533132971921   JUAN            ANTONIO                   CO     90012101329
79533526541237   JOSH            WISNICK                   PA     90015215265
79533662791588   LORENZO         CHACON                    TX     75066146627
79534747155939   LEO             TREVINO                   CA     48025337471
79534953631443   FREDRICK        WATSON                    MO     90000119536
79535869351355   RUBY            BUMPERS                   OH     66034388693
79536131191588   PATRICIA        SIERRA                    TX     75077801311
79536739355939   MARIA           VALDOVINOS                CA     90011527393
79538859993736   DEVANTE         WALTER                    OH     90001048599
79539674333698   SILVERIO        VILLALOBOS                NC     12015976743
79541355755964   GLADIS          TAPIA                     CA     90007903557
79541448491549   CRYSTAL         SPRUCE                    TX     90012584484
79542743655947   CHRISTOPHER     CRISP                     CA     90013307436
79544338281633   LORI AND DAVE   BOTTOMS                   MO     90014153382
79544661141253   TORI            BREGON                    PA     90008466611
79545794955939   ART             GARIBAY                   CA     90012967949
79547122571921   MARTA           BENTIVOGLIO               CO     90011351225
79547229855939   DANIELLE        GOMEZ                     CA     90013412298
79548992693739   NICOLE          KERSHNER                  OH     90013549926
79552115941253   GEORGE          SWINTON                   PA     90014711159
79552156493739   MELODY          JONES                     OH     64518181564
79552392571921   SHALISHA        JACKSON                   CO     32082303925
79552593741237   LAMONT          BARKLEY                   PA     90005185937
79553669751355   BETTY           HOWARD                    OH     66029516697
79553863957132   DOROL           KING JR                   VA     81094778639
79554912555939   MANUEL          RAMOS                     CA     90006349125
79555938541253   DAVID           CASIMIRI                  PA     51000559385
79556482833698   KENDRA          WINSTON-MOORE             NC     12006654828
79557948961967   JOHN            HITCHINGS                 CA     90002459489
79559973155969   VANESSA         OLIVERA                   CA     90014009731
79562166741237   FRANK           WAGNER                    PA     90013071667
79562721591588   ALEJANDRO       MALDONADO                 TX     90002867215
79564931371921   JUAN            OCASIO                    CO     90014789313
79565741951355   ROSCOE          FIELDS                    OH     90011507419
79566519155947   SHALA           SILVEIRS                  CA     90014645191
79567522361967   CAROLINA        ESTREMERA                 CA     46026735223
79567561291588   GUADALUPE       LEGARRETA                 TX     90014175612
79568177655939   JOEL            MORENO                    CA     90014861776
79568187261967   ANGEL           LYTLE                     CA     90011961872
79568837355969   OSCAR           BARRON                    CA     48009748373
79569723541237   KAYLIE          MEININGER                 PA     90002637235
79571449855939   NOEMI           MENDOZA                   CA     90007554498
79572546155939   VICTOR          VELASQUEZ                 CA     90008675461
79573495151355   ASHLEY          CRESS                     OH     90012934951
79573549255969   JOSE            CHAVEZ                    CA     90010095492
79574239255939   MARIA           RANGEL                    CA     90007702392
79575766281633   SHONTE          WODDS                     MO     90014037662
79575772655969   CHRISTINA       SANCHEZ                   CA     48032707726
79575973433632   ANTHON          WEBB                      NC     12009279734
79576731241237   JOSEPH          FLORIOLLI                 PA     90006237312
79577552491588   HECTOR          JURADO                    TX     90007565524
79578364791588   GREG            MORENTIN                  TX     90015153647
79581459655939   ALEJANDRO       PORRES                    CA     90013854596
79581766561967   ANALI           ROMERO                    CA     90011897665
79584394293786   LASHIRA         JONES                     OH     90012693942
79585793833698   CYNTHIA         ROBINSON                  NC     12082837938
79586552133698   JENNY           SMITH                     NC     90004255521
79588944551355   KATRINA         KEARNEY                   OH     90008049445
79589773651355   GENA            SANTILLAN                 OH     90014267736
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79591726433698   SOKNY        KONG                         NC     90014927264
79592853655947   VICTOR       PICHARDO                     CA     90013048536
79592867791566   MIRIAM       VIRAMONTES                   TX     90000198677
79593395984324   PAYGO IVR    ACTIVATION                   GA     90011573959
79595811281633   TOY          ROBERTSON                    MO     90014878112
79595961361967   PEDRO        FAUSTO                       CA     90008959613
79596865771921   MELINDA      GARCIA                       CO     90011518657
79597425971921   VICTORIA     OLMEDO                       CO     90013004259
79598495381651   ANDREA       JOHNSON                      MO     90002104953
79598756871921   NICHOLAS     FINCH                        CO     32045497568
79599356651348   RANDALL      MARTIN                       OH     90014063566
79599792561967   EDDY         AYALA                        CA     90012987925
79611185855939   EVELINA      RAMOS                        CA     90011501858
79611427181633   CESAR        NAJERA                       MO     29030824271
79613375551355   MANFREDO     TRUJILLO                     OH     90010373755
79613447591588   ROCIO        ESPINO                       TX     90014294475
79614425741253   KURT         FRUHLINGER                   PA     51044004257
79616466681633   JADA         BLEIVINS                     MO     29019214666
79616612191563   GUILLERMO    VIESCAS                      TX     90008596121
79617154157123   LUIS         GONZALEZ                     VA     81013701541
79618316141253   WILLIAM      LUFT                         PA     90010893161
79618936471921   ALFREDO      CAAMALMAY                    CO     32052969364
79619482455939   ANGELA       ELIZONDO                     CA     90013964824
79621816355969   OMAR         RUIZ                         CA     90014478163
79621936455957   IGNACIO      BUENROSTRO                   CA     90013529364
79623579861922   DALILA       MENDEZ                       CA     90010255798
79623983891588   ROBERTA      MUNOZ                        TX     75015289838
79624519541246   JENNIFER     MURRAY                       PA     90010805195
79626189955947   CORINNA      MUNGUIA                      CA     49011251899
79627186671921   REBECCA      MASON                        CO     90012701866
79628488671921   TUOI         NGUYEN                       CO     90013934886
79631212155939   SALVADOR     SILVA                        CA     90015142121
79631583933447   BRITTANY     HARTZELL                     AL     90012485839
79632736361967   JOSE         HERNANDEZ                    CA     46067467363
79632882293739   ANGELA       PATTERSON                    OH     64514278822
79633739955939   JUANA        CRUZ                         CA     48055447399
79635163981633   DONNELL      COKER                        MO     90015221639
79635519941253   JENNIFER     HOLIDAY                      PA     51081885199
79637893155939   ARTURO       CERRITENO                    CA     48011388931
79639333561967   ANITA        COOPER                       CA     90011533335
79639638541253   JAMAR        HAMMOND                      PA     90014356385
79639965741237   MARY         MAY                          PA     90014969657
79641335471921   ALBERTO      ZARATE                       CO     90009553354
79642289493739   BRANDON      HOWARD                       OH     64573602894
79642679531443   DEBBIE       PERRY                        MO     27573056795
79643267751236   TOBE         LERONE                       TX     90014602677
79644426991588   JOSE         GURROLA                      TX     75088434269
79644473433698   BRYAN        VIGUE                        NC     90011484734
79644585151323   JEANNETTE    COLLINS                      OH     66094675851
79645871691531   MONIQUE      ANGUIANO                     TX     90012258716
79648427341253   JAY          RIVERO                       PA     90015094273
79648524771921   DARRIE       BALLARO                      CO     90013935247
79649757133698   RINEKIA      HAYES                        NC     90014937571
79651625855969   DEZIRAE      VELAZCO                      CA     48001306258
79653412171921   CHRISTINE    GONZALES                     CO     90005904121
79653536155969   JOSEFINA     DIAZ                         CA     90014295361
79653757133698   RINEKIA      HAYES                        NC     90014937571
79653797151348   RANDY        BARRETT                      OH     66007947971
79654266855969   LORIE        LAVENDER                     CA     90012532668
79654996741237   MIKE         THOMAS                       PA     90007049967
79657575651348   ISRAEL       CERCERO-MORA                 OH     66026115756
79657842191588   MARIO        MUNIZ                        TX     75087308421
79658382451348   FELICIA      DRAKE                        OH     90012633824
79659218155969   LUIS         CISNEROS                     CA     90013322181
79663519391588   OMAR         MORALES                      TX     75020685193
79663656781633   DAVID        VAUGHN                       MO     90012266567
79663818741253   WILLIAM      ALLEN                        PA     90011048187
79667878855947   RITA         GUERRERO                     CA     90000838788
79668344155947   DESIREY      REYES                        CA     90012743441
79668739431443   REBECCA      FANNINGS                     MO     27513017394
79669666341237   PATTIE       PAUL                         PA     51052136663
79669946271921   TRISTAN      FOSTER                       CO     90009249462
79671144955969   DEVON        FOWLER                       CA     48003831449
79671392961967   REZGAR       BEDUHI                       CA     90011873929
79671991755947   RUBY         LOPEZ                        CA     49020289917
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79676355133698   MELVA        FLORANCE                     NC     12090623551
79676748841237   LEROY        CHISCO                       PA     51091777488
79676955655947   JESUS        HERNADEZ                     CA     90012829556
79677458361967   RUTH         ACA                          CA     90005164583
79677462555947   DESIREE      VALDEZ                       CA     90014834625
79677752551355   EDWARD       ROSS                         OH     66077077525
79678426141253   STEPHANIE    GOLYA                        PA     51017174261
79679523833698   CHRIS        THACKER                      NC     90000945238
79682229541253   EDWARD       REILLY                       PA     90014702295
79682477993772   THOMAS       GREER                        OH     64512174779
79682694684332   MICHELLE     FRAZIER                      SC     90009216946
79683359591563   YVETTE       GARCIA                       TX     90004873595
79683571681633   BRANDY       WATSON                       MO     90014365716
79683769251355   LAUREN       CASH                         OH     90011547692
79687344871921   MARVIN       BARRERA                      CO     90010783448
79688732771921   TERESA       PHILLIPS                     CO     32054657327
79691345133698   SHAMEKA      HUFF                         NC     90010763451
79693979531443   NATHAN       WINTERER                     MO     90009089795
79694295531443   DEBORAH      SIMMONS                      MO     90013932955
79695653871921   MAIRELYS     MOREJON                      CO     32035026538
79695813833698   CATHY        VINSON                       NC     12095468138
79697713691588   SHERYL       MOTTER                       TX     75074377136
79698269531443   SHAWN        CARTER                       MO     90007762695
79698383655936   MICHELLE     DUNCAN                       CA     49016373836
79698518455939   JESUS        PEREZ JR                     CA     90009605184
79712743133698   PLACIDO      RODRIGUEZ                    NC     90013457431
79714132841237   MARY         MBEWE                        PA     51093931328
79715771941253   MICHEAL      NORCOTT                      PA     90012407719
79716394141237   STEPHANIE    ROCKWELL                     PA     90013193941
79717345393739   ANDREW       ROLLINS                      OH     90011953453
79719531641237   NICOLE       SNEE                         PA     90008165316
79722731655969   CHRISTINA    HANDEL                       CA     90012307316
79724636255947   JOHNNY       HERNANDEZ                    CA     90014646362
79724639441253   VICTORIA     VARGO                        PA     51074586394
79725359691588   MARIBEL      GAYTAN                       TX     90011093596
79726561791522   RAMON        ALBA                         TX     90014995617
79727381781633   XAVIERE      WHITLEY                      MO     90013433817
79727514491588   JAVIER       BETANCOURT                   TX     75043475144
79727697133698   KEISHA       AJETUNMOBI                   NC     90014946971
79728913155947   GRACIELA     VELAZQUEZ                    CA     90014879131
79731421655969   JEANNA       HUSS                         CA     90013734216
79731563155939   JOSEFINA     SANCHEZ                      CA     48089445631
79731719471921   DAVION       PINK                         CO     90009017194
79732343241253   DEANNE       FERRAGONIO                   PA     51024533432
79732521633698   DONNA        REED                         NC     12002945216
79733498451322   LADONNA      WASHINGTON                   OH     90012294984
79735571971921   RANDALL      MOSS                         CO     90013935719
79735637255947   EDDIE        MARTINEZ                     CA     90014646372
79738156531443   TERRIE       ONEAL                        MO     90011431565
79738612355969   FRANK        STOVER                       CA     90010826123
79739188155969   ALYSSA       EDWARDS                      CA     90013861881
79739268241237   AUDREY       BOWMAN                       PA     51028012682
79741422141237   TAMIKA       BATTLE                       PA     90014694221
79741988471921   SILYNTHIA    CRAWFORD                     CO     32084349884
79742186955939   ROXANNE      HERNANDEZ                    CA     48052051869
79742291731443   NAIMAH       ABDULLAH-GALES               MO     27572532917
79742534455969   MICHAEL      MITCHELL                     CA     90000105344
79743265641253   JENNIFER     FRIDAY                       PA     51036732656
79743728161967   MARTIN       ONTIVEROS                    CA     90000537281
79744796993739   TASHA        CARROLL                      OH     64535797969
79745994277524   VANESSA      SCANLAN                      NV     90003169942
79749462833698   MOHAMED      AHMED                        NC     90014964628
79752749141237   PAT          TESSARO                      PA     51008747491
79753998655969   ALICIA       ARELLANES                    CA     48049829986
79754847491588   ROGER        FONTENETTE                   TX     90014758474
79756274577552   VANESSA      GARCIA                       NV     43091952745
79756447291588   VALENTE      ARELLANES                    TX     90011304472
79757714991572   ALFREDO      VALADEZ                      TX     90010697149
79757829371921   SONYA        FOX                          CO     90011658293
79758463755947   MARGARET     TEJADA                       CA     90014834637
79761368255947   AUDRI        GARZA                        CA     90012173682
79761744155969   CHALA        SAESEE                       CA     48074547441
79763835451348   MARIA ANN    NYMAN                        OH     90012398354
79764191261964   DAMIEN       WEICKS                       CA     90010621912
79764523831443   PATRICIA     FLETCHER                     MO     90003965238
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79764997491377   MEGAN        EUBANKS                      MO     90011069974
79765488461967   ABEL         LOPEZ                        CA     90013934884
79766384691588   RICARDO      ESPARZA                      TX     90010743846
79767134151355   ORLANDO      LOVE                         OH     90013531341
79768493955939   HECTOR       GIL                          CA     90013634939
79769495755947   RUBIA        FLORES                       CA     90002094957
79771313155969   ARACELI      REYES                        CA     48067683131
79771635861946   EDNA         FIGUEROA                     CA     90009446358
79772112855969   MASOU        SEE                          CA     48008261128
79772345855947   MARIA        VENEGAS                      CA     90007723458
79772571641253   KIMBERLY     BOGUS                        PA     51009155716
79772831893739   KELLY        COX                          OH     64524438318
79773364457132   MARINA       ALVARENGA                    VA     90011603644
79773632355969   CHRISTINA    ARELLANO                     CA     90010416323
79774951991588   EDDER        PALMA                        TX     90014059519
79774991584326   JAMAR        GARDNER                      SC     90014999915
79775378761967   LUIS         SAAVEDRA                     CA     90013093787
79775739755947   JAVIER       RAMIREZ                      CA     90012207397
79775775881633   MAIRA        PLAZOLA                      MO     90005157758
79777824751358   KATHY        OSIE                         OH     90006338247
79778124741262   COSMO        PAREDES                      PA     90014811247
79778253691863   DARRELL      OLIVER                       OK     90013262536
79779672671921   GEOFFREY     HENDRICKSON                  CO     32038046726
79781135171921   CURTIS       WILSON                       CO     90008861351
79782499855939   MARIO        COLIN                        CA     90015114998
79782857551348   ALEX         TESSOFF                      OH     90001448575
79783172651355   JAMILA       KINEBREW                     OH     66027581726
79783755955947   JUANITA      YBARRA                       CA     90007137559
79784289281623   SANDY        DEAN                         MO     29007652892
79784369391588   DANIEL       PINEDA                       TX     90010553693
79784378755939   ROBERTO      LUJANO                       CA     48039963787
79784478761967   DELAINE      ROLAND WARREN                CA     90010384787
79788736951348   MARISOL      PEREZ                        OH     66046127369
79788893233698   KEN          KSOR                         NC     90003988932
79795137933698   PRINCESS     COUSER                       NC     90007911379
79795168893739   ALEX         JOHNES                       OH     90011201688
79797243341237   MICHAEL      VANO                         PA     51006762433
79797485251355   PABLO        JIMENEZ                      OH     66005434852
79797976455969   LYDIA        RESENDEE                     CA     90014239764
79799391461967   ENDORA       FALACE                       CA     90011973914
79811188491588   OLGA         HERNANDEZ                    NM     75026611884
79812412171921   CHRISTINE    GONZALES                     CO     90005904121
79815111851348   EVAN         CHRUSCTEL                    OH     66026631118
79819576461967   BENNIE       TATE                         CA     46055565764
79829477471921   ROSSIE       UPTON                        CO     90012884774
79829812591254   TAKIERA      FORD                         GA     90008898125
79832139241237   KEVIN        GIANVITO                     PA     90015271392
79832539733624   SHERRELL     FATE                         NC     90013835397
79832559755969   JOSE         GALEANA                      CA     90001735597
79832892733698   DERICK       ROBINSON                     NC     90014538927
79833489451348   STEPHEN      JETER                        OH     90004384894
79834686655969   REYNOLDO     VILLALOBOS                   CA     90010426866
79834713561982   ALFRED       ADAMS                        CA     90009407135
79834743751348   NATONIA      MCCOY                        OH     66045437437
79834839655939   RYAN         TAYLOR                       CA     90014868396
79837377251355   CHRIS        GEIER                        OH     90010493772
79838783631443   CRYSTAL      BUTLER                       MO     90010787836
79839879151347   CHARLES      ROSS                         OH     90013098791
79842122971921   JADON        DOUGLAS                      CO     90015211229
79842483455939   RENE         MERINO                       CA     90012064834
79842983181633   DAWON        LACEY                        MO     90011079831
79843281593739   TERRI        MELSON                       OH     64516862815
79843455491588   DEMARQUES    JOHNSON                      TX     90009744554
79843793641253   KRISTEN      VATTER                       PA     90008347936
79844231255969   KIMBERLY     NAJERA                       CA     90015232312
79847519655939   IGNACIO      LOPEZ NAVA                   CA     90013965196
79848813671921   MARLEANA     NELSON                       CO     90009518136
79849177255969   CHARLEE      MORRELLI                     CA     90013561772
79851675951355   MARCUS       HOUSETON                     OH     90004936759
79852126961967   LINDSEY      WILSON                       CA     90011281269
79852489355939   MIKE         ECHEVERRIA                   CA     48003734893
79853428961967   RUTH         JIMENEZ                      CA     90014504289
79854936655947   YOLANDA      SUAREZ                       CA     90013449366
79855598771921   DELLA        MOORE                        CO     90000955987
79856848251348   KALA         SINGH                        OH     90008708482
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79857111681633   TERIESHA     FREEMAN                      MO     90015481116
79858518233698   ALEJANDRO    MERLIN                       NC     12049615182
79858727771921   OTEIKO       FRANCIS                      CO     90013937277
79858921531482   KELLY        TOVAR                        MO     90015079215
79862334741253   DEIDRE       PORCH                        PA     90013923347
79862518191922   NATE         NORRIS                       NC     90001905181
79863463391588   SONIA        ROBLES                       TX     75058504633
79863969631443   DENNIS       MOORE                        MO     90003729696
79864366951355   MELINDA      DRINNEN                      OH     90006633669
79866961481633   JAIME        MARQUEZ GARCIA               MO     90012299614
79866994151331   MICAH        COAKLEY                      OH     90014119941
79867543451378   TANESHA      WASHINGTON                   OH     66014805434
79868114355939   CLAUDIA      LOPEZ                        CA     90014551143
79868217755964   JESUS        ZAVALA                       CA     90012922177
79869256751348   SARAH        FAECHER                      OH     66015942567
79871395955969   VERA         GONZALEZ                     CA     90015213959
79872127155947   THY          DUNCAN                       CA     90012241271
79872729241237   MONIQUE      WILLIAMS                     PA     90015217292
79874288777524   MARIO        RUBI                         NV     90005872887
79875916855969   SHEENA       PENSOTTI                     CA     90010459168
79876685771921   CHRISTINE    BURDICK                      CO     32073076857
79877395661967   BARBARA      HARRIS                       CA     46029163956
79878775181633   JOSHUA       DEBURGER                     MO     29071197751
79879249491892   LEEANNA      DODSON                       OK     90013872494
79879561451348   RYAN         BROWN                        OH     90013935614
79881598771921   DELLA        MOORE                        CO     90000955987
79882959671921   ELISA        AGUIRRE                      CO     90012319596
79883391593739   PAMELA       BURKHARDT                    OH     90010553915
79883573481633   JANEE        REED                         MO     90011495734
79884373941237   STACEY       DARKOWSKI                    PA     90009463739
79886745931466   SYREETA      MYERS                        MO     90001847459
79887384751355   JENNIFER     HAFLEY                       OH     90012773847
79888169755969   HECTOR       ARELLANO                     CA     90015121697
79888459571921   LUIS         ZARATE                       CO     90012214595
79888475151348   GREG         POINTER                      OH     66049014751
79888616671921   GLORIA       ESTELA VASQUEZ RAMIREZ       CO     90012626166
79889453655939   HUGO         VELEZ                        CA     90008934536
79892859831443   W            GILLESPIE                    MO     90004208598
79893998871921   ANAHI        DIAZ                         CO     90015069988
79894141291588   SONIA        BATISTA                      TX     75028111412
79895381591588   GRACE        HINOJOSA                     NM     75081553815
79895412151348   RAMON        GARCIA                       OH     66067104121
79896276793739   JONATHAN     CHAMBERS                     OH     64514652767
79896379341253   EUGENE       BUTLER                       PA     51001123793
79898434155939   MARIA        BELLO                        CA     90012684341
79898988161967   HYO JIN      SON                          CA     46000129881
79899376955939   URIEL        JERONIMO                     CA     90011533769
79899838357531   ASHLEY       SILVA                        NM     90014468383
79911642581654   TIFFANY      HARRIS                       MO     90004956425
79912129855969   DANIEL       SANCHEZ                      CA     90010461298
79912215551348   KEISHA       LARKIN                       OH     90009492155
79913541541237   AMBER        WADE                         PA     51016025415
79914772357137   ROQUE        LOPEZ                        VA     81010627723
79916887251348   SUMMER       PENNEKAMP                    OH     90012628872
79916989955964   LUIS         AMADOR                       CA     90014839899
79917925155969   CHRISTOPHE   PADILLA                      CA     48015909251
79918143381621   JOSEPH       FUENTES                      KS     90009231433
79919568271921   TERI         MAZZAGATTI                   CO     90012925682
79919796261951   CELIA        GARCIA                       CA     90009947962
79924985251355   NANCY        HOWE                         KY     90014599852
79925158655939   MAYRA        TREVINO                      CA     48090911586
79925641151347   DEBORH       GARCIA                       OH     66043626411
79927632591566   VANESSA      HERNANDEZ                    TX     75007096325
79927656151348   NADINE       NDAYA                        OH     66011146561
79927851271921   CASSIE       GRAY                         CO     90014598512
79928765455969   DAISY        SALGADO                      CA     90014417654
79929163151355   JASON        ROBINSON                     OH     90014321631
79931876571921   CHEYENNE     KELLY                        CO     90013938765
79933511333698   CHRISTY      HINES                        NC     90013955113
79933864881633   KATIE        BOTLEY                       MO     90013808648
79933926655947   JESSIE       TREVINO                      CA     49093599266
79934421141246   JUSTIN       PEOPLES                      PA     51015574211
79934567255947   PATRICIA     VASQUEZ                      CA     90007945672
79936561451348   RYAN         BROWN                        OH     90013935614
79938152393739   BRITTANNY    PLUMMER                      OH     90005351523
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79941895171921   LAURA            ZORNES                   CO     90013298951
79942368661967   JOE LUIS         LOPEZ                    CA     90013923686
79943812755939   ANA              LUA                      CA     90014408127
79943949271921   FELICIA          ABILA                    CO     32015229492
79944726531443   DANIELLE         BUTLER                   MO     27540467265
79945645493739   LINDA            BLAKES                   OH     64542456454
79948136597122   JORGE            LOPEZ                    OR     90010691365
79948392591572   ALBERT           TORRES                   TX     90009943925
79949192361967   SHEILA           GREEN                    CA     90013591923
79949635455939   ADELFO           MARTINEZ                 CA     90012066354
79951821955969   NICOLE           GONZALES                 CA     48056728219
79952744361967   CINDY            ESPINDOLA                CA     90013037443
79952928941237   ANTHONY          BARTELLO                 PA     90014489289
79953415141253   BLAIR            OTOLLE                   PA     51036034151
79953721655939   ELIAS            ARROYO                   CA     90013697216
79954519141246   MICHAEL          SEITZ                    PA     51068485191
79955184531443   DIANE            MENDEZ                   MO     27573391845
79955315355969   GINA             DENIZ                    CA     48085313153
79955968831432   PAULETTE         DOUGLAS                  MO     90004379688
79957216451355   ASHLEY           ALTER                    OH     90012682164
79957595855969   ELIZABETH        JAVAUX                   CA     48085945958
79958716191368   JOEL             DIAZ                     KS     90011727161
79958742555969   SHELLY           ALEPON                   CA     90013947425
79959249471921   CHARLES M        HECKERT II               CO     90006462494
79959774641253   TONYA            DILLERD                  PA     90014547746
79961565733698   LAWONDA          CORNS                    NC     90014985657
79962652355939   RENE             GARCIA                   CA     90015196523
79963712255939   KARINA           GODINEZ                  CA     90012067122
79964431177585   YOLANDA          DIOSDADO                 NV     90006104311
79965221281633   ERICA            WELLS                    MO     90011092212
79966663271921   HAVILAND         ANDREW                   CO     32015856632
79967222141237   LORRAINE         KLINGE                   PA     90015282221
79968158755947   VIGINIA          LOGORIA                  CA     90008751587
79968544455939   AIDA             FARIAS                   CA     90014595444
79968565733698   LAWONDA          CORNS                    NC     90014985657
79968988751348   KAMESHA          DUKE                     OH     90002779887
79972145555969   ANGELA           GOMEZ                    CA     90004771455
79972328181633   DAVID            CHRISTAIN                MO     90014023281
79972648531458   CAROL            HINKLE                   MO     27513306485
79973112855969   MASOU            SEE                      CA     48008261128
79975251531443   SEAN             SCHAEFER                 MO     27591762515
79975349655947   FRANKY           VILLAGRANA               CA     90012743496
79975354441237   TYRA             PERKINS                  PA     90014573544
79975665591588   SANDRA           MORALES                  TX     75086546655
79975681861967   VEN JAVIER       GUERRERO                 CA     90012556818
79977242731432   SETH             VELKERDING               MO     90001782427
79978169355969   MARILYN          POWELL                   CA     48056821693
79978385561967   ISAEL            ORTIZ                    CA     90013923855
79979682961967   LEON             WALKER                   CA     90012556829
79979759351348   KRISTINA         SINGLETON                OH     66094327593
79982424471921   VICKY AND HANS   IGOU                     CO     90010634244
79982499855939   MARIO            COLIN                    CA     90015114998
79983699661967   TERRANCE         NELSON                   CA     46014036996
79983718291588   LUIS             ARROYO                   TX     90011117182
79984593855969   MERCY            DIAZ                     CA     90006985938
79986344161967   LILIANA          SALGADO-LOPEZ            CA     46056443441
79987649751355   LATASHA          THOMPSON                 OH     90005576497
79991344161967   LILIANA          SALGADO-LOPEZ            CA     46056443441
79991864271921   PAUL             KARAFFA                  CO     90013938642
79992538991885   TERMIRA          JACKSON                  OK     21009915389
79992557461967   REBEKAH          CHESTER                  CA     90008175574
79994811241246   JAMELLA          WOODY                    PA     51091058112
79996199241253   SUSAN            EICHLER                  PA     51001281992
79996391861967   VICTORIA         RAMIREZ                  CA     90013923918
79996818191588   ALEXA            PENA                     TX     90010638181
79997848671921   KARLA            AGUILAR-MORALES          CO     90006148486
79997961155947   EVE              OCHOA                    CA     49021879611
79998364451348   JOHN             DRUMMOND                 OH     90009703644
79999618754133   EMILY            DOWNING                  OR     90009176187
79999795791588   JESSE            SANCHEZ                  TX     75020367957
81111267751362   LINDSAY L JR     KNIGHT                   OH     90014642677
81112668341275   MALISSA          HARRIS                   PA     51066936683
81113414647822   CORY             NESTER                   GA     90015464146
81113547441275   AMANDA           DANZIGER                 PA     90014575474
81114125641262   DORCINA          CASH                     PA     51013771256
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81116169871956   JACOB            PACHECO                  CO     90001711698
81116287871977   MICHELLE         ROBINSON                 CO     90015262878
81116357285936   GERARDO          LUNA                     KY     67009023572
81116594797133   HERMELINDA       GARCIA HERNANDEZ         OR     90012625947
81116633491975   SAM AND CHERYL   KING                     NC     90005536334
81117991171977   CAROLYN          CALDERON                 CO     38096169911
81118343972432   KODI             MOONEY                   PA     90014223439
81118445193127   JAHAIDA          JOHNSON                  TN     90014714451
81119885497138   ADALBERTO        HERNANDEZ                OR     44074938854
81122622381672   RICK             SMITH                    MO     29030846223
81123441741275   AITA             GURUNG                   PA     90011484417
81124938233698   JESSICA          WILLIAMWS                NC     12040899382
81126547461928   ANA              PEREZ                    CA     46052555474
81126961851362   JOSEPH           LINDHORST                OH     90015139618
81127247591242   CHRIS            HUNTER                   GA     90015122475
81127614747822   CHANELLE         HAMPTOM                  GA     90014336147
81127657991837   MARISELA         GAYTAN RODRIGUEZ         OK     21039126579
81129425172432   STACY            WITTBECKER               PA     90000584251
81129797255945   LINA             CALLISON                 CA     90009507972
81129924885856   ANTONIO          SERRANO                  CA     90006599248
81131629261924   KRISTYNE         HAIMAN                   CA     90011356292
81131919933698   DEQUISE          MAXWELL                  NC     90010179199
81132491851362   LESLIE           WILLIAMS                 OH     90014834918
81132579255945   RUBY             TELLO                    CA     49031805792
81133692691975   NICOLAS          CARVAJAL                 NC     17097996926
81134147471977   NATHAN           GIBBS                    CO     90013071474
81134342897133   FELIPE           BAUTISTA                 OR     90014963428
81134974851362   MEDINA           LEOPODO                  OH     90013129748
81135938797138   SHAWN            SPANIOL                  OR     44071919387
81136716761928   ANGELA           REDDIX                   CA     90003577167
81137192847897   PATRICIA         SMITH                    GA     14031871928
81138642541262   KYESHAWN         HALL                     PA     90014606425
81138771685936   KIRK             BOLLES                   KY     67040677716
81141333191975   FAUSTINO         GALINO                   NC     90012343331
81141791871977   RYAN             KENDALL                  CO     38074757918
81141793941275   JOSEPH           FITMAN                   PA     90015017939
81142333891242   TAKRI            BRYANT                   GA     90011663338
81143583685856   EDDIE            MATSUEDA                 CA     46013395836
81143923191525   RAMON            RAMIREZ                  TX     75090589231
81144834991242   DANIEL           STEPHENS                 GA     90014828349
81145224441262   MALIKA           EVINS                    PA     90011752244
81146425351367   GREG             OSIE                     OH     66081044253
81146879947822   TOMMY            PATTERSON                GA     90009948799
81147937977537   ZULMA            SHINGLETON               NV     90010469379
81148658585936   TIMOTHY          KIMBLE                   KY     90014846585
81148711971977   MARY             GOSCINSKI                CO     38090607119
81149152141262   WILLIAM          LOVELL                   PA     51091191521
81149446647822   QUENTORIA        GIBBS                    GA     90015044466
81151634691979   NOE              CASTRO                   NC     90000776346
81151824993771   KENNETH          WEAVER                   OH     90010908249
81152726491975   AMANDA           HOLLAND                  NC     90014107264
81152853797121   NICHOLAS         TAYLOR                   OR     90014888537
81155512497138   KASEY            THOMPSON                 OR     90011035124
81156892191525   ENRIQUE          ESPINO                   TX     75044518921
81157714251362   DAN              DUHME                    OH     90005447142
81157878651362   BRITTNEY         SHORT                    OH     90010338786
81159545691837   RANDALL          GARRIS                   OK     90013945456
81162382297121   ENRIQUETA        SARMIENTO                OR     90015163822
81163374333698   DAVID            SHERPERT                 NC     90013353743
81163628771977   JOSEFINA         HERNANDEZ                CO     90004796287
81163834441262   FELICIA          BENJAMIN                 PA     90002088344
81164448641275   GEORGE           JOHNSON                  PA     90013454486
81164516397121   YURI             FIGAROA                  OR     90014765163
81164998191837   KASSANDRA        GILDAY                   OK     90013079981
81165428772432   PAUL             MCCLAIN                  PA     90011944287
81165981691242   CHIKE            HILL                     GA     90013609816
81166472297121   JUAN             MARTINEZ                 OR     90001264722
81166864672432   HOLLY            ZARICKI                  PA     51074108646
81166898391975   MIKE             WILLS                    NC     90011428983
81167182497133   ANNA             TREVINO                  OR     90010661824
81167946293771   ROSEMARY         GIBSON                   OH     64555399462
81168518571977   CARLOS           RIOS                     CO     90010755185
81168664897138   SERAFIN          ROSAS                    OR     90014886648
81168718293771   LUCAS            HICKMAN                  OH     64536507182
81169372933698   JOHN             MARSTON                  NC     12088113729
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81169825261928   BREELL             ENOVIJAS               CA     90001978252
81171147197133   RODNEY             SCHANTIN               OR     44085121471
81173433177537   GEORGETTE          FERRERA                NV     43078204331
81173924597133   JORGE              CAMPOS                 OR     90010579245
81174242661928   PATTY              ALEJOS                 CA     46021082426
81174734197133   APOLONIA           MUNOZ                  OR     44087597341
81177183797121   MILAGROS           GARIBAY                OR     90010711837
81177676151362   JOHN               HOWARD                 OH     90014216761
81177779191525   ANGEL              RODRIGUEZ              TX     75063247791
81177829641262   GERALD             LEE                    PA     90014308296
81178563341275   JOSEPH             DEUSANIO               PA     90000875633
81178781991242   ALVIN              BLACK                  GA     90015047819
81179149355945   GENO               PALOMINO               CA     90003691493
81179561761983   CORINNE            PEARSON                CA     90011865617
81179897997121   AGUSTIN            MARTINEZ               OR     90012538979
81181115591975   MOLLY              CONYERS                NC     90013341155
81183339393771   REGINA             HALL                   OH     64551423393
81183612591525   BERVERLY           MARQUEZ                TX     75028436125
81186476633698   TIFFANY            CHEEK                  NC     90011024766
81186579797138   ELIZABETH          CERVANTES              OR     90015165797
81187333791922   MIGUEL             PEREZ                  NC     90007733337
81187536441262   DAMIA              DAWKINS                PA     90014905364
81187932285856   NIELS              CHRISTENSEN            CA     90009739322
81188374591975   ALYSHA             STURDIVANT             NC     90013543745
81191468161928   CLAUDE             TAMBWE                 CA     46062844681
81192487177537   MICHELLE           CARVER                 NV     43091314871
81193525391837   NALAN              BEAR                   OK     90014895253
81193556697138   GAUDENCIO          HERNANDEZ RIVEROS      OR     90014425566
81195439447822   LUCAS              CUMACHO                GA     90013764394
81195457547897   KENNARD            ROYAL                  GA     90014864575
81195611591837   JESUS              VALDOVINOS             OK     90010766115
81196172797138   HOPKINS BAUTISTA   MARTINEZ               OR     90012741727
81196498572432   JOANN              KEKKEY                 PA     90007864985
81196695497121   STEPHANIE          STINSON                OR     90013086954
81197834672432   JAMES              ALLEN                  PA     90013228346
81198249593127   ROBERT             NOBLE                  KY     90002202495
81198399891975   KENDREKA           JENKINS                NC     90014623998
81211719271977   MORAYMA            RIOS                   CO     90009217192
81212348291242   AMANDA             LEE                    GA     90002663482
81213442497133   ELIDIA             BENANCIO               OR     90009954424
81213596541262   TINA               FEATHERMAN             PA     90010935965
81213661793771   JAVIER             HERNANDEZ              OH     90011276617
81213852991979   MOSTAFA            AMIN                   NC     17085648529
81213887685936   ELENA              ROLDAN                 KY     90008308876
81215112391975   JENNIFER           QUIGLEY                NC     90008571123
81215569391979   TEENA              BALLARD                NC     90014155693
81216975441275   IMMANUEL           MURIN                  PA     90008519754
81217573171977   JESSICA            RUIZ                   CO     38050505731
81217612331433   ANTONIO            BURNETT                MO     90008836123
81218719385936   MATTHEW            MCDOWELL               KY     90014777193
81219464747822   JACYNTHIA          DENNARD                GA     14089054647
81219528641275   JOE                BROWN                  PA     90015175286
81219757691242   TYREEK             GREEN                  GA     90011667576
81221745172432   JOHN               ROSENBERGER            PA     90014597451
81222141971977   DANIEL             ANDERS                 CO     90014271419
81222595251362   RYAN               LARISON                OH     90011735952
81223238831433   ELIZABETH          BLACKWOOD              MO     27512172388
81223362741262   MICHAEL            WATSON                 PA     90005663627
81223617897133   ROSARIO            SANCHEZ                OR     90009816178
81224868561928   MANUEL             YACTAYO                CA     90007868685
81225335147897   NATHANIEL          SMALL                  GA     90015153351
81225937997133   TIMOTHY            HIGGINS                OR     90013739379
81226111851357   WINONA             JACKSON                OH     90007631118
81226144551362   CHARLES            VICK                   OH     66036701445
81226776191939   ELENA              SAN AGUSTIN            NC     90002127761
81226782791837   JOHN               VAUGHN                 OK     21054427827
81228162951325   SHIRLEY            HERNANDEZ              OH     90006891629
81228814172432   KAREN              GAINES                 PA     90014588141
81229594291837   DANIELLE           MARSHALL               OK     21036925942
81229817872432   JOSH               STONE                  PA     90014738178
81231162772432   CHRISTOPHE         WRIGHT                 PA     51039091627
81231487697138   ROBYN              NELSON                 OR     90013974876
81233933841247   SALIM              BAMIRA                 PA     90014769338
81237482447897   ASHLEY             JOHNSON                GA     90014844824
81237491291975   KEONAH             LUCAS                  NC     17031124912
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81238372991525   JOSHUA       MACIAS                       TX     75090633729
81238452897133   BORBONIO     ERNESTO                      OR     90010404528
81238498697138   DAN          DEWOODY                      OR     90012904986
81238754791944   JESSIE       MCDOUGALD                    NC     90005607547
81239969397138   DAVID        SLAGLE                       OR     90014999693
81241628485936   KANDRA       FERNANDEZ                    KY     90014716284
81242478561936   STEVEN       SCHRADER                     CA     90003234785
81242925593771   MICHELLE     ORRENDER                     OH     90012039255
81243111851357   WINONA       JACKSON                      OH     90007631118
81243494385936   DANIEL       FLORES                       KY     90009704943
81243877747897   JAVARIOUS    KNIGHT                       GA     90013218777
81245584431433   ROSE         PAGE                         MO     27511225844
81246937877537   JORGE        ESCOTO CEJA                  NV     43087819378
81247811991979   NOORYA       PAKTIAWAL                    NC     90002048119
81249323451531   MARIA        ROSAS                        IA     90014543234
81249823491975   SARAH        KADATE                       NC     90015038234
81249958685856   TAURI        SEAVER                       CA     90013979586
81251773191837   RUSTY        COOK                         OK     90010647731
81252448641262   NICOLE       GETZ                         PA     90005934486
81252535541275   JOSHUA       HOWCROFT                     PA     90013995355
81253421351362   SONYA        MCDONALD                     OH     90011674213
81253566655945   PATRICIA     ZIONG                        CA     49093955666
81253969997948   DARWIN       NAVARRO                      TX     90013299699
81255569993771   STERLING     LUNSFORD                     OH     64526225699
81256442841275   JANET        HAMILTON                     PA     51067434428
81258189597121   STEVEN       PERRINE                      OR     44098111895
81258998991242   LORI         HOLTON                       GA     90014169989
81259627197121   TAMBERLIE    ECKLUND                      OR     44041396271
81259817847897   ELISA        ROUTT                        GA     90013658178
81263555385936   DANIEL       FOLEY                        KY     90002985553
81264162991975   RAFAEL       GARCIA                       NC     90012181629
81264715397121   DANIAL       GARCIA                       OR     90010807153
81266424833698   YOLANDA      JARRETT                      NC     12094764248
81266527577537   PATRICIA     STANDEN                      NV     90002745275
81266886485856   BRUCE        MARKEY                       CA     46097798864
81267222677537   GUADALUPE    NORIEGA                      NV     90007212226
81268396947897   DEMITRA      JACOBS                       GA     90011383969
81268786561467   ROSETTA      FREEMAN                      OH     90015367865
81269894271977   TORRI        SHAFFER                      CO     90013748942
81271722471977   TROY         BUCKHOLZ                     CO     90012247224
81271933641262   SARAH        BYLER                        PA     90014619336
81271934477537   WILLIAM      HACKNEY                      NV     90010719344
81273352891525   CONCEPTION   SILLER                       TX     90005843528
81273614691242   CHRISTINA    FEAL                         GA     90014166146
81277156851382   STEFANIE     BODE                         OH     66080861568
81278618191979   ELIAS        SORIA                        NC     90009516181
81279142971977   MARQUITA     RINGLERO                     CO     38098141429
81279398155945   MANUEL       VALENZUELA                   CA     49006243981
81279533177537   BRENDA K     KROTSMER                     NV     90011475331
81282539147897   ALETHIA      ELLIOTT                      GA     90013805391
81283617897121   CALVIN       RUSSELL                      OR     90015176178
81285514785856   CINNAMEN     KUBRICKY                     CA     46078265147
81286369471977   GABRIELA     BURCIAGA                     CO     90012133694
81287729397121   MICHELLE     SWIGER                       OR     44054097293
81288195497133   CHANTEL      LARSON                       OR     90014471954
81289246733698   CHANISHA     BURNEY                       NC     90014602467
81289341185936   ROBERTO      HERRERA                      KY     67027603411
81289636997121   KELLY        ALLEN                        OR     90014496369
81291696572432   STEPHANIE    LINDLEY                      PA     90014896965
81293145241275   JEANETTE     BLUE                         PA     90015471452
81293591841262   ZAVAUGHN     LILLY                        PA     90014625918
81294724697138   THERESA      BRYSON                       OR     44088447246
81295146297121   JUDITH       LOPEZ                        OR     44067501462
81295235591975   YVONNE       KNOBELOCH                    NC     90013362355
81295742191979   VICTOR       SOLIS                        NC     90014147421
81295836961928   MARTHA       PASCENCIA                    CA     46008728369
81296865541262   BRITTANEY    WILLIAMS                     PA     51072178655
81297698384325   ALFREDA      MIKELL                       SC     90011046983
81297871591975   KEVIN        HERNADEZ                     NC     90007488715
81297924277537   MELVIN       SANDOVAL                     NV     90000629242
81298643872432   RANDA        PATTERSON                    PA     51086926438
81298792693747   GERALD       STAATS                       OH     90011467926
81299214655928   KRISTEN      RICE                         CA     90014612146
81299551391837   LORENA       DURAN                        OK     90009895513
81299921397133   MANUEL       NIEVES HERNANDEZ             OR     90015179213
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81312466591975   BERNARDO      BUSTOS ALFARO               NC     90014834665
81312819493771   JONIL         KOGER                       OH     90008788194
81313224197121   KACEE         SINMS                       OR     90010532241
81314887677537   ALICIA        TAU                         NV     90000188876
81316112263632   JUSTIN        DALTON                      MO     90006091122
81316764572488   CRYSTAL       BARNETTE                    PA     90012457645
81317438297138   MARK          SHOOP                       OR     90009364382
81317933841247   SALIM         BAMIRA                      PA     90014769338
81318355477537   ALEXANDRA     SMITH                       NV     90001173554
81318531397133   JUAN          CONTRERAS                   OR     90010755313
81318779791242   AARON         SCOTT                       GA     90010287797
81318979991979   ROSALBA       AGUILAR                     NC     90004169799
81319159697121   JAMES         KLOCK                       OR     90014731596
81319389493771   QURRIALLACE   TUCKER                      OH     90009903894
81319654885856   MIREYA        GONZALEZ                    CA     90012766548
81319834647897   BETTY         BARNES                      GA     90013678346
81322624897133   SOCORRO       MARTINEZ                    OR     44015736248
81323369347822   JULIA         MOSS                        GA     14090863693
81323497791525   MARGIE        MELENDEZ                    TX     90003314977
81323685493771   KYLE          WILLIAMS                    OH     90007796854
81324332985936   EPIGMENIO     RODRIGUEZ                   KY     67077903329
81325227647897   SHATERA       LESTER                      GA     90013042276
81327222347822   KEVIN         MCCAIN                      GA     90003112223
81327393755945   GENISE        HOLMES                      CA     49041123937
81328463171977   LORI ANN      BAILEY                      CO     90014154631
81328634477537   GUADALUPE     NERI                        NV     90011646344
81328668497133   REGENA        RUTHEFORD                   OR     90013386684
81328692985936   AMANDA        BUSTER                      KY     67042546929
81328998991242   LORI          HOLTON                      GA     90014169989
81329527897133   PAUL          JOHNSON                     OR     90010205278
81331146931433   ORLANDO       CLAYTON                     MO     90010811469
81331565991975   KHALEEAH      YOUNG                       NC     90011205659
81332253393771   JO ELLEN      STUMP                       OH     64522982533
81333379147897   SHERECA       KING                        GA     14072823791
81335744472432   KAUFMAN       PAUL                        PA     51006237444
81336354897121   BELINDA       ANGELICA                    OR     44093463548
81336375555945   SUSAN         LARKIN                      CA     49029843755
81336881391975   EDVIN         GOMEZ                       NC     90011068813
81336916777537   FREDERICK     IGLESIAS                    NV     90014669167
81337353247822   CLARENCE      DAVIS                       GA     14082883532
81337486197121   CHASE         DARIN                       OR     44064634861
81337758391979   MELINDA       BONANO                      NC     17063527583
81338694671977   FELICA        ORTEGA                      CO     90003476946
81338845977537   TAVANA        TALBERT                     NV     90014308459
81341698441275   CHRISTOPHE    BARTON                      PA     51082236984
81342691291837   FRANCISCO     RODRIGUEZ                   OK     90010156912
81343492661928   DAWN          TAYLOR                      CA     90010004926
81343732277537   STACEY        MORRIS                      NV     90012707322
81344166991837   LYNDA         JOHNSON                     OK     90011871669
81344547555945   ROSALBA       BARRIGA                     CA     49020415475
81345575351362   DONNA         LACINAK                     OH     90000765753
81345742491242   SHARICE       HOOPER                      GA     90014627424
81346817977537   BRENDA        BELL                        NV     90009138179
81347544191975   NYLLA         HICKS                       NC     90008585441
81348182577537   DAMIEN        LAMBERT                     NV     90014641825
81348191861928   DONALD        FERRUSCO                    CA     90010641918
81349117993771   JOHNETTA      BRIGHT                      OH     90013071179
81351348377537   JUAN          ESTRADA                     NV     90015023483
81351366197138   KARI          GRIMES                      OR     44080853661
81351399791979   BRAD          CROSBY                      NC     90010493997
81352456651362   TIMOTHY       RENOLDS                     OH     90004234566
81353514651332   GRISELDA      GUTIERREZ                   OH     90012975146
81354449797138   MARIANA       MOREHEAD                    OR     90012924497
81357266677537   RHONDA        BERREMAN                    NV     43003272666
81357492377537   NAKESHA       BERREMAN                    NV     90014584923
81358828491532   RAUL          MARTINEZ                    TX     90006668284
81358977493137   AMI           SMITH                       TN     90015539774
81359291997133   NAHUM         ASCENCIO                    OR     90002582919
81359543772432   JEANNETTE     FEDD                        PA     90003845437
81359595541262   ANTHONY       FORTE                       PA     90014625955
81359613591837   TERRY         MOORE                       OK     90010766135
81361527585856   JOEL          SOLIS                       CA     46054185275
81361969391979   CHANTE        MCCULLERS                   NC     90014689693
81362583741275   ANDREW        SMITH                       PA     90013205837
81364514291975   GLENDA        DEL SID                     NC     90013255142
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81365377671977   SONIA          CORNEJO                    CO     38049733776
81365411333698   MARKUS         CLARK                      NC     90013354113
81366145341275   MARIAH         BULGER                     PA     90006111453
81366518691242   LAQUILLA       JAMES                      GA     90011675186
81366719491979   KENNETH        POWELL                     NC     90004077194
81367762891837   JENIFER        HERNANDEZ                  OK     90009447628
81369685491525   JASON          MORALES                    TX     75093386854
81369716193771   AYLIN          CELIK                      OH     90009027161
81369726951362   MAGETTE        ANTHONY D                  OH     66013597269
81372963147822   RANDALL        CLEVELAND                  GA     90013479631
81374187497138   VALERIE        M DENNIS                   OR     90005021874
81375522397121   KATELIN        MALO                       OR     44038995223
81375636633698   JONETTA        SHEELEY                    NC     90012766366
81375645497138   FELIZA         VYHNAL                     OR     44014346454
81376249397133   CHANTEL MARE   FLESHMAN                   OR     90006152493
81376291393771   TIFFANY        DUNCAN                     OH     90014952913
81377415147822   DENASIA        PETERSON                   GA     90014264151
81377421591979   CLARYS         FELIZ                      NC     90010764215
81378298172432   LISA           WEST                       PA     51052582981
81378611397121   AIDEE          GUDINO                     OR     44072996113
81378724777537   HAILEY         GERBEL                     NV     43082417247
81379282347897   ANGELICA       BALDWIN                    GA     90014662823
81381342291837   FRANK          LAMB                       OK     90008583422
81381612291525   DANIEL         GONZALEZ                   TX     90003316122
81382811185856   CUPPY          ARNOLD                     CA     46024668111
81384564755928   SABRINA        BARRERA                    CA     90010625647
81384592241262   DOMINICK       PELINO                     PA     90005765922
81386763947897   ASIA           REESE                      GA     90013087639
81388425697138   GRIZELDA       LORD                       OR     44012814256
81389136151362   MARIA          GUTIERREZ-YERENA           OH     90011741361
81389284985856   JEFFREY        BADUA                      CA     90010702849
81389558141266   DEBRA          GIST                       PA     90005265581
81392183851362   MARSHALL       RUSNAK                     OH     90014241838
81392487997133   JOSEPH         SUIRE                      OR     90012834879
81392715285936   FRANCISCO      LOPEZ                      KY     90010487152
81393665493723   JEREMY         HAMIEL                     OH     90007996654
81393686597121   AUSTIN         REMILY                     OR     90012816865
81394136791242   SHAWN          BARNES                     GA     14576031367
81395289791242   SELINA         ALSTON                     GA     90012492897
81395637255945   BEN            LERON                      CA     90012226372
81396223191979   JOANNA         ADCOCK                     NC     90009682231
81396444593771   DIANA          DEBORD                     OH     90014434445
81397683285856   LEONEL         ALEJANDRO RODRIGUEZ        CA     90010056832
81397885641275   WESLEY         WOODS                      PA     90013938856
81398477191837   DARRLYN        WOODSON                    OK     21086304771
81399114641275   SEQUOYA        HALL                       PA     51008221146
81399191151362   BERHE          ABRAHA                     OH     90014241911
81411168461943   LANI           HERNANDEZ                  CA     90002181684
81411761497138   PATRICE        GARCIA                     OR     44069237614
81412419261994   JUAN           GARCIA                     CA     46008154192
81414381171977   SARA           RODRIQUEZ-CASIAS           CO     90011053811
81414858991242   MAURICE        TYSON                      SC     90015268589
81417381291975   ROSALIO        VARGAS ALDABA              NC     90013103812
81417931533698   CHRISTIAN      ALATORRE                   NC     90013169315
81418316972432   ANTONIO        DAVIS                      PA     90014603169
81418837991975   CARLO          QUAGLIAROLI                NC     90003928379
81419315571977   WILLIAM        TRUJILLO                   CO     38066283155
81419466891975   MICHAEL        BUTTLER                    NC     90011104668
81421184197121   ENRIQUE        OLIVARES                   OR     90002581841
81421699197133   KRISTEN        CHASTEEN                   OR     44078726991
81422259833698   HECTOR         CARDONA                    NC     90013402598
81422695991975   DANIEL         ESPINOZA                   NC     90010806959
81422733955945   LESLIE         BELMONTES                  CA     49084307339
81423736191975   TIAL           SUNG                       NC     90014977361
81424296191975   ROBIN          MILLS                      NC     17093702961
81425336641262   ADREA          SIMPSON                    PA     90014703366
81427326285856   ALEJANDRO E    ROMO                       CA     90010353262
81428432571964   TIRZAH         STUCK                      CO     32001914325
81428938661928   CARLOS         RODRIGUEZ                  CA     90010479386
81429666471977   BRIA           MORENO                     CO     90013226664
81429982893783   JIMMIE         FERGUSON                   OH     90008169828
81431276971977   JASMINE        SANTISTEVAN                CO     90014812769
81431725447897   CHAKEVA        HARRIS                     GA     90012517254
81431834441275   PAUL           BROWN                      PA     51085408344
81431967472432   TRACY          BUNRIDGE                   PA     90001509674
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81433457997138   TAVIN          WILLIAMS                   OR     90010974579
81433818191975   MARGARITA      AGUILAR                    NC     17058098181
81434579691837   SHANE          CREWS                      OK     90012395796
81436226891242   EDDIE          BENNIEFIELD                GA     90014182268
81436412997133   SUSAN          COOK                       OR     90014394129
81436553185856   AJIBOLA        BOLARINWA                  CA     46045765531
81436668291837   PATRICIA       ESCOBEDO                   OK     90013946682
81436787397138   ROYCE          MAILOLO                    OR     90010987873
81437679141262   TERRA          BRIETIC                    PA     51004526791
81437911997138   BETTY          STURM                      OR     44005989119
81437956897121   ELIZABETH      ZAMBRANO                   OR     90014839568
81441351433698   BO             RMAH                       NC     90015323514
81442923385936   MARCIA         GROSS                      KY     67077589233
81442973441262   ANTHONY        ZUCCO                      PA     51066399734
81443147891837   JONNA          HILTON                     OK     21081201478
81443552191239   RANDI          WHITFIELD                  GA     90007325521
81444762691525   JUAN           VELA                       TX     90001847626
81444942685924   AMANDA         SPALDING                   KY     90007449426
81445124471977   SHARI          SISNERO                    CO     90010991244
81445177591979   ISRAEL         SOLIS                      NC     90004331775
81445711397138   NANETTE        BROWNING                   OR     90011477113
81447346541262   DEPREE         HOPKINS                    PA     90014913465
81447385272432   ROBERT         HANNEN                     PA     51031593852
81451588493771   MEARLE         NEAL                       OH     90011475884
81451622177537   KIMBERLY       WISEMAN                    NV     43086696221
81451716551362   MARQUELL       DAWSON                     OH     66018937165
81452154497138   KRYSTAL        JORDAN                     OR     44057581544
81452879947897   JERICA         DEFORE                     GA     14080628799
81453318371977   KENYETTA       BOND                       CO     90013273183
81453486555945   JORDAN         LEDGER                     CA     90014934865
81453561797121   GELACIO        ARTEGA                     OR     90013115617
81453579241275   CAROL          KLEIN                      PA     51027215792
81455227561981   ENRIQUE        J RODRIGUEZ                CA     90009232275
81456663297133   SAUL           CECILIO                    OR     90011096632
81457259481667   TOYA           SINGLETON                  MO     90001402594
81458422351328   JODY           GABBARD                    OH     90002034223
81458894391975   TIA            HINES                      NC     90010658943
81459575231433   OG             JOE                        MO     27556075752
81461272891934   DOLORES        LAWSON                     NC     90012502728
81461726741262   SAUTEE         CARRINGTON                 PA     90014627267
81462295233698   JOY            PINNIX                     NC     90005342952
81462764472432   JESSICA        GIRARD                     PA     90006397644
81462948991374   NATALIE        MYERS                      KS     90011269489
81464259197121   NANCY          MORENO                     OR     90001382591
81464575971977   DENIESE        SIERRA                     CO     38076715759
81464647484329   JESSICA        MARVIN                     SC     90006396474
81465845433698   ESTE           STOKES                     NC     90003128454
81466153685856   STEPHANIE      LOPEZ                      CA     90006951536
81466277391837   MISTIE         HUBER                      OK     21094612773
81466474591242   AUDIEL         PEREZ-VELAZQUEZ            GA     90014184745
81466755851362   RONDREZ        STEELE                     OH     90015107558
81468711333698   DIANNE         NELSON                     NC     12030197113
81468879251362   BRIAN          GANS                       OH     90007148792
81468892791525   MARIA          TREVINO                    TX     90003958927
81469699191837   KENNETH        ENCHEFF                    OK     90013946991
81471552133698   CHRISTINE      REID                       NC     90012035521
81472172485936   JEREMY         WHALEN                     KY     90000521724
81472695772432   DANIELLE       LEBLANC                    PA     90007246957
81473179797121   ANITA          ESPINO                     OR     90014861797
81473182191242   KEVIN          ALEXANDER                  GA     90007961821
81473354793771   SHANNA         MOSLEY                     OH     90012823547
81473598633698   EDWARD         WILLIAMS                   NC     12095975986
81474548891242   TANYA          DIXON                      GA     90014185488
81474832941275   DARCELL        CLECKLEY                   PA     90014508329
81474975597133   TAMMIE LEIGH   BERRETH                    OR     90003659755
81475236897138   GRISELDA       SALINAS HERNANDEZ          OR     90010332368
81475639331433   HOLLY          CASKANETT                  MO     90003936393
81475764371657   NEVAEH         SMITH                      NY     90015507643
81475793485946   JOSEPH         GREGORY                    KY     90003427934
81476321491975   BRENDA         GILMORE                    NC     90012873214
81476583371956   CONNI          TAFOYA                     CO     38020365833
81476922441275   DENNIS         MOLYNEAUX                  PA     51015329224
81478461472432   BRANDON        MCCULLOUGH                 PA     90013084614
81478478441262   TERRANCE       BANKS                      PA     90013464784
81479851991242   KAMILLIA       CAMPBELL                   GA     90014628519
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81481681651362   CODY         GENTRY                       OH     90013066816
81481788497133   MELISSA      BERRY                        OR     90003607884
81482212691979   PJ           RUDD                         NC     90014162126
81482773441262   JOHN         MORRELL                      PA     51029347734
81483983585856   SHAH         REZA                         CA     90007709835
81485125393771   DEANNA       ABNEY                        OH     90008041253
81485289591979   CLARKE       KIM                          NC     90010892895
81485369693137   EDIE         ADAMS                        TN     90015553696
81485587847897   CHASE        JONES                        GA     90009795878
81485792151374   ALEXIS       OLIVER                       OH     90013017921
81487928697138   JAMIE        ROBINSON                     OR     44079859286
81488899461922   ALICIA       JULIAN                       CA     46028768994
81489318585962   CLIFF        WEBSTER                      KY     90010373185
81489749672432   JOSE         MOLINA                       PA     90014907496
81489867285936   MIRANDA      BURTON                       KY     90005388672
81491212897121   LICHO        SALAZAR                      OR     44072702128
81493272591979   ANA          BAQUIS                       NC     90012492725
81495541971977   DVN8         TATTOO                       CO     90015225419
81496538493771   BRENDA       HOWARD                       OH     64504075384
81497314551362   IESHA        BROOKS                       OH     90014243145
81498699191525   SERGIO       QUEZADA                      TX     75016346991
81499235397121   VALENCIA     REED                         OR     90011662353
81499331471977   MICHAEL      THORLEY                      CO     90012053314
81513133891979   AMANDA       ROSE MORTON                  NC     90007211338
81513347771977   VIVIAN       SANCHEZ                      CO     90011533477
81513565291222   JANETTE      VARITAN                      SC     90013735652
81513892997138   MELISSA      CROSS                        OR     90014518929
81514112885856   LUIS         ANAYA                        CA     46041291128
81514374251362   RODNEY       CLAYTON                      OH     66056313742
81514592691975   MICHELE      ZUMATTO                      NC     90001555926
81514613541275   TRACEY       JOHNSON                      PA     51006176135
81514739191894   AMEL         TUCKER                       OK     90012997391
81514986271977   ROBERT       MONTOYA                      CO     38009299862
81515326851362   MAQUELLA     WILLIAM                      OH     90014243268
81515565491894   LAURICE      PROVOST                      OK     90004375654
81516993691975   ALVARO       RUCH                         NC     90012159936
81517293671977   ROSA         GRANILLO                     CO     90002382936
81518399847822   KENNETH      LEE                          GA     90013183998
81518515191975   AMI          CARRILLO                     NC     17045255151
81519326371977   SHAWNA       VALLEJOS                     CO     90012173263
81521366291837   COREJON      BALLARD                      OK     90014853662
81522146291922   ROBERTO      TORRES                       NC     90001301462
81522463697121   ANTONIO      DELGADO ORTIZ                OR     44062894636
81523155455945   KATHERINE    CABRAL                       CA     90002601554
81523275461928   FRANCO       TRESA                        CA     46086792754
81523365947822   NICHOLE      STUBBS                       GA     90012773659
81523777151337   DAVONNA      WARD                         OH     90011267771
81524437557128   WILLIAM      GONZALEZ                     VA     90007894375
81525316571977   MARGO        PAULETICH                    CO     38006023165
81525661951362   MICHELLE     GONZALES                     KY     90012696619
81526719551362   DAVID        SEXTON                       OH     90011997195
81526792347822   TONY         WARD                         GA     14059937923
81528459691979   EBADULLAH    NASERY                       NC     90014164596
81528643391837   CALLIE       CHILDRESS                    OK     90013216433
81528729693771   GRACE        COLLINS                      OH     90009537296
81532179861928   NIKITA       KORCHNOY                     CA     46082061798
81532765947897   JENIFER      WYSOCKEY                     GA     90011747659
81533223397121   MARIBEL      SANCHEZ LUCERO               OR     44072702233
81533746397133   KAREN        CHONG                        OR     90004567463
81535283784356   TIFFANY      DOUGLAS                      SC     90014292837
81536889397138   GAIL         MESSINA                      OR     90014888893
81536972477537   RANDY        MADAYAG                      NV     90002429724
81539385697121   ROSARIO      VAZQUEZ                      OR     44073873856
81539968972432   BRANDON      MCCONNELL                    PA     90014159689
81541529355945   JAMES        HOOVER                       CA     49088985293
81541618485936   JOSE         CAMBRAY                      KY     90006876184
81543716293771   HEATHER      STUART                       OH     90008587162
81544244733698   ANGELA       STERLING                     NC     90008472447
81545252177537   LARRY        KUCHER                       NV     90010472521
81545563991528   DANIEL       STUMPF                       TX     90004685639
81545575547822   DEBRA        WARD                         GA     14084375755
81545912697138   ABILIO       SOSA                         OR     44031009126
81546256385936   KIMBERELY    RIGGS                        KY     67043162563
81547261772444   DANIEL       WITHERUP                     PA     90008562617
81547312597138   CHRISTINA    VISUANO                      OR     90014613125
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81547536772432   RICHARD      GALLO                        PA     90009295367
81549473433698   WILLIAM      HURLEY                       NC     90013824734
81549718485936   CAMREN       ELDRIGE                      KY     90010497184
81551381585856   STEVE        CARPINELLI                   CA     46069563815
81551766997133   JUAN         MIRAMONTES                   OR     44091667669
81551781185936   NITA         BARBOZA                      KY     67080377811
81551939591242   SONATIRREA   MARTINEZ                     GA     90012429395
81552472785856   MARGARET     BANAS                        CA     46017684727
81552565791525   JAIME        SMITH                        TX     90008085657
81554274391975   KIARA        NEALE                        NC     90014652743
81554652577537   JAVIER       VILLAGRAN                    NV     43017636525
81554846293771   JAMIE        VENTERS                      OH     90014568462
81555724591525   MARTHA       SANCHEZ                      TX     75000647245
81556757591979   BRYAN        SMITH                        NC     90014167575
81558197591242   QUARZELL     TAYLOR                       GA     90010381975
81558369461928   RICARDO      FERNANDEZ                    CA     46062313694
81559377497121   ROCIO        HERNANDEZ                    OR     90006593774
81559925377537   IGNACIO      ALEJO                        NV     43081399253
81561718947897   LINDA        HARVARD                      GA     90013587189
81561727693137   DANITRA      LEWIS                        TN     90015517276
81561727955945   BALTAZAR     CLEMENTE                     CA     90013427279
81561971897133   HERIBERTO    OLAYA                        OR     90014989718
81562258191992   JANESSA      CALDERON                     NC     90009502581
81562454372432   HENRY        COHEN                        PA     51034674543
81564355941275   JANICE       HOLLAMAN                     PA     90012443559
81564493143593   MARIA        ROSAS                        UT     90012374931
81565942361928   LEIGH        PARCEL                       CA     46035319423
81567186431242   ELIJAH       HAJBAZZ                      IL     90015371864
81567637797133   XOCHIL       MARTINEZ                     OR     90012116377
81567757591979   BRYAN        SMITH                        NC     90014167575
81571599591975   SHARNELL     FORDHAM                      NC     17041415995
81571817997133   CHARLIE      GALVEZ                       OR     90014638179
81575978691558   YOLANDA      THOMPSON                     TX     90000929786
81576742197121   BROOKE       MULL                         OR     90013977421
81577258891979   TOSHA        PATTERSON                    NC     90004092588
81578369991979   ISABEL       SANCHEZ                      NC     17039123699
81578687991975   JASON        POOLE                        NC     90010076879
81578751891837   BROOKLYNN    SMITH                        OK     90013947518
81579228977537   CARVIN       RICHARDSON                   NV     90008272289
81579573955945   ERIC         DAVIS                        CA     90014175739
81581282885936   MARCELA      NAJERA                       KY     90013232828
81581689291525   ERIKA        AVINA                        TX     75084376892
81581894791242   RONALD       WILLIAMS                     GA     90014218947
81582347797121   SOKSAN       KORM                         OR     90013203477
81582544151362   TIANA        WILLIAMS                     OH     90001705441
81583366197138   JORGE        ANGULO                       OR     44016243661
81583645297121   DIANE        MERCADO                      OR     90014136452
81584816177537   ADAM         VANBROCKLIN                  NV     43092448161
81586126551362   ANDREA       CARLOCK                      OH     90011691265
81586432597121   STEPHANIE    RANDALL                      OR     90000514325
81587394571977   MICHAEL      DRAPER                       CO     90013493945
81587545285856   RYAN         ROSS                         CA     90013005452
81587824697121   CENTENO      ADRIANA                      OR     90002308246
81588243647897   HARRY        WALKER                       GA     90013162436
81589244747822   KECIA        WRIGHT                       GA     14025342447
81589466291837   MAYRA        YANEZ                        OK     21065204662
81589933797133   FRANSISCO    SORIANNO                     OR     90011149337
81591647961928   JESUS        CRUZ                         CA     90010616479
81591656797121   JACQUELINE   INGLETT                      OR     90013116567
81592332872432   JESSICA      CHRONISTER                   PA     90014983328
81593774897121   DIANNE       CONDOS                       OR     90013557748
81594264433698   TYIQUAN      TUCKER                       NC     90013292644
81594577747822   RODNEY       NORWOOD                      GA     14089315777
81594759897133   TANYA        DE LOS RIOS                  OR     90008107598
81595321885856   JOSE DE      JESUS OLVERA                 CA     90000453218
81595752141262   TRACI        WAGNER                       PA     90008817521
81596163593771   JOHN         GREGORY                      OH     90001801635
81596443147897   VERLIRA      BROOKS                       GA     90005864431
81597133141262   RAYNELL      SMITH                        PA     90003551331
81597625572432   KELLY        HORNE                        PA     90011036255
81599279741275   TYRONE       ROBINSON                     PA     90014682797
81599489541262   ROBIN        DANIEL                       PA     51039914895
81599782391242   ELVIS        LANGSTON                     GA     14573267823
81611399191837   EZEQUIEL     RODRIGUEZ                    OK     90005023991
81611761255945   SERENA       CHOM                         CA     90013777612
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81612613957133   TRAVIS          NEIL CHRISTENSON          VA     81095346139
81613825747897   KYESTER         PITTS                     GA     90009498257
81615396185856   KEVIN           MOREFIELD                 CA     46033503961
81615983841262   JODIE           WILSON                    PA     90014629838
81616229891837   RAGAN           BROWN                     OK     90014152298
81616716947822   SHAWN           SMITH                     GA     90013707169
81617977777537   LUIS            RAMIREZ                   NV     90012279777
81619618597138   RAMOS           DANIELA                   OR     90011046185
81621389933698   THOMAS          EYRING                    NC     12044243899
81621722191979   SHONICA         GOSS                      NC     17017707221
81622315497133   JUAN            LOPEZ                     OR     90008393154
81623169251363   JONATHON        CHARLES                   OH     90001211692
81623172341275   HANI            ISSA                      PA     90013291723
81623681441275   HANI            ISSA                      PA     90012346814
81623756147897   ASHLEY          GREGORY                   GA     14037217561
81623772877537   JOSEPH          JARRATT                   NV     90011207728
81623938697133   ASHLEY ANN      DAVIDSON                  OR     90014639386
81624791691837   FAITH           WILLIAMS                  OK     90013947916
81625271991975   AMANDA          JOHNSON                   NC     90015132719
81627488291975   XIOMARA         GONZALEZ                  NC     90007124882
81627533491975   LATITIA         JOHNSON                   NC     90013575334
81627847285856   AIOTEST1        DONOTTOUCH                CA     90015128472
81628182991837   RAMON           ORTIZ                     OK     21067011829
81628333293771   RACHAEL         CELIA                     OH     90012633332
81628469947822   JAMES           RITCH                     GA     90014064699
81628546791242   YAISHA          COBURN                    GA     90014125467
81629534797121   JOSEPH          HOWE                      OR     90012025347
81629673733698   EVELEEN         COMAS                     NC     90013966737
81629693385856   YURIDIA         HERNANDEZ                 CA     90007606933
81629756397133   JOSE            SORIANO SOLANO            OR     44005597563
81631258172432   RICHARD         MCEWEN                    PA     90004362581
81631393791242   JASMINE         ROBINSON                  GA     90010203937
81631633485936   TAMIKA          HAYDEN                    KY     90009606334
81633142677537   MICHELLE        GALLARDO                  NV     90014651426
81633189333698   TAMMY           TATUM                     NC     12099031893
81633259685936   SONIA           SOLOZANO                  KY     90013742596
81633712597133   MARIA           CHAVEZ                    OR     44010247125
81634185872432   ALEJANDRO       VIVEROS                   PA     90011511858
81634482841244   STACY           PITTMAN                   PA     90001704828
81634772751362   MICHELLE        HALBERT                   OH     90008317727
81635861541284   KATHLEEN        OCONNOR                   PA     90009928615
81635877691975   MARIA           ESCOBAR                   NC     90011468776
81637199621628   JEREMY          GREENFIELD                OH     90012071996
81637274991979   JEREMY          DONALDSON                 NC     90014182749
81637586871977   JOHANNA         ARAGON                    CO     38072675868
81639592185936   TONY            GILPIN                    KY     67000245921
81639599241262   NIBIANGAGA      KERENI                    PA     90011345992
81639814147822   CHARLES         JONES                     GA     14060688141
81639865297121   LAWRENCE        SACHS                     OR     44080268652
81641778755945   EFRAIN MARTIN   GRACIA                    CA     90012867787
81641946447822   ARIANNA         DEFRANK                   GA     90010189464
81642296171977   LYNETTE         REYES                     CO     90014262961
81642333691837   ALONDRA         ESCOBEDO                  OK     90011513336
81642992291242   ANTONIO         DAVIS                     GA     90012379922
81643527641262   JEROME          CANE                      PA     51015135276
81644644197138   ROBERT          LAWRENCE                  OR     90012926441
81644791947897   EVERETT         ISAIAH                    GA     14089397919
81645411147822   LATASHA         BOYD                      GA     90014674111
81646193747831   CANDACE         ROBERSON                  GA     14002551937
81646336791975   SCOTT           SPENCER                   NC     90013043367
81649668391922   BELISARIO       OSORIO                    NC     90004136683
81655183793771   ALEXANDER       SHAYLYSSA                 OH     90011841837
81655681547822   AUTRENITA       MEREDITH                  GA     90014146815
81656138441262   NICOLE          CHAMBERS                  PA     90014631384
81656212493771   BRUNO           NAVERRO                   OH     90007202124
81656311897121   KISCA           MERRYMAN                  OR     44003973118
81657491547822   NIKOSHA         CLARINGTON                GA     90013114915
81657852397121   VICTORIA        CLARK                     OR     90014348523
81658566755945   ERIC            FERGUSON                  CA     90012775667
81661779747822   LAGUESHIA       SMITH                     GA     90014967797
81662216541262   MARK            KEARNEY                   PA     90014632165
81662819347897   COROVON         COBB                      GA     90013768193
81663376933698   JW              BROWN                     NC     90014133769
81663446891975   JERRY           HEYWARD                   NC     90014854468
81663611897121   ERICKA          CHACON                    OR     90014386118
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81663672297138   CHRISTINE    FULFER                       OR     44018706722
81664236361928   PHIL         PK                           CA     46049902363
81664481791979   DEMETRIS     COMACO                       NC     90014184817
81667719885936   SHALAYA      HALE                         KY     90014717198
81668463891979   PERLA        AGUILAR-GONZALEZ             NC     90014184638
81669573293771   JOE          MARTIN                       OH     90013615732
81669769391979   BESAI        MORALES                      NC     90005517693
81671611371977   DALILA       ARMIJO                       CO     38061066113
81671752497133   CARLOTA      MEDINA                       OR     90002827524
81672854885856   ROCHELLE     HOBBS                        CA     90013588548
81673131151362   ANDREA       SHABAZZ                      OH     66013361311
81673185641262   MICHAELYN    MCARDLE                      PA     51060851856
81673646391242   BAYRO        PEREZ                        GA     90012476463
81673791685936   MILTON       CANAS                        KY     90011257916
81674774197121   JESSICA      PEREZ PEREZ                  OR     44012207741
81675298585856   KEVIN        SCHWEITZER                   CA     46018652985
81676285791975   SHARON       MILLS                        NC     17009912857
81676535851362   EDMUNDO      ROSALES                      OH     90009955358
81677963193771   Y            T                            OH     64575789631
81678153185936   CARRIE       BUCKNER                      KY     67076381531
81679614685856   KASHA        DAGGINS                      CA     46084476146
81681538455945   ANDREA       NAVARRO TOPETE               CA     90013015384
81681588791979   LILLIAN      RODRIGUEZ                    NC     90014185887
81682436372432   CHRISTINA    JENNINGS                     PA     90014614363
81682876385936   JOYCE        WRIGHT                       KY     90010338763
81683441691975   KANIKA       DAVID                        NC     90014864416
81683537472432   TAHAIRA      PARKS                        PA     90014615374
81683646991979   ARTURO       LOPEZ                        NC     90006636469
81684696141262   THOMAS       PLUNKETT                     PA     90007936961
81684954872432   DEBORA       SKOLNEKOVICH                 PA     51008709548
81685158597138   NEIL         YOUNG                        OR     90013451585
81686114597138   OMAR         DURAN BIRRUETE               OR     44077571145
81687222241275   ANTHONY      NELSON                       PA     90014172222
81687726785856   MARKELL      HUNTER                       CA     90015147267
81688673547897   NINA         WILLIAMS                     GA     90007036735
81689226647822   CLARA        BOOKER                       GA     14009742266
81689381597133   LUIS         GARCIA                       OR     90013833815
81689617291242   BETTY        JEAN                         GA     90013026172
81691462341262   JAQUAN       WILLIAMS                     PA     90014634623
81692359455945   JUANA        RIOS                         CA     49074963594
81692854685936   MILTON       SUNIGA                       KY     90014228546
81693455897121   LINDA        CHOATE                       OR     44001734558
81693957893771   DANIEL       LEIGHTON                     OH     90000409578
81693964877537   ERICK        PINEDA                       NV     90012699648
81694384291242   REMEDIOS     RODRIGUEZ                    GA     14508243842
81694537472432   TAHAIRA      PARKS                        PA     90014615374
81694826191837   SILVIA       BAUTISTA                     OK     90013948261
81695328491532   MARISOL      MUNOZ                        TX     90012153284
81695637141262   RICHARD      GERE                         PA     90013696371
81698271497121   AUBREY       SIMON                        OR     90015252714
81698395161928   MARSHALL     BARKER                       CA     46081893951
81698864997133   MARICELA     VALLEJO                      OR     90012748649
81699915497121   STEVE        SMITH                        OR     90004959154
81711111141275   SISCO        THOMAS                       PA     51022801111
81711989431434   KALLY        THARP                        MO     90006429894
81712145197138   LEO          RIVAS                        OR     90013541451
81712363747822   MEKO         LAWERY                       GA     90001213637
81712555291979   MARKEE       JOHNSON                      NC     17015695552
81712585472432   PHILLIP      HEMDERSON                    PA     51088925854
81712619297133   AMANDA       KINGSBERRY                   OR     90004816192
81713279661928   WILSON       FUENTES                      CA     46014472796
81713672281683   ALYRA        RADILLO                      MO     90013766722
81714298551347   PEGGY        SHIRK                        OH     90011032985
81714728731433   KATHALEEN    SHAW                         MO     90005587287
81715794425664   GINILYS      PEREZ                        AL     90014477944
81715957633698   STEPHANIE    PERE                         NC     90010389576
81716532591837   ASHLEY       LOWREY                       OK     90014035325
81716857491837   VICTOR       HURSH                        OK     90012298574
81717157141262   MARK         MALETTA                      PA     51009731571
81717967751372   ANDRE        RODRIGS                      OH     90007609677
81718239351362   MISAEL       DE LEON                      OH     90011762393
81718788497133   MELISSA      BERRY                        OR     90003607884
81719241951362   DEREK        TAYLOR                       OH     90011762419
81719724855945   EDUARDO      HERNANDEZ                    CA     90009047248
81721182391355   MELANIE      GLYNN                        KS     29018831823
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81722114491975   MA AMPARO    MONTANO                      NC     90007311144
81722769891242   BRYAN        QUIGLEY                      GA     90012857698
81723157171977   JAMES        MASON                        CO     90008041571
81724446661928   MARIA        ROBINSON                     CA     46028724466
81725239457126   MARVIN       BONILLA                      VA     90001542394
81725484861928   ELSA         LOPEZ                        CA     90010504848
81726283685936   BENJAMIN     NDUSHA                       KY     90009292836
81726813177537   JUNE         MILLIGAN                     NV     43026408131
81727372993771   EMILY        SMITH                        OH     90013263729
81727977747897   RUBEN        DE SANTIAGO                  GA     14023159777
81728941697121   ANGELIA      GLAFIRA VAZQUEZ              OR     44048409416
81729528497138   MARIA        TORRES                       OR     90005165284
81729625977537   JULIE        WEBB                         NV     43017546259
81729881193771   ALLEN        NELSON                       OH     64579978811
81731713897138   MELANIE      PARMER                       OR     44068947138
81732259191975   KATRINA      HARRELL                      NC     90013692591
81732945151366   GARY         GROLLMUS                     OH     90004379451
81733116991837   QUINTON      BILLEY                       OK     90013351169
81733552541275   DEBORAH      BLOOMER                      PA     51090895525
81733598855945   ERICA        VILLA                        CA     90011475988
81733687997133   IVAN         SKOROHODOV                   OR     90014946879
81735611841262   ROBERT       SHAFFER                      PA     90011996118
81736365733698   DINETA       RAWLS                        NC     12025073657
81737979247822   WILLIE       GRIFFIN                      GA     90009729792
81738946985856   MARK         ODELL                        CA     90015389469
81739575797138   ANGELA       BROWN                        OR     44071165757
81741545497121   AMANDA       BALES                        OR     44070115454
81742764351362   BONITA       MERZ                         OH     66023577643
81742885593771   IESHA        HANKINS                      OH     64508088855
81743277647897   BRENDY       BARNES                       GA     90009272776
81743838941262   KRYSTAL      SANTIAGO                     PA     90014648389
81744271893771   OTIS         CARR                         OH     64573412718
81745625247897   KEISHA       KEMP                         GA     90015266252
81746878791837   GUADALUPE    SALSIDO                      OK     90014898787
81747982241262   PATRICIA     LEONI                        PA     90008499822
81751284971977   MANUEL       CASARES                      CO     90003412849
81752497485856   MARTIN       CRUZ                         CA     90012924974
81753468791837   STEVEN       CULVER                       OK     90014724687
81753553471977   TYLER        BOND                         CO     90015055534
81754861572432   MS TRUE      LASTER                       PA     90013448615
81755851791837   SETH         ZACHARY                      OK     90013948517
81755861197121   JANELLE      WEST                         OR     90014348611
81756619285936   TERRY        TERRT                        KY     90013876192
81757177197133   CARLOS       ORTIZ                        OR     44094521771
81757926997138   CHRISTIE     HOLBROOK                     OR     90011089269
81758339541272   JASON        FLEMING                      PA     90012803395
81759332461928   BECHELER     ROSEME                       CA     46005853324
81759429597138   TRAVIS       FERGUSON                     OR     90014814295
81761375472432   ERIC         KELLEY                       PA     90014733754
81762589993771   PAUL         LAPSINS                      OH     64524175899
81763195991242   AMBER        WILLIAMS                     GA     90010471959
81763259247897   ADRIANNA     BEST                         GA     90014872592
81763549541262   VENECIA      KERTLEY                      PA     90005385495
81764175677537   JOSEFINA     CARABBACAN                   NV     43090901756
81764433451362   STEPHANIE    HILL                         OH     66039364334
81764447491975   GEORGE       HART                         NC     90008624474
81764453447822   DANIELLE     PEARSON                      GA     90014604534
81766318991979   KAREN        TATE                         NC     17082373189
81766473791894   ANITA        WEBSTER                      OK     90010944737
81766618197133   EMMA         FROST                        OR     90015176181
81768568991975   CARMEN       RAND                         NC     90013875689
81771895171977   MICHELLE     BRISCOE                      CO     38088918951
81772111341262   BRIAN        WISNIEWSKI                   PA     90014641113
81773745691837   ROBIN        QUEEN                        OK     21042067456
81774366231449   ANGELA       WATSON                       MO     27562813662
81774383851362   MICHAEL      ELLISON                      OH     66067423838
81774756185856   ABRAHAM      ALVAREZ                      CA     90003457561
81775365141262   ROBERT       DUNMIRE                      PA     51037063651
81776675161928   BENJAMIN     BRADLEY                      CA     46055436751
81776746285936   BENTLEY      PHILLIPS                     KY     90011577462
81776866291979   FAUSTINO     RAMIREZ                      NC     17018358662
81776942641262   KAYLA        ROSKY                        PA     51055359426
81776989177537   MONICA       VAZQUEZ                      NV     43088209891
81777136733698   SHENA        HOLLIDAY                     NC     90010011367
81778997947897   JENNIFER     TRUSSELL                     GA     90014089979
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81779151691242   JAKIA          MITCHELL                   GA     90007391516
81779268861977   GLADY          WACHOT                     CA     90012802688
81781215847822   DANA           LEE                        GA     90010762158
81781341993724   TIMOTHY        ZIEGLER                    OH     90008413419
81781476733698   RYNESHA        GRAVES                     NC     90013824767
81781743997121   KENDRA         OLVERA                     OR     90011867439
81782916133698   MIGUEL         NUNEZ                      NC     12079879161
81783811385936   SHARON         MIDKIFF                    KY     90001448113
81784352793127   DAPHNE         FAISON                     KY     90006263527
81784366293771   ANTHONY        BONES                      OH     90013383662
81784459533698   MONIQ          STEPHENS                   NC     90013434595
81785493685936   JACKMON        DIONA                      KY     90015204936
81788663447897   WHITNEY        LOWDER                     GA     14027966634
81789179141262   PIERRE         KIRKSEY                    PA     90014641791
81789219171977   PATRICIA       FERNANDEZ                  CO     38063522191
81789858241275   PAULINE        PERRY                      PA     90010618582
81789991191975   ILSA           BARRIOS                    NC     17045549911
81791624691975   ANGELA         PEARS                      NC     90011196246
81794648997121   ADRIANA        SHERMAN                    OR     90013986489
81795744191837   TALLYSSIA      HARDIMON                   OK     90009747441
81796965385936   KELLY          SMITH                      KY     90012819653
81797168733698   PAUL           HOBERT GRIFFIE             NC     12084301687
81797428747822   RANDYLYN       JACKSON                    GA     90011354287
81797579177537   KAYLA          SNELL                      NV     90000195791
81799661477537   DEIDRA         QUIMAYOUSIE                NV     90008126614
81799739347897   SCOTT          DUMAS                      GA     90012547393
81811297785936   JEFF           NOE                        KY     90002042977
81811962147822   ERNEST         MALLARD                    GA     14060089621
81811987951362   LORIN          ADAMS                      OH     66005069879
81812264841275   DALE           MOSSBERG                   PA     90012842648
81813143691242   SABRINA        WILSON                     GA     90010811436
81813184425151   JASMINE        BRACEY                     AL     90015081844
81813458691975   JONATHAN       EVANS                      NC     90009624586
81813777285936   ERIKA          DUNCAN                     KY     90009877772
81813894793771   TAMETHA        DIVVELEON                  OH     90014488947
81814244297133   MARRIE         PRICKETT                   OR     90006462442
81814253441275   SAMUEL         SMITHSON                   PA     51074472534
81815586141262   GINA           LLOYD                      PA     51000265861
81816452397121   CHEA           HAKEEM                     OR     90006074523
81816598771964   CHRISTROPHER   BROWN                      CO     90010885987
81817573297133   TERESA         ZARATE                     OR     90011595732
81818245197133   DOUG           SMALLEY                    OR     90014232451
81819319572497   JENNIFER       GROSSI                     PA     90012283195
81819766741275   NATHANIEL      PHILLIPS                   PA     90000527667
81819867793783   SHERRY         PURVIS                     OH     90005148677
81821652697138   ELIZABETH      WILLIS                     OR     90014976526
81822424797121   MINDY          HENDRIX                    OR     90008294247
81822436251362   TAMI           WHITAKER                   OH     66006534362
81822633433698   SHAWN          HARRIS                     NC     90012786334
81823268372432   DENISE         TAMULINAS                  PA     90001152683
81824542385856   SHANE          JOHNSTON                   CA     46047105423
81825237591975   RACHEL         HALEY                      NC     90008292375
81825345847897   KIMBERLY       CHARLES                    GA     90008603458
81825662561924   JEANNETTA      KRAMER                     CA     90007326625
81826755133698   YVONNE         WHITE                      NC     12090287551
81828459185856   STUART         HUMPHREY                   CA     46019894591
81828687391975   CHRISTY        MORRIS                     NC     90014666873
81829144291242   DONETTE        HOUSTON                    GA     90014561442
81829483541275   JOSHUA         MORRIS                     PA     90015244835
81831712197138   MA             GARCIA CEJA                OR     44033467121
81832728391975   MICHAEL        MARTINEZ                   NC     90001707283
81833784155945   ANGEL          PERALTA                    CA     90012947841
81834174291975   CATALINA       GONZALEZ                   NC     90012961742
81834537591837   SHERITAH       WILLIAMS                   OK     90013795375
81834563672432   TRACEY         SMITH                      PA     90015145636
81834628955945   SANDRA         SAMBUESO                   CA     90004936289
81835354477537   RAUL           NUNO                       NV     90004033544
81835888177537   OLGA           IBARRA                     NV     90010658881
81836183191525   JOAQUIN        ALVAREZ                    TX     75090831831
81836533491975   PRISCILLA      SMITH                      NC     90014655334
81836681341275   DEANNA         WRIGHT                     PA     51038466813
81836819797121   MARIA          AGUIRRE GUTIERREZ          OR     90014748197
81837452172432   MICHAEL        ALLEN                      PA     51006114521
81838284147897   JOYCE          GRIFFIN                    GA     90011102841
81838414997133   LISA           RACHELLE                   OR     90008414149
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81838647247822   TRAVIS           ROBERTSON                GA     90011986472
81838655285936   NICHOLAS         HOLDEN                   KY     90012026552
81839177647897   KENTERA          JOHNSON                  GA     14091111776
81841643872432   RANDA            PATTERSON                PA     51086926438
81842884477537   JACOB            OCHOA                    NV     90014098844
81842952447897   EMMANUEL         BAILEY                   GA     90003629524
81843177991979   DEVORIA          DAVENPORT                NC     90014901779
81843399491837   ROSA             ISELA                    OK     90011793994
81843424651323   TARCHA           LAWSON                   OH     66034674246
81844886351349   SHEENA           PHILLIPS                 OH     90002728863
81845154391979   MARTINA          SANTIAGO                 NC     90012791543
81845895472432   DEANNE           HOLLIDAY                 PA     90014018954
81846565731433   ALISHA           MCCLENDON                MO     27512895657
81847911741232   MATTEW           SAUNDERS                 PA     90006109117
81847941272432   MICHELLE         MAZON                    PA     90002989412
81848564547897   TELMA            HOWARD                   GA     90010875645
81848697541275   REGIS            CURTIN                   PA     51028866975
81848849285856   LY               DO                       CA     46017788492
81848963297138   GEORGIA          KING                     OR     44033219632
81849553191837   FELECIA          FOSTER                   OK     21027365531
81851319541262   FON              NANJI                    PA     51053223195
81851643533698   ROBERTSON        ROBERT                   NC     12066306435
81851762997121   CHERRI           HARP                     OR     44000467629
81852341597133   BONNIE           SNIDER                   OR     90014563415
81852353147822   TREY             HOLT                     GA     90007813531
81853558185856   DANIEL SANGHAK   LEE                      CA     90014985581
81853582172432   NICOLE           BROWN                    PA     90014625821
81854258747897   EBONIE           RAZOR                    GA     90013532587
81855115151338   TAMECIA          DERRICKSON               OH     90000801151
81855439197121   GABRIEL          GALINDO                  OR     90014994391
81855446791242   RAY              WILSON                   GA     90014664467
81855616997121   LINDA            DIAZ                     OR     90010566169
81857362391979   LATASHA          HARRIS                   NC     90009823623
81858529285856   BEVERLY          GRIMES                   CA     90007835292
81858623555945   NORMA            AMADOR                   CA     90012546235
81859281671977   TRACY            MARTINEZ                 CO     90013892816
81859284593137   HARRY            MEULLION                 KY     90011232845
81859346541275   ATHALIAH         ISRAEL                   PA     90002493465
81859425691837   JAY              HAYNES                   OK     90008664256
81862311797121   STEVEN           NAZAROFF                 OR     90004283117
81863487991242   BRITTANY         STEVENSON                SC     90014664879
81863545197138   LEOPOLDO         ALVAREZ ORTIZ            OR     90013105451
81866486593753   AMY              PERKINS                  OH     90010644865
81866614841275   KIMBERLY         LAW                      PA     51001236148
81866634685936   SHAQUANNA        JONES                    KY     90013486346
81866677771977   RUBEN            TRUJILLO                 CO     90014676777
81866885633698   MARQUIS          FRAZIER                  NC     90010658856
81867159831433   EBONY            STRONG                   MO     90008511598
81868128491242   MENATI           KHATMA                   GA     90014841284
81868572555945   JOHNNY           HERNANDEZ                CA     90011315725
81869662971977   AMY              KAHLER                   CO     90012286629
81871161277537   HOLLY            MITCHELL                 NV     90014931612
81871524991975   LATISHA          BENTHALL                 NC     90006315249
81871965441275   RACHAEL          RADERMACHER              PA     90015099654
81874786847897   CHRIS            THOMPSON                 GA     14060807868
81875123497138   LORENA           MARTINEZ                 OR     90008441234
81875224997138   ROBERT           PADUA                    OR     44005272249
81876258551362   ANEESHA          BANKHEAD                 OH     90011512585
81876379333698   MARY             LEGETTE                  NC     90012003793
81877247971977   FERNANDO         CHAVEZ                   CO     38059252479
81877822391975   ALDRICH          HARRIS                   NC     90005198223
81878184391837   DONESHA          SMITTICK                 OK     21090681843
81878545477537   TERESA           BARONE                   NV     90014635454
81878971947822   TANGEE           SHINHOLSTER              GA     90014999719
81881458285962   JOHN             RODEN                    KY     90012784582
81882767472432   PAMELA           MCKITTRICK               PA     51014687674
81883719197121   WILLIAM          GHIORSO                  OR     44078637191
81885145691837   ROGER            QUINN                    OK     90013351456
81885258191979   CARNATION        PHILLIPS                 NC     17060852581
81886226255945   OLIVIA           PALAFOX                  CA     49008642262
81886291193771   DELORES          BEATTY                   OH     90012712911
81886565691975   SEBRELLE         JENKINS                  NC     90013575656
81886911591525   ALFREDO          VELOZ                    TX     90003979115
81887135171977   BENJAMIN         MARTINEZ                 CO     90010781351
81887176551362   LAURA            HANCOCK                  OH     90014251765
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81887411147822   ALISHA       BROWN                        GA     14068924111
81887761491979   BARRY        BEAVERS                      NC     90010077614
81888238691525   JUSTIN       STERLING                     TX     90003622386
81888697251362   ALICIA       ESCOBEDO                     OH     90015096972
81889632497133   GERMAN       GARCIA                       OR     90004286324
81892268951362   EMILIO       BORALLES                     OH     90012962689
81892436385856   ANGELICA     HERRERA                      CA     90013974363
81892888197121   SARA         ALFREY                       OR     90012088881
81893181651362   VENESSA      TOOLES                       OH     66056611816
81893627491837   RAITTIA      ROGERS                       OK     90012746274
81893882571977   MIRELLLA     GUARDA                       CO     90000448825
81893942161928   ALMA         DOWNING                      CA     90011259421
81894662585936   KI-INDIA     GLOVER                       KY     90014106625
81895594847822   CASHANDRA    BASS                         GA     90013525948
81896918391837   WILLIAM      WALD                         OK     90013949183
81897285793771   KAREN        FAVORS                       OH     64514232857
81897958691975   NERI         BUSTOS ARELLANES             NC     90011029586
81898183297138   TONY         BENAVIDEZ                    OR     90014761832
81898424147822   KRISTEN      LEE                          GA     90015404241
81899516185856   EMA          MEJIA                        CA     90007155161
81911589993771   PAUL         LAPSINS                      OH     64524175899
81913132591837   WALTER       ARCE                         OK     90000471325
81913769397121   SUZANNE      CRUZ                         OR     90011937693
81914282672432   JOHN         YOUNG JR                     PA     51001762826
81914366291979   BIG SAMS     CARPET                       NC     90010023662
81915144293771   MICHELLE     FELLERS                      OH     90013111442
81915199447897   SHUNDY       BAGLEY                       GA     90009131994
81916426791837   IVAN         DONIZ                        OK     90003354267
81916488797133   MIRIAM       SANCHEZ                      OR     90002004887
81916752877537   GREGG        SKINNER                      NV     90008387528
81917362697121   MIGUEL       BAUTISTA                     OR     90015243626
81917439655945   DIANA        RUIZ                         CA     49034654396
81917564271977   PAYGO        IVR ACTIVATION               CO     90013005642
81918363797138   ANNE         WATSON                       OR     44039123637
81918966551591   KARA         KRUSE                        IA     90011029665
81924424391242   KAREN        MALLORY                      GA     90008164243
81924747291532   LUIS         CARDENAS                     TX     90004417472
81925754141262   EBONEY       THOMAS                       PA     90009667541
81926199551362   AMIR         CARRENANDEZ                  OH     90006811995
81928376491525   LORENA       CORONA                       TX     90005393764
81928591697121   SHELLEY      BLAKE                        OR     44012165916
81929858685936   YAMINI       RAY                          KY     90010508586
81931462897121   ALISHA       ALFARO                       OR     90014994628
81931784481677   VICKIE       CARULLO                      MO     90007337844
81932235741262   KATHLEEN     MDANIEL                      PA     90008522357
81932374897133   MOHAMED      SHEIKHSHUEB                  OR     90010523748
81933466191975   MYSHAUN      FOGG                         NC     90008884661
81934488497138   WENDY        WELSH                        OR     44048704884
81935391272432   ASHLEY       YETER                        PA     90007443912
81935558841275   CHRITOPHER   GILMORE                      PA     90011385588
81935659951362   CHRISTINE    HARTMAN                      OH     66046726599
81935768971977   SAMANTHA     DANIELS                      CO     90014127689
81936352355945   TERESA       SALINAS                      CA     90014003523
81937494755945   PERRY        F. NOVAK                     CA     90012134947
81939714391525   LAURA        MOSTYN                       TX     75027087143
81939756747897   MARYELLEN    CHANCEY                      GA     90012827567
81942893641262   MARIA        SUPPA                        PA     51087828936
81942981551362   TRACY        LEE                          OH     90013019815
81943541691242   SARAH        FLOYD                        GA     90011705416
81943697155945   SELINA       SALAZAR                      CA     90013986971
81944141385856   ALETHEA      RUSSELL                      CA     90009161413
81944629733698   RONALD       HARRIS                       NC     90012786297
81945161385856   JESSYCA      HENMAN                       CA     90012061613
81945674761931   JOLEEN       HORN                         CA     90005646747
81945879155945   WILLIAM      JONES                        CA     90015098791
81946557877537   MICHAEL      MCTAW                        NV     90013315578
81946845797121   CHRIS        OWENS                        OR     44063018457
81947144397133   JENNA        COLLINS                      OR     90013981443
81947518651362   RAQUEL       CAMACHO                      OH     90012875186
81951355691242   JERMAINE     MILTON                       GA     90015083556
81952143555945   RUBY         GUTIERREZ                    CA     90015121435
81952287241262   ROBERT       WILLIAMS                     PA     90005192872
81952476733698   RYNESHA      GRAVES                       NC     90013824767
81952796993724   SUBLETT      RONALD                       OH     90000657969
81954514785856   ROXANNE      INDIONGCO                    CA     90013565147
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81956294297121   MICHAELA       PETERS                     OR     90001722942
81957177547897   CURRY          ALEXANDRA                  GA     90011081775
81957452897121   BORBONIO       ERNESTO                    OR     90010404528
81957762197133   MRS ROSEMARY   MARTINEZ                   OR     90004507621
81958349433698   DONNA          OUTLAW                     NC     12050603494
81959251672432   KIM            ASBURY                     PA     51087682516
81959458447822   WYKESHA        DUNN                       GA     90010894584
81959793884325   AMARIE         NOLAN                      SC     14594597938
81959956891837   SHELONNDA      BRADFORD                   OK     90013949568
81959973197133   LESHA          CLARK                      OR     90011959731
81961192771977   BRANDIE        STULTZ                     CO     90010821927
81962741841262   DALE           MOORE                      PA     51086707418
81962911791979   MAUREEN        METCALFE                   NC     90014209117
81963494755945   PERRY          F. NOVAK                   CA     90012134947
81963788897121   LIZETH         PONCE                      OR     44032027888
81963844347822   EVERETT        HARRIS                     GA     90014758443
81964788897121   LIZETH         PONCE                      OR     44032027888
81965355341275   JOSEPH         HOYLE                      PA     51022633553
81967862891837   NICCARO        COLE                       OK     90014208628
81968316284325   CRAIG          KING-PROCTOR               SC     14592833162
81968864285856   JOSEPH         HERNANDEZ                  CA     46041238642
81968995855945   REY            MORONES                    CA     90012409958
81969891161928   EVELYN         MARTINEZ                   CA     46076908911
81971954385936   CORY           HIGNITE                    KY     90010269543
81972143797121   MONSERRATH     LEYVA MENDEZ               OR     90013991437
81972789891963   CLARA          ARELLANO                   NC     90012497898
81973133771977   RACHEL         DAVILA                     CO     90014521337
81974266897138   JASON          HOGAN                      OR     90009132668
81974567141262   JOSE           GALEANA                    PA     51009565671
81976249693771   NOOK           JENNIFER                   OH     90004422496
81976784255945   TORRES         MONDOZA                    CA     90012657842
81977521147897   SHEILA         HARDNETT                   GA     14097415211
81977771397121   GARY           TAYLOR                     OR     90012237713
81977795277584   NATALIA        BUCHANAN                   NV     90009167952
81978673597138   FRANCISCO      ESPINOZA                   OR     44073626735
81978771885856   RAUL           HERNANDEZ                  CA     90014127718
81978821297121   RICARDO        CRUZ                       OR     90008548212
81979164277537   JESUS          DOMINGUEZ                  NV     90014341642
81981498691975   MARIA          CENTENO                    NC     17033324986
81982151585936   CHIFFON        ROBINSON                   KY     67007941515
81983161591525   EUGENEIA       MARTINEZ                   TX     75012501615
81987689647897   STEVEN         ROBINSON                   GA     90011406896
81988571972432   CHARLES        SHEPPARD                   PA     90010985719
81988745593723   ANDREA         VANZANT                    OH     90008527455
81988958391837   HECTOR         LUNA                       OK     90013949583
81989355697138   MELISSA        QUESADA                    OR     44054073556
81989359531433   CHRIS          AMERSON                    MO     90013373595
81989462485856   ITZAYANA       HERNANDEZ                  CA     90008634624
81991275755945   JAIME          LOPEZ-CARBAJAL             CA     90010562757
81991419885856   DOMINGO        PEREZ                      CA     46081684198
81992171471956   TRACY          MILLS                      CO     90013591714
81992731151323   HANNAH         ISRAEL                     OH     66036597311
81995235793771   ELIZABETH      DOYLE                      OH     90007422357
81995457351531   KARLA          RODRIGUEZ                  IA     90014184573
81995894291963   GREGORY        WEBB                       NC     90009618942
81996598841262   RIOL           LOPEZ                      PA     90007135988
81998281491837   ARMANDO        ALVARES                    OK     90002462814
81999567661467   MALIKA         CLIFTON                    OH     90014125676
82112252177537   SERGIO         ORNELAS                    NV     43016532521
82113346281677   DARREN         HERSHEY                    MO     90014703462
82114752781677   FLAMENCO       OLGA                       MO     29070727527
82116262361928   AMY            LEE                        CA     90013112623
82118181581627   FREDDIE        GREGG                      MO     90008491815
82118544481677   JACOB          SCHMITT                    MO     29034665444
82118824293771   ADAN           CUETO ANTONIO              OH     90012108242
82119466681627   JADA           BLEIVINS                   MO     29019214666
82119649372496   KHADIJAH       TOWNSEND                   PA     90014886493
82119787841275   SAMANTHA       PROBST                     PA     51001637878
82122162691242   TESS           OUTLAND                    GA     14511681626
82122815633698   SHERETA        SMITH                      NC     90006208156
82122931241275   KELLY          KLEIN                      PA     51073549312
82125692797138   KIMBERLY       WOO                        OR     44001226927
82126828441262   NOREEN         TREESE                     PA     90014848284
82127149297138   KRISTOPHER     STANGEBY                   OR     44025801492
82127752484325   CONELL         JOHNSON                    SC     14534487524
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82127957691979   KIRIA        MATEO                        NC     17084949576
82127979961928   ANTONIO      LOPEZ                        CA     90014579799
82129486272432   JULIA        MONROE                       PA     90013074862
82129737791979   NATASHA      HOLLAND                      NC     90005877377
82131518947822   JACQUELINE   COOPER                       GA     90012065189
82133776341262   ROBERT       RAY                          PA     90015147763
82134967781677   CHERIECE     REYNOLDS                     MO     90011669677
82136342791979   ADELE        BANAR                        NC     17015013427
82136545885936   DIANE        SULLIVAN                     KY     67052535458
82136753941262   ANTHONY      ISASKY                       PA     90014247539
82136884651336   SONJA        PHILLIPS-ANDERSON            OH     66013238846
82137351877537   CARLOS       MEZA                         NV     43059563518
82137666193771   NIKKI        REHERMAN                     OH     64572376661
82138285861983   GREG         MOE                          CA     46016912858
82138364891975   IAN          DULIN                        NC     90013923648
82138633491837   LUIS         MENDOZA                      OK     21059726334
82138835633698   JESSICA      WILLIAMS                     NC     90014758356
82139468671977   SCOTT        GOMEZ                        CO     90013274686
82139714893771   MARSHA       DAVIS                        OH     64584327148
82141928981677   STEPHANIE    ARMES                        MO     90014299289
82143535161983   DETRA        HOLLIDAY                     CA     90007245351
82144517693771   WILLIAM      BURKLOW                      OH     90003475176
82146112881677   LUCY         MAYS                         MO     90012221128
82146268447822   ALDRIA       FREEMAN                      GA     90014602684
82146297371977   DAESHA       ACEVEDO                      CO     90012952973
82147486272432   JULIA        MONROE                       PA     90013074862
82147828441262   NOREEN       TREESE                       PA     90014848284
82148745551362   CIJI         BARNES                       OH     90014267455
82148896484325   SABRINA      FADDEN                       SC     90011318964
82149816785936   SARAH        THOMAS                       KY     67016868167
82151264541275   BRANDEN      KUCICH                       PA     51039652645
82151435772432   PAM          SCHNEIDER                    PA     51039384357
82151833281627   AMANDA       WEST                         MO     90002618332
82152571341275   JAMES        ADAMS                        PA     90005225713
82154222841275   JAY          ROCCO                        PA     90013852228
82154685477366   MARTINI      MACKEY                       IL     90008726854
82155654132551   NORMA        VILLAREAL                    TX     90015096541
82155813485936   SHARON       RICHMOND                     KY     67032558134
82156449697138   ANNA         APARICIO                     OR     90015484496
82156967491837   JACQUE       ST CLAIR                     OK     90011899674
82158182261928   MARBELLA     CORREA                       CA     90011901822
82158253472432   ANGEL        FIGUEROA                     PA     90015132534
82158442671977   NICK         LUCERO                       CO     90008514426
82158872191525   GARDEA       JORGE                        TX     90009688721
82161378991837   KATHRYN      VABERBER                     OK     21086313789
82163317261928   YUVONNE      WILSON                       CA     90008543172
82164236185856   LAGUNAS      ELIDIA                       CA     46043242361
82165194851362   KRTISTA      HOLLAND                      OH     90006741948
82167454593137   CHASITY      WANNINGER                    KY     90011284545
82167867391975   FRANCINE     BRYANT                       NC     90011318673
82167889447822   INDIA        DAVIS                        GA     14092698894
82168265741275   CHRISTINA    ORWIG                        PA     90014862657
82169677481627   TAMMY        COSGROVE                     MO     90009126774
82171482291242   WILLAIMS     WAUEDY                       GA     14517374822
82174389681677   MANSFIELD    HOLMES                       MO     29003913896
82175257255931   MANUEL       GARCIA                       CA     90007782572
82176228177537   DIANA        WEBB                         NV     90008112281
82176268591979   ROBERTO      GONZALEZ MARCIAL             NC     90012482685
82176352991837   DAKOTA       GOWDY                        OK     90014813529
82176476493771   JASON        LYLE                         OH     90015104764
82177143472496   SONYA        THOMAS                       PA     90008111434
82177179184325   DEMETRIUS    WEST                         SC     14524401791
82178765672432   DARCIE       WORK                         PA     51026427656
82179944451362   REGINA       DUNCIL                       OH     66061119444
82181247333698   BRITTANY     JOHNSON                      NC     90013802473
82181485484333   HILARY       FRAZIER                      SC     90013964854
82183462885856   GUILLERMO    ARELLANO                     CA     90015094628
82183797281677   LUIS         RIVERA                       MO     90004237972
82184145684325   MARVIN       MALPHRUS                     SC     14570621456
82185145684325   MARVIN       MALPHRUS                     SC     14570621456
82185346461928   ELIAS        BERUMEN                      CA     90011293464
82185996872432   LORRIE       GALLO                        PA     51093449968
82187945961928   JESSICA      MARTINEZ                     CA     46059339459
82191179451362   SHAUNA       BROOKS                       OH     90011691794
82191797281677   LUIS         RIVERA                       MO     90004237972
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82192215777537   KEYCHELL     COOKE                        NV     43052722157
82192584991837   ZANE         TRISLER                      OK     21026295849
82193847172496   RICHARD      DITTMAN JR                   PA     90003048471
82196527581677   ANTHONY      ANDERSON                     MO     90011495275
82196539377537   NATALIE      CONTRERAS                    NV     90014865393
82197312331444   STEFANIE     MYLES                        MO     90001113123
82197657985936   MARQUIS      WASHINGTON                   KY     67088996579
82197742691975   BONITA       WILSON                       NC     90013327426
82197757877537   ANGELIA      STARR                        NV     90014357578
82198574884329   ROSALIO      RESENDIZ                     SC     90013775748
82198793291837   JENNIFER     HILL                         OK     90015037932
82211835491979   JAMES        STANLEY                      NC     90006238354
82213439581677   TAHKEEYAH    GORDON                       MO     90013404395
82216879725129   DESTINY      THOMAS                       AL     90014178797
82217455897138   SONYA        OLSON                        OR     44046314558
82219897991242   DARSHEA      YOUNG                        GA     90011648979
82222495831459   DANA         JOHNSON                      MO     90007664958
82222553151362   AMANDA       PRASSE                       OH     66039615531
82222752155956   CUCA AUTO    REPAIR                       CA     90005817521
82222857441262   REGINA       HERGENROEDER                 PA     51082228574
82226653171977   PAUL         GALLEGOS                     CO     90007276531
82227584841275   MARY         WALTER                       PA     51004445848
82228899385936   BRITTANY     THOMAS                       KY     90014368993
82233348677537   DANIEL       DE JESUS                     NV     90010283486
82234699872432   CHRISTY      SHUMAN                       PA     90009296998
82235369371977   AMANDA       KOSEK                        CO     90014843693
82235751681677   NANCY        RODRIGUEZ                    MO     90014607516
82237636793771   SEAN         HUFFMAN                      OH     64502956367
82237761131489   GENEVA       MILES                        MO     90012587611
82238719877537   PAMALA       HUNT                         NV     43051397198
82238774981627   CALINA       STARNES                      MO     90006357749
82239254141262   LYDA         WARE                         PA     51085642541
82241553485856   DONNIE       MAGAN                        CA     46078735534
82242633191525   EMILY        BUENO                        TX     90007316331
82242681572496   JACOB        KARENBAUER                   PA     90012246815
82243953233698   FREDDIE      CORNELIUS                    NC     90001629532
82243975671977   HURLEY       SAMMON 3RD                   CO     90009949756
82246793681627   PAYGO        IVR ACTIVATION               MO     90014767936
82247352951362   ASHLEY       GALLENTINE                   OH     90011693529
82248476347822   NICKIE       SIMMONS                      GA     90005944763
82249818677537   SAMUEL       AMANKWAH                     NV     90012608186
82252154791837   ROBERTO      JUAREZ                       OK     90012101547
82252394833698   SARAH        BULLOCK                      NC     90007413948
82254413697138   KODEY RAY    HAUGHT                       OR     90014844136
82254663747822   TIA          LATTIMORE                    GA     90014616637
82255823381677   DENISE       VAUGHN-BEY                   MO     90009918233
82256663447822   WHITNEY      LOWDER                       GA     14027966634
82257161841262   SARENE       FOSKEY                       PA     51000971618
82257261691975   CHRISTINA    HARDIN                       NC     17060642616
82257845791979   VICTOR       ZACARIAS                     NC     90010508457
82258484781677   LAQUANTA     ROSS                         MO     90013744847
82258496472432   RICHARD      GRAY                         PA     90006044964
82258689791868   RODERIC      JEFFERIES                    OK     90013596897
82259868772432   BOBBI JO     TURNER                       PA     90012688687
82259992851362   CESAR        ZAMORA                       OH     90014179928
82261159241262   TANIS        KANISH                       PA     51036121592
82262389672496   JOSEPH       DIMAGGIO                     PA     90013253896
82263175572432   CINDY        HARRISON                     PA     90010931755
82263196384325   HEAVEN       GREEN                        SC     90007261963
82267828447822   MARTINA      SMITH                        GA     90014618284
82271451885856   TREVORE      HUMTHREY                     CA     46021854518
82272467885936   LELAND       HOLLIS                       KY     90001894678
82272823381677   DENISE       VAUGHN-BEY                   MO     90009918233
82273375472432   CHARLES      HANNING                      PA     51081053754
82273973631621   JEREMY       BLITZ                        KS     90008609736
82275947533698   JAYSON       NOWLIN                       NC     12090239475
82276284741275   DEBRA        NIXON                        PA     90012702847
82276999271977   SHAYLEA      BACHICHA                     CO     90012409992
82277258791975   GALINDO      MORALEZ                      NC     90006172587
82277429681627   ANGELA       GUY                          MO     90010274296
82278758691975   STEPHANIE    MILLER                       NC     90003987586
82278785191893   BILLIE       ENSCOE                       OK     21004727851
82278992485936   ADRIAN       SMITH                        KY     67057559924
82279114441262   QUIANA       KEARNEY                      PA     90004811144
82279629597138   LISA         ASHTON                       OR     90014976295
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82279714481677   MICHAEL          CLEMONS                  MO     90013347144
82281246747822   TRACEY           ELLEN                    GA     90014622467
82282175277537   GINA             CABELLO                  NV     90014341752
82282234381627   JAMES            MCDANIEL                 MO     90014402343
82284123451334   CRYSTAL          LUKE                     OH     90006031234
82284458481666   CANDACE          RUFFIN                   MO     90013524584
82284697733698   DANIEL           YOUNTS                   NC     90013136977
82285354241262   LONZO            BOYCE JR                 PA     90014113542
82285469893771   BENJAMIN         BOYD                     OH     90012994698
82286129672496   LORENA           DEJESUS                  PA     51070261296
82286345881627   CATHENIE         THOMPSON                 KS     90011073458
82286478555931   MARIA            SALAS                    CA     90006514785
82286676193137   KENNETH          STERLING                 KY     90014316761
82286736985936   MANUEL           BERNARDINO               KY     90002447369
82287724381627   GEORGE           DOHERTY                  MO     29092817243
82288489971977   HEATHER          VANBUSKIRK               CO     90014824899
82288748793783   SHANNON          MCNARY                   OH     90010327487
82288824293766   LACY             WALKER                   OH     90006938242
82289357672432   SONNY            HECKATHORNE              PA     90011713576
82289599181677   LISA             WHITE                    MO     90009095991
82292265571977   AMBER            ROMERO                   CO     90014932655
82292445851362   NICHELLE         FRAZIER                  OH     90012874458
82293539247822   GREG             MOORE                    GA     90014625392
82293617184325   AUNDREA          WATSON                   SC     14526406171
82293663877537   GREGORY          GRANADOS                 NV     43081526638
82293849771977   DERRICK          ESQUIBEL                 CO     90009468497
82293939193771   ANDREA           ISHAM                    OH     64524789391
82294889671977   MARISOL          STEWART                  CO     90010928896
82295347691975   ANGEL            MUNDO                    NC     17024323476
82296977851362   DONALD           PACK                     OH     90003409778
82298323351362   LATOSHA          BLACK                    OH     90009103233
82298798477537   CAROLINE         AZCARATE                 NV     90014177984
82299397691979   DENISE           WILSON                   NC     90008593976
82311318372432   RACHAEL          FOLEY                    PA     90014763183
82311466685936   BRYAN            ALCARAZ                  KY     67066084666
82311552997138   RYAN             VANDERBECK               OR     90012345529
82311958941275   BEVERLY          FREEMAN                  PA     90013189589
82312545181627   MARGARITA        HERRERA                  KS     90011455451
82313619733698   CHERRIE          ROBINSON                 NC     12087976197
82313764291242   JOHNETTA         OUCKY                    GA     90009017642
82315196591837   SLVESTRE         SERRANO                  OK     90014751965
82315236671977   STACY            MARQUEZ                  CO     38073782366
82315592341275   STACI            HUSAK                    PA     90012565923
82315619281627   MISTY            BECHTOLD                 MO     29002186192
82315669241262   KAREN            VOS                      PA     90000576692
82316299933698   SONYA LAWSHAWN   BURGIN                   NC     90006712999
82318191191979   LAKEESHA         CULBRETH                 NC     90010651911
82319988391242   AURORA           SARINANA                 GA     14578709883
82321541472432   DENISE           ELLIS                    PA     90014395414
82321614536121   SHUMURA          JOHNSON                  TX     73501376145
82322189241262   JENNIFER         MANSON                   PA     90011101892
82322367741275   MINDEL           ST JOHN                  PA     90007503677
82323643172496   CHRIS            WINGO                    PA     90011416431
82323828285936   ANTHONY          HUMBER                   KY     67085128282
82324522781677   CYNTHIA          CABALLERO                MO     90007995227
82324784481627   LIEETH           MUNGUIA                  MO     90012167844
82325867481627   DAMIOND          CARR                     MO     29050138674
82326131433698   EMEST            FOX                      NC     90000731314
82326185777537   FLOYD            STEWART                  NV     90012281857
82326546361928   IRMA             AGUSTIN                  CA     90012185463
82326561461928   SERGIO           GUIDO                    CA     90012715614
82326585472432   KIMBERLY         JOHNSON                  PA     51085505854
82327934641275   CHANDRA          THAPA                    PA     90013839346
82328166261557   PAYGO            IVR ACTIVATION           TN     90014151662
82329276977537   EVERARDO         GONZALEZ PRECIADO        NV     43076282769
82329632161928   GUADALUPE        LEANO                    CA     90010726321
82331399872432   ROBERT           SKEEN                    PA     51089213998
82332161961928   ERIKA            GONZALEZ                 CA     46006081619
82333155897138   JOHN             BURNS                    OR     90013561558
82337482697138   SIXTO            GONZALEZ                 OR     90012404826
82337824747822   TIA              CUMMINGS                 GA     90014628247
82338574785936   DONNA            COTTINGHAM               KY     67076985747
82338659781627   RONDA            LUTHER                   MO     90005416597
82339257841275   MICHAEL          CAHILL                   PA     51080312578
82339334561928   JUAN             OCHOA                    CA     46084773345
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82339341391975   CHERYL       DAVIS                        NC     90013383413
82339698672432   MARY         GLENDENNING                  PA     51023666986
82342627947897   MARVIN       WELLS                        GA     14088656279
82342863941262   JETTERA      WADE                         PA     51011728639
82343257533698   RONALD       HAYES                        NC     90014482575
82343435491975   KAREN        DAVIS                        NC     90013204354
82343832771977   BRANDON      NELON                        CO     90005988327
82343878741262   SHEILA       STENHOUSE                    PA     90011048787
82346113491242   SHEENA       COUNTS                       GA     90013981134
82346473177537   DANIEL       GONZALEZ                     NV     90014594731
82346587541262   DONOVAN      ADAMS                        PA     90011815875
82348589725151   ZACH         CRUIT                        AL     90015355897
82348796785962   DAVID        MURPHY                       KY     90004177967
82349192741275   SANDY        NIGGH                        PA     90014841927
82349795391975   MOUHAMADOU   BEYE                         NC     90008437953
82352316633698   HAZEL        FORNEY                       NC     12088623166
82353363191979   ROY          SHEALEY                      NC     90012113631
82353366872496   PAYGO        IVR ACTIVATION               PA     90014133668
82353564772496   TIMOTHY      FOLLSTAEDT                   PA     90013925647
82354134851362   CYNTIA       RAMIREZ                      OH     90014181348
82354952641262   LISA         DAVIS                        PA     51072869526
82354992771977   MARIA        LUCERO                       CO     38092539927
82355134851362   CYNTIA       RAMIREZ                      OH     90014181348
82355852681627   KAMM         WURTZ                        MO     90011108526
82356751233698   SHAVONNA     WILLIAMSON                   NC     12033507512
82357222333655   NICK         ABUKHALAF                    NC     12063242223
82357833684325   KIMBERLY     WEST                         SC     90010568336
82358866772432   RANDY W      HAUGHT                       PA     90012528667
82363324485856   GABRIELA     JAMES                        CA     90009173244
82364388281677   DONOVAN      LATHON                       MO     90002963882
82364726591979   CLARENCE     BURNETT                      NC     90010287265
82366661181677   SAMUEL       INMAN                        MO     90007996611
82366935651362   ELIZABETH    DUNCAN                       OH     66039669356
82367981461928   ROSALVA      GUERRERO                     CA     90014589814
82368112641275   WILLIAM R    HILLEBRECHT                  PA     90013631126
82368289191837   CARLA        GABRIEL                      OK     21022522891
82368488193771   DANEIL       FUESTON                      OH     64551284881
82368964547822   CATRINA      EVANS                        GA     90012949645
82371696977537   JONATHAN     KOSKOVICH                    NV     90014516969
82372546991525   IMELDA       REVELES                      TX     90001365469
82373246177537   ERVIN        TAYLOR                       NV     90012372461
82374859272496   SAMANTHA     GOEPFERT                     PA     51063858592
82376475785856   CRYSTAL      HYLES                        CA     90013054757
82376929872496   NICOLE       ADAMS                        PA     51096569298
82377444891242   RAYMOND      MEDLOCK                      SC     14585074448
82378224771977   MARY         MARTINEZ                     CO     90007862247
82378548885856   SERGIO       PINA                         CA     46061695488
82379424172432   RHONDA       MORRIS                       PA     90015004241
82381329584325   DAVID        GOMEZ                        SC     14544443295
82381483291837   DAVID        WALLIS                       OK     90009334832
82381753877537   ALICIA       RUBIO                        NV     90009167538
82383259485936   CHRIS        CRUMBAKER                    KY     90012642594
82383885641262   CASSANDRA    WALKER                       PA     90011048856
82383971641262   STEPHANIE    RESSLER                      PA     90014599716
82384165281627   KRISTI       ARNDT                        MO     90007931652
82384555297138   HOPE         BUNDY                        OR     44092405552
82385618847822   RACHEL       JACKSON                      GA     90014406188
82385838781627   LILLIAN      MANS                         MO     29070268387
82387412685936   TERRENCE     DALTON                       KY     90005004126
82387598951362   ANGEL        MENDOZA                      OH     90014945989
82387599472432   JEFF         TRYBEND                      PA     90012905994
82388142277537   CODY         ROGERS                       NV     90012651422
82388151991547   BETO         REYES                        TX     75040171519
82388291672432   JEFFREY      CELLA                        PA     51061752916
82388953291837   LASHONDA     RANDOLPH                     OK     90012569532
82389494972496   ROCHELLE     GOETZ                        PA     51092284949
82391672691975   JUANITA      BELLAMY                      NC     90000616726
82392264541275   TOMMIE       PRICE                        PA     51083062645
82393184961928   SALLY        KING                         CA     90014881849
82393232771977   JANET        VASQUEZ                      CO     38079382327
82393417377537   STEPHANI     SIFUENTES                    NV     90002604173
82393615733698   ONEIL        FRANCIS                      NC     90011146157
82394979885936   DARRELL      CHAPMAN                      KY     90010599798
82396662561928   CHERA        DAVIS                        CA     90011296625
82398255181677   ADAM         EVINGER                      MO     90007442551
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82398518551362   SHAUN        SEYMORE                      OH     66045695185
82398713872496   SHIRLEY      MCMANUS                      PA     90010107138
82411121897138   CALLAVINNA   SIMONS                       OR     90000401218
82411135885856   JOHN         DEROVEN                      CA     90012691358
82411512941262   KIMBERLY     HICKS                        PA     90013925129
82412133947822   JAMES        LAWRENCE JR                  GA     90014631339
82412435984325   DONTAE       DAVIS                        SC     90011214359
82412816197138   ROMAN        CANO                         OR     90014898161
82415858385936   ANN          THROCKMORTON                 KY     90013448583
82416435561928   OLYMPIA      SERRANO                      CA     90002324355
82417332841262   LAWRENCE     JACKSON                      PA     90014373328
82417616781677   LORI         DAVIS                        MO     29097436167
82417826293771   JULIE        COLEMAN                      OH     64559868262
82423497447897   KEYSHA       HARRIS                       GA     90010794974
82423573481627   KATIE        COONS                        MO     90013205734
82424639185856   JESSE        MORRIS                       CA     90004406391
82425464947822   LISA         CHAPMAN                      GA     90010354649
82426466647822   BRANDON      JOHNSON                      GA     90014634666
82426635551362   BEN          GREEN                        OH     90013156355
82427224377537   KARINA       ORELLANA                     NV     90012982243
82427324572432   BRYAN        ASBURY                       PA     51066773245
82427438861928   MARTIN       ARREDONDO                    CA     46016234388
82427685693776   MELANIE      RILEY                        OH     66068736856
82428269433698   KRISTIE      RICE                         NC     90003932694
82428989541262   RONALD C     COLEMAN                      PA     90007349895
82429643991979   HUGO         SANCHEZ                      NC     90012706439
82431858351362   BRANDON      KLEIN                        OH     90008078583
82432751981627   AMBAR        LARA                         MO     90007297519
82433158941262   KARL         JOHNSON                      PA     51007431589
82433635551362   BEN          GREEN                        OH     90013156355
82433648491837   VALERIE      BOWERS                       OK     90010986484
82433736741222   DELICIOUS    JONES                        PA     90012287367
82433842881677   DEBRA        MORGAN                       MO     90012238428
82434592471977   TAYLOR       SANDOVAL                     CO     90013265924
82434736741222   DELICIOUS    JONES                        PA     90012287367
82435817891837   TOMAS        BECERRA                      OK     90014088178
82437356481643   KRISTY       BRUNSON                      MO     90010123564
82437427181677   DANIEL       IVAN                         MO     90011674271
82438275597138   SHERRY       FLORES                       OR     90008862755
82438413591525   LUCIA        OLIVAS                       TX     75012744135
82438623781677   GLADYS       HAMILTON                     MO     90014236237
82439183671977   NANETTE      MONTANO                      CO     90008741836
82439637981677   TIMOTHY      LEBERMANN                    MO     90010086379
82442184341275   DAVID        SWIECH                       PA     90002451843
82442384493771   AL-LMARRIA   COLLINS                      OH     90015463844
82442949177537   ODAYE        RAMONA                       NV     90004899491
82443721571977   REBECCA      MONTEZ                       CO     90006807215
82443734781677   JEREMY       BARNETT                      MO     90014957347
82445317284325   MELLISSA     CARMICHAEL                   SC     90011113172
82447924941241   BILL         SINAGRA                      PA     90001379249
82448671841262   NICOLE       MARSHALL                     PA     51098696718
82448829593771   DARRIN       BOSWORTH                     OH     90012208295
82451831793771   NICOLETTE    PURCELL                      OH     64595578317
82453276791975   QUINCY       M ADOU                       NC     90015092767
82453899177537   VIOLETTA     RABORN                       NV     43071478991
82454964851357   CARI         IVES                         OH     90008359648
82455336181627   DAVID        HERNANDEZ                    MO     90012493361
82456562185856   JEFF         LEGGITT                      CA     46034465621
82456788133698   IRIS         LOPEZ                        NC     12013737881
82459381681627   MARIA        TREVINO                      MO     90014843816
82461872981627   ANGELA       MORALES                      MO     90001008729
82462154441275   CELESTE      BLACK                        PA     51058341544
82462485571977   KAY          JAMISON                      CO     38070874855
82464775272432   ZAYVRE       ACEL                         PA     90012907752
82465377972432   ELIJAH       YARBROUGH                    PA     90014893779
82466639291242   SELINA       DAVIS                        GA     14575976392
82466847393771   NATHANIEL    SHINGLETON                   OH     90006388473
82466932281677   MYNESHA      MYERS                        MO     90014639322
82473654691837   TRINA        MARSHALL                     OK     90010986546
82475385533698   IAN          BLACKWELL                    NC     12090243855
82475463991837   NIANG        DIM                          OK     90012944639
82475937797138   BRITTNYE     DAWN                         OR     90008909377
82476183781627   STEVE        STONE                        MO     90015461837
82477784791975   SHEA         BETHEA                       NC     90013257847
82478189433698   STEPHAN      CHRISTOPHER                  NC     90013921894
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82478439685936   WILLIE         JOHNSON                    KY     90011604396
82478533985856   MARIA EDITH    HERNANDEZ                  CA     90012485339
82479712771977   TONI           WODIUK                     CO     38042417127
82479782291242   PAUL           ARKWRIGHT                  GA     90003707822
82479914541249   MEGAN          WERNER                     PA     51092569145
82481378781677   JAVON          JONES                      MO     29052723787
82485329281627   ESHDA          BEAST                      MO     90013963292
82486629285856   SPANKY         MUNOZ                      CA     90015076292
82486884491523   JOSE           TREVINO                    TX     90011078844
82487182257128   LUCRETIA       BOYD                       VA     90008861822
82488334551362   COLLEEN        SWEENEY                    OH     90012803345
82488559541275   TIFFANY        SMITH                      PA     51079355595
82491211561928   BEATRIZ        CARRANZA                   CA     46060012115
82491338641262   TRACI          HELFRICK                   PA     51063483386
82491569641275   PATRIC         HUMMEL                     PA     90009315696
82492236272432   KRISTOPHER     HARTLEY                    PA     90000522362
82492589184333   EDUARDO        DE LA VEGA                 SC     14576215891
82493136772432   LLOYD          WOODS                      PA     90013591367
82493281397138   JESUS          ROLDAN                     OR     44011432813
82493465741262   KRYSTA         YUHASCHEK                  PA     90002524657
82493889961928   JOEL           MERAZ                      CA     90013698899
82494352841275   JOSHUA         THORNTON                   PA     90010013528
82495192747822   BRANDY         ROBINSON                   GA     90012271927
82495248591979   DACIA          THOMPSON                   NC     90011382485
82496455351362   SANDRA JANET   CHACON                     OH     90015154553
82496534647822   ALEXIA         JOHNSON                    GA     90011535346
82496554891525   BRENDA         BETANCE                    TX     90001705548
82498128685856   JUAN           GUERRERO                   CA     46013241286
82498326551362   ELSA           CHAVEZ FIGUEROA            OH     90014183265
82498998991525   ITZEL          TORRES                     TX     75091079989
82499391885856   ANDRE          MORENO                     CA     90006373918
82499552991979   KIMBERLY       POWELL                     NC     17068505529
82499985141262   CHERYL         PASKEVICH                  PA     51021569851
82512591172432   CARRIE         SHOEMAKER                  PA     90012995911
82513164877537   GABRIELA       CORDOVA                    NV     90011931648
82513334172496   NICHOLAS       PAPPAS                     PA     90014623341
82513663947822   ANGELA         MULVEY                     GA     90011046639
82514872741275   JAMIE          BOWER                      PA     51070648727
82514894471977   JESSICA        MAXWELL                    CO     38033648944
82515151471977   KELLIE         GOAD                       CO     90015471514
82515793551362   JOSE           GALAN                      OH     66057037935
82515933491242   KENNETH        CARR                       GA     90003579334
82516429677537   JOSHUA         WILCOX                     NV     90014824296
82517154477537   HERMINIO       ACADEMIA                   NV     90010921544
82518785341237   LANA           RANDALL                    PA     90012257853
82519426691979   WILSON         ROMERO                     NC     90001124266
82521219391975   VICKI          SANDERS                    NC     90014042193
82521234193771   ASHLY          COIFFORD                   OH     90010092341
82521661391837   MICHELLE       BARNETT                    OK     90010986613
82521939184325   CEDRIC         BUSH                       SC     90011299391
82521991963628   ANDREW         JEPSEN                     MO     90013069919
82522248685936   GREG           FLORA                      KY     90009172486
82522833572432   DARLENE        DARRALL                    PA     90012998335
82523561961928   OFELIA         VARGAS                     CA     90000675619
82524892191975   BIANCA         SMITH                      NC     17048818921
82525265381677   RICHARD        GILBERT                    MO     90007442653
82528329771977   MANDY          LEYBA                      CO     90013503297
82528342791979   ADELE          BANAR                      NC     17015013427
82528455351362   MISTY          FISCHER                    OH     90008594553
82528772891975   THOMAS         ALLEN                      NC     90014317728
82528921171956   JOSEPH         NAVARA                     CO     90006919211
82529915797138   JOSE           ISIORDIA                   OR     90015119157
82531347751362   ANGELIA        PERNELL                    OH     90014183477
82531888985936   ANGELA         MASSIE                     KY     67006038889
82532253691525   MARTHA         KRILING                    TX     75075792536
82533767541275   TEJON          PAGLIALONGA                PA     51045227675
82534346733698   JESUS          NARANJO                    NC     90007073467
82535122671977   BRIAN          JOHNSON                    CO     90012001226
82535369851362   DOVIE          HICKMAN                    OH     90014183698
82536189372496   CHARMAIGNE     TACK                       PA     90011871893
82536312791242   RALPH          STAIR                      GA     14587653127
82537972751362   JAY            TRAMMELL                   OH     90014539727
82538472771977   ANTHONY        LUCERO                     CO     90015564727
82538732147822   TIERRA         STARLING                   GA     90005837321
82538984841275   ANTONIO        HIPPS                      PA     90010659848
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82539711491242   KIMBERLY     WILLIAMS                     GA     90002777114
82541613493771   SARA         SMITH                        OH     90008166134
82541724372432   JEFFREY      HAMILTON                     PA     90001877243
82542385751362   LOWES        MIAMORE                      OH     90014183857
82543229693771   DUSTIN       ADAMS                        OH     64509772296
82543265733698   JAMES        ALSTON                       NC     90011382657
82545634451348   MBAYE        GUEYE                        OH     90011336344
82547441577382   SHARON       LIGGINS                      IL     90014694415
82549447347822   LADOVIE      BOWER                        GA     90013034473
82549536777537   JONATHON     WIEDERHOLD                   NV     90013895367
82551369851362   DOVIE        HICKMAN                      OH     90014183698
82551878691979   ARACELI      RIVERA                       NC     90012698786
82552147197138   JAIME        GARIBAY                      OR     90008991471
82552746491525   PATRICIA     PORTILLO                     TX     90007917464
82552778185856   HERIBERTO    NAVA                         CA     46027967781
82552829185936   LEESA        TACKETT                      KY     67021588291
82553325872432   LAUREN       LAWTON                       PA     90012553258
82553653481677   JARED        GOULDSMITH                   MO     90014626534
82554359493771   CRAIG        REED                         OH     90012313594
82554793291975   TERWUAN      MOORE                        NC     90010947932
82555771751362   SHAWN        HERRON                       OH     66059707717
82556697791979   CHARLES      PARKER                       NC     17072746977
82557248461928   RACHEL       UGARTE                       CA     90007242484
82557368591979   SHAMIA       KING                         NC     90012283685
82562721971977   JACKIE       BURROWS                      CO     90014887219
82563297991837   VALERIAN     RILEY                        OK     90009132979
82565367741262   DWON         HATCHER                      PA     90012913677
82567298961928   OFELIA       AGUILAR                      CA     46053012989
82567732847822   J            JOHNSON                      GA     14085597328
82568423371977   IRENE        MARTINEZ URBINA              CO     90013204233
82568664561928   HECTOR       GONZALEZ                     CA     46072536645
82568993491979   KIMBERLY     HOLLY                        NC     90011389934
82569547551362   LAURI        RAMIREZ                      OH     66005635475
82569792172432   JENNIFER     WALLACE                      PA     51065867921
82573313591979   KAREEM       RAHMAN                       NC     17014463135
82573679677537   ANA SILVIA   RODRIGUEZ                    NV     43010186796
82573777291242   PATRICIA     SWAN                         GA     14571547772
82574523747822   VANZETTA     BEARD                        GA     90014655237
82574554591837   PAMELA       MARTINEZ                     OK     21007295545
82574628447897   VONDA        REYNOLD                      GA     90001316284
82574732997138   MARISELA     GARCIA GARCIA                OR     90001197329
82575149485936   TYLER        ADAMS                        KY     90013981494
82576834985936   FRANK        HENSON                       KY     90012948349
82577177271977   HEIDI        PRICE                        CO     90009601772
82577291561928   JASMINE      SANTOS                       CA     90007742915
82577659272496   KRISTY       PETERMAN                     PA     51043046592
82578822951357   TIFFANY      METTS                        OH     90012628229
82579344291837   EDIEL        AGUILAR                      OK     90006333442
82579764785936   CAITLYN      SHELTON                      KY     90013697647
82579955591893   JUAN         ANTUNEZ                      OK     90006389555
82581316372432   VIRGINIA     STOCK                        PA     51059243163
82583117871977   BRUCE        BURTON                       CO     38026061178
82583835191837   JASMINE      YOUNGER                      OK     90009078351
82583859947822   ALISH        GORDON                       GA     90001418599
82584756677537   MARIA        ALVARADO                     NV     43052617566
82585412551531   KAREN        WEBBER                       IA     90015374125
82585414472496   ASHLEY       GEORGE                       PA     90008444144
82585543151362   DOLORES      TURNER                       OH     90014185431
82585859884325   AMY          WADE                         SC     90010778598
82586875871977   JOANN        BOYES                        CO     38053528758
82587339281669   DEAUN        HOPKINS                      MO     90014853392
82587972171977   JOSEPH       ALLIE                        CO     38056639721
82589454791975   AVIAUNCE     HOLLOWAY                     NC     90012594547
82591456291837   BRENT        SLOAN                        OK     90014834562
82591865572496   DAVID        YOUNG                        PA     90013948655
82592175291837   MELINDA      BROWN                        OK     90011381752
82595571961934   MANUEL       SERRANO                      CA     90012455719
82595841781677   ELIZABETH    KING                         MO     90015158417
82595967951362   PHILIP       MCDONALD                     OH     66095509679
82596137797138   ARIADNA      MENDEZ                       OR     90013811377
82596148391975   JOEL         MORALES                      NC     90013841483
82599635185856   AIOTEST1     DONOTTOUCH                   CA     90015116351
82612698151348   ISIAH        BINES                        OH     90010596981
82612814881627   CAROL        BRITT                        MO     29032858148
82612964871977   KERENSA      MATHEWS                      CO     90015469648
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82612999181677   STEVEN        RAY                         MO     90014359991
82613848872432   MICHAEL       ALLAN                       PA     51029858488
82614852847897   AMBA          BAXTER                      GA     90009248528
82614982233633   TERRANCE      GAITHER                     NC     90007079822
82615211385936   MIRANDA       CUNNINGHAM                  KY     90013002113
82616831593771   AARON         WESTFALL                    OH     90009458315
82617156393771   RAYMOND       COLLIER                     OH     90004951563
82617683484325   ROBERTO       RAMIREZ                     SC     90001056834
82619251591979   MARVIN        RIVERA                      NC     90009592515
82619594347822   DANESSA       ALSTON                      GA     90006445943
82619741485924   LISA          HISLE                       KY     67087977414
82621866291979   LASHONDA      TUCK                        NC     90010868662
82622833641262   MELANIE       RILEY                       PA     90014848336
82623931691979   TIFFANY       CLIFTON                     NC     90013419316
82625465961943   PAMELA        MORGAN                      CA     90004944659
82626525471977   WILLIAM       SMITH                       CO     90011605254
82626965491837   SERGIO        LANDEROS                    OK     21050959654
82627334347822   EDNA          COLEY                       GA     14089813343
82628847491837   VICKY         JOHNSON                     OK     90001798474
82631993991975   SHARLETTA     WHITAKER                    NC     90012649939
82632196341275   THOMAS        PEZZANO                     PA     51094281963
82632662291979   VELDA         INGRIAM                     NC     17038356622
82633982947822   MELANCE       FOWLERS                     GA     90007899829
82634827893771   STANLEY       GREENE                      OH     90013678278
82636439872432   TY            HANNA                       PA     90015004398
82636449685936   DARION        WAITE                       KY     90014534496
82637129141262   RYAN          MASSIE                      PA     51097471291
82637552447822   LATREY        JOHNSON                     GA     90014675524
82637695951362   CHRISTOPHER   PRESTON                     OH     90013156959
82638119585856   AERIAL        BOURGEOIS                   CA     90014951195
82638817993771   CORNEIL       ATKINS                      OH     90012308179
82641142672496   LISA          HARRIS                      PA     51048521426
82641653972432   PAULA         WARNICK                     PA     51005246539
82642655433698   JERMAINE      A. EVANS                    NC     12097166554
82643825781677   STEVE         BOCKSHAMMER                 MO     90011678257
82644617181627   JAMILA        GEORGIS                     MO     29070906171
82645116191975   LEYDA         MONTOYA                     NC     90014481161
82645899577537   BEATRIZ       GUERRERO                    NV     90012898995
82646469991979   HENRI         BALITZKI                    NC     90015044699
82646794441251   SUSAN         EHMER                       PA     51036467944
82647123791979   SHONDA        DIVA                        NC     90005361237
82647159647897   LAWANDA       MCCOY                       GA     14024361596
82648396791837   DOMINIC       CHEEK                       OK     90013963967
82648742433698   ALLEN         MCCRAY                      NC     12082197424
82648833641262   MELANIE       RILEY                       PA     90014848336
82649292841275   ROBERT        REESE                       PA     90007112928
82649861833698   BRODRICK      WAGNER                      NC     90010468618
82651547661928   RAYRANDA      JEFFERSON                   CA     90014005476
82651676191837   JIMMIE        GRODEN                      OK     90014636761
82651722341275   KENNETH       RHODES                      PA     90012187223
82653459891837   ADAM          UNDERWOOD                   OK     90014834598
82653888772432   JUSTIN        PHILLIPS                    PA     90000538887
82654442685856   ARMANDO       CABRERA                     CA     90014924426
82654462691975   TAYA          HOLDER                      NC     90008464626
82656211185936   TERRI         TIMBERMAN                   KY     90013962111
82656338447897   FELECIA       JAMES                       GA     90010123384
82656653291975   KASSANDRA     GUZMAN                      NC     90014066532
82657249541262   KAYLA         WALLACE                     PA     90014692495
82657462691975   TAYA          HOLDER                      NC     90008464626
82657619171977   JULIE         HOBGOOD                     CO     90005346191
82658543685936   DAISY         CAMPBELL                    KY     90001215436
82658573291837   CORINICE      WILSON                      OK     21085215732
82658934733698   KEISHA        MILLER                      NC     12052949347
82659421891979   CHAD          ASHBY                       NC     90014884218
82659525747822   MARTIA        LEE                         GA     90012665257
82661154851362   LESLIE        THOMPSON                    OH     90013031548
82661448461928   KUMIKO        WARNER                      CA     90009304484
82662734171977   JESSE         RODRIGUEZ                   CO     90015587341
82663187271977   JOE           ESQUIBEL                    CO     90003121872
82665463171977   CIRLIA        GALLARDO                    CO     90008604631
82665545372432   ELIZABETH     KLAUS                       PA     90014835453
82666516585936   ROBERT        BRANNON                     KY     90009655165
82666768497138   LIBRADO       AGUILAR FLORES              OR     90002767684
82667255741275   TERRY         BOHNER                      PA     90003742557
82667583284336   CHRIS         SATURDAY                    SC     90010585832
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82667639172496   ANGELA           ROBISON                  PA     51093466391
82667673372432   KATIE            SPARA                    PA     51027186733
82667697491975   ROSA             CRUZ                     NC     17059686974
82668114984325   HERLEN           MALBONABO                SC     90011471149
82669627385936   VANESA           MARTINES                 KY     90006996273
82669897881627   DEHUIZ           MARTINEZ                 MO     90012048978
82671973285856   LUIS             HERNANDEZ                CA     90002759732
82672225261928   DAVID            MAGANA                   CA     90006232252
82672542247822   RICKY            WALLDEN JR               GA     90012655422
82672993891979   CESAR            VAZQUEZ-CASTILLO         NC     90011369938
82674581472496   NOELLA           LITTLEJOHN               PA     51060095814
82675412485856   OYA              GUNAYDIN                 CA     90015024124
82675554477537   DANYAL           WICKER                   NV     90014715544
82675723541247   LOUIS            MILAN                    PA     90011867235
82676758672496   ARAMI            SWEENEY                  PA     51096617586
82677362585936   CYNTHIA          ISAACS                   KY     90012883625
82677372951362   SAMANTHA         IRWIN                    OH     90011713729
82677433281627   EBONY            GARRISON                 MO     29067464332
82678216785936   CLAUDIA          AYALA                    KY     90010412167
82678264825151   RANDOLPH         THOMAS                   AL     90015082648
82678323941275   THERESA          CIPICCHIO                PA     90004783239
82678346593771   MILESHA          GILLIAM                  OH     90008123465
82678477681627   MARIA            IBARRA                   MO     90012524776
82678632371977   ALEJANDRA        PEREZ                    CO     90011416323
82679276661928   SARATH           MARCUS                   CA     46084592766
82679326333655   OLIVIA           DICKENS                  NC     90009143263
82679527547897   DARRELL          GREENE                   GA     90010305275
82681432791837   DAVE             ABUEL                    OK     90000184327
82681547881677   APRIL            STONE                    MO     90013515478
82684823391525   BRENDA           SILVA                    TX     75091578233
82684887777537   YERENIA          RODRIGUEZ                NV     90001508877
82684943893771   DONNECHIA        LLOYD                    OH     90013719438
82685112191242   JOHNY            WILLIAMS                 GA     90004401121
82686168884325   SHIRLEY          STEWART                  SC     90008781688
82686219141275   ARTHUR           PHIRI                    PA     90008502191
82687224133698   SAMUEL           TEMICH URIETA            NC     90013012241
82687645447822   ARIEL            MCCLINTON                GA     90014696454
82688414831471   FUCC NALL        KNO DAT                  MO     90008584148
82688489272496   MARK             IARRRAPINO               PA     90008444892
82688759985856   RACHAEL          MURRAY                   CA     90014927599
82688944391242   JUSTIN           SHEFFIELD                GA     90003619443
82689345961928   HUSSEIN          ABDIKADIR                CA     46006283459
82689414891837   JUSTIN           NEAL                     OK     21084124148
82689977671977   STORMY           BALLOU                   CO     90005169776
82691149851362   KEVIN            MCFERRON                 OH     90013031498
82691368191837   ROY              KRAUSE                   OK     21095773681
82691381447822   CARLTON          JONES                    GA     90014883814
82691825581677   MIKE             SMITH                    MO     90014688255
82692521191979   JAQUELINE        COX                      NC     90013435211
82692832841262   MARLENE          THROWER                  PA     51025878328
82693251484325   RUTH SHAQUETTA   LEE                      SC     90009992514
82693272951362   ASAEL            CRUZ                     OH     66042232729
82693393591975   CRYSTAL          RICHARDSON               NC     90008483935
82693673693771   SHANNON          WALDRON                  OH     90013936736
82694327281627   FRANKLIN         BARAHONA                 MO     90015333272
82696623781677   GLADYS           HAMILTON                 MO     90014236237
82696655693783   BRITTNET         CHAFIN                   OH     90008886556
82696782333698   HEATHER          SMITH                    NC     90009037823
82697928785936   BARBARA          SMITHSON                 KY     90005959287
82698712941262   DIANNNA          PATTERSON                PA     90005207129
82698929651362   RANDALL          TRISEL                   OH     90012069296
82698957185856   WAYNE            PEIRCE                   CA     90015199571
82699545351362   KRYSTAL          COLLINS                  OH     66049395453
82699898247822   JESSICA          TOOMER                   GA     90014698982
82699922281677   JASON            HOWERY                   MO     90013439222
82711396185856   KEVIN            MOREFIELD                CA     46033503961
82711791141275   JUSTIN           EDWARDS                  PA     90013347911
82712482751362   MICHELLE         HENDERSON                OH     90011714827
82713987985856   MELISSA          RODRIGUEZ                CA     90012699879
82715547681677   ALFREDO          LUIS                     MO     90012675476
82715597393771   LINDA G          HOWARD                   OH     90009475973
82715968341262   AMRIT PAL        SINGH                    PA     90014789683
82716743285936   GINA             TOLLER                   KY     90013227432
82717337341247   TRUDI            SANFORD                  PA     90005983373
82717989385856   JONATHAN         COOK                     CA     90012699893
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82719131933698   KEVIN         THOMAS                      NC     90009941319
82719475447897   OLLIE         DUNCAN                      GA     90005104754
82719525391837   MONICA        RODRIGUEZ                   OK     90005125253
82719814177537   CHRISTOPHER   WILLEY                      NV     90014468141
82721698877537   YESENIA       ALVARADO                    NV     90014716988
82722426171977   JEREMY        DENOGEAN                    CO     38077134261
82722579593771   PAYGO         IVR ACTIVATION              OH     90013145795
82723132161928   CARLA         SILVA                       CA     90013321321
82723898491525   ROBERTO       VILLALOBOS                  TX     90001928984
82725173741275   SHANNON       YOUNG                       PA     90014731737
82725285741275   SHANNON       YOUNG                       PA     90013872857
82727734661928   RINA          WILEY                       CA     90006947346
82729634447897   IZOLA         HARDEN                      GA     14031036344
82732459797138   DANIEL        PEREZ                       OR     44065854597
82732648461928   ALICIA        REYINOSO                    CA     46084996484
82732883947822   JANECIA       MAHONE                      GA     90014708839
82732931371977   LARRY         ROMERO                      CO     90011309313
82732957561556   JOSEPH        KETCHUM                     TN     90015389575
82735343585936   CLAUDIA       KING                        KY     90014603435
82738148371977   JACKIE        GUTIERREZ                   CO     90012681483
82739681141275   DANIEL        WALKOWSKI                   PA     90013056811
82739739285936   LILIANA       AYALA                       KY     90010227392
82739761491523   RICARDO       MAESE                       TX     90007787614
82742887161928   JORGE         SANTANA                     CA     46006298871
82743218472432   ERIN          FOGARTY                     PA     90014142184
82744164271977   DANIEL        COBB                        CO     90014741642
82744565561928   JASMAINE      EVANS                       CA     90005175655
82745799785856   ADEOLA        LAPITE                      CA     46018147997
82746138793771   BART          KENT                        OH     90006491387
82747566471977   EDWARD        GARCIA                      CO     38075125664
82749171547822   UNTRANEKA     STALLINGS                   GA     14092651715
82751167961928   DEAN          NICHOLS                     CA     90014791679
82751325191837   DAVID         MILLER                      OK     21048343251
82752641891979   MIRIAM        RAMOS                       NC     90013986418
82753952847822   SHRODUS       GEORGE                      GA     90014719528
82754181391837   JENNIFER      CHASTAIN                    OK     90011341813
82754361133698   SHANA         MCKINNEY                    NC     90011493611
82755443485936   MASON         GRODES                      KY     90015484434
82756132185856   GUADALUPE     GARCIA                      CA     90012721321
82756211891975   JED           ORTON                       NC     17040832118
82756397585936   JAMES         LANE                        KY     90014853975
82756466841262   ANTHONY       MANCINI                     PA     90002524668
82757185372432   DREW          MCNICHOLAS                  PA     51038331853
82757278733698   RADOVAN       BANOVIC                     NC     12083412787
82757457285936   JOSE          LUIS                        KY     90011854572
82758785191242   ASONTE        HARRISON                    GA     90001897851
82759871177537   JOSE          MOLINA                      NV     90010388711
82759927593771   ASHLEY        HICKS                       OH     90014719275
82759936741275   HOWARD        JONES                       PA     90013839367
82761351547822   MARY          LYONS                       GA     90002133515
82763266585856   CESAR         GARCIA                      CA     46061652665
82763825485933   KARI          JARVIS                      KY     90002508254
82764869785856   REGINO        CRUZ                        CA     46085418697
82766364886447   DEMETRIUS     JOHNSON                     SC     90014573648
82766421585936   SAQUEO        VAZQUEZ                     KY     90010634215
82767247547822   ALICIA        SMITH                       GA     90010422475
82768298191975   PEDRO         CRISTOLBAL                  NC     90012682981
82771835851362   TIFFANY       HAMMOND                     OH     66083808358
82772247677537   KASHAE        FELIX                       NV     90001082476
82772445271977   ISAAC         FRANCO                      CO     90015124452
82773685873276   PATTY         FARRELL                     NJ     90013516858
82773858561928   JESUS         CHACON                      CA     90010268585
82774324497138   BRIAN         BENNETT                     OR     90012043244
82774632391242   FELECIA       RICHARDSON                  GA     90005896323
82774893441275   MICHAEL       THOMAS                      PA     90011318934
82775483997138   ASHLEY        GEARY                       OR     44051994839
82775654385936   VICKIE        WOODRUM                     KY     90010306543
82776996947822   LANASHA       SMITH                       GA     90011069969
82777835577537   NORMAN        PAULEY                      NV     90007968355
82779323863669   BUDDY         ALSOP                       MO     90001893238
82781377471977   RICHARD       BINGAMAN                    CO     90013773774
82782564893771   TANISHA       JAMES                       OH     64545735648
82782735291523   VIVIAN        LOPEZ                       TX     90013087352
82782739133698   ROBIN         REID                        NC     12074017391
82783114247822   TERANCE       THORPE                      GA     90014721142
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82784315591975   SARAH         DE LOS SANTOS               NC     90013303155
82786973181677   JEFF          KEYS                        MO     90015209731
82788299761963   HUGO JAVIER   JIMENEZ                     CA     90012042997
82789111577537   PABLO         SANCHEZ                     NV     43052001115
82789132972496   GINGER        KILROY                      PA     51085411329
82789145991242   CYNTHIA       MARES                       GA     14524881459
82791941372432   TERRI         LOVELL                      PA     51006919413
82794974881677   JOSE          DE JESUS                    KS     29017689748
82795275641275   BRITTANY      PIKE                        PA     90005912756
82795316633698   HAZEL         FORNEY                      NC     12088623166
82796168485936   TIFFNEY       TURNER                      KY     90014701684
82797369533698   TARYN         HAWKINS                     NC     90013313695
82798296261928   FIDEL         TRUJILLO                    CA     90012802962
82798796785936   BRIAN         HARM                        KY     90013097967
82798797581627   LUVIA         MANUEL                      MO     29085557975
82799216341249   TIMOTHY       BUSSE                       PA     51060822163
82799793791979   EMILY         SLEE                        NC     90010277937
82811138893771   CASSANDRA     JOHNSON                     OH     90004641388
82811148585856   VIKKI         HENRY                       CA     46011941485
82811699872432   CHRISTY       SHUMAN                      PA     90009296998
82811993347822   KIMBERLY      DAWSON                      GA     90014729933
82814373833446   TEKELA        WHITTLESEY                  AL     90004533738
82816553693771   LAKISHA       MATHEWS                     OH     64577695536
82817275541262   STEPHANIE     ROZIER                      PA     90013402755
82817459291975   GARY          JOHNSON                     NC     90014974592
82817637781677   JOHNATHAN     MCCOY                       MO     29094176377
82818171557127   MARIO         MONTE                       VA     90013851715
82818916185868   JOSE          RODRIGUEZ                   CA     90013819161
82821245886447   JEFFREY       NORRIS                      SC     90014132458
82821433585936   JANE          HIGNITE                     KY     90000924335
82822549847897   CHARLES       KNOWLES                     GA     14080075498
82824686793771   DEJA          SURLES                      OH     90007096867
82824811772432   ALBERT        DAMI JR                     PA     51021248117
82825338185856   DONNA         MORAN                       CA     46012113381
82825387791525   MARIA         VASQUEZ                     TX     75091223877
82826143247822   CHRISTY       CLARK                       GA     90014731432
82827656885936   NOBERTO       BAUTISTA                    KY     67053966568
82827757981627   AGUSTIN       TREJO-CRUZ                  MO     29045857579
82828499691979   MANUEL        MADONADO                    NC     90008274996
82828589885936   RENAE         GREEN                       KY     67036955898
82829145847822   KENDRA        MARSHALL                    GA     90014731458
82829232157126   MARCELA       ANTEZANA                    VA     90013032321
82829577561981   DAVID         DAOUD                       CA     90004505775
82831252141275   ALEX          FRITS                       PA     90011392521
82831677161943   KYENTIE       OMARI                       CA     90012326771
82832113151362   KATELYN       MCFERRON                    OH     90011721131
82833829661928   BERTHA        HERNANDEZ                   CA     90013808296
82833894785856   FCS           FGJDGJKD                    CA     46072918947
82833937971956   JOHN          TREECE                      CO     90012449379
82833948263624   REBECCA       SCHNEIDER                   MO     27596319482
82834565793771   TERRY         ROSE                        OH     90015165657
82835176793771   ROBERT        MUNCY                       OH     64559481767
82835716471977   DANIEL        BARELA                      CO     90005267164
82836296191837   MARILYN       MOORE                       OK     21025882961
82837332291975   ALDAR         HERNANDEZ                   NC     90006093322
82837516591979   CHARLENE      RICHARDSON                  NC     90013435165
82837564391837   LORI          GRUMBLES                    OK     21073875643
82837673372432   WILLLIAM      RIZOR                       PA     90013156733
82838165385856   EDUARDO       ORTEGA                      CA     90003901653
82838488985856   AIKEN         T                           CA     90012374889
82838565171977   STEVEN        WRENN                       CO     90011455651
82839874691975   YESEL         GARCIA ROJAS                NC     90009778746
82839963893137   MARCIA        POYSER                      KY     90011809638
82841384497138   JERED         HENDERSON                   OR     90000293844
82841419147822   ALEXIS        JOLLY                       GA     90014734191
82841673372432   WILLLIAM      RIZOR                       PA     90013156733
82842714491979   DEBRA         KISER                       NC     90010467144
82842756391979   VERNON        DRAKE                       NC     90013647563
82844396147822   JULIE         ROBERTS                     GA     90013223961
82844684561928   VALENTIN      RIVERA                      CA     46072106845
82845372291837   KALLIE        COBERLY                     OK     90013733722
82845411872432   TERESA        CURTIN                      PA     90014544118
82845748291975   BISHOY        SHARKAWY                    NC     90009057482
82845955172496   GARY          ANGEL                       PA     90014789551
82846293981627   HERIBERTO     MARTINEZ                    MO     90012302939
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82846838497138   MELISSA       JEFFERS                     OR     44037208384
82848172197138   YOLANDA       BENAVIDES                   OR     90011281721
82848571871977   MARKEITVEON   BATTLE                      CO     90003665718
82851448347897   MARILYN       COLEY                       GA     14094794483
82852343871977   SONYA         YAZZIE                      CO     90005733438
82852631247822   MICHAEL       LISTER                      GA     90014736312
82854463761928   MIGUEL        SILVA NIETO                 CA     90012744637
82855338185856   DONNA         MORAN                       CA     46012113381
82855429961928   JOSE          CRUZ                        CA     46077674299
82855436847822   NICOLE        BUTLER                      GA     14031914368
82856562891837   ANGELIQUE     REDEAU                      OK     90009425628
82857244591975   HAKEEM        RICHARDSON                  NC     90014852445
82859328585856   MARIA         AVILA                       CA     46050163285
82859357972432   KATHERINE     JAMERSON                    PA     51055303579
82859782597138   LISA          SHELL                       OR     90013537825
82861134385856   JAYMES        DAVIDSON                    CA     90011271343
82861435161928   LARISSA       WIMBERLY                    CA     46016634351
82861986591837   SHANE         FIELDS                      OK     90014399865
82862329893771   ARTURO        DAVILA DELEON               OH     90014413298
82862854781677   MIGUEL        ARENALO                     MO     90010368547
82863352391975   PRICILLE      MAYENGO                     NC     90008473523
82863926181677   ELZORA        HILL                        MO     29080359261
82864915433698   SHANE         CHRISTY                     NC     90009369154
82865932491332   NICOLE        LADESICH                    KS     90009459324
82866222731449   ROSETTA       CHRISTIAN                   MO     90010722227
82866261947822   JEREMY        DAVIS                       GA     90014862619
82866651133698   LARANE        HASKINS                     NC     90013996511
82867536861978   SARIF         MOHAMED                     CA     90012455368
82868176681627   FERMIN        LOPEZ                       KS     90015101766
82868252851365   PATRICA       PHELPS                      OH     66069182528
82868562241262   GRACE         VENTURA                     PA     90012765622
82868566691242   TAMMY         STONE                       GA     14586565666
82868578171977   VINCENT       SANCHEZ                     CO     38089705781
82868622691975   DAVID         ROSE                        NC     90013966226
82869476247822   TAWONDA       SOLOMON                     GA     90011074762
82869821785936   SHELEIKA      SIMMONS                     KY     90009688217
82871518472496   VICKIE        SNYDER                      PA     51042025184
82872556393771   ALEXANDER     WHITE                       OH     90013315563
82872861291979   MARILIN       MOROY                       NC     17013008612
82874412985936   RAYMOND       JONES                       KY     90000104129
82874466477537   ANTHONY       ROY                         NV     90013284664
82874715191979   MANUEL        HUERTA                      NC     90013897151
82875128581677   CARLOS        SAGE                        MO     90006811285
82876442993771   JAMIE         GILVIN                      OH     90001024429
82876458572432   JEANNA        MAIN                        PA     51085384585
82876693133698   BILLY         HIATT                       NC     12009536931
82876915684325   DELIA         CASKEY                      SC     90011649156
82877274325151   RANDOLPH      THOMAS                      AL     90015082743
82877374485936   GRISELDA      MONTIEL GALICIA             KY     90013063744
82877768247822   THERESA       RODRIGUEZ                   GA     14086817682
82879753191532   JULIO         ALMANZA                     TX     75077717531
82881639385936   ASHLEY        PEREZ                       KY     90013146393
82882251391979   KRISTIE       RICHARDSON                  NC     90015032513
82884731172432   LAURI         THOMPSON                    PA     51029737311
82885612191837   CHERYL        GUTIERREZ                   OK     21092586121
82885714871956   SEAN          WAGERS                      CO     90005037148
82887252984331   ROBERT        BOYD                        SC     90014342529
82888553677537   KAREN         MOULLET                     NV     43027995536
82889629285856   RYAN          WATERS                      CA     90014076292
82889748491837   ABIGAIL       ROMERO                      OK     90011327484
82891688151362   JEFFERY       NICHOLS                     OH     90013236881
82893421891979   CHAD          ASHBY                       NC     90014884218
82893761291979   MUMTAZ        JAMAL                       NC     90013957612
82894744577537   SHANE         SMITH                       NV     90014027445
82895132733698   HEATHER       CORRIHER                    NC     90010721327
82896838747822   SHARONDA      BLOUNT                      GA     90010878387
82897446285936   MASON         GROVES                      KY     90015484462
82897849272432   PHILLIP       FOEKS                       PA     90013288492
82898458281627   STEVEN        BYRD                        MO     90012464582
82899143247822   CHRISTY       CLARK                       GA     90014731432
82899422647822   ANTHONY       WIGGINS                     GA     90014114226
82911363433698   SHAWNTIKA     DAVIS                       NC     90009153634
82911491341275   LISA          RUCKER                      PA     90012984913
82912147471977   NATHAN        GIBBS                       CO     90013071474
82912253261963   ARIEL         DE LA TORRE                 CA     90007982532
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82913932481627   ROBERTO       MENDEZ                      MO     90012819324
82915288972496   KRISTOPHER    FAIR                        PA     51046972889
82915534871977   RAYMOND       LAFEBRE                     CO     90010155348
82916229197138   ANNA          HOUSE                       OR     90015572291
82916887391837   REBEKAH       DENNIS                      OK     90010758873
82918548891979   RHEA          REED                        NC     90013745488
82919186441262   BARBRA        FANCHER                     PA     90012841864
82919632651362   STEVE         HAMER                       OH     90002386326
82921164691975   CONSTANTINE   LOPES                       NC     90012431646
82921843971977   TERA          LUCERO                      CO     38094078439
82921943141275   TARA          PELLECCHIA                  PA     90001319431
82922241597138   AMY           SHUTZ                       OR     44089272415
82922664284325   ANDREA        CHANEYFIELD                 SC     90009516642
82923256991975   DAMARIO       CORTES                      NC     90013252569
82923389691837   SHAUNDELL     HARVEY                      OK     90009573896
82924538547822   PHOEBE        GRIGGS                      GA     90014745385
82925286391979   REYNINA       BALTIERRA                   NC     90012352863
82927525791979   SHAKISHA      WITHERSPOON                 NC     90002255257
82928526391525   CRYSTAL       CHAVEZ                      TX     90005895263
82929324384347   CYNTHIA       SPRIGGS                     SC     90009573243
82931241441262   ARNISHA       TAYLOR                      PA     51010682414
82932628141275   CAREN         BAKER                       PA     90011146281
82933687191532   MARIA         MURILLO                     TX     90006896871
82933877485936   HERBERT       LARGE                       KY     90000708774
82934425447822   TINA          PITTS                       GA     90008734254
82934742491979   RUBY          CHASE                       NC     90012157424
82935139491837   FRANCIS       LONGORIA                    OK     90003061394
82935444561928   DANIEL        NYAGGAH                     CA     90010184445
82935666485856   RAMIN         SEDIQI                      CA     90012906664
82936426985936   LUANNE        HOWARD                      KY     90013534269
82937243791525   ELISA         TORRES                      TX     90003212437
82937249251362   CASEY         MOLLOY                      OH     66074402492
82937937397138   MISTY         LOVELADY                    OR     90004779373
82938719972432   BENJAMIN      VANCE                       PA     90013207199
82939687447822   CHRISTOPHER   GRAY                        GA     90011076874
82942375491837   CATALINA      GOWENS                      OK     90012493754
82943564991979   SERGIO        LUNA                        NC     90008275649
82943577485936   LA RON        CLARK                       KY     90013595774
82944889872496   CYNTHIA       SCOTT                       PA     90008598898
82944987171977   NIYA          BOONE                       CO     90009419871
82947129285936   DEANNA        CAMPBELL                    KY     90014931292
82947791577537   FRACISCA      HERNANDEZ                   NV     43027857915
82948417585936   JEMAINE       BURGESS                     KY     90012784175
82951292585936   STEPHANIE     FATH                        KY     90014882925
82951459851362   ADELA         ESPANA                      OH     90012604598
82952257891837   MARY          REED                        OK     90014582578
82953192447822   JAMIESHA      DAVIS                       GA     90014751924
82953437747897   TAURUS        STEPHENS                    GA     14083584377
82953842281677   BRIDGETTE     ATKINSON                    MO     90005888422
82954329891979   SHERRY        ALSTON                      NC     90003433298
82954995961928   JEFF          MCNICHOLL                   CA     90009609959
82955872291558   MEGAN         MARSH-OSLUND                NM     75016568722
82955949891975   EDNA          DUNKLEY                     NC     90008549498
82956996261928   DARSELL       CALDWELL                    CA     90012439962
82957591391975   JESSICA       FUENTES                     NC     90014905913
82958132771977   RON           VALDEZ                      CO     38042051327
82958183391242   DUKE          MITCHELL                    GA     90010881833
82958595885856   ANGELICA      MARTINEZ                    CA     46015415958
82959149891525   LESLIE        VEGA                        TX     90000371498
82959274497138   ED            COVINGTON                   OR     44069562744
82959323451362   JACOB         SIKES                       OH     66005393234
82961278733698   RADOVAN       BANOVIC                     NC     12083412787
82961617385936   TOI           DEAN                        KY     90014626173
82962673597138   PEDRO         CONTRERAS                   OR     90002316735
82963336697138   FIDEL         GINEZ                       OR     90013923366
82965882172432   THOMAS        MURRAY                      PA     90013218821
82967338297138   MARICELA      CEJA                        OR     44072143382
82967556391979   PEDRO         MENDEZ                      NC     17011635563
82967648325164   DEVON         RICHARDSON                  AL     90009306483
82968251791979   MYESHIA       LAWSON                      NC     90002662517
82968622461928   ALEJANDRINA   BARAJAS                     CA     90014736224
82969923771977   JEREMY        MARTINEZ                    CO     38000859237
82971479285856   AI            BANE                        CA     46012494792
82971814491837   AMANDA        ANDREWS                     OK     90008158144
82971857441262   CAROL         MAVILLA                     PA     90014848574
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82972114181627   ELENA           HERNANDEZ                 MO     29078861141
82972224571933   RACHEL          DICKERSON                 CO     90006612245
82972765384325   SHERITA         SIMMONS                   SC     90011907653
82972778597138   SONJA           LIBRANDE                  OR     90012567785
82973942971977   RICKY           PACHECO                   CO     38086019429
82974534697138   LINDA           BOGLE                     OR     44031545346
82974874351362   JESSE           CAMPBELL                  OH     90014208743
82974958181677   LATASHA         BROWN                     MO     29081079581
82975667397138   COREY           THRONE                    OR     90012146673
82977879293771   ASHLEY          MANNING                   OH     90013978792
82977881372432   MICHAEL         NEASON                    PA     51044228813
82978421372444   ANITA           REDA                      PA     90014284213
82978459161928   MARIA           MORALES                   CA     46016014591
82982287477537   MARK            GOLLIHER                  NV     43068512874
82983569741262   DIAMONTE        HAMLETT                   PA     51069405697
82985882172432   THOMAS          MURRAY                    PA     90013218821
82985959291979   TREMAYNE        HAMPTON                   NC     90010019592
82987519941275   ETHEL           PATRICK                   PA     90010145199
82989891891975   EDDIE           WINSLOW                   NC     90000108918
82991215284351   AJEENAH         SAFA                      SC     90013922152
82992241761928   JOSUE           GONZALEZ                  CA     90013632417
82993492271977   DEE             TRUJILLO                  CO     38050654922
82995176133698   RUDY            SPENCER                   NC     12072931761
82995862172432   MICHAEL         HEALY                     PA     51044878621
82996259791975   TINISHA         DUNN                      NC     17077522597
82996494441262   TAMIKA          JOHNSON                   PA     90002784944
82997317971977   BELINDA         GALLEGOS                  CO     90010403179
82997575191837   KEISHIA         MANORE                    OK     21006235751
82998989181639   ROBERT          SCHWIN                    MO     29059959891
82999163161928   SANDRA          REAL                      CA     46072541631
82999274891975   FRANCIS         MATTHIADIS                NC     17063952748
82999437441275   KIMBERLY        ADAMS                     PA     90004814374
82999564677537   OLIVIA          RUSSELL                   NV     90013555646
83111268691558   LUZ             ANCHONDO                  TX     75097882686
83111482261928   LUIS            ESPINOZA                  CA     90014904822
83112392277537   OCTAVIO         ALEJANDRE                 NV     43066353922
83113167385856   JO JO           RIGHT                     CA     46084871673
83113215461928   ELIZABETH       CECENA                    CA     46037542154
83113325155945   MICHAEL         ESTRADA                   CA     90002973251
83115493171938   BILL            CARROLL                   CO     32057344931
83116262571938   ANTHONY         QUINTANA                  CO     90009472625
83116476261928   SALVADOR        MULLALY                   CA     90007874762
83116551277537   HENRI GOUGLAS   ROSALES-GARCIA            NV     90015175512
83116931141275   AMBER           MASSEY                    PA     51008529311
83117275597138   FAWN            ABERSON                   OR     44066862755
83119472893771   LINDSY          ROBERTS                   OH     90002764728
83121838251341   VANCE           LITTLE                    OH     90015378382
83121927551341   TOMEKA          JOHNES                    OH     90009219275
83122132991979   NAUTICA         DEVINE                    NC     90014811329
83122861171938   VANESA          ALVARADO                  CO     90015208611
83122944872432   BRITTNEY        PETERSON                  PA     90014499448
83123155951362   NATHAN          ALSIP                     OH     90014161559
83123467597138   CHELSIE         GARCIA                    OR     90015124675
83124275385856   WILLIAM         MUCK                      CA     46062882753
83127395861928   JEMESHA         PHILLIPS                  CA     90013923958
83131126672432   STACEY          BOOKER                    PA     51079191266
83131763571977   LACHELLE        ARMENTA                   CO     90014457635
83132168997138   DIANNA          ROLLINS                   OR     90011581689
83133689147822   ELDORA          JACKSON                   GA     90003586891
83134295547897   INDIA           LESHOURE                  GA     90012112955
83134954291975   LAQUAISHA       LAWSON                    NC     90010949542
83135587741275   MATTHEW         MILTON                    PA     90011065877
83135973185936   BAZDEZAR        VAZQUEZ                   KY     67095759731
83137783447897   NATASHA         HOLDEN                    GA     90013937834
83138697497138   CRISPIN         CUATRA CUAHUA             OR     90012736974
83138951171977   J               ROY                       CO     38046209511
83141357341275   MICHAEL         TOTTERDALE                PA     51044213573
83141855833698   MUSA            OSMAN                     NC     90011998558
83141868772432   BOBBI JO        TURNER                    PA     90012688687
83142341161934   SAM             DEABENDERFER              CA     90011403411
83142755347897   BELINDA         FARMS                     GA     90013937553
83143228151336   MICHELLE        COOPER                    OH     66093072281
83143536271938   SCOTT           THOMPSON                  CO     90002665362
83143632933471   PARKER          CRUZ                      AL     90015416329
83143735191975   CHARITY         CHEGE                     NC     17042227351
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83144562672432   MELISSA      YOUNG                        PA     90011855626
83144962171938   DONNA        WAGNER                       CO     32059899621
83145355991837   APRIL        CULBERTSON                   OK     21025293559
83145598893127   PAYGO        IVR ACTIVATION               TN     90014185988
83145733651336   TORDASHA     WYNN                         OH     90011447336
83145844761928   MELISSA      DIMAYUGA                     CA     90010448447
83145994472432   WILLIAM      KUPSTAS                      PA     90014679944
83146317655945   FATIMAH      ALLEN                        CA     49012763176
83146895447822   LASHONDA     WEST                         GA     90014098954
83147342141262   DONALD J.    KELLER                       PA     90013923421
83148288751334   CAROLYN      TUCKER                       OH     90008872887
83148345341262   SHELBY       ROST                         PA     90010433453
83148496891979   CHRISTA      MICHEAL                      NC     17043114968
83148755347897   BELINDA      FARMS                        GA     90013937553
83149998551341   THREASA      ALSIP                        OH     90008149985
83151142541262   MATTHEW      PRUSS                        PA     51039151425
83151264851362   CODY         BOWER                        OH     90013082648
83151353993127   CAROLYN      SMITH                        KY     90005323539
83151494172432   TAMMY        KLAUS                        PA     90002454941
83152142355945   BRITTANY     SIMPSON                      CA     90013271423
83152827891837   MARTIE       PETTY                        OK     90008808278
83152842872432   CHARLES      PARKS                        PA     90012568428
83153625155945   MICHELLE     STRAND                       CA     49079956251
83153999641275   TIMOTHY      MARTIN                       PA     90015099996
83154146571938   SHEENA       DEBLASIO                     CO     90012071465
83155767197138   MARK         WEATHERS                     OR     44031247671
83155944261928   TIMOTHY      BROOKS                       CA     46067699442
83156572772432   SHIRLEY      VASKO                        PA     51083435727
83156973693771   MIKE         JONES                        OH     90003429736
83157347491934   MARCUS       WOODS                        NC     90012333474
83157365791975   YRACY        MCGUIRE                      NC     90011423657
83157624747897   YOLANDA      PRICE                        GA     14022236247
83158259551362   TAMMY        ISOME                        OH     90011642595
83158325761928   RIGOBERTO    COBA                         CA     90011963257
83158572591837   ANTHONEY     CAREY                        OK     90014495725
83159231791979   SYDNEY       CHANDLER                     NC     90013962317
83159325351362   JAYSON       GRABP                        OH     90012873253
83159819651362   VENESSA      MITTLER                      OH     90014848196
83161585191979   WAMUNGANI    MUNGANI                      NC     90013945851
83164772991975   LAURA        OLIVARES                     NC     90012797729
83165819391863   MELISSA      CASEY                        OK     90014278193
83166287861928   LETICA       QUIROZ                       CA     46036982878
83166964991979   ANGELA       SANTOS                       NC     90010499649
83167415441262   BRINNANY     HILLINGER                    PA     90001404154
83167521541275   MANUEL       ENRIQUEZ                     PA     90014855215
83167533885936   NSABIMANA    FRIEDA                       KY     67076065338
83167535861928   KARLA        RAMIREZ                      CA     90007135358
83168336541262   TYLER        LEWIS                        PA     90013933365
83168367161928   PAULA        PEREZ-SOTELO                 CA     46006323671
83168479693771   LYNN         CATLIN                       OH     90013144796
83168759577537   SHELLIE      EREVIA                       NV     90009077595
83169543455945   DOUGLAS      DAILEY                       CA     49004915434
83169614951341   RUBY         YEAKLE                       OH     90015036149
83169723591837   DEREK        GONZALAZE                    OK     90014527235
83171847761928   SAMANTHA     RIVERA                       CA     90013598477
83171851261936   BRUCE        STEINER                      CA     46044698512
83172291297138   ANGEL        SOTO                         OR     90013932912
83172854793127   TASHA        CLARK                        TN     90008168547
83173675191837   SHARNE       BOYD                         OK     90011746751
83173742471977   TOMIE        RUSSOM                       CO     90011747424
83175124961928   PAUL         MONROE                       CA     46043401249
83175547751362   RICKY        GOSS                         OH     66071685477
83177113893771   TRACY        GAINS                        OH     90008851138
83178115377537   MELISSA      AKANA                        NV     90004681153
83178493693771   JODY         WILLIAMS                     OH     64505994936
83181185585856   AGNES        SZAKACS                      CA     90013221855
83181533741275   DA'JUAN      WINDOM                       PA     51055365337
83182112271977   TYLER        DAVENPORT                    CO     90014971122
83182862171977   JUAN M       CASTILLO                     CO     90012708621
83183198785856   AGNES        KRATKY                       CA     90013221987
83183323171938   DELILAH      COLON                        CO     90011353231
83183915797138   JOSE         ISIORDIA                     OR     90015119157
83184579393771   ALIJIA       WHITNER                      OH     90013445793
83185536691837   EMMA         ROBLES                       OK     21040045366
83185717693771   DAVID        PARKER                       OH     64589337176
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83185843471938   ELISA        BOSLEY                       CO     90002818434
83186692397138   LALO         CASTELLANOS                  OR     90012986923
83186894991975   KARI         THOMPSON                     NC     90011048949
83187378547897   LASHUNNA     BURRAGE                      GA     90011093785
83187886241262   MARTIN       PEFFER                       PA     90011858862
83188586297138   BRANDY       BUNSEMEYER                   OR     90010645862
83188732791979   TAUREAN      FAIRLEY                      NC     90010667327
83189145533698   DARIUS       HARPER                       NC     90013931455
83189941233668   EVELYN       VARGAS                       NC     90002069412
83189949371938   JOSE         JAQUEZ                       CO     32003029493
83191532891975   RAVEE        SELBY                        NC     17079115328
83192351891837   CARMEN       BALTIERRA                    OK     21042453518
83194144785856   ESTEBAN      LUCAS                        CA     90004531447
83194314747897   DONALD       WALKER                       GA     90012973147
83195894785856   FCS          FGJDGJKD                     CA     46072918947
83198434447897   LATAILA      HUTCHINGS                    GA     90011174344
83198694433698   TABITHA      COCHRAN                      NC     90005686944
83199348891242   ELNARDO      FERRON                       GA     90002123488
83212121147822   DEBRA        QUARTERMAN                   GA     90009561211
83212742661928   FELIX        MENDEZ                       CA     90012317426
83212743971977   JOSHUA       ROSSELOT                     CO     90011897439
83213972151341   ROBERT       NEELY                        OH     66028149721
83214185331449   PRESCILLA    CUMMINS                      MO     90012861853
83214866347822   LATRICE      THOMAS                       GA     90006098663
83216496355945   YER          VUE                          CA     90009964963
83217175233698   EDUVIGES     ROMERO                       NC     12042101752
83217261551341   LESTER       WALKER                       OH     66062262615
83217458247822   COROVON      COBB                         GA     90014164582
83217546572432   MACK         MATTHEWS                     PA     90010125465
83217823141262   TIMOTHY      DRISCOLL                     PA     51066068231
83223366293771   BRITTANY     BOGAN                        OH     90015203662
83223557472432   SHAWN        COLEMAN                      PA     90011215574
83223574561928   JACQUIE      LEE                          CA     46045125745
83224465577537   BRENDA       GOMEZ-ESTRADA                NV     90012174655
83224586247897   LAQUANDRIA   SHELLY                       GA     90011095862
83227626347822   ANTHONY      WILLIAMS                     GA     90014166263
83229743133698   PLACIDO      RODRIGUEZ                    NC     90013457431
83229945377537   STEVEN       SALKELD                      NV     43007959453
83231325271938   NAJUA        BELL                         CO     90014713252
83231411941262   ROBERT       TORRES                       PA     90012644119
83231886561928   JERRY        AKREN                        CA     46066858865
83232216251362   DAVID        MIKLES                       OH     90014162162
83233367655945   MANUEL       JIMENEZ                      CA     90014383676
83234326491975   RONALD       TULLEY                       NC     90015553264
83234485847897   SANDY        ADAMS                        GA     90011304858
83234575991979   NAZAR        ALKURAIZI                    NC     90011535759
83234816593771   TAMARA       TONER                        OH     90007668165
83235784577537   MARIA        LOPEZ                        NV     90012837845
83236864591979   SHAKIERA     PRINCE                       NC     90014768645
83236881891979   SARAH        KEELEY                       NC     90015608818
83237223851325   LISA         DEVERS                       OH     66005392238
83237318972432   GERALD       COMEDY                       PA     90001503189
83237376133698   KERA         BELL                         NC     90013553761
83238435161928   LARISSA      WIMBERLY                     CA     46016634351
83239216251362   DAVID        MIKLES                       OH     90014162162
83239494571977   DIANA        TORRES                       CO     90011564945
83239816941275   GLENN        BARRIE                       PA     51013498169
83239933491975   JESSICA      SANDERS                      NC     90014589334
83241795341262   SUSAN        RIEMENSCHNEIDER              PA     90012987953
83241922585856   BRYAN        LUNA                         CA     90013259225
83242314755945   FAUSTINO     JOSE LORENZO                 CA     90015143147
83242933497138   AMANDA       FAZZIO                       OR     90011399334
83244184185856   RICHARD      KRAUS                        CA     46035281841
83245747393771   TONY         TAYLOR                       OH     90013817473
83246188933698   DOROTHY      STIMPSON                     NC     90012961889
83246396451341   RYAN         DALTON                       OH     90013313964
83247422397138   ROMELIA      RAMON                        OR     90012714223
83247813291979   STEPHANIE    AIKENS                       NC     17086998132
83249261991979   JOCE         SANTOS                       NC     90012062619
83249547651362   ROMMIKO      EDWIN                        OH     90014805476
83249656247897   SCOTT        CROWE                        GA     90015226562
83249697277537   SANTOS       ORTIZ                        NV     90010376972
83251731997138   MARIA        GONZALEZ                     OR     90012767319
83251831547822   KIERRA       JONES                        GA     90014168315
83254117171977   SHANNON      AVILA                        CO     38058441171
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83254755855945   RHONDA       WOODS                        CA     90014727558
83255283891242   ANITRA       BROADIE                      GA     90009112838
83255326833698   KEVIN        MINOR                        NC     90012463268
83255782947897   STACIE       DUMAS                        GA     90002937829
83256311497138   DAVID        FORD                         OR     90015083114
83256922891979   MICHAEL      SMITH                        NC     90002789228
83257195361928   CELIA        HIDALGO                      CA     46044441953
83258147151325   MARISOL      AGOSTO                       OH     90008641471
83258533691975   DAISY        AVALOZ                       NC     90007165336
83258992277537   MICHELE      PENROSE                      NV     43019239922
83259131261928   JOSE         ESPINOZA                     CA     46017831312
83259594741262   BARRY        STARCHER                     PA     90014405947
83259966191837   MOISES       MENDOZA                      OK     21059309661
83261276397138   YOOKYUNG     UM                           OR     90014842763
83261687785856   DAVID        JIMENEZ                      CA     46051906877
83262722151362   RODNEY       SLONE                        OH     66073577221
83266325877537   CONNIE       PARTICK                      NV     90010723258
83267141571977   ALISIA       ADAME                        CO     90010911415
83267678171938   JOSEPH       THOMAS                       CO     90013036781
83268478291975   CASSIE       NOBLE                        NC     17055064782
83269337597138   JACKIE       BRISTER                      OR     90014303375
83269446871977   MANUEL       AMARO                        CO     90013104468
83271559277537   MD ABDUL     MATIN                        NV     90014495592
83272258791975   TESFAY       TESFAMEHRET                  NC     90009182587
83272441772432   JOSHUA       WISE                         PA     90013494417
83273598997138   SARA         WILLIAMS                     OR     90013375989
83273753371938   TRAVIS       JOHNSON                      CO     90012837533
83274529433698   CORLEENER    COMER                        NC     90009515294
83274781472432   ROBERT       JONES JR                     PA     51004627814
83275245291979   NELSON       CABRERA                      NC     90014092452
83275758241229   LEONARD      BELTON                       PA     51022287582
83276166985856   RUBY         MITCHELL                     CA     90001641669
83278582497138   ESTHELA      CAZARES                      OR     90012945824
83279833451362   SASHA        ESTEP                        OH     90007678334
83279989691242   EMMA         GRAHAM                       GA     14592839896
83282246855945   VANG         YENG                         CA     49013012468
83282531747897   KRISTINA     LELLIOTT                     GA     90012605317
83283915797138   JOSE         ISIORDIA                     OR     90015119157
83283928951362   JERY         SALLER                       OH     90014979289
83284312551531   HEIDY        MURILLO                      IA     90014233125
83284448171938   FELISIA      BROWN                        CO     32026834481
83284625751341   QUICO        SANTOS                       OH     90013146257
83285167441275   TANYA        HENRY                        PA     90000101674
83285798372432   ALEXANDRA    SCHULTZ                      PA     90005247983
83286871791979   MICHAEL      MCDONALD                     NC     90010508717
83287572251337   TEMESGEN     AURE                         OH     90000685722
83287572471938   MARIA        BOYD                         CO     90003975724
83287818371977   BRANDIE      MARTINEZ                     CO     38091328183
83288317141275   JAMARR       MARTIN                       PA     90014863171
83288357377537   JENNIFER     RICKETTS                     NV     43017773573
83288528655947   SARA         NAVARRO                      CA     90008695286
83288641355945   AIOTEST1     DONOTTOUCH                   CA     90015116413
83289745651341   DEVINA       SCHUBERT                     OH     66030517456
83289769651362   MONA         OLDEN                        OH     90013137696
83291751791837   ELIZABETH    LOPEZ                        OK     90014497517
83293519733698   ELIZABETH    MORALES                      NC     90013555197
83294185585856   AGNES        SZAKACS                      CA     90013221855
83295753691837   RICARDO      FLORES                       OK     90014497536
83296252285649   JOHN         COLVIN                       NJ     90003682522
83297329651333   MIKE         JHONSON                      OH     90012313296
83298758591837   SARMAD       AL SHAMMAT                   OK     90014497585
83311188791988   PUSCHA       WILLIAMS                     NC     90011241887
83311253941262   SHEILA       TAYLOR                       PA     90001612539
83311674491979   MARGARITA    ROSENDO                      NC     17002646744
83311759147897   ANGELECK     BROWN                        GA     14016097591
83312458377537   RODRIGO      LECHUGA                      NV     43057984583
83313194677367   ANTHONY      SANCHEZ                      IL     90000781946
83313556977537   ALBERTO      CORDOVA                      NV     90002745569
83315123947822   TIMOTHY      KYSER                        GA     90014181239
83318759391837   JAMES        MILES                        OK     90014597593
83319578897138   JOSE         SALAZAR                      OR     90005195788
83321444971938   STEVEN       SPITZ                        CO     90013764449
83321994377537   MANUEL       GUZMAN                       NV     90001469943
83322781391837   JAMES        HARBOUR                      OK     90014497813
83323717171938   JOSEPH       BRITO                        CO     32098367171
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83325283955945   MARY              DURAN                   CA     90009072839
83325339347822   SHASHEEN          WALKER                  GA     14058393393
83325438733698   HEATHER           STEPHENS                NC     90013934387
83326348477537   COLLEEN           BLALOCK                 NV     43050213484
83328951771938   JOHN              WALSER                  CO     90005089517
83329724391837   JANET             SPENCER                 OK     90014527243
83331765672432   DARCIE            WORK                    PA     51026427656
83332244291837   TOI               GARDNER                 OK     90004282442
83333653671977   CONNIE            ARMENTA                 CO     90007406536
83336557985856   STACIE LYNNANNE   CRUZ                    CA     90003245579
83336999891979   ELLERBEE          LATONYA                 NC     17086819998
83338219591975   SHAQUIA VALISA    GLOVER                  NC     90013602195
83338288831271   VANESSA           MOORE                   IL     90014762888
83338993977537   DOLORES           ELIGIO-DEK              NV     43057119939
83339119871977   CARA              ASHTON                  CO     90013401198
83339346397138   MELISSA           BOREN                   OR     90007503463
83341663651362   DANIEL            YANKEY                  OH     90011796636
83342497172496   PATRICIA          LACHOPPA                PA     51054654971
83342544971938   MARIA             SCUDDER                 CO     90010245449
83344636233471   PARKER            CRUZ                    AL     90015416362
83345148597138   SALVADOR          GARIBAY                 OR     90013071485
83346679441275   SHARON            SENG                    PA     90013266794
83347596985856   WILEY             JONES                   CA     46057405969
83347879371938   DION              ROMERO                  CO     32027348793
83349521191961   BRIAN             LOW                     NC     90014865211
83351471255945   JENNIFER          LINN                    CA     90006384712
83352639947897   RODNEY            LESTER                  GA     90009956399
83352962847822   NATASHA           MILLER                  GA     90010759628
83353177272432   ASHLEY            WADSWORTH               PA     90014711772
83354416655945   DEREK             HAYDON                  CA     90013624166
83354944241262   MICHAEL           CREESE                  PA     90004279442
83355151172496   JOSEPH            GRUZINSKI               PA     90014001511
83355372891979   SHAWNA            EVANS                   NC     90010513728
83355879485856   MIGUEL            SERAFIN                 CA     90010748794
83355954877537   JOSEPH            HUDDLESTON              NV     90012829548
83356438591979   GUSTAVO           MENDOZA                 NC     90012804385
83356557651362   ROBERT            CLAYTON                 OH     90012615576
83357427791975   MARY              MILES                   NC     17091674277
83357683172432   STAZSIK           ANTHONY                 PA     51027956831
83357953893771   MARCELL           WOODS                   OH     90012069538
83359373377537   PAUL              COOMER                  NV     90013063733
83361182261928   AMANDA            CHILDS                  CA     90013741822
83361299371977   ADAM              ROMAN                   CO     38074682993
83361726991979   TONYA             SNEED                   NC     90014927269
83362385951362   MARILYN           HOWARD                  OH     90014463859
83363295771977   AUDREY            HUTTON                  CO     90009392957
83363651971938   JUAN              ANTONIO                 CO     90014126519
83364687571938   LINDA             MONTOYA                 CO     90005836875
83365381477537   FAHAD             RAZZAQ                  NV     90010903814
83366364861928   TAYLOR            COLLINS                 CA     90012533648
83367391541275   JASMINE           MENEFEE                 PA     90011773915
83367431971977   ALFONSO           PEREZ                   CO     90005284319
83367586747822   NABIL             AL-TOUSY                GA     90014185867
83368133633698   CONNIE            TORRES                  NC     90012441336
83368912955945   DUAPRESHIA        JACKSON                 CA     90015309129
83368971491975   TRAMAYNE          WILCOX                  NC     90014589714
83369288733698   JONAH             GENT                    NC     90011422887
83369416661922   TOMMY             RANDLE                  CA     46050124166
83369635497138   NICOLE            BUCKMAN                 OR     44015976354
83369725447897   CHAKEVA           HARRIS                  GA     90012517254
83372524647897   BRENDA            COLLINS                 GA     90007605246
83373587861928   JOSE              ARELLANO                CA     90009875878
83373879777537   SHERRIE           SCARBRO-                NV     90000678797
83373883672432   BRADLEY           BENSON                  PA     51088028836
83373935751362   AMY               GERWE                   OH     90009819357
83374527971977   SENAIDA           PEREZ                   CO     90014075279
83374684441275   LUIS              PICADO                  PA     90012096844
83376234291975   LISA              SAROTTE                 NC     90007972342
83376245791837   SAVANTE           PICKENS                 OK     90011752457
83377185293771   JASON             NEWSOME                 OH     90014621852
83377758755945   SANDRA            ROMERO                  CA     90003277587
83378586691979   ALEJANDRO         BUSTAMANTE              NC     90004035866
83379846981689   LASHONDA          MCCULLEY                MO     90006508469
83379858547897   JALISA            GREEN                   GA     90012198585
83381326371977   SHAWNA            VALLEJOS                CO     90012173263
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83381469397138   MELISSA            OLFERT                 OR     90006104693
83382141633698   DONNA              TISDALE                NC     90011491416
83382882685856   MARIA DEL CARMEN   WHITE                  CA     90013298826
83383915441241   WILLIAM            SARVER                 PA     51053749154
83385781491837   JANNIFER           ROBINSON               OK     90014527814
83386886191979   ANGIER             HARRIS                 NC     90014798861
83387464957131   JOSE               AYALA                  VA     90007854649
83387775397138   JOSE               MANZO                  OR     90011027753
83387778151362   CLARINDA           PENN                   OH     66050707781
83388872272432   DAWN               MCELHANEY              PA     51003728722
83389246233698   ROBIN              MOORE                  NC     90009622462
83391411171977   PAUL               ODELL                  CO     90010674111
83391897991979   CALEBE             BUNA                   NC     17087928979
83392275184336   LUIS               RODRIGUEZ              SC     90011472751
83393471151341   VANESSA            KANE                   OH     90012054711
83393625691975   MITZI              COLSON                 NC     17049946256
83394131951341   INESHA             GAINES                 KY     90014711319
83394488955945   ARTEMIO            SALAZAR                CA     49076904889
83395515471938   SCOTT              ZINOLLI                CO     32047145154
83396438141275   RAJEN              KHANAL                 PA     90011774381
83396899471938   KEVIN              HUMPHREY               CO     90012158994
83397748851341   BRADLEY            PUCKETT                OH     90007927488
83398443793771   SIXTO              ORTEGA                 OH     64570584437
83411221151341   MICHAEL            FEARS                  OH     66047652211
83411398261928   NALANI ROSE        SCITAR                 CA     90013923982
83411771533698   LARRY              WRIGHT                 NC     90013907715
83412411671977   ANITA              AGUSTIN                CO     90009594116
83412591481643   RAYDEL             ACOSTA-LOPEZ           MO     90012705914
83412744772432   CHARLES            ELLIS                  PA     51057467447
83414267833698   DEVIN              MILES                  NC     90013962678
83414773297138   ELIZABETH          FENTON                 OR     44055057732
83414966851362   JUDITH             ALBERS                 OH     66069859668
83415916761928   TOMAS              ALCANTAR               CA     46071679167
83416885151341   EVELYN             ROBINSON               OH     66016358851
83417886355945   CYNTHIA            MONTES                 CA     90014778863
83421626972496   JOSEPH             AGUGLIA                PA     90004266269
83422559841262   ZUKOWSKI           SANDRA                 PA     51052765598
83423335441262   BEATRICE           WOODING                PA     51020693354
83423637791979   RASHAWA            JORDAN                 NC     17016756377
83423639185856   HILARIO            MATIAS                 CA     90010236391
83423723551341   IRMA               MEJIA                  OH     90002587235
83424315441262   CRYSTAL            DUNMEYER               PA     90013653154
83424629497138   DAN                HOGELAND               OR     90003736294
83425769547822   TAMARA             CHAPPELL               GA     90004207695
83426422197199   EVELIA             ALFONSO-HERNANDEZ      OR     90000434221
83427626972496   JOSEPH             AGUGLIA                PA     90004266269
83427999472432   TRACY              LAWRENCE               PA     51067679994
83428458191979   AKIN T             SEZENOL                NC     90010854581
83429372172432   KAITLYN            SASSO                  PA     90011143721
83429834651362   MONIQUE            GILLIAM                OH     66012788346
83432853491837   ROSA               BEJARANO               OK     90011888534
83433358891975   SILVESTRE          SALINAS                NC     90014893588
83433874193127   AMI                SMITH                  TN     90014628741
83435711151362   STEVENS            CATHERINE              OH     66095947111
83436299672432   KELLY              HAMILTON               PA     51019072996
83437191251362   MELISSA            HANKINS                OH     90011611912
83437412777537   BRANDI             WOFFORD                NV     90008854127
83437469747897   NESRIN             ALI                    GA     90015334697
83437483241275   AALIYH             BELL                   PA     90013544832
83437493747897   WANDA              SHEDRICK               GA     90013944937
83437597133698   LATORIA            COUSINS                NC     90013935971
83438374961928   MARIO              GOMEZ                  CA     90012043749
83442566672432   AMANDA             JOHNSON                PA     90012765666
83442699151362   EDUARDO            MARRQUIN               OH     90008966991
83442744493771   ROBIN              HARVEY                 OH     64546397444
83442759797138   ANNA               SMITH                  OR     90014527597
83443273671977   GABRIELLE          TRUJILLO               CO     90014372736
83443733241262   FRANCIS            WALYICK                PA     90006717332
83444352691837   STEFAN             BENALLY                OK     90014573526
83444636333698   JEWEL              SANDERS                NC     90013216363
83444763791975   PAUL               LYNCH                  NC     17086327637
83444894677537   FRANCES            BENSINGER              NV     90010738946
83445183551341   ANGELA             CHARLESTON             OH     90012551835
83447655951341   CAREY              COMBS                  OH     90009656559
83448541391979   LEWIS              HILLARD                NC     90012525413
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83451575277537   JUAN           COLLAZO-LOPEZ              NV     90013205752
83451838533698   TYMESHIA       CAMPBELL                   NC     90014738385
83452334941262   JAMES          NAGY                       PA     51093423349
83452723891837   JESSICA        FOLDS                      OK     21098887238
83452731155945   RALPH          TOPALIAN                   CA     90012817311
83454314977537   ELIZABETH      DURLER                     NV     43091313149
83454611491975   CHANTE         SMITH                      NC     17046046114
83454853371938   DARRYL         DANIEL                     CO     90008758533
83457223191979   ROGER          MONGOY                     NC     90014462231
83457254147897   DORTHEA        DENNARD                    GA     90009682541
83457883341275   AMANDA         PESCHIRER                  PA     51059398833
83458194961928   STEPHEN        SHEVLIN                    CA     90014641949
83461529341275   JOSHUA         HATHAWAY                   PA     90011775293
83461928791558   JUAN           ALARCON                    TX     90001809287
83464232741262   BERMADETTE     COLLINS                    PA     90011042327
83464772255945   RENEE          LOPEZ                      CA     90000147722
83465199747822   MICHEAL        BEASLEY                    GA     90014201997
83466349771938   SABRINA        ADAMS                      CO     90003363497
83468121551598   NUGUSSI        LIGA                       IA     90013791215
83468516572432   MEGAN          GARDNER                    PA     51064675165
83469529691979   FEDERICO       LANDEROS                   NC     90015105296
83472195672432   KAREN          CUBBAGE                    PA     90014311956
83472511491975   ROBERT         DOCTOR                     NC     90000215114
83472954651334   DARYL          METZGER                    OH     66074139546
83473416891265   SHARON         PETREA                     GA     90014714168
83475145133698   ITZEL          JOACHIN-GARCIA             NC     90011151451
83475621641275   DIAMOND        MOORE                      PA     90015356216
83476135155945   MARTIE         ARELLANO                   CA     90010701351
83478265451362   CORY           PHILLIPS                   OH     66088352654
83478556161928   MAXIMILIAN V   HUPERTZ                    CA     90012695561
83479179561928   KEELO          JAMES                      CA     90011521795
83479878233698   STEVEN         KIRSH                      NC     12082658782
83482227547897   JESSICA        CLARK                      GA     90014142275
83482873733698   CAROLYN        KEARNEY                    NC     90013168737
83486877455945   LULA           THUES                      CA     90012948774
83487458693771   PATRICIA       SHIELD                     OH     90014724586
83487675751341   JOHN           MIHAILOFF                  OH     90014896757
83488652391837   CRYSTAL        CLARK                      OK     90008666523
83489196391979   SEAMUOS        PADRIAG                    NC     90010521963
83489735893771   EDWARDO        GALVIAN                    OH     64592807358
83489862151362   JORDAN         ANDERSON                   OH     66098488621
83492575991979   NAZAR          ALKURAIZI                  NC     90011535759
83493429455945   DANIELLE       THORNBURG                  CA     90005274294
83494762393771   LAURA          WILLIAMS                   OH     90001667623
83497857161928   BENYAMEEN      BENYAMEEN                  CA     90013758571
83499388377365   ESISHAKIA      ABDELRAHIM                 IL     20507913883
83499759971938   RENATE         JOHNSON                    CO     32053077599
83511667197138   RODRIGO        ORTIZ                      OR     90009526671
83511913785868   CHARLES        DERR                       CA     90000949137
83512884241275   KIM            SPENCER                    PA     51028018842
83518334441275   KAYLA          ORLIC                      PA     90013543344
83518685551362   RICHARD        KENNARD                    OH     66072146855
83519216393771   LA KEISHA      SHEETS                     OH     90001512163
83521726961928   MAYRA          AGUERO                     CA     90011157269
83521977891975   SARALENA       GRESHAM                    NC     90010099778
83522574371938   STEVEN         YODER                      CO     32008825743
83522722847897   JASON          REESE                      GA     90011197228
83523114971977   JOSE           NARANJO                    CO     38035971149
83523296272451   WANDA          FLOWERS                    PA     90003662962
83523597291837   KRISTIN        HIGNITE                    OK     90011755972
83523699255945   ESPERANZA      SOLANO                     CA     90012206992
83524471877537   LUIGI          PARSI                      NV     90008634718
83524828247822   JERRY          BILLUE                     GA     90010898282
83525175547822   RACHANNA       EVANS                      GA     90012141755
83526971947822   TANGEE         SHINHOLSTER                GA     90014999719
83527236751341   JOHN           WHITE                      OH     90013182367
83527319733698   STARR          STALLINGS                  NC     90006023197
83527362577533   MELISSA        RUSSELL                    NV     90012673625
83527735591975   AMANDA         SHANNON                    NC     90014867355
83529441233698   STEPHANIE      THOMAS                     NC     90005374412
83529651471977   GABE           GALLEGOS                   CO     90003176514
83531149947822   WILLIAM        SMITH                      GA     14095191499
83531436893723   NAKIA          RAKESTRAW                  OH     64587594368
83532161141262   CHARLES        WISE JR.                   PA     51034751611
83532272472432   THOMESINA      SONSON                     PA     90013932724
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83533517291975   JULIE        TAYLOR                       NC     90012095172
83533589241262   PAUL         JACKSON                      PA     90013155892
83533745591393   CINDY        MORRAN                       KS     90011927455
83534555791975   ALDO         GONZALEZ                     NC     90010235557
83534634851341   DALE         THOMAS                       OH     66064316348
83535595977537   JOSE         RIVERA                       NV     90014075959
83536278677537   DAVID        SMITH                        NV     43085212786
83536672591975   VEENA        GULATI                       NC     90011516725
83536869541275   GINA         HIMEL                        PA     51040678695
83537289377537   PABLO        SANCHEZ                      NV     90014172893
83538361993771   RONNESHA     JONES                        OH     90011083619
83538419955945   ASHLEY       GONZALEZ                     CA     90014954199
83538459241275   ERIC         SMITH                        PA     90015254592
83539145541262   LEILANI      MITCHELL                     PA     51070861455
83539584777537   PABLO        GARZA                        NV     90011425847
83541129941262   WANDALYN     MIDDLEBROOK                  PA     90011121299
83541286141262   DENNIS       CARINI                       PA     90007562861
83541339291979   DONALD       BURNETT                      NC     17073153392
83543386677537   ROSVELT      WILSON                       NV     90012523866
83543531651362   LISA         DETHERAGE                    OH     66070885316
83544397891979   MARIBEL      RAMIREZ                      NC     90013333978
83544451897138   CRISTINA     SOLORIO                      OR     90010154518
83544567341275   TAMIE        MYERS                        PA     90006195673
83547266897138   JASON        HOGAN                        OR     90009132668
83547477985856   MARGARET     CALHOUN                      CA     46035854779
83548586551341   ALEXANDER    DISTEF                       OH     90015495865
83549417961928   STEVEN       ARNQUIST                     CA     90010324179
83551214991837   PRESTON      TATRO                        OK     90010492149
83551443772432   CHAD         POLITAN                      PA     90011874437
83551446791979   VELMA        MACK                         NC     17080014467
83551517291975   JULIE        TAYLOR                       NC     90012095172
83552161871938   KEITH        ROBERSON                     CO     32094421618
83555462372432   OLANIYAN     SAMBA                        PA     90013934623
83556433885856   ADONIS       JOSE                         CA     46096764338
83558289747822   MARQUEZ      TUKES                        GA     90014452897
83558584755945   MIGUEL       ESCOBEDO                     CA     90002155847
83559182533698   CASSANDRA    HILL                         NC     12014781825
83559392691979   JASON        PRETTY                       NC     90012833926
83559824133698   CASSANDRA    HILL                         NC     90015168241
83562429455945   DANIELLE     THORNBURG                    CA     90005274294
83562466147897   LATHASA      GREENE                       GA     90011114661
83565144397138   LEAH         BLUM                         OR     90011451443
83565161871938   NATALIE      MORENO                       CO     32047261618
83566182777537   YASMEEN      PUGH                         NV     90010331827
83566551191837   DAVID        TEMPLETON                    OK     90014575511
83568392351362   NATHAN       LAY                          OH     66082843923
83568468791837   STEVEN       CULVER                       OK     90014724687
83568754397138   OBDULIA      CORNEJO                      OR     44040457543
83569946671933   TAMI         NEWBY                        CO     32095039466
83572167147897   WILLIE       REEVES                       GA     14012441671
83574367121633   SHANDALYN    WOODS                        OH     90013833671
83575839471977   CHRISTINA    SMITH                        CO     90015218394
83575978897138   BENTTI       NED                          OR     90008009788
83576177561928   CECILIA      IBARRA                       CA     90010141775
83576518451362   KENESHA      KENNY                        OH     66038825184
83577727355945   ELOY         MORALES                      CA     90013797273
83577771497138   SHANNON      SMITH                        OR     90005247714
83577984847897   ANTOINE      WATLINGTON                   GA     90012979848
83578897772432   TRACEY       WARD                         PA     90011288977
83579154491558   MARTHA       RAMIREZ                      TX     75025901544
83579921441262   LAVEE        SLOAN                        PA     90007099214
83581138771938   ANDREY       WILLIAMS                     CO     90013591387
83581196591975   GREGORY      BLEDSOE                      NC     17060261965
83581446491947   VILMA        DAVIS                        NC     90013224464
83581642672496   JAMES        JACKSON                      PA     51075766426
83581661493771   ROBIN        LAMB                         OH     90013186614
83582232155945   LEONARDO     GUTIERREZ                    CA     90014812321
83582926733698   ASHAIYA      MOODY                        NC     90013939267
83583556977537   ALBERTO      CORDOVA                      NV     90002745569
83584325997138   GRACE        PORRAS                       OR     44035323259
83584934233698   ANAYELI      ROJAS                        NC     90013939342
83585522333698   DONNA        SCALES                       NC     90014195223
83586243755945   RONDA        GRAY                         CA     90010862437
83586414997138   PETER        HAVGETT                      OR     90014924149
83587226741275   TIMIKO       HAWKINS                      PA     51030812267
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83587379672432   JENNA        WORRY                        PA     90014933796
83588638171933   SHANON       BRIZAL                       CO     32063586381
83588799171977   ILDE         DIAZ                         CO     38047527991
83589482391355   SERGIO       VAZQUEZ                      MO     90007454823
83589532693766   AMY          WALLACE                      OH     90008575326
83589941941275   REGINALD     FRANKLIN                     PA     90013869419
83591698871977   FRANCISCO    LOPEZ                        CO     38086406988
83592612555945   FRANCISCO    LOPEZ                        CA     49083506125
83592922197138   MELODY       TISON                        OR     44056109221
83593189951577   TIECHBOR     RIK                          IA     90013931899
83593331871938   LAQUAN       MICKENS                      CO     90007573318
83594678133698   JEFFREY      BEAL                         NC     90013066781
83594843177537   JUAN         MEJIA                        NV     43023298431
83595155985856   SUSAN        LANCE                        CA     46070901559
83596286991975   EBONNE       MARSHALL                     NC     90003482869
83596582451362   MELISSA      HAYS                         OH     66083665824
83597141447822   JOSE LUIS    GOMEZ                        GA     90014211414
83597635441262   FIONNA       BARNES                       PA     90013156354
83598696171938   NATHAN       BRESCI                       CO     90004036961
83599592177537   SARENA       WEBSTER                      NV     43097345921
83611772841275   DEBBIE       LAVRICK                      PA     90005227728
83612862551362   MOLLY        ANGEL                        OH     90010088625
83613373197138   SHELDON      WILSON                       OR     90014603731
83613635561928   MIGUEL       VALENCIA                     CA     90011856355
83613753371938   TRAVIS       JOHNSON                      CO     90012837533
83614161691837   BARVELL      PATRICK                      OK     90014851616
83614224141262   WILLIAM      REBEL                        PA     51023102241
83616177272432   ASHLEY       WADSWORTH                    PA     90014711772
83617149271977   CRYSTAL      GONZALES                     CO     90013871492
83618683541262   DANIEL       VOITH                        PA     90013156835
83618738141275   BONNIE       SPADARP                      PA     51011947381
83619447672432   SAMUEL       JURKOVICH                    PA     90013114476
83621322755945   OLIVER       ULLOA                        CA     90014563227
83621482651362   WILLIAM      YATES                        OH     90014164826
83621739191837   MIA          LAO                          OK     90014577391
83622347861928   ROSHANDA     PRICE                        CA     90012993478
83622514241262   SYLVIA       COFFEY-BREWER                PA     51076535142
83622711371977   SEBASTIAN    ERNESTO SENA                 CO     38016817113
83624387885936   CLARICE      LANG                         KY     90005373878
83624656547897   TRACEY       THARPE                       GA     14095676565
83624719971938   STEPHANIE    HARRIS                       CO     90010047199
83625493251362   OLGA         PALAFOX                      OH     90014164932
83626122291837   TAMIRRA      JEFFERSON                    OK     90011761222
83626196471938   JORGE        LUNA TRUJILLO                CO     90015181964
83626233641275   TIERRA       HALFKENNY                    PA     51055982336
83627133141262   JASON        GARASICH                     PA     51027581331
83628757897138   GONDINEZ     DANIEL                       OR     90003277578
83629168697138   ALEJANDRO    ORTIZ                        OR     44046321686
83629681451362   STEPHANIE    FLARIDA                      OH     66077006814
83632361347822   KESHIA       LESTER                       GA     90014213613
83632751191979   IVAN         HERNANDEZ                    NC     90015617511
83634652551363   MELISSA      LANE                         OH     66012866525
83635752885936   JAMES        BEACH-ASHBY                  KY     90002507528
83636326491975   EDITH        LUVUMINA                     NC     90003853264
83636571993771   CINDY        SPIVEY                       OH     64592525719
83636915797138   JOSE         ISIORDIA                     OR     90015119157
83637925571977   KODY         VANMATRE                     CO     90012329255
83638229572496   ADAM         HILLIARD                     PA     90004542295
83638285997138   CATHLYN      THIESSEN                     OR     90013882859
83638871951362   JACK         THOMPSON                     OH     66093518719
83639968977537   LETICIA      JIMENEZ                      NV     90013259689
83641667791975   TYRONE       PRESTON                      NC     90015616677
83643169691837   SERGIO       RAMOS                        OK     90011761696
83645668991975   SONYA        LONGMIRE                     NC     90003166689
83645869285936   BEVERLY      KEESECKER                    KY     90005938692
83645931755945   DYNEEKA      MULLIN                       CA     90011019317
83647265591975   MATTHEW      SUMMERVILL                   NC     90014602655
83648196785856   SEBASTIAN    SILVESTRE                    CA     90001021967
83648573485936   MARK         JOHNSON                      KY     90001965734
83649158371977   RICKY        LOPEZ                        CO     90012411583
83649646861977   SYDNE        REA                          CA     90014726468
83651192651333   TAMEKA       DOZIER                       OH     66003261926
83651797291837   JOSHUA       RUSSEL                       OK     90014577972
83652263951341   CHARITY      JONES                        OH     90014042639
83652964393771   ASHLEY       ISBEL                        OH     64537419643
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83653832297138   MILLIE         YOUNG                      OR     90014948322
83653894777537   THOMAS         DANCER                     NV     43006308947
83654342372432   LISA           MORGAN                     PA     51080473423
83655722431435   BARRY          SMITH                      MO     90011527224
83656335561928   DELAWRANCE     WILLIAMS                   CA     90012543355
83657119833698   PEGGYE         BAKER                      NC     90001511198
83657734771938   MARIA          NORIEGA                    CO     90011497347
83657757391979   KENDAL         HINTON                     NC     90014857573
83658894393771   SHERI          WILLIS                     OH     64534208943
83661518971938   TRUJILLO       KATHRYN                    CO     32026345189
83662223555945   MARCOS         RAYA                       CA     49014952235
83662735633698   AMBER          TAYLOR                     NC     90007647356
83663752233698   RAYMUNDO       MONZON                     NC     90015597522
83665514391979   CHANELLE       SINGLETARY                 NC     90010535143
83665929697138   JOSEPH         MICHAEL-JUNG               OR     90002919296
83666133951362   DANIEL         FOCKE                      OH     90013111339
83666188497138   BRANDE         BRACKEN                    OR     44010621884
83666718241262   SONYA          WORLDS                     PA     90013137182
83669855147822   KAQUELINE      HALL                       GA     90010838551
83671473891981   NANCY          KING                       NC     90010614738
83671891271938   JONATHAN       SHELLSTROM                 CO     90015338912
83672494171938   PEDRO          CASTRO                     CO     32057934941
83673416571977   IESHA          VARELA                     CO     90002404165
83673716277537   MICHAEL        GHIGLIERI                  NV     90007337162
83674181533698   DETAVAIUS      MILLER                     NC     90012951815
83675613493771   DANIEL         SCHROYER                   OH     64518336134
83676132651362   CHARMAINE      RAYFORD-DAY                OH     66067761326
83677447833698   KECIA          MCAULEY COUCH              NC     12005694478
83677727491979   FELICIA        BEANE                      NC     90015087274
83678737472432   ANGEL          CHANEY                     PA     90015017374
83679356297138   DOKOTA         HEUBERGER                  OR     90014293562
83681312151577   REBECCA        GALE                       IA     90014443121
83681799671977   DAVID          BACA JR                    CO     38009397996
83682251593771   MELISSA        BURNEKA                    OH     90013952515
83682832855945   FRANK          WARE                       CA     49064118328
83685629497138   GILBERTO       FRANCO                     OR     90012326294
83686264571938   JOSELO         MORALES                    CO     90000142645
83689238591979   STARLETTA      MUSUNGAY                   NC     90014922385
83689938691975   MADELEINE      NDALA                      NC     90014859386
83691163471977   ERIC           RIVERA                     CO     38006131634
83691559191979   JUAN           TORRES                     NC     90009405591
83691747833698   SARITA         WILLIAMSON                 NC     90012257478
83693716293771   JUSTIN         SCHIEWETZ                  OH     64506167162
83693894777537   VERINDER       SINGH                      NV     90015108947
83695532197138   ELSA           CIBRIAN                    OR     44071435321
83696913891975   BRUNO          ASOBO                      NC     17077189138
83696934447897   ALLISTER       ROBINSON                   GA     90008079344
83697446191837   DANIEL         WHISENHUNT                 OK     90011764461
83698916841262   WENDY          MCCUE                      PA     51021439168
83699365841275   JILLIAN        LEWANDOWSKI                PA     90014713658
83712148391979   NATHAM         MASSENBURG                 NC     90012531483
83713276133698   EFREN          HERNANDEZ-CRUZ             NC     90013942761
83713398451328   JUNE ANN       GESNER                     OH     66095803984
83713875851362   ASHLEY         ESTRIDGE                   OH     90002498758
83714732584351   EMILY          SALLEE                     SC     19077777325
83715183671938   JAMES          MILLER                     CO     90006591836
83715916572496   JOSHUA         BOSSINGER                  PA     51078179165
83717917472496   CHALEA         PERRI                      PA     51016609174
83718358841275   ALEXZANDRA     FISHER                     PA     51011443588
83719317597138   MARISELA       ZAMORA                     OR     44089193175
83719549171938   BONNIE         CARVEY                     CO     90015225491
83724844797138   GEORGE ALLEN   ZERKEL                     OR     90006408447
83724899771938   EVELYN         UVALLE                     CO     90003598997
83725821297138   ANGELA         GISH                       OR     44066938212
83726377271938   RAMIRO         GODINEZ-DIAZ               CO     90014753772
83726751761928   BRENDA         STEWART                    CA     90012237517
83727916391837   JAMES          GALLOUP                    OK     90013919163
83729286361928   MOHAMMED       SHAARAN                    CA     90012822863
83729784241281   JOE            KINGSTON                   PA     90015327842
83731968157128   SHANNON        DAVIS                      VA     90008449681
83732578897138   JOSE           SALAZAR                    OR     90005195788
83733291433698   REBECCA        MABE                       NC     90010012914
83733478391837   DRUE           JOHNSON                    OK     90014584783
83734336371938   JORDAN         PRIETO-PEREZ               CO     90010973363
83734478391837   DRUE           JOHNSON                    OK     90014584783
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83736295671938   ROSA          VIGIL                       CO     32090462956
83736619477537   ANDREW        ALVARADO                    NV     43082196194
83737482391355   SERGIO        VAZQUEZ                     MO     90007454823
83737658241275   KEITH         KELEMEN                     PA     90014046582
83738152272496   JERRI         MILLER                      PA     51071111522
83738364691975   DEBRA         BARBOUR                     NC     90015093646
83739362641275   JONATHAN      MENEFEE SR                  PA     90013403626
83741238591979   STARLETTA     MUSUNGAY                    NC     90014922385
83741263151341   MICHAEL A     MILLER                      OH     90014982631
83742655497138   DUANE         RUTHERFORD                  OR     90012276554
83743537297138   STANLEY       FORD                        OR     90008705372
83744236633698   RUSSEL        CALNAN                      NC     90014082366
83744318477537   ROSHELL       SUMMERVILLE                 NV     90014583184
83747329233698   ISAYANA       BORGES                      NC     90013943292
83748534271938   STEVE         HOLCOMB                     CO     32093425342
83751175193771   ARMANDO       MENDEZ ALARCON              OH     90012281751
83751589877537   VANESSA       GRANADOS                    NV     43072345898
83752298791975   DEICY         ALVAREZ                     NC     17092012987
83752952591837   JAMIE         HALL                        OK     90005639525
83753596861928   PAULA         GANT                        CA     90010875968
83754216191837   SHANNON       POGUE                       OK     90012792161
83754992993771   DARNELLE      SHACKLEFORD                 OH     90012549929
83755218291837   ANGIENATTA    AYERS                       OK     90012792182
83755453371938   BETTY         CHACON                      CO     32014404533
83755741172432   TAMMY         SHAW                        PA     51096837411
83757176651341   GORDON A      FERGUSON                    OH     90011511766
83758125147822   LASHONDA      HAMMOCK                     GA     90014231251
83759497751341   PEGGY         BASS                        OH     90001324977
83759732272432   DONNA         CARPENTER                   PA     51090217322
83759766551362   DONNA         STOUT                       OH     90009717665
83761488391837   MARLAINA      PERKINS                     OK     90014584883
83763248493771   JAKE          WILLIAMS                    OH     90007672484
83763531361983   STEVEN        HUFFMAN                     CA     46036255313
83763775451341   RONANDO       YATES                       OH     90010737754
83764873672496   BONNIE        OLIVER                      PA     51063158736
83765488391837   MARLAINA      PERKINS                     OK     90014584883
83765491572496   HARRY         TRAUTMANN                   PA     51036564915
83765571151341   AESHYA        COMBS                       OH     90011125711
83766522391975   COMBS         MIRANDA                     NC     17004775223
83766673372432   STEPHANIE     BENACK                      PA     90013966733
83767152741275   JONNIE        WHITNEY                     PA     90014511527
83767985151341   STACY         WALTER                      OH     66011529851
83768176285856   MARIA         SANCHEZ                     CA     90010131762
83768774661928   VANESSA       ENRIQUE                     CA     90012657746
83768913333698   JULIA         SERRANO                     NC     12071999133
83769588533698   TEKOAH        BELL                        NC     90011055885
83769831585856   MIRIAM        LEO                         CA     46020528315
83769836771977   THOMAS        STEVENS                     CO     90006298367
83769953161928   ABEL          BELLO                       CA     46066559531
83772278291979   RODNEY        MOORE                       NC     17039032782
83772522771977   RICHARD       OWENS                       CO     38044815227
83773969497138   RANDI         CLIFFORD                    OR     44059889694
83774641355945   AIOTEST1      DONOTTOUCH                  CA     90015116413
83774789797138   KRISTIAN      MOGSTER                     OR     90014427897
83775196655945   DEBORAH       GEORGESON                   CA     90007381966
83775956693771   KEN           MILLS                       OH     90008959566
83777625141275   WILLIAMS      MAURICE                     PA     90006506251
83777947291525   RAFAEL        MARQUEZ                     TX     90012999472
83779194155945   ZINA          VELA                        CA     90004011941
83779254791837   CHRISTOPHER   FISHER                      OK     90014592547
83779419191975   ONEAL LATAY   TONYA                       NC     90013714191
83781364197138   ALESHA        FORSYTHE                    OR     90013903641
83783784672432   THOMAS        MARREE                      PA     51085117846
83784412247897   ANGIE         HALL                        GA     90014894122
83784974591979   FRANCISCO     BELLO-CATALAN               NC     90003989745
83785211151362   TAHMISKA      GROSS                       OH     66001872111
83787446351341   JAMES         PAGGETT                     OH     90014824463
83789382141275   ANTONIO       BROWN                       PA     90013963821
83789669391837   MICHEAL       HAMPTON                     OK     90011766693
83789835751332   LAWRENCE      MALCOM                      OH     90008848357
83791217561976   SAFAA         ALHANNO                     CA     90010962175
83791235561928   MARIA         TAMAYO                      CA     46093752355
83791325172432   SHAWN         NAJOWICZ                    PA     51016463251
83791645471977   JESUS         VALLES                      CO     90003796454
83792733171938   CYNTHIA       AREVALO                     CO     32097867331
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83793155197138   ICLE         DUNCAN                       OR     44043921551
83793847877537   MELVIN       HOLT                         NV     43032288478
83794788491934   TONI         GEORGEVICH                   NC     90013797884
83794937351341   GABRIELLA    BELMONT                      OH     90010369373
83795671161928   HOTSHA       WEAVER                       CA     90009366711
83796574171938   RUBEN        GUZMAN                       CO     32022375741
83797661271977   FELIX        CORDOVA                      CO     90010146612
83797955955945   CONCEPCION   DEESCOBAR                    CA     90014279559
83798685493747   KYLE         WILLIAMS                     OH     90007796854
83799444993127   ELIZABETH    DELAGADO                     KY     90005994449
83799466791242   ROGER        VASQUEZ                      GA     14589814667
83799622391979   TRUDY        LIGHTBOURNE                  NC     17055256223
83814175171938   WILLIAM      GREEN                        CO     90013421751
83814199561928   RUTH         ACEVEDO                      CA     46004551995
83814535697138   NOE          HERNANDEZ DOMINGUEZ          OR     90013785356
83814668155945   GILBERTO     CHAVEZ                       CA     49017496681
83815268691837   ADOLFO       LOPEZ                        OK     90014592686
83815746671938   JONQUIL      HAYWARD                      CO     90015167466
83816173291837   JEREMY       PENDERGRAFT                  OK     90014581732
83816854351362   JOHN         SPANYER                      OH     90015048543
83822334597138   HILDA        LOPEZ BRAVO                  OR     90011093345
83822864685936   CHRIS        FARMER                       KY     67061618646
83823856591979   MARIA        MENDOZA                      NC     17039598565
83823861251341   BRIAN        DAVIS                        OH     90014448612
83824158385856   ADRIENNE     MCFEDDEN                     CA     46047301583
83824186633698   DEANN        COLLIN                       NC     90010931866
83824243271938   LEONEL       ESTEBAN                      CO     90013592432
83824394691532   LUZ          GARCIA D                     TX     90007993946
83825589661928   CARLOS       SALCEDA                      CA     90009625896
83825748577537   ANGELIK      PILLIAS                      NV     90013977485
83825828591837   OCEAN        MIZELL                       OK     90011768285
83827535633698   DAVID        CRAWFORD                     NC     90013975356
83827564991979   LAURA        OVALLES                      NC     17089225649
83827777271938   JULIE        GAGNON                       CO     32017777772
83828345347822   ARDARRYUS    HARPER                       GA     90011133453
83829824997138   AZUCENA      HERNANDEZ                    OR     90013988249
83832357677537   DAN          OLSON                        NV     43006753576
83832662561928   PRISCILLA    MARTINEZ                     CA     90007896625
83832796347897   MARCHELL     MAXWELL                      GA     90009067963
83833815847897   SHEKIERA     BATTLE                       GA     90013968158
83834228433698   OMAR         CRUZ                         NC     90010452284
83834364761928   SERGIO       LOPEZ                        CA     90007593647
83835389372432   VALERIE      BROWN                        PA     51039573893
83835447833698   KECIA        MCAULEY COUCH                NC     12005694478
83836876141275   HEATHER      HARRINGTON                   PA     90007568761
83837578333698   SOURINH      SOMRASMY                     NC     90013945783
83838661585856   HALEY        HOBBS                        CA     90008526615
83838976581629   CARMEN       JURADO                       KS     90013379765
83839562591975   JOSE         MARIO                        NC     90013675625
83839843947822   ANN          COLEY                        GA     90011448439
83843746841262   CRISTINA     FORTINO                      PA     90013167468
83845199593127   JOSHUA       GARZA                        TN     90008891995
83845514355945   KATIE        FIFE                         CA     90006395143
83845778671977   AARON        BROWN                        CO     90014457786
83845852181673   ROBERT       STANTON                      MO     29001238521
83846319451362   MARTINA      WARD                         OH     90014553194
83846832377537   DEBRA        CLEMENT                      NV     43089498323
83848113172432   MICHAEL      RICHIE CO MHA                PA     90008431131
83849856271977   BRETT        MYERS                        CO     90010698562
83851257261928   JOSE         BAHENA                       CA     46038852572
83851754771977   JUSTIN       HORN                         CO     90001067547
83851856572432   BROOKE       SCHWEITZER                   PA     90012198565
83851916397138   FABIOLA      MARTINEZ JUAREZ              OR     90014349163
83852214671938   BALTAZAR     JAIME                        CO     32067112146
83852416277537   ESTELA       SERRANO                      NV     43009674162
83852422255945   NICK         ALVARDAO                     CA     90008864222
83854229291975   LATANYA      LANGSTON                     NC     17011312292
83854383393771   KIM          CLAY                         OH     64538813833
83855317441275   PAULA        CARMAN                       PA     51012443174
83855332971977   MELISSA      ACEQUIA                      CO     90014563329
83855637971977   ISAIAH       VIALPANDO                    CO     90013706379
83856251451362   TORI         MILLER                       KY     90015032514
83856724297138   ISAR         RAMIREZ                      OR     90009527242
83857577955945   RITA         PARRA                        CA     49055205779
83858717997138   CHRIS        EGGEN                        OR     90014717179
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83859923871977   BRIAN        FLORES                       CO     90014319238
83861651891979   JONATHAN     GREENE                       NC     90015066518
83862215985936   WILLIAM      HOWARD                       KY     67091852159
83862254151362   TIMOTHY      MALONEY                      OH     90009582541
83862315451351   HENRY        REED                         OH     90009523154
83862589372432   TRICIA       CHURCH                       PA     90014095893
83862746341262   ROBERT       WALSH                        PA     90004007463
83863727891837   BRENDA       CALDWELL                     OK     90014587278
83863983272496   CHRISHELLE   MCCANDLESS                   PA     51073929832
83864242884336   BELVA        JAMES                        SC     90012492428
83864255871938   THOMAS       QUICK                        CO     32007792558
83864262933698   JAMES        DONEGAN                      NC     90012952629
83864726961928   MAYRA        AGUERO                       CA     90011157269
83865147993771   DONALD       KELLY                        OH     90014611479
83867516555971   MARIA        SANTOS RUIZ                  CA     90001675165
83868769355945   GREGORY      PEREZ                        CA     90011897693
83869283377537   YVONNE       MCMILLIAN                    NV     90012582833
83869713191837   RAUL         TEJEDA                       OK     90009827131
83871455493771   JASHANNA     BRYANT                       OH     90011854554
83871587541275   TRAVIS       COURTEMANSHA                 PA     51059795875
83871981391979   IBRAHIM      HOPE                         NC     90004679813
83872244461957   SERGIO       REYES                        CA     46044422444
83872864372432   JACQUELYNN   SANDERS                      PA     90000538643
83872873733698   CAROLYN      KEARNEY                      NC     90013168737
83872983261928   ARNULFO      MENDIVIL                     CA     46044929832
83875992372432   JEANNETTE    ROSS                         PA     90013169923
83876773651362   SHANNON      STARKS                       OH     66010297736
83877513572496   JESSIE       BAILEY                       PA     90011865135
83877756655945   ERIC         HOOKS                        CA     49083677566
83877884793783   ABDALLAH     QAQA                         OH     90013768847
83879686191242   LAWRENCE     BOYD                         GA     90003136861
83879835861928   MARIA        GONZALEZ                     CA     46067608358
83879839277537   RANDALL      BERG                         NV     43050448392
83881394671977   BILLY        DAVIS III                    CO     90009163946
83882422371956   JAMES        ORTEGA                       CO     38009054223
83882439147822   PATTY        HICKMAN                      GA     14093684391
83882678661928   IHSAN        SEIFULLA                     CA     90009546786
83883698391975   BETHANY      LADOUX                       NC     90013136983
83884427672432   MICHAEL      RODIA                        PA     90014144276
83884647871977   HUGO         LIZANDRO                     CO     90012116478
83884675677537   JOSE         IZQUIERDO                    NV     90014076756
83884737891979   JORGE LUIS   DOMINGUEZ CHONTAL            NC     90004967378
83885692451341   GLORIA       SILAS                        OH     66047836924
83886236171977   ANTHONY      MUNIZ                        CO     90006512361
83886954371977   STEVEN       ARCHULETA                    CO     90010719543
83888323393724   REBECCA      BEZICH                       OH     90009513233
83888388877537   LYNN         BUFFMIRE                     NV     43064263888
83888833985623   PAULA        MARTINEZ                     NJ     90012768339
83891792172432   JENNIFER     WALLACE                      PA     51065867921
83892173391979   RHONDA       HORTON                       NC     90015451733
83892518493771   OLIVIA       REINE                        OH     64502225184
83892673947822   TIA          HALL                         GA     90013986739
83892765491979   REBECA       GASPAR                       NC     90009387654
83893926791975   SANTOS       HERNANDEZ                    NC     90011049267
83894623291837   ANGELES      MUNOZ                        OK     90006706232
83894718347897   LVETIUS      WEDLOW                       GA     14027267183
83895684391837   CAROLINA     BOLANOS                      OK     90014586843
83896411172432   JAMES        CHANEY                       PA     90008714111
83896956271938   KEVIN        ROSAS                        CO     90014649562
83896977271977   LUCY         WHEELER                      CO     38090899772
83897326471977   IRENE        VIGIL                        CO     90014353264
83897699193763   KRISTIE      WORLEY                       OH     64554306991
83898573991975   TONYA        LAWS                         NC     17013705739
83898754297138   ANTIOCO      DIAZ                         OR     90009207542
83899112671977   DOUGLAS      VIGIL                        CO     38050891126
83899513471938   GABRIEL A    CEBALLES                     CO     90014345134
83899911172496   ANDREW       MCCUE                        PA     90007059111
83911215433698   MYQUAN       ARANT                        NC     90013992154
83912183891979   EUGENIA      CLAYBORNE                    NC     90014031838
83912895591975   AYANA        EADDY                        NC     17006558955
83913831372432   CHRIS        SMITH                        PA     90014148313
83914525847897   STEVE        FED                          GA     90011155258
83914779147897   JESSICA      LATTIMORE                    GA     90015027791
83914836572432   BOBBY        JONES                        PA     90014148365
83916411771938   CASSIE       GARCIA                       CO     90014954117
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83917637647897   JASON          WHALA                      GA     90013586376
83918192447822   KIERRK         OLIVER                     GA     90003741924
83919578697138   VALERIE        YOUNG                      OR     90013805786
83919866147822   LATASHA        SPENCER                    GA     14041668661
83921476755971   MIKE           SLAYTON                    CA     90003594767
83921579572432   JAMIE          STUDT                      PA     90014155795
83922224791837   BROOK          JANE                       OK     90006522247
83922486172432   KARAC          STIMMEL                    PA     90007234861
83923453761928   ROSA           TORRES                     CA     90007594537
83924112433698   LAKISH         CARTER                     NC     12095551124
83924655951362   JOAQUIN        DUENAS                     OH     90014176559
83925817391979   KASIB          SALAAM                     NC     90013418173
83926845272432   ALEX           CROSS                      PA     90014148452
83927942151362   WILLIAM        BRANDENBURG                OH     90011679421
83928598761928   REBECCA        FARLEY                     CA     90012665987
83929136441262   JUSTIN         BETTS                      PA     90009531364
83933329971938   BRYAN          LOVE                       CO     90009383299
83933342471977   GIO            LAVE                       CO     90014383424
83933661991979   DARRYL         CURLETT                    NC     90012396619
83934934877537   ASHLEY         OLSEN                      NV     90006799348
83935165871977   ROSE           MARTINEZ                   CO     90009621658
83937487871938   DONNA          BENTLEY                    CO     90000144878
83937722251341   JESSICA        LEECE                      OH     90014777222
83939271571938   ROVERT         ARTHUR                     CO     32077162715
83939367961928   SILVIA         LOPEZ                      CA     46065863679
83939475891837   JERRI          LOVE                       OK     21087284758
83939679333698   RYAN           HAGA                       NC     90013096793
83944153641275   STEPHANIE      JOHNSON                    PA     90013511536
83944369171977   ANDREA         HIGGINS                    CO     38066093691
83944614793771   BRIANNA        RIGDON                     OH     90015316147
83944819891979   ALICIA         SPRINGER                   NC     17063068198
83945135193771   ROBERT         WINSTON                    OH     90014701351
83945186472432   NOAH           HILVERDING                 PA     90014181864
83945943733698   KIMBERLY       SOUTHERLAND                NC     90011069437
83946251591979   MARVIN         RIVERA                     NC     90009592515
83947657471938   CARLA          HUMPHREY                   CO     32036246574
83947694297138   NOLAN          WALLING                    OR     90008946942
83949673655928   MARIA          RODRIGUEZ                  CA     90010526736
83951628997138   JAZ            MARTINSON                  OR     90006236289
83951865991979   BENSON         OLOWOMUKE                  NC     90011198659
83952819191979   MAGDALENA      RIVERA                     NC     90014858191
83953112241262   PAUL           FAYE                       PA     90013961122
83953158241275   TERRI          BALTIMORE                  PA     51091451582
83954953833698   CYNTHIA        ORTEGA                     NC     90015119538
83955148397138   REX            SHELDON                    OR     44020961483
83956334761928   FAREN          MEIR                       CA     90014543347
83956581571938   CHRIS          HARTMAN                    CO     32081335815
83957149197138   RANDY          FLOYD                      OR     44013231491
83958125251341   JAQMES         WOCHER                     OH     90013051252
83958228451341   ROSA MARIA     RIVERA                     OH     90006662284
83958364347822   KEYONNA        LITTLE                     GA     90011043643
83958422455945   BRUCE          LEE                        CA     90014704224
83958443451374   TIMOTHY        LEHMKUHL                   OH     90013644434
83958521672496   CHARLES        WHEELER                    PA     90008315216
83959282436121   ROXANNA        SANCHEZ                    TX     90004772824
83959422691837   JUAN DE DIOS   HERNANDEZ                  OK     90011774226
83961783391837   CRYSTAL        WARFORD                    OK     90014587833
83961965871977   LUCIO          MEDINA                     CO     90010699658
83962264693771   RICHARD        ADKINS                     OH     90015152646
83962797633698   LATASHA        MILLER                     NC     90012247976
83962933581691   SANDRA         MANN                       MO     90006449335
83963456391979   DONNA          WELLS                      NC     90012864563
83963481591837   SOLANGEL       LOPEZ                      OK     90011774815
83964213591242   LOLITA         MOORE                      GA     14514132135
83964777985856   ANTHONY        ALCANTAR                   CA     46062277779
83964933581691   SANDRA         MANN                       MO     90006449335
83965921891975   DEREK          WATKINS                    NC     90013679218
83966462191975   ELVIRA         ALVAREZ                    NC     17096724621
83966721691837   RAQUEL         TRUJILLO                   OK     21026577216
83967975497138   KELLI          RODRIGUEZ                  OR     90013559754
83968745391837   VALERIE        JACKSON                    OK     90006427453
83969425272432   LINDA          COMFORT                    PA     90014164252
83973368647921   LASANDRA       PERRY                      AR     90011673686
83974977591975   FAWZIA         SALAHUDDIN                 NC     90012239775
83975472241262   NEYJU          RONDON                     PA     90009784722
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83975767533698   MIRIAM       HERNANDEZ                    NC     90013127675
83976238851362   SKYLAR       HUGHES                       OH     90013072388
83977386272432   LAURA        LEE                          PA     51088653862
83977648693771   BARBARA      DODRIDGE                     OH     90012086486
83978741371938   SCOTT        BRUMMETT                     CO     90011897413
83979377851341   GUSTAVO      VERAZA                       OH     90007933778
83981765693771   MAUREEN      CHARTRAND                    OH     90001317656
83982972171977   EMMANUEL     RATHELL                      CO     90012119721
83983351277537   BRANDIE      WEST                         NV     90012723512
83983519751341   TIM          CURRIN                       OH     66068415197
83984888891532   EMMANUEL     MAGANA                       TX     90007568888
83986117551333   MONESHA      HARRIS                       OH     90008881175
83986583161977   SHEILA       DAVIS                        CA     46076885831
83987283993771   MATTHEW      PARRIS                       OH     90012422839
83987767291975   SHANIQUA     JULLY                        NC     90002357672
83988927851362   VICKIE       ADKINS                       OH     90011189278
83989741993771   DIANNA       ROMINE                       OH     64595817419
83992118751362   RANDALL      BARRETT                      KY     90006431187
83993337461928   DAVID        GARCIA                       CA     46040443374
83993992271977   APOLONIO     FIERRO                       CO     90002739922
83994278261957   PETRA        CANDELARIA                   CA     46003602782
83995138955945   JUAN         SANCHEZ                      CA     90014751389
83996219555945   DIANE        JIMENEZ                      CA     49083682195
83996219851341   KIMBERLY     CHENAULT                     OH     90014652198
83996447471977   JUSTINE      GARCIA                       CO     90002714474
83996847391837   TANESHIA     JONES                        OK     90014588473
83998543751362   ERIC         WUNDER                       OH     90002275437
83999711897138   VICKY        MERCADO                      OR     90010347118
84112328685936   SATYN        YOUNG                        KY     90011883286
84112857491837   JORGE        LOPEZ SANCHEZ                OK     90013688574
84113361577537   MICHELLE     BARCENAS                     NV     43059673615
84114585961928   PATRICIA     LESCANO                      CA     90013395859
84114682761934   TERESA       NIEBLA                       CA     90012336827
84115664677537   LUIS         CABALLERO                    NV     43009146646
84115769871977   RAINA        HART                         CO     38047617698
84116766593771   JEFF         SNIDER                       OH     64528357665
84119318291975   PEDRO        CHAVEZ                       NC     90011163182
84119332251531   MARIA        RODRIGUEZ                    IA     90014573322
84119738151362   JONTE        JANETTE                      OH     90010517381
84121659691583   DENISSE      MOLINA                       TX     90004296596
84123458151333   PETEY        GREER                        OH     66033424581
84123844391975   ANA KARINA   JUAREZ ORTIZ                 NC     90013648443
84124839991837   ROGER        ANDERSON                     OK     90014138399
84124864591975   PABLO        FLORES                       NC     17051768645
84128481661928   JORGE        ESCALANTE                    CA     46064734816
84128849983142   AARON        JOHNSON                      CA     90014458499
84129237191837   JOSE         GAYTAN                       OK     90010972371
84132389293771   BRAD         LEWIS                        OH     90012443892
84132579385946   CHASITY      WILLOUGHLAY                  KY     90007795793
84132785991975   DARWIN       AMADOR                       NC     90004907859
84132859261934   ROSA         ERDING                       CA     90007488592
84133927691975   SEIFU        BABOTA                       NC     90007449276
84137258941262   HAROLD       MICHAELS                     PA     90003652589
84139693241262   VICTORIA     HAYES                        PA     90013256932
84141664991979   ROLANDO      MATOS                        NC     17014026649
84141729991837   ARELIZ       ESPARZA                      OK     90012267299
84141972647897   LAKEITHA     DARTA                        GA     90014849726
84142532357143   CARLOS       GONZALEZ                     VA     90005765323
84142892361928   CARLOS       GARCIA                       CA     90012668923
84143227291523   ZAMORA       NUBIA                        TX     75013552272
84143594372432   AMANDA       CLOSE                        PA     90000585943
84146483961943   JULIE        CAIVANO                      CA     90002074839
84146512497138   KASEY        THOMPSON                     OR     90011035124
84146693571977   ROCKY        MONTEZ                       CO     90003826935
84146965977537   MARIA        SALAS                        NV     43082349659
84148511793766   JOSEPH       HENNIG                       OH     90002315117
84149568985936   NYANDWI      ISSA                         KY     90010695689
84149894291935   JASMINE      SMITH                        NC     90004228942
84151248985936   YVONNE       JACKSON                      KY     90008612489
84153146291837   DENISE       GONZALEZ                     OK     21008731462
84153164193771   NATHAN       HUMERICK                     OH     64569691641
84153523197138   REBECCA      EVES                         OR     90011035231
84153786291837   GERALDI      SONES                        OK     90013447862
84155415271977   LASHEA       LOPEZ                        CO     90010234152
84155944691979   KHAMORAH     SELBY                        NC     90012369446
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84156875571977   MARCELA       ROCHA                       CO     90004148755
84157437491979   CATHERINE     COCKRELL                    NC     90011304374
84159115247897   SHANDRICA     ROLAND                      GA     90013511152
84159635461928   FERNANDO      CAZARES                     CA     90011736354
84163377791981   COMALITHA     TAYLOR                      NC     90000473777
84163642977537   CALLISTA      FULLER                      NV     43056716429
84163673941275   REBECCA       GIBSON                      PA     90011606739
84164281885936   MACEY         RICE                        KY     90014352818
84167377641262   VICTORIA      LEE                         PA     90014933776
84167442185936   PAYGO         IVR ACTIVATION              KY     90008754421
84168381191837   RONY          RODIGUEZ                    OK     90006573811
84168429541275   LATASHA       ROILTON                     PA     90013074295
84169354897138   BELINDA       ANGELICA                    OR     44093463548
84171196151362   ERICA         WEST                        OH     90014741961
84171814461928   JIM           LUSK                        CA     90013668144
84173661191975   WILLARD       HOWARD                      NC     90015146611
84174163285856   JOSE          CARBAJAL                    CA     90011651632
84174232951333   JALEESA       CARMON                      OH     90007932329
84174233285856   JOSE          CARBAJAL                    CA     46000402332
84174388631471   ANDREA        JACKSON                     CO     90010373886
84175743991975   SYLVIA        TEEL                        NC     90014377439
84177795493771   SHAMIA        QUALLS                      OH     90013917954
84178413891975   MARTHA        CASTILLO                    NC     17076744138
84179334885936   REGINA        VEGA                        KY     90011103348
84179851861928   CARMEN        CASTILLO                    CA     90013018518
84182524481677   MAYA          COLON                       MO     90006975244
84182832991975   CHEYENNE      SCHEETZ                     NC     90011908329
84183497331449   MITCHELL      TANYSHIA MICHELLE E         MO     90011284973
84184973172432   WARREN        MOORHOUSE                   PA     51017889731
84186238651362   OLIVERIO      GUTIERREZ                   OH     90014742386
84186813471977   ANGEL         MARTINEZ                    CO     90015318134
84187155161928   KAREN         BEDFORD                     CA     46006571551
84189688991975   MARIA         LUNA                        NC     90000996889
84191658233698   CALDERON      MARIO                       NC     12009296582
84192645991837   GENIEL        COLBERT                     OK     90009976459
84193552647897   ALEXANDRA     FINNEY                      GA     90009535526
84194228177537   SAMANTHA      RUPF                        NV     90013982281
84194727491837   RATHENA       ROBERTS                     OK     90012557274
84196637391979   NERI          LOPEZ                       NC     90001896373
84196762891975   JOHN          BOWDOE                      NC     90012697628
84198129861928   JUAN          ROMO                        CA     90013781298
84198163285856   SUZANNE       BOND                        CA     90008431632
84198377893771   KOA           LLACUNA                     OH     90012663778
84198411291837   JESSE         FITZLOFF                    OK     90004014112
84198652961934   ANNA          ACOSTA                      CA     90013476529
84211352185856   LUDI          BILLINGS                    CA     46052743521
84211935972432   CHRISTOPHER   GOOCH                       PA     90012519359
84212893861928   RAUL          MARQUEZ                     CA     90012668938
84212978197138   RHEA          ROGERS                      OR     44015419781
84213971671977   GABRIEL       MARTINEZ JR                 CO     38008969716
84214664785856   ROSENDO       LUCERO                      CA     46080566647
84215545951362   DESIREE       CARPENTER                   OH     66022755459
84215912471977   AHLONKO       COMLAN-K                    CO     38046419124
84216413941275   JHON          ADKINS                      PA     90013934139
84217349891837   TIMOTHY       WEDEL                       OK     90010053498
84218276941262   SENTHEA       QUARLES                     PA     90013982769
84219681777537   ERICK         SELF                        NV     90004896817
84221728361928   MANUEL        TORRES                      CA     46011167283
84221846857126   AMANDA        CRUZ                        VA     90008128468
84221979285936   OMAR          SHALASH                     KY     90011809792
84225149793739   DESARAE       SMITH                       OH     90011711497
84226432771977   BEN           GUERRA                      CO     90008914327
84226973685936   TRAVIS        KELLEY                      KY     90012369736
84227815297138   THAMOS        STANING                     OR     90004128152
84228425491975   KATRINA       SMITH                       NC     90003134254
84228597141275   DUNYA         HASSIM                      PA     51041465971
84229161641262   ABRAMM        KELLY                       PA     90010451616
84229475941275   PAULINE       PARKER                      PA     90013514759
84229732485936   ZAXH          GROUNDS                     KY     90013087324
84232976591583   CARLA         TABOADA                     TX     90008949765
84234131977537   FANY          TOLEDO                      NV     90014741319
84235884591941   MICHAEL       ROGERS                      NC     17016728845
84236152757128   TEAHNE        ROBINSON                    VA     90005351527
84237389185856   MEDINA        DANIEL                      CA     46031283891
84237693333698   MORELIA       GARCIA                      NC     12080046933
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84237762391242   STEVEN       MCMILLON                     GA     14586507623
84237858651362   ROBERT       ERTLE                        OH     66024298586
84238736351362   SEAN         DOWNING                      OH     90006487363
84241512541262   MICHAEL      COLES                        PA     90013305125
84242336561928   LINDA        FLOYD                        CA     90011863365
84242343151333   DANIELLE     MACK                         OH     90007383431
84242527585856   JOEL         SOLIS                        CA     46054185275
84243297661928   NOEL         FULBRIGHT                    CA     90013122976
84245255985936   HAVEN        STANFIELD                    KY     90013962559
84245422171977   BERTHA       MARTINEZ                     CO     38056814221
84246177551362   DARRELL      ALLEN JR                     OH     90003021775
84246384961951   JOSE         LEDEZMA                      CA     90012903849
84247224971977   VALERIE      GALLEGOS                     CO     90010342249
84247258461934   SHIRISH      VILLASENOR                   CA     90009202584
84247422361928   SARAH        BOGHASHA                     CA     90012764223
84248442691975   AVERY        GORDON                       NC     90010824426
84248824785856   FRANCES      PEPPARD                      CA     46052618247
84252863285936   RITA         WOLFF                        KY     67028948632
84252947871977   BRIAN        TURNER                       CO     90006919478
84254251693771   AARON        KRAUSE                       OH     90014812516
84256177233698   ANGELA       JACKSON                      NC     90012451772
84256791291837   MIKEL        PEUGH                        OK     90005407912
84256883755931   JESUS        BERNAGA                      CA     90006098837
84257612341262   SHANA        MAXWELL                      PA     90010256123
84258172761928   SEBASTIAN    ANGUIANO                     CA     46006581727
84259418351362   TAMMY        MCQUAID                      OH     90014744183
84259925993771   LEIGHANM     DONALDSON                    OH     90013649259
84259982361928   ANDY         CORCOVELOS                   CA     46023119823
84261426361934   FRANCISCO    LIZARRAGA                    CA     90011664263
84261815957133   MMANUEL      MONTALVO                     VA     81064078159
84262437351362   JERI         CLEGG                        OH     90009714373
84262496177537   EDNA         LOPEZ                        NV     90011054961
84263117485856   NICK         HANNA                        CA     90013451174
84263782491979   DR           PEREZ                        NC     90013957824
84263796291975   WEYNI        TESFAYOHANS                  NC     90009387962
84264572547897   TAMEKA       KING                         GA     90014535725
84265419991523   BELINDA      GONZALES                     TX     90011404199
84266144993771   CHRIS        SCHERMPECK                   OH     90013361449
84266448941275   CHELSEA      PROVIANO                     PA     90012344489
84266665777537   ANTELMO      SOTO                         NV     90013136657
84267754222933   APRIL        EVANS                        GA     90010387542
84267848651362   NATASHIA     CONNER                       OH     90005688486
84268368681677   MONIQUA      PEREZ                        MO     29002613686
84268652285856   LINDA        MULLIN                       CA     46053046522
84269272691837   GUADALUPE    ROBLEZ                       OK     90014822726
84269463285962   JIMMY        POPE                         KY     90000944632
84271178191975   ANISE        GADDY                        NC     90009091781
84271837785856   ROGELIO      ROJAS                        CA     90008948377
84272717897138   JAQUETTA     HARRIS                       OR     90006967178
84273575577537   TERESA       LOPEZ                        NV     90014045755
84273848291837   CLARANCE     EDWARDS                      OK     90005298482
84274257991837   CHRISTY      DEMERY                       OK     21001072579
84275558961934   ABEL         ALEJANDRE                    CA     90010595589
84281248591523   YADIRA       LARA                         TX     90009982485
84282179177537   SALVADOR     CARDENAS                     NV     43002331791
84282394131278   MARCO        TORRES                       WI     90015503941
84282616293771   DEBBIE       EVANS                        OH     64573126162
84283123833698   APRIL        HICKS                        NC     90011391238
84283579461928   MARIA        FELIX                        CA     46044825794
84284249591837   GUILLERMO    SANCHEZ                      OK     90014892495
84285569857131   ABDIKARIM    MOHAMED                      VA     90000535698
84286286291523   ZYNA         VILLESCAS                    TX     75060702862
84287446791975   SERGIO       CARRANZA                     NC     17000274467
84287449641275   DESI         WILLIAMS                     PA     51089174496
84288164261928   CASSANDRA    TORRES                       CA     90012991642
84288867285856   RITA         LOPEZ                        CA     46005168672
84289575547897   CIERA        KING                         GA     14086435755
84289983771977   JOLIYAH      NEAL                         CO     90013319837
84292195381538   PAYGO        IVR ACTIVATION               IL     90010781953
84292675491975   KEVIN        RUIZ SIMON                   NC     90012096754
84293663791975   GODOFREDO    PASRANA                      NC     90006516637
84294496231439   SHALONDA     CARD                         MO     90001234962
84294854241262   DEBROAH      COLE                         PA     90006328542
84297672651362   ALEXANDER    HOWE                         OH     90007556726
84298357791979   JEROME       MERITT                       NC     17027933577
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84299184793771   MARION       YOUNG                        OH     64566971847
84299224971977   VALERIE      GALLEGOS                     CO     90010342249
84315721577537   AUSTIN       WESTWOOD                     NV     90013477215
84315874171977   DONNA        MONTEC                       CO     90009498741
84315964347897   MAURICE      MCBRIDE                      GA     90007569643
84317218585856   STEVE        SOUTHERLAND                  CA     90013082185
84317313251362   MATT         DENNLER                      OH     90010523132
84318259331439   MISTRET      VOKSHI                       MO     90005362593
84319859871977   YVETTE       VIGIL                        CO     38049258598
84321937761928   CHRISTIAN    VILLEGAS                     CA     46037159377
84322692285936   JAMES        CUSHINGBERRY                 KY     90013456922
84323471277537   TAYLOR       RUSSELL                      NV     90014504712
84323496961928   ERICK        VELASQUEZ                    CA     90003954969
84324139671977   PEDRO        LOPEZ                        CO     38008731396
84325438241275   DESIREE      JHONSON                      PA     90013934382
84327273191979   MAUREEN      MCGANN                       NC     90008122731
84327291371977   LISA         HERRERA                      CO     90009252913
84327733485856   GARY         BENSON                       CA     90015177334
84328367291979   SHENEIKA     BEST                         NC     90012453672
84328553551362   SHEYLA       BROWN                        OH     90014745535
84328717785936   KAMEO        FOSTER                       KY     90014487177
84328965761928   HUMBERTINA   PITA                         CA     90013049657
84329271541262   LINDA        WILLS                        PA     51051232715
84329553551362   SHEYLA       BROWN                        OH     90014745535
84331298851336   PAGGY        CAMPBELL                     OH     90005862988
84333317791979   SHAINA       BROWN                        NC     90012663177
84333427761934   ERNESTO      TREVINO                      CA     46055064277
84333522391975   AMENA        JABBI                        NC     90011945223
84334844391975   JASMINE      MORRIS                       NC     90004788443
84335637941262   MALCOLM      DAVIS                        PA     90014856379
84335952641275   MONICA       YOUNGER                      PA     90012299526
84338392493771   ARTEMIO      CASTILLO                     OH     64556783924
84338575851362   COLLEEN      LAMBERT                      OH     90014745758
84338838477537   SAMUEL       MORENO                       NV     90000268384
84339316184347   BEVERLY      HILZENDAGER                  SC     19050983161
84341164177537   LUZ          AYALA-LEMUS                  NV     90013291641
84342151391532   JOSE         JASSO                        TX     90001481513
84342425447897   TINA         PITTS                        GA     90008734254
84342489141262   JEAN         WORTHY                       PA     90008834891
84342574372432   GINA         SUTTON                       PA     51025745743
84342928531428   VINCENT      MORROW                       MO     90008219285
84343118891979   ANGELA       BROWN                        NC     90004001188
84343886991979   TIFFANY      MARTIN                       NC     90015178869
84344353571977   MARIA        ANTILLON                     CO     90003833535
84344865585856   PRIMITIVO    BARACEROS                    CA     90014608655
84345634191837   SARAH        MARTIN                       OK     21059046341
84345688397138   DANIEL       CHICO                        OR     90010566883
84345865585856   PRIMITIVO    BARACEROS                    CA     90014608655
84348365147897   COURTNEY     WILDER                       GA     14031813651
84348396697138   MURIAH       WALKER                       OR     44045663966
84348914933655   SHEMEKA      SALTERS                      NC     90012979149
84351752491242   BRIAN        EDWARDS                      SC     90013467524
84352442381677   JULIO        MORAN SOTELO                 KS     90011164423
84352614851362   EBONIE       HARRIS                       OH     90014746148
84354618851362   AL           CALDWELL                     OH     90014746188
84356191881666   MARLOM       MOLINA                       MO     90007881918
84357112591242   SARABETH     STEVENS                      GA     90006991125
84358849493771   CYNTHIA      RUSSELL                      OH     90011308494
84358865585856   PRIMITIVO    BARACEROS                    CA     90014608655
84359757533698   JULIO        REYES                        NC     12012127575
84361469891837   CHRISTY      FIELDS                       OK     90004024698
84361819685856   JESUS        LOPEZ                        CA     46009918196
84361949193771   JOE          DUNLAP                       OH     64596179491
84362484341275   CAROL        VISK                         PA     90009764843
84362571991837   LINDA        PIENTA                       OK     90004985719
84364534651362   TODD         GRIFFITH                     OH     66017035346
84366917761928   DANIEL       CASTRILLO                    CA     90012669177
84366951393771   KELLY        CONLON                       OH     64504329513
84367212641262   MITCHELL     GRAHAM                       PA     90012002126
84368355171977   ALEX         MONTOYA                      CO     38093393551
84368881861928   GISELLE      MCNEAL                       CA     90011418818
84369269361928   PANI         WESLEY                       CA     46055582693
84373436151362   JACQUELINE   RINGER                       OH     66012884361
84375178193771   LAKESHA      HERRON                       OH     90014851781
84375513936121   AUBREY       SEPEDA                       TX     90005065139
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84377376177537   ALICIA          VALDIVIA                  NV     43008223761
84378666133698   JAYMES          RHODIE                    NC     90003636661
84379288961928   ROSA            BRAVO                     CA     46011352889
84381891151362   LYNN            STROTMAN                  OH     66079868911
84382873841275   NORRIS          RYAN                      PA     90003758738
84384762161928   CHARLOTTRE      HARRISON                  CA     90014087621
84385511861928   MELISSA         FISHER                    CA     90013035118
84386592861934   GLORIA          CEBALLOS                  CA     90011665928
84386827677537   STACY           IBARRA                    NV     90005818276
84388777997138   TYLER           WILLIAMS-BELGARDE         OR     90011037779
84394763771977   TAWNY           MC BEAIN                  CO     38062197637
84394933372432   SHALYNNE        ANGELL                    PA     51018389333
84396991991979   PAMELA          HARRIS                    NC     17055009919
84399211151362   TAHMISKA        GROSS                     OH     66001872111
84399437285936   EMIN            GOOSHI                    KY     90005884372
84412392891837   ZAMUEL          BIRRUETA                  OK     90010973928
84416229271977   JESSICA         MONTOYA                   CO     38080172292
84416879241275   FREDDY          KRUGER                    PA     90014918792
84417766341275   BRENDALE        BOWLES                    PA     51089467663
84419124691837   ANTONIO         JOHNSON                   OK     90009161246
84419455541275   LORI            MOOREY                    PA     90013934555
84421794151362   MARK            VESTRING                  OH     90014747941
84422938771977   JESSE           JARAMILLO                 CO     90014759387
84424844193771   MELINDA         LAM                       OH     64591498441
84425538491975   HECTOR          TORRES                    NC     90013095384
84427466385856   EDUARDO         CASTILLEJO                CA     90013624663
84428232791979   ANTONIO         BRAVO                     NC     90001282327
84429141541275   MELINDA         SMITH                     PA     51016691415
84429261491837   ELLINGTON       BENSON                    OK     90014152614
84431955993771   DARRELL         GLENN                     OH     90014479559
84432187451362   DEANNA          RAMSEY                    OH     66094951874
84433719831651   TIMOTHY         HOUSER                    KS     22026967198
84434786497138   FRANCISCO       GAY                       OR     90011037864
84434794441229   JENNA           LEE                       PA     90015317944
84435555951325   DEMETRIUS       DALLAS                    OH     90010455559
84435841691979   BANITA          PAXTON                    NC     90014968416
84436956951531   KELLEESHA       BURKS                     IA     90015479569
84437835351362   AMANDA          GRAY                      OH     90014748353
84438733297138   MICHELLE        DOW                       OR     90009677332
84441372171977   ARTURO          PACHECO                   CO     38087113721
84441812841275   DANIELLE        WAGNER                    PA     51089298128
84442841177537   DIANA           BALLESTEROS               NV     43000578411
84444192191834   NICK            MADEWELL                  OK     90010651921
84444236671977   STACY           MARQUEZ                   CO     38073782366
84444319777537   MARCELL         WILKERSON                 NV     90010193197
84444859285936   VICENTE         CAC SAQUIJ                KY     90013318592
84445279585936   MARCUS          AVERA                     KY     90012322795
84445849891975   VANESSA         GIRON                     NC     17038358498
84445943585936   MARCUS          AVERA                     KY     90011069435
84447777985856   JESSICA         KOHLBECK                  CA     90010197779
84447978941262   FREDERICK       MYERS                     PA     51005259789
84449196141275   LORI            FREUDEN                   PA     90015031961
84449348361928   MIGUEL          ANGEL                     CA     90014903483
84449559985856   ISMAEL          CASTILLEJO                CA     90010615599
84452958385856   JAIME MUNRIAL   TORRES                    CA     90012149583
84453285471977   DAKOTA          NARANJO                   CO     90012762854
84454628141262   KIM             BROWN                     PA     90013586281
84455988997138   RUPERTO         MORENO TAPIA              OR     44040419889
84457676791979   KENNETH         OFFEI                     NC     90012486767
84458162891837   LINDA           LEWIS                     OK     90014711628
84461439585936   AMBER           STANSBERRY                KY     67055694395
84461981297138   JENNIFER        ARNETT                    OR     90000969812
84462278577537   KANIESHA        MOORE                     NV     90010472785
84463997171977   ROBERT          TRUJILLO                  CO     90011309971
84464886881677   VIRGINIA        WILLIAMS                  MO     90003198868
84465379891837   LEANN           WITWER                    OK     21050223798
84465569761928   MARIA           URIAS                     CA     90014275697
84465781185936   MICHELLE        GANTT                     KY     90013957811
84466388941262   SCOTT           SHETTER                   PA     90012183889
84466565985936   PEDRO           MEDINA                    KY     90014685659
84466711193771   GABIELLE        BATTLES                   OH     90013217111
84466867141275   TAYLOR          WALKER                    PA     90013088671
84467743683246   MICHAEL         DEWEES                    TX     71098527436
84469144291837   JORDAN          HADDAD                    OK     90014301442
84469161485856   RAMIRO          CORTES                    CA     90013101614
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84469615985856   KATHERINE    SCOTT                        CA     90014656159
84472892177537   VICTOR       ARTEGEA                      NV     90012278921
84473375785856   JEFFREY      CHILDS                       CA     90012573757
84474434991837   ANN          BONNER                       OK     90010974349
84474494751349   KAMILLE      HILL                         OH     90010014947
84475833591975   KISHA        CURRY                        NC     90014908335
84476152441262   JOSEPH       NICKELSON                    PA     90011441524
84476811185856   TOM          WAITS                        CA     90004328111
84477429185856   MONICA       PEREZ                        CA     90013104291
84477524361934   FERNANDO     SALGADO                      CA     90006865243
84477555191242   ZACHARY      SCHOONOVER                   GA     90011595551
84478378161928   REBEKAH      FERRANTI                     CA     90008963781
84479445285936   MARIO        WEBB                         KY     90011924452
84479764285856   MARIA        LOPEZ                        CA     90003637642
84481212285856   CARMEN       CEDILLO                      CA     46073132122
84486372247897   AUDREY       MCGOWAN                      GA     14093383722
84487588277537   BRENDA       REYES-DIOSDADO               NV     90013565882
84488723971977   ALICIA       TRUJILLO                     CO     90013327239
84491933251325   GILDARDO     SALINAS                      OH     66017899332
84493232371977   ASHLEY       MALDONADO                    CO     90015442323
84494557333698   COURTNEY     GADDY                        NC     12073805573
84495686751347   TONI         JEFFRIES                     OH     90012576867
84496362793771   RONALD       AUGUSTUS                     OH     90015103627
84497144647897   TEYONN       BROWN                        GA     14006831446
84497285551362   KIM          HENDRIX                      OH     90014772855
84498211841237   CATRICE      COSBY                        PA     90009472118
84498828761934   ANNA         ARELLANO                     CA     90013738287
84499743861928   KELLY        BRIGEFORTH                   CA     90008517438
84511112547897   MARIAN       ROBINSON                     GA     90008621125
84513611285936   GERARDO      TREJO                        KY     90007606112
84514682791837   JESUS        SERRITOS                     OK     90000196827
84516779931651   VIVIAN       ADAMS                        KS     90013817799
84517379791837   MISTY        GILBERT                      OK     90007463797
84517394791975   GERMAN       LOPEZ                        NC     90009883947
84517754797138   LUCIA        RIOS MUNOZ                   OR     44089457547
84518285551362   KIM          HENDRIX                      OH     90014772855
84518346191837   WALTER       HALL                         OK     90013243461
84519926547897   KISA         TINSLEY                      GA     90014139265
84521181291837   ANTHONY      CARPENTER                    OK     21029241812
84521516991242   SEAN         KEACHER                      GA     90010365169
84521564741275   CASEY        OCONNELL                     PA     51043585647
84523115177537   MAYELA       SALINAS                      NV     43058021151
84523726181677   DANA         STEVENS                      MO     29097237261
84524491891837   JEFF         MCCLAIN                      OK     90010974918
84524581871977   KYLIE        REYNOLDS                     CO     90014785818
84525894177537   LUIS         CUNA-LUNA                    NV     43001568941
84526868885936   ERICA        BARAHONA                     KY     67089828688
84528248977537   TERESA       BUNKER                       NV     90013082489
84529617341275   PETER        JACKSON                      PA     90009476173
84531885271977   ELIJAH       WISTHOFF                     CO     38050818852
84532242691975   MARIA        GOMEZ                        NC     17055332426
84532373691837   KATOYA       MACKEY                       OK     90012733736
84532438771977   ANTHONY      CHAVEZ                       CO     90013234387
84533526591837   SHANEE       RICHARD                      OK     90010975265
84534329547897   PAYGO        IVR ACTIVATION               GA     90009573295
84535265677537   ADELA        MONTANO-VALDEZ               NV     90015112656
84535359485936   MICHAEL      ROLAND                       KY     67000973594
84536666541262   RUSSELL      MILLIKEN                     PA     90012396665
84537478541275   MATTIE       HAYNES                       PA     90013934785
84537894991975   THEODORE     ANELONE                      NC     90014398949
84539225984336   FRANKLYN     RODRIGUEZ                    SC     90014162259
84541481791975   BRENDA       YOUNG                        NC     17051044817
84542484397138   JESSE        BROST LYLE                   OR     44023494843
84542719777537   JANET        PRECIADO                     NV     43036977197
84543737747897   JERRELL      FAULKNER                     GA     14092847377
84544299151362   CHARLES      SMITH                        OH     90014772991
84545689393771   CHYNEE       EVANS                        OH     90013386893
84546129851362   LOWRENCE     WINSLOW 3                    OH     90014761298
84547145191837   JUSTIN       MATHIS                       OK     90013851451
84547161461928   STEVEN       SIMPSON                      CA     90006891614
84547396485856   REBECCA      CHESTER                      CA     90008913964
84547577761934   CARLOS       ESPINOZA                     CA     46084235777
84547712393771   REBECCA      GIBSON                       OH     90012687123
84548287471977   ALYYSA       TINLING                      CO     90014922874
84549617391975   CARGINA      TAYLOR                       NC     17011296173
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84549951891837   DONOVAN      KIRWIN                       OK     21032559518
84551195697138   ANDY         YANG                         OR     90011061956
84551521941275   PATRICK      MORGAN                       PA     51083465219
84552232291975   KEVIN        BRANDON                      NC     90011082322
84552353991525   ALEXANDER    ANCHONDO                     TX     90010483539
84552497991975   SHERBY       ARCHIBALD                    NC     90011004979
84552761485963   RICK         MCCORMICK                    KY     90012467614
84553722571977   ERIK         SUTTON                       CO     90001227225
84554161191837   GAYLYNN      BURROWS                      OK     21053621611
84555344371977   ALEXA        DAVIS                        CO     90006663443
84557715772428   RUTH         KOONTZ                       PA     51001447157
84558515491837   ANGELA       DOWELL                       OK     90004255154
84558729385936   SUSAN        MARTIN                       KY     67090997293
84559294251333   SHAMERE      HALL                         OH     90011422942
84564122177537   ARLENE       TAUTOLO                      NV     43044361221
84564252261928   RUBEN        CISNEROS                     CA     90013942522
84564481541275   TIM          BELL                         PA     90013934815
84564824361934   RAUL         CONTRERAS                    CA     90008798243
84564826391837   JOSEPH       SCARLATO                     OK     90013018263
84566139693771   ANDRA        SANFORD                      OH     90015231396
84566349293771   LORI         MCCLANAHAN                   OH     90007653492
84566858191837   SUAN         DAL                          OK     90013298581
84566934291975   ALFREDO      ESTRADA                      NC     90001099342
84567283791979   CHARLES      JOHNSON                      NC     90012702837
84569777641262   COLEMAN      VINCENT                      PA     90003047776
84571566181677   TAM          ETIER                        KS     29051485661
84571668761924   IRMA         FLORES                       CA     90013286687
84573349541262   MAURICE      FORTE                        PA     51034993495
84573691881677   LA SHANU     WALKER                       MO     90010966918
84574359541262   STEPHEN      DANIEL                       PA     90010063595
84578213951362   LINDA        BOLIN                        OH     90010532139
84579989577537   JOSE         SALAS                        NV     90012039895
84581179391837   FRANCISCO    CORDOVA                      OK     90008111793
84581518471977   SHELLEY      ARCENEAUX                    CO     38047365184
84584172785936   JEFFREY      HOOD                         KY     90007751727
84585958577537   GUILLERMO    JUAREZ                       NV     90010679585
84586656761928   ANA          VAZQUEZ                      CA     46043366567
84586795472432   TRACEY       ELLIOTT                      PA     51003157954
84588958793771   CLAUDE       WILLIAMS                     OH     90007989587
84589489691975   MICHAEL      THORNTON                     NC     90014254896
84589856371977   ERNEST       MAES                         CO     90012788563
84589965361928   ROBERT W     DEGEN                        CA     90013159653
84591484751362   TANESHA      ABERNATHY                    OH     90012654847
84591491241275   SHATERIA     COLLIER                      PA     90013934912
84591674241262   MAURICE      WILLIAMS                     PA     90013706742
84592756291242   QWINTASHA    SMITH                        GA     90010267562
84592974997138   HEIDI        SAUCEDLO                     OR     90004259749
84593187751362   CASANDRA     LENZLEY                      OH     90014761877
84594211451362   MISTY        RICHMOND                     OH     90014762114
84594881185856   MICHAEL      KUMPIS                       CA     90013138811
84594989961934   MARTI        BATES                        CA     90010609899
84595659747822   QUIYAWNA     BROWN                        GA     90009906597
84598744161934   RICARDO      PEREZ                        CA     90011417441
84599378191525   VALERIA      ANCHONDO                     TX     90010483781
84612965177537   JOSE         TORRES                       NV     43008849651
84613144591242   AM           HUNT                         GA     90010661445
84613148677537   PATRICIA     BARTEL                       NV     90003991486
84615166947897   JACQUELYN    RAINES                       GA     90009871669
84615269951598   ABDELLA      ADAM                         IA     90015092699
84617977341262   CHRISTINE    WARNEKE                      PA     90013129773
84618186885936   MICHAEL      GIBBS                        KY     90014081868
84621246441275   DARCELLE     CARTER                       PA     90013122464
84622217361983   JACQUELINE   MEZA                         CA     46088222173
84623336861928   KEVIN        SPELMON                      CA     46019603368
84623823985856   MARTIN       SANTIAGO                     CA     90010208239
84624541391837   KHUP         MUNG                         OK     90012675413
84624649272432   BRAIN        LARUE                        PA     51002746492
84627266691979   EUDOCIA      BENITEZ                      NC     90011092666
84627542671977   JESUS        PACHECO                      CO     90009955426
84627693485856   DONNA        DESPRIS                      CA     46075306934
84627734285655   LESLIE       JANEY                        NJ     90002067342
84628456751362   AMBER        COLEMAN                      OH     90005764567
84629991171977   AMANDA       ATENCIO                      CO     90009419911
84631299191837   HOWARD       PENN                         OK     90015172991
84633193277537   JUVENAL      SANTIAGO                     NV     90014641932
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84635426571977   ELIAS            MARQUEZ                  CO     90014424265
84636641771977   CHRIS            MORA                     CO     90006136417
84637362181677   BRANDON          JONES                    MO     90010023621
84637438585856   DESIREE          CHAVEZ                   CA     90006994385
84637656977537   HOLLY            STOUT                    NV     90001236569
84637818493739   SAMANTHA         DORNON                   OH     90007608184
84638254351362   LATASHA          GEORGE                   OH     90014762543
84638448651362   DWAYNE           DURBIN                   KY     90010534486
84639876641262   WILLIAM          HOLSING                  PA     90010308766
84641556947897   LAKEISHA         BRASWELL                 GA     90012525569
84641989191986   LUIS             CARDENAS                 NC     90011029891
84642493785868   JUAN             SALINAS                  CA     90001674937
84642515291979   WILLIAM          WOMBLE                   NC     90013505152
84642614781683   BARBARA          VANDENBERG               MO     90005196147
84643418191837   KEYSHA           PHILLIPS                 OK     21062534181
84644241571977   TRACY            KABER                    CO     90013572415
84645723533698   KIERRA           WILLIAMS                 NC     90008987235
84646183551362   ROMONA           TAYLOR                   OH     66008921835
84646455691979   JAMOL            BLOW                     NC     90015284556
84646594961928   JOEL             MORALES                  CA     46064835949
84646632477537   ELIZABETH        ORDEONEZ                 NV     43086156324
84647149785936   CAMERON          HOOTEN                   KY     67019691497
84647223385856   CHARLOTTE        MACERA                   CA     90014952233
84648956785936   JOSE             MEDINA                   KY     90015209567
84649461661978   KARAH            TIFELE                   CA     90013274616
84649663761928   SKYE             NEWTON                   CA     90009506637
84651167547897   EILEEE           GREEN                    GA     90010261675
84651812261928   BOBBIE J         FALLON                   CA     46081278122
84651991247897   VEVIAN           FREEMAN                  GA     90013639912
84652577541275   WILLIAM          BAUER JR                 PA     51098355775
84652689393771   CHYNEE           EVANS                    OH     90013386893
84653428277331   LUIS GERARDO     PLASCENCIA               IL     90014154282
84654117785936   JESSICA          BARNES                   KY     90012551177
84654299951362   KATHLEEN         HARTLEY                  OH     90014762999
84654743847897   SHARONDA         MILLER                   GA     90013167438
84655666581671   CANDACE          MUTCHERSON               MO     90008116665
84656299951362   KATHLEEN         HARTLEY                  OH     90014762999
84657494585936   HUGO             QUIROZ                   KY     90006604945
84657734191979   MICHAEL          WILLIAMS                 NC     90012937341
84658613591975   ISAAC            KING                     NC     90011086135
84663369961934   SAHRA            HOSTEN                   CA     90009253699
84664428487222   DINA             LASALLE                  IL     90005074284
84665684571977   ZEKE             GONZALES                 CO     90012896845
84666337791979   JESSE            WELLS                    NC     90013013377
84666457961934   ALEX             CRUZ                     CA     46033564579
84667341351362   SARA             WOERNER                  OH     90014763413
84667699291837   ERON             HOLBERT                  OK     90014256992
84667797891975   SANDY            FERRERA                  NC     90012827978
84668622685936   DONALD           MOORE                    KY     90010366226
84671955651362   THOMAS           SCHULZ                   OH     66055329556
84671972891979   CARLOS           MATUTE                   NC     90013559728
84672974191837   DIANA            AGUILAR                  OK     90008149741
84673664585856   NAZIH            JAMALEDDINE              CA     90013946645
84674332551362   FRANCISCO        GONZALES                 OH     66094193325
84675267861928   MARTHA MARIBEL   ROBLES-SOLIS             CA     90014132678
84675449191837   LAQUITA          CARTER                   OK     90009994491
84675542181677   KING BLUE        DE FOO                   MO     90010825421
84676488641275   DARRYL           KEEN                     PA     90014494886
84676964141247   ALISON           MCDONOUGH                PA     90000109641
84678728781677   CELESTINE        ANTU                     MO     90004047287
84678875541262   KEVIN            THOMPSON                 PA     90001068755
84679457884347   CHERYL           DRIGGERS                 SC     90001244578
84681333747897   VAKIA            ALLEN                    GA     90014053337
84682265251362   KERRI            WAGLAND                  OH     90013362652
84682371533698   ANA              LIRA                     NC     12011203715
84683458771977   MICHELLE         MARTINEZ                 CO     90013784587
84684298693771   DENISE           GREGORY                  OH     90014702986
84684564191242   KEITH            SAXON                    GA     14547525641
84685113493783   TERSIA           JOHNSON                  OH     90007971134
84685846261934   AARON            LANARY                   CA     90006928462
84687568381666   MARCELLUS        BUTLER                   MO     90015175683
84688351181677   MICHELE          FLUKER                   MO     29033883511
84689719691943   MARTIN           BALTAZAR                 NC     90001137196
84691556651362   AMBER            SMITH                    OH     90010535566
84691685493771   SHANE            DOSS                     OH     64524326854
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84693344141275   MELINDA            BRUNGER                PA     51081853441
84693841261934   REYNA              GONZALES               CA     90011978412
84693962451362   JENIFER            ROWE                   OH     90005639624
84695883671977   STEPHEN            DERUDDER               CO     90012368836
84697674151333   JENNIFER           DONNELLON              OH     66030366741
84698962451362   JENIFER            ROWE                   OH     90005639624
84699183777537   DARREN             WHITTAKER              NV     90015181837
84711769877537   ALBERT             GUTIERREZ              NV     90011847698
84712115957127   CYRENA             SALLEY                 VA     81007401159
84712226761934   MARCELA            INIGUES                CA     46061012267
84712474185936   MARILYN            JENKINS                KY     90008094741
84712819841275   SUSAN              J JAMES                PA     90000938198
84714359593772   JEREMY             HARDIN                 OH     90011543595
84715745771977   ANTHONY            FRIEND                 CO     90012837457
84716431761928   TERESA             ZAMARRON               CA     90009664317
84718353941262   JIM                YOGLING                PA     90013723539
84719146791975   MICHAEL            STRONG                 NC     90003821467
84721427171977   CARLA              GIRRATANO              CO     90012254271
84721641391242   TONJA              DAVIS                  GA     14522396413
84721837361934   LASHELLE           DENISE                 CA     90009338373
84722158991523   PATRICIA           ZAVALA                 TX     75073911589
84722538247897   EDGARDO            DELGADO                GA     90010295382
84723619285936   JODI               HALL                   KY     90009046192
84727691671977   DEANNA             ORTIZ                  CO     38086526916
84729186885936   MICHAEL            GIBBS                  KY     90014081868
84729312485856   STEPHEN            PHILIPP                CA     90015253124
84731536791837   MALISA             KIRKPATRICK            OK     90013925367
84732897171977   BARBARA            LANE                   CO     38053568971
84734191485856   CEDRIC             WASHINGTON             CA     90013521914
84734318751362   RANDALL            DARNELL                OH     66002503187
84735962591837   CHARLES            FUGERSON               OK     90014559625
84736127591979   JOSE               ANDRADE                NC     90011621275
84736155985856   SUSAN              LANCE                  CA     46070901559
84736585947822   CHRISTINA          WALKER                 GA     90013775859
84738923377537   EDWARD             KLOSTERMAN             NV     90015139233
84739284491979   LAUREN             BLUE                   NC     90013772844
84741877985856   ANNE               GLASSEY                CA     90013948779
84741914741275   FABIAN             HENRY                  PA     90014919147
84742276341262   GINGER             WAUGH                  PA     90014122763
84742417651362   DIERDRA            WRIGHT                 OH     90014764176
84744516241275   LINDSAY            PARRILLA               PA     90014495162
84745513291975   SHERRY             ONEAL                  NC     90015095132
84745634147822   LANIKKA            ROBERTS                GA     90009836341
84745655891979   TANISHA            BOWIE                  NC     90013816558
84745761733661   COREY              MCILWAINE              NC     90011587617
84746826981677   LUIS               CEDRES                 MO     29014978269
84747298641262   DANA               KING                   PA     90007892986
84747383371977   OLIVIA             GUTIERREZ              CO     90014313833
84747435261988   DHIA               IBRAHIM                CA     90003484352
84747843172432   DAVID              TUROCY                 PA     51035538431
84748523371977   BRANDON            JARAMILLO              CO     90009615233
84749696485856   STEVE              BYERS                  CA     90010216964
84752728593771   JOHNNY             TRVELOVE               OH     90014767285
84755691485936   LINDA              WHITTLE                KY     67001506914
84755728791979   CHARLENE           HARRIS                 NC     17081137287
84756256241275   RANDY              ELKO                   PA     51019952562
84757182593763   CAROL              LENHART                OH     90006311825
84757494661928   MARIA DEL CARMEN   PAVAN                  CA     90009604946
84758943847822   DIANNA             HOLLINS                GA     14081849438
84759171241272   KRISTEN            TRACEY                 PA     90014841712
84759264733698   MICHELLE           WHITING                NC     90005252647
84761299685856   JOSE               HIDRER                 CA     46057992996
84762275885936   ARNATHAN           CLARK                  KY     90014172758
84763278671977   CATHERINE          NIGHTINGALE            CO     90014712786
84763387993771   AMIE               PUTERBAUGH             OH     64569943879
84764617761928   WAYMON             EDDINGTON              CA     90008976177
84765633681677   TERRANCE           SCOTT                  MO     90011126336
84766287471977   ALYYSA             TINLING                CO     90014922874
84766599661934   EZEQUIEL           GUERRERO               CA     90010615996
84767131485856   CRISTINA           OCAMPO                 CA     90013951314
84767457161935   LUIS               SANTOS                 CA     90010174571
84769415891837   MARIA              DURAN                  OK     21075364158
84769743885936   PAULA              DUNN                   KY     67060607438
84772188191975   CEJAE              BRISCOE                NC     90001821881
84772451572432   ROBERT             MILAN                  PA     51066694515
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84772575591979   AHMED            ABDEN                    NC     90011895755
84774434941262   JOSHUA           COVINGTON                PA     90013004349
84774777251349   AARON            JONES                    OH     90015217772
84778194861928   BETHSABELT       MARTINEZ                 CA     90011591948
84779458941262   ADRIENNE         MURRAY                   PA     90011174589
84781163691979   ANGEL            GARCIA                   NC     90011531636
84781251141262   BOBBIE           GIRSON                   PA     51077862511
84782921777537   ALICE            WILLET                   NV     43004119217
84783967377537   SALVADOR         CORONADO MEZA            NV     43076819673
84784221691975   JUDY             SPEIGHT                  NC     90002272216
84786448872451   BONNIE           OVERLY-BIAGINI           PA     51059464488
84787169141275   STACEY           GREEN                    PA     90005261691
84787238591979   STARLETTA        MUSUNGAY                 NC     90014922385
84788965991837   MARIA            WEST                     OK     21006549659
84789387447897   DEMETRIA         WILLIS                   GA     90014563874
84794194941262   GERRY            VERNTURA                 PA     90001831949
84794358441275   EUNICE           SAYLES                   PA     90010723584
84795991741275   TAMMIE           KREPP                    PA     51055859917
84796235291979   TIFFANY          KING                     NC     90011532352
84796293793771   KYMYA            BLACKMON                 OH     64591632937
84796747972432   THOMAS           KING SR                  PA     51005317479
84813429191242   CAROLYN          REEDY                    GA     14589904291
84813781161928   ALYSON           MCCREERY                 CA     46048987811
84814452551362   DAMARIS          MERCADO                  OH     90009924525
84815427247897   JORDAN           HAYLES                   GA     90014564272
84815491591525   ANA              ESTRADA                  TX     90007584915
84815885541275   RUSSELL          CONNORS                  PA     51005478855
84817834193771   EMILY            CHRISTIAN                OH     64565958341
84819812591837   MICHAEL          GREGG                    OK     90014828125
84819947697138   RYAN             KLOCK                    OR     90009549476
84822213141262   JIM              BRONSON                  PA     90011442131
84822624393771   BRITTANY         POWE                     OH     90013826243
84823224184336   MANEL            GARCIA                   SC     90012052241
84823526985856   CELIDA           JIMENEZ                  CA     46049985269
84829422191837   BRITTANY         WHITE                    OK     21044514221
84831193585936   PAUL             HUFF                     KY     90001641935
84831562485856   MIGUEL           GARCIA                   CA     90013955624
84833258791975   TESFAY           TESFAMEHRET              NC     90009182587
84833328641262   BRIAN            COLON                    PA     51067433286
84833449591242   LYANNETTE        LINDSAY                  GA     90010784495
84833923597138   JAIME            PICKERING                OR     44021369235
84834113391837   PATRICK          SIDNEY                   OK     21065111133
84834457777537   KAREN            HART                     NV     90012054577
84835151193771   KEITH            TRUESDALE                OH     90014291511
84835238177537   JOHANNA          CRUZ                     NV     43047482381
84836451885963   REGINA           FURLOW                   KY     90013364518
84837181861928   LORENA           JERONIMO                 CA     90011261818
84837368391975   HASSAN IBRAHIM   ALI                      NC     90012473683
84837652141262   KEITH            GOLLING                  PA     90014846521
84838577391837   PHILLIP          HARRIS                   OK     90010065773
84838991493771   LAURA            COMBS                    OH     90013559914
84839497381677   ANGELA           MCCORD                   MO     90012204973
84839596393771   JAMES            TAYLOR                   OH     90012055963
84839665177537   JOSE             HERNANDEZ                NV     43056446651
84841567885856   EPIGMENIO        BURGOS                   CA     46006185678
84844235871977   CRYSTAL          WEST                     CO     90010622358
84848562371977   TEENA            DODSON                   CO     38003855623
84849726185936   RANDALL          JOHNSON                  KY     67035777261
84851992551362   RENAY            LAMB                     OH     66039889925
84852639485856   YOLANDA          PERALTA                  CA     90013956394
84852822333698   KARY             PACHECO                  NC     12048448223
84854416141262   VANITA           MULDOW                   PA     51045224161
84855554391837   SANDRA           DANIELS                  OK     90014545543
84856663791837   ERIKA            FERGUSON                 OK     90011206637
84857396891975   CANDI            SANDERS                  NC     90011113968
84858578872451   MAKAYLAHMARIE    EXUME                    PA     90012505788
84858934291979   ALFREDO          ESTRADA                  NC     90001099342
84858954171977   CHRIS            GILLESPIE                CO     90014879541
84859783797138   MARCELA          PIMENTEL                 OR     44076787837
84861365171977   ELIZABETH        GALLEGOS                 CO     38068323651
84861484685936   LUSAMBO          MUDERHWA                 KY     67087034846
84861692261928   ELIZABETH        MALDONDO                 CA     90010426922
84861771641262   JAMES            CLOONAN                  PA     90012097716
84861859591975   DAYMON           HUGHES                   NC     90015068595
84862692391837   ASHLEY           WILLIAMS                 OK     90010976923
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84864883677537   LELESIA      PEREZ                        NV     43088428836
84867837351362   ROBERT       FOSTER                       OH     90012098373
84867874471977   ROXANN       ORTEGA                       CO     38088378744
84868425277537   KAY          OWEN                         NV     90004324252
84871989185936   SHAWNNEE     JONES                        KY     67021719891
84872229991837   TONYA        MORRIS                       OK     90008122299
84872526985856   CELIDA       JIMENEZ                      CA     46049985269
84872917741262   LUCRETIA     LIGHTFOOT                    PA     51092179177
84873518197138   TAMARA       L ASHER                      OR     90005715181
84873649291975   ROBERT       TICKLE                       NC     17049266492
84873868177537   ANDREW       SELOVER                      NV     43005998681
84874784891979   LEE          HARRIS                       NC     90013377848
84874893681672   JACQUELYN    FOX                          MO     29040698936
84875841161934   MARIA        GARCIA                       CA     90008608411
84875892372451   DESIREE      EXUM                         PA     90012358923
84878247461951   JOSE         ORTIZ                        CA     46066922474
84878464791979   EDNA         HINTON                       NC     90014874647
84878743391975   NELSON       HERRERA                      NC     90008427433
84879577733698   KATRINA      WILSON                       NC     12003985777
84881364661934   FABIAN       URISTA                       CA     90013343646
84881729585856   SHEILA       SERRANO                      CA     46052477295
84882855991242   BRIGITTE     WILLIAMS                     GA     90010058559
84882964185649   TOYA ANN     EDMEADS                      NJ     90004209641
84884765241262   MARSHA       SEATON                       PA     51001977652
84884833191837   KIJUAN       NELSON                       OK     90008498331
84884835377537   SHALEAH      COOK                         NV     90014288353
84885886291837   CODY         SOWERS                       OK     90014738862
84885918385936   ALFONZO      ATTAWAY                      KY     67085939183
84886131691975   AMBER        HUDSON                       NC     90013021316
84888312293771   PAULINE      ROBERSON                     OH     64595983122
84888935477537   SEAN         BODINE                       NV     90010229354
84891524471977   CARA         DAKE                         CO     90007885244
84892121361928   ROGELIO      MARTIN                       CA     90014951213
84893119671977   JANE         PLOUVIER                     CO     90014121196
84894581471924   DEREK        SALAZAR                      CO     90008285814
84895424491975   LEIDY        MEJIAS                       NC     90013234244
84896322693771   SHAWN        PAULEY                       OH     90011593226
84896975885936   DENISE       WATKINS                      KY     90011149758
84897472271977   ANGANETTE    MARTINEZ                     CO     90013104722
84897521547897   KAYANNA      BANKS                        GA     14098305215
84897843491837   DONNA        SANOGUET                     OK     90009938434
84911162451362   HOLLY        BURMAN                       OH     90014781624
84911542141275   ICESS        WILLIAMS                     PA     90008095421
84912168751362   JULIETTE     COLEMAN                      OH     90014781687
84912459161928   JOHN         MERTZ                        CA     90011594591
84912715885936   RACHAEL      WHITE                        KY     90007717158
84913425261934   CHRISTIAN    RAMOS                        CA     90009264252
84913996197138   KELLY        CHAREST                      OR     44062269961
84914164291979   KETH         GRAHAM                       NC     17000631642
84914639677537   JOSE         ZARARTE                      NV     90010836396
84915717791837   TROY         DRIVER                       OK     90012177177
84917126791975   YOLANDA      BOWMAN                       NC     90014711267
84917917961928   ANDREA       SOLIS                        CA     90000519179
84918888247897   MARIE        GILBERT                      GA     90008098882
84919336981677   ANNJANETTE   SANDERS                      MO     90002453369
84923447251349   CHARLES      KLEIN                        OH     90004904472
84925147285856   YVONNE       LUCAS                        CA     90013161472
84925354891583   BENITO       REYES                        TX     90001693548
84925796197138   JUSTIN       PHILIPPS                     OR     90011357961
84926558991975   KIMBERLY     MEDLEY                       NC     17090875589
84927179951362   TIFFANY      SIMPSON                      OH     90014781799
84927361177537   LEONEL       CARPIO                       NV     43084353611
84931536591979   JULIUS       EXUM                         NC     90012605365
84932126391979   CHARLIE      RUSSELL                      NC     90014171263
84932236932551   PATRICIA     ARRIOLA                      TX     90014762369
84932744377537   AMANDA       CHRISTIAN                    NV     90011397443
84932764633698   DAVARES      BURNETT                      NC     12011607646
84933212451362   ERIC         OVERFIELD                    OH     90014782124
84933787397138   CHRISTINA    BRAVO                        OR     90011357873
84934511161928   CASHARIA     MOORE                        CA     90012025111
84934518691975   VINCE        ROCHO                        NC     90013285186
84934637691979   RUTH         SMITH                        NC     90012676376
84934638433698   MELISSA      SCALES                       NC     12057076384
84937452247897   SHAWN        GAINES                       GA     90009344522
84937659571977   ROSALIE      MAESTAS                      CO     38057466595
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84938138591979   SHARON         DUNN                       NC     90015171385
84938435541262   MARIE          YEAGER                     PA     90010534355
84939549377537   ULISES         ADAME                      NV     90010345493
84939835877537   YESENIA        RIOS                       NV     90011548358
84941546485856   MARCELINO      GASPAR                     CA     90006595464
84942233191979   GASTON         MIBURANO                   NC     90015192331
84942473761934   ARACELI        GALVAN                     CA     90011684737
84943228251362   AMBER NICOLE   DAWSON                     OH     90014782282
84945228251362   AMBER NICOLE   DAWSON                     OH     90014782282
84946282761928   ROSALINDA      CORDERO                    CA     90014472827
84947259951362   EDWARD         COLLINS                    OH     90011272599
84947435541262   MARIE          YEAGER                     PA     90010534355
84948939191975   GIANNA         VELLETTA                   NC     90014569391
84949513891975   ALEX           MERCHANT                   NC     90008095138
84951165185936   RAHIM          HALL                       KY     90014661651
84952214361928   KARL           FREDELYN                   CA     90008932143
84952293781538   PAYGO          IVR ACTIVATION             IL     90014692937
84952388191979   MICHELLE       INGRAM                     NC     90011193881
84952735641275   ANDRE          SMITH                      PA     51000187356
84953793891979   RACHELLE       SIMPSON                    NC     90015117938
84953817391837   JOSEPH         MOTISI                     OK     90014828173
84954851861928   MARISA         STOCK                      CA     90002218518
84954857971977   ASHLEY         MALDONADO                  CO     90011188579
84955878341275   MARY           WESTIN                     PA     90000238783
84958922261928   MONICA         SOLIS                      CA     90013549222
84959453841275   JANICE         NAYLOR                     PA     90014704538
84961551185936   SOFIA          GARCIA                     KY     90014225511
84961648385856   JEREMIAS       PALACIOS                   CA     90011676483
84961694891979   MARK           ADAMS                      NC     90007516948
84961785291837   JESUS          MIGUEL                     OK     90001787852
84962549861934   ENRIQUE        MAZA                       CA     90011685498
84963577985856   OLGA           AYALA                      CA     46006705779
84963629872432   LYNN           HENDERSON                  PA     51020016298
84963992641262   STEPHANIE      COOPER                     PA     90013129926
84964144491979   CARMELLA       CAMPBELL                   NC     90012871444
84966662472432   BRIAN          LAWTON                     PA     51055416624
84968154185962   LEKEYSHA       TUCKER                     KY     90009031541
84968271441275   AMANDA         ROYAL                      PA     90009402714
84968877447897   CANDYE         SMITH                      GA     90011498774
84969944391837   NIRE           ZETINA                     OK     21064839443
84971139641275   MONTE          MILLER                     PA     51092591396
84972877291523   BERTHA         VALADEZ                    TX     75087048772
84975139993771   BRYAN          BUTTS                      OH     90014741399
84975272451598   OZETT          SPENCER                    IA     90013262724
84975826161934   ARTURO         PANELO                     CA     90007008261
84977279972451   WYATT          GREEN                      PA     51096432799
84978824461994   JESSICA        RODRIGUEZ                  CA     46045158244
84979657971977   CINNAMON       HELLER                     CO     38037146579
84979891593771   CANDACE        ISBLE                      OH     64504308915
84981464141262   TONYA          OLIVER                     PA     51043364641
84983223191979   WILLIAM        SESSIONS                   NC     90013472231
84984234271977   ERNEST         DELONG                     CO     90012202342
84984694251333   TIFFANY        HOWARD                     OH     90003136942
84984955281677   NAWL           BIK                        MO     90011429552
84986625191837   AMANDA         DAVIS                      OK     90008736251
84986946481677   KAREN          PUCKHABER                  MO     29046189464
84991124347871   SHEKINA        HARRIS                     GA     90011641243
84991514291837   KIMBERLY       WATKINS                    OK     90013395142
84993753741272   APRIL          GRYBEL                     PA     90012097537
84995713493771   ALENA          DODSON                     OH     90009577134
84995812591979   MARISSA        THOMAS                     NC     90011918125
84995841861935   JOSE           PLAZA                      CA     90008798418
84996823781677   GILBERTO       AMPARAN                    MO     90014818237
84998134641262   ROBIN          HLAVAY                     PA     51097101346
84998785385936   ANNA           FRANCIS                    KY     67094987853
85111299891324   MICHAEL        SANDATE                    KS     29053522998
85111647571977   CATHLEEN       VASQUEZ                    CO     90015256475
85111771991979   SHIQUITA       TAYLOR                     NC     90010967719
85111944161928   TYRONE         JOHNSON                    CA     90014699441
85111947291837   GUY            BULLTAIL                   OK     90012759472
85113116741262   GORDON         BRYANT                     PA     90010121167
85113378277537   ROSIO          OROZCO MARQUEZ             NV     90012343782
85113796755945   JORDAN         MARTIN                     CA     90010977967
85113852755971   MARIA          AGUIRRE                    CA     90013178527
85114413255971   JENEPHER       SANCHEZ                    CA     90014184132
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85114433391324   JAMES        JONES                        KS     90014694333
85114462433698   MANASHA      GUY                          NC     90012714624
85115659671977   KRYSTAL      AUSTIN                       CO     90008736596
85116549685856   CLINT        LATHROP                      CA     90009625496
85116624661928   APRIL        CAMBUNGA                     CA     46068446246
85118217133698   GEROME       GOMEZ                        NC     90014182171
85118856391975   JOSE         BETANCOURT                   NC     90010798563
85119865133698   JOHN         MIDDLE                       NC     90014178651
85121266555945   PATRICK      MCCARTHY                     CA     90000612665
85121734385856   JAQUELINE    SORIANO                      CA     90008627343
85121759147897   ANGELECK     BROWN                        GA     14016097591
85122331641275   MELISSA      KANDCER                      PA     51030733316
85122558371977   KATEY        LOPEZ                        CO     90013725583
85122875185856   AMBER        FALLS                        CA     90008628751
85123991591324   MIRNA        BONILLA                      KS     90010959915
85124539891975   ADRIANA      ZAMBRANO                     NC     90006175398
85125474791837   JULIO        ALVARADO                     OK     21009984747
85126449671977   SARA         PICCO                        CO     90007714496
85127999655971   ANITA        RODRIGUEZ                    CA     90007039996
85128196897138   REBECCA      JONES                        OR     44055921968
85128271541262   WILLIAM      LEMON                        PA     51062642715
85128893133698   KEEONDRA     BARRETT                      NC     90014178931
85128894355971   MICHELLE     CHAVIRA                      CA     90012878943
85129846577537   CARLOS       VASQUEZ                      NV     90014218465
85131315891979   SCOTT        LYNCH                        NC     90011103158
85131458693771   PATRICIA     SHIELD                       OH     90014724586
85133787455971   JENNY        DE LA CRUZ                   CA     49083857874
85134187961928   ANGELA       GARCIA                       CA     46092331879
85135666791975   NICOLE       MILLER                       NC     90009246667
85136118391837   ASHLEY       WHITEHEAD                    OK     90014691183
85138782541262   SYLVIA       KING                         PA     90008177825
85139611491324   ROSA         HERNANDEZ                    KS     90013076114
85141724191837   BRENDA       LONG                         OK     90012747241
85141929591975   EBONY        BRISTOW                      NC     90013929295
85144522647897   ANTHONY      COLLINS                      GA     90012025226
85144967291941   TORRY        PERRY                        NC     90011829672
85145291397138   KENNETH      HOSKINSON                    OR     90011192913
85147929693771   MICHAEL      MOORE                        OH     64500409296
85147997881677   TOSHIBA      GREEN                        MO     90002919978
85148467191242   CHARLOTTE    PERKINS                      GA     14580114671
85149786755971   ANDREW       GONZALEZ                     CA     90011037867
85151189655945   TERRI        CHAMBERLAIN                  CA     49061001896
85151223681677   TORRI        HUBBARD                      MO     90012512236
85151671371977   VANESSA      MONTANO                      CO     90014276713
85151696693771   NANNETTE     KING                         OH     64593236966
85151783797138   ROGER        WILDER                       OR     44076127837
85152841855971   ALMA         HERRERA                      CA     90013668418
85153544277537   SIBYL        BOLENDER                     NV     43089375442
85154339491975   EMILY        HOBAN                        NC     90014483394
85155284861963   FERNANDO     AGUIRRE                      CA     90010042848
85155825361928   ADRIANA      BENITEZ                      CA     90008728253
85155857991525   ROCIO        HERNANDEZ                    TX     90012248579
85156413247897   KAMEIKA      DAVIS JOHNSON                GA     90007534132
85156449633698   ERICA        SHUBERT                      NC     90012954496
85156572861928   JOE          NESON                        CA     90013535728
85157431397138   ASHLEY       GREEN                        OR     90006024313
85158329341262   ROSEANN      LUBAWSKI                     PA     51084643293
85159126261983   REANA        KEY                          CA     90010631262
85159194381677   RONALD       ANDERS                       MO     29002301943
85159526533698   MARSHALLIA   MILLER                       NC     12015165265
85159864571977   RACHEL       ALCON                        CO     90004258645
85159953271977   MICHELLE     DURAN                        CO     90014909532
85161258271977   LEONARDO     PALMA                        CO     90010322582
85162659755971   FRANCISCO    LUNA                         CA     90005756597
85165563555971   SALVADOR     ROBLES                       CA     90001235635
85166141291324   ALFREDO      RAMIREZ                      KS     90004201412
85166283893771   PEDRO        GARCIA                       OH     90003732838
85167161997138   VANG         YANG                         OR     90011971619
85167634747897   ANTONIO      WILSON                       GA     90014866347
85167952181677   MARGARITA    PARRA-DIAZ                   MO     90014129521
85168396333698   MIRANDA      BROWN                        NC     90011083963
85169441555945   ISRAEL       GARCIA                       CA     49055394415
85169555197138   BRANDON      LOVEALL                      OR     90012385551
85171369861928   JUSTIN       OGANS                        CA     90002803698
85171484784333   ROMAN        LARIONOV                     SC     90009524847
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85172265361928   ALLEBEL       BAYOUH                      CA     46083292653
85173121155945   SERVILLE      NEWCHURCH                   CA     90013691211
85174835771977   GILBERT       MUNOZ                       CO     90010318357
85176121597138   ELIZABETH     ROMERO                      OR     90015191215
85176213291975   KARINA        SOSA                        NC     90012642132
85177245685856   TODD          GROSS                       CA     90006392456
85177546591979   CYNTHIA       ANTHONY                     NC     90000155465
85179437741262   KRISTINA      JACKSON                     PA     51096344377
85181472785856   WAYNY         ESCALERA                    CA     90008634727
85181573755945   LUIS          RAMIREZ                     CA     90011715737
85182364361928   JORDAN        KAUFENBERG                  CA     90014763643
85182463391837   DAVID         HAYNES                      OK     90008524633
85183738955971   SEBASTIANA    ACEVEDO                     CA     90012997389
85183997833698   MIKE          WILLIAMS                    NC     90014179978
85185832155945   MARIA         GOMEZ                       CA     90013968321
85188158597138   KRISTY        VALENCIA                    OR     90007681585
85188217355945   HERACLIO      REYES VILLEGAS              CA     90013632173
85188777571977   KEVIN         FISHER                      CO     90013577775
85189426591324   ANDREA        SHORTER                     KS     90013724265
85189516891979   ARACELI       JIMENEZ HERNANDEZ           NC     90014255168
85191765361928   VIRGINA       MOYA                        CA     90014617653
85192599647897   ASHLEY        STANLEY                     GA     90013315996
85193771791975   EMMIT         SMITH                       NC     90004257717
85193948291324   SERGIO        ROJAS                       KS     90015189482
85194814751362   JENNIFER      NICE                        OH     90005748147
85196273885946   LIDIA         DOMINGO                     KY     90012502738
85196762171977   STEPHANIE     LUCERO                      CO     38034807621
85196883355971   ALFONSO       JACME                       CA     90013668833
85198214491979   CHRISTOPHER   BOONE                       NC     90013402144
85199613361928   THERESA       EDWARDS                     CA     46074436133
85199972641275   SKITTLEZ      WILSON                      PA     90008429726
85199979693783   CARMEL        NORRIS                      OH     64584239796
85211785255971   MADERA        CALI                        CA     90014187852
85212888177537   SIERRA        LEGG                        NV     43000088881
85213985177537   TANDRA        WALKER                      NV     43041389851
85215221993771   RANDY         HEDRICK                     OH     90014152219
85215518947897   JACQUELINE    COOPER                      GA     90012065189
85216919166177   PATRICIA      MUNOZ                       CA     90015359191
85216954597138   TYRA          GONZALEZ                    OR     90014059545
85217414447897   DAVID         WILLIAMS                    GA     90014154144
85217714841275   ELLIOTT       REDDIX                      PA     51017657148
85217794655971   ARMANDO       AYALA                       CA     90014187946
85219246755945   HERIBERTO     CORTES                      CA     90013732467
85219639391324   MEGAN         FASCHING                    KS     90013556393
85219766357531   RAECHELLE     TERCERO                     NM     90013857663
85223958391975   SAUL          CUEVAS                      NC     90013929583
85224958247897   SHAMIKA       BARRON                      GA     90011589582
85224994971977   MARK          ALGIEN                      CO     38055879949
85225441691979   VAULDEMAR     BAUTISTA                    NC     90013724416
85226614455945   DEBORAH       HAGAN                       CA     49021756144
85229279191979   JOSE          GOLANZES                    NC     90008702791
85229622555971   ELIZABETH     FLORES                      CA     90014656225
85229732677537   JONATHAN      RAGONESE                    NV     90013797326
85231426691979   KIMBERLY      COOK                        NC     17076664266
85231816391975   ERIN E        REJHOLEC                    NC     17049918163
85232444655945   STEPHANIE     ROMERO                      CA     90014834446
85232711141275   KATRINA       BLYE                        PA     51042927111
85232711181677   MONICA        SEYAM                       MO     90013757111
85232853551362   ROSE          TODD-STANFORD               OH     66027388535
85233267841275   STEPHANIE     CLAWSON                     PA     90014762678
85233583447897   ALEIAS        JOHNSON                     GA     90005085834
85233881133631   DUSTIN        PUCKET                      NC     90001638811
85234123591979   FRITZ         DYER                        NC     90003081235
85234636155971   SILVIA        GALVAN                      CA     49073086361
85235374377537   CARL          PAGNI                       NV     90014443743
85235849455971   DALISAY       CLAVERIA                    CA     90014588494
85237423141275   JOHN          THERINGTON                  PA     90013614231
85238152251362   MICHELE       HAGER                       OH     90003151522
85238541271977   SHEM          MARTINEZ                    CO     90012845412
85238699941262   NICOLE        WILLIAMS                    PA     90002596999
85242159477537   DENNIS        PAINTER                     NV     90013361594
85242222147897   MIKE          WEST                        GA     14028992221
85244227971977   JOE           RODRIGUEZ                   CO     38010432279
85244484541275   RONDA         ANGERMERER                  PA     90006754845
85245875241262   KIMEA         KARAM                       PA     90007468752
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85248182185856   DION          NAUARRETTE                  CA     46018171821
85248224961943   ALEJANDRO     SALMAN                      CA     90011212249
85248363655945   RICK          HERRERA                     CA     90013713636
85248919241275   LISA          DASCHE                      PA     90015129192
85249139871977   TAMELA        SANCHEZ                     CO     38015511398
85249224961943   ALEJANDRO     SALMAN                      CA     90011212249
85249823993771   JOSHUA        JOHNSON                     OH     90012438239
85251417341275   GERALD        TERRY                       PA     90009054173
85251867555971   SANTIAGO      FRIAS                       CA     49001708675
85252578971977   KARLY         KATSUMOTO                   CO     90012815789
85253346251349   JOHNAY        MOORE                       OH     66013913462
85253481141275   TIFFANY       ROLLERT                     PA     90010154811
85253519951357   BEN           BURNHIMER                   OH     90004525199
85254225681621   MARIA         GABARRETE                   KS     29068102256
85254647233698   SUSIE         CORREL                      NC     12089376472
85254765161928   ERIC          WRIGHT                      CA     46005537651
85255112155971   CRUZ          GARCIA                      CA     90011081121
85255312781677   NORMA         SAENZ                       MO     90014023127
85255323761928   ARLETTE       ALVAREZ                     CA     90013233237
85255426877537   STEPHEN       SHIPMAN                     NV     90013254268
85256636231445   XLAOMIN       NING                        MO     90014946362
85257319181677   AISHA         MILES                       MO     29044603191
85257398191979   DANLETTE      WAH                         NC     17042713981
85261424491975   LEIDY         MEJIAS                      NC     90013234244
85261864391837   AMY           JONES                       OK     90010458643
85262457291975   OSMAN         MENDOZA                     NC     90008664572
85263467691324   JANIS         BROADDUS                    MO     29069284676
85264632297138   JOANNE        MIRANDA                     OR     90010936322
85265877777537   CHAYSE        MUNOZ                       NV     90012238777
85266312891324   VONACIA       JOHNSON                     MO     90004783128
85266885251366   BENJAMIN      GINGRICH                    OH     90010408852
85267186955945   CRISTILDE     GUTIRREZ                    CA     90011031869
85269347433698   CYNTHIA       CHAPMAN                     NC     90013233474
85269683541275   NICHOLOS      DEBUCCI                     PA     90015476835
85271277171977   NEISA         HINTON                      CO     38004532771
85271299685856   KAREN         SHEPHARD                    CA     46086232996
85272839851372   ADETTE        GORDON-CRADDOCK             OH     66092878398
85272945855971   ANA           ESPINO                      CA     90008949458
85273551397138   JOSE          MARCANO                     OR     90013165513
85275245433471   MARKEESE      DAVIS                       AL     90011662454
85275378161928   REBEKAH       FERRANTI                    CA     90008963781
85277362591979   TARRYN        GRAVES                      NC     90014613625
85281762984347   GUY           WEST                        SC     19074947629
85282321791975   CHARLES       BURKE                       NC     90012833217
85284632391837   JACQUELINE    RINNE                       OK     90014636323
85285729755971   MICHAEL       SUAREZ                      CA     90013297297
85286544677365   ANTHONY       BADEJO                      OH     20557435446
85286761193771   ADAM          ALEXANDER                   OH     90007467611
85286963281677   DARNIECE      JOHNSON                     MO     29001019632
85287245191837   SONYA         MCCANN                      OK     21080142451
85288222533698   SAMUEL        SOX                         NC     90014182225
85289713451362   TOM           DELANEY                     OH     66018027134
85291825591837   PAYGO         IVR ACTIVATION              OK     90011508255
85291993577537   LISA          HARDWICK                    NV     90000799935
85292372555971   LUZ ELENA     OROZCO                      CA     49033923725
85292513377537   JENNIFER      HUBLER                      NV     90014815133
85292643893771   MICHAEL       WASIHUN                     OH     90001596438
85293886291837   GERARDO       MORALES                     OK     21065978862
85295186791837   JOSE          GUERRERO                    OK     90014041867
85295237451362   BARRY         REYNOLDS                    OH     90006512374
85295267755971   RODOLFO       RAMIREZ                     CA     90013052677
85295489841262   DENNIS        GAZATI                      PA     90006444898
85295645277537   MARIAH        CHESS                       NV     90014456452
85295819391979   ERIC          SANCHEZ AGUILERA            NC     90006338193
85296614191975   BOBBY         JONES                       NC     17096906141
85298756354194   JOSE          CASILLANOS                  OR     90015407563
85311897471977   SHANNON       WELDON                      CO     90012748974
85312394677537   JOSE ARISTE   ARIAS                       NV     90014893946
85312939471977   CARRISSA      CROSBY                      CO     38030039394
85313298341262   L WILLIAMS    ROCHELLE                    PA     51027952983
85313449197138   HOLLIS        MCCLURE                     OR     44012204491
85316248933698   JESSICA       MARTINEZ                    NC     90014182489
85316862291975   NORA          MESA                        NC     90013918622
85318382891324   TERESA        MALDONADO                   KS     90003833828
85318869941275   CHANELE       IANDIORIO                   PA     90014898699
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85319524691837   ANABEL        CHAVEZ                      OK     21054295246
85319917255945   TAMBRA        ASHER                       CA     90008309172
85321613233698   ELIZABETH A   LEE                         NC     90004896132
85322466497138   ALONSO        ALVAREZ                     OR     90014894664
85323481991324   LAJUANDA      WILSON                      KS     90014684819
85324228941275   THOMAS        NAYLOR                      PA     90014022289
85325249633698   LOLY          POLY                        NC     90014182496
85326319591979   TIA           DAVIS                       NC     90011103195
85326328977537   CHRISTOPHER   NEWHOUSER                   NV     90015203289
85326573441262   STEFON        DIXON                       PA     90012395734
85328262233698   LOLY          FLOLY                       NC     90014182622
85331262533698   MICHELLE      OBAMA                       NC     90014182625
85331736141262   JUAN          CEDILLO                     PA     90002887361
85333385747897   JAMES         KING                        GA     14067853857
85334248991975   TANIKA        ZACHARY                     NC     90005132489
85336433191532   JOSUE         RIVAS                       TX     90010814331
85336533477537   JUANA         CRUZ                        NV     43027945334
85337278133698   ASHLEY        DIAZ                        NC     90014182781
85337338591242   EDDIE         ROBERTSON                   GA     90013783385
85338489581677   ISAIAS        CAMACHO OLMEDO              MO     90015134895
85338742271977   MONIQUE       RODRIQUEZ                   CO     90012557422
85339278233698   ANGELINA      JOLIE                       NC     90014182782
85339982177537   CHRIS         KLEBBA                      NV     43022219821
85342587355945   MICAYLA       WESSON                      CA     90014005873
85342595971977   JACQUELINE    GARCIA                      CO     90013085959
85345491741275   KATRINA       DUNCAN                      PA     90011994917
85345951797138   MARIA         ROBLES                      OR     90014939517
85346259197138   STEPHANIE     NICHOLES                    OR     90012272591
85347398641262   ALLISON       BRIDGETT                    PA     51015323986
85347959685856   ANNALISA      MACIAS                      CA     90011619596
85348462733698   NATASHA       WALL                        NC     90012974627
85349996297138   JULIETA       LARIOS                      OR     90014399962
85351232777537   FERNANDO      RIVERA                      NV     90009482327
85353748291979   WENDY         MARTINEZ                    NC     17089067482
85354196177537   TERI          EARL                        NV     43027691961
85356413447897   RAHEEM        WILSON                      GA     90014324134
85357114851337   KEISHA        GRIFFIN                     OH     90005631148
85357339791975   PANZO         MABIALA                     NC     90005133397
85357528191583   ARTHUR        TURZA                       TX     90011675281
85357948755945   YOLANDA       ANDRADE                     CA     90007179487
85358322851347   REAGAN        SWEAT                       OH     90004043228
85358339177537   JOSHUA        MCGRATH                     NV     90002893391
85358357233698   ANGELO        JOHN                        NC     90014183572
85361321491975   BRENDA        GILMORE                     NC     90012873214
85361367833698   SONYA         LUNG                        NC     90014183678
85361561197138   FRANCISCA     LARIOS GARCIA               OR     44091475611
85364322555971   ANA           ESTRADA                     CA     49006013225
85367961793771   FRANK         NELSON                      OH     90008409617
85369244291975   AMANDA        EASTON                      NC     90011682442
85369256641275   JUSTICE       HALL                        PA     90014762566
85369394533698   AMANDA        CLARK                       NC     90014183945
85371182191837   GLENDA        STEVENSON                   OK     90012831821
85373347541262   ROBERT        RICHARD                     PA     90013493475
85373552141275   JAMES         BROWER                      PA     51041375521
85373659891975   PETER         RIVERA                      NC     90011056598
85374449261928   JOANN         NORMAN                      CA     90013624492
85374528655971   ARNULFO       CASTRO                      CA     90015045286
85374582391837   RON           COLEMAN                     OK     90013445823
85376112441262   TRACY         MCKIVITZ                    PA     51019621124
85376417341275   TODD          CARMAN                      PA     90012474173
85379513461928   ANGELA        THOMAS                      CA     90010705134
85381172791324   SOCORRO       HERNANDEZ                   KS     90003041727
85382561455997   GARY          TAKEMOTO                    CA     90002225614
85382849293771   SARAH         BROWN                       OH     90014908492
85383767533698   MIRIAM        HERNANDEZ                   NC     90013127675
85384574791979   JONATHAN      GREENE                      NC     90014955747
85384582391837   RON           COLEMAN                     OK     90013445823
85384943133698   STACY         STANFIELD                   NC     90005259431
85385262455945   FRANK         ESTRADA                     CA     90014162624
85385465491324   WENDY         ANFINSON                    KS     90011324654
85386332436164   MICHAEL       PEREZ                       TX     90007843324
85386339381677   COLE          HICKS                       MO     90013133393
85386593255971   ISAAC         ROA                         CA     49060145932
85387113577537   MICHAEL       VALENZUELA                  NV     90012781135
85387721455945   FLORDELIZA    KEPLINGER                   CA     90000477214
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85387811347897   JUNE         JACKSON                      GA     90015068113
85389339381677   COLE         HICKS                        MO     90013133393
85389521991979   JENNIFER     CANNON                       NC     90014815219
85389528191583   ARTHUR       TURZA                        TX     90011675281
85389695391975   WILMER       ESTUARDO                     NC     90010406953
85389717177537   CARLOS       CHAVEZ                       NV     43027737171
85391991671977   RALPH        MONTEZ                       CO     38082209916
85392472593771   RHONDA       DAILEY                       OH     64503534725
85394292191242   SAMEERAH     ANJAIL                       GA     14513112921
85395246191979   MOMODOY      SONKO                        NC     17063032461
85395582433698   LAEISHA      ROBINSON                     NC     12087645824
85396243755945   LORRIE       JARRETT                      CA     90014802437
85396393771977   MORRIS       GADE                         CO     38074383937
85396785181677   RYAN         SWIFT                        MO     29015297851
85397129391975   ANGELET      CHERRY                       NC     90012261293
85397214291979   PARIS        LEACH                        NC     90011082142
85399771781677   MYRANDA      GILMORE                      MO     90011307717
85411441893771   DAVID        WALKEY                       OH     90011094418
85411691997138   ANTONIO      SANTOS                       OR     90014156919
85411725661928   CELERINA     FLORES GARCIA                CA     46090807256
85413548733698   WANDA        SYKES                        NC     90014185487
85413894657142   DAVID        BRAUER                       VA     90014798946
85414397491837   HEATHER      THOMPSON                     OK     90008123974
85414557433698   SHARKIESHA   BONQUIQUI                    NC     90014185574
85415144591975   AKINSOLA     OKUNSOKAN                    NC     90006551445
85417336793771   ZANEDA       BILLINGSLEY                  OH     64559953367
85418578197138   KELLY        SUTTON                       OR     90005895781
85419296281677   AZHA         BROWN                        MO     90010882962
85421181471977   ROSEMARY     MOLINA                       CO     38005911814
85421759271956   ROBERT       HEBLINGER                    CO     90012707592
85422271591979   SHANNON      CULVER                       NC     17029092715
85422784293771   HEATHER      FLANIGAN                     OH     90013987842
85423678471977   MICHAEL      RAEL                         CO     90014836784
85423895541275   HEATHER      MARTINEZ                     PA     90014028955
85424528291324   JACQUELINE   CORONADO                     KS     90014085282
85424962157133   ALAIDDIN     AHMED                        VA     81097639621
85425552571977   CHRISTEAH    MONTOYA                      CO     90013405525
85426175991324   TRISTAN      RUSSELL                      KS     90015131759
85428335771977   JOHN         WYGLE                        CO     90015423357
85428469791324   CORNELIO     PACHECO                      MO     29011554697
85428685671977   ALEXZANDRA   GUTIERREZ                    CO     90013066856
85431132441262   RACHEL       DUNBAR                       PA     90013961324
85431533655971   MANUEL       GUTIERREZ                    CA     90015175336
85432617873294   IVELISSE     RIVERA                       NJ     90012006178
85433379691242   JESSICA      PARKER                       GA     90013013796
85433381691975   TYREE        THOMAS                       NC     90011033816
85433386655971   MARISA       RAMIREZ                      CA     90014753866
85434332391837   JASON        WILLIAMS                     OK     90010933323
85434479191975   ANTHONY      REISDORFF                    NC     90014484791
85434959193771   DEANNA       ELAM                         OH     90012689591
85435183277537   CHARLENE     LACLAIRE                     NV     43061791832
85435385455945   YSRRAEL      MOREYRA                      CA     90007593854
85436549377537   LELAND       KENDALL                      NV     90013225493
85437695433698   BOLLY        BOLLY                        NC     90014186954
85439956791962   GEISSA       PINELO                       NC     90011549567
85441913691324   PABLO        FLORES                       KS     90009629136
85444245191324   PAMELA       JOHNSON                      KS     90014372451
85445545781677   THOMAS       SHIELDS                      MO     90014945457
85447378791979   CHRIS        HALL                         NC     90014273787
85447853733698   IRLEN        MENDOZA                      NC     90001098537
85448594785856   SILVANA      CASTANEDA                    CA     46032475947
85449378491837   JUAN         DELGADO                      OK     90013263784
85449745491975   EBONY        HINTON                       NC     90005637454
85451494393771   ROCHELLE     WASHINGTON                   OH     90006494943
85452174157135   EILEEN       WASNER                       VA     90002161741
85452184993771   WILLIAM      ARMOUR                       OH     90008341849
85452874191324   JUAN         TISCARENO                    KS     90013028741
85452878281677   RICHARD      VERGARA                      MO     90015278782
85454577591324   CHRIS        WILLIAMS                     KS     90011925775
85455119991324   JUAN CARLO   HERNANDEZ MORALES            KS     29047051199
85457176155971   ARTURO       LOPEZ                        CA     90015091761
85457552233698   KATRINA      BEIER                        NC     90013305522
85457932347897   AZZUKIHRUF   MORRIS                       GA     90013219323
85458689377537   ROBERT       FERNANDEZ                    NV     90015596893
85459426355945   GLOVER       DENISE                       CA     49043984263
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85459464461928   BIANCA        POPPLEWELL                  CA     90014484644
85463346871977   BARBARA       MOORE                       CO     38090973468
85463676161928   NOE           LOPEZ                       CA     90012696761
85466197533698   ASHLEY        VARELA                      NC     90010761975
85466828141232   MARK          TWAIN                       PA     90012478281
85471171955971   FERNANDO      SALAZAR                     CA     90011141719
85471344541262   TAMARA        PETTY                       PA     90013653445
85471584755945   BONIFACIO     RAMIREZ                     CA     90011045847
85471627493771   KIETH         SAMS                        OH     90011376274
85471884455945   SANDRA        CASAREZ                     CA     90014638844
85472587233698   JUSTIN        RANDOLPH                    NC     90005415872
85472763777537   ROBERT        GAMBOA                      NV     90009237637
85472811791324   PATRICIA      LIKENS                      KS     90014398117
85472991391324   PEACHES       HOLLY                       KS     90009069913
85473421555945   JESUS         BARAJAS                     CA     90001844215
85473425381677   ALPHONSO      VURRIS                      MO     90015114253
85473538847897   MICHAEL       MARTIN                      GA     14038955388
85475238351349   MARIAN        JONES                       OH     90013482383
85475561555971   AARON         JIMENEZ                     CA     90012915615
85476585291868   KRYSTAL       HYMON                       OK     90011255852
85476597841275   MARIA         BRUNO                       PA     90001025978
85477914155945   SHAWNA        DAVIS                       CA     90010349141
85479286671977   JOEL          NUZZO                       CO     90009462866
85482286941262   TAEVON        ZINEMON                     PA     90014862869
85483679581677   CATHERINE     BARTOW                      MO     29080726795
85485228491837   ANNA          DAVITO                      OK     90014102284
85485234855945   NADEAN        MORGAN                      CA     90015112348
85485579771977   ISAAC         ENCINIAS                    CO     90013285797
85486716147822   TOWANNA       DUNCAN                      GA     90014237161
85486839391979   ROBERT        ARRINGTON                   NC     90013928393
85486972591975   JAVIER        ARRONIZ                     NC     17039309725
85488686833698   ELAINE        REYNOLDS                    NC     90013046868
85489896571977   MICHAEL       DURAN                       CO     90014138965
85491318361928   ACOZTA        RITEA                       CA     90001993183
85491492833698   FELIPE        GALVAN MUNOZ                NC     90012964928
85491513855945   GEORGE        HAMILTON                    CA     49091405138
85491828161994   ROBERT        WHITE                       CA     46067968281
85492122971977   ESTELLE       ALMEDA                      CO     90013801229
85492732533698   MARTIR        GONZALEZ                    NC     90012167325
85492787355971   JUDITH        SANDOVAL                    CA     90015097873
85493498971977   JOSEPH        MILLIGAN                    CO     90008994989
85494574841262   ANGELA        SCOTT                       PA     51057505748
85495875941262   DAVID         SUTTON                      PA     90003548759
85496277691979   QUINTANA      LEE                         NC     90012412776
85496615347897   SHYRETTA      BROWN                       GA     14007956153
85496859491324   EDITH         OLIVAS                      KS     29088768594
85496972181658   SONYA         BANKS                       MO     90010269721
85497217355945   JUSTIN        LEDESMA                     CA     90014912173
85498758991324   STEPHANIE     MEDLEY                      KS     90013557589
85499328991975   ELIZABETH     ESCOBEDO                    NC     90006373289
85499672197138   ANTHONY       MANKIN                      OR     90013996721
85499938991324   ERICKA        MEJILLA                     KS     90014919389
85499988851357   MIGUEL        GARCIA                      OH     90013519888
85511354347897   BRYANT        DANNY                       GA     90014173543
85511516251362   FRANKLIN      ADKINS                      OH     90006165162
85512584481677   TERESA        SINGLTON                    MO     90001925844
85513196363644   DEBORAH       SCHELBRINK                  MO     27500271963
85513214491242   JEFFREY       BURFFORD                    GA     90001122144
85513462291979   JEAN JANICE   SANCHEZ WEIL                NC     90011494622
85513536741272   PHILIP        HOOPER                      PA     51048855367
85513574393771   NICOLE        TAYLOR                      OH     90010255743
85515578155945   ZACHERY       MULLINS                     CA     90012805781
85516912655945   KELLI         MCCLELLAND                  CA     90013149126
85516951641262   KIMBERLY      MAUST                       PA     90014129516
85519822584325   WILLIAM       MORALEE                     SC     14570598225
85522367371977   TINITY        DABNEY                      CO     38008053673
85522873755971   LANAIE        MCALSTER                    CA     90008138737
85523371391979   TALIA         ANTHONY                     NC     90013293713
85524694951362   TARA          PENROD                      OH     90014246949
85526933577537   JOSE          LEMUS                       NV     90015259335
85527355141262   ROBERT        JOHNSON SR                  PA     90014893551
85529598197138   MISTY         DAWN-GINEZ-                 OR     90003695981
85531858681677   DAVID         LANG                        MO     90014928586
85533121893771   CORNELL       TRAMMELL                    OH     90004221218
85533681133698   JAMES         HOLMES                      NC     90010666811
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85534931297138   JOSE         FAJARO                       OR     90015279312
85536223247897   TERESA       ROBERTS                      GA     90002662232
85536478155971   DEBRA        SUSTAITA                     CA     49049934781
85536911991979   BRENDA       DUNSTON                      NC     90009949119
85537114391837   DEBRA        MOORE                        OK     90009121143
85539787191975   TIFFENEY     GENTLE                       NC     90012147871
85541128671977   ED           BARELA                       CO     90000621286
85542985561928   DANIEL       FLORES                       CA     90010809855
85543396641262   CHILD        RUSSEL                       PA     51064353966
85543873777537   HECTOR       OVIDEO                       NV     90013228737
85545814993771   DENICO       CULPEPPER                    OH     90001338149
85546559293771   RODGER       PAYNE                        OH     90014015592
85546674193771   RODGER       PAYNE                        OH     90011586741
85546861291979   KATRINA      TAYLOR                       NC     90010968612
85546874331449   DARRYL       RICHIE                       MO     90001478743
85547324541262   EMERY        DIXON                        PA     90012083245
85547699691979   CASANDRA     HOWARD                       NC     90010096996
85547831831449   YOLANDA      RICHIE                       MO     90001478318
85548816977537   RYAN         CHASE                        NV     90006448169
85548995691837   RONNELL      WILLIAMSON                   OK     90003049956
85549815891837   WILLIAM      MILLARD                      OK     21074988158
85552487755945   RITA         GARCIA                       CA     90012504877
85552599955971   LUIS         ALBETO LUNA                  CA     90005785999
85552795991979   CYD          ROMAN                        NC     90014787959
85555637171977   CISCO        CORTEZ                       CO     90010066371
85557714277537   PEDRO        SALAS                        NV     90015147142
85557799385856   ROGER        SHARMA                       CA     90006117993
85558331791324   MARIA        PANAMA                       KS     90014193317
85558392551362   TARA         PENROD                       OH     90012653925
85562484755971   RUBI         HERNADESZ                    CA     90012864847
85563631971977   RAUL         ESTRADA                      CO     38012416319
85564189747897   BRITTNEY     BROWN                        GA     90014581897
85565334833698   YOLANDA      WILLIAMS                     NC     90007993348
85565485791837   DERRAI       HUFF                         OK     90005474857
85566158977537   MARIA        ANDRADE-OROPEZA              NV     90011811589
85566226391837   TARA         TAYLOR                       OK     90011492263
85566325341262   CHARNIKA     HARRISON                     PA     90013113253
85566588147897   CHARLES      ADAMS                        GA     90014715881
85566622141275   CORNELIUS    MCDONALD                     PA     90012566221
85567957841275   MARCELLA     WELLS                        PA     51070169578
85569183797138   MILAGROS     GARIBAY                      OR     90010711837
85569518941275   AMY          CEYROLLES                    PA     51022245189
85569546255971   JUANA        BECERRA                      CA     90000705462
85571352733698   MAVIS        GARNER                       NC     90013723527
85571958891837   JENNIFER     BENNETT                      OK     90010699588
85572145855945   ROSEMARY     PADILLA                      CA     90013681458
85573511381677   JEREMY       LOONEY                       MO     90009975113
85573921141275   MEGAN        SWEENEY                      PA     51048469211
85573957133698   REGINA       JOYNER                       NC     90013899571
85574541691979   EDGAR        MEJIA                        NC     90012325416
85574688941275   JOHN         LAMBERT                      PA     51032906889
85575762697138   MARIELA      VALERA                       OR     90008907626
85575912191837   TASHA        WILLIAMS                     OK     90002989121
85575926491975   MAYNOR       VILLAGREZ                    NC     90013259264
85577158155971   MARCOS       SANCHEZ                      CA     90006301581
85577388671977   PAMELA       GIUS                         CO     38045273886
85577415647822   ALICIA       ALVAREZ                      GA     90002224156
85578238933698   SALINDA      JONES                        NC     12083542389
85578333241262   CHENAY       COX                          PA     51032903332
85582438691837   LYNN         SOLBACH                      OK     90012584386
85582526631451   DELISA       EDWARDS                      MO     90014385266
85582546655997   SERVANDO     CAMACHO                      CA     90010685466
85584167441275   OM           DHUNGEL                      PA     90010421674
85584836144393   GLORY        NWAKANMA                     MD     90000788361
85585676455945   MAI          MOUA                         CA     90014716764
85586165971977   BRANDON      SARMIENTO                    CO     90014761659
85586629391979   FELISA       LAVIN REYNOSO                NC     90004086293
85587284761928   ARENEE       MCLAIN                       CA     90009852847
85587364455945   ANTONIO      HERNANDEZ                    CA     90014183644
85587513191532   GILBERT      LOPEZ                        TX     90003865131
85587742481677   MINNIE       STRAUGHN                     MO     90014307424
85587854971977   AIOTEST1     DONOTTOUCH                   CO     90015128549
85591525661928   LEORA        OLSON                        CA     90008395256
85592864241275   JAMES        EHRENBERGER                  PA     90009018642
85593847891979   CINDY        BURTON                       NC     90011068478
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85597587355945   MICAYLA      WESSON                       CA     90014005873
85598311741262   MICHAEL      JAKSON                       PA     90013933117
85599464891324   GABE         HAMILTON                     KS     90013364648
85599956193771   JENNIFER     LANE                         OH     64512809561
85599995841262   CHERIE       JOHNSON                      PA     51077869958
85611134341275   LORRAINE     FLEMING                      PA     51058751343
85611695155971   DIANA        RAMIREZ                      CA     90011406951
85611876461963   ALEJANDRO    LOPEZ                        CA     90001628764
85612524291979   JORGE        MATAMOROS                    NC     17030865242
85614117671977   LYNETTE      RODRIGUEZ                    CO     38074101176
85614195177533   ARACELI      REYNA                        NV     43017821951
85614222641262   JESSICA      WARE                         PA     90014852226
85615843281677   MITCHELL     GIBESON                      MO     90009048432
85616962593771   DARREN       HARRIS                       OH     90013399625
85617424251362   SHAWN        HORTON                       OH     66088634242
85617565591979   LINDA        DUNN                         NC     17042545655
85617787977537   PENDT        RUSSELL-SCOTT                NV     90011197879
85618482571977   LINDA        SMALLS                       CO     90011344825
85619923991979   THOMAS       BURTON                       NC     90011069239
85622627755971   ANTONIO      FRAUSTO                      CA     90014596277
85622897255971   ADAN         RIOS                         CA     90014618972
85623823281677   CHRISTINA    DAKESSIAN                    MO     90013388232
85625232157128   MARCELA      ANTEZANA                     VA     90013032321
85625488761928   DAVID        AVINA                        CA     90012494887
85626241941275   SHAWNELL     WILES                        PA     51040712419
85627358691975   ETHAN        MCEWEN                       NC     90014503586
85629118255945   FIDEL        VASQUEZ                      CA     90010591182
85629446971977   DESTINY      PACHECO                      CO     90010714469
85631423885856   ROBERTO      ALVARADO                     CA     90009034238
85631666381677   ANGELICA     HAENZ                        MO     90009716663
85632378841275   LAURA        GAETANO                      PA     51067003788
85632788255945   MIKELLBY     MCCARTHY                     CA     90013777882
85632965497138   ARACELII     RODRIGUEZ                    OR     90009239654
85633317271977   KEN          MCDANIEL                     CO     90014853172
85634736171977   ANDREA       VIGIL                        CO     38051467361
85634974351347   AARON        CRUMP                        OH     90001709743
85636632691324   LILIAN       GUERRERO                     KS     90006076326
85636877691979   MARIA        ESCOBAR                      NC     90011468776
85636934841275   ERICKA       KINARD                       PA     51080969348
85637268355971   MIGUEL       MENDOZA                      CA     90012742683
85637369891975   LUCY         BLANCO                       NC     90010473698
85637976661928   NATHAN       PRESTON HALE                 CA     90014959766
85638447631284   BEVERLY      BAINES                       IL     90010494476
85641478197138   JUAN         GOMEZ                        OR     44025064781
85642289191837   SARA         FRENCH                       OK     90007942891
85642938341462   TRINA        PHILLIPS                     WI     90013699383
85643596791837   LATISHA      WASHINGTON                   OK     21027095967
85644168347897   JANICE       CATER                        GA     90014901683
85646424561928   KENNETH      RED                          CA     90012834245
85649837585856   RAMIN A      RAAYA                        CA     90010918375
85651476661928   PATRICE      GRAY                         CA     46007004766
85651511891979   FELICIA      COOPER                       NC     90009675118
85652428693771   TYRA         WALLEY                       OH     90001064286
85652466347897   MARQUISE     HOWARD                       GA     90014034663
85653793155971   ANTONIO      ESPINOZA                     CA     90014607931
85654311733698   ANGELA       MCKOY                        NC     90010063117
85654742377537   CLARA        CARRILLO                     NV     43037057423
85655511977537   JULIET       WOODS                        NV     90011055119
85656595741275   ROBERT       FERRY                        PA     90003745957
85656619547897   LAKEETA      BROWNER                      GA     14050206195
85656737297138   JEANENE      WOLF                         OR     44073127372
85657862377537   JAQUELINE    DELATORRE                    NV     43000668623
85658618555971   YOLANDA      SOLANO                       CA     90005046185
85659836293771   TASHA        NEUKIRCHNER                  OH     90003078362
85659875161928   HECTOR       ARMENTA                      CA     90012648751
85661177591324   JOE          SCHOONOVER                   KS     90004901775
85662146984325   PETE         LONG                         SC     14571201469
85662325193771   WILLIAM      GONZALEZ                     OH     90014053251
85665286233698   JESSIE       PHILLIPS                     NC     90008902862
85666526241262   DAVID        VASAUEZ                      PA     90012455262
85667235293771   PHILIP       JAMES                        OH     90011662352
85667283893771   JESUS        JARILLO-SOSA                 OH     90015022838
85667838861928   NORA         CORTEZ                       CA     90003138388
85668846891975   FERNANDA     SOSA                         NC     90006048468
85671219393776   RANDALL      BURKE                        OH     90013432193
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85672648941262   NEAL          HINTERLANG                  PA     90010966489
85673524541275   KERRI         FITZGERALD                  PA     90012305245
85673537991837   JONATHAN      GLENN                       OK     21047355379
85674277751598   MARY          BANAK                       IA     90014862777
85675232755971   LEE ARACELI   MARTINEZ                    CA     90013062327
85675474277537   CHRISTINE     STARK                       NV     90012704742
85675532971977   CRYSTAL       VALDEZ                      CO     90008435329
85676958197138   JENNIFER      BORLAND                     OR     44071789581
85677679141275   TERRA         BRIETIC                     PA     51004526791
85677969791979   SHERMAN       PERRY                       NC     90014569697
85678252172467   ZACK          MOORBY                      PA     90002332521
85678729891975   RODNEY        MARVIL                      NC     90009157298
85678949671977   BRIAN         LORENZO                     CO     90014879496
85679382241275   NORMA         HOWARD                      PA     51075903822
85681447571977   ERICA         BAROS                       CO     90000834475
85681474477537   ENEREIDA      MORA-BELTRAN                NV     90011284744
85681883341272   TIFFANY       MCINTOSH                    PA     90014028833
85682678471977   MICHAEL       RAEL                        CO     90014836784
85684234761466   MIKEL         CALSTON                     OH     90014822347
85684461555945   MARQUEZ       RITA                        CA     90011774615
85686633891979   GUILERMINA    CEDENO                      NC     90015146338
85689282791324   LEON          MERA                        KS     90003822827
85689311491837   MICHARL       DUDLEY                      OK     90009863114
85691875491979   DANIEL        PERES                       NC     90011958754
85692452447897   BARBARA       MAYS                        GA     14010554524
85692851433698   CHRISTOPHE    LOCKLEAR                    NC     12035248514
85693682761928   MILLEM        RESENDIZ                    CA     90010426827
85695139897138   SILVESTRE     ELIAS VEGA                  OR     44036391398
85695163655945   BERNADETTE    HERNANDEZ                   CA     49077421636
85695355481687   LUCIA         ROGERS                      MO     90012263554
85695469871977   ALBERT        RAMIREZ                     CO     90003234698
85695491277537   DALIA         GONZALEZ                    NV     43074824912
85696385185856   KATHY         WHITE                       CA     90004013851
85697123681677   BRIAN         BROWN                       KS     90013671236
85698687251362   DEIDRA        WARREN- GOODE               OH     90013376872
85699474291975   BRIAN         BASS                        NC     90012334742
85699663547897   DAMEIN        OLIVER                      GA     90010386635
85712279891837   WINSTON       BARNES                      OK     21079842798
85712656891979   NICOLE        HARRIS                      NC     90014856568
85713371933698   CHARLES       EVANS                       NC     90013133719
85714422877537   RENE          AVILA                       NV     90002174228
85715823461928   KATIA         PAPAQUI                     CA     90011998234
85715925884325   TAHERAH       BEATON                      SC     14596369258
85716561493771   RILEY         FREEMAN                     OH     90011095614
85718543591979   EBONE         DENPSON                     NC     90012765435
85718699271977   BEATRIS       RODRIQUEZ                   CO     90004776992
85721574797138   MA            THUZA                       OR     90015165747
85721768691837   DANA          FREEMAN                     OK     21079777686
85722853991324   FRANCES       DILLARD                     KS     90007558539
85725569191324   CHARLES       FITE                        KS     90014355691
85726689291324   MAY           TOE                         KS     90012226892
85726716391975   MONIKE        THOMAS                      NC     90012977163
85726754191975   MONIKE        THOMAS                      NC     90013637541
85727366691975   JAY           SCHEPKER                    NC     90013933666
85727693533698   JAMES         GILMORE                     NC     90013046935
85727855771977   AIOTEST1      DONOTTOUCH                  CO     90015128557
85728357551362   COURTNEY      JACKSON                     OH     66063993575
85728793741237   CHRIS         LUDWIG                      PA     90010117937
85728811671977   REBECCA       SEGURA                      CO     90000368116
85729195591979   STEPHAINIE    GRIMSTEAD                   NC     90014311955
85729366691975   JAY           SCHEPKER                    NC     90013933666
85729756547897   SUMMER        THOMAS                      GA     90009747565
85731274955971   SOCORRO       HUNTER                      CA     90007932749
85732897561928   AKISHAH       HOLLAND                     CA     90013728975
85732925357128   VILMA         FUENTES                     VA     81054709253
85733782297138   CERDA RICO    JESUS                       OR     90000907822
85734691181621   MARK          BOWMAN                      MO     29090276911
85735569133698   DEZAI         TAI                         NC     90012325691
85737542741262   MICHELLE      WILBURN                     PA     90000285427
85738587347822   KIMBERLY      BUCKNER                     GA     90008065873
85739598291837   DANI          RIDNER                      OK     21058475982
85739722771977   SARAH         CLAPP                       CO     90013197227
85741568491975   SHAY          GRIMSTEAD                   NC     90013965684
85742583591837   WYLEETA       PATRICK                     OK     90007125835
85742731941275   STEFANIE      SHEHAND                     PA     51031487319
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85743348847822   VERNIQUE     LYNN                         GA     90002783488
85743356891863   CAMILLE      LEWIS                        OK     90015203568
85744754681677   MICHAEL      HILL                         MO     90014627546
85745311991975   MEDARD       IRAKOZE                      NC     90014703119
85746332941262   CHANINGS     BUTLER                       PA     90013933329
85746986691324   DANIEL       WELCH                        KS     90002459866
85747816641275   SHAELIN      DELANEY                      PA     90013458166
85747999891837   MARIO        GARCIA                       OK     21037059998
85748898333698   NIKA         GARCIA                       NC     90012718983
85749771633698   DAWN         HARRIS SMITH                 NC     90010437716
85751792633698   GLADYS       LOAIZA                       NC     90005207926
85752745191837   CHRIS        HARLESS                      OK     90014297451
85753171371977   VICTORIA     ROMERO                       CO     90010311713
85753349755971   ANGEL        LOPEZ                        CA     90005683497
85753984591975   BRENDA       GURLEY                       NC     90014919845
85754253791837   LARRY        FORTENBERRY                  OK     21003812537
85755362455945   FELICIA      MARKHAM                      CA     90006963624
85755744291324   RAMON        LARA                         KS     90010257442
85756724677537   VICTOR       LOPEZ                        NV     90012107246
85757667241275   ALICIA       BROWN                        PA     90009306672
85757742791837   KERRI        ROGERS                       OK     90014907427
85759225871977   ADRIAN       RUIZ                         CO     38019822258
85759391891975   CHANEL       BANDY                        NC     90013983918
85759398441275   KELLY        STARVER                      PA     51049883984
85759848841262   CHARLES      WILLIS                       PA     90014568488
85759858555945   SONYA        GONZALES                     CA     49082788585
85759964891837   JASMINE      BRENT                        OK     90015259648
85761218791324   ANESHA       MARKS                        KS     90005742187
85761329697138   IBARRA       LOURDES                      OR     90004043296
85762373785856   KLARI        OLENSKI                      CA     46061053737
85762382993771   GLENDA       JOHNSON                      OH     90013493829
85763379147897   SHERECA      KING                         GA     14072823791
85763423185856   ADAM         MELONI                       CA     90011644231
85763824793771   KARRIE       GENTRY                       OH     90014768247
85765345741262   WARREN       WHITLOCK JR                  PA     90013933457
85765578471977   CORA         CARDENAS                     CO     38042465784
85766287541275   JOHNATHAN    SNOW                         PA     90008032875
85766616755945   ANDRES       DIAZ                         CA     90013176167
85769655291837   ROSILAN      DEVERS                       OK     90009446552
85772222597138   DANIEL       HERNANDEZ                    OR     90013522225
85773223455971   YENIFFER     HERRERA                      CA     90014672234
85776946541275   ALAN         KOHR                         PA     51059289465
85778193991975   TERRANCE     BRYANT                       NC     90014801939
85778831591979   KAREN        ZAMBRANO                     NC     90013928315
85779165141275   MATHEW       MCHUGH                       PA     51050231651
85782262877537   TRANESHA     MODESTO-TINCH                NV     43098092628
85782973841262   PATRICA      BLACKWELL                    PA     90015159738
85783648781686   LORI         HENDRIX                      MO     90005346487
85784199197138   LESLY        CARDENAS                     OR     90013341991
85784599291324   GERALD       SPICER                       KS     29017015992
85784998577537   JOLENE       CHERRY                       NV     90013589985
85785261555971   BRIAN        RIDDLE                       CA     90014672615
85785378191975   CHARLENE     FOSTER                       NC     90008613781
85785874741275   DERON        LAWRENCE                     PA     90009778747
85786985233698   FELICIA      HOWARD                       NC     12013469852
85787758685856   ADOLFO       FILHO                        CA     46095047586
85787773647897   LATONYA      HARDEN                       GA     90014847736
85787981681677   CHRISTINA    SUTHERLIN                    MO     90009619816
85788724577537   FELIX        MELGAR                       NV     90009887245
85788796191532   DAVID        JAQUEZ                       TX     75058457961
85789946691975   EMMETT       BEARD                        NC     90008199466
85793314591324   TERRENCE     MOORE                        KS     90014513145
85794188497138   BRANDE       BRACKEN                      OR     44010621884
85794541271977   SHEM         MARTINEZ                     CO     90012845412
85796739191324   SPENCER      JOHNSON                      KS     90006447391
85797982881677   ROBERT       BRINK                        KS     90009319828
85798595491324   DAVID        COURTNEY                     KS     90015045954
85799627181677   ARTURO       ROSALES                      MO     29046686271
85811141593771   JENNIFER     PEIRSON                      OH     64509471415
85811165841275   JEREMY       PRYSOCK                      PA     90014971658
85812589681677   JERRI        COOLEY                       MO     29012435896
85814132385856   ALFREDO      FLORES                       CA     90009831323
85814953271977   MICHELLE     DURAN                        CO     90014909532
85814963793771   SHALANDA     STEVENS                      OH     64570119637
85815177991975   RIGO         TRUJILLO                     NC     90000511779
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85815539181677   HUMBERTO      GONZALEZ                    MO     90014155391
85816362591975   JOSE          MENDOZA                     NC     90013243625
85816875971977   JOE           VALDEZ                      CO     90010198759
85817649791975   JULIE         JOHNSTON                    NC     90012476497
85818182455945   JIMMY         WARD                        CA     49028571824
85818698191975   DANIELLE      ROME                        NC     17069036981
85818814361928   MIGUEL        TAMAYO                      CA     46002338143
85818898941275   GERALD        DURANTE                     PA     51026868989
85819113597138   DENISE        BARNFATHER                  OR     90002781135
85819731271977   JESUSITA      RODRIGUEZ                   CO     90014107312
85822569961928   ELIZABETH     GARCIA                      CA     46091915699
85823216547897   JAMES         GRESHAM                     GA     90011292165
85824172671977   ANYA          RUYBAL                      CO     90001371726
85824396161988   WILLIS        JENKINS                     CA     90004273961
85826269591979   BERENICE      AGUILAR                     NC     90012412695
85826758797138   DAVID         SHULTZ                      OR     44008297587
85827118391837   ASHLEY        WHITEHEAD                   OK     90014691183
85827511791324   LUCIO         PEREZ                       MO     90009485117
85827619885856   ANNA          APARICIO                    CA     46032406198
85827771441275   ALBERTO       MORALES                     PA     90014837714
85828341891837   JORGE         GARCIA                      OK     90010243418
85828774393771   JANET         ALEXANDER                   OH     64560037743
85829263161928   KIRSTIE       COUGHLIN                    CA     90014182631
85829288541262   JACK          BURCHETTE                   PA     90014172885
85829753877537   ALICIA        RUBIO                       NV     90009167538
85831661993771   CHRISTOPHER   LEE                         OH     90011096619
85833574361928   KARINA        BLANCO                      CA     90003765743
85835428891837   ANNIE         WYATT                       OK     90009424288
85835487961928   ABRAM         RESEK                       CA     90009044879
85835694347897   JAMES         HILL                        GA     90013816943
85837694347897   JAMES         HILL                        GA     90013816943
85841335691979   SHERRARD      COLON                       NC     90011103356
85841353391837   LAKENDRA      PRICE                       OK     90013483533
85841547291324   DANIEL        PFRIMMER                    KS     90014565472
85841838385856   GLENN         BAUTISTA                    CA     46016678383
85841973461928   LAURA         ROJAS                       CA     90011279734
85842636591975   VISTORIA      WHITE                       NC     90014586365
85843932941262   BRANDON       TOLKACEVIC                  PA     51012179329
85845172341262   DEONTE        WASHINGTON                  PA     90014621723
85845442891975   RAMIRO        BUSTOS                      NC     90013934428
85845863391975   EDNA          PIERCE                      NC     17088498633
85846741561928   JUAN          LOPEZ                       CA     90010797415
85847128547897   TANYA         PLIEGO                      GA     90011281285
85847258691837   SHELLEY       ATCHLEY                     OK     90011022586
85847825891975   MARY          HARRIS                      NC     17061348258
85848429793771   ABRAHAM       MAHDER                      OH     90006164297
85852776355971   LOUIE         MENDEZ                      CA     90014677763
85852899391837   MAGDA         CASTILLO                    OK     90010458993
85853536191837   JAMIE         AUTEN                       OK     21048625361
85853867797121   AMBER         GASPERETTI                  OR     44015688677
85854458197138   ANA           RAMOS                       OR     90013604581
85855342681677   LIZBETH       RIOS                        MO     90013693426
85855913533698   RANDY         MCCRAY                      NC     12005259135
85857675193771   ROBBIE        COBERLY                     OH     64587156751
85858195697138   ANDY          YANG                        OR     90011061956
85858452581666   ERIC          FIGUEROA                    MO     90005584525
85859811697138   JOE           D KEENER                    OR     44088458116
85861988391979   MICHAEL       LILES                       NC     90010429883
85862157341225   DOMINIQUE     CHAUNTELL                   PA     90011811573
85862396571977   CELENA        CHAVEZ                      CO     90014033965
85862919841262   JORDEN        MICKMAN                     PA     90011949198
85863135493771   JOE           JUSTICE                     OH     64537971354
85863157347822   TRAVENA       HOWELL                      GA     90003851573
85863853861928   OSCAR         SOLIS                       CA     46092978538
85867313947897   JASMINE       ALLEN                       GA     90013633139
85867316661928   BRANDON       LEPKOWSKI                   CA     46092523166
85867449171977   LINDAT        ARCHULETA                   CO     38030604491
85867967741262   MICHELLE      BARKER                      PA     51079809677
85868349497138   TERESA        MONAHAN                     OR     44029133494
85868637855971   JOSE          VASQUEZ                     CA     90015226378
85869192177537   MICHELLE      HASSLER                     NV     43017921921
85869465155971   ISAAC         GARCIA                      CA     49065644651
85871338847853   JEFFEREY      HICKS                       GA     90005433388
85871442891975   RAMIRO        BUSTOS                      NC     90013934428
85873186491979   KIMBERLY      MCNEILL                     NC     90002781864
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85875199141262   ALEXANDER    MORALES                      PA     90014441991
85875249671977   CRISTINA     SANDOVAL                     CO     38016202496
85875319947897   WILLIE       STEWART                      GA     90015163199
85875719671964   GREG         KRAUSE                       CO     32004877196
85877311591242   GERTIE       SMULEVITZ                    GA     14512953115
85878195697138   MORGAN       MAYO                         OR     90013411956
85878695255945   RAMIRO       FLORES                       CA     90000776952
85878783881677   JUAN         MORALES                      MO     90014227838
85878961961928   LORENA       JIMENEZ                      CA     46086139619
85879922991324   SHIRLY       LOPEZ                        KS     90010539229
85881187971977   GERRI        POWELL                       CO     90008941879
85882176941275   THEDROLLS    MIKROPOULLS                  PA     90015471769
85883538391837   EUGENE       MILLER                       OK     90010185383
85883674491979   MARGARITA    ROSENDO                      NC     17002646744
85883876561928   JIMMY        PLUMMER                      CA     46006938765
85883896891324   SHANNON      COOPER                       KS     90009988968
85884155184347   GABRIELLE    COX                          SC     90007881551
85884181593771   WILLIAM      ALLEN                        OH     90014991815
85884541697138   SHAWN        PEARSON                      OR     90015275416
85884717941262   JONELL       BLUE                         PA     51097427179
85885855681677   CHRISTINA    MENDEZ                       MO     90015428556
85886332841275   AMANDA       SERRANO                      PA     90014743328
85886381991979   ANTHONY      KEARNEY                      NC     90014033819
85886773881677   ROBERT       HUGHES                       MO     90014887738
85887757751362   ALISA        GARDNER                      OH     90004587577
85887876561928   JIMMY        PLUMMER                      CA     46006938765
85888584591897   CLARENCE     ROLAND                       OK     90004055845
85889393655945   HUGO         ALONSO SANTIAGO              CA     90015313936
85889497491975   DARREN       MCKENZIE                     NC     90014514974
85891612347897   THOMAS       SMITH                        GA     14044396123
85891886881677   LENORA       GREEN                        MO     90014238868
85893346891837   MARIA        ESCOBEDO                     OK     90010613468
85894485791975   ANTHONY      AVERY                        NC     90013934857
85895269591979   BERENICE     AGUILAR                      NC     90012412695
85896391781677   BRITTANY     PHILLIPS                     MO     90014773917
85897716491837   BRIAN        KING                         OK     90013227164
85897835981677   ANITA        HARRIS                       MO     90013568359
85898136451334   JUSTYNA      TYMOSZUK                     KY     66015021364
85898724855945   DAPHNE       MEYERS                       CA     90011167248
85899123893763   MIHELE       STEPHENS                     OH     90011291238
85899835691979   ERIC         KABA                         NC     90015178356
85911648685856   CHELSEA      EANES                        CA     90012306486
85912787291837   BILL         CONLEY                       OK     90010257872
85913344793766   SMITL        MICHAEL                      OH     90007383447
85913784893771   DURHEA       ROBINSON                     OH     64504127848
85915268485856   ANTONIO      SANCHEZ                      CA     90000842684
85915744381677   ROCHELLE     WEST                         MO     90004767443
85915952355945   ANNETTE      NICHOLS                      CA     90007339523
85917956147897   ELI          HERRING                      GA     14044759561
85918139547831   SAMILLA      BRIGGS                       GA     90001241395
85918365591324   LEKEISHA     ROLAND                       KS     90009813655
85919574391979   JOSE         FUENTES                      NC     90012345743
85921514791975   BRANDY       HIGGS                        NC     90010245147
85922281193771   RICHARD      KEATON JR                    OH     64583692811
85924663491837   LINDSEY      MOUNCE                       OK     90010766634
85926974961928   MARK         HAMMOND                      CA     46036619749
85927786841275   MOHIT        JHAMB                        PA     51092967868
85929769393771   APRIL        HAYS                         OH     64589987693
85929948491324   DAVID        GALEANA-ORTIZ                KS     90014869484
85931112151362   ANGELA       DEAN                         OH     66047201121
85931187871956   VINCENT      CASAREZ                      CO     90007621878
85931628661928   JOE          HERNANDEZ                    CA     46068056286
85932173447822   BRANDON      GRACE                        GA     90010611734
85933873491324   KEVIN        SMITH                        KS     90013608734
85934717541275   RENEE        REILAND                      PA     51095397175
85937357881677   YOLANDA      WALKER                       MO     90013443578
85937498397138   DARREN       ARNOLD                       OR     90009074983
85938951647897   ALISIA       WILLIAMS                     GA     90007139516
85939234681677   STEPHEN      WALKER                       MO     90007112346
85939244391979   WALTER       BOLLES                       NC     90011162443
85939599991837   JEROME       GRAY                         OK     90011435999
85939885797138   SARAH        BRISKI                       OR     44064178857
85943129147897   NATHANIEL    SMALL                        GA     90011291291
85943564547897   JESSICA      FAVORS                       GA     90011185645
85943948655971   DOREEN A     LOPEZ                        CA     90006139486
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85945365891324   SHAWN          LOGAN                      KS     90015083658
85945648991558   LINO           RODRIGUEZ                  TX     90011876489
85947872391837   MICHELLE       JOHNSON                    OK     90015188723
85948683993771   DANIEL         HUNTER                     OH     90006446839
85948921361928   GREGORY        BARAINCA                   CA     90001339213
85949894985856   JESUS          CALDERON                   CA     90003208949
85951298491324   CHARLES        WELDON                     KS     90001662984
85953572547897   ALISHA         FRIESE                     GA     90011915725
85954344991837   WILLIAM        ALLEN                      OK     90013263449
85954654161963   IRMA           SANCHEZ                    CA     46092606541
85954683455971   VALERIE        FLORES                     CA     90012856834
85954881461928   TERESA         VAZQUEZ                    CA     46036928814
85957584951362   CHARLES        HUGHES                     OH     90008375849
85958176391979   REINAI         SOTO                       NC     17066831763
85959241991975   BLANCA         FUNEZ                      NC     90012412419
85959885797138   SARAH          BRISKI                     OR     44064178857
85959927951362   BRANDY         GOINES                     OH     90003119279
85961152241262   TINECIA        GARDNER                    PA     90001901522
85961976991975   MARCO          MEJIA                      NC     17014299769
85962212391837   SHEALA         MAYBERRY                   OK     90014032123
85962226177537   EDWARD         PETERMAN                   NV     90014032261
85963265793771   MEGAN          WILCOX                     OH     90014752657
85963539597138   KYLE           GILMAN                     OR     90012065395
85963643391979   EZEMA          KALU                       NC     90011506433
85965194491979   SANDIA         ISARENO                    NC     90014151944
85966233391837   MARTIN         SECURITY                   OK     90009752333
85967687297138   ALEJANDRO      VALLADARE JUAREZ           OR     90014866872
85968187585924   JUDY           MCQUEEN                    KY     90008501875
85968513891523   JESSICA        NIETO                      TX     90012335138
85973179141262   CARRIE         THOMAS                     PA     90010891791
85974318885856   ROBINSON       ESCOBAR                    CA     46081453188
85974797493771   WILLIAM        DAHM                       OH     64577777974
85976338191975   KRISTEN        GIBSON                     NC     90003963381
85977261855945   JOSE LUIS      MORALES                    CA     49082912618
85977877841275   DONNA          GUARINO                    PA     90014868778
85979449277537   DAVID          NELSON                     NV     90011644492
85979545351362   KRYSTAL        COLLINS                    OH     66049395453
85981256181683   OMAR           SAENZ                      MO     29053902561
85981558491324   JAMIE          CHANEY                     KS     90009875584
85983142255945   DORTHY         JOHNSON-VIDAL              CA     90003481422
85984455331664   MAASKELAH      THOMAS                     KS     22008224553
85984912455971   NANCY          CERVANTES                  CA     90014689124
85985113591324   DYLAN          BEGGS                      KS     90015011135
85985675677537   CHRIS          ENGELL                     NV     43004866756
85986449471977   DEZ            PACHECO                    CO     90011734494
85987313655971   JESUS          ANDRADE                    CA     90011333136
85988646377537   LLANE          SANCHEZ                    NV     90009686463
85988873155971   HEATHER        MARTINEZ                   CA     90011958731
85989793171977   CONSUELO       GUTIERREZ                  CO     38044767931
85991825171657   DAVID          DORNSTEIN                  NY     90015428251
85992278781677   ROBERT         TURNER                     MO     90013142787
85992534961924   MARIA          SOLENSEN                   CA     46005535349
85992779491525   LUIS ANTONIO   CARBAJAL                   TX     90012637794
85993222197138   MARIA          MELO LOPEZ                 OR     44095592221
85993946991324   NYREE          HOOKS                      KS     90008099469
85994894955971   HENRY          RIOS                       CA     90011228949
85996382655971   ISABEL         MAGDALENO                  CA     90015123826
85996965977537   ROSA           MIRANDA                    NV     43004999659
85997992261928   ISRAEL         BAZAN                      CA     90012679922
85998848891975   COLLEEN        DENNIS                     NC     17093578488
85999317397138   VICTORIA       HORNE                      OR     90012273173
86111138833698   BRITNEY        MCNEAIR                    NC     90008391388
86111615791975   ANGEL          GONZALEZ                   NC     90012666157
86112913897138   BRUNA          DELHORNO                   OR     90007329138
86114443155945   IRENE          FLORES                     CA     49002144431
86116183691289   MELISSA        BACON                      GA     14513791836
86116223155945   VANESSA        GARCIA                     CA     49077472231
86116377651362   RONISHA        TAYLOR                     OH     90013723776
86116731781677   ANNA           GARCIA                     MO     90010557317
86117158497138   ERIK           ZINK                       OR     90010411584
86117416685856   ED             FLORES                     CA     46030024166
86117772161928   ROXANNE        ADKINS                     CA     46056207721
86118184797138   REGENNITTER    ALICIA                     OR     90011141847
86118425271938   FRANCISCO      FLORES                     CO     32058384252
86119278671977   CATHERINE      NIGHTINGALE                CO     90014712786
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86121148291837   JOSE         LOPEZ MERCADO                OK     90007041482
86124229285888   JAMES        WOLF                         CA     90011702292
86124627285856   JESSICA      FRIESEN                      CA     46081926272
86124648761928   DEBORAH      HODGES                       CA     46076846487
86125391185856   LEMONT       BUTLER                       CA     46086863911
86125569951362   TASHA        LAFOURE                      OH     90012425699
86126168271938   ROSA         IBARRA                       CO     90003841682
86126995251362   AMANDA       SHEPHARD                     OH     90013379952
86129983755945   AGUSTIN      LOPEZ                        CA     90010269837
86132214697138   SHARLEA      WALLING                      OR     90010152146
86132887671938   DALLACE      REEDY                        CO     32034898876
86132971155945   JORGE        INFANTE                      CA     90012999711
86134251391975   MARK         LAUTNER                      NC     90010232513
86134623981677   JOHN         ELY                          MO     90015176239
86137139177537   RICHARD      PARTIN                       NV     43083871391
86138841741275   BEN          FERRELL                      PA     90013378417
86139864271938   DEBORAH      ANDERSON                     CO     32049888642
86139915991975   KEVIN        JOHNSON                      NC     90012689159
86139937891979   DETHRISS     BYRD                         NC     90010919378
86142182871938   CURRIE       PACKER                       CO     90011061828
86142196497138   IGNACIO      TOVAR                        OR     44065671964
86142239581677   JOHN         POOLE                        MO     29025892395
86143467393771   BRITTANY     HAYES                        OH     90012164673
86143512491837   BOBBIE       HAZELWOOD                    OK     90010025124
86144638191837   MICHAEL      CAMPBELL                     OK     21045896381
86145253961928   RUBY         CUARAO                       CA     90014942539
86145835855945   ILENE        ANTUNA                       CA     49083198358
86145916491979   JIME         BANEGAS                      NC     90013609164
86145963791975   TORI         SATTERWHITE                  NC     90007899637
86148657791553   JORGE        HERNANDEZ                    TX     90007896577
86151382781677   ERIC         CORTEZ                       MO     90015053827
86151424871938   ALEJANDRA    RAMOS ROMAN                  CO     90010194248
86151429185936   ERICA        MITCHELL                     KY     67034074291
86152535551374   GREGORY      LOWE                         OH     90010885355
86152839241262   JADA         ROBERTS                      PA     51080198392
86153492533698   JAMES        SADLER                       NC     90010544925
86153575641275   AURORA       THOMPSON                     PA     51003905756
86153997391975   MAURO        CENIZA PENA                  NC     90010779973
86154119261928   MICHELLE     CHABOLLA                     CA     46063281192
86154726733698   TYRONE       WILLIAMS                     NC     12051117267
86155575151362   MAZELLE      JONES                        OH     90014175751
86155892761928   EDWIN        QUINONEZ                     CA     90012558927
86156584493771   ROBERT       CLINE                        OH     90001185844
86157111791837   BRANDI       MARLIN                       OK     90014781117
86157124651362   LEEANN       BROWN                        OH     90012091246
86157153971977   AMY          FREEMAN                      CO     90013321539
86158338347897   KIANA        WHITE                        GA     90013603383
86158857851362   BENJAMIN     PETERSON                     OH     90013088578
86161562141262   VICTORIA     SLABY                        PA     90007115621
86161868481677   RODRIGO      GUEVARA                      MO     29059228684
86161918877537   SHANNON      SIESS                        NV     43032229188
86161942271977   TIMOTHY      CROSS                        CO     90011319422
86161946185856   DAVID        GOLD                         CA     90012369461
86163476472467   JESSIE       EWING                        PA     90010734764
86163919793771   PAUL C       LONG                         OH     90011109197
86164222955945   DARHONDA     CARTER                       CA     49027362229
86164971147897   TOBIJAH      MING                         GA     90012489711
86165241861928   DUANE        SAWYER                       CA     46091652418
86165344685936   LAWRENCE     SMITH                        KY     90013893446
86165536171977   DAVID        CARRILLO                     CO     38067885361
86165553791242   ROBERT       MURPHY                       GA     14564685537
86165744172485   JESSICA      PRINKEY                      PA     90003047441
86166967641262   DAVID        MONROE                       PA     90012499676
86167429191979   MEGAN        BUTTERFIELD                  NC     17044894291
86167732493771   SASHA        HIGNITE                      OH     90014697324
86167739451362   ESSIX        COOK                         OH     66087707394
86167974655945   MARY         RAGANS                       CA     49061939746
86169238277537   TYSON        LEATHERWOOD                  NV     90011502382
86171633361928   AIOTEST1     DONOTTOUCH                   CA     90015116333
86171877551362   HOLLY        BAKER                        OH     90007158775
86172979677537   JESENIA      TORRES                       NV     43059349796
86172997461928   VICTOR       VAZQUEZ                      CA     46048539974
86173195691979   RENE         LEON                         NC     90013511956
86175298362648   FERNANDO     GONZALEZ                     CA     90014752983
86176382191979   KAREN        SCHELLER                     NC     90000313821
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86177258297138   DANIEL          GABRIEL CORTES            OR     90004972582
86177526191975   LA LEY          APP PHONE                 NC     90013455261
86177526591242   ANGEL           OCHOA                     GA     90006755265
86177596561928   GONZALO         BUCIO                     CA     46084825965
86178347833698   DAWN            HOLMES                    NC     90004603478
86178589591975   NELSON          ROSALES                   NC     90011505895
86179269971938   JACKIE          KIDWELL                   CO     32077722699
86181594971938   ADELICIA        KARAFFA                   CO     32086195949
86182134591837   BRYAN           KING                      OK     90011321345
86182297141262   ROBERT          MIXEN                     PA     90000672971
86182456871938   DAVID           RODRIGUEZ                 CO     90009354568
86182491551362   RYAN            OTERO                     OH     90012164915
86184245161928   KENYA           MATTHIS                   CA     90005132451
86186539877537   YAJAIRA         VIVAR-DONADO              NV     90005725398
86186961691975   THERESA         WILLIAMS                  NC     90000639616
86188685641275   LASONS          DUNCAN                    PA     51011266856
86188972661928   JOSEPH          BISHOP                    CA     90014739726
86188983985856   JUAN            ROBERTO                   CA     46085639839
86189346551362   CINDY R         RUMFORD-PHILPOT           OH     90003823465
86189752291837   MISTY           CURTIS                    OK     90014627522
86189997341262   TRACY           DOMOS                     PA     51073839973
86192155685888   RAUL            AGUIRRE                   CA     90011711556
86192268897138   CARMEN          SOTELO                    OR     90014062688
86192345347897   SHANNON         ROOBINSON                 GA     90014453453
86192999741275   KIMBERLY        DEBOLD                    PA     90012259997
86193289851362   JENNIFER        WILSON                    OH     90007582898
86193735897138   BLANCHE         A MCFARLAND               OR     90004387358
86193911771938   STEPHANIE       CAMPBELL                  CO     90010779117
86194423691235   JUANITA         ANTHLY                    GA     90011084236
86195148871938   RODOLFO         BARCENAS ALCANTARA        CO     90002411488
86196188961928   ROCIO           BASA                      CA     90009391889
86197562571938   CURTIS          MACE                      CO     90014175625
86197647847897   KENYETTA        MCGEE                     GA     90013496478
86197844491553   JUAN            FAVELA                    NM     75017208444
86198293891979   JOHN            HALAKI                    NC     90005832938
86198586471938   DENISE          DEWBERRY                  CO     90013065864
86198588991558   SONIA           CASANOVA                  TX     90005735889
86198759271977   ROBERT          HEBLINGER                 CO     90012707592
86198867241262   ROBERT          MACSURAK                  PA     90011528672
86199277947897   SAMARIO         DENNIS                    GA     90011662779
86199544561978   MARICELA        CORREA                    CA     90001765445
86212973441275   TANEISHA        HELMS                     PA     90007879734
86212994691289   DESIREE         CHISOLM                   GA     90014729946
86213626141262   ARDENIA         CLANCY                    PA     51071586261
86213856391975   KIANNA          WILLIAMS                  NC     90013718563
86213989391837   DERAY           PEARSON                   OK     90012529893
86215241341262   KIMBERLY        GUENTHER                  PA     90010892413
86216322547897   ERICA           BLANDING                  GA     90014013225
86217567141262   CLARE           STEFANINI                 PA     90013755671
86218342291289   MARCUS          MCRAY                     GA     90009573422
86219364885856   ROBLERO PEREZ   ERIBERTO                  CA     90006683648
86221147977537   TIFFANY         HARVEY                    NV     90006781479
86221215891528   ROXANNA         MIJARES                   TX     90007242158
86221419147897   LARRY           JORDAN                    GA     14088554191
86221447797138   BRITTNEY        JOHNSON                   OR     90013744477
86221844491553   JUAN            FAVELA                    NM     75017208444
86223958855945   MARIBEL         LOPEZ                     CA     90005619588
86224151871977   GLENNA          HITTNER                   CO     90012311518
86224877885994   MARK            BISHOP                    KY     90005708778
86225844491553   JUAN            FAVELA                    NM     75017208444
86226412571977   TANISHA         VIGIL                     CO     90015104125
86226726961928   MAYRA           AGUERO                    CA     90011157269
86226829991975   DRANCO          ROCAEL                    NC     90003798299
86227149571977   SARA            FLORES                    CO     38064511495
86228147297138   MARIA           OLIVERA                   OR     44032791472
86228516333698   BETH            MARTINEZ                  NC     90014715163
86228938251333   DONNA           JONES                     OH     90013109382
86231253393771   SULEIMA         ARIAS                     OH     90010682533
86231917286443   KUTERA          BOWENS                    SC     90009599172
86233736451362   NOEMI           PALOMARES                 OH     66001447364
86235741677537   STACIE          SPRAGUES                  NV     43002547416
86236752661928   THOMAS          NANKERVIS                 CA     90007537526
86236979385936   ANGEL           AGUIRRE                   KY     90006509793
86237166161928   DARLENE         RIOS                      CA     90013381661
86238566333698   NKECHINYENE     OKAFOR                    NC     90014715663
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86238872271977   FIDEL                INFANTE                CO   90009998722
86239489761983   MARIO                CONTRERAS              CA   90002694897
86241373591837   AXEL AND ELIZABETH   MOIYAI                 OK   90006173735
86241865885866   SANDRA               SARFF                  CA   90004548658
86243242291975   BRIAN                NEWSOME                NC   90012902422
86243431661928   JOAQUIN              MORALES                CA   90008744316
86243686671938   DANIELLE             GONZOLEZ               CO   90012776866
86243844491553   JUAN                 FAVELA                 NM   75017208444
86244116181677   DONACIANO            GONZALEZ NEVAREZ       MO   90010561161
86244175877537   JULIAN               SALDANA-PACHECO        NV   90011971758
86244577485856   GLORIA               ESTRADA                CA   46053765774
86244728391979   NORMA                HERRERA                NC   17098207283
86245975185856   MARK                 GRUNDLAND              CA   90011329751
86246347471938   STEVEN               PADDACK                CO   90013333474
86246482655945   MARICELA             HERNANDEZ              CA   90005144826
86246831151323   LORETTA              PHILIPS                OH   90009188311
86246897291524   KELLY                ACOSTA                 TX   90012978972
86247751291837   DAVID                LYTLE                  OK   90010027512
86248628871977   AMRIT                GIDDA                  CO   90006156288
86248641185888   BENJAMIN             LOPEZ                  CA   46080186411
86249363447897   KENNETH              MITCHELL               GA   90010143634
86249454951362   DONTE                BROOKS                 OH   90009784549
86249464985936   SEAN                 GIBSON                 KY   90014464649
86251327591975   SHANDA               WILLIAMS               NC   90003243275
86252759271977   ROBERT               HEBLINGER              CO   90012707592
86254616233698   ASHLEY               MARTIN                 NC   90014716162
86256522621628   DAVID                GAJDOWSKI              OH   90014645226
86256577755945   DAWN                 JOHNSON                CA   90014675777
86258184971977   TRACY                ARCHULETA              CO   90001131849
86259449661928   CHRISTOPHE           BROADFIELD             CA   46034664496
86259712297138   SHANE                WILLIAMS               OR   90012727122
86261544297138   HABIBA               ABDI                   OR   90014815442
86262313851362   DWAYNE               NUTICK                 OH   66090713138
86262913471938   PAMELA               MARTINEZ               CO   32035939134
86262962191553   MIGUEL               NIETO                  TX   90000869621
86264619561928   MAYRA                MARTINEZ               CA   90010336195
86264724341275   CONNIE               SMITH                  PA   90009997243
86264991633698   ALYSSA               DEARMON                NC   90011249916
86265341157132   KRISTEN              BANDHOLD               VA   90012403411
86266663771977   JESUSA               ARGUIJO                CO   90013036637
86266784271977   ALEX                 PEREZ                  CO   38016567842
86267249691837   JORGE                VERGARA                OK   21093542496
86267263381677   JOANNA               BRITT                  MO   29077662633
86267856891975   JOSE                 REYES                  NC   17047648568
86268222185924   CRYSTAL              ELLINGTON              KY   67058402221
86268557597138   MINDY                SIMERAL                OR   90013785575
86268636733698   MAQUAITO             MARSHALL               NC   90014716367
86268674477537   GERARDO              SOSA                   NV   90000836744
86268864271977   CARLA                GRASMICK               CO   38055808642
86268995981677   AMANDA               EVERSON                MO   29018019959
86269218291863   ANGIE                NEWCOMER               OK   90003832182
86269425777537   EDWIN                MIRANDA                NV   90009274257
86269452385936   CHARITY              BRADFORD               KY   90013434523
86269469491837   ERIC                 WHITE                  OK   90013714694
86271756571924   NICO                 CARBAJAL               CO   90012147565
86272672791975   SAMANTHA             KOORNDUK               NC   90014856727
86272869641262   LAMMAR               VALENTINE              PA   90013588696
86276532485856   MARY                 CHAPMAN                CA   90014065324
86277822447897   BELINDA              ELLINGTON              GA   90007718224
86278829685936   DANE                 LANG                   KY   90014628296
86278933561928   AUDREYANNA           CLARK                  CA   90013289335
86279831891975   MICHEAL              STEDMAN                NC   90015088318
86279857693771   BRANDON              WILLIAMS               OH   90014618576
86281923141262   NATHAN               DIEHL                  PA   90013129231
86282914351362   ALISHA               WHITFIELD              OH   90013609143
86283816785888   JAMI                 WILLIAMSON             CA   90005868167
86284497155945   BEATRIZ              VALLEJO DE MALDANADO   CA   49054914971
86284554651362   JOHN                 DOE                    OH   90013685546
86284649171938   CESAR                CHAVEZ                 CO   90012256491
86284939861928   JAVIER               ROSALES                CA   46048669398
86285316181677   VICTORIA             OYEDARO                MO   29094513161
86285537591837   ARMANDO              CLARK                  OK   90014695375
86285816333626   SHERRI               NEWSOM                 NC   90014238163
86287871993771   UNDEAN               RHINES                 OH   90014618719
86287992981677   KAREN                MYERS                  MO   90015249929
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86288284861928   CARLOS           FERNANDEZ                CA     46007302848
86289339951362   ROBERT           THEADERMAN               OH     90014623399
86289972993771   TRACY            FLEMING                  OH     64575769729
86291364585888   DESHELLE         BLACKMAN                 CA     46017803645
86291394251362   TERRELL          DENSON                   OH     66088863942
86291633361928   AIOTEST1         DONOTTOUCH               CA     90015116333
86292345741262   ALICIA           WILSON                   PA     90001533457
86292476847897   KIMO             BUCKLEY                  GA     90011454768
86294425777537   EDWIN            MIRANDA                  NV     90009274257
86294439661928   JESSIE           DIAZ                     CA     90010994396
86294551433698   SHAUTEA          HOLT                     NC     90014695514
86294617771977   BRENDA           ALANIS                   CO     90007396177
86295175877537   JULIAN           SALDANA-PACHECO          NV     90011971758
86295296831439   ANTHONY          DAVIS                    MO     90001412968
86295899541262   JUSTIN BRANDON   YOUNG                    PA     90010178995
86299582671938   MARI ANN         ALLEN                    CO     90006145826
86311363691837   KYLE             MAYNARD                  OK     90007473636
86312333771938   LILLIAN          BROTHERS                 CO     90014473337
86313688297138   KELLY            EDWARDS                  OR     90013656882
86314392555945   MALY             VANG                     CA     90010423925
86314639785856   IDILON           P. MARTINEZ              CA     46043476397
86314868393771   JASON            FLETCHER                 OH     90006138683
86315979661928   PAMELA           TORRES                   CA     90004459796
86316485881677   MARSHA           DIGGS                    MO     90001884858
86317112285856   FRED             FARAZ                    CA     90003521122
86317357291553   IRMA             MARTINEZ                 TX     90005823572
86317375585856   SOFIA            GOMEZ                    CA     90013383755
86317824247897   ANQUAN           LANE                     GA     90001448242
86318851757126   JOSE             PORTILLO                 VA     90006548517
86321242197138   EDUARDO          SOTELO                   OR     44053322421
86321379571938   DAVID            TORRES                   CO     32060193795
86322862291979   LASHONDA         ELLIOTT                  NC     90011918622
86323468185856   HOSSEIN          SHAKOURI                 CA     46063634681
86323722571924   ERIK             SUTTON                   CO     90001227225
86323986177537   ANITRA           WILSON                   NV     90005129861
86325281161928   CRISTO           CASILLAS                 CA     90011332811
86325734885856   ZAKEE            AMEER                    CA     90014887348
86325811385936   SHARON           MIDKIFF                  KY     90001448113
86326486485856   MERIZA           CICOONE                  CA     90012154864
86327345191979   MARIO            PEACOCK                  NC     17031213451
86327626391837   RAMON            MORENO                   OK     21033376263
86327969491553   ENEDINA          REYES                    TX     90006449694
86328356277537   EDIN             DIAZ-JUAREZ              NV     43095833562
86328415993771   THERESA          UZHCA                    OH     90006494159
86328854185924   TAMINA           VAA                      KY     90004358541
86329477571938   PHILLIP          TRAINER                  CO     90011604775
86329794641262   SUSAN            RHEA                     PA     90009357946
86331889155945   MIGUEL           MENDEZ                   CA     90014478891
86333193581677   BRENDA           RYAN-GIRTON              MO     90006481935
86333232361928   YVETTE           MEDINA                   CA     90004682323
86333548241262   MARKESHIA        HARRIS                   PA     90009875482
86333689685856   HEDIEH           MAZHARI                  CA     90009806896
86333775391553   TANYA            NIXON                    TX     90005307753
86336592591979   LAWYETTE         TERRELL                  NC     90014975925
86336667885936   JEWELL           BRANNON                  KY     90003386678
86337533891553   ANNA             VELA                     TX     90002515338
86337739193771   SANDRA           LEWIS                    OH     64505687391
86338162961961   HEATHER          NEWMAN                   CA     90012741629
86338872571938   LYNELLE          FREDEEN                  CO     90011858725
86338877177537   MIA              WEBBER                   NV     90014628771
86341435241262   ALISON           LUSNAK                   PA     51018374352
86344367297138   ALEX             MONTGOMERY               OR     90015263672
86344734863638   CATHY            POTTER                   MO     90000067348
86345167877537   DAVID            BURKER                   NV     90012191678
86347888893771   JASON            BROWN                    OH     90006578888
86348297851363   RAHEEM           ZELLARS                  OH     90007772978
86348316141262   CYNTHIA          L. CAGEY                 PA     90000673161
86351241771977   WILMA            FLETCHER                 CO     38015862417
86354531261928   CESAR            GONZALEZ                 CA     90006055312
86354676385936   JOYCE            BOOKER                   KY     90007636763
86355354771938   MARCUS           MCCHRISTON               CO     90013923547
86355378585856   PATRICK          KELLY                    CA     46076413785
86355896655971   RICHARD          SIMPSON                  CA     90001458966
86356949991837   JEFFERY          GILLEY                   OK     21014029499
86357422481677   PATRICIA         HUNT                     MO     90010564224
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86357426285936   GARY          BARR                        KY     90014944262
86359523541262   JIM           BLOSSER                     PA     51019625235
86359848597138   AARON         ECKLUND                     OR     90013248485
86361639371938   THOMAS        RENTERIA                    CO     90014226393
86361811497138   CEBALLOS      ROSA                        OR     90002108114
86361861233669   EVON          AVORKLIYA                   NC     90008548612
86362162961961   HEATHER       NEWMAN                      CA     90012741629
86362295147897   VALENCIA      WILLIAMS                    GA     90014712951
86364927893771   STEPHANIE     WOOD                        OH     90003669278
86366745885936   TONYA         RENFRO                      KY     67014887458
86366746877537   MARIA         GONZALEZ- DENUNEZ           NV     90003267468
86368578441262   ALEXANDRA     JONES                       PA     51082805784
86368631371977   CHARLOTTE     BROWN                       CO     90009366313
86369887285936   WENDY         OSORNIO                     KY     90009028872
86372198591553   PATRICIO      SOSA                        TX     75017231985
86372569485856   SERGIO        FRAIRE                      CA     90006075694
86373161841262   DENISE        TOMLIN                      PA     90011441618
86373445885936   LYNNISHA      STEWART                     KY     67092104458
86373612197138   LIBORIO       URRUTIA TORRES              OR     90009626121
86373638491979   WADIYA        GLASS                       NC     17095776384
86374822447897   BELINDA       ELLINGTON                   GA     90007718224
86374933555935   MARTIN        CERVANTEZ                   CA     90004429335
86375171971977   HYSENDRA      BARNES                      CO     90010561719
86376524691837   ANABEL        CHAVEZ                      OK     21054295246
86376886285936   DAJON         CHENAULT                    KY     67020178862
86377228681677   DOMINIC       ENRIQUEZ                    MO     90002342286
86377825447897   JERRY         SCOTT                       GA     90009748254
86378336593771   VICTORIA      DUNLAP                      OH     90013233365
86378894277537   JOSE          DELALUZ                     NV     43098828942
86379586441262   CARISSA       ATKINSON                    PA     90013195864
86379619155945   ALEJANDRO     CARRILLO                    CA     90000316191
86379735891553   JAVIER        PAYAN                       TX     75069057358
86381243593771   ADRIAN        TAULBEE                     OH     90005772435
86381491771938   NEHOMY        DE LEON                     CO     90013314917
86381574247897   LATASHA       DAVIS                       GA     90004335742
86382692491979   OTHELLA E     OWENS                       NC     90013546924
86383258485888   MARCELA       PEREZ                       CA     90011962584
86386141193771   CHAD          JELLISON                    OH     90007351411
86386822991975   KARINA        TORRES                      NC     90014598229
86387297871977   WENDY         MAESTAS                     CO     90002512978
86389467541275   RAYMOND       LEA                         PA     90014714675
86391642871977   ANITA         ORTEGA                      CO     90014946428
86391747251362   SAMIAR        MOHAMMED                    OH     90012507472
86392815997138   JESSICA       NAVARO                      OR     90013578159
86392948491532   KASEY         DITT                        TX     90012629484
86393971685936   SHAQUAYA      HOGAN                       KY     90013879716
86394588941275   RONEKA        OAKES                       PA     90005795889
86394671893783   JASMINE       MITCHELL                    OH     64513546718
86395627541262   CAMILLE       SMITH                       PA     90012846275
86396147151362   JAY           WATSON                      OH     90012391471
86398161451362   JESSICA       WILLIAMS                    OH     90008191614
86399543893771   TIFFANY       DILLARD                     OH     90013655438
86413538851362   RON           FREEMAN                     OH     66063475388
86413597961928   EINA          LAKH                        CA     90012125979
86416571185936   MARSHA        DUNN                        KY     90001105711
86417894491979   JUAN          MANUEL                      NC     90011148944
86418548471938   CHRISTOPHER   WALLS                       CO     90013585484
86418588261921   GLORY         ARROYO                      CA     90014395882
86419838371938   LEMETRIUS     MELODY                      CO     90014348383
86421154485888   ROGELIO       TRUJILLO                    CA     90009681544
86421196771938   LAURA         SANCHEZ                     CO     32041001967
86421521655945   DIANE         SANCHEZ                     CA     90005115216
86421589151362   MCKAYLA       WALLEN                      OH     90012285891
86421869785856   KIARA         PARGO                       CA     90009108697
86422642871977   ANITA         ORTEGA                      CO     90014946428
86422965585856   MARIA         TORRES                      CA     46059159655
86423831681677   ERICA         ODENS                       MO     90010568316
86424883885856   MARY          CASTANEDA                   CA     90013938838
86425573833698   HUYEN         TRAN                        NC     12025785738
86425916861928   JUANA         DOMINGUEZ                   CA     90004449168
86427124541262   MARCUS        GLASS                       PA     90013641245
86427992685856   ELVIA         RUIZ                        CA     90005609926
86428434171938   SANDRA        JURADO                      CO     32031624341
86428791857126   JUANA         ROMAS                       VA     90007557918
86429225497138   OFELIA        HERNANDEZ                   OR     90014702254
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86429859991979   JUICY             FRUIT                   NC     17019148599
86429927371977   ADAN              NUNEZ                   CO     90004339273
86432317361928   ALVARO            MERIGO                  CA     46024323173
86432616891837   KENDALL           BONNER                  OK     21081826168
86432642171977   STEPHANIE         HAMMEL                  CO     38033686421
86432876691975   ROBIN             EASON                   NC     90006958766
86432927193783   CRISTA            STONE                   OH     64554819271
86434696171938   DEBRA             PETTY                   CO     32057826961
86435559591558   CRISTAL           SALDIVAR                TX     90003005595
86436472785888   NICHOLAS          COPPAGE                 CA     90005984727
86437543185856   JAMES             HUGGINS                 CA     90015135431
86437564851325   DEANDRE           STANFORD                OH     90001135648
86437792181677   STACY             SHOCKEY                 MO     29095767921
86438426491979   KRISTIE           HAMMONDS                NC     90014574264
86439366191975   LISANDRO          ORTEGA                  NC     90015583661
86441451691837   BRITTANY          JACKSON                 OK     90003504516
86442838371938   LEMETRIUS         MELODY                  CO     90014348383
86442867385856   GUILLERMO         GARCIA                  CA     90007518673
86443438393771   VERNON            DOTSON                  OH     64538904383
86443586451333   MICHAEL           EVANS                   OH     90001105864
86443747271938   ROBERT            GARCIA                  CO     90013977472
86444562397138   EVALIA            BARILLAS                OR     44090965623
86444616791979   DOUGLAS           TOBAR                   NC     90011376167
86444653471938   AMBER             LEONARD                 CO     90008716534
86444748791979   RAMONA            HILARIO                 NC     90008907487
86446311441275   MATT              KASTLE                  PA     90012683114
86446459151362   LEONOR            VARGAS                  OH     90011354591
86448352785936   MICHAEL           JONES                   KY     67009583527
86449262685936   FELIPE            GARCIA                  KY     67062082626
86449842151362   RHONDA            CROUCHER                OH     90000538421
86452276293771   ANDREA            MUMFORD                 OH     90011082762
86452564491553   CESAR             GOMEZ                   TX     90003265644
86453264385888   ALEJANDRA         BARSOOM                 CA     46011502643
86453519697138   DANIEL            ELDREDGE                OR     90011905196
86453665547897   SHANTELL          BROWN                   GA     90014316655
86453665993771   JORGE             TEBUNTLE                OH     90014626659
86455537685936   JIM               ASHTON                  KY     67019635376
86455776247897   MATTHEW           MARSHALL                GA     90012087762
86456526991837   CODY              COSHATT                 OK     21079905269
86456529885856   PEDRO             PERALES                 CA     90012775298
86457537247897   MICHAEL           BROWN                   GA     90004035372
86457546381677   ALEXIS            WRIGHT                  MO     90006385463
86457693993771   AMY               RILEY                   OH     64590086939
86461133961928   CARMEN            VEGA                    CA     46007121339
86461226855945   ROSALBA           SANTIAGO                CA     90009542268
86461919577537   ELIA              LOPEZ                   NV     90012239195
86462256885936   TAYLOR            JOHNSON                 KY     67024082568
86462378751362   JAIME             GONZALES                OH     90011013787
86463466393771   SAMANTHA          HICKS                   OH     90015164663
86464844951365   MILLOSSA          MUNLI                   OH     66017838449
86465731585856   APRIL             ALLSHOUSE               CA     90003107315
86465953981677   TIFFANY           THOMAS                  MO     90002929539
86468119191837   KIMA              DANCAUSE                OK     90004761191
86469184985856   BARON             GREEN                   CA     46000471849
86469363741275   LONIKA            MOSES                   PA     51034913637
86472158977537   EMMANUEL          DELEON                  NV     90011131589
86473749993771   FRANCISCO         PEREZ                   OH     90009587499
86475951891979   ALBERTO CALDERA   SOTO                    NC     90015559518
86476488891979   KEASHIA           HUNTER                  NC     17004954888
86477346397138   MELISSA           BOREN                   OR     90007503463
86478779451362   CHRISTINE         SKERRETT                OH     90014107794
86479398297138   LISA              SANCHEZ                 OR     44000753982
86479615855945   HANS              BARSNESS                CA     49086776158
86481231833698   RETEKA            OGLESBY                 NC     90014732318
86481396241275   ADAM              OATS                    PA     90014603962
86481447791975   OSCAR             MONTERROSA              NC     17077104477
86481762561928   KEVIN             FERREE                  CA     90012517625
86481849785856   RAN               SHENHAR                 CA     90012388497
86482747391975   EVERETTE          PERSON                  NC     17014207473
86483266991837   SABRINA           STOCKTON                OK     90002772669
86483561691979   DESHOMBI          STEVENS                 NC     90013835616
86483629141275   MARLENE           SNYDER                  PA     51059606291
86483663561928   PATRICK           SIMMONS                 CA     90014726635
86484331991979   JASON             POOLE                   NC     90010143319
86485193591354   ROBERT            JACKSON                 KS     90004521935
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86487397261928   ALEXANDER    RODRIGUEZ                    CA     90014873972
86487495997138   PATRICIA     SALGADO CONTRERAS            OR     90014734959
86487932155945   MARIA        DELATORRE                    CA     90006389321
86488329847897   CELENA       ADAMS-LOCKE                  GA     90014943298
86488445241275   DEBAR        GREEN                        PA     90000254452
86489712551362   LASHAWANDA   ROBERTS                      OH     90014147125
86491142551362   BIBI         BEYA                         OH     90014741425
86491152372496   TINA         MIRANDA                      PA     90014341523
86492761147897   ANN          EVANS                        GA     14080977611
86492859891528   RAMON        ROMERO                       TX     90003598598
86493515141275   KWEILYN      ROSS                         PA     90011275151
86494566791837   GARY         CLARK                        OK     90002275667
86494632191975   ARAI         HERNANDEZ                    NC     90007666321
86494864351362   LISA         JOHNS                        OH     90014758643
86495326871938   ANTHONY      ROMINE                       CO     90014033268
86496479541262   JIM          HALPERT                      PA     90012844795
86498185991837   ALEXIS       VELAZQUEZ                    OK     90012531859
86498936397138   JENNIE       GREENE                       OR     44038549363
86511754581672   DELLAS       BALDELLI                     MO     90013407545
86512868331651   LORETTA      GAINES                       KS     90010208683
86512989547897   DEXTER       BALDWIN                      GA     90012029895
86513159641262   TIM          WINSTON                      PA     90012601596
86513452451362   THOMAS       OHMER                        OH     66031314524
86514217785936   LEMUEL       FLORES                       KY     67098992177
86514514241262   DAVID        ELMORE                       PA     51028455142
86515274991979   ANDREW       ESTES                        NC     17067542749
86515776185856   JOSE         ESPINOZA                     CA     90012947761
86516542291523   MARIA        ANDRADE                      TX     90003445422
86517629497138   GILBERTO     FRANCO                       OR     90012326294
86517938291837   MARIA        HERNANDEZ                    OK     21063229382
86519659497138   BOBBY        HILL                         OR     90012326594
86521359291553   SANDRA       PEREZ                        TX     75087923592
86521373471938   PRESTON      FLOWERS                      CO     32092033734
86521863284347   KEYONA       BROWN                        SC     90006198632
86521968341262   JOSHUA       WALSH                        PA     90013739683
86522212351362   AMANDA       MITCHELL                     OH     90013192123
86522614891837   GAREY        ROORDA                       OK     90013736148
86522893655945   EMILIO       BARBOSA                      CA     90003148936
86523358371938   JAZMIN       QUINTERO                     CO     90013923583
86523431971977   ALFONSO      PEREZ                        CO     90005284319
86523559561928   PEDRO        CERNA                        CA     90007445595
86523774197138   JESSICA      PEREZ PEREZ                  OR     44012207741
86525693533698   TOBIAS       MONROY                       NC     90003336935
86527838255945   TODD         GOODMON                      CA     90007438382
86528162891837   TINA         KOMONCE                      OK     21073131628
86529492755945   FRANCISCO    ARRIOLA                      CA     90014484927
86529773791975   EMAD         MAGDY                        NC     90012447737
86531619961928   SOTERO       MANJARREZ                    CA     90010996199
86531789371977   NATALIE      WOLDTVEDT                    CO     90014077893
86532358557133   JOSE         AGUILAR                      VA     90007413585
86532423993771   JOSELYN      TAULBEE                      OH     64550624239
86532847181677   MICHELLE     CARSON                       MO     29062928471
86533513333698   EDGAR        GALLOWAY                     NC     90011615133
86533888291837   VICTORIA     SPRADLIN                     OK     90012448882
86534398871977   GINA         ESPINOSA                     CO     38054943988
86534426393771   PATRICK      SEIBERT                      OH     90003764263
86534687185936   MAVE         NDJANGOSI                    KY     90011056871
86534861191242   DELORES      SINGLETON                    GA     14535558611
86536782493771   CORNELIUS    WEST                         OH     90011457824
86537219991837   AMANDA       SEAMANS                      OK     90011842199
86537457361928   YRISE        CHRISTOLIN                   CA     90006734573
86538791471938   EDGAR        ZUNIGA                       CO     90013267914
86538834691975   ALDO         COSTILLO                     NC     17028668346
86539956941275   SHERRI       HOWELL                       PA     51034949569
86541313371938   KATHY        HIGGINS                      CO     90008943133
86541835977537   DONALD       MARTIN                       NV     90013008359
86543536951362   MEGHANN      WALLER                       OH     90000485369
86543949755945   REGINA       NORIEGA                      CA     90014759497
86545411677537   DANIEL       FUENTEZ                      NV     43055024116
86545893297138   BANI         DE LA CRUZ                   OR     90005978932
86546117991975   EUGENE       GREEN                        NC     90012951179
86546924881677   ANGEL        MELSON                       MO     29010619248
86547597585936   JANVIER      MANIRAQULIA                  KY     90014935975
86547836297138   IRAJ         KHOSROABADI                  OR     44067018362
86549455551332   FOLAKE       OGUNBOWALE                   OH     90012464555
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86551864541275   TERRY        GATTS                        PA     90013188645
86552564277537   DERRICK      JORY                         NV     43080445642
86553789691975   MARIA        MARTINEZ                     NC     90015107896
86554258791837   ANDREINA     MARTINEZ                     OK     21032912587
86555194391837   SOMPHONE     VANKHAM                      OK     90002331943
86555879591979   SAMYIA       TAFIRENYKA                   NC     90012028795
86555978955945   DOLORES      AGUILAR                      CA     90006759789
86556296285936   RYAN         STANDISH                     KY     90010152962
86557616571938   MERCEDEZ     MURRILLO                     CO     90009296165
86559889551325   MARK         JACKSON                      OH     66079238895
86561425497138   SAMUEL       CALLOWAY                     OR     90011414254
86561736377537   THOMAS       DORETTI                      NV     43076877363
86562539785856   MONICA       AGUILAR                      CA     46087275397
86563153185856   CHARLES      READ                         CA     90007521531
86564728691979   ALPHONSO     CARVIN                       NC     90007837286
86565571991553   CARLOS       TODD                         TX     75076505719
86565782197138   JOSEPH       NEDELEC                      OR     90012737821
86567924533698   JORDAN       MICKEL                       NC     90014809245
86568129191837   SHERRY       CHANCE                       OK     21087531291
86568446551321   DENNIS       SCHROEDER                    OH     66061804465
86568778697138   AARON        MORTON                       OR     90012737786
86569398851362   GEORGE       HARMON                       OH     66052153988
86573339741232   MICHELE      PRITCHARD                    PA     90012643397
86573587777537   CORY         AKERS                        NV     90013405877
86573796341275   DONALD       PATE                         PA     90014877963
86574647847897   KENYETTA     MCGEE                        GA     90013496478
86576546897138   JOSHUA       JABIN                        OR     44097325468
86576618877537   JULIA        ARINZE                       NV     90006646188
86576796941275   LAJUANA      POPE                         PA     90014877969
86577643681677   MARIA        CHAPA                        MO     90013136436
86577646885856   FERDIE       GALLARDO                     CA     90004136468
86579189391975   CARITA       BONAPARTE                    NC     90010971893
86579491561928   ERIN         KELLISON                     CA     90012154915
86581244271694   MANDY        ZAGARA                       NY     90013832442
86581632891979   SANDY        JUDD                         NC     90013016328
86581896533698   PHILLIS      SERRANO                      NC     12081508965
86582465161983   ANAYA        TRINIDAD                     CA     90010844651
86582821161928   JANET        FAJARDO                      CA     46072038211
86583633533698   TERRELL      WILLIAMS                     NC     90009326335
86583892855945   INEZ         MIGUEL PEREZ                 CA     90009798928
86585221941275   KEVIN        SUPER                        PA     51035142219
86585945193739   SAMANTHA     JONES                        OH     90010279451
86586194861963   LIDIA        GUITIERREZ                   CA     90000871948
86586396991979   DANIELA      RAMIREZ                      NC     90008513969
86588132971938   GARY         LUCERO                       CO     90005751329
86589284791837   TONYA        KEY                          OK     90012722847
86589764185936   DARLENE      HOPKINS                      KY     90009857641
86591619961928   SOTERO       MANJARREZ                    CA     90010996199
86591725685888   DINORETH     GARCIA                       CA     90010957256
86591784251362   PAUL         THOMPSON                     OH     66097817842
86592331351362   ERIC         BRUCE                        OH     90014833313
86592441291975   YOLANDA      CRISTOBAL                    NC     90007434412
86592486491979   WENDY        RICHARDSON                   NC     90014574864
86592648357142   TYLOR        ZINCK                        VA     90010016483
86593594251363   ROSALIND     GROVE                        OH     90012255942
86594238591979   STARLETTA    MUSUNGAY                     NC     90014922385
86595274497138   JEREME       MACINO                       OR     44056092744
86596525547897   KAWANDA      JACKSON                      GA     90014105255
86596542871938   LUCERO       GOROSTIATE                   CO     90007605428
86597212541262   JULIE        WALKER                       PA     51097732125
86598983255945   RUSSELL      KUSKIE                       CA     90012909832
86599831593771   MARCO        GEORGE                       OH     90009988315
86611169271977   MITCHELL     DELGADO                      CO     90001871692
86612324681677   CHANTEL      WHITLEY                      MO     90010573246
86612611571977   CRYSTAL      LYONS                        CO     90012586115
86613445291837   NAIDOO       ANDREA                       OK     21025394452
86613515871938   AARON        TAYLOR                       CO     90013525158
86614818147822   ANETRA       HOLLINGSWORTH                GA     14065998181
86615119177537   KRISTOFFER   SCOTT                        NV     90010171191
86616555793771   KINA         FOMBY                        OH     90014345557
86617121497138   JACK         WELLS                        OR     44058421214
86618513661928   MICHAEL      CALDERON                     CA     46024495136
86619392991975   CHELSEA      BARNETT                      NC     90012513929
86621236485856   ANTONIO      CASTANEDA                    CA     46093332364
86621262971938   DAVID        POWELL                       CO     90012982629
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86621587891975   VICTOR        NAVA                        NC     17017585878
86622531171938   AMANDA        MAES                        CO     90011045311
86622932677537   JOSE          BLANCO                      NV     43035929326
86624148641262   AURELIA       FRATINI                     PA     90011121486
86624723791975   SANTIAGO      LOPEZ                       NC     90012517237
86624865391979   TARAY         EVANS                       NC     90004218653
86625931985856   CALEB         RYDER                       CA     90012969319
86626363761928   LAQUETTA      BROWN                       CA     90014493637
86626723891837   JESSICA       FOLDS                       OK     21098887238
86626888133698   LISA          HICKMAN                     NC     90014548881
86627381255945   VICTORIA      URISTA                      CA     49004213812
86627719491979   BETTIE        MASSENBURG                  NC     90009097194
86628721971938   LATESHA       ROBERTS                     CO     90012427219
86628851933645   SARA          ADKINS                      NC     90007528519
86629482771977   DEENA         BACA                        CO     38091484827
86629544491837   CORI          RENNO                       OK     90014775444
86631894136121   REBECCA       RAMIREZ                     TX     73587838941
86633167291837   BRANDIE       BRUER                       OK     90014371672
86633739461928   ELISA         FERNANDEZ                   CA     46088957394
86634952571938   CHARLOTTE     LOGAN                       CO     90010939525
86636466393771   SAMANTHA      HICKS                       OH     90015164663
86636965471938   LINDA         BAILEY                      CO     90011409654
86637667451362   MARC          MILLER                      OH     90001166674
86637768393771   BRYANT        BIGGS                       OH     90015217683
86641261491242   CARLA         JACKSON                     GA     90004382614
86641528641275   ELIZBATH      WOOLHEATER                  PA     90008785286
86641761297138   ESTER         MORALES                     OR     90011527612
86641814571938   GARY          POPEJOY                     CO     90009088145
86642266455945   MIGUEL        RODRIGUEZ                   CA     90013492664
86643536833698   DEANNA        HILDEMON                    NC     90008485368
86643574791979   SEYLA         GARCIA                      NC     90014575747
86643627681691   SANDRA        FRANCO                      MO     90004796276
86644655291837   KEVIN         THOMAS                      OK     90012456552
86647153685856   HERMELINDA    HUYNH                       CA     90014361536
86647374691975   MICHAEL       MOORE                       NC     90014113746
86647876733698   BAILEY        SHANELLE                    NC     90009868767
86648236533698   LENORA        CLARK                       NC     90013712365
86648355177537   CARLOS        GONZALEZ-CERVANTES          NV     90015183551
86651576391242   RICHARD       GRIFFIN JR.                 GA     14588515763
86652433541275   LAWRENCE      ADDISON                     PA     90014174335
86652548471938   CHRISTOPHER   WALLS                       CO     90013585484
86652737347897   DORTANYA      COTTON                      GA     90014637373
86654164391979   TANYA         JONES                       NC     90014941643
86655727491979   OSAMA         KHADER                      NC     90002297274
86658311997138   DANNY         OLSAON                      OR     90013313119
86658477681677   PAMELA        TAUTE                       MO     90010574776
86658552471938   KELLY         KOSZALKA                    CO     32098325524
86658896891837   IVAN          VILLEGAS                    OK     21054308968
86659176491979   ROSA          RUIZ                        NC     90013571764
86659996977537   KETI          TONGA                       NV     90006879969
86661986151362   JULIO         AQUILA SANCHEZ              OH     66097819861
86662136891837   KENISHA       JAMISON                     OK     90014761368
86662862777537   HEATHER       HARMS                       NV     90013008627
86664363385936   JODY          THURSTON                    KY     67017483633
86664595555945   LUZ           PENA                        CA     90014485955
86665815297138   THAMOS        STANING                     OR     90004128152
86667527585856   JOEL          SOLIS                       CA     46054185275
86667752161556   BRIANA        PATTERSON                   TN     90015527521
86667861291979   MONNA         SYDNEY                      NC     90013118612
86668237741249   RAMONA        WHITE                       PA     90001362377
86669915961928   RELONA        WRIGHT                      CA     90014899159
86669965761939   DOUGLASS      PONCAVAGE                   CA     90000169657
86671247291975   KENNY         MULLIS                      NC     90010472472
86671526671938   ESTELA        CHAVEZ                      CO     32093305266
86672821291979   JOHN          PLAINS                      NC     90014848212
86672935661928   DAVIE         FREDRICK                    CA     90014509356
86673579861928   DIEN          NGUYEN                      CA     90007445798
86673881451349   DAWA          TAMANG                      OH     90008648814
86673945593771   HOLLST        DENIS                       OH     90011459455
86677582741275   FLORENCE      LEWIS                       PA     51086695827
86677841755945   DARLENE       GARCIA                      CA     90014478417
86678423971977   CHANTEL       ARGUELLO                    CO     90012854239
86678685761463   MALAND        LONG                        OH     90014756857
86679357891979   ASHLEY        JOHNSON                     NC     90006013578
86681117351598   ZENUR         MUJKANOVIC                  IA     90015201173
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86681315631444   BRANDI          COX                       MO     90002273156
86681542985856   WENCAN          XIE                       CA     90014075429
86682242473294   GUATALUPE       SORTO                     NJ     90011622424
86682696397138   JORGE ARMANDO   FRAGOSO                   OR     90013366963
86683329651362   MIKE            JHONSON                   OH     90012313296
86683594471977   MICHELLE        MURRAY                    CO     90015085944
86684268451362   LISA            HAMBLIN                   OH     66097822684
86684873441275   ANTHONY         REYNOLDS                  PA     90012568734
86684927985936   MARHONDA        WILLIAMS                  KY     90013249279
86685277991837   ANGELA          HOBBS                     OK     90013112779
86685292685856   STEVE           GONZALEZ                  CA     90013812926
86685327791979   KELLEE          ROBERTS                   NC     17002503277
86685445791558   JORGE           TORRES                    TX     75011904457
86687699155945   MELISSA         CHAVEZ                    CA     49082256991
86687816477537   ANGELA          OTTOBONI                  NV     43067948164
86691359491356   JOHN            JAMES                     KS     29029753594
86692189551362   LOGAN           HATFIELD                  OH     90012581895
86692272141262   TARA            LANE                      PA     51091482721
86692817191837   JESSICA         MCCRARY                   OK     90012728171
86694845791975   VICTOR          ZACARIAS                  NC     90010508457
86694959793747   TAMAIRA         PORTER                    OH     90013359597
86695518751362   SAMARA          ELLIOTT                   OH     90011015187
86695897797138   TEHRA           SAVAGE                    OR     44017048977
86696347971977   MELISSA         HEINE                     CO     90008783479
86696449555945   FELIX           LOPEZ                     CA     90012744495
86696923277537   MANUEL          JESUS III                 NV     90007309232
86697828177537   ALBERTO         PICAZO                    NV     90001578281
86698489961928   SAMANTA         ADAME                     CA     90014444899
86698938647897   MAURICE         PEARSON                   GA     90002249386
86711146291837   TIFFANY         WALLS                     OK     21054311462
86711456761928   HARRIS          RODERICK                  CA     90006264567
86711968951362   MAT             MINK                      OH     90000539689
86712331693771   REBECCA         SHIFFLETT                 OH     64526493316
86712373185936   ELIZABETH       WILLIAMS                  KY     67098253731
86712469551362   VANASSA         ADAMS                     OH     66006344695
86713347347897   NEVI            HOGAN                     GA     90011173473
86714478241275   ISAAC           ANI                       PA     51042264782
86714643285856   WAYNE           TAYLOR                    CA     90014096432
86714778491975   HARACIO         VAZQUEZ                   NC     90007677784
86715576293771   AMY             BUTLER                    OH     90009075762
86715726141275   MIA             CAMPBELL                  PA     51084897261
86716866291975   FERNANDO        DOMINGUEZ                 NC     90002658662
86717735181677   GLEN            CAMPBELL                  MO     29069277351
86718347771977   KAREN           HICKS                     CO     90001053477
86718349661928   JOSE            MAGALLON                  CA     90011803496
86718934285856   NATIVIDAD       MONTEJO GASPAR            CA     90014889342
86721293571977   PABLO           MOLINA                    CO     90014392935
86721415885936   STEVEN          WILLIAMS                  KY     90013894158
86721979891837   LARRY           SMITH                     OK     90012539798
86723328157128   EDMOND          BYNUM                     VA     90008173281
86724239147897   TERRY           FRANKLIN                  GA     90014892391
86726328751362   JOSHUA          DILBERT                   OH     90003263287
86726434677537   EMILY           ROMERO                    NV     90004964346
86728966441262   JUDITH          STREET                    PA     90010949664
86729158255945   TYLER           BOLANOS                   CA     90009671582
86731423971977   CHANTEL         ARGUELLO                  CO     90012854239
86731817661928   JUAN            PENA                      CA     90008918176
86731859847822   ROY             DOBSON                    GA     14066018598
86732892247897   JESSIC          BRONNER                   GA     90014848922
86732987691837   DAVID           ELLIS                     OK     21099019876
86733685171977   PAULA           GONZALES                  CO     38022986851
86734596685936   JAZMI           NEGILES                   KY     90010205966
86734675181677   ALLISHIA        FUEL                      MO     90010576751
86735331997138   NORBERTO        GARIBAY-GARIBAY           OR     90003383319
86735532947897   LATOSHA         CLEMENTS                  GA     90006985329
86736943197138   STEVE           SUMMERS                   OR     44078739431
86737411671938   JACK            EANS                      CO     90013204116
86737896261928   KATERA          SUGGS                     CA     46094838962
86737933591553   MARTIN          PAIZ                      TX     90010269335
86738449441275   ELIZABETH       HARABAUGH                 PA     51007334494
86738544297138   HABIBA          ABDI                      OR     90014815442
86738722771938   WENDI           WATSON                    CO     32093767227
86739392293771   LORNA           COX                       OH     64582223922
86741196791553   CYNTHIA         GRANOS                    TX     75036371967
86741231391979   MARCELLIN       MODGE SR                  NC     90004502313
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86741988541262   DEBORAH      EATON                        PA     90011189885
86743482833698   ALEJANDRO    NOVA                         NC     90002174828
86743791685888   STEPHON      THOMPSON                     CA     90001727916
86744282577537   MICHELLE     LUCERO                       NV     43033472825
86744792181677   STACY        SHOCKEY                      MO     29095767921
86745747251362   SAMIAR       MOHAMMED                     OH     90012507472
86747295461928   STEPHANIE    BUECHLER                     CA     90000402954
86747486851362   MATT         SEXTON                       OH     66019544868
86747515591979   KIM          MCLEOD                       NC     90010815155
86747829971938   YANET        GUILLEN                      CO     32091448299
86748846697138   SANDRA       SIERRA                       OR     90007748466
86749851541275   TANISHA      MARSHALL                     PA     51008998515
86751783833698   EDWARD       KEENE                        NC     12030357838
86752164861936   CHRIS        REYNOLDS                     CA     90007061648
86752621985936   JOSE         VILLEGAS                     KY     90011596219
86754152485856   MARIA        CEDILLO                      CA     90006711524
86754399941262   KHAIYA       ROSE                         PA     90006493999
86754455833698   TRICE        APPLE                        NC     12095024558
86754719955924   CARLOS       SALCEDO                      CA     49023427199
86756693985936   MANUEL       ESPINOZA                     KY     90007556939
86757594791837   JIM          TURPIN                       OK     21031765947
86758131271938   TED          SHERIFF                      CO     90013281312
86761555171977   RAEANN       ALCON                        CO     90005485551
86762332493771   MARIAH       LITTLE                       OH     90011113324
86763362485856   OMAR         MORENO                       CA     90013813624
86763741885888   VICTOR       CALDERON                     CA     90012447418
86763877697138   BRAVO        CRUZ                         OR     90007698776
86764167797138   KAYTE        RACH                         OR     44084991677
86764632591979   TAWANA       COLEMAN                      NC     90014576325
86764998641262   ORISSA       BEY                          PA     90010639986
86765127793771   CHARLOTTE    WOERL                        OH     64525941277
86765143685856   JOSE         SAMUEL                       CA     46009071436
86765155655945   ERNISHA      BYRD                         CA     90015221556
86766422371938   SELINA       QUINTANA                     CO     90013814223
86767418533698   APRIL        MCCAIN                       NC     90014224185
86769663151362   JOHN         MORRIS                       OH     90012866631
86769738536121   LATAMARA     ROBERTS                      TX     90010857385
86771416891979   ANA LILIA    NERI-ISLAS                   NC     90007734168
86773317171938   MOISES       TAYLOR                       CO     32013393171
86774445285856   DRASKO       JOVANOVIC                    CA     90013814452
86775472647897   ARLEXIS      HILL                         GA     90013674726
86775594855945   DARLENE      BANDERAS                     CA     49013035948
86776445391979   APRIL        STRICKLAND                   NC     90007774453
86776868991553   MARIBEL      LIRA                         TX     90003738689
86777497485856   NICOLE       VOGT                         CA     90012934974
86777644451362   ROBERT       MUSSELWHITE                  OH     90008956444
86783239133698   MANUEL       GARCIA                       NC     90011262391
86784294471977   FRANKIE      TRUJILLO                     CO     90010122944
86784655133698   BERNADETTE   LEACH                        NC     12027196551
86788178971933   DUANE        MASEL                        CO     32090771789
86788727791553   SOTO         JOSE                         TX     75076567277
86788765297138   SHAWN        KINGMAN                      OR     90005827652
86788767455935   ROSA         FLORES                       CA     90004687674
86788868841275   SEAN         BROOKS                       PA     51054868688
86789533541275   ROSE         SEDOR                        PA     51091515335
86792368451333   CONNIE       BROWN                        OH     90001313684
86792444991242   BERNARD      GOLDWIRE                     GA     14589214449
86793821571977   BEATRICE     WITHROW                      CO     90012348215
86794584961928   ESMERALDA    PRECIADO                     CA     90013585849
86795224197138   CODY         HARRAL                       OR     90014782241
86795232151362   DORINDA      JOHNSON                      OH     66051072321
86795658691553   CARLOS       RODRIGUEZ                    TX     90003956586
86795843661556   RUWIZE       MUKESHIMANA                  TN     90007778436
86796298785856   ADRIAN       ENRIQUEZ                     CA     90010612987
86798693171977   KAYLA        KING                         CO     90013256931
86799195355945   TIMMY        TORRES                       CA     90014491953
86811917477533   SILVIA       CABRERA                      NV     43083939174
86813412385856   DEEP         LONG                         CA     90000224123
86813918285936   JAVIER       MARTINEZ MANRIQUEZ           KY     67082279182
86814145185856   ALVARO       LOPEZ                        CA     46055841451
86814317355945   SAMUEL       DEMASTERS                    CA     90013123173
86815335291975   MAIRA        SANCHEZ                      NC     90001653352
86815635171977   ADRIANA      CHAVEZ                       CO     38061196351
86815872185856   BOB          PICADO                       CA     46013218721
86816238497138   JEFF         BAKER                        OR     90011242384
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86818564793771   EDDIE             HALL                    OH     90014035647
86819197871977   YOLANDA           ATENCIO                 CO     38019251978
86821353441262   MELANIE           WRIGHT                  PA     51051583534
86821444493771   LARUEN            WALTON                  OH     90011114444
86821791351349   JALYSSE           BROWN                   OH     90008497913
86822248461928   KATHERINE         YEKHILEVSKY             CA     90014262484
86823182841262   RAYMON            ROACH                   PA     90012321828
86824183197138   MARIELA           DIAZ GARCIA             OR     44080141831
86824196391837   KIMBERLY          HUTTON                  OK     90010111963
86825297471938   FRANK AND SUSIE   BOLDT                   CO     90010302974
86827999571977   NANCY             VALVERDE                CO     90012839995
86828464561928   CHRISTOPHER       CHAVEZ                  CA     90014674645
86829351881677   ERICA             BANKS                   MO     90001053518
86829686885936   DOMINGO           CARBAYAL                KY     67019246868
86832534161492   JULIE             RIDGE                   OH     90013885341
86833129171938   WENDY             CHAVEZ                  CO     90006441291
86833197997138   JAMIE             WILLIAMS                OR     90011891979
86834374691975   RUBEN             LESSO                   NC     90009613746
86835886591242   CARLIN            ZIPPERER 5TH            GA     90015068865
86835984133698   NAVONYA           RIGGINS                 NC     12042839841
86836579233698   EMILY             JENKINS                 NC     90014755792
86837156991979   JOSEPHINE         CHARLES                 NC     90010831569
86837914485888   SARA              COOPER                  CA     90012339144
86838463281677   EDDIE             COLE                    MO     90011484632
86838765793771   NICOLE            WATERS                  OH     90001267657
86839847641262   CHARLENE          MARTIS                  PA     51060818476
86841623277537   ROSALBA           GUERRERO                NV     90013976232
86843636841275   STACEY            DAVIS                   PA     90000876368
86843672297138   CHRISTINE         FULFER                  OR     44018706722
86844239461922   MARIA             CHAN                    CA     46085022394
86846826391242   JAMES             DUDLEY                  GA     90005958263
86847273785888   JOSE              BERNARDINO CARPIO       CA     90010322737
86849328147822   RODOLFU           MIRANDA                 GA     14083123281
86852577897138   TIMOTHY           ANDERSON                OR     90011415778
86854384171977   JUSTIN            RAEL                    CO     90010853841
86854637391837   JAMIE             WISDOM                  OK     21005826373
86855626971938   MICHAEL           CLARK                   CO     90014266269
86856438281677   DANNY             GURNEY                  MO     90011134382
86859245391979   MAIRA             DIAZDIAZ                NC     90014712453
86859441355945   REBECCA           UPSHAW                  CA     90013174413
86862675571977   GARRETT           SALAMENA                CO     90011456755
86862994591837   MONICA            HOWARD                  OK     90013399945
86863312393771   HANNAH            PERL                    OH     90004153123
86863415147897   DENASIA           PETERSON                GA     90014264151
86864717771977   ANNETTE           SALAZAR                 CO     38045707177
86865273791553   LUPE              ARREDONDO               TX     90003872737
86865557661928   DELONIA           ANDERSON                CA     90010735576
86867721577537   JESUS             GUERRERO-CHAVEZ         NV     90009607215
86868362397138   OLIVIA            ROGEL-CRUZ              OR     90007723623
86868617585888   AMBER             PRECIADO                CA     90014096175
86871178571938   JOSE              NEVAREL                 CO     90011391785
86871244291979   AMANDA            EASTON                  NC     90011682442
86871661193771   WILLIAM           KIRKLAND                OH     90010356611
86871923477537   EDGAR             PINTO                   NV     90012619234
86872631591837   ARMANDO           RODRIGUEZ               OK     90015206315
86873161181677   EDDIE             OMAR                    MO     29018061611
86874658893771   TIMOTHY           MARSDEN                 OH     90012496588
86875183791975   JOSE              CARBAJAL                NC     90012731837
86876427197138   DENNIS            HALL                    OR     90014054271
86877431151362   GENA              SANTILLAN               OH     90014534311
86877545991979   KAWON             WOOD                    NC     90006305459
86877648755945   REYNA             VILLAGRAN               CA     90009616487
86877794177537   ALMA              ZAVALA                  NV     43009087941
86877962285936   OLIVIA            WARFIELD                KY     90012499622
86877973191553   MIGUEL            MUNIZ                   TX     90003269731
86878669771938   SHAVAI            HARPER                  CO     90011586697
86878766171938   CORNELIUS         SHADE                   CO     90014427661
86879222941262   HAROLD            WATKINS                 PA     51017472229
86881744141275   JUSTIN            WARNER                  PA     90010377441
86881973897138   MITCH             MYERS                   OR     90011959738
86882588197138   CYNTHIA           BABCOCK                 OR     44086955881
86882888277537   DAWN              LEYVA                   NV     90014838882
86883518391242   BRANDY            WATTS                   GA     14571525183
86884379891553   LUIS              HERNANDEZ               TX     90005253798
86884724391975   LAZARO            BONIFILIO               NC     90007217243
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86884772693771   LAWRENCE     JACKSON III                  OH     64591637726
86885811693771   LYDIA        RICHARDSON                   OH     90011928116
86886163191975   CAMELIA      MELGAREJO                    NC     90003811631
86886497985856   MAURICIO     QUINTERO                     CA     90014824979
86886597233698   ANTHONIO     POOLE                        NC     90014755972
86886914351362   ALISHA       WHITFIELD                    OH     90013609143
86887337991935   MICHAEL      ZEGEYE                       NC     90004543379
86887525941275   EDNA         JACKSON-CHAFFIN              PA     51016695259
86888424571938   JHENER       ROMERO                       CO     90011364245
86889425631445   ERICA        SMITH                        MO     90001244256
86889753391975   CASEY        EWHEELER                     NC     90015447533
86891817697138   PEARL        DUNN                         OR     90012058176
86892793891975   SILVIA       VALDEZ                       NC     90012457938
86892967291532   GERMAN       LOPEZ                        TX     90011009672
86893552541275   MICHAEL      METZGER                      PA     90014945525
86894285171938   THOMAS       ALLEN                        CO     90010262851
86894357561928   JESSICA      ARAMBURO                     CA     90011333575
86896164741262   JAMIE        WELSH                        PA     51041091647
86898572371938   ROGER        EDWARDS                      CO     90014015723
86898945193739   SAMANTHA     JONES                        OH     90010279451
86899386797138   AMANDA       CHRISTENSEN                  OR     90012373867
86899459341262   DANIKA       HOOPER                       PA     90008824593
86911422784333   PAYGO        IVR ACTIVATION               SC     90012794227
86911762533698   SHARON       MIX                          NC     90014747625
86911844891837   JOSE         GARCIA                       OK     21062798448
86912665751362   DYLAN        DERUNGS                      OH     90012686657
86912762533698   SHARON       MIX                          NC     90014747625
86913274385888   JOHN ALEX    DRAGER                       CA     90006472743
86916581361928   ISMAEL       RAMIREZ                      CA     90015115813
86917199991979   MANDY L      ENTWHISTLE                   NC     90004881999
86918299593724   EMILY        HELFINSTINE                  OH     90015002995
86918394585888   CARMEN       RAMIREZ                      CA     90006493945
86918722451362   SARAN        MAJHI                        OH     90012987224
86918999731449   ALEXIA       BARNES                       MO     27515439997
86919334191837   KATHY        SIBLEY                       OK     21006653341
86919813441262   SUSAN        HOOVER                       PA     51034518134
86919962861928   ROCIO        ANTON                        CA     90009019628
86919974891979   FABIAN       SANTOS                       NC     90007579748
86921424391525   SUSANA       GUTIERREZ                    TX     90008634243
86923236155945   LORI         ZEPEDA                       CA     90014492361
86923432441262   NAONY        PRICE                        PA     90009934324
86923849751362   JUSTIN       GERDES                       OH     90009198497
86923857885856   SAMMY        VEREEN                       CA     90013508578
86924737391837   JOHN         OSGOOD                       OK     90014687373
86925277593771   RICHARD      KEELER                       OH     90008482775
86926975691975   MICHELLE     GONZALEZ                     NC     90015219756
86927185541275   LAMAR        JOHNSON                      PA     90013111855
86927641871938   SCOTT        HARGRAVES                    CO     90013016418
86928233355945   KIMBERLY     ZEPEDA                       CA     90012232333
86928264591837   BRITNEY      KIMBLE                       OK     90014192645
86928299197138   JESSE        JONES                        OR     44067652991
86928934891837   WENDALL      MCNAC                        OK     90010769348
86929465871938   NICK         GUADAGNOL                    CO     32081794658
86929478941262   NOELLE       KURUTZ                       PA     90012694789
86931528991837   EMMANUEL     THOMAS                       OK     90014565289
86932167771977   VENESHA      OLSON                        CO     38013861677
86932783561928   CLAUDIA      NAVARRO                      CA     90004627835
86934312141262   REBECCA      MRAZEK                       PA     51014353121
86935894785856   FCS          FGJDGJKD                     CA     46072918947
86937441591979   STACY        MONTGOMERY                   NC     90011344415
86937596797138   MARIA        MARIQUEZ                     OR     90007475967
86937993747831   ANTOINETTE   PARKS                        GA     90012229937
86939231691975   JOSE         LOPEZ                        NC     90008422316
86942212685888   JAMIE        HARBOR                       CA     90010962126
86942927585936   AMANDA       VIOS                         KY     67045359275
86944445971938   JONATHON     DANIELS                      CO     90014814459
86944474191837   ROSALIND     HENRY                        OK     90011614741
86945694877537   JEFFERY      COOPER                       NV     90013656948
86946344997138   YVONNE       HENDERSON                    OR     90009333449
86946832961928   SAULO        FACUNDO                      CA     90000948329
86946975385936   SHEILA       PAGE                         KY     90013849753
86947638561928   NORA         DIAS                         CA     46091366385
86947646433698   DURRIUS      DELGADO                      NC     90014756464
86948453271938   DALLAS       VASQUEZ                      CO     90014854532
86948648785936   BRANDY       GARCIA                       KY     90007986487
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86949888891975   TAMAREON      CORBETT                     NC     17088698888
86951186355945   EDDIE         GUTIERREZ                   CA     90009471863
86953118485936   AARON         COLLINS                     KY     90013301184
86953137391553   ALEJANDRA     RAMOS                       TX     90005781373
86953752241262   RICHARD       MITZ                        PA     90009407522
86955775655945   JUAN          GUTIERREZ                   CA     49038437756
86956249185888   ROBERTO       CONTRERAS                   CA     90011772491
86956253355945   VICTORIA      DE LA CRUZ                  CA     90014492533
86957716751362   ZEBULON       TAYLOR                      OH     90011127167
86959521151362   ERNEEN        CHERRY                      OH     90003705211
86959585991837   MELISSA       NEAL                        OK     21023575859
86961271161928   HOLLIS        WARE                        CA     46084072711
86961784685856   ISRAEL        HERRERA                     CA     46046287846
86963435741275   AMANDA        IRWIN                       PA     51009124357
86963975191979   DWAYNE        WILLIAMS                    NC     17062269751
86964197247897   KAWANA        FULLER                      GA     90014771972
86964589241262   SYLVIA        GLOVER                      PA     90013195892
86964987955945   BRYANT        WARD                        CA     90011309879
86965859791979   SUZETTE       THOMAS                      NC     17059638597
86966367841232   BRENDON       SWIFT                       PA     90011463678
86967511447897   LEMUEL        MABRY                       GA     90014965114
86971516385888   GARCIA        GERMAN                      CA     46014065163
86973228477537   SHAWN         WOOD                        NV     90014272284
86974671891975   ISMAEL        LOPEZ                       NC     17055726718
86975244261928   RAYMOND       HENNECART                   CA     46098642442
86975761851328   KEVIN         MILLER                      OH     90007187618
86976435891975   JENNIFER      JONES                       NC     90007844358
86978212285936   WILLIAM       RAPISARDI                   KY     90013772122
86979299451362   CASSANDRA     KEYS                        OH     90005562994
86981534947897   QUANTISHA     SANDERS                     GA     90014315349
86981564551362   KEVIN         MCBRIDE                     OH     90014575645
86981831591837   JASON         ALMOHANDIS                  OK     21082658315
86984669491979   JUAN MANUEL   SALDANA                     NC     90014886694
86984938691979   HORTENSIA     GONZALEZ ARREGUIN           NC     90014849386
86985193193771   RUSSELL       WEBB                        OH     64506351931
86985928755945   JUSTIN        TINER                       CA     90013199287
86985963941275   PATRICIA      BATES                       PA     90011279639
86991442971938   MATTHEW       BAUMERT                     CO     90006054429
86991788677537   FRANCISCO     CARRANZA                    NV     90012197886
86992432351362   PAUL          GORDON JR                   OH     66051054323
86992524161928   GENNY         URREA                       CA     46072775241
86993291171977   COURTNEE      CLAYTON                     CO     90014262911
86993663271938   ANGELA        ALCALA                      CO     32040856632
86993696855945   SERGIO        LEON                        CA     90015216968
86994441677537   RANDY         ARTERBURN-JOHNSON           NV     90014094416
86994712697138   ROGELIO       CARBAJAL                    OR     90013327126
86996173285856   BLAS          ROMERO                      CA     90013821732
86997682791975   IRIS          ROBLES                      NC     90012536827
86997737347897   TALONDA       ROBERTS                     GA     90010177373
86997899985856   LORENZO       RAMIRES                     CA     90014488999
86998897285936   DANIELLE      TURNER                      KY     90005278972
87111743671977   LEON          ARAGON                      CO     38096107436
87112165791975   BATASHA       STANLEY                     NC     90012951657
87115114891837   SANDRA        CUEVAS                      OK     21077471148
87116148441275   ZACHARY       PARKER                      PA     90011231484
87116756371977   DAWN          TURBYFILL                   CO     90013747563
87117195161928   VICTOR        FERNANDEZ                   CA     46045981951
87119218455931   LETICIA       FABIAN                      CA     90009162184
87123146741275   STEPHANIE     BLAKEMORE                   PA     90011481467
87126232885962   JOHN          JACOB                       KY     90009342328
87126826441275   SHANNON       STOWERS                     PA     51018608264
87127413151362   LORENA        RODRIGUEZ                   OH     66018274131
87128284491963   MICHELLE      BRIGHT                      NC     90002222844
87129781391975   JOE           NUNN                        NC     90012037813
87132122891242   NICOLE        PENICK                      GA     14579911228
87132299841275   VINCE         LUPI                        PA     90010382998
87132879677537   JESSE         STACKHOUSE                  NV     90011398796
87133628593771   KERTINA       CALLOWAY                    OH     90011376285
87133676797138   MARIA         GONZALEZ TOSCANO            OR     90003466767
87135117351341   JENNIFER      GREGORY                     OH     66021841173
87135812793771   SIDNEY        WOLF                        OH     90012958127
87136413271977   SHAELI        WERNER                      CO     38029994132
87136486741275   KENDRA        BRACEY                      PA     51008544867
87138295791837   JAYNAE        STEWAREL                    OK     90000462957
87138836771977   THOMAS        STEVENS                     CO     90006298367
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87141114591558   MOISES             APODACA                NM     90015081145
87141515397138   ANGEL              MALDONADO              OR     90000225153
87142152741275   MENACHEM           MACKEY                 PA     90011231527
87142546691837   KIERRA             PRICE                  OK     90010985466
87144388891979   RUBEN              MORALES                NC     17015403888
87144768447897   SHAMEIKA           HARRIS                 GA     90014837684
87147874197138   ERIKA              HERNANDEZ              OR     44060938741
87147969851362   JENNIFER           RIED                   OH     66074329698
87148489347897   ANGELA             HEARD                  GA     90014714893
87149363991975   JASMINE            ONEAL                  NC     90014443639
87149623971977   CHRISTINA          HERNANDEZ              CO     90007916239
87149821877537   DEBBIE             MILLER                 NV     90012458218
87151612333698   CHERIENCE          SMITH                  NC     90002256123
87151741147897   MICHELLE           DAVIS                  GA     14094257411
87152734197138   BRANDY             MILLER                 OR     90013677341
87153274993771   BONNIE             LOCK                   OH     64528342749
87154295351341   LESTER             CAMP                   OH     66094772953
87154397541262   MIKE               MARNIK                 PA     90013943975
87154485597138   AMY                BARLOW                 OR     44092014855
87154771491837   ANTONIO            ARMAS                  OK     21088207714
87155362971977   JESSICA            GALLEGOS               CO     38090073629
87155525691979   LATESHA            WIGGINS                NC     90013315256
87155928161928   ABRHAM             RODRI                  CA     90002099281
87156592991837   SIERA              JASMINE                OK     90013965929
87162916541262   JENNIFER           MARTY                  PA     90014359165
87162971497138   MARIA DE LOURDES   FLORES                 OR     90013219714
87163439191837   CHENOA             FRAZIER                OK     90015204391
87163637541275   MELISSA            SNYDER                 PA     51007486375
87163853191979   GABRIELE           RICHARDSON             NC     90001698531
87164128591837   ANNETTE            SMITH                  OK     90010451285
87164834451341   NICOLE             ROMANELLO              OH     90003548344
87165561551341   KATY               HOLTHAUS               OH     90014715615
87165938761928   NEREIDA            GUZMAN                 CA     90000169387
87166818291837   RICHARD            WILLIAMS               OK     90013918182
87167326691975   KENDALL            GRIRI                  NC     90013043266
87167437841262   BILL               WAGONER                PA     90013944378
87169344597138   AGUSTIN            RAMOS                  OR     90013463445
87171565851341   ANDREW             SCOTT                  OH     90014715658
87171755193771   ANGELA             MARSHALL               OH     64500147551
87172226954133   BRYCE              DUNCAN                 OR     90003052269
87172232747897   JEANETTE           GUZMAN                 GA     90013692327
87173451751362   ABRAHAM            MARTINEZ               OH     90012694517
87173592661928   ADRIANA            BUELNA                 CA     90002565926
87173898741262   JADE               MARTIN                 PA     90014338987
87173943847897   DIANNA             HOLLINS                GA     14081849438
87174147277537   DAVID              BUFFMIRE               NV     43021401472
87174235193771   CIERA              STANLEY                OH     90011122351
87175751193771   NATASHA            COX                    OH     64535067511
87176615951341   TRAVIS             PERKINS                OH     66007156159
87176652147897   MARIO              PAULDO                 GA     90008276521
87177133577537   JOY                DOYLE                  NV     90000391335
87179565851341   ANDREW             SCOTT                  OH     90014715658
87179833391935   NATASHA            CURRIE                 NC     90008508333
87182473751341   NICHOLAS           WHITMIRE               OH     66017834737
87183281991837   STACY              BOSSELL                OK     90013572819
87185514591979   MARIA              RUIZ                   NC     90011145145
87188621291975   FRANCISCO          NUNEZ                  NC     90013836212
87189318951341   ASHLEY             SANDERS                OH     90012723189
87191736791837   TIA                PRESLEY                OK     90014337367
87193533591975   DEXTER             COWARD                 NC     90013595335
87194641141262   MICHELLE           HIPKISS                PA     90003146411
87194817777537   SAMANTHA           TOM                    NV     90014618177
87195249261928   TIARA              STRIPLING              CA     90013482492
87196465866177   JOSE               RAMOS                  CA     90015224658
87197111684333   YHASMANY           LA FUENTE              SC     90009131116
87197117791975   SARAH              LONG                   NC     90013511177
87198923477537   EDGAR              PINTO                  NV     90012619234
87211176697138   YOUNG              KELSEY                 OR     90006201766
87211252673294   ERIC               SANCHEZ                NJ     90015422526
87213574651325   JACKIE             TODD                   OH     90013395746
87214846177537   ISAI               SEGURA                 NV     90014498461
87221675791837   BRADLEY            HOUK                   OK     90014956757
87222158893771   JOSEPH             BAILEY                 OH     64524491588
87222523455935   BALDEMAR           REYES                  CA     90009985234
87222961291837   SHEQUITA           REVELS                 OK     90011499612
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87225743893771   JESSICA       LYKINS                      OH     90013907438
87226582877537   MORGAN        REAVES                      NV     90009195828
87227883677537   BRANDI        BISHOP                      NV     43000668836
87233233185822   TROY          BURTON                      CA     90001062331
87233254291979   SHARLENE      WAARDENPURG                 NC     17041772542
87233397671977   LUIS          RODRIGUEZ                   CO     90014443976
87233648451341   JACQUI        MOONEY                      OH     90014706484
87233696591242   TRACY         BROWN                       GA     90014406965
87234983597125   MARIA         OROZCO                      OR     90011329835
87235256397138   JANET         LILY                        OR     44069062563
87235623971977   CHRISTINA     HERNANDEZ                   CO     90007916239
87236815161928   GUILLERMINA   GARCIA                      CA     90003968151
87237667291975   WALTER        FURMAN                      NC     90014476672
87238653551341   MARILYN       HOWARD                      OH     90014706535
87239936377537   ALEXANDER     SHROPSHIRE                  NV     90013549363
87241141541262   LATOYA        JONES                       PA     90014161415
87241675451341   MATTHEW       PRATER                      OH     90010846754
87242883791837   LUCIA         MACEDO                      OK     90009678837
87243589271977   AARON         VELASQUEZ                   CO     38031555892
87244676151341   HEATHER       GORDON                      OH     90014706761
87246592593771   ALVIN         ALDRIDGE                    OH     90001985925
87248626833698   ASHLEY        SMITH                       NC     90005296268
87249319671977   N             ANDERSON                    CO     38060173196
87251137847897   ANDREW        BURNEY                      GA     14061311378
87252217791837   PAULA         GRADNEY                     OK     21001782177
87252561991979   HASSAN        MALICK                      NC     90011915619
87254112141262   JEFFREY       MUNDY                       PA     51094461121
87255136977537   RODRIGO       MARTINEZ                    NV     90012681369
87255171591553   MIRELLA       FLORES                      TX     90008591715
87255582297138   MONICA        PERALES                     OR     90006215822
87255873991528   LEONEL        SANTANA                     TX     90012588739
87256431241262   CYNTHIA       PORTER                      PA     90013224312
87259726393771   MIGUEL        ROMERO                      OH     90013977263
87261829241275   NIJAH         HAMPTON                     PA     90001198292
87263971491242   LEIBER        SUCHIAPA                    GA     90009389714
87264125131425   VANIKA        BOLDEN                      MO     27515301251
87264896547897   NATALIA       ALLEN                       GA     90011198965
87265874697138   MORA          CORTEZ                      OR     90013368746
87267284161928   DARRICK       WEST                        CA     46007472841
87267596971977   MAXINE        MINJAREZ                    CO     90011525969
87269835797138   JEREMY        SEQUIN                      OR     90013528357
87271771141275   SHANA         JOHNS                       PA     90004637711
87274451151362   JOSEPH        LUKEN                       OH     66040674511
87274949861928   JAIME         RESENDIZ                    CA     90006309498
87275525447897   DENISHIA      WILLIAMS                    GA     90003045254
87277723551341   FREDRICK      THOMAS                      OH     90013057235
87277989484351   DAVID         CHRYST                      SC     90013279894
87279864633655   BEN           BALDWIN                     NC     90013748646
87279932461928   MARCO         FLORES                      CA     90010489324
87283347371977   BOBBIE        HAVENS                      CO     90010853473
87284188171977   LUIS          CHAVARRIA                   CO     90012161881
87284234547897   JULIA         RIPLEY                      GA     90011302345
87287767161928   MELCOM        JONES                       CA     46052667671
87287767691837   WHITNI        JOHNSON                     OK     90009077676
87287823491979   MILLISSA      HOLLAR                      NC     90015128234
87288256251341   JOYCE         BOZE                        OH     66093962562
87288669233698   JAYR          JOHNSON                     NC     12014956692
87288932347897   MELISSA       BEAL                        GA     14010269323
87288996951362   LUTHER        KIMBLE                      OH     66081809969
87289281991837   STACY         BOSSELL                     OK     90013572819
87289759597138   GARNICE       CARR                        OR     44075777595
87289932391975   ELSA          LINARES RAMOS               NC     90013909323
87292851861928   MARISA        STOCK                       CA     90002218518
87294273491979   DAVID         FLEMING                     NC     90010842734
87294677244346   JASMINE       ARTIS                       MD     90012596772
87294686547897   JAMARKES      MOORE                       GA     90011986865
87294748951341   ANGELEE       DONDERS                     OH     90014707489
87294989491837   ANTHONY       NIMAN                       OK     90010369894
87296727691837   NAKITA        WILLIS                      OK     90013967276
87296748951341   ANGELEE       DONDERS                     OH     90014707489
87297386991837   SANDRA        MARTINEZ                    OK     90010003869
87298451891837   SHAWNTAE      SLOAN                       OK     90010054518
87299244197138   ERIK          EVENHUS                     OR     44087472441
87299385593771   MELVIN        OGLESBY                     OH     90008993855
87311238847897   CASSANDRA     GRAY                        GA     90013462388
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87316535797138   DESTINY            SUBIA                  OR     90014715357
87316813641262   ANDRE              PERKINS                PA     90015318136
87318343761928   JACOB              SAVARY                 CA     90006843437
87318561941262   HILDA              SIMPSON                PA     51075385619
87319438591979   JESUS              GARCIA                 VA     90015194385
87319489247897   TOMICIA            DAVIS                  GA     90014784892
87321376741262   QUINCY             JONES                  PA     90015033767
87322385441275   DAVID              PIERZNY                PA     51053683854
87323167751362   ZACH               VIA                    OH     66069341677
87324295951341   DOUGLAS            LOWER                  OH     90007342959
87324886251325   YOLANDA            LEWIS                  OH     90004588862
87326274291837   DIM                CING                   OK     90014962742
87326464161928   CHRISTINA          SMITH                  CA     90012604641
87331977377537   JUANA              CRUSETT                NV     90008219773
87332144691979   PAYGO              IVR ACTIVATION         NC     90013091446
87332169291837   ASHLEY             REED                   OK     90008981692
87332541251341   MICHAEL            ALLEN                  OH     66040275412
87334237677537   RUDY               GONZALES               NV     43094942376
87335461891975   HELEN              SCHRELBER              NC     90014664618
87336728747897   LATARA             WOODARD                GA     90014547287
87338329951349   LATOYA             SMITH                  OH     90008543299
87338598297138   ESTEBAN            GASPAR                 OR     44006215982
87342197871977   YOLANDA            ATENCIO                CO     38019251978
87342587891975   MARIA              TEYTUD                 NC     17074135878
87342718497138   BRITTANY           WILHOIT                OR     90014877184
87343448791979   PORSHA             LENNON                 NC     90014374487
87344626451341   ERNESTINE          BRETZ                  OH     90014716264
87344844491979   RAHJOHN            BALDWIN                NC     90011748444
87346799771977   KATHERINE          RAMIREZ                CO     90012837997
87347252891979   TIM                WHITE                  NC     90015132528
87348429471977   ETHAN              MEDINA                 CO     38034684294
87348654651341   RUTHIE             STIDHAM                OH     90014716546
87351959291979   TREMAYNE           HAMPTON                NC     90010019592
87353626547897   OLYMPIA            STEPHENS               GA     90013686265
87353824191837   INDIRA             VAZQUEZ                OK     90013968241
87354693791975   UEN                BAM                    NC     90009846937
87354887991837   YOLANDA            HARRIS                 OK     90014978879
87355432641275   DNIESHA            CLEVELAND              PA     51005414326
87355436761936   GLORIA             NAVARRO                CA     90012914367
87355442561928   KATY               JELLISON               CA     90004924425
87355446747897   DEXTER             WILLIAMS               GA     90008664467
87357474633684   ARTANDA            MARSH                  NC     90014704746
87357623997138   NADIYA VASILEVNA   DEWITT                 OR     90014866239
87358341891837   MARIA              PEREZ                  OK     21060433418
87358719471977   MICHAEL            HOVRUD                 CO     90011117194
87359749577537   FERNANDO           GONZALEZ               NV     90012687495
87362281247897   SHAMIKA            WIMBERLY               GA     90013832812
87362286491979   ANNICE             WILLIAMS               NC     90014592864
87362397261928   MARIO ALFONSO      CALZADA                CA     90013293972
87363531651341   ANGELA             THOMIN                 OH     90011625316
87363889791975   JOSELIN            ROSALES                NC     90015128897
87364843151341   MARIO              GONZALES               OH     66089718431
87365649961928   ANDREW             WRIGHT                 CA     90013016499
87365861597138   RUTH               LORENZO                OR     90007888615
87366816933471   JEFFREY            MITCHELL               AL     90013158169
87367736451341   REBECCA            COLEMAN                OH     90014717364
87368548491837   JERLON             MORGAN                 OK     21084135484
87369681991975   JUSTINIANO         CATALAN HUERTA         NC     90003646819
87371841791837   JUAN CARLOS        HERNANDEZ MARTINEZ     OK     90013968417
87372736451341   REBECCA            COLEMAN                OH     90014717364
87373288961928   ANGELINA           RUVE                   CA     90008502889
87375539297138   JUAN               ARROYO                 OR     90006595392
87375545451341   JAMES              VANDYGRIFF             OH     66082405454
87376246891979   TIMO               TEO                    NC     90009402468
87377498851341   CATIE              MORRISON               OH     66006104988
87378861791837   CURTIS             HAWKINS                OK     21085968617
87379216241275   ELAINE             JENKINS                PA     51072472162
87381753161928   TANICESHA          RODGERS                CA     90013937531
87381946691558   MARICARMEN         TAYLOR                 TX     75084229466
87382586671977   NICOLE             BRUCE                  CO     90000285866
87382592647897   WILLA              ASHLEY                 GA     90014065926
87382935461928   STACEY             ADAMS                  CA     90013769354
87383727291525   ELISA              HERNANDEZ              TX     90010627272
87384343171977   DOMINIC            CAVANAGH               CO     90004723431
87385382991975   RENEE              ALLEN                  NC     90007823829
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87387779751341   BRIAN        CIERS                        OH     90014717797
87388196333453   DEMICHAEL    STEEL                        AL     90014381963
87388466831651   CHRISTINE    SCHULZ                       KS     90006864668
87389411871977   THOMAS       COLLINS                      CO     90013494118
87389926833698   PENN         VATIMA                       NC     12049709268
87391857177537   WENDY        WEBER                        NV     43020518571
87392468277537   JUAN         BARRERA                      NV     90012374682
87392643191837   CORRINA      MARQUEZ                      OK     90010466431
87393554491837   NOLVI        YOVANY                       OK     90010985544
87394632471977   FELICIA      CARBAJAL                     CO     38025056324
87395355697138   JOEY         MCMASTER                     OR     90010483556
87397337841262   CYNTHIA      ROBINSON                     PA     90008863378
87398943391242   KATRINA      POLITE                       GA     14584419433
87399238781538   RAMIRO       RUBIO                        IL     90015582387
87399457747897   LASHANDRA    JENKINS                      GA     90015034577
87411397141262   JOHN         WARD                         PA     90010103971
87412371291975   PERSON       SURONI                       NC     90011213712
87412446491979   JENNIFER     TROTTER                      NC     17051274464
87413269891975   DENISE       HAYES                        NC     90009452698
87416449891975   KIM          HARE                         NC     90012054498
87416495341272   SHARON       JACKSON                      PA     90013864953
87418924347897   TABATHA      COLEY                        GA     14015879243
87418955991837   BILLY        BUTLER                       OK     90011529559
87422822461928   GONZALO      MARTINEZ                     CA     90013228224
87422974651362   FAITH        MAYS                         OH     66082359746
87423744577537   REBECA       VALENCIA-LARA                NV     43091737445
87424779171977   STEPHEN      TRUJILLO                     CO     90012597791
87425436897138   KATHLEEN     MOREDOCK                     OR     90014874368
87425641951349   SANDRA       MACKENZIE                    OH     66071126419
87425945451341   KATLYN       CHOMA                        OH     90001199454
87426118347897   JESSICA      VICKERS                      GA     90010951183
87426354151344   JUAN         VALDES-FLORES                OH     66010123541
87431931591979   MIARA        WARREN                       NC     90013889315
87433636191979   ADEKUNLE     ADEBULE                      NC     90008146361
87433826641262   LADONNA      HESTER                       PA     51060658266
87434937797138   MARCO        TRAPALA GOMEZ                OR     90014349377
87437693591979   BELINDA      ROBERSON                     NC     90013756935
87438518161928   ABEL         BERNAL                       CA     46010295181
87438657647897   ALICIA       DEMPS                        GA     90013026576
87439876193771   MICHAEL      FABER                        OH     64573498761
87441443461928   MARISOL      DIAZ                         CA     90006284434
87441593991837   RACHEL       ANDERSON                     OK     90015125939
87442147851341   TIMOTHY      TEAGUE                       OH     90010051478
87442937797138   MARCO        TRAPALA GOMEZ                OR     90014349377
87442972247897   AUDREY       KENDRICK                     GA     90014359722
87443416891975   ANA LILIA    NERI-ISLAS                   NC     90007734168
87443557171977   CATHERINE    BACA                         CO     38083015571
87444426361928   PATRICIA     ARCINEGA                     CA     90013734263
87444938351341   GEORGE       HODGES                       OH     90013519383
87447244851341   STEVEN       FRANCH                       OH     90011352448
87449325191879   JASMINE      SMITH                        OK     90001603251
87449457141262   JOHN         BRODERICK                    PA     51066304571
87454672485994   WENDY        BERRYMAN                     KY     90001036724
87454724591979   CLAUDETTE    ISANGWA                      NC     90013147245
87455874697138   MORA         CORTEZ                       OR     90013368746
87455969197138   JARED        EMRY                         OR     90014339691
87459132197138   MARIA        GONZALEZ                     OR     90009621321
87459667891975   MICHAEL      TORRES                       NC     90014536678
87459833391975   STEVEN       TORRES                       NC     90014378333
87461285377537   ROBERT       CHURCH                       NV     43098892853
87462271347897   SHIRLEY      BRONNER                      GA     90011302713
87462451291837   NATALIO      ESCOVAR                      OK     90012404512
87462468191979   ODILIA       MORENO                       NC     17074474681
87463729171977   JANELLE      MONTIEL                      CO     90012017291
87465644591323   L.C.D.       ENTERPRISE INC               KS     29000606445
87466312191837   DARIN        OLINGER                      OK     90010183121
87467732977537   MARIA        FERNANDEZ                    NV     90001407329
87468192251341   RHONDA       EUTSEY                       OH     90010941922
87469347741262   ALAN         SMOCHKO                      PA     90011523477
87471225891837   DORIS        ROLLINS                      OK     21027622258
87471386341262   PAUL         GUARDALABENE                 PA     90007463863
87472552693771   DYLAN        JUDD                         OH     90012785526
87472898791837   CAROLYN      MCNAC                        OK     90013968987
87473986741275   DAWN         KELLER                       PA     90010109867
87476371591975   JANEL        WATKINS                      NC     90013693715
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87478121477537   ROGELIO            MATEO                  NV     90002491214
87478444991975   DONNA              BURKS                  NC     90011214449
87479147347897   NYTASHA            PRATER                 GA     90005291473
87479633577537   GUADALUPE          SOTO                   NV     43057206335
87481165171977   JOESEPH            WOELFLE                CO     90012271651
87481489461928   IZZY               ORNELAS                CA     90010624894
87483119561962   DANIEL             MARTINEZ               CA     90009481195
87483351993771   JALEN              SHELL                  OH     90010013519
87483462461928   JOSE               MALDONA                CA     90007674624
87484271497138   AUBREY             SIMON                  OR     90015252714
87484372891979   JOSEPH             CORBETT                NC     90012943728
87485399141275   RACHEL             EDDY                   PA     51093603991
87486264571977   DALE               CRANE                  CO     90012232645
87487296893771   SCOTT              MOORE                  OH     90014402968
87487915591837   LEON               FOWLER                 OK     21059949155
87488156441262   DUTCHESS           STROTHERS              PA     90008251564
87489668191837   KAREN              PUCKETT                OK     21059586681
87491264671977   MELANIE            HOUSE                  CO     90014792646
87492352885962   SALLY              MURRELL                KY     66036793528
87492993891975   JERMAINE           SANDERS                NC     90011439938
87493236993771   SUSAN              MILLER                 OH     90010902369
87493274291837   DIM                CING                   OK     90014962742
87495199351362   JAMES              WILLIAM                OH     66020161993
87496151997138   MICHAEL            MCINTYRE               OR     90011971519
87497575533698   SHANITA            HARRINGTON             NC     12008465755
87499333377537   STEPHANIE          BROWNE                 NV     90012583333
87512753561928   MARK               LILJESTROM             CA     46073217535
87513221691975   BOBBI              WHITTEN                NC     90014392216
87513669397138   CASSIDY            GREENE                 OR     90013536693
87514778377537   SILVIA             ELIZABETH              NV     90007697783
87516538477537   BRANDI             DOSS                   NV     43090955384
87521171191837   JESUS              HERNANDEZ              OK     21059951711
87521533291979   ANTONIO            RAMOS-BRAVO            NC     90015175332
87523631247897   TRACYE             DAVIS                  GA     14000356312
87525846757128   CESAR              MARTINEZ               VA     90010318467
87526465871977   SANDRA             LOPEZ                  CO     38003554658
87526855641262   ERICKA             WILLIAMS               PA     90011128556
87527299861963   ALEXIS             CAMARGO                CA     90011672998
87528255691975   ANDRES             ORTEGA                 NC     90014172556
87528897493771   COREY              HAZLEY                 OH     64564718974
87529938341275   HEATHER            WOOD                   PA     90007629383
87532173393771   SUMMER             REDD                   OH     90001501733
87532691941262   PEARLINE           ROBINSON               PA     90012996919
87533414271977   JEREMY             HERNANDEZ              CO     90007764142
87535789577537   PENNY              LEUZINGER              NV     90013837895
87537725471657   JOHNNIE            JORDAN                 NY     52052597254
87538483431448   PAMELA             ELLIS                  MO     90011194834
87538897997138   AGUSTIN            MARTINEZ               OR     90012538979
87541355197138   ANJELIQUE          PRINCE                 OR     44082153551
87543435651362   DENNIS             CRAMER                 OH     66041734356
87543719793771   MISTY              BROOKS                 OH     90007797197
87543876751341   HUGO               LOPEZ                  OH     90008758767
87544884647822   MICHELLE           GILLIS                 GA     14083408846
87544928161928   SINAY              CHANCAY                CA     90008619281
87548922397138   MICHAEL            ROACH                  OR     90013839223
87551458277537   DOLPHINA D STARK   JOSEPH NORCUTT         NV     90014094582
87551458591979   BREANA             MARSHAL                NC     90013864585
87553389371977   SABRINA            CARTER                 CO     90014583893
87554765941262   ROBERTY            LAMANNA                PA     90010267659
87555891377537   ANA                HERNANDEZ              NV     90011108913
87556276661928   DAVID              THORNTON               CA     46001212766
87556356942329   RACHAEL            BLEDSOE                GA     90012063569
87557324593771   TORI               SNIDER                 OH     90010903245
87558483941262   PATRICIA           FULCOMER               PA     51085114839
87559814991837   KAREN              LIVINGSTON             OK     90014068149
87564542471977   BENITA             SALAZAR                CO     90012715424
87564725541262   DOMINIC            ROMETO                 PA     90012997255
87565124241262   DERICK             HETCHISON              PA     90006571242
87566133997138   COLLEEN            CROOK                  OR     90014001339
87566285691837   ANABEL             GONZALEZ               OK     21036852856
87566523391524   ARTURO             GUTIERREZ              TX     90011515233
87568157777537   HEATHER            GORCEY                 NV     90001541577
87568974941262   DONTEYA            LAWHORN                PA     90009029749
87569878593771   DEBORAH            CRAWFORD               OH     64589138785
87572411197138   COLTON             CLAPPER                OR     90014894111
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87574231961951   CARLOS          CERVANTES                 CA     90014492319
87575666561978   JEFF            GUILFORD                  CA     90001646665
87577171447822   KEYSHEJRA       MANN                      GA     90005281714
87578572733698   JOLENDA         MORGAN                    NC     12066185727
87578941797138   GABRIEL         CHAVEZ                    OR     90010269417
87579646947897   DARLENA         ALLEN                     GA     90012986469
87586489247897   TOMICIA         DAVIS                     GA     90014784892
87586494771977   EMMA            TAFOYA                    CO     90010844947
87586578841262   JONAS           SLAGER                    PA     90013945788
87586621591837   MARIA           DUGGER                    OK     90011566215
87591295893771   KURT            WILCOX                    OH     90013362958
87591695991837   FRANCISCO       CABANA                    OK     90012636959
87592486547822   TRESADI         MCELROY                   GA     14002044865
87593774491975   TYLER J         GUILLORY                  NC     90008617744
87594255741262   KENNETH         POPULO                    PA     51086062557
87594531661928   ALEXIS          BARRALES                  CA     46087375316
87594765351341   JERRY           GRAY                      OH     66013347653
87595333933685   ANTHONY         BUTCHEE                   NC     90011903339
87596883991975   REBEKKA         HOLLANDER                 NC     90001048839
87597567891975   ANTOINETTE      PULLEN                    NC     90015015678
87597651897138   ANA             LOPEZ                     OR     90014856518
87611238893771   MARGARET        VALENTIME                 OH     90007652388
87612365977537   ROSA            MORENO                    NV     90002603659
87614528191523   JASMINE         DIAZ                      TX     90010335281
87614696171977   BRENDA          WAIT                      CO     38043116961
87615924791979   PORCHIA         HARTSFIELD                NC     90008349247
87617461491975   RAFAEL          MORALES                   NC     90000674614
87621567251362   DAVID           DEARING                   OH     66041665672
87624333291837   KEITH           SINCLAIR                  OK     90001623332
87628269141275   LISA            MCMINN                    PA     51022712691
87632569961928   JUSTINA MARIE   LOPEZ                     CA     90013055699
87633132197138   MARIA           GONZALEZ                  OR     90009621321
87633875761928   CONCEPCION      LOPEZ                     CA     90012948757
87634317493771   JOHN            OSBORNE                   OH     90013053174
87635425691979   BRIDGET         EVETTE                    NC     17052734256
87635923641262   KAYLA           FLEMING                   PA     51004549236
87635929797138   ALBERTO         SOSA                      OR     90000249297
87635955351341   DALLAS          HINES                     OH     90005109553
87637478391975   ISHA            LYANS                     NC     90012654783
87639443461928   MARISOL         DIAZ                      CA     90006284434
87639744641275   ERIN            ALLEN                     PA     90006047446
87641892141262   TONI JO         PATAK                     PA     90012938921
87642847151341   MEGAN           HOLSCHER                  OH     90014728471
87643676191979   JOSE            MALDONADO                 NC     90012336761
87644234993771   DENNIE          CRUEA                     OH     90015232349
87644626193771   DOUGLAS         JONES                     OH     90010836261
87645944472444   RICHARD         BUCHANAN                  PA     90004989444
87645989877537   TREVOR          WILLIAMS                  NV     90013799898
87646858951341   DAVID           UPTON                     OH     90014728589
87647241151341   JAMES           WALKER                    OH     66011092411
87647826591979   DENYSE          WILSON                    NC     17003638265
87648457251362   RANDI           MARIE HOTT                OH     66018914572
87651214191975   ANNE            WISE                      NC     90010982141
87654237191975   DANIEL          QUIGLEY                   NC     90006662371
87654946891837   KARLA           GONZALEZ                  OK     90013409468
87656742893771   JASON           TURNER                    OH     90006217428
87656965797138   RONALD          MAY                       OR     90007769657
87657161997138   VANG            YANG                      OR     90011971619
87661515961928   YVETTE          MEDINA                    CA     90010625159
87661831551341   REBECCA         THORNTON                  OH     66038378315
87662832857127   ROSALY          LARIOS CRUZ               VA     90001308328
87662844397138   JERRY DALE      CASSITY                   OR     90013328443
87663222391979   FRANKLIN D      ISLER                     NC     17015832223
87664685291979   TY              HARRIS                    NC     90014906852
87664745341232   SARAH           TURNEY                    PA     90010717453
87665437377537   BREANNA         CAMPBELL                  NV     43046634373
87665525451341   DOMINIQUE       ACREE                     OH     90011015254
87665544497138   LATAIR          CHARMAINE RHODES          OR     90012585444
87665654741275   BRITTANY        LEE                       PA     90014726547
87666523155931   JESIS           RAMIREZ                   CA     90012985231
87675356591979   BRADLEY         BROUGHTON                 SC     90015133565
87675791641262   JUAN            VELAZQUEZ                 PA     90012997916
87676996741262   DON             MAYOWSKI                  PA     51061439967
87677734651332   AMBER           LIKELY                    OH     90007087346
87682717455931   CARMEN          SORIA                     CA     90011167174
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87683632791837   SYLVIA        SCOTT                       OK     21038616327
87684146251341   ANDREA        BAKOS-VEITE                 OH     66054651462
87684629391979   LONNIE        GASP                        NC     90004846293
87685374891837   LANERA        HALL                        OK     90012413748
87686823661928   MARIA         ALVARADO                    CA     90012428236
87688153761977   GUSTAVO       GARCIA                      CA     90008161537
87689926591975   TIMOTHY       RUFFIN                      NC     90010099265
87689951641262   DUJUAN        HALL                        PA     90013959516
87691586891837   CHYLA         GIBBS                       OK     90011005868
87692328993771   TIMOTHY       WORDEN                      OH     90014323289
87693477671977   ANTOINETTE    GUTIERREZ                   CO     90012574776
87694992471977   REEANN        MARTINEZ                    CO     90012859924
87696795147897   LENA          KING                        GA     14055547951
87697543447897   KENYATTA      GILBERT                     GA     90008815434
87697722697138   BEVERLY       TURNER                      OR     90011477226
87711541977537   TYANNE        GUNN                        NV     90012715419
87711791641262   JUAN          VELAZQUEZ                   PA     90012997916
87712491977537   DESIREE       VAUGHN                      NV     90014594919
87713876391979   ROCIO         CASTRO                      NC     90012688763
87715229991837   BRIAN         WILLIAMS                    OK     90008842299
87715566361928   AMBER         ALEQUIN                     CA     90000175663
87716257385962   MARIA         ENNIS                       KY     90010102573
87716617361928   JILL          JORGENSEN                   CA     46068776173
87717252891975   ALISA         HEDGEPETH                   NC     17045492528
87719553297138   LISA          KILBRIDE                    OR     90013405532
87719992991975   CARLOS        ARAUZ ESPERILLA             NC     90012689929
87721449771977   RENEE         LAMBORN                     CO     90013804497
87721671391837   MIA           JACKSON                     OK     90014866713
87722177241262   DOREEN        HILL                        PA     51040361772
87723379371977   JAMES         ROMINES                     CO     90009443793
87724854751341   COURTNEY      HOUSER                      OH     90014738547
87726388941263   FLOYD         ROBINSON                    PA     90007463889
87726474691975   ISAAC         GARCIA                      NC     90013354746
87727498233698   J             TRAVIS                      NC     12042254982
87727647381538   KASOMGO       KACUMBA                     IL     90015616473
87727994591837   JESUS         DELGADO                     OK     90003599945
87729241891837   DIANA         ALLISON                     OK     90014012418
87731954471977   CHRISTOPHER   HEADLEY                     CO     90008729544
87732249461981   LETICIA       ROSALES ORTIZ               CA     90012772494
87732356991979   EVER          NOLASCO                     NC     90000453569
87732523971977   MISTY A       LUNGREN                     CO     90014695239
87732971933698   LINDA         LEE                         NC     12008269719
87734383961951   KATIE         RHOTON                      CA     46024703839
87737834451341   JEAN          PIERRE                      OH     90013988344
87743242391979   EFIGENIA      CALIXTO                     NC     90010052423
87744695591935   KENDRA        CUNNINGHAM                  NC     90003936955
87744724571977   TIERRA        VALDEZ                      CO     90015107245
87744954997138   GABRIELLE     GRIMES                      OR     44000099549
87744981641262   JOHN          WALSH                       PA     90006629816
87746693733698   BENJAMIN      ROBERTSON                   NC     12093376937
87746726991979   TONYA         SNEED                       NC     90014927269
87746872133658   KENNETH       FENNELL                     NC     90011568721
87748128932551   JANET         GRAY                        TX     90011151289
87748393791242   MARY          FLEMING                     GA     90005913937
87748934691979   NERI          LOPEZ                       NC     17075469346
87749214781651   LIONEL        BUFORD                      MO     90005732147
87749348551341   ANDRE         RICHARDSON                  OH     90004093485
87749565257561   ERIKA         BARRIOS                     NM     90012425652
87753553471977   SAJJAD        MAHDI                       CO     90013965534
87753749257135   TRACEY        SPEARMAN                    VA     90008807492
87754348551341   ANDRE         RICHARDSON                  OH     90004093485
87754657841262   TERESA        PIERCE                      PA     90013946578
87757181297138   ALBION        BEAN                        OR     90012091812
87757659941262   DEVIN         MORRIS                      PA     90013946599
87757969571977   ZACH          MONTOYA                     CO     90011839695
87761327877537   CESAR         ADRIAN                      NV     43011183278
87761421397138   JENNIFER      TISON                       OR     44024374213
87764293441275   DAN           NEWELL                      PA     51011322934
87764385293771   BRANDON       SUTTON                      OH     90011893852
87765522161977   GUILLERMO     GONZALEZ                    CA     90005215221
87765768977537   MATTHEW       MCLEAN                      NV     90013167689
87766229341262   BECKIE        BOFFOLI                     PA     90015372293
87766577791979   DAVID         WAGNER                      NC     90013645777
87766674151341   JENNIFER      DONNELLON                   OH     66030366741
87767336781686   DAVID W       SCOMA                       MO     29014043367
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87769563851362   CHRISTOPER      RAVE                      OH     66050535638
87769592141275   JESSICA         WHORIC                    PA     90011235921
87774672241262   ADREA           SIMPSON                   PA     90013946722
87775139191837   WILSON          THOMAS                    KS     29020781391
87777516591979   TWANNA          FRANCIS                   NC     90013325165
87778136141262   JOHN            CARLINO                   PA     51038121361
87779489247897   TOMICIA         DAVIS                     GA     90014784892
87781892241262   JERMAINE        SAMPLE                    PA     90007708922
87783642691975   HEATHER         FULTON                    NC     90015276426
87783779591975   ROY             YANCEY                    NC     90012037795
87785236941262   ASHLEY          COLLINS                   PA     90013012369
87785414891837   REGINA          STRINGFELLOW              OK     90012414148
87785791847897   BOBBY           HARVEY                    GA     90008197918
87787342791979   BRITTANY        TURNER                    NC     90014873427
87787735997138   MARY FANNY      ROMERO DELGADO            OR     90014147359
87788699591837   HAU             VUNG                      OK     90012636995
87788782291979   MARIA           LIQUIDANO                 NC     17086197822
87792265951363   RENEE           ROBINSON                  OH     90009302659
87793489247897   TOMICIA         DAVIS                     GA     90014784892
87796626486554   WANDA           JEFFREYS                  TN     90014096264
87797776151362   TINA            MOSES                     OH     66042087761
87797964133698   ROSE            JETT                      NC     12004819641
87799675591975   JALEESA         JAMES                     NC     90013216755
87812241371977   JOSE            DEHERRERA                 CO     38042732413
87813177997138   ANDREA          WARD                      OR     90007061779
87813451797138   MARIA           BRAVO ZARAGOZA            OR     44063254517
87813474391975   LILIANA         ANDRADE                   NC     90012614743
87814391741262   SHIRLEY         BARNETT                   PA     51059823917
87815521391979   FRANCOIS        AKAKPO                    NC     17089185213
87816379551341   LAURA           GLOVER                    OH     66020243795
87817763693723   STACY           CORNETT                   OH     64515337636
87818477961928   JUSTIN          MARLOW                    CA     90012694779
87818745647897   AKILAH          FULLER                    GA     90014267456
87819142741262   ERICA           KINER                     PA     90010981427
87819295141262   MARY ANN        CANNON                    PA     90013422951
87819527585834   JIMMY           CHOW                      CA     46010525275
87819876284336   JUAN            GARCIA                    SC     90005338762
87821876284336   JUAN            GARCIA                    SC     90005338762
87822964941262   JEREMY          KIM                       PA     90013959649
87825919441262   STEPHANIE       MCCOY                     PA     90014919194
87827597191979   JUAN            CASTILLO                  NC     90009655971
87827682841275   ZURI            GANDY                     PA     90011236828
87832691791979   GLORIA          QUICK                     NC     17097426917
87832998791837   REGINA          GRIFFIN                   OK     21093069987
87833373461928   ASHLEE MARIE    PEREZ                     CA     90013873734
87834116551341   CANDY           HENNEY                    OH     90014731165
87834948291524   ROSA            BORJA                     TX     90011889482
87837734441262   JAYQUAN         CLINTON                   PA     90013947344
87837774361928   ALANA           MARTINEZ                  CA     90014417743
87839769691837   BURCH           DONNA                     OK     90009987696
87842138951341   JOSE            MENDOZA                   OH     90010411389
87842336991975   GARY            BLOISE                    NC     90014023369
87844782171977   CHRIS           WOLFE                     CO     38006197821
87846126151341   JOSVE           HERNANDEZ                 OH     90014731261
87847862951341   ERIN            HOUSTON                   OH     90014738629
87848691491975   PEDRO EDUARDO   KROMPECHER                NC     90015016914
87849148661928   SANTOS          GARCIA                    CA     90014401486
87849957547897   RONNIE          PERKINS                   GA     90014869575
87852347151341   JIMMY           PENNINGTON                OH     90004653471
87853399261983   JAIME           VALENCIA                  CA     90008993992
87853958341275   HERMAN          LEDONNE                   PA     51041539583
87858726791975   FREDY           REYES                     NC     17024507267
87861499461928   CODY            MILLS                     CA     90013044994
87861954171977   CHRIS           GILLESPIE                 CO     90014879541
87862141191524   ANGEL           CORRAL                    TX     90009141411
87862449561928   STEVE           GARCIA                    CA     90008584495
87862836251341   KARINA          MAYRA                     OH     90012328362
87863198171977   RAIANNE         MALBONADR                 CO     90007891981
87863211391837   LUIS            LOPEZ                     OK     90012962113
87863468291979   FRANCISCA       SANCHEZ                   NC     90015134682
87865146151341   ASLEY           ROSE                      OH     90014731461
87865785391837   GABRIELA        RODRIGUEZ                 OK     90012037853
87866478557129   CARMEN          ALICIA                    VA     90011414785
87867561277537   AMY             SEXEY                     NV     90012405612
87867698591979   COREY           JOHNSON                   NC     90001876985
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87868157755971   PHILLIP      PEREZ                        CA     90014871577
87868785391837   GABRIELA     RODRIGUEZ                    OK     90012037853
87868816791979   KALRA        ESPINOSA                     NC     90013418167
87869151751341   AMBERLY      STRONG                       OH     90014731517
87869241391979   GENARO       AGUILAR                      NC     90008252413
87869544181667   LUZ MARY     RAMIREZ                      KS     29075265441
87869728991837   JEMICA       HOLMES                       OK     90012457289
87869827461928   ALEX         SANCHEZ                      CA     46039678274
87869866855971   RODNEY       SALAS                        CA     90005078668
87871845191837   KRISTEN      HOGGATT                      OK     90015168451
87872635971977   ANGELICA     MUNOZ                        CO     90014316359
87873221571977   DASHON       CHERRY                       CO     38040262215
87873516597138   LUIS         SILVA                        OR     44038585165
87873832393771   SARAH        OWINGS                       OH     90006998323
87874535497138   ANA          HERNANDEZ RODRIGUEZ          OR     90014165354
87874768571977   JACQUELINE   CISNEROS                     CO     90007847685
87874857191975   RECARDO      WINGFIELD                    NC     90013988571
87875486691558   ERNESTO      REYNOSA                      TX     90003644866
87877787471924   IESHA        SHIRLEY                      CO     90012707874
87877936691242   KENNARD      ALLEN                        GA     90005769366
87878178251341   KELTON       LINDSAY                      OH     90014731782
87878253391975   MICHAEL      PAIGE II                     NC     90011222533
87879116551341   CANDY        HENNEY                       OH     90014731165
87881164491979   NATASHA      LITTLE                       NC     90013871644
87882384693771   INDIA        SAWERS                       OH     90011713846
87882951493771   JAMI         REEVES                       OH     90015229514
87884194491875   BRANDON      ALLEN                        OK     90009831944
87884335761928   ADELA        PEDERSON                     CA     46060853357
87884772197138   BRIT         BROEKE                       OR     90012607721
87885129851341   CHARLES      DAY                          OH     66048621298
87885355384347   TERESA       CARRANZA                     SC     90010113553
87888745877537   DANIELLE     CASON                        NV     90012637458
87888849451362   JOANN        INGRAM                       OH     66013378494
87888985751338   BRAIZLEE     BROWNING                     OH     90013459857
87889665177537   CAROL        COOK                         NV     43089246651
87892821497138   SONIA        CAMPOS                       OR     90014708214
87893331591975   SARAH        KINCAID                      NC     90012423315
87894458997138   LACEY        HAGAN                        OR     90013984589
87894839241275   CALEB        STOKES                       PA     90010468392
87894898284351   RAYVEN       GILLIARD                     SC     90002408982
87895616161988   STEVE        TAYLOR                       CA     90005256161
87895711377537   AUNU         ROBINSON                     NV     90011867113
87911684247897   SAKETA       KING                         GA     14096416842
87911691397138   SHERI        STUART                       OR     44050436913
87913456197138   ZOSIMO       SALINAS                      OR     90009484561
87913518947897   JACQUELINE   COOPER                       GA     90012065189
87913844691979   ADORA        WILSON                       NC     90003118446
87916229951341   SHAWNA       AINSWORTH                    OH     90014732299
87916668841262   SOPHIA       GONZALEZ                     PA     90007126688
87917549991837   MAKALA       WARE                         OK     90014925499
87917745997138   KARA         EVANS                        OR     90008857459
87918299271977   ADRIAN       MAES                         CO     38015172992
87918325591975   LISA         FORBER                       NC     17085543255
87918387341275   MELISSA      BACHMAN                      PA     90007673873
87918763791525   ROSA         CASTRO                       NM     90004937637
87919394993771   JERRY        DREW                         OH     64588293949
87921481151362   NICHOLAS     STITZEL                      OH     90011344811
87921482177537   MARQUISE     DANIELS-HATCHER              NV     43023264821
87921595197138   CURTIS       CLIPPARD                     OR     90004335951
87922197291837   TASHA        ANDERSON                     OK     90013971972
87922479297138   OMAR         GARZA                        OR     90010004792
87922875377537   CARLOS       RODRIGUEZ                    NV     43092918753
87923192297138   RASHELE      PICKETT                      OR     44024021922
87923567291837   LAURA        ESSARY                       OK     90013065672
87923726991558   KEITH        BLEVINS                      TX     75051867269
87924664593771   STEVE        HOWARD                       OH     64509016645
87925426991979   HARRY        CAHOON                       NC     90014524269
87925628177537   PINO         RODRIGUIEZ-VELAZQUEZ         NV     90012406281
87926226493771   ANTHONY      COIL                         OH     90010912264
87926789541262   MARY         ANDERSON                     PA     90013947895
87926815671977   ROGER        MARTINEZ                     CO     90013318156
87926879591837   MARIANA      MUNOZ                        OK     90015138795
87927476791979   KAREN        COOPER                       NC     90014544767
87927524793771   PHILIP       COLE                         OH     64592855247
87928586591975   SILVIA       PERRY                        NC     90014755865
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87931826497138   NATASHA       WESTMARK                    OR     90006128264
87932717551362   HERTH         DARLENE                     OH     90010107175
87933424191837   KIMBERIE      LUSTER                      OK     90003114241
87936666341232   LISA          WILLIAMS                    PA     90015086663
87938758193724   BREONNA       PINSON                      OH     90009807581
87938929871977   VICTORIA      MCDANIEL                    CO     90007149298
87939372351341   DAWANA        RISTON                      OH     90014623723
87939773951362   SUSAN         WHARTON                     OH     66006597739
87941628177537   PINO          RODRIGUIEZ-VELAZQUEZ        NV     90012406281
87941842541275   STEPHANIE     CAPUTO                      PA     90002068425
87942927441275   DIONE         BRADLEY                     PA     51099169274
87945529577537   JASON         BEAUDRY                     NV     90013805295
87945643891837   ERICK         CARVAJAL                    OK     90012416438
87945799171977   ILDE          DIAZ                        CO     38047527991
87945996241262   SAMUEL        DODDS                       PA     51095829962
87946444197138   ERIKA         PENALOZA                    OR     44061464441
87946852593793   SANDI         SULLIVAN                    OH     90007878525
87947916161928   BENJAMIN      BARNETT                     CA     90012869161
87948257951341   LASHAWN       ANDERSON                    OH     90014732579
87948742997138   SHAWN         MOODY                       OR     44062487429
87949746261928   ANGEL         RUBEN CAMPOS                CA     90006227462
87951439233698   ROSE          MELTON                      NC     12073664392
87951721577537   JESUS         GUERRERO-CHAVEZ             NV     90009607215
87952132671977   JAYLENE       ARELLANO                    CO     90015091326
87955433391975   LAKEISHA      LAWRENCE                    NC     90004254333
87955766991979   ELENA         GONZALES                    NC     90010507669
87956425777537   WESLEY        HAMILTON                    NV     90008084257
87956494291524   KARLA         VAZQUEZ                     TX     90007254942
87957252971977   JEREMIAH      PRESTON                     CO     90013272529
87958952591979   SYLVIA        TAPP                        NC     90014809525
87959217847897   RICKEY        STEWART                     GA     90011452178
87959435841275   CHRISTINE     WESOLEK                     PA     51012864358
87959576477537   ALICIA        CALDWELL                    NV     90007625764
87959813277537   JOSE          AGUILAR                     NV     90003848132
87964167441262   JASON         IMPAVIDO                    PA     51088011674
87964229951341   SHAWNA        AINSWORTH                   OH     90014732299
87964374891979   DEBORAH       HOLDEN                      NC     90013253748
87964761547822   JESUS         SANJINEZ                    GA     14071837615
87967789591837   MARIA         PEREZ                       OK     21075027895
87967915491979   AUDIAS        VALDEZ                      NC     17075569154
87972834877537   CHRISTOPHER   ENGELL                      NV     90014718348
87973495297138   LINDA         EZRA                        OR     90013814952
87974622693771   DUANE         BEEMAN                      OH     64589996226
87976494291524   KARLA         VAZQUEZ                     TX     90007254942
87976673597138   FRANCISCO     ESPINOZA                    OR     44073626735
87978825241262   RAMIREZ       PEDRO                       PA     90013948252
87979527571977   SAMUEL        ROMERO                      CO     38023955275
87979825741262   KELLY         MARIENFELD                  PA     90013948257
87981952977537   SANDRA        COOK                        NV     43005079529
87982261593771   JOSEPH        MIDDLEBROOK                 OH     90014712615
87982829441262   RAMMY         LEE                         PA     90013948294
87985191547897   RALPH         GLOVER                      GA     90013771915
87988356391975   MCKINLEY      FERGUSON                    NC     90013963563
87988525861928   MIROSLAVA     FUENTES                     CA     90009885258
87989788391975   TARA          SMITH                       NC     17024097883
87991411897138   BENTON        KINGS                       OR     90015124118
87992673597138   FRANCISCO     ESPINOZA                    OR     44073626735
87993512591979   SHONICA       GOSS                        NC     90014635125
87993935241262   JENNIFER      HULL                        PA     51010649352
87995454157142   LAURA         HILLARY                     VA     81071614541
87995476591975   MIGUTEL       GUTIERREZ                   NC     90012734765
87996624597138   MARIA         BEDOLLA PONCE               OR     90001866245
87996774261928   JOSE          ALVAREZ                     CA     46053657742
87998898691975   YVONNE        ANDREWS                     NC     90008848986
87999666341232   LISA          WILLIAMS                    PA     90015086663
88111567584371   MARIE         JEFFERSON                   SC     90005375675
88112737571977   RODRIGO       VASQUEZ                     CO     90002287375
88117463171977   EDWIN         PFAFF                       CO     90012334631
88117584951341   NATALIE       MAURER                      OH     90015415849
88119266793771   MIRACLE       HARDY                       OH     90007652667
88121237655945   JORGE         MAESTAS                     CA     90009502376
88122366581672   LUIS          JOFRE                       MO     29080193665
88122813451341   PAUL          MCADAMS                     OH     90014328134
88123191851341   JAMES         JOHNSON                     OH     90006921918
88124838141275   KEITH         ZAMBORSKY                   PA     90009388381
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88125744271977   LEEANA       TRUJILLO                     CO     90009277442
88127374971977   LAUREN       LINNEBUR                     CO     90015233749
88127534333471   TERESA       MORRISON                     AL     90014325343
88127958355945   MARICELA     RAMIREZ                      CA     49021939583
88128339977537   LISA         MACKINTOSH                   NV     90014613399
88129695397138   BRIANA       LOONEY                       OR     90014796953
88131393471977   GARY         VIGIL                        CO     90001823934
88132336541262   VERNON       SALTERS                      PA     90014223365
88132392655945   LETICIA      MORALES                      CA     90012543926
88132824991979   HAROLD       EVANS                        NC     90015228249
88133143261928   ENEREJILDA   GUTIERREZ                    CA     90014431432
88133333991837   GABRIELA     MEZA                         OK     90012213339
88133378693771   JEFFERY      MARTIN                       OH     90003183786
88133398591837   ROY          SHEPPARD                     OK     90013293985
88134845555945   MARIA        VILLAGRAN                    CA     90014168455
88136384433698   TRAY         TERRY                        NC     90012673844
88137916797138   JOEY         VEREL HENDERSON              OR     90014389167
88138425693771   TONIKA       KNIGHT                       OH     90012624256
88139978254177   PAYGO        IVR ACTIVATION               OR     90014229782
88142298833698   TIMOTHY      ROBINSON                     NC     90015292988
88143855981627   SYLVESTER    MESTETH                      MO     90006748559
88144469851388   CHERISH      SMITH                        OH     90011894698
88145721897138   LOLITA       BITSOIE                      OR     90014797218
88147376277537   MANUEL       PEREZ                        NV     90013853762
88147655957123   LUIS         LAZO                         VA     81028516559
88148858991979   ZAKEE        JOHNSON                      NC     90014658589
88149384541275   MELANIE      MILLER                       PA     90003333845
88149514433698   TAMIKA       MONTGOMERY                   NC     90012865144
88151188593771   TIERANNY     GREEN                        OH     64504841885
88151775891979   RICARDO      GOMEZ HERNANDEZ              NC     90007067758
88153315551341   ANTHONY      DITDULL                      OH     90013093155
88154287371977   GARY         DAVIS                        CO     90014412873
88154591197138   JENNIFER     MCKINNY                      OR     90013395911
88154914571924   PATRICIA     BAKER                        CO     90009069145
88154995977537   BRIAN        MODAHL                       NV     90009809959
88155935933698   KENYA        MURPHY                       NC     90011219359
88157781241262   MICHAEL      RANKIN                       PA     90013847812
88158914693771   DAKEDA       HARRIS                       OH     90012499146
88159449877537   DONOVAN      GUINN                        NV     90015124498
88159591197138   JENNIFER     MCKINNY                      OR     90013395911
88162344155945   SERENA       BARELA                       CA     90014103441
88164419171977   CELIA        RALL                         CO     38028614191
88164484591893   RENEE        ROMERO                       OK     90006284845
88164781355945   JUSTINA      METH                         CA     90002177813
88165881171977   IRENE        TORRES                       CO     38065068811
88166957651341   RASHUNDRA    WILLIS                       OH     90008849576
88167478541275   COVEY        WISE                         PA     90013254785
88168243541275   MARK         REDMAN                       PA     90000342435
88168539861928   LEO MAGNO    ORTIZ                        CA     90003135398
88169252461983   MANUEL       TAPIA                        CA     90001132524
88171257933698   HARMONY      LINDSAY                      NC     90014152579
88172718333471   TIMOTHY      NIX                          AL     90013857183
88173178297138   JENNIFER     PINNER                       OR     44064671782
88176174391837   KIM          SULLIVAN                     OK     21096471743
88177782397138   KELLY        TREMAINE                     OR     90014797823
88178383451341   ASHLEY       YOUNG                        OH     90012283834
88178748391837   KEITH        CARRUTHERS                   OK     21028427483
88178853961928   ARMANDO      SOSA                         CA     46082728539
88183281971977   RAYMOND      SEFERINO-ARELLANO            CO     90000332819
88183839981627   JASON        WOODS                        MO     29050908399
88187545241249   PATRICIA     CARDEN                       PA     51095825452
88189987877537   JANET        KEMP                         NV     43091769878
88191555797138   CHRISTINA    HARTLESS                     OR     90014805557
88192319561428   FADUMO       ABDALLA                      OH     90013973195
88192575351341   JOSHUA       WRIGHT                       OH     90014545753
88192828472467   COLBY        PHILLIPS                     PA     90002388284
88194849771977   RONALD       BATES                        CO     90010868497
88196537741275   SHANNON      DAVIS                        PA     51095615377
88197242984336   FELIPE       HERNANDEZ                    SC     90010872429
88212259633698   SELINA       TATE                         NC     12082172596
88213729897138   DANYA        BAYNE                        OR     90014807298
88213978461928   BYRON        PEREZ                        CA     46047099784
88214155833691   SONJA        LIPSCOMB                     NC     90015161558
88214221591837   LATEESE      ROSS                         OK     90010662215
88214252891979   SILVIA       ARROYO SOSA                  NC     90014242528
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88214463691837   DUSTIN            SANG                    OK     90012994636
88214966281627   REGGIE            HOGAN                   MO     29039089662
88214981541262   DOUGLAS           TURNER                  PA     51014089815
88218298655945   ELVIRA            MOLINA                  CA     90010892986
88219213381667   MARIO             GANCHAROV               MO     29017942133
88223775741275   WARD              LUANN                   PA     51084527757
88225157851362   JASON             THOMPSON                OH     90011841578
88226122733698   GARY              CLAPP                   NC     12001761227
88227926971977   BIOLA             SENA                    CO     90000559269
88228147191837   DEBBIE            LEE                     OK     90014941471
88228194851362   JORGE             GASPER                  OH     90011841948
88228845297138   NEIJAB            HAX                     OR     90014808452
88229489277366   KERRY             BROWN                   IL     90005434892
88229726497138   NICHOLAS          BATES                   OR     90012047264
88229786847822   CHRIS             THOMPSON                GA     14060807868
88229867491553   RANDY             WILLIAM                 TX     90009238674
88229872555945   JULIO             TELLO                   CA     90014238725
88232646171977   BRUCE             PREWITT                 CO     90013056461
88233522277537   KATRINA           BEARD                   NV     90010065222
88234135341275   CAROL             KENNEY                  PA     90008101353
88234767177537   CLAUDIA           ARRELLANO               NV     90012477671
88235329255945   LEE               CURTIS                  CA     90006833292
88235694541262   OMARTTZ           BROOKS                  PA     90009816945
88236767497138   HUGO              VASQUEZ SALASAR         OR     90010397674
88236978891979   GABINA            PALMA                   NC     17066779788
88237854997138   JACQUELINE        GONZALEZ                OR     90014808549
88237974991837   HOLLY             GREEN                   OK     90012669749
88238327831457   SHALESHEAN        COLEMAN                 MO     27558863278
88238798255945   ASHLEY            SILVERIA                CA     49007087982
88239755451341   MEL T             HOFFMANN                OH     90012357554
88242326977537   KENT              PERTERSON               NV     90010903269
88243473354153   THOMAS            GILMAN                  OR     90015344733
88243742541232   MARK              WELSCH                  PA     90013587425
88244278377537   SAUL              MONTOYA                 NV     43093252783
88244342457122   DEIDRA            LEE                     VA     81097313424
88244613493771   BILLY             CHARLES                 OH     90014296134
88245274347822   BRANDI            MIMS                    GA     14008212743
88245637461928   JOSE LUIS         VILLATORO               CA     90006276374
88246913733698   ANA               MAGALLON SILVA          NC     90001639137
88247353261928   LETICIA           MEDRANO                 CA     90013793532
88247878833471   AMBER             KNIGHT                  AL     90014838788
88248111172444   WALTER            GASIOROWSKI             PA     51069991111
88248243677537   ROLAND            BROOME                  NV     90015452436
88248812951341   KRYSTAL           TAYLOR                  OH     90013618129
88248946193771   CHRISTINA         PERKINS                 OH     90012329461
88249381471977   DEBORAH           MESTAS                  CO     90012163814
88251528293771   DONNA             ELIZARRARAZ             OH     90008155282
88254531397138   JUAN              CONTRERAS               OR     90010755313
88254686391863   MICHELLE-BOBBIE   PHILLIPS                OK     90004626863
88255183751341   LANDON            HUGHES                  OH     90010151837
88255191955956   MARIA             VEGA                    CA     90012291919
88258589391837   DONNA             FREENEY                 OK     21002595893
88258863338521   JEREMY            KEELEY                  UT     90009858633
88261187291936   LATOYA            ASHFORD                 NC     90012501872
88262766993771   JOSE              SANTOS RAMIREZ          OH     90007657669
88263584161928   MARIA             NUNEZ                   CA     90014325841
88264165491337   MICHAEL           SHAVEL                  KS     90009471654
88264265933698   JOYCE             TULLOCH                 NC     12002062659
88264699891927   TOMEKA            CROWDER                 NC     90001236998
88265238341237   HELEN             MACHICOTE               PA     90011842383
88266558833698   DEMARIS           BOWE                    NC     90015145588
88267389533698   RAQUEL            VINCENT                 NC     90013033895
88267947184371   MAZIE             ROBINSON                SC     19007329471
88268293497138   KEMDRA            ROGERS                  OR     90012572934
88268353341275   EBONY             DAVENPORT               PA     51016513533
88272522855945   BREEANN           MADRIGAL                CA     90014705228
88272935577537   PAYGO             IVR ACTIVATION          NV     90003789355
88272996661928   CHARLES           GULLEY                  CA     46098679966
88273792671977   ROBERT            MARTINEZ                CO     90013357926
88274795377537   ALBERT            NEWMAN                  NV     43062477953
88275464361928   GIOVANI           MAGADAN                 CA     90014714643
88276242291837   DENISE            BELL                    OK     21034792422
88276395841262   TRACEY            TAYLOR                  PA     90013523958
88282926371977   THERESA           DAWSON                  CO     90012249263
88283424691837   SELINA            BARRAZA                 OK     90011894246
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88283428661928   GUADALUPE     ANTUNEZ                     CA     46086154286
88283531397138   JUAN          CONTRERAS                   OR     90010755313
88284741841275   GABRIEL       WILLIS                      PA     90008377418
88284764261928   CRAIG         RASMUSSEN                   CA     90001587642
88285378731621   TIFFANY       DORSEY                      KS     22005483787
88285995551341   CYNTHIA       EDWARDS                     OH     90012729955
88287539151341   ASHLEY        RIDNER                      OH     66007945391
88287954755945   ASHLEY        GUZMAN                      CA     90014169547
88288495377537   ADELA         CASTILLO-DEALVAREZ          NV     43092494953
88289173597138   AMANDA        GARCIA                      NV     44042151735
88291925351341   RICHARD       AUSTIN                      OH     90009879253
88292962733698   CORLISS       MCCOY                       NC     90010499627
88293622493771   ABDULMAJIED   KHAMIS                      OH     90012996224
88294712833698   DAVID         MCPHAIL                     NC     90013407128
88295299355945   CARMEN        A                           CA     90004212993
88295398133698   DELFIN        MOLINA                      NC     12036533981
88295419547822   BONITA        HEAD                        GA     14048784195
88295874841275   MIA           NEVIN                       PA     51074978748
88297449555945   AGUSTIN       BRAVO                       CA     90015144495
88297454851362   MISTY         JONES                       OH     66091444548
88299119397138   JUAN          FLORES                      OR     90014871193
88299351693771   LARRY         PENWELL                     OH     64511523516
88311121655945   MONICO        ALJANDREZ                   CA     49083801216
88311181971977   CHRIS         ARCHULETA                   CO     38087041819
88312689555945   ROBERTO       RAMIREZ ZAMBRANO            CA     49003586895
88313186997138   JEREMY        COOLBAUGHT                  OR     90006391869
88314525191935   JENNIFER      CARLTON                     NC     90012275251
88314876593723   KALA          BARNES                      OH     90004738765
88314972355945   DENISE        SANTANO                     CA     90014169723
88316916571977   JUSTIN        GINNINGS                    CO     90014059165
88318372641262   TROY          NAYLOR                      PA     51037343726
88319293377537   ANGELICA      HERNANDEZ                   NV     90010952933
88319939947897   DELISE        JAMES                       GA     90002239399
88321187441262   CAROL         MCCOY                       PA     90009111874
88321634571977   DESTINY       GRIEGO                      CO     90012926345
88323756361928   NAH           NIMELY                      CA     46017777563
88324855677537   MELISSA       ARMSTRONG                   NV     90000828556
88326392951341   FIORI         HABTU                       OH     90014343929
88326651997138   LEAH          CURR                        OR     90006156519
88327645661928   ASHLEE        NAVARRO                     CA     90013656456
88327845733698   JAHTARA       HIELDS                      NC     90012998457
88327852341237   RENEE         BROWN                       PA     90014018523
88327974655945   EFRAIN        HERNANDEZ                   CA     90014169746
88328951781627   JOSE          MAGANA                      MO     90005159517
88331869651362   KRISTIN       SHEPHERD                    OH     66073178696
88332492355945   MARK          ORTEGA                      CA     90013284923
88334111633698   DRISSA        OUATTARA                    NC     90013511116
88334217697138   ELTON         RALSTON                     OR     90014882176
88334739491979   LATOYA        GILCHRIST                   NC     90010137394
88336832391837   ANNIE         ROEBUCK                     OK     90010888323
88338163677366   TIRA          SANNI                       IL     90014711636
88338257351341   NANCY         THACKER                     OH     90011292573
88339656977537   YESENIA Y     AGUILAR MEDINA              NV     43014126569
88341649351365   SHERESE       LEWIS                       OH     90011966493
88341893991837   LINDA         STARKS                      OK     21016948939
88342515561928   DAVID         SPICER                      CA     90014505155
88342557551341   GINGER        MCINTYRE                    OH     90014355575
88342637561928   BENITO        GONZALES                    CA     90014676375
88344118155945   NANCY         PONCE                       CA     90007671181
88345914693771   DAKEDA        HARRIS                      OH     90012499146
88347736771977   RICHARD       BRAVO                       CO     90012917367
88348411341262   RITA          MITCHELL                    PA     90010844113
88349373891837   LAM           CING                        OK     90014983738
88349682851341   ANDREW        ZIMMERMAN                   OH     90010306828
88352288271977   DAVID         SIGUENZA                    CO     90014512882
88353285951341   LESLIE        YOUNG                       OH     66017522859
88354482697138   MARIA         RODRIGUEZ                   OR     90013204826
88354977655945   RAMONA        OLIVARES FLORES             CA     90014169776
88355316561957   MARIA         SANDOVAL                    CA     90011633165
88355383651341   YOLANDA       PERKINS                     OH     90010053836
88356374577533   RUBEN         GIRON                       NV     90006593745
88357642361936   RHONDA        HURST                       CA     90010316423
88357857293771   RUSSELL       WAGANS                      OH     90009658572
88358715681627   ANTOINETTE    IRVIN                       MO     90005647156
88359161557143   HAL           STOKES                      VA     90008291615
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88361375971977   ANTHONY L    GOODE                        CO     38060433759
88361644241275   HOWARD       WINWOOD                      PA     90012666442
88361837777537   MARCO        RAMIREZ                      NV     43084958377
88362161147822   TEQUILLA     JOHNSON                      GA     14016451611
88364251897138   JOSHUA       MORRIS                       OR     90011092518
88365858371977   ROBERTA      MONTOUR                      CO     90013498583
88367174781691   FAYE         GRAYES                       MO     29016101747
88367563341284   TODD         BESH                         PA     90006845633
88369218451341   TIFFANY      CHAMBERS                     OH     90012832184
88371395871977   CHARLES      RICHARDSON                   CO     90008503958
88371488861928   CHRISTINA    CORDOVA                      CA     90013664888
88372261491936   KOURTNEY     BRYANT                       NC     90007722614
88373545193771   JUSTIN       BAKER                        OH     90009025451
88375247993724   DANNY        HILDENBRAND                  OH     64592672479
88376796597138   CANDY        HOLBROOK                     OR     90008737965
88378294251374   TRAVIS       SEBREE                       OH     90012862942
88378714691523   MARIA        RAMIREZ                      TX     75072467146
88379239433698   LOEN         SIU                          NC     90015152394
88379329551362   NIKKI        ROBERTS                      OH     66055023295
88379636261928   LIBNI        HERNANDEZ                    CA     90012176362
88379887791837   AMBER        HETTICK                      OK     90010328877
88379953755945   JOSE         MACIAS                       CA     90005089537
88381359551341   DERRICK      BURTON                       OH     66016253595
88381667493771   JEREY        MYERS                        OH     90014196674
88382665271924   AMANDA       FIELDS-MOUNT                 CO     90002296652
88384713693771   DENISE       HARVEY                       OH     90001987136
88385117597138   PEDRO        SANCHEZ                      OR     90014891175
88388715451341   DEBORAH      GREENE                       OH     90013237154
88392566193771   CHARLES      AMOLE                        OH     90013755661
88393686771977   VIOLET       LEGER                        CO     90001156867
88393695561928   JOSELO       LEON                         CA     90013486955
88394155755945   PORYEE       XIONG                        CA     90014651557
88395664391979   HANNA        TAMRE                        NC     90003246643
88397131361928   CINDY        MARTINEZ                     CA     46090051313
88411339191979   ALICE        PAIR                         NC     17083383391
88413169141275   FRANKIE      WILLIS                       PA     51074281691
88413651455945   GENESIS      HERNANDEZ                    CA     90014046514
88415913661928   ERICK        CARDENAS                     CA     90009079136
88416268697138   GASCA        MARIA ESMERALDA              OR     90002182686
88416724571977   ROBERT       SANATA                       CO     90007087245
88417223551362   LEANNE       SHOLLENBARGER                OH     90002602235
88417769847822   KELVIN       LOVVETT                      GA     90004257698
88421622177537   KIMBERLY     WISEMAN                      NV     43086696221
88422647497138   DIGNA        BERMUDEZ                     OR     90010736474
88423441491837   MARCUS       JACKSON                      OK     21085244414
88423471181627   LEANNA       GALLION                      MO     29030114711
88425167293771   LINDA        HOBSON                       OH     64512831672
88427947255945   WALTER       STEPHENSON                   CA     90013209472
88428689497138   ALYSSA       LERBACK-                     OR     90006666894
88429453851341   AMANDA       KELLEY                       OH     66071744538
88432625661981   ANGELICA     ROMERO                       CA     46035136256
88432853651362   HILLARY      COLLINS                      OH     66098568536
88433475391837   ISABEL       GENAY                        OK     90013014753
88435743651362   GEORGE       BRIDGES                      OH     90012727436
88435744177537   ANA          CARIAS                       NV     90009807441
88439663191837   JENNIFER     LOVETT                       OK     90009646631
88441492797138   BLADIMIR     RICO                         OR     90014904927
88441859577537   JACKIE       SALVATIERRA                  NV     90012478595
88444492797138   BLADIMIR     RICO                         OR     90014904927
88444588261928   GLORY        ARROYO                       CA     90014395882
88445166741275   KETURAH      MCCULLOUGH                   PA     90001791667
88445247541275   NORMAN       MCCULLOUGH                   PA     90014372475
88445497797138   JOSHUA       BLUE                         OR     90014904977
88445896261928   SILVERIO     DIAZ                         CA     90007608962
88446951831444   SHAVONNIA    JOHNSON-WHITEHEAD            MO     90012229518
88447117671977   LYNETTE      RODRIGUEZ                    CO     38074101176
88447119841247   KRISTINE     GRIME                        PA     90006341198
88448623297138   HARRY        MCFADDEN                     OR     44061156232
88451526697138   RICCI        AVELLA                       OR     90014905266
88452316961928   LISA         JONES                        CA     90013823169
88452552593771   ANTONIO      ALEXANDER                    OH     90012345525
88454698391979   BETHANY      LADOUX                       NC     90013136983
88457765291837   ELENA        MARTINEZ                     OK     90011497652
88458655791837   SHEMIKA      HAMILTON                     OK     90003486557
88459185851341   TABATHA      MAY                          OH     90012461858
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88459546597138   YOLBA        VAZQUEZ                      OR     90012775465
88461397871977   RUTH         SMITH-VASQUEZ                CO     90012463978
88463384391893   WHITNEY      WILLIAMS                     OK     90010153843
88463414333698   JESSICA      TURNER                       NC     90010504143
88465781597138   DAWN         PEARSON                      OR     90014927815
88466916791979   DIGNA        SANTOS                       NC     17098749167
88473254755945   JOAQUIN      GONZALES                     CA     49036492547
88473385697138   ROSARIO      VAZQUEZ                      OR     44073873856
88474574871977   REED         HINTON                       CO     90009805748
88475169493771   THEODORE     LEWIS JR                     OH     64513651694
88475741147897   MICHELLE     DAVIS                        GA     14094257411
88476528155945   DEBBIE       GUTIERRIZ                    CA     49079445281
88477645341237   A MICHELLE   PRIMEAUX                     PA     90005946453
88477925697138   OLGA         DURAN                        OR     90001759256
88479632161928   GIULIANO     DIFERRETTI                   CA     46044196321
88482578181672   VITA         GRANT                        MO     29051385781
88482917847897   SHAY         FREEMAN                      GA     14052599178
88485334777537   JAVIER       TEC VERDE                    NV     90013363347
88487626391979   SHERESA      STATON                       NC     90006396263
88488451241262   TANIKA       TAYLOR                       PA     51050184512
88489934997138   MENSY        JULIO                        OR     90014929349
88491872555945   JULIO        TELLO                        CA     90014238725
88492424991979   ALBERTO      SANCHEZ                      NC     90002974249
88492977441275   ROBERT       LAPINSKY                     PA     51083679774
88493926933698   RICHARD      WILKINSON                    NC     12067769269
88494759457139   MISAEL       RAMIREZ                      VA     90013827594
88495172561928   SANDRA       PRUET                        CA     90013061725
88495338381552   FRANCISCO    ESCOBEDO                     IL     90009313383
88496966671977   CLAUDIA      MARTINEZ                     CO     90010239666
88511451341275   DERDINA      JOHNSON                      PA     90011694513
88511845955945   ADRIANNA     RODRIGUEZ                    CA     49006518459
88512636877537   ANNMARIE     BENNY                        NV     90010336368
88513691255945   SANDRA       TORRES                       CA     90012436912
88513911784362   JUAN         MORALES                      SC     90004519117
88515189333698   TAMMY        TATUM                        NC     12099031893
88516334951362   EVER         JIMENEZ                      OH     66063173349
88516675391979   TAKEISHA     PEMBERTON                    NC     90014696753
88517434833698   SHAQUITA     STRICKLAND                   NC     90005464348
88517933871977   IVAN         RUIZ                         CO     90012839338
88518675491979   BRE          PIERCE                       NC     90014696754
88519349855945   FRANCISCO    TEMORES                      CA     90007273498
88519443777537   PAULA        GARCIA                       NV     90009044437
88523675951341   KEYASHA      SPIKES                       OH     90009706759
88524149261928   MARK         THOPSON                      CA     90013361492
88524243591837   CAROLYN      HELM                         OK     90010952435
88524786671933   CANDACE      EASOM                        CO     90010807866
88525139671977   RITISHA      BEGAY                        CO     90013191396
88525744951341   VINCENT      SCHMITHORST                  OH     66078207449
88526115255928   CHRIS        HUTSON                       CA     90012531152
88526894781686   DAVID        SCOMA                        MO     29039428947
88527333555945   JESSE        WOODS                        CA     49039133335
88527463597138   MICAH        BLACKSMITH                   OR     44080584635
88527692291979   KATRINA      HOLLOWAY                     NC     90014696922
88528473393755   ANGELA       ADKINS                       OH     90015114733
88528539447897   CHRIS        BROWN                        GA     14066565394
88531885397138   GUADALUPE    CASTRO                       OR     90014938853
88531971933698   LINDA        LEE                          NC     12008269719
88532587493771   DENZEL       HOLDER                       OH     90011505874
88532632571977   NICHOLE      RAEL                         CO     38012156325
88532636191979   LONNIE       WATKINS                      NC     17008696361
88532811741262   ALBERT       DAMI JR                      PA     51021248117
88533523791837   ARIANA       MARQUEZ                      OK     90013805237
88534242984333   MAGDALENA    DELLE VALLE                  SC     90002122429
88535815885637   DEVONTRAY    LINGO                        NJ     90011368158
88536135271977   FRANCES      BANDA                        CO     90003001352
88536636191979   LONNIE       WATKINS                      NC     17008696361
88537636191979   LONNIE       WATKINS                      NC     17008696361
88537682185637   FLAVIO       BAUTISTA                     NJ     90012746821
88539751491979   SHIANNE      MCRAE                        NC     90014697514
88539834555989   MARIA        RIVAS                        CA     90003838345
88542174147897   STEVEN       CALLAWAY                     GA     90001051741
88542588955945   JANICE       VASQUEZ                      CA     90002535889
88542968171977   JAMES        CARBAJAL                     CO     38058879681
88546797791979   TONDRA       WILLIAMS                     NC     17060717977
88549347461928   NATALIE      HERNANDEZ                    CA     46039723474
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88552313161981   DARREN       GERRALD                      CA     46057673131
88552867861928   ALEJANDRA    ZAMORA                       CA     46048028678
88552869651362   KRISTIN      SHEPHERD                     OH     66073178696
88553664891893   PATRICIA     SPEARS                       OK     90010216648
88554386397138   JEFFERY      S NELSON                     OR     90001683863
88554524693771   SHAUN        ROY                          OH     90003925246
88554651561928   GWEN         HIGHTOWER                    CA     46008736515
88555524693771   SHAUN        ROY                          OH     90003925246
88559873891979   MARIA        ALVARADO                     NC     90014698738
88561735451341   LANI         WILLIAMS                     OH     90008857354
88563183497138   ANDREW       JUCUTAN                      OR     90008311834
88563421651362   ADA          GIBSON                       OH     66062644216
88563764784371   GERALD       FORTNEY                      SC     90001937647
88564469377537   SHAWNA       POWELL                       NV     43005224693
88565287797138   FELICIANO    FLORES DOMINGUEZ             OR     44056112877
88567264755945   CHAVEZ       TIVAN                        CA     90014192647
88568317133698   ANISSA       BURKES                       NC     12068333171
88568363191979   MICHAEL      GATLING                      NC     90014703631
88569115193771   JOYCE        DAVIS                        OH     90011781151
88569451951341   JIM          STAMPER                      OH     90007974519
88569983561928   MARIA        MENDOZA                      CA     46082579835
88571431277537   ALFARO       CARLOS                       NV     90015174312
88571921133698   MELISSA      SMITH                        NC     90014859211
88574417871956   MICHAEL      DURAN                        CO     90011054178
88576781591979   MARK         JONES                        NC     90011257815
88576945155945   ELIZABETH    GONZALEZ                     CA     49006749451
88577166191979   SANGEETA     NICHOLSON                    NC     90011251661
88578652291837   VEIRA        VAN                          OK     90009456522
88581837155945   MARGARET     MEDINA                       CA     49047918371
88582239991979   REYNALDO     CONTRERAS                    NC     90006352399
88582747641262   KURT E       OESTERICH                    PA     90011167476
88583452493771   MICHELLE     JONES                        OH     90012714524
88583883847897   TEIWAN       WILLIAMS                     GA     14031428838
88584619891837   AMBER        CLARY                        OK     90009406198
88584771184371   ZEKE         NOLAND                       SC     19011837711
88585724461928   PATRICIA     PEREZ                        CA     90010427244
88585977747897   DONALD       KELLEY                       GA     90001069777
88586365781658   TINA         BROWN                        MO     29013263657
88586458351341   MAGGIE       STOKIEN                      OH     90014554583
88586471684371   VINCENT      LOMELLI                      SC     90004544716
88586529291979   SHANEALL     SATTERWHITE                  NC     90014705292
88586962461928   ELLEANOR     COPPER                       CA     90000889624
88591414891837   JUAQUIN      PINACHO                      OK     21085704148
88591599161928   LESLIE       BAILEY                       CA     90010745991
88593187971977   GERRI        POWELL                       CO     90008941879
88594568491979   FATINA       SCARBOROUGH                  NC     90014705684
88594845493771   JOYCE        COPPOCK                      OH     64566068454
88596568491979   FATINA       SCARBOROUGH                  NC     90014705684
88597551677537   LACEY        OLIVAS                       NV     43033295516
88597575555945   JUANA        MARIN                        CA     90014185755
88598568491979   FATINA       SCARBOROUGH                  NC     90014705684
88598831485935   STEVEN       STUNSON                      KY     90014488314
88599568491979   FATINA       SCARBOROUGH                  NC     90014705684
88599835197138   ANTOINETTE   DUPELL                       OR     44053758351
88611646891837   MARIA        VALLEJO                      OK     90005336468
88611683897138   JUSTIN       ALDRIDGE                     OR     44048526838
88612584377537   JOHN         MUSSER                       NV     90011605843
88613611691979   CHARITA      ROBERTS                      NC     90014706116
88614116891837   TANESHA      ARKINSON                     OK     21065221168
88616183441263   MARYBETH     FOSTER                       PA     90012651834
88617154251362   TAMMY        CLOONEY                      OH     66062621542
88617367781666   DASHA        HOLLIMAN                     KS     90011783677
88618548641262   KATHLEEN     RICHARDSON                   PA     51010255486
88618549591242   APRIL        RHODES                       GA     90003175495
88618597841275   MARIA        BRUNO                        PA     90001025978
88618999861928   CANDIDO      MORALES                      CA     46084229998
88622128897138   NICHOLAS     MUNZ                         OR     90007881288
88622596251362   TODD         BRYANT                       OH     66062055962
88622667455945   MICHAEL      CHANCE                       CA     49014226674
88623343177537   BARBARA      MILLER                       NV     43044353431
88624274991979   JEREMY       DONALDSON                    NC     90014182749
88624943131444   KENNETH      HARRIS                       MO     90007889431
88626915941275   KIMBERLY     LEACOCK                      PA     51060369159
88627572893771   FERNANDO     CAMACHO CORREA               OH     90003925728
88628596251362   TODD         BRYANT                       OH     66062055962
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88629387151341   SHAMAR       ALLEN                        OH     90010963871
88629511661928   FARAH        ADAM                         CA     46039505116
88629787586443   MALCOM       HENTZ                        SC     90014607875
88632445291842   JODY         CATHEY                       OK     90013774452
88632686397138   JEN          WILLETT                      OR     90014996863
88632981961928   CHRISTINA    MENDEZ                       CA     46048229819
88634663561928   PATRICK      SIMMONS                      CA     90014726635
88635825951341   CERAFIN      GALVEZ-QUINTERO              OH     90014328259
88641542991979   CHARLOTTE    OAKLEY                       NC     90014705429
88642717193771   THOMAS       DUNKIN                       OH     90008587171
88643197591525   LIZETH       BALTAZAR                     TX     90008721975
88643494741275   GWENDOLYN    BROWN                        PA     90014664947
88644351161928   PRICILLA     MACIAS                       CA     46071003511
88645615777584   ANITA        STRALLA                      NV     90007046157
88645726591979   CHARLES      MCCAIN                       NC     90014707265
88647844951362   MILLOSSA     MUNLI                        OH     66017838449
88648562651362   FAITH        IMOLT                        OH     90002925626
88653596441275   SAUNDRA      TRUSS                        PA     51006785964
88654751591532   PATRICIA     MIRANDA DE TORRES            TX     90007417515
88655213823473   BELLARD      GLENNARO                     OH     90015102138
88656774691979   PARIS        LEACH                        NC     90014707746
88658547455945   KELLY        ROBERTS                      CA     90014185474
88659635893771   LESLIE       BROWN                        OH     90010176358
88662164271977   CORNELL      VIALPANDO                    CO     90014751642
88662177655945   LOZA         GUADALUPE                    CA     49030011776
88662291741275   JULIO        PONCE                        PA     90007732917
88662865597138   HEATHER      MUFALE                       OR     90015028655
88663239291979   LUIS         RAMIREZ                      NC     17038792392
88664347491979   DARYL        PETERSON                     NC     90001673474
88665959841275   BILL         SHARP                        PA     90013989598
88667942193771   CHARLES      GOODMAN                      OH     90013029421
88671915693771   ANGEL        DILLON                       OH     64585959156
88672416177537   SUMMER       NORMAN                       NV     43061824161
88675649793771   JOSHUA       GLASS                        OH     90011986497
88675695354122   CHERYL       SWALES CARROLL               OR     47000066953
88676633651341   ALFRED       HILL JR                      OH     90008496336
88677232197138   STEPHANY     MENDOZA                      OR     90015042321
88684719251341   SHAVARIS     HUBBARD                      OH     90012507192
88684963871977   HUMBERTO     PACHECO                      CO     90010769638
88685331341262   JON          ZIEMKE                       PA     90005823313
88685696961928   JOSE         BALLESTEROS                  CA     90013646969
88686648871977   TRACY        FOWLER                       CO     90014276488
88687419491979   ROSIE        LETCH                        NC     90000344194
88687854947897   NICOLE       JACKSON                      GA     90014018549
88688873891979   MARIA        ALVARADO                     NC     90014698738
88688942671977   PEACHES      MARTINEZ                     CO     38021499426
88691641571977   GABRIELA     MENA                         CO     38053626415
88693999151341   LISA         EVANS                        OH     66015079991
88694212733698   JOSE         LUI                          NC     90014942127
88695129571977   LAYSSIA      GUERRERO                     CO     90013521295
88695212833698   MELISSA      WILSON                       NC     90011232128
88695865284371   ADRIAN       WILSON                       SC     90007428652
88696211147897   TERESA       WIMBERLY                     GA     90013932111
88696418255945   GABRIEL      OLIVER                       CA     90014784182
88699681591979   JORDI        CASANOVA BUSTAMANTE          NC     90007396815
88699884355945   ARACELI      MORENO                       CA     90009698843
88712589161928   SANDRA       SANTANA                      CA     90009215891
88713399747897   ANTONIO      TENNYSON                     GA     14067303997
88714767441262   DAVID        BROWN                        PA     51054887674
88715294493771   JAMES        KING                         OH     90013042944
88716241693771   ANGELA       WASHINGTON                   OH     90012312416
88716862371977   KAREN        CARRUTH                      CO     38058728623
88718254851341   PATRICIA     MATHIS                       OH     66054612548
88719691391532   MARIA        CALDERON                     TX     90014566913
88722637591837   ERNESTINE    BEARSHEAD                    OK     90015096375
88723161841275   SARENE       FOSKEY                       PA     51000971618
88724935751341   TAMATHA      HOSKINS                      OH     90009309357
88725126855945   HERNANDEZ    MONICA                       CA     49075391268
88725352491921   TIANA        NORTHERN                     NC     90005843524
88725666191558   LINDA        GARCIA                       TX     75015126661
88726771177537   KAVAI        MUAO-HARRIS                  NV     90014227711
88726992161928   JESSE        AYALA                        CA     46007689921
88727856277537   RIGOBERTO    ROSALES                      NV     90013838562
88728185241263   CAROLYN      BOLTON                       PA     90003771852
88729386991979   MAQUETTA     ROBINSON                     NC     90014723869
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88731327341275   KEVIN                  CARTER               PA   90013553273
88732455871977   CODY                   PAXSON               CO   38097844558
88732573361928   DONNY                  ANGELES              CA   90011945733
88733411291979   KENEE                  JEFFRIES             NC   90014714112
88733627693771   CRYSTAL                MACKIE               OH   90002906276
88735388977537   ZACARIAS               GUADALUPE DE JESUS   NV   90011413889
88736881684371   CHRISTIAN              SMITH                SC   90004188816
88737782341262   JHON                   SMITH                PA   90009197823
88738346855934   MARIA                  ORTIZ                CA   90009093468
88739217151341   JANICE                 ABUBAKR              OH   66028102171
88739346855934   MARIA                  ORTIZ                CA   90009093468
88739692655945   CINDY                  LOPEZ                CA   49009676926
88741756855945   DERRICK                MAJOR DUPERR JR      CA   90014987568
88741862155945   ROBERTO                LOZANO               CA   90002338621
88742325333698   VICTORIA               SHELTON              NC   90011293253
88743415457174   OSMIN                  VASQUEZ              VA   90009464154
88743936893771   LISA                   DILL                 OH   64589949368
88744166941275   BRANDON                WILLIAMS             PA   90014601669
88744567133698   LAJOYCE                WOODARD              NC   12012255671
88745864655945   ANGELA                 WATKINS              CA   49099638646
88746127285851   FLORENCIO Y ANGELICA   SALAZAR              CA   90010771272
88746312991837   LACEY                  MAYTUBBY             OK   90010663129
88748479991979   MARISSA                TYLER                NC   90014714799
88752598861928   CALDERON               BLANCA               CA   90006315988
88752773871942   ROBERT                 RUSHWORTH            CO   90011747738
88752943157128   G VICTORIA             MORTON               VA   90011499431
88754149241262   ADONNA                 HOPES                PA   90011591492
88754292255945   JULIO                  CARVAJAL             CA   90015172922
88756127993771   CHARLES                DOOLIN               OH   90012361279
88757497297138   ANITA                  HELLMAN              OR   90005304972
88757523391979   ANTONIO                BRIDGES              NC   90014715233
88758299557126   CARLOS                 MENDEZ               VA   90011582995
88762993333698   DENISE                 CARTER               NC   90013319933
88763648251362   MATT                   HAAS                 OH   90007206482
88764216277537   EMBER                  FANTASIA             NV   90014352162
88764225977537   WENDY                  RODRIGUEZ            NV   90013522259
88765596497138   TERRY                  SPINKS               OR   90002655964
88765743684371   DESMONA                CAMPBELL             SC   90001417436
88768464293771   ROGER                  HALL                 OH   90000654642
88769884777537   JAVIER                 SERRANO              NV   90012918847
88769958161928   LAURA                  ORTIZ                CA   46094519581
88769979833698   KEVIN                  ROBINSON             NC   90008519798
88771498561928   MARIA                  IRIARTE              CA   90006904985
88772283854153   RASHAWNDA              JOHNSON              OR   90010042838
88773748597138   DONNA                  LA PASTORA           OR   44010557485
88774424877537   NICOLE                 TORRES               NV   90013624248
88774655884371   SANDRA                 JONES                SC   90006886558
88777323891837   RICKEY                 BRUNER               OK   90010883238
88777393151362   EDWIN                  SAQUIL               OH   66095853931
88779557133698   FILIMON                FISHAYE              NC   90012455571
88781134151349   JUDY                   HOWZE                OH   90007521341
88782674372485   MARION                 RAYMAN               PA   51030726743
88783593791979   DEMILE                 TOWNES               NC   90014715937
88783674372485   MARION                 RAYMAN               PA   51030726743
88784416191979   MICHELLE               UPCHURCH             NC   90013114161
88786461361928   MERCEDES               AGUILERA             CA   90012414613
88786615941262   TAYLA                  CULVERSON            PA   90004066159
88786698971977   LYLE                   ROBERTSON            CO   90013176989
88787114371977   DANTE                  ARCHULETTA           CO   90011841143
88787575555945   JUANA                  MARIN                CA   90014185755
88789187677537   KIMBERLY               SOZZI                NV   90009851876
88789954393771   TY                     JONES                OH   90008699543
88791366171977   ANDREA                 TRUJILLO             CO   38086403661
88792258471977   KEMBERLY               DUCLOS               CO   38028842584
88792262391837   TINA                   ANDERSON             OK   90012302623
88792313241272   JOAN                   MCGIVERN             PA   90013483132
88792335155945   LINDA                  HOLLAND              CA   49000683351
88792346461928   DAVIYAN                A                    CA   90009913464
88792658577537   MARCUS                 WOODS                NV   43047366585
88794118497138   RONALD                 PRESTON HIRD         OR   90004941184
88797469977537   BENJAMIN               SANCHEZ              NV   90012814699
88798152241262   JOSEPH WILLIAM         TYLER                PA   90013181522
88799626191837   DENNIS                 ARTERBURN            OK   21007066261
88811327161928   INEZ                   ROZAR                CA   46076213271
88812484977537   FERNANDO               VILLANEUVA           NV   90014114849
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88813438891553   ALFREDO           PANDO                   TX     90010084388
88814338177537   ROSA              CHAMALE                 NV     43011343381
88815735291837   FELISHA           PHILLIPS                OK     90003477352
88816634447831   KIMBERLY          BRASWELL                GA     90007666344
88816961661928   JOSE              BRACAMONTES             CA     90011019616
88817333777537   DORIS             WAINWRIGHT              NV     90012953337
88817829661928   THOMAS            HARRIS                  CA     90000388296
88817877484333   TERESA            BUSH                    SC     90012228774
88818668241262   IGNACIO           MARTINEZ                PA     90015466682
88825877241275   JEWANA            DAVIS                   PA     51088268772
88829255641275   KYLE              LOVE                    PA     90011762556
88829495993771   JOE AND JILL      LEWIS                   OH     90007234959
88829924391837   KATHY             COLE                    OK     90010659243
88833611677378   NERGIS            RASUL                   IL     90013976116
88835421793771   ASHLEY            KUNTZ                   OH     64546964217
88836596893755   ASHLEY            NICHOLSON               OH     90011555968
88836731191979   ZIPPORAH          HAM                     NC     90014717311
88837978177537   BRYNT             ELMER                   NV     90015109781
88838133633698   TARA              WOMACK                  NC     90014841336
88839736691979   BRIAN             MARSHALL                NC     90014717366
88842738791979   CEZAR             LANZA                   NC     90014717387
88843252677537   AMY               STEVENS                 NV     90011052526
88844569861988   KOASSI            ATITSE                  CA     46088725698
88844917981658   DEBRA             ROACH                   MO     90013989179
88845912651341   DENNIS            BALLINGER               OH     66014619126
88846748155945   MICHELLE          BUMPOUS                 CA     49050667481
88847683791979   KERRY AND PETER   GIBSON                  NC     90004256837
88851335155945   LINDA             HOLLAND                 CA     49000683351
88851727233698   TREVON            LOVE                    NC     90011237272
88852342791837   JENNIFER          VELAZQUEZ               OK     90014833427
88853518141262   EVETTE            DAVIS                   PA     51095395181
88853791891979   CRYSTAL           MOORE                   NC     90014717918
88853794293771   VICTORIA          SHADE                   OH     90009727942
88854787791979   MELISSA K         MCNEILL                 NC     90014717877
88855326877537   CAROLINA          MARTINEZ                NV     43093603268
88855969561928   MICHAEL           AHUMADA                 CA     46098709695
88856185977537   FREDY             BRAVO                   NV     43034181859
88856953971977   AMBER             BREYFLE                 CO     38099259539
88857787791979   MELISSA K         MCNEILL                 NC     90014717877
88859124971977   PEDRO             REJO                    CO     90013621249
88862218955945   IRMA              REAL                    CA     49015652189
88865154471977   DEIDRA            LABATO                  CO     90011431544
88865712297138   BRADLEY           MABEN                   OR     44042067122
88865822191979   ZEKE              HARRIS                  NC     90014718221
88867922897138   YVETTE            CORREA                  OR     44078959228
88868134293771   GINGER            HOFKINS                 OH     90005751342
88868533951341   DECHRISTOPHER     WILSON                  OH     90011455339
88868847791979   DENISE            LONG                    NC     90014718477
88871188591837   AFTIN             WILLIAMS                OK     90015291885
88872862251341   MARK              ERNST                   OH     90014018622
88872864991979   CHRISTOPHER       SMITH                   NC     90014718649
88873875341262   JENNIE            YASOFSKY                PA     90012678753
88874283785868   JAVIER            ROSALES                 CA     90010802837
88876258761928   PAYGO             IVR ACTIVATION          CA     90014352587
88876746171977   SUMMER            WEST                    CO     38007897461
88876964784371   TARA              SHOAF                   SC     90003129647
88876988577537   NOE               POSADA                  NV     43048929885
88877139755945   CINDY             HANG                    CA     90006281397
88879242581552   KAELY             JENNINGS                IL     90015342425
88879894961928   ERIKA             ESPRIU                  CA     90014118949
88881643251362   SHEILA            CABE                    OH     90013256432
88882138828131   ELIZABETH         LANE                    TX     90011931388
88882392797138   PARKER            JAMISON                 OR     90003383927
88883645571977   JOSEPHINE         KIEFER                  CO     90010036455
88884623171977   JOSE              CORDOVA                 CO     90003816231
88887296597138   KEVIN             NAYLOR                  OR     44035402965
88887517355945   DUSTIN            MCDANIEL                CA     90007285173
88888877493783   MOHAMMAD          ABDELLATIF              OH     90007418774
88889896761928   NOE               MANTECON                CA     90010168967
88892146651362   JESSE             HEATON                  OH     66062501466
88892576191979   FELICITY          GAULT                   NC     17052505761
88892721155945   MARIA             DIAZ                    CA     90010417211
88892832881627   BRIDGET           SMITH                   MO     90005708328
88893146651362   JESSE             HEATON                  OH     66062501466
88893919471977   VANESSA           JONES                   CO     90014959194
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88895269297167   ROBIN             GRAY                    OR     90009752692
88895356693771   DOYLE             FLORY                   OH     90012583566
88895458551341   DUSTIN            MCCLURE                 OH     90010984585
88895718241275   SONYA             WORLDS                  PA     90013137182
88896146651362   JESSE             HEATON                  OH     66062501466
88897371751366   MATTHEW           PRESSLER                OH     90012613717
88912121991979   RASHAD            COUSIN                  NC     90014721219
88912438177537   JEREMY            DOWNER                  NV     90012094381
88913129477537   DANIEL            JACOBSON                NV     90002851294
88913491191525   JESSICA           DE SANTIAGO             TX     90011384911
88913564791834   WILLIAM           TSOSIE                  OK     90015165647
88913717251351   HEIKE             HELMERS                 KY     66064717172
88914139391893   SAID              ZINI                    OK     90014311393
88914436241262   JESSIE            BENNING                 PA     90014394362
88914596155945   KEITH             FOSTER                  CA     90014835961
88914864191837   PATRICIA          STITES                  OK     90009568641
88915447757128   DAGOBERTO         POSADA                  VA     90005454477
88916133591979   LUZ               CORONADO                NC     90014721335
88916157355945   CAROL M JUSTICE   SHAW                    CA     90006951573
88916778777537   MARIO             GARZON-TORRES           NV     43044737787
88916943341262   EMILY             GEISLER                 PA     90002149433
88917445871977   BROOKE            TRUJILLO                CO     90008374458
88918381393771   JANE              JOHNSON                 OH     90009633813
88919515561928   DAVID             SPICER                  CA     90014505155
88919822991979   KARINA            TORRES                  NC     90014598229
88924155691979   BRITTANY          WILSON                  NC     17018651556
88925759577537   SHANEE            ALSOBROOK               NV     90012937595
88925813641262   SHANE             CIELECY                 PA     90012508136
88927295151341   NIKKIA            STRICKLAND              OH     66096132951
88927489291979   NICKI             DUNN                    NC     90005104892
88927515291524   NANCY             ALDAMA                  TX     90014035152
88928547191837   LARRY             HUMPHREY                OK     90008895471
88929223791558   JOSE              MAGALLANES              TX     90004262237
88932549281552   CLAUDIA           HERNANDEZ               IL     20597755492
88933225691942   BRITTANY          BEVERLY                 NC     90011052256
88933399997138   NIKITY            MANAKY                  OR     90015093999
88933421291979   STEPHNIE          WOODARD                 NC     90014724212
88933889933698   STEPHANINE        ARTIS                   NC     90010728899
88933969551341   JEREMY            BINES                   OH     90015449695
88935126391837   BROCK             WALLECE                 OK     21082741263
88937421291979   STEPHNIE          WOODARD                 NC     90014724212
88937934891242   MELISSA           HARRIS                  GA     90001209348
88937992993771   HERBERT           GROSS                   OH     90014599929
88939929191837   SUZANNE           HICKS                   OK     90014899291
88941177171977   PEGGY             GUTIERREZ               CO     38065011771
88941525261928   CLIFFORD          DELANEY                 CA     90011875252
88943221571977   MICHAEL           CRITES                  CO     90007412215
88944521991837   DION              DAVIS                   OK     90009035219
88945698871977   FRANCISCO         LOPEZ                   CO     38086406988
88947173291837   GLENN             VANN                    OK     90006761732
88947912651341   DENNIS            BALLINGER               OH     66014619126
88949489633698   ELIZABETH         SINCLAIR                NC     90008544896
88951315184371   COURTNEY          RICHARDSON              SC     19004133151
88951581233698   SYNYA             DRADSKAW                NC     90012565812
88951758655945   HECTOR            RODRIGUEZ               CA     90007117586
88952156761928   CONSUELO          DELA CRUZ               CA     90006411567
88952861933698   GORETTI           BISSENGIMANA            NC     90012438619
88954426497138   KIMBERLY          REITZER                 OR     90007654264
88954985333698   CAROL             KELLY                   NC     90006369853
88955787141275   RACHELLE          DUDAS                   PA     51095627871
88956366755935   MARIA             VIZCARRA                CA     90014583667
88957354155945   LETICIA           ESTRADA                 CA     90012963541
88957766793771   STUART            MAUPIN                  OH     90010907667
88957985161928   VERA              NAMES                   CA     46007859851
88959412493771   CORTNEY           KOVAR                   OH     90011774124
88961147291837   MIKE              HOOVER                  OK     90011981472
88961688155945   FERNANDO          PEREZ                   CA     90014186881
88962278181686   STEPHEN           PASALICH                MO     90001892781
88962839291837   LORETTA           SHELL                   OK     90001618392
88963278181686   STEPHEN           PASALICH                MO     90001892781
88963758897138   ASHLEY            GARCIA                  OR     90015097588
88964819541262   SEAN              SIMMONS                 PA     51076708195
88966126455945   VANNESA           CASTANEDA               CA     90010621264
88966265138521   TY                MONTANEZ                UT     90006412651
88966664733685   TYLER             TAYLOR                  NC     90010036647
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88971361991532   TURINA       CORDOVA                      TX     75013553619
88971632591979   LASHAWN      SHIPMAN                      NC     90014726325
88972432477537   ZUNIGA       SALAS                        NV     90013934324
88973189271977   PASCUAL      LAMBERTO                     CO     90007491892
88973537451341   DERRICK      SANDERS                      OH     66048955374
88973587161928   EDGAR        ROMERO                       CA     90003675871
88973997841262   RAUL         CARMONA                      PA     90012319978
88974837491979   JAMES        BARNES                       NC     90014728374
88975459841262   JUDITH       JENKINS                      PA     51071974598
88976311593771   BETTY        CYHERS                       OH     90004353115
88976612851362   JAMES        CHAPEL                       OH     90012376128
88977689371977   DAVID        MONTOYA                      CO     90013056893
88978184155945   JOE          RODRIGUEZ                    CA     90014771841
88978314261928   MARCUS       PHILLIPS                     CA     90012183142
88981367391837   JEFFREY      DEERINWATER                  OK     90012583673
88982386747897   CAROLYN      RUTLEDGE                     GA     90009653867
88983296893771   SHANE        OSWALD                       OH     90013112968
88984324771977   NATHANIEL    REBETERANO                   CO     90006573247
88984691791979   MERCEDES     DAVIS                        NC     90014726917
88985823991979   CLARISSA     GILL                         NC     90001558239
88988471641275   BRENDA       CUTLER                       PA     90003554716
88988774371977   ANGELA       WRIGHT                       CO     38039387743
88989925877537   GABRIEL      GARCIA                       NV     90006129258
88991118431451   ANDREA       UPCHURCH                     MO     90010841184
88991698593771   STANI        STEWART                      OH     64531816985
88992427651349   EDDIE        BAKER                        OH     66032734276
88992832141262   BRIDGET      EDELSTON                     PA     90012148321
88992922733698   ELISA        MCDOUGAL                     NC     90005919227
88993766491523   ANNA         GUTIERREZ                    TX     90009317664
88994627455945   JOSE         ARREDONDO                    CA     90012816274
88994724391979   LAZARO       BONIFILIO                    NC     90007217243
88995381591524   RAQUEL       HERNANDEZ                    TX     90013003815
88995837791837   KARLA        NIETO                        OK     90008998377
88995865797138   SUSIE        GONZALES OROZCO              OR     90015098657
88996151741262   ANGEL        SHANKS                       PA     90015291517
88996852541262   ANGEL        SHANKS                       PA     90012578525
88996953677537   TIMOTHY      MAHER                        NV     90012289536
88998352581627   PATRICIA     DE LA ROSA                   MO     90005713525
88999993793771   NATHAN       SHARP                        OH     90015209937
89111258155945   LACHO        VASQUEZ                      CA     90014532581
89112225677537   BENJAMIN     PURVES                       NV     90014722256
89112361941275   DAWN         STANFORD                     PA     90015603619
89114315497138   JOHN         ALVIDREZ                     OR     90015223154
89114574591979   BERNARDINA   PLAZA                        NC     90013535745
89115668941262   LARRY        ROBERT                       PA     90010076689
89119373241275   LANA         SMITHBOWER                   PA     51073383732
89119373891979   NELSON       SALEK                        NC     17050963738
89121234293771   JONATHAN     POSTIN                       OH     90010572342
89121859281677   MIRANDA      MONTESINOS                   MO     90008938592
89122383541275   SANDRA       CUTLER                       PA     90011463835
89123851941262   KIMBERLY     HUGHES                       PA     90007958519
89124333797138   STEVEN       NOWMAN                       OR     90009793337
89124988331456   JEFF         SCHULTE                      MO     27516729883
89125171171977   ROBIN        STEVENS                      CO     90012861711
89127976491979   BRITTANY     CADLE                        NC     90013709764
89129123191532   ALFONSO      BLASQUEZ                     TX     90010731231
89131464933698   SONJA        BLACKWELL                    NC     90013464649
89131941693771   DANIELLE     MUSTARD                      OH     64579389416
89132211871977   EVELYN       RUIZ                         CO     90003922118
89132742491837   JACK         HARREL                       OK     21059827424
89133294741275   GARY         HENRY                        PA     90014092947
89133316441262   MICHEAL      BLANCHARD                    PA     90014583164
89133583261943   VERONICA     ORTEGA                       CA     90012465832
89133724891933   TRAVIS       SHEARIN                      NC     90014167248
89133837647897   SHAMERA      CLOWERS                      GA     90012338376
89134838591837   TENESHA      SMITH                        OK     90003378385
89135317271977   WILLIAM      ESQUIBEL                     CO     90012513172
89135656741262   CHRISTIAN    CONNOR                       PA     90013786567
89136591197138   MILDRED      AYALA                        OR     90005965911
89137143791837   IRIS         ARBUCKLE                     OK     90008881437
89142349697138   LEE ANN      MIOTKE                       OR     90003973496
89143173391933   KIMBERLY     NICHOLSON                    NC     90014781733
89143362684351   LUISMANUEL   BARRAGAN                     SC     19081413626
89143553691837   MARCO        URQUIZA                      OK     90014945536
89145381471977   DEBORAH      MESTAS                       CO     90012163814
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89145921171977   KRISTINA     GUTIERREZ                    CO     90014789211
89145944971977   ILSE         GREENWAY                     CO     90012749449
89146562891837   PETER        BANKS                        OK     90014945628
89146811341262   ADAM         VASY                         PA     90002638113
89148856793771   DEMETRIS     ANDERSON                     OH     90001768567
89153641697138   GERALD       ADAMS                        OR     90013676416
89153643133698   CHEKELIA     LEWIS                        NC     12001656431
89154453291837   LISA         MCCONNELL                    OK     90009194532
89154518155945   HAMZA        ALMONTSET                    CA     90013865181
89154648991979   PAYGO        IVR ACTIVATION               NC     90014896489
89155674385962   JESSICA      SAYLOR                       KY     66087536743
89155747193771   JASON        JUSKAE                       OH     64575577471
89155926191933   CHRISTOPHE   BOSTON                       NC     17094439261
89157437341262   TENIESHA     MURPHY                       PA     51060044373
89157752797138   CARLOS       FUENTES                      OR     90001007527
89157969493771   SHAKORI      SIMONSON                     OH     90014759694
89158551141251   ANGELA       HILL                         PA     51091235511
89161311291979   KHAU         MANGAL                       NC     90014583112
89163128855945   VIRGINIA     NAVARRO                      CA     90007341288
89163932591933   MARCY        SUTTON                       NC     90014689325
89164242741262   PETER        HESS                         PA     51045972427
89164575393771   JAMES        WAGGONER                     OH     90014285753
89165585493771   CARMEN       LAMB                         OH     90009635854
89166316191242   DEESHA       ALSTON                       GA     14595463161
89167369691933   CAMERON      HARRIS                       NC     90014703696
89168229591933   JAMES        SLADE                        NC     90002982295
89168941591933   JAMES        SLADE                        NC     90013389415
89169682291558   BEATRIZ      ESPINOZA                     TX     90012426822
89173474741251   TRE          SKELTON                      PA     51001744747
89174156393739   KEYSAN       OWENS                        OH     90014461563
89174591797138   TARA         HIBBELER                     OR     44079805917
89174688455945   RAFAEL       ZARATE                       CA     90011146884
89175537461943   ISMAEL       RUIZ                         CA     90010475374
89178734841262   CHRISTINA    DOYLE                        PA     51065637348
89182436547897   CALVIN       TAYLOR                       GA     90009514365
89182892455945   INADELLY     MOJICA                       CA     90012918924
89184652691837   MARISSA      CUPPS                        OK     90014946526
89186147781625   JANET        STEVENS                      MO     90000951477
89186664633698   ANTONI       GOODE                        NC     90007116646
89187379591933   FRANK        KOMBOU SILE                  NC     90014733795
89189163541275   ELMER        FUDD                         PA     90014981635
89192485133698   PRISCILLA    ALSTON                       NC     12019534851
89194546541262   JOHN         HANCOCK                      PA     51071485465
89194686791979   PAYGO        IVR ACTIVATION               NC     90003766867
89195135655945   LATRICE      MILES                        CA     90013721356
89196486677537   NICOLE       MERLINO                      NV     90011654866
89197295491933   JASMINE      MOORE                        NC     90009482954
89199731341275   JOHN         PUCHI                        PA     90013407313
89212578192838   GODOFREDO    RANGEL                       AZ     90014325781
89214128641275   ROBERT       CZAIKOWSKI                   PA     51045881286
89214547341262   LYDIA        REDMAN                       PA     90003185473
89214734791979   EMANUEL      VALLADARES                   NC     17056697347
89215432855945   YOLANDA      AGUILAR                      CA     90008844328
89216273191523   RUBEN        RODRIGUEZ                    TX     90007592731
89216722771977   BERNADETTE   CASTILLO                     CO     38054147227
89216753341262   FARIJI       BITINGINGWA                  PA     90015317533
89217896441275   JACK         ANDERSON                     PA     51084048964
89218392893771   ALTAIRA      HENRY                        OH     90014133928
89218992791979   LYLE         ROBINSON                     NC     90012099927
89221249397138   SONIA        RAMIREZ GUZMAN               OR     90009532493
89221679484362   ANGELA       WILSON                       SC     90000536794
89221774877537   DEVIN        PEARCH                       NV     43014667748
89221798161977   SHERMAN      GREEN                        CA     90008127981
89222345597138   ISIDORO      LARA                         OR     44072143455
89223235493771   PAMELA       VESEY                        OH     90013962354
89224653355945   ELENA        MARQUEZ                      CA     90013896533
89224798833698   MICHAEL      TURNER                       NC     90009747988
89225517241275   CHANELLE     HARRIS                       PA     90007205172
89226626693771   KALONDA      RASHIDI                      OH     90015056266
89227232171977   SONIA        ESQUIBEL                     CO     38043702321
89227328441275   BROOKE       BYTHEWAY                     PA     90013213284
89228246855945   RENE         SALGADO                      CA     49014812468
89228992293771   MICHELLE     AVERIETTE                    OH     64598829922
89229773577537   ROMONA       RANKIN                       NV     90004267735
89231915141251   STACEY       PATTERSON                    PA     51024789151
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89232467155945   MARSHAWN       GOVAN                      CA     90007564671
89232527491979   MARK           COOK                       NC     90012925274
89233237991979   TEEMO          TEEMOJIN                   NC     90008172379
89233238971977   SCOTT          PETERSON                   CO     90003712389
89234611533698   JAMES          WALKER                     NC     90004086115
89235475133698   IYUANA         WILLIAMS                   NC     12031354751
89235983341275   MEGAN          PRATLEY                    PA     90011319833
89237447793771   DAN            ROUCH                      OH     90014884477
89237698747897   NICOLYA        GRIFFIN                    GA     14010486987
89239992571977   BRIANA         MARTINEZ                   CO     90014769925
89241624471977   FREIDA         ARAGON                     CO     38077936244
89243693593776   CINDY          SCHULTZ                    OH     64510046935
89244263471977   ZULEYKA        HERNANDEZ                  CO     90011182634
89244916355945   EDGAR          MADRIGAL                   CA     90009119163
89248643341262   KELLY          MCDONALD                   PA     90007706433
89249345691933   JOSE           TRINIDAD                   NC     90015313456
89249864171977   GILBERT        ARELLANO                   CO     38084138641
89251442641262   THOMAS         GARNER                     PA     51023954426
89253829441251   JUSTIN         KILPATRICK                 PA     51068868294
89254114291933   NYSHAIE        THOMSON                    NC     90015321142
89254237577537   ROBERT         METZ                       NV     43036132375
89256846233698   KEITH          PALMER                     NC     90011818462
89258761641262   MEGAN          PRATLEY                    PA     90013687616
89259356497138   HERMINA        JERICHO                    OR     90013143564
89261654341262   CARL           ROBINSON                   PA     90002316543
89261984133698   JAMIE          LAMBERT                    NC     12063879841
89263252355945   DANIEL         MEDINA                     CA     90010342523
89264229841262   JACQUELINE     BROWN                      PA     90001812298
89265429157128   MACLIN         BILORIO                    VA     90003444291
89265441291933   MARTHA         ABILA                      NC     90008454412
89265645491979   LAZARO JESUS   JESUS                      NC     90015216454
89268962671977   GERROD         GROSSHANS                  CO     90015539626
89269738193771   MARJORY        CARPENTER                  OH     64593247381
89271587655945   CARLOS         RAMOS                      CA     90013665876
89271617793783   CHARLIE        JOHNSON                    OH     90014226177
89272685541262   RACHEL         CHAMBON                    PA     90013266855
89273384691979   RUDY           MARQUEZ REYES              NC     90011873846
89277187741251   DANIELLE       MCCREARY                   PA     90005981877
89277611491837   JOHNANNA       BAIN                       OK     90014966114
89277663571977   JESSICA        HOOD                       CO     90000686635
89278228291235   TIFFANY        MCBICKER                   GA     90004542282
89278557333698   WILLIAM        FRALIN                     NC     12089045573
89279584297138   GEORGE         SHAFER                     OR     90011725842
89283415677537   LILY           AMADOR                     NV     90010084156
89284776793771   JOSHUA         HORSLEY                    OH     90014527767
89286187341262   JENNIFER       HOUGH                      PA     51041581873
89287281291979   SAIDEL         MIRANDA                    NC     90015222812
89288279255945   FELIPE         VILLEGAS                   CA     90013992792
89288522151336   BRIAN          MEADOWS                    OH     90013995221
89292135171977   DEBBIE         GARCIA                     CO     38077991351
89292711177537   KARL           EARLY                      NV     43084157111
89295515641222   DEBORAH        LIZARRAGA                  PA     90013945156
89297119761963   ALFONSO        AYALA                      CA     46092501197
89298348341275   JOSH           ANDERSON                   PA     90013093483
89311411455945   JANET          JACKSON                    CA     90010054114
89311413771977   WENDY          CORTEZ                     CO     90013494137
89312329591933   TRACEY         LANCASTER                  NC     90011773295
89313827841262   CANDICE        PELLECCHIA                 PA     51013468278
89316644271977   DEBBIE         GARCIA                     CO     38017276442
89316929991979   GRUMEIL        MALONE                     NC     90014729299
89317326893771   CYNTHIA        WILLIAMS                   OH     64586973268
89317574255945   SAMANTHA       SANCHEZ                    CA     90006915742
89318255181658   TIFFANY        HOOD                       MO     90009492551
89319284971977   PAULA          GILLESPIE                  CO     90010482849
89319461855945   AGUSTIN        AGUILAR                    CA     90012334618
89319588947822   JURI           MINTZ                      GA     90004085889
89321238277537   FRANK          SNYDER                     NV     43098912382
89321759861983   ENRIQUE        LOPEZ                      CA     90010977598
89321791741275   ELAINE         RUSSELL                    PA     51068727917
89321918751349   MALCOM         WATKINS                    OH     66070619187
89323796655945   ELVIRA         ORTIZ                      CA     49011287966
89324615281688   CORY           JOHNSON                    MO     90008556152
89324775671977   SHAWN          ARAGON                     CO     90004347756
89329786847822   CHRIS          THOMPSON                   GA     14060807868
89331347893771   PATRICK        WINN                       OH     64530043478
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89332714555945   SHERRY       TORREZ                       CA     90010797145
89333534141251   NIKEYA       WILLIAMS                     PA     90010695341
89335712941262   DIANNNA      PATTERSON                    PA     90005207129
89339187891979   AKESHA       DICKENS                      NC     90005921878
89339512955945   ARTHUR       CASTILLO                     CA     90012615129
89339572297138   ERIN         WALKER                       OR     90011735722
89339716471977   DANIEL       BARELA                       CO     90005267164
89343331291837   AMANDA       BOYD                         OK     21087563312
89343382341275   BECKY        MEISTER                      PA     90002823823
89344112291979   OMAR         RABB                         NC     90013601122
89347934355945   MARITZA      MANZO                        CA     49026149343
89351113341262   LARITA       TURNER                       PA     51010921133
89351414891837   AMBER        LAKEY                        OK     90014974148
89351727993771   CORY         SHEEHAN                      OH     90012497279
89352257755945   ROBERTO      GOMEZ                        CA     49082082577
89354893741262   JOSULYN      MAHONEY                      PA     90013938937
89356187497138   LIZETTE      OSORIO                       OR     44031821874
89357984284336   TIFFANY      CUYLEAR                      SC     90008839842
89358277155945   SALUSTIA     MARTINEZ                     CA     49041622771
89358448441275   LISA         FEDEL                        PA     90010964484
89363121591837   KATRINA      AMADOR                       OK     90014981215
89364231251362   MARCUS       HARRIS                       OH     66013572312
89366123551362   JUSTIN       HORN                         OH     66016221235
89367265377537   RHONDA       CALLAWAY                     NV     43016532653
89368499247822   KRISTEN      CUMMINGS                     GA     90014704992
89371911451362   KIMBERLY     NORWOOD                      OH     66083419114
89372987693771   JENNIFER     SILVERS                      OH     90014759876
89374858171977   ANGELIC      MONTEZ                       CO     38098938581
89375199851362   JULIE        TEEGARDEN                    OH     66061601998
89375539571923   KIRK         FERGUSON                     CO     90014345395
89375883591979   BRITTNY      STRAYHORN                    NC     90010738835
89376441631457   JENNIFER     PERRY                        MO     90001634416
89376516893771   ANGEL        SEROGGINN                    OH     90013355168
89377976591532   DIEGO        ROJO                         TX     90000799765
89381126955945   MIGUEL       PENA                         CA     90014131269
89386453851336   AMANDA       KELLEY                       OH     66071744538
89387591877537   CAROLYN      ELLISON                      NV     43081105918
89387983297138   DANIELLE     MILLER                       OR     90005399832
89388176833698   CRYSTAL      MCCOY                        NC     90007891768
89395188497138   BRANDE       BRACKEN                      OR     44010621884
89396621833698   PARIS        HARDIN                       NC     12044996218
89396921381683   JZAQUEL      MILES                        KS     90015119213
89397235455945   RANDY        MURPHY                       CA     49035652354
89397293191979   JONATHAN     FAIRCLOTH                    NC     90012722931
89397524891523   ALMA         HERNANDEZ                    TX     75082125248
89397658341262   BLAISE       WALKER                       PA     90005186583
89398648291932   JOSE         AGUILAR                      NC     90012836482
89398738991837   CHERISSH     WILLIAMS                     OK     90014987389
89411678671977   PAUL         MONTOYA                      CO     90012776786
89412574577537   JUAN         DE LA ROSA                   NV     90010395745
89413669941275   RONALD       ARLOTT                       PA     90010776699
89414345497138   AMELIA       PLATA                        OR     90011743454
89415348597138   JEFF         PEDERSEN                     OR     90011743485
89416743641275   ERIC         BROWN                        PA     51082517436
89416775891837   JESUS        GONZALEZ                     OK     90014987758
89423837741275   CAROL        KLEIN                        PA     90013588377
89425111754184   LINNETTE     HUNTER                       OR     90015271117
89425623971977   CHRISTINA    HERNANDEZ                    CO     90007916239
89426235666174   TOM          TUCKER                       CA     90013892356
89426338691979   KARMEN       WILSON                       NC     90014713386
89427154371977   DAISY        VIGIL                        CO     90010951543
89427249641262   SARA         GERWIG                       PA     90013282496
89431169755945   SILVERIO     VALDEZ                       CA     49067191697
89433913171977   MICHAEL      MAST                         CO     90009019131
89434794341263   DENNIS       MULDROW                      PA     90010367943
89436157597138   EBONEE       JOHNSON                      OR     90013221575
89437273677537   RUBEN        RAMIREZ                      NV     43027542736
89438478197138   MARIA        VENTURA                      OR     90006714781
89441188377537   JULEE        WARBURTON                    NV     43062491883
89441533597138   JONICA       DODSON                       OR     90008915335
89443839571977   TENNA        PACHECO                      CO     90013168395
89444861271977   FRED         MARTINEZ                     CO     38088818612
89452739555945   SANTIAGO     GARCIA                       CA     90001297395
89453756841275   BRANDON      WASHINGTON                   PA     90009847568
89453837561934   REYNA        SANCHEZ                      CA     90004318375
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89455475591979   JALEN        COHEN                        NC     17084564755
89456884261978   IGNACIO      DIAZ                         CA     90004098842
89457497293771   EMMANUEL     GATANAZI                     OH     64592774972
89457683733698   COURTNEY     SPAUGH                       NC     12084626837
89457845191933   PEDRO        MENDOZA                      NC     90004268451
89462671393771   AMANDA       KASKOCSAK                    OH     90011986713
89467137697138   ANDREW       IVY                          OR     90013921376
89467971677537   LUZ          CARTAGENA                    NV     43057299716
89468469391837   THOMAS       LINDER                       OK     90014994693
89472748355945   COLE         DEDMON                       CA     90015117483
89473576455945   VANESSA      PLACENCIA                    CA     90015155764
89474473977537   ALBERTO      TRUJILLO                     NV     90000544739
89478994277537   JAVIER       BARRERA                      NV     43049029942
89479349141262   MICHELLE     NIEHL                        PA     51074123491
89479364984371   YOLANDA      FRASIER                      SC     19045363649
89479594497138   JOHN         FRANZ                        OR     90013205944
89483575471977   ALISHA       ADAMS                        CO     90013175754
89484886133698   CHATAYWN     REDFERN                      NC     12082398861
89486613855945   AMBER        EMMAL                        CA     90014816138
89486877447897   TYSHELL      WILLIAMS                     GA     90006858774
89487331161961   SILVIA       NAVARRETE                    CA     46021493311
89487456941251   STEVEN       STUART                       PA     90014084569
89487627647822   DAVIE        MARTINEZ                     GA     14006796276
89487773761951   MIRNA        GONZALES                     CA     90005627737
89487918863657   LAURA        FOSTER                       MO     90000999188
89488512797138   ENEDELIA     HERRERA                      OR     90012495127
89492168351336   CHARITY      GUTIERREZ                    OH     90001771683
89492217693771   SARAH        KELL                         OH     90014562176
89493562241251   JOSE         ALFARO                       PA     90011205622
89494546991837   LINDSEY      MCWILLIAMS                   OK     90014995469
89495663151349   TEMANI       HERNADEZ                     OH     90001696631
89496546991837   LINDSEY      MCWILLIAMS                   OK     90014995469
89498624433698   JONNIE       KEARSE                       NC     90014426244
89498916872485   PATRICIA     NUZZO                        PA     51054129168
89499176991979   VRE ASIA     JEFFERYS                     NC     90014731769
89499231491979   LOUVENIA     JOHNSON                      NC     90014752314
89499498971977   EDWIN        PICENO                       CO     90013724989
89512849655945   ELENA        GRISHANINA                   CA     90009978496
89514859991837   RANDY        MCKINNEY                     OK     90003618599
89518271421673   JESSE        NAPIER                       OH     90015172714
89518453955945   RAMON        JAMINEZ                      CA     90015034539
89519126841262   GREG         KIELAROWSKI                  PA     51095431268
89521282391242   MATTHEW      LIBBY                        GA     90003182823
89521494441275   MARTISHA     WINSTEAD                     PA     90014974944
89522668941262   LARRY        ROBERT                       PA     90010076689
89525214493771   HOPE         HUMAN                        OH     64506492144
89525711397138   NANETTE      BROWNING                     OR     90011477113
89525822584351   JASMINE      MOORE                        SC     19031858225
89526152391979   JUSTIN       WILLIAMS                     NC     90013661523
89532455331664   MAASKELAH    THOMAS                       KS     22008224553
89532962241262   MICHEAL      MOWRY                        PA     90013269622
89536854897138   EDEN         ORTIZ MARTINEZ               OR     90013548548
89536865997138   DEBBIE       MEITHOF                      OR     90008898659
89537415347897   ROSALYN      ROGERS                       GA     14072114153
89537463471977   MICHELLE     JACQUEZ                      CO     38095574634
89539463891933   ANNIKA       HUGGINS                      NC     17063354638
89542464493771   LEONIA       JONES                        OH     90006194644
89543298441275   CHARLES      BACH                         PA     90009372984
89543585493771   RICHARD      TAYLOR                       OH     90006785854
89543782391979   WESLEY       JONES                        NC     90013827823
89544577697138   AMANDA       MOTT                         OR     90013955776
89544673991837   DANIEL       SALAS                        OK     90014996739
89546381655945   JASON        WHITTON                      CA     49026563816
89549771193771   MYRON        JONES                        OH     64529477711
89551695691979   JASON        GEISLER                      NC     90007466956
89551892941251   MARK         ANTHONY                      PA     51001158929
89552818741262   DANIELLE     TAYLOR                       PA     51074648187
89555655584351   TAMARA D     TATE                         SC     19008286555
89557629941275   JAMES        FLYNN                        PA     90013946299
89558434151334   TROY         POWELL                       OH     90010794341
89558479555945   FRANCISCO    HERNANDEZ                    CA     49000714795
89562849791979   MICHEAL      VICK                         NC     90013328497
89565862897138   JOSE LUIS    AYALA                        OR     90012648628
89565896184371   CRYSTAL      MCMULLIN                     SC     90005948961
89566231491979   LOUVENIA     JOHNSON                      NC     90014752314
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89568671841275   LORNE           BUMBARGER                 PA     90013516718
89569414193771   JAMES           HAGGY                     OH     90012964141
89569481141251   DEBRA           PALMER                    PA     51063464811
89571711671977   JOSE            ORTEGA                    CO     90013487116
89571828291979   COURTNEY        UPCHURCH                  NC     17032008282
89571858891558   DARRELL         GRINNELL                  TX     90008668588
89571956855945   JUAN            RODRIGUEZ                 CA     49094959568
89572338257128   EFRAIN          GARCIA                    VA     90002293382
89572494755945   VALERIE         AGUILAR                   CA     90013604947
89573236193771   CARMEN          TOBLER                    OH     64587622361
89573295971977   LINDA           PONCE                     CO     38026452959
89573989541262   MICHAEL         SWEENEY                   PA     51040659895
89576272397138   CASSIE          HENDERSON                 OR     90005512723
89577281171977   PATRICE         HALL                      CO     90008402811
89577652755945   MARIA           MARAVILLA                 CA     49084156527
89579539933698   NELSON          BENNETT                   NC     90003895399
89582599741262   FRANK           SCHMITT                   PA     51086265997
89585495197138   JAVIER          FRANCO MARTINEZ           OR     90011764951
89588282297138   MAXIMINO        PEREZ                     OR     90003982822
89588367355971   SYLVIA          RUZ                       CA     49061013673
89588926971977   TORI            GILFORD                   CO     90013759269
89589413597138   GRISELDA        LOPES                     OR     90011764135
89591493333698   PAMELA          ROBINSON                  NC     90002844933
89591544455945   MONICA          PEREZ                     CA     49051345444
89591722397121   YULIANA         VERA                      OR     90009967223
89591778991837   BELINDA         REED                      OK     90014927789
89593348893771   JOSHUA          LEIS                      OH     90011633488
89594281847822   JOHN            HIGHTOWER                 GA     90012912818
89596939497138   SONIA           PALAFOX MOTA              OR     90012399394
89597797831449   BEVERLY         SMITH                     MO     27577137978
89598297371977   JOHN            MONTANO                   CO     90009492973
89598324855945   APRIL           HERNANDEZ                 CA     49032403248
89598779977537   JESSE LEE       CORNETT                   NV     43099117799
89599289671977   AUDRA           ROBERTSON                 CO     38006832896
89599362747897   SHARIKA         ROSS                      GA     90011223627
89599763691363   JORGE           FAJARDO                   KS     90012267636
89614222741262   JAMES           WASHINGTON                PA     51006242227
89614373851362   SARAH           BANKEMPER                 OH     90011323738
89614766633698   VANIETTE        MCNEIL                    NC     90002957666
89615447493771   CLARENCE        MOYERQ                    OH     90010634474
89616473471977   ROCHELLE        CUNNINGHAM                CO     90011044734
89616851591837   BETSY           MCCORD                    OK     21016878515
89617442541275   DEANNA          PARKER                    PA     51003944425
89617586491963   MARYANN         DAVIS                     NC     90010495864
89617627871942   GEORGE ANTONY   GUZMAN                    CO     90013536278
89617642177537   BARBARA         ALLEN                     NV     43067836421
89621737655945   JUAN            MARTINEZ                  CA     90013607376
89621895771977   ELOYSA          TRUJILLO                  CO     38005658957
89622146491979   JAVIER          ANDINO                    NC     90006041464
89622172671977   APRIL           NELSON                    CO     38092631726
89622341491963   LADY            LUCIOUS                   NC     90013253414
89622744655945   MIESHA          MCMIEL                    CA     90012037446
89625418447822   SONYA           WYNES                     GA     14001644184
89626263897138   VANESSA         GARCIA BEIZA              OR     90012942638
89626889291837   MATIAS          DIAZ                      OK     21057008892
89627317241275   JESSICA         HEILMAN                   PA     51015823172
89628692671977   JACOB           GURULE                    CO     90012646926
89628796451349   RORY            CANADY                    OH     90002677964
89632367933698   CHRISTIAN       CABRAL                    NC     90006353679
89633314571977   JENNIE          HARGRAVES                 CO     38096063145
89636999351362   KIRK            BURNETT                   OH     90000969993
89638599941241   RONDA           THORNTON                  PA     90001395999
89638639455945   AURORA          ROSALES                   CA     49011806394
89638784277537   WILL            CHAVEZ                    NV     90009287842
89642223681687   TORRI           HUBBARD                   MO     90012512236
89642885941275   EARL            GARDNER                   PA     90014178859
89642925555945   ESTELLA         BARRERA                   CA     90007989255
89643685571977   TONIC           RODRIGUEZ                 CO     38035436855
89645142555945   SHENG           CHUE                      CA     90003131425
89645323131651   JACQUELINE      KEMBOI                    KS     90010143231
89646634391837   AMANDA          LUNDY                     OK     21044876343
89648312955945   TANYA           THORNTON                  CA     90013353129
89651373477537   DONNA           TAYLOR                    NV     43041503734
89653875977537   NANCY           MCCUNE                    NV     43006048759
89654596155945   CANDY           BABSHOFF                  CA     49071195961
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89655611341262   SHAWNA       CARTER                       PA     51061866113
89656161141275   KELA         PLATT                        PA     90014741611
89656949197138   JULIANA      BARRON                       OR     90014169491
89657727591524   SALLY        AVALOS                       TX     90009427275
89657843671977   DAVID        CUEVAS                       CO     90014908436
89662473971977   RICHARD      JONES                        CO     38027114739
89662494193771   BENNETT      MICHAEL                      OH     64542144941
89663139497138   CELENA       RUIZ                         OR     44004761394
89663573171977   JESSICA      RUIZ                         CO     38050505731
89665189561936   RAINIER      REYES                        CA     90003041895
89666241597138   MARIO        TORRES                       OR     90013562415
89666764671977   ARVINA       MARTINEZ                     CO     90012777646
89666859577537   MARIA        ARELLANO                     NV     90006878595
89667826551362   REGINA       SNOW                         OH     90013598265
89669368647822   ALEXIA       HARDEN                       GA     90004583686
89669429184371   LEE          STECKEL                      SC     19084394291
89669894241262   NETTIE       GIBSON                       PA     51023698942
89672392661936   WILLIAM      PONCE                        CA     90012823926
89672484491837   MISAEL       AGUILAR                      OK     90005644844
89672798691979   STEPHANIE    MARTIN                       NC     17063607986
89673266855945   JESUS        MARTINEZ                     CA     90002092668
89673484491837   MISAEL       AGUILAR                      OK     90005644844
89675363691979   TORRI        MCMILLIAN                    NC     17015153636
89675914197138   CARISSA      BUOL                         OR     44058299141
89677368184371   SHORTY       PYE                          SC     19061123681
89677754391979   HARRIET      SPEARS                       NC     90014667543
89677955355945   LY           VAN                          CA     90001569553
89678257941262   DAVID        PAXON                        PA     51061922579
89679918891837   ANDREA       BLUE                         OK     90014639188
89681437747897   RHOSHONDA    JACKSON                      GA     14056634377
89686365991933   PABLO        HERNANADEZ                   NC     17092163659
89686532591979   MODOU        THOMAS                       NC     90004255325
89687469141222   ASHLEY       JOY                          PA     90012704691
89687655721628   GINA         KELLY                        OH     90014246557
89691989971977   PAULA        DEHERRERA                    CO     38092139899
89692838441262   ROHNDA       COX                          PA     90006018384
89693161593771   AMIR         HOURANI                      OH     90014831615
89693421841275   SCOTT        KULIKOWSKI                   PA     90012554218
89693812977537   ALEJANDRO    LOPEZ                        NV     90000548129
89695492791979   CANDICE      CHEREE DEW                   NC     90007784927
89696868271977   MARIA        SCHUDAR                      CO     90010278682
89697225877537   CHRIS        ROY                          NV     43089612258
89697275793771   LINDA        WISECUP                      OH     90012862757
89698694193771   STEPHANIE    WILLIAMSON                   OH     64576816941
89699324133691   CARLOS       MARTINEZ                     NC     90008763241
89699757597921   JLAURA       JACKSON                      TX     90001057575
89699866241262   RUE          SANCHEZ                      PA     90007878662
89711449797138   ROBERT       PETERS                       OR     44085564497
89711683691979   BRANDON      HOLLOWAY                     NC     90015236836
89712162877537   TAYLOR       TATU                         NV     90012971628
89712459897138   FLONDRINO    LOPEZ                        OR     90015264598
89713249741275   JONATHAN     SCHMELLA                     PA     51063082497
89714789155945   WILLIAM      YBANEZ                       CA     49098617891
89718591681683   JAMES        MOORE                        MO     90014015916
89721799677537   ROBERT       EFFENBERGER                  NV     90004687996
89721926372451   ERIN         WEST                         PA     51089169263
89722448397138   AKILINA      ZHARKOFF                     OR     44073994483
89723646533698   CONSTANCE    WILLIAMS                     NC     12048826465
89723947193771   BARBARA      NUGENT                       OH     90012629471
89726487197138   KRYSTAL      CANICO                       OR     44059334871
89727452191979   SUSAN        SMITH                        NC     90013974521
89728369391979   SIGARAN      ARGUETA                      NC     90012153693
89729415584371   TONY         DUHART                       SC     90003264155
89732215697138   JOSE         FEREGRINO                    OR     90013632156
89732899497138   DIANA        SANCHEZ VILLALOVOS           OR     44074388994
89733347591979   VIVIAN       ANERSON                      NC     17091123475
89735193641275   SHIRLEY      HALSEL                       PA     90013601936
89735978297138   CANDACE      SCAEFER                      OR     44035319782
89737244371977   REINA        HERNANDEZ                    CO     90015012443
89737776161977   ANA          GONZALEZ                     CA     90009507761
89737893477537   MIRSA        RODRIGUEZ                    NV     90006528934
89742866261936   TREVON       PHILLIPS                     CA     90014088662
89743262541251   KAREN        RATTENNI                     PA     51057172625
89746484684371   SANDRA       MEYER                        SC     19091194846
89746484771977   ELZIE        OLIVER                       CO     38043594847
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89746837397138   JOY           RAYMOND                     OR     90013938373
89747346493771   ANGEL         DIAZ                        OH     64500433464
89747493772468   DANIEL        FIORI                       PA     90013804937
89747635947897   SABRIA        JOHNSON                     GA     90012176359
89749846397138   JEFF          DILLON                      OR     90013938463
89752897697138   LINDA         BIRDSONG                    OR     44086458976
89752956671977   SHARON        BELARDE                     CO     90014729566
89755862397138   HURTADO       ALBERTO                     OR     44086458623
89756283854153   RASHAWNDA     JOHNSON                     OR     90010042838
89757115697138   CATARINO      GARCIA                      OR     44019171156
89757142771977   HALEYANN      VIGIL                       CO     90011511427
89757245855945   DANIEL        HERNANDEZ                   CA     90015012458
89757575691979   ELIZABETH     RAMIREZ                     NC     17050945756
89757769447897   SHAMEKA       MANGHAM                     GA     90014637694
89758521997138   KRISTIN       GALVIN                      OR     90014785219
89759396871977   MOISES        TRUJILLO                    CO     38027363968
89759894977537   DEBORAH       CRAMER                      NV     43003918949
89762261755945   EMILY         APONTE                      CA     90002742617
89763341961951   TIM           MCNEELY                     CA     90009663419
89763432951365   PEDRO         DUCHICELA                   OH     90007834329
89763973991837   MICHAEL       MARTIN                      OK     90005409739
89767631697138   HEIDI LYNNE   CONLEY                      OR     90013246316
89771648697138   JOSE          RAMOS                       OR     90013246486
89772363341262   BENJAMIN      OWENS                       PA     90000683633
89772761161983   ESTRELLA      TARLETON                    CA     46013237611
89776214647897   CHARLIE       HUFF                        GA     90013802146
89779455191837   LESLIE        GARDNER                     OK     21006234551
89782185197138   IGNACIO       LOPEZ                       OR     90014881851
89783279797138   CHRISTINE     JACKSON                     OR     90013422797
89783556551382   JAMES         BURNETTE                    OH     90008275565
89784157541262   JORGE         RODRIGVEZ                   PA     90013851575
89788277855945   ANGELO        AIMBEZ                      CA     90015012778
89788824291979   NESTOR        RAMOS                       NC     90009308242
89789669271977   JEFFERY       EXLINE                      CO     38061556692
89791117254184   ALICIA        GARCIA                      OR     90015351172
89791276941275   KASHA         PHILYAW                     PA     90014092769
89792142191979   AMINA         UTLEY                       NC     90013961421
89792652593771   JASMINE       MARJORIE                    OH     90006506525
89793952841262   SHANNA        FLEMING                     PA     90014779528
89795135641275   ASIA          CRAWFORD                    PA     90013701356
89795819261983   KEITH         WADDELL                     CA     90001788192
89797734197138   BRANDY        MILLER                      OR     90013677341
89798275793771   LINDA         WISECUP                     OH     90012862757
89798687797138   CASSANDRA     DONALDSON                   OR     90011906877
89798886651362   JUAN          GONZALEZ                    OH     90003288866
89799279797138   CHRISTINE     JACKSON                     OR     90013422797
89799811971977   SAHWNA        LOPEZ                       CO     90010248119
89812115241262   JENNIFER      JONES                       PA     90013121152
89813378141251   KIMBERLY      FRIEZ                       PA     90006503781
89814223781687   IKEELA        JEFFREY                     MO     90007522237
89814582151363   RONITA        SMITH                       OH     90006215821
89814698481651   MARTHA        CORDOVA                     MO     90007646984
89815153491558   GLORIA        GUZMAN                      TX     75074421534
89816218171977   DESIREE       GRISSOM                     CO     90013522181
89816399891979   BRENDA        JONES                       NC     90009723998
89818827684336   JULIE         BULGER                      SC     90011998276
89822396155945   FRANK         SIHARA                      CA     90005503961
89823599593771   JOHNATHON     WOOTEN                      OH     90012565995
89825446193771   NICOLE        BOHANNON                    OH     64506944461
89826265525638   NICOLE        OAUDERVILE                  AL     90014812655
89826425777366   PAYGO         IVR ACTIVATION              IL     90011984257
89828259741275   JESSICA       CIBBENS                     PA     90013202597
89829228571977   MAGGIE        RAMIREZ                     CO     90001542285
89829758697138   SANDRA        GARCIA                      OR     90009727586
89831433697138   JANET         SHELTON                     OR     90011794336
89832758161963   MARTHA        G. CRUZ                     CA     46001037581
89834234771977   ELISABETH     GARCIA                      CO     90010822347
89835187871977   DANIEL W      PERALTA                     CO     90000221878
89835242991979   JASMINE       GOODE                       NC     90014802429
89835749593771   ROBERTA       JAUDON                      OH     90007397495
89835954197138   STEVEN        CHRISTENSON                 OR     90002819541
89838314193771   KALEB         GRISSO                      OH     90015093141
89839548493771   TANYA         GARCIA ROMERO               OH     90007335484
89841521991979   JORGE         SALINAS                     NC     90000895219
89841647771977   EDIE          RODRIQUEZ                   CO     90000816477
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89841821155945   DEBORAH      THORNBURG                    CA     90000108211
89843815997138   JESSICA      NAVARO                       OR     90013578159
89845512841251   JOI          STEWAR                       PA     90006505128
89845817791837   EDDIS        FRAIRE                       OK     90010368177
89847395791932   LARRY        DIXON                        NC     90011253957
89848379847897   NIKISHA      HOWARD                       GA     14053253798
89849625184336   ROBERT       SANDLE                       SC     90013836251
89849835757126   MAHLET       AMARE                        VA     90013948357
89851663571977   MIKE         ROSEBERRY                    CO     90009916635
89851765893771   MICHAEL      THOMAS                       OH     64599537658
89852612755945   WHITFORD     TAMI                         CA     90003876127
89852887997138   RAUL         GASPOR                       OR     44061978879
89853457241262   NORMAN       GREEN JR                     PA     90005414572
89854138991837   SHERRY       BELL                         OK     90015041389
89855352991979   HIGIDIO      LUAX LOPEZ                   NC     90008993529
89855911997138   JESUS        MORENO                       OR     90013939119
89856335231425   LAURIELL     TAYLOR                       MO     27508363352
89857912197138   CLARIBEL     NUNEZ MARCIEL                OR     90013939121
89858776241262   WILLIAM      HENN                         PA     51066867762
89859356397138   KIMBERLEY    JACKSON                      OR     90011063563
89861747471977   ERIC         KING                         CO     90008617474
89864223193771   TERRY        AUSTIN                       OH     64506652231
89864649641275   DENNIS       BOEHM                        PA     51022706496
89872393993771   DANIELLE     WHITE                        OH     90013163939
89873831163628   ALICIA       VISAICO                      MO     27583728311
89874388271977   MISTY        KASAN                        CO     90011103882
89874725777537   OSCAR        CASTILLO                     NV     43088637257
89877662655945   JULIANA      YANG                         CA     90005946626
89879666341232   LISA         WILLIAMS                     PA     90015086663
89879698777537   KEITH        HERMANN                      NV     43063296987
89883569297138   JAVIER       DE LA CERDA                  OR     44033905692
89884215731676   TRACY        HICKS-WALKER                 KS     22037902157
89884613593771   YOLANDA      FRAZIER                      OH     64576816135
89885196497138   JULIE        RICH                         OR     44089341964
89885979351362   ANDRA        PARKER                       OH     66017739793
89889363957139   MARITZA      HERNANDEZ                    VA     90014313639
89889586255945   GUSTAVO      BARRIOS                      CA     90012965862
89889791571977   ROBERT       CARBAJAL                     CO     90015117915
89891933441275   KELLI        NELSO                        PA     90007719334
89892838886443   CURTEARA     IRBY                         SC     90014168388
89893193641275   SHIRLEY      HALSEL                       PA     90013601936
89895239993771   FELIX        KELLY                        OH     64565962399
89895324447822   MATTHEW      BROWN                        GA     14052853244
89897613933698   RICHARD      OWENS                        NC     90000706139
89898691955945   MEDINA       GILBERTO                     CA     49041106919
89898831825638   OTILIO       MOCTEZUMA                    AL     90015418318
89899316193771   KENNY        JOHNSON                      OH     64512303161
89899792297138   URIEL        PACHECO                      OR     90013357922
89911277793771   HEATHER      HODGE                        OH     90013542777
89911781486447   MICHELLE     JONES                        SC     90014247814
89915958191979   BRITANNY     DORMAN                       NC     17086269581
89916399371977   DENNIS       MARTINEZ                     CO     38076823993
89916451891837   JENNIFER     ALLEN                        OK     90005654518
89917379241251   KATHLEEN     BOVA                         PA     51043693792
89917416551348   BRANDON      HUTH                         OH     90001494165
89917836293771   TASHA        NEUKIRCHNER                  OH     90003078362
89918747755945   ESMERALDA    VILLA                        CA     90001057477
89921899241275   BRANDON      WADE                         PA     90012768992
89922282755945   JAVIER       PEREZ                        CA     90015132827
89923243893771   MARK         BROWN                        OH     90011582438
89924832341275   MEGHAN       PFENNIGWERTH                 PA     51073308323
89928849241251   ROSE         HATCHER                      PA     51001218492
89929278647897   SCOTT        DUBBERT                      GA     14085522786
89929755455945   DANNA        LEE                          CA     90009427554
89932151981671   SHARON       ANAYA                        KS     29040751519
89933411551362   CARMEN       RODRIGUEZ                    OH     90010144115
89938333791837   SCOTT        NOBLE                        OK     90007713337
89938471771977   DAVID        MADRID                       CO     38094254717
89938477784371   CHRISTINE    BRAITHWAITE                  SC     19064654777
89941745761943   CHARLES      WAUGH                        CA     90000267457
89944854997138   DESEREE      VARAY                        OR     44035208549
89945475271936   MICHAEL      MEDLOCK                      CO     90010484752
89945583293771   SHERRY       SABEN                        OH     90013985832
89946893541275   KORI         THOMAS                       PA     90015308935
89947914671977   KAYLA        MESTAS                       CO     90013739146
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89952152655945   LINDA            MARTINEZ                 CA     49002151526
89952573247897   HELEN            NOLTON                   GA     90010175732
89953161941262   SAVANNAN         RED ELK                  PA     90013851619
89953667171977   CLARISSA         SALAZAR                  CO     90009406671
89953861271977   DILLON           STEWART                  CO     90007398612
89954627984362   RANDY            MYERS                    SC     90004786279
89955337293771   ERIC             DAVIS                    OH     90012703372
89956383541275   MARC             BEVIER                   PA     90005573835
89958449341262   DANIELLE         GLASPEY                  PA     90010204493
89959748591547   ANNETTE          TEJEDA                   TX     90011157485
89961829691837   EDUARDO          RIVERA                   OK     90012418296
89964432241262   LESTER           WILLIAMS                 PA     51009234322
89966223355945   MARY             GIBSON                   CA     90014472233
89969395747822   BEVERLY          FRYER                    GA     90003793957
89972726491837   TONYA            KIMZEY                   OK     90015047264
89973697951323   CARLOS           PEREZ                    OH     90006396979
89973811584371   ZORNALD          DIXON                    SC     90010068115
89976571855945   THA              YANG                     CA     90012145718
89977745641275   MICHAEL          TERRY                    PA     51054177456
89978168571977   JARRELLE         MCWEE                    CO     90014601685
89978356397138   MARIA            TORRES                   OR     90011813563
89978467841262   KARL             EDMONDS                  PA     90011154678
89978739791837   DENISE           REYNA                    OK     90015047397
89984121231447   JOHN             HIVELT                   MO     90012261212
89985572491979   EDVIN            GOMEZ                    NC     90013255724
89987322491553   EDWARD           DOMINGUEZ                TX     75011523224
89988194341262   JAMES            HILL                     PA     90013851943
89988331491837   MARY             WALTERS                  OK     90005673314
89988365231449   JIM              MORRIS                   MO     90007203652
89988812171977   KALEN            MCKEE                    CO     38097228121
89992232241251   VALERIE          FRANKLIN                 PA     51086822322
89992266355945   JUAN             MONROY                   CA     49017592663
89993415491979   SHAMYAN          PARKER                   NC     90014684154
89993872291933   JOSE             GUZMAN                   NC     90006208722
89998439691532   BLANCA           VALLES                   TX     90013154396
91111525151342   SHIRLENE         MILLER                   OH     90010965251
91113227455951   RICHARD          RUZ                      CA     90001022274
91113331391882   DANIEL           HARGER                   OK     90014783313
91114855133698   RENEE            BROWN                    NC     90004758551
91115215291327   VIANCA           ZAVALA-RODRIGUEZ         KS     90011982152
91115334251342   SHANDA           BERNARDINO               OH     66039173342
91115493577537   TOMMY            MARTIN                   NV     90009384935
91116414357564   MICHAEL          VALLES                   NM     90014694143
91117715691399   MARIA CRISTINA   HERRERA                  KS     90012817156
91118146681676   WILLIAM          CLEVENGER                MO     29004201466
91119736991399   NATANAEL         VASQUEZ                  KS     90012817369
91121433485948   DAMARRIO D       HOWARD                   KY     90005834334
91122199791526   YOLANDA          ALARCON                  TX     90013551997
91123271755951   PON              DOUANGMEECHIT            CA     90013062717
91123934693755   RAYMOND          HARBUT                   OH     90008379346
91124362593755   PATRICIA         BROOKS                   OH     90013013625
91124477991944   CONSTANTIN       MARTINEZ                 NC     17037344779
91125336955951   NELIDA           HERNANDEZ                CA     90005923369
91126455891951   CASSANDRA        HAWKINS                  NC     90013844558
91126919991399   JOHN             MUIRURI                  KS     90010719199
91127142741296   ERICA            KINER                    PA     90010981427
91129297291544   JAVIER           ACOSTA                   TX     75086972972
91129344891521   SANDRA           HERRERA                  NM     75078213448
91132899471933   TONY             KORTE                    CO     32013538994
91134389791882   SHANE            KAY                      OK     90014783897
91134696893769   DUSTIN           HARMON                   OH     90007156968
91134731691599   SARAH            GONZALEZ                 TX     90009257316
91135119391599   RACHELLE         PORTER                   TX     90013881193
91135294793755   STEFANIE         BEVARD                   OH     90008772947
91136216451342   MARSHA           JIMMERSON                OH     90008852164
91136497891599   BRAULIO          DE SANTIAGO              TX     90010944978
91137155841296   KYSRSTEN         DYER                     PA     90014611558
91137446881634   IRMA             ALVAREZ                  MO     29051534468
91137759591882   LUIS             GONZALEZ                 OK     90011057595
91138172293755   AMBER            NAL                      OH     90000841722
91138615521929   NORBERTO         DONET                    IN     90015476155
91139159861979   VICTOR           TRUJILLO                 CA     90010961598
91141227691951   STEPHANIE        TOLLIVER                 NC     90011252276
91141473281635   ANDREW           COATES                   MO     90014714732
91141674485689   JULIO            HERNANDEZ                NJ     90014526744
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91141785161979   JESUS                   DIAZ                CA   90010547851
91142128891944   JENNIFER                MELENDEZ            NC   90007871288
91142378177537   HEATHER                 CUMMINGS            NV   90012193781
91142479491951   DENIRO                  WILSON              NC   90014714794
91142498561977   MARIA                   IRIARTE             CA   90006904985
91143161531476   MODESTA                 PERALES             MO   90003291615
91143175993756   MATTHEW                 PARKER              OH   90002171759
91143859191399   LILLIAN                 JONES               KS   29037208591
91144762957135   DAVID                   VENTURA             VA   90006857629
91145361681634   SHEENA                  SANDERS             MO   90004313616
91145371291526   ANTHONY                 LEA                 TX   75057903712
91146689791399   LOTTIE                  JONES               MO   29010476897
91147297991599   YOLANDA                 ORTEGA              TX   75011172979
91149352291882   GLENN                   HARLEY              OK   90008833522
91149442291399   CATRINA                 STEWART             KS   29022574422
91149644854197   MCKENNA                 ROBERTSON           OR   90011656448
91151716891399   RYANN                   RAMIREZ             KS   29006057168
91151999151337   LATASHA                 LOCKETT             OH   66012979991
91152227777537   SETH                    RADHAWK             NV   90012702277
91152383393755   MICHAEL                 JENKINS             OH   90013923833
91152564181635   KAYLYN                  PFEIFER             MO   29072645641
91152876791399   JENNIFER                GRESTY              KS   90007098767
91152969391882   ANDREA                  KING                OK   21068399693
91153811855951   CHRISTINE               CORRALES            CA   90011238118
91154722991882   HORTENSE                ANDERSON            OK   90011247229
91155824381648   JUDY                    JONES               MO   90013998243
91155834855951   TITUS                   AYERS               CA   49079288348
91155884477537   LESLIE                  GUTIERREZ           NV   90014688844
91155974791327   SHANEKA                 LEE                 KS   90011839747
91156534185689   EDGAR                   CORTEZ              NJ   85018955341
91156639391521   KARLA                   LOYA                TX   90015466393
91156753691521   SABRINA                 SOLIS               TX   90011107536
91156876691944   ROBIN                   EASON               NC   90006958766
91157373255951   ROCIO                   VIRAMONTES          CA   90007453732
91157413991882   TYLER                   STEVENSON           OK   90014784139
91157461291521   DAVID                   EDMONDS             TX   75027774612
91157761261977   ALONSO                  LOPEZ               CA   90015027612
91157827591599   JOE                     RODRIGUEZ           TX   75057208275
91158182933698   TIMOTHY                 MANNING             NC   90011101829
91159919661955   ALEXIS                  JACKSON             CA   90009909196
91161367385689   RENE                    PEREZ               NJ   90013123673
91161433891882   SHALONDA                LYONS               OK   90014784338
91161746455938   JOANNA                  CORONADO            CA   90012607464
91161919955951   SAMUEL                  ORTEGA              CA   49093609199
91164184781635   OLIVIA                  FETZ                MO   90009451847
91164868551342   JAMIE                   REYNOLDS            OH   90011038685
91164963293756   BLAKE                   CHAFFINS            OH   90015049632
91165714881635   CARLOS                  DOMINGUEZ-OLMEDO    MO   90014087148
91166189891944   DIANA                   DE ANDA             NC   17039391898
91168183681635   KRISTINA                DYKES               MO   90013531836
91168764191599   EFREN                   CHAVEZ              TX   75028927641
91168928955951   DELIA                   ANDRADE             CA   90015099289
91171293191882   DARLENE                 FARSON              OK   21082752931
91171416881635   KATELYN                 HAKE                MO   90014334168
91171689791521   GUSTAVO                 MOLINA              NM   75087566897
91172626991399   SHEENA                  FARLLY              KS   90002716269
91174439461979   TIMOTHY                 HAHNKE              CA   90010754394
91174467881634   CECELIA                 KIRK                MO   90013934678
91174614351342   ANGELA                  LOVETT              OH   90011896143
91175625455951   ALEXANDRA HOLLY MARIE   CASTILLO            CA   90013956254
91176485191882   KELLY                   ACREE               OK   90004914851
91177959485689   JESUS                   RAMIREZ             NJ   90009169594
91178117561979   HAVIER                  ALVAREZ             CA   90009261175
91178811151342   JOHN                    BAUER               OH   66032438111
91179255885689   SAMUEL                  ALMARAZ             NJ   90015322558
91181646593756   JAMIE                   BUSSARD             OH   90011116465
91181965991944   ELISEO                  CARRIZOSA-PANTOJA   NC   90010009659
91182628155951   ANTHONY                 AGU                 CA   90013956281
91182896385689   LANDY                   ALVARADO MENDEZ     NJ   85053868963
91183133391944   JEANNETTE               PYATT-POND          NC   90007831333
91183867991599   WILLIE                  ALVAREZ             NM   90001168679
91183891855951   MARK                    MCCREA              CA   90013148918
91184342691521   JAVIER                  TOVAR               NM   90014383426
91184894685689   ANGEL                   LOPEZ               NJ   90012678946
91185145677537   JOSE                    MEDINA              NV   90014761456
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91186225881634   EMIKO         WILCZAK                     MO     90007832258
91186915191944   ANGELA        WILSON                      NC     90012139151
91187176277537   ASHLEY        NELSON                      NV     43086441762
91187529991524   HERIBERTO     GODINA                      TX     90013245299
91187723785689   OSCAR         VELASQUEZ                   NJ     90014667237
91187943155951   PA            CHANG                       CA     90007469431
91188951391882   GARY          THOMPSON                    OK     90014789513
91189491691882   DEBORAH       BOWERS                      OK     90014784916
91193397291944   ELENA         AYALA                       NC     17078913972
91193941555951   CHRISTOPHER   JONES                       CA     90013199415
91194276581634   MARIE         JONES                       MO     90007252765
91195139793756   DARLA L       HARRIS                      OH     90012081397
91195264891944   AUHMEREA      ALVIN                       NC     90014552648
91196488381638   RAQUEL        RAMOS                       MO     90003324883
91196685585689   WILLIAM       DEVAULT                     NJ     90014926855
91196728855951   OLGA          MARTINEZ                    CA     49008587288
91196786772424   WAYNE         STASKO                      PA     90001327867
91198188191599   SOLEDAD       MARTINEZ                    TX     90010851881
91198415293769   EBONY         ELIJAH                      OH     90004234152
91199265491944   JOSE          MANUEL                      NC     90010792654
91199485191882   KELLY         ACREE                       OK     90004914851
91211253291944   CAROLYN       BROWN                       NC     90011252532
91212521291882   JIM           COLLIN                      OK     90014785212
91212547991521   BERTHA        CERVIN                      TX     75097805479
91212869761977   KIARA         PARGO                       CA     90009108697
91213257793755   BRAD          PHILBECK                    OH     90012612577
91213857744346   DERRELL       BLUE                        MD     90001948577
91213871891599   OSCAR         PEDREGON                    TX     90014768718
91215676833698   DARLENE       RIVERS                      NC     90010636768
91216524591882   KAREN         MUNOZ-MARTINEZ              OK     90014785245
91217524591882   KAREN         MUNOZ-MARTINEZ              OK     90014785245
91217716193755   JUSTIN        HERALD                      OH     90011937161
91218241581635   BRIAN         WYMAN                       MO     29012712415
91219628755951   MARIA         CHERMAZ                     CA     90013956287
91221234191599   DOLORES       CROSBY                      TX     90011422341
91221298191399   MARIA         MARTINEZ                    KS     29036092981
91221925333698   KIMBERLY      BAKER                       NC     90015579253
91223331155951   KRISTI        ALCORN                      CA     90011723311
91224793877537   ADRIAN        CARILLO                     NV     43062167938
91226552157131   OLGA          FAGOADA                     VA     90012685521
91226648991944   MELVIN        TAYLOR                      NC     90015306489
91226815581635   BRANDY        STIPLIN                     MO     29090198155
91226939677521   ESVIN         AMBROCIO-GONZALEZ           NV     43013939396
91228291291951   DANIEL        CRUZ                        NC     90015462912
91228511893755   LINDA         FISHER                      OH     90008315118
91229344891521   SANDRA        HERRERA                     NM     75078213448
91229468285932   DONNA         MCELROY                     KY     90013164682
91231565493769   LAVERNE       MCKAY                       OH     64552765654
91231978533698   SHEMIAKIA     BREEDEN                     NC     90013399785
91232627681635   ERIN          HOLMES                      MO     90014306276
91232754533698   JUJUAN        LOCKETT                     NC     90014507545
91232956491599   MARIA         GARCIA                      TX     90012919564
91234362651391   RICHARD       REDDEN                      OH     90006493626
91235551461979   ASHTEN        GERBING                     CA     90009285514
91235891191951   JOSEPH        CAMPBELL                    NC     17072198911
91237881391327   VICTOR        SILVEYRA                    KS     29033758813
91237945255951   SARAH         MADRID                      CA     90014179452
91238589893721   RODERICA      BRADLEY                     OH     90014345898
91238683893756   AMY           CATES                       OH     64550576838
91238883191399   LOIS          GATLIN                      KS     29052758831
91239867291599   CHRISTINA     HERNANDEZ                   TX     90013138672
91241151591944   KIMURRY       GRIFFITH                    NC     90009231515
91241281885689   RUBEN         MARTINEZ                    NJ     90014702818
91241978481634   CARITHA ANN   EDWARDS                     KS     90014609784
91242542777927   PAYGO         IVR ACTIVATION              IL     90015525427
91243259933698   CLARISSA      HOLLIFIELD                  NC     90012812599
91244117561977   JUAN          VAZQUEZ                     CA     90004511175
91244657691399   CHRISTIE      ROZELL                      KS     90014616576
91245964391399   ANTONIO       ALLEN                       KS     90014869643
91246435861979   CHRISTOPHER   GALLARDO                    CA     90004274358
91247626991399   SHEENA        FARLLY                      KS     90002716269
91248384591327   SUZANNE       MCGINNIS                    KS     90011843845
91251228751396   TERESA        ADAMS                       OH     90004312287
91252737391521   DWIGHT        INGLETON                    TX     90013447373
91254432855951   RAY           RODARTE                     CA     90010334328
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91254756291399   BRITTANY        LESTER                    KS     90014627562
91255199131447   CHRISTAR        WALKER                    MO     90001271991
91255963481635   ALLEN           JONES                     MO     90014779634
91256213391399   REYES           GRANADOS                  KS     90009122133
91257859133698   LITISHA         BARBER                    NC     90014648591
91262242691944   HAGOS           AREFAINE                  NC     90014152426
91262253591399   WESLEY          FORD                      KS     29001222535
91262613291882   RUBY            BELTRAN                   OK     90014786132
91263377361977   JOHANNA         DAVILA                    CA     90013233773
91263613291882   RUBY            BELTRAN                   OK     90014786132
91264613291882   RUBY            BELTRAN                   OK     90014786132
91265245681634   MYRNA           BARRAZA                   MO     29081442456
91266359691599   MARIBEL         GAYTAN                    TX     90011093596
91266375591923   FREDIS          SORIANO                   NC     90005793755
91266599493769   BRITTANI        ABSHIRE                   OH     90012655994
91266932581635   LIANA           ZAPIEN                    MO     90013409325
91267199661977   LESLIE          VALENTINE                 CA     90009321996
91267334591399   ZACKARIAJ       TOWNE                     KS     29012853345
91267911391599   ELIZABETH       ARZOLA                    TX     75030959113
91268482291327   JOSE            AGUILAR                   MO     90013414822
91269116593755   GEORGETTE       GROSS                     OH     90013851165
91269124385689   MOSS            TANISHA                   NJ     90014191243
91271218581634   TINA            FANTROY                   MO     29080332185
91271998333698   KEITH           CRITE                     NC     90013079983
91272195833698   MAILIN          CRUZ                      NC     90013061958
91272466747924   MAUNEL          TIRADO                    AR     90011014667
91273362991526   KAREN           BARRIENTOS                TX     90009633629
91273475361977   FLETCHER        STOCKALPER                CA     90014484753
91273613291882   RUBY            BELTRAN                   OK     90014786132
91274456755951   IRENE           MEJIA                     CA     90000404567
91274624781634   TAKODA          EVANS                     MO     90014556247
91274992581634   GABY            PERALTA                   MO     90005549925
91275661291944   LUCIA           JOHN                      NC     90015346612
91277448541296   TWANDA          FREDERICK                 PA     90014234485
91277518393767   JOSEPH          WILLS                     OH     90000175183
91277779861977   DORA CAROLINA   AU GALLEGOS               CA     90012227798
91277956785689   MANUEL          CUATE                     NJ     90012139567
91277962581634   HUGO            MORENO CASTANEDA          MO     90012479625
91278613291882   RUBY            BELTRAN                   OK     90014786132
91281392791521   LAKESIA         JOHNSON                   TX     90014933927
91281784277537   LEVI            MOXLEY                    NV     90013217842
91282825891399   BRIDGETT        BURNETT                   KS     29001228258
91283452851342   DENISE          WADDLE                    OH     90006834528
91283644691882   COURTNEY        BASS                      OK     90014786446
91285797693755   CHERYL          GALLANT                   OH     90013987976
91286632393756   RANDY           TERRY                     OH     90012256323
91286823681635   CHRIS           MILLER                    KS     90008968236
91287259851384   BELINDA         JOHNSON                   OH     90001692598
91287752531459   HENRY           HOLLIS                    MO     90008377525
91288779241296   ARDRETTA        SCOTT                     PA     90008087792
91288879177537   CORINA          RADZIK                    NV     90002068791
91291649791882   BEATRIZ         CRUZ                      OK     21073566497
91292211893756   AMBER           BRANDON                   OH     90011882118
91293329255938   ARTHUR          JAMES                     CA     90012713292
91293575951342   VANESSA         ANN SMITH                 OH     90006025759
91294681461977   MATTHEW         GODINEZ                   CA     90013276814
91294826351342   JULIE           JORDAN                    OH     90008378263
91295914855951   RICHARD         CORTEZ                    CA     49028299148
91295919585689   VICTOR          COLON                     NJ     90002939195
91295936341271   DARLA           CALFO                     PA     51018179363
91311434991599   ESTEBAN         HERNANDEZ                 TX     75002714349
91312112561979   MARCO           SANTANA                   CA     90002821125
91312347481635   MARTINA         GARCIA                    MO     29003443474
91312376861977   SHARON          BROWN                     CA     90000873768
91312572591521   FELICITAS       PAEZ                      TX     90013795725
91313634561977   AIOTEST1        DONOTTOUCH                CA     90015116345
91313827591944   BRUCE           PENDERGRAS                NC     90007518275
91313859291599   JOSE            CHAIREZ                   TX     90013098592
91314531493769   SHATON          WESS                      OH     90005225314
91315437221929   PAYGO           IVR ACTIVATION            IN     90014444372
91317928293756   CHARLES         GOVEY                     OH     64588709282
91318931433698   BRITTANI        GRACE                     NC     90013189314
91319398593755   CONNIE          DIXON                     OH     64555243985
91319743561979   LAURA           OCHOA                     CA     90000237435
91319795691599   SOFIA           MATOS                     TX     90012887956
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91321452861988   MARIA          MARQUEZ                    CA     90009864528
91321842133652   MONEAT         CAMBELL                    NC     90012528421
91321983593755   THOMAS         STEPHENSON                 OH     90013929835
91322922593755   EJASIA         JACKSON                    OH     90014559225
91323292755979   CARLOS         GARCIA                     CA     90002592927
91324376391951   WILLIAM        MCLEAN                     NC     90013483763
91324562793755   HOLLY          EDMONDS                    OH     64546225627
91328371351342   ROBERT         LAMKIN                     OH     90000853713
91328443977537   DIEGO          CARRION                    NV     90007044439
91329421355951   ABIGAIL        JUAREZ                     CA     90011554213
91329672777537   ERIKA          JIMENEZ                    NV     90005536727
91331241231572   KALYAN         RACHAPUDI                  CO     90013642412
91331791691882   MICHAEL        THOMAS                     OK     90011867916
91333394793756   TAMALA         SPARKS                     OH     64587113947
91334123155951   ADOLFO         LOPEZ                      CA     49035131231
91335654955951   JANISHA        OAKLEY                     CA     90013956549
91336284851342   RYAN           ROYLES                     OH     90014422848
91336916461977   VIRGINIA       ZAPATA                     CA     90014639164
91337891581635   TONIA          GIBSON                     MO     90010908915
91338643881634   JASON          GIVENS                     MO     29028526438
91339218791599   CRYSTAL        SPRUCE                     TX     90010852187
91339842961979   JOCELYNE       MALDONADO                  CA     90009288429
91344359191951   PATRICE        GREEN                      NC     17007463591
91344535691882   EDIN OSVALDO   SANCHEZ                    OK     90006725356
91345326593769   LADASHIA       TAULBEE                    OH     90013703265
91345587681634   MICKEL         SCOTT                      MO     90009345876
91346179891599   EFREN          ZAMORA                     TX     90010371798
91346311191944   FRANCISCA      OKAFOR                     NC     17091503111
91346833185689   STEPHANIE      WATSON                     NJ     90014158331
91346867341296   TALISHA        JACKSON                    PA     51098278673
91347889391521   DORA           ARMENDARIZ                 TX     90002428893
91348514893755   AUSTIN         KRUG                       OH     90014505148
91348559991599   MICHAEL        AVILA                      TX     90011075599
91348868661977   OSCAR          TAMAYO                     CA     90014848686
91349211191399   SCOTT          WHITE                      KS     29024432111
91351142691599   DANIEL         SEANZ                      TX     90013221426
91351366533698   GERMAN         CRUZ                       NC     90014533665
91351575485689   VIC            CORDOVA                    NJ     85082935754
91352168551342   HARLEY         SHELDON                    OH     66016001685
91353267391944   KATERINA       OLIVIERI                   NC     90014582673
91353282885689   ERNESTO        GARCIA                     NJ     90011192828
91353391841296   TONI RAYNELL   HILL                       PA     90010883918
91353776891944   ZUAMMETT       RIVERA                     NC     90013837768
91354222991951   JASHAWN        COLE                       NC     90014792229
91354777422937   JERMEY         JONES                      GA     90014837774
91355153555951   SERGIO         BENITEZ                    CA     90013991535
91355676593769   MORGAN         CALDWELL                   OH     90012486765
91355726361977   RUBY           ARELLANO                   CA     90000127263
91355935781638   JAMES          COLLINS                    MO     29046699357
91356256151342   RAYMOND        FITZJARRELL                OH     66039912561
91356537157125   HEATHER        ROBISON                    VA     90004385371
91356639241296   CHANIA         VERA                       PA     51083236392
91357252141296   MICHELE        THOMPSON                   PA     90000142521
91357292951342   PRISCILLA      CORBIN                     OH     90013652929
91358226355951   IRMA           MERAZ                      CA     49078572263
91358497991366   BRENNA         MCMASTERS                  KS     90009344979
91359355161979   MELVIN         BROWN                      CA     90012013551
91359733155951   JOSE           SANTILLANO                 CA     90012167331
91361333277537   YASMINE        TRUJILLO                   NV     90013453332
91362662355951   JUAN           ORTIZ                      CA     90013956623
91363493241296   VICTORIA       WOOLEY                     PA     90015284932
91363493381634   CANDIDO        MILLAN                     MO     90008174933
91363542891579   RAUL           FEDERICO                   TX     90006705428
91363816161977   ROBERTO        MORALES                    CA     46047618161
91364558193755   PAMELA         LANE                       OH     90011265581
91365536461979   CHANNI         GONZALEZ                   CA     90010755364
91365946691599   SABRINA        BELTRAN                    TX     90013969466
91366794551367   STACEY         LUNSFORD                   OH     90013347945
91366917591882   MEAGAN         GASTEL                     OK     90011459175
91367147191521   JOSE           BONILLA                    TX     75006391471
91367264561945   LUCIO          LUCIO                      CA     90010852645
91367824173261   ISMAEL         GARCIA                     NJ     90015348241
91368795461964   GRECIA         DELTORO                    CA     90008627954
91369342577927   BETZABE        HERNANDEZ                  IL     90015453425
91369391391399   DANIEL         RESENDEZ PEREZ             KS     90014563913
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91369493581635   AVIS           CHARLES                    MO     29069394935
91369711177537   NANCY          OBISPO                     NV     43058677111
91371422741297   ANNETTE        MACHULSKY                  PA     51075614227
91371848851342   VICENTE        GARCIA                     OH     66000278488
91372618255951   BERNARDO       CHAVEZ                     CA     90011376182
91372913551396   DOMONQUE       ERVIN                      OH     90014509135
91373185293756   ELIZABETH      YODER                      OH     90014641852
91373289781635   LACRISHA       GEORGE                     KS     29011842897
91373939491521   JUAN           MARIN                      TX     90012799394
91374341361977   JOEY           RODRIGUEZ                  CA     90009553413
91374446277537   ROSARIO        GONZALEZ                   NV     43016154462
91374488591944   MEGAN          EVANS                      NC     90014254885
91374651285689   NICOLES        STOROZUK IV                NJ     90011176512
91375617191521   BLANCA         ORRANTIA                   TX     90015326171
91376611191951   TANASHA        BRUNSON                    NC     90012736111
91376871261977   BRENDA         MUNOS                      CA     90015018712
91378675891399   WALTER         COLEMAN                    KS     90012606758
91378679785689   KENNETH        MARLOW                     NJ     85010826797
91378731151337   JESSICA        GARLAND                    OH     90012467311
91379133391944   JEANNETTE      PYATT-POND                 NC     90007831333
91381173451342   DUANE          BAUGHN                     OH     66050411734
91381933277537   MARINA         LOPEZ                      NV     90008539332
91383253491951   ALEX           JOEL GARCIA                NC     90015002534
91384124191882   JASMINE        STEPHENSON                 OK     90014791241
91384198793738   JARVARYS       POWELL                     OH     90013871987
91385592733698   YOLANDA        HOLLOWAY                   NC     90015345927
91385643851342   WALTER         TINDLE                     OH     66009626438
91385646791521   NANCY          VASQUEZ                    TX     75090816467
91388719421929   SANDY          CULLEN                     IN     90015477194
91388798561977   JOHN           REYNARD                    CA     90013437985
91389269491882   TASHA BLAIRE   PETERSON                   OK     90010392694
91389896193755   RONALD         WEBB                       OH     90014908961
91391426391599   JOSE           FERNANDEZ                  TX     90010034263
91391893491882   HARRISON       FLORA                      OK     90007838934
91392838977537   RONALD         PORTER                     NV     90009298389
91392855641296   CARMEN         MITCHELL                   PA     90012298556
91394472291599   LIZ            YBARRA                     TX     90003994722
91394528777537   PATRICK        VAILAHI                    NV     43074095287
91394789951342   MOSSIE         COPE                       OH     90011057899
91395397291399   HERENZO        FLORES                     MO     29020493972
91395557393755   DUANE          HUTCHINSON                 OH     90013365573
91396545791599   EUGENIO        RODRIGUEZ                  TX     75046075457
91398228781635   JAMES          HOSEY                      MO     90012542287
91411184791882   AMY            BEARSHEAD                  OK     90014791847
91412478691599   NANCY          LARA                       TX     90013324786
91413744391599   HEIDI          PINEDO                     TX     90006577443
91414246591882   BILLIE         CAMBELL                    OK     90014792465
91414742377537   CLARA          CARRILLO                   NV     43037057423
91414748655942   ADRIAN         GAMBOA                     CA     90004227486
91415196361979   MIGUEL         ARZALUZ                    CA     90011611963
91415446791521   JOSE           CORONA                     TX     75043714467
91415821841297   KATHERINE      SCHWARTZ                   PA     51025778218
91415839893756   BILLY          BUNGER                     OH     90014738398
91415934391882   TONISHA        COLBERT                    OK     90011059343
91416821581634   MARIA          BARRON                     MO     90011948215
91416898155951   MEAGAN         ALONSO                     CA     90005818981
91417377541296   PAMELA         LIGONS                     PA     90012993775
91417598181638   JUSTIN         JONES                      MO     90010005981
91419341541296   KELLY          LANKES                     PA     90012553415
91419417261979   RICARDO        SANCHEZ                    CA     90003554172
91421388541296   KAREN          ELLISON                    PA     51000483885
91424942491882   VANCE          TONY                       OK     90000229424
91425325681634   TROIYA         THOMPSON                   MO     90014983256
91425593591521   ANGEL          CABRRERA                   TX     75030355935
91427354393755   ARTHUR         TAYLOR                     OH     90013653543
91427639693755   ARTHUR         TAYLOR                     OH     90014236396
91428116991944   BRYANT         JOHNSON                    NC     90002981169
91428139191521   MELANIE        RAMIREZ                    TX     75071481391
91428996291579   VICTOR         ALVARADO                   TX     75053269962
91429145455951   ANGEL          SANCHEZ                    CA     90014071454
91429423881635   MELVIN         LONE                       KS     29083834238
91429645733698   FABIAN         VILLALBA                   NC     12093706457
91429867377537   CORTNEY        SUMMERS                    NV     90013378673
91431932291951   KENNETH        VALENTINE                  NC     17089149322
91434128191521   VICTOR         RAMIREZ                    TX     75030501281
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91434139393756   HEIDI         LAWSON                      OH     64527181393
91435219291944   HAYZEL        STOROMAN                    NC     90009982192
91435232593755   THERESA       ROBINSON                    OH     90001262325
91435738491599   SAMANTHA      VASQUEZ                     TX     90013427384
91436916757564   FRANK         KERSHAW                     NM     90009459167
91437241191599   ROBERTO       RIVAS                       TX     75086172411
91437616155951   NOEL          GUTIERREZ                   CA     90013676161
91438891161977   THERESA       DURAN                       CA     46043118911
91438969357165   GERALD        MURRAY                      VA     90011679693
91439358281641   FATUMA        MAHAMED                     MO     90013873582
91439577738531   ROSCMARIE     GARCIA                      UT     90014535777
91439799461977   HECTOR        MEDINA                      CA     90013927994
91441738891599   DAVID         OTERO                       TX     75003357388
91441969181634   ROB           RIMP                        MO     90013969691
91442811133647   ALLEN         HARRIS                      NC     90014008111
91442937577537   MARITZA       JIMENEZ OCHOA               NV     90012639375
91443641781634   ELTROUS       HAWTHORNE                   MO     90009906417
91444166291521   MARIA         PEREZ                       TX     90013301662
91444389385932   JACINTO       GONZALEZ                    KY     90015483893
91444586651342   IMAR          MARTINEZ                    OH     90002275866
91445253181634   CORTEZ        RODRIQUEZ                   MO     29053652531
91445675351342   EARLIENE      MADISON                     OH     90011056753
91445854985689   MOSTAFA       ELSHERIF                    NJ     85012218549
91445952591951   SYLVIA        TAPP                        NC     90014809525
91447226991882   RICHARD       SOCKMAN                     OK     90014792269
91449437791951   AGUSTINA      ORTEGA                      NC     90012094377
91451562291599   CLAUDIA       SANCHEZ                     TX     90007845622
91451961191882   KRISTI        ZIEGLER                     OK     21059459611
91452728391599   LAURA         CALLEROS                    TX     90012637283
91453414355974   ERIK          MUNOZ                       CA     90012384143
91453596951325   JOE           FROST                       OH     90013605969
91453925355951   LORINA        ESQUEDA                     CA     90014629253
91454246591882   BILLIE        CAMBELL                     OK     90014792465
91455864685689   VERONICA      MELCHOR                     NJ     90015238646
91456556993755   MIKE          ALLEN                       OH     90005495569
91456736577537   MIGUEL        AKIU                        NV     90014457365
91457244693755   CHARLES       JACKSON                     OH     90009872446
91457872443524   RICHARD       SZERSZEN                    UT     90000878724
91459525981634   ROXANNE       JESTER                      MO     29002475259
91461168661977   SHALEISHA     MITCHELL                    CA     46012011686
91461262291399   JOLENA        QUINTANA                    KS     90008422622
91461577232582   GINA          RIOS                        TX     90014805772
91462854293755   DAJANN        JACKSON                     OH     64509938542
91463114985689   ALEJANDRA     RUIZ                        NJ     90012741149
91463275391882   DEMETRIA      GRIFFIN                     OK     90012132753
91464311791882   NATHAN        HARTWIG                     OK     90014793117
91464723551342   FREDRICK      THOMAS                      OH     90013057235
91465755791599   MONIQUE       JIMENEZ                     TX     90001307557
91465981581635   DANIEL        DOWDELL                     MO     29051699815
91466443491951   HEATHER       HOWARD                      NC     90012094434
91467378755951   ALEJANDRO     CORTEZ                      CA     90001723787
91469394681635   ROBERT        COOPER                      MO     90015523946
91469512981634   AMY           MILLS                       KS     29012345129
91469879391399   OLIVIA        LENLEY                      KS     90014628793
91471633633698   ASHLEY        WILLIAMS                    NC     90013496336
91471657155951   MIGUEL        SANCHEZ                     CA     49067426571
91472475661979   ANA           CAMPOS                      CA     90011004756
91472642961977   FRANK         NAUTA                       CA     90014836429
91472721577537   JAYSON        MCVICKERS                   NV     90014727215
91473139493755   CHAD          JOHNSON                     OH     90014701394
91473483591888   SABRINA       SPRADLIN                    OK     90012174835
91473573181634   MORRIS        SMITH                       MO     90013705731
91474832755951   LORENA        GUETERRIEZ                  CA     90012738327
91474966691944   SAMUEL        WELDEGERGIS                 NC     90013959666
91475869277537   ADRIAN        DUMINIE                     NV     43014988692
91476292391399   CHRISTOPHER   BERNARD                     KS     90013122923
91477826681634   PATRICIA      CAMPOS                      MO     90008298266
91477898585689   KIYA          WELLS                       NJ     90010438985
91481262272475   DANIEL        SAGATH                      PA     90010172622
91481465981683   CORY          JEFFERSON                   KS     90007014659
91481718985689   FRANCES       GUZMAN                      NJ     90003587189
91482468841296   JUSTICE       SMITH                       PA     90012434688
91482793691599   WILLIAM       MARTINEZ                    TX     90007567936
91482825155951   ANA           CASTELLANO                  CA     49027808251
91482854591882   DJUANIA       STEARS                      OK     21014718545
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91482948351384   REBECCA      GREEN                        OH     90005009483
91483475951342   GREG         HENDERSON                    OH     90013284759
91484752891599   MARTHA       RODRIGUEZ                    TX     90005027528
91488746991599   CRUZ         CHAVEZ                       TX     75055667469
91491253855934   RAMONA       ALVARADO                     CA     90006052538
91491422891599   RAUL         MAYNEZ                       TX     90014884228
91491686291521   ERNESTO      ROMO                         TX     75061066862
91491851761977   MAYRA        CALLEJAS                     CA     90005968517
91493281433698   JEREMY       WILLIAMS                     NC     90015152814
91493939291521   ADOLFO       VIEWEG                       TX     75052219392
91496538671956   MANUEL       ALVAREZ                      CO     38009275386
91496724631476   ZANSHEREE    BLUE                         MO     90004007246
91497193491599   ROSA         MARTINEZ                     TX     75092591934
91497243161979   STEVE        HARRIS                       CA     90009302431
91497334485689   ANTONIO      WILMORE                      NJ     90014773344
91497425791951   LATASHA      CATES                        NC     90014474257
91498265881634   TOMMY        MURILLO                      MO     29074642658
91498852191599   SANDRA       SIAS                         TX     90014308521
91498928293756   CHARLES      GOVEY                        OH     64588709282
91499189993755   KRISTIN      LEIGHLITER                   OH     64552491899
91511217551342   DAVID        HOPKINS                      OH     66004732175
91511465341296   MELINDA      WILCOX                       PA     90008604653
91511491277537   DALIA        GONZALEZ                     NV     43074824912
91511597285689   RAHSHEDA     CLEMENTS                     NJ     90012845972
91512376691882   MARKEVIA     WILLIAMS                     OK     90014793766
91512612591951   SHETARRA     BURTON                       NC     90012756125
91513386291944   RICHARD      MASSEY                       NC     90015413862
91513637451396   JOHN         HOUSE                        OH     66014986374
91514112761977   CARLOS       ARMAS                        CA     90013101127
91515653861954   MARIBEL      HERMONSILLO                  CA     90002546538
91516112591882   LASHELLE     CHATMON                      OK     90009031125
91518549285689   BARBARA      PIETRONUDO                   NJ     90004235492
91518653977537   ELISABETH    HATHEWAY                     NV     90008746539
91519182691599   PATRICIA     RONQUILLO                    TX     90013361826
91519345585969   YASMEEN      HEGAZY                       KY     90010853455
91522198871922   JENNIFER     WOOD                         CO     90010121988
91523354291944   DEONNA       WATSON                       NC     90013373542
91524136191599   OSVALDO      MCHUGH                       TX     90014461361
91524536955951   LEEFONG      YANG                         CA     90014555369
91526423651342   SHARNELLE    STARLING                     OH     90014044236
91527146391882   DANIEL       MILLS                        OK     90006001463
91528262272475   DANIEL       SAGATH                       PA     90010172622
91529571961977   JESUS        BARAJAS                      CA     90011925719
91531225955951   ADAM         LEIJA                        CA     90012042259
91531881891951   SHATERRICA   MCMILLAN                     NC     90013958818
91532111593778   JODI         FORCE                        OH     66078221115
91532828177522   TAMARA       NELSON                       NV     90008598281
91533185693756   RICH         BOWLES                       OH     64505111856
91534428591399   CAROL        LAWRENCE                     KS     90010124285
91535554991399   PAOLA        PINTO RIVERA                 KS     29085335549
91535881785689   HECTOR       GARCIA                       NJ     90010478817
91536435261921   DHIA         IBRAHIM                      CA     90003484352
91536875993755   JACK         STACY                        OH     90011408759
91537456591951   JESUS        ESPITIA                      NC     17036954565
91537744355951   SHANNA       MORA                         CA     90008997443
91537971877537   VERRIE       BARNHART                     NV     90013099718
91538619877522   MARIA        ANTON                        NV     90007886198
91541154457563   YOLANDA      ARMENDARIZ                   NM     35562151544
91541759977537   SAMANTHA     AGUILAR                      NV     90014377599
91541885251342   MANUEL       VALDEZ                       OH     90013928852
91543397691521   HENRY        VILLALOBOS                   TX     75092953976
91543669291599   BETTY        CASTLE                       TX     75086316692
91543933191521   ERIKA        DE LEON                      TX     90014789331
91544293291988   YADIRA       GOMEZ-SANCHEZ                NC     90011412932
91544458291951   SHARYL       RICHARDS                     NC     90013994582
91545127161977   JAZMINE      NAVARRO                      CA     90008551271
91545378781635   TORSHA       POWELL                       MO     90014933787
91546496785969   LISA         HILL                         KY     90003044967
91547172977537   RAYMUNDO     GUERRA                       NV     90014211729
91547263191951   MARILUZ      CUBAS                        NC     90014862631
91548589591951   NELSON       ROSALES                      NC     90011505895
91551462993769   AMANDA       HODSON                       OH     64511434629
91552734393756   ROCHELLE     WILLIS                       OH     64544257343
91553758181634   KAISHA       GURLEY                       MO     29034417581
91553915691599   YVONNE       MORENO                       TX     90012039156
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91554499491399   RHONDA                 ERNST              KS     90010334994
91554964581476   ELDEN                  HIGGINS            PA     90013349645
91555547855951   ALFONSO                PANTOJA            CA     90013245478
91556168591951   EUSTACIO               VALERIO            NC     90009221685
91556397177522   MARISOL                DUENEZ             NV     43016393971
91556731391599   DANIELA                BUENO              TX     90014407313
91557591891951   JUAN                   ORDONEZ            NC     17065155918
91558683777537   JOHN                   HAYS               NV     90005726837
91559564381634   SAMANTHA               WILCUTT            MO     90012205643
91561496893769   SHAWNTA                WATERS             OH     64515984968
91561559893756   MIKE                   ROWE               OH     90013955598
91562163551342   BRYAN                  HILSON             OH     66094911635
91562462991882   ALYSON                 GRIFFITH           OK     90014794629
91562557881635   ASHLEY                 OVERSTREET         MO     29027415578
91563279681635   CASSANDRA              LARRY              MO     29017502796
91563899991951   JENNIFER               HUNTER             NC     90014948999
91564192781634   DEANDRE                WILLIAMS           MO     29008591927
91566132691944   GUADALUPE DEL CARMEN   MARTINEZ           NC     90009911326
91566462991882   ALYSON                 GRIFFITH           OK     90014794629
91567168491327   AMBER                  DOYAL              KS     90002511684
91567245181634   LARRY                  RAND               MO     29051852451
91567476257564   GREGG                  MARTINEZ           NM     90013294762
91567873233698   EUNICE                 SHEPPARD           NC     90011938732
91568127891944   WAYNE                  BENNETT            NC     90012861278
91568389493755   DESHONE                WILLIS             OH     90012633894
91568718241268   SONYA                  WORLDS             PA     90013137182
91569851757125   JOSE                   PORTILLO           VA     90006548517
91571799755974   CINDY                  PALACPAC           CA     90012727997
91573469777537   DEBORAH                NAVARRO-GARCIA     NV     90011734697
91574459485689   RUBEN                  PEREZ              NJ     90014574594
91574572351342   NATASHA                VILLARREAL         OH     90013295723
91576687181638   STACI                  GRAY               MO     29078906871
91576863855951   FRANKIE                PEDROZA            CA     90010178638
91577319533698   JASON                  TUTTLE             NC     90014403195
91578734291599   MYRNA                  QUIRINO            TX     90013017342
91578788155951   VINCENT                WALSH              CA     90014027881
91579652285689   MARVIN                 PEREZ              NJ     90013366522
91579928293756   CHARLES                GOVEY              OH     64588709282
91581172191951   ANTONIO                MENDOZA            NC     90014151721
91581715161977   ABELINO                VELAZQUEZ          CA     90009377151
91582372891944   JOSEPH                 CORBETT            NC     90012943728
91582414981648   LEIGH                  TRAW               MO     90012444149
91584149181635   BRANDON                CARR               MO     90015131491
91584582385689   MARIA                  RIVERA             NJ     90012785823
91584665261977   DARREL                 SAWYER             CA     90004196652
91585127491531   MANUEL                 DAVILA             NM     90008821274
91585517891599   CLAUDIA                FERNANDEZ          TX     90005645178
91585981855951   ELIZABETH              MALDONADO          CA     90008099818
91586144957144   PATRICK BLAKE          MOSES              VA     90013391449
91587296443584   CARI                   MURRAY             UT     90008742964
91587973951342   SETH                   CORNEIUS           OH     90008519739
91589952891526   BEATRIZ                FRANCO             TX     90009199528
91591492781638   RONALD                 GARRIS             MO     29049404927
91591757485689   HOMERO                 SALAS              NJ     90014927574
91592361481634   CHARLES                GALLOWAY           MO     90012563614
91592869161927   YADIRA                 AYALA              CA     90010378691
91593335691521   MICHELLE               SILVA              TX     90015153356
91593438561977   JASMINE                BADGER             CA     90013234385
91594523191944   FAIZA                  FARAH              NC     90006745231
91595615977537   BRITTANY               SYLVESTER          NV     90001406159
91596613593768   PAMELA                 LEMASTERS          OH     90014296135
91597363533698   JEFF                   MARSHALL           NC     90010383635
91597526691882   JUAN                   HURTADO            OK     90014795266
91599283491399   ROBERTO                PICHARDO           KS     29000242834
91599981191944   CRYSTAL                DUENASPEREZ        NC     90014889811
91612163793767   KATIE                  SHAW               OH     90000881637
91612426293756   TRINITY                ALSPAUGH           OH     90014174262
91613465433698   JOSEPH                 WILLIAMS           NC     90015094654
91613549191882   RHONDA                 JHONSON            OK     90014795491
91613779561977   ANTONIO                ESTRADA            CA     90006287795
91614553491882   CELIA                  ESPINOZA           OK     90014795534
91615128761977   CARLOS                 VAZQUEZ            CA     90000591287
91615163285689   KAREN                  MCCOY              NJ     90014171632
91615278941296   VERONICA               PENN               PA     90014602789
91615482891521   ARMANDO                REGALADO           TX     75088724828
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91616555891882   KAMARIA      WILLIAMS                     OK     90014795558
91617484881634   STEVEN       VAN                          MO     29054124848
91617765591599   LISA         MARTINEZ                     TX     90010887655
91617957741296   RASHAD       BOLDEN                       PA     90001699577
91618388277537   YASMIN       GURUNG                       NV     90013483882
91618647693769   LEAH         RIKE                         OH     90010326476
91618729591521   MARICRUZ     MONCAYO                      TX     75040717295
91619182981638   ERICA        WALTON                       MO     29008351829
91622216455951   ROSALINDA    DUARTE                       CA     90000872164
91622315393755   MARIO        ALEXANDER                    KY     64525113153
91625277655951   ANTHONY      CHAPARO                      CA     49018012776
91625487721929   JEFF         MAYNARD                      IN     90007094877
91626126881634   JAWANA       WILLIAMS                     MO     90013581268
91626171881638   STACEY       ASHLEY                       MO     90003341718
91627264491951   ROCEHIA      BULLOCK                      NC     90014072644
91628598691882   JAVIER       JARAMILLO                    OK     90014795986
91629379691521   ELIZABETH    MEDINA                       TX     90014683796
91632278791521   KATHIA       CARREON                      TX     90014902787
91632692691951   ISABEL       GOMEZ                        NC     90012726926
91633815581638   MICHAEL      MYA                          MO     29005998155
91634284791521   MICHAEL      QUINTERO                     TX     90010862847
91634776891944   DANA         HOPKINS                      NC     90001677768
91635592177537   JESSIKA      HARO                         NV     43076745921
91635946191828   RODNEY       WHATLEY                      OK     90013749461
91636582391521   BALENTINE    ANA C                        TX     90011365823
91636867481635   GABRIELA     MENDOZACASTILLO              MO     90014108674
91637378691599   DANIEL       RAMIREZ                      TX     90011093786
91637669991521   ERICK        JHONSON                      TX     90015276699
91638633191882   MAUREEN      CIRILLO                      OK     90014796331
91641359891882   CHELSEA      BROWN                        OK     90009263598
91641725377537   RONALD       CALDERON-ARRUE               NV     43006537253
91642329351342   DAMON B      WYATT                        OH     90014503293
91642633191882   MAUREEN      CIRILLO                      OK     90014796331
91642862877537   JACK         WANSTREET                    NV     90010698628
91645233193755   PAUL         WISE                         OH     64551482331
91646276185689   JESUS        MORALES                      NJ     90014312761
91646415933698   NAKESHIA     MILLER                       NC     90014164159
91646633191882   MAUREEN      CIRILLO                      OK     90014796331
91647338681635   FRANCISCO    RAMIREZ                      MO     29042413386
91647425661927   ANABEL       GARCIA                       CA     90011984256
91647862991944   APRIL        CURTIS                       NC     17085488629
91648167293755   FRANK        CLARK                        OH     90014471672
91648256991521   MARIA        PASTRANA                     TX     90009962569
91649551961979   YAZMIN       CORTEZ                       CA     90010565519
91649664291944   LIZATH       IZAGUIRRE                    NC     90010636642
91651337361977   VANCE        JENKINS                      CA     90010813373
91651976291882   JUAN         GIJON                        OK     90014589762
91652381591599   LUIS         PEREZ                        TX     75046723815
91652576341268   KATLYNN      ARNOLD                       PA     90008705763
91654584151342   MISTY        STEWARD                      OH     66012305841
91655935991521   ROSA         MACIAS                       TX     75008129359
91656575391951   QUEEN        GENTRY                       NC     90011625753
91658152191944   LILLIAN      COOPER                       NC     17064101521
91661665755954   SHIRLEY      GARCIA                       CA     90014186657
91662371855951   JUAN         GARDUNO                      CA     90007593718
91664449891951   SUE ANNE     DAY                          NC     90012304498
91664738491944   ALICIA       EASTON                       NC     90008457384
91665264361977   DESIREE      MILANI                       CA     90000892643
91665453251342   CATRINA      ANDERSON                     KY     90006744532
91667466533698   JOSEPH       STINE                        NC     90010394665
91667539491882   ASHLEY       NICOLE                       OK     90009675394
91667788255951   SEREENA      DAVIS                        CA     90005837882
91668296991951   ROSA         BANEGAS                      NC     90015312969
91671276791399   CHOU         LEE                          KS     90014632767
91672579493752   MICHAEL      HOWARD                       OH     90012565794
91674663441296   DENISE       CHESTER                      PA     90007886634
91674711181638   HERMALINDA   LOPEZ                        KS     90012157111
91675392281634   MATTHEW      FISH                         MO     90015273922
91675848891927   RAUEL        ORTEGA                       NC     90010798488
91676218291599   MIGUEL       BONILLA                      TX     90014372182
91676383977537   BRANDI       HAYES                        CO     43050353839
91677258291951   KEMBERLI     MCDUFFIE                     NC     90000812582
91677527377537   GUADALUPE    LOPEZ                        NV     90014485273
91678159491951   GERALDINE    GRAY                         NC     90014101594
91682476451342   MONICA       ROSS                         OH     90005724764
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91684463477927   VECENI D     JULIOUN                      IL     90001004634
91684758591599   LESLY        BARBOA                       TX     75021787585
91686793155951   MARCELO      RUIZ                         CA     90001627931
91687111881634   MR           THOMPSON                     MO     29001101118
91687529891599   ISELA        PALMA                        TX     90012255298
91689352491521   FERNANDO     MARIN                        TX     75087023524
91689639881635   DAISY        JUAREZ                       MO     90010146398
91691219577537   DONAVAN      OZUNA                        NV     90015262195
91691889951342   JODI         QUICK                        OH     90011528899
91691928691327   FRANK        MEDINA                       KS     90014009286
91692249681635   SYLVIA       GERALD                       MO     29056492496
91692554181669   CASSANDRA    MARTIN                       MO     90005145541
91693218881634   OMAR         GUERRE                       MO     90012502188
91693388591826   KIMBERLY     MCREYNOLDS                   OK     90012213885
91693899391599   HECTOR       JIMENEZ                      TX     75087708993
91694427981634   MARKETA      THOMAS                       MO     90010774279
91695582985689   NOE          MENTADO                      NJ     90013025829
91696664271635   KEISHAWN     CATO                         OH     90000586642
91697452691521   ROSALINA     MARRUFO                      TX     75087144526
91697641591327   DOROTHY T    WHITEHEAD                    KS     29008286415
91698762341296   ROBERT       JORDAN                       PA     90012037623
91698866685689   SAMANTA      HERNANDEZ                    NJ     90012778666
91699516591882   JACOB        DONALDSON                    OK     90006615165
91699817677537   JOSE         MEDINA-MEDINA                NV     90013458176
91712164681638   ANDRIANA     MARTINEZ                     MO     29019441646
91712378855951   NORAYMA      LANDEROS                     CA     90011243788
91712947785689   JOSE         EZAMA                        NJ     90015039477
91713578551342   DAVID        HIPOLITO                     OH     90010225785
91714313591944   BEN          WILKINS                      NC     90012983135
91714596891882   SHIRLEY      BRADLEY                      OK     90014815968
91715288591882   DIEDRA       DISHMON                      OK     90014802885
91718861491521   JANIE        LOPEZ                        TX     75087008614
91721665661977   SHAWN        REYES                        CA     90014826656
91721967877537   RENE         CABUNOC                      NV     90004689678
91723443471936   XAIVER       SAPEDA                       CO     90011774434
91723751491399   JOSE         VILLASANA                    KS     29015917514
91723913491882   NIESHA       HAMILTON                     OK     90002489134
91724324181634   KRISTINA     SCHROCK                      MO     29021843241
91724862877537   MICHAEL      BIRD                         NV     43083048628
91725787191544   JESUS        VELEZ                        TX     75004597871
91727442885689   MARIAH       GOUAN                        NJ     90014584428
91728296861979   DENISSE      AGUILAR                      CA     90007252968
91728368393756   JUSTIN       HIATT                        OH     90008393683
91729165555951   STEPHEN      HOLMES                       CA     49084441655
91729428185689   BEATRIZ      MARTINEZ                     NJ     90013934281
91729732793756   SHANNON      RILEY                        OH     64511347327
91729742977927   KRYSTLE      SUTTON                       IL     90015517429
91731315191882   THOMAS       MAXWELL                      OK     90014803151
91731367691599   ALICIA       ALVAREZ                      TX     90007723676
91732521777537   JULIE        GAZZIGLI                     NV     90012955217
91732758751342   ANGELA       TAYLOR                       OH     90009097587
91733627391399   CHARRON      MCDONALDS                    KS     90011506273
91734362181635   KATHY        PERSINGER                    MO     29098683621
91734521191944   VICTOR       ADIGWE                       NC     17048335211
91734873661977   TRENE        WILLIS                       CA     90013388736
91736332841296   DONNA        JONHSON                      PA     90001593328
91738333591882   JEFFERSON    JOUBERT                      OK     90014803335
91738637533666   OSCAR        VARGAS                       NC     90013936375
91739472391951   ERIKA        ARMENDARIZ                   NC     90015454723
91739493591599   EFRAIN       CALLEROS                     TX     90012464935
91739688633698   JOSHUA       WADE                         NC     90015266886
91741241955947   LUPE         PASILLAS                     CA     90000822419
91741892291521   RONALDO      BERNAL                       TX     90014908922
91741979691521   HERRERA      MARIA                        TX     90012369796
91742345555942   CHELSEA      ABILA                        CA     90006103455
91742466655951   DUMNA        WO-WAH TRIBAL                CA     90004714666
91743443877537   SANDRA       MARTINEZ                     NV     90000464438
91743732355951   FRANK        LEE                          CA     90001037323
91743767381258   ALEX         BARTLEY                      IN     90010567673
91743974851342   STACIE       MARTIN                       OH     90012939748
91745512551342   MANUEL       BERROA                       OH     90012655125
91746239885689   NICOLE       MORETTI                      NJ     90012782398
91746537681635   ROSA         HINOJAS                      MO     29056815376
91746732941296   PAUL         SOGA                         PA     51093557329
91747217891951   YASMIN       TAYLOR                       NC     17060072178
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91747856377537   DANIEL        AYALA                       NV     90014908563
91747884461979   LEWIS         QUICK                       CA     46001088844
91748181585689   RANDY         YOUNG                       NJ     90013221815
91748685541296   JASON         SCHMIDT                     PA     90000966855
91749727777537   DONNESIE      GREENLAW                    NV     90015117277
91751178233698   CLAUDINE      CASENEVVE                   NC     90013741782
91751352341296   KAREN         BUCHKO                      PA     90003163523
91751383491951   MARY          BRANCH                      NC     17025613834
91751847977537   RICHARD       PRENDEZ                     NV     90015058479
91752439391882   MONA          HODGES                      OK     90006744393
91752498751342   CHRISTOPHER   CASE                        OH     90015094987
91754367491882   PAUL          MEIER                       OK     90014803674
91754743991521   RACHEL        LOPEZ                       TX     75058967439
91755458561977   JAMES         MICKELSON                   CA     90010244585
91755692277537   SAM           TORRES                      NV     43072086922
91756133255951   JAY           LOPEZ                       CA     90013971332
91756459955951   JAMAAR        CARTER                      CA     90011244599
91758128355951   BEE           LEE                         CA     90013971283
91759127291951   MARCO         VASQUEZ                     NC     90006181272
91761123491521   VICTORYIA     AHUILAR                     TX     90010061234
91761518681634   CARLOS        LOPEZ                       MO     90013805186
91761689191599   HORTENCIA     SALAS                       NM     75083416891
91762843591951   MEJIA         HERNANDEL                   NC     90013928435
91764716861977   HERIBERTO     ORTEGA                      CA     90009877168
91766137393769   ANTWAN        FREEMAN                     OH     90006711373
91766199481635   OSWALDO       GONZALEZ                    MO     29009841994
91766754533698   JUJUAN        LOCKETT                     NC     90014507545
91766869691399   LENECIA       NEVELS                      KS     90014878696
91767487861927   LETICIA       ROBLEDO                     CA     90001714878
91767526155951   ROSALINDA     MORENO                      CA     90011405261
91768394991882   KATHRYN       STAAB                       OK     90014803949
91769268161979   DAVID         STUART                      CA     90010572681
91769592751342   NATHANIEL     COMINSKY                    OH     90011855927
91769954477537   VERONICA      GUERRERO                    NV     90014579544
91771472881634   ASHLEY        WILSON                      MO     90014724728
91771483391599   BRIAN         JOHNSON                     TX     90013254833
91772147955951   HERNANDEZ     PATRICIA                    CA     49015271479
91772218591951   JEU           GOMEZ                       NC     90014822185
91774277951342   CHRISTY       REYNOLDS                    OH     90014462779
91774311791599   AMANDA        KUEHN                       TX     90012203117
91775329777537   MAUREEN       SALAZAR-ROMERO              NV     90003083297
91775461391348   TAMERA        STRONG                      KS     29045974613
91775786991544   GUSTAVO       VILLANUEVA                  TX     75047697869
91776473638658   SHAWN         SERBICE                     FL     90015444736
91776512991327   AMY           MILLS                       KS     29012345129
91776557855951   MESHA         SADLER                      CA     49073985578
91776799285689   NEISHA        ROSA                        NJ     90013207992
91777232391327   TAMARA        HUMPHREYS                   MO     29039522323
91778175591399   MOSIS         JALLOW                      KS     90008071755
91778312291399   JANILLE       MOTEN                       KS     90014643122
91781463791951   JOSE          PEREZ                       NC     90012974637
91783315741296   MIKE          THOMPSON                    PA     90015123157
91783944761977   KIRBAN        KELLER                      CA     90013849447
91784337281638   KERRI         WILLIAMS                    MO     29076123372
91784371391951   TONY          VAUGHAN                     NC     90013783713
91784519885689   MATEO         ORTIZ                       NJ     85092095198
91784985993755   KELLIE        TAYLOR                      OH     64538179859
91787126885689   MADELINE      ALVAREZ                     NJ     90012801268
91788381781635   ERIKA         SOLIS                       MO     90014133817
91789124385689   RUBIO         AGUILAR                     NJ     90012071243
91793389985689   CLAUDIA       MEJIA                       NJ     90012803899
91793988955951   JESUS         VILLGAS                     CA     90008099889
91794148491944   EDGAR         CAZARES                     NC     90010351484
91794471691399   RIGO          CHAVIRA                     KS     90014534716
91794531391327   CARLOS        RAMOS                       KS     90008185313
91795744491944   MARIE         ROGERS                      NC     90011087444
91796458593755   LORI          BOYD                        OH     90001874585
91796486941296   DAVID         WHITESIDE                   PA     90002234869
91796547251342   JON           HAMMOND                     OH     90014305472
91796933481635   DIONNE        BEACH                       MO     29073179334
91797744351342   NOUR          ALJAMMAL                    KY     90014757443
91799135991944   DENEAH        JACOBS                      NC     90002091359
91799678181634   CRAIG         SEEVERS                     MO     29018696781
91799711393769   DAWN          LEDFORD                     OH     64540337113
91811126761979   ADRIANA       GARCIA                      CA     90007401267
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91811988733698   ANGELA        VINCENT                     NC     12010819887
91812316533666   SILVIA        MORAN                       NC     90012063165
91813125785689   FELIX         MATIAS                      NJ     90012641257
91813222491944   MARTA         CRUZ                        NC     17057232224
91813513261977   LINDA         MONTOYA                     CA     46087035132
91813515855951   ROSINA        GARZA                       CA     90011245158
91813957677537   LUIS          ANGUIANO-OROZCO             NV     90012419576
91814144655951   ANDRES        COBARUBIAS                  CA     90013971446
91815883333698   SUKARI        NETTLES                     NC     90014558833
91818844591599   CLEOTILDE     RUIZ                        TX     90004708445
91818951391994   ANITA         CAMPBELL                    NC     17073349513
91819147655951   EDUARDO       TORRES                      CA     90013971476
91819543155926   LAURA         MANTUJANO                   CA     90009515431
91822457481638   TALISHA       COTTONHAM                   MO     90003344574
91822697431439   CRYSTAL       YOUNG                       MO     90012776974
91823987255951   PEGGY         TAYLOR                      CA     90014249872
91824189893756   MICAH         RUSSELL                     OH     90011931898
91824398693755   MARTINA       RAYGOZA                     OH     90013963986
91824972361977   ARACELI       CASTELLO                    CA     90014419723
91825426255951   AUSENCIA      ROJAS                       CA     90002014262
91825682141296   NADINE        FABIAN                      PA     51088386821
91826463233698   EVA           VAZQUEZ-QUINTERO            NC     12045294632
91828144591882   TYRONE        CROSSLEM                    OK     90011061445
91829442281638   HEYDIE        CHACON                      MO     90003344422
91829726991882   SARAH         FRANKLIN                    OK     21027317269
91831136193755   BRITTANY      JENKINS                     OH     90012061361
91832186193755   PATSY         TOMPKINS                    OH     64552981861
91832445673261   JUAN          SORIANDO                    NJ     90015474456
91832644491521   CASAS         JUAN                        TX     75064206444
91833431891399   ANGIE         CORRELL                     KS     90014644318
91833681393756   COURTNEY      PARIN                       OH     90011156813
91834182691599   PATRICIA      RONQUILLO                   TX     90013361826
91834488191521   JOSEFINA      MENDOZA                     TX     90006324881
91835564355938   JAGROOP       SINGH                       CA     90012655643
91835879133698   SABRINA       STEED                       NC     12049888791
91836562677537   EDITH         ESPARZA                     NV     90015205626
91837216685689   CYNTHIA       CONWAY                      NJ     90012022166
91837845691599   SELENE        MORENO                      TX     90001028456
91838771777927   MARINA        WOOD                        IL     90015547717
91842122185689   CIERRA        SALDANA                     NJ     90013961221
91843559491951   YOLONDA       GUI                         NC     90014585594
91843728891327   WILLENA       GRANT-HARRIS                KS     29074927288
91844614833626   SHAUNNA       JEFFRIES                    NC     90012246148
91844713951342   RIGOBERTO     HERNANDEZ                   OH     90008637139
91845174593748   CHASTITY      HENDERSON                   OH     90007721745
91846475581638   SOCORRO       BANUELAS                    MO     29010934755
91847182393755   DEBRA         MOORE                       OH     90012351823
91848553455942   MALINDA       GARCIA                      CA     48081315534
91848836333698   JEROME        DAVIS                       NC     90000958363
91851623791882   PAU           LANGH                       OK     90014806237
91852143655951   DAMON         HIGGINS                     CA     49076821436
91852626891882   WAYLON        WOODS                       OK     90014806268
91852866233698   JANET         CECIL                       NC     12051558662
91852996191348   HECTOR        ROBLES                      KS     90006829961
91853387993755   MATT          MOSS                        OH     90013573879
91853655991951   CHRISTOPHER   GRIMES                      NC     90015316559
91853913351342   KHADIJAH      AKIL                        OH     90003669133
91854115633698   LENESHA       GAINEY                      NC     90013751156
91854348955951   MAI           VANG                        CA     90015303489
91854467851342   SHAUN         RUE                         OH     90010434678
91854735391526   VICTOR        CERVANTES-FRIAS             TX     75013297353
91855923491882   BRYANNA       MCINTOSH                    OK     21064699234
91856579391882   JAMES         BANKS                       OK     90009675793
91857189633698   SOLOMON       BEE                         NC     90013611896
91858242891944   JEAN          ROSE                        NC     17035382428
91858886155951   JESSE         SILOS                       CA     90014338861
91859394851342   JACQUELINE    HIDALGO                     OH     90007423948
91859658541296   RUSLAN        SARDALOV                    PA     51072406585
91862469391882   TYHITA        HARDING                     OK     21045024693
91862683993755   GREGORY       KNIGHT                      OH     64552216839
91862834577537   JUAN          GUTIERREZ                   NV     90012998345
91862849991399   TASHA         REED                        KS     90012898499
91863332191531   JEANNETTE     ORTIZ                       TX     90011063321
91863455641296   LASHAWN       ABRAHM                      PA     90014544556
91864732891399   LINDSEY       LUCAS                       KS     90014417328
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91865997361977   DEVORA           SANCHEZ                  CA     46049879973
91866483793755   APRIL            WHITTIER                 OH     64528154837
91866611591882   PEGGY            BALLANDBY                OK     90014816115
91866782351342   ANNA             BALL                     OH     66094777823
91867386655951   WENDY            GILES                    CA     90013333866
91867421277537   JESUS            MORENO                   NV     90006914212
91868132393755   APRIL            TAYLOR                   OH     90013751323
91868776855951   GUSTAVO          RUIZ                     CA     49035317768
91872262391944   RUSSELL          BRODIE                   NC     90013162623
91873364233698   BRANDY           HOLLOWAY                 NC     12039323642
91874919555951   BIANCA           VASQUEZ                  CA     49013569195
91875827291599   LAURA            RAMOS                    TX     90002258272
91878667985689   JUNIOR           GONZALES                 NJ     90014436679
91879337591951   SHAMEERAH        MOODY                    NC     90007853375
91879813391944   MELISA           MCDALE                   NC     90009418133
91881224241296   GEORGIA          HAWTHORNE                PA     51006992242
91882168391882   KELLE R          ACTKINSON                OK     90014821683
91882776461977   ELENA            CHIROTE                  CA     90012467764
91884597191399   DOLORES          FITIAL                   KS     90009595971
91884918861977   DAVID            TURNER                   CA     90014129188
91885232877537   OMAR             MIRANDA-REA              NV     90015182328
91885476761977   ERIK             YESCAS                   CA     90007774767
91886847593755   JUANE            EVANS                    OH     90013208475
91887821891599   SERGIO           ESCAMILLA                TX     90007728218
91889116693769   PRESHES          MATHEWS                  OH     90011331166
91889652155951   MARIA            ORTEGA                   CA     90014716521
91889987291944   FLAKA            VELLI                    NC     90013399872
91891597841296   MARIA            BRUNO                    PA     90001025978
91891941591521   JANET            VASQUEZ                  TX     90013849415
91892593255951   ANTONIA          OBLEA                    CA     49079245932
91893134341296   CYRIL            PETER                    PA     90011421343
91893948355951   FRANK            CORDOVA                  CA     90014179483
91894468377537   ALDWIN           BROWN                    NV     43081464683
91894775991882   WENDY            MURRY                    OK     90006517759
91895648291944   THADDDEUS        JONES                    NC     90015166482
91896646855951   BRANDY           BROWN                    CA     90012206468
91897766661977   ALFRED           MCCULLOUGH               CA     46098337666
91897837561979   REYNA            SANCHEZ                  CA     90004318375
91898748555951   FREDERICK        LEE                      CA     90011247485
91898954955951   MIGUEL ANGEL     JIMENEZ                  CA     90014179549
91899147955951   ALMA             SALINAS                  CA     90002371479
91899259557563   JUSTIN           CLAIR                    NM     90014372595
91899393691327   BRANDY           BAIY                     KS     90001693936
91911296691951   BIANDEL          SHOUSE                   NC     17048062966
91912176155951   DANNY            ANDRARE JR               CA     90013971761
91914129655928   FRANCISCO        MUNOZ                    CA     90001731296
91914266791521   ABRAHAM          MORALES                  TX     90010422667
91914313891944   RAYMOND          REYNOLDS                 NC     17002743138
91914764391951   KARLA            TORRES                   NC     90015057643
91915721577537   JAYSON           MCVICKERS                NV     90014727215
91916237581634   TIMOTHY          QUINLAN                  MO     90015342375
91916286791599   BRANDON          SALAZAR                  TX     90014712867
91917139261977   ENRIQUE          ESPINOZA                 CA     90008551392
91917393141296   SHARON           BLACK                    PA     90000953931
91917728991951   ENRIQUE          CARRISO                  NC     90007907289
91917956191882   SERGIO           REYNOSA                  OK     21014779561
91918183155951   REBECCA          LOZANO                   CA     90005441831
91918768151342   EBONY            CAMPBELL                 OH     90013327681
91919147393755   MARCUS           JOHNSON                  OH     90012601473
91919268581635   DELPHINA         SANCHEZ                  MO     90013832685
91919614185689   ANAYELI          HERNANDEZ                NJ     90013956141
91921187751342   SCARLETT         HAYES                    OH     90013231877
91921515793755   NOAH             ROBERTS                  OH     90010625157
91921599193782   JARED            BARNES                   OH     64556285991
91922748681635   WENDY            CARUTHERS                MO     90014867486
91923133891944   AMANDA           ROSE MORTON              NC     90007211338
91923184491521   BRISA            CAMPOS                   TX     90013681844
91924177355951   ASHLEY MONIQUE   DE LA GARZA              CA     90013971773
91924216551364   EMILY            ALLEN                    OH     90001702165
91924819481635   PAUL             WILEY                    MO     90013938194
91924821891599   SERGIO           ESCAMILLA                TX     90007728218
91925525477927   MARIA            LIMON                    IL     90005635254
91925793691521   ROSE             DIAZ                     TX     90015057936
91927524661977   GLORIA           CRESPO                   CA     90013865246
91928289891599   RIGOBERTO        REYNOSO                  TX     75059062898
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91928346541296   ROBERT       FLANAGAN                     PA     51060353465
91929877181638   FRED         HUDGINS                      MO     29001578771
91931336661977   GRISELDA     DIAZ                         CA     90006073366
91931735491951   ALFONSO      LOPEZ                        NC     90014247354
91933712181634   RONAYERIN    OGOLOR                       MO     29001027121
91934331285689   DULCE        GUZMAN                       NJ     90013963312
91936175891399   MICHELLE     HEARD                        KS     90009841758
91936341985689   KIAH         BERMAN                       NJ     90011683419
91936622191521   CARLOS       DIAZ                         TX     75052036221
91936634861977   ELIAS        AMADOR                       CA     46068986348
91937363491521   JAIME        JORDAN                       TX     90006823634
91938863593755   ANDRE        CARTER                       OH     90012098635
91939629141296   DANA         MACAULAY                     PA     51080726291
91939932761972   BRANDY       JACH                         CA     90001229327
91941251593755   RUTH         TERRY                        OH     90014012515
91941549361977   ELIAS        OJEDA                        CA     90015305493
91941871291944   CANDIS       EDWARDS                      NC     90013278712
91943954733698   MANUEL       DE JESUS RIVAS               NC     12006499547
91945473991944   ARNOLD       FOWLKES                      NC     90015124739
91946359891951   WILLIAM      MINOR                        NC     90012783598
91947115791399   ASHLEY       EICKHOFF                     KS     90014651157
91947239791599   JANET        PAEZ                         TX     90013312397
91947672293756   JENISE       ZIMMER                       OH     64548216722
91947721361977   TALUAI       LIMAILA                      CA     90013787213
91948294561977   JESUS        VILLALOBOS                   CA     90013032945
91949319981634   LUIS         CHAVEZ                       MO     90000353199
91949668291882   LUCAS        MCEWEN                       OK     90014816682
91951282391327   DOUG         DUKE                         KS     29058012823
91951413357563   MARIBEL      FLORES                       NM     90005784133
91952983277537   CRISTOPHER   COZBY                        NV     90015009832
91953263491521   VALERIE      GOMEZ                        TX     90014582634
91953545555951   ALINA        EANG                         CA     49047865455
91954112333698   AUDRA        INGRAM                       NC     90008211123
91954389685689   JOSUE        APARICIO                     NJ     90013963896
91954698655951   BILLY        VANCE                        CA     49061536986
91954746793755   SHIRTOR      TAYLOR                       OH     90014487467
91954959341296   SHAUN        VESHIO                       PA     51008699593
91955161977537   LESLIE       SINGH                        NV     90001411619
91956229291599   LUIS         MEZA                         TX     90014792292
91956683991882   PAUL         WALLACE                      OK     90014816839
91957357261977   VERONICA     CHAVEZ                       CA     90011573572
91957444751342   TARA         PITTMAN                      OH     90011524447
91957683991882   PAUL         WALLACE                      OK     90014816839
91957783991399   AMBER        JENKINS                      KS     90014857839
91958571581635   GEORGIA      WILLIAMS                     MO     29018875715
91961787531422   JENNIFER     GIBBS                        MO     27595607875
91962349181634   AURORA       DIAZ                         MO     90003803491
91962456491327   JORGE        FRAIRE JR                    KS     29041464564
91963923255951   JUAN         TORRES                       CA     90012879232
91964271355951   NICHOLAS     HUMPHREY                     CA     49014362713
91964688491882   SANDRA       WILEY                        OK     90014816884
91964753633698   MICHAEL      MORRISON                     NC     90009717536
91965634885689   MINERVA      CRUZ                         NJ     90013966348
91965688491882   SANDRA       WILEY                        OK     90014816884
91966353191951   MIKE         REATHERSON                   NC     17016663531
91966634861977   AIOTEST1     DONOTTOUCH                   CA     90015116348
91966952591934   JA KEYA      SHERMAN                      NC     90001099525
91968182941296   STACIE       HOLMES                       PA     90002591829
91968653391599   ELIZEHT      ORTIZ                        NM     75031186533
91969643361977   JASMINE      YOUNGER                      CA     90005336433
91969869881634   RYAN         CHAVEZ                       MO     90014858698
91972273191399   RICHARD      SALGADO                      KS     90014652731
91972743181634   LASHONDA     CAPLES                       MO     29013707431
91973352433698   LALANDA      CARTER                       NC     90014433524
91973378891944   SHANNON      DUNN                         NC     90001833788
91973456361979   VARGAS       IGNACI                       CA     90003194563
91973542393755   JOY          ALLEN                        OH     64508215423
91973928955951   DELIA        ANDRADE                      CA     90015099289
91974273991399   JADE         FREEMAN                      KS     90014652739
91974483691599   SANDRA       CALVILLO                     TX     90002314836
91974656177537   PAYGO        IVR ACTIVATION               NV     90013326561
91975579591951   JANEL        YOUNG                        NC     90012495795
91975763961977   AMANDA       MORANN                       CA     90006217639
91976471461979   TERRI        FISHER                       CA     90010584714
91976592455951   FLORIBERTO   NAVA                         CA     90010235924
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91976928391399   BRYAN             LOPEZ                   KS     90013019283
91977893855975   ANDREA            DE LA CRUZ              CA     48082138938
91978177161977   JEZEE             CORONA                  CA     90015071771
91978458191951   HEARTWILL         KPEGLAR                 NC     90014994581
91979795681635   MICHELLE          DAMIAN                  MO     90014097956
91981979891599   LUZ               MENDOZA                 TX     75062409798
91982314691899   ANITA             THOMAS                  OK     90012683146
91982992291951   TROY              MCLENDON                NC     17069629922
91983338191599   MARIA             BURCIAGA                TX     75090013381
91983599991521   ANGIE             SIMENTAL                NM     90012075999
91983679377537   DARREN            GLEN                    NV     90002756793
91983953877927   BECKY             GUERRERO                IL     90015559538
91984136355951   MARCELINA         ALVAREZ                 CA     90015371363
91985389755951   LUIS              ESTRADA                 CA     90000273897
91985475181634   CARLA             PALMER                  MO     29008604751
91987958977537   GABRIELA          SILVA                   NV     90014599589
91988125133698   CRYSTAL           CRAWFORD                NC     12073401251
91988696672485   CHRIS             THOMPSON                PA     51007056966
91989325751342   TIFFANY           ARTIS                   OH     90013243257
91991481491532   OLIVIA            CARDONA                 TX     75041964814
91995364493738   ROCHELLE          HORTON                  OH     64547333644
91995374251367   JOANNE            BEAL                    OH     90006933742
91996651855951   BRENDA            IZAGUIRRE               CA     90012206518
91997185661977   EMILIA            DIGHERO                 CA     90012721856
91998294285689   JOSE              FUNES                   NJ     90014172942
91998495977537   MARIA GUADALUPE   CANALES-TRUJILLO        NV     90010754959
91998975381634   DOUGLAS           VALLADASES              MO     29095749753
92111666891882   TANYA             TROUT                   OK     21033496668
92111784691951   SHELDON           YOUNG                   NC     17026717846
92111864991599   JESSICA           TREJO                   TX     90015188649
92112526861977   GILBERT           LOZANO                  CA     46048385268
92113264733698   CATHY             CARRILLO                NC     90015082647
92113785797123   LORENA            SANCHEZ                 OR     90011067857
92113995781634   ISAAC             CHAPA                   MO     90014249957
92114247855957   MARIA             VARGAS                  CA     90015162478
92114288781634   DAISY             RAMIREZ                 KS     90014662887
92115832361979   TANYA             ROSS                    CA     90012708323
92117174997123   SILVIA            SANCHEZ                 OR     44014951749
92117449991521   MARIA             MARTINEZ                TX     90012734499
92118215841296   CARRIE ANN        DAVIS                   PA     51015122158
92118428891521   UDELIA            DIAZ                    NM     75057534288
92118628455957   ARACELI           ARREDONDO               CA     90004526284
92121314291521   ESTHER            GUILLEN                 TX     90007943142
92123264693755   TIMOTHY           SHOPE                   OH     64586242646
92123415977537   GUILLERMO         RAMIREZ                 NV     90014174159
92123974251334   RAMIRO            LOPEZ                   OH     90014389742
92125992241296   CELINE            GIACCI                  PA     90000169922
92126649785689   KIYA              HAROLD                  NJ     90005116497
92126922191521   JESSE             ESTRADA                 TX     90011319221
92127881693755   TRACY             FLETCHER                OH     64500808816
92128286591599   ZULEMA            ALFARO                  TX     90005542865
92128375991521   DANNA             HERNANDEZ               TX     90009663759
92128787761979   ANA               CHAVEZ                  CA     90012657877
92132528891399   RUSBELINDA        VALDEZ                  KS     29002905288
92132925461977   JUAN              REBOLLAR                CA     46071419254
92133514461977   LILY              ACUNEA                  CA     90008455144
92133993491951   KENDALL           DEAN                    NC     90008539934
92134128355951   TONY              GARDUQUE                CA     49006051283
92135793855951   ABRAHAM           YANG                    CA     90010747938
92137222885689   SALOMON           VELASCO                 NJ     90011792228
92137549191526   DIANE             BALLAIN                 TX     75048155491
92141477497123   STEVEN            HARMON                  OR     90013424774
92141525791951   JOHN              DUNCAN                  NC     17092925257
92141754181635   JESSICA           ZAMORA                  MO     90014577541
92142254955978   MATTHEW S         BALL                    CA     48057132549
92143769755957   ANGEL             OCAMPO                  CA     90011287697
92143879651334   GAIL              SCRUGGS                 OH     90014968796
92145532431429   AMANDA            IVY                     MO     90011755324
92146274497123   JEREME            MACINO                  OR     44056092744
92146327871936   ALIA              ESPINOZA                CO     90011443278
92146824891994   ALMETTA           DAVIS                   NC     90004818248
92147927691599   SALVADOR          ROJAS                   TX     75075789276
92147982555951   ANA               HERNANDEZ               CA     90002489825
92149229751334   TORI              CHEEK                   OH     90014752297
92153836251396   KAREN             STRONG                  OH     90000838362
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92154123455957   JOSE MANUEL   VALDEZ                      CA     90014881234
92154186891521   JOSE          MARTINEZ                    TX     90003261868
92156838677537   FRANCISCO     GUILLEN                     NV     90011168386
92157281691521   THOMAS        HERNANDEZ                   TX     90005652816
92158221793769   MARGARET      BROWN                       OH     64510582217
92158431143584   CASSANDRA     DONOVAN                     UT     31012454311
92158434481634   BRITTANY      COLOMBO                     MO     29072664344
92158468391521   PAUL          GUTIERREZ                   TX     75051934683
92159381591521   RAQUEL        HERNANDEZ                   TX     90013003815
92161259341296   KIMBERLY      OMALLEY                     PA     51016892593
92163486797123   MARCO         RIVEROS                     OR     90014184867
92163555481635   PARIS         DARNELL                     MO     90013655554
92163894255938   JENNIFER      BENAVIDES                   CA     90013838942
92164298477537   EDITH         LEDEZMA                     NV     90013792984
92164334591951   JOEL          KALOMBO                     NC     90012433345
92165455643584   ANGELA        QUINTANA                    UT     90014774556
92166189197123   MIRRANDA      WEITMANN                    OR     90013681891
92166326491951   LARRY         JACKSON                     NC     90011953264
92166651591966   JAMES         LILES                       NC     17065376515
92167189197123   MIRRANDA      WEITMANN                    OR     90013681891
92167544151334   PATRICIA      MCINTYRE                    OH     66035805441
92167781455957   KARLA         GUITERREZ                   CA     90011287814
92167894326272   ALEJANDRO     CRUZ                        WI     90015448943
92168567981634   GUSTAVO       TORRES                      MO     90015105679
92168892191521   PRISCILIANO   ROJAS                       TX     90013028921
92171171861977   GLADYS        QUINTERO                    CA     90012131718
92171415785689   AJ            SCOTT                       NJ     90003314157
92171621751331   KASSANDRA     BROWN                       OH     66011986217
92171915143584   JAMES         DENNIS                      UT     90008409151
92171986791951   FATIMA        MOLINA                      NC     90014829867
92172688593755   DUSTIN        JOHNSON                     OH     90013216885
92172774881634   LAUREN        NEFF                        MO     29024707748
92172894881635   ANTONIO       WILLIAMS                    MO     90014778948
92173761593756   DAVID         ANDERSON                    OH     90006497615
92173836193756   DAVID         ANDERSON                    OH     90014718361
92176977981635   SHELDA        WILLS                       KS     90013799779
92178792993755   SYDNEY        KARN                        OH     90012427929
92178814791399   LL            CONLEY                      KS     29052608147
92179645285974   LYLE          MOLANDS                     KY     90011536452
92179922543584   AMBER         PRINCE                      UT     90010309225
92181617991521   ANA           FLORES                      TX     90013676179
92182657291599   CELIA         GONZALEZ                    TX     75001506572
92183389441296   NIKIA         SMITH                       PA     51064263894
92183669141296   SANDRA        MARTINEZ                    PA     51096296691
92183816793769   ALEJANDRO     MALAGA SANTOS               OH     64507928167
92186129155951   NATEIGYA      MAYBERRY                    CA     90011091291
92186216857564   ELSA          ARMENDARIZ                  NM     90009092168
92186926333698   EVAN          KUBONT                      NC     90015249263
92187232281635   DAVE          HART                        MO     90011092322
92188168541296   KRISTEN       HUCKLE                      PA     51079381685
92188436426272   ANGIE         ORTIZ                       WI     90015394364
92188782297123   HAYDEN        YOUNG                       OR     90013537822
92191256793755   EDWARD        JOHNSON                     OH     90015172567
92191479251334   GENIE         REESE                       OH     90000954792
92191663191521   ERIKA         MARTINEZ                    TX     90015016631
92191933355951   ANA           BECERRA                     CA     90015039333
92193657791599   ALICIA        CORONA                      TX     75062826577
92193686193755   GEORGE        GARNER                      OH     64521416861
92195496185689   CESAR         GARCOA                      NJ     90008484961
92195659991951   LADARIUS      JAMES                       NC     90013966599
92196648897123   MARIA         CASTRO                      OR     44078196488
92196956691521   CASEY         KELLY                       TX     90012079566
92197872591599   LIZETTE       LOPEZ                       TX     75078878725
92198651251334   WOLDE         DINBERU                     OH     66097106512
92211255955951   MAYRA         TOSCANO                     CA     90011492559
92212271181635   ALEXANDER     MARKBONEY                   MO     90015182711
92212364761977   ADRIAN        MABRY                       CA     90008443647
92212813733633   TARLEASHIA    MACK                        NC     90011578137
92212981351334   ALLA          KONAKOVA                    OH     66016779813
92213117881634   NICOLE        KIMIECIK                    MO     90015571178
92213449561979   PATRICK       FAISON                      CA     90011764495
92213583533698   CHAD          RICE                        NC     90004855835
92215913891951   OZJA          HARRIS                      NC     90013279138
92216142743584   KRISTIN       EGELUND                     UT     90011541427
92216413697123   ANNA          TORRES                      OR     44052984136
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92216417943584   KEVIN                HANSEN               UT     90014484179
92218816641296   DANIELLE             HABECK               PA     51073298166
92219313781634   SANDRA L             GARRETT              MO     90006083137
92219512955957   JEANNIE              MCCLURG              CA     49089795129
92219841841296   DOLORES              RODRIGUEZ GARCIA     PA     90007088418
92221413491521   MICHELLE             GALLEGOS             TX     90013244134
92221912181635   ROSEMARY             MATHEWS              MO     29033509121
92221946577537   AUDREY               TAUSINGA             NV     90013839465
92221951343584   PAUL                 WYATT                UT     90007099513
92222231697123   SHAWN                VALLEAU              OR     44016122316
92223441843584   RONALD               NELIUS               UT     90007824418
92223953461973   JESSICA              PEREZ                CA     90011209534
92223958191882   DAVID                RAMOS-MORA           OK     21012469581
92225463991599   MIRNA                MUNIZ                TX     90013904639
92225579155951   CHUE                 VUE                  CA     49069625791
92226759897123   EVARISTO FELICIANO   FELICIANO            OR     90009707598
92226764991599   JUAN                 ALVAREZ              TX     90013597649
92227461755975   RICARDO              VELASQUEZ            CA     48083554617
92231334257126   ROSENDA              LOPEZ                VA     90009603342
92231499497123   ARTURO               CABERRA              OR     44041154994
92233178284346   KIMBERLEY            HOWARD               SC     90007991782
92233331191882   BRIDGET              ALLISON              OK     90007923311
92233383326272   BENGIE               BARBOSA              WI     90015603833
92233426585689   RUTILIO              CANSECO              NJ     90008504265
92233898151334   EDDI                 JUAREZ               OH     90013648981
92234772851334   KATIE                FRAMPTON             OH     90010747728
92235943161977   AL                   SMITH                CA     46056449431
92236511343584   RICK                 BRUNSON              UT     31006965113
92236815343584   RICK                 BRUNSON              UT     90013848153
92237351943584   TERESA               BUSICO               UT     31078913519
92237813177537   JUNE                 MILLIGAN             NV     43026408131
92238617355951   PA                   YANG                 CA     49098756173
92239475193756   BONNIE               WAGNER               OH     64540354751
92239524755957   JUAN CARLOS          REYNOSA              CA     90005065247
92239738393755   ERIKA                TABB                 OH     90009667383
92242125691521   CLAUDIA              MOTA                 TX     75078591256
92242366891599   VALDEZ               JENNIFER             TX     90010003668
92243328233698   MELISSA              HAVNER               NC     90011413282
92243525393755   KRISTA               PUJIA                OH     90014225253
92243675891521   GARZA                PATRICIA             TX     90010706758
92245129591599   MIGUEL               RODRIGUEZ            TX     90014511295
92245246241296   SARAH                PUHARIC              PA     90013092462
92246781591399   TONYA                SMITH                KS     90007097815
92247117141296   ROBERT               RICKERD              PA     51075481171
92248786291521   RAMIRO               VILLEGAS             TX     90013337862
92251867593769   ASHLEY               HOSKINS              OH     90005658675
92253198397123   LAURA                CERVANTES            OR     90012931983
92253588997123   TABATHA              SMITH                OR     90010595889
92253642151334   JOSE                 CORTES-AVILES        OH     66050296421
92255149693755   GERALD               BACCUS               OH     64511731496
92255742233698   JOHN                 ATEM                 NC     90007777422
92255867855951   CECILLE              MAGLAIBA             CA     90003658678
92258652781635   YADIRA               MEZA                 MO     29084816527
92258833851334   ROLAND               RUE                  OH     90010738338
92258987193769   EDWARD               BAKER                OH     64563519871
92259692155957   YESENIA              RENTERIA             CA     90015156921
92259763561977   SONIA                HERNANDEZ            CA     90013087635
92261111531952   PAUL                 SMITH                IA     90014071115
92261217577537   ERICA MARIA          AGUINAGA             NV     90011412175
92261299191882   MELINDA              TAYLOR               OK     21002682991
92261574441296   ANGELO               REYNOLDS             PA     90013375744
92262381397123   ROSA                 DIAZ                 OR     90010893813
92263351351334   GINA                 LAMBRINDINES         OH     90012573513
92263367397123   CRYSTAL              CURRY                OR     90015043673
92263564197123   ALBY NURY            AZUA                 OR     90014185641
92263791197123   MARIO                MARTINEZ VENTURA     OR     90013947911
92264433191599   JOSUE                RIVAS                TX     90010814331
92265882497123   MONICA               CALZADILLAS          OR     90009218824
92266582855951   NAOMI                MARTINEZ             CA     90012875828
92267125761979   ERIC                 RODRIQUEZ            CA     90008611257
92268234591521   ROCIO                RAMIREZ              TX     90012322345
92268474241296   JEMEL                MORRIS               PA     90014004742
92268838177537   ABRAHAM              MORALES              NV     90012988381
92269379591951   MI                   CHUNG                NC     17053023795
92272661385689   OSCAR                VALENTIN             NJ     90005536613
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92273517791399   ESTHER           MENDOZA                  KS     29083445177
92273755561977   EZEQUIEL         PLASCENCIA               CA     90013417555
92275639861499   GARY             LYONS                    OH     90014736398
92275892933698   JESSICA          RENO                     NC     12066698929
92276424491951   AYANNA           WADE                     NC     90010864244
92277164897123   BRIAN            LITTELL                  OR     44006331648
92277417931422   BETH             DIERKER                  MO     90005074179
92278131691599   LAURA            RODRIGUEZ                TX     90009021316
92278981855951   LYNDSEY          GONZALES                 CA     49014209818
92279342393782   SHELIA           COATS                    OH     64565593423
92281688697123   CHRIS            ALARCON                  OR     44007566886
92282317551334   VICTOR           MELQUIDAES               OH     90007883175
92282627681635   RENE             TRITLITT                 MO     90009276276
92282913477537   CYDNEY           DAVIDSON                 NV     43092139134
92283157181635   WILLIAM          HANDY                    KS     29066981571
92284862991521   ADRIANA          RODRIGUEZ                TX     75096278629
92285657351334   AMY              DE-NISE                  OH     90014226573
92285948155957   ANDREA           RIVERA                   CA     49019459481
92287545291882   CLEO             SMITH                    OK     21021575452
92287612985689   MIGUEL           LOPEZ                    NJ     90008526129
92289669191599   ERIC             DELGADO                  TX     90011316691
92289749791521   RICK             MAGALLANEZ               TX     90006517497
92291133591521   MARIA            GARZA                    TX     90006831335
92291775881634   MAIRA            PLAZOLA                  MO     90005157758
92292254161977   ROBIN            CARTWRIGHT               CA     46000652541
92292527591599   CLAUDIA          DELEON                   TX     75050195275
92292947397123   BLAS             PEREZ                    OR     90013949473
92293492161977   MARICELA         HUERTA                   CA     46045114921
92294735233698   CORTNEY          SOLES                    NC     90011977352
92295417197123   CENDY            FRIAS                    OR     44029774171
92297188691521   OCTAVIO          SALAZAR                  TX     90007741886
92298336661979   MARCO            GAYARDO                  CA     90013033366
92298341791599   JESUS            RINCON                   NM     90011463417
92299549555957   DETRICK          MAYBERRY                 CA     90014305495
92312742461979   HERMINA          BALLESTEROS              CA     90007607424
92313119297123   ALICIA           TAPIA                    OR     90013951192
92314441891399   GLORIA           BORUNDA                  KS     29001524418
92317631555951   MARTIN           CERVANTES                CA     90010126315
92317972493755   PATRIA           SMITH                    OH     64539259724
92318758633698   TOPITHA          HINSON                   NC     90013287586
92319646881626   JEDEDIAH         SMITH                    MO     90011466468
92322413385689   TOMAS            ROSALES                  NJ     85008834133
92323191791951   CARINA           SANCHEZ                  NC     90012571917
92323854461979   JACQUELINE       ADAMS                    CA     90009558544
92323919191531   JESSICA          MENDOZA                  TX     90010459191
92324185351334   FELIPE           GONZALEZO                OH     90011771853
92325873951334   BRANDEN          HIBBITTS                 OH     90010968739
92326868793755   FREDERICA        VANN                     OH     90010888687
92327754891526   RIOS             VICTOR                   TX     75067297548
92331519355951   FAVIOLA          ORTIZ                    CA     90014775193
92332554381635   MYRSA            GARZA                    KS     90002965543
92332855991599   MIGUEL           GARNICA                  TX     75090378559
92334397997123   SERGIO           LARA                     OR     90013953979
92334876485689   JORDON           ALVAREZ                  NJ     90008758764
92335923181634   BREEZI           MACIEL                   MO     90009859231
92337787693769   MICHAEL          HALL                     OH     64547497876
92338111691399   JONATHAN         WHEELER                  KS     90011691116
92338169391521   MARINA           PEREZ                    NM     90000121693
92342958981634   ADAM             PADILLA BAUTISTA         MO     90012619589
92343675991521   LAURA            GONZALES                 TX     90011826759
92344178491521   ELEA             DAVILA                   TX     90011041784
92344543461977   LILIA            LOPEZ                    CA     90008465434
92346517555951   ROSA             GUZMAN                   CA     90002805175
92347354131459   LEWIS            SMITH                    MO     90004963541
92347517141296   SANDRA           LOCKLEY                  PA     90006835171
92348989861977   HARO             RAMON                    CA     90011859898
92348993993755   LATIA            PHOENIX                  OH     64576079939
92352184693755   SYLVESTER        DAY                      OH     90013471846
92352745241296   KEVIN            BROWN                    PA     90013527452
92352768155957   NOEMI            RAYES                    CA     49017157681
92353361197123   AARON            HEEVEL                   OR     90006833611
92354263743584   TONI             PEREZ                    UT     90011102637
92354918877537   JUAN FRANCISCO   VALLE                    NV     90007909188
92355439151356   JENNIFER         WHITE                    OH     90011604391
92359272151334   HING             CHOI                     OH     90013922721
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92359479777537   NICOLASA      CERVANTES                   NV     90009924797
92359697697123   ROSE          AMIDA                       OR     90014916976
92361993231447   ALFRED        CATCHING                    MO     90006509932
92363762191599   MARIA DEL     MORALES                     TX     90000777621
92365364261986   SARA          VELAZQUEZ                   CA     46026983642
92366234155951   DARIO         LEMUS                       CA     49095612341
92366923181634   BREEZI        MACIEL                      MO     90009859231
92366974291599   JESSICA       CASTTLE                     TX     75018349742
92367367491951   EUGENE        HAYES                       NC     17000183674
92367838955957   LILY          RILEY                       CA     90012938389
92368371141296   RICHARD       TSCHUDI                     PA     51000703711
92368951791599   DANNY         MARTINEZ                    TX     90014759517
92368958861977   MARIA         NAVARRETE                   CA     90004799588
92369214891399   CHRIS         OLESON                      KS     90008172148
92369656893755   ALDO          FLORES                      OH     90008006568
92373315493755   CARRIE        KUSS                        OH     90015113154
92374479991955   TANIKA        YARBURRAL                   NC     90007294799
92374754493755   TEPHANIE      DAVIS                       OH     90014187544
92375453493769   DORIAN        MCKEE                       OH     90000714534
92375553197123   SHAWNEE       MURPHY                      OR     44053005531
92375673477537   BLANCAFLOR    ANZURES DEL VALLE           NV     90010556734
92376746181634   ERIC          TRACY                       KS     90015117461
92377791577537   HOMERO        RIVERA                      NV     43018067915
92382431355951   YER           THAO                        CA     49001804313
92382597557137   FRANKLIN      DIAZ                        VA     90000165975
92382852443584   CATHERINE     EDWARDS                     UT     90011468524
92383691593755   ROBERT        BROWN                       OH     90011566915
92385173991951   JARVIS        WILSON                      NC     17016031739
92385564181634   MARIELA       SANTIAGO                    MO     29080745641
92385715191399   LASHON        O'NEAL                      KS     29016147151
92385953991951   COREY         BURNETT                     NC     90015219539
92386477751334   GORGE         WASHINGTON                  OH     90011454777
92386692291951   SANDRA        UNDERWOOD                   NC     17033276922
92387216477537   JOHN          JONES                       NV     90012802164
92388632391521   JESSICA       ACKER                       TX     90013676323
92388664541296   COURTNEY      LALLY                       PA     90013326645
92389641181635   ROBERT        JORDAN                      KS     90013776411
92392864993755   TOSHA         WEATHERSPOON                OH     90014168649
92393863391882   TIFFANY       KENDALL                     OK     21046028633
92394158977537   EMMANUEL      DELEON                      NV     90011131589
92394224191599   JUAN          ESPARZA                     TX     90003992241
92394544151334   SANDY         ROBERTSON                   OH     90014515441
92394928293747   SHAWN         BARLOW                      OH     90001199282
92395625977537   TIFFANI       HENRY                       NV     90012816259
92396785977537   ANNIE         OMAYE                       NV     90010337859
92396872741275   KENYA         ALLEN                       PA     90010848727
92396883577537   AUDRA         PEREZ                       NV     90012458835
92397118671956   BERTHA        RODRIGUEZ HERRERA           CO     90012011186
92397167797123   KAYTE         RACH                        OR     44084991677
92397872661977   PERLA         SANCHEZ GARCIA              CA     90008458726
92398166391599   LETICIA       SALAS                       TX     90009851663
92399492191882   ENRIQUE       CANDELAS                    OK     90013534921
92411331851334   ETHAN         UDRY                        OH     90015143318
92411888655951   RANDY         CIAVAGLIA                   CA     49080378886
92411931691521   FEDERICO      FONSECA                     TX     90004679316
92412149691951   LATAVIA       ROSE                        NC     90010931496
92412181581672   FREDDIE       GREGG                       MO     90008491815
92414819581635   SHELIA        ALLEN                       MO     90013738195
92415567993755   COLLEEN       WORTHINGTON                 OH     90013705679
92416282255951   GUADALUPE     BAEZ                        CA     90012762822
92416456191521   FRANCISCA     GALLARDO                    TX     75087314561
92416879981634   CINDY         DEAN                        MO     90015298799
92417381955951   MARTIN        ESCOBEDO                    CA     90012413819
92418612791521   ZULMA         MEDRANO                     TX     90010326127
92419351351334   GINA          LAMBRINDINES                OH     90012573513
92422232293755   DM            NEACE                       OH     90001932322
92422275691951   JEAN          PIERCE                      NC     17003872756
92422329291882   JUAN CARLOS   PEREZ                       OK     90013363292
92424568393755   JOSH          SZEMAN                      OH     90013885683
92425175261977   ANTONIO       AGUILAR                     CA     90007711752
92426566555957   CASSANDRA     RIOS                        CA     90010745665
92427649391951   MICHELLE      MOURNING                    NC     90012576493
92427649591599   ROBERT        MARTINEZ                    TX     75031736495
92429536741296   PHILIP        HOOPER                      PA     51048855367
92429945891951   BRANDON       TERRY                       NC     90004439458
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92431159293769   JESSICA      SMITH                        OH     90002551592
92431168791882   TIMOTHY      MCHUGH                       OK     21092091687
92431894593782   KHALIAH      COLE                         OH     90012118945
92432735397123   JAIME        DELGADILLO                   OR     90014187353
92434718355957   STEVE        BAZB                         CA     90013967183
92436361833698   VIRGINIA     LOZANO                       NC     12044223618
92438426477537   EARL         EVES                         NV     90014644264
92439683185926   JOHN         DUFF                         KY     90009726831
92441612143584   CHIP         ANDERSON                     UT     31082646121
92441726955946   MARTA        SANCHEZ                      CA     90009917269
92442165355957   BRENDA       ORTIZ                        CA     49000981653
92442565697123   DIRK         LOYD                         OR     90014205656
92442574591399   CARLOS       MORENO                       KS     90010535745
92444138955957   SAVANG       SITTHI                       CA     90011661389
92444397191599   AMANDA       HUNTER                       TX     90015153971
92444427797123   GUADALUPE    ALVISURES                    OR     90014254277
92445297641296   JOYCE        PAVER                        PA     90000172976
92445355697123   MELLISA      COLLINSWORGH                 OR     90008443556
92446445681634   NIC          ALDRICH                      MO     90012384456
92446744177537   ANA          CARIAS                       NV     90009807441
92446887561977   BRIAN        MORGAN                       CA     90012768875
92447475981634   ROBERT       ALLEN                        MO     90010264759
92448613455951   LEE          EDWARDS                      CA     90006986134
92448625991521   CYNTHIA      RAMIREZ                      TX     90013676259
92449276181635   ELIZARDO     BARRIO                       MO     29001032761
92449978597123   VERONICA     HERNANDEZ                    OR     90007199785
92451221538531   MARICELA     MATA                         UT     90010072215
92451695255957   SELESTINO    MORALES                      CA     90013616952
92452572433698   NIKKI        VARGAS                       NC     90011735724
92452826361977   EVERADO      TOVAR                        CA     46014588263
92453129297123   HECTOR       ZAVALA CHAVEZ                OR     44006061292
92453765933668   TOMEKA       BENNETT                      NC     12009677659
92455641955957   APRIL        ALCORN                       CA     49001596419
92455824551334   JUAN         MONDIJO                      OH     66040358245
92456741897123   PATRICIA     PEREZ DIAZ                   OR     90000597418
92457298961977   GLORIA       RODRIGUEZ                    CA     46048772989
92457327891521   CYNTHIA      JIMENEZ                      TX     90014293278
92458826285689   FELIX        CASTELAN                     NJ     90004258262
92459972955951   JENNIFER     NERI                         CA     90002959729
92461136155957   JOSE         CASTILLO                     CA     90011551361
92461924593755   ISAAC        PEACOCK                      OH     90015539245
92462885455951   ROBERT       GONZALES                     CA     49083748854
92462993591599   AZEQUIEL     RODRIGUEZ                    NM     75096939935
92463617197123   PERLA        ZAVALETA                     OR     90014216171
92463883577537   AUDRA        PEREZ                        NV     90012458835
92464145291357   MELVIN       INTERIANO                    KS     90002271452
92464659881634   GREG         MARSH                        MO     90008226598
92466616893755   CARL         GENTRY                       OH     64593016168
92469797355951   NICOLE       HODGES                       CA     90013817973
92471788897123   LIZETH       PONCE                        OR     44032027888
92472426681637   MONIQUE      WATKINS                      MO     29083474266
92472938755951   GARCIELA     RIVERA                       CA     90007239387
92473545933698   ZIKIA        GRANT                        NC     90010325459
92474162543584   GUSTAVO      ROJAS                        UT     90007531625
92475172491599   EDUARDO      IBARRA                       TX     90014941724
92475339597123   ELISHA       MATIN                        OR     90003083395
92476511541296   JUAN         ALANIS                       PA     90015535115
92477917661979   SONIA        ALFARODELEON                 CA     90011779176
92482233851334   BETH         CALDWELL                     OH     90015022338
92482735893755   EDWARDO      GALVIAN                      OH     64592807358
92483932551334   AMBERLY      BROWN                        OH     66043839325
92484312855951   GABRIELA     DELGADO                      CA     49021073128
92485531961979   FELIPE       RAMIREZ                      CA     90002685319
92487161991861   YASMIN       MCNEAL                       OK     90012601619
92487464355957   MARY         MOLINA                       CA     49096384643
92489216477537   JOHN         JONES                        NV     90012802164
92489544433698   SARITA       INGRAM                       NC     90009555444
92491239555951   RICHARD      DIAZ                         CA     90013482395
92491526881634   JEFFREY      JOHNSON                      MO     90012275268
92492531951334   DANIEL       BROADUS                      OH     90005795319
92492986293755   RAYMOND      COLE                         OH     90011149862
92493223693738   TONTIONIA    CRAVER                       OH     90012412236
92493329733698   TABITHA      GOLDING                      NC     12039493297
92495221681634   MAURICIO     DIAZ                         KS     29061282216
92495428991951   MARGIE       MEJIAS                       NC     90014894289
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92495518685689   GERMAN       HERNANDEZ                    NJ     90003625186
92496788681634   EDNA         CHAVEZ                       MO     29009827886
92498581797123   BRENDA       SOTO                         OR     90004265817
92498886591599   DAVID        CARRILLO                     TX     90003848865
92499478771936   EDNA         ORTIZ-PAYAN                  CO     90012294787
92511631961979   MARICELA     CORTEZ                       CA     90002506319
92512329255957   ARTHUR       JAMES                        CA     90012713292
92513457751334   BRIAN        PRICE                        OH     90013864577
92514711881634   KENNETH      GREEN                        MO     90009677118
92515152691951   ANGEL        RAMOS                        NC     90015131526
92516216991882   NATALIE      GEANS                        OK     21069662169
92516676651334   FORTINO      ISLAS                        OH     66091656766
92519489833698   CORTNEY      GRAY                         NC     90013004898
92521123391599   JOSE         REYES                        NM     90013641233
92521696293769   TASTEE       WILLIAMS                     OH     90013826962
92521727141296   TRINITY      HARRISON                     PA     51065537271
92521957238543   DIEDRE       FLANNERY                     UT     90011079572
92523336597123   J JESUS      PADILLA SANDOVAL             OR     44074513365
92523792681635   ANTOINETTE   CHAPMAN                      MO     90012147926
92525228138531   DEBBIE       BIRCUMSHAW                   UT     90012112281
92526335455957   SHARON       LINDBLADE                    CA     49092283354
92526644277537   LUZ          CURIEL                       NV     90014936442
92527885955951   CRYSTAL      PEREZ                        CA     90009488859
92528161591951   NIKEA        MCCRAE                       NC     90014701615
92528292861474   LINDA        BORDER                       OH     90015372928
92529257397123   ASHLEY       SCHLECHT                     OR     44075692573
92529975391399   JOSHUA       FRIEND                       KS     90008439753
92531231785689   EMERY        BRICE                        NJ     90008692317
92531845755957   NANCY        AVALOS                       CA     90012908457
92532365877537   GEORGENE     ARIZ                         NV     90010893658
92532434251334   FAHRIS       SMITH                        OH     90011164342
92532625443584   STEPHANIE    CHRISTIANSON                 UT     31087286254
92534964593769   KATHERINE    BECKNELL                     OH     64593529645
92534991781637   LAKINNA      GILL                         MO     29040609917
92535499541296   TANAYA       DEANDA                       PA     90013514995
92536375793755   LINDA        SCHALL                       OH     64583903757
92539856543584   HOY          ANDERSON                     UT     31053528565
92541778561977   JOHN         HEITER                       CA     90011877785
92542221785922   PEGGY        HOLMAN                       KY     90012422217
92542313361979   BLANCA       MEDINA                       CA     90011783133
92545453691599   FABIOLA      ACOSTA                       TX     90009474536
92545667877537   MATHEW       LEYVA                        NV     90014356678
92545884155951   DIDIER       FORONDA                      CA     49089478841
92545953555957   MICHAEL      VICTOR ANTONIO               CA     49089439535
92546115591951   TINA         MANGUM                       NC     90000401155
92546397393755   CAROLINE     COLLINS                      OH     90006943973
92547148361977   JEFF         GRAHAM                       CA     90012761483
92547375891521   VICTOR       VALLE                        TX     90008003758
92548785271928   ASHLEY       ALGIEN                       CO     90011237852
92551514581637   RONEE        DAVIS                        MO     29077905145
92552324391882   TIAH         HOUSTON                      OK     90011153243
92552424491521   MAYRA        CASTILLO                     TX     90010624244
92552934781635   DENISE       LITTLE                       MO     29003809347
92554766377537   OPHELIA      ROSALES                      NV     90014587663
92556166141296   KIMBERLY     LUCARELLI                    PA     90014691661
92557358597123   MAYRA        CARMONA                      OR     90009243585
92557746291399   MA ELENA     RODRIGUEZ                    MO     90009457462
92558588891951   MARSHA       ASHE                         NC     90013695888
92558643291882   RICKEY       BRYANT                       OK     90004576432
92558671191521   RODOLFO      REYES                        TX     90010036711
92558766191599   JESSE        CARRALEJO                    TX     75043937661
92558782297123   CERDA RICO   JESUS                        OR     90000907822
92558797581634   ANTHONY      BOSTIC                       MO     90013187975
92559417791521   CONSUELO     GARCIA                       TX     90013244177
92559692461977   STACY        RICO                         CA     90007256924
92561841891951   WILLIAM      THORNTON 111                 NC     90011448418
92562361177537   LEONEL       CARPIO                       NV     43084353611
92562369443584   ASHLEE       TEGEN                        UT     90007243694
92562616555951   ISABEL       PEREZ                        CA     90012876165
92562861833698   ANN          CALIGAN                      NC     12055158618
92563358597123   MAYRA        CARMONA                      OR     90009243585
92563567981634   GUSTAVO      TORRES                       MO     90015105679
92564154885997   KETARAH      HERRON                       KY     90005011548
92564223433698   TIERRA       BROOKS                       NC     90012902234
92564438291599   RICARDO      SIMENTAL                     TX     90010904382
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92566292943584   SANDI             BRITTAIN                UT     90006662929
92567588251334   CHRISTOPHER       NEWBERRY                OH     90012665882
92567741443584   RAE               CLEMENTS                UT     90008517414
92569423793755   JESSE             BROWNING                OH     90014414237
92571696561979   MARIO             DIAZ                    CA     46003586965
92572857955967   VELEN             RAMIREZ                 CA     90006788579
92572935497123   KYSHERIA          GALES                   OR     90012929354
92573892843584   AMANDA            KURT                    UT     90014638928
92575333755951   DU                HO                      CA     90013843337
92575712191521   ENRIQUEZ          JOSE ANTONIO            TX     75002047121
92577839591521   APRIL             GUTIERREZ               TX     90012818395
92578195393755   KELLY             MADDEN                  OH     90015011953
92578995791521   MONICA            GAUCIN                  TX     75015079957
92579393993755   DANIELLE          WHITE                   OH     90013163939
92579566661977   SILVERIO          CORRAL                  CA     90012735666
92582914355957   KIANNA            ENCINIAS                CA     90014939143
92583491291951   TIERRA            DENNY                   NC     90012844912
92584729861977   ALDO              LOPEZ                   CA     90013057298
92585313655951   YANG              VANG                    CA     90013263136
92585442761556   CHELSEA           DORRIS                  TN     90005224427
92586243633698   ALLYSON           SHELTON                 NC     90014812436
92586672355957   RALPH             MARTINEZ                CA     90013936723
92586877391521   GUADALUPE         AVILA                   TX     90011168773
92587747131624   DESIREE           ROGERS                  KS     90012367471
92591626655951   MICHELLE          JAMES                   CA     90012876266
92591752791521   JOSE              CARDENAS                TX     90003747527
92591789491951   VIRGINIA          WIGGINS                 NC     90014787894
92592898781634   JACK              STICKEL                 MO     90014738987
92595935555957   JOSE              RAMOS ESPINOZA          CA     90012519355
92596612181635   BRIGITT           ARNDT                   MO     29012926121
92597516725335   PATOLO            AUKUSITILO              WA     90015375167
92611485391599   MICAELA           DURAN                   TX     90005074853
92611574541296   DANIEL            WELCH                   PA     51064185745
92614252297123   ANNA              VALDIVA                 OR     90009082522
92615336591599   FURNITURE         OUTLET WAREHOUSE        TX     90000833365
92616714355957   ERNIE             REYNA                   CA     90015177143
92617252297123   ANNA              VALDIVA                 OR     90009082522
92618129991521   ANTHONYE          VARELLA                 TX     90008411299
92618188781635   ANDRIANA          ADAIR                   MO     90013221887
92618618643584   KIMBERLY          DEGELBECK               UT     90002816186
92619322891599   AMY               AVILA                   TX     90012003228
92619925791521   MONICA            PEREZ                   TX     90011069257
92622571391599   JUAN              DE AVILA                TX     90013005713
92622579155951   ARTHUR            WALLACE                 CA     49014885791
92622922343584   SHERRIE           ROBINSON                UT     31026939223
92624626191599   ANNET             CASTILLO                TX     90007896261
92625477991521   MONICA            CERVANTES               TX     75092094779
92625663155951   GRACIELA          INIGUEZ                 CA     49030296631
92625785977537   ANNIE             OMAYE                   NV     90010337859
92626174455951   LETICIA           AMARILLO                CA     90012431744
92626188261979   COURTNEY          LEWIS                   CA     90011791882
92626692943584   MALISSA           PERRY                   UT     90003146929
92627475291599   MARYL LU          BUENO                   TX     90003664752
92629191355938   KELLY             HER                     CA     90003461913
92629268761979   CINDY             MUENNICH                CA     90011432687
92629682881635   THERESA           OPATRNY                 MO     29063556828
92629937455957   JOSUE SAUL        ARMENTA ESPINOZA        CA     90015329374
92631458181637   DEVAN             SYKES                   MO     90003564581
92631653741251   GEORGE            DENGLER                 PA     51089506537
92631661791521   PERLA             MENDOZA                 TX     90012816617
92632371793755   DESTINE           TUCKER                  OH     64516813717
92634244377521   JOSE              SILVA                   NV     90001682443
92635693491951   PERDO             FERMIN-ARROYO           NC     90013236934
92636326141299   MARGARET          HILF                    PA     51053613261
92636671543584   REBECCA           DURRANT                 UT     90012246715
92636961591521   MONICA            NINO                    TX     90010019615
92637254193755   NATALIE           KISER                   OH     90015612541
92637583755951   ANGEL             TOSCANO                 CA     90012275837
92637976981635   SHAQUDIA          WILSON                  MO     90014729769
92638278633698   MARVIN            BOGANS                  NC     12097342786
92638983677537   MARIA GUADALUPE   BIBRIEZCA               NV     90012449836
92639615197123   ROBERT            LEWIS                   OR     90009136151
92639981761977   NATALIE           GARNER                  CA     90012449817
92642536777537   ANGELICA MARIA    VIVAR-GONZALEZ          NV     90011725367
92644273143584   JEFFERY           PARRIS                  UT     90009672731
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92645275181634   MARIO                 ARMENTA             MO     29010362751
92646352591399   ERICK                 CRUZ                KS     29056553525
92646955791599   ERNIE                 URTEGA              TX     90008759557
92647289655957   GLORIA                MARQUEZ             CA     90014582896
92648656743584   MICKIE                MCCROR              UT     90013166567
92651485581634   BRAD                  GOODMAN             MO     29034114855
92652235843584   STEPHANIE             BAKER               UT     90003522358
92652739377537   VIRIDIANA             PACHECO             NV     43089367393
92653128791951   JATARAH               WHEELER             NC     90013881287
92654424855957   ERWIN                 ECHAVEZ             CA     90014654248
92657267755957   IRLANDA               ANGULO              CA     90008132677
92657656743584   MICKIE                MCCROR              UT     90013166567
92658477481635   LYNZEE                COOKE               MO     90013584774
92659127941296   HEIDI                 LEYTRICK            PA     90010641279
92659831955951   JESSIE                RODRIGUEZ           CA     90013178319
92659949361979   CLARE                 COBIEYA             CA     90002929493
92661973693769   NORLENE               ONEAL               OH     90010009736
92663349597123   HEATHER               JUNGER              OR     90000333495
92663927791521   KARRIE                WELLS               TX     90010719277
92666169297123   RACHEL                EARLY               OR     90014401692
92666325797123   RACHEL                EARLY               OR     44011173257
92666462991882   RICHELLE              HATCHER             OK     21065404629
92667334241296   RAHUL                 WILLIAM             PA     90013473342
92668336491951   TIA                   ALLEN               NC     90014713364
92668777961977   LORENA                VELAZQUEZ           CA     90006967779
92671762481635   TINA                  CRUCES              MO     90010547624
92671968443584   JAMIE                 BUSICO              UT     31089839684
92672951591544   MIRIAM                GUTIERREZ           TX     90009649515
92674264241296   MICHAEL               SULEY               PA     90014702642
92674426481635   CHRISTINA             LAMB                MO     90012964264
92674641591599   ERSKINE               YESENIA             TX     75093446415
92676234691599   ALEJANDRA             LOPEZ               TX     90002902346
92678236833698   MARLO                 TOWNSEND            NC     90014712368
92678448893769   REBECCA               TURK                OH     90008024488
92679351951334   GONZALO               CERECERO            OH     90010263519
92681362851334   HECTOR                SAAVEDRA            OH     66091343628
92681964291521   MIRYAM                ESCALANTE           TX     90014059642
92682644441296   TAMIKA                DUCK                PA     90010866444
92682897351364   PATRICIA              HUSS                OH     90008718973
92683573871945   CONSTANCE             THIBODUX            CO     90004825738
92684446661979   SAMUEL                CASTILLO            CA     90011794466
92685422971965   JOAN                  KLATT               CO     90012004229
92686145581635   BRITNEY               RUTH                MO     90011091455
92687397941296   SHADARRA              PIRL                PA     90015453979
92688649477537   TIFFANY               ROWE-CULTEE         NV     90011436494
92689473791521   MARIA                 ESTHER              TX     90004144737
92689691141296   RENEE                 HUDSON              PA     51097536911
92689883377537   FERANDO               FERNANDO ORTIZ      NV     90012548833
92691215991951   ANEL                  BOJOY               NC     90010732159
92691634881635   DALE                  FUGATE              MO     90005466348
92691721255957   ANTHONY               DE LOS SANTOS       CA     49054097212
92692168493755   SARAH                 VANHOOSE            OH     90010261684
92692257397123   ASHLEY                SCHLECHT            OR     44075692573
92692813955938   FELIPE                LEAL                CA     90012678139
92692928943584   HEATHER K             PEDERSEN            UT     90006449289
92692946481634   RONALD                GARRISON            MO     90008749464
92693144591521   JOELDA                ESTRADA             TX     75053511445
92694115191951   CYNTHIA               LYONS               NC     17041671151
92694344955951   JUSTIN                KONKEL              CA     90013963449
92694417491521   LAW FIRM OF ROBERTO   SANCHEZ             TX     90014154174
92694467655975   ELIZABETH             VILLA               CA     90013244676
92699592133698   JULIUS                COARD               NC     90014845921
92711395581635   KRYSTLE               EYE                 MO     29095423955
92711718541296   DOMINIQUE             SHERELL             PA     90011927185
92711771197123   SOPHIA                LORENZA GUTIERREZ   OR     44071597711
92713116361971   FERNANDO              RESENDIZ            CA     90014531163
92713775455951   ALICIA                PETERSON            CA     90012177754
92714727261977   DANIEL                NEWMEYER            CA     90010827272
92716186955957   RICKY                 RODRIGUEZ           CA     49013301869
92716339193755   KHIEE                 NASBITT             OH     90014713391
92716377791599   JONATHAN              SOLIS               TX     90014893777
92716752761979   JUAN                  LEAMOS              CA     90002717527
92717455563629   BRYAN                 HEUMANN             MO     90003684555
92718358491599   JOEY                  GRADO               TX     90012563584
92724579861979   HECTOR                RODRIGUEZ           CA     90009295798
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92725397291599   HECTOR       GIBSONCASTRUITA              TX     90006793972
92725938155957   JUAN         MONTALBO                     CA     90011989381
92726157291599   LUIS         CUELLAR                      TX     90013811572
92726923877537   FEDERICO     AYALA                        NV     90012459238
92726938193755   CASEY        HANEY                        OH     90008719381
92727584277537   DILLON       BLUNK                        NV     90003065842
92727911581634   MISS         NIQUE                        MO     29042369115
92731781543584   BILLY        WESCOGAME                    UT     90013487815
92732843955951   CASSONDRA    HICK                         CA     90013628439
92733592121684   LAFAYETTE    STUART                       OH     90011065921
92734377791599   GUADALUPE    PENA                         TX     90002153777
92735132591599   MOISES       AGUILAR                      TX     90013641325
92735443451334   TIMOTHY      LEHMKUHL                     OH     90013644434
92737392393755   TANESHA      MADDICKES                    OH     64574363923
92737469791399   SANDRA       GONZALEZ                     KS     90006214697
92741546993755   JEFFEREY     WASHINGTON                   OH     64505625469
92741998355951   REYNA        COTA                         CA     90004679983
92742285791599   CARMEN       VAGUHN                       TX     90013332857
92742527693755   DYLAN        TAYLOR                       OH     90015485276
92743352141296   DAVID        GOODE                        PA     90002613521
92743948197123   BADINA       BLAND                        OR     90010969481
92744485261979   JOHANNA      MARTINEZ                     CA     90013024852
92744565991882   LAURA        BUIE                         OK     90001225659
92744832791521   DAVID        CARRILLO                     TX     75071688327
92744958991951   SARA         CIESLA                       NC     17078679589
92747182661977   GUADALUPE    GUTIERREZ                    CA     46060081826
92747414551334   KAHREM       FAVOR                        OH     90013484145
92748281955951   JOSEPH       GONZALEZ                     CA     90012032819
92748955341296   DANIELLE     LAROCHE                      PA     90008859553
92749426971945   JORDAN       KING                         CO     90006384269
92749867191964   YOLANDA      CAMPBELL                     NC     90011498671
92751331491599   EDICA        RENTERIA                     TX     90009753314
92751677633698   BRITTANY     NEW                          NC     90014566776
92751962161977   TAMIKA`      SAMUEL                       CA     46049109621
92752526361977   JUAN         GUERENA                      CA     90010985263
92752869647924   CANDELARIA   GUARDADO-CABALLOS            AR     90013848696
92753411355951   JANEAN       PEREZ                        CA     49080064113
92753774755928   ERICA        AVINA                        CA     90000307747
92753818281634   PAUL         TOUNZELL                     MO     90006958182
92756195755957   EVCYNTHIA    LUNA CARRISALEZ              CA     90011821957
92758356133698   ANDRE        HOUGH                        NC     90014793561
92761462681635   JOHN         MARGLIN                      MO     90014014626
92762155291599   GUILLERMO    CERVANTES                    TX     90010411552
92762948443584   ALDO         HERNANDEZ                    UT     90010719484
92764583491599   JONATHAN     LUTHER                       TX     90012585834
92766347593755   KEITH        MORROW                       OH     90014593475
92766356691882   ROBERTA      RAMIREZ                      OK     90000673566
92766781955951   NICOLE       OWENS                        CA     90009957819
92767791791547   ENRIQUE      ROBLES                       TX     90005847917
92769374397123   VICTORIA     ESPINOZA                     OR     90014733743
92769694755957   ROBERTA      BEACH                        CA     49086536947
92769835791599   IRMA         CABRERA                      TX     90009738357
92771317243584   MARIA        CASTRO                       UT     90007623172
92771486591951   ISMAEL       SANTOS                       NC     90009214865
92771655991521   BERTHA       HILL                         TX     90010926559
92771936655957   CARLA        LEIJA                        CA     90015329366
92772656791599   JULIO        ARANDA                       TX     90013576567
92772779141296   DECEMBER     DIXON                        PA     90014007791
92773976281635   JOZZIE       FLEXX                        MO     90014139762
92774544991599   FAUSTO       LOPEZ                        TX     90014875449
92775138655957   RITA         RICKMAN                      CA     49091691386
92775728651334   MONTANA      WASHINGTON                   OH     66010417286
92775899833698   ANA MARIA    GARCIA                       NC     90012998998
92777449761979   DAMON        BYRD                         CA     90002724497
92777815551334   LINDA        RIED                         OH     66021708155
92778696877537   LUIS         MARTINEZ BARAJAS             NV     90014356968
92779251491951   CHEWAYNE     LEE                          NC     90012442514
92779491191521   LUNA         MICHELLE                     TX     90005824911
92779858291399   ERICA        SIGALA-SANCHEZ               KS     90011428582
92781782191521   CRISTINA     GARCIA                       TX     90014487821
92781977981634   JOSEPH       ATCHISON                     MO     90015269779
92782426981634   MRS          PARRIS                       MO     90009194269
92782931377537   ALEXANDRIA   BROWN                        NV     90009199313
92783955181634   TIFFANY      LILES                        MO     90013089551
92783984555957   MARCO        ROMERO                       CA     90014179845
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92784123155951   JOSE         VASQUEZ                      CA     49031781231
92784187143584   KIM          MCKINNON                     UT     90013991871
92784755681637   LASHAWN      TIVIS                        MO     29084337556
92784964641296   CALVIN       MORAN                        PA     51084899646
92786659881634   GREG         MARSH                        MO     90008226598
92787281751334   BOBBIE       SMITH                        OH     66024832817
92789394191882   MIGUEL       GUSTAVO                      OK     21004863941
92791139171936   KAREN        ORTIVIZ                      CO     90014511391
92791683643584   KELLY        WARREN                       UT     90010746836
92792413461979   CARLOS       FLORES                       CA     90000364134
92792629497123   DAN          HOGELAND                     OR     90003736294
92793287255957   JENNIFER     COLLINS                      CA     90014192872
92793328181634   LUCY         FLORENCE GRANT               MO     90011413281
92793997451334   MINDY        BERYMAN                      OH     90000999974
92794223191532   PATRICIA     RODRIGUEZ                    TX     90013202231
92795153377537   HAIRO        OROZCO                       NV     90011401533
92795217851343   STWPHEN      BYNDON                       OH     90001592178
92795427451334   GIOVANI      ESCALANTE                    OH     90012604274
92796731881634   CARNELL      KING                         MO     29015217318
92798548591951   TANISHA      FARRIS                       NC     90010885485
92811263881634   SHANE        HALL                         MO     90012692638
92812148693755   RUSSELL      TOLEN                        OH     90009871486
92813384361977   IRENE        AGUILAR                      CA     90008473843
92814573291951   HECTOR       HERNANDEZ                    NC     90014065732
92814629391921   FELISA       LAVIN REYNOSO                NC     90004086293
92815814855951   REBECCA      GOMEZ                        CA     90010758148
92816833981634   FANTROY      QUENTIN                      MO     90012948339
92818139155951   JORGE        ALVAREZ                      CA     90005511391
92819223277537   TOMAS        ESCOBAR                      NV     90011942232
92821278991599   BALDERAS     FERMIN                       NM     75042162789
92821752291882   TERESA       MCLEMORE                     OK     21086797522
92822413461979   CARLOS       FLORES                       CA     90000364134
92822755797123   JESSIE       DAVIS                        OR     90014737557
92823112843584   KRISTEN      HOWELL                       UT     90011991128
92823352691951   AARON        RAMSEY                       NC     90010303526
92824755797123   JESSIE       DAVIS                        OR     90014737557
92825145291326   MELVIN       INTERIANO                    KS     90002271452
92825169791521   LISETTE      SANCHEZ                      TX     90015031697
92826375481635   COREY        MORGAN                       MO     90006753754
92826728943584   EVERILDA     FERGUSON                     UT     90004737289
92826981191882   EBARISTO     NUNEZ                        OK     90006559811
92827367185844   MICHAEL      SANDERS                      CA     90007953671
92827836661977   GUADALUPE    ZAMUDIO                      CA     90000248366
92828128791882   APRIL        LIPP                         OK     21091921287
92828578591951   JOSEPHINA    ROMERO                       NC     17089695785
92831185933698   ALVARO       AGUILAR                      NC     90007561859
92833893697123   CALVIN       COATS                        OR     90006838936
92834212891863   JANE         THOMPSON                     OK     90003032128
92837657951334   BRITTANY     WARD                         OH     90013016579
92837777461979   GABRIEL      PAEZ                         CA     90010127774
92837983251334   ROLAND       SCHUMACHER                   OH     90014389832
92838188781635   ANDRIANA     ADAIR                        MO     90013221887
92838377191882   VELOIS       GOODLETT                     OK     21089643771
92839235543584   JUDY         JASPER                       UT     90008412355
92839992155951   CASTINE      PEREZ                        CA     49096829921
92841442761979   ALEXIS       YANIS                        CA     90011804427
92841735943584   JOSHUA       RICHARDSON                   UT     90009677359
92841992993755   DARNELLE     SHACKLEFORD                  OH     90012549929
92842735155951   PRADO        RODRIGUEZ                    CA     90013227351
92843932271928   YVONNE       SANCHEZ                      CO     90003509322
92843984981634   NONA         ABBOTT                       MO     90005419849
92844283991521   CECILIA      DE LA ROSA                   TX     75001012839
92844911591599   PABLO        TRAVIZO                      TX     75080259115
92844973443584   SHERRI       BOLTZ                        UT     90014099734
92845231772468   KRYSTAL      PANDULLO                     PA     90013062317
92846155451334   JENNIFER     OWEN                         OH     90015341554
92846954681634   OTONIEL      PEREZ                        MO     29054089546
92848261491521   MARIA        PEREZ                        TX     75087292614
92849725191547   CARLOS       GARCIA                       TX     75008167251
92851333691521   ADOLFO       LAZCANO                      TX     90014293336
92851577491521   JOSE         PACHECO                      TX     75067845774
92851629793768   CHARLES      PETERMAN                     OH     90015076297
92851787451334   JOE          CHASSIN                      OH     90015427874
92852827141296   DAVID        EICHER                       PA     90013858271
92853121433698   ASHLEY       LITTLE                       NC     90007761214
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92853272591521   JUAN              GOMEZ                   TX     75072982725
92854491391951   LORENA            BOYZO                   NC     90006824913
92854836785689   TOMAS             LOPEZ                   NJ     90005168367
92854947881634   ROSALINDA         ZARAGOZA                MO     90002569478
92855865593755   REBECCA           HAMILTON                OH     90009778655
92858279355957   EUGENIA           REYES                   CA     90008832793
92858353243584   JORGE             RIVEROS                 UT     90013903532
92858595391531   ALEJANDRA         SALCEDO                 TX     90005065953
92858915981635   MARIA             RAJAS                   MO     90000529159
92859288355951   AMANDA            TARIN                   CA     90005872883
92862855561979   NICOLE            MIRANDA                 CA     90012728555
92863722261977   RAUL              KASEM                   CA     90007927222
92863934961971   MAGDALENA         COLADO                  CA     90001849349
92864795161979   SARA              ESCOBAR                 CA     90012727951
92865442181634   TERRY             COLBERT                 MO     29046554421
92865672755925   ESTHER            RICARDO                 CA     90011316727
92866552891399   FLOR              GARCIA                  KS     90009805528
92866835855951   GABRIELA          GARCIA                  CA     90002548358
92871564761979   ANGEL             PEREZ                   CA     90013115647
92871827391521   DAVID             SAAVEDRA                TX     75049398273
92872229443584   AUSTIN            KADING                  UT     90012312294
92874187491599   GRACIELA          PRIETO                  TX     75013761874
92874588181634   VICTORIA          SMITH                   MO     90008085881
92875166551334   JOSE              BUEZO                   OH     90013961665
92875645397123   ALBERTO           GARCIA GRANADOS         OR     90010946453
92875823931469   JERMELL           JACKSON                 MO     90012428239
92877341651334   HEATHER           FURGUSON                OH     90010183416
92878813533698   CHRISTINA         JAMES                   NC     90010518135
92879596831942   RUBY              MORALES MENDOZA         IA     90012025968
92881424597123   ANNETTE           GARCIA                  OR     90008914245
92881497355957   TAMARA            BOLDEN                  CA     49081814973
92881921761979   IMELDA            HERNANDEZ               CA     90006269217
92882678755957   ALBERT            MORALES                 CA     90009466787
92883184281634   ALEXANDER         FUENTES                 MO     90002441842
92883459241296   TAMAR             SIMMS                   PA     51050834592
92883479255951   DENISE            CORONADO                CA     49085654792
92884251961928   ROBERT            VAZQUEZ                 CA     90011822519
92884851893755   LYLE              DALTON II               OH     64563838518
92885882855957   JENAE             FAIRROW                 CA     90014988828
92886878777537   AARON             BUCKLEY                 NV     90009068787
92886955691399   RAMONA            MALDONADO               KS     90002739556
92888881491521   DIANA             GUZMAN                  TX     90013048814
92889134655957   CHAMPAYLE         MEDLEY                  CA     49093921346
92889262193755   GERRICK           COPELAND                OH     90013042621
92891191393769   JOSHLYN           HARGRAVE                OH     90008731913
92891239981648   ELDOR             SOTO DE LEON            MO     90005162399
92891597193755   JEFFREY           HOPKINS                 OH     64525685971
92891672897123   KENNETH           HAGEN                   OR     90002486728
92892188333698   ANTOINETTE        TORRENCE                NC     90011081883
92892895155957   JUAN              LOPEZ                   CA     49041688951
92893257493738   PATRONICA         COHEN                   OH     90000942574
92894341193755   CHELSEA           GOODING                 OH     64543133411
92894811191599   LOURDES           PEREZ                   TX     75014068111
92895328241296   JAIME             COSTELNIK               PA     90006873282
92895791191599   FAVIOLA           MEJIA                   TX     90007467911
92896155251334   JASH              ALATLRGROV              OH     90014331552
92896619391521   MARGARITA         GUILLEN                 TX     90007456193
92899989661979   JOSE FELIX        GONZALEZ                CA     90011809896
92911719791951   BERNAHD           SINGELTON               NC     90013607197
92911738877537   MARIA             CORDOVA                 NV     90009197388
92912187941296   JOSEPH            BRUNO                   PA     90015321879
92912916155957   ANGELA            SPRINGLER               CA     90014709161
92913766625335   THOMAS            KELLY                   WA     90015207666
92913983591599   ENRIQUE           PORTUGAL                TX     75032019835
92915234943584   BENJAMIN          SUTTON                  UT     31075412349
92915274691399   LORI              HANSFORD                KS     90013302746
92916877591951   SAMUEL            FEWELL                  NC     90012328775
92916915391521   TAI JAVAE         JEFFERS                 TX     90011839153
92917881697123   KENNETH           WILSON                  OR     90014748816
92918579791599   JUSTIN            KYLE                    TX     90013005797
92918994681634   JANAE             BETTS                   KS     90012269946
92919633381635   RANDALL           GASSEN                  MO     90010916333
92921966581635   STACY AND HERKY   VILLARREAL              MO     90013649665
92922363393755   LINDA             THARP                   OH     64571353633
92924456891554   JESSE             OCON                    TX     75047584568
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92924635455957   BECKY           VIDAURRI                  CA     90012666354
92924638291599   CLAUDIA         HERNANDEZ                 TX     90005276382
92924691361979   FABIOLA         GONZALES                  CA     90010416913
92925112577537   DIONE           BUCKEYBILE                NV     43088371125
92927492661973   JOSE            JIMENEZ                   CA     90011244926
92928426281637   DWIGHT          CURTIS                    MO     29003324262
92931627297123   FELICITAS       FLORES JIMENEZ            OR     90002576272
92932826551334   KEVA            SMITH                     OH     66030388265
92934928433698   HOWARD          DUMAS                     NC     90013879284
92935148391399   AMER            ALMASRI                   KS     90009821483
92935687261977   GIOVANNY        CASTILLO                  CA     46049336872
92936351155957   LORENZO         OCHOA                     CA     90015183511
92936653841296   DARNELL         LOAMONT                   PA     90010866538
92937215451334   JAMIE           COOGAN                    OH     90014272154
92937228393755   GAYLE           JOHNSON                   OH     64518582283
92937422791521   JOSHUA          BAILEY                    TX     90008014227
92937778381628   ARVEY           TOREZ                     MO     90014077783
92937862355951   MARTHA          ORZOCO                    CA     90014838623
92938338955957   CASEY           SHIROYAMA                 CA     49008453389
92939276961978   CHRISTIAN       JUAREZ                    CA     90013902769
92939657755951   JUANA           OIONICIO                  CA     90010276577
92939941797123   RON             MUNGER                    OR     90014749417
92941467633698   MARGARITO       RODIGUEZ                  NC     90013484676
92942946433698   JAMES           CARDEN                    NC     90001999464
92943237561979   ELPIDIA         MERCADO                   CA     90011812375
92943492861977   CHRIS           CARTER                    CA     46084424928
92944634377521   JAIME           ELIAS                     NV     90006826343
92945449291599   BALNCA          OLIVAS                    TX     90006384492
92945692281635   MANUIA          SAVEA                     MO     29065996922
92946536291599   ALICIA          VAZQUEZ                   TX     90005585362
92947789281635   ANDRES          CHIMAL                    MO     90012047892
92948764281652   RONALD          HAMMONS                   MO     90012937642
92948898877537   TAMMY           WILSON                    NV     43044628988
92949572291592   FRANK           MENDEZ                    TX     90003535722
92951214577537   ALYSSA          TOMASSETI                 NV     90008352145
92951531655957   MARISKA         LOPEZ                     CA     49051315316
92951999691599   EDUARDO ELIAS   ALVAREZ LOZANO            TX     90012849996
92953144561973   SILVIA          VALDEZ                    CA     90010171445
92956281661979   FREEMAN         LIBAN                     CA     90013132816
92956876191521   ALEXIS          AGUAYO                    TX     90012118761
92956976281635   MITCH           RUSSELL                   MO     90012629762
92957377191599   JESSICA         SALCIDO                   TX     90008643771
92958144861955   LEONARDA        IBARRA                    CA     90010211448
92958464591599   EL JOE          GARCIA                    TX     90013054645
92958764561979   NORMA           BARAJAS                   CA     90011937645
92959144861955   LEONARDA        IBARRA                    CA     90010211448
92959356977537   NANCY           PEDROZA                   NV     90011133569
92959741581637   TORI            JACKSON                   MO     29011537415
92962135461979   JOSHUA          MUNOZ                     CA     90006771354
92962823391951   LATASHA         FORD                      NC     90014908233
92963949577537   KARINA          BONILLA                   NV     90014419495
92964383393755   CHERYL          CLARK                     OH     90011053833
92964433193755   TROY            BOLDEN                    OH     90012884331
92965411161927   ROBERTO         ARREOLA                   CA     90010754111
92965977593755   CHRISTOPHER     MATHENY                   OH     90014459775
92966437193755   LATRISHA        WILLIAMS                  OH     64518594371
92966485597123   MARIAH          SWAYNGIM                  OR     90012494855
92967227177537   LAREE           JACKSON                   NV     90009072271
92968152793755   EDWARD          JONES                     OH     90012361527
92971621655951   LUIS            CRUZ                      CA     90015196216
92971933597123   ERICA           BUSTAMANTE                OR     90014769335
92972249391399   JAMES           MASON                     KS     29086032493
92972992793755   NYROBE          WOOD                      OH     64573349927
92975723451334   CHRISTINA       KING                      OH     66098817234
92977557543584   NORMA           LINARES                   UT     31020415575
92979457951356   HARRY           GREEN                     OH     90005504579
92981338681635   FRANCISCO       RAMIREZ                   MO     29042413386
92983297791599   FRANCISCO       HENRY                     TX     90012092977
92983458551334   LAURA           BAYSORE                   OH     90013484585
92983937291521   SANTIAGO        LOPEZ                     TX     75096349372
92984384955951   NATHAN          PIERINI                   CA     49086823849
92985446161979   ASHLEY          GARCIA                    CA     90012744461
92986747497123   AMANDA          CHOATE                    OR     90010987474
92986815655951   MICHAEL         GONZALEZ                  CA     90010938156
92986827141296   CHRISTINE       WAGNER                    PA     51020818271
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92987166661979   DIEGO        MONTEZ                       CA     90002751666
92987252251334   KARINNE      WASHINGTON                   OH     90013472522
92988168761979   STEPHANIE    BAUER                        CA     90002751687
92988269997123   JOSE         CONTRERAS                    OR     90014752699
92989274897123   FELIPE       JIMENEZ                      OR     90014752748
92989363593755   ARIC         ROEBUCK                      OH     64585453635
92991283997123   LAURIS       CURRIER                      OR     90014752839
92991481255957   ISABEL       BREAZELL                     CA     90003954812
92993153655951   NOAH         DIAZ                         CA     49001381536
92993385791951   SYLVESTER    LEEBEST                      NC     90014003857
92996178891884   MARNITA      BYRD                         OK     90009691788
92996221451334   JAMES        JOHNSON                      OH     66014472214
92998291691599   ROSA         GARNICA                      TX     90009792916
92999152261977   CLAUDIA      GALLEGOS                     CA     90010491522
92999316297123   CARMEN       NAVARRO                      OR     90014753162
93111842677537   RENEE        WINES                        NV     43046878426
93112325897121   GARY         RENTON                       OR     90005893258
93112492991521   JUAN         ACOSTA                       NM     75009434929
93113449691951   ROSA         RODRIQUEZ                    NC     17087104496
93114981861977   ARTURO       MENDOZA                      CA     90013939818
93117667961977   MARIA        PEREZ                        CA     90013896679
93118228693769   KATHY        BBANDA                       OH     90010372286
93118534785997   ELEUTERIA    ESPINOSA                     KY     90001565347
93119445191988   MARJORIE     BUCKINGHAM                   NC     90007754451
93121314997123   MANUEL       TORRES                       OR     90013933149
93121655231651   GWENDOLYN    ARMSTRONG                    KS     22098046552
93122871691599   MONIQUE      ANGUIANO                     TX     90012258716
93123542791399   TOBY         LEE                          KS     90015565427
93124596377537   JARED        CRAIG                        NV     90012465963
93125235591265   STEPHANIE    HENRY                        GA     90010562355
93125951755957   JEANETTE     MARTINEZ                     CA     90014979517
93126513493755   MELISSA      CLICK                        OH     90007685134
93126747391599   YASMINE      ROSALES                      TX     90006137473
93128488177537   SAIRA        CAMACHO                      NV     90013934881
93131149443584   DILLON       PRESTON                      UT     90007611494
93132142277537   CODY         ROGERS                       NV     90012651422
93132337143584   TARA         JACOBS                       UT     31002673371
93132576661979   JULIAN       JAUREGUI                     CA     90010415766
93132854755957   MICHAEL      TORRES                       CA     49093198547
93133161891521   LINDA        VILLA                        TX     75040101618
93133574391599   VINCENT      GUZMAN                       TX     90013335743
93134371191521   LUIS         BUENO                        TX     90011193711
93134989755957   CARLA        MACIAS                       CA     90009639897
93135781291599   ROSIO        YANEZ                        TX     90009147812
93136682291521   ROOT         METRICS                      TX     90011846822
93137575933698   MONICA       HEMINGWAY                    NC     12089645759
93137642144346   MAYOLO       GOMEZ                        MD     90009396421
93138266791599   ABRAHAM      MORALES                      TX     90010422667
93138949761979   JAVIER       SALGADO                      CA     90011579497
93141186577537   ALAJANDRO    GONZALEZ                     NV     90013761865
93141378461979   ESSENCE      WILKINGSON                   CA     90013683784
93141963333647   AKITHA       MCCANDIES                    NC     90005789633
93142739377537   VIRIDIANA    PACHECO                      NV     43089367393
93143126761977   ADRIANA      GARCIA                       CA     90007401267
93143177855957   XENG         LOR                          CA     90007881778
93143441661977   ALFREDO      ROVIRA                       CA     90010434416
93143747843584   VICTOR       HERNANDEZ                    UT     90010487478
93143845191951   LATEE        ALSTON                       NC     90007628451
93145437891599   JUAN         CARRANZA                     TX     90013584378
93146235133698   NADINE       RUBIN                        NC     12098352351
93147352491521   MARIA        REYES                        TX     90014393524
93148985161977   CHRISTINA    VAUGHAN                      CA     46010479851
93151447661979   CYNTHIA      JIMENEZ                      CA     46073534476
93151725191521   MARIBEL      GONZALEZ                     TX     75007357251
93152298291882   CANDICE      LUNSFORD                     OK     90015122982
93152678861977   ISMAEL       GONZALEZ                     CA     90012586788
93153646591951   NOLEEN       COLLINS                      NC     90004326465
93153672193791   RYAN         DUNCAN                       OH     90008676721
93154388155951   ALICIA       MONRREAL                     CA     90014803881
93155252551325   ALICE        EDMONDS                      OH     90014482525
93155253661977   BYRON        DUNN                         CA     46077172536
93156142491399   OLGA         GALAVIZ-VALDIVIA             KS     90007911424
93158659861977   VAKILI       AMIR                         CA     90005826598
93159453493755   TERRANCE     RETTIG                       OH     90013764534
93159458691521   GEORGE       PEDROZA                      TX     90009454586
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93159773777537   ANGELIQUE    COVELLO                      NV     90015567737
93162369471933   REGINA       COLANGELO                    CO     90010543694
93162755891399   CODY         PULLIAM                      KS     90015087558
93163227193755   VICKI        LEWIS                        OH     64518722271
93164152793755   BLANCHE      WRIGHT                       OH     90005561527
93164363341296   CINDY L      CLYMIRE                      PA     90013993633
93165392761979   TASHEE       SMITH                        CA     90015043927
93166962361977   OSCAR        ORTEGA                       CA     90013969623
93167975677537   OSCAR        DOSSIE                       NV     90012249756
93168129355951   MICHELLE     AMARO                        CA     90001531293
93168255641296   DEBORAH      POLLARD                      PA     90003032556
93168395161979   ALFREDO      PINEDA                       CA     90013923951
93168889761977   ANGELITA     PEREZ                        CA     90010368897
93169929697123   ALLEN        HOWELL                       OR     90010959296
93172769191399   DULCE        AGUAYO                       KS     29007457691
93172992197123   JESSIE       BROUGHTON                    OR     90011859921
93173336877537   ABBEY        BLAIR                        NV     90004773368
93173383893755   JORDAN       BOWLIN                       OH     90012023838
93174761497123   PATRICE      GARCIA                       OR     44069237614
93176824191554   YVETTE       MORENO                       TX     90010078241
93177692961979   SHANE        SOUZA                        CA     90013616929
93179419477537   AMBER        HITCHCOCK                    NV     43007884194
93179514661972   RAQUEL       MACIAS                       CA     46015955146
93181739585872   HA           DO                           CA     90007777395
93184329743584   KASSIDY      POTTER                       UT     90014853297
93185296877537   ALDA         RODRIGUES                    NV     43025432968
93188593555957   JOSE         PENA                         CA     90010895935
93188996197123   STEPHANIE    KRONE                        OR     44078189961
93189895491599   BRENDA       NIETO                        TX     90014408954
93193385791521   SANDRA       DUARTE                       TX     90011193857
93193977291531   VITERBO      URQUIDI                      TX     75033749772
93194916841296   PATRICIA     NUZZO                        PA     51054129168
93195376591521   MARIA        GODINEZ                      TX     75033833765
93196997693755   MICHELLE     WHITE                        OH     90001989976
93197161391599   CARMEN       RIVERA                       NM     90014231613
93197517197123   MARTHA       BANNICK                      OR     90011515171
93197828261977   MARTHA       ROMERO                       CA     46079768282
93197853991951   SAMETRICE    CHARLES                      NC     90012718539
93197936255951   ARMANDO      CABRAL                       CA     90013529362
93198361591951   CARMELO      NUNEZ                        NC     17039273615
93198578691526   LEONARDO     URRUTIA                      TX     75088505786
93198683455957   ADELIA       GONZALES                     CA     90010136834
93199965797123   RONALD       MAY                          OR     90007769657
93212938543584   DEREK        EKENSTAM                     UT     90014789385
93213692455951   MARIA        VILLEGAS                     CA     90000966924
93213872261977   IVONE        GUERRERO                     CA     90011138722
93214588291399   LINDSEY      HAYDEN                       KS     29005905882
93215794577537   ARELY        ROMERO                       NV     43068877945
93216121561979   SONYA        ORTIZ                        CA     90011581215
93216577761977   EDWARD       GONZALEZ                     CA     90008305777
93222483657137   EDDY         IBRAHIM                      VA     90009234836
93222661561973   DERRICK      PENNINGER                    CA     46086696615
93223167391951   JA NAE       MERCER                       NC     90007631673
93223696491599   JESSICA      MACIAS                       TX     75067566964
93224315591951   SHERRIA      MCMILLAN                     NC     90010003155
93225141193769   TAMMIE       HUDSON                       OH     64568861411
93226334881679   GERALDINE    NIMROD                       MO     90014623348
93226681391953   JAMES        STINE                        NC     90014676813
93226915291599   CELESTE      RAMIREZ                      TX     90010229152
93226921755951   KEVIN        ORMSBEE                      CA     90014849217
93228374391521   MARIA        ESTERGARZA                   TX     75052673743
93229233343584   CRYSTAL      FITZHUGH                     UT     90015282333
93231136291521   VIVIANA      VILLASANA                    NM     90014481362
93231882497123   MONICA       CALZADILLAS                  OR     90009218824
93232517977537   LORENA       HERNANDEZ-JACINTO            NV     90009705179
93233598591399   GABRIELA     LARA                         KS     90014915985
93233963161977   JAMES        PERDUE                       CA     46085029631
93234398155951   JUAN M       PATINO                       CA     90013983981
93235246855951   VANG         YENG                         CA     49013012468
93236588531629   TROY         MITCHELL                     KS     22062765885
93237845191599   LUCIA        HAMIDAN                      TX     75079198451
93239645761977   ALMA         MERCADO                      CA     90007346457
93241446961979   SILVIA       ROSALES                      CA     90013924469
93241553393755   APRIL        SMITH                        OH     90012395533
93243459761979   LAURA        MUNOZ                        CA     46016154597
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93243636141296   EVELYN        RHONE                       PA     90013016361
93244222791579   ROCIO         SOTO                        TX     75068962227
93244731255957   LORRIE        JARRETT                     CA     90011207312
93245263891521   MONICA        RUELAS                      TX     90013922638
93245459761979   LAURA         MUNOZ                       CA     46016154597
93246531657152   ANGEL         WILLIAMS                    VA     90001245316
93246781243584   RAQUEL        LOPEZ                       UT     90011937812
93247418261977   GUILLERMO     LOPEZ                       CA     90011184182
93248832177537   HUERY         TALBERT                     NV     90013988321
93248946255951   STEPHANIE     FAMBROUGH                   CA     90014879462
93251314793768   SUE           CASEY                       OH     90014533147
93251646997123   AMALIA        HOLT                        OR     90001976469
93251693661979   CAROLINA      BECERRA                     CA     90014806936
93252385991951   MARION        TABORN                      NC     17095373859
93252646491399   CRISTAL       SALAZAR                     KS     90011496464
93252885341296   DONNA         BURKLEY                     PA     90005338853
93254319691399   GRACIELA      HERNANDEZ                   KS     29042773196
93255618477537   NICHOLE       PLUMMER                     ID     90010546184
93256968155957   CLARISSA      DEL TORO                    CA     90014729681
93257699197123   KRISTEN       CHASTEEN                    OR     44078726991
93258246791521   DAVID         KEATON                      NM     75008612467
93258318677537   AMANDA        SAWYER                      NV     90012043186
93258886791526   ELVA          AVILA                       TX     90010138867
93261615461979   NANCY         ELIZONDO                    CA     90012406154
93262931961977   ROBERT        VAZQUEZ                     CA     90010279319
93263734397123   NATASHA       TORRUELLAS                  OR     90012607343
93264283861973   CARMEN        TORRES                      CA     90010832838
93267172891951   SANTOS        LOPEZ                       NC     90011941728
93267383861979   CHRISTOPHER   FAIRLESS                    CA     90005423838
93268647891521   JANE          HERNANDEZ                   TX     90014066478
93268653443584   DANIEL        VALLADARES                  UT     90015316534
93268719161979   STEPHANY      SWARTS                      CA     90013087191
93268726861982   HENRY         KOZIK                       CA     46015747268
93269197855951   AMANDA        JIMINEZ                     CA     49068891978
93269933191521   RAQUEL        RUEDAS                      TX     90011609331
93271252343584   JAMES         BELL                        UT     90008352523
93271357591951   TANYA         MASON                       NC     90014213575
93271775141296   KEVIN         SMITH                       PA     51027617751
93272344755951   CINDY         FEIGEL                      CA     49031913447
93272431897123   TERRANCE      JOHN-BARLOW-                OR     90004564318
93273287361979   CLARENCE      JOHNSON                     CA     90007652873
93273577991599   RUBEN         RODRIGUEZ                   TX     75005145779
93274814341296   JEAN          GROSS                       PA     90004688143
93274875191599   MONICA        CANALES                     TX     75086248751
93275425241296   CLAIRE        RODRIGUEZ                   PA     90010494252
93277642391599   FAVELA        AUGUSTIN ALEXANDRO          TX     90011966423
93277987391521   ANTONIA       NAVARRO                     TX     75097919873
93278419961979   EDDIE         CASTRO                      CA     90012744199
93279452861979   JOSE LUIS     MONTEJO                     CA     90013124528
93279794155951   JESUS         SOTELO                      CA     49075177941
93281299877537   JESUS         SANDOVAL RAMOS              NV     90011432998
93281339751337   LINDA         DERRISO                     OH     90009293397
93282366861977   ALEX          MORENO                      CA     90009623668
93282915941296   KIMBERLY      LEACOCK                     PA     51060369159
93283374391521   MARIA         ESTERGARZA                  TX     75052673743
93283418261977   GUILLERMO     LOPEZ                       CA     90011184182
93284729997123   WILLIAMS      WILLIAMS                    OR     44026897299
93285487197123   JULIE         BELLACK                     OR     90002884871
93285585561979   CESAR         GUIDO                       CA     90014245855
93285966791399   ERWIN         DIAZ                        KS     90001469667
93286125461977   GUADALUPE     TOVAR                       CA     90012421254
93286244561979   MICHELLE      LACCONE                     CA     90001002445
93286397791951   JUAN CARLOS   VALENZUELA                  NC     90009533977
93288244561979   MICHELLE      LACCONE                     CA     90001002445
93288766293755   JAKE          ENGLE                       OH     64528847662
93291465461979   GORGE         BERNALD                     CA     90005424654
93293463761979   JUA           SIXTO                       CA     90013924637
93293593255957   KOUA          XIONG                       CA     90002785932
93294445297123   MIRIAM        MACIAS                      OR     90014384452
93295433593755   ARTHUR        GARLITZ                     OH     90007994335
93295771291399   GREGORY       CATES                       KS     90011857712
93295863897123   KATRINA       VEGA                        OR     90012558638
93295941291521   ANAHI         PEREZ                       TX     90002919412
93296914577537   SOL           GARCIA                      NV     90015519145
93297364691521   PATRICIA      ALVARADO                    TX     90014463646
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93297418591951   JASMINE       SPENCER                     NC     90015224185
93297538961977   LILIANA       PEREZ                       CA     46049795389
93297544677537   ANTONIA       CRUZ                        NV     90013215446
93298441333698   ANTHONY       ROGERS                      NC     12010914413
93298453891521   LUCIA         LOPEZ                       TX     75016394538
93311728555957   KIHENDE       AEYODELE                    CA     90011007285
93312698861977   EDITH         CERVANTES                   CA     90014826988
93312743243584   SHERRY        SMITH                       UT     90011507432
93312774763657   YEANSUK       WON                         MO     90004137747
93313259343584   AMANDA        RUSSELL                     UT     90013552593
93313266691521   JUANA         CASRTO                      TX     90014762666
93313538691521   GISELLE       BELTRAN                     TX     90008265386
93313875361979   KATLYN        BROWN                       CA     90014808753
93314623893755   BRANDON       OAKES                       OH     90014816238
93315356655951   LIZET         ALANIZ                      CA     90015383566
93315555161977   RIGOBERTO     MARTINEZ                    CA     90014895551
93316221193726   AMBER         PUGH                        OH     90003892211
93316363991521   NICHOLAS      LOPEZ                       NM     75009213639
93316577361977   DULCE         NAVALLEZ                    CA     90013265773
93317917355957   MARIO         REYES                       CA     90012419173
93318422591399   ZACHARIAS     DIZMANG                     KS     90005954225
93318956897123   JACOB         BYRNE                       OR     90012869568
93318963961979   EDITH         RODRIGUEZ                   CA     90010859639
93319161243584   BRENT         NISSON                      UT     90013921612
93319588255957   DOMINIQUE     NOVELLA                     CA     90013975882
93322791591882   CHRISTINA     BROWN                       OK     21081357915
93322938261977   REBECKA       KOMEHCHEET                  CA     90014889382
93323849993736   RODNEY        GROSS                       OH     64582198499
93324221191599   LAURA         CASTILLO                    TX     90012802211
93324317977537   ANTONIO       CARDENAS-MENDOZA            NV     90010923179
93324594655951   JACQUELINE    YANG                        CA     90013655946
93324778161977   ROGELIO       CRUZ                        CA     90013067781
93325722691399   NEYDY         LICET                       KS     90014727226
93326317591599   JOSE          ENRIQUEZ                    TX     90012143175
93327195761979   CHRISTOPHER   SANCHEZ                     CA     90013221957
93327298961977   RAMON         SAAVEDRA                    CA     90013942989
93327498855957   ANDREW        PEREZ                       CA     90009824988
93328542791521   JENNIFER      STIDHAM                     TX     90008265427
93328599361977   JOSE          RIOS                        CA     90012435993
93329318591951   VANIA         TORRES                      NC     90015003185
93329798991399   EARL          MARTIN                      KS     90000577989
93332951361977   JENNIFER      REED                        CA     90010279513
93333633461977   MONICA        HINOJOS                     CA     46000436334
93334244961979   CRYSTAL       ABARCA                      CA     90011872449
93335119155951   EMILY         DUPLESSIS                   CA     90013751191
93335185391399   EDGAR         PARDO                       KS     90013931853
93335216943584   ISABEL        MONTEZ                      UT     90010862169
93335386885834   NAKISHA       DOXLEY                      CA     46025723868
93335552191521   ARTURO        SOTO                        TX     75046225521
93336399555958   STEVEN        JIMENEZ                     CA     90005883995
93336473697123   MARIO         VERA HERNANDEZ              OR     90009564736
93336677461979   ELIZABETH     JIMENEZ                     CA     90007276774
93336727755951   ALICIA        DAMIAN                      CA     49014237277
93337996461979   JANET         OWENS                       CA     90010299964
93338486877537   GABRIELA      SALINAS-OLIVA               NV     90013244868
93339121597123   ELIZABETH     ROMERO                      OR     90015191215
93339145497123   NICOLAS       BARRAGAN                    OR     90005191454
93341189991951   RHONDA        WRIGHT                      NC     90000921899
93341566293755   DANIEL        SWIGART                     OH     90007205662
93342121455957   MARY          RAMER                       CA     49043231214
93344383461977   DAVID         JOHNSON                     CA     90000173834
93344827661979   ALINA         OROZCO                      CA     90014818276
93345435361979   NORMA         DELACRUZ                    CA     90009904353
93347462631461   TONYA         JONES                       MO     90010814626
93348698891399   KEITH         ARENS                       KS     90014106988
93351697455957   JOSH          CLEVELAND                   CA     49081776974
93351886591882   GRISELDA      CASTRO                      OK     21062508865
93354885797123   REBECCA       NIELL                       OR     90009798857
93355667143584   LUPE          THOMAS                      UT     90013226671
93355842677537   RENEE         WINES                       NV     43046878426
93356922143584   ANDREW        AVILES                      UT     31088599221
93357583681679   PATRICIA      HAISLIP                     MO     90010485836
93357994131651   ELIZABETH     MUNOZ                       KS     90003629941
93359115791599   ALFREDO       MENDOZA                     TX     90013081157
93359228371979   KISHA         SERRANO                     CO     90010952283
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93362356361977   VALERI        BRIBIESCA                   CA     90013943563
93364442191521   SUSAN         MENDEZ                      TX     90006134421
93364931191599   YENISE        MEDINA                      TX     75045359311
93364994593755   ALEXZANDRA    BELL                        OH     90014359945
93365212955975   FRANCISCO     CANCHOLA                    CA     90013352129
93365263391521   ZENAI         JIMENEZ                     TX     90015202633
93365985161977   CHRISTINA     VAUGHAN                     CA     46010479851
93366786761977   CARLOS        ZAMORANO                    CA     90010487867
93371873297123   MAELETA       COX                         OR     90010918732
93372398377537   MAMEDIA       ABBRUZZINI                  NV     43087963983
93373792591599   MAYRA         HERNANDEZ                   TX     90008037925
93373968243584   MICHAEL       PUGMIRE                     UT     90014059682
93374559555951   GENOVEVA      SANCHEZ                     CA     49048785595
93374576491599   SERGIO        CANALES                     TX     90009605764
93375391161979   DAVID         GARIBAY                     CA     90012123911
93375635561978   ALEX          AMESCUA                     CA     90010646355
93376525391521   KATIA         BELTRAN                     TX     90003065253
93376658691599   MIGUEL        ALDERETE                    TX     90014046586
93377427361977   FEDERICO      ORTEGA                      CA     90012124273
93379421191399   TONI          THOMPSON                    KS     29002714211
93379569155957   RICHARD       HILL                        CA     49068205691
93381412991599   TERESA        ACOSTA                      TX     90010434129
93381579897123   BRIAN         RODRIGUEZ                   OR     90013195798
93382939155957   JAVIER        CARRANZA                    CA     49045379391
93384554141296   DEWAN         WATKINS                     PA     90014525541
93384876861979   OSVALDO       RIOS                        CA     90008388768
93385369661979   SONIA         BERNAL                      CA     90011583696
93386396161977   MIRIAM        BRAVO                       CA     90013943961
93386426841296   JASON         HUNTER                      PA     90006644268
93386631391951   CARL          COLEMAN                     NC     90013236313
93387332133698   JASON         MESSER                      NC     12085373321
93387813755957   JANICE        ALBA                        CA     90003438137
93388171397123   ETHEL         KERN                        OR     44092611713
93389993691882   TWANA         PLATT                       OK     90000179936
93391131191553   RUBEN         GONZALEZ                    TX     90001061311
93391378761979   ALBERTO       NAVARRO                     CA     90011583787
93391658943584   MICHEAL       ROUNDY                      UT     90012176589
93392186891399   TAKISHA       NAVE                        KS     90002291868
93392474861977   ISELA         HERRERA                     CA     90010004748
93393371361977   JAVIER        MORENO                      CA     90011473713
93393447961977   JHOANA        OLIVEROS                    CA     90013944479
93394887391882   ALAN          FRANKS                      OK     21004928873
93395737791599   REBECCA       GARCIA                      TX     90010657377
93395761197123   MARION        KING                        OR     44021267611
93395966191521   ISSAC         MARQUEZ                     TX     75030759661
93395987355957   ROBERTA       OWENS                       CA     90005319873
93396522957135   SAUL          GARCIA                      VA     90007815229
93396647391599   JUSTIN A      JAMES                       TX     90004216473
93396648291951   JOSE          AGUILAR                     NC     90012836482
93396913255957   NELLIE        DE LA ROSA                  CA     49089359132
93397653161979   ANDREA        AGUILAR                     CA     90013076531
93398488261977   MARIO         SALAZAR                     CA     90014174882
93398595957135   FRANCISCO     TORRES                      VA     90007725959
93411328891521   JUANA         RANGELCAHVEZ                TX     90009843288
93411377897123   CARLOS        TOLENTINO                   OR     90006773778
93411443255977   DIOSELINA     CRUZ                        CA     90007874432
93412697591521   LORENA        LARA                        TX     90011016975
93412938397123   LANCE         SATNSELL                    OR     90014989383
93413354897123   ANN           COKER                       OR     90014923548
93414867233698   JACQUELINE    VARNUM                      NC     90008208672
93415925271979   ERICA         MOLINA                      CO     90010469252
93416538291599   JULIE         PIERCE                      TX     90012655382
93417195761979   CHRISTOPHER   SANCHEZ                     CA     90013221957
93418114343584   JOHN          TERRY                       UT     31008491143
93418866293769   CHAUNTEY      GREEN                       OH     90005188662
93419585291599   QINTANA       GEORGE                      TX     75088695852
93421149655977   NANCY         MARTINEZ                    CA     90007951496
93422171355977   AIDA          ELENES                      CA     90007951713
93424891291399   PAYGO         IVR ACTIVATION              KS     90015538912
93425447373261   LINO          PEREZ                       NJ     90014824473
93425483991521   GRISELDA      MARQUEZ                     TX     90011194839
93427475791399   EMILY         MOSLEY                      KS     90003924757
93427766755951   DER           VUE                         CA     49018997667
93428326477537   RAY           LAWERY                      NV     90004193264
93428896591521   MARIA         MEJORADA                    TX     90012698965
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93429231891521   PAVON            REYNA                    TX     75028362318
93429773643584   VICKIE           WOODRUFF                 UT     90014447736
93429939655957   MAI              MOUA                     CA     90013169396
93432562591399   MATTHEW          STIPCENICH               KS     90008945625
93434229255957   YOUN             POK                      CA     49016202292
93434348477537   COLLEEN          BLALOCK                  NV     43050213484
93434482697123   MARIA            RODRIGUEZ                OR     90013204826
93434854655947   RAUL             ESTRADA                  CA     90006908546
93437817341296   AROBIA           DAWKINS                  PA     90014858173
93437999491599   CECILIO          RAMOS                    TX     90013209994
93439432261977   CYNTHIA          VERDUGO                  CA     90013944322
93439885261979   PABLO            SANDOVAL                 CA     90011278852
93443335793755   MISTY            WOLFORD                  OH     64594523357
93443339443584   TYSON            CAMPBELL                 UT     90002913394
93443611877537   ROBERT CHARLES   GODFREY                  NV     90014836118
93444173861979   MARIA            LEDESMA                  CA     90007001738
93444429555957   ANDRES           VALENCIA                 CA     90014144295
93445585477537   ERIKA            RIVERA-NAVA              NV     43057595854
93446749781667   CHRIS            LILES                    MO     90005447497
93447925955957   JOSE             HERNANDEZ                CA     49083569259
93448316233698   JT               MCKIVER                  NC     90004093162
93448356691936   MICHAEL          WATSON                   NC     90012023566
93449119843584   MATTHEW          JASTER                   UT     31075061198
93449553977537   SEFO             ROPATI                   NV     90010975539
93451759741279   JONNETTE         YOUNG                    PA     90006257597
93452581191399   JESSICA          FALES                    KS     90003925811
93456713461979   SHERYLL          GO                       CA     90012177134
93457687655951   CHRIS            ARREGUIN                 CA     90007076876
93457711991399   LATISHA          GILLOM                   KS     29057267119
93457853797123   NICHOLAS         TAYLOR                   OR     90014888537
93458629941296   DARCY            KING                     PA     51030306299
93461116561977   PAOLA            LASTRAS                  CA     90009101165
93463239441296   AMANDA           OFCHINICK                PA     90013542394
93465394543584   BRANDON          MORGANSEN                UT     90001883945
93465395561977   EVANGELINA       RUBIO                    CA     90008083955
93468954143584   PAUL             VALERIO                  UT     90014189541
93468974361977   EDGARDO          VARGAS                   CA     90014729743
93469394491882   MAYRA            LUNA                     OK     90012423944
93469919955951   SAMUEL           ORTEGA                   CA     49093609199
93471161391521   EDDIE            MAGANA                   TX     90014781613
93472379391599   JAIME            PORRAS                   TX     90014593793
93473851377537   PAMELA           PEREZ                    NV     90007698513
93474373897123   JOSE FRANCISCO   JACOBO                   OR     90014293738
93474474561977   JORGE            CASTILLO OROZCO          CA     90013944745
93474982191882   TRAVIS           BARNES                   OK     90000529821
93475895441955   ANGEL            BLASIAK                  OH     90014188954
93476637255951   ITXLANA          MARQUEZ                  CA     90011116372
93478523761979   ANA              REMILLO                  CA     90013935237
93478866277537   FRANCISCO        GARCIA                   NV     90003038662
93479484691951   NASHALY          MARQUEZ                  NC     90014814846
93479694531435   KEYAUNA          SISK                     MO     90003636945
93482733891951   MARLA            MELCHER COZAREZ          NC     90014167338
93483574561977   GUILLERMO        GONZALEZ                 CA     90012465745
93483651391599   CYNDI            CHAIREZ                  TX     90010786513
93486312291951   ASHLEY           CASE                     NC     90015373122
93486664297123   CITLALY          LIRA GARCIA              OR     90013226642
93487921555951   ALFREDO          ZARATE                   CA     49084469215
93488846463629   LISA             HIMMELSBACH              MO     90010988464
93489638443584   CHARLES          LOWRY                    UT     90001496384
93489778543584   JOHN             FITZHUGH                 UT     90010657785
93491779677537   JESUS            FLORES                   NV     90012157796
93493735391951   TARISHA          WILLIAMS                 NC     90012597353
93493792491599   VIRGINIA         ARMENDARIZ               TX     75014037924
93496975341296   CINDY            MORONEY                  PA     90001719753
93498429991521   REY              RIVERA                   TX     90011904299
93499547255957   GILDARDO         REYES                    CA     90009565472
93499633461977   JUAN CARLOS      ALCARAZ                  CA     90012096334
93499713191521   LUIS             ACOSTA                   TX     90009427131
93511834555951   ALALA            REED                     CA     90010938345
93511896555951   KAREN            GONZALEZ                 CA     49008398965
93512758677537   JESSE            ROBINSON                 NV     43094957586
93513453255951   ARKIM            STOKES                   CA     90012864532
93514437271979   DAVID            VILLA                    CO     90012484372
93515258191599   YOLANDA          LOPEZ                    TX     75026452581
93515586291951   GILMORE          DEJUAN                   NC     17041945862
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93516145955957   ROBERT        CROWLEY                     CA     49041331459
93516575291399   LAURA         RENTERIA                    KS     90011185752
93517384293769   AIMEE         BAILEY                      OH     64584083842
93518933741296   SHAWNA        JONES                       PA     90004549337
93521914261979   LUIS          ANGELES                     CA     90011589142
93524259191399   MERRI         YOUNT                       KS     29002192591
93525442841296   CHARLES       HOGAN                       PA     90015084428
93525759955951   MIGUEL        REGALADO                    CA     90011187599
93526612455951   WILLIAM       MAKEL                       CA     49012106124
93526762671965   JEFFREY       NUSS                        CO     90013337626
93527358761977   CINDY         LOPEZ CAMPOS                CA     90012213587
93527421691599   EDUARDO       MOLINA                      TX     75087254216
93527457891531   OSCAR         ABREGO                      TX     75011514578
93527843691521   RENE          PEREZ                       TX     90011428436
93531726191399   ANA           FRANCO                      MO     90013757261
93533923791521   BRIANA        ORONA                       TX     90012529237
93534673651396   DANIEL        BUCK                        OH     90005276736
93535453191951   KASEY         DILLARD                     NC     90014224531
93535764661977   JHOANA        TORRES                      CA     90004327646
93537728261971   PHILIP        PONTO                       CA     46006577282
93537749191399   ROGELIA       LOPEZ-HERRERA               KS     90012227491
93537925691399   ROGELIA       LOPEZ-HERRERA               KS     90012809256
93537937941296   TERRELL       GORMAN                      PA     90005919379
93538278461879   PAYGO         IVR ACTIVATION              MO     90011912784
93538552191521   ARTURO        SOTO                        TX     75046225521
93539426961977   ISRAEL        NAVARRO                     CA     90014094269
93539527961924   BOBBY         MORRIS                      CA     90012795279
93539748391882   JUAN          HERNANDEZ                   OK     21016427483
93539999493755   LAURA         NUNN                        OH     90012009994
93542823655951   VERONICA      VILLAR                      CA     90012858236
93542919891521   OKELLEY       JESUS                       TX     90007739198
93543125191521   JOHN          CONLEY                      TX     90012191251
93543182731424   ESMIR         DEUMIC                      MO     90010281827
93545471991951   VICTORIA M    PUPLAMPU                    NC     90013174719
93546194485948   VICKIE        BENTON                      KY     90005171944
93546783677537   HILARIA       BALDERAS                    NV     43060667836
93547239961977   JOHN          HETZEL                      CA     46042492399
93551823677537   NEFI          VALENCIA-CHANVES            NV     90013538236
93552851391521   LUIS RAUL     LARES                       TX     90009018513
93553218191399   MARIA         ORTIZ                       KS     90001022181
93553258191599   YOLANDA       LOPEZ                       TX     75026452581
93553821861977   CATHERINE     VILLA                       CA     90014628218
93554348491399   SKYLAR        HANSON                      KS     90013063484
93555263591521   CRYSTAL       SOTO                        TX     75085992635
93557597393755   LINDA G       HOWARD                      OH     90009475973
93558258191599   YOLANDA       LOPEZ                       TX     75026452581
93558638561979   NORA          DIAS                        CA     46091366385
93559575443584   TINA          CHAVEZ                      UT     90010805754
93559955991399   DIONTE        FULSON                      KS     90013379559
93559978861977   ALLEN         ELDRIDGE                    CA     46051929788
93563379885977   WALTER        MCCOY                       KY     90005233798
93563411643584   ROBERT        FINCH                       UT     31097764116
93564837855999   KIMBERLY      AL AZRAQ                    CA     90007278378
93567353597123   ALTA          SANER-MARTINEZ              OR     44036483535
93568324741296   DIMITRI       ABBOTT                      PA     90014093247
93569447991882   MATTHEW       COHEN                       OK     21072004479
93569597441296   JALINE        CUNNNINGHAM                 PA     90014935974
93571121455951   JISSEL        HERRERA                     CA     90005891214
93571891191951   JOSEPH        CAMPBELL                    NC     17072198911
93572461761977   MASARU        KIKUTA                      CA     46079724617
93574139293755   DOROTHY       BROWN                       OH     90006371392
93574181491599   VICTOR        PEREZ                       TX     90011051814
93575239561977   SONIA         ROMERO                      CA     90012872395
93575291191399   DANIELLE      RODGERS                     KS     90014712911
93576668155951   RAMON         SANCHEZ                     CA     49080746681
93578479677537   CHRIS         CARLEY                      NV     43057654796
93579625533633   LOUIS         ALLEN                       NC     90013356255
93581531691951   MARIELA       VERDUGO-MORALES             NC     90014185316
93581993963639   WILLIAM       HOFFMAN                     MO     90003969939
93582713685689   NERY          VELASQUEZ                   NJ     90004837136
93583335691399   KATHRIN       RIDDLESPRIGER               KS     29035113356
93586187341955   JOSEPH        BADILLO                     OH     90015371873
93588112997123   JOSE          RODRIGUEZ                   OR     90008431129
93589294491399   CHRISTOPHER   BREGGEMAN                   KS     90015292944
93593229591599   JOSE          HERNANDEZ                   TX     75094242295
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93594292155957   STEPHANIE    TORRES                       CA     90014522921
93594356261977   JOSE         JUAREZ                       CA     46098533562
93594393191599   FELICIANO    HERNANEZ                     NM     75088253931
93594444784381   LESLIE       BOWICK                       SC     19061594447
93596232891882   KESHA        ADAMS                        OK     90002162328
93596947555957   RICHARD      GUZMAN                       CA     90010209475
93597137191882   NICHOLAS     HAWTHORNE                    OK     90009731371
93599639361979   BEVERLY      BIGBEE                       CA     90013926393
93611491533698   JOHN         LOFTIS                       NC     12045674915
93611493443584   LEXI1022     FRYER                        UT     90009584934
93612826293755   JULIE        COLEMAN                      OH     64559868262
93613747155951   FRANCISCO    AVALOS                       CA     49008857471
93614647891521   JANE         HERNANDEZ                    TX     90014066478
93614788961951   FLORENCIA    GUARDADO DE RODRIGUEZ        CA     90002997889
93614994293755   AUGUSTUS     DAVIS                        OH     64554919942
93615355391599   ALEJANDRA    GARCIA                       TX     75032383553
93617774691599   RICK         BAQUERAA                     TX     90013807746
93617815791521   ARMANDO      GUAJARADO                    TX     75029238157
93617967593755   VANESSA      MORELOCK                     OH     64509819675
93619179561979   HABONIMAMA   PHOIBE                       CA     90003861795
93621617557123   ELODIE       BATAILLE                     VA     90011776175
93621856191951   SARAH        KIMBROUGH                    NC     17019088561
93622319255935   FRANCISCA    MORENO                       CA     90008053192
93623463791951   ANDREA       FAMOR                        NC     90009494637
93625249961977   ELVA         KRAMER                       CA     46025102499
93625295893755   KYLE         ADAMS                        OH     90010522958
93625393861979   EFRAIN       PADILLA                      CA     46016533938
93626644191599   RAMI         RAMIREZ                      TX     90014076441
93627151255928   PATRICIA     JURADO                       CA     49090971512
93627585691521   ABIGAIL      ROMO                         TX     75043095856
93628191355951   KELLY        HER                          CA     90003461913
93629924491399   JENIEL       HUMMINGBIRD                  KS     90015259244
93632819991882   JOSEFINA     NAVARO                       OK     90006928199
93632947591951   POLO         MARTIN                       NC     90009999475
93633389597123   MARINA       WASS                         OR     90006693895
93636633741296   KEVIN        RUHL                         PA     51055006337
93638531691951   MARIELA      VERDUGO-MORALES              NC     90014185316
93639548141296   GEORGE       GABLE                        PA     51090005481
93642232161977   DEBORAH      URANGA                       CA     46093442321
93644267261977   EFRAIN       MONROY                       CA     46071902672
93645565361977   ALICIA       CRUZ                         CA     90013255653
93646378897123   SARAH        VIDANA                       OR     44045223788
93647724855951   EDUARDO      HERNANDEZ                    CA     90009047248
93647838551337   SANDRA       MAGGARD                      OH     90007058385
93648448691599   ROSA         GUZMAN                       NM     75041054486
93648532891951   RANDALL      REDICK                       NC     90014185328
93649314391882   JOHN         RECESS                       OK     90006803143
93649783255951   LISETT       OLIVARES                     CA     49021627832
93652694393755   TOM          HICKS                        OH     90010906943
93653523991828   KATHY        SANCHEZ                      OK     90008665239
93655354541296   TAMARA       CRAVEN                       PA     51027233545
93655483791399   RICARDO      MONROY                       KS     90011894837
93657519161979   FLORES       MARIA DEL ROCIO              CA     46071115191
93658137193732   CYNTHIA      HOUSTON                      OH     90010931371
93659179933668   ROBIN        EVANS                        NC     90004441799
93661162141296   KATHY        HOF                          PA     90015141621
93661939477537   APRIL        AXTEL                        NV     90010279394
93662761877537   MYERIEM      SHEVERNOGA                   NV     90010827618
93665557457149   MARIO        CRUZ                         VA     90013025574
93666123361977   SERGIO       SANCHEZ                      CA     90008341233
93669428361977   TROY         PEREA                        CA     90010174283
93669973443584   SHERRI       BOLTZ                        UT     90014099734
93673158161979   MANUEL       ALVAREZ                      CA     90001101581
93674128891599   ALAN         CEBADO                       TX     90012761288
93675627161977   FELICIA      HILLARD                      CA     46047776271
93676629531245   OFER         MEGED                        IL     90002786295
93678112755951   HATTIE       EDDINGTON                    CA     49020411127
93678484677537   GUILLERMO    PADILLA                      NV     90010434846
93678675555957   DESHAWN      WHARRY                       CA     90012076755
93682371231426   IZORY        WADE                         MO     90010823712
93683327691882   MEGAN        LEWIS                        OK     21072843276
93683919943584   SHARON       HERNANDEZ                    UT     90003219199
93684494697123   NOEL         ARECHIGA                     OR     90012094946
93685381755951   LISA         MADRIO                       CA     49080263817
93687227297123   FROYLAN      CHAVEZ                       OR     90013562272
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93688883997123   GEORGINA     GARNICA                      OR     90006878839
93688918761977   JAMES D      MICKELSON                    CA     46064359187
93689442955951   ROSALVA      VIVIAN                       CA     90012804429
93694385361977   STEPHANNY    CAMPOS                       CA     90008073853
93695736691599   DONNA        BINFORD                      TX     75015237366
93695791991521   LORENZO      MENDOZA                      TX     75032357919
93696363755935   VICKI        MENDIVIL                     CA     90000993637
93696619291554   MIGUEL       ARZATE                       TX     75093856192
93697671455957   VERONICA     GARCIA                       CA     90009446714
93697812591521   NICHOLAS     MEDINA                       TX     75052678125
93698318693755   MONROE       BINSON                       OH     90002983186
93698773843584   BARBARA      CLARK                        UT     31075447738
93699464455957   MARIA        MARTINEZ                     CA     90010374644
93711213791521   BLANCA       MARTINEZ                     TX     75092912137
93711478891521   LUIS         COTRERAS                     TX     90010084788
93712636255951   JOSE         QUEZADA                      CA     90011036362
93713714797123   JOSE         MALDONADO CARRILLO           OR     90013567147
93713747361979   KATHLEEN     MCNEAL                       CA     90013077473
93714296461979   MODESTO      GARCIA GARCIA                CA     90011592964
93714566191521   MIGUEL       FELIX                        TX     75029745661
93716592555951   LAURA        VENEGAS                      CA     90007395925
93717539197123   GUADALUPE    ZENDEJAS                     OR     90008575391
93717668791599   JAQUELINE    DIOSDADO-CARDONA             TX     75007006687
93719872943584   FIONA        BAIRD                        UT     31049148729
93721125261979   GLENNDA      LAIRD                        CA     46093661252
93721491393755   JEANNIE      MITCHELL                     OH     90013514913
93722335685872   TIMOTHY      CUTTER                       CA     90003103356
93722365791399   TREVA        CAMPBELL                     KS     90011493657
93722669941251   YVONNE       WILSON                       PA     90014106699
93722953161959   DEVONNA      BEY                          CA     90002269531
93722983855957   CARLOS       CURIEL                       CA     49073449838
93723284643584   KRISTEN      WILLIAMS                     UT     90014172846
93723287555957   AMANDA       AYALA                        CA     49075042875
93726263691599   ELIZABETH    ALVARADO                     TX     90012182636
93726344177537   LUIS         CARRANZA                     NV     43065083441
93727754755957   JESSICA      GONZALEZ                     CA     90010897547
93728327491399   YEYMIE       FLORES                       KS     90014173274
93728721993755   NICOLE       PANNELL                      OH     64517027219
93728814697123   JENNIFER     SCHROEDER                    OR     90009428146
93729513661977   ANNA         GIBSON                       CA     90008075136
93731831891951   MELITTA      ROGERS                       NC     90008378318
93732649391521   GERARDO      MENDEZ                       TX     90011196493
93733363455957   ESTELLA      AMBROSE                      CA     49075043634
93733451191399   RHONNA       BURCH                        KS     90011674511
93733789961928   LOURDES      TORRES                       CA     90013017899
93733917161979   ASHLEY       VELAZQUEZ                    CA     90003359171
93735826725628   RODD         PRICE                        AL     90015448267
93736445291599   JOSHUA       LOPEZ                        TX     90007604452
93736628691951   JEFFREY      REVELS                       NC     90014246286
93737732991399   SADAE        NUNN                         KS     29021977329
93738495841296   DIANNE       BURKHART                     PA     51084204958
93738837943584   REFUGIO      RODRIGUEZ                    UT     90003658379
93739128455951   PHENG        VANG                         CA     90010721284
93742834191599   LETY'S       ALTERATIONS                  TX     75091178341
93742885697123   ALEJANDRO    BATES                        OR     90015258856
93743147591521   ALFIA        CHACON                       TX     90009541475
93743434291399   ANA          ANDRADE                      KS     90015464342
93744664361954   DAVID        FIGEROA                      CA     90002566643
93745871543584   BARBARA      WEBER                        UT     90011068715
93746447861979   HECTOR       LOPEZ                        CA     90013054478
93746516543584   JAELYNNE     BRUEGGER                     UT     90011025165
93747219891521   FREDDY       SMITH                        TX     75074472198
93747385891599   IVAN ADRIA   ARAMBULA                     TX     90001663858
93747721191321   VANESSA      FELAN                        KS     90014047211
93747936591399   ALEX         MENJIVAR                     KS     90010259365
93749714691399   SERGIO       MERANDO                      KS     90014107146
93749896755957   LORRAINE     AGUILAR                      CA     90008818967
93749968843584   HARLAND      JOHNSON                      UT     90012339688
93751961441296   DIAMOND      MARLET                       PA     90012559614
93752816491599   LUCILA       ROCHA                        TX     90014158164
93753752573261   VINCENTE     LOPEZ                        NJ     90014707525
93754927997123   JULIAN       DUARTE                       OR     90015099279
93755784841296   BOGGER       GREEN                        PA     90007737848
93756749161977   NISA         YOUNG                        CA     90015337491
93757135861977   TERESA       ITZEP                        CA     90011501358
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93759232355951   MOHAMED      SAAD                         CA     90013312323
93759581891521   LUPE         ESTRADA                      TX     90014175818
93762465643584   ROBERT       LANDGREB                     UT     90001644656
93762764961979   KAREN        SHELTON                      CA     90013077649
93763652891521   MARICRUZ     GRIJALVA                     TX     75032166528
93764684761979   KURT         DE GUZMAN                    CA     90013936847
93765144391951   SAMUEL       AGHIMIEN                     NC     90012321443
93766113755957   BERTHA       OLMEDO                       CA     90013631137
93766496391599   EVA          CALDERON                     TX     90013584963
93767669691521   LUIS         GONZALEZ                     TX     90011196696
93767675691599   ALANIZ       RICARDO                      TX     75005526756
93771369291599   VERONICA     JIMENEZ                      TX     90011513692
93772147155957   CHARLIE      VANG                         CA     90003561471
93772157361977   ADRIAN       SEVILLA                      CA     90011501573
93772497691599   VANESSA      LAGUNAS                      TX     90013584976
93772878391951   FELICIA      QUINN                        NC     90015058783
93773324743584   MIKE         WAGNER                       UT     90013303247
93774282355957   ANTONIO      GONZALEZ                     CA     90013372823
93775772291599   HILDA        BADILLO                      TX     90013637722
93777366177537   JENNIFER     BARAJAS                      NV     90014573661
93777539643584   TORRIE       SMITH                        UT     90004495396
93778719891599   ALMA         HERNANDEZ                    TX     90000827198
93779157261977   GADALUPE     PEREZ                        CA     90014601572
93779197591521   EDUARDO      GOMEZ                        TX     75021501975
93781841443584   SIONE        LEAAETOA                     UT     90014158414
93784892933698   JESSICA      RENO                         NC     12066698929
93785114555951   ROCIO        ESQUIVEL                     CA     90012351145
93785928591951   EBONEE       ROBERSON                     NC     90014259285
93786563991521   TREJO        GUILLERMO                    TX     75081095639
93787712877537   RICHARD      BENNETT                      NV     90012527128
93788452561977   DAVID        FERNANDES                    CA     90014034525
93788537297123   STANLEY      FORD                         OR     90008705372
93788562155951   MANUEL       SANDOVAL                     CA     90012415621
93789524941296   MIKE         LOCK                         PA     90014845249
93791369591399   SHALONDA     WEBB                         KS     90013703695
93792178861979   DAVID        DIDDON                       CA     90011701788
93795528591521   LORAY        QUINTANA                     TX     90010415285
93796794461971   LEONARDO     GARCIA                       CA     90011617944
93797268761979   EMILIA       MEJIA                        CA     90010072687
93797448597123   RAQUEL       AMESQUITA                    OR     90010634485
93798159561977   CESAR        AMADOR                       CA     90000711595
93799962355957   MINDY        POPE                         CA     90015149623
93812397177537   LESLIE       ALEXANDER                    NV     90013093971
93813184393755   STEPHANIE    THOMA                        OH     90001891843
93814421743584   DENISE       EWING                        UT     90004434217
93815434391882   APRIL        JELINEK                      OK     21052814343
93815475155975   LUIS         BAUTISTA                     CA     90014854751
93815842861941   EDGAR        GODINEZ                      CA     90012178428
93815897661977   FRANCISCO    HERNANDEZ                    CA     90013948976
93817539991951   NICOLE       WALLACE                      NC     90010305399
93818624755951   JULIAN       YBARRA                       CA     90013656247
93818914261979   LUIS         ANGELES                      CA     90011589142
93819137591599   ALMA         CARRASCO                     TX     90012171375
93819626191599   DANIEL       HERNANDEZ                    TX     90014426261
93819797761977   STEPHANIE    ALLEN                        CA     90013137977
93821592741296   KEVIN        BRIGHT                       PA     90013505927
93821748661977   LETICIA      LIRA                         CA     46050187486
93823213141296   ROBERT       REIBER                       PA     51089352131
93823598343584   HEATHER      HARRIS                       UT     90013045983
93823673661977   LUIS         CERVANTEZ                    CA     90011886736
93823897661977   FRANCISCO    HERNANDEZ                    CA     90013948976
93824173743584   TYFFINEY     KIRK                         UT     31005801737
93824579855957   VIRIDIANA    ROMANO                       CA     90015115798
93825537997123   RENESSA      LOPEZ                        OR     90012735379
93826336841296   LUTHER       DUPREE JR                    PA     51092343368
93826964143584   RICHARD      JACKSON                      UT     90014599641
93828724191882   JESSICA      RAMIREZ                      OK     21050437241
93829337161977   GEOFFRY      PURSGLOVE                    CA     90009273371
93829464893755   LAWRENCE     PAULEY                       OH     90013694648
93829758893732   JERICA       WEAVER                       OH     90009207588
93831697591599   MARTHA       GONZALEZ                     TX     75068106975
93832687191521   DANIEL       RAYA                         TX     90011196871
93833825941258   VANNA        GALE                         PA     90014098259
93834973555957   TIFFANY      ROBINSON                     CA     49089009735
93835725543584   CYNTHIA      SANCHEZ                      UT     31041337255
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93835862291599   VALERIE      PEREZ                        TX     90009728622
93837655891599   LUIS         RAMOS                        TX     75032506558
93838541377537   LISA         MOORE                        NV     43046645413
93839639361977   DAVID        LIBERATO                     CA     90003066393
93841111443584   LEVI         WOOD                         UT     90014181114
93841124961977   NORA         GOMEZ                        CA     90009131249
93844479291599   ANTONIO      GARCIA                       TX     75040164792
93846137877537   GABRIEL      VAZQUEZ                      NV     90010901378
93846266397123   MELVINA      CANDELLADA                   OR     44097542663
93847598297123   ESTEBAN      GASPAR                       OR     44006215982
93851173743584   TYFFINEY     KIRK                         UT     31005801737
93852434193755   DANA         WARD                         OH     64595254341
93852443955957   ALEJANDRO    LOPEZ                        CA     90000264439
93854352391951   GWENDOLYN    LYONS                        NC     90010383523
93854626991988   OPHELIA      MARCUS-TAYLOR                NC     90007326269
93855354491399   ELOY         REZA                         KS     90015193544
93855654273261   ISIDORA      LOPEZ                        NJ     90013936542
93855989751396   KEVIN        MCGAHA                       OH     90002469897
93856162791599   CARLOS       HERNANDEZ                    TX     90012051627
93856279155957   KEVIN        THOMPSON                     CA     49085362791
93856398661979   UBALDO       HERAS                        CA     46016693986
93857957361977   SILVIA       SOTELO                       CA     90013949573
93858215855951   IGNACIO      MORALES                      CA     49087042158
93859299155957   NATALIE      OSEKOWSKY                    CA     49007342991
93861795361977   ADRIAN       CRUZ                         CA     46011247953
93862413155951   LORRADE      STOOPS                       CA     90014384131
93863948961979   PANCHO       LOPEZ                        CA     90012519489
93863966361977   PAMELA       MATSUOKA                     CA     90013949663
93863974961977   RACHEL       CARDENAS                     CA     90002289749
93864613161979   GRACIELA     VICTORIA                     CA     90013346131
93864965155957   ELIZABETH    LOPEZ                        CA     90015149651
93865897791599   ALMA         BORUNDA                      TX     75063818977
93872458743584   MATT         RAEL                         UT     31040734587
93873494377537   MARY         ROYCE                        NV     90013904943
93874998991599   CONSUELO     REYES                        TX     90015179989
93876163191399   MAFFA        KARAFO                       KS     90012021631
93876668243584   DAVID        RIDDLE                       UT     90015296682
93879412455951   CESAR        JAIME                        CA     90000754124
93879654191399   MONIQUE      LARA                         KS     90013986541
93879984461977   TABARE       ROMERO                       CA     90013949844
93882458743584   MATT         RAEL                         UT     31040734587
93882751955957   KASTIN       RODRIGUEZ                    CA     49050957519
93883591455957   MARIE        TREVINO                      CA     49007345914
93883966777537   ROBIN        TROQUILLE                    NV     90014339667
93883984461977   TABARE       ROMERO                       CA     90013949844
93884153343584   ANGELA       QUINTANA                     UT     90010471533
93884441161977   SUGEY Y      FRAUSTO GUZMAN               CA     90004754411
93884586861956   RICARDO      PINA                         CA     90008305868
93884745455951   MONICA       RAMIREZ                      CA     90003817454
93884882943584   ANGELA       QUINTANA                     UT     90012838829
93885179561977   HABONIMAMA   PHOIBE                       CA     90003861795
93885449191399   MARIA        CORDOVA                      KS     90014824491
93885746291599   LAURA        DELGADO                      TX     90009937462
93886131261979   EDUARDO      GERALDO                      CA     90014861312
93886654543584   DYLAN        ROSE                         UT     90014916545
93886822291599   MARIA        DIAZ                         TX     90007208222
93891243991599   MARIA        FIERRO                       TX     90008782439
93891661897123   MARIA        CONTRERAS                    OR     90002476618
93893114591951   NORMA        ELIZABETH                    NC     90010151145
93893359997123   MELISSA      LU                           OR     44083963599
93893921855951   JUAN         CABRERA                      CA     90015099218
93894566755951   ARACELI      LINMON                       CA     90012415667
93894741961979   FELIPE       GUERRERO                     CA     90010377419
93895972751293   MICHEAL      STEFAN                       TX     90013119727
93896256455951   JORDAN       SEGURA                       CA     90014902564
93897783141296   ANNETTE      DAWSON                       PA     90013447831
93898429791521   IRVIN        CASTANON                     TX     90013694297
93898758897123   ASHLEY       GARCIA                       OR     90015097588
93899493341296   ERIC         JEFERSON                     PA     90007274933
93913395591265   FUTIMA       YASMIN                       GA     90008723955
93914755571949   MARCO        BARCENAS                     CO     90014477555
93916186191599   CHRISTINA    GUZMAN                       TX     75026891861
93916431761979   TERESA       ZAMARRON                     CA     90009664317
93917245797123   HELEN        SZYMANSKI                    OR     44093122457
93917632743584   WILLIAM      HUMPHREY                     UT     90012636327
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93919675661977   DOMENIC       WATTS                       CA     90011886756
93922694991521   LINDA         DIAZ DE LEON                TX     90011196949
93925915191599   CONNIE        MC CARTHY                   TX     90011429151
93926175391599   MANUEL        ENRIQUEZ                    TX     90014951753
93926186797123   DANNY         GARNETT                     OR     90006411867
93926657361977   OSCAR         CALDERON                    CA     90006286573
93927424161977   SHELBY        D                           CA     90004754241
93929289455957   LESLI         MONIQUE SALDANA             CA     90014132894
93931342577537   JASMINE       GUTIERREZ                   NV     90012823425
93932991761977   JOHN          DOE                         CA     90014269917
93933138861979   BLANCA        LAGUNA                      CA     90005461388
93934363277537   JACQUELENE    MATTHEWS                    NV     43013423632
93934389591599   GRISELDA      RAMOS                       TX     90003923895
93935762157149   PETER         FEARING                     VA     81070827621
93935985261977   NYADOAR       WAL                         CA     90015149852
93936699791521   HUGO          TRIANA                      TX     90011196997
93936726577537   ROBERT        MCCOLLUM                    NV     90014687265
93936747255951   SALINA        HERNANDEZ                   CA     90014577472
93937494697123   NOEL          ARECHIGA                    OR     90012094946
93937667961979   DIANA         LOPEZ                       CA     90010966679
93937711591951   JONATHAN      STANLEY                     NC     90008727115
93938312957126   KIM           CARTER                      VA     90006313129
93938729991521   ANTONIO       CASTANEDA                   NM     75083317299
93938928943584   HEATHER K     PEDERSEN                    UT     90006449289
93939263691399   MARIELA       REYES                       KS     90014242636
93939645355951   MARTHA        MENDOZA                     CA     90010996453
93939716991399   ARTEASA       KINDALL                     KS     90006057169
93941955191951   MORGAN        PASCHALL                    NC     17015099551
93942169261979   ALEJANDRA     MEJIA                       CA     90012391692
93942335293755   SHERRIE       SCOTT                       OH     64596923352
93943532797123   SEAN          BOUCHER                     OR     44063475327
93944264691521   BETH          MENDOZA                     TX     75087012646
93944424491399   CHRISTOPHER   GILLETT                     KS     90015374244
93945471784349   JOSHUA        MOLCZYK                     SC     19030474717
93946243291882   RAIMONDI      JOHN                        OK     21048892432
93946812597123   BRIAN         FLEMING                     OR     90015358125
93948684343584   GREGORIO      PAREDES                     UT     90009236843
93948957361977   SILVIA        SOTELO                      CA     90013949573
93951859961979   RONALD        BARRIOS                     CA     90009868599
93952194693755   KATI          BRYANT                      OH     90005371946
93953549191599   EMILIO        GUERRERO                    TX     90015205491
93954355491882   CHRIS         PRYOR                       OK     90006803554
93954443661979   JUAN          RIOS BRITO                  CA     46069724436
93954465155957   VICTORIA      BAUTISTA                    CA     49033764651
93954837155951   HEATHER       CHALMERS                    CA     49017658371
93955541291521   EDUARDO       HERNANDEZ                   TX     90010415412
93957347543584   MARIE         MORGAS                      UT     90013263475
93957544661977   NORMA         ROSALES                     CA     46012825446
93957929355957   OSVALDO       GONZALEZ                    CA     90004849293
93958858791521   DONNA         VALDEZ                      TX     90008268587
93959155761979   ALEJANDA      GONZALEZ                    CA     90014861557
93963165491399   JESUS         GARCIA                      KS     90011341654
93964479155951   JAQUELINE     MEDINA                      CA     90004714791
93964727361979   JOSE          RAMIREZ                     CA     90007937273
93965186297123   SALLY         MCCURDY                     OR     90015281862
93965256191951   TAMMY         HARTON                      NC     90007382561
93965378755957   ALEJANDRO     CORTEZ                      CA     90001723787
93967331681673   JUDITH        GARCIA                      MO     90011483316
93967344291521   MARIA         GUILLEN                     TX     90006923442
93968744691521   CARLOS        MUNIZ                       TX     90014187446
93969999761937   BLANCA        VAZQUEZ                     CA     46087189997
93971198691399   NAYELI        REYES                       KS     90013871986
93971228791951   CHARLES       FLETCHER                    NC     17072702287
93972339791599   ANGELICA      TORRES                      TX     75011153397
93973983743584   GIACOMO       REYESCORDOVA                UT     90005019837
93974463743584   PAYGO         IVR ACTIVATION              UT     90013504637
93975487291521   JOHN          RIOS                        TX     90002564872
93975558161979   ERICK         MAEVA                       CA     90011595581
93977356661979   ROSA          PEREZ                       CA     90006393566
93978167555957   JACK          WHITMAN                     CA     49082351675
93978386977537   SAMUEL        PEREZ                       NV     90010423869
93979221261979   SALVADOR      ELIAS                       CA     90013222212
93979548397123   DIEGO         ANSELMO MONDRAGON           OR     90008055483
93981347561979   GIOVANNA      SOTO                        CA     90012043475
93981668977537   JUAN          JIMENEZ                     NV     90014716689
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93983628391599   JAZMIN               RIVAS                TX     90006636283
93985938191599   GLORIA               PIMENTEL             TX     75018999381
93986255591951   ELEANOR              MITCHELL             NC     90008232555
93987571491521   GINA                 GAMEZ                TX     90012675714
93988631955951   JUANITA              LEDGER               CA     49096146319
93988675697123   TRACEY LEE           WALLACE              OR     90015286756
93989557891882   KRISTEN              BARNES               OK     90005615578
93992185155951   HRIPSIME             KOSTIKYAN            CA     90015091851
93992888191521   MONIQUE              QUINONEZ             TX     90008268881
93994296791882   PATHER               THAO                 OK     21015622967
93995386655951   YAMILET              TORRES               CA     90012383866
93996283755957   LORENA               MACABEO              CA     90002082837
93996455155951   BRENT                ISHII                CA     90011184551
93996499191951   BONIFACIO            ESPINOSA             NC     90015044991
93996867243584   NICKI                PHILLIPS             UT     90015258672
93998673743584   SHUE LENG            MOUA                 UT     90007926737
93999849191599   NORMA                ALARCON              TX     75035918491
94111723961977   SILVIA               OLIVEROS             CA     90000277239
94115526691599   JUAN                 RIVERA               TX     90010745266
94119223455963   FRANK                PEREZ                CA     90013792234
94119621991599   YOLANDA              TAPIA                TX     75019846219
94121251271945   REINA                MARTINEZ             CO     32096932512
94121565555951   LISA                 VIVEROS              CA     90003955655
94122475457128   ROSIE N.             NDJABUKA             VA     81040674754
94123295441296   MARY                 ROELL                PA     51043612954
94126134655963   NORMA                HERNANDEZ            CA     90012101346
94127843455957   CRYSTAL              ORNELAS              CA     49087328434
94128771681634   SHALEA               WILLIAMS             MO     29072737716
94129792777537   ANTONIO              RUIZ                 NV     90014377927
94131374593755   DONALD               JACKSON              OH     90014883745
94131975355963   JENNIFER             SOUSA                CA     48037309753
94132131261977   WERIKA               TATSIU               CA     90001761312
94132469291599   REBOERT              TUCKER               TX     90012584692
94132575291366   DANIELLE             SEIFERT              KS     90011925752
94132819493755   JONIL                KOGER                OH     90008788194
94134492791951   ABIGAIL              VELASQUEZ            NC     90013304927
94137166455963   MERLINDA             GUZMAN               CA     48013211664
94138186355963   KARA                 TULLOS               CA     90002271863
94141586355951   RAUL                 RAMOS                CA     90012955863
94141595855957   PARIS                FLOYD                CA     49000925958
94142168391599   MARINA               JAUREGUI             TX     90015091683
94143394291599   OMAR                 GUTIERREZ            TX     90013173942
94143717491882   KEMEISHA             ASBERRY              OK     21053337174
94144312191599   MARIA                MORENO               TX     90009443121
94145595931625   WAYNE                KINNEY               KS     90014675959
94145722393732   SCOTT                GLASCOE              OH     64531857223
94146265793736   CHERIE               BUCHANON             OH     90011082657
94146587741238   ROBERT               WAHLS                PA     90013965877
94147467755951   ENJOLI               BEASLEY              CA     49035144677
94148259355957   VALENCIA             PERKINS              CA     90015082593
94151526651396   TIA                  DICKERSON            OH     90014395266
94152384961977   HUGO                 ROLDAN               CA     90007583849
94159376693755   RUFUS                COFFEY               OH     90009833766
94161645955951   PABLO                CERVANTES            CA     49013756459
94162284291951   NORMA                ARIAS                NC     90012512842
94162892741296   JENNIFER             RICHARD              PA     90013738927
94162952661977   CHRISTIAN            CAMPOS               CA     90014959526
94166897661977   GLORIA               ZAVALA               CA     90008288976
94167491391951   LORENA               BOYZO                NC     90006824913
94167693993732   JEAN-ANNE            HARBIN               OH     64555586939
94167928591599   DANTE                BENSON               TX     90010519285
94169532455957   ADAM                 XIONG                CA     90001235324
94172794291951   ABDULRAZIKU          AHMED                NC     90002267942
94174163491951   SHABAKA              BRANNON              NC     90010341634
94174845555951   MARIA                VILLAGRAN            CA     90014168455
94175476291951   JUVENAL              IBARRA               NC     90014274762
94176516191399   BIANCA               RIVAS                KS     90013975161
94178723791399   CHRISTINA            HUTCHERSON           MO     90014777237
94181636871965   BENJAMIN             JONES                CO     90010996368
94183683691951   SANDRA               YECENIA              NC     90010096836
94184277755951   STEELS               BABY                 CA     90014542777
94186996391532   MIGUEL               RODRIGUEZ            TX     75093379963
94187369471945   EREDIRA AND ALEXIS   OSUNA                CO     90012633694
94189553955951   FONTELLA             WARD                 CA     90005275539
94191331955963   OLGA                 SANCHEZ              CA     48010993319
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94191383471945   HEATHER        HALLSTROM                  CO     90007563834
94191547791399   KRISHONDA      SMITH                      KS     90014155477
94192414491882   FREDERICK      VAHLDICK                   OK     21087464144
94192955955951   JUAN JOSE      GONZALEZ-CRUZ              CA     90009409559
94194272393755   MAUREEN        PURCELL                    OH     90010962723
94195995141296   SAMUEL         SCHADE                     PA     51053399951
94196122655957   ALFREDO        HERNANDEZ                  CA     90005161226
94212335991951   LA QUINTA      THORNTON                   NC     90013123359
94212638177537   DAVID          BRANSON JR                 NV     43095556381
94212753991592   ARMIDA         NUNEZ                      TX     90008017539
94213144693755   BRITTANY       PARMAN                     OH     90007701446
94213263171945   CATHERINE      MALMGREN                   CO     90012832631
94213753991592   ARMIDA         NUNEZ                      TX     90008017539
94213818161977   PERLA          YANEZ                      CA     46002768181
94213879691599   GIO            CANO                       TX     90011988796
94214161671945   CIRILO         ESTEBAN MENDEZ             CO     90013751616
94214353955963   NORMA          CUEVA                      CA     90012993539
94217889991399   CHANTEL        YOUNG                      KS     90010228899
94218228755963   DIANE          BEALS                      CA     48011792287
94218818893732   TERRY          DABE                       OH     64516938188
94219356291599   GUSTAVO        CHAVEZ                     NM     75062443562
94219832491951   SARAY          CAMACHO                    NC     90013048324
94223315155951   GLORIA         LUA                        CA     49003873151
94223654861977   RUTH           BENNOUNA                   CA     90003776548
94225786771945   ELISA          BOSLEY                     CO     90011997867
94225851161977   MARIA          ALONSO                     CA     90013358511
94225975791951   EILEEN         PEIEZ                      NC     90015039757
94227369671945   JUILO          MEDINA                     CO     90015093696
94227568177537   LUIS ALBERTO   ROMO                       NV     90012135681
94228196341296   THOMAS         PEZZANO                    PA     51094281963
94228387355951   RUBEN          SERRANO                    CA     90013173873
94229288781634   KIA            OATES                      MO     90003052887
94231172155957   JACQUELYN      GAINEY                     CA     49010471721
94231392961977   RICARDO        IBARRA                     CA     90011133929
94232586991882   JIMMIE         CRAFTON                    OK     21066135869
94233382771945   CATHERINE      FLYNN                      CO     90006453827
94236442255951   CHUY           NAVARRO                    CA     90007174422
94239142461977   JOHN           SMITH                      CA     90015151424
94239468281634   JAMES          HATCHER                    MO     29037584682
94243171655963   ERIKA          GARCIA                     CA     90014691716
94243881161977   ANDRES         CHANCOT                    CA     46030468811
94244625755951   IRA            HERNANDEZ                  CA     90010256257
94245989491399   ANTONIO        MENCHACA                   KS     90010869894
94246498591951   ABDULLAH       SIDDIQ                     NC     90013354985
94246724581634   FREDY          GUZMAN                     MO     90000737245
94247652955957   HNOU           LEE                        CA     90010706529
94248372155951   ALEJANDRO      LAGUNA                     CA     49077483721
94249296691399   SUPPORT        R SPORTS                   MO     29061682966
94251718171945   DAVID          MARTIN JR                  CO     90014807181
94252934641296   JAY            JHA                        PA     90013929346
94252946681634   MARITZA        MARTINEZ                   MO     29006359466
94253382393755   SHEILA         ELLIOTT                    OH     90014723823
94254516371945   JAYSON         TANNER                     CO     90012365163
94254884741296   MARY           CEREZO                     PA     51046378847
94255884655963   AURORA         MORENO                     CA     90014928846
94263141491399   ERIN           EMERSON                    KS     90013961414
94264699971945   ALFREDO        RODRIGUEZ                  CO     32037366999
94266774155951   STEPHANIE      TABALDO                    CA     90014677741
94267444291951   JAY            ROBINSON                   NC     90015054442
94268139755951   VICTORIA       ISLAS                      CA     90010601397
94269768877537   LETICIA        CAMARENA                   NV     90014097688
94271715681634   ANTOINETTE     IRVIN                      MO     90005647156
94273355293732   GENEVA         FLYNN                      OH     64549663552
94275142861977   KIMBERLY       ARREOLA                    CA     90007431428
94279154891399   SAUL           PALACIOS                   KS     90001001548
94279477577537   ANDREW         HOLLEY                     NV     90014664775
94282291655951   NELSON         HERNANDEZ                  CA     90004852916
94282678191599   XOCHITL        CUEVAS                     TX     75000816781
94283266191599   ALEJANDRA      CALDERA                    TX     90011992661
94283847241296   SOLOMAN        BEY-WILLIAMS               PA     90013288472
94284535891399   JUANA          ARITA                      KS     90012245358
94284983361977   DAVID          KEALOHA                    CA     90014859833
94286873493778   EDWARD         MCCORMICK                  OH     90014248734
94288195171945   BRYCE          CEJKA                      CO     32001521951
94288412655957   HENRY          ESQUEDA                    CA     49082224126
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94289251271945   REINA        MARTINEZ                     CO     32096932512
94291111957564   MINERVA      RODRIGUEZ                    NM     90003121119
94291694891951   DEIDRA       CAMP                         NC     17030936948
94292333191399   LEE          JUNIOR                       MO     90008863331
94292496555951   CAROLINA     SANCHEZ                      CA     90012704965
94293133391951   JACINTA      BARNETTE                     NC     90013141333
94293893877537   JAMIL        HAMID                        NV     90011498938
94294712991599   ISAIAS       RODRIGUEZ                    TX     75015567129
94295162577399   KARLA        CROWLEY                      CO     90000921625
94295176841296   GINA         LEWIS                        PA     90015211768
94295483141275   MISTY        BROWELL                      PA     90012224831
94295645755975   TAMMY        PORTILLO                     CA     90010266457
94295915393755   BRENDA       BLACKMON                     OH     90007389153
94296136993755   DAWN         WOODRICK                     OH     90009941369
94296786591554   NORMA        HERNANDEZ                    TX     75015737865
94298164955957   ROBERT       CORONA                       CA     90014811649
94298653791544   PRISCILLA    MARTINEZ                     TX     90001596537
94298785477537   ACE          KELLEY                       NV     43032947854
94299273931429   ALICIA       SINGLETON                    MO     90014772739
94311976561977   JOEL         CRISOSTOMO                   CA     90005339765
94315964441255   MARISSA      LEPPLA                       PA     90008739644
94316275181634   MARIO        ARMENTA                      MO     29010362751
94316862893755   SKYLER       CAMPBELL                     OH     90014368628
94317131291969   ANA          TICAS MORENO                 NC     90014961312
94322172871945   PAYGO        IVR ACTIVATION               CO     90012881728
94324436891399   BEVERLY      ANDRUCE                      KS     29003504368
94324896531678   YESENIA      CUELLAR                      KS     90013788965
94325454791951   ANTWAN       GARNER                       NC     90011434547
94328247393755   JOSE         UZHCA                        OH     64517632473
94328532661977   GILBERT      SANDOVAL                     CA     90010375326
94328565655951   ALMA         ALEMAN                       CA     90004385656
94332239555951   RICHARD      DIAZ                         CA     90013482395
94332682391399   JANETTE      NORIEGA                      KS     90012376823
94333292871928   EDWARD       HART                         CO     90005712928
94335516171945   ELICK        CORTEZ                       CO     90013665161
94335994691399   JANAE        BETTS                        KS     90012269946
94336548391399   LUIS         FERNANDEZ                    KS     90011145483
94336623855957   ELIAS        MENDEZ                       CA     49087786238
94337193993755   MONICA       JONES                        OH     64583601939
94337262491599   SUSANCA      GUITERREZ                    TX     90011152624
94338466191599   ISSAC        ESPINOZA                     TX     90013904661
94338664891951   SHAUNTIA     WATSON                       NC     90010346648
94339675955963   JASMIN       CARRANZA                     CA     90013626759
94339847855951   JOSEPH       SANCHEZ                      CA     90001428478
94344887955951   ESTHER       VASQUEZ                      CA     90007808879
94346682591882   ANNETTE      DIGGS                        OK     90004596825
94347155991951   DESMOND      GREEN                        NC     90011191559
94347539161979   ANTHONY      EDWARDS                      CA     90012205391
94348351161977   MARGARITO    LIZARRAGA                    CA     90010703511
94348873755963   SYLVIA       RIOS                         CA     90008978737
94349231793755   AMY          HAMBLIN                      OH     64578852317
94351153791599   MARIA        QUINTANILLA                  TX     75073121537
94351497255951   ABIGAIL      MARTINEZ                     CA     90000554972
94352266891399   SHARIANN     ESCOBEDO-RODRIGUEZ           KS     90014352668
94352641155963   WENDY        STEFFEN                      CA     90013536411
94355482877537   DANIEL       MARK                         NV     90005684828
94356269977537   ANA          RODRIGUEZ                    NV     90007982699
94357982241296   COLLEEN      NESBITT                      PA     90012189822
94358934871945   KEYLEE       FERGUSON                     CO     90012059348
94361681361977   DANIELLE     HENDERSON                    CA     90013646813
94363155991951   DESMOND      GREEN                        NC     90011191559
94363623191599   RAQUEL       ALVAREZ                      TX     75072306231
94365193391882   RADIANCE     BELCHER                      OK     90003161933
94365212393755   LAINEY       MARSDEN                      OH     64587492123
94365322491399   JOSE         DOMINGUEZ                    KS     29037943224
94368422455957   JUAN         ORTEGA                       CA     90014874224
94371667655963   TRISHINA     YOUNG                        CA     90011346676
94372746891885   TERA         ARNOLD                       OK     90012587468
94373738371945   CHRISTINA    WEBSTER                      CO     90012557383
94373772181634   RAMOS        ESCALANTE                    MO     29067867721
94374876771945   GLORIA       ARCHULETA                    CO     32098578767
94374979755951   JUAN         DOMINGUEZ                    CA     90013779797
94375775891399   ANTONINA     OCHOA                        KS     29078677758
94376137691399   ROSE         LUDEMAN                      KS     29018131376
94378875661977   GARY         HOLMES                       CA     90010988756
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94379397491951   TYNISHA      DIXON                        NC     90013153974
94381577961979   ELVIRA       VASQUEZ                      CA     90006205779
94382443491599   EVANGELINA   DIAZ                         TX     90003344434
94382613193732   MELISSA      HALE                         OH     90005776131
94382765961977   KATHERINE    PAJARO                       CA     46014827659
94383418691951   JASON        POLLARD                      NC     90013154186
94385416391951   CHARLES      WHITE                        NC     17085454163
94386218591951   TAMMY        ANDERSON                     NC     90010672185
94386339157123   ANNEGRET     STEPHAN                      VA     90014343391
94386749151351   JOANNE       HART                         OH     66064717491
94388145593732   REBA         KOVACS                       OH     64564561455
94388334691599   JULIO        TRUJILLO                     TX     90014043346
94389999451351   NICOLE       LARSON                       OH     66076049994
94391959277537   LANELLE      DELLIQUADRI                  NV     43068719592
94392513555957   LEANNA       HERNADEZ                     CA     90014405135
94392857255975   VICENTE      SEGUNDO                      CA     90003478572
94395185477537   CHUMPOL      ROBIN                        NV     43087751854
94396791191599   CESAR        ALVAREZ                      TX     90011027911
94397383161977   MONICA       OCHOA                        CA     46067503831
94399562291579   DELFINO      GUERRA                       TX     75078185622
94399711677537   ROMAN        VEGA                         NV     90014527116
94411862591599   LAURA        TARIN                        TX     75099288625
94414214491399   YOLANDA      SANCHEZ                      MO     90013652144
94414711455957   HEATHER      DODSON                       CA     90014357114
94416894691599   RIOS         FERNANDO                     TX     75076048946
94417487733698   TANNIS       LITTLE                       NC     12098244877
94417625555963   ADRIANA      VEGA                         CA     90002396255
94418866391399   SANDRA       WILSON                       KS     29074078663
94419455661927   MONICA       CASTANEDA                    CA     90006284556
94419559633698   DAVID        BURTON                       NC     12014015596
94419859877537   WINSTON      SAM                          NV     90013358598
94423155171945   JENIFFER     CURTIS                       CO     32000561551
94424482755963   CATALINA     MATA                         CA     90013974827
94425236831646   CASSIE       COOPER                       KS     90013472368
94427588591399   DANIEL       RIVERA                       KS     90006325885
94427651877537   JACOB        HAHN                         NV     43070746518
94428243791599   VICTOR       RODRIGUEZ                    TX     75052892437
94428314455963   RYAN         SILVA                        CA     48067033144
94428767761954   ERNESTO      GONZALEZ                     CA     90002267677
94428788691882   KIESHA       NERO                         OK     90006487886
94429211581634   KIPPY        MORRIS                       MO     90013282115
94429218591951   TAMMY        ANDERSON                     NC     90010672185
94429311771945   MORNINSTAR   GONZALES                     CO     90012503117
94429371881634   KIPPY        MORRIS                       MO     29010203718
94429383455963   TOMMY        MONTALVO                     CA     90012203834
94432245961977   NANCY        KARINA                       CA     90012942459
94433224155963   ITZEL        ACOSTA                       CA     90013182241
94433339855951   ANTHONY      PALLAYA                      CA     90005323398
94434436777537   RAY          FERRO                        NV     90014864367
94436271541288   WILLIAM      LEMON                        PA     51062642715
94436299693755   TERRANCE     DIMITRIUS                    OH     90012312996
94436313991399   GESENIA      ASTORGA                      KS     90010683139
94437296191599   IRIDIAN      MOLINA                       TX     90008092961
94437314455963   RYAN         SILVA                        CA     48067033144
94437634391882   AMANDA       LUNDY                        OK     21044876343
94438936377537   ALEXANDER    SHROPSHIRE                   NV     90013549363
94439468855951   TAMARA       REYNA                        CA     90014804688
94442378781634   NICHOLLE     CANADY                       MO     90006913787
94443123261977   JAVIER       MARTINEZ JR                  CA     90000281232
94444393861977   LILIA        QUINTANA                     CA     90004293938
94445188891544   LORRAINE     ORTIZ                        TX     75094871888
94445461261977   MAYRA        GARCIA                       CA     90009564612
94446378855963   ERIKA        ALCALA                       CA     48090903788
94447535871945   ROBERT       PESANTE                      CO     90011885358
94447894277537   ROBERT       MITCHELL                     NV     90013308942
94447912491399   ALICIA       MORRISON                     KS     90003489124
94449914155951   ASHLEY       CALLISON                     CA     49040769141
94451548371945   MICHAEL      SERRANO                      CO     90012845483
94453287971945   ARGENTINA    GARCIA                       CO     32098122879
94453466191882   SHANNON      HUCKEBY                      OK     21022644661
94453958355963   HECTOR       FLORES                       CA     90014449583
94455121791399   FLOR         G                            KS     90003941217
94455333171945   SHI          HILTON                       CO     32050683331
94458384177537   JENA         ZIMMERMAN                    NV     90014513841
94459324755951   ELVA         LOPEZ                        CA     90007753247
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94464159193778   TINA          FRANKINBERG                 OH     64526341591
94464569761977   VICTORIA      LOPEZ                       CA     90011855697
94464715591951   MARIA         LOPES                       NC     90010757155
94464883891599   ANA           MORENO                      TX     75031518838
94466838393732   JAMI          MORRIS                      OH     90014488383
94467532955951   ESTRELLA      HUGARTE                     CA     90000555329
94468915791599   ALINE         ZAMORA                      TX     90013789157
94469235961977   PENNEY        CRAWFORD                    CA     90006942359
94469812955957   ERIC          TENORINO                    CA     90009338129
94471165761977   JOSEPH        SHEFFIELD                   CA     46088221657
94471455971945   LUIS          HAO                         CO     90002304559
94471598755951   MARGARITA     LOPEZ                       CA     90006915987
94471665844362   MIGUEL        DIAZ                        VA     81046266658
94472165855963   EVA           NIGG                        CA     90007611658
94473149961979   DAVON         FIELDS                      CA     90007141499
94473527555963   ERICKA        TAPIA                       CA     90013605275
94475471361977   JOSE          PERAZA                      CA     90008344713
94475744291399   RAMON         LARA                        KS     90010257442
94475969277537   TITUS         TAU                         NV     90014409692
94476775593755   PATRICIA      MCCOY                       OH     90012167755
94477164855951   STEPHANIE     TAYLOR                      CA     49078971648
94477554771945   BLANCA        HERNANDEZ                   CO     32055615547
94479758677537   JOSE DANIEL   TORRES TORRES               NV     90013577586
94481256455963   ROBERT        AGUINAGA                    CA     90013432564
94481535671945   DANIEL        CHAVEZ                      CO     32096305356
94482422671945   REGINALD      CARTER                      CO     90013754226
94485577277537   ADELA         CASTILLO                    NV     90003755772
94486358655963   CONSUELO      MORALES                     CA     90012013586
94487572441296   TERRY         PATTERSON                   PA     51008125724
94489252691599   LEIVA         ANGEL                       TX     75066952526
94491472761977   GILBERT       FRANCO                      CA     90014484727
94492251971945   MARK          HARRIS                      CO     90012782519
94494342493755   BRANDON       UNSWORTH                    OH     90012673424
94494579455951   ROSIO         HURTADO                     CA     90013285794
94495316971945   NAZAEL        HERNANDEZ                   CO     90010433169
94495319661977   VICTORIA      BALAGOT                     CA     46088223196
94499499677537   ANDREW        SNYDER                      NV     43016324996
94512527191951   NOLVERTO      PEREZ                       NC     90010395271
94513329471945   WESLEY        CARRIER                     CO     90012993294
94514345391599   SANDRA        PALACIOS                    TX     75082573453
94514865771945   MATTHEW       SOILAND                     CO     90013438657
94516888491951   MANUEL        SIERRA                      NC     90013258884
94518229877537   DONALD        LAYTON                      NV     90006022298
94518322493755   MICHAEL       CLEVINGER                   OH     64551433224
94518548371945   MICHAEL       SERRANO                     CO     90012845483
94522964293755   BONNIE        HUNT                        OH     64588459642
94522985355957   SHELLY        JENKINS                     CA     90000709853
94523128861977   JESSICA       BARREIRO                    CA     90014881288
94523494573261   RODOLFO       LOPEZ                       NJ     90014784945
94524711393732   DAWN          LEDFORD                     OH     64540337113
94525945155963   LANA          FRANK                       CA     48088459451
94526283561977   HENRY         DOMINGUEZ                   CA     46013132835
94526334691599   JUAN          PALOMARES                   TX     90008533346
94527512961959   NORMA         OVANDO                      CA     90011645129
94527714791951   MAURICE       CATES                       NC     17007467147
94527963881634   ROBBIE        BAKER                       MO     90010069638
94528832191399   GLORIA        ARGENTINA                   KS     29018158321
94529482477537   AMY           BUCHANAN-RODRIGUEZ          NV     90008714824
94531228771945   REYNALDO      DIAZBLANCO                  CO     90015002287
94531916663627   RACHEL        SEYBOLD                     MO     90014879166
94532297555963   JOSE LUIS     ARRELLANO                   CA     90002482975
94533448851391   JALIL         RASHEED                     OH     90006284488
94533942981634   ADIB          RAHMAN                      MO     90004739429
94534143855963   HALEY         MCLEAN                      CA     48012571438
94534681451334   RITCHIE       VON                         OH     90003136814
94535388177537   CARMEN        COLORADO-RAMOS              NV     43027783881
94535819491599   QUETZEL       OLIVAS                      TX     90010828194
94536468855951   TAMARA        REYNA                       CA     90014804688
94537612655957   PRISCILLA     MORALES                     CA     90012656126
94538529561977   LORENA L      PEREZ                       CA     90005185295
94538984691951   BERENICE      MONROY                      NC     17096239846
94539573491882   JOHN          BRIAN                       OK     21016375734
94539772161937   JOSH          TATE                        CA     90015087721
94539944991599   OSCAR         MEDRANO                     TX     90013789449
94541798755963   KARINA        ZEPEDA                      CA     90009137987
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94542627241279   HORACE       OSBOURNE                     PA     90004966272
94542653155963   MADELINE     HOGGARD                      CA     48059756531
94542952677537   STACY        FISHER                       NV     90015149526
94543927961941   ELI          DUARTE                       CA     90004579279
94545414255957   COLLLIN      JOHNSON                      CA     90013904142
94546179591599   LUPE         BADILLO                      TX     75085441795
94546574277537   DAVID        PETERSEN                     NV     43068645742
94551627691399   LUIS         ORELLANO                     MO     90012226276
94553134177537   TIFFANY      FREDERICK                    NV     43056481341
94553245181652   LUIS         CALDERON                     MO     90006202451
94554763991599   TANISHA      LEWIS                        TX     90009177639
94554919493755   BRYAN        ALEXANDER                    OH     90006229194
94556535661977   CHRISTIAN    ORTIZ                        CA     46043435356
94556622177537   KIMBERLY     WISEMAN                      NV     43086696221
94559298477363   RUBEN        MORALES                      IL     90015022984
94559337771945   NALLELY      OROS                         CO     90004503377
94561445981634   HENDERSON    SHERMANE                     MO     90011594459
94562781155963   SHIRLENE     GRIFFIS                      CA     48050977811
94562814155951   JENNA        VELASQUEZ                    CA     49001298141
94563634655958   ANAMARIE     DELGADO                      CA     90009036346
94563772191951   ANGELA       HESTER                       NC     17080907721
94564572371945   JONATHAN     MCCORMACK                    CO     32002895723
94564617291599   CRYSTAL      MENDEZ                       TX     90002966172
94565129971945   JULIO        CARCIA                       CO     90009471299
94565277991882   STARLA       ELSTON                       OK     90006802779
94566235641296   RALPH        LICATA                       PA     51055402356
94567536671945   LAURA        E ARCHULETA LATRELL          CO     32089825366
94571458261977   YVONNE       MARTINEZ                     CA     90012104582
94571843893755   MICHELLE     CHERRY                       OH     90011948438
94572941481634   VICKIE       MERSMAN                      MO     90012479414
94573724293747   MARLENE      SHAKIR                       OH     90006137242
94574564355963   CHARLES      GRAHAM                       CA     48082755643
94575771155957   DAMIEN       MURRAY                       CA     90002637711
94576341371945   DENNIS       ARMENTA                      CO     90003753413
94576915991599   RUBEN        AGUIRRE                      TX     75005029159
94577544555963   MARISSA      CORTEZ                       CA     90013605445
94578872891599   PHILIP       PEDREGON                     TX     75082698728
94581239777537   CRAIG        LANFAIR                      NV     43091622397
94581614433698   CATRINA      BRIGGS                       NC     12010816144
94584997955957   SIERRA       PALMANTIEL                   CA     90013299979
94585166691399   ROSALINDA    ONGJOCO                      KS     29082441666
94586171193755   THERESA      TERRY                        OH     64532381711
94587299591399   MARVIN       GUERRA                       KS     90012342995
94588568891532   AARON        FLORES                       TX     90010025688
94588575277537   JUAN         COLLAZO-LOPEZ                NV     90013205752
94589286691599   CELESTE      VILLARREAL                   TX     90012462866
94589831993778   AIMEE        UWINEZA                      OH     90011628319
94591251431459   DARRYL       HAWKINS                      MO     90004292514
94593348761977   ALEX         BEAS                         CA     90001803487
94594375891599   JUAN         CRUZ                         TX     75004293758
94595132493732   MARKEIDA     BROWN                        OH     90003341324
94595251277537   NICOLE       FERGUSON                     NV     43018352512
94597272791599   MARIA        MUNOZ                        TX     90012452727
94598397191951   FELICIA      BRUNSON                      NC     90010473971
94599342555951   YOLANDA      ESPINOSA                     CA     90015073425
94611587577537   BRITTANY     ALLRED                       NV     90012345875
94611744291951   DOMINIQHE    RASHUN                       NC     90010327442
94614166991599   ANGELICA     SANCHEZ                      TX     90010971669
94614947241296   KELLY        RAFFAELE                     PA     90014559472
94616184861977   ADRIANNE     NIVENS                       CA     90015151848
94616376591532   VICTOR       CHAVEZ                       TX     90013553765
94616742191599   PERLA        HIPOLITO                     TX     90002067421
94618428691399   LINDSEY      MEIER                        KS     29079904286
94619118141296   VAUGHN       BUCHHEIT                     PA     51084231181
94619245655951   PATRICIA     SALGADO                      CA     49098482456
94621744161977   RICARDO      PEREZ                        CA     90011417441
94623963891882   REGINA       MCCLENDON                    OK     90013809638
94623973193755   CINDY        NOLAN                        OH     64568339731
94625611857141   SANDY        FUENTES                      VA     90012316118
94625761293755   JESSICA      THOMAS                       OH     90011927612
94629933555957   JM           JONES                        CA     90009299335
94632187791399   KYSTINA      COWAN                        MO     90014711877
94632574255963   BARBARA      TOLEDO                       CA     48092185742
94634171161977   CARLOS       LARIOS                       CA     90008361711
94634275191399   SOFIO        MERA                         KS     29019172751
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94637297461977   OSCAR             BALTAZAR                CA     90012392974
94637648391599   RAMON             AVILA                   TX     90010496483
94638278991927   KEAONDA           EDMUNDSON               NC     90012832789
94638798391399   MARCUS            SMITH                   KS     90012927983
94639443671945   JUANA             LOPEZ                   CO     90004434436
94641351241296   KEVIN             BEATTY                  PA     51057533512
94641421655951   RENEE             KREMER                  CA     90013304216
94641421961977   MARTHA            ARAIZA                  CA     90012534219
94642757771945   LINDA             JACKSON                 CO     90012557577
94643112541296   RECARDO           RAMIREZ                 PA     90006471125
94643214791399   HECTOR            FRIAS                   MO     90013072147
94644932577537   ARIANA            ESTRADA                 NV     90010259325
94646623377537   KATHRINE          MCGUIRE                 NV     43092376233
94647389955951   JESUS             SILVA                   CA     90013173899
94647421961977   MARTHA            ARAIZA                  CA     90012534219
94648978655963   SAMANTHA          OROSCO                  CA     90011629786
94649132155957   ERICA CHRISTINA   VALLE                   CA     90005461321
94649271555932   ELIZABETH         ORTIZ                   CA     90015262715
94652748971945   JACOLBY           WILLIAMS                CO     90012497489
94652818855963   JOSEPH            MOLINA                  CA     90012628188
94653188471945   ROBERT            FERRIS 3                CO     90009121884
94653719391399   KAREN             PHILLIPS                KS     90012267193
94655165991599   BERTHA            RODRIGUEZ               TX     90010321659
94655576155951   MELINDA           LOPEZ                   CA     49094285761
94655784555957   CELESTINE         MARTINEZ                CA     90009787845
94656323555963   MAE               CEDANO                  CA     90012403235
94656341591951   JEFFREY           REVELS                  NC     90013363415
94657112255957   GAIL              MARTINEZ                CA     90010571122
94657768377521   CHRISTINA         MORENO                  NV     90013317683
94658545991951   MAGDELENA         CORREA                  NC     17062275459
94659348955951   NANCY             VUE                     CA     90013513489
94661223891951   MIGUEL            REYES                   NC     17077892238
94661245991599   SAUL              SALOMEE                 TX     90010902459
94663111171945   SANDRA            IBARRA                  CO     90009671111
94663887491399   TADEO             SERRRANO                KS     29092738874
94664461455951   REGINA            ROGERS                  CA     90002734614
94665451761977   MYRNA             CRUZ                    CA     90015014517
94665854981652   DAVID             NORMAN                  MO     90010748549
94665966155963   CLEOTILDE         CUEVAS                  CA     90013119661
94669872191399   DENISE            WILLIAMS                MO     29058618721
94671847855957   ELVIA             MARTINEZ                CA     90014538478
94673154841296   STEVE             GLOVER                  PA     90007531548
94673466391399   EDGAR             PASCUAL                 KS     90015044663
94674922877537   ARACELY           SOSA                    NV     43009769228
94675766991599   MARIO             PAULDO                  TX     90014847669
94678837555957   MAI               LEE                     CA     49077838375
94679665455963   HORTENCIA         GARCIA                  CA     90009176654
94681298891599   ARIANNA           RODRIGUEZ               TX     90009412988
94681851561977   MARY              MATTHEWS                CA     90014698515
94683548891599   PERLA             CORRALEJO               TX     90001285488
94683986191399   ROSA              VAZQUEZ                 KS     90007769861
94687515191921   ANTHONY           WARREN                  NC     17011405151
94687658391951   NICODEMO          OROZCO                  NC     90013366583
94688122391399   RICHARD           WILLS                   KS     90014761223
94688859741296   SHANELL           HOWARD                  PA     90012788597
94689366461556   SHAWN             TUNNICLIFF              TN     90014233664
94691497691579   MARI              LEAL                    TX     75093624976
94692564961977   JAVIER            GARCIA                  CA     46072975649
94693959691951   ROY               TABORN                  NC     17072589596
94694469491599   ANCEL             BO BARTLETT             TX     90000624694
94695984561977   GARCIA            ANAHI                   CA     90007889845
94696157591599   ERIVES            GIBRAN                  TX     90015181575
94697511755951   GARY              GURRUSQUIETA            CA     90015055117
94698483231424   ROSHELLE          MOORE                   MO     90013584832
94699473291951   WILLIAM           FULTON                  NC     90013384732
94711354491599   JESUS             REYNA                   TX     75033173544
94711424855951   ERWIN             ECHAVEZ                 CA     90014654248
94713263761977   GREGORY           NAVARRO VALADEZ         CA     90013632637
94714813581634   ROSANA            LYNN                    MO     90010608135
94716329981634   LYNN              ATCHISON                MO     90009593299
94716655491399   BERTA             SANTIAGO                KS     29056676554
94716882291554   SARA              OLIVAS                  TX     90009198822
94716942671945   JESSE             MARTINEZ                CO     90014599426
94717868771945   ARBY              GARCIA HERNANDEZ        CO     90013988687
94718935771945   PORFIRIO          GONZALEZ                CO     32021699357
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94719463393732   SUSAN         CAMPER                      OH     64580674633
94722126755963   HECTOR        AAYALA                      CA     90014021267
94722716441296   HEATHER       LENNON                      PA     51089297164
94723621855957   PAHAL         KAUR                        CA     90015006218
94724714677537   GABRIELA      TORRES                      NV     90011887146
94725454147971   AMANDA        BARTHOLOMEW                 AR     90011324541
94725711177537   PATIENCE      RALSTON                     NV     90012697111
94725929661977   ARACELI       LERMA                       CA     90014319296
94726842861977   JOSE HECTOR   RAMIREZ                     CA     90014708428
94728858955963   MARTIN        GOMEZ                       CA     90007668589
94729114891399   JENNIFER      CLARK                       KS     29061081148
94731585591951   GANIYU        IRANLOVE                    NC     90010495855
94732613391399   ADRIANA       SANTOS                      KS     29035756133
94732958191882   EYRA          ROMERO                      OK     21084679581
94733526481634   NATALIE       VELAZQUEZ                   MO     90003665264
94735489391599   ROLANDO       PRICE                       TX     90010954893
94736167391599   MONICA        TREVIZO                     TX     90011401673
94736373477537   DONNA         TAYLOR                      NV     43041503734
94738651555951   DAVE          MAN                         CA     90012296515
94738798177537   GERARDO       MARTINEZ                    NV     90012637981
94741359955963   ERIKA         RODRIGUEZ                   CA     48052483599
94741451693755   BETTY         GOINES                      OH     64550554516
94742163977537   LUIS          ALVAREZ                     NV     90012491639
94742218355951   ALMA          SILVA                       CA     90005462183
94743244593755   CHRISTOPHER   GENTRY                      OH     90015322445
94746129481634   STAR          JACKSON                     MO     29023891294
94747116961954   ARUTRO        MORALES                     CA     90008681169
94749546461977   LEONDRA       DELOS SANTOS                CA     90014485464
94751818591599   RODOLFO       GONZALEZ                    TX     75011578185
94754667591599   PERLA         SAENZ                       TX     90001336675
94754873961977   RODRICK       WILLIAMS                    CA     90013918739
94755995391951   ARGENIS       QUINTANA                    NC     90010499953
94756644533698   REBECCA       SAWYER                      NC     12033766445
94757339555957   JESSICA       ENRIQUEZ                    CA     90015093395
94761312655951   CHRIS         ANAYA                       CA     90013113126
94761663891399   ANTHONY       REYES                       KS     90014306638
94761977193755   SHAWN         DESHANE                     OH     64511499771
94762733291399   DIEGO         SOTO                        KS     90008787332
94763364455963   FELICIA       GUTHRIE                     CA     90014793644
94766114355957   JOSE          RODRIGUEZ                   CA     90014321143
94766565293732   KYLE          COPELAND                    OH     90003345652
94766878855951   ALEX          FLORES                      CA     90014958788
94768713632582   DEVIN         PICKETT                     TX     90015137136
94768742461979   HUGO          JAIME                       CA     90003207424
94768972261977   THERESSAH     RODRIGUEZ                   CA     46037759722
94769168991599   AJ            TRUJILLO                    TX     75016981689
94769612755951   WHITFORD      TAMI                        CA     90003876127
94772173591951   CHERISE       MCMANUS                     NC     90013421735
94773428593755   CLYDE         CRAVER                      OH     90012824285
94774272777537   MARCIA        OWENS                       NV     43065442727
94776458377537   NANCY         ZACATZI                     NV     90013744583
94776695191882   JAMIE         BOHANNON                    OK     21094496951
94777366855951   AMANDA        MYLES                       CA     49085733668
94778441155963   PETE          SUNIGA                      CA     48088994411
94783274991599   ERIKA         RUIZ                        TX     90012452749
94783369177537   MARIO         ZARAGOZA                    NV     43046993691
94783449193778   KRISTIE       MCKNIGHT                    OH     90007774491
94784554777537   CHANEL        HOPKINS                     NV     43011825547
94784567255951   PATRICIA      VASQUEZ                     CA     90007945672
94786172655963   BETTY         ALVARADO                    CA     90012871726
94787463491399   TORI          CHEFFEN                     KS     90015124634
94787899991951   JEU           SANCHEZ                     NC     90006648999
94787932791399   MARIANO       DELGADO                     KS     90012439327
94791318255963   LAURA         VEGA                        CA     90005383182
94795114181634   ELENA         HERNANDEZ                   MO     29078861141
94795116961977   EDDIE         ESTRADA                     CA     90010801169
94797114271945   JOSE          JAQUEZ                      CO     32052081142
94798558993736   AMY           DEGARMO                     OH     90011135589
94798622477537   LETICIA       ROMERO                      NV     90013886224
94811418255975   SERGIO        MATA                        CA     90006544182
94811683855951   MICHELE       MILER                       CA     90015006838
94812597855963   SUSANA        BARAJAS                     CA     48004265978
94813744661921   ADRIANA       CORONA-GASTELUM             CA     90012207446
94814547193746   KIMBERLY      DARE                        OH     64591505471
94816514191599   LUIS          AGUILAR                     TX     75026295141
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94816546461977   LEONDRA          DELOS SANTOS             CA     90014485464
94819547891399   KENDRA           DIONNE                   KS     90012325478
94819692293755   JOHN             KAEHLER                  OH     64534496922
94821223591599   RICARDO          GARCIA                   TX     75087922235
94821842271945   WILLIAM          WILEY                    CO     90014358422
94823257955957   MARY             BARBER                   CA     49044422579
94824652291599   AMANDA           MACIAS                   TX     90000626522
94826296161977   BLANCA           NAVARRO                  CA     90014912961
94829448461977   ROSALINDA        OVIEDO                   CA     90013974484
94831482355951   JORGE            LOZANO                   CA     90012304823
94833357193732   GRACE            PETREMAN                 OH     64568683571
94834644655957   CARLA GEAN       GARCIA                   CA     90003796446
94838853341296   MELISSA          BRADLEY                  PA     90015138533
94842599881634   ANN              DEC                      MO     29090545998
94843358655957   ANISSA           VALDEZ                   CA     90014623586
94843668171945   ADRIANA          ZELAYA                   CO     90001126681
94845468993732   ANA              VANEGAS                  OH     64568694689
94847215693755   GLORIA           NUNN                     OH     90003652156
94847718955963   ANDREA           KEEL                     CA     90009177189
94847943693746   JOSHUA           LITTLE                   OH     90002279436
94853614971945   CLAUDEANA        CHAPMAN                  CO     90012256149
94853649391599   FRANK            MOLINAR                  TX     75083126493
94853651671945   HOLLY            GILLESPIE                CO     90007936516
94855833255951   DESHAWN          REED                     CA     49006128332
94855892391599   JAMES            THOMAS                   TX     75016378923
94856286591951   LILIAM           CARIAS                   NC     90010512865
94858364271945   SCOTT            CLAY                     CO     32039653642
94859663193755   DAVID            HOWARD                   OH     64576906631
94859793971945   MELISSA          TYLER                    CO     90014237939
94861782393755   SAMANTHA         WALKER                   OH     90011447823
94861895791399   VERNA            SMITH                    KS     29008838957
94863487561977   ALEJANDRA        QUEVEDO                  CA     90011194875
94865217391592   LUZ              SOSA                     TX     90013262173
94865896691553   MELISSA          LUGO                     TX     90007448966
94866182755951   MACIAS           VALENTINA                CA     90011951827
94866866251373   O DELL           HOLLIDAY                 OH     90013118662
94867241791599   MARIA            AGUIRRE                  TX     90013232417
94867597793755   CYNTHIA          MILLER                   OH     64591595977
94868266461977   MARTIN           ROSAS                    CA     90009652664
94868628955957   AIOTEST1         DONOTTOUCH               CA     90015116289
94871993691599   ENRIQUE          MELERO CONTRERAS         TX     90013909936
94873255155951   RAMONA           MULLINS                  CA     90013032551
94873386141296   JUDY             MORGAN                   PA     51072383861
94875421441296   SHEILA           HALL                     PA     51083504214
94875624591599   MARTINEZ GOMEZ   BRENDA ISELA             TX     90009966245
94875814277537   LUIS             SOLORIO                  NV     90009408142
94875863261977   MENDONZA         JUAN                     CA     90004138632
94876499771945   LONNIE           DURHAM                   CO     90009964997
94876528177537   DEVON            WEBB                     NV     90010265281
94877151471945   KURTIS           HIBBITTS                 CO     90013761514
94878837255951   JAVIER           MARTINEZ                 CA     49052968372
94879942661977   SERGIO           PAREDES                  CA     90001899426
94882333955963   MIGUEL           MOSQUEDA                 CA     48014533339
94882581877537   CAROLE           FLYNN                    NV     43013745818
94883132793755   JENNIFER         PEIRSON                  OH     64506401327
94884871171945   CHRISTINE        HARBERT                  CO     32048098711
94884935755963   KIMBERELY        NAJERA                   CA     90014289357
94885212293755   ERICA            ARCHIE                   OH     90010332122
94885239191882   ELIDIA           LOPEZ                    OK     90005482391
94886791861977   ANGELICA         MUÑOS                    CA     46050907918
94887343671945   SANTIAGO         KELLY                    CO     90004253436
94887548991951   SANDRA           PERRY                    NC     17007465489
94887617791599   JESSICA          FLORES                   TX     75063066177
94889245961977   NANCY            KARINA                   CA     90012942459
94889252977537   VALENTIN         JUAREZ                   NV     43092642529
94891112193721   LACEY            MOORE                    OH     90009271121
94891416193732   DEVANTE          MONTAGUE                 OH     90005944161
94892365271945   NATASHA          JACOBS                   CO     32082183652
94893253391399   SAMANTHA         HICKMAN                  KS     90001562533
94893511455963   RUBEN            RAZON                    CA     90013055114
94893842631651   LEAH             HANSON                   KS     22011158426
94894285577537   OMAR             AGUILAR-CHAVEZ           NV     90015032855
94894968671945   JOHN             HOOPER                   CO     90011149686
94895186355951   EDDIE            GUTIERREZ                CA     90009471863
94895214377537   MARICELA         OJEDA                    NV     43008422143
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94898177793755   TYLA         MAYS                         OH     64565891777
94911683161977   ROCIO        SOLORIO                      CA     90014816831
94912619955957   PA HOUA      VANG                         CA     90012996199
94912691891399   RUDY         PADILLA                      KS     29026356918
94913415571945   AZUL         CIELO                        CO     32043514155
94913837355951   HERMINIA     GUILLEN                      CA     90001318373
94915416161982   MARTIN       STENGER                      CA     90010714161
94917316161979   JUAN         SANCHEZ                      CA     90006343161
94917339555957   JESSICA      ENRIQUEZ                     CA     90015093395
94919233941296   CARLOS       DUKES                        PA     90011312339
94921223741296   BRITTANY     MILLER                       PA     51004882237
94921295991951   SHAYNEA      HOWARD                       NC     90004982959
94921354491599   VANEESSA     LOPEZ                        TX     75075983544
94921493891955   LUIS         MORFIN                       NC     90003854938
94921749155951   JASBIR       SINGH                        CA     49096317491
94923359191399   JOEL         BECH                         KS     90011353591
94923623977537   JUAN         DUENEZ                       NV     43073536239
94923815555957   CHRISTINA    CHENOT                       CA     90014178155
94927248655957   MELLISA      FERNANDEZ                    CA     90013702486
94927748293755   MENDIE       LANKFORD                     OH     64582707482
94928885455951   MARICELA     HERNANDEZ                    CA     90015108854
94934124761979   MARGARITA    FRCHO                        CA     90003231247
94935334271945   SHANTEL      KERR                         CO     90013423342
94935389977537   SANDRAMARI   HERNANDEZ-PLASCENCIA         NV     43012123899
94936991391599   MARIA        CASTRO                       NM     90011899913
94938433391399   MARY         DAVID                        KS     90012654333
94939141791599   GABRIEL      MIRANDA                      TX     90012211417
94941622255951   JAIR         CHAVEZ                       CA     49085236222
94942931677537   WILLIAM      QUOETONE                     NV     90012399316
94943962761951   RAFAEL       VELAZQUEZ                    CA     46067839627
94944692181652   PAULO        ZAGADA                       MO     29009886921
94945864191599   OSCAR        RAMIREZ                      TX     75070888641
94946283261979   JAIME        PALACIOS                     CA     90003232832
94946542455951   DELIA        CASTELLANOS                  CA     90014995424
94946754155963   BRAVLIO      RAYA                         CA     90010027541
94947222555951   SAMUEL       ZAMUDIO                      CA     49096382225
94949334691599   JUAN         PALOMARES                    TX     90008533346
94951437855963   CINTYA       GOMEZ                        CA     90014934378
94952369355963   LUIS ERNES   GARCIA                       CA     48000663693
94953352891951   MARIA        VILANUEVA                    NC     90007173528
94953495747973   LEJUANA      DICKERSON                    AR     24014764957
94953846693755   LEEANNE      DANIELL                      OH     64518728466
94953986655951   JIMMY        SANDERS                      CA     90012999866
94955818177537   DAVID        AGUIRRE RAMIREZ              NV     90014868181
94956347191399   JUAN         MARTINEZ - SALOMON           KS     90012443471
94958322651365   BARBARA      RUCH                         OH     90013633226
94959585491399   TERRY        ROBINSON                     KS     90012625854
94959686577537   FABIOLA      HERNANDEZ                    NV     43057956865
94961367161977   TAMARA       KASEM                        CA     90012563671
94963252481634   JONATHAN     MANNING                      MO     90006402524
94963459191599   DANIEL       GARDEA                       TX     90009564591
94963669161977   MORRIS       GILCHRIST                    CA     90013656691
94963687293732   JENNIFER     IQBAL                        OH     90004656872
94963825555963   EVERT        SAUSEDO                      CA     90006938255
94964984791599   GUADALUPE    MARTINEZ                     TX     75037359847
94965486493755   REBECCA      POGUE                        OH     64567604864
94965544555963   MARISSA      CORTEZ                       CA     90013605445
94967655541296   FRENK        TINGER                       PA     90014066555
94968532961977   KARLA        CASTANEDA                    CA     90005185329
94969188471922   ROBERT       FERRIS 3                     CO     90009121884
94969581171945   ANGELINA     SHUMAKER                     CO     32089715811
94971417647973   APRIL        HOWARD                       AR     90010534176
94973517193755   TYLER        BOCOCK                       OH     90012695171
94974496591599   MATHEW       TRONCOSO                     TX     90008884965
94976469177537   MICHAEL      CROSS                        NV     43094034691
94978319741296   KENNITE      HATTEN                       PA     90014693197
94978993561977   HECTOR       RODRIGUEZ                    CA     90013989935
94979278355963   MARY         JEFFORSON                    CA     90006602783
94982641355963   PAYGO        IVR ACTIVATION               CA     90010946413
94982686541255   REGINA       KAMAUF                       PA     90010906865
94983116371945   TARA         SANDS                        CO     90009661163
94983715261977   EDGAR        AGUAYO                       CA     90014577152
94984847491599   REYNA        RIVERA                       TX     90012058474
94985466961977   ISABEL       MENDOZA                      CA     90015014669
94987836281634   KARLA        FREDRICKSON                  MO     29085838362
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94989812841296   TONI         JOHNSON                      PA     51098428128
94989878493755   SHANDORA     NORRIS                       OH     64551498784
94991281391599   FRANCISCO    CALVILLO                     TX     75047742813
94993957491599   EUGENIA      LOPEZ                        TX     90012749574
94995384271945   LEXI         MARSHALL                     CO     90012123842
94995963355951   LUCIA        HERNANDEZ                    CA     90009179633
94997289791599   LUIS         ROSALES                      TX     75040162897
94997932547924   JASMINE      GUARDADO                     AR     90004769325
94999455491399   SHANA        BALTIMORE                    KS     90003504554
94999782331651   ARTHUR       HAYZLETT                     KS     90009697823
95111219355975   DANIEL       CHAVEZ                       CA     90003382193
95112981955957   GEORGINA     FERNANDEZ                    CA     49014889819
95113915693755   ADRIAN       HOLLAND                      OH     90001589156
95114981655957   LISA         KELLY                        CA     90005239816
95115191591399   ANGEL        LEMUS                        KS     29002771915
95115826291599   DANIEL       RODARTE                      TX     90011598262
95117435191951   WANDA        CARRINGTON                   NC     17060684351
95118765991599   ALEJANDRO    HERNANDEZ                    TX     90013787659
95119541555951   CARRIE       CASTANEDA                    CA     90013055415
95121448761977   ALEJANDRA    MEDINA                       CA     90013134487
95121455441296   DENNIS       DOWNEY                       PA     90010774554
95125895391599   ISELA        CALDERA                      TX     90005998953
95125911955957   JOSEFA       NERI                         CA     90009579119
95126177191599   SONIA        GONZALEZ                     TX     90005781771
95127245691531   RAUL         RAMIREZ                      TX     90014672456
95133963193755   RICHARD      COBB                         OH     90010879631
95134321555957   KATHRYN      DOMINQUEZ                    CA     90014253215
95137337655957   MARIA        BARAJAS                      CA     49005593376
95137484285969   ABEL         ARIAS                        KY     90001344842
95137979633698   LAMAR        MARSH                        NC     90004319796
95138842172475   PAYGO        IVR ACTIVATION               PA     90004668421
95139288891531   SUZANNA      ORTEGA                       TX     75087112888
95141146444392   BROWYN       GRAY                         MD     90015091464
95141925655951   RITA         HERNANDEZ                    CA     90012349256
95142981491951   MAYERLI      LAGUNA                       NC     90013579814
95143345155951   SAVANNAH     ZUNIGA                       CA     90008913451
95143888955935   ALONDRA      VARGAS                       CA     90008568889
95147327955951   DUSTEN       MUCKEY                       CA     90001463279
95148335691531   IVETTE       RAMOS                        TX     75074473356
95149949631448   DONALD       MOHRMANN                     MO     27516479496
95151763877537   ALICIA       FRANKLIN                     NV     90015117638
95152782791599   JOSEFINA     QUINONEZ                     TX     90013257827
95153336391951   DANIEL       RICHMOND                     NC     90015583363
95154216591951   ALEXANDRA    ALVAREZ                      NC     90012732165
95154756391599   LESLIE       SOTO                         TX     75009257563
95154871977537   DYLAN        DARVIS                       NV     90014578719
95155293761977   HORTENSIA    MURILLO                      CA     46062012937
95165523491599   GISELA       NAJERA-DELONGORIA            TX     90011965234
95166269661977   ALISSA       SERRANO                      CA     90013142696
95166459991531   SOFIA        SOTO                         TX     90015014599
95167299777537   LOGAN        BOSTON                       NV     90015072997
95168775991599   JOSE LUIS    ALVARADO                     TX     90003607759
95168875341296   MARTINA      PETERSON                     PA     51008908753
95173387793755   AMY          LINGEL                       OH     90012943877
95174578791399   GERMAN       MESA                         KS     90014165787
95174622661977   KRISTIN      ANDERSEN                     CA     46001846226
95175782393755   BRITTANY     DOBBS                        OH     90012297823
95175875593732   ANGEL        CHRISTMON                    OH     90006008755
95179212881634   ELMER        AGUILAR                      KS     29021872128
95182991891951   ALONZA       YATES                        NC     17039669918
95183671981634   BOBBY        ERSERY                       MO     90013446719
95184241941296   MARLAINA     WALIGORSKI                   PA     90012912419
95184413472475   TONI         STOYANOFF                    PA     51072884134
95185995291599   JAVIER       GUTIERREZ                    TX     90003019952
95186294291399   TASHA        FIELDS                       KS     29052942942
95189451491951   ROGELIO      CALDERON                     NC     90013094514
95193117555957   JOBANI       TRUJILLO                     CA     90003651175
95193162891951   BEVERLY      JOHNSON                      NC     90014091628
95196284381634   NIKOLE       HENSON                       MO     90010532843
95197596956329   ALFREDO      ALCALA                       IA     90014725969
95197778677537   BARBARA      SPIKES                       NV     90013467786
95198654691951   ERIKA        KELLY                        NC     90000536546
95212656455957   ANTHONY      PRATHER                      CA     90012546564
95215338993778   BOBBY        CRIMES                       OH     64502723389
95215767793732   STEVEN       HENDRICKSON                  OH     90009307677
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95216434461977   CHARLES      MUELLER                      CA     90010524344
95216913366186   DAMIAN       GUZMAN                       CA     90015039133
95217937941296   ESSIE        CROWE                        PA     90015009379
95219483293755   LANDON       CHAMBERS                     OH     90012884832
95222536247973   RICKY        ODEM                         AR     90011075362
95222567391531   MARIA        SARELLANO                    TX     90012005673
95223567741296   JOHN         COBBS                        PA     90005875677
95224392981658   AMBER        DOUGLAS                      MO     90001293929
95225721577537   JESUS        GUERRERO-CHAVEZ              NV     90009607215
95225914355951   KUE          XIONG                        CA     90007429143
95226678355951   TYLER        CONLEY                       CA     90014926783
95228474455957   ANGELA       GOMEZ                        CA     49067784744
95229595191599   XAVIER       PLASENCIA                    TX     75075245951
95229758891551   JUAN         ZAMORA                       TX     90012787588
95229962693755   KAELI        MORGAN                       OH     90013539626
95231776193732   BROCK        HARRIS                       OH     90000427761
95232234291951   IDALIA       LOPEZ                        NC     90013732342
95234873291399   ENRIQUE      ESTRADA                      KS     90014168732
95235116491531   NEYRA        ALCANTAR                     TX     75098741164
95237495691599   ANTONIO      SOSA HERNANDEZ               TX     90013064956
95237615591531   SOL          ESCARSEGA                    NM     75085436155
95237773655951   SANDRA       VALDORINOS                   CA     90010687736
95241639191599   ANGELICA     ARMENDARIZ                   TX     75058576391
95241971361977   JORGE        TAPIA                        CA     46015249713
95244841381634   CRYSTAL      ROSS                         MO     90013568413
95244945255957   SARAH        MADRID                       CA     90014179452
95246275755957   JAIME        LOPEZ-CARBAJAL               CA     90010562757
95246699291951   DELQUIN      LOCK                         NC     90009416992
95246866291526   JESSICA      FONG                         TX     90014308662
95246875955951   RAY          CORTEZ                       CA     49017998759
95248862691951   GLORIA       CARRILLOS                    NC     90011908626
95251443651325   KATHRYN      WILLIAMS                     OH     66073264436
95251822791599   ANABEL       PAYAN                        NM     90008108227
95252336893755   MARY         SCHROYER                     OH     90014483368
95253712591951   MARY         BRANCH                       NC     90012477125
95254744291531   FERNANDO     PEREZ                        TX     75073597442
95256789161977   DENNIS       BRZEZINSKI                   CA     90013317891
95258453391951   BARBARA      CEPEDES                      NC     90011704533
95258456793755   CONSTANCE    STEPHENS                     OH     90004784567
95258739377537   TINAMARIE    SOSSAMON                     NV     90014887393
95259119955951   BOBBY        VELASQUEZ                    CA     90012741199
95259961251337   JONATHAN     HAY                          OH     90010319612
95262584791531   CLAUDIA      MONSIVAIS                    TX     90010315847
95262686393755   BRITTANY     DANCY                        OH     90013046863
95263718941296   MARQUIA      CHARAE                       PA     90009087189
95264267361977   LEONEL       AGUIANO                      CA     90003382673
95264442893732   JAKITA       BROWN                        OH     90002054428
95264524791399   DANA         DOOLEY                       KS     90010655247
95264555677537   NATALIA      AMAYO                        NV     90014035556
95265525791599   RUBEN        MOLINA                       TX     90002085257
95265565591399   R            JOHNSON                      KS     29004255655
95271635591951   BRIAN        ADAMS                        NC     90014416355
95271791491531   CASTILLO     CHRISTOPHER                  TX     90010587914
95273147591531   ELIZABETH    CHAPARRO                     TX     90015021475
95273157955951   OLGA         FABIAN                       CA     90014451579
95273879641271   MAX          SMITH                        PA     90015048796
95274875955951   RAY          VILLA                        CA     90011098759
95274922633698   MSHAIRI      EVANS                        NC     12095419226
95275295155951   MAXIMINO     GONZALEZ                     CA     90014472951
95275592741296   AMY          MYERS                        PA     51079025927
95276627291399   MICHELLE     FERN                         KS     29052966272
95277327993732   STEVEN       SIMPSON                      OH     90005513279
95278584791531   CLAUDIA      MONSIVAIS                    TX     90010315847
95279785955957   CHESTIN      ROOTERS                      CA     49098527859
95279928991951   ROBERTHA     CRAWFORD                     NC     90013319289
95281784855957   MANUELA      CARRILLO                     CA     49026937848
95283721961977   JESUS        GONZALEZ                     CA     90008747219
95284268291951   OSHA         EDWARDS                      NC     90009182682
95287931877537   CRYSTAL      SNYDER                       NV     43038909318
95288342141296   ANTHONY      JONES                        PA     90013783421
95288655491951   SHONTEZ      HILL                         NC     90013986554
95293152785969   MARTHA       SCOTT                        KY     90004721527
95294245872475   EUGENE       PARKER                       PA     90001652458
95294571741296   SHARON       SMITH                        PA     90007465717
95294665255979   THOMAS       TREADAWAY                    CA     48061946652
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95295249855951   ANITA        ROMERO                       CA     90013282498
95296793941296   LINDA        SMITH                        PA     90006347939
95297186741296   MARY         HUTCHINS                     PA     90015301867
95298612891899   MARVELL      CORREIL                      OK     90014806128
95298689791531   LUCIA        GUERRERO                     TX     90006966897
95299429981634   ANDREW       ECHCL                        MO     29006454299
95299451241296   TANIKA       TAYLOR                       PA     51050184512
95299633877537   MIGUEL       GONZALEZ                     NV     90012836338
95312535772475   THOMAS       ZENEWICZ JR.                 PA     90012335357
95314245555957   PAUL         RODRIGUEZ                    CA     90015252455
95314678991399   SAUL         HOLGUIN                      KS     90012846789
95315862731651   DANIEL       HATFIELD                     KS     22098028627
95315989491554   DENNIS       SLOTHOWER                    TX     90011709894
95316291291951   JOY          SPENCER                      NC     90014622912
95317748661977   LETICIA      LIRA                         CA     46050187486
95322593891531   NANCY        GUZMAN                       TX     90005585938
95323686991399   THOMAS       BRADY                        KS     29091496869
95324215693755   RUSSELL      JOHNSON                      OH     64551782156
95325153641296   SCOTT        BERESFORD                    PA     51055361536
95325545391951   DARRIN       FOWLER                       NC     17063845453
95328883991951   MICHEAL      SCOTT                        NC     90004188839
95328995155951   CRICKET      CRICET                       CA     90013419951
95329752961977   MARIE        MACIAS                       CA     46070057529
95331184693778   GEORGE       THOMPSON                     OH     90001621846
95332526193755   TANGIE       HALL                         OH     64581715261
95333518341296   CRAIG        BROOKS                       PA     90014675183
95333595861973   MIREYA       BRISENO                      CA     46088965958
95334699991599   NORMA        HERNANDEZ                    TX     90012626999
95337187277537   THEODORE     MILLER                       NV     43094531872
95337799991531   EMMANUEL     PACHECO                      TX     90015027999
95343149861977   ALEXIS       CUBILLA                      CA     90013161498
95344248661977   JUAN         MONTOYA                      CA     90006982486
95344431993755   KRISTTEN     PACKNETT                     OH     90013264319
95345169577537   JOSHUA       FORCUM                       NV     90015041695
95345317291599   CYNTHIA      BALTAZAR                     TX     75044203172
95346282291399   MARIA        CORONA                       KS     29068152822
95351937191599   ESMERALDA    RODRIGUEZ                    NM     75086719371
95352276391951   ANDRICK      HERNANDEZ                    NC     90012592763
95352765277537   LUIS         PARTIDA OROSCO               NV     43076887652
95353745955957   MARIA        PRECIADO                     CA     90011767459
95353978641296   ROBERT       OLDS                         PA     51030749786
95354612161977   MARTIN       ROSALES                      CA     46094876121
95357957191554   VERONICA     MEDRANO                      TX     90000259571
95358677861977   TRINIDAD     GALLIGAN                     CA     90004626778
95362165391599   ANNETTE      DELGADO                      TX     90014701653
95362882991399   KELLIE       WEST                         KS     29037268829
95363359793755   JIMMY        RHOADES                      OH     90014883597
95363676491951   QUINCY       BROWN                        NC     90015116764
95364856291579   EVANGELINA   MARISCAL                     TX     90010448562
95365899255951   SUNEMA       PAVLINE                      CA     90011098992
95366383461977   DAVID        JOHNSON                      CA     90000173834
95367624377537   OSWALDO      GODINEZ                      NV     90013046243
95368185791951   ROBERT       MACHUKI                      NC     90008141857
95368463591599   AMERICA      ALMEIDA                      TX     90012414635
95371393547871   STIEVIE      MALCON                       GA     90002213935
95373132941296   JASEN        WHITACRE                     PA     90015111329
95373337391599   FERNANDO     ALVARADO                     TX     90013753373
95373582841296   JASEN        WHITACRE                     PA     90007465828
95373831641296   JASEN        WHITACRE                     PA     90013958316
95376149455951   AMIN         ALGAZALI                     CA     90014151494
95377452291399   JESSE        CLARK                        KS     90001254522
95377661791531   PERLA        MENDOZA                      TX     90012816617
95378175891399   CRAIG        GRIDDINE                     KS     90014181758
95378686631952   PAMELA       RAKOWSKI                     IA     90010136866
95379783455951   CHERYL       JONES                        CA     90002557834
95381616355951   MARIA        CONTRERAS                    CA     90013216163
95382363141296   TRACEY       NODAROS                      PA     51038783631
95383123791399   GERARDO      RIOS                         KS     29008211237
95383335593778   MIKE         JOHNSON                      OH     90012853355
95383711391951   MARCUS       MOORE                        NC     90012917113
95385248493755   JAKE         WILLIAMS                     OH     90007672484
95387264755957   DUSTIN       LESAN                        CA     49083272647
95388122293755   YOHONA       ANDERSON                     OH     90011021222
95388827141296   LATERRA      ENGLISH                      PA     51096358271
95389291133698   JUAN         TORRES                       NC     12001752911
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95389993491531   JESUS        GARCIA                       TX     90010589934
95392212555951   ANTHONY      MELODY                       CA     90009062125
95392848791526   LINDA        LOPEZ                        TX     90009448487
95394675391532   JESUS        CHAVIRA                      TX     90004526753
95396714555957   SHERRY       TORREZ                       CA     90010797145
95397211891599   MELISSA      HERNANDEZ                    TX     90006702118
95398417977537   ROBERTO      TORAL-RODRIGUEZ              NV     90012624179
95398429891399   JAMES E      SMITH                        KS     90011654298
95398993633698   ALLISON      HILL                         NC     12042869936
95399913977537   BEATRIZ      LEBENATICO                   NV     90011799139
95411566391951   KENNETH      GREEN                        NC     90009555663
95413173693755   MORGAN       BUSH                         OH     90012141736
95414697191951   TAMMY        PRIDGEN                      NC     17026696971
95415191191399   JULIO        LOPEZ                        KS     90005841911
95415541955979   SALVADOR     LLAMAS                       CA     90002355419
95416895893755   ASHLY        PENTLEY                      OH     90012748958
95417633433698   WILLIE       GODLEY                       NC     12020176334
95421553491951   KENDRA       WILSON                       NC     17094255534
95427494881634   BRE          BRE                          MO     90015164948
95431178433698   JAMIE        LOGAN                        NC     90009991784
95431256991599   BLANCA       LUJAN                        TX     90005202569
95432147855951   OMAR         ALGHAZALI                    CA     90014151478
95433987755951   MARIA        BECERRIL                     CA     49051099877
95434941791599   TOMMY        PANDO                        TX     75063799417
95435112855957   STEFANIE     HANNEMANN                    CA     90012521128
95435926561977   JONATHAN     PULIDO                       CA     90008959265
95436213691531   SANDRA       FERNANDEZ                    TX     75033292136
95436786877537   STACY        PEREZ                        NV     43029127868
95437132877537   BOBBIE       GRIGGS                       NV     90009541328
95437673891599   MARCO        DE LA CRUZ                   TX     90011036738
95437983193755   RACHEL       PHIPPS                       OH     90015229831
95438882393755   SONJA        HICKMAN                      OH     90012688823
95439188785969   GABINO       LOZANO                       KY     90007341887
95439517191599   ANGEL        ACOSTA                       TX     90011445171
95441628691599   SONIA        TORREZ                       TX     90013326286
95443492891531   YANESKA      GARCIA                       TX     90015034928
95446118491531   GABRIELA     BLANCO                       TX     90010591184
95446124291399   YOLANDA      LICON                        KS     90011641242
95447492891531   YANESKA      GARCIA                       TX     90015034928
95448123691531   JOSHUA       GONZALEZ                     TX     90010591236
95448492891531   YANESKA      GARCIA                       TX     90015034928
95448492977537   NORA         ESPINOZA                     NV     43098674929
95451972877537   FRANK        GARCIA                       NV     43032679728
95452524177537   TRINA        MOFFITT                      NV     90004405241
95453126993755   TRACIA       HERBST                       OH     90004991269
95453574455975   SEASON       ELLIS                        CA     90006705744
95454349991399   FRANCISCA    PONCE-ACEDO                  KS     90014183499
95454845755957   SHAWNTA      TOWNSEND                     CA     49088718457
95455955377537   DAVID        MORGAN                       NV     90014589553
95456436891531   ARMIDA       JASSO                        TX     90010004368
95456899355951   BEATRICE     MOLINA                       CA     90010278993
95459175491951   HOWARD       EARL                         NC     90015341754
95459966193755   SHARON       MEEKER                       OH     64598769661
95467411261977   EDUARDO      TAMAYO                       CA     46081574112
95467675691599   ROSALIO      CARRASCO                     TX     90011036756
95467851191399   DANEN        HAXTON                       KS     90007868511
95468534591531   CARMEN       DOMINGUEZ                    TX     75093095345
95473918555951   RICHARD      GARCIA                       CA     90012939185
95474256491399   MIRNA        SOTO                         KS     90004992564
95474975361977   TERESA       GONZALEZ                     CA     90000489753
95475471981679   MARIA        BALDERAS                     MO     90013664719
95481392891531   MICHELLE     SERNA                        TX     75033193928
95481695991599   VALDEZ       DENISE                       TX     75073556959
95482849493738   CYNTHIA      RUSSELL                      OH     90011308494
95483435631436   NEVA         GARRISON                     MO     27565294356
95483458544346   SHAWN        GREENE                       NC     82076234585
95483868177537   ANDREW       SELOVER                      NV     43005998681
95486278957126   MELBA        MALDONADO                    VA     90011802789
95491155355957   MELISSA      ROMERO                       CA     90012521553
95491248391531   EVA          CUELLAR                      TX     90008352483
95495765161973   YESENIA      ARAGON                       CA     90009287651
95495974861928   JOEL         ROSALES                      CA     90011999748
95496519491531   LAURA        MORENO                       TX     90015035194
95497926491531   FERNANDA     CHONG                        TX     90010679264
95499666693755   MELONIE      JOHNSON                      OH     90012766666
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95499876791531   ALEX           ZUNIGA                     TX     75009428767
95511586491531   ANA            SOLIS                      TX     90009185864
95512798655957   MARSHAY        GROSS                      CA     90014257986
95517142291599   PRISCILLA      CERVANTES                  TX     90012931422
95519263891366   TAUSHA         PAYNE                      KS     90003372638
95522739377537   TINAMARIE      SOSSAMON                   NV     90014887393
95522863777537   RODOLFO        MORA-JIMENEZ               NV     90011458637
95527947691399   JASE           HERNANDES                  KS     90003539476
95528978451396   HARLIN         YOCUM                      OH     90009129784
95531355331491   LARRY          CONNOR                     MO     90002523553
95532849255967   MELISSA        PENA                       CA     90004858492
95533544191531   ALBERTO        SARMIENTO                  TX     90015035441
95533849255967   MELISSA        PENA                       CA     90004858492
95536657961977   SANCHEZ        ALMA                       CA     90001886579
95538274491531   ROSA           MELENDEZ                   NM     90007342744
95539299961982   ESTELLA        MADRID                     CA     90015042999
95539928591599   NANCY          VELD                       TX     90004049285
95544567941296   SUJATA         CHHETRI                    PA     90011485679
95544792655951   RODDASHIA      STENNIS                    CA     90010067926
95545837391877   ROBERTO        VASQUEZ JR                 OK     90007488373
95546377133698   FARRY          BROWN                      NC     12097833771
95546955461977   RUBEN          MUNIZ                      CA     90006359554
95547129841296   DIANA          GARZA                      PA     51066761298
95548516377537   VICTOR         LOPEZ CAMPOS               NV     90013555163
95551547833668   JOE            DRAYTON                    NC     90014655478
95552459191951   MYRNA          WHITE                      NC     90007384591
95554889955951   ISIAH          THOMAS                     CA     90014858899
95555977291599   SAMANTHA       LOERA                      TX     90006249772
95556694855957   JUAN           BERBER                     CA     90014586948
95557174791599   SYLVIA         DAVILA                     TX     90012771747
95557567461977   ALIDA          AREVALO                    CA     90014825674
95559557491951   DR RUFUS       TAYLOR JR                  NC     90010305574
95564874591599   SANDRA         SORIA                      TX     75036478745
95564877491531   DIANA          SANCHEZ                    NM     90013948774
95566646141296   CRYSTAL        KINSEL                     PA     51017676461
95569619291554   MIGUEL         ARZATE                     TX     75093856192
95569987555951   RYAN           RIOS                       CA     90009739875
95572227791532   JESSICA        AGUILAR                    TX     90007712277
95572496955951   EMILIO         BRISENO                    CA     90008794969
95572518951277   NICOLAS        BICHARDO                   SC     90015105189
95572532231474   SUSAN          WILBERT                    MO     27591535322
95572898191951   LATASHA        WILKINS                    NC     90013708981
95572945691531   ARNOLDO        MARTINEZ                   TX     90009819456
95572957233641   RAYMOND        ABELL                      NC     12091049572
95573689161977   CARLOS         FUENTES                    CA     46057146891
95573696855957   YANIRA         OSORIO                     CA     49083546968
95576854991531   BALDOMAR       SALAZAR                    TX     90000708549
95579189293755   JODI           DIXON                      OH     64567771892
95581963855951   JORDAN         CARDOZA                    CA     49073219638
95582765193732   ROBYN          ROBERSON                   OH     64519637651
95583217677537   ERIC           HUNTER                     NV     90010962176
95585814855999   SELINA         DIAZ                       CA     90002998148
95585816891861   JENNIFER       MARSHALL                   OK     90007118168
95586969241243   LATEKA         WASHINGTON                 PA     90006209692
95587612755923   KATRINA        PUERNER                    CA     90006026127
95591344891531   CINDY          CANO                       TX     90010593448
95593559877537   RAMON          RODRIGUEZ                  NV     90007895598
95593611241955   TAYLOR         ADAIR                      OH     90014356112
95595797655951   DE VANYE       DAVIS                      CA     90010707976
95596271491599   DAVID          RODRIGUEZ                  TX     90001232714
95597791493755   ASHIA          BURNS                      OH     90004037914
95598754191399   LIZETT         FERNANDEZ                  KS     90014337541
95611677993755   TANEISHA       HANSELMAN                  OH     90015316779
95611811841296   EMILY          MILES                      PA     90009488118
95611823261977   GUADALUPE      GAMINO                     CA     90010538232
95612571791951   JOSUE          AGUILAR                    NC     17069465717
95614411991399   AMANDA         RUSSELL                    KS     90014764119
95615522991951   DENISE DORTY   DOUGLAS                    NC     90015255229
95616131891951   JOE            ROGERS                     NC     90003031318
95618146333698   SHAWN          RUSH                       NC     90010411463
95621876761977   TIM            HOWARD                     CA     90013438767
95621961591951   KENIA LARA     CASERES                    NC     90005179615
95622119261977   OLGA           GUERRERO                   CA     46079951192
95622521441296   ALBERT         THOMKA                     PA     51090105214
95624589191599   ADRIANA        SOTO                       TX     90007925891
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95624923581634   LATRICE       ROGERS                      MO     90014949235
95626419193755   MICHEAL       ALCORN                      OH     90011604191
95627647141296   CHARLES       FRANZ                       PA     51009946471
95628733193755   LORENA        RODRIGUEZ                   OH     64504307331
95629519341296   ANTOINETTE    THOMAS                      PA     51065675193
95629796461977   ANDRES        MOLINA                      CA     90000177964
95632653521665   DELORIS       PRICE                       OH     90011546535
95634945655951   YOUNG         H                           CA     90014209456
95635729355951   FERNANDO      QUIROZ                      CA     90006657293
95636114877537   GRISELDA      GONZALEZ                    NV     43071691148
95636315955951   LORIE         REMMER                      CA     49079263159
95636991791531   ELIZABETH     FLORES                      TX     75009649917
95637642191399   JENNIFER      LOWE                        KS     90001826421
95637723677537   JACQUELYN     ROMERO                      NV     90014977236
95641924191399   JOSE          RAMIREZ                     KS     90013169241
95642225391599   APRIL         REYNOSO                     TX     90013742253
95642363841955   MANUEL        SALDANA                     OH     90013973638
95642932791399   MARIANO       DELGADO                     KS     90012439327
95643537955951   JEFF          JONES                       CA     90013055379
95646298285955   MARY          MANNIS                      KY     67015262982
95646728477537   ANA           FARIAS                      NV     90012977284
95648887684381   MORGAN        PRICE                       SC     90007768876
95649922155957   JACQUELINE    BAEZ                        CA     90014409221
95652179341955   JOSEPH        BADILLO                     OH     90014861793
95652221581634   MELANIE       BALLINGER                   MO     90010522215
95652331491599   MIRIAM        OLIVARES                    TX     90006393314
95652798191531   CINDY         CHAIREZ                     TX     75041587981
95653959531655   CHRISTHEA     GRAY                        KS     90009619595
95654566741296   DEBORAH       STEVENS                     PA     51029305667
95657248255957   LORENZO       ALVARADO                    CA     90012522482
95658265455957   ROSEMARY      VALENZUELA                  CA     49087042654
95659758455925   PEDRO         RIVERA                      CA     90011147584
95661545151337   ERICA         SANDERS                     OH     90008685451
95661594755957   FERNANDO S    SALAS                       CA     90013715947
95661726391599   BOBBY         BOOTS                       TX     90000947263
95662334991524   AMY           ESQUIVEL                    TX     90009393349
95663169793755   LEEANN        ENGEL                       OH     64582591697
95663315841296   WILLAAM       VETTERR                     PA     90010773158
95663933991599   JOSE          HERNANDEZ                   TX     75036469339
95664587261977   ELSA          LEON                        CA     46012555872
95664912793755   LINDA         HINESMAN                    OH     64561309127
95665296581634   KIARAH        CARTER                      MO     90011432965
95665436731459   CHRISTOPHER   CARVER                      MO     90013364367
95667327641296   CHARMAINE     CORRIGAN                    PA     90011283276
95667334991524   AMY           ESQUIVEL                    TX     90009393349
95667375991399   JUAN          ORTIZ                       KS     90003243759
95668684777537   JAYNE         BARBER                      NV     43070256847
95669289591951   KAREN         REECE                       NC     90014812895
95673128541296   DAMIKA        MALLOY                      PA     90014711285
95673729531436   JEFF          ULICNE                      MO     90001447295
95674229255951   MONICA        SANTIAGO                    CA     90012792292
95674695451365   DONNA         COTTERELL                   OH     90011926954
95676555991951   JOHN          THOMAS                      NC     90012645559
95677718955951   CHRISTINA     FLORES                      CA     90009877189
95678849991531   GEMA          ROMO                        TX     90012668499
95679379431491   SUSANE        CONRAD                      MO     90006213794
95679429161977   ANDREW        GRAYSON                     CA     46062314291
95679978993755   STACY         BEATTY                      OH     90012049789
95681315255957   VANESSA       SOTO                        CA     90015253152
95681541591368   GEORGE        POTTS                       KS     90011695415
95681986993755   WESLEY        MCKINNIS                    OH     64564909869
95683637877537   CYNTHIA       SHULER                      NV     90015156378
95685177193755   CHARLES       HENGER                      OH     64574441771
95686643181628   TRACIE        RICE                        MO     90014676431
95686978891599   ALEJANDRA     SEANEZ                      TX     90013779788
95686978991951   NATASHA       ROGERS                      NC     90012179789
95687614781634   LULU          WAFER                       MO     29039666147
95688626493755   SARA          GUMBERT                     OH     90007546264
95694427691399   DEBBIE        WASHINGTON                  KS     90008094276
95694453193755   MIKEITA       IVERYS                      OH     90010734531
95695391781634   TERRY         CARLISLE                    MO     29057383917
95695489177537   YAJAIRA       CASTELLANOS                 NV     90005804891
95697423477927   RYAN          BOOLIN                      IL     90013574234
95698721191399   TIERRA        TODD                        KS     90013627211
95698779291599   DANIELA       CARMONA                     TX     90013207792
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95699281991951   KAREN           LITTLE                    NC     17074992819
95699334681634   FRANK           HARRISON                  MO     29002933346
95699589191599   ADRIANA         SOTO                      TX     90007925891
95712985555951   JESUS           RIOS                      CA     90015259855
95714259991399   JAMIE           GASAWAY                   KS     90011752599
95714311761941   IVAN            PALENCIA                  CA     90012773117
95715444291599   DIANA           NUNEZ                     TX     75036464442
95716613255957   KIMBERLI        YANEZ                     CA     49091586132
95718183791599   CLAUDIA         HERNANDEZ                 TX     90008111837
95722163391531   ARTURO          ZAMBRANO                  TX     90005031633
95722471641296   JAMIKA          SMITH                     PA     51095294716
95727454355957   JUAN            MOLINA                    CA     90011314543
95727777177537   RACHEL          RICK                      NV     90014887771
95729946455951   CLAUDIO         VARGAS                    CA     90014999464
95732367661986   NOEMI           CORTEZ                    CA     90006563676
95733582893732   DAVION          SOWEEN                    OH     90012945828
95734577391399   LOURDES         GUIZAR MENDOZA            KS     90013115773
95734988855951   ELIJAH TXIA     HER                       CA     90014019888
95737595991531   DAVID           ELIAS                     TX     90010595959
95738537955951   JEFF            JONES                     CA     90013055379
95739137355957   JESUSE          ARCHAN                    CA     90004551373
95741144155957   EVAN            MARTINEZ                  CA     90013381441
95741592991531   ARMANDO         DE LA LUZ                 TX     90010745929
95744265855957   RICKY           GARCIA                    CA     90015042658
95746255291599   FRANCISCO       BURCIAGA                  TX     90011482552
95746559461924   CECILIA         MARTINEZ                  CA     90012355594
95749154741296   BRADY           JONES                     PA     51089691547
95749824391599   VICTOR          CARDIEL                   TX     90008818243
95751928177537   SAMANTHA        MOORE                     NV     90008959281
95752646155957   JONATHAN        RODRIGUEZ                 CA     90009686461
95752841791951   LATOYA          BALLENTINA                NC     17031248417
95753744191399   TINA            MARION                    KS     90014387441
95755493361977   ANDREW P        LANARI                    CA     90003954933
95755992591531   CHRISTINA       LOPEZ                     TX     90001409925
95756541181634   FAIWAL          HOFF                      MO     90006315411
95756673555957   ELIZABETH       ESQUEDA                   CA     49046906735
95756878477537   NIEKAYLA        WORRELL                   NV     90009158784
95757768771922   MARIA           PLEWNIAK                  CO     90013587687
95758355861977   NEREYDA         RODRIGUEZ                 CA     90010543558
95761428961977   JUAN            CAMACHO                   CA     90005344289
95762542191599   DELROSARIO      MARIA                     TX     75043955421
95763267491951   UNA             BRONSON                   NC     90013742674
95763628191531   SERGIO          ACEVEDO                   TX     75073186281
95763662236148   ANNABEL         ROJAS                     TX     90003146622
95764528191951   ISRAEL          GIRON                     NC     17001755281
95765163391531   ARTURO          ZAMBRANO                  TX     90005031633
95765943241299   JAMES           MARTIN                    PA     90000249432
95768573691599   JAQUELINE       FRANCO                    TX     90012325736
95768661591951   JETORY          ANDERSON                  NC     90015106615
95768743741296   ALAN            LAND                      PA     51032947437
95773516193755   PATRICIA        HAWLEY                    OH     64519785161
95773852791399   JULIO           HERNANDEZ                 KS     90011668527
95775235591399   ERAZO           WILMER                    KS     90003672355
95775776993755   STACEY          HUNK                      OH     64503687769
95777393155957   ANGEL           HERNANDEZ                 CA     90010643931
95778583591531   NOEL            PORTILLO                  TX     75095525835
95781275191951   DAISIA          WHITHLEY                  NC     90014502751
95782299891553   MIKE            PEOPLES                   TX     75043772998
95782958191951   MICHELLE        DAVIS                     NC     90010239581
95784168255951   VALETTA         HARRIS                    CA     49066351682
95784549861964   JESSICA         GARCIA                    CA     90003895498
95784866877537   VICTOR          VASQUEZ                   NV     43072018668
95785259261977   RAYMOND         MABEE                     CA     46084622592
95787429193755   LORI            HUTSELL                   OH     90002744291
95788321477537   CAIN            AVILA                     NV     90012673214
95788642291951   JULIO           MARTIN VARGAS             NC     90013916422
95789313131459   NAYESHA         COURTNEY                  MO     27583043131
95792449991599   MARIA           MARTINEZ                  TX     90012734499
95792714655957   BRIAN MICHAEL   ODUM                      CA     90010567146
95793159155951   LAKESHA         COGHILL                   CA     90013191591
95794218393732   JENIFER         OLT                       OH     90005622183
95794538791951   DARRELL         HUNTER                    NC     90010465387
95798773661977   ZOFIA           SANCHEZ                   CA     90011897736
95799738791399   ADRIANA         CHAVEZ                    KS     29089287387
95811171361977   GABRIE          PEREZ GONZALES            CA     90000721713
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95812176691599   RUBEN        GONZALES                     TX     90012771766
95815312361977   GARCIA       SOLIA                        CA     90000133123
95816684891951   ERICA        DAWSON                       NC     90013796848
95824122981634   LAKSHIA      WRIGHT                       MO     29094211229
95824539155951   SHARVEL      BROWN                        CA     49088125391
95825345491399   LATASHA      ANN STEWART                  KS     29058653454
95826564893738   SABRINA      LYONS                        OH     90007395648
95827115177537   MAYELA       SALINAS                      NV     43058021151
95827317191599   MARTINA      ROBLES                       TX     75033323171
95827555991531   ASHLEY       MEJIA                        TX     90015045559
95828288491554   RAUL         CASTRO                       NM     75013772884
95831958791951   LAKESHIA     LYONS                        NC     90009369587
95832176191531   JESUS        LOPEZ                        TX     75035981761
95832487261977   BOB          BARKER                       CA     90010544872
95832683977537   MELISSA      COLEMAN                      NV     90004986839
95833635693755   ANDREW       PETT                         OH     90009016356
95835126855957   FRANK        VASQUEZ                      CA     90011921268
95835775377537   ANNABELLE    CUNANAN                      NV     43074247753
95837167291951   JOHN         LLANO                        NC     90014751672
95837644355951   MARY         CRUZ-RIGNEY                  CA     90012386443
95838772391599   MARGARITA    ESTRADA                      TX     90013787723
95839562177537   JOSE         CALVILLO                     NV     43079125621
95842891955957   FABIAN       NUNEZ                        CA     90013448919
95843359693755   ROY          JONES                        OH     64549683596
95844316991951   ITEZ         CASTI                        NC     90015113169
95844857861977   LAURA        PARADE                       CA     90007928578
95845642381634   CHARLES      ANSCHUTZ                     MO     90006046423
95847315255951   SHADY        THAO                         CA     90014083152
95847692291599   RAMIREZ      CINTIA                       TX     90009456922
95847866791951   AMANDA       ALVAREZ                      NC     90014128667
95848219491531   KEVIN        PADILLA                      TX     90015042194
95852243491399   SHAWN        IRWIN                        KS     90014462434
95855413655951   RALPH        PIERCE                       CA     90007454136
95857618991544   JANNETTE     RUIZ                         TX     90009926189
95858865741296   JASON        MILLER                       PA     90002978657
95859877791399   ROBIN        HARRIS                       KS     90007568777
95861238651396   ALBERT       BARNWELL                     OH     66014522386
95861471455923   GUADALUPE    SALAS                        CA     90012694714
95861894291531   GRACIELA     ELIAS                        TX     90014348942
95862879455957   MICHELLE     MARTINELLI                   CA     90006118794
95865157491951   PORSCHE      COPLIND                      NC     90014121574
95866323793738   NICOLE       BUREL                        OH     64542843237
95866526693732   NICOLE       BROWN                        OH     64527275266
95866933761977   JULIUS       LIPAYON                      CA     46026909337
95867771493755   GLENN        WALKER                       OH     90007377714
95871335161977   ALICIA       MARTINEZ-VASQUEZ             CA     46062903351
95874768491531   FABIOLA      LOPEZ                        TX     90010597684
95875853136148   MELISSA      MUNOZ                        TX     90004588531
95876569191399   LAZARO       AMADOR                       KS     90012675691
95876833991599   MARISSA      ARTEAGA                      TX     90011038339
95877123861977   EDWARD       PERRY                        CA     90009231238
95877223855951   FRANCISCO    VILLAGRAN                    CA     49095892238
95877564641296   JOHN         MONROE                       PA     90014275646
95877882491951   AMANUEAL     TEWOLDE                      NC     90013818824
95882462891531   ABEL         PARGAS                       TX     90014694628
95883955293755   JOSHUA       MARCUM                       OH     64530829552
95887819272457   CRYSTAL      HEITZER                      PA     90011548192
95889137791399   MONICA       HUNTER                       KS     90014241377
95889534591951   COREY        REID                         NC     90008595345
95889626355957   MANUEL       . BALDERAS                   CA     49096386263
95889985155999   NANCY        AGUIRRE                      CA     49051539851
95897152255951   SUSANA       CALDERON                     CA     90015141522
95897348491531   GLORIA       GANDARA                      TX     75050943484
95898337691599   GUADALUPE    FULLER                       TX     90013303376
95899514993732   THOMAS       ARBAUGH                      OH     90008615149
95911567441296   ZELLETTIA    BRANTLEY                     PA     90014275674
95912895191531   OSCAR        ONTIVEROS                    TX     75018958951
95914345881634   CHRIS        HANEY                        MO     29008153458
95915782141296   STEPHANIE    MEIER                        PA     90010617821
95916525793755   ANGELA       PETERS                       OH     64572795257
95918286381667   JON          DAUGHERTY                    MO     90002852863
95921746261945   OLANREWAJU   KUPOLUYI                     CA     46083377462
95922657493755   GINA         COOPER                       OH     90015326574
95923147371945   RESILETA     COOKE                        CO     90000481473
95925469291885   SHARON       LATIMORE                     OK     90010324692
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95926654755957   SHANE            HODSON                   CA     90002826547
95927675641296   LORI             HUMPHREY                 PA     51054496756
95933377877537   MAYRA            JACOBO                   NV     90013793778
95933595555923   ELVA             GUTIERREZ                CA     90007405955
95935354241296   DEBRAH           TRZECIAK                 PA     51005893542
95936289377537   PABLO            SANCHEZ                  NV     90014172893
95937284793755   ALEXIS           HENDERSON                OH     90005222847
95941179891531   NOEMI            DOMINGUEZ                TX     90008131798
95942187191399   ROSALINDA        CASTULO                  KS     29061481871
95942641691951   LAURI            MARTINEZ                 NC     90008866416
95942648391599   EDGAR ALEX       RUBIO                    TX     90012326483
95944398291399   TARESSA          SWYGERT                  KS     90014243982
95945245491399   MANUEL           CHAVEZ                   KS     90012262454
95945484491399   LONTISHA         TATE                     KS     90014284844
95946536891951   CAROL            STEWART                  NC     90013845368
95948838491531   MANUEL           ZUNIGA                   TX     90005598384
95953143961977   DULCE            SANCHEZ                  CA     90000181439
95954674561977   ARTURO           RAMOS                    CA     90011866745
95954837677537   NICOLAS          GONZALEZ                 NV     90012938376
95957787977537   PENDT            RUSSELL-SCOTT            NV     90011197879
95957987291951   VIOLA            MATTEWS                  NC     17075699872
95958417977537   ROBERTO          TORAL-RODRIGUEZ          NV     90012624179
95959753377537   SELENA           MARTINEZ                 NV     90014617533
95962442791951   DONTRISE         MALLOY                   NC     90002514427
95962449491531   XAVIER           CARRANZA                 TX     75061374494
95962814141296   CHRISTOPHE       MOULTHROP                PA     51084178141
95964587493755   MELISSA          STEWART                  OH     90006125874
95965374191599   MARY             JOHNSON                  TX     75050903741
95969749393755   ALBERT           WEBB                     OH     90008717493
95969864991599   JOSE             GUTIERREZ                TX     90006678649
95972169191599   DALIA            VILLALOBOS               TX     90014211691
95973341991599   ABEL             HERRERA                  TX     75063793419
95974955191531   VICTOR           QUIROZ                   TX     90004609551
95976353754172   JAMIE            COOPER                   OR     90010713537
95976459191951   MYRNA            WHITE                    NC     90007384591
95977852991531   TERESA           LOZANO                   TX     75095078529
95982695691399   GEORGE           PALOMARES                KS     90012876956
95982927791531   KARRIE           WELLS                    TX     90010719277
95984582391531   ROSA             CARDENAS                 TX     90015045823
95985643255951   HENRY            TARVIN                   CA     49000506432
95989189891599   TANIA            DIEGUEZ                  TX     90012771898
95991243191531   MELISSA          MUNOZ                    TX     90010602431
95995132841296   MARY             MBEWE                    PA     51093931328
95995544177537   ROD              ERICKSON                 NV     43030915441
95995717791531   GENARO           DELGADO                  TX     75010467177
95996621841296   GLORIA           TRAUD                    PA     51025726218
95997599291599   ASHLEY           HENDRIX                  TX     90005265992
95997877791531   HERREFRA         GUADALUPE                TX     75010468777
95998651741296   ROGER            JAMES                    PA     90001776517
96112129691521   CORINA           CHAVEZ                   TX     90014871296
96113315241296   NICK             GIESE                    PA     90012683152
96113479977537   JOELLE           COFFMAN                  NV     90008044799
96113821691826   KARA             MARTINEZ                 OK     90014308216
96113867291531   IDA              MACIAS                   TX     75022198672
96113917491399   JONATHAN         READY                    KS     90010189174
96113961797123   BATHSHEBA        CABALLERO                OR     90014989617
96114923597123   JAIME            PICKERING                OR     44021369235
96116267391531   JOSE             GARCIA                   TX     90014912673
96116557191599   PHIL             NELSON                   TX     75081895571
96117828991521   RAUL             GARDEA                   TX     75081078289
96118511955951   MARY             CLARK                    CA     49059385119
96118759391951   SASLEE           TABORN                   NC     90012157593
96119137391521   ALAN             SALAS                    TX     90014871373
96119479541296   ERIK             HANNOLD                  PA     51090444795
96119638391599   JORGE            GOMEZ                    TX     90015206383
96121973561499   ANTONIO          GALVAN                   OH     90012349735
96122399391521   PERLA            TORRES                   TX     90014863993
96123181891599   ALFREDO ISMAEL   ISMAEL MARCADO           TX     90004401818
96123457697123   BRENDA           JOHNSON                  OR     90004824576
96124132891531   CRYSTAL          RAMOS                    TX     90008711328
96124638391599   JORGE            GOMEZ                    TX     90015206383
96125394577537   JARED            WHITMORE                 NV     90001653945
96125961797123   BATHSHEBA        CABALLERO                OR     90014989617
96126841497123   ANITA            WHITE                    OR     44070748414
96127146291521   AMANDA           CASTILLO                 TX     90014871462
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96128118691951   ALLAN              JOYNER                 NC     90013941186
96128884291951   ARMANDO            GUZMAN                 NC     90008388842
96128884961977   MARIA DEL CARMEN   PENA                   CA     90011948849
96129147797123   TERRAANNE          PIPER                  OR     90013561477
96129613991399   KARLA              ACOSTA                 KS     90007746139
96131925555957   MARYANN            VARGAS                 CA     49019429255
96133213591599   BERTHA             GUEVARA                NM     90012322135
96134447591599   CRUZ               LEE                    TX     75013344475
96135746597123   ELISEO             GOMEZ                  OR     44062127465
96136942977537   MELVIN             KNIGHT                 NV     90012629429
96137763493755   AMBER              DEMMIS                 OH     90012837634
96138146291521   AMANDA             CASTILLO               TX     90014871462
96139146291521   AMANDA             CASTILLO               TX     90014871462
96141551791521   DENISSE            RIVERA                 TX     90007435517
96141643291951   LUCIO              CASTANEDA              NC     90014036432
96142471591399   TIFFANI            DIXON                  KS     90014774715
96142973891521   MANUELA            VALDEZ                 TX     90014419738
96145667391399   PEDRO              VASQUEZ                KS     90014496673
96147679777537   MARIO              CORELLA                NV     90000246797
96147881855951   ERYKA              PACHECO                CA     90009278818
96148638391599   JORGE              GOMEZ                  TX     90015206383
96148641793732   CHAD               STEVENS                OH     90003286417
96148687991521   ROSA               MORENO                 TX     75034406879
96149114493746   THOMAS             CZIKRA                 OH     64559091144
96149376993755   KIMBERLY           CATES                  OH     90014563769
96151228891951   ANGELA             NICHOLS                NC     90002482288
96152166193732   CARLY              MILLER                 OH     90003131661
96153598293755   AMANDA             ADKINS                 OH     90014015982
96153846991951   JAMES              BOND                   NC     90015228469
96154162891521   DESIREE            MONTANEZ               TX     90014871628
96155549892825   MIGUEL             AVILA                  AZ     90014185498
96155754397123   RICHARD            APODACA III            OR     90005297543
96157189291951   ESPERANZA          FLORES                 NC     90013941892
96157436684325   ALEJANDRA          GALLEGOS               SC     90001764366
96158249571933   KIP                KOEHLER                CO     90003182495
96158273197123   JUAN               ORDINOLA               OR     44010692731
96158289491521   ENRIQUE            DELAROSA               TX     75032002894
96158354191599   JORGE              RUIZ                   NM     90014943541
96159287761933   FADI               QAQO                   CA     90012492877
96161338955957   GARAN              BATES                  CA     49035403389
96163738197123   KATHLENE           NEAL                   OR     44076767381
96165291355951   ABEL               ALONSO                 CA     90010832913
96167488891599   JOSEPH             ARRIAGA                TX     90012704888
96167532991531   CAROLINA           ACOSTA                 TX     75084845329
96169647491599   ELIAZAR            PONCE                  TX     90009586474
96173476791531   JESUS              SANDOVAL               TX     90009564767
96173517897123   TREVOR             JAEGER                 OR     90011955178
96174653191531   EUNICE             DURAN                  TX     75093726531
96174658497123   ELIZABETH          BELTRAN                OR     90011426584
96176467291521   MARISOL            AGUILAR                TX     90010114672
96177988151342   CHERYL             FLICK                  OH     90004369881
96178581291599   ALEX               RAMOS                  TX     90003335812
96181948991599   RICKY              HARRIS                 TX     90013249489
96182498561558   KEVIN              THOMA                  TN     90006614985
96182814691521   MELISSA            ECHAVARRIA             TX     90013058146
96183338951342   DONNA M            HAMKER                 OH     90003903389
96184543691531   DINA               OZETA                  TX     75082825436
96187892191521   ENRIQUE            ESPINO                 TX     75044518921
96188477391521   IVETH              SERNA                  TX     90014414773
96189223591521   RICARDO            GARCIA                 TX     75087922235
96189584893738   ADRIAN             HARRELL                OH     90012425848
96189717231476   DANIELLE           SIMPSON                MO     27502137172
96189855561977   NICOLE             MIRANDA                CA     90012728555
96192158191521   PILAR              FLORES                 TX     90005611581
96192769455957   ANDREA             MOJICA                 CA     49091587694
96193382291951   SEAN               BANNISTER              NC     90010343822
96194585391521   JOSE               LEYVA                  TX     75059045853
96196873431952   LIZETH             GARCIA                 IA     90014038734
96197578821693   ADRIAN             ROBERTS                OH     90015235788
96198563991531   TREJO              GUILLERMO              TX     75081095639
96212247393755   JENNIFER           ARNETT                 OH     64528382473
96212413391951   CALVIN             PALMER                 NC     90014464133
96216679491521   EZEQUIEL           BARRAZA                TX     75035026794
96216885877537   CLARK              LUCAS                  NV     43014738858
96217882993755   TAYLOR             PINSON                 OH     90013208829
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96221995997123   SHEALYNN     GIBBONS                      OR     44057069959
96222411891526   NORBERTO     PEREYRA BARRON               TX     90012374118
96222976851391   KRISTINA     HARRIS                       OH     90012659768
96223715593732   MARY         PENDLETON                    OH     90014387155
96224781541296   DELETHIA     BUTLER                       PA     90005907815
96225454893755   EVON         HILL                         OH     64543864548
96225888291521   REBECCA      SOLIS                        TX     90013628882
96227365191521   ALICIA       COLTRANE                     TX     75097503651
96227438455951   BRYAN        PETERS                       CA     49006044384
96228655793755   TAMMY        GWIN                         OH     90003166557
96229477991399   JAMISON      GREIG                        KS     90010304779
96229873685834   EDGER        GONZALEZ                     CA     90003598736
96231223591521   RICARDO      GARCIA                       TX     75087922235
96231797697123   SSHARLENE    SAYER                        OR     90013627976
96232623691599   MARY         CALZADA                      TX     90013626236
96233419991531   MARIA        ARRENDONDO                   TX     90001894199
96233665341296   RENEE        GORDON                       PA     51014286653
96233696531459   JASON        REICHARDT                    MO     90006746965
96234126891951   WILLIAM      SANCHEZ                      NC     90007881268
96237871893732   SAAIBA       WASHINGTON                   OH     90007038718
96238778741296   MARY         HOLDEN                       PA     51059867787
96239353891531   REYNALDA     GARCIA                       TX     90014953538
96239379881652   JOHN         FRAZIER                      MO     90012683798
96241468997123   CORNELIO     LOPEZ DIAZ                   OR     44057044689
96241671877537   KYLE         MONK                         NV     90015206718
96243913761977   ARMANDO      RAMIREZ                      CA     90011159137
96243989355951   NATHANIEL    SMITH                        CA     49089049893
96244167741296   JAMIE        WOLOWSKI                     PA     90015051677
96244482991399   ANIBAL       LAZCANO                      KS     90014774829
96245729791521   ALEJANDRO    RODRIGUEZ                    TX     90007267297
96246465891599   ALLISON      SOLIS                        TX     90012154658
96248511391521   JAIME        GUERRA                       TX     90006695113
96249613291531   ERNESTO      GONZALEZ                     TX     75095676132
96249621791521   MANUEL       MARES                        TX     90004186217
96249677941296   DARRELL      OAKS                         PA     90014816779
96252554961977   MALESIA      HERNANDEZ                    CA     90004175549
96252652255957   DANIEL       CAMPOS                       CA     90013096522
96252668791399   CRITY        NUNN                         KS     90010036687
96253262677521   TYRONE       ALLEN                        NV     90012982626
96255532381669   STEPHANIE    MOHAMED                      MO     29002735323
96258492597123   JOSHUA       HAMILTON                     OR     90013784925
96259133451342   ADAM         MORGAN                       OH     66032241334
96259262991531   MARIBEL      URDAIBAY                     NM     75018772629
96259524391399   EMILY        GAMMILL                      KS     90013485243
96261338291399   MARISELA     GALVAN                       KS     90009893382
96262182991531   FABIOLA      ROBLES                       TX     90011471829
96262587541296   COURTNEY     COLLINS                      PA     90013155875
96264634591951   QUINTISHA    SHERARD                      NC     90010696345
96265731591521   RAUL         LOPEZ                        TX     75090047315
96266191791531   EDUARDO      MATA                         TX     90013611917
96266549961977   VERONICA     TORRES                       CA     90005565499
96266619491521   JUAN         CAMACHO                      TX     75033266194
96267493491951   NICOLE       SMITH                        NC     90010694934
96267615641296   HALEY        GEMMA                        PA     90010606156
96267616461977   ROBERT       GARCIA                       CA     90011536164
96268563991531   TREJO        GUILLERMO                    TX     75081095639
96269223291521   ARMANDO      CALDERON                     TX     90005532232
96269928497123   THERESA      VELASCO                      OR     90001279284
96271445271949   LELAND       MASCARENAS                   CO     90008254452
96271488991599   GABRIELA     AVILA                        TX     90013914889
96273526991532   ROXANA       CORTEZ                       TX     90009725269
96274487691531   LORENZA      AGUILAR                      TX     75011434876
96274723597123   PERLA        VALERIA                      OR     90013557235
96274998991399   RICARDO      MARTINEZ                     KS     90012379989
96275767841296   NIGEL        MORALEZ                      PA     90011487678
96276332891399   BRENDA       GONZALEZ                     KS     90013683328
96276342491951   JUDITH       DISNEY                       NC     90010833424
96279631497123   P HAUTH      KURT                         OR     90003066314
96286153591399   ROSALBA      VALENCIA-MENDOZA             KS     90014161535
96286181893732   AMANDA       SHUTTS                       OH     90010871818
96287252261977   IVETTE       MARSHALL                     CA     90012492522
96288889391951   EDRICKA      GOGGANS                      NC     17093758893
96289214991531   ROSA         SALINAS                      TX     75012922149
96291475791531   RAUL         ONTIVEROS                    TX     75032114757
96292159957126   ELIZABETH    QUEZADA                      VA     90005551599
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96292798391531   SUSANA       FRANCO                       TX     90007617983
96292832377537   DEBRA        CLEMENT                      NV     43089498323
96294224591951   FELIPE       GONZALEZ                     NC     90006202245
96298885655957   ANGELO       GOROS                        CA     90012548856
96299992791399   CARRIE       REEVES                       KS     90000549927
96311162491399   NORMA        ROBLES                       KS     90014161624
96312162491399   NORMA        ROBLES                       KS     90014161624
96312452561977   DAVID        FERNANDES                    CA     90014034525
96312534991951   FLETCHER     NORWOOD                      NC     17079875349
96312851391521   GUADALUPE    CASTAÑEDA                    TX     75004098513
96313582891521   GONZALO      VARILLAS                     TX     90010115828
96313772891955   THOMAS       ALLEN                        NC     90014317728
96313779277537   JOSE         MACIAS HERNANDEZ             NV     90013887792
96314252291951   ISAAC        MIGUEL                       NC     90015152522
96314334531651   DANNY        HENDERSON                    KS     90008183345
96315258891951   JESSICA      SMITH                        NC     90012192588
96315795291399   JUAN         BELLO                        KS     90011787952
96316148477537   JOSE         ANTONIO                      NV     43077801484
96317128255957   PAUL         HENTZ                        CA     90008991282
96318552191399   DANIEL       BRACK                        KS     90013075521
96319432861558   PAYGO        IVR ACTIVATION               TN     90015064328
96319821261977   CHRISTINA    OROPEZA                      CA     46009688212
96321145855957   JUDY         FERNANDEZ                    CA     49004421458
96321417997123   CARLOS       GONZALEZ                     OR     90014554179
96321648791599   GUADALUPE    VASQUEZ                      TX     90012986487
96323618497123   SARAH        GOEBEL                       OR     90014336184
96324454951342   DAVID        JENKINS                      OH     66067934549
96325414481676   CASHAUNA     KIRBY                        MO     29014304144
96327574497123   ANA          QUINTERO NUNEZ               OR     90013865744
96327677391951   ALMA         GOMEZ                        NC     17005836773
96328337577537   GAYLE        BAILEY                       NV     43056533375
96333952391399   ELISA        SUAREZ                       KS     90012499523
96334586291951   GILMORE      DEJUAN                       NC     17041945862
96335216961956   KIMBERLY     EDMONDS                      CA     90003922169
96335585141296   HARRY        NICHOLSON JR                 PA     51063265851
96337818391521   LAZARA       RODRIGUEZ                    TX     90014888183
96338124561977   MELANIE      CAMACHO                      CA     90014401245
96338136691399   VICTOR       ORTIZ                        KS     29057041366
96338643591521   SIMON        ROBLES                       TX     75034806435
96339647477537   CHRIS        STREITLER                    NV     90014816474
96339816155951   AQUINA       BAULKMAN                     CA     90011238161
96341367691531   ROBERTO      LOPEZ                        TX     75012923676
96341733297123   LYDIA        PARKS                        OR     44050437332
96343648277537   BRANDON      BONIFACE                     NV     90015156482
96345744891531   PATRCIA      FLORES                       TX     90001977448
96346173451342   DUANE        BAUGHN                       OH     66050411734
96349231391966   MARCELLIN    MODGE SR                     NC     90004502313
96352564291531   ROCIO        ALVARADO                     TX     75022715642
96352674855957   DAVID        GARFIAS                      CA     90013486748
96355627893755   KENDRA       BASIL                        OH     90011146278
96356135991521   MARINA       JARA                         TX     90014881359
96356438393755   KADESHA      MARTIN                       OH     90014564383
96356581741296   TENEKA       JONES                        PA     90014135817
96357377961928   AARON        RADECKI                      CA     90011983779
96359617755957   YANG         KOUA                         CA     90009766177
96359667251342   JEFF         HUNT                         OH     90004216672
96359945193755   SAM          MELGOZA                      OH     90013759451
96363474191531   JANET        RAMIREZ                      TX     90010944741
96364267491399   ANNA         GARCIA                       KS     29085832674
96364651477537   JAYSEN       PATTERSON                    NV     90015286514
96366472193732   MARCELO      PINOS                        OH     64516354721
96367211393755   NOAH         BOYD                         OH     90010682113
96367219191843   CURTIS       HARRISON                     OK     90009342191
96367452191399   KENDRA       COKS                         KS     90013154521
96367599291531   ASHLEY       HENDRIX                      TX     90005265992
96367641955957   AIOTEST1     DONOTTOUCH                   CA     90015116419
96368919341296   VALERIE      QUINN                        PA     51001579193
96368934377537   DEANNA       DURLER                       NV     90008359343
96369461193732   GREGORY      BROWN                        OH     64549954611
96369838491531   MANUEL       ZUNIGA                       TX     90005598384
96371119793782   ALBERT       BIRT                         OH     90002521197
96371364997123   PATRICIA     JOHNSON                      OR     90009533649
96372583991531   VICTOR       GONZALEZ                     TX     75022715839
96373228391936   JAVIER       ZAPATA                       NC     17029362283
96373445841296   HOWARD       RAMEY                        PA     90009274458
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96374225151337   KAREN            DAVIS                    OH     90013882251
96375378631469   YOLANDA          GALVIN                   MO     90013163786
96375539197123   GUADALUPE        ZENDEJAS                 OR     90008575391
96377226761977   ARMANDO          GOMEZ                    CA     46092852267
96377819291399   CHRISTOPHER      SPEAR                    KS     90010018192
96378458955957   LENORE           DE ALBA                  CA     49036084589
96378688291399   CRISTIAN         SOLANO                   KS     29049866882
96378831191521   GLORIA           OCHOA                    TX     90005208311
96379491455951   ERIKA            LIMON                    CA     49090504914
96382129991531   MIA              AMORE                    TX     90007901299
96382549757124   JOSE             MARTEL                   VA     90009895497
96382579897123   ERIKA            MUNOZ                    OR     90007195798
96383393797123   KEVIN            WILLIAMS                 OR     90012333937
96383843151328   NATHAN           ASBURY                   OH     66089258431
96385656355957   CHRISTIAN        HURTADO                  CA     49082836563
96388554955951   ALBERT           OCHOA                    CA     49073225549
96388923191599   JESUS            PANTOJA                  TX     90015119231
96389641691554   WILLIAM          VALITIERRA               TX     75056466416
96391725891399   TIMESHA          SMITH                    KS     90014517258
96393215855951   IGNACIO          MORALES                  CA     49087042158
96393218955957   IRMA             REAL                     CA     49015652189
96393918891951   DARREN           TAYLOR                   NC     90008269188
96394459597123   KRISTEN          WINGFIELD                OR     90013294595
96394789893732   SHERITA          EARLEY                   OH     64544857898
96396481391599   AVILA DE RUBIO   LEONILA                  TX     90010774813
96397197841296   DAVID            KELCHNER                 PA     90014921978
96397593977537   TALATALA         POOI                     NV     90014595939
96411546691399   MIGUEL           VILLAREAL                MO     90008205466
96414859177537   STEVE            ARAGON                   NV     90014088591
96415513377537   JENNIFER         HUBLER                   NV     90014815133
96416387755957   MICHELLE         FARIAS FERREL            CA     90012383877
96418116991599   CLARA            GUTIERREZ                TX     90011481169
96418983997123   LARRY            RIGGS                    OR     44071729839
96421914961988   LUKE             KENNISON                 CA     90011919149
96421969197123   JARED            EMRY                     OR     90014339691
96422867561977   KARLA            ZAMORA                   CA     46012188675
96423537391951   KAILEN           KIDWELL                  NC     17000475373
96423966877537   FRANK            MENDEZ                   NV     90013519668
96426161991521   JESUS            HINOJOS                  TX     90014881619
96429787291521   RAMON            GONZALEZ                 NM     90008767872
96429911691531   EMMA             LEDEZMA                  TX     90014929116
96431488891399   KIRKPATRICK      DAVID                    KS     90012054888
96431517177537   FILIMON          CASTILLO                 NV     43011015171
96431598861977   SHANNON L        ADAMS                    CA     90011135988
96432295355957   DAVID            VALDEZ                   CA     90008962953
96432315191951   MARTHA           CRUZ                     NC     90011163151
96432318291599   BRITTNEY         BUELL                    TX     90014273182
96432787791521   MANNY            VALLES                   TX     90012247877
96432917597123   SILVIA           HERNANDEZ                OR     90012129175
96433122691599   DESTINY          HERNANDEZ                TX     90012321226
96433546691521   CARMEN           CASTANON                 TX     75090055466
96436919891531   ORALIA           VEGA                     TX     75069479198
96436977751396   CYNTHIA          DANIEL                   OH     66032359777
96438922793732   KELSEY           CLEMONS                  OH     90003299227
96439191761977   MIGUEL           DUARTE                   CA     90012211917
96439294793755   STEFANIE         BEVARD                   OH     90008772947
96442712491951   GREGORIO         RESENDIC                 NC     90013947124
96442797955957   STEPHANIE        DELGADO                  CA     90012507979
96442987991599   CARREON          GUILLERMO                TX     90011609879
96443575797123   ANGELA           BROWN                    OR     44071165757
96443694777537   RANDY            SANTIAGO                 NV     90012116947
96444438755951   MORGAN           SMITH                    CA     90000764387
96445152793755   STEVEN           BLACK                    OH     90009901527
96445859791531   DIANA            CHESNUTT                 TX     90005598597
96447615291531   REYNA            NAVA                     TX     90014436152
96448534591399   VANESSA          GARCIA                   KS     90007845345
96449271991399   LISA             GROVES                   KS     90008732719
96449273897123   JAIME            RUIZ RANGEL              OR     90011472738
96452964361977   DOMANIC          JEFFERSON                CA     90009919643
96454542591399   LANCE            MCNACK                   KS     90011005425
96454666551383   WILLIAM E        RHODEN                   OH     90008636665
96455233655957   FELIMON          MENDOZA                  CA     90014572336
96455265391951   KELLEY           HILL                     NC     90010912653
96455331133623   FELECIA          BRADLEY                  NC     90013153311
96455358191599   ROSA             MARQUEZ                  TX     75005843581
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96455698241296   RAYMOND      SUSANI                       PA     51095226982
96456435591531   RICARDO      SALAZAR                      TX     75096144355
96456757391521   GUADALUPE    ARAIZA                       TX     90013947573
96456866193732   DAVID        JONES                        OH     64558818661
96457375391521   CESAR        CARDONA                      TX     75097953753
96458266991531   DAVID        GUILLEN                      TX     75073422669
96458652941296   JASON        SPARTE                       PA     90010196529
96459196491599   DAMON        BRAZLE                       TX     90014291964
96459598861977   SHANNON L    ADAMS                        CA     90011135988
96463583191599   ARACELI      ONTIVEROS                    TX     75058555831
96464338191531   ELISA        PEREZ                        TX     90001593381
96464379491399   ALEJANDRO    CHAVARRIA                    KS     29030543794
96467277951342   WYATT        STEWART                      OH     66098422779
96468578777537   CEDRIC       HAMILTON                     NV     90014715787
96472628493732   LUCAS        BURGESS                      OH     90005836284
96475143477537   LEROY        HOLLING                      NV     90011261434
96475923591399   EDDIE        SCOVER                       KS     90010479235
96476891541296   MATTHEW      JAMES                        PA     90010838915
96478198991521   MAYRA        RAMIREZ                      TX     90014881989
96478591691554   MARIA        MADRID                       TX     75098505916
96479832791521   JUAN         RAMIREZ                      TX     90014888327
96479941791531   SAUL         RODRIGUEZ                    TX     90014929417
96482572891521   JOSEFINA     TREJO                        TX     90006085728
96482679851342   TONYA        SINGLETON                    OH     90008326798
96482725941296   BIRGIL       MCCLENDON                    PA     90010017259
96485163693755   MERCEDES     GLOVER                       OH     90009341636
96487488191399   ALLISON      JONES                        KS     90013154881
96487523251338   MELISSA K    JASPER                       OH     90001085232
96487989285969   ADAN         VARAJAS                      KY     90013929892
96489235155957   MOLIDY       OEUNG                        CA     90011142351
96489851861977   JASON        CAMPBELL                     CA     90011188518
96493872955951   UBALDO       RODRIGUEZ                    CA     90011158729
96494642155951   LUDI         ALVAREZ                      CA     49064846421
96496155391599   FLORENCIO    IBARRA JR                    TX     90010831553
96497395677537   DORA         VALENZUELA                   NV     90009473956
96497792691399   BRAIND       BASKIN                       KS     90007497926
96497839377537   CHRISTIAN    TORRES                       NV     90013888393
96498357851337   BILL         MILLER                       OH     90001513578
96498863477537   MICHAEL      ANDRADE                      NV     90012048634
96498919891521   ROBERTO      LUCERO                       TX     75005059198
96499833593755   SHAMEIKA     SEALS                        OH     90014788335
96499915192825   LEO          FIERRO                       AZ     90014249151
96512251191599   DORA         ROJAS                        TX     90011542511
96513186191599   GUS          RAMIREZ                      TX     90010981861
96513927891531   LORENZO      ALVARADO                     TX     90014929278
96513955791531   RALPH        MUNOZ                        TX     90014949557
96514115793732   MCDANIEL     TERRY                        OH     64583821157
96516247577537   JO           SWEETEN                      NV     90000252475
96516475191531   MIRNA        CARAVEO                      TX     90011534751
96519358591951   JOHNETTE     HENRY                        NC     17093613585
96522117891521   JOSE         MENDOZA                      TX     90008511178
96522143991599   ALLYSTER     CENA                         TX     75068861439
96523593891599   SIRIA        PURCELL                      TX     90005645938
96524214591521   SANDY        QUINTANILLA                  NM     90014882145
96527329791521   SOFIA        ROJAS                        TX     90010523297
96528269891521   RAUL         PENA                         TX     75007292698
96528664655957   NICK         PRIAULX                      CA     90013096646
96529621461945   JOSEPH C     GRIENENBERGER                CA     46064496214
96529711391399   ROBYN        HICKS                        MO     90013357113
96529724791399   JAZZLYNN     WEST                         KS     90015197247
96529777891951   ANA          ESPERANZA                    NC     90014917778
96532269891521   RAUL         PENA                         TX     75007292698
96533222491521   RUBY         MARTINEZ                     TX     90014882224
96535848177537   BENJAMIN     HARRISON                     NV     90014678481
96537564277537   DERRICK      JORY                         NV     43080445642
96538532857122   KONSTANTIN   MORRIS                       VA     90007925328
96539133355957   BRYAN        TIERCE                       CA     90012851333
96539556455985   MARIA        RIVERA                       CA     90009845564
96539572391399   ISHA         TERRY                        KS     90014695723
96543953691599   JESUS        CASTORENA                    NM     75014809536
96544585251342   ROBERT       DUNCAN                       OH     66010525852
96545126591531   ADRIANA      RAMIREZ                      TX     90013101265
96545465441296   MICHELLE     HERDER                       PA     51010024654
96545984997123   GUSTAVO      CORIA                        OR     44083769849
96546134441296   MICHAEL      POUCH                        PA     90013191344
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96546353255957   ROGERS        CHRISTOPHER                 CA     49096073532
96546785291521   CARLOS        VILLA                       NM     90011597852
96548269791399   MARIA         GUTIERREZ                   KS     90015242697
96549161591521   MARIA         CARDENA                     TX     90011721615
96551834691531   MARTHA        ARAGON                      TX     90010988346
96552123293726   DONALD        BROWN                       OH     64554471232
96554538577537   DESIREE       SILVANI                     NV     90002315385
96554739291531   ARECELI       RIVERA                      TX     75037877392
96555187497123   VALERIE       M DENNIS                    OR     90005021874
96555585393755   ANGEL         BARBECHO                    OH     90012885853
96555783961977   ELIZA         EDELMA                      CA     90004187839
96557124291599   LORENZO       BARRINGTON-ROWE             TX     90011001242
96557227641296   DOROTHEA      MABINS                      PA     90009822276
96557367493755   TYNEQUA       HOSKINS                     OH     90010653674
96559185191599   JACKLYN       HERNANDEZ                   TX     75063851851
96559252493755   JACK          KIRKLAND                    OH     64519572524
96561255597123   DEIDRE        ANDERSON                    OR     90012852555
96562777891531   FRANCISCO     ACOSTA                      TX     90014937778
96564116277537   CARMEN        HERNANDEZ                   NV     90009481162
96564423497123   OPTEN         TIMOTHY                     OR     90014744234
96565486851342   MATT          SEXTON                      OH     66019544868
96565566293755   STEVEN        LAWRENCE                    OH     90008715662
96566515861977   JOSHUA        MCGUIRE                     CA     46046005158
96568566597123   LIBEL         GARY                        OR     90005315665
96572113191399   WANDA         HARRIS                      KS     90015091131
96572256177537   CRYSTAL       COOK                        NV     90012852561
96573376293786   MICHELE       ELLIS                       OH     64583073762
96573662461977   ERIC          MARTINEZ                    CA     90001946624
96576529991521   ELIZABETH     HERNANDEZ                   TX     90010655299
96584974951342   BRIAN         JOHNSON                     OH     90005539749
96585783591531   ISELA         ARANDA                      TX     90014937835
96585785293755   TIFFANY       HUDSON                      OH     64514757852
96585874451342   ROBERT        PHILPOT                     OH     66022048744
96587294261977   LINDA MARIE   HENDERSON                   CA     90005242942
96587997351342   MARIO         MIDOZA                      OH     90000169973
96589446791531   RACHEL        WARNER                      TX     90006014467
96589496391399   ANGELA        BEARD                       MO     29011094963
96589874451342   ROBERT        PHILPOT                     OH     66022048744
96591426963621   SHAWN         DEGRASSO                    MO     90007114269
96592786591531   IRMA          GARCIA                      TX     90014937865
96594232761977   GEOVANNI      LEEPER                      CA     90006942327
96595971191599   CLAUDIA       MORALES                     TX     90010709711
96596357891951   APRIL         WILKINS                     NC     90012603578
96596546961977   AURELIA       WALLER                      CA     90012455469
96596838955957   GRACIELA      BAUTISTA                    CA     90013178389
96597235355957   FRANCISCO     GARCIA                      CA     49042152353
96597436391399   LISA          JEPSEN                      KS     90013664363
96597931771965   SHERWYN       MORREALE                    CO     90006149317
96599462593755   BASIMAH       SHALASH                     KY     90013924625
96611794891531   FRANCISCO     RANGEL                      TX     90014937948
96612486491521   DONALDS       EROLLS                      TX     90010524864
96612857841296   MELVIN        CROWNE                      PA     90012758578
96612979693746   CARMEL        NORRIS                      OH     64584239796
96614838591951   GABRIEL       MARQUEZ                     NC     90009928385
96616799593732   NICHOLE       WATSON                      OH     64573207995
96617933993732   CODEY         YATES                       OH     90001709339
96618556291521   ROBERT        GARCIA                      TX     90008685562
96619966291951   BRANDON       DANIEL                      NC     90015229662
96621388791951   MARISOL       SALAZAR                     NC     90013953887
96621886255951   BERNARDO      YBARRA                      CA     90000118862
96623165397123   CHRISTINA     KELLEY                      OR     90011261653
96623429533698   MARY          PIGG                        NC     12005044295
96623455341296   MATTHEW       NELSON                      PA     90013434553
96623478491399   NANCY         KHATCHADOURIAN              KS     90013664784
96625558351342   MARGIE        WARREN                      OH     90005075583
96625688191521   JESSE         DELGADO                     TX     90011526881
96625915497123   STEVE         SMITH                       OR     90004959154
96626126693755   AARON         ELAHAB                      OH     90000661266
96626248491951   PEDRO         ANTONIO                     NC     90014752484
96627454891951   ASHLEY        CASE                        NC     90009884548
96627851555951   KAREN         WEST                        CA     90002238515
96627929691521   FABIAN        AVILA                       TX     90014889296
96628515161982   BERTHA        ALFARO                      CA     90014895151
96629427791521   JESSE         ROSALES                     TX     75053684277
96629754261977   VANESSA       SANDOVAL                    CA     46086227542
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96632418241296   KREED        TODD                         PA     90014544182
96632761577537   IAN          KIRKPATRICK                  NV     90013087615
96632969991531   MARIA        GARCIA                       TX     75080409699
96636936993732   TIARRA       HILL                         OH     64594869369
96637423391521   EVELYN       LOPEZ                        NM     75094234233
96638718461977   MARA         NUNEZ                        CA     90011117184
96641417591521   EZEQUIEL     CHAVEZ                       TX     75076334175
96641516991599   DIANA        ORTEGA                       TX     90014175169
96642297977537   SERINA       BROWN                        NV     43068012979
96642297991531   GILBERTO     ORTIZ                        TX     75095692979
96642546491521   STEPHANIE    COVARRUBIAS                  TX     90010525464
96643884491888   BRENDA       RODRIGUEZ                    OK     90009018844
96644113155957   MARIELA      RODRIGUEZ                    CA     49071371131
96644745991951   ISMAEL       GREGORIO-MONTES              NC     90013527459
96644949361977   DAVID        MELING                       CA     90011679493
96646943191599   MICHELLE     GARCIA                       TX     75004689431
96647298861977   MARJORIE     LOPEZ                        CA     90013832988
96647491391951   LORENA       BOYZO                        NC     90006824913
96648218355957   NICKIE       VENEGAS                      CA     90009012183
96649856191531   GUADALUPE    JAQUEZ                       TX     90008458561
96651946491521   CHARLES      BIRHANZEL                    TX     90014889464
96653158961977   BRENDA       VELEZ                        CA     90013211589
96655371591551   RACHEL       RODRIGUEZ                    TX     90012913715
96656338191521   ELVIA        CARRILLO                     TX     75078833381
96656869391599   PATRICIA     CANO                         TX     75057378693
96658759361977   ANDRES       MARTINEZ                     CA     90011587593
96658947391531   MELISSA      CAMARENA                     TX     75041689473
96658987391521   ALONSO       DELGADO                      TX     75016269873
96661182991521   KRISSY       SHAW                         TX     90001771829
96663266861977   TAMMY        MOORE                        CA     90013052668
96663981291521   SERGIO       GONZALEZ                     TX     90014889812
96664345891531   MARIA        VASQUES                      TX     75090003458
96667674951342   SLIMANI      MAJDA                        OH     90008686749
96667855191531   STANLEY      AGUIRRE                      TX     90014938551
96667992291521   DANIEL       CHAVIRA                      TX     90014889922
96668345891531   MARIA        VASQUES                      TX     75090003458
96668455893755   CHARLES      HARDEN                       OH     64547034558
96668992891521   GLORIA       SANCHEZ                      TX     90014889928
96669889671928   MARISOL      STEWART                      CO     90010928896
96669992891521   GLORIA       SANCHEZ                      TX     90014889928
96671319855951   RICHARD      AMEZCUA                      CA     90010833198
96671992891521   GLORIA       SANCHEZ                      TX     90014889928
96672443633625   ALAN         HALL                         NC     90010984436
96672974561977   JOSEPH       HALL                         CA     46076519745
96673668791951   NOEMI        SOTO                         NC     90014066687
96677345891531   MARIA        VASQUES                      TX     75090003458
96678773561977   JOSE         SALMERON                     CA     90012677735
96679185831435   JAMICE       ROBERTS                      MO     90001701858
96679818841296   ARTHUR       GROSS                        PA     90015328188
96681945193755   SAM          MELGOZA                      OH     90013759451
96683158551342   STEPHANIE    KREINER                      OH     90007811585
96683929791951   TAWANDA      MCMILLAN                     NC     90003569297
96684536691599   RYAN         LEURQUIN                     TX     90005115366
96685651491951   MARLON       MEDINA                       NC     90012046514
96686564141296   BONITA       WATKINS                      PA     51054745641
96687451441296   TAMMY        WALDSCHMIDT                  PA     51041424514
96687885991599   GILBERT      SANDOVAL                     TX     90015088859
96688817791531   LUIS         BUENO                        TX     90013138177
96689517691399   AMY          LEWIS                        KS     90009565176
96691915291599   FERNANDO     RODRIGUEZ                    TX     90013649152
96692996291599   VICTOR       ALVARADO                     TX     75053269962
96693877391531   ROBERTO      HERRERA                      TX     90002198773
96696624291531   CRYSTAL      LOPEZ                        TX     90011356242
96698615691884   JUSTIN       DETAR                        OK     90014686156
96698713161973   ERICA        JAUREGUI                     CA     90007587131
96699925293755   PARIS        CULPEPPER                    OH     90014759252
96711564361977   PATTY        HERNANDEZ                    CA     46018185643
96712158191521   PILAR        FLORES                       TX     90005611581
96712966541296   SHEILA       RAY                          PA     51097439665
96713281991599   TONY         RUIZ                         TX     90014052819
96714159491399   DAVID        NEGRETE                      KS     90006571594
96715149597123   BRADLEY      HEILMAN                      OR     90003521495
96722319451342   AHYDE        ARIAS                        OH     66006493194
96722439791531   LUCINA       FACIO                        TX     90012724397
96723367755951   ALISA        LEE                          CA     90009283677
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96723759161977   ANA           INIGUEZ                     CA     90011117591
96724188761977   FRANK         PRADO                       CA     90013521887
96726116393755   STEVEN        CORBITT                     OH     90012321163
96727343493723   HEATHER       MILLER                      OH     90004123434
96728881791599   HORTENCIA     ORDONEZ                     NM     75032778817
96728936955957   WAYNE         VERDUGO                     CA     90011129369
96729827797123   KEN           EARL                        OR     90011168277
96729975891599   ROSA          VALDIVIEZO                  TX     90010649758
96731279555951   GABRIELA      SOSA                        CA     49089452795
96731864193732   ELLA          ROBINSON                    OH     64516498641
96732695141296   RICHARD       ROCCO                       PA     90010906951
96733476377537   MARIA         NUNO                        NV     90015144763
96733837591599   OSVALDO       PONCE                       TX     90013438375
96734739455951   KENNETH       COLLINS                     CA     90010897394
96736247141296   TRACEY        COTTOM                      PA     51007012471
96737592491521   VERONICA      GALARZA                     TX     90001235924
96739688491521   JENNIFER      GONZALEZ                    TX     90010526884
96739957697123   ANDRES        SANCHEZ GARCIA              OR     44041609576
96741135991521   MARTHA        EGURE                       TX     90009751359
96741519297123   RACHAEL       WALSH                       OR     90013365192
96742625371933   STEFANIE      MARTINEZ                    CO     32001766253
96743733797123   HECTOR        LOYA                        OR     90004917337
96743818155957   CLEMENTE      MUNOZ                       CA     49080278181
96745355691399   DORTHA        MEIER                       KS     29000153556
96747262241296   ERICA         JENNINGS                    PA     90012612622
96747399277537   NESTOR        EZPINO                      NV     90012733992
96748298955951   FAITH         RAMIREZ                     CA     49000822989
96748381791599   HERNANDES     JAMES ALEXANDER             TX     90013093817
96748817255957   FRANCISCA     HERNADEZ                    CA     90000118172
96749716761977   CHISTINE      BRADBERRY                   CA     90013687167
96753494861977   SARAH         MARTINEZ                    CA     90003884948
96754955177537   JACQUELINE    SYKES                       NV     43003839551
96754961797123   MAYRA         RANGEL                      OR     90011439617
96755178291599   DENISSE       ANDREW                      TX     75050261782
96756143391599   HECTOR        LOPEZ                       TX     90006121433
96758829697123   SOCORRO       FLORES                      OR     90014728296
96764231693732   CODY          JONES                       OH     64551412316
96764558291951   ALBERTA       CANSECO                     NC     90010775582
96764689161982   MOHAMED       MADOW                       CA     46013616891
96767885191599   PRISCILLA     BARRAZA                     TX     75013178851
96768226741296   JOSEPH        SUPINSKY                    PA     90014682267
96769129591599   ADRIANA       HERNANDEZ                   TX     90000551295
96771617791599   NORMA         ZUNIGA                      TX     75080956177
96774799197123   SARAH         BRAY                        OR     90011937991
96776646591531   JUAN          GARCIA                      TX     90014156465
96777165191521   MAYRA         PARRA                       TX     90005121651
96777645991399   ANGELICA      DAMIAN                      KS     90013906459
96778211784325   CHRISSY       BRYANT                      SC     90007582117
96778829241296   KIETH         ARGENAS                     PA     90014898292
96779587297123   DELOYA        HEYSEN                      OR     44013845872
96782469393732   PRESTIGE      ENTERTAINMENT               OH     64543364693
96782617997123   VIRGIL        KIRKLAND                    OR     90010396179
96783895355951   ROASLYN       MSADOQUES                   CA     90001638953
96783947897123   SHERRI        DURBIN                      OR     90014959478
96784263955951   CAROLINA      MONROY                      CA     90011572639
96784577893755   JERMAINE      LEWIS                       OH     90014155778
96784895341296   ROBERT        GRAY                        PA     51001048953
96785769897123   CATRINA       MORTON                      OR     44096147698
96786949791531   LISETTE       MCCOY                       TX     75013209497
96786991855957   MARIA         ARANJO                      CA     90014839918
96787816791599   JOSE          AGUIRRE                     TX     90011188167
96791129591599   ADRIANA       HERNANDEZ                   TX     90000551295
96792756991599   BRENDA        TORRES                      TX     75030367569
96794391861977   JULIO CESAR   BARRON                      CA     90014363918
96796531691521   CARLOS        MEDELLIN                    TX     90014145316
96797531691521   CARLOS        MEDELLIN                    TX     90014145316
96797693491399   CODY          WILLIAMS                    KS     90001256934
96797892993755   ANTHONY       HIBBITT                     OH     90009938929
96798963633641   KATONDRA      WILSON                      NC     90013759636
96799479991951   JUAN CARLOS   GONZALEZ                    NC     90011874799
96799849791521   CLAUDIA       RODRIGUEZ                   NM     75064078497
96811425891951   SYDNEY        GONGS                       NC     90013084258
96811984261977   JULISSA       LUQUIN                      CA     90012689842
96815385277537   RANDY         SUBILLAGA                   NV     90014253852
96816587597123   OLIVIA        LUNDIN                      OR     90009815875
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96817785191599   ERNESTO          ROMERO                   TX     75054677851
96822877291531   CARMEN           NAVARRETTE               TX     90014968772
96822881397123   MARCIA           VAN WORMER               OR     44090078813
96823627997123   LUWANA           SMITH                    OR     90010396279
96824115161977   PATTY            BOULDER                  CA     46063321151
96824943497123   TRICIA           COLEMAN                  OR     44075619434
96826914791399   ALEJANDRA        SANCHEZ                  KS     90014229147
96828147993755   MARY             MACK                     OH     90014991479
96831864491399   CHRISTOPHER      LUNA                     KS     90013868644
96832698161982   GUILLERMO        CORONA                   CA     46002756981
96833323291399   ROBBIE           DUNCAN                   KS     90013843232
96834129277537   MICHAEL          SLATE                    NV     90015121292
96835466951342   ANTONY           CATLIN                   OH     66042934669
96835731351328   WILLIAM          STALLWORTH               OH     90014527313
96836713191531   RICARDO          FLORES                   NM     90010227131
96838759591531   ENRIQUE          MARTINEZ                 TX     75095637595
96838779591399   DAMIAN MICHAEL   FERGUSION                MO     90009877795
96838789293755   DENNIS           COATNEY                  OH     64544187892
96839262755957   ADELINA          RIMARI                   CA     90003942627
96839359871945   LAKEISHIA        LIVINGSTON               CO     90010393598
96841149155957   DEMAR            DUNCAN                   CA     90012521491
96842771855957   JUAN             PEREZ                    CA     90008537718
96848839191951   MARCO            BANEGAS                  NC     90014178391
96849438255957   CONSTANTINO      GARCIA                   CA     90013794382
96851175277537   GINA             CABELLO                  NV     90014341752
96851294533641   JELISSA          THOMAS                   NC     90012792945
96852837491951   ANDRES           PEREZ                    NC     90008988374
96854128291599   MARISSA          HERNANDEZ                TX     90008081282
96855386391579   JOSE             CALDERA                  TX     90010853863
96856358293755   TARRAH           WRIGHT                   OH     90014983582
96856734791399   JASON            LEWIS                    KS     29013807347
96858111291521   JAVIER           MARTINEZ                 TX     90010631112
96858176293732   JAMES            WRIGHT JR                OH     64519951762
96858467331465   LARHONDA         REID                     MO     90001454673
96858937377537   LUIS             ZARAGOZA                 NV     90011269373
96861256177537   JOSE             ARIAS-VILLA              NV     90011902561
96863128791531   POLO             LOYA                     TX     75069051287
96864254597123   MISTY            LEVANCY                  OR     44055622545
96869386555957   VANESSA          GONZALEZ                 CA     90014843865
96869536291599   VICTOR           BELTRAN                  TX     90001445362
96872944161977   ROGER            HARRIS                   CA     90001969441
96873573591599   PABLO            RAMOS                    TX     75045985735
96874887291399   MARIA DE JESUS   GOMEZ                    KS     90015168872
96875118991521   BIANCA           ALANIZ                   TX     90010631189
96875821151342   CHARLES          ROSS                     OH     66056608211
96875866661982   FRED             MOORE                    CA     90008138666
96877991557183   MUNA             MOHAMMED                 VA     81086669915
96878693191951   MICHELLE         GUZMAN                   NC     90014936931
96878718577537   CLAUDIA          GUADRON                  NV     43092197185
96883395791531   ANA              BARRAZA                  TX     90008573957
96889618991599   JANNETTE         RUIZ                     TX     90009926189
96891518391531   FREDDY           QUINTANA                 TX     90011435183
96892556431469   ROLAND           LEE                      MO     90008715564
96892879461977   JEFFRIEY         JOHNSON                  CA     90013218794
96893418855957   ROSIE            GALINDO                  CA     90014704188
96894613691951   IRHANE           GILAMICHEAL              NC     90014046136
96894661297123   MALIA            BACON                    OR     90009326612
96896835261977   JORGE            BARAJAS                  CA     90013378352
96897282491951   DERRICK          MACK                     NC     90014622824
96897488497123   WENDY            WELSH                    OR     44048704884
96898331851342   SHAWN            JOHNSON                  OH     90001383318
96899622891521   MARTHA           ORTIZ                    TX     75090006228
96911677941296   DARRELL          OAKS                     PA     90014816779
96912565455957   JESSE            CRUZ                     CA     90014915654
96912666591531   JUAN             IBARRA                   TX     90014946665
96912681697123   SASHA            BERG                     OR     44084816816
96913291455951   JAYMES           FAJIHARA                 CA     90011572914
96913672291599   JOSE             CORRALES                 TX     75033636722
96914126655957   ALESSIA          SHOFFNER                 CA     49046231266
96914245397123   MARIAH           MILES                    OR     90000532453
96914675991951   ADRAINE          CAPILLA                  NC     17009006759
96914993291521   VANESSA          ARCHULETA                TX     90001249932
96915256591599   CAROLINA         BRICENO                  TX     75087892565
96916323791521   YADIRA           VELASQUEZ                TX     90010213237
96916637661977   AMANDA           GAGNON                   CA     90012006376
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96916668591531   DANIEL        CHAPARRO                    TX     90014946685
96916775351351   JEFFREY       LARKIN                      OH     90002127753
96917154293755   TRACEY        CRAIG                       OH     64592721542
96918674341296   RONALD        NEWMAN                      PA     51014086743
96919378477537   ANTONIA       ANTONIA                     NV     90010253784
96919813391599   ANTONIO       MONTANA                     TX     90012828133
96921541141296   HOPE          DUKU                        PA     51000595411
96921563991521   MARTHA        VILLALPANDO                 TX     90010545639
96921797255957   ALBERTO       MORALES                     CA     90010927972
96924619957131   EDWARD        CASH                        VA     90012206199
96925497397123   ERIC          ROBINSON                    OR     90014444973
96925684391399   ELMER         SANCHEZ                     KS     90013816843
96926861555951   ESMERELDA     GALLEGOS                    CA     49076858615
96929111455951   NORMA         LOPEZ                       CA     49081641114
96929353297123   IRENE         TRUJILLO                    OR     90015163532
96929462593755   BASIMAH       SHALASH                     KY     90013924625
96929634491399   YVONNE        BARRETT                     KS     29017896344
96929692191521   YOLANDA       ESTRADA                     NM     90010576921
96931741361977   CARLA         INGLE                       CA     90013967413
96933321655957   MICHELLE      LOZANO                      CA     90003993216
96934633491399   LISA          KIMBLE                      KS     90012876334
96934834191531   TANIA         ARELLANO                    TX     75080758341
96936698691531   ALEJANDRO     ENRIQUEZ                    TX     90014946986
96936796391399   ALEXIS        SARGENT                     KS     90014587963
96937615191399   MIGUEL        MALDONADO                   KS     29081246151
96937826197123   MARIA         CARRILLO                    OR     44012858261
96938996977537   JOSE          LOPEZ                       NV     90015279969
96939114891531   LAURA         SOLIS                       TX     75034761148
96941798955957   WAYNE         JONES                       CA     90007817989
96944323291399   NATASHA       SHELBY                      KS     90015013232
96945348891599   JESSICA       ARMENDARIZ                  TX     90002723488
96945492961977   JEREMY        FLECK                       CA     90010454929
96945737391599   DWIGHT        INGLETON                    TX     90013447373
96945788291399   MARIA         BRAVO BLANCO                KS     29074837882
96945953991521   MIGUEL        CHAVEZ                      TX     90011889539
96947297891399   FELIX         VILLEDA                     MO     90013672978
96948561891521   EMCO          TRAILERS                    TX     75018515618
96948665241233   JACK          SIMMS                       PA     90014716652
96948839277537   RANDALL       BERG                        NV     43050448392
96949474593755   MELISSA       DICE                        OH     64528864745
96952139991521   MARTIN A      LOPEZ                       TX     75012721399
96953374191951   LAWANDA       LEWIS                       NC     17085153741
96954429197123   MIGUEL        ROSILLO RAMIREZ             OR     44014804291
96955115661977   VANESSA       MEZA                        CA     90014551156
96955133455951   RUDY          VASQUEZ                     CA     49087031334
96957111191531   P HECTOR      SOTO                        TX     75033011111
96958978991599   MARI ISABEL   RUIZ                        TX     90008759789
96961139691521   IVONNE        RODRIGUEZ                   TX     75013801396
96961293555951   ROSA          SOLANO                      CA     90004272935
96961547777537   ARTHUR        GILLESPIE                   NV     90007895477
96963278791521   KATHIA        CARREON                     TX     90014902787
96963935693755   LAKEISHA      BOOKER                      OH     90014319356
96964223291521   MAYRA         CARDENAS                    TX     90010942232
96964514291399   ANGELICA      RIOS                        KS     90007755142
96965851161977   EDWARD        EVERETT                     CA     90012998511
96967522691599   LOYA          ALEJANDRA L                 TX     90000705226
96969224691599   PABLO         OSANTE                      TX     90005322246
96969722477537   ROBERT        BAKER                       NV     43032247224
96969824861977   DAVID         ARROYO                      CA     90013558248
96969825893755   JAMES         PAXTON                      OH     90012478258
96969859661977   DAVID         ARROYO                      CA     90001628596
96971675691521   ROBERT        SMITH                       TX     75030086756
96972251493755   PAULENE       SOMERSET                    OH     90014932514
96973428955985   BRIDGET       LEYVA                       CA     90009234289
96976911291599   JOSE          BERMUDEZ                    TX     90013169112
96979615591399   MARIA         OLACEO                      KS     90005036155
96981594191599   ELENA         BARRON                      TX     90006435941
96982326477537   VICTOR        GOMEZ ARMENTA               NV     90014833264
96983826197123   MARIA         CARRILLO                    OR     44012858261
96984788677537   FRANCISCO     CARRANZA                    NV     90012197886
96986924961977   ALICIA        TORTOLEDO                   CA     90011119249
96992889991366   RONALD        MYERS                       KS     90012838899
96993492877537   KENNETH       HEMMER                      NV     90009564928
96993514597123   SYDNEY        SANCHEZ                     OR     90014495145
96993655891951   TONYA         MCKELLAR                    NC     90012836558
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96994112455951   SARA         SOTO                         CA     49088011124
96996331271936   RAQUEL       MALONE                       CO     90004683312
96996579961977   ELIZABETH    GONZALEZ                     CA     90005355799
96997577393755   MIKE         JORDIN                       OH     90014175773
96999886391994   NED          EBO                          NC     90012258863
97113426791599   NALLELY      TERRAZAS                     TX     90000344267
97115283191399   KRYSTI       HELTON                       KS     90014932831
97115357881635   YOLANDA      WALKER                       MO     90013443578
97115443991951   LESLEY       S BETHEA                     NC     90000904439
97115987391599   BRANDON      ROBINSON                     TX     90011819873
97117244491951   DORIS        REYES                        NC     90009802444
97117352391399   ANEESHA      FISHER                       KS     90007353523
97117725977537   SCOTT        SUNDERLAND                   NV     90014017259
97117957681634   JOSEPH       LONG                         MO     29027369576
97118371391951   NADEGE       MORTON                       NC     90013643713
97118446793732   MARY         MORAN                        OH     90008884467
97121544477537   RAFAEL       GONZALEZ                     NV     43044945444
97121856543584   HOY          ANDERSON                     UT     31053528565
97122742197123   BROOKE       MULL                         OR     90013977421
97122822477537   JOVONDA      JAMES                        NV     90013388224
97124749691951   TRARON       TRUELUCK                     NC     90007667496
97127171461979   BERTHA       LEON                         CA     90014871714
97127388661979   MARIA        CASTRO                       CA     90013893886
97128958281638   ELDER        GOMES                        MO     29082479582
97131811761979   MARIA        CUEVAS                       CA     90010638117
97133218577521   ARACELI      FLORES                       NV     43067452185
97134171461979   BERTHA       LEON                         CA     90014871714
97134925497123   KATHLEEN     CANNON                       OR     90010279254
97135441941296   MICHAEL      SUSKA                        PA     51098814419
97136496361979   MANUEL       VALENZUELA                   CA     90011634963
97137489291599   AURORA       ALVARADO                     TX     75086934892
97138867481634   NORVIN       JOHNSON                      MO     90015138674
97139824291882   JENNIFER     BRADY                        OK     21088618242
97141118291599   JESSICA      ORTIZ                        TX     75008771182
97142161872435   SARENE       FOSKEY                       PA     51000971618
97142314877537   TERESA       MCCOY                        NV     90004643148
97142377233698   MICHELLE     WALK                         NC     90011073772
97143922897123   YVETTE       CORREA                       OR     44078959228
97144336243584   CHEIDEY      RAMSEY                       UT     90009493362
97144611391951   ROBERT       COLE                         NC     90007486113
97146441477537   KEVIN        HOWELL                       NV     90014594414
97146758891599   LYNETTE      STEWART                      TX     90013467588
97148171461979   BERTHA       LEON                         CA     90014871714
97149864177537   TRACY        MERCADO                      NV     43015118641
97151453191599   ALEJANDRA    TORRES                       TX     90012904531
97152236393755   BOOBI        HOOVER                       OH     90014922363
97153585591951   SHAKIR       WAHEED                       NC     90014865855
97153716661971   TIMOTHY      CATO                         CA     90003847166
97155188233638   DANIELLE     FETTS                        NC     90007121882
97155315191951   MARTHA       CRUZ                         NC     90011163151
97155892991399   MARTHA       ABBOTT                       KS     29085408929
97155926477537   JULIAN       ALVAREZ                      NV     90015109264
97155955391599   RAYMUNDO     RANGEL                       TX     90014449553
97156739293755   JORDAN       SMITH                        OH     90009257392
97157171461979   BERTHA       LEON                         CA     90014871714
97157213261979   MONICA       IROZ                         CA     90014892132
97157967893755   HEATHER      DANE                         OH     90013699678
97158476331459   DENISE       GORDON                       MO     90004314763
97158634761979   ROSA         LUCERO                       CA     90014186347
97159463977521   FABRICIO     CRUZ                         NV     43001754639
97161243397123   ERICELDA     VARGAS                       OR     90013322433
97162315191951   MARTHA       CRUZ                         NC     90011163151
97162519793732   KHALISHA     MCCOMMONS                    OH     90010605197
97165239955934   GARY         JOSLIN                       CA     90006662399
97166536355975   VANESSA      OVIEDO                       CA     90008975363
97168592791987   MARIO        ALVAREZ                      NC     90013625927
97168858855957   JUAN         ALONZO                       CA     90012728588
97169372981638   ISRAEL       SCOTT                        MO     29063273729
97172844197123   KORY         BLACKLOCK                    OR     90014618441
97173559261971   IVAN         BERNAL                       CA     90008955592
97175387891399   LELAND       KALEBAUGH                    KS     90008103878
97176557493755   DONNA        ALTMAN                       OH     64547115574
97176817991599   ARMANDO      MEDINA                       TX     75012758179
97177638391951   MICHAEL      OAKES                        NC     90012106383
97178726591599   MIGUEL       BENAVENTE                    TX     90012977265
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97179335772421   COREY         FAWCETT                     PA     51012433357
97181133461979   PETER         CASTRO                      CA     90003721334
97181644981639   JAIME         MARTINEZ                    KS     90007686449
97183289261979   GLADIS        SERRATO                     CA     90010002892
97185497991599   NATALIE       GUTIERREZ                   TX     90010984979
97185542181635   MELCHOR       JUAREZ                      MO     29091295421
97186464193755   LAURIE        BUSH                        OH     64590594641
97187199641238   JOY           MENDYS                      PA     90003081996
97189534481639   GILBERTO      VELAZQUEZ                   MO     90000865344
97191931257564   LEONORE       REYES                       NM     90014889312
97192973955971   LAURA         CHAPPELL                    CA     90011169739
97193265277537   ARNOLD        EDWARD                      NV     43016402652
97193948791399   DMITRI        BURNS                       KS     90014669487
97197779343584   THOMAS        JUSTIN                      UT     90012467793
97197891791399   NICK          BORRAS                      KS     90002828917
97197957691599   ISAAC         OTERO                       TX     90014449576
97199852691951   DERWN         HAMPTON                     NC     90014708526
97212539693755   MANDY         MYRICK                      OH     90014565396
97214839672435   MATTHEW       CLAUS                       PA     51039738396
97216931881639   DONNETTE      BELL                        MO     29055689318
97217262991882   TAMORA        RICKS                       OK     21010832629
97218169841296   GARY          VENTRICE                    PA     51064281698
97221161197123   KRISTINA      COCHRAN                     OR     90014641611
97221422161925   VAZQUEZ       SILVESTRE                   CA     90004974221
97223387897123   SUSAN         HARPER                      OR     44074583878
97223567341296   DERRICK       VIRE                        PA     51060305673
97225883741296   CHRISTOPHER   LAROCHE                     PA     90008858837
97226845691951   MONICA        PATTERSON                   NC     90014598456
97227688491882   ROBERT        BUTCHER                     OK     90007996884
97228296872435   CATHY         YANKO                       PA     51076862968
97228921177537   YOLANDA       OBREGON                     NV     43034369211
97229154777521   RAMON         PEREZ                       NV     90001161547
97229618191599   ARTURO        VILLASENOR                  NM     90000896181
97229622893755   LEE           LEWIS                       OH     90004986228
97229837291599   NORMA         RAMIREZ                     TX     90014288372
97231322191599   MONICA        ESCORZA                     TX     75033733221
97232854491951   JENA          GIBBS                       NC     90011668544
97232871781634   JOHNAE        SAWYER                      MO     29041108717
97236199197123   MIRIAM        FERNANDEZ                   OR     44067331991
97236863872435   MELISSA       EAKLES                      PA     90013928638
97237897181635   SCOTT         BLATTMAN                    MO     29062018971
97238282161979   ROSARIO       CAMPOS                      CA     46054002821
97239182781673   DEBORAH       MESSER                      MO     90000371827
97241332677537   ERNEST        REDMAN                      NV     43033163326
97241654161979   ROBERT        JOHNSON                     CA     90014636541
97242367677537   PRINCE        CORDOVA-GALARZA             NV     90015213676
97242713593755   KRISTINE      THEOBALD                    OH     90013237135
97244213261979   MONICA        IROZ                        CA     90014892132
97244387291951   LAQUITA       RICHMOND                    NC     90014713872
97246146591399   ENERALDO      GUALES                      KS     90014671465
97246363581635   AMANDA        STEVENSON                   MO     90009263635
97246725561979   JANET         MORALEZ                     CA     90014187255
97246993491951   SHARDAY       CASEY                       NC     90012929934
97247728661979   EDITH         LOPEZ                       CA     90014187286
97248656777537   AMANDA        LINARES                     NV     90010116567
97251443161979   AIYANA        BELTRAN                     CA     90012954431
97251632791951   JOHNNY        RWELL                       NC     90012856327
97251678393755   BRITTNEY      CHAFIN                      OH     90008836783
97251926697123   MICHELLE      DAILEY                      OR     90014619266
97253242581634   FLORES        GONZALEZ                    MO     90010862425
97253762981635   GEORGE        TRUE                        MO     90015587629
97254575381635   YOVANY        MORALES                     MO     29080995753
97255339391599   CAMACHO       ZAIRA                       TX     90011413393
97255731361979   EMILY         FREEMAN                     CA     90014187313
97255984681634   JULIO         PALOMINO                    MO     90009479846
97256161491951   JOSE          MATUTUE                     NC     90014981614
97258193461979   JOSHUA        SWARTZ                      CA     46098641934
97259984491599   ANA           VALDIVIA                    TX     90011169844
97262635572435   JESSICA       ANDERSON                    PA     90015516355
97264311581635   MARISELA      HERDIZ                      MO     29026563115
97266674481634   CHRISTY       SNOW                        MO     90008816744
97266738361979   JUAN          PEREZ                       CA     90014187383
97268862491599   PATRICIA      RODRIGUEZ                   TX     90014378624
97268987733698   SANDRA        CRAWFORD                    NC     12084259877
97269987733698   SANDRA        CRAWFORD                    NC     12084259877
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97271424181634   HAROLD            HOUSTON                 MO     90014884241
97271577761979   GUAMON            VONGOR                  CA     90014205777
97273186781635   SHIRLEY           JOHNSON                 MO     90014351867
97274426293755   RICHETTA          WORTHY                  OH     90000844262
97279613891882   AARON             THOMPSON                OK     21026446138
97279744991399   WENDY             FLORES                  KS     29033457449
97279844691599   JOEL              MONTOYA                 TX     90011588446
97279938397123   YESENIA SKINNER   SKINNER                 OR     90005929383
97281199177537   GERALD            ECKART                  NV     90015091991
97281276581634   MARIE             JONES                   MO     90007252765
97281924672435   DOTTY             NESMITH                 PA     90015459246
97282238991599   EVA               GONZALEZ                TX     90015342389
97282696241296   DEVIN             PULLIE                  PA     90012906962
97282756681634   DOMINIC           CERVANTES               MO     90012037566
97283789597123   JOSEPH            SAXTON                  OR     90011537895
97285783781673   WILLIAM           JOHNSON                 MO     90003267837
97286778561979   FRANSICO          MARTINEZ                CA     90014187785
97288165781635   ALFREDO           JUARDO                  KS     90013621657
97289596577335   NIKITA            SHEPERD                 IL     90013305965
97291263771353   MONICA            CEBALLOS                UT     31075292637
97291282791951   CHRISTIAN         GARRIDO                 NC     90014752827
97292218993755   PEGGY             WILSON                  OH     90003202189
97293283681635   STEVE             BROCKHOUSE              MO     29092352836
97294599191951   ADA               CORRALES                NC     90012965991
97297173341296   ANNIE             LOVELESS                PA     90013931733
97297685341296   YVONNE            DENNIS                  PA     90009946853
97297747844346   SHERNETTE         SIMMS                   MD     90009637478
97298687381634   CANDICE           HATHAWAY                MO     29094066873
97311489881635   TAHIRAH           WARNER                  MO     29002014898
97311545493732   BONNIE            SCOTT                   OH     90007165454
97312141193755   NATISHA           JOHNSON                 OH     90012971411
97314437455957   KEVIN             TARAKJIAN               CA     90006894374
97315122291951   YEKIA             HITE                    NC     90014861222
97315835172435   JEFF              LININGER                PA     51008498351
97315897597126   DOUG              LAMB                    OR     90011618975
97317779777537   AMANDA            BAKER                   NV     43064327797
97319773797123   RAMIRO            MUNOZ                   OR     44066457737
97322196581635   RENEE             MONDAINE                MO     29095851965
97322337877537   ALBY              GOMEZ                   NV     43004063378
97322817961979   ROMEO             LOPEZ                   CA     90014188179
97322914191951   SHAUNCEY          BURNETT                 NC     90014719141
97323366491553   FERRAN            LOYDA                   TX     90013463664
97323955191951   DEVONTE           MONROE                  NC     90014719551
97324298341296   CHRIS             ANTHONEY                PA     90013962983
97326192493732   STEPHEN           MARTIN                  OH     90005981924
97326583433638   HKHO              EBAN                    NC     90007595834
97327192493732   STEPHEN           MARTIN                  OH     90005981924
97327254693755   VANITY            MULLINS                 OH     90012912546
97327868297123   JEFFREY           WOLGAMOT                OR     44041218682
97329163897123   ALONZO            ROWELL                  OR     90013231638
97329217341296   LACHAN            CUDAK                   PA     90003912173
97331434181634   ANDREW            ADEN                    MO     29015724341
97332353161979   RUDY              NEGRETE                 CA     90013443531
97332451391882   JOEL              MENDEZ                  OK     21015484513
97332528881635   HEATHER           NACHBAR                 MO     29036515288
97333416191951   ANDRE             O NEAL                  NC     90010204161
97333843893732   WILLIAM           AUSTIN                  OH     90013608438
97334121477537   ISMAEL            GARCIA MARTINEZ         NV     43090511214
97335649872435   RUBY              MOUNDS                  PA     90009506498
97335879391951   YULETTA           WELLS                   NC     90002288793
97335883697123   JODEPH            SMITH                   OR     90014628836
97336593681635   CINDY             NALLELY                 KS     90011365936
97339299493755   SARAH             KOURT                   OH     90003332994
97339974361979   EDGARDO           VARGAS                  CA     90014729743
97342336877537   JAY               QUENIAHAN               NV     90008243368
97345432481635   CHRISTOPHER       BOAN                    MO     90010454324
97345823761979   SEBASTIAN         ROSALES                 CA     90014188237
97346193691951   IDARA             UTIA                    NC     90006661936
97346458381634   TODD              MILLER                  MO     90004444583
97346578433698   SEAN              NEW                     NC     12089665784
97347111477537   CHELSEA           TATUM                   NV     90008661114
97348962293755   ALEX              MYERS                   OH     90013079622
97349443491599   PAMELA            IBARRA                  TX     90012294434
97352188281638   MARK              KERSHAW                 MO     29020311882
97353345972435   CARLA             SMITH                   PA     90001553459
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97353467877537   JULIAN       GARCIA IGLESIAS              NV     43079824678
97353618181639   HEIDI        LECK                         MO     29016516181
97356491361973   MARGARITO    CARDONA                      CA     90010524913
97356793691828   TINA         JARVIS                       OK     90003827936
97357868693755   JAMIE        STOKES                       OH     64581738686
97359947791951   SHATIESHA    JACKSON                      NC     90014739477
97361619633698   ERICUS       FULLER                       NC     90011126196
97361868272435   RICHARD      KIESTER                      PA     90000718682
97363132441296   ELIE         ODIA MBUYI                   PA     90012251324
97363466833698   CHINDAREE    GRAVES                       NC     90009584668
97366118561979   IMELDA       PIMENTEL                     CA     90002631185
97371784541271   JUSTIN       ROSE                         PA     90014717845
97373359791882   UYEN         RIST                         OK     21053503597
97373953141296   PEREZ        FAUSTO                       PA     90012079531
97374797293755   MARGARET     BOHMAN-STEFAN                OH     90013647972
97376325493755   JASON        REED                         OH     90004043254
97377288451396   KUDAKWASHE   SHUMBA                       OH     90010742884
97377538681639   PAYGO        IVR ACTIVATION               MO     90008705386
97377572991399   MICHELLE     SHANKEL                      KS     90014705729
97379144591399   MARIA        RUIZ                         KS     90011501445
97379941591599   GUSTAVO      AVALOS                       TX     90013349415
97382833961979   ANDREW       SHELLY                       CA     90014188339
97383386672435   ALEXIS       RIBLEY                       PA     90015293866
97385193797123   ROBERT       COCHRAN                      OR     90014641937
97386641681634   GERARDO      VAZQUEZ                      MO     90011966416
97388798181635   LAURA        GUERRERO                     KS     29012297981
97391383493755   PATRICK      TABER                        OH     90014883834
97392251651393   PATRICIA     QUINN                        OH     90004782516
97393377591951   PALACIO      VALENCIA                     NC     90009153775
97394744297123   CHRISTINA    WILLIS                       OR     90011057442
97395575591399   MARCUS       JIMENEZ                      KS     90014705755
97395588981634   GILBERT      MARSHALL                     MO     29065245889
97396892966186   BREANNA      COONS                        CA     90014118929
97399331577537   JOSE         MORENO-PEREZ                 NV     90014653315
97411433941296   ASHELY       GOLD                         PA     90013964339
97413867991951   TARLECHIA    MITCHINER                    NC     17008818679
97415414691894   CONCEPCION   MONDRAGON DE MERCADO         OK     90009114146
97415845161979   ALECIA       MORGAN                       CA     90014188451
97416852161979   NANCY        RUBIO                        CA     90014188521
97417547461979   EMA          MEDINA                       CA     90011795474
97421979281635   KENNETH      HUGGINS                      MO     90013679792
97422286393755   HALL         LAURA                        OH     90010882863
97422559991579   MICHAEL      AVILA                        TX     90011075599
97424218591599   CRISTIAN     SALLARD                      TX     75033912185
97424364981634   MAURICE      DURAN                        MO     90012603649
97424852461979   CHRISTINA    STANLEY                      CA     90014188524
97424973433698   NATILA       BEATTLE                      NC     90005729734
97425227291599   ANA          CANALES                      TX     75007402272
97426211241296   VALDEMIR     KOLLWITZ                     PA     90006832112
97426212661979   CHRISTIAN    GUEVARA                      CA     90014882126
97426873291951   MALCOM       REED                         NC     90014728732
97426978177537   RICARDO      SIERRA                       NV     43083489781
97427759191599   MCELROY      ANTHONY                      TX     90003047591
97429231891399   IVAN         MARINEZ                      KS     90014512318
97429636177537   JOSE LUIS    ORTIZ                        NV     43065546361
97431344891357   MARIA        RAMERIZ                      KS     29066573448
97431715577537   ASHLEY       BARNES                       NV     90012737155
97432231161979   LUIS         DIAZ                         CA     90002632311
97432723291399   JOSE         ORDAZ-MOTA                   KS     29019457232
97433477155967   DEBRA        GOLDSMITH                    CA     90002784771
97434319333698   BRITTANY     WHITAKER                     NC     90009783193
97434852961979   LUCY         VU                           CA     90014188529
97435249691951   TANYA        FREEMAN                      NC     90001962496
97437346131422   ANGELA       CLARK                        MO     90015043461
97438132481634   KRIS         FABELA                       MO     29007251324
97439951477537   ROSE         DEFALCO                      NV     43097559514
97443259191399   MERRI        YOUNT                        KS     29002192591
97445688877537   MICAELA      ZEPEDA                       NV     90012606888
97445797977537   MICAELA      ZEPEDA                       NV     90013537979
97446869181634   JUANA        LOVING                       MO     29076548691
97447388281639   TRACY        MCNEAL                       MO     29077163882
97448116893732   OSCAR        VILLALLVA                    OH     90006341168
97449119991599   MARIA        RANGEL                       TX     75087991199
97449973797123   GABRIEL      AMBRIZ                       OR     44096769737
97451573151334   JEFFREY      JOHNSON                      OH     66005245731
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97451834191882   RUSSELL          JACKSON                  OK     21060848341
97452194191951   SHARONDA         MCNEILL                  NC     90011081941
97452962891399   F                CERECERES-FLORES         KS     90014699628
97453118277537   LEANNA           REED                     NV     90015131182
97454798177537   GERARDO          MARTINEZ                 NV     90012637981
97455224261979   STEFANIE         SLATER                   CA     90007142242
97456423185955   NICHOLIS         KIMBLER                  KY     67073334231
97457178193755   KIESHIA          TERRELL                  OH     64548581781
97458954277537   LILIA RUTH       JIMENEZ                  NV     90013969542
97459281591585   ARMANDO          GRIEGO                   TX     75071422815
97459283691599   YESENIA          MUNOZ                    NM     90015192836
97462864861979   CRISTINA         GUTIERREZ                CA     90014188648
97463356281635   MARIA            RODRIGUEZ-RAMIREZ        MO     90007523562
97464486877537   SHIRLEY          DAVILA-SILVA             NV     43012614868
97464829281635   WES              BATRESAN                 MO     90012408292
97467629291951   SHARINA          CANNON                   NC     17082246292
97471187691951   AUGUSTUS         BASS                     NC     90010111876
97474333457563   LYDIA            CAMPOS                   NM     90006313334
97474866761979   HECTOR           ORTIZ                    CA     90014188667
97476556561979   RAMON            A SANCHEZ                CA     90013125565
97476822291399   MARIA            MALDONADO                KS     90014708222
97477231381635   RICHARD          HICKS                    MO     90007352313
97477868761979   REBECA           GOMEZ                    CA     90014188687
97478893177537   AMBER            KELLEY                   NV     43000388931
97478937581635   FREDDY           RIVEROLL                 MO     90012209375
97479315533698   BARRY            OHAM                     NC     90001673155
97481225561979   ISABEL           RUIZ                     CA     90014882255
97482452572435   ANTOINE          MYERS                    PA     90014324525
97482822291399   MARIA            MALDONADO                KS     90014708222
97484192461979   GEORGINA         RANGEL                   CA     46015551924
97485217991599   OMAR             BAYLON                   TX     90008592179
97486215331471   CATHAREAN        BALL                     MO     90002202153
97487156291951   ALFONSO          RODIGUEZ                 NC     90009941562
97487377481638   JUANA            MORA                     MO     29078133774
97487417881639   DEREK            KAZEE                    MO     90010334178
97487568477537   BIANCA           MANRIQUEZ                NV     90012835684
97487781756349   DEANTHONY        GRAVES                   IA     90013007817
97488453481635   VERDELL          LILLARD                  MO     90008314534
97489819781635   JAQUAN           BRIANT                   KS     90009498197
97489849393747   BRANBON          ANDREWS                  OH     90008738493
97493913591889   ABOUE            DOH-EGUELI               OK     90002199135
97494343691951   ZONIA            AGUIRRE                  NC     90014733436
97494748585822   KAREN            HERNANDEZ                CA     90008017485
97497384242526   MARI             RODRIGUEZ                WA     90015373842
97497761191882   ROSALINDA        BUSTOS                   OK     21000637611
97497964993755   NICOLE           MCINTOSH                 OH     90014679649
97499949697123   ZACHARY          BINGHAM                  OR     90013389496
97511168691399   TYSALA           TYLER                    KS     90001691686
97512547381635   ALISSA           JACKSON                  MO     90015165473
97512569891399   DAKOTA RICHARD   SILVA                    KS     90014715698
97513159391599   ROSENDA          SALAS                    TX     90006251593
97513517281639   LATRISE          MCDONALD                 KS     29032835172
97514465991399   RACHEL           SMITH                    KS     29006864659
97515678381635   ALEJANDRO        TOBON                    MO     29068346783
97515827991951   ERIK             PRIDGEN                  NC     90011308279
97515952993732   JERRALYNN        ROUSSEL                  OH     90007279529
97521397881634   BOBBIE           JONES                    MO     90014363978
97521426591951   SAUL             DOMINGES                 NC     90012814265
97523441191399   KOFFIE           ADABRAH                  KS     29012244411
97523792261979   EDUARDO          MORALES                  CA     90013577922
97524385572435   ROBERT           HUDSON                   PA     90009443855
97527477781635   ANDRES           SANDOVAL                 KS     90014104777
97527754297123   ANTIOCO          DIAZ                     OR     90009207542
97527967661979   EVONY            FRAZIER                  CA     46066439676
97528129177537   ERIC             LAMBRIGHT                NV     43028311291
97529284893755   KATHLENE         SOMERSET                 OH     64588902848
97532648433698   JAVIER           PEREZ                    NC     90010196484
97533867881634   KYLAN            ALEXANDER                MO     90013428678
97535149741955   JASON            HUMMEL                   OH     90012161497
97535163681639   BARBARA          BAUM                     MO     90012001636
97535244772435   JASON            HOUGH                    PA     90012592447
97541265391951   JAME             BRON                     NC     90014742653
97541267681634   WENDY            ZAHND                    MO     29036102676
97541542691599   GRACIELA         ARRIOLA                  TX     90010035426
97543398691599   CALWIN           LIKIAKSA                 TX     75084673986
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97543922561979   MELISSA       MENDOZA                     CA     90012519225
97544424555932   JERRY         WALLIS                      CA     90006474245
97545785991399   CONSTANCE     MOORE                       KS     90008837859
97547125581639   RUTH          FLOYD                       MO     29004241255
97548442841296   CHARLES       HOGAN                       PA     90015084428
97551214291526   HECTOR        CASAS                       TX     75064212142
97554938693726   ANTWONE       MALLORY                     OH     64590439386
97554995791579   MARIA         AVILA                       TX     90002039957
97555281541296   GREGORY F     SCOTT                       PA     90011722815
97555922897123   YVETTE        CORREA                      OR     44078959228
97557373591882   YENY          CONTRERAS                   OK     21053453735
97557467491599   VANESSA       ESQUVIEL                    TX     90015464674
97557557793755   MATT          WALKER                      OH     90013605577
97557634991551   JESUS         QUEZADA                     TX     90013226349
97558634991551   JESUS         QUEZADA                     TX     90013226349
97563141193755   NATISHA       JOHNSON                     OH     90012971411
97563831381635   BONIDA        MCCOY                       MO     29076968313
97564371391599   GUADALUPE     CRUZ                        TX     90009923713
97565731981635   OCTAVIA       BENSON                      MO     29043547319
97566256961979   ANITA         HERNANDEZ                   CA     90014882569
97567386461979   OLGA          GONSALEZ                    CA     90009033864
97567772341296   YOLANDA       MCCOY                       PA     90012787723
97568929691399   JENNIFER      LRINE                       KS     90014719296
97569419441296   JESSICA       MOVITCH                     PA     90013944194
97571392491599   IRMA          STICKLER                    TX     75077213924
97571435393755   SARAH         STATON                      OH     90012974353
97572451141955   REYES         MATINEZ                     OH     90013934511
97572461872435   RICHARD       PLASSIO                     PA     90014854618
97572635481638   PRIMALTON     PETERSON                    MO     29020556354
97572778154135   ALINA         BADGER                      OR     90012377781
97573346291531   ARTURO        ROMERO                      TX     90003143462
97574431572435   TRICIA        BOYAN                       PA     90006954315
97575328236164   CATHERINE     RAMIREZ                     TX     90009193282
97577971291399   DARRIN        THOMAS                      KS     90014719712
97578496781634   CHARLES       HICKS                       MO     29061094967
97579264493755   KEESHA        MCGREW                      OH     90014922644
97581653561979   WILLIAM       HOWELL                      CA     90008736535
97583857255975   JAIME         RANGEL                      CA     90000688572
97584771997123   KATHERINE     HAROLD                      OR     90004697719
97586831677537   MONICA P      CORDOVA                     NV     90005388316
97588261993755   RACHEL        THOMPSON                    OH     90013382619
97589262281634   DEATRICE      BROOM                       MO     29066412622
97589887397123   KRYSTAL       TADROS                      OR     90014838873
97592452581634   MOALIN        DAHIR                       MO     90014594525
97592476361979   LORENA        GONZALEZ                    CA     90009914763
97592485877537   CHRISTOPHER   DUDEVOIR                    NV     90014584858
97594161472424   BRENDA        WATKINS                     PA     90013201614
97595548381638   MARIA         CARRERA                     MO     90002055483
97596495981635   EVE           DANIELS                     MO     90011914959
97598448681635   ZAIRE         TURNER                      MO     90014934486
97612267581635   DOMINICK      BROWN                       MO     90009842675
97612525277537   MARIA ELEN    ZAVALA TOLEDO               NV     43012395252
97614614541296   JOHN          FREIBERGER                  PA     51078186145
97614641881634   ERIN          JONES                       MO     90010466418
97615435833638   MARCELLUS     WILLIAMS                    NC     90013824358
97615585677537   CATHERINE     VILLA                       NV     90012185856
97617923391399   JOHN          HENRY                       KS     90011499233
97618822291399   MARIA         MALDONADO                   KS     90014708222
97619571391399   LUIS          HERRERA RUIZ                KS     90011525713
97619831133698   AUDRA         BOEHM                       NC     90011128311
97622685481634   BONNIE        BISHOP                      MO     90013246854
97623218781635   LUCIA         CORREAL                     KS     90010902187
97623676681634   TOMNESHA      TURNER                      MO     90013756766
97625263681638   ROSENDA       ROJAS                       MO     29010102636
97625447672435   KYLEIGH       COX                         PA     90008874476
97626792881635   DANIEL        LOPEZ                       MO     90006517928
97627179191559   CLAUDIA       PORTILLO                    TX     90012491791
97627197593755   SAUL          HERNANDEZ                   OH     90012741975
97629351333676   SALEEMA       BOOTH                       NC     90012643513
97631284191599   ROSIO         RUIZ                        TX     90011092841
97633466891599   JAZMINE       GRACIA                      TX     90005184668
97633492772467   STEPHEN       PEFFER                      PA     90002114927
97633684155975   RONALD        NAIDAS                      CA     90003856841
97635975381634   DOUGLAS       VALLADASES                  MO     29095749753
97636898133698   MEGAN         BLACK                       NC     90011128981
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97637286191399   JESSICA      HINKLE                       KS     90014722861
97637821297123   ANGELA       GISH                         OR     44066938212
97639445561979   ANGEL        ARTIGA                       CA     90005034455
97641117581635   JANE         RHODES                       MO     29037171175
97642943581634   DENNIS H     SLACK II                     MO     90015079435
97643923372435   ASHLEY       DUPREE                       PA     90015469233
97645197691399   MAUREEN      HILL                         KS     90014731976
97646223991599   MARTHA       RODRIGUEZ                    TX     75034002239
97648112291399   FREDY        INTERIANO                    KS     90014751122
97649265993755   TERRI        ASHMAN                       OH     64563922659
97649849381634   LADONNA      HENDERSON                    MO     90010148493
97652395291951   HELTON       MAGUEYAL                     NC     90013243952
97653819161982   MARCELO      TAFOLLA                      CA     90006858191
97654489691882   COURTNEE     WEST                         OK     21084044896
97655928991599   JOAQUIN      CARRASCO                     TX     75033849289
97656688591599   LORENZA      RUACHO                       TX     90010506885
97657133681635   MAGALI       OLMEDO                       MO     90014161336
97657381791599   SANTOS       RANGEL                       TX     75089943817
97661233541296   DOMINIC      YEAGER                       PA     90010102335
97662831281635   COURTNEY     FORD                         MO     90012358312
97664243891399   SANDRA       BENJAMIN                     KS     90014732438
97665395461979   LILIANA      FLORES                       CA     90011973954
97665984377537   JESUS        MENDEZ                       NV     90014059843
97666467481635   MARQUICES    GRAVES                       MO     90015224674
97667257591399   BENJAMIN     ROCHA                        KS     90014732575
97672492991599   JUAN         ACOSTA                       NM     75009434929
97675716691399   RYAN         GEAN                         KS     90009627166
97675815121832   KIMBERLY     COBB-WILSON                  MN     90010858151
97677575277537   JUAN         COLLAZO-LOPEZ                NV     90013205752
97677863861979   TERESA       OSUNA                        CA     90013538638
97677934255933   RIGOBERTO    GOVEA                        CA     90012239342
97678544381639   RHONDA       JAMES                        MO     29030305443
97679498591599   VIRIDIANA    ORTIZ                        TX     90007114985
97679983591882   BRENDA       LEWIS                        OK     90012689835
97682293181639   MATT         MCCLIN                       MO     29031532931
97682771491399   JONNIETA     HAMILTON                     KS     29063897714
97683499181635   FELICIA      SAFFOLD                      MO     29077194991
97684337593755   JOHNNIQUA    CARTER                       OH     90005833375
97685778681638   LARRY        BRYANT                       MO     29073387786
97686728691951   ROSEMARY     SANTIAGO                     NC     90013377286
97687542931459   JAMIE        WARD                         MO     27512145429
97691452572435   ANTOINE      MYERS                        PA     90014324525
97691857593755   DANNY        GREER                        OH     64549878575
97692399233698   MARKEEN      HARRISON                     NC     90009893992
97692646491951   GRABIEL      HERNANDEZ                    NC     90008646464
97692986861979   SARAH        DE LA ROCA                   CA     90014929868
97693248173297   OFELIA       CASTRO                       NJ     90010752481
97693558361979   VIRIDIANA    LARA                         CA     90015095583
97697293591599   MARGARITA    MEZA                         TX     90004712935
97711953993732   JACOB        ROSS                         OH     64594429539
97712153881635   KOME         KEY                          MO     29023801538
97713945961979   ALICIA       CURDENAS                     CA     90011509459
97714945961979   ALICIA       CURDENAS                     CA     90011509459
97715477672435   MIGUEL       TAPIA                        PA     90014924776
97716647172435   NIKKI        SMALLWOOD                    PA     51094496471
97717542461979   MILDRED      TORRES                       CA     90008565424
97717778133698   AMBER        MCFADDEN                     NC     90012717781
97719238451351   ANA          QUESADA                      KY     90011742384
97719883577537   DIANE        MORROW                       NV     43034808835
97723442855975   GERARDO      RAMOS                        CA     90014904428
97725499991399   JESSE        PIERCY                       KS     29052344999
97728154391882   KIPPEY       HAMPTON                      OK     21049631543
97728286191599   MOISES       PEREZ                        TX     90003052861
97729671877537   SABRINA      RODRIGUEZ                    NV     90011576718
97729945961979   ALICIA       CURDENAS                     CA     90011509459
97731768377537   ALDO         HERNANDEZ                    NV     43072467683
97731984591399   GERALD       YOUNG                        KS     90007549845
97732281191399   LANCE        NORMAN                       KS     29090222811
97734172197123   YOLANDA      BENAVIDES                    OR     90011281721
97734378891951   JUSTINE      JACOBS                       NC     90014403788
97735299981639   ORRIN        DOWDEY                       MO     29020192999
97737554281635   KRISTINA     BENEDICT                     MO     29074885542
97738488481634   ALFREDA      MARTIN                       MO     90014434884
97738994455923   CARMEN       DIAZ                         CA     90015189944
97739584281634   CANDIDO      LARA                         MO     90012995842
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97741562473297   MARIA        LUIS                         NJ     90015395624
97742363391599   KARLA        VALENZUELA                   TX     90013543633
97742365791526   EILEEN       ALVAREZ                      TX     90004073657
97743138891599   VIRGINIA     GUILLEN                      TX     90013551388
97743912172435   TAQUAIL      SHEROD                       PA     90015259121
97744185661979   EMILIA       DIGHERO                      CA     90012721856
97744995391951   ARGENIS      QUINTANA                     NC     90010499953
97745253281639   EDILMA       PEREZ                        MO     90004762532
97746189377537   JESSICA      GLOVER                       NV     43007821893
97746349491599   CARLA        GODINEZ                      TX     90013703494
97751895733638   RUTH         WINFIELD                     NC     12098768957
97752587981639   LADONNA      QUINTON                      MO     29007185879
97753238991599   RANDY        SILVA                        TX     90008712389
97753675291951   KATHY        SNYDER                       NC     90012876752
97756376591599   AMADO        LOPEZ                        TX     90013183765
97758562172435   NATHAN       VILLI                        PA     90010355621
97758843397123   KYMBER       HARPER                       OR     90013538433
97762658381635   SHANTAY      FOWLER                       MO     90010176583
97764617661979   SUSANA       ROCHA                        CA     90010646176
97765114841243   SAMUEL       SCATENA                      PA     90014791148
97765722957174   MAX          GUTIERREZ                    VA     90009827229
97765762441243   SAMUEL       SCATENA                      PA     90005837624
97768379691951   DEANGLEO     GOINGS                       NC     90014783796
97771332991599   JESUS        VALLS                        TX     90014523329
97772218441296   JOMARIE      FENNELL                      PA     51034452184
97773269497123   FRANCISCO    PENA ZARRAGA                 OR     90012382694
97773763133638   LATISHA      WILLIAMSON                   NC     12063997631
97776461191882   CARRIE       CLOUD                        OK     21014804611
97777376361979   CESAR        SAAVEDRA                     CA     90011653763
97783194141296   VICTORIA     DAIS                         PA     90006881941
97784712381634   PATTI        KING                         MO     90015207123
97785879761982   JULIETA      MEDINA                       CA     90010638797
97787171977537   DANIEL       MONREAL                      NV     43031201719
97787733393755   CHANELLE     WOODS                        OH     90007017333
97789463181635   OLGA         TORSELLI                     MO     90013894631
97791122591951   LATAVIA      ROSE                         NC     90014791225
97791544381639   RHONDA       JAMES                        MO     29030305443
97792321272435   MATT         ATER                         PA     90002843212
97792824891951   CHAZMANI     CRAIG                        NC     17089868248
97793272191599   KARINA       MARTINEZ                     TX     75015142721
97793649191927   SUSANA       MORA                         NC     90004806491
97793735393755   ASHLEY       CLEMMER                      OH     90011497353
97794942581635   ALBERT       KEELING                      MO     90006859425
97795742791399   OLGA         AGUILAR                      KS     29079937427
97796142181635   DONNIE       SULLIVAN                     MO     90015081421
97796153393755   JAN          VANDERPOOL                   OH     90005221533
97796915291599   FERNANDO     RODRIGUEZ                    TX     90013649152
97798233791599   NADIA        BARRAZA                      TX     90012722337
97798551777537   ELLEN        ESCOBAR                      NV     90005165517
97799522477537   ANTHONY      JONES                        NV     90008625224
97799617181635   LINDA        FANNON                       MO     90002126171
97811323297123   MIRIAM       ANSELMO                      OR     90012413232
97812266891951   AARON        GIVENS                       NC     90014792668
97812359833698   SANDRA       GIDLEY                       NC     90010373598
97814114555975   ROSA         ALBA                         CA     90014031145
97814711861979   DORIS        MAU                          CA     90014947118
97815465391599   KEVIN        MOSANSKY                     TX     75028214653
97817968472435   MARGERETTA   CAROCCI                      PA     90013519684
97818252497123   STEPHANIE    ADAMS                        OR     90012602524
97818624377537   BERNABE      BELLO                        NV     90005166243
97819348357183   AMADO        PEREZ                        VA     81047503483
97822152981635   SHANA        WILLIAMS                     MO     90004121529
97822466191882   SHANNON      HUCKEBY                      OK     21022644661
97822574791531   JAMES        WILLETS                      TX     90001605747
97823229777537   COOKMAN      MICHAEL                      NV     90005342297
97825636972435   COLLEEN      WEIKEL                       PA     90014116369
97825679691599   APRIL        LUNA                         TX     90013626796
97826591391399   PAULA        HOLGUIN                      KS     90007695913
97827537591599   ANTONIALID   CALDERON                     TX     75058715375
97831168341296   LINDA        HALL                         PA     90013931683
97832491891599   GERARDO      RUEDA                        TX     90011954918
97832946272435   LATONYA      COOPER                       PA     51045719462
97833583161979   MARGARITA    OBREGON                      CA     90013125831
97835315681635   JAKE         PATTY                        MO     90013083156
97839385672435   JAMES        BILLER                       PA     90015443856
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97842624391399   CONCEPCION         MARTINEZ               MO     90014746243
97842879761982   JULIETA            MEDINA                 CA     90010638797
97842944991599   MELISSA            VASQUEZ                TX     75041799449
97843624391399   CONCEPCION         MARTINEZ               MO     90014746243
97844531691599   ANTONIO            LOZANO                 TX     90011865316
97844624391399   CONCEPCION         MARTINEZ               MO     90014746243
97844682871945   MIGUEL             SANCHEZ                CO     90015146828
97847138577537   ANA                LOPEZ                  NV     90010671385
97847894891599   JESSICA            DIAZ                   TX     90012208948
97851599477399   CIPRIANA IGNACIA   HERNANDEZ              IL     90004275994
97852731361979   RICHARD            MIDDLETON              CA     90008297313
97852795897123   CHALES             TURNER                 OR     44076067958
97853859761979   VIRGINA            SANCHEZ                CA     90013368597
97854246577537   JOSE               DIAZ                   NV     43044912465
97855811841296   EMILY              MILES                  PA     90009488118
97856663481635   SHEE               WAH                    KS     90013216634
97856936691399   RIGOBERTO          MADRID                 KS     29089459366
97857213897123   KERRY              WINKLER                OR     90012392138
97858245181639   JAMES              HERNANDEZ              MO     90014202451
97858266191599   CARLOS             NAVA                   TX     75099102661
97859377781634   KERRI              SUTTERFIELD            MO     90007753777
97861354691399   SONIA              MARTINEZ               KS     90014753546
97862427991951   JOSE               MOLINA                 NC     90010194279
97863213491599   LUIS               GUTIERREZ              TX     75033802134
97865568331932   DATHAN             HINRICHS               IA     90009425683
97866661991399   KARLA              DOMINGUEZ              KS     90014746619
97866982193755   JESSICA            BROWN                  OH     90006419821
97867385897123   KAREN              JOHNSON                OR     90013453858
97867581541296   CARLISA            PLUMMER                PA     51017625815
97867954381635   ANDREW             TURNER                 MO     90015559543
97868624477537   LARA               FINEGAN                NV     90014936244
97869676691399   TERESA             CHAVEZ                 KS     90014746766
97872377777537   THOMAS             JORDAN                 NV     90014973777
97873895391951   CHENITA            JACKSON                NC     90002828953
97877111791531   AGUSTIN            RODRIGUEZ              TX     75029171117
97877549255946   LARRY              BULICK                 CA     48003665492
97878764881634   BOBBY              HARRIS                 MO     29076297648
97879739193736   DAVID              HODGES                 OH     64501767391
97882949997123   KYLEE              SPIER                  OR     90013209499
97884235591544   FIDEL              ELKABACHI              TX     75086922355
97885563493755   DUGLOS             TONN                   OH     64561925634
97887781733698   MARCUS             MINTZ                  NC     12098247817
97892415641296   RENEE              SIMMONS                PA     51072014156
97893378172435   JEREMY             WATSON                 PA     90012833781
97893423881635   DUSTIN             EDWARDS                MO     90013344238
97895478233698   SUSAN              DIXON                  NC     90011154782
97896311141296   NATIELLE           WASHINGTON             PA     90013873111
97896478233698   SUSAN              DIXON                  NC     90011154782
97899529381634   DWAYNE             JONES                  MO     29003215293
97915629761979   RAYMUNDO           GALLEGOS               CA     90011656297
97917476381639   BRIAN              REESE                  MO     29065454763
97918186591882   JASON              KILPATRICK             OK     21088881865
97918753791886   JENNIFER D         MURRY                  OK     90007557537
97922861291547   ALFREDO            LOPEZ                  TX     75028688612
97923312561979   GINA               ROBERSON               CA     46048383125
97923974172435   MELINDA            CLARK                  PA     90015359741
97924785981634   CRICKET            CRICKET                MO     90008907859
97928892291951   KARLA              ROSALES                NC     90014878922
97929792231436   KATHY              WISE                   MO     90003117922
97929829181635   BRANDYCE C         TYLER                  MO     90003758291
97931694741296   VINCENT            VATTIMO                PA     90003286947
97932414591951   CYNCERELY          SPENCE                 NC     90012664145
97932836191599   EDUARDO            PEREA                  TX     75009948361
97932949141296   BARBARA            HELSEL                 PA     51094709491
97933527272435   TERRIKA            SMITH                  PA     90014535272
97933635591951   BRIAN              ADAMS                  NC     90014416355
97934131481635   ASHLEY             UPHAM                  MO     90014471314
97935375681634   MICHAEL            SUMBI                  MO     90012973756
97935476677537   LORI               PETERSON               NV     43003714766
97936744491951   MYRA               GARCIA                 NC     90012997444
97939135397123   MONIESHA Q         PACHECO ZARAGOSA       OR     90009881353
97939643861979   SARAI              HERRERA                CA     90011656438
97941499781635   KRYSTAL            RAY                    MO     90001824997
97942627993755   BRANDON            ASHLEY                 OH     90013026279
97943869477537   MARIA              CORREA QUINTERO        NV     43013008694
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97944913761941   ROGELIO        LOPEZ                      CA     46095339137
97945155491885   STEPHANIE      BENTON                     OK     90006501554
97945939691599   JAVIER         ROMERO                     TX     75025019396
97948329341296   ROSEANN        LUBAWSKI                   PA     51084643293
97948649861979   AARON          CONCHA                     CA     90013516498
97951272961979   RUBY           JAUREGUI                   CA     90010042729
97951784197123   CHRIS          LUEDTKE                    OR     90013547841
97951921891399   ANTHONY        HELEM                      KS     90011399218
97953123377537   AURELIO        REYES                      NV     90013231233
97953852561979   MARIBEL        REYES                      CA     90010378525
97954152341296   TINA           MIRANDA                    PA     90014341523
97957639577537   BARBARA        KETTERY                    NV     90007256395
97958231281635   PHILIP         MURDICK                    MO     90013642312
97959411397123   BILLIE         SIMARCP                    OR     90006874113
97959655161979   ANGEL          BANAGAS                    CA     90014976551
97961849731448   MATHEW         SHERMAN                    MO     27516088497
97962636997123   BRENDA         LEIVAS                     OR     90009566369
97963336161979   CARLA          CHAVEZ                     CA     46016023361
97963834281635   JOANN          HICKS                      MO     90009908342
97964835761941   HECTOR         RODRIGUEZ                  CA     90009338357
97965248361992   ELAINA         COWAN                      CA     90008092483
97965835761941   HECTOR         RODRIGUEZ                  CA     90009338357
97968336341296   DAN            SAMMARTINO                 PA     90012243363
97968447841296   TAEMON         POSEY                      PA     90013394478
97968947777537   FERNANDO       ROSCOM                     NV     90010359477
97969484681634   LEROY          LLWEWLLYN                  MO     90002424846
97972978297123   CANDACE        SCAEFER                    OR     44035319782
97973556433698   VALENTIN       VALDEZ                     NC     90006815564
97976985977537   GEROME         SAM                        NV     90006579859
97977618641296   PATRICIA       GURCAK                     PA     90013986186
97978168377537   KARLA          ESCOBAR                    NV     90011391683
97978616877537   JENNY          CHILDS                     NV     90013646168
97979215691599   MONICA         AVALOS                     TX     90008942156
97979853761979   GUADALUPE      TAPIA                      CA     90013088537
97981851393732   SHIRLENA       LANDIS                     OH     90006728513
97982569272435   JOSH           MCWILLIAMS                 PA     51000505692
97985977593755   CHRISTOPHER    MATHENY                    OH     90014459775
97987929591951   KAREEN         BAGLEY                     NC     90013009295
97988468331624   ALETA          DEVINE                     KS     90000234683
97989345261979   MARSYA         ABDULLAH                   CA     90013493452
97991739691826   MIGUEL ANGEL   VILLAMIL                   OK     90010827396
97992499641296   ANTONIO        GATLIN                     PA     90010504996
97993161481635   GREGORIA       AREVALO                    MO     90006131614
97993323481635   FRANK          PEREGRINA                  MO     90015233234
97994669572435   ANTONY         MORRELL                    PA     90014146695
97995713477537   JOVANEE        KNIGHT                     NV     90000697134
97996357281638   ESMERELDA      ESPINOZA                   MO     29052353572
97997318591592   ANICETO        LOPEZ                      TX     90011903185
97997815997123   JESSICA        NAVARO                     OR     90013578159
97998435272435   KRISTI         GUILFORD                   PA     90013774352
97999899941296   TERRY          LEIGEBER                   PA     90011728999
98111377991399   BRANDON        BROWN                      KS     90013933779
98112224393755   PATRICIA       GUZMAN                     OH     90014712243
98112574293755   MARK           TAYLOR                     OH     64526495742
98112597191882   KIMBERLY       MCDOUGAL                   OK     21046195971
98112931157563   CATHLEEN       MARQUEZ                    NM     90014629311
98114385791599   JACKIE         DE LA CANAN                TX     90012413857
98114851457563   EDWARDO        GALINDO                    NM     90011238514
98115831391599   LILIANA        ORTIZ                      TX     90012708313
98115973591553   MARGARITA      GUTIERREZ                  TX     90001079735
98116974291599   CRYSRTAL       RIVERA                     TX     90013609742
98117967981634   ELSI           HERRERA                    MO     29038789679
98119735793747   MARK           JAMES                      OH     90007827357
98119788781639   SHANNON        TSCHIRHART                 MO     90014707887
98122137177537   JAVIER         ROMERO                     NV     90013811371
98122689581637   TASHANNA       SAWYER                     MO     29093486895
98122865472435   HARRISON       DANIELS                    PA     90013888654
98125373361977   CHRISTINA      LOWMAN                     CA     90012763733
98125453241296   TAMMY          DEMUS                      PA     90013594532
98125477193755   MATTHEW        BAYER                      OH     90015124771
98131487161499   MAURO          CAMPOS                     OH     90014944871
98131679255951   SHAUNA         SHELTON                    CA     90001206792
98132823361978   APRIL          CORDOVA                    CA     90007458233
98133359191399   LUCAS          OLAZAR                     MO     90013233591
98133725291951   TONYA          ROGERS                     NC     90005807252
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98134262491599   ELVIA           MEDINA                    TX     90009502624
98134899877537   PATRICK         ST JOHN                   NV     43090468998
98135888891599   LLUVIA          SIGALA                    TX     75037018888
98137325441296   SHAWN           LOGAN                     PA     90014013254
98137681477537   GERSON          ROSALES                   NV     43076806814
98139237655951   VALERIE         FIERRO                    CA     49095412376
98139356281635   EUGENE          MOORE                     MO     29004233562
98139458572435   JASON           HOUGH                     PA     90013184585
98141654133638   DAMION          FONGEMIE                  NC     90009386541
98141881281639   PATRICIA        TUCKER                    MO     90014708812
98142735161977   MARISOL         GONZALEZ                  CA     90000127351
98143352133623   JOSE            FLORES                    NC     90010993521
98143735161977   MARISOL         GONZALEZ                  CA     90000127351
98145776541296   AMBER           CHAK                      PA     90011177765
98146115181639   YOVANY          FIGUER                    MO     90012141151
98146147493755   MARIE           KENDRICK                  OH     90007791474
98146638477537   MICHAEL         CALLAHAM                  NV     90010786384
98147626371936   ANRDREA         HERNANDEZ                 CO     90011206263
98148179481639   ENTOEN          TAYLOR                    MO     90006911794
98148539277537   CHRISTOPHER A   MIKESELL                  NV     90015025392
98149233277537   AZUCENA         BENITEZ                   NV     90009902332
98149817793732   WILLIAM         ABNER                     OH     90013188177
98149828941258   LATOYA          SCOTT                     PA     90013938289
98149964655951   ASHLEY          WILLIAMS                  CA     49040309646
98153141277537   MARIA           RIOS                      NV     43056901412
98154374981634   CAMERON         YOUNG                     MO     29039493749
98154724861927   KAMAAL          MARTIN                    CA     46020897248
98157338491399   JASMINE         COLLINS                   KS     90012573384
98157374585834   JOSEPHINE       PETRICH                   CA     46003693745
98157522961927   EVANS           SHAWN                     CA     46043755229
98158144891951   KADEESHA        MEDLEY                    NC     17017121448
98162633491399   WILLIAM         MEJIA                     KS     90013876334
98164523281635   RACHEL          MILNE                     MO     29028315232
98165236461977   OSCAR           HERNANDEZ                 CA     90010692364
98165338781639   NATALIA         CONTRERAS                 MO     90014833387
98167537961927   MANUEL          KULANI                    CA     90001005379
98168222572435   DONNA           PLAISTED                  PA     51095402225
98168819493755   JONIL           KOGER                     OH     90008788194
98168899281639   DUFFLEBAG       DIME                      MO     90002658992
98169854791399   MISTY           MILLER                    KS     90008708547
98171913291599   DULCE MARIA     CONTRERAS BARRIOS         TX     90013829132
98171959281591   DENISE          JASINSKI                  IL     90014949592
98172287261977   PATRICK         BLACKKETTER               CA     90015082872
98172925893755   RANDY           COOTS                     OH     90013129258
98173751181635   MARK            ROBINSON                  MO     90008007511
98174947677537   ALMA            PICAZO                    NV     90008019476
98175823681639   STUART          REED                      MO     90008758236
98176744977537   GLORIA          GARCIA                    NV     90010627449
98176852693755   LINUS           GUNTLE                    OH     64504128526
98177544777537   RENEE           BARTLETT                  NV     90014555447
98181265981639   HILLIARY        STEELE                    MO     90001642659
98181376177537   KIMBERLEY       NICHOLS                   NV     43085423761
98181955181634   JODI            JOHNSON                   MO     29077529551
98182488657563   LUZ             TAVIZON                   NM     90015104886
98182811261977   LETICIA         OVIEDO                    CA     90013318112
98183954381634   SAMANTHA        O'BRIEN                   MO     29059069543
98184948393755   KORTNIE         BREWER                    OH     90014769483
98186531161939   KATIUSKA        AGUILAR                   CA     90010555311
98187334661977   KATRINA         QUEZADA                   CA     90010373346
98188779857563   MARTHA          JURADO                    NM     35501377798
98188996461927   JANET           OWENS                     CA     90010299964
98191857661927   CATRIN          LEWIS                     CA     46075538576
98192614577537   NEIDA           FLORES                    NV     90009806145
98193559957563   FRANK           JAFFE                     NM     90014645599
98193914691951   MICHELLE        CASSAMAJOR                NC     90011729146
98194914691951   MICHELLE        CASSAMAJOR                NC     90011729146
98195634561977   AIOTEST1        DONOTTOUCH                CA     90015116345
98195914691951   MICHELLE        CASSAMAJOR                NC     90011729146
98196579957563   PERSCILLA       BELTRAN                   NM     90010505799
98196679981639   PORCHA          PIERCE                    MO     90014716799
98197774555951   TERRI           LEROSA                    CA     90011117745
98197914691951   MICHELLE        CASSAMAJOR                NC     90011729146
98198164157563   MIGUEL          SIERRA                    NM     90013611641
98198957272435   JOSHUA          KETTERMAN                 PA     90013949572
98212226755951   JOSIE           HAYNES                    CA     49015372267
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98213329693755   QRASHEMIA         JOHNSON                 OH     90013393296
98213725955951   MARIA             RODRIGUEZ               CA     90013667259
98215176177537   LORENA            QUINTANILLA             NV     90009021761
98215843991599   TANNIA            NIETO                   TX     90004288439
98217337193755   TRACY             VANDERPOOL              OH     64591703371
98217422172435   PAYGO             IVR ACTIVATION          PA     90014224221
98219832155951   ERIC              GUTIERREZ               CA     90012988321
98221119661927   STEVE             HALLAUER                CA     46076721196
98221213891951   SHAKIRA           ROLLE                   NC     90011732138
98222642161977   BERNADETTE        HOUSTON                 CA     90012026421
98225362291399   GUADALUPE         ORTIZ                   KS     90013153622
98227397193755   LORIE             CASSETY                 OH     90002333971
98227498655951   MICHELLE          MARQUEZ                 CA     90014744986
98227778733638   YOLANDA           GERMAN                  NC     12059077787
98228437951325   DANIEL            MESCHER                 OH     90001584379
98231654681634   TYRELL            JONES                   MO     90013606546
98231715841296   LAMARR            KEMP                    PA     90015307158
98233573181634   NICHOLE           PARANGUEO               MO     29021165731
98235316272435   JEFF              URICK                   PA     51008823162
98235445291399   TIMOTHY           SMITH                   KS     90006904452
98235634561977   AIOTEST1          DONOTTOUCH              CA     90015116345
98235721955946   ANA               LOPEZ                   CA     90007927219
98235744381639   LAQUEDRA          HOLMAN                  MO     90014717443
98236391491599   BARRON            ZULEMA                  TX     90005033914
98238191261925   CESAR             NOLASCO                 CA     46095871912
98238747193755   BRITTANY          COTTRELL                OH     64522897471
98238925381634   SILVINA           SAVEDRA                 MO     29020389253
98239497591951   SHERRELL          RILEY                   NC     90011754975
98239517393755   AMBER             RUIZ                    OH     90007365173
98242781933638   SHAKISHA          PRICE                   NC     12021937819
98242992655963   RHONDA            CARDER                  CA     90010689926
98243448641296   NICOLE            GETZ                    PA     90005934486
98243698681634   FRANK             JOHNSON                 MO     90015396986
98244222377537   GONZALES          GILBERTO                NV     90008022223
98246449993755   ANNE              SHOCKEY                 OH     64598654499
98247837172435   SHANTAY           SNYDER                  PA     90006078371
98248331581639   JAMES             JONES                   KS     90014863315
98257414191599   FERNANDO          AYALA                   TX     90013624141
98259246881634   MARY              ZAVALA                  MO     90010972468
98259548161927   JESSICA           DOMINGUEZ               CA     90001005481
98263285257563   CHRISTINA         ROMAN DOZAL             NM     90009252852
98263715281634   MICHELLE          ROBINSON                MO     90013337152
98264638847945   BRANDI            LONG                    AR     90014156388
98265535991599   CLAUDIA           VIGIL                   TX     90009865359
98266728933638   WALLACE           CLINTON                 NC     90005207289
98266946757563   SOCORRO           CABALLERO               NM     90008189467
98267691191399   MALICE            ZIOPE                   KS     90008666911
98268952861977   JOSEPH            BROWN                   CA     46064269528
98269764861977   MATTHEW           NARANJO                 CA     46064357648
98271273755951   MICHAEL           CROCKETTS               CA     90003952737
98273431881637   SHAWN             HOLSWORTH               MO     29010264318
98277176781634   OSCAR             HERNANDEZ               MO     90015211767
98277633561927   IDALIA            ZARES                   CA     46022726335
98278425181639   JUDY              MCCLARIN                MO     90009354251
98282726255951   ALICIA            OROZCO                  CA     90002677262
98282928141296   DARNELLA          COFFEY                  PA     51043709281
98283658791399   YOLANDA           ALCALA                  KS     90013946587
98284851477537   ELODIA            ALFARO                  NV     90015118514
98286578861927   CRISTINA LA REE   FARREL                  CA     90003245788
98291295877537   KARL              LUM                     NV     43086392958
98291423481634   PAUL              ROEBUCK                 MO     29066634234
98291832181639   MICHAEL           MITH                    MO     90014968321
98292574191927   THOMAS            CONRAD NEWMAN           NC     17096505741
98292676581634   ALICIA            KINNEY                  MO     29090106765
98292948177537   EMILY             LAWRENCE-PHALAN         NV     43097059481
98293358881639   AFANO             VISINIA                 MO     90011273588
98294273881639   DEDRA             DRAPER                  MO     90014782738
98294973193755   BRIANA            BALES                   OH     90012219731
98297119661927   STEVE             HALLAUER                CA     46076721196
98298693681634   CHASATIE          FISHER                  MO     90013996936
98298794591599   MARIBEL           DE SANTIAGO             TX     75078337945
98299265677537   ADELA             MONTANO-VALDEZ          NV     90015112656
98299543681634   RANDY             TOPPING                 MO     90013695436
98311665372435   VALERIE           BORKOVICH               PA     90014186653
98312829955951   VERONICA          MIRANDA                 CA     90004168299
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98313353691951   JUDITH       PEELE                        NC     90013713536
98313828391242   RENE         GARCIA                       GA     90013628283
98314132491599   YVETTE       HERNANDEZ                    TX     75033801324
98314434955951   VINCENT      GARCIA                       CA     90000774349
98314618957563   ARTHUR       GOLDEN                       NM     90014706189
98316918281639   HELADIO      LOPEZ                        MO     90013159182
98316929581634   EDUARDO      CILVA HORTELANO              MO     90012189295
98317586141296   GEORGE       HUNT                         PA     51087215861
98317817572435   DANIELLE     ARNER                        PA     90010308175
98318461391951   PAYGO        IVR ACTIVATION               NC     90004584613
98318693657563   LUCY         OCHOA                        NM     35503086936
98319842361977   JESUS        ROJAS                        CA     90010418423
98323195441296   HEATHER      MUR                          PA     90005261954
98324653661977   NEGTALI      ROJAS                        CA     46042856536
98324776357563   RODRIGO A    ESTRADA                      NM     90001247763
98325884491599   CANDY        VILLEGAS                     TX     90003408844
98328621877537   CLAYTON      ROBERT                       NV     90014676218
98328824757563   CASAS        SILVIA                       NM     90006528247
98328835561977   JOSE         CORTEZ                       CA     46020688355
98329114155999   CESAR        MARTINEZ                     CA     49076471141
98329134741296   MELISSA      SNYDER                       PA     51032441347
98329531277537   INES         VENCEZ                       NV     90010775312
98332637871942   CHARLOTTE    HARDING                      CO     90012816378
98332761761977   AMIR         HABIBI                       CA     90012867617
98332776357563   RODRIGO A    ESTRADA                      NM     90001247763
98335597981634   MATTHEW      KAPP                         MO     29074285979
98335656891599   DELILA       VILLARREAL                   TX     90010966568
98337466477537   TRACY        LEIGH                        NV     90014824664
98337712391399   BRANDON      TAYLOR                       MO     29013637123
98339241555951   MARGARITO    TERRAZAS                     CA     90011942415
98339498655951   MICHELLE     MARQUEZ                      CA     90014744986
98339945961977   MIGUEL       HILARIO                      CA     90010869459
98342843277537   JOSEPH       CALLEROS                     NV     90011108432
98344936141233   SHARICE      BLEDSOE                      PA     90013479361
98345218891599   ZULY         SILVADORA                    TX     90010692188
98346223791599   PERLA        ALVARADO                     TX     90011012237
98346549971936   LISA         CORRAL                       CO     90005465499
98346864655951   MARTHA       SALINAS                      CA     90011118646
98347638793782   CHRIS        STRINGER                     OH     90013066387
98347769257563   MARIA        HERNANDEZ                    NM     90014697692
98348834181634   JAMES        BROOKS                       MO     90014768341
98349694855951   JUAN         BERBER                       CA     90014586948
98351464391399   PEDRO        RUIZ                         KS     90012694643
98352694855951   JUAN         BERBER                       CA     90014586948
98354274981639   THEODORE     BRANCH                       MO     29005582749
98356292841296   MARY         LEONE                        PA     90010742928
98356441377537   CHARLES      WALKER                       NV     90012684413
98356854984361   WILLONA      KINSEY                       SC     90008288549
98358562457563   NOE          VILLA                        NM     90011255624
98358766755951   EDWIN        BONILLA                      CA     90014157667
98359731755951   SHEILBY      RICHER                       CA     90001377317
98363364641296   CINDY L      CLYMIRE                      PA     90013993646
98363527657563   NOHEMI       RAMOS                        NM     90015135276
98364149261977   MARCO        DIAZ                         CA     90014911492
98364656891599   DELILA       VILLARREAL                   TX     90010966568
98364682872435   JAMEY        SUMMERS                      PA     90011036828
98365825557563   GLENDA       TELLEZ                       NM     90014488255
98366585881639   FELIX        PORTER                       KS     29013675858
98366935333641   LACRETIA     BENTON                       NC     12016279353
98366958155951   HEATHER      BLOOMER                      CA     90009079581
98367938255951   LUIS         ROMERO                       CA     49047089382
98369959681639   MARCELLUS    WALKER                       MO     90014719596
98371959681639   MARCELLUS    WALKER                       MO     90014719596
98372626791955   SELVIN       RAMIREZ                      NC     90011146267
98373219177537   JOSUE        AVILA                        NV     90000862191
98374112181634   KYLA         DAVIS                        MO     90014691121
98374643177537   NICOLE       WILLIAMS                     NV     90010196431
98375568577537   ABAD         GARCIA                       NV     90001655685
98377336172435   TERESA       DAILEY                       PA     51014613361
98377959681639   MARCELLUS    WALKER                       MO     90014719596
98381896957563   ANDRES       FIERRO                       NM     90014718969
98383233581635   ANDRE        GRANT                        MO     29067582335
98383323955951   JOHN         OJEDA                        CA     90002123239
98383634355951   RAMON        GONZALEZ                     CA     90014826343
98384935472435   DOUGLAS      TURK                         PA     90008409354
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98385236181639   FREDRICK     REED                         MO     29091592361
98385362791399   STEPHANIE    NELSON                       KS     90008733627
98386245661992   MARTIN       MACIAS                       CA     90012122456
98388871381635   BETSY        GRAHAM                       MO     90011428713
98392125151325   LATEFA       HUGHES                       OH     90008381251
98393458291599   BRENDA       RAMOS                        TX     90006084582
98393579455951   ROBERT       ADAME                        CA     49080185794
98394244556345   CHET         STICKEL                      IA     90014632445
98394313641296   ARTHUR       ROLLAND                      PA     90000773136
98394483391399   JUAN         PEREZ                        MO     90015304833
98395191981639   SHANIE       COUNCE                       MO     90014731919
98398158685842   SAMUEL       DUFFY                        CA     90012801586
98398195281634   GREGORY      FRANKLIN                     MO     90013981952
98398513481634   TIFFANY T    FORD                         MO     90011065134
98399291857563   JOHNSON      TAMY                         NM     90006992918
98413687493732   CLARENCE     THAXTON                      OH     90003936874
98416216593755   HEATHER      LAWSON                       OH     90014622165
98416234781634   LORIN        DOENTON                      MO     90002402347
98417127731625   SHELDON      MILTON                       KS     90011891277
98417198681639   CHRIS        MANN                         MO     29009951986
98417641991399   SCOTT        SAMPLE                       KS     90011786419
98418468331624   ALETA        DEVINE                       KS     90000234683
98421156857563   CHRISTOPHE   HERNANDEZ                    NM     35569191568
98423662391399   GERALDINE    EASTMAN                      KS     90011786623
98423688481634   KASSY        KETTER                       MO     90007546884
98425479977537   JOELLE       COFFMAN                      NV     90008044799
98425645891399   VICTORIA     OVANDO                       KS     90010286458
98426835955951   LUIS         MARQUEZ                      CA     90011358359
98426971157563   LEIYONA      YOUNG                        NM     90006669711
98427185657563   PATRICIA     ALVARADO                     NM     90014721856
98427851477537   ELODIA       ALFARO                       NV     90015118514
98428679461977   MARIA        BORUNDA                      CA     90011366794
98431641361977   JOSE JESUS   CARMONA                      CA     90010036413
98432569272435   JOSH         MCWILLIAMS                   PA     51000505692
98433631791242   TONY         VINCENT                      GA     90011396317
98434377141268   RONALD       BUTLER                       PA     90012983771
98434717781634   MARIO        SEGURA                       MO     90013337177
98435256361927   CHRISTIAN    ARAGON                       CA     90005952563
98435676691599   VERONICA     AYALA                        TX     90010536766
98439255372435   CARLIE       MINEARD                      PA     90014642553
98441658441296   ANTHONY      WRIGHT                       PA     90001466584
98442127293755   JOHN         DANIELS                      OH     90014961272
98442847157563   RUBY         FRANCO                       NM     90012668471
98444558451338   LAYLAND      CAVE                         OH     90007725584
98445158357563   RACHEL       FRANCO                       NM     35530081583
98447139625128   LAURA        ANDERSON                     AL     90014781396
98447348191399   CECILIA      REYES                        KS     90014773481
98449219291399   JOSE         CASTILLO                     KS     90014922192
98451115681634   RAYSHAWN L   DENNIS                       MO     90014691156
98451766681639   LISA         OKAN                         MO     90011467666
98454948861977   TRINIDAD     ZAMBRANO MELENDEZ            CA     46065809488
98455376593732   SONYA        MOORE                        OH     90005323765
98455863357132   DALINAH      ALGARIN                      VA     90011548633
98455916281635   CARNIKA      TURNER                       MO     90010129162
98456547293732   CHRIS        CATBERTH                     OH     64509535472
98457753893755   QUARMILEY    JOY                          OH     64529267538
98457826872435   JOHN         FRY                          PA     90014678268
98458717972435   JACQUELENE   MALCOLM                      PA     90014797179
98458826872435   JOHN         FRY                          PA     90014678268
98459663177537   WALLACE      KIDD                         NV     90010146631
98461134561927   PERLA        ORTIZ                        CA     46070551345
98461926257563   CHRIS        MORENO                       NM     35543919262
98463464157563   AMERICA      VASQUEZ                      NM     90014734641
98463595491951   FREDRICKA    PHELPS                       NC     90001005954
98463849455951   DANIEL       GARCIA                       CA     49089188494
98465787693755   MICHAEL      HALL                         OH     64547497876
98465814555951   ADRIANA      ENCISO                       CA     90014158145
98465917757563   YOLANDA      SANDOVAL                     NM     35502109177
98466714881634   LAKISHA      TOLFREE                      MO     29057367148
98466827391951   TARKITA      DELOATCH                     NC     17072848273
98468295981634   BETTY        BOYD                         MO     90014372959
98468526891547   ROBERT       YRUEGAS                      TX     75016745268
98469278791553   SARA         RAYA                         TX     90011962787
98471328591882   VICKEY       COWSERT                      OK     21016793285
98472745377537   JOHN         ANDERSON                     NV     90010877453
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98473253593755   DAARINA            DAVIS                  OH     64564732535
98474251481639   LEOLA              WEGER                  MO     90014732514
98475362857563   JANEL              IRVIN                  NM     90014743628
98477142931624   MONETTE            JENNINGS               KS     90010411429
98478428472435   KYLEIGH            COX                    PA     90014804284
98482315777537   ASHLEY             MARTINEZ               NV     43098413157
98482588393755   KATHY              WILLIAMS               OH     90010495883
98485155561982   GUADLUPE           RAMIREZ                CA     90015091555
98486789381634   HERMINIA           OLIVAS                 MO     90014377893
98489449891599   GRISELDA           GARCIA                 TX     75035974498
98489593181634   DERMON             WASHINGTON             MO     90015205931
98495989177537   ELISEO             GOMEZ                  NV     90014449891
98497222181635   MEGAN              PICKERING              MO     90008642221
98497597957563   JOHN               HUNT                   NM     90014735979
98497819581634   ABRAHAM            LANDEROS               MO     90010658195
98498597957563   JOHN               HUNT                   NM     90014735979
98499259191399   MERRI              YOUNT                  KS     29002192591
98499438661977   YANELLA            MARTINEZ               CA     90013174386
98511182281639   VERNELL            HAYNES                 MO     29026801822
98512172861977   HANUMANTHA         YALAMANCHI             CA     90010441728
98512371581639   ADRIANA            JIMENEZ                MO     90014733715
98514631971936   RAUL               ESTRADA                CO     38012416319
98516244255951   CRISTINA           THOMAS                 CA     90014292442
98516923691579   INES               SOSA                   TX     75065029236
98518379672435   NANCY              FIELDS                 PA     90008533796
98518715257563   DESTINEE           SEAWOLF                NM     90011267152
98519179655963   FRANK              GONZALES               CA     90012801796
98523179377537   NADIA              RAMIREZ-RUBIO          NV     90014791793
98524419361977   LISA               TABLER                 CA     90011394193
98524734657563   NANCY              SALAS                  NM     90014737346
98527734657563   NANCY              SALAS                  NM     90014737346
98528289891599   ISELA              MADRID                 TX     75002262898
98529937955951   SANDRA             CARRILLO               CA     90011119379
98531734657563   NANCY              SALAS                  NM     90014737346
98534482977537   JUANA              PARTIDA                NV     90008124829
98534589461977   NAZDA              VALDEZ                 CA     90013785894
98535944181639   CRYSTAL            MCCLOYN                KS     90014969441
98536963691955   BRENDA             YOUNG                  NC     90011719636
98537399281639   MAKISHA            DUNN                   MO     90014763992
98538828893755   SAM                TOLER                  OH     90015238288
98539496772435   RANDALL            RATTI                  PA     90015144967
98539679581639   CATHERINE          BARTOW                 MO     29080726795
98539712261977   APRIL              BISHOP                 CA     90012307122
98541199481634   CHAO               VANG                   MO     90004301994
98541624491599   LORENZA            ROQUE                  TX     75051166244
98542882161927   AL                 MCGOWEN                CA     90007798821
98544441981639   DAN                MILLER                 MO     90014734419
98544699881639   RAMIRO             MARTINEZ               MO     29018576998
98545795891951   CHY-LEA            HICKS                  NC     90011797958
98549287593755   RODNEY             HOUSE                  OH     90012492875
98549897955999   JESSE              COTA                   CA     49022108979
98551246593732   JAMES              TUCKER                 OH     64544252465
98551921941296   VERNEESA           KERSHAW                PA     51097519219
98552795991599   JESUS              ALMANSA                TX     90010997959
98556229577344   MARIO              REYES                  IL     90010322295
98556243457563   SONIA              RODRIGUEZ              NM     90014842434
98557161791934   ANTOINE MICHELLE   LOVE                   NC     90015131617
98557637691934   ANTOINE MICHELLE   LOVE                   NC     90012106376
98557827855951   CARMEN             SOTO                   CA     90003368278
98558478881639   SAMANTH            PERRIGO                MO     90014734788
98559174581634   CHERYL             REEVES                 MO     29001741745
98559268291599   ARCHIE             BRIDGES                TX     90011012682
98559916893755   VONDA              FORD                   OH     64534319168
98562135191951   CHRISTIAN          PEREZ                  NC     90011801351
98562439991599   GABRIELA           ESCARZAGA              TX     90000504399
98562467651328   LOLITA             BOYKINS                OH     90008314676
98563132555951   JOSE LUIS          HERNANDEZ              CA     90013601325
98563221991399   CEDRIC             JORDAN                 KS     90007472219
98564748191399   CYNTHIA            ACOSTA                 KS     29001357481
98565269561927   CYNTHIA            CRUZ                   CA     46021132695
98569413491951   DARRYL             WILLIAMS               NC     90011804134
98569792491599   ZULMA              MEDRANO                TX     90012697924
98571176177537   LORENA             QUINTANILLA            NV     90009021761
98571689591399   JORGE              SANCHEZ-PEREZ          KS     90003166895
98573889193755   DEANNA             BERGHOEFFER            OH     90011508891
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98573973581634   MELISSA               WEST                MO     29000879735
98574328591399   DENISE                STAFFA              KS     90013933285
98574795581634   SHANNON               MARTIN              MO     90007697955
98575518891951   KATHERINE             HARDNETT            NC     17076035188
98576475481637   NIKKI                 GRIGGS              MO     90013304754
98577698355951   JUANCARLOS            ARVIZU              CA     49080326983
98577914255951   CYNTHIA               MORA                CA     49096579142
98578528381639   SPENCER               PICKENS             MO     90014735283
98578644255951   GUADALUPE FERNANDEZ   CORTEZ              CA     90009496442
98582268441296   FRANK                 LOCUST              PA     51075212684
98582795391599   BENJAMIN              ORTEGA              TX     90013567953
98583293793748   AMBER                 HEINE               OH     90001662937
98584287661927   LAURA                 ANSELMO             CA     46023252876
98584426791579   DANIEL                DAVILA              TX     90011734267
98586357861977   DAVID A.              DIXON               CA     46088093578
98587837491599   OSCAR                 BARRAZA             TX     90008728374
98587865861977   SAUL                  PLAZA               CA     90013068658
98592825881639   FERNANDO              ARIZPE              MO     90011258258
98593235857563   MAYRA                 OLIVAS              NM     90014912358
98593375793755   LEROY                 POTTER              OH     90014693757
98593765661927   JESSIA                KHUENN              CA     90001817656
98595434381634   EULALIO               VASQUEZ             MO     90009654343
98596257593748   BRIDGET               DOUGLAS             OH     90011892575
98596335661977   VICTORIA              GADEA               CA     90012773356
98596965761977   RICHARD               LUTZ                CA     90010869657
98597195441296   HEATHER               MUR                 PA     90005261954
98597612281639   CELASTINA             PEREZ               KS     90014736122
98611146491399   GERARDO               VAZQUEZ-PEREZ       MO     90012721464
98612919881634   JUSTIN                SCHILLING           MO     90004539198
98613947385951   DARINEL               RINCON              KY     90013559473
98614155781639   BETH                  FITZGERALD          MO     29045801557
98615732455951   LAURA                 AVILA               CA     49092597324
98616868957563   EVELYN                ARMENDARIZ          NM     90014748689
98619895191599   ROBERT                LUJAN               TX     75078248951
98621161577521   SCOTT                 PIERCE              NV     90005461615
98621664241296   BRITTANY              ROSEN               PA     90010846642
98621729681639   RAYN                  KERMER              MO     90014737296
98622181155951   BERNARDINO            SANTIAGO            CA     90014431811
98623524361977   FERNANDO              SALGADO             CA     90006865243
98624714441296   KEITH                 MOLINARI            PA     90003257144
98626434141296   CHRISTIAN             BASTYR              PA     90007704341
98627466261977   SANDRA                JENNEY              CA     46039514662
98627987657563   OSCAR                 GALVAN              NM     90010619876
98628779257132   JENNIFER              DOUGLASS            VA     90006397792
98628839881634   ERICA                 MCKELVY             MO     90007548398
98628928877537   JOSE                  LOPEZ               NV     90012969288
98629529693755   TONY                  HOWARD              OH     90007835296
98629778881639   STEPHANIE             BROWN               MO     90014737788
98631667955951   KIVA                  FORD                CA     90005276679
98632798455951   DALLEN                JOHNSON             CA     49052117984
98633347833638   DAWN                  HOLMES              NC     90004603478
98634551791544   PERLA                 MATA                TX     90012155517
98634823393755   WALTER                ROBERTS             OH     90013018233
98635235791399   NORMA                 MARTINEZ            KS     90005032357
98635916793732   DONALD                RITTER              OH     90012119167
98636356957563   ANABEL                JAQUEZ              NM     90008633569
98636964985689   SAIRLEY               DOWNING             NJ     90013479649
98641387355951   ELIDA                 YLIANA SOTO         CA     90004653873
98642327857563   LARAY                 ATLAS               NM     90006893278
98643442741296   DENISE                BROOKINS            PA     51023864427
98646554561954   OSCAR                 SOSA                CA     46006275545
98648311591599   SANDRA                RAMIREZ             TX     90011013115
98648575381639   CURTIS                DRAFFEN             MO     90014745753
98649441791399   JASON                 PETERS              KS     90011944417
98651321491599   PRISCILLA             REYES               TX     90011013214
98651588381639   ERMELINDA             VILLAGREZ           MO     90014745883
98652116791399   ZOEUNDRA              MCCAINE             KS     90015131167
98652838381635   BRIANNA               MITCHELL            MO     90010888383
98653217455951   YOSELIN               PARRA               CA     90015312174
98655744931448   BRENDA                THOMAS              MO     90001247449
98657557457563   LAURA                 MEYRAND             NM     90014775574
98657681561977   DIANA                 NUNEZ               CA     90014826815
98658731757141   ROSA                  LOPEZ               VA     90006447317
98659173781635   BRENDA                HETHERINGTON        MO     29004391737
98661671755975   ARTURO                ZARAGOZA            CA     90004206717
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98661987481634   KRISTINE      GENSHAW                     MO     90012659874
98662117257563   DANIEL        SIMERSON                    NM     90010021172
98664226961973   BLANCA        MARTINEZ                    CA     90011602269
98665912557563   TRICIA        CLARK                       NM     90014539125
98666755277537   JAIRO         FLORES-MENENDEZ             NV     90013027552
98667218841296   TEMYKA        AKERS                       PA     90014502188
98667762891882   JOSEPH        BRAY                        OK     21066217628
98669198857165   ANNA          MARIE SEIDMAN               VA     90002951988
98671261857563   MERCY         HERNANDEZ                   NM     90001822618
98671732291599   LUISA         MONTELONGO                  TX     75021257322
98672117281634   KIEK          HUNLEY                      MO     90014811172
98672533681639   DANIEL        WALTERS                     MO     90008955336
98675341677537   GAIL          BOBERG                      NV     90002983416
98675491221832   CHARLESETTA   BLAH                        MN     90010394912
98675889555951   CATHLEEN      LANDERS                     CA     90012418895
98676622781639   SHARON        HAMILTON                    MO     90011916227
98678411441296   SHERRY        SCHMIDTETTER                PA     51073284114
98678473557563   DAVID         GARCIA                      NM     90014784735
98683955193755   NICOLE        PERRY                       OH     64505569551
98684488391599   MAYRA         APODACA                     TX     90012654883
98685654981639   NAKITA        FREEMAN                     MO     90014746549
98685766655951   GLADYS        MATA                        CA     90008047666
98685962993782   GEORGE        JONES                       OH     90011329629
98686453877537   CARLA         ANDRADE                     NV     90014624538
98687744761977   ALEX          RIVERA                      CA     90012317447
98688223941296   YVONNE        ROBINSON                    PA     51077482239
98691341481635   LUIS          SANCHEZ                     MO     29004673414
98692141277537   DAVE          RAY                         NV     43047771412
98692232681634   HALEY         KRAMER                      MO     90005332326
98696334741296   MICHELLE      MCCABE                      PA     51012723347
98696439281634   ROSE          PETERS                      MO     29038254392
98699613657563   ELISA         VILLESCAS                   NM     90014786136
98711277893755   TIFFANY       HARRIS                      OH     90014852778
98712293761977   HORTENSIA     MURILLO                     CA     46062012937
98713112891599   ISAMAR        HUERTA                      TX     75015611128
98713287493726   JENNIFER      PARRIS                      OH     90014862874
98713423157563   NANCY         GONZALES                    NM     90014794231
98714158181634   ZAYRA         GONZALEZ                    MO     90003541581
98716996541296   ANTONINETTE   EUBANKS                     PA     90003859965
98717393177537   BONIFACIO     VILLALOBOS                  NV     90012903931
98717986561977   ENRIQUE       LOPEZ                       CA     90012839865
98719686677537   LESLIE        SCHULENBERG                 NV     90003416866
98722363991399   MOHAMMED      MAHMOOD                     KS     29029453639
98722735171964   KADEAN        BAKER                       CO     33088137351
98723176781634   OSCAR         HERNANDEZ                   MO     90015211767
98724934791399   ROBERT        SAALE                       KS     90011679347
98724938861977   JEFFREY       VASQUEZ                     CA     90014869388
98727585181635   GENIES        OLMSTEAD                    MO     90008025851
98727696361977   LATOYA        BOLDEN                      CA     90014056963
98731755791599   JUAN          DOMINGUEZ                   TX     90014157557
98732266591599   BOBBY         CONTRERAS                   TX     90001792665
98732622491959   KEWANDA       POWERS                      NC     90010466224
98732721761977   MARIA         ALMERAZ                     CA     46041777217
98733312293732   PAULINE       ROBERSON                    OH     64595983122
98735219991953   CHRIS         VIVERETTE                   NC     90007752199
98735683781635   GENEVA        MATAMOROS                   MO     90006746837
98738139991399   ALBA          MATA                        KS     90013151399
98738975155951   SARA          CANO                        CA     49074249751
98743217455951   YOSELIN       PARRA                       CA     90015312174
98743724455951   JESSIE        KEAR                        CA     90008377244
98744347391884   LASHONDA      YOUNGBLOOD                  OK     90014143473
98744427271922   MONICA        BALDERRAMA                  CO     90012634272
98745549677537   RAUL          MELENDEZ                    NV     43054575496
98745867793755   SHAINA        BRINKIEL                    OH     90006468677
98746438893755   TUMEKA        JAMES                       OH     90008314388
98746825581639   DAVIA         HOWELL                      MO     90014748255
98747646993736   RENEE         SAMS                        OH     90001046469
98749388457563   JUAN          BENAVENTE                   NM     90008293884
98749658381639   BARTOLO       ARVIZU                      MO     90012736583
98753127257563   ANA           ESCOBEDO                    NM     35556671272
98753259591951   SAMALIA       JACKSON                     NC     90011842595
98753384177537   JASON         RAPP                        NV     43068063841
98754831855951   JAVIER        GARCIA                      CA     90011898318
98755145241296   OMECCA        OAKLFORD                    PA     90014181452
98756244681639   JESSICA       CARTER                      MO     29034792446
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98756527657563   NOHEMI       RAMOS                        NM     90015135276
98757268691399   IDELISA      SOLIS                        KS     90009562686
98757521991599   SAMUEL       ROSE                         TX     90014395219
98757761757563   ROBERT       LAMBE                        NM     90014807617
98759394381635   NATHAN       JONES                        MO     90009563943
98761341361977   VICENTE      ARELLANO                     CA     90013183413
98761832961977   JENNIFER     LOPEZ                        CA     90013248329
98762674857563   JOSE         SANCHEZ                      NM     90014806748
98767128791882   APRIL        LIPP                         OK     21091921287
98768873125296   COREY        CHEEK                        NC     90007898731
98773691941296   BARBARA      KING                         PA     90014746919
98773986593755   TAWANA       LARRY                        OH     64543919865
98774932533638   LARONICA     VANCE                        NC     90000869325
98776539557563   ROSEMARY     ZAPATA                       NM     35523295395
98777644755951   MERCEDES     HER                          CA     90011376447
98777761757563   ROBERT       LAMBE                        NM     90014807617
98778791157563   ROBERTO      GARCIA                       NM     90014807911
98781393961977   JENNIFER     TREVIÑO                      CA     46088633939
98784725657563   CANDELARIO   AVALOS                       NM     90009677256
98785685857563   DANELL       JONES                        NM     90014836858
98785711233638   HOLT         MCCOLLUM                     NC     90006787112
98787469377537   SHEREE       BAILEY                       NV     43099464693
98787829861977   NICOLAS      LEAL                         CA     46098558298
98789972981639   MARIA        QUEZADA                      MO     29029079729
98789992991599   CARLOS       VARELA                       TX     90011429929
98791185977537   JOHN         SCHROEDER                    NV     43079311859
98793642355951   GINA         SWEARINGTON                  CA     90001636423
98793741391599   ERIC         VELEZ                        TX     75057407413
98794366855951   AMANDA       MYLES                        CA     49085733668
98795341555951   SUGEITH      REYES                        CA     90007103415
98796954657563   KARINA       ARIAS-RODRIGUES              NM     90011559546
98797645391399   ROBIN        STEWART                      KS     90015126453
98798114581634   PATRICK      TOLBERT                      MO     90010911145
98798619151328   VALERIE      WAGNER                       OH     90007976191
98799256393732   JANIE        VOLSKI                       OH     64569852563
98799774757563   NORMA        CARMONA                      NM     90007247747
98799828581639   DARREN       ARREOLA                      MO     29050618285
98812311791553   LORRAINE     BURROLA                      TX     75016523117
98813813757563   OSCAR        HERRERA                      NM     90014838137
98815676291599   GRACIELA     ARMENDAREZ                   TX     90013256762
98818913741296   BREANNE      REYNOLDS                     PA     90013979137
98819429857563   KIMBERLY     TELLEZ                       NM     90014564298
98819563491599   ROSA         ALVIDERZ                     TX     90006235634
98819783161977   KELLIE       BUCKHANAN                    CA     90002677831
98821739991885   DONNIE       TRYON                        OK     90000377399
98822664391399   VIVIANA      TRUJILLO                     KS     90013786643
98822931381688   MELISSA      NESTLERODE                   MO     90005799313
98823644185922   DELBERT      HAMPTON                      KY     90001986441
98823645357563   LIVINGSTON   VICTORIA                     NM     90007106453
98823719431459   DIANA        KIRKPATRICK                  MO     90011717194
98824411477537   JESSICA      RAMOS                        NV     90002744114
98824646357563   MARIA        OLIVAS                       NM     35509906463
98824789455951   JESSICA      BARRAGAN                     CA     90014337894
98825325457563   SERVANDO     SALINAS                      NM     90010093254
98825561755951   ENRIQUE      GONZALEZ                     CA     90013055617
98826648691599   LILIANA      CANALES                      TX     75030026486
98826823281635   CHARLI       BALTIMORE                    MO     90005138232
98826823841296   VINCENT      HARRIS                       PA     90013928238
98827744761977   ALEX         RIVERA                       CA     90012317447
98827859357563   CHRISTINA    SANCHEZ                      NM     90014838593
98827982757563   EDUARDO      ZAMORA                       NM     90014889827
98831864957563   STEPHANIE    MORENO                       NM     90014838649
98833367377537   ADALBERTO    CHAVEZ                       NV     43016583673
98833457857563   ELIZABETH    AGUALLO                      NM     90009474578
98834182891599   JOSE         VALENZUELA                   TX     75087231828
98834736761977   JUAN         PAPAQUI                      CA     90010487367
98835932561927   JOSE         ARRIAGA                      CA     90007169325
98836333491399   DERIC        MILLER                       KS     29094813334
98836851781639   ROBERT       CRAWFORD                     MO     90010258517
98839655481634   MATAIJAH     WOODLEY                      MO     90014826554
98839662591399   DONNA M      SUMMERS                      KS     90003176625
98839827731424   JOHN         RUCKERT                      MO     90005538277
98841517181637   SEBIRNA      WILLIAMES                    MO     29004925171
98841733872435   JAMES        HOLSINGER                    PA     90006567338
98841953577537   RACHEL       MORENO                       NV     90005989535
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98842881151351   MELISSA      FRANCIS                      KY     66045118811
98846624491399   JEANINE      SMITH                        KS     29094816244
98847416791951   SHARON       ROBERTS                      NC     17063594167
98848932555975   MARIBEL      GOMEZ                        CA     90013899325
98849678193732   GAIL         JONES                        OH     64573196781
98851953373261   FELIPE       GARCIA                       NJ     90014209533
98853913355963   STEVEN       MIGUEL                       CA     90014939133
98854284861956   EMILY        SCHAEDLER                    CA     46070772848
98854366557563   ELLIOTT      JHERI                        NM     90012043665
98854769181637   MARIA        CORONA                       MO     29036687691
98855373857563   MARIA        PRIETO                       NM     90010823738
98856256272435   RANDY        ELKO                         PA     51019952562
98856289791399   ADELA        MOLINA                       KS     29016882897
98857188191599   DALIA        MESA                         TX     75075441881
98857863172435   KENNETH      BLAIRE                       PA     90004898631
98858189281639   SHALONDA     THOMAS                       MO     90011371892
98861167891599   RAMONA       SAENZ                        NM     75009521678
98861565541296   FRANKLYN     HIGGS                        PA     90011065655
98865793581637   MICHAEL      BUTTLER                      MO     29079907935
98865858455951   SYLVIA       GRACIA                       CA     90014938584
98866133357563   JUAN         REYMUNDO                     NM     90007931333
98867856681639   LOUIS        WALKER                       MO     90000538566
98868699955951   MONICA       ALONZO                       CA     90013116999
98869313941296   CHRISTIE     HAMMONDS                     PA     90012133139
98869418161978   LINDA        GONZALEZ                     CA     46091774181
98871155593755   YOLANDA      HART                         OH     90014841555
98871416791951   SHARON       ROBERTS                      NC     17063594167
98872987191599   PAUL         GUZMAN                       TX     90014069871
98874683981639   HUEY         NELLIGAN                     MO     90000156839
98875866441296   ALANA        POWELL                       PA     90013508664
98877432991599   CIELO        SALAS                        TX     90011014329
98879414857563   CLARISA      REZA                         NM     90011294148
98879523391399   ANTONETTE    MARTINEZ                     KS     29094015233
98882911555951   BEATA        GOMEZ                        CA     90011139115
98883726591399   ALEJANDRO    FERNANDEZ                    KS     29068527265
98887919891599   ROBERTO      LUCERO                       TX     75005059198
98888473671945   ANGEL        TORRES                       CO     32093294736
98888688757563   ALEJANDRO    LAZO                         NM     90010036887
98888791977537   MARIO        VIDRIO                       NV     43030997919
98888856873261   PREPAID      CUSTOMER                     NJ     90015138568
98888989681639   VERONICA     ASHLEY                       MO     90012349896
98889484581639   CONSTANCE    FRANKLIN                     MO     90004034845
98889618572435   NOEL         JIJON                        PA     90004096185
98891141993755   MARK         TYREE                        OH     90009911419
98891399981635   S JANE       WHEELER                      MO     90009563999
98892539557563   ROSEMARY     ZAPATA                       NM     35523295395
98895492757126   MARTIN       SALVADOR                     VA     90012834927
98896199257563   GABRIEL      SAIZ                         NM     90014881992
98897199257563   GABRIEL      SAIZ                         NM     90014881992
98897251993755   AMANDA       ATKINSON                     OH     90013462519
98897876281637   MEGAN        HELE                         MO     90010168762
98898994181635   FRANK        SIVON                        MO     29080459941
98899749497973   ALBA         COOK                         TX     90008647494
98911123791599   RAMON        BRITTON                      TX     90008071237
98911144857563   ESTEVAN      MONTOYA                      NM     90014891448
98912443561977   JON          OSON                         CA     90012794435
98913942791599   RENE         BUSTILLOS                    TX     90012919427
98914145691532   DIANA        MUNOZ                        TX     90009201456
98914599181634   LISA         WHITE                        MO     90009095991
98914631971936   RAUL         ESTRADA                      CO     38012416319
98915165457563   SIERRA       SALAS                        NM     90007241654
98915666991599   YARATZED     GONZALEZ                     TX     75010356669
98917144857563   ESTEVAN      MONTOYA                      NM     90014891448
98917875455951   MONG         VANG                         CA     90011358754
98918816291828   AYANNA       CARNEY                       OK     90013048162
98919144857563   ESTEVAN      MONTOYA                      NM     90014891448
98921144857563   ESTEVAN      MONTOYA                      NM     90014891448
98922931891579   ANA          HORTA                        GA     90010869318
98923581491599   ROBERT       VILLEGAS                     TX     90012715814
98924588193755   ROBERT       REED                         OH     90004035881
98924598957563   DICK         PERREZ                       NM     90013845989
98924777777537   SOPHIA       CRUZ                         NV     43086297777
98924864455951   SAMER        ABULFETH                     CA     90012988644
98924982781635   JANET        MCLAUGHLIN                   MO     90000929827
98926797991399   EDGAR        RAMIREZ                      KS     90012217979
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98928763661977   GERARDO              MALDONADO            CA     90010027636
98929249361927   GIOVIANNI            APREZA               CA     90002602493
98933516377537   PATRICA              BRECEDA              NV     43089515163
98933576157563   RAMONA               MARTINEZ             NM     90013075761
98933742157563   MARIA                MOLINA               NM     90010517421
98933819857563   PATRICIA             LAKE                 NM     90014918198
98934245561977   ALVARO               DUENAS               CA     90014672455
98934931371928   LARRY                ROMERO               CO     90011309313
98935479931448   BRITTINI             GRAY                 MO     90012674799
98935931381688   MELISSA              NESTLERODE           MO     90005799313
98938235857563   MAYRA                OLIVAS               NM     90014912358
98938374741288   BARBARA              SZARMACH             PA     90009533747
98939776561977   PAUL                 FREDERICK            CA     90006297765
98939927855951   CORINA               HERRERA              CA     90014849278
98941766181639   NENE                 CRADDOCK             MO     90009337661
98942656755951   SUZIE                LOR                  CA     90015126567
98943198357563   LOUIE                VALENCIANO           NM     90007261983
98944372561977   CHRISTOPHER          COMBS                CA     90014783725
98944627355979   CHARDONAY            ALLEN                CA     90014486273
98945767391399   MARIA                VALENCIA-RIOS        KS     90014877673
98945978681634   MICHELLE             COLOMBO              MO     90013409786
98947634791399   LORI                 KIRKENDOLL           KS     29059336347
98948275793755   BRANDON              JACKSON              OH     90006152757
98949167941955   MANUEL               SALDANA              OH     90015331679
98951386881639   LACRESIA             JONES                MO     90012123868
98951427357563   ANGIE                BEJARANO             NM     90014604273
98952439581637   JACK                 BROWNFIELD           MO     29090374395
98952785181635   ARACELI              GONZALEZ             MO     29006387851
98953226355951   IRMA                 MERAZ                CA     49078572263
98953434855975   MABY                 GOMEZ                CA     90013194348
98954353341296   QUOIA                YOUNGBLOOD           PA     90007073533
98955866877537   VICTOR               VASQUEZ              NV     43072018668
98956374791826   LANITA               HURD                 OK     21098993747
98957446193755   ROBIN                DANIELS              OH     64569564461
98959393493732   KELIAH               KEITH                OH     90005343934
98961944831629   ERICA                WILLIAMS             KS     90011139448
98962118291599   LESLIE               PEREZ                TX     90014961182
98962883481635   DESIREE              JONES                MO     90002238834
98963132191399   TRACY                HANSETT              KS     90011861321
98964479193755   APRIL                WORLEY               OH     90012064791
98964867291599   MARIA                MENDOZA              TX     90014828672
98965835281634   IVORY                WILKERSON            MO     90013758352
98969289141296   DAYSA                DORECIA ARMS         PA     90005302891
98972331455938   JOSE                 GONZALEZ             CA     90014373314
98972744491599   ROBERT               WIGGINS              TX     90005377444
98973457191399   MONICA               GARDEA               KS     90007484571
98974125781639   KENIO                SIMPSON              MO     90014771257
98975398491951   TAMERA               KEITH                NC     17004523984
98975698293755   THERESA              SPENCE               OH     90008096982
98977596381634   ROY                  NICKENS              MO     90010135963
98978585561977   ELENISON             RAMIREZ              CA     90002485855
98979488257563   MARK                 LANDOWSKI            NM     90010814882
98981548681639   TRASH                WEST                 MO     90010335486
98981986791863   SARA AND CHRISTIAN   CONNER               OK     90012559867
98982543381639   JOSE                 CHAVEZ               MO     90005965433
98984517393755   AMBER                RUIZ                 OH     90007365173
98984527641263   SHARON               BARRICELLA           PA     90012605276
98985539641296   MONICA               JONES                PA     51036075396
98985587233638   JUSTIN               RANDOLPH             NC     90005415872
98986657657563   ROCIO                MAGALLANES           NM     90014926576
98989127177537   DEANNA               SCHMIDL              NV     90013311271
98991395781634   RIKKI                OROURKE              MO     90008893957
98992592861977   CHANEL               KUBRICKY             CA     90007485928
98992965977537   MARIA                SALAS                NV     43082349659
98993951391599   CRISTIAN             SANCHEZ              TX     90012919513
98994314857563   ROBERTO              MENDOZA              NM     90009593148
98995165741251   MARK                 LENER                PA     90013601657
98995349693755   MIY                  MONEY                OH     90014023496
98997683891399   NICK                 JORDAN               KS     90011826838
98998139357563   GUADALUPE            SAENZ                NM     90000201393
98999699993755   WILLIAM              SHIELDS              OH     90015446999
99111186177537   THOMAS               METOYER              NV     90007231861
99112327761955   VICTORIA             MEYERS               CA     46010183277
99116217497122   DAWN                 SPARKS               OR     90003342174
99116877177537   ANGEL                HERNANDEZ            NV     90012748771
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99117423141296   SUSAN        TOMASSI                      PA     90000684231
99126939155951   VANESSA      CARRASCO                     CA     49013389391
99127448451341   SOPHIA       LEWIS                        OH     90008594484
99127519981634   WENDY        MARTIN                       MO     29004525199
99129617461971   MARIA        MEDINA                       CA     90008026174
99129715291599   GARCIA       MARIA                        TX     75073457152
99136178581635   PAYGO        IVR ACTIVATION               MO     90012621785
99137379554157   MEGAN        BELL                         OR     90009403795
99137883877537   JOSE         ALCARAZ-VERDUZCO             NV     90002758838
99138216555975   ALFREDO      CONTRERAS                    CA     90010062165
99138892291599   RONALDO      BERNAL                       TX     90014908922
99144271931435   JESSICA      ELLIS                        MO     90014752719
99146115591951   FELICIANO    BASURTO                      NC     90013371155
99146316591951   TOCCARA      MANGUM                       NC     90013383165
99146689397122   JUAN         MORENO                       OR     44509186893
99147389793755   EMILEE       PILLER                       OH     90010733897
99151583355925   BARBARA      MORALES                      CA     90009355833
99152519941296   LUCY         LITZINGER                    PA     51041135199
99152714377537   DEBRAVO      ENSASTIGUE                   NV     90001697143
99153823291951   GEORGETTA    COX                          NC     90010968232
99157146793778   RICHARD      SANDERS                      OH     90014811467
99157949261971   ELIAS        GARCIA                       CA     90013669492
99158126591951   JAMES        MURPHY                       NC     90013371265
99158183661978   MARICELA     BOGARIN MENDEZ               CA     90013081836
99158726991599   LORENZO      OGAZ                         TX     75041927269
99159271981634   CHAD         THOMAS                       MO     90007262719
99159459297123   SHANWTAY     ZARAGOZA                     OR     90000944592
99162172281635   FAROKH       RICHARDSON                   MO     90015201722
99162886291599   JESSICA      ORTIZ                        TX     90015338862
99166947397122   KAREN        SPARKS                       OR     44593599473
99169146491951   JOSEPH       HUMPHREY                     NC     90011891464
99169316891599   MIRIAM L     SANCHEZ                      TX     90009533168
99171512255951   JESSICA      QUINONES                     CA     90012315122
99172596991951   GIMAYAL      MCLEAN                       NC     17084005969
99174848491951   MASTER       WIRELESS COSTUMER            NC     90013968484
99176591191599   PAMELA       CHAVEZ                       TX     90012485911
99177361293755   DAWN         WILLIAMS-LACEY               OH     64590763612
99178119177537   ANTONIO      RAMOS                        NV     90006641191
99178387255951   JESSE        TORREZ                       CA     90009353872
99182497641299   DENNIS       PRESSLEY JR                  PA     90001144976
99183163593738   DESIREE      JORDAN                       OH     90013701635
99183554671936   KIRK         LUBBERS                      CO     90012915546
99183641651328   AARON        GARNER                       OH     90003636416
99185375193778   RONDA        MARSHALL                     OH     90006693751
99185477877537   ABRAHAM      BARAJAS                      NV     90013404778
99185483841296   EDDIE        EUBANKS                      PA     90011454838
99185763555951   ESTEBAN      RITA                         CA     90011797635
99185952977537   JUANA        AVILA                        NV     43022309529
99186468291951   JOSE         MARTINEZ                     NC     90014454682
99186928251533   CHRIS        BROWN                        IA     90014569282
99188577891599   BENITO       ARGANDONA                    TX     90014855778
99189235193755   MELISSA      FRAZEE                       OH     90009212351
99192353191599   JOHN         RYNO                         TX     75006213531
99194242191599   IRENE        RODARTE                      TX     75052712421
99194677355951   GUILLERMO    SIMON                        CA     90013666773
99195415641296   DARIAN       DANIELS                      PA     90009684156
99195448293736   JOCELYN      POWELL                       OH     90007844482
99195656858591   GILVER       RODRIGUEZ                    NY     90015376568
99196777481634   JO           FORD                         MO     90012267774
99212252541296   REBECCA      HILLEGAS                     PA     90014192525
99212642841955   SALVADOR     MORALES                      OH     90015156428
99213487171943   TIA          CROWDER                      CO     90014134871
99213842341296   BILL         PRESLY                       PA     90013958423
99214734255951   ALEXIA       MORENO                       CA     90011037342
99215267755951   BERNADETTE   HINOJOZA                     CA     90011722677
99216386193755   SHAWNTAE     RICHARDSON                   OH     90011803861
99216491155951   MONICA J     ESPINOZA                     CA     90001444911
99217129761971   TERESA       VALERIO                      CA     90008651297
99217521581635   BILLIE       SOVAN                        MO     90013755215
99218547693755   SHAMAURI     BARNEY                       OH     90013385476
99221988955951   ADRIANA      MORENO                       CA     90013199889
99222113491599   CLAUDIA      ROBINSON                     TX     90005051134
99222897391951   NATAEVIA     ETTSON                       NC     90012028973
99225428761971   ANDY         DE VRIES                     CA     90012744287
99227326693755   DONTAE       MURPHY                       OH     90011873266
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99228486291951   ALISHA       LILES                        NC     17051914862
99228646491951   ALISHA       LILES                        NC     90013306464
99229599361971   JOSE         RIOS                         CA     90012435993
99232888177537   SIERRA       LEGG                         NV     43000088881
99238487484829   ANTONIO      MORALEZ                      NJ     90014104874
99239926181635   CLAUDIA      GONZALEZ                     MO     90003009261
99242357577537   HUMBERTO     ALVEREZ-OROZCO               NV     90010383575
99243885155928   DEBBIE       GROVE                        CA     90002518851
99244656881635   KRISTINA     TURNER                       MO     90012906568
99245568281635   DEVON        WHITE                        MO     29002145682
99246687891599   CRISTAL      MONARREZ                     TX     90014886878
99248821391599   FERNE        PINALES                      TX     75087738213
99249248355951   JAMIE        REYNOLDS                     CA     90012322483
99251169977537   SAMANTHA     CABALLERO                    NV     90012711699
99254589281635   KRISTA       GRAY                         MO     29028695892
99256913281634   VIRGINIA     TILTON                       MO     90002289132
99258434671964   SHANE        WILKINSON                    CO     32037464346
99259253691951   KISHA        PALMER                       NC     90011222536
99259291793755   JACK         KING                         OH     64507942917
99263246561971   ESTRELLA     LUNA                         CA     46012532465
99265897791951   JUNNA        RIVERA                       NC     90015178977
99266398791599   KATIA        GARIBAY                      TX     90013093987
99266847391951   JAQUAN       HARRIS                       NC     90014538473
99267831777537   ROBERT       DELAROSA                     NV     90015118317
99269838333642   JEREMY       MCMILLIAN                    NC     90013998383
99271462993738   JESSE        BLACK                        OH     90005134629
99271588391951   AMANUEAL     TEWOLDE                      NC     90013755883
99272117177537   KAREN        SEIDLER                      NV     43010891171
99272886893755   TANYA        LOPER                        OH     90012498868
99274115477537   RONALD       LYNCH                        NV     90011511154
99277825993755   SHAWN        AYERS                        OH     64563288259
99278379481635   ADRIANA      GUZMAN                       KS     29024063794
99281542791953   JOSE         LUNA                         NC     90001525427
99282518261971   VICTORIA     RODRIGUEZ                    CA     46019825182
99283375991599   JULIO        GUARDIOLA                    TX     75022243759
99285387493755   KATISH       BEASLEY                      OH     90010383874
99285487991951   ASHLEY       PETTIFORD                    NC     17032364879
99287689555951   ROBERTO      RAMIREZ ZAMBRANO             CA     49003586895
99288984561971   ADRIAN       LOPEZ                        CA     90013389845
99289685381635   TALIA        DETILLIER                    MO     90007846853
99291991141296   KELLY        WORSHAM                      PA     51093659911
99292812531465   SHERELL      MATTOX                       MO     90004788125
99293187277537   THEODORE     MILLER                       NV     43094531872
99293621241296   AJAY         LONGSTRETH                   PA     90011166212
99294237361969   GERMAN       NICHOLAS                     CA     90014062373
99297561591532   LORENA       HERNANDEZ                    TX     90012025615
99298124891599   CECILLIA     DELGADO                      TX     75091371248
99311176477537   JOHN         CRANK                        NV     90010711764
99311743155951   KEVIN        MINUGH                       CA     90013357431
99312816291951   REGINALD     THORPE                       NC     90013088162
99316264241296   ALEKSANDR    BALOBECK                     PA     90011522642
99316739781634   JULIANA      MONTOYA                      MO     90014487397
99317315722938   MORRIS       MCCRARY                      GA     90014513157
99319217455951   PEDRO        HAROS                        CA     49086012174
99321323791951   BRITTNEY     WILDS                        NC     90004603237
99322225341296   WAYNE        TYREE                        PA     90012872253
99323666993755   STEVEN       APPLEBERRY                   OH     90001656669
99323837641296   DAVID        RUSSELL                      PA     90010278376
99323879691599   LILIANA      SANCHEZ                      TX     75053158796
99324497793755   PAUL         PHILBECK                     OH     90011874977
99324993441296   LASHELLE     BROWN                        PA     90012709934
99325766461971   RANDELL      LEWIS                        CA     90014687664
99325938541268   JOHN         DAVIS                        PA     90008849385
99327857961971   APRIL        HORVATH                      CA     90015188579
99332684955951   THEA         PEN                          CA     90014716849
99333712591524   ELSA         GOMEZ                        TX     90013317125
99335587191951   KATHY        BUNCH                        NC     90008555871
99336388561971   CLAIRE       VEDDER                       CA     90006833885
99336471181634   JACQULNE     CHAVEZ                       KS     90013594711
99337178481635   PAUL         BLISS                        MO     90003521784
99339228761971   JOSE         AREVALO                      CA     46055712287
99339283551331   BRANDY       MATHIS                       OH     90008012835
99343885891599   FRANCISCA    HERNANDEZ                    TX     75033438858
99343927841296   MARK         LUCAS                        PA     51059929278
99343998491951   IZZY         GARCIA                       NC     90013929984
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99346437455951   SHANIKA      LEE                          CA     90008354374
99346669161971   ROBERT       HINOJOSA                     CA     90009186691
99349459681635   TIANA        KELLEY-SIMS                  MO     90015174596
99349823481635   LULA         WARD                         MO     29080108234
99351778761971   NELLY        CANEDO                       CA     90013047787
99352142941296   LISA         BAKALARCZYK                  PA     90014541429
99356196341296   THOMAS       PEZZANO                      PA     51094281963
99357286531675   AMBER        WAITE                        KS     90010572865
99361123491951   LATONYA      REEP                         NC     90013261234
99362191891599   CRISTINA     MONTERO                      TX     75097081918
99364551361971   NIKKI        GIOVANNI                     CA     90014165513
99365322477537   GREGORIO     RODRIGUEZ                    NV     90013913224
99369152893755   NICOLE       SPRING                       OH     90006631528
99369255777537   LUKE         HARVEY                       NV     90000872557
99369313981635   STEPHAN      EADS                         MO     90000183139
99372996655951   PEDRO        AISPURO                      CA     90013199966
99373272291544   JOSE         MORALES                      TX     75096262722
99375218561971   ADOR         MAGNO                        CA     90013172185
99375723151533   ROBERT       HUDSON                       IA     90014237231
99376237191599   VICENTE      DURAN                        TX     75071152371
99376313255938   GILBERT      VALENCIA                     CA     49030893132
99377854291951   AMANDA       WEBB                         NC     90015198542
99384849461971   MARTIN       ANTONIO                      CA     90000888494
99385541555951   DESIREE      RIOS                         CA     90005545415
99387655291951   CINTHIA      SANCHEZ                      NC     90013566552
99387858151328   DANIELLE     SHAVERS                      OH     90011808581
99392678155951   RODJANAE     WADE                         CA     49012626781
99393949341296   CAMILLE      THOMAS                       PA     51028629493
99394992391951   VIMBAINASH   CHANAKIRA                    NC     17017229923
99396164193755   CRAIG        CLARK                        OH     90004791641
99396571391599   VERONICA     OLIVA                        TX     90009075713
99397139261971   ENRIQUE      ESPINOZA                     CA     90008551392
99398563141296   BRETT        MECHTEL                      PA     51092735631
99398632293755   DEVONTE      COLE                         OH     90015236322
99399536491526   JOSE         ACEVEDO                      TX     90009345364
99412352891599   CONCEPTION   SILLER                       TX     90005843528
99412556291951   EMILIO       ZUNIGOU                      NC     90012155562
99413464477537   CLARISSA     VILLA                        NV     90009914644
99417943991599   SCOTT        MAXSON                       TX     90014169439
99418741693755   PAMELA       LONG                         OH     90010787416
99418879881635   MARITZA      UMANA                        MO     90009158798
99421227561986   ENRIQUE      J RODRIGUEZ                  CA     90009232275
99421564577537   BRIAN        CASILLAS                     NV     90012655645
99424289561933   JUAN         MARTINEZ                     CA     46087292895
99424868193755   FAUSTIN      TWIZERE                      OH     90008508681
99425314955951   MELLISSA     NUNES                        CA     90015173149
99426692861971   DANIEL       ARELLANO                     CA     90014566928
99428682141296   JEREMY       ORGOKSY                      PA     90013516821
99431172861971   JUANA        PEREZ                        CA     90015141728
99435981291599   CATHY        NUNEZ                        TX     90005739812
99437642993755   CARRIE       HOWARD                       OH     64578986429
99439833455951   ELOISA       ORTIZ                        CA     90000548334
99442266991599   ANA          SILVA                        TX     75013892669
99442816381635   CHERYL       BROWN                        KS     90015108163
99445754591951   FIDELIS      MALAOKO                      NC     90013937545
99446935872457   PATRICK      OHERN                        PA     90001199358
99446978761971   JASON        HARVEY                       CA     90009239787
99447196791951   MARTHA       AYALA                        NC     90013181967
99447658981634   CRYSTAL      PALMERIN                     MO     90010736589
99448995993755   MICHAEL      MOODY                        OH     90011199959
99449834191951   REGINA       BYRUM                        NC     90008588341
99452412581635   CHELISE      WATERS                       MO     29061734125
99454673791599   EVANGELINA   GOMEZ GREEN                  TX     90012556737
99455854291951   TAMARA       LEAK                         NC     90014568542
99456533741296   DOMENIQUE    VITARI                       PA     90013165337
99456787561971   MELISSA      MESINO PACHECO               CA     90015327875
99457559951391   THERESA      WATSON                       OH     90004905599
99459495591951   MICHELLE     WEBB                         NC     90005134955
99461864141296   JIM          MICHENER                     PA     90000938641
99462176691951   CARINTO      VAREENE                      NC     90013931766
99462562985948   JOHNNIE      WILLIAMS                     KY     90007955629
99463668893755   TERESA       VIETS                        OH     90012866688
99463986393755   TERESA       VIETS                        OH     90012089863
99464118155951   DIANA        MATTA                        CA     49036961181
99465142941296   LISA         BAKALARCZYK                  PA     90014541429
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99465462891951   ROBERTO      CHICHICASLA                  NC     17093134628
99473184891951   YOMARA       VASQUEZ                      NC     90013931848
99473645291599   JESSICA      CHAVIRA                      NM     90008886452
99473963493755   GAGE         STEPHENS                     OH     90009369634
99475565255951   ARACELI      ESTRELLA                     CA     49010125652
99477248255925   LORENZO      ALVARADO                     CA     90012522482
99477782477537   CHRISTY      WALDE                        NV     43081497824
99479467751386   SHAWN        LLYOD                        OH     90001174677
99481855277537   JILLIAN      WHITTON-SANCHEZ              NV     90014858552
99483547991599   BERTHA       CERVIN                       TX     75097805479
99483724255951   SYLVIA       RODRIGUEZ                    CA     90010747242
99484994991599   MICHELLE     VARELA                       TX     90009599949
99485718281634   MARLA        MCFARLANE                    MO     90007547182
99486163477537   MICHAEL      ROBBINS                      NV     90014371634
99486238281634   OSCAR        VIVEROS                      KS     90014902382
99487682491599   ROBERT       BARRON                       TX     90001506824
99488363791889   AMELIA       BELLE                        OK     90011023637
99488797481634   D'ANDREA     FRAZIER                      MO     90012877974
99488898655951   JOHNSON      LIONEL                       CA     49080768986
99489753191526   JOSE         ALMARAZ                      TX     90001607531
99495955793755   BIANCA       ROBINSON                     OH     90008979557
99496961155951   CATALINA     MARTINEZ                     CA     90011859611
99497358781635   DAKOTA       BOWLIN                       MO     90013503587
99499236291951   JOSE         TRUJILLO                     NC     90013932362
99511921671936   KRISTINA     BOSWELL                      CO     90011209216
99513268455951   VANG         PAO                          CA     90011182684
99513398851328   ANTONIO      ALLEN                        OH     90000673988
99513746377537   DAVID        OCONNELL                     NV     90009897463
99513757661971   WENDY        PRECIADO                     CA     46035477576
99515217891951   YASMIN       TAYLOR                       NC     17060072178
99516789281634   HEATHER      YANNAYON                     MO     90012647892
99516924297122   CHIRISTINE   COURTER                      OR     90007709242
99517675977397   PEDRO        REYES                        IL     90002406759
99519218481635   STEPHANIE    COKER                        MO     90011672184
99519284881648   ROBIN        EVANS                        MO     29076452848
99519728191599   ROBERT       URBINA                       TX     90010777281
99522456691951   RAVEN        BANKHEAD                     NC     90014974566
99524935381634   TASHA        BEALS                        MO     90004769353
99526142861925   TRACIE       RODGERS                      CA     90012431428
99526312661971   CAROLINA     OSUNA                        CA     90014063126
99528461961971   GENA         PERAZA                       CA     90013184619
99529794181692   HENRY        BARRIENTOS                   MO     90013407941
99532815177537   JUSTINOLOR   ROSQUERO                     NV     90001058151
99533152781635   DANIEL       TORRES                       KS     90014901527
99534659691599   PABLO        LUCERO                       TX     90004106596
99535684991526   DIANA        CADENA                       TX     90001936849
99535869981634   MICHAEL      REED                         MO     90011808699
99536837181635   THIERNO      NDOYE                        MO     90014778371
99536886581635   DAVID        GUM                          MO     90013128865
99536921671936   KRISTINA     BOSWELL                      CO     90011209216
99538276155979   SHERYL       JONES                        CA     48003572761
99539449251341   AMBER        WORRELL                      OH     90014744492
99539627455951   JESSE S JR   GUTIERREZ                    CA     90010156274
99541388991953   NANCY        GAMEZ                        NC     90014543889
99541698791951   MECHELLE     THOMAS                       NC     90012466987
99541723997122   MARICELA     VILLACIS                     OR     44513647239
99544798281635   ROBERT       EDEN                         MO     29004657982
99548436441296   GLORIA       LANG                         PA     90013284364
99549667291599   ANDREW       CHAVEZ                       TX     90015286672
99549695231629   DEONTE       BROWN                        KS     90002316952
99554597291599   JESSICA      SENA                         TX     75023055972
99555466821623   LISHEA       COOPER                       OH     90014314668
99555742851384   DOROTHY      PIERCE                       OH     90005027428
99555864391951   LASHAUNA     ROGERS                       NC     90011678643
99556737441296   JUAN         HICKS                        PA     51074697374
99561156555951   STEPHANIE    RAZO                         CA     90002991565
99561478381634   Q            MOORE                        MO     29001224783
99562712977537   HEATHER      MILEY                        NV     43025437129
99562769471945   ESTHER       MONDRAGON                    CO     90000987694
99563428261971   JOHN         HERNANDEZ                    CA     90013294282
99564218461971   TIMOTHY      HAHNKE                       CA     90015142184
99564512641268   ERICKA       WHITE                        PA     90013085126
99565766661971   MARIA        ZUNO                         CA     46081297666
99571178591951   CARLOS       RAWLINSON                    NC     17053481785
99571219251334   CASANDRA     DALLAS                       OH     66073742192
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99571228493782   MIA          GILKEY                       OH     90007482284
99571329651334   SHERITA      HARRIS                       OH     90014243296
99573448581634   MADISON      ELLINGTON                    MO     29072684485
99574828291599   JAZMIN       GUILLEN                      TX     90010778282
99578268791599   BEATRICE     BARRIENTOS                   TX     75081122687
99581963441296   ROBERT       SMITH                        PA     90001539634
99582176991532   ARTURO       DIAZ                         TX     75014681769
99582568197122   BARRON       OFFORD                       OR     90001625681
99584487841296   JOHN         ROBERTS                      PA     90006564878
99588655741296   LISA         BLAKE                        PA     90008556557
99589886691951   TAMEKA       ALSTON                       NC     90014648866
99592826681635   PATRICIA     CAMPOS                       MO     90008298266
99593364891343   MICHELLE     HARGRAVES                    KS     90012663648
99593371491599   LEONOR       ZAVALA                       TX     75052793714
99593761341296   TOMLIN       VALENTIN                     PA     90012747613
99595384293755   JASMINE      BROWN                        OH     90001073842
99596432277537   LAURA        GUZMAN                       NV     90013234322
99596645351351   BRYAN        LUNDY                        OH     90006016453
99596686921623   ROZETTA      KEYS                         OH     90014316869
99599198791599   NAHARA       PALMA                        TX     90002091987
99599711691951   BRANDON      HAMLETT                      NC     90014777116
99611237955951   JAVIER       MARTINEZ                     CA     90015102379
99613374881634   JESSICA      MAWHINEY                     MO     90014963748
99613647391599   JESUS        HERRERA                      TX     90012896473
99613831391599   CHRISTIAN    ARGUELLES                    TX     90001518313
99614272777537   MARCIA       OWENS                        NV     43065442727
99615636593755   ALEXIS       MCKINNEY                     OH     90014846365
99617263855951   MONIQUE      GREEN                        CA     90012352638
99622448977537   DIEGO        MEDINA GUIJARRO              NV     43000914489
99623171355934   AIDA         ELENES                       CA     90007951713
99625863693755   RICK         DELAWDER                     OH     90013738636
99627215181635   MIKELA       OLIVER                       MO     29010862151
99632947855951   MARTHA       RODRIGUEZ                    CA     90013459478
99633452681635   MICHAEL      SURBER                       MO     29027424526
99633981391599   ELIZABETH    CORTEZ                       NM     75065689813
99636266891599   ANDRES       MARTINEZ                     TX     90014542668
99636639181634   MARIA        ALARCON                      MO     29093636391
99636714861971   DANIEL       PYZEL                        CA     90009307148
99637424781635   WILLIAM      LINGO                        MO     90014884247
99638174355971   JASMINE      SCOTT                        CA     90001731743
99641949641296   MICHAEL      HATFIELD                     PA     51072209496
99643547891938   HONEYCHILE   KATUTA                       NC     90005385478
99643951191599   JULIA        ESPARZA                      TX     75016579511
99645963451386   ELAINE       EVERSOLE                     OH     90012519634
99647997871933   ROBERTA      BETTS                        CO     90011099978
99649247941296   BARRY        AUMAN                        PA     51046692479
99649596591599   VICENTE      HERNANDEZ                    TX     90000295965
99651325451365   ASHLEY       ZEINNER                      OH     66010703254
99653415981635   MICHAELL     ALLEN                        MO     90014924159
99654343277537   CARMEN       CATZ                         NV     90013913432
99657699981634   JORDAN       WOLKEN                       MO     90011566999
99658689581635   CRIS         NOEL                         MO     90014066895
99661485791599   RAMIREZ      KEILA                        TX     90012604857
99663364781634   NORMA        CANTARERO                    MO     90009783647
99664878577537   ROSAURA      GARNICA-CALDERON             NV     90004108785
99665813531435   MONA         BANKS                        MO     27591868135
99666871877537   SHARYN       LOPEZ                        NV     90007568718
99667148733623   ESTHER       MENOR                        NC     90013301487
99674656181635   RANDY        WARMAN                       MO     29063396561
99675135777537   MARIO        VALLE                        NV     90009691357
99675653761971   GENEVIEVE    PARRA                        CA     90014166537
99679376593755   SHONTA       GREATHOUSE                   OH     64508103765
99679763861971   FAVIO        SANCHEZ                      CA     90008017638
99683752841296   SHEBRINA     HILL                         PA     90013597528
99684656141296   ANTONISH     VAUGHN                       PA     90009496561
99686124981635   MEGHAN       MEADE                        MO     90013231249
99686662991951   BONIFACIO    ORTEGA                       NC     90014146629
99687565691959   LUIS         CRUZ                         NC     90002065656
99688189261971   KAREN        FOX                          CA     90005561892
99692575881634   LAPORSCHA    ROWDEN                       MO     90013645758
99694119891951   KIMBERLY     HIGGGINS                     NC     90013351198
99694955391599   MAYRA        FLORES                       TX     90007999553
99695261551386   NICHOLAS     ALEXANDER                    OH     90012502615
99697363893755   CARA         HEISHMAN                     OH     90007603638
99697715861971   CATALINO     CEDILLO                      CA     90013357158
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99698878181634   RYAN          HILLBRAND                   MO     29012478781
99711139377537   FRANCISCO     LIRA                        NV     90012541393
99713279977537   CAMILA        ESPARZA                     NV     90011182799
99713874577537   JUAN          TAPIA-SANTIAGO              NV     90014378745
99714213181635   LUTHER        MCARN                       MO     29077542131
99714886877537   KERMONT       BUCHANAN                    NV     90011118868
99716721155951   CYNTHAI       VILLAFUERTE                 CA     90014537211
99716846161971   ARMANDO       GUIDO                       CA     90010278461
99717543791951   DEISI         ALEMAN                      NC     90013935437
99717574677537   MICHAEL       WHEELEN                     NV     90014665746
99719374881634   JESSICA       MAWHINEY                    MO     90014963748
99719414591951   KAYONNA       FLOYD                       NC     90011174145
99719774631448   JUAN          GUTIERREZ                   MO     90014397746
99723233691951   KIYONNA       EDWARDS                     NC     90010992336
99723412881635   MAIA          BENTON                      MO     90015214128
99724722261971   ABBOTT        HASTINGS                    CA     46029967222
99725414281635   QUINTERAH     JONES                       MO     90014834142
99725435797122   SCOTT         CARADY                      OR     90008984357
99727676261971   MANAA         TAKOUDA                     CA     90009266762
99728217381635   ANGELA        PIERCE                      MO     90012602173
99728886355946   ROBERT RENE   DUNN                        CA     90014408863
99729627141296   ROBERTA       BRANT                       PA     90013856271
99732574881635   CASEY         GRISSOM                     MO     90013915748
99734453841296   BRANDON       HENSON                      PA     90010024538
99734466391599   DANIA         NAVARRO                     TX     90013284663
99734581481692   MARIAH        STEWART                     MO     90014935814
99735431993755   CRYSTAL       BOCARADO                    OH     90011024319
99735746497122   CARLOS        INTERIAN                    OR     90000127464
99737945141296   MELANIE       TICE                        PA     90012399451
99737972155951   REBECCA       MARRUFO                     CA     90013089721
99739582881634   SHAY          WEATHERS                    MO     90012995828
99739711691951   BRANDON       HAMLETT                     NC     90014777116
99742312291599   MARISA        SANCHEZ                     TX     75097893122
99743726761971   JESSE         ZAVAL                       CA     90009267267
99743823755951   LUIS          GARCIA                      CA     90012178237
99746628461971   IMELDA        VIEYRA                      CA     46029616284
99748857961971   APRIL         HORVATH                     CA     90015188579
99751779193755   COLLINS       ERIC                        OH     90010897791
99754383755951   GER           XIONG                       CA     49011353837
99756183241296   JOANNE        MARTINEC                    PA     51077071832
99758481681696   VERNESSA      PEPPERS                     MO     90004544816
99758798141296   KEIRSTON      PARHAM                      PA     51092417981
99758892781635   MICHAEL       STITT                       MO     90014898927
99759125691599   MARIA         HERNANDEZ                   TX     75087501256
99759247561939   EDWIN         LOPEZ                       CA     46050382475
99759994155979   ANDY          TRUJILLO                    CA     48051579941
99762545955951   SILVIA        GARZA                       CA     90008695459
99762639277537   CINDI         CHAVARRIA                   NV     90015216392
99762812591599   JOSE          REYES                       TX     90011518125
99764986281635   LARRY         FUNK                        MO     90011069862
99765878181634   RYAN          HILLBRAND                   MO     29012478781
99767325693755   JESSICA       UNTERBERGER                 OH     90009133256
99768598141296   DREVAUGHN     SIRMONS                     PA     90012825981
99771823781634   TYLER         BUTLER                      MO     90006688237
99772589291599   ERNESTO       RAMIREZ                     TX     90015115892
99772683561971   MICHAEL       GROSSBERG                   CA     90014166835
99772871681635   RANDALL       HAWKS                       MO     29037328716
99773293855951   ANGELICA      FLORES                      CA     90010862938
99775248691951   KATRINA       ALSTON                      NC     90014152486
99776588277537   BRENDA        REYES-DIOSDADO              NV     90013565882
99778574793755   BRYON         WILLIAMS                    OH     90014835747
99779694777537   RANDY         SANTIAGO                    NV     90012116947
99782324355951   SOLEDAD       OCHOA                       CA     90014963243
99783962255951   FIONA         JASSO                       CA     90010889622
99785572441296   EARL          STONE                       PA     90013315724
99786936477537   BOBBY         HARRISON                    NV     90009929364
99787196791951   MARCUS        SHEERF                      NC     90010181967
99788842297122   GERALD        WILLIAMS                    OR     90006908422
99791267355951   RENEE         RIOS                        CA     90014802673
99792776577537   TREVOR        RAY                         NV     43028527765
99793743291951   AMY           PITTMAN                     NC     90014597432
99794346493755   ABRAHAM       RIVEROLL                    OH     64504223464
99795329855951   AIDEE         VARGAS YESSICA              CA     49062533298
99797271477537   CORNELIA      MONJES                      NV     90001172714
99797928191951   RASHEEN       MOORES                      NC     90012469281
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99799751591599   ESMERALDA     MORENO                      TX     75052467515
99799962991951   GWENDOLYN     TAYLOR                      NC     17023979629
99812998281634   MARCIA        HUGHES                      MO     90014909982
99813139541296   JARED         MAYHEW                      PA     51015701395
99813193693755   JETT          COLE                        OH     90012841936
99813717791951   RICARDA       ZURITA                      NC     90001537177
99814124491951   JENNIFER      DURANDISSE                  NC     90010981244
99814779191599   RAMONA        VILLANUEVA                  TX     75062547791
99815199791951   LISA          BRACEY                      NC     17049151997
99815923441296   LESA          HARDRICK                    PA     51069079234
99816483193755   MICHAEL       SMITH                       OH     64537474831
99816644355951   ANGEL         SALAZAR                     CA     49000126443
99816727991599   MENDOZA       RUT                         TX     90004127279
99816972377537   CATALINA      ARREDONDO                   NV     90003129723
99817712841296   FRANCES       KOHNFELDER                  PA     90009257128
99822275291951   CATHY         LOPEZ                       NC     90006152752
99822474877537   RENITA        LEFLER                      NV     90010864748
99822489593755   HARRY         WRIGHT                      OH     90004984895
99823213381634   MARIO         GANCHAROV                   MO     29017942133
99823636191599   THERSA        PORTUGAL                    TX     75052716361
99824439591599   ALEXIS        ROMAN                       NM     90015134395
99824641141296   MIKE          RACZ                        PA     51001136411
99826866477537   SAVANNA       BLANCHETTE                  NV     90010298664
99828522755951   MARCIE        VERDUZCO                    CA     90013665227
99829848177537   RANDY         VALDEZ                      NV     90013538481
99829881577537   SUZANNE       ERDELT                      NV     90013498815
99832254477537   LOUISA        KERN                        NV     90005342544
99832923391889   CODY          BRUER                       OK     90011539233
99833964691964   VITA          FRANKLIN                    NC     90010519646
99834438877537   RICARDO       SAMANIEGO                   NV     90012544388
99835113861971   TARA          RAY                         CA     90004351138
99835633493755   WILLIAM       TSAAC                       OH     64512166334
99842139591951   OLLNA         LORENZO                     NC     90013111395
99842195591893   LINDSEY       MCBRIDE                     OK     90006541955
99842295981635   KARLA         DELEON                      MO     90008512959
99842527555951   NORBERTO      MARTINEZ                    CA     90013665275
99843279691951   ANGELA        SMOKE                       NC     90014132796
99843627591951   JOSE          ACOSTA                      NC     90015136275
99844599577537   LEONARDO      MARTINEZ                    NV     43018115995
99847623393755   DALENA        SEALE                       OH     64530566233
99848755691951   MANUEL        ORELLANA                    NC     90013937556
99851184961971   BEATRIZ       REED                        CA     90009361849
99851993793755   DEBRA         TAYLOR                      OH     64589179937
99852356131471   LORETTE       LOMAX                       MO     90007873561
99852563655951   VAZQUEZ-      PATRICIO                    CA     90001665636
99853431193755   RICHARD       GOFORTH                     OH     90014374311
99855192561971   GUILLERMO     BETANCOURT                  CA     90010271925
99855956193755   MEGAN         SMITH                       OH     90013119561
99856771597122   RACHEL        NOLEN                       OR     90010547715
99857289391951   S             JACKSON                     NC     90014852893
99859598972421   MARK          GUSTASHAW                   PA     90012565989
99861169177537   MARIA         RANJEL                      NV     90004961691
99861777481634   STEPHEN       FENNEL                      MO     90013297774
99863266397122   LETISHA       RAMIREZ                     OR     44514182663
99864834593755   KIRSTEN       BROWN                       OH     90012028345
99865483361971   ARMONDO REY   ORTEGA COMPOS               CA     90012854833
99866285851331   CORRILL       JESSICA                     OH     66027332858
99866373891599   NICOLE        PENA                        TX     90011763738
99868489981635   CHRISTINA     APPLEGATE                   MO     90012644899
99869132381634   OLIVA         WINGATE                     MO     29062601323
99871525791951   JOHN          DUNCAN                      NC     17092925257
99871584281635   HAJAH         HAJAH KAMARA                MO     90014155842
99873914493755   SHAMEEKIA     ARNOLD                      OH     90009069144
99874688591599   IVONNE        VAZQUEZ                     TX     90013716885
99875264761924   PERLA         RIVERA                      CA     90009602647
99876789581634   SALVADOR      SANCHEZ                     KS     29056677895
99878122391553   GUADALUPE     PALACIO                     TX     90007091223
99879125861971   KEVIN         BARAJAS                     CA     90013121258
99879287791951   ERIC          EATMON                      NC     90013592877
99882565555951   LISA          VIVEROS                     CA     90003955655
99884627581635   SONIA         PHILLIPS                    MO     90004006275
99886932477537   RACHELLE      TAU                         NV     90014279324
99889619193755   JAMES         WASHINGTON                  OH     64510716191
99891348761971   ELVIA         PATINO                      CA     90000593487
99891643981634   MATTHEW       MACON                       MO     90013086439
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99891718793755   STEPHEN      SCHOMMER                     OH     90009297187
99892273791851   ROBERT       GREEN                        OK     90012642737
99892499571936   SAMUEL       TUCKER                       CO     38043264995
99893435861971   LATONYA      DAVIS                        CA     46002604358
99893795155951   ALIZEYAH     LOPEZ                        CA     90012747951
99894734541296   ASHLEY       ANKROM                       PA     51088327345
99895457455951   EDELMIRA     ARSOLA                       CA     90008114574
99896597281635   BRANDO       RIVERA                       MO     90012105972
99897549191526   CYNTHIA      ACOSTA                       TX     90010825491
99899266193755   KIYANA       MONTGOMERY                   OH     90009902661
99913692466182   BRIAN        ADNEY                        CA     90014006924
99916966161971   SHENNEA      CRUMPTM                      CA     46073019661
99917649777537   AAPRIL       ROLLERSON                    NV     43045326497
99918924491951   MARIA        MARTINEZ BLANCO              NC     90013939244
99919795677537   SHELL        COOKS                        NV     90011437956
99922117481635   RAYMAND      BROWN                        MO     90009331174
99922939791951   GRADY        MCLEAN                       NC     90013939397
99924558181634   DANIELA      RUIZ                         MO     90009095581
99925249677537   ASHLEY       PAEZ                         NV     43077412496
99927822891599   MARICELA     GARCIA                       TX     75084458228
99928125981634   SHAUNA       BUKUCS                       MO     29035391259
99928379341296   ALEJANDRO    ADAME                        PA     90014443793
99931539493755   BRETT        BOONE                        OH     90015195394
99931682655951   DIANA        HERNANDEZ                    CA     90000426826
99931791441296   KIMBERLY     OLSAVICKY                    PA     90014787914
99933582255975   ALBERTO      JAIMES                       CA     90013675822
99936113741233   TELA         PERRIN                       PA     90012661137
99937569761971   MARIA        URIAS                        CA     90014275697
99938649181648   SHERI        KOELZER                      MO     90008796491
99939545393782   LESLIE       HARBARGER                    OH     90008375453
99939662255951   JACOB        HEALEY                       CA     49017846622
99939897761971   LUIS         ALBERTO RAMIREZ              CA     90001238977
99943182561971   CECIL        BRYANT                       CA     90005691825
99943514841296   DAUDI        ABDIALLA                     PA     90011465148
99944777693755   NEZIAH       ISRAEL                       OH     64575307776
99948167184829   JOSE         MENDOZA                      NJ     90015141671
99948755355951   CELIA        RODRIGUEZ                    CA     90008657553
99951953133639   JORGE        LARA                         NC     90012209531
99953959161971   PATRICIA     ARREDONDO                    CA     46088079591
99961882881635   JOSEPH       SAXON                        MO     90014908828
99964267593755   CHRISTY      NIXON                        OH     90005862675
99965359993755   SARA         CROOK                        OH     90011123599
99966151691951   REBEKAH      RUSHING                      NC     90013351516
99966223561971   BRUNA        LANDEIRA                     CA     90014492235
99967821591951   BORRIS       SATTELITE                    NC     90014048215
99968454955951   CYNTHIA      LOVE                         CA     90013514549
99969953493755   VICKI        MCKINNEY                     OH     90014509534
99971457291526   DONYALE      HUNT                         TX     90015034572
99971882593755   KARLA        MCKINNEY                     OH     90005178825
99971992681634   HEATHER      SIMPSON                      MO     90003429926
99973958961558   NARDOE       SCANTON                      TN     90015609589
99975428761971   MIGUEL       VALADEZ                      CA     90012564287
99978745355951   PANAI        VANG                         CA     90003147453
99979627693755   CRYSTAL      MACKIE                       OH     90002906276
99981282831459   YOLANDA      JONES                        MO     27585562828
99981321591951   CHANDRIA     MYERS                        NC     17056593215
99982879291599   MARIA        LUNA                         NM     90014628792
99983364891343   MICHELLE     HARGRAVES                    KS     90012663648
99983495841296   DIANNE       BURKHART                     PA     51084204958
99986344361971   EUGENIO      MCPHEE                       CA     90011573443
99986512991951   DONALD       DEAN                         NC     90010455129
99986623781635   JENNIFER     NICHOLS                      MO     90010696237
99987432972498   LACIE        NOONAN                       PA     90001284329
99987754677537   VICTORIA     BARRAZA                      NV     43042927546
99988563791599   DAVID        FERNANDEZ                    TX     90008975637
99989175561971   AGNES        BROOKS                       CA     46025621755
99992278961971   HUGO         SANCHEZ                      CA     90013842789
99993171161971   NORMA        ESQUIVEL                     CA     90014701711
99993873855951   KIMBERLY     GUERRERO                     CA     49024748738
99997288255951   EVA          BARAJAS                      CA     90014912882
99997924655934   ZENAIDA      BUSTAMANTE                   CA     90009239246
99999636251331   WAYNE        FELTS                        OH     90007666362
99999979155938   HERLINDA     AGUILAR                      CA     49008949791
1111128A62B869   GARY         FRANTA                       ID     90008712806
1111141115715B   JOSE         COTO                         VA     90014064111
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11111AA635B35B   DANIELLE         ATNZRIX                  OR     44596340063
1111254644B588   MARGARITA        ESPARZA                  OK     90010955464
1111274A576B68   JAZMIN           JARAMILLO                CA     46075537405
111131A1772B55   PAULA            NORTON                   CO     90006511017
111134A3961976   BEATRIZ          CRISTOBAL                CA     90005974039
111136A554B588   EDUARDO          DIAZ                     OK     90015126055
11114491A84375   CHERIE           GRANT                    SC     90013844910
11115124976B68   KARINA           JIMENEZ                  CA     46010161249
1111587174B565   KELLI            NORRIS                   OK     90005798717
11115A71161938   HENRY            EVAN                     CA     90012810711
111163A897B489   SHAQUOYA         GRIER                    NC     90002383089
11116882A71925   PETER            KURETSKI                 CO     90004528820
11117344A93745   JERALD           DAVIS                    OH     90013013440
1111747685715B   SANTOS DANILO    AGUILAR                  VA     90011074768
1111794974B588   MARCY            GRIZZLE                  OK     90010739497
1111813298B193   ALICIA           BOGGESS                  UT     31073191329
11118A8625715B   ABDULRAHMAN      SESAY                    VA     90002800862
1111939554B588   JOHN             ARNOUVILLE               OK     90011963955
11119459A72B62   NANCY            GARCIA                   CO     33073374590
1111B16219154B   JUANITA          ACEBEDO                  TX     90003061621
1111B57334B555   FLORES           RACHEL                   OK     90009285733
1112135AA91993   LATISHA          WELDON                   NC     90012713500
1112194755B343   PAUL             WATTERS                  OR     90009439475
1112197A87B489   VIRESIA          HARRIS                   NC     90012409708
11121A71A33699   ISAAC            LITTLE                   NC     12087370710
11122318376B68   JOSE             TORES                    CA     46005403183
111223AA461938   ROLANDO          PHILLIPS                 CA     46014173004
1112377485B526   DANIELLE         SNIDER                   NM     90013067748
1112457969154B   ARACELI          HINOJOS                  TX     90011645796
1112464544B555   DARRELL          THOMAS                   OK     90014656454
1112468772B966   JESSICA          MELENDEZ                 CA     90002646877
1112495755B526   KELCEE           JONES                    NM     90014789575
11125767576B68   JORGE            BALTAZAR                 CA     90013427675
1112598654B555   TWYLA            BENNETT                  OK     21591069865
1112629664B588   LORENZO          MIRAMONTES               OK     21551702966
1112638559154B   JOSHEPH          FUENTES                  NM     75015483855
11127322A61938   FRANCISCA        DELVILLAR                CA     90014673220
111274AA54B588   SHAWN            CLEMENTI                 OK     90014714005
1112787464B555   JESUS            MENCHACA                 OK     90012458746
1112797A172453   BETH             GAITO                    PA     90014719701
11129248272B62   MENDOZA          CYNTHIA                  CO     90007292482
111296A1361938   ANNIE            MARTINEZ                 CA     46016716013
1112B349661938   TOMEKA           HAGAN                    CA     90015113496
1112B753572435   WENDY            EZATOFF                  PA     90004957535
1112B7A1972453   ROBBIN           CLOUSER                  PA     51090687019
1113197A172453   BETH             GAITO                    PA     90014719701
11131A13172B26   ANGELINA         HUNTER                   CO     90008500131
1113214715B343   WESLEY           CRONK                    OR     90009131471
1113282224B26B   HEATHER          NIEMEYER                 NE     90005718222
1113364A34B259   CARMEN           WISENER                  NE     90013676403
1113396614B588   MARCIA           PENA                     OK     90010739661
1113446999154B   ESMERALDA        GARCIA                   TX     90003214699
1113479655715B   YOLANDA          SANCHEZ                  VA     90001467965
111358A3361972   LUIS             CASTANEDA                CA     90012368033
1113647114B26B   KIM              FOLSOM                   NE     90001244711
11136647A5B526   SHIRLEY          MIRAMONTES               NM     90010056470
11136A81761957   MARIA            DAVALOS                  CA     90010940817
1113727A557147   JORGE JIMIENEZ   DUARTE                   VA     90009712705
111373A422B966   PATRICK          SMITH                    CA     90005243042
1113772593B368   WENDI            GRABLE-COLLEY            CO     90006127259
1113816815B343   DRESHAUN         MORRIS                   OR     90014511681
1113857559154B   ROBERTO          MARTINEZ                 TX     90010835755
111386A8661972   CRISTIAN         LOPEZ                    CA     90010296086
1113921367B489   GILRESA          REDFERN                  NC     11096432136
1113B933572B62   REGINA           SOLANO                   CO     33089329335
1114142255B343   MARK             NEISS                    OR     90005564225
111414A265B154   KASHRAYLA        FOLEY                    AR     90014914026
1114261A793745   KEVIN            HESS                     OH     90014826107
1114342534B26B   SUZELENE         FORTUNE                  NE     90015084253
1114377922B886   BRIAN            BRISCOE                  ID     90008827792
1114393975B35B   MATTHEW          SIMONS                   OR     44500709397
111442A6A72B27   DENA             KUHLOW                   CO     90006212060
11145334A61938   CHRISTINE        SEUI                     CA     90014673340
11145863676B68   BEATRICE         JIMENEZ                  CA     90011848636
11145A46331635   ROBIN            ROOKS                    KS     22006700463
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11146667A7B462   KARON        KENNEDY                      NC     90006766670
111469A4A5B154   BRANDY       THOMAS                       AR     23056489040
1114826274B26B   RYAN         JOHNSON                      NE     90013882627
1114862539154B   JOHNNY       BARROSO                      TX     90011236253
1114873444B555   JUSTIN       MARRS                        OK     90014657344
1114892852B966   HECTOR       HERNANDEZ                    CA     90009419285
11148A82391895   CHRISTY      OXLAJ                        OK     90010580823
1114932942B966   JOSH         REBIERO                      CA     90008393294
111493A385B343   ISAFOU       JALLOW                       OR     90012753038
1114982394B26B   ASHLEY       FULSAAS                      NE     90013228239
1114B887847956   MISTY        HOODENPYLE                   AR     24005888878
1115161694B26B   ROBERT       SPOHN                        NE     90015066169
1115164985599B   YARDLEY      DUSTIN                       CA     90005336498
1115228553B393   DEBORAH      GUERIN                       CO     90002902855
1115233755B154   LEE          JORDAN                       AR     23056093375
1115261A793745   KEVIN        HESS                         OH     90014826107
11153A4784B588   ALCIA        ANDERSON                     OK     90009940478
11154A18861976   SARELA       CABUTO                       CA     90011630188
111556A934B588   GUSTAVO      DE LOERA                     OK     90014846093
11156686772B28   ADAM         GOMEZ                        CO     90007116867
11156877A93745   AJ           PEARSON                      OH     64546788770
11156A86661958   ELIZABETH    ZUFRI                        CA     90013750866
11156AA745B526   LAWRENCE     TAFOYA                       NM     35050310074
1115777224B555   DEIDRE       WHITE                        OK     90014657722
11157A22257147   DELIA        RAMIREZ                      VA     90013190222
1115838415B526   TONY         JOHNSON                      NM     35092433841
11158A4A697B69   AIMEE        HURST                        CO     90011710406
1115978644B26B   JEREMY       MAHONEY                      NE     90015157864
1115B163872453   JARRAD       WISE                         PA     90014801638
1115B434291263   SIRRON       GRIFFIN                      GA     90014234342
1115B763433699   CORTNEY      GRAY                         NC     90013107634
1115BAA9261958   GENAVEVA     LONGUNARDI                   CA     46079920092
11161539676B68   TERRY        MOFFATT                      CA     90010755396
1116177264B588   ADELIADA     YANEZ                        OK     90000107726
111626A8A4B588   CHARLES      LOYD                         OK     90015126080
111635A675B35B   ALICIA       MORALES                      OR     90013855067
11163A11A9154B   OSCAR        GOMEZ                        TX     90004980110
111643AA972453   NICHOLE      THOMPSON                     PA     90014783009
1116441A631687   BRITTNY      ESPINOSA                     KS     90012314106
1116452A191263   DANA         BROXTON                      GA     90008835201
1116518384B588   MARK         HILL                         OK     90015601838
11165336576B68   DANIELLE     WEST                         CA     90012033365
1116559995B526   ROYCE        SCHELLS                      NM     90009405999
1116569725B355   LUKE         FRELS                        OR     47087956972
111656A4561938   AMGELICA     CAZAREZ                      CA     90013246045
1116571A277539   PATRICIA     AMAYA                        NV     43082757102
111657AA591895   KARNETHA     JORDAN                       OK     90008947005
11165A1644B26B   TERESA       MCKINSTRY                    NE     90004410164
11166647172B62   JERRY        RIDER                        CO     33034796471
1116676A12B225   DENNIS       DUCOSIN                      DC     81029637601
11166835A2B966   MARIA        ARZATE                       CA     90014178350
11167181A5B35B   BECKY        KELLY                        OR     44593971810
1116748398B193   RENE         ESPINOZA                     UT     31035304839
1116783A161938   CHARLES      ALLENBY                      CA     90014168301
11168698A91263   DIEGO        MEDINA                       GA     90015016980
111687A3161972   PATRICIA     GUERRERO                     CA     90011247031
1116882154B555   MELODY       NUGENT                       OK     90014658215
11168A35872B84   IRMA         DUARTE                       CO     33040920358
1116915A272453   DOROTHY      TALMONTI                     PA     51032741502
1116931545B154   JERMAIN      WILLIAMS                     AR     90013943154
1116977A876B68   NORA         REYES                        CA     90013427708
1116981387B489   GREGORY      ARMSTRONG                    NC     11011628138
11169835A4B588   RENEE        WAGNER                       OK     21519578350
1116B312291569   ANDREA       MENDOZA                      TX     90012563122
1116B47182B966   GUADALUPE    BRECEDA                      CA     90009274718
1116B53A44B555   SHELIA       WILSON                       OK     90014645304
1116B54178B193   JEAN         PIERRE                       UT     90000345417
1116B998957147   MILTON       CARRILLO                     VA     90014909989
11171A2392B966   MIKE         PEREZ                        CA     90012800239
1117291395B526   BERTHA       RODARTE                      NM     90013989139
1117342A32B837   GEMMA        MORAWSKI                     ID     42085924203
1117397A277539   ENRIQUE      NUNEZ                        NV     43058209702
1117583A972B2B   JACOB        CRUGER                       CO     90006128309
1117594714B26B   ANGELA       MAYBERRY                     NE     90012869471
11176711A57147   NEHEMIAS     LOPEZ                        VA     90015307110
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111769A287B43B   RONALD       MCGILL                       NC     11067929028
1117753A951337   OSCAR        CUBAS                        OH     90007725309
1117787134B259   SEAN         MITCHELL                     NE     27051668713
111781A6576B68   NESTOR       DE LA CRUZ                   CA     90010761065
1117829249154B   MARIA        GUNTER                       TX     90005162924
1117954335B274   BRIAN        BARBER                       KY     90001375433
11179A41A8B193   TODD         COLLINS                      UT     90013020410
1117B562961958   ALEJANDRO    VAN HOLTEN                   CA     46064025629
1117B56A35B154   JOSE         MARTINEZ                     AR     90007905603
1118114A661938   JAMES        HOWARD                       CA     90007061406
1118195259154B   PAMELA       RAMIREZ                      TX     75014859525
11181A2257B489   ANA          ROGAS                        NC     90009470225
111823A225B526   ALMA         GRANADOS                     NM     35002343022
1118272742B966   CHERYL       DRAKE                        CA     90012887274
11184967476B68   GUSTAVO      GARCIA RIVERA                CA     90014169674
11185538976B68   RYAN         KLIPPEL                      CA     90013635389
11185566A9154B   LLUVIA       MONTALVO                     TX     90000525660
1118586A593724   TERRENCE     DUNKLIN                      OH     90001158605
11187739A8B193   GLEN         HENSLEY                      UT     90013577390
111877A3547956   MAEGAN       CHITWOOD                     AR     24074977035
111882A6661958   MARIA C      MORENO                       CA     90012752066
11188561A5B343   CASSI        REICHEL                      OR     44546025610
11189337572B62   DOMINIC      THERIAULT                    CO     90015013375
1118935675B154   DEWAYNE      PAYNE                        AR     90013943567
1118949324B555   SYRITA       JAGGERS                      OK     90014574932
1118954564B555   GARY         FELTON                       OK     90014685456
1118B457661972   ELIZABETH    HIGUERA                      CA     90013704576
1118B496261976   MARINA       MARQUEZ                      CA     46062854962
1119115955B154   JERMAIN      JONES                        AR     90008291595
1119117777B489   SHAZONDIA    BAILEY                       NC     90015181777
1119118815B343   CARMEN       CHANG                        OR     90012111881
111912A945B526   JUANITA      RUELAS                       NM     35069542094
11191416524B38   FREDY        ORELLANA                     VA     81083664165
1119157A791569   MARIA        ESPINOZA                     TX     90010985707
111916A235B35B   JOSHUA       BROWN                        OR     90006746023
1119178247B489   KEVLIN       HAGERTY                      NC     90013047824
1119225A657147   YOLANDA      GREEN-WILSON                 VA     90013192506
11192297472B62   STEVEN       URIBINA                      CO     90015202974
1119248178B197   NILA         ELDREDGE                     UT     90011324817
1119342912B966   SALMAN       DANKHA                       CA     90013334291
11193713276B68   ANDREW       KROEGER                      CA     90012237132
11193785A9154B   FERNANDO     ARAGON                       TX     75033837850
11194A9A772B62   ANNASTACIA   SANCHEZ                      CO     90013980907
111952AA193745   KARI         HITTLE                       OH     90012862001
1119552725B526   VARGAS       EFREN                        NM     35046045272
11196759972B62   ELSA         HERNANDEZ                    CO     90004497599
11198378A76B68   ROGER        CASTILLA                     CA     90013743780
11198528A72B62   JONNA        GOLDTRAP                     CO     90002655280
1119887468B193   BEVERLY      SKILLICORN                   UT     31017618746
1119983177B489   VICTOR       MARTINEZ                     NC     90004958317
1119989115B526   OLGUIN       ROSIE                        NM     35058338911
1119B2A4947956   SHANDRA      ALEXANDER                    AR     24006182049
1119B5A135B526   JOSHUA       SEGURA                       NM     90012085013
1119B853891569   PEDRO        MONDRAGON                    TX     90014178538
1119BA2772B924   PATRICIA     CARDENAS                     CA     90008530277
1119BA82791263   BRIAN        MILLER                       GA     90014710827
111B1194977539   MARIVEL      MARIN                        NV     90008091949
111B1227231687   DIANY        JOSEPH                       KS     90012222272
111B1322A61938   FRANCISCA    DELVILLAR                    CA     90014673220
111B1417A4B259   KIMBERLY     WYNNE                        NE     27047714170
111B167A391569   JUDY         MARTINEZ                     TX     90015086703
111B178779154B   PATRICK      SANDOVAL                     TX     90014887877
111B1825733699   ERICA        BETHEA                       NC     90015088257
111B1A21133699   ERICA        BETHEA                       NC     90015000211
111B1A9777B43B   ANNETTE      MARTIN                       NC     11092040977
111B263435B343   DALIA        NAVARRETE                    OR     90005646343
111B281914B555   LARRY        LILJESTROM                   OK     21539648191
111B28A637B489   ROBERTO      RAMIREZ                      SC     90012488063
111B2A88651337   TROY         EASTIN                       OH     90014650886
111B3679176B68   BERTA        DE JESUS                     CA     90012106791
111B368799154B   DAVID        GONZALEZ                     TX     90012566879
111B397919154B   JEANETTE     MENDOZA                      TX     90012639791
111B4514791263   JACOB        PMANUGL                      GA     90015595147
111B4515291569   NANCY        ALDAMA                       TX     90014035152
111B4533A91895   SANDER       TOBAR                        OK     90009955330
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111B4613291263   SIERRA        KIMMEL                      GA     90009386132
111B4791157147   WILLIAM       CAMPOS                      VA     90004697911
111B481815B526   RICK          PENA                        NM     35003928181
111B519749154B   VERONICA      CENICEROS                   TX     90004451974
111B557A15B154   YVONNA        ALEXANDER                   AR     90010245701
111B6769633699   ASHLEY        DIXON                       NC     90010147696
111B69A5993745   KENNY         GRAHAM                      OH     90013079059
111B729779154B   DAVID         ACOSTA                      TX     90012762977
111B7917433699   JOSE          VASQUEZ                     NC     90012299174
111B7AA344B555   AMY           ANDERSON                    OK     90013550034
111B8192961976   ANTHONY       CORTEZ                      CA     90012211929
111B8674461972   CHARLES       TOVAR                       CA     90011246744
111B877AA72453   DENISE        GRIFFITH                    PA     51059057700
111B896475B526   IRENE         PADILLA                     NM     90013749647
111B9187261976   KARLA         PEREZ                       CA     90012211872
111B9743991569   ANABEL        CERVANTES                   TX     75026647439
111B9A19272435   KEVIN         GIUNTA                      PA     51096430192
111BB15172B966   AZIRIUS       WILLIAMS                    CA     90010091517
111BB611351337   CHRISTOPHER   PADGETT                     OH     90014986113
111BB936947832   KEVIN         GOMES                       GA     90008449369
111BB937A9154B   YOLANDA       MOLINA                      TX     75014709370
11211439972B62   BARRAZA       LUIS                        CO     90009954399
1121154974B26B   ENMA          MIJANGOS                    NE     90012585497
11211668A9373B   CLIFTON       RICHARDSON                  OH     90008116680
1121184835B154   HIGINIA       LOPEZ                       AR     90005188483
1121229685715B   AHMED         BASTO                       VA     90012532968
11212A85351337   SAMUEL        WOOTEN                      OH     66096390853
11213AA8261938   JUANA         LECHUGA                     CA     90003560082
112142A4957147   JANEY         CARBALLO-RENDEROS           VA     90012322049
1121478A29154B   VERONICA      CORTEZ                      TX     90013327802
1121662382B966   ROBERT        DE LOS RIOS                 CA     90014046238
1121748655B35B   VANESSA       MULLIGAN                    OR     90005914865
1121911592B336   WANDA         BLACKWELL                   CT     90014361159
1121999899154B   RICHARD       CAMARGO                     TX     90013109989
1121B565272435   SAMANTHA      HORNE                       PA     90009175652
1121B7A9551337   RICK          KAISER                      OH     66096567095
1121BAA4A3B352   JOHN          BATES                       CO     90012950040
1122138349154B   TERI          TERROR                      TX     90014123834
11221A86961938   ALIYAH        STRANE                      CA     90015190869
11222382A2B966   ANDREW        CHEADLE JR                  CA     90014763820
1122278582B966   BRIAN         HODGES                      CA     90013867858
11222A45491895   KEMONTAE      HARRIS                      OK     90011400454
11222A8539154B   CHRISTINA     PEREZ                       TX     90010890853
1122536657B489   CONRAD        SIMMONDS                    NC     90008083665
11225412A31687   MARGEAUX      ROSSITER                    KS     90013864120
1122565963B324   SARAH         BOHMAN                      CO     90012116596
1122596694B555   REGINALD      GABRIEL                     OK     90014659669
11226225676B68   MIRIAN        HALE                        CA     90007932256
11226786A2B249   EDWARD        RICH                        DC     90012597860
1122699244B555   TASHA         LYNN                        OK     90014659924
11227A29A2B966   ERICA         LUQUIN                      CA     90011470290
1122817315B293   GREGORY       HANDY                       KY     90014191731
1122822395B526   MARISOL       VILLALOVOS                  NM     35048172239
1122874494B555   MICHAEL       SCOTT                       OK     90006197449
11229636272B62   UBALDO        MEDINA                      CO     90010226362
1122987968B837   WILLIAM       BOWLES                      HI     90013898796
1122992452B243   TIFFANY       PARKER                      DC     90005869245
112299A4591895   DANIEL        FROST                       OK     90011949045
11229A54972435   LIONEL        HAYDEN                      PA     51015290549
1122B375161938   ROD           SELBY                       CA     90014783751
1122B758677539   JESSE         ROBINSON                    NV     43094957586
1122B93A45B343   DANIELLE      BROWN                       OR     90002369304
1122BA29661938   ANTHONY       VELARDE                     CA     90011600296
112315A439154B   ENRIQUE       GUERRA                      TX     90013745043
1123188884B588   MONICA        RIOS                        OK     90010318888
112318A8477539   ANDREW        KASOZI                      NV     90005268084
11231A25476B68   FABIOLA       PADILLA                     CA     46043590254
112324A9672B62   VICTORIA      SANTISTEVAN                 CO     90011404096
1123277288B863   TAYLOR        ANAMA                       HI     90013977728
11233288A61976   ARLENE        MEDINA                      CA     90009382880
11233327876B68   ROXANNE       SANCHEZ                     CA     90013733278
1123415345715B   TISHA         NEVERSON                    VA     90010831534
1123562925B35B   MIKE          CURL                        OR     90006646292
1123681484B555   LATANYA       WEBB                        OK     21554098148
1123743A55B526   TANYA         GONZALEZ                    NM     90006414305
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1123744994B588   VICTOR         MIJAREZ                    OK     90006694499
112375A3957147   AMOS           FIALOR                     VA     90003615039
1123764878B193   AGNES          MUKANTAGARA                UT     31090536487
11237736972B62   LUIS ALBERTO   DOMINGUEZ GARDEA           CO     90013337369
1123811395B154   DANISHA        ROBERTS                    AR     23091111139
11238376372B77   TAMARA         MYERS                      CO     90001183763
11238919A5B254   RAEGENA        MCCAGE                     KY     90014289190
1123918744B588   PENNY          PARR                       OK     90015601874
1123B46944B588   STEVEN         HAWES                      OK     21558314694
1123B4A1591573   JESSICA        ANAYA                      TX     75086524015
1123B4A9A5B526   MIRIAM         CASTILLO                   NM     90005044090
1123B5AA161938   VANESSA        GUTIERREZ                  CA     46088305001
1123B67675B154   MICHAEL        SODA                       AR     90010316767
1123B751A4B26B   JENNIFER       KEATING                    NE     90002927510
1123B782461976   JULIO          RODRIGUEZ                  CA     90015207824
112411A173B36B   CESAR          COLMENERO                  CO     33052641017
112425A855715B   TRACY          RUSSELL                    VA     90006435085
1124326245B54B   DONALD         KRUSE                      NM     35049742624
1124353635B526   ANTONIO        ARDON                      NM     90014615363
1124496777B489   REYEZ          HERNANDEZ                  NC     11042009677
1124521148B863   RICHARD        ARRUDA                     HI     90014902114
1124586A691263   MICHAEL        HAMMONS                    GA     90014258606
112464A7357147   VIVIAN         CABRERA LOPEZ              VA     90012054073
1124654255B526   JUAN           CERECERES                  NM     90014615425
1124686279154B   JUAN           MORALES                    TX     90014418627
1124688942B966   FABIOLA        FLORES                     CA     90008778894
11246A34131687   BLANCA         AYALA                      KS     22008800341
1124724435B343   KIRK           SAMSON                     OR     90005792443
11247476A61972   JOSE           DIAZ                       CA     90011484760
112479A215B183   YALOUNDA       WILLIAMS                   AR     23036219021
11248137372B62   SYLVIA         RENTERIA                   CO     33033251373
112499A2A61938   RICHARD        OCAMPO                     CA     90014169020
1124B1A422B966   THPOMAS        SIEKIERSKI                 CA     90010461042
1124B71914B555   DAVID          LUNA                       OK     90007817191
1125119755B526   ABIGAIL        BUSTILLOS-ROSAS            NM     90002971975
11251A2AA57147   JOSE           SOTO                       VA     81015850200
11251A6913146B   JENNIFER       PERKINS                    MO     90009890691
11251A9134B588   DAWN           KONGVONGSAY                OK     90007810913
11252115872B4B   ALFRED         ROMERO                     CO     90001271158
1125225545B343   ANNA           DOVGANICH                  OR     44559122554
11253A41A61958   ROBERT         REED                       CA     90011150410
11253A89672B62   JUAN           JIMENEZ                    CO     33098180896
11253A9668B193   NICHOLAS       GLAZIER                    UT     31019450966
112544A3172453   HEIDI          THORPE                     PA     90014804031
112552AA861958   MIGUEL         PALACIOS RUIZ              CA     90003482008
1125551177B489   EDDIE          PORTER                     NC     90012785117
11255614A5B343   DALE           HILL                       OR     90014266140
11255672172B62   JUAN           MARTINEZ                   CO     33042126721
11256357A9154B   OSVALDO        FELIX                      TX     90005253570
1125643A631635   ZOLLA          BROOKS                     KS     90006884306
1125671528B193   MARK           BALLAINE                   UT     90005847152
11257A64622929   LATOYA         HILL                       GA     90012750646
11257A9787B489   LEONEL         ESPINAL                    NC     90013860978
11258112A57147   LORENA         SEGOVIA                    VA     90012321120
112589A6461938   ERIKA          LOPEZ                      CA     90014169064
1125B115872B4B   ALFRED         ROMERO                     CO     90001271158
1125B1A8551337   ASHLEY         LILLY                      OH     90008361085
1125B67565B526   NIVEE          DELAWARE                   NM     90010386756
1126135449154B   KRYSTAL        REINA                      TX     90013933544
1126174795593B   KATHLEEN       PUCKETT                    CA     90007337479
11261A5887B489   VICTORIA       ROLDAN                     NC     90012370588
1126257585715B   BRYANT         RODRIGUEZ                  VA     90013205758
1126271235B343   RAYMOND        GRAGG                      OR     90014877123
112649A5993745   KENNY          GRAHAM                     OH     90013079059
11264A6A433699   CYNTHIA        SPRINGS                    NC     90014960604
11264A9934B588   CHARLES        MARSHALL                   OK     21579060993
1126521865715B   ANGEL          LOPEZ                      VA     90011472186
11265369A97B23   RODOLFO        QUEZADA                    CO     90011553690
1126537A972435   KRISTIAN       CLAYTON                    PA     51012403709
112654A767B489   WILLIE         WALTER                     NC     90010294076
1126568653B36B   ANITA          GEIST                      CO     90014196865
11266396472B3B   SARAH          WHINERY                    CO     90010313964
112663A7972B62   ASIA           MENDOZA                    CO     90010803079
112667A154B588   HELEN          BLAKE                      OK     90015447015
1126681824B26B   CURTIS         WILEY                      NE     26025008182
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1126793715B154   KHALIQ        CHEIRS                      AR     90013289371
112679A2391569   HECTOR        RODRIGUEZ                   TX     75064549023
11267AA8572B55   JESUS         GUTIREZ                     CO     90003420085
1126877577B489   JUAN CARLOS   SOTO                        NC     90014137757
1126882134B555   SAMUEL        ROBERTS                     OK     90014668213
1126935895B526   DAVID         ARAGON                      NM     35069103589
1126955A661976   SANDRA        CERDA                       CA     46041405506
1126967945715B   MIGUEL        ANGEL                       VA     90012126794
1126973519154B   NORMA         ACOSTA                      TX     75067407351
1126978247B489   KEVLIN        HAGERTY                     NC     90013047824
1126993115B154   MICHELLE      BARKER                      AR     90015049311
11269A81861958   VERONICA      CONTRERAS                   CA     46040890818
1126B67525B343   ANA           MATA                        OR     90012166752
1126B81689154B   PEDRO         CORTEZ JR                   TX     75014868168
1126B829361972   RENE          MONTOYA                     CA     90014898293
1127145A691569   MIGUEL        DELAROSA                    TX     75077234506
112721A6A31687   DAVID         ROBB                        KS     90010971060
1127288A176B68   BALTAZAR      LUNA                        CA     90014168801
11272A98A9154B   OSWALDO       HERNANDEZ                   TX     90013780980
112733A345715B   VERONICA      REQUEL                      VA     90012753034
1127361114129B   GWENDOLYN     HARDMAN                     PA     90012556111
1127416778B166   RICHARD       VICARDS                     UT     90009481677
11274658A61958   LUIS          QUEZADA                     CA     90013076580
1127559595715B   EDWIN         REYNA                       VA     90011165959
1127585A64B555   BRANDON       CHANEY                      OK     90014668506
1127593A791263   JOSHUA        LESTER                      GA     90014609307
1127628862B966   LISA          HARRIS                      CA     90013122886
112767A4593748   POLLY         STANFORTH                   OH     90007177045
1127686AA4B555   DATRESE       LEWIS                       OK     90014668600
11276A79761938   LEE           CUMMINGS                    CA     90012480797
1127722355B343   HOPEANN       SHULTZ                      OR     90015492235
11277298972B35   JESSE         JAMES                       CO     90014162989
11277A9A291569   JANICE        LUGO                        TX     90008770902
1127857159154B   JESSICA       ZAMARRIPA                   TX     90009615715
11278829272B62   GISELE        GARCIA                      CO     33025058292
11278A6A591263   ROBIN         LEWIS                       GA     90013050605
11278AA912B966   ELVA          GUTIERREZ                   CA     90014040091
1127943414B588   SHAMIKA       HENDERSON                   OK     90010924341
1127944544B588   TAMARA        JOLLEY                      OK     90012554454
11279514372B62   TIMOTHY       BOVENZI                     CO     90012575143
11279653A33699   ALAN          CRAWFORD                    NC     90003046530
112799A794B555   TISHA         HAMILTON                    OK     90011329079
1127B1A645B154   SHAQUANTA     BILLINGSLEY                 AR     90015291064
1127B859961938   RONALD        BARRIOS                     CA     90009868599
1127BA9339154B   MARIA         BETANCOURT                  TX     90013780933
1127BAA6461958   CARLOS        SILVA                       CA     90011460064
1128162A586445   JOSE          REYNOSO                     SC     90015156205
1128362135715B   LUIS          TACURI                      VA     90013206213
1128363368B193   SHELLI        SMITH                       UT     31096876336
11283AA8833699   RONNIE        KOLLOCK                     NC     90014690088
11284441872B62   ANNA MARIE    KENSAK                      CO     90007364418
1128497A247956   EDWARD        GOFF                        AR     24098829702
1128545859154B   JESSICA       PROVENCIO                   TX     90010034585
1128592A251337   PILAR         HERRON                      OH     90014499202
11285A1215712B   MICHELLE      BOWSER                      VA     90012020121
1128625692B966   MICHAEL       ROMANI                      CA     90011662569
1128685394B234   CONNIE        GRIFFIS                     NE     27092538539
11286A1768B193   AMANDA        HASKELL                     UT     90009440176
112879A354B259   SHANTAYE      STUBBLEFIELD                NE     27015259035
11287A3575B343   CHRISTOPHER   GORDON                      OR     90014150357
1128877195B526   ROBERT        MIERA                       NM     90015297719
11288A8434B26B   ANDREW        HAMELIN                     NE     26050410843
1128914A161976   EDWIN         N. CORBETT                  CA     46009711401
112895A4791263   ARNETTE       THOMPSON                    GA     90010625047
11289811472B62   MATTHEW       ROSS                        CO     90013208114
1129146974B26B   BRANDIE       WEILER                      NE     90013054697
11291612A91895   ASHLEY        WHISNER                     OK     90013776120
1129328A291899   JASON         VINCENT                     OK     21039222802
11293A1A52B966   LETASHIA      WILBON                      CA     90015000105
11294213872B97   JUANITA       VILLEGAS                    CO     90000622138
11294278A61958   RODOLFO       LOPEZ                       CA     90012772780
11294611572B55   MARINA        RUIZ                        CO     33072286115
1129525185B343   KEVIN         STRUCK                      OR     44590412518
11295281576B68   ROSY          HERNANDEZ                   CA     46047432815
1129565A751337   CHARLES       NIEMANN                     OH     90014506507
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1129588838B193   CHAD         FOBBLKS                      UT     90006588883
1129637884B588   CHAD         EATON                        OK     21551453788
11296972172B33   LONNIE       OSULLIVAN                    CO     90012369721
1129749154B26B   DUSTIN       BREWER                       NE     90008174915
1129757112B966   ROSIO        YANTES                       CA     90011355711
1129775A75B526   ALEXANDER    PIERCE                       NM     35016827507
11297A8819B128   YOLONDA      FLOR                         TN     90015570881
11298A51A72B62   DEREK        TORTTIER                     CO     90008710510
1129953175B343   VIRGINIA     VAZQUEZ                      OR     44508635317
11299584172B84   LYNNE        PHILLIPS                     CO     33088325841
1129B139493745   IAN          MOONEY                       OH     64574691394
1129B37975B154   LUIS         SANCHEZ                      AR     90012343797
1129B48A661972   FRANCISCO    GOMEZ                        CA     90012494806
1129B685A4B26B   PEARL        ERICKSON                     NE     90013436850
112B134999154B   CLAUDIA      TORRES                       TX     90010153499
112B1357591263   RASHAN       DAUGHTRY                     GA     90012973575
112B2147272B62   YUREN        OLIVAS                       CO     33087441472
112B232345B526   MANUEL D     BUSTAMANTE                   NM     90010873234
112B318798B193   KATIE        WIMMER                       UT     31025941879
112B4114147956   BRITTANY     WARREN                       AR     90011831141
112B4656461976   AZUCENA      FRAIRE                       CA     46042056564
112B5123354144   ELIENA       RODRIGUEZ                    OR     90014281233
112B5328772453   DONALD       DELVECCHIO                   PA     90014793287
112B5384661958   ANGELICA     SANTIAGO                     CA     46008043846
112B558325B385   SANDRA       DAVIS                        OR     90010695832
112B596575B154   CARNELL      JOHNSON                      AR     90014949657
112B6297291263   TAKIA        GREENE                       SC     90014862972
112B6447151337   PAMELA       LAMB                         OH     90015214471
112B6655451337   PAMELA       DARDEN                       OH     90013436554
112B68A5976B68   CARLOS       MOLDANADO                    CA     46064688059
112B7634A2B966   SARAH        ORTIZ                        CA     90004176340
112B766A84B588   TERRY        BEALS                        OK     90013056608
112B7A86272435   GAYLE        HEYMER                       PA     51064520862
112B811654B26B   MELINDA      MCGREW                       NE     26083761165
112B8298147956   IVAN         PEREZ                        AR     90011832981
112B842635B154   ALANA        MORRIS                       AR     90011274263
112B8441872453   FRANCIS      ROBEL                        PA     90014794418
112B8928661976   OSCAR        LEON                         CA     90011229286
112B899997B489   MELANIE      CROCKER                      SC     90014409999
112B9145191263   DAVID        CAPERS                       GA     90002381451
112B921A67B489   CARLOS       HERNANDEZ                    NC     90001642106
112B9339177539   JOSHUA       MCGRATH                      NV     90002893391
112B9347557147   FRANCISCO    OLIVARES                     VA     90002763475
112B9373693745   DUSTIN       WARD                         OH     64522913736
112B964152B966   JOEL         GARCIA REYES                 CA     90014696415
112B9A1255715B   MESFIN       WOUDNEH                      VA     81059760125
112BB832A76B68   JOHNNY       BEA                          CA     90003038320
112BB965147956   CARLINA      LINCOLN                      AR     90011829651
112BBA17991569   ADRIAN       NARRO                        TX     75005480179
112BBA22761972   PEDRO        YANEZ                        CA     90012700227
1131136815B526   GILBERTO     OLDONEZ                      NM     35084833681
1131149725B343   ALEIDA       ESPINOZA                     OR     90013184972
1131161318B193   SUSAN        ERICKSON                     UT     31019326131
1131174344B26B   DENISE       BRENAGH                      NE     90007777434
1131189A391895   ALEXIS       PEREZ                        OK     90011148903
1131236759154B   GRISELDA     VALDEZ                       TX     90008363675
1131239269154B   GRISELDA     VALDEZ                       TX     90015573926
1131292455B35B   GREGORY      GIELER                       OR     90010029245
1131342494B259   TERESA       SVOBODA                      NE     27037144249
11313666272B62   OMAR         MARTINEZ                     CO     90013966662
1131371A45B343   DEEPTI       SINGH                        OR     90010217104
1131419A75B154   ZAKIYYAH     MUHAMMAD                     AR     23001641907
1131447789154B   ALMA         FRAYRE                       TX     90011404778
11315971A72B62   MIGUEL       ESQUIBEL                     CO     33011549710
1131599A677539   FRANCISCA    COLLAZO-GARCIA               NV     90004129906
11315A58661958   DIEGO        IBARRA                       CA     90007850586
1131696135B154   JACK         HOPES                        AR     23041169613
11316978476B68   TRAVIS       HOLMBERG                     CA     90014169784
113172AA161938   EDWARD       WASHINGTON                   CA     90011602001
1131795442B966   EDEN         PADILLA                      CA     90013869544
11317A38631687   DIANNA       STEPHENSON                   KS     22058100386
11317A5915B154   KENNY        MAHOMES                      AR     90012900591
11318385A2B966   ELEA         MIGUEL                       CA     90012573850
1131976134B588   ANASTASIA    ESPINOSA                     OK     90012937613
1131986819154B   KARLA        SALAZAR                      TX     90014178681
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1131B91974B555   DENISE        CLIMER                      OK     90011999197
1131BA82A91895   BILL          GRAY                        OK     90007260820
1132235632B966   ELLY          RAMIREZ                     CA     90003583563
1132273A393745   TREONA        WHITMORE                    OH     64587827303
11322AA387B489   VUM           BAWI                        NC     90009410038
11323298A61958   SOTERO        VALDIVIA                    CA     90014132980
1132399475715B   MATILDE       LOPEZ CABALLERO             VA     90014449947
1132441835B526   JAIME         FLORES                      NM     90002574183
1132469765715B   TERESA        DOMINGUEZ                   VA     90007926976
1132476A25B154   ROBYN         CREWS                       AR     23005197602
11324792572B62   MONICA        CARRILLO                    CO     90012827925
11325178976B68   LIZZED        GARCIA                      CA     46073351789
11325A82A93745   GLEN          NICKLES                     OH     90007560820
1132639465B526   NOHEMI        ESTRADA                     NM     90008673946
11326553A4B588   BETTINA       BOWENS                      OK     90009645530
1132674777B489   DENNIS        VALLADOLID                  NC     90006747477
1132679A633699   ALLISON       DICKENS                     NC     12068867906
113268A5993745   KATIE         FLINN                       OH     90013928059
11326A4515715B   MILAGRO       BONILLA                     VA     81038610451
11327597372B62   VINCENT       LOPEZ                       CO     33082495973
1132774A79154B   BEATRIZ       HERNANDEZ                   TX     90011237407
11328294A61958   MARIA         CORTEZ                      CA     90014182940
1132864A35B154   LOVAIL        WILSON                      AR     23091456403
1132924A172435   DAVID         BOWMAN                      PA     90002702401
1132957942B966   STEPHANIE     SANCHEZ                     CA     90014595794
1132998A431635   KELLEY        MCKAY                       KS     22045739804
1132B256561972   JOHN          MILLER WILKINS              CA     90013152565
1132B625661976   ANGELICA      ROMERO                      CA     46035136256
1133237425B343   CHRISTINA     NEWBY                       OR     44582403742
11332A98957147   JOSE          BELTETON                    VA     81017200989
1133311582B966   CLAUDIA       COMPARAN                    CA     90011671158
1133368A261926   GREGORY       WHITE                       CA     90000916802
113345A3892826   DAVID         DAVIS                       AZ     90014435038
113346A975715B   WILLIAM       ROMERO                      VA     90013046097
11334A81872B97   MARIA         GARFIO                      CO     90009110818
11334AA999154B   SITLALY       ENRIQUEZ                    TX     90012290099
1133577839154B   GERARDO       HERNANDEZ                   TX     75043147783
11335779A4B26B   LAINIE        REYNOLDS                    NE     26021587790
11336118A5715B   MANUEL        PORTILLO AGUILAR            VA     90014081180
1133651A28582B   DIMAS PABLO   FRANCISCO                   CA     90011875102
11336726A51337   GLADIS        RODRIGUES                   OH     66061257260
113373A6331687   FEKREYESUSS   WOLDEYEWHANNS               KS     90009243063
1133812935B523   FRANCES       GALLEGOS                    NM     90004821293
1133874A79154B   BEATRIZ       HERNANDEZ                   TX     90011237407
1133922685B526   LORENA        RAMIREZ                     NM     90010982268
1133937884B588   CHAD          EATON                       OK     21551453788
1133943984B26B   DEVAN         MURCEK                      NE     90014694398
113397A3872B62   KARINE        OLSON                       CO     90004767038
1133B5A9993737   LISA          ELROD                       OH     90012555099
1133B727361958   HEATHER       PIGNATARO                   CA     90005217273
1133B818A5B154   JANETTE       NAJERA                      AR     90015148180
1133B868691895   CHARLES       MINNEY                      OK     21075408686
1133BA89A91569   CAROLINA      DAVILA                      TX     75095790890
1133BAA9351337   DWAYNE        CUPP                        OH     66049570093
113413A633B394   JESUS         GALVAN                      CO     33050973063
1134193815B154   PANDIA        HARRIS                      AR     23090889381
1134219A14B588   SENDY         CORPUS                      OK     90014531901
11342A3988582B   JESUS         DAMIAN                      CA     90014710398
1134352A19154B   AARON         DAVILA                      TX     90011875201
11343555972B55   YAO ARMEL     ONGOUNDJA                   CO     90010195559
1134361965715B   ANTULIO       LOPEZ                       VA     81010526196
1134442974B588   CARL          SEAMSTER                    OK     90015114297
1134564464B259   LELAND        MICKLES                     NE     90004016446
1134594264B588   QUATAVIA      LUCAS                       OK     90013029426
11346312A61938   CARLOS        HERNANDEZ ALONZO            CA     90011603120
1134659194B26B   JOANNE        SCOTT                       NE     90008085919
11346A2695B526   LUIS          VALENZUELA                  NM     35050160269
113472A4A7B489   LOY           LEE                         NC     90008402040
1134756235B37B   TRICIA        SCOTT                       OR     90001725623
11347799A8B193   EMILEE        BENTON                      UT     31065907990
11347942872B55   MELINA        MILLER                      CO     33046339428
11347956876B68   MALINA        SEPPANEN                    CA     90000259568
11348971972B62   BRENT         MCCONNELL                   CO     90012769719
11348A8845B154   CASSANDRA     WADE                        AR     23041080884
1134917A181652   CHEREICE      GIVENS                      MO     90005071701
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11349442A71927   JORGE        GONZALEZ                     CO     90011844420
1134B297533699   JERMAYNE     LEDBETTER                    NC     90013632975
1134B36A393745   APRIL        DEATON.                      OH     64580913603
1134B566431687   JANEL        HARRIS                       KS     22094755664
1134BA6A25B35B   CHRSTIAN     CAMPOS                       OR     90010030602
1135117715715B   MARY         EL-KHATIB                    VA     90013461771
113511A1231687   MELINDA      WOLF                         KS     22074061012
113515A4791263   ARNETTE      THOMPSON                     GA     90010625047
113529A789154B   MIGUEL       JAUREGUI                     TX     90008649078
11353679572B62   KEN          PALIGE                       CO     90003686795
1135383A85B526   FELICIA      GARCIA                       NM     90012068308
1135389114B555   TAMEKA       KELLEY                       OK     90014678911
113539A642B966   MIGUEL       ALMARAZ                      CA     90012389064
113549A154B26B   JAMIE        PROKOP                       NE     26083819015
11355495276B68   DALIA        OWENS                        CA     46038624952
11355829A91895   MARIO        CAMINOREAL                   OK     90008568290
11355A8449154B   MARBELLA     LOPEZ                        TX     90014340844
113564A6576B68   JACOB        PITTMAN                      CA     90010294065
1135727A272B55   MARISA       MOLINA                       CO     90004332702
1135747775B526   ROLANDO      RAMOZ                        NM     90003744777
1135754758B193   KOURTNEY     VICKERY                      UT     31033165475
1135763327B424   TIARA        GABRIEL                      NC     90009126332
11357A78193745   NICOLE       MOWERY                       OH     90011020781
11357A83431687   GUSTAVO      SOLIS                        KS     22052860834
1135874875B343   ELIZABETH    VILLEGAS                     OR     90010227487
1135877655B343   ELIZABETH    VILLEGAS                     OR     90012347765
11358A3469154B   MARCO        ESCOBEDO                     TX     90012920346
113595A2347956   REVA         PEARSON                      OK     90004585023
1135B2A924B555   BRIANNA      TAYLOR                       OK     90014672092
1135B787733699   ERICK        CABALLERO                    NC     90014437877
1135B978461976   LIZETH       FERREIRA                     CA     46087409784
1135BA6987B489   MICHAEL      RIFFLE                       NC     90012030698
11361587A8B193   ALFONZO      LOPEZ                        UT     90010995870
1136182424B26B   SERGIO       MONTES                       NE     90013328242
1136183A25B35B   BETTY        MORRIS                       OR     90005838302
11361989A72453   MELISSA      SIDERS                       PA     51029489890
1136234432B966   GARY M       COSTA                        CA     90010663443
1136256427B489   VICTOR       ERASMO                       NC     90014685642
11363441176B68   REIMUNDO     SUARES                       CA     90006714411
113634A3772B43   RAFAEL       ORTEGA                       CO     90008424037
1136367A561958   MARY         JOBERT                       CA     90010036705
1136425125715B   MARTA        MARTINEZ                     VA     90014072512
1136431385B343   ALFREDO      GARCIA                       OR     90014423138
11364A74676B68   LUIS         DARTE                        CA     90010310746
1136521A391895   JUAQUIN      AGUILAR                      OK     90009182103
113653A324B588   DAVID        RIMER                        OK     90011303032
1136559465B526   LILIANA      LAGE                         NM     90005855946
113667A956612B   DESIREE      SALINAS                      CA     90014657095
11367466672B84   SIA Y        CHANDLER                     CO     90007174666
113674A1591263   PERRYANA     BRYANT                       GA     90004534015
113683A534B26B   LETICIA      MARTINEZ                     NE     90010943053
1136844A78B192   DARROL       BRINGHURST                   UT     90014984407
11368A13861938   MANUEL       BARRIOS                      CA     90014170138
113694A455B154   WYNTER       LARRY                        AR     90015094045
1136973265B343   ALMA         SANDOVAL                     OR     90010027326
1136983A331687   DIANA        LEWIS                        KS     90012098303
1136B191876B68   PASCUAL      LOPEZ                        CA     90013351918
1136B753A33699   JASON        FARABEE                      NC     90006247530
1136BA17191263   ANGELA       VAZQUEZ                      GA     90013060171
1137151553B36B   WELLS        ROBIN                        CO     90000625155
1137216A94B26B   MARIA        ESPINOZA                     NE     90002531609
1137288975B526   MISTY LEE    HARRISON                     NM     90013448897
1137342A94B555   DERRICK      WANDRIE                      OK     90011234209
1137429917B489   LUIS         JUAREZ                       NC     90014192991
1137436945B343   EMMA         PUENTE                       OR     44590683694
11374973A9154B   FELIX        VIZARRETA                    TX     90004289730
11375289A61958   YESSENIA     VALADEZ                      CA     90011472890
1137535634B588   CARLOS       OBANDO                       OK     21541983563
113754A6572B26   HEATHER      M MORGAN                     CO     33097844065
11375A2AA61938   LUPITA       RODRIGUEZ                    CA     90014170200
1137629884B555   SALLY        WALLACE                      OK     90014672988
1137633895715B   LOPEZ        MARI                         VA     90003333389
1137678247B489   KEVLIN       HAGERTY                      NC     90013047824
1137759A976B68   SEAN         MYERS                        CA     90009035909
1137777A536B55   MIGUEL       CASTRO                       WA     90012207705
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11377A47961938   CATALINA        LOPEZ                     CA     90014920479
113785A3472B62   BRENDA          NICOLAS                   CO     33003545034
113786A3891895   PAMELA          REICH                     OK     90009656038
1137884A361976   MONICA          AREVALO                   CA     90000228403
11378AA775B154   ROBERT          WEBB                      AR     23016390077
113791AAA85823   CASSIE          PADILLA                   CA     90014071000
1137933485B348   JILIO           RODRIGEZ                  OR     90013923348
1137963A35B343   SUNDAY          BRADSHAW                  OR     90001566303
1137B426176B68   NOEL            RAMIREZ                   CA     46063974261
1137B745491895   GABRIELA        VASQUEZ TORRES            OK     90010277454
1137B7A575715B   CESAR           REYES                     VA     90013267057
1137B965333699   BRITTANY        WALLACE                   NC     90013349653
1138123815B343   ZOLIA EMIRIAN   VILLALOBOS                OR     90011372381
1138265133196B   VERONICA        DEJAYNES                  IA     90015286513
1138296599154B   ABRAHAM         FRANCO                    TX     75024619659
113829AA55B154   WHITNEY         HAMMOND                   AR     90009639005
1138358342B966   ALEJANDRO       MECIAS                    CA     90013115834
1138392A961976   WILLIAM         HUMPHREY                  CA     90014989209
1138433184B54B   IRENE           BLANCO                    OK     90011123318
1138442135B154   VEASTEY         MC KINNEY                 AR     90003004213
1138454425B343   VALENTIN        SANCHEZ LOPEZ             OR     44576345442
1138544764B259   CATHY           MCVAY                     NE     27073954476
1138577154B547   DESIREE         MARTIN                    OK     90012627715
11386777A5B526   JASON           MILLER                    NM     90010697770
11386938672B62   MARIA           HERNANDEZ                 CO     90011049386
113869A554B588   HAROLD          YOUNG                     OK     90008449055
1138717817B323   IBRAHIM         KARGBO                    VA     81014241781
1138723A597B39   JOSHUA          HOLTON                    CO     90007742305
1138744349154B   RAMON           HERRERA                   TX     90008084434
1138759219154B   EVELYN          ALVARADO                  TX     90011455921
1138794A46192B   CHRIS           WHITLOCK                  CA     90010479404
11387995172B62   JEREMY          PEOPLES                   CO     90006629951
1138823827B489   ALEXANDER       DE PAZ                    NC     90009522382
113886A854B555   PALOMA          HERNANDEZ                 OK     90012066085
1138962924B555   ANDREW          SELFRIDGE                 OK     21500916292
113899A419154B   LORENA          MEZA                      TX     75011029041
11389A43193745   TYRONE          COOK                      OH     64593440431
1138B579161972   KRISTEN         HARLESS                   CA     46066905791
1138B886A4B588   ANN             THOMAS                    OK     90010128860
1138BA86477344   SABRINA         PARKER                    IL     90002550864
1139262924B555   ANDREW          SELFRIDGE                 OK     21500916292
11392771A91263   JANETT          JOHNSON                   GA     90013607710
1139328385B154   HAMP            NOWDEN                    AR     23076752838
11393317A9154B   BRENDA          LIAL                      TX     90013353170
113936A4A61958   GRACIELA        LAZARO                    CA     46029896040
11393A48527B36   MARQUIS         PAYTON                    KY     90015430485
11394732A57147   DOMINGO         PEREZ GOMEZ               VA     90012427320
113949AA491899   LORETTA         LEE                       OK     90014859004
11394A1A95715B   JOE             SIMTH                     VA     90013080109
113963AA872435   ASIA            SHANNON                   PA     51014793008
1139687A95715B   BEATRIZ         CONTRERAS                 VA     90011908709
11396A7845B526   CASSIE          HERNANDEZ                 NM     35031590784
11397432176B42   JEANINE         MCKIERNAN                 CA     90007754321
1139795134B26B   SHANE           TREJO                     NE     26033499513
11398183A2B966   PATRICK         STRIBLING                 CA     90001141830
113984A8951337   KARLY           PENNINGTON                OH     90011014089
1139932795715B   ALEXANDER       FLORES                    VA     81016613279
1139B175831687   KARA            NAGEL                     KS     90008701758
1139B512872B62   RAUL            HERNANDEZ                 CO     33056655128
1139B59299154B   CYNTHIA         GUERRERO                  TX     90014565929
1139B9AA32B966   AMBER           LOGSDON                   CA     45089499003
113B1243131456   BRIAN           KEYS                      MO     90001452431
113B1469747956   JEREMY          CLAYTON                   AR     90012774697
113B148825B35B   WARREN          DRAINVILLE                OR     44514414882
113B1741347956   JEREMY          CLAYTON                   AR     90008977413
113B1776733699   MITZIE          NYIAM                     NC     90011137767
113B198365715B   KASHIF          ASLAM                     VA     90006779836
113B1A3244B555   JAMIE           HAYNES                    OK     90014670324
113B2246A61972   DIEM            TU                        CA     90010322460
113B2257693745   PAT             SHROYER                   OH     64516392576
113B2AA937B489   FAUSTINO        RAMOS                     NC     90002080093
113B353174B26B   JANET           PALMER                    NE     26069795317
113B371979154B   CYNTHIA         GRANADOS                  TX     90011237197
113B3942691569   ROBERTO         RODRIGUEZ                 TX     90011769426
113B3964A61976   FEDERICO        AISPURO                   CA     90011559640
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113B4133161976   RONALD       NOLLET                       CA     90012051331
113B425915B154   ROSALIDA     SANTOS                       AR     23067412591
113B4312457147   LUIS         CABRERA                      VA     90013663124
113B476414B588   VALENTE      PEDNOSO                      OK     90015597641
113B47A455715B   BERONICA     PEREZ                        VA     90007467045
113B49A9591263   SHANIKKA     JONES                        GA     90009949095
113B4AA7624B7B   RODERICK     WALKER                       DC     90006070076
113B5173161934   CHRIS        DURAN                        CA     90004151731
113B596A95B526   VERONICA     LOPEZ                        NM     90014919609
113B5A59A61972   LUIS         PATLAN                       CA     46087820590
113B623979154B   MARIA        LUNA                         TX     75054472397
113B6315647956   WILLIS       FISHER                       AR     24066823156
113B6336291844   SANDRA       SPIEGEL                      OK     90008153362
113B6873761938   PATRICIA     SANCHEZ                      CA     90014168737
113B6A27372B62   RENATA       GALVAN                       CO     90011500273
113B6A6615B154   ALEJANDRO    MORALES                      AR     23017950661
113B6A76A61972   MARK         CHOUINARD                    CA     90010480760
113B749859154B   CARLOS       GARCIA                       TX     90001734985
113B7871581629   DARIANTE     MYRICK                       KS     90014728715
113B8193A61938   JOSEPHINE    MENO                         CA     46056171930
113B8576993745   ANGELA       DURHAN                       OH     64575935769
113B8627677539   JASON        ELGAARD                      NV     90000976276
113B898187B489   BRITTANY     MOSS                         NC     90009409818
113B913415715B   RODRIGUEZ    A                            VA     90008401341
113B9161261958   ANDRES       ALDERTE                      CA     90011931612
113B974494B555   MICHAEL      SCOTT                        OK     90006197449
113B9955761938   FRANK        MIRAMONTES                   CA     90014169557
113BB323157147   NOEL         HERNANDEZ                    VA     90012803231
113BB65A261976   BARBARA      HUITRON                      CA     90012026502
113BBA2392B966   MIKE         PEREZ                        CA     90012800239
113BBA33772B62   FERNANDO     HERNADEZ                     CO     90006220337
1141114A55B35B   TELLIS       MCCLYDE                      OR     90010041405
114115A6261972   ANDY         JONES                        CA     46051095062
1141239134B588   BRANDE       KISER                        OK     90012963913
1141251145B35B   PROSPERO     CRUZ-MORALES                 OR     44558045114
1141262674B555   JESSE        JERNIGAN                     OK     90014686267
114127A3A4B26B   HEATHER      HEFNER                       NE     90004957030
11413467272B62   ROBERT       ROUGH                        CO     90010904672
114134A884B26B   SHANNON      GARCIA                       NE     26037184088
1141356A261938   JAMES        HENDERSON                    CA     90014185602
1141362674B555   JESSE        JERNIGAN                     OK     90014686267
1141363167B489   TRACIE       RANKIN                       NC     90011686316
11413941A31646   BRUCE        NIELSEN                      KS     90008659410
1141394535B35B   TONY         MCKINLEY                     OR     90014989453
11413A68A31687   TERRY L      DAVID                        KS     90015120680
1141446A161958   LUIS         BOJORQUEZ                    CA     90013214601
1141478917B489   MARY         SHANNON                      NC     90009407891
11414A4678B683   MARGARITO    MENDOZA                      TX     90013940467
1141528862B966   LISA         HARRIS                       CA     90013122886
11415433A4B588   SHERYL       CAMPOS                       OK     90009944330
1141558758B193   TIMOTHY      SIMPSON                      UT     90002645875
1141649454B555   ELIZABETH    HILL                         OK     90014574945
11416668272B62   STEPHANIE    ANN TAFOYA                   CO     33066986682
1141724612B966   FELISHA      SANCHEZ                      CA     90007142461
11417664576B68   FLORO        VENTURA                      CA     90013036645
1141772874B588   BILLY        GENSON                       OK     90012607287
11417A46772435   JENNIFER     GRONCKI                      PA     51047700467
1141911752B966   JOSEPH       NORTHERN                     CA     90015091175
114193A5961958   TOM          PACHECO                      CA     90010333059
1141B143193745   MISTY        DIETRICH                     OH     64591111431
1141B338672453   RENEE        RENNER                       PA     51052073386
1141B4A4A9154B   CORAIMA      GARCIA                       TX     90014764040
1141B619357147   FRANCISCO    MARTINEZ                     VA     81066346193
1141B926477569   DWAYNE       DULL                         NV     90004869264
1141BAA9691263   CARMEN       MCPHAUL                      GA     90008400096
114217A3272435   RAYMOND      ZIER                         PA     51025757032
1142282665B343   JAMES        MARTIN                       OR     90010228266
1142373AA9154B   LETICIA      SOTELO                       TX     90011987300
1142434684B259   LUIS         VELASQUEZ                    NE     27050243468
1142434757B489   TIAWANIA     RENDLEMAN                    NC     11036093475
114252A6172483   MARLENE      STODDARD                     PA     51038352061
11425465576B68   FLORENCIA    CRUZ                         CA     90013604655
1142586A391263   TRAVIS       FULLER                       GA     90012718603
11425A75791895   JOSE         VEGA                         OK     90014680757
1142617A491895   ROBERT       WALKER                       OK     90006811704
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1142665888B193   ARRELLANO      IRMA BEATRIZ               UT     90004466588
1142686492B966   MAYRA          MARTINEZ                   CA     90013888649
1142746A75715B   YTALA          CIUDAD CARPIO              VA     90002974607
1142768194B555   MARK           MEINER                     OK     90014686819
1142852194B588   JOSHUA         BRIDAL                     OK     90013335219
1142983692B966   FABIOLA        PADILLA                    CA     90001798369
1142989935B35B   LAZARO         ANDRADE                    OR     90012028993
1142991A44B26B   TIM            TAYLOR                     NE     90013929104
1142B19635B154   BRITTANY       BALTIMORE                  AR     90014161963
1142B38512B966   CIERRA         VASQUEZ                    CA     90006683851
1142B48174B588   VICTORIA       HALL                       OK     90006934817
1142B591161938   JORGE          GUADARRAMA                 CA     90007105911
1142B616276B68   GREGORIO       BOCANEGRA                  CA     90014386162
1142B72245715B   LUIS           ARANIBAR                   VA     81076277224
1143157512B966   RAFAEL         RODRIGUEZ                  CA     90014785751
11431A3715B154   VAL            ROBINSON                   AR     90012110371
11431A4364B259   AARON          PERRY                      NE     90002650436
1143213845B526   NANCY          CABRERA                    NM     90000461384
1143243312B966   JOVANNI        CERVANTES                  CA     90013894331
1143247A15413B   HORACO         CORTEZ                     OR     90015184701
114326AA793745   DONIELLE       KIRKLAND                   OH     90015066007
11432A2452B966   GREGORY        BROWN                      CA     90014910245
1143358195B526   ADRIANA        MARTINEZ                   NM     90013785819
1143385A561976   AMBER          JACKSON                    CA     90000848505
11433A32176B68   MARIBEL        GARCIA                     CA     46054660321
114348A7A4B588   JOSE           LOPEZ                      OK     90015168070
11434977A61972   LEANDRO        ORDONES                    CA     90005879770
11436262872B62   JASON          AGUILAR                    CO     90007302628
1143657862B966   DAVID          GOMEZ                      CA     90012725786
11436A61557579   ALBINO         GARCIA                     NM     90013940615
1143768467B435   MAURICIO       PRADO                      NC     11071636846
11437A7A65B526   OSCAR          BARAY                      NM     35057480706
1143873929154B   ALMA           CARMONA                    TX     90006997392
1143896234B588   KALEIGH        CLIFTON                    OK     21545939623
114393A265B526   LESLIE         WOOLLARD                   NM     90012473026
1143942914B26B   SHANNON        WOLFF                      NE     26036944291
114394A1272435   MATT           NEGLEY                     PA     51090194012
1143997A471966   ELKE           OKEEFE                     CO     90011939704
1143B28745B343   CLIFTON        ALLEN                      OR     90014302874
1143B352927B36   ROJAS VERTIZ   ZIPF                       KY     90013973529
1143B566361938   KIMBERLY       ZAMBRANO                   CA     90014185663
1143B663A76B68   GIBRAN         LEYVA                      CA     46095126630
1143B677693745   TASHA          CAVANAUGH                  OH     90003646776
1143BA2577B489   JAHNIEL        CABRERA                    NC     90008720257
11441526A72B62   ARAM           PENA-REYES                 CO     33096235260
11441761A47956   JESSICA        SMILEY                     AR     24011857610
11441A23591569   ALVA           RENTERIA                   TX     90012910235
1144223644B588   HOWELL         RONALD                     OK     90014622364
1144252972B966   STEPHANIE      SAUNDENRS                  CA     90009745297
1144272533B398   JESSICA        CHAPMAN                    CO     33029287253
1144318A44B26B   LINDA          FITZSIMMONS                NE     90014731804
1144327A57B489   BRANDON        BISSOON                    NC     90012662705
11443559276B68   FRANCESCA      CLAVIER SMITH              CA     46059095592
1144387925B35B   LARISA         KORCHAGINA                 OR     90003108792
1144441617B489   HEATHER        STEVENS                    NC     11051244161
114444AA872B62   MARK           JAIME                      CO     33096634008
1144451454B555   WILLIAM        PENNOCK                    OK     90014705145
1144462984B26B   COURTNEY       FLOYED                     NE     26014096298
11445935872B62   SHERRY         SWAIN                      CO     33066609358
114462A985B35B   REYNA          FABELA                     OR     90010042098
1144661A593745   DALE           SPRADLIN                   OH     64551776105
11447A59931687   RYAN           SCHEUBER                   KS     22092340599
1144846275B526   LUIS           MEJIA                      NM     90004744627
1144871A591263   WILLIAM        STEED                      GA     14577257105
1144878A276B68   JOSE           DIAZ                       CA     90003597802
11448A56A24B7B   THEODORE       BROWN                      DC     90013400560
1144B444991532   TOMASA         ALFARO                     TX     90006404449
1144B48A87B489   STEVENSON      CRAWFORD                   NC     90013334808
1144B656961958   PUA            YANG                       CA     46005266569
1144B682561958   JESSE          LARA                       CA     90011256825
1144B72A172B62   AURORA         MORENO                     CO     90007487201
1144B945257147   ROSENSO        CHICAS                     VA     90013239452
11451A58272B62   MARY           BENSON                     CO     33093390582
1145213598B193   CURTIS         TENISON                    UT     31087811359
114526A8461938   ROGELIO        MONTANO                    CA     90014186084
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1145397185B343   ANA           ESTRADA                     OR     90013799718
11453A1732B966   RODRIGO       MEDRANO                     CA     90012890173
1145444A78B192   DARROL        BRINGHURST                  UT     90014984407
1145474924B555   MARIAH        HUNTER                      OK     90014687492
11454A3152B966   SONYA         PUENTES                     CA     90012840315
114576AA561938   DOMINIC       DIBERNARDO                  CA     90010556005
11457792876B68   HECTOR        SANCHEZ                     CA     90006697928
1145816248B193   SARAH         BURT                        UT     90012601624
114587AA672453   CHARLES       WINTERHALTER                PA     51061027006
11458A9A18B193   RICK JAMES    RYDALCH                     UT     31008450901
11459597972B62   VANESSA       MARTINEZ                    CO     90010515979
1145B22A891263   NICOLE        CARTER                      GA     90014732208
1145B75525B526   YASMIN        ZARRASOLA                   NM     90014957552
1145B834561976   SARA          GOMEZ                       CA     90012778345
1145B85332B966   NATHALIE      ALMANZA                     CA     90012978533
1146198825B343   JAIMES        FAVIAN                      OR     90013629882
114628A6A9377B   FRANCIS       WHITE                       OH     90007678060
11463A3534B588   APRIL         REYNOLDS                    OK     21546950353
11464548176B68   LETICIA       NAVARRO                     CA     46043605481
1146497279154B   CATALINA      BURCIAGA                    TX     90008649727
1146558365B343   RUTH          EVANS                       OR     90007425836
114656A5A2B966   JACKLEEN      YOUSIF                      CA     90014556050
1146613A393745   TIMOTHY       BRAGG                       OH     64579021303
1146655187B489   CRYSTAL       LEWIS                       NC     90010305518
1146681475B264   JEFFREY       MORSEY                      KY     90007988147
1146689995B154   RAFAEL        MENDEZ                      AR     90013948999
1146699315715B   MARLYN        JUAREZ                      VA     90003079931
114671A2193745   ROBYN         WHITE                       OH     90007011021
11467485976B68   JESSE DEAN    ARCHER                      CA     90013014859
11467A5674B26B   DAWN          HOING                       NE     90013670567
1146831855B343   ADRIAN        VASQUEZ                     OR     44566723185
11468938172B62   SISI          PARRA                       CO     33087699381
1146923595B35B   ALFRED        DELIA                       OR     90012312359
1146929975B343   CATHERINE     SHERIDAN                    OR     90011592997
11469A7829154B   HUMBERTO      PONCE                       TX     90011290782
11469A89172B62   IRMA          LEYVA                       CO     90013420891
1146B488A77539   GREGORY       RUPERT                      NV     90001644880
1146B74548164B   DOUGLAS       PECK                        MO     90012127454
11471A5229154B   CARRILLO      GRACE                       TX     90011610522
1147227977B489   SHANNON       DAVIS                       NC     11043162797
11472A3A75B35B   BONNIE        MCGUCKIN                    OR     90010700307
1147376AA4B588   MARIA         ASTUDILLO                   OK     90013127600
11473989376B68   CATALINA      GONZALES                    CA     90003309893
1147468A131687   JOEL          SEBASTIAN                   KS     90013046801
11474A23A51337   VALARIE       POLLARD                     OH     66093220230
11474A34991895   HEATHER       SHELTON                     OK     90011100349
11475219876B68   CHRISTOPHER   BURKE                       CA     90014392198
114754A3672B34   FIDEL         ROBLES                      CO     90013294036
1147561895B526   KRISTEN       BLAKE                       NM     35062996189
1147616612B966   JENELLE       BROWN                       CA     90014771661
1147631575B154   MARIA         LOPEZ                       AR     90014603157
11476372676B68   MATT          FIMBRES                     CA     46091253726
1147681474B555   JAMIE         JOSEPH                      OK     90013488147
1147886855B154   LACHANDA      MOORE                       AR     90014388685
1147926865B526   GENELLE       GALLEGOS                    NM     90010952686
1147958287B489   ALTHEA        COLLINS                     NC     11025275828
1147B174391569   GADALUPE      BELTRAN                     TX     90008331743
1147B183672B62   DANIEL        CARRALES                    CO     33004771836
1147B2A3961986   HELEN         GALVAN                      CA     90003122039
1147B35674B26B   LEONARD       DAVIS                       NE     90009363567
1148128627B489   DAVID         CRAIS                       NC     90014802862
1148129257B489   DAVID         CRAIS                       NC     90012182925
11482744476B68   MARIA         GOMEZ                       CA     90013047444
11483858572B55   SAMM          GEDO                        CO     90006998585
11484418A72435   BRYAN         BAKER                       PA     51042724180
114857A6991895   KYMBRIA       GUNN                        OK     90010697069
1148582934B26B   JOHN          CHISHOLM                    NE     90015008293
11485A3A77B489   MARISOL       AMAYA                       NC     90012030307
1148693915B526   FRANCES       ROMERO                      NM     35019079391
114872A7991263   JAMES         COLLINS                     GA     90014412079
114872A975B154   ASHLEY        STARKS                      AR     90013022097
11487468572B62   KARLA         LOPEZ                       CO     33083784685
1148784594B555   BRANDON       BAYNE                       OK     90014688459
11487A62361938   MARIO         VALERIO                     CA     90012440623
114882A335593B   HEATHER       KIRKPATRICK                 CA     90000572033
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1148877144B26B   CINDY        COY                          NE     26084537714
1148885894B259   MARTHA       ORTEGA                       NE     27060528589
11489446A76B68   KIMBERLY     AUSTIN                       CA     90012264460
1148B17212B966   RANDEN       LONGWELL                     CA     90013311721
1148B288661976   ALYSSA       NAVARRO                      CA     90013482886
1148B7A9861938   DELMY        OGARA                        CA     46016887098
1148B955793745   RONALD       MARTIN                       OH     90013539557
1149129548B193   DENNIS       REZAC                        UT     31071812954
1149167814B555   THOMAS       SMITH                        OK     90012626781
114916A7193745   JEFF         CANTRELL                     OH     64584166071
1149175A45B343   FLORES       MARIA                        OR     90009097504
114919A3991263   ERIC         FOOTE                        GA     90012719039
1149265594B592   MABLE        HERNANDEZ                    OK     90005156559
1149281735715B   FRANK        COVINGTON                    VA     90013768173
11492971972B62   BRENT        MCCONNELL                    CO     90012769719
1149368535B35B   CASEY        PALMER                       OR     44537886853
1149399545B526   MANUEL       MONTOYA                      NM     90013409954
1149445655B39B   JONATHAN     KING                         OR     90008434565
11494679A4B588   CRYSTAL      WOODLEY                      OK     90013726790
1149468AA61976   LAURA        LARA                         CA     90012256800
1149492422B966   RACIEL       PARRA                        CA     90011279242
11495129976B68   JENNIFER     SESMA                        CA     46073421299
1149514955B526   JOSEFINA     MANDEZ                       NM     90009891495
1149562979154B   MARISSA      MANRIQUEZ                    TX     90011456297
1149566A561938   BILLY        MCLEOD                       CA     90014186605
11495A1377B489   DANETTA      CONNOR                       NC     11040300137
1149646A291569   JESUS        MICHEL                       TX     90013044602
1149694574B588   JESUS        CONTRERAS                    OK     90006449457
1149697175B154   JONAS        SMITH                        AR     90013949717
11496A6A876B68   RAUL         VASQUEZ                      CA     90014170608
11496A85A91263   ADRAIN       HASSEL                       GA     90012250850
1149769A761958   ENRIQUE      RENDON                       CA     90005296907
11497891976B68   ROSA         MARIA                        CA     90008998919
1149854355B526   BLANCA       BUGARIN                      NM     90011385435
11499119A4B265   SHARON       BARTZ                        NE     90005071190
11499A78961938   ROSEMARY     WILLIAMS                     CA     90003090789
1149B14A161938   EDUARDO      ALVAREZ                      CA     46016891401
1149B44824B548   ROBERT       BEDFORD                      OK     90009994482
1149B46A451337   RAELIN       SMITH                        OH     90011504604
1149B721761976   FRANK        SOSA                         CA     90015157217
1149B725961987   DANNY        CLIPPER                      CA     90009587259
1149B86749154B   MARTIN       RONQUILLO-MENDOZA            TX     75006038674
1149BAA664B588   TARA         BATTISE                      OK     21557400066
114B112122B976   YEN          SAECHAO                      CA     90011821212
114B1A9974B588   MIGUEL       MUNOZ                        OK     90014490997
114B2253672B62   CHAIREZ      ZEFERINO                     CO     90010012536
114B2338193745   JOY          TURNER-PRICE                 OH     90006883381
114B2715361938   JANEL        SERRANO                      CA     90013307153
114B2A4854B55B   JOSE         FLORES                       OK     90010100485
114B3323633699   MALACHI      PITTMAN                      NC     90007853236
114B339855B35B   MICHAEL      SMITH                        OR     44537863985
114B3765891895   DESHAWNA     LYLES                        OK     90014127658
114B38A294B592   SAQEITA      JONES                        OK     90010918029
114B4246172453   ERICKA       WILLIAMS                     PA     51016872461
114B526174B259   MARGARET     GILLESPIE                    NE     90002642617
114B547745715B   ADRIANA      MARTINEZ                     VA     90011114774
114B5933731687   ESTEBAN      GRANADOS                     KS     90003019337
114B6682933699   ROSAIDA      RODRIGUEZ                    NC     12027306829
114B6959472B62   SCARLETT     MCIVOR                       CO     33040309594
114B697289154B   SERGIO       OLIVAS                       TX     75014819728
114B737747B489   LAUREN       HAYES                        NC     11088673774
114B781A761976   TIFFANY      KRUSE                        CA     90014178107
114B811115715B   KEITH        LAWRENCE                     VA     81066771111
114B8376457147   SANTIAGO     DUENAS                       VA     90014773764
114B8428A7B489   ELIZABETTH   SLOAN                        NC     11007404280
114B9341A91895   ADAM         PEARSON                      OK     90012193410
114B9659891263   DAVIT        FANNA                        GA     90015586598
114B979A75B343   MIGUEL       BLAS MENDEZ                  OR     90003217907
114BB12475715B   ROSA         CHUMPITAZ                    VA     81060361247
114BB23615B343   JOHN         BRYANT                       OR     44543282361
114BB352593745   TANYA        ALBRIGHT                     OH     90014713525
114BB421357147   LEYLA        PLATERO                      VA     90015034213
114BB584A5B526   LUCY         ROMERO                       NM     35096805840
114BB726691569   ALAN         REYES                        TX     90012877266
114BBA85947956   GARY         EVERT                        AR     90006490859
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1151126295B343   VANESSA        LEON                       OR     90007822629
11511AA434B26B   KINDA          SRABLER                    NE     26015320043
11512A16891263   HEATHER        DELGADO                    GA     90006920168
1151351654B555   MICHAEL        MADRON                     OK     90014705165
11513961172B62   NOLBERTO       OJEDA                      CO     33076079611
1151414739154B   PABLO          DE LA O                    TX     90013781473
1151431324B588   GREGORY        LEE                        OK     21551433132
11514642372B29   CRYSTAL        MATLOCK                    CO     90011316423
1151531324B588   GREGORY        LEE                        OK     21551433132
1151599172B966   YESENIA        GONZALES                   CA     90014819917
11515A63193767   JOHN           ELLISON                    OH     64534050631
11515A69747956   LAURIE         LOLLIS                     AR     24036360697
11516A2197B489   JESSICA R      HEATH                      NC     11013370219
1151717A291895   DELLA          CHERRY                     OK     90012571702
1151774A94B259   BRYENA         BARR                       NE     27042137409
115177A6357147   BEZAWIT        ASFAW                      VA     90004687063
11517A58A76B68   BILLY          PINEDA REYES               CA     90014170580
1151812155B526   JANET          GUTIERREZ                  NM     35017191215
11519163772B62   VICTORIA       ARRIAGA                    CO     33036991637
1151967AA2B336   TONIQUE        ADKINS                     CT     90014366700
115198A6431687   DEBRA          CAMPOS                     KS     90012458064
1151B229691895   BENITO         PEREZ                      OK     90013242296
1151B554961972   MALESIA        HERNANDEZ                  CA     90004175549
1152143A854B62   DEREK          SHINER                     VA     90001284308
11521A9A95715B   THOMAS         GINN                       VA     90012610909
11522766776B68   SUSAN          SAMARIN                    CA     90014727667
1152289358B863   BERNADETTE     VEA                        HI     90014178935
11522A13772B77   ERIKA          RAMIREZ                    CO     33003590137
11524111872B62   DARIO          GUTIERREZ                  CO     33014141118
11524627372B55   MIGUEL         CERVANTES                  CO     90003426273
11524A31A5B154   KENDRA         STEGALE                    AR     90013950310
1152574175715B   EDGAR          GONZALEZ                   VA     90005497417
11525985A31947   GRACE          KISEGE                     IA     90014979850
1152615179154B   KENNETH        MEDRANO                    TX     75063761517
1152617A161938   NICHOLAS       MOLINA                     CA     90007121701
1152629222B236   MARCIA         BELT                       DC     81013522922
1152741A631687   YOLANDA        ALCALA                     KS     90012724106
11527A83976B68   PAOLA          ENRIQUEZ                   CA     90002360839
11528513972B62   DONNA          SIGOURNEY                  CO     90007225139
1152857115715B   PATRICIA       AGUILAR                    VA     90012245711
1152861369154B   FRANCISCO      HOLGUIN                    TX     90014936136
115287A3761938   MARIA ISABEL   VEGA MARTINEZ              CA     90014187037
1152885365B526   HENRY          LUCERO                     NM     90010778536
1152918495B154   LASHONDA       TAYLOR                     AR     90006281849
1152919AA3B359   SOLEDAD        OAXACA                     CO     90008121900
1152944675715B   TYREE          BROWN                      VA     90001974467
1152988422B976   BEATRICE       LEWIS                      CA     45001178842
1152B173351337   JESSE          HENSLEY                    OH     90013511733
1152B248176B68   OSCAR          GOMEZ                      CA     46008882481
1152BA2182B966   ZACK           DOYLE                      CA     90010410218
1153167555B35B   JASON          APONTE                     OR     44511586755
1153174992B966   LORI           ANAYA                      CA     90007167499
115321A1576B68   FRANCISCA      FIGUEROA                   CA     90014191015
115321A845B526   GLORIA         CORRAL                     NM     90010361084
11532A58576B68   MARIA          HERNANDEZ                  CA     90014170585
1153319644B588   PAYGO          IVR ACTIVATION             OK     90010741964
11533562976B68   LUZ MARIA      SALAZAR                    CA     90004025629
1153417734B588   JASON          BURTON                     OK     90014411773
11534795976B68   TAURA          METCALF                    CA     90015327959
1153569365715B   HENDYS         MOREIRA                    VA     90007946936
1153581184B588   PAUL           ELLIS                      OK     90009858118
11535A65876B68   CAROLINA       VILLEGAS                   CA     90014170658
1153678A591895   TRACY          SWEAT                      OK     90010277805
11536854672B56   JESSICA        MEKSIN                     CO     90011008546
1153852745B388   CHRIS          HARLUKOWICZ                OR     90011465274
115385A445715B   SAMANTHA       BREGMON                    VA     81009035044
1153887A272435   KIMBER         LLEFFER                    PA     90008598702
1153933184B588   JAMIE          GAINES                     OK     90011173318
11539A4349154B   ANDRES         VIELMA                     TX     90013840434
1153B53374B26B   KARIN          MOBLEY                     NE     26086995337
1153B712161976   MIGUEL         NARVAEZ                    CA     46010897121
1154172232B92B   SAL            AMAYA                      CA     90007257223
1154193554B259   ALAS           CARRERO                    NE     90006419355
1154219525B35B   NICOLE         MULHAIR                    OR     90010081952
1154219A633699   MARIA          SOLAR                      NC     90009761906
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115421A415B154   DARRYL       JOHNSON                      AR     90015161041
11542379772B62   JIM          KLIPKA                       CO     90012993797
1154266194B588   RUSSELL      GLAZNER                      OK     90009986619
115428A5961976   EVA          VALLE                        CA     90010348059
11542A79A76B68   JESSICA      PANTOJA                      CA     90014170790
1154334755715B   GAIL         BOWELES                      VA     90010553475
115436A6384344   AIMEE        MCKENZIE                     SC     90013866063
1154446A37B489   SHAKITA      BLAKENEY                     NC     90013064603
1154454595B343   BRIAN        GRIMES                       OR     90014885459
1154532A631687   TIFFANY      CARTER                       KS     90014033206
1154569355B526   ANTHONY      LOPEZ                        NM     35077846935
1154592758B193   ROSA         RADILLA                      UT     31005279275
115461A1A91263   LANYKA       WALDEN                       GA     90014711010
115461A2461958   RUTH         AYALA                        CA     90012321024
1154698314B26B   BRENDA       DITTMER                      NE     90003759831
11547128272B62   KARINA       PONCE FLORES                 CO     33088281282
11547191A61938   ENRIQUE      CHAVEZ                       CA     90001891910
1154811355B343   EMILIO       CHAVEZ                       OR     90012261135
1154821494B26B   SHAD         MILLER                       NE     26056672149
115489A3A5B154   MARGARITA    GARCIA                       AR     90012909030
115491A722B966   NORA         GEYAN                        CA     90013971072
1154946189154B   CINDY        FIERRO                       TX     75017624618
1154B157A76B27   MARY         DEMERECKIS                   CA     90014301570
1154B3A6A4B588   NOHEMI       FRANCO-SOTO                  OK     21579663060
1154BA4457B435   JAMES        HOYLE                        NC     11083220445
11551596A4B26B   STUART       PIPER                        NE     26082315960
1155198985B154   J. GUADALU   RAMIREZ-AGULIAR              AR     23078409898
11551A55676B68   GAMALIEL     OLIVEROS                     CA     90012240556
115531A1755945   LOUIE        VALDEZ                       CA     90001461017
1155342478B193   SHARIS       BOETTCHER                    UT     31096164247
11553797A76B68   DOMINIQUE    FARD                         CA     46046217970
1155447A34B555   ANGEL        NEAL                         OK     90014694703
1155512647B489   AVELINO      LOPEZ                        NC     90013841264
1155518647B436   RIGOBERTO    BONILLA                      NC     90013591864
1155547A34B555   ANGEL        NEAL                         OK     90014694703
1155552985715B   MARIA        MONDRAGON                    VA     81002005298
115558A7193745   BRANDY       BUTTS                        OH     64545798071
1155714977B695   GRACE        BARNES                       GA     90015341497
1155747929154B   GLORIA       RAYAS                        TX     90009184792
1155747A34B555   ANGEL        NEAL                         OK     90014694703
115574AA561958   ANDREA       BAKER                        CA     90006284005
11557AA122B264   ELISE        HILL                         VA     90011570012
1155847A34B555   ANGEL        NEAL                         OK     90014694703
11558A1949377B   BERNJAMIN    BUTTON                       OH     90010050194
1155947A34B555   ANGEL        NEAL                         OK     90014694703
1155B1A5755968   SAMELLA      HAMILTON                     CA     90008691057
1155B53AA61972   NIDIA        SOTO                         CA     90000225300
1155B713276B68   ANDREW       KROEGER                      CA     90012237132
1155B77615B526   ANNABELLE    PALOMINO                     NM     90014817761
1156139A99154B   MARY ANN     FRANCO                       TX     90009523909
1156173A861938   ALEJANDRO    AGUIRRE SALINAS              CA     90014187308
1156188A877539   JUAN         AGUILAR-GARCIA               NV     90009798808
1156239124B555   JESSICA      MORENO                       OK     90011443912
11562584A2B966   ANTONIA      GARCIA                       CA     90012985840
1156258629154B   ROSA         ALVARADO                     TX     75043165862
11563112476B68   SHARONDA     WHITE                        CA     46091241124
1156363A861976   DANIEL       HUNT                         CA     90011106308
1156379729154B   SERGIO       TREVISO                      TX     90002297972
11563A7A14B588   CHEVY        GRANT                        OK     90010420701
1156467315715B   GERALDO      PEREIVA DA SILVA             VA     81076476731
11564A2A272B62   PATRICIA     TORRES                       CO     90015120202
11564A44A72453   CYNTHIA      DENNER                       PA     51034650440
1156624A451337   TROY         ELMORE                       OH     90012102404
1156626865B526   GENELLE      GALLEGOS                     NM     90010952686
11566411672B62   JACOB        PHORSON                      CO     90012444116
115665A5191569   PENELOPE     ESCARSEGA                    TX     90014635051
1156691563B356   HUGO         BURCIAGA                     CO     33002029156
1156766415B526   RAMONDO      YAZZIE                       NM     35091216641
11567748A9154B   FELIX        ESTRADA                      TX     90014257480
1156799782B966   GONZALO      CERVERA                      CA     90010779978
11567AA512B966   CYNTHIA      HINOJOSA                     CA     90011670051
115683A185B35B   BRENDAN      CONNER                       OR     44516963018
1156882968B12B   HOLLY        ROBLES                       UT     90009718296
11568943A7B489   JULIO        ROJAS                        NC     90013169430
1156937744B555   LISA         NELSON                       OK     90014703774
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11569461A9154B   CRISTINA        MARTINEZ                  TX     90013274610
1156988869154B   ETI VELE        JR                        TX     90011238886
1156B15125B154   GRAY            WILLIAM                   AR     23024091512
1156B64A736157   ERNEST          ROBLES                    TX     90014016407
1156B858147956   STEPHANIE       JACKSON                   AR     90006678581
1156B88384B588   ARIF            CARGILE                   OK     90013878838
1156BA7682B966   BRITTANY        CARTER                    CA     90005650768
1157114215B343   JANET           GUZMAN                    OR     44562171421
1157116A657147   ALFONSINA       PEREZ                     VA     90011351606
11571528872B62   LISA            WORLEY                    CO     90006655288
11571592A4B555   DONTE           SAMS                      OK     90003785920
11571748A91895   EMILEY          THOELKE                   OK     90012237480
1157182A661938   LESLY           ESCALANTE                 CA     90009268206
1157241514B588   ALFREDO         CHAVEZ                    OK     90004294151
11572438972B62   MONICA          GARCIA                    CO     90013654389
11572AAA457124   DORIS           AHAGHOTU                  DC     81011050004
1157314915B526   CONNIE          CORDOVA                   NM     35091531491
11573212A51337   ALISHA          VASQUES                   OH     90011462120
1157329785B526   ELIZABETH       CABALLERO                 NM     90014292978
11573359272B62   MARTIN          MENDEZ                    CO     90013073592
1157359115B154   FRENANDO        GRANADOS                  AR     90012135911
1157373454B588   RANDY           BOTTERO                   OK     21551427345
1157496A25B342   CESAT           COTOC                     OR     90007099602
11574A84161938   ANGELINA        SANTIAGO                  CA     46029710841
1157515895715B   MAMANI ROSANA   ZULMA                     VA     90013581589
11575187A9154B   MEDINA          PEREZ                     TX     75034791870
1157528175B343   NAZARIO         MORAN BARRILLAS           OR     44569032817
1157551375B35B   LORA            GARRETT                   OR     44573135137
1157641754B26B   HEATHER         MARTINEZ                  NE     90014004175
1157664A561972   SMITH           MONIKQE                   CA     90001536405
1157785A75715B   ROGER           HERNRIQUEZ                VA     90011138507
11577987A51357   JOSHUA          FORQUER                   OH     90014409870
11578148976B68   MARCUS          REIGHER                   CA     90012421489
11578427472B62   JOSE            LUNA                      CO     90001454274
1157855A84B588   AMMY            EDDY                      OK     90006745508
11579298476B68   CARINA          BERNARDINO                CA     90006302984
1157B48A876B68   ELVIRA          RIVERA                    CA     90012264808
1157B7A7461938   MICHAEL         HARDESTY                  CA     90012957074
1157B85742B966   GABRIELA        TORRES                    CA     90011358574
1157BAA3493745   TAMMY           BURTON                    OH     90005690034
11581135A57147   DAVID           LIZAMA                    VA     90013561350
1158147559154B   YVONNE          PARRA                     TX     90013764755
1158171317B489   LURELLA         HARVELL                   NC     11045237131
1158238A661958   JOHN            PEREZ                     CA     90013463806
1158262898163B   CRYSTAL         MILLER                    KS     90014776289
1158264592B966   ROBERTO         GLORIA                    CA     90015036459
11583847876B68   MIRIAN          MALDONADO                 CA     46060098478
11584A71591569   ADRIAN          GONZALEZ                  TX     90000250715
1158515445B154   TAYLOR          DOLES                     AR     90013951544
1158585722B966   SANDRA          SILVEIRA                  CA     90013498572
11585A49861938   CECILIA         VASQUEZ                   CA     90010230498
11585A95A72B29   BRAULIO         MARIN                     CO     33034840950
1158642AA5B526   TASHA           RICHARDS                  NM     90009224200
1158668794B588   BIANCA          JONES                     OK     21562816879
1158697A876B68   MARITZA         MORALES                   CA     46014939708
1158845A743584   LEONEL          VAZQUEZ                   UT     90001644507
11588511A91895   STEVE           HOLLAND                   OK     21046755110
1158859245B154   EDGAR           VILLAFUERTE               AR     90014355924
11588864776B68   MARIA           ABARCA                    CA     90014188647
1158975367B489   BRIEANNA        STONEBRAKER               NC     90013197536
11589A69A61972   ALIDA           ERDING                    CA     90014430690
11589A89961976   ANGEL           CASTRO                    CA     90008720899
1159116365715B   GEORGINA        ROBERTSON                 VA     81037711636
1159153A191895   PEDRO           BALDERAS NIETO            OK     90008585301
115921A864B26B   ALIDA           DELCID                    NE     90007411086
11592511A76B68   CARLOS          LOPEZ                     CA     90008875110
1159255554B555   PHYLLIS         ROBINSON                  OK     90014695555
1159295A14B588   TALITHA         LINDSEY                   OK     90014649501
1159319278B13B   STEPHEN         MOHR                      UT     90010061927
1159438884B588   HIRAYDA         MORALES                   OK     90010393888
1159512687B489   JESSICA         SCOTT                     NC     90013841268
115951A4461958   FRANCISCO       VELASQUEZ                 CA     90015111044
11595A7355715B   CHRISTIAN       CALDERON                  VA     90011140735
1159619525B154   KIERRA          BRYANT                    AR     90012751952
1159621485B35B   AE SAT          DOE                       OR     90011572148
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1159657534B26B   KAYLA         MCCULLOUGH                  NE     90013275753
11596994A5B343   MISHELLE      PALMER                      OR     90011919940
11597A56491263   JESSICA       FULWOOD                     GA     90011340564
1159837735B154   ALBERT        WILSON                      AR     23098663773
1159915215715B   JUAN          ALVARADO                    VA     90014581521
1159941514B588   DONOVAN       CHAPMAN                     OK     90013844151
1159972415715B   JUAN          ALVARADO                    VA     90012267241
11599A7355715B   CHRISTIAN     CALDERON                    VA     90011140735
1159B27877B489   CHRISTOPHE    HILL                        NC     11076362787
1159B32935B343   AMBROSIA      SILVIS                      OR     90006913293
115B1193A5715B   ALEX          MOLINA                      VA     81038011930
115B1255861958   MARIO         DOVAL                       CA     46029652558
115B128175B343   NAZARIO       MORAN BARRILLAS             OR     44569032817
115B144239154B   CYNTHIA       COLORADO                    TX     75008864423
115B1725693745   MICHELLE      THOMPSON                    OH     90011127256
115B1828357147   KEVIN         GALVEZ                      VA     90011138283
115B185674B555   SHONTINA      BYERS                       OK     90014688567
115B2282191895   LARETTA       SMITH                       OK     21049092821
115B2637561958   BENITO        GONZALES                    CA     90014676375
115B268669373B   RACHEL        CHILTON                     OH     90011556866
115B2938691263   JASON         HERRERA                     GA     90014379386
115B2A4867B489   MILLICA       JEFFRIES                    NC     90013520486
115B2A54A33699   CARMOLETTA    WILLIAMS                    NC     12085640540
115B3239761976   VERONICA      CEBALLOS                    CA     90012042397
115B3623191263   KAREN         CROWDER                     GA     14580776231
115B364599154B   SYLVANIA      RODRIGUEZ                   TX     90014696459
115B395312B235   SANTIAGO      AGUILAR                     DC     81060459531
115B3A55376B68   MARIA         MUNOZ                       CA     90014170553
115B4135361938   NOE           ESTRADA                     CA     90000681353
115B4334161972   JOSE          GARCIA                      CA     46032033341
115B4459A33699   ALFREDO       LOPEZ                       NC     90014944590
115B481914B588   LARRY         LILJESTROM                  OK     21539648191
115B49A475B526   MARK          LOBATO                      NM     90009799047
115B53A5393745   WENDY         DYSINGER                    OH     64527553053
115B5498831687   JANET         HARMON                      KS     90011534988
115B559345715B   FRANCISCO     FLORES                      VA     90002845934
115B579A872453   SHAUNDA       PEREZ                       PA     51040587908
115B58A9563654   JULIE         BAKER                       MO     90011378095
115B5944A4B26B   MICHAEL       TROUT                       NE     26083619440
115B641154B26B   SHANE         SHAFER                      NE     26048864115
115B648A661972   JOHN          HERRERA                     CA     90011484806
115B6517693756   AMY           ZINK                        OH     64573055176
115B6553891323   CHARLOTTE     OAKMAN                      KS     90007335538
115B661A161976   MARI          DA SILVA                    CA     46015996101
115B678755B154   MARCUS        CHRISTOPHER                 AR     90010717875
115B7677161938   HENRIETTA     ROBLEDO                     CA     90014186771
115B7691561958   LAUGASALA     FUNI                        CA     90014736915
115B7A28A33699   WAKEFEILD     LORENZO                     NC     90014780280
115B856577B489   LAQUISHA      JONES                       NC     90003915657
115B8844533699   ARIEL         WOODS                       NC     90013738445
115B95A2124B28   NICHOLAS      DIXON                       VA     81061925021
115B9A57476B68   EDDIE         SANDOVAL                    CA     90014170574
115BB158157147   MARCO TULIO   ALVARENGA                   VA     90011341581
115BB731A97127   MAKELITA      FONO                        OR     90006697310
115BB912461976   ARMANDO       RODRIGUEZ                   CA     90010939124
115BB928661972   JUAN          CISNEROS JR                 CA     90012839286
115BB9AA95B526   SANDY         VILLALOBOS                  NM     90001739009
116111A4233699   TESFAHIWET    TEKLE                       NC     90013641042
116121A5793745   AMANDA        DOTSON                      OH     90012551057
1161263974B555   BRIAN         CURLEY                      OK     90014696397
11612679672B62   BARRON        ARTURO                      CO     33035766796
11612911676B68   ELIZABETH     BUTTERWORTH                 CA     46015829116
116136A5461958   MAKAYLA       SCOTT                       CA     90012776054
116138A4593745   DONNA         HANNA                       OH     64553548045
1161449775B35B   ALYSSA        LARSEN                      OR     90005414977
1161491675B343   SARAH         LAKE                        OR     90008449167
11615534172B55   LESLIE        PARKER                      CO     90006625341
1161616578B163   EDDIE         BERREST                     UT     31077131657
1161616665715B   KAREN         ARAVIA                      VA     90014101666
11616831472B62   VALERIA       HUMILDAD                    CO     90006248314
1161684175B35B   LOZANO        ZEPEDA                      OR     90003808417
1161689629154B   KARINA        HINOJOS                     TX     90011238962
116169A822B966   PAUL          STALLARD                    CA     90014619082
1161795494B26B   SALMA         GOMEZ                       NE     90013009549
11617A7355715B   CHRISTIAN     CALDERON                    VA     90011140735
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1161817A55B154   LATOYA       COVINGTON                    AR     90014811705
11618A66933699   PHILLIP      EVANS                        NC     90009230669
1161958735B532   NATHAN       PRICE                        NM     35093365873
1161973124B555   RUFUS        JONES                        OK     90014697312
116197A7733699   GUADALUPE    PADRON                       NC     90011967077
1161B48384B588   SAVANNAH     CHERRY                       OK     90009844838
116214A9191895   MICHELLE     SAMARAH                      OK     21060674091
1162176AA2B966   VERONICA     ENRIQUEZ                     CA     90004997600
11621A58993727   MAXIMUS      JONES                        OH     90012210589
11621AAA451337   MICHAEL      BOLSER                       OH     90011310004
1162286389154B   ELVIRA       ORTIZ                        TX     75090228638
116229A1761972   JORGE        ARGIL                        CA     90011419017
11622AA1593745   HOPE         HALL                         OH     64567390015
1162485659154B   MANUELA      CHAVARRIA                    NM     90012518565
1162588A876B68   ROSA         PAULA                        CA     90014638808
116258A6976B68   PABLO        ESPARZA                      CA     90013368069
11625A92661972   KEVIN        ROBINSON                     CA     90003910926
11625AA3761976   STEVE        CAMPBELL                     CA     90010200037
1162756628B167   JONNY        CHRISTENSEN                  UT     31041505662
11627A47293745   BRANDY       HARRIS                       OH     90003680472
1162869A44B555   PAMELA       POTEAT                       OK     90014696904
1162927219154B   ALMA         RUIZ                         TX     75031232721
1162957943B393   JULIA        JUAREZ                       CO     90006545794
1162983274B588   APRIL        ATWELL                       OK     90015108327
1162B23117B444   TARA         MILLER                       NC     90005402311
1162B32887B489   JEREMIAH     TIMS                         NC     90011273288
1162B45145B343   LAZARO       DOMINGUEZ MOYA               OR     90007134514
1162B5A7561958   TRISHA       WUJCIK                       CA     90014475075
1163129335B154   TAMARA       WILLIAMS                     AR     90013952933
116312A164B555   CRYSTAL      MUNCY                        OK     90012602016
1163192289154B   TONY         WILLOUGHBY                   TX     75005169228
1163276A54B555   KESHA        WARFIELD                     OK     90014697605
1163441635715B   FREDY        FREDY                        VA     90003954163
1163442864B259   ISABEL       BURGARIN                     NE     27024104286
11634534A81659   CYBILL       JACKSON                      KS     90000975340
1163498974B588   TERRESA      STRECK                       OK     21571789897
11634999572B62   MARTIN       DAVE                         CO     33044249995
1163581948B863   MARGARITO    REYES                        HI     90014218194
1163582124B588   BRODERICK    TAYLOR                       OK     90014768212
11635A83376B68   KIMBERLY     SILVA                        CA     90013690833
11636384772B62   MARIA        ARMENDARIZ                   CO     90011523847
1163738975B343   JOSE         LOPEZ                        OR     44512963897
11638134276B68   AMALIA       LOZANO                       CA     90010601342
116383A8261972   GEORGETTE    CERVANTES                    CA     90015293082
11638462472B27   GREGORY      BALES                        CO     33004374624
1163918965715B   GILMER       ALVAREZ                      VA     90012561896
1163923485B343   BLANCA       PINEDA                       OR     44593502348
11639A1935B35B   MEGAN        SALVADOR                     OR     90005730193
1163B51895B343   BRENDA       EVANS                        OR     90006995189
1163B77472B894   VICENTE      RODRIGUEZ                    ID     90014937747
1163BA97991569   BEATRIZ      GARCIA                       TX     90002930979
11641353472B62   ANTHONY      VALDEZ                       CO     90013413534
11641A6169154B   LUIS         ALVAREZ                      TX     90008590616
1164261929154B   MIGUEL       ARZATE                       TX     75093856192
1164277234B26B   SYLVIA       HERNANDEZ                    NE     90014877723
1164296A457147   CATHERINE    MESSAN                       VA     90013779604
1164362854B555   HOLLY        HERRERA                      OK     90014706285
116437A635715B   PEDRO        GOMEZ                        VA     90010007063
11643A38A91569   WARREN       VASQUEZ                      TX     90013940380
11643A96691569   WARREN       VASQUEZ                      TX     90004640966
1164492299154B   MARIA        GAYTAN                       TX     90007069229
11644A9165B154   ALICIA       HAMMOND                      AR     90012760916
11644AAA95B526   JESSICA      OJEDA                        NM     90009040009
11646666972B55   SIERRA       MANTEI                       CO     90005926669
11646781A4B555   AMELIA       GRASS                        OK     90014697810
11646A2872B966   KARISSA      AGUILA                       CA     90014310287
11647A18357147   ERIN         HOLMES                       VA     90015260183
11647A5AA7B489   JOSEPH       JOHNSON                      NC     90013520500
1164B248657147   ANGEL        VERGARA                      VA     90013422486
1164B56975B526   ERNEST       TRUJILO                      NM     90015415697
1164B59A591263   LAMONT       JOHNSON                      GA     90015375905
1164B96475B526   IRENE        PADILLA                      NM     90013749647
1165215264B588   LILIAN       CONCEPCION                   OK     90012681526
116527A9557147   AQUIB        MUNEER                       VA     90011367095
116528A715715B   ROSALINA     MIRANDA                      VA     90014528071
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11652A38772B29   RAQUEL          VILLALPANDO               CO     90012730387
116534A2872B62   MATT            BARRINGER                 CO     90009744028
11653725A91569   ALVAREZ         ALVAREZ                   TX     75040327250
11654394A98B72   ALONZO          OCHOA                     NC     90003113940
11654419872B55   HECTOR MIGUEL   SAUCEDO                   CO     90010714198
1165446625B343   REBECA          BLESSIG                   OR     90014004662
1165513695B154   YVONNE          ALEXANDER                 AR     90014061369
1165534545B154   KENARD          FLOWERS                   AR     90013953454
1165561A793745   KEVIN           HESS                      OH     90014826107
1165563639154B   TANIA           APODACA                   TX     90014696363
11655734272B55   NICOLLE         WITTRIG                   CO     90007057342
116558A4633699   DOROTHY         SHEPHERD                  NC     90014568046
1165641A961958   GINA            BURNS                     CA     90011444109
11656437A57147   LINETH          TULULA                    VA     90013964370
1165674197328B   FERREIRA        LARANJEIRO                NJ     90015397419
116567A964B259   ALICIA          PUSCH                     NE     27014767096
11656893A9154B   GABRIELA        GONZALEZ                  TX     75010048930
11657378572B62   BETTY           CRUZ                      CO     90003613785
1165787A661976   LUIS            LEIVA                     CA     90014718706
1165854A97B489   CONNEL          HARRIS                    NC     11013085409
116588A874B555   DORETHA         FORD                      OK     90014698087
1165916767B489   BRITTANY        PATRICK                   NC     90012461676
1165958964B54B   JEANETTE        RODRIGUEZ                 OK     90009655896
1165969A591569   ALEX            ACEVEDO                   TX     75013526905
1165B4A8593745   ASHLEY          PITTMAN                   OH     90011104085
1165B6AA74B555   CHRISTINA       SCHUE                     OK     90001536007
1165B752661972   CHARLES         TALIAFERRO                CA     46004427526
11661666972B55   SIERRA          MANTEI                    CO     90005926669
116619A3161976   MICHAEL         LEWIS                     CA     90014179031
1166228A65715B   MARNOR          SANCHEZ                   VA     81016002806
11662358872B62   CHRISTINA       PAYAN                     CO     90013743588
116632A7161987   SANDRA          DE JESUS                  CA     90009562071
1166348662B966   CHRISTY         LOWE                      CA     90001504866
1166351A261976   MEGAN           HEATH                     CA     90013365102
1166382795B343   JENNIFER        CHAMBERS                  OR     44593738279
1166415A82B966   ASHLEY          GONZALEZ                  CA     90005021508
11664673A76B8B   HERNAN          CORTES                    CA     90001386730
116649A3776B68   MORALEZ         LAURA                     CA     90002169037
11665829372B62   RAMIRO          SANCHEZ                   CO     90010078293
1166595972B966   TRISTA          WERNER                    CA     90012539597
1166598A461976   CLAUDIA         GARCIA                    CA     90007589804
11665A12576B68   NATE            SMALL                     CA     46036470125
116663A8461972   GRISELDA        MARTINEZ                  CA     46066913084
1166671662B966   GABRIEL         CALDERON                  CA     90013117166
11667895A5B35B   MONSE           CARMONA                   OR     90005398950
11667A4A99154B   MONICA          LEMUS                     TX     90004950409
11668348676B68   ELIOT           BRAUN                     CA     90013433486
1166862742B966   MARIA           GONZALES                  CA     90013906274
11669377A61938   JUAN MANUEL     RODRIGUEZ                 CA     90010073770
1166B115572B55   TIMOTHY         CRAVEN                    CO     90003431155
1166B81224B555   CLYDE           PRATT                     OK     90014698122
11671574672B62   SALVADOR        MUNOZ                     CO     90001315746
1167168444B588   BRANDY          JOHNSON                   OK     90013396844
11671982A5B343   RICARDO         PUERTO MARTINEZ           OR     90013759820
11671A9955712B   JOHN            OWUSU                     VA     81084750995
11672735A91569   INEZ            GUZMAN                    TX     75041637350
116729A2A4B267   KEVIN           SUDBERG                   NE     27091379020
11672A7682B966   BRITTANY        CARTER                    CA     90005650768
116738AAA61972   HAIDI           GUADARAMA                 CA     90014158000
11673A98461938   TRACY           HUGGINS                   CA     90013160984
1167426224B26B   MARCELINO       MUNOZ MARQUEZ             NE     90013332622
1167515725B154   HOPE            WALKER                    AR     23061001572
1167627755B526   DANIEL          SAUCEDO                   NM     35024772775
1167677857B489   BORJAS          RICCY                     NC     90013197785
1167766A672B62   CHRISTOPHER     RAINS                     CO     90014156606
11677916172B55   MARCOS          MARTIN                    CO     33055089161
1167795169154B   N               CASTANEDA                 TX     90011239516
11677A2885B154   FLORINDA        HALL                      AR     90014610288
1167936597B489   YONATAN         MONDRAGON                 NC     90013493659
1167984A34B588   XAVIER          JUDY                      OK     90015108403
1167B589A5715B   MARIA           CASTELLON                 VA     81000785890
1168147164B555   TONYA           TERPENING                 OK     90005734716
1168156A591895   ROSA            MANDUJANO                 OK     90009145605
11682292A2B966   ESMERALDA       DELAGADO                  CA     90011092920
116822A965715B   ANITA           SIKKA                     VA     90013922096
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11684286676B68   JOSE         MARTINEZ                     CA     90003792866
1168443A58B179   LARRY        THOMAS                       UT     90001884305
11684A5874B588   NANCY        MCCAMPBELL                   OK     21550810587
1168511135715B   CARLOS       RAMOS                        VA     81083071113
1168522A28B193   MARY         JORGENSEN                    UT     90004532202
116853AA661958   STEVE        JONES                        CA     90014133006
1168626A457147   MIGUEL       CAMPOS                       VA     90009282604
1168665372B966   JOE          BREWER                       CA     90010816537
11687374A7B489   TUANDRA      GURLEY                       NC     90011273740
116874A6961976   JONATHAN     TOPETE                       CA     90013624069
1168824464B555   TOMMIE       CURNETT                      OK     21552572446
11688A69372B3B   REBECCA      SOTO                         CO     90012630693
1168923644B588   HOWELL       RONALD                       OK     90014622364
11689432972B62   JACOB        LOONEY                       CO     33053514329
1168975838B193   DANYEL       SANCHEZ                      UT     31057167583
116899A2A5715B   HALEMA       SESAY                        VA     90000459020
1168B11A65B35B   MICHELLE     GARCIA GOMEZ                 OR     90010441106
1168B196361958   THERESA      DEVINE                       CA     46002331963
1168B258893767   JOYEL        RUSSELL                      OH     90001482588
1168B488361938   EDWARD       SCHULTZ                      CA     46016984883
1168B637491263   KENNETH      SCOTT                        GA     90014446374
1168B652391569   LUIS         MENDOZA                      TX     75084156523
1168BA9AA57147   JOSE         MARROQUIN                    VA     90010970900
1169173815B343   TOBIE        CASEY                        OR     44570737381
1169187754B555   CHCARRA      HENDRICKSON                  OK     90014698775
11692312A9196B   KATHERINE    OLTMANS                      NC     90007413120
11692925A4B259   JOUSH        VARRA                        NE     27059879250
11692A43893745   BRITTNEY     STALEY                       OH     64551870438
116939A4972B62   TINA         CASTILLO                     CO     33037729049
11693A91561958   ANTHONY      BENJAMIN                     CA     90012060915
1169448445B389   TRUMAN       KANE                         OR     90011174844
1169717817B435   JOYCE        MACK                         NC     90007941781
116977A6372B62   OTTO         RODOLFO AVILA                CO     90002447063
1169788388B167   BRIAN        DABBS                        UT     31014148838
1169827614B588   CHRISTINA    NAPP                         OK     90009802761
116982AA493745   PAYGO        IVR ACTIVATION               OH     90015492004
1169832895B154   SHAVONDA     TIPPITT                      AR     90002823289
1169845882B966   ISMAEL       FULLON                       CA     90012274588
1169929AA91569   ALEJANDRA    SALIDO                       TX     90012802900
1169B74985B154   CARLOS       MARQUEZ                      AR     90011067498
116B1117391569   JORGE        FRAUSTO                      NM     75075901173
116B128455B526   MARYANN      PEREZ                        NM     90001862845
116B1415291263   TYLESHA      BOYD                         GA     90014064152
116B16A164B555   ESSENCE      BERT                         OK     90014696016
116B23A6A91895   JAMES        THOMAS                       OK     21049713060
116B2589A4B588   BRYAN        JIRON                        OK     90000615890
116B2657291584   ROSA         DAVILA                       TX     90011306572
116B285794B555   CARMILL      WRIGHT                       OK     90011698579
116B3774657147   MARY         ROBINSON                     VA     90012227746
116B3918331687   ANTHONY      BREWSTER                     KS     90014849183
116B3A23891895   ALECIA       BAKER                        OK     90012960238
116B455A731687   SHANE        EAST                         KS     90013905507
116B4947331687   DANIEL       AGUILERA                     KS     90012709473
116B57A367B489   ELMER        FOSTER                       NC     11004817036
116B64A3291895   DEANZA       MIMS                         OK     90010694032
116B6768491263   TYQUIEZ      BRYANT                       SC     90005887684
116B6865A91895   BETH         GRAY                         OK     90015178650
116B693685B343   BRADY        SHEETS                       OR     90000679368
116B73A4551337   WENDY        LOCKE                        OH     90013783045
116B7638261976   SOFIA        THEODOROPOULOS               CA     90013716382
116B7887561938   OMAR         CABRERA                      CA     90013058875
116B8516651337   RHONDA       HOWARD                       OH     66076045166
116B866A361958   ANA          CHRISTINA                    CA     90014526603
116B877334B588   MICHAEL      ROGERS                       OK     90015227733
116B881375715B   CARLOS       SAGREDO                      VA     81074998137
116B978255B155   ORA          OLIVER                       AR     23056737825
116B991874B26B   CINDY        KURTH                        NE     26050959187
116BB4A1531687   VANNESSA     RODARTE                      KS     90001794015
1171115A64B588   NAYELI       CARILLO                      OK     90007651506
1171167114B555   ALICIA       DAVIS                        OK     90014706711
11713241372B55   DOMINIC      COX                          CO     90003432413
1171365914B555   SANTOS       MONTES                       OK     90014706591
1171368153B368   JAMIE        COLLEEN                      CO     90010876815
1171426365B35B   AMY          HART                         OR     90011572636
1171453454B588   HUNTER       RIDGWAY                      OK     90006705345
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1171459A372453   GARY         RIDEOUT                      PA     51018965903
1171467394B555   JAYSON       TUCKER                       OK     90014716739
11715459A72B62   R            MYERS                        CO     33095204590
11715588A4B259   TERESA       KELLEY                       NE     27077635880
11715682972B55   DAVID        LUCERO                       CO     90012756829
1171668784B588   RAYMUNDO     HERNANDEZ                    OK     90015146878
1171767814B555   LINDSAY      HAIVALA                      OK     90014706781
1171773A55B343   AMANDA       VELASQUEZ                    OR     90010527305
11719421A91895   COMMENCIA    FOSTER                       OK     90014274210
11719679A61972   MONICA       RAYMUNDO                     CA     90010426790
1171B411877539   SALVADOR     HERNANDEZ                    NV     43022594118
1171B876461938   ROSA         FLORES                       CA     90011618764
1171B977461958   JESSICA      HOLMES                       CA     90009649774
1172144462B249   HOYT         KING                         DC     90005934446
11721558724B7B   LATIA        JOHNSON                      DC     90013455587
11721A3A35715B   SILVIA       URRUTIA                      VA     90010480303
1172225799154B   MARIA        MOLINA                       TX     90015222579
117225A428163B   GABRIELA     LOPEZ                        MO     90005075042
1172275A291569   CHRIS        MONTELONGO                   TX     90014157502
117235A355B154   ROBERT       MICINTOSH                    AR     90014465035
117235A444B555   MENIECE      WALLACE                      OK     90010355044
117239A4A61938   RUBEN        CORNEJO                      CA     90013059040
11723A66231635   DANIELA      CHAVEZ                       KS     90012940662
1172414813B352   SHEILA       PUGH                         CO     33083781481
1172476614B259   RUTH         WILLIAMS                     NE     27064827661
1172479347B489   JANEA        WORTHY                       NC     90014157934
1172512135715B   MUARA        RODRIGUEZ                    VA     90001111213
1172551AA93745   SIERRA       STEVENS                      OH     64538025100
117257A134B555   STEVEN       MCWILLIAMS                   OK     90014707013
1172615769154B   CARMEN       AGUIRRE                      TX     90007871576
11726482876B68   BERNARDO     MEJIA                        CA     90011794828
1172716924B588   MELINDA      SUTTON                       OK     90007651692
117277A134B555   STEVEN       MCWILLIAMS                   OK     90014707013
1172783915715B   SALVADOR     CHAVEZ                       VA     90014928391
11727A72477539   MARK         MARLOW                       NV     90004540724
1172857255B526   ANITA        RODEIGUEZ-ESQUIVEL           NM     90006285725
11728AA7691263   JESSE        HAMILTON                     GA     90012880076
1172966695715B   SEBASTIAN    GOMEZ                        VA     90013666669
1172999A172B62   DANA         MULBERRY                     CO     33086269901
1172B158831687   MELODY       MOSES                        KS     22003821588
1172B249A61938   MICHELLE     GARCIA                       CA     90012892490
1172B273A61972   JESUS        MACIAS                       CA     90014462730
117314A299154B   MARCOS       PINEDA                       TX     90013044029
1173153694B26B   ALAN         SHAW                         NE     26095955369
1173211744B26B   GREGORY      GORDON                       NE     26014241174
1173271494B555   TYLER        SHELTON                      OK     90014707149
11732A4299154B   GUADALUPE    VILLALPANDO                  TX     75008990429
1173313875B526   JOHN         FALCHETTI                    NM     90012271387
1173363584B588   LADONNA      SANTANA                      OK     21551666358
1173399138B193   ALEJANDRO    RAMOS                        UT     90006289913
1173449AA61972   JAVIER       BENITEZ GUZMAN               CA     90008884900
1173488495B343   CISNEROS     LUZ MARIA                    OR     90011728849
1173512645B35B   MICAHEL      KUENLE                       OR     90013311264
11735211A33699   NANCY        MORAN                        NC     90014152110
1173538A12B966   CARMEL       CASTRO                       CA     90009433801
117359A9493724   BILLY        CALDWELL                     OH     90001869094
1173725494B588   BRANDON      WILLIAMS                     OK     90009442549
11737A5515715B   ABAD         FERRUFINO                    VA     90010790551
11737A61561972   MARK         CONNORS                      CA     90013740615
1173825799154B   MARIA        MOLINA                       TX     90015222579
117383A4391895   BERNARDO     JIMENEZ                      OK     90013753043
1173925734B588   PEDRO        PASCUAL                      OK     90012352573
1173945A54B26B   BRANDEN      PRESTRIDGE                   NE     90014464505
117394AA991895   MICHEAL      CLARK                        OK     21016074009
1173951A891569   SUSANA       RUVALCABA                    TX     90007875108
1173B14887B489   SANOVIA      MOORE                        NC     90009581488
1173B514893745   NICOLE       MOTE                         OH     64574885148
1173B622731687   LAURA        CARRERA RUTIAGA              KS     22039236227
1174122745B526   BARBARA      GONZALEZ                     NM     90009032274
11741339A72B55   CHAELA       QUEEN                        CO     90003433390
1174193674B588   KRISTI       GRISSOM                      OK     90013279367
11742248A76B68   GERARDO      ROJAS                        CA     90014842480
1174377A45B343   THERAL       JONES                        OR     90014667704
11743973472B34   CAROLYN      CONFER                       CO     33009039734
1174439A55715B   JOSE         AMAYA                        VA     90012613905
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11744643A61976   KARLA        AGUILLA                      CA     46089516430
11744A99672B62   CASEY        MCBURNERY                    CO     90012850996
1174522485B343   MARIA        GARDUNO                      OR     90000642248
11746517776B52   MICHAEL      DAVIS                        CA     90004545177
1174696A991895   MATTHEW      KIRBY                        OK     21048059609
1174742A34B588   JOSE         CRUZ                         OK     90015294203
11747541A91895   ROSA         LOPEZ                        OK     90012185410
1174759315B154   JASMINE      NAJERA                       AR     90014935931
11747A32231635   JUSTIN       RICE                         KS     22064920322
1174875A74B555   JIMMY        BUCKMASTER                   OK     90014707507
11748A95531687   MARLENE      WINTER                       KS     90012120955
1174917795B343   MARIO        UPGLADE                      OR     90006601779
117494A7876B68   ARMANDO      HERNANDEZ                    CA     46059964078
1174977274B555   THERESA      ROBERT                       OK     90010467727
117499A584B287   JILL         GWYNN                        IA     90013849058
1174B61467B489   LESLY        GARCIA                       NC     90012536146
1174B62135B526   MICHELLE     DOUGLAS                      NM     90008816213
1174B872957147   ISIDRO       MARCIA                       VA     81033138729
1174B874261958   BERTHA       RECARD                       CA     46036288742
1174B88A693745   JOHN S       HOLCOMBE                     OH     90003788806
117512A5872B62   BLANCA       TALAMANTES                   CO     90014582058
11751A85161972   ELBA         GARCIA                       CA     90013340851
1175276A44B555   ANGELA       MCCLAIN                      OK     90014707604
11752998176B68   MAE          JARRETT                      CA     90015469981
11752A67961958   EELAN        ENGLISH                      CA     90011260679
11752A89577539   STEVEN       RECORD                       NV     43064990895
11753493876B68   VAU          SILIGA                       CA     90014864938
11754239872B97   GUSTAVO      MEZA                         CO     90013952398
1175515417B489   SAMIA        GODETT                       NC     90013841541
1175531342B966   NANCY        PENA                         CA     90013913134
1175567A931687   ALISHA       MASTERS                      KS     90011156709
1175673A15B526   MARY         GURULE                       NM     35001057301
117568A575B343   CRAIG        ZINSER                       OR     90015258057
1175716525715B   EVER         ORDONEZ                      VA     90015181652
1175748A15B247   ANTHONY      WILLIAMS                     KY     90004114801
1175832A15B299   EFIA         GUTHTHRIE                    KY     90012623201
1175862947B442   JOSE         CHEQUE                       NC     90006606294
11759116A76B68   LOUIS        POWELL                       CA     90012751160
1175932524B259   ELLIOT       WAGNER                       NE     90005753252
1175B561991569   BRAHIAM      GIRALDOGUTIERREZ             TX     90012755619
1175B57689154B   JOSE         GONZALES                     TX     75016385768
1175BA1995B343   JAMES        THOMPSON                     OR     90014250199
117614A1372435   RICHARD      SIMMONS                      PA     90013634013
1176214A861972   DELMY        ESPINOZA                     CA     90013391408
1176283838B165   DAN          HANSEN                       UT     31065888383
1176467275B154   ANDREA       PARKER                       AR     90008926727
1176483795B154   DAYSI        ROQUE                        AR     90014478379
1176532657B489   EDSON        RODRIGUEZ                    NC     90013853265
117658A944B555   PATRICK      POOLE                        OK     90014708094
1176596768B193   CRYSTAL      DANIELS                      UT     31064479676
11765A1914B26B   TYSON        DEAN                         NE     90014400191
1176698565715B   MARVIN       LINARES                      VA     90000979856
117679A929154B   JOSE         MENDOZA                      TX     75015369092
1176827165B343   MARIA        RIVERA                       OR     90000262716
11768565A61976   PADILLA      EDWARD                       CA     90010815650
1176863A661958   NATIVIDAD    ALCARAZ                      CA     90012096306
1176885578B193   AMBER        BURNETT                      UT     31006038557
11768A19272435   KEVIN        GIUNTA                       PA     51096430192
11768A62476B68   JORGE        LOPEZ                        CA     90006320624
1176998487B489   ANA          HERNANDEZ                    NC     90014089848
11769A26147956   DONNA        HANCOX                       AR     24079920261
1176B35857B489   ADELAIDA     LANDA                        NC     90012083585
1176B786661976   CRYSTAL      BENITEZ                      CA     90013007866
1177237254B26B   BOKOTA       LIFAEFI                      NE     26064393725
11772674472B62   JENNIFER     NOLAN                        CO     90006996744
11773587A9154B   CELINA       LOZANO                       TX     90012325870
1177387882B966   JESUS        FIGUERA                      CA     90005138788
117743A6791895   BEVERLY      STOUT                        OK     90013753067
1177477885B526   GONZALO      REVET                        NM     90014817788
117749A8561976   JULIUS       SPENCER                      CA     90014179085
11774A1739154B   ALEJANDRO    GALLARDO                     TX     90011240173
1177516965B343   MARTIN       GONZALEZ                     OR     90012761696
1177571485B35B   MILA         MAKAROVSKAYA                 OR     44508487148
11775A75A91263   JIHON        FERGUSON                     GA     90014280750
11776346A9154B   ARGENTINA    CARREON                      TX     90013353460
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1177674774B588   JANDI         WALKER                      OK     90010167477
11776A77693745   JOCELYN       MARKIN                      OH     64541680776
1177734278B194   MONICA        MARTINEZ                    UT     90014393427
1177788164B555   ROBERT        WESLEY                      OK     90001238816
1177788789154B   INFANTE       OCTAVIO                     TX     75015368878
11779141A7B34B   CARMEN        ALVARADO                    VA     81095831410
1177978584B259   EUSTAQUIO     ZARZA CEJUDO                NE     27089857858
1177B625272B62   SAMUEL        SWAIN                       CO     90009656252
1177B793957147   MARTA         CARVAGAL                    VA     81052177939
1177BA2A34B588   ROBERTO       VELASCO                     OK     90006860203
1178189A133699   DENISE        LITTLE                      NC     12095468901
11781A71161972   FERNANDO      BERNACHE                    CA     90012080711
1178232384B555   TERRIE        JONES                       OK     21522493238
117823A664B588   HOITE         PUGH                        OK     90006043066
1178262245715B   CHRISTOPHER   ORELLANA                    VA     90013126224
11782A7758B165   ANDREW        HOPKINSON                   UT     90013360775
1178345595B526   MIRIAM        SILVA                       NM     90006154559
11783512376B68   MICHAEL       SAUMURE                     CA     90012485123
117837A5A4B555   MARIE         CHARLES                     OK     90014717050
1178399544B26B   JENNIFER      BOSWELL                     NE     90010449954
11783A76691547   MARIA         ACOSTA                      TX     75020250766
11786A98555938   CECILIA       RODRIGUEZ                   CA     48011350985
1178729865B154   LAURA         BROWN                       AR     90012792986
1178769AA4B26B   ABAK          REHAN                       NE     90012866900
11787A1269154B   REGINA        PASILLAS                    TX     75072590126
1178858A54B588   SIDNEY        TAYLOR                      OK     90010155805
1178892364B588   KEZIA         BERRY                       OK     90014489236
11788933A31635   EMILIO        MARTINEZ                    KS     22074139330
117889A1A4B555   PHILIP        HAWS                        OK     90014709010
117892A3261972   BETTY         RUTH                        CA     90007842032
1178B18462B966   ANTONIO       ROBLES                      CA     90011281846
1178B21229154B   HILDA         ASTORGA                     TX     90014132122
1178B24415B343   MARIA         MARTINEZ DE CLAROS          OR     44583792441
1178B47265B154   LINNIE        BOOZY                       AR     90013774726
1178B86674B555   LACRESHA      COUNTS                      OK     90014708667
1179111175B35B   PETER         BASCUTI                     OR     44590181117
117916A349154B   SARAH         CABRERA                     TX     90014026034
1179172A75B232   TYESHIA       THOMPSON                    KY     90001727207
117918A1251337   AARON         MATCHEN                     OH     90014568012
1179223838B193   LUKE          ONEAL                       UT     90009722383
1179264335B39B   MICHELANN     NEWTON                      OR     44518056433
11793261176B68   RODNEY N      LEWIS                       CA     90010372611
11794373A57147   MICHAEL       GOODMAN                     VA     81069563730
1179476392B966   ANIBAL        RAMOS                       CA     90013937639
11794A94133699   JENNIFER      GUFFEY                      NC     12093670941
11794AA3493745   TAMMY         BURTON                      OH     90005690034
117956A692B966   DAVID         CESENA                      CA     90013676069
1179574695B343   MICHELLE      SUMMERS                     OR     90014877469
1179582535715B   DINA ARELY    FLORES                      VA     81003898253
1179586255B526   ANDREA        ROMERO                      NM     90013318625
1179593364B555   PHYLLIS       BURK                        OK     90014709336
117961AA472B25   ZEWDINESH     WAMI                        CO     90012801004
11796A2864B26B   KIMBERLY      GILDEA                      NE     90014390286
11796A7A176B68   DAVINDER      KUR                         CA     90013790701
11796AA7A2B966   YESENIA       GONZALES                    CA     90011360070
1179893414B555   CRSYTAL       LITTLE                      OK     90014709341
1179929547B489   LATEIFA       ANDERSON                    NC     90002692954
1179948655715B   JENIFER       MOLINA                      VA     90013004865
11799A14933699   SHAWEIZ       KHAN                        NC     90011880149
1179B21178B183   STEVEN        DOYLE                       UT     90008522117
1179B71494B555   TYLER         SHELTON                     OK     90014707149
117B1836647956   JOHN          CARNES                      AR     90005788366
117B2196161972   GERARDO       GONZALEZ                    CA     90014191961
117B2282572B62   DESTINEY      MONTANO                     CO     90013982825
117B237424B26B   ERIC          CASTILLO                    NE     90001993742
117B244799154B   VALERIE       ESCAMILLA                   TX     75020164479
117B2581293767   SETORWU       AVOTRI                      OH     64557835812
117B3627A76B68   MARYSOL       BAILON                      CA     46096076270
117B3644272B62   CARRIE        LEONARD                     CO     90013836442
117B39A1791569   GROVE AND     ANDERSON CO                 TX     90008939017
117B3A9645B526   JAN           SCHROEDER                   NM     35069690964
117B4341431687   SETH          TELANDER                    KS     22031983414
117B477A861976   REBECCA       FARFAN                      CA     90014617708
117B4865857147   MIRIAM        JACKSON                     VA     90007588658
117B641514B588   DONOVAN       CHAPMAN                     OK     90013844151
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117B686AA76B68   JAVIER        PEREZ                       CA     90012148600
117B725799154B   MARIA         MOLINA                      TX     90015222579
117B734255715B   AMILCAR       ABREGO                      VA     90014803425
117B7732691569   KAREN         ESPINO                      TX     90012877326
117B778AA57147   FARANAK       HASSANI                     VA     90012167800
117B785535715B   EBENEZER      SMITH                       VA     90013978553
117B7879661958   MELISSA       LEON                        CA     90011378796
117B7A2772B924   PATRICIA      CARDENAS                    CA     90008530277
117B81A4376B68   HILARINO      MACIEL                      CA     90014951043
117B854125B343   JESSICA       NAJDEK                      OR     90011055412
117B85A2891895   TOBY          HOUSTON                     OK     90008575028
117B8739472453   JESSICA       LYTLE                       PA     51082327394
117B8943693745   FAY           WILMOTH                     OH     64550429436
117B9848676B68   KELLY         HAYS                        CA     90008788486
117BB4A749154B   JEFFREY       WEAVER                      TX     75036824074
1181134815B334   BEVERLY       HANSEN                      OR     44506063481
1181144157B489   JESSICA       MENEFEE                     NC     90011274415
1181157A95715B   HUMBERTO      CAMPOS                      VA     90009175709
11812359872B62   ALBERTO       LINCON                      CO     33042183598
118132A8172B62   SHADOW        SCHNEIDER                   CO     33010732081
1181432274B965   CLAUDIA       RAMINEZ                     TX     90014833227
1181466A691569   ROCIO         CARMONA                     TX     90011026606
1181491954B588   DESIREE       HAWKINS                     OK     90013809195
11814929174B97   CYNTHYA       CENTER                      OH     90013839291
1181525425715B   CHEOU         TIDJANI                     VA     90008702542
1181538284B26B   YOLANDA       ALAMERI                     NE     90010963828
11815A79761938   MARC          SANCHEZ                     CA     90012030797
11816345476B68   DANE          DIEMER                      CA     90013103454
1181684774B922   YESENIA       DELAFUENTE                  TX     90001718477
11816AA5A91895   CLEO          WHITESIDE                   OK     90010210050
11817426272B62   JUSTIN        MEIR                        CO     90014264262
1181763465B343   BARBARA       TEATRO                      OR     90014086346
11818115172B62   TERRY         KOESTER                     CO     90002121151
1181825264B588   DAVID         JUAREZ                      OK     90011422526
11818A8374B555   DONNA         ELLIS                       OK     90011340837
118197A8651337   ZURAB         JANGVELADZE                 OH     90009467086
1181996338B194   NORMA         RODRIGUEZ                   UT     31016729633
1181B242261938   SOURIYAN      SOUPHAKHET                  CA     90014722422
1181B47125B343   CHASTIDY      AGUILAR                     OR     90014934712
1181B939561938   TYSON         NICHOLS                     CA     90011619395
1182137754B555   AMBER         HELMS                       OK     90008943775
11821733A9154B   OLGA          CORDERO                     TX     75039087330
118236A1A91263   ROBBIE        GARCIA                      GA     90015326010
11823731A93745   DEREK         SCHARSCH                    OH     90006917310
11823756A72B62   MONICA        WAITE                       CO     90014727560
1182387664124B   WILLIAM       HOLSING                     PA     90010308766
1182388A172477   KEVIN         LEMLEY                      PA     90014128801
1182397876147B   SHARON        STANTON                     OH     90014549787
11823A5115B526   DJ            BUYNUM                      NM     90000430511
1182419A29154B   MENESES       SALVADOR                    TX     90013781902
1182449893B324   ERICA         MARKS                       CO     90000924989
1182482885B526   ANGELINA      QUINTANA                    NM     36083208288
1182493114B555   SARAH         CHANCE                      OK     90002829311
1182531A241255   SELENA        BEASLEY                     PA     90008163102
1182558484B26B   MELLISA       CRAIG                       NE     90013315848
1182581684B555   VICTORIA      SIMPSON                     OK     90014718168
11826144572B62   JOANNA        PENA                        CO     90008591445
11826515972B62   VANESA        ROJAS                       CO     90013575159
1182687454B588   TOI           HOPGOOD                     OK     90013838745
11826AA4161938   ENRIQUE       VELASQUEZ                   CA     90012840041
1182737754B555   AMBER         HELMS                       OK     90008943775
1182777732B966   HENNESEY      JACK                        CA     90013937773
11827A5AA61972   JUAN CARLOS   GONZALEZ                    CA     90012330500
11828442A4B555   SARAH         CHANCE                      OK     90002834420
1182886A64B555   SHERONICAL    PRYOR                       OK     90014718606
11828A94261938   CAROLYN       FIELDER                     CA     46054350942
1182B798272B62   LUIS          CHONA                       CO     90013987982
1182B899872453   REGINA        MCCARTY                     PA     90009618998
1182B916A91569   ADRIAN        CISNEROS                    TX     75088359160
1182B952547956   MICHAEL       SHAW                        AR     24006889525
1183128A793745   LAUREN        SMITH                       OH     90014922807
1183163734B555   SHEREE        OSBORN                      OK     90005066373
11831AA245B343   MARCELO       VASQUEZ                     OR     90010260024
11833243A2B966   FRANCISCO     AGUILAR                     CA     90007182430
1183376455B343   ORLANDO       MEDINA                      OR     90010827645
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1183387914B555   CHASIDY         KIZZEE                    OK     90014718791
11833AA3891899   CYNDI           NICHOLS                   OK     21042320038
118344A6493745   KARA            FOLKERTH                  OH     90014864064
1183473515715B   GLADIS CELINA   HERRERA                   VA     90003047351
11834884A91569   MIKE            ELLIOTT                   TX     75016318840
11835464576B68   ISMAEL          CASTILLO                  CA     46094534645
118354A2857147   DESHANTALA      ROGERS                    VA     90012684028
11835A81261992   JOHN            SANTOIEMMA                CA     90004340812
1183646824B555   JESSICA         WILLIAMS-KOWALCIK         OK     90014714682
11836488272B62   FABIAN          MARTINEZ                  CO     33000904882
1183673434B588   MARIELOS        LOPEZ                     OK     21577887343
11836A86461958   FLORENCIO       MEJIA                     CA     46082390864
11837288A91569   ALFONSO         GARCIA                    TX     90013342880
118373A1161938   RACHEL          LANDIN                    CA     46024293011
11837696A4B588   SELWIN          LUCAS                     OK     90009986960
1183786575715B   JESUS           CANO                      VA     81096878657
1183792A24B555   DERRICK         WILLAMS                   OK     90014719202
11837A84927B36   JUSTIN          HYMEL                     KY     90014720849
1183816147B489   TIRA            WIGGINS                   NC     90013841614
1183841234B555   SHERRY          SMITH                     OK     90014724123
118385A3333699   GRETCHEN        CAINE                     NC     12085345033
1183869A94129B   MISTY           GREEN                     PA     90011096909
1183877744B259   WILLIAM         HADDAD                    NE     90009957774
1183885495715B   MARVIN          SANCHEZ                   VA     90007668549
11838A35957147   CRISTIAN        BARAHOMA                  VA     90014510359
11838A71941296   CHARLES         LUTZ                      PA     90013640719
11839535672B62   LUCIA           DIAZ                      CO     33009585356
1183995374B26B   LEROY           CAYOU                     NE     90009569537
1183B94565B526   FATIMA          ARENIVAR                  NM     90012149456
1183B992291263   CESAR           LUZ-GARCIA                SC     90012269922
11841587A76B68   SHANNON         TENNEY                    CA     46072135870
1184169477B668   ALEXANDER       RIVERA                    GA     90014956947
11841936A4B555   ORETHA          HENLEY                    OK     90014719360
11841A46472435   JOHN            BILSKY                    PA     51094250464
118426A4991569   EDWARD          MARTINEZ                  TX     75080046049
118429A485B154   MITCH           BRYANT                    AR     90012069048
11842A68691263   LAKESHA         HOLMES                    GA     14541660686
118434A865B35B   WILLIAM         DEWEESE                   OR     44558114086
11843851A61938   AGUSTIN         SANCHEZ                   CA     46025018510
11843A7665B154   CHARLES         MCCULLOUGH                AR     90002480766
118447A564B26B   TWILA           WHITEEYES                 NE     90013587056
11844949A4B26B   PAYGO           IVR ACTIVATION            NE     90013359490
11844A37972B62   KIFFEN          ROBLES                    CO     90007420379
118454A4751337   ROBERT          CLOUD                     OH     90009844047
1184671A27B489   DAMIEN          JAMES                     NC     90013407102
11846A2415B343   CYNTHIA         WATSON                    OR     90010260241
11846A69376B68   BRENDA          HERNANDEZ                 CA     90014180693
11847639172B56   ESTEBAN         QUINTANA                  CO     33018836391
1184794A251337   SCOTTIE         JACKSON                   OH     66047659402
1184795A672B62   MARTHA          ROSALES                   CO     33088869506
11847A1577B489   TAMARA          LUCKEY                    NC     90012230157
1184814759154B   LYDIA           GONZALEZ                  TX     75035041475
118483A465B343   SARAH           CARL HANER                OR     90011203046
1184864344B588   RAYLENE         STEVENS                   OK     90010386434
1184894815715B   JOCELYN         GONZALEZ                  VA     90011879481
11849366976B68   ENRIQUE         ZALASAR                   CA     90006033669
1184B23695B343   MIGUEL          LOPEZ ORTIZ               OR     44519822369
1184B495391263   PAYGO           IVR ACTIVATION            GA     90014114953
1184B5A918B138   VICKI           HUNT                      UT     90003195091
1184B93414B555   LOUIS           GURLEY                    OK     90014719341
11851A88A76B68   ANTHONY         FISHER                    CA     90011650880
1185223995B154   MARVIN          ALCORN                    AR     90014922399
11852554A47956   BRANDY          KIDD                      AR     24078715540
1185267962B966   LIZ             SILVEIRA                  CA     90013986796
118527A227B489   ABEL            GARCIA                    NC     90013217022
1185296214B555   KEVIN           ICE                       OK     21505349621
1185331235B343   PAYGO           IVR ACTIVATION            OR     90015413123
1185349225B338   PHILLIP         BROYLES                   OR     44566654922
11853A3A776B68   ANDY            MCMULLEN                  CA     90015430307
118546A7261958   ROBERT          MARTTINEZ                 CA     90010236072
1185481158B193   HEATHER         EARL                      UT     90008988115
1185492899154B   IRENE           RODRIGUEZ RAMIREZ         TX     90013029289
11855857A5B526   DARRELL         JARAMILLO                 NM     90014158570
11855952A76B68   MIGUEL          OZORNIO                   CA     90009869520
1185599AA4B26B   DIANA           WORICK                    NE     90013959900
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1185696934B555   CRYSTAL       HARPER                      OK     90014719693
1185697525B35B   SHARA         LAPINE                      OR     44514419752
118574A9161958   NARIA         RUIZ                        CA     46089834091
1185797344B555   RICKEY        GILBERT                     OK     90014719734
1185B7AA793745   ELIZABETH     ELLIOT                      OH     90004407007
1185BA9534B555   ANA           MURPHY                      OK     90009220953
118616AA654152   CARLOS        HERRERA                     OR     47002546006
11862A8339154B   CYNTHIA       SOLIS                       TX     90011240833
1186357A676B68   HORALIA       GOMEZ                       CA     46094535706
1186419934B588   TRACY         DOBSON                      OK     90014411993
1186429945B35B   TRANCOSO      RAQUEL                      OR     90011572994
1186487832B966   ROLANDO       RODRIGUEZ                   CA     45005858783
11864A13A61958   ELVIRA        GONZALES                    CA     90013830130
11864A97861938   ASHLEY        MILLER                      CA     46017150978
1186635114B26B   JUSTIN        HENRY                       NE     90007013511
1186714A461976   LOURDES       VEGA                        CA     90004181404
11867351A54B84   JOSE          BARAHONA                    VA     90006133510
1186752485B343   EDGAR         FLORES                      OR     90014005248
11867632972B29   MARIBEL       RUEDA TELLO                 CO     90011376329
11867684A93745   ASHLEY        CROWELL                     OH     90013136840
1186818165715B   BENJAMIN      CHINERY                     VA     90000221816
118689A6672453   DARNELL       HUDSON                      PA     90005669066
118689A725B35B   DENNIS        HELTZ                       OR     90006849072
11869285872B55   SAUNDRA       CORREY                      CO     33014692858
11869359872B62   LD            LD                          CO     33081023598
1186999184B555   KENYADA       GASTON                      OK     90014719918
11869A78151334   IMAR          GRANT                       OH     90011420781
1186B294761958   ARACELI       GARCIA                      CA     90012752947
1186B424A4B555   RALPH         STEWART                     OK     90014724240
1186B797157147   MARISOL       MOLINA                      VA     90013567971
11871297A61938   JESUS         JIMENEZ                     CA     90007212970
1187142754B555   CHRISTOPHER   TIGER                       OK     90014714275
1187164377B424   LATOYA        LITTLEJOHN                  NC     11022046437
11871661276B68   KEVIN         CHANEY                      CA     90013806612
1187191A961972   JOSEPH        ROBINTT                     CA     46090329109
11872241124B7B   WENDEL        PRICE                       DC     90013692411
1187293395B35B   GEIDIS        FIGUEREDO                   OR     90011079339
1187296845B154   NATHANIEL     MOORE                       AR     90013289684
11873717A5598B   FRANCISCO     ESCOBAR                     CA     90008167170
1187483A761938   NANCY         MAGNY                       CA     90003068307
11874A3594B555   KELLY         HUNTER                      OK     90014720359
11874A44961938   FRANCISCA     SIMONI                      CA     46090490449
1187524A75B343   GUADALUPE     GOMEZ                       OR     90000782407
1187642227B274   KARLA         RODRIGUEZ                   AZ     40509654222
1187649154B555   DIANA         DAWSON                      OK     90007804915
11876617172B62   KAY           CANEZ                       CO     33037066171
1187683A176B68   EUTIMIO       RAMIREZ                     CA     90002548301
1187732A672435   LEVI          RICE                        PA     90001613206
1187774355B343   ROGELIO       BERMEJO                     OR     44589997435
1187835A55715B   EVA           RYCHTARIKOVA                VA     90015163505
1187876A19154B   IRMA          DELGADO                     TX     75092147601
11878A74277539   KAYLA         WAGERS                      NV     43067540742
11878AA654B588   LIZANDRO      MORALES                     OK     90010750065
1187995835715B   MARTIN        SALOME                      VA     90007849583
11879A1284B588   HILDA         SAUCEDO                     OK     90010750128
11879A4894B555   TIMOTHY       WOODS                       OK     90014720489
1187B81995715B   ANGELA        KEITH                       VA     90008448199
1187B975672435   RICHARD       WILLISON JR                 PA     90005809756
1187BA67833699   JUSTIN        RATLIFF                     NC     90013960678
118816A3393745   CATHERINE     WILCZEK                     OH     90014226033
11882139472B62   ISAIAH        WEDDINGTON                  CO     33096741394
11882A6A94B555   TRACEY        HADDOX                      OK     90014720609
11883963A4B26B   YVONNE        JOHNSON                     NE     90013509630
11883A3998B193   BRANDY        NIEMAN                      UT     90003670399
1188411A69154B   ESCUDERO      ADRIANA                     TX     90011241106
11884A58A76B68   REBECCA       VERDUGO                     CA     90004130580
1188558A65B343   TALYON        JERONE ANDERSON             OR     44544735806
11885629A91895   JAY           BENSON                      OK     90010646290
1188567614B26B   SCOTT         CONROY                      NE     26061936761
1188616315B526   LINDA         CARMONA                     NM     90000121631
118864A4257147   CARLOS        RAMIREZ                     VA     90011224042
11886941372B62   MARIA         FRANSUA                     CO     33082279413
11886A37A4B555   ASHLEY        WELLINGTON                  OK     90012210370
11887189876B68   YESENIA       SANCHEZ                     CA     90012131898
1188737624B26B   SHAUN         DANNER                      NE     90015143762
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11887622376B68   JORGE        OROPEZA                      CA     90014486223
1188776827B489   REGINALD     MCCRAY                       NC     90012647682
11888164A72435   EDWIN        MONHEY                       PA     90012191640
11888423A7B489   STEPHANIE    KENNEDY                      NC     11016774230
1188889825715B   SOLOMON      NWOKEFORO                    VA     90011528982
118889A3491263   CALAUNDA     POWELL                       GA     90012009034
1188925A55B343   IONGI        SITIVENI                     OR     90013262505
1188959897B489   HECMARY      GONZALEZ                     NC     90000115989
118897A4772B62   LADY         PINEDA                       CO     33097827047
1188994A961972   MIKE         FILSON                       CA     90001799409
11889971476B68   JESUS        HERRERA                      CA     90015219714
118899A9891569   MARIBEL      MIRANDA                      TX     90006319098
1188B45995B343   MARICRUZ     DIAZ                         OR     90012494599
1188B9A5485B29   BONIFACIO    ORTIZ                        FL     90015379054
11892185972B55   MARIA        RODRIGUEZ                    CO     33090581859
11892A97A77344   MONIQUE      RUDOLPH                      IL     90015370970
11893363172B2B   KATHY        MADDEN                       CO     90002963631
1189354584B555   ASHLEY       NERO                         OK     90014715458
1189447964B555   SALEEA       SHOCKLEY                     OK     90013484796
1189476454B23B   JOSH         LIBBY                        NE     90001577645
11895737172B62   RAFAEL       ROBLES BONILLA               CO     33070697371
11895A2972B966   NELSON       VALLE                        CA     90014880297
1189697245B343   CHRISTINA    WEST                         OR     90004189724
1189726795B35B   LUIS         GALLEGOS                     OR     44500722679
11898589A72B62   JEREMY       HANSON                       CO     90010055890
1189871415B526   GEORGE       CARRILLO                     NM     90010197141
1189937829154B   JOHN         BETTS                        TX     75034443782
1189992692B966   MARGRET      BARNETT                      CA     90014939269
11899A58261972   NAJLA        SHELBY                       CA     90001640582
1189B215657147   ABDUL        CONTEH                       VA     81019752156
1189B389772B55   ISRAEL       SANDOVAL                     CO     90004093897
1189B816A4B555   MARISA       KEYES                        OK     90006548160
1189BA7554B555   ROBERT       WEBB                         OK     90014720755
118B142615B338   JAMES        DEROSSO                      OR     90009314261
118B15A9191569   TOMAS        CONTRERAS                    TX     90002985091
118B1644161976   JUAN         HERNANDEZ JR                 CA     90013336441
118B2A6279154B   KEREM        TERRAZAS                     TX     90011240627
118B373A84B555   JARMILA      GAYDEN                       OK     90014717308
118B3921A61938   GREGORIO     GOMEZ                        CA     90012159210
118B44A9861958   JESUS        ROSAS MARTINEZ               CA     46005894098
118B4572277539   TESSA        WILDER                       NV     90005285722
118B4635761976   REYNA        RAMIREZ                      CA     90000676357
118B4675A91569   JAMES        CARBAJAL                     TX     90010156750
118B4725372B62   SONYA        PADILLA                      CO     90007487253
118B534179154B   BLANCA       MELENDEZ                     TX     90011003417
118B5636661976   AIOTEST1     DONOTTOUCH                   CA     90015116366
118B5664755933   LEANDRO      CONTRERAS                    CA     90006086647
118B5698A91569   CHRISTY      MUNOZ                        TX     75040236980
118B5A11442399   MAGARET      STEPHANIE                    GA     90010970114
118B5AA968B136   NICOLE       BARTON                       UT     31098620096
118B6417533699   JAHMARE      PRYRE                        NC     90011434175
118B6694961938   REINALDO     GONZALEZ                     CA     90013886949
118B6773A76B68   REYMUNDA     GUTIERREZ                    CA     90013447730
118B6814572B55   GERARDO      VILLALON                     CO     90005858145
118B699A391263   LARRY        ANDERSON                     GA     90015009903
118B6A11442399   MAGARET      STEPHANIE                    GA     90010970114
118B7192457147   ALMADELA     RAMOS                        VA     90014741924
118B7224661976   ELIZABETH    GARCIA                       CA     90011242246
118B7636661976   AIOTEST1     DONOTTOUCH                   CA     90015116366
118B775515B343   MARIO        SALDAÑA                      OR     44513747551
118B792A961958   ROLAND       TONEY                        CA     46008179209
118B8234733699   JOHNNY       SMITH                        NC     90012382347
118B8351376B68   JOSE         MARTINEZ                     CA     90014813513
118B8799233699   RAQUEL       BOOKER                       NC     90010947992
118B921132B264   CECILIA      MATTHEWS                     DC     90005892113
118B9871A61972   JESUS        MARTINEZ                     CA     90000198710
118B995644B555   PAYGO        IVR ACTIVATION               OK     90013889564
118BB24435B343   RODRIGO      JERONIMO                     OR     90015182443
118BB41A172453   REBECCA      LANE                         PA     51042534101
118BB756661976   ROCIO        ESPINDOLA                    CA     90006437566
118BB868961938   JOE          SMITH                        CA     90007198689
1191115494B555   EMILY        KRISTINE                     OK     90014721549
1191148227B489   BRITTANY     CLYBURN                      NC     90011274822
1191179255B343   JUAN         RODRIGUEZ BELLO              OR     44500257925
1191194328B193   MARTINEZ     JOSEPH                       UT     31019899432
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1191215554B555   NORMA        SANTILLA                     OK     90014721555
11912379A5715B   NICOLE       ROSS                         VA     90013613790
119123A4672B33   EDUARDO      DOMINGUEZ                    CO     90000663046
1191259175B526   CHRISTINA    NELSON                       NM     35043675917
11912885A61958   ROBERTO      GUZMAN                       CA     90011478850
1191315554B555   NORMA        SANTILLA                     OK     90014721555
1191351194B588   KEINTA       HASTINGS                     OK     90014895119
1191352383146B   MICHAEL      SIMETH                       MO     90006665238
1191385625B55B   MARIA        HERNANDEZDE JIMENEZ          NM     90014088562
11913959A61972   ESTHER       WORONICZ                     CA     46037859590
11913A1385B526   DONNA        BACA                         NM     35048040138
1191415554B555   NORMA        SANTILLA                     OK     90014721555
119141A5257147   BLANCA       MARTINEZ                     VA     81089771052
11915515A5B343   LORI         MILLE                        OR     90014925150
1191683797B489   ENRICCO      BOOKER                       NC     11048738379
11916937A33699   GRACE        ANDERSON                     NC     90012069370
11916A22561972   VANESSA      TOLEDO                       CA     90011260225
1191731395B526   OLIVER       TAFOYA                       NM     90006183139
1191776352B966   TODD         HENDRICKS                    CA     90014167635
1191793585B343   DAVID        CASTRO                       OR     90012639358
1191793895715B   LILIAN       APARICIO                     VA     90011529389
11918164A4B555   LATOYA       KING                         OK     90014721640
119182A4357147   CARLOS       CARRANZA                     VA     90013122043
1191832A172B62   KAYLA        MOSS                         CO     90014703201
11918A44461958   REWTERIA     JESSICA                      CA     46085710444
11919164A4B555   LATOYA       KING                         OK     90014721640
1191919A861976   RIATH        POLOS                        CA     46042281908
11919963A5715B   ERNESTO      OROPEZA                      VA     90003089630
11919A9675B526   NICOLAS      MANNING                      NM     90011990967
1191B164A4B555   LATOYA       KING                         OK     90014721640
1191B541661938   NOEMI        MORENO                       CA     90015155416
1191B54A176B68   LIDIA        AYALA                        CA     90014865401
1191B553676B68   JOSE         MENOZA                       CA     90008965536
1191B87552B966   BEATRIZ      FUENTES                      CA     45094208755
1192178744B588   FELIX        OLIVO                        OK     21511737874
119219A6161958   RUBEN        URIBE                        CA     90006179061
1192394128B193   ALEJANDRO    MARTINEZ                     UT     31079019412
119248A974B26B   CELESTE      SEXTON                       NE     90013198097
1192495277B489   CARLOS       GARCIA ROSADO                NC     90003069527
1192519694B555   MARISA       TURNER                       OK     90014721969
119255A5976B68   ELLEN        SCHANTZ                      CA     90000795059
11925A92991569   MARTHA       MENDOZA                      NM     90012920929
11926237197B39   KATHELENE    COOK                         CO     39077252371
1192652AA76B68   DIANA        SANCHEZ                      CA     46004415200
1192669269154B   NORMA        PACHECO                      TX     90001906926
1192672187B489   JOE          MILLER                       NC     90004147218
1192697A791263   BRAULIO      ALTAMIRA                     SC     90012039707
11928496A57147   DORA         GONZALEZ                     VA     90001584960
1192853A591895   ORVILLE L    BANKS JR                     OK     21051635305
1192854635B343   KIMBERLY     MARSH                        OR     90010425463
1192891314B555   DETRA        KNIGHT                       OK     90013389131
1192922192B966   ALYSA        POLK                         CA     90010272219
1192936725B35B   BRETT        WOOLSTENHULME                OR     44558823672
1192994748B193   FRANCISCO    CANO                         UT     31091379474
11929A6235B343   RONALD       TINDLE                       OR     44504800623
11929A97461938   JACQUELINE   CHYMBUR                      CA     46012470974
1192B34234B26B   ARMANDO      GAMBOA-JUAREZ                NE     26007513423
1192B935561938   SANDRA       VANDIVER                     CA     90012339355
1192B97865B343   MERCEDES     ESTEVEZ                      OR     44522829786
1192BA43761938   RAYMOND      GONZALES                     CA     90012470437
1193115A54B555   MONICA       DIAZ-ROBINSON                OK     90014711505
11931385A47956   SAMANTHA     FLYNN                        AR     24073073850
11931515A7B489   CUNG         NAWN                         NC     90011275150
1193233884B555   MARIA        PEDROZA                      OK     90011123388
1193244119154B   MIKAL        MINTON                       TX     90013344411
119324AA72B966   ALEJO        RODRIGUEZ                    CA     90009974007
1193355792B966   MARIA        RODRIGUEZ                    CA     90011755579
119343A6861976   LAURA        GONZALEZ                     CA     90013483068
119343A9A72B55   RICHARD      SEALOCK                      CO     33036873090
11935328124B7B   CELIA        PEREZ ALVARADO               DC     90012203281
119354A3251337   DOUGLAS      VIRES                        OH     90014724032
11935A41961976   CHAITANYA    WAGH                         CA     90012260419
11935AA5797B58   JARRAD       DOOLITTLE                    CO     90011900057
1193748655715B   JENIFER      MOLINA                       VA     90013004865
1193815869377B   MONDELL      HERMAN                       OH     90013681586
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11939255A72453   SHIRLEY            DENNY                  PA     90000122550
1193B2A894B555   JOHN               HORNBECK               OK     90014722089
1193B583957147   MARICELA           MARTINEZ               VA     90008265839
1193B811833699   SKYLET             GUNN                   NC     90015048118
11941392676B68   JOSE               ALVARADO               CA     90014183926
11942183476B68   FELICIANO          MARTINEZ TORRES        CA     46057131834
1194228227B489   GABBY              PORTER                 NC     90013082822
1194274764B555   JEFFREY            YOUNG                  OK     90011107476
11943516276B68   CHRISTINA          ESCAMILLA              CA     46079495162
1194427455B232   BOBBY              LUCAS                  KY     90011362745
1194487354B588   JOHNSON            DEANGELA               OK     90015198735
11944A79191263   CALVIN             ZEIGLER                GA     90003340791
119455A132B966   ISMAEL             FIORES                 CA     90010845013
11946169576B68   JAY                VLADIMIROV             CA     90008981695
1194665155B154   KHENITRA           MALONE                 AR     90012216515
11947A4715B343   HOWARD AND NANCY   HAGGE                  OR     90012800471
119481A265B343   KRISTINA MARIE     KENNEDY                OR     90010281026
1194847492B966   PAULINE            SPENCER                CA     90012754749
1194847A891895   KEANDRALYN         WILLIBY                OK     90013284708
119486A6724B5B   JORGE              CRUZ                   DC     81023506067
11949A9948B193   MILLICENT          ADJEI                  UT     90007710994
1194B361833699   BEVERLY            BARNES                 NC     12013813618
1194B897A72B62   FRANCISCA          HERNANDEZ              CO     33024968970
1194BA8A12B966   ANDRES             SOLORIO                CA     90013940801
1194BA8A891263   ANN                LEMLEY                 GA     14570620808
1195116459154B   JOCELYN            GINER                  TX     75034451645
11951265476B68   LAURA              MENDOZA                CA     90011432654
11951456A4B555   CHARLES            JACKSON                OK     90014724560
1195192192B966   WILMER             VASQUEZ                CA     90009929219
1195245844B555   TIFFANY            JACKSON                OK     90014724584
11953245576B68   JUNIOR             GARCIA                 CA     90015522455
119533A2457147   KELLY              HARRIS                 VA     90012903024
1195391667B489   SCOTT              CANNON                 NC     90012769166
11953A9875B343   TORI               BELFIELD               OR     90009370987
1195412A872B33   CRYSTAL            TRUJILLO               CO     90013211208
1195436734B259   THERESA            VACEK                  NE     90014533673
1195483915715B   CLAUDETTE          PHILLIPS               VA     90005498391
1195522583B388   WILLIAM            STEPHENS               CO     33081372258
1195574929154B   MIRIAM             DOMINGUEZ              TX     90014087492
11956233772B62   ANTHONY            RIMBERT                CO     90001892337
1195656244B588   SAMANTHA           COGGINS                OK     90014865624
1195791827B489   OLMER              AGUETA                 NC     90012389182
119582A8491263   HOLLIE             ROSE                   GA     14572052084
119585A114B555   OPHELIA            FRENCH                 OK     90014725011
1195917697B373   ANDRES             GEREZ AGUILAR          VA     81094611769
1195921442B966   SAMANTHA           GAVIN                  CA     90006042144
1195926758B193   GUADALUPE          VASQUEZ                UT     90001712675
11959388176B68   ALDO               CUELLAR                CA     90010863881
1195954264B588   JOHNNI             LEE                    OK     21573315426
119595A164B555   DWANE              WILLIAMS               OK     90014725016
1195971265B343   MICHAEL            URIARTE                OR     90013437126
11959786A5B35B   BRANDON            RISHEL                 OR     44582147860
1195B9A5A5715B   KENIA              FUENTES                VA     81060989050
11961361A72B55   CHANTELLE          WILLIAMS               CO     33036143610
1196142365B154   ERIC               JORDAN                 AR     90011254236
1196146375B526   CRYSTAL            TRUJILLO               NM     90003124637
1196153344B555   DALE               SMITH                  OK     90014745334
1196196A924B7B   FLOR               MENJIVAR-BRUNO         DC     90005149609
1196226AA5B526   GARCIA             LUKUSA                 NM     90010952600
11962616524B7B   WAYNE              LANTION                VA     90001066165
119628AA95B343   CASSIE             SCHINDLER              OR     90010558009
1196311414B588   WAYNE              BRADBURY               OK     21551401141
1196358724B555   MICHAEL            COUGHRAN               OK     21568005872
1196411295B343   CESAR              HERNANDEZ              OR     90014251129
1196415A272453   DOROTHY            TALMONTI               PA     51032741502
1196459255B343   CECEILIA           LOPEZ-SOSA             OR     90004725925
1196459434B547   JOSE               VILLANUEVA             OK     90001935943
1196477A14B26B   MICHAEL            JENSEN                 NE     90011207701
1196512724B555   CHEVI              SHARP                  OK     90013911272
1196528225B343   KARAC              HELUS                  OR     90014702822
119661A5861985   BLANCA             CONRIQUEZ              CA     90012171058
1196657A14B555   SAMANTHA           WEST                   OK     90014725701
1196714649154B   VERONICA           MARES                  TX     90011241464
1196794824B26B   ROSETTA            SCHIEL                 NE     26080089482
1196832AA91895   JOSE               MEDINA                 OK     90015003200
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1196899714B555   SHERRY         PACKARD                    OK     90008849971
1196B26A793745   JAMES          BOGGS                      OH     90007352607
1197135734B22B   NICOLE         SHEARS                     NE     27037243573
1197138945B526   PHIL           MIRABAL                    NM     35000093894
11971874A72B62   JESSICA        NUNEZ                      CO     90012988740
1197243A44B588   AMANDA         GRAY                       OK     21551554304
1197255299154B   RODNEY         WRIGHT                     TX     90010025529
1197259A34B555   DESIRE         WHITE                      OK     90014725903
1197358412B966   GUADALUPE      GODINEZ                    CA     90001665841
1197363A661958   NATIVIDAD      ALCARAZ                    CA     90012096306
11974244376B68   ALESCIS        GITIERRET                  CA     90012212443
1197435A891263   DRYSON         MUTEHERSON                 GA     90015393508
1197475515B343   JUANA          CARLOS                     OR     44539677551
1197478693B364   ERICKA A       SILVAS                     CO     90010287869
11974A6A891569   PATRICIA       ACOSTA                     TX     90009720608
119751AA97B442   GRISELDA       RAMIREZ                    NC     90013761009
1197524515712B   FREDY          ROMAN                      VA     81014792451
1197563374B555   KARA           JONES                      OK     90014726337
1197619A891569   HILDELISA      ALVARADO                   TX     90010801908
11976476A9154B   MAYRA          LIRA                       TX     75001804760
11976588A3B36B   MAYRA          BALTAZAR                   CO     33074295880
1197698445B343   IGNACIO        GALLARDO                   OR     90012029844
11976A9914B588   BARBARA        RICHMOND                   OK     90006690991
11976AA634B555   CLEVELAND      SPRUILL                    OK     90013850063
119771A4572B37   MARIA          CORIA                      CO     90005121045
11977241672B62   ERNESTO        CIGARROA                   CO     33094652416
1197736617B34B   NORMA          IPORRE                     VA     90012423661
1197744239373B   JAMI           TELLIS                     OH     90008834423
1197758964B26B   BREANNA        BURKHARDT                  NE     90015265896
1197759255B583   VAN            BARBER                     NM     90014555925
1197799944B588   KIMBERLY       TENNYSON                   OK     90008509994
1197853314B26B   JENNIFER       MCEWEN                     NE     26028505331
1197913158B193   ASHLEY         LENABURG                   UT     90010241315
1197965A34B555   AMBER          ABOUALI                    OK     90014726503
11979688776B68   LUIS           TORRES                     CA     46091816887
1197B475661972   ANNETTE        ZABALA                     CA     90012024756
1197B75845B526   JAIME          GARCIA -TORRES             NM     35055157584
1198122875B526   SHANITA        BROWN                      NM     35067842287
11981742576B68   LUIS           MEJIA RIVERA               CA     90015267425
1198184845B154   SHAKENTE       JOHNSON                    AR     90015118484
11981A6A84B588   CHASTITY       BROWN                      OK     90014440608
11982193A85962   ADRIANNE       CONNER                     KY     90001191930
11982444472B62   LISA           MARTINEZ                   CO     90012604444
11982A6935B526   MARIA          COVARRUBIAS                NM     90014340693
11983258772B62   BILLIE         RILEY                      CO     90013202587
1198336985B522   ORLANDO        ARCHULETA                  NM     90008003698
1198357429154B   JENNY          OLVERA                     TX     90009185742
11984482776B68   CHRISTY        SMITH                      CA     90013194827
11984A2397B489   JOE            MCCRAY JR                  NC     11085860239
1198636AA7B489   WARREN         COVINGTON                  NC     11005513600
1198685252B966   ALEJANDRA      MAESTAS                    CA     90008028525
1198691A461976   MONICA         BUSTILLOS                  CA     90008329104
11987628A72B62   IRMA           RODRIGUEZ                  CO     33009586280
119889A6461976   ALEXANDER      DORADO                     CA     90011559064
119894A2872B62   MATT           BARRINGER                  CO     90009744028
11989A36991895   TONY           BALL                       OK     90012660369
1198B4A2631635   MIRIAM         LOPEZ                      KS     90004404026
1199163265B343   ANGELA         OCHOA                      OR     44551336326
11991766A72B62   ANGELA         CARROLL                    CO     90009137660
11991A49793745   KEANTE         BURNS                      OH     90012060497
11991A7822B966   AZIZ           JACOBS                     CA     45021610782
1199296632B966   RIGOBERTO      MENDOZA                    CA     90011969663
11993917A5B154   ANNA           SIMMONS                    AR     90010819170
11994842A5715B   ALFREDO LEON   MENDEZ                     VA     90010318420
1199671494B555   SAUDIA         GREEN                      OK     90014727149
11997619A91899   MALESE         TENNYSON                   OK     21008796190
1199772A22B966   MARIO          ALTO                       CA     90011497202
1199775825B526   AMOS           BEN                        NM     90013377582
1199832639154B   CHAPARRO       ERIKA                      TX     75034853263
1199B35389154B   JENNIFER       MEDINA                     TX     90013353538
1199B57982B966   SALVADOR       CHAVEZ                     CA     90015045798
1199B91AA61976   MAURICIO       AVALOS                     CA     90014409100
119B1124961958   JESUS          ROMERO                     CA     46076751249
119B118434B588   BOBBY          HUNT                       OK     90011411843
119B1374191263   CAROLYN        JOHNSON                    GA     14572773741
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119B1627A8B193   KATE               WINN                   UT     31031826270
119B1866461976   CLEMENTE           RINCON                 CA     90011558664
119B1941A71933   MARY               CRADE                  CO     90012509410
119B25A8272435   FRAN               SULLIVAN               PA     51041225082
119B2754191895   JESSE              NERI                   OK     90010867541
119B281864B588   NAKEI              VICK                   OK     90008728186
119B2847672B62   MICHELLE           REINHARDT              CO     90010748476
119B2958251337   CANDACE            DRESSELL               OH     90002029582
119B298495B343   IDA                CALDERON               OR     44571679849
119B329185599B   MICHEAL            GARCIA                 CA     90012602918
119B334A95715B   LAUREN             WATTS                  VA     90009843409
119B339549154B   ADRIANA            SOTO                   TX     75002053954
119B3861A2B966   JESUS              MENDOZA                CA     90010808610
119B38A185B35B   MARY               SMITH                  OR     44509638018
119B3A14A77539   GABRIEL            SCHEEL                 NV     90010990140
119B3A8275B526   ROQUE              MARQUEZ                NM     90015070827
119B4341672B62   MARCOS             GALAN                  CO     90011733416
119B4A95551337   ILEAN              HANSEL                 OH     90008910955
119B5A4685715B   ROLANDO            MARROQUIN              VA     90008880468
119B6146A4B555   CHRISTOPHER        UPCHURCH               OK     90014721460
119B648AA93745   ZACK               CHAPPIE                OH     64575914800
119B658258B193   DANIELA            HIDALGO                UT     90008665825
119B751689154B   RAUL               CORONEL                TX     90014725168
119B753674B588   KORTNEY            HAWTHORNE              OK     90013395367
119B8286A9154B   MINERVA            ORTIZ                  TX     90014202860
119B8817572B62   TSEAN              GRAY                   CO     90012588175
119B92A8657147   DANIEL             GOMEZ                  VA     90015012086
119B98A4261976   JESSEL             CABRAL                 CA     90013008042
119BB473731687   KELLY              MCCORMICK              KS     22013794737
119BB829191895   ELLEN              THOMAS                 OK     21069288291
11B11519A4B555   AMBER              RANDALL                OK     90014645190
11B1155895B343   ELISABETH          HERNANDEZ              OR     44537975589
11B11594161972   DEBORAH            MARTINEZ               CA     90011655941
11B116A4A5B526   ERIBERTO           MARTINEZ               NM     35067616040
11B1259135B343   CANDIDO            LARA                   OR     90011425913
11B12673891895   PAMELA             BROWN                  OK     90015136738
11B12A1225B154   DERRICK            PLUMMER                AR     90013940122
11B131A2161976   JOSEFINA           BEDOLLA                CA     90001131021
11B131A8147956   MAEGAN             CLUTE                  AR     90001691081
11B1352862B265   TILLIE             WASHINGTON             DC     90001025286
11B13615457147   JOSEPH             GOMEZ                  VA     90013256154
11B1411A393745   WHITHNEY           OBRINGER               OH     90002531103
11B14284A7B489   GREGORIO           PEREZ                  NC     90013852840
11B1475374B26B   CINDY              ANDERSON               NE     26061257537
11B1478839154B   JOSE               LOYA                   TX     75097357883
11B1483817B489   KATHERINE ROXANA   RAMIREZ ZELAYZ         NC     90011268381
11B15133133B7B   JOHN               JACKOVICH              OH     90015461331
11B15176461972   OLGA               TORRES                 CA     90014831764
11B1525385B343   KHALDOUN           MOHAMMAD               OR     44516822538
11B153A3591569   ALVARO             RAMOS                  TX     75045183035
11B1549A172B62   EDDIE              VALADEZ                CO     90000224901
11B1551A35B35B   FERNANDO           AGUIRRE                OR     44519475103
11B15A18172B62   DOUGALD            CALHOUN                CO     33052540181
11B15A8174B26B   VANESSA            BROOKS                 NE     90011170817
11B16115976B68   CARMEN             QUINTANAR              CA     90006641159
11B161A692B966   ALEJANDRA          HERNANDEZ              CA     90013631069
11B16364131687   DAWN               PALMER                 KS     90009713641
11B1716567B483   NEKESHA            STEELE                 NC     90006041656
11B1716875B343   FERNANDO           CABRERA                OR     44577871687
11B17171293745   KENNETH            WALDON                 OH     64560181712
11B17413231687   KEVIN              GOURLEY                KS     90010374132
11B1764234B555   ANTHONY            STOKES                 OK     21552426423
11B17693291569   LYNETTE            BLUE                   TX     75016236932
11B177A142B966   JERRY              PABST                  CA     90007427014
11B1815A272453   DOROTHY            TALMONTI               PA     51032741502
11B1819964B588   ALICIA             CARTER                 OK     90014421996
11B1942155B343   JORGE              MONTOYA HERRERA        OR     90002344215
11B1953534B555   GLORIA             PRATT                  OK     90014645353
11B1964674B588   DIONISIO           ARAUZ                  OK     21505396467
11B19777672B97   EYDI CELINA        CASTILLO               CO     90006507776
11B19A11A6197B   MARIA              GARCIA                 CA     90000910110
11B1B51424B555   LASHELL            CURRIE                 OK     90014645142
11B1B82273B359   CURT               JACKSON                CO     90001068227
11B1B826593768   MARINA             CAROLLS                OH     90002048265
11B21252555974   PHILLIP            EDWARDS                CA     49077712525
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11B21291491569   BLANCA        PIZARRO                     TX     75089752914
11B2144A45B526   NICHOLAS      OLEARY                      NM     90012904404
11B2198372B232   RACHEL E      CARR                        DC     90008619837
11B2283818B193   SEAN          PATTERSON                   UT     31087128381
11B23374372B3B   STOHL         MICHAEL                     CO     90011373743
11B236A7961958   SHARITA       SMITH                       CA     46077636079
11B24397A97B23   THOMAS        CASE                        CO     90012663970
11B2454865B343   MARIA         ISALIA                      OR     44571325486
11B24777157147   NERI          NAVARRETE                   VA     81015477771
11B2484A361972   STEVEN        SOUSER                      CA     90008668403
11B24A9125715B   ELISEO        DIAZ                        VA     81059480912
11B2559625B526   PAYGO         IVR ACTIVATION              NM     90014305962
11B25A53272B55   ALMA          ORDAZ                       CO     33015180532
11B262AA54B588   MARIA JUANA   VELARDE                     OK     90010422005
11B2633515B343   VIRGINIA      BAKKER                      OR     44585473351
11B2639A67B489   RUTHIE        CAMPBELL                    NC     11025383906
11B2649475B387   TOBIAS        BROWN                       OR     90012474947
11B2677559373B   PATRICIA      MCCOY                       OH     90012167755
11B26A5652B966   EDGAR         SANTOS                      CA     90012590565
11B26A83861976   SALVADOR      GONZALEZ                    CA     90009550838
11B27438472B62   RUTH          SOTO                        CO     90008044384
11B27726891569   SANDRA        ACEVEDO                     TX     75026187268
11B2788289154B   ERNESTO       GONZALEZ                    TX     75043148828
11B27917893745   TAMMY         TOBE                        OH     90001999178
11B28798991586   KAILA         GIL                         TX     90011237989
11B28853472B62   VICTOR        SHANKLE                     CO     90008988534
11B289AA74B588   MARTIN        COOPER                      OK     90003559007
11B29238761938   TUCKER        TAMERA                      CA     46083532387
11B2941872B966   ROSANNA       PETRUSHKIN                  CA     90013834187
11B29571831965   ERIK          BAUTISTA                    IA     90015465718
11B2B664172B62   XAVIER        MONTOYA                     CO     90013066641
11B2B939891944   NIKITA        BETHEA                      NC     90009559398
11B31155961976   JESUS         SEGUNDO                     CA     90013111559
11B31175657557   TYESHA        JOHNSON                     NM     90007571756
11B31297741255   JAMES         BRINSKY                     PA     90001202977
11B3224219154B   IRENE         RODARTE                     TX     75052712421
11B3256964B555   REBEKKAH      CLAWSON                     OK     90014645696
11B3281755B154   BEATE         HOLLAND                     AR     90009748175
11B33433791899   LATOYA        SIMS                        OK     21015524337
11B3375747B489   KETURA        JORDAN                      NC     90014347574
11B3435197B489   NIKKI         THOMAS                      NC     90014413519
11B34915576B68   PEDRO         PEREZ                       CA     46039749155
11B34A46291569   MAURICIO      BORREGO                     TX     90010800462
11B352A9533699   JENNIFER      RORIE                       NC     12053832095
11B3586364B26B   KELSEY        TATRO                       NE     26025518636
11B36157A5B35B   KELSEY        BURKE                       OR     44563881570
11B36232961972   ANGEL         ROMAN                       CA     90015082329
11B3638864B555   DAVID         WILLIAMS                    OK     90009833886
11B36689191586   ROBERT        BARRIGHER                   TX     90010876891
11B37361131635   DEBBI         GOODRICH-ADAMS              KS     22089983611
11B37583847873   DENISE        BENNETT                     GA     90011625838
11B37735A61972   DORINA        VARGAS                      CA     90011727350
11B3783169154B   CURTIS        VON                         TX     90012728316
11B37851872435   ROBYN         BEERE                       PA     51051768518
11B37A59733699   TONY          WHITFIELD                   NC     12060420597
11B38114161958   MAYRA         PETERSON                    CA     46057461141
11B38257591895   VERA          LECLAIR                     OK     90013072575
11B3863122B966   GUILLERMO     VARGAS                      CA     90012986312
11B386A374B26B   PAMELA        FARRENS                     NE     26015846037
11B39495633699   RAMON         MORRIS                      NC     90009314956
11B397AAA72B62   KT            SPECIALIST                  CO     90010407000
11B39A7895B35B   MELISSA       POLITOWSKI                  OR     44569240789
11B3B275872B62   DAVID         BRUNSTON                    CO     33060212758
11B3B43589154B   HARRY         COLLINS                     TX     75040214358
11B3B672493724   JOSHUA        SCOTT                       OH     90010056724
11B41393677539   KYLE          MCCONNELL                   NV     90001223936
11B4143165B343   ALNAMMO       BAN                         OR     90012074316
11B42178472B62   CRYSTAL       KULP                        CO     33082661784
11B4233184B259   ITZEL         LOPEZ                       NE     90009903318
11B42887861976   MANUEL        SILVESTRE HURTADO           CA     90012038878
11B4294315B599   MARTIN        MALDONADO                   NM     35085589431
11B42A3964B26B   JANELLE       FRANKLIN                    NE     26005380396
11B42A9184B555   RHONDA        LEWIS                       OK     21500650918
11B43388991895   ALANA         YOUNG                       OK     21082693889
11B4358665B343   MARCOS        SALAZAR                     OR     44551825866
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11B43666643584   EMILY               HAMMOND               UT     90003346666
11B43721891569   LINDA EVA           SALAZAR               TX     90005487218
11B4397174B26B   DELMER              DORMER                NE     90011049717
11B443A155715B   GRETEL              VALDESON              VA     90011653015
11B4478685B35B   JEFFRY              SHUPERT               OR     90010397868
11B447A2141384   FELIX               LLACUA                MA     90015277021
11B45139672453   ELISHA              WEST                  PA     90012181396
11B4526732B966   PETER               EGBAIYELO             CA     90015252673
11B45989A61976   RAMON               BARRERAS              CA     46041029890
11B4657A461976   LUCIA               RODRIGUEZ             CA     90006285704
11B46874661958   RICARDO             AGUILAR               CA     90011918746
11B4794754B588   MARIA               OCAMPO                OK     90010739475
11B48188261972   TIFFANY             BRANCH                CA     90012941882
11B484A292B839   CHERIE              TIMMONS               ID     90014024029
11B48688572453   CODY                ZGORZELISKI           PA     90014646885
11B4913818B197   CAROLYN             SAMMANN               UT     31003801381
11B4916AA5B343   MARIA DEL SOCORRO   GOMEZ NAVA            OR     90010801600
11B4919673B722   KAREN               KILJANDER             WY     90014511967
11B4B118233699   JANAE               INGRAM                NC     90010851182
11B4B84777B489   ALFONSO             MOYA                  NC     90011268477
11B4B91932B966   YESICA              MURILLO               CA     90013049193
11B4B95418B193   GREGORY             DIANE                 UT     31016889541
11B5162275B526   ROBERT              ENCINIAS              NM     90013636227
11B51731761934   ALCIDES             TORRES                CA     46078317317
11B517A5A57147   MANUEL              VAZQUEZ               VA     90013297050
11B5185969154B   SUSANA              SALTERO               TX     75017728596
11B521A133B392   KEVIN               DORR                  CO     90010051013
11B52237171932   LADON               WICKS                 CO     90006362371
11B52288961972   GABRIEL             BAJONERO              CA     90014892889
11B52433576B68   MARIANO             SALAZAR               CA     46011264335
11B52623133699   WILLIAM             GADDY                 NC     90008506231
11B53135857147   PEDRO               APARICIO              VA     81065301358
11B5331264B555   WENDI               ROOKS                 OK     21549443126
11B53321561938   ISMAEL              ESPARZA               CA     90009793215
11B54197A33699   ANNIE               JOHNSON               NC     12089101970
11B541A345B154   KENNETH             LEWIS                 AR     90004221034
11B54539431687   KIMBERLY            COTTON                KS     22092525394
11B54A46325132   JESSICA             EAST                  AL     90015360463
11B54A61491569   RAFAEL              SIMENTAL              NM     90010460614
11B55432491895   VERONICA            WOLFE                 OK     90014984324
11B5548467B489   ANNETTE             HARPER                NC     90007804846
11B5567394B26B   HILARY              STOUT                 NE     26097996739
11B55A8835B154   PETER               GARVEY                AR     90013940883
11B56894757147   JESUS               CANO                  VA     81016508947
11B5719AA47956   LANA                JOSLIN                AR     90011791900
11B57411772453   DONNA               GREENE                PA     90014654117
11B57487677539   BRITTANY            JOHNSON               NV     43000944876
11B5751282B966   ROSAIRA             GONZALEZ              CA     90013355128
11B57824491569   DAVID               TOLEDO                TX     90010248244
11B58A3598B193   DAVID               NECHAM                UT     90005040359
11B5929729154B   JOSE                MACIAS                TX     90012762972
11B59784561972   YANET               GONSALES              CA     90011247845
11B59821433699   ASHLEY              DAVIS                 NC     90013348214
11B59A95672B62   JESUS               SOLIS                 CO     90003190956
11B5B342177539   DELFINO             VELAZQUEZ             NV     90007063421
11B5B47267B489   CORDERRA            JOHNSON               NC     90014714726
11B5B876191569   JENNIFER            VILLA                 NM     90009848761
11B61113491263   SHEENA              COUNTS                GA     90013981134
11B6131A461958   NAIDA               GASTELUM              CA     46007933104
11B625AA44129B   TIMOTHY             TATTERS JR            PA     51096895004
11B627AA74B26B   JAKOB               SCHUELKE              NE     90014727007
11B63311361972   JORGE               MEDINA                CA     90013803113
11B63378172B62   ANTONIO             SARMIENTO             CO     90013403781
11B63731172453   HEATHER             ALDERSON              PA     90014657311
11B63A29561938   HUMBERTO            GRIJALVA              CA     90013050295
11B6446A32B253   RODERICK            MYERS                 DC     90000284603
11B649A1A5B154   MATOSHA             SHERRER               AR     90010949010
11B64A82291263   LATRELL             BUSBY                 GA     90013180822
11B6547297B489   NADINE              CARTER                NC     11062924729
11B6555445B343   JESSICA             HAWASH                OR     90007535544
11B65779861976   DORA CAROLINA       AU GALLEGOS           CA     90012227798
11B6655A961972   MARIA               SAUCEDO               CA     90012295509
11B6662577B489   JOSE                MEDINA                NC     11086866257
11B66745391895   TONYA               S COX                 OK     21005667453
11B6773865B343   FANNY               RONQUILLO             OR     90010537386
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11B67748472453   JOY              FRANTZ                     PA   90012697484
11B683A4572453   RUBY             RITMANICH                  PA   51025423045
11B68972561938   CHRISTOPHER      BURGESS                    CA   90014109725
11B68A4659154B   DIANA            MUNOZ                      TX   90014870465
11B6922315B526   LEONARDO         CEDILLO                    NM   90013482231
11B693A744B26B   MARIA            PENA                       NE   26081383074
11B69427976B68   ABDIEL           LOPEZ                      CA   90008874279
11B69684757147   VICTORIANA       RAMIREZ                    VA   90012536847
11B6985812B336   TENESHA          WOOLFOLK                   CT   90014318581
11B6997997B489   ANNIE            KIMBLE                     NC   11061149799
11B6B196A4B588   BILLY E          LUTE                       OK   21551481960
11B6B2A8331635   MARIA            GARDEA                     KS   90010922083
11B6B32344B26B   ELYSE            HOYT                       NE   90012573234
11B7118A75715B   ELMER            HERNANDEZ                  VA   90004901807
11B7128A35715B   DEYSE            ASIN MELENDEZ DE PARIONA   VA   90012562803
11B7131832B966   LLUVIA           BAROCIO                    CA   90011413183
11B71888891895   DEBRA            STITIES                    OK   90001618888
11B71A8A99154B   JULIEANDRA REY   DUTCHOVER                  TX   90013780809
11B7212844B588   REBECCA          CARTER                     OK   90006371284
11B72255461958   DEANNA           STRICKELL                  CA   90005122554
11B7229439154B   DORA             ROBLES                     TX   90005392943
11B7233AA61976   KIRSTEN          WABSIS                     CA   90012353300
11B72382372453   JUDY             BEACHY                     PA   90014703823
11B72574731687   TYLER            COOPER                     KS   90012035747
11B7275A372453   PAM              EVANS                      PA   51089937503
11B72AA2576B68   ESTEBAN          MENDOZA                    CA   90002850025
11B73337761976   SHAYLENA         SIMPSON                    CA   46025883377
11B7337562B249   LAWAN S          SWEENEY                    DC   90000723756
11B73812891263   KENRICK          CHAMBERS                   GA   90010818128
11B74276691569   JUAN             MESA                       TX   90006082766
11B7429785715B   FEDERICO         RIVERA                     VA   90014322978
11B74439191524   VANESSA          AVILA                      NM   75040984391
11B74672A4B555   JAMILA           MILES                      OK   21596956720
11B75624472453   THOMAS           SENAY                      PA   90014696244
11B75644776B68   SALVADOR         NARANJO                    CA   46082616447
11B7565A761958   RHONDA           STALKER                    CA   46091096507
11B76327284332   AIN              CUTHBERT                   SC   90007773272
11B76337951337   BRIANNA          YOUNG                      OH   90012203379
11B7648675B343   HERIBERTO        RODRIGUEZ                  OR   90012574867
11B76624472453   THOMAS           SENAY                      PA   90014696244
11B7666295B526   GABRIELA         SANCHEZ                    NM   90014836629
11B76816391263   ANDREW           RONCO                      GA   90005288163
11B7848832B966   CASS             MONAY                      CA   90010864883
11B7849184B555   TRINH            DYE                        OK   90014654918
11B7859335B343   LUUL             ARALE                      OR   44502155933
11B78A3625B154   TYRONE           PENNINGTON                 AR   23040290362
11B7933895B35B   MUNA             MOHAMED                    OR   90009793389
11B79482A76B68   OLAJYNAI         BAILEY                     CA   90012864820
11B7992715B154   SHERRY           ALEXANDER                  AR   90008759271
11B7994A24B26B   MARIAH           RUSSELL                    NE   90011849402
11B7B22897B42B   SHELBY           JENKINS                    NC   90008402289
11B7B45552B966   TIFFANY          PEREZ                      CA   90009744555
11B7B5A3272453   KEVIN            NIXON                      PA   51072205032
11B7B7AA15B343   MARIA            LOPEZ                      OR   44585087001
11B7B82775B343   STEFAN           ROSQVIST                   OR   44559458277
11B7B88A25715B   CARLETHIA        WASHINGTON                 DC   90006368802
11B81582772453   ALYSSA           KOSEK                      PA   51011415827
11B8186374B588   MELONIE          ISAAC                      OK   90014608637
11B8212945B343   JAHNELLE         SMITH                      OR   90014741294
11B82723361972   SANTIAGO         OSUNA                      CA   90014397233
11B82A98A93745   TERESA           CANTER                     OH   90014010980
11B8314137B489   LEENINNA         ABRAHAM                    NC   90014461413
11B83A15672453   MICHAEL          CAMPBELL                   PA   51083540156
11B84297A5B154   TOD              BILLINGS                   AR   23001842970
11B84387161938   BOBBY            CALICOY                    CA   46016693871
11B8444A95B188   MIKE             LAMON                      AR   90011114409
11B8445555B35B   MICHAEL          WILLIAMS                   OR   90000434555
11B84516561976   VILMA            APOSTLE                    CA   90008605165
11B84755551337   PAM              MALPASS                    OH   66016857555
11B84A4675B526   BRIAN            MANGUM                     NM   35007310467
11B85114A2B966   LETTY            RAMIREZ                    CA   45026041140
11B85387972453   ALICIA           EDWARDS                    PA   90014343879
11B8549294B259   HEATHER          COLON                      NE   90001234929
11B85611351337   CHRISTOPHER      PADGETT                    OH   90014986113
11B8599835B154   MIANNA           HOLMES                     AR   90014469983
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11B85A3AA51337   MARK         PETREY                       OH     90000260300
11B8649A861976   CELIA        FAUSTO                       CA     90013284908
11B86663A4B26B   LAUREN       GARRISON                     NE     90013376630
11B8682AA2B966   REGINA       GARCIA                       CA     90009158200
11B8728299154B   DERICK       CAMACHO                      TX     90003202829
11B874A274B26B   DAVID        GIBSON                       NE     90002094027
11B8762245B526   LYDELL       BENALLY                      NM     35094926224
11B87788876B68   OSCAR        RIVERA                       CA     46037027888
11B87811A31687   SAIDA        RODRIGUEZ                    KS     90012838110
11B88299272B62   DOMINICK     VELASQUEZ                    CO     90010802992
11B8848865B35B   JULIE        DIETZ                        OR     90005394886
11B8915594B259   JOHN         MAHLER                       NE     90006511559
11B89164961972   MELODI       CLARK                        CA     90012741649
11B8962195B389   WILLIAM      PACKARD                      OR     90007926219
11B89711676B68   JOSE         BLANCAS                      CA     46023657116
11B89A3AA51337   MARK         PETREY                       OH     90000260300
11B89AA342B966   GEORGE       MARTINS                      CA     90006880034
11B8B141376B68   DANIEL       RODRIGUEZ                    CA     46067721413
11B8B15A761972   MIRNA        VALDIVIA                     CA     90012621507
11B8B995261938   PAYGO        IVR ACTIVATION               CA     90014109952
11B91127757147   AZEDDINA     ABOULHAJ                     VA     90014481277
11B91456A61958   LUWANA       MESA                         CA     90014884560
11B91874951337   SAKINAH      WILLIAMS                     OH     90010258749
11B92346761976   MICHELLE     TRUJILLO                     CA     46075493467
11B9248A62B966   JOSE         RAMIREZ                      CA     90013954806
11B9253585B343   DONALD       WELCH                        OR     90010875358
11B92A1357328B   RODOLGO      PELAEZ                       NJ     90015350135
11B92A4792B966   JOSE         RAMIREZ                      CA     90013840479
11B92AA9461972   DANNY        DANIELS                      CA     90000640094
11B93177672B62   LISA         BEEBE                        CO     90013781776
11B93818961976   JOSE         SEGURA                       CA     46040428189
11B9382544B929   LINDA        PARRAMORE                    TX     90004578254
11B93988854144   CHRIS        JOHNSON                      OR     90014269888
11B94411772453   DONNA        GREENE                       PA     90014654117
11B95317961958   PALOMA       SANCHEZ                      CA     90011823179
11B95322A61938   FRANCISCA    DELVILLAR                    CA     90014673220
11B95598991895   BILLIE       LUGO                         OK     90008585989
11B9568355B526   JOSE         RAEL                         NM     90013026835
11B95873791569   MAYRA        RIOS                         TX     90002668737
11B96547847956   JOHN         WEST                         AR     24084335478
11B96641A91263   PATRICIA A   JOHNSON                      GA     90014246410
11B969A6551337   BRENT        MILFORD                      OH     66015839065
11B97511193745   ELIZABETH    YEARSLEY                     OH     64517855111
11B9761824B555   MARILYN      MOUSER                       OK     90002746182
11B978AAA61938   MARIA        D MERAZ                      CA     90014168000
11B981A734B26B   HANNAH       MOLLER                       NE     90005801073
11B9822695B35B   KEVIN        COLEMAN                      OR     90012422269
11B98483A93745   NICOLE       CHALMERS                     OH     64543604830
11B98623872B55   LEYDY        CASTRO                       CO     90003416238
11B98792591524   AILEEN       ORTIGOZA                     TX     90014677925
11B98816A91569   IRVING       LOYA                         TX     75077198160
11B98839A61938   IRENE        ALVAREZ                      CA     90011598390
11B99322A61938   FRANCISCA    DELVILLAR                    CA     90014673220
11B993A7972B62   ASIA         MENDOZA                      CO     90010803079
11B9972248438B   LEVLLE       MINUS                        SC     90010967224
11B9983564B588   BRENDA       BARRIOS                      OK     21594638356
11B9B171761958   OCNYS        JAMES                        CA     90012751717
11B9B573191569   RAUL         HERNANDEZ                    TX     75040425731
11B9B77775B154   CAMERON      DAVIS                        AR     90014857777
11B9B99445715B   NICOL        NGUYEN                       VA     90013279944
11B9B994557147   JEANETTE     AMES                         VA     90013689945
11BB1355491895   CYNTHIA      SMITH                        OK     90015303554
11BB1355891895   ISABEL       MARTINEZ                     OK     90009423558
11BB1536177539   JEANETTE     BRADFORD                     NV     43063185361
11BB1923561958   MEGAN        SKIRVIN                      CA     46072609235
11BB2182933699   TIMOTHY      MANNING                      NC     90011101829
11BB257894B588   VICKIE       MURRAY                       OK     90008455789
11BB2645572435   RENEE        RICE                         PA     51008276455
11BB3117693745   JOSEY        WARNER                       OH     64529871176
11BB3219151337   JAIME        BALLARD                      OH     90006152191
11BB349615715B   SONIA        GONZALES                     VA     81095404961
11BB353857B489   DEVIN        CHERRY                       CA     90013915385
11BB3579161958   JULIO        LUCIANO                      CA     90012885791
11BB3933833699   PAYGO        IVR ACTIVATION               NC     90013549338
11BB4418261972   ANGELINA     GARRETT                      CA     90007374182
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11BB4957461958   JOSE         PEREZ                        CA     90013629574
11BB5224A57147   GUSTAVO      GONZALEZ VARGAS              VA     90001842240
11BB571477B489   ADRIAN       GONZALEZ                     NC     11095977147
11BB7342691895   REYNALDO     RODRIGUEZ                    OK     90000763426
11BB7721576B68   EDITH        FLOYD                        CA     90009427215
11BB7786A5B154   MICHELLE     MAXWELL                      AR     90014337860
11BB81A352B869   CHELSEE      BROADBENT                    ID     41070211035
11BB842484B26B   CURTIS       SORGE                        NE     90005914248
11BB842A22B966   MICHAEL      MCKENZIE                     CA     90012644202
11BB8819A31687   KIRSTIN      THOMAS                       KS     90010958190
11BB9558976B68   MARGARITA    MENDIOLA                     CA     90015185589
11BB956815715B   JOSE         REYES                        VA     90014855681
11BB9691961958   JAVIER       QUINONES                     CA     90009776919
11BB9755351337   ALEXIS       CALDWELL                     OH     90012397553
11BB985484B555   DENETRIA     OLIVER                       OK     21551468548
11BB996455B274   AMBER        MARTIN                       KY     68050139645
11BBB9A789154B   PHILLIP      GONZALEZ                     TX     90014959078
11BBBA4385B154   MUVEEMP      MELISSA BURAGE               AR     90003950438
11BBBA69691895   ALLEN        HILL                         OK     90005140696
12112A1769154B   DAVID        JARAMILLO                    TX     75017750176
12112A33961976   ADRIANA      CRUZ                         CA     46011680339
1211322374B588   TYLER        WAXLER                       OK     90015132237
121136A4272B62   LAMAR        THOMPSON                     CO     90000176042
1211415347B489   KAYE         JACOBO                       NC     90011071534
1211526AA91895   SAMUEL       SARSENO                      OK     90013282600
12115331576B68   SONIA        PARRA                        CA     90015253315
12115AA812B966   ORLANDO      CASTANEDA                    CA     90000410081
1211726A257147   ANSUMANA     SOLOKU                       VA     90013602602
1211743A73B393   PAULA        KELLEY                       CO     33016724307
1211876A763622   DENA         BOSHERS                      MO     90000547607
12118945A9154B   CESAR        ADRIANO                      TX     90014629450
1211994427B489   DEVONTAE     LAWRENCE                     NC     90014379442
1211B28555B526   LUZMARIA     DUARTE                       NM     90013962855
121216A919154B   LUIS         CEJA                         TX     90010826091
12121714776B68   RON          MORRISON                     CA     90003927147
1212189685B154   KIMBERLY     HOLIDAY                      AR     90013708968
12121A39A76B68   MEGAN        MORRISON                     CA     90013680390
12121A74A61976   KALIN        HONDA                        CA     90014950740
12121A96333699   BARBARA      WRIGHT                       NC     90012490963
121226A4331687   NICHOLAS     MCKISSACK                    KS     22075746043
1212271795715B   WALTER       JUAREZ                       VA     90001437179
12122AAA755976   JEREL        MITCHEM                      CA     90013910007
121239A3261976   NISE         BAHENA                       CA     90012939032
1212445925B526   RAFAEL       MARTINEZ                     NM     35083224592
12124764524B7B   CHARLES      WEBB                         VA     90013147645
1212539279154B   DONNA        LOPEZ                        TX     90013953927
1212545817B274   DANIEL       CENTERS                      NV     90015264581
12125A86A4B588   CLIFFORD     ROGERS                       OK     90013060860
1212645A95B526   CECIL        RIGGS                        NM     90015194509
1212657175B282   MARY         SEATON                       KY     68036645717
121265A1A47956   DORTHY       WRIGHT                       AR     90013515010
12126853776B68   LIZBETH      REYES                        CA     46067958537
12126A3927B489   JERACI       GIBBS                        NC     11014420392
1212753428B179   RUBEN        ARREDONDO                    UT     90007625342
12127854A91263   KEI          OLSEN                        GA     90007548540
1212796475B285   TAMIA        WATTIS                       KY     90011219647
12128278A55948   ANTONIO      MARTINEZ                     CA     90014792780
12128A8365B526   MELISA       RODRIGUEZ                    NM     90014780836
12129319A51337   KIANA        KIETH                        OH     90009513190
1212989A24B588   PHROMAS      MORGAN                       OK     90015038902
12129A46747956   MARTHA       VAQUEZ                       AR     90011880467
1212B245555948   MICHELLE     PURKEY                       CA     90014792455
1212B454672B28   JOSE         ARMADO                       CO     90012684546
1212B625447956   CLYDE        YBARRA RUELAS                AR     90007326254
1212BA6A95715B   MICHAEL      ERMEL                        VA     90010420609
121315A5191895   MISTY        FRICK                        OK     90006385051
121321AA957147   MARCO        ESCOTO                       VA     90013681009
1213346644B26B   AKUOT        AYE                          NE     90014964664
121337A659154B   BELINDA      MORALES                      TX     75071767065
1213398565715B   ROBERTO      SANCHEZ                      DC     90009379856
1213439694B588   LINDA        CORDOVA                      OK     90001683969
12134A7124B588   GENEISKA     BUTLER                       OK     90013270712
121352A7372B62   ALYSSA       SANCHEZ                      CO     33053692073
12138A72291895   FAITH        QUALLS                       OK     90011290722
12139453A77539   AMBER        CARSON                       NV     90012344530
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1213B785593745   JEREMY          TOWE                      OH     90012367855
1213B8A5791569   ESMERALDA       ARRIAGA                   TX     90014448057
1213BAA6A5B154   JOSE            GONZALEZ                  AR     23005990060
1214128A272435   ERIK            PULKOWNIK                 PA     51086492802
12141399A61976   REYNA MARIBEL   HERNANDEZ                 CA     90010863990
1214155197B489   KELLY           JORDAN                    NC     90008805519
12141735A93745   KAYLA           RICK                      OH     90009847350
1214189624B588   CELIA           LOPEZ                     OK     90012488962
121419A6676B68   JASMINE         CABRERA                   CA     90013019066
1214283A861938   ARTURO          OSEGUERA                  CA     90000638308
1214363A831479   BARBARA         FISHER                    MO     90009496308
12143A17193745   JEANETTE        MAXON                     OH     90006190171
12143A36861938   LOUIS           ROSADO                    CA     90011240368
12143A41872B62   ARACELY         VARELA                    CO     33089080418
1214471A831456   CORY            SCHAFER                   MO     90001677108
121454A5793745   ELIZABETH       NICKELS                   OH     64570094057
1214561AA61976   JULIO           VALLE                     CA     90010226100
12146929272B62   GARY            BLAKESLEE                 CO     33036329292
121473A645715B   KELLY           ESCOVAR                   VA     90010983064
121476A8772B33   JOE             EDWARDS                   CO     90002046087
12147A53191569   ALICIA          CASTILLO                  NM     90009740531
12148736A61958   ANDRES          PONCE                     CA     90014187360
1214928724B588   KEISHA          ROBINSON                  OK     90013902872
1214B165961976   JULIO           MAGANA                    CA     90013451659
1214B298747956   THERESA         DOENGI                    AR     90012622987
1214B944333699   TEMPESTT        WALLACE                   NC     90010009443
121513A4A47956   TERRY           HICKS                     AR     90013593040
12151764A91895   RICHARD         LUDLUM                    OK     21091887640
12151A82793745   ARTIS           LOVE                      OH     90010940827
1215212665B526   FANIA           PEREZ                     NM     90011871266
121522A919154B   ROCIO           HINOJOSA                  TX     75066922091
12152388272B55   ZALMA           DIAZ                      CO     90003443882
12152642872B34   PAULA           ROMERO                    CO     33075876428
12153388272B55   ZALMA           DIAZ                      CO     90003443882
1215356375B526   ROBERTA         GONZALEZ                  NM     35001645637
12153A47A91263   VICTOR          ROGERS                    GA     90014700470
121544AA372435   LINDA           LINDERMAN                 PA     90002934003
1215454514B26B   DEBRA           MERKLEY                   NE     90014675451
121549A412B889   CHRISTOPHER     GARCIA                    ID     90002299041
12154A22447956   ANITA           MIDDLETON                 AR     90014700224
12154A63161972   MIGUEL          DE LEON                   CA     90008660631
12155145A55948   JUAN            QUINTERO                  CA     90001011450
12155454276B68   ANDRES          RODRIGUEZ                 CA     90010914542
1215564847B489   KATENDE         WEMBI                     NC     90015266484
12155724672B55   CURTIS          DARWIN                    CO     90007167246
1215729A576B68   JULIE           JOHNSON                   CA     90011212905
12158925176B68   JAMIE           MARCHBANKS                CA     46010339251
1215922749154B   ROCIO           SANTA CRUZ                TX     90014492274
121592AA55B526   DANIELA         SILVA                     NM     90010452005
1215B35297B489   ALBERT          MOSELY                    NC     90014893529
1215B85727B489   ALBERT          MOSELY                    NC     90014018572
12161A95484375   MARIAN          BYRD                      SC     90005480954
1216245A751337   TAMMY           DAY                       OH     90000414507
12162935A55948   JOSE            MACIEL                    CA     90012859350
12163272872B3B   ANGELA          DELUNA                    CO     90009272728
1216333949154B   MAITE           SEGOVIA                   TX     90013173394
1216448A976B68   BRAULIA         ALVAREZ                   CA     90004994809
1216469A355948   JOSE            ROMAN                     CA     90014806903
12165367876B68   ANDRES          GALLEGOS                  CA     90012853678
1216711A89154B   ALICIA          CASAS                     TX     90012471108
12167345A76B68   MARIO           RODRIGUEZ                 CA     46029493450
1216813139154B   AMBER           ORTIZ                     TX     90009811313
121684A1555976   RUBEN           PRADO                     CA     90015214015
12168A7A191895   TRIVETTE        SPEED                     OK     21087370701
1216933949154B   MAITE           SEGOVIA                   TX     90013173394
1216B359A91569   JOEL            MONTELONGO                TX     75091073590
1216B39A37B489   TOMMY           MCKINNEY                  NC     11080913903
1216B597857147   ALEXIS          SANTOS                    VA     90010785978
1216B65195B526   RAMON           LOZANO                    NM     90014926519
1217212662B966   TONY            MAJOR                     CA     90005871266
12172792672B62   JORGE           PICAZO-SANTANA            CO     90013547926
12173767A61987   VIVIANE         MORIANO                   CA     90006097670
12173A35455976   KRYSTLE RUBY    RODRIGUEZ                 CA     90013530354
12173A4184B547   JESUS           CASTANEDA                 OK     90006350418
1217448114B922   BAXTER          TOLIVER                   TX     76512984811
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121744A627B489   JOANNE              LOWRY                 NC     11081374062
121745A9757B59   ELIHZABETH          CASTELLANOS           PA     90013955097
12174648A4B26B   JUAN                PEREZ                 NE     90015146480
12174686A57147   DONNETTA            WALTON                VA     90002016860
121746A9761972   GUSTAVO             RIVERA                CA     46005706097
121753A167B489   JUSUS               BERA                  NC     90015313016
1217616949154B   MARGARITA           GARCIA                TX     90015121694
1217632435B526   ANA                 CANALES-BERNADAC      NM     90011863243
1217654744B588   ALICE               AGBOR                 OK     90008365474
121765A3A97B48   ISMELDA             CARRASCO              CO     90001645030
12177134772B55   BASURTO VICTORINO   TRACY                 CO     90006621347
1217737A391895   AMANDA              BROWN                 OK     90014613703
1217751A557147   YOVANI              ARDON                 VA     90008125105
12177A19433699   LISA                STINE                 NC     12051430194
12178145A55948   JUAN                QUINTERO              CA     90001011450
12179296A57124   JOSE                PORTILLO              VA     90003132960
1217B152276B68   NANCY               MENDOZA               CA     46055581522
1217B19994B26B   MARSHAWNE           NIMOX                 NE     90014621999
1217B363347956   MARLENE             CABRERA               AR     90011113633
1217B93145B55B   CHRISTINA           TORRES                NM     90012789314
1217B97474B922   CHYSTAL             HORN                  TX     90011089747
1218294A65715B   QUASSIN             KAVIL                 VA     90009009406
12182A7469154B   ANGEL               HINOJOS               TX     90011030746
12183554A4B588   PAYGO               IVR ACTIVATION        OK     90008355540
121835A5172B62   OLGA                BALDENEGRO            CO     33021385051
12184596676B68   YONALIN             ARREGUIN              CA     90013015966
121851A2561972   ASCENCIO            PADILLA               CA     90007561025
12185813A5715B   JOSE                LOPEZ                 VA     90011868130
121858A6176B68   SANTIAGO            VEGA                  CA     90014608061
12186392A55976   WILLIAM             STONE                 CA     49075523920
12186732472B55   CHRIS               GEORGEL               CO     90007167324
1218732747192B   CARLA               MIKUS                 CO     90008633274
1218828774B26B   KANEESHA            MOTTON                NE     90013642877
1218849828B138   CORY                RIGGS                 UT     31001814982
121884A1555976   RUBEN               PRADO                 CA     90015214015
12189181172B62   EVA D.              GEMME                 CO     33050501811
121894AA89154B   FRANCISCO           BONILLA               TX     90013954008
1218988A39154B   LETICIA             HERNANDEZ             TX     90014038803
1218B34415B526   JASON               BACA                  NM     35004923441
1218B48954B23B   SHAUNESSY           HENDERSON             NE     90008174895
1218B491272B62   MARCELA             SAUCEDO               CO     90013894912
1218B68A79154B   MARIA               SERRATO               TX     75040346807
1218B923757B59   CANDIDO             PACHECO-PEREZ         PA     90013939237
12192A3A372B55   OSCAR               BARAJAS               CO     33085750303
1219353A772B62   CHRISTINE           MORAN                 CO     33015555307
12194451272B55   BENILDE             BUSTAMANTE            CO     33027754512
121944A6A4B26B   AMBER               MCFEE                 NE     90011014060
121955A4A72435   KATHRYN             STRENKOWSKI           PA     51046815040
1219598537B489   CRISTINA            ESPINO                NC     90014779853
12195A6A455976   ELENA               SILVA                 CA     49097170604
1219738825715B   CORATON             TESALUNA              VA     90010403882
1219744634B588   BENNIE              ANDERSON              OK     21592184463
1219845A672B62   KAROL               QUAGLIATO             CO     90011374506
1219974958598B   GLEN                CAUDILL               KY     90014907495
1219B176493745   BRITTANY            REYNOLDS              OH     90013871764
1219B371261938   JORGE               RAMOS JR              CA     90012093712
1219B735791263   GARY                FLOYD                 GA     90009057357
1219B945672435   ROBIN               PARADY                PA     51002029456
121B115955B355   VLADMIR             CHUPROV               OR     44013591595
121B1313176B68   BARI                BOYD                  CA     90014063131
121B1952761976   RAUL                MERCADO               CA     90005039527
121B3A47455948   BIVIANA             TORRES                CA     90012280474
121B3A86491569   EDGAR               ACOSTAR               TX     90011940864
121B413127B449   LETOYA              RHINEHART             NC     90001521312
121B4213791569   HECTOR              GARCIA                TX     75005772137
121B4721A55948   ERIC                MINCH                 CA     90004917210
121B495A972458   TODD                RUSH                  PA     90000849509
121B612125B154   SUBRENIA            FISHER                AR     23085021212
121B6369A76B68   RON                 FORD                  CA     90012373690
121B638959154B   DAVID               SANCHEZ               TX     90013953895
121B6513833699   DARRIUS             BOGANS                NC     90014915138
121B738494B588   CARLIS              SCRUGGS               OK     90005513849
121B738959154B   DAVID               SANCHEZ               TX     90013953895
121B7614A5B154   DENNIS              ADAMS                 AR     90007946140
121B8776161972   BRANDON             ECIJAN                CA     90010007761
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121B8794591895   SCOTT           BOATWRIGHT                OK     90014817945
121B9158857147   THERESA         WASHINGTON                VA     90013181588
121B9359376B68   MARISOL         SANCHEZ                   CA     90015243593
121B9363891949   FREDY OMAR      REYES                     NC     90009163638
121B983229154B   AVELINA         DELGADO                   TX     90014158322
121B9839972B27   KARLY           MALPIEDE                  CO     90005968399
121B9875155948   CHAD            MINCH                     CA     90004918751
121B9AA4193725   ANTHONEY        JONES                     OH     64563290041
121BB3A3491895   TY MESHA        MARTIN                    OK     90006013034
121BB51A89154B   ALEJANDRO       HERRERA                   TX     90012245108
121BB611877539   ALTA            PEASLEE                   NV     43069066118
121BB6A2761958   JENNIFER        CONCEPCION                CA     90014436027
121BB745791569   ESTHER          ANTONINE                  TX     90011777457
121BB9A8876B68   JORGE           MOZO                      CA     90013299088
1221196612242B   MARTINA         HERRERA                   IL     90014629661
122122A657B47B   DEMARIO         HUNTLEY                   NC     90014702065
122123A3391895   RACHEL          ADAMS                     OK     21093083033
1221366145B526   VIRIDIANA       QUEZADA-MADRID            NM     90013796614
1221389559124B   KATINA          SMALLS                    GA     90003478955
122139A1661972   CRISTIAN        RUIZ                      CA     90010279016
12213A18955948   MARY            WOODWARD                  CA     90014840189
12213A55291569   OSCAR           ORTIZ                     TX     90014510552
1221459235B526   MARK            GUEVARA                   NM     90013265923
122146A6561938   WILLIAM         WEAVER                    CA     90005196065
12214A11976B68   CARLOTA         CASTRO                    CA     90014840119
12214A2857B489   REJINE          NORRIS                    NC     90013450285
1221521A693745   TYLER           BROADDRICK                OH     90011072106
12215638A4B592   KERRY           LAVALLEY                  OK     90013736380
12215847A72B34   TERESA          JAVADI                    CO     90012468470
12215A76331687   RAQUEL          MARTINEZ                  KS     90013230763
122161A149154B   JESUS           MCDOWELL                  TX     90011031014
1221625425B385   JORGE           CALZADA-MARTINEZ          OR     44014662542
12216433624B7B   EDUARDO         MARCELLUS JOSEY           DC     90010304336
12217AA7593745   BRANDON         SUPINGER                  OH     90010990075
12219384172B55   MARIA           PEREZ                     CO     90010813841
1221945564B23B   ROBERT          COLEMAN                   NE     27008624556
1221962157B489   RHONIQE         MISSOURI                  NC     90007556215
1221965525B526   JUANITA         LUCERO                    NM     35080796552
1221991857B489   EUGENE          SMALLS                    NC     90012709185
1221B27657B489   RAUL            GONZALEZ JAVIER           NC     11082172765
1221B36894B588   DON TRAY        ROBINSON                  OK     90015473689
1221B424791569   ESTER           GALVAN                    TX     90008284247
12221397172B62   AARON           SCHUETZ                   CO     90013513971
1222187A261976   ADELA           BERGHOLZ                  CA     46042938702
1222227862B966   JESUS           VALENZUELA                CA     45063892786
122223A2991895   FRANCHESKA      CARTER                    OK     90011443029
12222933272B62   JUSTIN          MARTINEZ                  CO     90008739332
1222327862B966   JESUS           VALENZUELA                CA     45063892786
1222332AA72B27   LUCIA           MADRIGAL SANCHEZ          CO     90002953200
12224A3179154B   BLANCA          ESQUIVEL                  TX     75084250317
12227192472B2B   MARY            BARTON                    CO     90010091924
12227475A72484   AMANDA          GEORGE                    PA     90007924750
1222816195715B   JUAN            RAMIREZ                   VA     81019101619
1222873A257147   JOSEPHINE       KERNS                     VA     90008557302
1222897415B195   MICHEAL         ASHCRAFT                  AR     90006409741
1222999854B26B   MANDY           BENNETT                   NE     90001419985
12229A98361938   JUANA           SANTOS                    CA     90014850983
1222B233457122   REYES           TEO LOPEZ                 VA     90005762334
1222B415791263   PAMELA          HOLLOWAY                  GA     90012894157
1222B844151337   MARK            GIAR                      OH     66099238441
1223111539154B   NORMA           DE LOERA                  TX     90012471153
1223154879154B   CASSANDRA       GUTIERREZ                 TX     90014705487
12231728A91569   DAVID           REYES                     TX     75090917280
12233258A57147   NORMA           BONILLA                   VA     90004722580
1223716A84B922   CLARA           GILLEY                    TX     90012321608
12237435A91569   ROBERT          WEBER                     TX     90011084350
1223757945715B   STEVEN          FYVIE                     VA     81017755794
12237667A7B462   KARON           KENNEDY                   NC     90006766670
12237921476B68   SABRINA         ABDELMALEK                CA     90014409214
122382A4755976   PAYGO           IVR ACTIVATION            CA     90015232047
122382A8761972   RICH            ANDERSON                  CA     90012032087
122389A2391263   AYESHA          DANIELS                   GA     90000609023
1223911449154B   GILBERT URIAN   ARELLANO                  TX     90011971144
1223949A657147   SYLVIA          QUINTANILLA               VA     90010134906
12239519176B68   NIKKI           WARD                      CA     46009005191
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12239761572B34   WENDY               MONTGOMERY            CO     90002327615
1223B711372B62   RACHEL              TRUJILLO              CO     33061907113
1224177795B526   MARIA               UDERO                 NM     35096897779
12243125972B62   REBBECA             HARDIN                CO     90015181259
1224388A39154B   ARACELI             BRACAMONTES           TX     90005928803
122449A7591895   VALISA              WATSON                OK     21066929075
1224512A59154B   IVONNE              GARAY                 TX     90011031205
12245443572B62   MARIA               GUADALUPE             CO     90014844435
1224613354B588   DAVID               WILLIAMS              OK     90011371335
12246414A9154B   WTF                 WELDING               TX     90013954140
12246A8365B526   MELISA              RODRIGUEZ             NM     90014780836
12247152772B37   ANDREW              MCGREW                CO     33069471527
1224773912B966   FELICITAS           MARTINEZ              CA     90003747391
1224791315715B   LEICHAVONN          CAMPBELL              VA     81038109131
12247A46333699   CHRISTOPHER         EVERETT               NC     90013130463
1224839194B588   ALMA                ROSAS                 OK     90001603919
12248511172B4B   EDDIE               GUZMAN HERRERA        CO     90001535111
12249A88172B27   CHAR                SCHMITZ               CO     33026730881
1224B25699154B   BLANCA              LUJAN                 TX     90005202569
1224B452757147   ANNIE               KIM                   VA     90012584527
1224B671461938   HAZEL               MUSES                 CA     90014046714
1224BA11191263   ALTHEA              BROWN                 GA     90013750111
1224BA9695B522   ELOY                BAEZA                 NM     90009150969
12251862A76B68   JONATHAN            GUILLEN               CA     90008778620
122519A444B26B   ARTURO              DELACERDA             NE     90012109044
1225295A74B26B   SAMANTHA            VENHAUS               NE     90012509507
12253269A4B588   MICHELLE            STEVENSON             OK     90015552690
12253A69561938   MANUEL              GARCIA                CA     90010230695
1225448154B26B   JEFF                NEHLS                 NE     26058674815
12256513772B62   TIARE               CANON                 CO     33043645137
12257391A61972   QUINTON             WIMBERLY              CA     90007423910
1225754A391895   SANMIGUEO           ESPARZA               OK     90011295403
1225829134B588   JOSE                GONZALES              OK     90007972913
12258589A55968   RUDY                CONTRERAS             CA     90005885890
1225882315715B   GARY                HAMMOND               VA     90011508231
1225917797B489   MARIA               TOVAR                 NC     90013921779
122594A1555976   RUBEN               PRADO                 CA     90015214015
1225961429154B   IRENE               GOMEZ                 TX     90014576142
1225975A24B588   YANI                MENDOZA               OK     90014847502
1225B246755948   JUAN                GARCIA                CA     90014882467
1225B833961972   DETRIS              PHIFFER               CA     90005428339
1225BA1516B262   MICHAEL             HOLMES                AZ     90014100151
1226114A691526   JEAN                LOZEAU                TX     90008101406
1226143912B242   CHUCK               JACKSON               DC     90007014391
12262245776B68   NATHANIEL WILLIAM   MILLER                CA     90014722457
122625A3991569   STEVEN              BELTRAN               TX     75000295039
122628A6991586   ANGEL               GANDARA               TX     75000108069
12263397A61938   JOSE                ALAMAN                CA     46000063970
122637A5876B68   FEDERICO            HERNANDEZ ROJAS       CA     46009107058
1226385867B489   DESI                BRYANT                NC     11061728586
1226412325B526   OSMAN               GALAVIZ               NM     35081051232
1226442719154B   ANTONIO             MORALES               TX     90013954271
1226521A49154B   ALVARADO            YARID                 TX     90006472104
1226558885715B   JOSE                AMAYA                 VA     90011325888
12266249A9154B   JOSE                RODRIGUEZ             TX     90012962490
122666A2A7B489   MICHAEL             TAPIA                 NC     90013176020
12266844576B68   DAVID               TORRES                CA     90014608445
1226759A64B922   CAMAY               MAGGINNIS             TX     76518395906
12268828A93745   JONATHON            HOUCK                 OH     90010998280
12269268772B77   BILLY               ERDENE                CO     33047912687
12269679772B62   LORENA              HOLLE                 CO     90010236797
1226B176293745   TERRY               FIELDS                OH     90014551762
1226B647971925   YVONNE              CHAVEZ                CO     38040916479
1226BA58576B68   MARIA               HERNANDEZ             CA     90014170585
1227142899154B   BERTHA              LOPEZ                 TX     90013954289
12271A47951337   TERRANCE            HALL                  OH     66027800479
12271A87772B62   MELISSA             GENTRY                CO     33006050877
1227341A261976   LILIANA             MACIAS                CA     90010874102
122735AA857147   NARSIZO             MENDOZA               VA     90015115008
1227443199154B   KRIS                REYNOSO               TX     90013954319
1227517125715B   NICOLE              ANDREWS               VA     90000541712
12276811972B33   RAMONA              RIVAS                 CO     90012598119
1227767613B393   MEHARI              ASRES                 CO     33070796761
12278314376B68   PRAGEDIS            OLMEDU                CA     46009143143
1227893385B154   KIM                 BRANCH                AR     23048709338
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12278988572B34   ALEXANDER    GOROG                        CO     33035459885
12278A88691569   MIREYA       LEYVA                        TX     90012660886
12279353A72453   ALEX         ASHLEY                       PA     90010533530
1227B225A72B62   STEVEN       ROHAC                        CO     33063592250
1227B413272B55   JULIO        GUTTIEREZ                    CO     90001074132
1227B496791263   LEROY        GIBBONS                      GA     90011004967
1227B836447956   JASON        WORKMAN                      AR     90014358364
12281763A7B489   LISA         DANZY                        NC     90012797630
12281A2775B526   AMANDA       TAFOYA                       NM     90013980277
12282947A4B537   MARSHA       OTAMIRI                      OK     90012929470
12282A25841384   BRIAN        STANARD                      MA     90014030258
12283A48991547   IVONNE       LUCERO                       TX     90008700489
1228425444B922   MELISSA      HEARTFEILD                   TX     90011032544
122844A295B526   MARTIN       BAUTISTA                     NM     90012434029
1228497877B489   MONTANA      SMITH                        NC     90013299787
12284A9244B26B   JOSH         JOHNSON                      NE     26036270924
12284A98361938   JUANA        SANTOS                       CA     90014850983
12285658572B62   LUIS         MORALES                      CO     33039596585
12286377972B62   LINDA        CARRASCO-JIMENEZ             CO     33026923779
122891A4561998   JUAN         LICONA TERRAZAS              CA     90001461045
12289581872B55   TARA         ASHBY                        CO     90009755818
12289A13977539   JOAQUIN      GONZALEZ                     NV     90001330139
1228B382A93745   STEVEN       GOETZE                       OH     90013543820
1228B5A4561972   ERIC         BERNARD                      CA     46017605045
1228B944A5B526   IVAN         FERNANDEZ                    NM     90015359440
1228BA5669154B   VERONICA T   ROSALES                      TX     75054400566
12291191476B68   GLENN        BUTLER                       CA     90014631914
122917A4A4B588   CATRINA      JACKSON                      OK     90008327040
1229251A476B68   MARIA        ROBLES                       CA     90010205104
1229264722B239   ELIZAH       HUNTER                       DC     90004316472
1229271745715B   JESSICA      NOONE                        VA     90008307174
12293376A91263   BILLY        SHERIDAN                     GA     90015503760
1229423A755948   LESLIE       REED                         CA     49011182307
12294649672B55   DAN          MYRICK                       CO     90003446496
1229519425715B   ANDRES       SORTO                        VA     90002031942
1229631987B489   RAYMOND      HALL                         NC     90004643198
1229694A193745   NICOLE       CAVANAUGH                    OH     64561619401
1229713444B26B   CHRISTINE    OLSON                        NE     26091661344
122975A3147956   JOSE         HERNANDEZ                    AR     90007945031
1229824175B154   HILAE        BROWN                        AR     23007752417
1229898A161972   MOUTE        HULL                         CA     46005159801
12298A83391586   ULISES       GUTIERREZ                    TX     90009070833
1229922799154B   FRED         PAEZ                         TX     90015182279
122992A1191263   GERQUITA     DAVIS                        GA     90015502011
1229953264B254   JON NIELLE   ALLEN                        NE     90010935326
12299632A5715B   ELMER        OROZCO                       VA     90007126320
1229986A35B526   SUSANA       HEREDIA-LOPEZ                NM     90014328603
122998A5631956   EDDIE        STALLINGS                    IA     90013738056
122B221754B23B   RUTHIE       COOPER                       NE     27088462175
122B2971261938   DURAJELL     OMEGA                        CA     90014139712
122B351A557147   YOVANI       ARDON                        VA     90008125105
122B367723B359   RICHARD      VARNER                       CO     90011626772
122B3736A84375   GLENDY       RODAS                        SC     90014757360
122B4228151337   STEPHANIE    MCGUIRE                      OH     90009822281
122B426A84B23B   VIVIAN       HOLLIMAN                     NE     27049812608
122B442555B334   DAVE         BROWN                        OR     90006394255
122B4872A71976   MARIA        RIOS                         CO     90014318720
122B4911861958   STEVE        BEJARANO                     CA     90005889118
122B49AAA91895   BEAU         BRENT                        OK     90014639000
122B5189561958   MARA         SARABIA                      CA     90004731895
122B53AA77192B   PAUL         HOLSTINE                     CO     90000363007
122B5536861938   HIEU         NGUYEN                       CA     90003785368
122B5735A72B55   RAMIRO       ARZOLA                       CO     90013507350
122B627974B588   TONYA        LONGO                        OK     90011002797
122B6757791852   TAMMY        COOKS                        OK     90013457577
122B6AA7593745   BRANDON      SUPINGER                     OH     90010990075
122B7737555948   MIRTA        MELGOZA                      CA     90013557375
122B78A4476B68   JOSEMANUEL   ABARCA                       CA     90010088044
122B8627961958   MIGUEL       GOMEZ                        CA     46047496279
122B8717257125   GUILLERMO    POSADA                       VA     81073397172
122B931852B966   CHRISTINE    MILLER                       CA     90005873185
122B938164B26B   ADRIA        SHELDON                      NE     26065573816
122B9541791895   SHAREE       NELSON                       OK     90008545417
122B9697361972   NATALIA      HERNANDEZ ROMERO             CA     90011506973
122B985AA91263   LATRICA      WEST                         GA     90015168500
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122B992454B26B   NONYEA       SMITH-HOLDEN                 NE     90015039245
122B99A1972458   RALPH        SINNAMOND                    PA     90012189019
122BB139793745   RICH         CORPAC                       OH     90009511397
122BB241661976   SAMUAL       SMEDLY                       CA     46051742416
122BB31539154B   FIDEL        NUNEZ                        TX     75034533153
1231142934B23B   MARY         ETA                          NE     90006774293
1231187415715B   EUGENIO      NICOLETTI                    VA     90006168741
1231267389154B   NICOLEE      GRAJEDA                      TX     90014496738
1231269217B489   JAMES        MARTINEZ                     NC     90014866921
123127A2457147   JOSE         BARAJAS                      VA     90014887024
1231289485B526   YESIKA       MENDEZ                       NM     90015108948
12312A25A57133   EMMANUEL     OPOKU                        VA     81023160250
1231332274B588   DAVE         HOWELL                       OK     90003023227
1231361884B922   GC           CROCKETT                     TX     90000366188
12313679A4B26B   JACQUELINE   LEAFTY                       NE     90005376790
12314673A61976   JOSEPHINE    MARTINEZ                     CA     90013716730
12314A55A33699   DIANA        MARTINE                      NC     90013810550
12317755A5B526   ARMANDO      AGUILAR                      NM     35048087550
123186A9731687   ROBERT       STRUNK                       KS     90009046097
1231898664B588   SHAMEKA      BEISTER                      OK     90013859866
12319A44533699   MARIA        GARCIA                       NC     90012960445
12319A9A35B526   FRANCES      SISNEROS                     NM     90008210903
1231B161957122   PABLO        ANASTAS                      VA     90009511619
1231B435455948   RAMON        ANGELES                      CA     90001184354
1231B657A91569   ERIC         CANDELARIA                   TX     90014836570
1231BA11A5B568   JULIO        CORRALES                     NM     35020870110
12321A8A29154B   ANNETTE      CAMPOSE                      TX     75096080802
12322241A55976   ADRIANA      SANCHEZ                      CA     90013482410
1232226339154B   MARINA       GARCIA                       TX     90002282633
1232326395B526   PRISCILLA    SANCHEZ                      NM     35006042639
1232418714B588   DARIN        MACK                         OK     90013871871
1232422925B154   BILLY        TRENT                        AR     23002042292
1232432A991263   LESBIA       HERNANDEZ                    GA     90013923209
1232474A25B348   NURAINI      MOHAMED                      OR     90001187402
1232477697B489   DONNA        COLE                         NC     90008807769
12324AA2572B55   BRAD         SWANCOAT                     CO     90003450025
1232522A44B26B   KATHLEEN     WHITE                        NE     90007042204
123252A9557133   KATIRIA      HOLDER                       VA     90007332095
1232544935715B   FRANSICO     ROMERO                       VA     81065664493
1232575783B355   MARIA        GUTIERREZ                    CO     90015127578
1232655689154B   SILVIA       AGUIRRE                      TX     90010805568
12326A92276B68   MARIA        ZUNIGA                       CA     90012610922
1232782859154B   TONYA        CHAVEZ                       TX     75054268285
123278A4476B68   JOSEMANUEL   ABARCA                       CA     90010088044
12327A53277539   YESSENIA     VALENCIA                     NV     43083030532
12328324624B7B   KEVIN        JONES                        DC     90014983246
12328426876B68   DE LA CRUZ   ROY                          CA     46031484268
123284A4847956   JUAN         RAMIREZ                      AR     24072224048
12328A4724B588   YVONNE       RAHEEM                       OK     90009230472
1232912684B922   BRENDA       JOHNSON                      TX     76500411268
1232921714B26B   SHAMIKA      HAUSER                       NE     26092052171
12329356A91263   PEDRO        VIEZCA TOMAZIN               GA     90012933560
1232982339154B   MARIA        SAUCEDO                      TX     75036648233
1232B547357147   JOSE         LOPEZ                        VA     90012045473
1232B914272B62   NOAH         GONZALEZ                     CO     33084149142
1233158755B526   PEDRO        COMPEAN                      NM     90014175875
12331A44761968   ANA          HERNANDEZ                    CA     46018180447
1233244929154B   JESUS        ACOSTA                       TX     90013954492
12332551676B68   LISETT       LUIS                         CA     90013235516
1233397935715B   MIRNA        MANSILLA                     VA     90008639793
12334586676B68   EMANUEL      CUMMINS                      CA     90005785866
1233458A691569   CLAUDIA      RAMIREZ                      TX     90001815806
1233651854B26B   DONALD       WILLIAMS                     NE     90015005185
1233687A933699   RAUL         HERNANDEZ                    NC     90013008709
12337248672B62   JOSE         GARCIA                       CO     33009082486
123373A5193745   NICOLE       FRIZZELL                     OH     64597403051
12338135372B62   JUSTIN       KOSHAK                       CO     90014741353
12338542A72B62   DANIEL       DELONEY                      CO     90012775420
123392A2A76B68   ELIZABETH    GARCIA                       CA     90003362020
12339417A4B536   NYREE        CAMPBELL                     OK     90010534170
12339A33751337   DALONDA      HOLLOWAY                     OH     90011030337
1233B143372B62   LEOPOLDO     ELOY PADILLA                 CO     90009391433
1233B434961958   JAVIER       BAUTISTA                     CA     90011064349
1233B642357147   WILLIAM      KIMBRELL                     VA     90013396423
1233B93894B588   CELESTINO    ALVAREZ                      OK     90013659389
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1233B98935B526   DORINA            GRAJEDA                 NM     90006589893
12341A49376B68   AMY               GABRIELLA               CA     46015430493
123422A9A72B26   ALEX              JACKSON                 CO     33093122090
1234279474B26B   NELSON            RIVERA                  NE     90012497947
1234293498B13B   WADE              SMITH                   UT     90007689349
1234377A655948   DALIA             PACHECO                 CA     90014947706
12343785276B68   OSCAR             SALAZAR                 CA     90013367852
1234478295715B   DENISE            EVAN                    VA     90005727829
1234577A89154B   GUTIERREZ         JACQUELINE              TX     90013217708
12345A47472B55   BRENDA            SILVA                   CO     90003450474
1234618254B23B   REBEKAH           HART SMITH              NE     90004361825
1234622A447956   GAIL              TURNER                  AR     24083902204
1234627A161976   LUCIO             MARTINEZ                CA     90012292701
1234677A855948   SILVANO           GARCIA                  CA     90012877708
12348741772B49   TISHA             L MAES                  CO     90010577417
12348A3774B588   MAEGAN            WALKER                  OK     90005010377
1234965195B526   RAMON             LOZANO                  NM     90014926519
12349A9835715B   SANTOS EVARISTO   LOPEZ ANDINO            VA     90010150983
1234B47419154B   NICOLE            SALGADO                 TX     75017754741
1234B97474B922   CHYSTAL           HORN                    TX     90011089747
1235215114B23B   SARAH             BARRIERE                NE     27065751511
12352A5544B26B   KIM               WEYGINT                 NE     90014800554
12352AA1A61958   WILLIS            TAYLOR                  CA     90012350010
12353AA6872435   ALICE             LAUFF                   PA     51010450068
1235482A69154B   DIANA             QUINONES                TX     75002098206
12356132172B62   CHAKA             WATKINS                 CO     90010711321
1235633265B526   JE                BYRNES                  NM     35079943326
12356748876B68   JOSE              TORRES                  CA     90005827488
12357325A91573   BETTY             LOZANO                  TX     90009533250
123576A9931635   PAMELA            BURGHARDT               KS     22026956099
12357A4A272B62   JESSIE            MC KAY DUNN             CO     90003640402
1235837814B588   TAYON             PEOPLES                 OK     21534413781
1235858534B922   LAWRENCE          ST-ANDREW               TX     76594645853
1235889429373B   MARCELO           ZACARIA                 OH     90010068942
1235924157B489   LOUISE            DUDLEY                  NC     11091252415
1235933A661938   MAGDALENA         HUGHES                  CA     90004703306
1235B55697B489   BRANDI            JOHNSON                 NC     90015045569
1235B621991895   BRENDA            NEGAHBAN                OK     21088036219
1236211A472B28   MELANIE           RENEE LIMKE             CO     33085401104
123626A4A57147   MARIA             ULLOA                   VA     90003766040
12362767A72B62   MARGIRITA         VENZOR                  CO     90012437670
1236289585715B   ERLIN             NUNEZ                   VA     90002448958
1236294525B526   MARIA             JIMENEZ-RODARTE         NM     90004949452
12363473176B68   MIKE              KAHLIE                  CA     46064214731
1236383719154B   LAQUITA           MCGREW                  TX     90014158371
12364A35A91263   VERNON            WASHINGTON              GA     90013960350
1236545A293745   CHADWICK          REED                    OH     90011504502
1236546962B92B   DAVID             GOMEZ                   CA     90011314696
1236563195B154   LILLE             FOSTER                  AR     23007286319
12365A97572B62   JOSE              ORTIZ                   CO     33077890975
1236796A391263   ALLEN             ELLIOTT                 GA     90014829603
12367A51361958   BOOLER            HAMAA                   CA     90012340513
1236822A177539   FRANCISCO         CARDENAS-CRUZ           NV     90005892201
123687AA49154B   CESAR             JORDAN                  TX     90005697004
1236988624B588   MONICA            TUCKER                  OK     90008578862
1236B1A6161938   ANGIE             MARTINEZ                CA     46043841061
1237198614B588   JEREMEY           COHLMIA                 OK     90015159861
123722A764B922   GLENN             GROGAN                  TX     90010472076
12372399A76B52   LINDA             WINKLER                 CA     90011413990
12372746176B68   JOSE              SILVA                   CA     90008877461
1237291115B526   MARCUS            MONTOYA                 NM     90015569111
12374464176B68   MELITON           ALVA                    CA     90013604641
1237457879154B   MARY              CHRISTOPHERSON          TX     90009995787
1237558362B367   MICHAEL           CARRERA                 CT     90012295836
12375639276B68   JOSE              REYES MIRANDA           CA     90008396392
1237587319154B   LILIA             ALARCON                 TX     90004168731
1237599844B588   GHEMELLE          JOINER                  OK     90002739984
12375A9A972B55   SHANNA            MARIE                   CO     90003450909
1237615769154B   NIDIA             CHAVEZ                  TX     90011031576
1237626774B23B   MARCEDES          SANDERS                 NE     90000382677
12376281A55948   LETICIA           ALDANA                  CA     49042102810
1237628A472B62   MAYRA             PERALTA                 CO     33023212804
1237647819154B   CHRISTINA         ADAME                   TX     90013954781
1237677517B489   STEPANIE          BERRY                   NC     90013957751
12377596A72483   LEAH              CONWAY                  PA     51007495960
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12377624A72B62   ROLANDO      GARCIA                       CO     33044806240
12377919972B29   JUAN         GONZALEZ                     CO     33094759199
12378338272B62   FRANCHON     MCGHEE                       CO     90012513382
1237861A77B435   CHAD         THOMPSON                     SC     90006466107
1237958484B26B   JOSHUA       VAUISO                       NE     90015585848
12379981A91263   CRYSTAL      NOBLES                       GA     90015069810
1237B942991895   RAUL         CHAVEZ                       OK     90004489429
1237B95659154B   LILIANA      MENDOZA                      TX     90012569565
1238182219154B   CANDELARIA   ENRIQUEZ                     TX     90014088221
12381A3179154B   RAUL         GARCIA                       TX     90013220317
1238263A67B337   SANTIAGO     DELGADILLO-QUIROGA           VA     81046066306
1238454634B26B   JANET        KLEINERT                     NE     90008455463
12384A4817B489   ROBIN        ROACH                        NC     90006080481
12384AAA391569   LORENZO      LERMA                        TX     90012010003
12385185A91895   MARLOW       THOMAS                       OK     21002031850
1238547114B26B   CHERYL       MITCHELL                     NE     90014844711
12386685876B68   DANIEL       RODRIGUEZ                    CA     90013116858
1238764A372B55   ROSA         GONZALEZ                     CO     90008916403
12387A62A3B352   KASEY        STRICK                       CO     90006600620
1238861925B385   SAMANTHA     STAINBROOK                   OR     90002786192
123891A6161938   ANGIE        MARTINEZ                     CA     46043841061
123893A2776B68   GARY         ROMES                        CA     46090813027
1238B58554B26B   ALLISON      RYAN                         NE     90013995855
1238B813247846   SHAKENDRA    PAULDING                     GA     90013118132
123912A9651337   TERRIE       CROSSTY                      OH     90012872096
1239142494B588   HEATHER      BATES                        OK     90012934249
12391A56891263   STEVEN       HAHNGEN                      GA     90013510568
123925A9151337   BONITA       BOLES                        OH     66059655091
123927A847B34B   CARLOS       PENADO                       VA     90014257084
12392A4AA72453   CHRISTINA    ETTER                        PA     90006510400
1239311334B922   STORMY       STANLEY                      TX     90011131133
1239347A472B62   WATERBURY    DONALD                       CO     90004884704
1239354285B526   NATASH       LUCERO                       NM     90013755428
1239427144B588   GREGGORY     BERY                         OK     21564482714
1239448499154B   MARIA        DAVILA                       TX     90013954849
12395487A57147   AMMAR        MOHAMED                      VA     90013054870
123959A4333699   JEREMY       KNIGHT                       NC     90013959043
12396A96357147   EDWIN        DE LEON                      VA     81027820963
12397132872B55   CURTIS       FARLEY                       CO     90003451328
1239861A191549   EDUARDO      LOZANO                       TX     90010386101
1239887195B526   MELODY       JONES                        NM     35057128719
123993A9257147   TERENCE      ORDONA                       VA     81091463092
1239959674128B   CHARLES      WILLIAMS                     PA     90005725967
1239982474B588   VICTOR       SCOTT                        OK     21551598247
1239B694855976   JUAN         BERBER                       CA     90014586948
123B1165455976   RUDY         CABALLERO                    CA     90014471654
123B127A261938   ALEXANDER    WILLIAMS                     CA     46006372702
123B145944B588   SUSANNA      MUSHONGA                     OK     90009044594
123B2116391569   PATRICIA     MARTINEZ                     TX     75079651163
123B2844272B4B   GERALD       DENHAM                       CO     90000168442
123B2948972453   KELLI        MCCABE                       PA     51070279489
123B3357833155   PAYGO        IVR ACTIVATION               IL     90014723578
123B4716657147   ODIS         MORENO                       VA     81021127166
123B4959255948   DAISY        VILLA                        CA     90014939592
123B5358361938   DAVID        GEORGE                       CA     46090283583
123B5365657147   MITRA        JAMALIKAKROUDI               VA     90014583656
123B5434855976   FRANCIS      GARCIA                       CA     90008334348
123B5769291263   BARBARA      STEPHENS                     GA     90014647692
123B5952257147   MITRA        KAKROUDI                     VA     90008309522
123B61A935B285   ANGEL        RODRIGUEZ                    KY     90010571093
123B69A694B23B   AMANDA       CLARENCE                     NE     27011119069
123B6A2464B588   CHRISTIE     BURLESON                     OK     21598120246
123B799125715B   RALPH        GRAHAM                       VA     81001499912
123B8A81161972   EMILIO       VARGAS                       CA     90005300811
123B96A4291895   JESSICA      HALLUM                       OK     90015006042
123B9762691549   JUAN         VELA                         TX     90001847626
123B98A8691586   RAMIRO       GARCIA                       TX     90009218086
123BB2AA991569   SIFUENTES    GISELA                       TX     90008942009
123BB3A935B526   EVA          CASTILLO REYES               NM     35000253093
123BB418491263   NICOLAS      MEZA                         GA     90012064184
1241176235B154   BO           WILLIAMS                     AR     23052237623
12411A71455976   DEBRA        GRAVON                       CA     49042970714
12412552A5B54B   DAWNYA       HOWELL                       NM     90013955520
1241279A64B26B   KELLI        HARRIS                       NE     26044897906
124129A494B588   NANCY        ADKINSON                     OK     90009369049
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124132A9376B68   JAMES         HERNADEZ                    CA     90011472093
1241345694B588   AIDE          MENDOZA                     OK     90013704569
12413AA8491895   DARINE        CORBITT                     OK     90012710084
12413AAA64B26B   WESAAM        AL-BADRY                    NE     26080860006
1241414594B588   CASEY         LUNN                        OK     90014601459
12414979A9154B   VICTOR        LOYA                        TX     75066129790
12414A2A37B489   JEFFREY       MARTINEZ                    NC     90010700203
12414A96986454   KIRSTON       EPPS                        SC     90014160969
12415372572B62   MIKE          ENDERS                      CO     33092323725
1241563195B154   KEN           PIERCE                      AR     23079586319
12416989A72453   MELISSA       SIDERS                      PA     51029489890
1241761A931687   RUBY          RAMIREZ                     KS     90012116109
1241793449154B   HUGO          NAVARRO                     TX     90015059344
1241814425B229   JAVIER        BERNAL                      KY     90009951442
1241818127B34B   JOSE          CARDOZA                     VA     90002091812
1241947A34B922   PAULA         JOHNSON                     TX     90006524703
1241B325272B62   ARMANDO       CADENAS                     CO     33069143252
1241B445261972   ELENA         AZHOCAR                     CA     46053384452
1241B47929154B   MICHAEL       WARE                        TX     90013954792
1241B567A55948   LUIS          YEPEZ                       CA     49005245670
1241B782861938   CLAUDIA       FELIPE                      CA     90007937828
1241B813A51337   ROLANDA       MILLER                      OH     66034648130
1241B884324B7B   ENRIQUE       PALMA JR                    VA     81098718843
1241B92224B588   SANDRA        NIBS                        OK     90012659222
1242137447B489   LUIS          SALINAS                     NC     90014433744
12421449A31687   SHAUNDA       KERN                        KS     90014504490
1242189685B526   MARIA         REYES-AVILA                 NM     90008968968
1242228A977539   CHRIS         MIKESELL                    NV     90006562809
12422A11551599   LYNN          DICKINSON                   IA     90015100115
1242352A39154B   GUADALUPE     BARRAZA                     TX     90009725203
12423A42161958   OSCAR         VELASCO                     CA     90004410421
124246A9276B68   RUTH          TORRES                      CA     46041796092
1242495179154B   JAVIER        URQUIDI                     TX     75059769517
12424A46151337   NICHOLAS      COOK                        OH     90014930461
12424A49657147   ASHLEE        THOMPSON                    VA     90014310496
124251A967B489   RHONDA        SIMPSON                     NC     11072531096
1242546815715B   MAGDALENA     NAVAS                       VA     90000844681
124254AA851337   COURTNEY      AUSTIN                      OH     66036164008
12425549372B55   REBECCA       BARRON                      CO     33031545493
12425A31491569   MIGUEL        PEREZ                       TX     90008150314
1242656575715B   WINDSOR       ESCALERA                    VA     81013915657
1242696584B23B   VIRGINA       MYSZKOWSKI                  NE     90008169658
12426A53161958   NICOLAS       OLIVARES                    CA     46017710531
12426A92A91263   JUNIOR        GARCIA                      GA     90014390920
1242727519154B   ALMA          SALAS-DESPOONMORE           TX     75039352751
12427338272B62   SALENA        SMITH                       CO     90003843382
1242835A84B26B   SHANE         THURMAN                     NE     90006143508
12428718A93732   TIM           ADAMSON                     OH     90010017180
1242933284B979   EUGENE        STOKES                      TX     90009293328
1242B23564B922   RAQUEL        HUGHES                      TX     76512802356
1242B31894B564   KIM           SHELTON                     OK     90013213189
1242B737661938   FERNANDO      CIGALA                      CA     90011417376
1242B7A5861976   NAYELI        MEDINA                      CA     90014407058
124312A9655976   JOSE          CAMARENA                    CA     90013112096
12432175A5715B   CERVANDO      MOLINA                      VA     90001081750
124322AA272B62   LUIS          LOPEZ                       CO     90014232002
12432644A61938   IRENE         GALLARDO                    CA     46083156440
1243323299154B   SONIA         LOPEZ                       TX     75061742329
1243366A191895   PHILLIP       LUSTER                      OK     21095916601
12433A2A34B588   CHRISTOPHER   WELCH                       OK     90013070203
124348A9A57124   GERMAN        DIAZ                        VA     81064418090
1243566964B26B   YALANDA       WALKER                      NE     26097456696
1243579775715B   SAMRAWIT      BERHANE                     VA     90009227977
12435A25747956   KENNETH       MULLINAX                    AR     90014260257
12436227A33699   MAYRA         POSADA                      NC     90015012270
124375A5661958   ADRIANA       ORTIZ                       CA     90005055056
12437932A61972   GEORGE        ETTLEY                      CA     46040299320
1243926737B489   JESENIA       WHITE                       NC     90011072673
1243929634B588   ROBERT        MANIUS                      OK     90007472963
1243B212472B27   SANDY         BRINK                       CO     90009022124
1243B327972B29   MARICELA      HERNANDEZ-MARTINEZ          CO     33069473279
1243B768355976   MARIA         SANDOVAL                    CA     49033177683
1243B936276B68   MIRIAM        HENANDEZ                    CA     90013059362
1243BA6A691895   KRISTEN       LACEY                       OK     90011300606
1244145A651337   FRANKLIN      MILLER                      OH     90015334506
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12441A8A761972   HOLLY         ALVARADO                    CA     90008960807
1244229AA76B68   CATHY         MARTINEZ                    CA     90011242900
1244273684B26B   TRAVIS        PARKER                      NE     90004187368
1244359324B588   PAUL          ROJAS FLORES                OK     90008465932
1244383714B583   ERICKA        ARNOLD                      OK     90008628371
12444146172B55   YANETH        PENA                        CO     33011271461
1244416568B12B   MICHAEL       CROOK                       UT     90001961656
1244425A357147   BLANCA        LAZO                        VA     90015132503
12444326224B7B   SAMEAUL       SMITH                       DC     90010643262
1244464665B526   JANESSA       LUCERO                      NM     90014666466
1244573A972B62   JOSEPH        ALCARAZ                     CO     33087067309
12446155A91569   LISA          LOPEZ                       TX     75069611550
1244697194B26B   TERRENCE      WATFORD                     NE     90015039719
1244747355B526   KATHRINA      GARZA                       NM     90004564735
1244818779154B   CASANDRA      ESQUEDA                     TX     90011031877
1244819564B588   MAMIE         SHABANI                     OK     90011401956
1244871A972B62   GINA          KENNIS                      CO     33067617109
12448A8615715B   ALEXIS        TREJO                       VA     81005320861
1244B16975B154   DEANN         BENNETT                     AR     23076001697
1244B426191895   BILLIE        PYLE                        OK     90008614261
1244B474957124   MARIA         FIGARO                      VA     90009854749
1244B68714B588   JAMES         MURPHY                      OK     90007726871
12451A71155976   ROSEANN       MITCHELL                    CA     90010170711
12451A7A84B588   SEAN          LEWIS                       OK     21500380708
12452241A41455   STEPHANIE     MENDEZ                      WI     90011222410
124522A5961938   SILVIA        CORTEZ                      CA     90003032059
1245238A455976   TIFFANY       WRIGHT                      CA     90010093804
12452738A91569   JUAN          ORTIZ                       TX     90013607380
12453241A41455   STEPHANIE     MENDEZ                      WI     90011222410
12453A37793745   VERONICA      FURLONG                     OH     90004700377
12454242172B62   VICTORIA      NAVARRO                     CO     90014392421
1245437615B154   NEIL          DILLARD                     AR     23085553761
1245445719154B   SANDRA        NAVA                        TX     75081394571
1245499A257147   MARLON        POLO                        VA     90014849902
124558A5272B62   ALDO          GALLEGOS                    CO     90013578052
1245595395B526   REGINA        LUJAN                       NM     90004709539
124559A6631687   JACOB         ARMSTRONG                   KS     22079149066
1245615464B26B   JOESPH        COPELAND                    NE     26007221546
12457585776B68   BEVERLY       SUAREZ                      CA     90013235857
12458416172B55   FRANSISCO     CASTRUITA                   CO     33056814161
1245842214B536   LINDA         NORMAN                      OK     90003384221
1245861589154B   JONATHAN      MELCHOR                     TX     90013356158
12459587A61938   JESSICA       KALBAUGH                    CA     46062745870
1245977A461976   PAYGO         IVR ACTIVATION              CA     90015407704
12459A56872B62   GUADALUPE     BARRON                      CO     33002280568
12459A8894B588   FRANCISCO     VILLEGAS                    OK     90011970889
1245B115347956   WILLIAM       CHRISTMAN                   AR     24030381153
1245B764A61976   PABLO         PEREZ                       CA     90014407640
1245BA9A155948   VICTOR        ALVARADO                    CA     90014980901
12461454276B68   ANDRES        RODRIGUEZ                   CA     90010914542
1246146A29154B   JESUS         MICHEL                      TX     90013044602
1246212614B26B   CASSIE        TRINE                       NE     26063091261
1246318125B264   ADA           BLEVINS                     KY     90001281812
12463A22447956   ANITA         MIDDLETON                   AR     90014700224
1246451AA9154B   ISAIAH        RAMOS                       TX     90013305100
12464A59557147   MARIA         PALOMINO                    VA     81032970595
1246517785B389   ISMAEL        CHAVEZ PEREZ                OR     90007091778
12465929772B62   LEONARD       ADAMS                       CO     90015159297
12465986772B97   APRIL         SEURER                      CO     90002319867
1246619A49154B   CLAUDIA       HERNANDEZ                   TX     90011031904
1246714695715B   ROSA          ROJAS                       VA     90008341469
124671A6161976   ENEDINA       VALDEZ                      CA     90015091061
1246768147B489   HOLLIS        LIPSCOMB                    NC     11095696814
1246859A955948   YANIRA        EUFRACIO                    CA     90015045909
1246874A591895   AIYANA        SAMUELS                     OK     90001877405
12469142A4B588   LAVEDA        BENT                        OK     21577301420
1246921565715B   ABDUL         CONTEH                      VA     81019752156
1246B128891263   DAMON         GRANT                       GA     90014171288
1246B278191569   PATRICIA      HERNANDEZ                   TX     75035352781
1246B2A279154B   SHAWN         BRIGGS                      TX     90010852027
1246B388347956   YULI          URIBE-DIAZ                  AR     90014223883
1246B571A4B588   TEIA          MORRISON                    OK     90014715710
1247341A591895   DUSTIN KARL   STEPHENS                    OK     90014944105
12473818A91569   FRAGOSO       RUTH                        TX     90010248180
1247394522B889   BRINA         NEWBERRY                    ID     42018159452
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12473A94991263   KAWAIL       FRAZIER                      GA     90015240949
12474869A91899   DESHAWN      BUCKLEY                      OK     21021048690
12474AAA857147   DEKA         HASSAN                       VA     90008540008
1247592425B154   LATOYA       STROUD                       AR     23061899242
12475A4542B264   ALONZO       YOUNG                        DC     90011860454
1247677A24B23B   MURPHY       JOSEPH                       IA     27094157702
12477515A5B285   MARIA        MATEHUALA                    KY     90013905150
124787A255B526   LINDA        ARMIJO                       NM     90013387025
124793A5961972   ARIANA       PEREZ                        CA     90013823059
1247959A461938   MIGUEL       DIAZ                         CA     46008395904
1247B335433699   TRACY        SCOGGINS                     NC     90011023354
1247B63A75B526   SEANTELL     KLINE                        NM     90005036307
1247B818A91569   FRAGOSO      RUTH                         TX     90010248180
1248114565715B   ODIR         VIERA                        VA     81017901456
12481439776B68   BRIAN        DANIEL                       CA     90014164397
1248184235B342   GEORGE       VAN GORDER                   OR     90011308423
124819A9271923   MICHAEL      CLOSE                        CO     90008609092
1248211124B267   ABEL         SERRANO                      NE     90012961112
12482384A47956   KATHY        BILLY                        AR     90011153840
1248243814B588   CARL         WELLS                        OK     90014524381
1248258934B588   ROBERT       LOCKMILLER                   OK     90012245893
12482A2A84B26B   DAVID        MCQUINN                      NE     26073510208
1248312135715B   MUARA        RODRIGUEZ                    VA     90001111213
124831A7261938   CARMEN       PARTIDA                      CA     90014981072
12483224172B62   MARIA        C GRIJALVA VARGAS            CO     90013842241
1248351AA61958   FRANCISCA    RODRIGUER                    CA     90002805100
124841A4691895   PEDRO        RAMOS-RODRIGUEZ              OK     90013821046
1248464777B489   RONNIE       JOHNSON                      NC     11014656477
124846A7193745   JEFF         CANTRELL                     OH     64584166071
1248475716612B   JENNY        ESPERICUETA                  CA     90014797571
1248526AA9154B   GABRIEL      DELA CRUZ                    TX     75069662600
124857AA34B23B   DAVID        GREEN                        NE     90001607003
12485A4A333699   CANDACE      FAULKNER                     NC     90015030403
1248661A576B68   YESENIA      SMITH                        CA     90012096105
1248662449154B   RUBI         ZUQIGA                       TX     75017366244
1248819414B588   KATHRYN      BLOODWORTH                   OK     90001111941
12488912A71982   JESSICA      AGUILAR OLIVARES             CO     90007219120
12489992476B68   JUSTIN       HARDY                        CA     90014109924
1248B251A61972   DULCE        TORRES                       CA     90012782510
1248B353331687   COURTNEY     BUCHANAN                     KS     22067113533
1248B362293745   KELLY        BOWMAN                       OH     90002283622
1248B44A45B154   FIRAS        NAZIF                        AR     23060794404
1248B532233699   TAKOJAH      MAJORE                       NC     90012415322
1248B625976B68   ISAAC        ALMEIDA                      CA     90009796259
12491122872B62   ERIC         BAILEY                       CO     33049761228
12491558A61972   DOUGLAS      HARRIS                       CA     90006405580
1249198512B235   HAZEL        MCGIL                        DC     90000879851
1249267A772B62   FIDEL        ARAUJO                       CO     90010916707
1249282A155934   ANA          GARCIA                       CA     49088938201
1249299655B526   ALPHONSO     MARTIN                       NM     90012299965
12494246A4B23B   TEKA         LEEPER                       NE     27010552460
1249464A572B62   SUI          HAL                          CO     90004006405
1249484915B526   JOHNNY       CHAVEZ                       NM     35062888491
1249525487B489   SARA         MART                         NC     90007592548
1249639575B135   KERRI        GORDON                       AR     23042793957
12496519897B3B   KORIN        MASHEK                       CO     90011445198
12496725A5B526   ISAAC        CISNEROS                     NM     90007217250
1249749635B526   DOLORES      TRUJILLO                     NM     35051264963
124988A7976B68   MARTIN       HOWARD                       CA     90013538079
12498A74A61958   MATIAS       RODRIGUEZ                    CA     90012340740
12498A7A95B154   MARILYN      SMITH                        AR     23025480709
1249933877B489   NIKIA        MADDOX                       NC     90014993387
124995A6161976   MICHELLE     BRISENO                      CA     90005285061
1249989685B526   MARIA        REYES-AVILA                  NM     90008968968
124999A4691895   LILY         ALTIERI                      OK     21065579046
1249B289231635   OMAR         PEREZ                        KS     22056682892
1249B321A47956   WAYNE        BARRY                        AR     90014863210
1249B482455976   ERIC         LEE                          CA     90015214824
1249BA83893745   JOEPH        ELLIOT                       OH     64515700838
124B1281855948   SHAYLEEN     BRAND                        CA     49006202818
124B1382276B68   PATRICIA     ACHERLEY                     CA     90012743822
124B1542161958   KAREN        ARZETA                       CA     90012925421
124B1766361938   MARIA        MEDINA                       CA     90013057663
124B1811172B34   WESLEY       JONES                        CO     90010788111
124B193A75B526   RYAN         HEFFERN                      NM     90007319307
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124B33A4977539   SHAWN         DEEN                        NV     90000513049
124B343A291569   OZZIE         SAPIEN                      TX     90003954302
124B35A5155976   MARISELA      CHAIDEZ                     CA     90012295051
124B3614651337   BIANCA        LANEY                       OH     90011996146
124B44A5361958   JESSICA       WILLIAMS                    CA     46070834053
124B44A9457147   LEIBA         HERNANDEZ                   VA     90010014094
124B484314B588   SARAH         DIAZ                        OK     90011148431
124B5176561972   JUAN          RAFAEL                      CA     46022791765
124B5226784375   M ICHELLE     OLIVER                      SC     90002152267
124B5283731687   JARVIS        KIRK                        KS     90014702837
124B5A25693745   CHRIS         LIGHTNER                    OH     90011660256
124B685514B588   EDUARDO       MADBULL                     OK     90012788551
124B7472261958   BELINDA       JONES                       CA     90002804722
124B781429154B   RENE          RABGEL                      TX     90002748142
124B796644B588   JIMENEZ       REYES                       OK     90014539664
124B79A985715B   CARLOS        AVENDANIO                   VA     81080219098
124B811A355948   KELLY         HUKILL                      CA     49026651103
124B823644B588   GAY           RODRIGUEZ                   OK     90014392364
124B8948291263   ROBERT        JONES                       GA     90001649482
124B8AA2447956   LATINA        THOMPSON                    AR     90005390024
124B9164491263   JOHN          CLARK                       GA     90008201644
124B947745715B   DAVID         CRUZ                        VA     90011624774
124B9655A76B68   YAMILEX       CRUZ                        CA     90009696550
124B979945B255   DRIKA         JACKSON                     KY     90003387994
124B9954172B62   UNKNOWN       UNKNOWN                     CO     33035369541
124BB48329154B   VANESSA       GONZALEZ                    TX     90004894832
124BB7A2293745   MICHELLE      HAFER                       OH     64563047022
124BBA63531687   BRENDA        WATTS                       KS     22007440635
12512924A91895   APRIL         YOUNG                       OK     90011539240
1251331154B922   SHANNON       LEVI                        TX     90009623115
1251353A276B68   VINH          HUYNH                       CA     90010335302
125135A1A72B62   EMANUEL       NAVARRO                     CO     33015035010
1251372A64B544   FLOTEISHA-    HARVEY                      OK     90013007206
12513755876B68   ZEFERINA      JACOBO                      CA     90011247558
1251393A961938   JULIO CEZAR   OSORIO                      CA     90013159309
12514A3855B282   NAKEISHA      JACKSON                     KY     90008960385
1251514A161938   RENEE         EASON                       CA     90000541401
1251531375B526   ADRIANA       GARCIA                      NM     90008053137
12515853A31687   SHAWNA        RINEHART                    KS     22086948530
1251671597B489   JACOB         RODGERS                     NC     11022947159
12517416372B55   ROGER         SMITH                       CO     33058144163
1251763A777574   TAMMARA       BOARDMAN                    NH     90007606307
1251796144B23B   MONTINIQUE    DAVIS                       NE     27024539614
12518A81131687   STEVEN        KREIFELS                    KS     90010870811
1251914615B526   MICHAEL       BECKSTEAD                   NM     35090731461
1251955817B489   CHARLES       CLARK                       NC     90015045581
12519761876B68   ISAAC         HERNANDEZ                   CA     90011247618
1251976A433699   CALANDRA      JENKINS                     NC     90012987604
12519946A72B55   CORA          RUIZ                        CO     33088799460
1251B21579154B   SAM           MARTINEZ                    TX     90011032157
1251B477155948   ESMERALDA     HERNANDEZ                   CA     90015054771
1251B491147983   DANTE         GARNER                      AR     90010264911
1251B4A2651337   LOUIE         WALLS                       OH     66052954026
1251B56835B526   LEANN         MOYA                        NM     35001435683
125218A2255976   CHIANTI       WILSON                      CA     90009888022
125219A915B526   STACY         JOHNSTON                    NM     35096449091
12522A37261972   ANTHONY       BOWDEN                      CA     90013840372
1252315A48164B   LACRETIA      HAWKINS                     MO     29094761504
1252327879154B   ISMAEL        PENA                        TX     90011252787
12523755272B62   MARY          ROBERTS                     CO     33077857552
1252421294B53B   MARRITTA      WILSON                      OK     90008522129
1252531644B588   TOMMY         WARD                        OK     90015553164
1252544A855968   YOLANDA       SEGURA                      CA     90007864408
12525676472B62   SOLEDAD       SANTIAGO                    CO     33057436764
1252626422B932   VICTOR        DUENAS                      CA     90001802642
12526A38755976   ABELARDO      GARCIA                      CA     49014540387
1252721664B588   NATALIA       RODRIGUEZ                   OK     90011572166
12527A36991949   EBONY         JUDD                        NC     90011570369
12528A23991899   MARY          SULLIVAN                    OK     21058030239
1252978A54B23B   URSULA        CASIANO ANN                 IA     90000407805
12529869A7B428   EMILYU        GIVENS                      NC     11013498690
1252B945451337   BEONCA        HOWELL                      OH     90013749454
1253189644B588   TED           RHYNE                       OK     21588298964
12532827876B68   MANUEL        DE LA CRUZ PASTOR           CA     90011248278
1253285222B874   PENNY         FISK                        ID     90011748522
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12534623A5B526   SONIA           NIGRO                     NM     35081286230
12534922A7B489   OMAR            ORDONEZ                   NC     90012679220
125353A9291569   LILIA           DURON                     TX     75034613092
1253547A74B26B   CYNTHIA         HITE                      NE     90014934707
12536962A61972   LUIS            GONZALEZ                  CA     46090949620
1253726A555948   ROBERT          OCHOA                     CA     90013372605
12539434A4B588   JANIN           PETERSON                  OK     90009584340
12539A49A9154B   OSCAR           TORRES                    TX     90013220490
1253B28814B23B   MIRNA           CALDERON                  NE     27066132881
1253B48847B445   ARKEATHER       SPRATT                    NC     90008014884
1253B664133699   WILLIAM         WHITFIELD                 NC     12065886641
1253B777461976   LINDA           BLANCO                    CA     46043437774
1253B921891569   KARLA           GARCIA                    TX     90014919218
1253B972447956   VANESEA         MALONE                    AR     90003679724
1253B991655976   SIA             VANG                      CA     90001299916
125412AA161972   BRENDA EVELYN   LUNA RAMIREZ              CA     90014362001
12544414A9154B   ELOISA          CARBAJAL                  TX     90010574140
12548588676B68   EQUILA          DUTLER                    CA     90005985886
12548722A61958   CHISTOPHER      NICCUM                    CA     46047947220
1254876A561976   CAEZAR IAN      PADENO LABIAL             CA     90014887605
12548A69255976   MISTY           HARRISON                  CA     90000270692
12549828A4B23B   EVETTE          DORSEY                    NE     90002848280
1254B43969154B   ELSA            RENTERIA                  TX     75091834396
1255194849154B   CARLOS          OCHOA                     TX     90002019484
1255215A776B68   GIANNA          GIANCOLA                  CA     90012781507
1255263515B335   YVETTE          CALAMI                    OR     90014776351
1255416535B526   IESHA           PENA                      NM     35081391653
1255443A547956   BAJETTA         BULLOCK                   AR     24050024305
1255467715B154   LAMONT          KING                      AR     90004886771
1255623757B43B   PIA             BLACKMON                  NC     90010862375
1255649929154B   EDUARDO         RIVERA                    TX     90013954992
1255932957B489   VAN             THANG                     NC     90012983295
1255936A491895   MIRIAM          DUARTE                    OK     90008513604
1255945374B26B   ANTONIO         BUCKNER                   NE     90011034537
1255999539373B   CONSTANCE       HOSKINS                   OH     90010509953
12559A47261976   JOY             MCGUIRE                   CA     90009630472
1255B269147956   TAMERAH         REEDERS                   AR     90009762691
1255B378191549   VALERIA         ANCHONDO                  TX     90010483781
1255B625A57147   MILTA           RUSH                      VA     81022396250
12562219924B44   ANTOINETTE      BROSSET                   DC     81018062199
1256322127B489   VONETTA         PADGETT                   NC     90008812212
1256345999154B   PATRICIA        VIDALES                   TX     75011614599
12563559676B68   BEATRIZ         CRUZ                      CA     90010765596
1256395A84B588   QUINN           CHEATHAM                  OK     21566919508
1256515144B588   DANA            JONES                     OK     90014471514
1256553974B26B   ALYTA           BENTLEY                   NE     26061985397
1256561949154B   MARIA           DOMINGUEZ                 TX     90008876194
12565937176B68   CHRISS          LOPEZ                     CA     46016019371
12565978472B62   JOSE            MARTINEZ                  CO     90015199784
12566A27791263   GINA            LANE                      GA     90010420277
12568429A61958   GLORIA          FLORES                    CA     90003174290
1256847879154B   MELLLISA        MENDOZA                   TX     90011374787
125685AA69154B   SUSANA          GARCIA                    TX     90013955006
125694A3933699   MARIA           SOLIS                     NC     90001814039
1256978A977539   KAYSI           GREENE                    NV     90001577809
1256B228461972   JESSICA         GAYLE                     CA     90014892284
1256B46A391895   LILLIE          FOLKS                     OK     21025334603
1256B496391263   ANTHONY         JERRAL                    GA     14570704963
1256B49989154B   MARIA           ALVIDREZ                  TX     90013954998
12571764A61972   MELISSA         LUCERO                    CA     46011167640
1257242A857147   MIKE            VIRGINA                   VA     90014174208
12573381A4B588   DONALD          COLLINS                   OK     90011353810
1257372158B167   JASWANT         KAUR                      UT     31014447215
1257421177B373   CHRISTINA       SHANLEY                   VA     90010312117
1257474684B26B   COURTNEY        HILLER                    NE     26065237468
12574A89372B97   MARIA           MEDINA                    CO     90001160893
125751A3255948   BLANCA          INIGUEZ                   CA     49098001032
1257592A961938   AGUSTINE        ASCENSIO                  CA     46076579209
12575A2A491895   CAITLIN         LEWIS                     OK     90013690204
12575A8324B588   CANESHA         HARDEN                    OK     90002830832
1257634A161976   SOPHIA          NAVA                      CA     90006513401
1257639765B384   KATHERNE        BLIXT                     OR     44587983976
12577A2A561976   ROXANA          MONTES                    CA     90001390205
12579A9879154B   JOSE            AGUIRRE                   TX     75090820987
1257B697A93745   JAMES           KNIPP                     OH     64574286970
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1257B851872B62   BLANCA        TENORIO                     CO     33067078518
1258241759154B   PRISCILLA     ESCOBAR                     TX     90009984175
1258316594B26B   JENNIFER      BROPHY                      NE     26073391659
1258327837B489   ASHLYN        BERRY                       NC     90014702783
1258335A37B489   ASHLYN        BERRY                       NC     90011073503
12583A39872B62   ANJELICA      JUAREZ                      CO     90014850398
1258427955715B   DUBLAS        CENTES                      VA     90009612795
12584A89476B68   DIANA         RIVERA                      CA     90011460894
1258572655715B   PERLA         OCON                        VA     81018217265
1258687569154B   LISA          CABALLERO                   TX     75011618756
12588211497B39   ALEX          PINEDA                      CO     90011962114
1258932584B588   LEA           JONES                       OK     90015553258
1258B331A7B489   CARMELA       SOTO                        NC     90000273310
125926A9593745   MELISSA       RYAN                        OH     64578836095
12592A86776B68   MARIA         ARREOLA CRUZ                CA     90015020867
12593168272B62   WEEST         JEFF                        CO     90010711682
12594887A5B526   SILVIA        FLORES                      NM     35040628870
12595799A7B489   CHRISTOPHER   BARNHARDT                   NC     90009567990
1259629365715B   SHANNA        PENN                        VA     90003202936
125962A5131687   LOIS          FANNING                     KS     22066712051
12596411874B82   LISA          WALKER                      OH     90014604118
12597175A7B489   SHARON        TATE                        NC     11084101750
12597619A81629   DEREK         BECKETT                     MO     90009206190
12598248272B62   ARACELY       CORTEZ                      CO     90000252482
12599424A55976   JESUS         SYLVA                       CA     90010314240
12599533172B62   BRENT         BISE                        CO     90012945331
1259982335B154   ANTONIO       KING                        AR     23078508233
1259B41134B588   THOMAS        VOGLER                      OK     90000734113
1259B815347956   RAFAEL        MANJARREZ                   AR     24038418153
1259BA9627B489   ALBERT        BOAKYE                      NC     90007630962
125B1756861972   GABRIEL       SANDOVAL                    CA     90014687568
125B1866676B68   MARGARITA     GUZMAN                      CA     90008748666
125B2761461972   MARIO         NAVARRO                     CA     90012477614
125B3524972B55   JUAN          RAMIREZ                     CO     90007265249
125B38A1391263   EUSEBIA       VASQUEZ                     GA     90014958013
125B42AA69154B   FRANKIE       BELL                        TX     90007962006
125B46A7298B62   JESICA        PALACIOS                    NC     90014096072
125B4824551337   TABITHA       MARTIN                      OH     90009928245
125B497779154B   OMAR          GONZALES                    TX     90012859777
125B4A6625B53B   JOANNE        GARCIA                      NM     90004760662
125B5128861972   JESSICA       BARREIRO                    CA     90014881288
125B526864B26B   DENNIS        ZAGER                       NE     90013002686
125B5415972B27   TIMOTHY       ROBINSON                    CO     90003474159
125B5758761972   GAEL          DIAZ                        CA     90014017587
125B5849361976   MELISSA       ANGULO                      CA     90011968493
125B6591161958   HERIBEL       ROMO                        CA     90013935911
125B728318B179   DIANA         TIRADO                      UT     90006132831
125B758A341295   WILLIAM       FENK JR                     PA     90004725803
125B7616A72B62   ANAYELI       MORALES FERNANDEZ           CO     90002896160
125B7675272435   CHARLES       KOSTIE                      PA     90009676752
125B8A39A72B62   ERNESTINA     ANTONIO                     CO     90012640390
125B912A77B489   NATALIE       GARY                        NC     90009291207
125B9412772B62   NATHAN        ELLIS                       CO     33020554127
125B9495551337   SHEILA        JOHNSON                     OH     66083014955
125B974914B588   MIKE          ROWDEN                      OK     90010147491
125B99A9791895   LASHUAN       WATTS                       OK     90013929097
125BB337561976   FRANCISCO     TORRES                      CA     90014563375
125BB398576B68   HUGO          CARILLO                     CA     90009943985
1261131849154B   VERONICA      HERNANDEZ                   TX     90004953184
12612513372B62   FRANSISCO     GUERRERO                    CO     90014715133
1261312A657147   JOSE          RUBIO                       VA     90013831206
126142A3376B68   DARWIN        BULLOCK                     CA     46090912033
1261453A14B26B   DRE           BROWN                       NE     90015005301
12615114A51337   ROBIN         GIBERT                      OH     66080361140
126155A9591263   JASON         MOCK                        GA     90012535095
12615679176B68   JUAN          VENEGAS                     CA     90009526791
1261568249154B   CRISTAL       CASAREZ                     TX     90006886824
1261657144B23B   ASHLEY        CUDABACK                    NE     27018345714
12616727972B55   RUSSELL       SKEEN                       CO     90003457279
12616A7A584375   JASMIN        ROBERSON                    SC     90010330705
12617245A55948   ERICKA        DUARTE                      CA     90011862450
12617A88572B55   KATHY         LOGAN                       CO     90006610885
12618581A91547   GILBERT       MARTINEZ                    TX     90010135810
12618A1499154B   BERTHA        SANCHEZ                     TX     75011620149
12618A2A493745   PAUL          BUBECK                      OH     64551440204
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1261B7A2A72B55   RANDY            TRUJILLO                 CO     90003457020
1261BA38872453   KIMBERLY         CROUSE                   PA     51067510388
1262124922B966   JESSICA          ZAMARRIPA                CA     90005452492
126212A1891974   LATON            FORREST BLUE             NC     90001142018
126214A7755976   STEPHANI         BOHANNA                  CA     90015014077
12621784A7B489   GREGORIO         FUENTES                  NC     90012957840
12622A6284B922   DANDREUSS        BROOKS-GENTRY            TX     90011740628
126235A349154B   CARLOS           PUGA                     TX     90013955034
12623A21A4B588   REGINA           BEDELL                   OK     90013070210
12623A41161976   ANGELICA         GUILLER                  CA     90012820411
1262452825B526   JESSICA          DURAN                    NM     90013865282
1262481467B489   VALERIE          MASON                    NC     90013648146
1262613145B526   JOSEPH           BOEDRY                   NM     90015291314
1262714A661968   NOELIA           BALTEZAR                 CA     46094691406
1262719A843588   KRISTA           DUBOIS                   UT     90007821908
1262915244B588   ERIC             WALTON                   OK     21552871524
1262955A231687   KEVIN            BENSON                   KS     90015175502
1262B27A891263   MICHELLE         MENDOZA                  GA     90010772708
1262B284755976   CHARLIE          PALACIOS                 CA     90013372847
1262B31994B588   PRISCILLA        MARTINEZ                 OK     90010113199
1262B362493745   THOMAS           GIBBONS                  OH     90012883624
1262B87484B588   COLBY            JACKSON                  OK     90015448748
1263171492B924   JERALDO          OLIVO                    CA     90005867149
12631A27276B68   TAMARA           SMITH                    CA     90013620272
12633266772B62   KIMPHONE         PHANTHAVONGSA            CO     33096722667
126338A9551337   JOE              HIRN                     OH     66015878095
12634147A61972   WISMAR           GONZALEZ                 CA     46085921470
1263494774B588   JUAN             COSTILLO                 OK     90015359477
1263641574B588   JESSICA          STATTON                  OK     90010794157
1263655A391263   DAYVON           ENGLISH                  GA     90006695503
126367A6591878   WAYNETTA         ESTES                    OK     90014547065
12636A66961958   CHARLES          NALL                     CA     46008480669
1263714265712B   FREDY            MIRANTA                  VA     81072381426
1263759895715B   JULIAN           FERRUFINO                VA     81091055989
126376AA761938   SEAN             JONES                    CA     90013286007
1263855454B26B   TIFFANY          SHULKA                   NE     90008025545
126385A1177539   DIOGRACIO        CRUZ                     NV     90001855011
12638812A55934   ELSIE            PANIAGUA                 CA     90012728120
12639314224B7B   MELVA            MERINO DE CRUZ           DC     90014893142
1263944589154B   GEORGINA         SANTILLANA               TX     90011714458
1263B277333699   TISHA            CURRY                    NC     12092862773
1263B27A557147   JORGE JIMIENEZ   DUARTE                   VA     90009712705
1263B28518B165   CHRISTOPHE       HANCOCK                  UT     90001202851
1263B321A93745   DESBELE          TEFERI                   OH     90012723210
1263B787172B62   LEE              ABEYTA                   CO     90015147871
1263BA84376B68   LINDA            GOSSETT                  CA     90014370843
126426A8791263   TIFFANY          HUGHES                   GA     90007996087
12643557872B23   EDWINA           LUCERO                   CO     90002465578
1264355AA21B78   CORDELL          PEREZ                    TX     90014365500
126439AA951337   ALYSSIA          PEYTON                   OH     90009849009
12644429A61976   MANUELRENE       AREVALO                  CA     46011654290
12644578472B29   TONIA            PORCHE                   CO     90014095784
1264522414B26B   KEVIN            SCHMIDT                  NE     26071632241
12645684A61972   ERIC             MORANDARTE               CA     90013106840
1264629A776B68   CESAR            SERGIO                   CA     90006032907
12646456A31635   ASHLEY           BRIGGS                   KS     22000054560
12646522272B62   TANYA            MELENDEZ                 CO     90012915222
1264683A993745   REBEKAH          LEAL                     OH     90012378309
12646A3227B489   SHANNEN J        VOGEL                    NC     90014900322
12647147472B62   CHERI            LOPEMAN                  CO     33021331474
12647A1959154B   CASANDRA         SANCHEZ                  NM     75087390195
12647AA7461958   ALAN             CAZARES-SOTO             CA     90005050074
12649AAA191895   CORDELL          NORRIS                   OK     90012040001
1264B91884B588   CRYSTAL          BASETT                   OK     90014839188
1265188214B26B   JONATHAN         WALDROP                  NE     26044898821
1265213714B588   SAKENA           LYNN                     OK     90013551371
12652489A76B68   LUIS             TORRES                   CA     90013424890
1265265969154B   FERNANDO         MONAREZ                  NM     75091456596
12652A85291895   ALEX             BLACKWELL                OK     90001910852
1265313A431687   DEVIN            YOUNG                    KS     90005381304
1265337534B537   JERMANE          JORDAN                   OK     90013723753
1265512A655976   CESAR            MENDOZA                  CA     90012161206
12655527A31687   UYLESSES         DESHAZER                 KS     90014665270
1265618A74B588   HARRY            PRIOR                    OK     90010641807
12656489A76B68   LUIS             TORRES                   CA     90013424890
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12657359A61958   GENE         DAVIS                        CA     90013623590
1265782284B588   MARIO        PEREZ                        OK     90012768228
12661382472B62   MILAGRO      GARCIA                       CO     90012513824
1266229745B526   MIADORIE     DEAN                         NM     35077002974
1266298487B489   ANA          HERNANDEZ                    NC     90014089848
1266299225B526   MICHELLE     BACA                         NM     90007469922
1266446A14B588   SHERWIN      AKERS                        OK     21564684601
1266515685B154   DEMPSEY      CLARK                        AR     90002571568
12665A58155976   CONNIE       AMBALONG                     CA     49085790581
12665A8539154B   CESAR        RIVERA                       TX     90005870853
1266678A555976   GARY         LEE                          CA     49069347805
12666A36157147   KYLE         TKACIK                       VA     90013310361
12666A97561972   NORMA        MENDOZA                      CA     90005300975
12667666772B62   JAVIER       HERNANDEZ                    CO     90010816667
1266783A861938   AMALIA       FARRAR                       CA     90013968308
1266841534B26B   CARISA       MOYA                         NE     26013354153
12669849272B55   EDITH        ROMERO                       CO     33049728492
12669A64172B34   MARIA        MARTINEZ                     CO     90004340641
1266B141247956   DANNY        CONN                         AR     24077571412
1266B36964B588   GREGORY      COLBERT                      OK     90014623696
1266B932857147   MISAEL       ARIAS                        VA     90012709328
1266B94925B526   MICHAEL      BEGAY                        NM     90003869492
1266BA46161976   CARL         KEYS                         CA     90001390461
1267178A397B58   EMILY        BERNHARDT-CASSELL            CO     90003537803
12671987476B68   MONICA       AVILA                        CA     90014109874
1267283735715B   TERRY        GREEN                        VA     81010998373
1267294895B526   ELIZABETH    HART                         NM     35085289489
126735A4961972   JOSEFINO     SALIBA                       CA     90014745049
1267381614B26B   RICHARD      PERGANDE                     NE     90014308161
12673954772B62   MAYRA        GONZALES                     CO     90002509547
126752A4276B68   LIZETTE      LUCERO                       CA     90011262042
1267562477B489   SANDRA       STATEN                       NC     11061466247
1267566A861976   CLAUDIA      MONTES                       CA     90011366608
12675A91476B68   SHINISHA     SMITH                        CA     90015020914
12676146672B55   TRISTA       LACKEY                       CO     90012271466
12676694A72B37   KIMBERLY M   TUFFIELD                     CO     33016256940
1267681A15B526   GEOFFREY     COOPER                       NM     35043608101
12676A25691895   BRYAN        GUEVARA                      OK     21000550256
12676A4679154B   CARLOS       GOMEZ                        TX     90012930467
12676AA6271927   PAUL         HILL                         CO     32013070062
126788A6793745   AMBER        BAYLESS                      OH     90010368067
12679985527B88   LATISHA      MAXIE                        KY     90014669855
1267B84217B489   WENDY        CALISC                       NC     90009728421
12681176A4B922   ANDREA       WATES                        TX     90007241760
1268164A261938   NO           SAENGPHET                    CA     90011926402
1268198685B526   PAUL         FIELDS                       NM     90007789868
12682951A72B55   JOSE         LUNA                         CO     90003459510
126833AA161972   GONZALES     SALGADO                      CA     90014133001
12683531276B68   DARREN       CRAWFORD                     CA     90010385312
1268354259154B   PERLA        JUAREZ                       TX     90013955425
126843A1A4B26B   DEBRA        EVANS                        NE     90013623010
1268459245B154   JERMILLIAN   SMITH                        AR     90001495924
12686365A31635   ALEXANDRA    SPERLY                       KS     90004623650
126863AA54B588   DENAE        ROBERTS                      OK     90011363005
1268698219373B   GLORIA       NICHOLS                      OH     90007129821
12687126176B68   RICARDO      GARCIA                       CA     90011471261
12687592A9154B   JOSE         ARAUJA                       TX     90014585920
1268818225B279   MEGAN        MARTIN                       KY     90011401822
1268839655715B   JONATHAN     SAYO                         VA     90010043965
12688922A7B489   MAURICE      WILLIAMS                     NC     90015609220
12688AA2733699   LAKOSHKA     MCCOLLUM                     NC     12078680027
1268B759461972   JESSICA      LOPEZ                        CA     90014017594
1268B764976B48   LUIS         ROJO                         CA     90009587649
1269114594B588   CASEY        LUNN                         OK     90014601459
1269123875B526   DULCE        GAMBOA                       NM     35077402387
12691443A7B489   DEANDRE      JENNINGS                     NC     90011074430
1269491847B489   LOUIS        PHILLIPS                     NC     11076619184
126953A2961972   ARACELI      JIMENEZ                      CA     90014133029
126953A474B267   HECTOR       LEMUS                        NE     90010733047
1269647212B926   NANCY        PEREZ                        CA     90011564721
1269652174B52B   BRITTANY     LOFTON                       OK     90004235217
126978A2291254   JEWERL       MABERY                       SC     90000958022
12697994672B55   THOMAS       PATRICK                      CO     90003459946
126982A279154B   ENRIQUE      QUINTANA                     TX     90015242027
1269875145B526   MARSHALL     VAUGH                        NM     90011377514
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1269886584B26B   LONNIE        MAUER                       NE     90007858658
12699348A7B489   JOSHUA        COLEMAN                     NC     90011463480
1269934A972B62   LUPE          RODRIGUEZ                   CO     90013823409
126996A7A4B26B   MORGAN        REED                        NE     26066136070
1269B256591569   EDUARDO       RODRIGUEZ                   TX     90011922565
1269B735693745   TRENTON       FOSTER                      OH     90002437356
126B1737561976   IVANNIA       CHECA                       CA     90014047375
126B1A71251337   MATHAN        MOLEN                       OH     90014390712
126B2149261938   MONICA        GUTIERREZ FELIPE            CA     46005331492
126B2279291852   MELISSA       SETTES                      OK     90009352792
126B24A144B588   KORI          BELTRAN                     OK     90014084014
126B2683155976   SUSIE         MAYO                        CA     90008306831
126B3185333699   LATONYA       STINSON                     NC     90004901853
126B32A8491263   VICKIE        SANDERSON                   GA     90015512084
126B343565715B   VANNY         MEJIA                       VA     90013304356
126B4315361958   FERNANDO      DURAN                       CA     90009413153
126B4321561958   JOSE          ALVARADO                    CA     90011193215
126B4513472B28   MARIA         BRIONES                     CO     33042115134
126B479749154B   ROSALVE       JAURIETTA                   TX     90011207974
126B6158371932   ANDREA        WILLIAMSON                  CO     90013951583
126B68A655B526   DOUGLAS       EISELE                      NM     90013198065
126B6952A47956   BOBBY         HAMM                        AR     90014829520
126B7549391925   MARCEL        WEBSTER                     NC     17062975493
126B82A4461976   MARILYN       MITCHELL                    CA     90010132044
126B87A6655976   GE            MOUA                        CA     49012107066
126B91A7731635   MILTON        REED                        KS     90002321077
126B994288B878   ELENA         CASTRENCE                   HI     90015339428
126B9A63172453   GINGER        STROPE                      PA     51069720631
126BB285861972   EVA           JIMENEZ                     CA     90008452858
126BB835455948   JOSE          MENDOZA                     CA     90011718354
1271115995B526   DESIREE       CHAVEZ                      NM     90009621599
12711267A72B62   DAWN          HOWE                        CO     33009352670
1271136294B588   MARIA         HERNANDEZ                   OK     90007733629
1271199422B263   SHAWNEKEQUE   HUGGANS                     DC     90013849942
127139A8791895   DONNA         GRIDER                      OK     21071579087
127145A3176B68   BRENDA        TOVAR                       CA     90014735031
127157A2293745   MICHELLE      HAFER                       OH     64563047022
12716438A47956   MORENA        NAVARRO                     AR     90000384380
1271655139154B   NALLELY       DOMINGUEZ                   TX     90007035513
1271655715715B   QALI          HASSAN                      VA     81032535571
1271663A55B526   JOSE          CHACON-PORTILLO             NM     90009796305
12717A15451337   CRYSTAL       HAYES                       OH     90013010154
12717A17831687   DERICK        DIAZ                        KS     90014780178
1271893A261958   MARY LOU      TORESS                      CA     90008679302
1271B138985943   PAUL          HANSMAN                     KY     66008571389
1271B27A233647   WILMARY       CARABALLO                   NC     90004922702
1271B38A255936   RUBY          LOPEZ                       CA     90010333802
1271B526255976   MONIQUE       GLAZE                       CA     49005795262
1271B711A61976   JEYOA         SPENCER                     CA     90015107110
1271B827A61976   GLORIA        BRADLEY                     CA     90009978270
1272196185B526   TERRI         NORTON                      NM     35084079618
127239A8272B62   ROBERT        BARRERA                     CO     90006649082
127248A3733699   LAQUANDA      JOHNSON                     NC     90015018037
12724A38791569   CARLOS        MORALES                     TX     90014600387
12724A41872B62   ARACELY       VARELA                      CO     33089080418
12725541672B62   PAUL          VIGIL                       CO     33083485416
12725A1174B588   CARLOS        ESCALANTE                   OK     21526540117
12725AA472B966   SANDRA        LARIOS                      CA     90010080047
1272769A457147   NATIVIDAD     BONILLA                     VA     81005376904
1272859AA33699   RALONDA       BAPTISTE                    NC     90013085900
1272926477B489   ZAINA         FAYE                        NC     90002772647
12729384976B68   FRANCISCO     SOLACHE JR                  CA     90006613849
1272B493561958   SANDRA        MEADINA                     CA     46081204935
1272BAA4155976   LINDA         TEIXERIA                    CA     49014410041
12731AA4947956   AUGUST        REVELES                     AR     90013670049
1273221A493745   MATTHEW       SNOOK                       OH     90001192104
1273272A32B242   KIM           DAVIS                       NC     90001427203
1273363949154B   JAIME         BADILLO                     TX     90013096394
1273399555715B   JOSHUA        WISE                        VA     81018319955
12733A42533699   CORA          MORRIS                      NC     90003650425
12733A85897B69   REGINA        GALLEGOS                    CO     90012490858
1273499555715B   JOSHUA        WISE                        VA     81018319955
1273514745B526   RONALD        RYMARZ                      NM     35080011474
1273525314B267   YOLANDA       DELTS                       NE     90013952531
1273596854B26B   LINDA         WEILER                      NE     26000529685
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12735A7924B588   LORENA        NICHOLOS                    OK     90009470792
1273628845B526   VERONICA      ELENA                       NM     90007082884
12736658472B62   MARIO         OROZCO                      CO     33055336584
1273682634B26B   JASMINE       BRITO                       NE     90012358263
1273795425B526   MONICA        ALANIS                      NM     35095429542
1273B122A5715B   JAMES         MOON                        VA     90004521220
1273BA88661938   ELIZABETH     FAUST                       CA     90012760886
1274128535B526   MARISA        LOPEZ                       NM     90013282853
127419A713B36B   JASON         FREELAND                    CO     33097969071
1274221934B26B   LORRAINA      LUTJE                       NE     26011292193
12742621624B7B   ERIC          JACKSON                     DC     81093866216
12742732372B62   YUBINI        ABREGO                      CO     33060597323
12742A1224B588   CAROLINA      TEMAJ                       OK     90015300122
127439A9261958   BEATRIZ       GARCIA                      CA     90012749092
12743AA6861444   KENISHA       HENDERSON                   OH     90010890068
1274453359154B   SAMANTHA      CORTEZ                      TX     90011055335
1274522355599B   JOSE          LOPEZ                       CA     48064892235
1274531295B526   RICARDO       OJEDA                       NM     90007023129
127453A6561972   DARROW        SATTERFIELD                 CA     90014243065
1274582479154B   NORA          LOPEZ                       TX     90013968247
127461A4151337   PETE          FAUL                        OH     66094731041
1274667125B526   JAQUEENA      PINTO                       NM     90012786712
12746A98361938   JUANA         SANTOS                      CA     90014850983
1274776A461972   ANDRE         GONZALEZ                    CA     90014017604
1274852639154B   TAYLOR        SEGOBIANO                   TX     90012495263
1274853714B588   MARIA         GODINEZ                     OK     90005165371
127494A2A61936   GLADYS AYON   JASON LIRA                  CA     90012384020
12749A2454B23B   BRITTANY      DANIELS                     IA     27056910245
1274B444861976   SALVADOR      MARTINEZ                    CA     90015144448
1274B988191263   LATERICA      WILLIAMS                    GA     90010579881
12752139A91569   MARK          PINONES                     TX     75085521390
127523A9533649   JAMES         PHELPS                      NC     12017173095
127527A9855948   ANA           SANCHEZ                     CA     90011757098
12752921676B68   NELIDA        MARTINEZ SALAS              CA     90014519216
1275295467B43B   FABIOLA       LARA CORONA                 SC     90012969546
12754913672B62   VERONICA      LEAL                        CO     33082459136
1275629A777353   ANNIE         JOHNSON                     IL     90014892907
127565AA64B922   TOI           JOSEPH                      TX     90006645006
12756721372B62   VICTORIA      GONZALES                    CO     33092817213
1275743A355976   OMAR          MARTINEZ                    CA     90008244303
1275931115715B   MUHAMMAD      HUSSAIN                     VA     90004363111
12759631A33699   JAMES         MOORE                       NC     90014306310
12759A86176B68   SANJUANA      APARCIO                     CA     46002350861
1275B36A476B68   JULIO         VENEGAS                     CA     46027013604
127611A2857147   EFRAIN        PELLOT                      VA     90003141028
12761559476B68   CECILIA       MARTINEZ                    CA     90012355594
1276181A59154B   NATHALY       INFANTE                     TX     90002158105
12761A11976B68   CARLOTA       CASTRO                      CA     90014840119
12761A42176B68   DEISY         AVILA                       CA     46087610421
12761A46293745   THERESA       KIEFER                      OH     90001110462
12762498A97B58   DENNIS        YOUNCE                      CO     39072644980
12762A45391569   NORMA         REZA                        TX     75022580453
1276328A19154B   JOSE LUIS     AYALA                       TX     90012732801
1276364425B526   AMANDA        QUINTANA                    NM     90011626442
1276374A67B489   DAISHA        PARSONS                     NC     90013707406
1276461495B338   ANA           SHERBAHN                    OR     90000936149
12764766A61972   GRACIELA      HERNANDEZ                   CA     90011527660
127654A6893745   CARL          FREDERICK                   OH     64584544068
1276583135B526   KYARA         JONES                       NM     35053198313
12766AA325B154   MARIA         IBARRA                      AR     23050260032
12767A5A19154B   RUBY          RAMIREZ                     TX     90012930501
1276812498B165   ELLEN         WATTS                       UT     90007061249
12768332A7B489   SABRINA       NEWBERRY                    NC     90003333320
1276862849154B   MARITZA       SERRANO                     TX     90012416284
1276986A35B526   SUSANA        HEREDIA-LOPEZ               NM     90014328603
12769888A76B68   SEBASTIAN     COVARRUBIAS                 CA     90013328880
1276B13A151337   DOMINIQUE     MILLER                      OH     90013291301
1276B197255976   KEARSTIN      WORSHAM                     CA     90014531972
1276B737391569   CHRISTIAN     CORTINAS                    TX     90012637373
1276B773876B52   ALFREDO       HERRERA                     CA     90001327738
1276B934261958   SAMANTHA      MOLINA                      CA     90014239342
1277228749154B   JOE           ENRIQUEZ                    TX     90014762874
12772372A61938   DIANA         VILLANUEVA                  CA     46057203720
1277254824B592   FERNANDO      BARRON                      OK     90004315482
12772971527B88   EBONY         LYLE                        KY     90012759715
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1277317264B23B   BRIANNA        SHINROCK                   NE     27012251726
1277321A831687   KNOCKO         THOMPSON                   KS     90014292108
12774A69261938   HECTOR         QUINTERO                   CA     90000120692
127757AA391263   AFRICA         PAYNE                      GA     90006117003
1277593584B265   ROBERT         EVERSON                    NE     90010409358
1277621299154B   ANA            CORONADO                   TX     90013872129
1277641A757147   DENYS          MARTINEZ                   VA     81023054107
12776657972B26   CHRIS          MILIKEN                    CO     90002526579
1277675A35715B   FRANCISCO      LOPEZ                      VA     90010457503
12777853176B68   EDWIN          NOLASCO                    CA     90002258531
12777AA627B489   PARISH         MILLER                     NC     11039590062
1277826294B52B   MATTIE         MILTON                     OK     21559992629
12778822372B62   BRANDON        HEGLAND                    CO     90009348223
127788A8677539   SOLEDAD        NAVIDAD                    NV     43033848086
1277917134B588   ARACELY        PAXTOR                     OK     90013491713
12779A22347956   WILLIAM        KUNKEL                     AR     90003640223
12779A7549154B   JAIME          MARQUEZ                    TX     90013380754
1277B213572B55   STEPHEN        TENDELL                    CO     90003462135
1277B276261938   LETHA          BROWN                      CA     90012032762
1277B38A891895   MARCUS         GIRTY                      OK     90014653808
1277B526391569   MARIA          PARAD                      TX     90013335263
1277B926A4B588   SOCORRO        VILLALAZ                   OK     90012299260
1278213295715B   LUIS           CABRERA                    VA     90010801329
12782868A77522   CARLOS         GUTIERREZ                  NV     90004418680
1278351549154B   AURELIO        IBARRA                     TX     75066045154
12783A79684375   RONDA          BARRIENTOS                 SC     19031040796
127845A982B966   ASHLEY         DRAPER                     CA     45093175098
1278641349154B   JOSE           RAMIREZ                    TX     90013654134
12786937A72B62   DUANE          SPENCER                    CO     33070049370
12786A95284375   LEAH           WOODS                      SC     19067250952
12787937A91895   RICHARD        DEBERRY                    OK     21014349370
127887A8A4B588   LINDAL         MCGLATHERY                 OK     90012977080
1278916444B26B   DALLAS         HEES                       NE     26051861644
1278973A14B23B   DANA           BOTOS                      NE     27095037301
1278B312957B59   JEREMY         LYONS                      PA     90015243129
1278B629777539   AMBER          DODINEZ                    NV     90001976297
12791849672B28   LYNNETTE       BROADWAY                   CO     90012638496
1279215A851337   BELITTA        CROLEY                     KY     66097221508
12794926A9154B   ALLEN          GURROLLA                   TX     90005189260
1279517A133699   CHRIS          BARNES                     NC     90015241701
127952A7285853   RENE           GONZALEZ                   CA     90013562072
12796743257B59   GELSEY         VEGA                       PA     90014187432
1279747A633699   VICTORIA       CARRILLO                   NC     90007904706
127976A1A5B154   KRYSTAL        CLAY                       AR     23041696010
1279841454B588   SHANNON        HOPPER                     OK     90013694145
12798672372B62   ARTHUR         MARTINEZ                   CO     33002846723
127999A5172B37   ANTHONY        SANCHEZ                    CO     33076229051
1279B6AA855948   ALEJANDRO      MENDEZ                     CA     49055666008
1279B779361972   CLAUDIO        ORTEGA                     CA     90002387793
1279B8A1A4B588   JULIANA        BINGHAM                    OK     90005128010
127B1186A91263   TYRONE         LAWRENCE                   GA     90013981860
127B1562561972   FELIPE         CONTRERAS                  CA     90004365625
127B1942972435   LISA           DIXON                      PA     51067089429
127B196814B588   CHRISTOPHER    TOLLE                      OK     90012239681
127B1969731687   SHERRY         MORRISSEY                  KS     90014009697
127B1989951337   KEVIN          MASON                      OH     90013589899
127B223285715B   RONALD         SALINAS                    VA     90001862328
127B235119154B   SONIA          DIAZ                       TX     75082213511
127B2483847956   LOGAN          MOORE                      AR     90011194838
127B3711361938   ANTHONY        COLON                      CA     90012167113
127B3981A3B392   BOONE          SENGALOUNE                 CO     33089319810
127B4536463B2B   DEYSI          ALVAREZ                    IL     90014745364
127B4721891263   PATRICIA       GARDNER                    GA     90004397218
127B5139961938   DANNA          CHILDERS                   CA     90009851399
127B51A1261938   ISABEL         LIZARRAGA                  CA     46021191012
127B5312761972   JAQUELINE      CALDERA                    CA     90014393127
127B5449A31687   SHAUNDA        KERN                       KS     90014504490
127B5745361972   ANGELA         CARRILLO-ACOSTA            CA     90011527453
127B58A4441384   JUANA          REYES                      MA     90015498044
127B62A1361938   KNIAJA         POSEY                      CA     90014212013
127B6388733699   LENYATTA       HENRY                      NC     90013083887
127B693489154B   MIGUEL ANGEL   SEPULVEDA                  TX     90014179348
127B729989154B   SEBASTIAN      PARRA                      TX     90014202998
127B7331947956   MYRA           JAMES                      AR     24033933319
127B763745B526   DAN            HILBORN                    NM     35068716374
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127B7713785922   RAUL               RICO                   KY     90012837137
127B8922257147   JOSE               PORTILLO               VA     81068849222
127B899972B926   REBECCA            PENA                   CA     90008199997
127B89A2193745   COREY              PROFFITT               OH     64538519021
127B93A9276B68   JOSEPH             ROGERS                 CA     90012893092
127B962379154B   JOE                NUNEZ                  TX     90005006237
12811243176B68   GLORIA             CALVILLO CISNEROS      CA     90014912431
12811937A72B62   DUANE              SPENCER                CO     33070049370
128123A2691569   JOSE               MONAREZ                TX     90007163026
1281261A761938   FAITH              DELCASALE              CA     46036146107
128141A579154B   FELIPE             FLORES                 TX     75034721057
1281421665B154   AMENTA             WALKER                 AR     23041002166
12814318A31637   ANGELA             ALEXANDER              KS     90012013180
1281557439154B   DAVID              RODRIGUEZ              TX     90013955743
1281563265B526   SHAWN              WILLIAMS               NM     35055966326
12816736172B62   SEAN               KITE                   CO     33017787361
12816A35255948   SUSANA             LOPEZ                  CA     90012950352
1281712913B398   LOUIS              VARONE                 CO     90013141291
1281852AA61958   EDDIE              CHAVEZ                 CA     46051685200
1281B21917B489   ROBERT             TURNER                 NC     11012362191
1281B415993745   KARA               FERGUSON               OH     90002114159
1281B7A7161958   THE                WATSON                 CA     90014057071
1281BAA299154B   KARLA              RODRIGUEZ              TX     90012480029
1282139615B526   HERMELINDA         ESCOBEDO               NM     90002773961
1282153A261972   TERRELL            BOYD                   CA     46059715302
1282189A872B62   ROSE               ORTEGA                 CO     90014618908
12822359A55976   STEVEN             RIVERA                 CA     90015163590
128227A184B588   MICHEAL            LANGSTON               OK     90011087018
1282327754B26B   POLLY              MORTON                 NE     26018052775
12823A24231635   VILMA              GRADO                  KS     22073080242
12824417572B62   JORDIN             MOTA                   CO     90013664175
12824866272B62   CRISTINA           JIMENEZ                CO     33021388662
1282788737B343   JOCELYN            HUFF                   VA     90001948873
128281A7561972   REESE              KEYS                   CA     90002891075
12828A99A71925   TIMOTHY            GARBISO                CO     90006170990
1282962857B423   LISA               MASSEY                 NC     90012376285
12829A85A93745   CARLA              POTCHIK                OH     64513760850
1282B29554B268   JESSICA            FERGSON                IA     90011072955
1282B99454B26B   BRANDILEE          MCDONALD               NE     26075499945
12831757A5B526   VIVIANA            SHORA                  NM     90002637570
1283188737B343   JOCELYN            HUFF                   VA     90001948873
1283191A43B39B   WILLIAM            STILSON                CO     33064259104
12831A8792B235   AARON              LONG                   DC     90006480879
1283315164B26B   TRUDIE             LEMON                  NE     26097771516
128331A1791895   KIMBERLY           DURANT                 OK     90014401017
1283356A761985   MARIA              ELENA                  CA     90000465607
12833736A91579   YOLANA             RUVALCABA              TX     90013797360
1283471A251337   TARA               HAAN                   OH     66083947102
128352AA391263   DAISY              WILSON                 GA     14580692003
1283637724B588   RANDY              HAYES                  OK     90014463772
12836A2239154B   JAVIER ALEJANDRO   TORRES                 TX     90012480223
1283754955B526   RENETTA            WOODS                  NM     35082165495
1283755789154B   ISRAEL             ARENAS                 TX     90014565578
1283826637B489   SARAH              TACKETT                NC     90013352663
1283919A991895   TWANDA             BLANKS                 OK     90014771909
1283924454B588   JULIA              COVARRUBIAS            OK     90005012445
1283B2A455715B   WILLI              PANAMENO               VA     90010802045
1284116424B23B   BRANDY             KERMOADE               IA     90010191642
12841A2195715B   GLOBAL             FOOD                   VA     81019220219
12841A8599154B   ANGIE              MARTINEZ               TX     75033250859
12842169672B62   DIANE              VIGIL                  CO     33094901696
128421A789154B   MARCOS             CASTILLO               TX     90007021078
1284279765B526   LINDA              AGUAYO                 NM     35091917976
12842A54A93745   KAYLA              CALVERT                OH     90015190540
1284319939154B   PRICILLA           RODARTE                TX     90007231993
1284489747B489   ARTEMIO            COLIN                  NC     90013928974
12845421772B55   NAYENCY            FIGUEROA               CO     90003464217
128457A559154B   CARLOS D           RAMIREZ                TX     90013957055
128478A5A55948   BRANDON            GARCIA                 CA     90011788050
1284912375B526   DAIVD              MIERA                  NM     90000361237
12849164976B68   BERNIE             DALIT                  CA     90012781649
1284984644B26B   S                  WILLIAMS               NE     90015138464
1285236569196B   MARGARET           MASAI                  NC     90010403656
1285236A357147   EMILY              FLORES                 VA     90014773603
12852A74197122   ROBERT             WILLAIMS               OR     90005860741
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12852A78561972   DANNY        CHRISTENSEN                  CA     90010930785
12853259372B84   JUSTIN       SOKLIN                       CO     90010712593
128534A8491263   EDNA         DAVIS                        GA     90013164084
1285359A524B7B   REGINA       HUNTER                       DC     90010805905
12853A13961972   RITO         RODRIGUEZ                    CA     90013340139
12853A7A847956   JUSTIN       KNUCKLES                     AR     24007180708
1285439884B588   KACY         BARR                         OK     90013393988
12854791A91263   VALERIE      DAVIS                        GA     90014917910
12854A8944B588   TYRONE       WILLIAMS                     OK     90010830894
1285539194B588   MELISSA      MORRISON                     OK     90010963919
128561A2661972   FERNANDO     RASCON                       CA     90014921026
1285671624B26B   KIRK         CLICK                        NE     90012097162
1285812527B444   SHANICE A    TRUSS                        NC     11016231252
128582A6684375   SHANSTACY    PUGH                         SC     90005622066
12858935A91263   DIALISS      VILLA                        GA     90015019350
1285997435B526   JULIO        AMEZQUITA                    NM     90009389743
1285B196161958   MARIA        SANCHEZ                      CA     90014491961
1285B23175B526   JENNIFER     SANCHEZ                      NM     35007652317
1285B616755976   JUAN         MARTINEZ                     CA     49009596167
12861258A61998   MICHAEL      CALLAN                       CA     90000632580
1286171A661958   MARCUS       FOREMAN                      CA     90014407106
1286297345B526   CLARE        JACOBS                       NM     90012319734
12863319A57147   JUAN         AMAYA                        VA     81075263190
1286358159154B   ESTEFANIA    FAVELA                       TX     90013955815
1286451A99154B   LIZBETH      GRACIA                       TX     90011375109
1286527AA93745   ALISHA       CAGG                         OH     90003452700
1286553A857147   DOUGLAS      HYDS                         VA     90011585308
128659A2561958   MARICELA     VARGAS                       CA     90009649025
12865A4674B23B   KELSEA       LYONS                        IA     27079570467
1286789A391263   LAJEAE       MALLARD                      GA     90015528903
12868976A9154B   VICTOR       ALMANZA                      TX     90009279760
12869244572B62   ALBERTO      DURAN                        CO     90006482445
12869485372B55   THOMAS       RIGGS                        CO     90003464853
12869A26257147   WILLAIM      GRESHAM                      VA     90012880262
1286B2A6684375   SHANSTACY    PUGH                         SC     90005622066
1286B772191569   MARILYN      AGUILAR                      TX     90005877721
1286B829857147   GLOVONNI     RICHARDSON                   VA     90006178298
1286BA95576B68   MACEDONIA    FLORES                       CA     90014110955
128714AA657562   RICARDO      MUNOZ                        NM     90008104006
1287197A37B695   GABRIELLE    THREATT                      GA     90014089703
1287264654B588   MARINA       CARRILLO                     OK     90015126465
1287336A172435   JEFFREY      RENQUIST                     PA     51008403601
12873751A31635   ISIDRO       LOERA                        KS     22093967510
12874517972B62   CONNIE       BENTLEY                      CO     33054485179
12874A61A93745   MINDY        HINKLE                       OH     64577900610
12875929372B62   ABRAHAM      GONZALEZ-BELTRAN             CO     90013179293
1287612A86192B   DINA         MEYERS                       CA     46087321208
1287634A272B55   VERONICA     DELGADO                      CO     33044143402
1287693864B588   CLAUDIA      CAMACHO                      OK     90014169386
12879A8587B489   GWENDOLYN    JONES                        NC     11055360858
1287B36A24B588   TIFFANY      HAILEY                       OK     90013213602
1287B432261958   ERIKA        CARDENAS                     CA     90010264322
1287B477857147   JOHN         SOTO                         VA     90014794778
1287B6A6157147   JENNIFER     RILEY                        VA     90014516061
1287B757A4B26B   TIMOTHY      GILBERT                      NE     90013427570
1287B817891569   LUZ          ANGEL                        TX     90013328178
1287B877257147   LUIS         GOMEZ                        VA     90012878772
128812AA94B267   NICOLE       HARMON                       NE     90010292009
12882239876B68   KATHERINE    LOPEZ                        CA     90012282398
1288285365715B   ANNE         BARNES                       VA     81095798536
1288289A947956   BRANDY       TRAN                         AR     90011308909
12882A5777B489   ERIKA        CORONA                       NC     90007710577
1288355464B287   JOSE         ORTEGA                       NE     27086015546
12883925A61976   ALEJANDRO    TOPETE                       CA     90012699250
128839A4291895   KEVIN        BURRIS                       OK     90008699042
128847A724B26B   CLAUDIA      YEPES                        NE     26097347072
12886154472B62   ISABEL       DIAZ                         CO     33053811544
12886A1334B588   AALIYAH      LEWIS                        OK     90013110133
1288785A35715B   CHRIS        MOSSMAN                      VA     90011328503
1288839785B526   ZAYRA        SALAS                        NM     90006183978
1288848624B26B   REBECCA      MARTINEZ                     NE     26083154862
128887A2976B68   JUANA        SANCHEZ                      CA     90013117029
1288B136872B62   SHAWN        MARSH                        CO     33088161368
1288B344557147   CIRO         AREVALO                      VA     90010023445
1288B64A751337   TRACIE       PHARRIS                      OH     90013256407
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1289154514B26B   AUSTIN        WIESE                       NE     90014075451
1289164845B526   OLGA          ALVAREZ                     NM     90014546484
12892A93976B42   MARILYN       MORENO                      CA     90009930939
128935A4661976   CLARISSA      LUNA                        CA     90003875046
12893717476B68   JAIME         MEJIA                       CA     46065457174
1289392A34B588   LAWANEA       STEVENS                     OK     90014769203
12894A4455B526   OLLIE         COLINA                      NM     90014600445
12896295A24B7B   ANTOINE       PARKER                      DC     90010882950
1289646935B526   JENNIFER      WALTERS                     NM     90011124693
12897395597B69   TRAVIS        TUCCI                       CO     90001973955
1289746625B526   GRACIELA      MARQUEZ-ARELLANES           NM     90013494662
12897A65961958   FAVIOLA       BRAVO                       CA     90013690659
1289854364B537   ISMELDA       TEEL                        OK     90010835436
1289939563B393   MARY          TRUJILLO                    CO     90014813956
1289B151261972   YUDITH        ORDAZ                       CA     46017511512
1289B179293745   BRIAN         GRUBE                       OH     64595581792
1289B89A25B154   CAROLYN       HARPER                      AR     23076838902
128B135984B588   MARDA         MALDONADO                   OK     21511613598
128B13A9755976   JULIAN        MUNGIA                      CA     90012773097
128B1472191895   BILLY         GREEN                       OK     21086744721
128B191374B26B   DANIELLE      MAHLOCH                     NE     26046339137
128B1A58493745   KIMBERLY      GOINGS                      OH     64567290584
128B2114857147   JULIO         MINA                        VA     81091391148
128B2537A91569   KATRINA       SANDOVAL                    TX     90012885370
128B2793A41384   ASIA          ROLAN                       MA     90015487930
128B2A6557B489   KAREY         WRIGHT                      SC     90013980655
128B3255A31687   GUADALUPE     OLGUIN                      KS     90004542550
128B3878257549   SHERRIE       BELLON                      NM     90008558782
128B4638276B68   YESENIA       TORREZ                      CA     46047896382
128B5491891569   SYLVIA        GONZALES                    TX     75015084918
128B5873191895   REGINA        SEXTON                      OK     21083688731
128B5999355976   JESUS         CUEVAS                      CA     90014339993
128B64A894B588   ROSA          LOPEZ                       OK     90015114089
128B6961947956   BECCA         SANCHEZ                     AR     90006079619
128B6981361976   DESMOND       EWING                       CA     90013129813
128B7111193725   GREG          JONES                       OH     90001181111
128B7185457147   JOSE          CASTRO                      VA     90015071854
128B7217672B62   LAURA         SHEEDER                     CO     33089592176
128B7398193745   TONI          WHITTEN                     OH     90012013981
128B794424B268   CAROL         RADKE                       NE     90004449442
128B8227193767   DEWBERRY      ESHELLE                     OH     90004362271
128B83A8572435   JAMYE         IMM                         PA     51009713085
128B8958655948   BENITO        JUAREZ                      CA     90011779586
128B915A861976   CHRISTOPHER   STEWART                     CA     90014541508
128B978895B526   ANALICIA      ALDERETE                    NM     90008577889
128B9897777539   ROBERT        JOHNSON                     NV     90002368977
1291134225B53B   MONIQUE       SANDERS                     NM     35069873422
1291199913B388   LUIS          FUENTES                     CO     90007259991
12912418424B7B   ROBERT        NEELLEY                     DC     90015384184
12912A1212B235   STEPHANIE     ARMSTRONG                   DC     81093460121
12913388A57147   CONSUELO      PACHECO                     DC     90007603880
129134A147B489   MELINDA       SANDERS                     NC     90011084014
1291479429154B   MYRNA         BUSTOS                      TX     75011647942
12915426276B68   KELIS         NEIDIFFER                   CA     90012224262
1291563452242B   DAWN          BERNAL                      IL     90014846345
1291566884B26B   SKEET         RIGGS                       NE     90006746688
1291619A861938   PEDRO         HERNANDEZ                   CA     46057371908
1291674455B526   RYAN          SARRACINO                   NM     90015557445
1291692532B242   STEPHANIE     OHNSON                      DC     90008789253
129169AAA4B26B   NIKOLA        PICKENS                     NE     90014549000
1291731229154B   JUAN          ESCOBEDO                    TX     90010283122
1291755A591263   NASHLEY       GARCIA                      GA     90013135505
129179AAA61972   HELIODORO     DOMACIO                     CA     90007309000
12918556272B62   JOSE JUAN     LAZARO                      CO     33088595562
1291874859154B   MARIO         VALDEZ                      TX     75064577485
12918A45961972   CINDY         VIGIL                       CA     90013530459
1291951A755948   HELMUT        KUHN                        CA     90005815107
1291B348491895   LEKESHA       SIMMONS                     OK     90008353484
1291B39938B192   ANDREA        CHILDS                      UT     90006393993
1291B87AA4B588   EDGAR         ROLANDO                     OK     21587688700
1291B95A961972   VERONICA      VELDEZ                      CA     90011099509
1291BA5AA55976   GREGORIO      GUITTEREZ                   CA     90007740500
1292165A84B588   KEVIN         JOHNSTON                    OK     90014106508
1292189A14B23B   HEATHER       HOBERG                      NE     27019858901
12922A4474B26B   AMY           GREEN                       NE     26048000447
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1292344847B489   JAMES          DEAN                       NC     90008824484
129236A554B588   KENNETH        HOLMES                     OK     90009316055
12923764A91263   RONNIE         ROBINSON                   GA     90013347640
12923871A33B28   SONIA          KONKLE                     OH     90012338710
1292433899154B   JERRY          PONCE                      TX     75031803389
1292483185B39B   MACKENZIE      MORTER                     OR     90011808318
1292528577B489   RAVEN          GOLDWIRE                   NC     90014222857
129252A5361976   RENZZO         RAMIREZ                    CA     90010282053
12925A91393745   ALYSHA         COX                        OH     90010640913
1292621A361976   RAY            MOORE                      CA     46082092103
1292661639154B   MANNY          TERRAZAS                   TX     90012716163
129266A6272435   MARSHA         LOVATO                     PA     51077886062
1292729AA61985   BOBBIE MARIE   HIPPERT                    CA     90009412900
12927844A9154B   GUADALUPE      HERNANDEZ                  TX     90013968440
129278AA461985   BOBBIE MARIE   HIPPERT                    CA     90014558004
12927AA9476B68   JAZMIN         TERRAZAS                   CA     90014920094
1292983875715B   JENNY          DELCID                     VA     90000858387
1292B14A461958   CHRISTINA      MONTOYA                    CA     90014331404
1292B758691569   MARIA          LOPEZ                      NM     90007497586
12931535976B68   ANGIE          HERNANDEZ                  CA     90011845359
1293185154B26B   TROY           WILHITE                    NE     90012398515
1293291A933699   IVONDE         MOORE                      NC     90015489109
12933228872B62   LISA           GARCIA                     CO     90007782288
129334A7893745   RACHEL         SCHMIDT                    OH     64523694078
1293474859154B   MARIO          VALDEZ                     TX     75064577485
129353A964B588   APRIL          HERRIN                     OK     90010253096
1293563529154B   LORENZO        SALDIVAR                   TX     90014986352
12935689A4B26B   HOWARD         MCBRIDE                    NE     90005676890
1293574A261976   MAYCO          SOTO                       CA     90014367402
12935A63A91263   JASMINN        HUNT                       GA     90009280630
1293652964B53B   JESSICA        WARREN                     OK     90013595296
129369AA347956   DENISE         MYERS                      AR     24098209003
1293738A224B7B   ALEXANDER      BONILLA                    MD     90015363802
1293854879154B   CASSANDRA      GUTIERREZ                  TX     90014705487
1293869A761976   BROWNING       JAY                        CA     90014846907
12938A69261938   JUAN           RODRIGUEZ                  CA     90008210692
1293B16A891263   TINA           GIBBS                      GA     90007461608
1293B79A593745   DUSTIN         FORTMAN                    OH     90008197905
1293B89539154B   JUSTIN         CAMPOS                     TX     90012888953
1294183A861958   ARTURO         OSEGUERA                   CA     90000638308
12941944A33699   JANICE         GREGORY                    NC     90009899440
12943523976B68   ANTONIA        ZAMORANO                   CA     90014735239
1294359369154B   ILSE MARIEL    LOPEZ                      TX     90013955936
129439A755B526   LENITA         GRAHAM                     NM     90015109075
12943A86757147   DIEGO          HEBDEN                     VA     90014300867
1294551114B588   SHALA          STEVENSON                  OK     90014805111
1294575879154B   JOSEPHINE      GONZALEZ                   TX     90014497587
1294675375B526   BLANCA         REYES                      NM     90013047537
1294689524B26B   SCOTT          OGBURN                     NE     26005928952
1294791A79154B   ISMAEL         MARQUEZ                    TX     75072489107
12947A87361972   SILVIA         EVARISTO                   CA     90010850873
129481A3161997   JHANS          SANTIZO                    CA     46018851031
129481A724B26B   ASHLEY         HOFMANN                    NE     90006241072
1294865654B26B   DAVID          MURPHY                     NE     90014636565
1294931717B489   DSIRE          WILLIAMS                   NC     90011533171
1294B259472433   SCOTT          MONK                       PA     90003792594
1294B41A361972   RICARDO        CHAVEZ PALMA               CA     90013064103
12951482576B68   MIKE           PETERS                     CA     90010474825
12951698A7B459   MARY           MCKOY                      NC     11005486980
129518A3593745   NICOLE         HUTSON                     OH     90009758035
12951A75991895   RICARDO        PAYTON                     OK     90013710759
129524A4462324   KADEIDRA       HAMILTON                   AZ     90015024044
12952551A2B966   MARIA          JUAREZ                     CA     90002255510
129532AA991263   JORDAN         RICHARDSON                 GA     90015522009
129536A4561976   MARCOS         NICARAGUA                  CA     46043826045
1295371AA47956   HEATHER        MCCOWAN                    AR     90013227100
129539AA84B588   BRANDI         BAILEY                     OK     21557489008
129547AA63365B   JONAH          POTTS                      NC     90007827006
12955243276B68   MAURA          SALGADO                    CA     90014882432
1295527365B526   BRENDA         VASQUEZ                    NM     35085412736
1295615765B526   IRVIN          ALVIDREZ                   NM     90008841576
12956442A55976   VICKIE         MARTINEZ                   CA     90012884420
1295711695B526   RONDA          HUNSLEY                    NM     35058751169
1295775AA55976   JOSE           MARCIAL                    CA     90000277500
12959653257B59   ROBERTO        NAVARRO                    PA     90014216532
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1295988824B588   LESVIA       HERNANDEZ                    OK     21529998882
1295B43132B249   DOMI         HERNANDEZ                    DC     81013194313
1296125737B489   LILIAN       ACOSTA                       NC     90011902573
1296165865B526   GARY         GARCIA                       NM     35035016586
1296239939154B   DIANA        RODRIGUEZ                    TX     90014803993
12962629372B37   JORGE        MEDRANO                      CO     33068976293
129626A814B23B   DONNIE       FRANCIS                      NE     27039686081
1296283A461976   JUANA        VARGAS                       CA     90012358304
12962A46A91895   KAQUAN       HERREA                       OK     90006920460
12963313524B82   GERRIC       MORGAN                       DC     90004013135
12963914172B62   MIKE         VESSAR                       CO     90013159141
1296393A172B55   ALMA         JUAREZ CORONA                CO     33051069301
12963A1A88B165   TERAH        MACHEGO                      UT     90007800108
1296439634B26B   JESSE        BALDWIN                      NE     90003263963
1296442593B324   JIM          ANDERSON                     CO     90013304259
12964A59833699   EVERSLY      JOHNSON                      NC     90013280598
12965583376B68   BENJAMIN     LOPEZ                        CA     46056625833
12966191572B62   MOHAMED      MEDIANI                      CO     90010711915
12966251876B68   HARRY        WILLIAMS                     CA     90013032518
1296692AA61972   FABIAN       DIAZ                         CA     90009609200
12966A12951337   ERIC         MADDEN                       OH     90009510129
12967178672B62   JOSE         MARTINEZ                     CO     90006661786
1296791A655976   DANIEL       SIMONE                       CA     49080819106
12967A1714B26B   TRACIE       GILEA                        NE     90009380171
12968148976B68   MARCUS       REIGHER                      CA     90012421489
12968618524B7B   LAWANDA      SIMMONS                      DC     90012706185
12968A63961976   AMY          VILLAREAL                    CA     90013030639
12969743A91B43   MARIA        SOSA                         NC     90015307430
1296B469361958   WILL         STODDARD                     CA     90015144693
1296B633A9154B   HECTOR       ALVARADO                     TX     90013366330
12971536A2B235   DWAYNE       CHILDS                       DC     90008655360
12971967A9154B   JESUS        CERVANTES                    TX     90014409670
129723A3A91884   TAKIA        GREEN                        OK     90014873030
1297435365B526   HECTOR       VILLA                        NM     90007543536
12974633A9154B   HECTOR       ALVARADO                     TX     90013366330
1297552A257147   EDGAR        TORRES                       VA     90012925202
1297554A172B62   SARAHMARIE   HALL                         CO     33023135401
1297562AA31962   LEONCIA      RUKAKIZA                     IA     90014056200
12975A13A91569   MARIA        RODRIGUEZ                    TX     75009790130
12976656A55976   MIREYA       NENDOZA                      CA     49008646560
1297776A13B393   MILDRED      TUGAOEN                      CO     33071057601
1297841844B26B   SHREE        PUGALIA                      NE     90012424184
1297929A572B55   MONCIA       LEYBA                        CO     33088192905
1297B37217B489   ELWOOD       COLLINS                      NC     90014693721
1297B6A6333699   LORI         JACKSON                      NC     90009516063
1297B85494B26B   JEREMY       LACHANCE                     NE     90010738549
1297B998872B62   JENNIFER     PREUSS                       CO     33089729988
12981111A55976   VERONICA     GARZA                        CA     90012371110
1298119A861938   JESUS        CASTRO                       CA     46022181908
12981A7327B442   FABIOLA      CORREA                       NC     90013450732
12982275872B62   VICTORIA     RAZO                         CO     90005952758
1298236382B966   AMBER        LANE                         CA     90005773638
12982759A47956   AMBER        PRICE                        AR     90014597590
129829A7A57122   DEYVI        MENDOZA                      VA     81091699070
12982A4319154B   MARTHA       CHAPARRO                     TX     90012530431
1298326375715B   RENE         ESTEBAN                      VA     90010812637
1298344215B154   ANTONIO      PEARSON                      AR     23002024421
1298375139154B   NORMA        VEGA                         TX     90014527513
1298389A94B23B   MICHEAL      CHANTRY                      NE     90003928909
12983A95991263   WINTON       WATERS                       GA     14572410959
12984382872B62   GUADALUPE    BONILLA                      CO     33032363828
1298521744B23B   IRISH        MILLIS                       NE     27057152174
129861A7461938   PAUL         HARVEY                       CA     90013231074
1298682169154B   CESAR        ESPARZA                      TX     75046788216
1298732A19154B   SARAH        HERNANDEZ                    TX     90011033201
129881A6391547   WARREN       TREMBATH                     TX     90009161063
1298832A19154B   SARAH        HERNANDEZ                    TX     90011033201
12989214A61976   ANDRES       ROSAS MERCADO                CA     90013562140
12989A26261972   HECTOR       RODRIGUEZ                    CA     90013990262
1298B83514B26B   MICHAEL      NAYLOR                       NE     26094638351
1298B854847956   JULI         LITTLETON                    AR     90013408548
129914A7291899   GLORIA       WALLACE                      OK     21083474072
12991758576B68   TRAVIS       CUZICK                       CA     90014167585
129925A1261958   RIA          BOLT                         CA     90003445012
1299294814B582   MAGDALENA    MARTINEZ                     OK     90008429481
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1299353765715B   CRISTIAN     DENTURA                      VA     90001635376
1299393A593736   TANA         STEWART                      OH     90007349305
1299516999154B   EMMA         CARDOZA                      TX     90009281699
1299588A776B68   VIDAL        CHAVEZ                       CA     46010778807
129962A2591944   HECTOR       MONTOS                       NC     90009282025
12999162752B55   ELIZABETH    JONES                        NM     34051331627
12999868172B62   MARIA        MORALES                      CO     90012518681
12999A25991263   STEPHEN      STUCKEY                      GA     90015570259
1299B124872B62   JACQUELINE   DICKMAN                      CO     33000701248
1299B558184375   DANIELLE     SEABROOK                     SC     90005645581
1299B63654B588   MICHELLE     WITT                         OK     90002006365
1299B692A7B489   DARRON       VAUGHN                       NC     11090986920
1299BA69276B68   CECILIA      RANGEL                       CA     90011290692
129B1856184375   CHRIS        WATSON                       SC     19098288561
129B197199154B   RODOLFO      PUENTES                      TX     90014409719
129B2919491569   YASMIN       VIVAR                        TX     90011099194
129B2A62461972   ANA KAREN    HERNANDEZ                    CA     90008950624
129B3121591569   F.X          AMAYA                        TX     75058861215
129B3455955976   YANG         MOUA                         CA     49080144559
129B3636693745   ERIC         MAXON                        OH     90008496366
129B3866A57147   GAUTAM       ACHLIYA                      VA     90012418660
129B3A46561972   DEJA         MCGOUGH                      CA     90011290465
129B3A76A57147   ROXNI        ESPINAL                      VA     90012390760
129B416A17B489   ROBERT       BURRIS                       NC     90001611601
129B4273461958   ZULANIE      CANCINO                      CA     46046622734
129B4A37561938   ARTHUR       RURUP                        CA     90013520375
129B561644B26B   LADONNA      BIVENS                       NE     90015016164
129B5A54A51337   TIA          MINOR                        OH     90013240540
129B6116876B68   ROSA         BARAJAS                      CA     90008661168
129B685334B588   JENNIFER     NUNEZ                        OK     21550518533
129B68A667B398   RAMATU       KARGBO                       VA     81055968066
129B78A5555948   DIANNA       HAMLIN                       CA     90011808055
129B816419154B   DIANA        NAVARRO                      TX     90003121641
129B8598361976   DAVID        TIRADO                       CA     90013935983
129B9189461958   IGNACIO      GUTIERREZ                    CA     90010311894
129B9451133699   CHEYENNE     REDDING                      NC     90013804511
129B9815455948   JOSE         RIVERA                       CA     90011808154
129B985A24B588   PATRICIO     ROSALES                      OK     90013898502
129BBA3A29154B   PAULINA      RODRIGUEZ                    TX     90012480302
12B11482843588   JESSE        WEBB                         UT     90002524828
12B11591361968   INDIA        LEWIS                        CA     46022005913
12B11623861976   MARINA       CERVANTES                    CA     90009716238
12B1289935715B   MARTIR       HERNANDEZ                    VA     81016958993
12B1321689154B   STEVEN       LINO                         TX     90014492168
12B13449372B62   CORY         SANDOVAL                     CO     90013074493
12B14792555948   LAURA        PIMENTEL                     CA     49004697925
12B1532A384375   LIBNA        PEREZ                        SC     90005453203
12B1535949154B   JUAN         BARRON                       TX     90013953594
12B1669244B26B   CREONDA      SILVA                        NE     26053546924
12B16795657147   NELLY        HERNANDEZ                    VA     90001757956
12B16A25347956   BRUCE        FIMPEL                       AR     90013640253
12B17117151337   MARBELLA     SANTIAGO                     OH     66088541171
12B1738365B396   PAUL         BASCON                       OR     90011843836
12B1761849154B   MARTHA       OLIVAS                       TX     90012656184
12B18126176B68   ROXANNE      OROZCO                       CA     90013011261
12B18311591569   FRANKIE      WILSON                       TX     90013363115
12B1894454B23B   WENDY        KITZMILLER                   NE     27086589445
12B18994857147   BLANCA       CRUZ                         VA     90013859948
12B19622151337   MONICA       BRIDGES                      OH     66007596221
12B1967945B526   JESSICA      VILLARREAL                   NM     90012596794
12B19A32493745   MARK         BAKER                        OH     64575250324
12B1B645533B53   CARPER       MCMILLAN                     OH     90015486455
12B21429655948   JAVIER       RIVERA                       CA     90013934296
12B21881172B95   CHRIS        COOPER                       CO     33058408811
12B2193275B154   CONNIE       HARRIS                       AR     23037569327
12B22248231687   AMANDA       BYINGTON                     KS     22024962482
12B22562961958   MANUEL       HENDERSON                    CA     46060345629
12B22756157147   VINCENT      MAI                          VA     90011187561
12B22953676B68   ALICIA       SANTILLAN                    CA     90008109536
12B23382572B62   DANIEL       DENNISON                     CO     90014993825
12B23576455948   LUZ MARIA    VALLE                        CA     90014765764
12B23867172435   BETTY        RENWICK                      PA     51019858671
12B24137551337   JASON        JOHNSON                      OH     90012101375
12B2439A557147   ERNESTO      POMA                         VA     90014853905
12B24497261976   LELA         BERRY                        CA     90012874972
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12B2458A631687   JUAN          ANTUNA                      KS     90013635806
12B24819893745   RUTH          DEBROSSE                    OH     90006548198
12B24833A77539   DAGOBERTO     ESTRADA                     NV     43088758330
12B255A5791952   JAIRO         PANIAGUA                    NC     90007865057
12B25A9714B588   MARIA         GARCIA                      OK     90007720971
12B26364433699   STACY         STRICKLIN                   NC     90014573644
12B26414393745   EMMA          BLAIR                       OH     90012864143
12B2725A533699   JENNIE        DEGENHARDT                  NC     90014372505
12B27923451337   MISTY         WARNER                      OH     90010539234
12B2859A49154B   NAYHAM        RAMIREZ                     TX     90014575904
12B28626655948   BRYANT        JEFFERIES                   CA     90010506266
12B28677A9154B   JACLYN        KOVACH                      TX     75034476770
12B29244561976   MARIA         GONZALES                    CA     46075182445
12B297AAA5B526   EMMA          CERECERES                   NM     90014817000
12B29981561968   VINICIO       QUINONEZ                    CA     90014949815
12B2B43145715B   TITIANA       FERNANDEZ                   VA     81016964314
12B2B998261958   FRANSISCO     BENITEZ                     CA     90008169982
12B32136891895   KENISHA       JAMISON                     OK     90014761368
12B32338157147   JULIANA       MASSONI SENOZAIN            VA     90012343381
12B32485493745   NATHAN        SWARTZ                      OH     64585054854
12B32562661972   JUDY          CREVELING                   CA     46004985626
12B32824A91827   VANESSA       MARTINEZ                    OK     90004838240
12B33312261972   JOSHUA        HENDRA                      CA     90013833122
12B33345155976   ROSA          NAVIA                       CA     49055063451
12B33399472453   LENANE        MACK                        PA     51002623994
12B3342114B26B   BRENDA        HOFFMAN                     NE     26028834211
12B337A6455948   KIMMY         PRICE                       CA     49013537064
12B34153861938   MUNNOS        MAIRA                       CA     46018191538
12B342A3257147   EDY           PEREZ                       VA     90010382032
12B34539972435   RANDY         UHR                         PA     51067865399
12B34A93261972   TAMIKA        DONNELL                     CA     90015160932
12B36321131687   MIKE          WALL                        KS     90002093211
12B36463561938   GUILLERMO     FERNANDEZ                   CA     46029734635
12B36465293745   DEEANNA       SCHUMACHER                  OH     90014194652
12B38218872B62   CARLOS        CASTRO                      CO     90007752188
12B3897734B588   HOLLIE        OLIVER                      OK     90009389773
12B3B12A593745   SYLVANA       COOPER                      OH     64550731205
12B3B17A94B588   DAVID         STITH                       OK     90004811709
12B3B685893737   RACHAEL       NORTH                       OH     90009846858
12B3BA41251337   LOPEZ DEIVY   VALENCIANO                  OH     90007330412
12B41232233699   TIMOTHY       HAMLIN                      NC     90002112322
12B41458955976   MIGUEL        GUTIERREZ                   CA     49075804589
12B41484855948   ALONZO        HERNANDEZ                   CA     90012264848
12B4159444B922   AMY           TRUMBLE                     TX     76510165944
12B4178145715B   TSISE         LIBEN                       VA     81076047814
12B42864647956   CYNTHIA       WILLENBRING                 AR     90009118646
12B434A5833699   JACQUELINE    GORDON                      NC     90014574058
12B434AA647956   KATHY         SIPE                        AR     24090504006
12B43566961972   THERESA       TAMAYO                      CA     90007855669
12B4358565593B   LORI          CORNISH                     CA     49014775856
12B4373A991569   MELANIE       RAMIREZ                     TX     90010837309
12B44878561938   LORENA        RAMIRTEZ                    CA     90011238785
12B44948947956   RAFAEL        DOTSON                      AR     90005669489
12B4511212B966   MARIANA       LOPEZ                       CA     90003661121
12B4513445B526   SHAWN         WILLIAM                     NM     90012071344
12B45568831635   MAUNEL        ALCAREZ                     KS     22016685688
12B45AA5A9154B   LIZA          CHAVIRA                     TX     90006450050
12B462A2A55976   HELEN         MATA                        CA     90013112020
12B46923955948   LETY          MACIAL                      CA     90012859239
12B46959261972   JENNIFER      MCCANN                      CA     90007559592
12B469A7251337   JACOB         BARTOSCH                    OH     90015339072
12B49584172B62   MALN          MITCHELL                    CO     90008895841
12B49922855976   YENI          MOTA                        CA     90010719228
12B49A28855948   RODRIGO       OSUNA                       CA     49034820288
12B4B2A3391895   ANTHONY       SMITH                       OK     90013082033
12B5112935B526   JORGE         OROZCO                      NM     35073541293
12B51225891526   HUGO          LICON                       TX     90003622258
12B51277177344   KESHIA        GADISON                     IL     90010382771
12B51597A61976   KOKSAL        OZDEMIR                     CA     90003025970
12B51713672B55   DERRICK       ANDRESS                     CO     33012827136
12B51998261958   FRANSISCO     BENITEZ                     CA     90008169982
12B52592555948   JORGE         VILLANUEVA                  CA     90014765925
12B5264954B26B   EVELYN        AGUILAR                     NE     90014276495
12B5292A84B588   AIDE          MEZA                        OK     90008949208
12B52A7A24B26B   RACHAEL       MORRELL                     NE     90005970702
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12B5335549154B   MARIA E       GAITAN                      TX     90009613554
12B54114191569   LUZ           FELIX                       TX     75024131141
12B543A8576B68   JOSEPH        DAME                        CA     90015243085
12B54578991895   MARIAH        GUORRORO                    OK     21080515789
12B54739333645   JENNIFER      HERNANDEZ                   NC     90007517393
12B55482772B23   MARY ANNE     BOWE                        CO     33079174827
12B5594845B154   ASHLEY        JOSHUA                      AR     90006759484
12B5594A291569   ARNOLDO       GARCIA                      TX     75086739402
12B565A4761958   JAVIER        SANCHEZ                     CA     46015145047
12B56677961976   JOHN          RIOS                        CA     90013526779
12B566A2155976   SERAFINO      WESSON                      CA     90007586021
12B57478A72B62   HAN           JORGENSON                   CO     90013374780
12B57934961976   MARCOS        PINA                        CA     90013099349
12B5921A561938   ALMA          DOLORES                     CA     90009852105
12B59564776B68   YVETTE        PEREZ                       CA     90012275647
12B5B296A91895   MARCELA       PERALES                     OK     90001452960
12B5B32A772B62   ANA           EZPARZA                     CO     90012513207
12B5B8A3655976   VALERIE       LEAL                        CA     90012168036
12B5B963955976   BARBARA       RIVERA                      CA     90014309639
12B6132845B384   STEVEN        BERTRAM                     OR     44510443284
12B61355857147   FELIX         GOMEZ                       VA     90009903558
12B61478A72B97   NORA          CORTEZ                      CO     33030384780
12B61533572B62   EZRA          RIVERS                      CO     90010065335
12B62188761938   JOSEPH        MATEO                       CA     90012691887
12B62465891263   JOHN          WILLIAMS                    GA     90014964658
12B62477872B62   JESUS         JIMENEZ                     CO     33088904778
12B63223591569   RICARDO       GARCIA                      TX     75087922235
12B63336372B62   JOSE          ALONSO                      CO     90005343363
12B63397461938   CHRIS         CATON                       CA     46070183974
12B64795451337   DONALD        STAMMER                     OH     90011027954
12B65283731687   JARVIS        KIRK                        KS     90014702837
12B6548A793745   BRITTNEY      PRITCHARD                   OH     90014254807
12B65698291263   PAMELA        KAPPELER                    GA     90004536982
12B656AA172458   MISSEY        MCCANNA                     PA     90000376001
12B65793372453   ASHLEY        REMALEY                     PA     90002937933
12B6616A191895   JOSE          DE JESUS ORTEGA             OK     21072851601
12B66216A61976   AUTUMN        PATTERSON                   CA     90012292160
12B66872791263   ADRIAN        LAWTON                      GA     90013348727
12B66A21747956   LORETTA       BUTLER                      AR     90002250217
12B67173161976   AJSHANEE      CLARIDAY                    CA     90009771731
12B6769452B892   ZADOK         CALLAHAN                    ID     90006026945
12B6854814B588   JOE           RODRIQUEZ                   OK     90006585481
12B68852191895   LEA ANN       LIVINGSTON                  OK     21066208521
12B6898A757147   DIGNA         ESCOBAR                     VA     90002009807
12B6B212231687   DIANNA        GILKEY                      KS     22070342122
12B6B28A155948   FRANCINE      GUERRERA                    CA     90014772801
12B6B756251337   KELLY         NOEL                        OH     66010877562
12B6B9A4A61976   CARLOS        SANCHEZ                     CA     90013049040
12B6BA65572B62   KATIE         ESSEL                       CO     90006020655
12B71138631687   MARCIA        STRUBLE                     KS     90002951386
12B71191676B68   THOMAS        SMITH                       CA     46008371916
12B725A1891263   WILMA         FENNELL                     GA     90013465018
12B7282A34B54B   TROYAWN       JONES                       OK     90008858203
12B74549233699   LAURA         DEBORD                      NC     90004835492
12B74594457147   JEOBANY       MARQUEZ                     VA     90012155944
12B7473459373B   TWINETTE      KNIGHT                      OH     90013547345
12B74775991263   KEISHA        JONES                       GA     90011877759
12B74996391263   LINDA         WASHINGTON                  GA     90009139963
12B75776661976   TERESA        CORRALES                    CA     90002177766
12B76242491895   CHRISTOPHER   MILLER                      OK     90013892424
12B76326172458   JOE           WAYBRIGHT                   PA     90005293261
12B7651627B489   SHAMON        WASHINGTON                  NC     11004535162
12B7689A191827   SHARON        KEPLINGER                   OK     21032408901
12B7775A461976   PATRICIA      MUNIZ                       CA     90008997504
12B778A7A9154B   ADINA         EVANS                       TX     90013968070
12B77A71876B68   GILBERT       SOLIS                       CA     90009500718
12B7854884B588   JUSTIN        CULIFER                     OK     90011615488
12B78792A2B242   TYRONE        HALL                        DC     90001907920
12B787A478B165   ALMIRA        LUKOVIC                     UT     31004327047
12B78976984375   UNESHIA       NESBITT                     SC     90002099769
12B79293572B55   MARCY         BERG                        CO     33098472935
12B7943785B154   SERIGO        ALVAERZ                     AR     90012614378
12B7972357B489   CONIKA        THOMPSON                    NC     90003247235
12B79729791569   SERAFIN       QUINTERO GARCIA             TX     90013877297
12B7B162833155   DEMETRIUS     THOMAS                      IL     90015541628
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12B7B184361972   MARIA             ZUNIGA                  CA     46077471843
12B7B3A6747956   CRYSTAL           COOPER                  AR     24080633067
12B7B636376B68   ASHLEY            CAVERO                  CA     90012726363
12B7BA19493724   NICOLE            GUINES                  OH     90011870194
12B7BA33861958   LUIS              SALAZAR                 CA     90014880338
12B81618255948   ALISHA            TREVINO                 CA     90001986182
12B81629772B62   CHAD              MADRID                  CO     90012716297
12B81A6A384375   ASHLEY            EARLY                   SC     90002100603
12B8215995B526   DAWN              MONTOYA                 NM     90010591599
12B8257A576B68   OMAR              PEREZ                   CA     90012275705
12B83116791895   TARA              MERRILL                 OK     90011291167
12B8392A34B588   LAWANEA           STEVENS                 OK     90014769203
12B84238861958   BETINNA           MAINI                   CA     90014032388
12B84246A72B55   RUBEN             VALDEZ                  CO     90003442460
12B84535661972   JOSE              GODOY                   CA     90014505356
12B84537391895   VONDY             WRIGHT                  OK     21009315373
12B84649133699   CYNTINA           WILLIAMSON              NC     90006566491
12B84653461976   SANDRA            TORRES                  CA     90009856534
12B851A1357147   MALIK             SMITH                   VA     90011231013
12B8538289154B   JASMINE           BADILLO                 TX     90013953828
12B8596357B489   MELVIN            PENA                    NC     90012159635
12B85A67333699   MARIA GUADALUPE   BENAVIDEZ MENDEZ        NC     90014060673
12B86393872B62   MATTHEW           BAROS                   CO     90013513938
12B86519977539   GUADALUPE         SEVILLA                 NV     43096495199
12B8663989154B   KENDRA            MILLS                   TX     90013666398
12B87239A4B588   JOSE              SERRANO                 OK     90014752390
12B87751961938   YESENIA           QUINTERO                CA     90009007519
12B87892261976   CECILIA           HERNANDEZ               CA     90012568922
12B8853428B179   RUBEN             ARREDONDO               UT     90007625342
12B88A55793745   HANNAH            GREEN                   OH     64505090557
12B89439476B68   DANNY             LOPEZ                   CA     46050104394
12B89538891263   NICHOLAS          BRYANT                  GA     90015515388
12B89955361972   ROLANDO           MICHEL                  CA     90014839553
12B8B766191263   IVAN              MARTINEZ                GA     90009457661
12B8B99472B866   DEZRAY            BATES                   ID     90009029947
12B91146861938   CASHIOUS          BURDIEN                 CA     46022231468
12B91488976B68   EVELYN            RUBIDOUX                CA     90014734889
12B91877A51337   CAROLYN           PORTER                  OH     90011028770
12B92613176B68   JAMES             POGUE                   CA     46046286131
12B92958861938   RODOLOFO          PALLARES                CA     90013389588
12B929A3747956   GENEVIEVE         FISHER                  AR     90007889037
12B92A55651337   AIMEELEIGH        MULLINS                 OH     66035490556
12B93112A61972   LAURA             SWANSON                 CA     46032751120
12B93196255976   ADRIANA           HALL                    CA     49095681962
12B9319817B489   JOSE              RIVERA                  NC     90014661981
12B934A8A4B26B   AMANDA            CLAYTON                 NE     90013964080
12B93776191569   VANESSA           AMADOR                  TX     75005767761
12B9381419154B   CONCEPCION        DEL RIO                 TX     75048678141
12B94237872B62   TENE              BALLO                   CO     33001552378
12B9429774B26B   KENNETH           LUNBERRY                NE     26044242977
12B94628155976   BARBARA           AGUSTIN                 CA     90014896281
12B95231A93732   MELINDA           HOLLAND                 OH     90006882310
12B95834151337   JENNIFER          OSBORNE                 OH     90013898341
12B96555831687   KIMBERLY          WILLIAMS                KS     22085165558
12B96641761972   MARIASUSAN        GOMBIO                  CA     46058196417
12B96944572B62   MIKE              PERALTA                 CO     90014759445
12B97189A72B62   SONIA             DELORES MUNIZ           CO     90011111890
12B97487951337   ROSE              CLARK                   OH     90011204879
12B9771124B588   LACY              LOVATO                  OK     90013077112
12B97851961976   MAGGIE            GRAHAM                  CA     46080588519
12B98229361938   JESSICA           MIRANDA                 CA     90003062293
12B9849A591263   LEONARD           SIMMONS                 GA     14594284905
12B9881A39154B   EMILY             ACOSTA                  TX     90013158103
12B99198661938   BRENDA            DAMACIO                 CA     90012121986
12B99583957147   SENDY             VILLANUEVA              VA     90015315839
12B99837376B68   EZEQUIEL          RODRIGUEZ               CA     46078888373
12B9986224B26B   RAYMOND           POOR BEAR               NE     90015158622
12B99A52547956   STEVEN            SHINN                   AR     90013390525
12B9B698561976   JENNIFER          HALL                    CA     90014366985
12B9B6A657B489   JENRY             ESTEVEZ                 NC     90015346065
12BB116269154B   JESSIE            YEPEZ                   TX     90012591626
12BB1197277539   ELIZABETH         TERRELL                 NV     90010101972
12BB123A191579   ANGELINA          MONARREZ                TX     90014752301
12BB1848591263   MARY              GLEN                    GA     90014028485
12BB1A56633699   DIANA             HESTER                  NC     90014610566
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12BB2321A4B922   BRANON           REESE                    TX     90004003210
12BB256985B526   JESSICA          NAJERA-MORALES           NM     90014155698
12BB322454B26B   SHANE            KUMPULA                  NE     26046382245
12BB36A3891569   ERNESTO          ALANIZ                   TX     90012826038
12BB3A7534B23B   MATTHEW          KURTZ                    NE     27079630753
12BB4475147956   KATELYN          COLE                     AR     90011094751
12BB5257391579   TRACY            MENDIETA                 TX     90012032573
12BB557487B489   CHERYL           JONES                    NC     90011515748
12BB5629872453   LYNN             HENDERSON                PA     51020016298
12BB575444B23B   SAMANTHA         BARRETT                  NE     27054477544
12BB5AA1A72B55   NICOLE           WHITEMAN                 CO     90003440010
12BB6318872B64   ARGELIO          RAMIREZ                  CO     90006293188
12BB6335455948   LINDA            MATTHEWS                 CA     90012713354
12BB6392591895   BOBBY            SANDERS                  OK     90013683925
12BB676919154B   SILVESTRE        GALLEGOS                 TX     90013167691
12BB6773557147   NANCY            ESCARCEGA                CO     90001917735
12BB693A55B526   DANTE            CRUZ                     NM     90015089305
12BB6A11976B68   CARLOTA          CASTRO                   CA     90014840119
12BB718214B588   STEVEN           RUFFIN                   OK     90011001821
12BB7349193745   CARMEN           BIRMAN                   OH     90009933491
12BB7722172453   SELENA           BERNER                   PA     90008007221
12BB784895B526   BRANDON          ESPARSEN                 NM     90010428489
12BB7872647956   STEFAN           JOHNSON                  AR     90013458726
12BB791A561976   SANDERS          WILLIAM                  CA     90007339105
12BB839169154B   VICTOR           TERRAZAS                 TX     90015263916
12BB872A976B68   IXZY             VALDOVINOS               CA     90011137209
12BB954597B489   EMMA             BLAKENEY                 NC     11053155459
12BB9925657147   ALEXIS           MACARIO                  VA     90014939256
12BBB56119154B   ALBERTO          MARTINEZ                 TX     90013415611
1311114754B588   KIANNA           ANTWINE                  OK     90012961475
13111338372B62   CHRISTOPHE       JOHNSON                  CO     33096073383
1311154688B832   FIDELIA          MWARIKE                  HI     90012795468
13111A4794B588   HARMONY          HAWKINS                  OK     90003490479
131128A6957147   HECTOR           AGUILAR                  VA     90008018069
1311471A272B62   COURTNEY         NIEBAUER                 CO     33008317102
13114A3975715B   JOCELYN          BRUNS                    VA     90012460397
1311517394B588   JANICE           TERRELL                  OK     90012291739
131155A2561938   MAJIA            GONZALEZ                 CA     90011005025
1311577284B555   FAUSTINO         FELIX                    OK     90006327728
1311616744B555   SHACORIONTE      WEBB                     OK     90012151674
13116827376B68   OSIEL            MARTINEZ                 CA     46010178273
13118117A57147   SALVADOR         MORENO                   VA     90009751170
1311944874B588   CHERISSE         THOMPSON                 OK     90014444487
1311B33468B136   LORNA            NUNEZ                    UT     90009123346
1311B73475B526   ABIGAIL          LANDY                    NM     90015497347
1311B88115715B   GARY             HENDERSON                VA     81002458811
1312128254B588   MITZY            GAZAWY                   OK     90014292825
13121528972B62   MARIAN           MARTINEZ                 CO     90002585289
1312192465715B   CARLOS           ZEPEDA                   VA     90003479246
13121A11931962   TASHONDA         WILLIAMS                 IA     90015450119
13122795476B68   JR               EDWARDS                  CA     90001727954
13122A2997B373   SANDEEP          JAIN                     VA     81071380299
13122A7A161938   DAVID SALVADOR   AVINA                    CA     90013010701
131234AA947956   GAIL             GOFF                     AR     24068654009
1312372352B837   SUE              STRETZ                   ID     42019437235
131237A7491895   RANDALL T        SUMNER                   OK     90009837074
131239A415B154   RYAN             GOINS                    AR     23083679041
1312467A524B7B   JUAN             AMAYA                    VA     90012106705
1312543355B154   LEON             RUNDLE                   AR     90010894335
13125AA283B392   STEVEN           HORN                     CO     33086340028
13126237A91263   JEFFRY           NEWSOM                   GA     90013332370
1312651A94B555   TOI              TRAN                     OK     90014745109
1312762A357147   YLERE            MOULENDE                 VA     90009566203
1312782895715B   SAKDA            PHUENPHIPHOP             VA     90010848289
131283A857B489   INDRA            GURUNG                   NC     90014683085
1312861267B489   MANDALE          HUNTLEY                  NC     90012706126
1312937814B26B   TIFFANY          ANDREWS                  NE     26028893781
131295A1276B68   BRENDA           KEALOHA                  CA     90011745012
1312982728B194   SONYA            DOMINQUEZ                UT     90002788272
13129A87193768   GREGORY          SHAW                     OH     90001360871
1312B617791569   NORMA            ZUNIGA                   TX     75080956177
1313151984B555   CLARISSA         SCHMITZ                  OK     90014745198
1313253724B555   ASHELY           ALLEN                    OK     90014745372
13132A5A447956   LAURIE           LOLLIS                   AR     24007970504
13133353872B62   MARWAH           TAYA                     CO     90010993538
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1313384657B489   DONALD       MOODY                        NC     11005388465
13134341A7B489   HIRALDO      MAYA                         NC     90011973410
13134A84451337   BERNA        BRANT                        OH     90014570844
13135446A61938   FRANCISCO    OCAMPO GALEANO               CA     46061354460
13136875972B62   SOPHIE       BUI                          CO     90008198759
13137331A7B489   CAROLINA     ROMERO                       NC     90005763310
1313742A847956   CARLOS       BONILLA                      AR     24056644208
1313788A931687   BETTY        GARZA                        KS     90007038809
1313831544B555   DAVID        CAMERON                      OK     90011663154
13138455A85936   JESSICA      HOBBS                        KY     90000884550
1313852485B526   SANDRA       SANDOVAL                     NM     90006325248
1313862A257147   THEOPHILUS   DANQUAH                      VA     81032526202
1313998595715B   SCARLHEM     ALVAREZ                      DC     90011059859
1313B199A4B26B   PAUL         WILES                        NE     90004971990
1313B66194B588   DORA         RAMOS                        OK     90012526619
1314171197B489   JOSE         GUTIERREZ                    NC     90012947119
1314175A991569   FRANK        DURAN                        TX     75088727509
1314257564B555   ERICA        DIGGS                        OK     90014745756
1314394625B526   DAVID        PADILLA                      NM     90014789462
13144171476B68   ROINALDO     OROZCO                       CA     90012911714
131442A595B388   EVA          ORTIZ                        OR     90007932059
13144922572B77   KELLY        JOHNSON                      CO     90012249225
1314492465715B   CARLOS       ZEPEDA                       VA     90003479246
131449A7561958   CARDINA      MITO                         CA     90014849075
131457A3991869   ALISSA       ASBERRY                      OK     90009857039
1314742114B26B   BRENDA       HOFFMAN                      NE     26028834211
13148A3694B588   TONY         JOHNSON                      OK     90012510369
13149275953B32   JOANNE       RAHTO                        CA     90015082759
1314959614B555   LATAICIA     WALLACE                      OK     90014745961
131499A8A7B489   FAITHFUL     WATSON                       NC     90014029080
1314B248861958   CARLOS       MACIAS                       CA     90013582488
1314B46114B26B   MICHELLE     DAKE                         NE     26095474611
1314B699A4B588   JAMIKA       JOHNSON                      OK     90010586990
1314B839272B62   MURIEL       CLARK                        CO     33047278392
1315137A491263   BRAD         BOYD                         GA     90012623704
131516A5655976   ANTONIO      MENDOZA                      CA     90006046056
1315235844B588   VANORA       SOCKEY                       OK     90014613584
1315329885715B   JUAN         CABRERA                      VA     81090092988
1315341934B588   ERVINA       MAYTUBBY                     OK     90014784193
1315383364B588   ERVINA       MAYTUBBY                     OK     90013638336
13153A85161938   ELIZABETH    BUELNA                       CA     90005490851
13154A45355976   NOEMI        ROJAS                        CA     90012770453
131561A198B197   STEVEN       KOCHERHANS                   UT     31060931019
1315622A547956   BRITTNEY     BRIGGS                       AR     90012902205
1315639514B26B   BALDEMAR     LLANOS                       NE     90012943951
1315777A991895   JUAN         RUIZ                         OK     90014177709
13157786872B62   CHERYL       BAUDER                       CO     33077537868
13157AA617B489   ADAM         VOGT                         NC     90012980061
1315918A272B62   DANIEL       RUSSOM                       CO     33053681802
1315B494991399   BARBARA      CLARK                        KS     90007684949
1315BA1A155948   JOHN         RICH                         CA     90012940101
1316116327B489   MABLE        CHAPMAN                      NC     90014291632
1316147514B588   JERAME       THINBODEAX                   OK     90010994751
1316247AA61958   MICHELLE     RAMIREZ                      CA     90010674700
1316295835B154   MICHELLE     ACHER                        AR     23014439583
13162A51372B62   BRADY        BROWN                        CO     90006810513
1316332557B489   CLETUS       ROBINSON                     NC     11060083255
1316396A372B62   RON          VIGOA                        CO     90010459603
1316435417B489   MICHELE      DICKSON                      NC     90006993541
13165244986B96   PEDRO        REYES                        CT     90015362449
13166A64791895   CELIA        LOYA                         OK     21026060647
13167A4984B588   ASUSENA      JIMENEZ                      OK     90005510498
1316821784B588   CALEB        GOODWIN-SHIELDS              OK     90014772178
13169152472B62   DENISE       FONECECA                     CO     90014131524
13169A58361958   TRAVIS       TURNER                       CA     90001800583
1316B16644B588   JACOB        MENSER                       OK     90013241664
1316B536957147   MIRNA        OLIVARES                     VA     90014885369
1316B58554B26B   JASON        BUZBY                        NE     90013825855
1316B933147987   MARIA        AYALA                        AR     90013779331
1316BAA9972B62   FELIZ        VASQUEZ                      CO     33051780099
1317218385B154   MARIO        REYES                        AR     90014691838
13172371472B95   NEDA         GHOLIZADEH                   CO     33079923714
13173179376B33   NINA         LOVEJOY                      CA     46064031793
1317466235B526   FATIMA       TORRESSOTELO                 NM     90008836623
1317549A586463   DESMOND      GARY                         SC     90013774905
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1317582597B489   DAWN         WHEELER                      NC     90015138259
131758A3191569   CARLA        BERNICE                      TX     90011868031
13175A27757147   JOSE         MARAVILLA                    VA     90009030277
13176977672B62   DULCE        JAIME                        CO     33062769776
1317929395715B   EDWARD       MAMULA                       VA     90010272939
13179632172B3B   GARY         VALERIO                      CO     33060696321
131798A8776B52   CLAUDIA      MARTINEZ                     CA     90012138087
1317B144561938   PAUL         DINGESS                      CA     90010341445
1317B361347956   CAROLYN      WIDMER                       AR     90001303613
1317B727557147   LISA         DAVIS                        VA     90013237275
1317BAA414B588   JIMMY        SPRINGWATER                  OK     21579710041
1318167364B26B   KRISTY       RECTOR                       NE     90001826736
131817A2A4B555   CARL         WOOTEN                       OK     90014747020
1318292465715B   CARLOS       ZEPEDA                       VA     90003479246
131833A3955976   ALVERT       ATTERBERRY                   CA     90011973039
13183631A84347   ELMORE       GREEN                        SC     90012936310
13183632172B3B   GARY         VALERIO                      CO     33060696321
1318396A472B95   JAIME        GOMEZ                        CO     33026639604
13183A1828B147   JONATHAN     WILKINSON                    UT     90007640182
1318492A361938   JOAQUIN      RIVERA                       CA     46062179203
13185627A47956   ADAM         PRESTON                      AR     90010866270
13185A1A261958   DIANNA       CARRILLO                     CA     90008040102
1318648774B588   LINDSAY      STCLAIR                      OK     90010994877
13186562472B62   BETY         TEPOLE                       CO     33023195624
13188344472B95   AILEEN       DOMINGO                      CO     90009223444
1318837314B588   DAVID        ROJAS                        OK     90011163731
13189364A86445   DANIEL       MORALES REYES                SC     90014053640
13189447A5B32B   LAURA        HABER                        OR     44510724470
1318945614B555   SANDRA       MARTIN                       OK     21590804561
1318B28A455976   FRANCISCO    JURADO                       CA     90015112804
1318B614957147   ORLANDO      HENRIQUEZ                    VA     81095496149
1318BA1885715B   JORGE        OCHOA                        VA     90003210188
131911A855B526   RONALD       BOLLAR                       NM     90010201085
1319129384B26B   SERAPHINE    MOULANDZE                    NE     90014902938
1319139255B154   RICARDO      BENIGNO                      AR     23095863925
13191A9184B588   JASON        SILVA                        OK     90015010918
131923A5451337   HANNAH       PUCKETT                      OH     90014583054
13193188A72B62   MICHEAL      MOSLEY JR                    CO     90002891880
131938A9261976   BELINDA      WARD                         CA     46001318092
1319396577B489   BRIONNA      RODDEY                       NC     90013799657
1319423877B489   JACKLIN      ROLLE                        NC     90010352387
1319495534B588   VANESSA      DAY                          OK     90013859553
1319496A661958   FRANCISCO    MEJIA                        CA     90012769606
13194A3224B588   VANESSA      DAY                          OK     90002640322
1319588825715B   MARVIN       ESTRADA                      VA     90012208882
131959A2776B68   SCOTT        RILEY                        CA     90011769027
13196168A55948   ANNETTE      GARCIA                       CA     90013311680
1319638A44B555   JENETTA      GUERNEY                      OK     21513743804
13197157276B68   ARTHUR       MEEHLEIB                     CA     90000591572
13197536572B62   MARIO        DE LEON                      CO     90000845365
1319882234B588   OCHOA        SARAIH                       OK     90012468223
131988A7861938   JULIAN       HENDRIX                      CA     90014658078
13198A92591569   DOLORES      VALDEZ                       TX     90014640925
1319B345584326   YASMINE      ELMORE                       SC     90014923455
1319B85617B489   LAKE         WIGGINS                      NC     90006888561
1319BA5845715B   LUDVIN       GONZALEZ                     VA     90007230584
131B139964B555   JESSICA      POWERS                       OK     90014743996
131B1528976B68   FELIX        GARCIA                       CA     90000225289
131B2273751337   EDNAE        TORRES                       OH     90015222737
131B239964B555   JESSICA      POWERS                       OK     90014743996
131B263414B588   LILIAN       GUEVARA                      OK     90006666341
131B2892461976   VANESSA      RUIZ                         CA     90010348924
131B3475A91895   CHRIS        RUTH                         OK     90010374750
131B357AA4B588   MARY         BROWN                        OK     90015115700
131B3669872B62   ROBERT       SANDOVAL                     CO     90006926698
131B36A2655948   PULCIANO     PEREZ                        CA     90014386026
131B4354557147   GEREMIAS     ALVARENGA                    VA     90015103545
131B4566561938   GABRIELA     VALTIERRA                    CA     90013935665
131B4948847956   GABRIELLE    SIVAGE                       AR     90012959488
131B5333777535   DORIS        WAINWRIGHT                   NV     90012953337
131B5423291549   DOLORES      HUANTE                       TX     90012984232
131B54A924B555   LYNETTA      PIPPEN                       OK     90014744092
131B56A5371967   NATASHA      SALAZAR                      CO     90014756053
131B576444B588   DANIEL       TOWELL                       OK     90012587644
131B5A37691569   DAVID        SANDOVAL                     TX     75029760376
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131B5A57A72B62   MICHEL              PIRCE                 CO     90001590570
131B5A75161958   NANCY               RODRIGUEZ             CA     90005280751
131B6375331635   YIYESHA             PETE                  KS     22086713753
131B669A472B62   MILLICENT           GONZALEZ              CO     90014576904
131B7167451337   ADRIAN              ROGERS                OH     90012211674
131B735114B26B   TAVISH              HANSEN                NE     90010523511
131B77A5931635   JUAN                PABLO PEREZ           KS     90001937059
131B886A13B39B   TALIA               ONTIVEROS             CO     90008438601
131B937945B526   MARK                KARNER                NM     35070823794
131BB126261938   VENITA              GARRETT               CA     90000991262
131BB264447956   JANAI               RICHARDSON            AR     90014142644
131BB95A472B62   ANDY                GARCIA                CO     90006769504
1321145248B192   SHANNON             BENN                  UT     90014744524
132129A5191263   COLETTA             DARRISAW              GA     14594489051
13212A78A72B62   GABRIEL             MACIAS                CO     33013380780
1321317A272B35   TRAVIS              TURNBULL              CO     90012421702
1321347715715B   DONNA               NAJIBI                VA     81061714771
13213937772B62   JUANA               CASTRO                CO     33051139377
1321413A947956   DERRICK             WALKER                AR     90014701309
13214277724B7B   JOSE                REYES                 VA     90012362777
1321463827B489   TABATHA             ASBURY                NC     90013056382
13214684372B62   LUCRECIA            SENA                  CO     33056806843
1321478634B555   SUSAN               HICKS                 OK     90014747863
1321579144B555   EMILY               GOMEZ                 OK     90014747914
132159A167B489   SNIDER              MARIE                 NC     11039649016
132162A2941296   SEAN                JAROS                 PA     90012072029
132163A684B588   DE ONAJAH           HILL                  OK     90013553068
13216532772B58   ANTONIO             OBREGON               CO     90001585327
1321661465B389   JITENDRA            PRAKASH               OR     90011196146
13216719A31687   CHRISTINA           BARSTOW               KS     90002627190
13216753172B62   MARIA               CATALAN               CO     90007297531
1321683867B489   MARICHI             DEAN                  NC     11076038386
13216926A4B565   GWENDOLYN           IRVIN                 OK     90013849260
1321776A791929   BRIAN               WHITE                 NC     90001417607
1321841964B555   ROBERT              SULLIVAN              OK     90014354196
1321974784B588   YOLANDA             PRITCHETT             OK     90014557478
1321B313451337   CHASE               PAPER                 OH     90012963134
1321B7A1761938   SERGIO              ALVAREZ               CA     46067277017
1322134674B588   PAYGO               IVR ACTIVATION        OK     90014393467
13221A4754B26B   LEOPOLDO            JUAREZ                NE     90013960475
13222119A51337   ELIZABETH DOMINGO   MIRA                  OH     90009071190
1322237555B395   REBECCA             CORTES                OR     90001053755
1322237849377B   KAY                 MOUNTS                OH     90008763784
1322247515B154   QUIDA               STRANGE               AR     90008924751
13222727172B62   TYLER               MORSE                 CO     33009887271
13222792A55976   JOSE                HERNANDEZ             CA     90013367920
1322353A14B588   SHUNTAY             EDWARDS               OK     90010995301
1322411195B154   RICHARD             SIMMONS               AR     23042691119
1322425724B555   SELVIN              GOMES                 OK     21557052572
1322451A361976   GEORGE              FRANCO                CA     46017025103
132246A5891263   THERESA             GRIFFIN               GA     90014986058
1322496274B588   NEDRA               JONE                  OK     90009729627
13224A6AA51337   MARISA              MOORE                 OH     90013300600
1322521314B26B   ANDREA              PRANGE                NE     26039222131
1322628887B489   ISMAEL              PALACIO               NC     90015142888
1322674697B35B   ELISA               FIGUEROA              VA     81072647469
13226A5364B26B   SARAH ENGELHART     AND RUTH LARABEE      NE     90014460536
132289AA951337   ALYSSIA             PEYTON                OH     90009849009
132294A9224B7B   TYERRA              VEREEA                DC     90005224092
1322B25517B489   ADRIANNA            PENDERGRASS           NC     90009092551
1322BA2334B588   JOSHUA              BROCK                 OK     21551490233
1323173767B489   DAMIEN              ANTHONY               NC     90010807376
13231A1A977535   JOSE                GUTIERREZ             NV     43056960109
13232A66161976   CLAUDIA             LOZANO                CA     90014100661
13232AA944B588   JOANNA              HILL                  OK     90011440094
1323421A161938   DIANA               ROJAS                 CA     46091732101
1323574315715B   CARLOS              CAHUANA               VA     90015317431
13235A27626266   DONALD              SIEGER                WI     90015560276
1323712757B489   WENDELL             COPELAND              NC     90014811275
1323826934B588   ANTON               BLAKELY               OK     90015122693
1323856912B27B   DARNELL             GOLDSMITH             DC     90012595691
1323895175715B   ROSA                GARCIA                VA     90014559517
13239A98476B68   ANDREA              VILLANUEVA            CA     46057640984
1323B3A4672B62   THERESA             SANCHEZ               CO     90010613046
1323BA14461958   JOSE MARIA          GERVACIO              CA     90008170144
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1323BA2994B26B   ANDREW       KENDRICK                     NE     90012520299
1324262545715B   OLGA         ALVARADO                     VA     90013486254
132434A3361926   JOSE         AYALA                        CA     90007824033
13243AA325B154   MARIA        IBARRA                       AR     23050260032
1324543264B588   RACHAEL      HOWARD                       OK     90011304326
13246A8982B926   SANDRA       SAXTON                       CA     90009720898
13246AA185B154   CORISSIA     FAIRCHILD                    AR     90015600018
1324734A291569   CARLOS       GUTIERREZ                    TX     90006213402
1324756484B588   TRUDY        ANDERSON                     OK     90010995648
1324769246B626   LANE         BARKER                       KY     90015556924
13247A61A4B588   GUADALUPE    AGUILAR                      OK     90010590610
1324976246197B   DAVID        BISHOP                       CA     90006507624
1324B189176B68   SHANNON      JIMENEZ                      CA     46057641891
1324B855872B62   MARIA        MARTINES                     CO     90014198558
1325246934B555   REBECCA      MACKEY                       OK     90011224693
13252643A61958   ROMEO        VALERANO                     CA     90011106430
13252773372B62   YAO          ONGOUNDJA                    CO     90013247733
1325283A355948   CHAD         BAKER                        CA     90013968303
13252A54391852   STACEY       YOUNG                        OK     90008700543
1325587634B555   AMY          NEIS                         OK     90014748763
1325677675715B   JHON         CESPEDES                     VA     90013957767
132571A344B555   TANIA        PEREZ                        OK     90014771034
13257533A72B62   JENNIFER     TRUJILLO                     CO     33051485330
1325764AA31649   MELISSA      MCFARLANE                    KS     90009926400
1325787634B555   AMY          NEIS                         OK     90014748763
132588A8161958   RICARDO      ESCOBAR                      CA     46042708081
13258A36991895   GREGORY      ONEAL                        OK     90005540369
13259783A26266   BARBARA      HERNANDEZ                    WI     23540557830
1325B431455976   ROBERTO      AVENDANO                     CA     90014864314
1325B612161938   ELEAZAR      SANDOVAL                     CA     90010186121
1325B735831635   MICHELLE     BERGER                       KS     90007267358
1325B825633649   RYAN         MELTON                       NC     90003688256
1325B88685715B   ISIDRO       VELIS                        VA     90013878868
1325BA54347956   ARTHA        MORRIS                       AR     90001310543
13261118A33699   MIGUEL       RAMIREZ                      NC     12026371180
1326156744B26B   JASON        BENSON                       NE     26099755674
1326173A158535   FRANCHESKA   MARCANO                      NY     90015357301
1326247324B588   MAZARIEGOS   JERSON                       OK     21561924732
132633A6251337   DOMINIQUE    SKINKLE                      OH     90014583062
1326382465B154   CARLA        BANNER                       AR     90010388246
1326421A35B526   SHAREE       ROMERO                       NM     90013892103
13265831476B68   EDUARDO      BONILLA                      CA     90013068314
1326658694B588   CHARLES      MCCOY                        OK     90013865869
1326666A272B62   MELISSA      GOMEZ                        CO     33038686602
1326739595715B   MARIA        BARKER                       VA     90000123959
1326771435B154   LAMONT       HOLMES                       AR     90014807143
1326782315B526   JOSEPH       FONTANEZ                     NM     90012498231
1326814354B588   AMBER        BENNETT                      OK     90014741435
13268175972B62   SAMUEL       VILLA-GONZALEZ               CO     90015091759
1326822584B26B   KENNETH      ALLEN                        NE     90015492258
1326857A95B154   DESTANEE     ANDERSON                     AR     90011065709
1326895864B555   THERESA      MERLIN                       OK     90014749586
1326968A691895   SHELBY       LEJEUNE                      OK     90007886806
1326975A657147   JUAN         ROMERO                       VA     81024987506
1326983714B588   LAMAR        ARNETT                       OK     90004888371
13269921872B2B   NANCY        FITZGERACELD                 CO     90011159218
1326B15A851346   SHEILA       LAMB                         OH     66098471508
1326B64974B537   DALE         HALL                         OK     90001196497
132712A684B555   JOHN         BRUCE                        OK     90006372068
132712A7391263   LAURA        ALVAREZ                      GA     90015112073
1327148A34B588   ANTONE       BATES                        OK     90015004803
132717A9831687   WENA         GAIN                         KS     22017227098
1327214944B555   EVONY        WELLS                        OK     90014761494
1327217566B933   ADAM         SANCHEZ                      NJ     90015431756
1327239777B489   ADRIAN       SORIANO                      NC     90010233977
1327247265B154   MICHALA      PYE                          AR     90012014726
13272928124B7B   JAKIYA       WILLIAMS                     DC     90012839281
132732AA755948   JORDAN       MARTINEZ                     CA     90015312007
1327435734B26B   FRANKLIN     COPLEY                       NE     90010743573
13274A55555936   ROSALBA      ESPINOZA                     CA     90004500555
13274A67A9192B   YVETTE       PARKER                       NC     90011420670
1327644827B489   SHONDA       ATSON                        NC     11010644482
13276A5695B154   KRISTA       MARTIN                       AR     90014550569
1327975315B154   ZANDRA       JOHNSON                      AR     23020187531
1327B372761976   JAY          SHAWN                        CA     90013393727
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1327B624191573   ABIGAIL      PEREZ                        TX     75046296241
1327B649961958   STEVEN       CHIQUETE                     CA     90010306499
1327B747A47956   PATRICIA     OCHOA                        AR     24091277470
1328118684B555   CARNELIUS    SIMON                        OK     90014761868
1328158568B167   DAOUDA       COMPAORE                     UT     31070345856
132816AA54B26B   ASHLEY       MAY                          NE     26093146005
1328184664B588   ARCHIE       BEDTTES                      OK     90012758466
13281857276B68   MARICELA     FLORES                       CA     46057858572
1328221344B588   AMY          INGRUM                       OK     90010592134
1328225915715B   ELIAZAR      LOPEZ                        VA     90007222591
1328322795715B   ESTRADA      VICTOR                       VA     90013922279
1328377A28B163   ALEX         GARCIA                       UT     90010597702
1328441245B232   DONNIE       BEACH                        KY     90010484124
132851A8624B7B   MICHELLE     STANTON                      DC     90007711086
1328541A272B62   CHARLES      GARCIA                       CO     90014564102
13285478772B84   RAMON        RODRIGUEZ                    CO     33019494787
1328786574B588   RAMONA       DELGADO                      OK     90014918657
1328825667B489   BERTA        VILLATORO                    NC     90013392566
1328838544B26B   CAROL        WOOGE                        NE     26098053854
13288632172B62   ANTOINETTE   SEGURA                       CO     33084036321
13289168A55948   MIGUEL       TOVAR                        CA     49035881680
13289176A47956   KRISTEL      BRANTLEY                     AR     90015211760
13289221272B62   ELENA        FOSTER                       CO     33019202212
1328951A44B588   DEBRA        YOUNG                        OK     90011625104
1328B227372B62   SHARON       SNIDER                       CO     33017292273
1328B24A35B526   REGINA       STACK                        NM     90012362403
1328B65667B489   ANA          GARCIA                       NC     90012136566
1328BA87755976   VERA         JACKSON                      CA     90013930877
1329115A64B26B   LUCY         LOMATAYO                     NE     90009531506
132912AA94B555   DAMESHI      OUSLEY                       OK     90014762009
1329147875B526   RUBY         CLEVELAND                    NM     90008884787
13292586172B62   MEGAN        BUCHANAN                     CO     90014605861
1329331157B398   ARAYA        WOLDEMICHAEL                 VA     90006143115
13293A3284B588   PAMELA       EMANUEL                      OK     90010690328
1329442A65B526   RICARDO      RUIZ                         NM     90014214206
132947A8A4B588   EULA         REED                         OK     90012537080
132958A2357147   JOSE         CHRIS                        VA     90014908023
13296664572B62   MARGARITA    MUNOZ                        CO     90011046645
13296A6325715B   CELIA        GARCIA                       VA     90014750632
13296A89391263   MORGAN       EVANS                        GA     90013190893
1329729455B526   ISAAC        IRWIN                        NM     90008292945
1329748AA57147   RAFAEL       RODRIGUEZ                    VA     90013634800
13297A9974B576   TWYILA       ROBINS                       OK     90009920997
13298157A4B26B   JENNIFER     PAYNE                        NE     90013411570
132982A3951337   BRIANNA      HENDERSON                    OH     90010942039
1329971A491263   JASMINE      JOHNSON                      GA     90014057104
13299843A76B68   CUIRIZ       ARACELI                      CA     46036228430
1329B13142B582   KENDRA       FITTS                        AL     90014711314
1329B758791263   TIMOTHY      HILL                         GA     90014997587
132B149A861976   JESUS        GAUMOND                      CA     90006544908
132B16A8A61938   VALENZUELA   MARIA                        CA     90005556080
132B2771891895   GER          LAO                          OK     90014107718
132B3178955948   MARIBEL      BON                          CA     90014831789
132B3864947846   PEARL        MOORE                        GA     90004238649
132B387695B526   RICHARD      NOLLEN                       NM     35005128769
132B4116991895   RUBEN        PORTILLO                     OK     90008451169
132B47A445B154   JERIME       STEWART                      AR     23076527044
132B538914B555   FABIOLA      RIOSA                        OK     90009193891
132B6339155948   MARCIANO     ORTIZ                        CA     90011573391
132B655665715B   ASHOK        SHARMA                       VA     81046125566
132B675284B555   BEYONKA      CHEADLE                      OK     90014747528
132B6918676B68   MAX          MARTINEZ                     CA     90011769186
132B7169557147   TERRENCE     TAYLOR                       VA     90013251695
132B7428A4B26B   HOPE         THOMPSON                     NE     90014824280
132B7652A5715B   ZEGEYE       WELDE                        VA     90012606520
132B7733857147   ROBERT       GRIFFIN                      VA     90009017338
132B7765957124   OSWALDO      RAMIREZ                      VA     90014997659
132B7823A72B62   GEORGE       HERNDON                      CO     33066208230
132B8425891895   KIMBERLY     HARVEY                       OK     21009084258
132B8694761958   CAMELIA      DIAZ                         CA     90011316947
132B8A57761958   ANGELA       FONTENETTE                   CA     46015270577
132B91A8772435   ROBERT       THOMAS                       PA     51097321087
132B9287A5B154   VICKIE       WRIGHT                       AR     90014932870
132B941975B264   VERNITA      LAWRENCE                     KY     90014774197
132B96AA791263   IRIS         FARMER                       GA     90013696007
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132B9A4525715B   VONDA        BYRD                         VA     90013700452
132BB212691263   CAROL        TILLMAN                      GA     90011562126
13311288472B62   CARLOS       DIAZRAMIREZ                  CO     33014402884
13311367A4B588   TERESA       CASS                         OK     90013233670
13311735A4B26B   JULIE        THOMSON                      NE     90009367350
1331198855B526   DENISE       LERONGE                      NM     35016349885
13311AAA18B197   BRYAN        WORKMAN                      UT     31057790001
133123AAA4B26B   ROMEO        BIVENS                       NE     90011653000
13312799A55948   JOEL         RIVERA                       CA     90014227990
1331315315B526   JOSE         VILLA                        NM     90015121531
1331391854B555   SARA         WILDER                       OK     90007959185
133164A1961938   KIMBERLY     SISK                         CA     90013024019
1331719A361976   MARCELINO    MONTES                       CA     90000301903
1331784815B526   JOSE         CORDOVA                      NM     35080228481
1331796115715B   JOSE         ZELAYA                       VA     90015149611
1331894A761976   JRATIH       MOLINA                       CA     46059539407
13318A78261958   ASHLEY       GARCIA                       CA     90009680782
13319495176B68   KEVIN        AGUIRRE                      CA     90011794951
1331B19847328B   STYLIANOS    BARBAYANNIS                  NJ     90014751984
1331B286391569   ESMERALDA    FIERRO                       TX     90013182863
1331B2A3951337   BRIANNA      HENDERSON                    OH     90010942039
133221A8276B68   JOSE         XENOL                        CA     46016021082
1332271114B588   MELISSA      DAVID                        OK     90012517111
13322A16961958   ANTONIO      MENDEZ                       CA     46059790169
13322A3779377B   SAMANTHA     KAMMER                       OH     90012030377
133232A8893723   NICOLE       THOMPSON                     OH     90010672088
13324468772B62   NOHEMI       LIMONES                      CO     90008554687
13325A94633683   LEAH         FARROW                       NC     90007790946
1332624887B489   MARIA        SUAREZ                       NC     90012372488
13326A19685823   ARLAN        BARBER                       CA     90013940196
13327756672B62   SYLVIA       MEDINA                       CO     90012857566
13327AA795B384   MEHDI        KARIM                        OR     44577760079
13328228A4B26B   DEBRA        POLFUS                       NE     90010352280
1332914964B26B   TRACY        STEWART                      NE     90009441496
13329A39647956   JONELL       MCLAUGHLIN                   AR     90000440396
1332B326361976   YAJAIRA      RUIZ                         CA     90003803263
1332B587691263   SHALYA       CURTIS                       GA     90014065876
1332B839361938   STEPHANIE    PEREZ                        CA     90013068393
1332BA3AA8B183   CALVIN       MEAD                         UT     31061710300
1333149324B588   SYRITA       JAGGERS                      OK     90014574932
1333151815B385   TREENA       SANDERS                      OR     47074145181
1333177395715B   DANIEL       ORTIZ                        VA     90010247739
13332796372B62   JESSE        BERNAL                       CO     90013807963
13332A8A47B489   GETULIO      BELLO                        NC     90000470804
13333485172B62   GATES        CRYSTAL                      CO     33074004851
133334A7461938   DANIEL       LEYVA                        CA     90013024074
1333466577B489   CRISCO       WILLIAM                      NC     90014276657
133357A6455948   KIMMY        PRICE                        CA     49013537064
1333593745715B   CARY         DUMAR                        VA     90009999374
1333645715715B   NORATH       PANIAGUA                     VA     81086494571
13336746A47956   ROBERT       THOMAS                       AR     90013147460
13337158A4B555   RIZA         COOK                         OK     21524591580
133371A4455948   ALFONSO      GONZALEZ                     CA     90014881044
1333734367B489   SALVADOR     MEJIA                        NC     90013853436
13337624A61976   BLANCA       OLIVARRIA-GOMEZ              CA     90011616240
1333774235B154   PATRICIA     ROBERTS                      AR     23049277423
133384A2581672   GILBERTO     SANDOVAL                     KS     90007834025
1333926665715B   STEPHEN      BEIDLEMAN                    DC     90014702666
1333993A572B95   JASON        MADRID                       CO     90014759305
1333B189A5715B   NANA         KUSI                         VA     90014291890
1333B52544B588   VALERIE      BRIDGEWATER                  OK     21573385254
1333B67355B154   KRISTOPHER   JOHNSON                      AR     23086456735
1333B96615B342   ELIZABETH    OROZCO                       OR     90006459661
1334135812B236   PAMELA       WESTON                       DC     90000413581
1334142953B359   RAMIRO       GUERRERO                     CO     33089654295
1334192875B154   SHERRIE      NELSON                       AR     23037419287
13341A67751337   VALERIE      STRICKLAND                   OH     90004230677
133424A7461938   DANIEL       LEYVA                        CA     90013024074
1334258A25B526   SHANE        GLEASON                      NM     90014705802
1334258A557147   BRANDON      TIBBS                        VA     90013605805
1334259354B588   RYESHA       DENNIS                       OK     90015315935
13343A8A491569   PEDRO        GARCIA                       TX     75086070804
1334544A45715B   JUAN         RODRIGUEZ                    VA     81077654404
1334578A697B69   LISA         ROBY                         CO     90009897806
1334598A291895   ALONZO       SHEPHARD                     OK     21092439802
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13345A47176B68   ALEJANDRO        GARCIA                   CA     90011810471
13346A27955948   JUAN             VASQUEZ                  CA     90012480279
1334898544B555   JOSE             VALDES                   OK     90002119854
13349417572B62   MARIA            RODRIGUEZ                CO     90013934175
13349A19891895   MATTHEW          SHAFFER                  OK     90011920198
1334B642161976   CYNTHIA          GOMEZ                    CA     90007416421
133511A2157147   FARZAD           YAZDANI                  VA     90003211021
13351554472B62   CHARLES          MOFIELD                  CO     90013085544
1335239165715B   JOSE             AGUILAR                  VA     90007623916
133532A367B489   LORI             WARDELL                  NC     90013262036
1335367A68B123   CLINTON DEANNA   CHATWIN                  UT     90010636706
133545A4451337   JOSHUA           LIGGETT                  OH     90014615044
13355284124B7B   LATRICE          MORRISEY                 DC     90012462841
1335666565715B   BRADLEY          JONES                    VA     90013126656
13356A85351337   CHARLENE         HUNLEY                   OH     90005220853
1335757785715B   CHARLIE          RAMIREZ                  VA     90001925778
1335817855715B   SANDRA           CONTRERAS                VA     90007241785
1335838644B588   LATRICIA         DAWN                     OK     21575683864
13358515A51337   DEIDRE           ANDERSON                 OH     90014525150
1335972287B489   JAY              SINGS                    NC     90010737228
1335B25565715B   ALBERTO          SANDOVAL                 VA     90014182556
1335B395255948   RONNIE           ROBERTS                  CA     90006253952
1335B619461938   JOSE             RODRIQUEZ                CA     90005516194
1336114924B565   WENDY            BERRY                    OK     90013501492
1336251364B26B   SHERITA          LITTLE BALD EAGLE        NE     90014225136
1336447415B348   JESSICA          STALEY                   OR     44502374741
13364842A91263   EUGENE           DAVIS                    GA     90012208420
13364A2147B489   GUSTAVO          PEREZ                    NC     90008590214
13364A52492827   FRANK            PARKER                   AZ     90014160524
1336571575B526   ZALLEY           MUNOZ                    NM     90000127157
13366178A61976   ERIKA            JAQUISH                  CA     90008201780
13366225A91895   SAMANTHA         HASHAGEN                 OK     90010362250
1336736165B526   CYNTHIA          HERNANDEZ                NM     90015383616
133678A5331687   PATRICIA         HACKET                   KS     90002658053
13368445A91895   MARGARET         HODGSON                  OK     21003064450
1336857484B588   MARY             COCHRAN                  OK     90012905748
1336B14545B154   MELBA            HALTON                   AR     23016791454
1336B45424B555   NATASHA          BARBER                   OK     90014764542
1336B94525B292   ASHLEY           PERKINS                  KY     90010689452
1337114A831687   LOC              DOC                      KS     22015771408
13373697A4B26B   ANDREW           JAYNES                   NE     90014726970
13373A6664B537   GREGORIA         CARILLO                  OK     90007690666
1337484234B588   KANDON           KELLY                    OK     90006288423
1337497764B26B   RICK             SIPES                    NE     26082699776
13375178A4B555   MARY             BIRCH                    OK     21566861780
1337522625B526   CYNTHIA          ESCUDERO                 NM     90004192262
13376139176B68   MARITZA          HERNANDEZ                CA     46005691391
1337717534B555   SHADAVIA         RAINGE                   OK     90014771753
1337736915715B   JOSE             GUZMAN                   VA     81095153691
1337845994B26B   TIMOTHY          SMITH                    NE     90014824599
1337879534B555   MARIO            MELENDEZ                 OK     90014177953
1337895412B582   KATRINA          TAYLOR                   AL     90015049541
133791A1A61958   RONALD           WILBURN                  CA     90012751010
133798A5677535   JOURDAN          DIQUARTO                 NV     90005508056
13379A1125715B   LEANDRO          PORTILLO                 VA     90014500112
1337B355857147   MARIA            DELCID                   VA     90014223558
1337B852461976   GLADIZ           CHAVEZ GRANADOS          CA     90013548524
1337BA14161938   SAURABH          GUPTA                    CA     90013590141
1337BA3475715B   ERMIAS           KEBEDE                   VA     90012670347
1338153654B555   PRECIOUS         KEITH                    OK     90012365365
1338159A691569   MARGARITA        HITA                     TX     90013905906
1338259274B555   HATTIE           LUPTON                   OK     90014765927
13382978A91569   ANDRES           RAMIREZ                  TX     90013629780
133839A214B555   JASON            MILNE                    OK     21592019021
1338456775B526   SALAZAR          TINKER                   NM     90001505677
13387738A61958   ARACELI          MALDONADO                CA     90012377380
1338859193B39B   SANTOS           LOPEZ                    CO     90001585919
13388833372B84   DARRELL          JACKSON                  CO     90012048333
13388A5372B244   ORANGEL          RIVERA                   DC     90014270537
1338965A526266   PAYGO            IVR ACTIVATION           WI     90015036505
13389AA7272B62   MELODY           ROMERO                   CO     90001330072
1339125A855948   RAFAEL           LARA                     CA     49039882508
1339263AA61958   FRANKLIN         CORDOVA                  CA     90011666300
1339318464B555   CHRIS            COZENS                   OK     90014771846
1339335844B588   VANORA           SOCKEY                   OK     90014613584
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1339351658B136   KRISTI       JONES                        UT     31004815165
1339387A391895   PEDRO        NAJERA                       OK     90012338703
13394423A51337   LISA         CAMPBELL                     OH     66042924230
1339454944B588   KEITH        MILLIKEN                     OK     90010595494
1339611275133B   STEPHANIE    BERMUDEZ                     OH     90002121127
13396169A5B526   FRANCISCO    CURRICHI                     NM     90014331690
1339618965715B   ROSA         GOMEZ                        VA     81026661896
133964A6497B38   ROBERT       MADDEN                       CO     39004714064
13396A91261976   GIOVANNA     RUIZ                         CA     90006220912
1339751A593737   MALLORY      MITCHELL                     OH     90013105105
1339779385B526   MARILYN      BENHAM                       NM     90011127938
1339822A37B489   BELTER       LOBOS                        NC     11012452203
1339884A791895   JUANA        GONZALEZ                     OK     90014398407
1339898674B588   GLENDA       LONG                         OK     21573729867
1339918974B555   YAZMINE      HERNANDEZ                    OK     90014781897
133994AA861938   MARK         COVIELLO                     CA     90013264008
13399749A31687   ANCIL        HENSLEY                      KS     22015997490
1339B356A5715B   JAMES        RAGSDALE                     VA     90014973560
1339BA18955948   MARY         WOODWARD                     CA     90014840189
133B11A515715B   INOLFO       HERNANDEZ                    VA     90011911051
133B1372791398   WILLIAM      MELTON                       KS     90004523727
133B149AA51337   WILLIAM      GARRETT                      OH     66091894900
133B1841155976   KARINA       HERNANDEZ                    CA     90007128411
133B3393133699   DAVID        MOBLEY                       NC     12041453931
133B342574B555   ROBERT       KEEFE                        OK     90007224257
133B3477A72B62   JEREMY       HARTUNG                      CO     90007314770
133B4287161938   DIANA        NAJAR                        CA     90014992871
133B42A1457147   JUAN         ALVAREZ                      VA     81074422014
133B433444B26B   RUDY         REQUEJO-YBARRA               NE     90015113344
133B4694261938   JUAN         PEREZ                        CA     90013076942
133B4734272B62   NATHANAEL    REINSMITH                    CO     33087307342
133B542387B424   ASHENAFI     ABEBE                        NC     90013524238
133B622295B254   JEFFERY      CZEISZPERGER                 KY     90012192229
133B657945715B   ANTHONY      WILSON                       VA     90015025794
133B6769A57147   RENE         CONSTANZA                    VA     90014507690
133B7542A7B489   EZELL        TAYLOR                       NC     90009625420
133B779A55715B   MONICA       MARTIN                       VA     90005247905
133B8237893754   LAURIE       THORPE                       OH     90000322378
133B82A3257147   CARLOS       MIRANDA                      VA     90009332032
133B888A861958   ANABEL       LOPEZ                        CA     90010968808
133B894324B588   CHARLIE      RYGHT                        OK     21552249432
133B9214951355   LATASHA      EATON                        OH     90004292149
133B948396B95B   NIKKI        HANN                         NJ     90002334839
133B9524472B62   VIVIANA      ESPARZA                      CO     90002705244
133BB732661976   PEREZ        SYLVESTER                    CA     90012617326
133BBA1155B154   ELICEO       POOT                         AR     90014800115
133BBA9816B933   MARIELA      LOPEZ                        NJ     90012960981
13411A1A55715B   REDA         BENKHADIR                    VA     90015140105
1341226665715B   STEPHEN      BEIDLEMAN                    DC     90014702666
1341243A261997   JESSICA      FLETCHER                     CA     90008344302
1341244A761976   RANDY        ROWLAND                      CA     90004374407
134129A6A55976   CHANELLE     CAPRI                        CA     90012629060
1341325724B555   TENILLE      FRANKLIN                     OK     90014772572
134145A934B26B   ROBERT       HITZ                         NE     26018355093
134148A335B154   MERCHEL      MOORE                        AR     90015178033
1341537374B588   AMBROSIO     ARGUETA                      OK     90012723737
1341577A93B393   NHA          LAM                          CO     90012457709
13416384A57147   SERENA       EWAYS                        VA     90012783840
13416715272B4B   JANET        VASQUEZ                      CO     90004107152
13416A17855976   MARIA        DE LA CRUZ                   CA     49040320178
1341764365715B   MILTON       SALAZAR                      VA     81018376436
1341811274B588   ALICIA       CRIGLER                      OK     90013451127
13418772972B62   LUZ          GANDARA                      CO     90013047729
1341B88A531943   ALFRED       BORBOR                       IA     90014258805
13421729A5B526   VALERIE      LUCERO                       NM     90013787290
13421954272B62   CAZZIE       LOGGINS                      CO     90011479542
13422389272B62   ALMA         VASQUEZ                      CO     90009213892
13422A12591895   LORIE        WALDRUP                      OK     90012550125
13422A9225B526   DIANNA       MONTROSE                     NM     90008650922
1342326A25B526   MARIO        ALDERETE                     NM     35004602602
13423829A4B588   ASHONTE      WINSTON                      OK     90012448290
1342396277B489   TONY         JOHNSON                      NC     90008959627
1342548A557147   BENJAMIN     FLORES                       VA     90000314805
1342568457B489   PERLA        CASTRO                       NC     11082366845
1342632454B555   BRYAN        MILLER                       OK     90014773245
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1342686737B489   JASON          DEBERRY                    NC     90012718673
1342732844B555   CHRISTOPHER    GREEN                      OK     90014773284
1342748817192B   STEPHANIE      DISPOTO                    CO     32004454881
134293A674B555   AMY            OCHOA                      OK     90013803067
1342B318455976   SALLY          CARRILLO                   CA     90013183184
1342B349957147   JOSE           ALVARENGA                  VA     90012353499
1342BA1254B555   MARY           FORD                       OK     90009620125
1342BA18955948   MARY           WOODWARD                   CA     90014840189
13431294A61938   VERNON         BRINKLEY                   CA     90007772940
13431345776B68   RICARDO        CASTRO                     CA     46062643457
1343214A724B7B   MEKDES         GEMEDA                     DC     90013591407
13432292233B58   TIM            RUSSELL                    OH     90014882922
1343235822B235   THOMAS         THOMAS                     DC     90001173582
13433152A5B526   RICHARD NICK   JARAMILLO                  NM     90011371520
1343445375B526   RAYNA          CUMIFORD                   NM     90002474537
1343477554B588   JOEPH          PESTI                      OK     21593307755
13434959772B62   JAIME          CRUZ                       CO     90002249597
134355A1855976   ARKIM          STOKES                     CA     90014505018
13435A95572B62   ENRIQUE        CABRERA                    CO     90002720955
1343636A291569   ROGER          ALVAREZ                    TX     75045693602
1343751A776B68   YECENIA        VAZQUEZ                    CA     90011845107
1343781A561976   FABIOLA        MAYTORENA                  CA     46044698105
13437974A4B588   BRANDON        SANGO                      OK     90012659740
1343835475B526   KATYA          LUCERO                     NM     90011343547
1343886A551337   AMY            WAMSLEY                    OH     90012638605
13439948972B62   SANDY          RAMIREZ                    CO     33045239489
1343B7A6872B62   MARQUES        MITCHELL                   CO     90008317068
1344139A472B62   YAA            BOAKYA                     CO     90010363904
134415A1931635   NANCY          MASTERS                    KS     90005645019
13442725497B69   JAMES          OWINY                      CO     90010227254
13442A25291895   KATRINA        COLEMAN                    OK     90005920252
13443933A4B588   CRUZ           MAJALCA                    OK     90014849330
13443A3295B154   RUBY           MARTIN                     AR     90008850329
13443A63361976   EFREN          SOLES                      CA     46002940633
13444273872B62   LUIS           MEDINA                     CO     33074412738
1344447563363B   WILLIAM        RANKINS                    NC     90012914756
1344524946192B   LORRAINE       COCHRUN                    CA     90003422494
1344613325B154   CHRISTINA      DUMAS                      AR     90014701332
1344655A15B599   MARIO          LOPRINZI                   NM     35016965501
13446847872B62   ARQUIMIDES     ROMERO                     CO     33008538478
13446A19876B68   LEONICE        VENTURA                    CA     90011850198
1344734134B588   BOBBIE         REED                       OK     90013293413
13447A77361976   MIRIAM         FRANCO                     CA     90015130773
13448625A5715B   LIZA           RASHIDI                    VA     90001076250
13449154A55948   CARMEN         JIMENEZ                    CA     90013991540
1344B882A55948   RICHARD        SORIA                      CA     49097368820
1345196842B235   BOBBY          ADAMS                      DC     90008809684
134525A4255976   HUGO           SANCHEZ                    CA     90014505042
13452833A55976   RATHA          NANG                       CA     90011188330
13453A99872B62   JESUS          EPIFANIO                   CO     33090150998
1345462A957147   LUIS           PINEDA                     VA     81044006209
134546A1961938   ANA            PEREZ                      CA     90014676019
1345612184B588   CHRISTOPHER    VALLE                      OK     90015111218
1345612735715B   DANIELA        COAQUIRA                   VA     90012361273
134563A9393725   KELLY          VITALE                     OH     90012693093
13456674A43444   LYNNEA         RAYNOR                     VA     90014256740
1345718A84B588   JAMES          DAWSON                     OK     90013481808
1345915127B489   ALEJANDRA      CASTILLO                   NC     90013541512
13459429A61958   ABIGAIL        HERNANDEZ                  CA     90010224290
13459842A8584B   CHARLES        SPRUCK                     CA     46012848420
13459A39624B7B   NOLA           LANE                       VA     90014590396
1345B32584B588   ANADRES        OERUIZ                     OK     90014293258
1346165565B526   KAYAL          ARCHULETA                  NM     90002306556
13462198A5B526   ANGELITA       RAMOS                      NM     90001031980
1346246654B555   VERONICA       BEARBOW                    OK     90014774665
1346442315415B   DAVID          GILLASPIE                  OR     47056324231
1346476697B489   YUMIKO         MOSLEY                     NC     90012937669
134661A7391263   CURTIS         DAVIS                      GA     90013311073
1346621317B489   FRED           SNEED                      NC     90013552131
1346636375715B   GENNET         TIKU                       VA     90008063637
13466655A72B62   ESTEBAN        GARCIA                     CO     90006136550
1346735613B35B   LANA           MOORMAN                    CO     33003503561
13467938A47956   MELISA         GILSTRAP                   AR     24066969380
1346848574B555   AMBER          SMITH                      OK     90014774857
13468A54255976   MARIA          MARIN                      CA     49012230542
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1346942745B154   REESE          LAMB                       AR     90011304274
13469543876B68   MARY           JAGIELLO                   CA     90005665438
1346B127A61976   CARLOS         ROMO                       CA     90011961270
1346B747891569   RUBINA         MURTAZA                    TX     90014877478
1347117577B489   YOLANDA        JAKSON                     NC     90011381757
1347181A691569   MARIBEL        GOMEZ                      TX     75020628106
134727A554B26B   STEPHANIE      NEWMAN                     NE     90013797055
1347349564B555   CASEY DAKOTA   PIERCE                     OK     90014774956
13474789A55976   PAMELA         DANIEL                     CA     49087407890
1347548455715B   YESSICA        PAZ                        VA     90006764845
134758A564B588   YONMAN         GARCIA                     OK     90012048056
13476839257B59   MELISSA        WHITED                     PA     90014238392
13476855A61938   CYNTHIA        LOZA                       CA     90013068550
134768A725B526   PERLA          MONTOYA                    NM     35000998072
13476A2A831687   YOLANDA        WYNN                       KS     22048150208
1347817675715B   CAROL          MARTINEZ                   VA     90009571767
1347826A15B154   MALCOLM        ROGERS                     AR     90012292601
13478855A61938   CYNTHIA        LOZA                       CA     90013068550
13478A77451337   MATTHEW        HILL                       KY     90009510774
1347B638361958   LUCIO          INFANTE                    CA     90013116383
1347B982A4B588   BARBARA        PATTERSON                  OK     90009459820
13481375372B77   CHRISTINE      CRUSE                      CO     90008913753
1348151AA4B555   DOLLIE         SIMPSON                    OK     90014775100
13481527772B62   NANCY          JEFFERSON                  CO     33069375277
1348154275715B   DINO           SAWYER JR                  VA     90013595427
1348179335715B   RAMIRO         PEREZ                      VA     90003557933
1348251AA4B555   DOLLIE         SIMPSON                    OK     90014775100
1348258895B526   BETSI          HERRERA                    NM     90004645889
134833A1361976   MARIANA        ALMANZA                    CA     90013243013
1348367234B555   ARTURO         AGUILAR                    OK     90011206723
13483835372B62   ADRIANA        CHAVIRA                    CO     33087338353
13483A83491263   KWAME          FLOYD                      GA     90014710834
1348447424129B   CHARLES        FETTER                     PA     90013634742
1348572624124B   MONIQUE        DRAKE                      PA     90011077262
1348583A276B68   JESUS          CASTRO                     CA     90001018302
13485915172B62   DEBRA          TAYLOR                     CO     90015249151
13485A99872B62   JESUS          EPIFANIO                   CO     33090150998
1348651AA4B555   DOLLIE         SIMPSON                    OK     90014775100
134868A3157147   YOBANY         GOMEZ                      VA     81059428031
1348751AA4B555   DOLLIE         SIMPSON                    OK     90014775100
134889AA691836   LETICIA        MAYA                       OK     90003199006
1348925A95B526   MARIO          VILLANUEVA                 NM     90006182509
1348935279373B   JOHN           MASON                      OH     90011083527
13489685172B62   CHALANA        SIMS                       CO     33084216851
1348B811626266   ANN            ASSTMANGER                 WI     90001788116
1348B96A155948   ABIGAIL        ARANO                      CA     90014979601
13491316A91956   LINDSAY        NOBLE                      NC     90012523160
1349194A951337   RICKEY         RUCKEL                     OH     90014779409
134931A784B588   ONESHA         DOUGLAS                    OK     90013871078
13493597A5715B   DAVID          PADGETT                    VA     90005705970
13493A39191895   RONALD         BAKER                      OK     21083700391
1349459835B526   BRADLEY        FECHT                      NM     90015225983
134949A3391569   ERNESTO        FLORES                     TX     90013529033
13495171A41384   CAITLYN        MARTIN                     MA     90014971710
1349518545B526   RICARDO        RUIZ                       NM     90011511854
1349537484B26B   BRITTANY       BORRELL                    NE     90001713748
1349653424B555   EDWIN          RODRIGUEZ                  OK     90014775342
134978A5351337   MARION         PETERSON                   OH     90011148053
134981A8A4B26B   JERRY          WOLFE                      NE     90013471080
1349858955715B   YASMIN         GARCIA                     VA     90010715895
134985A194B588   SAVANNAH       BETANCUR                   OK     90012305019
13498A57961938   ROSALINDA      DUNN                       CA     90014660579
13499A12751599   BILL           BRIGHT                     IA     90015100127
1349B12594B588   GLORIA         LOPEZ                      OK     90010521259
1349B393247956   VERENICE       ALEMAN                     AR     90011453932
1349B446891263   KATINA         HENDRIX                    GA     90008704468
1349B481857147   JOSE           BAUTISTA                   NC     81026184818
1349B525591895   SEBASTIAN      HAROS                      OK     90012735255
1349B878455976   YVONNE         RAMIREZ                    CA     90013748784
134B1258361958   GRACIELA       AGUAYO                     CA     90014782583
134B174945B335   MARYLAND       RHODES                     OR     90013527494
134B188425B526   BRIAN          JAQUEZ                     NM     90015018842
134B1A41261938   MIKE           KAHLE                      CA     46006180412
134B221784B555   CALEB          GOODWIN-SHIELDS            OK     90014772178
134B233324B588   VICTORIA       WHITE                      OK     90013623332
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134B322854B555   FELICIA       SALDIVAR                    OK     90014772285
134B3378661976   ROBERT        JOHNSON                     CA     90010193786
134B3639357147   ISAIS         ORTEGA                      VA     90011966393
134B366A476B68   MAIVYTH       COSME                       CA     46092236604
134B3716891263   NATHANIEL     JONES                       GA     90004407168
134B3921261958   DARROLD       ADAMS                       CA     90012889212
134B422854B555   FELICIA       SALDIVAR                    OK     90014772285
134B447964B588   UNDRAY        MOORE                       OK     90011304796
134B4541A91895   EBONNI        VADEN                       OK     90013285410
134B4734372B2B   SHAWN         WALLACE                     CO     90012017343
134B4A14457147   WAEL          BAHGAT                      VA     81007070144
134B5652A5715B   ZEGEYE        WELDE                       VA     90012606520
134B585A961958   LUANGVISETH   KHAMPRASEUTH                CA     90014838509
134B5973891569   MANUELA       VALDEZ                      TX     90014419738
134B6519261976   DAVID         ZARAGOZA                    CA     90004395192
134B6786847956   IVAN          CALVAN                      AR     90008987868
134B8191931996   CHRISTINE     CAMPBELL                    IA     90013931919
134B8493847956   JOHN          MCMELLON                    AR     24010034938
134B8572151337   PENY          GRAFNER                     OH     66000825721
134B88A5957147   FIDEL         GONZALEZ                    VA     90010968059
134B967835715B   OSCAR         MIRANDA                     VA     81097626783
134BB487561938   ALEJANDRA     QUEVEDO                     CA     90011194875
134BB491572B62   FERNANDA      BUSTAMANTE                  CO     90005194915
134BB85A261938   ARACELI       BELTRAN PEREZ               CA     90013068502
134BBA31355976   MICHAEL       LIME                        CA     90013400313
135111A1361938   RUTH          BATTON                      CA     46035271013
1351134334B588   YOLONDA       THOMAS                      OK     90013733433
135113A4691895   BEE           VANG                        OK     90011873046
1351156324B555   ADRIANA       BENAVIDES                   OK     90014775632
135127A1544353   STEPHANIE     CUMMINGS                    MD     90013087015
1351461A35715B   ROBERT        PETERSON                    VA     90012756103
135146A476B933   EILEEN        BAUTISTA                    NJ     90012776047
1351523564B555   GENISHA       WILLIAMS                    OK     90014782356
1351559A347956   GATLING       ROSE                        AR     24082085903
135157A627B489   JAREN         HOLT                        NC     90014897062
13516728272B62   JESUS         VEGA                        CO     90012317282
13517892A5B154   JESSE         SANDERS                     AR     23004008920
1351795665B526   ALICIA        VAZQUEZ                     NM     90014389566
1351947255B526   LIDIA         ROMERO                      NM     90009854725
1351B14A361976   JUAN          CARDENAS                    CA     90011681403
1351B348351337   OSCAR         PEREZ                       OH     66067833483
1351B47365715B   SHANA         ROBERTSON                   VA     90013394736
1351B63124B588   LORENZO       RAMIREZ                     OK     90012316312
13521126A4B588   MARVIN        MURILLO                     OK     90013031260
13523124A61976   WALTER        MARTINEZ                    CA     90012131240
13524177A91569   EUGENIO       HERNANDEZ PRADO             TX     90013281770
1352433A471976   TONY          BRASWELL                    CO     32046863304
135247A9155948   EVA           VASQUEZ                     CA     90008047091
135251A8131687   MCKENNA       UNRUH                       KS     90002501081
13525724A5B154   TIFFANY       HARRIS                      AR     90009857240
1352593245715B   ALMA          CRUZ                        VA     90006649324
13525A49961976   JOSEFINE      NUNEZ                       CA     90011760499
1352628284B555   YOLANDEA      LINZY                       OK     90014782828
1352757765B526   MARICELLA     VARGAS                      NM     35002875776
13528167672B62   ORSI          CARRILLOS                   CO     90010271676
1352819A661993   JAMES         THOMPSON                    CA     90003291906
135292A5291895   ROSA          BECERRA                     OK     21014902052
1352BA5365712B   TEWE          DROS                        VA     90011410536
1353132AA55976   OSCAR         MENDEZ                      CA     90011223200
1353155275B154   RACHEL        HARRIS                      AR     90004165527
1353334662B886   CHRISTIAN     LUNIDQUIST                  ID     90007543466
1353336A531635   HELLEN        DRAKE                       KS     22017393605
1353387234B26B   JENNY         TURECHEK                    NE     26038178723
13536A1135B154   LEESTER       WILSON                      AR     23073340113
13536A27955948   ERICA         UGARTE                      CA     90015200279
1353724A551337   JESTINE       PRUDE                       OH     90013762405
1353744715B396   JUAN          MORENO                      OR     44508404471
1353836165B154   LAROBIN       TOREENCE                    AR     90013303616
1353871874B555   DEVAUGHN      ROBERSON                    OK     90005157187
1353897A976B52   MARY          HART                        CA     46035649709
135391A6576B68   NESTOR        DE LA CRUZ                  CA     90010761065
135392A8155948   KARISSA       SAUCEDO                     CA     90013192081
1353931224B555   RONTRELL      NEVIS                       OK     90014783122
1353972635B154   BRANDY        TRIBIO                      AR     90015147263
1353B745A51337   AUTUMN        FOWLER                      OH     90014417450
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13541124A61976   WALTER       MARTINEZ                     CA     90012131240
13541667172B62   ESTHER       GRIMALDO                     CO     33064736671
13543142A57147   LORENA       CRUZ                         VA     81084791420
1354324694B588   EDGAR        DAVIA                        OK     90009702469
1354379814B582   AUGUSTIN     SALAZAR                      OK     90009977981
1354412575B526   MARIO        GAYTAN-VALDES                NM     90012601257
13544381A55976   HELEN        RODRIGUEZ                    CA     49096663810
13545978A7B489   AMY          FURR                         NC     90001029780
1354676257B489   NATASHA      DAVIS                        NC     90010807625
1354693284B588   MELISSA      MURPHY                       OK     90012889328
13546957A57549   JAYME        SANCHEZ                      NM     90012589570
13547468A4B555   LUDYN        CHAVEZ                       OK     90009924680
135475A252B227   RAYGAN       BROWN                        DC     90010895025
13547751A76B68   EVERRET      BENYARD                      CA     90000987510
1354882862B249   VICTOR       OROZCO                       DC     90012278286
13549A44757147   CARMEN       BARRIOS                      VA     90012880447
1354B25A655976   BENJAMIN     GONZALEZ                     CA     90003252506
1354B66A191899   TRACY        MARANG                       OK     21083696601
1354B68A561938   CHRISTINA    QUEZADA                      CA     90013076805
1354B717657147   CARLOS       NUNEZ                        VA     81065817176
1355146465B154   SIARRA       BOLTON                       AR     90014724646
13551A8547B489   SMITH        HERNDON                      NC     90010180854
1355259817B489   KENYON       LONDON                       NC     11062985981
1355271335B154   JOSE         CRUZ                         AR     90002137133
1355289142B232   DENITA       PERRY                        DC     90008128914
1355326165715B   RODOLFO      VENAVIDES                    VA     90013012616
13553622A57147   KOSI         ASANTE                       VA     90012796220
1355376715B154   PAMELA       MOLDEN                       AR     23067267671
13553A87A4B555   JOSELUIS     SERRANO                      OK     90006730870
13554AA854B555   ENRIQUE      FERNANDEZ                    OK     90003370085
13555A5638B164   JEREMIAH     NOSACK                       UT     90010460563
1355627447B489   SONYA        MCGRIFF                      NC     90003302744
1355679697B435   MICHELLE     TISDALE                      NC     90010927969
13557A11191895   KIM          KENNEDY                      OK     21007420111
13558613324B7B   GAVADA       MARSHALL                     DC     90010556133
1355865894B555   GAIL         SMITH                        OK     21557996589
135587A2261958   CASSANDRA    CHAVEZ                       CA     46091627022
1355919555715B   MARIA        LOPEZ                        VA     90008121955
13559979676B68   JAVIER       ARROYO                       CA     46088849796
13559A47455948   BIVIANA      TORRES                       CA     90012280474
1355B19A961958   OREO         CERVANTES                    CA     90006241909
1356133635B384   JOHN         JONES                        OR     90007683363
1356139644B555   EVELIN       SILVA                        OK     90014783964
1356158665715B   MARITZA      AGUILERA                     VA     90002955866
1356212975715B   MARIA        ATENCIO                      VA     90009631297
1356298325B526   THERESA      CORDOVA                      NM     35025989832
135629A495B526   THERESA      CORDOVA                      NM     90012229049
13563A77572B62   LUIS         MEJIA                        CO     33089990775
13564569A55948   ALBERT       GUZMAN                       CA     90011615690
1356465414B588   BYRIONA      JONES                        OK     90014876541
1356478634B26B   JOLEAN       BROOKS-NESBITT               NE     90001337863
1356489734B555   VIRGINIA     MORROW                       OK     90000518973
13564A37897B33   WARREN       SCOTT                        CO     90014210378
135655A655715B   JONATHAN     COOPER                       VA     90015305065
1356568184B588   DONNA        RUSSELL                      OK     21588176818
1356574785B526   JO           MAXEY                        NM     90012507478
13565A1A155968   GABRIEL      RODRIGUEZ                    CA     90009720101
1356634A361976   MARTIN       GARCIA                       CA     90010073403
135669A2855948   SUSI         CASTILLO                     CA     90012339028
1356763485B154   ERIKA        CERVANTES                    AR     90013486348
1356797185B526   ANGELA       PIRO                         NM     90006129718
13567A9315B154   ERIKA        CERVANTES                    AR     90009820931
1356841128B192   CARLOS       GIRON                        UT     90013334112
135699A895B526   DEBRA        GARCIA                       NM     90010669089
1356B1A8131687   MARY         BLEA                         KS     90008031081
1356B28A655976   MARCOS       ECHEVERRIA                   CA     49011022806
1356B6AA64B26B   MICHAEL      CARNEY                       NE     90013996006
1356B832361976   JAVIER       VELAZQUEZ                    CA     90013358323
1356B89745715B   ALEXANDER    MARTINEZ                     VA     90010098974
1356B8AA491949   BARBEE       FITZPATRICK                  NC     17058438004
1357239394B588   AMARISS      KARTY                        OK     90014643939
1357327217B489   SAMUEL       HARVEY                       NC     90002312721
135734A694B555   AURORA       SOLIS                        OK     90014784069
13573A1624B254   RYAN         HILLYER                      NE     90013580162
1357471525B526   SOPHIA       VALDEZ                       NM     90014157152
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1357539698B837   MYLES          GACH                       HI     90014003969
13575499172B62   THAI ROBBY     XIONG                      CO     90015024991
1357557335B154   TIFFANEY       H                          AR     90014215733
1357572764B555   LATRESHA       WRIGHT                     OK     21589237276
13576447A85999   MICHEAL        COUCH                      KY     90014724470
1357649815715B   IRVIN          RIVAS                      VA     90000674981
13577791772B62   ERIKA          RAMOS                      CO     33058637917
1357796A391569   HERLINDA       MONTALBAN                  TX     75021869603
1357945A176B68   ROY            DAILEY                     CA     46082344501
135794A316B933   LLARELY        GARCIA                     NJ     90012854031
135796A3455976   MARIA          ARROYO                     CA     49008876034
135797A2651337   RAPHAEL        CARROLL                    OH     90000607026
13579A1484B555   BRENDA         MCCRACKEN                  OK     90009190148
1357B23117B489   EDWIN          CRUZ                       NC     90014822311
1357B49964B555   MARTIN         ACEVEDO                    OK     90013674996
1357B648391895   BRANDON        CURCIO                     OK     90014726483
1357B89AA91569   CLAUDIA        PORRAS                     TX     90014458900
1357B92A861976   DAVID          LEON                       CA     90008499208
13581328A61976   RICHARD        FERGUSON                   CA     90012853280
1358158544B588   AMANDA         MORRIS                     OK     90014465854
13581A31A5599B   JOSE LUIS      RIVERA                     CA     90008230310
13581A91372B62   KATHRYN        WEBER                      CO     90006080913
135826A357B323   DANIEL         VELASCO                    VA     90006396035
1358299264B555   MARLENE        WILLIAMS                   OK     90013929926
13583391A57147   PABLO          MERINO                     VA     81037613910
13583A13561958   JULIA          FONTENEAUX                 CA     90000120135
13583A6A371965   DAVINA         LABATO                     CO     90007920603
1358419527B489   LAKEISHA       DAVIS                      NC     90014601952
1358443754B555   MARK           ALLEN                      OK     90014784375
1358494685715B   DAMIKA         THOMAS                     VA     90014569468
1358543754B555   MARK           ALLEN                      OK     90014784375
1358568447B489   DAVID          SMITH                      NC     90010326844
13585AA4351357   JEFF           HARRISON                   OH     66006520043
1358735475B526   KATYA          LUCERO                     NM     90011343547
1358744A44B555   LORENZO        RANDALL                    OK     90014784404
13587AA9661958   CATHERINE      SEITRICH                   CA     46032370096
1358845154B555   DAVID          PERRY                      OK     90014784515
1358898994B588   SETH           THOMAS                     OK     90014909899
13589171172B62   JOSE           OCTAVO BELTRAN             CO     90013361711
1358946454B555   TANNISE        DAVIS                      OK     90014784645
1358B152A61985   GUADALUPE      VAZQUEZ                    CA     46031961520
1359122444B26B   AAAA           AAAAA                      NE     90001882244
13591A25491263   JOSEPH         NETHELS                    GA     90010340254
135923A5372B62   ULISES         RUEZ                       CO     33077473053
13593564576B68   REBEKAH        ALVARES                    CA     90012425645
1359446997B489   ELLEN          RUSHING                    NC     11062704699
1359632A331428   LINDSAY        LOHAGEN                    MO     90011593203
1359674434B588   JEREMY         BUTTS                      OK     90000457443
13597A68547956   TONIE          SCAIFE                     AR     24005540685
1359895587B489   MARIA          CONTRERAS                  NC     90010739558
13599842A91895   CHRISTIE       HOPPER                     OK     90014548420
1359B146741455   NATHALIE       GIOHUDER                   WI     90015501467
1359B37587B489   IRIS           PADILLA                    NC     90008733758
1359B791491569   OLGA           MONSIVAIS                  TX     90008957914
1359B793557147   MARIA          ARGUETA                    VA     81093327935
1359B81A861938   BARBY          THRIFT                     CA     90013688108
1359BA33331635   SADICK         MDOE                       KS     22077460333
135B1244861976   LINDA          JIMENEZ                    CA     90004122448
135B1613131687   SADE           NERO                       KS     22022696131
135B1796A57557   SANDRA         MOLINA                     NM     35570297960
135B2365591895   ANGELA         MCDONALD                   OK     90000913655
135B2399A7B489   ELIN           ARIAS                      NC     90013613990
135B245A655948   WARREN         WEBB                       CA     49010744506
135B2A1A961938   ANGEL          MENDEZ                     CA     90015320109
135B3372891263   SHANIK         HOLMES                     GA     90001073728
135B398387B489   MARY           CALDWELL                   NC     90012849838
135B3A12191569   MAYRA          VILLA                      TX     75072250121
135B3A57961938   ROSALINDA      DUNN                       CA     90014660579
135B4915A5715B   KADIETU        BARRIE                     VA     81019959150
135B4A76691895   KIMBERLY       ROBERTSON                  OK     90015010766
135B4A9375B355   REGAN          LIDDLE                     OR     90008940937
135B5389972B62   EVELIA         ROBLES                     CO     90001233899
135B595785B275   STEPHEN A      PALMER                     KY     90002829578
135B61A2391263   ANTHONY        WILIAMS                    GA     90005591023
135B6373461938   ASHLEE MARIE   PEREZ                      CA     90013873734
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135B642A576B68   VIRGILIO     HERNANDEZ LOPEZ              CA     90012054205
135B6497A55948   DARIO        MENDEZ                       CA     49063364970
135B7292A61958   ESMERALDA    GUZMAN                       CA     90014762920
135B772614B588   JOVITA       RAMIREZ                      OK     90000387261
135B8324857147   HALIMATOU    DIALLO                       VA     90002683248
135B979788B832   PAYGO        IVR ACTIVATION               HI     90012677978
135B9A39624B7B   NOLA         LANE                         VA     90014590396
1361122A161976   ERENDIRA     AYALA                        CA     90012792201
13611835476B2B   CARLOS       AGUILAR                      CA     90001628354
1361482A372B62   AARON        MORALES                      CO     90013308203
1361567A257147   MANUEL       JESUS ROSA                   VA     81098866702
136157A5A4B267   KOFFI        AKPADJI                      NE     90013597050
1361632964B588   DANIELLA     RAMIREZ                      OK     90009263296
13617A83991895   SHANIQUA     ADAMS                        OK     90015260839
136193A9351357   SHAVONNE     SINGLETARY                   OH     66002623093
1361B729447956   AVA          COLEMAN                      AR     90002237294
1361B7A5191263   RASHEBA      HUDSON                       GA     14584167051
13621795A4B555   BRIANNA      BRAY                         OK     90006587950
1362259874B555   JACINDIA     GRAY                         OK     90014785987
1362354735715B   JOSUE        PEREZ                        VA     90003845473
1362397414B26B   REBECCA      STEVENSON                    NE     26080399741
1362466555B154   SONIA        WILLIAMS                     AR     23091266655
1362499A372B62   ANTONIO      MARQUEZ                      CO     90012779903
13625423472B62   CHRISTIE     MCKAY                        CO     90010994234
1362811274B555   LINDA        AUSDY                        OK     21581921127
1362812534B588   DAVONNA S    WHITE                        OK     90011381253
136281A2391895   SYLVESTER    HALL                         OK     90015261023
13628561872B4B   BARBARA      CONTRERAS                    CO     90012885618
13628A6595B154   JACQUELINE   LANGFORD                     AR     23069060659
13629528372B62   AUSTIN       BURNEY                       CO     90004495283
1362956995715B   SHARON       SARUGGS                      VA     90014405699
136296A614B555   YAMILEX      VARGAS                       OK     90014786061
13629A8875B154   ERIC         BEAM                         AR     90007580887
1362B34AA7B489   TERRI        FOWLER                       NC     11006643400
1362B57834B555   MACKENZIE    ADAMSON                      OK     90014785783
1362B641A85932   JENNIFER     PROFITT                      KY     67050216410
1362B83264B555   GREGORY      DOROTY                       OK     90014798326
1362BA8AA61938   SARAY        CAMACHO                      CA     90014660800
136315A2772B62   LUPE         CARRANZA                     CO     33084335027
1363177217B489   DWAYNE       FOGGIE                       NC     90015217721
136331A5755948   OSCAR        OCAMPO                       CA     90012921057
136335A615B154   DARRELL      MCDAY                        AR     90012165061
1363479AA72B62   CHERI        KNOX                         CO     90013747900
1363561824B555   ROSA         LASURE                       OK     90014786182
13635A5785715B   ABU          KALLON                       VA     90014400578
13635A84A91569   RENE         VIELMA                       TX     90013290840
136362A9661958   HECTOR       CARILLO                      CA     46042692096
13636A78A61976   VIVIAN       ARZOLA                       CA     90014970780
13636AA5351337   DEREK        VORMWALD                     OH     90009520053
13637844A5715B   REINA        CABRERA                      VA     81036148440
1363881174B588   ROSA         LOPEZ                        OK     90014178117
13638956376B68   OSWALDO      ACEVEDO                      CA     46063519563
136396A334B555   JOVANY       JARAMILLO                    OK     90014786033
1363978395B526   MANUEL       AGUILAR                      NM     90012857839
13639AA984B26B   NISHA F      BROWN                        NE     90008390098
1363B228555948   MOISES       PORTALES                     CA     90013562285
1363B89688B166   ESTEBAN      GALINDO                      UT     90015298968
1364117427B489   KENIA        HERNANDEZ                    NC     90012661742
1364159994B555   SHARON       MASK                         OK     90014785999
1364175177B489   KENIA        HERNANDEZ                    NC     90010857517
136418A615715B   RENE         CATALAN                      VA     81029838061
1364235A25B526   ANA          GODINA                       NM     90012553502
1364242225B526   LINDA        GARCIA                       NM     35005524222
136424AA157147   LISA         HALL                         VA     90008764001
13643928472B62   LIZETH       CORRALES                     CO     33096629284
13643A4934B555   OLEN         WEEDN                        OK     90014790493
13644178276B68   RICARDO      SAGASTUME                    CA     46015521782
1364448555B154   STANLEY      JOHNSON                      AR     23001984855
13644A16A84327   BOBBY        SWINTON                      SC     14574820160
13644A54191569   JAVIER       VALENZUEL                    TX     90013360541
13645651A2B235   TAWANNA      SMITH                        DC     90006356510
13645958A61958   ALEJANDRO    BENAVIDEZ                    CA     46089689580
1364597AA51337   JOSEPH       WILSON                       OH     66037179700
1364619544B26B   JULIE        OVERTON                      NE     26081131954
13646491272B62   SANDRA       PALACIOS                     CO     90012214912
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136464A7357147   VIVIAN       CABRERA LOPEZ                VA     90012054073
1364659295413B   ALFREDO      RAMIREZ                      OR     90015565929
1364692875B154   SHERRIE      NELSON                       AR     23037419287
1364861824B555   ROSA         LASURE                       OK     90014786182
1364887465715B   JENNIFER     COVARRUBIAS                  VA     90014978746
13648A1219379B   CARL         BLACKSHEAR                   OH     64503300121
1364B4A4672B62   FRANCISCO    REYES                        CO     90013674046
1364B538561976   HUMBERTO     JUAREZ                       CA     46013825385
1364B74A491895   KIRSTEN      TILLMAN                      OK     90009117404
1364B91855715B   NANCY        INTURIAS                     VA     81068319185
136511A7372B29   ROBERT       ARMSTRONG                    CO     90001681073
1365151385715B   PAULOS       HAYLEMAREYAM                 VA     90009955138
136519A3647873   CAROL        FOSTER                       GA     14056129036
1365242A455976   DEBI         STEELE                       CA     90011224204
1365277554B588   JOEPH        PESTI                        OK     21593307755
13653221872B62   CLAUDI       JMEDINA                      CO     90007712218
1365344715B526   JARRED       OVERBY                       NM     90013274471
1365435385B526   ARELLANO     RUBEN                        NM     90004923538
1365466664B555   WILLIE       WATKINS                      OK     90014786666
1365566664B555   WILLIE       WATKINS                      OK     90014786666
13655AAA95B526   DEANNA       BACA                         NM     35035510009
13656242972B26   JOHN         HAWTHORN                     CO     33054442429
1365757A961938   ROBERT       ORDONEZ                      CA     90005525709
13657A42357147   ROSA         ZAVALA                       VA     81055340423
13657AA8361976   LADONNA      OWENS-CHAMBERS               CA     46073390083
1365824A891263   SAMUEL       GONZALEZ                     GA     90014892408
1365868A24B555   DELIA        DIAZ                         OK     90014786802
13659268A91895   TONYEA       SUTTON                       OK     21049962680
1365B4A5155948   JUAN         LUIS-VENEGAS                 CA     49092104051
1366131294B26B   JERRY        HORSE JR                     NE     26015663129
1366264244B26B   JERRY        PETERSON                     NE     26068556424
1366276925715B   JESSICA      SOLA                         VA     90014817692
13662A6A17B489   NOYELLI      SANCHEZ                      NC     11090590601
136649A745715B   ANA          ERAZO                        VA     81015189074
136655A2972B37   LORAINE      IRONS                        CO     90003185029
136659A5772B25   DEAHONA      MALOY                        CO     90000949057
13665A33761938   ELIZABETH    YANEZ                        CA     46052760337
13665A39591263   THOMAS       HUNTER                       GA     14570620395
1366638844B26B   ADAM         ANDREWS                      NE     26001393884
1366638AA91895   RICKEY       GREEN                        OK     90011373800
1366688715715B   EDGARDO      LOPES                        VA     90012578871
1366721325715B   JOSE         CANJURA                      VA     81062302132
13668618272B62   RUDYARD      ERICKSON                     CO     33000866182
13668A12661938   GUSTAVO      BARRAZA                      CA     90013090126
13668A77751337   JAMES        OAKS                         OH     66000630777
1366B31A591263   ALFREDO      TAVARES                      GA     90011353105
1366B6A357B323   DANIEL       VELASCO                      VA     90006396035
1366BA97647956   AARON        JONES                        AR     24058820976
1367122A151337   MELISSA      HINES                        OH     90012462201
1367139525B154   FREDDY       GIBSON                       AR     90004833952
13673733A91547   ENRIQUE      GOMEZ                        TX     90012887330
1367494A172B62   MIRIAM       GUARDADO                     CO     90014869401
1367686115B154   TIMOTHY      PERRY                        AR     90015118611
13676A38577529   ANTONIO      ZARATE                       NV     90014590385
13676A91191899   JOHN         BELL                         OK     21004060911
1367758255715B   JIMENES      MARVIN                       VA     90005835825
1367946A751337   ANGEL        ANDRES RIVERA                OH     66063454607
1367B26A95B526   MIREYNA      HERRERA                      NM     90014192609
1367B659885649   TAKYA        WATSON                       NJ     90002566598
1367B84A75B523   ANTHONY      ROMERO                       NM     90015088407
1367B86664B26B   JORDAN       FIELDS                       NE     26032598666
1367B982591569   ALICIA       VASQUEZ                      TX     75031169825
1368117884B555   NETRA        BRANDY                       OK     90002831788
13681799A91569   ZAHRA        KEYVAN                       TX     90010067990
13681838A5B154   JOE          SMITH                        AR     90015468380
1368226267B489   RAJMAN       DARJEE                       NC     90009092626
1368235A58B154   CECILIA      SALAZAR                      UT     90009413505
1368358A891895   AGUSTIN      OLZABA                       OK     90012735808
1368375A672B62   CABALLERO    MARIA DEL CARMEN             CO     33054877506
1368399194B588   SHAMORRO     MCCAIN                       OK     90008849919
13683AA665715B   ANA          AGUILAR                      VA     81018980066
1368461A293783   DEBORAH      WEBSTER                      OH     90009726102
136853A5455948   RICARDO      MACIEL                       CA     90005583054
1368543A255976   STEPHANIE    PONCE                        CA     49097054302
13685865A72B62   DIANA        ROBLES                       CO     90014048650
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1368696AA5B154   JAMEZ         ROBENSON                    AR     90015459600
13686A33761976   ELIZABETH     YANEZ                       CA     46052760337
1368718567B489   XIOMARA       HENANDEZ                    NC     90012201856
1368719A14B555   MICHEAL       DEAN                        OK     90000361901
136876AA291885   PABLO         FUENTES-ALVARADO            OK     90008686002
1368791344B588   TIFFANY       KING                        OK     90011009134
13687A26431635   NATHAN        STEPHENSON                  KS     22068410264
1368866524B588   SARA          ROWELL                      OK     90014816652
1368919827B489   IRMA          SILVA                       NC     90012401982
1368B436576B68   MARIA         DIAZ                        CA     46013664365
1368B436931637   FRANCISCO     RUVALCASA                   KS     90009884369
1369112A174B82   HALEY         BROUGHTON                   OH     90014451201
1369189367B489   ALFREDO       RICO                        NC     11064308936
13691A73A4B555   JEANESS       LAWSON                      OK     90014790730
1369233275715B   FATIMA        VARGAS                      VA     90014343327
1369287232B262   JOSE          ORELLANA                    DC     90008188723
13692A7834B555   HELEN         ALEY                        OK     90014790783
1369373A761976   MARK          ARAGONA                     CA     90012067307
13694121872B62   ANNETTE       ROBBINS                     CO     33094711218
136947A5361938   MALACHI       HERNANDEZ                   CA     46078877053
1369516365B154   YOSMIKO       COLLINS                     AR     23050011636
1369537995B338   GREGORIO      TORRES GARCIA               OR     90008793799
13695A9194B555   SHEREE        KING                        OK     90014790919
1369766A461938   JENIFER       VILLA                       CA     90014826604
13697A6555B526   ADRIANNA      BERNAL                      NM     90009120655
1369818597B489   TANIA         BARRERA                     NC     90010401859
136985A1A47956   MANYLATH      SAKOUNKEO                   AR     24076235010
13699564176B68   JULIAN        ASTORGA                     CA     46088035641
1369966994B26B   AMY           ROBINSON                    NE     90007616699
13699AA313B369   JEFFREY       MAYTON                      CO     33027740031
1369B42115715B   HAMZA         BASSA                       VA     90013224211
1369B489972B25   DEISY         FLORES                      CO     90001004899
1369B733A91547   ENRIQUE       GOMEZ                       TX     90012887330
1369BA21791895   DAVID         BRACKETT                    OK     21080810217
136B1516A4B555   SHANEQUA      LONG                        OK     90014785160
136B1539861938   BREE          STEVEN                      CA     90000275398
136B159574B588   AARON         HANNA                       OK     90012665957
136B2331161938   ANGEL         SOLIS                       CA     90014413311
136B2455961938   ANGEL         SOLIS                       CA     90001734559
136B4552661976   BLANCA        VILLARESPE                  CA     90014185526
136B5A84891569   ROSA MARTHA   GOYTIA                      TX     90010360848
136B655217B489   SHANICE       CROWLEY                     NC     90013315521
136B7625561976   RAMON         HERNANDEZ                   CA     90014706255
136B794375B378   NICOLETA      LETA                        OR     90009569437
136B812A451337   MARGARET      KELLY                       OH     66044391204
136B8474172B62   PAULA         LOPEZ                       CO     33088404741
136B866895715B   FRANCISCO     GOMEZ                       VA     90007616689
136B8A98891895   MARCUS        WELDON                      OK     90009340988
136B8A98A7B489   DANIEL        ABREGO                      NC     90010580980
136B914464B26B   C             G                           NE     90012161446
136B9771172B62   ERIN          TURNER                      CO     33083487711
1371132355B526   HEATHER       BURKE                       NM     90011043235
1371141695B154   JOSHUA        CORLIS                      AR     23086024169
1371185A147956   SHERARD       JOHNSON                     AR     90014788501
137137A5655976   NADIE         TRUJILLO                    CA     90011387056
13714377A72B26   AMY           WOOD                        CO     90003173770
1371575575B526   BRANDEN       BONNELL                     NM     90010827557
1371593188B166   MARCOS        F LAZO                      UT     90008979318
13715A9914B555   BARBARA       RICHMOND                    OK     90006690991
13716A23A4B588   MELISSA       AVILAN                      OK     21505610230
1371775A54B588   KATHERINE     MCGOWEN                     OK     90012857505
13718324557B59   DEBORAH       FORNASZEWSKI                PA     90014393245
1371833928B183   JUANA         NAVARRO                     UT     90013283392
13719135A7B489   PEDRO         HERNANDEZ                   NC     90014811350
1371928A651337   KATHERINE     MALONE                      OH     90014482806
137194A9461976   GUILLERMO     GUERRERO                    CA     90012414094
13719761272B62   ELVIRA        MEDINA                      CO     90012617612
13719813A3B364   JORGE         LOPEZ                       CO     90013948130
1371996684B588   MARIA         QUIROS                      OK     90011009668
1371998387B489   MARY          CALDWELL                    NC     90012849838
13719A76A61958   GLENN         YAVORSKY                    CA     46031060760
1371B145472B62   NGA           LAM                         CO     33071061454
1371B734961976   RAUL          SANTILLAN                   CA     90010337349
13721576372B25   BETTIE        PORTER                      CO     90001025763
13722436A91895   JAMIE         KETCHER                     OK     21098424360
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13722654A61976   JEANETTE         RODRIGUEZ                CA     90011796540
13722A9612B966   ELIZABETH        KONECHNEY                CA     90012580961
13723A93851337   CARLA            ASHER                    OH     90010070938
137246A865B526   KA-DEJIA         WASHINGTON               NM     90014076086
137261A895715B   MIRIAN           CHICAS                   VA     81079431089
137272AAA4B555   RYANISHA         WOFFORD                  OK     90014792000
1372755364B588   LUQMAN           SALAUDEEN                OK     90004675536
137278A1491895   ORLANDO          DEBOES                   OK     21022158014
13728A12591895   LORIE            WALDRUP                  OK     90012550125
13728A63991569   ALEJANDRA        ROMERO                   TX     90014970639
1372957119379B   MICHAEL          BRODWSKI                 OH     90002405711
1372B492561976   MARIA PATRICIA   SALAZAR                  CA     90011204925
1373119A54B588   ROMAN            GONZALEZ                 OK     90002681905
1373249A355948   NORMA            ANZALDUA                 CA     90014894903
137325A4661958   LUIS             RUIZ                     CA     46008825046
1373362A861958   KENIA            BARON                    CA     90013416208
1373444885B154   CORTNEY          BROOKS                   AR     90013004488
1373523495715B   KAREN            PERALTA                  VA     81039112349
1373545844B555   TIFFANY          JACKSON                  OK     90014724584
1373616775B154   EFFIE            CHILDRESS                AR     90000571677
1373617A991895   RICK             SCHAAL                   OK     21061131709
1373655615B526   RYAN             MATTHEWS                 NM     90013235561
1373698794B555   PARTICIA         MUNOZ                    OK     21577709879
13736A9125715B   JOY              FARROD                   VA     90008370912
1373747AA72B62   BRANDON          SCARBERRY                CO     90000464700
1373762155715B   MISHA            SAMUELS                  VA     90011786215
1373782A37B489   MIGUEL           HURTADO                  NC     90000218203
1373899964B588   COURTNEY         MAYS                     OK     90014909996
13738A4263B359   CHERYL           BERRY                    CO     33023260426
1373931244B588   KRYSTINA         TAPLEY                   OK     90001653124
1373B314451337   JODI             JOHNSON                  OH     66001143144
1373B4A237B489   ZYHIER           FLEMMING                 NC     90014264023
1374189A45715B   YESHI            MELAKU                   VA     90014978904
13741A95447956   LORETTA          BROWN                    AR     90012580954
1374233968B163   MIKEL            GUTKNECHT                UT     90000903396
13742659A72B62   BRANDON          TORRES                   CO     90013066590
1374277A151337   ANTTONETTE       WILLIAMS                 OH     90014597701
1374327A391569   SELENE           NELSON                   TX     90011342703
1374359A691569   NEFTALI          GALVAN                   TX     90014255906
1374434A391263   KATRINA          SAVAGE                   GA     14586313403
1374441AA61976   THOMAS W         BISHOP                   CA     90011624100
13744767A55976   JOAN             MARQUEZ                  CA     90015187670
137465A3655948   ROSA             MACIEL                   CA     90013085036
1374743928B147   JONEL            VITAL                    UT     90003264392
1374782665B154   SHUNNA           TURNER                   AR     90009068266
137482AA291569   ELI              FERNANDEZ                TX     75014732002
137483AA771923   PAUL             HOLSTINE                 CO     90000363007
1374912912B242   JAMEL            LEWIS                    DC     90008461291
1374B37A847956   SATARA           WILSON                   AR     90014693708
1374B4A5A57147   CLAUDIA          CHAVEZ                   VA     90012924050
1374B815461976   HARRY            CHILTON                  CA     46024998154
13751337A77522   ERIKA            FRANCO                   NV     90001873370
1375142775715B   TALISA F         UPSHAW                   VA     81081194277
1375225738B139   BRENDA           BARRANDEY                UT     90009262573
1375278AA91586   MARIO            SANDOVAL                 TX     90010587800
13752A7A94B26B   MAGGIE           STRUBLE                  NE     90006830709
13753982176B68   NIKI             BURGAN                   CA     90004799821
13753A55272B25   SCHRESE          WELLS                    CO     90010970552
1375454274B555   DORIAN           CRIDER                   OK     90003385427
1375636425715B   TOMMY            FRITTEZ                  VA     90013973642
137563A234B555   DEMARNEE         TOSHAE                   OK     90014793023
137566A6724B55   JORGE            CRUZ                     DC     81023506067
1375733764B555   COREAN           FRANKLIN                 OK     90013783376
1375B45514B555   MICHAEL          E ROSIE                  OK     90000964551
13761246572B33   VANESSA          AGUILAR                  CO     90002722465
1376131115715B   MUHAMMAD         HUSSAIN                  VA     90004363111
1376138A14B26B   KARI             OLSEN                    NE     90013493801
13761A7818598B   DAVID            BLANKENSHIP              KY     90008080781
1376315925715B   SARDAR           ALI                      VA     81083721592
13763A3767B489   NORMA            VANEGAS                  NC     11097250376
137645A2661958   ANTONIO          VALENCIA                 CA     90010345026
13765228A5B154   FAYREAN          OWENS                    AR     90014832280
13765324A93783   KENDALL          BACCUS                   OH     90011243240
13765A79A4B588   WENDY            KEMP                     OK     90008490790
137663A534B26B   LETICIA          MARTINEZ                 NE     90010943053
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13766961A7B489   HELEN            MCKISSICK                NC     11037589610
1376726A17B373   ROD              GALINDO                  VA     90010212601
13768155A5B526   VINCENT          LACOUR                   NM     35075981550
137681A2147956   LARRY            JESSEN                   AR     24052521021
137684A9572B62   BERNETTA         JONES                    CO     90013674095
13768957924B73   FARHAD           TAHMASEBI                VA     81037529579
1376968919377B   MICHAEL          KINMAN                   OH     90012386891
1376988125B526   WESTON           BENDERMAN                NM     90010208812
137699A615B55B   MARIA            MIRELES                  NM     90014289061
1376B68919377B   MICHAEL          KINMAN                   OH     90012386891
1376BA31172B62   ANGIE            HARRIS                   CO     33045220311
1377124237B489   PEDRO            AGUIRRE                  NC     11000982423
1377276197B489   FAYONNA          BRISCOE                  NC     90012827619
13773A22347956   WILLIAM          KUNKEL                   AR     90003640223
13774A45271937   DAVID            KRAGOVICH                CO     90007960452
13775A52155948   CAROLINA         ESTRADA                  CA     90014150521
1377688264B588   ELENA            GRANADOS                 OK     90014258826
13776A88761938   CHARLES          MEEK                     CA     90013270887
137778A7872B34   GRENETTA         YOLDEN                   CO     90002448078
1377B185661938   MARIO            OCHOA                    CA     46012121856
1377B28125B526   MARY             FRAGUA                   NM     90012582812
1377B542191895   MARILYN          BROWN                    OK     90014425421
1377B5A7655948   MARIA            ZAMORA                   CA     49043825076
13781758424B7B   PAYGO            IVR ACTIVATION           MD     90004247584
137818AA257145   OCTAVIO          CRUZ                     VA     90006418002
1378243815B154   KENDALL          ADAMS                    AR     90015164381
13782A19A72B62   AARON            DEXTER-SELLS             CO     33007570190
1378315A751337   LESLIE           HAWKINS                  OH     90013611507
1378334595B154   ANNIE            BUCHANAN                 AR     90000683459
13783A42491263   HOPE             WILLIAMS                 GA     90013830424
13783A4A44B26B   MUNTAHA          KHALAF                   NE     90012230404
1378471125715B   LUNDIN           BARRERA                  VA     81019807112
1378558485413B   SCOTT            JOHANSEN                 OR     90015245848
13786561A7B489   KARALYNN         THOMPSON                 NC     90010365610
1378666675715B   ALFREDO          BURELA                   VA     81064986667
13786A94472B62   SPARKLES         DENVER                   CO     90012170944
13787377A4B555   CORINNA          VASQUEZ                  OK     90002143770
1378744945B154   MARCUS           BERNON                   AR     90015164494
13787974A5715B   RANDA            ALY                      VA     90007479740
137879A3657147   MIGUEL           SALHUA                   VA     90013379036
13788919A5715B   MARIA CAROLINA   LOPEZ                    VA     90011969190
13788A85455976   MAKAYLA          BELTRAN                  CA     90012760854
13789271772B62   MARIA            HERNANDEZ                CO     33043352717
1378B328533667   GREGORIA         OVIEDA                   NC     90014403285
1378B36115715B   RUGIATY          MUSA                     VA     81006933611
1378B39134B555   BRANDE           KISER                    OK     90012963913
1378B626691569   VIOLETA          MARTINEZ                 TX     90012466266
1378B7A5657147   JUNIOR GEOVANY   OLIVA                    VA     90012217056
1379156A376B68   HOLLY            POELSTRA                 CA     46096145603
1379162A861976   JOSE             JURADO                   CA     90011626208
137919AA74B555   SUE              BREHM                    OK     90014799007
13792A26247956   APRIL            WILLIAMS                 AR     90013930262
1379326564B537   BENNIE           SHAW                     OK     90006532656
13793A5A15B154   GLORIA           CHUN                     AR     23031220501
13793AA3255976   CHERRIE          SWILLIS                  CA     90009860032
13794748A55976   DANIEL           LOOSIER                  CA     90007857480
1379518368B194   JAMES            ALEXANDER                UT     31024801836
1379544524B555   KEVIN            MOBLEY                   OK     90014794452
137954A758B644   THOMAS           GARCIA                   TX     90015364075
1379619355B154   TIMOTHY          SUMMONS                  AR     90002041935
137963A9351337   MARY             GREER                    OH     66015983093
1379689AA91569   CLAUDIA          PORRAS                   TX     90014458900
1379753A161938   GILBERT          FRANQUEZ                 CA     90014915301
13797A35491569   MARIA            ROCHA                    TX     90006590354
1379857235B154   STEPHANIE        FRANKLIN                 AR     90012655723
1379868535B526   ZACHARY          MUNOZ                    NM     90008266853
13799A22651337   FELICIA          BROWN                    OH     66007540226
1379B564547956   MONIQUE          REPKING                  AR     90012465645
1379B59A75B154   SCHALONDA        GILKEY                   AR     23091975907
1379B65795B285   BRANDON          PAYNE                    KY     90005726579
1379B982585999   TONY             CRESS                    KY     66043479825
137B1466655948   SAMANTHA         PINEDA                   CA     90011634666
137B157117B489   PAUL             COOPER                   NC     11004985711
137B161365B326   RACHEL           BAKER                    OR     90007536136
137B2184261938   ELIZABETH        GUZMAN                   CA     90001321842
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137B221917B489   SHAWN        MC MILLER                    NC     90008622191
137B235315715B   SHAWN        BRANDANI                     VA     90011363531
137B24A387B489   WILLETTE     JAMES                        NC     90010234038
137B271434B588   PRESTON      JONES                        OK     90012317143
137B298AA76B68   EDU          BENITO                       CA     46065109800
137B2A2725715B   SHAWN        BRANDANI                     VA     90014880272
137B3511255976   MICHELLE     LOWE                         CA     90013005112
137B3572872B62   JOSE         BLAS                         CO     33098065728
137B391815B154   TAMMY        SMALL                        AR     23091559181
137B41A574B555   STEVE        ELLIS                        OK     90014791057
137B422264B26B   WESLEY       ENDERLEIN                    NE     90014832226
137B4347261958   JENNIFER     BAZZO                        CA     90004683472
137B434A357147   MAJOR        SINGHBHOGAL                  VA     90014143403
137B4469655976   JACQUELENE   MANDUJANO                    CA     90014444696
137B5547662334   MARIA        COVARRUBIAS                  KY     90014395476
137B5575891895   NATALIE      GLASS                        OK     21020845758
137B5575891899   NATALIE      GLASS                        OK     21020845758
137B614A161976   DAVID        DARRAH                       CA     90000681401
137B6392A93767   SHIMIKA      DUERSON                      OH     90007733920
137B66AA171932   SARA         BECK                         CO     90008476001
137B6978157147   YESSY        MEJIA                        VA     90000489781
137B7398757147   TEDDY        ROCHA                        VA     81027343987
137B7426A55948   HIDANIA      VALDERAMA                    CA     90012154260
137B74A8591263   ROSA         GARCIA                       GA     90013494085
137B7A6455B154   TRISHA       BLAIR                        AR     90014290645
137B811334B555   WENDY        MARLAR                       OK     90014791133
137B817124B588   KORTANY      MILES                        OK     90015201712
137B8493A4B267   FELICA       HAWKINS                      NE     27009234930
137B896827B489   LUTORIA      LEGETT                       NC     90013729682
137B9221561958   RAFAEL       BLANCO                       CA     46011842215
137B9254272497   SHERRY       BLOCK                        PA     90011592542
137B97A1391895   DENISE       MORELL                       OK     90004267013
137BB48987B489   NANETTE      GARCIA                       NC     11085884898
137BB55255B526   STEVAN       ARANDA                       NM     90005105525
137BB5A3455948   KAYDEE       CASTANOS                     CA     90013085034
137BB855147956   KATHIE       JONES                        AR     24064758551
13811492A4B588   TRACY        WHITTHORNE                   OK     90010224920
138127A224B588   KEILA        HENDERSON                    OK     90012937022
138128A6661985   MANUEL       BERRIOS                      CA     90001898066
1381322545715B   JOSE L       RIVERA                       VA     90012832254
1381348A751337   JANINIE      HILL                         OH     90002894807
13814223997B23   GUADALUPE    ZEPEDA                       CO     90006312239
138144A354B588   KEVIN        RODRIGUEZ GARCIA             OK     90011234035
1381553667B424   DEBORAH      THOMPSON                     NC     90005295366
1381857944B555   CALZADA      HERRERA                      OK     21554555794
1381971AA5715B   PEDRO        PORTILLO                     VA     81063777100
13819A55A76B68   RAFAEL       LOPEZ                        CA     46070070550
1381B216272B62   LEONOR       FUENTES                      CO     90013782162
1381B46875B154   FRENEDIZ     HERNANDEZ                    AR     90007584687
1381B9A164B588   DARIEL       ASHLEY                       OK     90014829016
13821A91624B75   TELMA        BARRIOS                      DC     81090930916
1382344A972B62   MICHELLE     MATHEWS                      CO     90014034409
1382389385B526   PAULA        BOGACZ                       NM     35063238938
13823931172B2B   JAMI         SABELL                       CO     33053149311
13823964172B62   MICHELLE     MATHEWS                      CO     33026719641
138245AAA57147   TONEY        TOMONEY                      VA     90013705000
1382525255715B   TAMSYN       O'FLYNN                      VA     90011022525
13825A56872B62   GUADALUPE    BARRON                       CO     33002280568
138272A915715B   CARLOS       ESCALANTE                    VA     90005082091
1382735A857147   SANDRA       FIGUEROA                     DC     90004603508
1382748777B489   PAULA        HOWIE                        NC     90008534877
1382792654B565   TAMARA       JOHNSON                      OK     90011179265
13827A9276B933   LORENZO      BISHOP                       NJ     90015030927
1382856A34B588   EMERSON      CIFUENTES                    OK     90010615603
1382858734B555   KYSHA        WILLIAMS                     OK     90010335873
1382867384B588   JACOB        HARRELL                      OK     90014876738
1382927992B239   ERIC         SMITH                        DC     90003572799
1382954835B526   TAMMY        CHAVEZ                       NM     35069415483
1382B566861976   MARIA        ALVAREZ                      CA     46094315668
1382BA36161958   FABIAN       VILLALOBOS                   CA     90006520361
1383141244B588   LAURA        COLEMAN                      OK     90015094124
1383265A555976   MARIBI       NUNEZ                        CA     90011226505
1383311175715B   RAPHAEL      CARTER                       VA     81003521117
1383382A491526   JESSE        FLORES                       TX     75074688204
13834AA8455976   RICK         OROZCO                       CA     90008760084
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13835A65961958   ITALO            POTTER                   CA     90014890659
1383751397192B   DOLLY            ZENGERLE                 CO     32039065139
13837654A7B489   JOHN             FREEMAN                  NC     11074296540
13838AA862B922   CINDY            GARRIS                   CA     90013510086
1383987565B154   ASHLEY           CARRANCO                 AR     90013618756
13839AA985715B   SCOTT            SHIFLETT                 VA     81030340098
1383B465372B62   DAVID JOHN       BURTON                   CO     90005414653
1384113A391263   ESAYSHA          GOLDEN                   GA     90014531303
1384123655B526   JOSHUA           HANKE                    NM     90002652365
138412A8424B7B   JOSE             SANCHEZ                  VA     90011462084
1384168736192B   ARMANDO          PRIMATIVO MORA           CA     90006286873
13841A77557147   GLENDA           ORDONEZ                  VA     81095850775
1384283915B526   FRANCISCO        RUIZ                     NM     35012668391
13843493172B62   JUAN             HERNANDEZ                CO     33056604931
13843842A91895   JORGE            HERNANDEZ                OK     21034008420
13843A29891569   PAUL             GLAZEBROOK               TX     90010630298
138445A935B526   JASON            ZERN                     NM     90014565093
1384462A391569   SILVIA           PEREA                    TX     90014036203
13844919A51337   ROGER            EARLS                    OH     66076239190
13844A2494B588   MARICHUY         VELASCO                  OK     90014770249
13844A56255948   MARCOS ANTONIO   VALLADARES               CA     90002450562
1384555555B526   CARLOS           VALLES                   NM     90005195555
1384559774B555   CHRIS            WINGATE                  OK     90014795977
138469A625B526   ERIC             WATKINS                  NM     90014889062
13846A43461976   JESUS            ORTIZ                    CA     46002620434
13846A66731687   LISA             GINTHER                  KS     22093930667
13847398A61938   LYLE             ROLLINS                  CA     46001573980
1384766245B526   JOSHUA           LOOMIS                   NM     90015126624
138476A474B555   MELISSA          MILLER                   OK     90014796047
1384816717B489   JUAN             PEREZ                    NC     90007761671
138482A6591895   MIA              ANSART                   OK     90015132065
1384853A451337   JOSHUA           STEPHENS                 OH     90011915304
13848A1644B555   JEFFERY          MITCHELL                 OK     90014810164
1384918A631635   BELINDA          YOUNGKEN                 KS     90002751806
1384B45273B396   JACKIE           HERRERA                  CO     90004794527
1385299155136B   EDDY             MOTA REYES               OH     90012979915
1385312354B588   JOEY             PENNOKEE                 OK     90012931235
1385362A391569   SILVIA           PEREA                    TX     90014036203
1385675555B177   LASHONDA         GILMER                   AR     90014157555
1385712144B588   DEBORAH          BAYSINGER                OK     21580081214
1385717664B555   JEREMY           THOMAS                   OK     90015081766
138573A5991895   MALIKAH          BOWLDS                   OK     90011403059
1385858A331635   ASHLEY           BLACKMON                 KS     90009175803
13858627A4B555   HEATHER          DAVENPORT                OK     90014796270
1385882554B588   GARY             OLIVER                   OK     21552188255
13858A16961958   RAYMOND          SPRIGGS                  CA     90008040169
13859199233B95   DEAN             BAYUS                    OH     90014171992
1385985155715B   EVER             GARCIA                   VA     90007398515
1385B7A966612B   FERNANDO         VELASQUEZ                CA     90015447096
13861119772B62   VALENTINA        VALDEZ                   CO     90009811197
13861351A4B26B   AIRLIA           EPP                      NE     26086053510
13861A19531422   MICHAEL          THOMPSON                 MO     27592270195
1386239174B26B   CARLOS           SANCHEZ                  NE     90014093917
13862422772B62   NICHOLAS         HILEMAN                  CO     90015034227
138626A1147956   BUDDIE           DYE                      AR     24006336011
13862A8345715B   PEREZ            ANGEL                    VA     90014040834
1386385485715B   TREVOR           JACKSON                  VA     90004768548
1386427115715B   SKANDER          ERRAI                    VA     90013432711
13864A48A61958   SONIA            HERNANDEZ                CA     46066370480
1386544755B526   OSVALDO          LOPEZ                    NM     90013074475
138654AA261958   ROBERT E         LYNN                     CA     90012464002
13866151A51337   JACK             CONSTABLE                OH     90012261510
13866349A57147   ERIC             YETTER                   VA     90006113490
1386742A172B62   MARYURIS         UYAPA                    CO     90013674201
1386764124B555   JESUS OMAR       SANCHEZ                  OK     90014796412
13869117A47956   MELISSA          LADEROS                  AR     90014681170
138694A3A61976   LETICIA          GAMBOA                   CA     90013364030
1386959944B588   WENDY            BRYAN                    OK     90012405994
13869711A57147   SAUL             HERNANDEZ                VA     81039297110
1386B325791263   BRITTANY         SMITH                    GA     90013003257
1386B6A745B154   JASMINE          RENTERIA                 AR     90015606074
1386B8A9724B7B   AUDRY            HERNANDEZ                VA     81055008097
1386B987851337   KIMBERLY         HUTCHESON                OH     66081219878
13871A64A55948   LEOBARDO         SANTOS                   CA     90012040640
13872427172B62   ROGELIO          GONZALEZ                 CO     90010424271
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1387243A55B154   LISA          STOTT                       AR     90013474305
13872564A76B68   ROSA          GALLARDO                    CA     90001665640
1387264724B555   OSCAR         LINO                        OK     90014796472
1387331397B489   JULIAN        ORTIZ ALVARADO              NC     90004273139
138733A985B526   DENNIS        ELLIOTT                     NM     90012463098
13873A38171923   LILA          TORRES-MERAZ                CO     90007610381
1387465364B555   DANIELLE      WILLIAMS                    OK     90014796536
1387518AA5715B   SYLVESTER     JONES                       VA     90010031800
1387684365B526   RACHEL        LOBATO                      NM     90013788436
1387764A272B62   MICHAEL       MADDOX                      CO     33010116402
1387814994B588   TAI           JONES                       OK     90015291499
1387865364B555   DANIELLE      WILLIAMS                    OK     90014796536
1387876A94B26B   BRADLY        BURDEN                      NE     26053687609
13878788772B26   JOHN          DEUBEL                      CO     90010917887
13878963572B62   FREDDIE       JOHNSON                     CO     90014919635
1387953455715B   CLEFE         URIONA                      VA     90010925345
13879985A91573   MARISELA      BUSTAMANTE                  TX     90011659850
13879A66157147   JOSE          VELIS                       VA     90015310661
1387B412A91569   JORGE         ALVARADO                    TX     75018434120
1387B64744B555   ROBERT        HARRIS                      OK     90009856474
1388133AA91895   FRANKIE       SILVERSMITH                 OK     90013883300
1388165844B555   CANDY         BARNETT                     OK     90014796584
1388182A372B62   AARON         MORALES                     CO     90013308203
1388322A15715B   FREDDY        RIVERA                      VA     90012142201
1388352A172B62   APRIL         BALDERSTON                  CO     33049205201
13883A78A47956   JULIA         WHITEHEAD                   AR     90014560780
138841A1976B68   ARIANA        MARQUEZ                     CA     46074561019
1388519A75B154   ZAKIYYAH      MUHAMMAD                    AR     23001641907
1388727644B555   JUSTIN        LATHROP                     OK     90014462764
1388747A65B526   VALERIE       COTTON                      NM     90008664706
1388775A75B154   BAMON         HUNTER                      AR     90015067507
1388817274B588   FREDDIE       JONES                       OK     90015201727
1388874A15715B   OSCAR         BENITEZ                     VA     81082387401
1388917A591569   MIGUEL        GOMEZ                       TX     75016531705
1388979914B26B   COMLANVI      KONOU                       NE     90002547991
1388B954691895   DESMOND       CAMPBELL                    OK     90015189546
1388BA21655948   WILMER        ORELLANA                    CA     90014100216
1389293674B582   RONALD D      ROSS                        OK     90003579367
1389356A131687   TERRA         GATES                       KS     22039065601
1389526A87B445   JACOB         ARRIERO                     NC     11096982608
13895A29A4B536   CANDACE       MILES                       OK     90011340290
13895A69391569   MONIQUE       HERNANDEZ                   TX     90013290693
1389671A55715B   HUGO          MARTINEZ                    VA     90004617105
13897119A61976   MARCUS        BALDWIN                     CA     90006271190
1389733467B423   KENIA         CALDERON                    NC     90011273346
1389746644B588   OSEANACEE     LICEA                       OK     90013274664
13897A4695B154   KELVIN        SCROGGINS                   AR     90010900469
13898A7695715B   ALVARO        DEL CID                     VA     90011390769
1389B214355948   ROGER &       CHARLINE CALDWELL           CA     49092902143
1389B255772B62   ANGELA        LEWIS                       CO     33095482557
1389B365591895   ANGELA        MCDONALD                    OK     90000913655
1389B431361976   RAMON         HERNANDEZ                   CA     90012414313
1389B554291899   WILLIAM       HARTSFIELD                  OK     90010105542
138B1551691569   ALEXIS        GARNICA                     TX     90014445516
138B172324B26B   MICHELLE      SVOBODA                     NE     90005007232
138B3379131687   JEANNETTE     WHERRELL                    KS     22082803791
138B3469431687   JEANNETTE     WHERRELL                    KS     90012814694
138B3725155948   DANIEL        PEREZ                       CA     90013087251
138B391A872B62   JUAN          MACIAS                      CO     33000909108
138B4228131687   SHERRI        MYERS                       KS     22090722281
138B486327328B   ADRIANA       REYES                       NJ     90014958632
138B5115155976   AZUCENA       HERNANDEZ                   CA     90010761151
138B5494631476   KELLIE        SHEA                        MO     90009154946
138B555252B887   DAVID         SCOTT                       ID     90005825525
138B5A54691263   DEIDRE N      HENRY                       GA     90009570546
138B6197655948   EPI           MALAGON                     CA     90014071976
138B665957B489   CHRISTOPHER   HALL                        NC     90012906595
138B67A3191569   WINTER        MORALES                     TX     90012827031
138B7192751337   KENNETH       STINGLEY                    OH     66015171927
138B748A94B555   DAMARCUS      CHILES                      OK     90014794809
138B74A164B588   MARIA         GARCIA                      OK     90010474016
138B8168176B68   ARMANDO       BATISTA                     CA     90012621681
138B83A3891569   SUSAN         FARIAS                      TX     75077013038
138B9464861976   ELISA         LEAL                        CA     90013624648
138B963115B526   JOSE          ARROYO                      NM     35077216311
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138B9982947956   EMERALD        MCELWEE                    AR     90007879829
138B9A3888B192   METODIO        VAZQUEZ                    UT     31007210388
138BB46524B555   RAMONA         BARINGER                   OK     90014794652
138BB739A7B489   PAULINA        BARR                       NC     90002047390
1391129AA61985   BOBBIE MARIE   HIPPERT                    CA     90009412900
1391166A561958   DAREION        FRANK                      CA     90013416605
13911859772B37   JOSE           EMILIO                     CO     90009318597
13912A4678B192   DIEGO          ORTEGA                     UT     90015040467
13914311972B62   IMELDA         VASQUEZ                    CO     33019803119
1391436994B588   SHAWN          DICKEY                     OK     90012293699
139147A1391895   DELECIA        HINES                      OK     21024447013
1391633635715B   NEYSON         ARANCIVIA                  VA     90012133363
13916A8442B264   ALI            MAHMOOD                    VA     90011160844
13917467772B62   MARIA          ORTEGA                     CO     90010994677
1391755214B555   JACQUELINE     LEE                        OK     90002125521
139178A5124B7B   DANDRIA        HILL-BURNO                 DC     90009688051
13918793876B68   HEIDI          DORSEY                     CA     90006997938
13919884A91569   NOEMI          GALVAN                     TX     90014528840
13919A1A561938   MARICELA       ALVAREZ                    CA     90012600105
1391B144491263   EVELYN         EWELL                      GA     90013191444
1391B177255948   JUAN           RODRIGUEZ                  CA     90014531772
1391B487891895   STANLEY        GORDON                     OK     90006614878
1391B82767B489   SANDRA         WHITNEY                    NC     90006418276
1392137944B26B   NIKOLETTE      KIRKENDOLL                 NE     90002673794
1392331985B154   ARMANDO        GOMEZ                      AR     23092193198
13923585472B62   A              GARDNER                    CO     33031645854
1392375A54B588   KATHERINE      MCGOWEN                    OK     90012857505
139245A4451337   JOSHUA         LIGGETT                    OH     90014615044
13924A71247956   EARLENE        BARTH                      AR     24043950712
1392512575715B   JAQUELINE      FUENTES                    VA     90011941257
13925A7A191569   MARIA          GUERRERO                   TX     90005960701
13926365A57147   TARA           SMITH                      VA     90007313650
1392665125B526   ANDREA         JENKINS                    NM     90007046512
13927861A4B555   ROBERT         SMITH                      OK     90001358610
139286A564B555   LAKESHA        JENKINS                    OK     90013266056
1392873994B929   AARON          WELLER                     TX     90007087399
13928A9714B26B   MARGUERITE     HARLAN                     NE     90014460971
13929333A4B588   CONCEPCION     TORRES                     OK     90011673330
1392B357A91569   NORMA          GARCIA                     TX     75083113570
1393199A661976   MELISSA        MELERO                     CA     90011629906
13932772A2B284   MANOJI         SINGH                      DC     90012417720
139327AA97B489   OCTAVIO        VARILLAS                   NC     90013807009
13932A37861976   ALAN JAMES     WILLIAMS                   CA     90013740378
13933147A31635   PERLA          SALAZAR                    KS     90005821470
1393395A733B7B   CARROL         ATCHISON                   OH     90015469507
13933AA384B555   CURTIS         DANNY                      OK     90014800038
13934615376B68   JERRY          MCKENNAN                   CA     90013346153
13936953A4B555   JAMEA          HOOKS                      OK     90014799530
1393743715715B   SHABINA        KOUSAR                     VA     90011314371
1393831975B526   ODELIA         TULLY                      NM     35080353197
1393835194B588   RONNIE         SCOTT                      OK     21580303519
13938634476B68   JON            OLSEN                      CA     90000606344
13938AAA657147   ANA DELMI      ALVARADO                   VA     90003510006
13939435291B43   JULIAN         HERRERA                    NC     90015184352
1393B539372B62   ALFREDO        BALTIERRA                  CO     90000485393
1393B863391569   ELIZADRO       TELLEZ                     TX     90006558633
1393BA31655976   BAO            VANG                       CA     49006140316
1394341534B588   FREDERICK      CARTER                     OK     90011014153
1394395645B154   ORLANDO        BURKHALTER                 AR     90001689564
1394499155136B   EDDY           MOTA REYES                 OH     90012979915
13945154A55948   LORENA         LUNA                       CA     90015041540
139451A6A57147   JOSE           CASTILLO                   VA     90012211060
13945AA4131967   RAMIRO         AGUILAR-SALDIVAR           IA     90010410041
139463A4476B68   DAISY          POMILIA                    CA     46075443044
13946A2784B555   CHRIS          BARTON                     OK     90014800278
139474A7357147   VIVIAN         CABRERA LOPEZ              VA     90012054073
13947A2984B555   NANCETTA       BAKER                      OK     90014800298
1394852A457147   KESTON         LOVELL                     VA     90014145204
139492A154B555   KAREN          WEBB                       OK     90014832015
13949A99961958   CASSANDRA      SUA                        CA     90012990999
1394B14765B154   KEIANA         WRIGHT                     AR     90014701476
1394B31798B343   MELISSA        NEWMAN                     SC     90014813179
1394B5A125B384   DENNIS         HESTER                     OR     90013915012
1395139A151337   SIYOMDA        SAMPLES                    OH     66076993901
13951848A72B62   AMBER          HUEY                       CO     90011008480
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13951A3A491569   ANITA        RODARTE                      TX     90009480304
13952659A55976   PHILIP       LEANO                        CA     90011846590
13953273572B62   ALEX         MONTANA                      CO     33077772735
1395383547B489   DIANE        COOPER                       NC     11012448354
1395415A551337   CHISTINA     ELAM                         OH     90004231505
13956583972B26   APRIL        SWAGERTY                     CO     33018005839
13956A38791895   RICHARD      CAMPANO                      OK     90012770387
1395737294B555   TERESA       BURGESS                      OK     21592353729
13957911A61958   JOE          BURKE                        CA     46041059110
139589A9491895   CHRIS        MACK                         OK     90012519094
1395B4A1653B32   MAI          NGUYEN                       CA     90013324016
1395B539861976   SARAH        HOSKINS                      CA     90012475398
1395BA33961968   FERNANDO     PEREZ                        CA     90003520339
13961127A57147   ANGY         CARDENAS TINEO               VA     90000361270
1396176995B154   JIMMIE       BOWMAN                       AR     90014597699
1396232487B489   SHETINA      FUNDERBURK                   NC     90002193248
13962A9844B555   CRYSTAL      LOPEZ                        OK     90014800984
13962AA335B526   CHRISTIAN    LAZO OCHOA                   NM     90005880033
1396336A872B62   FRANCISCO    SILVA                        CO     33006023608
139642A8561958   MARILU       HERRERA                      CA     46052352085
1396644918B192   CHANNING     LARSON                       UT     90010274491
1396845444B588   WYATT        ALLEN                        OK     90014574544
13968A36961958   PEDRO        FERRAN                       CA     90010140369
139698A3172B62   DEONNA       COMBS                        CO     90014158031
139699A9791569   CHRISTIAN    SALAZAR                      TX     90014459097
13969A65793756   LUCAS        CRAWFORD                     OH     90011090657
13969A68691895   BRIA         NERO                         OK     90010390686
1396B398372B62   CYNTHIA      ACEVEDO                      CO     90001813983
1396B45975715B   ELSI         ROMERO                       VA     81020124597
1396B674491569   MILTON       GARCIA                       TX     90015086744
1396B77654B26B   MEGAN        GRASMICK                     NE     90012137765
1397162224B254   KALVIN       PRIMES                       NE     90013436222
1397199A37B489   JUAN         CUNNINGHAM                   NC     90014869903
13972A37657147   ARAON        COLON                        VA     90013560376
13972A8218B165   MIGUEL       DIAZ                         UT     90014140821
139736A5191569   NATALIA      SIAS                         TX     90008506051
1397399225B526   GURROLA      CLAUDIO                      NM     35034259922
1397491A761938   COCOA        TURNER                       CA     90005989107
13974A11855976   HEATHER      TRABER                       CA     90000970118
1397556337B489   CESAR        HERNANDEZ                    NC     90009455633
13975A4A972B62   ULISES       LUNA                         CO     33045620409
1397627A691895   STEPHANIE    SMITH                        OK     90011232706
1397656926B837   DAVID        SOUKUP                       WI     90014795692
1397858A861976   AARON        PASILLAS                     CA     90013065808
139788A254B555   LATRINA      FISHER                       OK     90014378025
139792AA35B154   MARK         MONK                         AR     90010652003
13979685A61938   SHAWN        ALFARARO                     CA     90013096850
1397B181855948   ROSA         PIMENTEL                     CA     90014881818
1397B213791263   PAYGO        IVR ACTIVATION               GA     90010692137
1397B226A72B62   ERIK         ABARCA                       CO     90012952260
1397B61194B555   CAROLINA     MONTANO                      OK     90013746119
1397B939957147   JUAN         SANCHEZ                      VA     90008039399
1398139A857147   MARGARITO    PEREYRA PEREZ                VA     90010233908
13981597372B62   DYLAN        ANDREW                       CO     90014815973
139819A362B284   CECIL        MALONE                       DC     90004989036
13982947272B62   ANTHONY      DABNEY                       CO     33074839472
1398415954B588   BRANDI       HURT                         OK     21580601595
13984323A61976   LORENA       MACHADO                      CA     90008693230
1398444424B26B   KRISTINA     SCHOONOVER                   NE     26000994442
1398446415B154   SHANTIAYA    BAILEY                       AR     90012014641
1398515824B555   JUAN         RAMIREZ                      OK     90014801582
139854A8491569   ANGEL        RUIZ HERNANDEZ               TX     75016104084
1398552A74B588   KEELA        SHAW                         OK     90011015207
13985743A61938   MAILE        MCGEE                        CA     90013097430
13985A43891263   SHARMANE     DANIELS                      GA     90014410438
13985AA8491895   ISSAC        SIMMONS                      OK     21037540084
1398667974B555   MARENY       RESENDIZ                     OK     90012906797
139874A8855948   MARIA        LEYVA                        CA     49009804088
13987558A4B588   ASHLEY       JOHNSON                      OK     90011015580
1398813314B26B   TYLER        HRUZA                        NE     90003261331
1398878135B254   STEVEN       CONARY                       KY     90011657813
1398885435B526   COREY        DEOJAY                       NM     90013788543
13988917872B62   LORETTA      LOVATO                       CO     90000149178
13988925A61958   TINA         COOPER                       CA     90002789250
139893A9A91569   JASON        MARTINEZ                     TX     90011053090
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1398975345B526   NANCY          AGUILAR                    NM     35027197534
1398981724B588   MICHAEL        COX                        OK     21558108172
1398997775413B   YESICA         CORTEZ                     OR     90015369777
1398B18575B154   JENNIFER       JOHNSON                    AR     90012371857
1398B28A791895   BRITTANY       HAWTHORNE                  OK     90014712807
1398B317A76B68   MARY           NOBLE                      CA     46079313170
1398B684244353   KEVIN          JOHNSON                    MD     90015556842
1399242A172B62   ANA            BECERRIL                   CO     33032524201
13996344272B62   FRANK          SCHUELLER                  CO     90007153442
139972A774B555   BELVA          BURRIS                     OK     90014802077
1399743564B26B   JASON          FLOYD                      NE     90014714356
1399819265B154   JOANNE         WEAVER                     AR     90012561926
139981A6A57147   MELINA         ALI                        VA     90013731060
1399821A64B555   JEFFREY        GAMBLE                     OK     90014802106
13999273A4B588   LUCERO         FLORES                     OK     90013672730
139996A752B27B   CYNTHIA        GARRETT                    DC     90007586075
1399B117261938   LUZ            JUAREZ                     CA     46088231172
1399B5AA14B26B   ROEINURAHMAN   MANSOOR                    NE     90012235001
1399B935571923   TIM            PAIZ                       CO     90008599355
139B168354B26B   AMANDA         REGAN                      NE     90010196835
139B2361455976   DELANA         CUNNINGHAM                 CA     90012113614
139B2573157125   JORGE          CRUZ                       VA     90000465731
139B261A172B62   SEAN           MCENIRY                    CO     90012056101
139B319155B526   SILUSTRE       SANCLIEZ HERNANDEZ         NM     90006211915
139B3A39561958   GREEN          LOTUZ                      CA     90007300395
139B4229131687   LORI           STERNER                    KS     22072942291
139B4359147956   KATHERINE      CHRONISTER                 OK     24074543591
139B4531961958   TIMOTHY        JOHNSON                    CA     90011105319
139B4786955976   KATHERINE      CHA                        CA     90008807869
139B47AA491569   JESSE          DIAZ                       TX     90012437004
139B486975B526   JACQUELYN      PITTINGTON                 NM     90013868697
139B5163655948   MAGED          MOHAMED                    CA     90014881636
139B526674B588   KEARRA         GREENE                     OK     90011012667
139B5A18955948   MARY           WOODWARD                   CA     90014840189
139B5AA1A5B526   LEONARDO       IBARRA                     NM     35060900010
139B6775851337   STEVE          BREUNIG                    OH     90012287758
139B6888391569   FABIAN         GARCIA                     TX     90000788883
139B699A97B489   SWINDELL       PHILLIPS                   NC     11035429909
139B713585B526   LUIS           GONZALEZ                   NM     90010201358
139B7643772B62   RACHEL         VALDEZ                     CO     90010196437
139B771735715B   IASHA          KANWAL                     VA     90010277173
139B785374B588   TINA           MARTIN                     OK     21591938537
139B7932155948   JOSH           BANDY                      CA     90008659321
139B945855B526   TRAVIS         KEYONNIE                   NM     90011444585
139B962A371929   JONATHAN       ROMERO                     CO     90013436203
139B9643593768   WILLIAM        WHITSEL                    OH     64516256435
139BB65614B555   LORENA         LOPEZ                      OK     21523376561
139BB97A94B588   KAYLA          DOUGLAS                    OK     90007119709
139BBA9294B26B   NESHA          POTTS                      NE     90014840929
13B11212272B62   KATHERINE      WALKER                     CO     33078892122
13B1135954B555   ANEURIN        NETHERLAND                 OK     90014733595
13B121A114B555   SIOUX          REDEARTH                   OK     90014771011
13B12526486463   JOES           LARA                       SC     90015405264
13B12577691263   LADERICK       GROOVER                    GA     14590535776
13B12927361958   MAYALI         GILBERT                    CA     90011959273
13B13117557147   GHULAM         MOHAMMAD                   VA     90002951175
13B134A4855948   VERENICE       RENTERIA                   CA     49007474048
13B14446651337   HERNANY        GONZALES                   OH     66065834466
13B14562961938   LUIS           HINOJOSA                   CA     90011175629
13B14661761437   JAMES          JOHNSON                    OH     90014096617
13B14719891569   LOPES          ALEXIS                     TX     90007827198
13B14822951337   NICK           STITZEL                    OH     90014868229
13B16581261976   LUIS           CISNEROS                   CA     90014705812
13B16641297B3B   TAUSHA         AUSMUS                     CO     90013686412
13B16651A55948   FRANCISCO      ARELLANO                   CA     90013316510
13B17285191569   JOSE           CORONA                     TX     75047202851
13B17345855944   MARIA          VENEGAS                    CA     90007723458
13B1739124B555   LAURA          TORRES                     OK     90014733912
13B1818843B376   WALTER         VASQUEZ                    CO     90004751884
13B1824894B555   ANGELA         ESCARENO                   OK     90008492489
13B1869735B154   KELCEY         WILLIAMS                   AR     90008746973
13B19135391569   DIEGO          QUINTANAR                  TX     90014781353
13B1976924B588   VALERIE        RICHARDSON                 OK     21537937692
13B1B35654B555   LOUISE         LYONS                      OK     90014733565
13B1B4A247B489   ARTURO         ZAZUELTA                   NC     90013884024
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13B1B829255948   IRWIN        RAMIREZ                      CA     90013948292
13B1BA37561958   MARIA        PEREZ                        CA     90008190375
13B2153637B489   MACARIA      DIAZ                         NC     90014425363
13B21A82376B68   MARIA        REED                         CA     46056730823
13B224A294B555   MANDY        PARKS                        OK     90014734029
13B2271525715B   OSMIN        MARCIA                       VA     81061537152
13B23216155948   DIANA        CORTEZ                       CA     90012112161
13B2391425B526   SAMUEL       VASQUEZ                      NM     35005619142
13B24484457147   JOSE         AYALA                        VA     90014874844
13B24AA2555948   SYLVIA       RIVERA                       CA     90012540025
13B25993A91586   BONNIE       ORTIZ                        TX     90010229930
13B25A2A45B154   MISTI        CASEY                        AR     90012490204
13B2685656197B   DAVID        WARD                         CA     46013998565
13B26A31576B68   MOISES       ORTIZ                        CA     90009960315
13B27273A4B588   LAURA        RODRIGUEZ                    OK     90010582730
13B2732864B588   MIKE         ARAMBULA                     OK     90014363286
13B2759A876B68   ALEJANDRO    MALDONADO                    CA     90002235908
13B2782597B489   DERRICK      SNYDER                       NC     11030198259
13B278A865715B   CECIBEL      CONTRERAS                    VA     81061538086
13B2841A572B62   VICTORIA     DELHIERRO                    CO     33028784105
13B28A66776B68   ALBERTO      VASQUEZ                      CA     46056740667
13B29811A31635   KELLI        GICHUREH                     KS     90010168110
13B298A865715B   CECIBEL      CONTRERAS                    VA     81061538086
13B2B416926266   JENNIFER     SCHILLING                    WI     90015384169
13B2B4A294B555   MANDY        PARKS                        OK     90014734029
13B2B575255948   JEANETTE     BALCAZAR                     CA     90014385752
13B31483372B62   BELZAZAR     MADRID                       CO     33006794833
13B31484457147   JOSE         AYALA                        VA     90014874844
13B3228348B194   VERONICA     PINON                        UT     90010482834
13B32385151337   TANEKA       DAWSON                       OH     66002133851
13B3246944B555   JOSPEH       WASHINGTON                   OK     90014734694
13B3275A372B62   AIMEE        CHANEY                       CO     90012857503
13B32847355944   RICHAR       JIMENEZ                      CA     90004158473
13B33674A55948   JEANETTE     RAMIREZ                      CA     90012856740
13B33868547956   ALEJANDRO    ZAVALA                       AR     24025848685
13B33A93576B68   ANGELICA     TRUJILLO                     CA     46094680935
13B34256A4B588   BONNIE       DAVIS                        OK     90010582560
13B345A134B555   FRANCISCA    GRADO                        OK     90014735013
13B34783572B42   JEFFERSON    NALLEY                       CO     90010187835
13B3541827B489   DELIA        PORTILLO                     NC     90002364182
13B3547574B555   TONIESHA     MCCRARY                      OK     90014734757
13B35569261976   ANTHONY      MCOLGAN                      CA     90012675692
13B355A614B298   AMY          SHEPHERD                     NE     90002955061
13B3627977B489   JUAN         CHOJOLAN                     NC     90005072797
13B3636274B555   MARLENA      CHURCH                       OK     90005143627
13B36914771935   STEPHEN      SPEER                        CO     90009469147
13B37455A76B52   MARIA        HERRERA                      CA     90006104550
13B37463655948   HOLLY        STANDRIDGE                   CA     90007994636
13B37536761938   ABEL         OCAMPO                       CA     90006255367
13B37668626266   JENNIFER     GILLIHAN                     WI     90015456686
13B38452561938   SERAPIO      MORENO RUIZ                  CA     46022534525
13B3933385715B   FELIX        MOLINA                       VA     81068913338
13B39511A47956   JESSICA      BEAUVAIS                     OK     90012615110
13B39761191569   DORA         DIAZ                         TX     90002567611
13B397A4351337   KAREN        AMISON                       OH     90013207043
13B3B298961938   JESUS        DOMINGUEZ                    CA     90003472989
13B3BA78831426   CARLOS       YOUNG                        MO     90012660788
13B41594357579   MISTY        HARRIS                       NM     90012215943
13B41849655976   VIRGINIA     CASTILLO                     CA     90012648496
13B41967261976   AUREA        RODRIGUEZ                    CA     90011599672
13B41A56271964   TERESA       GALEGGOS                     CO     32057250562
13B43169284332   NICOLE       SIMMONS                      SC     90006271692
13B4388544B588   KENNETH      STROMAN                      OK     21557898854
13B45128161976   ROBERT       CAMPBELL                     CA     90012841281
13B45A81772B62   ASHLEA       FROST                        CO     90015200817
13B46249A4B555   ANTRANIECE   TAKARA                       OK     90012352490
13B4664A561958   DAVID        GREEN                        CA     90013696405
13B47229991895   CHALETTE     MCFARLAND                    OK     90012952299
13B4723345B154   KATRINA      WHITLOCK                     AR     23055792334
13B47615772B62   MELISSA      MESTAS                       CO     90014356157
13B48131961958   OBED         CASTILLO                     CA     90014551319
13B48264155948   RICK         GALVAN                       CA     49050022641
13B48656872B62   ESI          VALDEZ                       CO     33086076568
13B4881214B588   MONICA       JONES                        OK     90013128121
13B4892955B526   JENNIFER     PACHECO                      NM     90007309295
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13B4938284B555   CAMRON       CARLOIN                      OK     90014753828
13B49851291569   RICARDO      MONTELONGO                   TX     90010018512
13B49866751337   BOBBIE       BOLEN                        OH     66039718667
13B49897384399   CHRISTY      LUYKENAAR                    SC     90010478973
13B49A74531687   RUMIKO       TINDLE                       KS     22044980745
13B4B3A415715B   HAENGJE      JANG                         VA     81018603041
13B4B55434B588   JOSEPH       LEE                          OK     90013585543
13B4B571391263   JOHN         CARRIER                      GA     90012985713
13B4B5A654B555   VERNISA      MITCHELL                     OK     90014735065
13B4BA3633B394   OLYA         ROZENDORF                    CO     90006650363
13B51167661958   WENDY        MUNIZ                        CA     90013871676
13B52313372B62   SARA         ESCOBEDO                     CO     90010673133
13B542A8872B62   DANIELLE     VALDEZ                       CO     90012512088
13B54395155976   ELAJZUAH     WOOLEY                       CA     90003593951
13B54677891263   LATESH       THOMAS                       GA     90010286778
13B54964461976   EDGAR        RODRIGUEZ                    CA     90010459644
13B55936A51337   KRISTINA     BRANDENBURG                  OH     90014779360
13B566A7461958   ADAM         TEPP                         CA     90013116074
13B57343947956   STEPHANIE    HEATH                        AR     90011073439
13B57444493783   MALIA        LEWIS                        OH     90007824444
13B58646291263   AISHA        BUTLER                       GA     14584166462
13B586A6461958   WENDY        GONZALEZ                     CA     46058976064
13B58719124B7B   LYNN         MOORE                        DC     90007307191
13B5953965715B   CECILIA      PERRUCCI                     VA     90011585396
13B59A6725B526   PAUL         ARAGON                       NM     90002150672
13B5B17844B26B   COURTNEY     HANCOCK                      NE     90002521784
13B5B687361958   JOEL         SOLORIO                      CA     90011316873
13B6121374B588   KAREN        SURLOUGH                     OK     21576042137
13B61388A57147   OLMAN        ORTIZ                        VA     90012773880
13B6173A631494   CHARLES M    ODORIZZI                     MO     90003117306
13B61891A4B555   TAWAYNA      GASSAWAY                     OK     90014508910
13B6245334B588   FRANK        READY                        OK     21566974533
13B62568155976   BRENDA       SOLIS                        CA     90011455681
13B6261574B555   REGINALD     JOHNSON                      OK     90014736157
13B6362384B555   AMANDA       BLAKE                        OK     90014736238
13B63A74691996   GLORIA       DE LEON                      NC     90010210746
13B6451435715B   JOSE         BRAVO                        VA     81085905143
13B64912A71982   JESSICA      AGUILAR OLIVARES             CO     90007219120
13B6563164B555   CHALIA       WOODY                        OK     90014736316
13B6565345B338   RICHARD      JENKINS                      OR     44536066534
13B66488791895   JAYCEE       EASTEP                       OK     90008784887
13B6648A261958   GUADALUPE    ESCALANTE                    CA     90014994802
13B66689655948   RAMIRO       CRUZ                         CA     90014176896
13B67195691895   MICHAEL      LANDIS                       OK     90012951956
13B6734555B154   JONATHAN     LEATH                        AR     90010893455
13B67A38672B62   ISABEL       VAYONA                       CO     90010410386
13B68689A91895   INEZ         HERNANDEZ                    OK     90011006890
13B68748161976   MARCOS       COBIAN                       CA     90014667481
13B6899354B565   EDITH        CARNERO                      OK     90012479935
13B69264793763   ADAMS        LEMASTER                     OH     90005592647
13B6929738B336   DURAN        EDUARDO                      SC     90015312973
13B6958464B26B   JOHN         MONTIN                       NE     90012745846
13B69634861976   AIOTEST1     DONOTTOUCH                   CA     90015116348
13B69665191895   MERALE       BEARD                        OK     90006046651
13B6B236A61986   DUVALIER     CASTRO                       CA     90008642360
13B6B655A24B7B   LASHAWNA     HILL                         DC     90010536550
13B7124A357147   ROBERTO      ESCOBAR                      VA     90000842403
13B71557A61976   GEORGETTE    MULLEN                       CA     90006725570
13B71A7A24B588   ANTHONY      WAGNER                       OK     90014770702
13B72538A91263   ELLIS        GORDON                       GA     14572925380
13B7266564B555   CARLOS       DUARTE                       OK     90014736656
13B73395155976   ELAJZUAH     WOOLEY                       CA     90003593951
13B73644961938   LOURDES      RAMIREZ                      CA     90014646449
13B741A7561976   TOMASA       LUNA                         CA     46012801075
13B7425625B154   JOHN         MILLER                       AR     90011222562
13B74568231635   SACRAMENTO   RUIZ                         KS     90006435682
13B74A1A261958   CARLOS       SANTANA                      CA     90014710102
13B75622155976   CARLOS       SEGURA                       CA     90014356221
13B75689A91895   INEZ         HERNANDEZ                    OK     90011006890
13B7575917B489   DEWANNA      REYES                        NC     90010527591
13B7717282B225   CONCHITA     VAUGHN                       DC     90000721728
13B77288791895   GUADALUPE    VERGARA                      OK     90006552887
13B77785461938   JONNIE       BENAVENTE                    CA     90012967854
13B77854161958   JULIETA      SOLIS                        CA     46073898541
13B781A2891263   CHEVELLE     SCOTT                        GA     90013081028
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13B78296564183   REGGIE       SMITH                        IA     90015112965
13B7842725B154   MARCIA       SMITH                        AR     90002014272
13B78677861938   DORETHA      TUBBS                        CA     90009446778
13B78A23751337   CRYSTAL      SMITH                        OH     90010940237
13B78A32691569   TERESA       BETANCOURT                   TX     75029560326
13B81817757147   SULEYMA      FLORES                       VA     90001248177
13B8187684B537   KHALEEIAH    MOORE                        OK     90002018768
13B81A64991263   FORTINO      PACHECO                      GA     90013850649
13B8244934B555   LETERRANCE   DESHOUN                      OK     90014744493
13B82858655948   PAO          GARCIA                       CA     90014478586
13B8296A87B489   DESIRAEH     SIMMONS                      NC     90004199608
13B83657A72B62   KIMBERLY     BAILEY                       CO     90009246570
13B83711A91895   SONYA        JONES                        OK     21055277110
13B84167961938   VIKLENA      QUESADA                      CA     90011191679
13B8452534B588   MARQUITTA    HOUSTON                      OK     21552785253
13B84652551337   TAYLOR       CARSON                       OH     90001706525
13B8537A576B68   CARLA J      ESCOBAR                      CA     90007153705
13B8547A754132   NICHOLE      HIBLER                       OR     90011834707
13B85523255948   JAMES        BURCH                        CA     90010195232
13B85646131635   JAMIE        MCCALLA                      KS     90005516461
13B85A96291263   DEE          RODRIGUEZ                    GA     90010350962
13B86228355948   BEZAEL       RAMOS                        CA     90012972283
13B86646131635   JAMIE        MCCALLA                      KS     90005516461
13B8672925B154   AMANDA       STROUD                       AR     90011407292
13B86785461938   JONNIE       BENAVENTE                    CA     90012967854
13B8692815B154   SANDRA       CONLEY                       AR     23065919281
13B87384726266   DENICE       LOIS                         WI     90015443847
13B8757894B555   VICKIE       MURRAY                       OK     90008455789
13B87982255948   JOHN         HAAR                         CA     90008759822
13B88884255976   AMBER        SALINAS                      CA     90001578842
13B8947984B979   STEPHANIE    GRANT                        TX     90001624798
13B8953269377B   ANDRE        ESTER                        OH     90008595326
13B8987AA55976   HILBERTO     CRUZ                         CA     90003698700
13B8B34925715B   CHENITTA     FITCHETT                     VA     90009293492
13B91473872B62   DAVID        GAGLIARDI                    CO     33081864738
13B91594161976   DEBORAH      MARTINEZ                     CA     90011655941
13B9164494B555   BENJAMIN     GORDON                       OK     21566906449
13B92341A5715B   HERLYN       MENDEZ                       VA     90014903410
13B9259645B936   ELODIA       LAGUNA                       WA     90014345964
13B9291988B337   NATHANIEL    JONES                        SC     90007579198
13B932A4261976   MARIA        MENDEZ CASTRO                CA     90000252042
13B932A7772B43   AOCHI        APUNGU                       CO     90014002077
13B94476961938   LINDSAY      FULKERSON                    CA     90010814769
13B944AA64B588   NATALIE      HAMPTON                      OK     90010584006
13B94691A5715B   JUAN         SALGADO                      VA     90012366910
13B9492285B526   ALYSSA       BARNES                       NM     90014639228
13B9529884B588   MORGAN       HUNTER                       OK     21552302988
13B95747891569   RUBINA       MURTAZA                      TX     90014877478
13B96328561958   DULCE        ARRIAGA                      CA     90015223285
13B9636354B555   ROSA         NEVAREZ                      OK     90014743635
13B9687778163B   CATHERINE    WARNER                       MO     29042818777
13B9743A74B26B   SCOTT        KROGH                        NE     26085654307
13B9748895B599   CLAUDIO      CRUZ                         NM     35072534889
13B97732931687   CARLOS       CONDE                        KS     90010267329
13B98514472B62   YISEL        MENDEZ                       CO     33058935144
13B986A5861976   FRANCISCO    RODRIGUEZ                    CA     90010316058
13B98A65191895   SONYA        FIELDS                       OK     21091490651
13B99287161938   LOURDES      CASTILLO                     CA     46091552871
13B9929A25B526   BERTHA       ACOSTA                       NM     35022822902
13B994A424B555   DIEGO        ORTIZ                        OK     90014744042
13B99584961976   RODOLFO      RODRIGUEZ                    CA     90006705849
13B9B55655B39B   KASIN        MBERWA                       OR     90005725565
13B9B781776B68   GUADALUPE    CORONA                       CA     90008827817
13BB1954947956   CORNELIUS    JILES                        AR     90014369549
13BB1A18493754   LAINA        CHRISTY                      OH     90010810184
13BB222354B555   NATALIE      GOUDEAU                      OK     90008392235
13BB2785155948   MARISOL      CORTES                       CA     90013007851
13BB363A791895   ALEXANDER    DAWN                         OK     90011006307
13BB3778155948   ESMERALDA    MARTINEZ                     CA     90011867781
13BB4121291524   MELISSA      GRILLO                       TX     90010001212
13BB4193A91263   SHANEEKIA    RUTH                         GA     90013771930
13BB422354B555   NATALIE      GOUDEAU                      OK     90008392235
13BB426244B26B   JOEY         THOMPSON                     NE     90006242624
13BB485155715B   MARIA        ALEMAN                       VA     90001948515
13BB4A82561979   EDWARD       ZAYZAY                       CA     90007890825
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13BB6238172477   TINA         HALFHILL                     PA     51067312381
13BB654422B264   KELVIN       MEJIA                        DC     81016965442
13BB835654B555   LOUISE       LYONS                        OK     90014733565
13BB8413761958   VANESSA      HERNANDEZ                    CA     90014734137
13BB8713351337   AMANDA       STRINGER                     OH     66055337133
13BBB41814B588   RONNIE       KELLEY                       OK     90012204181
13BBB94625B526   DAVID        PADILLA                      NM     90014789462
13BBBA9695715B   JAYLIN       YATES                        DC     90014510969
1411151A833699   VICTORIA     INGRAM                       NC     90010975108
14112832576B68   JAVIER       CAMPOS                       CA     46014968325
141132A5772B27   RACHEL       SOLANO                       CO     90015142057
1411362254B26B   JORDAN       MAY                          NE     90010746225
1411362AA76B68   ANDREA       CORONADO                     CA     46038986200
1411363426192B   MIKE         CABUCO                       CA     46051496342
14113A9997B489   TRENIKIA     MITCHELL                     NC     90011010999
1411479A95B154   MARCUS       ALLEN                        AR     90012497909
1411528A576B68   ANGELICA     LOPEZ                        CA     46091682805
1411531A155976   RAQUEL       PEDROZDA                     CA     90014933101
14116658176B33   ALEXANDER    WILLIAMS                     CA     90005386581
1411727478B837   LAUREN       THOMAS                       HI     90014442747
1411751895715B   CESAR        MONTANO                      VA     81020295189
14117A41272B27   TABITHA      WHITE                        CO     90013090412
14118483A2B926   ERIC         SANCHEZ                      CA     90007514830
1411918AA97B58   TAMARA       FAILLA                       CO     90013311800
1411951895715B   CESAR        MONTANO                      VA     81020295189
1411966214B588   LAKESHIA     JONES                        OK     90013826621
141198A2361938   BRENDA       VASQUEZ                      CA     90014838023
1411B554472B62   JENNIFER     MULLIS                       CO     90002455544
1411B677876B68   MARIA        ADON                         CA     46053816778
1411B91937B489   OSCAR        GALIANO                      NC     11095159193
1412155535715B   DANIEL       FERRUFINO                    VA     90013675553
141228A5572B27   ANDREA       PACHECO                      CO     90010538055
1412351855B154   BUCANAS      SILVA                        AR     90013555185
1412369254B536   RONDA        OZERETNY                     OK     90007576925
14124839676B33   FLOR         GOMEZ                        CA     90013498396
141262A1861958   SARAHI       VELAZQUEZ                    CA     90011112018
14126A2519154B   ABIGAEL      ZUBIATE                      TX     90010370251
14126A71691569   ADRIANA      SANCHEZ                      TX     90004860716
1412715567B489   ANTONIO      MCMANUS                      NC     90014331556
1412755534B26B   RACHAEL      DECKARD                      NE     90013915553
14127A43472B27   JUAN         PALACIO                      CO     90013090434
141285A4461938   MIGUEL       ARROYA                       CA     90014185044
14128676A5B526   ROSE         GRIEGO                       NM     90013626760
141288A2372B27   LAURA        GONZALEZ                     CO     90002068023
1412B23655715B   ABEBECH      WOLDEMICHAEL                 VA     90014852365
1412B62AA4B588   TENNILLE     WILSON                       OK     21505426200
1412BA77A91569   JONATHAN     PACHECO                      TX     90010810770
141315A8476B68   SOPHIA       SHEIKH                       CA     90009625084
14132128676B68   SHARON       FRANK                        CA     90013141286
141329A9676B33   JUAN TECUM   MONZON                       CA     90002959096
14132A6355B154   BERNARD      BRACELY                      AR     23075820635
1413365765B154   SONYA        JONES                        AR     23017966576
1413368617B489   SHIRLEY      WALKER                       NC     11047296861
1413436265715B   EDVIN        DUARTE                       VA     90010143626
141344A9891263   NATHALYN     GREEN                        SC     90012594098
14134543172B62   LALEH        MILLER                       CO     33033765431
1413455584B588   JUDY         HANKS                        OK     21517245558
1413459A461938   SABRINA      BURNETT                      CA     90015105904
14134A93991899   RICARDO      MATA                         OK     90013490939
14135566476B68   ROBERT       STABENOW                     CA     90013245664
14135A45972B27   JONATHAN     ALCOCER                      CO     90013090459
14136128676B68   SHARON       FRANK                        CA     90013141286
1413655654124B   LASONNE      SINGLETARY                   PA     90014725565
141365A9172B62   SUSAN        SCHURR                       CO     33035935091
14137593976B33   JEANETTE     MEGANDA                      CA     90002885939
14138117676B33   MINA         SANDOVAL                     CA     90015181176
14138728376B68   MANUEL       TORRES                       CA     46011167283
1413B777447956   SERINA       BROCK                        OK     90015587774
1413B9AAA5B59B   PATRICIA     GABALDON                     NM     90012889000
14141176276B68   ELI          GORDON                       CA     90013141762
141411A4772B28   JEREMY       STEWARD                      CO     90013021047
1414196865B526   JEANETTE     TRUJILLO                     NM     90012309686
1414287145B154   JOSE         ARIAS                        AR     90015178714
141446AA372B62   TOD          COHEN                        CO     90010816003
1414491782B262   ANTHONYA     MOON                         DC     90008389178
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1414547575B54B   ALMA         BOUCHOT                      NM     35082694757
14145771272B62   YVETTE M     MORFIN                       CO     33076127712
1414624974B26B   TERESSA      SCHLICKER                    NE     90011422497
14146377876B68   JEREMY       CRECELIUS                    CA     90013143778
1414732A961958   JESUS        GARCIA                       CA     46008793209
1414811427B489   BRANAY       GRAY                         NC     90011011142
1414864514B298   JEFFREY      PERRY                        NE     90008996451
14148793172B62   KRISTOPHER   WELSH                        CO     90010277931
14148A6757B489   MARQUISE     BROWN                        NC     90013670675
14149474676B33   BLANCA       AVILA                        CA     90012754746
1414992A576B68   MARIA        OCHOA                        CA     90009799205
141499A1672B27   ROEMELLO     LILGEROS                     CO     90014459016
1414B385391895   MATHEW       STEWART                      OK     90014613853
14151384872B62   DAYNA        MAESTAS                      CO     90001843848
1415154312B857   SYLVIA       SIBERT                       ID     90002225431
1415347A65B53B   ELSA         GARCIA                       NM     35017384706
14153733672B29   EVELYN       GALINDO                      CO     90009867336
14154239A47956   SHERICA      SCOTT                        AR     24019832390
1415553462B27B   PAUL         PETTY                        DC     90009695346
141556A964B588   CHELSEA      SPAIN                        OK     90008966096
1415716197B489   JULIE        DAVIS                        NC     90011011619
141574A7161938   LUIGGI       COTA                         CA     90014164071
1415879A176B68   ZINTA        ALFARO                       CA     90014187901
1415B6A6A9154B   GERMAN       CISNEROS                     TX     90014156060
1416114655B526   MICHELLE     ALATRISTE                    NM     35055871465
14161329676B33   JOSHUA       HENDERSON                    CA     46096273296
141618A4476B68   AZRAEL       VILLA                        CA     90014188044
1416253235715B   CHRIS        CARTER                       VA     90003895323
1416271215B154   ROOSEVELT    PETTUS                       AR     23061907121
14162827A91263   DANIEL       MCDONALD                     GA     14574578270
14163199372B62   GABINO       VILLA                        CO     90012121993
1416341A493756   TROY         GIDDENS                      OH     90013874104
14163A79A76B68   CATALINO     HERNANDEZ                    CA     90004690790
1416534835715B   TYRON        CLARK                        VA     90004043483
141665A555715B   ANGEL        BRAMON                       VA     90001855055
1416673944B588   LUZ          DIAZ                         OK     90012577394
14166A17851337   MARGARITO    RIVAS                        OH     66030770178
14166A1A44B26B   LINDSEY      LENHOFF                      NE     26082170104
1416735885B399   JOSEPH       COX                          OR     90001773588
14167A5585B59B   JENNIE       COTTON                       NM     90007330558
14168274372B62   SOPHIA       BALLEJOS                     CO     90003022743
1416844495715B   MOHAMED      SILLAH                       VA     90015044449
1416862A561958   IRAZU        ESTRADA                      CA     46063006205
1416899A54B26B   NICCO        HIGHTOWER                    NE     26028729905
14169761772B27   REBECCA      MEDINA                       CO     33049657617
1416996A35715B   MATTHEW      WEDGE                        VA     90013939603
1416B1A3361938   DEBRA        HILL                         CA     90013351033
1416B36AA4B588   WENDY        STURDIVANT                   OK     90012103600
1416B717676B68   BRANDON      MARSH                        CA     90014967176
1416B87567B489   NICE         WO                           NC     90009858756
1416B88A172B27   ADRIAN       ARELLANO                     CO     33090128801
1417119265715B   LUIS         MILINA                       VA     90013071926
14171227472B62   NICK         LAW                          CO     90014782274
1417142434B26B   ANTONIO      FLORES-VARGAS                NE     90013384243
1417155A75B59B   ISAIAS       BOBADILLA                    NM     90015175507
14172546A4B588   JONATHON     JOHNSON                      OK     90010465460
14172841A57147   JOSE         ARCHILA ROJAS                VA     90014138410
141738A8A61938   LOURDES      MENDOZA                      CA     90013458080
14176A63472B27   AZUCENA      VEGA                         CO     90013090634
1417721375B385   RICHARD      SAVAGE                       OR     90002662137
1417776735715B   MARISOL      HERNANDEZ                    VA     81090177673
14178A34A55973   LETICIA      MARTINEZ                     CA     90007540340
1417921535B59B   KRISTAL      CHAVEZ                       NM     36037082153
14179266A51337   SUSAN        TESORIERO                    OH     90012612660
1417932282B236   AIESHA       NICKENS                      DC     90006703228
1417B326557147   JULIO        ORELLANA                     VA     81043883265
1417B45165B526   CECILIA      RAMIREZ                      NM     90007484516
1417B46715B59B   ANGEL        MEDINA                       NM     90005194671
14181167A4B588   ALEXANDRIA   WOODMANSEE                   OK     21510661670
14183127A5B59B   JUAN         GUZMAN VASQUEZ               NM     90001001270
1418335885B399   JOSEPH       COX                          OR     90001773588
1418355735B154   RICARDO      RAMAIREZ                     AR     23089245573
1418367784B26B   BEVERLY      FLYNN                        NE     26093136778
14183A29147956   SHARON       GARRETT                      AR     24070240291
1418415A291549   JESSE        ROBLES                       TX     75037371502
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14184447124B55   DELONTA           WASHINGTON              DC     90003814471
1418475265B154   JUANITA           SINCLAIR                AR     90014627526
14185187724B7B   LUIS              REYES                   VA     90013861877
1418534375B526   OMAR              RODRIGUEZ               NM     90014823437
1418581A272B62   HINSON            MAIDA                   CO     33098188102
1418583A75B59B   JENNIFFER         ORTEGA                  NM     90012588307
1418594577B489   GEASHIA           CURETON                 NC     90015249457
1418696687B386   GISEL             AREBALO                 VA     81070739668
14187218572B62   GABRIEL           LOPEZ                   CO     33008952185
14187958572B27   MARGARITA         GALARZA                 CO     33079489585
141879A7A57122   MOISES            BANZER                  VA     90012289070
1418826844B582   MELONY            SINEGAL                 OK     90010312684
14188285672B27   JULI              JARAMILLO               CO     33027792856
14188362A5B526   CAROLINA          MURILLO-FUSS            KS     35098283620
14188A66291895   MICHAEL           HALL                    OK     90012780662
1418956764B588   KEVIN             HICKS                   OK     90012435676
14189937576B33   JENELLE           WATCHMAN                CA     46056629375
1418B151876B68   JUSTIN            VANDENBROER             CA     90007841518
1418B244347956   JOSHUA            STEPHENS                AR     90009382443
1418B632431687   DONNA             BRUCE                   KS     22034636324
1418B82925715B   GONZALO           PADILLA                 VA     90011488292
1418B9AA357147   DILWAR            HUSSAIN                 VA     90004609003
1418BA63672B27   YANET             MATA RIVERA             CO     90013090636
14191281572B95   JAEDIUM           DUBOIS                  CO     90004062815
1419183524B26B   JOEL              BUSH                    NE     90014898352
141919AAA5B59B   PATRICIA          GABALDON                NM     90012889000
1419238487B489   SUSAN             ZIMMERNMANN             NC     90011373848
141926A7872B62   ZACHARIAH         HESSER                  CO     90006166078
14192847776B68   JASON             VERGARA                 CA     90014748477
14192981A5B135   MATTHEW           SUMMERVILLE             AR     23084829810
141938A5261938   SAUL              CHAVEZ                  CA     46068008052
1419397174B26B   DELMER            DORMER                  NE     90011049717
1419416157B489   DAVE              KRUSE                   NC     90014331615
14194428676B68   CYNTHIA           GUZMAN                  CA     90012274286
1419444664B26B   SEAN              LUND                    NE     90012674466
1419567384B26B   RICHARD           BARTLETT                NE     90014636738
1419573714B588   KENNETH           BRESE                   OK     21514557371
1419656A572B27   MARISELA          CASTILLO                CO     33089285605
1419672475B59B   CARLOS            COY                     NM     90012627247
1419765864B26B   JOSE              GONZALEZ                NE     90006816586
14199A75172B27   ROSELEE           VIALPANDO               CO     90013090751
1419B13A572B37   STACIE            LAUE                    CO     90014361305
1419B1A1761938   SONIA             AHUMADA                 CA     90007371017
1419B56885715B   DORIS             RIVERA                  VA     90013675688
1419B721591526   ALEJANDRO         MALDONADO               TX     90002867215
141B1536861958   NORMA             TOVAR                   CA     90005845368
141B1AA3261938   ARIES             MENDEZ                  CA     90003900032
141B268644B26B   DANELLE           PIKE                    NE     90000656864
141B2861672B27   JESSICA           TAYLOR                  CO     33065588616
141B316974B588   JAZMINE           GOINES                  OK     90011131697
141B3414591263   PAUL              LEWIS                   GA     90008374145
141B3873A76B33   GUILLERMO         MADRID                  CA     90001628730
141B4348131676   CHRISTIE          LECHNER                 KS     22046743481
141B47AA84B26B   BRANDEN           HARRELL                 NE     90007697008
141B4999361938   MAYRA             CARRILLO                CA     46086079993
141B4A8A571982   TIFFANY A         GARCIA                  CO     90014410805
141B5117476B68   JHONATAN          CRISOSTMO               CA     90010961174
141B54A7691263   WANDA             MAYO                    GA     90013214076
141B57A2A55976   DONNA             DOMINGUEZ               CA     90010217020
141B5952247956   CHARLES           HERNANDEZ               AR     90013239522
141B5A8A571982   TIFFANY A         GARCIA                  CO     90014410805
141B612415B59B   LILIA             LOZOYA-CARMONA          NM     36005851241
141B623A555976   AIOTEST1          DONOTTOUCH              CA     90015122305
141B625325B526   ROBERTAANN        ARCHULETA               NM     35090442532
141B654422B264   KELVIN            MEJIA                   DC     81016965442
141B6A99291895   DANIEL            WAYNE                   OK     90011820992
141B7176891899   JESUS             HERNANDEZ               OK     90013501768
141B7466476B68   JOSE              CALVILLO                CA     90013134664
141B74A7261938   MOISES LEONARDO   GARCIA PEREYRA          CA     90014164072
141B7526433699   CORTNEY           CANTY                   NC     12034985264
141B768817B436   DAVID             MONTENEGRO              NC     90012486881
141B783885B526   CHANAE            QUINTANA                NM     35099628388
141B855145B59B   LYNETTE           LUJAN                   NM     90012825514
141B8724857147   FORTINO           GONZALEZ                VA     90011847248
141B8A4A572B27   JORGE             ROSALES                 CO     90013090405
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141B9897376B68   ANTONIO           ARANGO                  CA     46079728973
141B9A5A85715B   THELMA            GALLEGOS                VA     81018640508
141BB14225B168   LINDA             LEAVY                   AR     23087021422
141BBA8345715B   RALPH             MILLER                  VA     90013280834
14211A42861938   KELLY             BURKETT                 CA     90008480428
14211A5873B233   JORDAN            KOVACS                  DE     90015500587
14212A4715715B   EUGENIO           CRUZ                    VA     90013940471
14212A9215B154   JOHNATHAN         ANDERSON                AR     90010790921
142135A987B494   CRYSTAL           LOVE                    NC     90002235098
14214847572B27   ABERTO            LOPEZ                   CO     33013928475
14216A85A5B254   GREG              HARLOW                  KY     90008600850
1421724395B154   MARIE             PRESTON                 AR     90014742439
142172A8772B62   SERGIO EMMANUEL   AHUAMDA MURO            CO     90012202087
142172AA557133   ROXANA            RIVAS                   VA     81087212005
142174A665B526   JAIME             LOYA                    NM     35091534066
1421936745B526   MARISOL           QUEZADA                 NM     35051173674
1421961484B588   JOHN              BINGHAM                 OK     21509606148
1421B157A72B27   JOSE              POBLANO                 CO     90011501570
1421B325857147   MARCO ANTONIO     SERPA ILLESCA           VA     90008683258
1422234874B26B   LORENE            RAY                     NE     90007453487
1422293A176B68   ALONSO            AVILA                   CA     90013249301
1422317565B154   LISA              GIVENS                  AR     23032221756
1422317754B588   MARIA             HERNANDEZ               OK     90008701775
14223566676B33   EVA               RODRIGUEZ               CA     90014895666
1422376565715B   DONALD            PRAKOP                  VA     90011677656
1422423965B526   TAYLOR            WAITES                  NM     35065202396
14224A78661938   JESUS             ORTIGOZA                CA     90011910786
14225733A5715B   CDAYA             JOHNSON                 VA     90011837330
142257A174B26B   THOMAS            SHINAUT                 NE     90014887017
14225851776B33   MARCO             LITA                    CA     90013888517
14225946A5B59B   REYNA             RAMIREZ                 NM     90012899460
1422722665715B   ROSEMUND          DOTOO                   VA     90013992266
14227226776B68   JOSE              LOZANO                  CA     90002732267
1422741174B588   GUADALUPE         SARMIENTO               OK     90013534117
1422767123B33B   RUBEN             ROMERO                  CO     90001636712
14228458A91569   ANIRA             GARCIA                  TX     90014774580
1422988275715B   LIZBETH           RAMIREZ                 VA     81082598827
1422B642961958   ANTONIO           CARRILLO                CA     46065676429
1422B768661938   AMY               TODD                    CA     90000947686
1422B86A976B68   FABIOLA           DOUG                    CA     90014188609
14231286676B68   MIGUEL            ANGEL GOMEZ             CA     46077802866
1423151675715B   CARLOS            ESCOBAR                 VA     81064385167
142319A1372B27   DEIJA             VU                      CO     90014519013
142319AA75598B   NAYELI            BERNAL                  CA     90012779007
1423244945B154   TIM               JONES                   AR     90011094494
142326A9A5B526   CHANTAL           HOLGUIN SANCHEZ         NM     90014336090
142329A8791899   DIANA             SANTIBANES              OK     21079599087
14233863A76B68   MANUEL            REYES                   CA     90014188630
142343A6491569   OZZY              JUAREZ                  TX     90000923064
14235131472B27   PATRICIA          COLEMAN                 CO     90013221314
1423554985715B   OSWALDO           RAMIREZ                 VA     90007745498
1423561335B526   TANYA             ASTORGA                 NM     35005136133
142358A8591899   DAVID             SANDOVAL                OK     90008058085
14237A92347956   KYLE              CROSSNO                 AR     90012790923
14238923276B33   JOSEPH            HARR                    CA     90013059232
14238977172B62   JUSTIN            TIEMANN                 CO     90013029771
14239397576B33   DINA              ELKOUSSY                CA     90012513975
1423B46615B526   RICK              MARIN                   NM     35054224661
1423B48735B59B   LUCAS             MARANGO                 NM     90013024873
1423B573A61938   NATALIE           BARNETT                 CA     90009815730
1423BA4975715B   MARVIN            BETANCO                 VA     90012430497
1424125A24B588   MIGUEL            ANGEL                   OK     90010832502
1424127155715B   AVELINO           MALAQUIAS               VA     81063232715
1424128A947956   CHARYL            WISE                    AR     24078362809
1424183764B26B   BRETT             ALEXANDER               NE     90013518376
14241998672B27   LUIS              BUSTILLOS               CO     90013559986
1424243255B526   RAFAEL            SERRA                   NM     35008404325
1424328547B489   BRANDON           AUSTIN                  NC     90005222854
14244479272B27   THOMAS            BUTTARFIELD             CO     90008074792
1424467957B488   FRANCISCO         VASQUEZ                 NC     90006146795
142452AA831687   VICKI             TRAVIS                  KS     90011032008
14245621876B68   MARBELLA          SANCHEZ                 CA     90010996218
142468A7591569   LAURA ISELA       NEVAREZ                 TX     90013938075
14247463372B62   GLORIA            RAMIREZ                 CO     33055674633
1424758A74B26B   KAYLA             ANDRETTI                NE     90010295807
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142475A1591569   JOSE               TAMAYO                 TX     75040665015
14247837976B33   OSIRIS             GUZMAN                 CA     90014888379
142485A445B526   DONALD             ALLEN                  NM     90011305044
1424869A147956   ALAN               HENDRICKS              AR     90013756901
14248A83833699   JANEA              DOUGLAS                NC     12005230838
14249191876B68   PASCUAL            LOPEZ                  CA     90013351918
1424B634476B33   ELIZABETH          ORTIZ                  CA     90013246344
1424B673991899   ROBERT             BROTHERS               OK     90013496739
1424BA7864B26B   LANA               SPICER                 NE     26015960786
1425143624B588   RACHEAL            HULSTINE               OK     21527784362
14252881176B33   ARTURO             MORALES                CA     46070978811
14253542A91569   KRISTEN            HANFORD                TX     90007865420
14254866876B68   OSCAR              SALAZAR                CA     90014188668
1425525855715B   OLIVER             CARDENAS               VA     90013992585
1425527AA91263   VAUGHN             SMITH                  GA     90011312700
14255898797B63   SARA               BRYANT                 CO     90011008987
14255A4254B588   ELECTA             ROBBINS                OK     90015010425
14256711276B33   MERCEDES           FORTUNE                CA     90014567112
14256A2115B264   CHUCK              LARENCE                KY     68003130211
14257567576B68   AUDRY              EMON                   CA     46084025675
14257A25225386   CHRISTOPHER        JONES                  WA     90014360252
14258892A71967   IRENE              ARMIJO                 CO     38092408920
14258A48391895   CATHEY             WYANY                  OK     21028080483
14259566672B27   HAILEY             ABEL                   CO     90002095666
14259869A76B68   MARIA              SALAZAR                CA     90014188690
1425B158291263   CHRIS              MCDANIELS              GA     90014701582
1425B4AA55B154   RAYMUNDO           CORTEZ                 AR     23002444005
1425BA49672B92   RENEE              RUYBAL                 CO     90008710496
1426111545B526   BOWMAN             CYRSTAL                NM     90000111154
1426145A576B68   ELIZABETH          MOLINA                 CA     90014754505
142615A494B588   LINDSEY            RAMOS                  OK     90009975049
14261831297B48   TAMARA             SEUFER                 CO     90004038312
14261928876B33   JUDY               AQUINO                 CA     90013059288
14263978A55976   JOSE               MENDOZA                CA     90012839780
14264167172B62   CYNTHIA            PASLEY                 CO     90011041671
1426442735B154   DOROTHY            SPEARMAN               AR     23013994273
1426445A576B68   ELIZABETH          MOLINA                 CA     90014754505
142646A3372B27   JESSE              ALVAREZ                CO     33049656033
1426561335B59B   PAOLA              SOLIS                  NM     36061956133
14265A97686443   MARIO              DIAZ-SOTO              SC     90015040976
14266457A5715B   BOLIVAR            MARROQUIN              VA     90011704570
14267111472B27   LEO                LEFEBRE                CO     90013781114
1426773A451337   JANICE             BROWNING               OH     90013267304
14267851776B33   MARCO              LITA                   CA     90013888517
14268545776B33   CAROLINA           MARTINEZ               CA     46000555457
1426981655B154   DONNA              BRIGGS                 AR     23001488165
1426B18444124B   DUSTIN             OFFNER                 PA     51087641844
1426B285624B55   FELIPE             GOMEZ                  DC     81011602856
1426B36A991569   GARCIA             JAMES                  TX     90013173609
1426B39375B154   RAMSEY             PARKER                 AR     90014083937
1426B47985B526   BELVA              STAMPS                 NM     90007524798
1426B794793783   DANNY              GORDON                 OH     90009157947
1426BA86372B27   JADE               TUSCHER                CO     90013090863
1427238285B526   CECILIA            GUTIERREZ              NM     35050803828
14272663876B68   CELESTINO          FLORES                 CA     90010996638
1427294195715B   ARMANDO            MAYA                   VA     90011969419
14273512272B27   ABDY               MONTOYA                CO     90010435122
142735A8461938   ERNESTO            PADILLA                CA     46056585084
1427368415715B   ANDRE DA SILVA     SIQUERA                VA     90009306841
14274274491B26   STEPHANIE          BOND                   NC     90014402744
142746AA276B33   JOSE               LUIS BETANCOURT        CA     46095146002
1427492874B588   KAYLA              MURPHY                 OK     90010929287
14276188576B33   JOSE               MATA                   CA     90010021885
14276622672B62   TINA               MELANCON               CO     90013306226
1427697A64B26B   RICHARD            CRUSINBERRY            NE     26048069706
1427714595B526   TYSON              PATTERSON              NM     35032171459
14278A2415B154   HECTOR             LOPEZ                  AR     90013070241
14278A24A91263   RACHEL             ISLAS                  GA     90013550240
1427926495715B   JONATHAN ARMANDO   ORTEGA BONILLA         VA     90014842649
1427BA17555976   JUAN MANUEL        SANTANA ESQUIVEL       CA     90003710175
14281192624B55   KADESHA            SIMMS                  DC     90011281926
14281627376B33   FRANCISCO          TORRES                 CA     90012616273
14281AA4291899   JIMMIE             MCGLOTHLIN             OK     90009850042
1428288395B526   INEZ               BROWN                  NM     90004118839
1428315164B26B   TRUDIE             LEMON                  NE     26097771516
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14283292172B27   TAESHAUN        ANTHONY                   CO     90010192921
14283793476B33   ANA             BELTRAN                   CA     90008617934
1428444995715B   MARVIN          MARROQUIN                 VA     90012894499
1428467435B154   JOE             JONES                     AR     90013836743
1428519854B588   NADIA           MARINA                    OK     90011051985
1428579A555976   TRAVIS          JURY                      CA     90012507905
14285973A91993   CAROLYN         JONES                     NC     90013939730
14286612672B77   PATRICIA        KRANGLE                   CO     90006226126
1428666144B588   GARY            GUZMAN                    OK     90010136614
1428733A276B33   CODY            RICHENBACK                CA     90012763302
142877A345715B   EMMANUEL        NEUFVILLE                 VA     90012017034
14287855572B27   FRANCISCO       DE LA CRUZ                CO     33080398555
1428B272576B68   LORRAINE        FRIZZLE                   CA     90009312725
1429147115B526   DERRICK         TUCKER                    NM     90012774711
14291881A91899   ML              WALLIS                    OK     90009118810
14291A3914B26B   HEATHER         HOWE                      NE     26000570391
14291A99233647   KATRINA         JONES                     NC     90002560992
14292399872B27   SOCORRO         QUIROZ                    CO     33059353998
14292918176B68   ALAN            MCGILL                    CA     90012539181
1429294842242B   ADRIANA         GALLEGOS                  KY     90001879484
14293552972B62   AARON           CORDOVA                   CO     90011085529
142938A838B197   KEITH           ROGERS                    UT     90002878083
14295A19A76B68   ANGELICA        HERNANDEZ                 CA     90011730190
1429636255B526   ABE             GARCIA                    NM     90007373625
1429672965715B   GRISEL          CRUCES                    VA     90015117296
1429697475B389   RENEE           COX                       OR     44557659747
14296A53476B33   LINA MARISELA   ESPARZA                   CA     90013570534
14296A6397B489   VERNINE         HENDERSON                 NC     90005690639
14297711176B33   FLAVIANO        NAVARRO                   CA     46086817111
1429838A531635   DARRELLA        OCONNOR                   KS     22057383805
1429884A641284   TERESA          GARRETT                   PA     90001368406
1429896635413B   PAYGO           IVR ACTIVATION            OR     90013219663
14299A58647956   NICOLAS         GARCIA                    AR     24003660586
14299AA3533699   LAURA           CHESTNUT                  NC     90014600035
1429B348161938   BIEN            CHRIS                     CA     90007283481
1429B835591569   ERIKA           ABSTON                    TX     90013938355
142B115765B32B   JACQUE          VALENTINE                 OR     44593511576
142B1238191569   RAFAEL          GARZA                     TX     90014932381
142B1646A4B588   MARIA           CHACON                    OK     90013796460
142B183755B526   CHRIS           WEISS                     NM     35093898375
142B185A376B68   CANDICE         MIJARES                   CA     90014748503
142B2469172B27   MARVIN          GUTIERREZ                 CO     33093774691
142B2772391899   ARACELY         ORTIZ VAZQUEZ             OK     90010907723
142B3343247956   RICARDO         BLAIR                     AR     90010993432
142B3525591899   JESUS           CUEVAS                    OK     90013495255
142B397777B489   SADARIUS        WELDON                    NC     90013229777
142B447615B154   CARLA           BEASLEY                   AR     23092354761
142B4528986454   BETTY           MILLER                    SC     90014085289
142B4A19872B27   JOSHUA          TRUJILLO                  CO     90008970198
142B527715715B   JOSE            FUNEZ                     VA     81020432771
142B5389276B33   GUADALUPE       HERNANDEZ                 CA     90012383892
142B5826376B68   JOSE            MENDEZ                    CA     90014188263
142B589A94B26B   ADRIAN          ANDERSON                  NE     90014878909
142B5933691569   LISA            VILLA                     TX     90011359336
142B6441991895   LETITIA         ATKINSON                  OK     90014604419
142B6843A76B68   NAYELI          SANCHEZ                   CA     90014188430
142B7A99651337   KELLY           COLLINS                   OH     90011580996
142B8127A72B27   STEFANIE        ALARID                    CO     90011131270
142B884955B59B   MARIO           THOMAS                    NM     90012048495
142BB134572B27   FLORENTINO      SALINAS                   CO     33022971345
14311283276B33   CLAUDIO         AQUINO                    CA     46078632832
14311339A5B154   MELODY          SHAVERS                   AR     90015023390
14312346172B27   ORNELAS         MENDOZA                   CO     33011673461
1431285615B526   MERISA          ROMERO                    NM     90012348561
1431298A45B154   KRISTIE         WRIGHT                    AR     90013999804
143132AA13B324   JEFFREY         GALLEGOS                  CO     33003542001
1431377415715B   CHRISTIAN       ALFONZO                   VA     81020717741
1431429995B59B   CELINNA         BORREGO                   NM     90010752999
14314756372B27   MIGUEL          GARCIA                    CO     33098497563
1431487738B172   CINDY           HUMPHIES                  UT     90012338773
1431537644B26B   JOHN            ARMSTRONG                 NE     90013543764
1431677875B154   FLOYD           CORNICE                   AR     90014977787
14316A3A791993   OLIVIA          HARGROVE                  NC     90002200307
14317152472B27   DENISE          FONECECA                  CO     90014131524
14317A53476B33   LINA MARISELA   ESPARZA                   CA     90013570534
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143191A1972B27   JEREMY          DINKEL                    CO     90013091019
14319328772B3B   ANGELA          CRITTON                   CO     33059863287
14319623872B62   RAMONA          MORALES VILLEGAS          CO     90013096238
14319925676B68   AUSTEN          NIEDER                    CA     90004719256
1431B275372B27   ARELY           JAQUEZ                    CO     90013102753
1431B27A655976   CHRISTIAN       AGUILAR                   CA     90014612706
1431B799A61958   MARCO ANTONIO   ESCOBEDO                  CA     90015127990
1431BA99972B27   JOSE            CISNEROS                  CO     90013090999
14321162672B62   LIZ             TORRES                    CO     33096461626
1432315954B588   GLADYS          SANTOS                    OK     90004851595
14323373872B62   JASON           TRAVIS                    CO     90012083738
1432349835715B   JENNIE          SHADDINGER                VA     81085034983
14323A37576B68   OSCAR           SALAZAR                   CA     90014960375
14324A6645B154   JAMES           TOMASSINI                 AR     90014520664
1432594683B368   VERONICA        FLORES                    CO     33066819468
143264A9855976   OLGA            QUEVEDO                   CA     90006124098
14326A92576B68   LYDIA           MENERA                    CA     90012040925
14327577972B27   JOHN            ANTUNA                    CO     33049395779
1432788673B368   OMAR            ESCOBAR                   CO     33066738867
1432814A65B154   DEBORAH         LEE                       AR     23026351406
14328497772B27   SONIA           VALDEZ                    CO     90008074977
1432B542571923   KIMBERLY        SCIALLO                   CO     90006605425
1432B6A9A5B526   CHANTAL         HOLGUIN SANCHEZ           NM     90014336090
1432BA4164B588   DIANA           OGLE                      OK     21553100416
1433115164B26B   TRUDIE          LEMON                     NE     26097771516
1433199765B526   ABEL            ZAMORA                    NM     35079119976
14332216772B3B   TEDDI           VAUGHAN                   CO     90009352167
14332A1525715B   LUCAS           CARRETO                   VA     81020730152
1433316587B489   FREDDY          QURIUS                    NC     90013581658
1433331A241255   SELENA          BEASLEY                   PA     90008163102
14333A46A91895   KAQUAN          HERREA                    OK     90006920460
143342A7251337   HEATHER         COOK                      OH     66060352072
1433447AA4B588   HERMAN          PEREZ                     OK     90000394700
14335A3315715B   SHAMEQUA        SMITH                     VA     90010930331
143361A7676B68   EDGAR           LOPEZ                     CA     46064581076
14336299576B68   GLORIA          TOMAS                     CA     90011392995
14337555A5B247   MICHAEL         RUCKER                    KY     90005305550
143379A1991569   LINDA           HERNANDEZ                 TX     90014869019
1433894637B489   ANTHONY         PHILLIPS                  NC     90013749463
14338A15161938   YOLANDA         VILLEGAS                  CA     46047570151
1433991A791573   ISMAEL          MARQUEZ                   TX     75072489107
1433B31A15B59B   RICHARD         NARANJO                   NM     90011573101
1433B62817B489   CHICORY         RUFFIN                    NC     11016386281
1434244274B26B   SABAH           ALJABERI                  NE     90011354427
1434297A27B489   ANTOINE         PRICE                     NC     90013509702
1434298365B154   MAYA            JAMES                     AR     90010799836
14344136A7B489   LORENZO         HERNANDEZ                 NC     11066301360
143441A7972B27   LUCILA          RAMIREZ                   CO     90013091079
1434453325715B   THERESA         ALFARO                    VA     81038145332
1434467A172B62   KELL            MOSLEY                    CO     90010306701
143447A5961958   EDMUND          LUMM                      CA     46043477059
1434486414B588   CHARLES         INGRAM                    OK     21576198641
14344A15331454   ALFONSO         GORDON                    MO     90011930153
1434538115715B   HERMELINDA      CARMONA RAMIREZ           VA     90012173811
143463AA231479   LATASHA         ISAAC                     MO     90013573002
1434663255715B   HECTOR          CRUZ                      VA     90002756325
14347167372B27   CHRISTIAN       RODRIGUEZ ROSAS           CO     33071241673
1434757594B588   ESTEBAN         EBILANE                   OK     90013065759
1434831A272B27   EBANY           VALLES                    CO     33096383102
14348398A91569   EVA             CHAVARRIA                 TX     90013853980
14348AA2761958   MELISSA         BUCHHOLZ                  CA     90012310027
1434913572B89B   REBECCA         GAMMEL                    ID     90008801357
14349676572B62   CHRISTOPHER     RODRIGUEZ                 CO     90013496765
1434B3A1776B68   AMANDA          MARTINEZ                  CA     46010153017
1435149A647956   GERARDO         GONZALEZ                  AR     24002984906
143516A8677522   JESUS           RUIZ                      NV     90007816086
14351A32561958   MISAEL          VALERIANO                 CA     90011430325
1435216765B526   FEDERICO        REYES                     NM     90005691676
14352633A51337   NATALIE         ALLEN                     OH     90006426330
1435322195B154   CHARLES         CHERRY                    AR     23012462219
14355895972B27   CARLOS          GUSTAMANTE                CO     90003528959
1435612A161958   SILVIA          CORTEZ                    CA     90015091201
1435661A176B68   VERONICA        RAYO                      CA     90004386101
1435678A776B33   SANTIAGO        JUVENTINO                 CA     90010037807
14356A18631687   ANNETTE         RAINS                     KS     22060890186
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14357614572B62   KEVIN             LAUGHIN                 CO     90012306145
14358192A76B33   GABRIELA          REYNOSO                 CA     90014761920
1435BA2215715B   MARIA             TORRES CORADO           VA     81020740221
1436274988B147   ANNIE             HARMON                  UT     31075067498
14363A25672477   JOANN             HARRINGTON              PA     51089340256
14363A6845B154   ANGELA            COBURN                  AR     90008070684
1436441A876B68   ERIKA             RODRIGUEZ               CA     90011014108
14364AAA961938   GENARO            ESCOBOSA                CA     90011100009
1436542565715B   RENE              GALINDO ROJAS           VA     81052854256
1436547664B26B   MARK              RAUDABAUGH              NE     90013824766
1436656374B588   RACHAEL           COOPER                  OK     90009635637
1436678A691895   LASAWNA           FISHER                  OK     90005227806
1436755824B588   ANTWAIN           JONES                   OK     90015155582
143682AA261938   SARA              GARDINER                CA     46013682002
14368597672B27   JUANITA           MALTOS                  CO     33082335976
1436867957B488   FRANCISCO         VASQUEZ                 NC     90006146795
14368817472B62   MARTHA            RAINEY                  CO     33042518174
14368935272B27   DARLENE           CASTRO                  CO     33031189352
14369116772B27   KAYLEE            SANCHEZ                 CO     90013091167
14369319776B33   EDWARD            MCGAUGH                 CA     90002303197
1436B14A376B33   LOUIE             RIVERA                  CA     90014871403
1436B16745715B   DANIEL            GARRETT                 VA     81074941674
1436B58535B526   CHARLES           DODGE                   NM     90006955853
1437155377B489   TRAVIS            OSTER                   NC     11006375537
14372369176B68   GONZALO           BARRERA                 CA     46033793691
1437263354B588   JERRY             POWELL                  OK     90009366335
1437413A791569   CRYSTAL           ESPINOZA                TX     90012771307
14374364272B62   PAUL              LUCERO                  CO     90013813642
1437512655B154   AUBREY            ROBERTS                 AR     23088151265
14375A39661938   SHARON            CLARK                   CA     90012940396
1437626A291263   JOAQUIN           GARCIA                  GA     90015012602
1437739975715B   FRANCIS           AKOTO                   VA     90003833997
143773AA54B588   IRMA              HERNANDEZ               OK     90009183005
143778A9461958   DAMARIS           MARTINEZ                CA     90014558094
14378181A72B62   MEDRANO           RAMON                   CO     90012111810
143789A5791899   JUAN              LOPEZ                   OK     21069539057
1437B39264B26B   LETIA             BAILEY                  NE     90014523926
143817A7161958   JESSE             DRIESSEL                CA     90004007071
1438243974B588   DERKEISHIA        BRIGGS                  OK     90014664397
14382451376B33   ANDREA            DURO                    CA     46027604513
143826A9491895   KAYLA             REED                    OK     90014606094
1438273325B526   RAQUEL            CORDOVA                 NM     90005127332
14382756A61958   JUAN              ORTIZ                   CA     90011487560
14382984A5B154   ALESIA            PERSONS                 AR     23079389840
14382993672B62   DANIEL            MEDINA                  CO     90012769936
143836A1861938   CARLOS            BUENROSTRO              CA     46058086018
14385853376B33   THOMAS            HARTMAN                 CA     90013008533
143877A1151337   SCOTT             DANIELS                 OH     66064377011
143883A7676B68   LUIS              CORDERA                 CA     90009313076
1438841865B39B   ELIZABETH         GAULT                   OR     90014964186
14389417276B33   ELIZABETH         RODRIGUEZ               CA     90011874172
14389AA4272B84   ROBERTA           VIGIL EVANS             CO     33021840042
1438B131872B27   JASON             BRACKENS                CO     90013091318
14391111972B27   JOCELYN           PALMA                   CO     90013781119
14391523176B33   ROY               SUNGLETON               CA     90009705231
1439184A172B77   SIDNEY            VOLZ                    CO     33056088401
14391A29857147   ROSA              JIMENEZ                 VA     81076070298
1439235385715B   MONICA            ZARATE                  VA     90011443538
1439238835B154   PRECIOUS          SMITH                   AR     90014863883
143924A2691569   DIANA ALEJANDRA   CASTRO                  TX     90009124026
1439317A24B588   TREY              DELIA                   OK     90014681702
1439325997B489   ANA               NAVEJU                  NC     90011012599
14393276972B27   KATHLEEN          HILL                    CO     90013102769
14393787772B42   MEGHAN ANNE       GAXIOLA                 CO     90011387877
14394899172B62   LUIS              QUINTERO                CO     90009068991
14394934472B27   ROGER             ABEYTA                  CO     90007879344
14394A12472B27   CHRISTOPHER       RANDAL                  CO     90013340124
1439528444B588   JESUS             TEJADA                  OK     90012912844
14395652572B62   CANDRA            MONTOYA                 CO     90013716525
1439634915136B   JANET             SIMS                    OH     90006753491
1439655575B526   MARIA             CHICA                   NM     90011775557
1439765474B26B   YEON-OG           CHOI                    NE     26074246547
14398171897B69   TAMI              WEAVER                  CO     90005781718
1439863874B255   RODA              ISSE                    NE     27054496387
14399187272B62   ROBERTO           ANGEL                   CO     33084811872
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14399645772B27   LUPITA         SIMMONS                    CO     33050616457
14399966176B33   LETICIA        AYALA                      CA     90010129661
143B127AA91263   CARLOTTA       PICKETT                    GA     90014172700
143B142565715B   MILTONG        HERNANDEZ                  VA     81014714256
143B151348B169   ROBERT         NEIL                       UT     90005535134
143B151A961938   BEATRIZ        HERNANDEZ                  CA     90014185109
143B1678291899   BRIAN          LOONEY                     OK     90013506782
143B2431333699   FRANCHESTA     LIVINGSTON                 NC     90011024313
143B245545B526   LEO            PATINO                     NM     90007404554
143B251348B169   ROBERT         NEIL                       UT     90005535134
143B255A261972   JOSE           CACHU                      CA     90002375502
143B259295B59B   PABLO          DERAS-QUIJADO              NM     36083055929
143B2714291569   ELVIA          ROSALES                    TX     90009377142
143B273515B154   LATORIA        OINER                      AR     90008587351
143B2A45251337   TODD           MANSER                     OH     90015280452
143B2A4885B526   JONAH          BELL                       NM     90015140488
143B3211A5715B   WILLIAM        ARIAS                      VA     90013682110
143B3A68691569   VERONICA       CONTRERAS                  TX     90014030686
143B4548576B33   EGIL           GRONSTAD                   CA     90013515485
143B4593A91549   LIDIA          LUNA                       TX     90012155930
143B543587B424   ROSA           LOPEZ                      NC     90004684358
143B548947192B   RACHEL MARIE   JOY                        CO     90013334894
143B5593A91549   LIDIA          LUNA                       TX     90012155930
143B5692391895   TIFFANY        SIMPSON                    OK     90011826923
143B589192B89B   AMANDA         HERNANDEZ                  ID     90013868919
143B617445715B   ZELEKASH       GEBREYESS                  VA     90013941744
143B6227191884   PENNY          WALLING                    OK     90008512271
143B64A7161938   DALEGRAND      RAYNOLD                    CA     90008394071
143B686A85B39B   ELSA           JUAREZ                     OR     90010658608
143B7223455976   LINDSEY        ROGERS                     CA     90010952234
143B7645391569   XOCHITL        CUEVAS                     TX     90013306453
143B769724B26B   EDWARDS        WILKERSON                  NE     90001616972
143B7751861958   EVELYN         MORAN                      CA     90010937518
143B7752A57142   TONY           SCHAEFER                   VA     90013607520
143B8386361938   JILBERTO       SANTOS                     CA     90015233863
143B83A4491569   SUSANA         AMATO                      TX     75089633044
143B8886391569   ESTEBAN        NAVARRETE                  TX     90010808863
143B9556831687   RHONDA         WILLIAMS                   KS     22001455568
143B9AA817B489   SHANA          STEVENSON                  NC     90012370081
143BB696357147   VALERIA        ARZANI                     VA     90012386963
143BB782A8B172   KIPP           HOFFMANN                   UT     31063947820
1441117A555976   BRITTANY       BEECHER                    CA     90013061705
14411686972B29   AGUOMARO       GUERRERO                   CO     90012176869
14412A23333699   CRYSTAL        NICHOLS                    NC     90011010233
1441345A14B26B   WENDY          BUCKMASTER                 NE     26066894501
14413623A91263   MAURICE        WILLIAMS                   GA     90013666230
1441375257B489   VANTESHIA      STICKLAND                  NC     11061497525
1441382585B154   TEQUILA        HEARD                      AR     90014848258
1441395685B59B   LUCIA          ZAMORA                     NM     36080189568
14413A16776B33   BRIAN          SALOMON                    CA     90013690167
144151A7593756   JON            BROWN                      OH     90008211075
1441763285715B   REYNALDO       VALDE                      VA     90009696328
14417A42161958   RAFAEL         ORTIZ                      CA     90013400421
14418314876B33   STEPHEN        CAMPER                     CA     90012023148
14418943A91569   KIMBERLY       CHRISMAN                   TX     90013939430
14419719A91569   JESUS          REYES                      TX     90013057190
14419745972B62   RON            SHORT                      CO     90012907459
1441BA3645B526   MAYRA          OLIVAS                     NM     90008410364
144214A2572B27   DAVID          PIERCE                     CO     33049384025
1442185325715B   ADELMO         HERNANDEZ                  VA     81007548532
14422617676B68   ADRIANA        MOSTI                      CA     90014766176
1442332185B526   NICOLE         GUTIERREZ                  NM     90010683218
144234A8255976   AGUILLA        BAILEY                     CA     90013924082
14423652672B27   SHANE          BARCELONA                  CO     90006356526
1442479214B588   RONALD         YOUNG                      OK     21530697921
14424991A91526   JOEL           ACOSTA                     TX     75094679910
1442669592B225   JANITA         JONES                      DC     81074666959
144267A554B588   GREGORY        PICKLE                     OK     21506627055
14427524376B68   ADAN           CARACHURE                  CA     90001715243
1442825A34B26B   LORENA         MORENO                     NE     90014422503
1442846715B59B   ANGEL          MEDINA                     NM     90005194671
144287A554B588   GREGORY        PICKLE                     OK     21506627055
1442B242161958   SANDRA         DEL CAMPO                  CA     46017862421
1442B492872B62   SILVIA         LOZANO                     CO     33085734928
1442B551976B68   PREONNA        PERKINS                    CA     90011015519
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1442B617676B68   ADRIANA      MOSTI                        CA     90014766176
1442B93223B324   WAYNE        GRIFFIN                      CO     90009389322
1442BA7322B232   TERRENCE     WASHINGTON                   DC     90007440732
14431882472B27   JOSE         VARELA                       CO     90014958824
14431A91551337   LINDSEY      STEWART                      OH     90014580915
144323A6861938   LORENA       GONZALEZ                     CA     46080063068
144328A2A24B7B   PAYGO        IVR ACTIVATION               DC     90005218020
144334A8876B33   JOSE A       MAHESSE JR                   CA     90015044088
1443389285715B   EMIL         NUMES                        VA     90008618928
144369A295B59B   MARTHA       TRUJILLO                     NM     36053239029
1443778765715B   HERBERTH     CLAROS                       VA     90012947876
1443878225B59B   GLADIS       MENDOZA                      NM     36024077822
14438831872B27   TARSHA       GAY                          CO     90013098318
1443918432B884   JIMMY        CHRISTY                      ID     90000791843
1443922577B869   JESUS        BANUELOS                     IL     90007952257
14439368476B68   VERNE        HOLMES                       CA     90005153684
14439A5665B59B   ISAIAH       VIGIL                        NM     36040320566
1443B396755936   FABIOLA      FUENTES                      CA     48017073967
1443BA69691263   ANASIA       WILLIAMS                     GA     90013490696
1443BAA7555976   ROBERT       HONSINGER                    CA     90012900075
1444212595715B   MARIA        LORENA GARCIA                VA     81008161259
14443912A72B62   TRISTAN      SALAS                        CO     90014189120
14444174672B62   CHRISTINE    GONZALES                     CO     33065641746
1444448174B588   RUBEN        ACEVEDO                      OK     90012894817
14444844572B37   KATHLEEN     VANDOM                       CO     90010268445
14444894176B33   JESSE        CRUZ                         CA     90014458941
14444A4A85715B   MARY         TUCKER                       VA     90015170408
1444588457B489   MARCEL       BRIGGS                       NC     90011828845
1444676474B588   TAQIAH       WEBB                         OK     90015097647
1444699982B968   MONSERAT     ALEMAN                       CA     90011499998
14446A4595B154   TIFFANY      BROWN                        AR     23063970459
144471A8151337   DARLENE      CROWELL                      OH     66030251081
14448344472B28   AILEEN       DOMINGO                      CO     90009223444
1444855115B59B   CORRINE      LUJAN                        NM     90011795511
14448A5195B526   JOEL         ROMO                         NM     35006730519
1444977A176B68   ARACELI      RUVALCABA                    CA     46012577701
1444B183A5715B   LEONARDO     MALDONADO                    VA     90005861830
1444B897291569   KELLY        ACOSTA                       TX     90012978972
1444BA6A576B68   AGGLAE       GONZALEZ-MORA                CA     46016810605
1445122575B154   BARBARA      ROSS                         AR     23048802257
144516A8861938   SERGE        OSORNO                       CA     90014746088
144526A9961938   LENIKA       LEVANT                       CA     90014746099
14452A1748B164   JAKE         MAGERA                       UT     90004510174
14452A85951337   JAMES        ELKIN                        OH     90001970859
1445374625B154   BRITTANIE    MITCHELL                     AR     23020157462
1445398795B385   WILLIAM      HALLETT                      OR     90006859879
14453A7957B489   LARRY        HOOVER                       NC     90003550795
14453AA6372B27   FATIMA       RIOS                         CO     33099100063
14454386A8598B   CHRIS        RANSOM                       KY     90001173860
14455855A47956   KEVIN        ELLIS                        AR     90013518550
1445623155B59B   MARIA        MEXCANO                      NM     36010982315
1445665A691263   FREDDY       MADDEN                       GA     90012196506
1445679A672B62   BRIAN        COOKS                        CO     90013357906
14457136933B95   DAWNSHA      WILLIAMS                     OH     90014201369
14457544476B33   ERIC         MORENO                       CA     90011405444
1445777965B526   JUSTIN       FOUCH                        NM     90014117796
1445813A972B27   ANTOINETTE   DEHERRERA                    CO     33070311309
14458624472B27   CAROLINE     MONTEZ                       CO     90012006244
14459146A7B386   JOSE         LOVO                         VA     90000911460
14459538824B7B   MARIO        CHEN                         DC     90004515388
14459763172B62   WOODY        SEBASTIAN                    CO     33039567631
14459951476B68   NORMA        MEDINA                       CA     46033849514
14459AA745B526   HARRIET      BEGAY                        NM     90009180074
144619A375B393   QIAN         HU                           OR     90001619037
1446221664B576   TIFFANY      PIDILLA                      OK     90010482166
1446226A355976   FLORIBELLA   AMBRIZ                       CA     49065542603
14462698776B68   ESPERANZA    CHAIREZ                      CA     90014786987
14462915172B62   ENRIQUE      ELIZALDEZ                    CO     33086669151
14463657776B33   OSCAR        SANDOVAL                     CA     90014226577
144655A8147956   TEXAS        AUSTIN                       AR     90013805081
144657A855715B   ROSA         MONJES                       VA     90005227085
1446628AA4B582   PERRY        BLACK                        OK     90009592800
1446721265715B   MAINOR       MAZARIEGOS                   VA     90014712126
1446796415B526   DEAN         COPE                         NM     90010629641
14467A43633699   JEREMY       HILLIAN                      NC     90008520436
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14468843972B27   SONYIA        JOHNSON                     CO     90013098439
14468A1A391263   HIRWIN        ZEAARANDA                   GA     90012610103
14469911A57147   TERI          WEIL                        VA     90000109110
1446B65A684326   JASMINE       MYERS                       SC     90013006506
1446B9A9657147   EDWIN         ARGUETA                     VA     90012169096
1447112887328B   SANTOS        GARCIA                      NJ     90014451288
144713AA972B27   SEAN          GATHERCOLE                  CO     33080123009
14472819576B33   ERIKA         DURAN                       CA     46061188195
144754A8776B33   RICARDO       AGUILAR                     CA     90004304087
14477184A55976   MARYSOL       SIORDIA                     CA     49029691840
1447742585715B   DANIEL        PAS                         VA     90013164258
14477596772B62   JOY           REIL                        CO     33036185967
1447762A233699   PAYGO         IVR ACTIVATION              NC     90007346202
1447967A261958   ROBERT        GWOREK                      CA     46030226702
144798A1A4B26B   KAREN         JOHNSON                     NE     90013108010
1447B3A635B526   KAREN         GERVAIS                     NM     90012813063
1447B459861958   PATTI         AUSTIN                      CA     90015144598
1447B554461938   NACY          BANUELOS                    CA     90012205544
1447B766776B33   GRISELDA      RODRIGUEZ                   CA     46019647667
1447B7AA772B27   JOHANNA       FIGUEROA                    CO     33053897007
1447BA27351337   STEPHEN       FRANKLIN                    OH     90010810273
1448178134B588   HECTOR        ORDONEZ                     OK     21578547813
14481A2635B526   ROSARIO       TRUJILLO                    NM     35093000263
1448286A791569   JORGE         MORAN                       TX     90015018607
14482983372B27   GABRIEL       GARCIA                      CO     90010539833
14482AA3551337   JARED         WILLIAMS                    OH     90005910035
14483442672B62   FRANCISO      MARINELARENA                CO     90012484426
14483895A5B533   ARIANA        BURGER                      NM     90005978950
14484262A5B526   LEE           ELLIOT                      NM     90003492620
1448538275B154   JEFFERY       KYZER                       AR     90013093827
1448713287B489   DONNA         GRAY                        NC     11045961328
144871A6A4B588   DEANNA        SPYBUCK                     OK     90005321060
144876AA686454   CHRISTOPHER   HUGHES                      SC     90015306006
1448786115B526   TARA          KIRO                        NM     90010218611
14487A38776B33   SANTIAGA      GOMEZ                       CA     46061320387
14488666272B23   ROBERTO       CASTANEDA                   CO     90011536662
1448892165715B   CORNELIO      SANCHEZ                     VA     90001969216
14488974A55976   JESUS         QUINONEZ                    CA     90013199740
14489A8367B489   CARLOS        RUBIO                       NC     90003550836
1448B28A272B62   KAREN         GUADALUPE                   CO     33092272802
1449112A161958   SILVIA        CORTEZ                      CA     90015091201
1449124AA4B26B   CHRISTOPHER   YOUNG                       NE     90015132400
1449154885B526   STEPHANIE     GONZALES                    NM     90010275488
14491A79276B33   NACKEY        CHARLENE                    CA     90013000792
1449241A231687   CHARLES       SPILLER                     KS     90006524102
1449319634B588   JOHN          LIPPE                       OK     21573281963
1449364925B526   STEPHANIE     ARAGON                      NM     90013176492
1449529852B236   FELICE        ROBINSON                    DC     81057592985
14496A7A224B7B   YVON          DINGAO-WAIA                 DC     90004300702
144982A9557133   KATIRIA       HOLDER                      VA     90007332095
1449837915715B   MARIA         VARGAS                      VA     90013193791
14499884A76B33   ROBERT        COSBY                       CA     90005438840
1449B37A972B62   ELENA         RODRIGUEZ                   CO     90012083709
1449BA92876B33   ALMA          COLMENARES                  CA     90011360928
144B14A235715B   MARIA         SANCHEZ                     VA     90004534023
144B1763291263   ANTONIO       DIAZ                        GA     90013957632
144B215344B588   JACQUELINE    BALMOI                      OK     90009601534
144B21A6991547   CICLALLI      RAMIREZ                     TX     90008411069
144B252537B477   EBONY         JONES                       NC     90002275253
144B271536192B   RENE          JONES                       CA     90010217153
144B2987372B42   MARIA         MONTENEGRO                  CO     90008899873
144B324A591899   STEVE         LUMPKINS                    OK     21080132405
144B331775B154   ASHA          JORDAN                      AR     90014693177
144B36A5151337   CARLOS        RAMIREZ                     OH     90012176051
144B3753947956   PAOLINO       HERNANDEZ                   AR     90013567539
144B3781451337   MAURICIO      RODRIGUEZ                   OH     90000367814
144B437385B154   K             HOLMAN                      AR     23032123738
144B4592271967   ALBERT        GASPERETTI                  CO     38039575922
144B4837661938   KEVIN         VEASLEY                     CA     90010758376
144B4A1A172B27   AMY           PAINTER                     CO     90003590101
144B55A6861958   HAYDEE        MUJICA                      CA     90013425068
144B5631991895   MARLA         BUSH                        OK     90014606319
144B5669272B27   CARL          DIIORIO                     CO     90000216692
144B5698476B33   KYLE          SPRAGUE                     CA     90010996984
144B5835A57147   IVAN          RODRIGUEZ                   VA     90010688350
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144B6268198B72   JASON          JUSTICE                    NC     11023262681
144B6474572B27   DAYANA         CISNEROS                   CO     33070984745
144B671AA47956   HEATHER        MCCOWAN                    AR     90013227100
144B765A972B62   DONALD         LANG                       CO     90013486509
144B7A75972B27   ERICK          BARRIENTOS                 CO     33071150759
144B7A84491895   NKECHI         OHAKWE                     OK     90011830844
144B838267B489   LETICIA        VALAZQUEZ HERNANDEZ        NC     90006133826
144B879435715B   DIAMOND        DAKER                      VA     90011417943
144B9A84657147   VERTHA         REYES                      VA     81076960846
144BB371957147   MARIA EMMA     ERICK GONZALEZ             VA     90012613719
144BB624533699   KINYA          DAVIS                      NC     12009016245
144BB9A1276B68   RAMIRO         BAZAN                      CA     90013359012
144BBA1995715B   JOSE           GOMES                      VA     90005330199
14511358572B62   MICHELLE       DVURAK                     CO     90014753585
1451183245715B   ROLANDO        CONTRERAS                  VA     90012628324
1451226955715B   EVIS           SALGADO                    VA     90014142695
1451252135B526   EBONY          OWENS                      NM     90011905213
14512A78951337   SHERRI         RAMSEY                     OH     66086520789
14513324672B27   STEPHANIE      PIERRE                     CO     90003493246
1451363A861985   RICHARD        BECERRA                    CA     90010766308
14515713576B68   CYNTHIA        MARROQUIN SANCHEZ          CA     90014797135
14515855172B27   LILIANA        OLVERA                     CO     90013098551
14515949A72B62   MICHELLE       TAFOYA                     CO     33083769490
145164A9A91895   LAURA          LUEVANO                    OK     90011834090
145166A1461938   ARTURO         VILLEGAS                   CA     46054656014
14516A1112B236   BAKARY         CAMARA                     VA     90003080111
1451747495715B   JOSE           MUNOZ                      VA     90010804749
14517713576B68   CYNTHIA        MARROQUIN SANCHEZ          CA     90014797135
14518532572B27   JOSUE          HERNANDEZ                  CO     90002285325
14518713576B68   CYNTHIA        MARROQUIN SANCHEZ          CA     90014797135
14518872272B62   TERRY          WALLERICH                  CO     90012628722
145193A3131687   NATOSHA        JOENS                      KS     90008383031
145193A842163B   MICHAEL        ARTHUR                     OH     90012263084
14519A5455B526   GILBERT        LOPEZ                      NM     90013280545
14519A84851337   TABBATHA       FULTZ                      OH     90015440848
1451B42264B26B   PAMELA         BRADY                      NE     26051714226
145216A3791263   ELAINE         GIVENS                     GA     90001786037
145235A3133699   VICTORRIA      WILLIAMSON                 NC     90011125031
1452366725B526   LUIS           MALDONADO                  NM     35046036672
1452425A733656   REGINA         LEDEZMA                    NC     90013702507
14524683A61958   ALMA           HERNANDEZ                  CA     90011886830
14524A14A91263   MARIANO        JUAREZ                     GA     90013910140
14526217376B33   JAVIER         VILLANUEVA                 CA     90012772173
14526498A91895   CARMON         WHITE                      OK     90010224980
14527681772B62   GUADALUPE      LOPEZ                      CO     90011196817
14529484A76B33   LETICIA        VILLARREAL                 CA     90006534840
1452977284B26B   SARAH          PATTERSON                  NE     26002307728
1452978564B26B   CLORISSA       LEE                        NE     90011277856
1452B9A8557147   IRFAN          AWAN                       VA     90000709085
1453142717B489   LEAH           CAMERON                    NC     11029124271
1453143A15B154   LINDA          MOORE                      AR     23039464301
1453182455715B   GLADYS         LOPEZ                      VA     81021498245
14531A1644B26B   NYAJIMMA       YOEL                       NE     90013800164
14532515672B23   DAVID          WYESS                      CO     90009815156
1453276474B588   TAQIAH         WEBB                       OK     90015097647
1453319624B26B   MICHAEL        CALLOWAY                   NE     90011311962
1453327465715B   CHRISTOPHER    DAVIS                      VA     90014142746
14533999376B33   DANIEL         RETIZ                      CA     90012949993
14533A61572B27   OLGA           REYES                      CO     90002120615
14534A67972B62   ARLENE         PEREDA                     CO     90012500679
1453568778B194   VERONICA       RAMIREZ                    UT     90008356877
14535779A91569   SUIEY          MEDINA                     TX     75076677790
1453649237B386   SANTOS         PAZ-CARRETO                VA     90001784923
1453677965B526   JUSTIN         FOUCH                      NM     90014117796
14539174A4B588   NOE            PINEDA                     OK     90001731740
14539343976B68   LUIS           HERNADEZ                   CA     90014423439
1453B16482B228   MAYRA          LAZO                       DC     90005561648
1453B65885B526   SATIVA         MCKENNY                    NM     35037336588
1453B857472B27   NANCY          PEREZ                      CO     90013098574
1453B9A1491964   EMILY          CLEVELAND                  NC     90005719014
1453BA4A561938   CLAUDIA        MEDINA                     CA     90013160405
14541248376B68   CARRIE MARIE   MADSON                     CA     90014912483
1454147255715B   JOSE           CABRERA                    VA     90013944725
14541A1365715B   JEFF           BAINES                     VA     90012450136
14543235572B27   SALLIE         HILL                       CO     90012312355
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14543342476B33   MIRANDA       ROY                         CA     46011183424
145437A5A31637   JESSICA       SCHOENHOFER                 KS     90014637050
14543A17472B27   FERNANDO      RAMIREZ MORALES             CO     90014420174
14544AA5472B27   ALEXIS        BUTCHER                     CO     90005840054
1454521593B388   ALEX          BAUTISTA                    CO     90014332159
1454529265B154   LATASHA       KING                        AR     90011052926
14546126972B62   LARRY         DODSON                      CO     90007781269
145462AA85B154   VICKY         PARKER                      AR     90004492008
1454671869192B   JORGE         PONCE                       NC     90001477186
1454695164B588   LANA          BAKER                       OK     90011529516
14546AA8676B33   ELVIRA        RIVAS                       CA     90004260086
1454738847192B   JOSEPH        LIOTTA                      CO     90014663884
14547485A51337   DEBRA         HENNEKE                     OH     66009494850
14548461A3B394   JOSEPH        SERNA                       CO     33067734610
1454851A85B154   RUTH          TURNER                      AR     90013335108
14548915472B27   JOSEPH        WIEDEMANN                   CO     90013609154
1454912645715B   LEONEL        ALVARADO                    VA     90009871264
14549581972B62   ERIC          LACEY                       CO     33066775819
1454B222376B68   MARTHA        ROMO                        CA     46012872223
1455155895715B   HERIBERTO     MOSQUEDA                    VA     90014405589
14551A75393775   KOREY         GRAY                        OH     64510250753
1455427385715B   MARISA        SOLONANO                    VA     90015152738
145543A2976B33   JOSE          CUADROS                     CA     46011153029
145546A9A76B68   EDITH         GARCIA                      CA     90000746090
145548A417B489   ROBERTO       CORTEZ                      NC     90001948041
1455575985B526   DORA          MARTINEZ                    NM     90014887598
1455589A161958   LISA          HUNTER                      CA     46087178901
14556A16172B27   JONATHAN      PEREZ                       CO     90010540161
1455872525B568   ADAM          TRUJILLO                    NM     90011037252
1455938A94B26B   JAMIE         FOSTER                      NE     90008123809
14559697272B62   PAMELA        MCCLAIN                     CO     33009586972
14561339A57147   HELVIN        MEJIA                       DC     90012373390
1456243435715B   JENNY         BLANCO                      VA     90007804343
1456259274B26B   PHILIP        THIEK                       NE     90011395927
14562612A47956   SAMANTHA      DAY                         AR     90011176120
14563A36155976   GLORIA        HERNANDEZ                   CA     49014870361
14563A6572B926   RITA          NAVARRO                     CA     90015020657
145653A2776B68   ANA           TORRES                      CA     90009693027
1456549785715B   IRMA          RUIZ                        VA     90013944978
14566157A31687   GUSTAVO       CAMAOCH                     KS     22065411570
1456637A776B33   RAYMOND       KOBER                       CA     90014173707
145666A755B154   PORCHA        HUNTER                      AR     90011126075
14566A36361938   CESAR         INIGUEZ                     CA     90013610363
1456729A176B68   ALVARO        VALENCIA                    CA     46089722901
1456743995B154   MARK          KING                        AR     90007184399
1456772994B588   STEPHEN       HARDING                     OK     90013487299
14568A92791895   HOUSTON       TIGER                       OK     90015170927
1456932547B489   SHANNON       DAVIS                       NC     90008803254
145695AA35B526   HENRY         MCKINLEY                    NM     90014855003
14569998272B27   ADRIAN        VAZQUEZ                     CO     90004869982
1456B298247956   JAMES         TABER                       AR     90014522982
1456B41555715B   SAUL          MARTINEZ                    VA     90007544155
1456B5A6A51337   GINA          BAER                        OH     90014315060
14571239824B7B   SHIRLEY ANN   JEFFERSON                   DC     90011022398
1457133237B489   TIFFANIE      SUBER                       NC     90014043323
14572246576B68   HENRY         CRUZ                        CA     90009752465
1457256995715B   SHARON        SARUGGS                     VA     90014405699
1457344415B526   RAEANN        KIRO                        NM     90008434441
1457425874B26B   WILLY         HERNANDEZ                   NE     90014772587
1457483A376B33   GLADYS        RENTERIA                    CA     90014878303
1457544615B59B   MARY          TALLEY                      NM     90012064461
1457556255B154   AVIVA         STIGALL                     AR     90014725625
14575A79761938   MARC          SANCHEZ                     CA     90012030797
1457647A85B154   ALEXUS        GARDEN                      AR     90010494708
145764A3951337   ENRIQUE       PABLO                       OH     90013384039
1457674515B526   NORA          ALAMOS                      NM     35026657451
14576A3165715B   JOSUE         PEREZ                       VA     90013370316
14577A69176B33   MIGUEL        ALVA                        CA     90013690691
14578265976B68   ERIC          WAHL                        CA     46094382659
145792A8891895   KATELYNN      JONES                       OK     21086672088
1457943A461958   KHALIA        LEFTWICH                    CA     46009094304
1457B233661938   MICHAEL       MILES PICKENS               CA     90013222336
1457B547247956   MARTHA        RODRIGUEZ                   AR     90001525472
1458225874B26B   WILLY         HERNANDEZ                   NE     90014772587
1458276A331687   TIONNA        DUKES                       KS     22014917603
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1458327254B588   SADE            DOTSON                    OK     90012772725
14583815A91263   NANNIE          HITE                      GA     90000888150
14584517372B27   NANCY           SANTILLAN                 CO     90007965173
145847A7476B68   ALIN            MEDINA                    CA     46015367074
1458591624B588   ALLEN           BIAS                      OK     90003569162
1458611A391895   KIM             YOUNGER                   OK     21077211103
1458625295B154   TONYA           DEADMON                   AR     90013122529
1458691367B489   LOUDERS         GOZALEZ                   SC     90014369136
14587664A2B232   MANUEL          ACEVEDO                   DC     90000966640
14587879276B33   ROBERTO         MARTINEZ-BOLANOS          CA     90012888792
14587A7777B489   ADRIENNE        WYNN                      NC     11015930777
1458813185B59B   MARINO          PINON                     NM     36046191318
1458822715B154   ESSIE           BOLES-SMITH               AR     23086992271
14588844A61938   HECTOR          VIDRIO                    CA     46086188440
14589252172B27   JORGE           GRIJALVA                  CO     33056712521
14589615424B55   JOSE            MEDINA                    VA     81028836154
1458962555715B   NELSON          GUTIERREZ                 VA     90013946255
1458B233691569   JOSE            SANDOVAL                  TX     90012892336
1458B529291569   JOSE            SANDOVAL                  TX     90014785292
1458B643657147   LUIS            GOMEZ                     VA     90003976436
1459147725B154   FRANK           BUIRSE                    AR     90011394772
14591957A57549   JAYME           SANCHEZ                   NM     90012589570
1459287615B526   EDGAR           NEIL                      NM     90011678761
1459325825B154   RAY             HOLLISTER                 AR     23039542582
14593879276B33   ROBERTO         MARTINEZ-BOLANOS          CA     90012888792
14595A56155976   MARIO           MARTINEZ                  CA     49073930561
1459726275715B   NINETH          BARRIOS                   VA     90009522627
14597899A47956   MARIA           HERNANDEZ                 AR     90015138990
14599131976B68   ASCENCION       LOZOYA ROJAS              CA     90014921319
1459BA63464183   BILLY           CURRIER                   IA     90013940634
1459BAA2291263   HIGINIO         PEREZ                     GA     14582320022
145B173A491524   RENE            GARCIA                    TX     75052287304
145B2115691569   NELSON          PEREZ                     TX     90012931156
145B2198344356   STEPHENETT      BOTOE ROSE                VA     82003631983
145B2575176B68   CAMILO          MAQUEDA                   CA     90014795751
145B338A454133   NICO            OSTERHOLTZ                OR     90013753804
145B3656372B62   MARY            RAMIREZ                   CO     33001196563
145B3729676B33   ESTELA          SEPULVEDA                 CA     90003167296
145B3A26261958   BENNY           GUTIRERZ                  CA     90015200262
145B3A42557147   JUAN            SERPAS                    VA     90014530425
145B3A63155976   TEO             RUELAS                    CA     90012760631
145B4643657147   LUIS            GOMEZ                     VA     90003976436
145B4683631635   APRIL           LEING                     KS     90001256836
145B4729A5B154   RAMON           RAMON                     AR     23057017290
145B5157A4B26B   JENNIFER        PAYNE                     NE     90013411570
145B5537247956   GLADYS M        GREEN                     AR     90007365372
145B565A276B33   PALEO ROSENDO   PALEO                     CA     90003696502
145B637A77B489   ANA             SIGARAN                   NC     90012283707
145B797A591569   STEPHANIE       HERNANDEZ                 TX     90013939705
145B8113157147   ALFREDO         PEREZ                     VA     90009951131
145B8715172B27   BRANDON         HUCKABY                   CO     90014587151
145B88A1691263   ARLANE          HUNS                      GA     90009928016
145B9512791586   NANCY           HEREDIA                   TX     90010575127
145B9548472B62   JONATHAN        REED                      CO     90004825484
145B9A4AA91396   ROSAMIND        DIXON                     MO     90012410400
145BB719261958   RUSSINA         VALE                      CA     90012857192
14612331A7B489   ANTHONY         STEPHENS                  NC     90011043310
14613165A5B154   QUIANA          RANDLE                    AR     90014941650
1461323635715B   JEANNETTE       OBANDO                    VA     90008282363
1461327494B588   DEDREA          STAMPS                    OK     21580352749
146134A7661958   JOSE            PEREZ                     CA     46052714076
14614391972B27   STEPHANI        CARABEO                   CO     90014193919
1461549364B588   KELLY           MILLER                    OK     90010644936
1461763184B26B   BRIAN           BRADFORD                  NE     90011956318
1461769435B154   KEVIN           ROBINSON                  AR     23025136943
146184A6271949   NANCY           SEIFERT                   CO     90004894062
1461917297B489   DORCAS          UNDERWOOD                 NC     11007531729
14619575A24B55   MARY            JEFFERS                   MD     90011625750
1461961A272B27   STEPHANIE       ELISE CHAVEZ              CO     33044756102
1461969125B526   VIRGINIA        GALLEGOS                  NM     90009516912
1461BA52472B27   DOMINIC         MARTINEZ                  CO     90014070524
146224A3424B55   OMAR            CONTRERAS                 VA     90011774034
14622572672B62   JUAN            MORENO                    CO     90013055726
14623495476B33   SILVIA          LORES                     CA     90013924954
1462352416197B   MIGUEL          ABUGABER                  CA     46016155241
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1462413755B526   TORREZ          GILBERT                   NM     35091931375
1462466A591836   BILLY           HARPER                    OK     90011996605
1462554625715B   JOHN            GRAY                      VA     81065495462
14626214972B62   RITA            BANDIERA                  CO     90014632149
14626667576B33   BRYAN           DEVORE                    CA     90014336675
14626894172B27   KWANE GRUBB     SMITH                     CO     90013098941
14627166776B68   DAVID           DINKINS                   CA     90015021667
14627269976B33   RIGOBERTO       SANCHEZ                   CA     90013462699
14628131A72B62   LUIS            VALDES-GALVAN             CO     90015101310
14628166776B68   DAVID           DINKINS                   CA     90015021667
1462822A133699   DENIA           GOMEZ                     NC     90012722201
1462894723B368   LUWENDA         SANDERS                   CO     90001129472
146316A3691995   ISMAEL          HERNANDEZ                 NC     90012156036
146317A355715B   ADNAN           MASRY                     VA     90013947035
14631A97676B68   ERICA           LOPEZ                     CA     90011360976
14634231A31687   CHERRI          MCKAY                     KS     22054932310
146343A5447956   LINDA           ELKINS                    AR     90001813054
1463452485B339   JOHN LEE        OLIVERA                   OR     90001265248
14634557A91263   GALE            OSBORNE                   GA     14584125570
14635399172B27   SANJUANA        RODRIGUEZ                 CO     33043423991
1463568A85715B   MARCELO         GUZMAN                    VA     90013126808
14635A1917B489   KADIAN          DAVIDSON                  NC     90012930191
146363A2991569   MOISES          FRANCO                    TX     90010353029
14636611A6192B   JOSE            HUAMAN                    CA     90003626110
146369A9576B33   JENNY           CABALLERO                 CA     90008139095
14636A76276B68   SHALANA         VIDAL                     CA     90014650762
14637195876B68   FEDERICO        LOPEZ                     CA     90015021958
14637799A61958   MARCO ANTONIO   ESCOBEDO                  CA     90015127990
1463839687B489   RUCHELLE        GRIFFIN                   NC     90011013968
1463868474B588   FENTON          CAMPBELL                  OK     90001856847
14638A63A7B428   LAURA           LARA                      NC     90008050630
14639269976B33   RIGOBERTO       SANCHEZ                   CA     90013462699
1463B687991899   KIMBERLY        TAYLOR                    OK     90000986879
1463B83A976B33   ROBERT          HOFFMAN                   CA     46018208309
1464142574B588   KIMBERLY        JOHNSON                   OK     21566734257
1464144823B393   HECTOR          CHACON                    CO     90014024482
146416A5661938   MARIA           LOREDO                    CA     90006276056
1464217264B588   PEDRO           ALPANZA                   OK     90002991726
1464233159379B   BARBARA         CRABILL                   OH     64559933315
14642A5874B26B   ANA             MONTEZ                    NE     90009830587
14643445172B27   KACY            SLAUGHENHOUP              CO     90012644451
146435A6776B33   MODENA          CASTLEMAN                 CA     90008925067
1464377715715B   ENRIQUE         NOVILLO                   VA     90013947771
1464572875715B   DALILA          CASAS                     VA     90013947287
1464674188B166   TRACEY          HAFRA                     UT     31007227418
146474AA44B588   CARLA           HORNBEAK                  OK     21572724004
14647988476B33   HAFIDA          WILSON                    CA     90014409884
1464832714B588   MARGUERIETTAE   BOONE                     OK     90011343271
1464888354B26B   KRISTIN         CROUCH                    NE     26070498835
1464922327B489   DEMARIUS        CHASTAIN                  NC     90007462232
1464927655715B   EDWAR           MENDOZA                   VA     90004052765
1464972214B588   KRISTEN         HALE                      OK     90008677221
1464997715B154   EBONIE          MCBRAYER                  AR     90006379771
14649A18391895   PAULA           NEAL                      OK     21010820183
14649A4A372B27   JAKE            MISKOL                    CO     33067220403
1464B231A31687   CHERRI          MCKAY                     KS     22054932310
1464B384572B62   AJAREY          HAMMAND                   CO     90013093845
1464B922491263   FAY             WRIGHT                    GA     90014889224
1465136A55715B   ASRET           TEGEGNE                   VA     81013953605
14651A8A95B154   DANIELLE        NASH                      AR     90014790809
14652761476B68   JAVIER          REYES                     CA     46092137614
1465348917B337   JOSE            LOPEZ                     VA     90001594891
1465354A661958   PAMELA          ARROYO                    CA     90014815406
1465384A257147   JOHNNY          ANTUNEZ                   VA     90011418402
14653A14191263   ALEXANDRIA      MARTIN                    GA     90010330141
1465458A791263   WILLIAM         MOORE                     GA     90013065807
1465534625B526   BERNADETTE      GONZALES                  NM     90012343462
14655A86676B33   ANGELA          SOTO                      CA     90012500866
1465624A891895   CHYANNA         PATTERSON                 OK     90012142408
1465687A257147   ASSEGEDECH      TESEMA                    VA     90003118702
1465794657B489   TANGY           REID                      NC     90009429465
14657A11661938   CIENGAN         CIENGAN                   CA     46045580116
14659746572B62   RACHEL          WATFORD                   CO     90012907465
14659A59333647   ROBERT          WALKER                    NC     90008530593
1465B259572B27   TROY            WHITE                     CO     90001182595
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1465B282161938   BRITTANY     POSEY                        CA     90008412821
1465B984144356   KEREN        DANIELS                      DC     90003629841
1465BA22933699   YESICA       ARANDA                       NC     90014940229
1466116145B526   WENDY M      COTTLE                       NM     35040571614
14661247976B68   ANDREW       CROUCH                       CA     90015052479
1466134985715B   ROBERT       ROSS                         DC     90013963498
1466168967B489   LISA         DAVIS                        NC     90006596896
146619A6372B27   JASON        SNYDER                       CO     90013099063
14662A1A872B27   DAWN         CALBART                      CO     33049650108
1466458579192B   MARIA        LOPEZ                        NC     90011535857
1466461415715B   BECKY        HOAK                         VA     90014406141
14664A97155976   CRAIG        BYAS                         CA     49051630971
1466529645B59B   JULIE        HERNANDEZ                    NM     90004362964
14665297376B33   ANTONIO      HERNANDEZ                    CA     90013462973
1466554815B154   SHANNON      WHITE                        AR     23001845481
14667281A55976   MICHAEL      ABAT                         CA     90012122810
14667556576B33   DENISE       GOODWIN                      CA     90013925565
1466775738B167   MIKE         DEYOUNG                      UT     90010377573
14668354A91569   ANNABEL      DURON                        TX     90010543540
1466838A547956   ANGELA       LOVELL                       AR     24033673805
14668A8285B154   CALANDRA     TILMON                       AR     90013400828
1466958758B167   JANNA        WOODS                        UT     90000695875
14669A5338B472   OMAR         GORDON                       VA     90014350533
1466B11A497B69   VICTORIA     BENJAMIN                     CO     90000271104
1466B247976B68   ANDREW       CROUCH                       CA     90015052479
1466B27885B154   PAUL         WORTHEN                      AR     90015362788
1466B422291899   KEN          THEIS                        OK     21000674222
1466B475A55976   ZOUA         XIONG                        CA     90014664750
1466B479591524   LAURA        CHAVEZ                       TX     90009844795
1466B481A72B62   NATISHA      PRIETO                       CO     90010374810
1466B556576B33   DENISE       GOODWIN                      CA     90013925565
1466B599161958   ALEX         TOILOLO                      CA     90011875991
1466B9A6372B27   JASON        SNYDER                       CO     90013099063
14671624A91263   MEDINA       JORGE                        GA     90013906240
1467181935715B   DANIEL       MEDRANO                      VA     90013948193
1467315467B424   HG           BAKER                        NC     90011641546
1467354634B26B   CARLOS       MORALES                      NE     90015345463
1467468434B588   NAKOLE       GUERRERO                     OK     90010556843
14674967972B62   MACARIO      VARGAS                       CO     90013529679
14675AA9791263   DANDRA       LADSON                       GA     14592970097
1467619AA71929   CATHIA       BELL                         CO     90001801900
14676346876B33   KATHERINE    FORD                         CA     46062373468
1467728255B526   RODRIGO      RENDON ESQUIVEL              NM     35015172825
14677996172B23   MISTY        HENDERSON                    CO     33049399961
1467993A955976   ISAAC        GARCIA                       CA     90012849309
1467996545B59B   SALLY        TORRES                       NM     36054319654
1467B253A76B68   RICK         PEDRO                        CA     46095182530
146812A4691263   CRAIG        PHILLIPS                     GA     14597182046
1468131115715B   WILLIAM      WELCH                        VA     81015123111
14681877172B27   ANTHONY      WILDING                      CO     90013918771
14682155272B62   LILIANA      GONZALEZ                     CO     90011201552
14682553572B27   LUCERO       HERNANDEZ                    CO     33089565535
1468286A991895   RODNEY       LEWIS                        OK     21008548609
1468292575715B   BALDEMAR     PEREZ                        VA     90012279257
14683246A7B489   JOSHUA       ROSE                         NC     90014562460
1468399A572B62   KENDALL      GRIFFIN                      CO     90014269905
14684147876B33   VICTOR       ALAMILLA                     CA     90010131478
146842A4691263   CRAIG        PHILLIPS                     GA     14597182046
14685427772B62   SANTOS       PINEDA                       CO     33077614277
1468559869154B   CECILIA      IBARRA                       TX     90012555986
1468566A676B33   CATHY        BOWMAN                       CA     46007966606
1468569754B26B   ROGER        JOHNSON                      NE     26041326975
14685A5A84B588   CINDY        MILLER                       OK     21513180508
14685A67791569   ROXANA       ALANIZ                       TX     90013940677
1468668195B526   JOHN         FLESHMAN 3RD                 NM     90010286819
146888A964B588   OSCAR        TRAYLR                       OK     90008018096
146899A355715B   ROLANDO      RIVAS                        VA     90013949035
1468B6A654B26B   MANDY        WIESER                       NE     90010296065
1468B725891263   SHELBY       HUGGINS                      GA     90010777258
14691727872B62   MANUEL       HERRERA                      CO     90013007278
1469222A85B526   BRANDON      MONTOYA                      NM     90008952208
1469227A391569   ELIZABETH    SANCHEZ                      TX     90004992703
1469229994B26B   WILLIAM      SCHLAIS                      NE     90012962999
146927A227B489   BRYANT       SCOTT                        NC     90004397022
1469369928B123   KIM          NIELSON                      UT     90002176992
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146938A3376B33   JOSE            ORTIZ                     CA     90013578033
1469413135715B   ELIZABETH       MARTINEZ                  VA     90011071313
1469445578B336   ALEJO           ZARATE                    SC     90015494557
14694465472B62   AGUSTIN         PAEZ                      CO     33007694654
14694494676B68   RIGOBERTO       MAGANA                    CA     90015054946
14695495276B68   NICK            DAGGETT                   CA     90015144952
146961A8961938   TIFFANY         HOLLAND                   CA     90012921089
146969A1733699   NIA COMMUN      CENTER                    NC     90002899017
1469869554B26B   MICHAEL         FOGERTY                   NE     26008586955
14698AAA47B358   JOSE            TURCIOS                   VA     90014110004
1469956614B588   TEKIA           WARE                      OK     90014825661
1469B117472B62   LISA            HORAN                     CO     33016911174
1469B436161958   CYLIA           CONTRERAS                 CA     90012294361
1469B639557147   LUISA           GUTIERREZ                 VA     90002246395
146B1585531687   ROBERT          COLANGELL                 KS     90008625855
146B15A735715B   SYLVESTER       AGYEMANG                  VA     90000875073
146B173794B588   JUNGJA          BAE                       OK     90012377379
146B1797976B33   MARCELO         MARCIAL                   CA     90014467979
146B191A44B26B   ERICA           CLOVER                    NE     26064529104
146B2337A5135B   SUZANNE         TASAYCO                   KY     90013963370
146B2421772468   AMBER           BETTS                     PA     90009634217
146B2761A31962   ANNA            MCCOMAS                   IA     90014157610
146B2873751337   PATRICIA        WHITAKER                  OH     66012458737
146B4245776B33   FRANCISCO       GASTELUM                  CA     46090762457
146B426928B166   LAURA           BLACK                     UT     90013752692
146B45A7357147   YECENIA         ALFARO                    VA     81030895073
146B461185715B   SANDY           FUENTES                   VA     90012316118
146B468A35715B   REFAEL          RIVERA                    VA     90013946803
146B519A45715B   MULU            AYELE                     VA     81046531904
146B5217576B68   ELVIRA          ORTIZ                     CA     46067572175
146B584654B588   LATOYYA         PENNON                    OK     90010798465
146B5996261958   ANDRES          SANCHEZ                   CA     46091499962
146B5A14231687   DESTINEY        BEAM                      KS     90004940142
146B6877757147   JOSUE           RODRIGUEZ                 VA     90011108777
146B6949791895   TIFFANNY        SCHNEIDER                 OK     90000489497
146B696143B352   SILVIA          GARCIA                    CO     90012369614
146B7124676B33   BENJAMIN        CATALANO                  CA     90012281246
146B738175B154   GERI            MILLER                    AR     90009493817
146B8555561938   MALAKAI         MADD                      CA     90014245555
146B86A245B59B   BLANCA          OLVERA                    NM     36070016024
146B921814B26B   THOMAS          PAVLIK                    NE     90014382181
146B9287755976   TOMAS LUNA      VALENZUELA                CA     90014442877
146B931A75B154   MARION          QUICK-MCADOO              AR     23076273107
146B9459272B62   JENISE          RUIZ                      CO     90013474592
146B9645791895   JUAN            LINARES                   OK     21044396457
146B9655276B33   CARLOS          VAZQUEZ                   CA     90014336552
146BB45425715B   ELIZABETH       CORODA                    VA     90013194542
146BB52185715B   ELVIN           IZANA                     VA     90013165218
146BB759972B62   ROBERT          WATSON                    CO     33041827599
146BB8AA461958   KENDRA          WILLIAMS                  CA     90015128004
146BB994176B68   FREDI           LOPEZ                     CA     46024229941
1471196984B588   DELL            JOHNSON                   OK     90015199698
14711A68255976   JODIE           EAST                      CA     90010760682
14712799A61958   MARCO ANTONIO   ESCOBEDO                  CA     90015127990
1471295125715B   PEDRO           COR MAS                   VA     90012519512
147132A4491895   HELEN           SCHUMPERT                 OK     90001092044
147133A5472B62   RACHEL          TRUJILLO                  CO     33013623054
1471399A491569   ADRIAN          SARINANA                  TX     90015049904
14714188A72B62   HORTENCIA       TIZCARENO                 CO     33086081880
14714539176B33   OSCAR           GARCIA ALCARAZ            CA     90010405391
1471464A272B27   JOSEPH          MOORE                     CO     90009186402
14714A4515B154   JESSICA         ADAMS                     AR     90014760451
1471551214B588   CHRISTOPHER     MCCLURE                   OK     90012145121
1471589435B526   XOCHITL         GWIN                      NM     90002428943
14715997324B35   GERBERTH        CAMPOS                    DC     90004959973
14716491476B68   EVELYN          THOMAS                    CA     46091594914
147167A5A33699   UBALDO          VALDEZ                    NC     12080027050
1471717584B588   JUDY            LOUNSBERRY                OK     90009351758
14717582A5B154   TARA            CARROLL                   AR     23067535820
1471794A65B526   LUZ             HERNANDEZ                 NM     90010859406
14718283172B62   NAFEEZ          HUSSAIN                   CO     33028642831
1471864345B59B   CHARLES         UITTS                     NM     36098526434
14719824A76B52   OCTAVIO         MORELOS                   CA     46080768240
1471986A44B588   KINIKIA         BRAXTON                   OK     21552978604
14719998376B33   TERESITA        TUAZON                    CA     90013939983
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1471B2A9524B7B   DIAMOND            GORDON                 DC     90011362095
1471B33A35B526   CARLOS             LUCERO                 NM     35089083303
1471B849991895   KEVIN              JANKE                  OK     90008238499
1471BA27263B56   RAULJ              RODRIGUEZ              IL     90013910272
14722281A91569   DANNY              LOZANO                 TX     90007582810
1472277575B526   ZULEMA             ALDERETE               NM     90013697757
1472341195B154   OMAR               ITURVIVE               AR     90015364119
14723425272B62   HARRY              CROYLE                 CO     90012734252
14724324576B33   PHILLIP            WOLF                   CA     90012773245
1472465315715B   JANIQUE DANIELLE   BLACKBIRD              VA     90012776531
1472486A451337   BOBBIE             WALDBILLIG             OH     90005028604
147249A3191569   CARLOS             MORENO                 TX     75075519031
14724A6A77B489   JUANA              CADILLO                NC     90013310607
1472613484B588   BRYAN              CEASAR                 OK     90010721348
147265A1291867   TANDI              ELLIS                  OK     90011115012
147266A1391524   DEYANIRA           WATSON                 TX     90004376013
14726995A91899   SUSAN              MCELROY                OK     21069809950
1472735284B588   DANIEL             POST                   OK     90010583528
1472771A94B588   PERRI              MEDICINEDEAN           OK     90015577109
147288A6176B33   JAVIER             MERINO                 CA     46069388061
14729319872B62   IRMA               GONZALEZ               CO     33077793198
14729974576B68   ELIA               MELENDEZ               CA     90000749745
1472B1A1161958   ROSA LINDA         STEWART                CA     46091501011
1472B321851337   MAURICIO           ARCE                   OH     90013633218
147312A8A4B588   ALAN               DE LEON                OK     90015132080
14731975A51337   DONNA              HALL                   OH     90013719750
14732451172B27   GINA               ARAGON                 CO     33045754511
1473248594B588   RONALD             HILL                   OK     90010224859
14733322472B62   VICTOR             FISCAL                 CO     90010033224
14733951872B27   GREG               MONDRAGON              CO     33001999518
1473414145B154   JACQUELLIA         MCMURRIAN              AR     90012171414
14734A92476B68   MALORIE            CAMPUZANO              TX     46029750924
1473515245B154   BRIAN              BERRY                  AR     23083881524
14735297176B33   LETICIA            ESCALONA               CA     90013242971
147353AAA57147   NORMA              DURAN                  VA     90005773000
14735A34872B27   EVIS               MARTINEZ               CO     33009180348
1473678A257133   MOHAMMED SHERIFF   TYRAY                  VA     90004467802
14736A4675B154   BRODERICK          WICKER                 AR     90010160467
14736AA4551337   ANDRES             DIEGO                  OH     90013380045
14737551A2B375   JOSE               DEIDA                  CT     90013195510
14737994A91263   WENDY              FIELDS                 GA     90010699940
1473799A991899   MALENA             STEWART                OK     90011299909
14738214972B62   RITA               BANDIERA               CO     90014632149
1473859634B26B   FRANCISCO          RAMIREZ                NE     90013545963
14738A27A76B33   CAROLINA           DIAZ                   CA     90013940270
1473954274B26B   SAMANTHA           MCBEE                  NE     90014835427
1473B1A214B588   TINA               HARJO                  OK     90012451021
1473B363876B68   DANIEL             OBESO                  CA     90009693638
1473BA3195715B   MARTHA             BAJARAS                VA     90012850319
1474115745B154   BRITTNEY           LOCKHART               AR     90010821574
14741287472B62   BIANEY             CHAVEZ                 CO     90015082874
1474172A972B42   AUDREW             SMITH                  CO     90006247209
147426AA533699   DONAL              SOLOMAN                NC     90014716005
14742A18A76B33   STEVEN             TEO JR                 CA     90011100180
14742A7235715B   JAMES              PUCKETT                VA     81021030723
147433A2372B27   WILLIAM            TRABING JR             CO     90013213023
14743816276B68   DANIEL             CALVILLO               CA     46095498162
147444A287B489   EDDY               HERNANDEZ              NC     90007654028
1474451552B877   BRUCE              FOWLER                 ID     90013255155
1474452814B26B   CHUMANI            FAULKNER               NE     90015195281
14745A74655976   VINCENT            RUBIO                  CA     90014530746
147466A145B526   LEONARD            PERALTA                NM     35005236014
14746724772B62   YESENIA            RODRIGUEZ              CO     90013397247
14747866A76B33   ROBERTO            ALONSO                 CA     46051308660
14748A93572B62   SILVIA             SOTO                   CO     33047580935
14749A75851337   TORY               JOHNSON                OH     90013580758
1474B14175B526   CAROL              CUFFEE                 NM     35083691417
1474B92755715B   RUDY               LOPES                  VA     90013949275
1474BA15772B27   MARIA              PEREZ                  CO     33091840157
14751774A5B526   MELINDA            ESCAMILLA              NM     90014057740
14753114876B33   ABRAHAM            BRAVO                  CA     90013961148
1475419A157147   MARTHA             HENRIQUEZ              VA     90013081901
1475425875B526   TONY               EDWINS                 NM     90011382587
1475481355715B   ESDRAS             DIAZ                   VA     90015238135
14755436576B33   MARIA              DIAZ                   CA     46013664365
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14755554A61947   ABYSSINIA         BELAY                   CA     90012085540
147561A2791569   MARCO             DELGADO                 TX     90013941027
1475652515B526   ELISEO            ANGEL                   NM     35086455251
1475711665B526   JOSE              SANCHEZ                 NM     90013451166
147571A877B489   PEDRO             RAMIREZ                 NC     11018061087
147581A6376B33   AMERICA           ESPINO                  CA     90013941063
14758984A47956   MAXIE             COLLIER                 AR     90010479840
14759312A91569   ELIZABETH         HARTMAN                 TX     90012733120
1475952965B526   BONNIE            DAVIS                   NM     90011715296
14759536772B27   LINDA             SCHILLINGER             CO     90010815367
1475965935715B   YOUNG HI          CHOE APT 609            VA     90012976593
1475995745715B   MARTHA            VILLANUEVA              VA     90013949574
1475B258157147   ORLANDO           LINARES                 VA     81053372581
1475B482672B27   ANDREA            SOLARES                 CO     90010714826
1475B59175B384   LYNN              LACASSE                 OR     90004435917
147612A4A5715B   BALTAZAR          CRUZ                    VA     90011912040
14761762872B27   PABLO             HERNANDEZ               CO     33071077628
1476252745B526   JOHN              JARAMILLO               NM     90014855274
14763157A4B26B   JENNIFER          PAYNE                   NE     90013411570
147642A1161938   HYMIE             SCOTT                   CA     46068992011
1476445545B526   LEO               PATINO                  NM     90007404554
1476491345B526   SANDRA            TRUJILLO                NM     35067319134
14765871A76B33   SANDRO            SANCHEZ                 CA     90004428710
14766463A72B27   JAMES             MACALUSO                CO     90011074630
1476685555B154   LARRY             DAVIS                   AR     90008088555
1476723485B526   JADE              ANAYA                   NM     90013252348
14767532372B27   FRANTZO           PIERRE                  CO     33053255323
1476764315715B   ALBERT            CHILDS JR               VA     81016636431
147688A594B588   MICHAEL           CASE                    OK     21527258059
1476893634B26B   TIMOTHY           SUGGS                   NE     26041789363
1476915975B275   CRYSTAL           BROUSSARD               KY     68002581597
1476991145B59B   LITA              MARTINEZ                NM     36092659114
1476B29665B396   SANDY             SANTEE                  OR     90008542966
1476B493A76B33   ROBERT            RICHDALE                CA     90008884930
1476B57235B154   CHEROKEE          BRADLEY                 AR     90007335723
147723A5991895   AMANDA            SEEDEN                  OK     90011003059
1477283655715B   TOCARRA           DADE                    VA     90005518365
14772A4735B238   MISSY             HALL                    KY     90011530473
14772A8547B444   WILLIE            KNOX LLL                NC     90006900854
14773359876B33   EDUARDO           JIMENEZ                 CA     90013943598
14773835776B33   MARIA             TORRES                  CA     90014818357
14773A3525B526   ORLANDO           GOZALEZ                 NM     90012130352
147743A5991573   DENISSE           HUERTA                  TX     90006103059
14776544A76B33   ADRIANA           MARTINEZ                CA     90009775440
14776946A72B27   MIGUEL            RUIZ                    CO     90013099460
1477718374B588   TYRIKA            MCFADDEN                OK     90007191837
14777322972B27   ESTAFANIA EDITH   VAZQUEZ                 CO     90014743229
1477747A94B588   SAN JUANA         ALVARADO                OK     90014454709
14778A1A591263   CALEEB            SANDERS                 GA     90014760105
147791A4491569   ALVARO            GONZALEZ                TX     90006711044
147797A6561958   LAURA             COPADO                  CA     90011577065
14779837372B27   JOHN              FRANZEN JR              CO     33098718373
1477B37374B588   LISA              LEWIS                   OK     90011453737
1477B473876B68   MARCOS            SOLANO                  CA     90010224738
1477B588424B55   AKIL              SLADE                   DC     90011785884
1477B597761938   ALEJANDRA         ELIZONDO                CA     46076365977
1478148355593B   SUSAN             MURO                    CA     90009664835
14781A17A5B154   OLA               WARE                    AR     90010180170
1478232367B47B   JULIO             MENDOZA                 NC     90009583236
1478376535B154   JUAN              ALVAREZ                 AR     23062297653
14783A48991569   MANUEL            CARBAJAL                TX     90014560489
14784139772B27   RAMIRO            SIERRA                  CO     33004731397
147843A3A33699   CHRISTINE         PAINTER                 NC     90014723030
14784546A76B33   LUIS FERNANDO     ALVARADO                CA     90013945460
1478478245B154   CASIE             LIVINGSTON              AR     90015287824
1478486347B489   NIAJIMA           BROCKINGTON             NC     90012798634
1478496234B588   KALEIGH           CLIFTON                 OK     21545939623
147853A3A33699   CHRISTINE         PAINTER                 NC     90014723030
147857A8A76B33   DAVID             JIMENEZ                 CA     90004227080
1478629A761938   REBECCA           BURROWS                 CA     46072602907
147863A2372B27   WILLIAM           TRABING JR              CO     90013213023
14786755876B33   ZEFERINA          JACOBO                  CA     90011247558
1478696897B489   OTIS              DAVIS                   SC     90013519689
1478726655B526   CHAVEZ            DOROTHY                 NM     90006712665
1478731994B588   BRANDON           KETCHUM                 OK     21509473199
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1478793775715B   CHARRIESS       MCCUTCHEON                VA     90008969377
14788552272B62   CRISTIAN        FUENTES                   CO     90012145522
14789A4165B154   CYNTHIA         CHEATHAN                  AR     90013810416
1478B359876B33   EDUARDO         JIMENEZ                   CA     90013943598
1478B553547956   JOSE            SOLIS                     AR     24004875535
1478B685476B33   TONY            GUZMAN                    CA     90014826854
1478B751551337   ALLISON         DIEM                      OH     90002747515
1478B86525B154   REOLA           JONES                     AR     23035188652
1478B969A5715B   GUISOOK         AN                        VA     90010849690
1478BA58991526   MARTHA          RODRIGUEZ                 TX     90008230589
14792913A55976   NAYELI          AYALA                     CA     90015399130
1479319A24B588   MARLAND         ELAM                      OK     90012441902
14793698172B62   YOLANDA         LOPEZ                     CO     90007786981
14793A17391569   AGUILAR         SELINA                    TX     75023620173
1479428997B489   JUAN            RANGEL                    NC     90013902899
1479465AA61958   LORAINY         GARCIA                    CA     90015156500
14794875272B27   IDALIA          DIAZ                      CO     90012248752
14794A86291569   ALMA            ROBLES                    TX     90012360862
14794A98861938   MIGUEL          ALCALA                    CA     90005760988
1479572415715B   MOSES           ROMOS                     VA     81015627241
1479595A672B27   TRAVIS          CONNOR                    CO     90013099506
14796356376B68   ADRIANA         SANCHEZ                   CA     46005233563
14796A1455B154   ADRIENNE        ALLEN                     AR     90008090145
14797657576B33   JOSE            MAURICIO PINEDA           CA     46015166575
14798538A51337   LASONYA         RHODES                    OH     66097125380
1479888894B26B   CHASITY C       COLEMAN                   NE     90013098889
1479B11265B154   SUZETTE         JONES                     AR     90013041126
1479B21154B26B   JONNIE          SCHUELKE                  NE     90002802115
1479B274691569   JOSEFINA        VELIZ                     TX     75053682746
1479B698355976   JUANCARLOS      ARVIZU                    CA     49080326983
147B112735B154   PRESTON         HARPER                    AR     90014791273
147B125A65B526   MICHAEL         PINO-FERNANDEZ            NM     90013332506
147B194284B588   MELIVIN         WOODS                     OK     90012129428
147B2677891569   ELENA           FELIX                     TX     75043016778
147B294915715B   LETICIA         HERRERA                   VA     90012519491
147B323865B59B   TYLER           SHEPARD                   NM     90004462386
147B3297A76B33   MAITE           SORIANO                   CA     90012772970
147B3952272B27   SEAN            RILEY                     CO     90010709522
147B3A76757147   EFTAKHER        AHMED                     VA     90005820767
147B415915B526   ANDREA          JONES                     NM     90005081591
147B495A491569   JAIME           CUARON                    TX     75000919504
147B531334B26B   DANIEL          DEL RELLO                 NE     26062633133
147B5522172B27   SUSANNE         WILSON                    CO     33033255221
147B5A41772B62   STEVE           HALBE                     CO     90015090417
147B5AA9791569   EYDEL           RICO                      TX     75090100097
147B6377261958   MARTHA          REYNOSO                   CA     46096083772
147B7227A33699   LEE             BENNITT                   NC     90014702270
147B72A9457147   JOSE LEONEL     CEVEDO CENALLOS           VA     90014452094
147B8381847956   DAWN            PETRAY                    AR     90007353818
147B83A6376B68   DAVID           MORENO                    CA     90015083063
147B8591647956   BRUCE           THORNTON                  AR     90015605916
147B9295672B64   SUSANA          PINEDA                    CO     90007872956
147B966424B588   DESTINY         PARKER                    OK     90013996642
147B9787891569   IRINA           COFFIE                    TX     90009727878
147BB27735715B   TERESA          JIMENEZ                   VA     90007432773
147BB6A2972B27   KOMI            KPOTOUFIN                 CO     90008076029
1481212645B526   MARSHA          LOOMIS                    NM     35003531264
1481246584B588   DONNA           PARKER                    OK     21560154658
14812535424B55   JULIO           REYES                     DC     90009045354
148126A6976B68   LUCI            LEON                      CA     90008156069
1481299457B489   REBECA          MIRANDA                   NC     90001039945
1481327279154B   VERONICA        CERVANTES                 TX     90006092727
14813491772B62   SANDRA          GONZALES                  CO     90011974917
1481365A276B33   PALEO ROSENDO   PALEO                     CA     90003696502
14813A35933647   MARTHA          DIAZ                      NC     90012040359
14814112624B7B   ARTHUR          MOON                      MD     90015341126
1481432735B526   AMBER           ORONA                     NM     90000993273
148146A2751337   GERALD          JOHNSTON                  OH     90002616027
14814A59552B55   MELISSA         DAVILA                    UT     34016930595
14815458691B43   ASHLEY          HOOPER                    NC     90014454586
1481767865B154   WILLIAMS        MITCHELL                  AR     90011086786
14817964172B27   LUIS            VENZOR                    CO     90013099641
14817A53833699   PAULETTE        SMITH                     NC     12089460538
1481818275715B   MARIA           PEREZ                     VA     90013951827
14819172476B33   JOEL            RICE                      CA     90011881724
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1481971594B588   CATRICE      THOMAS                       OK     90011107159
1481B24A931646   GARY         JENKINS                      KS     22080082409
1481B575651337   SHANICEA     BENTON                       OH     66001855756
1481B66A976B33   BEATRIZ      BLANCA                       CA     90013946609
1481B72154B588   TREY         BAKER                        OK     90005477215
14821A81955976   ISRAEL       VARGAS                       CA     90011940819
1482245745B59B   IRIS         DURAN                        NM     90010944574
14823485A91263   ANTONETTE    GLOVER                       GA     90014544850
1482444425B59B   IRIS         DURAN                        NM     90010944442
1482547A85B59B   CAMILLE      MOQUINO                      NM     90004244708
14826123176B68   SHELLEY      MCDONALD                     CA     46035321231
1482653944B26B   MARCIE       O'DOWD                       NE     26090275394
1482674A931635   HEIDI        LOGAN                        KS     90003667409
1482744845B59B   DENA         RUYBAL                       NM     36003734484
14827475172B62   MARIA        ESPARZA                      CO     33055534751
14828382A47956   JAKE         QUICK                        AR     90013733820
14829A55576B33   FRANCISCA    CRUZ                         CA     90008490555
1482B35394B588   STACIE       BASHAW                       OK     90008703539
14831182876B33   THOMAS       GASTELUM                     CA     90013151828
148318A719379B   KATHLEEN     DILLON                       OH     90013088071
14833139176B33   DUSTIN       CHARLES WOOD                 CA     46062881391
1483333625B526   BEXAIRA      ROSALES                      NM     90014333362
148339A8324B46   WILSON       SALGUERO                     DC     90009189083
1483455A391569   YESICA       BARRAZA                      TX     75084655503
1483518753B396   DORIS        ROMERO                       CO     33027991875
148352A8533B58   JUDIANNE     TASCHWER                     OH     90014122085
148356AA491578   YVONNE       RAMIREZ                      TX     90008916004
1483648A45B59B   DAVID        SALAZAR                      NM     90008204804
14836588872B62   MISTY        CASILLAS                     CO     90010565888
14837958876B33   ELENA        GONZALEZ                     CA     90014579588
14838A35491569   MARIA        ROCHA                        TX     90006590354
14839155176B68   CHRISTIAN    KOLACZ                       CA     90011451551
14839684824B7B   MERCEDES     CEPEDA                       DC     81084596848
1483BAAA672B27   JOE          ARELLANO                     CO     90014860006
14842294976B68   LUIS         LOPEZ MARTINEZ               CA     46008522949
14843314A76B33   JOSE LUIS    AGUILAR                      CA     90012793140
1484393A391584   CARLOS       MARINEZ                      TX     90010459303
1484528A34B588   FERNANDO     MARTINEZ                     OK     90005592803
1484558227B489   BRANDI       BOURNE                       NC     90008415822
148456AA661938   LOPEZ        ARCADIO MORILLON             CA     90010216006
148459A295B59B   MARTHA       TRUJILLO                     NM     36053239029
1484719A776B33   ANGELA       LOPEZ                        CA     46012881907
148475A1547956   JERRY        FRAZIER                      AR     24002985015
14847985872B27   JAYSETH      NEAL                         CO     90013099858
14849669A4B26B   NICOLE       HARDMAN                      NE     26031606690
14849942A61925   YESENIA      ZAMORANO                     CA     90008039420
1484B254361958   LUZ          GUATEMALA                    CA     90014772543
1484B658851337   DOMINIC      ADDAI                        OH     90010466588
1484B775961936   SANTINO      YOUNGBLOOD                   CA     90012137759
14851216772B62   ERIKA        GONZALES                     CO     90003062167
1485157A272B27   MARIA        SUSTAITA                     CO     90011275702
14852186276B33   ENRIQUE      CARRILLO                     CA     46091561862
148527A374B588   DESHUN       JONES                        OK     21552937037
14852A79891263   WILLIAM      LASLIE                       GA     90013360798
14853745472B64   JORDAN       BILLS                        CO     90000547454
148539A4291263   NICOLE       ROBINSON                     GA     90010779042
14853A11631687   MAHOGANY     SAUNDERS                     KS     90009380116
14854166276B33   UBALDO       PEREZ MONROY                 CA     90013951662
14854782272B27   NAKITA       BAKER                        CO     90006167822
14854782672B62   OSVALDO      MEDINA                       CO     90010247826
14855848436B28   NATALIE      PHILLIPS                     OR     90011538484
14855A3A257147   YOHANA       PALMA                        VA     90013520302
14856231276B68   PROCOPIO     MUNOZ                        CA     90007672312
148564A1531687   JOSE         ROMERO                       KS     90009574015
14857146872B62   KELLY        RAY STUNES                   CO     90008431468
1485723285715B   RONALD       SALINAS                      VA     90001862328
1485813A233B58   ERIKA        PARKER                       OH     90014131302
1485877185B154   SHARIA       HILLARD                      AR     90012717718
14859312772B62   KYLENE       VENABLE                      CO     90014803127
1485971155715B   DE LONTE     HENDERSON WOOTEN             VA     90014047115
1485B69A572B62   ANA DELIA    CERVANTES                    CO     90004146905
1486149755B526   DOROTHY      VELARDE                      NM     90014844975
14862433A61938   ANA          PEREZ                        CA     90013794330
148626AA591569   JUAN         BENAVIDES                    TX     75015706005
14863837976B33   OSIRIS       GUZMAN                       CA     90014888379
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1486542A531664   BARRY        HAYNES                       KS     22006264205
14865867A33699   JENNIFER     SOUTHERLAND                  NC     90014738670
14867A12576B33   MARIA        LOPEZ                        CA     90014410125
1486B1A9676B33   NORMA        MARTINEZ                     CA     90007401096
1486B3A5561938   STELLA       PUENTES                      CA     46005813055
1486B56324B26B   MEICHELL     HAYDEN                       NE     90015025632
1486B82994B588   JESUS        SANTOS                       OK     90013928299
1487158184B588   JESSICA      VIERRA                       OK     90015535818
14871838572B27   AHMAUD       JACKSON                      CO     90014888385
14871A37A4B26B   JACK         DIAZ                         NE     90007600370
1487211745B526   BEATRICE     GONZALES                     NM     90009441174
1487433614B26B   DAVE         ELLIS                        NE     26084313361
14875657A33699   MITCHELL     DAVIS                        NC     90010466570
148761AA55B154   APRIL        WHITE                        AR     90011201005
14876A92A91895   HEATHER      GARZA                        OK     90011970920
1487756284B588   CLAY         WEATHERALL                   OK     90015155628
1487829895715B   DAVID        SUTHERLAND                   VA     90015312989
14878829672B62   ILLIUANNA    CRUZ                         CO     90012108296
148796A474B26B   KIM          BORGAL                       NE     90006936047
1487B13724B588   JOSE         REYES                        OK     90002191372
1487B15934B26B   CORY         JOHNSON                      NE     26061151593
1487B29435715B   JOAN         RODAS                        VA     90000622943
1487B773176B68   JOSE         GACIA                        CA     46080087731
1487B825531687   STEVEN       TROSPER                      KS     22010658255
1487B997A72B27   JUAN         LOPEZ                        CO     90013099970
14882512676B68   DAVID        VITAL                        CA     46054605126
1488272635B526   MANUELA      ALONSO DELGADILLO            NM     90008367263
14882962172B27   BERNARDO     VAZQUEZ                      CO     90001589621
1488422994B26B   JUSTIN       JAMES                        NE     26044382299
148842A8776B33   WIDMIVE      CESSOUS                      CA     90013952087
1488491465B154   TONI         GOODRICA                     AR     90007509146
1488515367B489   JASON        BYRD                         NC     11065411536
1488561A776B33   EDWIN        ARGEMI                       CA     46055216107
14885913972B27   AYECHEW      AMSALU                       CO     90014459139
14885A6383B324   DANIELLE     WILLIAMS                     CO     90003750638
14886427672B62   JULIETA      BASTIDA                      CO     33086944276
14887764676B33   SILVIA       SANCHEZ                      CA     46007767646
1488879644B268   GENE         COTTON                       NE     27094337964
14888821A4B26B   JESSICA      ROUSE                        NE     26053478210
14888951276B33   MIGUEL       MENDIOLA                     CA     46061899512
14888958676B68   JOSEFINA     CONTRERAS                    CA     46051659586
1488B762391895   MARANDA      BALES                        OK     90012487623
1488B876261938   DAWN         LEWIS                        CA     46068028762
1488B96944B588   ROGER        EDMOND                       OK     90012269694
14891527672B27   GREGORIANA   OLIVAS                       CO     90013895276
1489154779377B   JASON        CUNDIFF                      OH     90010325477
14892485472B62   JASON        JHOA                         CO     90009404854
14892635A91569   NOE          LABRADO                      TX     90013966350
1489296525715B   VICTROR      VILLEGAS                     VA     90013309652
148934A5772B27   DANIEL       GONZALEZ                     CO     33095894057
14893583A7B323   RAQUEL       TAVARES                      VA     90003115830
14893A69576B68   MARIBEL      LABRA                        CA     90002360695
148942A7A51337   NINA         BROWN                        OH     90012902070
14894615272B77   CHRISTINA    DOZAL                        CO     33015946152
1489478595B526   GILBERT      SANTISTEVAN                  NM     90013497859
14895193772B27   RUBEN        MEDINA                       CO     90011501937
1489532595B154   SHERRI       THOMAS                       AR     23059893259
14895379A33699   GRACIE       SULLIVAN                     NC     90014743790
14895A5155B526   JAMES        HARVEY                       NM     90014270515
14897A4A97B489   TAWANA       HOOD                         NC     90008840409
14898319872B62   FELIPE       MORENO                       CO     33037923198
1489838155715B   TRINIDAD     CRUZ FUENTES                 VA     90013963815
14898398A76B33   JESUS        GARZON                       CA     90013173980
14899181176B33   FREDDY       MENDOZA                      CA     46095791811
1489964A972B62   BIANCA       GAYTAN                       CO     90014176409
14899A65A72B62   CARLOS       BALDERAS                     CO     90012580650
14899A76357147   NORMA        TURCIOS                      VA     90005150763
148B19A2155976   ARACELIA     DELACRUZ                     CA     90015269021
148B2694A4B588   JESUS        TRINIDAD                     OK     90009366940
148B2858891895   JOANN        RHINE                        OK     90012838588
148B2964976B33   SANDRA       MILENA                       CA     90006419649
148B32A3247956   RICHARD      CORDEIRO                     AR     90015582032
148B3614676B68   AMY          WHISTSON                     CA     90011046146
148B377A77B489   LONNIE       LEAK                         NC     90013467707
148B38A3572B62   CHRISTINA    ELDRIDGE                     CO     90001198035
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148B4A59176B33   JOSE          JIMINEZ                     CA     46062610591
148B5784476B33   ROBERTO       PEREZ                       CA     46005567844
148B6314A76B33   JOSE LUIS     AGUILAR                     CA     90012793140
148B6528261958   AYDEE         PALMEROS                    CA     46075185282
148B6914533699   DANNEIL       DAVIS                       NC     90014729145
148B729165715B   SAMUEL        MARISCAL                    VA     90014892916
148B7416272B62   MARIO         ESPINOZA                    CO     90013084162
148B7621372B27   ANA           RODRIGUEZ                   CO     90011186213
148B862954B588   LUMANUEL      SMITH                       OK     21552956295
148B867148B164   SALVADOR      MARTINEZ                    UT     31090596714
148B933485B526   ANDREW        ELLIS                       NM     35089453348
148B983A347956   HELEN         MASSEY                      AK     90013578303
148B9848455976   NOE ANTONIO   CHICAS                      CA     90008918484
148BB63552B958   ALBERTO       VASQUEZ                     CA     90003346355
148BB96345B154   MARLA         HARRISON                    AR     90014499634
148BBAA675B389   SANDRA        COLBERT                     OR     90012840067
1491347144B588   MARGIE        BRUNER                      OK     90002604714
14914818972B62   RUBI          TALAVERA                    CO     90012828189
1491586854B588   TRAIKEL       CHRYSTAL                    OK     90014758685
14915A5987B428   JOSE          REYES                       NC     11089500598
14916688372B27   DEBORAH       LANDRUS                     CO     90014566883
14917336A57147   KARLA         DIAZ                        VA     90011543360
149174A8191569   JUAN          ROSALES                     TX     75025374081
1491776A15B154   AMERICO       AMAYA                       AR     90015087601
14918178A72B62   AMANDA        PREWITT                     CO     33091471780
149182A8255976   ANNA          ALVAREZ                     CA     49001392082
14918498A5715B   MARIA         URREA                       VA     90012894980
1491892125B154   DURANNA       MASON                       AR     23074699212
1491918838B166   TYLER         HOLMES                      UT     31019271883
1491B196276B68   ROSA          CALCANEO                    CA     90010841962
1491B287172B34   GONSALO       GALVAN                      CO     33002412871
1491B362891895   TANERA        WILLIAMS                    OK     90013073628
1491B6AA176B33   JESSICA       PULIDO                      CA     90012416001
1491B98715413B   YESICA        CORTEZ                      OR     90015369871
1492193385B53B   VICTORIA      OLIVAS                      NM     35064539338
14921A99372B62   CORY          MILLER                      CO     90013380993
14923492A4B588   TRACY         WHITTHORNE                  OK     90010224920
14924339A72B27   SHANE         HORTON                      CO     90002713390
14924A25572B62   JASMINE C     KROUCH                      CO     90015200255
1492564A67B489   JASMINE       ALEXANDER                   NC     90011016406
14927233424B55   WALTER        GONZALEZ                    VA     90014252334
14927428172B62   JEOVANI       GONZALEZ                    CO     90010334281
1492757A176B33   JUAN DANIEL   PACHECO RAMIREZ             CA     90013955701
149288A414B588   SUZETTE       HOPKINS                     OK     21583438041
149291A7461938   PRISCILLA     BRIGHT                      CA     90014761074
149296AA661938   LOPEZ         ARCADIO MORILLON            CA     90010216006
14931586176B33   DAMIAN        VELASCO                     CA     90013955861
149318AA191569   CHRIS         GARCIA                      TX     75039218001
1493265A67B489   JAVIER        FUERTE                      NC     90013796506
1493325774B26B   MIKE          HOPKINS                     NE     90002962577
1493344A176B33   BEATIZ        AGUILAR                     CA     90010214401
14933558A33699   NORMA         HERNANDEZ                   NC     12005915580
1493358325B399   SANDRA        DAVIS                       OR     90010695832
14933A2A593767   STACEY        GORDON                      OH     90013750205
14933A9724B588   MARTHA        PARDO                       OK     90013960972
14934934372B62   BARBARA       ODONNELL                    CO     33098789343
14934A95272B27   GALE          NOWLAND                     CO     33070430952
1493545934B26B   MOLLY         SMITH                       NE     90008954593
149359A2661958   JESSE         KLINE                       CA     90008549026
149365A1791895   ERIK          DIAZ                        OK     90011975017
14936667772B62   JONATHAN      BARRERA                     CO     90012166677
14936A55376B33   DIANA         OSORIO                      CA     90013660553
14937333A31687   MATTHEW       GILMERE                     KS     22093603330
14939146772B27   CATHERINE     HOLGUIN                     CO     90014121467
1493952922B857   BEATRIZ       CHAVES ORTIZ                ID     90014665292
1493958325B399   SANDRA        DAVIS                       OR     90010695832
1493962A257147   THEOPHILUS    DANQUAH                     VA     81032526202
14939821A91569   GUADALUPE     VARGAS                      TX     75028388210
14939A1927B489   CHRISTOVER    ESTRELLA                    NC     90013370192
14939A62161938   ADELA         DUARTE                      CA     46072640621
1493B155491569   BEATRIZ       GALVAN                      TX     90013941554
1493B42A172B62   EVELYN        ARCHULETA                   CO     90004434201
1493B57424B26B   SHAD          MCROBERTS                   NE     90015145742
1494124425B59B   SUSAN         ROSEBERY                    NM     36004842442
1494153295B526   TRICIA        ARMENDARIZ                  NM     35099165329
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14941812A4B588   CHANCE            RALLS                   OK     90015108120
1494241854B26B   JESHENA           GOLD                    NE     90014814185
14942846276B68   ESBEYDY           ZAVALA                  CA     90011118462
14942A3685B59B   FRANCES           ARELLANO                NM     36065050368
14942A37991524   ELIZABETH         MONROY                  TX     90012210379
149435A5351337   DERRICK           FARELL                  OH     90011955053
1494481A361938   EVA               DEES                    CA     90009528103
14945A92791569   ARON              REYES                   TX     90013120927
1494616114B588   ISABELLE          SIETE                   OK     90010821611
14947483576B68   JANIRA            ROBLES                  CA     90014454835
1494774757B489   KAITAH            GBARBEA                 NC     90013017475
1494799AA4B588   ARRIAL            LAWRENCE                OK     90011049900
14948611876B33   DANIEL            ARREOLA                 CA     90012096118
1494963A95B154   ROOSEVELT         HARRIS                  AR     90013506309
14949897876B33   FRANCISCO         RAMOS                   CA     90000558978
1494B298424B7B   LINUS             TIBUI                   VA     90003932984
1494B568872B27   MARY              CARTER                  CO     33089335688
1495112A472B62   INES              ALVAREZ                 CO     33012901204
14951236A5B59B   DANIEL            PADILLA                 NM     90012372360
14951397272B27   SOUCEK            MARK                    CO     90011593972
14954474972B62   LATEEF            HODGE                   CO     33039804749
149556A2361958   PATRICIA          PEREZ                   CA     90012636023
1495591AA5B154   BRANDON           MONTEGOMRY              AR     90014909100
1495619435B526   HOLGA             LOPEZ                   NM     90012041943
1495697655B154   DOMINIQUE         HESTER                  AR     90003219765
14957A26872B27   MARCOS SANTONA    RIVAS                   CO     90013100268
14957A98572B62   CYNTHIA           SANCHEZ                 CO     33098070985
1495877675715B   XINA              AMURRIO                 VA     81084787767
1495895463B394   JUAN              BISHOP                  CO     33061169546
14959355A57147   CLAUDIA           FUENTES                 VA     81091983550
1495B976424B55   THOMAS            SUMOWALT                VA     81016819764
14962A71891569   VALERIE           FLORES                  TX     90002890718
1496312877B489   JOHNNY            EVANS                   NC     90007211287
14963427676B33   JULIETA           SIORDIA                 CA     90007334276
14963A3A172B27   DENISE            RUIZ HERNANDEZ          CO     90013100301
14964852172B62   PEDRO             CORTES                  CO     90004888521
1496488495B526   MARIANA           SANDOVAL                NM     35043358849
14964A89876B33   JOSUE             ACCITUNO                CA     90007160898
1496556234B26B   SELENA            HENJES                  NE     90007605623
1496571564B588   RASHEDA           EHOBO                   OK     90006667156
1496644594B588   MARY              HARPER                  OK     90014664459
14966558A61958   AMALIA            HERNANDEZ               CA     90009625580
1496683314B52B   LUCRETIA          MCKINAEY                OK     90001128331
14967798576B68   ROSA              LOPEZ                   CA     46010157985
1496957224B26B   MATTHEW           ETHRIDGE                NE     90013155722
14969958876B33   ELENA             GONZALEZ                CA     90014579588
1496B2A5861958   OUCH              SOPHAY                  CA     90007912058
1496B576A72B62   DARIEN            MOLINA                  CO     90001635760
1497134924B26B   DANIEL            ZEIGER                  NE     26091603492
14971651376B33   STANLEY           ARAI                    CA     90013956513
14971AAA557147   NICKOLAS          SEARS                   VA     90012320005
14972258A55976   RAMIREZ           MARIA                   CA     49089942580
14972749772B27   RONTRIE           MOORE                   CO     33049527497
1497469655715B   FRANCIS           AGYAPONG                VA     90014056965
1497496A84B26B   JESSICA           MCBRIDE                 NE     90014569608
14975A72641284   REBECCA           LAIRD                   PA     51076050726
149763A3261938   MAGDALENA         MEZA                    CA     90010003032
14976478A3B33B   DENISE MICHELLE   WHITE                   CO     90010094780
1497785155B526   ANGEL             ATENCIO                 NM     35001928515
14978264276B33   LIZ               WOLFF                   CA     46029772642
149792AA24B26B   CHAD              PARKER                  NE     90007012002
1497981355B154   JOSEPH            TUCKER                  AR     90013468135
1497B22864B26B   BRYAN             CHRISTIANCY             NE     26031582286
1497B89622B273   SAMUEL            GREENE                  DC     81064128962
14981996876B68   IVETTE            CORONA                  CA     90011379968
14981A77485932   CAROL             CLEMENS                 KY     90007770774
14981A97571976   PEDRO             ALDANA                  CO     90007790975
1498311A457147   BRENDA            ESTRADA                 VA     90004341104
1498329374B588   ERIKA             CARCAMO                 OK     90001842937
1498333346192B   JEFF              EXNER                   CA     46042453334
1498377477B386   FRANCISCO         CONTRERAS               VA     90002057747
149841A7633699   DAVID             LOPEZ                   NC     90014771076
1498459A74B26B   CYNTHIA           WARE                    NE     90014865907
149856A8431943   MARIA             GARCIA                  IA     90015046084
1498615A893725   TASHINA           FUDULOFF                OH     90003821508
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149863A2272B62   LEANN              LOPEZ                  CO     90007353022
14986A29A55933   VICTOR             RIZO                   CA     90014140290
14986A77255976   HUMBERTO           HERNANDEZ              CA     90014530772
14987122A72B27   ERICA ELIZABETH    MEDINA                 CO     90013781220
14987667A76B33   MARTIN             SANCHEZ                CA     90013966670
14987A1874B26B   LISA               WOLFE                  NE     90001970187
1498921227328B   ANDRZEJ            KOWALSKI               NJ     90015162122
1498946635715B   BAMBI B            COATES                 VA     90013314663
14989A4A761938   RUBEN              PEREZ                  CA     90006560407
1498B628955976   AIOTEST1           DONOTTOUCH             CA     90015116289
1499149A291899   ROXANA             VARGAS                 OK     21069704902
1499171225715B   DIANE              LAWSON                 VA     90009067122
149921A7A9192B   SHANIECE           INMAN                  NC     90001471070
14993AA6247956   LETICIA            BUSTER                 AR     24044100062
149944AA133B43   NATE               MCDONALD               OH     90014134001
1499484A75B526   HEIDI              MUNOZ-DOMINGUEZ        NM     35005218407
1499546A672B27   ALISSA             ROUNDTREE              CO     90011094606
149954A6A8B832   SHANENA-MICHELLE   LINO                   HI     90014654060
14995746472B62   NOREEN             MCCREA                 CO     33085317464
149957A265B526   VICTORIA           NORTON                 NM     35041917026
14997251372B37   CYNTHIA            LOPEZ-HERNANDEZ        CO     90000642513
1499772A391895   FELICIA            PRICE                  OK     90011977203
14997992A72B62   BLANCA             TORIBIO                CO     33022789920
1499B35865715B   ENCANACION         GUZMAN                 VA     81074573586
149B16A2491263   TILWANA            BARNWELL               GA     90001246024
149B16A825B154   KATRINA            YORK                   AR     90013366082
149B1869133699   KATHLEEN           JOHNSON                NC     12004808691
149B1A51761958   CLAUDIA            ALEJANDRA              CA     90009790517
149B1A65A61958   CLAUDIA            GARCES                 CA     90012960650
149B2189291263   JENNIFER           DAVIS                  GA     90012901892
149B2625691549   MARIA              SOLORZANO              TX     90003936256
149B2698355976   JUANCARLOS         ARVIZU                 CA     49080326983
149B276495715B   MARIA              RIVERAS                VA     90010357649
149B277847B489   KIARA              ROBBINS                NC     90010657784
149B2A2984B26B   SARA               HANSEN                 NE     26031500298
149B3A42572B62   JODENE             SHERWOOD               CO     33075990425
149B473234B26B   RESHELL            RAY                    NE     26080967323
149B4741576B68   JAMIE              DEBOLD                 CA     46018147415
149B4A99491895   ANDREW             LEADER                 OK     21002160994
149B5189972B27   TERESITA           DELAFUENTE             CO     33048181899
149B5363291895   EVAN               DICK                   OK     21003193632
149B562282B262   APRIL              BARNES                 DC     90012716228
149B562A972B62   LOURDES            RIVERA                 CO     90005376209
149B5713291569   FRANCISCO          CHAVEZ                 TX     75035457132
149B618834B26B   ANNISSA            KNIESTEADT             NE     90013581883
149B6677951337   ANDREW             GOSSETT                OH     90010056779
149B6A56547956   ALEXANDRO          BURCIAGA               AR     90005380565
149B733A951337   DEMETRIUS          LAIL                   OH     90015123309
149B7563776B33   CLAUDIO            ARENAS                 CA     90000825637
149B8398A76B68   JARVIS             WASHINGTON             CA     90009263980
149B8426172B62   CARLOS             DOMINGUEZ              CO     33053214261
149B845575715B   OSCAR              PADILLA VALERIANO      VA     90008274557
149B846423B394   ELIZABETH          STEVENSON              CO     33093944642
149B8757161958   CASTILLO           SANCHEZ                CA     90013197571
149B894A65B526   EMMIE              RODRIGUEZ              NM     35055199406
149B9499376B33   MARIA              ZAMORA                 CA     90013954993
149B9A94972B27   MARIA              NAVA                   CO     90013990949
149BB529141384   COURTNEY           BENHAM                 MA     90014245291
149BB79A376B68   JESSE              RAMIREZ                CA     90011117903
149BB853831687   DOROTHY            MAHON                  KS     90012638538
14B1125775B526   BARBARA            MARQUEZ                NM     90015202577
14B11498461938   CANDACE            JOHNSON                CA     90013664984
14B11511891569   ANNALICIA          QUINTANA               TX     75062835118
14B1242687B373   PARUL              JAIN                   VA     81073844268
14B12A3625B59B   PHILLIP            JOHNSON                NM     90013280362
14B13318291569   GILBERT            VELASQUEZ              TX     90009493182
14B1351A957147   RICHARD            STAGGERS               VA     90013915109
14B1353463B122   JUAN               MIRANDA                VA     90008645346
14B13A21572B27   BRANDON            GASAWAY                CO     90013090215
14B1497195715B   ANGELA             GALEASI                VA     90007779719
14B14A8954B588   AMBER              GLASS                  OK     90014730895
14B1512AA4B588   JESSIE             GAROUTTE               OK     90015371200
14B153A654B588   AUSTIN             LARRY                  OK     90011203065
14B15548961938   MARIA              JULIA                  CA     90010745489
14B15673547956   RANDALL            HINTON                 AR     24056506735
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14B15782191263   SHONDA             ORR                    GA     14570687821
14B1651446192B   YVETTE             MAGANA                 CA     46064365144
14B16579376B68   GUILLERMO          SANDOVAL               CA     90014185793
14B1725155B154   SHARON             CORNICE                AR     90011902515
14B1737AA7B35B   LUCY               PEREZ                  VA     81055603700
14B17651633699   JUMART             KELUBIA                NC     12011456516
14B17959947836   EPHARIAM CHARLES   PEEK                   GA     90003809599
14B18139591573   JOSE               JUAREZ                 TX     90011991395
14B18615533699   ELIZABETH          THOMAS                 NC     90014166155
14B18663791895   LEANNE             DAVISON                OK     90005056637
14B18876755976   CESAR              MARQUEZ                CA     49080918767
14B18983991899   JOSEPH             COOPER                 OK     90013489839
14B189AA57B489   AMBER              OUTLAW                 NC     11009769005
14B18A5587B489   APOLINAR           SOSA                   NC     90012220558
14B18A6A676B33   LUIS               RAMIREZ                CA     90014870606
14B18A72461958   MELISSA            AVERELL                CA     90013450724
14B19146891569   LAURA              RODRIGUEZ              TX     90005031468
14B19479A7B489   JASMINE            PRICE                  NC     90001874790
14B19645655976   JENNIFER           LARA                   CA     49042706456
14B19954261938   SEAN               NEALY                  CA     46057929542
14B1B176376B33   DANIELLA           CALDERON               CA     90013501763
14B1B61A52B227   LATEYIA            GASTON                 DC     90009656105
14B1B717555976   ANA                LAMAS                  CA     90005977175
14B2118A757147   CHRISTIAN          KOUER                  VA     90013001807
14B2275445B154   KARA               PARSLEY                AR     90011107544
14B2337A94B576   EUGENE             BROWN                  OK     90010393709
14B2364555715B   PHIL               ABISOGNIO              VA     90013036455
14B2375695B59B   CRYSTAL            CATANO                 NM     90013077569
14B24417A5715B   CHRIS              CLOUDEN                VA     81020194170
14B24429476B68   CAMERON            MITCHELL               CA     90008304294
14B24587661938   TRINIDAD           AVILES                 CA     90005925876
14B2569475B526   GREGORIO           RANGEL                 NM     90015206947
14B2595692B85B   WHITNEY            LEAVITT                ID     90014899569
14B25AA615B59B   ORWIN              JANICE                 NM     90015350061
14B26418147956   CYLINDA            MERRILL                AR     24043954181
14B26445531635   MICAH              MALM                   KS     90005844455
14B26635724B55   NORA               GARCIA                 DC     81094036357
14B266A8684399   MONIQUE            EDWARDS                SC     90014286086
14B26787A7B489   DAMON              CRAWFORD               NC     11016987870
14B26829433B95   MYA                IRIZARRY               OH     90014178294
14B27826661938   MARIA              VEGA                   CA     46077598266
14B27A6495B59B   PHYLLIS            HERRERA                NM     90014650649
14B2823645B59B   SANDRA             VEGA                   NM     90014612364
14B28314261938   PATRICIA           ELLIS                  CA     46076273142
14B28857931687   OMAR               GARCIA CHAVEZ          KS     90008968579
14B28985647956   BRODY              HARPER                 AR     90014299856
14B28A1577B489   BRIAN              THOMAS                 NC     90015020157
14B29455451337   DANIELLE           OWSLEY                 OH     90015444554
14B29458661958   YVONNE             SOTO                   CA     46008764586
14B2B476A76B68   ROSA               GARCIA                 CA     90014704760
14B2B54945B59B   FREDDY             ROMERO                 NM     90014555494
14B2B815791927   WILLIAM            WOODRUFF               NC     90006548157
14B2B92145715B   EDITH              TORRES                 VA     81020189214
14B2BA28691885   EDIE               MARTINEZ               OK     90011960286
14B31225561938   JOSELITO           DE JESUS               CA     90014722255
14B31254855976   MARY               YRACEBURU              CA     49083122548
14B3126985B59B   ARCHIE             TRUJILLO               NM     90008922698
14B31395676B68   LAURA              AGUILAR                CA     90014753956
14B31523976B68   ANTONIA            ZAMORANO               CA     90014735239
14B317A7A5B154   DM                 JARRETT                AR     23033037070
14B31947A7B489   SANTINA            SANDERS                NC     90012979470
14B32488876B68   SOCORRO            SANTIAGO ESPINOZA      CA     90012754888
14B32815655936   JASON              WEB                    CA     90013948156
14B3361278B179   SCOTT              LEE                    UT     90010516127
14B3456895B59B   DANIEL             DUARTE                 NM     90012185689
14B34764372B27   DANTE              MARTINEZ               CO     33093437643
14B35336791263   ALFONZO            MILLER                 GA     90008283367
14B35466276B33   MARIA              JIMENEZ                CA     90013094662
14B35557957147   EDGAR              RAMIREZ                VA     90012015579
14B3586285B59B   CHRISTOPHER        LAW                    NM     90010558628
14B3625485B154   SHAKEELA           CUSHMEER               AR     90008052548
14B36265A91569   MANUEL             RODRIGUEZ              TX     90014802650
14B36555291263   LATONYA            GADSON                 GA     14581125552
14B366A224B588   LAKEISHA           SPADY                  OK     90014676022
14B37473691895   JEANETTE           KING                   OK     90013824736
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14B37658876B68   NOE           RESENDIZ                    CA     90004286588
14B3772965715B   GRISEL        CRUCES                      VA     90015117296
14B3772A961938   MARILYN       BOGAN                       CA     90011947209
14B377A7884329   JASMINE       GRANT                       SC     90012587078
14B3785765B59B   LOLA          DIVASO                      NM     90014658576
14B37956891895   EARLYN        BARBEE                      OK     90014589568
14B3873815715B   AGAPITO       MEDRANO CASTRO              VA     81038797381
14B3882537B489   OK            PRODUCTIONS                 NC     90013978253
14B38864861958   VAZQUEZ       RICARDEOO                   CA     90008798648
14B39169761938   SAUL          CANELA                      CA     90010361697
14B39391776B33   JUAN CARLOS   ROMERO                      CA     90013233917
14B39643576B68   JOSELINE      ZAMORA                      CA     90010946435
14B39A57155976   SHARLA        DEVOLD                      CA     49087830571
14B39A83672B62   BARBARA       MC NABB                     CO     33037380836
14B3B372961938   GARY          JOHNSON                     CA     46022543729
14B3B456891263   LAKEESHA      MANN                        GA     90013584568
14B3B773A33625   SHALON        CHATMAN                     NC     90005227730
14B3B896357147   MARGARITA     AREVALO                     VA     90004488963
14B41517A72B95   CESAR         PAREDE                      CO     90012005170
14B419A5172B37   ANTHONY       SANCHEZ                     CO     33076229051
14B42186A9379B   ERIC          ZIMMERMAN                   OH     90005691860
14B42193691569   MARIA         TORRES                      TX     90011891936
14B42312824B7B   JOHN          WILSON                      DC     90010373128
14B42764676B33   DORALINA      ROBLERO                     CA     90008517646
14B439A4747956   CRAIG         MULLENS                     AR     90013779047
14B44218391263   EDGAR         SMITH                       GA     90014462183
14B44246A91569   DAVID         SAMBRANO                    TX     75042472460
14B44368551337   CHRIS         TEMPLETON                   OH     90000133685
14B44A8A676B68   JESUS         GARCIA                      CA     90013090806
14B45742561958   SALOME        PELAEZ                      CA     90012247425
14B4596334B26B   SKYE          CALLOWAY                    NE     90011309633
14B45A23972B27   NICOLE        PALMER                      CO     90013090239
14B4662365B59B   GARY          GREGOR                      NM     90012356236
14B4683445B59B   KAYLA         LUCERO                      NM     90013328344
14B47115272B29   RAFAEL        SANDOVAL                    CO     90012991152
14B47225A72B62   DAN           MEZA                        CO     33049012250
14B47255351337   TYROAN        KENT                        OH     90001932553
14B47516651337   LASHAUNDA     DENNY                       OH     90011475166
14B47A73833699   SHANNON       TUTTLE                      NC     90014050738
14B48358572B62   MICHELLE      DVURAK                      CO     90014753585
14B49195A61958   RAUL          MEDINA                      CA     90009061950
14B4921A972B37   VERONICA      LOPEZ                       CO     90012502109
14B49381955976   MARIA         IRVING                      CA     90000913819
14B493A8791899   RANDY         GRAVES                      OK     90013483087
14B49485376B33   FELIPE        ORTEGA                      CA     90003774853
14B4975966193B   ALEJANDRO     DELATOBA MAESTRE            CA     90013387596
14B49968791895   JUDY          GRIGG                       OK     21039869687
14B4998593146B   WILLIAMS      JACKSON                     MO     27540259859
14B4B199861938   DOLORES       MONTANO                     CA     90006941998
14B4B34417B489   YVONNE        ELINGA                      NC     90012643441
14B5198599373B   THEODORE      DENSON                      OH     90011469859
14B51A9A776B68   OMAR          VALENTIN                    CA     90013090907
14B52111461938   ELIJAH        VIGIL                       CA     90013961114
14B52521876B33   UBALDO        PEREZ MONROY                CA     90013245218
14B52877691263   AMBER         CARPENTER                   GA     14590888776
14B52A81976B33   MARTIN        WILLIAM MORALES             CA     90010960819
14B52A97631687   SHAUNTALE     WILLIAMS                    KS     90009200976
14B52A98172B27   CLAUDIA       MIRAMONTES                  CO     33085620981
14B52A9A776B68   OMAR          VALENTIN                    CA     90013090907
14B53368551337   CHRIS         TEMPLETON                   OH     90000133685
14B53531676B33   GUSTAVO       MENDOZA                     CA     90013245316
14B5356114B26B   KAREN         BRYANT                      NE     90014685611
14B53A34191526   IVONNE        ESPINOZA                    TX     90002100341
14B54156576B68   ALFONCE       LOPEZ                       CA     46001651565
14B54365A91569   HECTOR        FLORES                      TX     90013893650
14B5485765B59B   LOLA          DIVASO                      NM     90014658576
14B559A9A51337   ASHLEE        BOOKER                      OH     90015589090
14B56246A91569   DAVID         SAMBRANO                    TX     75042472460
14B57332957147   MARIA         GARCIA                      VA     90012723329
14B575A245B154   FIDENCIO      MAYA                        AR     90013555024
14B57649291569   IVAN          DE LA RIVA                  TX     90005236492
14B57842376B33   VIRIDIANA     GALINDO                     CA     90005758423
14B58217791569   JAVIER        VASALLO                     TX     90002672177
14B58267361958   MEREYA        ARELLANO                    CA     46065552673
14B5855135B154   MELODY        BRANCH                      AR     90014725513
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14B58676731635   SAMEKA           CROSBY                   KS     90005846767
14B58985647956   BRODY            HARPER                   AR     90014299856
14B59394191899   MARK             FISHER                   OK     90011193941
14B5952A891895   STEVEN           GARY                     OK     21089585208
14B59678A5B526   MICHEAL          HERRERA                  NM     90002796780
14B59A12733699   JEFFREY          HICKS                    NC     90014180127
14B5B271272B27   JESSICA          SLAGEL                   CO     90013102712
14B5B736491569   RIOS             DANNY                    TX     90013937364
14B6125A333699   FLORA            CLARK                    NC     90014862503
14B61676731635   SAMEKA           CROSBY                   KS     90005846767
14B61967157147   ROBERTA          CAMPBELL                 VA     81069199671
14B61A38672B27   OMAR             GONZALES PADILLA         CO     90013090386
14B6237215B154   JENNIFER         LEWIS                    AR     90008053721
14B62812161938   PATRICK          MURPHY                   CA     90013448121
14B629A2372B27   LENA             RAIBON                   CO     33058219023
14B63632876B68   YETNALETZIL      HERNANDEZ                CA     90014186328
14B64398A55976   SURJEET          SEINGH                   CA     90013593980
14B644A465B154   DAVID            GARRY                    AR     90008924046
14B64522576B68   PAUL             TRAUSCH                  CA     90013245225
14B65678491524   AURORA ELIZETH   FIGUEROA                 TX     90007086784
14B66131476B68   STEVEN           SHARP                    CA     90013091314
14B66244557147   JEFF             YOUNGER                  VA     90010632445
14B66544776B68   CAROLINA         NAVA                     CA     90013155447
14B6657735B526   JOSE             TELLEZ                   NM     90007085773
14B66A51872B27   NAOMI            ORONA                    CO     90014070518
14B67269172B62   NORMA            OROPEZA                  CO     33083032691
14B6727864B588   KATAIRNA         RAINES                   OK     90013292786
14B67923147956   MARISSA          SANCHEZ                  AR     90010459231
14B67991461938   JOSE             AMEZCUA                  CA     90011569914
14B67A57155976   LEO              FLORES                   CA     49076620571
14B6811535B154   QIANA            ROBERTS                  AR     90012461153
14B6824447B489   STEPHEN          DOLNIAK                  NC     90014962444
14B6833887B489   STEPHEN          DOLNIAK                  NC     90012623388
14B68415261938   ANDREW           LOPEZ                    CA     90013034152
14B6848894B588   KEVIN            WILLIAMS                 OK     90013314889
14B68556457147   YOLANDA          VILLALTA                 VA     90012995564
14B6858375B59B   AMARA            GARCIA                   NM     90014785837
14B6881235715B   DONALDO          BUESO                    VA     90013938123
14B6896557B489   STEPHEN          DOLNIAK                  NC     90013359655
14B68A9A233699   DEXTER           GIBSON                   NC     90014180902
14B69379591263   LARENZO          WILLIAMS                 GA     90013823795
14B69A87457147   ISTMENIA         MORALES                  VA     90012880874
14B6B51165715B   YESSENIA         CARDOSO                  VA     90014135116
14B6B895647956   ROSA             RODRIGUEZ                AR     90013628956
14B6B912591895   JODY             TAYLOR                   OK     90013139125
14B6B924455976   FABIAN           OLVERA                   CA     90006709244
14B6B938857147   BRENDA           MUNOZ                    VA     90015069388
14B6B998981539   KELSIE           POWELL                   IL     90014359989
14B7137485B154   FLORENTINO       ESTRADA                  AR     90013273748
14B71575491569   DAVID            RODRIGUEZ                NM     90013965754
14B72636876B68   EVA              PACHECO                  CA     90014186368
14B72964472B62   CARLOS           GOMEZ BARRON             CO     33011489644
14B73161157199   JONATHAN         GUEVARA                  VA     90006151611
14B7322A49196B   JOANN            INGOGLIA                 NC     90007122204
14B73311276B68   DAVID            CHANES                   CA     90006303112
14B73582291899   JACOB            HARSHA                   OK     21032005822
14B73AA524B26B   SAVANNAH         CZOLGOS                  NE     26040560052
14B74415791263   SARA             STRINGER                 GA     90010264157
14B75163961938   DENA             LONG                     CA     90012361639
14B75284491569   ELVIRA           BARRAZA                  TX     90004962844
14B7589435B526   AMBER            GARCIA                   NM     35004458943
14B75A93147956   TASHARA          THOMAS                   AR     90012700931
14B76213833699   JONI             DORMAN                   NC     12058642138
14B763A585B59B   RICO             LOPEZ                    NM     90011393058
14B7655217B489   SHANICE          CROWLEY                  NC     90013315521
14B7732555B59B   JESSICA          TREVISO                  NM     90011173255
14B773A7847956   RANDALL          WILLIAMS                 AR     90010143078
14B77553491899   TIMOTHY          MORREN                   OK     90013485534
14B77577591263   THOMAS           MARTIN                   GA     90011975775
14B776A145B526   ASHLEY           AYALA                    NM     90005536014
14B779A2847956   DEBORAH          RUTH                     AR     90013009028
14B78337455976   DELPHENE         DUPREE                   CA     90014183374
14B7865615B59B   SUSANA           HERMOSILLO               NM     90014786561
14B79221291263   JEROMNE          ANDREWS                  GA     90014382212
14B7955745B526   ERIC             CONTRERAS-RETANA         NM     90012475574
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14B79675557555   CARA         FULLER                       NM     90005426755
14B79843355976   LEE          VANG                         CA     49068788433
14B7999614B588   JAN          FIKE                         OK     21597869961
14B7B117657147   MOHAMMED     MAHMI YAKUBU                 VA     90001901176
14B7B555891964   LOLITA       BUTLER                       NC     90007985558
14B81529A33699   SAMANTHA     JONES                        NC     12003055290
14B81531572B62   BIANCA       SANCHEZ                      CO     90014595315
14B81575361958   RAFAEL       LAZO                         CA     46075055753
14B8158865715B   ALBERTO      VALENCIA                     VA     81089565886
14B82316961938   LISA         JONES                        CA     90013823169
14B8256A255976   JOEL         GOMEZ                        CA     90012185602
14B82715176B68   CECILIA      ARRIOLA                      CA     90014187151
14B83451572B62   ELOY         ENRIQUEZ                     CO     90014994515
14B83671361984   CONSUELO     RODRIGUEZ                    CA     46012796713
14B83885461958   GUSTAVO      MENDOZA                      CA     90014518854
14B8456295B526   FIDEL        AVILA-LOZANO                 NM     35007055629
14B85222491569   GLORIA       NAVARRO                      TX     75059992224
14B85729172B62   ERIC         STORRS                       CO     33029717291
14B8578655715B   CARLOS       ARMANDO                      VA     81020277865
14B8627965B526   BONNIE       SPECTER                      NM     90010262796
14B86511591B38   TTANISHA     SANFORD                      NC     90015045115
14B86A38472B27   JENNY        ESTRADA                      CO     33032200384
14B87587757147   MARCOTULIO   CANO                         VA     90001275877
14B87666957147   EDDY         TAMES                        VA     81039036669
14B8829995B59B   CELINNA      BORREGO                      NM     90010752999
14B88867447956   SONJA        HIGH                         AR     24010368674
14B8B939576B33   NANCY        MARTINEZ                     CA     90012999395
14B8B965455928   LUIS         MEZA                         CA     90010349654
14B91135376B68   ERIKA        FLORES                       CA     90013091353
14B9147A65715B   JARLIN       LOPEZ                        VA     90000824706
14B92484A57125   OLIVIA       ZENDJA                       VA     90000684840
14B92576947956   KEITH        ANDERSON                     AR     90010975769
14B92A65991836   STUART       MEYER                        OK     21070540659
14B93328376B33   MARIO        VELASO                       CA     90001873283
14B93595524B55   MAURICIO     FLORES                       VA     90003765955
14B9387924B26B   RAMONE       ERVING                       NE     90014028792
14B9437A831687   KIMBERLY     MITZEL                       KS     22012913708
14B94579261938   RUBEN        ANTUNEZ                      CA     90007415792
14B94618847956   DENNIS       COUGHRAN                     AR     90010976188
14B95199A91569   MARCOS       MADRID                       TX     90011131990
14B95393291895   BROWN        LATRECIA YVONNE              OK     90013703932
14B95556933699   JILL         FALLS                        NC     90014715569
14B9594837B489   SHARON       GRISSON                      NC     11082269483
14B95A28151337   HOWARD       JONES                        OH     90008860281
14B95A8433B334   VERONICA     CONTRERAS                    CO     33066040843
14B96388991569   NORMA        TOSCANO                      TX     90004403889
14B96617741276   EDWARD       NIEDBALA                     PA     51065316177
14B96A86272B62   MICHAEAL     CHAPMAN                      CO     33008300862
14B971A4161938   MYRNA        GUILLINS                     CA     46022871041
14B98489433699   SHANNON      TUTTLE                       NC     90014184894
14B98A99791895   MARIELA      LOZORIA                      OK     90014590997
14B99715176B68   CECILIA      ARRIOLA                      CA     90014187151
14B9983A757147   JAMIE        WHRITENOUR                   VA     90014388307
14B9992975B526   KENNETH      CHAVEZ                       NM     90008149297
14B999A4261958   DANIEL       WOODS                        CA     46053509042
14B9B999471967   AMANDA       RICHARDSON                   CO     38043539994
14BB136AA61958   CARLA        LLANOS                       CA     46053493600
14BB22AAA91569   LUIS         MORENO                       TX     90012892000
14BB2519847956   NELSON       CIRILO                       AR     90001395198
14BB2997991899   MICHAEL      YOUNG                        OK     90013479979
14BB3326676B68   TIMOTARIA    NAVAL                        CA     90014723266
14BB3462791569   JULIA        MORA                         TX     75044484627
14BB355975B59B   SHIRLEY      GILLIGAN                     NM     90015375597
14BB3747576B68   KAREN        HERNANDEZ                    CA     90009507475
14BB3839433699   SHIRLEY      FOSTER                       NC     90009358394
14BB3A83255976   RIGOBERTO    RODRIGUEZ                    CA     90013660832
14BB462284B588   WILLIAM      PALMER                       OK     90010196228
14BB4736755933   ELIZABETH    LEON                         CA     90011507367
14BB54A5176B68   CIRILA       RIOS                         CA     90010334051
14BB5523341249   BEN          FRANK                        PA     90013495233
14BB65A285B59B   BARBARA      SALAZAR                      NM     90011635028
14BB6AA9A72B27   TASHA        LOZANO                       CO     90013090090
14BB726184B26B   JUSTIN       TAYLOR                       NE     90011522618
14BB7465791569   MARTIN       RIVERA GUTIERREZ             TX     90013814657
14BB7655361938   EDDIE        SHAW                         CA     46007496553
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14BB775AA5715B   YESENIA           GRANDE                  VA     90012337500
14BB7779933699   MERCEDES          JUAN                    NC     90003287799
14BB77A3261958   TYLECIA           JACQUESS                CA     90012497032
14BB8311A61938   CHRISTOPHE        JONES                   CA     46057683110
14BB8A12247956   PAYGO             IVR ACTIVATION          AR     90015330122
14BB9346397B69   AMY               DAVIES                  CO     39003823463
14BB941227B489   EBONY             BLACKWELL               NC     90000174122
14BB976AA4B267   MARIA GUADALUPE   ZAMORA                  NE     90010307600
14BB9947855976   MARTHA            RODRIGUEZ               CA     90013459478
14BBB326676B68   TIMOTARIA         NAVAL                   CA     90014723266
14BBB792876B33   JUDY              JORDAN                  CA     90014877928
14BBBA8164B26B   LUVRECIA          MAY-LAZARO              NE     90010560816
151137A8881659   CECE              SUMNER                  MO     90008177088
15113858A55976   GUADALUPE         CEDENO                  CA     90010828580
15113984272B62   MARCOS            DURAN                   CO     33058759842
15114895A57147   TANEISHA          DAVIS                   VA     90013278950
1511495A455976   CESAR             LAOENG                  CA     90013029504
151151A149136B   JANICE            SCOTT                   KS     29089931014
1511555A54B26B   JOHN              FISHER                  NE     90008785505
151163A4672B62   MONICA            MENDEZ                  CO     90008653046
1511816294B26B   DAVID             URCINO                  NE     90012201629
1511851865B59B   DIXIE             COZART                  NM     36034635186
1511B754772B62   BETH              GAGNIER                 CO     90014087547
1511B768555976   OSCAR             LOPEZ                   CA     90014307685
1511BA9245B154   CASIE             MORRISON                AR     90009260924
1512119835B526   ROBERTO           MARTINEZ                NM     90013531983
15122596A9373B   CRISSY            BAKER                   OH     90013495960
151232A8555948   EMMANUEL          LEGERE                  CA     49069552085
1512475A561938   GLADYS            DOUGLAS                 CA     46095257505
1512543AA72B62   JUAN              PEREZ                   CO     33044874300
1512612A672B89   TRENTON           THOMPSON                CO     90012241206
15126326272B62   BRANDON           SAGERT                  CO     33034873262
15127A6288B166   FRANCISCO         RAMIREZ                 UT     90007660628
151283A485B154   CEDRIC            GAITHER                 AR     90012783048
1512843AA91263   CHRIS             HUELL                   GA     90010534300
1512862855B55B   RACHEL            DUTTON-LEYDA            NM     35010666285
1512871435715B   CESAR             REYES                   VA     81021757143
1512978387B489   TKEYAH            THOMPSON                NC     90013817838
15129A1465B526   VERONICA          GOMEZ                   NM     90004170146
1512B215991263   SARA              CLINE                   GA     90011422159
1512B49695B526   MICHELLE          PARKER                  NM     90006664969
15131941172B62   EVELIA            BATALLA                 CO     90014409411
15132885A9373B   LORIEN            BIBB                    OH     90002388850
151329A135715B   DEBRA             BLOCKER                 VA     90010749013
1513323964B26B   JAMES             WOHLGEMUTH              NE     90011392396
1513361644B26B   LADONNA           BIVENS                  NE     90015016164
1513446665B526   AMY               VARGAS-TRUJILLO         NM     90011854666
1513478349373B   LLAINE            ARIAS                   OH     90013487834
15135376A7B489   ANTONIO           JOHNSON                 NC     90011913760
1513682619373B   SHAWN             SHANER                  OH     90011758261
1513877125B154   STEVE             BYRNE                   AR     90001837712
1513888369373B   GLYNN             LEWIS                   OH     90004348836
1513954A591895   ACACIA            COUNTS                  OK     90009005405
1513B276591569   JOAQUIN           MARRUFFO                TX     90014542765
1513B336991895   ANDREW            ROCK                    OK     90014683369
1513B64989373B   GIONIA            ANDERSON                OH     64504886498
1514254745B526   DANIELA           MARTINEZ-MARTINEZ       NM     90012335474
151432A3A7B489   CORNELIO          GARCIA                  NC     90014112030
151444A6A7B489   NATAKI            STINSON                 NC     90014914060
1514469559136B   DEEANNA           JOHNSON                 KS     29089956955
15144AA4772B62   SYLVIA            HERNANDEZ               CO     33042520047
151453A3257147   MOISES            COMIA                   VA     90014883032
15146977372B62   MARIA             PEREZ                   CO     33039219773
1514715915B526   LARRY             KING                    NM     90014381591
151483AA355948   FRANCISCO         BEDOLLA                 CA     90007143003
15149A49454122   GISELLE           FULLER                  OR     47040210494
1514B234591569   MARISELA          RIVAS                   TX     90013612345
15151561A91569   STEPHANIE         CANO                    TX     90014005610
1515198685715B   JULIO             ZABALA                  VA     90010749868
1515369289373B   ISIS              MORRELL                 OH     90008446928
15154A5A572B23   CESAR             VALDEZ                  CO     33014860505
15155239A47956   SHERICA           SCOTT                   AR     24019832390
151558A6355948   MARIA R           HERNANDEZ               CA     49017058063
15158AA114B26B   ANITA             DILLON                  NE     26086080011
15159287A91895   MELINDA           HOLMES                  OK     21096872870
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1515933575715B   TOMIC        IVAN                         VA     81016663357
151595A9891569   ROBERT       DURAN                        TX     90014855098
1515B772155976   DARIO        CHAVEZ                       CA     90013007721
1515BA21447956   KEELIE       BOTELLO                      AR     24074540214
15162367A47956   MARY         TYLER                        AR     24083963670
15162467A31687   STEVE        REYES                        KS     90001514670
15163654272B62   SAM          SOUTHWORTH                   CO     90014566542
15163A76591554   MARIA        GUERRERO                     TX     90005650765
1516411729373B   JERRY        HAYDEN                       OH     90013441172
15164672372B62   EDNA         WITRON                       CO     90013646723
151649A719373B   JERRY        HAYDEN                       OH     64507319071
1516698495B348   BARBARA      BILLOW                       OR     90006939849
15166A86857147   VICTOR       ESCOBEDO                     VA     90006200868
1516781365B526   ARMIDA       DURAN                        NM     35084398136
1516791534B588   JOSEPH       SHRUM                        OK     21546129153
1516842372B968   JOSE         COVARRUBIAS                  CA     90011284237
151687A9991263   JEREMY       WILLIAMS                     GA     90013207099
151696A4891578   GILBERT      GARCIA                       TX     90002466048
1516B18414B26B   ANNEDRA N    HULL                         NE     26097291841
1516B59647B489   TIFFANY      TEAGUE                       NC     11081485964
15171474172B3B   PAULA        LOPEZ                        CO     33088404741
1517148A524B7B   HECTOR       OCAMPO                       VA     81027664805
1517197655B526   MONICA       GURULE                       NM     35006929765
1517221314B26B   ANDREA       PRANGE                       NE     26039222131
151736AAA9373B   CHRISTINE    NEFF                         OH     90002666000
1517531219136B   ROXANA       RAMIREZ                      KS     29059743121
1517691275B526   WILDA        TOLEDO                       NM     90010949127
1517912388B179   DANIEL       WINDER                       UT     90006661238
15179A6295B526   MARIE        ORTEGA                       NM     35088960629
1517B573A7B489   AVIS         STROUD                       NC     11054085730
1517B62A155976   EUGENE       HAYS                         CA     90015166201
1517B823291569   DAVID        ESPARZA                      TX     75065638232
1517BA7A75715B   OSCAR        RECINOS                      VA     81036780707
1518127A87B426   JUAN CARLO   ZARCENO                      NC     90001302708
1518176925B154   DELIZA       COLLINS                      AR     90014687692
15181A6A95715B   CECILIA      CASTILLO                     VA     90013420609
1518323A691569   EDUARDO      IBARRA                       TX     90012952306
1518332A95B526   BRIAN        NORTON                       NM     90011293209
1518377485B526   JERILYNN     WATRIN                       NM     90011197748
1518513835B348   MARIAH       ALI                          OR     90003651383
1518519437B489   BRENDA       LENOIR                       NC     90013981943
1518729997B489   LARRY        SPRINGS                      NC     90011132999
1518737A72242B   GLORIA       PINEDO                       IL     90000303707
1518845677192B   KENDRA       DRIETH                       CO     32068644567
151888A5347956   ASHTON       DEAN                         AR     24009128053
1518B2A4A7B489   JOSHUA       HAWTHORN                     NC     90001052040
1518B483591895   WINDY        CLARK                        OK     90003124835
1518B7A1785B29   JOSE         MARIN                        FL     90015397017
1519168287B489   TIMOTHY      BARBERREE                    NC     11075496828
151917A464B26B   MISTY        SKINNER                      NE     90013577046
15191916972B62   ROSALINO     GONZALEZ                     CO     90012809169
1519222A59379B   TIFFINY      FRIEND                       OH     90007662205
151923AA65715B   GODOFREDO    GOMEZ                        VA     81065373006
15193647A4B26B   CHARLES      JENKINS                      NE     26054596470
15193A34A4B555   MEGAN        O'DONNELL                    OK     21514070340
15193A38231687   APRIL        SYLTIE                       KS     90014880382
15194938597B58   MEGAN A      GALVEZ                       CO     90003979385
151955A299373B   JAMES        JOHNSON                      OH     90014265029
1519668455B154   TANICA       WALKER                       AR     90012366845
151969A274B26B   DEREK        NOTARO                       NE     26010129027
15196A3899373B   EDGAR        LOVELACE                     OH     90000520389
15197A54391573   RUBY         RAMIREZ                      TX     90012050543
15198AA577B489   KEARI        JOHNSON                      NC     90011470057
151993A764B26B   STEPHAINE    PICKETT                      NE     90003793076
15199435A55976   NATOSHA      BENSON                       CA     90014524350
15199928A31479   ROSELL       MOSLEY                       MO     90001079280
1519B31217B277   PIA          COLEMAN                      NV     90015073121
1519B938A55976   TIANA        GILBERT                      CA     90012859380
151B1698A72B62   JOEL         GONZALEZ                     CO     90010666980
151B1971961958   DONNA        RECKLAU                      CA     46056379719
151B23A7857147   MARITZA      REYES                        VA     90013783078
151B2443291584   JENNIE       GABBERT                      TX     90012064432
151B2A12691263   RICARDO      ROJAS                        GA     90013230126
151B332315B59B   JUAN         FLORES                       NM     90013583231
151B366A67B489   SOLOMOM      BURCH                        NC     90015296606
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151B375374B26B   CINDY        ANDERSON                     NE     26061257537
151B4323372B62   ALMA         RODRIGUEZ                    CO     90014573233
151B479315B229   MEGAN        THORNHILL                    KY     68014727931
151B4877591263   SHARONDA     WILLIAMS                     GA     90001038775
151B554A758585   BRENDA       DENNIS                       NY     90015295407
151B5858857147   TASHA        WASHINGTON                   VA     90010798588
151B5858A55976   GUADALUPE    CEDENO                       CA     90010828580
151B6124455936   DARYN        HOLMES                       CA     90013031244
151B621977B398   JOEL         RIVERA                       VA     90006292197
151B6251791263   FATIMAH      ELLIS                        GA     90013552517
151B6984147956   SHERRILL     JOHNSON                      AR     24073759841
151B715394B588   JACK         ENOS                         OK     90005781539
151B74A5191B38   JOSE         CAMACHO                      NC     90014114051
151B7557991263   JESUS        FLORES                       GA     14571735579
151B759144B22B   FABIOLA      GONZALEZ                     IA     90011385914
151B84A8791569   CRISTINA     MARTINEZ                     TX     90012184087
151B8564591885   CARRIE       EDDINGTON                    OK     90010635645
151B869873B392   ELIZABETH    VIGIL                        CO     33044886987
151B871335B526   ADAM         GURULE                       NM     90012787133
151B8A15272B62   ROCIO        GALLEGOS                     CO     90000200152
151B9461277379   ESMERALDA    COLIN                        IL     90009034612
151B9946A91263   SHARON       SANDERS                      GA     90011999460
151B9A86972B62   RAUL         BARRON                       CO     90013210869
151BB499657147   CHRISTINE    SMITH                        VA     90014554996
1521117365B526   ALFONSO      AAMEZAGA                     NM     35095271736
15211A82A7B489   RYAN         LEOPARD                      NC     90013290820
15212A13691263   JUAN         ARROYO                       GA     90009600136
15212AA2936B52   BEN          COATNEY                      OR     90011180029
15213167A7B385   SANTOS       GAMEZ                        VA     90006121670
1521415235B338   PATRICIA A   CARMONA                      OR     90007201523
1521448A27B489   KATY         FORAN                        NC     90013454802
1521449585715B   OTILIO       CRUZ                         VA     90011824958
15214758372B62   HAGOS        TEKLEHAIMANOT                CO     90015207583
1521536885B526   JULIETA      ANDRADE                      NM     90012273688
152155A719373B   VIRGINIA     HINES                        OH     64586455071
1521617985715B   ANA          SALGADO                      VA     81046411798
152161A354B588   CASSANDRA    FLENOY                       OK     90009061035
15216499A9373B   PAUL         GOPPERTON                    OH     90006954990
1521714755B526   MARISSA      PADILLA                      NM     90012381475
1521756199373B   PATRICIA     SULLIVAN                     OH     90010885619
1521948164B26B   ALICIA       JONES                        NE     90007954816
1521977625B154   SHALANDA     REED                         AR     90002157762
1521985424B92B   THERESA      POLIDORE                     TX     76574218542
1521B3AA95B526   BARBARA      PEREZ                        NM     35042493009
15221A46457147   FRANCIS      ALLER                        VA     90000580464
152231A955715B   TERRENCE     TAYLOR                       VA     90011021095
1522411945B526   MAIRA        PINON                        NM     90014751194
1522419624B588   MARIA        MENDOZA                      OK     90005441962
1522446527B489   KATHLEEN     DANIELS                      NC     11030524652
1522531955B526   ANNAMARIA    WILSON                       NM     90014953195
1522559163B324   JACK         BUTLER                       CO     33063795916
15225916A72B62   JOSHUA       NIELSEN                      CO     90007609160
1522632239373B   JOSH         EASOM                        OH     90003333223
1522641A15715B   RAUL         PEREZ                        VA     90010514101
15229A68876B87   CHARLES      CABARLE                      CA     90008430688
1522B151491964   EDGAR        BLACKWELL                    NC     90005441514
1522B883855976   CARA         STEARNS                      CA     90013058838
1523116AA91895   CHRISTINA    SULLIVAN                     OK     90005881600
15231333A55976   VANESSA      VALDEZ                       CA     49090483330
1523133945715B   CRISTIAN     ALVAREZ                      VA     90013423394
15232A2647B489   JERMAINE     GARRETT                      NC     90011620264
1523349A461958   GLADYS       OSUNA                        CA     90001764904
15233855272B62   ANTONIO      ALVARADO                     CO     33066528552
1523385799373B   SHAWNTE      SHEPHERD                     OH     90002008579
15234298A5715B   TERESA       VELIZ FLORES                 VA     81085342980
1523636294B588   TURISCH      HARRIS                       OK     90012843629
15236A2715B526   ROBERT       BLEYTHING                    NM     90012360271
15239815272B62   WILLIAM      TORO                         CO     90013008152
1523B464591578   CYNTHIA      ESTRADA                      TX     90006214645
1523B67834B26B   PATRICK      LEFLER                       NE     26094436783
1523B734A5715B   RONALD       ESTRADA                      VA     90007427340
1523B8A6757147   LUIS         MEJIA                        VA     81060338067
15243166524B67   FAUSTO       PEREZ                        MD     90010951665
1524389755B526   KARINA       ALVAREZ                      NM     90013078975
152454A875B154   JOANNE       WEAVER                       AR     23049444087
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15246366A5715B   JOSE           GONZALEZ                   VA     90013423660
1524654495B154   ALYSON         JONES                      AR     90013575449
1524858A391895   DENNA          PARKER                     OK     21061505803
1524917A591569   DAVID          RANDOLPH                   TX     90003531705
1524943A65715B   JOSE           GUTIERREZ                  VA     81072374306
1524995A85B526   MANUEL         TENORIO                    NM     90009519508
1524B42A191263   JANET          JOHNSON                    GA     90013924201
1524B763372B62   ANTHONY        VIGIL                      CO     90008767633
1524BA73A3B362   MARK           AGUILERA                   CO     90010840730
152517A874B555   NOE            LOPEZ                      OK     21584907087
1525268535B32B   WENONA         KIMBRO                     OR     90013656853
1525272A342399   ALICIA         TRAVILLIAN                 GA     90003917203
152531A455715B   IDALIA         ALFARO                     VA     90005651045
1525338145B395   ROBERTO        CORTEZ                     OR     90013963814
152538A299373B   TIFFANY        TOMPSON                    OH     90008708029
152548AA624B7B   EDWARDS        PHILLIPS                   DC     81002938006
15256A35172B62   ALEXIS         SANCHEZ                    CO     90013770351
152574A1131687   CARMON         WAGNER                     KS     22010744011
152576A575B154   TIFFANEY       THOMAS                     AR     90001056057
1525925744B26B   DEBRA          SHERARD                    NE     90000342574
1525937A67B423   OLIVIA         HUBBARD-GAINEY             NC     90009703706
152593A575B526   JOYCE          LUCERO                     NM     90004773057
1525B781197B69   SCOTT          COOPER                     CO     90008567811
1525B842191263   AIREAL         SIMMONS                    GA     90012818421
1525B97914B588   MELODY         SPOON                      OK     21553439791
1526119634B588   JOHN           LIPPE                      OK     21573281963
15261617A72B62   MELISSA        LOPEZ                      CO     90014716170
1526291585B526   BERNARDO       LEMUZ-CEBALLOS             NM     90012129158
1526362664B26B   PRICILLA       SANCHEZ                    NE     90014436266
15264165572B62   JANET          DELL                       CO     33076021655
152649A5891569   KATHERINE      ARRIAGA                    TX     75032779058
1526637154B588   TAMIKA         WREN                       OK     21580893715
1526682A757125   MIGUEL         FERRFINO                   VA     81026418207
1526713A684347   FEDERICO       BARRIOS                    SC     90008251306
152685A7A91569   MARIA          DE LA CRUZ                 TX     90013305070
152687A785B526   ELIZABETH      STONE                      NM     90002317078
1526886533B326   LASHAE         BURRIS                     CO     33083728653
1526942935715B   KEVIN          COLLINS                    VA     81039624293
1526B3A3761958   TIMOTHY        COO                        CA     46027163037
1526BAA5891569   ERNIE          AGUIRRE                    TX     90009120058
1527154225B526   NICOLAS        SUCRE                      NM     35084655422
15271A62591569   REBECA         ORTEGA                     TX     75040660625
15272349A8B133   VALERIA        DOMINGUES                  UT     90001813490
1527292A65715B   TAMIKA         QUANDER                    VA     81098449206
1527477535B154   ALDEN          PHILLIPS                   AR     90013527753
1527482736192B   MOLLY          COLT                       CA     46063628273
1527574865B32B   JUAN           VEGA ZAMUDIO               OR     90010927486
1527673954B588   CHARLES        WALLER                     OK     90015297395
15278533A4B544   JEAN           MCDUFFIES                  OK     90011695330
15279287172B84   GONSALO        GALVAN                     CO     33002412871
152795AA772B62   REGINA         FLETES                     CO     90001285007
15279A5917B489   VIVIAN         ONYEGBULEN                 NC     11088550591
1527B2A2491569   EMMA           GARCIA                     TX     90007882024
1527B69664B588   KAQUEESHA      WATKINS                    OK     21595356966
1527B815161938   CHIRESSIA      SULLIVAN                   CA     46056248151
15281315272B62   PATRICK        MILLER                     CO     90013173152
1528242A75B123   KATHY M        MOON                       AR     90004674207
1528292357B274   ILDERONSO L.   RUBIO                      AZ     90014479235
15282AA2A61958   ROBERTO        OCHOA JIMENEZ              CA     90008270020
1528485334B588   CHRISTIAN      GOMEZ                      OK     90012538533
15284A6282B253   SHERRY         COLEMAN                    DC     90005890628
15286543A5B154   ROOSEVELT      DONALDSON                  AR     23029305430
1528662164B26B   LAURA          MCARTHUR                   NE     90009576216
15286885A61938   TYIESHA        JACQUETT                   CA     90011688850
15286A86585664   FERNANDO       GARCIA                     NJ     90013930865
15288629A55976   ALFRED         FEDRICO                    CA     49062486290
15288929A91895   CARLTON        DAVIS                      OK     90014449290
1528B2A827B423   SANTOS         GONON                      NC     90001732082
15291284A91569   CINDY          RECENDIZ                   TX     90010732840
1529191464B588   DONTAY         FRANKLIN                   OK     90014079146
15292234A61958   TABATHA        HASKETT                    CA     46023792340
1529229A391569   JOANNA         POLANCO                    TX     90014572903
15292855372B62   CLAUDIA        GAYTAN                     CO     90012908553
1529333A24B588   ELIZABETH      CARRANCA                   OK     21553713302
1529554845715B   DIETRA         BRANDON                    VA     81019155484
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1529599334B935   LISA          RANDOLPH                    TX     90012719933
15295A18861972   SARELA        CABUTO                      CA     90011630188
1529749592B275   JASMINE       GROSS                       DC     90014524959
15297864372B62   JUAN          RUIZ MARTINEZ               CO     90002428643
1529834A44B26B   DIANE         GRANDEL                     NE     90012053404
1529955869373B   DAVID         GREEN                       OH     90008975586
1529972A95B526   GERARDO       MNARREZ                     NM     90014477209
1529B2A1231687   RICKY         RUCKLE                      KS     90011022012
1529B458661938   LONI          ROBERTSON                   CA     90001794586
1529B473255976   PEDRO         REYES                       CA     90012794732
1529BA2895B166   ESMERALDA     URCELAY                     AR     90006500289
152B1337691895   KENNETH       JONES                       OK     90014143376
152B161158B166   CHRISTOPHER   MILLER                      UT     90006846115
152B165665B154   LONDA         HARRIS                      AR     90013396566
152B2157272B92   NARANSUMIYA   BAYARTSAIKHAN               CO     90013241572
152B23A764B555   YLONDA        TURNER                      OK     90012553076
152B2529755976   CHARMAINE     FRANKLIN                    CA     90011355297
152B328924B588   CODY          LAMB                        OK     90014742892
152B4161864183   RANDY         JACOBS                      IA     90014731618
152B44A3391263   CARMEN        HOWELL                      GA     90011414033
152B455294B588   LETRICE       DAVIS                       OK     90003315529
152B4A8A131687   TIFFANY       BENNETT                     KS     90014880801
152B6381655979   KEVIN         ROBINSON                    CA     90012193816
152B6697672B62   HUETE         ROSALI                      CO     33011696976
152B714345B154   GERALDINE     CICCEL                      AR     23025841434
152B733219373B   EMILY         BERRY                       OH     64560103321
152B752487B489   HECTOR        JUAREZ                      NC     11067695248
152B7677885977   ROY           WILLOUGHBY                  KY     90011636778
152B7A4864B588   GARRET        SMITH                       OK     90012540486
152B882A472B62   MARYLU        CASTANERA                   CO     33069718204
152B8966191895   JESSICA       PREBLE                      OK     90014779661
152B9417491569   YENNY         GARCIA                      TX     90013154174
152B9657324B7B   SECRET        REID                        DC     90006966573
152B9833491569   ANDRES        SANDOVAL                    TX     75057638334
152B9A8485B154   ELAINA        REID                        AR     90013820848
152BB261461958   VIVIANA       SERRANO                     CA     90006572614
152BB76A255932   ANTONIO       CRUZ                        CA     90011317602
152BBA63831687   BECKY         FERGUSON                    KS     90013800638
1531142229377B   DAVID         SMITH                       OH     90009074222
153122A9957557   MANUEL        ERIVES                      NM     90006912099
153124A464B26B   SULEENA       MALONE                      NE     90000464046
1531292A55715B   MARIO         ROMERO                      VA     81022449205
15313876972B4B   NICOLE        CASTILLO                    CO     90012808769
1531414A155952   FRANCISCO     GONZALEZ                    CA     49009561401
15315421A4B26B   MELISSA       ENGLE                       NE     26029844210
15316A56872B62   RUSTEN D      MERVIN                      CO     33064310568
1531875379373B   KESHAWNDA     PONDER                      OH     90005127537
1531961955B154   VILLANUEVA    GONZALEZ                    AR     90014046195
1531B12675B154   LESLAY        BERRY                       AR     23053771267
1531B75A591895   CINDY         FRANCO                      OK     90010427505
1531B77A891569   GUTIERREZ     JACQUELINE                  TX     90013217708
153216A754B26B   SADE          COPE                        NE     90011146075
1532276A85B522   MARK          KING                        NM     35074487608
15323585A91895   CLINTON       PAGE                        OK     90012235850
1532459A97B489   CATALINA      MARTINEZ                    NC     11070485909
1532551A55B154   KEISHA        VALENTINE                   AR     90011035105
15328917A31687   CAMINE        TUCKER                      KS     90014909170
1532B389A57147   XIOMARA       CASTRO                      VA     90012943890
1532B522955976   JASON         ARCE                        CA     90004425229
1532B58845B154   LATRICIA      VAUGHN                      AR     90009755884
1532B5A4591569   ROSA          GARCIA                      TX     90011675045
15331683A4B26B   DONNY         VELA                        NE     90010786830
1533294224B555   ROCHELLE      FIELDS                      OK     21523639422
15332A21372B62   DAVID         BELL                        CO     90010600213
1533331557B489   MARIA         CUENCA                      NC     90012343155
1533442645B526   MJ            JANIEL                      NM     35090914264
15334933A57147   LENDI         VALLEJO                     VA     90010949330
1533493534B555   MARCUS        REMPE                       OK     90011769353
1533493A15B154   KEISHA        DONMORE                     AR     23034719301
153351AA79373B   JASON         CARROZZA                    OH     90013711007
15336251872B62   MARCOS        LOPEZ                       CO     90002082518
15336978A4B588   LUIS          PEREZ                       OK     90012689780
1533827734B555   ROBIN         RODAS                       OK     21512172773
15338518A91569   BRIAN         RODRIGUEZ                   TX     90015195180
1533B13745715B   AUSTIN        POLLACK                     VA     90009811374
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1533B262A91569   MIGUEL       FLORES                       TX     90013142620
1533B42124B588   AMANDA       FIELDS                       OK     90010394212
1534143685715B   JOSE         MARTINEZ AYALA               VA     81022734368
1534283614B26B   JAMES        TAFOYA                       NE     26048418361
153441A315B53B   ADAM         TILLIE                       NM     35067321031
1534523297B489   SIGMON       DUSTIN                       NC     90001572329
1534628A65B526   MELISSA      HERNANDEZ                    NM     90014352806
15346654A91569   ADRIAN       CASTILLO                     TX     90010686540
1534773985B526   OBED         VELAZQUEZ                    NM     90014897398
1534875834B26B   TERRI        HAGEL                        NE     90013487583
1534B24A291569   ANA          REGALADO                     TX     75029732402
1534B61145715B   JOSE         ROMERO                       VA     90009206114
1534B914155976   SHAWNA       DAVIS                        CA     90010349141
1535225495B154   CHRISSY      ESKEW                        AR     23041222549
15352677A72B4B   MITA         MORALES                      CO     90009236770
1535292935B526   ASHLEY       SCHNEIDER                    NM     90014569293
1535346674B588   CLAUDIA      HERNANDEZ                    OK     90015114667
1535373222B228   WILLIAN      QUINN                        VA     90010637322
15353A2639373B   VICTOR       LOPEZ                        OH     90012390263
1535747164B52B   YULENA       HAMILTON                     OK     90002574716
1535835319373B   ROBERT       EAMES                        OH     64549433531
1535954A33B396   DANIEL       OTERO                        CO     90013085403
15359A2A291569   BRENDA       ORDAZ                        TX     90013990202
15359A9385715B   LUIS         HERNANDEZ                    VA     90010520938
1535B171672B84   CLOTILDE     FERGUSON                     CO     33079141716
1535B31512B84B   RONALD       RIVERA                       ID     90006023151
1536114882B239   MICHEAL      SIMPSON                      DC     90001421488
1536149A897B69   RYAN         BULLINGER                    CO     90001274908
15361937A4B588   ALTA         LITTLECALF                   OK     90014079370
15361A36157147   NATHANIEL    VILLAGRACIA                  VA     90013490361
1536292457B489   PAMELA       CALDWELL                     NC     90013399245
15362A82572B62   CRYSTAL      LEE                          CO     33045310825
15364A3A19373B   JEFF         HELTON                       OH     90002850301
1536582A39373B   JOSHUA       FROWEIN                      OH     64532338203
15365837672B62   ROBERT       MARTINEZ                     CO     90012168376
15365A7314B26B   SAVANNAH     SMITH                        NE     26076660731
153667AA791885   SHASTA       SALYER                       OK     90005927007
15368A48631687   ANDRA        MARTIN                       KS     90014910486
1536B8A5491895   DEVONTE      HAYNES                       OK     90001418054
15371A9AA91569   CINDY        DOMINGUEZ                    TX     90012910900
1537219879373B   CONNIE       SEEBECK                      OH     64556481987
15372617172B62   SANJUANA     LOMELI                       CO     33053046171
1537271375B154   JOE          WALKER                       AR     90014867137
15372794176B8B   LAURA        GARCIA                       CA     46001867941
1537318585715B   MAURICIO     VILLEGAS                     VA     81022751858
15373894A3B364   FALLON       HUNTER                       CO     33096268940
1537454589373B   STEPHEN      EARNEST                      OH     90004145458
1537473A491263   JOHN         ANDERSON                     GA     14521917304
1537489394B26B   AMANDA       TAFOYA                       NE     90015248939
1537657A491569   LILIAN       VEGA                         TX     75059025704
1537673465B526   JOANN        BACA                         NM     35068057346
1537684475B154   ISAAC        SENIOR                       AR     90014248447
1537793A761958   SOCORRO      ALEMAN                       CA     90014769307
1537799327B445   JEROME       THACKER                      NC     11094459932
15377A12424B7B   KWAGHDOO     KAKAAN                       DC     90007330124
15378327A4B588   BRANDI       COLBERT                      OK     21595913270
1537998159373B   LEON         RUTLESGE                     OH     90015079815
1537BA1564B26B   ROBERT       TOPHAM                       NE     90000200156
1538121465715B   MEYLIN       TURCIOS                      VA     90010522146
1538228594B588   EDWARD       WILLIS                       OK     90013162859
1538248967B489   ERICKA       BURCH                        NC     90014224896
153826A6457147   EDGAR        QUINTERO                     VA     90013856064
1538284A85B154   EDWIN        KEY                          AR     90013838408
15382A91591569   BRENDA       RODRIGUEZ                    TX     75055340915
153838A4272B62   JOSE         SAENZ                        CO     33091298042
1538518354B588   CECILIO      ESCARENO                     OK     90013611835
153856A7791569   HERNESTO     GONZALEZ                     TX     90014466077
1538733164B26B   ROXY         MICHENER                     NE     90014143316
15387A7A991399   TINA         HARRIS                       KS     90012360709
1538842914B26B   BREANNE      VAN DYKE                     NE     90011024291
1538959879373B   HERMELINDO   LEYVA RUIZ                   OH     64579665987
1538B69435B154   TONY         DAWSON                       AR     90011036943
1538BAA464B588   TYIESHA      BARNETT                      OK     90014850046
1539125947B489   NOEL         MORALES                      NC     90013282594
1539164474B588   TAJA         JONES                        OK     90003786447
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1539193235B154   NIKIA              CARTER                 AR     90012979323
15391A74272B62   STEVEN             CRAGO                  CO     33082710742
1539267A44B588   LORETTA            THOMPSON               OK     90010396704
15392919A5B526   TRACY              SHAW                   NM     90003069190
1539313A461926   JESSICA            MARTINEZ               CA     90007211304
1539339685B526   MIRNA              LASCAN                 NM     90005033968
1539366425715B   ROSA               PORTILLO               VA     81095656642
1539392134B26B   CATHERINE          GREGORY                NE     90015249213
1539438459373B   FELICIA            HASSAN                 OH     90011953845
1539486927B398   JOSE               DIAZ                   VA     90012618692
153949A215B526   DESI               RAMIREZ                NM     35032499021
1539513237B386   SONIA              ARANCIVIA              VA     90012361323
15397A95191895   MONICA             ESTRADA                OK     21043610951
1539892134B26B   CATHERINE          GREGORY                NE     90015249213
15399296472B77   RT                 AUTOMOTIVE             CO     90009412964
1539967739373B   TREMAYNE           ADAMS                  OH     90012356773
1539B92665B526   CHRISTINA          MARTINEZ               NM     90013609266
153B13A955B154   DIAMOND            CAMPBELL               AR     90002353095
153B1846255968   LOUIS              MERCADO                CA     90011618462
153B26A6157147   JENNIFER           RILEY                  VA     90014516061
153B2882972B62   AKIDA              MICKENS                CO     90012468829
153B33A7761958   DONALD             HALL                   CA     90013703077
153B5141891263   GWANA              TORY                   GA     14507691418
153B5969972B62   YEIMI              NEVAREZ                CO     90014409699
153B6336461938   ANTHONY            DAVIS                  CA     90001553364
153B6666391263   SAFIYYAH           MUHAMMAD               GA     90012756663
153B6693131687   KATRINA            PARCHELL               KS     22066616931
153B691864B588   NICKIE             GRIGLER                OK     90014079186
153B7136172B25   JUANITRA           BLAKLEY                CO     33003771361
153B769144B588   TIAUNA             GREEN                  OK     90003826914
153B788688B138   SAMANTHA           VALERIO                UT     90004388868
153B8532955938   GUILLERMO          JIMENEZ                CA     90012485329
153B8828457147   JUAN               HERNANDEZ              VA     90010388284
153B972675B526   BEN                GURULE                 NM     90007217267
153B9982361938   ANDY               CORCOVELOS             CA     46023119823
153BB31278B179   CAMI               SITTON                 UT     90001223127
153BB847872B62   IVORY WASHINGTON   MARTIN                 CO     90013698478
1541312145B154   TRESIA             DOLLARHIDE             AR     23090621214
1541355597B489   NATASHA            VIEUX                  NC     90014395559
1541373394B588   TONYA              CURRY                  OK     90010397339
1541421A491263   CHARLENE           SIMMONS                GA     90014712104
154143A9A72B62   MARIA              ROMERO                 CO     90010763090
15414A4127B489   AXEL               MARTINEZ               NC     90011760412
1541552A74B555   OLGA               DE TORRES              OK     21515225207
154155AA791569   JAZMIN             COLEMAN                TX     90012475007
1541563715B526   TERRIEAN           SILVA                  NM     35005376371
15415963A4B26B   YVONNE             JOHNSON                NE     90013509630
154161A1961958   AVIS               APRIL                  CA     90014541019
1541692444B26B   JOLENE             ROTHWELL               NE     90010259244
15417755672B92   HILDA              MARTINEZ               CO     90009617556
1541776A22B249   RAINA              MOSES                  DC     90001657602
1541777354B555   TIM                DEFORD                 OK     21520887735
1541991765B526   CHRISTIAN          LOPEZ                  NM     90014249176
15419A87457147   ISTMENIA           MORALES                VA     90012880874
1541B316991895   ROSA               AYVAR                  OK     90014173169
1541B4A3A72B4B   JUAN               GUERRERO               CO     90011944030
154211A1691569   LISA               MIRANDA                TX     90010451016
1542327264B588   MICHAEL            FISHBACK               OK     90005302726
1542397975B526   DESTINY            ROMERO                 NM     90008329797
15423A81961958   GUSTAVO            RODRIGUEZ              CA     46090830819
15424A3A85B154   ATHENA             SIMON                  AR     90011610308
15425A37172B62   KRYSTLE            BADGETT                CO     90013210371
1542741A85B526   ROSEMARY           GUILLEN                NM     35099634108
154276A634B26B   AMBER              PEREZ                  NE     90011316063
15428659A91263   MACY               MINCEY                 GA     90005706590
154295A2772B95   ELLEN              GILBERT                CO     90014175027
1542B731A4B588   CHARLES            COKER                  OK     90003317310
1542B98935B154   ALBERTO            AUGUILAR               AR     90014229893
15431A22672B62   DOUGLAS            QUACH                  CO     90012130226
1543437814B26B   JAMES              ANDERSON               NE     90011563781
15434A1215B154   LUCIUS             OLIVER                 AR     23082780121
1543538577B489   MIRANDA            PARTLOW                NC     90007883857
1543597725B154   CANDACE            GIBSON                 AR     90014229772
154366A115715B   JAVIER             BENAVIDES              VA     81086666011
154379A554B588   JOSEPH             BROOKS                 OK     90014979055
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1543866A24B588   SHARENDA       PARKS                      OK     90013926602
15438A48657147   TRENASHIA      LATNEY                     VA     90015480486
1543917424B588   GEORGE         WILAON                     OK     90013051742
154396AA47B489   MARCUS         HALL                       NC     90013436004
1543987A557147   NICOLASA       MARQUEZ                    VA     81040598705
1543B29164B588   DAYONA         JOSEPH                     OK     90012842916
1543B9A5555976   RUDOLPHO       MICHEL                     CA     90009259055
154411A3555976   PAULA          ASTORGA                    CA     49013281035
1544139915B154   ESTRADA        ARACELI                    AR     90013253991
154416A9691569   GABRIEL        LICON                      TX     90008826096
15442688A4B588   JAMES          FARRINGTON                 OK     21554226880
154448A3391573   COLLEEN        JOHNSTON                   TX     90001378033
15444A26891569   RAMON          BOWDEN                     TX     90008150268
15445762A9373B   PATRICIA       LAKE                       OH     64576817620
1544596A191895   WILLIAM        WRIGHT                     OK     21069579601
154469A9924B7B   GUILLERMO      ESCOBAR                    DC     90000429099
15447379A7B277   JOHN           SNYDER                     NV     90014613790
1544762634B26B   ZACHARY        ROBINSON                   NE     26066956263
1544781337B489   BRIDGETTE      CRAIG                      NC     90014648133
1544827A391586   ANGEL          LUJAN                      TX     75018192703
154482A4257147   ERIK           CRUZ                       VA     90003462042
1544B42677B489   JAIR           DEVEREAUX                  NC     90011134267
1544B639487B44   ANGELA         SCULL                      AR     90007586394
15451545A5B526   BERNICE        ROANHORSE                  NM     90004055450
15451875A61958   FELIPE JESUS   HERNANDEZ                  CA     90012648750
1545317944B588   TARIK          BOUFKIRI                   OK     90012741794
15453AA3277333   JOSE           COLON                      IL     90013950032
15455117172B33   LUIS           MUNOZ                      CO     90014891171
1545748AA57147   DANA           PERKINS                    VA     90010504800
15457689A93763   JASON          LISCH                      OH     90011156890
1545B73624B26B   ELIZABETH      WHITNEY                    NE     90000247362
15462111972B62   MIRIAM         HERNANDEZ                  CO     90008011119
1546287894B26B   PATRICK        SLECHTA                    NE     26054738789
1546363987B489   ALLEXYS        PAIGE                      NC     90013596398
15463A85A61938   PABLO          VASQUEZ                    CA     46063290850
154666A634B26B   AMBER          PEREZ                      NE     90011316063
154676A455715B   ANA            ALFARO                     VA     81065426045
1546788424B588   COURTNEY       PRIEST                     OK     21511988842
15467A1424B26B   LEE CHUOL      GUOR                       NE     90011450142
1546827115B526   AARON          PEREA                      NM     35088322711
1546885223365B   JAMIE          SLOAN                      NC     90003518522
1546919794B588   MIGUEL         SANTOS                     OK     90013611979
15469A26291895   TIFFANY        TOWNSEND                   OK     21032170262
1547391419373B   KAREN          JOHNSON                    OH     64518779141
1547418837B489   LAURAN         BROWN                      NC     11075781883
15474867572B62   DESTINY        MANZANARES                 CO     90013018675
1547541694B26B   ALFREDO        DOMINGUEZ                  NE     26097814169
15475A5137B323   RAUL           MOLINA                     VA     90006000513
15478283A57147   HENRY          VILLALTA                   VA     90013572830
154793A9881534   JOCLIN         GOOCH                      IL     90014753098
1547B872191895   DANIEL         BENSON                     OK     90014788721
1547B957655976   DELIA          ASCENSION                  CA     90009729576
1547BA2134B26B   TATYANA        SOROKINA                   NE     26025150213
1548168634B588   JOSHUA         KOOS                       OK     90006786863
1548212547B489   MYLES          HENRY                      NC     90014361254
15482A8185B154   VALAREE        STITH                      AR     90014780818
154838A9A72B62   SHANEKA        HARTS                      CO     90013388090
15483A58276224   JESSICA        POLLARD                    GA     90008660582
1548536585715B   MARIA          AMAYA                      VA     90007523658
154855A565B526   TIM            MOORE                      NM     90002915056
1548734135B389   ISAIAH         GENTRY                     OR     90012583413
15487A39157147   ADAM           TORRES                     VA     90007690391
15488557A91895   MARTHA         MILLSAPS                   OK     90005165570
1548874895715B   TINA           MWANAKITATA                VA     81091907489
1548893A191852   BURT           WOOD                       OK     90004199301
15489A36326759   JOY            CARAWAY                    PA     90003310363
1548B344A7B47B   NORAM          TALBERT                    NC     90002143440
1548B584A55979   TASHA          SMITH                      CA     90003445840
1548B71155B154   SHINA          DAVIS                      AR     90013327115
1548B882191263   SILVIA         TRUJILLO                   GA     14597418821
1548BA22591569   RICARDO        HERNANDEZ                  TX     90012000225
1549267529373B   SHEBA          ABDULLAH                   OH     90012156752
15493A8755B154   JOSEPH         NORRIS                     AR     90014130875
1549584575B255   YUN            YI                         KY     90013828457
15497125172B62   JOSEPH         RICO                       CO     90011251251
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1549783614B26B   JAMES         TAFOYA                      NE     26048418361
1549792534B588   FRANCISCO     ESPINOZA                    OK     90015149253
1549876A65B154   SHAWN         ADAMS                       AR     90014287606
1549895395715B   ANA           GARCIA                      VA     81093329539
154991A3191569   FABIOLA       HERNANDEZ                   TX     75059201031
15499A51572B62   ANTONIO       PADILLA                     CO     90012060515
1549B141891263   JAMIE         BLADWIN                     GA     90012401418
1549B932757147   AMANUEL       HAGOS                       VA     90013959327
154B1119A91895   HILLARY       GREENWOOD                   OK     21040791190
154B1258161958   LURDEZ        NUNEZ                       CA     46009752581
154B1842531687   LAUREL        SNIDE                       KS     90004248425
154B193914B588   KOLE          CRIGLER                     OK     90014079391
154B2549491569   JOSUE         OTERO                       TX     90009345494
154B256695B154   ALEX          CALDWELL                    AR     90014425669
154B27A525B154   BRAD          ROTENBERRY                  AR     90011037052
154B3447A91263   NADIA         HARDING                     GA     14501044470
154B427627B489   RONY          ESCOBAR                     NC     11012532762
154B42A575B526   KATHIA        QUINTANA                    NM     35097972057
154B4355155976   VAUGHN        PALMER                      CA     90010833551
154B437438B12B   DAN           WIGEN                       UT     90001353743
154B525139373B   KIARA         SCALES                      OH     90010572513
154B527274B588   CHAD          MARTINEZ                    OK     90014692727
154B5732461958   JAHAIRA       RODRIGUEZ                   CA     90013877324
154B5A98357147   JOSE          MARQUEZ                     VA     90010800983
154B621822B259   EDITH         LOPEZ                       DC     90014502182
154B6632247956   MARIA         VAZQUEZ                     AR     90006146322
154B7652A5B526   AARON         LUJAN                       NM     90014156520
154B8338991569   MELISSA       FRIAS                       TX     90013383389
154B9926193727   JOHN          MCCREARY                    OH     64578209261
154BB35257B489   NICOLE        PITTMAN                     NC     11015703525
15511334572B62   ISMAEL        MUNOZ                       CO     33076843345
1551435745B154   CARLA         BROWN                       AR     90014163574
155144A4584344   APRIL         LEAMON                      SC     90009214045
15514557A91895   MARTHA        MILLSAPS                    OK     90005165570
15514741A41384   ELIZABETH     CLIFFORD                    MA     90014397410
15514A9347B465   TONI          STITT                       NC     90009590934
155161A3872B2B   STEVE         LAPOINTE                    CO     33070121038
15516263A4B26B   KIERSTEN      REPLOGLE                    NE     90013252630
15516A4827B326   DANIEL        MIRANDA                     VA     90006560482
1551792A891569   MIGUEL        CANO                        TX     90013329208
15517A4827B326   DANIEL        MIRANDA                     VA     90006560482
15518A72457124   WELMER        MOLINA                      VA     90013600724
15518A9177B489   SHARIKA       ROBINSON                    SC     90013370917
15519827A7B34B   SONIA         GONZALEZ                    VA     81025508270
1551B1A9755976   BERNARDINO    SANDOVAL                    CA     90014071097
1551B219493737   PAMELA        JOHNSON                     OH     64536952194
1551B556791895   TERRI         DAVIS                       OK     90012975567
1551B81355B154   ISABELE       RAMOS                       AR     90013528135
1552125454B555   BARBARA       WATKINS                     OK     90013222545
1552247787B489   SHARKARA      PETERS                      NC     90011134778
155238A5993723   KATIE         FLINN                       OH     90013928059
15523A4AA5B526   CHRISTINA     DUTCHER                     NM     35012580400
15523A78A4B588   MIGUEL        GOMEZ                       OK     90014980780
15524436172B64   MIRNA         MIRAMONETS                  CO     90004184361
1552462284B588   EVELYN        FURR                        OK     21580936228
1552577929373B   DEBRA         PIERCE                      OH     90000837792
1552874A177344   MILDRED       MELENDEZ                    IL     90013537401
15529752172B35   JESSIE        RUBIO                       CO     90000427521
1553259535B154   CLORIA        SMITH                       AR     90011325953
1553281A291895   ROBERT        MCCURLEY                    OK     21092818102
15532A3977B489   BRANDON       HALL                        NC     90014010397
1553517974B26B   ROCHELLE      YOUNGS                      NE     26049271797
1553616734B26B   SETH          MARSHALL                    NE     26073351673
1553642715B154   MONICA        MEDLOCK                     AR     23054174271
15536494A61958   DANIEL        HERNANDEZ                   CA     46064554940
155364A7A5715B   MIGUEL        NUEVA                       DC     90007524070
155365AA87B489   CHRISTOPHER   WALKER                      NC     90011135008
155382A245B154   BRITTANY      DUMAS                       AR     90013652024
155394A7A5715B   MIGUEL        NUEVA                       DC     90007524070
1553B7A6A91263   FREDRICK      WASHINGTON                  GA     90006317060
1554258234B26B   SANDRA        BOWLES                      NE     90014065823
1554336854B26B   JONIE         ROLFSMEYER                  NE     90010263685
15543555A4B588   BRADLEY       STATES                      OK     90014575550
15544981172B62   RENAY         BROWN                       CO     33085789811
1554747714B26B   SCOTT         KAPKE                       NE     26037534771
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1554B8A385715B   ABIBATOU      SESAY                       VA     81085928038
155517A929373B   JOSE          LEON                        OH     90011847092
15553635A31687   ANTHONY       SALTERS                     KS     90014986350
1555448A34B588   EUGENE        MYERS                       OK     90014014803
15554A27161958   LETISIA       TASKIRAN                    CO     46011050271
1555526195715B   CARLOS        CERVANTES                   VA     90001562619
1555647459373B   MELISSA       DICE                        OH     64528864745
15556A12672B62   EDWARD        MARQUEZ                     CO     90006110126
155573A225B526   ANNIE         CORDOVA                     NM     90001613022
155588A417B489   SHAVONDA      HARRIS                      NC     90015338041
1555893674B588   RONALD D      ROSS                        OK     90003579367
15558A41897B3B   ISAIAS        LOYA                        CO     90015150418
1555944784B26B   MOZELL        RICHARDSON                  NE     90013784478
15559955A91895   LORRAINE      ARZOLA                      OK     90008139550
1556362672B876   CHRISTOPHER   HALL                        ID     90007906267
1556391633B352   SARAH         MARR                        CO     90013939163
1556642A961958   DESERGIO      ANTHONY                     CA     90013494209
1556697475B154   ABRAHAM       JOHNSON                     AR     90013779747
1556765A761958   RHONDA        STALKER                     CA     46091096507
15568348224B7B   WILBERTO      MENDEZ                      VA     90011783482
15568A12491895   CASEY         WRIGHT                      OK     90014380124
15569338A4B26B   LENETTE       JOHNSON                     NE     26072813380
1556955235B154   KEYONNA       THOMAS                      AR     90014095523
1556B629491569   ANTHONY       CRUZ                        TX     90010616294
1556BA2A291569   ANTHONY       CRUZ                        TX     90013850202
1556BA69672B33   IRIANNE       LOINAZ                      CO     90014850696
1556BA7A855976   AUORA         SONORA                      CA     90000790708
15571A78A4B588   MIGUEL        GOMEZ                       OK     90014980780
1557218514B588   MOSES         RIVERA                      OK     90012541851
15572233624B4B   JONATHAN      CARTLEDGE                   DC     90010682336
1557264A361986   ROGER         FEECE                       CA     90003246403
155732A3A9373B   ANGELA        ALEXANDER                   OH     90007372030
1557372724B588   TYRONE        BAKER                       OK     90014147272
155771A4691592   ALEJANDRO     PESANTE                     TX     75002671046
1557817869373B   CLYDE         KING JR                     OH     90012001786
1557838115B526   DIANA         MOLINAR                     NM     35045923811
155783A7447956   BALTAZAR      GALVAN                      AR     24045453074
1557918594B588   PEGGY         LANDRUS                     OK     90012541859
155796A159373B   LAWRENCE      HAGLER                      OH     64532026015
1557B191A4B26B   JEREMY        ANDERSON                    NE     26063161910
1557B681872B23   ABRAHAM       MARES                       CO     90001386818
1557B6A6A55976   ELIAS         CALIFORNIA                  CA     49073326060
1557B8A1A41384   MEGAN         MATIN                       MA     90012518010
15581784A4B26B   THERESA       WHITING                     NE     90013627840
1558454775B526   GUSTAVO       PRECIADO                    NM     90007015477
15584568972B62   JACQLINE      RODRIGUEZ                   CO     90000925689
1558499A14B548   JEAN          BOWDEN                      OK     90009359901
1558615725B154   HOPE          WALKER                      AR     23061001572
1558645915715B   GLENDA        GRIJALVA                    VA     90012004591
15586628872B62   ANTWON        SPIRES                      CO     90007776288
155866A759373B   KENYOTTA      WILLIAM                     OH     90013496075
1558685657B668   WILLIAM       SUTTON                      GA     90012788565
15587148A5B526   MARIAN        GONZALES                    NM     90014401480
1558787534B588   AMANDA        ELLIS                       OK     90012958753
155879A9A91569   ELENA         ARROYO                      TX     90012859090
1558823225715B   TERRY         YOUNG                       VA     90007462322
1558829615B154   DEMETRIA      HAMMONDS                    AR     23018752961
15588A3115B526   NAOMI         MIRABAL                     NM     35098190311
15589A2342B863   SCOTT         STEVENS                     ID     90010240234
1558B4A6A7B489   NATAKI        STINSON                     NC     90014914060
1558B57177B489   DON           AGUILAR                     NC     90011075717
1558B767272B62   JACOB         TRUJILLO                    CO     90011377672
1558BA6345B526   MANUEL        LOPEZ                       NM     90012800634
1559112534B26B   AMERILLA      WAGONER                     NE     26081571253
155912A424B588   ANTONIO       SANDOVAL                    OK     90012542042
155913A4957147   JUAN          DIAZ                        VA     81073473049
1559183994B543   FERNANDO      HERNANDEZ                   OK     90006218399
15591A53491569   VIVIAN        OROZ-URENO                  TX     90013420534
1559236435B154   DANIELLE      PETERSON                    AR     23007113643
1559241924B555   DORIS         GILBERT                     OK     21582824192
1559258A557562   ALINA         BAILON                      NM     90012555805
1559483814B588   REYES         ALICIA                      OK     90014418381
1559668913162B   ERNEST        THOMPSON                    KS     90013156891
1559695494B588   MARIO         LOPEZ                       OK     90014249549
15596A44A57147   HENRY         GARMON                      DC     90010980440
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155983A625B135   TANYA          ANDERSON                   AR     90014513062
1559895724B26B   EDWIN          JOHNSON                    NE     26017519572
1559943574B588   DEANNA         MODLIN                     OK     21528874357
1559B762857147   ROBIN          CASHDOLLAR                 VA     90013817628
1559B9A6661958   ALBA LETICIA   URTADO                     CA     90013649066
155B1176977529   CATRIONA       LANDAVAZO                  NV     90003951769
155B183259379B   SANTAMARIA     SALVATORE                  OH     90014828325
155B257A861958   ALBERT         CASTRO                     CA     90010865708
155B2986647956   ERIKA          RAMIREZ                    AR     90009159866
155B29A8157164   JOSE           BLANCO                     VA     90003779081
155B2A1A857562   LETICIA        MILLER                     NM     90005600108
155B2A48371982   MARTIN         LEDBETTER                  CO     90011450483
155B36A944B588   JANEESHA       LEE                        OK     90014786094
155B4A77372B25   THANG          MANG                       CO     90004310773
155B5182431687   TARENDA        BERRY                      KS     90002851824
155B525292B236   SAMUEL         URIOSO                     DC     81015922529
155B577734B588   DANNY          LEMONS                     OK     90014517773
155B578645B599   RITA           BANNER                     NM     90007987864
155B613124B588   DEBRA          ROLLANS                    OK     90012541312
155B811247B489   ADOLFO         GARCIA                     NC     90011631124
155B8326291895   ANTONIO        BROOKS                     OK     90012993262
155B86A6953B32   RANDALL        TURNER                     CA     90005246069
155B9323157147   NOEL           HERNANDEZ                  VA     90012803231
155B9458861958   LEONEL         HERNANDEZ                  CA     90015014588
155B9746391263   JOSHUA         FRIZZELL                   GA     90012567463
15611619A4B22B   DIANNA         JONES                      NE     90009266190
1561179A447956   CYNTHIA        LEE                        AR     24092317904
1561246A35B526   MIKE           GABALDON                   NM     35067954603
15613823172B62   DERECK         BORREGO                    CO     90011418231
1561497A455976   JIMENA         MONTES                     CA     49051909704
1561547429373B   BROWNLEE       DENISE                     OH     90001574742
1561729A172B62   THOR           DAHL                       CO     90008602901
15617947897B69   LUCA           LEPORI                     CO     90011859478
156179A4557147   ELDAV          VEDDE                      VA     90011609045
1561961394B588   MARY           FIELDS                     OK     90010416139
1561B39124B588   CHRISTAL       CONTRERAS                  OK     90005533912
1561B74515B154   CORINA         PACHECO                    AR     90011957451
1561B99765B526   ROSALVA        RAMIREZ                    NM     90008049976
1562121A191836   MARIA          MARTINEZ                   OK     21096212101
1562213257B489   SAMUEL         PARTIN                     NC     90003791325
15622A8724B588   SOFIA          GRAMAJO                    OK     90012900872
1562333214B588   RICHARD        DYAS                       OK     90013483321
156236A515B526   JONATHAN       ZAMORA                     NM     90009936051
15623A73547956   DEBRA          DUMAS                      AR     24046960735
15624221A55976   RICHARD        GONZALEZ                   CA     90012502210
1562621385B154   MELESSIA       PIPPEN                     AR     90014362138
1562838A49373B   KEITH          WALKER                     OH     90012803804
1562888385715B   SALOME         TORRES                     VA     81067598838
15628A93A7B489   FERNANDEZ      HUNTER                     NC     90012750930
1562941899373B   LASHANNA       MURRAY                     OH     90002354189
15629AA9984375   SAMANTHIA      BURRIS                     SC     90009190099
1562B61394B588   MARY           FIELDS                     OK     90010416139
1562B646191569   ACENCION       MARTINEZ                   TX     75077896461
15631748872B62   ALICIA         DOMINGUEZ                  CO     33026427488
1563229447B489   RICARDO        FAUNDEZ                    NC     90013902944
1563261755B282   JOHN           MINKS                      KY     90008316175
15633371172B62   JUSTIN         JOHNSON                    CO     33054043711
15634894A5B526   ONOFRI         MENDOZA                    NM     90013608940
15637679A7B489   MABLE          COLSTON                    NC     90010196790
15638148A54B84   FRANCISO       SEGOVIA                    VA     90008291480
1563822383B375   SILVIA         REYNA                      CO     33014582238
1563B124A2B259   MERCEDUS       LONG                       VA     90001161240
1563B694261958   MARIANA        ESPARSA                    CA     46064006942
1563B856731637   NATASIA        JOHNSON                    KS     90010968567
15641587A7B43B   CHERYL         HARDY                      NC     90004305870
1564177755B526   LUIS           MARTINZ                    NM     90004067775
156425A8791569   ADRIAN         SARINANA                   TX     90013305087
15643715A91895   CRISTIE        GOULD                      OK     21072227150
156442A6A85999   AMY            COOK                       KY     66024392060
15644A1984B26B   NICOLE         CARPER                     NE     90006620198
15644A27991569   SAUL           PEREZ                      TX     90008150279
15646A91661947   EARL           WELLS                      CA     46088140916
1564843164B588   DESMOND        POBDINGA                   OK     90015174316
156492A284B588   JOSE           SOSA                       OK     90012742028
1564978494B298   JULIE          PETERSON                   NE     90011307849
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1565135724B26B   RICHARRD      CROUSE                      NE     90014533572
15651965A5B154   DAMARIUS      HOWARD                      AR     90011059650
15651A9755B526   CORINA        BARELA                      NM     35092030975
15652198A31687   LACEY         HEROD                       KS     90005541980
1565272A79373B   MICHAEL       GALENTINE                   OH     90008707207
1565396214B26B   RYAN          HARBAUGH                    NE     26010679621
1565479316197B   ALFONSO       MARTINEZ                    CA     90015027931
1565497385B154   CEDRIC        BROWN                       AR     90014649738
15655237172B62   MANUELA       SANTILLAN                   CO     90014772371
15655946A9373B   DESMAND       HILL                        OH     90014779460
15655A3A14B588   KARLA         WIGGINS                     OK     90014850301
15655A9882B968   ASCENCION     RODRIGUEZ                   CA     90011550988
15657448272B62   SHAH          HUGH                        CO     90013014482
156579A154B588   MELISSA       WHITE                       OK     90003759015
1565844A731687   LUZ           ACOSTA                      KS     90007684407
156588A585B155   PASCHA        WILLAMS                     AR     90011598058
15658A85A55976   ROBERT        ACORD                       CA     49056820850
15659314A61938   IRIS          OROPEZA                     CA     46057363140
15659369A31687   LISA          BEGLEY                      KS     90014993690
15659A11391569   ALBERTO       DESANTIAGO                  TX     90013170113
15659A5674B26B   JARED         ANDERSON                    NE     26032570567
1565B14517B489   RAUL          HERRERA                     NC     90011451451
1565B889231687   AMY           MAUS                        KS     90011138892
1566132A591569   ACOSTA        BRIAN                       TX     75012053205
15661998A4B26B   SHONDA        FARBER                      NE     90013579980
1566217244B588   KAYLA         RICCARDI                    OK     90014781724
1566293435B526   CHRISTOPHER   LUCERO                      NM     90007559343
15662A9524B26B   JULIE         REPLOGLE                    NE     26011100952
1566395414B588   ALLAN         HOPWOOD                     OK     21580069541
15665A23591895   CHRISTINA     BOATRIGHT                   OK     90005180235
1566642724B588   JOSE          RAMIREZ                     OK     90009784272
1566661674B26B   JENNIFER      RAMIREZ                     NE     90015026167
156669A4A91895   DERICK        FOWLER                      OK     90014099040
1566793415715B   SHUVASISH     ROY                         VA     81067699341
1566831185B526   ANA           LEDEZMA                     NM     90010563118
1566859745715B   HERLINDO      CONTRERAS                   VA     90010765974
15669429A9154B   JORGE         ALDAY                       TX     90004834290
1566B26674B588   MARIA         EDWARDS                     OK     90012532667
1566B412672B62   YANELLY       CASTERON                    CO     90013734126
1566BA1A191569   RUBY          TRUJILLO                    TX     90015060101
1566BA5AA9373B   BRIAN         POBST                       OH     90006510500
15672358944B23   KAYLEE        LANESE                      OH     90014173589
15672896A5715B   MAURICIO      ACOSTA-TORRES               VA     81068738960
15672A45957579   IDA           ORTEGON                     NM     90012800459
15674175A91569   LINDA         ARROYOS                     TX     90010131750
1567457399373B   CHANEL        ESLICK                      OH     90013005739
1567484955715B   ORDONEZ       ORDONEZ                     VA     90001568495
1567621518B165   ANGEL         GIL                         UT     90001732151
15676628272B62   JEAN          WASHAM                      CO     33003576282
1567672AA5413B   TAYLOR        WOOD                        OR     90012457200
1567745484B588   SARA          CASIMIRO                    OK     90013474548
1567777132B275   LEONARDO      GREEN                       DC     90000727713
15677A36591569   GERMAN        AVILA                       TX     90013990365
1567828145B526   ROBERTA       SALAS                       NM     90013182814
1567883964B588   SONIA         ARRIOLA                     OK     90015138396
15678A2375B154   SHAREE        JEFFERSON                   AR     90002470237
1567958224B588   ISRAEL        RUIZ                        OK     90001375822
1567B21A96B262   THOMAS        RIDDLE                      AZ     90011702109
1567B99A45B154   ROBYN         GALBERT                     AR     90012029904
156811A5155976   CESAR         CHAVEZ                      CA     90013111051
156816AA77328B   RONALD        KUHL                        NJ     90014866007
1568218A755976   SONYA         MORALES                     CA     90013321807
1568273985B526   OBED          VELAZQUEZ                   NM     90014897398
1568293A44B588   RUBEN         FUENTES                     OK     90011499304
15683264A7B489   OSCAR         CASALEGNO                   NC     90014382640
1568439489373B   TAMMY         TAGUACTA                    OH     90013353948
1568525377B436   JOSE          CAPELLA                     NC     90004822537
156852A9591895   JAIRO         HERNANDEZ                   OK     90010902095
1568563337B489   ONDRE         STEVENS                     NC     90011136333
15685A58391964   EMILIO        SOLIANO                     NC     90010920583
156871A7A61985   ART           GARCIA                      CA     46006091070
15687593172B62   CASSANDRA     MADUBA                      CO     33087865931
1568856A161958   DOLORES       PLANDOR                     CA     90014845601
15689A9A961958   FRANCISCO     PENA                        CA     46092250909
1568B584131687   TYRONE        ADAIR                       KS     90015005841
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1568B95327B489   MARIO        LARA                         NC     90014969532
15691A88655976   WENDELL      HUBBERT                      CA     90013700886
1569227934B588   DON          BIFFLE                       OK     90003532793
156922A217B489   MARKEISHA    TAYLOR                       NC     90009582021
15692A3887B489   MARKEISHA    TAYLOR                       NC     90014740388
15692A86291569   ALMA         ROBLES                       TX     90012360862
15693367772B62   ROSALYN      JUAREZ                       CO     33052083677
1569367744B588   DIANA        MORENO                       OK     90011486774
15694A54191569   SILVIA       LUNA ESTRADA                 TX     90012990541
1569655A757147   BLANCA       LOPEZ                        VA     90008065507
15697487224B7B   D            HAMILTON                     DC     90014884872
1569852245B526   LURDES       CASTILLO                     NM     90009565224
1569955654B588   GOERGE       MILLER                       OK     90013145565
15699894A5B526   ONOFRI       MENDOZA                      NM     90013608940
1569B954772B62   BRITTANY     BARELA                       CO     90003109547
156B1722731687   PHILLIP      HESTON                       KS     90014987227
156B1979861938   YORDAN       VALDIVIA                     CA     90005399798
156B2322691554   JUAN         NAVARRETTE                   TX     90012733226
156B286267B489   MARTHA       ELSTON                       NC     11086248626
156B3175A9373B   SHERRICKA    COLEMAN                      OH     90013881750
156B422817B442   TIFFCNY      FAIR                         NC     11064252281
156B443A561958   JOCELYN      JIMENEZ GANDARILLA           CA     90013494305
156B4475761958   YESICA       CHAVEZ                       CA     90011424757
156B4554355999   JUAN         CORDOVA                      CA     90001055543
156B468913162B   ERNEST       THOMPSON                     KS     90013156891
156B5746161938   KELLY        HALL                         CA     46029017461
156B5939857147   MARVIN       GUARDADO                     VA     90015119398
156B6552472B62   JAVIER       FRAUSTO                      CO     90010915524
156B7424291945   AMANDA       BARBEE                       OR     90010214242
156B7585672B62   JOSHUA       SIMKO                        CO     90007685856
156B7A7A391895   MUNG         KHAN                         OK     90015170703
156B8486491584   LIZET        CARRASCO                     TX     90009064864
156B893A38439B   DONNA        MCKINNEY                     SC     90008089303
156B9935491569   OSCAR        CHAPARRO                     TX     90008119354
156BB425831687   DON          KIRK                         KS     90013434258
1571164134B26B   MARIO        ESPINOZA                     NE     90011146413
15711974324B7B   RITA         VASQUEZ                      VA     90014569743
15712473A5B154   TONY         RAWLS                        AR     23089814730
1571378865715B   YAMILETH     QUINTANILLA                  VA     90011307886
15714467372B62   MARIA        ROMERO                       CO     33004554673
15715797672B62   CARMEN       VASQUEZ                      CO     90005887976
15715A1425715B   APRIL        PARR                         VA     81022970142
1571642137B489   BRADLEY      ANDERSON                     NC     90014954213
1571672A45B154   LEWIS        PARNELL                      AR     90003887204
1571693765B526   TYRONE       BILAGODY                     NM     90014569376
15717722372B37   IOANA        MARIN                        CO     33081667223
1571787AA72B62   VINCENT      ROBLES                       CO     90013018700
15718763872B35   OLGA         ESCARCEGA                    CO     33067247638
15719323372B62   ALMA         RODRIGUEZ                    CO     90014573233
1571932697B489   SALVADOR     RAMIREZ                      NC     90011473269
1571948425B526   ANNA         TRUJILLO                     NM     35004494842
1571965AA91263   MICHEAL      WEST                         GA     90014946500
157196A1A9373B   LYNCH        MICAH                        OH     90010886010
15723A4A791263   JJ           JJJ                          GA     90010590407
157246A1572B62   MARTHA       MENDEZ                       CO     90011456015
157248A425B526   PATRICIA     ROCHA                        NM     90002818042
1572858685715B   JUAN         PABLO CARCAMO                VA     90006825868
1572954437B489   JAMES        RIOS                         NC     11042905443
1572987A85B154   MARIAH       POWELL                       AR     90013738708
1572996384B26B   AMANDA       MASCHMAN                     NE     26043349638
1572B649954133   PATRICIA     ANDAVERDE                    OR     90009346499
1572BA36661992   MARIA        MARTINEZ                     CA     90008960366
157314A8A31687   TERESA       ORTIZ                        KS     22054424080
15732194897B3B   CAMILO       ARELLANO                     CO     90001951948
157329A6891569   MIREYA       URIBE                        TX     75063559068
15735A67291263   RICHARD      JACKSON                      GA     90010590672
157392A134B26B   NICK         LUDEMANN                     NE     90015492013
1573BA95561938   MARIBEL      DOMINGUEZ                    CA     46013220955
1574124AA9373B   ALLANTE      JOHNSON                      OH     90009282400
1574235625B154   KAISHAUN     BROWN                        AR     90011493562
15743A2977192B   MARCO        GRANADOS                     CO     90011160297
15744261872B62   UBERTINO     MARTINEZ                     CO     33092752618
1574436475B532   TONY         MARTINEZ                     NM     35013413647
15744592472B34   DONNA        VEYETTE                      CO     90011135924
1574696615B154   ARMANDO      ROBLES                       AR     23060839661
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1574734A957147   JOSEPH         HOWARD                     VA     90000523409
15747A47A5B334   TAMI           FIDLER                     OR     90005730470
15748591872B62   FREDRICO       LAMARR NEVINS              CO     90007685918
1574898165B526   LARRY          SMITH                      NM     35077419816
15749264A7B489   OSCAR          CASALEGNO                  NC     90014382640
1574944395715B   KARLA          SALINAS                    VA     90015064439
1575199457B489   REBECA         MIRANDA                    NC     90001039945
15752358A91573   ALEJANDRO      DELATORRE                  TX     90009493580
15752A21955976   VERICK         PHEANG                     CA     90011860219
1575429965B526   BARBOUR        FAYETTE                    NM     90014962996
157542A6691895   CATHERINE      ROE                        OK     90000762066
15754381A91569   RAFAEL         ONTIVEROS                  TX     90014703810
1575476277B489   TANIA          MORALES                    NC     90009637627
1575487A472B62   MANUEL         PEREZ                      CO     90005978704
15755399A5B395   JESUS          SANTILLAN                  OR     90009753990
1575541A991263   MARK           RICHT                      GA     90010594109
15756A84A5B154   DEBORAH        BASS                       AR     90011060840
15757877A91569   AZALIA         CORRAL                     TX     90010368770
1575838639373B   AMY            EBY                        OH     64516113863
1575922344B588   JAMES          BREWER                     OK     90015012234
1575939995B526   NORA           HERNANDEZ                  NM     90009913999
15759A44572B62   TIMOTHY        JOHNSON                    CO     90012040445
1575B199A61958   GABRIEL        ALTAMIRANO                 CA     46087481990
157619A6661958   ALBA LETICIA   URTADO                     CA     90013649066
1576556867B668   DECETRA        CONNER                     GA     15016035686
1576661875B526   LULU           PIRO                       NM     90008486187
157671A995715B   BRYAN          LUCARINI                   VA     90008841099
15767A8829373B   SCOTT          PORTER                     OH     64562060882
15767A8A661958   THERESA        BILLS                      CA     46009220806
1576B879761958   CARINA         VERGARA                    CA     90012488797
1577184298164B   BRIAN          KEYES                      MO     29022048429
15772176372B62   HILDA          PONCE                      CO     90002671763
1577338838B164   VICTORIA       RAMIREZ GRAJEDA            UT     90012053883
1577399324B26B   DENISE         GALLARDO                   NE     90014609932
1577565548B167   NELSON         MARTINEZ                   UT     90005206554
157758A429373B   ANGEL          LOUGH                      OH     90014638042
15775A47257147   DEREK          LARKIN                     VA     90012570472
15776313672B28   KELLI          BAKER                      CO     90007263136
15776968972B62   SANDRA         WILLIAMS                   CO     90012579689
1577775335B154   REGINALD       HOLLIMAN                   AR     90014867533
1577B52495B396   DONALD         PALUMBO                    OR     90007535249
1577B539A72B62   ANGEL          PEREZ                      CO     90015115390
1577B63654B588   DEVERA         ALLEN                      OK     90011346365
1577B87339373B   ELAINE         MOODY                      OH     64591698733
1577BAA1891569   MARVIN         DODSON                     TX     90013170018
157812A714B588   KATHI          ROYAL                      OK     90012742071
1578242465B526   MAX            TORRES                     NM     90013964246
1578251545B154   PAUL           MATTHEWS                   AR     90014075154
15783267A91396   CHARLES        KESSLER                    KS     29081942670
157834A475133B   CANDISS        JOHNSON                    OH     90010204047
1578351744B588   RACHEL         GAMBLE                     OK     90013895174
15783811172B62   NATHON         MILLER                     CO     90012898111
157845A6691569   IGNACIO        MENDOZA                    NM     75035215066
1578564872B227   JAMES          HOOKS                      DC     90010776487
15786369624B7B   VERONICA       MARTINEZ                   DC     90008373696
15788486872B62   CARLOS         PEREZ                      CO     33019934868
15789A2A171949   LISA           EDDY                       CO     32011730201
1578B19835B526   ROBERTO        MARTINEZ                   NM     90013531983
1578B199697B3B   VANESSA        SAINZ                      CO     39011361996
1579129949373B   DERICK         LOWE                       OH     90011372994
1579156A691895   REBECCA        SMITH                      OK     90012745606
1579288A75B154   ELVIS          CLARKS                     AR     90011068807
15792A31485922   JANE           MURRAY                     KY     90013020314
15793A65391569   MAYRA          DIAZ                       TX     90007340653
1579482255B526   LUIS           GARCIA-KALUAKINI           NM     90009998225
1579631529373B   KAYLA          BUSCHHORN                  OH     90014193152
1579637A431684   ANTHONY        JONES                      KS     22012283704
15797299772B77   DONNA          ELLISON                    CO     33021852997
1579B48218B189   CRAIG          STEN                       UT     31004234821
157B121827B489   DIANE          ANDERSON                   NC     11038092182
157B132A231687   LAP            BUI                        KS     90012333202
157B194655B526   SILVIA         TRUJILLO                   NM     90010039465
157B3217891895   LISA           PETERS                     OK     90010902178
157B3226531687   GABRIEL        ZAPTA                      KS     90014702265
157B3726247956   CHRISTOPHE     COX                        AR     90002727262
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157B513A15B526   ANASHA       COLLINS                      NM     90015201301
157B536894B26B   ROBERT       GRADY                        NE     90006803689
157B5989A61958   AMBARO       AHMED                        CA     90011369890
157B5A5277B489   BRYAN        SHAW                         NC     90014580527
157B693A154133   ALEXI        BUSSEY                       OR     90014169301
157B715877B435   KIARA        MURPHY                       NC     90011431587
157B7454391263   ROBERT       HAMILTON                     GA     90006574543
157B991A157147   ALAN         CRUZ                         VA     90010849101
157BB34997B489   LATOYA       JENNINGS                     NC     90014643499
157BB43377328B   MARIE        GEBAUER                      NJ     90014344337
157BB48359373B   JOHNNETTA    CORE                         OH     64529144835
157BB816455976   JAVIER       SANCHEZ                      CA     49065108164
158111A1731687   ALEJANDRA    ARELLANO                     KS     90011141017
15812398472B62   FIDEL        DEDIOS                       CO     90012263984
158127A8391586   IMELDA       UBANDA                       TX     90012987083
1581288214B26B   MISTY        RUDDER                       NE     26038728821
1581296165715B   ANGEL        CORTES ROMERO                VA     81067659616
15815159A72B62   LUIS         ALVAREZ                      CO     33098381590
1581566A65B526   CAROL        SPENCER                      NM     35005706606
15815A77681665   BREONNA      JACKSON                      MO     90013830776
15816A2754B53B   DERICK       SCOTT                        OK     90008700275
1581736A155963   GENOVEVA     ROMERO                       CA     90010573601
1581813536B262   RENAE        TAWNEY                       AZ     90011851353
158187A5291569   MARIA        CALANCHE                     TX     90012737052
15818A27272469   KIMBERLY     SHENKLE                      PA     90013470272
15819251A91569   MARIE        DELGADO                      TX     90007292510
1581935757B489   SHARON       MCNEIL                       NC     11052463575
1581996555B526   LETITIA      PALUMBO                      NM     35009919655
15819A47257147   DEREK        LARKIN                       VA     90012570472
1581B24325B526   DOROTHY      PALLARES                     NM     90004962432
1581B669855976   MARTIN       ECHEVERRIA                   CA     90006806698
1581B9A3355976   PAULA        HILL                         CA     49017899033
1582147677B426   SHANICE      BROWN                        NC     90014724767
15822482272B58   MARCO        JIMENEZ                      CO     90012374822
1582271685B154   RONALD       WILLIAMS                     AR     23091587168
15822A6A957147   MARIA        CHAN                         VA     90012450609
1582431824B588   VICTORIA     WALLER                       OK     90014743182
1582435434B582   STEVEN       JONES                        OK     90011193543
15826275A72B62   TOMMY        MCMILLIAN                    CO     90015032750
1582716434B588   ALBERT       JACK                         OK     90015161643
158271A1991263   ALBERTO      ARANO                        GA     90010601019
1582896AA72B62   HUGO         MARTINEZ                     CO     33012809600
15828AA7391895   KIMBERLY     HANNER                       OK     21095610073
15829461A5B154   MARIO        TREJO-VIZUETH                AR     90014324610
1582962254B26B   JORDAN       MAY                          NE     90010746225
1582992A772B26   RONALD       BURDEN                       CO     90002899207
1582B23487B489   BARBARA      RUSHING                      NC     90002262348
1582B254891569   JESSICA      BARAJAS                      TX     90012952548
1582B395A91554   MARTHA       CERECERES                    TX     90010503950
1582B539A55976   LAZARO       LEON                         CA     90012875390
15831388A5B154   LATRICIA     HARRIS                       AR     90013653880
15832761A31947   ANNA         MCCOMAS                      IA     90014157610
15832A9934B588   TIFFINY      ARNDT                        OK     90012900993
1583346A25B154   ARTHUR       BURHAM                       AR     90006424602
15833862A9373B   KETORI       CLEMENS                      OH     90006978620
1583393AA4B26B   ERIKA        MICKLE                       NE     26069809300
158369A7455976   JONH         WHEELER JR.                  CA     49022319074
1583969284B26B   BERNADETTE   HILL                         NE     26029656928
1583B76135B154   JAMILAH      SCOTT                        AR     90014287613
1584267A34B26B   JOHN         GRAY                         NE     90010736703
158448A7597B46   JENNIFER     HEFFRON                      CO     90006598075
15845634A93724   CHRISTINA    WHITE                        OH     90003706340
15846AA6957147   BAIAN        GREENE                       VA     90014390069
1584724549373B   SHON         BROWN                        OH     90010012454
15847522872B26   JENNIFER     NEIBERGER                    CO     33022445228
1584765A261958   DONALD       CAMERON                      CA     90005796502
15847A1A191569   RUBY         TRUJILLO                     TX     90015060101
15848141872B62   DORCAS       HERNANDEZ                    CO     90012481418
1584972524B26B   SHELBIE      WALKENHORST                  NE     90003657252
1584999615B342   APOLINAR     ALMONTE                      OR     44556359961
15849A2819373B   NATASHA      HUTCHERSON                   OH     90011210281
1585177A25B526   SUSAN        PEREZ                        NM     90011677702
1585262527B459   DAMON        BOST                         NC     90001796252
1585537493B122   MELAKU       BANTEAMLAK                   VA     90010033749
15855529672B62   TABITHA      D HERNANDEZ                  CO     90010315296
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158568A1755976   MARIA            ORROSTIETA               CA     90012668017
15856A4379373B   BRADLEY          CARWILE                  OH     90012050437
15857451972B4B   BRANDI           HOFFMAN                  CO     90010714519
158574A1285823   ADRIAN           CRISAN                   CA     90010314012
158582A9A91569   DIEGO            LEGARRETA                TX     90008432090
158591A7991554   YVETTE           PEREZ                    TX     90009931079
1585949AA91569   ANTONIO          REYES                    TX     75042914900
15859A5A924B7B   TROY             PARKER                   DC     90011800509
1585B282591569   NAVIL PALOMA     FLORES VAZQUEZ           NM     90014542825
1586165A15B154   ROMMEL           CHRISTIAN                AR     23083266501
158638A3561958   OFELIA           PORFIRIO                 CA     90002848035
1586614987B34B   ROBERT           MEYERSON                 VA     90003391498
158661A5257147   BLANCA           MARTINEZ                 VA     81089771052
1586637779373B   MIKE             JONES                    OH     90014483777
1586919917B489   MAYRA            MARTINEZ                 NC     90013301991
1586923495B154   NICOSHE          JAMES                    AR     90005762349
1586959144B22B   FABIOLA          GONZALEZ                 IA     90011385914
1586B428472B62   SHARLENE         CHACON                   CO     33044244284
1586B716791569   PERLA            CALDERA                  TX     90007327167
1586B768A51357   SHIRLEY          CRAWFORD                 OH     90008167680
158712A685B154   DAWN             BRIGMAN                  AR     23085412068
158726A923B33B   JULIA            DIAZ                     CO     90014596092
1587274567B489   BRADLEY          ROBERTSON                NC     90011497456
158735AA25715B   JESUS            HENRIQUEZ                VA     90011175002
15873A3844B26B   KAYLA            STORM                    NE     90011260384
1587447155413B   ELIZABETH        PINEDA                   OR     90015044715
1587447AA9373B   APRIL            PATE                     OH     64591284700
1587453A555976   ROGER            DUNBAR                   CA     90003185305
1587682677B489   ROSALINA         CRUZ                     NC     90014148267
15876A8199373B   KELSEY           HENDERSON                OH     90004230819
158771A174B588   MARCELA          OCHOA                    OK     90008161017
1587729328B472   GWENNITTA        BANKS                    VA     90015142932
1587767774B26B   BREANNA          SCHROEDER                NE     26095946777
1587887914B26B   JOSEPH           KINNEY                   NE     90006138791
1587993A655976   ANGELA           HERNANDEZ                CA     90013099306
1587B59AA72B62   MICHELLE         CHACON                   CO     90012815900
15881A12891885   ALEJANDRO        DE LA CRUZ               OK     90008900128
1588363485B154   JOYCE            HIGGINS                  AR     23001646348
1588568679373B   BROOKE           BANKS                    OH     64533226867
1588591757B489   CEDRIC           HODGES                   NC     90013559175
15885A72261958   ALETHEA          KELSO                    CA     90014830722
1588814655715B   KATRINA          LEIGH                    DC     90007741465
158883A545B526   SINTIA           BENCOMO-MOLINA           NM     35013913054
1588843875B154   TIFFANY          WATSON                   AR     90014344387
1588862475B154   TIFFANY          WATSON                   AR     90012856247
1588912885715B   SHARMAINE        BUCKNOR                  VA     90008011288
1588B64434B588   AURORA           MARTINEZ                 OK     90012756443
15891951972B62   AYANA            LEVY                     CO     90009149519
1589321455B154   LADEIDRA         MOORE                    AR     90013622145
15893228A42597   EDGAR            PENA                     WA     90015422280
1589323725B532   AMANDA           GARCIA                   NM     35006652372
158946A239373B   DAVID            DAVIES                   OH     64512476023
15894765324B7B   SUREE            BROWN                    DC     90012847653
1589681A42B685   EVAN             SAUNDERS                 WA     90015508104
1589746A572B62   JASMIN           MARTELL                  CO     33014144605
15898A27961958   NANCY            HOWARD                   CA     90009840279
15899349A61958   JOHN             MILLER                   CA     46091103490
15899573872B62   CHARLEENE        BUSSEY                   CO     90009575738
1589985595133B   REASHAWN         NORMAN                   OH     90007328559
15899A3425B526   JEANETTE PAOLA   OREA-GONSALEZ            NM     90014000342
1589B194391263   WILLIAM          JACKSON                  GA     90013741943
1589B286761958   CAROL            ROBERTS                  CA     46055332867
158B11A1847956   DANE             KHILLING                 AR     90006781018
158B234A431687   TONY             TONIHKA                  KS     22015633404
158B2457593725   CHARLES          CLAY                     OH     90001384575
158B263735B526   MARGARET         LAMAGNA                  NM     90008486373
158B28A4291895   KEANNA           BENTON                   OK     90012998042
158B2915191263   TAWANNA          JOHNSON                  GA     90010819151
158B3978491524   ELVIA            VITELA                   TX     90010859784
158B4194191569   ANGELICA         LIMON                    TX     90013741941
158B5937724B7B   DEMETRA          BROOKS                   DC     90007319377
158B596359373B   LATORIA          WALLACE                  OH     90011249635
158B6A72361958   ARTURO           OBESO                    CA     90014820723
158B764989373B   DORIANE          DAWSON                   OH     90010746498
158B814554B26B   MOE              FREE                     NE     26080151455
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158B8337231687   CHRISTINA    CUBBAGE                      KS     90005043372
158BB54625B526   ROBERT       HENSON                       NM     90009565462
15911737A71929   KAREN        SANDOVAL                     CO     32099167370
1591316599373B   TOMMY        HOYD                         OH     90001341659
1591567334B26B   MELISSA      LEUTY                        NE     90010916733
1591592594B26B   MELISSA      LEUTY                        NE     90013539259
1591758155B526   ALYSHA       ARANDA                       NM     90011185815
1591821175B526   GORDON       ALLEN                        NM     90013082117
1591847899373B   ANTOINETTE   TORY                         OH     90013344789
15919A5655B154   MARCUS       JONES                        AR     90014560565
1591B314357147   CARLOS       GUAMUCHE                     VA     90010053143
1591B613755947   KESHIA       JIMENEZ                      CA     90006456137
1591B616291895   ANGELA       DEISS                        OK     90014106162
1591B6A4A57147   DORA         GAITAN                       VA     90015016040
15921692472B62   OLIVIA       TIEH                         CO     90013046924
15921AA399373B   DARSEY       MONROE                       OH     90015140039
15922A53991895   ERIC         MASON                        OK     90012630539
15923A8792B889   MARY         ROLLEY                       ID     42012150879
1592468A272B35   SILVIA       DEJAQUEZ                     CO     33028756802
1592557A391895   CURTIS       CARTER                       OK     21049695703
1592698385B338   TAMMY        BURNS                        OR     44532669838
15927392472B62   ZAGRA        NOURIN                       CO     90012693924
159294A6291569   PATRICIA     PEREZ                        TX     75026034062
1592983375B526   LYNETTE      ABEYTA                       NM     90005588337
1592B3A9831687   SHANNA       KENNEDY                      KS     22043043098
1592B84634B588   LAIRD        LIEN                         OK     90014958463
1593147542B837   COREY        SEELY                        ID     90004144754
1593295724B555   RYAN         SPENCER                      OK     90013859572
1593519A591569   GERARDO      GONZALEZ PEREZ               TX     90013341905
15935223A5B526   CALEB        BRADLEY                      NM     90010252230
15935A19A72B62   LEONEL       REYES                        CO     90014100190
1593653233B392   JOSE LUIS    JIMENEZ-MARITNEZ             CO     33043865323
1593719987B489   BLANCA       GUZMAN                       NC     90010831998
15938429672B62   ALAN         AGUILAR                      CO     90013084296
1593876A42B953   DIONICIA     HERMOSILLO                   CA     90011917604
159395A1A72B62   FABIAN       MOLINA                       CO     90005075010
15939A65A4B57B   BERNICE      LEMIEUX                      OK     90012390650
1593B19A25715B   JOEL         GAVARRETE                    VA     90010771902
1593B65649373B   CANDACE      O KELLY                      OH     90013386564
1594333315B154   ROGER        JOHNSON                      AR     90009363331
1594439497B489   ARACELI      ACATITLAN                    NC     90012733949
1594619357B489   BOSSMAN      ELLISON                      NC     90014351935
1594666475715B   JERRY        SMITH                        VA     90011196647
159473A694B26B   RENEE        DONOHUE                      NE     90014083069
1594797524B55B   BARBARA      MCFARLAND                    OK     90015029752
15949A24672B62   TINA         WRIGHT                       CO     33000030246
1594B78258164B   KARLA        TOLBERT                      MO     90013987825
1594B84174B26B   RUBEN        MENDOZA                      NE     26060388417
1595125854B588   VIVIAM       THOMAS                       OK     90013312585
1595128279373B   MALCOM       KEITH                        OH     64540362827
1595153765715B   CRISTIAN     DENTURA                      VA     90001635376
159517A3791569   DOLORES      LOPEZ                        TX     75082547037
1595211494B588   KYLE         SNYDER                       OK     90014121149
1595256245B154   ANDRE        WALKER                       AR     90011085624
15952A4235B154   TASHA        AMOS                         AR     90013830423
15953253272B62   MICHELE      ALONSO                       CO     33002532532
1595337157B489   ERICA        SMITH                        NC     90013083715
159536A355B526   DIONNNE      DELVANN                      NM     90002296035
15953766A61938   ANGELO       SMITH                        CA     46098307660
15953796A4B588   TIFFANY      STEWART                      OK     90013777960
159539A484B588   TEMPEST      POWELL                       OK     90010629048
1595492915B154   GARY         ASHFORD                      AR     23067359291
1595528528B154   TRAVIS       BENCH                        UT     31010712852
15957A4A391569   ERIC         DE ANDA                      TX     90010340403
1595885665B526   MERCEDES     JENKINS                      NM     90015168566
1595962138B194   TRINA        GALLEGOS                     UT     90008726213
1595984A64B26B   RAYANDA      DUBAS                        NE     90013108406
159599A8191263   HEATHER      TRAMMELL                     GA     90014389081
1595B122457147   MELISSA      DIAZ                         VA     90013551224
1595B89467B489   PABLO        PEREZ                        NC     90007948946
1595B938393763   VINCENT      SHAW                         OH     90004589383
15962A6A161958   ANA          HURTADO                      CA     90010960601
159635A6147956   BETTY        BREEDEN                      AR     24084335061
1596367A48B472   RENEE        RHODES                       VA     90015086704
1596481A897B3B   FRANK        VILLANUEVA                   CO     90003088108
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1596516457B489   ANGHEL         QUIJANO                    NC     11014431645
1596549A757147   ROXANA         ANGULO                     VA     90010534907
15966A13A5715B   FREDY          VELAZQUEZ                  VA     90003080130
15967546272B62   SUSAN          BOUCHER                    CO     90015005462
15968A24A7B489   JEROME         PALMER                     NC     11077600240
1596921A44B588   GREGORY        SNEED                      OK     90012722104
1596999783852B   LYNDSEY        SHAW                       UT     90010269978
1596B162957147   JOSE           UMANZOR                    VA     90000781629
1596B23A391263   OSANCRE        WARD                       GA     90012462303
1596B279891569   JOSE           CALVO                      TX     90013612798
1596B441155976   CHUE           YENG LEE                   CA     90011164411
1596B77132B236   HELEN          TSEHAY                     DC     90009757713
1597123835B526   EDDIE          JARAMILLO                  NM     35060612383
15971471A91895   DERRICK        HILLIARD                   OK     90002794710
15971688872B62   ROCIO          JIMENEZ                    CO     33027506888
1597176A27B35B   MARIA          AGUILERA                   VA     90006597602
159722A3A7B489   CORNELIO       GARCIA                     NC     90014112030
1597293633B368   BRADD          WICKERT                    CO     33077189363
1597479464B588   ROBERT         POOL                       OK     90003967946
15974A4249373B   ROSETTA        MEBANE                     OH     90009840424
1597687174B55B   KELLI          NORRIS                     OK     90005798717
1597759385B154   ARIHANNA       STARKS                     AR     90013355938
1597783475B526   TABITA         SCOBBER                    NM     90013238347
1597921A455976   RODNEY         TAYLOR                     CA     90014902104
1597B94267B489   SULVANA        HOLLIS                     NC     90012659426
15982378272B62   LIL            SOSO                       CO     33079613782
15984A1147B489   SHAWN          HOWARD                     NC     90014690114
15985252672B3B   MARGARITA      ARREOLA                    CO     90010382526
15987113A8B194   MARK J         PATTERSON                  UT     90007641130
1598815A455976   AGEO           JUAREZ                     CA     49082651504
15989649272B62   VANESSA        MARTIN                     CO     33092496492
1598B53675B532   CHARLES-NITA   BURNS                      NM     90005835367
15991134A91569   REFUGIO        BANUELOS                   TX     75094011340
15991383A55976   JESSE          MARTIN HERNANDEZ           CA     90004363830
15991A2824B588   MARY           GODINEZ                    OK     90011530282
159926A1661958   JAMAL          MARRUSH                    CA     90012076016
1599512219373B   BARBARA        ALDERSON                   OH     64591391221
159956A285B179   DENISE         THOMAS                     AR     90014786028
15996389572B89   MOHI           JAMELL                     CO     90005003895
15996A38685B36   SANDRA         PINEDA                     FL     90014120386
1599744542B857   PUENTE         ANGELA                     ID     90011664454
1599836964B26B   COURTNEY       JOHNSON                    NE     90012223696
1599899295B154   JEREMY         NELSON                     AR     90012079929
1599899A14B548   JEAN           BOWDEN                     OK     90009359901
1599959474B26B   MELISSA        SOBOTKA                    NE     90014795947
1599B325247956   CHESTER        STARR                      AR     24083153252
1599B418131687   SCOTT          GARRETTS                   KS     90000384181
159B118915B526   MATT           LUCKETT                    NM     90005421891
159B132277B489   C              CLOVER                     NC     90005453227
159B352A561972   VINCE          IVARRA                     CA     90004405205
159B423914B52B   JESSICA        DAYS                       OK     90011602391
159B43A283162B   JACK           THOMAS                     KS     90010373028
159B4431277577   JOSE           ANGUIANO                   NV     90001324312
159B4632A57147   GILMAR         PEREZ                      VA     90012036320
159B4647591263   TOMOU          HARRIS                     GA     90014696475
159B529137B323   MARLENE        SAPAICO                    VA     90007292913
159B552764B555   SHALALAH       SAUNDERS                   OK     21583885276
159B5817893725   EBONY          SMITH                      OH     90008498178
159B5879A91569   LAURA          HERNANDEZ                  TX     90012808790
159B5882393727   SHAWNTESHIA    MASTON                     OH     90013318823
159B7121455976   JOHN           LONG                       CA     90014531214
159B7A62A5B154   DEBORAH        SIMPSON                    AR     90009360620
159B8279891569   JOSE           CALVO                      TX     90013612798
159B8445857147   NORMA          LEDON                      VA     81013184458
159B844877B489   HECTOR LEMOS   COLORADO                   NC     90012354487
159B858AA5B154   JACQUITTA      MCCLARTY                   AR     23085605800
159B8866691573   MARIO          TORRES                     TX     90008758666
15B12384531687   CYNTHIA        DEERFIELD                  KS     90004123845
15B13265357147   JOSHUA         KING                       VA     90011382653
15B13582191578   RAMON          GOMEZ                      TX     90000905821
15B13611A64135   ALMAZ          TILAHUN                    IA     90015046110
15B14A22347956   WILLIAM        KUNKEL                     AR     90003640223
15B16A43455976   CHRIS          RUIZ                       CA     49090730434
15B16A9915B154   TERRANCE       TURNER                     AR     90003130991
15B1754634B26B   JANET          KLEINERT                   NE     90008455463
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15B19156997B3B   TIFFANY      MCEWAN                       CO     90001101569
15B1965297B489   MARTIN       VALLES                       NC     11000166529
15B1B344472B95   AILEEN       DOMINGO                      CO     90009223444
15B1B538855976   FELIX        ARENAS                       CA     90013075388
15B1B888793732   NICOLE       VERNITTA                     OH     90007238887
15B21364693783   BENITO       MARTINEZ-MORALES             OH     90006183646
15B2138735B526   MARIAH       SALAZAR                      NM     90012573873
15B2184544B555   SHUNRONTA    GRAVES                       OK     90003688454
15B22255272B62   DALTON       LONDON                       CO     90009752552
15B22284161958   JESUS        CASTILLO                     CA     46036942841
15B22325247956   JENNIFER     JAMISON                      AR     90005613252
15B22653491263   CHIQUITA     STEWART                      GA     90014926534
15B2378A67B489   KEVIN        TARR                         NC     90015517806
15B238A527B489   LASHWN       LIPSCOMB                     NC     90003978052
15B23A2A55B264   JANET        KELLER                       KY     90010810205
15B242A915B154   ANTHONY      GLOVER                       AR     90015062091
15B24729636B24   AVINO        SOTO                         OR     44590367296
15B2521AA8B123   SAYDI        RAMBAL                       UT     31094992100
15B254A5891895   ALEJANDRA    TORRES                       OK     90002394058
15B26378147956   DENNIS       BARRETT                      AR     90013803781
15B266A6431687   CORY         SAMPSON                      KS     22014186064
15B26A7944B588   MICHAEL      MONTEMAYOR                   OK     90014770794
15B2721A755976   LEANNA       MADRID                       CA     90011402107
15B28187491895   DIAMANTINA   LOPEZ                        OK     90012641874
15B29986585999   STUART       FREEMAN                      KY     90013339865
15B2B22534B588   YESSICA      MARTINEZ                     OK     90010082253
15B2B424191895   ASHLEY       OWENS                        OK     21021624241
15B31153661958   MIGUEL       GONZALEZ                     CA     90003601536
15B3166A864135   FRANCISCO    GONZALEZ                     IA     90015046608
15B3189349373B   STANFORD     COLEMAN                      OH     64577368934
15B32664564135   MANUEL       HERNANDEZ                    IA     90015046645
15B3335464B588   ERIC         MCKEE                        OK     90012933546
15B3351675B59B   PATRICIA     CALDERON                     NM     90006915167
15B3366399373B   ASHLEY       JENNINGS                     OH     90013706639
15B3422739373B   ASHLEE       GIBSON                       OH     90013812273
15B3532719136B   CARLOS       NERIO                        KS     29089843271
15B3689897B489   DANIELLE     CASTRO                       NC     90011468989
15B373A297B489   DERICK       GRANDBERRY                   NC     90006203029
15B37517257147   JAIRO        PLATAS                       VA     90008435172
15B38491261925   JEAN         RONALD                       CA     90012724912
15B39A76691997   VERNICE      ROBERTSON                    NC     90013040766
15B3B57612B242   LASHONDA E   COOPER                       DC     90003445761
15B41396191569   MIRNA        GALAVIS                      NM     75013753961
15B42349757549   THOMAS       CORVINUS                     NM     90010893497
15B4273425B59B   BETTY        ORTIZ                        NM     90013967342
15B4277922B863   BRIAN        BRISCOE                      ID     90008827792
15B42821A9373B   KHUONG       PHAM                         OH     90009718210
15B42857231687   MARIAH       LOGAN                        KS     22017408572
15B4373425B59B   BETTY        ORTIZ                        NM     90013967342
15B4388735B274   DEON         LEWIS                        KY     90012798873
15B4484965B526   CHRIS        THOMAS                       NM     90015088496
15B44916191263   CINTHIA      ROGERS                       GA     90013239161
15B45714857122   BLANCA       RIOS                         VA     90000637148
15B4574337B489   JUAN         CASTILLO                     NC     11018067433
15B46A49772B62   JORGE        PICHARDO                     CO     90008870497
15B46A7897B426   MARTIN       YEPEZ                        NC     90012380789
15B47938A47956   MELISA       GILSTRAP                     AR     24066969380
15B48166791569   BRENDA       RODRIGUEZ                    TX     90013121667
15B48971961958   DONNA        RECKLAU                      CA     46056379719
15B48A7679373B   ANDRE        EVANS                        OH     90013710767
15B48A77331687   AMBER        JACKSON                      KS     90014860773
15B49375461958   VICTORINO    LAGUNAS                      CA     46046343754
15B4B22A35B59B   SALVADOR     CORONA-CHAVEZ                NM     90013942203
15B4B362893767   SHANNA       JONES                        OH     90001993628
15B51175991263   MARLA        COX                          GA     90009951759
15B5239935B526   NICOLE       BLOOM                        NM     90001473993
15B52445861958   LUIS         LEAL                         CA     90010644458
15B53A38861938   RHODA        QUATE                        CA     46086920388
15B545AA791569   ARMANDO      JURADO                       TX     90011005007
15B5464787B489   DOROTHY      GRAY                         NC     90013096478
15B54687A4B26B   MELISSA      YOUNG                        NE     26056236870
15B54865231687   DALLAS       WALTEMIRE                    KS     90014868652
15B5518289373B   RICKY        HAWTHORNE                    OH     90013641828
15B55272533683   TANYA        MACK                         NC     90001402725
15B55962572B62   CASTRO       MIGUEL                       CO     90009519625
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15B5664787B489   DOROTHY         GRAY                      NC     90013096478
15B5713894B588   MARLENE         JACKSON                   OK     90013771389
15B5836A57B489   MARIA           SANCHEZ                   NC     90009953605
15B588A334B26B   ASHLEY          JOHNSON                   NE     90014838033
15B5936745B59B   MICHELLE        JACQUEZ                   NM     90014153674
15B59817857125   PETER           MORIBA                    VA     81086188178
15B5B146255976   FEDERICO        NAJAR                     CA     49018181462
15B5B23454B26B   JACOB           GUDE                      NE     90014362345
15B5B49455B526   JULIA           RAMIREZ                   NM     90009464945
15B5B91949373B   AMBER           BLACK                     OH     90012509194
15B61783554173   IRENE           ARMAS                     OR     90014947835
15B62142A4B588   SHERYL          SHERLOCK                  OK     21553741420
15B6293655715B   BLANCA          ROSSA BERRIOS             VA     81058199365
15B6317A791895   SCOTT           HOWELL                    OK     90001781707
15B63327461938   ROBERT          BUCK                      CA     46014243274
15B64AA8A9373B   ANDREA          CRAPYOU                   OH     64574840080
15B6544A991569   JUAN            LOERA                     TX     90009774409
15B66A39991895   MARC            BENNETT                   OK     90012630399
15B66A5A391569   MARTIN          LUEVANO                   TX     90013690503
15B67641555976   HOLLY           ZARATE                    CA     49093806415
15B67A4915B154   ERIC            AUSTIN                    AR     90014770491
15B6824A54B588   AGNES           FLOWERS                   OK     90010392405
15B682A1791569   VANESSA         RODRIGUEZ                 TX     75025072017
15B6831A34B232   HEATHER         GUERRY                    NE     27093233103
15B692AA191569   SANDRA          ROMO                      TX     75017012001
15B69574491263   DEMETRESE       MULLIGAN                  SC     90013925744
15B69873831687   TASHIA          TOWNSLEY                  KS     90014868738
15B6B29574B26B   STEPHANIE       SNOOK                     NE     90013182957
15B6B47199373B   ALFRED          LEWIS                     OH     90014364719
15B7193337B489   LATONYA         JOHNSON                   NC     90013349333
15B72161961958   RUBY            DEVINE                    CA     90007571619
15B72244797B63   KEVIN           RIES                      CO     90007152447
15B7235464B588   ERIC            MCKEE                     OK     90012933546
15B7265544B588   YADIRA          GUITERREZ                 OK     21512976554
15B72A2165B154   TANGILA         SMITH                     AR     90009260216
15B7377277B489   CHIFFON         MOSLEY                    NC     11055837727
15B745A995B59B   LYDIA           LOPEZ                     NM     90014185099
15B74737931687   AGUSTIN         CHAVEZ                    KS     90011897379
15B7511235715B   KRISTAL         BOUNCER                   VA     90007771123
15B75A54157147   SILVIA          MOGOLLON                  VA     81037840541
15B76323791573   LUCIA           CABRAL                    TX     75068753237
15B7697764B26B   RICK            SIPES                     NE     26082699776
15B776A5857147   ELIAZAR         DURAN                     VA     90012686058
15B78856591569   CONTRACTOR      GOLDEN EAGLE              TX     75062248565
15B79111691263   JONAS           FLEURAIME                 GA     90011451116
15B795A434B26B   JUSTIN          SHANDERA                  NE     26085415043
15B7966A55B154   KEVIN           JACKSON                   AR     90011966605
15B79815385935   LINDA           JOHNSON                   KY     90001888153
15B7B13A191895   STEPHANIE       RODDEN                    OK     21068051301
15B7B642991569   FELICIA         MEDRANO                   TX     90013296429
15B7B75565B59B   DESIRAY         TRUJILLO                  NM     90014167556
15B8113767B386   JORGE           PACHECO                   VA     90001481376
15B8124517B489   JESSICA         RAMOS                     NC     90013112451
15B81282461938   KEITH           COLEMAN                   CA     46019472824
15B81445155948   LUISA           SAAVEDRA                  CA     49074964451
15B81923291569   GABRIELA        LUJAN                     TX     75029529232
15B81A51371929   DANA            STARR                     CO     90012980513
15B8216925B526   RONALD          YATES                     NM     35007311692
15B82216124B7B   IKEA            DARMO                     VA     90014702161
15B824AA69373B   GREGG           JESSEN                    OH     90012384006
15B8251A75715B   FABIAN          LEDESMA                   VA     90005995107
15B8257844B588   MICHAEL         THOMAS                    OK     21507465784
15B8265427B489   ALEITA          KEZIAH                    NC     11072296542
15B82A83491263   SHAQUAZ         COOK                      GA     90010530834
15B83134891895   KRISTEN MARIE   WILLIAMS                  OK     90005541348
15B83255261958   MARA            REAVES                    CA     90002982552
15B84368A61958   TESEMA          MELKETO                   CA     90013533680
15B8439455B154   JAMES           HUNTER                    AR     90013483945
15B84741957147   MADELYN         GARCILAZO                 VA     90014347419
15B85A7244B26B   MICHELLE        MARTINEZ                  NE     90014520724
15B86614991263   SHAQUAZ         COOK                      GA     90011306149
15B87912857147   TEKO            BOSTICK                   VA     81059229128
15B8847127B373   HERMITA         PORTILLO                  VA     90001704712
15B8997A35B59B   DYMOND          LOPEZ                     NM     90014289703
15B89A4249373B   MATTIE          KELLEY                    OH     64524470424
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15B8B895691569   ADRIAN       MUNOZ                        TX     90012718956
15B9241A991993   ALLISON      PULLEY                       NC     90000344109
15B92866461958   CARLOS       RODRIGUEZ                    CA     90009838664
15B9358127B489   CHEROKEE     PICKERING                    NC     90006125812
15B94A73191569   GABRIEL      RUIZ                         TX     75084870731
15B95A8A77B489   VON          MILLER                       NC     90012220807
15B96A4AA57127   KELSON       DUANE                        VA     90001840400
15B96A8234B588   JENNIE       JACKSON                      OK     90011750823
15B97769591569   ESPERANZA    GONZALEZ                     TX     75076297695
15B9799545B526   LEE          GUTIRREZ                     NM     35030849954
15B97997855952   DELIA        MARTINEZ                     CA     90004549978
15B98258372B43   MARILYN      BERGSTROM                    CO     33098392583
15B98376591945   NERY         RAMIREZ                      NC     90010193765
15B98583657147   JOSE         PEREZ                        VA     90005045836
15B99525A4B26B   SABRINA      WEAVER                       NE     26030645250
15B99651591547   GLORIA       ESCOBEDO                     TX     75083676515
15B9988659373B   JAN          SINGLETON                    OH     90007158865
15B9B531A61958   DAISY        ESTRADA                      CA     90012235310
15BB1A1125B154   SABRINA      HOOD                         AR     23094890112
15BB1AA175715B   RUTH         AREGAI                       VA     90014230017
15BB513157B489   NORMA        VILLEGAS                     NC     90007931315
15BB575AA61938   ANGEL        AGUILAR                      CA     46053757500
15BB5957161958   JULIO        DE LA CRUZ                   CA     90012969571
15BB5A3A791895   GUILLERMO    LOPEZ                        OK     90001180307
15BB629868598B   TAMMY        HUGHES                       KY     90013942986
15BB646944B26B   CAROLYN      REAGAN                       NE     26038754694
15BB7563291569   STACEY       ARROYOS                      TX     75029005632
15BB7743247956   JOHN         FLYNN                        AR     24074717432
15BB8217661938   ERIKA        SECENAS                      CA     90005352176
15BB915615B195   EDWIN        DANIEL                       AR     90004291561
15BB9228357122   EDGAR        MARTINEZ                     VA     81026172283
15BB929274B26B   SANDRA       DOAK-BUDINSKI                NE     26078312927
15BB9437491263   ALIAH        GREEN                        GA     90014694374
15BB9687155948   OLGA         LOZANO                       CA     49086586871
15BB9924771925   ALFONSO      SALAS                        CO     90010649247
15BB9AA6161958   ROLANDO      MENDEZ                       CA     46065260061
15BBB538991569   CHRISTIAN    CARBAJALL                    TX     75090025389
15BBB82515715B   SIMONE       DURU                         VA     81035188251
1611186A893745   KATHRYN      SANGER                       OH     64510518608
16111A1988B194   MAKINLEY     SCRIVER                      UT     90001290198
16111A5394B588   KHUONG       TRUONG                       OK     90009450539
161149A695715B   GILBERT      GOINS                        VA     90014449069
16115391372B62   AUSTEN       SMITH                        CO     90013433913
161156A2431687   JESSICA      DENTON                       KS     90006326024
16116A17555976   BENJAMIN     SALARIO                      CA     49069520175
1611711A35B526   JERRY        GRIEGO                       NM     35028461103
1611738A391895   EMMITA       SALGADO                      OK     90009713803
16117641672B62   CAM          TALLMADGE                    CO     90012286416
16117A4725B154   MELDIN       GOWIN                        AR     90000190472
161183A7461976   MURICIO      PIMENTEL                     CA     46053843074
1611968394B588   JUAN         VERANO                       OK     90013866839
1611B71249373B   ANDRE        HAWKINS                      OH     64538697124
1611B992161976   ROBYN        BROWN                        CA     90014109921
1612153A351337   CINDI        MYERS                        OH     90013045303
16121A84193754   SISTINA      BARNETT                      OH     64566880841
16123668872B64   HUGO         RODRIGUEZ                    CO     90006956688
16123A11891569   JOSH         RODRIGUEZ                    TX     90014450118
161243A9A55965   LIDIA        VERDUGO                      CA     90013963090
16125141A61976   NUBRINA      ESTEBAN                      CA     46056231410
16125437A51337   ABLAYE       BOCAR                        OH     90002714370
16125557872B62   STEPHANIE    STEPHENS                     CO     33076425578
1612585284B588   MESHELLE     FOWLER                       OK     90010948528
16125A4185B526   ANDREA       HOLMAN                       NM     90008700418
16126A74255965   JOVANA       GARCIA                       CA     48001620742
1612712194B565   CRYSTAL      DAVID                        OK     90010191219
1612748395B526   NANCY        VALDEZ                       NM     90015014839
161275A319152B   MARI         GARDEA                       TX     90011775031
16128894272B62   VERONICA     CABRERA                      CO     90014918942
16128A6934B588   CHARITIE     BYRD                         OK     90008110693
16129111A55965   DANIEL       CEBALLOS                     CA     90014351110
1612914A19373B   NATALIE      LITTLE                       OH     90004231401
1612B34638B147   RIGOBERTO    MARTINEZ                     UT     31087403463
1612B37925B348   MANUEL DE    ROBLES-HERNANDEZ             OR     44520023792
1612BA54391569   SANDRA       GARCIA                       TX     75073440543
1613139A331687   JEREMY       BROWN                        KS     90014763903
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1613162944B26B   HANNAH          RODRIGUEZ                 NE     26098866294
1613166A55715B   URANCHIMEG      ODGEREL                   VA     90009576605
1613173A355965   ELIANA          MARTINEZ                  CA     90014957303
1613224789373B   KAYLA           FERRARA                   OH     90015432478
16132A13191895   DEBORAH         KAASE                     OK     90014490131
16132A8975715B   PAUL            PRASITH                   VA     81005910897
1613331AA9373B   SHIAFA          DUGGER                    OH     90010993100
1613338A891569   TOMAS           SEGURA                    TX     75011553808
1613348559373B   SHIAFA          DUGGER                    OH     90012114855
161349A194B588   REBECCA         ROBINSON                  OK     90003879019
161356A415B154   KEITH           WILLIAMS                  AR     90007666041
1613617A19373B   TALA L          WOODS                     OH     64553491701
16136787572B62   CIERRA          SAWYER                    CO     33036947875
1613719A691569   ENEDINA         LUCIO                     TX     75011851906
161381A517B464   RITA            LOWERY                    NC     90001511051
161384A9531687   ELIJAH          CRABTREE                  KS     90014764095
16138687A7B489   TERTIES         PHILLIPS                  NC     11040986870
1613892A55B154   SHONDA          WOODS                     AR     23081569205
16138A5269373B   JONI            MOORE                     OH     90008830526
1613964255B526   DESTINY         MARTINEZ                  NM     90011886425
1613B54755715B   MARINA          FERNANDEZ                 VA     90014845475
1613B71344B588   FELICIA         ZAMORA                    OK     90008967134
1613B7A527B463   STEPHANIE       GRIER                     NC     90005127052
1614116A45B129   PATRICK         ELLIS                     AR     90004591604
16141A26557147   CANDALE         STINE                     VA     90014120265
1614229989373B   LACI            LESTER                    OH     64553972998
1614272175715B   JOSE NORBERTO   MACHADO                   VA     90006267217
16142AA9291569   GLORIA          PALACIOS                  TX     75045230092
16143115672B62   ALICIA          EDWARDS                   CO     33022251156
1614349394B588   NORA            ANAYA                     OK     90010214939
16143A86591569   ANGELICA        SANDOVAL                  TX     90006460865
16144182172B62   SHELLIE         STRUENSEE                 CO     33014441821
1614672155B154   SHAUNTE         KIDD                      AR     23012237215
16147274A5715B   CRUZ            AREVALO                   VA     90011232740
1614775A691895   BOBBY           MARTIN                    OK     90014167506
16148187A91569   LAURA           YEVERINO                  TX     90015101870
1614859965B526   PABLO           ROMERO                    NM     35017835996
1614916659373B   KRISTIE         CLAY                      OH     64527061665
1614946295B154   CHANDRA-KURT    WALKER-FELIS              AR     90013764629
16149A61357147   ROBERTO         REYES                     VA     90015110613
1614B46A68B169   PETRA           PEREZ                     UT     90005684606
1614B621351542   KATRINA         COZAD                     IA     90014436213
1614B625355965   PAULINE         MOZ                       CA     90001186253
16151852A4B588   JESSICA         PHEA                      OK     90007678520
1615351795B526   MARIBEL         ULIBARRI                  NM     90011315179
16153789A91895   ERIC            REYNA                     OK     90011857890
161542A9293725   CHSTAR          MILTON                    OH     90010702092
161551A479373B   OHAIR           ROSCOE H                  OH     90004561047
1615534135715B   JUAN            LEMUS                     VA     90012103413
1615593A831687   CARLA           PHILLIPS                  KS     22070959308
1615643A151337   ANTHONY         BENTON                    OH     90012784301
1615663A986463   SAMUEL          KNIGHT                    SC     90011316309
1615685A261938   THURMAN         BALDWIN                   CA     46016348502
1615989565715B   RAUL            MOLINA                    VA     90011508956
1615B275372B23   DAVID           JERNIGAN                  CO     33024252753
1615B77424B588   FORREST         JOHNSON                   OK     90014207742
1615B881A91895   ML              WALLIS                    OK     90009118810
16161535324B7B   SARA            KEBEDE                    DC     90000275353
161619A5455976   KELLIE          PAYNE                     CA     90012479054
16162A51131687   RYAN            SNEATH                    KS     90014770511
161634A7191895   BRYAN           THURMAN                   OK     90011144071
16163AA3A61938   BRIANNA         ALONSO                    CA     46020210030
1616437689373B   KARA            FARMER                    OH     64594053768
16165A6A551337   CHRISTINA       COVERT                    OH     90014510605
161663AAA91895   CELESTE         BOURDEAUX                 OK     90014793000
16166576A4B588   LARRY           GOOD                      OK     21536295760
1616749145598B   JUAN            HERNANDEZ                 CA     90011694914
1616847A955965   DEBORAH         QUALLS                    CA     90014324709
1616852635B526   REGINA          CHAVEZ                    NM     90009395263
1616917935598B   JOSE            PADILLA                   CA     90014021793
1616918875B526   ELI             BECERRA                   NM     90002631887
1617167AA61958   CEDRIC          JOHNSON                   CA     90015326700
16171A95A5715B   CARLITO         GONZALEZ                  VA     90009070950
1617317194B588   JOACIM          ROBLES                    OK     90012301719
16173435824B55   CHRIS           TWYMAN                    DC     90014914358
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16173A23891895   LAURE        ADAMS                        OK     90012950238
16174441824B55   MARIA        ARAIZA                       DC     81024984418
16175A47591895   SHANNON      EDWARDS                      OK     90014910475
16175A59591263   JULIE        MILLS                        GA     90014610595
1617644345715B   JOSE         QUEVEDO                      VA     81035404434
16176777A47956   SILVIA       MACIAS AGUERO                AR     90007177770
161768A219373B   BRIE         REED                         OH     90009478021
1617697995B526   LORENZO      HERNANDEZ                    NM     90011459799
16177459472B62   CLIFF        CHO                          CO     90013164594
161797A4361958   PAYGO        IVR ACTIVATION               CA     90011107043
1617B6A1154197   LORRIE       SCHLEGEL                     OR     47073296011
16181A45172B26   RUFUS        NAGEL                        CO     33091990451
16182394172B62   RICHARD      GONZALES                     CO     90011133941
161833A2651358   JODY         MEYERS                       OH     90013083026
16183541A91263   LEONOR       GOMEZ                        GA     90006575410
16184267A61958   JUAN         MUNGUIA                      CA     90009122670
1618491784B588   PATINA       SHADE                        OK     90001889178
16184A6642B89B   TRACY        PETERS                       ID     90008590664
161867A515715B   SANDRA       BLUE                         VA     90008347051
16186838172B37   DELORA       SMITH                        CO     90008318381
1618767A64B588   ROBINSON     ADRIEN                       OK     90012866706
161878A7355976   ALEX         OURN                         CA     90012088073
1618816265715B   JOSE         MENDEZ                       VA     90014671626
16188213A55965   JOSE         VAZQUEZ                      CA     48076272130
1618855955B255   KEVIN        DELK                         KY     90000145595
1618869634B588   SHARON       QUINN                        OK     90005886963
1618934685715B   CODY         STEPHENS                     VA     90014893468
1618943715B154   LAYA         DOUGLAS                      AR     90005664371
1618B524372426   DAVID        SHURINA                      PA     90001725243
1618B5A4A31687   AMANDA       GILMER                       KS     90014765040
1618B81775B154   CHARLOTTE    ANDREW                       AR     90015568177
1619123335B384   PAMELA       TRAUM                        OR     44500262333
161915A8291895   BEATRIZ      MUNOZ                        OK     90010315082
1619212795B526   ANTONIO      DELGADILLO-LOERA             NM     90014441279
1619252744B26B   KELLY        REA                          NE     90007985274
16193424772B62   AMOND        STOKLEY                      CO     90015274247
1619492A957147   PAULO        RAMIREZ                      VA     90012109209
1619551968438B   LASHAUN      MOORER                       SC     90009625196
16195775272B62   LEZETTE      BREWTON                      CO     90002707752
1619581674B26B   BRYAN        JOURNEY                      NE     26097878167
16196562A5B526   CHRISTINA    ARIAS                        NM     35024305620
16196934172B62   ANDREA       DIANE-MARTINEZ               CO     33008829341
16196A23191569   ROBERT       ROA                          TX     75050850231
16197896A5715B   MAURICIO     ACOSTA-TORRES                VA     81068738960
1619B468591895   AMBER        SNODGRASS                    OK     90014714685
161B1A7335715B   ROBERTO      ULLOA                        VA     81067890733
161B243125B526   DANIEL       STEVENS                      NM     90014264312
161B2698761976   DANIELA      HERNANDEZ                    CA     90013726987
161B3786355965   CRAIG        REGIS                        CA     90013567863
161B4114A5B39B   ALEXIS       EVERSOLE                     OR     90013641140
161B4286255976   CONNIE       GARCIA                       CA     49073872862
161B4383991569   DANIEL       AMAYA                        TX     90013353839
161B469137B44B   ASIA         ROSARIO                      NC     90009686913
161B546144B588   BRANDY       THREATT                      OK     90004804614
161B546A85598B   ELMA         GARCIA                       CA     49005724608
161B54A5A55965   JIMMY        BELCHER                      CA     90013184050
161B6247861976   DRONISIO     FERREIRA                     CA     90006032478
161B6A96A72B62   ALI          ABDULLANI                    CO     90014120960
161B734A891569   OCTAVIO      RIVAS                        TX     75058393408
161B7899461976   LINA         LOPEZ                        CA     90009878994
161B78A5191895   MARTCHELLO   FILEDS                       OK     90013348051
161B8619561976   OSCAR        MICHEL                       CA     46002746195
161B942975715B   JUAN A       DE LEON                      VA     90013894297
161B945A191569   RICARDO      ALVARES                      TX     75067964501
161B99A655B229   LARRY        RAYMOND                      KY     68043889065
161BB328791569   JENNIFER     ZAMORA                       TX     75034353287
161BB54447B489   DINA         GARCIA                       NC     90006135444
161BB7A1872B62   AMY          ABEYTA                       CO     33062317018
1621188A35715B   MORRIS       ELENA                        VA     90008418803
1621298382B259   FAITH        ROBINSON                     DC     90008879838
1621415565B526   OMAR         VIRAMONTES                   NM     90006611556
16214273A4B26B   TONIA        MURRAY-JACKSON               NE     90004782730
16214362172B62   ZABRINA      PEREZ                        CO     90003103621
16215A71757147   MIRNA        ESCOBAR                      VA     90006330717
1621635414B588   BRANDY       LIVINGSTON                   OK     90014333541
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16216A47772B62   JUSTIN       LAWSON                       CO     90011150477
16216A63157B59   CAROL        DROZICK                      PA     90015250631
1621743565B32B   JOHN         HANCOCK                      OR     90007904356
1621888365715B   DELMI        FUNES                        VA     90004838836
1621B78257B489   GERARDINO    SANCHEZ                      NC     11078607825
1622236294B26B   DAVID        ELLER                        NE     26027963629
1622379145715B   DORIS        CRUZ                         VA     90011927914
16224A12161958   OCHOA        OCDULIA                      CA     46013310121
16224A86661994   ROSCELIA     VARGAS                       CA     90011440866
1622551535B526   MIGUEL       TOVAR-MALDONADO              NM     90013615153
1622555365B129   TABITHA      HOLLISTER                    AR     90007815536
16225996472B62   VALERIE      ARCHIBUQUE                   CO     90010739964
16225A32155965   CECILIA      GONZALEZ                     CA     48008600321
16226491672B27   ROSY         RODRIGUEZ                    CO     33030364916
16226733972B62   ANDREW       FRENCH                       CO     90001847339
1622688A791895   ARTURO       LEANDRO                      OK     21070298807
1622729A691569   LUZ          MOLINA                       TX     75061082906
1622748413196B   ANTOINETTE   MATHIS                       IA     90014264841
16227A5645B526   JACQUELINE   NAVARRO                      NM     35084510564
1622843A291263   LEOTIAS      DAVIS                        GA     14570634302
1622978412B242   ROY          ARNOLD                       DC     81015657841
1622B19355B154   TIMOTHY      SUMMONS                      AR     90002041935
1622B329491569   JACQUELINE   DIAZ                         TX     90013613294
162316A3251337   CARMENCITA   GERONIMO                     OH     90015166032
162323A415B526   ANTONIO      TRUJILLO                     NM     35006503041
16232859A55976   ELVIRA       JIMENEZ                      CA     90012878590
1623311A391895   KIM          YOUNGER                      OK     21077211103
1623596882B89B   KEVIN        GRIFFIN                      ID     42058169688
16236A82261958   DAVID        REGALADO                     CA     90012420822
1623726225B526   IVONNE       CUESTAS SOTO                 NM     35086152622
16238547172B29   MARIO        SOLIS                        CO     33040885471
1623925915B526   DANIEL       DORADO                       NM     90013982591
16239478A72B62   STACI        BLISS                        CO     90012904780
16239814372B62   STERLING     BEALS                        CO     33008028143
1623B21A69373B   DEBRA        DYNES                        OH     90004782106
1623BA3115B154   EDMOND       DUKES                        AR     90012660311
1624156797B849   DASHAWNA     DAVIS                        IL     90012945679
162441A2224B55   PALESTINE    CROSWELL                     DC     90015211022
1624471A77B489   KAREN        WALKER                       NC     11041007107
162465A9661938   NOHRA        VALENCIA                     CA     90010765096
162468A6447956   KIMBERLY     PEER                         AR     24080978064
16246A7887B445   TERRY        BLACKMON                     NC     90011170788
1624968257B398   JEVONNE      ROBERTS                      VA     90012436825
16249893A57147   CATALINO     MARTINEZ                     VA     90000318930
1624B1A175B154   JACKIE       WILSOM                       AR     23092511017
1624B61719373B   ASHLEY       GRIDER                       OH     90013736171
1625133614B588   NATISHA      DANIC                        OK     90008953361
162515AA957147   SANTANA      VIGIL                        VA     90013655009
1625182428B574   ERIC         HILL                         CA     90010938242
1625267539152B   MARTHA       RAMIREZ                      TX     90011266753
16252A28372B4B   ANTHONY      ROMERO                       CO     90001360283
1625312955B526   CYNTHIA      FAIRBANKS                    NM     90012131295
1625315714B26B   DEANNA       CHRISTIANSEN                 NE     90012451571
16253925A8598B   WILLIAM      CARPENTER                    KY     90003419250
1625494199373B   DANIEL       CHADWELL                     OH     90014599419
16255119A91895   GARET        TERHUNE                      OK     90006391190
1625511A861958   LAKIESHA     TURNER                       CA     90012631108
1625666244B26B   JENA         MICHALECKI                   NE     90000716624
1625735977B323   HECTOR       MORENO                       VA     81084243597
16257361624B55   TERRANCE     BLAND                        DC     90012993616
16258388A93783   DRAY         PRESTON                      OH     64572513880
16258A3795715B   DIANA        ALVAREZ                      VA     90011670379
1625921A272B62   LEONOR       GAMBOA                       CO     33046712102
1625BA4A82B89B   ARMANDO      BENITES                      ID     90010090408
1626116364B588   HEATHER      REDWINE                      OK     90012041636
1626133368438B   SHARON       EADY                         SC     19049973336
1626179A861976   TERESA       TAICH                        CA     46055687908
1626179A972B62   ALEXANDRIA   ROSAD                        CO     90010267909
162618A6451337   DELPHINE     EGBE                         OH     90000488064
1626254755715B   MARINA       FERNANDEZ                    VA     90014845475
1626278945715B   THEA         PAILMA                       VA     90011397894
16262793672B62   JESSICA      GOODMAN                      CO     90012397936
1626355887B489   CHARLES      MORRIS                       NC     90004955588
1626387534B588   MARY         HERNANDEZ                    OK     21598718753
16265A68731687   JANET        ROSS                         KS     22096770687
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16266A35991895   POTTER        JOLENE                      OK     21010610359
16266A91557147   AYANNA        MITCHELLE                   VA     90007240915
16266AA8455965   KIMBERLY      WARREN                      CA     90014510084
162671AA14B588   NATASHA       RIVERA                      OK     21562041001
16268A3A65B129   SUZETTE       ELLIS                       AR     23089930306
1626B1A5361958   GLORIA        C TUCKER                    CA     46098161053
1626B872A24B7B   SUSAN         SMITH                       DC     90013448720
16271341A91263   AMY           WEISS                       GA     90013423410
16271675A4B588   TIMEKA        RAMSEY                      OK     90009036750
1627217645715B   ASTER         NEGUSE                      VA     90013261764
1627229868B147   DEBBIE        COOK                        UT     31012702986
1627316594B26B   JENNIFER      BROPHY                      NE     26073391659
16274167A5715B   WILMER        ROSAS                       VA     81090381670
16274522A61958   LORENZA       LEDEZMA                     CA     46097595220
16274678436B92   DANNIELLIA    WHITE                       OR     90008876784
1627488275B526   DONNA         SALAS                       NM     90013998827
162751A395715B   TAMAR         FRANCIS                     VA     90014631039
16275A19451337   TRACY         SUTTON                      OH     66006470194
16276815A55976   JAVIER        MONOZ                       CA     90014638150
162768A7455976   JOSE          BARAJAS                     CA     90012908074
162773AA455965   VIRGIL        MOORE                       CA     90013333004
1627792139373B   BRANDON       FINKS                       OH     90008809213
16278437A91895   AMBER         MURPHY                      OK     90012934370
1627915714B26B   DEANNA        CHRISTIANSEN                NE     90012451571
16279463A4B565   LORENZO       MONTELONGO                  OK     90011834630
1627977785B154   ZAPATA        IGNACIO                     AR     90011817778
1627B37984B588   CHERRYL       HURD                        OK     90011023798
1628146535B154   JAMIE         LOCKETT                     AR     90013764653
16281A51555965   AMBER         SNOWDEN                     CA     48083130515
1628324425715B   CLIFTON       DAVIS JR                    VA     90006092442
1628356815715B   LIYUWORK      TEGEGN                      VA     90012605681
1628366599373B   STACY         JOHNSON                     OH     64522796659
1628379265B154   TERRY         NOTTINGHAM                  AR     23002337926
16283A1655B526   MIRIAM        ALVAREZ                     NM     35010040165
1628575A39373B   ROBERT        HICKS                       OH     64524557503
1628664AA91895   SANDRA        WREN                        OK     21076466400
16287129424B7B   MARIA         ESPINOZA                    VA     90010641294
1628737A933B32   GUSTAVO       FLORES                      OH     90014693709
1628746254B26B   STEPHANIE     SHANDERA                    NE     26093424625
16287A22391569   MIGUEL        ELLIAS                      TX     75015270223
16287A95372B62   TONYA         GILFORD                     CO     33091800953
162881A1831687   CRYSTAL       PURCELL                     KS     90002401018
16289A71661958   MANUEL        GOMEZ                       CA     90003670716
1628B283551337   CHRISTOPHER   JONES                       OH     90011232835
1628B516591569   CHRISTIAN     CARBAJAL                    TX     90009465165
1628B53514B588   RACHAEL       CAMBRON                     OK     21537965351
1628B714391895   HERMAN        PRESIDENT                   OK     21089747143
1628B857261938   LUZ           DIAZ                        CA     46081168572
1628B919157147   NELSON        MALDONADO                   VA     90012409191
1628BA21161958   ARMANDO       FLORES                      CA     46063670211
16291A1499152B   MELISSA       LOPEZ                       TX     75079830149
16291AA287B34B   CAROLINA      PINEYRO                     VA     90005280028
162925A9391586   JESSICA       ORTIZ                       TX     90011095093
1629275AA7B489   SONIA         DAVIS                       NC     11040277500
1629334769373B   PHILLIP       DRANE                       OH     64581833476
1629341347B323   VANESSA       FLORES                      VA     81049394134
16293768A5715B   MOHAMMAD      A. ANSARI                   VA     90012437680
1629377995B526   STEVE         MADESEN                     NM     90002047799
16293A33372B62   NANCY         AVILA                       CO     90014480333
16294A18191569   MICHEAL       DSILVA                      TX     90014910181
1629654995B154   DEVONYA       MONTGOMERY                  AR     23044695499
162977A555B154   ARACELI       TITLA                       AR     90010847055
16298293A5B129   JOSE          MENDEZ                      AR     23062352930
16298AA1261958   YIM           CHAO                        CA     46079380012
162993A7872B89   MELONIE       MURDOCK                     CO     33009583078
1629975859373B   TONI          STONECIPHER                 OH     90014757585
1629B253461938   MARTHA        TOLENTINO                   CA     90011432534
1629B391791895   MAEJEAN       MCGUIRE                     OK     90015113917
1629B5A5891263   KERRI         LEWIS                       GA     90011265058
1629B693136B52   GEORGE        CANOVAS                     OR     90006076931
162B1192857199   ANTONIO       DORSEY                      VA     90008601928
162B1266A9373B   SUNIL         AGGARWAL                    OH     90011952660
162B2196161958   RENEE         RAMIREZ                     CA     90015071961
162B2266331687   SAMUEL        FLEURY                      KS     90009572663
162B2534A61958   CRUZ          LOPEZ                       CA     90015175340
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162B326AA72B62   MIGUEL          CERON                     CO     90011862600
162B3529991569   CELIA           SANDOVAL                  TX     90009725299
162B388765B348   CHAD            STOLTENBERG               OR     90001018876
162B41A1391895   SALVADOR        GONZALES                  OK     90000271013
162B4355561958   DENISE          SAYLES                    CA     90012033555
162B4518357147   CANDIDA         MUNGUIA                   VA     90013395183
162B469915B526   ART             GODINEZ                   NM     35019086991
162B4967191263   KYLE            JOHNSON                   GA     14577349671
162B51A485715B   JUAN            MARTINEZ                  VA     90000151048
162B52A8591569   EZEQUIEL        LUCERO                    TX     90014032085
162B583582B89B   MICHAEL         BLACK                     ID     90004318358
162B6112391895   LEE             BAO                       OK     90010911123
162B6442151599   JESSICA         EATON                     IA     90013744421
162B647924B26B   JONI            OLBERDING                 NE     26076144792
162B6532861926   ROSA            HANVEY                    CA     90007825328
162B6769157147   DANIEL          MORALES                   VA     81097977691
162B7314861976   ALAN            GOMEZ                     CA     90014723148
162B76AAA5715B   MARIA           GONZALEZ                  VA     90012056000
162B7771257147   MIGUEL          GOMEZ                     VA     90013787712
162B796A25B526   JORDAN          CLAUSS                    NM     90011849602
162B81A2261987   JOSE            MOSQUERA                  CA     46077661022
162B8326372B25   LUCILLE         WASHINGTON                CO     33000513263
162B8339891569   MANUEL          MONTES                    TX     90005433398
162B8539561976   JORGE           HERNANDEZ                 CA     90002785395
162B9531847956   ROSALINDA       TOBIAS                    AR     90010965318
162B9848991263   ERIN            RICE                      GA     90013028489
162B9915A47956   MARISSA         GILCREASE                 AR     90014179150
162BB52394B588   ANGELA          GLENN                     OK     90002145239
16311A9145B154   BRUNDI          SANDERS                   AR     90000500914
16312A58191569   LEYVA           LUPE                      TX     90010320581
16313789724B44   QUIANA          DUPREE                    DC     90001277897
16313A5364B935   ELEAZAR         TORRES                    TX     90014990536
1631484222B963   SILIVA          TABARDILLO                CA     90008658422
1631543494B588   AMANDA          BILLIGMEIER               OK     90008474349
16315948224B7B   MICHAEL         LESESNE                   DC     90004419482
1631655344B588   RAVIS           BATTISE                   OK     90006015534
16316753A86463   FRANCISCO       GARCIA                    SC     90013927530
16316878A9373B   AIMEE           MINTON                    OH     90013528780
1631689535715B   JOSE            VELARDE                   VA     90006088953
1631714515B526   BETTY           TREVINO                   NM     35003421451
1631757349373B   PASTOR          CARLOS                    OH     64538385734
1631775824B583   CESAR           GARCIA                    OK     90008727582
16317832A55945   DAVEY           TETH                      CA     90012548320
1631891AA51337   DONNA           PEVELER                   OH     90014069100
1631924359373B   GEORGE          BERRY                     OH     90014992435
1631956934B588   SHONTESE        DAVIS                     OK     90001705693
1631BA82372B62   ROGERS          RACHAELLE                 CO     90011330823
1632126964B588   VERONICA LYNN   WILSON                    OK     90010012696
1632146294B26B   BONNIE          PRICE                     NE     26054774629
1632178A59379B   CHRISTALINE     GLENN                     OH     90009097805
16322242A72B62   BRIANA          WILLIAMS                  CO     33092162420
163235AA17B489   ADERONKE        ROBERTS                   NC     11052275001
16323A32551337   JAMESHA         BROOKS                    OH     90014300325
1632465495715B   PEDRO           HENRIQUEZ                 VA     90012736549
16324884A51337   RAFAEL          ZAMORA                    OH     90014798840
1632529818B166   JORDAN          NAYLOR                    UT     90011582981
16325A85A4B588   LATISHA         GARCIA                    OK     90011170850
1632658484B588   ARTURO          AGUILAR                   OK     90011635848
1632842A84B588   DONYA           PLUNKETT                  OK     90009654208
1632976112B89B   JOSEPH PAUL     MALUBEKI                  ID     90005847611
1632B296891895   TYRONE          TAYLOR                    OK     21025032968
1632BA61193725   KATIE           BOLDEN                    OH     64560110611
1633255265715B   RICHARD L       LYELL                     VA     90014115526
16332591A5B154   PATSY           MOORE                     AR     90011065910
16332A83461959   VIOLETA         LEON                      CA     90009680834
1633334988B13B   JOSE            GARCIA                    UT     31062263498
1633346375715B   MARIA           GARCIA                    VA     90001534637
16333842972B29   JOE             GARCIA                    CO     33006738429
1633418944B588   KAREN           LEAR                      OK     21567541894
163344A3391569   RODRIGUEZ       NORMA                     TX     75065214033
1633649325B154   JUAN MARCELO    R CHAVEZ                  AR     90008334932
16337354A57147   ABDI            ISMAIL                    VA     81079753540
163373A855B526   CYNTHIA         GONZALEZ                  NM     90011653085
1633765613B324   JULIEANN        LOPEZ                     CO     90013626561
163379A445715B   MARIA           CALLES                    VA     90001339044
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1633835824B588   OLAF          PINEDA                      OK     90014473582
1633872589373B   JACK          DOUGLAS                     OH     90011537258
1633933729373B   HOPE          ESKEW                       OH     90008633372
1633997254B26B   CHARLIE       SIMS                        NE     90010569725
1633B54254B23B   LORENZO       TORRES                      NE     90008775425
1633B763155965   CAMEN         ROSALES                     CA     48019567631
1634127A272B62   JUDY          POLANCO                     CO     90012352702
163412A325715B   RUKHSANA      RANA                        VA     90014632032
1634326A457147   TERRI         SMITH                       VA     81001302604
1634451A257147   HARRY         CASTILLO                    VA     81066435102
16344724A5598B   JOAQUIN       BOCANEGRA                   CA     90008127240
1634481755B526   WILLIAM       BOWEN                       NM     90011748175
16345292972B2B   DON           KROMER                      CO     90013072929
1634558A991586   RAQUEL        ORONA                       TX     90013795809
1634653A351337   CINDI         MYERS                       OH     90013045303
16346836A5B523   CARLOS        RAEL                        NM     90002768360
16347435172B62   DERRICK       OGMAN                       CO     90012634351
163476A185B388   NICOLE        BATMALE                     OR     90011346018
163486A8161938   JAVIER        GAZTELOM                    CA     90007226081
1634B18135715B   SHERRY        GRUENDL                     VA     90013841813
1634B358572B62   SANDRA        HOLLEY                      CO     90006543585
1635145432B89B   SHAMAVU       MUPENZI                     ID     90005824543
16352A64391263   TASHIKA       JOHNSON                     GA     90014490643
16352AAAA4B588   MIRANDA       RITCHIE                     OK     90015270000
16353154A51337   EMILIO        MENDEZ JUAREZ               OH     90013661540
163545A9655938   CATHERINE L   PAINE                       CA     90003155096
16355A3585B154   DAVID         SMITH                       AR     90003970358
1635682185B526   JILLIAN       DIXON                       NM     90014748218
1635728464B588   SHIRLEY       SEXTON                      OK     21512502846
1635913119373B   JAMAIN        FINLEY                      OH     90008371311
16359861672B84   RENATO        BALDERAS                    CO     90001528616
163599A2297B63   CORINA        RAMIREZ                     CO     39076779022
1635B241591852   KATERRA       MEACHEM                     OK     90011132415
1635B48514B26B   MATTHEW       DEHNING                     NE     26038194851
1635B66A84B588   VANESSA       CAMBELL                     OK     90009456608
1635B747A72B62   PATRICIA      DOSS                        CO     33045607470
163616A995715B   ANA           RUBIO                       VA     81023886099
16363A94155976   JONATHAN      HERNANDEZ                   CA     90013370941
16363AA437B463   PAULETTE      NESBIL                      NC     90013290043
163648A835B526   ADRIANA       ARAGON                      NM     90013828083
16364A54261976   CHRIS         LOPES                       CA     90014160542
1636612162B89B   TIFFANY       TURRELL                     ID     90004421216
1636628415B154   MERCEDEZ      HENDERSON                   AR     90005982841
1636671944B588   LOIS          WEST                        OK     90015257194
163667AA74B288   SECRETIA      BENTON                      NE     90012817007
16368147A5715B   YOLANDA       RASON                       VA     90013061470
1636882167B489   PAMELA        CARDONA                     NC     11094398216
163698A354B588   ROSE          UPSHAW                      OK     90008478035
1636B28A661976   O RLANDO      MARTINEZ                    CA     46001032806
1636B475A57147   ANA           MAJANO                      VA     90013014750
1636B685855965   DIANNE        BILLGREN                    CA     90014916858
1637113249373B   KIRSTEN       GRIFFITH                    OH     90015281324
16371411724B7B   WILLIAM       NEVERDON                    DC     90013054117
1637222382B89B   JASON         BLOCHING                    ID     42031502238
1637273227B489   ALMA          ZAMORA                      NC     90006457322
1637413964B588   TODD          DICK                        OK     21580721396
16377289172B62   BOBBY         BIXBY                       CO     90013332891
1637788624B536   MONICA        TUCKER                      OK     90008578862
1637818435B526   CRYSTALYN     MORCE                       NM     90014841843
1637826984B588   EDUARDO       CRUZ                        OK     90013382698
1637878565715B   JESUS         CHAVEZ                      VA     90004907856
1637894A39373B   HOLLY         BEGLEY                      OH     90014349403
16379567472B25   MELISSA       HERNANDEZ                   CO     90012015674
1637972315B129   RAY           LEWIS                       AR     90008677231
1637B6A2855965   EVARISTO      ARELLANO                    CA     48039896028
163823A7272B62   FEDERICO      VAZQUEZ                     CO     33078783072
1638291295715B   LEXTINA       COATES                      VA     90011919129
1638298875B526   JENNIFER      MOLINAR                     NM     35060569887
1638367535B154   NICHELLE      TAYLOR                      AR     90011406753
1638464624B588   CHRISTINA     ESCOBEDO-ESTRADA            OK     90010296462
16384694272B27   JAIME         MCCARRICK                   CO     90008316942
1638472589373B   JACK          DOUGLAS                     OH     90011537258
163848A8561958   JACINTA       CARY                        CA     46040948085
16386A31451337   DAVID         DICK                        OH     66008000314
163874A1A61976   YOLANDA       ARROYO                      CA     90010184010
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16389A69361976   MARIA               DOMINGUEZ             CA     46024680693
1638B45915715B   BELKYS              RAUDA                 VA     90005864591
16391A16761976   RAMERO              ARRAS                 CA     90013290167
1639289859373B   DEBRA               MOORE                 OH     90013628985
1639366984B588   JOSE                MARTINEZ              OK     90012426698
163936A1891569   JUVENAL             DELAROSA              NM     90015106018
16395246A9373B   CALVIN              BRITT JR              OH     64591182460
1639636144B565   CHRISTOPHER         DEBERRY               OK     90011203614
1639659785B526   JOSE                MARTINEZ              NM     35046915978
1639796AA72B62   GLENN               WELLS                 CO     33012369600
1639B69958B154   BILLY               GILBERT               UT     90011896995
163B1365391263   BETO                OLGUIN                GA     90013423653
163B1498755965   FRANCIS             SALAS                 CA     90012374987
163B231235B526   MARIA               NEVAREZ SOSA          NM     90003723123
163B2391457147   EMPIRE FLOOR CARE   MAINTENANCE LLC       VA     90012243914
163B2583951337   KENNETH             HILL                  OH     90011355839
163B2A8A95715B   MARCOS              NUNEZ                 VA     90014970809
163B4526593732   WILLIAM             LAWSON                OH     90005665265
163B4A53A3144B   LARRY               SCHMIDT               MO     90007550530
163B5656255976   DIANNA              EVANS                 CA     49020566562
163B567297B388   LORENA              BAUTISTA              VA     81051676729
163B56A2355965   JUAN                DE LEON               CA     90014456023
163B578888438B   AMANDA              HALFERTY              SC     19081587888
163B5976772B62   JOSE                LUGARDO JORGE         CO     33010439767
163B5997261938   ERIC                MIZRAHI               CA     90013139972
163B6186455965   CATALINA E          LUVIANO               CA     48092481864
163B6776791263   HECTOR              GONZALEZ              GA     90012647767
163B6874651337   MARK                STEELE                OH     66016818746
163B692739373B   LAURA               CLARK                 OH     90013599273
163B754219373B   LOYAL               BLAIR                 OH     90011075421
163B7663691263   CHRISTOPHER         GRAVES                SC     90013156636
163B8739755965   MARIA               MARTINEZ              CA     90001507397
163B8798591569   MARIA               VELASQUEZ             TX     90012527985
163B9193561976   MARLENE             DURAN                 CA     46075251935
163B9455857147   SADE                DOWELL                VA     90015004558
163B9582255976   ELIZABETH           HUBBARD               CA     90013775822
163B9934891263   KOSHITERA           LEWIS                 GA     90007749348
163B9A6419373B   BRITTANY            LAFOLLETTE            OH     64587670641
163BB19125B154   JAMARE              BENNETT               AR     23041231912
163BB1A735B526   CARLOS              LUJAN                 NM     35005051073
163BB89369373B   WANDA               BURNEY                OH     90014798936
163BB93395598B   CHARLES             ZAPATA                CA     90012619339
163BBA1959373B   ROBERTO             MATEO                 OH     64542410195
16411783372B62   RAMON               FLORES                CO     90012387833
1641248225B526   YASSENIA            BENCOMO               NM     90013984822
16412593A77535   FELICIA             SANCHEZ               NV     90010785930
164125A9247956   ADOLFO              RIVAS                 AR     24067705092
1641266A34B588   DANIEL              RITCSH                OK     90004806603
1641316275B154   MELVIN              MITCHELL              AR     23092031627
164131A7791895   KYLE                FOSTER                OK     90012431077
164135A7561976   DORA                GERMAN                CA     90006625075
1641417A431687   JASON               CEBALLOS              KS     90011261704
1641559235B154   LISHA               HOWARD                AR     23082955923
1641561247B489   SAVINIA             BYRD                  NC     11084456124
16415A14972B62   ERASMO              RAMOS                 CO     90010740149
16416278224B55   AMANDA              KNOCH                 DC     90010152782
1641632AA5715B   PATRICIA            ROBINSON              VA     81068553200
16417A51655965   BERTHA              HERNANDEZ             CA     90006300516
1641884628B167   AMY                 MONSON                UT     90006578462
16419A65891263   DRU                 HARVILLE              GA     90014430658
1641B194491586   GRACIELA            CARILLOS              TX     90009021944
1641B537A91895   KEVIN               LOVE                  OK     90012295370
1641B595361976   JOHANA              DURAN                 CA     46012665953
1641B625791573   ANTONIO             CASTANEDA JR.         TX     75074236257
1641B8A9261958   BELINDA             WARD                  CA     46001318092
164213A7A55976   RODRIGO             GARCIA                CA     90014463070
164229A7657147   PAULO               PAZ CHAVEZ            VA     90003879076
16422A51855965   HECTOR              LUNA                  CA     90010420518
1642332715B39B   IEESHA              KING                  OR     90001083271
16423845A72B62   YESSICA             BANUELOS              CO     33099428450
164246A6391263   GALE                KIDD                  GA     90014106063
1642487495B526   EUSTACIO            MARTINEZ              NM     90006848749
164265A4391263   LAVOCIA             PERRY                 GA     90011355043
164272A6893736   CORTLEND            WEBB                  OH     90008642068
1642748A577567   PAULA               DAVIS                 NV     90013264805
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1642799665B526   PABLO               SALTO LOYA            NM     90011919966
16428199A31687   JAMES               MASHBURN              KS     90014791990
1642821964B52B   LUIS                LOPEZ                 OK     90013372196
1642831835B53B   KRISTIN             TRACY                 NM     35079783183
1642974234B588   CHRISTINE           WEBBER                OK     90001297423
1642B646557147   LATRENA             WARTHEN               VA     81036296465
1642B659761976   LEE                 LOGAN                 CA     46056846597
164317A3155965   HECTOR              PADILLA               CA     90014887031
1643241865B526   MARGARET            JONES                 NM     35061304186
1643289A191569   DANIEL              MICHEL                TX     90013328901
1643313754B588   ROBERT              NICHOLSON             OK     90013541375
1643491A472B62   GELPIS              FUENTES               CO     90014199104
16434934A61976   JESUS               CARREON               CA     90007319340
1643563384B588   LESLIE              LOWMAN                OK     90013156338
1643647275B268   REBECCA             CHEEKS                KY     68047354727
1643757765B526   LUISELIAS           PROVENCIO             NM     90014155776
1643B14815B526   VLADIMIR            MSKHILADZE            NM     90013291481
1643B1A3472B26   RAYMOND             AMARO                 CO     90002121034
1643B432761978   FRANKLIN            OROZCO                CA     46007614327
16441341A91895   ADAM                PEARSON               OK     90012193410
164418AA85715B   ASHLEY              ROSS                  VA     90014688008
1644252A761976   CARMEN              TAPIA                 CA     90014815207
1644381535B526   ALLEN               RUIZ                  NM     90014378153
16443AA4151337   JOHN                SLACK                 OH     90008930041
1644449884B26B   KATHERINE           MCDANNOLD             NE     90009244988
1644462A85715B   ISRAEL GUMERCINDO   DIAZ                  VA     90015106208
1644558894B588   ELEASE              ISOM                  OK     90010825889
1644654389373B   ARLOW               PHILLIPS              OH     90007905438
16446752A47956   JENNIFER            ERVIN                 AR     90014587520
1644762337B634   MELVIN              FOREMAN               GA     15013736233
164479A8585876   ANNETTE             JACOBS                CA     90003649085
1644854755715B   MARINA              FERNANDEZ             VA     90014845475
164486AAA72B62   SANDOVAL            ANGELA                CO     90009656000
1644888895B154   ADRIANA             MOORE                 AR     90011328889
1644933685B526   LUCIANO             REYES                 NM     35028093368
1644B117355965   JUSTIN              LASALDE DODSON        CA     90014231173
1644B236231687   LYNTIECE            MURRAY                KS     90014792362
1645164A561958   ROGELIO             VAZQUEZ               CA     90013356405
16451A14347956   LATASHA             JOHNSON               AR     24004010143
1645267255B385   RENEE               MATA                  OR     44087536725
16453231A55965   WILLIAM             BLANCHARD             CA     90010892310
1645582385715B   CLAUDEL             LAMARRE               VA     90000788238
16456A26633649   DARIUS              RICHARDSON            NC     90012200266
16457451A4B588   DIANE               NIRK                  OK     90015144510
1645B17325B526   CHARLES             GILCREASE             NM     90008011732
164611A9861976   ANTHONY             GOODWIN               CA     90011381098
1646151735B526   JULIE               ESPINOSA              NM     90009365173
16461668372B62   TERRY               BARTH                 CO     33043486683
1646213A451337   GREG                MILLER                KY     90012381304
1646272214B588   AMANDA              SMITH                 OK     90009737221
1646297835B526   CYNTHIA             JACKSON               NM     90000639783
164631A6372B62   SEAN                KRANGLE               CO     90010891063
1646363174B588   CORA                BOYKINS               OK     90010826317
16463659A55965   ASHLEY              FINNEY                CA     90001526590
16464415A51337   CARL                ASHLER                OH     90002564150
1646461A361994   MAURICIO            TORRES                CA     90009706103
16465562672B62   MARCOS              ZAMBRANO              CO     90012165626
1646568615136B   THOMAS              NOBLE                 OH     90011426861
16465A6995B526   MARISSA             PALENCIA              NM     90013270699
1646627319373B   ERTHALYN            SHAW                  OH     90015232731
164674A6155976   LUCERITO            SANCHEZ MORENO        CA     49005024061
164696A4A91895   KATHY               HAAS                  OK     90009766040
1646B855247956   ARLEY               RIVAS                 AR     90014588552
1646BA65691895   REBECCA             BENNINGFIELD          OK     90007510656
164712A7676B27   OCTAVIO             LOPEZ                 CA     46036022076
1647192A757B59   JAMES               MANNING               PA     90015339207
16471A1A15715B   NELSON              GARCIA FERNANDEZ      VA     90003600101
16471A21872B37   MARK                ONSTOTT               CO     33097060218
1647296614B588   CLEMENT             JACKSON               OK     21583409661
164735A114B588   SHILOH              HOLT                  OK     90014855011
16474857A61976   DANIELLE            DONNELL               CA     90011988570
16475167272B62   JOHN                MALONEY               CO     33059691672
1647521835B526   ANTHONY             LOPEZ                 NM     90002972183
16477419A54122   JOSEFINA            BOCANEGRA             OR     90012184190
16477A24261958   MICHELLE            PERALES               CA     90000350242
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16477A59747922   VIOLET       STEPHENS                     AR     90014680597
1647838187B424   JESSICA      GOMEZ                        NC     11000703818
1647889A391547   JAVIER       FERNANDEZ                    TX     90013548903
16478916572B62   KATHLEEN     FRITZ                        CO     33086459165
16478AA5191895   ULISES       MAZARIEGOS                   OK     21092730051
1647916822B876   COURTNEY     MEYER                        ID     90000961682
16479398672B77   ALISON       FRANSON                      CO     33074333986
1647954729373B   DANE         HAWKINS                      OH     90011545472
164796A5571935   RICHARD      SMITH II                     CO     90010726055
1647B164791895   BRYANT       ADAME                        OK     21094981647
1647B943191569   LETICIA      RIVERA                       TX     75026739431
164816AA461976   DAVID        WALSTRUM                     CA     90014736004
1648184385715B   JOSE         MEJIA                        VA     90010778438
1648268A755976   ALFONSO      HERRERA                      CA     49078876807
16484A55972B77   JUDITH       GONZALES                     CO     90011460559
16484A83185977   BRYAN        GILL                         KY     67082170831
1648676824B588   VERONICA     RIOS                         OK     90012337682
1648691275B154   DENISE       GRAYDON                      AR     90014509127
164869A3391569   KENETH       QUINONES                     TX     90011169033
16486A94A61958   SUNSHINE     NICOLAS RAMOS                CA     90014870940
1648774A63B388   SUNSHINE     VALDEZ                       CO     33090897406
1648B179661958   SERGIO       LOPEZ                        CA     46090891796
1648B26814B588   TERESA       SELLERS                      OK     21589322681
1648B53A14B26B   FRANCISCO    ACOSTA                       NE     90003765301
1648B851861976   CARMEN       CASTILLO                     CA     90013018518
164912A169373B   LEON         BISHOP                       OH     90005062016
1649138A15B154   RYAN         THOMPSON                     AR     23030833801
1649177A44B26B   GLENDY       MORALES                      NE     90007877704
16492984372B62   AUBRIE       CHIVERS                      CO     90000199843
16493217A91263   ERIC         NAKAMURA                     SC     90009842170
16493A23555976   CRISTIAN     LOPEZ                        CA     90012920235
1649616885B526   MARISELA     LEYVA                        NM     35052491688
1649649A261976   ALMA         PIZA                         CA     90001994902
164972A4357147   CARLOS       CARRANZA                     VA     90013122043
164984A1431687   DANIEL       HILL                         KS     90014794014
1649873294B588   FAITH        SMITH                        OK     21526097329
1649B4AA657562   RICARDO      MUNOZ                        NM     90008104006
164B1123261976   WINTER       MOATS                        CA     90012091232
164B134995B154   RENETTA      SMITH                        AR     23090113499
164B1393861987   EFRAIN       PADILLA                      CA     46016533938
164B16A5255965   GREG         MIDDLETON                    CA     90014456052
164B1892A91895   TINA         STEPHENS                     OK     90013878920
164B226344B588   SHAWN        MCALISTER                    OK     21589092634
164B2929531687   ANTHONY      LAVELLE                      KS     22064939295
164B32A2831687   MIRIAM       BELTRAN                      KS     90010572028
164B3578957147   OCTAVIO      GOMEZ                        VA     90009025789
164B365975B342   LANAE        LAWRENCE                     OR     90003626597
164B3A12555976   TAMMY        BOZEMAN                      CA     49010130125
164B4194547956   DEE          EMBRY                        AR     90002721945
164B4896891569   SAMUEL       PUENTES                      NM     75088388968
164B4A22572469   TAYLOR       MCFADDEN                     PA     90010020225
164B5916161938   VILO         HERNANDEZ                    CA     90011769161
164B66A795715B   DANIEL       GARCIA BATRES                VA     90014736079
164B6977261976   ERLIDITA     WHITFIELD                    CA     90013179772
164B6A18191547   IDALY        CHAVEZ                       TX     90008740181
164B6A66777535   PRISCILLA    PICKET                       NV     90008330667
164B71A3855976   FERNANDO     SALCEDA                      CA     90011211038
164B817915B526   ERIC         NDAHEBA                      NM     35037831791
164B8874991569   CELESTE      LUCERO                       TX     75088648749
164B893335B154   LARON        DEAN                         AR     90010779333
164B921885B526   RUBEN        PONCE-MEDIANO                NM     35001982188
164B927985715B   OLGA         ROJAS                        VA     81064862798
164B9361591895   ADAM         PETREIKIS                    OK     90015293615
164B9523791569   AGUSTINA     CHAVARRIA                    TX     90012125237
164B952394B588   ANGELA       GLENN                        OK     90002145239
164B977A772B62   MARY ANN     ARAGON                       CO     90013587707
164BB99A54B26B   NICCO        HIGHTOWER                    NE     26028729905
1651171265715B   CRUZ         AMAYA                        VA     90009197126
1651185255B526   MELISSA      CABRALES                     NM     35015368525
1651284A191569   JACQUELINE   ALONSO                       TX     90013638401
1651342A971923   CYNTHIA      MAMER                        CO     32044814209
16513554A4B588   ZULEMA       GARCIA                       OK     90006145540
16513977A91263   ROBERT       WILLIAMS                     GA     90012849770
16516A6735B129   DESIREE      IEDRAM                       AR     23089450673
16517992172B62   NICOLE       DICKINSON                    CO     90009409921
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1651B788431476   CLYDE              BAILEY                     MO   90008957884
1652128A35715B   DEYSE              ASIN MELENDEZ DE PARIONA   VA   90012562803
1652138485B526   FAKHRI             ABED                       NM   35025223848
1652153634B588   CHRISTOPHE         DODGE                      OK   21580755363
165225A4191569   LETICIA            NAVARRO                    TX   75007035041
1652277A98438B   ANGELIA            JOHNSON                    SC   19047647709
1652286A74B588   DAVID              SAMS                       OK   90014508607
1652365375715B   BOBBY              SINGH                      VA   90012916537
1652412499373B   DUANE              TILLMAN                    OH   64508961249
165244A5A55965   GLORI              HUGHES                     CA   90013444050
16524A67391263   ANTHONY            HORTON                     GA   90012850673
1652556169373B   AMANDA             SALLEY                     OH   90014965616
16525A79931687   JOE                RICHARD                    KS   90003650799
1652691AA61958   ANA                NUNEZ                      CA   90011589100
16527829A51337   ALFRETTA           PEAK                       OH   90013738290
16527A1455715B   JESUS              JARAMILLO                  VA   90004460145
1652839A191885   KATRINA            COX                        OK   21006303901
165289A7191895   SUSMAN             POKHAREL                   OK   90012479071
1652946A161976   JOSE               SANTOS                     CA   90012744601
165297A8A55965   DAVID              GONZALEZ                   CA   48028407080
1652B243891569   SELENA             PACHECO                    TX   90015322438
1652B93414B588   LOUIS              GURLEY                     OK   90014719341
16532759772B62   TREJO- GUTIERREZ   RAFAEL                     CO   90013977597
1653297A85715B   MAMANI             ROSANA ZULMA               VA   90013589708
16533312357B59   ROSA               REYES                      PA   90015343123
1653448562B89B   ELMA               BASEVIC                    ID   42062694856
1653511274B588   LINDA              AUSDY                      OK   21581921127
16535326A55965   MARIN              SANCHEZ                    CA   90011803260
165367A6761958   JAMES              DAVIES                     CA   90013337067
1653729788B336   ISMAEL             CORTES                     SC   90015312978
16537412A61976   BENTON             KAAIHUE                    CA   90007714120
1653766625715B   TYRONE             DAVIS                      VA   90007006662
1653916A15715B   RENE               AYALA                      VA   90000551601
1653B52635B394   PATRICK            FRED                       OR   90009725263
1653B597A5B154   ERNESTO            FLORES                     AR   23046885970
16541193A31687   DOMIQUEN           TUCKER                     KS   90010421930
1654265619373B   RACHAEL            SHEPPERD                   OH   90008786561
16542A2644B588   RUSSELL            COX                        OK   90012330264
1654322AA2B89B   ALEXANDRA          BERG                       ID   42064332200
1654417795B154   DONNA              CRUDUP                     AR   90002691779
16544244A5715B   ARMIRA             LAKE                       VA   81041552440
16545538A4B588   JOSEFINA           GARCIA                     OK   90011975380
1654596119373B   JARIA              GRAY                       OH   90013719611
16545A99891569   RUBY               MOTA                       TX   90009950998
165461A5A61976   JESUS              LEMUS                      CA   90008471050
1654632A255965   FELIMON            LEDEZMA                    CA   48023123202
1654646184B26B   KEVIN              DELKA                      NE   90011884618
16546817172B62   JUAN               CASILLAS                   CO   90004688171
16548362672B62   PETE               RUIZ                       CO   33000103626
16548A41461934   JORGE              DEL PRADO                  CA   90012590414
165491AA95715B   FREDDY             PEREZ                      VA   90010351009
16549A91691569   AMANDA             HIJAR                      TX   75039710916
1654B673791263   FRANK              WHITE                      GA   14594596737
1655129AA5715B   WILMER             MORENO                     VA   90012192900
165519A5647956   DARLENE            KONING                     AR   90014629056
1655284695B154   LATOYA             JORDAN                     AR   90014318469
1655318194B565   MELVIN             SWAN                       OK   90011211819
1655336A85715B   ROGER              ORTIZ                      VA   90013923608
16553654172B62   RAFAEL             HARRIS                     CO   90008286541
1655415865B154   SAGRARIA           CASTELLANOS                AR   90002291586
16554A1484B935   YESSICA            NAVA                       TX   90002120148
1655582459373B   CHARMIN            BRAGG                      OH   64505038245
1655626623196B   DOUGLAS            PRUITT                     IA   90012662662
1655635A761976   WALLACE            VICKY                      CA   46046083507
1655751977B489   EFRAIN             LOPEZ                      NC   11036965197
16557579A57555   RYAN               MILLER                     NM   90013045790
16557664A91895   AMY                RIETHER                    OK   90014526640
1655796689373B   THOMAS             GRIFFIN                    OH   90012019668
16558AA235B129   MONTA              ROBERTS                    AR   90004740023
16559813A4B935   OLGA               DELGADO                    TX   90014048130
1655995A255965   SUSAN              MARTIN                     CA   90013639502
16559A3765715B   ARAON              COLON                      VA   90013560376
1655B274657147   PHADRIA            GREENE                     VA   81098562746
1655B279861976   ALEJANDRA          ROSALES                    CA   90010502798
1655B28A791895   STEPHANIE          CARTER                     OK   90010822807
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1655B924291569   JOSE ANDRES   ROSALES                     TX     90012319242
165612A795715B   ABELINA       AMAYA                       VA     90015182079
1656188955B154   IMANI         SUBLETT                     AR     90013778895
16562A94951337   ZONNIE        HOFFER                      OH     66012560949
16563225A47956   ARACELY       RODRIGUEZ                   AR     90014732250
1656336A17B42B   PEDRO         BONILLA                     NC     90009273601
165635A1751337   NIASIA        WALKER                      OH     90011235017
1656396685715B   REBECCA       KINY                        VA     90011049668
16564A2649373B   FRANKYE       HERAID                      OH     64582640264
16564A41661976   ERIC          ARELLANO                    CA     90015200416
1656582312B863   BRENT         RUSKA                       ID     90011258231
1656593A591895   BONNIE        SMITH                       OK     90012479305
16566124A7B423   LEKESHIA      HUNTLEY                     NC     11018081240
16566A72793727   KENDRA        KELLY                       OH     90012950727
165676A274B26B   BRENDA        COLE                        NE     26084796027
1656828535715B   KHAMVANGSA    SQUARASY                    VA     90012452853
1656869A855976   GERARDO       ROMERO                      CA     49053046908
16568A28691569   NICOLAS       FIERRO                      TX     90012660286
1656B55837B45B   LATITIA       ADDISON                     NC     90009755583
1656B57673B337   PAUL          NIELSEN                     CO     90007675767
1656BA33861938   HERIBERTO     ABARCA                      CA     90013010338
1657138A872B62   JULIO         GONZALEZ                    CO     90012483808
165713A4731687   KAYLA         HELLER                      KS     22098443047
165715A674B588   SHEANTA       NETTLES                     OK     90007045067
1657218587B44B   SYLVIA        CEESAY                      NC     90002531858
16572188A57147   EMFEMIO       PINEDA                      VA     90011101880
165723A915B154   CAMILO        SANTOS                      AR     23052653091
165726A7161938   MICHELLE      JOHNSON                     CA     46097136071
16573961572B62   DIANA         GONZALEZ                    CO     33063699615
1657418419373B   ANGELA        BANKS                       OH     64558401841
1657432A45715B   BAIG          BASIR                       VA     90014943204
1657691344B26B   HANNAH        YATES                       NE     26040649134
16578489572B62   SCHWEITZER    KELLY                       CO     90007384895
16578847A7B489   SANTA         GURUNG                      NC     11015248470
1657913399373B   HARRIS        ALBERT                      OH     64551141339
16579331933B95   SOPHIA        HENDRIX                     OH     90014393319
1657B86575B526   EFRAIN        FLORES                      NM     90010668657
1657BA96561976   CARMEN        MARTINEZ                    CA     46057140965
1658111335B154   TAYNA         MOORE                       AR     90010911133
16582A7925B154   DAN           SAN ROMAN                   AR     90001780792
16582AA5255965   JOANNA        SALCEDO                     CA     48040190052
16583438A5B526   MARY          MELTON                      NM     90003164380
1658362A861958   MARIA I       ESPINOZA                    CA     90002856208
1658366248B194   CERIE         STEWARD                     UT     90011526624
1658462A151337   MARIA         ROBINSON                    OH     66058466201
165846A3791584   ANA           ALONZO                      TX     90009966037
16584751A9373B   NATASHA       HALE                        OH     90015337510
1658698387B489   SHAWNEEQUA    RANDLE                      NC     11052149838
1658757329373B   CHRISTINA     SNYDER                      OH     64535585732
1658846625B526   JOSEPHINE     CORDOVA                     NM     90013784662
1658967844B588   VERONICA      DA LA O DUQUE               OK     21531406784
1658B15982B869   PASCALE       CAFFERTY                    ID     41061901598
1658B657461938   MARSHALL      HAMMOND                     CA     90012806574
1658B792691952   TEDRA         TODD                        NC     90006027926
1659119339373B   ASHLEY        JOHNS                       OH     90008371933
1659124715B154   ANTHONETTE    BARRON                      AR     90008012471
16592295A61958   A             FELAN                       CA     46079522950
1659448777B489   FREDDIE       MORGAN                      NC     90007984877
16595585A91895   LISA          PORTER                      OK     90015125850
165957AA455965   ARIANA        LOPEZ                       CA     90013577004
1659587149373B   LAMON         JONES                       OH     90013688714
16595A6A661976   ANGEL         LOPEZ ROBLEZ                CA     90014850606
16595A94A57147   FERNANDO      ZALAZAR                     VA     81046180940
16596293A55965   EMILY V.      COLEMAN                     CA     90013962930
1659666A861976   JOSELYN       PINEDA                      CA     90014736608
165969A7272B62   LARITA        BEAR                        CO     90014869072
165973A374B536   TAMATHA       FARLEY                      OK     21560933037
165974A3551337   DEBORA        SMITH                       OH     90014714035
16597A32451337   RICHARD       STAMPER                     OH     90008930324
1659B69554B26B   MICHAEL       FOGERTY                     NE     26008586955
1659B794857569   MAEGAN        GARCIA                      NM     90014627948
165B129479373B   AUTUM         COCHRAN-JORDAN              OH     90013892947
165B1A83591895   SHANEL        BOWMAN                      OK     90010270835
165B2476A55965   ADOLFO        PANYAGUA                    CA     48073934760
165B24A1631687   STEFANIE      BUTTS                       KS     90014794016
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165B26A3491569   SARAH        CABRERA                      TX     90014026034
165B292215B526   CHRISTINA    MAESTAS                      NM     90012369221
165B497249373B   PATRIA       SMITH                        OH     64539259724
165B5178251337   DONNA        HAVERLAND                    OH     66040301782
165B5466961938   VALENA       DAMIAN                       CA     90010544669
165B6266991263   ANTHONY      CUTTING                      GA     90015412669
165B68A365715B   MELISSA      VELASQUEZ                    VA     90014708036
165B7A33972B62   LEROY        WERTZ                        CO     90012960339
165B813A861976   ROSY         LOMASENG                     CA     90015191308
165B8328561947   KATHLEEN     VILLALOBOS                   CA     90013773285
165B8947561958   ANGEL        CUADRA                       CA     90012359475
165B9146761958   KARINA       CARBAJAL                     CA     90015091467
165B9269951337   GRACE        BELL                         KY     90014692699
165B9567347956   DAMA         JONES                        AR     90014605673
165BB263591569   KARINA       BARRAZA                      TX     90011182635
165BB578857147   ANA          CAMPO                        VA     81064735788
165BB64715715B   VILCA        MARCO                        VA     90009276471
165BB918261958   BLANCA       GALLARDO                     CA     90011149182
165BB93654B588   ALVARO       NOVOA                        OK     90014649365
16612963172B62   NOELLE       HELDMAN                      CO     33010559631
16612A6A661976   ANGEL        LOPEZ ROBLEZ                 CA     90014850606
166137A3631426   JACQUES      WILSON                       MO     90001387036
16613A12155965   RANDY        CUNNINGHAM                   CA     90014180121
1661468794B588   BROOKE       NILKINSON                    OK     90009666879
1661471618438B   FELIX        HERNANDEZ                    SC     19036597161
166147A6957147   HUGO         SEGOVIA                      VA     90012747069
16615433472B62   BRIANA       JIRON                        CO     90007254334
16615889A5715B   BUBLIAN      OCHOA                        VA     81001178890
1661658637B489   LETIA        WASHINGTON                   NC     11073855863
16616A15961976   CHRISTIAN    JIMENEZ                      CA     46009500159
16616A9129373B   KALITTA      LANDERS                      OH     64514420912
16617A5194B588   CONNIE       HOWARD                       OK     90011930519
16619884972B84   ROSENDO      RUFINO ROJO                  CO     90014838849
1661993985B154   MICHAEL      STEWART                      AR     90013849398
1661B48725B154   ALEJANDRA    SEGOVIA                      AR     23077104872
1661B551247956   THERESA      HAYNES                       AR     90010625512
1662232A55B526   HANNAH       HEWITT                       NM     35071543205
16622AA8161976   BLANCA       BALLESTEROS                  CA     46012130081
166231A145B154   ENRIQUE      RAMIREZ                      AR     23045401014
1662424894B588   ANGELA       ESCARENO                     OK     90008492489
16624712A61976   LISA         MULLINS                      CA     90005297120
1662611A157147   HAIDER       ALSHUJIRI                    VA     90012081101
1662747262B253   LASADIE      REDDICK                      DC     90011434726
166277AA94B588   KIMBERLY     FRANKLIN                     OK     90010297009
16628333698B52   MONICA F     MAXWELL                      NC     90007623336
1662923717B489   LORETTA      SHIPP                        NC     11034452371
1662973313B36B   CYRENE       TILBURY                      CO     90009827331
16631A7215B526   ROBERT       DANDY                        NM     90013860721
1663226254B588   RAY          BRADSHAW                     OK     90013012625
1663227989373B   SARAH        HOMOL                        OH     90013962798
1663259155715B   NATALY       OSORIO                       VA     90014815915
16632685A72B62   JEFFEY       AKERSON                      CO     90009496850
1663469665715B   JAVIER       ESTEVEZ                      VA     90012766966
1663489859373B   DEBRA        MOORE                        OH     90013628985
1663535144B588   GERSON       GOMEZ                        OK     90012313514
1663545A751337   RALPH        SHEPARDE                     OH     66048004507
1663678A891569   CRYSTAL      CONNER                       TX     90000497808
16637A88331962   PEDRO        GEMARTINO                    IA     90014430883
16638288124B7B   MARIA        MENDEZ                       DC     81018172881
1663962345715B   ELSY         LOPEZ                        VA     81012476234
16639927272B62   JEFF         PHILLIPS                     CO     90013349272
1663B55A37B489   SUSAN        LARA                         NC     11025905503
1663B646572B62   LAURA        PANTANO                      CO     33013726465
1663B717561938   ROSY         GARCIA                       CA     90010347175
1664127715B54B   MARICELA     VAZQUEZ                      NM     35072422771
1664159895B154   ANTHONY      RIDENOUR                     AR     90008055989
1664161525715B   ANA          ACHULLE                      VA     90002866152
166419A4461938   JOSE         GONZALES                     CA     90011779044
1664229257B489   RANDY        WILLIAMS                     NC     11041562925
1664235A591263   MARRY        JACKSON                      GA     90015023505
166446A625B54B   JULIE        BACA                         NM     90008696062
16644A8794B588   YOLANDA      WALTER                       OK     90011310879
16644AA255B39B   SHANA        TRAVER                       OR     90013970025
166456A4A57147   MARIA        ULLOA                        VA     90003766040
1664582A657147   MANUEL       PALACIOS                     VA     90010028206
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1664652A761976   CARMEN       TAPIA                        CA     90014815207
16646777772B62   GROVER       BROWN                        CO     90014697777
16646A68455965   ANTONIO      FLORES                       CA     90006030684
166487A1831687   TERENCE      MULVANY                      KS     22072387018
1664B788A5B526   VICTOR       REYES                        NM     35041947880
1664B838961938   TINA         JONES                        CA     46012348389
1664BA5A65715B   LUIS         HERNANDEZ                    VA     90013930506
1665177835B154   ROBIN        PEARSON                      AR     90012037783
166517A7A4B588   PATRICE      APPLEWHITE                   OK     90013677070
16652A3675B526   CASANDRA     COX                          NM     90015320367
16652A7575B154   JAMAL        BAKER                        AR     90005990757
1665357A861958   MARIO        ROMAN                        CA     90012685708
1665438A255965   AMANDA       SANCHEZ                      CA     90014703802
16654AA2855965   ANGELICA     REINA                        CA     90004850028
166575A5531687   APRIL        JOHNSON                      KS     90014805055
166583A265B526   CELSO        SALAS                        NM     90011003026
16658924A5B385   DANIEL       RAINES                       OR     90014659240
16658AA3991895   JACKIE       WILKES                       OK     90001810039
1665B86835B154   KAPRESHA     CARPENTER                    AR     90006288683
1666178A391895   JOSE         ALFARO                       OK     90004087803
16661815A72B62   JAMIE        HENRY                        CO     90014668150
1666197725715B   LEONOR       REYES                        VA     90015339772
1666222319373B   MICHELLE     EDWARDS                      OH     90013622231
1666315355B123   ESSIE        BRADFORD                     AR     23090681535
1666389185B526   SUZANNE      SAIZ                         NM     35051378918
16663918A2B228   ROSSVY       VALLEJOS                     VA     90008569180
166649A5155965   SHERYL       JONES                        CA     90003949051
1666572888B194   JENNIFER     MCLEAN                       UT     90002917288
166662A8291895   RONALD       MOODISPAUGH                  OK     90013622082
1666942984B582   JUSTO        GRAMAJO                      OK     21583374298
1666975185B526   FORTINO      ORTEGA                       NM     90010127518
1666B235861976   JUAN         TOPETE                       CA     90013522358
1666B45137B489   ROLLON       WASHINGTON                   NC     90010534513
1666B76499154B   ADRIAN       GUITIERREZ                   TX     90011207649
1666B7A534B26B   MICHAEL      BROWN                        NE     26040487053
1667122974B576   MACK         THOMAS                       OK     90008592297
1667145A198B52   HIBO         ABDI                         NC     90008084501
166714A9351337   MICHELLE     FITZGERALD                   OH     90014714093
16671831324B7B   JULOIS       JR                           DC     81058758313
1667221417B489   LAWRENCE     DA SILVA HUSBY               NC     11078752141
1667278444B588   ROBERT       GREENE                       OK     90010967844
1667417929373B   TEIA         BANKSTON                     OH     64567821792
1667419165715B   TOMAS        PABLO                        VA     90015111916
16674814A61938   LUIS         CRUZ                         CA     46017898140
16677665A91569   CRYSTAL      CHAIREZ                      TX     90002146650
1667996315598B   KAMVENG      VANV                         CA     49045519631
1667B13119373B   LINDA        MARKWELL                     OH     90002561311
1667B277291263   MORGAN       ALARCON                      GA     90015412772
1668126425B154   JAVON        BROWN                        AR     90013492642
16682537A31687   MICHELLE     OPDYKE                       KS     90014805370
16682A72A47956   THANH        NGUYEN                       AR     24029240720
16683568A2B242   CHRISTINE    SANDERS                      DC     90012285680
16683A26885939   CHELSEA      BUSH                         KY     90012360268
16684A1A95715B   JOE          SIMTH                        VA     90013080109
16685971A72B62   HUMBERTO     VAZQUEZ                      CO     90012679710
1668655855715B   ALBERTO      SOSA                         VA     90013495585
166871A634B588   DEVENEY      IVY                          OK     90007971063
16689A76547956   NORMA        BARRIENTOS                   AR     90010370765
1668B152861976   LIDIA        INIGUEZ                      CA     90009691528
1668B169551337   SHERYL       BILLUPS                      OH     90012171695
1668B23119373B   PATRICE      LITTLJOHN                    OH     64505072311
1668B59545715B   PATRICIA     DE PAZ                       VA     81024345954
1669152442B89B   ANNE         WILSON                       ID     90005995244
1669169A372B62   AJ           JOHNSON                      CO     90002856903
1669179434B588   CARLA        JONES                        OK     90010967943
1669253A255976   SALVADOR     RAFMIREZ                     CA     90014155302
16693394172B62   RICHARD      GONZALES                     CO     90011133941
16693548A8435B   SHAWN        GREEN                        SC     90012235480
16693AA6847956   SHANIKQUA    RELEFORD                     AR     90008790068
1669432495B154   ANTHONY      CORTEZ                       AR     90014173249
1669491952B89B   RHIANA       BALDERSON                    ID     90014929195
1669545559373B   AMANDA       WIESEMAN                     OH     90012724555
16695829172B62   MARISELA     RODRIGUEZ                    CO     33085118291
16695A1A55B348   MIGUEL       ELIAS FRANCISCO              OR     90008560105
166972A2791263   BONITA       PALMER                       GA     90011482027
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16698159272B62   BRIAN        JONES                        CO     90012201592
1669818A92B89B   CRISTAL      PAREDES                      ID     90006391809
1669942A261979   MIKE         CABRERA                      CA     90008844202
1669959895B154   ERICA        JEFFERSON                    AR     90013685989
1669B55547B34B   CARL         JACQUES                      VA     90010705554
1669BA7A347956   KARI         HOWARD                       AR     90014120703
166B1161657147   CARLOS       HERNANDEZ                    VA     81046211616
166B1558155965   AIMEE        MURPHY                       CA     48085025581
166B16AA35715B   MOHAMED      MUSA                         VA     90001396003
166B192A281672   DAVID W      GUNSOLLEY                    MO     90012559202
166B2772A47956   ROSA         CASTELLON DE MENJIVAR        AR     90011957720
166B2875747956   JESUS        RODRIGUEZ                    AR     90015218757
166B2A5684B588   AMIE         GILLS                        OK     90009450568
166B314915B533   ANGELA       CHAVEZ                       NM     35021951491
166B3348957147   TIRUFAT      ADANE                        VA     90013483489
166B3582A91895   JAMES        ARTHUR                       OK     90009825820
166B3654591569   DIEGO        MILLER                       TX     90012826545
166B398694B26B   LEAH         GUERRA                       NE     90010899869
166B4533372B62   ANA ABEL     DIAZ                         CO     90014895333
166B4628755965   KAMILLA      ORTIZ                        CA     48079446287
166B4745661976   PEH          DAVID                        CA     90013167456
166B532315B154   SARAH        COLE                         AR     23073133231
166B547165B328   PHYLLIS      SEABERRY                     OR     44569554716
166B551774B588   PRONG        PHAN                         OK     90008725177
166B61A1172B2B   JOSE LUIS    ROCHA                        CO     33006941011
166B6629555965   JENNY        GUILLORY                     CA     48079446295
166B6A2445B154   REGINA       MCDONALD                     AR     90001640244
166B7726847956   BRANDON      OLDHAM                       AR     90012347268
166B7773161938   JOANNE       SANCHEZ                      CA     90011907731
166B7935372B62   MICHELLE     IBBOTSON                     CO     33091179353
166B8372291569   MELISSA      MARTINEZ                     TX     75030083722
166B9182857147   NORMAN       PARHAM                       VA     90011731828
166B92A2161938   REBECCA      GAINES                       CA     90006042021
166B9942A31687   JENNIFER     GRUBE                        KS     22038409420
166BBAA8351337   DARNELL      HOWELL                       KY     90010880083
1671112377B466   JESUS        LERMA                        NC     90013561237
16711548A57147   CARMELO      CHAVARRIA                    VA     90006485480
1671245A472B62   DAVID        ALLREAD                      CO     90011054504
1671261115B154   MARLENE      SOTO                         AR     90013966111
1671281289373B   CHEMIKA      CHAPMAN                      OH     90010518128
16712A1575715B   ANETTE       ROSS                         VA     90014720157
16712AA6891569   ROBERTA      CAZIER                       TX     75042140068
167133A5872B62   PATRICIA     FALLON                       CO     33052433058
1671388A155965   VANESSA      VALDEZ                       CA     48018838801
16713A56891263   STEVEN       HAHNGEN                      GA     90013510568
1671487139373B   JEFF         WILLIAMS JR.                 OH     90007908713
16714A6282B546   DARIUS       MARSHALL                     AL     90013790628
16716429A72B62   FREDDY       CONTRERAS                    CO     90008334290
167166A5A91569   MARIANA      NUNEZ                        TX     90013396050
1671762A18438B   NANCY        RAST                         SC     19078176201
1671783714B26B   MARC         MUNDEMBO                     NE     26029718371
1671838573B393   MACARMEN     RODRIGUEZ                    CO     33067213857
1671B87139373B   JEFF         WILLIAMS JR.                 OH     90007908713
16723A1A95715B   JOE          SIMTH                        VA     90013080109
16723A85591569   RONALD       BOOTH                        CA     75026760855
16724272A5715B   AHMED        JAMA                         VA     81025232720
167248A4455965   MARTINEZ     CRISTINA                     CA     90005778044
16724A76791895   PAULA        BRIGGS                       OK     21029840767
16725337A57199   DION         HOGAN                        VA     90008413370
1672558A191895   TRACY        PIGG                         OK     90013145801
1672624979373B   PAMELA       SAMUEL                       OH     90015212497
1672643845B154   MICHELLE     COTTRELL                     AR     90014664384
16726A62791569   JORGE        REYES                        TX     90014660627
16727181A57147   MARVIN       SANTAMARIA                   VA     90012591810
16727418A31687   DEANNA       MCWITHEY                     KS     22065894180
16727629A5715B   DALLAS       RODRIGUEZ                    VA     90011216290
1672786365715B   JULIO        MEDRANO                      VA     90012438636
1672866965715B   MILAGRO      HERNANDEZ                    VA     90000186696
16729418A31687   DEANNA       MCWITHEY                     KS     22065894180
1672943244B588   RALPH        NUGENT                       OK     21524794324
1672984A58B194   KORY         POULSEN                      UT     31013358405
1672B54554B588   HORACIO      LOPEZ                        CO     90010375455
1672B68137B634   SERGIO       PEREZ                        GA     90008806813
1673384195B526   DEMIATRIS    JONES                        NM     90009968419
16733A45755976   DARREL       WHITTLE                      CA     90003200457
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1673615245B526   RHONDA        BROWN                       NM     35044011524
167365A4191569   PRISCILLA     BARRAZA                     TX     90010235041
1673697268438B   DIANNE        QUZAH                       SC     90001279726
1673718A92B89B   CRISTAL       PAREDES                     ID     90006391809
1673746515B53B   JOSE          GONZALEZ                    NM     35070384651
1673779164B26B   JASON         BALES                       NE     26051897916
167377A8991895   JEFF          BRITTON                     OK     21061627089
1673834475B154   ARIC          TURNER                      AR     90013433447
167385A3591569   LUCIA         CERVANTES                   NM     75044205035
16739888672B62   SERVICES      HOME DIRECT                 CO     33020418886
1673B338861938   JAIME         MONCADA                     CA     90011783388
1673B418A31687   DEANNA        MCWITHEY                    KS     22065894180
1673B651391895   KRISTI        REPLOGLE                    OK     21009606513
1673B7A635715B   TANAYLA       EASTERLING                  VA     81087597063
1673BA3325B154   ANTHONY       YOUNG                       AR     90015130332
1674216245715B   LILIANA       LOPEZ                       VA     90014721624
16743A22355965   RONALD        DEAN                        CA     48039210223
16743AA325B154   MARIA         IBARRA                      AR     23050260032
16744A52472B62   DEANIA        WELFRING                    CO     33014370524
16745191386B96   CHARLIE       BURGER                      CT     90014101913
167454A6A61958   ROBERT        HARVEY                      CA     90015134060
1674678A791895   ANGELIA       GODFREY                     OK     90014557807
1674691995715B   JAMES         HENDERSON                   VA     90012429199
16746A65891569   LORENZO       OLIVAS                      TX     75010690658
1674766A947956   ROBERT        GIBSON                      AR     90000516609
167477A965B39B   ANITA         LEWIS                       OR     90011947096
1674831235B154   NATASHA       BLACKMON                    AR     90014083123
16749171A91569   ENRIQUE       MEZA                        TX     75078921710
1674971919373B   JETT          COLE                        OH     64540067191
1674B43A331687   MICHAEL       EDWARDS                     KS     22048544303
1674BA69772B62   SERGIO        ORDUNA                      CO     33087000697
16751363424B7B   JEREMIAS      HERRERA                     DC     90012503634
16752644A47956   BRIAN         GARCIA                      AR     24010086440
16753943972B62   DAJUAN        CONNER                      CO     90012719439
16754529A31687   MAXIMILIANO   NUNO                        KS     90009335290
167564AA491569   ANA           GALLEGOS                    TX     75044204004
16757752A86B96   BRIAN         REEVES                      CT     90014227520
1675924A477535   SANTOS        REYES                       NV     90014742404
1675938969373B   JOSHUA        HART                        OH     90011003896
1675946455B334   DAVID         BAIR                        OR     90006544645
16759597A61972   KOKSAL        OZDEMIR                     CA     90003025970
1675968A79373B   ASHLEY        MCDWELL                     OH     90003896807
1675B63185715B   OSCAR         LOPEZ                       VA     90014436318
1675B816A55976   JULIO         BARAJAS                     CA     90006148160
1675B832672B62   GEORG         DEMPSEY                     CO     33092068326
1675BA8695B526   CAROLINA      GUTIERREZ                   NM     90014520869
16761A19555965   DIANA         VERA                        CA     90011850195
1676268825B229   ABDEL         PEREZ                       KY     90012456882
16764344A91569   MARIO         GONZALEZ                    TX     75044203440
1676466315715B   JUAN          NAVARRETE                   VA     90012446631
1676629257B489   RANDY         WILLIAMS                    NC     11041562925
1676669615715B   ROBERTO       HERNANDEZ                   VA     81074106961
16766A8A591895   BEATRIZ       REYES                       OK     90008200805
1676733A555947   MELISSA       LETT                        CA     90000563305
1676966594B588   DONNA         JONES                       OK     21561476659
1676976747B489   ELVIRA        VILLAREAL                   NC     90013197674
16769A28972B62   MICHELLE      GONZALES                    CO     90015180289
1676B336755965   NATHALIE      DIAZ                        CA     48000553367
1676B62845715B   ROB           BROWN                       VA     81080966284
1676B988191263   LATERICA      WILLIAMS                    GA     90010579881
16771719898B62   AMBER         MOORE                       NC     90001657198
1677257257B489   ANNIE         BANDERS                     NC     11011095725
16772613272B62   JERRY         MIERA                       CO     90010936132
167728A244B536   JATONA        CHESTER                     OK     90008508024
1677365897B373   MARVIN        COREAS                      VA     81020066589
16773A39955976   SHAMIKA       PIERSON                     CA     49051730399
167747A2691569   PAULINA       VENEGAS                     TX     90013727026
1677563615715B   JOSE          LOVO                        VA     90007546361
1677642545B154   MONA          HAAS                        AR     23016034254
1677661A855976   DANIEL        BAILEY                      CA     90011276108
16776A42791263   ERIC          GLOVER                      GA     14594990427
1677729454B588   DADRIN        BAILON                      OK     90015172945
16777A3839373B   RAYVAUGHN     EDWARDS                     OH     90014370383
1677B45955B526   ALFRED        SALAS                       NM     90002964595
1677B78AA9373B   TODD          RIDDLEBARGER                OH     90013207800
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1678157195B526   ORLANDO      CHAVEZ                       NM     90003945719
16781725172B62   LAURA        GONZALEZ                     CO     33011597251
16781A57591569   ROSA         CONDE                        TX     90011320575
16782835924B44   YESINA       ALVAREZ                      VA     90012988359
1678338864B588   DANIEL       COURTNEY                     OK     90014103886
1678352288B169   BRAD         PETERSEN                     UT     90005545228
1678475A69373B   RACHEL       YOUNGER                      OH     90013817506
1678617982B89B   EZEQUIEL     HERNANDEZ                    ID     90005861798
16786766A93723   STEVE        DENT                         OH     90014777660
16787214A5B526   LOUANN       CASTILLO                     NM     90002632140
1678757AA57147   LEO          SORTO                        VA     90012635700
1678785A43B396   IDEAL        ELECTRIC INC                 CO     33000438504
1678827935715B   JHONY        ALVAREZ                      VA     81024672793
1678921A391586   MARIA        MARTINEZ                     TX     75098672103
167894A4561958   JUSTIN       GIRARD                       CA     90013024045
1678971155715B   PAOLA        ESTREMERA                    VA     90009527115
1678B35324B588   MARLILYN     KELLUM                       OK     90008503532
1679117A161958   MIGNON       WATKINS                      CA     46033751701
167914AA15B154   WILLIAM      HILL                         AR     90010494001
16791A5A455965   CHRISDAN     ABBOTT                       CA     90014390504
16793A9635B526   VIRIDIANA    JASSO                        NM     90006850963
1679488165B154   FELICIA      COOPER                       AR     90008478816
1679548AA5715B   CALISH       SHABAZZ                      VA     90013384800
1679636A35715B   EDGAR        MONTANO                      VA     90000223603
1679924534B588   JOSEPH       ASHRY                        OK     90014702453
16799467272B37   ROBERT       ROUGH                        CO     90010904672
1679B554291569   IVAN         MUNOZ                        TX     90009725542
1679B859955965   MICHELL      FERNANDEZ                    CA     48084768599
167B1118455965   DAVID        CALDWELL                     CA     90010921184
167B1268391569   SANDRA       MANJARRES                    TX     90009012683
167B16A5A55976   NELLIE       CALDERON                     CA     90013526050
167B245742B876   MATTHEW      BEHM                         ID     90011774574
167B255855715B   ALBERTO      SOSA                         VA     90013495585
167B35A5191569   ANGELICA     LOPEZ                        TX     90007675051
167B4884A51364   LYNN         HOFF                         KY     90008478840
167B4A19461958   GLORIA       NUNEZOCEGUERA                CA     90014540194
167B5347591263   BYRON        ESPINOZA                     GA     90013893475
167B622A29373B   SPECIAL      WALTON                       OH     90015322202
167B6285361976   ROBERTA      MELGAREJO                    CA     90014182853
167B6844831687   TIFFANY      HARTLEY                      KS     22093958448
167B7277561938   KEVIN        MCLEMORE                     CA     90013132775
167B7296551358   MARK         RIPPERGER                    OH     90009092965
167B8429A9373B   GARY         HOFACKER                     OH     64598444290
167B843194B588   DUSTIN       MCLEMORE                     OK     90013864319
167B9416631687   BEATRIZ      AGUIRRE                      KS     90003624166
167B9713757125   ANA          SANTAMARIA                   VA     90007647137
167BB698655965   LINDY        HARRIS                       CA     90002836986
167BB95A557147   DARWIN       ARAOZ                        VA     90007359505
1681167682B89B   SARA         SMITHER                      ID     90005866768
16811A68731664   DIAN         REYES                        KS     90006530687
16811A93961976   SALVADOR     ESCAMILLA                    CA     90010200939
16811A96A51337   DAMEKA       KESLER                       OH     90007240960
168122A2191895   COZELL       DONALD                       OK     90009472021
1681363684B588   LIZA         KING                         OK     90014886368
1681566997B47B   LUIS         ZUNIGA                       NC     90001706699
16815AA7941272   DAVID        COOK II                      PA     51093670079
1681662212B242   HENRY        JAMES                        DC     90003736221
168173A9891569   VICTORIA     CENISEROS                    TX     90014673098
1681743414B576   KARSON       LITTLE                       OK     90008244341
1681835A261958   MICHAEL      PUMPHREY                     CA     90013083502
16818735A91569   EVA          CORTEZ                       TX     90007817350
1681B8A3655965   ELEANOR      RAMREZ                       CA     48080598036
1681BA92591895   JESSICA      JENKINS                      OK     90003590925
16822895572B62   CHELSEA      WHITTEN                      CO     90010718955
168229AA555965   BEATRIZ      LIZAMA                       CA     90010369005
16822A7294B588   ARACELI      WRIGHT                       OK     90007340729
16823288A51337   IVAN         REA                          OH     90013482880
16825425124B55   BALTAZAR     BRITO                        VA     90013914251
16825767A61958   KENNETH      LEWIS                        CA     90000627670
168261A144124B   FRANK        DETWILER                     PA     90006491014
1682627543B36B   PRISCILIAN   ANAYA                        CO     90002102754
16827499372B62   MARICRUZ     TORRES                       CO     90007384993
1682758653B393   SHEILA       GAVIN                        CO     90000235865
1682823478438B   JOAQUIN      MIRANDA                      SC     90000602347
16829541A85999   CONNIE       STOLZ                        KY     90000445410
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16829A3514B26B   WILLIAM       CONDON                      NE     26084470351
1682B139861958   LIZETH        RIVERA                      CA     90011211398
1682B546191263   MATTHEW       WATSON                      GA     90014465461
1682B56722B857   ARRI          OLANO                       ID     90008885672
1682B77A472B62   JOSE          BONILLA                     CO     33009417704
16831187A51337   THOMAS        KEITH                       OH     90014571870
1683178775715B   BALE          MALAKU                      VA     90014177877
1683223865B526   PATSY         ARMIJO                      NM     90012442386
168324A5151337   BRANDON       SMITH                       OH     66014724051
1683276834B588   PHILLIP       PRESTRIEDGE                 OK     21564867683
16833376772B62   CHRIS         NICHLOS                     CO     90008173767
1683369345B526   VALERIE       BENNETT                     NM     90005516934
1683371344B588   FELICIA       ZAMORA                      OK     90008967134
1683443345B532   TARA          COLIN                       NM     90012454334
1683473214B26B   ASHLEY        BRIGGS                      NE     90000137321
1683518314B588   LATECIA       HILTERBEAN                  OK     90010881831
168357A1647956   DANIELLE      SHERRIL                     AR     90014717016
1683766619373B   LOIS          MORRIS                      OH     90013666661
168387A1647956   DANIELLE      SHERRIL                     AR     90014717016
1683B515561938   SALOME        RENTERIA                    CA     90011785155
16841321976B68   LAURA         PRESBERRY                   CA     90002653219
1684165885B526   BARBARA       MITCHELL                    NM     35048306588
16841948272B62   RACHEL        WASHINGTON                  CO     90008959482
1684246AA55976   DANIEL        TELA                        CA     90014174600
16843274A61976   MARCO         TAPIA                       CA     90011442740
1684349915B526   DONALD        POINTS                      NM     90013004991
1684366324B588   ALAN          GRAMAJO                     OK     90015126632
1684372789373B   DAVID         ANDREWS                     OH     90011817278
168439A2772B62   REYNALDO      GARDIE                      CO     90009209027
1684433A861958   VICTOR        VARGAS                      CA     46009533308
1684561355B342   JENKA         SODERBERG                   OR     90008566135
16846719A57147   JULIA         RODRIGUES                   VA     90014687190
1684674224B588   KAIN          DURBIN                      OK     21564157422
1684737A75715B   JULIO GOMEZ   JUAREZ                      VA     90013853707
168473A4955976   PETER         SANTIKHAM                   CA     90015333049
16847728572B62   GUSTAVO       CALDERON                    CO     33003717285
168484A729373B   MIKE          BUTTS                       OH     90014594072
16849728A4B26B   DANAE         GREEN                       NE     90011467280
1684B96A44B254   JOHN          BRANNAN                     IA     90006469604
168512A8172B62   NOEMHY        CONTRERAS                   CO     33087062081
16852675A72B62   RICKEY        BENSON                      CO     90014566750
1685347864B588   CLARENCE      HARRELL                     OK     90014874786
1685424215715B   SAIFU         CHFIKE                      VA     81035122421
16854987A61938   CHANTALLE     JEAN CHARLES                CA     46027249870
16854A2A54B588   APRIL         MURRAY                      OK     90010410205
16855246624B55   DELVON        STRONG                      DC     90004442466
16855A47461938   RUTH          CHAVEZ                      CA     90012810474
16856476A91263   CARRIE        SIMMONS                     GA     90014024760
16856762A4B26B   KRISTA-LEE    HANDY                       NE     90011417620
1685685A257147   LESLI         PEREZ                       VA     90012448502
168574A895715B   DAVID         MURPHY                      VA     90001344089
1685757794B588   WENDI         DEAL                        OK     90008505779
1685816995B154   ROSALYN       PARKER                      AR     90014521699
1685987498438B   JAMES         HUSH                        SC     90012088749
1685B277A4B588   TRACY         VEAL                        OK     90011082770
16861241A91263   ELIZABETH     BRAZELTON                   GA     90014522410
16861A36755999   VERONICA      LEMUS                       CA     90010790367
16861A5584B588   ROB           AGUIRRE                     OK     90014570558
1686251555B526   EVONNY        MONGE                       NM     90013615155
16863153A47956   JACQUELINE    CARRION                     AR     90014801530
16863A1719154B   ANA           RIVAS                       TX     90013400171
16865827A57147   CASSAUNDRA    JOHNSON                     VA     90001638270
1686717A72B546   ADRIANE       CARTER                      AL     90013841707
1686745A131687   JESUS         RETANA                      KS     22013214501
1686948325715B   OSCAR         GIRON                       VA     90013844832
1686B118674B57   JASMINE       BOST                        OH     90014211186
1686B122961938   ALTHEA        JASPER                      CA     46047441229
1686B444461958   JUSTIN        HOLAHAN                     CA     46009534444
1686B61245715B   JERSON        SOSA FUENTES                VA     90014846124
1686B617957147   ROBERTO       VALDEZ                      VA     90012896179
1686B849222929   AYERA         HARTSFIELD                  GA     90014698492
1686BA6AA51337   ROBIN         MOORE                       OH     66012020600
1687112A691964   ASHLEY        DENNY                       NC     90011011206
1687119564B588   JEROME        REECE                       OK     90013551956
1687144735B154   TOMMY         GIBSON                      AR     90014384473
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168715A455B526   ADIIYO       PETERSON                     NM     90014045045
16872475A51337   SHANNON      PIKE                         OH     90002824750
1687271725B39B   GILLIAN      MURR                         OR     90005067172
1687316A15B154   TERRI        GAINES                       AR     90013701601
16873487A57147   AMMAR        MOHAMED                      VA     90013054870
1687357429373B   MARK         TAYLOR                       OH     64526495742
1687361217B423   AMANDA       FISH                         NC     90010766121
1687473815715B   AGAPITO      MEDRANO CASTRO               VA     81038797381
16874815A5B526   CHASTITY     MARTINEZ                     NM     90011838150
1687511A37B35B   ANTONIO      BENITEZ                      VA     81081521103
1687522698438B   ROGER        MITCHELL                     SC     19076962269
1687532774B26B   TROY         VETTER                       NE     90007113277
1687699614B588   CHYNA        LUCAS                        OK     90014719961
16877A22A72B62   BERNIE       MIMS                         CO     90003910220
16878114972B62   AMBER        LADEHOFF                     CO     90010891149
1687813538438B   CHRIS        GUST                         SC     90003781353
16878557272B62   NIK          LACOSTE                      CO     90012825572
1687899A872B62   YANA         BUTTACAVOLE                  CO     90014079908
1687915864B26B   PAYGO        IVR ACTIVATION               NE     90008971586
16879417A91569   DEIDRE       PORTILLO                     TX     90011484170
16879579672B62   RENA         RUTHERFORD                   CO     90001515796
168795A6191895   PORFIRIO     CARBAJAL                     OK     21055845061
1687B26A85715B   MARIO        MARCOS                       VA     90006352608
1687B41484B588   BETH         MIX                          OK     90013104148
1687B979157147   ARNULFO      MENJIVAR                     VA     81058479791
1688141394B588   DEJAUN       LANG                         OK     90011904139
16882452A51337   CRYSTAL      SPARKS                       OH     90014854520
16883AA888B574   NORA         MANRIQUEZ                    CA     90014170088
1688511265B154   MONA         DAVENPORT                    AR     23059161126
1688555424B588   REBECCA      RODGERS                      OK     90012215542
16886341A91263   AMY          WEISS                        GA     90013423410
168867A5861958   NAYELI       MEDINA                       CA     90014407058
16886971A51337   KIWANIS      JONES                        OH     90008269710
16887AA948B574   GUADALUPE    HUERTA                       CA     90014170094
1688914355B229   JOSEPH       CLARK                        KY     90001371435
1688B12835B526   EPIFANIA     ASTORGA                      NM     90001151283
1688B259A55965   ISAAC        DAMON                        CA     90013062590
1688B324691263   LEONARDO     TRUJILLO                     GA     90013933246
1688B46587B489   GERALD       HARRISON                     NC     11014444658
1688B64229373B   CINDERALLA   LOWE                         OH     90008916422
168915A2861976   ROBERTO      SILVA                        CA     90012755028
1689215487B489   RICK         PARKS                        NC     11092111548
168921A6791895   DANIELLE     WHITE                        OK     90014771067
168921A7A4B26B   KATREISHA    LQUINTANA                    NE     26038191070
1689299958B574   GUADALUPE    HUERTA                       CA     90014169995
16892A26A57147   OLGA         SILVA                        VA     90012030260
168935A9255965   ANA          HOLGUIN                      CA     90014845092
16893A2A561958   ANGELA       GARCIA                       CA     90011370205
16893A54A61992   ISIS         NOVELA                       CA     90006690540
1689422A572B4B   JOSE         TREJO                        CO     90013622205
1689441715715B   NELSON       DIAZ                         VA     90014744171
1689587144B588   MELLISSA     WOODS                        OK     90011928714
1689634919373B   CHRISOPHER   THURMAN                      OH     90002873491
1689816735715B   JOSE         ESTEBAN                      VA     90013511673
1689826A761957   IRMA         CALZADA                      CA     90010872607
168983A189373B   TREY         SPENCER                      OH     90013353018
16898445572B29   VAENTINE     ROMERO                       CO     90010574455
1689B25487B489   NAP          PUIH                         NC     90007482548
1689B675991895   CARLOS       HERNANDEZ                    OK     21003276759
1689B892172B62   LETICIA      ARRIAGA                      CO     33052108921
1689BAA845715B   OLGA         FUNES                        VA     90011920084
168B1757257147   EMMANUEL     ECHEVERRI                    VA     81047277572
168B1A27891569   MARIA        ELIAS                        TX     90009390278
168B2195155965   JACOB        MORAIDO                      CA     48032581951
168B2A9575715B   LAMAR        HENDERSON                    VA     81026060957
168B312835B526   VANESSA      LITTLEPAGE                   NM     35083111283
168B33A7761958   NAHON        AGUILAR                      CA     90003983077
168B3832961976   CONSUELO     OLMEDO                       CA     90014868329
168B4299591263   DARMAN       TANKSLEY                     GA     90014582995
168B452775B526   MIRANDA      MCAFEE                       NM     90008015277
168B46A2761958   JONATHAN     RIVAS                        CA     90002486027
168B511172B884   NICOLE       RALSTON                      ID     90002251117
168B5233A4B588   WALTER       TRENT                        OK     21553252330
168B5849357147   CINTIA       LAFUENTE                     VA     90006748493
168B6439131687   MELISSA      TAYLOR                       KS     22059284391
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168B658368438B   NYIM          GATHERS                     SC     19005895836
168B6688747956   TELESHA       MCKINNEY                    AR     90013996887
168B7151191569   MITCHELLE     LUJAN                       TX     75011421511
168B7214655965   PATRICIA      BANDA                       CA     48000472146
168B734119373B   ERIKA         WARD                        OH     64501953411
168B7522A43588   JESS          CLELAND                     UT     90012025220
168B772A95715B   MARGARITA     HERNANDEZ                   VA     90012687209
168B7935961938   ALEJANDRO     AYALA                       CA     90012299359
168B7A1735B526   ARACELI       REGALADO                    NM     90008160173
168B829719373B   MICHELLE      FRYMAN                      OH     90003972971
168B9269951337   GRACE         BELL                        KY     90014692699
168B927A272B62   CYNTHIA       ANNETTE                     CO     90008152702
168B9288155965   ANGEL         HERNANDEZ                   CA     48050872881
168B982A147956   LORI          THOMAS                      AR     90014708201
168BB455861976   LORERNA       CORONA                      CA     90012754558
168BB597872B62   JANET         SALAS                       CO     90013105978
168BB714855965   AARON         MAGALLON                    CA     90010917148
168BB75A69373B   RACHEL        YOUNGER                     OH     90013817506
168BB863951337   TONYA         BAILEY                      OH     90011568639
1691166AA8438B   DEANGELO      GRIFFIN                     SC     90013776600
16911953A91263   JABRELL       BONAPARTE                   GA     90013649530
1691247714B588   CHAVONNE      DIXON                       OK     90009824771
1691254595B526   LUZ           MORA                        NM     35001315459
169125A8547956   ELIZABETH     SMITH                       AR     90013675085
169139A6455976   ADRIANA       SILVA                       CA     90013219064
16915677A72B62   SHAWN         BELLEY                      CO     33098716770
1691785A636B99   DARIEN        CAMP                        OR     90012668506
169179A2991263   JABAR         MARION                      GA     90013589029
16918484372B62   JANETTE LEE   TOWNSELL                    CO     90011234843
169185A8547956   ELIZABETH     SMITH                       AR     90013675085
1691965A151337   HOPE          HEDGES                      OH     66045836501
169199A6372B62   HEATHER       MONDY                       CO     33072189063
16919A5413B388   KRISTINE      HUTCHINSON                  CO     90011380541
1691B424755965   RICHARD       HERNANDEZ                   CA     48052914247
1691B529A31687   MAXIMILIANO   NUNO                        KS     90009335290
1691B82114B536   JULIA         ROLEN                       OK     90011088211
16921A89891945   ARTAVIA       LINESZY                     NC     90010120898
16924A54547956   LEAH          JAMES                       AR     24004950545
1692519315B526   DEBRA         CARTER                      NM     90003451931
1692525915B39B   OSCAR         GASTON                      OR     90006312591
16926557A7B489   ROXANNE       MOSELY                      NC     11044735570
169266A4A5B154   SANDY         WILLIAMS                    AR     90012196040
1692682A291569   DANIEL        ESCAMILLA                   TX     75009888202
1692769285B526   JUANITA       CORONADO                    NM     90013196928
169276A112B89B   JUSTIN        HOXIE                       ID     90005956011
1692881899373B   BILLY         CAMBELL                     OH     64540048189
16928A73872B62   MANI          POWERS                      CO     90007100738
1692B21444B588   KECIA         PERRY                       OK     90013872144
1692B731291895   HORALIA       GARCIA                      OK     90012997312
1692B837847956   ADAM          ROBINSON                    AR     90014728378
1693155A791569   CECILIA       HAMMONDS                    TX     90008595507
1693168395715B   GILBERTO      LOPEZ                       VA     90001526839
1693229195715B   PEDRO         VALENCIA                    VA     81057722919
1693325787B489   NICOLE        PUGH                        NC     11013602578
1693375345B526   SCANNELL      JEROME                      NM     90005137534
16933899A72B62   JUSTINE       MILLS                       CO     90012078990
1693632639373B   JENNIFER      SMITH                       OH     64522013263
169373A4155976   CARLY         BANKS                       CA     49081343041
1693744A661958   CYNTHIA       HERNANDEZ                   CA     90013284406
1693841164B588   LAMANDA       TAYLOR                      OK     90014804116
169386A975715B   WILLIAM       ROMERO                      VA     90013046097
169389A9631665   JACONA        GILLESPIE                   KS     22054129096
16938A67372B62   PATIRCIA      ADAME                       CO     90010670673
16939AA6372B2B   MEAGAN        ROUNTREE                    CO     90008770063
1693B174355976   JUAN          SANCHEZ                     CA     90014751743
1693B49215B154   DEMETRICE     BREWSTER                    AR     23086164921
1693B539655965   VANETTE       DOUGLAS                     CA     48036925396
1693B818A57133   MARIA         SAUCEDO                     VA     90007508180
169418AA62B89B   CHRIS         FRAGA                       ID     42078898006
16941A7594B543   MICHAEL       JACKSON                     OK     90010600759
1694249A624B55   EDGAR         ARTURO                      DC     81086134906
1694354472B89B   ERIKA         CEDILLO                     ID     90005975447
16943774172B62   LINDA         MENDOZA                     CO     33072107741
1694384855B526   BRIAN         STANCE                      NM     90014448485
1694391744B588   ALICIA        JOHNSON                     OK     90014049174
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1694479245B154   DASIY                GARY                 AR     23078827924
16944986297B33   ELEAZAR              VILLALBA-MARTINEZ    CO     90011739862
16945A31A9373B   BRIAN                GOLD                 OH     90015450310
1694625559373B   JAROM                HAYES                OH     90015132555
169467A1391895   GLORIA               LUNA                 OK     90000797013
16946A92755976   DEANDRE              FULMER               CA     49017200927
16946AA1272B62   RAMIRO               MARCUS               CO     90012110012
1694883839152B   EDGAR                ROBINSON             TX     90011328383
1694928754B26B   SONYA                LIEB                 NE     26004712875
1694B31915B154   JAZZMYLE             DOPSOL               AR     90015473191
1694B755A72B62   MICHAEL              BRUFFETT             CO     33012787550
16951328772B62   WENDY                HERNANDEZ            CO     90003913287
1695139285B154   ANTHONY              FREEMAN              AR     90014093928
1695233A75B154   ANDREA               LEWIS                AR     90013333307
1695243255B385   GLORIA               SOTO                 OR     90010544325
16952669624B35   NELSON               MEJIA                VA     90004256696
1695289A755976   ALEJANDRO            CORTES-NUNEZ         CA     90012878907
169528AA17B43B   DOROTHY              ARMSTRONG            NC     90000658001
169529A8693727   MICHAEL              LUCKETT              OH     90000999086
16953277A47956   AMANDA               STARKEY              AR     24067522770
1695387654B588   VICTOR               ROSE                 OK     90008508765
16954166A91895   RIGOBERTO            GUZMAN               OK     90000961660
169544AA89373B   RONALD               STALEY               OH     90013704008
1695453218164B   LAURA                MILAM                MO     90009295321
1695464625B154   ASHLEY               TATE                 AR     23000636462
1695487A161976   EDGER                GILBERT              CA     90013608701
16955643272B62   MIGUEL               PEREZ                CO     90014816432
16955772A7B489   SHANTA               LIPSCOMB             NC     11009217720
16956352A9373B   STEVEN               YOUNG                OH     90004233520
16956433524B7B   JANE                 GBAKIE               MD     81061944335
16959287376B27   ADRIANA              MALDONADO            CA     46084742873
1695983856B288   TYRONE               PALMER               NM     35091658385
1695987654B588   VICTOR               ROSE                 OK     90008508765
1695B29755598B   LARRY                BARBER               CA     49034092975
16961488572B62   FRANK                MARASA               CO     33051364885
16963A19857147   LAWSON               LAWSON               VA     90007750198
16964A9A961958   CHRISTOPHE           EVANS                CA     46010450909
16966A3387B489   JORGE                MENDOZA              NC     90004770338
169683A7761976   LOURDES              LARA                 CA     90013183077
16968A74651337   ARMANDO              MAURICIO             OH     66083100746
16969575A91895   RACHEL               HERRERA              OK     21082695750
16969A57455976   SAUL                 AGUNDEZ              CA     49098310574
1696B215161976   CHRISTOPHER BRADON   HYMAN                CA     90014162151
1696B39249373B   JESSICA              BAKER                OH     90002233924
1696B5A8855965   JOHN                 VALDEZ               CA     48045765088
1696B624261958   MASOODA              SYED                 CA     90012686242
1696B887161938   ROBERT               INOA                 CA     46016328871
1696B96A14B588   TONYA                THRONESBERRY         OK     21574719601
1696B974191569   SALVADOR             RODRIGUEZ            TX     90015079741
1696BA88351337   PHILLIP              KEYES                OH     66069560883
16971464A91885   WENDY                ZIMMERMAN            OK     90007854640
1697219564B588   TROLONDIA            TIDWELL              OK     90012211956
1697334175715B   JORGE                LOPEZ                VA     90007853417
1697461195715B   LUIS                 AYALA                VA     90014746119
169749A1361958   MARIAH               YOUNG                CA     90014289013
1697598164B26B   EARL                 ADAMS                NE     26084799816
16976659A5715B   SABRINA              MOHAMED              VA     90011866590
16976A65291895   TAMIKA               JONES                OK     90015200652
1697843625B526   ADAM                 STOCKTON             NM     90014494362
1697968AA51337   DAVID                HUNTER               OH     90014966800
1697B11492B866   SHANE                TURLEY               ID     41077931149
1697B18A75715B   ELMER                HERNANDEZ            VA     90004901807
1697B8A2972B27   SILVIA               VASQUEZ              CO     90005768029
1698122918438B   ERICKA               FOGLE                SC     19009332291
1698232A53B393   FELIX                LOZANO               CO     33017023205
1698293512B284   EVA                  JOHNSON              DC     81001389351
1698455664B588   ALENA                RAWLINGS             OK     90013845566
1698475695B268   TED                  STIVERS              KY     90012447569
169871A6447956   YENI                 RODAS                AR     90014741064
1698777815715B   DIANA                MELENDEZ             VA     90009867781
16987863772B62   NORMA                DELOERA              CO     33015548637
1698831547B489   JOSE                 RODRIQUEZ            NC     11012473154
1698862A14B588   BRITTANY             WILLIAMS             OK     21583896201
1698915195B154   QUINTINA             BAILEY               AR     90006911519
1698926227B45B   SCOTT                HOOPER               NC     90013282622
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16989759172B62   HECTOR              RUIZ                  CO     90007727591
1698B211661976   HERIBERTO           LOPEZ                 CA     90010212116
1698B86958B167   ROSS                MCGRAIN               UT     90007768695
1699159114B26B   KATRINA             STOMER                NE     26088885911
1699179534B588   MARIO               MELENDEZ              OK     90014177953
16992AA2161938   MAYRA               CRUZ                  CA     46023410021
1699325177B489   CLOTILDE            RIVERA                NC     11061092517
1699353A355976   SIA                 XIONG                 CA     49054305303
16993894A61976   MACARIA             ALVAREZ               CA     46038518940
169943A2291895   SHONA               SAMUELS               OK     21026313022
1699447665B342   ROBERT              SPENCER               OR     44507614766
16994579A91263   SAMANTHA            JOHNSON               GA     90014855790
16994A65591895   T                   WHITE                 OK     90014810655
1699516215715B   AXEL                RIVERA                VA     90013861621
169954A1A51337   JOHANA              MCMILLAN              OH     90011674010
1699613525B352   KATRINA             VOSHALL               OR     44564331352
16996A46372B62   DESIREE             MONTOYA               CO     33075010463
1699767A491263   TUSHA               CRAWFORD              GA     90011286704
16997A5125715B   JENNIFER            SILVERS               VA     90014240512
1699837247B32B   ALLAN               BOULTER               VA     81032923724
1699875A191573   MARIA               LIZALDE               TX     90008797501
1699912A957147   LAMAR               LOCKLEAR              VA     90013761209
16999364A5B154   ASHLEY              KELLEY                AR     23089383640
1699984AA61976   RAUL                VILLANUEVA            CA     90013488400
169B1146872468   JOSEPH              SMITH                 PA     90014511468
169B1421751337   TONY                SIMMONS               OH     90000254217
169B1734831687   ILA                 BYRUM                 KS     90014817348
169B182A655965   MARIA               MURPHY                CA     48045768206
169B184655B526   LESLIE              FEY                   NM     90015338465
169B186479373B   DONNIE              MACK                  OH     90011108647
169B2126855965   TINA                JONES                 CA     90007851268
169B2949657147   DOMINIQUE           CROSBY                VA     90009959496
169B2A25A91895   BAYRON              HERNANDEZ             OK     90009850250
169B3194761938   JUVENTINO           TEPEXPA               CA     90012921947
169B357232B976   VICENTE             LUPIAN                CA     90013005723
169B386285B526   DESTINY             ROMERO                NM     90015238628
169B397975B526   DESTINY             ROMERO                NM     90008329797
169B4184655965   BIANCA              ALLES                 CA     90009501846
169B443875715B   MARCOS              GARCIA                VA     90014744387
169B4697751337   SONJI               CARRADINE             OH     90012566977
169B5298247956   JUAN                ALARCON               AR     24064102982
169B5A16A61976   JORGE               SINOHUI               CA     46057200160
169B6256625356   JUSTIN              FILLMORE              WA     90015272566
169B6583A91895   ELIZABETH           CHAIREZ               OK     90013355830
169B8332891399   SERGIO              MARTINEZ              KS     90001663328
169B8391457147   EMPIRE FLOOR CARE   MAINTENANCE LLC       VA     90012243914
169B839A955965   LETICIA             DAVIS                 CA     90014833909
169B9284331422   GREGORY             MOORE                 MO     90010022843
169B9328772B62   WENDY               HERNANDEZ             CO     90003913287
169B9614891895   ROBIN               CORMIER               OK     90000576148
169B9615491263   NATHANIEL           ATES                  GA     90013586154
169BB41255715B   JOSE                JIMENEZ               VA     90014124125
16B11351657147   CHARLES             HILL                  VA     90013573516
16B11478957147   ARACELY             GUZMAN                VA     90010334789
16B1244A347956   CYNTHIA             MARABLE               AR     24011534403
16B12749172B62   AZUCENA             VILLA                 CO     33083847491
16B12924A61938   TOBIAS              MICHEL                CA     90013059240
16B1319842B282   LASHONTA            WARD                  DC     90014701984
16B13899861958   DIEGO               ISLAS                 CA     90014918998
16B13A26561938   CHRIS               WEYDE                 CA     90000680265
16B14342724B7B   CARL                SHIELDS               VA     90013423427
16B14575231687   ADAM                CURTIS                KS     90014745752
16B1522918B172   ALBERTO             RODRIGUEZ             UT     90001962291
16B15515861958   CESAR               CHAVEZ QUIROA         CA     90012345158
16B1554A44B588   BILLY               LOAGUE                OK     90013705404
16B15928891852   HONORE              NGOYI                 OK     90000419288
16B1673923196B   DABRIELLE           DIXON                 IA     90013197392
16B1687914B26B   CINDY               HALL                  NE     26041128791
16B18425961976   JUAN                MUNOS                 CA     90012744259
16B186A2491569   MARK                SORIA                 TX     75046066024
16B1B794355976   ANGELA              ALVAREZ               CA     49008637943
16B21213591895   MARIS               DE LA CRUZ            OK     90003752135
16B21576531687   SHERYL              REINKING              KS     90007585765
16B2223659379B   GINA                CAPPARELLLI           OH     90005522365
16B228A625598B   JOSE                LEAL                  CA     90009948062
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16B22A57161958   SPRINZ        S                           CA     46017320571
16B23363A72B62   SARA          SHIRLEY                     CO     90013013630
16B23699451337   TRAVIS        TYE                         OH     66044256994
16B23A92572B62   RICHARD       HILTON                      CO     90010740925
16B24181455976   MINERVA       CHAVEZ                      CA     90014741814
16B24266A61976   RANDY M       VIDAL                       CA     90013992660
16B24325A5715B   ANNETTE       KUPRENAS                    VA     90012463250
16B24864147956   DENIS         CRUZ                        AR     24055958641
16B24A81657147   RICARDO       RUIZ                        VA     90011940816
16B26321391895   MICHAEL       LABRIER                     OK     90015293213
16B265A6191979   JEFFREY       PHELAN                      NC     17028315061
16B2672AA3B368   TARRY         CLEVELOND                   CO     33023707200
16B26853655976   LEE           THAO                        CA     49008058536
16B26A8545B154   TAERONYE      SMITH                       AR     90012490854
16B2773585B154   HAPSATOU      DIALLO                      AR     23076717358
16B27791A47956   AMBER         DAVIS                       AR     90014107910
16B27A22257147   DELIA         RAMIREZ                     VA     90013190222
16B28244A93745   BRYANT        ZELLER                      OH     90006802440
16B2864574B588   STEVEN        BARNETT                     OK     90010886457
16B28917147956   ELISA         RAMIREZ                     AR     24061699171
16B2892749373B   MARSHA        CARLSON                     OH     90011489274
16B28946255976   FRAUNCELIA    HERNANDEZ                   CA     49081199462
16B2938695715B   MAXIMILIANO   VASQUEZ                     VA     90013893869
16B2977425B154   RAUL          COUNTINO                    AR     90012487742
16B29973455965   ANTHONY       GARCIA                      CA     90013319734
16B2999A75B526   RICHARD       MARES                       NM     90012209907
16B29A83361976   CHRISTIAN     MURILLO                     CA     90010370833
16B2B14AA55976   SILVIA        MARTINEZ                    CA     49067871400
16B2B371986B96   CHARLES       VAZQUEZ                     CT     90014143719
16B31116191569   ANGELICA      GUARDIOLA                   TX     90012961161
16B3113169373B   HOLLY         PALETTA                     OH     90004041316
16B3121135B154   ERIN          VICKERS                     AR     90010472113
16B317A264B26B   KATTIA        OUM                         NE     26030157026
16B31A81A4B588   STEPHANIE     MYERS                       OK     21572270810
16B32151A5B389   ENRIQUE       RIBEAUX SEGUI               OR     90008751510
16B32213161958   WILFREDO      QUEZADA                     CA     90013862131
16B32763931687   TABITHA       MOORE                       KS     22024657639
16B32791A47956   AMBER         DAVIS                       AR     90014107910
16B33474A4B588   RYAN          PETAIA                      OK     90013004740
16B33821851357   THOMAS        BOONE                       OH     90004428218
16B3459A67B489   MIREYA        SALAZAR                     NC     11096155906
16B34637355976   NICOLAS       HODGES                      CA     49051686373
16B35128A9373B   BETHANY       CODDINGTON                  OH     90012611280
16B35335A5B154   TERI          YOUNG                       AR     90001333350
16B3548637B428   MYRA          CHAMBERS                    NC     90013204863
16B35553491263   COBY          GAINES                      GA     90014635534
16B35663551337   LORI          UTLEY                       OH     90011986635
16B36112561976   CLAUDIA       ESTRADA                     CA     46001031125
16B3612735715B   DANIELA       COAQUIRA                    VA     90012361273
16B36364291895   QUINTON       SMITH                       OK     90011853642
16B36482872B62   NORA          MARTINEZ                    CO     90014014828
16B36885957147   MILTON        CAMPOS                      VA     90013918859
16B36A88161938   DELIA         CALDERON                    CA     90012170881
16B37523357147   INOCENCIO     HERNANDEZ                   VA     81098845233
16B37593472B62   OFELIO        CATARINO                    CO     90011865934
16B37A1375715B   CLAUDIA       PICADO                      VA     90011490137
16B37A18561958   ESTELA        RAMIREZ                     CA     46015140185
16B38935A91895   SAM           WILLIS                      OK     21083369350
16B38A73755976   ANGEL         GONZALEZ                    CA     49012960737
16B391A1491895   SARAH         PATTON                      OK     90006741014
16B3B373791569   ROSARIO       CARRILLO                    TX     90008353737
16B4145125B264   JAMIE         SELVY                       KY     90014774512
16B4279675B154   BOBBY         SYKES                       AR     23071837967
16B42A86791263   KRYSTALL      GRUBBS                      GA     90013350867
16B435A889373B   GREGORY       RYAN                        OH     90008285088
16B43832661976   PAULA         DIAS                        CA     90001978326
16B43A5334B26B   TERRIE        GEER                        NE     26015910533
16B44784155965   CIELO         HERNANDEZ                   CA     90009917841
16B4515A84B588   KIM           ALLEN                       OK     90003691508
16B4558A391263   MURRAY        TROUP                       GA     90010485803
16B45723A57147   JUAN          SALINAS                     VA     90011557230
16B4612A99373B   JAVON         BUCKMAN                     OH     90015111209
16B46326991569   JUAN          GUEVARA                     TX     75090493269
16B4665375715B   BOBBY         SINGH                       VA     90012916537
16B46A73872B62   GLORIA        AMOAKO                      CO     90011330738
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16B47156647956   PEREZ        MIGUEL                       AR     90012291566
16B47815651337   GERGISH      DEBESSAY                     OH     90012748156
16B48669393763   TYLA         MAYS                         OH     64512786693
16B49514A61976   ARTURO       MIRAMONTES                   CA     90013225140
16B495A5A5B129   CRISTIE      TYE                          AR     90007145050
16B495A6855976   MARIA        MENESES                      CA     90008425068
16B49897272B62   MICHEAL      ARAGON                       CO     33058308972
16B4B333A9373B   STEPHANIE    PONDER                       OH     90013353330
16B4BA9824B588   CYNTHIA      WRIGHT                       OK     90013070982
16B51682A91895   BEATRICE     GRAHAM                       OK     21091626820
16B51955555965   JULIA        BARRERA                      CA     90004259555
16B51A2A32B89B   SALINA       ANNA                         ID     90004260203
16B52A69931687   DONNA        SHEPARD                      KS     90001680699
16B5311735B129   SONYA        JONES                        AR     90003451173
16B53334955965   CASSANDRA    VELASQUEZ                    CA     90006253349
16B5339A957147   MARCOS       REYES                        VA     90015143909
16B53A91691884   ESEQUIEL     FLORES                       OK     90011050916
16B54167293745   ALLYN        JAMES                        OH     64536721672
16B54256333B28   DESTINY      TRAVIS                       OH     90014742563
16B54449172B62   MICHAEL      BEAVERS                      CO     33045684491
16B54696751337   ANGELA       RAMIREZ                      OH     90009046967
16B55561191263   KIMBERLY     SWINDLE                      GA     90011255611
16B5562284B588   RASHAD       BROWN                        OK     21574346228
16B55956A2B232   DEE          FERRELL                      DC     90010569560
16B5638265715B   VILMA        VENIS                        VA     90012213826
16B565A8955965   JAMES        NELSON                       CA     90014845089
16B56845461976   JAMIE        CAMPANELLI                   CA     90012668454
16B56A79591263   DESTINY      COLEMAN                      GA     90013930795
16B5725285598B   CRYSTAL      MEZA                         CA     90009202528
16B5728564B26B   LISA         SWISHER                      NE     90000712856
16B5811115715B   GARRET       KEENE                        VA     90014741111
16B5832649373B   JEFFERSON    LATOYA                       OH     90010953264
16B58372461938   ARTURO       MARTINEZ                     CA     46007053724
16B5883A357147   ANA          SANTOS                       VA     90010578303
16B59744391569   SARAI        GONZALEZ                     TX     90013807443
16B59A6912B89B   AMY          HERBERT                      ID     90004260691
16B5B727291895   TAMIKA       PAYNE                        OK     90003897272
16B61256A55965   SUSAN        GAONA                        CA     48020642560
16B61779291263   CANDACE      CORNS                        GA     90013597792
16B61821747956   BRENDA       MEGEHEE                      AR     24069028217
16B62273924B55   STEVEN       HILL                         VA     90011372739
16B62583A5715B   RAQUEL       TAVARES                      VA     90003115830
16B62A63355976   RICARDO      LARES                        CA     49082620633
16B63362A5715B   ALBERTO      MARRERO                      VA     90012153620
16B63779291263   CANDACE      CORNS                        GA     90013597792
16B63969672B62   STEPHEN      MCMILLON II                  CO     90008929696
16B639A6551337   TONY         GARCIA                       OH     90012089065
16B64212255965   MUSA         SALEEM                       CA     90010892122
16B64969147956   THOMAS       HUCKABA                      AR     24092489691
16B65279757147   DANIELE      SALDEIRA                     VA     90014442797
16B6537A391263   LASHAWNA     PALMER                       SC     90011423703
16B6538A861958   MARCELLO     HUBBARD                      CA     90014063808
16B653A465B526   GARY         MEIER                        NM     90006993046
16B6636A561976   ISAAC        ACOSTA GALLEGOS              CA     90014733605
16B66645947956   SANDRA       WEIR                         AR     90014586459
16B68672391263   JACQUELINE   TATUM                        GA     14570696723
16B69191761976   MARIANO      MIRANDA                      CA     90014721917
16B69344772B4B   ASHLEY       JOHNSON                      CO     33092153447
16B6964A291263   RITA         GALVIN                       GA     14570636402
16B6B11815B526   MARIA        ROLDAN                       NM     35052601181
16B6B594691569   ISMAEL       CORONADO                     TX     90014015946
16B7131A272B62   BRITTANY     CHANEY                       CO     90011203102
16B715A724B588   LENORA       LOVE                         OK     90002095072
16B7167A991895   KEVIN        CROSS                        OK     90013266709
16B7177A961958   JESUS        NAVARRETE                    CA     90012397709
16B71A45772B62   JONATHAN     LEE                          CO     90009680457
16B72424855965   JORGE        VALENCIA                     CA     90007884248
16B7298555B526   APRIL        PEREA                        NM     90005119855
16B73582991569   MARISOL      ARTEAGA                      TX     90001815829
16B7394A53B35B   THOMAS       MORRISSEY                    CO     90012439405
16B75234757B59   BRIAN        VILLANEUVA                   PA     90013812347
16B75321891895   APRIL        HUBER                        OK     90004843218
16B75442651337   EUENIO       RODRIGEZ                     OH     90014064426
16B75744361998   JASMINE      RAMOS                        CA     90011137443
16B76383391569   IVAN         MENDOZA                      TX     90007673833
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16B76A79991895   EVERARDO      LOPEZ                       OK     90010750799
16B78288A4B588   PRAVEETA      NATHA                       OK     90014852880
16B7834A82B89B   TREY          SCHWISOW                    ID     90003173408
16B7841A43852B   DYLLAN        HAMBLIM                     UT     90011734104
16B78854661976   CRISTIAN      DAVALOS                     CA     90012668546
16B78945191895   DARRYL        MURDOCK                     OK     90010389451
16B7977924B588   KENDRICK      WATSON                      OK     90014327792
16B79892155965   ADRIAN        SIFUENTES                   CA     90014158921
16B7B353633683   FAYE          COLEMAN                     NC     90008863536
16B7BA25155965   MABEL         LOPEZ                       CA     48085200251
16B812A395B526   MATTHEW       MOYER                       NM     90006042039
16B8136129373B   DAWN          WILLIAMS-LACEY              OH     64590763612
16B82618872B62   ALBERT        JEFF                        CO     33080946188
16B8298524B588   FIONA         SHELTON                     OK     90013959852
16B829A3A91895   ANA           SAUCEDO                     OK     90015089030
16B8359264B588   KEVIN         ROSS                        OK     90015365926
16B835A3193745   JEREMY        WILSON                      OH     64500615031
16B84258A31687   ASHA          HARJO                       KS     90014762580
16B84A36157147   PAULINO       ECHEVERRIA                  VA     81073090361
16B85254A55976   ELENA         LOEZA                       CA     49086032540
16B8549745B129   MARILYN       SMITH                       AR     23037334974
16B86429855965   JONATHAN      TORRES                      CA     90014664298
16B87282331687   SARAH         BEHRNS                      KS     90014762823
16B87493A91263   TRAVIS        QUARTERMAN                  GA     90006414930
16B87578261958   ANA           LOPEZ                       CA     90003195782
16B88369A5B526   ELIZIBETH     JOHNSON                     NM     90006283690
16B88A5AA9373B   ANGELA        PETERSEN                    OH     64596100500
16B88A69761976   MYEISHA       BESS                        CA     46004110697
16B89191761976   MARIANO       MIRANDA                     CA     90014721917
16B89299957147   TAMMY         MEKONNEN                    VA     90011252999
16B89344861978   ESTHER        LIRA                        CA     46071863448
16B89929691895   KELLIE        DARNELL                     OK     90013539296
16B8B873751337   PATRICIA      WHITAKER                    OH     66012458737
16B8BA94161938   SHARZELLA     TURNER                      CA     46043010941
16B9137287B489   ALMA          LOPEZ                       NC     11007673728
16B92191761976   MARIANO       MIRANDA                     CA     90014721917
16B93A7147B426   GUADALUPE     GONZALEZ                    NC     90010180714
16B94293851337   ALEXIS        COX                         OH     90014932938
16B94484357147   DOMITILA      OSEGUERA                    VA     90000344843
16B951A3A72B3B   TABITHA       BAKER                       CO     33011221030
16B96964272B62   DANA          MAY                         CO     90014129642
16B977A5491569   MARINA        AGUILAR                     TX     90011317054
16B9786A64B588   JOSHUA        WADDELL                     OK     90012438606
16B97A6515715B   OSCAR         GONZALEZ                    VA     90012680651
16B98122351337   JOHN          CHENEY                      OH     90010291223
16B9818AA72B62   LAURENA       RODRIGUEZ                   CO     90013061800
16B98684991895   RICHARD       MAXEY                       OK     21039076849
16B98A94155976   AURORA        HERNANADEZ                  CA     90011270941
16B99183761976   LEOPOLODO     ABOGADO                     CA     46088371837
16B99186491569   LUISA         DOMINGUEZ                   TX     90014431864
16B9941A391895   TYRONE        JONES                       OK     90008974103
16B9971434B26B   KEANAN        CARTER                      NE     90015017143
16B9973824B537   CLAUDIA       GOMEZ                       OK     90001767382
16B9999A75B526   RICHARD       MARES                       NM     90012209907
16B99AA7151337   RICHARD       HUGHES                      OH     90013930071
16B9B186261976   MARIA         GUERRA                      CA     46041861862
16B9B867391263   MICHELLE      BROWN                       GA     90014738673
16B9B88867B489   KATIE         BROOME                      NC     11083298886
16BB154562B89B   ROBERT        UNGER                       ID     90004245456
16BB1559155965   DIANA         PARELTA                     CA     90012975591
16BB19A9191569   JESUS         DIAZ                        TX     75034399091
16BB3146891895   MARIA         LOZORIA                     OK     90013971468
16BB3275157147   LARRY         COON                        DC     90012902751
16BB3322355965   CHRISTOPHER   LOPEZ                       CA     90015113223
16BB3637355976   NICOLAS       HODGES                      CA     49051686373
16BB4123A55976   SHANI         MATA                        CA     90008331230
16BB4181293727   CHRISTOPHE    MCINTOSH                    OH     64592121812
16BB435825B526   FRANKIE       ZAMORA                      NM     35005533582
16BB4549957147   TEON          BYNUM                       VA     90010095499
16BB57A8191895   RON           FORESMAN                    OK     90014527081
16BB5A39991569   CABRAL        MONICA                      TX     90011060399
16BB614355B154   WHITE         DARRYLRISHA                 AR     23012281435
16BB663195B129   CARLA         HARRIS                      AR     90008626319
16BB6937347956   MARIA G       DEL RIO                     AR     90010449373
16BB6976555976   ALBERTO       DE AL TORRE                 CA     90011269765
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16BB7297A61976   GIACOMO           PANIAGUA                CA     90001892970
16BB8843355965   ERICK             VARGAS                  CA     90015288433
16BB925575B154   JOSIE             POMPA                   AR     23053442557
16BB944265B394   KELLY             PADUANO                 OR     90009754426
16BB957915715B   AMINATA           KARGBO                  VA     81033235791
16BB9752355976   DENNIS            VICTOR                  CA     49047377523
16BB9847A61958   DALE              LUSK                    CA     46095658470
16BBB225161976   ROCHE             MAURISIO                CA     46096572251
16BBB41774B26B   JOSE              CUEVAS                  NE     26001074177
16BBB4A4891263   MIA               CLARK                   GA     90014724048
16BBB591257147   VICTOR            RAMIREZ                 VA     90011235912
16BBBAA9991895   RONALD            JAMES                   OK     90012630099
171114AA68B337   YAZMIN            CRUZ                    SC     90008694006
17111A12961976   TROY              TART                    CA     90009960129
1711235262B27B   LOLITA            MAUPOY                  DC     81025993526
17114A97491588   BERTHA            PEREZ                   TX     75039030974
17115417872B4B   NATASHA           SUTTON                  CO     90011724178
1711556825B154   MARICELDA         TORRES                  AR     90014365682
171158A977B464   CRAIG             HUNT                    NC     90005598097
1711616417B445   KATHRYN           NICOLAU                 NC     90012491641
171172A614B588   HOA               SINGNAVONG              OK     21514502061
17117A6394B26B   JULIE             WILSON                  NE     90005530639
1711926225136B   DANIEL            NOE                     OH     90011312622
1711B34634782B   TACARLA           CLARK                   GA     90009973463
1711B61485715B   KABEYA            NYEMBWE                 VA     90012266148
1711B65A551339   ALMA              FERGUSON                OH     90008796505
1711BA69661958   EDILBERTO         MENDOZA                 CA     46045870696
17121AA634782B   PAIGE             PIOTT                   GA     90003690063
1712233135B154   ARLEAN            HARRIS                  AR     23063983313
17123281272B62   JEANNETTE         GOMEZ                   CO     90011502812
17124A79777539   GUSTAVO           CARRILLO                NV     90011800797
1712667A455976   LISA              B PONCE                 CA     90004856704
1712825335B526   CHAPO             CARRASCO TREVIZO        NM     90013732533
1712847764B588   RASHELLE          REED                    OK     90012864776
171289A613B398   JAMIE             HAGERTY                 CO     33096479061
17129162A91263   VERA              GANT                    GA     90013421620
1712935AA9373B   DOMINIQUE         HARRIS                  OH     90007223500
1712B28959373B   MATTHEW           SHILOH                  OH     90011232895
1712B41477B489   ROBERT            WOODS                   NC     11006534147
1712B43A461976   ROSALIA           ROJAS                   CA     90010504304
17131371A57124   LORENZO OSWALDO   SALINAS                 VA     90008293710
1713178A561958   VERONICA          GALARZA                 CA     46006347805
171319A4431687   CARLATTA          MCLAURIAN               KS     22088489044
17131A18291569   JORGE             TORRES                  TX     75029160182
1713297394B26B   RHONDA            SCHWEITZER              NE     90001939739
1713332655B526   TRICIA            SALAZAR                 NM     90007453265
17133872A57147   ANDRES            CARRANZA                VA     81033378720
1713395639373B   ROGER             HOLBROOK                OH     64501659563
1713414924B588   GUILLERMO         CHAVEZ                  OK     21595791492
1713679184B26B   LUCAS             LEET                    NE     90014727918
1713688485B154   AMERICO           AMAYA                   AR     90002758848
17137253872B58   DALLAS            BRADBERRY               CO     90002912538
1713726A691569   ISMAEL            GONZALEZ                TX     90014092606
1713745875B526   TODD              BONE                    NM     90013834587
17139795472B23   ARSENIA           HERNANDEZ               CO     90012637954
1713B277691588   ROBERT            WILSON                  TX     90006632776
1714148855B154   ESUGINA           BAKER                   AR     90014724885
17142242A72B62   JOSE              CATALAN-CARDENA         CO     90011912420
1714245274B588   ANNA              RAMOS                   OK     90007294527
17143995A91588   HOSEA             BOLDEN                  TX     75097159950
1714445575B129   JAVEIOSON         HAMPTON                 AR     90004424557
17144A67876B68   JESUS             MENDOZA                 CA     90001290678
1714512314B26B   DEUNTER           JOHNSON                 NE     90013831231
17145A46A5B154   KIMBERLY          HARPER                  AR     90014110460
1714759384B26B   BETHANY           VANLANINGHAM            NE     90012945938
171475A6861986   JEANETTE          ELIAS                   CA     46067665068
1714813949373B   JACQUELYN         FINLEY                  OH     90013391394
17148A59861976   ANTONIO           MUNOZ                   CA     90013990598
1714996A676224   DANIELLE          COLLINS                 GA     90011669606
1714B15445B154   MARLON            BAUGH                   AR     90008881544
1714B31A591588   LUIS              MORALES                 TX     75061213105
1714BA62191895   NANCY             VILLALPANDO             OK     90012280621
1715218983B368   SARAHI            ARREOLA                 CO     90010111898
1715248435B154   LAKEBRA           WILKINS                 AR     23004334843
1715289A49373B   MELISSA           DAVENPORT               OH     90013348904
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17153A73391895   SUSAN C         HART                      OK     90011780733
1715455692B837   SHARI           WILSON                    ID     90009675569
17154623754B84   JOSE            MOLINA                    VA     90008656237
1715482A191588   CARMEN          DASAS                     TX     75043208201
1715528775599B   MELISSA         LOFTIN                    CA     90005572877
1715553A457142   ERIKA           VARGAS                    VA     90012605304
171558A6155976   LORENA          ALVAREZ                   CA     49007628061
171558A7161976   MARIA           CAMPOS                    CA     90012678071
17155A89791895   GERALD          GUEVARA                   OK     90015200897
17156541A31687   CLINT           BUSS                      KS     90010805410
17157498A4B26B   KENNETH         SMITH                     NE     26091004980
1715861725715B   JOSE            ALEGRIA                   VA     81043496172
1715991532B244   VAUGHN          PERRY                     DC     81017979153
17159A85A55976   ROBERT          ACORD                     CA     49056820850
1715B15743365B   KRYSTIN         FULLWOOD                  NC     90009171574
1715B5A6761987   MICHAEL         HOBER                     CA     46006755067
17161A19491588   PAYGO           IVR ACTIVATION            TX     90014000194
1716215653144B   TERRIE          ONEAL                     MO     90011431565
1716282717B489   LATOYA          HARRIS                    NC     11077308271
1716286684B588   LISA            PETERSON                  OK     90012968668
17162A55357147   ADRIAN          AVALOS                    VA     90012670553
1716343114B588   JUAN            VASQUEZ                   OK     21509634311
17163A17457147   DEANNA          FARMER                    VA     90009380174
17163A79661976   ENRIQUE         DELGADILLO                CA     90010170796
171641A6361976   SERGIO          JIMENEZ                   CA     90012911063
1716438A876B29   PAMELA          WILLIAMS                  CA     90010163808
1716459194782B   ROBERT          CORNELIUS                 GA     90014795919
1716526525B154   SANDRA          STEWART                   AR     23029212652
1716631A84B26B   CLARICE         WEILER                    NE     90010113108
17166576A91588   MARIO           VAZQUEZ                   TX     90014235760
1716668614B588   WYLEAH          CUBIT                     OK     90010076861
17167279A91263   ANTONIO         SCOTT                     GA     90006782790
1716737A19373B   ALYSHA          SALMONS                   OH     90011233701
1716847524B588   KIMBERLY        HUGGINS                   OK     90011444752
1716987659373B   JAMES           METZ                      OH     90010868765
1716B311491588   SHANNON         HULS                      TX     90013983114
1716B68675715B   SANDY           HAWKINS                   VA     81024906867
171732A9157147   GABRIEL         GUZMAN                    VA     81095702091
171734A765B526   MICHAEL         CHAVEZ                    NM     90002684076
1717524A45715B   SHAMEQUA        SMITH                     VA     90013692404
17175657272B62   TALIA           CARRILLO                  CO     90011256572
1717762A361976   NORMA           SALGADA                   CA     90007106203
1717B245855976   PAYING          MOUA                      CA     90011072458
1717B743661976   JOSE            HERNANDEZ                 CA     90012947436
1718156955715B   FAHIM           FAQIRI                    VA     90012925695
1718439A161976   ORLANDO         HUBER                     CA     46063873901
1718529A731687   JEREMY          WINEGARNER                KS     22089392907
17185533972B62   IRMA            CARRASCO                  CO     90003825339
1718628817B489   MARIA           MONROY                    NC     11078672881
171869A723B373   PETE            PESCADOR                  CO     33062819072
17187158672B62   FABIOLA         ESTRADA                   CO     90011611586
17187272A91588   HILDA           MOLINAR                   TX     90004962720
171877A795715B   E               CALDERON                  VA     90012917079
17187A6455B154   TRISHA          BLAIR                     AR     90014290645
17188A22677539   ALONSO          CEJA                      NV     43002780226
1718943A64B588   EMMA            TIGER                     OK     90015194306
1718B374761976   EMMA            ARENIVAS                  CA     90012803747
1718B3A519373B   PAYGO           IVR ACTIVATION            OH     90014723051
1718B854272B42   REBECCA         LEYBA                     CO     90006318542
1719184374B26B   TERESITA        NAVA                      NE     90013038437
17191A7A457147   YENNIS          BONILLA                   VA     90014190704
1719393774B588   JUSTIN          FORMAN                    OK     90013779377
17193A97177539   JEFFREY         BLISS                     NV     90004980971
1719472884B588   JOSE            PATLAN                    OK     90012967288
17195114572B62   ARACELI         RIVERA                    CO     90010701145
17195354A47956   VANH            INTHAVONGSA               AR     90014853540
1719567824B26B   IGOR            GEVORKOV                  NE     90013986782
1719616775715B   DANIEL          SHIFERAW                  VA     90013981677
1719652154B26B   CURTIS          BUSH                      NE     90010495215
1719692855599B   MARIA LORENZA   URSULO CUARAO             CA     90014929285
1719698184B588   MICAHEL         EARLY                     OK     90000799818
1719757A772497   SAMATHA         CLARK                     PA     90011265707
17197A1785B154   GEORGE          HAMILTON                  AR     90008370178
17197A75991895   RICARDO         PAYTON                    OK     90013710759
1719877A357557   DANNY           MIRANDA                   NM     90006757703
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1719878415B154   ANGELA       COTTON                       AR     23032277841
1719897729373B   ANGELIA      BEATY                        OH     90009349772
1719986557B489   REGGIE       THOMAS                       NC     90007738655
171998A824B588   KELLY        DONER                        OK     21558528082
17199A68791885   NORMA        RODIGUEZ                     OK     90008770687
1719B12785135B   JOSHUA       REED                         OH     90008571278
1719B187655976   ALESIA       JOHNSON                      CA     49081021876
171B1451491569   PABLO        QUEZADA                      NM     90012684514
171B1672461958   JONATHAN     KUHN                         CA     46095686724
171B212674B26B   QUINTIN      VOGT                         NE     90013861267
171B2148155976   VILAVANH     PHIMMACHACK                  CA     49009421481
171B2392791263   PAULETTE     FERGUSON                     SC     90010773927
171B3926A72B62   JANNETH      ARROYO                       CO     33096779260
171B428A69373B   DIANE        ANDERSON                     OH     90011232806
171B495254B26B   JASON        SMITH                        NE     90002199525
171B4982661958   MELISSA      CERVAR                       CA     46077659826
171B5783647956   ANTONIA      LOPEZ                        AR     90006647836
171B589735715B   ERIC         KNEECE                       VA     90013018973
171B628A84B588   REBECCA      GILL                         OK     90010952808
171B6566472B62   KAYLEE       SORRENTINO                   CO     90009625664
171B6A94591569   AMANDA       ROJAS                        TX     90009410945
171B7225891895   VALERI       CALICO                       OK     90014252258
171B7391655968   ANGELICA     BARAJAS                      CA     90008423916
171B7682291588   ROSA         ROBLES                       TX     90011996822
171B7895A31687   EFREN        CAZARES                      KS     22097028950
171B7A4AA61958   IRIS         MARTINEZ                     CA     90009390400
171B817115715B   MERILDA      GARCIA                       VA     90014901711
171B8548257147   HAPPY        TIMO                         VA     81053575482
171B8862361958   YVONNE       MONTAÑO                      CA     46016728623
171B888829373B   SHAD         ANKENEY                      OH     64510068882
171B9149161958   ELVIA        HERNANDEZ                    CA     90015151491
171B94A135B526   CHRIS        MONTANO                      NM     90007624013
171BB1A9861976   HILDA        GARCIA                       CA     90012841098
171BBAA685715B   JASON        HAY                          VA     90014160068
1721138A13B352   ALVERTIS     SIMMONS                      CO     90008633801
172122A6A61958   LAWRENCE     HUA                          CA     90010722060
172123A949373B   CATHERINE    JACKSON                      OH     90012283094
17212A71177539   LINDA        GAMBOA                       NV     43003180711
1721336AA9373B   JADE         LOWREY                       OH     90001973600
17214764A91588   CONCEPION    CASTRELLON                   TX     75014827640
17214A5458438B   VERNON       TRAPPER                      SC     90009180545
17215834A5B154   MONICA       TRIPLETT                     AR     23060788340
1721593412B857   ANGELICA     BRIZUELA                     ID     90006749341
17216117A5715B   MAXIMA       HERNANDEZ                    VA     90008281170
1721633274B26B   ANDREW       WATSON                       NE     90015233327
1721636332B239   AMOS         ROBINSON                     DC     90012143633
1721932634B26B   TONY         BERUMEN                      NE     26096423263
1721976A94B588   TACESIA      THOMAS                       OK     90011357609
172197A6372B62   ALMA         GUTIERREZ                    CO     33059907063
1721B251891588   MAYRA        REYES                        TX     90013272518
1721BA69747956   LAURIE       LOLLIS                       AR     24036360697
1722237915B154   CURTIS       RIDEOUT                      AR     90014623791
17223679472B62   GABRIEL      LOPEZ                        CO     33000976794
1722452A161858   SAMANTHA     KRIEGER                      IL     90015265201
1722557774B26B   NICOLE       SCHROEDER                    NE     26017745777
1722558985B154   SHIMEKA      HAIR                         AR     90001425898
17226288172B62   HIPOLITA     DURAN                        CO     90011502881
1722631A947956   GEORGIA      THORNTON                     AR     90009383109
1722639454B588   RANDY        MILTON                       OK     90015373945
1722649424B26B   ZOLTAN       LANTOS                       NE     90002334942
17227A9845B526   CHARLES      LOPEZ                        NM     35060500984
1722839654B26B   ZACHARIAH    KAPKE                        NE     90013853965
1722856185B526   ROBERT       LAW                          NM     90011875618
1722928119373B   LETA         GALLOWAY                     OH     90010882811
17229284A57147   JOSE         LARIOS FUENTES               DC     90014762840
1722B152391588   JUAN         HERNANDEZ                    TX     75071491523
1722B7A5A72B43   JESUS        MACIAS                       CO     90009197050
1722B877572B3B   ISAIAS       CORTEZ                       CO     33097968775
1723126365B526   LUANA        SALAZAR                      NM     35022732636
17232849A47956   ANA          ROSA                         AR     90014858490
1723523535715B   RENARDO      PATRICK                      VA     90014542353
172354A745B526   KRYSTAL      CASTILLO                     NM     35072024074
1723579897B35B   MILAD        JAMA                         VA     90009357989
172359AA991895   JOSEPH       MACDONALD                    OK     90004039009
172361AA65715B   LISA         COUNTIS                      VA     90013301006
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1723849375B526   ERIKA         VARGAS                      NM     90011154937
17239391A5715B   MIREYA        SANCHEZ                     VA     90014423910
1723974539373B   BRIAN         ALLEN                       OH     90013187453
1723B48415715B   QUINETTA      HAGANS                      VA     90011424841
1723B663A72B62   LOVETA        MOYA                        CO     33081566630
1723B798247956   ERICA         GIBBONS                     AR     90014337982
1723BA15191569   MARCO         HERNANDEZ                   TX     90009970151
1723BAA5936B72   SHADI         BATROUKH                    OR     44549920059
1724128715B299   ROLANDO       GUTIERREZ                   KY     90010782871
1724166A491895   HIKIEM        HARRIS                      OK     90003046604
17241911472B62   VERONICA      SCHIWART                    CO     90013819114
17241A91522929   ANASTASIOS    MYTTAS                      GA     90013820915
1724242564B588   KARAMOCO      TRAORE                      OK     90005664256
1724297954B26B   THOMAS        JOHNSON                     NE     90014629795
1724298464782B   SUZETTE       LOCKHART                    GA     90002849846
1724343939373B   ANDREA        COLARIC                     OH     90013614393
1724383815B154   KENDRICK      CHRISTOPHER                 AR     90015158381
17243A92155976   GEORGINA      SALAZAR                     CA     49070700921
17243AA9361958   DAN           DRAKE                       CA     90008640093
17244572172B62   KEVIN         BRANKIN                     CO     33086455721
17244A97A5B526   ARNOLDO       ARVIZO                      NM     90005930970
172458A4557147   SANTOS        GUEVARA                     VA     90002458045
1724618A361958   GEMA          ESPINDOLA                   CA     90009801803
172463A657B337   FELIPE        VENTURA                     VA     90002633065
172465AA191588   EDGAR         LICON                       TX     75089885001
1724717215B348   JENNIFER      MOODY                       OR     90011551721
1724727765B348   GARY          MOODY                       OR     90015032776
1724829855B154   BOBBY         MOORE                       AR     90015002985
1724868285715B   CLEFE         UREONA                      VA     90002106828
17248A29A91588   ISABELL       REALYVASQUEZ                TX     90015310290
17249281A91588   REBECA        CHAVEZ                      TX     90010662810
1724951715B129   SHERYL        ROY                         AR     23013535171
17249A2714B26B   MARTHA        DAK                         NE     90012300271
1724B258447956   JERRY         LEE                         AR     24066292584
1724B671A55976   JUAN          BARAJAS                     CA     90011366710
1724B884A57147   CARLOS        RAMOS                       VA     90006738840
1725121464B26B   KIMBERLEE     TURVEY                      NE     26017442146
17251357A5715B   MILLION       BERHANE                     VA     90015123570
172513A6A55976   MARIA         FERNANDEZ                   CA     49059713060
1725158115B526   SANDRA        WESTON                      NM     35074675811
172516A1972B62   DULCE         VILLALOBOS                  CO     90011966019
17251A2A947956   ELIZABETH     MARTINEZ                    AR     90005800209
17252A2A947956   ELIZABETH     MARTINEZ                    AR     90005800209
1725358384B26B   RICARDO       SEGURA                      NE     90014415838
172539A3591569   ADINA         CALVAN                      TX     75097869035
17253A92447956   RACHEL        OCHOA                       AR     90014860924
1725487575B526   BRENDA        BACA                        NM     90000278757
1725569694B26B   MARTA         SANCHEZ                     NE     26060216969
1725595A691569   ISAIAH        RICO                        TX     90012719506
1725731AA5B526   NATIVIDAD     AGUILAR                     NM     90013233100
17257A96461976   MOISES        RAMOS                       CA     90012240964
1725869A991569   LOUIE         VAZQUEZ                     TX     90013166909
1725871A25B526   ESTELLA       LOCKHART                    NM     35098617102
17259368A55938   DAVID         CABRERA                     CA     90013373680
17259778A57147   WILLIAM       LOZANO                      VA     90014857780
1725B238191524   CHRISTOPHER   ACEVEDO                     TX     90010712381
1725BA5172B234   RAMOS         RIGOBERTO                   DC     81019910517
172614A4A4B26B   ALYAS         MUQDAD                      NE     90006704040
172616A7277539   GEORGINA      DEL RIO-CERVANTES           NV     90000316072
17262A7395715B   MALGARITA     DAMIAN                      VA     81082300739
17263149A7B424   DOMINIQUE     HOLMES                      NC     90007701490
1726324197B489   RICKY         JACKSON                     NC     11041742419
172633A174B52B   CATHERINE     KHILE                       OK     90008833017
1726482615B526   GLORIA        DURAN                       NM     90013628261
172653A678B644   IGNACIO       LOPEZ                       TX     90013823067
17267494A31687   JULIUS        GARY                        KS     90010634940
172678AA45715B   JIMMY         SANCHEZ                     VA     90014148004
17267A83991895   MAWI          MAWII                       OK     90015200839
17267A93A97122   GLENN         WINTERS                     OR     90008420930
17268414324B48   ASHLEY        WISEMAN                     DC     90013124143
17268435A57147   EDDIE         ANDRADES                    VA     90013034350
17268618872B34   MARIA         SANCHEZ                     CO     90014826188
17268833924B48   ASHLEY        WISEMAN                     DC     90008438339
1726985545715B   BAYLEE        SIMPSON                     VA     90012328554
1726B12644B588   ROBERT        ZUNIGA                      OK     21505581264
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1726B423993768   JESSICA      EVANS                        OH     90013204239
1726B871191569   ADRIAN       DE LA GALA                   TX     90013738711
1726B871724B55   MARIA        ESCOBAR                      VA     90011198717
17271667A55976   POE          MISA II                      CA     49088156670
1727557A791263   TERESHA      LEE                          GA     90011685707
17276A18A91895   JUAN         AVALOS                       OK     90008010180
17277262A5B526   JACOB        FENDER                       NM     90007762620
172779A4A9373B   ANTHONY      HARRISON                     OH     90013719040
1727811A461958   ELENA        MENDOZA                      CA     90007781104
17278A1565715B   OSCAR        ALVAREZ                      VA     90014160156
17279612672B64   CRYSTAL      SANDOVAL                     CO     90012606126
1727985434B26B   NAOMI        BROCK                        NE     90006158543
1727B146561958   SIDNEY       LOURIS                       CA     90011151465
1727B36774782B   ESPERANZA    CORNEA                       GA     90006063677
1727B823991569   ELSA         FRANCO                       TX     75010378239
1728118A361958   GEMA         ESPINDOLA                    CA     90009801803
17282666572B62   ELVA         HINOJOS                      CO     90011256665
17282A65191569   ELIZABETH    ONTIVEROS                    TX     90011380651
1728323155B526   BARRYN       WARD                         NM     90012542315
1728388A455976   ANSELMO      VILLAREAL                    CA     49080678804
1728398775B154   HERLONDA     NICHOLS                      AR     90009569877
17285437A4B26B   BRENDA       SEEFELD                      NE     90011354370
17285717A91895   JUVENAL      TORRES                       OK     90006137170
1728584645B526   TIMOTHY      BACA                         NM     35034408464
17285A18291569   JORGE        TORRES                       TX     75029160182
17286392672B62   MARTHA       TORRES                       CO     33063783926
172866A4277539   VERONICA     GARCIA                       NV     43098566042
17287749172B62   LIL J        BACA                         CO     90007937491
1728872AA5B526   DEAN         HALBERT                      NM     35064347200
1728922532B887   LAYNE        BOYLE                        ID     90011992253
1728B235891569   LUCIA        HERNANDEZ                    TX     75043802358
1729123A34B588   DAVID        WIGHTMAN                     OK     90002122303
17291664624B55   JOSE         SANTA CRUZ                   VA     81026526646
17291781A61976   LESLIE       CEBALLOS                     CA     90004197810
17291955285B29   ALICIA       RIOS                         FL     90015429552
17293A69591588   CHRISTINA    RIVAS                        TX     90015080695
1729444AA4B588   ROSS         HENDERSON                    OK     90001794400
172944A3361958   PHONESAVAN   NASIRICHAMPANG               CA     46046014033
17294A7589373B   TANK         SEEGE                        OH     90010280758
1729627185B526   MARCO        OAXACA-MIRANDA               NM     90014832718
17296A7524B26B   CECILY       COULTER                      NE     90001540752
17296AA799373B   BRANDY       JENKINS                      OH     90007380079
1729753274B588   PEDRO        REYES                        OK     90003515327
1729791615715B   LIMBER       LAZARTE                      VA     90009229161
17298A27831687   DANIEL       PALMA                        KS     90008040278
1729988115715B   SCOTT        HARRINGTON                   VA     90015118811
1729B22975715B   WIL          CANTARERO                    VA     90013772297
1729B59185715B   WALTER       HERNANDEZ                    VA     90012925918
172B12A5A9373B   JOE          WELSH                        OH     90002442050
172B1864861958   LINDA        VEJAR                        CA     90010828648
172B211759373B   CESAR        FERNANDEZ                    OH     90011841175
172B254363B352   RICARDO      SALASZ                       CO     90009605436
172B2749861976   TONY         GONZALEZ                     CA     90004197498
172B282345715B   JAYSON       OSOREO                       VA     90010318234
172B2918557147   IBRAHIM      BAH                          VA     90010889185
172B311174B26B   HECTOR       CORONADO                     NE     90012561117
172B4116A4B588   WILLIAM      PACK                         OK     90014421160
172B417924B588   MARCELINO    VERDUZCO                     OK     90013491792
172B431634B588   ROLIN        PAZ                          OK     90013523163
172B4421191588   JUAN         CARRILLO                     TX     75074654211
172B521278438B   DAVID        SHEBELA                      SC     19041622127
172B555264B588   BRYANNA      LENAE                        OK     90008365526
172B5596447956   KELLI        PALMER                       AR     90014885964
172B5718157147   SHAKOOR      AHMED                        VA     81034777181
172B5A46572B49   RAMON        GUZMAN                       CO     90009720465
172B6114291569   HIJINIA      OLIVAS                       TX     75055551142
172B612149373B   JACK         HENRI                        OH     90000301214
172B677425B154   KIMBERLY     BLANKTON                     AR     23053717742
172B6894861976   YESSICA      ARGUELLES                    CA     90012928948
172B698655715B   DAPREENA     STEPHENS                     VA     90001779865
172B7387961958   LARRY        GAYLE                        CA     90010863879
172B746278B863   BILLY        BAKER                        HI     90010174627
172B8543872B62   JUAN         LOYOLA                       CO     33077015438
172B8A3A531687   ALEX         ORTEGA                       KS     90014570305
172B9A67861958   MARIO        ANTONIO                      CA     90012990678
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1731278A272B62   TERESA            SAVALA                  CO     33064807802
1731288148438B   MICHEAL           PACK                    SC     90007178814
1731328524B26B   FABLIN            OMAR                    NE     90014632852
1731373A59152B   ESMERALDA         PARRA                   TX     90011767305
173154A8461958   JASMIN            MARTINEZ                CA     90013504084
173156A9477539   DIEGO             HURTADO                 NV     90008156094
1731612A857147   JUAN              LOPEZ                   VA     90012971208
1731622A991569   CARISSA           RODRIGUEZ               TX     90014052209
17316A69591588   CHRISTINA         RIVAS                   TX     90015080695
17319672472B62   ALAN              HADDAN                  CO     90011256724
1731B16545715B   KIMBALYNNE        HURTT APT R12           VA     90012841654
1731B3A3931687   MARGEAUX          HEARLD                  KS     90000243039
1731BA2734B588   MAE               HUE                     OK     90007370273
17324928172B62   QUINONES          MARCELA                 CO     33013939281
1732497A324B55   MARIA             DELEON                  DC     90007289703
173254A4661925   LEO               DE LA CRUZ              CA     90008724046
17325A4A37B489   SANTARIO          LATINER                 NC     11095020403
1732687488438B   BRANDI            GIBSON                  SC     19011098748
17328A4915B526   KARLA             VALDEZ                  NM     35037790491
17329386424B55   CORNELL           JACKSON                 DC     81081153864
1732B74729373B   TERRY             BELL                    OH     64515737472
17331774A7B489   MARIANA           PERDOMO                 NC     90000487740
17331947A91588   ZANDRA            LUNA                    TX     90001399470
1733222119373B   AMELIA            ALLEN                   OH     90004902211
17332792A4B26B   SAUL              CORTEZ                  NE     26069977920
1733384A131687   JAMES             MCDONALD                KS     90014908401
1733398464B26B   TYRESHIA          OMAR                    NE     90011209846
17335122A57147   LUCIANA           SPRIGGS                 VA     90010701220
1733583994B588   NATNAEL           GEBREHIWOT              OK     90014828399
1733612A361958   ANAKAREN          GOMEZ                   CA     90014861203
1733664795715B   ALFONSO           DIAS                    VA     90008656479
17337A18191588   ISABELA CLAUDIA   GUERRERO                TX     90005680181
17338659172B62   VICTOR            SANCHEZ                 CO     90012116591
17338928976B68   DALILA            SANCHEZ                 CA     90006979289
1733944194B588   PAUL              ACUNA                   OK     90009254419
173396A5761976   ARTHUR            MACIAS-CAREY            CA     90014896057
1733B66729373B   CULLEN            NELSON                  OH     90000466672
1733B79564B588   ERIN              GRAUMANN                OK     21513157956
1734262499373B   TIARA             MCCURTY                 OH     90014456249
1734263A391569   ALCIA             MARTINEZ                TX     90014356303
1734368574B588   MARIO             PINA                    OK     90014566857
1734427729373B   KIM               HAMEL                   OH     90010262772
1734438584B23B   GILBERT           JORDAN                  NE     90000933858
1734466428B147   TIMOTHY SCOTT     DAVIS                   UT     90014786642
17344849A31687   ELIO              MORALES                 KS     90013278490
17344871A55976   ANGELICA          PINA                    CA     49037298710
1734656815715B   JOSE              REYES                   VA     90014855681
1734714A291569   RAYMOND           FRAGA                   TX     90013961402
1734723834B588   SEAN              PONTIUS                 OK     90013982383
17347637A9373B   CHARLES           WILLIAMS                OH     64554486370
1734795987B35B   RICARDO           RIVERA                  VA     90002739598
17347A24155976   RONALD            MEHELIC                 CA     49000670241
1734866A761976   WILLIAM           LATTON                  CA     46060746607
1734965A857147   YANETH            ACOSTA                  VA     90010276508
1734B65645B154   TOLYIA            ARCHIE                  AR     90002676564
1734BA29431687   PATRICIA          DOTY                    KS     22088630294
1735119355B154   TIMOTHY           SUMMONS                 AR     90002041935
1735151184B588   LOUIS             JONICINIS               OK     90003875118
1735166A34782B   CHELSIE           JACKSON                 GA     90003796603
173525A9155976   MARTIN            BORROEL                 CA     90014915091
1735345955B275   ERNEST            SMALLS                  KY     68026014595
1735477794B588   JOELINA           CARTER                  OK     90011357779
17355949872B62   MIRIAM            QUISPE                  CO     90011589498
17357174A61958   ARMANDO           AGUILAR                 CA     90007271740
1735739545B526   TOBY              BARELA                  NM     35050353954
17358771A57557   JOSHUA            ZIEHL                   NM     90008777710
1735933434B26B   CHRISTINA         STROUT                  NE     90002173343
173596A8291588   CRISTINA          VARGAS                  TX     90010806082
1735B132891569   MARIA             FUNG                    TX     75078571328
1735B148691895   SILVIA            BAUTISTA                OK     90011941486
1735B73255715B   GERARDO           ALVARADO                VA     90011727325
17362328A91569   EDNA              ALVARADO                TX     90013923280
1736246A561958   ANGELICA          RAMIREZ                 CA     90003584605
1736296939373B   RITA              RANDOLPH                OH     64536699693
17363835A72B62   JUAN              OROZCO                  CO     90006928350
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1736436774B26B   JAKELINE          CEFUENTES               NE     90014893677
1736465165715B   FLOR              GOMEZ                   VA     81025646516
1736521672B264   DANIEL            FLORES                  DC     81098632167
1736598AA3B398   CANDACE           COOKER                  CO     90005109800
17366665572B62   CHRIS             AMBERG                  CO     90013606655
1736667559373B   GREGORY           PAXTON                  OH     90004846755
1736764A35B526   ZAIRA             LOYA                    NM     90003686403
17367A2185B526   FRANCISCO         TREJO                   NM     90012080218
17367A2A92B232   SERGIO            LOPEZ-VASQUEZ           DC     81010240209
17367A5A15B154   JOHN              COOPER                  AR     90013710501
17368594A7B489   HUNT              ALICIA                  NC     11077875940
1736993258B193   FRANK             SHAW                    UT     90003129325
1736B33A65B526   JESSICA           SALCIDO                 NM     35064663306
1736B419A54122   TAMMI             GARROW                  OR     90002304190
1736B546591588   MICHAEL           BROOKS                  TX     75007785465
1736B63264B588   JEREMY            HART                    OK     90009476326
1736B993A72B97   JUDITH            DULAC                   CO     33077349930
173722A7561958   JOSE              MENDEZ                  CA     46062802075
17373884172B62   SHAUN             ROSSITER                CO     90013218841
1737421485715B   JUDD              ROBERTSON               VA     90012842148
1737584444B26B   LUCAS             LEET                    NE     90014728444
1737683624B588   ASHLEY            SMITH                   OK     90013648362
17376A9A64B26B   LA SHAUNDRA       SWIFT                   NE     90010130906
1737945A591263   GARY              MCMILLAN                GA     14593674505
1737B7A525B526   AARON             ROMERO                  NM     35097727052
173811A3361958   ERIKA             GONZALEZ                CA     90015051033
1738286964B588   BRITNNEY          LOVE                    OK     90009258696
17383112A5715B   ONORATA           TORRESQUISPE            VA     90011391120
173833A2491588   TERESA            BANDERAS                TX     90011033024
173847A9677597   KARLOS            NUNEZ                   NV     90008737096
1738496539373B   CAROLYN           WOODLEY                 OH     90005519653
17384A39361976   JORGE             LOPEZ                   CA     90011510393
1738576A461976   IRIS              ROMERO                  CA     90012437604
17385A2634B588   LINDA             LANHAM                  OK     90009830263
1738631169373B   HENRY             AKERS                   OH     90000303116
1738737197B436   YOLANDA           WILLIAMSON              NC     90009283719
1738759357B44B   FEDERICO          OLIVO                   NC     90001765935
1738936478B156   PAIGE             ROLLINS                 UT     31017943647
1738B18158438B   DAVID             RISHER                  SC     90007191815
1738B245947956   MAURICIO          HERNANDEZ               AR     90010812459
1738B51149373B   JAMES             BROWN                   OH     90013355114
1738B755161976   ROBERT            HARRIS                  CA     90013157551
1738B943391588   ANGIE             GONSALES                TX     90010689433
1739159A75B526   GUADALUPE         MUNOZ                   NM     90013015907
17393567A5B154   JASMINE           STOCKER                 AR     90015085670
17393A27891588   CLAUDIA           DELGADO                 TX     90014600278
17394517672B62   SHANNON           HIGGINBOTHAM            CO     33052035176
1739473563144B   JAMES             MC CALISTER             MO     90011777356
1739629275715B   TERESA            RAMIREZ                 VA     90014772927
1739648585B526   ODWELL            GREEN                   NM     90012474858
1739746344B582   NOEMI             VERA                    OK     90006234634
1739748215B526   JUANA             CORONA-QUINONES         NM     35004594821
17397A97177539   JEFFREY           BLISS                   NV     90004980971
1739855714B26B   DEANTE            JONES                   CA     26096305571
17399339A91588   FELIX             RODRIGUEZ               TX     90012423390
173994A316192B   RICK              THOMPSON                CA     90004124031
1739962648B147   RUSSELL           MCCLOUD                 UT     90008766264
173999A5A4B588   BILLY             WILLIAMS                OK     90014469050
1739B1A764B26B   LAURA             DELATORRE               NE     90012371076
1739B2A785B154   JESSICA           HILL                    AR     90014922078
1739B71145715B   NELSON RIVELINO   REYES                   VA     90004627114
1739B776372B62   JUDY              BRAVO                   CO     33079987763
1739B943191895   SHAQUNA           COLLINS                 OK     90014309431
173B1666A72B62   DESIREE           GALLEGOS                CO     90014926660
173B3226491569   CECI              SALAZAR                 TX     90014542264
173B431487B489   AMENITA           GIBSON                  NC     11070313148
173B43AA491895   TERESA            ESCOMILLA               OK     90002783004
173B4AA5931665   BILLY             AGEE                    KS     22019570059
173B5336291588   NARMI             MARTINEZ                TX     75091663362
173B5345A61958   DANNELO           BONE                    CA     90015373450
173B696A831687   ALMA              MARTINEZ                KS     22033699608
173B6976291588   LIZBETH           ESPINOZA                TX     90010709762
173B7412A91588   JORGE             ALVARADO                TX     75018434120
173B7793472B62   RALPH             WOOTTON                 CO     33025967934
173B8514861958   ELIZABETH         GONZALEZ                CA     90009895148
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173B8523155973   ANNA         MURILLO                      CA     90005285231
173B8726447956   LAU          BRANDON                      AR     90010087264
173B8784857147   RAFAEL       SOSA                         VA     90013607848
173B9243172B62   DARIAN       QUINTANA                     CO     90015102431
173BB111291524   CASTILLLO    REYNIALDO                    TX     90004501112
173BB818A5B389   CHARLISSA    MCGHEE                       OR     44513998180
173BB994972B62   CRISTIAN     LOMELI                       CO     90002289949
173BBA76947956   LADONNA      WEBSTER                      AR     90000720769
1741142A561976   LORRAINE     CABADA                       CA     90009994205
1741273A672484   AMANDA       FOLEY                        PA     90004757306
17412A58655976   JOSE         TOBAR                        CA     90007550586
17416A2425715B   BERNARD      CRISTOBAL                    VA     90014730242
17417941A55976   FLORIANA     FLORES                       CA     90006359410
1741878545B526   ILSA         WESTMARK                     NM     90012357854
174188A2193727   BRYSILYNN    HOLMES                       OH     90007908021
1742121835B154   TONIA        HARVEY                       AR     23032772183
17421633972B97   BARBARA      KUHN                         CO     90006016339
17421694872B62   NOEL         MARQUEZ                      CO     90011986948
1742289575715B   JOSE         MARQUEZ                      VA     90015118957
17422A28A57147   ANA          BENITEZ                      VA     90013380280
174232A7461958   DELIA        MONCADA JACOBO               CA     90014772074
17424597A57147   FRORENCIO    CRUZ                         VA     81068315970
1742518A691588   PATRICIA     GONZALEZ                     TX     75090721806
1742541154B26B   SHANE        SHAFER                       NE     26048864115
1742823A62B232   LEATRICE     FULLER                       DC     90007542306
174285A9191573   ROSA         MEDINA                       TX     75081785091
17428658336B99   SANDY        MEZA                         OR     90004106583
17428A25A91588   JOSE LUIS    LUNA                         TX     90012920250
1742913A891895   DON          HENSON                       OK     90011791308
1742953674B565   CYNTHIA      LEEPER                       OK     90014585367
174299A784B588   VALENTIN     REYES                        OK     90013349078
1742B345755987   JACKI        JOSLIN                       CA     90009823457
1742B948431687   TRENISE      BOSTON                       KS     90014029484
17432879A57147   JUSTO        ROMERO                       VA     90013338790
1743291625B154   ROSALIND     BOOTH                        AR     90014599162
17434A2894B588   REGINA       MACK                         OK     90009570289
17434A6535B526   KENNETH      LARSEN                       NM     90007860653
17435476A55976   JUANITA      RAMIREZ                      CA     49061474760
1743627A75B526   CHARLENE     ROMERO                       NM     35005462707
1743673A277535   PAUL         GADSON                       NV     90009917302
1743691675B526   MARIA        PEREZ                        NM     90012919167
17436A7974B588   JUAN LUIS    GRACIA                       OK     90014580797
17436A85291588   JAVIER       ROSA                         TX     90012610852
17437A94391895   KIMBERLY     MABREY                       OK     21023510943
17438216872B62   KIM          WILLIAMS                     CO     90010172168
1743897A461958   MICHELINE    BAPTISTE                     CA     46069159704
1743952A461976   LUISA        SALDANA                      CA     90014785204
17439771472B62   ARTURO       MARTINEZ                     CO     33053087714
1743B37194B26B   TAYLOR       CUNNINGHAM                   NE     90007763719
1743B655561976   AIDE         ORANTES ESQUIVEL             CA     90011456555
1743B711891588   ROSA         QUINONES                     TX     90009557118
1744364979373B   SARA         SMITH                        OH     90014636497
174436AA771967   MERVAN       WOFFORD                      CO     90013166007
1744418594B588   ALEX         YOUNGER                      OK     90015131859
17444224A55976   NICOLAS      ENGLISH                      CA     90011062240
17445126172B62   REBECCA      SISNEROS                     CO     90002461261
17446A71857147   HECTOR       PEREZ                        VA     81003270718
1744727455715B   NELLY        MEDINA                       VA     90012342745
1744816265715B   ANNA         PEREZ                        VA     90015061626
1744865594B592   MABLE        HERNANDEZ                    OK     90005156559
1744959265B526   MICHAEL      ROMERO                       NM     90013015926
1744B3A4261958   YVETTE       VASQUEZ                      CA     90011413042
1744B8A2257147   CLAUDIA      MARTINEZ                     VA     81048108022
1745161629373B   ANTOINE      ELLIOTT                      OH     90011236162
174522A2491588   LIZBETH      VALENCIA                     TX     90012602024
1745238838B164   VICTORIA     RAMIREZ GRAJEDA              UT     90012053883
17452998572B23   ALACOQUE     LEBLANC                      CO     90002919985
17452A17A61958   ANDREW       ORTEGA                       CA     90012840170
17452A94591569   EDWARD       BURCIAGA                     TX     90012410945
17453A74561976   MEAGAN       RYAN                         CA     90009080745
1745449545B129   RAASHUN      JACKSON                      AR     23009934954
17454874976B2B   RANDY        BERGER                       CA     90001758749
17454927172B37   JESUS        ARREDONDO                    CO     33010149271
174556A5A9373B   DAVID        BAXIN                        OH     90000466050
17457561A4B588   TYROME       ARNETT                       OK     21504045610
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1745819299373B   WALDON       KEITH                        OH     64528301929
1745B238955976   MIGUEL       RAMOS                        CA     90011062389
1745B69195B154   LASHAY       ELMORE                       AR     90012096919
174613A914B588   JESSICA      VAZQUEZ                      OK     90010823091
17461A5935715B   ANDRES       RAYMUNDO                     VA     90013580593
1746285619373B   SHELLY       BARNETT                      OH     90003688561
1746286194B588   SUSAN        MANN                         OK     21595968619
1746286A891569   LUZ          REYES                        TX     90004908608
1746356834B588   VERONICA     MENDOZA                      OK     90011905683
174636A8291569   CRISTINA     VARGAS                       TX     90010806082
17463856A72B62   OSCAR        SOSA                         CO     33002638560
1746572954B26B   KARAH        KENDALL                      NE     90012147295
17465A2945B154   YOSELY       LAGOS                        AR     90010390294
17465A7667B373   JUBENAL      CRECENCIANO                  VA     90013600766
17465A8675B154   CARL         SUMMONS                      AR     90015010867
1746736895B526   MICHAEL      GONZALES                     NM     90013043689
174684A984B26B   DIANE        PLUHACEK                     NE     90011504098
17469381372B62   GEORGE       MARION                       CO     90007493813
1746978A847956   YOLANDA      DEWHART                      AR     90000957808
1746B754651599   TASHA        ALLEN                        IA     90014597546
1746B86AA61976   AMBAR        YEPIZ                        CA     90014748600
1747153569373B   META ROSE    JOHNSON                      OH     90012885356
17473A8915B282   GALINDA      SHABAZZ                      KY     90007510891
1747496735B526   GRACIELA     CORREA                       NM     90005609673
1747497794B588   SANDRA       BOOKOUT                      OK     90014559779
17474A8244B588   RICK         POPE                         OK     90010550824
17475558A47956   ERNESTO      DURAN ESCOBEDO               AR     24082965580
1747559A891895   ANTONIO      CARRENO                      OK     21055625908
17475842372B62   DANIEL       SAENZ                        CO     33099058423
1747984874B588   CHRIS        HENDERSON                    OK     21595978487
1748123A857199   JASSICA      HENDERSON                    VA     90008332308
1748128562B242   VALERIE      REID                         DC     90012952856
174827A2391569   SAUL         RUBIO                        TX     90013767023
174831A825B526   CELIA        CHAVEZ                       NM     35020461082
174835A244B26B   TAMMIE       VACEK                        NE     26014195024
17483A53961958   MARIA E      MORALES                      CA     46013860539
17484579872B62   TAMMY        JACOBS                       CO     33014815798
1748532A75136B   JOSE         CHAVEZ                       OH     90013693207
17485341A4B588   ADAM         BILLY                        OK     90014153410
1748698A34B26B   MAURICE      BRASSELL                     NE     26082749803
1748752985B526   JENNIFER     GOULD                        NM     90015465298
1748863929373B   GARY         ROSE                         OH     90007806392
1748926825B526   JUAN         RIOS                         NM     90007812682
174894A2361976   MICHELLE     BANUET                       CA     90014974023
1748B817693727   JOHN         MOORE                        OH     90006048176
1749168A933697   SHANTISE     JONES                        NC     90003686809
1749236374B588   TAMMY        BUTTERY                      OK     21520323637
1749238A991895   JOSE         FONCECA                      OK     90011793809
174923A3372468   CHRISTIN     LECOCQ                       PA     90013863033
1749362175B154   DIANA        BYLER                        AR     23026366217
1749413514B588   PAULINA      CARRASCO-CAMPOS              OK     90009501351
174953A1572B62   RODRIGO      IBARRA-PINEDO                CO     90006363015
17495624A5715B   LEODAN       REYES                        VA     90008956240
17499626A31687   VANESSA      JESSUP                       KS     90012906260
174999A284B588   YOLANDA      RAMOS                        OK     90007919028
17499A5A74B26B   MELISSA      WHITE                        NE     26091050507
1749B181291895   MARY         LOVE                         OK     21012971812
1749B4A9191588   ISSAC        MONTES                       TX     75089524091
1749B5A278438B   SCOTT        WHRAY                        SC     90007255027
1749B5A8172B62   LAVAUGHN     QUINTANA                     CO     33070155081
1749B828872468   JOHN         MARASCO                      PA     51009638288
174B1221757147   ARTHUR       SMITH                        VA     90013652217
174B1243172B62   DARIAN       QUINTANA                     CO     90015102431
174B193A65715B   MIGUEL       MENDOZA                      VA     90004289306
174B28A8755976   ESMERALDA    CHAVEZ                       CA     49017548087
174B2A76891895   MERCEDES     SANCHEZ                      OK     90011790768
174B387129373B   MICHAEL      EPLEY                        OH     90014508712
174B38AA47B445   HELENA       JOHNSON                      NC     11015378004
174B3A72877539   JAMES        RAYMOND                      NV     90012310728
174B513254B588   BRIAN        ROSALES                      OK     90015101325
174B552744B26B   MITCH        SCHROEDER                    NE     90010635274
174B5852991588   TERESA       LOZANO                       TX     75095078529
174B5997161976   MARLENE      DUKE                         CA     90015019971
174B5A78724B55   CRISTIAN     GUERRA                       VA     90011170787
174B6223A3B352   JAMES        HLIPALA                      CO     33069802230
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174B6625961958   RAQUEL EUNICE          RIOS               CA     90013776259
174B7114391569   BLANCA                 VILLA              TX     75044051143
174B7164855976   MARIA                  MORALES            CA     49071981648
174B754815715B   GLORIA                 PERES              VA     90005215481
174B768334B26B   ANGEL                  MANZO              NE     26016396833
174B8378672B62   ROMAN                  MIRANDA            CO     33092473786
174B844424B26B   LETICIA                ROSAS              NE     90013354442
174B8448355976   ESTAFANI               CASTELLON          CA     90012834483
174B846955715B   EDIN                   GARCIA             VA     90010704695
174B8997991588   ARMANDO                MARRUFO            TX     75011519979
174B9117551339   JOHN                   HALSEY             OH     90011031175
174B9967847956   THOMAS                 TERRENCE           AR     90015249678
174BB57A972B62   ELVIRA                 ADAME              CO     33008985709
174BB87414B267   SCOTT                  MCDANIEL           NE     27062148741
175111A9661996   ANDREW                 ROSENGRANT         CA     90008591096
1751296735B526   GRACIELA               CORREA             NM     90005609673
1751486464B26B   BRAD                   WERTS              NE     26080158646
175149A434B588   MAURICE                PITTMAN            OK     90013119043
175156A9172B62   MARIA                  CARREON            CO     90011396091
1751576515B526   ALBERTO                DIAZ RENTERIA      NM     90012847651
17515A21943584   JESSICA                MAY                UT     90014410219
1751618587B489   SYLVIA                 CEESAY             NC     90002531858
17516A27155976   JUAN                   HERNANDEZ          CA     49013820271
1751856184B588   JIM                    LEEDER             OK     21574575618
1751859464B26B   JIMMY                  CONLEY             NE     90014685946
17518A41287B44   SHATARIKA              HILLARD            AR     90014670412
17518A8199373B   JOSEPH                 MOORE              OH     64594790819
1751915734B588   JULIE                  BAKER              OK     90013901573
17519197A3363B   WARKESIA               JAMES              NC     90007731970
1751921639373B   TAMMY                  JAMES              OH     90009992163
1751B24715B154   JOHNNY                 SIMPSON            AR     90012862471
1751B52564B588   ALAN                   VESSELL            OK     90010225256
1751B88245715B   DAVID                  GERONIMO           VA     81044398824
1751B8A717B489   CHADVICK               JONES              NC     11084678071
1752141642B232   INDIAN                 WASHINGTON         DC     90011614164
1752146954B588   AMANDA                 GODDARD            OK     90001844695
1752176915715B   ANGEL                  DE LEON            VA     81025457691
175236A549373B   JANICE                 HOLMES             OH     90013996054
1752399635715B   LAWRENCE               RAWLINGS           VA     81089919963
1752477455B154   JUAN                   OCTAVIO            AR     90010647745
175256A425B293   ANGELA                 KNIGHT             KY     90002096042
1752866A954122   DEBBIE                 NONTE              OR     90005186609
17528923A4B26B   WOOROUD                KAZEM              NE     26011049230
17528A74631434   KIM                    GATES              MO     90013480746
1752947929373B   JACE                   THOMAS             OH     90013824792
1752957A45B526   ACOSTA                 CECILIA            NM     35060025704
175298A7661976   JOSE                   ALFARO             CA     90009338076
1752B323872B62   NIGHTWALKER LYNN J N   JEREMY             CO     90011503238
175312AA75B154   CLUUDETTE              SIMMONS            AR     90014522007
17531A4385B526   ROSALINDA              TORRES             NM     90014100438
17531A6669373B   ANNA                   SHULTZ             OH     90010600666
17531A9A791895   JENNIFER               DIXON              OK     90000850907
1753243149373B   DONITA                 THAYER             OH     64500474314
17532A3685B154   GUSSIE                 SMITH              AR     90015040368
1753562389373B   BRANDON                OAKES              OH     90014816238
1753711649373B   JOHN                   BOLLMER            OH     90006331164
17537715672B62   ANOTONIO               ALCARAZ            CO     33045707156
17537A96473228   SEAN                   PALMIERI           NJ     90010510964
1753881A897B3B   FRANK                  VILLANUEVA         CO     90003088108
175389AA561925   STEPHEN                DOUGLAS            CA     46017989005
1753947764B588   RASHELLE               REED               OK     90012864776
1753B784561958   NERMINA                HUSIC              CA     90013377845
1753B871491895   EBONY                  GRAY               OK     90014318714
1754167385B154   ELISHA                 DAVIS              AR     90011066738
1754197837B489   ROSALE                 CRUZ               NC     90008829783
17541A2A64B588   JUDY                   ADAME              OK     21515130206
17541AAA19373B   SANDRA                 BRODNICK           OH     64535830001
1754243959373B   TERESA                 COCHENOUR          OH     64563764395
1754326A257147   NORMA                  HERNANDEZ          VA     81028022602
1754459824B588   AMY                    FULLER             OK     90009265982
17544639372B62   SANDRA                 TERAN              CO     90014606393
175451A725B154   GORDON                 GEER               AR     90012451072
17545327372B62   NICOLE M               ROPER              CO     33017263273
175457A4891569   CESAR                  SANDINO            TX     90015217048
1754612474B588   LANCE                  DOUGLAS            OK     90007151247
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1754628774B26B   KANEESHA     MOTTON                       NE     90013642877
1754637854B26B   MONICA       GARCIA                       NE     90014903785
175472A6A61958   LAWRENCE     HUA                          CA     90010722060
17548AA4491524   HORTENCIA    RODRIGUEZ                    TX     75013410044
175497A1772B26   CHRISTINA    ROULIER                      CO     33045067017
17549A1785B526   WILL         ROBERTS                      NM     35089210178
1754B369A57147   ROMAN        TSEHAYOU                     VA     90002943690
1754B549761976   LISETTE      GUEVARA                      CA     90010315497
1754B565A57192   SAMUEL       OTERO                        VA     90011475650
1755139249373B   JESSICA      BAKER                        OH     90002233924
1755274644B588   JUAN         GARCIA                       OK     90012487464
17552829A91895   SANDRA       MORROW                       OK     90011928290
17555559A71923   CRYSTAL      SINGLETON                    CO     32090815590
1755591584B26B   JENNIFER     NOBLE                        NE     26013639158
17555A67772B62   HELLIG       KIMBERLY                     CO     33064280677
17556518872B62   LAUREN       DAVEY                        CO     90013525188
17557A21691895   ERICA        MINCEY                       OK     90014400216
17557A7595B275   BRYAN        SALSMAN                      KY     90012160759
1755891675B526   MARIA        PEREZ                        NM     90012919167
17558A6144B588   JOHN         CRABB                        OK     90012900614
1755B32134B588   MARIA        ROBERSON                     OK     90006163213
1755B426772B62   MCNEAL       MARCELLUS                    CO     33054384267
1755B841161938   JOYCE        OLIVA                        CA     46059818411
1755BA86161958   CHARITY      SUMLER                       CA     90014890861
1756133579373B   MICHAEL      CALDWELL                     OH     90011403357
1756137485B526   NILE         TODD                         NM     90015133748
1756164795715B   JUAN         ROJAS                        VA     81005236479
17561731A91869   DEE          WALTON                       OK     21018287310
17563217397B3B   RUBEN        RAMOS                        CO     90010642173
17563A47386455   JASON        BORNE                        SC     90013830473
1756431AA5B526   NATIVIDAD    AGUILAR                      NM     90013233100
1756477715715B   REYNA        PORTILLO                     VA     90014657771
175657A6477539   RONALD       PEVNY                        NV     90007647064
17565978A51542   ABDUM        KABON                        IA     90014589780
17565A26A4B588   LOC          LE                           OK     90015080260
1756676445B154   ANGELA       WITCHER                      AR     90013237644
17566AA344B26B   MURRY        NICOLLE                      NE     26074350034
175673A155B526   LAURA        SANCHEZ-LUGO                 NM     90013453015
1756745679373B   BETH         FLEMING                      OH     90010514567
1756787A89139B   DANIEL       SENSINTAFFAR                 KS     90001358708
1756827545B154   CISCO        MCCLAIN                      AR     90012012754
1756834745715B   DAISY        MAGANA                       VA     90011953474
175686A2591569   TANIA        MARIE TREJO                  TX     90001736025
1756899224B26B   MICHELLE     PERKINS                      NE     26081289922
1756943165B154   BIH-ANKA     WANCHIA                      AR     90012254316
1756B51A561976   JOB          ARMENTA                      CA     90014945105
1756B574272B62   DAVID        MORALES                      CO     90014595742
1756B6AA54B26B   SARAH        LINDLEY                      NE     90013486005
17571A36631687   EDWARD       TINGEN                       KS     22063910366
1757278275B154   WAYNE        RODERS                       AR     90011497827
17573525A55976   ANNA         MENDEZ                       CA     90011435250
17575331172B62   VALENTINA    TALAVERA                     CO     33077653311
17575383A91569   BONNIE       QUINTANA                     TX     90005853830
175766A7772B62   CHRISTINA    HOOVER                       CO     90012006077
1757786A94782B   PAYGO        IVR ACTIVATION               GA     90009748609
17577A9744B26B   MIRANDA      WHITE                        NE     90013930974
1757849317246B   DAN          HARCUM                       PA     90009674931
1757B23A37B337   ARIEL        FERRUFINO                    VA     90000792303
1757B528957147   LUCIA        GUARDADO PORTILLO            VA     90014105289
1757B64817B424   JULIAN       ALVAREZ                      NC     90009326481
1757B6A915715B   HECTOR       BRIZUELO                     VA     81026246091
1757B865991573   RICARDO      GALINDO                      TX     90001468659
1757B883291895   NATHAN       DEHART                       OK     90011798832
1758115474B588   LASHELE      JOHNSON                      OK     90012881547
175812A2672B62   ERICK        HENDERSON                    CO     33049792026
1758286932B243   CHARLES      JACOBS                       DC     90009358693
17582A7665B154   CHARLES      MCCULLOUGH                   AR     90002480766
1758312212B263   MS SHELIA    HILBERT                      DC     90009111221
1758323935B526   MELISSA      MADRID                       NM     90014412393
1758398915B526   NOEMI        ACOSTA                       NM     90011459891
1758534327B489   JOHNATHAN    SMITH                        NC     11080273432
17588A25872B62   STEPHANIE    VIGIL                        CO     33038940258
1758931973B388   BRUCE        HECHT                        CO     33032533197
175894A6847956   TERENCE      POWELL                       AR     90008084068
1758965AA61976   LORAINY      GARCIA                       CA     90015156500
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1759174517B489   DONNA            FOXWORTH                 NC     11007337451
1759186455715B   MOHAMMAD         USMAN                    VA     90007378645
17592417A91588   CHRIS            SAGER                    TX     75082144170
1759251145715B   JUAN             ORELLANA                 VA     90009135114
17592A33991895   MARGIE           HAMMONS                  OK     90014340339
17594A8434B26B   ANDREW           HAMELIN                  NE     26050410843
17597195A4B26B   KARMA            DOESCHER                 NE     90010471950
1759772485715B   YVONNE           VENEY                    VA     90014927248
175982A3155976   CHRISELDA        CELEDON                  CA     49065592031
1759846AA9373B   VELMA            HERNDON                  OH     64545204600
17599A29431687   WANDA            FOX                      KS     22034370294
1759B848891569   JOSE             YZAGUIRRE                TX     75007398488
1759B985257147   CONCEPCION       GARMEN                   VA     90014139852
175B258A74B26B   TAMMY            ALT                      NE     90002065807
175B2593A9373B   HAYLEE           ISON                     OH     90014235930
175B3375257147   JOEY             RAMES                    VA     90004233752
175B3834691263   DORESE           HARRELL                  GA     90011968346
175B3841761976   KARINA           VIDALES                  CA     90012138417
175B447A672B62   AMANDA           GARCIA                   CO     33030094706
175B518435B154   NICOLE           CARTER                   AR     90004971843
175B5788A72B62   NANCY            RODRIGUEZ                CO     33017247880
175B6364355976   VICTORIA         GONZALEZ                 CA     90009783643
175B7126272B62   DONOVAN          ABEYTA                   CO     33019541262
175B734784B588   TANYA            SHILTS                   OK     90012783478
175B79A6455976   MARIA            JOHNSON                  CA     49014399064
175B7A12231687   NESHA            COLLINS                  KS     22080010122
175B7A6125B526   AMRUJO           P                        NM     35005510612
175B866844B588   RICHARD          MILLER                   OK     90005326684
175B8947647956   HAZEL            DOUGLAS                  AR     90008079476
175B898625715B   GUSTAVO          GRIJALVA                 VA     90014739862
175B944424B26B   LETICIA          ROSAS                    NE     90013354442
175BB1A764B26B   LAURA            DELATORRE                NE     90012371076
1761185315715B   MANUEL           CARPIO                   VA     81002048531
1761282AA91588   DIANA            DOMINGUEZ                TX     75089788200
1761293215B154   MIRA             CRAWFORD                 AR     90014599321
1761376179373B   SHANICE          BAILEY                   OH     90011237617
17613A38472B62   GREG             ORTIZ                    CO     90011410384
1761439895B129   TAMARA           JOHNSON                  AR     23036913989
17614A35171967   SIAN             GONZALES                 CO     90004030351
176152AA45B526   MIGUEL           ESPARZA                  NM     90010672004
17615686A5715B   3900 YANETH      BELTRAN                  VA     90012756860
17615915624B55   JASMINE          JONES                    DC     90014599156
17615924A7B428   MARIA            BADILLO                  NC     90010779240
176159A9757147   ROBERTO          ZALDIVAR                 VA     90005239097
1761624415715B   MARIA            ROMERO                   VA     81011972441
176164A2361976   MICHELLE         BANUET                   CA     90014974023
17616649272B62   BRYCE            HUBBLE                   CO     33080496492
176173A5855976   ESMERALDO        ESPINOZA                 CA     90008143058
17617514172B62   CARLOS           CHAMBERS                 CO     90006085141
1761922218438B   DENNIS           MARTINEZ                 SC     90007282221
17619238A61958   RICHARD          SHIRK                    CA     90002822380
1761936A83B393   KELLY            MENDEZ                   CO     90005073608
1761B738391263   ROBERT           WHITE                    GA     14580057383
1761B8A294B26B   ABEL             RABAGO                   NE     26097258029
17621418272B62   ELIZABETH        STRAUGHTER               CO     33062844182
1762162415B154   JAYLYNN          ELLITOTT                 AR     90014756241
1762195855715B   MARIA LUCRECIA   NUNEZ                    VA     90014529585
1762227415715B   IKEA             BANNISTER                DC     90011342741
1762366184B26B   DAWN             STEELE                   NE     26042216618
1762418698438B   JANE             DIXON                    SC     19045731869
1762467A457147   JORGE            MARTINEZ                 VA     81096186704
17624A8A55B154   TRACY            HOOKER                   AR     90014290805
17625755672B62   MARK             MUSICK                   CO     90001457556
1762634947328B   NAYELI           ESCAMILLA                NJ     90014553494
176274A964B588   BRIANNA          CHAVIS                   OK     90009274096
17627898A72B62   ADRIAN           SAIA                     CO     90011888980
1762932628438B   STEVE            SUHARA                   SC     90013003262
17629751572B62   JOSE             DE LEON                  CO     90013007515
17629A99391895   ALEXIS           SMITH                    OK     90011800993
1762B12135715B   MUARA            RODRIGUEZ                VA     90001111213
1762B457A57147   ANGEL            MARTINEZ                 VA     90001604570
1762B485761958   VICTOR           ACIAS                    CA     90013534857
1763134A161976   DSAN             MAYNE                    CA     46013633401
1763241885B129   NACOLE           WEBSTER                  AR     90010654188
1763244977B463   JOSUE            SANTIAGO                 NC     90005724497
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17632484A5715B   XUAN           TRAN                       VA     90007484840
1763335A255976   BEE            XIONG                      CA     90011063502
1763344314B588   SHANICE        HOLMES                     OK     90009274431
17633457A57147   ANGEL          MARTINEZ                   VA     90001604570
17633A5964B26B   MICKIE         BURNS                      NE     26027110596
17635355474B97   YURI           ALFARO                     OH     90012573554
17636A43791327   CRAIG          GRIDDINE                   KS     90014350437
1763778A75B526   MARIA          GONZALEZ                   NM     35080517807
1763831574B588   DAMN           JUAREZ                     OK     90000843157
17638A41457147   ABDUL GAFARU   IDDRISU                    VA     90002590414
17639135272B62   MATT           ALLMAN                     CO     33008041352
1763955542B958   DARCEY         BARRERA                    CA     90001735554
17639764A5715B   MEHARI         MERID                      DC     81026247640
1763BA99391895   ALEXIS         SMITH                      OK     90011800993
1764381A355976   GILBERT        LARA                       CA     49014778103
17643A72991588   JUAN ANGEL     ROCHA                      TX     90013720729
1764446A455976   FRANCISCO      LARA                       CA     90012634604
17644A9554B26B   IVAN           SCHULZ                     NE     90013590955
1764545175B335   DALE           MACHIN                     OR     90009904517
17645841391B55   JOHARI         FLAKES                     NC     90015038413
1764585539373B   TOM            HIME                       OH     90015548553
17646A3167B373   MARIA          ALVAREZ                    VA     90010160316
1764737A24B265   ROBERT         HOLMES                     NE     90001333702
1764769255715B   RENE           ALVAREZ                    VA     90011636925
1764898724B26B   ROBERT         DUNCAN                     NE     90003149872
176491A2261958   JAQUELYN       WILLIAMS                   CA     90013771022
176491A3672B62   CHANTAL        MARIA                      CO     90013311036
17649646A91569   PRICILLA       VILLA                      TX     90014066460
176497A959373B   ZACHARY        JOHNSON                    OH     90012787095
1764B119161976   JOHN           ZULLO                      CA     90014881191
1764BA57855976   ARMANDO        DOMINGUEZ                  CA     90005340578
1765135945B526   JUSTIN N       JOHNSON                    NM     90005713594
17651399472B38   MARIA          TELLEZ                     CO     90013493994
1765194A29373B   MYRNA          STEVENS                    OH     64532849402
1765253495B154   JESSICA        BRINSFIELD                 AR     90003825349
1765279885B129   KEVIN          FORD                       AR     23055737988
17652A42372B62   MARIA          RODRIGUEZ                  CO     33060750423
1765329774B26B   LATASHA        STIVASON                   NE     90014932977
1765529A24B588   DEANDRA        ALLEN                      OK     90014922902
1765548A672B62   RICARDO        CASTRO                     CO     90005184806
17655AAA85715B   ROXANA         SALOME                     VA     90014780008
1765636A557147   EDWIN          REYES                      VA     90014763605
1765776889373B   SCOTT          JONES                      OH     90003037688
1765846418438B   ELEANOR R      MOORE                      SC     90009074641
17659A5935B154   STEPHANIE      WASHINGTON                 AR     90010750593
1765B412191569   FELIPE         LIRA                       TX     75099004121
1765B55185B154   CHRISTINA      MAYERS                     AR     23066465518
1765B828A55976   TANYA          ORTIZ                      CA     49083188280
176659A8661976   CARLOS         MEJIA                      CA     90012769086
17665A2125715B   HAMEED         SHAHUL                     DC     90009890212
176671A878B166   IRVING         YORKS                      UT     90013241087
1766768574B26B   MEGGAN         MCGUIR                     NE     90012236857
17667A33991895   MARGIE         HAMMONS                    OK     90014340339
176683AAA4B26B   JEREMY         TROUTMAN                   NE     26036783000
1766918284B588   MYRANDA        MCCULLOCH                  OK     90014931828
1766956AA4B26B   LAWRENCE       COLLEY                     NE     90011465600
1766975585B154   AMANDA         DYE                        AR     90009587558
1766B363591588   DAVID          MEDINA                     TX     90011463635
1766B528891895   DERRICK        IKWUEME                    OK     21033695288
1766B7A6461938   ELISE          CAPITO                     CA     46023427064
1766B962A61958   ELISA          TIRADO                     CA     46023249620
17672671772B62   LUCIANO        CORTEZ                     CO     33074636717
1767283975B526   GLORIA         MARTINEZ                   NM     90001128397
17674183A55976   KATHY          FORD                       CA     90013761830
17674378A57147   WANDA          MASTERSON                  VA     90013013780
1767484444B26B   LUCAS          LEET                       NE     90014728444
1767532187B489   SAMUEL         REYES                      NC     90002523218
1767658749373B   LORA           MELTON                     OH     64595815874
17677A55591895   AMBER          DUNCAN                     OK     90014320555
17678773A5B154   GLORIA         HAYES                      AR     23008187730
1767947644B965   AMY            CULPEPPER                  TX     90007874764
1767981464B588   INHELICA       GOMEZ                      OK     90007278146
17679995A4B588   INHELICA       GOMEZ                      OK     90012769950
1767B924233B95   APHTON         RHEINS                     OH     90012659242
1768142684B26B   MELODEE        COVERT-WAGNER              NE     90005414268
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1768267824B26B   IGOR         GEVORKOV                     NE     90013986782
17682938472B27   GERDING      ANDREA                       CO     33096029384
1768298685715B   MIRIAN       HERNANDEZ                    VA     90005409868
1768342A89373B   CEAIRA       WHITFIELD                    OH     90005904208
1768443A191569   STAR         GARCIA                       TX     90010134301
1768466264B588   ELMER        CARRILLO                     OK     21518146626
17684A15551542   LOUISE       MONDOZA                      IA     90014590155
1768565474B588   LARRY        BRIGHTWELL                   OK     90012106547
17686856A4B26B   LEANNE       CURIEL                       NE     90009108560
17686885472B62   OSCAR        CASTELLANOS                  CO     33052028854
17687447A4B26B   PEGGY        PHILPOT                      NE     90015174470
1768866815B526   LOURDES      PRECIADO                     NM     90000346681
1768881685B154   ANGELA       BURNETTE                     AR     90014768168
1768899494B536   LUCIA        SUACEDO                      OK     90007459949
1768912325B526   JANICE       COLE                         NM     35064041232
1768B531691588   LUZ          RODRIGUEZ                    TX     90003265316
1768BA3A531687   ALEX         ORTEGA                       KS     90014570305
17691294648B72   JOHN KEVIN   BRANNON                      ID     90011622946
17691813A2B242   DIANE        BROWN                        DC     90005788130
176918A9361958   JAIME        ARCINIEGA                    CA     90000108093
1769398385B526   PAUL         PACHECO                      NM     35028539838
17695297A55976   JAY          HERNANDEZ                    CA     90003692970
17695429472B62   VALERIE      RODRIGUEZ                    CO     90008284294
176957A984B588   FELICIA      SMITH                        OK     90014767098
17695A9A55B526   MICHELLE     RIVIERA                      NM     90010940905
17696265A91588   SANDRA       HERNANDEZ                    TX     75007832650
17697487A72B62   NADINE       MCDONALD                     CO     90012404870
17698A16455976   TORN         CHEK                         CA     49014500164
1769B26874B26B   MITCHELL     WANDER                       NE     90003742687
1769B339A3B38B   SHANE        HORTON                       CO     90002713390
1769B363591588   DAVID        MEDINA                       TX     90011463635
1769B424291547   ADRIANA      CONTRERAS                    TX     75086374242
1769B68395B154   POSSE        WILLIS                       AR     90010076839
176B153944B26B   MARCIE       O'DOWD                       NE     26090275394
176B183919373B   MARK         MONTGOMEY                    OH     64510888391
176B192735B154   ADAM         CUDD                         AR     23049629273
176B369549373B   ERIC         HOLSTON                      OH     90014676954
176B39A194B232   RICARDO      VALDERA                      NE     90006099019
176B425174B588   TRINIDAD     PEREZ                        OK     90011622517
176B47A975715B   JUAN         AGUILAR                      VA     90000557097
176B4948657147   BRISELDA     CHAVEZ                       VA     90010419486
176B499915B526   EMMAELIDA    VICUNA                       NM     90010869991
176B5A62A72B62   REGINA       MANZANARES                   CO     90015210620
176B65A5161958   RACHEL       GANADEN                      CA     90008185051
176B6A7AA5B526   DENISE       FAIRWEATHER                  NM     35003850700
176B6A95191895   MONICA       ESTRADA                      OK     21043610951
176B73A155B526   LAURA        SANCHEZ-LUGO                 NM     90013453015
176B799439373B   KATHLEEN     YEAGER                       OH     64565249943
176B814258438B   DAMON        SANDERS                      SC     90007281425
176B8484257147   MIGUEL       CANAS                        VA     90000194842
176B84A1A4B26B   ROSENDO      PUENTES                      NE     90013754010
176B9499A91569   RUTH         VILLANUEVA                   NM     75084434990
176B98A2951542   CEDRICK      HALL                         IA     90014588029
176BB1A337B676   JAZMINE      JOHNSON                      GA     90008151033
176BB36895B526   MICHAEL      GONZALES                     NM     90013043689
177112A7591588   JESSICA      GONZALEZ                     TX     75032892075
1771131A991569   LORAINE      STEWART                      TX     90003483109
1771242A791895   QUINTIS      FRAZIER                      OK     90006654207
177143A549373B   QUANITTA     WORKS                        OH     90011353054
1771465985B526   ASHLEY       SANCHEZ                      NM     90013986598
17714788A9373B   ASHLEY       BROWN                        OH     90012287880
1771572825715B   EMELY        HERNANDEZ                    VA     90007717282
1771733795B526   ISAIAS       ROSALES                      NM     90013283379
1771779859373B   DAWN         HUBBELL                      OH     90013457985
177179A2491895   LAKISHA      HARRIS                       OK     90002069024
1771812674B26B   QUINTIN      VOGT                         NE     90013861267
17718A27A91588   CORINA       MUNOZ                        TX     90013170270
17718A4854B588   DEVON        NOAH                         OK     90015230485
1771967325B154   JOE          PUMPREY                      AR     90000876732
17719718A91588   YVETTE       LUELLMAN                     TX     90004177180
1771998835B53B   DUSTIN       HOLMBERG                     NM     90012699883
17719A5A661976   EDGAR        ABARCA                       CA     90013910506
1771B11818B194   KARA         GIBSON                       UT     31009091181
1771B488A41225   LESA         HODGES                       PA     90014564880
1772213275B154   STEPHEN      MILLER                       AR     23057131327
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1772297A851542   JESSICA             PEREZ                 IA     90012669708
17725334A2B235   DALONTE             BUOWELL               DC     90007593340
1772599599373B   MICHAEL             MOODY                 OH     90011199959
17725A5485B526   NORMA               ARAGON                NM     35057230548
17727273A5B526   ABEL                ZAMORA                NM     90011502730
1772751475B154   TIKMA               SIMPKINS              AR     90013325147
1772869AA5B526   DAPHNE              PADILLA               NM     90007426900
1772947825B526   MARTHA              VEGA-SOTAO            NM     35090594782
17729752474B97   DOUG                GRAVES                OH     90014097524
17729A37647956   WILMA               JAMES                 AR     24040610376
1772B32A961938   RACHELLE            HOLLINGS              CA     90005843209
1772B937A61958   IGNACIO             POSADAS               CA     90012409370
1773126624B588   MARY                MAY                   OK     21508292662
1773176A747956   NGUYET              NGUYEN                AR     90010967607
17731A64591895   JORGE LUIS          VASQUEZ               OK     90014340645
17733969176B42   THOMAZ              ARAGO                 CA     90011229691
17734333472B62   MARQUES V           WILLIAMS              CO     90013923334
1773558655715B   JOSE LUIS           PAREDES GARAY         VA     90014415865
1773659724B588   A RENAE             PROCTOR               OK     90000445972
177367A174B26B   MICHAEL             CHOMA                 NE     26035727017
1773725629373B   GUILLERMO           BUSTAMANTE            OH     64592222562
17737A6A491895   CHANTELE            HAGAR                 OK     21033130604
1773861A491895   JOYLE               DEERING               OK     90011806104
1773887774B588   ANENA               ADENYA                OK     90010838777
1773997454B26B   LINDA               BURESH                NE     90010289745
17739A2914B592   TYRONDIA            PATTERSON             OK     90012410291
1773B176155976   MARY                RODRIGUEZ             CA     49050941761
1773B251372B62   MORALES             GABRIELA              CO     90012902513
1773B391457147   EMPIRE FLOOR CARE   MAINTENANCE LLC       VA     90012243914
177413A519373B   NICOLE              FRIZZELL              OH     64597403051
17742682A8454B   DAMASO              GARCIA-PEDRO          NY     90015346820
17742869A71932   JOANNE              LLAMAS                CO     90006688690
1774399859373B   DEANA               MORRIS                OH     64515969985
177448A3991569   ERIKA               GARCIA                TX     90010988039
177453A685B154   NATASHIA            JACKSON               AR     90013353068
17746A85991895   TANYA               MERCADO               OK     90014340859
1774788564B588   JOSHUA              JULINE                OK     90003058856
1774814637B323   IMELDA              CHISCUL VILLALOBOS    VA     90001281463
177486A7144353   IRMA                LEMUS                 MD     90013316071
17748984A61976   ROBERTO             RODRIGUEZ             CA     90005319840
177496A8A4B588   JAMES C             PRESLEY               OK     21550946080
1774B516857147   RANDOLPH            VILLAR                VA     81025455168
17751297972B62   DANIEL              PHILLIPS              CO     90014742979
1775244A555938   CECILIA             MORA                  CA     90005844405
1775267645B264   ROZANNA             WHITEHEAD             KY     90014416764
1775374394B26B   MELISSA             HOLMES                NE     90014707439
177537A6191895   ELENA               RODRIGUEZ             OK     21057297061
1775539255715B   MARTA               ESPANA MONTESFLORES   VA     90012363925
1775798785B526   CHINARA             PEARMAN               NM     90014969878
1775814844B26B   JULIE               FRAHM                 NE     90003461484
1775824224782B   TAMMY               SMITH                 GA     14070812422
1775829215715B   NELSON              VASQUEZ               VA     90007692921
1775848155B154   KEENA               WILLIAMS-MEADOUGH     AR     23088444815
1775965684B592   NAOMI               EADS                  OK     21509486568
1775977715715B   REYNA               PORTILLO              VA     90014657771
1775982A54B26B   DANIEL              ANDERSON              NE     26031068205
1775B336155976   MICHAEL             BIAGI                 CA     90014823361
1775B654272B62   JANN                SCOTT                 CO     33074096542
177618A948438B   LESLIE              ROBINSON              SC     90008328094
17762212A57147   ROY                 PINEDA                VA     90004242120
1776235115715B   GILBERTO            MONGE                 VA     81003893511
17763AA4957147   ANTHONY             HIGGINBOTHAM          VA     90009950049
1776454942B958   PEDRO               NERI                  CA     90008045494
1776581275B526   LORINDA             HOWARD                NM     90013128127
177658A5261958   VICTORIA            HENDERSON             CA     90012828052
1776599765B154   CLAUDIA             BOOKOUT               AR     23084059976
17766A42A57164   PEDRO               SANDOVAL              VA     81012190420
1776B495791588   JHONNY              WHITING               TX     90013274957
1777149444B588   JESUS               TERRAZAS              OK     21558734944
1777165A997B58   JANINE              SWENSON               CO     90007736509
17771A2754B588   DERICK              SCOTT                 OK     90008700275
17772131A91588   LINDA               SULLIVAN              TX     90012871310
17772A49A33B95   CAROLYN             WILLIAMS              OH     90014450490
17772A67255976   ERIKA               ARROYO                CA     90014190672
1777331765599B   ALEJANDRO           CAMPOS                CA     90007373176
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1777388464B298   LUKE                COCHRAN               NE     27031918846
1777629644B588   KESHIA              RAPLEY                OK     90012582964
1777646685715B   MARIA DEL ROSARIO   HERRERA               VA     90014434668
1777785375B328   RONALD              FARRIS                OR     44552048537
17777A7775B299   CRYSTAL             GUINN                 KY     90012090777
17777A9415715B   JOSE                AYALA                 VA     90010090941
17778157A4B26B   JENNIFER            PAYNE                 NE     90013411570
17778436A7B322   DAVID               SHAKLEE               VA     90002874360
1777969739373B   ANDREA              BENNETT               OH     90002866973
1777B123391569   JORGE               ORTEGA                TX     90004181233
1777B251961992   FRANK               MENDOZA               CA     90012402519
17781797A91588   NANCY               NUNEZ                 TX     90000807970
1778227225B39B   ESTELA              NOVA                  OR     90006052722
17782465872B29   IRVIN               CHAVEZ                CO     33002514658
1778436185B154   CARLO               GREEN                 AR     90004313618
17784414672B62   JOSE                NUNEZ                 CO     33098654146
177853A972B249   IRVIN               THORNE                DC     90012343097
1778582455715B   CARLOS              LARIOS                VA     90014438245
1778586A757147   BARBARA             BROWN                 VA     90012638607
1778617459373B   ALONZO              HENDERSON             OH     90012751745
1778666A591588   JUAN                HOLGUIN               TX     75072836605
1778675955715B   MARIA               MARTINEZ              VA     81016787595
1778749424B26B   ZOLTAN              LANTOS                NE     90002334942
17788655A5B526   MARY                HAUPT                 NM     35004676550
1778941135B526   MARY                VILLESCAS             NM     90011104113
1778B1A6191569   FORTUNATO           GUERRERO              TX     75006331061
1778B7A2677577   KARA                BEVERIDGE             NV     43017547026
17791287276B52   LUZ                 ROMAN                 CA     90007912872
177919A363B392   MICHAEL             REID                  CO     33096129036
17792688572B62   MARCELA             GAMBOA-RUIZ           CO     90001996885
17792A9712B228   ERIC                LYMONT                VA     90001410971
17793188A91588   BEATRIZ             MEDINA                TX     90011311880
177932A765B526   ANA                 REYES                 NM     35035672076
177936A8A4B588   JAMES C             PRESLEY               OK     21550946080
17793A69131687   RAY                 SMITH                 KS     22031880691
1779513579373B   SAVANNA             CRUMPLER              OH     90006071357
177974A4291588   JOSE ANTONIO        MARTINEZ              TX     90013924042
1779829594B26B   SHARLEEN            DAVIS                 NE     90005822959
1779853735B154   ADDIE               BOWMAN                AR     23025585373
1779862515B254   SEAN                MAYS                  KY     68069026251
1779911555715B   FELICIA             DAVIS                 VA     90014051155
17799479A61976   LOURDES             MARTINEZ              CA     90010004790
1779B398357122   CRISTOBAL           MURILLO               VA     81071223983
1779B581631687   JULIANA             MARTINEZ              KS     90015155816
1779B852272B62   HERMINIA            LUNA                  CO     33025728522
1779BA2A891996   JANICE              PERRY                 NC     90007610208
177B138775715B   JESSICA             RODRIGUEZ             VA     90014703877
177B276A861976   OFEIRA              TAFILETE              CA     90013157608
177B366845B154   KIARA               MARSHALL              AR     90015116684
177B4132561958   TOYON               SUMMERSET             CA     90013991325
177B4145876925   JENNIFER            JONES                 MS     90015141458
177B5A44955976   PAUL                WILSON                CA     90010670449
177B619624B588   MARIA               MENDOZA               OK     90005441962
177B6264591263   JANIKA              WRIGHT                GA     90009932645
177B677517B443   DORA                MILS                  NC     90013867751
177B6A4A561958   CLAUDIA             MEDINA                CA     90013160405
177B745559139B   AARON               DALE                  KS     90006134555
177B791984B588   CHRISTOPHER         CLARIDGE              OK     90002799198
177B8272672B62   JULIE               COMPTON               CO     33066782726
177B856944B26B   CASSANDRA           RATZLAFF              NE     90014705694
177B8931955976   GUADALUPE           SERRANO               CA     90011849319
177B9227847956   XAVIER              WILLIAMS              AR     24002942278
177B952485B526   ETIENNE             BADUA                 NM     90014825248
177B9838472B62   CHAD                WHITTAKER             CO     90014698384
177B9894961958   IRIS                MORALES               CA     46013028949
177BB551A72B3B   TERA                WEBB                  CO     90008615510
177BB82155715B   MERY                PEREZ                 VA     81011878215
177BBA52991588   VELIA               GUTIERREZ             TX     75004930529
1781118365715B   JOSE                BENITEZ               VA     90014101836
1781158385715B   JOSE                BENITEZ               VA     81039045838
1781196AA55976   ERIC                GALEANA               CA     90010139600
1781231249373B   BRETT               BROWN                 OH     64505023124
1781233A761976   ROBERTO             DURAN                 CA     90008893307
1781342A49373B   KAREN               VULTEE                OH     90009594204
178136A5361958   JOHN                PRESSLER              CA     90008556053
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178138A9A91895   ELENA           MUNOZ                     OK     90011478090
17813917A5B526   LEANDRA         WOMACK                    NM     35035499170
17813A1494B26B   DARYLLE         MADISON                   NE     90013600149
1781445545B526   IAN             MCNABUS                   NM     90010824554
1781486247B489   MICHELLE        BRETON                    NC     90005898624
1781588964B588   PATRICK         DUMMAGAN                  OK     90014678896
17817A34A5B154   PEGGY           WARREN                    AR     23003370340
1781863694B588   SHELINA         JONES                     OK     90011026369
17821879A91588   JOHN            NOEL                      TX     90006718790
1782241994B26B   JOSE            RAMIREZ                   NE     90011384199
1782267877B386   JOSE            SALMERON                  VA     90008016787
1782328297B489   KIMBERLY        PARSON                    NC     11000242829
1782362874B582   JOHN            ROBY                      OK     90006556287
17825486172B62   KASSANDRA       FRASHER                   CO     90012134861
17825A7645715B   HILDA           PINEDA                    VA     90012550764
17826269797B3B   AMBER           FOX                       CO     90005942697
17826AA4591895   YANG            TAO                       OK     90011810045
1782729824B26B   DENISE          JONES                     NE     26089862982
1782877985B154   KENYA           WILLIAMS                  AR     23026207798
1782924125715B   ANA JACKELYNE   ALVARADO ARIAS            VA     90014672412
1782933135B154   REBECCA         LARKIN                    AR     90013603313
1782972272B244   DAGNE           TESHOME                   DC     81083847227
1782B18A861976   PHILLIP         JIMENEZ                   CA     46091991808
1782B45715715B   ARNICE          WILLIS                    DC     90013714571
1782B86413B38B   FRANCISCO       GONZALEZ                  CO     90009908641
1783137A67B44B   ABEL A          MIRANDA                   NC     11071613706
17831433572B62   LADY            C                         CO     90010664335
1783268759373B   SARAH           SISCO                     OH     64595586875
17832842872B62   CHASTITY        HERNANDEZ                 CO     33098898428
17832A89291895   KEAWANNA        THOMPSON                  OK     90011570892
1783353745715B   ALBERTO         BENITEZ                   VA     81060255374
17833A36955976   JUAN            ROSAS                     CA     90009800369
17834A5AA21776   CHRISTINE       JONES                     IL     90015500500
1783512214B26B   CYNTHIA         THALLER                   NE     90012801221
1783671774B588   EMUEL           FRANCO                    OK     90014377177
1783715144B588   MARLYN          HICKMAN                   OK     90009281514
1783811145B154   PASSION         JOHNSON                   AR     90009951114
17839757A9373B   DONALD          HICKS                     OH     64525787570
178397A1661958   NATALIE         DOWELL                    CA     46063357016
1783B479A54152   HEATHER         HOLLOWAY                  OR     90000844790
1783B732891588   ANA             BURCIAGA                  TX     75010077328
1784228245B129   AMANDA          GREEN                     AR     23035732824
17842471A5715B   GLADYS          MARTINEZ                  VA     90007594710
17842A9A861938   SARAH           TOMPKINS                  CA     46068920908
178432A3493758   ANIQUA          ROEBUCK                   OH     90011442034
1784411345B526   SABRINA         MADRID                    NM     90013931134
17844436A4B588   ANGELA          BOAN                      OK     90000704360
17844839172B62   NORMA           HERNANDEZ                 CO     90013918391
1784562793B324   CASEY           PETER                     CO     90000956279
1784666244B26B   JENA            MICHALECKI                NE     90000716624
17846796672B62   CRAIG           RIGLER                    CO     90000497966
17849348A61958   FONTAINE        CRIGLER                   CA     46067753480
1784941335B282   COREY           ESTERLE                   KY     90011594133
17849584772B62   ROGELIO         AGUILAR                   CO     90012045847
1784969585B342   SANDRA          SWAIN                     OR     44515006958
1784B4A455B154   RAISHANA        RUSH                      AR     90012834045
17851A71457579   HEIRA           MUNOZ                     NM     90013150714
1785311464B588   NICOLE          JOHNSON                   OK     21514501146
1785346278B683   MACAREO         MORENO                    TX     90014434627
17853733172B62   IVAN            GALVAN                    CO     90013427331
1785418414B26B   ANNEDRA N       HULL                      NE     26097291841
1785645A15B526   LETICIA         MEJIA                     NM     90015154501
1785685492B865   TIMO            PATTUGALAN                ID     90005368549
1785751A961958   DENNIS          DART                      CA     46085875109
1785893A691B38   SANDRA          SMITH                     NC     90015429306
1785931265715B   TRACY           RUSSELL                   VA     90011053126
1785962482B857   GILBERTO        TAMEZ                     ID     90006176248
1785B759791569   CYNTHIA         QUINONES                  TX     75013547597
1785BA8385715B   BRUCE           VARGAS                    VA     90013110838
1786223A14B588   ANN             PERKINS                   OK     90009282301
1786236115715B   RUGIATY         MUSA                      VA     81006933611
1786263474B26B   RICARDO         YEPEZ-JIMENEZ             NE     90014036347
1786344387B494   FRANCIELE       LISBOA                    NC     90012204438
17865136672B62   ANDREW          HOPKINS                   CO     90014861366
1786575A37B373   FRANCISCO       LOPEZ                     VA     90010457503
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1786592417B489   ELEAZAR         SANCHEZ                   NC     11033609241
1786611454B588   KENNETH         FREEZZELL                 OK     90013181145
17866A41591588   WESLEY          KUNTZ                     TX     90012850415
1786767488438B   DANIEL          JERIDEAU                  SC     19025106748
1786865775715B   CORNELL         BROWN                     VA     90015016577
17868661487B35   VEOLIA          LATTIMORE                 AR     90000706614
1786885354B26B   LISA            ROTHWELL                  NE     90010998535
17869598872B62   DANIEL          HERMAN                    CO     90012855988
1786B1A8A91895   TERRY           GRAY                      OK     90015081080
1786B64323B396   ASHLEY          MICHEL                    CO     90008956432
1786B65214B26B   MANUEL          GARCIA                    NE     26023186521
1786BA82891569   YANIRA          LOPEZ                     TX     90009520828
17873133A91895   JOSE            DUARTE RECINOS            OK     90011811330
17873397A72B77   DANIELLE        JOHNSON                   CO     90007383970
17873A86431687   JOLIE           DUTTARER                  KS     90010100864
17877121A61976   ROSA            AGUILAR                   CA     90011301210
1787792315B526   ROBIN           SLAMA                     NM     35011769231
178785A1961976   LUCY            LOPEZ                     CA     90007245019
1787935635B526   SUSANNA         ROBLES                    NM     90012023563
1787B163361976   MICHAEL         SILVA                     CA     90013851633
1787B687A92894   CRISTOPHER      LAYMAN                    AZ     90013936870
1788173AA91569   CLAUDIA         FONG                      TX     90014717300
178845A1A5B526   MARIE           SEDILLO                   NM     90012885010
1788465495715B   ROCAEL          ROSALES                   VA     81070266549
1788691169373B   DANIELLE        JONES                     OH     90012419116
178874AA75B526   VERONICA        CHAVEZ                    NM     90015524007
17887964A61958   SILVIA          OLIVEROS                  CA     90012829640
1788798432B963   AMANDA          GOFF                      CA     90002429843
1788B4A7A6612B   PAYGO           IVR ACTIVATION            CA     90015044070
1788B55464B588   KEITH           COMPTON                   OK     90003805546
1789119485715B   WILSON JAVIER   CABRERA LARA              VA     90010651948
1789167184B26B   MARILYN         LOUCH                     NE     26096536718
1789243A472B62   SHELLEY         GARDINE                   CO     33086904304
178929A9A47956   MARIA           HERNANDEZ GUTIERREZ       AR     24061789090
17892A99561958   SERENA          PORTUGAL                  CA     90015290995
178932A5381665   MATTHEW D       BARNES                    MO     90012542053
1789615A14B26B   FRED            GUEVARA                   NE     26093931501
17896A36955976   JUAN            ROSAS                     CA     90009800369
1789778425B366   BRENDA          SWARTZ                    OR     44508787842
1789795425599B   RICHARD         HAMILTON                  CA     90002429542
17897A1A95715B   JOE             SIMTH                     VA     90013080109
1789817A257147   ZELALEM         MITIKU                    VA     90009141702
1789849154B588   DIANA           DAWSON                    OK     90007804915
178996A795B526   MARIA           SANCHEZ                   NM     90007926079
178997A254B588   CISCO           MORENO                    OK     90013037025
17899A2945B526   ROBBY           JOHNSON                   NM     90015590294
1789B581572B62   VICTORIA        THOMAS                    CO     90015045815
1789B77724B26B   ANDREA          FLORES                    NE     90004177772
1789B826A61958   ESTER           FRYKLIND                  CA     90014048260
1789BA69591588   NANCY           BORJON                    TX     75055260695
178B133195715B   ANTONIA         REMIREZ HERNDEZ           VA     81088183319
178B13A2661976   AIDA            RAMIREZ                   CA     90010803026
178B13A2A55976   ALBERT          AGUIRREQ                  CA     49055543020
178B1948972B62   NANCY           MENDOZA                   CO     90013139489
178B269714B588   SAMANTHA        DIAZ                      OK     90013796971
178B274865715B   ARIEL           BARRERA                   VA     81015127486
178B2787455976   CHRIS           CASTELLO                  CA     49019797874
178B362855715B   DANIEL          MONDRAGON                 VA     90014606285
178B5734493738   MICHELLE        WILLIAMS                  OH     90008137344
178B7388755963   MARIBEL         LANGO                     CA     90002483887
178B771389373B   ERIN            BENTON                    OH     90010407138
178B922A75B154   MONICA          HORNE                     AR     23062192207
178B92A3972B62   ABNER           GONZALES                  CO     90006562039
178B9973855976   DANIELA         AGUAYO                    CA     90007779738
178BB687472B28   REBECCA         JONELL                    CO     90007796874
178BB82445B526   PATRICIA        JIMENEZ                   NM     90013568244
178BB95345715B   VICTOR          GUERRERO                  VA     90007379534
17912A54693725   TERENCE         SIMMONS                   OH     90001140546
1791324444B588   TREMAYNE        WISBY                     OK     90012002444
17913A88272B62   ESTRELLA        LOYA                      CO     90012110882
1791552887B428   MORATH          PAUL                      NC     11052325288
179159A8857147   JOSE            ABARCA                    VA     81043619088
1791693424B26B   KELLY           RICHTER                   NE     26084539342
17917347A7B323   SANDRA          PEREZ                     VA     90000863470
1791776569373B   BAILEY          TASHA                     OH     64586357656
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17917AAA357147   JESSICA      PEREZ                        VA     90009290003
1791859235B526   DEBBIE       LUCERO                       NM     35074815923
1791888924B26B   COURTNEY     THOMPSON                     NE     90008188892
1791915514B576   JOSE         LEDEZMA                      OK     90011061551
1791951219373B   MS           MORGAN                       OH     64522355121
179196A1455976   BOUNSY       RATSAVONG                    CA     90015166014
17919A3615B129   BOBBIE       CARRANZA                     AR     23057860361
17919A54891588   CINTHIA      CARDOZA                      TX     90007820548
1791B359424B82   ANTHONY      SMITH                        DC     90005293594
1791B36184B588   DEANDRA      WHITE                        OK     90014053618
17921593A72B3B   FILIBERTO    SAUCEDO                      CO     33030275930
17921A19333647   SANDRA       HOWARD                       NC     90010340193
1792242233363B   FABI         FABULOUS                     NC     90006554223
1792259314B26B   BRITTANY     BILLINGS                     NE     26087585931
17923888A61978   KARINNA      SILVAS                       CA     90014818880
17923AA4324B42   ALFREDO      BUSTILLO                     VA     90005970043
1792689978B193   JEFFREY      CHARLIER                     UT     90005018997
1792889672B582   DEWAYNE      FIELDS                       AL     90011008967
17929A5844B588   LEXEY        NOAH                         OK     90015230584
1792B381831447   NORMA        SMITH                        MO     90010013818
1792B87A95B526   BENJAMIN     MARTINEZ                     NM     34006268709
17931918172B62   DAVID        BERLIN                       CO     90012829181
1793257A155976   EUGENIA      PEREZ                        CA     49042705701
1793279465715B   DANIEL       WIAFE                        VA     90013907946
17932A61677539   DORINDA      MORENO                       NV     43025070616
17932A95657147   MATTHIAS     ARUNAH                       VA     81077100956
1793495314B588   SHALANDA     MCCURTAIN                    OK     90015009531
1793525652B232   KEITH        SYLVESTER                    DC     90007402565
1793574419373B   NIGEL        KING                         OH     90012237441
1793791715B154   JACQUELINE   JACKSON                      AR     90011349171
1793934A661976   MICHAEL      COLE                         CA     90014773406
1793979114B26B   SUHEY        TORRES                       NE     90014727911
1793B46535B154   MARY         MONROE                       AR     23081234653
1793B711961958   DANIEL       ANDERSON                     CA     90007487119
1793B81A891569   LINDA        KAMMERER                     TX     75021478108
17941532172B62   CARLOS       ARRIAGA AVILA                CO     90006115321
1794228724B26B   STEVE        SCHOONOVER                   NE     26093412872
1794261365B526   NICOLE       ORTIZ                        NM     90010406136
1794396457B428   ISELA        LOPES                        NC     90008429645
1794466752B899   SCOTT        FRAZIER                      ID     90004336675
179451A5993775   NANCY        PARKER                       OH     90008411059
1794746A661976   DANIA        MATTIS                       CA     90009364606
1794874694124B   CHRISTINA    CHERKEN                      PA     90010727469
1794875638B878   OWEN         RUSSELL                      HI     90014457563
1794883A172B62   BRIAN        GATES                        CO     90011258301
1794931749373B   ALICIA       LEWIS                        OH     90013633174
1794938864B588   DANIEL       COURTNEY                     OK     90014103886
1795269559373B   CORANNA      BURCHFIELD                   OH     64591996955
17953A1942B857   WILLIAM      HICKEY                       ID     90013100194
1795613485B154   SHANDROA     WALLACE                      AR     90012711348
1795616185B526   ARMIDA       GRIEGO                       NM     35027761618
17957534972B62   ESPERANZA    MAGDALENO                    CO     90000245349
1795755685B526   AARON        LUJAN                        NM     90014865568
1795758719373B   BRYAN        PHIPPS                       OH     90006835871
17957A55561976   ENRIQUE      NAVARRO                      CA     90012290555
179582A8457147   JOSE         ROSA                         VA     90002512084
1795B53719373B   DENISE       HEDRICK                      OH     64563685371
1795B62784B588   ASHLEY       MEAD                         OK     90011206278
1796149665B154   CHRISTY      ALLEN                        AR     90009214966
1796317A82B387   MATT         FRANCO                       CT     90015041708
1796422A957147   ADOLFO       GARCIAZ                      VA     90011382209
1796455274B588   JESSICA      VARELA                       OK     90009285527
1796498918438B   QUANTELLA    PERRY                        SC     19016449891
17966984372B23   ROBERT       BONILLA                      CO     90007819843
17966A24672B62   LOURITHA     GILLIAM-BERNARD              CO     33045160246
1796817A99373B   LEKESHA      HURSTON                      OH     90011121709
1796858835B526   FIONA        PINKNEY                      NM     90008395883
17968631872B62   LORENZA      OROZCO                       CO     90010426318
1796929189373B   JEFFREY      COUCH                        OH     90013782918
179694A965B129   ANEICYA      CLEMENTS                     AR     90001824096
1796956975413B   MYSTIQUE     QUEEN                        OR     90015505697
1796B436791895   ALEXANDRA    HOLLAND                      OK     90009284367
1796B739361958   GABRIEL      SALAS                        CA     90009967393
1797117719373B   ALBERTO      ARENAS                       OH     90013681771
17971A2765715B   ALEXIS       VAZQUEZ                      VA     90013640276
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17971A67A5B154   YOLANDA       OLLISON                     AR     90001790670
17971A86261976   BLANCA        LOPEZ                       CA     90013990862
1797227234B588   LAURA         BEGLEY                      OK     90014102723
1797233965B526   DESIREE       MELENDEZ                    NM     35016173396
179732A7655976   OLIVER        ULLOA                       CA     90013782076
1797364777B489   ANGELA        SMITH                       NC     11011566477
1797374273B396   JOSEPH        GREENBERG                   CO     33089997427
179769A5155976   JANIE         SANCHEZ                     CA     49025579051
1797873A35715B   SANDRA        CASTRO                      VA     90012217303
17979997492B47   ALEJANDRO     AMBROCIO                    WI     90015349974
1797B394285942   LAURA         MORSE                       KY     67013343942
1797B454A55945   MICHAEL       CORTEZ                      CA     90007934540
1797B8A9391569   SANCHEZ       PAULA                       TX     90005348093
1798277657B423   SHEILA        BISH                        NC     90013807765
17983A97972B64   STEVE         AKITA                       CO     33092260979
1798477A372B62   CLYDE         HANLEY                      CO     33098267703
1798723A531687   SAMANTHA      ROSS                        KS     90008482305
17987386A97B38   BRANDI        SMITH                       CO     90008183860
17987AA685598B   JORGE         MARTINEZ                    CA     49073020068
179881AA491569   PACO          RIVERA                      TX     90013611004
1798829497B443   BRAD          PRISETTE                    NC     90011182949
179883A7772B62   SARAH         LUCERO                      CO     90012373077
1798922435715B   EVA           SORTO                       VA     90013552243
17989229276B52   ESTRELLA      RICO                        CA     90006172292
179892A3157147   JENNIFER      COMB                        VA     90014062031
1798981A991588   MARITZA       FERNANDEZ                   TX     90008908109
17989A71572B62   ASHLEY        GALLEGOS                    CO     90011750715
17989A8245B526   MADRIGAL      DAVID                       NM     90004370824
1798B12A99373B   GRACE         DERRICK                     OH     90010481209
1798B56555B526   ELOISA        SANCHEZ                     NM     90014865655
17991932A47956   CRAIG         ADAMS                       AR     24052449320
17992132891B38   HUBERT        DOWNEY                      NC     90014331328
17993AA397B489   BARBARA       DAVIS                       NC     90005500039
17994598A5715B   ROGOBERTO     VALENZUELA                  DC     90006645980
17994A71A91569   GABRIELA      GARCIA                      TX     90013370710
1799546A261987   ALONZO        PACHECO                     CA     90014034602
1799565832B249   DANIEL        RAMOS                       DC     81028516583
1799783545B154   LINDA         ROBINSON                    AR     90014538354
1799799A54B26B   NICCO         HIGHTOWER                   NE     26028729905
1799877395715B   JO            KELLY                       VA     81033097739
17998A72291895   KIMBERLY      FOREMAN                     OK     90010630722
17998A98651542   AMBER         THARP                       IA     90015150986
17999261A91569   GUSTAVO       CASTRO                      TX     75042062610
1799962935B526   CHANDRA       BARELA                      NM     90006326293
179996A665B154   SHIRLEY       SYRUS                       AR     90015056066
1799B356972B38   ERIKA         VALENCIA                    CO     90011713569
179B2117861958   ANDREA        ISIDRA                      CA     46005191178
179B3681A4B588   JAMES         ROSS                        OK     90010886810
179B5531A91588   KARLA         ORTIZ                       TX     90005275310
179B558154B268   MARY          HARWOOD                     NE     27051745815
179B59AA891895   CHRISTOPHER   DAWSON                      OK     90013129008
179B7223491895   ELIZABETH     ROJAS                       OK     90004942234
179B7364691569   ILDA          FRESCAS                     TX     75076453646
179B7473A93727   CHARME        WARD                        OH     90001424730
179B7573761976   MARIO         DETORRES                    CA     90010315737
179B7669961958   PERLA         ALVAREZ                     CA     90015306699
179B78A6A31687   MISTI         DAVIS                       KS     90014248060
179B859135715B   WALLA         OMAR                        VA     90007515913
179B871778438B   JAMES         JAMES                       SC     90007457177
179B8826647956   KENNETH       LENZY                       AR     90011968266
179B9367961976   YOLANDA       CARDOZA                     CA     46014473679
179B9691391569   JONATHAN      GONZALEZ                    TX     90013166913
179BB13484B26B   JAHSWILL      EKELE                       NE     90008471348
179BB149861976   JOSE LUIS     VERGARA                     CA     90010871498
179BB21414B26B   LUIS          HERNANDEZ                   NE     90005592141
179BB69A24B588   VICTORIA      OYELADE                     OK     21592936902
179BB69A85715B   DANIA         RESQUIN                     VA     90002636908
179BB8A2955963   JUAN          LOPEZ                       CA     90005628029
17B1112727B489   JUSHEEM       BROADHEAD                   NC     90003231272
17B111A4761976   SYLVAIN       TAYLOR                      CA     90007471047
17B1148613B38B   PEARIE        MINKLER                     CO     90000194861
17B11528397126   MARIA         NAMBO                       OR     90014185283
17B115A1991569   REYNA         VASQUEZ                     TX     75065445019
17B1217638B863   LOHELANI      NABESHIMA                   HI     90015351763
17B1225915B129   ROSALIDA      SANTOS                      AR     23067412591
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17B1259944B26B   LILIANA             DE GONZALEZ           NE     26002795994
17B12A7A39373B   TAMMY               LOUGHMAN              OH     90013590703
17B12AA465715B   CHERYL              HOLLIDAY              VA     90014670046
17B13281161925   DENNIS              KNIGHT                CA     90000612811
17B13577791588   GUADALUPE           LUNA                  TX     90014665777
17B13761347956   JENNIFER            ROBERTS               AR     90009717613
17B1467A891569   MARIA               BARRAZA               TX     90015216708
17B1482A75715B   MIRNA               PINEDA                VA     81093678207
17B15329655976   TASHA               LYDAY                 CA     90012323296
17B1591374B26B   DANIELLE            MAHLOCH               NE     26046339137
17B15A7777B274   CLARISSA B          NICASSIO              AZ     40538280777
17B16225A47956   ARACELY             RODRIGUEZ             AR     90014732250
17B1632198438B   DAVID               EVANS                 SC     19086233219
17B16341131687   WENONAH             TURNER                KS     22021963411
17B16363457147   TRACEY              AUGUSTIN              DC     90014163634
17B16536247956   BERENIZ             DIAZ                  AR     90014815362
17B1662885B154   TOMMY               MOLDEN                AR     90014226288
17B167A3A61958   ELA                 OSUNA                 CA     90013777030
17B16964961958   RAMON               CERVANTES             CA     90012939649
17B17381147956   ANTOINE             GOOLSBY               AR     24084363811
17B1846A131664   ROBERT              SHIPMAN               KS     22005174601
17B18732A5B526   DAVID               TAFOYA                NM     90014977320
17B1894834B588   RACHEL              LARAWAY               OK     21502109483
17B18A49161976   RUBEN               DURANTE439            CA     46041180491
17B19376972B62   JACKIE              ZAMORA                CO     90012143769
17B1956814B588   CHELSI              YOUNG                 OK     21554705681
17B19951641384   MARCO               ANTONIO               MA     90015489516
17B19A2572B894   DOUGLAS             EISENBERG             ID     42004780257
17B1B78A777539   MARIA               NUNO                  NV     90011787807
17B21358961938   GUADALUPE           TORRES                CA     90009903589
17B2137324782B   YOLANDA             RICE                  GA     90012843732
17B21AAAA4B26B   RAMONA              MOON                  NE     26069780000
17B22358147956   BRITTANY            THOMAS                AR     90014793581
17B223A7761938   SHAY                RUFFIN                CA     46015873077
17B22891657147   WALTER              VARRIOS               VA     81005288916
17B2289A672B64   MAYRA               LAGUNAS               CO     90003148906
17B22A18477539   FATTAHIL            ZUBAIR                NV     90002070184
17B2341639373B   MARKEISHA           FAVORS                OH     90014714163
17B2436A491588   FRANCISCA           RODRIGUEZ             TX     90012133604
17B24635561976   AIOTEST1            DONOTTOUCH            CA     90015116355
17B24A3425715B   REYMUNDO            CORENA                VA     90006540342
17B25299431468   SHARMEL             SHARMEL               MO     90001862994
17B26299457147   EGLA                FERRUFINO             VA     90010232994
17B26378547956   KEVIN               GETTRIDGE             AR     90014793785
17B2649199373B   JAMES               ROWN                  OH     90011504919
17B26AA8661958   DON                 HILL                  CA     90010480086
17B27187772B62   CHAZ                MARTINEZ              CO     90012751877
17B2736922B954   NINOUS              TAWAR ALKUB           CA     90003673692
17B28682561947   PHILIP              JOHN                  CA     90005656825
17B28817791895   NICKEY              ALLEGREZZA            OK     21023878177
17B29334972B62   RIGOBERTO           CARBAJAL              CO     90007893349
17B29A72A61958   RENE                MARQUEZ               CA     90014850720
17B2B739255976   BENITO              VELAZQUEZ             CA     90012047392
17B2B8A8831687   TIMOTHY             KEMP                  KS     90014038088
17B31124724B5B   DAVID               CURLEY                DC     90013941247
17B31249355976   MONIQUE             RODRIGUEZ             CA     49034272493
17B31778A5715B   ZINAR               ALI                   VA     90015147780
17B32289291586   JOSHUA              NOLL                  TX     90007572892
17B33183291569   GLORIA              URQUIDI               TX     90011131832
17B3415A65715B   IVETH               GARCIA                VA     90010431506
17B34876657147   GLORITA             ADOM                  VA     81069018766
17B35325391569   MIGUEL              RODRIGUEZ             TX     90004013253
17B3559A191588   JESUS               ESTRADA               TX     75091925901
17B36367654122   LINDA               STEBER                OR     90011593676
17B36559691588   JESUS               PAYAN VILLA           TX     90013865596
17B36A39A5B526   NAYELLY             MARTINEZ              NM     90010590390
17B37911577539   DELIA               JUAREZ                NV     43096969115
17B3818499373B   DEVANEY             JONES                 OH     90006881849
17B38719861976   MARIA DEL ROSARIO   MORENO                CA     90002307198
17B39129A4782B   XAVIER              PERKINS               GA     14072121290
17B3924534B588   ANTHONY             HAWTHORNE             OK     21535322453
17B39371161958   ARTURO              HERNANDEZ             CA     46074853711
17B3984915B154   FABIOLA             TORRES                AR     90010968491
17B3B892191588   PRISCILIANO         ROJAS                 TX     90013028921
17B3BA5155B154   CHRIS               SHELTON               AR     90014610515
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17B3BA9A361938   SHANE            LISTON                   CA     46064040903
17B41556147956   MASHONA          REAGAN                   AR     90014795561
17B41682A91827   CLARISA          SOSAVILLANUEVA           OK     90014756820
17B41748572B62   JACOB            RIBBLE                   CO     90014887485
17B4244684B26B   KHULOUD          ALWAELY                  NE     90013164468
17B42A34161958   ALMA             PARRA                    CA     90007780341
17B43117A72B43   NATHAN           HAINES                   CO     90012381170
17B43556147956   MASHONA          REAGAN                   AR     90014795561
17B43566631687   VELLA            MITCHELL                 KS     22035305666
17B4374A557124   REINA            MORALES                  VA     90008447405
17B4384A24B26B   KATHY            WILLCOXON                NE     90011578402
17B4398185B154   TOLYIA           ARCHIE                   AR     90002659818
17B44379161976   RACHEL           SANTIAGO                 CA     46017523791
17B4449579373B   SHADARA          JENNINGS                 OH     64583334957
17B44765791977   CEDRIC           ROBINSON                 NC     90007987657
17B4541639373B   MARKEISHA        FAVORS                   OH     90014714163
17B45593291569   WALESKA          LOPEZ                    TX     90012385932
17B45981672B84   CHRIS            HANSEN                   CO     90010989816
17B46174461976   ALICIA           RODRIGUEZ                CA     90003001744
17B46244347956   JOSHUA           STEPHENS                 AR     90009382443
17B46596647846   MAKINA           CONAWAY                  GA     90012085966
17B4717725715B   MARY             TRIPP                    VA     90010431772
17B47894591588   CYNTHIA          BARELA                   NM     90012688945
17B48191861976   JUAN             RAMIREZ                  CA     90012471918
17B4856815B154   TERESA           BOYKIN                   AR     23021295681
17B4999A855987   ROSA             MACLOVIO                 CA     90012599908
17B4B284177539   CHANTILY         SMILEY                   NV     90011742841
17B4B671961938   RICHARD          HASIKA WILLIAMS          CA     46063976719
17B51599691569   ELVA             OCHOA                    TX     75036905996
17B51695955976   ROBERT           MUNOZ                    CA     90007546959
17B51953A61972   VERONICA MARIA   CHAVEZ GARCIA            CA     90009649530
17B51959A61976   CHRISTHIAN       MACHADO                  CA     90010489590
17B5213665B526   MANUEL           RASCON                   NM     35094671366
17B52385457147   JAIME            CACERES                  VA     90004673854
17B5296794B588   LAKESHA          HARRIS                   OK     90009199679
17B531A9791588   SAMANTHA         BA VACA                  TX     90014771097
17B53854572B62   ELOHIM           BUSTOS                   CO     90013698545
17B53A9174B588   VICTOR           ZAMORA                   OK     90012390917
17B54244491569   RANGEL           ZULMA                    TX     75060642444
17B5463685B526   ERICA            SAAVEDRA                 NM     90005476368
17B55313791569   ALBERTO          ORTIZ                    TX     90014803137
17B5569313B128   TRACY            FENWICK                  DC     90006216931
17B55A2965B526   ELOISE           DURAN                    NM     90003540296
17B56716772B62   ROBIN            DOTSON                   CO     33066787167
17B56A8424B543   MARVIN           BABE                     OK     90008890842
17B57216661976   JAZMIN           MONSALVE                 CA     90015092166
17B57395861958   NUBIA            MORENO                   CA     46074853958
17B57896491263   KELI             CALLOWAY                 GA     14574068964
17B58175291895   MICHELLE         WADE                     OK     90014251752
17B5866814B588   LIZ              MOORE                    OK     21576946681
17B59A7524B26B   CECILY           COULTER                  NE     90001540752
17B6118165715B   JOSE             REYES                    VA     90009591816
17B6131AA5B526   NATIVIDAD        AGUILAR                  NM     90013233100
17B62358A47956   BRITTNEY         KANUL                    AR     90014803580
17B63474155976   MICHELLE         JIMENEZ                  CA     90014844741
17B63636157147   ELMER            GONZALEZ                 VA     90014796361
17B6414469373B   CHARLES          LORIMER                  OH     90011411446
17B64548861938   LUIS             GONZALEZ                 CA     46063975488
17B64A3318438B   RUSSELL          JENKINS                  SC     90007100331
17B65134772B62   PORFIRIO         SERNA                    CO     90014901347
17B65418A47956   REBECCA          MCGANN                   AR     90014804180
17B65975355976   MONIQUE          HERNANDEZ                CA     90011059753
17B66139755976   CINDY            HANG                     CA     90006281397
17B66275593783   CYBIL            POOLE                    OH     90001682755
17B66364191569   ALFREDO          ESTRADA                  TX     90003143641
17B6746565B154   KIARA            COLEMAN                  KY     23040504656
17B6B21585B129   DEBRA            WINFREY                  AR     23045012158
17B724A5455976   ROSARIO          ROQUE                    CA     90014014054
17B72886A91895   FRANSISCO        VILLATORO                OK     90012678860
17B72AAAA9373B   CHAD             HALL                     OH     90011050000
17B7361737B337   FELEKU           ABEBE                    VA     90003066173
17B73883A91569   DIANE            GONZALEZ                 TX     90004518830
17B744A135B154   CHRISSY          TURNER                   AR     90008664013
17B74528772B62   DEBRA            LUCERO                   CO     90014895287
17B74717A4B26B   ALFREDO          SOTO                     NE     90015107170
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17B74A1579373B   VICTOR              CHAVEZ                OH     90013840157
17B75153691895   SHONDALE            FOWLKES               OK     90014501536
17B7534715715B   ELISA               GOMEZ                 VA     90013633471
17B753A2855935   KATHY               BROWN                 CA     49074133028
17B76114457147   ARLITA              HINES                 VA     90015191144
17B7685738B194   JAIME               MEDINA                UT     90010898573
17B7693995B154   MICHAEL             MORRIS                AR     90015129399
17B76A31254122   LORENA              SEDANO-ROBLEDO        OR     90002280312
17B78735861958   JIMMY               ROMERO                CA     90010797358
17B78873561976   PLACY               ODNER                 CA     90006028735
17B7923649373B   BRANDON             GREENE                OH     90013092364
17B79754A55976   KINGSLEY            OMWANGHE              CA     49092587540
17B7991AA91569   LUIS                NUNEZ                 TX     75086059100
17B79954A5B526   IRMA                FLORES SUAREZ         NM     90005609540
17B7B981131687   JONATHAN            HOOVER                KS     22095949811
17B7B994277539   VANESSA             SCANLAN               NV     90003169942
17B8126A847956   MARIBEL             SOTO                  AR     90015052608
17B81474477539   TONNA               MCNALLY               NV     90011794744
17B81524361976   PAOLA ALEXANDRA     SUAREZ CALDERAS       CA     90014765243
17B84225A47956   KAREN               SMITH                 AR     90014522250
17B84A1A555976   CHRISTOPHER         ZAHARIADES            CA     90011060105
17B84AAA35715B   ANGEL               AGUILAR               VA     90013580003
17B85428761958   MIGUEL              VALADEZ               CA     90012564287
17B8629935B526   CYNTHIA             QUINONES              NM     90013982993
17B86757261976   WILLIAM             SWANN                 CA     90003767572
17B8682424B26B   SERGIO              MONTES                NE     90013328242
17B8682A67B43B   RASARIO             JIMENEZ               NC     90005908206
17B87884547956   PATRICIA            FIGUEROA              AR     90014808845
17B88479791569   CINDY               GOMEZ                 TX     75005764797
17B8965A631687   FRANCINE            INYANG                KS     90000946506
17B8B785647956   JONATHAN            CHRISTIE              AR     90014807856
17B8B872424B44   CECILIA             OLMEDO                DC     90002888724
17B8B959576B2B   JAVIER              PEREZ                 CA     90001569595
17B91645191263   STARLA              ROBINSON              GA     90013006451
17B91A38357147   SANDRA              CACERES               VA     81033470383
17B91AA569373B   BRITTENY            MCCAIN                OH     90010480056
17B9211524B588   IVAN                REYES                 OK     90012671152
17B92399272B44   BEN M               PAREFSKY              CO     90004833992
17B9239A85B154   KRYSTAL             JAMES                 AR     90007993908
17B92627831687   NICOLE              CROW                  KS     90013866278
17B9396888438B   AKEISHA             PEQRSON               SC     90007319688
17B94333957147   MARIA               PARADA                VA     90012423339
17B94512277539   ANGELINA            GONZALEZ              NV     90011795122
17B94546761976   OMAR                SANCHEZ               CA     90014745467
17B95288531687   SUSAN               TOLIN                 KS     22046102885
17B95434872B4B   DAVIS               GADISON III           CO     90012754348
17B9624415715B   MICHELLE            VANHORN               VA     90009522441
17B96612361976   JESSICA             SOTO                  CA     90005146123
17B96814261958   CAMPOS              TAMARA                CA     90001848142
17B96972777539   EDGAR               RENTERIA              NV     43075839727
17B97328491569   ROSA                SANTILLANA            TX     90011773284
17B97468261976   KENNETH             BRANDT                CA     90014774682
17B98124472B62   ALEJANDRO           AGUILAR               CO     90012631244
17B98298661976   MICHAEL             BARAJAS               CA     90013682986
17B98688A7B436   PABLO               SANTOS                NC     90011506880
17B9972A54B588   GILL                PEREZ                 OK     90001857205
17B999A9631664   JACONA              GILLESPIE             KS     22054129096
17B9B594291569   CESAR               CABRERA               TX     90008375942
17B9B669872B62   MICHAEL             BOYCE                 CO     90013696698
17B9B67A891569   MARIA               BARRAZA               TX     90015216708
17B9B811A5B526   MARIAH              BROWN                 NM     90014888110
17B9B861191588   VICTORIA            RODRIGUEZ             TX     75085198611
17BB1474747956   LAKENA              CLARDY                AR     90014814747
17BB1779561976   FRANCISCO           PEREZ                 CA     90014737795
17BB1886955934   JUAN                LOZANO                CA     49094528869
17BB188785B154   JUNI                HERRERA               AR     23030028878
17BB21A8561976   XZOCHIL             GONZALEZ              CA     90008241085
17BB2A36955976   MAI                 YER                   CA     90013030369
17BB4942647956   JACQUELINE          HOODENPYLE            AR     90014789426
17BB521155B526   LEANNE              GRIER                 NM     35017542115
17BB564AA72B62   HEMPHILL            WENDY                 CO     33001916400
17BB5723447956   MARY                BUSBEE                AR     90001477234
17BB591A35B348   NILESH              CHAUDHARY             OR     90010029103
17BB5993861958   CHRISTOPHER MILES   STAFFORD              CA     90014669938
17BB5A5149373B   DANIEL              BUTCHER               OH     64557840514
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17BB6239455976   MIGUEL            FIGUEROA                CA     90014832394
17BB66A7555976   ALICIA            TRISTAN                 CA     90012626075
17BB817984124B   BRUCE             FUNK                    PA     51012251798
17BB8919A7B489   CARLOS            GARCIA                  NC     11045379190
17BB8928961976   JONATHAN          GERALDO                 CA     90013779289
17BB8AA685715B   JASON             HAY                     VA     90014160068
17BB95A4961976   JOSEFINO          SALIBA                  CA     90014745049
17BB9856891569   ELIZABETH         DIAZ                    TX     90010778568
17BB9913131687   NANCY             BERNARD                 KS     22029269131
17BBB16255715B   ELIZAI            PEREZ                   VA     90012351625
17BBB555A8164B   RACQUEL           RAMIREZ                 MO     29030875550
17BBB57948B194   HENRY             RADFORD                 UT     90013765794
18111894172B62   SHAWN             MCKNIGHT                CO     33040868941
18112491872B62   BEATRIZ           VELA                    CO     33033714918
18113A1229373B   WAYNE             LAWRENCE                OH     90009760122
18113A52991523   CARLOS            ALVAREZ                 TX     90012570529
1811495759373B   SHAWN             KEIRNS                  OH     90014669575
18115337A51337   DONNA             FOSTER                  OH     90013813370
181153A953162B   MIRRIAH           GUTIERREZ               KS     90006243095
181163AA981639   JOSE              GUARDADO                MO     29010313009
1811661635715B   ARMANDO           PEREZ                   VA     81027496163
1811694624B26B   KRISTY            HILLE                   NE     90010379462
1811756415715B   ALEXANDER         ALONZO                  VA     81026435641
18117623172B23   ADOLPHUS          UGEH                    CO     33005856231
1811784359373B   DANIELLE          BYRD                    OH     90013158435
1811828423B392   ELAINE            BUI                     CO     90007632842
1811887575B285   RANODRIA          RUTLEDGE                KY     90013508757
1811891774B588   ERNESTINA         MENDOZA                 OK     90013279177
1811918A461958   SAN DIEGO         WHISPER DE              CA     46059181804
1811995A55715B   JAVON AND HANNE   GASKINS PARAISO         VA     90013379505
1811BAA1257579   LEE               GONZALES                NM     90014120012
1812257852B655   SOLOMON           SANCHEZ                 WA     90015375785
18122A77351337   NICOL             PRYOR                   OH     66002060773
1812383299373B   JERRY             DUKE                    OH     90014568329
1812491A34B26B   JOSEPH            SMITH                   NE     90014849103
18126413A51359   MELIA             SHABAZZ                 OH     90014924130
1812689159373B   TYE               SMITH                   OH     90012608915
181271AA691569   ALEX              RODRIGUEZ               TX     90015331006
1812813175B526   DEBORAH           HOWARD                  NM     90014491317
1812862289373B   AMRIMIA           WILLIAMS                OH     90011266228
18128AA8351337   MARTINA           SMITH                   OH     90014300083
1812B371191569   TONYA             RODARTE                 TX     90014123711
1812B6A3185966   VANESSA           CARSLEY                 KY     90014436031
1812B93A261958   CARLOS HUMBERTO   CALOA                   CA     90004729302
1813392194B588   HANNAH            WRIGHT                  OK     90014189219
1813472682B232   MELISSA           DARNELL                 DC     81007197268
1813547135B526   ARLIN             GONZALES                NM     90002694713
1813565519373B   HERBERT           SMITH                   OH     90011266551
1813579A15B526   GENE              GRAYSON                 NM     90010897901
18135A8164B26B   LUVRECIA          MAY-LAZARO              NE     90010560816
1813715455B526   JOSIE             MONYE                   NM     90015091545
18139537A51359   MICHAEL S         TAYLOR                  OH     90013575370
18139A91961938   NATALY            MARTINEZ                CA     90004970919
1813B446791944   GILBERTO          RAMIREZ                 NC     90005154467
1813B542591523   CARMEN            PEREZ                   TX     90005195425
1813B686A5B526   MARIA             LOPEZ                   NM     35075176860
1813B818161958   GRACIE            GONZALEZ                CA     46034558181
1813B82795715B   WILMER            BONILLA                 VA     90013968279
1814187875B154   BILLY             DEWITT                  AR     23067788787
18141A79A4B26B   GRACIELA          SALAZAR                 NE     90001800790
18142231A9373B   TAMARA            GARRETT                 OH     90009132310
1814285A45B129   ALETA             WATSON                  AR     90005418504
1814358A472B62   JERICENA          BUNDY                   CO     33017195804
1814382374B26B   STEVEN            SHIFFERMILLER           NE     26081588237
1814688384B26B   AMAL              OSMAN                   NE     26053658838
181468A9191569   CHRISTOPHER       PERRY                   TX     90015148091
18147538A61958   LUWANA            MESA                    CA     90014885380
1814781525715B   DAIVD             SANCHEZ                 VA     90011538152
18148132572B62   JULIO             ESTRADA                 CO     33041301325
1814898267B489   JESSICA           DELAVEJA                NC     90012909826
1814925818B167   DIANA             LAKE                    UT     90005422581
1814954214124B   CHRIS             HELMAN                  PA     90005615421
18149868372B62   MARTIN            GARCIA                  CO     33038528683
1814B615191523   SERGIO            SALAZAR                 TX     90004936151
181514A1472B62   JERED             MBO                     CO     90010334014
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181515A7861958   KENNETH      ANDERSON                     CA     90013495078
1815161A23B394   GLORIA       LEDESMA                      CO     90013956102
1815179394B26B   SYLVESTER    WILLIAMS                     NE     90013947939
1815183167B489   JERONIMO     ORIAL                        NC     90005988316
1815267A85715B   GLENDA       HERNANDEZ                    VA     90014886708
1815312A654122   TROY         BAILEY                       OR     90006431206
18155478A61958   ABBIE        GISSENDANNER                 CA     90010614780
1815562865715B   FRANKLIN     BRANCAMONTES                 VA     90011266286
1815573369373B   MITCHELL     COWAN                        OH     90011267336
1815574A693727   ASHLEY       COMER                        OH     90009687406
1815589955715B   YENNIO       NAVAS                        VA     90013968995
1815642718438B   BRENETT      DILLAHUNT                    SC     19018214271
1815666915B154   AMANDA       GROSS                        AR     23005216691
1815695455B154   AMANDA       GROSS                        AR     90013859545
181593A124B287   JORDAN       HALSTEAD                     NE     90011423012
18159993A91524   BONNIE       ORTIZ                        TX     90010229930
1815BA22257147   DELIA        RAMIREZ                      VA     90013190222
1816145A191523   NINA         SEGOVIANO                    TX     90003094501
18162546A61938   EMETERIO     HERNANDEZ                    CA     46046265460
181647AA35B154   ALEX         PERRY                        AR     90015207003
181649A7755976   NESHA        JENNINGS                     CA     49096079077
181654A274B588   SHANE        ELLEDGE                      OK     90014644027
18165664A51359   SHANE        HOWARD                       OH     90015166640
18166673A9373B   RICHARD      GRIGSBY                      OH     90014686730
18166A35361938   ARASELY      L MIRELESS                   CA     90011400353
1816742144B287   ROB          GRAFF                        NE     27021904214
1816755169373B   JENNIFER     HARDY                        OH     90014705516
1816781439373B   QUILLA       RUSSELL                      OH     90011268143
1816896444B588   LOUIS        DEWAYNE                      OK     90006579644
181694A4751337   JTRICE       JORDAN                       OH     90003504047
181698AAA91569   CHRISTIAN    THOMPSON                     TX     90015138000
18169A5554B588   MARLA        PEARCE                       OK     90013270555
1816B65425B154   BERNARDO     RIVAS                        AR     90012436542
1816B68AA72B62   RICKY        MARTINEZ                     CO     90013296800
1816B81854B26B   JUNIATA      PATRICK                      NE     90007028185
1817131148438B   SYMIRA       RICHARDSON                   SC     90006473114
181714A7491523   FEDERICO     MARQUEZ                      NM     90013934074
1817186AA51355   CHRIS        COLLINS                      OH     90014358600
18172323424B55   JOSEPH       FOWLKES                      VA     90013673234
1817233A557127   RAIHAN       TALEB                        VA     90002633305
1817285988438B   RANGER       SEGUNDO-TIBURCIO             SC     90010968598
18173148A9373B   TOMMY        KENNEDY                      OH     90014671480
1817379395B154   SANDRA       RUSH                         AR     90014107939
18173A38972B62   DANIEL       DELGADO                      CO     90013210389
18173A8795B526   SERGIO       MALDONADO                    NM     90013950879
1817444215715B   ALISON       FLORANZ                      VA     90010614421
1817445275B526   MARIA        CERVANTES                    NM     35071814527
18174912A4B26B   CONNIE       WRIGHT                       NE     26033329120
1817581952B227   ULISES       MORALES                      DC     90009718195
1817635625715B   RAUL A       MENJIVAL                     VA     90013093562
181768AA85B526   ANNA         RAMIREZ                      NM     90010898008
181787A9391523   JUAN         PARADA                       TX     90007197093
18179379472B62   MARIA        LIRA                         CO     33070093794
1817941695B526   PEDRO        SANTILLANES                  NM     90013954169
1817959595715B   DANIEL       LOPEZ                        VA     90015175959
1817973A95B154   CARENDA      BROWN                        AR     90007947309
18179A3754B565   JENNIFER     EVANS                        OK     90005810375
1817B116251355   MANUEL       VILLATORO                    OH     66071261162
1817B494A61938   MICHAEL      MURPHY                       CA     46098054940
1817B748A3B364   RUBY         CARRIER                      CO     39057087480
1817BA13A91569   MILAGROS     OVANDO                       TX     90014080130
18181A11451355   JERRY        HAMMOND                      OH     90004020114
1818279A657147   MUHAMMAD     IMRAN                        VA     90010507906
1818519425B154   ANTHONY      OATES                        AR     23015431942
1818593895715B   RUDDY        SUAREZ                       VA     90013969389
181863A895715B   YU CHEOL     CHOI                         VA     90014973089
1818668AA9373B   LATONYA      CHATMAN                      OH     90014686800
1818876248438B   SHAKEARA     SINGLETON                    SC     90000947624
1818B6A444B588   GEORGE       CORNICH                      OK     90010476044
1818B95164782B   ALISIA       WILLIAMS                     GA     90007139516
1818BA9695B154   KORIA        ROBINSON                     AR     23022420969
1819112774B588   PHIIP        MARTIN                       OK     90012311277
1819223815B129   KIM          BOOTH                        AR     23012072381
1819229845B526   SAMANTHA     TAPIA                        NM     90014222984
1819315168B134   RYAN         MCLELLAND                    UT     31024321516
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18193289A91895   ASHLEY       CALLAWAY                     OK     90010772890
1819332655B526   CRYSTAL      VALDEZ                       NM     90009623265
1819388685B129   TABITHA      RICKS                        AR     23056598868
1819413754782B   DARRELL      TAYLOR                       GA     90005951375
181945A8857147   SANTOS       REVELO                       VA     81096085088
1819537238438B   TRINETTE     CUNNINGHAM                   SC     90001783723
1819543A261958   JESSICA      FLETCHER                     CA     90008344302
18195497A9373B   CHRISTY      SAMS                         OH     90013954970
1819583955B154   ASHLEY       CHATMON                      AR     90014648395
181969AA45715B   AMANDA       REVERON                      VA     90011539004
181973A385B526   KAREN        GUTIERREZ                    NM     90013913038
18197519136B83   NELSON       VALADEZ                      OR     44557495191
1819823123B368   CHARLOTTE    ZUMBACH                      CO     33058322312
181984A3555976   NICOLE       LANEY                        CA     90013184035
1819868AA4782B   DIANE        CLEMONS                      GA     90011636800
1819925698B863   SHANTEL      AMULACION                    HI     90014532569
1819973615B154   MONTIEL      AVALOS                       AR     23064817361
1819B27364B26B   WENDY        WUNDER                       NE     90006832736
1819B4A898438B   SHELIA       OLIVER                       SC     90006474089
181B1849A31687   MARY         HOLLUMN                      KS     22011848490
181B1913961958   ROOSEVELT    WILLIAMS                     CA     90013499139
181B21A1561938   HECTOR       FARERRA                      CA     90011361015
181B2299257147   LAURA        FUENTES                      VA     90013022992
181B2785191263   HERBERT      BROKS                        GA     90009037851
181B322754B26B   ANGIE        SZELAG                       NE     90010642275
181B3557572B62   VERONICA     PETERS                       CO     90011015575
181B4299257147   LAURA        FUENTES                      VA     90013022992
181B437A355976   ADYLENE      BERNAL                       CA     49096973703
181B4517761958   JENNY        MENDOZA                      CA     46082035177
181B4771285966   JOSH         SIMS                         KY     90011517712
181B47A515B526   SUSAN        WILKES                       NM     90001487051
181B49A1A91523   JUDITH       RIVERA                       TX     75093109010
181B5292231687   ALLYSA       JOHNSON                      KS     90013332922
181B5863855976   ELSA         SOLIZ                        CA     90014728638
181B673817B39B   MICHAEL      COSS                         VA     90001467381
181B67A1A57147   NELLY        REVILLA                      VA     90014187010
181B6985161938   DERRICK      JACKSON                      CA     46066469851
181B712485715B   JOSE         HUMBERTO SANTOS              VA     81093291248
181B739A285966   STEPHEN      JONES                        KY     90014433902
181B7478251359   CHARMAINE    ROBINSON                     OH     90001224782
181B7A5757B854   THOMAS       MC GEE                       IL     90008820575
181B8154A81639   MARGARET     LOVE                         MO     29098171540
181B8227857125   OSCAR        MENENDEZ                     VA     81008962278
181B8298757147   MARINA       AYALA                        VA     90013122987
181B8316A91569   JUANA        FIERRO                       TX     75021793160
181B849824B26B   MONIQUE      GREEN                        NE     26043094982
181B8936991327   LANISSA      HILL                         KS     90010699369
181BB946441255   JAMES        ROSTEK                       PA     90011889464
1821142A161938   GENOVERA     ROBINSON                     CA     46085124201
1821182394B26B   LORI         LIVINGSTON                   NE     26069438239
1821252924B26B   GANES        KUFUTA                       NE     90010215292
1821335A94B254   ASHLEY       SHELBY                       IA     27044043509
18213833A57124   ONEYDA       GARCIA                       VA     90013938330
1821425654B26B   BRENDON      SMITH                        NE     90014162565
1821486939373B   MELISSA      BROWN                        OH     64508418693
18215237A57124   OSCAR        GOMEZ                        VA     90003162370
1821554364B588   ISMELDA      TEEL                         OK     90010835436
1821598145715B   AMADOR       VASQUEZ                      VA     90013969814
18215A2645715B   CARLOS       CORLETO                      VA     81038940264
18216562176B52   OSCAR        ROSALES                      CA     90005885621
18216A32951337   AMANDA       GLASGOW                      OH     66005160329
1821947395715B   OSCAR        RIVERA                       VA     90014394739
1821973779373B   ITASCA C     BRYANT                       OH     90013927377
1821992A54B588   SHAWNEE      BOYNCE                       OK     90013279205
1821B315585966   CORY         KELLY                        KY     90004983155
1821B637281639   DENISE       MABON                        MO     90007936372
1821B841331687   ASHLEY       DIAZ                         KS     90013518413
1822124A95B154   ANGELA D     MCFADDEN                     AR     23002052409
182212A7857557   CLAUDIA      CONTRERAS                    NM     90003712078
182217A899373B   TOYIA        ZACHERY                      OH     90012437089
1822235735B129   AARON        UPPERMAN                     AR     90005423573
1822253728438B   TIFFANY      DELESTON                     SC     90001425372
182228A6557147   PHILLIP      WARNER                       VA     81010268065
182229A6671927   LUCY         SCARANDA                     CO     90000569066
18222A62372B3B   PAM          HOUGHLAND                    CO     33014080623
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182231A8291B43   MICHAEL      NEWMAN                       NC     90015421082
182232A468438B   HEATHER      ABLE                         SC     19051892046
182237A389373B   SHIRLIE      LAIRD                        OH     90014687038
1822462315715B   MEHRET       TEKLE                        VA     90003896231
18225643927B36   BRICIO       ALAMILLO                     KY     90015346439
1822577A472B34   BILLIE       GREGORY                      CO     33055217704
1822637AA51359   ANDREA       COLEMAN                      OH     90000363700
18227669A61958   PATRICE      DONLOE                       CA     90012826690
1822775435B526   RAQUEL       CARBAJAL                     NM     90011127543
1822871378B123   BARBARA      SPENCER                      UT     31082687137
1822872744B588   DAVID        DELANA                       OK     90008917274
182292A3757147   RICHARD      PRICE                        VA     81093412037
1822B942257147   BERNARD      MILBURN                      VA     90014499422
1822BA82691523   RAUL         CASTRO                       TX     90001950826
182321A9331687   JEREMY       BROWN                        KS     90013651093
18233219472B62   OTILIA       GARCIA                       CO     33001652194
1823379199373B   JASON        MEADOWS                      OH     90014687919
18233891A8B863   ESMERALDA    VALENZUELA                   HI     90015298910
18233A19A55928   MARIA        PEREZ                        CA     90002760190
18233A9174B588   MICHELLE     BELK                         OK     90011390917
18234195272B37   ONIT         TME                          CO     90005171952
182341A644B588   DORIAN       MARTIN                       OK     90008251064
18234745A5715B   NINETH       HERNANDEZ                    VA     90011267450
182349A229373B   MARY         CHATMAN                      OH     90009999022
18235A6119373B   MONIKA       INTSIFUL                     OH     64549390611
1823663324B26B   TAMMY        MCLAINE                      NE     90000326332
1823684999373B   TAYLOR       HARRELL                      OH     90014688499
1823733224B588   ALICIA       MALDONADO                    OK     90015343322
18237799872B62   PAUL         LUCERO                       CO     90013377998
18237A15591523   MANUEL       GUERRERO                     TX     90013090155
18237A15957147   CHRISTIAN    ARREDONDO                    VA     81054700159
18237A3A15715B   TITA         ROGRIGEZ                     VA     90013210301
18237A63355976   BRADLY       JENKINS                      CA     90009680633
18238891833B28   JESSE        COCHRAN                      OH     90014838918
18239352572B62   REBECCA      RASMUSSON                    CO     90007843525
1823948967B388   PERCY        TERRAZAZ                     VA     81066224896
1823952239373B   MICHELLE     BRANTLEY                     OH     64579695223
1823959974B26B   JAMILA       HALE                         NE     90003525997
1823B565A77529   LILIA        AMADOR                       NV     90014955650
1823B666955976   BENG         LEE                          CA     90010366669
1823B84165B384   SHRISTA      LITTLE                       OR     90013368416
182414A3455973   DANIKA       CANTILLO                     CA     90014324034
1824153265B526   EDDIE        CHAVEZ                       NM     35056585326
18241A14461938   WILLIAM      NARDELL                      CA     46076620144
18241A8465B154   EDWARD       HUTCHINGSON                  AR     90013340846
1824215434782B   AARON        GLOVER                       GA     90014741543
1824242717B323   MAUREEN      GERALD                       DC     90006804271
1824334719373B   CHARLES      MARTINDALE                   OH     64597963471
18243388A8438B   TERESA       PRICE                        SC     90006483880
1824396A251337   DANNY        BROWN                        OH     66048039602
18244542A72B62   MICHAEL      BELVEAL                      CO     90010205420
1824528244B26B   CINDY        OLBERDING                    NE     90010762824
1824569565715B   SAMUEL       WOLDEYES                     VA     90014166956
1824612474B588   STACIE       COLEMAN                      OK     90014421247
1824612835B526   LIBERTAD     LLANES                       NM     90013021283
18248A84261997   GEORGE       SHAFFER                      CA     46073470842
1824918695B526   WANDA        GREEN                        NM     90008481869
18249325A51355   MATT         PEAK                         OH     90014893250
1824991934B588   HERIBERTO    SOTELO                       OK     90012839193
18249964A51359   LAVINIA      SMITH                        OH     90013649640
1824B84649373B   TIFFANY      HARRIS                       OH     90014698464
1824B9A784B588   RANDALL      HAIRSTON                     OK     90013289078
1824BA23572B62   NICHOLE      ROUSH                        CO     90014850235
1824BA47751337   JANICE       BARNETT                      OH     90013960477
1825194114B588   LARHONDA     WILSON                       OK     21552479411
1825252288B169   BRAD         PETERSEN                     UT     90005545228
18252A12864135   ILIANA       DIAZ                         IA     90013860128
1825387A461938   MIGUEL       AGUAYO                       CA     46015148704
18253A4917B489   JULIO        MENDOZA                      NC     11006560491
1825438A22B263   MELISSA      BRENDARD                     DC     81098353802
1825452445B154   JEFF         PRATHER                      AR     23087895244
1825473AA61993   OLIVER       ZAMUDIO                      CA     90012447300
182548A8161958   CONNIE       COLEMAN                      CA     46045578081
182555A9172B62   MAIDA        CASTILLO                     CO     33097285091
1825566A591569   OZZY         HERRERA                      TX     90014956605
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1825582338438B   RONALD       DRAYTON                      SC     90010958233
18255A71391523   HERLINDA     CARRASCO                     TX     75087500713
1825684544B588   STAR         STEPHENS                     OK     90001768454
18257212A5B154   GERI         DOZLER                       AR     90007432120
1825773455715B   MELAKU       ASSEFAW                      VA     90014167345
18257A3975715B   MICHAEL      LITTEN                       VA     90011540397
1825B573191523   ANTONIO      TORRES                       TX     75086125731
1825B95434B588   CIARA        CAMPBELL                     OK     90010909543
182618A885B154   CHRIS        ALLEN                        AR     90006748088
1826211A661938   MYLA         GONZALES                     CA     90011361106
1826253459192B   ARMANDA      BAUTISTA                     NC     90006175345
18262A86555976   FRANCISCO    ORTIZ                        CA     49004780865
1826314915B526   ERIC         MAULDIN                      NM     90003961491
1826331925B154   JAMES        USSERY                       AR     90015173192
182638AA991523   CORINA       GAMEZ                        TX     75032738009
1826471817B489   DASHA        LEACH                        NC     11072367181
182647A5891569   SUSIE        BRISENO                      NM     75088827058
18264A1A88B134   SARIAH       WILSON                       UT     90013870108
1826514965B154   MARIA        BONILLA                      AR     90014371496
182688A9757147   TYISHA       DAYE                         VA     90013058097
1826998A855976   CHARITY      TOKASH                       CA     49030809808
18269A4175B282   DANTE        STEWART                      KY     90012110417
1826B73A75B334   REGGIE       MATTHEW                      OR     90009577307
1827138955715B   RODRIGO      SAAVEDRA                     VA     90014963895
1827141999373B   EARL         CHIVERS                      OH     90013354199
1827253295715B   ISIS         YOLA CRUZ                    VA     90012645329
1827289925715B   ISIS         YOLA CRUZ                    VA     90015128992
1827323A455976   JONATHAN     TOUT                         CA     90014752304
1827383785715B   GUSTAVO      FUNES                        VA     90014078378
182742A6672B27   ANDRE        ANDERSON                     CO     33090382066
18274A75681639   JOSE         CHIRINOS                     MO     90000640756
182752AA691586   FRANKIE      BELL                         TX     90007962006
18277485A51359   DEBRA        HENNEKE                      OH     66009494850
1827756774B588   JOSE         BELMAN                       OK     90010665677
18277742272B62   SHANDA       TERRY                        CO     90013557422
18277A3A861938   IVAN         BODGE                        CA     90013560308
18277A84A4124B   LINDA        BRACKEN                      PA     90003700840
18278895372B62   GUILLERMO    SANCHEZ                      CO     33096058953
1827966264B588   BRENNA       EASLON                       OK     90015136626
1827992544B588   BRICE        WINE                         OK     90013279254
1827B12474B588   TAIRA        GREEN                        OK     90014411247
1827B472A5B526   MARISOL      PEREA                        NM     35047034720
1827B959455976   RASHIDAH K   ALI-JACKSON                  CA     49088299594
1828211A64B588   CHRISTY      JONES                        OK     21516731106
1828233199373B   JASON        MAHAFFY                      OH     90006603319
1828337495B154   DEBORAH      CHRISTOPHER                  AR     23013113749
18283595372B62   MARIA        VILLASENOR                   CO     90011015953
1828462875715B   INGRID       LOPEZ                        VA     90009896287
182864A125B154   DONALD       CARMEN                       AR     23085914012
18286829A81639   MISTY        JOHNSON                      MO     29002678290
1828852735B526   ROY          THUNDERCLOUD                 NM     90010295273
1828921745B154   MARTILA      BROOKS                       AR     23062242174
1828B313551359   CHAD         COOPER                       OH     90012413135
1828B52764B588   ROBERTO      REYES-GUTIERREZ              OK     21552155276
1828B663555976   BELINDA      ALLEN                        CA     49023986635
1828B847A81639   CALLIE       SINGELL                      MO     90000878470
1828B916157147   JOE          HERRON                       VA     90012989161
1828B96835715B   MARIA        BONILLA                      VA     90014189683
182916A4672B62   SANTOS       MONTELONGO                   CO     90011016046
1829255519373B   BRIDGEANA    DAVIS                        OH     64552955551
1829263335B154   DAANDREAL    ROBINSON                     AR     23071856333
1829269255B526   ARIEL        TRANCOSA                     NM     90013156925
1829385318438B   CHRISTINA    WHITSON                      SC     19055208531
1829491468438B   RAYSATHEAN   MCKUNE                       SC     19055209146
1829515345B154   TIFFANY      LUCKHEART                    AR     90015371534
18296AA3451355   STEPHANIE    MAXWELL                      OH     66082010034
182974A165B526   LILA         CASIAS                       NM     90008044016
1829769272B232   SHARMAYNE    COOPER                       DC     81009086927
1829812A591523   SUSANA       ROSALES                      TX     90014551205
1829863A35B526   EFREN        CALDERON                     NM     90011296303
18298958A5B154   TONYA        MORRISON                     AR     23098219580
182998A2151337   RANDALL      TURNER                       OH     66088408021
1829B29929373B   MICHAEL      HALL                         OH     64502022992
1829B454285966   CLARENCE     SHOOK                        KY     90004694542
1829B915291523   PAOLA        PEREZ                        TX     90012819152
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182B175A661938   STEPHANIE     KORMANN                     CA     90004497506
182B181942B899   JENNIFER      MERCER                      ID     90012598194
182B1922461958   RAMON         ARAUJO                      CA     90013499224
182B19AAA4B588   KATHRYN       WILLIAMS                    OK     90014389000
182B212A54B588   REGINA        BARNHILL                    OK     90014711205
182B277A75598B   CEVEDA        CRAYTON                     CA     49016867707
182B2996391523   METCY ELVA    BETANCOURT                  TX     90013089963
182B3276964135   MANNUEL       MARTINEZ                    IA     90013842769
182B3A69591569   ELVIRA        PARRA                       TX     90004880695
182B4451593727   GRACARRIE     HEATH                       OH     90004074515
182B4951855976   MUTHANA       KASSEM                      CA     90006399518
182B5A41885966   GLORIA        SANTIAGO                    KY     90013580418
182B6241147956   NELY          GOMEZ                       AR     24010892411
182B673915715B   MARIO         GONGORA                     VA     81096307391
182B6A1399373B   ANTONIO       ARNOLD                      OH     90011270139
182B718315B154   ASHTON        DAVERNA                     AR     90013621831
182B798144B588   JULIA         GARRETT                     OK     90009359814
182B8596191569   ROSEMARY      MONTELONGO                  TX     90014525961
182B8642151355   TONYA         VALINES                     OH     90011266421
182B8725A24B82   ERICA         COLEMAN                     DC     90001197250
182B8A4A14B26B   RAE           MILLER                      NE     26093900401
182B913915B154   SHIELA        BRANSON                     AR     90015221391
182B9665155987   BARBARA       LAMATTINA                   CA     90011936651
182B9758491523   MORENO        YMARIE                      TX     90008737584
182B9956157557   ANTHONY       ESPINOZA                    NM     90013949561
182BB1A2355976   ROSEMARIE     AVILA                       CA     49074201023
182BB625951337   ERIN          COOK                        OH     90001446259
1831284A85715B   MELANIE       KURTZ                       VA     90006578408
1831397A251337   MICHAEL       RIEGLER                     OH     66085209702
18313A41291523   JOHNNY        CAUNA                       TX     75072980412
18314476A81639   JUAN          LAINES                      MO     90013244760
1831449A672B62   DEMETRIA      ISAAC                       CO     33087344906
1831579525715B   CONSTANTINO   PALMA                       VA     90014167952
18315A51791523   MARIBEL       HERNANDEZ                   TX     90013090517
1831737AA2163B   EVELYNN       SOKOLOWSKI                  OH     90014463700
1831773774B588   RICHARD       CHESNEY                     OK     21558577377
1831792829373B   KENNETH       BROGAN                      OH     64578109282
183179A2331687   EDILIA        HOLGUIN                     KS     90008389023
18318143172B62   JUAN          FLORES-CORTES               CO     33087351431
1831839844B22B   GERARDO       FRANCO-GOMEZ                NE     27047703984
1831944469373B   LARON         ISREAL                      OH     90011274446
183198A815715B   AFERAME       MELAKU                      VA     90014168081
18319AA2355976   RACHEL        PENA                        CA     90004310023
1831B147781639   CODY          MIKE                        MO     29039891477
1831BAA2461958   JUAN          LEFERDE                     CA     90000230024
1832114829373B   RICK          HOPSON                      OH     64567051482
183213A1551355   JB            DAVIS                       OH     90007703015
1832338A891569   DANNY         GOMEZ                       TX     90014573808
1832445159373B   MATT          FRAZIER                     OH     90011274515
1832596315B154   MAYA          BROWN                       AR     90012749631
1832614934B26B   VLADIMIR      SOLODOVNIK                  NE     90012801493
18326A78251337   RYAN          CAMPBELL                    OH     66015110782
1832768548B193   PAULA         CORTES                      UT     90006146854
18327942A85966   JAMES         HARRISON                    KY     90015529420
18327A38351337   MARK          CRAWFORD                    OH     90000190383
1832827145413B   ANDRES        MOYA                        OR     90013892714
183285A6472B95   ANICETO       GARCIA RODRIGUEZ            CO     90008115064
18328AA4481639   MISS          DIVA                        MO     90003760044
18329357A85966   ELISHA        SHEPHERD                    KY     90014603570
1832B37422B236   KEONA         RICANEK                     DC     90009733742
1832BA2124B565   DENNESCIA     ROBINSON                    OK     90000710212
18331213A55976   GISELLE       MENDOZA                     CA     90001032130
1833172514B26B   JONATHAN      HORSE                       NE     90006557251
1833215347B463   MARCO         CABRERA                     NC     90002251534
1833291935715B   WALTER        RIVAS                       VA     90011269193
18332A5765715B   DAWIT         WOREDE                      VA     90013080576
18333762A97122   EUGENE        LEPAGE                      OR     90010257620
18334217172B62   JORGE         HERNANDES                   CO     33051212171
1833453A25B154   TROY          PARKER                      AR     90013835302
18334642436B72   VIDAL         FUENTES                     OR     90012056424
1833515957B463   SARAH         DIAL                        NC     90005331595
18335A9478438B   EDNA          RHODES                      SC     90006490947
18337157636B83   LISA          YOUNGSTROM                  OR     90006801576
18338393A4B26B   MONTEZ        CALHOUN                     NE     90013943930
1833878346197B   JOSE          DIMAS                       CA     90013387834
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1833888759373B   MIKE            SUMNER                    OH     64582718875
1833935114B26B   TAVISH          HANSEN                    NE     90010523511
1833969189373B   KYLE            SHEPHERD                  OH     90014706918
1833B34245715B   VICTOR          SCARINO                   VA     90010653424
1833B357991569   JESSICA         MONTANER                  TX     75028493579
1833B518751337   MICHAELLE       LAMB                      OH     66027695187
1833B7A9343524   AMBER           ADAMS                     UT     90002207093
183413A528438B   THERESA         GORDON                    SC     19072073052
1834155955B154   JOHN            WARD                      AR     90000665595
183422A244B26B   AMBER           DAVIS                     NE     90010702024
1834274977B489   STEPHEN         CARRIKER                  NC     90006077497
1834344265B526   TONYA           LEE                       NM     90014354426
1834344975B154   WILLIE          REYNOLDS                  AR     23053594497
18344217A8B172   TRACY           COPE                      UT     90012502170
1834526A855976   TOM             TAYLOR                    CA     90013082608
18346A99931687   ADRAINNA        MARTINEZ                  KS     22083010999
18346AA7691523   VALERIA         FLORES                    TX     90004910076
18347A35291523   FERNANDO        URRUTIA                   TX     75051290352
1834971349373B   LYNNSY          MORROW                    OH     90014707134
1834B354791523   LOURDES         ROBLES                    TX     75087493547
1835246934B26B   JENIFER         SAFLEY                    NE     26066934693
183524A8791578   FRANKIE         CENICEROS                 TX     90008504087
1835279795B154   OSKER           WILLIAMS                  AR     90005887979
1835336735B154   NAKIA           PATTERSON                 AR     90012443673
1835339372B264   ALVIN           VOWEL                     DC     90000873937
1835344145599B   BECKY           DUKE                      CA     90002714414
1835394729373B   MELANIE         MASSENGALE                OH     90005949472
183546A6791523   LUIS            SMITH                     TX     90013526067
1835678A25B154   CORINNA         WILLIAMS                  AR     23087667802
183569A495B526   MARIE           MARTINEZ                  NM     35038169049
18357A37A91569   LORENA          MARTINEZ                  TX     90003920370
1835835315B526   JANET           ESPINOZA                  NM     35064233531
18359A82251355   JAMES           SPAULDING                 OH     66082410822
1835B513491523   CECILIA         MARES                     TX     75086065134
1835B63579373B   ERIC            SURBER                    OH     90015136357
1835B92A35715B   JOSE            AGUILAR                   VA     90009959203
1835B932255976   NACY            BUCKHEISTER               CA     90012839322
1836142A381639   THOMAS          WILLIAMS                  MO     90014834203
183616A354B588   PHILLIS         COLE                      OK     21569416035
18361975885B29   DYSHAWN         FORBES                    FL     90015349758
1836242315B154   WHALYN          BELL                      AR     90014854231
1836262484B26B   LARESHIA        WEAVER                    NE     26009106248
183627A6181639   MARINA          PORTILLO                  KS     90013807061
18362A18A51359   CHRISTINA       WEISSMANN                 OH     90005980180
183632A853B393   RODRIGO         ESCUDERO                  CO     90010742085
1836341655715B   JOSE            CASTILLO                  VA     90011544165
1836346444B588   BRANDI          SMOTHERMAN                OK     21546114644
1836451955715B   JAIRO NAHAMAN   DIAZ                      VA     90009015195
18364942172B62   PACHECO         DALE                      CO     33017939421
1836535A851355   MARY            DEAN                      OH     66013083508
183656A9151359   JOHN            STEFFES                   OH     66010486091
1836619475B526   MARY            VALDEZ                    NM     35023261947
1836634A491523   AIDA            QUEZADA                   TX     90005553404
18366414A72B23   MARIA R         FLORES                    CO     33005194140
1836659739373B   LINDA G         HOWARD                    OH     90009475973
18368374A72B62   DANIEL          HERNANDEZ                 CO     90009123740
18368436A5B526   ANDREA          FELIX                     NM     90000724360
1836857AA51337   CARRIE          NEFF                      OH     90013835700
183686A289373B   LANAY           MERCER                    OH     90014716028
1836951825B154   MABLE           TENNER                    AR     90014665182
1836B15764B26B   LORI            BUSSING                   NE     90001691576
1836B479655976   ISHIA           GARZA                     CA     90008924796
1836B492661958   DAWN            TAYLOR                    CA     90010004926
1836B58544B588   VIKKI           POINTER                   OK     21594435854
1837111622B839   MOUSSA          FANGAMOU                  ID     90010961162
1837192775B526   ANTHONY         MARTINEZ                  NM     35067709277
1837226A78B365   MARTHA          WILLIAMS                  SC     90015042607
1837239A957147   DAVID           SOLITO                    VA     90014203909
1837281A35B526   RAFAEL          GONZALEZ                  NM     90001728103
1837379199373B   JASON           MEADOWS                   OH     90014687919
1837387A891569   CLAUDIA         SEGOVIA                   TX     90011988708
18373A63781639   CHRISTINE       MIRANDA                   MO     90013490637
1837459738438B   BRITTANY        MCDOWELL                  SC     90010175973
1837578418B194   FERNANDA        PHILLIPS                  UT     31005587841
18375A86381639   ELMO            THUMPER                   MO     90011530863
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18376151272B62   STEPHANIE    MELINA                       CO     90015151512
1837655754B26B   ANDREA       NISSEN                       NE     90001565575
18377985A85966   PHILLIP      CUERTIS                      KY     90014029850
18378268A55976   SANTIAGO     PICHARDO                     CA     90013062680
183785A544B26B   IAN          PRO                          NE     90014755054
18378655772B42   SHERRY       DENHAM                       CO     90010436557
1837954A591523   ADRIANA      REEDER                       TX     90009645405
18379973672B62   JOE          LUCERO III                   CO     90007909736
1837B162A51337   VINICIO      VASQUEZ                      OH     90014411620
1837B48195B154   BEN          CASEY                        AR     23014494819
1837B668861938   DONNIE       FULTS                        CA     90011916688
1837B7A2151599   PATRICK      AKRONG                       IA     90014777021
1837B951131687   JESSICA      ROSE                         KS     90015089511
1837B983157147   MARIA        AGUILAR PEREZ                VA     90011649831
18381754A55976   ANGEL        GARCIA                       CA     90015477540
18381A28461958   REBECCA      GUTIERREZ                    CA     46089430284
18382A5253B388   ROBERT       MARTINEZ                     CO     90010540525
183839A244782B   FRANCES      LITTLE                       GA     14032489024
18384322A51337   ROBERT       WHITT                        OH     66074353220
1838488395715B   ANGELA       WILLIS                       VA     81056428839
18384AA1551355   HAROLD       WHITE                        OH     90015210015
1838529665715B   FROILAN      SEJAS                        VA     90014182966
1838569195715B   RAHASSAN     STOKES                       VA     90004576919
1838583959373B   JEFF         KERR                         OH     90014708395
1838623A691569   LUIS         CAMPOS                       TX     90014742306
18386A1265B526   PAUL         LARSON                       NM     90010270126
1838778824B26B   KELLEY       BOWER                        NE     26091467882
183879A388438B   LATONYA      WOODBERRY                    SC     90003689038
183887A1151359   CHRISTINA    ELAM                         OH     66024727011
18388A28781639   SEMAHJ       WARE                         MO     29096610287
1838918929377B   MARK         HANDRSON                     OH     90009881892
1838B13A44B588   ROBIN        ATKINSON                     OK     90012711304
1838B344857147   YOLANDA      MALDONADO                    VA     90002393448
18392198A51355   RICK         SOUDER                       OH     90008811980
183923A184B588   LAURA        DRYDEN                       OK     90014263018
1839244A957147   NINOOSH      SALE                         VA     90013714409
183929A194B588   ROSEMARY     VERITY                       OK     90007749019
18393336A5B526   MONICA       RUBIO                        NM     35007443360
18393534772B84   JANE         OLSEN                        CO     90007605347
1839411234B26B   JOHN         DOMANT                       NE     90010081123
183946A747328B   LEONARDO     GONZALEZ                     NJ     90014996074
18395631172B62   DUSTIN       MONTOYA                      CO     90011016311
1839578642B242   ADRIAN       HOLLY                        DC     90011587864
1839595395B154   RUBY         SCOTT                        AR     90012989539
18395A25833B28   MARY         JOHNSON                      OH     90014570258
18396149672B62   LORETTA      RAMIREZ                      CO     90010151496
1839636344B26B   BRENDA       PRICE                        NE     26092773634
183963A2172B62   YOLANDA      ROMERO                       CO     90003253021
1839771A991523   MOSE         SEVAAETASI                   TX     75004957109
18397A12591569   GILBERT      MUNOZ                        TX     75096130125
18398617A5B154   DEBORAH      GOODWIN                      AR     23070016170
18398979772B62   ROBERT       MONTOYA                      CO     33005659797
18398A14981639   NATE         BOTLEY                       MO     29037160149
1839951AA51355   PHILLIP      BAILEY                       OH     90012945100
18399A54164135   BRANDON      BECKER                       IA     90014350541
1839B97279377B   ELEINA       BROWN                        OH     90009879727
183B239969373B   TERESA       FOUNTAIN                     OH     90003093996
183B2791361958   NIKKI        GERLITS                      CA     90013637913
183B2A87961958   NIKKI        GERLITS                      CA     90012420879
183B3793872B62   DEMARIO      WILLIAMS                     CO     90013787938
183B41A3A61958   HECTOR       LOYD                         CA     90013121030
183B445176197B   CANDACE      VIANNA                       CA     90007684517
183B44A2A5B526   PROCOPIO     GONZALES                     NM     90007454020
183B45A819377B   JALYNN       GILLIS                       OH     90011765081
183B476A95715B   ELENA        ROMERO                       VA     90009517609
183B531175B526   CASSEY       OLIVER                       NM     90013213117
183B6912157147   PAULA        TAMBA                        VA     90010539121
183B725A161938   ALE          CHAVOLLA                     CA     90010922501
183B7456855976   ALEX         RODRIGUEZ                    CA     90015174568
183B7696161958   ELLEN        MURPHY                       CA     46063346961
183B8392257147   ALFREDO      RONQUILLO                    VA     90011783922
183B938A331687   SHERA        KIRKLAND                     KS     90011013803
183B9663851359   LATOYA       TURNER                       OH     90012516638
183B97A1291523   MARTIN       URENO                        TX     90013857012
183B9A6145B526   PAUL         BACA                         NM     90005990614
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183BB618351355   JESSICA       FELLABAUM                   OH     90013026183
183BB83314B26B   JESSICA       ROSE                        NE     90005448331
18411486A61938   ARTURO        TORRES                      CA     90015124860
1841256A861958   JOSEFINA      HERNANDEZ                   CA     46031455608
184135A8355976   JOSE          MARTINEZ                    CA     90001305083
18414A17824B55   KALISHA       BOWMAN                      DC     81014120178
18416353872B62   NATHANIEL     MARTIN                      CO     90010013538
1841948357B489   LAUREL        DAVIS                       NC     11006434835
184195A2161958   FRANCISCO     RANGEL                      CA     46042755021
1841B58235B387   STEPHANIE     ZAPATA                      OR     90010815823
1841B6A8924B55   DEVALE        AVERY                       DC     90013946089
1841B751591569   MARISOL       CASTANEDA                   TX     90002287515
1841B977455976   ANTONIO       QUINTERO                    CA     90012779774
1842113A65B154   JEANIA        ARMSTRONG                   AR     90013651306
1842261648B169   LINDA         MCKENZIE                    UT     31061426164
1842279989373B   JAMES         NARTKER                     OH     90002097998
18422A87981639   MARIA         BELTRAN LIMONES             MO     90013450879
1842371545B154   CAMILLE       TALBERT                     AR     90014487154
1842496714B588   JANAE         BANTON                      OK     90014759671
18425278472B62   BRENDA        QUINONEZ                    CO     33010882784
1842568315B526   LORRIE        MARTINDALE                  NM     35004926831
18425A3615B154   BOBBIE        CARRANZA                    AR     23057860361
1842615714B588   RUBEN         ESPINOZA                    OK     90004761571
1842622465B526   ESMERALDA     ANCHONDO                    NM     90013952246
18426557872B62   ROSALYN       DAVIS                       CO     90014585578
18426918A4782B   BRITTANY      DAVIDSON                    GA     90006479180
184272A3791523   MANUEL        HERNANDEZ                   TX     90008832037
18428348372B62   AMANDA        WITT                        CO     33029093483
18428665A81639   JOANNA        HOPKINS                     MO     90013226650
1842957A25715B   FAUSTINO      PENA                        VA     90012505702
1842B61629373B   ANTOINE       ELLIOTT                     OH     90011236162
1842B819391569   ELSA          CALDERON                    TX     90012908193
1843164A531687   DUSTIN        NEAL                        KS     90012826405
18432A5A65715B   JOSE          ORLANDO ALVAREZ             VA     90012770506
1843364834B26B   CHADD         COFFIN                      NE     90009946483
18433875A55976   GODOFREDO     AGUILAR                     CA     90001218750
1843412272B837   NIDIA         VALENZUELA                  ID     90012671227
1843476135715B   KOFI          YEBOAH                      VA     81085587613
184355A984B588   ERIKA         HERNANDEZ                   OK     90004435098
1843562A351355   REBECCAH      BURTIS                      OH     90012746203
1843568975715B   ALBINO        MARROQUIN                   VA     81037616897
1843644265715B   EDUARDO       PEREDO                      VA     90011544426
1843735685B154   SHERMAN       WINN                        AR     90013193568
1843756724B26B   FERNANDO      CARRILLO                    NE     90014035672
1843814965B526   ALISHA        LAY                         NM     90014021496
1843816A457147   CATHY         DRIVER                      VA     90011811604
18438477336B83   JORDAN        SEGUNDO                     OR     90006524773
18439179672B62   MARK          ESPO                        CO     33062971796
1843961649373B   TIMOTHY       BARKER                      OH     90014596164
1843977A78438B   NICOLE        HERMANN                     SC     90011487707
1843B529457147   LUIS          MARQUEZ                     VA     90013275294
1844121755B154   CARNELL       MORRIS                      AR     90013602175
1844259A34B26B   SALWA         AHMED                       NE     90008665903
184427A1991523   ARMIDA        MARTINEZ                    TX     75039027019
1844399324B588   BRITTNEY      FRAZIER                     OK     90012369932
18444259A5715B   MARCUS        LAWRENCE                    VA     90006902590
184442A5191895   DAWNA         DUTCHY                      OK     21044042051
184447A375B526   MARIE         SHAKRA                      NM     90011057037
18445387A61958   NININAHAZWE   AIMABLE                     CA     90014413870
1844598917B443   TIANA         OCASEIE                     NC     90010869891
184459A1A91523   DAVID         ROBLES                      TX     90013099010
18446A55831962   PAYGO         IVR ACTIVATION              IA     90012800558
1844726714B588   GLENDA        MCGUIRE                     OK     90008682671
184474A5871964   CARMEN        MARQUEZ                     CO     90001324058
18449294A91263   LESLIE        LOWMAN                      GA     90006672940
1844953595715B   GUMERCINDO    BARRERA                     VA     81026695359
1844963249373B   DESSURAE      MADISON                     OH     90014716324
1844985A14B26B   ASHLEY        BEARCE                      NE     90009128501
1844B44637B489   TAMARA        GORDON-WARD                 NC     11082114463
1844B54995715B   COYOU         JULIO                       VA     90013365499
1844B972951359   TIA           BECK                        OH     90003439729
18451A6477B634   KRISTEN       MCBRIDE                     GA     90011120647
18452619772B62   HIPOLITO      VAZQUEZ                     CO     33013486197
18452A44224B82   KEVIN         FARMER                      DC     90007670442
184534A8754173   STEPHANIE     COX                         OR     90012734087
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18453745772B62   GRIGGS       MARIAH                       CO     90009997457
18454A37172B62   KRYSTLE      BADGETT                      CO     90013210371
1845532764B588   PAYGO        IVR ACTIVATION               OK     90015033276
1845538848438B   SHERRY       GORE                         SC     90012233884
18455397172B62   FELIPE       MEZA-LOPEZ                   CO     33092783971
1845562A851355   SHEILA       HAYES                        OH     90015146208
18455A92581639   CONOR        MCGADEY                      MO     90011530925
1845622555715B   EDWIN        DELGADO                      VA     90002302255
1845657A891523   JOSEFINA     VARGAS                       TX     90005185708
18456648A64135   THAR         WAH                          IA     90014576480
1845687485752B   MARISELA     RODRIGUEZ                    NM     90009468748
18456A81151337   ETA          PANDITA                      OH     66016230811
1845964AA61938   RITCHIE      LAMPEAR                      CA     90014516400
1845991135B154   NESTOR       VILLEDA                      AR     90014249113
1845993755715B   ALI          ADAN                         VA     81090529375
1845B182893725   STEPHANIE    FUGATE                       OH     64589331828
1845B869A51337   SAMANTHA     TRAINOR                      OH     66042738690
1846137645715B   NANEY        ARMESTA                      VA     90014183764
18461A88A51359   SANTIAGO     CHAVEZ                       KY     90014030880
1846353314B588   BRANDON      DANNA                        OK     90013755331
18467793872B62   DEMARIO      WILLIAMS                     CO     90013787938
1846837685715B   GLADIS       MEJIA                        VA     90014183768
184684A7851337   TRAVIS       BLANK                        OH     90008184078
1846894174B588   NAOMI        JHNSON                       OK     90011009417
184691A174B588   TERY         MACK                         OK     90013391017
18469943A8B139   CODY         TRACY                        UT     90008749430
1846B163291569   NORMA        CISNEROS                     TX     90010621632
1846B446551337   BRYAN        KRODEL                       OH     90013854465
1846B748361938   MELVA        DUQUE                        CA     90004867483
1847292A151359   MARIAH       SULLIVAN                     OH     90011889201
18472943A85966   ALYCA        CHENAULT                     KY     67050869430
18473583A5B526   VONN         KERNS                        NM     90015155830
1847374459373B   SMITH        ANGEL                        OH     90011307445
18475943A85966   ALYCA        CHENAULT                     KY     67050869430
1847612754B588   APRIL        MOORE                        OK     90010981275
1847643A97B489   JUAN         CORREA                       NC     11016144309
1847744A45B526   ADELINE      KISANGA                      NM     90003104404
18477662A61958   RITA         MUNOZ                        CA     90010016620
1847786415B155   BRENDA       NASH                         AR     90013878641
1847791317B443   EDWARD       WRIGHT                       NC     90008519131
1847864997B422   CURTIS       WILLIAMS                     NC     90009666499
1847891317B443   EDWARD       WRIGHT                       NC     90008519131
18479979A61938   MARIA        WAZIR                        CA     90014929790
1847B39A94B588   ANGELA       CARPENTER                    OK     90012643909
1847B98955B526   MAGDALENA    MARISCAL                     NM     90007319895
1847BA24172B62   JOYOUS       NEWBY                        CO     90014850241
1848171119373B   SHEILA       HOWARD                       OH     90014717111
1848175A571932   JOANNE       LLAMAS                       CO     32062867505
18482784A91569   DANIEL       TORRES                       TX     90001967840
1848351A59373B   NAKIRA       CLOUSE                       OH     90014435105
18483588A91569   JOSE         RAMIREZ                      TX     75049695880
18484869924B7B   RENOARD      MOORE                        VA     90000618699
1848493114B267   REBECCA      GINTONIO                     NE     90013789311
18485711672B3B   HECTOR       CORONADO                     CO     90012547116
1848596615B275   TICONDA      SMITH                        KY     90013149661
184859A6891895   LATOSHIA     KELLEY                       OK     90002869068
1848625228438B   MARIE        BALTEROCRUZ                  SC     19074232522
1848673934B588   BEAU         RIVERS                       OK     90009397393
18486813A64135   HECTOR       MIRANDA                      IA     90015188130
1848682514B26B   ESWIN        PEREZ                        NE     26062788251
1848746245B526   GLADYS       CHACON                       NM     90003734624
18487975A9373B   ANTHONY      MAXWELL                      OH     90011049750
1848859479373B   JUSTIN       HOWARD                       OH     90005155947
1848868114B26B   ANDREW       BOSWELL                      NE     90013686811
18488A92481639   BOB          BOB                          MO     90013290924
18489AA4361976   SAMANTHA     ESTRADA                      CA     90006510043
1848B161A5B154   MARIA        GUTIERREZ                    AR     90003791610
1848B22AA81639   JAMES        SCOTT                        MO     90012772200
1848B699561976   YAMILEETH    VARGAS                       CA     46003486995
1848BA6935715B   SANDRA       TORRES                       VA     81026730693
1849162275715B   KWASI        SPEEDE                       VA     90015136227
1849233125B526   JASON        BROUSSEAU                    NM     35093413312
1849461A491569   CHRISTINA    MOSANKY                      TX     90006426104
1849495A39373B   HOPE         VAUGHAN                      OH     64540369503
18494A1265B526   PAUL         LARSON                       NM     90010270126
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18494A3625B129   HARRISON       GRAVELY                    AR     23009910362
18495985A57147   MARCO          DELGADO                    VA     90013129850
18496557972B64   LORI           MILLS                      CO     33012355579
1849663354B588   JERRY          POWELL                     OK     90009366335
1849956224782B   JARICA         STUBBS                     GA     14098415622
1849B157981639   LORI           LAWRENCE                   MO     90006991579
1849B3A6755976   BOWERS         VICTORIA ROSEMARIE         CA     90005443067
1849B744861958   MARCHE         WILLIS                     CA     90011467448
184B122989373B   DAWANN         HARRIS                     OH     90009712298
184B136385B129   JEREMY         MARTIN                     AR     90005453638
184B231234B26B   STEPHANIE      ROBERTUS                   NE     90015173123
184B2A3254B588   KYTIERRA       GREEN                      OK     90010530325
184B3177372B35   MAURINE        ROBNETT                    CO     33087971773
184B374565715B   KATHRYN        NAEL                       VA     81021817456
184B395A585966   DAVID          PITMAN                     KY     90010669505
184B42A8A4B588   CRYSTAL        CANALEJO                   OK     90014662080
184B434A161976   SOPHIA         NAVA                       CA     90006513401
184B4527281639   MICHELLE       RUTH                       MO     90014415272
184B4989191523   ELIZABETH      DEL TORO                   TX     75009769891
184B5416277343   LOURDES        CARRILLO                   KY     90009744162
184B5A62372B62   EDGAR          HERNANDEZ                  CO     90013370623
184B6797885966   AMY            CLARCK                     KY     90010497978
184B718245715B   CARLOS         GUZMAN                     VA     90007481824
184B7538631687   RITA           HARTFIELD                  KS     90004055386
184B7689172B62   RON            ASHTON                     CO     33004766891
184B78A785B526   VALERIE        MARTINEZ                   NM     90010498078
184B8328772B58   CRISTINA       RODRIGUEZ                  CO     33065903287
184B846545183B   CHANTELLEIGH   GRAM                       NY     90014944654
184B9999372B62   LETITIA        COLLINS                    CO     90010619993
184BB278761958   EDITH          AVALOS                     CA     90015162787
184BB314581639   DONAVAN        DAUKEI                     MO     90012853145
184BB47514B588   CHRIS          HELLA                      OK     90015304751
184BB53A19373B   JAMES          TIMS                       OH     64501355301
1851223973B388   HAMMOND        MICHAEL                    CO     33086282397
1851365A33B398   JANA           SCHLOGEL                   CO     90012496503
1851375A161976   RODGER         SHORTHILL                  CA     90006527501
18513A82685966   FRANK          BOATTY                     KY     90003050826
1851419379373B   RIGO           BENEURA                    OH     90011481937
185144A545B526   IRENE          SAENZ                      NM     90008294054
1851516685B526   ALICIA         GARCIA                     NM     90012321668
18516235A91523   MARIA          CARRERA                    TX     75059302350
18516268A91346   PRIMITIVO      CRUZ                       KS     90015072680
1851657825B526   JILLIAN        ROARK                      NM     35077895782
185181A9651359   SOLOMON        FANTAYE                    OH     90006231096
18518755736B83   WILLIAM        GONZALES                   OR     90009467557
185198A7791263   LETIZIA        MCCOY                      GA     90014018077
1851B927791523   VERONICA       SANCHEZ                    TX     90013099277
1852225958B863   FRANCIS        GILTAMAG                   HI     90011542595
18522793872B62   DEMARIO        WILLIAMS                   CO     90013787938
185227A3561958   MARCOS         FLORES                     CA     90012707035
18523196472B64   ABRAHAM        SUAREZ                     CO     33004581964
1852337952B235   ROSITA         BARNHARDT                  DC     81014853795
185236A125B154   JAMES          GARZA                      AR     90014886012
1852426338438B   BARBARA        MOUTRIE                    SC     90007012633
1852537517B459   AHMED          ALY                        NC     90012213751
185271A244B26B   DAWN           BABCOOK                    NE     26090371024
185271A4A5B154   PAYGO          IVR ACTIVATION             AR     90010431040
18527718172B29   HEIDI          HEATH                      CO     90006087181
1852835A961958   DEAN           KNIGHT                     CA     90012963509
1852871745752B   MONICA         DOMINGUEZ                  NM     90006487174
18528A3874B26B   ASHLEY         BEETEM                     NE     90013690387
1852924A131687   BRIANDA        CEDILLO                    KS     90013932401
1852B277161958   GLORIA         NAVA                       CA     46018962771
1852B32A451355   CHRISTOPHER    TODD                       OH     90012343204
1852B34889373B   CHAD           JOHNSON                    OH     90005113488
1852B43564B26B   LEAH           CLARK                      NE     90013954356
1852B47665B526   ELSA           MENDEZ                     NM     35043654766
1852B7A2964135   BRANDON        BECKER                     IA     90009257029
1852B822891523   MARICELA       GARCIA                     TX     75084458228
1853121834B588   LUCAS          MCCRACKEN                  OK     21584152183
1853122AA81639   JAMES          SCOTT                      MO     90012772200
1853129685B526   ANTONIO        TOVAR CORONADO             NM     90013952968
1853182514B26B   ESWIN          PEREZ                      NE     26062788251
1853199A657199   LORENA         SANCHEZ                    VA     90010209906
18531A3975715B   VICTORIA       BATISTA                    VA     81075080397
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18531A57251359   JORGE          BECKLES                    OH     66072380572
185325A539373B   DARLENE        NASH                       OH     64532835053
1853272654B588   JOSEPH         BEVEL                      OK     90005437265
1853479975715B   JUAN           YARLEQUE                   VA     90013857997
1853484A39373B   ALONDA         SHEFFIELD                  OH     90014718403
18534A1365715B   JUAN           YARLEQUE                   VA     90012780136
185352A4A72B62   MONICA         CLINTON                    CO     90010112040
185356A8161958   BRIAN          PHILLIPS II                CA     46026436081
1853592A991526   LUPE           RIVERA                     TX     75089189209
1853615A571933   DOUGLAS        LUNA                       CO     90011281505
18536A4A15B526   ELAINE         MEDINA                     NM     35053940401
1853828A351355   ADRISSA        BURKS                      OH     90011002803
1853924565B247   KASEY          LEANHART                   KY     90012292456
1853995164782B   ALISIA         WILLIAMS                   GA     90007139516
1853B849593725   WILLIAM M      KEENE                      OH     90003068495
1854314A64B55B   CHRISTY        TUBBS                      OK     90011741406
1854332915B526   JOSE           PADILLA                    NM     90009623291
18544289A47956   JOSE LUIS      MARTINEZ                   AR     24096342890
18546619572B62   PAOLA          RESENDIZ                   CO     90000396195
18546851376B52   LILIANA        DOMINQUEZ                  CA     90003838513
18547953A61958   ASHLY          MUNDO                      CA     90003959530
1854819A451337   TANIA          HARMON                     OH     66004831904
185487AA82B899   CHERI          PERATA                     ID     90002837008
18549499197B3B   ASHLEY         VIGIL                      CO     90013674991
1854967899377B   MICHEL         BROWN                      OH     90009836789
1854B83259373B   CORNICIA       HARVEY                     OH     90012718325
185517AA951337   ASHLEIGH       SAUER                      OH     66005357009
18551A6575715B   FERNANDO       FERNADES                   VA     90012950657
1855228324B588   DANIEL         JOB                        OK     90011082832
18554A8795B526   EDGAR          TREJO-GUEVARA              NM     35001780879
18555374972B26   JACQUELINE     AVALOS                     CO     90013133749
18555657A5715B   JOSE ANTONIO   HERNANDEZ MONTANA          DC     90014186570
1855647A985966   KIMBERLY       MOORE                      KY     67098174709
1855687225715B   ANA            ALVAREZ                    DC     90005298722
18558A28A61976   XAVIER         ALEMAN                     CA     90006530280
18558A8594B588   ALFREDO        AGUILAR                    OK     90002140859
18558A88651359   TROY           EASTIN                     OH     90014650886
1855B342272B62   PHILIP         CORDOVA                    CO     90009583422
1855B484161958   CANONICO       YVONNE                     CA     46050894841
1855B578591569   JUAN           RODRIGUEZ                  TX     75050975785
1855B979361976   EVANGELINA     SHIPOSKI                   CA     90006529793
1855BA34481639   OMAR           NAZHAT                     MO     29025510344
1856118557B489   YOLANDO        MITCHELL                   NC     11085421855
1856163118B167   KIMBERLEE      LEWIS                      UT     90004326311
1856277915715B   DONNA          MYRICK                     VA     81027117791
18562A59A5B526   MARIBEL        MARTINEZ                   NM     35074370590
1856351175B526   REY            BIGIL                      NM     90002185117
1856431A472B62   DAN            MILLER                     CO     90005303104
185643A8381639   DEMONICA       PEARSON                    MO     90009303083
185644A1951355   ULISES         MARTINEZ                   OH     90002554019
185644A4261938   KATRINA        BABTISE                    CA     46057884042
1856558794B543   ADAM           CRAWFORD                   OK     90008375879
1856579324B26B   ANGELYNE       MUTCHLER                   NE     90005377932
1856614564B26B   JOSE           TADEO                      NE     26062131456
1856622845715B   LUIS           CALDERON                   VA     90012802284
1856661A555976   BEN            STIERS                     CA     90012236105
1856763545B526   CARLOS         SANCHEZ                    NM     90013966354
1856876277B489   JOHN           BROWN                      NC     11051437627
18568A52331687   MARTIN         ORNELAS                    KS     90007960523
1856919A591523   JESUS          ARZOLA                     TX     90005421905
1856983527B489   MARIE          GREGORY                    NC     11017338352
18569A5A191895   RANDY          VILLALOBOS                 OK     21052630501
1856B115A51355   AARON          MCKENZIE                   OH     66034381150
185723A8851337   REBECCA        NICHOLS                    OH     90010903088
18572719A5715B   CARLOS         ERCILLA                    VA     90014187190
18572AA193B368   DEO            SARNELLA                   CO     33005880019
18573881A7B489   DIONNE         MC CAIN                    NC     11056808810
1857426224782B   MARQUIS        SIMMOMS                    GA     90011272622
18574476A91569   MAYRA          LIRA                       TX     75001804760
185745A1761938   WENDY          RUELAS                     CA     90013045017
18574A37985966   TERRY          OLSON                      KY     90001340379
1857664635B526   ROLAND         SMITH                      NM     35027486463
1857688924B26B   COURTNEY       THOMPSON                   NE     90008188892
1857721A35B247   OSVALDO        ARIAS-CAUTADO              KY     68006982103
1857726A591523   SILVIA         ATILANO                    TX     75085212605
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1857791875715B   YEANETTE E          MANZANARES            VA     90009169187
18577A46472B23   MAREARITA           M HERNANDEZ           CO     90004000464
18578299A91263   JOHN                CREDEUR               GA     90004692990
18579AA229373B   TIA                 TURNER                OH     90014730022
1857B175591569   SARAH               MARTINEZ              TX     90010121755
1857B42335B526   AURO                MUNOZ                 NM     90005854233
1857B537655976   ROSE                MIXON                 CA     49048165376
1857B81A151359   LINELL              GREENE                OH     66028618101
1858114A572B62   BERTHA              ARELLANO              CO     90014321405
1858143A891523   SULEMA              BUENO                 TX     90015184308
1858162834B26B   BRANDEE             MCCULLOUGH            NE     26093326283
18581A41272B62   MARIA               GONZALES              CO     90012920412
1858345525715B   PHILIP              FAYIAH                VA     81014484552
18585424A4B26B   VICTORIA            ILIC                  NE     90012354240
1858571824B588   DARLISHA            WARE                  OK     90011517182
1858636925715B   MARVIN              RAMOS                 VA     90011283692
185864A175B154   KEVIN               BOWMAN                AR     90014844017
185866A3651337   CLEMENTINO          LORENZO               OH     66014686036
18586A29357147   EDILBERTO           MORENO                VA     90007900293
18586A42355942   JULIO               CARVAJAL              CA     90008940423
185873A7431687   CHARLOTTE           HOPE                  KS     90003023074
18587A7A65715B   SANTO               CHAVEZ                VA     90007160706
185881A2A5715B   SILVIA              RODAS GALINDO         VA     90012941020
1858826175B285   TASHA               EFAW                  KY     90000762617
18588497A4B588   ANTONIO             TZAJ                  OK     90010144970
185888A8761958   FERNANDO NAPALANT   FRANCISCO             CA     90013198087
1858954265B129   LADARA              WILLAMS               AR     90011085426
1858B196472B62   DYAN                DENTON                CO     90012721964
1858B49A757562   ANGELICA            LERMA                 NM     35576264907
1858B58755715B   TONY                KIDD                  VA     81088145875
1858B624A61958   ANDY                PADILLA               CA     90012146240
1858B967691569   KRISTAL             HERNANDEZ             TX     90012119676
1859158A14782B   AARON               WRAY                  GA     14005975801
1859162375715B   WAYNE               SIMPSON               VA     81079936237
1859177244782B   AARON               WRAY                  GA     90014057724
18591A11391523   MAYRA               SOLIS                 TX     90013100113
185922A4751337   CHARLES             MARSHALL              OH     90008942047
18592439A51359   TIANNA              HONAKER               OH     90011224390
1859272A972B62   WHITNEY             HORTON                CO     33087557209
1859394294B588   ELISHA              FINCH                 OK     90011849429
18595483772B62   MATASHA             LAZZU                 CO     90012714837
185963A145B288   VICTOR              KUSTES                KY     90012473014
18596778A55976   JEANETTE            BEDWELL               CA     90010277780
1859744155715B   JUAREZ              LESTER                VA     90011284415
18597592A91569   VICTORIA            MARTINEZ              TX     90007795920
1859887955B526   YESENIA             REYES-VALDEZ          NM     90011398795
18599649824B55   ALONZO              CAMPBELL              DC     90012846498
1859B6A7531426   BETTY               WHITE                 MO     90001496075
1859B8A735B526   GONZALES            DENISE                NM     35011548073
185B1611361976   MOHAMMED            BASHIER               CA     90006526113
185B173224B26B   KEVIN               LEWIS                 NE     90008937322
185B192194B588   HANNAH              WRIGHT                OK     90014189219
185B238A25715B   MILTON              CASTELLON             VA     81097323802
185B26A2281639   CRYSTAL             CLARK                 MO     90011266022
185B271A855976   TIMOTHY             WALKER                CA     90013037108
185B347595B32B   JEFFREY             WANEK                 OR     90008874759
185B364659373B   JAMIE               BUSSARD               OH     90011116465
185B376765B526   MANUEL              NIETO                 NM     90009857676
185B4255791523   JOSE                AVILA                 TX     90002662557
185B4442961976   CHERYL              HART                  CA     90008004429
185B448A691569   RAFAEL              RAMIREZ               TX     90011404806
185B51A964B544   AUTUMN              MIST                  OK     90011411096
185B565A74B26B   JOSHUA              LUNDE                 NE     90014036507
185B5683A61976   BOYON               BUTLER                CA     90006526830
185B6466291523   JOSE                BRIONES               TX     90013344662
185B6483A43524   TAHNEEE             HOOLEY                UT     90009274830
185B6816A55976   JULIO               BARAJAS               CA     90006148160
185B6A89A4B588   RIKKI               DETWILER              OK     90004000890
185B728289373B   MERELEENE           RIGGS                 OH     64521422828
185B835A351359   LAVONDA             MOORE                 OH     90002103503
185B866A65B154   SALONE              HARPER                AR     90014936606
185B929A257147   LILIA               SOLIS                 VA     90013522902
185B9466391569   FELIPE              DE LOS RIOS           TX     90012024663
185B957358B163   JOSH                MORGAN                UT     90008285735
185B98AA35715B   SAIN                SENG                  VA     90011658003
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185B99A6191523   CARLOS       MOLINAR                      TX     75008799061
18611A75551355   ILLYA        IBBOTT                       OH     90012890755
18611A9659373B   JOCELYN      OKOYE                        OH     90014720965
1861232A95B384   RANDALL      DAHL                         OR     90012663209
1861282545715B   SAMSON       LYNCH                        DC     90014858254
18613655A27B36   SARAH        HYMEL                        KY     90015126550
1861467155752B   RAMON        GONZALEZ                     NM     90009766715
186149A8161938   GILBERTO     DAMIAN                       CA     46090519081
18614A25391569   ANTHONY      VENZOR                       TX     90014080253
1861542465B129   ISAIAH       WALKER                       AR     90005474246
18615427972B62   RIGOBERTO    CAMACHO                      CO     90011114279
18615842972B37   JOE          GARCIA                       CO     33006738429
186162A1433634   ERIC         CHANDLER                     NC     90012732014
1861664A848475   KATE         SULLIVAN                     PA     90012466408
186166A8A5715B   DANNIEL      BROAD                        DC     90010126080
1861673915715B   MARIO        GONGORA                      VA     81096307391
1861693972B259   MARY         MEASE                        DC     90010899397
1861746759373B   ERIC         FLANAGAN                     OH     64504154675
1861762473B398   ALRED        NIXON                        CO     90004106247
1861822AA81639   JAMES        SCOTT                        MO     90012772200
18618479272B62   BEGNER       HERNANDEZ                    CO     90014814792
18619219A91569   LUIS         RAMIREZ                      TX     90000142190
1861989185B154   NARKISHA     SCOTT                        AR     90013958918
1861B116A72B62   SOTELO       ELVIRA                       CO     33033231160
1861B525385966   DANNY        MARCUM                       KY     90011615253
1861B6A9731687   ROBERT       STRUNK                       KS     90009046097
1861B92A681639   BARBARA      PRUITT                       MO     29018329206
1861BA39955976   CANDACE      POINTKOWSKI                  CA     90005540399
18621693A51355   MIRANDA      PERRY                        OH     90013636930
1862179817B463   MIKE         DUNLAP                       SC     90011007981
1862321285593B   AGUSTINE     CORDOVA                      CA     90013392128
18623359A42579   BETO         CASTILLO                     WA     90015453590
1862358635B526   FRANCISCO    GARCIA                       NM     90001245863
186236A4161958   SUZE         LALANNE                      CA     90012706041
18623895972B37   NORA         SALAS                        CO     90000888959
1862431939373B   MARC         YANCEY                       OH     64591283193
1862449A64B26B   HIJAZI       LEWIS                        NE     26092074906
1862493585B37B   SELAMAWIT    ASMELASH                     OR     90007819358
1862638115715B   HERMELINDA   CARMONA RAMIREZ              VA     90012173811
18626A9735B154   CASSANDRA    BOOKER                       AR     90007380973
18628673172B62   CANDACE      PATTERSON                    CO     90011016731
1862921A131465   ROGER        HILL                         MO     90007622101
1862972924782B   ZACCHEUS     HOLSTON                      GA     90003257292
1862B43945715B   JORGE        MINDREAU                     VA     90010024394
1862B445472496   BERNICE      GROSSER                      PA     90010984454
1862B794491885   ASHER        EDWIN                        OK     90004637944
1862B937484327   SHIREE       MIDDLETON                    SC     90007929374
1863255A772B89   CRYSTAL      WALKER                       CO     90013325507
186349A2191569   BEATRICE     CARILLO                      TX     75008529021
18634A43131687   ROBERT       VANT LEVEN                   KS     22038510431
18635443524B42   KENNETH      AYERS                        VA     90009894435
186354A424B588   SANTOS       GUTERIEZ                     OK     90013224042
1863556385B526   ANTHONY      SPENCE                       NM     35082215638
1863556685B154   NIKKI        WALTON                       AR     90003895668
18635A49A91523   LAURA        VELA                         TX     90013100490
1863631215B264   GABRIEL      PARTLOW                      KY     90012283121
1863631515B526   ROLAND       TEICHELMANN JR               NM     35000883151
18636A47881639   COREY        KIMBROUGH                    MO     29065530478
18636A84472B62   SOCORO       HERNANDEZ                    CO     33001160844
1863724644B588   ANGELA       GREENE                       OK     90015022464
18637521172B62   ROBERTO      NIEVES                       CO     33037555211
1863766263B352   ANEL         VASQUEZ                      CO     90004936626
1863816A681639   JASON        ROHR                         MO     90014901606
18638438A61938   SIRA         CRUZ                         CA     90005884380
1863848677B489   JEFF         MCMURRAY                     NC     11039614867
1863B973851355   BACILIO      ESQUIVEL                     OH     90000879738
1863BA32251359   MICHAEL      SMITH                        OH     90014690322
1864143A991523   MARIA        LIRA                         TX     90009534309
18641549572B62   CHAMENG      LEE                          CO     33061845495
1864159495715B   KELLY        MAGUIRE                      VA     90014245949
1864175515B154   ATARA        LOWE                         AR     23048717551
18642541A5715B   SAFINA       ORTIZ                        VA     90012705410
186429A5572B62   SANDRA       RASCON                       CO     33022269055
1864335A385966   ASHLEY       BOGGES                       KY     90011463503
1864393AA55976   MARGARITA    PEREZ                        CA     90009799300
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1864394824782B   YVONNE L      DEVINS                      GA     90006509482
18644698A5B526   DEBBIE        DEWALT                      NM     35050506980
18644767A55976   ESTHER        SANTOS                      CA     49090597670
1864494824782B   YVONNE L      DEVINS                      GA     90006509482
18645145A31687   JESSICA       WERTH                       KS     90014291450
1864531659373B   STEPHANIE     PALTE                       OH     90011283165
186454A3381639   SYLVIA        HOWARD                      MO     29041134033
1864626962B92B   ADRIAN        MORENO                      CA     90011532696
1864659672B236   JULIUS        IHEOMA                      DC     90010805967
1864684738438B   KENNETH       DOUGAS                      SC     90011318473
18646873872B62   CHAD          JONES                       CO     33025128738
186486A9251355   ROBIN         ROCKINGHAM                  OH     90011956092
18648A3A891569   ALEJANDRO     URBINE                      TX     75093250308
18648A54791523   ALBERT        PERALES                     TX     90015320547
1864B858181639   STEVE         RUSSELL                     MO     29060988581
1864B991857147   KENNETH J     CLARKE                      VA     90011849918
1864BA8514B588   JONNIE        ELLYSON                     OK     90006810851
1865186248438B   WANDA         ANDERSON                    SC     19055528624
1865361229373B   ANITA         SHAW                        OH     64594646122
1865383A64B588   ELIZABETH     BILBAO                      OK     21517898306
18653A97131687   IMELOA        AVILA                       KS     22097050971
18654A13272B62   ERIKA         NEVAREZ                     CO     33078000132
18654A22131687   RICHARD       MCMINN                      KS     90015030221
18655A55791523   ROBERTO       MEZA                        TX     90013100557
18656743A91569   VERONICA      TREVIZO                     TX     90011947430
18657A58691523   SANDY         LEE GARZA                   TX     90013100586
18658682A57147   INGRI         GONZALEZ                    VA     90001016820
18659263A91895   JOAN          BRANTLEY                    OK     90014412630
18659733A91895   JOAN          BRANTLEY                    OK     90007267330
18659A27561938   WALTER        HERRIOTT                    CA     90012160275
1865B1AAA4B26B   ROSAURA       ESTRADA                     NE     26088491000
1865B38949373B   DAVID         HARVEY                      OH     90002553894
1865B691651337   SARA          MILLER                      OH     90009806916
1866113324B588   KRISTEN       ANAYA                       OK     90013441332
1866147774B26B   BEATRICE      HARRIS                      NE     90014764777
1866174459373B   ERIN          KEEN                        OH     64547557445
1866257295B154   KIMBERLY      MOORE                       AR     90015205729
1866265685B129   TIMOTHY       TAYLOR                      AR     90005476568
1866343A972B77   PATRICIA      ROMERO                      CO     90013964309
18663932A5B526   CRYSTINE      BEBAULT                     NM     35031959320
18663A45855976   ZOILA         CRUZ                        CA     90010850458
18663AA7391569   CYNDY         SAPIEN                      TX     90009860073
186643AAA81639   BENSON        CARUTHERS                   KS     29065623000
1866499354B26B   MYLING        DOMINGO                     NE     26027269935
18664A71691523   VICTORIA      MARTINEZ                    TX     90013090716
18665355A72B44   ALBERTA       MORENO                      CO     90008463550
18665474A51337   LISA          MCBRIDE                     OH     90012774740
1866575AA5B154   AMANDA        GANN                        AR     23002097500
1866665429373B   ROBIN         WYNN                        OH     90015246542
1866796685B154   WYSE          SHELBY                      AR     90013849668
1866939985B154   BOBBIE        ROBINSON                    AR     23074083998
1866979835715B   JUAN          VALLEJOS                    VA     81016837983
18669953A4B26B   SCOTT         TOPHAM                      NE     26038979530
18669A23685966   CURTIS        MORTON                      KY     90013440236
1866B15A597B38   CASSANDRA     TORRES                      CO     90011231505
1866B3A3272B62   ARIANA        KASPER                      CO     90014053032
1866B8A2291523   RAMON         MONTOYA                     TX     90014528022
1867116765B526   FEDERICO      REYES                       NM     90005691676
18671378A4B26B   DANYEL        LARSON                      NE     26075483780
1867145989373B   NICKI         LAND                        OH     90011284598
186714A9691569   ALEXIS        CORONADO                    TX     90013674096
1867193117B489   REYMOND       ALEXANDER                   NC     11031159311
18672354A9373B   BONNIE JEAN   BLAS                        OH     90014143540
1867256525715B   JOSE          MARTINEZ                    VA     90014255652
18673679472B62   HEATHER       LAIRD                       CO     90011016794
1867387394B26B   CHRISTINA     SCHOONOVER                  NE     90012508739
18673A44151355   ERIC          ASHLEY                      OH     66028530441
18673A6569373B   KEVINE        DEADORFF                    OH     90014730656
1867412AA55976   SHERRYL       EVERITT                     CA     90006221200
18674A6569373B   KEVINE        DEADORFF                    OH     90014730656
1867593973B324   WADE          HILL                        CO     33086519397
186764A9491569   LILO          VARGAS                      TX     75004914094
1867745484B26B   ALICIA        MINER                       NE     90011214548
18677A6918438B   ELEUTERIO     GARCIA                      SC     90009470691
18678A44155976   KEVIN         GOWENS                      CA     90010770441
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18681679472B62   HEATHER          LAIRD                    CO     90011016794
186825A1191569   MONICA           GARCIA                   TX     90009815011
18682645272B58   HUGH             BUNCH                    CO     33050186452
186836AAA61938   THIFANNY         ARCE                     CA     90014716000
1868495629373B   TONISHA          MOSLEY                   OH     64509109562
18685A2584B588   DANA             GEARO                    OK     90009480258
1868695955715B   MAYRA            CHAVEZ                   VA     90014249595
1868779A293775   BRAD             ANDREWS                  OH     90008197902
1868824119373B   TYELISHA         LEE                      OH     64588292411
18688A26161958   JERRY            RUDOLPH                  CA     90000630261
1868924119373B   TYELISHA         LEE                      OH     64588292411
186896A9972B62   JONATHAN         GARCIA                   CO     90012366099
1869113A59373B   TERRY            YATES                    OH     90014731305
1869168548438B   RICTASHA         NELSON                   SC     90009126854
1869179A85715B   GINGER           FISCHER                  VA     90010257908
18691A1AA31687   GARY             COX                      KS     22066940100
18691A25855976   CRAIG            CLEIM                    CA     90006290258
18693A2384B588   JACK             WHITMORE                 OK     90014000238
18693A8A191263   TABETHA          SNYDER                   GA     14576310801
186948A524B543   JOY              BURGERS                  OK     90010938052
186948A787328B   ALISHA           STEGALL                  NJ     90015038078
1869495955715B   MAYRA            CHAVEZ                   VA     90014249595
186952A5A5B526   MARGARITA        ANGUIAN                  NM     90007742050
18695621A91569   REBECA           NAVARRETE                TX     90001616210
18696371672B62   WILLIAM          WILDES                   CO     90012373716
1869664518B13B   SHANNAN          HARRIS                   UT     90000166451
18697142A9373B   KELLY            VITALE                   OH     90014731420
186977A318438B   CONISHA          JOHNSON                  SC     90009057031
1869822575B154   ARACELI          RIVERA                   AR     90013552257
186987A2391569   ROSEMARY         CAMACHO                  TX     90001507023
18698845A72B62   CHRISTINA        MEDINA                   CO     90014888450
1869B583681639   KIM              WILLIAMS                 MO     29026915836
1869B627551359   ARTURO           RIVERA VAZQUEZ           OH     90013806275
1869B6A4161938   SUZE             LALANNE                  CA     90012706041
1869B959454123   ALISON           WALES                    OR     90006179594
186B195A94B26B   ABEL             SANDOVAL                 NE     90014039509
186B295134B588   MEGAN            WILLIAMS                 OK     90015129513
186B332669373B   TOSHA            DICE                     OH     64506973266
186B352818B165   HECTOR           SANTILLAN                UT     90005035281
186B352824B26B   JOE              PETTUS                   NE     26091605282
186B3575131687   LISA             COHEN                    KS     90006955751
186B379215B154   PORTER           PUALA                    AR     90010907921
186B396677328B   COURTNEY         WILSON                   NJ     90015119667
186B4481A57147   ALEXANDER        TORRES                   VA     90013724810
186B4677831687   AMBER            LOWE                     KS     90014066778
186B49A5972B62   CHARLES          CRESWELL                 CO     33018919059
186B761174B26B   FAITH            KAEMMERLING FOWLER       NE     90008776117
186B7741657147   EMERITA ISABEL   ARRIAGA                  VA     90011837416
186B8683991569   JORGE            DELAFUENTE               TX     75008216839
186B8A5638165B   CHRIS            CUSHMAN                  MO     90000140563
186B8A9955B526   NATHAN           GARCIA                   NM     90002320995
186B9118451359   CYNTHIA          COYNER                   OH     90013241184
186B9219272B29   DE LA LUZ        ARENAS                   CO     33040672192
186B9748351359   AMBER            HILL                     OH     90012337483
186B9A84548B25   GABRIEL          GARCÍA                   KY     90014500845
186BB1A1285966   MARY             POWELL                   KY     90003731012
186BB1A2A72426   RACHAEL          LAUGHNER                 PA     90004221020
186BB412A91569   BRIANA           CHAVEZ                   TX     90015234120
186BB529261958   LLUVIA           AISPURO                  CA     90015025292
186BB723361938   ANTONIO          AVILA                    CA     46009927233
186BB996951359   MARIA            HALL                     OH     90010839969
186BB999561958   ANNA             GONZALES                 CA     90011999995
1871141355B395   GRISELDA         LOPES                    OR     90011764135
1871466A376925   OQUARIUS         OATIS                    MS     90014566603
1871489625B154   AMBER            FUQUA                    AR     90009398962
187149A6676B72   BETINA           CUEVAS                   CA     46091259066
1871618634B588   LASHENA          WESLEY                   OK     90008621863
1871659698B863   ISABELA          ARCIO                    HI     90013965969
1871818962B857   MICHELA          TALAMANTES               ID     90002101896
187181A3691523   ROSALVA          SOTO                     TX     90013101036
1871827165B526   RUTH             SHORTER                  NM     90014452716
18719418A91569   ELISA            CERVANTES                TX     90013674180
1871981865715B   VICTOR           GONSALEZ BLANCO          VA     90012858186
1871B818861938   JUAN CARLOS      DE LEON                  CA     90011898188
1872118854B588   JOSE             LARES                    OK     90003621885
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18721229772B38   ELVIRA       PEREZ                        CO     33076722297
1872187A461958   LUIS         MANRIQUEZ                    CA     46086198704
18721A53472B62   NANETTE      ABELLE                       CO     33003220534
1872225744B26B   DEBRA        SHERARD                      NE     90000342574
187276A8864135   JESUS        LEYVA                        IA     90014186088
18727833897B54   PETE         VELASQUEZ                    CO     90010788338
1872852A661938   RICHARD      LIPINSKI                     CA     90014405206
1872897145715B   CUTRIS       POTER                        VA     90014249714
1872922787B323   OSCAR        MENENDEZ                     VA     81008962278
1872994725B526   JOANNA       PHILLIPS                     NM     35062909472
18729A74761976   FLAVIA       CHIPRES                      CA     90006580747
1872B296151355   DAWIT        BEIENE                       OH     66010012961
1872B545791895   STEPHAN      BLOTZER                      OK     21087825457
187311A3891523   CYNTHIA      JUAREZ                       TX     90013101038
18732138A9373B   DALE         LOWE                         OH     64564391380
1873576637B489   GREGORY      GARRISON                     NC     11070587663
1873621A54782B   TIFFANY      ADAMS                        GA     14008392105
18737747A97124   MATTHEW      STROBEN                      OR     44513287470
1873823A95B526   ROSEMARY     TORRES                       NM     35085772309
1873847754782B   LATRALLA     BRANTLEY                     GA     90006634775
187392A615B526   JESUS        LUJAN                        NM     90014812061
1873B17654B26B   CLINTON      GOEBEL                       NE     90010221765
1873B82725B526   MARIAH       GARCIA                       NM     35058288272
1873B831561938   AURELIANO    ESTRADA                      CA     90013968315
1873BA98391523   JUAN         PEREZ                        TX     90013100983
187413A9A47832   DEBORAH      BLASH                        GA     90007753090
1874254935B129   SHAMARI      CLEMENTS                     AR     90012315493
187425A4561938   LAURA        GALEANA                      CA     90010205045
1874283A68B123   QUINTIN      SEVERNAK                     UT     90013238306
1874291A74B26B   JUSTIN       MCLACHLAN                    NE     90008239107
18742AA8185966   JOSE         MARTINEZ                     KY     67097090081
187431A4761958   SYLVAIN      TAYLOR                       CA     90007471047
1874329595B154   TIA          JACKSON                      AR     90003592959
18743352672B62   MEGAN        UREN                         CO     33095643526
1874415575715B   ELMER        VASQUEZ                      VA     81006461557
187442A6961958   SCOTT        POPE                         CA     90010112069
1874469184B26B   PAULA        BROWN                        NE     26022626918
1874488417B695   KENDRICK     JENNINGS                     GA     90014558841
1874533A691523   RODOLFO      MENDOZA                      TX     75039003306
18746153872B62   KHALED       SAWAKED                      CO     33020831538
1874697495B129   ANGELA       SPENCER                      AR     23097349749
18746A57761938   JOHNSON      SEMEXANT                     CA     90010200577
1874812A372B62   KEOKI        NISHIHARA                    CO     90001321203
1874B844661996   GABRIELA     CANCHOLA                     CA     90000118446
1875122985B526   BOBBY        JACQUEZ                      NM     90012312298
18751865372B62   MICHELLE P   HENDRICKSON                  CO     33070698653
1875221354B588   MALAYSIA     GLOVER                       OK     90012222135
18753293372B62   BRANDON      ABBEY                        CO     90011962933
1875359915715B   LIZZY        RIVERA                       VA     90012875991
1875451532B869   NIKKI        OSS                          ID     90004335153
1875538915715B   RODNEY       LIVATT                       VA     90002653891
187565AA761938   PIERRE       PORCENAT                     CA     90014655007
1875677984B26B   LISA         WALKER                       NE     26087367798
187568A5572B84   LAURA        LANG                         CO     90008648055
18756A91491523   LORENA       ESPINO                       TX     90007740914
1875751A24B588   MICHAEL      COFFEE                       OK     90014395102
1875828519373B   NICOLE       LOCKHART                     OH     64508602851
18758589A31687   ALICE        DEAR                         KS     90002865890
1875936969373B   JAZMIN       COOLEY                       OH     90014733696
18759619A51355   HENRY        TOMLINSON                    OH     90014756190
187597A4961958   RUBEN        GONZALEZ                     CA     90012707049
18759A72855976   XOCHITL      MARIN                        CA     90010770728
1875B93A891569   ANTONIA      SHULTZ                       NM     90013769308
1876231964B26B   CINDY        WILKINSON                    NE     90011153196
1876315357B489   ISOLINA      VALLE                        NC     11087881535
18763765A57557   GLENN        MADISON                      NM     90001097650
1876451A461938   STACEY       COGSWELL                     CA     90006005104
1876458274B588   DETRIA       BALLARD                      OK     90012255827
1876588864B52B   MICHAEL      LUNDSTROM                    OK     90013758886
1876623335B526   HELEN        HERNANDEZ                    NM     90014432333
187662A5131687   LOIS         FANNING                      KS     22066712051
18767A83455976   ESTHER       TORRES                       CA     90009800834
18767A8465715B   BATGEREL     BATBAYAR                     VA     90012950846
1876847427B489   MARAISA      ROMERO                       NC     90011814742
1876986265B526   SHANITA      LOVETT                       NM     90011858626
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1876995A95715B   ROBERT           JONES                    VA     90001499509
1876B121A9373B   CHRISTIANE       MAUSTELLER               OH     64510231210
1876B3A754B26B   ALBERTO          HERNANDEZ-PORCAYO        NE     90011583075
1876B8A6855976   GRACIE           PEPEZ                    CA     90010938068
1877128A561958   WENDY            FLORES                   CA     46041762805
1877139A14B26B   ZACHARY          PHIPPS                   NE     90011583901
18771584A5B526   LUIS ARTURO      ACOSTA                   NM     90010785840
1877342A951337   SHANNON          COATES                   OH     90009864209
1877347A761958   EDWARD           THOMPSON                 CA     46081224707
187734A2857147   DESHANTALA       ROGERS                   VA     90012684028
18773531A51359   TASHIA           YOUNG                    OH     90011225310
1877364344B26B   DENITA           WILKINSON                NE     90003936434
18773A38A57557   SAMMY            FERNANDEZ                NM     90011450380
1877487324B588   JANETTA          WARD                     OK     90011958732
18774A4A691578   MARTIN           HERNANDEZ                TX     90010790406
187751A7361938   SYLVANIA         DUNN                     CA     46014711073
187751A7A4B26B   KATREISHA        LQUINTANA                NE     26038191070
1877531965B526   LESLIE           ZAINTZ                   NM     90011903196
18776423A51359   MARVIN           BLACK                    OH     90000974230
1877686427B489   LUIS             VARGAS                   NC     90004258642
18776A6665B154   JOLANDA          TERRY                    AR     23007120666
1877717758B147   BRANDON          MECHAM                   UT     90008711775
1877788995B154   TRAVIS           GRAY                     AR     90008838899
18777A6375B378   NEIL             GRUBB                    OR     44506100637
18777A91851359   RASHELLE         WASHINGTON               OH     90014700918
1877819788B167   GREGORY          TRUSLOW                  UT     90012981978
1877826A251359   JACQUILINE       BENNETT                  OH     90013162602
1877833A24B543   GLORIA           FULTON                   OK     90010473302
1877857698B167   GREGORY          TRUSLOW                  UT     90013095769
1877887388B167   GREGORY          TRUSLOW                  UT     90009788738
187799A1881639   SANDRA           MCGOWEN                  MO     29040639018
1877B376693767   TEQUELLIA        SUMLIN                   OH     90007523766
1877B59844B26B   MANUEL           PEREZ                    NE     26011995984
1877B611561958   MARIA            PEREZ                    CA     90013336115
1877B86454B26B   TRISTA           KELLY-CARTER             NE     90014168645
1877B888285966   TANYA            LIVESAY                  KY     67093698882
18781225A51337   ASHELY           BRIDGES                  OH     90014582250
18781475A5B599   ALFONO           NAJERA-GARCIA            NM     90006894750
1878323889373B   MARGARET         VALENTIME                OH     90007652388
18783763A4B26B   SMITH            MELONY                   NE     90006567630
18785179497B69   GUADALUPE        ROMANO                   CO     90013931794
1878642A561958   MELANIE          GRAY                     CA     90008614205
1878662645B526   YASMIN           MIRELES                  NM     90013116264
18786A6375B389   LUCIA            MARTINEZ                 OR     90012300637
1878716685B129   RICHARD          RIOS                     AR     23012801668
1878789938438B   KAREN            SMITH                    SC     90010568993
18787A5A551337   DAYNE            COLEMAN                  OH     90002580505
1878883645B526   CLAUDIA          SOLORIO                  NM     35045758364
1878893535715B   NESTOR ARMANDO   ZALDANA                  VA     90003839353
1878931695715B   MANUEL           SIVIRIAN                 VA     90004083169
1878974594B26B   SAVANNAH         JOLES                    NE     90014177459
1878994A94B588   KIMBERLY         THOMPSON                 OK     90009089409
1878B283881639   DAVID            RAGUSA                   MO     29077112838
1878BA47657147   SERGIO           MARTINEZ                 VA     81056630476
18792684472B62   RENA             MISEK                    CO     90013296844
18792A12761958   JOSEFINA         MILLAN                   CA     90014960127
18794555372B62   JESS             VALDEZ                   CO     33032585553
1879463115B526   IRENE            BENITO                   NM     90013696311
1879517615B129   KAREN            PATILLO                  AR     23000831761
18795452A4B26B   TERESA           CECAVA                   NE     26088124520
1879545895715B   JUNIOR           LOPEZ                    VA     81001384589
1879627384B588   JAIRON           LUCAZ                    OK     90005362738
1879633935715B   MAHLET           ADENEW                   VA     90010403393
1879635359377B   NONA             DAUM                     OH     90010013535
18797A44851357   DONNA            LYONS                    OH     66076550448
1879942915B526   MICHEAL          EVERTTE                  NM     90005454291
1879988397B489   MARIA            BOSQUES                  NC     90007408839
1879B472231687   ROBERT L         ROBINSON JR              KS     22005224722
1879B792751359   FREDY            MAZARIEGOS               OH     90011537927
187B1131261938   FLORI            JIMENEZ                  CA     90003831312
187B1246581639   DAVID            CASTRO                   MO     90011532465
187B1476791895   JOHN             MITCHELL                 OK     21061244767
187B2274897B23   CYNTHIA          MILLER-HUGHES            CO     90005352748
187B2728A2B968   KRISTINA         MILLER                   CA     90007757280
187B2817161976   ANNA             PORRAS OCAMPO            CA     46068128171
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187B32A7151337   ROBERT        BELL                        OH     90004952071
187B395444B588   KELVIN        KIMBLE                      OK     90012299544
187B4152724B6B   SHEKITA       MCCALLISTER                 DC     90012551527
187B44A554B588   OLIVIA        ROJO                        OK     90012644055
187B549A731687   BRIAN         OAKLEY                      KS     90014064907
187B5811591569   CESAR         RODRIGUEZ                   TX     90015188115
187B6622A9373B   SONJA         HESS                        OH     90003866220
187B6891481639   MICHELLE      ALEXANDER                   MO     29071868914
187B8287951359   DARLENE       KONATEH                     OH     66071392879
187B8828951355   SEVIM         ROSE                        OH     90008818289
187B8873585966   JOSEPH        ADDISON                     KY     90014238735
187B899378438B   ANNETTA       WHITLOCK                    SC     19098519937
187B912235B526   MONIQUE       ALTAMIRANO                  NM     35088131223
187B919872B232   CYNTHIA       TENNIAL                     NC     90001341987
187B925244B588   DEDRA         LOY                         OK     90012112524
187B93A6755976   BOWERS        VICTORIA ROSEMARIE          CA     90005443067
187B9966691895   PAMELA        STEPTOE                     OK     90008039666
187BB463591569   JESSICA       ORTEGO                      TX     90001484635
187BB49A281639   MARY          CASWELL                     MO     29010354902
187BB634257147   ROSIBEL       REYES                       VA     90000686342
187BBA85351337   DARNESHA      CHANDLER                    OH     90014090853
1881122715B154   WILLIE        DEMYERS                     AR     90010202271
1881262A25715B   WILDER        ZUNIGA                      VA     90014256202
18812A25372B62   CHRISTOPHER   SOLORIO                     CO     90014850253
188137A598438B   MIA           GREEN                       SC     90008847059
1881386925B526   RENEE         MONTEVERDE                  NM     35043958692
18813991472B62   JASON         MENDENHALL                  CO     33067429914
1881478345715B   JAY           THOMSON                     VA     90010207834
1881645739373B   RICHARD       WELCH                       OH     90014734573
18816983A4B26B   DAVID         NOTARO                      NE     90014789830
18817A8337B47B   SAMI          SALM                        NC     90007390833
1881924869373B   CHACARLA      JONES                       OH     90011292486
1881938A191523   ASHLEY        HERNDON                     TX     90010473801
1881991892B92B   ALMA          GUTIERRREZ                  CA     90009099189
18819A7A44B588   TOBY          CHAPMAN                     OK     90013270704
1881B15A74B588   CHRISTOPHER   KING                        OK     90006281507
1881B59525B155   SHAMEKIA      HAMMOCK                     AR     90011615952
1881B923531687   STEPHANI      MARTIN                      KS     90006129235
1882185463124B   STEPHAN       GARRING                     IL     90013458546
18821A79691569   AURORA        PINEDA                      TX     75057620796
18822175672B62   IVAN          FIGUEROA                    CO     33069911756
1882282619373B   WILLIAM       LARKIN                      OH     90013408261
18822A92A91569   TERESA        GARCIA                      TX     90013840920
18824597A5B154   ERNESTO       FLORES                      AR     23046885970
188245A575B129   ASHELEY       HOLDEN                      AR     90005485057
1882494532B227   LEE           WHITTED                     DC     90001849453
188272AA571927   LAPASSION     MARSHALL                    CO     90011912005
18827A58855976   JESSICA       CHAPA                       CA     90012280588
18828174172B62   HEAVEN        FRAZIER                     CO     33075041741
1882884795B129   MECHELLE      COOPER                      AR     90010618479
1882932A85B526   AMEERAH       SMITH                       NM     90011903208
1882B1A517B464   RITA          LOWERY                      NC     90001511051
1882B557357147   KRYSTAL       STANLEY                     VA     90012045573
1883211964B588   JOHNNY        HILL                        OK     90013061196
18832667572B62   SANDRA        ONORATO                     CO     90012366675
18832A6797B489   HAVIER        PEREZ                       NC     11091310679
1883433859373B   JACOB         EBER                        OH     90014103385
1883456325B154   JESSICA       MILLS                       AR     90014965632
18834A23A61938   OMAR          HARRISON                    CA     46024120230
1883572819373B   JOSE          HERNANDEZ                   OH     90003867281
1883734674B26B   JANELLE       SIMPSON                     NE     26087713467
18837A2169373B   REGINA        BROOKS                      OH     90001380216
188411A144B26B   WILLIAM       BRANCH                      NE     90014791014
18841642A85966   CAROLYN       JENNINGS                    KY     90010036420
18842177972B62   JUAN          CASTANEDA                   CO     90012031779
1884263223B396   OSWALDO       REYES                       CO     33083906322
1884263A961976   EMA           DOMINGUEZ                   CA     90006626309
1884274A25B526   JOSEPH        SEDILLO                     NM     90007927402
18842A59A5715B   ROBERTO       ZEPEDA                      VA     90012780590
1884488984B26B   LAMAR         COATES                      NE     90014178898
1884525994B55B   STEVE         HANSON                      OK     90010582599
18845583A91523   RODOLFO       CARDENAZ                    TX     90013105830
18846773A5B154   GLORIA        HAYES                       AR     23008187730
18846927A4B588   RODERICK      TRUITT                      OK     90007739270
1884721A731687   ERIKA         GUTIERREZ                   KS     22006632107
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1884752A861958   ARMANDO           MENDOZA                 CA     46083415208
1884822A451337   PATRICIA          DUVALL                  OH     90011132204
1884849864782B   SALENTHIA         MOSLEY                  GA     90010314986
188485A613B396   SHANTE            VIGIL                   CO     33074105061
1884884224B588   LATEISHA          MURRAY                  OK     90013878422
18848A3624B26B   LORENA            MENDOZA                 NE     26098610362
1884932A357199   ANTONIO           RIVERA                  VA     81010583203
1884B31A631687   MELISSA           FITZX                   KS     90015083106
1884B326985966   JENNY             GANNON                  KY     90014813269
1884B96784B588   LINDA             GUPTILL                 OK     90012959678
188519A8771929   GHARIAN           GREEN                   CO     90011629087
1885257A45B154   LATASHA           HOLMES                  AR     90013485704
1885332789373B   SHANNON           BROOKINS                OH     90011293278
1885362484B26B   LARESHIA          WEAVER                  NE     26009106248
1885366698B863   LETICIA           ILORETA                 HI     90015126669
188537A9531687   CHARLENE          ARRINGTON               KS     22090797095
1885388A555976   WHITNEY           BLACK                   CA     90013978805
18853AA2691569   ERIC              ALGRAVES                TX     90009080026
1885489364B26B   JANETTE           PANO                    NE     90014178936
188548A675715B   REMBERTO          MATA                    VA     90001048067
1885556189373B   ROSALIND          BOYKIN                  OH     90014735618
18855A2364124B   PAUL              GRAY                    PA     51090150236
188563A8255976   VANA              LITTLEJOHN              CA     90013703082
1885658A29373B   STARLA            RECIO                   OH     90015055802
188577A6372468   DAG               SMALLING                PA     90001427063
18857A6435B154   RUDY              TIZNADO                 AR     23023620643
1885833A155976   SAMUEL            SANCHEZ                 CA     90010503301
18859A8435715B   OSWALDO           RIVERA                  VA     90012780843
1885B42197B489   BURL              FACEMIRE                NC     11015204219
1885B459A85966   VIVIAAN           RALEIGH                 KY     90008734590
1885B47A161938   KIM               OLDS                    CA     46037894701
1885B722291523   MIGUEL            HERNANDEZ               TX     90004257222
1885B73245B526   JACQUELINE        LITTLE                  NM     35058657324
1885BA77455976   MATTHEW           ESCOTO                  CA     90002690774
188622AA591244   JACKIE            WARD                    GA     90014782005
18862A32255936   PABLO             LOPEZ                   CA     48010760322
1886458A691895   ESTHER            LUNSFORD                OK     90002835806
18865316A91836   TEANNA            THOMAS                  OK     90001683160
18865897A4782B   SHANNA            ROZIER                  GA     90000958970
1886598525B154   TERIDELL          HARDIN                  AR     90015319852
188661A1661938   ROSELLA           SMITH                   CA     90009611016
1886641914B26B   CHANTEL           ROSENBOOM               NE     90014584191
188675AA55715B   FELIPE            VASQUEZ                 VA     90007855005
188684A314B26B   LORISA            BOWLAND                 NE     90010454031
18868631A91523   OMAR              FLORES                  TX     90013106310
1886936155715B   KIANA             DAVIS                   VA     81075473615
1886B81319373B   COURTNEY          EISEN                   OH     90013128131
1887147635B526   JAIME             TIGGES                  NM     90013954763
1887232A572B38   YESICA            RIVERA GONZALEZ         CO     90009253205
18872555A4782B   JOHN              HUGHES                  GA     90011715550
1887267194782B   KESHIA            MCGRUDER                GA     90011986719
18873577372B62   DONALD            PRILLER                 CO     33004145773
1887415648438B   LASKEHIA          BUTLER                  SC     90007361564
18875637172B62   URIAH             HIGH                    CO     33059566371
1887593A75B526   CANDRIA           MASCARENAS              NM     90003129307
18875A1285715B   HECTOR            AYALA                   VA     90013020128
1887646989373B   JOSE              ROJAS                   OH     90011294698
1887686527B467   ANA SUSANA        LOPEZ GARCIA            NC     90012308652
18876A22491573   LUDDYN            ZAVALA                  NM     90009810224
1887714484782B   OCTAVIUS          FINNEY                  GA     90012321448
1887B374772B62   CASTILLO SAIENZ   MARIBEL                 CO     90010853747
1887B4A1461925   SILVINO           GOMEZ                   CA     46029604014
1887B737861958   JOSE              SANCHEZ                 CA     46081087378
1888119344B26B   MARIA             ROMERO-AGUILA           NE     90009631934
1888126435B129   TIMOTHY           HUCKABY                 AR     23077932643
18882214872B28   MARY              THERESA-GRIGG           CO     33088812148
1888226A357147   BEN               AGY                     VA     90000212603
1888423A455976   LETICIA           VARGAS                  CA     90003992304
1888466659373B   MERISSA           ACKLEY                  OH     90014736665
1888489174B588   BRANDY            BURTON                  OK     90012038917
18884A59831687   SAMI              JONES                   KS     22081130598
1888545999373B   SHEILA            ELAM                    OH     90005114599
18886319872B26   APRIL             MOCK                    CO     90005893198
1888641945135B   BASABOSE          ALBERT                  OH     90010794194
18888146172B62   JESUS             MENDOZA                 CO     33096511461
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1888916764B26B   MARY         HINTSALA                     NE     90007891676
18889226772B62   MARMOLEJO    RIVERA                       CO     90008022267
1888927875B154   CRAIG        LIPSCOMB                     AR     90011872787
1888937734B26B   JONATHAN     GORDON                       NE     90011023773
1888952785B129   SANNIYYAH    DAVIS                        AR     23004825278
1888B239772B62   JUAN-MANUE   ORTIZ-DIAZ                   CO     33081132397
1888B484955976   JOSHUA       MOORE                        CA     90002134849
1889433955715B   BUZACHEW     GARDO                        VA     90014263395
1889544945B526   KELLI        LEYBA                        NM     90000944494
188969A5A5B526   BRITTANY     ESPINOSA                     NM     90012079050
1889712A251337   ODELIA       PEREZ                        OH     90013931202
18897175272B38   NYIESHA      JARMON                       CO     90010741752
18897399172B62   ROLANDO      VARGAS                       CO     33097003991
188975A195715B   MARY         BARRIOS                      VA     81029555019
1889768515B526   BLANCA       VALLES                       NM     90004776851
1889797194B26B   DARREN       BOOKER                       NE     90003119719
188981A5355976   GLORIA       VALDEZ                       CA     90008721053
1889B719551337   ADIT         HUGHES                       OH     90014077195
1889B819A61958   SUNIL        VASWANI                      CA     90010078190
1889B81AA91997   ANTHONY      HARRIS                       NC     90000998100
188B146834782B   ANTOINETTE   ANAYA                        GA     90012114683
188B2356361976   JUAN         CARLOS TORRALES              CA     90006623563
188B243559373B   ERIC         SYLWESTRAK                   OH     90014734355
188B27A355715B   CECIL        BENSON                       VA     81091937035
188B336A172B62   SUGAR        SUGAR                        CO     33041703601
188B373713B393   TRAVIS       SCHADLE                      CO     33067527371
188B4311755976   JARRED       JOHNSON                      CA     90003353117
188B4347857147   EDUARDO      BERRIOS                      VA     90013243478
188B466A35B154   BENITA       GAYNOR                       AR     23098456603
188B5A2574B26B   DEREK        HARRIS                       NE     90012670257
188B6151185966   EVELYN       DAWSON                       KY     90014791511
188B67A4681639   ANTHONY      PAYNE                        MO     29063747046
188B6983291569   LUPE         GARCIA                       NM     75074879832
188B7116672B38   BRANDY       BUENO                        CO     90011821166
188B7518972B62   GUILLERMO    MENDOZA                      CO     90010435189
188B782865B526   ERIC         PALLADINI                    NM     90013088286
188B798675B154   LATONYA      REED                         AR     90015019867
188B7A58855976   SERGIO       MANUEL                       CA     90006900588
188B8156785966   MARTY        CONNERS                      KY     90014541567
188B9311451355   FELICIA      GARRETT                      OH     90003913114
188B9359372B62   DERRALL      STROCK                       CO     90014563593
188B982953B394   KENNETH      ZIEGLER                      CO     33055158295
188B9858A8438B   ERICA        RICHARDSON                   SC     19041108580
188B99A124B588   YADIA        GARCIA                       OK     90009059012
188BB43559373B   ERIC         SYLWESTRAK                   OH     90014734355
188BB56834B588   EVELYN       JOHANNING                    OK     90015025683
188BB69314B26B   JOSEPH       TAYLOR                       NE     90014856931
188BB743291569   ANA          HERNANDEZ                    TX     90008457432
188BB87544B588   EVELYN       JOHANNING                    OK     90010268754
1891225715B526   BERTHA       VELASQUEZ                    NM     35021922571
1891257298B169   ANGELIKA     CAMPBELL                     UT     90006745729
1891282489373B   MICHELLE     HUNTER                       OH     90009638248
1891342478438B   RHONDA       VIDAL                        SC     90011434247
1891499885715B   JOSE         PALACIOS                     VA     90013219988
1891511315715B   LETICIA      VEGA                         VA     90006911131
1891516A58B167   PETER        MCDONALD                     UT     31073651605
1891533514B26B   MICHELLE     HARRIS                       NE     90014793351
1891552185B526   MARIA        ACOSTA                       NM     90013955218
18915549A91569   VERONICA     LIRA                         TX     75007455490
1891579182B968   JOEL         POULSON                      CA     90005547918
1891634794B26B   KYLE         TRIPLETT                     NE     90014793479
189164A5755976   IRENE        LOPEZ                        CA     90000514057
1891652185B526   MARIA        ACOSTA                       NM     90013955218
1891692485B154   KADILYA      ROYSTER                      AR     90013399248
1891753174B26B   JANET        PALMER                       NE     26069795317
189177A435B526   KENNETH      MARTINEZ                     NM     90013967043
1891863A15B526   PATRICK      TOMMASO                      NM     90003796301
18919278A9373B   MAHDI        AHMAD                        OH     90014222780
1891B555A4782B   JOHN         HUGHES                       GA     90011715550
1891B75AA9373B   KENNA        HOUCHINS                     OH     64535447500
18921615472B62   JOSE         MEDINA                       CO     33087736154
1892186165B526   APRYLL       STEPHENS                     NM     35017798616
1892194A84B588   MINERVA      FUENTES                      OK     90012839408
1892253174B26B   JANET        PALMER                       NE     26069795317
18923234472B62   RAUL         FRANCO                       CO     33036212344
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18923455A51337   BRITTANY        BARNES                    OH     90001434550
1892469A172B62   AARON           PROCTOR                   CO     90012026901
189248A8A55968   SALINAS         PETTE                     CA     49051298080
18925115472B62   JAVIER          ESPINOSA                  CO     90013771154
18925524A5B526   PAULA           LOVATO                    NM     90013955240
18926245672B62   MAYRA           IBUJES                    CO     33063962456
1892626516193B   MIGUEL          GUERRERO                  CA     46034582651
1892765474B26B   EBONI           INGRAM                    NE     26091916547
18927813A81639   CARRIE          DUNLAP                    MO     29044748130
1892788119373B   FREDI           ORELLANA                  OH     90006028811
1892788A972B62   CHELSEA         ROMERO                    CO     33087558809
1892873A424B55   DELMY           DIAZ                      VA     81084797304
1892884A391523   MOISES          VILLARREAL                TX     90014528403
1893155475B129   SHARON          HESTER                    AR     23015725547
18931653272B62   MICHELE         JENSEN                    CO     90012366532
189327A4155976   ANA             BARRERA                   CA     90011497041
189339A2661938   MATTHEW         ROBERTS                   CA     90013589026
18933A69591569   CHRISTINA       RIVAS                     TX     90015080695
18934256A81639   SALIM           BRADLEY                   MO     90011542560
1893449914B26B   DAKOTA          HOWARD                    NE     90002434991
1893489334B588   RAVEN           THOMAS                    OK     90003148933
1893495A772B62   ADELE           BROWN                     CO     33083409507
18934A97255976   LISA            CARRISALEZ                CA     90010770972
18935AA795B282   HOWARD          SIMS                      KY     90012410079
1893613445B129   DIAMOND         LEE                       AR     23016141344
18937418A91569   BRIANNA         ESCOBAR                   TX     90013194180
1893788535B526   JACOB           OWEN                      NM     90010608853
18937A46457147   FRANCIS         ALLER                     VA     90000580464
18938A2999373B   TINA            GRAVES                    OH     64558230299
1893B195655976   GEORGE          RIGGS                     CA     90012331956
1894131A476224   DAVID           PEREZ PEREZ               GA     90012073104
18941758A97B38   LIONEL          SALAZAR                   CO     90005947580
1894244244B26B   ANGIE           KROFTA                    NE     90006264424
1894457862B876   LEILANI         HELMICK                   ID     42096005786
189445A212B232   YEDNEKACHE      BEYENE                    VA     81052245021
1894492213B396   DIANA           GLIDDEN                   CO     90012229221
18944A36291895   BONNIE          GLINES                    OK     21072980362
1894544A44B588   RICKY           WALDROUBE                 OK     90007944404
18946163872B62   MARK            LOPEZ                     CO     90009151638
18946456A5715B   ISIDRO          ESPINOZA                  VA     90002504560
1894B61235B526   ERIC            NELSON                    NM     35078646123
1894B651755976   MIRRELLA SOSA   DIAZ                      CA     90012886517
1894B67145B526   EFREN           ARVISO                    NM     90012046714
1894BA74A57388   JAYE            WRIGHT                    MO     90011010740
1895111795715B   NANA            ASADU                     VA     81028061179
1895142A591895   FELICIA         VELEZ                     OK     21008124205
189522AA185966   ADAM            REED                      KY     90012872001
18953278276B48   FATIMA          TAWAFI                    CA     46051132782
1895359474B26B   MELISSA         SOBOTKA                   NE     90014795947
18953653A72B62   DAVID           BELL                      CO     33074656530
1895418755715B   EDDY            POZO SARMIENTO            VA     90012271875
18955684972B89   JUSTIN          PARFREY                   CO     90007296849
18955A26655976   SHANNON         SHARP                     CA     49069010266
18955A8944B588   MEGAN           ROGERS                    OK     90012120894
18955AA229373B   NICHOLE         MARKEL                    OH     90014740022
189561A6A61958   MARLENE         RAMIREZ                   CA     90012421060
18956AA989373B   DILLON          ELDRIDGE                  OH     64522970098
1895712A15715B   SHIFERAW        MOTEMA                    VA     90014751201
18957A38191979   BENSON          OLOWOMUKE                 NC     90009140381
1895821294B588   JAMIE           SMITH                     OK     90011022129
1895885977B489   JOSE            GAVIDIA                   NC     11050598597
1895958115715B   JACKIE          INGRAM                    VA     90014265811
1895969524B26B   ALBENIS         MACHADO                   NE     90008256952
1895979914B52B   NICKOLAS        PHILLIPS                  OK     90013797991
1895B5A3A5599B   OMAR            VARGAS                    CA     90014835030
1895B765781639   BETHANY         MATHIS                    MO     90006057657
1896112735B526   ANDREW          VIGIL                     NM     90012931273
18961245772B62   JASON           VALLEY                    CO     90015222457
1896156A75715B   TRACIE          THOMPSON                  DC     90009895607
18961A7477B343   JOSE            RIVERA                    VA     81085610747
1896221324B588   AYLA            DIAZ                      OK     90011312132
1896278A661958   ESTEFANI        QUIROZ                    CA     90012787806
18963872A25396   COREY           CRAWFORD                  WA     90015418720
18965165136B83   BRENDA          BARAJAS                   OR     90012651651
1896582185B129   JENNETTE        DENISE                    AR     90005498218
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18966892372B62   JOSHUA       SANDOVAL                     CO     90014488923
1896734219373B   HEATHER      LOUDRY                       OH     90009353421
1896738664B26B   MARVIN       SNYDER JR                    NE     90014803866
1896794465B526   JOSEPH       GARCIA                       NM     90015109446
1896B25865B129   ENRIQUE      MONICIBAIZ                   AR     23009142586
1896B275A31687   ANABEL       NAVA                         KS     90000262750
1896B357551359   FRANCES      LACEFIELD                    OH     90013353575
1896B41A271967   TERRY        LARESE                       CO     90013634102
1896B738A93767   FLOYD        HOLT                         OH     90013707380
1896B827391523   BERENICE     ALVARADO                     TX     90013108273
1896B917851355   LAWRENCE     BELL                         OH     66010299178
1896B96384B26B   AMANDA       MASCHMAN                     NE     26043349638
1897151455B526   CATHERINE    URTIEGA                      NM     90008095145
1897272654B588   JOSEPH       BEVEL                        OK     90005437265
18972AA993B324   APRIL        KEEFE                        CO     33098310099
1897393994782B   DELISE       JAMES                        GA     90002239399
18973A37491569   STEPHANIE    SALAS                        TX     90010100374
1897433338438B   AMBER        KNISLEY                      SC     90011303333
1897525854B588   AMILCAR      XICARA                       OK     90015022585
18975667572B62   SANDRA       ONORATO                      CO     90012366675
1897593444124B   ANDREW       HALL                         PA     90013849344
1897623685B154   KIMBERLY     LEGGS                        AR     90012872368
1897645965715B   DANIEL       RUIZ                         VA     90007844596
18976884A61958   VICTORINO    SOMERA                       CA     90011668840
1897726444B26B   AJONIQUE     BAXTER                       NE     90014382644
1897729825B154   JORDAE       SHERRE                       AR     90015172982
189797AA95715B   KENIA        DIAZ                         VA     90012707009
1897986534B588   TERESIA      ABBOTT                       OK     21554118653
1897B726776224   KERIANNE     WILLIAMS                     GA     90005907267
1898125844B26B   ZACHARY      POPPAS                       NE     90011192584
1898255A255976   FOR          VANG                         CA     90012225502
189838A955B526   RENAE        SMITH                        NM     35018108095
189839A6372B62   THOMAS       HUTCHINSON                   CO     90012999063
18984663A51337   GLENN        NUTT                         OH     66046126630
18984816697B58   JOHN         BURAK                        CO     90001728166
189848A3A5B154   MATHEW       WILLIAMS                     AR     90015218030
189848AAA5B526   DANIEL       JONY                         NM     35086468000
1898545634B588   TOMMY        SCOTT                        OK     21595554563
18986367A72B62   DIONISIO     REYES                        CO     33086083670
1898686A58438B   TANEYA       CHAMPMAN                     SC     90011008605
18986A75591523   ASHLEY       GARCIA                       TX     90014770755
1898715342B857   TERESA       GUILLEN                      ID     42065791534
18987333172B62   LUZ          ESTELLA ANCHOHONDO           CO     33056403331
1898833455715B   MARVIN       RAMOS                        VA     90008423345
18988A76651359   SHAWN        HAWKINS                      OH     66095180766
1898925735B526   ALICE        HENDERSON                    NM     35075562573
1898937A64B26B   ELIZABETH    BOECHE                       NE     90011613706
18989763372B62   VINCENT      TRAVERSIE                    CO     33037767633
1898B138191895   EDWARD       FARLEY                       OK     21053061381
1898B522651359   MARINO       BRAVO                        OH     90014965226
189913A8A47956   LORRIE       BLOCKER                      AR     24074843080
18992716672B62   KNIGHT       STEPHANIE                    CO     33027157166
1899343343B39B   HECTOR       BONILLA                      CO     90006134334
1899438875B526   VICTORIA     PAULOS                       NM     90011413887
1899497895715B   TINA         JORDAN                       VA     90010139789
1899497A52B857   TOM          GORMAN                       ID     42022839705
1899542744B588   ANNEKA       SADLER                       OK     21516064274
189954A3785966   SARAH        CRAWFORD                     KY     90013884037
189954A5772B62   JEREE        FIELDS                       CO     90010374057
18996799A91523   ZAHRA        KEYVAN                       TX     90010067990
18996946372B38   DARREN       CAJKA                        CO     33079199463
18997442A51355   LOUISE       MORGAN                       OH     66039834420
1899746A34B26B   SHONDA       BROWN                        NE     90005394603
18997946372B38   DARREN       CAJKA                        CO     33079199463
1899899595B54B   MAGDALENE    SENA                         NM     90014199959
1899915117B489   LEONARDO     SIERRA                       NC     11012441511
189992A5472B38   JORGE        GUERRERO                     CO     90001852054
1899B48965B129   CASSANDRA    MCGEE                        AR     90008744896
189B118994B26B   DEBRA K      ROYAL                        NE     90007921899
189B1571224B55   DAVID        ALVAREZ                      VA     90013085712
189B169A451355   SHAMEEKA     MOORE                        OH     66066936904
189B2382897B48   DESIREE      JIMENEZ                      CO     90014563828
189B2792955928   SHA          XIONG                        CA     49044317929
189B2A43181639   MESHIA       GUNNELS                      MO     29047060431
189B3314191569   SYLVIA       SIERRA                       TX     75059353141
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189B339AA72B62   NICOLE        BROWN                       CO     33072473900
189B3487551337   DEBI          MCNEELY                     OH     66090434875
189B3883A4B588   HERMANDO      GARCIA                      OK     90015188830
189B3A4818438B   CHRISTOPHER   BUSH                        SC     90010400481
189B4446772B62   ERIC          ARELLANO                    CO     33086164467
189B532333B393   MARC          LASCOT                      CO     33090183233
189B5738581639   JERRY         LYLES                       MO     29025927385
189B6A22461958   OSCAR         GUERRERO                    CA     46010450224
189B7668885966   CORY          SHORT                       KY     90012846688
189B7716551337   ANTONIO       BROWN JR                    OH     90007987165
189B8491A4B26B   JESSICA       KEITH                       NE     90011594910
189B87A8561938   ANTONIO       AGUIRRE                     CA     90010377085
189B98A3891523   IRIS          LIRA                        TX     90013108038
189B9994A4B26B   NATHAN        RAWE                        NE     90009459940
189BB47824B588   MERCEDES      DAYNE                       OK     90009944782
189BB64AA72426   RYAN          GALLAGHER                   PA     90010296400
189BB66218438B   DANIEL        HANKINS                     SC     19015326621
18B11184751355   MATTHEW       TIETSORT                    OH     90015001847
18B11189391263   YENCINA       TALTON                      GA     14559801893
18B1121425715B   CHRISTEN      ROBERTS                     VA     90013892142
18B113A725B129   REDD          LEISUIRE                    AR     90005393072
18B1166635715B   CHRISTEN      ROBERTS                     VA     90012466663
18B11896291569   LAURA         HEMLEY                      TX     75011258962
18B1211A791569   YENIA         CONTRERAS                   TX     90012191107
18B12234691569   JAIME         PEREZ                       TX     90001052346
18B12247451355   KIMBERLY      DINH                        OH     66082242474
18B12AA5785966   JANEY         WHALEN                      KY     67091590057
18B13324991526   ANTONIO       JURADO                      NM     90012693249
18B1338A261938   FERNANDO      BLANCO                      CA     46076093802
18B1368134B588   JENNIFER      SOTO                        OK     90008856813
18B13937A61958   JOEL          SILVA                       CA     90006689370
18B1411924B588   ANTIONN       CROFT                       OK     90014081192
18B1481A651337   JUSTIN        MCCLANAHAN                  OH     90009118106
18B14924351359   DENNIS        TOMAS                       OH     90015189243
18B15A41861938   JOSE          AGULIAR                     CA     46005710418
18B16425781639   HERNANDEZ     RODRIGO                     MO     90010734257
18B16772A5B154   DONALD        GOLSTON                     AR     90011867720
18B1688899373B   KIMBERLY      BOGDANSKI                   OH     64552138889
18B17317591569   JOSE          ENRIQUEZ                    TX     90012143175
18B17459851337   CLAUDE        VAIL                        OH     90015174598
18B17496A77535   REGAN         FROST                       NV     90008994960
18B1755535B154   TIREISHA      VINSON                      AR     90013775553
18B18154A4B588   TAHJ          LAWERNCE                    OK     90009561540
18B18426391B38   SAVANAH       LIKE                        NC     90015384263
18B1847165B526   CHRISTIE      HOUSTON                     NM     90012244716
18B1853A591523   CARLOS        RAMIREZ                     TX     90013105305
18B18646761938   DONNA         LEIPOLD                     CA     46038076467
18B18896991523   MONICA        LOPEZ-URIBE                 TX     90013088969
18B19178426758   CHANTELL      PICKETT                     PA     90013221784
18B19857672B62   GEORGE        MENDOZA                     CO     90012808576
18B1987337B39B   MARIA         MONROY                      VA     90007768733
18B1BA66457147   STEPHEN       BUNDA                       VA     90011750664
18B21512627B8B   THOMAS        FALE                        KY     90014045126
18B22341281639   MARIO         SELGADO                     MO     90014293412
18B2323155B526   KENIA         NEGRETE-LEYVA               NM     90013982315
18B23269291569   PERLA         ESPARZA                     TX     90007522692
18B23311461938   ISABEL        ACEVEDO                     CA     90008083114
18B237A7A5B526   KENIA         NEGRETE LEYVA               NM     90012227070
18B23818293725   LUKE          MILLER                      OH     90002918182
18B24752361972   FERNANDO      FLORES                      CA     90012307523
18B2543A591263   TAMMY         FRYE                        GA     14518634305
18B258A2651337   MOZELLA       LAWRENCE                    OH     90002668026
18B25A14481639   AMELIA        MAPLES                      MO     90014600144
18B25A97731687   LIZA          MAYAGOITIA                  KS     22087450977
18B26576971967   DANIEL        CASTILLO                    CO     90015485769
18B267A7191523   OSCAR         PONCE                       TX     75087827071
18B27191261938   EARLINE       JOHNSON                     CA     90014481912
18B27A12798B62   GEORGE        HOLLIS                      NC     90011130127
18B2838665B526   NEOMI         ORONA                       NM     35005383866
18B28699261958   JANET         JANOWALK                    CA     90010916992
18B28A93957147   HERSON        RUIZ                        VA     81047150939
18B2935214B588   SHAE          POTS                        OK     90012393521
18B29396385966   BRIAN         HASTY                       KY     90014153963
18B29721251337   LAURKITA      MATHEWS                     OH     66028237212
18B2B178426758   CHANTELL      PICKETT                     PA     90013221784
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18B2B398871925   RAY          SAPEDA                       CO     90013163988
18B2B43695B526   ROBERT       MORENO                       NM     90004734369
18B2B439877574   JONATHAN     NAJERA                       NV     43033894398
18B2B765785966   LYNDSEY      BAKER                        KY     90014227657
18B31381991523   CECILIA      ALVARADO                     TX     90012193819
18B3181158438B   AURELIOANO   SEGUNDO                      SC     90010968115
18B31A5885715B   JAVIER       GUZMAN                       VA     90013410588
18B31AA165715B   JOSE         MOLINA                       VA     90014770016
18B324A625B526   ABAHAD       TREJO-CHAVEZ                 NM     90010824062
18B32542891263   JAMEICA      ASHLEY                       GA     90011545428
18B32758A91569   MARK         CHAVIRA                      TX     75076627580
18B32A13857147   PAUL         TREMONT                      VA     90014960138
18B33163191586   MELISSA      TARANGO                      TX     90010581631
18B3339125B154   CHERYL       HARNESS                      AR     90008783912
18B3381379373B   JAMES        WARD                         OH     90007928137
18B33923551337   BOBBY        VAUGHN                       OH     66083359235
18B3437365B526   FRANCISCO    MORA                         NM     90006843736
18B34637461938   MERCEDEZ     JONES                        CA     90009726374
18B34736A33645   MISTY        BIGELOW                      NC     90001057360
18B3499667B489   MARCOS       RIOS CONTRERAS               NC     90000289966
18B35436A72B62   DIANA        GONZALEZ                     CO     90012724360
18B3545A751337   ANGELA       GRAVES                       OH     90011114507
18B3577224B588   GAYLE        HAWKES                       OK     21546517722
18B3591889152B   JESUS        DAVILA                       TX     90011709188
18B3623339373B   DEMARIS      MARTIN                       OH     90014672333
18B37866553B32   DAVID        WESTON                       CA     90013748665
18B37AA5A51337   AMANDA       STANSELL                     OH     90012060050
18B3853A972B62   AMANDA       THORTON                      CO     90011015309
18B3858865B154   ARMSTEAD     MAKESHA                      AR     23007175886
18B3977418598B   JENNIFER N   ROBBERS                      OH     66091537741
18B39853372B62   LAURA        DURAN                        CO     90014538533
18B3B289291569   ESTHER       MUNOZ                        TX     75039172892
18B4115877B489   MARDOQUEO    HAU POOT                     NC     90001891587
18B42542872B62   RAUL         LOPEZ                        CO     90011015428
18B4383245715B   ZOILA        VELASQUEZ                    VA     81016008324
18B43868491569   ALVARO       VEGA                         TX     90004378684
18B44152155976   JOHN         OLIVAS                       CA     90014321521
18B44472551355   GEORGE       OSEI                         OH     90013044725
18B44539155976   JOHN         OLIVAS                       CA     49001835391
18B44884131687   STACY        BARON                        KS     90007068841
18B44A55972B62   JONI         TRUJILLO                     CO     90012800559
18B4513924B26B   TERRY        ICE                          NE     90000321392
18B4528678B863   SALOMON      KALIMA                       HI     90014502867
18B46454961958   MARIA        ORTIZ                        CA     46047944549
18B46643457147   JOSE         HIDALGO                      VA     81068036434
18B4749185715B   ARACELY      CRUZ                         VA     90008404918
18B47515831687   PAMELA       FORD                         KS     90005405158
18B48728661976   CEAIRRA      LIZARDO                      CA     90006407286
18B4972964B26B   ROCHELLE     CANBY                        NE     90008737296
18B49779993724   PAULETTA     PEPPERS                      OH     64577397799
18B49875585966   MIKE         JONES                        KY     90012318755
18B49995A91569   HOSEA        BOLDEN                       TX     75097159950
18B4B351A4B26B   TAMMY        GEHLE                        NE     90013943510
18B4B376751337   PAIGE        FULTON                       OH     66046113767
18B4B917191523   DAVID        ARRATIA                      TX     90013089171
18B4B99454B26B   ALEXANDRA    BRASE                        NE     90012259945
18B4BA75A57147   GONZALOS     REYES                        VA     90002500750
18B515A137B35B   TITO         PORTILLO                     VA     81085615013
18B5222A831457   DAVID        KEELY                        MO     90013622208
18B52534472B62   MADELINE     FITCHETT                     CO     90009955344
18B52661861958   ALEJANDRA    GONZALEZ                     CA     90010726618
18B52A5468B167   CLINT        BARRATT                      UT     90010040546
18B53243955976   ROSA HILDA   DIAZ                         CA     90012902439
18B5344564B26B   SCOOTT       DAVIS                        NE     90011814456
18B5359A78B644   MARIA        PEREZ                        TX     90015195907
18B5524A751355   RUSSELL      HIGHLANDER                   OH     90004092407
18B55764461938   ALI          ISMAEL                       CA     90010697644
18B56129761958   DEANNA       SMILEY                       CA     90009811297
18B56241257147   CALLETANA    EZQUIVEL                     VA     90005702412
18B56588191895   TANIA        BLEDSAW                      OK     21002845881
18B56988164135   BAWI         SANG                         IA     90013899881
18B57298991569   JUAN LUIS    FLORES                       TX     75001822989
18B57351A4B26B   TAMMY        GEHLE                        NE     90013943510
18B57521257147   IDALIA       RODRIGUEZ                    VA     81096465212
18B5771639373B   AMBER        TAYLOR                       OH     90009707163
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18B583A9A91569   JASON        MARTINEZ                     TX     90011053090
18B588A5291523   YADIRA       GARCIA                       TX     90009268052
18B59AA2361958   PERLA        OLIVARRIA                    CA     90008500023
18B5B33945B154   MARQUEISHA   WHITE                        AR     90012053394
18B5B357691569   LORENZO      OLIVAS                       TX     90004013576
18B5B756385966   DENISE       WHITAKER                     KY     90014727563
18B61356176B68   NOHEMI       LOPEZ                        CA     90008533561
18B6169A75B154   ANDRINA      WEBB                         AR     90013006907
18B62485172B62   MARIA        NUNEZ                        CO     33048544851
18B62688785966   ANTWAUN      MITCHELL                     KY     90014506887
18B6333A291569   EFRAIN       CANDIA                       TX     75051993302
18B6348324B26B   LINDA        ANDERSON                     NE     90008104832
18B6367945715B   VNS          CONSTRUCTION                 VA     90007196794
18B6424479373B   NADIA        HICKS                        OH     90005112447
18B6483237B489   DREW         JOHNSON                      NC     90002748323
18B6534A591523   SANDRA       GOMEZ                        TX     75085393405
18B65577985966   DUSTIN       SHEPPARD                     KY     90013135779
18B65625461938   MEKO         BOWDEN                       CA     90013506254
18B66172351359   MIYAH        HIBSHER                      OH     66091031723
18B6626A951364   DOMINIQUE    RICHARDSON                   OH     66092012609
18B665AAA57147   TONEY        TOMONEY                      VA     90013705000
18B66657761938   EDUARDO      POWELL                       CA     90011966577
18B6666179373B   AYISHA       WALKER                       OH     90005316617
18B6674A372B62   ALICIA       GURULE                       CO     33014887403
18B66868251337   LISA         JOHNSON                      OH     66000278682
18B66A6315B526   YVONNE       BLEA                         NM     90008300631
18B6777764B588   AMELIA       ESCAMILLA                    OK     21550337776
18B6831AA5B526   SHANTILL     MCKENNA                      NM     35032633100
18B6854A561939   AMADAIT      AVILES                       CA     90014295405
18B68672651337   SCOTT        SCHROER                      OH     90007746726
18B68751761976   MARIA        MENDOZA                      CA     90008277517
18B68A86991526   VALERIE      OVBIEKO                      NM     75052140869
18B69435772B62   SETH         LAVIGNE                      CO     33096004357
18B6967465135B   OUMOU        DIALLO                       OH     66021886746
18B6984A28438B   ONDREA       LEACH                        SC     19089888402
18B6B411331676   MELESIO      CAMPOS                       KS     90008464113
18B6BA3695B526   EDGAR        GURROLA-MATA                 NM     90013950369
18B7114144B588   ABEL         RESENDIZ                     OK     90014071414
18B72239955976   JOSE         PACHECO                      CA     90013612399
18B72283181639   GUADALUPE    MARINO                       KS     90013852831
18B72797161958   SARA         DE JESUS                     CA     46040277971
18B72825372B62   JASON        GOODNIGHT                    CO     90013548253
18B7288949373B   SCOTT        PATTERSON                    OH     90014668894
18B72A2725715B   JOSE         GOMEZ                        VA     90015150272
18B72A34891569   ALYSSA       ESQUIVEL                     TX     90012940348
18B73416561938   ALEJANDRO    COPLEY                       CA     90015114165
18B73599A91523   SELINS       HERNANDEZ                    TX     90012625990
18B7381A157147   ABDUL        SESAY                        VA     90009718101
18B74523A85966   RUSSELL      WEST                         KY     90015085230
18B7469124B588   SHARIDEN     MITTEL                       OK     90014506912
18B75242291895   JOHN         RITCHIE                      OK     21007732422
18B752AA751355   JASMINE      THOMASON                     OH     90002422007
18B753AA357147   DANIEL       CORDOVA                      VA     90014813003
18B757A9681639   LAMON        GLASGOW                      MO     90012917096
18B7588949373B   SCOTT        PATTERSON                    OH     90014668894
18B7618A34B26B   ALICIA       MCCONNELL                    NE     90013031803
18B76558543588   KIMBERLY     SMITH                        UT     90012095585
18B7683237B489   DREW         JOHNSON                      NC     90002748323
18B7769A955976   JOSHUA       TAYLOR                       CA     49050856909
18B78248572B62   GRACIELA     FIGUEROA                     CO     90002272485
18B7889584B588   JUAN         ROJAS                        OK     90014828958
18B7927A45715B   ARTURO       MIGUEL                       VA     90011812704
18B7959685B129   RONALD       BROWN                        AR     90010915968
18B79834151355   TERRY        JAMES                        OH     90011318341
18B7B442151355   ANGELA       CONWELL                      OH     90002054421
18B7B49675B526   VALERIE      MARTINEZ                     NM     35014014967
18B81566591263   MYISHA       COLEMAN                      GA     90000515665
18B8174815715B   LORNA        BALDALLO                     VA     81049387481
18B82142591569   ALEJANDRO    SALAS                        TX     75007961425
18B82534172B62   MICHAEL      SINGLETON                    CO     33078655341
18B82539441225   SHAWN        LATONE                       PA     90000775394
18B825AA357147   ZARTIA       BOLDEN                       VA     81049715003
18B83264551337   SHAWANA      CARTER                       OH     90011192645
18B83416472B62   BRETT        CRANDALL                     CO     90005794164
18B8367345B526   CHRISTINA    MARQUEZ                      NM     35071306734
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18B848A129373B   DAWNELLE     WINTROW                      OH     90003448012
18B8546A151359   KEIERSTEN    MARTIN                       OH     90012604601
18B8549615B526   NESLY        GONZALEZ                     NM     35068244961
18B85632551355   CHRIS        JONES                        OH     90008566325
18B86435385966   LORI         HAZELWOOD                    KY     90011914353
18B86656272B62   PRAIRIE      STANDINGBEAR                 CO     90013966562
18B86859485966   RICHARD      PARKS                        KY     90014598594
18B86A31961932   KELLI        ATCHISON                     CA     90007800319
18B8728755599B   ANA          SANTIEGO                     CA     90015082875
18B87963355976   LUCIA        HERNANDEZ                    CA     90009179633
18B87A39871964   WHITNEY      STEWART                      CO     32058070398
18B8861475B526   ALBERT       CASTILLO                     NM     90012666147
18B88976961938   BEATRIZ      BORRUEL                      CA     90014039769
18B8917685715B   ALBERTO      PANGILINAN                   VA     90003581768
18B891A6857147   NIXON        MARTINEZ                     VA     81054301068
18B89717991263   TAUSHA       JONES                        GA     90011547179
18B8B2A553B39B   ROB          BROWNE                       CO     33069112055
18B92225961938   DULCE        AMALLO                       CA     90014482259
18B92714461976   MINOR        RODRIGUEZ                    CA     46027527144
18B92736657147   ERLINDA      VILLATORO                    VA     90012897366
18B93175372B62   KARLOS       GOMEZ                        CO     33076591753
18B93225961938   DULCE        AMALLO                       CA     90014482259
18B9326A431687   LA DETRA     DEVON                        KS     90011092604
18B93584957147   PATRICIA     ROJAS                        VA     90014785849
18B93A1229373B   WAYNE        LAWRENCE                     OH     90009760122
18B94315891263   RAQUEL       PETTY                        GA     90011193158
18B9532935715B   ANIBAL       RAMIREZ                      VA     81038513293
18B9542197B489   BURL         FACEMIRE                     NC     11015204219
18B9556854B26B   BOBBI        KRAMER                       NE     90013675685
18B95983161938   JACOB        GOLDSTIEN                    CA     90013399831
18B95A4815B129   SANTERO      THOMAS                       AR     23011380481
18B9615729492B   CAROLINA     SALINAS                      CA     90014791572
18B9626298438B   ARTHUR       WALLACE                      SC     90013082629
18B96AA2357147   BRENDA       EUCEDA                       VA     90010480023
18B97356176B27   NOHEMI       LOPEZ                        CA     90008533561
18B9741A35B154   ELIZABETH    PANIAGUA                     AR     90006814103
18B976A1972B62   RAMON        RAMIREZ                      CO     90014456019
18B98233772B62   ALVARO       HERNANDEZ                    CO     90008442337
18B9827284B588   ERNEST       BREHM                        OK     90005692728
18B98491331687   VERONICA     WAGNER                       KS     22043134913
18B98686A91569   ELIJAH       HERNANDEZ                    TX     90014916860
18B98931A9373B   KAYLA        HARTMAN                      OH     90012539310
18B99621472B62   ROBERTO      GALLEGOS                     CO     33035656214
18B9993A391569   DE LA ROSA   VICTORIA                     TX     90008709303
18B9B196481639   JESSICA      DEWITT                       MO     90006911964
18BB1338A91569   ALEJANDRO    CABALLERO                    TX     90013673380
18BB1762881639   PATTY        TROTTER                      MO     90013327628
18BB3A5489373B   MARY         PLOSKI                       OH     90011260548
18BB442229373B   DAVID        SMITH                        OH     90009074222
18BB461475B526   GLORIA       MARQUEZ                      NM     35081206147
18BB4774A91523   INOCENTE     JAVALERA                     TX     90013967740
18BB4944491586   ODALIS       HOLGUIN                      TX     90010579444
18BB4A19485966   VICKY        SHARP                        KY     90012290194
18BB4A65451355   TONI A       FERRILL                      OH     90014940654
18BB5682A85966   DORIS        THOMAS                       KY     67075856820
18BB5686661958   RAUL         AVENDANO                     CA     46021476866
18BB57A3161958   RAUL         AVENDANO                     CA     90013877031
18BB584A78438B   DONALD       JUDGE                        SC     90009688407
18BB611124B588   PHILIP       JACKSON                      OK     90012871112
18BB6156691523   MIGUEL       RAMIREZ                      TX     75008791566
18BB639A95715B   LUIS         FERNANDEZ                    VA     90007873909
18BB65A9891569   ALMA         VERENA LOPEZ                 TX     90009385098
18BB6667654133   DUSTIN       SANDERS                      OR     90015436676
18BB6747257199   RODNEY       SCOTT                        VA     90001297472
18BB7356A91569   ALFREDO      AGUILERA                     TX     75087413560
18BB76A9A4782B   FREDDIE      BLEDSOE                      GA     90007246090
18BB79A8131687   CLIFFORD     BLACK                        KS     22041839081
18BB7A7664B588   KEVIN        STOLL                        OK     90014810766
18BB8289436B83   TANYA        DONALDSON                    TN     44538552894
18BB834445715B   MARVIN       VENTURA                      VA     90009623444
18BB839595B154   BRISEIDA     CANELA                       AR     90014393959
18BB8498372B4B   LAURA        SOLANO                       CO     90010794983
18BB8517861958   RICARDO      CASTRO                       CA     46055215178
18BB8864754122   RON          BALLESTEROS                  OR     90009908647
18BB92A6791263   ALVIN        EDWARDS                      GA     14531462067
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18BB941194B588   ADRIANA      MARQUEZ                      OK     90010484119
18BB9622857147   GILBERTO     MERLOS                       VA     90014766228
18BB9832957147   TONY         ALVES                        VA     90012968329
18BBB667261938   SALVADOR     VERA                         CA     90002026672
1911114217B489   NAZIRAH      MIDDLETON                    NC     11007171421
1911131A15B129   ANFERNEE     PEEZY                        AR     23009003101
1911173265B343   ALMA         SANDOVAL                     OR     90010027326
1911225415B232   THOMAS       POTTER                       KY     68018572541
1911246185B348   NEILLE       WARNER                       OR     90000304618
1911313795715B   MARICRUZ     SERRANO                      VA     90011261379
191133A235B526   MARIA        CORRAL                       NM     35056183023
1911425917B424   ALFREDO      OROZCO                       NC     90000922591
19114542A2B968   DARWIN       FULLON                       CA     90008275420
1911512AA97B47   TERESA       AGUIRRE                      CO     90009961200
1911624597B428   CHRISTIAN    GRAY                         NC     90013532459
191163A8291895   ROSALIND     REAGAN                       OK     90002593082
1911669989373B   BROOKE       LAYNE-BURNETT                OH     90010756998
1911725414B588   CASEY        WALKER                       OK     21569132541
1911764394B259   JOSEPH       DELANOIT                     NE     90011226439
191176A6A91263   JOSEPH       GAINES                       GA     90013786060
191177A188438B   EBONY        ANCRUM                       SC     90005297018
1911828A55715B   JOSE         GONZALEZ FLORES              VA     90002572805
19119137597B3B   GABRIEL      DAMIAN                       CO     90005531375
19119412A91569   MELLISA      MIJARES                      TX     90014524120
1911942654B588   KEILI        PALACIOS                     OK     90013254265
19119A5652B243   KAREN        WILLIAMS                     DC     90009890565
1911B277885966   BRIDGET      POPPLEWELL                   KY     90013492778
1911BA77951337   CRYSTAL      DAVENPORT                    OH     66014400779
1912124339373B   JOSH         HONEYMAN                     OH     90014772433
19121759A61958   SEOMARA      RAMIREZ                      CA     46036007590
19122A1164B259   LENIN        MEDINA                       NE     27051930116
1912322A25B154   JAMES        HUTCHISON                    AR     23021852202
1912324339373B   JOSH         HONEYMAN                     OH     90014772433
1912359165B129   EDWARD       EKYEM                        AR     23011595916
1912524324B259   JAMES        BILLER                       NE     27005152432
1912551398B192   EMILY        WATKINS                      UT     31009705139
1912569989373B   BROOKE       LAYNE-BURNETT                OH     90010756998
19125A6355B154   BERNARD      BRACELY                      AR     23075820635
1912653245B526   KENNY        TYYVELL                      NM     90014925324
19126551A4B259   KENNETH      CLAYTON                      IA     27079455510
1912673564B26B   KARA         CLARK                        NE     26065537356
1912716A585966   TONYA        MCCLURE                      KY     90013321605
1912787195B526   CHRISTINE    MARTINEZ                     NM     90006268719
19128167A9373B   DAVID        MOORE                        OH     90013261670
1912858355715B   MICHAEL      JACKSON                      VA     90015505835
1912887A633699   SAMUEL       TERRY                        NC     90001918706
191295A1A51355   LAMAR        JOHNSON                      OH     90011255010
1912997AA5B526   LANHUONGTH   TRAN                         NM     35014119700
1912B22839373B   DEISY        ESPINO                       OH     90014772283
1912B269161963   IVAN         VAZQUEZ                      CA     46079102691
1912B4A1151359   JOSHUA       STEPHENS                     OH     66037204011
1912B59635B526   LORIE        GUTIERREZ                    NM     90005265963
1912B759272B62   SELECIA      ROBINSON                     CO     90008657592
1912B84614B26B   KRISTAL      WORLEY                       NE     26038008461
1912BA1922B789   PAYGO        IVR ACTIVATION               ME     90012110192
1912BA38A57557   SAMMY        FERNANDEZ                    NM     90011450380
1912BA45651355   IVAN         RUFINO                       OH     66015550456
19131148A61938   YAJAIRA      NUNEZ                        CA     90010831480
1913244A75B264   JOSH         UNDERHILL                    KY     90006704407
1913289775B526   JOANNE       YANCEY                       NM     35077438977
1913327114B259   GREG         LEWIS                        NE     27077312711
1913351A96193B   BERNARDO     GALVEZ JR                    CA     46005805109
1913365335B154   MARIA        BOWERS                       AR     23092116533
191336A955715B   JUAN         SALGADO                      VA     81017436095
1913384584B588   ROBERT       GREENE                       OK     90000668458
1913413294124B   JESSICA      BLANCHARD                    PA     51033871329
19134347A72B62   JEAN         PAGETTE                      CO     90014333470
19135151472B62   ANNA         GARCIA                       CO     33000461514
19136441227B36   JAMES        MANNING                      KY     90014814412
19136545A91569   DAVID        GARCIA                       TX     90013195450
1913683645B154   SHARON       HENLEY                       AR     23077678364
1913698A391263   NIKKI        ANDREWS                      GA     90014039803
19137A8A24B588   ROBIN        LOPEZ                        OK     90012200802
1913849245599B   LISA         BRACKETT                     CA     90012684924
191399AA691569   SOFIA        CARREON                      TX     90007369006
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1913B337591263   DAVID        ANDRADE                      GA     90014443375
1913B568457125   TITO         MOLINA                       VA     81039265684
1913B89644B588   TED          RHYNE                        OK     21588298964
19143624A2B865   JENNIFER     PYKONEN                      ID     90012906240
1914363AA57147   SANDRA       RIVAS                        VA     90014166300
1914379A954174   LIDIA        ROBLERO GONZALEZ             OR     90011417909
19144353A91895   DIANA        MENDIAS                      OK     90006863530
1914447A185966   TAMMY        SHORT                        KY     90011154701
19145167A93745   ADRIANA      LAVY                         OH     64591481670
19145A1665B343   ANGELA       MARIE                        OR     90006330166
1914622839373B   DEISY        ESPINO                       OH     90014772283
1914629796B552   TIEGISTI     KETEMA                       SD     90015502979
1914638134B588   SECUNDO      DE LA PAZ                    OK     90014523813
1914641AA57147   AGUSTIN      MARQUEZ                      VA     81057934100
19146533A61963   THOMAS       HITCHCOCK                    CA     90014405330
1914727254B588   LUIS         RIOS                         OK     90000212725
19147A14461963   BRENICE      HUGHES                       CA     90013450144
1914829774B259   BARABARA     LASON                        NE     90007062977
1914837A772B62   PANCHO       VILLA                        CO     90012803707
19148A72A5B533   GUADALUPE    BELL                         NM     90006980720
191491A6451337   CASSIE       COOREY                       OH     90014771064
19149312436B72   RUBEN        RENTERIA                     OR     90010453124
19149597A5715B   DAVID        PADGETT                      VA     90005705970
191495A8136B72   RUBEN        RENTERIA                     OR     90012735081
191496A298B169   LAURO        DE SANTIAGO                  UT     31087916029
19149983874B7B   PAYGO        IVR ACTIVATION               OH     90006679838
1914B484391569   DIANA        LOPEZ                        TX     90006284843
1915131915715B   IVAN         ANDREJIC                     VA     81089123191
1915154A491826   HUNTER       FREEMAN                      OK     90012655404
1915168324B259   JOHN         ADDYMAN                      NE     90008046832
19151A5AA57147   ANDRES       CARAVANTES                   VA     90004890500
1915279A25715B   BLANCA       BONILLA                      VA     90014657902
1915318A791263   CARL         BULLARD                      GA     90014691807
191536A1185966   LULA         CARRIER                      KY     90014606011
19154547A93745   JOSH         BARNTHOUSE                   OH     90014245470
1915525174B588   TRINIDAD     PEREZ                        OK     90011622517
19156474A51359   JOSE         ORTIZ                        OH     66049264740
1915793835715B   DIDI         ALEMU                        VA     90013789383
1915874514B26B   RUSS         WENTINK                      NE     26042527451
19158A1927B337   PAUL         WESLET                       VA     81086270192
1915959575B526   MONICA       BUSTAMANTE                   NM     90013825957
19159914172B27   JAIRO        REYES                        CO     90012089141
19159A87291569   ERICA        PINON                        TX     90015150872
1915B151A61963   GIL          RODRIGUEZ                    CA     90012771510
1915B654591569   DIEGO        MILLER                       TX     90012826545
1915B868493745   NIKKI        KELLEY                       OH     90008938684
1915B98585715B   LAZARO       VENTURA                      VA     81094489858
19161112772B62   ROMONA       CAMPOS                       CO     33004551127
19161289A43563   ROBERT       RAUER                        UT     31031392890
191615A1391855   SUSAN        NEUMANN                      OK     90011905013
1916323525B526   WILLIAM      LUJAN                        NM     35033082352
191648A8157147   OLGA         HERNANDEZ                    VA     90005778081
1916528A35715B   DEYSE        ASIN MELENDEZ DE PARIONA     VA     90012562803
19165A7719373B   CARL         BARNHARDT                    OH     90014780771
191663A2185966   JAMES        COFFEY                       KY     90013973021
1916669654B259   DANIEL       ONOFRE                       NE     90008046965
19166A26193745   SHAWNA       MCINTIRE                     OH     90014600261
19167421A51359   JENNIFER     WHITE                        OH     90010064210
1916742228B863   MALIK        RILEY                        HI     90014754222
1916B31A951337   HEIDI        KUHLMAN                      OH     66044703109
1916B413131687   KENDRA       BELL                         KS     22072694131
1916B92665715B   DYLAN        CHAVEZ                       VA     90013929266
19172784A91569   LILIA        FLORES                       TX     75035197840
1917288174B259   MARGARITA    ROACH                        NE     90013638817
19172A82972B62   JESSE        VIDAL                        CO     33014980829
1917382999373B   NICOLE       WEIKERT                      OH     90008958299
19173AA464B259   FABIOLA      LECHUGA                      NE     90011050046
1917479195B343   DONNA        FOUNTAIN                     OR     44506807919
19175A1915B526   GINA         ARAGON                       NM     35066730191
19176A8A291569   DARRIN       RANKINS                      TX     90011190802
191777A765715B   TEKELACHE    GEBRE                        VA     81081737076
19177949672B62   MANUEL       AGUIRRE                      CO     33058359496
1917796735B299   ROSARIO      ABUNDEZRADILLA               KY     90014869673
1917831715B343   SHALONE      ELLIS                        OR     90014353171
1917838215B338   DANNY        KINGERY                      OR     44514933821
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1917866A557147   RONALD       POLO                         VA     90014166605
1917876A74B259   MARTIN       TELLEZ                       NE     90014157607
1917912614B259   HERNANDEZ    FLORENTINA                   NE     27039961261
191796A585B343   JENNIFER     SANDOVAL                     OR     44579986058
1917B525151359   ERICA        MOORE                        OH     90012165251
1917B62959373B   JENNIFER     HUNTER                       OH     90008556295
1918121834B588   JIMMY        WILLIAMS                     OK     90010992183
1918322435715B   EVA          SORTO                        VA     90013552243
19183397163B5B   NICOLE       BARNS                        IL     90010433971
1918343A951322   KESHA        TURNER                       OH     90013574309
1918398975B343   AURORA       SOTO                         OR     90011859897
191865A6A91569   LAURA        MERCADO                      TX     90013335060
19186A9384B259   GERI         KYLES                        NE     90015190938
1918787495715B   EVA          JUAREZ                       VA     90010478749
19188382472B62   NEIVA        GUTIERREZ                    CO     90012803824
19188621A61963   ROYA         EBRAHIMI                     CA     90014596210
1918941399373B   AMANDA       STOLLINGS                    OH     90013554139
191896AAA51359   SEAN         PHILLIPS                     OH     90002826000
19189752A9192B   SHALETIA     MCARTHUR                     NC     90014407520
1918989195B343   MICHAEL      GUN                          OR     90012908919
1918B2A8291964   NANCY        MOORE                        NC     90000562082
1918B43A85715B   GUILLERMO    MENJIVAR                     VA     90014874308
1918B48455B526   ARMANDO      REYES                        NM     90010354845
1918B697933699   DANIELLE     LINDSAY                      NC     90005136979
19191661872B62   AMERIC       ESPARZA                      CO     90004006618
19191828A4B588   DAVID        DOUGLAS                      OK     90015118280
1919262A25B526   CARMEN       RODRIGUEZ                    NM     90003936202
1919381684B588   SHANE        GEORGE                       OK     90013238168
191942A4951355   TERISA       KIER                         OH     90007342049
19194722A4B259   SARA         HUMPHREY                     IA     27044507220
19194A4484B588   LOUIS        SCAFFETTA                    OK     90005520448
19196317A7B489   LATONYA      BRAND                        NC     90008573170
191963A5851355   MARCOS       JIMENEZ RODRIGUEZ            OH     90014993058
1919762115B154   MARIO        BOCANEGRA                    AR     23022786211
1919829195715B   PEDRO        VALENCIA                     VA     81057722919
19198A2A161958   HILDA        CRUZ                         CA     46050270201
1919954A131444   KELLY        BAKER                        MO     90014565401
1919969599373B   CHARLENE     EASTERLING                   OH     64592336959
1919B942872B62   SEAN         TORRES                       CO     90011459428
1919B967291895   SARA         CLINGAN                      OK     90005679672
1919BA91A24B42   PATRICK      WARD                         DC     90003590910
191B1573191569   GLORIA       SANCHEZ                      TX     75014285731
191B366AA91569   TERRY        FERNANDEZ                    TX     75018816600
191B3A1235B526   HEALING      ALEX                         NM     90003910123
191B4196372B84   NICOLE       CHAVEZ                       CO     90013081963
191B4387A4B588   VICTOR       FOWLER                       OK     90013043870
191B4641761963   GABRIAL      LOAIZA                       CA     90013346417
191B4AA335B526   CHRISTIAN    LAZO OCHOA                   NM     90005880033
191B553119196B   LISA         MOORE                        NC     17088375311
191B5562957562   GUADALUPE    VILLALOBOS                   NM     90012465629
191B6167244353   LYNDON       FELIX                        MD     90015421672
191B6731757147   TRANSITO     HERRERA                      VA     90003787317
191B673214B26B   ASHLEY       BRIGGS                       NE     90000137321
191B729114B259   KRISTINA     CLARK                        IA     90000762911
191B7291591569   MICHAEL      ESCAJEDA                     TX     90009432915
191B7745691895   MATTHEW      BLACET                       OK     21001717456
191B8265791569   VERONICA     HAMBRICK                     TX     75012232657
191B836695B526   YAMIL        CHAHEINE                     NM     90015343669
191B858774B592   EVA          LEWIS                        OK     90008145877
191B8A9A961938   LIDIA        RODRIGUEZ                    CA     46076490909
191B922784B259   MARIA        GUADALUPE                    NE     90010582278
191BB47139373B   LAQUATA      JACKSON                      OH     90014764713
191BB63475715B   MOISES       ALMANZA                      VA     81007076347
191BB739791263   RAFAEL       ROSALES                      SC     90008667397
19211898324B7B   JOSE         ROMERO                       DC     90002668983
1921271624B259   LINDSAY      BAXTER                       NE     90011047162
1921318755B343   CHAERLES     ROCHA                        OR     90014971875
1921391698B472   EDWARDO      DIAZ                         VA     90014319169
1921414985B526   ANTHONY      LOVATO                       NM     35053441498
1921443119373B   JOY          RAEJEAN                      OH     90014774311
19215287A57147   MARLENE      MEJIBOS                      VA     90001562870
19215887A31687   KEISHA       GOULD                        KS     90012658870
192174A3791263   SHANNON      RILEY                        GA     90015424037
192174A5A93745   KAREN        LAWSON                       OH     90010194050
19217636572B62   ADAM         LUCERO                       CO     90012906365
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1921817695B343   REBEKAH          SOUTHER                  OR     90014781769
1921839A45B154   STEVE            HOWARD                   AR     23002113904
19218885372B62   JUANA            VELOZE                   CO     90012808853
1921917548B192   JOHN             RAY                      UT     31013921754
1921949185715B   WEILY            BOKEL                    VA     90012444918
1921976365599B   ALEX             REYES                    CA     48004927636
19219AA825B343   VERONICA         ROJAS                    OR     44529030082
1921B212561963   ERIN             WARNOCK                  CA     90000552125
1921B28514B259   MATTHEW          SANDQUIST                NE     90013022851
1921B2A615B343   ANGELINA         PLAQUE                   OR     90008932061
1921B4A9574B7B   LOIS             TYLER                    OH     90014494095
19221529772B44   ATON             MONDRAGON                CO     90006845297
19222628A51359   DAWN             NEALY                    OH     90011986280
192229A5991569   SYLVIA           MIRANDA                  TX     75041159059
19222A65447956   DAVID            DEPRIEST                 AR     24013500654
19223899A4B259   CATHI            GARABRANDT               NE     27063148990
192239A8355968   PEGGY            LITTLEFIELD              CA     90012119083
1922487144B259   IRIS             TORRES                   NE     90010408714
1922513225715B   JOSE             UGALDE                   VA     90006621322
19225331A61963   MANUEL           JIMENEZ                  CA     46071613310
1922644745B129   CINDY            MAXWELL                  AR     23091154474
1922652235B343   ANASTASIA        ROBINSON                 OR     90013275223
19226A15791569   ROSA             MORAN                    TX     75013130157
19227552A61938   MARIAELENA       ORTEGA                   CA     90008365520
19227A4444B259   ROBERT           LUKOWSKI                 NE     90013950444
19228557872B62   ROSALYN          DAVIS                    CO     90014585578
192296A1651337   RODNEY           LESTER                   OH     90014016016
1922B139491234   LASHON           KNIGHT                   GA     90011811394
1922B214372B62   OLGA             RIVERA                   CO     33033092143
1922B2A419373B   JESSE            BARKER                   OH     90011002041
1922B3A2661938   MARCO            SANTIAGO                 CA     90009363026
1923146114B22B   KEITH            MOMBERGER 2ND            NE     90001014611
1923151694B588   IRENE            HOLLENBECK               OK     21532785169
19231725772B62   SILVANO          CALDERON                 CO     90012927257
1923314865B343   DANIEL           SHAFEI                   OR     90007231486
1923339693B373   DOMINIC          FIELD                    CO     90013893969
1923441265B526   MONICA           PACHECO                  NM     90009184126
1923466125B343   ANTONIO          DE LUNDA                 OR     90000446612
19234675A57147   RONALD           POLO                     VA     90014166750
19235635A91569   EDUARDO          FLORES                   TX     90011526350
1923658418B144   JEANETTE         VEGA                     UT     90013075841
1923743564B588   JOHN             YOUNG                    OK     21588494356
19237584172B62   LUCIA            RIVERA                   CO     33059975841
1923822325B526   ROSA             ESPARZA                  NM     90005332232
1923845415B343   SUSI EMILIA      QUINTANILLA AGUILAR      OR     90014704541
19238975A9373B   DIANA            BOYD                     OH     90004589750
192394A5A93745   KAREN            LAWSON                   OH     90010194050
192397AA255976   WHITNEY          LANGSTON                 CA     90011727002
19239A81A91895   ELISA            SALAZAR                  OK     90012260810
1923B164672B62   PATRICIA         MORALES                  CO     33057041646
1923B3A2391569   ADRIAN           ESTALA                   TX     90008643023
1923B625371976   ROGER            MILLER                   CO     32068396253
1923B67295715B   ANTONIO          DAWSON                   VA     90011556729
19241727572B62   MYDA             HERNANDEZ                CO     33011887275
192424A9161963   JUHAR            SLEEA                    CA     90002914091
1924283654B588   TAYLOR           GOODMAN                  OK     90013088365
1924344A74B259   MATTIE           STOETZEL                 NE     90004734407
192459A1551355   DENNIS           HOUNSHELL                OH     90011369015
1924622688B337   FRANCIS          AGUIRRE                  SC     90005342268
1924666A557147   RONALD           POLO                     VA     90014166605
1924726174B259   MARGARET         GILLESPIE                NE     90002642617
1924976285B343   KAREN            KNORR                    OR     90010267628
1924B241791263   KATINA           KING                     GA     90014712417
1924B448672B97   OSCAR            FAVELA                   CO     90010044486
1924B95625B343   JOAQUIN ADELFO   GOMEZ CRUZ               OR     90013599562
192512A8491895   JIMMY            HARDEN                   OK     21093882084
19251474A85966   CLAY             HUNDLEY                  KY     90012074740
19251489372B62   CHRISTINA        REYES                    CO     90006054893
192515A864B588   REBECCA          SOTO                     OK     90009805086
1925165464B922   JEFFREY          HUFFMAN                  TX     90001556546
1925216979373B   DONNA            HOUSE                    OH     90005221697
1925262A95B399   SONYA            SANTOYA                  OR     90005276209
19253759572B62   ERNEST           WALKER                   CO     90013557595
1925463A672B62   JOSE             SANDOVAL                 CO     33014146306
1925489465B526   JACINTA          SENA                     NM     90013928946
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19255A2225715B   JAIRO        VAZQUEZ                      VA     90010700222
1925656469373B   ROBERT       CROWE                        OH     64548015646
1925678665B526   LAYLA        SALAZAR                      NM     90005577866
1925744974B26B   JANICE A     KIRCHOFF                     NE     26053094497
1925775AA61938   PERLA        DONATO                       CA     90010077500
1925782A871955   ANDY         VASQUES                      CO     90015168208
19257A79193745   KAY          PRITCHARD                    OH     90000430791
1925836A785966   DEQUENTIN    ANDERSON                     KY     90014733607
1925866A35B129   JOYCE        HINES                        AR     23058586603
1925887584B259   ALVIN        CARTER                       NE     27027738758
1925B488872B62   ALMA         POOT                         CO     90000564888
1925B85755B154   LISA         GURLEY                       AR     23047158575
1925BA16251355   DESIRRE      GOODEN                       OH     90011400162
19261A7719373B   CARL         BARNHARDT                    OH     90014780771
1926266867B323   DEISI        MARADIAGA                    VA     90010556686
19264375A57147   MARIA        JOHNSON                      VA     90012673750
1926492994B259   VAALELE      VILI                         NE     90004359299
1926496754B26B   CHRIS        PHARES                       NE     90004769675
1926514144B588   CHELSEY      FINCH                        OK     90014931414
19265A58891263   CYNTHIA      MEADOWS                      GA     90014930588
19266A38431687   STARR        WESTRA                       KS     90006700384
19267A7A572B37   JOSE         RAMIREZ                      CO     90002540705
192681A259373B   ISAIAH       CLARK                        OH     90014781025
1926864285B343   ASHLEY       CROSS                        OR     90013356428
1926B52644B588   ROBERT       MCMANUS                      OK     90014915264
1926B597931687   OMAR         RODRIGUEZ                    KS     90013905979
1926B83155B188   CHRIS        BROWN                        AR     90013818315
19271245772B2B   JACQUELYN    SABIN                        CO     90011582457
19271718A4B52B   OLGA         RIOS                         OK     90010707180
19271887272B62   LINDSEY      TORRES                       CO     90012808872
1927362455B343   ALFREDO      VARRAGAN                     OR     90014346245
1927387124B259   WAYNE        ABEL                         NE     27014978712
1927578425B129   CHAZEROUS    MARSHALL                     AR     23009157842
1927612989373B   DORA         ANDERSON                     OH     90014781298
1927615285B526   JEREMY       PETERS                       NM     90010631528
1927627917B424   MORISSA      BROWN                        NC     11015152791
19276635A91569   EDUARDO      FLORES                       TX     90011526350
19279A73651359   PAMELA       COOPER                       OH     90005290736
1927B278357147   NICOLE       WILCOX                       VA     90013102783
1927B294731687   ARMANDO      GONZALES                     KS     22090002947
1927B467157147   JOSE         LOPEZ                        VA     90002904671
1927B548A61938   ITZEL        ROQUE                        CA     90005825480
1927B794751337   RIGOBERTO    RAYMUNDO                     OH     66065217947
192822A689373B   JEFFREY      GIBSON                       OH     90006692068
19282428872B62   JASMINE      MANRIQUEZ                    CO     90012804288
19283219772B62   MARIGRAT     WAGIKU                       CO     90007492197
1928328894B259   KATIE        BARRO                        NE     90014482889
1928349524B588   SALVADOR     TORRES                       OK     90012934952
19284186397B3B   DESTINY      ARCHIBEQUE                   CO     90010101863
192852A2872B23   TOMMY        MARIN                        CO     90008572028
1928549775B526   ANTHONY      BARELA                       NM     90014344977
19286463297B58   JANICE       BAILEY                       CO     90001034632
1928713299373B   OSCAR        ALEJANDRO                    OH     64509311329
192878A7161963   EVONIE       SANCHEZ                      CA     90013358071
1928836A861958   SILVIA       MICH                         CA     90012183608
19288574772B62   MANUEL       HERNANDEZ                    CO     90013305747
1928B38582B249   RASCO        BRASWELL                     DC     90004353858
1928B58165B343   JAMES        SANDERS                      OR     90012315816
1928B59575B526   MONICA       BUSTAMANTE                   NM     90013825957
1928B87A65715B   JENNIFER     BLACKENEY                    VA     90000628706
1928BA36A4B259   DAVID        LONG                         IA     27087230360
19291865A5598B   CRISTINA     QUIROZ DE RODRIGUEZ          CA     90011818650
19292142A4B588   LAVEDA       BENT                         OK     21577301420
1929291285B526   CHAD         ALTMAN                       NM     90013929128
1929358175B526   KAILENE      DANIELLS                     NM     90013535817
19293A88651355   DAVID        LEACH                        OH     90013550886
19294336276B8B   MARIANA      SANCHEZ                      CA     90014103362
1929445194B26B   MELODY       CEPURNIEKS                   NE     26014584519
1929551954B259   MANUEL       CERRANO                      NE     27058305195
192963A5955934   RAYMUNDO     AVILEZ                       CA     90005903059
1929691754B26B   KATELYNN     PIPER                        NE     90006999175
19297959697B3B   SHANA        BE                           CO     90011789596
19297AA2772B62   DANIELLA     LOVATO                       CO     90006320027
1929861545B526   TIM          ABEITA                       NM     90002506154
1929919157192B   ADELINE      LIPPINCOTT                   CO     32088611915
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1929944245715B   WILLIAM      LLOYD                        VA     90011234424
19299A7964B543   BRANDON      GIBBY                        OK     90001820796
1929B483391573   BEATRIE      JIMENEZ                      TX     90000764833
1929B658351355   TIFFINEY     MCGHEE                       OH     66037986583
192B149817B489   ERICA        BLAIR                        NC     90009244981
192B1637561938   ELSA         ROBLES                       CA     90009136375
192B1884172B62   ALISSA       BRADLEY                      CO     90012808841
192B2144461958   YADIRA       SOLORIO JIMENEZ POZOS        CA     90010171444
192B3273461963   DIANA        LIZALDE                      CA     46000682734
192B38A6A47956   MAYRA        MERIDA                       AR     24038318060
192B3A1644B259   GABINA       PUENTES                      NE     27087430164
192B3A3535B267   SARAH        WARDLEY                      KY     90001780353
192B3AA1957147   TERRESA      BELL                         VA     90011490019
192B4456A72B62   LISA         CASAUS                       CO     90011984560
192B483AA72B62   FREDA        MAC                          CO     90006838300
192B48AA991263   ISABELL      RAMIREZ                      GA     90002158009
192B5959572B62   ATENAS       VALERIO                      CO     90011239595
192B6617291263   BETTY        JEAN                         GA     90013026172
192B666525B23B   KYLE         HASH                         KY     90013576652
192B6A68461963   TRISHA       MITCHEL                      CA     46089450684
192B717615715B   ALEXANDER    FRIAS                        VA     90012211761
192B7241791263   KATINA       KING                         GA     90014712417
192B7344A61963   GINA         BOWERS                       CA     90012453440
192B7656861958   RAMON        MEDINA                       CA     90009666568
192B9392185966   REGINA       PARKS                        KY     90010533921
192B9454551359   LARRY        MINK                         OH     66039324545
192B984645715B   FATIMA       ESPINOZA                     VA     90013228464
192BB954751337   EVA          LOPEZ                        OH     66056669547
192BB98418B863   LOHELANI     NAVESHIMA                    HI     90015369841
1931183688B683   TAMBRALE     DAWSON                       TX     90015478368
1931191545715B   ROSARIO      LICONA                       VA     90010259154
1931218535B526   AMANDA       FRESQUEZ                     NM     90005721853
193123A6A8168B   IESDRAS      PEREZ                        MO     90011833060
193124AA34B259   DANICKIA     ANDERSON                     NE     90003024003
19313178A5B154   SERENA       HENSON                       AR     90003631780
19313A68564135   MONICA       RANGEL                       IA     90013830685
19314A67A9373B   KELLY        MESSMORE                     OH     64580540670
19314A71757147   CECILI       VELASQUEZ                    VA     90003170717
1931616435B526   STEPHANIE    GONZALES                     NM     90010501643
1931663424B259   JOSHUA       DELONG                       NE     90014706342
19316A97A61963   DANIELLE     SANCHEZ                      CA     90014660970
19317131A4B588   MELANIE      ZUNIGA                       OK     21507071310
1931776A74B259   MARTIN       TELLEZ                       NE     90014157607
19317A23557147   NAPOLEON     BETANCURTH                   VA     81058280235
1931824A231687   MARINO       MEJIA                        KS     90013962402
1931B21345B526   BRENDA       ORTEGA                       NM     90002862134
1931B268161958   CARMEN       VELAZQUEZ                    CA     90007952681
1931B67942B934   ALEX         HARDY                        CA     90010876794
19321697A5715B   ROSA         TORRES                       DC     90011856970
19321A2A731687   SEBASTIAN    SMITH                        KS     90013220207
1932271978B683   ELDA         GUERRERO                     TX     90014567197
19322AA9885966   THURMAN      CRAVEN                       KY     90001690098
1932328265715B   EVELYN       ARGUETA                      VA     81054442826
19323A86457147   CAREN        LEMUS                        VA     90012760864
1932514539373B   MELISSA      TAYLOR                       OH     64574021453
1932569212B228   BOBBYY       GOLSON                       DC     90007916921
1932631729373B   ROBERT       LOWE                         OH     90014863172
19326781291B38   STEPHANIE    FRAZIER                      NC     90010937812
1932715975715B   OSCAR        HERNANDEZ                    VA     90013891597
19328A12433699   KAREN        KELLEY                       NC     12005130124
19328A76291263   NICOLE       SMALL                        GA     90010190762
19328A9694B588   SHALONDA     EDMONSON                     OK     90014700969
193296A6A61938   KEVIN        CRABBE                       CA     90010816060
1932976344B259   EDILBERTO    MORALES                      IA     90014247634
1932B96324B588   THEODORE     BLANKENSHIP                  OK     21542759632
1932B99585B343   STEPHANIE    ERHARDT                      OR     44551769958
19331279A5B523   CURRY        VISTULA                      NM     90008812790
19331A27431687   LATOSHA      STEPNAY                      KS     90007630274
1933227829373B   SHAWN        ELY                          OH     64575522782
1933327175B526   SAMUEL       HERRERA                      NM     90005182717
19333327472B37   OLGA         LOPEZ                        CO     90012953274
193337A5461963   STEPHANIE    GARCIA                       CA     46011607054
1933383512B85B   JAVIER       LARA                         ID     90014748351
19333885672B38   JENNIFER     MCCRORY                      CO     90010438856
1933695A13B388   FRANCISCO    RODRIGUEZ                    CO     90013639501
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193375A3791263   CASSANDRA         PHILLIPS                GA     90012845037
19337A46891569   MARISOLQ          PEREZ                   TX     90014170468
19338427172B62   PHILLIP           WHITE                   CO     90007414271
1933869868438B   REUBEN            BONDURANT               SC     90000986986
1933925975B343   JUDI              ELLIOT                  OR     90004262597
1933B6A4A5B343   JEFFREY           JORDAN                  OR     90012316040
1933BA56751359   REGINO            JIMENEZ                 OH     66073690567
1934247525715B   ADRIANA           CAMACHO                 VA     90014924752
193424AA48438B   CHARMAL           HILL                    SC     90003354004
19343A6985B343   BRANDON           QUARLES                 OR     90015120698
19343AA1A5715B   KIERON            HART                    VA     90003350010
1934417374B588   ANGELA            GISPERT                 OK     21519001737
19344313A9373B   SANDRA            IRENE                   OH     90014783130
19344848A91993   JULIA             HANLINE                 NC     90004988480
193454A1672B62   SONIA             ALCORTA                 CO     33059524016
19345A51561958   PATRICIA          HUERTA                  CA     90003620515
1934733828B337   CARLOS            ROMERO                  SC     90005923382
19348227A5715B   CARLOS            GALDAME                 VA     90008632270
1934859255B526   SANDRA            CHAVEZ                  NM     90013975925
1934942A191263   BETTY             GRAY                    GA     90014944201
19349A36224B7B   ALDA              ROMERO                  DC     90011150362
1934BA67147956   LARRY             DAVIDSON                AR     24034410671
193513A5751359   PATRICIA          REED                    OH     66094283057
1935179339373B   REN               KLINE                   OH     90005307933
1935255364B588   MELISSA           HALL                    OK     90012545536
19352587A5598B   MARIO             DELA CRUZ               CA     90012365870
1935281915B343   PETER             GIL                     OR     90001198191
19353489872B62   TEYLA SANCHEZ     CHRIS ROBERTSON         CO     90012084898
1935414325B343   ARMANDO           SILVA                   OR     90011961432
19354974A33B58   LYUBOV            SMETANYUK               OH     90011269740
19354A2555B36B   KATHLEEN          COELHO                  OR     90013770255
1935529295715B   EFRAT             MOSES                   VA     90013042929
19355364A31687   AMBER             SCOTT                   KS     90010673640
1935583795715B   JOSE              HERNANDEZ               VA     90014438379
19355A3294B259   RENEE             RIGHTER                 NE     27082560329
19355AA135B526   MELISSA           CORDOVA                 NM     90014850013
1935781475B154   RYDELL            BATTLES                 AR     23042678147
1935819A84B588   ROLANDO           CARDENAS                OK     90011031908
19358348A9373B   BOYD              GENTRY                  OH     90014783480
1935879295B343   PASCUAL           SIQUINA                 OR     90012707929
19358868372B62   JUAN              MARTINEZ                CO     90000868683
19359543A8598B   RODNEY            LEE                     KY     66078465430
1935B16214B26B   SEAN              BENNETT                 NE     26048441621
1935B177157147   RENE              ARGUETA                 VA     90012761771
1935B224A85966   TAJUAN            MARSHALL                KY     90005092240
1935B348A9373B   BOYD              GENTRY                  OH     90014783480
1936152915133B   RAVEN             MARTIN                  OH     90008745291
19361A76931687   EVERETT           RASDALL                 KS     90003040769
1936243285B343   FRAML             RAMIREZ                 OR     90010734328
1936264117B489   LATOYA            HOSEY                   NC     11086926411
1936292674B588   CAMILLA           WHITE BUFFALO           OK     90014229267
193639A8A57147   HENRY ADALBERTO   OLIVA                   VA     90008539080
1936494A657579   JORJE             GUZMAN                  NM     90014959406
1936596555B343   JOSE              MI                      OR     90014419655
19368A3875B267   THERESA           RANDOLPH                KY     90001620387
1936913A651337   NICOLE            PIKE                    OH     90009291306
1936965A591569   JENNIFER          CARBAJAL                TX     90012936505
1936B487157147   SILVIA            CHAVEZ                  VA     90001234871
1936B657351359   ELLIOTT           RICE                    OH     90008976573
1936B71385B154   DESHONDRA         WOODLEY                 AR     23084177138
1936B763891263   WELEY             WEST                    GA     90013507638
1937132177B489   TARAH             GILCREAST               NC     11030693217
19371462A33699   ANTHONY           STRICKLAND              NC     12010884620
1937151895715B   CESAR             MONTANO                 VA     81020295189
19371A84651337   ANTHONY           DUNKLIN                 OH     90000920846
19371A91191244   SCHRELL           GREENE                  GA     90006270911
1937235929373B   JAMES             BARTEE                  OH     90014783592
1937336AA91263   BRIAN             MERRETT                 GA     90011213600
193733A1151359   PATRICK           KELLEY                  OH     90014493011
193736A1791569   EDUARDO           SALAS                   TX     90000826017
1937375A44B259   TODD              TAGGART                 IA     27089507504
1937567925B343   SANDRA            GOMEZ                   OR     90013936792
19376354A5B154   SHARITTIA         ASKEW                   AR     90005333540
193767A575715B   CESAR             REYES                   VA     90013267057
19376AAA951359   CHAD              GRAY                    OH     90010700009
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193772A6361938   MARIBEL          MARTINEZ                 CA     90014002063
19378AA7591895   BRAD             GLOVER                   OK     90010810075
1937937615B526   NATHAN           STRENGER                 NM     35080123761
193797A412B934   STACY            CHEATHAM                 CA     90010047041
1937B699691263   LIZET            ALVARADO                 GA     90015146996
1937B949193745   ELLA             DAMERON                  OH     90014799491
1938128229373B   DEVANTE          ROEBUCK                  OH     90001332822
1938199315B343   SHANNON          LIDGARD                  OR     44520809931
19381A85751355   TOSHA            JONES                    OH     90009570857
193826AA75B343   KANDICE          DUKE                     OR     90013366007
19383193872B62   JASON            SIMPSON                  CO     90015231938
193831A954B259   FABIAN           JIMENEZ                  NE     27034691095
19383A5865B154   VINCENT          ROBERTS                  AR     23006990586
1938477888B337   AMANDA           MARTIN                   SC     90001877788
19384A19391569   PAULINA          SAAVEDRA                 TX     75047810193
19384A8785715B   YANIRA           ORTIZ                    VA     90011240878
1938573664B259   MATERNE          VEI                      NE     27004887366
1938585599373B   JASON            SPARKS                   OH     90012718559
1938599239373B   KEVIN            BROOKS                   OH     90004839923
19386898A61963   JAMES            SUMMERS                  CA     46008638980
1938851A524B7B   CIERRA           TAYLOR                   DC     90015195105
19388A4325715B   ANGEL            DOMINGUEZ                VA     81066110432
1938914595B384   MICHELLE         BRYAN                    OR     90010061459
1938915A65715B   MARIBEL          REVOLORIO ESTRADA        VA     90015271506
193897A4231687   LUIS             OSUNA                    KS     90014547042
1938B95359373B   LATANYA          KEMP                     OH     90014789535
1939136659373B   DANA             QUINN                    OH     90009913665
1939222844B259   LAURA            RYAN                     IA     90013262284
1939269918438B   CEDRIC           WRIGHT                   SC     19088326991
19392A1765715B   NIKITA DENISSE   MCKENZIE                 VA     90013230176
1939319A15B343   NICOLAS          SANCHEZ                  OR     90010041901
19393327A9373B   TAMEKO           CRUMPTON                 OH     90012583270
1939426A67B469   VICKY            BRADSHAW                 NC     90001772606
19394438A85966   AMANDA           GORDON                   KY     67033044380
1939467895715B   VIRGINIA         GALVAN                   VA     90014426789
19394A2817B323   MIHERET          GEBREKIDAN               VA     81056010281
1939539729373B   RACHAEL          AYERS                    OH     64584153972
1939651814B26B   JENNA            NELSON                   NE     26013825181
19397735A5B378   CARLOS           SARCOS                   OR     90012637350
1939844219373B   GALE             LINDON                   OH     90014784421
19399A7A49373B   TYRA             EVANS                    OH     90014060704
1939B724991884   ELIZABETH        SALLAS                   OK     90010787249
193B1154A4B588   LAUREN           JOLLY                    OK     90013651540
193B1335351355   ALEXIS           JONES                    OH     90003663353
193B1441361938   LISA             CRABTREE                 CA     46070034413
193B1513A5B343   ANGELA           PAINTER                  OR     90013385130
193B1584644353   LANITA           PARKER                   MD     90012565846
193B182A847956   CASSAUNDRA       ANDREWS                  AR     90006008208
193B1896757147   MANUEL           FUENTES                  VA     90013658967
193B263A461938   AIOTEST1         DONOTTOUCH               CA     90015116304
193B424285B343   JODY             GUTIERREZ                OR     90010712428
193B4648272B49   JUAN             HERNANDEZ                CO     90012676482
193B469324B588   KIRSTEN          CAMPBELL                 OK     90011686932
193B48A4651359   JEREMY           WILLIAMS                 OH     90015428046
193B4979A72B62   BRYANT           SIMS                     CO     90011239790
193B6219391586   MARTHA           SANCHEZ DE ANZALDUA      TX     90010672193
193B6371361963   MYRA             JOHNSON                  CA     90008853713
193B6611993745   JENNIFER         DYE                      OH     90008166119
193B744A65B526   CONSUELA         ALDERETE                 NM     90007724406
193B7725557147   KARA             BRATHWAITE               VA     90015027255
193B787A291263   VICTORIA         BAKER                    GA     90005728702
193B798A772B62   MISTY            ROGERS                   CO     90011239807
193B8196A9373B   LATORE           WHITE                    OH     90014781960
193B823145598B   NELLIE           DE LOS SANTOS            CA     49046682314
193B8522785966   MARK             COMBS                    KY     67004965227
193B917615B526   DANIEL           SOSA                     NM     90000451761
193B9448361938   RICHARD          AGUILAR                  CA     46087684483
193B9484661963   FALAH            BAHO                     CA     90012104846
193B961485715B   KABEYA           NYEMBWE                  VA     90012266148
193B974227B489   LILLIE           ROBINSON                 NC     11046097422
193BB174291263   JASON            FERRELL                  GA     90015101742
193BB317951337   ELEASE           FULGHAM                  OH     66038613179
193BB333A51355   JENNIFER         LENOS                    OH     90014033330
193BB44745B343   ANTHONY          BEERBOHM                 OR     90009044474
193BB61A54B26B   BARBARA          SLUSSER                  NE     26090886105
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1941279827B489   SHENNA        SCOTT                       NC     11007797982
19413A7394B259   PATRICIA      DURDEN                      NE     90008610739
1941418575B526   ALICE         CHAVEZ                      NM     90011001857
194142A725B338   MANDY         CONN                        OR     90004682072
1941453519373B   BETTY         JONES                       OH     64501995351
19414A22291569   JESSICA       DELPALACIO                  TX     90010480222
19415892472B62   KEVIN         SANCHEZ                     CO     90013668924
19416278A9373B   PAMELA        CRAWFORD                    OH     64539492780
194163A5351355   MARIA         CAMINERO                    OH     90012443053
1941668A293724   TERRI         ROBERTS                     OH     90005726802
1941679114B259   ERIN          MULCAHY                     NE     90004337911
1941823324B588   LASHAWN       ERVIN                       OK     90001172332
1941852364B259   BRENDA        DUPREE                      NE     90008925236
1941888558438B   GINGER        CASS                        SC     19053948855
19419597A72B62   JOSE          GONZALEZ                    CO     33045855970
194198A488438B   JAMES         WILLIAMS                    SC     19053048048
1941991745B129   ALONRETHER    THOMAS                      AR     90004209174
1941B413993745   MARA          LAMBERT                     OH     90014834139
1941B75A972B62   FABIAN        AGUILAR                     CO     90013887509
1942151489373B   AUSTIN        KRUG                        OH     90014505148
19421739272B62   JOSE          CARRILLO                    CO     90015027392
19421799A93745   JESSICA       RUDY                        OH     90014857990
194222A937B489   MALCOLM       EVERETT                     NC     11049392093
194226A859373B   KELYEA        DERRICKS-LINDER             OH     90014786085
19422987A51337   SHELLEY       STOCKHOFF                   OH     66094839870
19422A4215715B   MELISSA       A VAILLANCOURT              VA     90015110421
194236A859373B   KELYEA        DERRICKS-LINDER             OH     90014786085
1942521A25B343   JASON         DARNELL                     OR     90012982102
1942548A861938   LAURA         LOPEZ                       CA     90013604808
1942589975B343   NOLAND        CHOU                        OR     90012908997
194263A6161963   DEVON         WILLIAMSON                  CA     90013613061
1942673554B588   KIM           MAJOR                       OK     90013977355
1942712944B259   TAMMIE        MEYER                       IA     90013951294
1942853A661938   JOSE          GUTIERREZ                   CA     90011175306
19428929A61938   ISAIAH        HAWKINS                     CA     90012779290
1942939585715B   CARLOS        VALDEZ                      VA     90009963958
19429A83261958   ALRIC         KING                        CA     46077990832
1942B58942B864   CYNTHIA       DAHLIN                      ID     90013475894
1942B64A761963   SCOTT         WOLFE                       CA     90012116407
1942B839497B47   JULIO         ESPARZA                     CO     90011628394
194315A3651337   ARIEL         FURR                        OH     90003025036
194322A354B588   JANINA        MATHIS                      OK     90006992035
1943254748438B   KEOSHA        THORNE                      SC     19056395474
1943333285B343   JUAN          CHAVEZ DE VERA              OR     90013883328
1943482714B259   TERESA        GRAJEDA                     TX     27000378271
19435A8474B588   MARGUERTITE   POLLOCK                     OK     90012400847
19436A24672B62   TYRONE        WOODSON                     CO     90014550246
19436A4875715B   GABRIEL       MENDOZA                     VA     90013820487
19437253A72B62   GARY          MILLER                      CO     33088942530
19437324991B43   ELIZABETH     GOMEZ                       NC     90014753249
1943738994B259   CHRISTOPHER   WRIGHT                      IA     90014473899
19437547A61963   BRENDA        ACOSTA                      CA     90008275470
1943778945B343   NATHAN        SURPRENANT                  OR     44514737894
1943923515B343   FREDY         ZAID                        OR     90015112351
1943965A69373B   JODIE         SAGE                        OH     64577436506
1943B139761976   BRIDGETTE     MARISCAL                    CA     90008061397
1943B23685715B   MARK          MCELROY                     VA     90011152368
1943B317976B68   GILDARDO      VILLICANA                   CA     90007063179
1943B773451359   SERGIO        PEREZ VELASCO               OH     66087707734
1943BA9694B588   SHALONDA      EDMONSON                    OK     90014700969
1944185A44B259   AMANDA        MILLER                      NE     90014308504
19441A4A74B259   MOORE         MIRANDA                     IA     90007850407
1944223A461963   DERRIK        MEAD                        CA     90014742304
1944229433B324   CHARLES       WILLIAMS                    CO     90002872943
1944256694B588   CASSANDRA     WILLIAMS                    OK     90010695669
194426A9151337   AMANDA        WASHBURN                    OH     90011576091
1944328565B526   BARBARA       MOLINA                      NM     35046052856
1944333389373B   CHRISTOPHE    BORDERS                     OH     64531733338
1944365A451355   DORIAN        WILLIAMS                    OH     66004556504
19443A46972B62   JESSICA       CARTER                      CO     33065520469
1944428255715B   MELVIN        RAMOS                       VA     90011242825
1944523645715B   MICAELA       ROSALES                     VA     90011242364
19445922A72B62   DAISHA        FERNANDEZ                   CO     90007909220
1944629925B343   CHRISTOPHER   LOFGRAN                     OR     90014802992
194465A165715B   BOSOM         MADUAKOR                    VA     90012925016
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1944841A54B259   DAVID                   GOODWIN JR.       NE     27065594105
19448566172B62   JUSTION                 NIETO             CO     90012405661
1944B326557147   JULIO                   ORELLANA          VA     81043883265
1944B82972B232   DIANE                   WASHINGTON        DC     90004088297
1944BA18691569   BRANDON                 HERNANDEZ         TX     90011180186
1944BA59961938   TIANNAH                 WEBB              CA     46024960599
1945151A751355   CHRIS                   KELLUM            OH     90014525107
1945181178438B   VICTOR                  JARAMILLO         SC     90009368117
1945183474B259   KIMBERLY                GRAVEY            IA     90013518347
1945194349373B   TERRIE                  VEAL              OH     64540119434
194525A715B343   HECTOR                  PEREZ             OR     90010735071
1945351A861963   JULIAN                  SOTO              CA     46061525108
194535A488B337   ADAM                    ROWE              SC     90008035048
1945362A44B259   HEATHER                 OBARA             NE     90000406204
1945393A651355   CHERRELL                KILGORE           OH     90004759306
19455296A93745   JOHN                    CONNER            OH     64518732960
1945557715B129   JOHN                    THROWER           AR     23010695771
1945626945B384   EMMA IOLA PUANANILLII   WILMES            OR     90007782694
1945643894B588   RAMIRO                  JESUS             OK     90014824389
1945686484B588   NORMA                   ALVILLAR          OK     90014778648
1945995845715B   CHERYL                  FISH              VA     90012099584
1945B41835B343   FOY                     GONZALEZ          OR     90014414183
1945B98335B526   JOSEPH                  MANZANARES        NM     35057339833
1946127A761963   DARRYL                  SCOTT             CA     90009732707
1946198289373B   YOLANDA                 CARTER            OH     90000889828
19461A76A5B526   ROBERT FRANCIS III      FIEGE             NM     90015080760
1946288A35715B   PAUL                    MALLARD           VA     81091128803
19462A8329373B   JAMIE                   KINDRED           OH     90014790832
1946411764B26B   JAMIE                   SNIDER            NE     90006721176
1946413744B259   JULIAN                  LOZANO            NE     90013951374
1946429818B337   CARMEN                  PICKETT           SC     11098392981
1946468214B26B   JAMIE                   SNIDER            NE     90014616821
19464775624B7B   KESHA                   WASHINGTON        VA     90006387756
19464A99972B62   ARLINDA                 CONTRERAS         CO     33018120999
1946745124B259   HEIDY                   LOPEZ             NE     90013124512
19468375A72B62   TIARA                   PACHECO           CO     90002443750
1946848964B935   YVETTA                  JOUBERT           TX     90011684896
19468493A5715B   LETICIA                 ESTRADA           VA     90011244930
1946898A95B526   MEREDITH                BLACKMON          NM     90008309809
19468A35251337   BRITTNY                 DAVIS             OH     90012970352
1946946367B476   MAURICE                 BELT              NC     11087104636
19469A2A75B343   RACHELLE                STEVENS           OR     90000070207
1946B43324B259   SERGIO                  SUAREZ            NE     90013124332
1946B63A772B62   ESMERALDA               LOPEZ             CO     90010316307
1946B663142576   JULIO                   CANCHE            WA     90015436631
1946B853572B62   AMANDA                  JACKSON           CO     90013498535
1947149224B26B   CLAUDIA                 BARRENTOS         NE     90011764922
1947333314B588   ANTHONY                 HARTFIELD         OK     90009863331
19474A48657147   JENNY                   FUENTES           VA     90014180486
19474A8554B588   TRINA                   POINTER           OK     90010980855
1947523354B26B   DEISY                   PUENTES           NE     26013382335
1947559A991569   JOE                     VALLES            TX     90006255909
1947585AA4B588   AUTUMN                  THLOCCO           OK     90009078500
19476151A61963   JEFFREY                 CABRERA           CA     90014671510
1947691714B259   AMY                     LUVISI            NE     27030549171
194778AA35B343   PAUL                    RONALD            OR     90014758003
194785A515B526   ALICIA                  DILLARD           NM     35061325051
1947869685B526   ALICIA                  DILLARD           NM     90012386968
1947978425715B   MARIA                   BONILLA           VA     90008597842
1948194662B892   SARAH                   PRINCE            ID     90012369466
19482151A61963   JEFFREY                 CABRERA           CA     90014671510
1948267774B537   ALEXANDER               FONSECA           OK     90005186777
1948375185B526   FORTINO                 ORTEGA            NM     90010127518
19483A5269373B   JOSE                    YORVI             OH     90014790526
1948454165715B   JOSE LUIS               GOMEZ             VA     90011245416
1948524525B129   ZETTIE                  OLIVER            AR     90001002452
19485A62261963   JUAN                    BAEZA             CA     90013920622
1948677764B588   SHARLINE                WALKER            OK     90009437776
1948698544B26B   LAUREL                  CRUSINBERRY       NE     26049539854
1948733484B588   SHARLENE                STARR             OK     90010203348
194886A5451337   CHARLES                 MASUR             OH     90010966054
19488A13451337   CHARLES                 MASUR             OH     90014810134
19489831997B38   DUSTIN                  GIBSON            CO     90010508319
19489A8144B588   FERNANDO                MOSQUEDA          OK     90007930814
1948B272251337   ALEXANDER               SMITH             OH     90001862722
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1948B4A9891263   KENDIL       SAMUELS                      GA     90014834098
1948B74A331687   VICTORIA     ROSE                         KS     90011187403
1949123968B863   WARREN       DAVID                        HI     90014882396
194913AA772B62   LISA         KING                         CO     90013843007
194921A8A86455   ARTURO       PARRA                        SC     90015431080
194925A6561963   TOPP         YURASEK                      CA     90014965065
19492A6589373B   DEBRA D      MARRERO                      OH     90001240658
1949339837B444   DANIEL       ABARCA                       NC     90012693983
19494866272B62   MARIA        GONZALES                     CO     33088788662
1949562817B489   DAKNYA       ANDREWS                      NC     11042216281
194968A9557147   WAYNE        HENDERSON                    VA     90014378095
19496A55A72B62   SHARNAE      OSBORNE                      CO     90010470550
1949723152B857   RICHARD      BROWN                        ID     90004072315
1949829275B343   INOCENCIA    GONZALEZ                     OR     44565562927
1949936289373B   CHRIS        HUGHES                       OH     64555213628
19499987A51337   SHELLEY      STOCKHOFF                    OH     66094839870
1949B2AA55B524   RACHEL       GARCIA                       NM     90012822005
1949B9A389373B   DIAZ         ROMAN                        OH     64594219038
194B148A861938   LAURA        LOPEZ                        CA     90013604808
194B198565715B   MARVIN       LINARES                      VA     90000979856
194B239484B26B   KRISTINA     JOHNSON                      NE     26099403948
194B2424A51359   MARK         HAMBLIN                      OH     66044144240
194B2495391569   MARIANA      GANDARA                      TX     75002334953
194B2558A4B588   STEVE        SCOUFOS                      OK     90013835580
194B2759591263   EMMANUEL     ROSE                         GA     90009497595
194B28AA28B192   BERNARDO     TRAJO-LARA                   UT     31017068002
194B3421161963   RAYMON       BELDEN                       CA     90012194211
194B3552251337   LELVIN       RAMOS LEIVA                  OH     90013885522
194B367A35B129   GUADALUPE    GARCIA                       AR     23012046703
194B4657957147   MARCO        OLIVA                        VA     90013886579
194B474485715B   JEROME       HARRIS                       VA     90014587448
194B491419373B   DUWAYNE      WITT                         OH     64530969141
194B52A4251355   BRIAN        SCHLICKER                    OH     90008552042
194B538243B396   PATRCIK      HAMM                         CO     33060373824
194B5438591569   LUIS         CASTRO                       TX     90001774385
194B54A7172B43   GUNJRRT      GERWAL                       CO     90013024071
194B5565291945   SIRA         HERNANDEZ                    NC     90000545652
194B56A254B259   MELANEY      MCFARLAND                    NE     90014496025
194B5A51185966   MONICA       SIZEMORE                     KY     67009620511
194B6348993745   ELIZABETH    CAUDILL                      OH     90014833489
194B639765B384   KATHERNE     BLIXT                        OR     44587983976
194B648537B489   ABDIRIZAK    MOHOMED                      NC     11007394853
194B8387593745   TABETHA      HAYNES                       OH     90014833875
194B8487261938   MILFORD      WILSON                       CA     46007024872
194B8956591578   GEOFFREY     OWEN                         TX     90006259565
194B9391893745   DAVID        TAYLOR                       OH     90014833918
194B99AA65B343   DANA         MANIVONG                     OR     90012059006
194B9A47472B62   SERGIO       LENDOS                       CO     33013370474
194BB289224B38   FATMATA      BANTA                        VA     81088472892
194BB35824B26B   SYLVIA       SEYMOUR                      NE     26013833582
1951176A44B26B   JASON        GILMORE                      NE     90002447604
1951184295715B   GEMECHU      AGA                          VA     90013958429
1951269A25B129   CASSANDRA    LANDERS                      AR     90013866902
19514477A91569   GEOVANNI     LOPEZ                        TX     90014934770
1951532A751359   ANNA         DUNN                         OH     90001423207
1951548544B588   JOHN         STURGIS                      OK     90014674854
1951632969373B   QRASHEMIA    JOHNSON                      OH     90013393296
195167A1191569   TOMAS        MORALES                      TX     75016097011
1951718414B259   CHRISTIAN    JIMENEZ                      NE     90013951841
1951774815B526   LETICIA-RE   COLE                         NM     35051577481
19518193A5715B   WALDEMAR     CABRERA                      VA     81085281930
19518A25847956   ARACELY      RESENDEZ                     AR     24077650258
19518A4215B343   LIDIA        LORES-LEZCANO                OR     44594320421
1951982855715B   MELISSA      CRUZ                         VA     90014588285
1951B48884B26B   SHANTEKIA    HITE                         NE     90004154888
1951B547261958   REGINA       GUILIN                       CA     46005135472
195213A1A57147   WALTER       TREJO                        VA     90010973010
1952317359373B   NICOLE       WARREN                       OH     90014791735
19523A71757147   CECILI       VELASQUEZ                    VA     90003170717
1952468A88B147   GUY          LANE                         UT     90008716808
1952555383B386   BRITTNEY     HAMILTON-VERNON              CO     33018465538
195258A1751355   KAMICAH      FLAGG                        OH     66041628017
1952591555B526   PAULINE      HERNANDEZ                    NM     35046069155
1952611A224B7B   UGOCHUKWU    ENWEREM                      MD     81063461102
1952616A34B259   MORRISHA     MILLER                       NE     90004031603
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1952685795B526   ABEL               MATA                   NM     90012488579
1952699924B588   CASEY              WARDLAW                OK     90010479992
1952799854B259   MONICA             GREEN                  NE     90014879985
19527A74A54133   CARLOS             BARAJS                 OR     90014820740
1952817A35B343   GARY               LABRANCHE              OR     90006211703
19528212672B62   LORENA             YEPEZ                  CO     90012852126
195299AA991322   EMNET              DEJENE                 KS     29016869009
1952B289891263   TIKIMA             BOWERS                 SC     90013252898
1952B28A25B384   JESSICA            HOSCOE                 OR     44512202802
1952B318451355   SHAWN              BREWER                 OH     90015133184
1952B94229373B   RYAN               BROWN                  OH     64580239422
1953143514B259   DARREN             JOHNSON                NE     90000494351
195314A2261963   HEATHER            ALEXANDER              CA     46090024022
1953185845B343   NICOLE             LEE                    OR     90005598584
195321A4A33B27   JACOB              SMITH                  OH     90013361040
1953368915B526   BRIAN              BENALLY                NM     90012246891
19534225A91263   SAMANTHA           JOSEPH                 GA     90012872250
1953472A68438B   MARY               WARING                 SC     90006527206
1953487115715B   JOSEPH             DISHONG                VA     90000408711
1953549974B259   EMMA               OKUL                   NE     90007214997
19535A98331687   JUAN               ROSAS                  KS     90013320983
1953663525715B   LYNNETTA           LACOMB                 VA     90009936352
195372A419373B   PATIENCE           GARRISH                OH     90014792041
1953772935B129   TAS HONDA          GOFORTH                AR     90002677293
1953778474B588   CONSTANCE          LITTLETON              OK     21511017847
195398A224B92B   CLAUDETTE          ALEXANDER              TX     76587638022
19539A35451359   ALEX               TURNER                 OH     90012550354
1953B14535B526   AURORA             VASQUEZ                NM     90012031453
1953B34635B338   LEONARD            WATSON                 OR     44505013463
1953B88615B129   SAVANNAH           THOMAS                 AR     23039448861
1953B968351337   LAURIE             TUCKER                 OH     90006479683
1954128479373B   MICHAEL            TERRY                  OH     64501712847
1954137617B489   BARRY              TESENIAR               NC     11043313761
19541A35451359   GERMAINE           DUNN                   OH     90014740354
195439A6A7B479   FERNANDO FAUSTIN   SOLANO                 NC     90004819060
195453A8891549   CESAR              GARCIA                 TX     90010403088
195461A5491263   DEE                BRYANT                 GA     90013541054
19546398A7B476   MARY               SHERRILL               NC     11002373980
19547A77672B62   ISMAEL             FLORES                 CO     33083390776
1954814324B259   NURUDIN            SALEH                  NE     90004031432
1954828562B242   VALERIE            REID                   DC     90012952856
1954832289373B   ANTONE             ALLEN                  OH     64577903228
19548418A57147   MARVIN             PEREZ                  VA     90011054180
1954931339373B   RONIKA             WRIGHT                 OH     90014793133
1954B417672B62   MARIA              HERRERA                CO     33059054176
1955151965B526   ISSAC              UCERO                  NM     90010935196
195516A375B343   BRANDON            SCHIEBEL               OR     90013546037
195516AA35715B   ANGELA             CRESPO                 VA     90011246003
195518A8861963   SAMIR              TOUMA                  CA     46078848088
195519A6691569   EDUARDO            JIMENEZ                TX     90014549066
1955229925B343   ORSI               CABRERA ESCOBAR        OR     44566662992
195523A3361938   JUAN               FLORES                 CA     90014913033
1955344425B526   RANDY              MOLISEE                NM     90015304442
19553A88997B58   PEGGY              SALZMAN                CO     39098850889
195554A135B526   CHRIS              MONTANO                NM     90007624013
1955679A291569   JESSICA            IBARRA                 TX     90013947902
19557121A31687   ALEXANDRA          PETERSON               KS     90015291210
195577A7461958   JAKE               HORMAN                 CA     90006117074
1955781635133B   ERIC               PERKINS                OH     90011128163
1955859375B526   CHRISTINA          DOZAL                  NM     35075195937
195586A7261963   CHRISTINA          CALIXTRO               CA     90013896072
19558726924B7B   ALONZO E           DOLBERRY               DC     90005787269
1955923917B489   TISHA              LIGON                  NC     11081712391
195598A7561938   CHRISTINA          CARR                   CA     90000958075
195598AA291569   MANUEL             ARANDA                 TX     90000388002
1955996764B588   DANIEL             CARREON                OK     90012619676
19559A39177574   DAVID              GRIBBLE                NV     43059470391
1955B779791263   LAKESHIA           RUTH                   GA     90014557797
1955B828951359   AMBER              MCKEEVER               OH     90013288289
1956171A55715B   HUGO               MARTINEZ               VA     90004617105
19562A42691263   LAKISHA            COOK                   GA     90014640426
1956331964B259   AKINYEMI           ADEGBAYI               NE     90010323196
1956336914B259   KURT               PEACOCK                NE     90003883691
19563649A91569   ELVIRA             DE LA ROSA HERNANDEZ   TX     90013166490
19563A27451359   IDA WALKER         FISHER                 OH     90006040274
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1956443875B343   DAVID            KING                     OR     44502544387
19564915972B62   SILVIA           CHAVARRIA MARQUEZ        CO     90010819159
19564958A61958   BRITTANY         SWEDO                    CA     90010349580
19564A9675B129   REV RAY          WILLIAMS                 AR     90004120967
19564A9A75B154   LAKEADA          DOOLITTLE                AR     90003620907
19566661972B34   ALFREDO          GUERRERO CERECERES       CO     33049506619
1956745314B259   LONG HAIR        DONT CARE                NE     90014504531
1956926535B343   RUBEN            CASTRO                   OR     90004282653
1956B353561958   GABRIEL          RAMIREZ                  CA     46026613535
1956B64535B154   VENTHENE         HINTON                   AR     23066106453
1956B85939373B   CARLA            PRICE                    OH     90012008593
1957136A89373B   NICHOLE          THOMAS                   OH     90005853608
1957291695715B   KAITLYN          LIM                      VA     90014659169
19572A82455934   ROBERTO          AVILEZ                   CA     90005900824
1957327825B526   LUIS             VARELA                   NM     90013392782
1957328A89373B   TRACY            BOWMAN                   OH     90014792808
1957378515715B   RAFAEL           QUINO                    VA     90008677851
19574386924B35   TONI             SMITH                    DC     90004823869
1957448A751355   BRITTNEY         PAMALE                   OH     90010884807
1957458794B543   ADAM             CRAWFORD                 OK     90008375879
1957538185B343   EDGAR            GOMEZ LOPEZ              OR     90013893818
195756A6557147   AFSHAN           ZULFIQAR                 VA     90013456065
19575A2262B232   HECTOR           CISNEROS                 DC     90012540226
195764AA831687   BROCK            FRAZIER                  KS     90010214008
1957693785B526   RITA             FLORES                   NM     90003039378
19576A83131687   JEREMY           GAYE                     KS     90013910831
1957747A972B62   LUIS             PALACIOS                 CO     33077344709
19577A26351355   VANESSA          GRAY                     OH     66005250263
19578241372B62   MARGOT           GONZALEZ                 CO     33056892413
1957856678438B   IGNACIO          HERNANDEZ-AMADOR         SC     90002005667
1957922497B323   SANTOS           MOLINA                   VA     90008702249
19579264A9373B   JESSICA          SEALS                    OH     90014802640
1957B11A74B588   MOZELLE          BAILY                    OK     90009601107
1957B36A89373B   NICHOLE          THOMAS                   OH     90005853608
1957B3A4551337   NICHOLAS         FRANCE                   OH     90012933045
1957B43AA7B469   ELAINE           RIVAS                    NC     90014664300
1958111712B876   JENNIFER         GLAUSER                  ID     42053631171
19581AA5A8B863   MARY             OROZCO                   HI     90013780050
1958314375B526   CRESTINA         ALDERETE                 NM     90006121437
19585A28851359   WILLIAM          WALLACE                  OH     90015130288
195862A1557147   EMMA             SOSA                     VA     90006492015
19586349872B62   KEII             SMALLWOOD                CO     33002253498
1958699495B393   MICHAEL          SOURJOHN                 OR     90007379949
1958851434B259   PATRICK          JONES                    NE     90013955143
19588A1245B343   DAVID LOYD       READ                     OR     90010940124
1958943314B588   WALT             PHILLIP-BROOKSHIRE       OK     90011954331
1958B73655B154   PAMELA           COLLINS                  AR     23073607365
19591151A61963   GIL              RODRIGUEZ                CA     90012771510
195915A2261963   LAURA            ESPINOZA                 CA     90013935022
1959184995B154   LERONDA          ASHLEY-PAIGE             AR     23071338499
1959223399373B   THERESA          DAVIS                    OH     90014802339
1959268719373B   JOHN             SMALL                    OH     90014076871
1959371624B588   JESSICA          CROSS                    OK     90010137162
1959455175715B   NATASHA          CHAAYA                   VA     90006155517
1959549915715B   TAWANDA          WHITAKER                 VA     90014234991
19595795572B62   TIMOTHY          JONES                    CO     33013957955
195965A519373B   ERIC             CROWDER                  OH     90000595051
19596A1765715B   NIKITA DENISSE   MCKENZIE                 VA     90013230176
19597147872B62   THERESA          CASSILLAS CERVANTES      CO     90013241478
1959731859373B   MARNIE           HERMOSILLO               OH     90014793185
19597787172B27   GLORIA           COLMENERO                CO     90003347871
1959934A357147   YOLANDA          JOHNSON                  VA     90014903403
1959938624B259   LUIS             PLACENCIA                NE     27009603862
1959984A251337   TRACY            WORKMAN                  OH     66014008402
1959B18394B26B   TAMMY            TITCHEN                  NE     90013531839
1959B3A8A9373B   SHAWN            GLASS                    OH     90014793080
1959BA93391569   BENITO           OCAMPO                   TX     75093520933
195B2748957147   HECTOR           CRUZ                     VA     90012887489
195B2892851337   GENO             JORDAN                   OH     90010948928
195B2A6665715B   CARLOS           CASTRO                   VA     90012570666
195B3249591263   NIKITA           DUKES                    GA     90014922495
195B3335751337   JAMAIN           WOODS                    OH     66001143357
195B4122461938   BONNIE           SMITH                    CA     46040131224
195B4188461958   ANTHONY          REYES                    CA     90010301884
195B4462572B62   VINCE            SIMPSON                  CO     90014154625
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195B4469561963   CHRISTOPHER        GREEN                  CA     90012264695
195B4A25272B62   VINCE              SIMPSON                CO     33076520252
195B511529373B   JOHNNY             DEAN JR                OH     90014791152
195B5355791263   TAMIKA             WIGGINS                GA     90014623557
195B5823761963   RENEE              ROSITA                 CA     90012548237
195B6684731468   MIRANDA            HAYES                  MO     90005396847
195B674655B526   ERIK               JOHNSON                NM     35051577465
195B6748957147   HECTOR             CRUZ                   VA     90012887489
195B71A184B588   JACONA             THLOCCO                OK     90007931018
195B7219731687   ANGELA             KERNS                  KS     90014092197
195B7467351337   JASON              RADEMACHER             OH     90015284673
195B74A5557147   WALTER ALEXANDER   TORRES                 VA     90010674055
195B779664B588   RANDALL            ELDRIDGE               OK     90014377966
195B7936933699   MARY               DOW                    NC     12041439369
195B83A4247956   LUIS               RODRIGUEZ              AR     24085933042
195B853A193727   RUFUS              HARRIS                 OH     90013635301
195B8579491895   PHILLIP            HUTCHISON              OK     21082955794
195B8A99291899   OSCAR              ZAMARRIPA              OK     90008530992
195B9782991263   AMBERLY            BROWN                  GA     90013997829
195B9986157147   MERLO              GONZALEZ               VA     90004679861
195BB12AA5B285   ANITA              WILSON                 KY     90010871200
195BB147661938   JOHN               MCNEILL                CA     46024401476
195BB1A2891263   ROBERT             STEPHENS               GA     90014931028
1961136784B588   QASIM              ALIM                   OK     21554883678
19611676A2B837   SKIELAH            STEINEBACH             ID     90005326760
19611A6958438B   MICHAEL C          MELTON                 SC     19010710695
1961212AA57147   ANTHONY            NIXON                  VA     90013491200
19613A6525B343   MAXIMILIAN         BODZIN                 OR     90013460652
19614A5545B526   LUIS               MENDEZ                 NM     35013860554
1961552AA91263   CHRIS              ROCK                   SC     90015185200
19616855A91263   ELIZABETH          PORTER                 GA     90012928550
19617178A5B154   SERENA             HENSON                 AR     90003631780
196177A9A61963   JOHN THOMAS        RAYBURN                CA     90012317090
19617A72151337   BARBARA            LAWSON                 OH     66001100721
1961888772B282   HAROLD             CROMARTIE              DC     90003548877
1961B83554B26B   CODY               MOELLER                NE     26066188355
19621316172B62   TERRENCE           CULPEPPER              CO     90009003161
196227A5361938   WILMA              DURBIN                 CA     90011007053
1962368138B153   ROBERT             HOLLEY                 UT     90000276813
19624652A4B259   ROMEO              RIVERA                 NE     90013316520
1962542845B343   JENNIFER           MEYER                  OR     44542074284
1962549584B259   JOSH               AMATO                  NE     90013954958
196255A9891263   ARTHUR             CURRY                  GA     90015025098
1962583675715B   SELSO              RODRIGUEZ              VA     90014478367
1962634489373B   CONNIE             NEWSON                 OH     90014793448
1962696985B343   BRET               LARSEN                 OR     90013899698
1962711488B189   KIM                BLATNICK               UT     90013651148
19628A8615715B   ALEXIS             TREJO                  VA     81005320861
1962BA6924B259   JAMIE              NUNEZ                  NE     90013970692
1963239A891263   JAMELLE            JACKSON                GA     90008313908
19632629372B62   JORGE              MEDRANO                CO     33068976293
1963315584B588   FELICIANO          LIBRADO                OK     90011631558
1963554767B476   ANTHONY            SHEPHERD               NC     90001025476
196362A5551337   JOHN               COFFEY                 OH     66048472055
19636359A72B84   MILLEN             BYRON                  CO     90008693590
19636843A5B343   BRONWYN            BARRICK                OR     90001388430
1963726635B343   CRYSTAL            LAUDERDALE             OR     90008642663
19638839772B62   JOANA              VILLAGRANA             CO     90014958397
1963952445B154   JEFF               PRATHER                AR     23087895244
1963998725715B   ADRIAN             TILLER                 VA     90013059872
19639A26972B62   MELISSA            SANDOVAL               CO     90012930269
19639A97191584   JACOB              BARRON                 TX     90003660971
1963B126A31687   VANESSA            GARCIA                 KS     90013321260
1963B6A2661963   ALEJANDRA          BAILEY                 CA     90008186026
1963B771A4B259   CHRISTINA          JOHNSTON               NE     27071167710
1963B87795715B   JENNIFER           URQUIZA                VA     90013208779
1964198234B588   ANALI              CASTILLO               OK     90012389823
1964241715715B   STEPHAN            GRUVES                 VA     81081324171
1964246925712B   CLAUDIA            CASTRO                 VA     81014264692
196427A8A31687   SHERRY             COWDIN                 KS     22034457080
1964428188B169   PABLO              NAVARRO                UT     31007282818
1964466274B588   ASHLEY             GUYER                  OK     90005666627
19645241572B26   MICHAEL            GRIFFIN                CO     90013422415
19645A4194B259   DAVID              HOLBERT                NE     90009910419
1964618A693767   DEONTA             JONES                  OH     90010521806
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196488AA361963   GUADALUPE    ZAMORANO                     CA     90011038003
1964B1A7161963   JOSE         SOTO                         CA     46059781071
1964B84335715B   CHRISTINA    TUCKER                       VA     90014428433
1965187129373B   TANAI        CRAWFORD                     OH     90010508712
19651A2A871949   MANUEL       ROMERO                       CO     90009710208
196522A524B576   MARIBEL      HERNANDEZ                    OK     90008752052
1965265314B259   ELIZABETH    LOPEZ FERNANDEZ              NE     90013956531
19652839A5B343   KYL          FORDHAM                      OR     90013538390
1965322719373B   VICKI        LEWIS                        OH     64518722271
1965459595B526   JOSE         BENEVIDEZ                    NM     90006855959
196557AA95B154   TAZIA        DEMYERS                      AR     23059897009
1965638645B343   DANYELLE     KNOY                         OR     90014003864
19656A88157147   LUIS         RECINOS                      VA     81061820881
19658A1515715B   MARIA        BROOKS                       VA     90012420151
19658A56172B62   RAY          VELAZ                        CO     33003590561
196592A6491263   TARIQ        JACKSON                      GA     90013332064
1965B632361938   AIOTEST1     DONOTTOUCH                   CA     90015116323
1965B746361976   NATALIE      MARIA                        CA     90011267463
1966228414B259   TIM          ASHBROOK                     NE     27096342841
1966246115B55B   GLORIA       CALZADILLAS                  NM     36043804611
1966396219373B   MIKEAYLA     HAYES                        OH     90005949621
196646A5191569   CECILIA      ORTIZ                        TX     90007346051
19666514872B62   JOSE         RUBIO                        CO     90012805148
1966696224B588   HATTIE       ELLIOTT                      OK     90012979622
1966724A35715B   GONZALO      CRUZ                         VA     90015192403
19668269A61963   ANITA        BANEGAS                      CA     90014162690
1966888134B588   AMADO        MOLINA                       OK     90008948813
19668A1887B398   BRANDON      HIGHSMITH                    VA     90011570188
1966996969373B   GREG         BLUNT                        OH     90014809696
19669A59231422   MIKE         GLASER                       MO     27597050592
1966B443233623   SHARON       BARRAN                       NC     90009784432
1966B958372B62   BART         ALBERT                       CO     90014399583
19671223576B42   EDITH        SANCHEZ                      CA     90010062235
19671A18841264   JOHN         DELL                         PA     51089330188
1967217795715B   JAIRO        CASTELLANOS                  VA     90013821779
19672956872B62   SHANDA       SANDERS                      CO     90012979568
1967341425B343   RODNEY       JENSEN                       OR     90014574142
1967412974B259   CAROL        PORTER                       IA     90012951297
1967419835715B   EYVIN        REYES                        VA     90013821983
19674A7235B343   JESUS        VILLA                        OR     90003800723
1967548149373B   EVE          RECKERS                      OH     90014794814
1967649A431687   OSCAR        GOMEZ                        KS     90014514904
196778A785B343   A LEE        MANER                        OR     90012788078
1967839295B524   JOEL         VARGAS                       NM     90004213929
19678838A57147   SHIRLEY      KINNEY                       VA     90002018380
1967889135B129   MICHAEL      SMITH                        AR     23086838913
19679978A8439B   EUGENE       CHASE                        SC     90008979780
19679A88672B62   DENISE       HENSON                       CO     90011240886
1967B12114B259   QUATESHA     MITCHELL                     NE     27057361211
1967B468A57147   MOISES       CRUZ                         VA     81068864680
1967B64785715B   GLORIS       PARADA                       DC     81082526478
1967B892A72B62   LINDA        BRADEEN                      CO     90004748920
1968112114B259   QUATESHA     MITCHELL                     NE     27057361211
19682A7545B343   SELINA       CASTELLANO                   OR     44594680754
1968339915B526   REBECCA      PEIL                         NM     90010743991
1968364454B588   SHARI        DELEON                       OK     21593996445
196837A9861963   VINCENT      SAUDERS                      CA     90012467098
1968416339373B   JAMIA        WORTHAM                      OH     90004121633
1968435A131687   SUSAN        MURPHY                       KS     90007633501
19686AA262B249   EUNICE       STEELE                       DC     90011980026
1968842714B259   SAMANTHA     HARRIS                       NE     90013534271
1968883527B489   MARIE        GREGORY                      NC     11017338352
1968937314B259   NATHANIEL    RHOADS                       NE     27030613731
1968953325B343   DULCE        MARTINEZ                     OR     90011415332
1968967525715B   HARI         PAUDYAL                      VA     81000156752
1968B26A257147   NORMA        HERNANDEZ                    VA     81028022602
1968B62223852B   MORALES      GUSTABO                      UT     90008736222
1968B6A655715B   HECTOR       CANDIA                       VA     81007376065
1968B78A991569   CECILIA      MARQUEZ                      TX     90004027809
1968B872593745   SHANNON      KEENER                       OH     90006418725
19691183A91569   BLANCA       GARCIA                       TX     75087311830
1969145A933699   CYNDI        RICHARDSON                   NC     12011534509
19691526772B62   HEATHER      GRAY                         CO     90012805267
196934A6961963   RUBEN        MENDOZA                      CA     46009804069
1969366A27246B   JEFFREY      HRAMIKA                      PA     90013046602
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19693A7A15B343   TANIVA           BRADLEY                  OR     44581500701
19695425A91578   ARMANDO          APODACA                  TX     90012594250
19695894A9373B   NECHELLE         HEFFIN                   OH     90012498940
19695A3467B424   DOMINIQUE        ANTHONY                  NC     11008920346
19696418A57147   HECTOR           BUSTAMANTE               VA     90006344180
1969741615B154   BRANDY           WATSON                   AR     23073914161
19698894A9373B   NECHELLE         HEFFIN                   OH     90012498940
1969946A951359   LASHAUN          WILLIAMS                 OH     66037904609
1969986325B154   TANYA            BROOKS                   AR     90001698632
19699894A61963   TOM              MUDD                     CA     46000898940
1969B917661938   ROSA             GARCIA                   CA     90013269176
1969B9AA272B27   VERONICA         DARGAN                   CO     33099019002
1969BA6255B343   KRYSTAL          WARNER                   OR     90008960625
196B122A65715B   YONATAN          CASTRO                   VA     90015152206
196B1278A3B359   JAMES            VALDERRAMA               CO     90013962780
196B1718961938   ANGIE            ESPARZA                  CA     90014057189
196B1A17672B97   QUIRINA          FELIX                    CO     90009560176
196B2134A91263   DANIEL           ALEXANDER                GA     14597801340
196B2296931687   DEIDRE           SWIFT                    KS     90012452969
196B299785B526   GASTON           PARRA                    NM     90007779978
196B3249591263   NIKITA           DUKES                    GA     90014922495
196B455655B526   CALEB            GARCIA                   NM     90006935565
196B5338A5715B   HENRY            OCHOA                    VA     81046993380
196B5389991956   LATISHA          MCLAUGHLIN               NC     90014833899
196B544235B54B   NICOLE           SANCHEZ                  NM     90012674423
196B6A6585B343   KARELINE         MONTEJANO                OR     90014160658
196B7336A51337   ADAN             MARTINEZ                 OH     90013583360
196B746294B26B   TAYLOR           KOLARICK                 NE     90011424629
196B773965715B   MARVIN           RIVAS                    VA     90009087396
196B8442691263   RUBY             BALLADARES               GA     90013964426
196B898A477535   GREGORY          KACMAR                   NV     90009879804
196B9227572B3B   SUSAN            LOPEZ                    CO     33059482275
196B9352655933   DENISE           MENDOZA                  CA     90014643526
196B9368751359   DONALD           BACHMAN                  OH     66058463687
196B9698161938   ANNIE            MCNEELY                  CA     90002716981
196B989684B259   LILIA            MARMOLEJO                NE     90009378968
196BB31859373B   MARNIE           HERMOSILLO               OH     90014793185
196BB831997B38   DUSTIN           GIBSON                   CO     90010508319
196BBA6838B337   ELSY             VASQUEZ                  SC     90006480683
197114A8461963   ASTATKE          LEGESSE                  CA     90002574084
1971331AA51337   NATE             FREELAND                 OH     66055473100
1971347525715B   SHAQUANA         TALBERT                  VA     90014814752
19713673A47956   AMPARO PETRONA   GOMEZ MIGUEL             AR     90004506730
19713887A9373B   MARIA            PADILLA                  OH     64514418870
19713A42271967   RAEGENE          OLIVAS                   CO     90011050422
197142A254B259   CHRISTINE        BOETEL                   NE     27093432025
19714743A91895   JEANNINE         COKER                    OK     21032127430
1971491974B588   TALISA           JACKSON                  OK     90011599197
1971496829373B   JAMIE            WORTHY                   OH     90005539682
1971497355B526   ANDREA           FARIES                   NM     35092589735
1971575274B588   SUSAN            THOMAS                   OK     21554817527
1971613245B526   MICHAEL          ARMIJO                   NM     35014071324
1971B1A9A4B588   SARAH            SHELDY                   OK     90009451090
1971B492451337   CHRISTOPHE       KEYES                    OH     66016604924
1971B5AA261938   NICOL            YARVRAGH                 CA     90010815002
1972186965715B   PAMELA           MAIN                     VA     81079458696
19723543572B62   ROSHUNDA         JEFFERSON                CO     90009855435
1972356895715B   DORIS            CASABLANCA               VA     81085165689
1972399374B26B   YODY             HERNANDEZ                NE     26055619937
197243A9451337   TESFU            BERHANE                  OH     90011303094
1972448447B489   ROGELIO          DOMINGUEZ                NC     90002374844
197259A3657147   SUYAPA           BUSTILLO                 VA     90013559036
1972761279373B   CHRISTINA        TROUTT                   OH     90014796127
19727A1874B259   WILLIAM          FLESHMAN                 NE     27004520187
19727A51461938   ESTHER           FRYKLIND                 CA     90014740514
1972873944B588   HOWARD           WOODEN                   OK     21572077394
1972B37754B259   ASHLEY           GOFF                     NE     27034533775
1972B828831687   CHRISTINA        REYES                    KS     90010898288
1972B868193745   STEPHANIE        GILBERT                  OH     64516768681
1972B945691263   ALEXIS           COBB                     GA     90011179456
1972BA46591569   MARCO            VASQUEZ                  TX     75085500465
197313A4691263   NATASHA          LANG                     GA     14504163046
19732227A57147   JARIATY          KAMARA                   VA     81094892270
1973291825B526   JOSE             VARELA                   NM     35081179182
19732A2345B154   JENNIFER         WILLIS                   AR     23070410234
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1973321845B129   MARCUS           STEPHENS                 AR     23010302184
19733617433B58   LORNA            CROSS                    OH     90013936174
1973362834B259   CHRIS            NASH                     NE     27097646283
1973366862B52B   JOHN             FISHER                   AL     90014016686
19733A5A75B343   JAYNELL          UNDERWOOD                OR     90010560507
19733A88891263   BRANDI           JOHNSON                  GA     90014480888
1973429655B526   CLARIBEL         RAMIREZ- RAMOS           NM     90006702965
19735A23557147   LUIS             ERRIOS                   VA     90013890235
19735A48561958   ALEJANDRA        ZAZUETA                  CA     46081880485
1973722719373B   VICKI            LEWIS                    OH     64518722271
1973743A151359   JOSH             KUNCE                    OH     90014924301
1973778753B373   DIONNE           MCMORRIS                 CO     90013837875
1973816285B343   MARK             GILLES                   OR     90014341628
1973896A733699   HILARIOS         TALY                     NC     90002719607
1973B545791569   MARIA            GALINDO                  TX     90013675457
19742452A51355   MARIA            ROMERO                   OH     66033494520
19742AA118B136   RICARDO          MARTINEZ GUTIERREZ       UT     90015170011
1974388997B398   BOBBY            SEENATH                  VA     81065248899
19744934972B27   DERRICK          GURULE                   CO     90011589349
19744A21961958   LISA             LUQUIN                   CA     46082150219
197457A9572B62   ROMAN            MCNEIL                   CO     33089887095
1974656975715B   ARTURO           AGUIRRE                  VA     81028945697
1974678819373B   ELLEN            ROBBINS                  OH     90014797881
1974696785B526   CHERYL           SMITH                    NM     35004909678
19747417A5715B   EMMA             ALVAREZ                  VA     90010214170
19748A52257147   ANTONIO          RODRIDEZ                 VA     90012920522
1974975915B343   MICHEALE         LYON                     OR     90010057591
1974BA37172B62   SANDRA           HERNANDEZ-CHAVEZ         CO     33051940371
1975121186192B   HUGO             MARTINEZ HERRERA         CA     90002122118
197516A234B259   BOBBY            MOONE                    NE     90013836023
1975174AA4B259   BOBBY            MOONE                    NE     90011237400
1975217785B526   LYDIA            SOLIS                    NM     90014951778
197521AA361963   GEORGINA         CARDENAS                 CA     90003051003
1975242299373B   DIANNA           JONES                    OH     64505044229
1975264855B282   CARLA            WARD                     KY     90014316485
1975281195B282   LABRADFORD       WARD                     KY     68096538119
19752873A57147   MARIA            URUTIA                   VA     90001618730
19754512A4B588   DONALDS          NCHOLS                   OK     90014675120
197551A5391895   ZACHARIAH        STAINBROOK               OK     90006891053
19758A19372B62   MARGARET         MARTINEZ                 CO     33032540193
1975B239591263   DANIKA           RICHARDSON               GA     14574242395
1975B26964B259   SHANNON          AVANT                    NE     90008062696
1975B434231687   CELESTINE        COLON                    KS     22060104342
1975B577693745   SETH             HARDIN                   OH     64549885776
1975B844451337   MONICA           FREEMAN                  OH     66015348444
1975B92985B526   ZULEMA           CARMONA                  NM     90013859298
197618A8951337   ANGELA           TASKER                   OH     90010608089
19762219872B62   TORY             MASON                    CO     90014912198
1976223A493745   DONALD           HOBSON                   OH     64512822304
1976293574B588   MIKAYLA          COVALT                   OK     90013809357
197637A3A55936   SYLVIA           FLOREZ                   CA     90012787030
197644A1A91263   KARMISHA         KAPERS                   GA     90011724010
1976611218B189   CARLOS           PUERTO                   UT     31067841121
1976654187B476   TRAVIS           CLARK                    NC     11013985418
1976661A951359   EDWARD           HATFIELD                 OH     66059376109
19766799172B62   ROBERTO          GUEVARA                  CO     33077667991
19766A1AA4B259   SANTIAGO         VASQUEZ                  NE     90014880100
1976723555B343   CHERYL           SAVAGE                   OR     44587662355
19767538172B62   CORDOVA          SHELLY                   CO     90012785381
1976764785715B   ROBERT           TAYLOR                   VA     90000636478
19767A31851355   CURTIS           WARD                     OH     90014570318
19768A67451359   KELLY TERESA     SCHMIDT                  OH     90006700674
1976985315B526   GINO             CHAVEZ                   NM     90014878531
1976B131831687   BILLY            POWELL                   KS     22039531318
1976B35829373B   MARCHA           COSPY                    OH     90008103582
1976B4AA972B62   AQUILEO          BARRAGAN                 CO     33070374009
1976B597191263   RAPHEAL          JOHNSON                  GA     90010825971
1976B84655B343   ANNIE            MOORE                    OR     44526588465
1976B885324B7B   ASHLEY           BURRELL                  DC     81055798853
19771692A61963   GINGER           NUNEZ                    CA     90009636920
1977169324B588   RICHARD          LAIRD                    OK     90011916932
1977377A631687   BECCA            OSHEL                    KS     90003657706
1977658795B154   JENNIFER         WASHINGTON               AR     90006125879
1977728445B526   YVONNE           BACA-MARQUEZ             NM     35060112844
1977912825B343   GLADYS MARIBEL   GARRIDO                  OR     90013211282
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1977962495715B   DWEH                SLOPOW                VA     81091326249
1978137955B343   TERRY               HOWARD                OR     90011033795
197818A6161958   ISRAEL              COPADO                CA     90010398061
1978244375715B   CRYSTAL             HOGEN                 VA     90011254437
1978294314B588   RYANNE              HOUCHIN               OK     90014259431
19782A4485B526   GUADALUPE ANTONIO   REYES                 NM     90014550448
1978389885715B   JENNY               MONTOYA               VA     90014588988
19784A7712B934   HEATHER             BUNTING               CA     90011570771
19785161A51359   WALTER              ROWE                  OH     66045491610
1978599A557147   HERNAN              MEJIA                 VA     90012929905
19786592A2B234   ERICA               MURPHY                DC     90004425920
19786912A72B62   MELENDEZ            BIANCA                CO     90008119120
19786A9A88438B   JOSE                GONZALEZ U            SC     90000100908
1978779A991263   DEANNA              NAPUE                 GA     90015097909
19789419972B62   TOMAS               MEDINA                CO     90013934199
1978B37439373B   TIMOTHY             MURPHY                OH     90013543743
1978B575261963   COLLIE              WAYNETTA              CA     90000785752
1979439874B23B   DIONNE              HARLAN                NE     90008903987
1979485A64B588   AAMER               SHAH                  OK     90013328506
1979492664B259   CALEB               WELCHEL               NE     27082889266
1979631547B489   DEBORAH             MAYFIELD              NC     90004543154
19796912A5B129   TIFFENY             SAXTON                AR     23061699120
19796A2179373B   DAVID               BRUSH                 OH     64552130217
1979713A351359   TINA                PHILLIPS              OH     90012321303
19798A8655B526   ALMA                AYALA                 NM     90004940865
1979B566391569   RICARDO             LUJAN                 TX     90006835663
1979B87A451359   TYLER               HARRISON              OH     90012798704
197B1543A6195B   STEPHANIE           CASS                  CA     46087375430
197B285165715B   ROBERT              CAMPOS                VA     90014478516
197B2874261938   GUADALUPE           GARCIA                CA     90008758742
197B371845B526   VERONICA            CHACON                NM     90013707184
197B3856661963   LUIS                ZAMORA                CA     90011038566
197B4A6227B476   BRUESTER            HEARN                 NC     11091740622
197B528225B154   ELLIS               REED                  AR     90013122822
197B52A1A61938   DAVID               CHAVEZ                CA     90013622010
197B5783391263   JUANE               KENT                  GA     90015137833
197B5996557147   JOSE                SANTOS                VA     90012909965
197B6179851337   JONATHAN            WHEELER               OH     90013991798
197B64A8957147   DAVID               MURPHY                VA     90001344089
197B655A89373B   CHRIS               SIMON                 OH     90007645508
197B6621991263   BERTIE              CRAWFORD              GA     14574706219
197B6A35A4B259   KIMBERLEE           ALCARAZ               NE     90014780350
197B761365B343   ANILKUMAR           BANDARI               OR     90010246136
197B7742A51359   PAMELA              EADES                 OH     90014587420
197B796535715B   LUCIA               REYES                 VA     90005059653
197B8278957147   KIARA               HORTON                VA     90013932789
197B867584B259   ELVIS               MORENO                NE     90014086758
197B9673861958   CHRISTINA           DUNNAM                CA     90010396738
197B9786A47956   MARINA              VELAZQUEZ             AR     24035297860
197B987787B476   WILETHA             WARD                  NC     90013398778
197B9A21241384   GABRIEL             CARDENAS              MA     90015130212
197B9A95451359   TRAVIS              ROBERSON              OH     90014650954
197BB4A1551355   ANDRE               BONNER                OH     90007904015
197BB64A193764   MICHAEL             MCDONALD              OH     64507586401
197BB877693745   TIFFANY             NEVES                 OH     64531508776
1981117285715B   JUAN                GARMENDEZ             VA     90013171728
1981141984B537   TIFFANY             HARTFIELD             OK     90001924198
1981186368438B   KWANE               KWANE                 SC     90015148636
1981279846614B   LORRI               MEAD                  CA     90013837984
19813412A9373B   STAR                HARLEY                OH     90014804120
1981353998438B   JAMIE               BACKER                SC     90012595399
19813A27761963   CHRIS               HEDRICK               CA     46007870277
19813A66551359   KEVIN               WARDREP               OH     66010870665
19814351872B62   KRISTINA            MARTINEZ              CO     33037733518
19814A82685966   FRANK               BOATTY                KY     90003050826
19815A31A9373B   MICHAEL             JUSTICE               OH     64558540310
1981629545715B   ROBERTO CARLOS      RIVAS IRAHETA         VA     90013052954
1981648A561963   GREG                HOLMES                CA     90012564805
19816A4815B343   LEE                 JILL                  OR     90010590481
1981759AA7B489   DANA                HARRIS                NC     90002385900
198178A7661963   MICHAEL             ORTEGA                CA     46001428076
1981B439A9373B   KEESHA              WILLIS                OH     90010514390
1981B629333B28   NATALIE             KAST                  OH     90012736293
19822484833B32   DREW                ANNACH                OH     90013814848
1982267A251359   ANA                 ESCALANTE             OH     90008316702
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1982321934B588   MIESHA          THRASH                    OK     90014052193
1982647955715B   ROSIBEL         DAVIS                     VA     90014584795
1982664A551355   PAYGO           IVR ACTIVATION            OH     90004366405
198266A815B343   DOLORES         RUSSELL                   OR     44578716081
1982685A172B62   JUDITH          VALDEZ                    CO     90006218501
19827158A91569   ALEJANDRA       CASTILLO                  TX     90007911580
1982822225715B   BYRON           TONIC                     VA     81091332222
1982B24739373B   NIECA           HAILE                     OH     64577162473
1982B491431687   SOTHEARA        CHAU                      KS     90002294914
1982B865691569   ROSAURA         DIAZ                      TX     75012478656
1982B941693745   BEVERLY         ALBAUGH                   OH     64545449416
19831371872B62   DEVI            NEUPANE                   CO     90014243718
19831567772B62   DELILIAH        MARTINEZ                  CO     90012805677
1983218934B588   SERGIO          MALDONADO                 OK     90013791893
19832763A31687   CARL            STITT                     KS     90010167630
1983355785B343   JOSE            GUTIERREZ                 OR     90007875578
19834627472B62   JEREMY          CURRY                     CO     90013366274
1983475947B489   OMAR            HERNANDEZ                 NC     90006817594
19836753A4B259   KURT            DADO                      NE     90005577530
198376A2291964   JANELL          DAYE                      NC     90004086022
19837967A9373B   TRACY           HINES                     OH     90000509670
1983916765B395   DAMOND          FULLER                    OR     90004431676
1983927825B526   LUIS            VARELA                    NM     90013392782
1983932144B588   KARI            SMITH                     OK     90013403214
1983B22A75715B   MAXIMILIANO     GONZALEZ                  VA     90012422207
1983B564591263   KENNETH         HOLMES                    GA     90012935645
1984245134B26B   DEREK           THOMAS                    NE     90014614513
19842A55891569   LATOYA          JOHNSON                   TX     75074830558
1984314635B154   SHAWN           RAMSAROOP                 AR     23047881463
19844814A9373B   PAULA           CLEMENS                   OH     90009588140
1984494725B526   SALOMON         WAR                       NM     35027089472
19844A3855B526   AUTUMN          BROWN                     NM     90011050385
1984521344B259   NOE ALEJANDRO   NERI                      NE     90002372134
19845A64251337   NICHOLAS        ELLIS                     OH     90014600642
19847A4394B588   SHANTELL        CHEADLE                   OK     90002690439
1984818222B924   JOE             SABALA                    CA     45025741822
198483A6291263   ASHLEY          ALTMAN                    GA     90012933062
1984863327B489   ALTON           BELL                      NC     90002386332
1984894535B154   JUANITA         TILLMAN                   AR     23049779453
19849146A72B62   PAMELA          WRIGHT                    CO     33042871460
1984997314B588   ILMIDA          GUSMAN RAMIREZ            OK     90011929731
1984B224831687   JAMAISA         DAVIS                     KS     90014972248
1984B42465715B   JOSE            CARVALLO                  VA     90014224246
1984B79454B259   DENIS           RAMIREZ                   NE     27054187945
1985186165715B   ANNA            MARIA REYES               VA     81094968616
19852615A5715B   NICOLE          SMITH                     VA     90013226150
19852969372B23   NAZARIA         RANCHITO                  CO     90001729693
198531A7691569   ROSA            DE SANTIAGO               NM     90007161076
1985386774B588   JOSELYN         PASILLAS                  OK     90009648677
19855151472B62   RICHARD         COX                       CO     33041801514
1985517A833699   ELIZABETH       ALVAREZ                   NC     12013781708
19855532272B62   JUAN            JACQUEZ                   CO     90014465322
19855A9725715B   PEREZ           HUMBERTO                  VA     90012980972
1985696295715B   JOSE            ESPINAL                   VA     90010479629
1985752495B129   KENDRA          ADROW                     AR     90004615249
1985897295715B   OSMON           EL-AYOUBY                 VA     81004319729
19858AA4172B62   JOE             GARCIA                    CO     33013610041
1985918695B343   CHARLEE         HOLM                      OR     44560911869
1985B3A8191263   PRETT           KENT                      GA     90002203081
1986127654B588   APRIL           CASTILE                   OK     90015032765
1986423674B26B   AMY             MCCARTER                  NE     90013472367
1986448919373B   CARDELL         CARTER                    OH     90014804891
19864577672B62   JAMES           JOHANNSEN                 CO     90012805776
19864A6765B526   MARISOL         GUTIERREZ                 NM     35085680676
1986554848438B   MELINDA         MCNEIL                    SC     90005315484
1986595155B343   LIZBETH         PEREZ BARAJAS             OR     90011929515
19865A7685715B   STACEY          TIBBS                     VA     90001420768
198662A9A61938   JESSICA         PERDOMO                   CA     90006622090
1986684335715B   RINA            REYES                     VA     90011258433
1986757AA5B154   ROFF            HARTSELL                  AR     23087055700
1986887419373B   BRITTANY        CASKEY                    OH     64539858741
1986948929373B   TRAVON          RAMAR                     OH     90014804892
1986969865B154   SHEMIKA         TOLEFREE                  AR     23038606986
1986B15954B588   HECTOR          ORTIZ                     OK     90013891595
1986B248551359   SIMON           MEKELA                    OH     90010242485
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1986B445791578   GUILLERMO      RAMIREZ                    TX     90008244457
1986B756293745   JULIE          WINTROW                    OH     90004597562
1986B899972B62   JOSE           CABRERA                    CO     90012808999
1986B966491263   ROBERT         DAVIS                      GA     14512489664
1986B993891569   DANIEL         GALVEZ                     NM     75016049938
1987221139373B   NOAH           BOYD                       OH     90010682113
1987559A44B588   SILVIA         HERNANDEZ                  OK     90013055904
198757A214B588   ANIKA          KELSEY                     OK     90015087021
198793A425B533   GERALDO        DEGALDO                    NM     35039453042
19879493A93767   JONATHAN       WILSON                     OH     90007544930
19879577972B62   MANUEL         VALENZUELA                 CO     90012805779
1987B373591895   LARRY          CLEVELAND                  OK     90003373735
1987B6A895B343   ANTHONY        BOKMEJ                     OR     90014036089
1987B98235715B   EFI            PONCE                      VA     90012529823
1988164715B343   KELLY          SCHMITT                    OR     44594236471
198818A1793745   JACK           SKUN                       OH     90009998017
1988197689373B   TAKEIA         ELY                        OH     90010569768
1988276814B588   RAMOND         PERKINS                    OK     90013037681
19884258172B62   RUBY           LOERA                      CO     33009572581
198848A2985935   JESSICA        BAIN                       KY     90010288029
1988588A257147   LUIS ARMANDO   BERMUDEZ                   VA     90012358802
19885A25251359   TINA           BLACKFORD                  OH     66000480252
198861A3191569   SARAH          BATREZ                     TX     90002271031
19887364A5B129   ASHLEY         KELLEY                     AR     23089383640
1988745A447956   ZACHERY        DEWAYNE                    AR     90005054504
1988773385B267   LISA           BUNNELL                    KY     90011827338
19887844A85999   JOSE           HERNANDEZ                  KY     90007678440
1988879645B54B   BERENICE       GONZALEZ                   NM     90013357964
1988911324B588   DEVIN          HALL                       OK     90013111132
198911A789373B   KATHERINA      DAVIS                      OH     90013901078
1989173445B343   MARIA          VERDIN                     OR     90011897344
1989183635715B   ALFREDO        FERRUFINO                  VA     90009198363
1989222435715B   HEATHER        ANDIORIO                   VA     90013452243
198925AA591569   ROSA           GALINDO                    TX     75039405005
198934A1172B62   OMAR           CASTRO                     CO     90014474011
19893579972B62   TYLER          THOMPSON                   CO     90012805799
1989412694B588   KEYONA         THOMPSON                   OK     21523501269
1989418834B259   LIVIER         SOLTERO                    NE     90011961883
198952A435B343   JEROMY ALLEN   NENDEL SNYDER              OR     90005972043
19895533A61938   ZAIRA          GARCIA                     CA     90006765330
198959A8276B69   MEGAN          HENDERSON                  CA     90006199082
19897A12772B62   MA.GRICELD     MACEDO-GOMEZ               CO     33087960127
19898512A4B259   BRANDY         MYERS                      NE     90014505120
1989892278B863   ALEX           NAPAA                      HI     90009299227
19898A25391569   MIGUEL         MARQUEZ                    TX     90012110253
198991A8131687   FAYE           WILLIAMS                   KS     90009031081
1989956574B588   MARCUS         BELL                       OK     90015105657
1989B148193745   KELLY          DOSECK                     OH     64519501481
1989B617833699   EARL           KIRKENDALL                 NC     12013446178
198B125364B588   CLAUDACIOUS    HOOD                       OK     90014572536
198B1319157147   MONIQUE        CARTHEN                    VA     90009963191
198B211684B588   CAITLIN        WOOD                       OK     90015211168
198B216334B259   ZOTSI          EDEM                       NE     90005561633
198B2242255987   MARTIN         VASQUEZ VASQUEZ            CA     90014942422
198B266A951359   AMANDA         GRATHWOHL                  OH     90015016609
198B281662B685   JOSE           HERNANDEZ                  WA     90015468166
198B332455715B   CARLOS         ALVARADO                   VA     90002673245
198B3615385B29   HERMAN         SUERO                      FL     90015446153
198B3AA2561938   RUBEN          ARTEAGA                    CA     90008130025
198B427344B259   SHA-DON        AGEE                       NE     90008502734
198B4465461963   SAUL           MARTINEZ                   CA     90003754654
198B448A951355   TANYA          SMITH                      OH     90013224809
198B461864B588   CLAUDIA        RANGEL                     OK     21576216186
198B5A81A51355   MICHAEL        FRENCH                     OH     90003230810
198B626964B259   SHANNON        AVANT                      NE     90008062696
198B6779591895   TANIA          CALLES                     OK     21079197795
198B7556191569   ALBERT         MADRID                     NM     75007765561
198B874A97B476   BETTY          ALLISON                    NC     90005197409
198B87A5151337   CLAUDE         JOHNSON                    OH     90014017051
198B9123261963   JAKE           BOROWSKI                   CA     90014901232
198B9554891263   CLINT          HAMILTON                   GA     90014415548
198B9A69157147   CHA            JOHNSON                    VA     90014430691
198BB71A48438B   ILANY          LEBEHN                     SC     19019317104
198BB75AA61938   LIZ            VALDEZ                     CA     46046357500
199113A5951337   ERICA          RUCKER                     OH     90010113059
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19911A45761963   DANIEL        LIBAO JR                    CA     46008500457
1991338335B343   KIRSTEN       SYLSBERRY                   OR     90002153833
1991366A85B526   ISIDRO        GUZMAN                      NM     35027686608
199137A418438B   ELNORA        GATHERS                     SC     90005317041
1991419994B259   CHRIS         COLLIER                     NE     90009951999
199143A3261938   BEN           MORENO                      CA     46061633032
1991475394B588   PAYGO         IVR ACTIVATION              OK     90009167539
199151AA761924   GAUDALUPA     MARQUEZ                     CA     46047641007
1991546594B588   JOE           COMET                       OK     21551154659
1991768215715B   LAZARO        RAMOS                       VA     90013016821
199181AA631687   CHAMBERS      TINA                        KS     22027711006
1991832224B259   BRIAN         BARTLETT                    NE     90014773222
19919775272B62   ROBERT        CLIFFORD                    CO     90013257752
1991982A291263   JAMAYA        FRAZIER                     GA     90013918202
1991B38844B259   FERNANDO      RAMIREZ-CRUZ                NE     90015133884
1991B81212B234   DORESE        EUBANKS                     DC     90001138121
1992135319373B   ROBERT        EAMES                       OH     64549433531
1992161394B588   TERRY         LAHTI                       OK     90007596139
19922217A24B7B   ALBA          VASQUEZ                     VA     90014592170
1992364715B154   JESSICA       WALLACE                     AR     90008066471
1992388474B259   JESSICA       RILEY                       NE     27086348847
199243A954B588   CRISTIAN      LIBRADO                     OK     90011363095
1992449214B259   ANGELA        DANIELS                     IA     90013114921
199244A115715B   BILL          NGUYEN                      VA     90013624011
19924788A4B26B   JORI          WALN                        NE     26028047880
19926A24572B62   KEVIN         BURRIS                      CO     33075290245
1992717385B343   JOSE          VILLA                       OR     90008161738
1992754A751359   PATRICK       RIMER                       OH     90011875407
1992813795715B   MARICRUZ      SERRANO                     VA     90011261379
1992927615B129   RASHAD        TAYLOR                      AR     23010742761
19929671A4B259   ANTWANE       CURTIS                      NE     90010916710
1992968139373B   TOREY         PAGE                        OH     90014806813
1992B436461963   MONICA        CRUZ                        CA     90008204364
1992B594257147   ANGELA        PAVON                       VA     81016165942
1992B69725715B   NELSON        JURADO                      VA     90014846972
1993172A551359   SUE           CHRISTIAN                   OH     66091727205
199321AA461963   JESSICA       FLORES                      CA     90010771004
1993232425715B   DELMY         AGUIRRE                     VA     81057363242
199332A6757147   ALEX          GOMEZ                       VA     90007932067
199344A3631687   ROSAMARIA     MOLINA                      KS     90011914036
19935153A5715B   DEMETRY       WARD                        VA     90011261530
199352A2A7B489   JUSTIN        CARTER                      NC     90010562020
19935519A4B588   CHRISTOPHER   TATE                        OK     90014415190
19935837A51355   JULIA         BUTLER                      OH     66087608370
19935A98951355   CHRISTOPHER   WORKS                       OH     90007660989
1993613535B526   PATRICA       OCANA                       NM     35089121353
1993635A951359   LISA          GLASGOW                     OH     90014753509
19936423172B89   ALEX          HIDALGO                     CO     90004424231
1993867A751334   JOHN          ADKINS                      OH     90004766707
1993996574B259   THOMAS        ROSS                        IA     90013349657
199419A8A4B259   GAYNELLE      CALLOWAY                    NE     90001559080
1994232355715B   ANASTASIA     ANKAR                       VA     81028263235
1994232364B588   ABEL          DE LOERA                    OK     90013543236
1994448868B197   RON           GLINES                      UT     31061914886
1994453A451355   MATEO         TAPIA                       OH     66072975304
1994455135715B   FORD          LAROY                       VA     90012665513
1994495995B343   AMBER         CAVENDER                    OR     44568199599
1994534895715B   TEKEW         DADI                        VA     90014933489
19945589172B62   ANTHONY       BERG                        CO     33049135891
1994581A391569   SONIA         GRANADOS                    TX     90006328103
19945A11861963   DERRON        DURAN                       CA     90010350118
1994681AA4B588   JENNIFER      CASTANEDA                   OK     90013928100
1994777849373B   JESSICA       CUNNINGHAM                  OH     90010517784
19948493A5715B   TIFFANY       BURKE                       VA     90014924930
19948727A61963   C             GRIGGS                      CA     90014217270
19948824A8438B   SOPHIA        MILLAN                      SC     90001208240
19948A41751337   PATRICK       CAMPBELL                    OH     90012460417
1994B464A57147   ERIC          WILLIAMS                    DC     90014184640
1994B467351337   JASON         RADEMACHER                  OH     90015284673
1995113644B259   ANTHONY       CALVIN                      NE     90013991364
1995232764B588   MICHAEL       LOTT                        OK     90014143276
1995248615715B   CARLOS        SEGOVIA                     VA     90001294861
1995379869373B   HEIDI         BAKER                       OH     90014777986
19953A42861957   GEORGE        ROSADO                      CA     46059790428
1995448115715B   MICHAEL       AGBONTALE OKENEH            VA     81067804811
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1995484A991895   TANNER         HAY                        OK     21096708409
19956617672B62   PHILLIP        HARRIS                     CO     33098826176
19957317672B62   ERNESTO        RAMIRES                    CO     33092953176
19957658824B7B   JOSE           GUETTERO                   VA     90007666588
1995795345B343   JOHN           SALAS                      OR     90011989534
1995821614B259   SAGGA          TOURE                      NE     90013992161
1995837A34B588   ALICIA         STALCUP                    OK     90014843703
199584A2161963   JILBERTO       JIMENES                    CA     90006734021
19959A94257147   JOSE           MONDRAGON                  VA     90003230942
1996145654B259   JORGE          ARENIVAS                   NE     90011754565
1996155985B384   AYANNA         CLINTON                    OR     90000835598
1996241725715B   LAQUEENA       HERRING                    VA     90013344172
19962977872B62   FABIOLA        CISNEROS-GUERRERO          CO     90014059778
19963824A8438B   SOPHIA         MILLAN                     SC     90001208240
1996514883B392   MICHAEL        PELLEGRINO                 CO     33022811488
1996646635B599   CRISTINA       SANCHEZ                    NM     35007454663
1996648575B526   NDAYICHIMIYE   REEAH                      NM     90004464857
19967458772B62   DIANE          TRUJILLO                   CO     90014384587
1996956824B588   BRYAN          GREGORY                    OK     90002365682
19969583A51337   GENAEFER       TOWNSEND                   OH     90014915830
19969A3268B863   LIANA          HOOPII                     HI     90015370326
19969A59291836   ANITA          TOUNZEN                    OK     21084890592
1996B118833B58   SILVER         CULBERTSON                 OH     90013231188
1996B22564B259   RAMATOU        SADOU NOUHOU               NE     90013992256
1996B537347956   MILDRED        RELEFORD                   AR     24070775373
199716AA731687   ANDREW         CHANDLER                   KS     90007636007
1997258334B259   ALEJANDRO      HERRERA                    NE     90014895833
1997317115715B   LUIS           LOZANO                     VA     90007821711
19973687A4B588   ROBERT         MARTINEZ                   OK     90010396870
199736A4591263   FELICIA        RILEY                      GA     90012686045
1997425A791573   AARON          BEN                        TX     90012412507
1997789755B526   LEODIES        WARREN                     NM     90012778975
19977A8834B259   MARKENISS      CHILDS                     NE     90015140883
1997814883B392   MICHAEL        PELLEGRINO                 CO     33022811488
199791A825B343   PRIMITIVO      PEDROZA                    OR     90006081082
1997928718B13B   BRITANY        RYDALCH                    UT     90010622871
1997968395715B   GILBERTO       LOPEZ                      VA     90001526839
1997993872B884   AZHA           FINE                       ID     42015669387
1997B227591569   ELIDA          YEBRA                      TX     90011572275
1997B3A955715B   ENNI           CABALLERO                  VA     81089273095
199814A4972B62   ESTELA         HERNANDEZ                  CO     33028414049
19981632172B85   KATHY          KIRK                       CO     33091106321
1998189438438B   DEAN           VERNOTICO                  SC     19011668943
1998268454B588   JENNFER        SHEAR                      OK     90001596845
19982867A5B154   BRENDAE        FARMER                     AR     23077138670
19983128A9377B   BETHANY        CODDINGTON                 OH     90012611280
19985135A5B526   VINCENT        MONTANO                    NM     35058191350
1998558255B54B   DOMINIC        LOPEZ                      NM     90001085825
1998578468B878   SAMSON         TANELE                     HI     90014377846
19986612A91526   ROBYN          CLARK                      TX     75078676120
199868A7991263   JOHN           JONES                      GA     90012408079
1998717523B35B   JON            KORNOCK                    CO     90013881752
1998798555B526   RUBEN          OLIVAS                     NM     90009129855
19988A4A972B62   ALFREDO        ZAVALA                     CO     33013960409
19989275A4B259   THOMAS         GILL                       NE     27097202750
19989A63A9373B   JOHNNY         RICE                       OH     90014810630
1998B39584B588   DEMARCUS       GRANGER                    OK     90013293958
1999144558B144   LETARI         WASHINGTON                 UT     90013094455
1999159285B254   MARSHALL       WRIGHT                     KY     90008625928
19991764A72B62   BRIELLE        SANCHEZ                    CO     90002447640
19991A98861958   ANDRES         CORTEZ                     CA     46052900988
1999352828B863   THAIS          REPETTO                    HI     90014465282
1999395872B693   CHAENGE        SAELEE                     WA     90015409587
199945A4A31687   ASHLEY         SAXON                      KS     90014515040
19994849A7B489   DEBBIE         RODGERS                    NC     11082918490
19994986272B62   ANAHIT         CORREA FLORES              CO     90011879862
19994A24157147   GERARDO        CARRANZA                   VA     90013890241
19994A75261963   CHRISTOPHER    GLOSS                      CA     90013160752
19995816A93745   LALA           DEVAUDREUIL                OH     64596088160
199959A8661963   ASHLEY         STRANGFELD                 CA     90013299086
1999612755715B   JUAN MANUEL    MEJIVAR                    VA     90014431275
1999626774B259   BRAD           HENGGELER                  NE     90013992677
199962A7951359   JOSE           MACIAS                     OH     66015062079
199966A4661938   WASEEM         HABIB                      CA     46041016046
1999689195B343   SEAN           SPRADLIN                   OR     90011638919
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19997512133B92   JAMES         PREM                        OH     90014025121
1999769154B26B   JENN          MALIN                       NE     26056396915
1999843364B259   ALICIA        SEXTON                      NE     27056944336
1999891625B526   JOSHUA        CANTU                       NM     90014819162
19998A3A591263   MICHAEL       MOORE                       GA     14562270305
1999B68415715B   CHRISTIAN     ARIAS                       VA     90014666841
1999B756257147   MARIA LUISA   VENTURA                     VA     90010687562
1999B958A5B343   AZALIA        SANCHEZ                     OR     90008309580
1999BAA7841225   JOHN          STUMPF                      PA     51003090078
199B1294191569   JORGE         CARRON                      TX     90010292941
199B156A85B154   GLO           BELL                        AR     23086585608
199B2229A3B39B   JAMES         HARDIN                      CO     90009352290
199B2535861963   BYRON         BENNINGER                   CA     90003115358
199B2A9735B526   GENE          GRIEGO                      NM     35002640973
199B3556857147   BEATRIZ       RIVERA                      VA     81016015568
199B399385B154   CARL          COGSHELL                    AR     23005559938
199B4614A93732   PHILLIP       THOMPSON                    OH     90012386140
199B492336193B   HORACIO       GAYTAN                      CA     90012879233
199B514565B343   JENNIFER      STAPLETON                   OR     44545181456
199B5358171923   WILLIAM       HIGHTOWER                   CO     90014843581
199B635945715B   -EVA          MONTERROZA                  VA     90011603594
199B63A9793725   DENNIS        FULTZ                       OH     90005693097
199B664184B26B   JODI          BLATH                       NE     26047686418
199B675A691895   DESIREE       LLOYD                       OK     21083157506
199B686564B588   LINCOLN       FARRELL                     OK     90011988656
199B7556333699   CARLA         STINE                       NC     12013245563
199B95A7793745   JENNY         ELLIOTT                     OH     64516795077
199B9757251355   GABRIELA      ACOSTA                      OH     90011177572
199BB14225712B   TARA          LANG                        VA     90014481422
199BB56775B526   JOLENE        SLIMP                       NM     90002325677
199BB97154B259   MIKE          NEWTON                      NE     90011239715
19B1118149373B   MICHELLE      DOZIER                      OH     64595801814
19B1126A451337   LAURA         KUCHERA                     OH     90013652604
19B1139524B588   SONRISA       NOWICKI                     OK     90012383952
19B1142A331687   TRAVIS        JONES                       KS     90006494203
19B12275172B62   DESIREE       MARTINEZ                    CO     33018612751
19B12567851337   MIGUEL        MORENO                      OH     90011185678
19B12574791569   JOSELIN       RAMIREZ                     NM     90012605747
19B1258329373B   DANIELLE      GEETING                     OH     64508585832
19B12731551359   WILLIAM       BIRD                        OH     90013237315
19B1285A15B526   ELIZABETH     SNIDER                      NM     35029578501
19B12924191263   GRACIE        BROWN                       GA     90008439241
19B12A48833623   APRIL         ERICKSON                    NC     12012260488
19B13361391967   ABRAHAM       HERNANDEZ                   NC     90012963613
19B1466A664135   GERADO        LAGUNA                      IA     90015346606
19B14818591569   RODOLFO       GONZALEZ                    TX     75011578185
19B15483261963   NATASHA       COLLINS                     CA     90011034832
19B15747685966   COURTNEY      LEAR                        KY     90014987476
19B16197572B62   JANET         AGUILAR                     CO     90014721975
19B1679385B154   CATRICE       CHANDLER                    AR     23068017938
19B16A4335715B   EDWIN         GARCIA                      VA     90014490433
19B16A81551355   LEIGH         WOOLFORK                    OH     90011740815
19B17153561958   ROBERTO       GONZALEZ                    CA     46029761535
19B173A315B154   BRAD          PARTEE                      AR     23019113031
19B1771455B343   JULIA         BARTO                       OR     90001527145
19B18224661958   CHRISTIAN     JIMENEZ                     CA     90002922246
19B18273485966   ANGIE         ALLEN                       KY     67000332734
19B18314861938   ANNETTE       IBARRA                      CA     46096163148
19B1872439373B   NICHOLAS      WORKMAN                     OH     90014747243
19B1943569373B   SHANDA        MEFFORD                     OH     90007884356
19B19664A57147   JOSE          MEDRANO                     VA     90012416640
19B19963193745   CHARLENE      STAFFORD                    OH     64573179631
19B1B6A1861938   ALFONSO       SUAREZ                      CA     90003676018
19B2144559373B   PENNY         BRIGHTMAN                   OH     64581814455
19B21626661963   TANNER        MCDADE                      CA     90012406266
19B2178345715B   DAVID         ESTRADA                     VA     90008227834
19B21A7645B343   KEVIN         HOTAILING                   OR     90011060764
19B22957791569   LUCY          BATISTA                     TX     75093149577
19B2337A59373B   STEPHANIE     HAMILTON                    OH     90014763705
19B23617493745   MARY          MULLEN                      OH     90009926174
19B23816862B93   DARLA         ROBERTSON                   KS     22030908168
19B2389A15B154   CURT          FULMER                      AR     23030968901
19B2394955715B   TAMIKA        ANDERSON                    VA     81061109495
19B24416691569   GERARDO       LARA                        TX     90013934166
19B24672557147   CATHERINE     JONES                       VA     90006796725
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19B2482535B526   LINDA          SHAKESPEARE                NM     90000618253
19B24A21885966   REBECCA        HENRY                      KY     90015070218
19B24A57561958   CHRISTPHER     DAVIS                      CA     46001940575
19B251A2272B62   ERIC           ERICKSON                   CO     90012871022
19B26112493745   SCOTT          TOOMEY                     OH     90014591124
19B26449991569   MARIA          MARTINEZ                   TX     90012734499
19B266A4A5715B   DORIS          ACHA                       VA     90014696040
19B26743861938   GARRETTE       FREITAS                    CA     90004777438
19B2718A84B588   WILLIAM        BELL                       OK     21555371808
19B2726234B26B   SHARON         WATERS                     NE     26010832623
19B289A4777535   PATRICIA       NGATA                      NV     43089449047
19B29332991569   ELSA           VILLEGAS                   TX     90000903329
19B2B24A28B337   MELISSA        BROWN                      SC     11015642402
19B2B756672B62   RYAN           TYLER                      CO     90015097566
19B3147725715B   MIXA FABIOLA   GONZALES                   VA     90006614772
19B31788361963   ABLAHAD        GORGEES                    CA     90012747883
19B32137851359   CHERRY         COMBS                      OH     90010251378
19B3218199154B   GLORIA         PEREZ                      TX     75090381819
19B33269184347   CHRISTOPHE     MORRIS                     SC     90001192691
19B33372A51359   DARRYL         MASON                      OH     90006973720
19B336AA957147   RONALD         POLO                       VA     90014166009
19B338A859373B   MICHELLE       SMITH                      OH     90014748085
19B33966A4B259   JENNIFER       MCCUSKER                   IA     90013949660
19B3418238B337   LATOYA         FAIR                       SC     11018771823
19B34324451337   MO             SEARCY                     OH     90009133244
19B3458AA91569   LISA           REY                        TX     90003535800
19B3544464B259   MICHAELA       MURPHY                     NE     27027704446
19B35914257147   GIDO           HERNANDEZ                  VA     81001029142
19B3627934B588   NORMA          GOMEZ                      OK     21553812793
19B36761772B62   STEFANY        CRUZ                       CO     90011547617
19B36936951359   MERANDA        PAYNE                      OH     66051079369
19B369A5661938   ADOLFO         ORTEGA                     CA     90013269056
19B36A16761948   ANDREW         MOSER                      CA     46020330167
19B3736464B588   SCOTT          SHARP                      OK     90011483646
19B387A8285966   RICKY          IVEY                       KY     90014577082
19B38858491524   JESUS          RODRIGUEZ                  TX     90011138584
19B3892875B343   RON            HOUSE                      OR     90013799287
19B39124161972   GERMAN         ARAIZA                     CA     90006661241
19B3B95A79373B   RHONDA         GODDARD                    OH     90009709507
19B41684191569   ROBERT         RODRIQUEZ                  TX     75011046841
19B42334661963   SHARON         PRICE                      CA     46086963346
19B4258794B543   ADAM           CRAWFORD                   OK     90008375879
19B43468A5B526   JOHNNY         VALERDE                    NM     90010704680
19B4385124B588   KRISTINA       WILLIAMS                   OK     90014928512
19B44174357147   CHARLES        KATOROOGO                  VA     90011001743
19B44834891586   MIKE           JHONSON                    TX     90007198348
19B4486125715B   REINA          CONDORE                    VA     81059948612
19B44A55861963   ELVIRA         PORFIRIO                   CA     90014160558
19B45417155936   DANIEL         MORENO                     CA     90007674171
19B4548645B526   RAFAELITO      BELINDA                    NM     35072794864
19B45891991569   CARMEN         RIVERA                     NM     90014038919
19B47371157147   ANGEL          DELGADO                    VA     90003703711
19B4772A84B588   DENISE         JOHNSON                    OK     90013377208
19B477A6431687   NICHOLAS       BROWN                      KS     90010937064
19B4784213B373   ROSALIA        RAMIREZ                    CO     33089278421
19B4818A985966   DARRIN         SIGMON                     KY     90014081809
19B48617457147   RONALD         POLO                       VA     90014166174
19B49282272B62   APRIL          BENNETT                    CO     90013842822
19B5113A851337   MICHELLE       BOLES                      OH     90013941308
19B5119795B343   MEREDITH       VAN ETEEN                  OR     44591751979
19B51832585966   BRIANNA        FOWLER                     KY     90013328325
19B519A1631687   MIKE           RUMERO                     KS     90013479016
19B5237995B526   NANCY          ROGERS                     NM     90007183799
19B52936472B62   KEVIN          MARTIN                     CO     33067269364
19B52A3A961963   LUCIA          NAVARRO                    CA     90012360309
19B536A4A72B62   ROGER          SMITH                      CO     33066736040
19B53742551355   MYCHAL         SMITH-WADLEY               OH     90014137425
19B53776951337   JAMES          DAVIS                      OH     90011917769
19B5389665715B   CALEB          DAVENPORT                  VA     90013588966
19B5485515B154   ASHLEY         HILTON                     AR     23016808551
19B54988891895   PAULA          SMITH                      OK     90003349888
19B54AA497B476   SANDRA         GREGORY-HOWE               NC     90002040049
19B5686868B197   KEITH          KENDALL                    UT     90010028686
19B56AAA691B43   JULIO          QUEVEVO                    NC     90015510006
19B5737459373B   KARA           WILSON                     OH     90014763745
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19B5817345B526   JOSE         MARTINEZ                     NM     90014051734
19B5848628B166   ANGELA       HARVEY                       UT     31052184862
19B58882157147   JORGE        BAQUERO                      VA     81001378821
19B589A7251359   JUSTIN       MARKS                        OH     90013719072
19B59126891569   APRIL        BENITEZ                      TX     90015121268
19B59353772B23   DARRELL      HARRIS                       CO     90011373537
19B5946AA85966   GWEN         JONES                        KY     90009764600
19B59483672B62   ROXXANNE     VIGIL                        CO     33027324836
19B596A4391895   KAREN        EAGER                        OK     21073376043
19B5B41254B259   SANTIAGO     TORRES                       NE     90014414125
19B6211884B259   ROBERT       RENFROW                      NE     90005911188
19B62269985966   TIM          DAVIS                        KY     90014652699
19B62665861963   DINAH        GARCIA                       CA     46077126658
19B62882757133   GLENDA       FUENTES                      VA     81096658827
19B635A6251337   AMANDA       KISSEL                       OH     90015095062
19B64752793745   CHARLES      HOLLY                        OH     64509987527
19B647A6261963   RICARDO      GARCIA                       CA     90010997062
19B6493138438B   JANUARIO     MURRILLO                     SC     90007239313
19B6529544B259   URLA         BENJAMIN                     NE     27056962954
19B6538A39373B   NORMAN       FLORES                       OH     90014763803
19B66485172B62   STEVEN       SAENGER                      CO     90006824851
19B66786185966   DEANA        OSBORNE                      KY     90010147861
19B66834451359   EDWARD       COOPER                       OH     90009018344
19B671A1761963   SONIA        AHUMADA                      CA     90007371017
19B67587872B62   CHRISTEN     HERNANDEZ                    CO     90014655878
19B67618351359   MARVIN       JOHNSON                      OH     90014056183
19B67896651355   ANGELA       KOSMYNA                      OH     66000238966
19B68112493745   SCOTT        TOOMEY                       OH     90014591124
19B68162872B62   JEREMY       MEADE                        CO     90014631628
19B6856A45B343   JOSE         MALDONADO                    OR     90010375604
19B69452261958   ELIZABETH    OCAMPO                       CA     46006604522
19B6B355691844   ALTHEA       PIERCE                       OK     90014733556
19B6B42169373B   JAJUAN       SYLVAN                       OH     90010474216
19B6B481591569   BRENDA       CORDERO                      TX     75046144815
19B6B84AA61963   AMBER        SHAW                         CA     90000548400
19B6B97725B154   MICHELLE     NASH                         AR     23089229772
19B71682193745   MEGAN        GREGORY                      OH     64567656821
19B716A7597B69   TREVOR       CARLSON                      CO     90003666075
19B7186284B259   GUILLERMO    FLORES TREJO                 NE     27023438628
19B72336172B56   RON          CHAVEZ                       CO     33009233361
19B7275A85B343   BERNABE      ORTIZ                        OR     90011177508
19B7354674B265   LUZ          REYES                        NE     90001945467
19B73A28661963   ARTURO       MANCILLA                     CA     46082150286
19B74433461938   GUILLERMO    OSIANG                       CA     90013964334
19B75853161963   GENOVEVA     DANTES                       CA     90000548531
19B7625A75B343   NAZAREO      PENA                         OR     44509942507
19B765A6257147   FRANSISCO    LEON                         VA     90014915062
19B7684485B526   LONNIE       LANE                         NM     90001128448
19B77964491569   GUADALUPE    VILLA                        TX     90004789644
19B7812224B259   JESUS        PALMA                        NE     90013021222
19B7843A85715B   GUILLERMO    MENJIVAR                     VA     90014874308
19B78512457579   LISA         SALINAS                      NM     90014775124
19B7856A757147   VIRGINIA     SALMERON                     VA     90002205607
19B798A5751337   TERRY        JOHNSON                      OH     66014398057
19B79A17991569   PATRICIA     MCCUSTER                     TX     75034930179
19B79A34A61963   GUADALUPE    JUAREZ                       CA     90011010340
19B79A6944B588   ISSAC        CHACACH                      OK     90012160694
19B7B34899373B   AMANDA       TERRELL                      OH     90007083489
19B7B547551359   YEHIRI       YANEZ                        OH     66034755475
19B81166A85966   JESSICA      HAYDEN                       KY     90013091660
19B81264172B62   ARNIE        HAYES                        CO     33018382641
19B8158927B489   KATHY-ANN    THOMAS                       NC     11043695892
19B8182A161958   EDITH        AVINA                        CA     90004068201
19B81924A72B3B   OWEN         CHRISTIAN                    CO     90012639240
19B8223479373B   MONISHE      MORELAND                     OH     90012202347
19B82627172B62   ANTONIETTE   TYLER                        CO     90013366271
19B83112493745   SCOTT        TOOMEY                       OH     90014591124
19B8322A55B526   DEBRA        MONTOYA                      NM     90006102205
19B83237291569   ERIC         MENDOZA                      TX     90011112372
19B83261857147   PATRICIA     GALINDO                      VA     90008682618
19B83318A5B526   MEGAN        DURAN                        NM     90012123180
19B8377849373B   STEFFAUNE    WHORTONE                     OH     90010647784
19B83837251359   ASHLEY       WHITE                        OH     90003128372
19B8459134B588   RAFAEL       CHAVEZ                       OK     90013705913
19B845A4451359   MENG         MUON                         OH     90012785044
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19B85631A91569   DANIELA      GONZALEZ                     TX     90010816310
19B85656151359   NADINE       NDAYA                        OH     66011146561
19B8567A78438B   BRIANA       DURANT                       SC     90005296707
19B85A3755B229   MOLLY        GOSEWEHR                     KY     90009570375
19B8627148B337   BRANDY       PIGFORD                      SC     11018772714
19B8647635715B   VERONICA     CORONEL                      VA     90014604763
19B8674A161938   CHRIS        ROBINSON                     CA     90012127401
19B87755651355   CHRISTY      DIGIACOMO                    OH     66008557556
19B8892689373B   TAMRA        LABONTE                      OH     90010039268
19B89323293725   TRWSTON      MARIE                        OH     90013163232
19B8B48775B97B   TAMERA       KNAPP                        WA     90014814877
19B8B489771932   SANDRA       GONZALEZ                     CO     90006094897
19B8B971457147   YENI         FERNANDEZ                    VA     90006749714
19B8BA61461963   MELISSA      FRIESE                       CA     90014250614
19B9127A451359   PAYGO        IVR ACTIVATION               KY     90010052704
19B917AA147956   MICHAEL      KOZAL                        OK     24089427001
19B92427A51337   SOPHIA       HUGHES                       OH     90013584270
19B9261124B259   JACOB        CANTERBURY                   NE     90011226112
19B9296A44B254   JOHN         BRANNAN                      IA     90006469604
19B93354172B62   VALDOMERO    PLATA                        CO     90012803541
19B9343392B924   JOSEFINA     VALDO                        CA     90015124339
19B94192672B62   JAIR         MARITNEZ                     CO     33089901926
19B94265A9373B   DAN          HILDERBRAND                  OH     90000972650
19B94345291569   MATHEW       FLORES                       TX     75087263452
19B94427261958   RONALD       FOXWORTH                     CA     46025254272
19B9464A793745   LISA         HARVEY                       OH     90008486407
19B95131951337   DEMETREOUS   ALI                          OH     66072791319
19B95321891895   SHERRISE     HARRISON                     OK     90009803218
19B95549185966   RACHEL       TOWNSEND                     KY     67008595491
19B95651891569   JOSE         VARELA                       TX     75082486518
19B96441A5B526   ALLEN        ARMIJO                       NM     90015304410
19B96643751337   KRISTEN      STITZEL                      OH     90014876437
19B96777A72B23   VENESSA      GATUMA                       CO     90009267770
19B96913976B27   FELIPE       LOPEZ                        CA     90008609139
19B9747139373B   LAQUATA      JACKSON                      OH     90014764713
19B9758544B588   AMANDA       MORRIS                       OK     90014465854
19B9766979373B   TERRY        PAULUS                       OH     90010476697
19B97A7A671982   CHRISTINA    VASQUEZ                      CO     90011970706
19B98148661963   ANGELINA     VERDUGO                      CA     90012781486
19B9829274B588   ALBERTO      CASTILLO                     OK     90012042927
19B9831A39373B   ANGELA       PETERSON                     OH     90012323103
19B98846A57147   SIRIA        GRACIANO                     VA     90012508460
19B9947139373B   LAQUATA      JACKSON                      OH     90014764713
19B9B117493745   MICHLEL      BEEMAN                       OH     90001961174
19B9B145261963   CARMEN       ROBLES                       CA     90005271452
19B9B465551337   KRYSTAL      MOLE                         OH     90015284655
19BB154375B343   SYLVIA       VALDEZ                       OR     90013555437
19BB211834B259   TRACEY       MARSHALL                     NE     27030441183
19BB2292672B84   MICHAEL      FOX                          CO     33082332926
19BB2317961938   NICOLE       KERN                         CA     46060963179
19BB261365715B   PAMELA       BROOKS                       VA     90004536136
19BB2726651337   RALPH        LAWRENCE                     OH     66016957266
19BB2818391569   MICHELLE     REYES                        TX     90010898183
19BB297754B588   OLIVIA       CANTU                        OK     21536669775
19BB3343351337   JASON        CURRELL                      OH     90014043433
19BB3995785966   JENTRY       MOORE                        KY     90014649957
19BB4671772B62   LUCIANO      CORTEZ                       CO     33074636717
19BB486534B26B   ISAAC        MUNR                         NE     26054328653
19BB5122791895   SONDRA       ARMSTRONG                    OK     90013631227
19BB539A247956   PATRICIA     ANDREAS                      AR     24054033902
19BB5593391263   LEON         PLUMMER                      GA     90014875933
19BB6577A91895   CHARLES      BOONO                        OK     90003345770
19BB661529373B   BRIAN        DIXON                        OH     64578236152
19BB669A193745   SHELLY       BURCH                        OH     90007036901
19BB7299593745   NICOLE       BIRD                         OH     90011562995
19BB8325772B62   BERNICE      MARTINEZ SHRADER             CO     90012803257
19BB8618261963   JUAN         JASSO                        CA     90012856182
19BB8685A5715B   TIM          BOTTLE                       VA     90009666850
19BB889934B26B   CASEY        WHEAT                        NE     90003338993
19BB9326572B62   PSI DAL      LA                           CO     90012803265
19BBB21715B154   JOE          CARPENTER                    AR     23001932171
19BBB437A57147   LINETH       TULULA                       VA     90013964370
19BBB95184B588   CRYSTAL      RUSSELL                      OK     21555109518
19BBB97767B476   DANTE        FRIERSON                     NC     90000589776
1B11132975B343   URBANO       MUZOZ                        OR     90011683297
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1B11172973B352   MARY          WEST                        CO     90007477297
1B111852572453   DANIEL        HOUGH                       PA     90008638525
1B11279624B22B   MEGAN         SMITH                       NE     90015007962
1B112882343563   JULIE         EGGERTSEN                   UT     31005978823
1B11298344B564   LESLIE        OTWELL                      OK     21583599834
1B112A29147956   SHARON        GARRETT                     AR     24070240291
1B113172951337   TONIA         SAMUELS                     OH     66095931729
1B1131A465B526   ALEJANDRO     MARTINEZ                    NM     90011961046
1B11331677B358   MARIA         OMERO                       VA     90003693167
1B113333A61958   JESSICA       PARTIDA                     CA     90010213330
1B11358727B358   INES          ROMERO                      VA     90013375872
1B11361895B154   AMANDA        DRIVER                      AR     90012726189
1B113824991263   DELORES       MOORE                       GA     90009538249
1B11387247B386   MARIA         ROMERO                      DC     90006918724
1B114121351337   BRANDI        CROLEY                      OH     90004161213
1B114134993725   MARCHELLE     BAILEY                      OH     64578491349
1B114472A4B26B   MARY          KIRKLAND                    NE     90009584720
1B114912291569   CHRISTOPHER   MARQUEZ                     TX     90014729122
1B114A44891523   ROXANNE       FRANCO                      TX     90009070448
1B115191691547   KIMBERLY      DECKER                      TX     90010701916
1B11521627B489   VICTORIA      ADAM                        NC     90005732162
1B115A1A161936   ANGELA        HILLIARU                    CA     90009470101
1B115A4A261972   ROBERT II     CARRANZA                    CA     46030550402
1B1168A565B154   ELEANOR       MITCHELL                    AR     90001288056
1B117128191577   LILIANA       RODRIGUEZ                   TX     75026191281
1B117179693759   DAWN          WARREN                      OH     90014281796
1B117469A61976   WILLIAM       L HIXON JR                  CA     90007324690
1B117539993745   TABITHA       CRAWFORD                    OH     64598785399
1B11837714B26B   SHAYLA        SELL                        NE     90001793771
1B11838768B199   WANDA         JENSEN                      UT     90014783876
1B118A5A191569   NORMA         PASURTO                     TX     90008600501
1B11926AA43529   LINDA         SMART                       UT     90013912600
1B119615831687   KARIN         EASTER                      KS     22009386158
1B119951257192   JOSE          PANIAGUA                    VA     90009049512
1B119A11857147   HUGO          AGUILAR                     VA     90007950118
1B119A62A72B62   STACY         VERGESS                     CO     90011940620
1B11B42A591523   SOCORRO       VEGA                        TX     90014154205
1B11B52819154B   FABIAN        VALENZUELA                  TX     75088085281
1B11B582861972   FARIS         QAWASMI                     CA     90001765828
1B11B5A475B526   NELLIE        DUARTE                      NM     35001545047
1B121355A77977   NICOLAS       HULL                        IL     90015353550
1B122121593759   STEPHANIE     BABB                        OH     90014161215
1B122599433699   ESSENCE       ROBINSON                    NC     90014675994
1B12295495B343   PATRICIA      FERNANDEZ                   OR     44547089549
1B123157291569   CLAUDIA       LOPEZ                       TX     75001651572
1B123244272B55   INEZ          MANZANARES                  CO     90012682442
1B123411393745   SABRINE       SHIRLEY                     OH     64516454113
1B12398414B259   ALICIA        ROWE                        NE     90009039841
1B124151991263   COREY         HOWELL                      GA     90013921519
1B124192833699   ISIDRO        MANZO                       NC     90013021928
1B124483993745   DEMESHA       FORD                        OH     90000624839
1B124624543529   HELEN         LASLEY                      UT     31011506245
1B124649357147   JUAN          CHICAS                      VA     90000586493
1B125325276B68   ESMERALDA     RAMIREZ                     CA     90013033252
1B12547714B26B   SCOTT         KAPKE                       NE     26037534771
1B12586418B533   CARACHURE     BRENDA                      CA     90015468641
1B125989691523   MONICA        BUSTAMANTE                  TX     90004839896
1B125A53261972   RAFAEL        REYES                       CA     90012160532
1B12631A243553   ERICA         SHOTWELL                    UT     90014813102
1B126468A5715B   JOSE          LOPEZ                       VA     90010614680
1B12739195B343   JULIO         MAGANA                      OR     90012383919
1B12745145715B   MARLI         DA SILVA                    VA     90004934514
1B12769237B489   EVELYN        PEREZ                       NC     90000526923
1B127AA559154B   JUAN          GARCIA                      TX     75017920055
1B12835A555948   JOEL          CERVANTES                   CA     90014593505
1B128533A9154B   CARLOS        GONZALEZ                    TX     75013415330
1B128AA2655948   EDILBERTA     VASQUEZ                     CA     90008030026
1B129329693766   WILLIAM       BAYTON                      OH     90015563296
1B12B181993745   BRIAN         FITCH                       OH     90013001819
1B12B233491895   BRITTNEY      WARD                        OK     90004722334
1B12B34825B35B   MICHEAL       GIBBENS                     OR     90014943482
1B12B35415B53B   LARRY         BLACKWELL                   NM     90011623541
1B12B736876B68   SOCORRO       PEREZ                       CA     90009137368
1B12B778261972   AMY           BURK                        CA     90012747782
1B12B991591569   MARCOS        LOZANO                      TX     90006299915
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1B131137191523   RUTH           PORTILLO                   NM     75016711371
1B131162A61972   MICHELLE       ERIBEZ                     CA     90002711620
1B13122A74B588   RENEE          COLLINS                    OK     21589342207
1B1314A3355948   PERLA          CASTELLANOS                CA     90006844033
1B131689691895   DENISE         CRAVEN                     OK     90013626896
1B13253694B26B   STEPHANIE      PERRY                      NE     26004475369
1B132681691569   ESMERALDO      RIVERA                     TX     90013446816
1B132754A4B22B   PEARL          ARMELL                     NE     90010177540
1B13312385B526   EVAGELINA      TREVIZO                    NM     90008651238
1B13333438B194   STEVE          ROMERO                     UT     90004793343
1B133521477977   JAMICHAEL      HARDEMAN                   IL     90015575214
1B133766561976   RAQUEL         MORALES                    CA     90014157665
1B133973131687   KRISTY         MADDOX                     KS     22003369731
1B133A84655948   FREDY          HERNANDEZ                  CA     90014910846
1B13417357B489   OMAR           FAULK                      NC     90010881735
1B13455A561972   SANDRA         VALLEJO                    CA     46044695505
1B13457A58B199   LAUREN         HURTADO                    UT     90007625705
1B13476625B154   MYRON          DOSS                       AR     90002597662
1B13499494B22B   SABRINA        YATES                      NE     27003479949
1B135272741284   PATRICIA       MILLER                     PA     90009652727
1B13574225B154   GLORIA         PAREDES                    AR     90011257422
1B1361A1957147   KARLA          DAVIS                      VA     90000911019
1B13622774B259   WHITNEY        HAYES                      NE     27014642277
1B13715195B154   MELINDA        MAHONE                     AR     90001541519
1B1374A7191895   JEORSHELL      MILES                      OK     90014654071
1B137628291569   JAQUELINE      MOLINA                     TX     75044766282
1B13764778433B   ARLAN          GEVIN                      SC     90010656477
1B137754461976   LUIS           IXTA                       CA     90012007544
1B13815848B178   LARRY ARTHUR   RUBEN                      UT     90012611584
1B138234147956   ELIZABETH      RUGE                       AR     90003342341
1B1386A988B178   LARRY ARTHUR   RUBEN                      UT     90004726098
1B13875648B199   TODD           LINLEY                     UT     31008987564
1B13927738B199   ROBERT         HOUSEKNECHT                UT     90008242773
1B139494472B2B   KATHLEEN       WEBER                      CO     33085184944
1B13953A372B55   MARICELA       PIZARRO                    CO     33006785303
1B139924A93773   JAMES          HENRY                      OH     90010239240
1B139994191569   ALICIA         MC DONONOUGH               TX     75094929941
1B13B633391569   BERTHA         GONZALEZ                   TX     90010066333
1B14147555715B   CHARA          HALL                       VA     90014484755
1B141941672B62   NELSON         VARELA                     CO     33088299416
1B141952791895   CHERRY         HILL                       OK     90014629527
1B141A27193745   CHARLES        NOEL                       OH     90012950271
1B142736372B62   APRIL          ARMIJO                     CO     90010977363
1B143419455963   MARY           URIVE                      CA     90014104194
1B1439A778B199   NIELSEN        CRYSTAL                    UT     31004389077
1B143A72961938   PHILLIP        ROMERO                     CA     90005460729
1B1447A1861936   LANNY          CLINE                      CA     90011827018
1B145463531465   MICHAEL        JONES                      MO     90008164635
1B145512461958   JUAN           HERNANDEZ                  CA     90011225124
1B14556115B526   KATHERINE      LATIMER                    NM     90014715611
1B145591172B62   CASSANDRA      BUZZELL                    CO     90009935911
1B1456A9A5715B   VERONICA       GARCIA                     VA     90010646090
1B14636952242B   AMY            THOMAS                     IL     20552643695
1B146538A72483   KEVIN          PIZER                      PA     51098475380
1B14655545B154   EDUARDO        PINEDA                     AR     23066325554
1B146557593766   JASON          NEWLAND                    OH     90015605575
1B1465A7791569   DULCE          SANDOVAL                   NM     90013265077
1B14674954B22B   MARIA          AYON-FERNANDEZ             IA     27013407495
1B146A36143563   MARIBEL        REYES                      UT     90006930361
1B147126293766   TERRI          HUNTER                     OH     90013741262
1B1472A8557125   PAYGO          IVR ACTIVATION             VA     90013322085
1B14741774B26B   JOSE           CUEVAS                     NE     26001074177
1B147422693766   TERRI          HUNTER                     OH     90007684226
1B147668936B24   CLEO           GRIER                      OR     90009376689
1B147A36143563   MARIBEL        REYES                      UT     90006930361
1B1481A268B199   PARKER         BARLOW                     UT     90014951026
1B149231793745   BRANDY         WARD                       OH     90002522317
1B149316291569   RICARDO        MENDEZ                     TX     75009773162
1B149489A4B22B   MICHAEL        EISELE                     NE     27058084890
1B149788347956   JOSE           GUTIERREZ                  AR     90009937883
1B14B1A4861958   MIKE           BAIR                       CA     90006861048
1B14B4AA461938   NOELLE         PRICHETT                   CA     46006704004
1B14B55235B526   AMBER          ALVARADO                   NM     35006175523
1B151345661976   BRENDA         FUENTES                    CA     90010253456
1B151466884375   JUSTIN         POWER                      SC     90013294668
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1B1515AA331687   ALICE        KIRKPATRICK                  KS     22079845003
1B15189A355948   JUDITH       SANDOVAL                     CA     90014038903
1B151A19A72B62   MIRIAM       RODRIGUEZ                    CO     33063750190
1B151AA9172435   JAMES        HARE                         PA     51086500091
1B152285491523   VANESA       VIDALEZ                      TX     90014552854
1B15241755B526   TAFOYA       ANDREW                       NM     35084654175
1B15315517B428   MARIA        LEIVA                        NC     90008551551
1B15334415B35B   JOEL         WARNER                       OR     90010283441
1B15335A672B55   BRENDA       MONTOUR                      CO     90003383506
1B15349142B866   TARALEA      ERICKSON                     ID     90002274914
1B153655472453   MELISSA      BEBOUT                       PA     90013076554
1B153737A91895   PANCHO       VILLA                        OK     21078937370
1B15421A85B343   AMANDA       ESPINO                       OR     44537812108
1B154625947956   MARGARETT    WATSON                       AR     90012566259
1B154695857147   STEVE        JEFFERY                      VA     90000996958
1B1549A8761972   GUADALUPE    CERVANTES                    CA     90013169087
1B154A8A52B966   MADELINE     MCNEILLY                     CA     90013590805
1B155151A5B343   DAMIAN       LOPEZ                        OR     90013221510
1B1551A995B35B   ALBERTE      DELEVERY                     OR     90001171099
1B155476393766   SOLOMON      STONER                       OH     90015184763
1B156122991569   SOCORRO      AZCARATE                     TX     75026221229
1B156139261958   CHARLIE      SANCHEZ                      CA     46017711392
1B156299161938   ADRIAN       MORAN                        CA     90013052991
1B1563A995B526   YOLANDA V    ABEITA                       NM     35038983099
1B156736961972   ROSIE        ERVIN                        CA     90013017369
1B157224951337   KAREN        SPRADLIN                     OH     66003942249
1B157245891523   CLAUDIA      IGO                          TX     75077582458
1B157477361976   CLAUDIA      RAMIREZ                      CA     90002404773
1B157559654152   MICHAEL      WEST                         OR     47005115596
1B157927A43563   PALMIS       CONSTRUCTION                 UT     90014829270
1B157A82691895   DUSTIN       MARTIN                       OK     90010410826
1B1584A4243563   RAMOS        ABBY                         UT     31008984042
1B158816377577   GERARD       BAYON                        NV     90002618163
1B159192A91263   SHAWN        MCCURRY                      GA     90014591920
1B15B155391523   VICTORIA     LOPEZ                        TX     90003691553
1B15B1A2772B84   CASSIE       GIETL                        CO     90001461027
1B15B3A325B35B   JOAN         MAYO                         OR     90012383032
1B1615A574B259   LAUREL       NELSON                       IA     27090525057
1B16195544B22B   DANIQUA      JOHNSON                      NE     90014629554
1B1621A2461972   ERICK        OTANEZ                       CA     90015191024
1B162253291523   BRENDA       ACOSTA                       TX     90010702532
1B162344243563   KATHALEEN    STOKES                       UT     90013183442
1B163555991569   BEATRICE     CASAREZ                      NM     90013635559
1B164469243563   ARIEL        MARQUEZ                      UT     90012164692
1B1645A8231456   SHANNON      OLIVER                       MO     27594905082
1B164666757147   CARLOS       VALDIVIA                     VA     90009426667
1B164AA4151337   ROBERT       WILLIAMS                     OH     90014460041
1B165269872B62   JOSE         CRUZ                         CO     33039762698
1B16591744B22B   YANET        GARCIA                       NE     90015039174
1B166266847956   JESSICA      REEVES                       AR     24005902668
1B166451972B62   WILL         SISNEROS                     CO     90003694519
1B166654557147   LUIS         SANCHEZ                      VA     81010216545
1B16671415715B   TEODORO      ROMERO                       VA     81014187141
1B16674327B442   IOANNIS      FOURTOUNIS                   NC     11000637432
1B167127872B62   NADIA        CENICEROS                    CO     90009521278
1B167253147956   PAULA        TINONGA                      AR     24018042531
1B167734557147   KARINA       BONILLA                      VA     90013997345
1B167867243563   KATHY        ROWLAND                      UT     31020658672
1B167983591895   SCOTTY       NEWMAN                       OK     90014629835
1B16814965B35B   LANIDA       MINNIEWEATHER                OR     90010741496
1B16843765B154   ROSEMARY     WILSON                       AR     23064294376
1B168439893766   SHANNON      VARNEY                       OH     90015614398
1B168487961938   ABRAM        RESEK                        CA     90009044879
1B168A35361976   JOEANNA      GIVENS                       CA     90009090353
1B16918A147956   RANDY        HOWARD                       OK     90001571801
1B16921428B139   CARRIE       CRAWLEY                      UT     90004722142
1B169265893759   SERENA       MCSPADDEN                    OH     90015002658
1B169516691895   ADRIONA      KIEL                         OK     90013895166
1B16991744B22B   YANET        GARCIA                       NE     90015039174
1B169936576B68   IAN          SPENCER                      CA     90014579365
1B16B443176B68   CAROLE       PUAAULI                      CA     90012184431
1B16B516691895   ADRIONA      KIEL                         OK     90013895166
1B16B5A7461958   RICARDO      ARREDONDO                    CA     90012205074
1B16B8AA872B55   MONIQUE      VALDEZ                       CO     33093648008
1B16BA7A843563   SILVIA       SALGUERO                     UT     90012600708
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1B17112165B154   TARRELL      RICE                         AR     23077881216
1B17115A65715B   MARIBEL      REVOLORIO ESTRADA            VA     90015271506
1B171191A8438B   ANGELA       BUCK                         SC     90009401910
1B1724A2676B68   ANGELA       CRUZ                         CA     46016434026
1B172516691895   ADRIONA      KIEL                         OK     90013895166
1B172552957124   ROSA         MARADEAGA                    VA     90012735529
1B172653461958   SANDRA       TORRES                       CA     90009856534
1B172791857147   SALOMON      BENAVIDES                    VA     90013037918
1B173217176B68   DENISSE      GORDON                       CA     90014432171
1B17333517B489   JAMES E      CLOUD JR                     NC     90010463351
1B173549131687   PAYGO        IVR ACTIVATION               KS     90014135491
1B17374724B259   RAQUEL       HERNANDEZ                    NE     90009857472
1B17414735B35B   DARLENE      HOWARD                       OR     90013921473
1B174379872453   TINA         LOUGHMAN                     PA     90011033798
1B174674647956   LIZA         JOHNSON                      AR     24089586746
1B174885555968   DAVID        NOBLE                        CA     49098638855
1B174A42691523   JAVIER       MARTINEZ                     TX     90013770426
1B17597A593745   REGINA       GLEASON                      OH     90007529705
1B175A9335B35B   MARIO        REYES                        OR     90012350933
1B176112572B62   CHUDA        KHANAL                       CO     90012171125
1B1761A5755948   OSCAR        BARRIGA                      CA     90014911057
1B176348A91523   INTERNATIO   FREIGHT                      TX     75059123480
1B17646544B26B   MEGHAN       ANDERSON                     NE     90004914654
1B176A9A85B342   SERAFIN      CABELLO                      OR     90004520908
1B177377847956   SHADARA      ARCHER                       AR     90012253778
1B178385561938   PRISCILLA    CARRASCO                     CA     46036483855
1B17852158B199   PAUL         STURM                        UT     31079405215
1B17863A95B343   KELI         RAY SAVAGE                   OR     44500696309
1B17875274B23B   JESUS        LEDESMA                      IA     90011697527
1B179411793745   STEVEN       BIXLER                       OH     64566564117
1B17949145B55B   BARBRA       CHAVEZ                       NM     36011634914
1B17B21988B199   TIARA        MARTIN                       UT     90009242198
1B17B342993766   RHONDA       DEER                         OH     90014803429
1B17B4A4757147   RAYMUNDO     ACEVEDO                      VA     90011644047
1B17B536691899   NERIO        LUNA                         OK     90012655366
1B17B987791263   SALVADOR     GONZALES                     GA     90015129877
1B181183333699   ANISSA       BYRD                         NC     90012301833
1B1815A494B588   JAY          ZIGLER                       OK     90010825049
1B18162685715B   MICHAEL      SOUZA                        VA     90013326268
1B18163178438B   JAQUAN       DURANT                       SC     90009756317
1B18163A743529   ANA          MUNIZ                        UT     90004336307
1B181799254146   GERALD       WHEELER                      OR     90014697992
1B182316391586   LAILA        RAJABI                       TX     90006463163
1B18286984B22B   DAVID        MACK                         NE     90007438698
1B18288535B343   MARCO        SAUCEDO                      OR     44538528853
1B182939851337   MOLLY        WILLIAMS                     OH     90013609398
1B182A3767B489   VENUS        THOMPSON                     NC     11059000376
1B183132561958   COLEMAN      ENTERPRIZES                  CA     46005821325
1B1834A7893745   RACHEL       SCHMIDT                      OH     64523694078
1B183A34747846   LATISHA      DUPREE                       GA     90011180347
1B184328477977   JASIE        ANDERSON                     IL     90015453284
1B184568991895   RUBY         BLOTZER                      OK     21033955689
1B184657333699   SKYLER       TILLEY                       NC     90013916573
1B18493A74B23B   SIMONE       WILLIAMS                     NE     27073709307
1B18547975B526   CINDY        MEZA                         NM     90009224797
1B18548418B199   ANABEL       CARMONA                      UT     31013794841
1B185579693766   BRANDY       ROUSH                        OH     90000375796
1B18565315B35B   NATASHA      EDWARDS                      OR     90009876531
1B185789343563   ROBINSON     BASHUALDO                    UT     90007297893
1B18584678438B   MICHAEL      WARD                         SC     19097118467
1B185913991523   JOSE         DE LA ROSA                   TX     75031969139
1B185A2922B966   MARISSA      RAMIREZ ESPINOZA             CA     90013600292
1B186156191523   ANA          MIRANDA                      TX     75025021561
1B186648693773   TIFFANY      LATHAM                       OH     90014276486
1B18672AA93766   TIM          BODLEY                       OH     90011447200
1B186777755948   MICHELLE     FIGUEROA                     CA     90000497777
1B18679154B588   AMBER        ULRICH                       OK     21590287915
1B187125393773   KRISTINA     HAMM                         OH     66012031253
1B187146591899   KERRY        MCSPERITT                    OK     90014031465
1B187379872453   TINA         LOUGHMAN                     PA     90011033798
1B187518161958   DOLORES      GATICA                       CA     90011225181
1B187A1315B343   TRISHA       BAKER                        OR     90014820131
1B187A34555948   ROSA         HARO                         CA     49002560345
1B187A67633699   LASAUNDRA    ANDREWS                      NC     90005940676
1B18819624B536   ARMANDO      MUNOZ ROJAS                  OK     90011441962
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1B1881A3561976   CLARA        ALAMILLA                     CA     90010731035
1B188449172B55   SAIRA        MORALES                      CO     33005594491
1B188526691569   PERDO        SANDOVAL                     TX     90012155266
1B188652A5715B   ZEGEYE       WELDE                        VA     90012606520
1B188676A51337   JASON        RADFORD                      OH     90007316760
1B18876A976B68   JUAN         VALDEZ                       CA     90011287609
1B188968A4B588   BOBBI        DEVORE                       OK     90006509680
1B18922A98B199   PATRICK      MIANGALA                     UT     90011672209
1B18941865B343   CODY         CARLLSON                     OR     90009444186
1B1895A9991569   KARLA        MARQUEZ                      TX     90012935099
1B18B19854B979   TRACY        GOLDMAN                      TX     76562001985
1B191161876B68   NAYELLY      RODRIQUEZ                    CA     90010531618
1B1913A1351337   AMBER        MASTIN                       OH     66021483013
1B19194344B26B   KATHLEEN     HARLAN                       NE     26015829434
1B191A3124B23B   JASON        DICKEY                       NE     90013990312
1B191A6448B199   ANTONIO      BECKSTEAD                    UT     90007890644
1B192872772453   R BARRY      SPRIGGS                      PA     90015198727
1B19291A35B154   HUMBERTO     SALDIVAR                     AR     23094279103
1B193411393745   SABRINE      SHIRLEY                      OH     64516454113
1B19377567B489   TAUSHA       TAUSHA                       NC     90010307756
1B193783561937   MARK         ARAUJO                       CA     90011737835
1B19438452B966   JASON        DOWNS                        CA     90013603845
1B194687931687   DIAMONTE     JEANS                        KS     90014206879
1B194728A5B343   FILIMON      BASARGIN                     OR     90001977280
1B194821A4B259   ANA          DUBON MIRANDA                NE     90003188210
1B195159993759   HEATHER      DIXON                        OH     90013231599
1B195216872453   DAWN         HARPER                       PA     51004962168
1B1955A4231687   SHANNON      SMITH                        KS     90009045042
1B195662861958   ANGER        DENG                         CA     90014496628
1B19567A95B35B   DRAKE        STEVENS TUPPER               OR     90013796709
1B195875A5B282   PATRICK      SLOSS                        KY     68094908750
1B19611A85B526   ROSIO        NAVARRO                      NM     35057131108
1B196373391569   ANA          TORRES                       TX     90009083733
1B196772876B68   ALEJANDRA    ROCHA                        CA     90011287728
1B196A98491263   ROBERTO      LOPEZ                        SC     90014290984
1B197181393773   KATHERINE    GARRISON                     OH     90013111813
1B1973A4991569   RAKISHA      BURTON                       TX     90010953049
1B198162157199   CAROLINA     GALDAMEZ                     VA     90001941621
1B19866225B35B   BRADLY       TITUS                        OR     90001586622
1B19869A291523   ILSE         SANCHEZ                      TX     90008796902
1B198896591569   ERNESTINA    LOPEZ                        TX     90007038965
1B19B48614782B   SHANIKA      BARNES                       GA     14095284861
1B19B531691523   CARLOS       MEDELLIN                     TX     90014145316
1B19B633443563   CORY         CLYDE                        UT     31087816334
1B19B745261958   JORGE        SAENZ                        CA     90012017452
1B19B842776B68   NATHANIAL    CARPENTER                    CA     90014918427
1B19BA9A776B69   JASON        GOEBEL                       CA     90008860907
1B1B1221461938   ALEJANDRA    HURTADO                      CA     90012282214
1B1B186A95B154   JEANTTA      TOWNSEND                     AR     90006558609
1B1B198A161976   VERONICA     CASTRO                       CA     46087199801
1B1B247195B343   NINA         SARMANIAN                    OR     44515684719
1B1B2489961958   JUDE         ISNANDY                      CA     90009364899
1B1B2A24457142   MAXIMO       COR                          VA     90002240244
1B1B2A28661972   LAVON        SHIELDS                      CA     90013680286
1B1B3698161972   GUILLERMO    CORONA                       CA     46002756981
1B1B3745493773   JASON        PROFFITT                     OH     66096187454
1B1B3874891523   GLORIA       ESPINOZA                     TX     90008518748
1B1B3A15831456   APRIL        DAVIS                        MO     90003060158
1B1B3A7AA93745   SHELIA       HARVEY                       OH     90009590700
1B1B4558993759   DAKOTAH      FELL                         OH     90013085589
1B1B4667261938   JAQUETTA     SANDERS                      CA     90013326672
1B1B473485B335   TAMMI        MONDAY                       OR     90004187348
1B1B4A55672453   ROBERT       PHILLIPS                     PA     51079140556
1B1B521A85715B   CROSS        SIMPSON                      VA     90011322108
1B1B53A7191569   YVETTE       QUIROZ                       TX     75010273071
1B1B5491761958   RANDY        RIVERA                       CA     90011224917
1B1B5624651355   AMANDA       CIONE                        OH     90007576246
1B1B5719276B68   CAROLINA     JARA                         CA     90014817192
1B1B5897293773   WILLIAM      FRANCIS                      OH     90014518972
1B1B5941291895   CHAQUATA     DOSS                         OK     90014629412
1B1B5966461976   ANGELA       TELLEZ                       CA     46015079664
1B1B6183561972   YAJAIRA      ROSAS                        CA     90010051835
1B1B6251655948   GABRIELA     MORAN                        CA     90011152516
1B1B6385691523   LYDIA        GOMEZ                        TX     90014983856
1B1B642A45B526   CRYSTAL      GUTIERREZ-BACA               NM     90004014204
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1B1B65A888B199   DEXTER       PLATTER                      UT     90006435088
1B1B65A922B837   BOYD         DAVIS                        ID     90000495092
1B1B6672761938   FERNANDO     SANCHEZ                      CA     90014166727
1B1B676AA91569   ALEXANDRA    HERMOSILLO                   TX     90007777600
1B1B6826561976   JATHAN       LOPEZ                        CA     90012788265
1B1B6974477522   WALTER       JOLON                        NV     90007849744
1B1B6A34461938   FERNANDO     SANCHEZ                      CA     90006050344
1B1B7257593773   KRISTEN      ST JOHN                      OH     66048082575
1B1B7813891569   ARACELIE     DURON                        TX     90001908138
1B1B7924447956   DAKOTA       FEY                          AR     90013589244
1B1B8318855948   RODOLFO      TIXTA                        CA     90015383188
1B1B83A4133699   C            J                            NC     90013883041
1B1B871865B35B   ANTONIO      DIEGUEZ                      OR     90011047186
1B1B92A4361958   ANA          VARGAS                       CA     90010152043
1B1B977984B22B   JO           HUDSON                       NE     90015007798
1B1B9873131687   JUAN         LARRA                        KS     22006158731
1B1BB4A158B193   CHRISTIAN    ARELLANO                     UT     90009524015
1B1BBA87361972   CLARENCE     MITCHELL                     CA     90007260873
1B211592343563   ALBERT       TSOSIE                       UT     90007595923
1B211861376B68   MATGARITA    CONTRERAS                    CA     90012888613
1B212378493745   REBECCA      COLLETT                      OH     90012973784
1B212392A91547   REBECA       ORTEGA GALLAGHER             TX     90012313920
1B212697393759   DEBORAH      ROBINSON                     OH     90014166973
1B21282185715B   RENZO        RODRIGUEZ                    VA     90013678218
1B21348528B199   KRISTIN      GILLETT                      UT     31021954852
1B21352594B259   EVELIA       CHAVEZ                       NE     27008145259
1B213553A41284   LEON         REMAIN                       PA     90012435530
1B213A46472435   JOHN         BILSKY                       PA     51094250464
1B21413548433B   TANESHA      MAYERS                       SC     90003151354
1B214169A93766   JASON        HUBBS                        OH     90013921690
1B21419157B489   COREY        MERCER                       NC     90013751915
1B21437A372B62   JOSEPH       SCHWAB                       CO     90012403703
1B21487392B966   MARIA        GARICA                       CA     90002298739
1B215215991263   SARA         CLINE                        GA     90011422159
1B21524445B343   HUGO         SUNIGA                       OR     90014912444
1B2157A5693759   DEBORAH      ROBINSON                     OH     90014167056
1B21589874B592   ANA          CHAVEZ MAENDELE              OK     90005268987
1B215935172B62   DEWEY A      CARVER                       CO     90009689351
1B21595A191573   MARIA BARR   NCS                          TX     75090099501
1B215A36A51337   BRANDI       NADLER                       OH     66005890360
1B21647924B26B   JONI         OLBERDING                    NE     26076144792
1B21654942B924   PEDRO        NERI                         CA     90008045494
1B216846357147   DEYSI        QUIJADA                      VA     90015178463
1B216956A93745   LINDSEY      ALSPAUGH                     OH     90014429560
1B216AA7655948   MARTHA       GONZALEZ                     CA     90015150076
1B217487861972   YVETTE       CARDONA                      CA     90010354878
1B217519991263   DANIELLE     BANNISTER                    GA     90015595199
1B217668433699   ERICA        CAVINESS                     NC     90012366684
1B21784678438B   MICHAEL      WARD                         SC     19097118467
1B217A75851337   TALITA       PEGNO                        OH     90008480758
1B218438471925   MARTY        NIGHTINGALE                  CO     90008384384
1B2187A638B199   CHASE        NELSON                       UT     90013947063
1B21883A54B23B   JULIAN       AGUSTIN                      NE     27013618305
1B21923369154B   LISETTE      GRANADOS                     TX     75013422336
1B2193A2861958   ALYSSI       BERTCHIE                     CA     90010213028
1B21967845B154   VALERIE      GOODEN                       AR     23058326784
1B21982A391895   JOHNNIE      PARRISH                      OK     21079898203
1B219982957147   JOHN         LOPEZ                        VA     90012629829
1B21B454491569   RUBY         HERNANDEZ                    TX     90011284544
1B21B467193759   JUSTIN       FOWLER                       OH     90014574671
1B21B58A691263   NECOLE       COLLINS                      SC     90015075806
1B21B65835715B   EDWIN        UMANA                        VA     90014906583
1B21B869747956   EDUARDO      DIAZ                         AR     24073128697
1B21BA5315B343   BENITO       PASTOR ROJAS                 OR     44549540531
1B221735561997   DONALD       ENGLISH                      CA     90014357355
1B22242A55B35B   CAROL        SHAFF                        OR     44582304205
1B22262A755948   SERGIO       PALOS                        CA     49057276207
1B2229AA647956   SAMANTHA     ANDERWS                      AE     90009749006
1B222A43891895   JOSEPH       HAARRY                       OK     90014630438
1B2232A2291263   DUANE        BEDGOOD                      GA     14580972022
1B223624A31687   HUGO         MARTINEZ                     KS     22064266240
1B224122861938   BLANCA       MELENDREZ                    CA     90009451228
1B224662191895   LAJUANDA     FLEMMONS-WILLARD             OK     90004806621
1B224893591569   REBECCA      DURAN                        TX     75051728935
1B224A36143563   MARIBEL      REYES                        UT     90006930361
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1B22511A88B157   SHARLA       NEALE                        UT     90001551108
1B225927A43563   PALMIS       CONSTRUCTION                 UT     90014829270
1B22598265B35B   ISRAEL       TECHALOTZI                   OR     90011819826
1B22618A147956   RANDY        HOWARD                       OK     90001571801
1B226262293773   ETHAN        STEELE                       OH     90015562622
1B226589461958   ORLANDO      BANOS                        CA     46017715894
1B226666931687   FLORENCE     GALLAGHER                    KS     22081576669
1B226A54791895   LACI         TURNER                       OK     90014630547
1B227A39A5B343   DAVID        PABLO                        OR     90014820390
1B227A83A47956   DAWN         WEAVER                       OK     90012290830
1B228738155948   IZELLA       LARA                         CA     90008467381
1B228756843563   MICHAELA     ANDRUZZI                     UT     90013457568
1B228823693759   DONALD       HIGDON                       OH     90008628236
1B229134661958   MARIANA      LOPEZ                        CA     90011521346
1B22919718168B   CARYN        WOLTKAMP                     MO     90001141971
1B229215961976   MARELY       PEREZ                        CA     90012302159
1B229228751337   ANTHONY      PITTMAN                      OH     66043162287
1B229391633699   AUDRIANA     SMITH                        NC     90011223916
1B229535A5B343   GARY         SIMMONS                      OR     90014525350
1B22971685B343   GARY         SIMMONS                      OR     90012027168
1B229779A33699   ANA          CRUZROQUE                    NC     90013917790
1B229A56293759   ASHELY       VONDERHEIDE                  OH     64517580562
1B22B149357147   MARIA        VILLEGAS                     VA     90010211493
1B22B338491569   BRIANA       CARDENAS                     TX     90012663384
1B22B94A693766   DAN          LAKE                         OH     90012039406
1B23118994B26B   DEBRA K      ROYAL                        NE     90007921899
1B231215491523   MARIELA      MARTINEZ                     TX     90010342154
1B23123522B966   AL           JONES                        CA     90013612352
1B231236976B68   CHOKHAWALA   ASHESH                       CA     90012392369
1B231394191569   ALBERTO      PADILLA                      TX     90013543941
1B231846393759   ANTHONY      SMALL                        OH     90013008463
1B231A9125715B   TERRANCE     HUGHES                       VA     90010130912
1B232429276B68   HEATHER      YANEZ                        CA     90013034292
1B232459A91868   ALPHAEUS     WASHINGTON                   OK     90010304590
1B232A79193745   KAY          PRITCHARD                    OH     90000430791
1B232A8975B343   ELENA        VEGA-CASTILLO                OR     90011210897
1B233131A43563   HENRI        CARRILLO                     UT     90013361310
1B2331A4A91569   WOODY        HARGROVE                     TX     75088451040
1B233493343563   JOSE         ROBLES                       UT     90012574933
1B233498261976   LUPE         ORTEGA                       CA     90007754982
1B233666493758   NATALIE      JOHNSON                      OH     90011546664
1B233669731687   MICHEAL      WILLIAMS                     KS     90013826697
1B234164A8B199   PABLO        SANCHEZ                      UT     31097141640
1B234259791898   ALYSA        MCKINNEY                     OK     90012182597
1B23432854B26B   MARY         KELLY                        NE     90009783285
1B23462253B722   KAREN        KILJANDER                    WY     90014146225
1B234722161938   VERONICA     NIEVES                       CA     46083957221
1B2349A614B22B   ENRIQUE      AMARO                        NE     27082999061
1B2352AA75715B   HELMER       BENAVIDEZ                    VA     90013992007
1B235712391523   BEATRIZ      PICHARDO                     TX     90013017123
1B23572835B343   GREG         TUBBS                        OR     90009187283
1B235868476B68   MARIA        MANRIQUEZ                    CA     90010558684
1B236218233699   ROBIN        JOHNSON                      NC     12027212182
1B236341561938   DARWELL      ARNOLD                       CA     90005913415
1B236589561972   RACHEL       BASACA                       CA     46017845895
1B236758A5B154   JUSTIN       GREEN                        AR     90013367580
1B236965A4B588   MITZIE       HARPER                       OK     90006799650
1B23735845715B   JOHN         JARA                         VA     90011023584
1B237525743563   MICHELLE     ROBERTSON                    UT     90002725257
1B23762935B154   LAHOMA       DAVIS                        AR     90014706293
1B23828515B35B   MARISSA      JOHNSON                      OR     90013172851
1B238322691523   GEORGE       AVALOS                       TX     90009673226
1B238A24193759   CELESTE      BAUGHMAN                     OH     64596670241
1B239638A72453   THOMAS       CROTHERS                     PA     90015136380
1B23B183372453   LOWE         HAWKINS                      PA     90011351833
1B23B284972B55   MANUEL       CORREA MACIAS                CO     33081052849
1B23B32A95B343   DUSTIN       BUTLER                       OR     44580903209
1B23B695772435   JOYCE        LEONARD                      PA     90005316957
1B23BA58391895   LEN          PAYNE                        OK     90014630583
1B23BA5A351337   JEFFERY      CHAVIS                       OH     66011010503
1B241181461938   GINGER       VALENZUELA                   CA     90003881814
1B2411A775B343   AMAL ESAM    ABID                         OR     90013211077
1B24184895B526   DAVID        PALERMO                      NM     90012908489
1B242129272453   BRANDON      PHILLIPS                     PA     90012121292
1B2426A2347956   BRUCE        DAVEY                        AR     24010616023
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1B24294A791895   THOMAS       RUTHERFORD                   OK     90014639407
1B24296715B154   TAMI         MURRY                        AR     90013149671
1B243122A61958   MARTHA       MOTA                         CA     90013111220
1B24338A78B199   MADALYNN     PACKER                       UT     90009643807
1B24343565B526   ALAN         VALENZUELA                   NM     90014584356
1B243636661976   AIOTEST1     DONOTTOUCH                   CA     90015116366
1B243A56643563   JENNIFER     OMANEBRIMPONG                UT     31018730566
1B2441A2676B68   MAURICIO     SALAZAR                      CA     90010561026
1B244636893759   TIMOTHY      VANCULIN                     OH     64511116368
1B24527155B154   JAMES        BROWN                        AR     90009932715
1B245372931687   JOSH         PRICE                        KS     90003913729
1B245473376B68   VIVIANA      VENEGAS                      CA     90013294733
1B2456A2891895   LATANYA      GREEN                        OK     90012696028
1B245823561938   JUAN C       NIX                          CA     90011078235
1B245846891569   FRANCISCO    SERRANO                      TX     75052308468
1B24587A461972   MIGUEL       AGUAYO                       CA     46015148704
1B245A95961936   JUANA        OSUNA                        CA     90011830959
1B24689A955948   NIOMI        ORNELOS                      CA     90010298909
1B2468A675B343   HECTOR       SANCHEZ CORDERO              OR     90013578067
1B246935991573   STEPHANIE    GOMEZ                        NM     90013039359
1B24694575715B   ARMANDO      MARTINEZ                     VA     81027519457
1B2469A985B343   ALBERTO      VALENCIA LUNA                OR     44505479098
1B247244572435   PAUL         WINGATE SR                   PA     51022822445
1B24772796147B   THEADORA     SMITH                        OH     90014497279
1B247A9874B22B   GREGORY      STEVENSON                    NE     27055730987
1B247AA792B966   TERENCE      CRUMP                        CA     90013620079
1B248465733699   MONICA       DIXON                        NC     90006014657
1B248714951337   ENEREIDA     JUAN                         OH     66056087149
1B24878A261972   OMAR         FRANCO                       CA     90013527802
1B24887998B199   FRED         RODARTE                      UT     90013098799
1B249174193745   SHARRON      SHORT                        OH     64544501741
1B24925835B526   NICHOLAS     WARD                         NM     35058812583
1B249312272B62   ANGELA       NEWMAN                       CO     33095213122
1B249759891523   ROLANDO      MONTELONGO                   TX     90006677598
1B24985A661972   VENTURA      GUERRERO                     CA     90013818506
1B24B673A91569   ANDY         GUERRERO                     TX     90004516730
1B24B68364B22B   AISHA        SPENCER                      NE     90000586836
1B2511A8A93745   JOHN         BARNES                       OH     64538071080
1B25132174B252   MORRIS       BISHAY                       NE     90004173217
1B25133954B22B   WILLIAM      MANZER                       NE     27016223395
1B251848961976   ADRIANA      FLORES                       CA     46091448489
1B25235215B526   IRVING       NAJERA                       NM     90013113521
1B252561143563   ANSELMO      PRADO                        UT     31053285611
1B2525A8651337   HARDEN       REESE                        OH     90007945086
1B252664533699   SYDNEY       MITCHELL                     NC     90013756645
1B252726255948   MARISOL      MORENO                       CA     90014727262
1B252847A91899   PATNO        MARILEN                      OK     21078638470
1B25286382B966   EDUARDO      LOPEZ                        CA     90004358638
1B25294745B343   CHRISTINA    DEROKEY                      OR     90012919474
1B25298858B165   DAYANNE      PARRA                        UT     90012039885
1B252A4947B489   ARKYRA       BLACKWELL                    NC     11067310494
1B252AA5461938   DAVE         HANCOCK                      CA     46005660054
1B253189893759   MICHELLE     DANIEL                       OH     64593921898
1B253584433699   MICHELLE     BURGESS                      NC     90005115844
1B2539A5447956   JACKIE       WARD                         AR     24008089054
1B254151547956   ASHLEY       ENGEL                        AR     24062711515
1B254171793773   JASON        BORGEMENKE                   OH     90014181717
1B254822131687   JAMES        CHAVEZ                       KS     90013778221
1B254918372B28   KEITH        HOOVER                       CO     33092759183
1B25517624B232   LISA         HARRIMAN                     NE     27069461762
1B2552A8861972   JUAN         HERNANDEZ GARDUNO            CA     90014902088
1B255A9874B22B   GREGORY      STEVENSON                    NE     27055730987
1B256169A55948   JETZABET     DAZA                         CA     90013801690
1B25647A961938   ANTONIO      SAMERON                      CA     46064914709
1B256584272453   FRANK        HOLDEN                       PA     90011955842
1B25686137B489   DARRYL       SPRINGS                      NC     90010148613
1B256A99A5B123   SIOBHAN      TRAYLOR                      AR     90013360990
1B25722647B436   ADA          PADILLA                      NC     90000192264
1B257836355948   RICHARD      FLORES                       CA     90010208363
1B25831A993766   AMY          MALOTT                       OH     66095433109
1B258364A5B35B   ALFREDO      GONZALEZ                     OR     44518113640
1B259559572453   LINDSEY      HUNNELL                      PA     90013145595
1B25957418B199   CHRYSTAL     STOCK                        UT     90010215741
1B2595A9A91569   CHISTOPHER   GARCIA                       TX     90007595090
1B259618161938   AEISES       SPAIN                        CA     46085786181
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1B25968794B588   BIANCA         JONES                      OK     21562816879
1B25B11165B35B   VERONICA       DIAZ                       OR     90012351116
1B25B37A561976   ENRIQUE        CHAVEZ PEREZ               CA     90012903705
1B25B74755B343   JUSTINE        LUND                       OR     90011697475
1B2617AA65B35B   SERMIHNER      PABLO                      OR     90013257006
1B262945791523   LIVIA ZULEMA   FLORES                     TX     90012599457
1B263357461938   KARINA         BARRIENTOS                 CA     90014763574
1B263657961972   GAU            VERGARA                    CA     90012156579
1B2637A264B26B   KATTIA         OUM                        NE     26030157026
1B264179493745   NICOLE         BIRD                       OH     90014851794
1B2641A1593747   TINA           FARLEY                     OH     90012211015
1B264528772B55   MICAELA        JIMENEZ                    CO     33010115287
1B264697976B68   PEDRO          VENEGAS                    CA     46005876979
1B264AA8593759   OLIVERIO       GUMERCINDO                 OH     90015160085
1B26554815B154   SHANNON        WHITE                      AR     23001845481
1B266762855948   LEANNA         TORRES                     CA     49007117628
1B26679318B136   JEFF           HOLLEY                     UT     31089047931
1B267279A76B68   AMY JEAN       TUNGSETH                   CA     46015692790
1B267298591569   GABRIELA       RODRIGUEZ                  TX     90004772985
1B26729A891523   MARIA          DAVILA                     TX     90014932908
1B26777765B526   SUZANNE        CUNNINGHAM                 NM     90013257776
1B267876747956   ROBERTA        SESSUMS                    OK     24096148767
1B268148193745   KELLY          DOSECK                     OH     64519501481
1B26821A75B247   DENNIS         DISNEY                     KY     68091922107
1B268635661938   AMY            GARCIA                     CA     46005046356
1B268872A51337   AMY            SMITH                      OH     90013708720
1B268963793773   NATASHA        SHAFFER                    OH     90014529637
1B268A75A2B865   GARY           MILLER                     ID     41057180750
1B269138347956   TIFFINEY       TABOR                      AR     90012551383
1B269156643563   SONIA          GARCIA                     UT     90011901566
1B269442361938   TCHOKY         MUKENDI                    CA     46064914423
1B269739661958   NORA           VITAL                      CA     90014467396
1B26B528372453   ROBERT         GARCIA                     PA     90015185283
1B26B776A51337   DEBORAH        COLLIER                    OH     90015217760
1B26B9A5443563   THERESA        MARQUEZ                    UT     90012199054
1B26BA4978B199   STEVEN         CONNERS                    UT     31017340497
1B27115275B343   SETH           STAPLES                    OR     90012261527
1B27163694B22B   MICHELLE       WADE                       NE     90004746369
1B27167215B343   SETH           STAPLES                    OR     90014586721
1B27169182B234   HARTWELL       COUSIN                     DC     81016686918
1B272235893724   AMERICA        MARAJ                      OH     90004212358
1B272641691569   JULIAN         ARANGO                     TX     90008486416
1B27292A676B68   FELIPE         BAUTISTA                   CA     90000919206
1B2732A5833699   CRISTINA       BAHENA                     NC     90003822058
1B273329991895   NALLELY        GARCIA                     OK     90010413299
1B27364A972B62   SONIA          SOLITO CARPIO              CO     33057996409
1B27387A261938   MARIA          HORSCO                     CA     90004148702
1B2742A9833645   NIETTRA        SMITH                      NC     12006952098
1B274478A93773   MENSAH         MARTIN                     OH     90006034780
1B274668A91263   REGINALD       ANTWAN                     GA     90013706680
1B274A7334B22B   ANDREZ         NILA                       NE     90001220733
1B275112A8438B   DARLENE        MIKELL                     SC     19043111120
1B275144855948   JULIO          ELOTLAN                    CA     90013101448
1B27549537B489   SHANEKA        MCBRIDE                    NC     90014954953
1B2755AA18B193   WYATT          BRYAN                      UT     31035815001
1B275847661938   NATHAN         HUBBARD                    CA     90014038476
1B275A96361936   SELENA         MUNGUIA                    CA     90010800963
1B276279893759   WILLIAM        THOMAS                     OH     64594202798
1B27633A35B343   BRADLEY        GREENO                     OR     90002943303
1B276531891569   ANA            FIERRO                     TX     90000915318
1B276664272B62   DANIEL         LIZZARRAGA                 CO     90009966642
1B276779961958   TRACY          MAYWELL                    CA     90007357799
1B27688544B26B   KEVIN          ROLFSMEYER                 NE     90001548854
1B27689278438B   BELINDA        HSIA                       SC     19018548927
1B277143493773   DEAUNDREL      JACKSON                    OH     90010891434
1B277559576B68   OVIDIO         CRUZ PEREZ                 CA     90013385595
1B278747A93724   LATESA         WILLIAMSON                 OH     90013637470
1B27889AA76B68   YONATHAN       MENDOZA                    CA     90013218900
1B2788A214B259   JUSTIN         LARSEN                     NE     90010508021
1B278A5565B183   WYVONNIA       DENTON                     AR     90009450556
1B278A58961938   KATHY          EGAN                       CA     46081910589
1B279841831687   SUZIE          RED                        KS     90015148418
1B2799A444B259   RAMIRO         GARCIA                     NE     90002819044
1B27B134491895   OMNNI          BROWN                      OK     90014631344
1B281464A91895   DANIEL         ESCOBOZA                   OK     21063554640
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1B281618861976   LYANNE        CAMACHO                     CA     90013586188
1B281674A55948   JEANETTE      RAMIREZ                     CA     90012856740
1B281854661976   EVANGELINA    FREY                        CA     90014988546
1B281892561972   JOSEPHINE     ARVISO                      CA     90010208925
1B281988961976   OLIVIA        CASTANEDA                   CA     90013429889
1B282167572435   LEO           KERN                        PA     90006771675
1B28231155B35B   MARIA         AGUILAR                     OR     44512843115
1B282329655948   ARLENE        GONZALEZ                    CA     90011773296
1B282359833699   LISA          SMITH                       NC     90011233598
1B282368A91895   PATRICK       PREIBE                      OK     90010413680
1B282734761938   JOSEFINA      ZAMORA                      CA     46022337347
1B282858876B68   JOE           FUERTES                     CA     46087618588
1B28315985B154   TONYA         JOHNSON BAKER               AR     90012071598
1B28317844B259   AMBER         HATHAWAY                    IA     27097231784
1B283579176B68   KRISTEN       HARLESS                     CA     46066905791
1B283779391895   BLANCA        ARREOLA                     OK     21081957793
1B284319133699   HOLLEY        BRIANT                      NC     90015053191
1B28436168B199   MARTIN        BECK                        UT     90012243616
1B28445344B22B   DESIRE        VALENTINE                   NE     90008944534
1B284578372435   ANDREW        HAYDEN                      PA     90000615783
1B2846A614B23B   DEBORAH       BLY                         IA     27019046061
1B284734861958   RONALD        LANDRY                      CA     46072717348
1B284A52151337   KENNEY        BUSH                        OH     66041070521
1B28533325B154   AZUREE        COURTNEY                    AR     90014373332
1B285393391895   GUSTAVO       SAUCEDO                     OK     90010413933
1B28555568B199   TRACY         MARTINEZ                    UT     31041925556
1B285856893759   KRISTA        PEREZ                       OH     90011208568
1B286214A55948   JOSHUA        GAITHER                     CA     90014752140
1B286523361972   MONIQUE       RANDLE                      CA     46071435233
1B28657A88438B   SUSAN         CANNON                      SC     90000205708
1B2866A614B23B   DEBORAH       BLY                         IA     27019046061
1B286A3245715B   DIARA         PREUDHOMME                  VA     90006300324
1B287357461938   KARINA        BARRIENTOS                  CA     90014763574
1B287628547956   JOSUE         CABALLERO                   AR     90008126285
1B287674761972   AVILENE       GONZALEZ                    CA     90014716747
1B288426A33699   LATOYA        BAYS                        NC     90011104260
1B288883993745   AMY           GRAHAM                      OH     90001538839
1B288926676B68   MARIVELLE     JIMENEZ                     CA     46098039266
1B288942291523   MARIA         RINCON                      TX     75043749422
1B288985343563   AMOS          MARTINEZ                    UT     90008099853
1B288995193773   KEVIN         SORNEY                      OH     90006829951
1B289126161958   BRANDY        BLAND                       CA     46050831261
1B28918844B22B   MAKAYLA       TAYLOR                      NE     27031361884
1B289331A55948   JARROD        SPRAGGINS                   CA     90015163310
1B28B22AA51337   TIERRA        LILLARD                     OH     90003752200
1B28B248376B68   GLENN         BRADLEY                     CA     90012052483
1B28B273672B62   JENNIFER      REA                         CO     90013232736
1B28B77735B154   EVERARDO      MUNGUIA                     AR     90014707773
1B28B93574B26B   JAMES         GRANT                       NE     90011599357
1B291623943563   SILVANO       REYES                       UT     90013496239
1B29185528B193   ALEJANDRA     HERNANDEZ                   UT     90013788552
1B291994576B68   CHRISTIAN     PULIDO                      CA     90014929945
1B292477661958   JEIEL LEAIV   GRAHAM                      CA     90014504776
1B2924A115715B   BILL          NGUYEN                      VA     90013624011
1B292848893759   SHELLY        GREATHOUSE                  OH     64538948488
1B292848893766   LANCE         HAMILTON                    OH     90014878488
1B292A71291569   JOSE          DUENAS                      TX     90001160712
1B292A77276B68   ANTONIO       CABALES                     CA     90012470772
1B293154947956   CLARISSA      AUSTIN                      AR     90014811549
1B2937A3861972   DONNA         MOORE                       CA     90007367038
1B29386645B343   ELIZABETH     RUSSUM                      OR     90011708664
1B29411334B26B   TRICIA        PHILLIPS                    NE     26058931133
1B294387547956   TIFFANY       HOWARD                      AR     90007533875
1B294537655948   RAYMOND       AGUILAR                     CA     90014645376
1B294598A51337   RANDALL       GLARDON                     OH     90012225980
1B294717551337   JOHN          MCKINLEY                    OH     90015307175
1B294754A61936   ELIZABETH     OROS                        CA     90014737540
1B29499525B343   JACQUELINE    HOTH                        OR     90013429952
1B294AA4897B39   SONIA         CASTILLO                    CO     90009300048
1B295146176B68   CAULIN T      JENNINGS                    CA     90011541461
1B295363561936   ETHAN         CAVAZOS                     CA     90011833635
1B295AAA493759   CHRISTA       DEARMOND                    OH     64566080004
1B296255372B62   KENNETH       SCHADEGG                    CO     90010862553
1B296379376B68   HERENDIRA     DIAZ                        CA     90014293793
1B296517A91523   ROBERT        MALDONADO                   TX     90002425170
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1B296738891263   LAKEESHA     MANN                         GA     90015587388
1B29678A755948   YULEISI      VALDEZ                       CA     90001017807
1B296A6727B489   SAVANNAH     HURST                        NC     90014540672
1B297447161958   MARIA        MONTOYA                      CA     46082874471
1B297451191523   ALEJANDRO    LEYVA                        TX     90010454511
1B29761555715B   SHEMISHEYA   AWOL                         VA     90001386155
1B298352491569   VERONICA     ARAGON                       TX     90001763524
1B298716576B68   FEDERICO     ESPARZA                      CA     46039407165
1B29895643B722   ANGEL        CRUZ-ZAMORANO                WY     90013139564
1B298A7515B154   FELIX        PEREZ                        AR     90014560751
1B29923A64B22B   VERONICA     LOPEZ                        NE     27056442306
1B299567A93773   CASSANDRA    HARRIS                       OH     90009315670
1B2998A4476B68   JOSEMANUEL   ABARCA                       CA     90010088044
1B299A32691895   LORA         REYNOLDS                     OK     90010080326
1B29B532491523   MELISSA      ZAMBRANO                     TX     75060745324
1B29B698461976   FRANK        TUCKER                       CA     90002966984
1B29B893A91B38   SPENCER      BARLOW                       NC     90014258930
1B29BA8A361992   GUADALUPE    LOPEZ                        CA     90011140803
1B2B116478B199   JUSTIN       BEAZER                       UT     90013871647
1B2B1172A61925   MATTHEW      CHERWA                       CA     90012761720
1B2B1277693745   ASHLEY       QUINN                        OH     90012432776
1B2B15A5493773   LAURA        MORROW                       OH     90012015054
1B2B1697191B26   THOMAS       JONES                        NC     90013746971
1B2B1A76A93773   PAYGO        IVR ACTIVATION               OH     90014450760
1B2B2152591263   RICKY        WILLIS                       GA     14518481525
1B2B2162A72B55   MAMIESHA     BANKS                        CO     33004031620
1B2B333475B154   PARIS        HAMMONDS                     AR     90014673347
1B2B3539361976   MATT         ALTHAUS                      CA     90010305393
1B2B383824B26B   CARL         YOUNG                        NE     90010278382
1B2B422255B526   ALICIA       MADRID                       NM     90002172225
1B2B446928164B   EDITH        HUSKIN                       MO     90008154692
1B2B496A661972   RAQUEL       LOPEZ                        CA     46040539606
1B2B5312891569   BRANDON      GUTIERREZ                    TX     90014903128
1B2B534285B343   ISRAEL       JUAREZ ESTRADA               OR     90013233428
1B2B5444561938   DANIEL       CARVER                       CA     90014754445
1B2B611914B23B   MARY ANNE    VALADEZ                      NE     27080561191
1B2B634275B154   DEVRA        BRISBY                       AR     90014673427
1B2B63A8676B68   MARIA        CARRILLO                     CA     46074613086
1B2B64A4493745   DANIELLE     LINTON                       OH     90011964044
1B2B6A24172453   PAULETTE     MOYAR                        PA     51007290241
1B2B7763361976   ANASOFIA     SANTANA                      CA     90014017633
1B2B7882691523   DENISE       CABELLO                      TX     90003798826
1B2B794A791895   THOMAS       RUTHERFORD                   OK     90014639407
1B2B7A26891569   MARIBEL      ARZAGA                       TX     90013620268
1B2B8147493766   WILLIE       JENNINGS                     OH     66080871474
1B2B821338B199   CHRISTINA    CHURCH                       UT     31092582133
1B2B821425715B   INGRID       VASQUEZ                      VA     90014692142
1B2B83A7693773   JEFFERY      GIBBS                        OH     90010203076
1B2B894A876B68   ANGEL        GODINEZ                      CA     90011539408
1B2B8A22291263   LEXUS        MUTCHESON                    GA     90015410222
1B2B9129671957   DONNIE       CHESS                        CO     90011931296
1B2B9584261938   GLARIS       MERAZ                        CA     90013105842
1B2B9A5315B343   BENITO       PASTOR ROJAS                 OR     44549540531
1B2BB37164B259   A'LEXIS      WATTS                        NE     27050843716
1B2BB384661972   MARIA        MORFIN                       CA     90013343846
1B2BB8A2593745   JASON        CENTLIVER                    OH     90002918025
1B2BB978461958   BYRON        PEREZ                        CA     46047099784
1B3112A855715B   FRANCISCO    PICADO MIRANDA               VA     81026312085
1B311667561976   NANCY        GARZON                       CA     90010496675
1B3118A6461958   SHERRIECE    O'DONNELL                    CA     46011618064
1B31215215B35B   BRANDOM      WATSON                       OR     44595141521
1B312358793773   TIFFANY      STEWART                      OH     66062603587
1B3125A778598B   KAITE        KENNEDY                      KY     90007665077
1B3128A1A61938   JOEL         RODARTE                      CA     46083178010
1B313A3A451337   ALYSSA       GREVAS                       OH     90005350304
1B3141A6761938   MEMEE        HERCAN                       CA     90014851067
1B31422668B199   ELIZABETH    GARCIA                       UT     90001772266
1B31463775715B   MEYBELL      MEJÍA                        VA     90013646377
1B31479787B489   AMITY        LAFLEUR                      NC     90000207978
1B314825157147   ISABEL       CABRERA                      VA     90012978251
1B31559237B489   MELANIE      GATES                        NC     90014405923
1B315718791523   MANUEL       PORTILLO                     TX     90002827187
1B316371151337   ANTHONY      REAVES                       OH     66002223711
1B316379291569   OLGA         HERNANDEZ                    TX     90013273792
1B316611533699   DION         REED                         NC     90003306115
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1B31666225B526   TAMMY        SUNATA                       NM     35002616622
1B316682361972   ANGELICA     HERNANDEZ                    CA     90007006823
1B31686A64B22B   LEONEL       SANCHEZ BARAJAS              NE     90003658606
1B317471776B68   HIDIBERTO    LOPEZ                        CA     90001464717
1B317852251337   DANIELLE     NEAL                         KY     66075038522
1B3179A697B489   SHASTHA      SMITH                        NC     90007689069
1B317A66A91895   TIERRA       DUCKETT                      OK     90014710660
1B318465361958   ABEL         OREGEL                       CA     90004264653
1B31849885B154   TWANNA       SCALES                       AR     90014714988
1B31861975B335   TIM          MORGAN                       OR     90011326197
1B318659193766   JOHN         LAWSON                       OH     90014386591
1B3186A2157147   MERCEDES     CORTEZ                       VA     81064986021
1B31876438438B   JOEL         PALOMA                       SC     90001197643
1B31885A55B526   JEREMY       ROLISON                      NM     90013098505
1B31945467B35B   GINA         SANTOS                       VA     90011084546
1B319583393766   TINA         CAPTAIN                      OH     90008245833
1B31967914B22B   SETH         SCHRODER                     NE     90015136791
1B319A9855B343   ARIBED       OROZCO PEREZ                 OR     90014850985
1B31B47335B154   JACKLYN      JOHNSON                      AR     90014714733
1B31B68294B23B   RICHARD      LOUCKS                       NE     90003746829
1B31BA33133699   TONYA        JUAREZ                       NC     90004010331
1B321164561972   DANIEL       HERNANDEZ                    CA     90012411645
1B321649891263   NICHOLAS     AKINS                        GA     90015446498
1B32169814B26B   EARL         WOLFE                        NE     26038226981
1B32173212B894   JAMES        MAGGARD                      ID     42010767321
1B321768661976   ADELINA      MACKEY                       CA     46066427686
1B321777491523   ELSA         ENCERRADO                    TX     75084467774
1B321855772B55   ELENA        VIGIL                        CO     90001258557
1B3218A5993745   KATIE        FLINN                        OH     90013928059
1B3219AA35715B   DILWAR       HUSSAIN                      VA     90004609003
1B321A8545B35B   JOSH         LORENZEN                     OR     44561830854
1B322982961976   ARTURO       PASURTO                      CA     90003139829
1B322A57A4B22B   BAMENETAYI   ALAIN YARO                   NE     90015040570
1B323217791569   JAVIER       VASALLO                      TX     90002672177
1B32335655B35B   ASHLEY       FRASER                       OR     90013193565
1B32362625715B   ADA          GUEVARA                      VA     81014286262
1B323674855948   ALELI        MARTINEZ                     CA     90006426748
1B3237AAA43563   YOSELIN      VILLAGRANA                   UT     90011397000
1B32389245B526   MONICA       GARCIA                       NM     90013638924
1B323A75261958   ISAMAR       CALDERON                     CA     46060970752
1B324256257142   HERLINDO     VALIENTE                     VA     81077202562
1B324312A72B62   CRYSTAL      MCDONALD                     CO     33052633120
1B324942861972   JORGE        SECUNDIN                     CA     90013629428
1B324A13772453   TERI         KIFER                        PA     51090660137
1B32512A655948   GABRIELA     SANDOVAL                     CA     90014911206
1B325241143529   MATT         BURNS                        UT     31075962411
1B325475461958   GUENDI       CORTEZ                       CA     46095644754
1B325796A5715B   ILDA         RIOS                         VA     81014287960
1B325856A72435   MARTY        ATHEY                        PA     51000178560
1B32589A391569   MARIA        AVILA                        TX     90007628903
1B3259A5655948   EDELIA       CORTES RUIZ                  CA     90011009056
1B32612637B489   BOBBY        CRAWFORD                     NC     90008201263
1B32612748B193   SANTOS       SHARON                       UT     31079961274
1B326391291523   SONIA        CARMICHAEL                   TX     90005283912
1B326773291569   JESUS        ALVARADO                     TX     90013777732
1B32688964B23B   JESUS        CANALES                      NE     90008858896
1B326A6744B22B   ANDRE        HENDERSON                    IA     90015040674
1B327225693773   SARAH        BURKHART                     OH     90013702256
1B32761425B154   BRITTNEY     SMITH                        AR     90014716142
1B32775395B343   DANIEL       FIELDS                       OR     44502197539
1B327A35461972   KARLA        MIRAMONTES                   CA     90010720354
1B328256161972   NITA         TORRES                       CA     46008972561
1B328816A4B259   LATISHA      CRAWFORD                     NE     90010508160
1B328889676B68   HERIBERTO    LOPEZ                        CA     90013038896
1B329621361938   PAUL         LARES                        CA     90008076213
1B329923231456   TALONDA      JONES                        MO     27502969232
1B329991A93759   ROBIN        MILEY                        OH     90013099910
1B32B16187B489   SHANEIKA     MORRIS                       NC     90013001618
1B32B41918B193   BINJAMIN     PINON                        UT     31044864191
1B32B587257147   LESLY        CHAVEZ                       VA     90014795872
1B32B86959154B   VERONICA     HERNANDEZ                    TX     75014128695
1B32BA51684375   JULIO        MOREIRA                      SC     19095900516
1B3313A135B343   MATTHEW      RUSSELL                      OR     90007363013
1B331684A5B526   PERLA        MALDONADO                    NM     90005596840
1B33173148B199   MICHELLE     MORMAN                       UT     90013307314
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1B33189714129B   JACKIE       KENDALL                      PA     90011408971
1B3321A8A93745   JOHN         BARNES                       OH     64538071080
1B332249891993   ADAN         NOGUERA                      NC     17016702498
1B33241A672B62   SHELBY       SUMMERS                      CO     90014264106
1B332434593773   JAMES        CAPTAIN                      OH     66069354345
1B33259284B23B   JOSH         TROUT                        NE     27009125928
1B33313415B343   DEEANN       JENTZSCH                     OR     90014851341
1B333165372B23   HECTOR       DELAVEGA                     CO     33026501653
1B333719893773   BOBBIE       EWING                        OH     90015147198
1B333998593766   TIFFANI      SIMON                        OH     90015399985
1B33486514B26B   SHANON       ABBOTT                       NE     26043848651
1B335269993759   SHAELA       BAKER                        OH     90014202699
1B335339572453   JOEY         NIKLAS                       PA     90011353395
1B335718A8B189   KARLI        FAIT                         UT     90007687180
1B335845472B34   KELLY        ATCHISON                     CO     90007998454
1B336151961972   VIONORA      ROQUE                        CA     90011131519
1B336278155948   MARIA        RAMIREZ                      CA     49077312781
1B3362A728B199   MARGARET     CARSON                       UT     90014902072
1B336526761936   ERIC         MORALES                      CA     90011835267
1B33653985B154   CLARETTA     DANIELS                      AR     90014705398
1B336897876B68   JESSICA      WILLIAMS                     CA     90012668978
1B337127751337   THOMAS       FREEMAN                      OH     90002331277
1B337381355948   ROBERTO      TIJERO                       CA     90010223813
1B337977284375   RODNEY       CHAPLIN                      SC     19095919772
1B338617861976   AURORA       RAMOS                        CA     46040536178
1B339984861976   ED           ALONZO                       CA     90012869848
1B33B238A7B489   JACQULINE    JONES                        NC     90012842380
1B33B469691569   ISELA        DE LA ROSA                   TX     90004304696
1B33B536955948   MARTHA       ORTIZ                        CA     90013635369
1B33B755557142   IRENE        GARCIA                       VA     90004267555
1B33B99A961938   CLEO         DUMAS                        CA     46032019909
1B341399286445   RODOLFO      GARCIA                       SC     90014423992
1B341576376B68   RUBEN        DIAZ                         CA     90012355763
1B3415A365B343   JANICCY      BARAJAS                      OR     90013235036
1B341A4474B23B   ELEAZAR      LINARES                      NE     90011700447
1B342143161938   TERESA       JOEL                         CA     90002201431
1B342634847956   TODD         WORKMAN                      AR     24092996348
1B34264785715B   DONALD       HERRING                      VA     81057966478
1B342883493745   NICOLE       MOWERY                       OH     90013838834
1B34314A25B343   ABRAHAM      QUIROZ-SALINAS               OR     90014861402
1B34371585715B   JOSUE        PEREZ                        VA     90013667158
1B34399623B364   DAVID        WALTON                       CO     90007309962
1B343998261958   JENNIFER     RIOS-DIAZ                    CA     90012129982
1B343A22772435   SHELLEY      FRINSCO                      PA     90006150227
1B343A58791569   DIEGO        ARENIVAR                     TX     90013350587
1B344572493783   LAURA        ROWLAND                      OH     90000575724
1B34483A15B343   JOSEPH       PATTER                       OR     90013378301
1B345163972435   BRADLY       LIGHTNER                     PA     51031481639
1B34564885B154   DANIEL       WATSON                       AR     90014716488
1B345A25343563   HENRRY       ARTICA CAMAYO                UT     90013960253
1B34634915B526   VAL          CHAVEZ                       NM     90001383491
1B34664885B154   DANIEL       WATSON                       AR     90014716488
1B34671625B35B   FRED         QUALLS                       OR     90014357162
1B34676A85B343   JUAN         CELICIO HERNANDEZ            OR     90014867608
1B34688624B259   STEPHANIE    SOBESKI                      NE     27000408862
1B346967657147   RONALD       RONALD STONE                 VA     90014249676
1B346A5778438B   LATANYA      BROOKS                       SC     90001660577
1B347237793759   HEATHER      KREISMAN                     OH     64582412377
1B347764261976   JOHN         MAYER                        CA     90014017642
1B347828844228   ROBERT       HALL                         CA     90012478288
1B34861A943563   ARMANDO      VENEGAS                      UT     90009686109
1B348654751337   DEMOSH       HEADEN                       OH     90012766547
1B34878678B199   CASEY        JOOS                         UT     90012557867
1B34889245B526   MONICA       GARCIA                       NM     90013638924
1B349166291523   MONICA       ROMERO                       TX     75086781662
1B34925A293744   LARRY        CASEY                        OH     64506972502
1B34B27485715B   NOELIA       HERNADEZ                     VA     90011352748
1B34B43375B526   BERNADETTE   INEZ                         NM     90004304337
1B34B771293766   BILL         MCLAINE                      OH     90015157712
1B34B885761958   JOSE         QUINTERO                     CA     90011388857
1B351481A93766   JESSICA      MCGINNIS                     OH     90012154810
1B351698161972   GUILLERMO    CORONA                       CA     46002756981
1B352136347956   BERNERD      HASKINS                      AR     90004001363
1B352312791523   LORI         DOUGLAS                      TX     75070133127
1B35243435B232   JAMAR        WHITE                        KY     90011424343
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1B352484A55948   ALEXANDRA      DELGADILLO                 CA     48064564840
1B352712691569   MARIBEL        TREJO                      TX     90013047126
1B352991772453   DASHA          BOWER                      PA     90005119917
1B3532A4557142   OSCAR          ZULETA                     VA     90006292045
1B353862A47846   BRENDA         CHAPMAN                    GA     90008208620
1B353895255948   JONI           LUNA                       CA     90013258952
1B3541A1293759   LATRINA        PORTER                     OH     64594251012
1B354231261958   JOSE           GUZMAN                     CA     90011902312
1B35499AA9154B   RENE           VEGA                       TX     75013429900
1B35599AA9154B   RENE           VEGA                       TX     75013429900
1B356233743563   MARIA          PRECIADO                   UT     90014612337
1B356317233699   JOAQUIN        CASTANEDA                  NC     90006923172
1B356521691895   FERNANDO       PALACIOS                   OK     21078615216
1B356742872435   BRIAN          URIK                       PA     51035907428
1B356769A4B548   CARA           THOMAS                     OK     90003247690
1B356894961938   IRIS           MORALES                    CA     46013028949
1B35728234B565   LARRY          HOTSHOT                    OK     90013462823
1B357285691523   CHRISTINO      GUTIERREZ                  TX     90013202856
1B35889A75B343   BALDEMAR       GAONA                      OR     90005848907
1B359242243563   MARIA          MIONTES                    UT     90006512422
1B35925235B343   SATAH          HARRISON                   OR     90009252523
1B359283172453   HEATHER        LOWREY                     PA     51045562831
1B359A78461938   GABRIEL        DIAZ                       CA     90011360784
1B35B294484375   MARCUS         DUFFY                      SC     19095942944
1B35B397251337   CHARLENE       WILLIAMS                   OH     90002543972
1B35B625493759   ERNEST         LEVALLEY                   OH     90014576254
1B35B753955948   MELANIE        AGUILAR                    CA     49078167539
1B36116A35B35B   ASHLEY         ARRINGTON                  OR     90014481603
1B361427891586   DORIS          RIOS                       TX     90010014278
1B36154884B259   PAYGO          IVR ACTIVATION             NE     90011595488
1B361962961958   ERIC           ZAPATA                     CA     90011609629
1B362184491263   TERRI          DAVIS                      GA     90013921844
1B362A19A55948   JORGE          MACIEL                     CA     90009460190
1B362A83833699   JAMES          JOHNSON                    NC     90013930838
1B36333134B26B   DOUGLAS        DONAHOO                    NE     90013113313
1B363355747956   DAVID          JOHNSON                    AR     90012093557
1B36336355B282   GREG           JACKSON                    KY     90003903635
1B363665861972   DINAH          GARCIA                     CA     46077126658
1B364192277522   KENNETH        HARN                       NV     43002541922
1B364359A7B489   LARISSA        HAMPTON                    NC     90012333590
1B36454768B199   ROBIN          STRINGER                   UT     31067785476
1B364979261958   ROSELIN        MCWILLIAMS                 CA     90012159792
1B364A14155948   MIGUEL         JUAREZ                     CA     90010930141
1B364A62961998   SHAWN          BAUMANN                    CA     90001940629
1B364A7A191263   NICOLE         LARRY                      GA     90013490701
1B36568768B193   JEREMY         LONGHURST                  UT     31046646876
1B36574598B199   TRACEY         WOOTTON                    UT     31040617459
1B365862861976   REFUGIO        CASTRO                     CA     90008898628
1B365897261976   RITA           CORONADO                   CA     90013038972
1B366524791523   OYUKI          MARQUEZ                    NM     75067045247
1B366642493773   DANTE          LANDER                     OH     90012376424
1B366986676B68   KL             OSBORNE                    CA     90005619866
1B36716944B22B   RUTH           NASH                       NE     90010311694
1B36716A572B62   TYLER          SITZMAN                    CO     90011191605
1B367398A72B62   JASON          WRIGHT                     CO     90014793980
1B3673A155B35B   MARIE          FEGOND                     OR     90005343015
1B36744A893773   KAREN          STEVENS                    OH     90011524408
1B36789615B154   KENISHA        DUHART                     AR     90014728961
1B36795A35B526   ALRAY          BACA                       NM     35064769503
1B367973891523   ANA PATRICIA   FIGUEROA                   TX     90006909738
1B367A69757579   GERARDO        GUZMAN                     NM     90015520697
1B368144143588   JODIE          BURCH                      UT     90001001441
1B368221A76B68   ANTONIO        MANRIQUES                  CA     90011852210
1B36B113543563   NICHOLAS       BROWN                      UT     90002041135
1B36B171793773   JASON          BORGEMENKE                 OH     90014181717
1B36B39515B526   SHEENA         LOPEZ                      NM     90014923951
1B371136493759   JESSICA        GREATHOUSE                 OH     90014841364
1B3712A234782B   ASIA           TAYLOR                     GA     90006212023
1B371311361976   ALBA           AGUAYO                     CA     90014563113
1B37147314B23B   MATT           ZIMMERLE                   NE     90002084731
1B37199514B259   PABLO          HERNANDEZ                  NE     27002749951
1B37271145B55B   CLAUDIA        ALVAREZ                    NM     90010397114
1B372A26391523   EDITH          URENO                      NM     90013070263
1B37332795715B   SAID           HIRAD                      VA     90014883279
1B373759744353   ANGELA         SWANN                      MD     90014247597
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1B37497A193766   PAUL         REDD                         OH     90014689701
1B375A1185715B   EARNEST      BARNES                       VA     90003090118
1B375A18A76B68   HECTOR       CHOCOJ                       CA     90014970180
1B375A3814B23B   VICKI        MORTON                       NE     27019920381
1B37616435B154   BRENDA       HUNTER                       AR     23052711643
1B376553891263   MITCHELL     LAWSON                       GA     14570635538
1B376A7A391583   ERIKA        OKELLEY BRAHAM               TX     90011520703
1B376A96261972   ANGELA       MORLING                      CA     90012870962
1B37715848B199   DAVID        LOVATO                       UT     31002401584
1B3772A175715B   CATALINO A   VILLATORO HERNANDEZ          VA     90011832017
1B37781245B526   SUSAN        TESSIER                      NM     35000678124
1B378643657147   LUIS         GOMEZ                        VA     90003976436
1B37944A893773   KAREN        STEVENS                      OH     90011524408
1B379818861938   ESAMELDIN    ABDELAZIZ                    CA     90014468188
1B379A9275715B   MIGUEL       LAZO                         VA     90012730927
1B37B26A161962   ANTONIO      PAREDES                      CA     46000882601
1B37B44348582B   LUWANA       ELDREDGE                     CA     90001044434
1B37B6A1151337   HEATHER      ALLBECKER                    OH     66008996011
1B37B741561976   MICHAEL      WATERS                       CA     90013537415
1B38141565715B   COULIBALY    DIEYNABA                     VA     90014494156
1B381496493773   KRISTA       HOOK                         OH     90011224964
1B38161798B199   BROOKE       WILSON                       UT     90012116179
1B38169A161976   ADAN         ZAVALA                       CA     90013016901
1B382115861938   RODOLFO      RAGADIO                      CA     46010561158
1B382155343563   SANTOS       REYES                        UT     90000221553
1B382251224B7B   WILFRID      SEL DOLLY                    DC     90011462512
1B382434191263   DSHAWN       WILKERSON                    GA     90014454341
1B382443893745   ROMA         GUILLOZET                    OH     90012784438
1B382625493759   ERNEST       LEVALLEY                     OH     90014576254
1B3826A222B926   RALPH        GONZALES                     CA     90007806022
1B382739931687   TYSHA        KELLER                       KS     90008747399
1B383529176B68   MARIA        SOLORIO                      CA     90014505291
1B38355575B35B   AIMEE        MARTINEZ                     OR     44528465557
1B383765672453   DARCIE       WORK                         PA     51026427656
1B383889961958   SEAN         LOBECK                       CA     90013358899
1B3848A3161958   CARESS       NASH                         CA     90015328031
1B384969233699   SANTOS       ZERON                        NC     90013759692
1B384973591569   JESUS        ESPINOZA                     TX     90012989735
1B38513678B193   MAQUELLE     LINDSEY                      UT     31071911367
1B38516357B442   JOYCE        SMITH                        NC     90005441635
1B385215847956   BRENDA       HAGGARD                      AR     90006842158
1B38522944B22B   DONOVAN      LOVE                         NE     90002992294
1B385382272435   NORMA        HOWARD                       PA     51075903822
1B385815161972   JAVIER       BELTRAN                      CA     90010548151
1B385A53464183   EBEISSA      NYANDWI                      IA     90014110534
1B38655134B544   RAUL         MORALES                      OK     90008765513
1B38671865B378   HUGH         NEWELL                       OR     90012817186
1B38672155B35B   ANNA         JOHNSON                      OR     44578717215
1B38678694B537   LARRY        MCCUBBINS                    OK     90012627869
1B38692545B154   DALLAS       SCOTT                        AR     23091909254
1B387193A43563   GOMEZ        VALERIO                      UT     90013961930
1B38732815B526   CHARLES      CARPER                       NM     35084463281
1B38741254B555   TRACY        DYE                          OK     90010784125
1B387426561936   ALEXANDRA    HENLY                        CA     90009504265
1B387635151337   RICHARD      MARCUM                       OH     66012656351
1B38772189154B   KAREN        DEL RIO                      TX     75033827218
1B38864A88B193   JOHN         HURTADO                      UT     90008466408
1B388653172B62   FRANCISCO    GARCIA                       CO     90004046531
1B388742272453   LORRAINE     SOUTH                        PA     90011377422
1B389154991569   JUANITA      GALLARZO                     TX     90005361549
1B38919795715B   MARTIN       BERMUDEZ                     VA     90014921979
1B38991AA61938   GILDARDO     ZANCHES                      CA     46051399100
1B389998A43563   CLAUDIA      CHALACA                      UT     90010769980
1B38B13214B588   ALAN         SCOTT                        OK     21502971321
1B38B394A72B62   MICHAEL      JONES                        CO     33006843940
1B38B462431687   SASHA        MENEFEE                      KS     90011554624
1B38B521747956   CATHERINE    ABENA AKAM ZE                AR     90013965217
1B39172A85B343   MAGGIE       LORENZ-TODD                  OR     90013487208
1B391812872453   GILBERT      COLLINS                      PA     51072588128
1B39274775B154   LAJUANA      BASS                         AR     90014717477
1B39277353B392   KEN          BORREGO                      CO     90011507735
1B392844861958   YUNUEN       MEJIA                        CA     90013368448
1B393295961976   EDUARDO      REYES                        CA     46086682959
1B39375575B154   STANDREKA    BROWN                        AR     90014717557
1B394388A4B22B   DORA         ARVI                         NE     90008123880
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1B39452915B35B   CYNTHIA       KELLEY                      OR     90011185291
1B394A4A193745   CAROL         JOHNSON                     OH     64535610401
1B394A57A31456   LAVITA        STICKLAND                   MO     27586380570
1B395557791263   HILLARY       DRIGGERS                    GA     90012125577
1B395767661976   MICHAEL       BUBLE                       CA     90014017676
1B39586A793766   MARIO         NAVARRO                     OH     90015168607
1B395973861938   KHALED        ALGOHNY                     CA     90011489738
1B396529561936   MARIA         RODRIGUEZ                   CA     90009505295
1B396574A36B55   SONNIE        CURTIS                      WA     90014445740
1B396589261976   EMLYN         MARES                       CA     90014795892
1B396724376B68   ROBERT        RODRIGUEZ                   CA     46084227243
1B39687A44B259   MIGUEL        HERNANDEZ                   NE     90010508704
1B39723196197B   SANDY         FLORES                      CA     46061462319
1B39725845B343   CHANDRA       STENTZ                      OR     44578532584
1B397266A5B154   RONNIE        HULETT                      AR     23023782660
1B397436543563   TERRY         HOLLINGSHEAD                UT     31087024365
1B397839555948   DARLENE       ALVAREZ                     CA     90002538395
1B397893861976   PAMELA A      STANDRING                   CA     90010448938
1B3978A9193773   JEFFEREY      SCHLUETER                   OH     90014378091
1B39884925715B   MAIRA         NOLASCO                     VA     90003128492
1B39896914B23B   VICTOR        BECERRA                     NE     90010039691
1B3992A195B154   BALINDA       PATTERSON                   AR     90011742019
1B399613793773   CATHERINE     SUMMERS                     OH     90014086137
1B399698491523   RAMON         MORENO                      TX     75002086984
1B39971A755948   VICENTE       CRUZ                        CA     90012887107
1B399927651337   KRISTY        RICHARDSON                  OH     66016939276
1B39B25254B26B   REBECCA       HASTINGS                    NE     90011462525
1B39B464391523   LATONYA       HOUSTON                     TX     90013434643
1B39B5A1876B68   RICHARD       LEROY RAMER                 CA     46064485018
1B39B741291569   ELVIRA        HERRERA                     TX     75058857412
1B39B749991263   QURAN         HILLIARD                    GA     90013107499
1B39B793A93759   JOHN          HOWELL                      OH     90012887930
1B39B831691523   OMAR          RODRIGUEZ                   TX     90009708316
1B39BA5245B343   JONATHAN      BOHON                       OR     90015140524
1B3B1467291895   ALEXANDRA     WILSON                      OK     90010414672
1B3B15A765B533   MICHELE       BERNARD                     NM     90006115076
1B3B175A991523   ELSA          VIRAMONTES                  NM     75043047509
1B3B188A85B343   ROSE          HENNINGSEN                  OR     90011988808
1B3B22AA55B343   PAUL          SCHROETER                   OR     44511962005
1B3B2332A8B199   LONNY         JOHNSON                     UT     90014053320
1B3B2353157147   SHATAVIA      LIPSCOMB                    VA     90014603531
1B3B2695131687   KASONDRA      MATHEWS                     KS     22091696951
1B3B26A445593B   LUSIS         BRISENO                     CA     90008896044
1B3B3191691524   LUIS          VAZQUEZ                     TX     90010191916
1B3B37AA17B489   MARQUITTIA    HOPKINS                     NC     90011407001
1B3B383A15B343   JOSEPH        PATTER                      OR     90013378301
1B3B3A92791569   RAELENE       PEREA                       TX     75005170927
1B3B3A93147956   TASHARA       THOMAS                      AR     90012700931
1B3B3A95A61993   RAMON         CRUZ                        CA     90013650950
1B3B412465B343   MARYANN       JIMENEZ                     OR     90014861246
1B3B413249154B   YVETTE        HERNANDEZ                   TX     75033801324
1B3B473215715B   JAZMINE       WHITE                       VA     90005007321
1B3B5268351337   LASHAWN       RICHARDSON                  OH     90006962683
1B3B536A84B22B   CARMA         STRYKER                     NE     90008123608
1B3B5389A5B35B   JASON         BARTON                      OR     90013803890
1B3B5627261976   MARIA         MARTINEZ                    CA     90012216272
1B3B573175B35B   TERSINA       LOUIS                       OR     90011127317
1B3B58A548B199   SAMANTHA      HENDERSON                   UT     90011688054
1B3B5989661958   SABRINA       ROMERO                      CA     90010939896
1B3B6125876B68   OMEGA         SPELLS                      CA     90006241258
1B3B647469126B   SAKISAH       SHABAZZ                     GA     90015314746
1B3B6773A93773   MYLES         HARBISON                    OH     90012797730
1B3B6876954173   NATHAN        COLLIER                     OR     90010468769
1B3B69A494B259   RODERICO      SEBASTIAN                   NE     90010119049
1B3B7176A61938   CAROLINA      CARMICHAEL                  CA     46056171760
1B3B7511A7B489   CHRISTOPHER   MONTGOMERY                  NC     90013835110
1B3B814284B23B   MELINDA       VANCE FOSTER                NE     90013911428
1B3B859A791569   FERNIE        LOPEZ                       TX     90013785907
1B3B8731291895   AMY           CYPERT                      OK     90014617312
1B3B8A7274B259   NORMA         COELLO                      IA     90007990727
1B3B8A9438B199   RANDY         BULLOUGH                    UT     31066360943
1B3B9111791523   AGUSTIN       RODRIGUEZ                   TX     75029171117
1B3B9141943563   MARK          EARL                        UT     90015191419
1B3B9871391895   CARINA        QUIROZ                      OK     90008678713
1B3BB184191569   ROQUE         CHIHUAHUA                   TX     75090651841
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1B3BB25A45B35B   DAMARIS       MAXIE                       OR     90011212504
1B411923A7B489   JESSICA       ROPER                       NC     90013619230
1B4122A5841284   ANOTHONY      BERTONI                     PA     90004252058
1B412448257147   MAWULE        SESSON                      VA     90009024482
1B412739291523   ANDY          DIAZ                        TX     90011257392
1B412891991569   LIZETH        BERRIOS                     TX     90012428919
1B4129A5772B49   ANGELA        GONZALES                    CO     90010439057
1B412A18193723   BARBARA       THORONKA                    OH     64512780181
1B413338172B62   SHANNON       BYORICK                     CO     33008723381
1B414257191583   VICTORIA      LUJAN ELIAS                 TX     90015002571
1B41497337B489   MARTRICE      HUNTER                      NC     90001389733
1B415294893759   CAROLE        FOSTER                      OH     64510152948
1B4152A7891569   ROSA          RAMIREZ                     TX     90009032078
1B41531A472453   EMILY         YOHE                        PA     90010253104
1B415383A7B42B   JOSEPH        OAKLEY                      NC     90012713830
1B4153A5651337   MIKE          GABRIEL                     OH     90011893056
1B415555247956   ALMA          ORTIZ                       AR     90008545552
1B41558284B26B   ORFA          TORRES                      NE     90012385828
1B41559357B489   JAWANA        COLEMAN                     NC     11004845935
1B415AA675B155   AUDRA         WILLIAMS                    AR     90013340067
1B41617998B193   DAVID         JEFFS                       UT     31085161799
1B416217972453   AUSTIN        MARTIN                      PA     90012272179
1B4165A7593773   ASHLEY        SHOPE                       OH     90011335075
1B416724133699   ABDUL         ALIBAY                      NC     90014507241
1B416757476B68   ANNETTE       LONGA                       CA     90014977574
1B41684798B199   ROBERT        MATTHEWS                    UT     90011408479
1B416A2377B477   WILLIAM       FUSSELL                     NC     90013380237
1B41739734B22B   LAURA         HOAGLAND                    NE     27007113973
1B41741A461938   RASHIDA       KIDD                        CA     46025284104
1B41749A261936   BERNADINA     LECHUGA                     CA     90007874902
1B417676161972   GUILLERMINA   ARTEAGA                     CA     90013696761
1B417795851337   KATY          HOLT                        OH     66004387958
1B418737384375   ANGELA        LEE                         SC     19088137373
1B4187A6572B55   REYES         ROMERO                      CO     90002947065
1B41897A18168B   MINERVA       ALARCON                     KS     29016139701
1B418A62872B62   SHARON        STASKO                      CO     33081000628
1B419228651337   EDGAR         GOMEZ                       OH     90012152286
1B419311291569   JUAN          GOMEZ                       TX     90011603112
1B419655961936   CHRISTINE     SAMUELS                     CA     46007506559
1B419769361976   ERNESTO       GARCIA                      CA     90013397693
1B41B18A361976   GEMA          ESPINDOLA                   CA     90009801803
1B41B41A691569   NADIA         RIVAS                       TX     90012074106
1B41B436555948   MICHELLE      TEJEDA                      CA     49094814365
1B41B618961972   CARLOS        NAVARRO                     CA     90014286189
1B41B965191523   RICHARD       FRANCO                      TX     90012269651
1B421294455948   ALICIA        MURGUIA                     CA     49062482944
1B42154495B35B   TAYLA         HAFFORD                     OR     90012365449
1B421591793724   SCOTT         WEST                        OH     90006435917
1B422493161938   DIANA         MARTINEZ                    CA     46042704931
1B42258162B863   MICHELLE      HUPP                        ID     90013395816
1B422681533699   DESHONNE      FRIDAY                      NC     12093856815
1B42274625B154   BRITTANIE     MITCHELL                    AR     23020157462
1B4228A5972435   KIRA          SHOOP                       PA     51076678059
1B422A22991523   VERONICA      MUNOZ                       TX     90012170229
1B422A37791895   DAVID         GILES                       OK     21009320377
1B423194A43563   CHRISTOPHE    CASEY                       UT     31012651940
1B423913261976   HECTOR        TAMAYO CONTRERAS            CA     90012149132
1B424178193759   JOSHUA        CULP                        OH     90010591781
1B424364971957   JOHN          HOOSER                      CO     90008903649
1B424766472B62   IRAN          MEZA                        CO     33077447664
1B42526463B337   BILLY         SMITH                       CO     90009472646
1B42558948B192   TONI          MARTIN                      UT     90015035894
1B425753372B62   JANET         HERRERA                     CO     90001227533
1B426183191549   CLAUDIA       ARCINIEGA                   TX     90011741831
1B42645985B343   LESLIE        MANLEY                      ID     44549914598
1B426593161976   TERESITA      PASCUAL                     CA     90012185931
1B426713831687   ALBENTIA      FLORES                      KS     90008747138
1B426819276B68   EFRAIN        LOPEZ                       CA     90014678192
1B426851251337   DEJA          WOODS                       OH     90014768512
1B426A91993745   DEVINNE       LATHAM                      OH     90010380919
1B427112A5715B   MARIA         GUZMAN                      VA     81094881120
1B427424761976   SAMANTHA      GREEN                       CA     90003414247
1B427A36993773   KATELYNN      WATSON                      OH     90012900369
1B4283A225B343   YOUSIR        FAQI                        OR     44502713022
1B428859991569   ANOTHY        HALL                        TX     90013748599
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1B428A51531687   JOSE            GONZALEZ                  KS     22007740515
1B42921835B526   MARIDELCARMEN   MARTINEZ                  NM     90014422183
1B429351793759   CHRISTOPHE      RUNYON                    OH     64510403517
1B429351971967   ANNETTE         COPELAND                  CO     38028963519
1B42936814B22B   JESSIE          BRANDON                   NE     90007923681
1B42949A25B343   MARYCRUZ        ALVAREZ                   OR     90002354902
1B429644433699   DARION          BREEDEN                   NC     90014856444
1B429739931687   TYSHA           KELLER                    KS     90008747399
1B42977455715B   JOSH            HARRIS                    VA     90013247745
1B42B153961958   SAUL            BADILLA                   CA     90007691539
1B42B1A2757147   JOSE ARTURO     LEIVA                     VA     90013481027
1B42B336A93759   HEATHER         GLASKOX                   OH     64593043360
1B42B349791523   LAURA           MARQUEZ                   TX     90012883497
1B42B352A93773   LADEESIA        CLAYBURN                  OH     90014633520
1B42B56A44B259   JASON           HEATH                     NE     27023365604
1B431636661976   AIOTEST1        DONOTTOUCH                CA     90015116366
1B43169195B526   TANYA           BELONE                    NM     90009906919
1B431A3997B489   TIMOTHY         GRAVES                    NC     90009980399
1B432122893766   DANIEL          GRAY                      OH     90014311228
1B432146461958   NOEMI           BRAVO                     CA     90004991464
1B432153A33699   LAMAR           WILSON                    NC     90011281530
1B432689276B68   OSCAR           DIAZ                      CA     90014836892
1B432969A5B343   ARTEMISA        BEDOY                     OR     90003829690
1B432A46593773   JOHN            KRASOVICH                 OH     90012900465
1B432A88657129   MARIA           MENDOZA                   VA     81091740886
1B433338491895   MANUEL          HERNANDEZ                 OK     90013833384
1B4333A8A57147   GLADIS          SANDOVAL                  VA     90015033080
1B433482661972   SARAH           DODD                      CA     90014824826
1B43413A972B62   ANN             WOODEN                    CO     90014241309
1B434173161958   KENT            LIBBY                     CA     90013681731
1B43439242B976   AGUSTIN         RAYGOZA                   CA     90008833924
1B434561285932   ROGER           HOBBS                     KY     90000885612
1B434744161936   RICARDO         PEREZ                     CA     90011417441
1B43498237B42B   GUADALUPE       MARROQUI                  NC     90007789823
1B435388561976   JOSE            CASTRO                    CA     90011173885
1B435564376B68   MARTHA          TREJO                     CA     46078045643
1B435631691263   ASHLIE          THOMPSON                  GA     90002846316
1B435642861938   ADRIANA         MACIAS                    CA     90011886428
1B43585433B394   MICHAEL         CARLAW                    CO     90002968543
1B435A6358B199   JUSTIN          GARNER                    UT     90001450635
1B435A6447B489   MARIO           GRANDE                    NC     90012020644
1B43693445B154   SEAN            WILLITS                   AR     90014719344
1B436A1819373B   DEIGHT          HARDY                     OH     90011530181
1B436A36631687   EDWARD          TINGEN                    KS     22063910366
1B437225591895   AMY             HOPPING                   OK     90002312255
1B437447176B68   PAMELA          ANGLIN                    CA     90012674471
1B43745815B35B   DESTINY-APRIL   FISHER                    OR     90014444581
1B437548291569   ANABAL          MARIN                     TX     90014835482
1B43774224B22B   MAX             PEREZ                     NE     90006297422
1B437883257147   ANTONIO         MEZA                      VA     90014878832
1B4378AA88B193   JODIANN         TUCKER                    UT     31079988008
1B437927A43563   PALMIS          CONSTRUCTION              UT     90014829270
1B437AA9151337   DEAIRR          BROOMES                   OH     90013300091
1B43813A993766   JESSE           GIBBENS                   OH     90014061309
1B43821A27B489   MORRIS          GARNER                    NC     90014142102
1B43821A757142   HILDA           PAZ                       VA     81078622107
1B4384A7593773   DAVID           LOUGHRIDGE                OH     90014684075
1B438657776B68   ANGELICA        GASPAR                    CA     90013896577
1B438736857147   JAMES           MITCHELL                  VA     90014607368
1B439236661958   NORMA           VEJAR                     CA     90014172366
1B439245261972   LUZVIMEMOA      MONTERO                   CA     90006532452
1B43962244B259   ELOISA          ROBLES                    NE     27081636224
1B439687693759   TRACY           BARKER                    OH     90005946876
1B43973935B526   TERESA          WRIGHT                    NM     90010157393
1B439812572453   JENNIFER        TERWILLIGER               PA     51037698125
1B43987267B489   NICOLE          DINGLE                    NC     90010148726
1B43B16719154B   EVA             TRUJILLO                  TX     75088091671
1B43B283A8B533   ALORA           MIA                       CA     90015502830
1B43B291161976   ADELAIDO        ORTIZ                     CA     90014732911
1B43B335972B55   ROBERTA         RODRIGUEZ                 CO     33078473359
1B43B491533699   JOHN            LOFTIS                    NC     12045674915
1B4415A1272B62   CARLOS          PAIZ                      CO     90006235012
1B4415A5355948   RUBEN           BON                       CA     90014675053
1B441682A91827   CLARISA         SOSAVILLANUEVA            OK     90014756820
1B441815955938   KELLY           BROWN                     CA     48086098159
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1B441968891569   ADLBERTO     SANCHEZ                      TX     75043569688
1B441A9A161972   JAMES        ORTIZ                        CA     90006630901
1B442551A5B526   LOURDES      RERNANDEZ                    NM     90002305510
1B442852576B68   ANDREW       SHRADER                      CA     90011548525
1B443258672B62   VERSAI       LOPEZ                        CO     90008302586
1B443289561986   JUAN         MARTINEZ                     CA     46087292895
1B4432A444782B   VALERIE      SCOTT                        GA     90006312044
1B44334A357147   WEATHERALL   MAREKIO                      VA     81038163403
1B443413943563   BROOKE       HEMSATH                      UT     90014334139
1B443954393759   STEPHEN      JACKSON                      OH     90005209543
1B44395742B837   TIFFANI      CALKINS                      ID     42095099574
1B444275893745   DARRELL      FRYMAN                       OH     90014262758
1B44468725715B   CRYTAL       TALMADGE                     VA     90013856872
1B444A33155948   MIGUEL       VILLA                        CA     49064360331
1B444A3A891523   CECILIA      FLORES                       TX     75076680308
1B445227833699   AARON        GREENE                       NC     90013082278
1B44543764B23B   TRACY        BLAKEMORE                    NE     90013274376
1B445527391569   OZIEL        DE LA CERDA                  TX     75059535273
1B44565835715B   EDWIN        UMANA                        VA     90014906583
1B445A51672B2B   DARCY        DECOTEAU                     CO     90012440516
1B446265293773   DORETHA      MOORE                        OH     66087392652
1B44694635B154   SHANA        ALLWHITE                     AR     90014719463
1B4471A8951339   LAURA        DAVIS                        OH     90013931089
1B447A9934B22B   SHERI        HENDERSON                    NE     90011280993
1B448161357147   ABDELLAH     HAMD                         VA     90012771613
1B44825835B526   ADAM         ARMIJO                       NM     90012322583
1B449232431456   DANIELLE     LEWIS                        MO     27504082324
1B449252A51337   DWIGHT       JACKSON                      OH     90013212520
1B449313A8B189   MICHELLE     AMES                         UT     90010243130
1B449382A5B154   ALEXANDER    CHAMBERS                     AR     90012943820
1B44956725B35B   GERALUN      HOLLAND                      OR     44565945672
1B4497A5157147   TOM          FOSTER                       VA     90012377051
1B44B417457147   ELMER        REYES                        VA     81066234174
1B44B783391263   JOE ANN      BROWN                        GA     14583137833
1B44B92934B23B   SYLVIA       HOLST                        NE     27029089293
1B44B973672435   BILL         FIERST                       PA     51021309736
1B44B98777B489   ALFRED       WRIGHTON                     NC     11004759877
1B451269176B68   JAMES        VASQUEZ                      CA     90011862691
1B4512AA431456   SHERRELL     CONNER                       MO     90012252004
1B451534161958   NOE          JIMENEZ                      CA     90015045341
1B451761155948   JESUS        PEDRAZA                      CA     90013037611
1B451817861938   MICHAEL      DAVIS                        CA     90006148178
1B451A7135B343   MARIA        GONZALES                     OR     90005320713
1B452115693759   CHRISTIE     MASSIE                       OH     90007241156
1B452155455948   DENISE       ROBINSON                     CA     90000531554
1B4522A1693745   LEON         BISHOP                       OH     90005062016
1B452343443563   ROBERT       JOHNSON                      UT     90004833434
1B453139693759   JAMES        WASHINGTON                   OH     90013131396
1B453298172453   LISA         WEST                         PA     51052582981
1B453378991523   FRANCISCO    ANGUIANO                     TX     90012633789
1B4533A3A5B343   JAIME        SAM                          OR     44511493030
1B454182593745   CAROL        LENHART                      OH     90006311825
1B455555472453   MICHELLE     TATANO                       PA     51084515554
1B45561AA8438B   VALORIE      DRAYTON                      SC     19001506100
1B455787161972   CESAR        RAMIREZ                      CA     90013527871
1B45587915B343   BRAD         RUDOLPH                      CA     44556628791
1B45591A561972   CESAR        RAMIREZ                      CA     90015279105
1B455955743563   ERICA        FAIRBOURN                    UT     90013869557
1B4559A8891523   JOSE         TOKA                         TX     90009539088
1B456618531687   KAREY        BURNS                        KS     90003936185
1B456926793759   DANIELLE     LOWE                         OH     64500089267
1B457126793725   ANGEL        CROWDER                      OH     90011351267
1B457477A4B259   KAYMIECE     BASS                         NE     27077784770
1B45778A397B69   EMILY        BERNHARDT-CASSELL            CO     90003537803
1B4581A7491895   ASIA         GUNYON                       OK     90014641074
1B458628555928   LYNDSI       LIGAMERI                     CA     90009106285
1B458783857147   SANDRA       SAMAME                       VA     90014107838
1B458797793745   PATRICIA     YOUNG                        OH     90013187977
1B458A41A57124   KARIN        FRANCO                       DC     90003900410
1B458A79661976   SERGIO       CABALLERO                    CA     90002670796
1B45938814B259   REY          ALVARADO                     NE     90011903881
1B45968118438B   HORACIO      CANDELARIO                   SC     19029116811
1B459683791895   SONYA        RAUCH                        OK     21052436837
1B459717776B68   ANTHONY      GIAMBRA                      CA     90002857177
1B459789491899   LISA         HUDSON                       OK     21016947894
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1B4598A3461936   ROSA          VILLANUEVA                  CA     90009508034
1B45B189393745   ALYSE         SAINE                       OH     90010651893
1B45B37475B35B   JUSTIN        RUPPERT                     OR     44588903747
1B45B398857147   JOSE          DIAZ                        VA     90014733988
1B45B4A654B537   ALDEE         SALLASKA                    OK     90010014065
1B45B515193745   ALYSE         SAINE                       OH     90013085151
1B45BA44A4B588   VERNADETTE    WILLIAMS                    OK     90004550440
1B461237472B58   CHERYL        MUNKRES                     CO     33035962374
1B461663172435   RENEE         EDGAR                       PA     90004236631
1B461959A91827   JENNIE        BRANLETT                    OK     90013579590
1B46218165B343   TAYLOR        LUCAS                       OR     90013321816
1B462222572483   DONNA         PLAISTED                    PA     51095402225
1B4623A1833699   IESHA         MORRISON                    NC     90013663018
1B462478161976   TERESA        FLORES                      CA     90014824781
1B46262282B966   PEDRO         NAVAJAS                     CA     90005886228
1B4627A1243563   KATHALEEN     STOKES                      UT     90013347012
1B463128224B7B   NAFATALI      BENITEZ                     DC     90012021282
1B46346635B154   TIMOTHY       WISE                        AR     90013384663
1B463649424B7B   NAFATALI      BENITEZ                     DC     90014116494
1B464658461972   EMMA          ACHOY                       CA     90009546584
1B464944493745   NANCY         BAKER                       OH     64534449444
1B464A63691569   STEVEN        LAUNA                       TX     90013350636
1B46534A272453   JANICE        BOZICH                      PA     51043373402
1B46537A68B193   LISA          GAFFNEY                     UT     31001373706
1B465618251545   JUAN          PEREZ                       IA     90014056182
1B465746293766   DESIREE       CUNDIFF                     OH     90014637462
1B465A17872453   GLENN         WYNO                        PA     90015570178
1B465A94591569   CHRISTOPHER   LOPEZ                       TX     90012980945
1B46616925B343   ANITA         SANTIAN                     OR     90010741692
1B4661A6791895   CHRIS         ALLEN                       OK     90010481067
1B467642355948   NICOLAS       GUZMAN                      CA     90013686423
1B46785935715B   MIRANDA       BARNES                      VA     81015028593
1B468196291569   ELISA         VASQUEZ                     TX     75003141962
1B468321A55948   EVERARDO      JUAREZ                      CA     90013423210
1B46918A361976   GEMA          ESPINDOLA                   CA     90009801803
1B469484161936   BRENTON       STERLING                    CA     90011844841
1B4694A235715B   MARIA         SANCHEZ                     VA     90004534023
1B46951768B199   CHRISTINE     GREEN                       UT     31005905176
1B46B12128B199   ZAK           WORKMAN                     UT     90012871212
1B46B763393759   AUDREY        REED                        OH     90003267633
1B46B89555715B   GAVINA        TAVERAS                     VA     90015198955
1B46B95127B489   LATONYA       GLEATON                     NC     11030379512
1B46BA95661972   CESAR         CORRAL                      CA     90006440956
1B471282691523   CARLOS        BENITEZ                     TX     75007202826
1B4712A4572B55   ANNE-MARIE    GODFREY                     CO     90015252045
1B471676333699   QUANTREZ      H                           NC     90014856763
1B47226A943563   JESUS         CHAVEZ                      UT     90012282609
1B472315793745   DOMINIC       ALLEN                       OH     90003853157
1B472494891569   FERNANDO      CHAVEZ                      TX     90013374948
1B473312691569   NATALIA       REYES                       TX     90008863126
1B473496733699   JP            WILLIAMS                    NC     90011294967
1B47386244B22B   LARONDA       EKUNYEMI                    NE     90000678624
1B474359872435   RICHARD       RAE                         PA     51055143598
1B47461548B199   ABEL          SALINAS                     UT     31000606154
1B474654A93759   LEON          DARST                       OH     90006706540
1B474845A4B259   KORTNIE       SCHOENING                   IA     27010118450
1B47484685B154   CRYSTALYN     SAVAGE                      AR     90014318468
1B475119157147   CHOUDHRY H    AHMED                       VA     81037861191
1B47535A277522   CINDY         THOMAS                      NV     90002973502
1B475415A5B343   PABLO         PENA                        OR     90015054150
1B47555A533699   VALENTIA      QUICK                       NC     90011295505
1B475711951355   ANDRES        GOMEZ                       OH     90010257119
1B47579868B199   CASSIE        JOHNSON                     UT     90013887986
1B475799172453   FRANNELL      BARBARA                     PA     90007097991
1B475817661938   JUAN          PENA                        CA     90008918176
1B47594255B154   GERALD        LONG                        AR     90014729425
1B475A13A4B259   BRIAN         KISER                       NE     27061590130
1B476145893759   ALICIA        HARTLEY                     OH     90011561458
1B476351555948   MAURICIO      CRUZ                        CA     90008523515
1B47699A831476   PAUL          NGWENYA                     MO     90013909908
1B476A7565B154   ERICA         JACKSON                     AR     90014720756
1B47742475B343   WILLIAM       BOWERS                      OR     90012564247
1B477455591523   LUCERO        CORTEZ                      TX     75032174555
1B477718261997   MIKE          BERRIL                      CA     46063397182
1B4779A225B526   MARCUS        ZUBIA                       NM     90008449022
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1B4781A9791895   COURTNEY         PARKS                    OK     90013801097
1B47959157B489   DEBRA            HOOD                     NC     90014435915
1B479739343563   HERNAN-CLAUDIA   SALAZAR-ACOSTA           UT     90008327393
1B479766893745   CAROLYN          MCCALL                   OH     90008207668
1B479A67155948   LORI             MARTINEZ                 CA     90012110671
1B47B155455948   DENISE           ROBINSON                 CA     90000531554
1B47B28324782B   DEONN            SEARCY                   GA     90009972832
1B47B296933699   BERNABE          HERNANDEZ                NC     90002532969
1B47B34999154B   JESUS            CASTILLO                 TX     75090403499
1B47B47474B259   ARROYO           JOSE ANTONIO             IA     90001654747
1B47B87145B343   ELISA            POSAS-RIVERA             OR     44564688714
1B47BA82161936   ANGEL            ANGULO                   CA     90009510821
1B47BAA1A5B154   KRYSTAL          BOLDEN                   AR     90014720010
1B48127994B22B   KRISTAN          LADD                     NE     90015052799
1B48134918B199   AFTON            HANSEN                   UT     31004193491
1B481395761958   CALEB            ROSENBERGER              CA     46068243957
1B481458491569   MARIA            MICHEL                   TX     90012214584
1B481582A61976   LEONARDO         ESCOBAR                  CA     46047595820
1B48228324B22B   DARNAL           SUK                      NE     90015052832
1B48228A793745   LAUREN           SMITH                    OH     90014922807
1B48256135B526   JOSE             SERGIO                   NM     35004685613
1B48277328B167   SCOTT            MOSER                    UT     90001587732
1B482784A7B489   SUSAN            DEPRIEST                 NC     90008777840
1B48284A543563   MICHELLE         FLEMING                  UT     90012468405
1B482A73676B68   AARON            LAUFER                   CA     90000680736
1B482AA7991263   JAWDON           MCCALL                   GA     14588950079
1B4835A1876B68   RICHARD          LEROY RAMER              CA     46064485018
1B483629943563   LUCHA            VILLA                    UT     31013186299
1B483749A91523   AMELIA           MARTINEZ CRUZ            TX     75005117490
1B48399384B266   STEPHANIE        CAMPBELL                 NE     27087829938
1B48416A391895   RHIANNON         WIGGS                    OK     90014641603
1B484196157147   MARIA            AMAYA                    VA     90011681961
1B484345891569   JENIFFER         CASTANEDA                TX     90009983458
1B48441424B259   KENDRA           WILLIAMS                 NE     27020344142
1B484457161976   GENESIS          ACEBES                   CA     90003484571
1B484726447956   JAVIER           ALEMAN                   AR     90012477264
1B485364391523   ERIKA            CORTEZ                   TX     90013893643
1B485829831687   CHELSEA          NICHOLS                  KS     22001748298
1B486231647956   MELISSA          WOODALL                  AR     24072962316
1B486295172453   PAMELA           MOORE                    PA     90000182951
1B48711924B23B   KIMBERLY         NELSON                   NE     27082111192
1B4874A599154B   ANA              FLORES                   TX     75013544059
1B48775338B199   REBECCA          FLOYD                    UT     31092237533
1B487929591895   PABLO            HERNANDEZ                OK     21006169295
1B488219293745   TINA             DULIN                    OH     90011092192
1B488599743563   DAVE             STROMNESS                UT     90003545997
1B489117A55948   ALMA             GONZALEZ                 CA     49079201170
1B489147276B68   JOEL             TORRES                   CA     90013011472
1B489152591523   PAULINE          TRUJILLO                 TX     75087761525
1B48942634B537   ZAJAC            MARIE                    OK     90011174263
1B48B14879154B   MARIA            TREJO                    TX     90001061487
1B48B2A735B154   DANIEL           ADAMS                    AR     90013742073
1B48B39165715B   GERALD           LESTER                   VA     90012913916
1B48B457393766   JENNIFER         COUCH                    OH     90012684573
1B48B4A7261958   GEORGINA         DAVIS                    CA     90012764072
1B48B56A87B489   MAURICE          KNOX                     NC     11082505608
1B48B6A855B275   LATOSHA          NICOLE                   KY     90010296085
1B491173A31687   SCOTT            HIGGINS                  KS     90013071730
1B492344861972   WALKER           DOUGLAS                  CA     46058093448
1B492758451337   EVA              JORDAN                   OH     66093827584
1B4928AA691263   BRYANT           MAXWELL                  GA     90014828006
1B492948972B34   ALFREDO          VALDEZ                   CO     33080289489
1B49421584B22B   SHAWNNA          WAGNER                   NE     27081782158
1B494331961972   JUAN             LOPEZ CUEVAS             CA     90013893319
1B49454532B249   KEISHA           LEE                      DC     81016255453
1B494859961958   ANN CHERYL       LITZINGER                CA     90011228599
1B495484657147   MICHAEL          MOSES                    VA     81046584846
1B49559A631687   WILL             WOODWORTH                KS     22080675906
1B49594A693766   DAN              LAKE                     OH     90012039406
1B49611555B74B   SHANECE          LUCAS                    MN     90014161155
1B49636362B857   SHARI            KETTERING                ID     90001613636
1B49639929154B   FEDERICO         MONCLOA                  TX     75081543992
1B49645AA31687   JOHN             KNIPPER                  KS     90014704500
1B49689638B136   STACEY           ATKINS                   UT     31031238963
1B496988A5B154   CRAIG            JERRI                    AR     90011749880
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1093 of 2350


1B496AA5943563   MERTHE        USABWIMANA                  UT     90011990059
1B49793A44B259   ADAM          LORENZ                      NE     90010509304
1B498175991895   KEISHA        WILLIAMS                    OK     90004091759
1B498655761938   STEPHANIE     CAVALLERO                   CA     46016156557
1B49924425715B   CLIFTON       DAVIS JR                    VA     90006092442
1B499A39591263   THOMAS        HUNTER                      GA     14570620395
1B499A96961972   E DANTE       GRAZ                        CA     90012680969
1B49B167657147   ABDUL         ANWAR                       VA     90012771676
1B49B484876B68   JAMES         HUFFMAN                     CA     90011554848
1B49B523157147   OSCAR         BENITEZ                     VA     90014745231
1B49B59AA72B62   CHANRATH      MORM                        CO     90014995900
1B49BA21447956   KEELIE        BOTELLO                     AR     24074540214
1B4B122555B526   SANDRA        FLORES ANTILLON             NM     90014742255
1B4B1675791569   ADRIAN        LOERA                       TX     90011816757
1B4B25A8976B68   ALMA          COLMENARES                  CA     90013035089
1B4B2A66661938   YVETTE        HALL                        CA     90008310666
1B4B3384476B68   VICTOR        TORRES                      CA     90010603844
1B4B346319196B   RONAL         ACOSTA RODRIGUEZ            NC     90006494631
1B4B363929154B   JUAN          MADRID                      TX     90001836392
1B4B4931493766   LUTHER        MALOTT                      OH     90013229314
1B4B4A82972453   KIMBERLY      JONES                       PA     51040830829
1B4B5558A6192B   ROBBI E       KUHN                        CA     46063635580
1B4B5967697B69   KELLY         VASQUEZ                     CO     90010909676
1B4B5A71791263   DENISE        WEST                        GA     14571280717
1B4B5A94157199   JOSE ISRAEL   VILLEDA                     VA     90003480941
1B4B61AA361972   SANDRA        RAMIREZ                     CA     90014331003
1B4B6248891263   GARY          PHILPOT                     GA     90014892488
1B4B66AA157142   CONSTANCE     ABBAL                       VA     81016186001
1B4B673888B199   JUAN          PALACIOS                    UT     31010067388
1B4B6947361976   MARC          ALVARES                     CA     90003959473
1B4B6A2428598B   SERINITY      STEVENS                     KY     66096520242
1B4B7171691523   VIVIAN        MUELA                       TX     90010421716
1B4B7331972B62   KIMBERLY      KIEBEL                      CO     33004613319
1B4B737574B259   LISBETH       RANGEL                      NE     90002803757
1B4B7537A93759   RALPH         BEVERLY                     OH     64592435370
1B4B767627B489   STEPHANIE     FORD                        NC     90001716762
1B4B8133461938   PETER         CASTRO                      CA     90003721334
1B4B8133A91569   VIVIAN        BRAVO                       TX     90010181330
1B4B8716991263   JAQUITA       RICHEY                      GA     90013037169
1B4B9483593759   MARY JO       BEACH                       OH     64594124835
1B4B9587176B68   ZACK          CHAPMAN                     CA     90014835871
1B4B981975B154   ERIC          NELSON                      AR     90014718197
1B4B9832581576   DENNIS        KUBIAK                      IL     90014718325
1B4BB262472453   RYAN          DEFRANCESCO                 PA     51057042624
1B4BB6A1855948   JORGE         GARCIA                      CA     90013966018
1B4BB761791956   PHYLLIS       NELSON                      NC     90009487617
1B4BB856391399   SARAHI        RESENDIZ                    KS     90006388563
1B511192476B68   GENARO        LEONCIO                     CA     46019011924
1B511326A8B199   MARK          MARTINES                    UT     90013433260
1B511345161972   ELVIRA        PROO                        CA     90010163451
1B511365391263   DARLA         COGHILL                     GA     14570623653
1B5114A5A91569   JESSE         PINEDA                      TX     90013544050
1B51155A751337   SEAN          PRICE                       OH     90003575507
1B5118A7372B62   RAY           CARVER                      CO     90010978073
1B512763891569   RUBY          PAYAN                       TX     90003267638
1B513469593745   JULIE         EERNISSE                    OH     90010894695
1B5134A8491569   CHRISTIAN     LOZANO                      NM     75005244084
1B513575A61976   EDGAR         VILLA                       CA     90013155750
1B514654693736   LATRICIA      DIXON                       OH     90013276546
1B514785691573   TERESA        MENDOZA                     TX     90013137856
1B515343433699   TENESHIA      ROBBINS                     NC     90011603434
1B51547A172453   BOBBIJO       YATER                       PA     51087054701
1B51572A531456   CHAVITA       BICKLEY                     MO     27586387205
1B515774272435   VIVECA        JONES                       PA     51023277742
1B515854461938   MICHAEL       KNOX                        CA     46079168544
1B516198691523   CARLOS        RAMIREZ                     TX     90011881986
1B51622114785B   MEKISHA       WATTS                       GA     90014012211
1B516374491895   BLAKE         GREEN                       OK     90005203744
1B51648258B199   STEPHANIE     FOX                         UT     90013894825
1B516822857147   JANICE        WHITE                       VA     81034068228
1B517114591569   MISTI         BLUE                        TX     75066691145
1B517135991523   VILLEGAS      ALMA VILEGAS                TX     90010011359
1B517332A91895   GRISELDA      CARDONA                     OK     21082943320
1B5174A795715B   CABERA        ESTEBAN                     VA     81075844079
1B517541172B62   JENNIFER      MCCORD                      CO     33067935411
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1B518161A5715B   EVER         REYES                        VA     90006001610
1B518661547956   BRUCE        HEVENER                      AR     90014636615
1B51911784129B   BRANDON      PATAKY                       PA     90011601178
1B519275991895   LEE          GARRETT                      OK     21077642759
1B51954825B154   TAMEKIA      PUGH                         AR     90014045482
1B519576297B37   RENITA       BENAVIDEZ                    CO     90008195762
1B51981448B138   JOHN         WIDNER                       UT     90005438144
1B51B287991895   MARISELA     BARRAGAN                     OK     21015642879
1B51B34A25B526   MYRIAH       MONTOYA                      NM     90014343402
1B5212A5143563   KAYLA        BENSON                       UT     31093152051
1B5215A544B26B   JESSICA      YELM                         NE     90005595054
1B521613972B55   ROCHELLE     MCKENZIE                     CO     90003396139
1B522181747956   DANIEL       DUNCAN                       AR     90012001817
1B522291661958   SARAH        ORMSBY                       CA     90001592916
1B52231445B343   YOLANDA      REYES                        OR     90013753144
1B5223A9A61938   JUAN         VALENZUELA                   CA     90012033090
1B522644A72483   ROCQUELLE    WILLIAMS                     PA     51028106440
1B522814A72453   MARNE        TUROCY                       PA     51078118140
1B523235691523   LUIS         CARRASCO                     TX     75068682356
1B52365358B199   BRAD         JONES                        UT     90014716535
1B523975961958   CLAUDIA      ISIDORO                      CA     90001219759
1B523A59552B55   MELISSA      DAVILA                       UT     34016930595
1B523A68191569   SILVIA       GALLEGOS                     TX     90010750681
1B524799643563   JUAN         PALMA                        UT     90011287996
1B524957A31687   CHRIS        MCHALEY                      KS     90000669570
1B524A38A7B489   ALISON       NOVINC                       NC     90013270380
1B525342461938   GABRIELA     SOLTERO                      CA     46056203424
1B52589834B259   BENJAMIN     WILLUHN                      NE     27028688983
1B52594294B22B   TRICIA       LINTO                        NE     27090679429
1B526387661976   CARLOS       FERNANDEZ                    CA     90013653876
1B52657515715B   NELLY        MOYA                         VA     90009325751
1B527297A61996   TARA         STAMOS                       CA     90014732970
1B527451561972   JAMES        MCCUNE                       CA     46097334515
1B52793538B199   ROBERT       COON                         UT     90013899353
1B52795285B154   ENRIQUE      GARCIA                       AR     23034729528
1B52845AA43563   LAVINIA      FRUEN                        UT     90013064500
1B528593861958   TERRENCE     SMITH                        CA     46048795938
1B52864635B526   ROLAND       SMITH                        NM     35027486463
1B528A4274B259   HEATHER      SMITH                        IA     27060090427
1B529225491895   KYNES        MCCULLEY                     OK     90014642254
1B529263151337   ARTISHA      MAYFIELD                     OH     66000232631
1B5292A1661976   CELIA        LUNA                         CA     90014912016
1B5292A597B428   BRENDA       SIMPSON                      NC     11030362059
1B529849761972   VANESSA      GARCIA                       CA     90007428497
1B529A79A76B68   CATALINO     HERNANDEZ                    CA     90004690790
1B52B339761958   TINA         REMLEY                       CA     90010393397
1B52B394633699   DONALD       DAVIS                        NC     90015033946
1B52B57A851337   MAURICIO     SANCHEZ                      OH     90013595708
1B52B5A265B343   KLAUDIA      NEISS                        OR     90011725026
1B531468693745   ANGELE       BUBECK                       OH     90009744686
1B531489293759   SHAWN        ROSE                         OH     90011234892
1B531527133699   GABRUM       BAKER                        NC     90012665271
1B5317A8857147   ALEXIS       SAMANIEGO                    VA     90013147088
1B53222365715B   MUTASIM      ELMUSTAFA                    VA     90014492236
1B5323A8243563   JACLYN       EDWARDS                      UT     90011293082
1B5339A3147956   JD           BENNETT                      AR     90012319031
1B534428593745   DONALD       STAUDT                       OH     90008594285
1B534493791569   BERENICE     CARDENAS                     TX     90001944937
1B53472994B23B   WALLACE      BROWN                        NE     27048997299
1B534761747956   LORETTA      CARTER                       OK     24073387617
1B53483645B154   SHARON       HENLEY                       AR     23077678364
1B535111691263   KIZZIE       DOCKERY                      GA     90011601116
1B53512A55B154   NORMA        EJINWA                       AR     23000481205
1B535171993745   RICHARD      BURTON                       OH     90010981719
1B535253451337   PRECIOUS     TEAGUE                       OH     66011312534
1B535342655948   FILADELFO    TIXTA                        CA     90015523426
1B535451561972   JAMES        MCCUNE                       CA     46097334515
1B535626747956   KAREN        MARTIN                       AR     90014756267
1B53576597B489   SANDY        SULLIVAN                     NC     90013427659
1B535918391569   MIKE         RAMIREZ                      TX     90006649183
1B535A5533B35B   LUIS         ENRIQUE GARCIA               CO     33098440553
1B536342355948   FAUSTINO     LASCAREZ                     CA     90015163423
1B536393191895   EDUARDO      MARTINEZ                     OK     90010483931
1B5364A7691569   ORALIA       NUNEZ                        TX     90002404076
1B536532861938   JAINA        VASQUEZ                      CA     46085395328
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1B536A89A5B154   TERRANEY         THOMPSON                 AR     90014730890
1B537278891885   MARIA            DIAZ                     OK     21043472788
1B53737A45B154   DORIS            STEVENSON                AR     90000763704
1B537454255948   GILLERMO         TORRES                   CA     90013034542
1B53746A34B26B   BRIAN            JUBER                    NE     26081744603
1B537665572B55   LASHAE           SMITH                    CO     90003396655
1B53766954B259   RAYMOND          FORD                     NE     27022356695
1B537A77476B68   JAMAIKA          WILLIAMS                 CA     90011560774
1B538428593745   DONALD           STAUDT                   OH     90008594285
1B538862291523   VALERIE          PEREZ                    TX     90009728622
1B5388A934B537   KHRISTIAN        SUDBROCK                 OK     90001988093
1B53892AA93766   JAYSON           FYFFE                    OH     90008019200
1B539253431687   ANTHONY          MORRIS                   KS     90012992534
1B53957865B343   KENNY            NIX                      OR     44566055786
1B539AA7631456   TOREY            RAY                      MO     90005290076
1B53B571331687   ANDREA           DICKSON                  KS     90011005713
1B53B786972435   PAUL             LANE                     PA     51038097869
1B53B814661976   TONI             MILLER                   CA     90011478146
1B53BA3475715B   TERSA            FERRIE                   VA     90011320347
1B541192476B68   GENARO           LEONCIO                  CA     46019011924
1B54123A961958   ELIZABETH        CHINO                    CA     90006662309
1B5413A633B394   JESUS            GALVAN                   CO     33050973063
1B5415A695B35B   LUCIOUS          HICKS                    OR     90000425069
1B54182A333699   JAZZMINE         MCCOY                    NC     90014858203
1B541A5A95715B   MARENCO          JULIO                    VA     90006020509
1B5422A7381652   ALINA            PERCASTEGUI              MO     90001302073
1B54262A661958   JUSTIN           PUGH                     CA     90012606206
1B5427A974B26B   JONATHAN         PFEIFFER                 NE     26092377097
1B54283397B489   MARSHALL         LOWERY                   NC     90012128339
1B542877193759   LEROY            MAYE                     OH     90011238771
1B543554993773   SARAH            SHAVER                   OH     90004065549
1B543582991895   MECHELE          HOOKEY                   OK     21001295829
1B54359A35B35B   JOHN & MUTSUMI   ODEGAARD                 OR     90012365903
1B543649272453   BRAIN            LARUE                    PA     51002746492
1B54365148B199   JEFFERY          BRASIER                  UT     90010186514
1B5436A2893759   ELIZABETH        GUTIERREZ                OH     90014186028
1B543742955948   CECILIA          FERREIRA                 CA     90009627429
1B54412A561972   VICTOR           HERNANDEZ                CA     90011611205
1B544178293766   ELIZABETH        HERLINGER                OH     90013911782
1B5441A6243563   JULIAN           CARRETO                  UT     31098611062
1B544544461976   TESSA            CALVILLO                 CA     90010305444
1B544779724B44   LUISA            MADRID DE JIMENEZ        DC     90000887797
1B544816761958   ERNEST           FULLER                   CA     90014838167
1B54489259154B   BARBARA          MARSH                    TX     75013548925
1B544A38533699   JASMINE          HONN                     NC     90011770385
1B545178293766   ELIZABETH        HERLINGER                OH     90013911782
1B545283691523   VERONICA         RODRIGUEZ                TX     75021382836
1B54558355B526   LOUELLA          LOPEZ                    NM     35003455835
1B54579595B526   CHRIDTOPHER      ESPINOZA                 NM     90014847959
1B545A7238B199   GARNEY           CLAYWELL                 UT     31096530723
1B54659A35B35B   JOHN & MUTSUMI   ODEGAARD                 OR     90012365903
1B546884493759   JENNIFER         MOORE                    OH     90011238844
1B546953455948   MARCELINA        REYES                    CA     90012929534
1B546A34891569   LINDA            DWYER                    TX     90014060348
1B54747975B387   ARLETTA          MILLER                   OR     90008524797
1B547517991569   CLAUDIA          TERRAZAS                 TX     90012365179
1B54789259154B   BARBARA          MARSH                    TX     75013548925
1B5479AA893766   GRACE            AGULLANA                 OH     90003169008
1B54853815B35B   TINA             ESTRELLA                 OR     90005065381
1B548642972435   NANCY            HOWARD                   PA     51082786429
1B548669743563   JAMI S           CIRONE                   UT     90012176697
1B549394A61976   MICHAEL          YOUNG                    CA     90013953940
1B549621257147   LESLY            MONDRAGON                VA     90011836212
1B549728251337   ISABEL           DIAZ                     OH     90015307282
1B54B123A5B154   LEE              RICKEY                   AR     90014731230
1B54B23A561938   MARISSA          LUGO                     CA     90010152305
1B54B553633699   KAREN            WHITE                    NC     90005065536
1B54B569131687   DANETRA          MURDOCK                  KS     22002725691
1B54B859976B68   ALEJANDRO        MURILLO                  CA     90014858599
1B54BA76872B62   KULIANA          FIFITA                   CO     90013630768
1B551834472B62   ROBERT           RECK                     CO     90001618344
1B551953A72453   JOHN             KOSHARSKY                PA     90005059530
1B551AA5A91523   KELLY            WYATT                    TX     90004740050
1B55218995B154   KYRA             LORICK                   AR     90014731899
1B552254361972   MARCOS           HATFIELD                 CA     90007652543
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1B5523A9991569   RUBY          PEREZ                       TX     90011203099
1B55265335B35B   FRANCISCO     GUTIERREZ                   OR     90012636533
1B5529AA45B343   BAKRI         KAAKEH                      OR     90013299004
1B55319657B489   LASONDA       HUDSON                      NC     90013421965
1B553287491895   LACEY         VANDOLAH                    OK     90014642874
1B55331A393745   RUSSELL       NEWHOUSE                    OH     64551933103
1B55332897B489   ALEJANDRO     REYES                       NC     90015143289
1B553638261938   APRIL         RODABAUGH                   CA     90014796382
1B553883261938   ERIKA         SKOG                        CA     90012828832
1B55394285B35B   ANGELICA      BUENO                       OR     44589739428
1B554227833699   AARON         GREENE                      NC     90013082278
1B554289A91569   DIANA         DE LA ROSA                  TX     90012262890
1B554383A4B26B   CASEY         THOMAS                      NE     26092683830
1B55444884B22B   ROBERTO       SOTELO                      NE     27070284488
1B554688957147   STEVE         PATHAMMAVONG                VA     81040676889
1B55475368B199   AMBER         STODDARD                    UT     90015017536
1B55583427B489   NOBERTO       REAL                        NC     90013928342
1B55613349154B   ELVA          DE LA CRUZ                  TX     90005021334
1B55632725715B   VALERIE       TAYLOR                      VA     90012443272
1B556635547956   SHELITA       MARTIN                      AR     90012976355
1B5566A525B526   RICK          QUINTANA                    NM     90012776052
1B55678494B23B   TIM           MCSHANNON                   NE     90001977849
1B557668161976   MARIA         RODRIGUEZ                   CA     46040186681
1B55818145B343   DOUGLAS       BRYANT SR                   OR     90008491814
1B558513391569   ARMANDO       GUAJARDO                    TX     90006195133
1B55854385715B   LUSY          GONZALEZ                    VA     81095645438
1B558653691569   ALMA          HERNANDEZ                   TX     90014926536
1B559624393745   TAYLER        JACKSON                     OH     90008546243
1B559722876B68   JUAN MANUEL   QUINONES MARTINEZ           CA     90014077228
1B559A2848B193   AMANDA        CISNEROS                    UT     90006500284
1B55B18A78B199   JESS          STEWART                     UT     90008571807
1B55B522957147   DANIELA       SORIANO                     VA     90008105229
1B55B721655948   ANGEL         FLORES                      CA     90012397216
1B55B787391263   ELANEY        BYNES                       GA     90013517873
1B55B863A2B966   GREGORY       BREMER                      CA     45064348630
1B55B939591523   CARMINA       ISAIS                       TX     75017009395
1B561263A61976   GABRIEL       MARTINEZ                    CA     90015222630
1B561436361976   GEORGINA      BAUTISTA                    CA     90007534363
1B561545191569   MARIO         MUNETONES                   TX     90008925451
1B56195734B26B   KRISTY        KROGH                       NE     26057959573
1B5624A4243563   RAMOS         ABBY                        UT     31008984042
1B562768247956   BILAL         JEFFERSON                   AR     90009057682
1B56281595B395   PEDRO         MARURE                      OR     90005218159
1B56286568438B   JENNIFER      MCDONALD                    SC     19060918656
1B563214A91263   QUANTAVIA     LEE                         GA     90010382140
1B56323875B154   WHITNEY       THOMAS                      AR     90014732387
1B563687947956   LAURA         YANDELL                     AR     90013126879
1B563721161976   JORDAN        ROSS                        CA     90011867211
1B563878A91523   GERARDO       ACOSTA                      TX     90014768780
1B564187391569   JOSE          RIVERA                      TX     90007821873
1B564924993745   ASHLEY        MANGEN                      OH     90006329249
1B565399172B55   JACQUELYN     BETH-FREELAND               CO     33073333991
1B5655A6251337   DONNIE        TUCKER                      OH     90007825062
1B5655A6791569   DANIEL        GRANDADOS                   TX     90007655067
1B565965793766   KATHERINE     GARRISON                    OH     90005839657
1B56618294B23B   MICHAEL       RICKEL                      NE     90003941829
1B56627694B259   ELIODORO      LOZANO                      NE     90001402769
1B566477657147   JOSE          OXLAJ                       VA     81024154776
1B5666A4391523   ROSA          CORREA                      TX     75054116043
1B56714275B343   DAVID         RIOS                        OR     90014881427
1B56724645599B   AMANDA        SORIA                       CA     90011332464
1B56768735B35B   SARAH         ROARK                       OR     44525086873
1B567811A5B526   MARIAH        BROWN                       NM     90014888110
1B567925961938   JAALIYAH      POLITE                      CA     90012889259
1B5687A115B35B   YOLANDA       HERNANDEZ                   OR     90014557011
1B56922834B588   SANDRA        WHATLEY                     OK     21595292283
1B56928A25B526   EVA           LOPEZ                       NM     90012562802
1B56B364433699   JENNIFER      PURIFOY                     NC     12071653644
1B56B519591523   DAISY         MEDINA                      TX     90015105195
1B56B73A85B35B   DOMINIC       ABILA                       OR     90011157308
1B56B966461976   MCIAS         YANETH                      CA     90003609664
1B56BA8694B259   DELMI         HERNANDEZ                   NE     27022170869
1B57149135B526   MARYBEL       RUIZ                        NM     90015124913
1B571731661958   SERGIO        HUERTA                      CA     46095637316
1B571922347956   PAULETTE      PRYER                       AR     90013759223
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1B5719A7561938   ANGEL        SANCHEZ                      CA     46049929075
1B572321191263   TYRONE       SMITH                        GA     14583743211
1B5725A5257147   ANA          ANZALDUA                     VA     81001015052
1B57277A94B259   MELISSA      CARLSON                      NE     27048937709
1B572896393773   GUY          BRINSON                      OH     90005438963
1B573232761958   JESSICA      RAMIREZ                      CA     90011902327
1B57337A351358   DAVID        BRUNER                       OH     90008743703
1B57342A18598B   MARY         KELLS                        KY     90007764201
1B57386815B526   SHANNON      FRIAS                        NM     35041488681
1B573A13351337   KELLI        CONNER                       OH     90008970133
1B573A34331687   SCOTT        GROTLE                       KS     90013100343
1B574333993759   BEAU         CLAY                         OH     90011243339
1B574896393773   GUY          BRINSON                      OH     90005438963
1B57516A355948   LUCIA        FREITAS                      CA     49039101603
1B575176772B62   RON          PARSONS                      CO     90013221767
1B575299157147   AUGUSTO      BRUSCHI                      VA     90013992991
1B57551374B22B   NYADHOK      LAM                          NE     90015065137
1B57599A593745   MATTHEW      TOTTEN                       OH     90011649905
1B57614475B343   ITZURY       MARTINEZ                     OR     90013471447
1B57615834B259   MIKE         PIATT                        NE     90002721583
1B576659A61936   PACHECEO     SAUL                         CA     90003776590
1B576718991523   SALINA       TAMEZ                        TX     90015337189
1B576777272B23   JEFFREY      PAUSCH                       CO     90010167772
1B576787671935   FRANCES      DESIENA                      CO     90012487876
1B576793572453   ALYSSA       WALLACE                      PA     51057907935
1B57692735715B   JOSE         CANALES                      VA     90014059273
1B576936393766   PAYGO        IVR ACTIVATION               OH     90014939363
1B5774A9793766   TERRY        WRIGHT                       OH     90014944097
1B57786A35B343   HELEN        CORTEZ                       OR     90015318603
1B5778A754B23B   RONNETTE     MAYS                         NE     90010228075
1B57792395715B   JAMZ         MORRISON                     VA     81015029239
1B577A7A291569   KIMBERLY     ASH                          TX     90010300702
1B578327593725   AFIA         GREEN                        OH     90001723275
1B57851797B489   JAMIE        STONEMETZ                    NC     90009115179
1B5786AAA72453   KRISTY       MALOY                        PA     90014406000
1B57877694B259   ALLA         VANPUTTEN                    NE     90009857769
1B579111757147   PETER        PHAM                         VA     90015121117
1B57924614B543   CHARLOTTE    MORTIMER                     OK     90002462461
1B579296991569   FELIPE       HILL                         TX     75004062969
1B579487A61938   RUBY         NAVARRO                      CA     90011114870
1B57B116591523   MELANIE      CONTRERAS                    TX     90004841165
1B57B354361938   ELVIA        SOTO                         CA     90015043543
1B57B3A5157142   MARINA       TERRAZAS                     VA     81015773051
1B57B471443563   JACINTO      COLMENERO                    UT     31098674714
1B57B848376B68   ANTHONY      DEMILLE                      CA     90013428483
1B57BA45A7B489   TWANDA       PERRY                        NC     90005260450
1B58123264B22B   TEELA        COOK                         NE     90011282326
1B58126347B489   KARNIKA      JACKSON                      NC     90012612634
1B58151A593759   KEVIN        STEPHENS                     OH     90011245105
1B581A75972B62   MONIQUE      MONTEZ                       CO     90004320759
1B582255461976   ERICA        BARRERAS                     CA     90013992554
1B582352391895   SUMMER       HOLKUM                       OK     90014643523
1B5824A6472B62   MICHAEL      MCCLESKEY                    CO     33066864064
1B582638561976   JESUS        ESTRELLA                     CA     90012186385
1B583368291895   ELIJAH       MASON                        OK     90014643682
1B58452918B199   CONSTANCE    MAGINNIS                     UT     31064995291
1B584546591569   JOSE LUIS    RODRIGUEZ                    TX     90012245465
1B584551661976   JOCELY       ARELLANO                     CA     90007665516
1B5845A3272453   TROY         KISKO                        PA     51074265032
1B5845A7891263   FALICIA      MITCHELL                     GA     14508495078
1B585171431687   SHANA        BOCKELMAN                    KS     90008751714
1B5851A9961936   FIGUEROA     DOMINGUEZ                    CA     90009521099
1B585529691569   KARINA       BUGARINI                     TX     90008185296
1B58642A361958   JESSE        TORRES                       CA     90012744203
1B58648645715B   JOANN        BAILEY                       VA     81076224864
1B587275447956   RHONDA       ANDERSON                     AR     90012432754
1B58753985B35B   JOSE         MEJIA                        OR     44587575398
1B58756588B199   MAKIA        ONES                         UT     90013345658
1B587581A91569   JASON        DUGGER                       TX     90012665810
1B587A46A93759   CECIL        HOWARD                       OH     90011260460
1B58847378B199   REGALADO     GUADALUPEE                   UT     90004194737
1B588633561976   KENNTH       SCHMIDT                      CA     90011406335
1B588A56931687   LINDA        THOMAS                       KS     22070940569
1B58937615B35B   ED           THOMPSON                     OR     44568653761
1B589565184344   SILVESTRE    DONJUAN                      SC     90001855651
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1B58975A751337   RUPERTO      SANCHEZ                      OH     90011917507
1B58B48695B35B   RYAN         HARRIS                       OR     90014934869
1B58B79945B526   ROSA DIAZ    DE VALDEZ                    NM     35048917994
1B58B94584B22B   ERICA        MENDOZA                      NE     27011849458
1B58BA79193745   KAY          PRITCHARD                    OH     90000430791
1B59124A272B3B   KRISTOPHER   KRZYSZTOFIAK                 CO     90001612402
1B591795431687   ROBIN        SONTAG                       KS     90014247954
1B591A96672B55   JACOB        KNAPP                        CO     90012770966
1B59221599154B   RUBY         PALMA                        TX     75014472159
1B592563257147   LISA         ELLIS                        VA     90012855632
1B592A88872B62   VICENTE      FERNANDEZ                    CO     33027570888
1B59354AA61934   KEVIN        MCCARVILLE                   CA     46085855400
1B593574784375   GREGORY      FRIGA                        SC     19096275747
1B593781193759   DOROTHY      TALOR                        OH     64576827811
1B594171A61958   ELVIA        HUERTA                       CA     90009621710
1B5942A1772B62   VANESSA      DURAN                        CO     90013732017
1B594694A5B154   KEVIN        HELMES                       AR     90014696940
1B59497358B199   JASON        BAILIE                       UT     31033839735
1B594A1234B26B   MONIQUE      CAMACHO                      NE     90011310123
1B59517635B343   ARMANDO      DEPAZ                        OR     90014881763
1B59593A75B35B   ARMANDO      HERNANDEZ                    OR     90011749307
1B596235133699   SEIRA        VILVHIS                      NC     90013932351
1B59634965B154   ERICA        SANDERSON                    AR     90014733496
1B59643775715B   RAZURI       HILDERANDO                   DC     81015354377
1B596687A61938   JORGE        TORRES                       CA     46041806870
1B5966A6291895   KARL         HENNINGS                     OK     90010486062
1B596752631434   IDA M        HARRIS                       MO     90006237526
1B596858931456   TANISHA      THOMAS                       MO     27517618589
1B59688A95B343   FRANCISCO    DELGADO VARONA               OR     90006318809
1B597153561936   GERARDO      SALIDO                       CA     90009521535
1B59734965B154   ERICA        SANDERSON                    AR     90014733496
1B597511957147   MIGUEL       MOLINA                       VA     81070045119
1B597718A93759   JANIE        WISE                         OH     90013157180
1B59783255715B   MERCEDES     CANENGUEZ                    VA     81058068325
1B597AA825B343   VERONICA     ROJAS                        OR     44529030082
1B598491393759   CONNIE       MORRISON                     OH     90015094913
1B598718A93759   JANIE        WISE                         OH     90013157180
1B598822661972   ESTHER       GARCIA                       CA     46051268226
1B599447861958   RAUL         HERNANDEZ                    CA     90014154478
1B5B1662A57147   ROCIO        MARTINEZ                     VA     90014676620
1B5B1AA955B154   SARA         REYES                        AR     23096500095
1B5B2313461976   LEONOR       GARAYZAR                     CA     90012303134
1B5B2479A61938   JOSEFA       ANGEL                        CA     90013724790
1B5B2662A57147   ROCIO        MARTINEZ                     VA     90014676620
1B5B2814A76B68   YURIDIA      RAMOS                        CA     90010188140
1B5B2927A43563   PALMIS       CONSTRUCTION                 UT     90014829270
1B5B3333A5B526   GERARDO      CARDENAS-TORRES              NM     90013923330
1B5B3456561976   NOHEMI       YESCAS                       CA     90013934565
1B5B348815B35B   SMUEL        VALENIA                      OR     90006374881
1B5B3532A61976   CARLOS       FLETCHER                     CA     90014945320
1B5B3748172B62   VINCENTE     GONZALEZ                     CO     90002077481
1B5B3765261976   ALEJANDRO    FERNANDEZ                    CA     90014017652
1B5B391695B35B   MARIA        DE JESUS LASCANO             OR     90012479169
1B5B4139672453   ELISHA       WEST                         PA     90012181396
1B5B4275A9154B   GORGE        VELLELA                      TX     75079092750
1B5B4436661972   IRMA         BUSTOS                       CA     90011224366
1B5B511A147956   ANTONIO      HERRERA                      AR     90012011101
1B5B5151993745   ERIC         HIGGINS                      OH     64597451519
1B5B5511961936   MIGUEL       CARRANZA                     CA     90009515119
1B5B55AA24B935   KEVIN        HODGES                       TX     76573035002
1B5B5939776B68   GINA         LENWELL                      CA     46094779397
1B5B5978893759   MICHAEL      DELONG                       OH     90013149788
1B5B5A2184B26B   KYLE         WATSON                       NE     90008600218
1B5B6132172426   GLEN         VANTRYFLE                    PA     90014771321
1B5B6166193759   EDWARD       BUSH                         OH     90010611661
1B5B6A2A947956   ELIZABETH    MARTINEZ                     AR     90005800209
1B5B715785B343   TERESA       TRIARICO                     OR     44585121578
1B5B7649651337   JONATHAN     JONHSON                      OH     90007916496
1B5B795895B154   THOMAS       WILSON                       AR     90014729589
1B5B7A29147956   SHARON       GARRETT                      AR     24070240291
1B5B7A83161976   HELIA        FELICIANO                    CA     46090970831
1B5B7AA4676B68   RAYMOND      CASTILLO                     CA     90014710046
1B5B81A5951337   JON          SEIPELT                      OH     90014271059
1B5B8392555948   MARI ELENA   RUIZ                         CA     90014603925
1B5B8613172B62   AHOLIBAMA    CONTRERAS                    CO     33039076131
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1B5B8687A61938   JORGE         TORRES                      CA     46041806870
1B5B8966272453   BRENDA        KLEIN                       PA     51045399662
1B5B9123191523   HERMINA       MASCORRO                    TX     90014771231
1B5B9588955948   RENEE         ROMO                        CA     49042055889
1B5B961774124B   JAMES         BROOKS                      PA     90008496177
1B5BB241A91895   JESSICA       EVANS                       OK     90010482410
1B5BB349A91569   TIFFNAY       PAIZ                        TX     90012313490
1B5BB626241284   WALTER        HANASKO JR                  PA     51098586262
1B5BB747443563   RACHEL        MIMS                        UT     31048617474
1B5BB775872B55   DONNA         GORDAN                      CO     90004047758
1B5BB889493745   MICHAEL       JACKSON                     OH     90013418894
1B5BB911393759   JAMIE         MENDENHALL                  OH     90013149113
1B611323A72B89   GERARDO       AGUILAR                     CO     90008013230
1B611998191569   JESUS         DELGADO                     TX     90009129981
1B612163191569   LERMA         HERNANDEZ                   TX     90005031631
1B6125A3547956   ASHLEY        WYTOVAK                     AR     90015195035
1B61264295B154   DECANDRIA     BUTLER                      AR     90014746429
1B61361478438B   JARELLE       GOVAN                       SC     90010886147
1B61387A276B68   LOURDES       MEJIA                       CA     46005388702
1B6138A7891547   BLANCA        GARCIA                      TX     90009548078
1B614583361976   JAMES         LISING                      CA     90007665833
1B614817761972   VICTOR        RUIZ                        CA     90013798177
1B614896861938   CHRISTINE     SHORES                      CA     90002648968
1B614A47891899   MICHELLE      ONTIVEROS                   OK     21076000478
1B615323A72B89   GERARDO       AGUILAR                     CO     90008013230
1B615387193759   CHRISTENA     WALKER                      OH     90011253871
1B6154A152B839   KIMBERLY      ARCHABAL                    ID     90003374015
1B615648361972   MIA           RANKINS                     CA     90013396483
1B616333461972   JESSICA       BEDOLLA                     CA     90007653334
1B61643245B35B   ELIO          MERINO                      OR     90010264324
1B616875591569   TEDY          VASQUEZ                     TX     90012858755
1B617197331687   CHRISTOPHER   YEAGER                      KS     90008931973
1B617413233699   LEE           RICH                        NC     90013114132
1B617443A61976   ANTONIO       NAJERA                      CA     90014904430
1B6175A7172453   KATHLEEN      HILL                        PA     51026085071
1B61787754B588   ALEJANDRA     AMEZQUITA                   OK     90004578775
1B61827245715B   LESLIE        MARTINEZ                    VA     90000102724
1B61831345B334   KYLE          JOHNSON                     OR     90001873134
1B6186AA561976   CHOIRONYA     WAGH                        CA     46010866005
1B61876685B343   ASMAA         ABDULAH                     OR     44563577668
1B6188AAA93759   NICOLE        KILGORE                     OH     90011258000
1B619239143563   ANITHA        KANDAMA                     UT     90011992391
1B619278972453   SAM           SMITH                       PA     90013962789
1B619435657147   VILMA         FLORES                      VA     81075554356
1B61B275961958   LUIS          GOMEZ                       CA     90011092759
1B61B94475B526   SANDRA        ARRIOLA                     NM     90004149447
1B621116591523   MELANIE       CONTRERAS                   TX     90004841165
1B62122535B343   DEBRA         HAMBOUTH                    OR     90014882253
1B62137A772B62   URSULITA      VIDUYA                      CO     90011153707
1B621418461938   VINCENT       ANDERSON                    CA     90010814184
1B6217A658B193   SIXTO         PAREDES                     UT     90005867065
1B62214265B343   ERIK          ERIKSEN                     OR     90012271426
1B622393431456   JAVIER        MARTINEZ                    MO     90011333934
1B62251495B35B   STEPHEN       LEAVENWORTH                 OR     90014295149
1B622583576B68   YANIN         ALFARO                      CA     46000565835
1B62263A755948   JUAN          FLORES                      CA     90013906307
1B622852391523   ALFREDO       PADILLA                     TX     90012098523
1B622986A91569   VIRDIANA      ZAPATA                      TX     90012589860
1B622A38A5B154   MARQUITTA     PERRY REDDEN                AR     90014450380
1B623589455948   LEONELA       AGUILAR                     CA     90011525894
1B62396935715B   ESMAHAN       BIBO                        VA     81035819693
1B62428894B588   DWIGHT        THOMPSON                    OK     21503152889
1B6244A9193759   CONNER        DARST                       OH     90013364091
1B6245A1547956   JAMES         STRINGER                    AR     90012585015
1B624757761985   DOUG          HUTCHESON                   CA     90006937577
1B625956976B68   JESUS         DELGADO                     CA     46012359569
1B62621875715B   FERNANDO      MONJE                       VA     90013092187
1B626354661976   CRISTIAN      FEDERNANDEZ                 CA     90011313546
1B62671695B526   CAROL         MOYA                        NM     35008107169
1B626822991263   KAWANDA       LEMON                       GA     90013678229
1B627115477344   JOSEPH        BROWN                       IL     20578281154
1B627293861976   MICHAEL       AGUIRRE                     CA     46010272938
1B627563257147   LISA          ELLIS                       VA     90012855632
1B627633561972   AIOTEST1      DONOTTOUCH                  CA     90015116335
1B62846865B35B   INES          BRAVO                       OR     90003234686
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1B6285A6147956   BETTY         BREEDEN                     AR     24084335061
1B62994A29154B   EVEKYN        MARTINEZ                    TX     90001599402
1B629A86891523   JOSE          QUIROZ                      TX     90002750868
1B62B278961972   SANDRA        AVALOS                      CA     90009922789
1B62B39334B26B   JASON         BOWMAN                      NE     26094443933
1B62B44345B154   ASYA          COOPER                      AR     90014734434
1B62B556993766   GRACE         CAUDILL                     OH     90008725569
1B62BA3165B254   JAMES         THOMPSON                    KY     90006150316
1B631168193766   KIMBERLY      DALZELL                     OH     90011051681
1B63124715B526   ISAC          WHITE                       NM     90005182471
1B631331361976   FRANCISCO     SANTOS                      CA     90006913313
1B631543361976   JOSE          GARCIA                      CA     90008905433
1B63191995B35B   WILL          DODGE                       OR     90011859199
1B6319A4393766   DERRICK       DALZELL                     OH     90005469043
1B632636661976   AIOTEST1      DONOTTOUCH                  CA     90015116366
1B632641691964   LAURI         MARTINEZ                    NC     90008866416
1B63276A85B526   LILIA         JURADO                      NM     35082367608
1B632797961958   ANA           AGUILAR                     CA     90012907979
1B632813A4B588   LISA          DAVIS                       OK     90006968130
1B632883976B68   AARON         BURKHOLDER                  CA     90011588839
1B633351A91569   HERNANDEZ     LARA                        TX     90006513510
1B63346A791569   SANDRA        SOTELO                      TX     90014044607
1B634151191569   TAHIZET       GONZALEZ                    TX     90014301511
1B634368533647   SONIA         MILLS                       NC     90010013685
1B634514A91895   ANTONIO       JASSO                       OK     90013045140
1B634A34293759   REBECCA       KEETON                      OH     64546060342
1B635181172453   KEYONA        CURRY                       PA     51059681811
1B6352A5676B68   MAGALI        PEREZ                       CA     46077942056
1B63577215B526   BRENDA        PINON                       NM     90010157721
1B635A4475B35B   BRYAN         BRUCKER                     OR     90013200447
1B636177272B62   BREYUAN       RILEY                       CO     90013221772
1B6361A2461972   ERICK         OTANEZ                      CA     90015191024
1B636A54391523   SANDRA        GARCIA                      TX     75073440543
1B63863375B343   SHANNON       HOWARD                      OR     90002006337
1B638911972B62   VERONICA      VILCHIS                     CO     90009769119
1B638977857147   GABRIELA      PARK                        VA     81024159778
1B638A5155B35B   ROBERT        HICKS                       OR     44514020515
1B639476631687   KENDRA        TYREE                       KS     22038814766
1B63952575B35B   ES            AMILE                       OR     90015125257
1B63964A561936   SMITH         MONIKQE                     CA     90001536405
1B639994255934   ANCELMO       GONZALEZ                    CA     90000109942
1B639995276B68   GLENN         VINSON                      CA     90013919952
1B63B312891569   BRANDON       GUTIERREZ                   TX     90014903128
1B63B418761998   RODRIGO       CHAVEZ                      CA     46052174187
1B63B58985B343   JUANA         ESPINOZA RODRIGUEZ          OR     90006005898
1B63B871491263   BRITTNEY      FIELDS                      GA     90013958714
1B63B931A57147   OSCAR         LOPEZ                       VA     81014109310
1B641718851337   CHRISTINA     THOMPSON                    OH     66014627188
1B641734191569   FRANK         ENRIQUEZ                    TX     75007837341
1B641742457557   CESAR         MONREAL                     NM     90004707424
1B641796357147   ROXANA        CARDENAS                    VA     90011697963
1B641964531687   PATRICIA      TAYLOR                      KS     22065129645
1B64259824B22B   HEATHER       JENKINS                     NE     90015215982
1B642963493766   BRENDA        ROSE                        OH     90003349634
1B643143157147   NELSON        RODRIGUEZ                   VA     81076551431
1B64328834B22B   KENETA        BROWNE                      NE     27009842883
1B643614947956   KEITH         EDINGTON                    AR     24047026149
1B64362518438B   DAWN          OCALLAGHAN                  SC     19006716251
1B6436A9961972   JORGE         BARRIOS                     CA     90011176099
1B644335761938   JAKE          STINGLE                     CA     90009703357
1B644372857147   ADELAH        VENTURA                     VA     90013183728
1B645165857147   DAVID         PERES                       VA     90003811658
1B645298793745   SANDRA        REYNOLDS                    OH     64504582987
1B64566514B22B   JOHN          BOUQUET                     IA     27054436651
1B645877891523   FEDERICO      GARCIA                      TX     90010308778
1B646263A51337   MIRANDA O M   GABBARD                     OH     90005502630
1B646479731687   AMANDA        CONROY                      KS     90014694797
1B646593393745   JULIE         SCHARSH                     OH     90004955933
1B64678349379B   DOUG          MYERS                       OH     90012417834
1B646A14557142   JESUS         JARAMILLO                   VA     90004460145
1B6472A955B35B   CORREYGENE    NEWMAN                      OR     90004962095
1B6479A6A72B62   PHYLLIS       COMPTON                     CO     90010579060
1B648164157147   MARIO         LANDAVERDE                  VA     90001111641
1B64892215134B   ARTHUR        SPEER                       OH     90013559221
1B648979951337   OVELLA        CRAWFORD                    OH     90008579799
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1B648992561938   SONIA          JUAN MANUEL                CA     90010259925
1B64948395B393   REBECCA        WILSON                     OR     90004464839
1B649894961938   IRIS           MORALES                    CA     46013028949
1B6498A517B489   MELVIN         HAYNES                     NC     90014878051
1B64999394B259   WANITA         GRAVES                     IA     90011059939
1B64B146A5B526   DAN            VALLES                     NM     90011961460
1B64B26798B199   GABRIEL        CARPIO                     UT     90014812679
1B64B428972B62   CLINT          CECIL                      CO     90013414289
1B64B536333699   TESFALEM       MEZGEBO                    NC     90013935363
1B64B57785B35B   ANGELA         BLAKLEY                    OR     90013635778
1B64B822755948   MARIA          ACEVEDO                    CA     90000178227
1B64B96125715B   RICARDO        MARIANO                    VA     90012659612
1B651382161976   TRACY          REGULSKI                   CA     90012903821
1B6513A648438B   IVAN           ATALAIA                    SC     90009103064
1B65247A24B22B   FRANCISCO      ALVARADO                   NE     27065894702
1B6527A9591523   ELOISA         ORDONES                    TX     75074317095
1B652818A8B199   PALMER         BEVERLY                    UT     90010058180
1B6529A622B924   DEVI           MITCHELL                   CA     90014239062
1B653581176B68   MARTIN         SANCHEZ                    CA     46025085811
1B65359945B35B   ERIC L.        WINTERS                    OR     90012365994
1B6537A7131456   MICHAEL        WHEELER                    MO     27583817071
1B653856577977   JOSH           LATIN                      IL     90015228565
1B65417A74B26B   JENNIFER       RUPERT                     NE     26092941707
1B65425A49154B   ESTELA         CORDOVA                    TX     75033922504
1B654644193759   MARGARITA      ORTIZ                      OH     90012426441
1B654724772B62   ELIZABETH      PAVON CHACON               CO     90012607247
1B654755791523   CARLOS         MERCADO JR.                TX     75079647557
1B655263A61976   GABRIEL        MARTINEZ                   CA     90015222630
1B6553A825B343   ROSHON         JACKSON                    OR     90008363082
1B65546A85B35B   INGRID         GREEN                      OR     44560444608
1B65578855B154   TINA           JONES                      AR     23000767885
1B655955454144   DOMINIC        PILAND                     OR     90012819554
1B655A1A961958   JOSE ANTONIO   RODRIGUEZ                  CA     90014210109
1B65614784B588   JUNIOR         HERNANDEZ                  OK     90006441478
1B656245691263   JOSEPH         TARLETON                   GA     90015302456
1B656358761972   ADAM           WRAIGHT                    CA     90007653587
1B6563A7355948   GELACIA        MARTINEZ                   CA     90015423073
1B656443143588   TRENA          MATHEWS                    UT     90003824431
1B65669625B526   ANGEL          MERCED                     NM     35064986962
1B656799172B62   MARIO          NAJERA                     CO     33042277991
1B656868947956   MELINDA        GALL                       AR     90007788689
1B65715169154B   MARIA          TRUJILLO                   TX     75033921516
1B65721725B343   RAFAEL         HERNANDEZ                  OR     90003812172
1B657287372453   KEVIN          WORK                       PA     90013962873
1B657629143563   LISA           LOOP                       UT     31015506291
1B65772265B343   JASMINE        BLACKMAN                   OR     90012727226
1B657782361936   CYNTHIA        ORTEGA                     CA     90009527823
1B65781A172435   LAUREN         RACIOPPO                   PA     51014548101
1B65786384B23B   DUNCAN         YOST                       NE     90008318638
1B657883493745   CASSANDRA      GRAY                       OH     90012768834
1B658292891569   JUAREZ         STEPHEN                    TX     90012962928
1B65837495B343   CHRISTOPHER    WALSH                      OR     90013753749
1B658386461972   SERGIO         MARQUEZ                    CA     90013343864
1B65844787B489   MARQUARIUS     GILLIARD                   NC     90010644478
1B65868A15715B   FELIX          ROMERO MARIN               VA     90012156801
1B659245A4B588   DERRICK        IVERSON                    OK     21552802450
1B659574733699   PAKAS          CUANAS                     NC     90013935747
1B65967855B74B   ADDIE          JAMES                      MN     90014306785
1B659A8685715B   SUZETTE        HUFF                       VA     90006680868
1B65B15215B343   TAIDE          TELLES                     OR     44589891521
1B65B155291523   YOLANDA        LUGO                       TX     75016551552
1B65B63A77B489   LOANY          HERNANDEZ                  NC     90012476307
1B65B896555948   HESGAR         PAZ                        CA     90000548965
1B65BAA6893759   LISA           DEMETER                    OH     64590150068
1B661445147956   TRAVIS         TOMES                      AR     90014744451
1B661526261976   BRIGETTE       NORFOLK                    CA     90000165262
1B6615A5561938   TAWNY          HAWKINS                    CA     90001575055
1B662617A5B526   LISA           SCHAEDEL                   NM     90009626170
1B66274455B154   DESTINY        HUNT                       AR     90014737445
1B66279314B23B   DANE           PFEIFFER                   NE     27019327931
1B663111757129   RAPHAEL        CARTER                     VA     81003521117
1B663312593745   DANIELLE       MITCHELL                   OH     90013053125
1B663336857147   WENDY          ALAS                       VA     90008833368
1B66341A491523   LUZ            LUNA                       TX     90011874104
1B66341A69154B   ISMAEL         ROMERO                     NM     75013564106
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1B663766851337   ANGEL          SHORT                      OH     90012597668
1B663985597B3B   TIFFANY        DAVISSON                   CO     39039669855
1B6652A8961976   STEVEN         JOHNSON                    CA     90013752089
1B665392755948   PATRICIA       REYES                      CA     90012313927
1B665474991895   JACQUELYN      BYRD                       OK     90014644749
1B665489557557   ROSARIO        DESANTIAGO                 NM     35576194895
1B665561424B7B   PATRICIA       SLACK                      MD     90015345614
1B665594572B77   MICHAEL        MOLNER                     CO     90010245945
1B66559AA55948   ANA GABRIELA   ASCENCIO                   CA     90015115900
1B66576855715B   MARCELLA       BARKSDALE                  VA     90005437685
1B666476891895   CLAUDIA        MURILLO-LUNARES            OK     90014644768
1B66657785B35B   ROB            BREWSTER                   OR     90005755778
1B666818A72453   JAMES          RATLEY                     PA     51046838180
1B667279791263   PAUL           MCKELVEY                   GA     90014342797
1B66734624B26B   SHANETKIA      HITE                       NE     26083163462
1B6674A7533699   JESSICA        WATTS                      NC     90013944075
1B6675A625B343   HECTOR         CHACON                     OR     90000825062
1B667621651337   VALERIE        NOLTE                      OH     90015326216
1B667749661958   JEAN           DIAWARA                    CA     90013967496
1B667782151337   RICARDO        TINGLE                     OH     90013287821
1B667AA115B526   BRISA          CERVANTES-CHAVEZ           NM     90010340011
1B66818615715B   SIRIWAN        JAROENPIRASATIAN           VA     90003441861
1B6683A7457147   ROSA           VALLADARES                 VA     90012623074
1B66847757B489   TOMEKIA        PENSON                     NC     90011954775
1B66862A661976   SAUL           RUIZ                       CA     46024956206
1B668689833699   KIM            MAZE                       NC     90013936898
1B66876A291523   MARIO          MENA                       TX     90013817602
1B668A48876B68   RYAN           FAULKNER                   CA     90015000488
1B6692A9891569   ADRIAN         MARIN                      TX     90013342098
1B669411393745   SABRINE        SHIRLEY                    OH     64516454113
1B669856461938   ESTRELLA       BAXTER                     CA     90003958564
1B66986565B526   ERVIN          BRADFORD                   NM     90011208656
1B669A26793737   ANDREA         R BROWNING                 OH     64549490267
1B66B15634B22B   MELISSA        WOOLERY                    NE     27013261563
1B66B48695B35B   RYAN           HARRIS                     OR     90014934869
1B671146833699   JAMAL          HASSAN                     NC     90013421468
1B6711A1791523   MARIA          CAZARES                    TX     75053741017
1B671881961936   JESSICA        DE MARTINO                 CA     90008828819
1B67212384B22B   JOSHUA         AMSDEN                     NE     27055761238
1B672232193745   AMY            EVANS                      OH     90005972321
1B6722A174B23B   DENISE         GUNTER                     NE     27090342017
1B672383876B68   RAFAEL         MARIN RAMIREZ              CA     90013463838
1B67257418B199   CHRYSTAL       STOCK                      UT     90010215741
1B673327576B68   WILLIAM        LEONARD                    CA     90013743275
1B673593876B68   YVONNE         MARTINEZ                   CA     90014785938
1B6737A2A91569   THELMA         REALYVAZQUEZ               TX     75099717020
1B673A25593745   MELISSA        WILLIAMS                   OH     64522540255
1B673A51291523   LETICIA        PEREZ                      TX     90003780512
1B67411918B199   JENNIFER       REEDY                      UT     90006101191
1B67442315B526   WINONA         YOUNG                      NM     90012084231
1B675658A43563   JESUS          BANDERAS                   UT     31015516580
1B67598145715B   PRISCILLA      HARRIS                     VA     81014839814
1B675A98493759   ALYSSA         SEARLS                     OH     90009500984
1B676247261976   MAYRA          RUEDA                      CA     90009622472
1B676365343563   VALENS         MUSONI                     UT     90011983653
1B67664A391895   ANTHONY        BARE                       OK     90008486403
1B6766A555B526   JUAN           RODRIGUEZ                  NM     90005006055
1B676A31176B68   SYLVESTER      ARRIOLA                    CA     90011600311
1B67729A17328B   RUTH           VELAZQUEZ                  NJ     90014592901
1B677545691547   RUBY           GONZALEZ                   TX     90011455456
1B67755A561938   ETHEL          WEEKLY                     CA     46085045505
1B67796A757557   LORETTA        GALLEGOS                   NM     35508199607
1B6789A3291569   CARMEN         PINA                       TX     90012429032
1B679191193745   APRIL          CUTCHER                    OH     90007831911
1B67931175B35B   JACKIE         BULLOCK                    OR     90014543117
1B679468691929   IRIT           CAMPOS                     NC     17013814686
1B679555161972   LIE            JAASONN                    CA     46097605551
1B679A12272B62   EARL           LAMPLEY                    CO     90011840122
1B67B644193759   MARGARITA      ORTIZ                      OH     90012426441
1B67B84294B22B   BRENDA         LYLE                       NE     27072668429
1B67B851791573   IISHA          JAMES                      TX     90007808517
1B67BAA1691569   MANUEL         MACIAS                     NM     90012420016
1B681234393745   KAYLA          CALVERT                    OH     64574662343
1B68155845B526   ROBERTA        CHILDERS                   NM     35056135584
1B681845961938   MARIO          NAZA                       CA     46077848459
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1B682385193745   KENNETH       JOHNSON                     OH     64524003851
1B682914333699   EBONEE        GARRISON                    NC     90013939143
1B68292A793759   WILLIAM       FINCH                       OH     90014239207
1B682A58472B62   MAIKUDI       SHOAGA                      CO     90012980584
1B683498172435   ROBERT        SCHAUB                      PA     51000104981
1B683572647956   PEGGY         BLAIR                       AR     90007505726
1B68362315B35B   JUNIOR        DE LA CRUZ                  OR     90014546231
1B68394527B489   JUAN          POZOS-FRANCO                NC     90010499452
1B684323A76B68   MARIA         AGUILAR                     CA     90006063230
1B684532661972   FERNANDEZ     ALEJANDRO                   CA     46072545326
1B68458A45715B   OSCAR         BERDUO                      VA     81069435804
1B684956433699   SCOTT         MCCOLLEY                    NC     90013939564
1B68538467B489   EVANS         MARCUS                      NC     90008873846
1B685641991263   JUSTIN        HARVEY                      GA     90014096419
1B685A32691523   RODOLFO       MORA                        TX     90015130326
1B6863A8261958   JAIME         PAREDES                     CA     90003163082
1B686491151337   CYNTHIA       FINLEY                      OH     90004004911
1B686851955948   MARGARITA     FLORES                      CA     90014928519
1B68689A691523   KARLA         MIRANDA                     TX     90000488906
1B686A62531456   TAY           WALKER                      MO     90009880625
1B687795176B68   LEANN         BERGFORS                    CA     46078827951
1B687996551337   EDWARD        NICHOL                      OH     90009979965
1B687A81291569   CESAR         URANDA                      TX     90014640812
1B6881A325B154   TOWANDA       SMITH                       AR     23015181032
1B688842557147   YESLY         CALIX                       VA     90012888425
1B688A5754B592   ANTHONY       WHITE                       OK     90002660575
1B688A57991884   MARITZA       GUZMAN                      OK     90012410579
1B689161976B68   RUBY          DEVINE                      CA     90007571619
1B689655541B5B   JUSTINA       WASHINGTON                  DC     90015006555
1B689A41391895   LILLIE        SHIELDS                     OK     21089240413
1B689A7A561976   CHRISTOPHER   CALCANO                     CA     90012420705
1B68B77325B154   ANGELO        HALL                        AR     90014737732
1B691463661958   BRYAN         WALLIS                      CA     90014154636
1B691521372483   WALTER        ONEILL                      PA     51029555213
1B691669A2B89B   JULIE         WALLACE                     ID     90013076690
1B69178545B526   CARMELITA     MASON                       NM     35074837854
1B692256191523   YAHAIRA       BECERRA                     TX     90013392561
1B69267A576B68   POPO          WATCHER                     CA     90000436705
1B692687947956   JEREMY        REED                        AR     90014456879
1B692758572453   GREGORY       MOORE                       PA     90005477585
1B692AA7733699   JON           WALKER                      NC     90013940077
1B694442693759   DAVID         FANNIN JR                   OH     64515044426
1B69453A772453   KAYLA         HARPS                       PA     90006015307
1B69495535B35B   LANCE         BISHOP                      OR     90014769553
1B69499969154B   FREDERICK     VOGLEWEDE                   TX     90008019996
1B694AA6961958   KIARA         KAGSLDALE                   CA     90014850069
1B695364672453   NICOLE        ZAPPI                       PA     90011463646
1B69536A472435   RUTH          MACNEIL                     PA     51040113604
1B695492791997   MARIA         AUOSANGA                    NC     90009674927
1B69551A272B62   MARSHALL      HOPPER                      CO     90011325102
1B69574427B443   TERRIE        CORANTGAY                   NC     90008707442
1B69594325B154   TAMMY         HALL                        AR     90010219432
1B696176191523   FRANCISCO     JIMENEZ                     TX     90009151761
1B696182443563   ANDREW        THEW                        UT     90004311824
1B69626327B489   DEMETRIO      HERARA                      NC     90012412632
1B696385747956   PHILENA       ROBINSON                    OK     90007053857
1B69659994B26B   SHANA         NYHOFF                      NE     26041405999
1B69671AA5B35B   ZABRINA       MCCRACKEN                   OR     44553137100
1B696A26672B56   ODILLA        UWIKUNZE                    CO     90003020266
1B696A4258B199   BRIANNA       EVANS                       UT     90014450425
1B696A93491263   WILLIE        REYNOLDS                    GA     14590160934
1B69717A391827   TOM           BARBOUR                     OK     21050811703
1B697317391523   STACEY        SHERRILL                    NM     75046943173
1B697624472435   SHALWAN       BROWN                       PA     90001956244
1B697A48433699   ARTURO        GARCIA                      NC     90013940484
1B69834594B26B   KATIE         CORBETT                     NE     26082783459
1B698714255948   TAMARA        CRAWFORD                    CA     90006787142
1B6987A3172B62   PAUL          WIDGER                      CO     33040517031
1B698A83533699   JOSE          GONZALEZ                    NC     90013940835
1B698A86272B34   ERIC          LOWERY                      CO     90010170862
1B699263A5B35B   KATYA         SIMONE                      OR     90002782630
1B699A16193759   DANTRE        DICKERSON                   OH     90014750161
1B69B784872B34   SCOTT         KESLOW                      CO     90009367848
1B6B12A8355948   ENRIQUE       GOMEZ LOPEZ                 CA     90008542083
1B6B1695361958   TENISHA       ROSS                        CA     90013016953
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1B6B212945B388   JASMINE            THOMAS                 OR     90010921294
1B6B233324782B   CLIFFORD           BUTTS                  GA     90005933332
1B6B2539791895   JONATHAN           BRISTOW                OK     90014365397
1B6B2813893745   JACK               DETRICK                OH     90012098138
1B6B2A72161976   MARIA              MORALES                CA     46095470721
1B6B312164B22B   CRISTINA           CORREA                 NE     27039331216
1B6B316425B154   JOHN               THOMAS                 AR     90011441642
1B6B324488B199   STEVEN             OKEEFE                 UT     31045082448
1B6B3289961938   ROGER              HERRERA                CA     90013312899
1B6B3473293766   JENNIFER           BIRON                  OH     90002794732
1B6B3516447956   MISTY              HOUCHIN                AR     90005435164
1B6B3783441384   DANIEL             RIDLEY                 MA     90014007834
1B6B3A8925B35B   CHARMINE           NEAULT                 OR     44565300892
1B6B3AA825B343   VERONICA           ROJAS                  OR     44529030082
1B6B414A576B68   ELIZABETH          MARTINEZ               CA     90011581405
1B6B436448B199   EDITH              MONTANO                UT     90013193644
1B6B463195B154   NATALIE            DICKERSON              AR     90014746319
1B6B488A472435   CHRISTOPHER        SOFALY                 PA     90003568804
1B6B48A975715B   GONZALO            GUARDIA                VA     81071978097
1B6B4911A72B62   RUBEN              CASTANEDA              CO     90014349110
1B6B5234293759   CHANTE             WINDERS                OH     90010182342
1B6B52A5277399   GREG               HOUDA                  CA     90010722052
1B6B553284B22B   MELISA             RICHTIG                NE     90006425328
1B6B5588157147   DANIEL             THOMPSON               VA     81018065881
1B6B588A591523   ANTONIO            DAVILA                 TX     75035788805
1B6B675135715B   WALBERTO           MENDOZA                VA     90014777513
1B6B6836472B62   JOHN               LEWIS                  CO     33026288364
1B6B7164555948   ELAINE             YBARRA                 CA     90000691645
1B6B72A3172B62   SERGIO             CASTILLO               CO     33088242031
1B6B785785715B   DAVID              SCRIBNER               VA     81014898578
1B6B8146557147   WAYNE              WILSON                 VA     90014721465
1B6B8568A8B152   HENRY              HUISH                  UT     31005225680
1B6B8613A8438B   PAUL               GULLQUIST              SC     19065936130
1B6B874A461972   APOLONIA           FLORES                 CA     46083397404
1B6B875A45B343   FLORES             MARIA                  OR     90009097504
1B6B8824372435   BRANDI             ZIMMERMAN              PA     90005638243
1B6B899395B526   LETICIA            ORTIZ                  NM     35083989939
1B6B919A391569   DIANA              FLORES                 TX     90013361903
1B6B939115B343   BRANDI             LEWIS                  OR     90007753911
1B6B9431351337   APRIL              NORTON                 OH     90002744313
1B6B9867471965   CASSANDRA          GARCIA                 CO     90013668674
1B6B9A11447956   EDDIE              ENGLISH                AR     90013720114
1B6BB36A75715B   CARROLL            LEE                    VA     90005043607
1B6BB43715B343   QUINONEZ BARAJAS   ANA                    OR     90013604371
1B6BB461791899   RONNESHA           WARRIOR                OK     21058144617
1B6BB524593766   KEVIN              COLVILLE               OH     90010285245
1B6BB66767B489   CRUZ KARINA        PEREZ SUAREZ           NC     90012766676
1B711663976B68   DAVID              BERMUDES               CA     90011626639
1B711689633699   TOSHA              ABDELWALTEZ            NC     90011996896
1B7119A147B489   CHRISTINA          GABBARD                NC     90012749014
1B7119A688B189   LORI               WILSON                 UT     90011369068
1B71295A755948   MARCELO            MORENO                 CA     90015189507
1B712A56547956   ALEXANDRO          BURCIAGA               AR     90005380565
1B71343315B35B   AMBER MICHELLE     LINDEMANN              OR     90006314331
1B713655161936   ADRIAN             MARTINEZ               CA     90009536551
1B714169491569   PATRICIA           ARTEAGA                TX     75045931694
1B714772451337   CHERYL             MCINTYRE               OH     90001517724
1B71548177B489   BILLY              NEEHAM                 NC     90012554817
1B715723772B62   SERGIO             COLUNGA                CO     90010287237
1B7162A234B259   RAFAEL             CANALES                NE     90011602023
1B71632889154B   ERIKA              AMAYA                  TX     75013573288
1B71687345B526   OLGA               SANTILLAN              NM     35023938734
1B717361755936   JOSE               ORTEGA                 CA     90010813617
1B7173A384B22B   TERESA             MYERS                  NE     90004063038
1B718172491523   ADRIAN             HERNANDEZ              TX     90014411724
1B718287172B62   MEAGAN             PEREA                  CO     90012762871
1B71948558B199   ANYA               ALBRIGHT               UT     90007254855
1B71981175B35B   ANSON              GARCIA                 OR     90012678117
1B719866961972   BEATRIZ            ARREOLA                CA     90002098669
1B71B118A5B526   MARIA              QUINTANA               NM     90013451180
1B71B182561972   ANTONIO JUAREZ     GUTIERREZ              CA     90012101825
1B71B723191524   UTE                MARINO                 TX     90012847231
1B71B988493745   BRIAN              HAVEN                  OH     64512799884
1B721376343563   HYUM               NIELSEN                UT     90011323763
1B721AA595B343   VICTORIA           WEST                   OR     90015230059
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1B722294A8B199   FREDRICK     FEHLMAN                      UT     90014002940
1B722426991569   JOSE         GURROLA                      TX     75088434269
1B7227AA793745   ELIZABETH    ELLIOT                       OH     90004407007
1B72283545B343   HEATHER      MCNAMEE                      OR     44572708354
1B723224461972   EMMANUEL     HERRERA                      CA     46057882244
1B723355561958   AURA         MAR                          CA     90013683555
1B7234A324B22B   REINA        SALAZAR                      NE     90005034032
1B724277261958   JANICE       EDWARDS                      CA     46061692772
1B724755561936   DAMARIS      MARIN                        CA     90009537555
1B725148576B68   MARCELO      MORA                         CA     90011771485
1B725335A93745   RAYMOND      WAYMIRE                      OH     90012383350
1B725646255948   MELISSA      GRIFFIN                      CA     90012026462
1B72635958584B   KEVIN        MCCAFFERTY                   CA     46070923595
1B726556672453   SHARON       PRINCE                       PA     90008865566
1B726627591895   ARIADNA      RIOS                         OK     21089446275
1B72662822B863   MARK         BESSETTE                     ID     42014126282
1B726972593759   LINDSAY      BUTLER                       OH     90014249725
1B72723A161976   MARIJA       WILLIAMS                     CA     46084762301
1B72768A172B77   SHAWN        LOPEZ                        CO     90004826801
1B727765472453   GARY         BALSER                       PA     90015567654
1B7283A3761958   ABIGAIL      MORADEL                      CA     90009433037
1B728681561976   ARTURO       GIL                          CA     46040436815
1B729619A76B68   PRETITA      NIIANAKENYANNA               CA     90006206190
1B7296A9272453   LYNN         HUGHES                       PA     90014606092
1B72B373972453   KIMBERLY     GOODSON                      PA     51043923739
1B73119155B343   DAN          MARGRAF                      OR     90011741915
1B73127727B489   CARMEN       RAYNEY                       NC     90012212772
1B731454331476   KAREN        BENSON                       MO     90012294543
1B7314AA493745   RITA         REEDY                        OH     64592984004
1B731745851337   KENNY        EVANS                        OH     90005787458
1B731868557147   DANIEL       SANCHEZ                      VA     81019758685
1B7322A8172453   TONI         LECHNER                      PA     90014612081
1B73235125B154   ANQUONETTE   BLUE                         AR     23076123512
1B732822761936   GABRIELA     MURILLO                      CA     90009538227
1B73313684B259   CISSILY      GOMEZ                        NE     90010071368
1B733562951337   CASSIE       THEE                         OH     90001615629
1B733787551333   LISHA        CANNON                       OH     90012197875
1B733959957147   JOHN         DIAZ                         VA     90014709599
1B7339A117B489   MARIA        NAVARRETE                    NC     90010329011
1B73443A25715B   MARTHA       HURTADO                      VA     81062354302
1B734647A7B489   KAIYA        MITCHELL                     NC     90015096470
1B734A3337B489   JOE          MEDDOR                       NC     90012900333
1B735197691523   MARIE        ROACHO                       TX     90005821976
1B735266847956   JESSICA      REEVES                       AR     24005902668
1B735372133649   LASHANDA     MASHACK                      NC     90008613721
1B73553365B35B   JUAN         RUIZ                         OR     90011205336
1B73575745B154   FRANSICO     PRIESTER                     AR     90011887574
1B735A93961972   CARMEN       AQUINO                       CA     90012990939
1B73622685B188   BULMARO      VASQUES                      AR     90014082268
1B736941761976   MARIA        MIJANGOS                     CA     90013039417
1B736A7988B199   SCOTT        DAVIS                        UT     31083110798
1B738431A61938   ART          TORRES                       CA     90010814310
1B738652672435   JOHN         WALKER                       PA     51092286526
1B738717891569   MARIA        DOMINGUEZ                    TX     90011937178
1B73896674B26B   ANGELA       MOREY                        NE     26013079667
1B739116361972   CARLOS       HERNANDEZ                    CA     90010671163
1B739228257147   LUISA        MARTINEZ                     VA     90014732282
1B739615A8B199   GEOFFREY     BURR                         UT     90014666150
1B73B19755715B   BRENDA       THOMPSON                     VA     90010451975
1B73B1A335B35B   MAGDALENE    SALINAS                      OR     44522601033
1B73B227193745   KELLY        SUTTON                       OH     64503852271
1B73B565261972   JIM          TROAST                       CA     90008405652
1B73B64888B193   ROSALIA      GUERRERO                     UT     31073106488
1B73B663972B62   CARMEN       LOPEZ                        CO     90000846639
1B73B6AA24B22B   KAY          STAPLETON                    NE     27088276002
1B73B745993759   JACOB        KING                         OH     90010737459
1B73B913457147   VICTORIA P   ORIHUELA                     VA     90014709134
1B74132998B199   LOUISE       DIAZ                         UT     90011243299
1B7413A6293759   ANGIE        DAY                          OH     90011463062
1B74163A291895   JESSICA      SANDOVAL                     OK     90012986302
1B74189194B259   EVER         HENRIQUEZ                    NE     90009088919
1B742347747846   OCTAVIOUS    CORNELIOUS                   GA     90013293477
1B742355147956   HERACLIO     RESENDIZ-IBARRA              AR     24064993551
1B742482661972   SARAH        DODD                         CA     90014824826
1B74256A54782B   LAFAYETTE    SAMUEL                       GA     90007795605
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1B742681991895   JOSHUA         HENRY                      OK     90014646819
1B742813272453   OLIVIA         HART                       PA     90007558132
1B743174793759   MIKE           NICEWANER                  OH     64582451747
1B7433A214782B   KRISTON        ROFFIELD                   GA     90003353021
1B743531791895   KATHY          GROFF                      OK     21051715317
1B74361355B343   JENKA          SODERBERG                  OR     90008566135
1B743625764183   EDWARD         MOORE                      IA     90014076257
1B74373A291523   CARLOS         VILLARREAL                 TX     90015337302
1B743AA517B442   WENDY          GLENN                      NC     90009780051
1B744259A24B7B   BERDANDINO     JUAREZ-SANCHEZ             VA     90002012590
1B74461977B445   OSMIN          DIAZ                       NC     90003526197
1B744722A61938   MERCY          MIANA                      CA     46006167220
1B745164A91569   RODARTE        ALICIA                     TX     75076041640
1B7453A235B154   DEANNA         LEVER                      AR     90014773023
1B745593361976   LAURA          RINCON                     CA     90011695933
1B74564575B343   RAFAELA        VASQUEZ                    OR     90011876457
1B7459A4997B37   MICHELL        BENZOR                     CO     90007849049
1B745A6178B165   CHRISTINA      BISCHOFF                   UT     90005510617
1B746489A61938   RODNEY         SANDERS                    CA     90010494890
1B74654828B183   MIGUEL         ALVAREZ                    UT     90006515482
1B74657575B35B   RYAN           KENNEDY                    OR     90012855757
1B74686A88B199   TABITHA        CAFOUREK                   UT     31092028608
1B747697672B62   TRINIDAD       MENDEZ                     CO     90009136976
1B74782A861958   BRENDA         GARCIA                     CA     90014188208
1B74784425B154   GREGORY        GURLEY                     AR     90014748442
1B74811858B199   JOCEPHINE      CUENCA                     UT     90001771185
1B748458A9154B   ANIRA          GARCIA                     TX     90014774580
1B7486A1A76B68   ROBERTO        NIETO                      CA     90013406010
1B748945791523   LIVIA ZULEMA   FLORES                     TX     90012599457
1B748A61843563   EDVERT         CERRON                     UT     90006780618
1B749314957147   JOSE           GOMEZ                      VA     81014483149
1B749359772B62   BRYAN          MEDINA                     CO     90008423597
1B74B23837B489   JEANETTE       DAVIS                      NC     11087782383
1B74B39815B154   SHARON         MASHBURN                   AR     90011763981
1B751683191523   ALEJANDRO      MORALES                    TX     75085346831
1B7519A7833699   TOMEKIA        BANE                       NC     90014859078
1B75277745B154   NIKOL          JOHNSON                    AR     23041107774
1B752918161976   SHARICE        BURKE                      CA     90012849181
1B75294A761972   JRATIH         MOLINA                     CA     46059539407
1B752A41491523   ISHMAEL        MARTINEZ                   TX     90004360414
1B753366993745   SARAH          PERKINS                    OH     64509703669
1B7535A2891523   ROBERT         MARTIN                     TX     90005975028
1B75369345715B   JOSE           MERCADO                    VA     90000996934
1B753986255948   EVELIA         REYES                      CA     90006419862
1B75399215B35B   ANGELA         CRADER                     OR     90009469921
1B754226176B68   ELOY           VASQUEZ                    CA     46061002261
1B75453356B762   CARLINA        RUDOCK                     NY     90010195335
1B754541555948   KOBE           LORENZO                    CA     90014645415
1B754A4552B966   LUZ MARIA      SALAS                      CA     45037270455
1B75534A45B35B   GABRIELA       MENDOZA                    OR     90014633404
1B755661A91523   IVAN           QUINONEZ                   TX     90013886610
1B75581842B89B   VERONICA       CAST                       ID     90010158184
1B7563A955B343   KAMEKA         THOMPSON                   OR     44578153095
1B756612261972   TIMOTHY        DOCHERTY                   CA     90015026122
1B756697672B62   TRINIDAD       MENDEZ                     CO     90009136976
1B7566A268168B   DAVID          COLLINS                    KS     90014806026
1B75739145715B   ALMA           URQUILLA                   VA     90013653914
1B75763A591895   JAMES          EATON                      OK     21023406305
1B7579A3A5B35B   ANTHONY        ANAYA                      OR     44512019030
1B758196631456   LASHAY         JONES                      MO     27542371966
1B758719557147   WLIILIAM       VELASQUEZ                  VA     90010667195
1B758882833656   LUIS           SORIANO                    NC     90013128828
1B75891489373B   PEDRO          SANCHEZ                    OH     90013179148
1B758943A4782B   SHARON         GLOVER                     GA     90003349430
1B758957993759   KIERSTIN       FISHER                     OH     90003789579
1B758A34561958   DAVID          JOHNSON                    CA     90014860345
1B7592A975715B   TILAHUN        WOLDE                      VA     90008722097
1B7593A2355968   JUAN           GUTIERREZ                  CA     90012073023
1B75949AA61938   PHILLIP        CHRISTMAS                  CA     90013064900
1B75954A55B526   PHILLIP        WOOD                       NM     35062255405
1B75963764B23B   JASON          HUBBARD                    NE     90012036376
1B75B233891263   ROSA           ADKINS                     GA     90012342338
1B75B68A55B35B   EVELIN         JUAREZ                     OR     44587976805
1B75B831891899   HORTENCIA      LAGUNAS                    OK     90005468318
1B761174161976   CHRISTIAN      PAUL                       CA     90002201741
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1B7615A942B889   MALCOLM      MOSSES                       ID     90010475094
1B761625555948   TINA         ROSEL                        CA     90009276255
1B76193815B526   COLLEEN      LEWIS                        NM     90009129381
1B762486476B68   HERMAN       GONZALEZ                     CA     90004024864
1B7625A3193759   KEESHA       NICKELL                      OH     90014705031
1B762918147956   MARY         WILLIAMS                     AR     90009739181
1B762A39861958   CARLOS       FLORES                       CA     46048600398
1B762A55672B62   CARLOS       PACHECO                      CO     90013030556
1B762A96193736   NATHAN       STEVENS                      OH     90006080961
1B763633491895   MARIA        GALEANA                      OK     21048976334
1B76367568438B   GERALD       WEATHERFORD                  SC     19038576756
1B76384A193745   ARRON        CLARK                        OH     90014798401
1B76455755B526   ANGELIC      VILLALOBOS                   NM     90005655575
1B764572761958   JANET        GUTIERREZ                    CA     90008335727
1B76479A75715B   ABDULWAHAB   ABDULWAHAB                   VA     90011527907
1B765229872453   SHAWN        MCLAUGHLIN                   PA     90015152298
1B765A14191523   ARMANDO      ALANIS                       TX     90013970141
1B76644595B526   MICHAEL      NUNEZ                        NM     90012734459
1B766642272435   PATRICK      AMBROSE                      PA     51042226422
1B76684A972B62   ELFIDIO      SOTELO                       CO     33030958409
1B76696A75B154   DON          MCELROY                      AR     90014749607
1B766A84561976   WILCOX       JOHN                         CA     90011760845
1B767395961958   GILBERT      VALENZUELA                   CA     90013683959
1B767988493745   BRIAN        HAVEN                        OH     64512799884
1B76839A25715B   MEIBY        ROMERO                       VA     90010793902
1B768462561972   GUADALUPE    GONZALEZ                     CA     90011204625
1B7687A1672B62   GESELA       DILLON                       CO     33090697016
1B768939957147   JUAN         SANCHEZ                      VA     90008039399
1B769593A47956   JANICE       NOLAN                        AR     24009045930
1B76B289257147   CESAR        SANDOVAL                     VA     90014732892
1B76B348A93745   ELIZABETH    HYPES                        OH     64507513480
1B76B82A161938   RIVELINO     HERNANDEZ                    CA     46049938201
1B76B85163B359   WILLIAM      JENNINGS                     CO     90004858516
1B76B98125B35B   ROBERT       KELLY                        OR     90009579812
1B76BA73791263   ERVIN        TATE                         GA     90013040737
1B771336393759   LAURA        MARTIN                       OH     90005263363
1B771364461976   TIM          SILVESTRI                    CA     90006233644
1B771575461958   AMERICA      DE LA ROSA                   CA     90001785754
1B77164135B154   MATTHEW      FASCIO                       AR     90011766413
1B77241A14B259   REGINALD     ALEXANDER                    NE     27039354101
1B77243824B26B   ANTHONY      WEBER                        NE     26064414382
1B77276A761972   EDMUND       CRAWFORD                     CA     90007797607
1B77297875B343   HUGO         ALVIZURES                    OR     90013779787
1B772A21976B68   RAFAEL       VALENTIN                     CA     90013040219
1B772A37A91569   TOMASA       CASTRO                       TX     90008760370
1B772A75357147   LUIS         SEQUEIRA                     VA     90013500753
1B773247133668   SHAKIA       PETTIFORD                    NC     90004922471
1B773713A7B489   HELEN        MAYERS                       NC     90011447130
1B773A2347B427   FELISHA      JONES                        NC     90011440234
1B773AA4561958   MARIA        MENDOZA                      CA     90015200045
1B77425897B489   JAKE         WRIGHT                       NC     11045322589
1B77434445B154   JOHNNY       SELIGMAN                     AR     90014773444
1B77455547B274   JULIE        STEVENS                      NV     90014395554
1B774662361976   ANDREA       LOEZA                        CA     90009326623
1B7746A3991569   ANDREW       FLORES                       TX     90011916039
1B774864593759   ANTHONY      ARTIS                        OH     90014258645
1B7748A6361938   VANESSA      CARDENAS                     CA     90014108063
1B774931971929   SUZANNE      KERR                         CO     32082249319
1B775137733699   GWENDOLYN    HAUSER                       NC     90013951377
1B77522A272435   JODY         MILLS                        PA     51030692202
1B775381261972   ALEJANDRA    CAMPBELL                     CA     46076903812
1B7758AA891263   MYKALAH      ENGLISH                      GA     90014948008
1B77676628B199   RANDALL      HEINER                       UT     90013937662
1B7769A5572B28   SARA         WARWICK                      CO     33024659055
1B777291443563   COLIN T      PRIM                         UT     90011592914
1B777472331687   VICTORIA     GRANADOS                     KS     90014364723
1B77753695B342   YELENA       VYGOVSKAYA                   OR     90001435369
1B77758438B193   ANGELA       LOWE                         UT     31002945843
1B7779A9391263   ERIC         WASHINGTON                   GA     14570689093
1B77816322B877   TANA         NUXOLL                       ID     90000611632
1B77838954B26B   JULIE        GIBSON                       NE     90011273895
1B77855547B39B   LAVERNE      JONES                        VA     81066805554
1B778925976B68   DAVID        OLIVARRIA                    CA     90013089259
1B779146291895   TIFFANY      WALLS                        OK     21054311462
1B779193976B68   MARIBEL      GUTIERREZ                    CA     46002111939
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1B779293891263   TRACEY        SHUMAN                      GA     90008992938
1B779767261976   ELENA         PENA                        CA     90002787672
1B77982317B489   NATHAN        BURROWES                    NC     11072088231
1B779A4A75B35B   SERGEY        PUKAY                       OR     90012510407
1B77B36A372435   GRANT         MARONI                      PA     51064753603
1B77B655561997   JAVIER        CALZADA                     CA     90008276555
1B77B73A95715B   DAWIT         TAMERAT                     VA     90008787309
1B781284255948   TRACI         MOLINA                      CA     49004362842
1B781646776B68   ADAM          TRITT                       CA     90011646467
1B78188415715B   WILLIAM       SULLIVAN                    VA     90013898841
1B78232365B35B   MICHAEL       BROWN                       OR     44585013236
1B78249835B154   KENDRA        SIMS                        AR     90010784983
1B782553193759   ERICA         BAKER                       OH     90014585531
1B78277A971925   SUSAN         NUSSER                      CO     90012807709
1B78337875B343   CHRIS         MELZER                      OR     44557663787
1B783589357142   QUANETTE      MCDONALD                    VA     81010475893
1B783624A91569   IRMA          MORALES                     TX     90009666240
1B783644361938   FERNANDO      CARVALHO                    CA     90013056443
1B783A29857147   MANUEL        JOVEL                       VA     90014760298
1B78433735715B   ALI           AHMED                       VA     90006423373
1B784613261976   DESIREE       ACOSTA                      CA     90010046132
1B78545A793759   LINDA         CHAMBLISS                   OH     64561284507
1B78559A24B22B   ANJELIKA      SOTO                        NE     90002175902
1B78571114B26B   RAMONA        E LUNA                      NE     90013357111
1B785953455948   ANGEL         BRUNE                       CA     90004749534
1B78641734B588   FLOYD         HILBERN                     OK     21551364173
1B786429155948   LESLI         CASTELLON                   CA     90009104291
1B7864A4593759   WILLIAM       FREEMAN                     OH     64563934045
1B787188661936   DIANA         GOMEZ                       CA     90009541886
1B787583691523   LOPEZ         IVAN                        TX     90003945836
1B78776628B199   RANDALL       HEINER                      UT     90013937662
1B78797999154B   GUADALUPE     JAQUEZ                      TX     75033969799
1B788363657147   ANTONIO       RIVERA                      VA     90008673636
1B78876A591569   JENINIFER     HENDERSON                   TX     90011507605
1B789284257199   LISA          RUIZ                        VA     81012732842
1B78943227B489   GRACIELA      GONZALES                    NC     90002284322
1B789982357147   JOSE          DIAZ                        VA     81013829823
1B78B317961938   NICOLE        KERN                        CA     46060963179
1B78B728A51337   JUSTIN        JONES                       OH     90000727280
1B78B93A18B199   MICHAEL       WHITESELL                   UT     90010519301
1B791262261976   CHRISTOPHER   NAVARRO                     CA     90010692622
1B791776147956   JARELL        HARRIS                      AR     24008657761
1B79245948B193   REBBA         MARTINEZ                    UT     90010724594
1B792488233699   BENJAMIN      MERRIMAN                    NC     90013964882
1B7924A2491523   ALEJANDRO     MARTINEZ                    TX     90015124024
1B792A22993745   MARKUS        MAYBERRY                    OH     90014530229
1B793146561976   SIDNEY        LOURIS                      CA     90011151465
1B793172761938   ADRIANA       SANCHEZ                     CA     46076931727
1B79324464B588   CHRIS R       PENCE                       OK     21553052446
1B793645A76B68   RODRIGO       GUERRA                      CA     90013776450
1B79387128B199   KRISTY        SASSER                      UT     31088468712
1B79393655715B   BLANCA        ROSSA BERRIOS               VA     81058199365
1B79458985B526   LISA          SANDOVAL                    NM     35043735898
1B795425361958   ARMANDO       RAMOS LLAGAS                CA     90011234253
1B795584661972   MONIQUE       LOPEZ                       CA     90009385846
1B795665961972   MONIQUE       LOPEZ                       CA     90014986659
1B795698193745   SHAWN         FAIR                        OH     64551836981
1B795793A55948   GUADALUPE     MANZANO                     CA     90013037930
1B796168A91263   BART          DANALSTALE                  GA     90015551680
1B79782435B343   JEAM          THOMPSON                    OR     90013578243
1B797A94271929   CHRIS         ALBA                        CO     90013280942
1B79837365B154   SHERRY        LEWIS                       AR     90014773736
1B798859876B68   PEDRO         HERNANDEZ GONZALEZ          CA     46043668598
1B799341691569   ALVARO        LERMA                       TX     90012903416
1B799577155948   PABLO         CRUZ                        CA     90015155771
1B79969955B526   TERESA        DOMINGUEZ                   NM     35030236995
1B79B632872453   BRIAN         COLE                        PA     90012256328
1B79B648447956   REYES         FERNANDO                    AR     24049326484
1B79B71585B526   VALERIE       MARTINEZ                    NM     35008047158
1B79B887391895   LYDIA         BECERRA                     OK     90004868873
1B7B12A974B259   DAKOH         BIRREGAH                    NE     27081422097
1B7B1354A8B183   G JESUS       ESPINDOLA                   UT     90009123540
1B7B139515B526   SHEENA        LOPEZ                       NM     90014923951
1B7B1531961972   ALFREDO       REINAGA                     CA     46003025319
1B7B1716454B83   JOSHUA        PRICE                       VA     90015547164
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1B7B2795A76B68   JOSE         SILVA                        CA     90013357950
1B7B286A68B199   AUSTIN       MILLAR                       UT     31012908606
1B7B2928A61938   DORA         TELLEZ                       CA     46056159280
1B7B31A4A4B537   TINA         DAVIS                        OK     90008851040
1B7B347358B199   MARIA        FLORES                       UT     90011094735
1B7B3855347956   MICHAEL      TUCKER                       AR     90010818553
1B7B388322B924   ANGEL        PADILLA                      CA     90003378832
1B7B3885493745   LORIE        IRETON                       OH     64595098854
1B7B43A724B23B   KATHY        BUXTON                       NE     27077563072
1B7B4488372453   ROSEMARY     BIRD                         PA     90015414883
1B7B448A65B35B   HECTOR       CASILLA PEREA                OR     90004714806
1B7B5262361976   MATTHEW      LIVINGSTON                   CA     90013992623
1B7B5667172B62   KELLEY       MAURO                        CO     90007386671
1B7B5823972435   SANDY        BORLAND                      PA     51093508239
1B7B5866961958   KI           VANG                         CA     90013838669
1B7B5999776B68   ROSARIO      DIAZ                         CA     90013039997
1B7B6225691523   KARINA       GONZALEZ                     TX     90009082256
1B7B6357672453   CHRIS        CLEMENS                      PA     51056053576
1B7B668155B154   JESUS        VALADEZ                      AR     90014746815
1B7B6A84657147   VERTHA       REYES                        VA     81076960846
1B7B725A833699   DAMIAN       RUIZ                         NC     90013942508
1B7B777244B23B   LISA         THAUSER                      NE     27013617724
1B7B796134B259   KYLE         FEIK                         NE     27053749613
1B7B8333A8B199   JOHN         HERRIN                       UT     90009443330
1B7B862A95B343   LORRI        GILLENWATER                  OR     90009026209
1B7B9167261938   MARTHA       MOONE                        CA     90013171672
1B7B9216497B38   DEBBIE       GOMEZ                        CO     90006852164
1B7B96A9343563   FRANK        QUESADA                      UT     31077036093
1B7BB25767B489   TANIKA       MILLER                       NC     90008352576
1B7BB54395715B   HASAN        RAHMAN                       DC     90015125439
1B7BB781993745   TIFFANEE     FOOS                         OH     90011187819
1B7BB862872453   CHRISTI      PATTERSON                    PA     90014798628
1B7BB969191569   NANCY        IBARRA                       TX     90014069691
1B81121A893759   CONNIE       STEWART                      OH     90014572108
1B811896793766   REGINA       HATCH                        OH     90005618967
1B811A61161972   TATANISHA    MILLS-ANAWAT                 CA     90011270611
1B81214A48B199   OMAR         VALDOVINOS                   UT     90013321404
1B812287531687   IRENE        AGRAZ                        KS     90014902875
1B812352791869   JULIE        FULTZ                        OK     90005383527
1B81252A861938   VINCENT      BARRON                       CA     90001195208
1B812618872B55   ANDREW       AHRENDTS                     CO     90003406188
1B812634451337   MOISES       CRISTBOL                     OH     90007886344
1B81271AA91263   ASHLIEGH     WYNN                         GA     90006367100
1B813128191263   DRU          HARVILLE                     GA     14501841281
1B813299972B62   GERARD       ANKELE                       CO     33048212999
1B81367A85B526   RALPH        CORDOVA                      NM     90002496708
1B813728591523   JANETTE      TORRES                       NM     90010697285
1B813824A93745   DONNY        PRITCHETT                    OH     64569888240
1B814265591523   NANCY        RIVERA                       TX     90002722655
1B814876A4B543   TANIA        RUBIO                        OK     90005938760
1B814A44631468   RIZA         DILLON                       MO     90012630446
1B815163791895   FRED         COVEY                        OK     90000861637
1B815997961958   KIDUST       MULATU                       CA     90012309979
1B816246891569   JORGE        GODINEZ                      TX     90013932468
1B816319A4B588   WAYNE        RENFROE                      OK     21503203190
1B816446147956   KRYSTAL      RUSSELL                      AR     24047074461
1B81655864B22B   DEVIN        HERNANDEZ                    NE     90011285586
1B816624251337   CHESLIE      BOLDEN                       OH     90010006242
1B817428761958   ANDY         DE VRIES                     CA     90012744287
1B817436984375   LEATRICE     JOHNSON                      SC     19009814369
1B817439333699   JARMAINE     PAGE                         NC     12073574393
1B81754257B489   QUADARRIUS   HOLT                         NC     90012825425
1B817725876B68   CESAR        SILVA                        CA     46066437258
1B817992761972   RAMOS        RIGOBERTO                    CA     90013239927
1B818625161976   MAYRA        SALINAS                      CA     90008306251
1B818814351337   JOHN         GALLARDO                     OH     66004398143
1B818A64272453   ELIZABETH    WESLEP                       PA     51005380642
1B819486631687   DALANDO      HENDERSON                    KS     90008794866
1B819572861976   SARA         JUAREZ                       CA     90015115728
1B8195AA47B489   JEFFREY      HARRINGTON                   NC     90013905004
1B819769133699   CARLOS       RAMOS                        NC     90013967691
1B81982385B154   CHRISTY      TAPP                         AR     90015108238
1B81B479872453   DONALD       MASON                        PA     90012474798
1B81B75458B193   JAKE         WYKER                        UT     90002537545
1B82131165715B   BELLINI      SOLIS                        VA     90014163116
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1B8213A962B966   MILAGROS      RAMIREZ                     CA     90002623096
1B821437661958   O             BRIAN                       CA     90013894376
1B822214472435   MERANDA       DAVIS                       PA     51070592144
1B822279461972   KENDRA        MACIAS                      CA     90010342794
1B82241285B35B   REBEKAH       HODGES                      OR     90013834128
1B82282715715B   LOIDA         LLANES                      VA     81065748271
1B823528176B68   HILDA         GARCIA                      CA     46086335281
1B823573A8B199   DESTINI       DOYLE                       UT     90014955730
1B823698491569   ALICIA        APODACA                     TX     90010486984
1B823973A4782B   PARRIS        FOSTER                      GA     14086229730
1B823999261958   CRUZ          MENA                        CA     46024029992
1B82422535B343   DEBRA         HAMBOUTH                    OR     90014882253
1B824351151337   DOROTHY       FAIRBANKS                   OH     66026763511
1B824554993759   KENDRE        LAMAR                       OH     90014605549
1B82467884782B   DONTERIOUS    COPELAND                    GA     90002586788
1B82473755413B   PAYGO         IVR ACTIVATION              OR     90014327375
1B824745776B68   CINTHIA       HERRERA                     CA     90007937457
1B8248A967B489   DAVID         CANNON                      NC     90010998096
1B824A8685715B   SUZETTE       HUFF                        VA     90006680868
1B825183731687   CYNTHIA       GRIFFITH                    KS     90014971837
1B8253A1471967   LEON          WANTUCK                     CO     38093103014
1B82542247B489   RUSSELL H     MITCHELL                    NC     90007694224
1B825532257164   LIDIA         ZAMBRANA                    VA     81061705322
1B825637393763   CHRISTOPHER   CHOBOT                      OH     90010326373
1B8256A7947956   FRANCISCO     PADILLA                     AR     90008956079
1B825712133699   ROY           AUTRY                       NC     12096457121
1B826121593745   SHARON        HESLEY                      OH     90013981215
1B8261A1891523   ELIZABETH     REYNA                       TX     90006391018
1B826338391569   LUIS          RAMOS                       TX     90013293383
1B826534333699   BRENDA        JEFFERS                     NC     90011765343
1B826A4258B199   BRIANNA       EVANS                       UT     90014450425
1B8273A992B249   MARGARET      DAVIS                       DC     81018523099
1B827697972B62   ALEJANDRO     CALDERON                    CO     90009546979
1B8281AA361976   GEORGINA      CARDENAS                    CA     90003051003
1B828295955948   SCOTT         RICHMOND                    CA     90010092959
1B828514557147   CARLOS        SANCHEZ                     VA     90014735145
1B82862575B526   MARIA         OLIVAREZ COPADO             NM     35090216257
1B828687947956   ANGEL JOSE    PAREDES                     AR     24071976879
1B82876725715B   JESSICA       MENDEZ                      VA     90008707672
1B828871591569   VIANEY        VILLA                       TX     90010838715
1B82975A372453   PAM           EVANS                       PA     51089937503
1B82B15639198B   TIESA         BROWN                       NC     17036671563
1B82B533593759   JASON         ELDRIDGE                    OH     90014605335
1B82B82385B154   CHRISTY       TAPP                        AR     90015108238
1B82B994393745   DUSTIN        RATCLIFF                    OH     90009869943
1B83124834B23B   DERRICK       WALKER                      NE     27051062483
1B831317961972   LOUIS         CONNER                      CA     90014713179
1B83181675B35B   LETICIA       RUIZ                        OR     44568708167
1B831A33491569   JESUS         RAMIREZ                     TX     75042780334
1B83216AA93766   TREY          PALERMO                     OH     90005671600
1B832873897B69   TEODOSO       GAMBOA MIRANDA              CO     90015178738
1B833635547956   AZUCENA       HERNANDEZ-GONZALEZ          AR     24057156355
1B833699293759   SAMANTHA      PLAIR                       OH     90014616992
1B83384265B35B   LETICIA       VARGAS                      OR     44568708426
1B833A3625B343   IRMA          JIMENES                     OR     90014920362
1B83422A477522   JOSE          MARRON                      NV     90001172204
1B83424215715B   FRANDO        AGUIRRE                     VA     81014982421
1B834A59276B68   PAYGO         IVR ACTIVATION              CA     90013790592
1B834A79691523   CARMEN        COSME                       TX     75015140796
1B835766255948   SONYA         GUERRERO                    CA     49006347662
1B83652A45B74B   DUSTIN        STONE                       MN     90013385204
1B8365A318438B   PATRICIA      LOPEZ                       SC     19049065031
1B836A39191868   GAYLE         BURRIS                      OK     21001240391
1B837546661958   LATEA         LACY                        CA     90011235466
1B837783461972   CESAR         CASTILLO                    CA     90012937834
1B83858445715B   LEON          RUTLEDGE                    VA     90011865844
1B839129A93759   JEFFREY       FUDGE 2                     OH     90003771290
1B839139A93745   SUEANN        ENGLAND                     OH     90010651390
1B839436447956   DUSTIN        MCCLELLAN                   AR     90010384364
1B839571957147   DANIEL        GONZALEZ                    VA     90010435719
1B83964215B35B   HERMELINDA    MANCERA                     OR     44587406421
1B8397A835B526   WENDY         ACOSTA                      NM     35029687083
1B839975155948   MIRIAM        ALVARADO                    CA     90014419751
1B83B885251329   BENJAMIN      GINGRICH                    OH     90010408852
1B841197533699   ASHLEY        CRIGGER                     NC     90011741975
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1B841754293745   ALEX         PENNY                        OH     90007827542
1B84176A48B199   CHELSIE      THOMAS                       UT     90009447604
1B841916133699   LASHONA      JOHNSON                      NC     90013969161
1B842131A76B68   CARINA       BUTTRESS                     CA     90013221310
1B842193976B68   MARIBEL      GUTIERREZ                    CA     46002111939
1B842356391523   CONNIE       CADENA                       TX     90010873563
1B842523293759   CINDY        CUNNINGHAM                   OH     90014625232
1B843223561938   ALEJANDRO    ANTUNEZ                      CA     90008092235
1B84382895715B   SAKDA        PHUENPHIPHOP                 VA     90010848289
1B843872661958   RUBEN        HERNANDEZ                    CA     90007668726
1B844385661972   ISAAC        ACOSTA                       CA     90014053856
1B844432A91523   ARACELI      DIAZ                         TX     90014154320
1B844523293759   CINDY        CUNNINGHAM                   OH     90014625232
1B845214991895   PRESTON      TATRO                        OK     90010492149
1B845228693759   ROBBIE       DAY                          OH     64518752286
1B8452AA15B35B   MARIANA      RIOS                         OR     90006252001
1B84542285B154   ISIC         MCFEE                        AR     90014784228
1B845583376B68   BENJAMIN     LOPEZ                        CA     46056625833
1B845A4624B588   MICHELLE     CLARK                        OK     21501570462
1B846484791263   CHRISTIAN    THOMPSON                     GA     90012934847
1B846883474B85   JAMES        CARPENTER                    OH     90015358834
1B846A8A95B154   ELEAZAR      BELMONTES                    AR     90010360809
1B847132561976   SHANNON      LEACH                        CA     46052211325
1B8471AA161972   DEBBIE       SIMPSON                      CA     90012991001
1B848454161976   PABLO        GARZA                        CA     90014754541
1B848538693759   TRENT        WILSON II                    OH     90014625386
1B848729A72B62   RONALD       EDSON                        CO     90011517290
1B848A1215B35B   CRYSTINA     CLUSTER                      OR     44556880121
1B848A53976B68   JOSE         AVILES                       CA     90013530539
1B849326957147   JOSE H       ARREOLA G                    VA     90012603269
1B849375391263   ANGEL        JOHNSON                      GA     90013523753
1B8496A684B26B   RONALD       MASSIE                       NE     26043966068
1B849725161976   MARICELA     SALDANA                      CA     90000167251
1B84B45138B336   ALEJO        ZARATE                       SC     90015494513
1B84B462893759   ANESHA       ROBINSON                     OH     90014624628
1B84B554A72B55   LAURA        LOPEZ                        CO     90013585540
1B84B79347B428   CAROLYN      WATKINS                      NC     90002917934
1B84B918291895   JOHNNY       COLEMAN                      OK     21081039182
1B851125691523   BRENDA       QUEZADA                      TX     90013291256
1B85145774B26B   GRACE        KOPYCINSKI                   NE     26067574577
1B85179884B22B   SARAH        HOLMES                       NE     90014097988
1B852121661976   GUSTAVO      CERROS                       CA     90010101216
1B85213638B199   IVAN         ROSALES                      UT     90013361363
1B852142593745   RICHARD      LEISTNER                     OH     90012461425
1B85242925B154   EBONY        STACKER                      AR     90014784292
1B852433355948   RAYMOND      STRING                       CA     90005394333
1B852A28961958   MARIA        LOPEZ                        CA     46007950289
1B85417852B966   MELINDA      MAUPIN                       CA     90002781785
1B85431375B526   ADRIANA      GARCIA                       NM     90008053137
1B854343A91569   MARTIN       NAJERA                       TX     90012753430
1B854432976B68   STEVE        MCCLUSKEY                    CA     90014294329
1B85534835715B   MIRIAN       URBINA SOSA                  VA     90003893483
1B855521661972   JOSHUA       BROADNAX                     CA     90013185216
1B8558A3247956   JUAN         BARROSO                      AR     90010748032
1B855982755948   FRANCISCO    BERNAL                       CA     49047579827
1B8559AA261957   CESAR        CARIBAY                      CA     90012329002
1B856131A76B68   CARINA       BUTTRESS                     CA     90013221310
1B85647367B489   JUAN         RUBIO                        NC     90003374736
1B85665815B154   CATINE       HENDERSON                    AR     90015106581
1B85686445B526   FRANCINE     GONZALES                     NM     90013978644
1B85712445B35B   KYLIE        MCGINNIS                     OR     90011931244
1B85759945B35B   ERIC L.      WINTERS                      OR     90012365994
1B857A4445715B   DORIS        CAPRIEL                      VA     81004710444
1B857A69693759   LAURA        HOSTETLER                    OH     90011660696
1B85811899154B   ELSA         APODACA                      TX     90013751189
1B858232457147   CESAR        CHUMIL                       VA     81035032324
1B858474A9154B   ISRAEL       APODACA                      TX     90003484740
1B858A51191569   VERONICA     SILVA                        TX     75009640511
1B859375357147   PEDRO        GARCIA                       VA     90008053753
1B859439451337   STANDER      CHANDRA                      OH     90006194394
1B85B371957147   MARIA EMMA   ERICK GONZALEZ               VA     90012613719
1B85B4A1A57147   MELISSA      JOBACK                       VA     90014724010
1B85B571A31456   FREDRICK     COLLINS                      MO     27503615710
1B85B576A93759   MICHELLE     MILLER                       OH     64521035760
1B85B823933699   STACY        STRICKLIN                    NC     90011888239
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1B861618672B62   MELANIE      HEATH                        CO     90002706186
1B86162A75B343   JOSE LUIS    CHAVEZ CHAVEZ                OR     90013416207
1B861999441384   FERNANDES    EDVALDO                      MA     90014249994
1B8624A8991573   JESSIE       DORADO                       TX     75096494089
1B862636661976   AIOTEST1     DONOTTOUCH                   CA     90015116366
1B862951A5B154   KANDISE      JARRETT                      AR     23065689510
1B86312524129B   BETTY        CUNNINGHAM                   PA     90012291252
1B863428891547   FRANCISCO    VASQUEZ                      TX     90007444288
1B863476451337   ANTONIO      RAMIREZ                      OH     90015224764
1B863854557147   JOSE         RIVERA                       VA     90000148545
1B863A81661938   ROBERT       HARRISON                     CA     46000210816
1B863A83533699   KRISTAL      RAUL                         NC     90013970835
1B864998A51337   KARINA       PEREZ                        OH     66050619980
1B86518168438B   SALLY        GEATHERS                     SC     90005051816
1B86529515715B   JAMES        WILLIAMS                     VA     90013332951
1B86544244B26B   IRIS E       MONGE                        NE     90011534424
1B866521A7192B   BRANDEN      ROBINSON                     CO     32024305210
1B866857161972   BRIAN        HANSON                       CA     46006538571
1B8669A8561938   SEAN         KYLE                         CA     90014349085
1B866A26957122   SIFREDO      FRANCO                       VA     81027520269
1B866A28172B62   MIKE         SAMPAYA                      CO     90012930281
1B866A61291263   THOMAS       LANG                         GA     90009270612
1B867636161938   BILL         RENDA                        CA     46085056361
1B867886A33699   FREDDIE      PHILLIPS                     NC     12023858860
1B86852AA76B68   DIANA        SANCHEZ                      CA     46004415200
1B868782391569   CARLOS       CHAVEZ                       TX     75005377823
1B868829193745   CHARLES      NOEL                         OH     90010948291
1B869327557142   ARELY        LAZO                         VA     90006333275
1B869543A5B526   AHILY        ORTIZ                        NM     90010255430
1B86B358A72453   CHRIS        RITENOUR                     PA     90011113580
1B871413991523   MARTIN       GARCIA                       TX     90013664139
1B8721A9261958   JONOTHAN     FIGUEROA                     CA     46048601092
1B872333657122   GLORIBETH    RAMOS                        VA     81029703336
1B87247165B154   JENNIFER     TORRADO                      AR     90011134716
1B87272A693759   CHUK         CASTO                        OH     90011667206
1B87372A693759   CHUK         CASTO                        OH     90011667206
1B873742761976   DIANA        GRIGSBY                      CA     90013227427
1B87398145B343   ROBERTA      MONCKTON                     OR     90000389814
1B873994657142   MIGUEL       CAPELA                       VA     90005939946
1B8742A8257147   AL           CHOLIC                       VA     90012142082
1B874415491523   JUAN         MONTES                       TX     90013664154
1B874479751337   MELL         SUMMERS                      OH     90009594797
1B8745A5697B63   JEFFERY      WHITEIS                      CO     90005755056
1B874686793759   SHONTE       WILLIAMS                     OH     64548976867
1B875211176B68   ANTHONY      CASCIOPPO                    CA     46016832111
1B87546715B154   RAMON        WRIGHT                       AR     23090824671
1B875576A5B35B   RODRIGO      PAZ                          OR     90011035760
1B875945993745   RODNEY       JENKINS                      OH     90014239459
1B876418491523   CRYSTAL      CONTRERAS                    TX     90013664184
1B8765A255B154   DERRICK      WHITE                        AR     90014785025
1B8766A415715B   ROSA         BONILLA                      VA     81015186041
1B877186955948   GUSTAVO      PEREZ                        CA     49008841869
1B878387851337   BUGS         BUNNY                        OH     90014953878
1B87844945715B   VERONICA     CHAVEZ                       VA     90013404494
1B87845965715B   DANIEL       RUIZ                         VA     90007844596
1B8784A8893759   RONALD       CROWE                        OH     90014644088
1B878742372B62   REYNALDO     ANZURES CEVANTES             CO     33099307423
1B878791633668   TAWANNA      WILSON                       NC     90009187916
1B8789A248B199   CHRISTINA    WINBERG                      UT     90008009024
1B8791A665B343   FRANK        RIZZO                        OR     90013381066
1B87996885B35B   MARLA        HEGWOOD                      OR     44540189688
1B879A59776B68   JAZMIN       LOPEZ                        CA     90014640597
1B87B474891569   LUIS         VEGA                         TX     90012724748
1B87B636661976   AIOTEST1     DONOTTOUCH                   CA     90015116366
1B87B875472B62   MUGUEL       NAVARRETE                    CO     90012468754
1B881447691569   JOSUE        RAMIREZ                      TX     90014564476
1B881786576B68   JAIME        ROCHA                        CA     90006267865
1B881AAA78B193   JOSE         RODRIGUEZ                    UT     90006930007
1B882149761976   TIANA        BELL                         CA     90014181497
1B882545172453   FELIPE       SANCHEZ                      PA     51059725451
1B882581272B62   CHRIS        SMITH                        CO     90011975812
1B883141184375   KATREENA     SPANN                        SC     19009821411
1B883157455948   PRISCILLA    CABALLERO-URENA              CA     90014911574
1B88337847B337   ALPHA        SESAY                        VA     90007213784
1B8836A1961972   ALEXANDER    RILEY                        CA     46047576019
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1B883A3A272B62   KRISTIAN      KELLAM                      CO     90014980302
1B884194A61938   WASHINGTON    KOPENSKI                    CA     90013831940
1B884783861976   ANA KAREN     COLADO                      CA     90010637838
1B884A1335715B   PEDRO         ENROQUES                    VA     90008670133
1B885133976B68   REMEDIOS      LOPEZ                       CA     90001551339
1B8858A9555948   ANTONIA       RUIZ                        CA     90014858095
1B885965A91569   CORINA        ROSALES                     TX     90012909650
1B88626474B26B   MARIA         KENNEDY                     NE     90007132647
1B886731376B68   JOSE          FLORES                      CA     46081517313
1B886A39861958   CARLOS        FLORES                      CA     46048600398
1B887486631687   DALANDO       HENDERSON                   KS     90008794866
1B88757A861938   MARIO         ROMAN                       CA     90012685708
1B887629761976   LUZ           CASTRO                      CA     90012216297
1B887A8A19154B   ALFONSO       CRUZ                        TX     75093630801
1B88854667B489   TOMMY         JOHNSON                     NC     11059535466
1B88862345B343   WAYNE         BACKLUND                    OR     90005996234
1B888794861976   EDUARDO       GONZALEZ                    CA     90014157948
1B88882445B154   TYNESHA       WEIGNT                      AR     90014788244
1B88929887B489   CLARA         RODGRIGUEZ                  NC     90011302988
1B889393791523   GLORIA        SOTO                        TX     90008283937
1B889575361958   DANIEL        ALMARAZ                     CA     90013815753
1B889812533639   ANGELICA      GARICIA                     NC     90013958125
1B88B12795B343   STEVEN        FAULKNER                    OR     90014921279
1B88B193833699   MESHA         SHAW                        NC     90013971938
1B88B39975715B   OLMER         CHICAS MEDRANO              VA     90015313997
1B88BA65891523   RICHARD       RANGEL                      TX     75002920658
1B891153191263   LORI          SWINSON                     GA     90015251531
1B891565391569   SAMUEL        MUELA                       TX     90012675653
1B891871593759   TODD          RICE                        OH     90012788715
1B89261515B343   YURIRIA       CHAVEZ ESTRADA              OR     90014996151
1B892719291895   KACI          CACKLER                     OK     90014657192
1B892897293759   RODNEY        DOCKERY                     OH     90014628972
1B892A64851337   CARLO         MONT                        OH     90012610648
1B893665193745   ARIEL R       BLEVINS                     OH     64508806651
1B894521661972   JOSHUA        BROADNAX                    CA     90013185216
1B89461515B343   YURIRIA       CHAVEZ ESTRADA              OR     90014996151
1B894673A76B68   JARLETON      HOPE                        CA     90013406730
1B895232A93745   JASON         LAVEY                       OH     90012142320
1B89532A361958   ANABEL        CARRERA                     CA     90012763203
1B89537834B23B   OMOLOLA       HUGUES OKE                  NE     90007583783
1B895575A72453   SAMMY         LINCOLN                     PA     90013315750
1B895671557147   LINSEY        STEPHENS                    VA     90014746715
1B895721147956   SAKEENAN      BLACK                       AR     90004037211
1B896131A76B68   SONIA         CRUZ                        CA     90011791310
1B89654582B263   CHATIA        MOTLEY                      DC     90014585458
1B896897293759   RODNEY        DOCKERY                     OH     90014628972
1B897736393745   HOLLY         CHARLES                     OH     90001287363
1B89789268439B   LAYLA         MANNING                     SC     90008978926
1B898787A33667   SATERIA       WILSON                      NC     12081727870
1B8991A575B343   JAIME         RODRIGEZ                    OR     90007041057
1B8991A585B154   JONATHAN      WRIGHT                      AR     23043141058
1B89925885715B   MARIA         DIAZ                        VA     81060142588
1B89926895B526   MOJGAN        SAADWAND                    NM     90001322689
1B8993A8551337   EARNESTINE    DAVIS                       OH     66039433085
1B899436447956   DUSTIN        MCCLELLAN                   AR     90010384364
1B899A4114B588   LINDA         YOUNG                       OK     90012230411
1B899A44591523   LILI          VEGA                        TX     90003720445
1B899A87447956   MARISOL       ESCOBAR                     AR     90010750874
1B89B61515B343   YURIRIA       CHAVEZ ESTRADA              OR     90014996151
1B89BAA3251337   RANDIE        COSTIGAN                    OH     90015610032
1B8B122A87B489   ALEJANDRINA   FLORES                      NC     90011462208
1B8B1296947956   REGISTER      RODNEY                      AR     24079142969
1B8B1626191569   CARLOS        RAMIREZ                     TX     75066366261
1B8B1687A91263   AMANDA        WATERS                      GA     90012576870
1B8B171614B22B   AMANDA        GEHRING                     NE     90008907161
1B8B1748972B37   GRISELDA      DOMINGUEZ                   CO     33061057489
1B8B222335B154   PRINCESS      FARR                        AR     90014782233
1B8B237515715B   ALEXIS        QUIÑONEZ                    VA     81012423751
1B8B2873A91895   JOSE          URQUIZA                     OK     21095668730
1B8B3129661972   ANDREA        VALADEZ                     CA     90013811296
1B8B3382A5B154   KRYSTIANA     LEWIS                       AR     90014773820
1B8B372A861976   ADOLFO        LOPEZ                       CA     90001797208
1B8B389215B35B   ROCKY         BALANGITAO                  OR     90011518921
1B8B3A37385858   MICHAEL       KELLY                       CA     90014110373
1B8B3AA8261958   SUSANNA       GONZALEZ                    CA     90014850082
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1B8B4697591523   MELISSA      CANO                         TX     75063726975
1B8B498A133699   CATHY        DOW                          NC     90003799801
1B8B4A89722929   SHEREE       HARRISON                     GA     90013900897
1B8B5158161924   CATHERINE    WEIXELDORFER                 CA     90012771581
1B8B533375715B   MIRIAM       LOPEZ                        VA     90001883337
1B8B53A625B154   TANYA        ANDERSON                     AR     90014513062
1B8B545A793759   BUFORD       PAGE                         OH     90011924507
1B8B5462672453   CLARENCE     LEE                          PA     90002024626
1B8B5669661958   JUAN         RAMIREZ                      CA     90007646696
1B8B592784B23B   WILLIAMS     LEAH SUE                     NE     27073289278
1B8B6244555948   PEDRO        HERNANDEZ                    CA     90003072445
1B8B667A961938   ERICK        CRUZ                         CA     46014496709
1B8B6976493759   NEYHA        SMOOT                        OH     90004959764
1B8B73A7755948   KRISTEN      LEE                          CA     90004763077
1B8B742385715B   LESTER       CHACON                       VA     90013654238
1B8B74A7161958   NORA         BECERRIL                     CA     90013684071
1B8B7852A76B68   FERNANDO     BARRAZA                      CA     46072658520
1B8B8223191263   LAQUISHA     BRINSON                      GA     90011652231
1B8B872832B926   MARGARITA    GALLEGOS                     CA     90003357283
1B8B8848861958   ANTONIO      SIMPSON                      CA     46005978488
1B8B888264B22B   RUSTAM       ABDULLOEV                    NE     90013918826
1B8B973A77B489   DANNENE      WARD                         NC     11009277307
1B8B9772772B55   PRISCILLA    ESPINOZA                     CO     33070967727
1B8B9814791884   ROCIO        VAZQUEZ                      OK     90006588147
1B8B9954872B43   CARLOS       RODRIGUEZ                    CO     90011839548
1B8B9A46A61938   VICTOR       GONZALEZ                     CA     46049940460
1B8BB242591895   TIMOTHY      ETTINGER                     OK     90009092425
1B8BB59974B26B   JAMILA       HALE                         NE     90003525997
1B8BB8A898B199   BEN          DEVEREAUX                    UT     90013938089
1B911732893745   JAMES        JEFFERS                      OH     64547147328
1B911987733699   SANDRA       CRAWFORD                     NC     12084259877
1B911AA575B526   SARAH        RODGER                       NM     90010340057
1B91253764B22B   DARITH       KHIM                         NE     27008005376
1B912596A91838   GISELLE      BARBOSA                      OK     21012505960
1B91269A69154B   SANDRA       MARTINEZ                     TX     90004286906
1B912948161976   MICHAEL      OCHOA                        CA     46040949481
1B912A87193759   BETHANIE     ABSTON                       OH     90014630871
1B913173557147   ROSA         SANTOS                       VA     90005661735
1B913755455948   MATEO        MENDOZA                      CA     90013277554
1B913941676B68   NANCY        REYES                        CA     90014849416
1B91413485B154   CHARLES      JONES                        AR     90012211348
1B914433872B28   ADAN         DURAN                        CO     90007574338
1B914768561976   LUIS         SANCHEZ                      CA     90014017685
1B914A5A772B55   MIA          WESTBROOKS                   CO     90003410507
1B915142593759   BRITTANY     PHILLIPS                     OH     90014661425
1B9151A4793759   MISTY        BROWN                        OH     90014631047
1B91565285B35B   JORGE        FLORES                       OR     90013376528
1B915734191895   JACKIE       CLEMMER                      OK     90014657341
1B91611268438B   JUANITA      WARING                       SC     19053411126
1B916A1487B38B   MARTHA       VALDEZ                       VA     90000340148
1B916A8125B526   PEDRO        GRANILLO                     NM     90013320812
1B917174493745   HOLLY        PENNY                        OH     64586951744
1B91721112B966   OSVALDO      CRUZ                         CA     90002832111
1B91733884B259   GERMAN       ARRIAGA                      IA     90004843388
1B917393761972   JESUS        LUTZ                         CA     90014753937
1B917529A91996   ANGELA       MERRITT                      NC     90012615290
1B91832365B35B   MICHAEL      BROWN                        OR     44585013236
1B918672751337   TONY         DENNIS                       OH     66029846727
1B918752357147   MOISES       VASQUEZ                      VA     90015107523
1B918829571957   JENNIFER     CATRON                       CO     90013978295
1B918A5135715B   RAYMOND      CROWELL                      VA     90007580513
1B91929644B259   MARIO        RUEDA                        NE     27042502964
1B91963755B343   GABRIELLE    WARMBRODT                    OR     90015126375
1B919941572453   DAVID        MEDLIN                       PA     90001769415
1B91B228591573   FRANCES      HERRERA                      TX     75025542285
1B91B425191895   RONDA        SHAW                         OK     21056304251
1B91B437361938   BRENDA       NAVARRO                      CA     90009984373
1B91B45725715B   JUANA        FUNEZ                        VA     90014654572
1B91B675857147   LILIA        COLMENARES                   VA     90014746758
1B91B75A791569   CLARENCE     MARPLE                       TX     75012377507
1B92122194B588   ELMER        GABRIEL                      OK     21554672219
1B92176AA4B26B   JULIE        MEYER                        NE     26037287600
1B921951447956   CLAY         REED                         AR     90014539514
1B921969193759   ANGELA       REDMAN                       OH     90005499691
1B921A18172435   TAMMY        SANTUCCI                     PA     51062980181
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1B922162393759   BELINDA          MILLER                   OH     90007251623
1B92241168B193   ISELA            CASSIDY                  UT     31097874116
1B922432561976   SONYA            DENN                     CA     46022634325
1B922961947956   BECCA            SANCHEZ                  AR     90006079619
1B922A99291586   CONCEPCION       LOPEZ                    TX     90009400992
1B9233A9A93759   TYLER            PHARES                   OH     90014633090
1B923484191895   SHAWN            DUNCANT                  OK     90014604841
1B92367625B343   JOSHUA           BENNETT                  OR     90014996762
1B923686761958   LUIS             ROA                      CA     46036916867
1B923919A57124   ELLOY            GALLARDO                 VA     90010429190
1B92399564B22B   ASHLEE           HIATT                    IA     27091519956
1B924433855948   ROBERTO          DE LA MORA               CA     90012534338
1B9249A7971933   GREGORY          FARRAR                   CO     90011679079
1B925342291263   SEIRRA           JONHSON                  GA     90011103422
1B92534A39154B   LOURDES          TERAN                    TX     90013963403
1B9256A235B343   ALBERTO          AROCHE                   OR     90002646023
1B925737872435   NORA             ANDERSON                 PA     90005957378
1B92676A591895   NATASHUA         CORY                     OK     90014657605
1B926824372453   ARTHUR           MULL                     PA     90014058243
1B927364361938   ISSAMAR          MARTINEZ                 CA     90015043643
1B92763317B489   BARBARA          MCCAIN                   NC     90008196331
1B927763355948   JULIO            ZARAGOZA                 CA     90011427633
1B92778A561958   REDIET           TEFERA                   CA     90014047805
1B92782594B22B   JESUS            DERAS HERNANDEZ          NE     90007928259
1B92787175B154   ODESSA           LAY                      AR     90014788717
1B927A26391263   BASHLOR          DEWEY                    GA     90008430263
1B9282A5A33699   EVELYN           KENNER                   NC     12096622050
1B92839465B229   TEYDIA           DUNCAN                   KY     68002653946
1B928413851337   MICHAEL          CHANAK                   OH     66096314138
1B9289A1276B68   JOSE LUIS        GONZALEZ                 CA     46083429012
1B928A2558B194   FAWNRAE          STEELE                   UT     90001240255
1B929458933699   ROBERTO          MONTOYA                  NC     90011774589
1B929926793758   TOMMY            JOHNSTON                 OH     90012629267
1B92B469891569   LOURDES          INIGUEZ                  TX     90012174698
1B92B77A561958   JESSICA          PEREZ                    CA     90014467705
1B92B84A95B526   GRACIELA         VERA                     NM     90013678409
1B92B935357147   NESTOR ARMANDO   ZALDANA                  VA     90003839353
1B92B979751337   JEROME           WHITAKER                 OH     66096309797
1B92BA52972453   MICHELLE         KARMANN                  PA     51083500529
1B931241661976   JULIA            MEDINA                   CA     46033922416
1B93142255B343   LUIS             QUIM                     OR     90011904225
1B931436461976   MONICA           CRUZ                     CA     90008204364
1B9314A417B489   REINA            LAUREANO LARA            NC     90012454041
1B93216259154B   ELIAS            LICON                    TX     90002611625
1B932187376B68   SALVADOR         MEJIA                    CA     90013221873
1B93222365B35B   DENNIS           MACDONALD                OR     90014602236
1B932597391523   MARTIN           CORRALEJO                TX     90009505973
1B932A7465B343   ANDREA           MARTINEZ                 OR     90013340746
1B9331A2361976   BRIANA           OCHOA                    CA     90013971023
1B933757661972   WENDY            PRECIADO                 CA     46035477576
1B93386947B398   SHAFALI          NAGPAL                   VA     90013968694
1B93412A491569   CLAUDIA          VASQUEZ                  TX     75014701204
1B934628361972   JORGE            HERRERA ORTIZ            CA     90004886283
1B934774257147   SHANTA           DOE                      VA     90014747742
1B93486778B172   CHERYL           BRAHAM                   UT     90014918677
1B9352A2161938   MARIA            MUNOZ                    CA     90012982021
1B935663361972   ARIEL            IRIBE                    CA     90011896633
1B936397A86445   GAIL             WANG                     SC     90014683970
1B936794672B62   TIFFANY          BROWN                    CO     90013697946
1B93749295B35B   ROMEO            SANTOS                   OR     90014474929
1B938317347956   TIFFANY          PARKS                    AR     90012253173
1B93845965715B   DANIEL           RUIZ                     VA     90007844596
1B938839461976   ANTONIO          FLORES                   CA     90013568394
1B93899A191569   KATHRYN          PEREZ                    TX     75048419901
1B939298293745   ADAM             CHALMERS                 OH     90014952982
1B939313272453   DENISE           KELLEY                   PA     90004693132
1B939338891523   MARIA            OLIVARES                 TX     75065393388
1B93954A57B386   JOSE             RENOJO                   VA     90012305405
1B939592591569   ERNESTO          MEZA                     TX     90010335925
1B939748361972   JUAN CARLOS      BARRAGAN                 CA     90005827483
1B939757993723   AMANDA           CAMPBELL                 OH     90012187579
1B93B366747956   DAVID            RICHARDSON               AR     90015093667
1B93B491A33699   TAMIKA           TAYLOR                   NC     90014134910
1B93B61A393759   KRISTY           REYNOLDS                 OH     64523206103
1B93B695997B39   RICHARD          WHITNEY                  CO     90008946959
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1B93B865661958   IVETH        ANGON                        CA     90013038656
1B93BA2515B343   SANDRA       GARCIA                       OR     44588370251
1B94125115B526   HECTOR       VARELAAGUILAR                NM     35065652511
1B941753972B62   LILIANA      GARCIA                       CO     33052997539
1B941756491263   DEBRALEE     HOWELL                       GA     90013457564
1B94175835715B   MANUEL       MEJIA                        VA     90014777583
1B94198317B489   JERMAL       LOVE                         NC     11002729831
1B94229715B526   ELOY         LOPEZ                        NM     90000302971
1B942335A76B68   CLAUDIA      CRUZ                         CA     46011473350
1B9424A4931687   BOB          BROWN                        KS     90010434049
1B942531793759   LINDA        SCHALBURG                    OH     90014635317
1B942543761976   LAURA        PICHARDO                     CA     90013005437
1B942698657147   FELIX        KISIEDU                      VA     90014256986
1B94285355B343   JORGE        LOPEZ                        OR     90013508535
1B9429AA65B154   KIAH         THOMPSON                     AR     90014789006
1B942AA5793745   DEBRA A      CHARLES                      OH     90003000057
1B942AAAA4B26B   RAMONA       MOON                         NE     26069780000
1B943422491569   CHRIS        RAYAS                        TX     90015114224
1B943546572453   MACK         MATTHEWS                     PA     90010125465
1B943615793759   AKEISHA      ROGERS                       OH     90011836157
1B94429894B259   DARLENE      BARNES                       NE     90004112989
1B94463578B193   ASHLEY       NEWMAN                       UT     31004906357
1B944868593759   JOSH         CHASSERE                     OH     64562538685
1B9448AA457122   VANESSA      GREEN                        DC     90010618004
1B94511495B35B   LEQUOYA      ELLIOT                       OR     90009471149
1B945338A2B27B   HENRY        OCHOA                        VA     81046993380
1B94547364B23B   RITA         MCCLELLAN                    NE     90001644736
1B945814791895   DANNY        HAWLEY                       OK     90014658147
1B94598A74B588   STEVEN       WHITBEY                      OK     21518229807
1B9461A2461972   ERICK        OTANEZ                       CA     90015191024
1B946636461976   AIOTEST1     DONOTTOUCH                   CA     90015116364
1B947536291586   ARACELI      RODRIGUEZ                    TX     90001685362
1B947564361958   MICHELLE     SMITH                        CA     46002945643
1B94764554B22B   TRACY        HARKER                       IA     90003596455
1B947747757147   DELMY        CALLES                       VA     90008457477
1B947878676B68   ANA          TORRES                       CA     90011688786
1B94799354B26B   SONYA        MEAD                         NE     90003049935
1B9479A4A51337   RYAN         CARPENTER                    OH     90015469040
1B947A4555B35B   TASHIA       TURNER                       OR     44589510455
1B94844235B526   IGNACIO      RAMIREZ                      NM     90014924423
1B9484A2157142   ENRIQUE      HERNANDEZ                    VA     81087574021
1B948824655948   ANESSA       LEYDIG                       CA     90000568246
1B948A6A697B38   JOSE         MUTUBERRIA                   CO     90014720606
1B94916315B154   ANNETTE      GARY                         AR     23000981631
1B94946A84B259   TJ           TELLEZ                       NE     90012544608
1B94985185B526   JIMMY        RAMIREZ                      NM     35013328518
1B94B241161976   RUBEN        CHAIREZ                      CA     46081002411
1B94B63534B23B   JENNIFER     MILIAN                       NE     90013806353
1B94B748161938   JOHN         GARCIA                       CA     46067897481
1B94B88A361976   ALBERTO      TORRES                       CA     90014678803
1B94B966961958   LILIA        CASTRO                       CA     46013999669
1B951373A61938   MARILU       OLALE                        CA     90007143730
1B952142593745   RICHARD      LEISTNER                     OH     90012461425
1B952996A5715B   ADEFRIS      KABTHYMER                    VA     90012379960
1B952A2A157147   ANGEL        MALDONADO                    VA     81071080201
1B953183693759   KELLY        MCCLANAHAN                   OH     90014661836
1B953552A91263   GARY         LEMON                        GA     90014755520
1B95359118B193   TAYLOR       LLOYD                        UT     31004905911
1B95367AA5B35B   DENISE A     NOBLE                        OR     44589306700
1B95384953196B   LATAMALA     MOORE                        IA     90015428495
1B953A77747956   NANCY        ANDERSON                     AR     24051840777
1B953A8148B165   PAUL         TINKER                       UT     31038000814
1B954285172B62   REBECCA      KENNEDY                      CO     90013502851
1B954473693759   MELANIE      SCOTT                        OH     90014134736
1B9545A689154B   GERMAN       NUNEZ                        TX     90006965068
1B95476115B154   LATOYA       JACKSON                      AR     23053167611
1B955595A5B35B   ALYSSA       MEISSNER                     OR     90004105950
1B95577944782B   KHALIAH      BUTLER                       GA     90009157794
1B956963772435   DEBORAH      OSTROWSKI                    PA     51072659637
1B956A44451337   OLUFEMI      BEWAJI                       OH     90010370444
1B95718A15B154   JOE          HENDERSON                    AR     90008401801
1B95751A791838   WAYNE        SULLIVAN                     OK     90000535107
1B957869A93759   ERIC         GOCHENOUER                   OH     90010728690
1B957A3A372B62   MARIE        SANCHEZ                      CO     33087260303
1B95814A45715B   CRISTINA     ROMERO                       VA     90011781404
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1B958395A5715B   HICHAM       HAYDADI                      VA     90010793950
1B958767861938   PATRICIA     RIVAS                        CA     46052697678
1B95893A15B154   JOYCE        BRYANT                       AR     90014789301
1B959158991583   OSCAR        GALVAN                       TX     90010521589
1B959482233699   SONYA        LYTLE                        NC     90003054822
1B95965615B59B   SUSANA       HERMOSILLO                   NM     90014786561
1B959852A76B68   FERNANDO     BARRAZA                      CA     46072658520
1B95989439154B   MARLON       BARRIOS                      TX     75082138943
1B95B15228B199   ISAIAH       TIMOTHY                      UT     90000931522
1B95B198A4B259   NANCY        ANSON                        NE     27042511980
1B96133364B26B   KRISTINA M   MENDOZA                      NE     26065353336
1B96135715B343   MARIA        IRAHETA                      OR     44577923571
1B961514272B62   JUANITA      HARRISON                     NE     33001655142
1B96221688B193   JULIA        ALEMAN                       UT     90013572168
1B96235444B543   CAROL        ELAINE                       OK     90008103544
1B96265445B526   BLAINE       GABALDON                     NM     90013016544
1B96277895B343   MARLYN       TAPIA                        OR     90012027789
1B963164251337   JOSE         LUNA                         OH     90009231642
1B963448361972   JUANA        VERONICA DOMINGUEZ           CA     90011774483
1B963736A76B68   JONATHAN     BAUTISTA                     CA     90012717360
1B964399293775   DAVE         WILSON                       OH     90014103992
1B964572357147   RHONALD      POLO                         VA     90014165723
1B964665A51337   VICTOR       GARCIA                       OH     90003516650
1B96512645715B   JOUSE        LOPEZ                        VA     90012411264
1B965144993745   MARY         LONG                         OH     64581061449
1B965288476B68   JAMES        BARTON                       CA     90013452884
1B965394355948   LUIS         GONZALEZ                     CA     90008633943
1B965935471927   JANINE       FORD                         CO     90007029354
1B965A4A97B489   TRACY        LAWRANCE                     NC     90014750409
1B965AA355B343   DEVIN        BRAY                         OR     90013160035
1B96613895B343   WENDY        KINGSLAND                    OR     90013681389
1B96658244B23B   MICHELLE     SIPHERD                      NE     90011045824
1B966759872B62   NATHANIEL    BENSON                       CO     90014907598
1B9668A1961976   AUSTENCIO    DIAZ                         CA     46057678019
1B967216931687   JONATHAN     DENSMORE                     KS     90013742169
1B967222647956   SHYNEATRIA   WHITHFIELD                   AR     24072722226
1B9674A4A61958   MINNETTE C   FINK                         CA     90010214040
1B96761868B199   MARIA        LLAMAS                       UT     31078586186
1B96784327B489   PAMELA       WHITE                        NC     90001968432
1B968A7617246B   ELCORA       WALLACE                      PA     90012670761
1B968AA1851337   PRISCILLA    ALLRED                       OH     90014560018
1B969436472435   SONJA        SHIRLEY                      PA     90013074364
1B969547691523   VICENTE      GONZALEZ                     TX     90014225476
1B96968A17B489   DEBORAH      MEADOWS                      NC     11072186801
1B96995A25B343   AMPARO       TALAVERA MARTINEZ            OR     90012439502
1B969A73171927   JOHN         EGAN                         CO     32012540731
1B96B57685B526   MARIA        MAGDALENA AMAYA              NM     35048925768
1B96B966161938   MARGARET     ZAMORA                       CA     90003059661
1B97124263B337   GLORIA       KENNIS                       CO     90002162426
1B971617A72B62   FRANCES      BOURCY                       CO     33064196170
1B97237754B23B   MARISOL      CASTILLO                     NE     27005853775
1B97242AA76B68   CRISTINA     SILVA                        CA     90014334200
1B9724AA555948   VERONICA     CARRANZA                     CA     90012154005
1B97297519154B   HECTOR       SOLORZANO                    TX     75064919751
1B973636461976   AIOTEST1     DONOTTOUCH                   CA     90015116364
1B973917261972   JAVIER       CEBALLOS                     CA     46032889172
1B974123793745   AMANDA       VINEY                        OH     64536421237
1B974213461972   LUIS         GARZA                        CA     90013282134
1B974475776B68   VANNESSA     MAGANA                       CA     90012264757
1B974552891899   WILIAM       MAYO                         OK     90009115528
1B9749AA88B199   GRACE        DEMING                       UT     31049479008
1B975125893745   KALIN        KING                         OH     64503611258
1B975345847956   TIFFANY      BOLLING                      AR     90009873458
1B975391547956   STEPHEN      SIMPSON                      AR     90010783915
1B975439791263   JARROD       GAMBLE                       GA     14596604397
1B975637147956   ROSA         MONTERROSA                   AR     90004886371
1B97649A472B62   PATRICIA     LUNSFORD                     CO     90008054904
1B976793257555   JASON        FORD                         NM     90008567932
1B976846871927   JEANIE       VAUGHT                       CO     90014918468
1B977158291263   CHRIS        MCDANIELS                    GA     90014701582
1B97723945B154   JASMINE      JENNINGS                     AR     90010252394
1B97739434782B   SHANITA      SLEDGE                       GA     14083553943
1B977793172435   JAMIE        MARSH                        PA     51060207931
1B977A22751337   AMANDA       BOULDIN                      OH     90014690227
1B977A58493759   JULIE        SHIRK                        OH     90014640584
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1118 of 2350


1B97815954B23B   JOHN         BALKUS                       NE     90001251595
1B97829534B54B   RAYVON       SWINDALL                     OK     90001652953
1B978492561972   OLGA         SALAZAR                      CA     90014884925
1B978769391523   OLIVO        EDUARDO                      TX     90009627693
1B978A17A5715B   LUIS         LEON                         VA     90012740170
1B97922775B35B   LEONARD      BROWN                        OR     90013302277
1B97B47344B22B   MARY         BORT                         NE     90010144734
1B98122485B343   MARIA        GARDUNO                      OR     90000642248
1B981682A91895   MICHEAL      HELTON                       OK     90010516820
1B981954793759   JOVAUGHN     STEVENS                      OH     90005579547
1B9819A6157142   ROBERTO      PARADA                       VA     81028559061
1B982AA9493773   SCOTT        ROBINSON                     OH     66056110094
1B983158476B68   DAVON        HUDSON                       CA     90011701584
1B983397531456   STACY        TIJERINA                     MO     27542773975
1B98384348B199   WENDY        BOOG                         UT     31069228434
1B98385897B489   STACEY       DOTSON                       NC     90006008589
1B984421391569   EDUARDO      GUERRERO                     TX     90011124213
1B9845A4961976   JOSEFINO     SALIBA                       CA     90014745049
1B984814A33699   JARRELL      ROBINSON                     NC     90004028140
1B98486175715B   JOEL         ALAS                         VA     90010308617
1B984A12391263   DEAUTRY      JARRETT                      GA     90013810123
1B985455472483   AMANDA       SARAKOWSKI                   PA     51094814554
1B985615891523   ADRIANA      NAVARRO                      TX     90012126158
1B985731193745   XIANGSHENG   MENG                         OH     90014887311
1B985765561958   JOANNA       ROMERO                       CA     90011787655
1B985835857147   BELINDA      VARGAS                       VA     90006068358
1B98697225B526   ADRIANNA     JACKSON                      NM     90007979722
1B987316861976   ANA          MARIA                        CA     46065063168
1B987456A61972   DANIEL       GARCIA                       CA     90013534560
1B987562791523   ERICK        DELARIVA                     TX     75023215627
1B987846157147   JOSE         CRUZ                         VA     90008388461
1B98817667B489   TONISHA      POLK                         NC     90011461766
1B988416791569   CAROLINE     SAENZ                        TX     75061464167
1B988457891523   CRUZ         BUSTAMANTE                   TX     90000964578
1B988726157147   JACQUELINE   PRUDENCIO                    VA     90010397261
1B989183591569   ARACELI      MONROY                       TX     75005411835
1B989199361972   WILLIAM      WASHINGTON                   CA     46019051993
1B98B1A8491569   CYNTHIA      CHAVEZ                       TX     90013031084
1B98B214176B68   DAVID        AYALA                        CA     90014162141
1B98BA38957147   DILCIA       CARDENAS                     VA     90013740389
1B99139A757147   RIGOBERTO    QUINTERO                     VA     90011743907
1B991AA6161972   ROLANDO      MENDEZ                       CA     46065260061
1B99321425B532   ROSA         CASTILLO                     NM     90012292142
1B993421261976   CARLOS       ARREDONDO                    CA     90015014212
1B993656A51337   KELLI        STEVENS                      OH     66048466560
1B993911591523   MERCEDES     CASTORENA                    TX     75074659115
1B993AA6161972   ROLANDO      MENDEZ                       CA     46065260061
1B994831261958   VICREY       CIRIACO                      CA     90010058312
1B9949A292B884   SANDRA       LOVALLO                      ID     90011369029
1B995129A57147   JACKELINE    SILVA                        VA     81064521290
1B99555A233699   CARL         RANDALL                      NC     90011435502
1B99558195B35B   SANFIANO     RUBEN                        OR     90010065819
1B995632761938   CHRISTINE    PEREZ                        CA     90010946327
1B99614AA5715B   JOSE         CRUZ-ALVAREZ                 VA     90014531400
1B99673774B588   RICHARD      CHESNEY                      OK     21558577377
1B996A6625B343   EUTIMIO      AYALA                        OR     90009640662
1B99715A95715B   RONALD       DONALDSON                    VA     90007581509
1B997171176B68   LAURA        LOPEZ                        CA     46028891711
1B997456831687   JAVONNA      SMILEY                       KS     22011864568
1B997599391569   MARIBEL      CHAVIRA                      TX     90011435993
1B998124251337   SHAMIA       SMITH                        OH     90013051242
1B998666891569   JORGE        CONTRERAS                    TX     90013396668
1B99944A55715B   DIANA        MISTRETTA                    VA     90015174405
1B99973275135B   PASCUAL      HERNANDEZ                    OH     90014667327
1B999948991549   ALICIA       GARCIA                       TX     75098649489
1B99B344872B62   MIRIAM       PEREZ                        CO     33017803448
1B99B889961976   DALILA       PARRA                        CA     90014938899
1B9B134185B154   LISA         WOODS                        AR     23086673418
1B9B1449561972   PATRICK      FAISON                       CA     90011764495
1B9B1462961976   DAVID        CASTRO                       CA     46040934629
1B9B167AA33699   MARQUEISHA   HAMILTON                     NC     90014296700
1B9B1948147956   ALEJANDRO    VASQUEZ                      AR     24094389481
1B9B1A17A5715B   LUIS         LEON                         VA     90012740170
1B9B23A258B193   DANIEL       DUNCAN                       UT     31062563025
1B9B3344391967   SHAWN        WILLIAMSON                   NC     90007683443
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1B9B361825B343   ROMAN        VARGAS BENITEZ               OR     90014996182
1B9B3733A61972   SANDY        AMARO                        CA     90011317330
1B9B3927693759   TERRY        HARRIS                       OH     90014629276
1B9B39A7761958   DORTHY       DICKMAN                      CA     90014889077
1B9B433454B259   KIMBERLY     POLSLEY                      NE     90004843345
1B9B466684B22B   SHARON       ROLLI LEE                    IA     27008266668
1B9B479833B359   CHUANTE      EDWARDS                      CO     90006177983
1B9B4841A91263   WESLEY       BOLES                        GA     90015488410
1B9B484A34B23B   ELIZABETH    AJONGO                       IA     27007708403
1B9B489AA93767   CORVETTE     WHEELER                      KY     90011998900
1B9B4A15272B62   DIANA        BALLEJO                      CO     90015120152
1B9B5643372B62   BRANDY       FELDE                        CO     90006816433
1B9B661AA76B68   BLANCA       ARELLANO                     CA     46001016100
1B9B6636151337   SABRENA      HILL                         OH     66048826361
1B9B6697461958   CHERYL       WESLEY                       CA     46005996974
1B9B735A472453   CORI         HENDERSON                    PA     90011123504
1B9B7374291263   MARCO        AL                           GA     90014723742
1B9B7951861976   ARTURO       RAMIREZ                      CA     90013759518
1B9B7A93791569   ESMERALDA    MENDOZA                      TX     90012630937
1B9B8267461972   LUIS         VILLASENOR                   CA     90013872674
1B9B8656491523   MARCUS       PACHECO                      TX     90011166564
1B9B8868A61958   JULIO        BELTRAN                      CA     90013368680
1B9B8927493745   REBECCA      MANGO                        OH     64586429274
1B9B8932857147   DANILO       MARTINEZ                     VA     90014799328
1B9B8A47793759   HEATHER      LEMLEY                       OH     90014630477
1B9B9557376B68   NICOLE       DAVIS                        CA     90012855573
1B9B965AA5715B   FAWSIYO      KHALID                       VA     90013326500
1B9B9A7784B588   TERQOISE     CHEADLE                      OK     21591040778
1B9BB144891523   CUEVAS       LUPE                         TX     90004841448
1B9BB393833699   BRIAN        SMITH                        NC     90000683938
1B9BBA53976B68   JOSE         AVILES                       CA     90013530539
1BB11238931456   ANGELA       FREINER                      MO     27583572389
1BB11255791523   ISSAC        GOLDEN                       TX     90014542557
1BB11944685B29   JORGE        FRANCO                       FL     90015399446
1BB11979591263   JESSE        OWENS                        GA     14523989795
1BB12239591569   JOSE         GARCIA                       TX     90001002395
1BB1243195B35B   CHRISTINA    KINSLEY                      OR     90007014319
1BB12613261972   LIVIA        MEDRANO                      CA     90007366132
1BB12987355948   FRANCISCO    ROCHA                        CA     90007059873
1BB1312A193766   JOSE LOPEZ   VALLEJO                      OH     90005721201
1BB13583393773   KIMBERLY     BROWN                        OH     90011105833
1BB13A28957147   WALLACE      SHARBRA                      VA     90014600289
1BB13A48543529   LINDA        SMART                        UT     90014130485
1BB1414A561938   SANDY        ADAMS                        CA     90014551405
1BB1448345B343   EVELYN       PONCE                        OR     90013414834
1BB14A92791569   ALEJANDRA    MOLINA                       TX     75053250927
1BB1531864B26B   ADRIANA      CUSATIS                      NE     90011443186
1BB1578A243563   JOSE         ISREAL VILLAGRANA            UT     90008997802
1BB16117861972   SANDRA       CHAVEZ                       CA     90015091178
1BB16446A33699   BRET         EVERHART                     NC     90012714460
1BB16515991523   JAVIER       MONTANES                     TX     90007315159
1BB16538176B68   ISIDRO       MANZO                        CA     90012355381
1BB1689395715B   DONALD       CASTILLO RIOS                VA     90014058939
1BB17227891569   MARCELA      ZARAGOZA                     TX     75084832278
1BB17254691263   TARSHA       PATTERSON                    GA     90014822546
1BB17A9188B193   MARY         BRYAN                        UT     31079480918
1BB1865295B154   VALANDRA     JACKSON                      AR     90005366529
1BB18726247956   CHRISTOPHE   COX                          AR     90002727262
1BB18793577522   ROBERT       ELISARRARAS                  NV     90006427935
1BB1879745B343   HUMBERTO     GONZALEZ                     OR     90014187974
1BB18968272453   ROSALIA      WYROSTEK                     PA     90015469682
1BB19554993773   SARAH        SHAVER                       OH     90004065549
1BB19A2454B23B   DIANA        BLAKE                        NE     90010210245
1BB19A84172483   WILLIAM      OW                           PA     51024090841
1BB1B812257142   MELVIN       MENDOZA                      VA     90006748122
1BB1B8A345B35B   DAVID        YOURSTON                     OR     44519688034
1BB2116395B526   JOSEPH       TAFOYA                       NM     90013171639
1BB21312191569   DEBORAH      TORRES                       TX     75032973121
1BB2139264B22B   ANDREA       SCOTT                        NE     27073533926
1BB21635576B68   MICHELLE     NAVARRO                      CA     46088516355
1BB22299272435   JACQUELINE   GRAHAM                       PA     90000322992
1BB22417A4B259   CHRISTINA    SAMSON                       NE     27072054170
1BB22491791569   ASHLEY       SIMENTAL                     TX     90013374917
1BB225A8872426   MORRIS       HEMINGER                     PA     51079955088
1BB2279415B526   JAMAL        FRUMENCIO                    NM     90014847941
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1BB22A5954B22B   SHANE L      GRAHAM                       NE     90015000595
1BB2313628B199   DONNIE       MANLEY                       UT     90012091362
1BB2352A15715B   CHRISTIAN    REYES                        VA     81033675201
1BB2388A891523   MICHAEL      RODARTE                      TX     90009538808
1BB2412315715B   MARGARITO    LUIS                         VA     90013631231
1BB24244461938   TERESA       SANCHEZ                      CA     90008062444
1BB24416491263   LINDA        WILLIAMS                     GA     90015474164
1BB2493665B526   FERNANDO     CAMPO                        NM     90013689366
1BB24A46861972   ROBERT       FINCHER                      CA     46095590468
1BB25113261936   MERCEDES     LOPEZ                        CA     90009461132
1BB2524285715B   JUAN         ARIAS                        VA     90014652428
1BB25653776B68   RAUL         CERVANTES                    CA     90008696537
1BB26138261976   JERRY        ELLIOTT                      CA     90013861382
1BB26546443529   CALLEEN      BAILEY                       UT     90012095464
1BB26A2365B35B   CASSANDRA    MATHIESON                    OR     44509370236
1BB274A2393759   MELISSA      CLARK                        OH     64598674023
1BB27979A8B165   RACHAEL      COLEMAN                      UT     90002449790
1BB28545991263   ERIC         WASHINGTON                   GA     90015025459
1BB28977291569   SAMANTHA     LOERA                        TX     90006249772
1BB28A8295B35B   PABLO        GUTIERREZ                    OR     90010740829
1BB295A8472B62   MASHBURN     HAROLD                       CO     90005585084
1BB29756171976   SHARIE       BUBBLE                       CO     32068987561
1BB29963A93745   CHARLES      HOLLY                        OH     90004159630
1BB29A5A95B35B   PAULA        KEYTH                        OR     90012340509
1BB2B267A91895   SARAH        LOGAN                        OK     21082692670
1BB2B396861958   SHIALA       CHANG                        CA     46011613968
1BB3113A972B55   ANTOINETTE   DEHERRERA                    CO     33070311309
1BB31252433699   DANIELLE     GRIFFIN                      NC     90012132524
1BB31572231456   BILLY        MARTIN                       MO     90006645722
1BB31861791263   CRISTINE     DRAYTON                      GA     90015198617
1BB318A175B398   SOFIA        VILLA                        OR     90003868017
1BB3233624B26B   AMBER        CORTEZ-PHILPOT               NE     26064033362
1BB32586791569   LETICIA      FRENCO                       TX     90004955867
1BB3264A833699   ANGELICA     BELLO                        NC     90004506408
1BB33266193732   ASTRONAUT    KID                          OH     90014742661
1BB3336892B924   MARTA        SARAVIA                      CA     90007933689
1BB33383331687   SASHA        BEARD                        KS     90012333833
1BB33422472B62   LYNDA        VALDEZ                       CO     90001944224
1BB3357315715B   SOMA         NABIZADA                     VA     90001205731
1BB3362AA31687   SHAWNTRICE   BEARD                        KS     90014026200
1BB34139993745   REBECCA      SHOE                         OH     64558811399
1BB34655461972   ISMAEL       ESPARZA                      CA     90015176554
1BB34655672435   RAE          BARKER                       PA     51024446556
1BB34816891569   GERMAN       CARMONA                      TX     90012368168
1BB34844593773   ZACHARY      JAMESON                      OH     90007868445
1BB34A6A17B489   MILDRED      LAZO                         NC     90009980601
1BB35249671982   CRISTINA     SANDOVAL                     CO     38016202496
1BB35423172B62   VERONICA     CARMEN FERRER                CO     90010784231
1BB3546A52B877   EZEKIEL      ENGLAND                      CO     90009904605
1BB35721876B68   CAESAR       ARENAS                       CA     46052877218
1BB35A8AA8B336   PAYGO        IVR ACTIVATION               SC     90011760800
1BB36155191263   THERESA      WALKER                       GA     90010251551
1BB36277A93773   RICK         MASON                        OH     66004752770
1BB36447957142   CHAD         ANDERSON                     VA     90007204479
1BB36625136B77   JESSIE       RICHTER                      OR     44564746251
1BB36963261936   MAGDA        SANDOVAL                     CA     90011819632
1BB37132461972   SERGIO       DE LA CRUZ                   CA     90011341324
1BB3723A957147   MITCHEL      SMITH                        VA     81076722309
1BB37686161976   YOLANDA      GUTIERREZ                    CA     90015126861
1BB376A3891263   FRANKIE      BROWN                        GA     90015096038
1BB37785691263   ALAN         CANTERBURY                   GA     90012977856
1BB37854447956   SUE          CROSSWHITE                   AR     90007608544
1BB38366943529   DAVID        GONZALES                     UT     90012303669
1BB39376847956   BRANDON      AGUILAR                      AR     90012163768
1BB39723661958   ISILA        PACHECO                      CA     90010627236
1BB3B65A461976   ANASTASIA    VELA                         CA     46003196504
1BB3B968672453   JANET        CARROLL                      PA     90006329686
1BB3BA14A91523   NANCY        VELA                         TX     90013770140
1BB3BA58A72B55   THOMAS       PENNA                        CO     90003380580
1BB4116A15B343   DAGOVERTO    FUENTES                      OR     90013751601
1BB41446291263   RODERICK     TATE                         GA     90015254462
1BB4149617B489   TYWANA       NIXON                        NC     11007674961
1BB41716351337   LAJUAN       TUCKER                       OH     90013177163
1BB41989131687   JUSTIN       PARRENT                      KS     90008739891
1BB41A47A91895   PAM          MURLEY                       OK     21065180470
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1BB4217215B343   SONIA         VILLALOBOS                  OR     90012011721
1BB42253933699   CHERMAINE     FLETCHER                    NC     90011232539
1BB4282A55B526   CHARLOTTE     CORDOVA                     NM     90014888205
1BB4298314B26B   BRENDA        DITTMER                     NE     90003759831
1BB42997793773   CHRIS         JONES                       OH     66001959977
1BB4321155B343   JAMES HENRY   RICHARDSON                  OR     90011672115
1BB4336A28B199   OSCAR         ROMERO                      UT     31017793602
1BB43814343529   LESLIE        LOUNSBURY                   UT     90009068143
1BB43A58A76B68   REBECCA       VERDUGO                     CA     90004130580
1BB44861972435   MARKLEYLA     MILLER                      PA     51007558619
1BB45319472B29   ELEAZAR       MOLINA                      CO     33053383194
1BB45578243563   STEVE         BENNETT                     UT     31032955782
1BB4577A34B22B   LATAYNA       THOMAS                      NE     90011917703
1BB4582A757147   MIRNA         PINEDA                      VA     81093678207
1BB458A5A72B62   SAUL          UGALDE                      CO     90013838050
1BB4625A161972   JOSE          SOTO CASTANEDA              CA     90013402501
1BB4698A391263   WANDA         JONES                       GA     90014459803
1BB4698A94B259   LATREISE      ANDERSON                    NE     27000609809
1BB472A747B489   RONI          HAMILTON                    SC     90015512074
1BB47378391569   YOHANNA       BENCOMO                     TX     90013283783
1BB47628272435   RYAN          OMECINSKI                   PA     90005796282
1BB47646493759   WILLIAM       VANMETER                    OH     90014176464
1BB47813555948   MERCY         DESMOND                     CA     90014878135
1BB4831144782B   DEVONTA       QUAINTER                    GA     14094603114
1BB48474654122   DAVID         TURPIN                      OR     90014824746
1BB48618A57147   OSMAN         LOPEZ                       VA     90011846180
1BB4872A247956   ANGELA        ROBERTSON                   AR     24089127202
1BB48A3A761936   IVORY         BALLARD                     CA     90011820307
1BB49111647956   KENISHA       RODRIGUEZ                   AR     90002121116
1BB4926825B343   JAMES         PATTERSON                   OR     44540162682
1BB492A134B22B   JUAN          PINA                        NE     27054512013
1BB49522847956   LARRY         TURNER                      AR     90011025228
1BB49A49576B68   OLIVIA        GOEMANN                     CA     90004140495
1BB4B51669154B   SANTIAGO      CHAVEZ                      TX     75029455166
1BB4B698491895   HARVEY        OLIVA                       OK     90010396984
1BB5118A38B193   BRANDIE       LOWE                        UT     31079801803
1BB51212293732   ERICA         ARCHIE                      OH     90010332122
1BB517A9461972   IZIA          WIMBUSH                     CA     46068897094
1BB5185455715B   BERHANU       DESSIE                      VA     90003598545
1BB51861351337   BARBARA       NEVINS                      OH     90007258613
1BB5194A34B22B   ALEXANDRIA    LEWIS                       NE     27018209403
1BB52535561976   THOMAS        JOHNSON                     CA     90011735355
1BB5274A343529   LACY L        GARDNER                     UT     90008807403
1BB53126972435   DEREK         KEALEY                      PA     90005191269
1BB53277443563   TRAVAS        BARTLETT                    UT     90014882774
1BB534A3A31687   APRIL         BATES                       KS     22005774030
1BB5385224B588   RONALD        TODD                        OK     21556858522
1BB54293991569   HILDA         GARCIA                      TX     75005082939
1BB54A5A98B154   DIANE         YOUNG                       UT     90010470509
1BB54A66693766   JODY          HAYSLIP                     OH     90000170666
1BB55278261958   PETE          PEREZ                       CA     90001082782
1BB5546225B35B   LAURA         LEWIS                       OR     90015184622
1BB5553278B199   JOSHUA        ROBERTSON                   UT     90013375327
1BB55A6148B193   WENDY         DAY                         UT     31031220614
1BB56116A91263   DONALD        FOWLER                      GA     90007131160
1BB57137533699   DOMINIQUE     PORTER                      NC     12008091375
1BB57A2A77B489   SHANNON       BROWN                       NC     90012580207
1BB58128843563   RICHARD       MERANDA                     UT     90014441288
1BB58219461976   SALVADOR      SANCHEZ                     CA     90013072194
1BB58429272435   LORI          TWEED                       PA     51025324292
1BB5867655715B   YESSICA       RIOS                        VA     90012756765
1BB5884177B489   ALYSE         FONTAINE                    NC     90008118417
1BB58918891895   ANDREA        BLUE                        OK     90014639188
1BB58A74161938   OLIVIA        GEORGE                      CA     90011360741
1BB59413461972   MARTIN        COFFEY                      CA     90011384134
1BB59422261958   KHADAR        MOHAMED                     CA     90007374222
1BB5989555715B   GAVINA        TAVERAS                     VA     90015198955
1BB59994731687   TRACY         HOOD                        KS     22075069947
1BB5B143993773   ROSANNA       FIELDS                      OH     66020951439
1BB5B299433699   DAVID         CANTY                       NC     90013012994
1BB5B59374B23B   ALIAKSANDR    BALABANAVA                  NE     27073865937
1BB5B816691263   GAIL          TAYLOR                      GA     90014558166
1BB61314372B55   MARIA         ORNELAS                     CO     90007153143
1BB613A765B335   JOHN          ADAMS                       OR     90004283076
1BB6167A393759   JAMES         LOOKABAUGH                  OH     90014176703
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1122 of 2350


1BB61716755948   ANTONIA       MANCILLA                    CA     49095017167
1BB61727A57147   DIONISIO      GUZMAN                      VA     90012357270
1BB6179125B343   GABRIEL       MARTINEZ                    OR     90011617912
1BB62191861958   CHRIS         WICHMAN                     CA     90014471918
1BB62562857562   LUIS          RUBIO                       NM     90008745628
1BB6257994B22B   CARLOS        MELENDEZ                    NE     27077045799
1BB63985291523   MARIA         ORTIZ                       TX     75058099852
1BB6437A543529   CRYSTAL       PARE                        UT     31083923705
1BB643A7A76B68   ROBERTO       ROSALES                     CA     46069973070
1BB64758855948   GUADALUPE C   FABELA                      CA     90012817588
1BB651A1961936   ANDRES        CHAVIRA                     CA     90011821019
1BB6562A561972   RAFAEL        RODRIGUEZ                   CA     90014016205
1BB65821331456   CYNTHIA       CHATMAN                     MO     27583598213
1BB663A568B193   SHAWN         HARMAN                      UT     90012323056
1BB66465293745   DEEANNA       SCHUMACHER                  OH     90014194652
1BB6657A87B489   JARMORRIS     SIMS                        NC     90010205708
1BB6671465715B   BERNARD       THREAT                      VA     90003967146
1BB66949A5B526   ANGELINA      GALVAN OCHOA                NM     35022179490
1BB66A65133699   YOLANDA       CRUZ                        NC     90009330651
1BB67154947956   CLARISSA      AUSTIN                      AR     90014811549
1BB671A6A71932   SARAH         KESSACK                     CO     32020271060
1BB67363357142   DANIEL        ORELLANA                    VA     90005863633
1BB6795687B489   LAMARIS       LOCHART                     NC     90002659568
1BB68472851337   FLORENCIO     AGUILAR                     OH     90014874728
1BB6848274782B   WILLIC        JENKNS                      GA     90013594827
1BB68581376B68   ALEXIS        GONZALEZ                    CA     46033135813
1BB68622357147   MARIEL        LOPEZ                       VA     90013076223
1BB6862988B199   JESSICA       GEBO                        UT     31024576298
1BB6862A861972   MOISES        VILLAPANDO                  CA     46066046208
1BB6891A755948   VICTORIA      GRANADO                     CA     90014519107
1BB6927997B428   MARCELINA     AVITER                      NC     90001352799
1BB69297576B68   DORA          RODRIGUEZ                   CA     46040192975
1BB693A466192B   SHAWN         BELLOWS                     CA     46000863046
1BB695A4133699   GLENDORA      PAYNE                       NC     90013545041
1BB69925A5715B   JOSE          VENTURA                     DC     81095639250
1BB6B21278B199   CRYSTAL       MADSEN                      UT     90014962127
1BB6B51A361976   MICHAEL       GALLO                       CA     46055055103
1BB6BA34657549   GERI          PHILLIPS                    NM     90006100346
1BB711A1257199   INGRIS        UMANZOR                     VA     81065501012
1BB71552155948   JULIA         GARCIA                      CA     49040515521
1BB72198493773   CORBET        HOLLON                      OH     66079771984
1BB72444561938   DANIEL        CARVER                      CA     90014754445
1BB7262A561972   RAFAEL        RODRIGUEZ                   CA     90014016205
1BB72722991523   ELAINE        MEDINA                      TX     75009037229
1BB7285825B526   SAMUEL        LUJAN                       NM     35063298582
1BB72877191895   STEPHANIE     TRIPLETT                    OK     90010398771
1BB73694333699   DENNETTA      DAWKINS                     NC     90011976943
1BB73849191523   VANESSA       WREN                        TX     90012408491
1BB73867493773   STEPHIN       WOODS                       OH     90014498674
1BB73936A5715B   ANGEL         CASTILLO                    VA     90013609360
1BB7412A555948   GURINDER      SINGH                       CA     90011461205
1BB74155191263   THERESA       WALKER                      GA     90010251551
1BB7448835715B   MARVA         ROCHESTER                   VA     81013994883
1BB7449A891569   GLORIA        PIEDRA                      TX     75009884908
1BB74931A76B68   JOSE CESAR    MUNGUIA SOSA                CA     90011879310
1BB74A14572453   MELISSA       WILLIAMS                    PA     90009380145
1BB7525358438B   BRENDA        GESEL                       SC     90007412535
1BB75652847956   TOYA          CRISP                       AR     24087146528
1BB756AA47B489   TRIA          HOWARD                      NC     11093006004
1BB7584A72B966   LOUIE         SAVALA                      CA     90013568407
1BB7591915B343   ELOISA        JOAQUIN MANUEL              OR     90002879191
1BB7596154B259   GRANT         DREYOVICH                   NE     27046059615
1BB76385661976   ISAAC         ACOSTA                      CA     90014053856
1BB766AA457147   DARIAN        SHAW                        VA     90012196004
1BB7689A52B966   MARIA         LOPEZ-GUZMAN                CA     90013568905
1BB76919A91895   CHANNELLE     SAMUELS                     OK     90014629190
1BB77185551337   STEPHANIE     BELL                        OH     90009711855
1BB7786A193766   TINA          KLEINMAN                    OH     90000218601
1BB77984161938   KAREN         PARGA                       CA     90012079841
1BB78715893773   SOPHIA        WILLIS                      OH     90007487158
1BB78A6672B966   MAYRA         ALEMAN                      CA     90013570667
1BB78A7832B963   RICK          REGUR                       CA     90005890783
1BB7934925B343   JUAN          CARLOS                      OR     90011813492
1BB7953985B154   CLARETTA      DANIELS                     AR     90014705398
1BB79549193759   LYNETTE       KRITZWISER                  OH     64515395491
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1123 of 2350


1BB7987798438B   MIGUEL        SILVA                       SC     19085048779
1BB79A41955948   JEREMY        SMITH                       CA     90013250419
1BB7B377761972   SALILA        GALLEGOS                    CA     90003213777
1BB7B55A731687   SHANE         EAST                        KS     90013905507
1BB7B983161976   MELISSA       RIVAS                       CA     90011769831
1BB81136261976   ROBERT        QUIÑONES                    CA     46010271362
1BB81213451337   JAMES         LAIDLAW                     OH     90012132134
1BB8122317B489   SHEILA        CAUSIEESTKO                 NC     11005552231
1BB81275151337   JESSICA       BOWMAN                      OH     90015002751
1BB81366855948   ALEX          ABINA                       CA     90014813668
1BB81458A5B35B   CINDY         MENDOZA                     OR     90004714580
1BB8179595B526   CHRIDTOPHER   ESPINOZA                    NM     90014847959
1BB8247A147956   DEREK         BETANCOURT                  AR     24052464701
1BB8257314B26B   SAMUEL        LOPEZ                       NE     26005775731
1BB8297885B35B   SAMANTHA      HUSSELMAN                   OR     90013409788
1BB82A9AA93759   DEBORAH       ROBINSON                    OH     90014160900
1BB8311885B55B   JEREMIAH      VALDEZ                      NM     90003691188
1BB83167993745   BRANDON       HUFFMAN                     OH     90012821679
1BB83256357147   ANTHONY       WERNER                      VA     90015392563
1BB8331237B489   PORSHA        HILLYER                     NC     90002743123
1BB83425997B63   MARK          LOVE                        CO     90006964259
1BB8358225B35B   DIANA         VONREKOWSKI                 OR     44585305822
1BB83A12493759   CRYSTAL       HANES                       OH     90014970124
1BB8415314B588   MARCELL       FLIENT                      OK     21573431531
1BB8424A62B966   NATASHA       VARGAS                      CA     90013282406
1BB84486193759   MINDY         SCOTT                       OH     90012814861
1BB84694A43563   DOUGLAS       GOALEN                      UT     90014966940
1BB8476A791263   MARION        THOMAS                      GA     90014597607
1BB84976161972   KAREN         RANGEL                      CA     46068529761
1BB8524A85B35B   DESIREE       MASSEY                      OR     90011942408
1BB85A36831687   KAYTELYNN     GERBITZ                     KS     90008830368
1BB8615657B489   SHARON        SMITH                       NC     90014831565
1BB8691645B343   ELISABETH     RUIZ                        OR     90014819164
1BB86A1A461972   CESAR         INIGUEZ                     CA     90015330104
1BB8729274B23B   NAKOMA        BAKER                       NE     27049832927
1BB88128293759   TARCIE        EVANS                       OH     64501661282
1BB8829A961972   RODELIO       SOSA                        CA     90014512909
1BB882A2461958   MARIA         ALADID SANTANA              CA     90012232024
1BB88328447956   JACKIE        BLANKENSHIP                 AR     90011273284
1BB8835A45B343   MARIA         MORALES GOMEZ               OR     90015183504
1BB8867385B526   FERNANDO      ARAGON                      NM     90015086738
1BB8882A661976   ERENDIRA      SANDOVAL                    CA     90012898206
1BB88917643563   JOHN          MERRILL                     UT     90013989176
1BB89312793766   RACHAEL       HALL                        OH     90014623127
1BB89741A76B68   MARIA         TREJO                       CA     90007897410
1BB8B694576B68   RAUL          VASQUEZ                     CA     90011396945
1BB8B73674B22B   GUADALUPE     ESCOBAR                     NE     90011797367
1BB91336943563   SARAH         WILLIAMS                    UT     90010813369
1BB9163735B526   JULIE         GROOMS                      NM     35051106373
1BB91721A4B23B   MELLISA       POST                        NE     27075977210
1BB91924355948   JESSICA       LUNA                        CA     90006759243
1BB91A55A71964   DONNA         STONEROCK                   CO     32039440550
1BB9238895B35B   WILLIAM       BATES                       OR     90014693889
1BB924A317B489   LAERICKA      CALDWELL                    NC     11097884031
1BB92537461958   EDUARDO       GRANADOS                    CA     46066555374
1BB92825861976   FRANKIE       GARCIA                      CA     90012788258
1BB92A71555948   ADRIANNA      MORENO                      CA     90013800715
1BB93365191263   WAYNE         PRICE                       GA     90010633651
1BB933A5531456   TEMPEST       FELTON                      MO     90012133055
1BB93427997127   NIKA          JACKSON                     OR     90011404279
1BB93523831456   TEMPEST       FELTON                      MO     90004275238
1BB9388134B259   NAMUAT        BACK                        NE     90011298813
1BB93945391899   MAURICIO      VASQUEZ                     OK     21035649453
1BB93961461976   ELIAS         LEDEZMA                     CA     46077349614
1BB93A98751337   MAURICIO      HERNANDEZ                   OH     66026410987
1BB9418795B526   LAWRENCE      GONZALES                    NM     90013351879
1BB9418A593773   JULIE         FINT                        OH     90011121805
1BB94421561958   NOEL          RIMANDO                     CA     90013634215
1BB94558257147   BETY          CHAVEZ                      VA     90010435582
1BB95491533699   JOHN          LOFTIS                      NC     12045674915
1BB957A8991899   JOHNNA        MARTIN                      OK     21062547089
1BB95959824B7B   BERNARD       HARRIS                      DC     90012189598
1BB959A1791523   GERARDO       VASQUEZ                     TX     90011959017
1BB95A2454B23B   DIANA         BLAKE                       NE     90010210245
1BB96444A76B68   ERICA         CHAVERO                     CA     90012744440
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1124 of 2350


1BB96472172B62   ANITA         QUINONEZ                    CO     33072094721
1BB96485472453   DONTAYA       SZAFRANSKI                  PA     90001804854
1BB9653A954198   JAMIE         BARON                       OR     90012865309
1BB96791793766   LADERRITKA    SANKS                       OH     90008327917
1BB9694A791895   KARAN         TAYLOR                      OK     90014629407
1BB9696A64B22B   AMY           WOOTEN                      NE     90008169606
1BB9712835B154   MICHAEL       SERRATO                     AR     23001461283
1BB97447951337   MICHEE        HAREY                       OH     66015794479
1BB9747145715B   OSCAR         ALCANTARA                   VA     81042024714
1BB97524193745   CHRIS         CHALMERS                    OH     64527755241
1BB97A9AA93759   DEBORAH       ROBINSON                    OH     90014160900
1BB9829A491523   MARTHA        AMATO                       TX     75028052904
1BB9855475715B   SIEKEI        ASIEDU                      VA     90012745547
1BB9B2A655B35B   JANIE         LAMANCE                     OR     90007822065
1BB9B348891569   JESSICA       ARMENDARIZ                  TX     90002723488
1BB9B452861976   AIDA          THAMES                      CA     90008624528
1BB9B724547956   JESSICA       CHAVEZ                      AR     90013257245
1BB9B852672453   KARON         ADAMS                       PA     51068698526
1BB9BA76693745   HEATHER       ISON                        OH     90003670766
1BBB1117755948   MARIA         TUDON                       CA     90010721177
1BBB1379871982   VALERIE       LUCERO                      CO     90007713798
1BBB1397A43529   KARLA         SILVA                       UT     90014903970
1BBB16A318B199   DAVID         WELLS                       UT     31087356031
1BBB1718291263   DELORIS       LLOYD                       GA     90013457182
1BBB184935715B   JERBER        LOPEZ LOPEZ                 VA     90006468493
1BBB225144B26B   KHADIJAH      RAUSHEED                    NE     90011442514
1BBB2918272B62   ISAIAH        JIRON                       CO     90013389182
1BBB2965972B25   THOMAS        GIBLETT                     CO     33028119659
1BBB3225A93773   COREY         STITH                       OH     90012892250
1BBB329375B343   ROBERT        SUMERLIN                    OR     90013172937
1BBB353764B22B   ROY           JACKSON                     NE     90014995376
1BBB386758B139   JORGE         JIMENEZ                     UT     90012998675
1BBB3A46761976   SHEILA        TOVA                        CA     46075360467
1BBB4271472B34   ASHLEY        MARTINEZ                    CO     90010322714
1BBB4313772453   BENJAMIN      RHOADES                     PA     51012893137
1BBB5299391263   ALVIN         CARTER                      GA     90013222993
1BBB55A8A91569   MARIBEL       RUEDA                       TX     75089305080
1BBB5622376B68   JORGE         OROPEZA                     CA     90014486223
1BBB5A89576B68   ANGELITA      HERNANDEZ                   CA     90013130895
1BBB6262661972   ASHELY        BROWN                       CA     90009912626
1BBB6611533699   DION          REED                        NC     90003306115
1BBB666454B588   MARKEISHA     SAMSPSON                    OK     21574386645
1BBB6858361976   AUTUMN        BARTLETT                    CA     90010768583
1BBB689535B154   CAROL         CHILDERS                    AR     23088178953
1BBB6A4147B489   SHABRIE       WHITE                       NC     90011020414
1BBB8435193759   RENEE         STIDHAM                     OH     90014674351
1BBB8527991569   VICTOR        RIVERA                      TX     75000025279
1BBB8631943529   EMBER         TROSETH                     UT     90015176319
1BBB88A814B22B   GINA          CEDERBERG                   NE     90007878081
1BBB8969957147   JOSE SANTOS   GONZALEZ                    VA     90011699699
1BBB9151893766   IVAMA         HUDFON                      OH     90014621518
1BBB9288793745   BRIAN         BROWN                       OH     90013782887
1BBB979A75B35B   DAVID         BLACK                       OR     44514827907
1BBB9A32672B62   SHERRY        MCNEIL                      CO     90012910326
1BBBB52635715B   SANTIAGO      ALEXANDER                   VA     90014035263
1BBBB56864B537   SHELLY        WATKINS                     OK     90012445686
1BBBB615191899   SHONDA        MCKENZIE                    OK     21041226151
1BBBB83A95B35B   ADAM          CLARK                       OR     90014318309
2111156645B571   GERALDINE     TRUJILLO                    NM     35082475664
2111166924B553   TIFFANY       NUSS                        OK     90004926692
2111179835B531   SHARLENE      GARCIA                      NM     35013117983
21111A36351369   ADAM          MCLEISH                     OH     90007150363
21112786A31453   BYUNGHEE      PARK                        MO     90007687860
2111326A54B261   EARLENA       HUDSON                      NE     90014822605
21113A4439189B   WANDA         MCCARTHY                    OK     90012410443
21114535172B42   RAFAEL        GARCIA                      CO     33086245351
2111478A74B588   DAVID         EVANS                       OK     90012027807
2111483959155B   MIRIAM        SAUCEDO                     TX     90007468395
2111497579184B   GONZALO       SUAREZ                      OK     90015189757
21114A2A341245   MICHELANDE    ST CYR                      PA     90008150203
21114A89A81661   STEPHEN       WILLIAMS                    MO     90014030890
21115282A91541   CHRISTIAN     GARCIA                      TX     90010732820
2111547A49184B   MELINDA       CREEKMORE                   OK     90011084704
2111567245B161   NATALIE       STEVENSON                   AR     23018106724
21115729772B88   VANESSA       MARTINEZ                    CO     33055447297
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1125 of 2350


211157A5A57157   ROSA         MARTINEZ                     VA     90015137050
2111648272B249   JAMIE        TYLER                        DC     90009514827
2111649185B531   IVAN         LUJAN                        NM     90012604918
2111676999155B   RUEL         SHAFFER                      TX     90013177699
21116A4377B699   TERELL       TOLBERT                      GA     90007790437
2111734119189B   OSMA         ALVARADO                     OK     21065203411
21117444972B88   ERIK         GRANILLO                     CO     90006084449
2111746952B27B   SAUL         GUEVARA                      DC     90010304695
21117976372B98   LILIAN       URIARTE                      CO     33057659763
21117A7119136B   PATRICK      HARRIS                       KS     90015020711
2111812937B699   BYRON        JONES                        GA     90014711293
21118669972B88   EMILY        LOW                          CO     90011286699
21118A15A84364   PATRICK      BURR                         SC     90001720150
2111921654B245   SAMMY        BIWOTT                       NE     90001172165
21119239472B42   CRISTINA     JAEN                         CO     33085852394
21119812172B88   LEANDRO      LOPEZ                        CO     33050448121
2111985222B232   GAIL         BICKERSON                    DC     90009178522
2111997722B232   GAIL         DICKERSON                    DC     90013359772
2111B69234B588   MANA         THANG                        OK     90013026923
2111B724347952   MERLIN       DURAN                        AR     90013687243
2111B73829184B   SHARI        TAYLOR                       OK     21043187382
2111B9A775B271   CHRISTA      HERNANDEZ                    KY     90014639077
2112161A79136B   ROBERT       DICKINSON                    KS     90012456107
21121A57557157   JOYCE        THOMAS-LEWIS                 VA     90008800575
2112262A67B449   MICHAEL      PERRY                        NC     11090956206
21122A73A9136B   LALMAY       OHAKAL                       KS     90015020730
2112346832B232   BJ           REDMAN                       DC     90014154683
21123A68A9155B   MONICA       CAMACHO                      TX     90014200680
2112447287B699   JAVIS        BLACKMON                     AL     90005814728
21124585372B98   BIANCA       RUSCITTI                     CO     90013955853
21124A6894B261   DAVID        JOHNS                        NE     27070980689
21125683487B87   ARNESS       FORNEY                       AR     23090256834
211257A619794B   NANNIE       CURTIS                       TX     74043947061
21125A91A9136B   JUAN         ORTIZ                        KS     90015020910
2112616419794B   VERNON       ROWE                         TX     74049041641
2112618AA72B88   TANISHA      LINTZ                        CO     33011031800
2112641914B588   DARLENE      PETTIT                       OK     90012424191
2112683579189B   SARAH        BOALS                        OK     21007498357
2112684949155B   BRENDA       ROSALES                      TX     90011228494
2112694717B699   TIM          HARRIS                       GA     90004099471
2112717975B531   DIANA        BACA                         NM     90013541797
21127937887B59   TIGER        ANDREWS                      AR     23089659378
2112831812B232   FETYA        IDRIS                        DC     90013953181
2112875247B858   DOSSOU       LEONCE                       IL     90002137524
2112939872B27B   KIANNA       WHITE                        DC     90012873987
2112986864B281   AMERETTA     TRUSLER                      NE     90013968686
21129996A55941   ROBBY        LANEY                        CA     90012129960
21129A92647952   SARA         MCCOY                        AR     90011010926
2112B225441245   FREDERICK    BOATENG                      PA     51094472254
2112BAA8891828   MIRANDA      NEASE                        OK     90012580088
2113125577B449   JOSE         DELGADO                      NC     90013912557
2113142345B531   JOSE         RODRIGUEZ MARTINEZ           NM     35090134234
21131938172B88   NIEVES       SAUCEDO                      CO     33093099381
2113258915B531   RICHARD      HERNANDEZ                    NM     35089625891
21132673772B42   GIANA        BONILLA                      CO     90014636737
211327A2931453   RICHARD      BURNS                        MO     90015277029
21132AA538B17B   PATRICK N    MOORE                        UT     90013760053
211331A4A72B88   MARIANA      ESPINOSA                     CO     90013761040
21133247987B59   RODRICK      JENKINS                      AR     90014482479
2113325162B27B   FRANSHAE     SWINNIE                      DC     90014112516
2113327988B17B   MICHELLE     MITCHELL                     UT     90011722798
2113339549155B   ALISSA       ORTEGA                       TX     90012503954
2113379A77B699   TORRIS       HUGULEY                      GA     90013407907
211339A694B261   TONY         VEGA                         NE     90012419069
2113434A59155B   JAMES        THOMAS                       TX     90013803405
21134625672B88   LOGAN        TAYLOR                       CO     33043516256
2113514417B699   JAMES        CHATMON                      GA     15094971441
21135561187B59   SHADEED      SALAAM                       AR     23095375611
2113558534B281   IVAN         INFANTE                      IA     90007485853
2113558659184B   TAMARA       HADNOT                       OK     90012085865
2113581874B588   ALISON       CARDENAS                     OK     90013628187
21135997187B21   REBECCA      TUCKER                       AR     90007079971
21135A56891984   CALVIN       MCCOY                        NC     90013620568
2113618A39189B   NENGPI       TOUTHANG                     OK     90013621803
2113641899189B   TEO          GONZALES                     OK     21089674189
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211366A738B17B   PABLO            ROMEO                    UT     90011656073
2113761895715B   DANIEL           WIGGINS                  VA     81007596189
2113784687B373   EMELIN           CRUZ                     VA     90001298468
21137925A57157   SERGIO           VILLAGOMEZ               VA     90012369250
21138127987B87   VANESSA          CONNER                   AR     23059041279
2113824454B261   CINDY            CUEVAS                   NE     90014152445
21138327A91828   TYNEISHA         WARE                     OK     90013343270
2113889497B449   MELISSA          ROWLEY                   NC     90005498949
21138A22791528   RUBEN            SAPIEN                   TX     90011460227
2113923797B471   GREGORY          TORRENCE                 NC     90014542379
21139A3467B449   SHERITTA         RODGERS                  NC     90014000346
2113B13139184B   BOBBY            KING                     OK     90012591313
2113B1A4441245   WILLIAM          KUYAT                    PA     90013511044
2113B429161939   ENRIQUE          CASTRO                   CA     90014814291
2113B562672B42   RONNETTE         MITCHELL                 CO     90008355626
2113B59A74B281   CLAYTON          BROWN                    NE     90007115907
2113B662281637   OLIVIA           AGUSTIN                  MO     90015296622
2113B68A88B16B   GUY              LANE                     UT     90008716808
2113B982972B98   MARK             VALDEZ                   CO     90011759829
211414A282B232   JOSEPH           NWANCHA                  DC     90015054028
2114192885B271   DANIELLE         PAYNE                    KY     90014639288
211419A9991241   HEATHER          HARLEY                   GA     14517059099
21141A12672B42   NOE              GONZALEZ                 CO     90013560126
21141A49572B98   ESTABAN          DELEON                   CO     90013970495
2114241A82B27B   CAROLYN          SHEPHERD                 DC     90012874108
211442A9257157   NATIVAD          DELCID                   VA     90014422092
21144591672B98   LUIS             LARA                     CO     90013955916
2114475119136B   EMILY            WATTS                    KS     90013007511
21145126A9189B   SIYA             DUNN                     OK     90009271260
211452AA19155B   EDUARDO          RODRIGUEZ                TX     75095682001
21145386972B42   KEITH            WELLS                    CO     33085553869
21145785A2B232   ARELI            LEON                     DC     90010937850
2114579312B27B   WENDY            FULLER                   DC     90015067931
21145A41A91828   ALICIA           CAMPOS                   OK     90009060410
2114614595B226   JEFFREY          BARTON                   KY     68056661459
21146296787B87   CURLEE           BUTLER                   AR     23019262967
2114642A42B232   AALIMAH          STEWART                  DC     90013954204
2114652595B936   JENILEE          SCHMIDT                  ID     90010915259
2114687579136B   VICTOR           DURAN                    KS     90015028757
2114698437B449   MIA              LITTLE                   NC     90014689843
2114765625B161   ERICA            HORTON                   AR     90013916562
2114769885B141   QUINN            LEWIS                    AR     90009386988
2114794385B271   EUGENE           STEVENSON                KY     90014639438
21147949A9184B   DEANNA           WOFFORD                  OK     90013519490
21147A3714B261   PATRICK          ANSON                    NE     27006870371
2114825975B167   WILL             SMITH                    AR     90014432597
2114866687B471   Z PU             KHUM                     NC     90010346668
21148A1215B571   JORGE            MELENDREZ                NM     35017760121
2114933389136B   ALLAN            RHOADES                  KS     90008663338
2114954155B167   DONALD           SINGLETON                AR     90002405415
211495A7581661   JUAN             GOMEZ                    KS     29082315075
21149865687B59   VICKIE           LANE                     AR     90013998656
2114986A64B281   RYAN             KORENE                   NE     90007238606
2114B364572B98   JOSEPH ANTHONY   BARNES                   CO     90008803645
2114B4AAA2B27B   MICHAEL          STEVENSON                DC     90012874000
2114B65AA5B531   ANTHONY          GARCIA                   NM     90009166500
2114B74619136B   ELNORE           SLOAN-SMITH              KS     90010087461
2114B868772B98   JOSEPH ANTHONY   BARNES                   CO     90013898687
2114BA8715B167   TONDAYLIA        WILLIAMS                 AR     23019270871
21151267A41251   BRANDI           WOLFE                    PA     90003872670
2115149285B167   JAMES            EVERETT                  AR     23086874928
211514A4A84364   CHANTEL          GLOVER                   SC     90013954040
21151831A87B87   KEVIN            BRYANT                   AR     90014978310
211518A8572B88   MAI              CHA                      CO     33056468085
211519AA655941   TOUHOUA          XIONG                    CA     90010059006
21151AA734B588   ANA              OSORIO                   OK     90007510073
2115214879155B   ANABEL           SANTOS                   TX     90010721487
2115246A791528   DIANNE           GOMEZ                    TX     75054344607
21152615972B42   MARIO            ESPINOSA                 CO     33000116159
2115316865B167   MARY             DANIELS                  AR     90013451686
2115364529155B   JUAN             CADENA                   TX     90006736452
2115394A47B449   ASHLEY           DUZAN                    NC     90014469404
21153A1942B27B   DANIELLE         TWISDALE                 DC     90007650194
2115472279136B   NATHANIEL        PARKER                   KS     90006147227
2115475655B167   REBEKAH          CUMMINGS                 AR     90013437565
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21154A49155957   DAVID         VIDANA                      CA     90004000491
21155243A9155B   BERENICE      BUSTAMANTE                  TX     90013942430
2115534729184B   NEL           MANG                        OK     90012443472
211555A7A5B167   JACK          RICE                        AR     90015315070
2115565A585938   LINA          VERDUGO                     KY     67029146505
211558A7472B88   TAMI          HURD                        CO     90007038074
2115623A191541   ERNESTO       MARQUEZ                     TX     90012072301
2115648832B27B   JUAN CARLOS   SALINAS                     DC     90014864883
211565A6A51343   GINA          BAER                        OH     90014315060
2115753794B281   MARK          HOLMSTROM                   NE     27080665379
2115793549155B   RAMON         FLORES                      TX     90002319354
21157A6492B841   BONNIE        LITTLE                      ID     90011570649
21158789A87B59   PAYGO         IVR ACTIVATION              AR     90014117890
2115B288955957   MICHELLE      CASTILLO                    CA     48076322889
2115B517191984   CHRISTOPHER   BARNES                      NC     90013725171
2115BA6665B571   MALLORY       DEVARGAS                    NM     90011510666
21161114A72B98   ANGELA        TWITO                       CO     90014871140
21161A35584364   SUSIE         HALL                        SC     19043610355
2116223994B281   DOUG          HOULT                       NE     27083152399
2116225985B531   BRITTANY      ROTZOLL                     NM     90013542598
21162413A72B42   ANA           CARRASCO                    CO     90012344130
21162A8624B588   MAQUAEL       TAYLOR                      OK     90011820862
2116315929189B   ALISHA        HATCHER                     OK     90000791592
2116388139155B   JOANNA        CONTRERAS                   TX     90011218813
2116484754B541   TIMOTHY       SAATHOFF                    OK     90005448475
21165453A97B4B   MARK          BURAK                       CO     90006834530
2116563A831631   ROBERT        HEPPLER                     KS     22046966308
2116617545B167   JUDITH        GONZALES                    AR     23026911754
2116676394B588   YONNA         TERRY                       OK     90014327639
211667A648B17B   SHAWN         BIRD                        UT     31056437064
21166A3519379B   BILLY         TWYMAN                      OH     64501480351
2116727A25B531   KATHY         DEL RIO                     NM     90013542702
2116798915B271   JAMES         HEADDEN                     KY     90014639891
21167A5949184B   JEFFREY       CLEMENT                     OK     21084930594
2116833555B167   JESSICA       WALDROP                     AR     90009083355
2116838817B449   ULYSSES       BARNES                      NC     90014883881
21168587372B88   LORENA        DELGADO                     CO     90008205873
2116871899136B   EBONY         BENNETT                     KS     90011997189
211688A4972B42   JAMES         SULARS                      CO     90013568049
21168A55A55941   KELLI         MADRIGAL                    CA     49097650550
21169478A72B42   BURRELL       WILSON                      CO     33077464780
21169548A87B87   KITARA        WEBSTER                     AR     90015215480
2116B275357157   ALICIA        RODARTE                     VA     90001652753
2116B723151369   EVERETT       VEASLEY                     OH     90013327231
2116B829231631   MAHOGANY      SNEED                       KS     90009998292
2117124922B232   PRINCE        WILLIAMS                    DC     90014362492
2117163A991541   DORA          DE LA PAZ                   TX     75028226309
21171693A5B571   IVAN          PLATA                       NM     90006266930
21172133A57157   ADRIANA       MACHADO                     VA     90012831330
2117259A755936   ROD           FITIAUSI                    CA     48093385907
211727A9757157   CARLOS        PALACIOS                    VA     90014847097
21173872A9136B   MARI ELENA    FERNANDEZ                   KS     90010178720
2117387879794B   AMILCAR       MIRANDA                     TX     74052458787
2117393A74B588   JORGE         MELCHOR                     OK     90009099307
21173997687B59   JENNIFER      JAMES                       AR     23042899976
211743A295B531   JESSICA       SANCHEZ                     NM     90013543029
211743A9681637   KATHY         SHELTON                     MO     29072203096
2117446954B245   HENRY         REDD                        NE     27096884695
21174488472B42   MELISSA       CARPENTER                   CO     90007544884
2117474325715B   LEONEL        ANTONIO MELENDEZ            VA     81063367432
211754A4491828   ROEL          SANDOVAL                    OK     90014864044
2117577969155B   GERARDO       RAMOS                       TX     90009517796
211759AA52B27B   TRACY         SHORT                       DC     90015079005
21175A8855B571   JASON         MORGAN                      NM     35022430885
2117647762B232   EZEKIEL       RASPBERRY                   DC     90010694776
2117671A74B245   PATRICE       VISSLAILLI                  NE     90004817107
21177524987B87   KENDRA        ADROW                       AR     90004615249
2117769A251343   MYA           GILL                        OH     90012226902
21177A23691833   TORRI         ULLRICH                     OK     90014920236
2117815557B471   SERAFIN       SANTIAGO JULIAN             NC     90000451555
2117818717B496   KAREN         SEARGENT                    SC     90009271871
2117826534B261   BRANNON RAY   LOWTHER                     NE     90014822653
2117826912B232   ALISHA        HESTER                      DC     90012872691
21178561472B88   CYNTHIA       LOZANO                      CO     90013375614
21178A38A72B98   ROBERT        KROLL                       CO     90011760380
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21178A66A9189B   BILLY         COOPER JR                   OK     21067760660
2117959427B471   LUVIA         TORRES                      NC     11009755942
2117972515B161   KESHUNNA      CALDWELL                    AR     90013917251
2117B1A1887B21   MISTY         DRENNEN                     AR     90008041018
2117B28715B167   BRIAN         TAYLOR                      AR     90014642871
2117B3A8A87B87   STEPHAINE     JAMES                       AR     23051783080
2117B61962B232   CATHERINE     DORSEY                      DC     90002256196
2117B746691542   ANGELES       BARRAGAN                    TX     75087487466
2117B99A45B271   ROBIN         HEIM                        KY     90014639904
2117BA25985938   TEARON        WATKINS                     KY     90001820259
2117BA2A99136B   DOROTHY       ALLEN                       KS     29021160209
2117BA57147952   YENI          MONTERROZA                  AR     24089770571
21181A72991984   SEFERINO      DIAZ MARTIN                 NC     90013490729
21181AA525B271   MARIA         CORRALES                    KY     90014640052
2118233135B531   CHRISTIAN     LEBUGHE                     NM     90013543313
2118239A991984   LEE           STORM                       NC     90013153909
2118246648B17B   LORENA        MAZZARO                     UT     90002744664
2118247499155B   ANTONIO       CHAVEZ                      TX     75058284749
211824A722B27B   IMEESHA       CLARK                       DC     90007184072
211826AA49794B   JUAN          LOPEZ                       TX     90000676004
2118286614B281   CONSTANCE     ROSE                        NE     27085598661
2118295A184364   SUSANA        VELASQUEZ                   SC     90006259501
211829A684B245   EILEEN        CARLSEN                     IA     27017059068
21183734672B88   JERMAINE      MARTINEZ                    CO     90014697346
21183848187B59   PERCY         LITTLE                      AR     90015338481
2118429474B245   BOBBI         SIMET                       IA     27005372947
2118473A19155B   MARIA         MARTINEZ                    TX     90004237301
211853A1685938   MICHAEL       HATTER                      KY     90005333016
2118576AA4B245   SHANTE        ROBY                        NE     90008617600
21185953A51333   MEGANE        HARVEY                      OH     90001259530
21185A26272B42   CHRISTAL      SANDOVAL                    CO     90010200262
2118625849189B   JACKLYN       ALVEREZ                     OK     90010952584
211867A364B261   T             ROUSE                       NE     27094157036
21186963472B42   MELECIO       CAZARES                     CO     90015129634
2118738129136B   RUBEN         HERNANDEZ                   KS     90010483812
21188472572B42   NOHEMA        DE LA TORRE                 CO     33027644725
211889A154B588   JERRY         SOUTHARD                    OK     90010909015
211889A6491241   WILLIE        HAWKINS                     GA     90013929064
2118913345715B   ALEJANDRA     CORRAL                      VA     81017501334
2118917447246B   MEGANNE       THOMPSON                    PA     90001641744
21189639587B59   JIMMY         BARBER                      AR     90008936395
2118B675A91241   EDDIE         JONES                       GA     14570626750
2119146462B27B   FELICIA       PRICE                       DC     90012874646
21191A29A72B42   JAMES         WANCHIK                     CO     90011000290
2119214779155B   MARICARMEN    RODORIGUEZ                  TX     90010081477
2119237A47B449   ERICA         BLAKENEY                    NC     90012533704
2119267114B245   LATISA        CROWDER                     NE     27057406711
21192A24A4B261   ROSHEA        JONES                       NE     27000140240
211931A129155B   LUIS          MARQUEZ                     TX     75087691012
2119333135B531   CHRISTIAN     LEBUGHE                     NM     90013543313
2119348745B271   BEVERLY       BARTON                      KY     90011964874
21193758A9136B   LUCINDA       WHITE                       KS     90009207580
2119421162B232   DANIEL        LONG                        DC     90012752116
21194212A5B571   BIANCA        ESTRADA                     NM     90010082120
211951A1572B88   MARGARET      RICE                        CO     90014691015
2119537445B531   JORGE         ALVARADO                    NM     90013543744
2119551A52B232   JAMES         WHITE                       DC     90013955105
2119553315B167   PATSY         PORTER                      AR     23022735331
2119619279189B   BRANDON       ALEXANDER                   OK     90013051927
2119662A64B245   CHRISTOPHER   YARPE                       NE     90002356206
21196726A5B167   MICHAEL       GOODEWIN                    AR     90008067260
211972A3A72B88   STEVEN        HAND                        CO     33010932030
2119733A37B699   LESLIE        SOLORZANO                   GA     15054773303
2119749885B571   JACOB         UTZMAN                      NM     90001294988
211977A6A91541   MARIA         REYES                       TX     90013207060
21198A4759155B   FABIAN        RAMIREZ                     TX     90010490475
21198A68991828   MICHEL        DUDLEY                      OK     21084280689
21199473872B88   JOSEPH        WOOD                        CO     90004124738
211999A4981638   TASHA         LAWSON                      MO     90011109049
2119B21654B588   JOHNNIE       SHELTON                     OK     90010932165
2119B327287B87   LATON         GRIFFIN                     AR     90015293272
2119B33A587B59   BRENDA        BATTLES                     AR     23070503305
2119B67197B471   VICTORIA      DAVIS                       NC     90013126719
211B119A95B167   LATOYA        MOORE                       AR     90014661909
211B1752491828   LISA          CANALIER                    OK     90012487524
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211B186574B281   AZIZ         ALISHERZODA                  NE     90003978657
211B1A87257157   GUY          DUBOIS JR                    VA     90014490872
211B2796A91241   CHINDAL      PETERSON                     GA     90015037960
211B288292B841   OWEN         MORRIS                       ID     90002868829
211B3113231631   DEMETRIA     MNTOGOMERY-WILSON            KS     90014841132
211B386729189B   TERESA       DAWN                         OK     90013918672
211B3976357157   ROBERT       DEAL                         VA     90012079763
211B39A454B261   AMY          SCHOVANEC                    IA     90014829045
211B4191531453   CANDICE      FLEMING                      MO     90014711915
211B4263881637   KENNETH      WELLMAN                      MO     90015502638
211B4291381661   ASHLEIGH     DUBOSE                       MO     90014752913
211B458A772B98   DAVID        ABEGG                        CO     90013955807
211B4652831453   CANDICE      FLEMING                      MO     90011616528
211B467444B245   SHAWN        JOHNSON                      NE     27084226744
211B471776195B   ALEJANDRO    GONZALEZ                     CA     90010837177
211B4784A5B161   MADLYN       BEASLEY                      AR     23007587840
211B479A79155B   JESUS        LUJAN                        TX     90008507907
211B5237972B98   HEATHER      ALBANESE                     CO     33014272379
211B5431647952   TASHEMA      THOMAS                       AR     90005224316
211B5449672B98   CHAD         ALBANESE                     CO     90014444496
211B5979481661   RUBEN        FLORES                       MO     29014609794
211B5A74931453   CATINA       WILLIS                       MO     90006900749
211B6117957128   FRANCISCO    PADILLA                      VA     90002251179
211B61AA687B59   RAYMOND      ROBINSON                     AR     23094511006
211B669474B261   ROSELYNN     REZAC                        NE     90007566947
211B685958B17B   GERONIMA     PEREZ                        UT     90009718595
211B692294B588   MARIE        HUNT                         OK     21569709229
211B7113487B21   TIFFANY      NICHOLS                      AR     90009471134
211B717A39155B   RICARDO      VALDEZ                       TX     75087871703
211B7259855941   SAMUEL       CAMACHO                      CA     90007962598
211B75A8A2B232   CHARLES      DUNNINGTON                   DC     90003975080
211B767257B471   KELLY        LEANNE                       NC     90001856725
211B778719184B   COZETTA      LEWIS                        OK     21030837871
211B782257B699   YOLONDA      SCOTT                        GA     90006088225
211B8167791984   GINA         VILES                        NC     90010681677
211B8344184364   THOMASHIA    ROBINSON                     SC     90011043441
211B839295B571   JENNIFER     GREGG                        NM     90010473929
211B884727B471   MORRIO       MCILWAIN                     NC     90012088472
211B885782B27B   JASMINE      HOLLOWAY                     DC     90014858578
211B8927887B59   KEVIN        SULLIVAN                     AR     23081359278
211B8934531455   EDWARD A     NEWA                         MO     90009469345
211B89A9891528   LIZBETH      ACOSTA                       TX     90009579098
211B9156687B87   VERONICA     HOLLY                        AR     90010821566
211B9186A55957   JUAN         MEDINA                       CA     48095581860
211B9A76331631   ANN          DENNIS                       KS     90007600763
211BB238572B42   KEVIN        ROWLEY                       CO     90011372385
211BB44A251343   AMY          HILDERBRAND                  OH     90011004402
211BB672355957   ROSA         HERNANDEZ                    CA     90014786723
211BB816284364   CHRIS        WHEELER                      SC     19087448162
2121115635715B   BENEDICTO    MORALES                      VA     81017501563
21211919497B69   GUSTAVO      CAMPOS                       CO     90014699194
2121235837B471   NORA         MORATAYA CRUZ                NC     90008163583
2121269249155B   ANA          PIEDRA                       TX     90015176924
212126A4A7B699   ALISHA       ANDREWS                      AL     90013996040
21212739A4B588   STEFAN       FOSTER                       OK     90014727390
2121293475B531   PATRICIA     JAQUEZ                       NM     35055979347
2121332717B699   BRANDI       WASHINGTON                   GA     90003123271
2121358535B271   MAUREEN      HERNANDEZ                    KY     68007445853
21214A41972B88   DOUGLAS      SHOEMAKER                    CO     33007740419
2121561A287B87   SUSAN        MCCRARY                      AR     90014846102
2121569249155B   ANA          PIEDRA                       TX     90015176924
21215A1245B375   CURT         JARMER                       OR     44549430124
21215A46631453   KIMBERLY     POWERS                       MO     90010330466
21215AA2441245   KELLY        JONCAS                       PA     90010000024
212162A4898B62   GEORGE       LEACH                        NC     90013332048
2121639419189B   JOHN         KING                         OK     90014883941
2121658829136B   BRETT        MCCOOL                       KS     29033115882
21216682A5B161   DONNA        PORTER                       AR     90014876820
21216928687B21   BRIAN        EILER                        AR     90011759286
2121735539376B   PATRICIA     SCHEAR                       OH     90010053553
21217456972B88   MIGUEL       GONZALEZ                     CO     90009134569
212176AA891541   JACKIE       BENECK                       TX     90011176008
2121822A855957   JUANA        VELASQUEZ                    CA     90002782208
21219421172B42   BERENCE      VARELA                       CO     90013084211
2121949A491833   TINA         EDWARDS                      OK     21003044904
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2121988764B588   PATRICIA     MCMAHAN                      OK     90007218876
2121B44845B531   JOSE         LEGARDA                      NM     90013544484
2121B61A272B98   GLORIA       LEDESMA                      CO     90013956102
2121B78A887B87   SHERMAN      WHITE                        AR     23039157808
2121B847A5B167   REANNA       MARSHALL                     AR     90014788470
2121B85817B699   AJA          SNEAD                        GA     90015298581
2122145119136B   CHERYL       DOWDY                        KS     90011194511
2122145247B699   TOMETO       WILLIAMS                     GA     90014384524
2122162A185938   DONNA        GREEN                        KY     67062186201
2122174A65715B   CESAR        GARCIA                       VA     90013447406
2122289572B232   GLINIS       FLORES                       DC     90013988957
21222A1317B699   CHRISTY      MATHIS                       GA     15008690131
21222A26972B98   FRANK        UNDERHILL                    CO     90013970269
21222A6785B167   JIMIANNE     BARNES                       AR     90011310678
212252A7272B88   NAHUM        OSORIO                       CO     33073222072
2122544373378B   KEVIN        BROWN                        LA     90013934437
21225A63251369   MILO         MARSHALL                     OH     66046250632
21225A78191828   BRIAN        SANDERSON                    OK     90014580781
2122648678B17B   XIOMARA      GUINEA                       UT     31064174867
2122668849136B   TONYA        CPRUM                        KS     90002666884
212267A1A9794B   FELIX        GARCIA                       TX     90011557010
21226925A7B471   MATTHEW      GARDNER                      NC     90014779250
21226A64281658   TERRENCE     JORDAN                       MO     29055910642
21227257A51343   JOHN         WILLIAMSON                   OH     90001822570
212272A924B588   MICHAEL      WARREN                       OK     90010622092
212278A179184B   ERICA        ROOKS                        OK     90012598017
2122845754B281   ANGELO       BECERRA                      NE     27003204575
21228558272B42   EGLEN        GALINDO                      CO     90012985582
2122976A557157   VICTOR       GUZMAN                       VA     81017847605
2122997942B242   TAMIKA       HOLLEY                       DC     90001589794
2122B15852B232   WUBSHT       KIFLE                        DC     90013971585
2122B18415B271   DENNIS       HERRON JR                    KY     90013881841
2122B349855957   DANIEL       MASSIE                       CA     90011683498
2122B476651343   LARKIN       DEVIN                        OH     90011004766
2122B548887B87   LATONYA      CARTER                       AR     90015215488
2122B59239184B   KAYLA        WHITE                        OK     90015195923
2122B72749136B   RINALD       DINNEY                       KS     29069687274
2122B751691828   KESHIA       WILLY                        OK     90001767516
2122BA3119184B   MARIA        JAIMES                       OK     90011930311
2123112532B27B   SHANTELL     CRAWFORD                     DC     90015361253
21231591A81661   SOFIA        CASTELLANO                   MO     90011505910
212315A8955941   FLORDELIZA   MORENO                       CA     90013425089
2123176A17B699   TIFFANY      LANE                         GA     15010037601
21231A96572B98   ESTEBAN      SOSA                         CO     90011760965
2123255754B588   DENISE       RAMEIREZ                     OK     90008625575
2123267195B161   CARLOS       HERNANDEZ                    AR     23097866719
21232697372B88   TIFFANI      WHITEBREAD                   CO     90011286973
21233371272B88   DENISE       DRESSLER                     CO     33093913712
2123343522B232   CHRISTIAN    CARTER                       DC     90013124352
2123348945B167   CHARLENE     SPARKS                       AR     90013904894
21233A25A31631   STACI        DEBOER                       KS     90015480250
2123453558B17B   HEIDI        ROUSH                        UT     90013585355
2123475415B167   TANGELA      SHELTON                      AR     90011447541
212351A3A72B98   WENDY        LOPEZ                        CO     90011761030
212353AAA91541   RAFAEL       BORRUEL                      TX     75057273000
2123554245B531   ROSA         GARCIA                       NM     90013545424
2123566384B281   ERIKA        DURAN                        NE     27050266638
2123567637B449   LAKESHIA     TRAPP                        NC     90011586763
212357A475B167   ROBIN        MCCALLISTER                  AR     90012927047
21235878472B88   IGNACIO      SALAS                        CO     33000658784
2123619124B281   JAMES        SEVERA                       NE     27007131912
2123635384B588   MARTHA       FRIAS                        OK     90013963538
2123652918B15B   AMANDA       BITNER                       UT     90012845291
2123676912B931   MATTHEW      HARDIN                       CA     90007907691
21237235A72B88   DELORES      MASON                        CO     90012792350
2123738A24B588   JOSE LUIS    RIOS                         OK     90012013802
2123754764B261   JOSE         ALVAREZ                      NE     27049185476
21237A8835B571   RAQUEL       ROYBAL                       NM     90011280883
2123848A17B699   DAVID        DOVER                        GA     90014974801
2123859A881661   MIKE         WUELLNER                     MO     90010935908
212389A654B281   ERNESTO      AVILES                       NE     90013969065
2123977A887B21   CRYSTAL      GOFF                         AR     28087187708
21239824472B98   MARICELA     HERNANDEZ                    CO     33046468244
21239848A31453   CHARISTAL    HAYNES                       MO     90013588480
2123B127672B88   JOHNETTA     SANDOVAL                     CO     90012951276
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2123B13225B271   LAURA        JIMENEZ                      KY     90014641322
2123B417987B87   MELBA        LEE                          AR     90013544179
2123B46A751343   VONNETTA     RIDLEY                       OH     90012514607
2123B974557157   GIBRILLA     MANSARAY                     VA     90007899745
2123BA9A947952   CRYSTAL      WOODHAM                      AR     24095050909
2124119A151343   AUSTIN       MORRIS                       OH     90015301901
2124175A891833   AMANDA       ANKERSHOLD                   OK     90003357508
2124271444B245   LARRY        GEISTFELD                    IA     27030567144
21242A91991541   LILIA        RODRIGUEZ                    TX     75001600919
21243122387B87   KEONNA       ROBINSON                     AR     90010471223
2124366463B133   CAROLINA     GARCIA                       VA     81035986646
21244666472B98   ANA          TREVINO                      CO     90008056664
2124472979184B   NATASHA      GOMEZ                        OK     90013317297
21244AA8384364   MISHIMA      BRADLEY                      SC     90014730083
2124516A331631   WINDY        SMITH                        KS     90003441603
21245239872B88   ESPERANZA    SANTILLANO                   CO     90012792398
21245274A61959   DELIA        RODRIGUEZ                    CA     90009352740
2124535345B161   SHERMA       BRADLEY                      AR     23008943534
2124542324B261   BRENDA       HARMON                       IA     90005724232
212454A575B167   DENISE       DEAN                         AR     90009774057
2124583739155B   TOMAS        GRACIA                       TX     90009438373
212458A719184B   ANTONIO      KELLUM                       OK     21030858071
2124598437B449   MIA          LITTLE                       NC     90014689843
21245A71987B87   MARY         ROBINSON                     AR     90003210719
2124674654B588   ROSA         REYES                        OK     21561177465
21246A38991831   AURELIO      ROMO                         OK     90012610389
21246AA3451369   STEPHANIE    MAXWELL                      OH     66082010034
212473A357B449   JALENA       BROWN                        NC     90010143035
21247412A61921   LUIS         RASMUZZEN                    CA     46089244120
21247524687B21   CHARLES      LOWRY                        AR     90002885246
21248554A5B167   JOSE         FIGUEROA                     AR     23030735540
2124874849794B   MARY         GONZALES                     TX     74042417484
2124883A74B588   JORGE        GOVEA                        OK     21593758307
21248917272B88   ANA LAURA    MARTINEZ ROBLES              CO     90014139172
21248A6A891541   PATRICIA     ACOSTA                       TX     90009720608
21249265824B55   ANAGIL       BENITEZ                      MD     90013922658
21249444887B59   DAVID        CAMP                         AR     90015244448
21249697587B87   STEPHANIE    DISMUKE                      AR     23035016975
2124B162991542   FRANCISCO    PIZARRO                      TX     90008241629
2124B387472B42   TRISH        SEBESTA                      CO     90012463874
2124B39587B699   ELIGIA       TURPIN                       GA     90014453958
2124B56544B281   LUCAS        KOENIG                       IA     90014385654
2124B583491541   MARIA        RAMIREZ                      TX     90003975834
2124B645481637   OMINI        ANDERSON                     MO     29048956454
2124B9A2A9184B   HILL         JANELLE                      OK     21000569020
2125113115B167   JANICE       JOHNSON                      AR     23000811311
21251464A84364   TIFFANY      GLOVER                       SC     19086474640
2125162989136B   BRENT        DARRTH                       KS     29067706298
2125244A39136B   SHERITA      CONWAY                       KS     90015054403
21252718A93727   BRANDY       TAYLOR                       OH     90012967180
2125382739155B   SOCORRO      OCON                         TX     90013048273
21253953A87B59   DWIGHT       DESHAZIER                    AR     90012529530
2125422419189B   CAMERON A    JARRETT                      OK     90010732241
2125442444795B   KIMBERLY     DAVIS                        AR     90002514244
2125481215B167   SHUNDA       SHAVERS                      AR     23042898121
2125495447B644   TRACY        GONZALES                     GA     90001699544
21255111A33122   ASHLEY       HIGHPOWER                    IL     90015081110
2125515744B245   ANN          ROGERS                       NE     90009771574
2125519935B271   KENNY        WILLIS                       KY     90014641993
2125526954B588   COREY        BONNER                       OK     90015302695
21255724A51343   VIANCA       JARRELL                      OH     90007467240
2125612175B161   LUDICHA      MOORE                        AR     90013751217
21257168987B87   CHARLIE      ROGERS                       AR     90011411689
2125735719184B   WHITNEY      LAHANN                       OK     21083123571
2125736847B699   TUNISHA      BROWN                        GA     90011153684
2125744A39136B   SHERITA      CONWAY                       KS     90015054403
21257574972B31   TERESA       GONZALEZ                     CO     90004225749
21258597787B87   PAYGO        IVR ACTIVATION               AR     90011975977
2125871139184B   JOSE         ROMERO                       OK     90009547113
21258A1475B255   KENNETH      THOMPSON                     KY     68064750147
2125946517B471   JUANITA      JOHNSON                      NC     11061224651
2125B23959155B   DIANA        JASSO                        TX     75027042395
2126199A287B87   DAVID        WOOLFOLD                     AR     90013909902
21261A2865B54B   ARIEL        HOMER                        NM     90014880286
21261A7A291241   ISAAC        WADE                         GA     90008090702
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212634A942B931   ASHLEY       PERRY                        CA     90012754094
2126423374B245   CERITTA      SAVAGE                       NE     90009282337
2126487829184B   JUDI         QUIROZ                       OK     90013858782
21264A67931453   CODY         HESS                         MO     90015540679
21265172A5B161   TOMMY        RIGGINS                      AR     90002951720
2126519889189B   KENNETH      LUDOLPH                      OK     21028781988
212657AA97B449   GERARDO      SERRANO                      NC     90007027009
21265A68984341   JACQUELINE   SIMMONS                      SC     90012100689
21266197A8B17B   DAVID        JIMENEZ                      UT     90004171970
21267137A72B61   NATINA       CALLUM                       CO     90013141370
2126775479794B   BRANDON      DONOHUE                      TX     74095937547
2126827199155B   PEDRO        RINCON                       TX     90013942719
2126837952B27B   TYANNA       GIBSON                       DC     90001313795
21268415387B87   CODY         JACKSON                      AR     90015594153
212689A8791541   MARIA        MONTELONGO                   TX     90010329087
2126955332B27B   FLOYD        LITTLE                       DC     90012875533
212695A127B471   CHASITTY     GRIER                        NC     90000515012
2126B28865B571   ANA          RIVERA                       NM     35097122886
2126B3A4584364   CEFERINO     GIL TORRES                   SC     90014773045
2126B53797B471   LARRY        ADAMS                        NC     90010925379
2126B6A764B281   JOHN         CARROLL                      NE     90010146076
2126B711491241   PRECIOUS     SANDERS                      GA     90012977114
2126B772757157   ESTELA       CASTILLO                     VA     90014697727
2126B811584364   BRIANNA      LINGARG                      SC     90014788115
2126BA48372B35   AMBER        MARTINEZ                     CO     33098500483
2127123692B232   CHAZ         FRANKLIN                     DC     90012752369
2127154275B161   RONALD       AJOKU                        AR     90010905427
2127263999136B   ERIC         GANT                         KS     90008386399
2127264594B581   HELEN        LTTLEJOHN                    OK     90008896459
2127266AA9184B   LISA         PIPKINS                      OK     90009956600
21272688A5B271   GISELA       SAENZ                        KY     90011056880
21272862487B87   ALISHA       CANNADY                      AR     90015038624
21272A13541245   JOHN         GARDONE                      PA     90014730135
2127382538B17B   JEREMY       MAESTAS                      UT     90008628253
212739A259155B   JOSE         DIAZ                         TX     90014909025
21273A28A81637   JOSE         ARGUETA                      MO     29012590280
21273A47355957   RAFAEL       HERNANDEZ                    CA     90006040473
212742AA857157   ELUISA       MARTINEZ                     VA     81018172008
2127456762B27B   JULIUS       MCNEELY                      DC     90012875676
2127498844B245   TAMEIKA      ROYSTER                      NE     90008859884
2127566252B232   NELSON       CASTRO                       VA     90002996625
2127569249155B   ANA          PIEDRA                       TX     90015176924
212757A1A9136B   YENI         REYES                        KS     90014847010
2127589735B167   DELISA       SCOTT                        AR     90012938973
21275A27181637   ANDREW       REIFF                        MO     29083180271
2127655A74B588   NATALIE      REED                         OK     90008475507
2127672A581661   SHARMAN      LANG                         MO     90009807205
21276894A4B588   JAMES        QUARLES                      OK     90014868940
2127724245B271   PAUL         SKEEN                        KY     90014642424
2127744A45B161   ROLANDO      RAMIREZ                      AR     90014064404
21277763287B87   STEVE        MEEKS                        AR     23094627632
2127782465B167   GLENDA       DODDRIDGE                    AR     90014768246
21277AA254B261   NANCY        FINLEY                       NE     27073170025
2127811945B167   QUINCY       HILL                         AR     23086351194
2127815929184B   DREW         CRUMMOND                     OK     90008981592
2127848635B571   DANIEL       GARCIA                       NM     90010474863
2127853963B333   VALERIE      ZERAH                        CO     33080325396
21278654A47952   JACEY        HORTON                       AR     90013626540
21278663772B88   CARISSA      SCOTT                        CO     90004496637
2127896915B161   STACEY       MORAGNE                      AR     90013119691
212789A1872B98   EUSEO        CHAPARRO                     CO     90013049018
21279219787B87   MARIKOS      BOWENS                       AR     23073352197
2127965742B27B   CRYSRTAL     WHITE                        DC     90014056574
2127B121487B59   MAURICE      BULLOCKS                     AR     90014031214
2127B1A4387B87   JOSHUA       HARRISON                     AR     90013711043
2127B24774B588   QUONDONIA    REED                         OK     90010782477
2127B28249184B   JUSTIN       CLAIBORNE                    OK     90013302824
2127B327A72B88   SHERRY       GARCIA                       CO     90012083270
2127B361381638   ROB          SIPPEL                       MO     29051493613
2127B43624B281   MARIA        LUCIA                        NE     90005294362
2127BA72851343   RONALD       BLACK                        OH     66012010728
2128139A991984   LEE          STORM                        NC     90013153909
2128166799794B   KATHY        CULBRETH                     TX     74011556679
21281866372B42   LINDA        URIBES                       CO     90013458663
212825AA172B98   ALEJANDRO    CALDORAN                     CO     33078515001
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21283361372B42   TERESA       OBANNON                      CO     90011353613
2128357399189B   TYLER        STONE                        OK     90012355739
2128519965B161   DANIEL       PRUNTY                       AR     90015171996
2128551683B495   KERRIE       FULLER                       WV     90015435168
2128661519794B   ARON         CHAVEZ                       TX     74044676151
21286A18672B42   VERONICA     SIMS                         CO     33007450186
21287168A7B449   CRYSTAL      WEBB                         NC     90011101680
212877A567166B   SEMIR        SMITH                        NY     90015447056
2128815749152B   JAVIER       ALVAREZ                      TX     90007841574
21288186A31453   JENNIFER     GOODMAN                      MO     27501491860
21288276887B87   DESMOND      JENKINS                      AR     23050092768
2128832859155B   MIGUEL       OCAMPO                       NM     75050513285
2128849A455957   BRET         SKAGGS                       CA     90005264904
21288A63387B59   HEAVEN       CHAMPION                     AR     90013550633
2128966889184B   TANYA        JEFFERSON                    OK     90010036688
212897A4731453   KACEE        SIMMS                        MO     90010427047
2128984284B231   VICKI        HICKS                        NE     90008738428
2128989AA81637   CARMEN       PEREZ                        MO     90012578900
2128B138151369   ANGELA       DAWES                        OH     66017541381
2128B21335B167   OSCAR        PORTILLO                     AR     90007992133
2128B25639155B   LAURA        VASQUEZ                      TX     90012672563
2129127469184B   CHRISTY      HUTCHCRAST                   OK     21011392746
21291454387B87   NICKEY       BRIGGS                       AR     23066624543
2129188954B588   JONY         GONZALES                     OK     90014208895
21291A75284364   DOREEN       WILLIAMS                     SC     90015240752
21292294272B88   ADRIANA      LOPEZ                        CO     90011342942
212923A8185938   WILLIAM      NANGUELU                     KY     90007643081
21292A91672B98   JOHN         MOYA                         CO     90005520916
2129311699136B   JUAN         MELCHOR                      KS     90002801169
2129427267B699   SAMANTHA     SCHIRIPO                     GA     90010112726
21294292672B98   HEATHER      YOUNG                        CO     33031492926
2129441659136B   VERSELL      GEE                          KS     90015064165
21294A5274795B   EDWIN        FITZGERALD                   AR     25013470527
2129542265B531   ANGELICA     GAYTAN                       NM     90007284226
2129551112B232   TONY         BEE                          DC     90000775111
21295891972B88   SHEEVA       OLMSTEAD                     CO     90009988919
212962A492B232   BRANDON      SMITH                        DC     90013992049
2129659567B699   SERINA       TILLMAN                      GA     90013785956
2129711414B588   BRIDGELYN    CHRISTIAN                    OK     90011621141
21297368387B59   DEBRA        COOK                         AR     90014153683
2129749645B271   SHAKAA       ZULU                         KY     68030204964
21298259587B87   BONITA       IVERSON                      AR     90003942595
212983A3851331   DANIELLE     SIEMER                       OH     90009523038
2129882A25B531   JORGE        SALAZAR                      NM     90013548202
212992A3851343   ROBERT       KENNEDY                      OH     90013242038
2129939979155B   RODRIGUEZ    BRIDGETTE                    TX     90012763997
212993A938B17B   ARMANDO      GARCIA                       UT     31060963093
21299534A81661   DELANA       SUKRA                        MO     90011085340
2129985119189B   CREA         CHATMAN                      OK     21093318511
2129B66315B167   ROBERT       HAYES                        AR     90011006631
2129B694587B87   SHAQUONA     SMITH                        AR     90013356945
2129B76757B699   WHO          ME                           GA     90013867675
2129B79397B699   CORDETRA     SHABAZZ                      GA     90014897939
2129B97A19155B   MANUELA      RAMOS                        TX     90009019701
212B131472B27B   JULIAN       BUCKNER                      VA     81095983147
212B183AA85872   MICHELLE     CHAMBERS                     CA     90002668300
212B184795B161   DWAYNE       HARRIS                       AR     23082008479
212B232844B245   SHAWANDA     COMBS                        NE     90008083284
212B239525B531   REUBEN       VIGIL                        NM     90013543952
212B248529189B   KEVIN        SMITH                        OK     90008454852
212B2682151343   JOHN         HALL                         OH     66041186821
212B2A42587B21   GARY         METZ                         AR     28032160425
212B345119136B   CHERYL       DOWDY                        KS     90011194511
212B346145B531   RIGOBERTO    DOMINGUEZ                    NM     35092574614
212B3516A91828   PATSY        HARDESTY                     OK     90014755160
212B3524591984   ZELENAH      BLYDEN                       NC     90010695245
212B3559991541   FRANCISCO    RODRIGUEZ                    TX     90012095599
212B3682151343   JOHN         HALL                         OH     66041186821
212B3A3748B17B   ALYSE        SNYDER                       UT     90009180374
212B4A6A35B271   WILLIAM      CAREY                        KY     90012410603
212B526A791541   IMELDA       QUINTANA                     TX     90011642607
212B6171747952   JOSEPH       BURGESS                      AR     90013471717
212B619355B161   TIMOTHY      SUMMONS                      AR     90002041935
212B643116B134   FABIO        GOMEZ                        MS     90015464311
212B6523455957   HEMBERTO     GOMEZ                        CA     90013065234
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212B665A19155B   LAURA         FLORES                      TX     75050076501
212B72A337B699   OCTAVIA       PERRY                       GA     90013352033
212B7494147952   ALISHA        CHRISTENBERRY               AR     90011354941
212B7514487B59   LINDA         EADES                       AR     90015115144
212B7817984364   SANTON        SANDOVAL                    SC     90013968179
212B832859155B   MIGUEL        OCAMPO                      NM     75050513285
212B849257B471   ANGELICA      NAVA                        NC     90003044925
212B8861A4B588   ROBERT        SMITH                       OK     90001358610
212B8918791828   JAMES         CARPENTER                   OK     90012659187
212B899A16B931   ROBIN         SLACK                       NJ     90013729901
212B8A22372B42   CASSANDRA     USEA                        CO     90015030223
212B987114B261   SUSAN D       MAPES                       NE     27098268711
212B9916191541   ELSA          GARATE                      TX     75055799161
212B9A3815B271   CHRISTOPHER   RICHARDSON                  KY     90014840381
212B9A5617B449   MUSSIE        KAHSAY                      NC     11076650561
212BB188951343   ROBIN         BOLT                        OH     66097741889
212BB19889189B   KENNETH       LUDOLPH                     OK     21028781988
212BB44579136B   IRMA          SALDIVAR                    KS     29076724457
212BB98744795B   ROSALINA      BOCHE                       AR     25018789874
2131196869794B   LETICIA       SAUCEDA                     TX     90011679686
2131214224B245   TRACY         SMITH                       NE     27003081422
2131223155B167   ROBERT        CLAY                        AR     90013582315
2131223592B27B   SABIS         ADAIMS                      DC     90013502359
2131226355B271   GEORGE        TUCKER                      KY     90014642635
2131265634B281   TABETHA       NORTH                       NE     27053536563
2131292655B161   LINDSEY       SPEAR                       AR     90013919265
21313254587B87   BRIANA        ROBINSON                    AR     90015522545
213134A8A51338   BECKY         JEMISON                     OH     66012304080
2131387664B261   AMY           QUEEN                       NE     27051268766
2131399824B281   CHERYL        DAVIS                       NE     90009279982
2131522139189B   CHARLSIE      NORTON                      OK     90012832213
2131576734B281   CHERYLE       RAMBO                       IA     90015207673
2131583579189B   CHARLSIE      NORTON                      OK     90014698357
2131583A95B36B   ARACELI       CONTRERAS                   OR     44003048309
21316183872B98   RUSBEL        INIGUEZ                     CO     90011761838
2131661122B27B   DARLENE       EDDY                        DC     90014566112
2131662155B161   KAREN         YOUNG                       AR     90011066215
2131678A161877   JOSE          LEDEZMA                     IL     90012417801
213171A6857157   ROXANA        ESPINOZA                    VA     90009501068
2131788652B232   CHRISTINE     PURVIS                      DC     90009828865
2131795685715B   FREDDY        CHICAS                      VA     90013739568
2131796849155B   ERIKA         RAMIREZ                     TX     90012779684
21317A3474B261   CHRIS         ALT                         NE     90014640347
21317A4745715B   FREDDY        CHICAS                      VA     90008420474
2131844656195B   MARIBEL       ROJAS                       CA     90009564465
2131856259184B   TERRY         DEESER                      OK     90013635625
21318565572B88   ANJUNEA       ANN THOMAS                  CO     90004435655
2131889862B27B   CLEOTILDE     BLAS RAMOS                  DC     90004098986
21318A66472B42   ANGEL         ROBINSON                    CO     33005570664
2131926355B271   GEORGE        TUCKER                      KY     90014642635
2131939854B281   CHRISTIE      BURGESS                     IA     27088403985
213196A7691828   KIMBERLY      CART                        OK     90010826076
21319734272B98   MARIBELL      TORRES                      CO     90006197342
21319812A9155B   EDNA          CHAIDEZ                     TX     75096878120
2131983715B167   TERRY         WHITE                       AR     23083018371
21319A8679189B   WILLIAM       CHANCE                      OK     21095470867
2131B14A99794B   MARY          MONTOYA                     TX     90002351409
2131B863391828   MARCY         MCNAIR                      OK     21074558633
2131B92512B232   TRICIA        RICHARDSON                  DC     90012069251
2132141134B245   CANDI         ALLEN                       NE     90013014113
21321816A91828   TIM           SPENCER                     OK     21016498160
21321873676B71   ADRIANA       PEREZ                       CA     90001498736
213218A725B167   JONI          BAKER                       AR     90013828072
2132248369155B   GUADALUPE     GUZMAN                      TX     90013064836
21322629187B59   JALIVIA       BURNETT                     AR     90002506291
2132286345B271   GREG          PARKER                      OH     68014028634
21322A7574B245   BRYANT        DEAKINS                     IA     90013050757
21322A8689184B   EDDYE         KEMP-WHITAKER               OK     90015290868
2132327A74795B   BRETT         CHRISTENSON                 AR     90003952707
2132357773B328   SHAWN         LAJCIN                      CO     90005365777
213237A6A57157   ANTONIO       PEARSON                     VA     90008637060
2132415634B588   VICENTE       ROSALEZ                     OK     90009081563
2132493225B531   MAXINE        JARAMILLO                   NM     35018029322
21324A7337B449   DONOVAN L     BROOKER                     NC     90014410733
2132525A247952   MYDA          LUNA                        AR     90007902502
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21325352A76B53   MARIA        AGUILAR                      CA     90009333520
213255A4693773   LAURA        BANNICK                      OH     64547725046
2132563A831453   STEVE        MCDANIEL                     MO     90007316308
213261AA44B588   ZHENG        XING                         OK     90000981004
2132639192B27B   DARSHICA     ALLEN                        DC     90002763919
2132643A14B261   ANA          FRANCISCO                    NE     90015194301
21326539372B88   MARY         STIDHAM                      CO     33054455393
2132715179155B   KENNETH      MEDRANO                      TX     75063761517
213275A2393773   SAMARA       THALER                       OH     90003855023
2132767AA5B271   TERRY        WATERS                       KY     68064396700
2132817857B423   MARSHALL K   NEELEY                       NC     90007861785
2132822987B449   ARMANDO      MORENO                       NC     90015332298
213284A792B27B   ERICK        WALKER                       DC     90014494079
21328949972B88   HUGO         TYSON                        CO     33009749499
21328A56355957   DOYLE        STONE                        CA     90005030563
2132933A454125   RAYMON       BOLDETT                      OR     90014283304
21329359672B98   ROSEMARY     PORTER                       CO     33088963596
2132938392B232   MARQUETTE    HARPER                       DC     90014003839
2132B28949184B   CHRIS        COWELL                       OK     90013622894
2132B39657B449   TALICIA      PRICE                        NC     90013663965
2132B3AA49155B   LORENA       ALVARADO                     TX     90008113004
2132B48337B449   SHAKIA       LOVE                         NC     90010484833
2132B693381638   JESSICA      KINNARD                      MO     90010336933
2132B788472B98   MAYRA        GONZALEZ                     CO     33091017884
2132BA29272B88   VALLEJO      ELIZABETH                    CO     90010030292
21331839687B87   ANGELA       SMITH                        AR     90000868396
21331A57472B98   SCOTT        SARGENT                      CO     90014860574
21332195572B88   JEANETTE     LARSEN                       CO     90005831955
2133236AA47952   ERIC         MONTGOMERY                   AR     90002203600
21332A15491833   JAMES        MARSHALL                     OK     90007540154
21333A38791589   ROSALINDA    DIAZ                         TX     75087290387
2133439145B37B   EVELIA       NINO MEDRANO                 OR     90012553914
21334627272B88   GARCIA       FAITH                        CO     90008206272
2133466242B27B   DEMETRIA     HENDERSON                    DC     90014156624
2133477257B471   STARZELLA    DAVIS                        NC     90004747725
213348A6447952   KIMBERLY     PEER                         AR     24080978064
213348A8172B98   JESUS        LUNA                         CO     90012708081
21335278372B88   RANDR        LITTLE                       CO     90011972783
21335A1952B232   KEVIN        HAWKINS                      DC     90008080195
21335A4485715B   LAKNDAR      GABBABI                      VA     90011240448
21335A66231631   JAVIER       GARNICA                      KS     22050540662
21336121A51343   JAMES        JOHNSON                      OH     90010311210
2133698A772B88   SOPHIA       LOERA                        CO     90011549807
2133739374B588   FANNY        ABREGO                       OK     90015153937
213373A279184B   JOYCE        WINTERS                      OK     21007783027
21337612472B98   DIANA        CORREDOR                     CO     33018516124
213378A122B232   DAVID        CONTEE                       DC     90012838012
21337A63872B88   VERONICA     RODRIGUEZ                    CO     90002670638
2133832524B588   GEORGE       KELLY                        OK     90008173252
2133878557B699   MICHAEL      LAMB                         GA     90014787855
2133896924B281   RAUL         RODRIGUEZ                    NE     90012369692
2133962569189B   JOHN         THOMPSON                     OK     21091416256
2133969367B449   JASMINE      HARRIS                       NC     90008276936
21339A3552B27B   PAUL         MURRAY                       DC     90011150355
21339AA4181638   MEAGN        BOARDMAN                     MO     29007230041
2133B299A81661   CHASI        SIPPLE                       KS     90012722990
2133B53A533122   MOIRA L      WOLF                         IL     90007015305
2133B638A77572   FRANCISCA    CRUZ- FALCON                 NV     90007476380
2133B677272B42   RAFAEL       SILERIO                      CO     90012316772
2133B75655B167   REBEKAH      CUMMINGS                     AR     90013437565
2133B79A97B699   TERELL       GLOVER                       GA     90014247909
2133B86249189B   EDUARDO      RAMOS                        OK     21085398624
2133B91172B27B   DAVONNA      ALLEN                        DC     90014779117
2134131318B17B   MARK         SANCHEZ                      UT     90011663131
2134196745B161   JUSTIN       DICKERSON                    AR     90015119674
21342579A72B98   MARTAIN      PALMA                        CO     33027995790
2134264179155B   LUIS         CORONADO                     TX     75096026417
2134264414B245   MARTHA       CONTRERAS                    NE     90002056441
21342977587B87   KRYSTAL      YOUNG                        AR     23080239775
2134322A987B59   CEDRIC       HUNT                         AR     90013962209
213433A777B699   ALONZO       PIETT                        GA     90007473077
21343A4129155B   JOHNNY       CAUNA                        TX     75072980412
21343A8A69794B   THOMAS       MERCHANT                     TX     74017250806
21344343887B59   KANEESHIA    WILLIAMS                     AR     90007833438
2134435334B281   GEORGE       GARCIA                       NE     90015213533
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2134464179155B   LUIS           CORONADO                   TX     75096026417
21344A4525B271   PAUL           HALL                       KY     90000120452
21345383A41245   SHEENAE        SCOTT                      PA     90013553830
2134547649136B   CHRISTOPHER    YOUNG                      KS     90015054764
2134625A19184B   DELORES        ADAIR                      OK     21042742501
2134654737B699   BARBARA        THROWER                    GA     90012235473
2134685159136B   BRIANA         HOLMAN                     KS     90005308515
213469A699189B   ANGELA         CULLOM                     OK     21016059069
21347259387B87   PATRICK        LAWS                       AR     90015522593
213476A577B699   YVETTE         DANIELS                    GA     90014976057
2134798734B281   SARAH          INCANDELA                  NE     27093209873
21348786A9155B   SABRINA        PINEDA                     TX     90014427860
21348934772B98   MARISOL        LINARES                    CO     90006219347
21348A56547952   CYNTHIA        CLEMENTS                   AR     24063750565
213494AA19155B   DIANA          CANDELARIA                 TX     90008014001
2134997A157531   RYAN           VISE                       NM     90010799701
2134B16185B167   YOLONDA        PEARSON                    AR     90005531618
2134B4A525B161   ERWIN          DIXON                      AR     23064614052
2134BAA9185844   ANTOONIO       CASAREZ                    CA     46090820091
21351424787B59   PAYGO          IVR ACTIVATION             AR     90013444247
21351521572B42   ALEXANDRA      DEWITT                     CO     90003915215
2135168A155941   IRVIN          LEON                       CA     49080346801
21351AA2851343   PAUL           ROZZI                      OH     90013680028
21352195272B98   JUAN           CARRILLO NAVA              CO     90014881952
2135233AA47952   STEVEN         LOPER                      AR     24047643300
2135244947B471   TERESA         BARNETTE                   NC     11053134494
21352779A4B261   CYNDI          TOMRDLE                    NE     27045127790
2135279547B449   BEVERLY R      ROBINSON                   NC     11000727954
2135292A74B281   KEJANA         GAINES                     NE     90008019207
21352A12A51343   ANGELA         MEYER                      OH     90009750120
2135352252B27B   DARRYL         NORFLEET                   DC     90005135225
2135373335B161   ERIC           KNIGHT                     AR     90012027333
2135395269155B   LUIS           ROJANO                     TX     90011229526
2135412329155B   FLORM          LOPEZ                      TX     90010501232
2135413862B232   PHILLISTIA     CARPENTER                  DC     90011501386
21354155A81637   JILL           FANNING                    MO     90011951550
213544A735B161   ANTWONE        DANIELS                    AR     90014884073
2135493979184B   PATRICIA       LAY                        OK     90013449397
213553A995B271   AMBER          BURKLEY                    KY     90014643099
21355763972B98   CHAYO          OLDSON                     CO     33059057639
21355797A5B167   CATHY          BILLINGSLEY                AR     90010307970
21355AA1A91984   ANDERSON       JONES                      NC     90014050010
21356155872B88   NAIELY         DIAZ                       CO     90011951558
21356271272B98   NELY           ZAVALA PORTILLO            CO     90015202712
21356555872B88   LINDSAY        LOVATO                     CO     90010485558
213568A975715B   YESENIA        RIVERA LOPEZ               VA     81029308097
21358125187B59   SHEREKA        FARVER                     AR     90009571251
213585A2631631   VERONICA       SMITH                      KS     90007605026
2135879255B571   NABAHE         ABEITA                     NM     35034597925
2135879369184B   LARRY          LYONS                      OK     90013697936
2135894974B588   JAMES          MCCRONE                    OK     90014559497
21358A89455957   JUSTIN         BRUMM                      CA     90006040894
213598A212B232   CHANDAL        MCPHATTER                  DC     90012838021
21359939772B98   WADE           HILL                       CO     33086519397
21359A8A255941   MARSHELLE A.   EVANS                      CA     90012850802
2135B31319189B   BETHANY        ZWIRTZ                     OK     90014563131
2135B585881637   ANGELIQUE      WEST                       MO     90013835858
2135B678772B88   ALMA           MARQUEZ                    CO     90012746787
2135BA77461877   CRYSTAL        HARRIS                     IL     90013090774
2136141125B167   OLGA           CAMPOS-ALLEN               AR     23059834112
2136151287B471   DOMINIQUE      ROGERS                     NC     90014145128
21362383687B59   BRITTNEY       HUTCHINSON                 AR     90011053836
21363A77185938   JESSICA        WHITE                      KY     90010710771
2136415745B161   LACOLE         GRAHAM                     AR     23080661574
213643A1A72B88   ARIES          GONZALEZ                   CO     33080733010
2136462584B245   KELLIE MARIE   THOMAS                     NE     90005836258
21364685672B88   ANTONIO        MORALES                    CO     90015126856
21364A42381638   APLRIL         LAGRONE                    MO     90011190423
2136574799189B   CARLOS         JUAREZ                     OK     90008457479
21366784A93773   MATTHEW        SIZEMORE                   OH     90003187840
2136688733B333   SHANTEL        BERRY                      CO     90010548873
213668A269184B   VICTOR         RODRIGUEZ                  OK     21027608026
21367194572B88   KELSEY         SCHMIDT                    CO     33027821945
2136752957B699   CARLANDER      SHUMPERT                   GA     90011155295
213675A454B281   FRANKLIN       JEFFERSON                  NE     27036105045
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2136768865B167   ZACHARIAH    MCCOY                        AR     90010776886
2136776259136B   SHANNON      BURTON                       KS     90014627625
2136813348B17B   JULIO        LOPEZ                        UT     90007091334
21368A3A831453   VICTORIA     STEPHENS                     MO     90013350308
21369663172B42   JOSHUA       KUIK                         CO     33017966631
2136968885B571   RUDY         MENDOZA                      NM     35083976888
21369728672B42   NICOLE       DICKEY                       CO     90013027286
21369754A9136B   MYNOR        LEIVA MELENDREZ              KS     90015107540
2136993769155B   MARY         PATLAN                       TX     90014119376
2136B343A5B161   DANIEL       MARROQUIN DEL VALLE          AR     90013363430
2136B347631453   SHERRON      WHITE                        MO     90014703476
2136B36A791542   JESUS        ROJAS                        TX     90009513607
2136B379291241   SONDRA       NEWTON                       GA     90013383792
2136B78584B588   JOHNNIE      JOHNSON                      OK     21514607858
2136BA9582B232   JESSICA      BOYD                         DC     90000540958
2137123969189B   MARY         CANNON                       OK     90001112396
213719AA793767   RYAN         LAMBERT                      OH     90001479007
2137215875B271   CASEY        HAYES SERRANO                KY     68005081587
2137299318B17B   MIKE         NEWTON                       UT     90008269931
21373223A72B98   KRISTINA     ALCON                        CO     33018522230
2137357A891828   TERANCE      WILLIAMS                     OK     90014675708
2137446725B531   VERONICA     MALDONADO                    NM     90013554672
2137583799155B   STEPHANIE    SAENZ                        TX     90011858379
21375AAA57B699   DONTRES      MAYES                        GA     90013610005
2137634619184B   DAWNITA      JASSO                        OK     90000303461
21376395772B98   LILIANA      CASILLAS                     CO     33063813957
21378292A87B87   JUANITA      WHITEHEAD                    AR     23098422920
213782A6487B59   JOHNNIE      HADLEY                       AR     23074802064
2137834127B449   JESSICA      INGLES                       NC     90015123412
213786A979184B   JOHN BEATY   WORTHAN                      OK     21094566097
2137875884B281   SHARI        GRAHAM                       NE     90014887588
2137881429155B   FERNANDO     SARINANA                     TX     90007988142
2137881775B161   EMILY        ROBINSON                     AR     90012318177
2137891454B281   BETTY        BIRDSONG                     NE     90014919145
2137979985B144   LANITIA      THOMAS                       AR     90012167998
2137991A191828   KIMBERLY     WRIGHT                       OK     90010829101
2137999335B344   CLARA        ORTIS-CRUS                   OR     44528649933
2137B428587B87   CRYSTAL      STALLINGS                    AR     90009644285
2137B82314B281   MARCI        OWENS                        IA     90014018231
2137B86A472B98   MARIA        GARCIA                       CO     90006268604
2138117469189B   KRISTIE      TOWNSEND                     OK     90007021746
2138126632B931   IRENE        VILLAPUDUA                   CA     45068182663
2138174835B571   MEGAN        MONTOYA                      NM     35087837483
21381768A9136B   WILLIAM      LOWE                         KS     90015107680
2138193665B167   CHRISTIE     RICHARDSON                   AR     23062379366
2138224395715B   LEMUS        EDGAR                        VA     90002972439
2138231339155B   ALEJANDRO    RUIZ                         TX     90013943133
21382668187B87   JORDAN       COCKERM                      AR     90014846681
2138274835B571   MEGAN        MONTOYA                      NM     35087837483
2138328939189B   BONNIE       FACTOR                       OK     21027602893
2138382479155B   EDITH        VERA                         TX     75064858247
213848A8A9794B   JONATHAN     NIETO                        TX     90014238080
2138533669184B   JIMMY        ELLISON                      OK     90012153366
2138538815B271   GEORGE       NICHOLS                      KY     90014643881
21385682972B88   VANESA       DREILING                     CO     33092486829
2138661A357157   NAYELI       TRUJILLO                     VA     90010626103
2138675833B386   ZACHARY      QUIMBY                       CO     90012087583
21386A24991541   MARIA        BANUELOS                     TX     90002690249
21387224687B87   MARYLIN      TURNER                       AR     23082872246
2138739A35B271   TAMIKA       HEARD                        KY     90014643903
213874A514B233   TRACY        BENNETT                      NE     90013014051
213878A3931631   WILLIAM      SUHR                         KS     90014828039
2138837A681661   ADRIAN       MELAND                       MO     90015003706
2138841165B571   DORINA       ORTIZ                        NM     35004584116
213884A474B261   JORGE        ESTRADA                      NE     90010234047
21388A4845B531   VALERIE      GRIEGO                       NM     35013480484
21388A99872B42   EDWARD       BLEA                         CO     90011960998
2138938524B281   JOHN         BRADLEY                      NE     27062543852
2138957255B531   RUFINO       RICO                         NM     90013555725
213899A345B161   ANDRES       RAMOS                        AR     90015119034
2138B37627B471   MARTIN       SANCHEZ                      NC     90012823762
2138B88995B167   TIMOTHY      DEBOSE                       AR     23044298899
2138B911A7B456   KATRESA      JONES                        NC     90002219110
2139123718B17B   AUSTIN       WILLIAMS                     UT     90007092371
21392525A4B261   DENISHA      OGLESBY                      NE     90007835250
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213925A962B27B   DIAMOND                ABNEY              DC     90001405096
21392771A7B699   BERTHA                 MILES              GA     90003457710
21392A52572B98   CLAUDIA                VAZQUEZ            CO     90013970525
213936A4791984   JOSE                   GARCIA             NC     90012426047
2139383544B261   ANGELICA               ZAPATA             NE     27077338354
21393A81287B59   MARANDA                ALFORD             AR     90013780812
21394732772B88   JACQUELINE             OLIVAS             CO     90011287327
2139477368B17B   ANTONIO                PIMENTEL           UT     90008457736
2139491A74B281   TERESA                 HICKS              NE     27001399107
21394A18743545   CANDACE                ROGERS             UT     31008870187
2139515949136B   MIGUEL                 CAMACHO            KS     90011261594
213956A895B531   JACOB                  SALAS              NM     90013556089
2139582465B167   GLENDA                 DODDRIDGE          AR     90014768246
2139632284B588   JOSE                   ESCALERA           OK     90012453228
2139679869155B   VALERIE                DIGEO              TX     90012517986
21396A1849184B   JULIE                  BANNISTER          OK     90009160184
2139743255B271   SHAUN                  ASH                KY     90014644325
213974AA791984   TIFFANI                CARLYLE            NC     90013484007
2139773685B167   JERRICA                MASON              AR     90011017368
21398528672B98   GERARDO                RODRIGUEZ          CO     90011485286
21398A6735B167   SHEREE                 WOODARD            AR     23040750673
2139943375B271   CHRISTI                JOHNSON            KY     90014644337
2139962115B531   NAYELI                 LUCERO             NM     90013556211
21399A4455B571   KEVIN 459DESERT MISS   GONZALES           NM     90005170445
2139B4A2491241   JENELLA                PRIDGEN            GA     14589124024
2139B963557157   KRISTY                 GIBSON             VA     90005889635
213B1232A84364   TYRA                   JOHNSON            SC     90013112320
213B131789794B   BERNANDINO             TAMAYAC            TX     90007253178
213B1334157157   JOSE                   MOLINA             VA     90010773341
213B1417A5B167   PAYGO                  IVR ACTIVATION     AR     90005574170
213B1717693773   DAVID                  PARKER             OH     64589337176
213B1A2A171949   LISA                   EDDY               CO     32011730201
213B227A751343   KARA                   MAYBERRY           OH     90002232707
213B239419155B   MARIA                  REYES              NM     75093193941
213B2473993773   JERMAINE               GRIFFIN            OH     90002044739
213B253459136B   SHAUNA                 DRENNAN            KS     90015065345
213B2786687B59   JOSEPH                 COLLINS            AR     23064687866
213B2A7919184B   IVAN                   DIAZ GARCIA        OK     21005620791
213B3186131453   JANEL                  SILINIZY           MO     90013891861
213B482264795B   DEBORAH                GREEN              AR     25063618226
213B482A657B85   JUSTIN                 SAN TAMASSINO      PA     90015058206
213B483567B699   JENNIFER               FOSTER             GA     90008698356
213B484815B167   LESILE                 MORALES            AR     90014478481
213B556524B261   RAY                    GIBSON             NE     90007335652
213B579435B161   TONY                   HARRISON           AR     90013187943
213B623515B271   DANIELLE               COLLINS            KY     68053872351
213B629519794B   JUAN                   BAUSTISTA          TX     74074672951
213B6714291833   REBECCA                TAYLOR             OK     90005117142
213B7313187B87   SAKIMA                 JACKSON            AR     90013883131
213B736232B27B   RICHARD                HEBRON             DC     90009603623
213B7386887B59   WANDA                  LASLEY             AR     90007413868
213B793495B144   GLENDA                 WRIGHT             AR     90001079349
213B7986587B59   TIFFANY                HILL               AR     90005519865
213B7A12491528   FERNANDO               FLORES             TX     90003320124
213B83A4272B98   MIGUEL                 RANGEL             CO     90008753042
213B8876591528   SHALEENE MARIE         MATTHAEI           TX     90006618765
213B922437B449   ANTONIO                DUARTE             NC     90011372243
213B958157B471   MAURI                  SANCHEZ            NC     90012895815
213B963112B27B   INETHIA                WILLIAMS           DC     90012876311
213B963354B521   ROBERT                 RAMOS              OK     90008766335
213B978475B271   BRANDY                 CHESHIRE           KY     68088857847
213B9AA8287B59   KYLE                   KELLY              AR     90014470082
213BB747584364   JAMES                  DAVIS              SC     90011677475
213BB77489155B   ROSA                   SEGURA             TX     90012047748
213BB7A7587B21   BRANDY                 ULLREY             AR     28087427075
213BBA4A185938   ANGELA                 MOORE              KY     67042600401
2141125A59794B   JUAN CARLOS            MARTINEZ           TX     90011692505
2141152447B449   JESSICA                SANDERS            NC     90014145244
2141183979155B   ROBERT                 ORRICK             TX     90012528397
2141245535B571   GEORGE                 RIOS               NM     35087754553
214126A3372B98   MOSI                   GOLDEN             CO     33083016033
21412AA134B281   KUIRA                  LAWTON             IA     90014340013
214131A964B588   CHERITOPHER            WELCH              OK     90007771096
2141399194B261   KATHERINE              KOENIG             NE     90002999919
2141445787B373   JOSE                   SARAPURA           VA     90011094578
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214145A4281661   CC                 RODRIGUEZ              MO     90013305042
2141496735B271   KENNETH            ATKINS                 KY     90015189673
21414997A9184B   ROCIO              BONILLA                OK     21015849970
214156AA25B271   WANDA              MACK                   KY     90012246002
21416858A7B699   SHANTICE           CLOWERS                GA     90014968580
2141692275B167   KIMBERLY           GAVINS                 AR     90014509227
21416998A41245   DREW               LYSCIK                 PA     90011239980
21416AA6672B42   JOSE               ESTRADA                CO     90003060066
21417177587B59   FREDDIE            HICKMAN                AR     90010881775
2141738337B699   ASIANA             GRIER                  GA     90014883833
2141754AA91528   RUTH               BERSCH                 TX     75071925400
21417766A9155B   YVONNE             CERRILLO               TX     90012667660
2141785924B281   TRACIE             TIBBS                  NE     27047978592
2141788179136B   SERGIO             ORTIZ                  KS     90015108817
21417885372B88   ANGELA             SOLOMON                CO     90012828853
2141824A25B271   ASHLEY             CLARK                  KY     90014652402
21418445572B88   KAREN              MASON                  CO     33059244455
2141921A172B42   MICHAEL            FERNANDEZ              CO     90010572101
2141921A684364   JANICE             MCPHERSON              SC     19054882106
2141957872B733   LIONEL             MUSONI                 ME     90014635787
2141977324B281   DEVONA             PARNELL                NE     90000857732
2141978644B22B   JARONE             WALKER                 NE     90011337864
214198A4791828   JIMMY              HAMMONS                OK     21097068047
21419A15881637   BRIANNA            FUNDERBURGE            MO     90015160158
2141B68A657157   NICHOLE            DAVIS                  VA     90012086806
2141B735291828   LOWELL             LEWIS                  OK     90011107352
2141BA56631492   PHYLICIA           COLLINS                MO     90000620566
2142124452B232   NGINA              GIVENS                 DC     90013122445
2142152A381637   VALERIE            COLLIER                MO     90009635203
21421761372B98   PERLA I            FLORES                 CO     90000227613
2142197A987B59   LACA               JONES                  AR     23085189709
214223AA54B553   SARA               PATTERSON              OK     90008913005
2142247A44B261   RACHEL             MOYERS                 NE     27016274704
2142293214B588   JULIAN             MARITNEZ               OK     90012089321
2142376297B462   MANUEL             ALONZO                 NC     90004407629
21423763787B87   SHERRY             MACKRELL               AR     23042417637
214237A948B159   BRIANNA            HUFF                   UT     90012757094
21423A19A6193B   LUCINA             MONTANA                CA     90001020190
2142421929136B   JOSE               CASTILLO               KS     90014922192
2142424892B27B   MARSHELLE          LEE                    DC     90011352489
2142432A25B167   CHARLES            GILBERT                AR     90005933202
2142441A391984   LAKEITA            WILEY                  NC     90014604103
2142448749794B   JORGE              LOPEZ                  TX     90011694874
21424566A7B471   ERIC               KRAMPAH                NC     11091255660
21424749872B42   TINA               FRANCISCO              CO     33090417498
2142524519794B   SHAWN              JENKINS                TX     90014332451
214252A9291828   MICHEAL            CARPENTER              OK     90009842092
2142534912B232   KIMBERLY           MCCANTS                DC     90010463491
21425A3399189B   DAVID              WEBSTER                OK     90009710339
21426194572B98   PAULA              LYNN                   CO     33035151945
21426325772B42   ISAIH              HOUSTON                CO     90014693257
21426335572B42   DESARAY ONETOONE   STHOENFELDER           CO     90004263355
214265A989155B   MANUEL             SEPULVEDA              TX     75046895098
2142665A39184B   SARAH              HANCOCK                OK     90009806503
2142725355B271   DIANE              WARREN                 KY     90014652535
2142739995B571   FRANCISCO          EPINOZA                NM     35055763999
21427562487B87   JAMES              INGRAM                 AR     90015095624
2142758115B167   TABITHA            HANSON                 AR     90010945811
21427993A7B449   MARIA              NAVARRETE              NC     90014749930
21427A5119155B   VERONICA           SILVA                  TX     75009640511
21427A57372B88   MARIA              MAES                   CO     33011130573
2142825418B17B   JAZMIN             SHELTON                UT     31009012541
2142839934B245   ANGELICA           MARCOS                 NE     27061313993
214286A347B471   SIERRA             DULANEY                NC     90012426034
214289A5A9136B   JOEL               CAMPOS                 KS     90015109050
21429795572B42   JIM                CORDOVA                CO     90011027955
2142B334791528   JOHANA             CARRASCO               TX     90008633347
2142B69167B449   PHOURIENG          KEONAKHONE             NC     90003786916
2143132437B699   STEPHANIE          BAKER                  GA     90011273243
2143138A641245   TAI                JONES                  PA     90010533806
21432A68772B98   JUAN               ROMERO                 CO     90013970687
21433594187B87   ANTHONY            HUDSON                 AR     23001655941
214337A9A72B42   LEANNE             SALTAR                 CO     90006167090
214338A745715B   RODOLFO            MARENCO                VA     81014518074
21433AA377B699   BENNY              WALTON                 GA     90010390037
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2143426A291833   JERRY        RITTENGER                    OK     90008522602
2143442557B699   SHERRICK     AMBROSE                      GA     90013664255
2143553974B541   CHLOE        ROGERS                       OK     90009215397
2143573819794B   SHERRELL     JONES                        TX     74010087381
21435982A4B261   KATHY        TROTTER                      NE     27090279820
2143664312B931   LINDA        RUSHING                      CA     45057346431
214366A965B161   IMANI        ESKEW                        AR     90013016096
21436769887B87   SABRINA      GRIGSGY                      AR     90015377698
21436917A91828   FRANK        ASHING                       OK     21072909170
214369A3591541   ANA          RASCON                       TX     90000299035
21437375A7B449   JUAN         ALVAREZ                      NC     90008123750
214375A7891828   WILDER       LOPEZ                        OK     21001985078
2143766222B232   KEVIN        SPANN                        DC     90004006622
2143775169155B   JAVIER       ARREDONO                     TX     90014877516
21437915872B88   KATHLEEN     MATZ                         CO     33091489158
21437A33231453   DANA         GRANT                        MO     90015220332
214383A5455941   JOSE         DIAZ                         CA     49047993054
21438454972B98   MIGUEL       CASTANEDA                    CO     90004264549
21438931687B87   TIFFANY      KATES                        AR     90012559316
2143952985B271   SYLVIA       CLARKSON                     KY     90014665298
2143B13248B147   AMIRA        CORREA                       UT     90011491324
2143B36325B167   DUSTIN       RABURN                       AR     90000683632
2143B65275B333   LUZ MARIA    RODRIGUEZ HERNANDEZ          OR     90005216527
2143B977A81637   ANTHONY      RESTIVO                      MO     29004929770
2143BA5A44B588   JOSEPH       MOORE                        OK     21555470504
2144176A847952   GLORIA       RALZOLA                      AR     24024037608
21442145A9184B   WHITNEY      OLTMAN                       OK     90014081450
21442211487B21   TANYA        FREYTAG                      AR     90005302114
21443279A51343   TONYA        WOODRUFF                     OH     90013782790
2144444256B931   ALEXANDER    MODESTINO                    NJ     90014674425
2144453485B271   TABBITHA     ZINNINGER                    KY     90014665348
2144553785B271   ANGELA       SULZER                       KY     90014665378
2144589819155B   CLAUDIA      RAMIREZ                      TX     75095928981
21446117772B98   SAVANNAH     TRUJILLO                     CO     90005521177
2144641A693773   JAMARCO      TAUL                         OH     90005774106
214469A979189B   CHRISTIAN    RIVERA                       OK     90010209097
21446A37141245   MICHELLE     UNGLAUB                      PA     51035430371
21447137A57157   GERBER       ROBLES                       VA     90014811370
2144734152B27B   NICK         GROSS                        DC     81004523415
21447641372B98   SANDY        HARRIS                       CO     33086156413
21447A5125B571   ELADIO       HERNANDEZ                    NM     35009680512
2144829415B271   LILNETTA     SCOTT                        KY     90014652941
2144876487B449   GERONIMO     DEL CID                      NC     90015187648
21448849172B88   DANIELLE     BERAM                        CO     90005798491
21448945687B87   LEON         SIMS                         AR     23091519456
2144939A372B88   MATTHEU      LAURRELL                     CO     90015013903
21449556472B98   BLANCA       MOZQUEDA                     CO     33096735564
21449886A72B42   ANABI        KARN                         CO     90013208860
2144998917B471   ANGEL        LITTLE                       NC     90014549891
2144B21243B384   BRICE        GOSSETT                      CO     33062152124
2144B534172B98   MATT         TAGUE                        CO     90010775341
2144B79165B161   SHANNON      SHARP                        AR     23006417916
2145192892242B   MARIA        LEAL                         IL     90002829289
21451A77A55941   ROSA         RAMIREZ                      CA     90014770770
2145211875B531   BARBARA      PADILLA                      NM     90002381187
21452729887B59   NIKKIA       CLARK                        AR     23029547298
2145275A82B27B   EVANGELINE   ODOM                         DC     90012887508
2145285315715B   ABSHIR       JAMA                         VA     90002988531
21453227487B59   AALIYAH      BENNETT                      AR     90011102274
2145354137B699   MONIQUE      SUTTON                       GA     90013975413
2145362545B161   CHADWICK     COMER                        AR     23010456254
214537A2891984   BRITTANY     DAVIS                        NC     90014147028
21454234572B88   GABRIELA     SILK                         CO     90014592345
21454361272B88   HOLIDAY      NITOKRIS DIAMOND             CO     33093963612
21454392187B59   ANTHONY      JONES                        AR     23057973921
21454393A9136B   NICOLE       BRIGGS                       KS     90015133930
2145446579184B   GRISELDA     ALONSO                       OK     90011124657
2145477968B17B   PABLO        ISLAS                        UT     90014467796
2145528AA51343   JEFF         ROBINSON                     OH     90014342800
21455386887B59   WANDA        LASLEY                       AR     90007413868
2145556589155B   PATRICIA     CARRILLO                     TX     75016505658
2145639429136B   EMIGDIO      ORTIZ                        KS     90015133942
2145678169155B   JOSEFINA     SOTOMAYOR                    TX     90013967816
21456836572B42   JANE         PETERSEN                     CO     33020898365
21456997A5715B   JOSE         HERNANDEZ                    VA     90003159970
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2145711567B449   WENDY         AGUILARGUEVARA              NC     90011811156
21457A1127B471   VIKIK         FORNEY                      NC     11080980112
21458751372B42   REBEKAH       RAMIREZ                     CO     90005567513
2145895214B588   TIFFANY       PAVON                       OK     90011979521
214589A8372B98   REBECCA       HERNANDEZ                   CO     90003899083
21458A4742B86B   SINAN         NADAREVIC                   ID     90002570474
2145976635B271   KEOSHA        JACKSON                     KY     90010747663
2145978159794B   RAFAEL        GARCIA                      TX     90007187815
21459A11491241   SEAN          MILTON                      GA     90013280114
21459A48891984   DANIELLE      COOPER                      NC     90004990488
2145B21A34B281   MICHAEL       DEAN BYVERLY                NE     90013592103
2145B546591241   DONNA         ANDERSON                    GA     14543465465
2145B78968B17B   ROSALINA      GARCIA                      UT     90010397896
2145B789A72B88   LESLIE        VELAZQUEZ-HERNANDEZ         CO     90008947890
2145B815151343   TYRA          COOK                        OH     90012998151
21461121972B88   FLORY         CASCANTE                    CO     33094511219
21461262372B98   ERNESTO       HOLGUIN                     CO     33091222623
21461769A9155B   ROBERT        FONSECA                     TX     75099477690
2146221877B699   VALERIE       DENSON                      GA     15093152187
214623A1791828   HEATHER       MORRIS                      OK     90014413017
2146259A981661   CHRISTOPHER   HERNANDEZ                   MO     90014885909
21462815A5B161   SHEKITA       COLEMAN                     AR     23002028150
214633A8391528   MEGAN         KEICH                       TX     90003633083
2146355745B167   DEJUN         GRIFFIN                     AR     23095745574
2146396A591923   NICHOLAS      WATKINS                     NC     90001649605
21463A34591828   NINA          DAVIS                       OK     90014530345
2146432215B531   YADIRA        MARTINEZ                    NM     35040473221
2146443379184B   DELMI         VALDIMIEZO                  OK     90011884337
2146443899794B   JOANNE        SCHULTZ                     TX     74087124389
21464589524B55   RANDY         ROBINSON                    VA     90000895895
21465586A87B87   FRANK         WILLIAMS                    AR     90013645860
21465698587B87   CHANDRA       THOMPSON                    AR     90015006985
21466566733B96   KALIMAH       JOHNSON-MUHAMMAD            OH     90013795667
214665A149184B   T             MASON                       OK     90010005014
2146672265B531   RACHAEL       JASSO                       NM     90013557226
2146683119136B   CARNELLA      PAYTON                      MO     90009938311
2146716A99136B   VERNICE       MCCLUNEY                    KS     29070811609
2146739415B167   HEATHER       FUSELIER                    AR     23097243941
2146748397B471   VILMA         ZUNIGA                      NC     90014704839
2146878949136B   CLAUDIA       RODRIGUEZ                   KS     90009457894
2146951A29184B   LOUIS         FUENTES                     OK     90002135102
2146961715B167   L             JORDAN                      AR     23008256171
2146964244B281   JOSEE         COLON                       NE     27018726424
2146B17597B471   CAROLYN       AGEE                        NC     90007111759
2146B27194B281   DENISE M      HOSKINS                     NE     90005692719
2146B3A7191541   RIGOBERTO     GONZALEZ                    TX     90009083071
2146B496781637   CHARLES       HICKS                       MO     29061094967
2146B67A431453   JACOLBI       MORRIS                      MO     90015416704
2146BA63491984   MARLILI       MELCHIONNE                  NC     90014330634
2146BA74255957   MARITZA       MICHEL                      CA     90013850742
2147136314B281   AMBER         SCHAEFER                    NE     90004913631
2147148382B931   CHRIS         BOURGOIN                    CA     45066274838
2147182684B245   VERONICA      BUSCH                       NE     27074418268
21472551572B98   VICTOR        URIOSTEEYI                  CO     90011405515
2147276882B27B   MARVIN        PARKER                      DC     90012887688
214727A617B699   WILLIAM       DAVIS                       GA     15077207061
214728AAA55957   BEATRICE      SEGOVIANO                   CA     90013448000
2147296784B261   HARRY         EDWARDS                     NE     90013959678
214729A7287B59   ERMAS         GEORGE                      AR     23082699072
21473A56981661   VALERIA       TREJO                       MO     90013870569
2147437814B245   LETICIA       ESTANES                     NE     90012103781
2147449A985938   GRANVILLE     LEWIS                       KY     90011074909
2147453945B536   NICOLE        GRIJALVA                    NM     90012715394
214747AA19794B   MELISA        BELL                        TX     74066437001
21475282787B21   BRANDON       PENNIE                      AR     28091652827
21475A6527B449   OLIVER        ALEXANDER                   NC     90014350652
2147612172B27B   ISMELDA       SALES TORRES                DC     81080671217
2147681465B531   RODNEY        GREENE                      NM     90013558146
21476A59957157   MARSHALL      SCOTT                       VA     90001160599
21477AA557B699   RICARDO       MARTINEZ                    GA     90012780055
214785AA931453   DIANA         WORD                        MO     90013995009
2147884367B699   REGINALD      WILSON                      GA     15038998436
214789A8457157   DONALD        DORSEY                      VA     90003369084
2147935455B161   LATOSHA       MITCHELL                    AR     23090443545
2147B2A1291984   TASHANA       PEREZ                       NC     90015012012
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2147B46255B167   JANET        MOLODECKI                    AR     23062524625
2147B566141245   DONNA        SCOTT                        PA     90002045661
2147B584355941   BLANCA       MORENO                       CA     90015255843
2147B5A575B161   DEVON        BOOTH                        AR     90007995057
2147B76A75B531   MARY         GOMEZ                        NM     90013557607
2147B81628B17B   HEIDI        LUND                         UT     90009428162
2147B81745B531   JENNIFER     SOLIS                        NM     35012988174
2147B872272B42   MARK         RENEAU                       CO     33077278722
2148123424B281   CARMELO      HERRERA                      NE     90001112342
21481242372B42   TAMMY        MANN                         CO     33071882423
21481391987B59   DOROTHY      GIRLEY                       AR     23010023919
2148183A947952   LATOYA       SHEPHERD                     AR     24036948309
214818A315B271   ELIZABETH    FERREYRA                     KY     68072708031
214823A2957157   MARIA        GONZALES                     VA     81006353029
2148273A77B699   KEISHA       WILSON                       GA     90014037307
2148343672B27B   TIFFANY      SANDERS                      DC     90008624367
21483642272B88   JASMIN       NAVARRATE                    CO     90013846422
2148374489189B   FRANCISCO    RUVALCABA                    OK     90012797448
214842A245B161   TAMARA       GULLEY                       AR     90008192024
21484A6A277576   NICOLE       CHAMBLIN                     NV     90010510602
2148552614795B   JOSE         GERTRUDIS                    AR     25088445261
2148624759794B   LUIS         OROZCO                       TX     90011712475
21486791372B98   PHILLIP      LEWIS                        CO     33018247913
21486963397B3B   CORINA       LUJAN                        CO     90008439633
2148771749155B   GARCIA       OSWALDO                      NM     75084987174
21487725672B88   NATIVIDAD    SALAZAR                      CO     90010347256
21487A3217B449   KENNETH      WRIGHT                       NC     90013180321
2148849999155B   JUAN         GUZMAN                       TX     90013304999
2148869699184B   MEGAN        NIDER                        OK     90013216969
21488A31487B21   MARK         MCDONALD                     AR     28044480314
2148B1AA79155B   LORENA       SALOMON                      TX     90010491007
2148B3A8581638   PATRICK      CASEY                        MO     29074203085
2148B4A4991541   EDMUNDO      TORRES                       TX     90013644049
2148B533372B88   ANA ABEL     DIAZ                         CO     90014895333
2148B92999184B   DAVID        PARKER                       OK     21015819299
2148B95194B588   DOLMAN       MORALES                      OK     21586969519
2149113955B167   ANITA        LAFLORA                      AR     90011871395
2149175718B17B   MICHELLE     WESTON                       UT     31004627571
21491798687B87   ROBERT       TYSON                        AR     90014267986
2149195A97B699   MICHELLE     NELSON                       GA     90012009509
21491961A55957   IQNACIO      MURGUIA                      CA     48069989610
2149225494B588   BUCKY        HALL                         OK     90011522549
21493389172B42   JOSECARLOS   COB CANCHE                   CO     33096373891
21494391A5B161   SABRINA      GOODWIN                      AR     23072953910
2149455AA9155B   MIGUEL       MELENDEZ                     TX     90013715500
21494599A91984   JAKABA       DAYMON                       NC     90015185990
214945A267B699   DARA         LEWIS                        GA     90013485026
214946A4A5B167   RASHANDA     SMITH                        AR     23036806040
2149497AA43523   JASON        JONES                        UT     31010299700
21495351A7B699   MAURICIO     PEREZ                        GA     90015083510
21495656572B88   MARIO        URRIETA                      CO     90000266565
2149568379184B   GERARDO      SERNA                        OK     90011876837
2149627A887B59   RODERICK     SMITH                        AR     90010452708
2149635774B281   ALEJANDRA    PULIDO-HERNANDEZ             NE     90010983577
2149647285B161   LAKISHA      HAMMOND                      AR     90001174728
21496945972B88   JUAN         MANDONADO                    CO     90014889459
2149774A45B167   JOSEPH       COOK                         AR     90012487404
2149786637B449   JOHNNY       BEATTY                       NC     90013648663
2149849A581637   LATOYA       HURST                        MO     90014614905
2149859A481661   JHON         JHON                         KS     90006035904
2149887572B232   DAISIAA      ROBINSON                     DC     90011508757
21498A1114B245   ROSHELLE     CARTER                       NE     90009170111
21498A2AA61977   JONATHAN     YOWAKIM                      CA     46096410200
2149935619189B   MARIA        GARCIA                       OK     90011393561
21499566972B42   LYNN         SARGENT                      CO     90012095669
2149956A585938   PEDRO        MONDRAGON                    KY     90011075605
214998A3757157   ANA JULIA    CHAVEZ                       VA     90010628037
2149B142972B42   JOSE         RICO-HERNANDEZ               CO     33087271429
2149B358397B69   RICHARD      NAVARRO                      CO     90012453583
2149BA1155B531   NIDIA        ALVAREZ                      NM     90013560115
2149BA51491828   JAMIE        KOENIG                       OK     90002720514
214B1333A4B245   NOE          QUIROS                       NE     90000443330
214B161A172B42   LORIANN      GONZALEZ                     CO     90010726101
214B1663157157   PEDRO        AGUIAR                       VA     81034596631
214B195922B27B   CORNELL      BARBER                       DC     90015129592
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214B1A62272B98   MARIA        VAZQUEZ                      CO     90013970622
214B22A9851343   COREY        BENFORD                      OH     66014862098
214B2674781652   ROGER        STIPES                       MO     29076476747
214B2712572B98   RENEE        COTHRAN                      CO     90013747125
214B2845391828   LASHONNA     GUNN                         OK     90014288453
214B33A759155B   CYNTHIA      REYES                        TX     75080503075
214B37A945B271   MELINDA      HARKLESS                     KY     90003137094
214B396384B281   ADRIAN       CORTEZ                       NE     90013149638
214B422962B27B   TENISE       BOLLER                       DC     81098022296
214B4292672B88   BRIGITTE     STEPHENS                     CO     33067932926
214B4748241245   ALICIA       ATKINSON                     PA     90010357482
214B479389155B   ERIK         GARCIA                       TX     90014427938
214B5283651343   SAMANTHA     BEDEL                        OH     66002402836
214B54A215B271   TAMIKA       BATTLE                       KY     90014644021
214B564A361552   ANDRES       MEJIA                        TN     90012416403
214B5A5559155B   BOBBY JOE    SUBLASKY                     TX     75096050555
214B612127B699   JAHDA        HAMPTON                      GA     90014021212
214B612844B588   STARSHA      JONES                        OK     90012881284
214B6337355957   SILVIA       VAZQUEZ                      CA     90011473373
214B6498391241   RASHAN       DAUGHTRY                     GA     90011424983
214B658619184B   LASHUN       LANDRUM                      OK     21014965861
214B6896481661   KEY          JOHNSON                      MO     29018208964
214B7111A72B98   RONALD       LEWIS                        CO     33080741110
214B7191384364   EZEQUIEL     BARRAGAN                     SC     90007271913
214B7417191828   RAMON        ORTIZ                        OK     90013624171
214B759974795B   SHANNA       SHORT                        AR     25012155997
214B7632491583   MARY         CASTRO                       TX     75065096324
214B774567B699   PIERRE       BRYANT                       GA     90015187456
214B774615B271   AMANDA       KECK                         KY     90011057461
214B8169591528   JESUS        DOMINGUEZ                    TX     90005701695
214B8283651343   SAMANTHA     BEDEL                        OH     66002402836
214B8361487B59   ALLISON      WILLIAMS                     AR     90014623614
214B8A48855941   ALEXANDER    SAMUEL                       CA     49044660488
214B9121A72B98   VICTOR       DELUCA                       CO     90007211210
214B9638672B88   ASTRID       DELGADO                      CO     90008206386
214B96A174B245   SUSAN        JOHNSON                      NE     27052856017
214BB111791984   BARBARA      BRAY                         NC     90007861117
214BB197851343   WILLIAM      BELL                         OH     90010151978
214BB544372B88   MARICELA     CHAVEZ                       CO     33093375443
214BBA3144B588   JUAN RUBIO   CHAVEZ                       OK     90010120314
214BBA32787B87   KIMBERLY     WILLIAMS                     AR     23086280327
2151127399155B   ISAAC        ORTIZ                        TX     90009272739
2151181642B27B   JACQUELINE   MORRIS                       DC     90012888164
21511A79372B98   PABLO        REYES-SANTILLO               CO     90013140793
2151218A48B17B   KHRISTEN     CADE                         UT     31061971804
21512564172B88   JOSE         SALAZAR                      CO     33068785641
2151258AA5B571   LISA         LITTS                        NM     90007275800
2151264169155B   IVAN         RAMIREZ                      TX     90012276416
215128A642B27B   TABITHA      BROWN                        VA     90012888064
2151336185B167   KIM          JOHNSON                      AR     90000473618
21513A31487B21   MARK         MCDONALD                     AR     28044480314
215143A1681661   DERON        CLARK                        MO     90014733016
21514626A5B271   JAMIE        COLEMAN                      KY     68077256260
2151472A281638   SCHELL       PERALES                      MO     90008627202
2151512357B382   SUZETTE      GROSS                        VA     90011701235
2151535A39155B   ELENA        FRANCO                       TX     90013943503
21515843A55936   AIME         VALDEZ                       CA     90007218430
2151584817B699   ANJELICA     MEADOWS                      GA     15066948481
21515918A55941   SUSANA       LAZARIT                      CA     90013639180
21515936A91967   LARITA       NEAL                         NC     90011369360
2151657525715B   ANGEL        BERRIOS                      VA     81006585752
21516693A81661   JEFFREY      CLEGHORN                     KS     90004446930
21516A63431453   NYREE        BRABLEY                      MO     90011910634
21517285772B98   SHANDAL      SHIH                         CO     90013862857
21518258272B88   MARIE        OKEEFE                       CO     90015242582
21518383972B98   DANA         LEAKS                        CO     90014323839
21518396A55941   VICTORIA     BARAJAS                      CA     90014493960
21518A5919184B   CASSANDRA    HARRISON                     OK     21014500591
2151922779155B   FLOR         VILLALOBOS                   TX     90006432277
2151957917B449   LIL          MIKE                         NC     90009985791
21519699A8B188   TRACY        CLARK                        UT     90012416990
21519721A4B281   MELLISA      POST                         NE     27075977210
2151B158355957   JASON        HOBBS                        CA     90015161583
2151B15A32B27B   ENOCH        EDISON                       DC     90013981503
2151B552791541   ESMERALDA    ARIAS                        TX     75013655527
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2151B576991984   JOHN           MOORE                      NC     90000455769
2151B93A72B94B   KRISTINE       DAROSA                     CA     90013099307
2151BA14891828   MISTY          WILLIFORD                  OK     90009470148
2152123935B271   MARY           WILSON                     KY     90011112393
2152164385B333   BRUCE          WILLIAMS                   OR     44520186438
2152186898B17B   ARTEMIO        TINOCO                     UT     31062878689
21522661A55941   IRIS           VELASQUEZ                  CA     90012076610
21524156A5B271   JENNIFER       ABERNATHY                  KY     68085461560
21524291A2B232   SEBRINA        LEVETTE                    DC     90010702910
2152445A972B42   ROSA           ORTIZ                      CO     90014924509
2152454965B167   BRANDY         EVANS                      AR     90014675496
215247A2391541   CHRISTY        DUBITSLY                   TX     90014687023
2152575139155B   DARLENE        SIFUENTES                  TX     90008097513
21526386887B87   WANDA          LASLEY                     AR     90007413868
2152642A933126   JOHN           COLLINS                    IL     90015604209
2152659642B232   ALEXIS         HAM                        DC     90012105964
215265A9272B98   LORENZA        GUERRERO                   CO     33007975092
2152687359155B   ELIA           APARICIO                   TX     90000608735
21526929A87B59   TIMOTHY        BELL                       AR     90009369290
21526A69572B88   ERICA          CASTELAN                   CO     90001440695
21526AA3385821   AARYN          TRAMILL                    CA     46092150033
21527315A55957   JOHN           CASTANEDA                  CA     90011943150
2152749249155B   ABIGAIL        PONCE                      TX     90011114924
2152934622B931   MARY           PHATCHER                   CA     45014193462
215295A4591833   SHANTRELL      THOMPSON                   OK     90001985045
21529979A51343   DOMINGO        MENDOZA                    OH     66039599790
2152B138655957   TAMMY          SELKEN                     CA     90015081386
2152B45762B27B   DEENA          CURETON                    DC     90005604576
2152BAA6587B59   DORTHA         JOHNSON                    AR     23029230065
2153166412B27B   NURI           MUHAMMAD                   DC     90011576641
2153189892B27B   JUAN GABRIEL   SANCHEZ                    DC     90011398989
215331A379155B   D              OLMEDO                     TX     90009151037
21533651787B87   SHARON         JACOBS                     AR     90014286517
2153389A69136B   FAUZIA         ABDULLAH                   MO     90008978906
21533968572B88   VALENTIN       LOPEZ                      CO     33092329685
215341A524B261   PAMELA         SMITH                      NE     90012491052
2153431969155B   MICHAEL        LINDER                     TX     90011233196
2153475198B17B   RANDI          RECHINS                    UT     90007107519
215353A5672B88   AMANDA         CONE                       CO     90012793056
2153554534B261   TERRY          BERUMEN                    NE     27095835453
215359A2A81637   FALENTINO      ALVAREZ                    MO     90014849020
21535AA262B232   FELEKE         HAILE                      DC     90006520026
21536227A7B471   ANA            AGUILAR                    NC     90013922270
21536475A3B352   ERICH          HAURT JR                   CO     90007994750
2153732A65B161   CANDIDO        MIGUEL                     AR     90013663206
2153761715B571   NATALIE        MERAZ                      NM     90013266171
21537813372B98   EDIE           ESPINOZA                   CO     90012708133
2153782532B27B   ANA            SALGADO SARAVIA            DC     90012888253
2153787877B644   YALANDA        HARRIS                     GA     90011648787
215379A9991984   ASHLEY         CALLISON                   NC     90013769099
2153821674B588   EDUARDO        RAMIREZ                    OK     90009602167
21538318887B59   JOSEPHINE      ROBERSON                   AR     90014563188
2153843415B161   TIFFANY        POINDEXTER                 AR     23078574341
2153879332B232   ISMAEL         SOSA                       DC     90003717933
2153926526B931   NAOMI          GARCIA                     NJ     90015122652
2153936537B699   SHANNON        WHITE                      GA     90014853653
2153937329155B   JULIETA        DIAZ                       TX     90013943732
21539468187B59   GAY            BRISTER` GRAGG             AR     23077774681
2153B136331631   MARIA          MARTINEZ                   KS     90014471363
2153B31789155B   MARIA          TORRES                     TX     90002593178
2153B54867B699   ERICA          JONES                      GA     15083175486
2153B638181661   MONIGUE        HEIMANDEG                  MO     90010286381
2153B759972B98   SELENA         FORD                       CO     33039907599
2153BA72A4B281   GLORIA         GOYNES                     NE     27090370720
2154128597B699   DEANNE         CLARK                      GA     90013742859
215412A9572B88   NOEMI          OLGUIN                     CO     33002532095
21541787787B87   SHIRLEY        HARRIS                     AR     90014847877
21541A3714B261   PATRICK        ANSON                      NE     27006870371
21542285772B98   SHANDAL        SHIH                       CO     90013862857
2154255164B548   SAMUEL         AJANEL                     OK     90007845516
2154257739136B   LOURDES        GUIZAR MENDOZA             KS     90013115773
2154276227B699   CHANDRA        CRAWFORD                   GA     90014747622
21542812187B59   JERRY          NORSEY                     AR     90009808121
215436A289189B   LATANYA        GREEN                      OK     90012696028
21543A75955941   JOSE           ESTRADA                    CA     90010740759
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2154421198B17B   JODY                SPIDLE                UT     90013362119
2154446137B471   ROSA                FUENTES               NC     90014424613
2154452829184B   LEE                 DAVIS                 OK     21062805282
2154481725B167   PAT                 MANNING               AR     90010838172
2154686A381637   HECTOR              ESCOBAR               MO     90015508603
21546A37791241   RON                 JONES                 GA     90013280377
2154716319794B   ROXANA              VASQUEZ               TX     90003621631
21547321976B4B   LAURA               PRESBERRY             CA     90002653219
215475A7191833   CARMEN              SMITH                 OK     90007885071
21548255A91241   HENRY               MINIS                 GA     14585602550
21548371672B88   MARK                SMITH                 CO     90003953716
2154847425B167   WHITTNI             EVANS                 AR     23026304742
21549186272B88   SYLVIA              HERNANDEZ             CO     90011931862
21549369197B41   BETTY               GUERRERO              CO     39086303691
2154B43152B232   MONICA              PRICE                 DC     90002954315
2154B47144B281   JEFFERY             LANPOSN               NE     90014624714
2154B48198B151   EMMA LEE            EAST                  UT     90013564819
2154B766A8B151   JENNIFER            FREDRICKSON           UT     90013097660
2155131479136B   CANDICE             COVINGTON             KS     29091703147
21551A39555941   ANTONIO             MORALES               CA     90010680395
2155211264B281   JACQUELINE          JHONSON               NE     27095821126
2155322737B471   AMBER               DARJEE                NC     90013922273
2155352934B281   TRACY               KISER                 NE     27003915293
21554298672B88   AMBER               TRABERT               CO     90009482986
215542A2591541   ESTEFANIA           PEREZ                 TX     75073152025
2155451658B17B   JENNIFER            FYNBO                 UT     31027125165
215549A257B471   MARIA               GARCIA                NC     90014209025
215555A7155941   BERTHA              LACRUE                CA     49033985071
2155574775B161   MICHAEL             SMITH                 AR     23066567477
2155579425B571   MARGARITA           ALDANA                NM     35052327942
215557A6A9155B   BRITTANEY           DURON                 TX     90015177060
2155615AA4B588   JOHN                BEARSHEARS            OK     90004951500
2155643624795B   RANDALL             GAGE                  AR     90004094362
21556755587B59   LATOYA              CHARLES               AR     90007407555
21556A6219136B   RAMONA              HERRERA-RANGEL        KS     90011210621
2155715A28B17B   VERONICA            AGUILAR               UT     31033111502
215579A8887B59   BRITTANY            WALKER                AR     90013819088
2155861942B232   OMARI               JEFFERSON             DC     90013006194
21558921687B59   QWUINSHANITA        BROWN                 AR     90011089216
21559855387B87   SHANTA              MAYS                  AR     90010598553
2155B335872B98   DEMETRIUS           GRAHAM                CO     90015163358
2155B395355941   COURTNEY            MONTES                CA     90006853953
2155B53859136B   MAGDALENA           CHAPA                 KS     90015215385
2155B554281638   KRISTINA            BENEDICT              MO     29074885542
2155B5A747B699   QUINTANA            R                     GA     90014135074
2155B743A5B271   AMY                 LAMBERT               KY     90011737430
2155B84829189B   GREYVIS             AGUILAR               OK     90014848482
2156117989155B   CRISTIAN FERNANDO   VEGA                  TX     90012931798
2156175169155B   JAVIER              ARREDONO              TX     90014877516
2156175179136B   PAYGO               IVR ACTIVATION        KS     90015177517
21561A78581661   WESLEY              GUILLIAMS             MO     29001930785
2156237A12B27B   SHAKIA              BROCKENBERRY          DC     81041783701
21562636572B88   SMILEY              MENDEZ                CO     90008706365
2156289137B471   MICHAEL             LONON                 NC     11090308913
21562A8525B571   ELISHA              GRIFFIN               NM     35023940852
21563267272B98   ANSELMO             MUNOZ VEGA            CO     90014132672
2156334699155B   NYDIA               CARILLO               TX     90001453469
215637A2577541   ERLINDA             SALINAS               NV     90014427025
2156425344B281   TAL                 JONES                 NE     90014982534
2156435237B699   CONNIE              STARKS                GA     15002993523
215644A5291833   DANIELLE            ADAMS                 OK     21012344052
215654A9A4B281   SOPHIA              JOHNSON               NE     27092724090
21565544A7B699   KELLY               JACKSON               GA     90015045440
2156566A44B245   TINA                INGRAM                NE     90003796604
21565AA8557157   NERIS               RAMIREZ               VA     90001620085
215662A215B531   JOSEL               GAMBOA                NM     35052492021
21566323572B88   ADRIANA             ESPINO                CO     90012793235
215675A2881661   EARLENE             MCADOO                MO     90009195028
2156853469794B   YOLANDA             WORKMAN               TX     74006435346
21568747872B98   JOE                 SER                   CO     90015127478
2156893488B17B   EDGAR               GONZALEZ              UT     31057039348
21568A4594B261   CONRAD              DEIDRE                IA     27015810459
2156952415B531   JAIME               VILLANUEVA-MAYO       NM     90013565241
2156952984B281   DAVID               SWEENEY               NE     90012675298
2156984A62B27B   JAVONTE             VADEEN                DC     90012888406
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2156B123672B98   MARGARET     BLISS                        CO     90013971236
2156B2A2791542   SHAWN        BRIGGS                       TX     90010852027
2156B5A6591541   GABRIEL      MARTINEZ                     TX     90013305065
2157123A957157   ENRIQUE      VIATERO                      VA     90014592309
2157127A55B571   GUERRA       EDGAR                        NM     35077502705
2157161A35B167   DWAYNE       ROBINSON                     AR     90012506103
215717AA431631   JEFF         MASTERS                      KS     22079917004
2157215664B261   JUSTIN       COLLINSON                    IA     90010901566
21572358787B59   ELIZABETH    SMITH                        AR     90012853587
2157269239155B   MARK         RAMIREZ                      TX     90013096923
2157274139184B   MELIA        BENHAM                       OK     90014647413
2157293354B261   CALONE       WILLIAM                      NE     90013929335
2157312788B182   JAN          ALLEN                        UT     31089541278
21573526A4B281   DAKOTA       WILSON                       NE     90013905260
2157372A94B261   DEANNA       NIELSEN                      NE     27033217209
21574675A47952   LAMAR        DICKERSON                    AR     90009586750
2157471A35B571   ANTHONY      AYLAYA                       NM     35036057103
215747A419136B   ELIZABETH    FRENCH                       KS     29013707041
2157534758B837   RAYANA       WONG                         HI     90015393475
2157578554B245   GOUKER       BRYAN                        IA     27005167855
21575888972B42   CHRIS        BLACK                        CO     90002828889
21575916187B21   JERRY        WATSON                       AR     28016899161
2157594974B588   JAMES        MCCRONE                      OK     90014559497
21576556A72B42   DAIONNA      KENNEDY                      CO     90012515560
2157664A77B471   EVANSON      MICHEL                       NC     90009616407
21576948A4B261   CHRISTINE    LAVERA                       NE     90011279480
21577587A55941   NATHAN       BIBB                         CA     90010125870
2157779575B161   JONATHAN     EMBRY                        AR     90013047957
21577A67391833   SHARI        LOVE                         OK     90005990673
2157843A78B159   SHANNAN      HOWARD                       UT     31096284307
215787A7872B42   ENRIQUE      JENNER                       CO     33074337078
21578A54691984   JUSTIN       MONROE                       NC     17068230546
21578A5A79184B   JOSE         HERNANDEZ                    OK     90013030507
2157921179136B   MANUELA      OCON                         KS     90001182117
2157939289155B   CYNTHIA      MENDEZ                       TX     90013943928
21579A84155957   CECELIA      FINNE                        CA     48003040841
21579AAA831631   JOSE         RAMIREZ                      KS     22001610008
2157B153763669   BRITNEY      SNIDER                       MO     90002401537
2157B184891984   SHANNON      BLAND                        NC     90010921848
2157B43A19184B   DAWNA        SCHUTTE                      OK     90009514301
2158139359155B   FATIMA       AVITIA                       TX     90013943935
21581785572B98   TIFFANY      CONDON                       CO     90014607855
2158182A684364   MIRNA        CADENAS                      SC     90014108206
215823A1A51348   JUAWANA      KINNARD                      OH     90014263010
2158266736B134   TANDRA       JARROW                       MS     90014926673
215827A2131631   ROSAURA      MARTINEZ                     KS     90010547021
2158295A85B531   MANUEL       TENORIO                      NM     90009519508
21582A81947952   MERI         BRADLEY                      AR     90013810819
21582A88381637   SHANNON      FOSBERG                      MO     29063760883
2158329A17B274   CARL         GOLDEN                       AZ     90012642901
2158349488B17B   REID         NELSON                       UT     31068624948
2158354155B271   LYNIKA       CARTER                       KY     90014655415
2158355987B449   ANA          OSEJO                        NC     11073565598
2158372779189B   ADRIAN       ORTIZ                        OK     90015137277
2158374375B531   MAX          GALLEGOS                     NM     90012687437
2158399897B471   DE ANNA      MCILWAIN                     NC     90013369989
21583A24931631   LILIANA      PEREZ                        KS     22034930249
21583A8269155B   RAUL         CASTRO                       TX     90001950826
2158459A95B167   NAKISHA      BARBEE                       AR     90013835909
21584A97144B62   KASSIDY      METZGER                      OH     90014420971
21585132A7B471   MAIK         ADAM                         NC     90013861320
2158518597B449   JERMOND      WILLIAMS                     NC     90014021859
2158552532B232   JOHN         SANTERO                      DC     90014345253
2158563A685823   DENNIS       TYNES                        CA     90005216306
21586428A57157   LUIS         LOVATO                       VA     90013934280
21586536A93767   AARON        WHITE                        OH     90007605360
21586A71757123   RUBEN        CRUZ JR                      VA     90013680717
21586A83651343   CANDACE      SLAUGHTER                    OH     90001630836
21587183972B42   SNIDE        CLEM                         CO     33025521839
2158744577B471   TIFFANY      DUNN                         NC     90003244457
21587497A57157   RAUL         VALLEJOS                     VA     90012034970
2158775169155B   JAVIER       ARREDONO                     TX     90014877516
215879A659136B   JULIO        IGLESIAS                     KS     90015169065
215879A8972B98   AUDRA        GARDNER                      CO     33014699089
21587A61431453   ANGELA       BIRDSONG                     MO     90013420614
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2158817265B271   JEANIE       BROWN                        KY     90001461726
21588392872B88   JOSIE        SEDILLO                      CO     33005693928
2158878A97B699   TIFFANY      GARY                         GA     90005967809
2158884A97B449   GLORIA       SOSBEE                       NC     90013688409
21589184472B42   STEPHE       FITZHENRY                    CO     90009361844
2158933A87B471   LATRICE      DOBY                         NC     90009143308
2158934A65B531   GUADALUPE    SILVA                        NM     90000853406
2158941A155941   ALMA         RODRIGUEZ                    CA     49077894101
215896A4A41245   DAVID        GONZALES                     PA     90013866040
21589867972B98   CARLOS       ROJAS GOMEZ                  CO     90014478679
21589A1277B471   LATRICE      DOBY                         NC     90014730127
2158B13815B167   TYRONDA      SMITH                        AR     90013911381
2158B165491528   ALONDRA      HERMOSILLO                   TX     75082331654
2158B44417B449   DANNY        SAU                          NC     11001094441
2158B467791227   SHANICE      SMITH                        GA     90002094677
2158B5AA672B98   TAMARA       ADELMAN                      CO     90011765006
2158B77937B699   KAREN        CALLAHAN                     GA     90014377793
2158B82A684364   MIRNA        CADENAS                      SC     90014108206
2158B96A247952   AURORA       PADILLA                      AR     90013929602
2158BA9375B571   VICTORIA     MONTOYA                      NM     35010220937
2159128954B588   JOSE         CAHUICHRIVERA                OK     90013012895
21591481A57157   MARIAM       FEKRE                        VA     90014084810
2159148337B449   ARTHUR       BURKE                        NC     11004114833
2159166115B167   ELBERT       DAVIS                        AR     90002046611
2159175397B471   DUGGLAS      ZAMORA                       NC     90014727539
2159278A47B699   LUCAS        PEREZ                        GA     90015187804
2159299755B161   CHRISTINE    WADLINGTON DAYS              AR     23048289975
2159312AA4B588   TONYA        GORDON                       OK     90008531200
21593797A87B87   ZLANDRIA     BOYCE                        AR     90011027970
2159389355B271   NIEISH       WEAVER                       KY     90014068935
2159393129155B   ARICHELL     ORTEGA                       TX     90013869312
21594734A57B85   NICOLIN      BUSHATI                      PA     90013767340
2159496A69189B   RANDY        FRANKS                       OK     21025139606
21595472A57157   PATRICE      THOMAS                       VA     90014794720
2159579619136B   GLENN        KERSHAW                      KS     90013747961
2159644899189B   SEAN         TURLEY                       OK     90014424489
2159673635B161   SAMIKIA      UNDERWOOD                    AR     90013737363
2159688865B531   IRENE        MENDOZA                      NM     90010958886
2159688915B538   FRANCES      AYALA                        NM     90012638891
21597146A5715B   AURA         ARREAGA                      VA     81077551460
2159778A187B87   TAMELA       LUCKETT                      AR     90014857801
2159781183B133   MARISOL      GARCIA                       VA     90012438118
2159821A29184B   ANTHONY      MOSLE                        OK     90010952102
21598341772B88   KAREN        BUNTING                      CO     90012793417
2159859912B27B   ERICA        PETTIFORD                    DC     90014915991
21598941372B88   MICHAEL      KAISER                       CO     90014919413
21599169A87B87   TIJUANA      WEBSTER                      AR     90011111690
2159924A97B471   MICHAEL      CARBAJAL                     NC     90009382409
21599381276B53   FRANCISCO    PAYAN                        CA     90013753812
215994A917B699   SHANA        ANDREWS                      GA     90013114091
2159968179189B   SAMANTHA     BREEDEN                      OK     90009086817
2159991A655957   ANGELIQUE    DURAN                        CA     90009389106
2159B174772B88   TORIAN       ASKEW                        CO     90000721747
2159B617155957   KIM          LEE                          CA     90013966171
2159B746A9155B   MARIA        LOPEZ                        TX     75008857460
2159B77937B471   MICHELLE     MCNEILL                      NC     90008587793
2159B787A2B232   BRENDA       PALMA                        DC     81076627870
2159BA64A72B42   DOUGLES      HOPKINS                      CO     90010210640
215B1194857157   IRIS         SANCHEZ                      VA     90011871948
215B139969155B   ALEXANDER    CHAVEZ                       TX     90001313996
215B167564B588   ULISES       TOSCANO                      OK     21530406756
215B1819133126   CHRISTINA    LANGFORD                     IL     90015368191
215B2161541245   MARY         PEREZ LOPEZ                  PA     51068241615
215B2426172B88   HERIBERTO    AMATECO                      CO     33078024261
215B2A7172B27B   DONITA       GASKINS                      DC     81012160717
215B3566581637   CODY         SOPER                        MO     90014525665
215B379A981638   LYNZEE       COOKE                        MO     90010057909
215B382727B449   STANTAVIA    WRIGHT                       NC     11064518272
215B385792B27B   ROGERS       HOWARD                       DC     90002678579
215B4247833144   ERIC         METOYER                      IL     90015032478
215B42A7241245   BARINDER     SINGH                        PA     90000502072
215B433629155B   CRYSTAL      MANJARREZ                    TX     90013943362
215B45A1A72B42   CLIFF        THOMAS                       CO     33050635010
215B4853255957   LUIS         JAIRO                        CA     90010638532
215B525279184B   NORMA        CUETO                        OK     90013072527
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215B5282993773   KIMBERLY     THOMAS                       OH     64579052829
215B5694A2B27B   NATASHA      GUMBS                        VA     90013776940
215B593324B261   RIKKI        FREEMAN                      IA     90001419332
215B618A151343   TRACY        JONES                        OH     66088791801
215B673AA4B261   CARMEN       BOSTON                       NE     27043347300
215B6749155957   ANGELICA     ESTRELLA                     CA     90013207491
215B691149189B   SHEREE       WESLEY                       OK     21075969114
215B6A68672B88   ALBA         FLOREZ                       CO     33073320686
215B7131257157   MELISSA      ROSE                         VA     81019001312
215B7171A7166B   LILIAN       BLACK                        NY     90015511710
215B71A624B245   ARMANDO      HERNANDEZ                    NE     27016691062
215B7665191984   ALAN         MARTINEZ                     NC     90015146651
215B799A291828   ROGELIO      AVALOS                       OK     21039189902
215B8274655941   MARTHA       ARREOLA                      CA     49002542746
215B8355287B87   MARY         BURNETT                      AR     23092483552
215B861364B588   MICKI        TRAMBLE                      OK     90006826136
215B8714772B98   LUIS         VALENZUELA                   CO     90008687147
215B8769555957   MARTHA       AGUAYO                       CA     90015317695
215B8A14384364   ALONZO       STONEY                       SC     90014800143
215B9591391528   JAIR         HEREDIA                      TX     75092375913
215B975A487B87   KATHY        DOCKETT                      AR     23086717504
215B976564B588   MERCEDES     AGUILERA                     OK     90006877656
215B989359136B   ELVIA        BURCIAGA-CADENA              KS     90013618935
215B99AA79136B   ELVIA        BURRIAGA                     KS     90003549007
215BB127241245   TAMYRA       ROBINSON                     PA     90014781272
215BB12834B581   PHILLIP      JOHNS                        OK     90003761283
215BB194947952   JOSHUA       MADISON                      AR     90014941949
215BB48489136B   JAZZLYN      GRAVES                       KS     90000594848
215BB72714B588   JON          YUDENFRIEND                  OK     90008547271
2161129969794B   PATRICIA     STANLEY                      TX     90004072996
2161151469189B   VICENTE      RODRIGUEZ                    OK     90013755146
21611612672B98   CRYSTAL      SANDOVAL                     CO     90012606126
2161198349155B   JOSUE        ORTEGA                       TX     90008739834
2161227532B27B   EBONY        MAGRUDER                     DC     90013442753
21612335A41245   JACKIE       PAGE                         PA     90005373350
2161259989136B   ZEFERINO     CUMPLIDO-FELIPE              KS     90015215998
2161261894B588   JESUS        FERNADAZ                     OK     90015166189
21612A89872B98   MARIA L      RAMIREZ                      CO     90005120898
2161352235B571   JOHN         SILVA                        NM     35007465223
21613586A87B87   FRANK        WILLIAMS                     AR     90013645860
2161388564B281   STEPHANIE    FEARS                        NE     27072638856
216144A9A9155B   DAVID        FLORES                       TX     90013944090
2161457387B699   JOHN         JOHNSON                      GA     90013485738
2161476755B531   ANGELA       MCCOY                        NM     90013567675
21615631A4B297   HEVER        HERNADEZ                     NE     90012326310
21615995672B88   MARIA        BENAVIDES                    CO     90008619956
2161618218B17B   SAMANTHA     WILLIAMS                     UT     31011081821
2161621244B588   WILLIAM      EQUELS                       OK     21589632124
2161631A891828   DONNA        BOWERS                       OK     21098603108
216172A7391241   LAURA        ALVAREZ                      GA     90015112073
2161767134B245   AL GEAN      HAYNES                       NE     27061996713
216178A4991833   MICHELLE     SEARS                        OK     21012878049
21617943772B88   CRISTIAN     PINTO MARTINEZ               CO     33085199437
21617A12481638   TRAV         LOCC                         MO     90011330124
21617A38547952   MARCIA       POWELL                       AR     24010040385
2161841159155B   DOLORES      CERVANTES                    TX     90013944115
2161937277B471   VALLI        TURNER                       NC     11068983727
21619463372B88   GLORIA       RAMIREZ                      CO     33055674633
21619545372B98   ANA          MORALES                      CO     90011765453
2161967279155B   MARIA        GUTIERREZ                    TX     90014006727
2161976A672B42   MOUREN       METILLA                      CO     90012387606
2161B43624B281   NICOLE       SHERRILL                     NE     27072414362
2161B497A87B87   BRANDIE      COLEMAN                      AR     90011394970
2161B743985938   JUSTIN       ELAM                         KY     90011077439
2161B74A487B21   DAVIDA       HUFFSTUTLER                  AR     28065317404
2161B87489794B   MARGARITA    GUTIERREZ                    TX     90009068748
2161B959672B42   MARIA        TORIJA                       CO     90011089596
216212A5197128   ROBERT       GAYNOR                       OR     90009202051
21621689872B88   ALFREDO      ATAYDE                       CO     90015126898
2162193297B471   JOE          BLACK                        NC     90004179329
216223A1791525   KARLA        MARQUEZ                      TX     75006413017
21622847A91241   ROBET        JOHNSON                      GA     90013618470
2162287865B161   MIGUEL       CERVANTES                    AR     23085038786
2162315117B449   LUIS         BUENDIA IBARRA               NC     11016871511
2162322649189B   SANTA        ROMERO                       OK     90014252264
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21623A3A657157   ELIZABETH    SHELTON                      VA     90010630306
2162452677B471   CANDACE      HOLLAND                      NC     90007215267
21624A6A57B699   JUANITA      PITE                         GA     90003610605
21625387A47952   DONALD       WURTZ                        AR     24081803870
21625712572B98   RENEE        COTHRAN                      CO     90013747125
21625836A57149   SANTO        SORTO                        VA     90014248360
2162585437B699   ARKELA       MATHIS                       GA     90014948543
21625A7515B271   JULIE        ARNOLD                       KY     90011480751
2162631569155B   FRANCISCA    DURAN                        TX     90008513156
2162633525B167   AMBER        PRICE                        AR     90000823352
2162693755B144   DARAL        BATTLES                      AR     90010569375
2162715744B245   ANN          ROGERS                       NE     90009771574
2162776AA72B98   PADILLA      DAVID                        CO     90011217600
2162794A59189B   DEBBIE       CAMPBELL                     OK     90010209405
2162811332B27B   WILLIAM      PIERCE                       DC     81091911133
2162825517B449   DOUGLAS      PLYLER                       NC     90013992551
2162884669794B   VANENA       CASAS                        TX     90011798466
21628869472B98   DAMIAN       MANCHA-SALAS                 CO     90014478694
21629642A7B699   CHRISTINA    LEWIS                        GA     90013886420
2162B152A81661   MATEO        POLING                       MO     29025531520
2162B45557B471   CAMILLA      MOORE                        NC     90010314555
2162B459287B59   THOMAS       WALKER                       AR     23069894592
2162B863881638   JACOB        PAULSEN                      MO     90011128638
2162B877951343   REGINALD     MATTHEWS                     OH     66000548779
2162BA68291541   LEAH         LOPEZ                        TX     75036640682
2163141494B588   BRIAN        FRICKS                       OK     90012984149
21631AA1A84364   CLARANCE     BRISBANE                     SC     19047270010
2163221AA9184B   MARIA        VALERO                       OK     90011452100
21632348572B88   LEE          CURRY                        CO     90012793485
216329A2431631   LISHA        HARRIS                       KS     90011129024
21633148A72B98   NUVIA        JAVALERA                     CO     33082711480
2163324752B987   SANDRA       ADAMS                        CA     90014232475
2163352A44B588   JESSIE       ARELLANO                     OK     90007505204
216336A6431631   CORY         SAMPSON                      KS     22014186064
2163524752B987   SANDRA       ADAMS                        CA     90014232475
2163526A15B167   ROBERT       WHEELER                      AR     23095002601
2163593644B281   MIKE         HANGMAN                      NE     90014729364
2163597A672B98   MARIETTA     LEONARD                      CO     33006309706
2163663A77B471   RUFINO       CRUZ                         NC     11059226307
21636724A41245   RICHARD      BARON                        PA     90012627240
2163676755B531   ANGELA       MCCOY                        NM     90013567675
216372A915B161   WESLEY       BRIGGS                       AR     90015172091
2163833AA91541   MANUEL       VILLADO                      NM     90004823300
2163863A691547   RIGOBERTO    CORDERO                      TX     90010996306
2163933339189B   GWENDOLYN    CHIBITTY                     OK     90010733333
21639967272B98   NADINE       NEURAUTER                    CO     33071759672
2163B496587B59   CAME         CARTER                       AR     90010794965
2163B63857B699   WHITNEY      BLAND                        GA     90007736385
2163B787391583   BRIANNA      GARCIA                       TX     75069887873
21641149672B98   MICALA       DIAZ                         CO     90013971496
2164132944B281   ADELA        VILLAGOMEZ                   NE     27015993294
2164137529155B   GEORGINA     GUERRERO                     TX     90011233752
2164231159136B   SYLVIA       TRAVIS                       KS     90011213115
21642425972B42   JIM          ANDERSON                     CO     90013304259
2164243A69155B   ZACHARY      ESQUIBEL                     TX     90013944306
2164313599155B   BERENICE     JAUREGUI                     TX     90011921359
2164329325B271   RUSSHELL     RUSSELL                      KY     90012292932
2164333749189B   FLOYD        BROWN                        OK     90014493374
216436A9172B42   ADRIAN       ALVAREZ                      CO     90015036091
2164379435B167   LATRINA      GILL                         AR     90004837943
21643794A4B281   PATRICIA     ACKLEY                       IA     90013747940
2164449724B261   KEVIN        STRONG                       NE     90015074972
2164455392B931   DAVID        ELLIS                        CA     90005945539
2164469A484364   JOANN        ACKERMAN                     SC     19051346904
2164471422B232   MARVELL      JOHNSON                      DC     81007707142
21644766A8B188   JENNIFER     FREDRICKSON                  UT     90013097660
2164481AA72B42   MICHAEL      NASH                         CO     90013948100
21644A69251338   TONYA        MOHN                         OH     90000830692
21644A72991984   SEFERINO     DIAZ MARTIN                  NC     90013490729
21645132572B42   MEOLDER      MIA                          CO     90008081325
21645184272B98   KATHLEEN     CABRAL                       CO     33018571842
2164588257B699   SHAEKIA      AUSTIN                       AL     90013078825
2164596679189B   JOE          SLOAN                        OK     90006779667
2164597A781661   WALESKA      CAPIELO                      MO     90013959707
2164618177B471   CHANTEL      CROSBY                       NC     90015241817
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2164625615B571   DORA              BORUNDA                 NM     35040382561
21646A4934B245   LINDA             MCDOWELL                NE     27029800493
21647167872B88   ADALBERTO         OLIVAS                  CO     33004411678
21647511376B67   FRANCISCA         ZARATE                  CA     90012265113
21647666A47952   FELISHA           MITCHELL                AR     90013736660
2164773525B344   LORRIANA          MARTINEZ                OR     90012947352
2164795A187B59   KIMBERLY          THOMAS                  AR     90012509501
2164839A85B161   LASHONDA          HOLMES                  AR     90013933908
21648826A5B167   BIANCA            HIGGINS                 AR     90013238260
21648957772B98   MIKE              LACOSSE                 CO     90012169577
2164916729155B   MARIA             NIETO                   TX     90005641672
2164951A781661   ROSANNA           FLORES                  MO     29026505107
21649692A9794B   MIDA              CABRERA                 TX     90009416920
2164973299136B   MICHAEL           MCFARLIN                KS     90015217329
2164999444B588   JASMINE           MORROW                  OK     90013299944
21649AA4587B87   WILLE             WILLIRUCKER             AR     90014300045
2164B14A457157   JIMMY             ROGERS                  VA     90011341404
2164B52739189B   CINDY             DELOSSANTOS             OK     90003935273
2164B824687B21   JUAN              PEREZ                   AR     28015778246
2164BA78491984   FLORINDA          SEBASTIAN               NC     90011390784
2165125A187B87   LORETTA           YOUNG                   AR     90011132501
2165172A355957   CLIFFORD          THOMPSON                CA     90000397203
21651886A81661   ELIZABETH         COLLINS                 MO     90015308860
2165232415B167   ALESIA            WILSON                  AR     90003163241
21652348A55941   JASON             JONES                   CA     90013003480
2165235949155B   JUSTINO           LOPEZ                   TX     90001123594
2165267A55B271   SHANNON           MEREDITH                KY     90014656705
21652A94755957   NOAMI             GAMEZ                   CA     90012930947
2165375577B699   TONYA             WILLIAMS                AL     15005177557
2165413478B17B   LEE               WHEE                    UT     90009411347
21654362272B88   JAIDEN            GONZALEZ                CO     90012793622
2165439345B161   MARTHA            REYES                   AR     90013933934
2165445A39155B   MARTIN            GARCIA                  TX     90013944503
21655481A55957   JEREMY            THAYER                  CA     90013964810
21655581A91585   MARIA             AGUILAR                 TX     90002425810
2165573314B245   REBECCA           RILEY                   NE     90001267331
21655A7157B699   CHANTAL           LANE                    AL     90014960715
21655A8337B699   BRENDA            DANIELS                 AL     90012940833
21656294A4B245   TAMMY             SALAS                   NE     90011592940
21656577272B42   ROSA              PEREZ                   CO     90013055772
21656841272B88   WILLIAM           JONES                   CO     90013238412
2165696975715B   CRYSTAL           HARRIS                  VA     81029749697
2165772412B232   MARQUITA          HARVEY                  DC     90014037241
216578A9655957   MARTIN            JOHNSON JR              CA     48092948096
216581A429155B   VONNYE            WADE                    TX     90004101042
2165821372B27B   PAUL              BROWN                   DC     90012612137
216582A685B271   LUIS              CRUZ                    KY     90008942068
2165865884B281   NATHANIEL         CLIFTON                 NE     90013276588
21659398987B59   SUSIE             SURRATT                 AR     23004263989
21659A4A59189B   QUINTINA          RICE                    OK     90012710405
2165B278647952   ADINA             ADAMS                   AR     90015112786
2165B2A569184B   ALICIA            TORRES                  OK     90010532056
2166113594B28B   MIKE              SMITH                   NE     90011201359
216613A7631453   MICHEAL           BOUNDS                  MO     90009793076
21661666A51343   RYAN              GLANDORF                OH     66078566660
2166196152B232   LATOYA            BROWN                   DC     90000549615
2166256635B531   DEBRAH            DOPORTO                 NM     35017805663
216628A2555941   DORA              NAVARRO                 CA     90007968025
21663132A91828   DARRY             KENDALL                 OK     21069231320
216631A5551343   PAYGO             IVR ACTIVATION          OH     90011381055
2166324644B281   RABIA             MOUKRAD                 NE     90000602464
2166369A687B87   HILDA             WATLEY                  AR     23022166906
2166381325B571   LORIE             RIVERA                  NM     35087958132
21663A54A57157   MANUEL            PEREZ                   VA     90010630540
21663A8925B167   JERMEY            TRICKEY                 AR     90014060892
2166441416B931   JUAN              JUARAS                  NJ     90013824141
2166445515B167   TAMARA            MCCLURE                 AR     23058724551
2166454522B27B   RODWICK           MOSS                    DC     90012895452
2166516719155B   EVA               TRUJILLO                TX     75088091671
2166521129152B   DANIEL            MORRIS                  TX     90010452112
2166555325B161   TERRANCE MOSEBY   MOSEBY                  AR     90015205532
2166569558B179   JORGE             CARRANZA                UT     90011496955
2166698417B471   BRIDGETTE         BELL                    NC     90013929841
21666A6A172B42   LENA              BETTALE                 CO     90014010601
21667A37191541   YVONNE            DELGADO                 TX     90012470371
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2166847174B588   NANCY         GOMEZ                       OK     21535584717
2166878275715B   ABDIEL        GARCIA-VELEZ                VA     81029757827
2166895385B531   DAVID         VELEZ                       NM     90013569538
2166912115B161   ANNETTE       THOMAS                      AR     23066591211
2166948854B588   CORY          TILLERY                     OK     90013254885
2166978A85B271   DAVID         SWEENEY                     KY     90014297808
21669A86A47952   ASHLEY        GREEN                       AR     90010940860
2166B623881661   REYNA         MEJIA RAMIREZ               MO     90014846238
2166B79435B167   LATRINA       GILL                        AR     90004837943
2167184795B167   SAMANTHA N    COX                         AR     90009868479
21671A82587B87   DANTE         WATSON                      AR     23045530825
21672272587B59   NEKETHIA      FRENCH                      AR     90008772725
2167238A25B161   CROMER        SHULER                      AR     23060913802
21672476587B87   CHRISTOPHER   VALLUN                      AR     90013554765
2167297685B531   ANTHONY       BARELA                      NM     90013569768
21672A8A141245   DAVID         BENSON                      PA     90015130801
21673156A4B588   ROBERT        SIMMONS                     OK     90010891560
216731A394B245   TERRI         THOMPSON                    NE     27064791039
2167329364B281   MARY          DALEY                       NE     27085162936
21673329A4B261   JEFFREY       BUCKWALTER                  NE     90012033290
2167464577B471   ANNIE         GATES                       NC     90010896457
2167493495B144   GLENDA        WRIGHT                      AR     90001079349
2167497419184B   DIANA         AGUILAR                     OK     90008149741
21674A26847952   CRISTAN       ORRELL                      AR     90015080268
2167514375715B   IVORY         SHIELDS                     VA     81063531437
2167538754B245   TALEIGHA      BROWN                       IA     90011753875
2167575129136B   NORMA         HERRERA                     KS     90004627512
21675766287B59   SHARON        HILL                        AR     23084587662
216758A794B281   COBY          NABER                       NE     90013888079
21675A57691828   ERICE         CARTER                      OK     90002660576
21675AA3372B88   RALPH         SANCHEZ                     CO     33009190033
21676176A91241   CHRISTINA     STRICKLAND                  GA     90013391760
21676A54431631   APRIL         CALFY                       KS     90010970544
2167717574B581   CHADWIN       KELLY                       OK     90003511757
2167719717B471   JHONETHEN     ENRECE                      NC     90011481971
2167728394B261   FELIX         ADAME                       IA     27054422839
21677815A2B27B   LEVIA         BAUTISTA                    DC     90015298150
2167789585B571   AURELIO       DESANTIAGO                  NM     90006158958
2167849685B531   LISA          RODRIGUEZ                   NM     90013304968
2167858A39189B   VICTORIA      TIERRABLANCA                OK     90014085803
21679692572B98   MAYERLI       FLORES                      CO     90001206925
2167975984B245   JOHN          HAUGE                       NE     90002817598
21679A9454B261   EFFIE         MACH                        NE     27004470945
2167B25927B449   TERESA        JONES                       NC     90008302592
2167B274984364   JULIUS        LEACH                       SC     90010112749
2167B29185B271   JOSE          TORRES                      KY     90014582918
2167B419655941   JENNY         LOPEZ                       CA     90013854196
2167B46878B179   FLOYD         VIGIL                       UT     90007524687
2167B69A27B699   JUAN CARLOS   GOMEZ CLEMENTE              GA     90013896902
2167B929A9184B   CRYSTAL       WILKERSON                   OK     21028539290
2167B978591241   ASHLEY        BROYLES                     GA     90011779785
2167BA4124B281   AUSTIN        DERBY                       NE     90009210412
2168123775B167   JOSE          MONDRAGON-LARA              AR     90014172377
2168172584B281   ALBERT        MARKS                       NE     27087327258
2168187A287B59   DOMINIQUE     FOOTS                       AR     23074878702
216828A334B261   DEVON         SMITH                       NE     90014768033
2168373975B271   CHRISTOPHER   SMOLIK                      KY     90014657397
21683A4785B531   CRYSTAL       RODRIGUEZ                   NM     35003800478
21683A48A91828   KANYELL       HUNTER                      OK     90015130480
21683AA2A7B471   GERRARD       WEST                        NC     90002910020
2168462317B699   JESSICA       TUTOR                       GA     15064976231
2168462372B232   ARANTZA       LOZA                        DC     90008306237
2168466315B531   PHILIP        BACA                        NM     90012846631
2168495445B161   JAMES         PITTS                       AR     90015479544
2168524A34B588   COREY         NEWTON                      OK     21505632403
216858A4172B42   MARCO         ROJAS                       CO     33076418041
2168591329189B   ERIN          POWELL                      OK     21097289132
2168595755B167   QUANITA       CASEY                       AR     90012259575
2168654947B449   ROBERT        WILLIAMS                    NC     11055275494
2168661615B161   SHAMIA        WASHINGTON                  AR     90014936161
2168663725B161   SHAMIA        WASHINGTON                  AR     23009336372
2168729A84B588   CICELY        MASON                       OK     90008832908
21687546624B43   KUUMBANIA     MAJID-MARTINS               DC     81022945466
2168758AA91241   IMANI         WASHINGTON                  GA     90014045800
21687A8369189B   AUBRIE        THOMPSON                    OK     21009880836
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216885A7391241   PATRICIA     HOLMES                       GA     90014705073
216887A5191949   VICTORIA     CANNOY                       NC     90010527051
2168895A34B281   BRANDI       HYTREK                       IA     90003439503
2168925734B281   MIRANDA      BARELA                       NE     90007892573
2168926A355941   SENG         XIONG                        CA     90006762603
2168959A172B98   LORENZO      SOECIO                       CO     33064025901
216897A2791541   SYLVIA       VALDEZ                       TX     75095977027
21689A5A473268   CRISTINO     QUIROZ LOPEZ                 NJ     90014580504
2168B144291984   LETICIA      PEREZ                        NC     90012151442
2168B19564B588   TROLONDIA    TIDWELL                      OK     90012211956
2168B292857157   GORE         MITCHELL L                   VA     90014522928
2168B458591241   JESSICA      GULAYETS                     GA     90012194585
2168B789272B88   MARLYN       SIFUENTES                    CO     90011117892
2168BA2AA5B531   GLADIS       ARMENTA MEDINA               NM     90013570200
21691127787B59   RHONDA       MOORE                        AR     23070271277
21691A52191241   RAFAEL       RIOS                         GA     90013890521
2169232352B232   LATONIA      CHAPMAN                      DC     90010383235
216923AA872B42   ANTONIA      BUSTAMANTE                   CO     33057493008
2169287AA5715B   JUAN         TAPIA                        VA     81086528700
2169297697B471   FANTASIA     RUFF                         NC     11031209769
21692A6A357157   WILSON       PONCE                        VA     90013690603
21693266387B87   ROBIN        COLEMAN                      AR     90014612663
2169356329136B   CERITA       PHELTS                       KS     90011215632
2169391617B699   DANIEL       WIGGINS                      GA     90012529161
2169396A941245   TIMOTHY      DEY                          PA     90014969609
2169425227B449   JESSICA      SANCHEZ                      NC     90012542522
21694A2A287B59   VERNITA      GANT                         AR     90011590202
2169516797B471   EMILIANA     YOS                          NC     90011691679
21695496887B59   SANDRA       WEEKLEY                      AR     90010984968
2169582A55B271   ROBYN        WISER                        KY     90014658205
21695886A5B167   MARLENE      COLLATT                      AR     23037458860
21695888872B98   FRANCISCO    IBARRA                       CO     90014478888
21696357A9136B   CHANEL       RIVERA                       KS     90015223570
2169667432B232   SHIQUIDA     SMITH                        DC     90013606743
216966A425B571   JULIA        APODACA                      NM     35037306042
21696817A47952   YOLANDA      FAJARDO                      AR     90009318170
21696969987B87   VICKIE       JOHNSON                      AR     23068479699
2169717915715B   WALDINA      RIVERA                       VA     81076291791
21697183572B42   RICHARD      PASSARELLI                   CO     33034901835
21697941A87B87   CARL         HOLMES                       AR     90008989410
216981A1485938   MARY JO      MARTINEZ                     KY     67090421014
21698267772B42   CLARENCE     FRESQUEZ                     CO     90013572677
2169853A65B167   MICHAEL      COUP                         AR     90000705306
2169884A47B699   KEONDRA      WILLIAMS                     GA     90015188404
21698A46A51343   JAMES        HATFIELD                     OH     90003910460
21698A61481661   DEIDRE       HERNANDEZ                    MO     90006700614
2169941487B449   DARDREE      WEAH                         NC     90014094148
2169982179155B   RUBI         TORRES                       NM     90014428217
2169B497A8B17B   MICHELLE     NIXON                        UT     31037824970
2169B795A5B167   CATHERINE    BLOCKER                      AR     90014547950
2169B816357564   JEAN         JUDD                         NM     90012168163
216B112982B232   KENYA        UTLEY                        DC     90003391298
216B146745715B   SANTOS       MIGUEL                       VA     90014494674
216B1486141245   TYRONE       WATSON                       PA     90014584861
216B14A359189B   LISA         WILLIAMS                     OK     90008644035
216B1751391984   DEVIN        SELDON                       NC     90013867513
216B17A975B531   TERESA       TORRES                       NM     90013567097
216B188439794B   MOISES       LOPEZ CHAY                   TX     90011788843
216B1A49A55941   JOHN         SMITH                        CA     90010680490
216B2146791541   ISABEL       MARSHALL                     NM     75057751467
216B2589361996   RUBEN        GARCIA                       CA     90002735893
216B266197B699   KILPATRICK   THOMAS                       GA     15065996619
216B27A189155B   JULIO        ESPINOZA                     TX     90013877018
216B3133181661   ANGELICA     SANDOVAL                     MO     29069021331
216B3273655957   MARGARITA    GARCIA                       CA     90007942736
216B35A794B245   VICTORIA     BREWER                       NE     27000085079
216B372A74B588   JESSIE       MOODIE                       OK     90013027207
216B3769755957   ORLANDO      DELAPAZ                      CA     90014897697
216B383235B571   GLORIA       TERRAZAS                     NM     35066048323
216B4182581638   GEORGE       HARRIS                       MO     90005801825
216B4427155941   JESUS        CALDERON QUEZADA             CA     90010024271
216B4A12A81637   SHONTEA      HAILIBWRTON                  MO     29015380120
216B5121591984   CARCIA       CORLETO                      NC     17008791215
216B526A472B42   CALDERON     SAMUEL                       CO     90008402604
216B5417191828   JENNIFER     SEGOVIA                      OK     90011194171
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216B569835B531   CRYSTAL       ARMIJO                      NM     90012936983
216B5884557157   ISMAEL        PENA CASTRO                 VA     90007688845
216B6119391528   FRANCISCO     RUELAS                      TX     90011791193
216B66A9641245   SHANE         HENKEL                      PA     90013866096
216B6A4224B588   JEREMY        GISH                        OK     90006380422
216B756224B588   BIANKA        PEREZ                       OK     90003055622
216B7961372B98   JOE           DIFEDE                      CO     33063769613
216B814265B571   JESUS         LOPEZ                       NM     90008471426
216B8239655941   DONALD        CONTRERAS                   CA     49038392396
216B8413372B42   MARTHA        CONTRERAS                   CO     33070434133
216B8435191541   JOSIE         DIAZ                        TX     90005914351
216B854A733639   TANYA         GEORGE                      NC     90009915407
216B8938172B98   FLOYD         MARTINEZ                    CO     90000329381
216B98A1691541   MENDOZA       JESSICA AILEEN              TX     90003948016
216BB2A769189B   TONI          LITTLEJOHN                  OK     90013622076
216BB676287B87   SHERRY        BANISTER                    AR     23041716762
21711882A31453   TERRY         SCHNELTING                  MO     27505248820
21712A51181637   BOBBY         TERRY                       KS     29036420511
217136A592B27B   CANDICE       STEVENSON                   DC     90014916059
21713747A7B449   SHAWN         MORRIS                      NC     11081727470
2171419A191541   JUAN CARLOS   GARCIA                      NM     90013891901
2171452A381637   TOMMY         BROWN                       MO     29015295203
2171472A62B242   VERONICA      HOWARD                      DC     90011977206
2171477354795B   WARREN        HARPER                      AR     25014967735
21714AAA887B21   CHRISTOPHE    WILHITE                     AR     28057700008
217153A4777371   LARRY         MAJOR                       IL     90013133047
21715463772B88   MORGAN        SIMS                        CO     33088664637
217164A9472B42   ESMERALDA     ZELAYA                      CO     33087564094
21716866872B42   BAUDELIO      ORTEGA                      CO     90013498668
217169AA181661   TYVETTE       WASHINGTON                  MO     29023869001
21717125A41299   STEVE         DALEY                       PA     90008051250
217173A3891541   FELIX         CONTRERAS                   TX     75063943038
2171768A17B699   RANULFO       PEREZ                       GA     90009896801
21717A7454B281   LAURA         RODRIQUEZ                   NE     90015130745
217188A725B167   JONI          BAKER                       AR     90013828072
2171895242B27B   TERRY         WILLIAM                     DC     90014859524
21718A36591241   JOSE          TAPIA                       GA     90012960365
21718A37272B98   OSCAR         SANCHEZ                     CO     90012750372
21718AA112B27B   KIZZIE        HOLMES                      DC     90012890011
2171997599155B   JUANA         ESPARZA                     TX     90011179759
2171B117147952   ISRAEL        PALMA                       AR     24055011171
2171B22A172B42   MICHELLE      MELINA                      CO     90012322201
2171B556531453   JACQUELYN     BROWN                       MO     90014565565
2171B57589184B   NATALIE       MOUW                        OK     90013635758
2171B766184364   TAMIKIA       SINGLETON                   SC     90014627661
2171B779691541   ANTHONY       ANDERSON                    TX     90001547796
2172121639136B   NORMA         GONZALEZ                    KS     90015252163
2172142655B531   JOSHUA        MENTZER                     NM     90013574265
21723276687B87   CONSTANCE     THACKER                     AR     90014672766
21723313972B42   MICHAEL       FLESHMAN                    CO     33034283139
21723984A41245   GEORGETTE     SWISHER                     PA     51062279840
21723A68155941   MARIA         MOJICA                      CA     90004970681
21723A75555957   SELENE        MORENO                      CA     90014390755
21723A8865B271   ERICA         SATTERLY                    KY     90014660886
2172423569155B   ABRAHAM       CHAVEZ                      TX     90012982356
21724417572B42   PHILIP        EUGENE                      CO     90012634175
21724772387B87   MARK          STALE                       AR     90011217723
21724A13A7B449   JEFFERY       BOLES                       NC     11005750130
21724A34531631   TANISHA       ALEXANDER                   KS     90006090345
217253A1591541   BRAD          WEAVER                      TX     90000263015
217261A719155B   MARIA         PACHECO                     TX     75059801071
21726579A31631   JAYME         ALLEN                       KS     22032365790
217267A814B261   STAN          ANSON                       NE     27024787081
217271A362B27B   YACOUBA       SANGARE                     DC     81015741036
2172727A372B42   BRUCE         YEE                         CO     90013572703
21728134672B88   KIM           FENN                        CO     33015261346
2172826322B232   ROSANNE       SMITH                       DC     90003732632
217282A5772B42   LIEN          VO                          CO     33039442057
21728A5857B699   JUAWAN        CARADINE                    GA     90014220585
2172928689189B   BRITTANY      GODDARD                     OK     90015062868
2172942657B471   ELIZABITH     FLETCHER                    NC     90013544265
21729A1742B27B   ASHIN         THAMI                       DC     90012890174
2172B323791241   LATROYIA      HAMITTON                    GA     90015173237
2172B778491833   STEPHANIE     LYLES                       OK     90009967784
2172B974131453   ANDREA        STRAUGHTER                  MO     27559189741
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2172B994972B98   JUANA        TREJO                        CO     33033379949
2173127349184B   MIKE         WOLDEN                       OK     90004292734
21731521A4B553   COURTNEY     PALMER                       OK     90011505210
21731529287B59   VICTOR       PENASIEL                     AR     90014405292
2173172132B27B   JOHN         NEWSOME                      VA     90013777213
2173176A851343   ANTWOIN      JEFFRIES                     OH     90011007608
217328A1A7B699   KEITHA       WILLIAMS                     GA     90011208010
2173314219184B   TREVOR       ACTON                        OK     21009251421
217333A787B449   EBONY        BITTLE                       NC     90011373078
217346A594B588   HAP          DO                           OK     90009136059
21734A67387B59   SHEREE       WOODARD                      AR     23040750673
2173512922B232   JOHN         HARSHAW                      DC     90012761292
21735968A87B59   BRUCE        SHELTON                      AR     90013479680
217359A694B261   DAWN         ZELENY                       NE     90001629069
217362A8A91241   ERIC         RECHLIN                      GA     90009712080
2173632449155B   JUDITH       ALANIZ                       TX     90002093244
2173652963B345   ALEJANDRO    CHAVES                       CO     33050005296
21736AA365B571   JOHN         MARES                        NM     90013280036
21737382972B88   ANGELICA     GARCIA                       CO     90012793829
2173751429189B   ARACELY      MONTOYA                      OK     90008475142
21738893A31631   KENT         WEST                         KS     90012418930
21738967A5B167   HEATHER      WITHAM                       AR     90010469670
21739175672B42   JENIFER      FREELONG                     CO     90009851756
2173932A17B699   PAULA        CHAMBLISS                    GA     15000833201
2173937345B167   CAROLINE     POLLARD                      AR     90014333734
21739A65572B98   BIANEY       SOTA                         CO     90014110655
2173B419863654   BROC         HUNNEL                       MO     90007324198
2173B639587B59   TAMINA       SMITH                        AR     23078026395
2173B652A7B699   STACEY       THOMAS                       GA     90011426520
2173B661A4B588   LUCAS        NEWTON                       OK     90013596610
2173B6A6131631   CHERYL       HARE                         KS     90013696061
217411A594B245   SYBIL        SPEARS                       NE     27013591059
2174134925B271   FEDERICO     CLETO SANCHEZ                KY     90002653492
2174168899189B   EBONY        TODD                         OK     90011506889
21741A27691547   VERONICA     CHAVEZ                       TX     90010660276
2174289339184B   KELSEY       DAY                          OK     90012488933
217428A2172B42   JORGE        PERELES                      CO     90013588021
2174292927B451   JHON         PETERSON                     NC     90014099292
21743389172B88   SERGIO       FLORES                       CO     90012793891
2174351517B449   VERONICA     FULLER                       NC     11052975151
2174365864B281   COSSI        AHIKPO                       NE     90013626586
21743825A91241   REIER        JASON                        GA     14509628250
21743941957B85   JOSH         SUTTON                       PA     90014729419
21744918772B88   ADRIAN       GARCIA                       CO     90006889187
21744A2A287B87   CHRIS        THORNTON                     AR     90013670202
21744A8944B281   KELSEA       WALKER                       NE     90008040894
21745127372B88   CELIA        TAQUILLO                     CO     33056711273
2174536947B471   FELIPA       LUNA                         NC     90012843694
21745438A91984   LORETTA      MCSWAIN                      NC     90005844380
21745825A91241   REIER        JASON                        GA     14509628250
21745A5238B17B   TODD         ALLEN                        UT     90009960523
2174623848B17B   VENESSA      ORTIZ                        UT     90011052384
21746567A91583   LUZ          LERMA                        TX     90014005670
2174785465B161   ALISHA       ALLRED                       AR     23004648546
2174842945B271   JEREMY       RICHARDSON                   KY     90012794294
2174897362B27B   REVAH        WILLIAMS                     DC     90014859736
21748A65A4B281   JENIKA       WOODSON                      NE     90013380650
2174925859136B   ROSETTE      MWAMBA                       KS     90015262585
21749778687B21   WHITNEE      PALMER                       AR     28011047786
21749986187B87   WILLIE       WILSON                       AR     90015039861
2174B128841245   LILA         KAFLEY                       PA     90010021288
2174B1A7272B88   MICHAEL      DAVIS                        CO     90014761072
2174B29A831631   JOHNNY       MARSHALL                     KS     22059812908
2174B8A959155B   CRYSTAL      FERNANDEZ                    TX     90000108095
2174B953172B98   FRANCISCA    SANDOVAL                     CO     90000329531
2174BA7399184B   CLOTEE       NABORS                       OK     21007490739
21751A87691541   LOY          JUAN                         TX     75038310876
21752226A55957   DALE         WHITEHEAD                    CA     90002862260
2175296259152B   JESSICA      NAVA                         TX     90010659625
21752A36557157   ANNIE        LANDU                        VA     81051690365
21753A72191828   ROBIN        HART                         OK     90014250721
2175411534B261   REBECCA      GONZALEZ                     NE     27068051153
2175538A99136B   DURQUI       VASQUEZ                      KS     90015263809
2175568885B271   MELINDA      ALCORN                       KY     90014666888
2175575A772B98   JAMES        DAVIS                        CO     90013077507
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21755957A72B98   ANGEL        RUIZ                         CO     90013009570
21756278A85938   GUADALUPE    GARCIA                       KY     67018282780
2175677399184B   SARAH        LUNCEFORD                    OK     90009057739
21756878472B98   DIANA        MEDINA                       CO     90014888784
2175727844B281   CECILIA      TRUJILLO                     NE     90007552784
2175739355B271   CAROL        WEIS                         KY     90011393935
2175769325B161   DANYELLE     BENSON                       AR     23076356932
217577A5272B41   ERIBERTO     RAMIREZ                      CO     90011597052
2175826855B271   AMANDA       STEPHENS                     KY     90014582685
2175877259189B   RONALD       LOVELESS                     OK     21073287725
21758862A31432   SHERRICE     BEALS                        MO     90007658620
2175948317B449   SHAWN        ROBERTS                      NC     90006844831
217598A179189B   ERICA        ROOKS                        OK     90012598017
2175B276A9184B   GEORGE       CARTWRIGHT                   OK     90007722760
2175B96672B232   SWEETIE      PIE                          DC     90007479667
2175B9A5191541   ALMA         NAVARRO                      TX     90006969051
217611A7591241   GREGORY      JACKSON                      GA     14582001075
2176148589155B   ADAM         ARRANDA                      TX     90013944858
21761A12187B59   ISAAC        BATTLES                      AR     90014450121
21761AA1947952   JOSHUA       STEPHENS                     AR     90013220019
217624A9472B98   CELINA       ORNELAS                      CO     33036944094
21762A6867B449   DD           RR                           NC     90015220686
2176317649155B   LUIS         ESCALANTE                    TX     90004101764
217644A254B261   RAGINA       LEMANTON                     IA     90007454025
21764521472B42   GIBSON       KELLY                        CO     90006935214
2176553889794B   ELVIA        HERERA                       TX     90010685388
2176588712B27B   TRACY        WHITING                      DC     81011958871
2176618A687B87   WILLIE       WESLEY                       AR     90015371806
2176646AA9189B   DAVID        SERNA                        OK     90012774600
2176657649136B   ALICIA       MCCOY                        KS     29001355764
2176657849184B   GRACIELA     AMADO                        OK     90013635784
21766911297B4B   ELIZABETH    WORRELL                      CO     39079779112
217672A477B449   JERRY        STRANGE                      NC     90015162047
2176892674B588   TAMMY        JOHNSON                      OK     90008749267
2176921714B588   KRISTOPHER   ERMEY                        OK     90006992171
2176941618B17B   SHAUNA       BLUNDELL                     UT     31093724161
2176957649136B   ALICIA       MCCOY                        KS     29001355764
21769628887B59   MARKISHA     ROGERS                       AR     90014816288
21769941A72B88   DONE         WILLILMS                     CO     90010019410
2176B12A82B232   DANA         SPENCER                      DC     90006181208
2176B213555957   JOHN         PADILLA                      CA     90014292135
2176B299A91828   BARBARA      WILSON                       OK     90013092990
2176B62749155B   JESUS        GRAJEDA                      TX     90007536274
2176B62935B161   KELEXIS      BROWN                        AR     90013936293
2176B728A91984   MAURICE      GILMORE                      NC     90015137280
2176B778851343   LAURACIA     MACHUCA                      OH     66040467788
21771388A4B261   DORA         ARVI                         NE     90008123880
2177153A172B98   MANUEL       ZAMARRON                     CO     33087845301
2177199435B161   JERMONIQUE   SHOCKLEY                     AR     90007859943
2177233264B588   SHAWN        ROSS                         OK     90009283326
2177233A651338   HAFEEZ       MAHBOOB                      OH     90012693306
2177234AA2B27B   DAION        LANCASTER                    DC     90013743400
217731A355B571   SALVADOR     GUTIERREZ                    NM     35048111035
2177372865B531   JOSE         MERCADO                      NM     90013577286
21774114272B98   CLAUDIA      ORTIZ-MATA                   CO     90013021142
2177438A551343   JOHNNIESHA   ROODGERS                     OH     90014853805
2177441385B161   A            CROWDER                      AR     23088824138
2177445487B699   DIANA        BETTON                       GA     90015014548
21774863A55957   DAVID        DAUENHAUER                   CA     48020738630
21774AA567B471   ADAM         GOLDEN                       NC     11076740056
2177513452B232   YESENIA      HERNANDEZ                    DC     90012761345
21775A17455941   HEATHER N    JESSEN                       CA     90013060174
21775A91787B59   ELOISE       SELBY                        AR     90014340917
21775A93281637   ISAC         GRAVES                       MO     90015040932
2177651669184B   GLINDA       QUADREE                      OK     90015285166
21776554772B42   JORGE        LOPEZ                        CO     90006955547
217766A8791833   PAULA        ANDREWS                      OK     90010736087
21777174272B42   KIRK         SONYA                        CO     33050471742
2177725615B161   STEPHANIE    RUFFIN                       AR     23091042561
217772A6455957   EROY         MARTINEZ                     CA     90012592064
2177747464B588   KAILEY       CHILDERS                     OK     90014074746
2177749285B167   JAMES        EVERETT                      AR     23086874928
2177767A491984   LORENZO      ABOYTES                      NC     90014446704
2177776882B232   RHONDA       THOMAS                       DC     90003737688
217778A389189B   TEMECA       MCCALISTER                   OK     21079448038
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21777A5923146B   MIKE         GLASER                       MO     27597050592
2177828992B27B   CHATTEL      REED                         DC     81011932899
2177837A593773   AVA          VICKREY                      OH     90001703705
2177852169184B   WILLIAM      TANKERSLEY                   OK     21097245216
21778534A81661   DELANA       SUKRA                        MO     90011085340
21778686A5B167   RICKY        RICHARDS                     AR     90010426860
2177873957B449   TEMIAI       LOTT                         NC     90014527395
2177919A447952   CHARLES      LEMMING                      AR     90012401904
21779733A72B98   SAUL         PINEDO                       CO     90009097330
217797A1841245   WENDY        PARSONS                      PA     51097657018
21779942487B59   ANGELA       IVERSON                      AR     90014979424
2177B16A85B271   EBONY        QUARTERMAN                   KY     90003851608
2177B21A75B531   VIVIANA      MANCINAS                     NM     35063562107
2177B541391541   CRAIG        ESPARZA                      TX     90014155413
2177B66934B588   ANITA        FLORES                       OK     21582096693
2177BA53A91541   AMIRAH       SOUEIDAN                     TX     90012470530
2178121799184B   JUSTIN       MARS                         OK     21007892179
2178126457B449   CARL         PRITCHETT                    NC     90011512645
2178139764B261   KRISTINA     ZELLNER                      NE     90012863976
2178151845B352   SALVADOR     ORTIZ                        OR     90009615184
2178157152B27B   ELTONIO      BUTLER                       DC     90012895715
2178179A655941   YANETTE      VERDUSCO                     CA     49043257906
21781952487B87   LATANJA      BLUNT                        AR     23013079524
217819A4972B88   YANINN       DYCK                         CO     33081469049
2178253A97B699   BILLIE JOE   SANDERS                      GA     15084655309
2178288A89155B   ALEJANDRA    OROZCO                       TX     90013858808
217838A235B161   STEVEN       MARSHALL                     AR     90013138023
2178413145B54B   AIMEE        WADE                         NM     90013181314
21784527A57157   ARMAND       UTSHUDI JR                   VA     90013975270
2178472484B261   KELLY        MOORE                        NE     27092297248
2178525462B27B   MARIA        NARANJO                      DC     81011932546
2178545754B281   CEDRIC       COOPER                       NE     90013934575
21785549272B88   MARGARETE    CORDOVA                      CO     90004375492
21785689A72B88   MARGARETE    CORDOVA                      CO     90012916890
217857A4491984   ELIZABETH    AKOT                         NC     90011677044
21786499772B42   RAYMOND      BELCHER                      CO     33048994997
2178779315B161   ERIC         WILLIAMS                     AR     90014007931
21787A99993742   JAMES        VINCENT                      OH     90010520999
21788324A84364   MOISES       MORALES                      SC     90014163240
21788613672B47   JODI         YOUNG                        CO     33017456136
2178887A255957   RICH         WILEY                        CA     90003058702
21789145172B42   JUDY         MECILLAS                     CO     33093821451
2178974514B261   CARMEN       NICOLAS-CERVANTES            NE     27037497451
2178995119794B   CESAR        RUIZ                         TX     74039879511
21789A89A7B471   KAMILE       RICKETS                      NC     90011120890
2178B35287B699   ZACHARY      LONG                         GA     90011213528
2178B44199794B   BLANCA       FABILA                       TX     74036284419
2178B51117B449   ALEXANDER    FONVILLE                     NC     90012535111
2178B516591241   WESLEY       CANNON                       GA     90002055165
2178B64377B277   CATHERINE    BOLIN                        AZ     90011426437
2178B933555957   DAISY        FERNANDEZ                    CA     48014279335
2178B9AAA72B88   TANIA        GOMEZ                        CO     33043519000
2179176135B531   ANNETTE      MUNOZ                        NM     90013577613
2179179679189B   MARY         WILHOIT                      OK     21045077967
21791954172B88   CARLOS       AMBROCIO                     CO     90013109541
21792157A7B471   JAY          SHELTON                      NC     90013041570
2179232A931631   KIMBERLY     GRANT                        KS     22066013209
2179244665B271   ASHLEY       LAWRENCE                     KY     68086044466
2179278366B931   PEDRO        SAMBRANO                     NJ     90015307836
2179338A455941   JOSE         ZAVALA                       CA     90014783804
2179351A37B699   APRIL        SNEAD                        GA     90013295103
217935A1455957   DELORES      PEREZ                        CA     90012965014
21794A26984364   GLENDA       GILES                        SC     90009830269
2179511894B588   CAMILO       VILLEDA                      OK     90013761189
2179557497B471   LAPHONTRIC   MCCRAY                       NC     90008355749
2179559582B232   TROY         WATSON                       DC     90009475958
2179615475B531   ARLO         ABBOTT                       NM     35060461547
2179617357B449   DONETTA      ROBINSON                     NC     11045741735
2179617A15B167   VANESSA      PADILLA                      AR     90012041701
2179631599155B   GABRIEL      PONCE                        TX     90013113159
2179684875715B   MARTA        FLORES-DIAZ                  VA     90006308487
21796A21A55941   AVENA        FIELDS                       CA     49031820210
2179774A593727   RACHEL       MCCORMICK                    OH     90010747405
2179785289184B   SHELLBY      RAPE                         OK     90012598528
21797A37391241   CRAIG        CLARKE                       GA     90014910373
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2179851324B245   LEAH         TAUCHMAN                     NE     27094635132
2179886314B588   KEVIN        WILLIAMS                     OK     90002698631
217988A1681638   CLARENCE     CLEMONS                      MO     90008848016
2179896389136B   LYNDSY       BROWN                        KS     29075279638
21798A73855957   ROSALINA     ORTIZ                        CA     90010230738
2179953129155B   MARIA        RAMIREZ                      TX     90012285312
2179B273272B42   ORALIA       BUSTILLOS                    CO     90013492732
2179B274491828   JESSICA      SANCHEZ                      OK     90004402744
2179B2A8A4B281   REGINA       LOWERY                       NE     90015012080
2179B3A4247952   SHALECIA     BUNCH                        AR     24067893042
2179B42AA91541   SAUL         YANEZ                        TX     90014814200
2179B488172B98   SHIRLEY      MCQUOWN                      CO     90008894881
2179B78545B531   JESSICA      MUNOZ                        NM     90013577854
2179B9A925B161   LASHAY       WITHERS                      AR     90014739092
217B1234885938   YADIRA       RODRIGUEZ                    KY     90011092348
217B1284891583   DANIEL       MANZANARES                   TX     75069902848
217B145729155B   CLAUDIA      NUNEZ                        TX     90013944572
217B1526284364   MAURICE      JENKINS                      SC     90014675262
217B1648A55957   RACHEL       ROMERO                       CA     90013936480
217B21A1791541   IGNACIO      MORA                         TX     90002991017
217B234887B449   NUVIA        FUNES                        NC     90009673488
217B2854772B88   KESHAWN      RAY                          CO     90013728547
217B286315B531   AZULIN       APODACA                      NM     90012348631
217B324467B449   CHARITY      HOOD                         NC     90012792446
217B324844B261   ELIZABETH    GILL                         NE     27015442484
217B32A7A51343   CHUNA        WHITE                        OH     90012212070
217B3597481637   KERRI        WISNIEWSKI                   MO     29050625974
217B3615641245   DOMINIQUE    JOHNS                        PA     90013256156
217B377632B232   KZEE         LEWIS                        DC     90012787763
217B3956272B88   RICARDO      SANCHEZ                      CO     90011889562
217B3A23231631   PAMELA       MENDOZA                      KS     22085370232
217B4144451343   STEVE        IRVINE                       OH     90015131444
217B417439189B   KIM          SULLIVAN                     OK     21096471743
217B4597755957   TERESA       GARICA                       CA     90013265977
217B475A15B161   JD           CLARK                        AR     90011347501
217B4996772B98   ALEJANDRA    ROCHA                        CO     33081279967
217B5944287B59   ARBERAJEAN   ANDERSON                     AR     90014629442
217B5A62391923   ROBERTO      MARTINEZ PAREDE              NC     90004240623
217B63A4455941   MOISES       MARTINEZ                     CA     49075823044
217B6652A7B699   STACEY       THOMAS                       GA     90011426520
217B6A5714B245   ANTHONY      GARCIA                       IA     27097920571
217B726655B167   MICHELLE     MCNEELY                      AR     90009882665
217B728567B449   JOSE         GOMEZ                        NC     90012542856
217B743538B17B   CHELSEA      ANDRUS                       UT     90008084353
217B75A9333126   LACEY        DOBDLMAN                     IL     90015405093
217B75AA29155B   RICHARD      BALDOZA                      TX     90014465002
217B7865A55941   AMERICA      BARRAGAN                     CA     90004798650
217B7869272B88   WILLIAM      SCHLATER                     CO     33023788692
217B7889772B98   RICARDO      MORALES                      CO     90014478897
217B834917B471   RAY          CURRY                        NC     11033203491
217B878714B261   LORI         HENSLEY                      IA     90015287871
217B8A29187B87   ASHLEY       PARCHELL                     AR     90003670291
217B8A9468B17B   JENNIFER     GONZALEZ                     UT     90011670946
217B9263455941   REFUGIO      SANDOVAL                     CA     90008422634
217B9338372B98   MICHAEL      GILLOTTE                     CO     90015163383
217B935A17B699   SHANIKA      GLENN                        AL     90013853501
217B937758B17B   RICKIE       MACKLIN                      UT     90009183775
217B954A82B232   JIAVONI L    WILLIAMS                     DC     81051205408
217BB589985938   ASHLEY       LIVENGOOD                    KY     67076955899
217BB647387B59   DANTRIONE    MIXON                        AR     90012266473
217BBA86372B98   ANTHONY      DOLIF                        CO     33076390863
21811A7954B281   DARRELL      STUEDEMANN                   NE     90013990795
2181229138B56B   NANCY        DELGADO                      CA     90014122913
2181241217B471   ALISA        BOYCE-WALLACE                NC     11095534121
2181242224B588   YVETTE       FROST                        OK     90009354222
21812827372B42   MARCUS       MOSLEY                       CO     33063688273
2181331579189B   JOSE         FUENTES                      OK     90012423157
21813324A5B167   DANIEL       STEWART                      AR     90009943240
21813812872B42   JOSE         GOMEZ                        CO     33089808128
21813A73287B87   PAYGO        IVR ACTIVATION               AR     90006030732
2181421949189B   STACEY       WILSON                       OK     90013622194
2181473515B531   MARCIA J     SCHICK                       NM     90013587351
2181477895B161   JASMINE      WASHINGTON                   AR     90013937789
2181481212B232   DORESE       EUBANKS                      DC     90001138121
21814A8A981661   CHRISTIAN    BRISENO                      KS     90015200809
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21815615A9189B   LUIS         ROSAS                        OK     21065296150
21816185A4795B   SAMANTHA     SCHANCER                     AR     90013571850
2181628769B867   OLUSOGA      ONAFOWORA                    NJ     90014782876
2181648522B232   ASHLEY       LOWE                         DC     90012044852
2181723227B699   GLORIA       DANDRIDGE                    GA     15016722322
2181795495B247   ANQUNETT     GRADY                        KY     68081119549
2181799A29189B   ROGELIO      AVALOS                       OK     21039189902
21817A44391241   WARREN       PATTERSON                    GA     90013640443
2181818414B261   MARTH        ACEVEDO                      NE     90002361841
2181834399189B   STEPHANIE    SCUGGINS                     OK     90008733439
2181886A191241   ROBERT       SCOTT                        GA     14512418601
21818881A5B161   EVELYN       MADANIEL                     AR     23081548810
21818A2A755957   MARCELA      FRANES                       CA     48094580207
21818A7A847952   JUSTIN       KNUCKLES                     AR     24007180708
21819184A4B281   DIANE        KRISOR                       NE     90002601840
2181954529184B   CLEO         SMITH                        OK     21021575452
218196A4884364   LYONS        KARI                         SC     90014166048
2181B172391541   KIMBERLY     CHRISMAN                     TX     90010721723
2181B2A8381638   LUCY         MONTOYA                      MO     90005652083
2181B35A847952   LYNDA        MOORE                        AR     90015233508
2181B44475B271   ANTHONY      KERR                         KY     68026014447
2181B4A897B449   SUNNY        RATHIE                       NC     90010234089
2181B728957544   MICHELLE     MIRABAL                      NM     90009487289
2181B84232B27B   CHARLET      NOBLE                        DC     90009148423
218211A3255957   SUNSHINE     AGULIAR                      CA     48064631032
2182179A285938   RONNIE       SMITH                        KY     90011547902
218218A854B261   GUADALUPE    ELTON                        NE     90003608085
2182211138B17B   JUAN         MARTINEZ                     UT     31060651113
2182262335B331   MIKE         WATTS                        OR     90008836233
21823228187B56   SHAMARA      RUSS                         AR     90014622281
21823963472B98   SIMONA       CORREA                       CO     33088679634
2182418723B352   BARBARA      VANHORN                      CO     90006301872
218241A985B531   ZANDRO       CABILTES                     NM     90013581098
2182451868B17B   FELICIA      VELARDE-GARCIA               UT     31039995186
21824732A5B161   CAROL        PATTERSON                    AR     90013937320
21824A79647952   CASEY        RAINWATER                    AR     24073180796
2182536284B588   DAVID        RODNEY                       OK     90004133628
2182538789184B   CRYSTAL      DAVIS                        OK     90011043878
21825555A72B98   OTONIEL      ROMERO-ALARCON               CO     33083455550
2182611154B281   HEATHER      PRUETT                       IA     90010301115
2182618385B167   ALISHA       GUEST                        AR     90013621838
2182696A772B42   TRAVIS       GOODSPEED                    CO     90010069607
21827316572B98   DEAN         REGAZZI                      CO     90006873165
21827856772B88   INDALECIO    AGULERA                      CO     90013728567
2182788379184B   ROLAND       CADARETTE                    OK     90012608837
218281A5172B42   MYRNA        HEREDIA                      CO     33026211051
2182846198B17B   ANTHONY      MENDEZ                       UT     31089034619
2182947369184B   LISA         CARPENTER                    OK     90014194736
2182948129155B   SEFANIE      ALVIDREZ                     TX     90013354812
2182948625B161   ANDRE        KING                         AR     90002174862
21829895172B42   ALICIA       CASTRO                       CO     33059108951
2182B1A7531453   TERESA       CANNON                       MO     90012311075
2182B1AA687B59   PAYGO        IVR ACTIVATION               AR     90007921006
2182BA7954B281   DARRELL      STUEDEMANN                   NE     90013990795
21831363A5B161   CYNTHIA      COLLIER                      AR     23011303630
218316A9747952   JANETTE      SHEPARD                      AR     90010956097
21831732487B59   TIFFANY      SWINEY                       AR     23078687324
2183271869189B   ERIC         HENDERSHOTT                  OK     90010767186
21832982A41245   JAMES        KRALIK                       PA     90007939820
2183334877B449   MONTE        JENKINS                      NC     90009383487
218336A665B571   ONESIMO      GONZALES                     NM     90012716066
2183398279189B   CASSANDRA    GIFFORD                      OK     90014059827
2183428414B281   BETHANY      TETZLAFF                     NE     90012212841
2183456845B167   NUTT         TERESA                       AR     90008865684
2183474359155B   ROSAURA      DELGADO                      TX     90009467435
2183483825715B   JUAN         AGUILAR                      VA     90003518382
2183566A64B281   DANIEL       KOMOR                        NE     90013276606
2183619475B271   THOMAS       STYERS                       KY     90009991947
21836232A41245   SHAWNA       PATRICK                      PA     90014902320
2183632AA5B531   ANTONIA      VILLALOBOS                   NM     90010723200
2183656344B281   JESSICA      MCAFEE                       NE     90014625634
21836929287B59   DOMINIQUE    SHORTER-FOOTS                AR     90005429292
2183695744B581   CHRISTA      SMITH                        OK     21570219574
218371A3372B98   MARITZABEL   MOLINAR                      CO     90014981033
2183738959184B   JOSE         REBOLLAR                     OK     90008643895
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2183758732B27B   EDGAR        GONZALEZ                     VA     90012895873
21837973924B55   LIGIA        SEGURA                       VA     81045039739
2183852414B245   NARY         BROWN                        NE     27082935241
2183869145752B   MARIO        MATA                         NM     75093396914
2183899534B588   TOMMY        MYERS                        OK     90007759953
2183927567B471   EVARISTO     GARCIA                       NC     90013962756
21839446272B98   MANUEL       GARCIA                       CO     33058744462
21839722A7B471   MELANIN      GETES                        NC     90010897220
21839982372B88   KIM          MADERA                       CO     33072509823
21839A99A72B42   KRISTY       ALLISON                      CO     90000680990
2183B16889155B   YAZMIN       RAMIREZ                      TX     90010491688
2183B5A8991528   JOEY         VIANA                        TX     90005135089
2183B65299184B   CHRISTI      SMITH                        OK     90009796529
2183B92775B271   ASHLEY       TURNER                       KY     68085469277
2183B969151343   JESSICA      BANKS                        OH     90014679691
2184123974B588   RACHEL       HASSMANN                     OK     21586122397
21841A34591828   NINA         DAVIS                        OK     90014530345
21842183172B98   ROSA         ESPINOZA-VASQUEZ             CO     33017021831
2184227872B27B   TIMARRA      SMITH                        DC     90008942787
2184267677B699   KIMBERLY     WRIGHT                       GA     90005726767
218432A8A72B88   GEORGE       SAUER                        CO     90014742080
2184365329155B   DETREN       GANT                         CA     75041546532
2184366857B449   MARVALENE    WALLS                        NC     90010986685
2184379694B281   RONDELL      BREWER                       NE     90006037969
2184425174B261   BRENDA       MARTINEZ                     IA     27018262517
21844412987B59   LAWRENCE     COOK                         AR     90010154129
218444A8631631   DONNA        BLACK                        KS     90004444086
21844A1545B161   DARRELL      WARE                         AR     90001210154
21844A64991241   TRINA        THOMAS                       GA     90008360649
21844A9944B281   MONSERRAT    FIGUEROA                     NE     90012740994
218452A814795B   VALENTIN     DIAZ                         AR     90006532081
2184567754B261   BENJAMIN     STARKS                       NE     27054216775
2184573A372B88   MARY         FLORES                       CO     90015237303
2184584669155B   ERIKA        AGUILAR                      TX     90005888466
21845882987B59   MICHELLE     TATER                        AR     23097248829
21845AA5191984   JAMES        BUTLER                       NC     90013070051
218462A6185938   ROSALYND     MARTIN                       KY     67040282061
2184676257B449   WILLIAM      MORRISON                     NC     90003687625
2184691586193B   JEFF         JEFFERY                      CA     46088809158
21846AAA747952   KAMILAH      RELEFORD                     AR     90012600007
2184737924B588   PATRICE      JONES                        OK     90013693792
2184784989155B   DIANA        MURILLO                      TX     90009588498
218481A5285938   JAMES        MORRISON                     KY     67030131052
218486A5891241   JANAY        HOWELL                       GA     90014086058
21849211A7B449   STEVEN       WEST                         NC     90011152110
2184958884B245   DANIEL       VILLEGAS                     NE     27081355888
2184B149893773   TERRY        NEWTON                       OH     90003201498
2184B224891541   JACKELINE    PEREA                        TX     90004362248
2184B471647952   SABRINA      NOONAN                       AR     90014834716
2184B536981661   DAMIAN       CLEMMENS                     MO     90013995369
2184B81415715B   LOURDES      FERRUFINO                    VA     90005728141
2184B88959189B   ANITA        WATKINS                      OK     21050848895
2184BA3A37B699   PEDRO        PORTILLO                     GA     15080890303
2185137877B699   TERRI        IRVING                       GA     90012913787
2185175177B382   WILSON       LOPEZ                        VA     90001177517
2185185582B232   NED          GREEN                        VA     90013088558
2185186A44B281   LURENE       KELP                         NE     90014098604
218518A965B161   ELSA         WILLIAMS                     AR     90013938096
2185193759155B   ESTHER       INDIRA                       TX     75007319375
21851A4A681661   YVONNE       JENSEN                       MO     29013340406
21852275772B42   MARIJKE      HILDRETH                     CO     33039202757
218524A914B281   IBRAHIM      TRAORE                       NE     27007224091
2185261792B232   MARVIN       QUICK                        DC     90010856179
2185274925B271   AMANDA       COX                          KY     68012407492
2185327644B261   SHAKORA      BOBO                         NE     90011302764
2185376455B161   VALARIE      MAGSBY                       AR     23030637645
21853A76657157   JALEN        WALLER                       VA     90012610766
2185473A64B588   RACHEL       WRIGHT                       OK     90003297306
2185474A94B261   BRYENA       BARR                         NE     27042137409
21854A34576B71   MARGARITA    CENDEJAS                     CA     90007830345
21854A38647952   KENNETH      RELEFORD                     AR     90015210386
218554A4472B88   GERARDO      ZAMORA                       CO     90012794044
2185552545B195   LASHUNDIA    GRIFFIN                      AR     90014565254
21856132A51343   MARLLOW      HAWARD                       OH     90010471320
218566A5655957   ARACELY      PEREZ                        CA     90011866056
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218572A8A4B588   CRYSTAL      CANALEJO                     OK     90014662080
21857432672B98   ROCIO        MELENDEZ                     CO     90010154326
2185747838B17B   DAWN         HAMPSTON                     UT     90006394783
2185775349189B   EBONY        FISHER                       OK     21005557534
21857875A61939   LETY         BARRIOS                      CA     90006148750
21857A7938593B   SHANTIA      WEBB                         KY     90005660793
2185873369184B   NAOMI        EVANS                        OK     21007977336
21858A5A891828   SUSAN        ROSE                         OK     90011090508
21858A93381638   PATRICIA     HERNANDEZ                    MO     29064100933
2185924437B449   EBONY        GRAY                         NC     90008372443
2185973884B588   ADAM         KEEPPER                      OK     90011067388
2185988218B17B   VILIAMI      MAFI                         UT     90009178821
21859882A41245   HOWARD       ARBSTER                      PA     90014058820
21859942287B59   GWENDOLYN    GOULD                        AR     23039369422
21859A5A691241   CAROLYNE     EDWARDS                      SC     90015190506
2185B1A1991541   CLAUDIA      VAZQUEZ                      TX     75087171019
2186142879189B   DELPHINE     ROLLINS                      OK     21002744287
218618A5751369   MEGHAN       BURKE                        OH     90004658057
2186191664B588   MAQUIETEE    CROOKS                       OK     90012409166
21861A69747952   INGRID       CONTERAS                     AR     90014760697
2186228535B571   FRANCISCO    MORA                         NM     90005542853
21862931272B42   JENNIFER     STRONG                       CO     33047589312
21862A3A35B271   MARIA        LANDEROS                     KY     90014670303
21862A5377B449   ANNETTE      MCLEOD                       NC     90002220537
2186314A347952   DENNIS       BROWN                        OK     90014761403
2186366A987B87   PATRICA      WILLAMS                      AR     90006046609
2186411A557157   CLAUDIA      SALMERON                     VA     90005801105
2186477669155B   ROSALINDA    PALOMO                       TX     75036057766
2186482222B27B   LOUANN       JACKSON                      DC     81047528222
2186484414B245   ALANNA       WATSON                       NE     90006378441
2186487A991241   DESTINY      AVILES                       GA     90013078709
21866636A9794B   EMILIANO     MAZARIEGOS                   TX     74098746360
21866769472B98   SCOTT        LARSON                       CO     33068107694
21866833A91828   KENNETH      LAWRENCE                     OK     90012778330
2186692385B531   ALICIA       PONCE -MARTINEZ              NM     35002559238
218669A3981637   PAYGO        IVR ACTIVATION               MO     90014849039
2186757284B261   EBEN         RICHMOND                     IA     90015155728
2186843699155B   MILDRED      MARTINEZ                     TX     75009234369
21868619A4B588   DYLAN        PRAY                         OK     90013396190
2186871339189B   MELODY       DEAR                         OK     21047887133
2186931819184B   ANNA         GRAY                         OK     21098213181
2186934A82B27B   WENDY        BARAHONA                     DC     90015113408
218694A6572B88   MANUEL       HERNANDEZ                    CO     90012794065
2186B138787B59   JESSICA      SCOTT                        AR     90014701387
2186B554481661   OSCAR        HARRIS                       KS     90010065544
2186B6A862B27B   TAJA         RANDLE                       DC     90012896086
2187112985B167   MCKINZIE     BIANCHI                      AR     90013591298
2187138449184B   LENA         WHEELER                      OK     90007723844
2187171715B167   JUANITA      NELSON                       AR     90014217171
218717A9891541   DIANA        ESPINOZA                     TX     75098267098
21871A5724B281   GARY         BOSTON                       NE     90014860572
218722A1972B98   MIRANDA      SOLANO                       CO     90011732019
2187281869155B   ILDA         TALAMANTES                   TX     90012148186
2187293A68B16B   MARK         MURDOCH                      UT     90011129306
218729AA34B588   ROXIE        HOOD                         OK     21560339003
21873AA5A91541   MARTHA       SANCHEZ                      TX     75091250050
2187411394B261   PEDRO        PANI                         NE     27088191139
2187425749155B   DAVID        MARTINEZ                     TX     90010082574
2187434454B549   DON          MITTELHOLZ                   OK     90012023445
2187454A79155B   JAMES        JOHNS                        TX     90013945407
21874747A72B98   JOANN        TYNES                        CO     90014827470
2187482167B699   JEROME       BRADLEY                      GA     15059268216
21874981572B42   RICHARD      MARIE                        CO     90013029815
21874A26191589   ANA          LEOS                         TX     75089310261
21874A33531631   JOSE         HERMOSILLO                   KS     22045290335
2187559159155B   IRIS         RIVERA                       TX     90005115915
21875877172B42   SALLY        BENSON                       CO     33000888771
218766A972B975   MIRIAM       GAMBOA                       CA     90007946097
21876935A9155B   LIDIA        MORADO                       TX     75072099350
21876A9469794B   TIARA        HILL                         TX     90003640946
2187726595B271   FABIOLA      HERNANDEZ                    KY     90012562659
21877497872B42   SHANNA       MARTINEZ                     CO     90002624978
21877926A9184B   MCCAGAH      HILL                         OK     90001499260
21877932A91541   FLOR         GARCIA                       NM     90001619320
21877A97791984   VANESSA      MCLEAN                       NC     90013930977
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2187853382B232   JOSE         LUNA                         DC     90012965338
21878569A87B87   TRAMEKA      GLOVER                       AR     90012335690
21878917372B98   ISAIAS       CONTRERAS                    CO     90014719173
218792A2191984   CHRISTIAN    PUENTES                      NC     90015012021
2187948727B449   ANDREW       DAVIS                        NC     11035654872
2187975527B699   OSCAR        GREEN                        GA     15069057552
2187999987B471   SANIE        SMITH                        NC     11044899998
21879A55391541   OMAR         PINON                        TX     90012470553
2187B241284364   KAILANI      VELAZQUEZ                    SC     90014182412
2187B532972B88   LEONARD      SENA                         CO     90013005329
2187B57875B271   RAEGAN       CONLEY                       KY     90007555787
2187B65367B449   SHIRLEY      TUCKER                       NC     90012026536
2187BA8617B358   MARIO        POZADA                       VA     90000240861
2188166879155B   ARELIY       BLANCA                       TX     90002536687
21881915872B98   JIMMIE       WINSTON                      CO     33070469158
21882466A5B19B   CARLOTTER    NICHOLS                      AR     23058254660
21882943387B59   CHRISTINA    BARBER                       AR     90015199433
2188349839155B   CLAUDIA      CHAVEZ                       TX     90011234983
2188371119189B   OLIVIA       HICKMAN                      OK     21080317111
21884321587B59   CURTIS       GARRETT                      AR     23094153215
2188432159184B   ANGELA       FERGESON                     OK     21017213215
21884411672B42   MARIA        SANDOVAL                     CO     90014174116
21884A79A4B281   JAMES        GATLUAK                      NE     27066240790
21884AA5472B88   NATASHA      OSORIO                       CO     90011290054
2188544745B271   TANYIA       DIXON                        KY     90004374474
2188562A987B87   LANETTA      SHAW                         AR     23096606209
218866A149184B   GARY         STROUP                       OK     90007986014
21886768A72B88   ALANN        PEREZ                        CO     90006317680
218868A224B588   TOSHA        STRAWN                       OK     90013108022
21888131A55957   STONE        SILVA                        CA     90010801310
21888191A4B582   LINDA        TIPTON                       OK     21561881910
21889475A31453   ASHLIE       JONES                        MO     90014074750
2188B272841245   SARAH        SMITH                        PA     90013922728
2188B44829136B   LADONNA      ADDISON                      KS     90009834482
2188B57845B161   ANTHONY      MAGEE                        AR     90014535784
2188B815472B88   MARVIN       FRY                          CO     33084478154
2188B8A125B531   JESUS        RUIZ                         NM     35094448012
2188B956661877   JOSHUA       SIKES                        MO     90015209566
2188BA61472B98   LINDA        SERNA                        CO     33096740614
2189129257B699   LASHONDA     WILSON                       GA     90014712925
21891A75572B98   VICTOR       BARRAZA                      CO     90011860755
21892413A91541   NICHOLAS     FRANCO                       TX     90013604130
21892555A2B232   DARRIUS      MCFADDEN                     DC     90013535550
21892A63747952   TAMMY        RICHARDSON                   AR     24002950637
21893282A55941   JOSE         JAIMES                       CA     49073212820
2189382895B271   KRYSTAL      HEDGES                       KY     90004518289
218939A8172B88   RUBEN        RODRIGUEZ                    CO     90014849081
21893A4A231453   DEANDRE      JENKINS                      MO     90012410402
2189446664B549   ESTHEFANIA   JENEZ                        OK     90010054666
21894A55391541   BRENDA       URANGA                       TX     90015160553
218957AA787B59   JERMEIKA     STOKES                       AR     90014127007
218958A7372B98   RONALD       BREWER                       CO     90012818073
218963A6287B87   CHRISTINE    ALEXANDER                    AR     23079663062
2189666455B167   MELISSA      RAMOS                        AR     90013596645
21896782A87B59   TAQUANNA     JOHNSON                      AR     90013817820
21896A19191828   ALEXANDRIA   HILL                         OK     90010840191
21896A5694B261   MARK         WEST                         NE     90007450569
21896A93181638   CHRISTINE    WILLIAMS                     MO     90001050931
21897167372B98   ANGELICA     BUZO                         CO     90014161673
21897561472B88   JENNIFER     RAINEY                       CO     90014585614
21897837972B42   RENE         OROPEZA                      CO     90009588379
2189824A731453   RASHIDA      KEMP                         MO     90013752407
2189867364B245   KATIE        FESTER                       NE     90002096736
21898A7322B27B   TERRENCE     WASHINGTON                   DC     90007440732
21898AA5684364   KERRI        LITTLETON                    SC     90009810056
2189944A887B87   LAKEYSHA     ALLEN                        AR     90010554408
2189947434B281   ALMA         CANO                         NE     27015274743
2189975314B261   CHRISTINE    SKILES                       NE     27010697531
2189B434541245   THOMAS       BROOKS                       PA     90013054345
2189B49244B245   ROSA         VARGAS                       NE     90009204924
2189BA86431453   LISA         JOHNSON                      MO     90001440864
218B1468387B87   LAKRESHIA    MCCOMB                       AR     90013714683
218B156469155B   JUANA        GARCES                       TX     75050555646
218B168577B471   JAZMINE      AUDREY                       NC     90009716857
218B1767681637   GABRIEL      CASTELLANOS                  MO     90014207676
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218B1852572B98   JOSE         SOTELO                       CO     33029468525
218B219A24B281   DOUGLAS      DAVIS                        IA     90013331902
218B2451131453   CANDY        BURKS                        MO     90015284511
218B2915487B87   ALMA         BELL                         AR     23002429154
218B317719155B   CARLOS       LAMAS                        TX     75048391771
218B3197741245   MAURICE      SAUNDERS                     PA     90013481977
218B3436472B27   MATTHEW      MATTHEWSON                   CO     33072754364
218B34A154B588   JAY          DELUNG                       OK     21572564015
218B3858272B61   AMANDA       MCBURNEY                     CO     90003848582
218B38A855B571   JERMIE       DANTE                        NM     90009988085
218B3A1A372B88   FRANK        BUSTOS                       CO     33079810103
218B3A75793723   MISTY        CONKRIGHT                    OH     64579570757
218B4155491541   BRENDA       MORAN                        TX     90010331554
218B4267551343   ANGELA       STEWART                      OH     90012212675
218B427598B17B   PEDRO        HERNANDEZ                    UT     90011672759
218B453967B471   IMELDO       RAMIREZ                      NC     11029555396
218B4839A4B261   LEE          DONLEY                       NE     90013678390
218B5321284364   MARQUITA     MYERS                        SC     90013093212
218B54A315B531   LOUIE        APODACA                      NM     35081044031
218B554184B281   TIMOTHY      REZNICEK                     NE     90011565418
218B5584787B59   PAMELA       HUBBARD                      AR     90013465847
218B588757B699   TAMEIKA      STINSON                      GA     15090558875
218B5954457157   KOREY        OLEKSY                       VA     90013229544
218B6152672B98   SHAWNA       SKIPWITH                     CO     33044751526
218B617857B699   FONSECA      JACKSON                      GA     15085401785
218B626992B27B   LATONYA      THOMPSON                     DC     81015052699
218B6346331631   JORGE        LUNA                         KS     22072843463
218B714A151343   PATRICIA     HALL                         OH     66055971401
218B73AA591984   JOANNE       CANILLE                      NC     90013423005
218B761A787B59   NICKOLES     KEARNEY                      AR     90001086107
218B7694A4B281   HOOVER       FRANK                        IA     27013746940
218B8623A4B281   KARINA       MENDOZA                      NE     27076126230
218B887A231453   GELESHA      SIMS                         MO     90010088702
218B9117572B88   ELIZABETH    GARCIA                       CO     33062621175
218B9277187B87   EDWIN        WILLIAMS                     AR     90014112771
218B927818B17B   CERRISA      MADDERA                      UT     90011672781
218B9437651369   CHRIS        MARTIN                       OH     66085804376
218B992397B449   JOSE         DIAZ                         NC     90013739239
218BB6A315135B   JUSTIN       DAVIS                        OH     66078236031
218BB83844B281   ALASHANTRA   WAITS                        NE     90005748384
2191112614B281   HERNANDEZ    FLORENTINA                   NE     27039961261
219115A1791828   WILLIAM      TEDDER JR                    OK     21086945017
21911A14555957   FELIPE       NUNEZ                        CA     48016960145
2191233A27B471   KWAME        BARBER                       NC     90014693302
21912362A87B87   ROBIN        ROBERTS                      AR     90010243620
2191242325B161   AYLA         PERKINS                      AR     90010684232
21912485A9189B   DON          JONES                        OK     90006034850
2191278319184B   ARIS         SHAW                         OK     90012917831
21912953572B88   ALEXIA       MACEDO                       CO     90014279535
21913118672B98   ELVIRA       AMBRIZ                       CO     90013421186
2191319277B471   WILSON       HERNANDEZ                    NC     90014811927
2191337864B588   BRITTANY     SHINGLETON                   OK     90013203786
2191347489184B   HUGO         LOPEZ                        OK     90012244748
2191375A691833   DONNA        WILLIAMSON                   OK     90007077506
2191376297B471   SHATARA      WILLIAMS                     NC     90010897629
2191418785B571   ALFREDO      JIMENEZ                      NM     35092001878
2191423A681661   ALISHA       SLAUGHTER                    MO     90014412306
219142A7581637   PAUL         BLATT                        MO     90009562075
2191448358B188   CHRISTINA    NOEL MORREIRA                UT     90009564835
2191572A52B27B   RAMONA       GASKINS                      DC     90012897205
21915A37191541   YVONNE       DELGADO                      TX     90012470371
2191629644B588   MARISSA      RODRIGUEZ                    OK     90007552964
2191651958B17B   CHRIS        LAVATAI                      UT     90011675195
219165A3855957   HECTOR       GUEVARA                      CA     90011795038
21916692472B88   DANAE        BASKALL                      CO     33067336924
2191742264B588   YUONNE       REUBENS                      OK     21557024226
2191819818B17B   FRANCISCO    HERNANDEZ                    UT     31072491981
21918932A87B87   SCHETEINIA   BARKIA                       AR     90015429320
21919695987B59   TYNISHA      PARKS                        AR     23079226959
21919961A55957   IQNACIO      MURGUIA                      CA     48069989610
2191B33147B699   LUMMIE       DENT                         GA     15052003314
2191B47265B161   TIFFINI      BAKER                        AR     90009764726
2191B742881638   FRANCES      LEE                          KS     90010347428
2191B793872B35   BRIAN        ELLIS                        CO     90011107938
2191BA97791984   VANESSA      MCLEAN                       NC     90013930977
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2192115A381637   JEREMY       GGARNER                      MO     90003831503
2192121115B531   CHRISTINA    BOOS                         NM     35087482111
2192168452B27B   JOSE         VAZQUEZ                      DC     81011976845
219216A127B449   RAMSEY       PLATT                        NC     90014876012
21921788A91828   MISTY        PEARSON                      OK     90008007880
2192221115B531   CHRISTINA    BOOS                         NM     35087482111
2192241719189B   PATRICIA     TAYLOR                       OK     21052754171
2192264119155B   TRINIDAD     MARIA                        TX     75042966411
2192347888B17B   JOSE         RODRIGUEZ                    UT     90009284788
2192354349155B   GONZALO      QUINONES                     TX     90013945434
2192365A34B245   JOYCE        WELLS                        IA     90006576503
21924A4724B261   MIGUEL       CAMPOS                       NE     90001790472
21924A93172B88   RODOLFO      ALVARADO DIAZ                CO     33034580931
2192511515B571   NICHOLAS     CHAVEZ                       NM     90004841151
2192572645B161   DARA         MATHIS                       AR     90014937264
21925814A81637   LATASKA      PATTERSON                    KS     29042398140
21926295972B98   NINA         HARBIN                       CO     90012952959
2192655789189B   KARLA        SANCHEZ                      OK     21049735578
21926A7A272B98   JACQUE       BERNAL                       CO     90013000702
21926A95381661   JAVIER       CUSTILLOS                    MO     90015470953
2192719167B449   PATRICK      CUTTER                       NC     90013431916
2192786915B531   NICHLOUS     YANCEY                       NM     90013588691
21927991A74B97   YURI         ALFARO                       OH     90014529910
21928472172B42   ERIN         DOOLITTLE                    CO     33064014721
21928647387B87   DANTRIONE    MIXON                        AR     90012266473
21928995172B88   RUTH NOEMI   PEDRO                        CO     33042169951
21928A6619155B   ALBERTO      TERAN                        TX     75093750661
21929162172B42   CHRISTINA    DAVIES                       CO     33047341621
21929166A5B167   KENISHA      PIPPINS                      AR     90013641660
2192929897B449   ISRAEL       VELASQUEZ                    NC     11063492989
2192B22714B261   SHANEE       STRONG                       NE     90015172271
2192B372791984   CHERISS      WILLIAMS                     NC     90014813727
2193111317B471   DENESHA      SWEAT                        NC     90012181131
2193124199136B   ERICKA       SUAREZ                       KS     29098492419
2193188247B449   NA           NU                           NC     90014908824
219318A9191828   CHRIS        MOSELEY                      OK     90004678091
2193198887B699   JENNET       HAMPTON                      GA     90010359888
219325A2A55957   RODRIGO      FRAUSTO                      CA     90010645020
21932832A91833   CHELSEA      CRABTREE                     OK     90007088320
21932A4217B699   MARKUS       HAMMONDS                     GA     15029170421
2193314A52B232   JAMES        LEE                          DC     90006951405
2193354349155B   GONZALO      QUINONES                     TX     90013945434
2193396815B167   FRANCIS      BODDEN                       AR     23097819681
2193449875B161   FELIPE       REYES                        AR     90015424987
2193453294B933   JESSICA      ROBINSON                     TX     90013785329
2193468145B161   ALICIA       LEE                          AR     90014896814
219347A5172B88   CRYSTAL      ROGERS                       CO     90015087051
2193567279184B   DEMETRIC     WHITE                        OK     90010966727
219357A8391241   JEFFREY      HARMON                       GA     90011957083
219359AA281638   SHANTI       MORGAN                       MO     90010959002
2193685134B281   ANN          BROWN                        NE     90001638513
219369A4A91828   TERRY        CLARK                        OK     21072839040
21936A65972B98   RIGOBERTO    SANTIAGO MEJIA               CO     90009960659
2193758A155957   BENJAMIN     DELGADILLO                   CA     90012625801
2193763659184B   NANCY        ASHLOCK                      OK     90013326365
21938568A2B542   BEVERLY      ASHTON                       AL     90014425680
21938A91A81637   CHRISTY      BAILEY                       MO     90013890910
21939625724B55   JASMINE      CLARK                        DC     81053626257
2193B42767B699   DUANTA       CARROLL                      GA     15051494276
2193B575147952   JAMES        HUDDLESTON                   AR     90013145751
2193B58897B699   KYLE         MARSH                        GA     90013535889
2193B761851343   BRUCE        JORDAN                       OH     90013207618
2193B987781661   SHARAE       TANNER                       MO     90010429877
2193BA29231631   JOHNNY       HOLLENSBE                    KS     22002010292
2194136554B551   MICHAEL      CHASTAINE                    OK     90010643655
2194136839189B   SHELANDA     FERGUSON                     OK     21084293683
2194138687B699   JEANETTE     CARTER                       GA     15030093868
2194194882B27B   DANIEL       FOXWORTH                     DC     90013339488
21941953A81638   EDDIE        PRYOR                        MO     29005129530
21941A58151343   NATHANIEL    GEER                         OH     90014650581
21941A9114B261   MILTON       CURRINGTON                   NE     27072210911
21942252A72B98   CANDANCE     DENNIS                       CO     90005522520
2194235519189B   BRYAN        DALTON                       OK     90002133551
2194247635B271   LENORD       SMITH                        KY     90014674763
2194333A791241   BRIAN        MCDERMITT                    GA     90010963307
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2194362285B161   FELICIA      ROCKINS                      AR     23025176228
2194366317B699   MARK         ROWCLIFF                     GA     15085466631
2194449A855941   LARRY        MILLER                       CA     49016544908
219448A7372B98   RONALD       BREWER                       CO     90012818073
2194512595B571   RENTERIA     PHILLIP                      NM     35093491259
2194514534B588   MEGAN        SEALE                        OK     90013581453
219451A7751343   JORGE        ESCOBEDO                     OH     90015181077
2194525157B449   JUAN         SOMMERVILLE                  NC     11004392515
2194534A231453   VANESSA      MILLER                       MO     90014383402
219463A687B449   GWENDOLYN    FAVOURS                      NC     90013993068
2194657469155B   JESSICA      ALVARADO                     TX     90013945746
21946587172B42   CRYSTAL      LOZANO                       CO     90014155871
219474A7591828   ANTONIA      ARELLANO                     OK     21008834075
2194754A872B88   CARLOS       VILLANUEVA                   CO     90006165408
21948138672B88   MIKE         BOND                         CO     33053121386
21948256687B59   MICHAEL      JOHNSON                      AR     90008432566
2194856778B17B   ANTONIO      ALFARO                       UT     90011675677
2194875AA91241   DOUGLAS      BOYKIN                       GA     90013987500
2194935482B27B   VALERIE      CROSS                        DC     90000623548
2194946629155B   LESLIE       WYCOUGH                      TX     90011404662
2194961734B588   SHARONDA     JONES                        OK     90012826173
219496A4957157   GERARDO      GALLEGOS                     VA     90013256049
2194B167755941   SANTOS       ESCALANTE                    CA     49031771677
2195149515B531   SABRINA      COLLINS                      NM     35026824951
21951AA6372B98   TAMI         PRENTISS                     CO     90001920063
21952421A91541   SAMUEL       RAMIREZ                      TX     90013604210
21952A1295B33B   KARRA        DRUERY                       OR     90012200129
21952A76772B98   DONGHWA      YUN                          CO     90014860767
219531A384B588   KELLY        YANKEY                       OK     90001681038
2195336554B551   MICHAEL      CHASTAINE                    OK     90010643655
2195523987B449   CAILEE       LONG                         NC     90014152398
2195586315B167   JUAN         OLVERACASTRO                 AR     90010968631
21955AAA25B531   VICTORIA     VASQUEZ                      NM     90013590002
219563A155B167   DAMIEN       MITCHELL                     AR     90012903015
2195675A14B261   DAVID        DEBOLT                       NE     27021327501
21956868A72B98   MAGALI       RODRIGUEZ                    CO     90011768680
2195732877B449   KRISTINA     RIZHKOVA                     NC     90015473287
2195776547B449   JOSE         SAVEDRA                      NC     90009047654
21957778472B88   JUDITH       BANENA                       CO     33035107784
2195794689189B   JOE          PRUITT                       OK     21097269468
21957A51181638   NACY         HERNANDEZ                    MO     29054110511
21958279A85938   YESENIA      REYES                        KY     90011562790
21958329787B87   LATONIA      COUNTS                       AR     90005063297
21958A63A72B88   MARCY        LUJAN                        CO     33093630630
21958AA327B471   MARGARITA    GOMES                        NC     90012920032
21959193287B87   COURTNEY     MORGAN                       AR     90013901932
2195927914B281   WALTER       ALEXANDER                    NE     90006622791
2195948A89189B   SUSAN        WRIGHT                       OK     90014704808
2195B459387B87   APRIL        CANNON                       AR     90010644593
2195B45A251343   SHERRIE      SIMS                         OH     90008504502
2195B63779189B   JORDAN       HENNY                        OK     90010036377
2195B659A91984   JUVENTINO    NOLASCO                      NC     90013936590
2195B74215B271   TAIWAN       JOHNSON                      KY     90011087421
2195B746591541   CHARLES      JONES                        TX     75053197465
2195B91775B161   LADONNA      WILLIAMS                     AR     23005879177
21961158687B87   BRIUNA       MOORE                        AR     90005441586
2196127A72B232   VICTOR       EGBEFO                       DC     90011952707
2196215195B161   MELINDA      MAHONE                       AR     90001541519
2196243684B281   JOSEPH       GREEN                        NE     90012184368
2196267614B588   KIMBERLY     THROWER                      OK     90014176761
219626A1331453   CHRISTOPHE   KAISER                       MO     90005056013
2196276369189B   PATRICK      FORD                         OK     21061507636
21962A8249136B   MARK         DEPRIEST                     KS     90009170824
2196386A82B27B   KIERA        PROCTOR                      DC     90012898608
21963A22A87B87   BILLY        BRUMLEY                      AR     90015550220
21964344A9155B   AGUEDA       GARCIA                       TX     75096183440
21964427972B88   TYSHANNA     WILSON                       CO     90012794279
2196513219155B   JULIA        RAMIREZ                      TX     75087781321
219652A939189B   BRITTNEY     LITTAU                       OK     90010982093
21965772A87B59   AALIYAH      MARTINEZ                     AR     90014197720
2196642A172B88   BERNARD      MESTAS                       CO     90011984201
2196695A82B232   MONAE        WOODS                        DC     90014069508
21966A57455941   GLEN         HARRIS                       CA     90004830574
219675A455B271   SHELLEY      BREWER                       KY     90011175045
21967944A55957   MELODY       NINO                         CA     48033109440
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1165 of 2350


2196828729155B   MARIA            RODRIGUEZ                TX     90000552872
2196848755B167   CHRIS            POLK                     AR     90014704875
2196928984B261   SANDRA           MAYORGA                  NE     27077722898
219694A2655957   CHARLES          STOUT                    CA     48096024026
2196953599155B   LUIS ANGEL       LUJAN                    TX     90001725359
2196B32685B167   JENNIFER         BURNETT                  AR     23078543268
2196B33694B245   MARK             FRILLMAN                 NE     27098753369
2196B33A791984   JIMMY            ATKINS                   NC     90013713307
2196B443747952   HEATHER          MCALISTER                AR     90004704437
2196B45915B161   NORRIS           HOLLOWAY                 AR     23056604591
2196B563691541   CONTRERAS        CARELIA                  NM     90012295636
2196B885584364   SANDRA           MARTINEZ                 SC     90012158855
2196B95355B161   LAQUISA          MOORE                    AR     90013939535
2197135688B136   ERIKA            SALDIVIA                 UT     90006213568
2197145895B161   ELLA             HUMPHREY                 AR     23071694589
2197169A351343   WOMBLES          CHRISTOPHER              OH     90008536903
21971878272B98   EH               SHER                     CO     90014988782
21971A4824B588   STACI            HILL                     OK     21576710482
2197244677B449   TARIKA           HAYES                    NC     90004034467
21972A58372B88   MELISSA          HERRERA                  CO     90013220583
21972A85741245   WILLIAMS         RYONS                    PA     90001840857
2197313732B232   MELISSA          VENABLE                  DC     90015271373
2197332864B582   MIKE             ARAMBULA                 OK     90014363286
2197345532B232   MELISSA          VENABLE                  DC     90008204553
21973859A5B167   ANNA             HUDSPETH                 AR     90014338590
2197528A455941   EZEQUIEL         RUIZ                     CA     90012352804
21975711387B59   PAYGO            IVR ACTIVATION           AR     90014267113
2197587537B699   LASHAY           ALCORN                   GA     90000978753
2197626287B449   CARRIE           TAYLOR                   NC     90011092628
21976367187B87   KAVON            TOLDERT                  AR     90015253671
2197693359155B   DORA             TAPIA                    TX     90015109335
219769A8791984   KYLIE            PARKE                    NC     90010539087
21976A8A651369   JILL             BAKER                    OH     90005440806
2197724AA5B161   LINDA            CANADA                   AR     90013942400
219773A7372481   JASON            RICE                     PA     90014383073
2197759A19155B   JESUS            ESTRADA                  TX     75091925901
2197766562B232   OCTAVIA          COATES                   DC     90013006656
2197794A272B98   JUSTIN           SANTANA                  CO     90014179402
2197822A157157   ALEXIS           LAZO                     VA     81012392201
2197825732B931   CARMEN           ESPINOZA                 CA     45000832573
2197917425715B   YOLANDA          QUILES                   VA     90001691742
219793A3857157   CHRISTINA        TSATSOS                  VA     90007703038
2197949A82B27B   ROGER            LOCKE                    DC     81011994908
21979539772B88   JOSE ROBERTO     NAVAS                    CO     90012045397
21979632872B98   TRAVIS           YOST                     CO     90013446328
219797A794B281   MIRANDA          DAVIS                    NE     90002387079
2197B16585B531   DAVID            PEREA                    NM     90011571658
2197B18655B571   EDDIE            PENA                     NM     90009691865
2197B237961986   GERARDO          MORENO                   CA     90010522379
2197B27837B449   ANABL            ARNA                     NC     90013962783
2197B3A8672B88   AERLENE          RAGSDALE                 CO     90014443086
2197B58659155B   PATRICIA         ACEVEDO                  TX     90013945865
2197B59132B94B   LYNETTE          BURKES                   CA     45030015913
2197B652772B42   NONA             WARRIOR                  CO     33032406527
2197B66A457157   KENYA YOLEBETH   ECHEVERRIA               VA     90009456604
2197B71117B699   TIPHANI          MILLER                   GA     90010097111
2197B933541245   JOYCE            SCHARER                  PA     90010519335
2197B944955957   ERICA            MACIAS                   CA     90007219449
2198122689184B   MARIA            RODRIGUEZ- MORALES       OK     90009942268
2198135285B531   LETICIA          RODRIGUEZ                NM     35087983528
2198153257B471   LUIS             REYES MADERA             NC     90011475325
2198178989155B   RAQUEL           CAMACHO                  NM     90013967898
219823A1691541   JORGE            ACOSTA                   TX     90009533016
219827A5457157   HUGO             GONZALEZ                 VA     90009127054
21982A3794B588   SHANDALON        TAYLOR                   OK     90010640379
2198527485B161   JUANA            LEDBETTER                AR     23074672748
2198565A541245   CHRISTINE        EVERETT                  PA     90013256505
2198597422B27B   RENEE            DANIELS                  DC     90007819742
2198648835B167   TACARRA          WRIGHT                   AR     90013944883
21986514672B42   SHANNON          GONZALES                 CO     90012585146
21986578472B42   ANGELA           MAESTAS                  CO     90007545784
21986748172B98   VINCENTE         GONZALEZ                 CO     90002077481
219867AA147952   THERESA          NOGAAR                   AR     90008897001
21986AA397B471   KATHERINE        MILLER                   NC     90012210039
2198731584B588   DUSTIN           ROLETTE                  OK     90012473158
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219873A9591984   GREG           MILLHOUSE                  NC     90013943095
2198764435B167   MICHELE        LIGHT                      AR     90014606443
21987A1225B161   DERRICK        PLUMMER                    AR     90013940122
2198825177B699   AYANNA         HELLER                     GA     90012412517
2198834755B531   PRISCILLA      DIMAS                      NM     90013583475
2198938394B281   SARA           ANDERSON                   NE     90014913839
2198949982B27B   DORRIE         CLAYTON                    DC     90014344998
21989A86A2B931   JAMES          ALBRITTON                  CA     90006540860
2198B152676B53   CHARLES        CLARK                      CA     90013081526
2198B178891984   WILLY          CARDENAS                   NC     90013941788
2198B23965B536   IVY            OKUNOR                     NM     90001892396
2198B276881661   GEORGE         FRANCK                     MO     29092012768
2198B29674B588   EDITH          FLORES                     OK     90010922967
2198B348A9184B   ANGELICA       OJEDA-BELLO                OK     90009033480
2198B42685B571   ESTELLE        GRANADOS                   NM     90010484268
2198B662A91828   BOBBY          HOLMES                     OK     90014116620
2198BA31872B88   LETICIA        MOLINAR                    CO     33035200318
219913A5151343   JANUARY        WILLIAMS                   OH     66028683051
21991718272B42   ROB            COLE                       CO     33050977182
21991A5644B261   DEBORAH        PRINCE                     NE     27023030564
2199232515B531   ELSA           RUBIA                      NM     90010373251
2199244685B161   MARY           WILLIAMS                   AR     23016494468
2199249AA81637   MIRIAM         LOPEZ                      MO     90004364900
2199251424B281   RANDI          CHRISTIANSEN               NE     27035735142
2199286AA9155B   ADRIANA        DURAN                      TX     90012018600
21992934A72B98   DOLORES        QUINTANA                   CO     33081449340
21992949976B67   ULISES         ARELLANO                   CA     90002679499
21993213172B42   RACHEL MARIE   BLEA                       CO     90012332131
2199343173B333   ANTHONY        MATTEI                     CO     90003954317
2199369855B161   CHANDRA        THOMPSON                   AR     90015006985
2199375917B449   ANTWON         PATRICK                    NC     90010407591
2199386719136B   WILBER         CHIGO                      KS     29070048671
21994A28391881   SHANNON        MCGRUDER                   OK     90010060283
2199534699155B   NYDIA          CARILLO                    TX     90001453469
2199621625B271   STEPHEN        ALLEN                      KY     90015112162
219962A425B161   JHANTEL        NEAL                       AR     90009842042
2199634334B261   JUANA          WARD                       NE     27057013433
2199644697B699   ANISHKA        WILLIS                     GA     90002414469
21996A92355941   KESHAWNA       NELSON                     CA     90008500923
21997435672B88   ANTHONY        DAVIS                      CO     90012794356
2199774495B571   ROSA           PEREZ-ALARCON              NM     35052167449
219978A6755941   AIDA           CHANDLER                   CA     90014178067
2199819329155B   VICTOR         TORRES                     TX     90010491932
2199833554B588   ANGELA         RAMOS                      OK     90013423355
2199855714B261   TOLEDO         DOMINGO                    NE     27083805571
2199859159155B   TRACY          BROWN                      TX     90013945915
21999322A5B167   ANDREW         DAVIS                      AR     90014343220
2199985775B167   MICHAEL        FLYNN                      AR     90012518577
219999A3585865   PABLO          SALDANA                    CA     46052499035
2199B15899155B   CRYSTAL        HARDEMON                   TX     75014751589
2199B176191984   DENIS          GARCIA                     NC     90009771761
2199B42AA7B449   AMANDA         WILEY                      NC     90014874200
2199B89AA81637   CARLOS         HERNANDEZ                  MO     90015018900
2199B936876B53   VICTOR         CARMON                     CA     46007099368
219B139387B449   KELVIN         WALKER                     NC     90014873938
219B14A3691541   NORMA          GUAJARDO                   TX     90004404036
219B17A314B261   CHAD           NELSON                     NE     90014297031
219B1955947952   BUDDY          JOAENBERGER                AR     90014349559
219B2338687B87   JENEICE        KINLAW                     AR     90015423386
219B2553887B59   LESLIE         MAHONE                     AR     90004045538
219B2792A9184B   TAMANIKA       TAYLOR                     OK     90013747920
219B2828A85938   RANDY          LATHERS                    KY     90008598280
219B2932972B88   DAVID          BAKER                      CO     33088669329
219B297692B27B   IENIEALEM      LUULSEGHED                 DC     90011499769
219B298377B471   MANUEL         VARGAS                     NC     90014769837
219B337A255957   PAUL           GARCIA                     CA     90015173702
219B3397881638   HECTOR         GUZMAN                     MO     90001153978
219B3417984364   JODY           LIVINGSTON                 SC     90014184179
219B385947B699   LATOYA         DANIELS                    GA     15064518594
219B3A2514B245   STEPHANIE      GARCIA                     NE     90008000251
219B4328391984   MARISELA       ESPINOZA                   NC     90012153283
219B439677B449   ADRIAN         ABREU                      NC     90014223967
219B446937B382   TIN TIN        TUN                        VA     81017374693
219B4746591828   LORI           FOLEY                      OK     90011127465
219B497439155B   ELADIO         JAUREGUI                   TX     90004659743
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219B5118591528   JASON        JAMES                        TX     90004041185
219B517869155B   CLAUDIA      PEREZ                        TX     90010491786
219B536A45B36B   RAYMOND      SIMPSON                      OR     90001953604
219B5388691241   ZAQUEL       LAWRENCE                     SC     90012063886
219B53A255B161   PAMELA       ROBERTSON                    AR     23006343025
219B5415572B88   BRENDA       CHAVIRA                      CO     90012794155
219B55A339136B   BENJAMIN     POWELL                       KS     90011235033
219B561435B271   ARISLEDYS    CASTELLANOS                  KY     90010956143
219B57A7A2B27B   WENDY        LEWIS                        DC     90012897070
219B599167B699   MICHAEL      LOHE                         GA     15033819916
219B59A879184B   DIANA        SANTIBANES                   OK     21079599087
219B6279381661   RENEE        CORNELL                      MO     90007622793
219B6485891541   FELIPE       RODRIGUEZ                    TX     90013344858
219B6652891984   CALANDRA     MCLEAN                       NC     90013706528
219B6812591984   CALANDRA     MCLEAN                       NC     90013978125
219B695795715B   FARHAD       TAHMASEBI                    VA     81037529579
219B7284181638   JAMIE        WEST                         MO     29094112841
219B7567947965   MARILYN      PARMENTER                    AR     90013335679
219B764149155B   EVA          DURAN                        TX     90014516414
219B7816784364   DAQUANA      EASLEY                       SC     90014188167
219B786A557157   HUSINA       AZAMY                        VA     90014898605
219B7A42931631   ELIZABETH    ZIMMERMAN                    KS     90000850429
219B7A5435B167   JAIME        SMITH                        AR     90013780543
219B817459184B   CORAIMA      LOPEZ                        OK     90014961745
219B8342A5B161   WHITNEY      NEELY                        AR     90007033420
219B847447B423   LAKETHA      COWAN                        NC     90014034744
219B867425715B   LINDA        CARABEZ                      VA     81009936742
219B9331424B55   DANBER       KAMI                         DC     90012633314
219B9816784364   DAQUANA      EASLEY                       SC     90014188167
219B9867587B87   ERIKA        TRICE                        AR     90015068675
219B9A5435B167   JAIME        SMITH                        AR     90013780543
219BB19867B471   TONIA        GIST                         NC     90004101986
219BB3A9831631   ROBERT       PALNAU                       KS     90014863098
219BB57215B271   DIANA        CAMO                         KY     90013655721
219BB585A9184B   LISA         PORTER                       OK     90015125850
219BB643881637   JOHNNY       MCCURRY                      MO     90013506438
219BB677672B98   MISTY        RIEDESEL                     CO     33099776776
21B1119927B699   RACHEL       DAUN                         GA     90006841992
21B1149669189B   STEVEN       GRAY                         OK     90011234966
21B1174245B571   LORI         SANDOVAL                     NM     90009767424
21B1183169136B   JULIA        GARCIA                       KS     90014988316
21B11898447952   ALICE        MILEY                        AR     90014758984
21B11A8759184B   BOBBY        MARTIN                       OK     90008980875
21B13142487B59   PAYGO        IVR ACTIVATION               AR     90014511424
21B13955855957   ALBA         PEREZ                        CA     90012339558
21B13A1A531631   FAITH        BARROWS                      KS     90006600105
21B13A5188B17B   JOE          PURKISS                      UT     90014880518
21B1416262B232   ASHLEY       HAYNES                       DC     90012751626
21B14371A91541   SARAH        HERNANDEZ                    TX     90013983710
21B1455359136B   CARLOS       RAMIREZ                      KS     29063825535
21B1458A49184B   TRAVIS       PEARSON                      OK     90003055804
21B14843A4B588   LORA         HALL                         OK     90011488430
21B14856791541   JAVIER       ZEPEDA                       TX     90012588567
21B14892687B59   MICHEAL      SCOTT                        AR     90006738926
21B1515885B167   MICHELLE     MCNEELY                      AR     23081371588
21B15239372B98   CHRISSY      JOHNSON                      CO     90000742393
21B15273881661   LOURDES      SALAZAR                      MO     29010532738
21B15276572B42   JOHNNIE      VELASQUEZ                    CO     90001892765
21B15764A91942   LYDIA        JAMES                        NC     90009407640
21B15A78741245   DANA         HILL                         PA     90004740787
21B16119957157   EDGAR        SAENZ                        VA     90012211199
21B1628187B471   ALEXANDER    STUTTS                       NC     90012142818
21B1631319794B   JOSE         HERNANDEZ                    TX     90002163131
21B16898447952   ALICE        MILEY                        AR     90014758984
21B1731A881661   DANIEL       MORALES                      MO     29009793108
21B1768542B232   JAMES        THOMAS                       DC     90012536854
21B1787154B261   CANDICE      EVERETT                      NE     27096728715
21B17A33691833   MARCUS       WHITED                       OK     90005790336
21B1814A991528   MARIA        VEGA                         TX     90003361409
21B1823762B27B   MARVIN       MENJIVAR                     DC     90009492376
21B182A3247952   ARETHA       SHERILL                      AR     90014832032
21B1834A89155B   IRMA         GONZALEZ                     TX     90002333408
21B184A6A31453   AMBERR       ROBINSON                     MO     90014564060
21B18719687B59   RODRIA       OBRYANT                      AR     90011637196
21B1872437B275   SUSAN        MCGRANE                      AZ     90008817243
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21B18A1544B588   JAREE         PRIM                        OK     90011200154
21B19229172B88   KENNETH       SYMONS                      CO     90012782291
21B1925A591241   FREDERICK     AUSTIN                      GA     90009452505
21B19356181637   MARY          DAVID                       MO     29011703561
21B19382151343   ADRIANNA      RANDLE                      OH     90011003821
21B19456491828   PEGGY         RAMOS                       OK     21027044564
21B19686187B59   KIMBERLY      SCARVER                     AR     90014806861
21B1972277B471   NANCY         BADAY                       NC     90009127227
21B1B584431857   ANGEL         MANUEL                      LA     90015415844
21B1B6A549184B   MONICA        EWALDT                      OK     90012306054
21B1B926491541   ANNETTE       ZAMUDIO                     TX     75034809264
21B2121585B271   KELLI         HAMPTON                     KY     90014602158
21B21767272B88   JUDY          FEARHEILEY                  CO     90006957672
21B2188A291984   LEXI          BLACK                       NC     90015608802
21B2193415B167   THERESA       WRIGHT                      AR     90010639341
21B219A347B699   PHELLIZZAYA   MARTIN                      GA     90012999034
21B21A94687B87   JEREMY        JONES                       AR     90014080946
21B22623357157   HENRY         CABRERA                     VA     81069366233
21B22A2999152B   MARIANA       CHAVEZ                      TX     90012370299
21B23173A47952   MELISSA       CRAIG                       AR     90012871730
21B2319A64B281   JOSE LUIS     JAUREGUI                    NE     27066331906
21B2323A672B88   ISABEL        HERNANDEZ                   CO     90012782306
21B2327689189B   CASSANDRDA    GREGORY                     OK     90008452768
21B2329822B27B   JASMINE       WILSON                      DC     90012872982
21B23514931453   LATASHA       PEOPLES                     MO     90003845149
21B236A9957121   MICHAEL       WYATT                       VA     90008156099
21B23827672B42   DARRYL        MARSHALL                    CO     90011378276
21B2386A44B588   KAREN         MARTIAN                     OK     90009148604
21B23A32371925   JEANETTE      VIALPANDO                   CO     90004020323
21B2416835B271   DEBRA         BAKER                       KY     90014631683
21B2422A74B588   LAKIESHA      HALL                        OK     90009582207
21B2432139155B   ROBERTO       ARELLANO                    TX     90012513213
21B2435A585955   LESTER        CLARKSON                    KY     90007833505
21B2447229184B   MINDY         BARNETT                     OK     21084394722
21B24537772B88   MELISSA       MORENO                      CO     90003415377
21B24AA1572B98   HEIDI MARIA   SARACINO                    CO     90013970015
21B2514535B161   TANYA         HARRIS                      AR     90014811453
21B254A6757157   JULIO         CHICAS                      VA     81016714067
21B2557799184B   BETTY         LOCKETT                     OK     21032395779
21B26131191589   LOURDES       ORTEGA                      TX     90008341311
21B26647387B87   DANTRIONE     MIXON                       AR     90012266473
21B26853691828   JESSICA       GOURLEY                     OK     21005128536
21B26A47355957   RAFAEL        HERNANDEZ                   CA     90006040473
21B2748A941B7B   DAWN          BRADLEY                     NC     90009754809
21B2757949189B   PAMELA        TREAT                       OK     90013265794
21B27628991241   RICHARD       SLEMMONS                    GA     90011856289
21B27699191984   ADALINDA      FLORES                      NC     90012746991
21B27699277576   MARICARMEN    ROSIL- AGUIRRE              NV     90011056992
21B2851A75715B   LETICIA       BARRERA                     VA     90001855107
21B2874339184B   DAVID         GLAZIER                     OK     21065997433
21B2896284B541   TRYSTIN       ROGERS                      OK     90009179628
21B29173A72B98   LAUREN        TREJO                       CO     90014671730
21B2949858B334   REINA         DE LOPEZ                    NC     90011924985
21B29658193767   SHANNON       CAMPBELL                    OH     90012826581
21B29713161877   EXPEDIT       ELOI YEYE EKWEY             MO     90012777131
21B2B135184364   MARIA         DAVILA                      SC     90013951351
21B2B1A2491583   MELISSA       GUERRA                      TX     75064031024
21B2B762991241   IMARI         SUNKINS                     GA     90014587629
21B31627991241   TIFFANY       SMILEY                      GA     90011136279
21B3183475B571   MONICA        WALSH                       NM     90011278347
21B31889587B59   BYRON         EVANS                       AR     23074808895
21B32444181661   REYNARD       ZWEIFEL                     MO     29084094441
21B32593A55941   MARIA         OROZCO                      CA     49064315930
21B325A875B271   PRESTON       EDWARDS                     KY     68013645087
21B3273929189B   APRIL         BEARSHEAD                   OK     90013507392
21B3283994B564   FERNANDO      HERNANDEZ                   OK     90006218399
21B3285157B699   AUBREY        TRUMAN                      GA     90014798515
21B3316484B281   KELLY         PETERS                      NE     27061421648
21B3317245B271   CANDICE       SMITH                       KY     90014631724
21B3321122B975   MARGARITA     CARRAZCO                    CA     90002482112
21B3356897B449   FELICIA       FOX                         NC     90010985689
21B3358A272B98   DILLION       MITCHELL                    CO     90013955802
21B33718793773   STEPHANIE     BELKO                       OH     64557187187
21B34186272B88   BEN           CORDOVA                     CO     33089591862
21B3442828B17B   JENNIFER      BECKSTRAND                  UT     90011654282
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21B3447855B571   TOMMY        SIMS                         NM     90009384785
21B3489674B261   ZELANY       YOUNG                        NE     90011878967
21B34A19891241   DEBBIE       BYRD                         GA     90010310198
21B34A9669189B   VICTOR       RODRIGUEZ                    OK     21030170966
21B35119957157   KELSEY       FISHER                       VA     90012831199
21B35489155957   CIPRIANO     JIMENEZ                      CA     90013854891
21B35634291352   MARIA        HOWARD                       KS     90002596342
21B35727872B98   JOAQUIN      FRANCO                       CO     90012337278
21B3658339184B   JACQUELINE   BOJORQUEZ                    OK     90011165833
21B3669969794B   SHERRY       CHAPPEL                      TX     74013816996
21B36727872B98   JOAQUIN      FRANCO                       CO     90012337278
21B36893872B88   ALEJANDRO    GUZMAN                       CO     33041668938
21B371AA82B232   TAMMY        TERREL                       DC     90014801008
21B3739315B271   BILL         FRYE                         KY     90009513931
21B37447451369   DANIEL       STURGILL                     KY     90001244474
21B38114591528   ROSA         ATIYA                        TX     75068201145
21B3812579189B   MARIA        RODRIGUEZ                    OK     90001001257
21B38174991541   ELIZABETH    PEREZ                        TX     90008941749
21B3851314795B   STARLETTA    MORRIS                       AR     25072365131
21B3878649136B   COREY        FITZGERALD                   KS     29020317864
21B3892A584364   FELECIA      CHAMPAYNE                    SC     90011449205
21B38A3535B571   SERGIO       AGUILAR                      NM     90004360353
21B38A98885636   GABRIEL      BARRIENTOS                   NJ     90012730988
21B3917859155B   NADIA        NEVAREZ                      TX     75033751785
21B3928AA51343   JEFF         ROBINSON                     OH     90014342800
21B39488887B59   YVONNA       ALEXANDER                    AR     90011094888
21B3B28A39189B   ALISHA       WORCESTER                    OK     90008452803
21B3B61425715B   RUTBELIA     MERAZ                        VA     81028866142
21B3B74245B531   NELENTINO    HARDY                        NM     90013537424
21B3B983351343   CHAD         FLUSHER                      OH     90014559833
21B41218891589   ENRIQUE      GARCIA                       TX     75069752188
21B41287481637   KRISTEN      DIVEN                        MO     90013572874
21B41A33972B42   EDWARD       CANPOS                       CO     90013820339
21B42235651353   KRISTINA M   JACKSON                      OH     90003272356
21B4255A98B17B   CHAVEZ       EVELIO                       UT     90009775509
21B42857771945   ARNOLDDO     ALVAREZ                      CO     90011168577
21B43178791541   YVONNE       MARTINEZ                     TX     90005361787
21B43184451343   CHRIS        CONWAY                       OH     90005531844
21B4377252B232   DIAMOND      WILSON                       DC     90010847725
21B43788755941   MELODY       BERLINSKI                    CA     90014157887
21B44672772B88   HA           HKAWN                        CO     90013396727
21B4474975B531   JOSE         JUAREZ                       NM     90013537497
21B44993A5B571   LILLIANA     RODRIGUEZ                    NM     35023049930
21B455A8A9794B   JUAN         BAUTISTA                     TX     90005665080
21B45756357157   FRANCISCO    CARCAMO                      VA     90012567563
21B4621915137B   ROBERT       PARROTT                      OH     66047692191
21B4631237B699   RANDAL       GIBSON                       GA     90012853123
21B4639634B588   DANA         BLACKWELL                    OK     21593983963
21B47167657157   ELVIRA       MEZA                         VA     90006351676
21B47194572B88   DORA         AMBOURN                      CO     90015201945
21B47235672B88   JEANNIE      BROWN                        CO     90012782356
21B4723839136B   ELVIS        SANDOVAL                     MO     90014712383
21B478A8133126   GARCIA       GARCIA                       NM     90014068081
21B47924787B59   SABINA       NUCI                         AR     90013559247
21B4828855715B   YIRGALEM     BOKA                         VA     81029662885
21B48326955957   JUAN         LOMELI                       CA     90011263269
21B48515172B25   DEMETRICE    CALDWELL                     CO     90011025151
21B48625143523   JENNIFER     FRANCHINA                    UT     31046636251
21B4928425B271   NICOLE       HAMLET                       KY     90014632842
21B492A8157157   HERBERTH     AMAYA                        VA     90001972081
21B4933125B571   CECILIO      HERNANDEZ                    NM     35031713312
21B49562491541   ANNA         HIDALGO                      NM     90014645624
21B49A9325B531   DOREIN       REGGARO                      NM     90001970932
21B4B37469136B   MARIBEL      WILLIAMS                     KS     90008343746
21B4B41A39189B   MATHEW       EMANUEL                      OK     90009994103
21B4B568272B98   MELVIN       MOSLEY                       CO     90013955682
21B4B76A191528   IRMA         DELGADO                      TX     75092147601
21B4B971A84364   MANESA       BLACKMON                     SC     90011499710
21B4BA41224B55   BRITTNEY     HAWKINS                      DC     90010890412
21B51142A57157   EDGAR        CASTRO                       VA     90013821420
21B5117152B232   LESLIE       ABBOTT                       DC     90013951715
21B512A7884364   AMBER        FERGUSON                     SC     90011112078
21B51969872B42   DAGOBERTO    GONZALEZ                     CO     33020129698
21B52424887B87   PAYGO        IVR ACTIVATION               AR     90013704248
21B5255244B588   JOHN         PHILLIPS                     OK     21593985524
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21B5257365B161   JORGE        HOFFMAN-CASTILLO             AR     23097145736
21B5281168B17B   KRISTI       ATKINSON                     UT     31073208116
21B5296A455957   SAMANTHA     HAMILTON                     CA     90007969604
21B532A2751343   TRISSA       GREEN                        OH     90013092027
21B536AA92B27B   CECILIA      CREW                         DC     90014306009
21B53AA2141245   MONIQUE      STEPHENS                     PA     90014730021
21B54172691528   SARAH        MEDINA                       TX     90011051726
21B54332791984   SARAH        JOHNSON                      NC     90012333327
21B54383172B98   TIM          ALEXANDER                    CO     90005893831
21B54614391541   ADAN         CONTRERAS                    TX     90011766143
21B54986781661   PAYGO        IVR ACTIVATION               MO     90010079867
21B54A1399184B   BILLIE       REID                         OK     90013210139
21B5576169184B   DON          GRIFFIN                      OK     21002047616
21B5576AA93773   KAREN        PETERS                       OH     64527187600
21B56495655941   JORGE        LAZO                         CA     90000664956
21B56572355957   NOLA         COLLINS                      CA     48088475723
21B5659155B571   SARAH        PIKE                         NM     35067525915
21B56699691541   IRMA         LEWIS                        TX     90013326996
21B5764859155B   FELICITAS    CAMACHO                      TX     90010266485
21B5794419794B   ANDREA       CARTER                       TX     74089529441
21B579A675B176   WENDIE       NOWOTNEY                     AR     90011499067
21B5816569184B   MARK         SHANNON                      OK     21041551656
21B582A9655957   GUADALUPE    CASTILLO                     CA     90014812096
21B5844492B27B   TIFFANY      DYSON                        VA     81014634449
21B59242684364   SHONNIECE    BRELAND                      SC     90013952426
21B5926AA31453   RANDY        HARMON                       MO     90000662600
21B5931A891522   SAMUEL       QUINTANAR                    TX     75043123108
21B59548481637   VICKY        LAMP                         MO     90014525484
21B59585191241   RICARDO      BRIGHT                       GA     14507815851
21B5977A39155B   GWENDOLYN    GUADALO                      TX     90014427703
21B5B34264B588   ELIZABETH    MONTELONGO                   OK     90012743426
21B5B374572B42   ENRIQUE      RODRIGUEZ                    CO     33012113745
21B5B38589189B   CHANDA       ELYSSE                       OK     90013963858
21B5B416257157   MICHEAL      CHAMBERS                     VA     81084304162
21B5B779A8B17B   RICARDO      SANCHEZ                      UT     31038287790
21B5B81735B531   JENNIFER     NANEZ                        NM     90010798173
21B5B829285938   RICO         MARKS                        KY     90005518292
21B5B84394B281   AYIVI        GUILLAUME                    NE     90014238439
21B5B86119794B   FELIPE       HERNANDEZ                    TX     74059758611
21B5B975191583   HECTOR       SOLORZANO                    TX     75064919751
21B5B997187B59   LATONYA      COLEMAN                      AR     90004019971
21B6127A284364   ABRAHAM      PEREZ                        SC     90013952702
21B61314887B87   BRIANA       NEWBORN                      AR     90013113148
21B61911A4B281   ANA          RODRIGUEZ                    NE     90010019110
21B6275995B161   JENNIFER     SIMPSON                      AR     23062517599
21B6344629184B   CARL         CHANCELLOR                   OK     90013254462
21B6345A691984   MARQUES      SWANN                        NC     90013434506
21B63571172B98   JEFFERY      TAYLOR                       CO     90013955711
21B6384A75B161   BERNADETTE   NAJI                         AR     90014728407
21B63AAA591541   JULIAN       ESTRADA                      TX     90012470005
21B64777185938   ROBERT       DURHAM                       KY     67053187771
21B6487397B699   JOYCE        YARDE                        GA     15078888739
21B65467172B88   ERIK         VILLEGAS                     CO     33081584671
21B6568135B531   LARA         MASCAREINAS                  NM     90009256813
21B65687185938   MAVE         NDJANGOSI                    KY     90011056871
21B65787A4B588   MOISES       ALANIS                       OK     90001677870
21B65838191541   GEORGIA      ACOSTA                       TX     90012478381
21B65991151343   STEPHANIE    OHLINGER                     OH     66077359911
21B65A95A47952   MARTESHA     KING                         AR     90014970950
21B66171A93773   RENEE        BRITT                        OH     64557721710
21B66365A87B21   ASHLEY       BASS                         AR     90011233650
21B66418A4B588   BRENDA       DELIA                        OK     90012424180
21B6653349189B   ROSA         LUNA                         OK     90010275334
21B66571272B98   SABINO       REYES                        CO     90013955712
21B666A169136B   HENSSER      CONTRERAS                    KS     90014996016
21B671A1A84364   BERNARD      BURGESS                      SC     19050411010
21B671A2872B98   TANYA        DEL VALLE                    CO     33038671028
21B6756515B167   SHELTON      HARVEY                       AR     90012245651
21B6769749136B   WALTER       FERNANDEZ                    KS     29015876974
21B679AA331631   GAY          BRYANT                       KS     90006959003
21B67A77791241   THOMAS       SCOTT                        GA     90010880777
21B6821645B167   KAMBRI       LAMBERT                      AR     90014612164
21B6856372B27B   MICHAEL      MCMILLAN                     DC     90011015637
21B6876554B588   VIVIANA      CASTILLO                     OK     21590597655
21B688A6155957   ESMERALDA    ACERO                        CA     90010188061
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21B68A7894B261   COCO                VALENTINE             NE     90015420789
21B69251172B42   CHRISTINE           FLORES                CO     33079532511
21B6931182B27B   DAVITA              BROWN                 DC     90012873118
21B69577272B98   JOSE                VIGIL                 CO     90013955772
21B69994655957   JUSTIN              HARVILL               CA     90012319946
21B69A7584B588   TRACEY              BAPTISTE              OK     90009570758
21B6B21719155B   GWENDOLYNE          ARAMBULA              TX     90013942171
21B6B691731453   BENJAMIN            ORIS                  MO     27559306917
21B71236157157   FREDY               MARTELO               VA     81017292361
21B7125449189B   ANTONIO             MACHADO               OK     90013672544
21B7158284B281   TYREE               FANNING               NE     27091165828
21B7178695B571   JOHN                BRITO                 NM     35087787869
21B71793551343   TESSA               BROWN                 KY     90011147935
21B7185147B699   SHUNDRA             EVANS                 AL     90009318514
21B71A1445B531   KYLE                HAZEN                 NM     90013540144
21B72268891241   NATASHA             FIELDS                GA     14588832688
21B7296844B261   SURE                KABAK                 NE     90015129684
21B7297459184B   TOM                 LAVINESS              OK     21001889745
21B73549772B25   DAVID               MONTOYA               CO     90003545497
21B73682372B98   ERICA               MCWHORTER             CO     90011756823
21B7371774B588   REGINA              ALEXANDER             OK     90011067177
21B7382994B261   FRANCES             WALKER                NE     90015188299
21B73979991528   MARISELA            MARINES               TX     90002089799
21B73A77191541   JESUS               GARCIA                TX     90011070771
21B74354691828   DAVA                PRICE                 OK     21092453546
21B7436982B27B   MICHELLE            LAKE                  DC     90014533698
21B7464179155B   ROBERTO P           BENITEZ               TX     90014956417
21B7472359136B   ASHLEY              HOBBS                 KS     90006797235
21B74976687B87   LOMINA              ELIO                  AR     90015439766
21B74A1514B281   ANTHONY             NOAH                  IA     90011070151
21B74A6A691541   LIZ                 VELASQUEZ             TX     75074430606
21B75428791984   HECTOR              PESINA                NC     90015304287
21B75478972B42   THOMAS              TRUJILLO              CO     90012084789
21B75946787B59   FELIX               ROUSE                 AR     23005689467
21B75968291828   BARBRA              BERGMAN               OK     21045589682
21B7616234B245   SHAWN               TWOREK                NE     90013051623
21B7631522B27B   JUANA               LAZO                  DC     90008553152
21B77197591227   STEPHANIE           LARCK                 GA     90005371975
21B77487161999   JOSE RUBEN          BERMUDEZ HERRERA      CA     90013904871
21B7814AA87B21   EDDIE               FORBES                AR     90007271400
21B7847969136B   MELISSA             CLARK                 KS     90009644796
21B7869257B471   JESSICA             PLESSNER              NC     11069676925
21B78A4415715B   GREGORIO            ROMERO                VA     90006540441
21B792A5731453   GERTRUDE            SHUMPERT              MO     90006902057
21B7931472B27B   JULIAN              BUCKNER               VA     81095983147
21B79842241245   JUSTIN              DAWSON                PA     90012508422
21B79859291541   ANTONIA             OCHOA                 TX     75054978592
21B79868147946   GEORGETTA           TITCHENELL            AR     90005638681
21B79918431645   MEGAN               MURRY                 KS     90013119184
21B79A22491984   MARIE               REAVES                NC     90013350224
21B7B1A5A4B588   CHRISTOPHE          GREEN                 OK     21587451050
21B7B21719155B   GWENDOLYNE          ARAMBULA              TX     90013942171
21B7B239172B88   ASAHEL              AGUAS                 CO     90012782391
21B7B31712B27B   RUTH                MANGUM                DC     90012873171
21B7B748172B98   VINCENTE            GONZALEZ              CO     90002077481
21B7B929791828   SHONNA              STEVENSON             OK     90012639297
21B8114935B536   LUIS                SANCHEZ               NM     35072521493
21B81272491541   EDDIE               CORRAL                TX     75054042724
21B8134912B232   KIMBERLY            MCCANTS               DC     90010463491
21B8139693B391   CATHY               BITTLER               CO     90013243969
21B81557755957   JOSE                FLORES VARGAS         CA     90007315577
21B82155491541   MARIO               LOPEZ                 NM     90011521554
21B8264389155B   VERONICA            TORRES                TX     90014006438
21B82891541245   SHAQUILLE LAMONTE   SMITH                 PA     90011238915
21B83238255941   AMANDA              MANESS                CA     90013732382
21B8324114B261   APOLINAR            JIMENEZ               NE     27075732411
21B8345247B699   TOMETO              WILLIAMS              GA     90014384524
21B834A2247952   SARA                BROWN                 AR     90000954022
21B83774941261   MICHELLE            THOMAS                PA     51064757749
21B83A1854B245   DARRELL             PERDUE                IA     90011740185
21B84176991541   EDDY                ZAYAS                 TX     75082311769
21B842A9A9155B   VICK                CASTA                 TX     90013942090
21B84314431631   ULISES              DOMINGUES             KS     90010943144
21B8433372B27B   JOHN                SPEARS                VA     90012873337
21B84367531453   PRINCESS            TAYLOR                MO     27563503675
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21B8462314B245   SHAY           ROHRBERG                   IA     27005226231
21B8464369136B   ANA            GARZA                      KS     90014996436
21B8473695B344   BRUNO          CANCINO MARTINEZ           OR     90013277369
21B84751981637   AMBAR          LARA                       MO     90007297519
21B84868147946   GEORGETTA      TITCHENELL                 AR     90005638681
21B84922484364   PAYGO          IVR ACTIVATION             SC     90014219224
21B84943541245   GLENNIE        MARTIN                     PA     90012189435
21B8536119155B   JOSE           HERNANDEZ                  TX     75065573611
21B85561881661   WENDY          JOHNSON                    MO     90003035618
21B85595287B87   JASON          LONG                       AR     23052355952
21B85688985938   ANGEL          BULLOCK                    KY     90005126889
21B85A32372B98   PERLA          VILLEZCAS                  CO     90014110323
21B86423631857   MONICE         YOUNG                      LA     90015384236
21B86475931631   JUDY           GLOVER                     KS     22095604759
21B8648195B167   CHRISTOPHER    GEAN                       AR     90014914819
21B8677599155B   CHARLIE        SANDOVAL                   TX     90008507759
21B87132391828   GREG           COLON                      OK     90014421323
21B8737615B571   T              MARTIN                     NM     90008453761
21B87481A9189B   JUSTICE        DODSON                     OK     90013914810
21B87484985639   MIGUEL         JIMENEZ                    NJ     90010464849
21B87489181637   CLARINDA       SAYRE                      MO     29011004891
21B8754A991984   ALLEN          LONGMAN                    NC     90014055409
21B879A4A4B588   JOSEPH         RICHARDSON                 OK     21550369040
21B88399972B88   BRIAN          ATCHISON                   CO     90014563999
21B88A15487B59   TARISHA        MOSS                       AR     90013040154
21B8911A331631   ANNA MARIA     MARTINEZ                   KS     90012081103
21B89132A51343   MARLLOW        HAWARD                     OH     90010471320
21B89149191528   LUIS           GARCIA                     TX     90004241491
21B89253A87B59   GERTRUDE P     PRICE                      AR     90009662530
21B893A8691984   KYSHA          TOWNSAND                   NC     90015603086
21B89423172B98   LETICIA        LORENZO                    CO     33019644231
21B894A542B27B   SHAWN          BEECHER                    DC     90011754054
21B8977219155B   ALEXIS         ESCARCEGA                  TX     90013967721
21B898A8A9155B   MINERVA        ALVAREZ                    TX     90013048080
21B8B536981661   AMY            UNGER                      MO     90014625369
21B8B62652B232   STEVEN         HOLIDAY                    DC     90012916265
21B8B726787B87   HEATHER        KIRKPATRICK                AR     23058417267
21B8B7A539794B   CHRISTOPHER    GREEN                      TX     90009867053
21B8B89625B161   MICHAEL        COX                        AR     90005178962
21B91283A5B167   JACQUELINE     ROSE                       AR     90003862830
21B91729527B45   PAYGO          IVR ACTIVATION             KY     90013907295
21B9183917B699   DANISHA        GIRER                      GA     15044108391
21B9187314B588   REBECCA        FRENCH                     OK     90000378731
21B92412731453   TIERRA KEITH   STRONG ASKEW               MO     90013484127
21B92533172B42   SERGIO         DIAZ-MORENO                CO     33062275331
21B9291A493727   MELISSA        BAKER                      OH     90006509104
21B92997A4B588   TAKOYA         LAWSON-SIMPKINS            OK     90013599970
21B93249972B98   LEOBARDO       BALDERAS RIVAS             CO     90005282499
21B93437491541   SANDRA         ESCOBEDO                   TX     90010814374
21B93691991541   ISABEL         MURILLO                    NM     90010226919
21B93815972B88   STEPHANIE      BIRELY                     CO     33036278159
21B9391A493727   MELISSA        BAKER                      OH     90006509104
21B9418299184B   LAINE          FIELDS                     OK     90010641829
21B9421377B449   ANTHONY        WATSON                     NC     90013922137
21B94228731453   DEJA           SHELBY                     MO     90012182287
21B9448559189B   JAYME          WARD                       OK     21090344855
21B94787657128   ABIBATU        SESAY                      VA     81052987876
21B94841191541   APRIL          DELGADO                    TX     90011328411
21B94894A72B42   ROGELIO        MOLINA                     CO     90010308940
21B95496485938   SCOTT          WALKER                     KY     67080034964
21B95563191828   BRANDI         YOUNG                      OK     21065345631
21B95569284364   ASHLEY         FERGUSON                   SC     90014885692
21B9562112B27B   WALTER         MARTINEZ                   VA     90011486211
21B9578A74B281   GATKUOTH       AGANOS                     NE     90011177807
21B9619798B17B   ANAA           IZARRARAZ                  UT     90007061979
21B96744A31453   ALICIA         COMMON                     MO     90015137440
21B9688952B232   JAMES          MORELAND                   DC     90008738895
21B9716A472B31   GLENNIS        WYATT                      CO     33021941604
21B974A424B58B   SYLVIA         MEADOWS                    OK     90008744042
21B97954A93773   ROBIN          ELAM                       OH     90006559540
21B97A69272B98   CARLOS         PRADO                      CO     33040810692
21B9816394B588   PAIGE          MAUK                       OK     90013551639
21B98227957157   WORKU          KEBEDE                     VA     90014872279
21B989A424795B   KIMEY SUE      GRAY                       AR     90001059042
21B99124547952   OSCAR RENE     COLOP CHAVEZ               AR     90004701245
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21B9914557B699   ADDILEE             JACKSON               GA     90008941455
21B99228787B59   JASMINE             JONES                 AR     90013622287
21B99413A5B167   ANTONE              JONES                 AR     90005694130
21B99786272B98   ALLAN               GUTIERREZ             CO     90012707862
21B99975641245   NICOLE              MUSHINSKY             PA     90013639756
21B99A95791541   MANUEL              TALAMANTES            TX     90014900957
21B9B51133B185   REGINA              FORD                  VA     90008165113
21BB124A89189B   GREGORY             CICHON                OK     90008452408
21BB1789491541   LAWERENCE           STOKES                TX     75087037894
21BB1A29191589   JUAN                GONZALEZ              TX     90009520291
21BB2181793727   CHRISTINA           SMITH                 OH     90013961817
21BB2312881637   JORJE               OLGUIN                MO     90012183128
21BB2481981637   JORJE               OLGUIN                MO     90014434819
21BB254115B571   FAITH               MONTOYA               NM     35027055411
21BB2838591833   TONI                GAINES                OK     90011288385
21BB2845A7B471   LUCIA               DE LA O               NC     90014408450
21BB341717B471   SHANTERIA FINCHER   ANTHONY BEACHEM       NC     90014824171
21BB3599987B59   ISIDORE             DANIELS               AR     23042495999
21BB378A27B449   TRACY               STEWART               NC     11092057802
21BB437A593773   HOLLY               ANDERSON              OH     90006333705
21BB468815B167   THOMAS              WILLIAMS              AR     90010466881
21BB4753A9189B   DECOTA              JACKSON               OK     90013507530
21BB4776347952   LEO                 HUNT                  AR     90013387763
21BB4953747952   LEO                 HUNT                  AR     90013399537
21BB495895B161   TELA                OWENS-GREEN           AR     90009889589
21BB554199155B   PAOLA               TREJO                 TX     90009705419
21BB565495B531   DOMINIC             TENA                  NM     90013536549
21BB5965751343   JESSICA             GENTRY                OH     90009179657
21BB6268272B88   KATHRYN             CLYMO                 CO     33013212682
21BB6352655941   APRIL               GONZALEZ              CA     90013063526
21BB671979189B   ANGELA              ABEL                  OK     21040777197
21BB6798691541   BLANCA E            MIRANDA               TX     75069607986
21BB6821831453   TENNILE             SANDERS               MO     90001688218
21BB695A47B699   BRITTNEY            CALDWELL              GA     15029409504
21BB698A55B161   CHERYL              FREEMAN               AR     23090619805
21BB7266487B87   CHRESHUNDA          MCGHEE                AR     90000142664
21BB7516191541   LORENA              MENDOZA               TX     90014695161
21BB756249184B   BRITTANY            ROOTHAME              OK     90006175624
21BB764587B471   BENJAMIN            DRAFFIN               NC     90010346458
21BB764715B531   ROSA                REGALADO              NM     90013536471
21BB7684A57157   ISRAEL              RIVAS                 VA     90015096840
21BB779435B167   LATRINA             GILL                  AR     90004837943
21BB79A3747952   GENEVIEVE           FISHER                AR     90007889037
21BB7A23341245   CARLOS              POVEDA                PA     90010460233
21BB824722B27B   ROELMER             RAMIREZ               DC     90009332472
21BB8324891583   GUILLERMO           HUERTA                TX     75003803248
21BB8326991528   RUBEN               SANCHEZ               TX     90006523269
21BB884417B699   NICOLAS             TORRES                GA     90002398441
21BB88A939189B   SUSAN               INGRAM                OK     21004088093
21BB893817B449   ORVON               DAVIS                 NC     11006859381
21BB8A98541245   ZACHARY             GRIFFIN               PA     90014230985
21BB9189647952   BRITTANY            FREEMAN               AR     90007341896
21BB9631287B21   KIMBERLY            COOK                  AR     28075116312
21BB966155B167   WILLIAM             WHITFIELD             AR     90014876615
21BB97A8291528   JORAE               MURRILLO              TX     75092147082
21BB9985891833   SHANNON             MCKELVAIN             OK     90003689858
21BB9AA9684364   ROY                 ALLEN                 SC     90013080096
21BBB16419184B   TRACEY              FLEMONS               OK     21068391641
21BBB224993752   LILLIANA            UGALDE                OH     90012272249
21BBB2A6557157   PASCHAL             NGOSONG               VA     90007352065
21BBB884943593   RAMON R             RODRIGUEZ             UT     90009118849
2211112464795B   RITA                INGRAM                AR     25059371246
22111533472B42   MICHEAL ANTHONY     CHERINO               CO     90013345334
2211164589189B   BRAT                LANDEN                OK     90013776458
22111935A81637   BRITTNEY            RICE                  MO     90011779350
2211283777B449   RENE                CONSECO               NC     90001468377
22112A83991881   KYLE                KING                  OK     90010500839
2211336714B588   LUIS                DELOERA               OK     90006353671
2211367575B167   QUINN               DOLES                 AR     90009686757
221136A2385938   KATRINA             GRUBBS                KY     67005986023
22113946587B87   TANDRA              MAGSBY                AR     90002939465
22114159272B88   NOELLE              RENOVA                CO     90011211592
2211474915B232   SAMNTHA             REEDER                KY     90011187491
22115472A2B27B   ANDREW              WILLIAMS              DC     90010894720
2211557355715B   WILSON              MORDRAGON             VA     90012075735
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22115899887B87   SERINTHIA     FRANKLIN                    AR     90014018998
22115A55287B59   BRYANT        JONES                       AR     90014170552
22115A6339794B   PROSPERITY    EZEANUNA                    TX     74017080633
2211629185B571   JENIFER       CAMACHO                     NM     35084242918
22116698687B59   EMMITT        KIRK                        AR     90011806986
221167A814B588   CHRISTINA     HURST                       OK     90010727081
22117193A8B168   MIKE          MAGINNIS                    UT     31090511930
22117451A91251   VADAIL        FONSECA                     GA     90013944510
22117571172B42   CAMERON       LEVIN                       CO     90012545711
2211783199184B   KYCEE         LANPOTTER                   OK     90015538319
2211832419189B   VERONICA      AGUILERA                    OK     90010743241
22118494A72B98   JOSE          RANGEL                      CO     90002434940
22119172A91241   DE VON        KEARSE                      GA     90014741720
2211921499189B   ROBYN         MCBEE                       OK     90001372149
221194A324795B   CHRIS         PEAVEY                      AR     90015174032
2211955845B571   JOHN          MONTANO                     NM     90014085584
22119842A84364   RUFUS         HARRIS                      SC     90010578420
2211985A75B232   MICHAEL       BARTON                      KY     68059918507
2211B84445B161   KENYA         HARRIS                      AR     90007658444
2212154974B588   SHARONDA      LITTLEJOHN                  OK     21567355497
22121925687B59   LESLIE        JAMES                       AR     90008039256
2212266A78B168   LAURA         MOOSMAN                     UT     31070016607
2212274A161985   NICOLAS       GOMEZ                       CA     90009457401
2212278279184B   JARED         FRANKS                      OK     90012947827
22122952972B98   JENNIFER      LOBATO                      CO     90002359529
22123A67387B87   SHEREE        WOODARD                     AR     23040750673
22123A8779136B   ALFONSO       DELGADO DIAZ                KS     90012800877
221242A7591541   CAROLINA      SOLANO                      TX     75039222075
2212481815715B   ROBERT        PAIGE                       VA     90012958181
22124838A72B98   DAVID         MARTINEZ                    CO     33014048380
22124A5A681637   PATRICIA      PARRA                       MO     29080220506
22125149472B88   JULIE         KAY                         CO     33075561494
2212535A34795B   ANTHONY       GEISER                      AR     25069433503
2212615A52B27B   KANIBONNON    TUO                         DC     90012021505
2212648A555957   MIRIAM        LOPEZ                       CA     48041554805
22126525776B52   FIDEL         ZUNIGA                      CA     90002545257
2212694139184B   CHAD          WISE                        OK     21081179413
2212696A191541   CECILIA       OLIVAS                      TX     90007979601
22127314472B84   TIMOTHY       BACA                        CO     90009493144
22127744A4795B   MARK          SPOR                        AR     25002927440
22127866572B42   GERRI         REVELS                      CO     90008878665
2212823164B588   LENNIE        HATHAWAY                    OK     90005442316
2212846965B161   TAMILKA       WILLIAMS                    AR     90006304696
2212927717B471   BENJAMIN      KROMAH                      NC     11033462771
2212929319155B   LOURDES       HERNANDEZ                   TX     75076502931
2212935839794B   ESAU          MEDRANO                     TX     90012803583
2212947285B139   LAKISHA       HAMMOND                     AR     90001174728
22129A98391541   YAZMIN        CORDERO                     TX     90010790983
2212B348591522   MARIA         GALINDO                     TX     90008173485
2212B473187B59   MARQUITA      CURRY                       AR     90014184731
2212B64125B571   ALMA          RAMOS-RODRIGUEZ             NM     90012306412
2212B845972B84   CHRISTOPHER   HERNANDEZ                   CO     90013358459
2212B859431453   SHASTA        GRAY                        MO     90013968594
2212B921981638   GEORGE        JOHNSON                     MO     29073359219
221313A5472B88   ISIS          TEHUTI                      CO     90014673054
2213171255B161   LATOYA        PICKENS                     AR     23069567125
2213226534B588   SOTORA        GUY                         OK     90010882653
2213226A99189B   KIMBERLY      PORTER                      OK     90008632609
22132336557B98   BRIAN         COURSURY                    PA     90013433365
221325A7591889   AWI           LIAN                        OK     90012945075
22132A7A872B88   VICTOR        BROOKS                      CO     90011070708
2213327AA91828   DONNA         BLUE                        OK     90007552700
2213351389155B   JESSICA       NIETO                       TX     90012335138
2213392317B471   GILLIAN       STOWE                       NC     90014649231
22133A38993773   ERIC          VOGANN                      OH     64514810389
2213419869136B   NAYELI        REYES                       KS     90013871986
2213445259794B   BYRON         LOPEZ                       TX     90014884525
221344A6572B88   HEATHER       M MORGAN                    CO     33097844065
2213487815B271   FRANKIE       SHOCKEY                     KY     90015158781
2213549845B571   NICOLAS       MARTINEZ                    NM     90014614984
2213696994795B   LAURA         BARELA                      AR     25013259699
22136A38993773   ERIC          VOGANN                      OH     64514810389
22137529372B84   ABEL          DOMINGUEZ                   CO     33088885293
2213753487B449   FREDY         MARTINEZ-ZALDIVAR           NC     90011475348
2213826794B942   JASMIN        ROLLINS                     TX     90005262679
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221385A275B571   KARLA         MELINI                      NM     90014615027
22138626472B84   GERARD        GONZALES                    CO     90011246264
22138859272B88   TASHANA       WALKER                      CO     33088188592
221391A125B232   SEAN          DUNN                        KY     68062161012
2213924A772B88   LUIS          VALERIO                     CO     90005162407
22139551A7B471   ISORA         RODRIGUEZ                   NC     90011225510
22139744887B87   DEMETRIC      WALKER                      AR     90012997448
2213999215B271   CHERYL        JENKINS                     KY     68057899921
2213B51A14B588   EMMANUEL      SINZOYIKENGERA              OK     21584695101
2213B57515B271   CATINA        COLE                        KY     90010205751
2213B782961939   CHRISTIAN     CHEE                        CA     90011497829
2213BA27285938   TANDA         LYDIE                       KY     67064960272
22141114372B42   ELIZABETH     GUZMAN                      CO     33086351143
2214154459136B   MAXIMILIANO   ROSALES                     KS     90002215445
22141A1735715B   QUETISHA      HENDERSON                   VA     90004730173
221422A2831631   MIRIAM        BELTRAN                     KS     90010572028
2214269729189B   ALLISON       SCHROEDER                   OK     21090036972
22142947972B98   BERTHA        SIMENTAL                    CO     33055799479
22142A15491828   JAMES         MARSHALL                    OK     90007540154
221441A529189B   MARCUS        MARLIY                      OK     90008861052
22144621172B84   ALEX          SCHEETER                    CO     90011246211
2214471959136B   GAYLA         TAYLOR                      KS     29031337195
2214494319184B   PRECIOUS      LUCAS                       OK     21006959431
22144A5184B588   DELIA         GRAMAJO                     OK     90012650518
2214514379794B   PATRICIA      AUSTIN                      TX     90005361437
22145258A5715B   YENSI         FLORES                      VA     90012122580
2214567139189B   DORA          ESTRADA                     OK     90011496713
2214627715715B   MICHAEL       ALEXANDER                   VA     90008912771
2214631267B471   TRINA         WHITE                       NC     11000943126
2214676415B254   DARLENE       HOPKINS                     KY     90009857641
22146A63531453   SEAN          BAILEY                      MO     90012700635
2214713269189B   KEMA          BELCHER                     OK     21008151326
221472AA24B588   HEATHER       HENDRICK                    OK     90010122002
2214734955B232   STEVEN        ADWELL                      KY     90000763495
2214763729794B   KEVIN         DECHARINTE                  TX     90014376372
2214791A24B261   WILLIAM       OHARA                       IA     90006809102
22147962672B88   DOUGLAS       DALE                        CO     90010299626
22147A4882B27B   ANISHA        BLAND                       DC     90014520488
221482A1472B84   IVIS          DONAIRE                     CO     90004332014
22148556A7B471   SAANY         AVILA                       NC     90011225560
22148998887B87   JOHN          BRANCH                      AR     90013429988
2214915A99155B   CHAZ          RODRIGUEZ                   TX     90011871509
2214921699184B   KENNETH       STANLEY                     OK     90008962169
22149286672B98   SERGIO        MENDEZ                      CO     33070432866
2214988954B588   FELICIA       JACKSON                     OK     21556168895
22149A9179189B   JOSHUA        WILLIAMS                    OK     90010870917
2214B354931448   SEVERIO       NAPOLITANO                  MO     90012263549
2214B354931473   SEVERIO       NAPOLITANO                  MO     90012263549
2214B49715715B   ROSALI        GIRON                       VA     81034774971
2214B85422B232   GARY          FRYE                        DC     90003858542
2214B935831453   ISIAH         POE                         MO     90013969358
2214B972A72B88   AKEEN         OBYNT                       CO     90010299720
2214BA38487B59   KENNETH       PAYNE                       AR     90010980384
2214BA7265B28B   EDWARD        WARREN                      KY     90010640726
22151277A91251   DIANDRIA      WALKER                      GA     90011302770
2215132618593B   KEN           COLE                        KY     90005693261
2215152A291541   CESAR         MARTINEZ                    TX     90012315202
2215196A55715B   GLENDA        ROMERO RAMOS                VA     90011909605
22151A6714B588   KERI          ETHERIDGE                   OK     21508790671
2215229589136B   CARLOS        NAVA                        KS     90007652958
22152478A5B161   KEISHA        LIGHTFOOT                   AR     90014854780
2215365625B232   ANGEL         CARBAJAL                    KY     90008716562
2215462A485938   MOLLY         HERNANDEZ                   KY     90010136204
221551A6387B87   LEE           WESLEY                      AR     90015131063
2215546179794B   IVAN          PINA                        TX     90014894617
2215571984B57B   HOLLAND       VANDENNIEUWENHOF            OK     90008387198
2215651389155B   JESSICA       NIETO                       TX     90012335138
2215661A291251   JOZAIRA       WYATT                       GA     90014566102
22156824472B42   MARICELA      HERNANDEZ                   CO     33046468244
221573A1447952   MARK S        MENDENHALL                  AR     90000663014
2215747394B588   REFUGIO       RODRIGUEZ                   OK     90010064739
22157772A72B88   MARGARITA     ALEMAN                      CO     90014607720
2215841A576B4B   SALVADOR      LOPEZ                       CA     90002344105
221585A849136B   JAMES         THOMAS                      KS     90014145084
22159248272B84   TREVOR        FREEL                       CO     90013742482
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22159A3117B471   RENE             RENDEROS                 NC     11011760311
22159AA145B271   JOSE             QUINTANILLA              KY     90010690014
2215B49627B274   TARRAH           SPANDRIO                 CO     90015044962
2215B525A5B271   ASHLEY           RICHARDSON               KY     90011885250
2215B62A485938   MOLLY            HERNANDEZ                KY     90010136204
2215B77A372B88   ALANA            THOMAS-GARCIA            CO     90013067703
2215B98279189B   SARAH            CANADA                   OK     90009809827
2215B9A778B168   NIELSEN          CRYSTAL                  UT     31004389077
2215BA21A91828   LAKISHA          MILLER                   OK     21097360210
22161463A91522   GRACIELA         CERVANTES                TX     75088244630
22161466387B87   TIMOTHY          WISE                     AR     90013384663
221616AAA55936   ELEAZAR          RODRIGUEZ                CA     48041116000
2216181589136B   LUZ              NAVARRETTE-TRVIZO        KS     29092868158
2216261815B571   FRANCISCO        GARCIA                   NM     35075956181
22162A39291528   JIMMY            NICHOLS                  TX     90006620392
2216337A381637   RUFIN            DIATTA                   MO     90011783703
22164A2A384364   DAYAMI           MCCANTS                  SC     90010750203
2216569A391522   KATIE AND COLE   FORD                     TX     90013746903
2216664339794B   MODESTO          RODRIGUEZ                TX     90014376433
221666AA18B17B   ERICA            TRUJILLO                 UT     90010156001
2216676A99184B   SIERRA           MUNSON                   OK     21010497609
2216688865B232   CAMILLE          DERAMUS                  KY     90009188886
22166949A72B84   JEANINE          CADY                     CO     90014309490
22166984272B88   ATIN             GARG                     CO     90010299842
2216711A95B161   LUIS             SILVA                    AR     90014911109
22167156A5B571   JEFF             HEMMING                  NM     35093511560
2216745859184B   SHANIQUA         FRAZIER                  OK     90011864585
2216747249155B   ALEJANDRA        SANCHEZ                  TX     90012294724
2216768235B271   JESSICA          PARKER                   KY     90005476823
2216865795B232   TRINITA          THOMAS                   KY     90015126579
22168778572B88   APOLINAR         REYES                    CO     90013067785
22168867487B87   SHANETTA         LWELLS                   AR     90015588674
2216971479184B   MICHAEL          DRAIN                    OK     21008947147
22169778572B88   APOLINAR         REYES                    CO     90013067785
2216999294B588   JOSHUA           WELCH                    OK     90009469929
22169A1A491828   JUAN             RAMIREZ                  OK     21001390104
2216B56469155B   ISMAEL           VASQUEZ                  TX     90003705646
2216B71559189B   NANCY            NOVELLA                  OK     90015107155
2216B865487B59   NATASHA          NELSON                   AR     90014198654
2216B971331453   JEREMIAH         THURMAN                  MO     90013969713
2216BA48572B42   RIGOBERTO        VERAGARA                 CO     33020060485
2217118869794B   STEPHANIE        FRANCO                   TX     90008091886
22173424A5B232   JACOB            DEUTSCH                  KY     90012444240
2217347A785946   SHEILA           SKIPPER                  KY     90006014707
2217383688B17B   MERCEDES         PARENTE                  UT     31084428368
221741A384B281   EVERARDO         GOMEZ                    NE     90013501038
22174599872B88   DAZHONNA         WALTAN                   CO     33001355998
221745A354795B   PATRICIA         STOUT                    AR     90008705035
22174A1A15B271   RASID            MUSIC                    KY     68040560101
2217527179794B   KAREN            LAWRENCE                 TX     90014162717
22175521287B87   JANISSA          DOLSU                    AR     90015345212
22175853A72B84   ROBERT           JACOBSON                 CO     90014518530
2217587A952B31   BENJAMIN         MARTINEZ                 NM     34006268709
22175939A9189B   LILLIE           CALDWELL                 OK     90014569390
22177457372B88   MARIO            CHAVEZ                   CO     90001274573
2217749275B531   ERNEST           GOMEZ                    NM     35097014927
22177644487B87   DOVIE            BURL                     AR     23054526444
2217767465B161   DONALD           FLOYD                    AR     23011236746
22177949572B42   GAYLE            SCHEIHING                CO     33024949495
22177A9129155B   JOSE             QUINONES                 TX     90010010912
22177A94A5B571   DESIREE          DURAN                    NM     90009960940
2217848847B334   JORGE            FUENTE                   VA     90002634884
2217861157B471   DANIELLE         BYRNES                   SC     11067646115
2217889A95B571   CHRISTINA        MONTOYA                  NM     90002698909
22179574A87B87   MALLORY          FLUKER                   AR     23045945740
2217958A741245   ANDREW           MARINACCI                PA     51094825807
2217966A69794B   AUDREY           FLOWERS                  TX     90008266606
2217989339155B   LUIS             GARCIA                   TX     75045978933
2217B31875B571   SCOTT            CONWAY                   NM     90015183187
2217B343391251   JESSICA          IVEY                     GA     90015083433
2217B563A5B35B   DONNA            NEWBERRY                 OR     90000665630
2217B57819184B   ROBERT           MILLION                  OK     21034225781
2217B779372B88   DERRIN           WILLIAMS                 CO     90013067793
22181431A81637   CARLOS           ROSA                     MO     90000274310
2218151389155B   JESSICA          NIETO                    TX     90012335138
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22181725A72B88   EARL            BOLIN                     CO     90008137250
2218197A747952   MARIA           LOPEZ                     AR     24032009707
22182213A31631   REBECCA         BIDWELL                   KS     22054122130
221826A2972B84   ROBLES          FRANCISCO                 CO     33015356029
22182734A98B72   JESUS           PINEDA                    NC     90008127340
22183479836B4B   BERTHA          LOPEZ                     WA     90015604798
22183962872B88   MOLLY           TRUJILLO                  CO     90013119628
22183A42247952   STEVEN          GONZALEZ                  AR     24030890422
2218476479794B   JIMMY ELISEO    PEREZ GARCIA              TX     90014417647
22184A72A7B449   MERCED          MORALES                   NC     11009860720
22184A95A72B84   RAFAEL          VICTORIO                  CO     90010770950
2218538489184B   ROVON           ALEXANDER                 OK     90005193848
22186155787B87   CARMEN          JONES                     AR     23014631557
221867A5891541   ALEJANDRA       ACOSTA                    TX     90013357058
2218692A22B27B   TYREKE          FARMER                    DC     90009029202
22187A1868B17B   JAIME           ESTUARDO                  UT     31073830186
2218811855B571   KAREN           BACA                      NM     35063431185
22188151A85938   PERRY           JORDAN                    KY     90014651510
22188977A41245   MARY            SZYMANSKI                 PA     90008009770
2218B6A7591522   ENRIQUE A       OCANA                     TX     75088216075
2218B8A4791828   JENNIFER        LANNING                   OK     90001288047
22191397A4B251   GABRIELLE       MILLER                    IA     90004633970
2219176915715B   ADA             RAMOS                     VA     81034787691
22192385572B88   GATRELL         COLLEEN                   CO     90011283855
2219251379189B   VEDA            MASON                     OK     21003815137
2219276987B471   WONDA           HAIRSTON                  NC     90010437698
22192A49631453   ALEXACE         HARDEN                    MO     90013970496
22192A77547952   JIMMY           HENRY                     AR     90013720775
2219346475715B   MARIATU         FONTI                     VA     90012404647
221934A385B161   ALYSSIA         JACKSON                   AR     90013314038
221936A752B27B   GREG            SNIPE                     DC     90015016075
2219428A631453   CARL            TURNER                    MO     27566262806
2219488442B27B   CYNTHIA         LEE                       DC     81084898844
2219529834B588   SHANTELLE       JAKE                      OK     90014352983
2219544815B271   MERIN           MCDONALD                  KY     90014724481
22195A49631453   ALEXACE         HARDEN                    MO     90013970496
2219665645B161   SHARECA         TYSON                     AR     90014046564
22196A9425B161   KAREN           PENNINGTON                AR     90014910942
22196A9527249B   TIFFANY         MCKEAN                    PA     90011100952
2219716A991241   CHRISTINE       STALLMAN                  GA     90013231609
2219742835B571   ARMANDO         HERRERA                   NM     90013414283
22197529A91528   MAHELY          MASIEL                    TX     90003405290
221976A1755957   ILIANA          ALVAREZ                   CA     90013826017
2219793A781661   JAMES           MILLER                    MO     90013119307
22198327472B84   MATTHEW         MARTINEZ                  CO     90012503274
2219846997B471   JOSE            ARNALDO                   NC     90008034699
2219847992B27B   EBONY           GODDARD                   DC     90011354799
22198667A9189B   NICOLE          JOHNSON                   OK     21059306670
22198727272B84   TIFFANY         DURAN                     CO     33003617272
22198819372B88   STEPHANIE       CONNOLLY                  CO     33084068193
2219889A584364   KEITH           RAPP                      SC     19057158905
2219965465B271   LONNIE          DIVINE                    KY     90006036546
2219971A97B449   BARTETTE        DAVIS                     NC     11033277109
221997A249136B   TIM             GULLEY                    KS     29011097024
22199961A51365   MIRANDA         SARY                      OH     90007729610
2219B214585938   ELI             AGUILAR                   KY     90009002145
2219B45357B471   JUSTIN          PERRY                     NC     90014034535
2219B676772B98   MARIA           SOTO                      CO     33072336767
2219B83149155B   AUDREY          MASON                     TX     90011708314
221B1174731631   BRANDEY         BUETEL                    KS     90013331747
221B1221A5B33B   GLORIA SALOME   GOMEZ VERA                OR     90013882210
221B1366831453   GIOVANNA        POWELL                    MO     90007383668
221B153269189B   ALTON           JUSTICE                   OK     90006585326
221B159765B232   RACHEL          KIESLER                   KY     90014865976
221B1998391541   CESAR           SISKA                     TX     90003579983
221B232364B281   BILL            CLABORN                   NE     27087103236
221B288657B449   KELLY           MICHELLE LEE              NC     90002708865
221B2936755957   ALFONSO         GARCIA                    CA     48078639367
221B2A3535B161   CHASITY         WILLIAMSON                AR     90013760353
221B325119155B   MICHELLE        AMAYA                     TX     90014642511
221B361415B271   SAMANTHA        SHEBLE                    KY     90009706141
221B3948147952   ELIZABETH       LINCKS                    AR     24000149481
221B3A14872B84   CHRISTINA       HUNT                      CO     90014440148
221B438A131453   SERGIO          BARRAZA                   MO     90015263801
221B4A4359794B   EDDIE           MARTINEZ                  TX     90011150435
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221B542445B232   DOUG             WILLIAMS                 KY     90012474244
221B5722581661   RHONDA           SIMS                     MO     29055227225
221B589359184B   LAWRENCE         HARRIS                   OK     90007128935
221B6338141245   AMY              ELY                      PA     51010133381
221B646699184B   JOHN             TURNER                   OK     90010404669
221B6594291522   PATRICIA         GONZALES                 TX     75078445942
221B692489189B   JUAN             VALENCIA                 OK     90013409248
221B696524B588   MARJAN           SATARY FAR               OK     90014489652
221B6A63972B42   AMANDA           MACIAS                   CO     90011870639
221B7214293757   DAVID            DOLLE                    OH     64541832142
221B7331124B55   DOMINQUE         DICKERSON                DC     81097593311
221B7611393762   KARA             MILLER                   OH     90012536113
221B781515B271   JAMES            CONNOR                   KY     68025468151
221B821524B261   KIMBERLY         JOHNSON                  NE     27084422152
221B83A2191241   RONSENA          RHEA                     GA     90015033021
221B8769291326   MARTIN           BOYDA                    KS     29096587692
221B8839A5598B   ISIDRO           BARETO                   CA     90000648390
221B895135B161   TYWON            ROUSE                    AR     90007429513
221B933525B571   ROSA             PADILLIA                 NM     90006203352
221B9353855957   SERGIO           NOLASCO                  CA     90011963538
221B9429191522   JAZMIN           PARRA GUILLEN            TX     90014374291
221B952A391241   TYANTHONY        BROWN                    SC     90000585203
221B957199189B   NICHOLE          FEWLL                    OK     90014915719
221B9877372B88   ERIC             RYAN                     CO     33014108773
221B988847B449   MICHAEL          MILLS                    NC     11097758884
221B989735B271   RACHELLE         SMITH                    KY     90014258973
221BB838491541   MAYRA            RAMOS                    TX     90009748384
2221157A47B471   LAMAR            ALEXANDER                NC     90015105704
222116A379136B   ERIKA            SIMON                    KS     29078846037
22211A39791251   VASILIO          MARCOS                   GA     90012700397
2221251855B161   COREY            BARNES                   AR     90011015185
22212626A4B588   TIMOTHY          CRITTENDEN               OK     90012746260
222132AA49794B   NADIA            GALVAN                   TX     90014972004
2221362684B261   MAGGIE           MORALES                  IA     27005926268
222136AA29184B   CHAD             STEPHENS                 OK     21082656002
2221398673B39B   GARY             COOK                     CO     33084639867
2221465254795B   BRANDI           MILLER                   AR     90013116525
222146A8572B88   SERGIO           PARRA                    CO     90004946085
2221539517B422   SAMARA E         EPPS                     NC     90008083951
2221634845B531   KRISTI           DRAKE                    NM     90007863484
2221636A391522   KARINA           ALVARADO                 TX     90013433603
2221653945715B   BONNIE           FRY                      VA     90014125394
22216925A4B588   MARIA            VERA                     OK     90009419250
222172AAA4B588   ROBERT           WHITE                    OK     90004002000
2221738A99189B   VINCENT          WEBB                     OK     90008633809
22217514972B42   JULIA            ROSALES                  CO     90005635149
2221756299794B   LUCIA            TUMAX                    TX     74016535629
22217797272B25   LISA             ALLEN                    CO     90014227972
2221799A891251   TAMARA           SMITH                    GA     90014979908
2221838359794B   ABIGAIL          VASQUEZ                  TX     90012473835
222185A5A9189B   RAYNA            RODRIGUEZ                OK     90014065050
22218A33451369   CECILIA          TREJO                    OH     66056490334
2221921247B43B   CARLOS           REYES                    NC     90001572124
22219258A72B84   MIGUEL           MEDINA                   CO     33090952580
22219478A5B161   KEISHA           LIGHTFOOT                AR     90014854780
2221B34845B271   TONY             WHITFIELD                KY     90014833484
2221B424191828   SHANEICE         WILLIAMS                 OK     21044814241
2221B56689794B   COURTNEY         HARNSBERRY               TX     90014855668
222211A614B588   RICHARED         PIGG                     OK     21597011061
2222168A77B471   ROBERT           GALIMI                   NC     11071826807
22221825272B42   DENE             ROMERO                   CO     33086998252
22221A7799184B   IRMA             RAMIREZ                  OK     90015230779
2222221A75715B   HILDA            PAZ                      VA     81078622107
22222522787B87   LARRY            WARD                     AR     23092445227
2222259849155B   SANCHEZ          BRENDAA                  TX     90012965984
2222359787B471   YAMILETH         MAYA                     NC     90011225978
222238A414B588   DIONNE           JOHNSON                  OK     90011958041
22223A48241245   JAMES            CARNPROBST               PA     51019700482
2222436349189B   KAYLYN           ONHAIL                   OK     90010333634
2222539525B232   ROBERT           HIGGASON                 KY     90014753952
222253A655B167   MURPHY           GOODLY                   AR     90005843065
2222562445B271   REBECCA          PIKE                     KY     90007746244
22225A6A29136B   DANIEL ANTONIO   TRUJILLO PEREZ           KS     90014060602
222261A779189B   JOSHUA           SOLIS                    OK     21045521077
2222646632B232   MARCILLINA       EMENYONU                 DC     90003864663
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22226734A31453   MICHAEL       BROWN                       MO     90014037340
2222674295B255   CHARNITA      NOBLE                       KY     90008067429
22226A71672B88   CESAR         PEREZ                       CO     90011560716
22226A7435715B   RAMATU        SESAY                       VA     81033880743
2222748215B571   REBECCA       COLE                        NM     35033494821
2222751A455957   EBONY         DOUGLAS                     CA     90010945104
22227885172B84   MICHAEL       MCBRIDE                     CO     33049898851
22227A1419136B   GILBERTO      GUERRERO                    KS     90009860141
2222811789136B   ARACELI       JURADO                      KS     29082551178
22228531A91522   CAROLINA      GONZALEZ                    TX     90006415310
222289A1191241   TARSHA        EDWARDS                     GA     14502789011
2222934495B271   JAMES         CHARLTON                    KY     90014853449
22229353187B87   TOMEKIA       MOORE                       AR     90009843531
2222939244B588   CHANDRA       REEVES                      OK     21556073924
222296A925B571   DIEGO         GONZALES                    NM     90011236092
22229986172B42   ANTONIO       SOLIS                       CO     90010689861
22229A55684364   NICKAI        ELDRIDGE                    SC     90009860556
2223143264B58B   RACHAEL       HOWARD                      OK     90011304326
22231535787B59   DEBRANIKA     WOODS                       AR     23062035357
2223168A591828   VANESSA       STEVENSON                   OK     90013526805
2223315148B184   DOREEN        BALDINO                     UT     31057301514
22233162A5B571   JASON         CHAVEZ                      NM     90012981620
2223327259794B   LUIS          VELASQUEZ                   TX     90011282725
2223338759136B   SABITA        BISWA                       KS     90015283875
2223351534B281   TAMMY         REED                        NE     90002085153
2223361385B571   CHRISTOPHER   BARELA                      NM     90011236138
2223364199136B   MICHAEL       KIRKHAM                     KS     90013216419
22233843672B61   YVETTE        VIGIL                       CO     90015288436
222338A9591522   ZONIA         ROMAN                       TX     90014348095
222341A434B281   BRADLEY       CHRISTIAN                   NE     90010431043
2223425A85B271   TERESA        BALENGER                    KY     90014842508
2223433299136B   NICOLE        WILLIAMS                    KS     90009043329
22234356872B42   DALTYNN       MARTIN                      CO     90009443568
2223463689794B   EDEN          HERNANDEZ                   TX     90013836368
22234738572B88   VALERIE       TRUJILLO                    CO     90003837385
22234773887B87   VICTOR        BRICENO                     AR     90015507738
22234A1AA72B84   DEBRA         BERUMEN                     CO     33095380100
2223635A491541   CINDY         AVILA                       TX     90010993504
2223751635B232   RHONDA        JACAVINO                    KY     90014425163
2223769789184B   PRESTON       LESTER                      OK     90003456978
222378A9831453   RICHARD       UNDERWOOD                   MO     90008838098
2223853A185938   JESSICA       JUSTICE                     KY     90014655301
22238645A72B98   CHRISTOPHER   DAY                         CO     90007466450
2223911A95B232   ERIC          PEREZ                       KY     90004611109
2223951449155B   DIAMOND       HERNANDEZ                   TX     90006725144
22239658A9184B   GERARDO       CORDOVA                     OK     90014166580
2223B12658B184   LAURIN        LOWRY                       UT     90014521265
2223B56A49184B   JONATHAN      PATRICK                     OK     90013385604
2223B76A187B59   MARANDA       ALFORD                      AR     90008717601
2223B84A15B271   RHONDA        MARCUM                      KY     68058028401
2224129545B161   JOHNSON       CHAPMAN                     AR     90011362954
22241788987B59   RUTHIE        PHILLIPS                    AR     90014217889
2224234AA51369   DANIEL        WHITAKER                    OH     90014823400
2224295779155B   JACQUELIN     TORRES                      TX     90011709577
2224347499136B   MARCELO       HERNANDEZ                   KS     90014594749
2224351A55715B   LUIS          GONZALEZ                    VA     90010385105
22243565672B42   BRITTANY      STOPPER                     CO     33034655656
222436A725B571   MARIA         MENDOZA                     NM     35055246072
2224376684B588   JORGE         FUENTES                     OK     90008707668
22243794A91522   ZUIKA         ROSSELT                     TX     90010667940
22243A26A2B27B   LATOYA        WILLIAMS                    DC     81052650260
2224431274B588   LEON          HALL                        OK     90009683127
2224438A55B571   ALEJANDRA     MARTINEZ                    NM     90008673805
2224496539155B   HARLEY        COTY                        TX     90011709653
22245864A91241   KRISTA        DOLL                        GA     90012198640
2224677517249B   BONNIE        RASCHIATORE                 PA     51026937751
22246832787B88   CODY          OLDHAM                      AR     28013608327
2224765A69155B   ALFREDO       TOVAR                       NM     90012816506
2224774AA47952   MARQUISIANA   JONES                       AR     90013087400
2224814149189B   CHRISTINA     MATTALIANO                  OK     21018511414
2224832429184B   CHRISTOPHER   JHONSON                     OK     90012603242
22248376387B87   LAWANDA       MCCOY                       AR     90011943763
22248823A91528   JORGE         HERNANDEZ                   TX     75092858230
2224897184B261   STACY         ROBINSON                    NE     27032669718
222491A919155B   RODRIGO       CHAVIRA                     TX     75040781091
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2224966575B232   BRIDGET         RICHARDSON                KY     90015126657
2224B46A472B84   CYNTHIA         AMMONS                    CO     33080354604
2224B565631426   MICHELLE        CUNNINGHAM                MO     90014885656
2224B65A69155B   ALFREDO         TOVAR                     NM     90012816506
2224B66879136B   DORIAN          ENRIQUEZ                  KS     90012146687
2224B6A737B471   ANTINETTE       CALDWELL                  NC     90011226073
2224B83A781661   BARBARA         HULSE                     MO     29008278307
2225197595B271   JOHN            DRAKE                     KY     90014359759
22252A34491241   HAROLD          FIELDS                    GA     90012880344
2225332265B161   SHANNON         SYKES                     AR     90013873226
2225341579155B   NOE             ALMODOVAR                 TX     90014644157
2225384237B471   MICHAEL DARON   HEGLAR                    NC     90014898423
222543A9155957   VICENET         PENA                      CA     48095753091
22254829572B88   MARIA           NOLASCO                   CO     33071578295
2225487515B161   ALICIA          MEZA                      AR     90012478751
22255459372B84   ROBERT          ESPINOZA                  CO     33064764593
22255676172B88   WAYNE           SANCHEZ                   CO     33048576761
2225591194B541   DONNA           WYATT                     OK     90010619119
22256262472B88   KYLE            LOPATOWSKI                CO     90013082624
2225641752B27B   ROBERT          ADAMS                     VA     90007224175
22257414772B42   CRAIG           SWANBERG                  CO     33083034147
2225769789184B   PRESTON         LESTER                    OK     90003456978
222578A2772B88   DENISE          KIDDER                    CO     90004228027
22258482A81661   JUAN            MENDEZ                    MO     90008524820
22258636372B42   ANTHONY         DANIEL                    CO     90011416363
222588A5581637   MERCEDES        MOSCHELL                  MO     90011788055
22258AA9991828   MONICA          ORTIZ                     OK     90009810099
22259454A5B271   ASHLEY          FORD                      KY     90013974540
2225994A65715B   GEORGE          R ALTMAN                  VA     90010879406
2225B34169189B   CHARLENE        SHELTON                   OK     90009043416
2225B72774B588   BETTY           STUMAN                    OK     21574277277
2225B83659136B   YURIDA          LEDEZMA                   KS     90014828365
2225B858A91541   CYNTHIA         LOPEZ                     TX     90005008580
2225B932184364   SHAMIR          PEAKS                     SC     19005979321
2226118375B232   TAMARA          TOWNES                    KY     68086931837
2226145169794B   MARCELO         TOC                       TX     90014434516
222614A5751369   TYLIN           ROSSER                    OH     90003334057
2226184A353983   JESSICA         MILLS                     OK     90008938403
2226266A287B87   PHILIPPE        SCARVER                   AR     23066556602
22262A49647952   WADE            CHRONISTER                AR     90012410496
2226467815B531   AZUCENA         PETRIE                    NM     90006526781
22265135287B59   MARY            BREWER                    AR     90014221352
22265166872B88   DOMINIKA        KAMINSKA                  CO     33086391668
22265312A91241   ANTWON          JOHNSON                   GA     90015103120
2226542397B471   GUADALUPE       GONZALEZ                  NC     90014854239
2226542849189B   DORRIES         MACK                      OK     90014704284
2226543845B531   ANGEL           MARTINEZ                  NM     90000364384
2226573A531631   ANGELA          STAFFORD                  KS     90014247305
22268624A4B588   APRIL           TURNER                    OK     90008446240
2226882842B839   JASON           KOROM                     ID     90003968284
222692A999136B   ANCELMA         VILLAVICENCIO             MO     90006712099
2226933819794B   DONALD          GILBERT                   TX     90014893381
2226937A14B588   TRACY           ABELL                     OK     21576553701
22269A7A391251   MARGARET        HILL                      GA     14556760703
2226B24887B471   FELIX           MARTINEZ SOTO             NC     11010272488
2226B677791241   CHRISTOPHER     PETYS                     GA     90013946777
2226BA17A74B54   SYDNEY          DANNER                    OH     90014230170
2226BA96187B59   GWENDOLYN       NELSON                    AR     23056070961
2227191325B271   ASHLEY          WAGNER                    KY     90014779132
22271958587B59   SYLVIA          GRADY                     AR     23032189585
22271A5469155B   FILIBERTO       HERNANDEZ                 TX     75026340546
22272147772B42   MARIA           JOHNSON                   CO     90015031477
2227228445B571   SANDRA          ULIBARRI                  NM     90012022844
2227284545715B   ROSSY           GARCIA                    VA     90011068454
2227292415715B   RUTH            CORDON                    VA     90013009241
22273389572B84   LAWRENCE        BUENO                     CO     90012873895
2227369465715B   JOSE            RAMOS                     VA     81035506946
22273A9A555957   LUIS            MEDINA                    CA     48011140905
22274AA1A85938   TONYA           WILLHOITE                 KY     90014660010
2227592845B571   JARED           CURRY                     NM     35045749284
22275A2582B27B   RICARDO         HERRERA                   DC     81039130258
22275A5574B588   TAMEKA          RODGERS                   OK     90014190557
2227633649155B   JUAN            MORENO                    TX     90014593364
2227648345B232   AMANDA          TRUJILLO                  KY     90003734834
2227654A472B42   VERONICA        ZANTELLO                  CO     33096105404
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22277446A5B571   JUAN RAMON         HERNANDEZ              NM     35000814460
2227767262B27B   IKIA               MARCE                  DC     90010896726
22277674872B84   FELIPE             AGUINAGA QUIONES       CO     90011246748
22277A5AA4B281   TIMM               BADGETT                NE     90002280500
2227856757B471   CANDELARIO         BAEZA JOACHIN          NC     90013195675
222788A5972B44   PAULA              OTTO                   CO     90010488059
22278A1114B588   DUWAYNE            TAYLOR                 OK     90003470111
22278A45387B87   ELVIS              HERNANDEZ              AR     23044560453
2227946777B471   MARLON FERRUFINO   REYES                  NC     90014034677
2227952A974B79   VERYL              LONG                   PA     51034205209
22279A55881661   MARIE              FRANCOIS               MO     29034550558
2227B218931631   JACOB              KEMP                   KS     90014252189
2227B364585938   ANAHI              NAVARRETE              KY     90010743645
2227B822555957   ESTEFANI           FRIAS                  CA     90013078225
2228162369794B   MARCELA            ALFARO                 TX     90015006236
22281A87687B87   RICHARD            WILLIAMS               AR     23019610876
22281A97172B42   PHILL              SIMON                  CO     90003730971
2228233649155B   JUAN               MORENO                 TX     90014593364
2228253855B531   ANITA              ESQUIBEL               NM     35059125385
2228257A79184B   YUVONNA            HEMPERLEY              OK     90012345707
2228269174B588   MATTHEW            TREASTER               OK     21556006917
2228336469189B   TOMMY              MODLIN                 OK     90010963646
2228349A741245   SHARON             TINSLEY                PA     51011314907
2228381AA72B88   DOMITILA           VERA                   CO     90013068100
22283A98855957   DAVID              ORTIZ                  CA     90011450988
222844A9A5B571   MIRIAM             CASTILLO               NM     90005044090
2228533884B588   MARIA              PEDROZA                OK     90011123388
2228543957B449   TAREICA            MOORE                  NC     90014854395
22285A5822B27B   DONA               SKRINE                 DC     90014810582
2228622474795B   MAGNA              ESCALANTE              AR     25024722247
2228668469155B   CARLOS             DELGADILLO             NM     90005916846
2228722829189B   MICHELLE           COLE                   OK     90008462282
222875AA19136B   KATHLEEN           PAZ AGUILAR            KS     29012135001
2228784285B571   ROZ                BRIDGER                NM     90012458428
2228844112B927   RAMI               RAZOQI                 CA     90009514411
2228856979794B   JERIMIE            PINTER                 TX     90014945697
22288811672B88   SELENA             GURULE                 CO     90013068116
2228939A431631   ADRIANE            RADER                  KS     22081943904
22289542387B21   DAVIDA             HUFFSTUTLER            AR     90014695423
2228974A487B21   DAVIDA             HUFFSTUTLER            AR     28065317404
22289878772B84   PETER              DOYLE                  CO     33095328787
2228B16A991241   CHRISTINE          STALLMAN               GA     90013231609
2228B194993773   ANN                ROBERTS                OH     64504381949
2228B428391541   MICHAEL            MAVES                  TX     90015154283
2228B47869189B   VALERIE            TYSON                  OK     90006664786
2228BA34291251   NERY               PEREZ-NAJERA           GA     90007900342
2229163239184B   RANDI              DELAO                  OK     21066626323
22291821872B84   NOEL               LIBBY                  CO     90012648218
2229193924B261   RENE               VALENCIA               NE     90007579392
222925A489155B   NORMA              RIMPEL                 TX     90003865048
2229269A65B161   KEN                ELLIOTT                AR     90012506906
2229286959794B   JOSE               SEGUNDO                TX     74017458695
22292A9A281661   HECTOR             VALTIERRA              MO     90012340902
2229311294B261   JOSEP              HOPPER                 IA     90015001129
222934A224B251   DONNA              NEIL-LIPSCOMB          NE     27077554022
2229371A655957   EDWARD             CORDEIRO JR            CA     48089397106
2229379958B168   JOHN ELENO         RAMOS                  UT     90000967995
22293A68A5B161   HEATHER            BLACKWELL              AR     90010800680
222944A689136B   THERESA            MCGEE                  KS     90015164068
2229453189189B   SAMMIE             YOUNG                  OK     90013015318
22294A73972B84   ROGELIO            VEGA                   CO     90010840739
2229558275B232   KENNETH            SQUIRES                KY     90012935827
222956A275B571   BETSY              TORRES                 NM     35055256027
2229617994B581   GUADALUPE          PINON                  OK     90009691799
2229637465B226   PAULA              MITCHELL               KY     68042513746
22296917687B59   BETTY              SYKES                  AR     90008599176
22296A9154B261   EDEMIAS            ANLEU                  NE     90012270915
22296A9A49794B   IKPOTO             UDOH                   TX     74010720904
2229712619184B   GARY               HUDSON                 OK     90015221261
2229731539155B   RAUL               ESTRADA                TX     90012983153
2229878675B571   MARIO              OGALDEZ                NM     90010547867
22299626A5B232   JAMES              CANADA                 KY     90014506260
2229B51232B27B   RAYMOND            LYLES                  DC     90014845123
2229B6A7855957   CHANTEL            JOHNSON                CA     90009996078
2229BA2159794B   ERNEST             IBARRA                 TX     74005570215
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2229BA6175B271   RHONDA         SILVERS                    KY     90015100617
222B11A6585938   LAURA          PETTYJOHN                  KY     67025771065
222B1263587B87   ELNORA         WOODWARD                   AR     90011362635
222B141694B251   CORINE         LAMBRIGHT                  NE     90005924169
222B145439794B   LUCERO         GRANADOS                   TX     90009514543
222B157664B261   SAMANTHA       SCOTT                      NE     27000185766
222B1584791522   LESLY          HERNANDEZ                  TX     75077895847
222B16A5691251   TINA           CUCURELLA                  GA     90010716056
222B212A772B47   LORENZO        MADRID                     CO     33033541207
222B2294372B84   MARIO          HERNANDEZ                  CO     90012272943
222B2546581661   AMANDA         VICK                       MO     90014315465
222B2A39A72B88   RITA           VALDEZ                     CO     33049510390
222B3259A87B87   DESTINY        DEE                        AR     90015122590
222B437429794B   SALVADOR       GONZALEZ                   TX     90014463742
222B4381574B79   BERNICE        MORPHIS                    PA     51047833815
222B5179481637   ENTOEN         TAYLOR                     MO     90006911794
222B5394191522   MARIA          REYES                      NM     75093193941
222B53A3272B84   ARACELI        ARMENDARIZ                 CO     90014393032
222B56A519155B   RUTH           RUIZ                       TX     90012316051
222B578687B471   SHARON         ROSS                       NC     11046287868
222B5912A57531   ERIKA          ESCOBEDO                   NM     90009559120
222B5A78991251   YEIZA          CARRASQUILLO               GA     90011320789
222B643A772B84   MARIA          HERNANDEZ                  CO     90002364307
222B674355715B   JENNIFER       WESLY                      VA     81033827435
222B6A3885B571   MELANIE        CHAVEZ                     NM     35081240388
222B7161A4B261   CRAIG          CLARK                      NE     90012731610
222B73A8587B59   VALERIE        SMITH                      AR     23093943085
222B777574795B   CHRISTINA      GUZMAN                     AR     25064897757
222B7A68785955   CHRISTAYSHA    CASON                      KY     90000950687
222B829755B271   CARLOS         KEENE                      KY     90003912975
222B8415691522   LAURA          ALCALA                     TX     90012314156
222B842835B571   ARMANDO        HERRERA                    NM     90013414283
222B858A172B42   MANUEL         LEAL                       CO     33097865801
222B883629136B   GLORIA         CASAREZ                    KS     90011478362
222B91AA555957   LEONARD        HERNANDEZ                  CA     90013661005
222B9392A91828   ROGELIO        MEDRANO                    OK     21030113920
222B9571591251   KENZIE         HARVILLE                   GA     90015095715
222B9645A81637   SHANTEL        BLAIR                      MO     29020406450
222B971AA91241   ASHLIEGH       WYNN                       GA     90006367100
222B97AA25B232   EDNA           POTTER                     KY     90013827002
222B988135715B   RENE ARCIDES   GONZALES                   VA     90004268813
222B995485B161   DWANNA         KETCHERSID                 AR     23025789548
222B99A2285938   EUSEBIO        LIZARDO                    KY     90006519022
222BB34569155B   MINERVA        GUZMAN                     NM     90014643456
222BB69299794B   HOPE           GARZA                      TX     90015206929
2231165A591828   NORMA          TANELIA                    OK     90014176505
2231178825B271   JOHN           KASEY                      KY     90010007882
2231212475715B   ODILIA         REYES                      VA     90005031247
22312369472B84   MIKE           BALLEZ                     CO     33072863694
2231275169184B   KESHIA         WILLY                      OK     90001767516
22313274987B59   JACQUELINE     GRIGFTY                    AR     90015092749
2231375582B27B   ELECTRA        DYAS                       DC     90014597558
2231378563B391   CHRISTINE      DREYER                     CO     90007427856
22314211887B87   TIFFANY        THACKER                    AR     23077832118
2231441813B386   EVELIA         SIVIGILANO                 CO     90004094181
2231443145B247   MARTHA         MENDEZ                     KY     68051874314
2231481159184B   AUGUST         CAMBEL                     OK     90015428115
223149A5591525   BLANCA         RAMIREZ                    TX     90012869055
2231535715715B   SONIA          PACHECO                    VA     81063793571
2231561239794B   VERIN          POS                        TX     90011766123
2231575645B531   DANIEL         MCGUIRE                    NM     35014947564
2231625354B588   BETHANY        PITTS                      OK     90014502535
223162A284B588   LACIE          WILLIAMS                   OK     90010732028
22317461687B87   BETTY          SWINEY                     AR     90011994616
22317616A21929   PAYGO          IVR ACTIVATION             IN     90015496160
2231829264B588   MELVA          CHERRY                     OK     21555992926
22318727772B42   BENITO         GUZMAN                     CO     90014837277
2231889A75B167   CLINT          EDWARDS                    AR     90005298907
2231919295B571   JOANNA         WALKER                     NM     90006371929
2231939795B531   CHRIS          SALAZAR                    NM     90008933979
2231957275B167   JUANITA        CRUZ                       AR     90001125727
2231971134B281   MICHELLE       JIMERSON                   NE     27067457113
22319867587B87   ERIKA          TRICE                      AR     90015068675
223199A5491541   RICARDO        HERNANDEZ                  TX     90008409054
2231B22779136B   RAUL           ALVAREZ                    KS     90008012277
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2231B48855B571   PEDRO         CHAY-COHUO                  NM     90001764885
2231B513747952   DEBORAH       LUCAS                       AR     24068545137
2231B529976B4B   MARCELINA     LEYVA                       CA     46048415299
2231B664331453   NICOLE        SCANIO                      MO     90012266643
2231B81422B27B   COLLI         JUBB                        DC     90009758142
2231B83A79189B   VALISA        ROWE                        OK     90010608307
2232163899794B   LUCAS         TURNER                      TX     90014986389
22321669A72B42   BRYANT        JACKSON                     CO     90011396690
223216AA281638   ROBERT        STEVENSON                   MO     90005786002
2232228492B27B   BIJON         DAVIS                       DC     90015172849
223228A279152B   EDVIN         MOLINA                      TX     75031088027
2232349954B281   VERONICA      TORRES                      NE     90008824995
2232354768B168   JASON         FELT                        UT     31094295476
2232368A591828   VANESSA       STEVENSON                   OK     90013526805
2232412895B161   MCMULLEN      RENAE                       AR     23054701289
22324137372B84   FERNANDO      CHACON                      CO     90015141373
2232419685B167   PEDRO         DAVILA                      AR     23092061968
2232428819136B   BRANDON       RAMOS-CAMPOS                KS     90012582881
22324329A81637   DIONNA        HILL                        MO     90004333290
2232437679189B   SAMATHA       CORBET                      OK     90011073767
223247A232B27B   RODNEY        ROY                         DC     90014507023
2232482484B251   GLENDA        HARPER                      NE     27028978248
2232555767B471   JANTERIOUS    CAMPBELL                    NC     90015335576
2232562554B261   JOYLYNN       LESCH                       NE     90014546255
223256A6A5715B   ELIZABETH     QUENTANILLA                 VA     90012456060
2232589A75B167   CLINT         EDWARDS                     AR     90005298907
22325A66A81661   MARIA         MONTES                      MO     90013280660
2232688829136B   KENNETH       POWELL                      KS     90002708882
2232689529184B   HEATHER       DOBBS                       OK     90014638952
2232695219155B   DIANA         MOJICA                      TX     75097059521
2232696A25B161   JERRYME       DAVIS                       AR     90009629602
2232754149152B   LINDA         VILLALOBOS                  TX     90004405414
22327712A91251   LEVESTER      SMITH                       GA     90014167120
2232785782B27B   LEANDA        HAMILTON                    DC     90009438578
223279A387B471   JOLANDRA      WHITE                       NC     90013609038
22327A3A391528   CRYSTAL       FRANCIS                     TX     75092890303
2232837A42B27B   MS            CEE                         DC     90001833704
2232854124B261   CARLOS        MARISCAL                    NE     90012695412
22328813972B88   JENNIE        METCALF                     CO     90013068139
22329164672B88   RAMIRO        BARRAZA                     CO     90012281646
2232949127B43B   TONY          SNOW                        NC     90013574912
2232957955B161   KASSIDY       EDDY                        AR     90014915795
2232986835B232   IVTTE         RODRIGUEZ                   KY     90013278683
2232998A981637   ALINE         NEELY                       MO     90011789809
22329A9142B27B   BRIAN         MCFADGEN                    DC     90008040914
2232B26A693721   STEVE         RIDGLEY                     OH     90009862606
2232B354A81661   SANDRA        WILLIAMS                    MO     90015133540
2232B45615B232   DEBRA         BLACK                       KY     90010334561
2232B53A89794B   MELANIE       FLORES                      TX     90013925308
2232B66438B17B   JESSICA       WILSON                      UT     31096706643
2232B67385B571   CARMINA       VARGAS                      NM     90011236738
2232B839891241   HENRY         BRETT                       GA     90013948398
2233128569794B   BLAKE         HOOBS                       TX     90008882856
22331562872B88   CARMELO       JARAMILLO                   CO     90007705628
2233158954B588   JOHN          MCCAMPBELL                  OK     90013175895
2233159282B27B   TABITHIA      JOHNSON                     DC     90015205928
22331724772B84   MARIA ELENA   MUNOZ                       CO     90010377247
22331A3225B232   CHRISTINA     TERRY                       KY     90007470322
2233269164795B   LAZARO        PINEDA                      AR     90012036916
22332816372B88   DANIEL        PERDUE                      CO     90013068163
2233283415B271   ROBBIN        HINES                       KY     90009418341
223339A837B449   DANIEL        TEKIE                       NC     90011199083
223343A475715B   VASHTI        MULBAH                      DC     90007963047
22334434A4B261   GUY           MILLIGAN                    IA     90004634340
2233445139137B   FREDDIE       HURT                        KS     90012634513
2233489465B531   NICOLE        PAGE                        NM     35001208946
22334A65191522   MARTHA        PULIDO                      TX     75013180651
22335139672B84   DANIEL        DOLAN                       CO     90000401396
223351AA69184B   DARIN         BALES                       OK     21087481006
223352A885B271   DANIELLE      TELLES                      KY     90004802088
2233534474B281   NANCY         COBIAN                      NE     90008863447
22335446A9794B   BRAULIO       CHACLAN                     TX     74011914460
22335879272B88   AMY           SOEHNGEN                    CO     33064528792
22335A9519155B   MARTHA        CENISEROS                   TX     90001120951
2233612744795B   BARBARA       CARR                        AR     90013681274
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2233699975B232   LISA           BOYDE                      KY     68011939997
223369A419155B   ALEJANDRO      OLAGUE                     TX     90013059041
22337A26281637   VASNATHA       LEWIS                      MO     90011790262
2233876385B167   MATTHEW        ALDRIDGE                   AR     23030877638
2233884124B588   GINA           SAUCEDO                    OK     90008778412
2233949A24795B   MARIA          CASTANEDA                  AR     90007474902
2233968914B261   MARY           PACKETT                    NE     27092746891
22339AA9372B84   NORMA          LUNA                       CO     33006560093
2233B29115B271   JOSE           QUIJADA                    KY     90011082911
2233B42939136B   VICENTE        HERNANDEZ                  KS     90013784293
2233B479987B87   PAY            GO                         AR     90011894799
2233B523231453   MIKE           O LEARY                    MO     27545605232
2233B581A91522   JASON          DUGGER                     TX     90012665810
2233B63924B588   ANITA          COOPER                     OK     90014176392
2233B98A981637   ALINE          NEELY                      MO     90011789809
2233BA9464795B   SUSANLYN       STEPHEN                    AR     90014560946
2234154552B27B   RAHSAAN        RASHID                     DC     90012975455
223418A4672B98   MICHAEL        CURTIS                     CO     33082908046
2234225127B449   CARLOS         REMBENT                    NC     90012692512
2234298517B471   ANTHONY        JUST                       NC     90014969851
22342A7418B17B   PAOLA          CERVADA                    UT     90007930741
22343863A91828   SYLVIA         LOSANO                     OK     21015428630
2234423985B232   ANTHONY        THURMAN                    KY     68045742398
2234428589794B   CECILIA        BARRON                     TX     90015102858
223444A4291528   SAMANTHA       MORALES                    TX     90007074042
2234473449184B   LOUIS          CONRADY                    OK     21009817344
2234489945715B   YOCELIN        APARICIO                   VA     90000538994
2234534255B271   LYNN           FORREST                    KY     68092373425
22345929A72B42   SAMANTHA       MCCARDY                    CO     90003049290
22345AA5572B88   KEITH          MARGISON                   CO     90010300055
223462A749189B   SHONTA         PITTS                      OK     90006902074
2234684219155B   ARMANDO        CRUZ                       TX     75086718421
2234685A15B531   CHARLES        OGOUING                    NM     90006528501
2234696A74B261   JOSE           MARTINEZ                   NE     90012389607
22347139672B84   DANIEL         DOLAN                      CO     90000401396
2234738384B281   TEGWIN         MATTHEWS                   NE     27095493838
2234774699136B   KAREN          MADISON                    KS     29031587469
223477A2691522   PAULINA        VENEGAS                    TX     90013727026
22347855A5B531   JOSE           CHAVES                     NM     90006528550
223481A869155B   EZEQUIEL       SANDOVAL                   TX     90011291086
223482A1191589   ALVARO         REALYVASQUEZ               TX     90004152011
223484A3161877   ESSIE          REED                       IL     90003264031
223484AA685938   JUSTICE        MORTON                     KY     67096624006
22348682687B87   JACOB          BULLOCK                    AR     90015456826
22348764372B88   PAREDES        ELVIA                      CO     33035857643
2234943894795B   ROBERTO        SOLORIO                    AR     90014074389
2234B11515B232   LUIS           ALBERTO HERNANDEZ          KY     68061971151
2234B122691541   ENRIQUE        CONDE                      TX     90002101226
2234B3A354B261   WILLIAM        HTOO                       NE     90014823035
2234B66438B17B   JESSICA        WILSON                     UT     31096706643
2234B679A9794B   KIMBERLY       WORTHY                     TX     90010186790
2234B82464B281   HEATHER        BUDKA                      IA     27050298246
2234B86425715B   KRISTIAN       DOUGLAS                    VA     90010358642
2234B87517B471   ROSA           RIVERA                     NC     90007528751
2235162AA4B261   SANDRA         WILSON                     NE     90008336200
22351793872B84   ROBERTA        ARMIJO                     CO     90014717938
22351A3189184B   JESUS          VALDEZ                     OK     21027470318
2235227459136B   ZURIZADAY      SANCHEZ                    KS     90001482745
223531A754B261   SAVITRI        HARRINGTON                 NE     90014231075
223532A1555957   ISAIAS         VENEGAS                    CA     90009772015
2235339854B281   CHRISTIE       BURGESS                    IA     27088403985
22353695772B84   HORACIO        VILLEGAS                   CO     33088316957
2235393869184B   GREGORY        VANECEK                    OK     90000949386
2235416575715B   ADAM VAN       VLIET                      VA     90011151657
2235423229184B   KIMBERLY       STUTZHAN                   OK     21023542322
2235433199794B   DIANE          WILLIAMS                   TX     90013153319
22354669776B4B   HOWIE STEREN   OVEDIA                     CA     90013976697
2235479718B168   CHELLE         CAW                        UT     31097527971
2235516694B588   DIANA          FLORES                     OK     90011341669
223555A515715B   MOREL          DE LEON                    VA     90008015051
2235575A65B232   RACHEL         LIVELY                     KY     90001477506
2235589477B471   GLENDA         GUTIERREZ                  NC     90008198947
22356324572B88   JORGE          MORAN                      CO     90014673245
223563A165B161   BENJAMIN       DUCK                       AR     90013113016
22356622987B87   ALEXANDER      DESHERYL                   AR     90015306229
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2235692A855957   DAVID        LLOYD                        CA     48010259208
22356A4272B931   ANGELEENA    WESLEY                       CA     90003060427
2235775369794B   FELIPE       CUA                          TX     74087887536
22357A44581661   KYAUNNA      ROBINSON                     MO     90013740445
22358373687B87   FELICIA      MILLER                       AR     23032083736
2235851589794B   VICENTE      ALVAREZ                      TX     90015045158
2235881A74B261   THOMAS       SOBETSKI                     NE     27046558107
2235925139155B   MARIA        TERRAZAS                     TX     90002742513
22359A59487B59   DERICK       WALKER                       AR     90014290594
2235B142872B88   ALLISON      LEON                         CO     90013621428
2235B762981638   CHARLES      HAMPTON                      MO     29042517629
2235B992A5B232   JESSE        CHANDLER                     KY     68023939920
223612A329155B   ROCKIE       GALFORD                      TX     90011712032
223613A692B27B   JANAE        THOMAS                       DC     90012843069
2236147644B261   JOSE         MARTIN                       NE     90000204764
2236151274795B   FLOR         CAMACHO                      AR     90010655127
2236179895B167   KENT         KRAMER                       AR     23081457989
22361891672B88   KUSONDRA     ABEYTA                       CO     33092718916
22362337972B88   LAKIE        GUITON                       CO     90002983379
223625A889794B   DELILAH      LOFTON                       TX     74001965088
2236286895B232   APRIL        CARTER                       KY     68080668689
2236314349794B   LONNIE       WILLIAMS                     TX     74019671434
22364242672B84   CLAYTON      PUPPE                        CO     33032552426
2236463284B261   SARAH        HATFIELD                     NE     27058616328
22364735787B59   PRECIOUS     SANDERS                      AR     90010207357
2236478984B588   SANTOS       AUSENCIO                     OK     90010367898
22365145472B42   LOUIS        GONZALES                     CO     33048231454
2236514929794B   WILLIAM      EY CAR                       TX     90014701492
2236526599155B   GLORIA       CUETO                        TX     75074082659
2236531489794B   JACQUELINE   BIRCHER                      TX     90008033148
2236547229794B   JOSE         TUMAX                        TX     90008154722
2236591679184B   KRISTI       MCCOY                        OK     90005889167
2236596A44B261   ROD          KRINGS                       NE     27082299604
22365A85772B88   PAOLA        MEDINA                       CO     33029380857
2236621449136B   FLORA        MOYA                         KS     90004172144
2236667695B167   TRUDY        RUSSELL                      AR     90013516769
2236668A65715B   ROBERT       DOYLE                        VA     90013136806
22366832A9794B   PAYGO        IVR ACTIVATION               TX     90012248320
2236686A631453   MARKEITTA    JORDAN                       MO     27523228606
2236762552B27B   KATHERINE    EDITH                        DC     90015106255
2236784248B17B   AGUSTIN      GODINEZ                      UT     90010718424
22368434387B59   BRITNEY      WILSON                       AR     90015294343
2236848A65B571   DIANE        MCMAHAN                      NM     35004414806
223684A7255957   HERBERT      SENEGAL                      CA     90014804072
22368947772B84   CHARLOTTE    RODGERS                      CO     90006249477
2236949A372B84   LUC          DOMINGUEZ                    CO     90009614903
2236B12135B139   ROY          LEONARD                      AR     90000211213
2236B1A4A5B571   MARSHA       WAY                          NM     90006801040
2236B26462B27B   JAY          PAUL                         DC     90014442646
2236B412281661   ALEXIS       SMITH                        MO     90014004122
2236B65872B931   ANTHONY      BACA                         CA     45033636587
2236B731272B84   FELIX        SAENZ                        CO     90012317312
22371116372B98   NALLELY      CRUZ SANCHEZ                 CO     33020941163
2237129585B128   JACKIE       FERGUSON                     AR     90010352958
22371697A2B27B   DONTE        WILLIAMS                     DC     90011106970
223716A349155B   ANGEL        CHUCA                        TX     90012966034
22371975276B52   RAFAEL       CISNEROS VILLANUEVA          CA     46095459752
2237314A561939   ARMANDO      TIZNADO                      CA     90005681405
223732A7891522   MICHAEL E    FERNANDEZ                    TX     90005182078
22373623A9184B   TOM          DATEMAN                      OK     90013426230
223736A2791522   GUADALUPE    ROSALES                      TX     90009936027
223737AA39794B   MANUEL       XOCHOLEJ                     TX     90012757003
22373888172B42   YULHENNY     CORTEZ                       CO     33071378881
2237436485715B   MARIA        CAYABYAB                     VA     90012973648
2237459775B232   DELMY        CASTRO                       KY     90008745977
223746A5991541   CHRISTINA    LOPEZ                        TX     75045146059
2237531984B588   SHALENA      HOLMAN                       OK     90012963198
2237583335715B   ALEXANDRO    AGUILAR                      VA     90013958333
22375AA1A9155B   DANIEL       QUEZADA                      TX     75058760010
2237624919794B   NAZARIO      CHAY                         TX     74050532491
2237628534B588   CHARITY      WHITE                        OK     90015022853
2237641A641245   TRACEY       BURKE                        PA     90003294106
22376799887B59   LATOYA D     BENSON                       AR     90003817998
223767A2591541   STEPHEN      AGUILAR                      TX     90014177025
22377279A91828   SAMANTHA     ESPINOZA                     OK     90003622790
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22377834572B88   MANUEL        MARTINEZ                    CO     90013068345
223793A942B27B   OCTAVIOUS     WILLIAMS                    DC     90012843094
2237967445B232   DEASIA        HUGHES                      KY     90014876744
2237967A647952   BRENT         PRESTON                     AR     90010586706
22379713A9155B   CIRILO        VARGAS                      TX     75021007130
2237B139672B84   DANIEL        DOLAN                       CO     90000401396
2237B46889794B   SANTIAGO JR   RAMIREZ                     TX     90013114688
2238193189189B   MEGAN         HARTMAN                     OK     21070689318
22381A48391522   MARIA         FRYRE                       TX     90013810483
2238258539155B   KARINA        CARO                        TX     90006445853
22382879A4B281   WILLBRAND     LILIAN                      NE     90000838790
2238355777B449   THELMA        MITCHELL                    NC     90013305577
22383574A87B87   MALLORY       FLUKER                      AR     23045945740
22384139672B84   DANIEL        DOLAN                       CO     90000401396
2238526147B449   MAURICIO      LUZ                         NC     90009592614
223856A2991522   RAUL          MARTINEZ                    TX     90011036029
2238624494B261   MICHAEL       SUNCLADES                   NE     27019612449
22386248287B59   NIKINA        ACKLES                      AR     90015112482
2238625792B27B   KEIRA         LEWIS                       DC     90014552579
2238651A89155B   CHRISTOPHER   PORTILLO                    TX     90014645108
2238672485B571   JOSEPH J      ANDRADE                     NM     90011237248
22386A32985938   RAMON         CANO                        KY     67087710329
2238839832B27B   JAMES         WILLIAMS                    VA     90015113983
22388867587B87   ERIKA         TRICE                       AR     90015068675
223888A5581661   KATRINA       MORRIS                      MO     90012928055
22388922672B42   THOMAS        FORD                        NM     33051409226
22388A97A91541   ESPARZA       ELIAS                       TX     90005070970
2238957749155B   SALVADOR      CASTILLO                    TX     90013415774
2238963739794B   JENNIFER      SHANNON                     TX     74024616373
2238974987B471   JOSEPH        HOLLAWAY                    NC     11013367498
2238988165B139   FELICIA       COOPER                      AR     90008478816
2238988929184B   MATIAS        DIAZ                        OK     21057008892
22389A63661996   SUSANA        DE LA TOBA                  CA     90003650636
2238B17927B471   PATRICIA      FORCE                       NC     90009471792
2238B69434B588   TAMARA        PRIETO                      OK     90012426943
2238B746A91528   DAVID         MIRANDA                     TX     75092907460
2238B81269794B   SECUNDINO     CUA                         TX     90006838126
2239217A555957   CONSTANCE     RUSSELL                     CA     90003831705
2239247749155B   ALEJANDRO     RUIZ                        TX     90014644774
22392AA1491828   JOSEPH        BARRON                      OK     90010190014
2239324A391522   VERONICA      QUINONEZ                    TX     75011352403
223934A4491828   MANUEL        MATOS                       OK     21084424044
22393646A55957   ROYCE         SMITH                       CA     48034636460
2239456275B161   SARAH         PARSONS                     AR     23032055627
2239541325B161   SHELL         THOMF                       AR     90011064132
2239618625715B   FORTUNATO     SARMIENTO                   VA     90012341862
22396584787B59   PAMELA        HUBBARD                     AR     90013465847
2239682957B449   DESMOND       ROBBS                       NC     11052658295
22397262587B87   PAYGO         IVR ACTIVATION              AR     90010132625
22397722387B59   STACY         DAVIS                       AR     90014587223
22397889A4B261   GICELA        AYA;A                       NE     90004828890
2239799742B86B   KYMBERLEE     PARKER                      ID     42077739974
223982A477B644   NADIA         JENKINS                     GA     90005212047
22398335387B87   ANDREA        WILSON                      AR     23077653353
2239845655B571   CANDICE       GRANT                       NM     90008964565
2239917A531453   TYDE          WEIL                        MO     90011021705
2239948A555957   PATRICIA      GOMEZ                       CA     48053114805
22399589672B84   LADAYSHIA     ALARID                      CO     90013245896
223996A6791522   JOSE          ANDAZOLA                    TX     75017826067
2239B36642B27B   RUNYANRARO    MPUNDU                      VA     90005613664
2239B51A89155B   CHRISTOPHER   PORTILLO                    TX     90014645108
2239B842287B59   KAREN         WALKER                      AR     23003618422
2239B84239136B   SALLY         COKER                       KS     29075268423
2239B92649184B   HELEN         STAAB                       OK     90015099264
2239B95A291241   SHAKETA       DAVIS                       GA     90002969502
2239B963176B4B   RAUL          SOTO                        CA     90012339631
223B14AA481661   MARQUIS       CLORK                       MO     90013704004
223B171199184B   BRONSON       BROWN                       OK     21071567119
223B1A7A855957   RICK          VANDERFORD                  CA     48024440708
223B2141255977   TWYLA         MUSKRAT                     CA     90014611412
223B2426A91251   JEREMY        JONES                       GA     90014614260
223B276895715B   IRVING        MCCULLOUGH                  VA     90009937689
223B2775272B84   JORGE         RODRIGUEZ                   CO     33021767752
223B2814787B87   NICOLETTE     DAVIS                       AR     90012438147
223B2827172B42   JUAN          HERNANDEZ                   CO     33026978271
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223B2A16972B88   ASHLEY          HERNANDEZ                 CO     90012120169
223B315455715B   MENFIL          MENJIVAR                  VA     90013561545
223B33A842B27B   JANICE          RICHARDSON                DC     81005353084
223B3431372B98   RUBEN           VILLAFAN                  CO     33072644313
223B343537166B   ADRIAN          JONES                     NY     90015564353
223B3653591828   JODIE           KOBIELUS                  OK     21043526535
223B574315715B   ONAN            PEREZ                     VA     90003607431
223B5769347952   MATTHEW         HUBBARD                   OK     90013947693
223B5A58291251   GAMALIEL        MENDEZ                    GA     90012800582
223B5A68791528   MIREYA          GODINEZ                   TX     75020620687
223B6426A91251   JEREMY          JONES                     GA     90014614260
223B644182B841   JOSEPH          STALFORD                  ID     90000334418
223B6718691522   NORMA           GIBBONS                   TX     90011947186
223B7237272B42   ANDRES          ESTRADA                   CO     33093392372
223B728AA5715B   MARCOS          CORONADO                  VA     90001342800
223B7595791241   MONISHA         DAY                       GA     14573255957
223B7922472B84   JOHNNY          PALOMO                    CO     90012519224
223B7A5432B27B   EBONY           CARROLL                   DC     81007510543
223B7A6135B571   RICHARD L.      TORRES                    NM     90014780613
223B855314B261   STEPHANIE       SCHNABEL                  NE     27045505531
223B878234795B   KIM             PELLIN                    AR     90011747823
223B8A9235B167   FREDDIE         JORDAN                    AR     23062230923
223B913155B571   JESUS           BARRAZA                   NM     90000711315
223B9193791251   CHRISTOPHER     HAWKINS                   GA     90014681937
223B929687B471   RANDALL         DEBRUHL                   NC     11080842968
223B941675715B   ZACHARY         LUCAS                     VA     81088854167
223B943385B161   LYQUITA         DOCKERY                   AR     90014874338
223B94A8891828   ALICIA          MARTINEZ                  OK     90004694088
223BB19838B168   SHANDA          SMITH                     UT     90011441983
223BB24579155B   ABUNDIO         RODRIGUEZ                 TX     90004962457
223BB83578B16B   RANDY           SALIBY                    UT     90001388357
223BB934593762   KORI            BLESSING                  OH     90012509345
2241127194795B   JESSE           PASCHAL                   AR     90014682719
2241135679189B   THERESA         HAVLICK                   OK     90002203567
22411386972B88   JEANALL         VASQUEZ                   CO     33076313869
22412386387B87   LAKISHA         SIMMS                     AR     90015203863
22412649A8B17B   JEFF            KARSCH                    UT     31017336490
22412A9269136B   SARA            LEEKER                    KS     90012610926
2241317197B471   ZENOBI          SCOTT                     NC     90014461719
22413185472B42   DAVID           CERCEDA                   CO     33047881854
22413639A87B59   PAYGO           IVR ACTIVATION            AR     90014596390
22413691472B84   SHANTE          SIMPSON                   CO     90011246914
2241389482B931   CECILIA         ALMANZA                   CA     45087718948
2241396A885938   CHLOE           CAREY                     KY     90014709608
2241435379155B   VERONICA        AVILA                     TX     90011713537
22415166687B87   JEREMIAH        CLARK                     AR     90014351666
2241531825B161   ROOSEVELT       WILSON                    AR     90011093182
2241537933B329   SALVADOR        ALCANTAR ROMERO           CO     33093153793
2241554A851333   TONYA           HICKS                     OH     90008785408
2241635379155B   VERONICA        AVILA                     TX     90011713537
2241672A981661   AARON           SAXTON                    MO     90014347209
2241698939794B   VERLISCIA       STARKS                    TX     90014739893
2241787A77B449   VERIKIDA        GIBBS                     NC     90009498707
2241828218B168   ROSA            TERRY                     UT     31024392821
2241838415B531   NORMA           QUEZADA                   NM     90013553841
22418674687B59   LATESHA         JOHNSON                   AR     23091196746
2241885285715B   ERICK           ESCOBAR                   VA     81016428528
224191A3A72B84   ERNESTO         RANGEL                    CO     90013801030
224192A1791251   MARLA           CREWS                     GA     14508982017
22419829372B88   MARIO           CRUZ                      CO     90013068293
2241B199185938   SAMUEL          MOCK                      KY     67045351991
2241B7A237B471   JOSCELYN        BROWN                     NC     11049517023
2241BA1425715B   MARELYN         HERRERA                   VA     90012140142
224212AAA9794B   JOSE            TUMAX                     TX     90006372000
2242156A381661   RICKY           ALEXANDER                 MO     29081545603
22421941A72B88   DAWAUNE         ELLIS                     CO     33060149410
224221A2241245   ROBERT          PASKEVICH                 PA     90002181022
2242231319155B   JUAN            JURADO                    TX     90014943131
22422822572B88   RAUL            ROSAS                     CO     33059768225
2242359279184B   RONALD          MCMORRIS                  OK     90014875927
2242365339184B   STEPHANIE       MOORE                     OK     90014856533
22423A25A85938   DEBBIE          PEACOCK                   KY     90014730250
22423A86147952   CAYSEY NICOLE   DUTTON                    AR     90014240861
22424328A72B88   MALENA          HERNANDEZ                 CO     90014673280
22424479372B84   ALYSHA          ADAMS                     CO     90010414793
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22424A9315B161   PATRICIA      WILLIAMS                    AR     90006290931
2242559875715B   JOSE          ORTIZ                       VA     90010045987
2242566A155957   BENITO        CASILLAS                    CA     90003876601
22425812A9155B   EDNA          CHAIDEZ                     TX     75096878120
22425859A7B449   ELFIDO        LOPEZ                       NC     90002408590
22425887A72B88   CHERON        JOHNSON                     CO     90014718870
2242592328B168   JAMES         JENSEN                      UT     31054499232
22425A62585938   KENDRA        EDMONDS                     KY     90014720625
2242646315B271   ANGELA        FAULKNER                    KY     68005284631
2242667535B571   NITA          HORTTOR                     NM     90014866753
2242681624795B   LARONDA       CAMPBELL                    AR     90014708162
22426A88185938   LUIS          MARTINEZ                    KY     90000170881
2242788635B144   HAIRSTON      PAMELA                      AR     23097728863
22427A76A9136B   TRUDY         NELSON                      KS     90015170760
22428188987B87   KIM           WILBURD                     AR     90015241889
2242826AA91241   CHRISTOPHER   SIMS                        GA     90013242600
2242844219155B   OFELIA        PRIETO                      TX     75075314421
2242867165715B   ERVIN         FIGUEROA                    VA     90013766716
22428697372B84   ANA           HERNANDEZ OLIVARES          CO     90015126973
2242869769184B   BRANDIE       MCNACK                      OK     90000806976
22428A62585938   KENDRA        EDMONDS                     KY     90014720625
22428A83587B87   ALEXUS        SMITH                       AR     90015260835
22429384487B87   JULIE         THOMPSON                    AR     23028163844
2242944355715B   MICHAEL       ALEXANDER                   VA     90013974435
22429636A72B98   ELVIA         PINO                        CO     33021206360
22429A62585938   KENDRA        EDMONDS                     KY     90014720625
2242B845472B88   JOSE          SOSA-VIDANA                 CO     33040668454
2242B93A772B84   REINIER       MEZQUIA                     CO     90011439307
22431374498B72   JOSE          PAREDES                     NC     90001483744
22431718987B87   CARMELETTA    LONG                        AR     90014117189
22431951172B88   ALEXANDRA     VIALPANDO                   CO     90013919511
224321A2872B98   MARIA         IBARRA                      CO     33014121028
22432271287B87   FELICIA       DABNER                      AR     90006132712
2243261895B571   ROBERT        WILLIS                      NM     90007526189
2243286898B168   ORLANDO       NELSON                      UT     31045098689
2243377A972B42   BRANDON       SENA                        CO     33069487709
2243395885B232   THOMAS        MYER                        KY     90009209588
22434111A4795B   HEATHER       COLEMAN                     AR     90009531110
2243423975715B   SHEHIN        ESKANDARY ZADEH             VA     90013182397
2243443285B232   DENISE        PEEK                        KY     68031234328
2243454314B281   MARY          DIVIS                       NE     27038175431
22434741687B87   MATTHEW       REED                        AR     90002597416
22434895172B42   JENNIFER      DUTTON                      CO     33013608951
22435376272B42   GERARDO       ACEVEDO                     CO     33006533762
224354A544795B   MORENA        BARRIENTOS                  AR     25081184054
22435769872B84   RICHARD       LANCER                      CO     90013867698
22435A8252B86B   BAUDELIO      FLORES GUERRA               ID     90000220825
2243656997B449   ANTHONY       REDFEARN                    NC     11065215699
22436589672B84   LADAYSHIA     ALARID                      CO     90013245896
2243697A387B59   CASSANDRA     MCKAY                       AR     23081939703
2243698519189B   JOSHUA        RIOS                        OK     21085549851
22436A12587B59   BRITTANY      JACKSON                     AR     90010280125
2243721A44B588   JESSICA       STEVENS                     OK     90015002104
2243823124795B   NELLY         VILLEGAS                    AR     90014152312
2243883345B571   HUGH          COLEMAN                     NM     90014038334
2243912735715B   DANIELA       COAQUIRA                    VA     90012361273
22439143A85938   JOSE          MORALES                     KY     90014721430
22439159772B88   MARIA         PICAZO                      CO     33091551597
2243B22714B588   CHARLES       LEWIS                       OK     90015502271
2243B291185955   HUGUES        ITOULA                      KY     67015822911
2243B828555957   ROLANDO       TRULLIO-CARREON             CA     90015318285
2244114119152B   GUADALUPE     AGUILAR                     TX     90007821411
22441248A55957   RICHARD       MAYER                       CA     90012262480
22441337372B98   CHANTELLE     HART                        CO     90002053373
2244138A24B293   JANEE         FORD                        NE     90007453802
2244174A891541   EDWARD        MIRELES                     TX     90014527408
2244185119794B   LILIANA       CASTILLO                    TX     90015098511
224418A6372B84   DAVID         NEWTON                      CO     90013048063
2244227592B27B   LAKENDRA      NELSON                      DC     90012862759
22442391A87B87   ALTHEIA       WILEY                       AR     90009793910
22442697972B84   ROBERT        HARGROVE                    CO     90011246979
22442715A31631   SHERRY        DAWSON                      KS     22021257150
22442A23485938   SHANNON       MATTINGLY                   KY     90005240234
224434A7172B88   KARLA         DURAN                       CO     33059224071
22444619A93727   DAJUAN        DELOACH                     OH     90007596190
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2244531A672B98   MARIA         MILAGROS                    CO     33026223106
2244548284B261   WILLIAM       RUSH                        IA     27062074828
224454A3A5B271   REBECCA       JONES                       KY     90008004030
2244551994B281   NICK          RADLOFF                     IA     90006365199
22445A81491241   SHINTERIA     HILL                        GA     90012530814
2244666539155B   ERIC          HERNANDEZ                   TX     90014656653
2244698514B281   LUCIA         NAVAREZ                     NE     27008539851
2244713A591251   ERNESTO       LOSALA                      GA     90015191305
2244744757B449   EMANUEL       GOODING                     NC     90006184475
22448369572B84   MCCOY         ABRAM                       CO     33050063695
2244844A87B449   JACQUELINE    ALAS MORATAYA               NC     90001734408
2244878A45715B   VICTOR        ANDRADE                     VA     81034187804
2244889477B471   GLENDA        GUTIERREZ                   NC     90008198947
2244892289155B   AITEE         ZETINA                      TX     90013159228
224493A2A9794B   ALEJANDRA     GUAJARDO                    TX     90014823020
2244952385B571   KEVIN         RAEL                        NM     90013415238
22449652772B98   PAUL          BALANGA                     CO     90014366527
2244B23417B471   EVELYN        WRIGHT                      NC     11088062341
2244B283591522   MARTHA        MERAZ                       TX     75011642835
2244B42329155B   LAURA         ERIVES                      TX     75012414232
2244B47559189B   TAYLER        SHELLY                      OK     90010334755
2244B48465715B   MARIO         QUIROA                      VA     90015034846
2244B574A87B59   MALLORY       FLUKER                      AR     23045945740
22451317A2B27B   DEWAYNE       HARVEY                      DC     90008153170
2245135628B533   ROSA          CASTILLO LOPEZ              CA     90015313562
22452325672B84   ASHLEY        RAMIREZ                     CO     33096833256
2245251789155B   RUBEN         LARA                        TX     90014645178
2245311A274B79   RICHARD       MASON                       PA     51027491102
22453857A72B84   JANET         MENDEZ                      CO     90014518570
2245425A591522   LETICIA       VILLEGAS                    TX     90009702505
2245428A64795B   MISTY         HANCE                       AR     90013332806
224551A389189B   RAMONA        HERNANDEZ                   OK     90012731038
2245546799155B   LIZ           VILLALOBOS                  TX     90011714679
2245546A472B84   CYNTHIA       AMMONS                      CO     33080354604
224554A1472B84   NIEVES ADAN   MORALES                     CO     90015034014
2245571299189B   JEFFREY       USNICK                      OK     90012747129
22456266972B88   CHRISTOPHER   BEAULIEU                    CO     90004582669
224563A844B261   CHRISTIAN     NAVARRETE                   IA     90015023084
22456618A4B588   CHEALSEA      BILBREY                     OK     90013106180
22456A85485938   MATTELENE     HILL                        KY     90010560854
2245748427B449   BETHSAIDA     FALCON                      NC     11045474842
224574A7955957   CHRISTOPHE    TAYLOR                      CA     48032414079
2245754A55B167   AMY           EVANS                       AR     90013795405
22457585A4B541   DANIELLE      WALKER                      OK     90012585850
2245772A45B232   CHARISSEE     BROWN                       KY     90009537204
224578A422B27B   SHANDY        LYLES                       DC     90012548042
22457A8615B271   CORNELIUS     HENRY                       KY     90014620861
2245812199189B   JIM LEE       VANWINKLE                   OK     90001441219
2245824465B232   SEAN          SMALLWOOD                   KY     90013702446
22458359272B42   LENORA        DOLORES GALVAN              CO     90006323592
22458848A9136B   DB            RAI                         KS     90011478480
2245915555B232   TRACY         WITKOSKY                    KY     68016881555
22459223887B87   RODRICK       MILLER                      AR     90011932238
22459525472B42   ALEX          ROSALES                     CO     90012075254
2245982655715B   MARTIR        ORTEZ                       VA     90014398265
2245B263731453   LORENZO       SMITH                       MO     27567202637
2245B411272B42   CRYSTAL       LOVATO                      CO     90013024112
2245B448285938   TERESA        LOWERY                      KY     67045274482
2245B5A935B161   ADRIANNA      STEWART                     AR     23037265093
22461321A47952   CANDANCE      TRAN                        AR     90014783210
224626AA89189B   JAMES         WILLIAMS                    OK     21076186008
22462A4157B471   CYNTHIA       MORALES                     NC     90013800415
22462A7934B251   KALI          PARDEW                      NE     90005200793
22463247272B88   LENEDRA       ANN                         CO     90011342472
22463398A5715B   THOMAS        VARDAMAN                    VA     90012983980
22463A1224B588   KENNETH       ALEXANDER                   OK     90011190122
2246423328B17B   ELIZABETH     RODRIGUEZ                   UT     90005702332
2246458597B644   MONA          TARVER                      GA     90014025859
22464986672B84   RAUL          RESENDIZ                    CO     90000499866
2246527232B27B   ROOSERVELT    SIMPKINS                    DC     90000172723
2246547A251369   ROB           FELTS                       OH     90001274702
22465646A4B261   LISA          SANKEY                      NE     90014906460
2246566264B58B   RAYMOND       JOHNSON                     OK     90011296626
2246566757B471   SHALAUNDRA    DIXON                       NC     90010266675
22465A2444B588   JODI          GREEN                       OK     21530420244
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22466192587B59   NICK         JORDAN                       AR     90013041925
2246646844795B   NICOLE       JUDA                         AR     90011904684
22466592772B88   MUOI         TRAM                         CO     90008295927
22466A8869136B   AISHLEE      MCCRAY                       KS     90013850886
2246717687B449   JERNARD      HORNE                        NC     90010901768
2246739378B17B   LYNN         GARRETT                      UT     90005843937
2246754569184B   MIGUEL       ARREOLA                      OK     90012905456
2246771828B168   DUANE        JORGENSEN                    UT     90004257182
22467A9619794B   JESUS        GUERRA                       TX     90008120961
22468922772B88   YOLANDA      VARELA                       CO     33024809227
2246913489189B   RAUL         HERNANDEZ                    OK     90011831348
2246948AA55957   CESAR        VARGAS                       CA     90009084800
224695A218B168   ADRIANE      NUNN                         UT     90011815021
2246B3A1191828   CRYSTAL      STARR                        OK     90010933011
2246B51939155B   CASEY        KNIGHTON                     TX     90014645193
2246B52975B571   BRIANA       ALDERETE                     NM     90013415297
2246BA3164B588   MIGUEL       VAZQUEZ                      OK     90010340316
2247149895B232   ANTHONY      CHAMBERS                     KY     68063294989
224728A585B571   ESTEVAN      SEDILLO                      NM     90011238058
2247342612B27B   KENDRA       JONES                        DC     90010314261
2247352779155B   LARRY        RODRIGUEZ                    TX     90014645277
2247366883B384   ISABEL       CHACON                       CO     90008076688
22474126487B87   DOROTHEA     WILLIAMS                     AR     23088461264
22474489A87B87   BRIENDA      PORTER                       AR     90013834890
224745A9355957   MAGALY       PALACIOS                     CA     90012745093
2247478779794B   KELLY        KREINBRING                   TX     90014767877
2247492264795B   ANNAROSE     LAKABUN                      AR     90011029226
22474955272B42   LEE          JOOS                         CO     33069809552
224749A429136B   LAVONNE      SINGLETON                    KS     90009369042
22475349672B88   YESSENIA     VARGAS                       CO     90013603496
22475396672B42   DAVE         DAVIDSON                     CO     90010153966
2247574149794B   RYAN         MCWHORTER                    TX     90009407414
2247575415715B   HIWOT Y      LEMMA                        VA     90015177541
22475A69787B87   JOYDASHIA    LOVE                         AR     90015450697
22475A7745B161   KENZIE       MCDANIEL                     AR     90010290774
2247619515B571   ANGELICA     NEGRON                       NM     90013861951
224766A9191541   CRISTINA     OROZCO                       TX     90011926091
2247679634B588   MARSHAY      HALL                         OK     90014767963
22476A95191828   BRYAN        WATASHE                      OK     90010880951
2247814317193B   HECTOR       ARANDA                       CO     32080271431
22478376A4795B   ELIZABETH    LOVETT                       AR     90014263760
22478814372B88   JOSEPH       ABEYTA                       CO     90004128143
22478A2AA24B6B   JOSE         SOTO                         VA     81015850200
22479559A72B88   DENNIS       FREIBERG                     CO     33018195590
2247964937B471   BENITA       FLOWERS                      NC     90013386493
22479A3217B471   MARCIA       BARRINE                      NC     90014740321
22479A72672B84   NATHAN       LUCERO                       CO     90012790726
2247B798787B87   SANDRA       BISHOP                       AR     23072177987
2247B862A2B27B   PATTIE       LEMONS                       DC     90008628620
2247B887281668   JOHN         BROWN                        MO     90004688872
22481796A5B232   YANEISY      CARDENAS                     KY     90008987960
22481A18591828   ERITA        GIRON                        OK     90014550185
22481A51791522   MARTHA       ALVIDREZ                     TX     75063570517
2248248975B232   KIAWANNA     HOPKINS                      KY     90010204897
22482814372B88   JOSEPH       ABEYTA                       CO     90004128143
22482A76391522   KRESSNHA     MARQUEZ                      TX     90009330763
224831A7447952   TRAVIS       CHANEY                       AR     90012311074
22483243987B87   LAKEISHA     LEE                          AR     90014592439
2248333A987B59   SHERRY       WITHERSPOON                  AR     90009923309
2248371425B271   ANDREA       PERRY                        KY     90015107142
2248371919189B   SETH         ARREDONDO                    OK     90001467191
2248372A14795B   KARINA       WORTMAN                      AR     90010717201
2248386224B281   STEPHANIE    MCNERNEY                     NE     90009988622
2248432617166B   CASSONDRA    ROBINSON                     NY     90013583261
2248445559155B   LUCERO       CORTEZ                       TX     75032174555
2248449114B588   KYLE         BARNES                       OK     90013754911
2248458715715B   MARIA        IGLESIA                      VA     90013025871
224845A637B449   NICOLE       HOBSON                       NC     11093475063
22484887387B59   JOSEPH       CRAIG                        AR     90015288873
22484A88455957   RACHEL       SANCHEZ DE CARRERA           CA     90015100884
2248512115B232   SUSIE        CHRISTENSEN                  KY     68016441211
22485199687B87   NATINA       CUMMINS                      AR     90015131996
2248524A293723   GARY         GILKEY                       OH     90007482402
224863A575B571   RICARDO      ORONA                        NM     90012613057
224865A787B471   DINIA        ALEMAN                       NC     90001215078
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2248766477B449   JORGE         ALBERTO                     NC     90014526647
2248782415B161   TAYLA         HOSEY                       AR     90011308241
2248786969136B   DEBRA         MORRIS                      MO     90011968696
2248787365B571   JOSHUA        ORTIZ                       NM     90014038736
22487887472B84   JOSE          CHANEZ                      CO     90007848874
2248791915B232   TERRISHA      FRANKLIN                    KY     90014059191
2248794715B271   SHANAY        SOLOMON                     KY     90009949471
2248825A47B471   MIKE          GRAHAM                      NC     90000232504
2248841A15715B   KENNETH       CAISON                      VA     90012834101
22488437A91528   JOSE          ENRIQUEZ                    TX     75088004370
2248872825B571   JACQUELINE    PERALTA                     NM     35004867282
2248887815B571   ALMA          SERVIN                      NM     90014038781
2248894444B588   TINA          EMAM                        OK     90006439444
2248919475B232   THOMAS        STYERS                      KY     90009991947
2248945A791541   LORENA        PACHECO                     TX     90011494507
22489486572B42   JASON         BIADO                       CO     90004344865
2248972714B281   JOEL          SALVADOR                    NE     27040497271
22489755987B87   JAMES         HAMPTON                     AR     90009077559
2248984982B27B   CHAMBERS      JUNES                       DC     90010128498
2248B41177B449   ANDREW        GODDINS                     NC     90010734117
2248B516572B84   INMER         SANTIZO                     CO     33009925165
2248B685A91522   DAVID         AGUAYO                      TX     90015226850
2248BA7495715B   EDGAR         GARCIA                      VA     90010220749
22491726A2B27B   CHRISTOPER    ARMSTRONG                   DC     90013587260
2249179624B588   KRISTY        LITTLESUN                   OK     90007797962
22491991772B88   PRISCILLA     PRYOR                       CO     33054899917
22492226A91522   ANGELICA      ROCHA                       TX     90010382260
224926A2891541   AMBER         BLYSTONE                    TX     90013306028
2249288A35715B   GERMAN        CASTRO                      VA     90012698803
22492A86691828   PARIS         WILLIAMS                    OK     90014810866
2249352545B161   PATRICIA      BAKER                       AR     23024655254
2249366224B588   CHARLES       LOWE                        OK     90011126622
2249374694B261   JAMIA         GARRETT                     NE     90013187469
2249456179189B   JARED         PILGRIM                     OK     90003455617
22495838672B88   JOSE          ESTRADA                     CO     90013068386
22495A1484B261   GINA          LOVE-AGUILAR                NE     90005620148
224963A285B571   MARGARITO     LOPEZ                       NM     90010733028
2249663938B137   ALECIA        PULLEY                      UT     31031826393
224968A1891541   CLAUDIA       JASSO                       TX     90011238018
22496A2849794B   EVER          RODAS                       TX     90011910284
22496A3975715B   MARIA         ROMERO                      VA     90008130397
2249766A95B571   JUAN          BARRAZA                     NM     90010826609
2249767165715B   ERVIN         FIGUEROA                    VA     90013766716
2249821858B17B   LUIS          PENNA                       UT     90004572185
2249821899189B   ALEXANDRA     FOREMAN                     OK     90013122189
224983A3151369   KAYLA         CARPENTER                   OH     90006723031
22498741772B84   RACHEL        YEREBECK                    CO     90012667417
2249879A255957   ALEXJHANDRE   HOOPER                      CA     90011377902
2249953912B27B   SHAWNITA      JONES                       DC     81046335391
2249956964795B   KASKO         LOEAK                       AR     90013515696
2249957915B271   SAMANTHA      DAVENPORT                   KY     90009635791
2249985675B232   ANDREW        HARP                        KY     90009638567
2249998147B471   VICTOR        WALTON                      NC     11012119814
224999A849136B   CHRISTOPHER   KIRBY                       KS     90011949084
2249B428691541   ABIMOLA       ALLEYNE                     TX     90010684286
2249B836272B88   JOSE          ZAMARRIPA                   CO     90013068362
224B2145547952   JESSICA       CHAU                        AR     90015011455
224B2171147883   MICHELLE      CUTHBERT                    GA     90010481711
224B2726A55957   DAVID         GUTIERREZ                   CA     48021017260
224B2795691522   GARY          JOBE                        TX     90013027956
224B29A4472B88   MELISSA       PEREZ                       CO     33069399044
224B3752A91541   CARLOS        ROSALES                     TX     90004627520
224B3813572B88   MIGUEL        ROMAN                       CO     90014678135
224B398A155936   MARIA         GOMEZ                       CA     90011519801
224B45A9691241   TAMEKA        HOOKER                      GA     90013085096
224B4A3645B271   WALEED        ELSAID                      KY     90015210364
224B4A9385B271   DANNY         BRIDWELL                    KY     90013900938
224B512489184B   STEPHEN       WILLIAMS                    OK     21056951248
224B539565B232   ROBERT        MILLER                      KY     90011453956
224B5399491241   SHERON        ROBINSON                    GA     90014813994
224B576352B931   WILLIAM       BURTON                      CA     90005847635
224B5774772B84   SERGIO        CARO                        CO     90013807747
224B7565281638   RHONDA        DENNIS                      MO     29001105652
224B7A48455957   LORRAINE      SAMUELS                     CA     48082190484
224B922185715B   LISANDRO      MARTINEZ                    VA     90012102218
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224B9715585938   ANGEL            JACKSON                  KY     90002407155
224B9731372B42   PHILLIP          YOUNG                    CO     90005827313
224B9A19187B59   OLISE            BROWN                    AR     90014590191
224B9A69A9794B   JUSTIN           WALKER                   TX     90013570690
224BB43217B471   JAZMINE          JERELDA                  NC     90015534321
224BB43A172B84   ALTHEA           BAKKE-LYSAKER            CO     33096104301
224BB64A65B232   COREY            FLETCHER                 KY     90012906406
224BB818A91251   HEAVEN           WHITLEY                  GA     90009158180
224BB97337B471   CIERRA           ROYAL                    NC     90012789733
224BB976A87B87   DEWAYNE          EVANS                    AR     23034499760
2251123117B471   KIMBERLY         PROCTOR                  NC     11084262311
2251128A172B88   CHRISTABEL       AGUIRRE                  CO     33072702801
2251148174B261   TASSERE          KABORE                   NE     90013434817
2251185285B571   MAYRA            ATILANO                  NM     90014868528
2251189419155B   EMMA             ESPARZA                  TX     90011418941
2251189AA8B168   TAMARA           SHAW                     UT     31018138900
2251199789189B   NATHAN           ORAND                    OK     90014759978
2251223795B531   MARCELA          ROMAN                    NM     35089512379
2251258515B232   TRACY            STARR                    KY     90012145851
225131A129184B   KAREN            DAVIS                    OK     90013661012
2251348A53B391   JAY              JOHNSON                  CO     90010944805
225139A2587B59   MARIA            GABLE                    AR     90014629025
22513A88991828   TRAVON           PETE                     OK     90014810889
2251432635B232   TEDD             LOGSDON                  KY     90014703263
225144A3185938   MARIO            PEREZ                    KY     67016114031
22514577272B98   GABRIEL          LOPEZ                    CO     33034495772
22515132187B87   NATASHA          COOPER                   AR     23075801321
2251529682B27B   AHMED            BASTO                    VA     90012532968
22515A96972B42   MANUEL           ORTIZ                    CO     90014950969
2251631389155B   JESUS            RODRIGUEZ                TX     90014813138
22516482687B87   DONTA            MAYWEATHER               AR     90015404826
2251697817B449   DONNA            PORTER                   NC     90012759781
22517289A91241   RONALD           HOLLAND                  SC     90012812890
22517319272B42   MARCOS           RASCON                   CO     90011863192
225176A949155B   ROBERT           HANLON                   TX     90013416094
225176A9691828   FELICIA          BUCHANAN                 OK     90012976096
2251784385715B   JOSE             MEJIA                    VA     90010778438
22517953287B87   GENE             GIVENS                   AR     90013539532
22517A5345B161   NATALIE          RICE                     AR     23013930534
22517AA114B261   DOUGLAS          WATSON                   NE     90009190011
2251873A191541   HECTOR           ZUBIA                    TX     75015427301
2251952A74B588   PRECILLA         ACOSTA                   OK     90011085207
2251961637B449   MARTINEZ         TEODULO                  NC     90011916163
2251964724B588   GUMAYO           LUBANO                   OK     90010806472
225197A1755957   JESSICA          ENRIQUEZ                 CA     90012297017
2251987195B232   LATOYA           REED                     KY     90011488719
2251BA4A12B27B   BAYLINDA         WASHINGTON               DC     81013050401
2252149655B232   OMAR             DE LA CRUZ               KY     90000674965
2252233965715B   BASHIRU          KANU                     VA     90006403396
225225A485B271   STEVEN           CARR                     KY     90013755048
2252271352B27B   MERCEDEZ         MILLING                  DC     90013147135
225241A714B588   HILARIA          MORALES                  OK     21555891071
2252421635B232   DOMINIQUE        THOMAS                   KY     90014742163
2252424824B52B   HEATHER          WEBER                    OK     90009142482
22524337A72B88   CHRISTINA        MCQUAY                   CO     90007873370
2252451A69794B   MARVIN           GARCIA                   TX     90014575106
2252489AA81637   BRIAN            EWIS                     MO     90013628900
22524A2218B168   ANDREW           FLITTON                  UT     31087500221
22524A55887B59   TASIA            JONES                    AR     90014630558
2252563A791241   DESIREE          JENKINS                  GA     90011156307
2252567725B161   BRYANT           CARTER                   AR     90015196772
225261A555B525   JESSICA          MARTINEZ                 NM     90004821055
225262A924B588   CHRISTI          NELON                    OK     21513942092
2252634965B232   KRISTOPHER       MUELLER                  KY     90013013496
2252716469189B   MARIA CRISTINA   PACHECO RUIZ             OK     90010831646
2252771389155B   ELVIA I          SANCHEZ                  TX     90011717138
2252778189794B   JOSE             OLALDE                   TX     90013027818
22527A56631631   FABIAN           HOLT                     KS     90014630566
22527A85787B59   DANNY            WALKER                   AR     23083500857
22528793972B88   AQUILINA         IBANEZ                   CO     33028827939
225287A6591522   BELINDA          MORALES                  TX     75071767065
2252921355B271   NATALIE          BAIN                     KY     90011102135
225295AA39794B   MARLENE          ARZATE                   TX     74017335003
2252961349155B   CITA             JIMENEZ                  TX     90011716134
22529A2249136B   ELVIRA           GONZALEZ                 KS     90001860224
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2252B161691522   REBECCA         ARMENDARIZ                TX     90014091616
2252B29399184B   SANTIAGO        GARCIA                    OK     90004382939
2252B31167B471   BERENICE        CRUZ                      NC     90012333116
2252B89555715B   GAVINA          TAVERAS                   VA     90015198955
2252BA21172B88   JANETTE         PADILLA                   CO     90010300211
2252BA47772B84   SALLY           MARQUEZ                   CO     33033090477
2252BA8597B471   ALEJANDRA       CABRAL                    NC     90012620859
2253117A65715B   NANCY           RODRIGUEZ                 VA     90009811706
22531348A91541   INTERNATIO      FREIGHT                   TX     75059123480
22531412A72B98   ISELA           HERRADA                   CO     33086434120
2253148857B471   WANDA           KIRK                      NC     90013714885
225314A525B232   SANDRA          BRUNER                    KY     90012324052
2253172917B471   NABEY           CARLOSE                   NC     90015447291
225321A985B571   WILLIAM         GARCIA                    NM     90013081098
22532286387B87   KYLA            LANKFORD                  AR     90013212863
225324A2791828   JASMIN          BELL                      OK     90014824027
2253251835B167   CYNTHIA         BOYKINS                   AR     23091625183
2253264775715B   JOSE            POZA                      VA     90008566477
2253275355B271   EBELYN          LABRADA                   KY     90000877535
22532A5477B471   LESBIA          MARTINEZ                  NC     90011570547
2253329A372B84   ALEXIS          MAESTS                    CO     33095332903
2253351789155B   TAMMARA         COBLE                     TX     75026995178
225343A399189B   FABIOLA         VILLAVICENCIO             OK     21090773039
22534A11281648   GREGORY         MIDDAUGH                  MO     90010360112
2253514515B571   NICOLE          SMITH                     NM     90011901451
2253523629155B   GUADALUPE       RIOS                      TX     90012272362
2253568117B449   YESSENIA        LINO                      NC     90013226811
2253568327B335   MIRIAR          VILLI                     VA     90009066832
22536254A91828   JACOB           HUGHES                    OK     90014982540
22536855172B88   MOHART          GONSALEZ                  CO     90013068551
22536A8615B271   CORNELIUS       HENRY                     KY     90014620861
2253751585B271   PAM             FEREBEE                   KY     68052445158
22537AA1A72B88   THOMAS          BYERS                     CO     90014100010
2253856239152B   LUIS JOSE       LEDEZMA                   TX     90001145623
2253861A19184B   SHURON          DAVIS                     OK     90014566101
2253887299189B   LEAH            KRAUTTER                  OK     90011868729
2253898115715B   BYRON           CAMPBELL                  VA     90014469811
225391A849155B   JORGE           ROBLES                    TX     90014021084
2253967244795B   CHRISTOPHER     VAUGHN                    AR     90013496724
2253B338472B88   ERNESTO         HERNANDEZ                 CO     90014673384
2253B412291541   MARIA           MARQUEZ                   TX     90010994122
2253B7AA272B84   DILLON          ANDERSON                  CO     90015127002
2253BA1749189B   EDUARDO         SANDOVAL                  OK     21082880174
2254114644B588   JERRY           WALL                      OK     90014271464
2254137655B342   KATIE           ROSSELL                   OR     90012583765
2254154259189B   JUANITA         RESENDIZ                  OK     90014125425
2254284A791522   FERNANDO        YANEZ                     TX     75095558407
22542855972B88   ELISA           ZRUBEK                    CO     90013068559
2254298655715B   LEIDY           PENADO                    VA     90012649865
22543279272B88   KEVIN BRADLEY   SEALE                     CO     90013272792
2254439445B571   JOSHUA          TAFOYA                    NM     35096143944
2254441595715B   JUAN            ZACARIAS                  VA     90007224159
22544525372B42   HAVEN           KREITLER                  CO     90012205253
225448A4131453   BONAIRE         SMITH                     MO     90006578041
225455A295B232   DANIELLE        FLODEN                    KY     90005265029
22545A67191828   KELLI           CHESNEY                   OK     90007790671
2254696759794B   BARBARA         FILLMORE                  TX     74062119675
2254718A75B161   KATHY           MAESTAS                   AR     90007681807
2254745237B471   WENDELL         GRAHAM                    NC     90007744523
2254747974B588   DANIEL          DE LA ROSA                OK     21501084797
2254767425715B   PAULINA         KANU                      VA     90015416742
22547757972B84   DEO             ARVIZIO                   CO     90013487579
2254777565B571   KATHERINE       LIPPERT                   NM     90011007756
22547917787B87   CONSTANCE       LOCKHEART                 AR     90011149177
22548433872B98   EBER            LOPEZ                     CO     33014804338
22548513972B84   GARRY           DANNY SAMORA              CO     90011355139
22548851733B21   ANGIE           WAGNER                    OH     90009878517
2254888A49155B   MARISOL         GONZALEZ                  TX     90002238804
22548A3685B232   CLAIRE          CORNETT                   KY     90009740368
2254938444795B   CARLTON         OCTOBER                   AR     90014863844
22549455A61921   LOUIS           GOLETTO                   CA     90007754550
2254946A347952   VICTOR          ORTEGA                    AR     90013674603
22549A59A47952   CORNELIUS       JILES                     AR     90011590590
2254B13369136B   KRISTINA        GIORDANO                  KS     90011941336
2254B161691522   REBECCA         ARMENDARIZ                TX     90014091616
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2254B462772B88   JUAN           TALAMANTES                 CO     90010094627
2254B55639136B   SIBIA          ROBERT                     KS     90014405563
2254B644747952   RENEE          BURKETT                    AR     90012686447
2254B763155957   FAUSTINO       CASTRO                     CA     48067887631
2254BA89A5B161   VASHITA        BARRON                     AR     23088870890
22551111472B84   LLOYD          PADILLA                    CO     90015191114
2255155A85B531   JOSEPH         VALDEZ                     NM     35090465508
2255162535715B   ELLIOTT        LYLES                      VA     90012356253
2255166A89155B   LIRA           GERARDO                    TX     90011716608
2255188127B471   ERNESTO        PEREZ                      NC     90012468812
22551AA5761921   AMMAR          JABOORI                    CA     90001500057
2255224494B588   NANCY          AINESWORTH                 OK     90012012449
22552311A4B261   TAWNIA         ROGERS-LADD                NE     90014883110
22552412A81661   ALINA          GONZALEZ                   MO     29079574120
225527A474B261   DAMIEN         BARR                       IA     90011967047
2255334375B232   CHRIS          SMITH                      KY     68025193437
2255354A99155B   EDUARDO        SERRANO                    TX     90013415409
225535A9355957   STEPHANIE      MENIX                      CA     90014155093
22553743987B87   QUINTAL        WOODS                      AR     90011437439
22553956772B88   ELIZABETH      LOPEZ                      CO     90005249567
2255426A95715B   FREDDY         CLAROS                     VA     81043442609
22554861872B88   VICTOR         OLIVAS                     CO     90013068618
22554AA634B261   JANETE         CATALAN                    NE     27059260063
2255583819184B   BRIAN          GABLE                      OK     90011308381
22555A12951369   ANTONIO        DOROTEO-CASTILLO           OH     66017370129
225563A1172B98   CRYSTAL        HARRIS                     CO     33088113011
22556458187B87   BETHANY        FESTERVAND                 AR     90014114581
22556AA9172B88   JACOB          LOOMIS                     CO     90012380091
22557269A81661   EDWARD         MORROW                     MO     29079112690
2255741444B261   KIM            BROWN                      NE     90012024144
22557541A72B84   BRIAN          ARNOLD                     CO     90007865410
2255764855B161   AYESHAH        MUHAMMAD                   AR     90011026485
225576A2991889   SHIMIKO        BELL                       OK     90011076029
22557A49491241   TESHA          LEE                        GA     14566790494
22557A97355957   MARC           SUMMERS                    CA     90009090973
22557AA887B449   QUANTIS        ANTHONY                    SC     90010810088
22558A57391828   BRITTANY       MALONE                     OK     90015460573
2255912395715B   KARL-RUDOLPH   ETIENNE                    VA     90012861239
2255918A691528   CLAUDIA        WILLIAMS                   TX     75014661806
2255925159136B   DWIGHT         HALLIBURTON                KS     29067292515
225594A4791828   SHEILA         SHEILDS                    OK     90005064047
22559A6955B271   DENNIS         DOUTHITT                   KY     90015260695
22559A6A755957   SARAH          GEE                        CA     90009740607
2255B295674B79   KRISTINA       BROCKLEBANK                PA     51017732956
2255B436891522   WALBERTO       GONZALEZ                   TX     90008464368
2255B73179189B   ADOLFO         CANO                       OK     21047017317
2255B918372B42   DANIEL         PEREZ                      CO     33064119183
2255B961A84364   JERRYL         JOHNSON                    SC     19064379610
2255BA16555957   RICARDO        ARMENTA                    CA     90011910165
2255BAA3A51365   KIM            STONECIPHER                OH     66065340030
225614A3A5B161   TAPPETHA       SIMPSON                    AR     23082954030
22561684572B42   ELIZABETH      WARD                       CO     33025886845
22561856A72B84   ADRIANNA       GUTIERREZ                  CO     90014458560
2256191159155B   ALFREDO        VELOZ                      TX     90003979115
2256229778B17B   JOSE           MENDEZ                     UT     31017392977
2256253614B261   MARY           HARRIS                     NE     27067575361
2256292344B588   JANIE          JENNKINS                   OK     90010859234
2256377574795B   PAYGO          IVR ACTIVATION             AR     90012327757
2256389645715B   BERNARD        DIAZ                       VA     90002818964
2256438A22B27B   REGINA         WHITAKER                   DC     90014853802
225647AA447952   LELANI         BROWN                      AR     90011597004
225649A215B167   YALOUNDA       WILLIAMS                   AR     23036219021
22564A95955957   DEBBIE         SANDOVAL                   CA     48075070959
22565A93747952   MATTHEW        ERIKSON                    AR     90013130937
22566198A72B88   FAY            LACEY                      CO     33014611980
22566384372B42   SOPHIA         RIVERA                     CO     90011463843
22566581887B59   MERTIS         BONNER                     AR     23057405818
2256669814B588   AUTUMN         LEYBA                      OK     90010986981
2256691159155B   ALFREDO        VELOZ                      TX     90003979115
2256694897B471   CARLA          DANIEL                     NC     90010819489
2256696515B271   CRYSTAL        WERNER                     KY     68014109651
22566A17A91522   LILIA          BRANDHAM                   TX     90012110170
22566A42591251   MARICA         GRAY                       GA     90010210425
22566A8449794B   DEEPIKA        LAKSHIME                   TX     90006290844
225674AA15B167   VERNON         ALEXANDER                  AR     23089974001
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2256764729184B   D ANDRA      WOOD                         OK     90005116472
22567677887B87   PAYGO        IVR ACTIVATION               AR     90013876778
2256772218B17B   MARIA        MORALES                      UT     31072737221
22567A44191528   MICHAEL      HERI                         TX     90012930441
22568635A5B571   JORGE        CALDERON                     NM     90015176350
22568685A5B531   DENISE       GRAY                         NM     35089526850
22568795472B42   ALAN         GEISLER II                   CO     90012177954
2256963137B449   MARCELO      CORDOVA BECERRA              NC     90010456313
22569638972B84   ROBERTA      GOLDAMMER                    CO     90012926389
22569A98461992   HORACIO      MARTINEZ                     CA     90006450984
22569AA8691241   ANSELM       MUSTIPHER                    GA     90013410086
2256B287387B87   RICHARD      OVERTON                      AR     23009222873
2256B55395B571   JOSE         RODIGUEZ                     NM     90013415539
2256B57A691541   MELISSA      MIRANDA                      TX     90007355706
2256BA4535715B   VICKI        HARROD                       VA     90012750453
22571694A9155B   PRISCILLA    OCHOA                        TX     90012816940
2257171949136B   MARGARITA    VALLES                       KS     29009187194
22571A75472B88   JORGE P      SALAS                        CO     33004890754
2257266749794B   ALEJANDRO    MARTINEZ                     TX     90007606674
2257269739136B   JOSE         ABDIAS                       MO     90012446973
225726A1A4B592   CRYSTAL      WALKER                       OK     90008746010
2257283354B261   ROCHELLE     HOLAND                       NE     90010288335
22572A5957B471   JASON        AGNEW                        NC     11009150595
225732A635B271   ALI          HASSAN ARFAH                 KY     90002722063
22573363272B88   ARACELI      ANGUIANO                     CO     33056273632
2257359325B571   ROSALINA     QUINONEZ                     NM     90008705932
2257377445B161   ALLISON      DAVIS                        AR     90010387744
22573A16985938   AMBER        WALLS                        KY     90014770169
22573A9494795B   MARIA        CRUZ                         AR     90013060949
22574486972B84   MONICA       OLIVAS                       CO     90006004869
2257456659155B   CONSTANCE    SPARKS                       TX     90014645665
2257482369189B   DONALD       POPE                         OK     21094038236
22574845172B84   RUBEN        BALDERRAMA                   CO     90012158451
2257499A191828   AMANDA       DARBY                        OK     90007259901
2257528924795B   ANGELA       HENSON                       AR     25006262892
22575351472B42   SARAY        ALVARADO                     CO     33023703514
225765A444B261   NATE         BURRELL                      NE     27083465044
225767A3791541   NOE          PEREZ                        TX     75083247037
2257814412B27B   PEDRO        BONILLA                      DC     81016161441
22578391872B98   KRYSTAL      TADYCH                       CO     90008923918
2257857214B261   ALAN         RULLA                        NE     90011985721
22578623172B84   GABRIELA     CASTRO                       CO     90012666231
2257868A291522   CARLOS       DELGADO                      TX     90004876802
2257883485B531   DAVID        MONTOYA                      NM     35089528348
22579269A9136B   TYRONE       LEWIS                        KS     29087872690
2257928687B449   MONTRICE     MCGILL                       NC     90013872868
2257998224B588   DENIKA       GIVENS                       OK     90008859822
2257999934B251   JOYCE        MORENO                       NE     27088889993
22579A96187B87   GWENDOLYN    NELSON                       AR     23056070961
2257B31625B232   STEPHANIE    DENISE                       KY     90015173162
2257B855572B42   VICTOR       GALINDO CONTRERAS            CO     90009088555
2257B978A81661   MITCHELL     DONNIE                       MO     90014569780
2258115A52B27B   KANIBONNON   TUO                          DC     90012021505
2258122684B261   CATHY        WELCH                        NE     90014682268
22581262154B84   ANTHONY      MENSAH                       VA     90008062621
225812A4191541   BEATRIZ      RODRIGUEZ                    TX     75093232041
22581A6A55B571   MELISSA      VELETA                       NM     90007960605
2258212675B161   BRIAN        ROBINSON                     AR     90014511267
22582435A9189B   MONTE        GRAYSON                      OK     90011894350
225827A4A2B232   DWAYNA       LEACH                        DC     81072677040
2258353A393723   MARILYN      HARTZ                        OH     64522765303
22583924487B59   LETRESSA     NEAL                         AR     90005129244
2258394599155B   DAVID        REYES                        TX     90013159459
22583A46591541   JAZMIN       GARCIA                       TX     90015260465
22583A8269184B   STEPHEN      SMITH                        OK     90010000826
2258417258B324   RAQUEL       STEVENSON                    SC     90001321725
2258427828B168   TERRY        LYNNE                        UT     90009952782
2258443A984353   ESTEBAN      CORIA                        SC     90013644309
22584837287B87   JONATHON     HOLLIDAY                     AR     90011988372
2258538219155B   ASHLEY       WILLIAMS                     TX     90011853821
2258539517B471   CHERIA       TORRENCE                     NC     11027083951
2258545745715B   LEYDI        GUTIERREZ                    VA     90012774574
2258547585B167   JOYCE        STOKES                       AR     23050434758
2258576544B588   DEVIN        TRENT                        OK     90012367654
2258636824B551   HOTSHOT      IDLETT                       OK     90001603682
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225865A3A4B261   WANDA            SMITH                    NE     90010095030
2258688549189B   JOSE             SEPULVEDA                OK     21089098854
2258693267B471   BARBARA          SABOE                    NC     90005179326
22586A36481661   BRIGETT          WILKINS                  MO     90015470364
225875A7141245   DOUGLAS          FREEMAN II               PA     51071975071
22587A3295B271   SKITORIA         WRIGHT                   KY     90011390329
2258816344B261   SYLVIA           SAMUEL                   NE     27089531634
225883A9193773   AMADIN           AGBON- LAHOR             OH     64515213091
2258842947B471   DEMPSEY          GIBSON                   NC     11002394294
22588526172B84   GLADYS           ZECENA                   CO     33001095261
2258875A787B87   JERRY            OGLESBY                  AR     23092597507
22588947A74B79   TANYA            THOMAS                   PA     90005969470
2258911A172B84   LYDIA            PORTILLO                 CO     33034501101
22589338872B88   JORDAN           PETERSON                 CO     90011563388
2258934989155B   MYRA             SONORA                   TX     75073703498
2258936727B43B   NOEL JAVIER      JIMENEZ                  NC     90012793672
2258967744B588   TODD             FOSTERQ                  OK     90009246774
2258B162472B84   MARK             SORRENTINO               CO     90011971624
2258B26A44B261   TYLON            HOLMES                   NE     90004672604
2258B3A8191541   MARIA            CAZARES                  NM     75047803081
2258B62AA87B87   KIANNA           REED                     AR     23016776200
2258B89295B571   MINERVA          GOMEZ                    NM     35066198929
2259181A19136B   AMELIA           CLARK                    KS     29032448101
22591852187B59   BARBARA          BESS                     AR     23069898521
22591AA829794B   FANCY            JOHNSON                  TX     74094870082
22592555A7B449   VALERIE          THOMPSON                 NC     90015025550
2259264125715B   PEDRO            ROMERO                   VA     90009696412
22592A37591541   PADILLA          ANDRES                   TX     90000320375
22593481A55957   JEREMY           THAYER                   CA     90013964810
22593544172B42   CRISSY           BABB                     CO     33009815441
22593889872B88   ROSEMARIE        ROLDAN                   CO     90014718898
225939AA92B27B   FLOYD            COBB JR                  DC     90010899009
2259438817B449   DIANA            LUCERO                   NC     90008943881
22595778A21929   LUIS             ROMERO                   IN     90015267780
2259583327B471   MARCO            FLORES                   NC     90010438332
2259588647B449   JESSICA          FISHER                   NC     90000538864
2259598985715B   LAVENIA          JACKSON ANDERSON         VA     90005509898
22595A9899794B   CARLOS           SANCHEZ                  TX     90001430989
2259631A847952   IVAN DE JESUS    SANTIAGO                 AR     90011603108
2259664195B571   ANNAMARIE E.     GARCIA                   NM     90015176419
22596897A31631   CHRIS            HEWITT                   KS     90014638970
22597484A9136B   VICTOR           RIVERA                   KS     90006284840
22597785A91B35   ELENA            FRANCISCO                NC     90015387850
2259787624B281   SEAN             PHILLIPS                 NE     27099518762
2259792718B147   MIGUEL           RAMIREZ                  UT     90013639271
22597A7A631453   DEVIN            MILLER                   MO     90012540706
225983AA672B84   DALE             MAUS                     CO     90011453006
2259841434B588   CHRISTINA        JENSON                   OK     90013564143
2259873895715B   MARCUS           PUGH                     VA     90014767389
22599299887B59   SHERIE           GORE                     AR     90015332998
2259964985B531   RAMONA           DURAN                    NM     35045636498
2259983687B471   MARCELO          HERNANDEZ                NC     90010438368
2259998694B588   KATRINA          BLALOCK                  OK     90008859869
2259B175885938   KASSONDRA        COBB                     KY     90014761758
2259B7A4172B98   TINA             GUTIERREZ                CO     33037077041
2259B971481661   JAZMIN           VELAZQUEZ                MO     90013399714
2259BA9859136B   BRENDA           MACDONALD                KS     29002640985
225B122479184B   EMERY            PHILLIPS                 OK     90009332247
225B1728572B84   MARIA            CAMPOS                   CO     33088167285
225B1756A72B42   MARICELA         ZELAYA                   CO     90015227560
225B1A5AA91522   JESSE            SALAS                    TX     90013720500
225B242A85B167   MARY             KANE                     AR     23087404208
225B3352A72B84   JESSIE           MOYA                     CO     90014783520
225B366386196B   ELBIA            HILL                     CA     90008266638
225B38A9A87B87   RESHAMA          SYKES                    AR     90015398090
225B3937391933   MANUEL           MONZON                   NC     90003179373
225B464629155B   VICTOR           ALBA                     TX     90005376462
225B466649136B   JEROME           FAUSET                   KS     90011066664
225B4993A5B161   CRISTEN          DAVIS                    AR     90009119930
225B5457A72B42   JOLYN            CABRERA                  CO     33026024570
225B5593581661   JUAN FRANCISCO   DURAZO                   KS     90015585935
225B5667131631   LARRY            SMITH                    KS     22042486671
225B611AA41245   TENESHIA         CASH                     PA     90008391100
225B664735B271   VICTOR           HODGE                    KY     90008356473
225B7331A5B531   BARBARA          MONTOYA                  NM     35068793310
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225B7573993721   MEGAN        FLORA                        OH     90001255739
225B7614947952   ANDREW       RUSSELL                      AR     90013386149
225B7625555977   ADRIANA      VEGA                         CA     90002396255
225B76A2191541   ALFONSO      CHAVARRIA                    TX     90011876021
225B798394795B   SABRINA      ALEXIS                       AR     90015159839
225B7A8822B27B   CRISTINA     ELMORE                       DC     90005260882
225B818679189B   ASHLEY       WISE                         OK     90009381867
225B838A95B232   LAKESHA      CHANEY                       KY     90014593809
225B8525972B42   KASHUNDRA    SMITH                        CO     90014605259
225B8598772B88   EFRIAN       CARROLA                      CO     90013075987
225B885899184B   TROY         VAN HOLTEN                   OK     90011518589
225B8A89791528   ARTHUR       JAMES                        TX     75001600897
225B999914795B   RONNIE       WATKINS                      AR     90009249991
225B9A44581661   JENNNIE      POWELL                       MO     90011510445
225BB58589184B   RODNEY       PRICE                        OK     21073035858
225BB67589155B   LAURA        ZAYAS                        TX     90012816758
225BB846A72B88   LIZETH       MENDOZA                      CO     90013068460
2261138A555957   JESUS        RODRIGUEZ                    CA     90005173805
22611399A4B251   ANN          GILOTTE                      NE     27096313990
2261163435B144   KYLE         DISHMAN                      AR     90009076343
2261171994B52B   JEREMY       HENDRICKS                    OK     21525887199
226117AA25B271   ARYETTA      MCDONALD                     KY     90011147002
2261239814795B   JUSTIN       THOMAS                       AR     90006243981
2261297418B168   FAAMASINO    SAMUELU                      UT     31015539741
22612A63872B98   JUAN         PALOMO                       CO     90002090638
2261323697B471   BRETT        BUTLER                       NC     11069012369
2261333498B168   THERESA      FRAZIER                      UT     31011623349
22613356A4795B   MARIA        MANCIA                       AR     90010793560
22613721A87B59   MARKIE       PERDUE                       AR     23086147210
22613995187B87   ROISE        GARRETT                      AR     23020209951
22613A78191241   PAYGO        IVR ACTIVATION               GA     90015090781
22613AA465B571   NICHOLAS     MARTINEZ                     NM     35049890046
2261515A34B564   MARIA        HANNIGAN                     OK     90008111503
2261517325715B   JOSE         LOPEZ                        VA     90012111732
22615611A9794B   MARTIN       MATUL                        TX     74060916110
2261617755B571   KAREN        LUJAN                        NM     90012041775
22616244A85938   ERICIA       BEAN                         KY     90014762440
22616332672B42   ARTHUR       CRUZ                         CO     33025393326
2261685134B261   ANN          BROWN                        NE     90001638513
22616AA145B571   ACHAIA       BASEY                        NM     90014050014
2261715679184B   RICHARD      ROBERTS                      OK     90002121567
2261716515B531   ELEXIS       PANAS                        NM     90004161651
22617244A85938   ERICIA       BEAN                         KY     90014762440
22617254172B42   LUIS         RUIZ-GARCIA                  CO     90011822541
2261764579184B   NICOLE       WILSON                       OK     90013516457
22617A8779794B   AMMOND       STEPP                        TX     90013880877
2261864715B531   ROSA         REGALADO                     NM     90013536471
226186A4772B88   SANDER       KLEIN                        CO     90013076047
2261881975B161   VANTRICE     CAMPBELL                     AR     90014888197
22618A56641245   PATRICAI     WOOD                         PA     90000820566
22618A8177B449   NIKITA       HALL                         NC     90012090817
22619244A85938   ERICIA       BEAN                         KY     90014762440
2261995835715B   NORMA        ZAVALA                       VA     90010669583
2261B232381661   ELIZABETH    CRUZ                         MO     90008532323
2261B345A81661   JOSE         GUZMAN                       MO     90014593450
2261B51235B571   OLGA         ARCINIEGA                    NM     35013445123
2261B558A72B84   GRISELDA     VILLALPANDO                  CO     90014025580
2261B64464795B   CHRISTINA    ROGERS                       AR     90014816446
2261B75655B161   SEVELTA      MACKEY                       AR     23068277565
2261B797687B21   NECOLE       MOSBY                        AR     28049077976
2261B981691241   GEORGE       BRADLEY                      SC     90015239816
2261BA44531631   MICHELLE     OTT                          KS     22089270445
2262145195B167   COURTNEY     LAMBERT                      AR     90014784519
2262153355715B   CLARISSA     AYENSU                       VA     90011505335
22621A5855715B   ROBERO       RIVAS                        VA     90012390585
22623621A4B588   ANDREA       JONES                        OK     21589656210
2262366585715B   VICTOR       QUINTERO                     VA     90012796658
2262393A547952   AARON        NEDLEY                       AR     90013139305
2262455A22B27B   ANDREA       KEY                          DC     90003465502
22624A2934795B   IDAIT        LOERA                        AR     90009220293
226258A855B271   MELISSA      WHITLOW                      KY     68038768085
22626147772B84   BRION        MASON                        CO     90011141477
2262615855B571   MIGUEL       APODOCA                      NM     35072911585
2262634269184B   REYNALDO     RODRIGUEZ                    OK     90000763426
2262635464795B   THELMA       SNODGRASS                    AR     25026473546
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226264A735B271   LISA               RENFROW                KY     90013804073
2262655465B531   STEPHANIE          CAMARENA               NM     90008695546
22627355687B59   JOE                BRIGGS                 AR     23024273556
2262744379155B   JOSE               AGUIRRE                TX     90004724437
2262752579794B   VISENT             ARENAS                 TX     90013585257
2262788419189B   DERRICK            KELLUM                 OK     21076188841
2262789687B449   TIFFANY            JOHNSON                NC     11002438968
22627A85385938   LORI-JO            HASTY                  KY     90007270853
22627A9A72B27B   CELESTE            TURNER-HOLMES          DC     81040550907
2262815919794B   JOSE               MOLINA                 TX     90007041591
226281A2431631   SARAH              WISEMAN                KS     90007471024
22629464A72B42   TIM                DEAN                   CO     90009594640
22629521A91395   ROBERT             RUBINETTI              MO     90007625210
2262957114B281   NINA               DELANEY                NE     90010025711
22629844A91528   JAIME              FABELA                 TX     90006528440
2262B23A15B161   EDIE               JONES                  AR     23013902301
2262BA5169794B   JOSE               GARCIA                 TX     90012630516
22631355A72B42   VERONICA           GALINDO                CO     33045703550
22631563A72B84   JULISA             GOMEZ                  CO     90010025630
22631675A4B588   JOSHUA             WINGATE                OK     21555736750
2263177429136B   JAYSHREE           VYAS                   KS     90013787742
22631824A5715B   NGO                VAN                    VA     90012488240
2263184A531466   MEL                EBERLE                 MO     90010958405
2263186745B271   GARRICK            UTTERBACK              KY     90000208674
226319A792B232   ANDREA             ERVIN                  DC     90002759079
22631A4919155B   CARLOS             ALDERETE               TX     75043500491
22632727472B84   LYNETTE            FRIESON                CO     90011247274
22633133472B42   DONAE              HOLLINGS               CO     33032961334
226331A4A9155B   ROSA               RUIZ                   TX     90012801040
22633439587B59   BELINDA            ADAMS                  AR     90010804395
22633819587B59   PATRICE            COOPER                 AR     90014658195
2263483745B232   SHAWN              RICHARDSON             KY     68048058374
22635364987B87   DERRICK            SLOAN                  AR     90010963649
22635A49191522   CARLOS             ALDERETE               TX     75043500491
2263636825715B   CASANDRA           LEWIS                  VA     90013943682
2263658199155B   JAMA               PHELPS                 TX     90014645819
22636617772B88   CARLOS             RAYFIELD               CO     90013076177
226366A645B232   DANIEL             LOPEZ                  KY     90012146064
22636A5227B471   OSCAR              CONTRERAS              NC     90012580522
2263748929794B   ALBERTO            SIC                    TX     74015464892
2263771315B271   KENNIETH           DMCGILL                KY     90010957131
22638165372B84   LORRI              DONEYSON               CO     33055401653
226383A299189B   DIANA              MOORE                  OK     21048283029
2263854589184B   JYMMI              SMITH                  OK     21089465458
2263898842B27B   CLIFFORD           FOWLER                 DC     90014479884
2263974519184B   EMANUL             MORGAN                 OK     90010457451
22639948572B53   VALLES             KARINA                 CO     90010859485
2263B297585938   LATISHA            AUSTIN                 KY     90014762975
2264117514795B   ROSALVA            VARGAS                 AR     90011121751
2264142537B471   ANA                MEDINA                 NC     90012214253
2264168395715B   GILBERTO           LOPEZ                  VA     90001526839
226418A324B261   RAUL               CHAVEZ                 NE     90007788032
2264282765B571   YOLANDA            BACA-TORRES            NM     35094118276
2264382765B571   YOLANDA            BACA-TORRES            NM     35094118276
22643844A72B84   ROBERT             GUEVERA                CO     90002888440
22643A74197B41   GUSTAVO            VILLALBA               CO     39086780741
2264411369155B   EDGAR              BARRIENTOS             TX     75023931136
226441A3A7B449   MICHELLE           LYLES                  NC     90012181030
22644335572B88   DESARAY ONETOONE   STHOENFELDER           CO     90004263355
22644844A72B84   ROBERT             GUEVERA                CO     90002888440
2264559A687B87   STEPHANIE          HAYES                  AR     90014865906
226455A6272B84   STANLEY            BENTLEY                CO     90009035062
2264652215715B   LISA               COURTS                 VA     81088145221
2264691714B281   MELANIE            BEY                    NE     90009819171
2264715A37B449   BRITNEY            WHITE                  NC     11087061503
22648466172B47   ADRIANA            RAMOS                  CO     33063194661
2264861959155B   LAURA              RANGEL                 TX     90013416195
22649385A9184B   KHAIA              KING                   OK     90002703850
2264971685B161   TAMATHA            THORNTON               AR     90011027168
2264B334587B21   SANDRA             CONRAD                 AR     28096513345
2264B54629136B   FAUSTO             MONDRAGON              KS     90012515462
2264B627633126   LUIS               LUNA                   IL     90015466276
2264BA37672B84   WENDY              CHICAS-ORELLANA        CO     90012320376
2265158429155B   NEIRA              JUDITH                 TX     90014645842
22651A13791241   JONATHAN           DIVANNA                GA     90011870137
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2265214898B168   NIQUE NICHOLE   FRAISER                   UT     90005101489
22652628172B88   MICHAEL         AUTIO                     CO     90013076281
2265289A44B588   GARY            SHINAULT                  OK     90013878904
2265292415B271   ASHLEY          BURKS                     KY     90014609241
2265329A787B21   GERRI           MCCOMBS                   AR     28049952907
2265341758B17B   CYLE DAVID      ROWE                      UT     90006484175
22653969A5B232   ANGLIAN         HAGANS                    KY     90015279690
22654491587B87   PAYGO           IVR ACTIVATION            AR     90015324915
22654627887B59   TANESHA         THOMAS                    AR     90012266278
2265495A891828   JAMIE           FAUTT                     OK     21010689508
22654A1617B449   SEQUIOA         LOGAN                     NC     90006190161
2265516465B28B   LYNN            MURRAY                    KY     90012251646
22655289A55957   BARBARA         BROWN                     CA     90012032890
226552AA28B168   HOLLI           GROBERG                   UT     31039182002
2265545A69184B   KAREN           STAATS                    OK     21067924506
2265547224B588   REBECA          ENRIQUEZ                  OK     90008274722
2265548939155B   RODOLFO         ZEPEDA                    TX     90011914893
22655A2842B27B   LENOARD         PHILLS                    DC     90014090284
2265644527B449   PABLO           PINZON                    NC     90012454452
2265648777B449   MICHAEL         WATSON                    NC     90015284877
22656555287B87   JOHN            CROW                      AR     23093345552
2265662A391522   SILVIA          PEREA                     TX     90014036203
2265688173B347   TREVOR          MCOMBER                   CO     90001698817
22656A6669184B   MARIA           ALCARAZ                   OK     21098310666
22656AA3451338   MARY JANE       TEEPEN                    OH     66039080034
2265752625B161   BELSAIN         HERNANDEZ                 AR     90003035262
2265753292B27B   MELISSA         DESSASO                   DC     81026135329
226596A539155B   CLIFTON         MORGAN                    TX     90014646053
2265984192B27B   TONY            WALKER                    DC     90014798419
2266117887B471   JESUS           ARCEO GONZALEZ            NC     90014371788
22661223A72B98   BRYAN           BILLS                     CO     33021252230
2266127979794B   CYNTHIA         ZAMORA                    TX     74089372797
2266156585B271   TOBY            HERKINS                   KY     90013685658
22661761287B59   PAUL            ASTELLO                   AR     90009257612
22661799A24B6B   MICHAEL         ANDERSON                  DC     81016027990
22661831A55957   FRANCISCO       MUNGUIU                   CA     90003868310
2266245784B261   MICHAEL         RICE                      NE     90012644578
22662A2A34B588   MICHELLE        BOBELU                    OK     90007760203
2266351A75B161   DERANDA         CARTER                    AR     90011165107
2266421AA4B281   SHARON          ENNIS                     NE     27078892100
22664223A72B98   BRYAN           BILLS                     CO     33021252230
2266467115715B   FRANKLIN        MUNOZ                     VA     90010766711
2266469389189B   TAMMY           MARTIN                    OK     90012496938
22664A19287B87   TARSHA          WILLIAMS                  AR     90015200192
22665138A72B88   JESSICA         CASILLAS                  CO     90014181380
22665223A72B98   BRYAN           BILLS                     CO     33021252230
22665666472B84   LIZBETH         PURECO                    CO     90013936664
2266617154795B   MIGUEL          SERRANO                   AR     90014911715
2266625384795B   MIGUEL          SERRANO                   AR     90013272538
2266656164B261   MICHAEL         REED                      NE     90008145616
22666A87191828   MARL            RENFRO                    OK     21073450871
22667283787B87   DANIELLE        BROWN                     AR     90015352837
22667895A5B167   BRITTANY        GATEWOOD                  AR     23068438950
2266933749184B   HILARIO         ROSALES                   OK     21072423374
22669613472B88   ROBERT          AGUIRRE                   CO     90005066134
2266B258991522   DESTINY         MARTINEZ                  TX     90014812589
2266B348691541   PRISCILLA       MEDINA                    TX     90001073486
2266B367191241   NORRIS          BROWN                     GA     90000163671
2266B4A429155B   ENRIQUE         SALCIDO                   TX     75023634042
2266B527391528   SILVIA          SANDOVAL                  TX     75013265273
2266B674587B59   SHUNDA          GENTRY                    AR     90014686745
2266B75A15B571   EALEY           APRIL                     NM     90005107501
2266BA3A287B87   SHANNA          SANDERS                   AR     90014030302
2267115875B271   WHITNEY         BIECKERT                  KY     90011991587
226711A6591241   RANDOLPH        FRAZIER                   GA     14571431065
2267131315B571   JACK            CANTRELL                  NM     35072533131
22671975287B87   JAMES           HAMPTON                   AR     23093899752
22672192A87B87   DIANA           OGLESBY                   AR     90012841920
2267226189136B   JOSE            GOMEZ                     KS     90005052618
22672617772B88   CARLOS          RAYFIELD                  CO     90013076177
2267277A84795B   SAMATHA         HOLSCHER                  AR     90013507708
2267291735B571   MONICA          ROYBAL                    NM     90011239173
22672953187B87   CHASSSIE        DAVIS                     AR     90015519531
2267299A831497   DANIEL          PARISH                    MO     90007139908
226732A9691528   CLAUDIA         MILLAN                    TX     75078712096
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2267332875B271   LINDA         SMITH                       KY     90008013287
2267332A487B87   PAYGO         IVR ACTIVATION              AR     90015403204
22673494372B88   IDELLA        HOLIWAY                     CO     33048164943
2267367244795B   CHRISTOPHER   VAUGHN                      AR     90013496724
2267385455B271   LINDA         SMITH                       KY     90012998545
2267399384B281   HECTOR        CASTILLO                    NE     90001139938
226741AA85715B   ERICK         MEIJA                       VA     90014951008
2267424814B588   MARGIE        BRUNER                      OK     90013802481
22674528587B87   SHAUNTAE      WILLIAMS                    AR     90015485285
22674A9979155B   LIZETH        SALAZAR                     TX     90000270997
22675519587B59   DARIUS        BAKER                       AR     90014705195
2267624232B27B   PAMELA        SMITH                       DC     90003032423
2267643A44B261   DOMINIQUE     BURTON                      NE     27030724304
2267644A755957   ARIANA        MORALES                     CA     90013794407
226765A2A72B88   LACEY         PATRICK                     CO     90001815020
2267716267B471   SHUNEKIA      HUDSON                      NC     90011231626
2267738447B471   ERIKA         MARTINEZ                    NC     90012603844
2267771685B161   TAMATHA       THORNTON                    AR     90011027168
2267787449794B   VICTOR        LEAL                        TX     90012388744
22677A2129794B   ROBERTO       DE-LUNA                     TX     90012420212
22677A8959184B   ELSA          VASQUEZ                     OK     21032380895
2267811434B588   JASEY         COX                         OK     90015481143
2267826394B261   SARA          CHRISTIANSEN                NE     90011462639
2267832179155B   ANGIE         LOPEZ                       TX     90011583217
22678697972B42   MICHAEL       DEVILBISS                   CO     90014866979
2267871A791828   KISHA         WALKER                      OK     90013527107
22678891672B84   AAMED         ISSACK                      CO     90015168916
2267899557B449   TESSIMA       GUY                         NC     90000829955
22678A65387B87   CLORINE       CHARLES                     AR     23065370653
2267924735B271   ANTHONY       MARTIN                      KY     90014842473
226792A4255957   RUSSELL       SWEITZER                    CA     48044652042
2267995484B588   DANIELLE      CHECOTAH                    OK     90012109548
2267B197372B47   JOSE          BONILLA                     CO     90002411973
2267B78757B471   FATEMA        BOULWARE                    NC     90000227875
2267B827A72B88   STACEY        THRAP                       CO     33076968270
2267B951A5B167   KANDISE       JARRETT                     AR     23065689510
22681157372B84   SEAN          MARKOVICH                   CO     90012801573
22681166A72B61   MICHAEL       MARTINEZ                    CO     90012681660
2268121389155B   VERONICA      AGUILAR                     TX     90008602138
2268155237B471   SHOXCO        CAMERON                     NC     90012115523
2268222872B27B   JERMAINE      JONES                       DC     81013112287
2268234A784353   EVANGELINA    HEWITT                      SC     90012143407
22682526A91541   SHANNON       RICH                        TX     90012115260
22682AA3184364   JOSEPH        GREENE                      SC     19019940031
2268381415B571   NATASHA       CASTILLO                    NM     35026848141
22683826472B42   SAMANTHA      ANDREWS                     CO     33053508264
22684341672B84   LACEY         STRELEC                     CO     90012193416
22684A11A72B88   JUAN          OCAMPO                      CO     33058750110
22685497972B84   MARIA         OCHOA                       CO     33058784979
2268569822B27B   YONATAN       TEKLE                       DC     90010096982
226861A849136B   CLAUDIA       MARQUEZ                     KS     90007331084
22686A6215715B   ANGELA        MURPHY                      VA     81014080621
2268742A87B449   JERRY         STRANGE                     NC     90012814208
2268833819794B   DONALD        GILBERT                     TX     90014893381
22688533987B59   CHERYL        LEE                         AR     90014705339
2268871254B588   JULIO         VASQUEZ                     OK     90008837125
2268873814795B   JAIMI         WARNER                      AR     25000437381
226888A864B261   SHELLEY       WHITLEY                     NE     27092048086
2268936A491241   CARLA         JONES                       GA     90013953604
2268962679155B   MIGUEL        PALACIOS                    TX     90014646267
2268966A547952   JASON         DAVIS                       AR     90014936605
2268969919136B   JOSUE         AVILA                       KS     90013686991
2268B353991828   PAUL          EMMES                       OK     90011123539
2268B35A14B281   KARI          MIDDLETON                   NE     27034693501
2268B949341251   LAKIESHA      WOLF                        PA     90010559493
2269139519155B   JESUS         LIMON                       TX     90011853951
226919A7872B42   VICTOR        NORIEGA                     CO     90013149078
2269234214795B   LISA          GARCIA                      AR     25053513421
22692645772B88   JESSE         PETERSEN                    CO     90013076457
2269275155B271   MICHAEL       COPLEY                      KY     90013627515
22692A1535715B   CHARLES       ROGERS                      VA     90015180153
2269317384B588   MANUEL        GUILLERMO                   OK     90007531738
22693472A8B168   SHANNON       ROSENBAUM                   UT     31012364720
22693627A9155B   MARQUIS       CRUZ                        TX     90014646270
2269369A587B59   BRENDA        JAMES                       AR     90014706905
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22693A11372B84   GERALD       HORTON                       CO     90012820113
22694423972B42   LYDIA        MARTIN                       CO     90014504239
2269464222B27B   ERIC         NELSON                       DC     90012126422
2269472894B588   BRYANNA      SHAW                         OK     90014827289
22694812187B59   JERRY        NORSEY                       AR     90009808121
22695119A91522   CLAUDIA      GARCIA                       TX     75013211190
22695469872B84   OTSMARO      ZELAYA                       CO     90008174698
22695628A5715B   JOSE         QUINTANILLA                  VA     90013026280
22695744687B59   JASON        DUNMORE                      AR     90014707446
2269613159794B   FERNANDEZ    EDILBERTO                    TX     90011911315
22696136987B87   SHAKISHA     ROYAL                        AR     90014571369
2269657589184B   NATALIE      GLASS                        OK     21020845758
22696667A5715B   FABIO        URREGO                       VA     90008006670
2269686739155B   KARINA       RUIZ                         TX     90011718673
2269695829189B   MARIO        BURKS                        OK     90015199582
2269719955B531   ADAN         PULGARIN-GURROLA             NM     35089571995
2269721155B161   SHAWN        MORGAN                       AR     90007672115
22697994172B88   MARTHA       RODRIGUEZ BUSTOS             CO     33043049941
22698254772B84   PAULA        ALBA                         CO     33012502547
2269844A45B271   DAYSHA       LEWIS                        KY     90013974404
226985A1A91828   JOSH         GIBBONS                      OK     90009325010
226986AA79189B   THOMAS       LANDRUM                      OK     90013396007
22698A69A72B27   TUONG        PHUOC KHA                    CO     90012780690
22698AA9247942   ELIZABETH    LEAL                         AR     90012330092
2269932784795B   JONATHAN     SAVAN                        AR     90015133278
22699432A5B161   MIKE         WYATT                        AR     90015104320
2269968759136B   LISSETTE     ALBOR                        KS     90012496875
226998A3372B98   FLORENTINA   GALLEGOS                     CO     33021258033
22699978A7B471   AGUEDA       PEREZ                        NC     90012169780
22699AA7772B88   KATHRYN      LIVINGSTON                   CO     33009430077
2269B22494B261   JESSICA      THACKER                      IA     90014612249
2269B52A39155B   HILARIO      CADENA                       TX     90011245203
2269B79A887B59   BOBBY        JETT                         AR     23021477908
226B136175B161   KEELY        TEBBETTS                     AR     90013053617
226B162124795B   THOMAS       FLIPPIN                      AR     90015096212
226B194432B27B   MICHELLE     WILLIAMS                     DC     90003999443
226B19A644B281   JOHN         ROBIDOUX                     NE     90009779064
226B231724B261   LEONARDO     DIMAYUGA RAMIREZ             NE     90014873172
226B2659155957   AMALIA       GUTIERREZ                    CA     48068446591
226B2A21593727   DIAMOND      SMITH                        OH     90001640215
226B3261384364   CARLOS       RAMOS                        SC     19015882613
226B3317A87B87   TYLIN        WALKER                       AR     90014243170
226B348519189B   KELLY        ACREE                        OK     90004914851
226B3514251369   TIMOTHY      CONYERS                      OH     66015325142
226B3596233631   ANGELA       HAITH                        NC     12018285962
226B3838A4795B   ANDRE        LUDOVIC                      AR     90009758380
226B428625B232   JERMAINE     CAMERON                      KY     90013382862
226B4453972B84   SARAH        KEYS                         CO     90008174539
226B4689287B87   BRITTANY     ROMES                        AR     23068766892
226B4AA595B232   SHAQUITA     SPENCER                      KY     90015010059
226B515A47B449   ERICA        WHITE                        NC     11042831504
226B5947851561   JEAN         VONYEJE                      IA     90014709478
226B616349189B   DESTINY      MOTZ                         OK     90015131634
226B638599155B   RAQUEL       FRANCESCHI                   TX     90011853859
226B6593174B54   ZYLER        BOUILLION                    OH     90014645931
226B6717691541   JULIE        CORONADO                     TX     90009987176
226B67A425B571   NORMA        CARRANZA                     NM     90008277042
226B6855181661   LATONYA      WILLIS                       MO     90015058551
226B6A2589184B   SANTIAGO     MARIN                        OK     90012370258
226B7118681661   STEPHEN      LESHOVSKY                    MO     29073531186
226B727567B449   BETTE        BROME                        NC     90006222756
226B733254B251   SHARON       COON                         NE     27010203325
226B744365715B   JOSE         ESCOBAR                      VA     90008284436
226B749735B271   ANGELA       MARSHALL                     KY     68017114973
226B74A235B232   JAMES        YEOUZE                       KY     90014104023
226B753A247952   MICHAEL      SHAMBLIN                     AR     90015095302
226B7576891541   JOSE         GONZALES                     TX     75016385768
226B779225B571   SERVANDO     CORRAL                       NM     35064357922
226B7951391933   ERNEST       POWELL                       NC     90008329513
226B864935B232   HEATHER      COMBS                        KY     90014856493
226B9229387B59   CAROLYN      THREETS                      AR     23067072293
226B9672772B84   DARIAN       BLEA                         CO     33016986727
226B995427B449   MANUEL       DANCEL                       NC     90015119542
226B9A6735B571   JUAN         GONZALES-MENDEZ              NM     90014780673
226BB363691541   LINDA        REYES                        TX     75005363636
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226BB42469794B   WILLIAM        SACALOXT                   TX     90014734246
2271122155715B   HENRIK         NIELSEN                    VA     90013162215
22711324A9794B   RAYMOND        HALLFORD                   TX     90009063240
2271163554B588   ALICIA         DE ANDA                    OK     90013266355
2271169754B588   ALEXIS         CRUTCHFIELD                OK     90002266975
2271175389136B   JESUS          LABRADO                    KS     90013837538
22711869787B87   LINDA          GREEN                      AR     90014288697
22711951972B84   MERCEDES       WALTERS                    CO     90014149519
22711A82891541   DOLORES        GUTIEREZ                   TX     75000640828
22711A91A81638   MR             T.                         MO     29015930910
22712858387B87   ROBERT         MOORE                      AR     90015488583
2271286885B571   THOMAS         NEWELL                     NM     90011498688
227128A599189B   TIAUNA         CARNES                     OK     21082608059
227133A855B271   GARY           KINDER                     KY     90012303085
2271358A17B449   DAYSI          JIMENEZ                    NC     90014005801
2271365554B588   EDGAR          SARAVIA                    OK     90009296555
22713A4359136B   LUIS           RODRIGUEZ                  KS     29014690435
2271437315715B   DORA           BUSTILLO                   VA     90001473731
2271447299136B   ANA K          SIGALA                     KS     90013304729
22715948672B88   JORGE          PEREZ                      CO     33063879486
2271596864B588   JAMES          TURNER                     OK     90009259686
22715A4132B27B   MANYKA         GAITHER                    DC     90014810413
22715A9348B17B   ASHLEY         SWANSON                    UT     31039060934
22717325172B42   PERRY          NORIEGA                    CO     90011773251
2271773239189B   ANDIE          WILLIAMS                   OK     90010507323
2271847442B27B   MARCHELLE      GRAHAM                     DC     90010124744
227188A949189B   TREVOR         BENDURE                    OK     90012408094
22718A1619794B   SOPHIA         CASTILLO                   TX     90011330161
22718A57781644   RACHEL         LEA                        MO     90012110577
22719389972B84   EVELIA         ROBLES                     CO     90001233899
2271956685B271   ALLAN          MARTIN                     KY     90015185668
2271967A484382   CHARLES        FRIERSON                   SC     90010376704
2271971299155B   JOCELYN        ABASCAL                    TX     90009457129
2271B148591541   VERONICA       CORREA                     TX     90008501485
2271B32A593754   DONTA          CAYSON                     OH     90013023205
2271B41344B582   NACOLE         WALKER                     OK     90013394134
2271B46715B161   KADE           JOHNSON                    AR     90014664671
2271BA9512B27B   SHIRLEY        THOMPSON-WRIGHT            DC     81005890951
22721939152B31   DENNY          HUNSAKER                   CO     34094789391
22722136A51369   MICHEAL        WALLING                    OH     66045291360
2272299844B588   GHEMELLE       JOINER                     OK     90002739984
22723A48391945   OSCAR          SAUCEDA                    NC     90013610483
2272483695B232   CODY           AIKINS                     KY     90012298369
22724AA658B168   GINA           ERICKSON                   UT     31088210065
2272526619189B   RANDALL        WAYNE                      OK     90011312661
2272554A37B449   NORMAN         SMITH                      NC     90011475403
227257A2A5B271   NELLY          UGALDE                     KY     90002697020
2272588815B259   TIFFANY        GIBSON                     KY     68016878881
22725A7495B571   MONIQUE        MARTINEZ                   NM     90013360749
2272687369794B   ALEXANDER      MELCHOR                    TX     74031988736
227271A489136B   CRISTINA       PAEZ                       KS     90012231048
2272735644B261   DENNIS         OSTERGARD                  NE     27070213564
2272758914B281   MARY           BROWN                      NE     27012925891
2272767919155B   JORGE          RAMIREZ                    TX     90014646791
22727831A9189B   APOLONIA       CANTU                      OK     90009418310
2272831739184B   WILLIAM        BARRERA                    OK     21023723173
22728554672B88   SIGOURNEY      KEITH                      CO     90011295546
2272862385B232   AARON          ROJAS                      KY     68016866238
22728664A9189B   THOMAS         BURKE                      OK     90011086640
227286A5A81661   DESTINEY       JAMES                      MO     90014756050
227286A6887B87   SHARON         HARSTON                    AR     90013206068
2272896859184B   AMANDA         REICH                      OK     90015089685
22728A1185B571   MA GUADALUPE   RUELAS                     NM     90014850118
22728A7A585938   RODOLFO        SANCHEZ                    KY     90014780705
2272B13959155B   GRISELDA       CADENA                     TX     90011721395
2272B164431453   ANITRA         WILSON                     MO     90013441644
2272B55415B167   SHANNON        BROOKS                     AR     90014385541
2272B626A91541   ANIK           RICHARD                    TX     90014066260
2272B68175B271   BENNIE         ELLIOTT                    KY     90010056817
2272B994785938   SHERRY         EVERMAN                    KY     90014779947
2273128A64795B   MISTY          HANCE                      AR     90013332806
22731634276B4B   THOMAS         GEU                        CA     90001476342
22731664172B88   JOSEPH         BERNAL                     CO     90013076641
2273172875715B   ANA            HERNANDEZ                  VA     90012597287
2273212699189B   NOEMI          CAMPOS                     OK     90000771269
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22732154572B61   CARLA          MARTINEZ                   CO     90007741545
22732317672B61   CARLA          MARTINEZ                   CO     90011993176
2273284415B271   ALLEN          HISER                      KY     90010958441
2273289319155B   FABIAN         PARRA                      TX     90011868931
22732A3767B471   NORMA          VANEGAS                    NC     11097250376
22733259A9189B   JANET          SMITH                      OK     90014282590
22733753472B42   JOHN           SWICK                      CO     33087757534
2273379195B571   MANUEL         ORDONEZ                    NM     35030627919
22733A26791241   BRITTENY       BROWN                      GA     90014730267
22733A5364B22B   BARBARA        SEACREST                   NE     26009710536
22733A69691251   MATTHEW        HUFF                       GA     90008460696
22734751A91541   ISAAC          SALAS                      NM     90013627510
227349A9391528   DENNISSE       ALEMAN                     TX     75077749093
22734A5A687B59   NATASHA        HENRY                      AR     90011600506
2273519A887B87   JEREMY         JOHNSON                    AR     90015451908
227353A6151326   JEFF           SMITH                      KY     66083453061
22735736A76B82   YOBANA         MORENO                     CA     90010637360
22735A8784795B   MARJORY        MONDRAGON                  AR     90009530878
2273642689794B   JOSE ALFONSO   GARCIA                     TX     90015314268
2273657A191828   NICHOLE        WARD                       OK     90007125701
22736735372B42   ENETA          HAMID                      CO     90015467353
227367A5591525   EDWARD         L MILLER                   TX     90002377055
2273681848B168   NOAH           RITCHIE                    UT     31094798184
2273683595B161   CHARLOTTE      WILLIAMS                   AR     90015218359
2273727A772B98   ELTRECE        CALDERON                   CO     33021262707
2273746A472B42   BALLATEROS     MARIE                      CO     90012254604
2273766AA31453   KEANNA         WILSON                     MO     90015296600
2273786414B261   TANISHA        DANGY                      NE     90009818641
2273819AA9189B   BRANDI         BROOMHALL                  OK     90009381900
2273821368B17B   GRISSEL        REYES                      UT     31097022136
2273821714B588   KYLE           CROW                       OK     90013402171
22738298772B98   GERARDO        CORTEZ                     CO     33021262987
2273869A972B88   MINDEE         SAMORA                     CO     90010426909
2273885A49155B   ESTHER         GUTIERREZ                  TX     90008598504
22739166A85938   SAVANNAH       COVINGTON                  KY     90014781660
22739243887B87   LAVONYA RENA   REEVES                     AR     90014842438
2273944867B449   REINA          MARTINEZ                   NC     90009774486
22739686387B87   LAVONYA RENA   REEVES                     AR     90014776863
227398A8972B88   JOSE           MATA                       CO     90000558089
22739A95391828   NATASHA        HAMPTON                    OK     21069710953
2273B1A6972B84   KARLA          MARMOLEJO                  CO     90010791069
2273B4A429155B   ENRIQUE        SALCIDO                    TX     75023634042
2273B694591828   GUADALUPE      ALVARADO                   OK     90009906945
2273B823391241   TIARA          CUTTER                     GA     14505398233
2273B895A72B88   MYCHEO         RICHARDSON                 CO     90014718950
2273B8A6691828   PAM            PORTER                     OK     90013798066
2273BA8A531631   SHANNA         RAMEY                      KS     90014710805
22741339A31453   NICOLE         WILKENS                    MO     27591043390
227413A7547952   LATASHA        MILON                      AR     24052433075
2274214554B588   JAMIE          JOHNSON                    OK     90013551455
22742762272B42   TAMMIE         JACKSON                    CO     33020227622
227428A6472B88   LUIS           BATISTA                    CO     90009058064
2274345A593773   REAGAN         BURNS                      OH     90009574505
22744191372B84   BERTHA         GONZALEZ                   CO     90008691913
2274425A187B87   CYNTHIA        MACK                       AR     23023082501
227443A9381661   MARK           MOORE                      MO     90014933093
227444A1791541   JESUS          GRAJEDA                    TX     90006044017
2274451144B588   PERLA          SALAZAR                    OK     90008785114
2274517769189B   JORDYN         HALE                       OK     90006651776
22745A3989184B   SERGIO         SERNA                      OK     90013510398
2274669344795B   JASMINE        BROWNING                   AR     25010096934
22746974487B59   THOMAS         CANTWELL                   AR     90014719744
2274699A65715B   EDWARD         COPLAND                    VA     90013729906
22747684887B87   WONDER         WASHINGTON                 AR     90013166848
227478A1A2B27B   JOY            BRITT                      DC     90013958010
22747974487B59   THOMAS         CANTWELL                   AR     90014719744
22748123A5B161   BRITTNEY       COOPER                     AR     23043881230
22748123A91241   KENNETH        POLK                       GA     14536261230
2274815A92B931   CHRISTINA      MARTINEZ                   CA     45004821509
2274839919189B   ADORA          MANGHAM                    OK     21048283991
2274861314B261   ADAM           DAEGES                     NE     90009256131
2274883924B588   DEZIRAE        WIEGERT                    OK     90013258392
22748974487B59   THOMAS         CANTWELL                   AR     90014719744
22748A23241245   VINCENT        NAZAREK                    PA     51046770232
227494A539136B   MEGAN MARIEE   CAPPSS                     KS     90006884053
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227497A289155B   FLORENCE     MYRA                         TX     75053407028
227499A4272B88   AMANDA       MILLER                       CO     90004129042
22749A95A4B588   JAMES        MURDOCK                      OK     90014260950
2274B196391522   ISMAEL       HERNANDEZ                    TX     90010631963
2274B21472B232   JOHNNY       HACKETT                      DC     81030562147
2274B262172B42   BOBBY        GARCIA                       CO     90001022621
2274B287672B88   NICOLE       BERNAL                       CO     33080742876
2274B41635B271   RASHAWN      VAUGHN                       KY     90014134163
2274B671172B84   AZUCENA      MONARREZ                     CO     90014586711
22751596972B84   JENNIFER     JAIMES                       CO     90013245969
227518A545B167   CHERRY       SANDERS                      AR     90006108054
2275289169184B   KEVIN        TATE                         OK     90001968916
22752922A91241   MONIQUE      MOISE                        GA     90011209220
22752A34841245   JOHNNY       MCGEE                        PA     51055350348
22753274572B84   MARTHA       VALDEZ                       CO     90015182745
2275361375B161   TAHDRYAN     FAIRCHILD                    AR     90012786137
2275363295B271   ROYLANDRIA   MOORE                        KY     90009156329
2275462999152B   CARLOS       VELASQUEZ                    TX     90013906299
2275485515B271   JAMES        JOHNSON                      KY     90009418551
227549A395B161   MICHELLE     CANCHOLA                     AR     90014539039
22754A18772B42   MANUEL       SANTOS                       CO     90005480187
2275571567B471   RONNIE       MCGREE                       NC     90013467156
22756839A7B449   MELVIN       BROWN                        NC     90014238390
227568A4987B87   KENISHA      HOWARD                       AR     90007698049
2275711134B281   BLANCA       CORTEZ                       NE     90008681113
2275791984B588   ERIC         TORRES                       OK     90012679198
227582A1791251   MARLA        CREWS                        GA     14508982017
2275862185B571   JOSE         VELAZQUEZ                    NM     90015216218
22758A94A4B588   CARLEY       POTTS                        OK     90014510940
2275918159136B   LANG         HER                          KS     90013731815
2275939194B588   LATARA       HOFFSTEAD                    OK     90014583919
22759812872B88   FERNANDO     GONZALEZ                     CO     33088118128
2275B28285715B   CARLOS       REYES                        VA     81059412828
2275B8A9187B87   VICKI        MCGHEE                       AR     23019738091
2276114894B281   JUAN         BARRAZA                      NE     27016601489
2276134345715B   OSCAR        MARTINEZ                     VA     90004783434
22761897972B42   GREGORY      OWENS                        CO     90015178979
22762724A9155B   ISRAEL       GALINDO                      TX     90014657240
2276278119136B   GERAMY       DEMONBRUN                    KS     90012337811
22762A4285B571   JULIET       SANCHEZ                      NM     90011240428
227635A1572B42   JOSE         QUIJADA                      CO     90012235015
2276397819136B   LISA         PADEN                        KS     29040519781
22764311A8B168   MICKEY G     BOWCUTT                      UT     90004073110
2276525715B232   CHARTRICE    WITHERS                      KY     90013212571
227658A7872B84   SHARON       C.CORDOVA                    CO     33049748078
2276631794B261   KRISTIA      BAKER                        NE     27038043179
227663A8687B59   AUTUM        NELSON                       AR     90014733086
2276686814B541   JORY         NALLORY                      OK     90001168681
22767311A8B168   MICKEY G     BOWCUTT                      UT     90004073110
2276734A29155B   CARLOS       GUTIERREZ                    TX     90006213402
22767442787B59   TERRELL      WALKER                       AR     23097194427
2276854212B931   RON          COIN                         CA     45081105421
22769339A31631   CHRISTIAN    MOTIS                        KS     90014643390
2276949929794B   DORA         GONZALEZ                     TX     90013814992
22769A4984B588   SHAWN        MARTIN                       OK     90013230498
2276B759A55957   LATANYA      IYAMU                        CA     90010877590
2276B94752B232   PRISCILLA    BOYKINS                      DC     90004409475
2276BA2949136B   HUGO         ESPINOZA                     KS     29032060294
22771117A7B449   JULIUS       BROWN                        NC     11063461170
22771163787B59   LYNETTE      MAYWEATHER                   AR     90014981637
227711A2191522   VERENICE     MORALES                      TX     75078121021
2277131165B571   CLAUDINE     MARTINEZ                     NM     90002663116
22771357187B59   LYNETTE      MAYWEATHER                   AR     90014733571
2277175819794B   NELDA        RODGERS                      TX     90013467581
22771819A72B84   BISHNU       GURUNG                       CO     90015208190
2277211A287B87   SAMANTHA     TINDALL                      AR     23036911102
22772421A91541   ALICIA       LUNA                         TX     90006064210
2277265465B369   ROBERT       HODGES                       OR     90006906546
2277275475B571   SAMANTHA     MCCREADY                     NM     90010457547
22772A34147952   DOUGLAS      TRAPP                        AR     24093050341
2277344365715B   JOSE         ESCOBAR                      VA     90008284436
2277354829794B   DOMINGO      TUMAX                        TX     90013865482
2277397474B261   KATHRYN      BARTLETT                     NE     90012389747
22773A21387B87   JOHN         ROBINSON                     AR     90014690213
2277415555B232   TRACY        WITKOSKY                     KY     68016881555
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2277436A172B42   BRENDA       VILLAA                       CO     90001463601
2277442559136B   MINA         HAMIDOVIC                    KS     90015314255
2277453379189B   COREY        MCDANIEL                     OK     21014025337
2277468A872B88   MARIA        MENDOZA                      CO     90013076808
2277524178B831   DEAN         HUHANE                       HI     90015132417
22775415A5715B   ERMIDES      GRIJALVA                     VA     90011414150
2277568645B167   LATAUSHA     MORGAN                       AR     90004756864
2277574485B271   JUAN         LOZANO                       KY     90015267448
22775894576B67   DANIEL       EVANS                        CA     90006118945
22776179972B42   ANNETTE      FEDD                         CO     90007661799
2277684457B449   ROCIO        PARRA                        NC     90015318445
22776A79593773   MICHAEL      GENTRY                       OH     90013350795
2277716385B232   JIMMY        JACKSON                      KY     90012711638
22777678172B42   PATRICIA     HRENKEVICH                   CO     33017236781
2277768A531453   JAMESA       SPANN                        MO     27514146805
2277817874B588   LUIS         VALDEZ                       OK     90015121787
2277834899155B   LUIS         SALAZAR                      TX     90003473489
2277844A62B232   TARRANCE     THOMAS                       MD     90014154406
22778838372B98   SOHAIL       SAYEED                       CO     33079468383
2277929625B531   ADAM         NODAL                        NM     90006812962
2277968815B161   CHERYL       CARMICHAEL                   AR     23098396881
2277B23679136B   RODNEY       MORREIRA                     KS     90010312367
2277B58787B449   MARIA        GUY                          NC     11089235878
2277B644A72B98   ROSIO        ARMENDARIZ                   CO     90009496440
2277B686791522   JOAQUIN      VIVANCO                      TX     90005156867
2277B742191831   KASSANDRA    WROBEL                       NC     90014667421
2277B834572B42   TOBIAS       LOPEZ                        CO     90001558345
2277B963185938   SANTOS       LEONEL                       KY     90006369631
2278119855B161   CECIL        ROBERTS                      AR     90011131985
22781597572B84   ANDREA       TORRES                       CO     90013245975
227817A644B281   MARIBEL      LOPEZ                        NE     90005767064
22781A44572B88   JULIA        DIAZ                         CO     90010300445
227824A215B531   LAWRENCE     MARTINEZ                     NM     35014824021
2278281A34B261   TAUVA        WILLAIMS                     NE     27050898103
22782874672B84   MARK         WELCH                        CO     33074348746
22782A6AA5B271   TAMI         STIFFLER                     KY     68043600600
22783172187B87   DEANDRA      SUMMERS                      AR     90014701721
2278319984795B   MARCO        RODRIGUEZ                    AR     90012331998
2278341519155B   LUIS         PEREZ                        TX     90015124151
22783611274B79   LYNNDALE     PRIMER                       PA     90006336112
2278361A684364   GUADALUPE    REYES                        SC     90001876106
227837A8393773   KELLY        KRYMOW                       OH     64557597083
22783914172B88   OSCAR        OCHOA                        CO     33043669141
2278431885B352   RAINER       DAVIS                        OR     90003733188
22784563574B79   PATRICIA     HARPER                       OH     51041665635
2278469819155B   EDUARDO      DUARTE                       TX     75097076981
2278499119136B   DANIEL       BOTELLO                      KS     29004079911
22787725A5B161   AUDREY       MARION                       AR     90014847250
2278871662B27B   KELVIN       STEELE                       VA     90013607166
2278922349155B   WENDY        NEVAREZ                      TX     90011862234
22789255372B42   BRIANDA      BANUELOS                     CO     90009342553
22789764872B84   GREG         GAGE                         CO     90011247648
2278B18274B261   CHRISTINA    PETERSON                     IA     90012141827
2278B523261979   WILFRIDO     VILLAREAL                    CA     90006235232
2278B52442B27B   JUAN         GRANADOS                     DC     90013835244
2278B581972B98   JESUS        GONZALEZ                     CO     90002805819
2278B59884B588   SYLVIA       CHAVEZ                       OK     90012835988
227911A1572B42   MARGARET     RICE                         CO     90014691015
2279128475B167   ANGEL        FOX                          AR     90003432847
2279251134B261   ASHLEY       MAYFIELD                     NE     90011125113
2279258734795B   KATHERINE    BURR                         AR     25002765873
2279267472B232   CAIN         HAWKINS                      DC     90009726747
22792756672B88   RYAN         TYLER                        CO     90015097566
22792A4A89155B   MYRIAM       ESTRADA                      TX     90004780408
22792A82141245   NICOLE       LENART                       PA     51080540821
2279342A885938   JEWELL       LAWSON                       KY     90014794208
2279368A531453   CHASE        HARDIN                       MO     90010376805
2279418455715B   HASSEN       MOHAMED                      VA     90013331845
2279442355B232   TERRY        DUFF                         KY     90014754235
2279553344B588   DANIEL       GONZALEZ                     OK     90011045334
2279593A555957   WENDY        BRAVO                        CA     48009259305
22796175572B42   SANDRA       MIELENZ                      CO     33021011755
22796A59781661   IVAN         SANDOVAL                     MO     90015190597
2279729A87B449   JOSE         CABRIALES                    NC     90011382908
2279739539794B   SHARNELL     JACKSON                      TX     90012933953
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2279742A885938   JEWELL         LAWSON                     KY     90014794208
2279989424B588   SHAWN          PITCHFORD                  OK     21555818942
2279B263591241   ROBYN          WATTS                      GA     90012722635
2279B66949184B   GERARDO        SILVA                      OK     90011416694
2279BA29591541   ALAN           LARA                       TX     90013130295
227B11A5285938   SHELLY         GILLUM                     KY     67055161052
227B122A655957   ANTONIA        HERNANDEZ                  CA     90010612206
227B2442787B59   CALENE         REED                       AR     23000634427
227B252845715B   VERONICA       HUNT                       VA     90001635284
227B266422B27B   ONITTE         MCKINNON                   DC     90004546642
227B284749155B   JUAN           ESCOBAR                    TX     90011098474
227B3264291522   MIRNA          RAMIREZ                    TX     90013542642
227B3456351369   SARAH          JONES                      OH     66002884563
227B3A77287B87   JOYDASHIA      LOVE                       AR     90015450772
227B3AA5887B59   LESLIE         JAMES                      AR     23081420058
227B417687B449   JERNARD        HORNE                      NC     90010901768
227B4228A31453   CANDICE        OWENS                      MO     90010642280
227B4283272B42   HOWARD H       TSUCHIYA                   CO     90014972832
227B458815B271   JENNIFER       KNAUER                     KY     68014485881
227B49A2172B98   JUAN           ROCHA                      CO     33021259021
227B5111755957   MOSES          DESOTO                     CA     90015111117
227B5119433677   PEARLIE        WILLIAMS                   NC     90005791194
227B51A2661997   EMILIO         JIMENEZ                    CA     90002581026
227B51A715B167   CEPRESHA       REED                       AR     23075051071
227B539819136B   YADIRA         REYES                      KS     90011853981
227B592135B271   JOYCE          COLLETT                    KY     68048149213
227B5948A85938   MANUEL         COFFER                     KY     90014779480
227B628665B161   MAURICE        SPENCER                    AR     90013182866
227B6628747952   APRIL          HAYES                      AR     90013496287
227B678889184B   SEBASTIAN      MEDINA                     OK     90011847888
227B6AA455B167   BRENT          DAVIS                      AR     90006250045
227B728845B571   DANGELA        MARTINEZ                   NM     90009552884
227B761275B232   ASHLEY         EVENSEN                    KY     90013786127
227B775774795B   DEBRA          MCCALISTER                 AR     25009157577
227B7967591522   ERIKA          ROMERO                     TX     90013739675
227B79AA45715B   ARISTIDES      ESCOBAR                    VA     81077709004
227B8249641259   ROGGER         GRAHAM                     PA     90001682496
227B846334B261   ARQUIMIDES     AYALA                      NE     90004374633
227B8A8224B588   DEMETREE       STEVENSON                  OK     90011530822
227B9488531453   JASMINE        RODRIQUEZ                  MO     90014704885
227B964646196B   MARVIN         THOMAS                     CA     46031136464
227B96A4131631   TRAVIS         LANKFORD                   KS     22064626041
227BB122372B84   ANN            PALMQUIST                  CO     33055701223
227BB13165B271   KURTISHA       SMITH                      KY     90010651316
227BB78582B232   DERRICK        WREN                       DC     90003957858
2281184A741245   TONY           HALE                       PA     51010968407
22812642A91828   RICKIA         ANTWINE                    OK     90011086420
22813A29287B59   GERALDINE      ROWDY                      AR     23000040292
22813A31491241   JEANINE        COLLIAR                    GA     90009860314
2281515872B27B   JERITA         SMITH                      DC     90008991587
2281516338B168   MICHAEL        PAEZ                       UT     31037871633
2281529899184B   ROBERT JAMES   MILLLER                    OK     90005472989
22815524A91541   JUAN           CHAVARRIA                  TX     90010995240
228164AA24B588   JAMES          RAY                        OK     90014854002
2281665559184B   SHERENDA       MACK                       OK     90005116555
2281679318B17B   JAY            NELSON                     UT     90011307931
228167A4872B88   MARANGELY      GONZALEZ COLLAZO           CO     33095237048
22816867172B84   PEDRO          LEYVA                      CO     90011478671
2281693195B571   ERIKA          MORENO                     NM     90014869319
22816A12247952   PHILLIP        WOODEN                     AR     90013170122
22816AA419189B   JOHNATHAN      DEARMAN                    OK     90014760041
2281795345B161   CHRISTOPHER    SCOTT                      AR     90015449534
22818353387B87   EARL           GRAHAM                     AR     23080203533
2281859119136B   JOE            KINCAID                    KS     29078555911
2281872735B531   SAMUEL         FERNANDEZ-SERRANO          NM     90006637273
22819212387B87   FELICIA        SMITH                      AR     90015332123
2281933152B27B   JESSAMELA      FLEMING                    DC     81004463315
2281968885B161   BRYANT         CARTER                     AR     90015196888
2281973855715B   FREDRICK       PECK                       VA     90012797385
22819818A9189B   KADIJAH        CRUMP                      OK     90006388180
2281B181172B42   MARIA          MIRAMONTES                 CO     90008931811
2281B3A644B588   IRMA           BRAVO DE HERNANDEZ         OK     90012903064
2281B83122B235   CASSANDRA      BROWN                      DC     90000888312
2281B8AA69794B   LAUREN         ARELLANO                   TX     90011418006
2281BAA759794B   WILLIAM        BALANGA                    TX     90012310075
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2282124945B571   BERLIN       CHAVEZ                       NM     90011232494
2282192524B22B   SHERYL       WALKER                       NE     90012689252
22822337A2B27B   KEYONNIA     WASHINGTON                   DC     90014883370
2282272735B161   ROSA         BELMONTE                     AR     23013687273
2282333249155B   GONZALO      PEREZ                        TX     90011723324
2282346159189B   CAMELIA      CASTRO URQUIZA               OK     90015284615
22823A9435715B   JOHANA       GARCIA                       VA     90013260943
2282428648B168   DAVID        IRVINE                       UT     90008722864
2282445169184B   MICHAEL      HOLT                         OK     90010784516
2282493435715B   EDWIN        AYALA                        VA     90010669343
2282577252B27B   SHANIKA      HORTON                       NC     90001407725
2282578779379B   MICHAEL      MOORE                        OH     90009547877
22825A6959155B   NANCY        BORJON                       TX     75055260695
2282614595715B   JENNY        RIVERA                       VA     90013041459
2282632215B571   BERTHA       QUETADA                      NM     35085913221
228273A4591522   SUSANA       RENDON                       TX     90014983045
2282754575B161   KATHELEEN    MORGAN                       AR     90011285457
2282828864B588   ANDRE        MITCHELL                     OK     90015142886
2282834A891541   GISELA       ZALDIVAR                     TX     75034833408
2282876665B531   JESSICA      AVILA                        NM     35003967666
228288A8487B59   SHERONDA     BURTON                       AR     90014748084
2282948962B27B   JOY          HARRIS                       DC     90010124896
228298A8487B59   SHERONDA     BURTON                       AR     90014748084
2282994399189B   DIANNA       BOALS                        OK     90015199439
22829A47655957   PAYGO        IVR ACTIVATION               CA     90010170476
22829A67972B88   RICHARD      TWEED                        CO     90013770679
2282B183A91522   MA ELENA     VALENZUELA                   TX     90006251830
2282B52615B271   MICHEAL      MAGRUDER                     KY     68015825261
2282B911372B88   MARTIN       PANTOJA                      CO     90009429113
2283151735B161   DONAVAN      BRANHAM                      AR     90012315173
2283159799136B   LATRICSHA    MONDAINE                     MO     29086395979
2283175579794B   JOSE         TOC                          TX     90010767557
2283188135B167   PAUL         NOID                         AR     23013998813
22832498687B87   MARIANTE     BUTLER                       AR     90011224986
2283262469136B   RACHAEL      MONTCOMERY                   KS     90007496246
2283293A82B27B   DARLENE      HOLBROOK                     DC     90010479308
2283313245B375   ERIN         MCINTYRE                     OR     90012231324
2283316A75B538   FAVIOLA      CHAVEZ                       NM     90008891607
2283359939136B   DAWN MARIE   BALION GARCIA                KS     90012835993
22833783A9155B   MAYRA        WASQUEZ                      TX     90014657830
2283382832B27B   MATTHEW      QUEEN                        DC     90013708283
2283392A272B88   AMANDA       KELLER                       CO     90009259202
22833A1615B571   VANESSA      ANGLIN                       NM     90011570161
22833AA3891828   DOROTHEA     PRATER                       OK     90008870038
22834136A91828   NORMA        SIGLLA                       OK     21002761360
2283437764B588   DONALD       ROBINSON                     OK     90014253776
22834653A9189B   GERARDO      RODRIGUEZ                    OK     90008676530
2283489629155B   ANGEL        PAREDES                      TX     90014298962
2283493475715B   ISIDRO       PACHECO                      VA     90008079347
22835665A84364   BRADLY       HILBURN                      SC     90003596650
22835A25487B87   LORENZO      JENKINS                      AR     90013890254
22835A9114B261   MILTON       CURRINGTON                   NE     27072210911
2283631699184B   ROSA         AYVAR                        OK     90014173169
2283646985B271   HOLLY        FUQUA                        KY     90008014698
22836699672B88   ROBERTO      CERVANTES JR                 CO     90013076996
22836A9A49794B   IKPOTO       UDOH                         TX     74010720904
2283753835B571   FRANK        SAIZ                         NM     90007255383
22837665572B88   GREGORIO     LEIVA                        CO     33016676655
2283853319794B   RAUL         ACOSTA RIVAS                 TX     74018165331
2283898485B271   DORIS        HENISEN                      KY     68006799848
228391A7231631   MICHAEL      WILLARD                      KS     90000571072
22839387A7B471   TYREECE      SHEFFIELD                    NC     90009163870
22839475A5B161   MARTIN       RAMIREZ                      AR     90014864750
22839A17391528   ALINE        ZAMORA                       TX     90010650173
22839A26181637   MARIA        VALENZUELA                   MO     29060520261
2283B264A91522   MARTHA       RENTERIA                     TX     90008492640
2283B628187B87   TRACY        STEPHENS                     AR     90013206281
2283B674991241   LAVON        BOWENS                       GA     90013086749
2283B796593773   MARGUERITE   GUDORF                       OH     64521107965
2283B88465715B   CARLOS       MAURICIO                     VA     90014738846
2284112A15B571   AMBER        GRAVES                       NM     35044901201
228411A1991522   GIANNA       VALDEZ                       TX     90008181019
22841294872B88   RENAE        PARRA                        CO     33098792948
22841A6A281661   DENIS        THIESEN                      MO     90015410602
22842A64491933   RONNIE       LOCKLEAR                     NC     90014010644
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2284323565B232   MELINDA                DATTILO            KY     90007932356
2284336187B471   LINDSAY                MARESKI            NC     90014483618
22843AA658B168   STEVEN                 ROSENGREEN         UT     90007020065
2284421867B471   ALEJANDRO              VILLASENOR         NC     90009942186
22844A2625B161   TIFFANI                NASH               OK     90009640262
2284512195B167   WILLIAM                KODER              AR     90006761219
228457A7872B42   MARY                   SOLIS              CO     90011127078
22845848A31453   YOLANDERS              CARTER             MO     90012128480
2284617634B281   KAREN                  CUTSHALL           IA     27099631763
2284622177B449   GINA                   LANGTEAU           NC     90013472217
228462A5591522   SHERLY                 ABRAHAM            TX     90010642055
2284636A54B577   ZAM                    CIN                OK     90014433605
2284679219155B   ADEMOLA                OLOWOGUNLE         TX     90014657921
2284722892B27B   SHAKIA                 LYLES              DC     90012022289
22848367A2B27B   MARIA DE LOS ANGELES   RAMIREZ            DC     90013043670
2284841115B271   CECELIA                CALDERON           KY     68007734111
2284898339136B   MARCELA                AVILA              KS     90014919833
22848A5A855957   ALICE                  FUENTES            CA     48025240508
2284942397B449   IFAYE DEEVON           DICKSON            NC     90014594239
2284956272B27B   MONICA                 GONCALVES          DC     90011695627
2284975269184B   MARIA                  RUIZ               OK     21067587526
22849887A9136B   RONALD                 SMITH              KS     29076768870
22849923187B87   CRYSTAL                DEWEESE            AR     90008789231
2284B196A9136B   GUADALUPE              GALVAN             KS     90002961960
2284B33A891541   JOSE LUIS              RODRIGUEZ          TX     90006523308
2284B368585938   CLAUDINE               CONRAD             KY     90014803685
2285112329189B   LOU CINDY              TARGETT            OK     90001531232
22851274687B87   AUTUMN                 NELSON             AR     90008192746
22851282372B88   GRISELDA               HOGSETT            CO     90013752823
2285192924B588   MARIA                  NUNEZ              OK     90013809292
22851931772B42   COREY                  DAVIS              CO     90012089317
2285325945B271   MIA                    JUDKINS            KY     90007002594
228532A785715B   JENNIFER               LEON               VA     90014982078
2285349757B449   MICA                   STURDIVANT         NC     90012074975
2285371397B449   MICA                   STURDIVANT         NC     90014677139
2285472419155B   RICARDO                MENDOZA            TX     90014587241
2285571142B27B   TIFFANY                FLEMING            DC     90012257114
2285575985B161   LATRICE                LOVE               AR     90013397598
228559A4472B88   WILLIAM                SHEDD              CO     90010499044
2285647399794B   ESTELLE                TIRADO             TX     90004914739
2285657119189B   CAROL                  SMITH              OK     90013345711
2285668569184B   MONICA                 HERVEY             OK     90010006856
22856A38A91541   ELIZABETH              FERNANDEZ          TX     90002110380
228573A9155957   JOSE                   JESUS              CA     48013713091
22857994A5B271   JENNIFER               KEY                KY     90015329940
228582A634B261   DAVEN                  SPERA              NE     90002552063
22858367687B59   LAKEICHA               WHITE              AR     90014783676
228588AAA9155B   CHRISTOPHER R.         AVINA              TX     90014658000
22859379A5B571   JUAN                   ANDRADE-MARTINEZ   NM     90003013790
2285B265791542   CARLOS                 RODRIGUEZ          TX     75057582657
2285B29624B261   CHRISTINA              CASPER             NE     27025122962
2285B69565B161   KATRINA                WILLIAMS           AR     90007276956
2286123125715B   GREG                   GARTENMAYER        VA     90013162312
22861455972B84   QANIA                  RYAN               CO     33085524559
2286163929155B   RICHARD                NINO               TX     90013416392
2286241214B588   ANTHONY                TOCCI              OK     90014854121
22862647672B42   KEITH                  ROBERTN            CO     33089216476
22862A93691828   RAVEN                  DYER               OK     90014810936
2286347735B161   YOLANDA                MANGRUM            AR     90013994773
22863A3474B588   JAYNEE                 SCOTT              OK     90006130347
2286449AA91522   TYRONE                 GREENE             TX     90003464900
2286492924B588   MARIA                  NUNEZ              OK     90013809292
22864A2515B571   JOSE                   CABRAL             NM     35016580251
2286535225B232   NICHOLAS               DELANEY            KY     90013983522
2286536334795B   CHRISTOPHER            MCPHERSON          AR     90009673633
228658A884B588   GRACIELA               MARTINEZ           OK     90013738088
2286644317B449   THOMAS                 WHITE              NC     11043204431
22866854772B84   PAULINE                DISINGER           CO     90013308547
2286752492B931   EDUARDO                OCHOA              CA     90006705249
2286779725B571   ANA                    HERNANDEZ          NM     90014277972
22867987772B84   ARACELI                GUADARRAMA         CO     90005359877
2286799354B261   ROSE                   KIARIE             NE     90012989935
2286847935B271   DONALD                 FARRIS             KY     68026314793
2286855194795B   SHREKA                 CHESTNUT           AR     90006975519
22868564A9136B   FABIO                  REYES              MO     90012615640
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228685A885B35B   SIGRID       WECHSLER                     OR     90011205088
2286875977B471   NORMA        SINGS                        NC     11081367597
228687A7572B88   ALEX         RODRIGUEZ                    CO     90013077075
2286968618B168   LINA         LAFORET                      UT     31009046861
228696A2172B98   MARK         STARCEVIC                    CO     33014586021
2286981675715B   WALTER       MOLINA                       VA     81079168167
22869A85781638   DEBORAH      STEEN                        MO     29086690857
2286B383757B33   MISTY        SIMON                        PA     90012263837
2286B713791522   ROSA         GONZALEZ                     NM     90004267137
2286BA84191828   LISA         CANNON                       OK     90011750841
2287166985B571   MICHAEL      AGUILAR                      NM     90014456698
2287184695B232   LISA         HATFIELD                     KY     90008498469
2287226385B271   KAREN        CLAN                         KY     68016122638
228727A275B571   BENJAMIN     WHEELER                      NM     35016387027
2287294289155B   WALLACE      MICHELLE                     TX     90010579428
228735A5831453   SHEKINAH     HOLEMON                      MO     27572635058
228737A299136B   JORDAN       LEAVIT                       KS     90011127029
22874696172B88   CARMEL       DAMASCO                      CO     33014426961
2287495829136B   GABRIELA     ALMANZA                      KS     29077249582
22874A6979794B   BRUCE        MARK                         TX     74010960697
228752A7891942   CARMEN       PEREZ                        NC     90014462078
228753A6391828   KARRI        LEWIS                        OK     90012583063
2287611339189B   WHITNEY      MINNEY                       OK     90009451133
228762A365B271   ALYSSA       DAGES                        KY     90013922036
2287639474795B   BENJAMIN     PHIPPS                       AR     90014083947
22876A78147952   MAYRA        MENDOZA                      AR     90011720781
2287752959155B   ADRIAN       SOTO                         TX     90014715295
228782A8391828   LASHAE       COURTNEY                     OK     90013622083
22878514672B84   RICARDO      LEZAMA-CRUZ                  CO     90013415146
2287912157B425   RICARDO      TORRES                       NC     11018081215
2287951748B17B   JEFFREY      PARKIN                       UT     31001195174
2287975A381637   WYSCHELLE    WALLACE                      MO     29079837503
2287989915B232   MIKELLE      SPENCE                       KY     68011718991
22879A7A37B449   DEON         SELBY                        NC     90014740703
2287B26945B271   ETESE        FRY                          KY     90013182694
2287B29A247952   ASHLEY       ROGERS                       AR     90014652902
2287B522372B42   CELENA       JAMES                        CO     33030115223
2287B558243551   ANTHONY      ANDERSON                     UT     90007535582
2287B684284364   DANIEL       FLOTA                        SC     90003596842
2287B796593773   MARGUERITE   GUDORF                       OH     64521107965
2288147464B588   RAMIRO       ORDONEZ                      OK     90012624746
2288157AA81661   SINCERE      WHALES                       MO     90013005700
2288177A84795B   SAMATHA      HOLSCHER                     AR     90013507708
2288199435137B   LUIS         FUENTES                      OH     90004819943
22882A36A5B161   JENNIFER     HARMON                       AR     90009020360
22882A86585938   SARITA       DIYALI                       KY     90002780865
2288348528B168   KRISTIN      GILLETT                      UT     31021954852
2288373165B167   ISABEL       MAHONE                       AR     90004987316
22883795572B84   JOSE         RUEDA                        CO     90011247955
22883A43472B88   GORGE        GUERRERO                     CO     33040820434
228842A829184B   BRIDGET      FRIDAY                       OK     21082982082
228849A2385938   SONYA        BLAKE                        KY     90009359023
22884A18281637   NADINE       FARRIS                       MO     29078630182
2288513159152B   RICHARD      REINHARDT                    TX     90010661315
2288531715B232   LATOYA       SPRATT                       KY     90013803171
2288539994B588   TAKISHA      JACOBS                       OK     21559763999
2288551359794B   JOHN         DUKE                         TX     90014435135
2288614554B588   JAMIE        JOHNSON                      OK     90013551455
2288619A721929   STEVE        JAKUVCCAK                    IN     90015421907
2288651594B261   ANTIONETTE   WHITE                        NE     27059695159
2288668125715B   GUSTAVO      PEREZ                        VA     90012146812
2288678247B471   KEVLIN       HAGERTY                      NC     90013047824
22886872672B42   DAVE         NOSKER                       CO     90004658726
2288693117B449   REYMOND      ALEXANDER                    NC     11031159311
2288732A29794B   ESMERALDA    CONTRERAS                    TX     90013183202
22887792487B59   KARY         WILLAMS                      AR     90015197924
22888191987B59   FELICIA      DIXON                        AR     90014771919
2288837484B588   SKYLAR       RAMOS                        OK     90007863748
228884A225B161   EBONI        JONES                        AR     90014154022
228884A4A81661   CLAUDIA      HERNANDEZ                    KS     90002804040
22888989A2B27B   WELTON       HOWARD                       DC     81025259890
22888A3A887B87   JOSEPH       BIRD                         AR     90008890308
22889399772B84   BILLIE       MCQUEEN                      CO     90013923997
2288999A785938   RANDY        SLONE                        KY     90014809907
2288B11684B588   TRACI        TREVINO                      OK     90007221168
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2288B43577B471   ANIBAL           ROJAS                    NC     90012214357
2288B532551369   ANA              GOMES                    OH     66095055325
2288B61363B347   ISABEL           LEMUS                    CO     33072166136
2288B96999189B   STEPHEN          CONNER                   OK     90002699699
2289136665B271   BARBARA          HAYES                    KY     90011363666
2289137655B161   LEONARDO         HUESCA                   AR     90011933765
2289199A272B88   MARITZA          SANCHEZ                  CO     90014099902
2289226195B243   MATTHEW          TUCKER                   KY     90000342619
2289362995B232   DEAN             DEMALA                   KY     90009256299
2289371312B27B   JAMES            WHITE                    DC     81081867131
2289374857B449   CODY             GARMON                   NC     90014347485
22893813276B71   RUBY             MONTESINO                CA     90008028132
22893A1179189B   JOHN             BELL                     OK     21047540117
22894137A2B232   SARAH            YOUNG                    VA     90004801370
2289456649136B   BARBARA          ROWAN                    KS     29075435664
22894A93572B88   DIOSELINA        TINOCO                   CO     33055240935
22895A82685938   FRANK            BOATTY                   KY     90003050826
22896168487B87   JALON            KELLY                    AR     90012921684
2289624365715B   HANIBAL          MAHDI                    VA     90013052436
22896312A2B27B   HOWARD           SMITH                    DC     90004953120
2289652174B588   JACOBO           ORTIZ-ROJAS              OK     90002415217
2289683399155B   JOHN             ADAME                    TX     90014658339
22897696372B88   JUAN             MORENO                   CO     90014816963
2289777A19794B   BELEM            ALIA                     TX     90004387701
22897A4814B588   JENNIFER         SWANSON                  OK     90009220481
22897A68291828   LUIS             LOPEZ                    OK     90012800682
22897A89191541   JALYIN           GONZALEZ                 TX     90013930891
2289916A15B232   LONNIE           BYERS                    KY     90014371601
22899252A4B588   MANUEL           GONZALEZ                 OK     90014522520
2289967125715B   JOSE             GARCIA                   VA     81016556712
22899676A7B471   DAVID            GARCIA                   NC     90006596760
2289B41925B271   EVELYN           PRICE                    KY     90008764192
2289B42369794B   BRANDON          WATSON                   TX     90013964236
2289B44678B17B   FELIX            PALACIOS                 UT     90003284467
2289B57317B449   CELIA            CASTRO                   NC     11056075731
228B1244A9189B   MAYRA            MUNOZ                    OK     90011312440
228B159287B347   NIGATUA          WOLDEGIORGIS             VA     90008815928
228B168619794B   RANDY            GARCIA                   TX     74098296861
228B171144B588   FAYETTA          LEDFORD                  OK     90007357114
228B1962591241   JONATHAN KIZZY   MEWBORN                  GA     90011209625
228B1996631631   JESSICA          ADKINS                   KS     22052269966
228B242955B161   STACYE           CAULDWELL                AR     90000974295
228B259835B571   DOMINIQUE        LAVATO                   NM     90013415983
228B2656347952   JUAN             HERNANDEZ                AR     90001566563
228B267625B531   CLARICE          BERNI                    NM     90007916762
228B3256A5715B   ANTHONY          FERNANDEZ                VA     81013712560
228B371749189B   GLADYS           GASTELUM                 OK     21061217174
228B376519155B   GUSTAVO          AGUILAR                  TX     90014657651
228B416554B588   VAN              CLEARY                   OK     90014701655
228B434619184B   GERMIRAH         GOUDEAU                  OK     90014813461
228B486365715B   JACQUELENE       RICE                     VA     90011128636
228B5361A5B271   SAMUEL           RICE                     KY     68094943610
228B5362355957   EMILIO           GARCIA                   CA     90011313623
228B57A429794B   CARLOS           BATZ                     TX     90013317042
228B5962872B88   EDIE             DE LEON OROZCO           CO     33040829628
228B5AA3391828   YASHICA          TITSWORTH                OK     90014500033
228B631AA5B271   SHENEKA          STARNES                  KY     90010293100
228B661774B261   MARIO            URIEL ORTEGA             NE     90012766177
228B7171687B87   AVIVA            USIFO                    AR     90015331716
228B721A89136B   KIARA            MAYS                     KS     90007382108
228B7334687B87   JYLIA            SPENCER                  AR     90010303346
228B837535B531   DESIREE          CASTILLO                 NM     35089963753
228B846579794B   BRANDON          HEADGE                   TX     90015104657
228B878425715B   KAREN            MCKEON                   VA     90010727842
228B886A691541   EDWARDO          GONZALEZ                 TX     75017868606
228B88A1685938   JAROD            BRADEN                   KY     90013618016
228B8962591241   JONATHAN KIZZY   MEWBORN                  GA     90011209625
228B8A41A5715B   KARIN            FRANCO                   DC     90003900410
228B8A47872B88   TOMEKA           MUHAMMAD                 CO     33030020478
228B8AA145B232   ANA              GONZALEZ                 KY     68042130014
228B91A7891241   FELTON           SCHLEY                   GA     14575101078
228B9326A4B261   DENNIS           DVIRAK                   NE     90015023260
228B93A8591541   MARIA            VERA                     TX     90014793085
228B9627781637   CYNTHIA          HARRIS                   MO     90004986277
228B968714795B   MIGUEL           PADILLA                  AR     25085526871
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228BB32198B168   GRISEL       LOPEZ                        UT     90004073219
228BB462751338   PIPER        MILLS                        OH     66033494627
228BB56345B232   PEDRO        LOPEZ                        KY     90015315634
228BB668691522   MATILDE      RODRIGUEZ                    TX     75057346686
22911A21891522   RAUL         RAMIREZ                      TX     90009660218
22911A6684B588   ERICA        KAMOSS                       OK     21573340668
2291217729189B   EDITH        KEASLING                     OK     90013871772
2291222154B281   LAURA        MERRILL                      NE     90011672215
2291237422B27B   BENNEILLA    WILLIS                       DC     90012163742
22912924587B87   KAVESIA      THOMPSON                     AR     23046349245
22912AA495715B   EDNA         AUGUSTT                      VA     90008000049
2291314545B936   PRISCILLA    PETLEY                       ID     90014201454
2291323A991828   CHRISTA      KENNEDY                      OK     90001562309
22913284A9136B   JAN          PRESLER                      KS     90011892840
22914423172B84   FRANK        TREVINO                      CO     90013114231
2291459396B259   JEFFREY      ERLAK                        AZ     90014385939
229161A854B281   ALLEN        WALTER                       NE     90000851085
2291627655B232   MIKE         BAEZ                         KY     90010732765
2291642A57B449   LATOYA       SPENCER                      NC     11059184205
2291649354795B   CHANTHA      PHORIMAVONG                  AR     90011174935
2291683499155B   GABRIEL      VALEZUELA                    TX     75013018349
2291725779189B   SEAN         ETHRIDGE                     OK     90008112577
229181A1691828   MARK         SUMPTER                      OK     21085901016
22918579287B87   MONICA       NELSON                       AR     90014615792
2291868217B471   BRITTANY     BARNETTE                     NC     11051776821
2291891515B232   SIRRIDER     BOBBITT                      KY     68076499151
22919957887B87   KATHY        KENTLE                       AR     90004269578
229199A3355957   MELINDA      SOUSA                        CA     90006939033
22919A9655715B   GEORGINA     SEGOVIA                      VA     90006540965
2291B3A8487B87   PAYGO        IVR ACTIVATION               AR     90013143084
2291B72997B449   WADE         LAMB                         NC     11087627299
2291BA2895B161   PAMELA       BUTLER                       AR     90011030289
2292118617B422   PAMELA       OLIVER                       SC     11046981861
22921381174B79   MARGARET     SELIGMAN                     PA     90001633811
229216A415B571   KRYSTAL      YANEZ                        NM     90012876041
2292214955B571   BRYAN        SIMPSON                      NM     90011241495
22922246887B87   JAMES        SHAW                         AR     90015532468
22922582A51369   ALEX         ROMERO                       OH     66017445820
22922592987B87   LATONYA      JENKINS                      AR     90009465929
22922A39A31631   RYAN         LANDWEHR                     KS     90014650390
2292351849136B   ADRIANA      RANGEL                       KS     90014525184
22923598672B88   ABEL         DOMINGO-LOPEZ                CO     90007805986
22924156672B42   JULIE        SZABO                        CO     90013361566
22924186187B87   GRANNYS      KITCHEN                      AR     23060621861
2292442822B27B   CAROLYN      BLANDING                     DC     90001414282
2292477367B422   ANGIE        ALSTON                       NC     11053577736
2292479AA72B88   CHERI        KNOX                         CO     90013747900
2292543A24795B   ALMA         SOLTERO                      AR     90012464302
22925777487B87   DAVID        WILLIAMS                     AR     90015037774
2292585784795B   ALMA         SOLTERO                      AR     90012378578
229269A6872B88   TIM          JACOBS                       CO     90005339068
22926A1215B571   JORGE        MELENDREZ                    NM     35017760121
22927489A5B167   ANDERSON     SHEPARD                      AR     90006984890
22927711872B84   JESSE        LAUVER                       CO     90012067118
22927898787B87   JERMEIKA     STOKES                       AR     23098208987
229278A499155B   KELLY        GALINDO                      TX     90012818049
22927A91772B42   JOSEPH       BADER                        CO     90013750917
229282A6A7B449   MONICA       ORTIEGA                      NC     90013922060
22929257472B88   SALVADOR     MUNOZ                        CO     33076872574
2292B334291828   ROBERT       BAILEY                       OK     90014663342
2292B95A591528   RAY          PORRAS                       TX     90006529505
2292B9A2391541   LIZA         MITCHELL                     NM     90011359023
2293132A45B571   SONIA        VIDANA                       NM     35015343204
2293134275715B   CELIA        RIVERA                       VA     90012663427
2293167994795B   FRANCISCO    PACHECO                      AR     90010716799
2293179833B347   CHUANTE      EDWARDS                      CO     90006177983
2293262AA9136B   KARELLY      PEREZ                        KS     90001116200
2293263A29794B   ASHTON       GUSTAFSON                    TX     90015126302
22932766374B79   DAWN         MCCOY                        PA     51060757663
22932A5917B471   VIVIAN       ONYEGBULEN                   NC     11088550591
2293322494B261   JESSICA      THACKER                      IA     90014612249
2293324385B232   JEREMY       KEEN                         KY     90009242438
2293368A591522   DANIEL       ARGUELLES                    TX     90013966805
22934133A5B271   CHRISTINA    HOLLIS                       KY     90003481330
2293455A587B87   TRALISA      BOMAN-SUELL                  AR     90014125505
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1212 of 2350


2293486789794B   JAIRO        GARCIA                       TX     74015268678
2293488A14B261   LUZABETH     BIMPOLO-NDOULOU              NE     90014378801
2293536429189B   QUINTON      SMITH                        OK     90011853642
22935457987B87   SHANIQUE     IVERSON                      AR     90008254579
2293613A281661   KAT          ALEMAN                       MO     90011411302
2293769235B232   JONATHAN     WEST                         KY     68074836923
2293774A84795B   ADRIANA      DIAZ                         AR     90014847408
2293792989794B   LILIA        GARCIA                       TX     90013779298
2293875125B571   MARK         LANDRY                       NM     90009867512
22938928A5B161   LONNIE       HOLLIS                       AR     23060419280
2293985A75B571   CARMEN       TALAVERA                     NM     35083618507
22939941572B88   TERESA       LEE                          CO     33086549415
22939A48947952   RICHARD      MARTING                      AR     90011740489
2293B457987B59   SHANIQUE     IVERSON                      AR     90008254579
2293B823A47952   ALLEN        GOSS                         AR     90011738230
2293B991591885   ANGELA       BLACKBURN                    OK     90007039915
2293BA87747952   VANESEA      MALONE                       AR     90013230877
2293BA98531631   WYATT        WILSON                       KS     90014650985
2294118699155B   IRMA         FLORES                       TX     90001211869
229417A2491952   CLEO         FOWLKES                      NC     90008547024
22941AAA59184B   LILIA        CHAVEZ                       OK     90014270005
2294229649184B   AMBER        WEIESNBACH                   OK     90014072964
22942442A5B571   BENNY        RAMIREZ                      NM     90014654420
22942593A7B449   COURTNEY     EPPS                         NC     90010735930
2294274339794B   LAURA        ALDYCKI                      TX     74011237433
22942A7235715B   JAMES        PUCKETT                      VA     81021030723
2294366259155B   ROBERT       SMITH                        TX     90013416625
22943A69A41245   THERESA      SEDOR                        PA     90000320690
2294469A45715B   ELISA        GOMEZ                        VA     90013626904
2294471A39155B   JUANITA      NARANJO                      TX     75089507103
22944747474B79   KIM          SALIVONCHIK                  PA     51061397474
2294499815B161   DAVID        STROM                        AR     23086719981
2294528665B161   MAURICE      SPENCER                      AR     90013182866
2294566A24B588   LEODAN       DE LEON GIRON                OK     90013436602
22945694772B84   RITA         DOMINGUEZ                    CO     90013986947
2294575582B27B   JOEL         BERNARD                      DC     81027877558
22945995572B88   CYNTHIA      PARRA                        CO     90014839955
2294642139794B   JAVIER       GARCIA                       TX     90014994213
2294657129136B   JACKIE       ELGIN                        KS     90012865712
22947183A4B588   JOSE         AVILA                        OK     90012951830
22947415572B84   SHAWNA G     PAGETT                       CO     90011524155
22947813A5715B   DRINA        LOPEZ                        VA     90013868130
2294785565B232   TARA         KELLER                       KY     90014718556
2294872919136B   JHON         BESCH                        KS     90012687291
2294978247B471   KEVLIN       HAGERTY                      NC     90013047824
2294B12714B588   RICHARD      HENDRIX                      OK     21555571271
2294B5A7A4795B   MARTHA       MARTINEZ                     AR     90012165070
2294B68759794B   TOBIA        WASHINGTON                   TX     90010396875
2294B952A61957   CARLOS       CORTEZ                       CA     90009389520
2295112149155B   ISELA        WILLIAMS                     TX     75097131214
2295136A25B571   MONIQUE      LORETTO                      NM     90013393602
2295143199189B   JACKIE       MORRIS                       OK     21084584319
2295183395715B   ARACELYS     FUENTES                      VA     90013618339
22951931A4B281   CHARLES      BIBBS                        NE     90010029310
22951A64A87B59   ANTHONY      GRAYDON                      AR     23002410640
22951A7284B531   MIA          COOKSEY                      OK     90013940728
2295236739794B   TERRI        MCMURRY                      TX     74039423673
22952A3944B588   CORENA       MILLER                       OK     90009760394
22952A67691241   SABRINA      PAFILLA                      GA     90006970676
2295333897B471   KEISHAWN     ALEXANDER                    NC     90011513389
2295388228B168   JENNIFER     ROBBINS                      UT     31005738822
22953A8829189B   MICHEAL      GRAY                         OK     90010270882
2295412715B344   ANDRES       ALVARADO                     OR     44576091271
229541A214B588   LOLITA       ROBINSON                     OK     21565761021
2295543474B588   ELIAZAR      PENA                         OK     21511354347
2295545869155B   EMMY         CASTILLO                     TX     75005034586
22955983A87B87   PAYGO        IVR ACTIVATION               AR     90014289830
22955A14184364   TIFFANY      STACK                        SC     90006090141
22955A9467B471   VICTOR       CASTILLO                     NC     90013930946
22956398A4B261   JOSE         GALLEGOS                     NE     90014383980
22956568A91828   CHELSEA      WARD                         OK     21017995680
2295658359136B   ELSA         CARDENAS                     KS     90010635835
2295667249155B   ALBERT       SOUTH                        TX     90011726724
229568A2671925   CAROL        LAIGO                        CO     90009448026
2295695259189B   BRANDY       REED                         OK     90013779525
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2295816197B449   DIANA           RUIZ                      NC     90014811619
2295881484B551   ISRAEL          VARGAS                    OK     90011658148
2295942665B161   KAELA           AVALOS                    AR     90013324266
22959438A91828   LESLIE          PALAFOX                   OK     21006434380
2295988299198B   NICHOLAS        EMORY                     NC     17010988829
2295B141831453   COURTLAND       CURRY                     MO     27590321418
2295B34865B271   DORIS           SHOBE                     KY     90013163486
2295B7A7A9155B   JESSICA         DE SANTIAGO               TX     90006047070
2295B92949136B   ZACH            BANZET                    KS     29036029294
2295B961187B87   DEBRA           WILLAIMS                  AR     23009279611
2296111A491522   GABRIELA        VELARDE                   TX     90014211104
229613A827B471   KRYSTAL         BILLINGSLEA               NC     90015123082
22961645A76B53   RODRIGO         GUERRA                    CA     90013776450
2296172484795B   FLODIA          ASEVEDO                   AR     90003507248
229619A2831631   SARAH           BOHNERT                   KS     90011449028
22962826172B84   SANDRA NOHEMI   GARCIA                    CO     90013058261
2296311335B271   TEANDREA        GIRTON                    KY     90001731133
2296344865B571   ARMANDO         VASQUEZ                   NM     90005184486
22963839387B59   VICTORIA        JACKSON                   AR     90013938393
2296427595B271   SHAWN           MARTIN                    KY     90014892759
22964457987B59   SHANIQUE        IVERSON                   AR     90008254579
2296447414B588   JACKIE          HEFFRON                   OK     21514324741
2296462285B161   TOMMY           ROBERTS                   AR     23065926228
22964A91284364   MARLENE         FLEMING                   SC     19069480912
22965213672B88   HELEN           TORRES                    CO     90012902136
22965227472B42   CONSUELO        GONZALES                  CO     33022762274
229653A854B588   DAN             HORA                      OK     21589363085
22965A54972B88   ENRIQUE         SOLIS                     CO     33028170549
22965A92A5B571   CRYSTAL         MENDOZA                   NM     90008670920
2296713339794B   DENNIS          WILLIAMS                  TX     90013131333
2296728867B449   ROSA            MADRID                    NC     90013622886
2296786245715B   JOEL            VIGIL                     VA     90006718624
2296837479184B   TAMARA          HORNE                     OK     21039613747
2296858667B449   JUAN            CONTRERAS                 NC     90013395866
22968A45287B59   SEDRILL         GRIFFIN                   AR     90011060452
2296919375B571   LAURA           CHIMENTO                  NM     90012391937
229693A519136B   RODERICK        KELLEY                    KS     90015353051
2296947214795B   MARY            SLAVENS                   AR     25073084721
22969561787B59   DANEILE         THOMAS                    AR     23078945617
2296B2A518B17B   KATHLEEN        JOHNSON                   UT     90000332051
2296BA6639136B   CI              BEE                       KS     90014570663
2297122155B167   TIFFANY         ADAIR                     AR     90008862215
2297128A181661   MICKAIELA       MCKINLEY                  MO     90010012801
2297133825715B   EFRAIN          GARCIA                    VA     90002293382
2297141599155B   SAUL            HERRERA                   TX     75097134159
22971A1879189B   SHANON          STRAIN                    OK     21004090187
2297219419189B   AUBRIE          WIGGS                     OK     90010211941
2297219695B232   JAGANATHAN      LAKSHMANAN                KY     90010271969
2297259379136B   RAQUEL          TORRES                    KS     90013805937
22972713272B98   EDGAR           BARCA                     CO     33096937132
22972833872B42   JO ANN          THOMS                     CO     33063138338
22972A54955957   NELLY           RODRIGUEZ                 CA     48078650549
22974144372B88   BRENDA          PEREZ                     CO     90013611443
22974262172B84   RON             HILL                      CO     90000402621
2297453A24B588   MARIA           CORADO                    OK     21508775302
2297463664B261   BRENDA          HOLLINGSWORTH             NE     90005266366
2297522A691828   JORDAN          DACYCZYN                  OK     90008752206
2297523865B255   JESSIE          SUMMERS                   KY     90008052386
229754A1272B35   NANCY           BUTTERFIELD               CO     90009434012
229755A7872B84   CRISTOPHER      PAMIREZ                   CO     90008175078
22976376A85938   CHASTITY        HALL                      KY     90014813760
2297656319189B   ANGELICA        BRENT                     OK     90003675631
229769AA69794B   FREDY           TAJUBOY                   TX     74016249006
22976A22425138   SHERMIKA        STALLWORTH                AL     90014680224
22976A2814B281   JAMES           LYONS                     NE     27012890281
229772A5691828   JACK            ODONNELL                  OK     90012402056
2297869489184B   LAUREN          CLAIRMONT                 OK     90013816948
2297913142B232   PATRICIA        REID                      DC     90004421314
229791A785715B   SERGIO          SUBILLAGA                 VA     90014941078
2297921A991885   WENDY           CLARK                     OK     90007942109
22979366272B98   JUSTIN          TAFOYA                    CO     90005713662
2297938A672B84   ELIZALDE        CRYSTAL                   CO     33039673806
2297942285715B   GLADIS          HERNANDEZ                 VA     90012414228
2297951264795B   DELOISE         MCCCHRISTIAN              AR     90006935126
2297957685B571   CHRIS           SANCHEZ                   NM     90014085768
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22979628672B98   JUSTIN        TAFOYA                      CO     90012706286
229796AAA72B42   MATTHEW       SHEA                        CO     33022476000
22979974A4B261   TEQUILLA      JACKSON                     NE     90015029740
229799A7155957   JENNIFER      BARRIOS                     CA     90012039071
22979A5655B531   AUDREE        HUNT                        NM     90006670565
2297B231A9189B   DUSTIN        OLDEN                       OK     21078512310
2297B657555957   ROBERT        GONZALES                    CA     48081686575
2298174685715B   BRYON         FELISKA                     VA     90012747468
22981789572B98   LUKE          TUCHINSKI                   CO     90001427895
22981A35491962   ANGEL         COOKE                       NC     90006080354
2298254939184B   JUSTIN        COFFEE                      OK     90013155493
2298285589189B   KAREN         GRISMORE                    OK     90008678558
229828A5791828   RICARDO       MORENO                      OK     21069128057
229831A6885938   KENNETH       MURRAY                      KY     90003031068
2298354829189B   AYANA         WILLIAMS                    OK     90014125482
2298365545B139   TIA           WALKER                      AR     23005846554
2298372A972B84   BERTHA        MOLINA                      CO     33023797209
229839A534B261   LALIA         HART                        NE     27087159053
22983A18791828   MELANIE       POWDRILL                    OK     90003360187
22984123272B88   MARIA C.      FERNANDEZ                   CO     33056091232
22984138287B59   SAMARRA V     SPEARS                      AR     90014801382
2298487749155B   JOSE          MAESE                       TX     90014658774
229853A787B471   JUAN          ALBERTO                     NC     90014203078
2298555A55B271   SHAWNNA       MARTIN                      KY     90012245505
2298564A872B88   ALMA          DIAZ-LUJAN                  CO     90002536408
2298584634B261   ANTONIO       CONEJO                      NE     90012418463
2298593189794B   KIMBERLY      MAY                         TX     90013179318
22985958A72B42   AMBER         BURNETT                     CO     33090529580
2298617534B588   THOMAS        WILLIAMS                    OK     90009601753
22986284972B88   VERONICA      ESTRELLA                    CO     90013752849
2298632912B27B   AURORA        FRASER                      DC     90013973291
2298657915B571   ESTEPHAN      SOILES                      NM     90014085791
2298686619196B   MOUSTAPHA     NIANG                       NC     90000278661
22987164972B42   STANLEY       MCFARLAND                   CO     33030451649
2298723735715B   MARGAREIT     GABRE                       VA     90003782373
2298733745B271   LAWRENCE      JONES                       KY     68063483374
2298748179794B   YASMAINE      THOMAS                      TX     90011334817
2298763912B27B   JOSHUA        HENRY                       DC     90013206391
2298778515B571   KERBY         MACE                        NM     35004957851
2298818A29794B   ALBERTO       RIOS                        TX     90010801802
2298832AA87B59   RENITA        WATSON                      AR     90004823200
2298843157B471   RICHARD       GALLOWAY                    NC     90011234315
229888A583B192   MARTHA        LEWIS                       DC     90006088058
22988AA3881637   LISBETH       GALLEGOS                    MO     90011820038
2298913142B27B   PATRICIA      REID                        DC     90004421314
2298939735B571   HEATHER       RICHARSON                   NM     90004953973
2298B144A5715B   LILIAN        SAMAI                       VA     90002561440
2298B1A6272B88   BLANCA        JURADO                      CO     90000761062
2298B3AA39189B   ALEJO         MARTINEZ                    OK     90002703003
2298B733872B88   SHARON        SOLOMON                     CO     90013077338
2298BA5665B271   DORATHY       NOE                         KY     90011350566
22991223A87B59   LARISA        JEFFERSON                   AR     90014802230
2299145865B232   BIJAY         GURUNG                      KY     90013984586
2299148724795B   ZULMA         BARRIENTOS                  AR     90002614872
2299149A891541   OLGA          RUIZ                        TX     90014444908
22991531972B84   KIMBERLY      GUERRA                      CO     90012715319
2299154425B571   MARK          ESHELMAN                    NM     35049135442
2299176889794B   NEYSI         VASQUEZ                     TX     90014977688
229917A6372B88   LAUREN        CHAFFEE                     CO     33040807063
22991A1847B471   QA            RIVERS                      NC     90012100184
22992439972B98   JACKEY        DIAZ                        CO     90008154399
22992AA6481637   DAVID         SMIRL                       MO     90011820064
2299313664B261   BRANDY        BARTEK                      NE     27058001366
22993A2429794B   ALVARO        VELASQUEZ                   TX     74043220242
2299477AA4795B   EDWARD        COUCH                       AR     90014847700
2299498AA7B449   ADRIANA       GARCIA                      NC     90014949800
2299524512B27B   RAMONA        CRAWFORD                    DC     90010902451
22995A43187B59   MYRNA         TATE                        AR     23093970431
22995A67472B84   NYKEA         CLARK                       CO     90011510674
229962A925B571   BLANCA        PARRA-PRIETO                NM     35044362092
2299684954B261   TAYLOR        LYNN                        NE     90007788495
2299718445715B   LAMONT        THOMPSON                    VA     90003821844
2299718512B27B   CHRISTOPHER   GAYLE                       VA     90014931851
2299723184B261   ZENAIDA       ANTHONY                     NE     90013762318
22997449487B59   ARTHUR        HUGGINS                     AR     90014804494
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2299789924B588   TIFFANY      BROWN                        OK     90005448992
2299828444B261   DARLENE      OWENS                        NE     27052742844
2299845A65B232   KOLD         BLAKK                        KY     90008604506
2299865327B471   ROGELIO      DOMINGUEZ                    NC     90007916532
2299889A891541   AURELIO      MORENO                       TX     75000828908
22999A5953145B   BENITA       ROGERS                       MO     90013580595
2299B16A68B17B   TIFFANY      STENS                        UT     31077901606
2299B421485938   FRANCIE      CLAY                         KY     90014784214
2299B69592B27B   SHAUDA       NIX                          DC     90006496959
229B1157272B84   VICTORIA     RODRIGUEZ                    CO     33078151572
229B1421485938   FRANCIE      CLAY                         KY     90014784214
229B1764284364   SHARON       SURPRENANT                   SC     90002127642
229B1788A9155B   MARIA        GALLARDO                     TX     75057627880
229B2328487B59   LAGRICE      JACKSON                      AR     90012903284
229B244A19155B   LIDIA        ADAME                        TX     90014704401
229B289A59794B   EVA          JONES                        TX     90009668905
229B335385715B   PAUL         DO                           VA     90007533538
229B371A984364   MICHELE      HOOD                         SC     19012757109
229B381898B831   ELIA         WONG                         HI     90014528189
229B388785B271   DONNA        DURBIN                       KY     90008298878
229B3A19891241   GUILLERMO    MIGUEL                       SC     90013380198
229B4188251369   TRACEY       HILLMAN                      OH     90003351882
229B4426172B88   OVIDIO       MEJIA AREVALO                CO     90004334261
229B45AA181661   JUAN         CORTEZ                       MO     29064995001
229B468724B588   ROBYN        FARRIES                      OK     90010736872
229B481345715B   RUBEN        VELASQUEZ                    VA     81005068134
229B4858855957   FELIPE       JOAQUIN                      CA     90013528588
229B5A41591251   SHERMANE     BOYD                         GA     90003380415
229B6157136146   ELVA         YBARRA                       TX     73599061571
229B658A34795B   FERNANDO     PENA                         AR     90014495803
229B674249184B   MICHAEL      RICHTER                      OK     90010497424
229B694144B588   AIRA         ALVAREZ                      OK     90012929414
229B7141961979   JAMERAL      KING                         CA     90000891419
229B755744795B   TRINITY      SMITH                        AR     25090445574
229B772374B281   THOMAS       BENKIS                       NE     90007387237
229B773129184B   DOYLE        HENRY                        OK     90000317312
229B787A52B232   RENE         RIVERA                       VA     81032388705
229B7888391828   MARGARET     LYNCH                        OK     90000798883
229B7A19891241   GUILLERMO    MIGUEL                       SC     90013380198
229B7A6258B168   REBECCA      SHEPHERD                     UT     31095260625
229B814114B588   DESIREE      ECKELBERRY                   OK     21561381411
229B81A9181637   RAMANDA      EUBANKS                      MO     29031591091
229B825215B161   BERNITA      CARRUTH                      AR     90014582521
229B8588A72B84   MIRNA        LOPEZ-PEREZ                  CO     33049735880
229B8A35A85938   RICCI        INGRAM                       KY     90014810350
229B8A9865715B   WIDMEN       PERALES                      VA     81034920986
229B972A187B59   STEVIE       TURNER                       AR     23066907201
229B97A4772B88   LADY         PINEDA                       CO     33097827047
229B9AA3191528   CLAUDIA      ORNELAS                      TX     90014470031
229BB35189189B   CARMEN       BALTIERRA                    OK     21042453518
229BB796772B84   REBECCA      ARELLANO                     CO     90011247967
229BB851781661   SHEENA       HOLLEY                       MO     29030788517
229BBA77385938   BRENDA       BONDS                        KY     90013290773
229BBAA9172B42   EDUARDO      ESCOTO MONCIVAIS             CO     33021120091
22B111A779189B   CANDACE      FASHING                      OK     21022991077
22B1124972B232   DORREL       MCINTOSH                     DC     90004782497
22B1188475B232   KIRKWOOD     ELDRIDGE                     KY     90013858847
22B12562577381   JOHN         CASINO                       IL     90001905625
22B12944972B88   HEATHER      SUROVIK                      CO     90003059449
22B13245791241   TIA          WILLIAMS                     GA     90012712457
22B1468685B161   POTONDRA     CARRUTH                      AR     90013186868
22B14747991828   SHANNON      KISCER                       OK     21092897479
22B1559514B261   SHAWN        TAYLOR                       NE     27064235951
22B15A1859189B   TAMRA        LEWIS                        OK     90010710185
22B15A2375B161   TAMICA       BUTLER                       AR     90014780237
22B16379291522   GILBERT      ALDAZ                        TX     75029473792
22B1644329136B   ALEJO        LUNA-MORALES                 KS     90014174432
22B1717A59155B   MARISELA     GARDEA                       TX     90014641705
22B1746355B232   JENNIFER     LAWRENCE                     KY     90010724635
22B17762385938   LASHONDA     COULTER                      KY     67001207623
22B17AA4372B42   RANDY        TAYLOR                       CO     90004340043
22B18245587B59   MOESHA       FREEMAN                      AR     90014862455
22B18456172B98   NATHALY      SANCHEZ                      CO     33038904561
22B1856955B571   THOMAS       COFFIELD                     NM     35008175695
22B18594281638   JIM          SLAVICK                      MO     90006045942
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22B18686831453   EDWARD       STARR                        MO     90001426868
22B186A3691251   JIM          SIMMONS                      GA     90012426036
22B1884614B281   LILLIE       THOMPKINS                    NE     90003168461
22B1895A29184B   CHERYL       HENDERSON                    OK     90015139502
22B18A3444B588   MARIA        RIVAS                        OK     90013420344
22B18AA3A85938   STEPHANIE    WEBB                         KY     90013720030
22B19158747952   CATRINA      DOWDY-NICHOLS                AR     90011241587
22B19188831631   DIANN        HAZELTON                     KS     22084331888
22B1925877B471   SHARMINE     BARNETTE                     NC     90005022587
22B1939A372B88   MATTHEU      LAURRELL                     CO     90015013903
22B19463A91522   GRACIELA     CERVANTES                    TX     75088244630
22B1952A55B271   SHELIA       SCHILDKNECHT                 KY     90008615205
22B19773385938   KAITLYN      BECKHAM                      KY     90014617733
22B1B2A1472B84   IVIS         DONAIRE                      CO     90004332014
22B1B77A17B449   LATASHIA     CARSWELL                     NC     90014757701
22B1B84159189B   SHERI        JONES                        OK     90015278415
22B1B857272B88   JCB          TRANSMISSION                 CO     33094918572
22B1B97915715B   ROBERTO      GARCIA                       VA     90012749791
22B21369772B88   OLIVIA       MARTINEZ                     CO     33033093697
22B2142687B449   DIANDRE      PHIFER                       NC     90014864268
22B22545391528   CHRISTINE    PARTIDA                      TX     90003405453
22B225A6691541   IGNACIO      MENDOZA                      NM     75035215066
22B22737981637   NICHOLE      GRAY                         MO     29050637379
22B2292415B271   ASHLEY       BURKS                        KY     90014609241
22B22936672B88   HEATHER      BROWN                        CO     90013059366
22B23185A85938   JAMARCUS     SHELTON                      KY     67016081850
22B2341655B571   JOSHUA       VALLEY                       NM     90003984165
22B23511431453   JOANNE       BANKS                        MO     90008155114
22B23574A87B87   MALLORY      FLUKER                       AR     23045945740
22B2362279189B   JEROD        VANN                         OK     90013866227
22B2362859794B   YUKI         ITO                          TX     90014336285
22B23675A6B247   OMEKIA       SMITH                        CO     90012386750
22B2413395B271   YAROSKI      OZUNA                        KY     90008911339
22B24424391828   AUTUMN       EDWARDS                      OK     90009964243
22B2483A45B571   LAURA        ACOSTA                       NM     90014158304
22B25851972B84   KIMBERLY     JOYCE                        CO     90014518519
22B26156872B84   VERONICA     GONZALEZ                     CO     33047271568
22B26373A57564   KAY          HERNANDEZ                    NM     35547123730
22B26571A91564   ROCIO        RODRIGUEZ                    TX     75090005710
22B26A1637B471   DEBORAH      MCLENDON                     NC     11083080163
22B27146591522   SARA         SANTILLANA                   TX     90005171465
22B2727569189B   SUAN         MANG                         OK     90015172756
22B2758395B571   JAMES        LEE                          NM     90014645839
22B27958855957   ROSALIO      ALVAREZ                      CA     90004689588
22B2815365B161   SHARHONDA    ELLIS                        AR     90014511536
22B283A8391541   ANA          CASTILLO                     TX     75094563083
22B284A992B27B   MARY         MEASE                        DC     90014954099
22B285A6791522   VIOLET M     PETTA                        TX     90009795067
22B28996785938   BILLY        JOHNSON                      KY     90014619967
22B29549A9136B   KINDRA       WATSON                       KS     90006165490
22B296A589189B   JAMES        RAIMONDI                     OK     90013046058
22B29715687B87   SOWETO       HAWKINS                      AR     90013437156
22B29743961558   PAYGO        IVR ACTIVATION               TN     90014667439
22B2981A491251   ELMORE       JONES JR                     GA     90007718104
22B29A8354B251   DAVID        ESTRADA                      NE     90010050835
22B29A96181661   CRYSTAL      GUTHRIE                      MO     90014690961
22B2B35A49184B   JESSICA      SANDERS                      OK     90014903504
22B2B784A5B161   STACY        ARMOND                       AR     90005207840
22B31422231453   SHEENA       BRYSON                       MO     90003924222
22B31492772B84   GWYNNE       MOORE                        CO     90013874927
22B31572A5B571   SONIA        VALDEZ                       NM     35089705720
22B31729491522   LARRY        HUERTA                       TX     90012547294
22B31881581637   ERIC         MCKAMEY                      MO     90002868815
22B31916A91541   JASKEL       DE LUCA                      TX     90006939160
22B31A19393773   NOEMI        REYES                        OH     64573770193
22B3228219794B   RICARDO      AGUILAR ALEMAN               TX     90006612821
22B32775187B87   KIMBERLY     MILLER                       AR     23075217751
22B33158747952   CATRINA      DOWDY-NICHOLS                AR     90011241587
22B3374827249B   KENNETH      COOLEY                       PA     51089077482
22B3421355B271   NATALIE      BAIN                         KY     90011102135
22B34342987B59   DANA         SUMMERS                      AR     90014513429
22B3454768B168   JASON        FELT                         UT     31094295476
22B34639472B98   DALE         STACY                        CO     90001816394
22B34859A55957   JUAN         GOMEZ                        CA     90014638590
22B3524537B45B   ANDREA       HOSKINS                      NC     90006142453
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22B3541417B449   LAMAR         ALEXANDER                   NC     90014924141
22B3617275B167   GARY          JOHNSON                     AR     90015081727
22B363A5651329   BRIAN         ALCORN                      OH     90008833056
22B36491684364   DANIELA       PINTO                       SC     90009644916
22B3717522B27B   ROBERT        BELT                        DC     90012881752
22B37527781637   LEBRTE        HALWAY                      MO     90011775277
22B3754237B449   SYRENIA       CONYERR                     NC     90012425423
22B37988891541   FRAUSTO       ERIKA                       TX     90004889888
22B3833627B449   MANUEL        RODRIGUEZ                   NC     90001853362
22B38382131631   JACOB         HILL                        KS     90014213821
22B38814A91828   KAYLEY        WILLIAMS                    OK     90011448140
22B3886249184B   MARINA        TABORA                      OK     90013848624
22B38899747952   MARIA         GARCIA                      AR     90008768997
22B3898775B531   SOCORRO       ALVARADO-QUINTERO           NM     35089349877
22B3898834B251   DEREK         SAMPLES                     NE     90009489883
22B3991349184B   TENEACO       SISCO                       OK     90010719134
22B3B72737B471   MARIA         VARELA                      NC     11088457273
22B3B767172B88   COLLEENE      BRUNDARGE                   CO     33077427671
22B4118219184B   MOISES        LOPEZ                       OK     90012971821
22B4121119136B   BRET          JOHNSON                     KS     90014372111
22B4176A45715B   BUDDAH        BLACK                       VA     81018087604
22B41842955957   CHANTILLEY    LEWIS                       CA     90009278429
22B41A11972B42   YULIANA       ROBLES                      CO     33079530119
22B41A79591251   DAVID         GONZALEZ                    GA     90009600795
22B42119731453   LAUREN        POWELL                      MO     90000961197
22B4218399794B   VIANEEY       CABADA                      TX     90006431839
22B4263575B571   SANDRA        VASQUEZ                     NM     90009326357
22B4281335B167   MARY          CARTER                      AR     90015108133
22B4288467B422   WORKPEH       KOFA                        NC     90011958846
22B4288864B588   MIRNA         BARRIOS                     OK     90013328886
22B429A7472B84   FERNANDO      MORALES                     CO     33041949074
22B42A65A5B161   ALLISON       BRADLEY                     AR     23086200650
22B42A9787B471   AMY           BRUMLY                      NC     90012410978
22B43613193773   MELISSA       HALE                        OH     90005776131
22B43656191528   LETICIA       ROMO                        TX     75028976561
22B4381129136B   RYAN          HUMRICHOUSE                 KS     90010848112
22B438A815B271   TIARA         AUSTIN                      KY     90014508081
22B43A43485938   REBECCA       MCLAWHORN                   KY     90013440434
22B4425985B271   FIFTY         CENT                        KY     90013182598
22B4433917B42B   VAN           UK                          NC     90012763391
22B44724787B87   KIMBERLEIGH   EVANS                       AR     90002887247
22B44778172B84   ALFREDO       CHACON                      CO     90002247781
22B44857A7B471   KRISTA        HOWARD                      NC     90014418570
22B4489525B167   MARY          CARTER                      AR     90015108952
22B44A3594B261   TIFFANY       COPPAGE                     NE     27098470359
22B45472391241   LORENZO       GADSON                      GA     90013944723
22B45724847952   DANNY         VICKERS                     AR     90014877248
22B4589375B161   KWANIS        DAVIS                       AR     23081188937
22B45899955957   JOSEPH        ALBERTSON                   CA     90010158999
22B46166555957   MARK          CASARES                     CA     90009761665
22B4624824B588   TONYA         LONGO                       OK     90011002482
22B46327484364   JOSE LUIS     RODRIGUEZ                   SC     90011543274
22B466A6A91251   JOSEPH        GAINES                      GA     90013786060
22B4717925B271   CHRISTINA     LAWRENCE                    KY     90013211792
22B4729334B261   ALFREDO       SANCHEZ                     NE     90004862933
22B4747582B241   AUDREY        DIGGS                       VA     90002254758
22B47774872B84   ENRIQUE       MENDOZA                     CO     90014957748
22B48279347952   NORMA         HERRERA                     AR     90011242793
22B4858554B281   SARAH         STATION                     NE     90007725855
22B48641372B84   VERONICA      GUEVARA                     CO     90014276413
22B48778577541   YESENIA       PEREZ-SANCHEZ               NV     90014547785
22B4897852B232   MARTEACO      TAYLOR                      DC     81005949785
22B48A1365B571   MICHAEL       ESTRADA                     NM     35027640136
22B4942654795B   SAMANTHA      HANKS                       AR     90010964265
22B49543291541   JESUS         CORIA                       TX     90002395432
22B4974194B588   NICK          BATE                        OK     90013047419
22B4987695B161   MAKKAH        MITCHELL                    AR     23001158769
22B4B372541245   JESSICA       BRAUCHER                    PA     90011623725
22B4B5A9A8B17B   CHRISTINA     TONGOLEI                    UT     90007155090
22B4B74284B261   MEGAN         COLLINS                     IA     90012517428
22B511A624B261   LAURA         TIMBERLAKE                  NE     90009811062
22B512AA631453   ARTHUR        JACKSON                     MO     90011122006
22B5138195B161   DELIA         DELGADO                     AR     90014153819
22B5175867249B   DAVID         COOK                        PA     90010577586
22B51793A72B84   DANIEL        MONTANO                     CO     90014717930
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22B5188257B449   MIRIAM           ROMERO                   NC     11086568825
22B52811391528   RODRIGUZ         YAWANA                   TX     75095998113
22B5314915B531   MICHELLE         ALLEN                    NM     90006521491
22B532A734B588   JOSHUA           RAMIREZ                  OK     90015002073
22B533A915B161   CANDACE          WARD                     AR     90014703091
22B53588191541   SYLVIA           SANCHEZ                  TX     90005215881
22B5392845B571   JARED            CURRY                    NM     35045749284
22B54133A5B571   OLEVA            MOLINA                   NM     35055241330
22B5442955B271   HAYWARD          EMBRY                    KY     90014834295
22B544A792B232   JERMUTA          HARGRAVES                DC     81006194079
22B54547355957   ANGEL DE JESUS   ROBLEZ                   CA     90013825473
22B5467489155B   OSCAR            LUCERO                   TX     90004156748
22B5497495715B   JAIME            VISCARRA                 VA     81074419749
22B5519417249B   CAROL            DANILCHAK                PA     90013691941
22B55446A7B449   HERMINIA IRMA    LOPEZ LOPEZ              NC     90014494460
22B55473991541   ANTHONY          GAYTAN                   TX     75044844739
22B5573A14B281   ROBIN            BAILEY                   NE     27012427301
22B56191791541   CARMEN           CASTANEON                TX     90013221917
22B5627754B261   STEVE            MICHAELSON               NE     27007392775
22B5628795B271   CHARLISHA        COLEMAN                  KY     90013502879
22B56727585938   LYNDON           JOHNSON                  KY     90014597275
22B5684A49155B   AMANDA           ORTEGA                   TX     75014508404
22B568A159136B   JUSTIN           FOX                      KS     29030888015
22B56A51572B42   CARLOS           MONTANEZ                 CO     90012730515
22B57598791828   YADIRA           ROSALES                  OK     90013215987
22B5763A95B571   SANDRA           VALLES                   NM     35036986309
22B57829647952   CHRIS            CHARLTON                 AR     24006158296
22B57A88472B84   JAY              MUNIZ                    CO     90008440884
22B5813469136B   NATALIE          KING                     KS     90006811346
22B5857299155B   DAILA            MONCADA                  TX     90012965729
22B5873569189B   JAMIE            PLUAREZ                  OK     90012107356
22B5885937B449   LETICIA          JACKSON                  NC     90012848593
22B5899A74B261   SHAWNTEEA        MAPP                     NE     90013479907
22B5918934B588   SERGIO           MALDONADO                OK     90013791893
22B5927754B261   STEVE            MICHAELSON               NE     27007392775
22B593A9672B84   ERIC             SODERLUND                CO     33032893096
22B5949745B571   JONATHAN         ARMENDARIZ               NM     90003984974
22B59772191522   DENISSE          CASA                     TX     90012567721
22B5B293A8B168   RAMON            ZEPEDA                   UT     90000952930
22B5B2A375B161   ANTRUNETTE       IBEKAKU                  AR     23063222037
22B5B33A972B88   PAYGO            IVR ACTIVATION           CO     90010423309
22B5B624191251   JOZAIRA          WYATT                    GA     90014106241
22B5B98165B271   MARY             MCCLOSKEY                KY     68081229816
22B6131117B471   ANITRA           MOBLEY                   NC     11009173111
22B6131875B571   SCOTT            CONWAY                   NM     90015183187
22B62339885938   JENNIFER         ORTIZ                    KY     67009983398
22B62362331453   CHRIS            IVY                      MO     90011403623
22B624A7291522   SUSANA           GARCIA                   TX     90011984072
22B62596261936   JACQUELINE       MENDEZ                   CA     90015245962
22B62812A38531   ALBERTO          BARRAGAN                 UT     90012568120
22B62823291541   MAYRA            MONGE                    TX     90014858232
22B62869891241   JASMINE          LAWRENCE                 GA     90013778698
22B631AA872B88   OMAR             JAQUEZ                   CO     33009031008
22B6326684795B   JERRY            MCCONNELL                AR     25066442668
22B63363285938   SEBASTIAN        MORALES                  KY     90012903632
22B63667457531   ISRAEL           TARIN                    NM     90011526674
22B63A7795B271   HENRY            LOGAN                    KY     68014580779
22B64177772B98   MARIA            CONEJO VILLASENOR        CO     90008381777
22B6436657B471   ALDRIAN          WILLIAMS                 NC     90013363665
22B6443A45715B   TYWANNA          BURKE                    VA     90006994304
22B6449745B571   JONATHAN         ARMENDARIZ               NM     90003984974
22B64618A72B84   TONYA            ARAGON                   CO     90011246180
22B64A5257B449   BARBARA          HENDERSON                NC     90005090525
22B652A369184B   CRYSTAL          CELESTINE                OK     21018472036
22B65A8285715B   ANTONIO          HERAZO                   VA     90013500828
22B65AA5587B59   TRACIE           JACKSON                  AR     90012270055
22B6627164795B   EDITH            MARTINEZ                 AR     90014262716
22B6641319794B   MARCO            POSADA                   TX     90009614131
22B66483455957   ENRIQUE          ORTEGA                   CA     90014454834
22B664A3772B84   CLAUDIA          RIVAS                    CO     90001684037
22B6655A572B42   LYNN             NARVAEZ                  CO     33079395505
22B6691664B281   KATRINA          HELM                     NE     90007499166
22B66943172B88   THOMAS           ANDERSON                 CO     90013919431
22B66982731453   MICHEAL          BLAIR                    MO     27505489827
22B67836A9794B   CHRISTINA        RICHARDSON               TX     90014128360
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22B67863991241   DONALD       SCOTT                        GA     90010748639
22B67A43591828   JEREMY       WILLIAMS                     OK     90010220435
22B6825779184B   MELODY       WALLER                       OK     90002312577
22B68572887B87   FREDDIE      WILLIAMS                     AR     90012265728
22B685A8587B87   VERNIDA      TYLER                        AR     90010695085
22B68727A4B261   SHANTELL     ROBINSON                     NE     27064257270
22B68733272B23   JOSE         SOTO                         CO     90002507332
22B68958172B88   MIGUEL       SANCHEZ                      CO     33028569581
22B6898455B161   THERESA      CATES                        AR     23065999845
22B68A9179136B   GABRIELA     REYES                        MO     29006410917
22B69218972B35   RAMON        CHAVEZ                       CO     90009882189
22B6926199136B   ANGEL        VAZQUEZ                      KS     29045712619
22B69A42591522   LIDIA        PINEDA                       TX     75087290425
22B69AA995B531   THEODORO     ARCHULETA                    NM     35089360099
22B6B586354123   PAULA        HERNANDEZ                    OR     90010395863
22B6B88234B588   HELEN        MADDEN                       OK     21556068823
22B6B934391241   ANGEL        OUTING                       GA     90012269343
22B6BA37372B88   HAROLD       MANN                         CO     33040900373
22B71829647952   CHRIS        CHARLTON                     AR     24006158296
22B7199368B168   JENNIFER     MILLER                       UT     31093619936
22B71A2A191541   EDUARDO      DIAZ                         TX     90012770201
22B7214339794B   JUAN C       AVILAS                       TX     90004401433
22B722A5A5B232   TAMMY        LYNN                         KY     90013872050
22B723A5472B88   ISIS         TEHUTI                       CO     90014673054
22B7251315715B   ANGELICA     ECHEVERRIA                   VA     90014915131
22B7254515715B   ELIZABETH    IRAHETA                      VA     90012105451
22B7268234B261   TIMOTHY      HALLIGAN                     NE     90004746823
22B72A1652B931   MELINDA      RODRIGUEZ                    CA     90014550165
22B7323289136B   DERION       BROOKS                       KS     90013962328
22B7327367B471   JESUS        GAONA                        NC     11009432736
22B73451A91251   BIANCA       TAYLOR-BELL                  GA     90013164510
22B73467A72B98   MARTHA       ROMAN                        CO     90007584670
22B7386524B281   LEELLA       FRAZIER                      NE     27014198652
22B73A1939794B   JOHNNY       MARTINEZ                     TX     90014950193
22B7418234B588   ALICIA       DUN                          OK     90014281823
22B7461545B161   SHAKINA      WALLER                       AR     90014666154
22B746A7191241   JOSE         MARTINEZ                     GA     90014306071
22B74925791541   GABRIELA     BERNAL                       TX     90004339257
22B74983181637   ANA          SOLARSANO                    MO     29054349831
22B7517879794B   TERIE        PULLEN                       TX     90002791787
22B75254555957   ALEJANDRA    RODRIGUEZ                    CA     48048912545
22B7543932B232   JESUS        MELCHOR TORRES               DC     90003854393
22B75576381661   JEREMY       JONES                        MO     90012855763
22B75855A9132B   RAJWINDER    KAUR                         KS     90013498550
22B75882687B59   LATEKQUA     FRAZIER                      AR     90015238826
22B76156A91251   JULIE        PETERS                       GA     90015421560
22B7624314B588   SHANIECE     CAROLINA                     OK     90012562431
22B76351287B87   JESSE        MORGAN                       AR     23096773512
22B7667242B27B   VENETIA      JOHNSON                      DC     81012516724
22B76698972B98   THOMAS       SCHOLL                       CO     33065506989
22B76794987B59   KENNETH      CUNNINGHAM                   AR     90010657949
22B7718385B167   ALISHA       GUEST                        AR     90013621838
22B77191791541   CARMEN       CASTANEON                    TX     90013221917
22B77316891528   FRANKIE      HERNANDEZ                    TX     90003403168
22B7744857249B   MICHAEL      BERK                         PA     90012224485
22B77743381661   MARK         KINCADE                      MO     90012647433
22B77778231453   IESHA        PRICE                        MO     90010967782
22B78144231631   DAVID        ALCORN                       KS     90004121442
22B7836A391251   KRISTY       ANDREWS                      GA     90014523603
22B7927AA91828   DONNA        BLUE                         OK     90007552700
22B79368A6196B   LORENA       GUERRERO                     CA     90009623680
22B7976735715B   NANCY        SIRIBONGKOCH                 VA     90002197673
22B7B13835715B   KAREN        BAQUEDANO                    VA     90002851383
22B7B1A3181637   DAN          CURRIER                      MO     29043901031
22B7B619372B84   BRANDY       VIGIL                        CO     90013716193
22B7B819991828   THOMAS       GRIFFITH                     OK     21015348199
22B7B98245B161   MAURICE      SPENCER                      AR     90014799824
22B7BA8437B449   VERONICA     LEE                          NC     11031440843
22B81116581661   ARETHA       TRENT                        MO     90014991165
22B811A264B261   LAQUITA      RUSSELL                      NE     90014961026
22B81214272B88   RUDY         ROYBAL                       CO     33048492142
22B8145142B27B   THIERRY      SILEU KAMENI                 DC     90009724514
22B8148475B571   NICOLE       MARTINEZ                     NM     90014644847
22B8159A55B271   PAULA        WEBB                         KY     90003085905
22B8173144B588   RICKIE       BEEZLEY                      OK     90013447314
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22B81771172B84   ANDREW        STOLL                       CO     90007377711
22B817A367249B   JAMES L       DAVIDSON                    PA     90012577036
22B8182967249B   GERALD        LEE                         PA     90014308296
22B81951291528   GABRIEL       GONZALEZ                    TX     75092769512
22B82286191522   ELIZABETH     GONZALEZ                    TX     75098082861
22B822A714B588   NIQUEL        LINDSEY                     OK     90012152071
22B82345891522   ANDRES        DIAZ                        TX     90014043458
22B825AA79794B   FRANCISCO     CUA                         TX     90012215007
22B8264235715B   ROLANDO       OLIVERA                     VA     90014176423
22B83168A72467   ASHLEY        STEINDL                     PA     90008721680
22B8318648B17B   DAVID         TORRES                      UT     90000921864
22B8368995B271   CONNIE        RODGERS                     KY     90001446899
22B8429A791251   KEYANNA       COOK                        GA     90014882907
22B8456539184B   ROBERT        EASTIN                      OK     21067215653
22B8457329794B   LUIS          LOPEZ                       TX     90008905732
22B84659787B88   KINETA        GRAVES                      AR     90013296597
22B85165731453   CHRISTOPHER   WEST                        MO     90015311657
22B85262772B42   BERTHA        RUIZ                        CO     90010282627
22B85635A91828   RAMONDICA     BRYANT                      OK     90013826350
22B85799774B79   LANA          CALYPOOLE                   PA     90013597997
22B8585675B531   GERALDINE     SANDOVAL                    NM     35070278567
22B8597827B471   FARAH         ULYSSE                      NC     90000579782
22B85A6789189B   GARY          FLICK                       OK     21014970678
22B86181547952   CAUBRE        WALTHALL                    AR     90007661815
22B86251291522   CLAUDIA       HITA                        TX     90009712512
22B86281193773   STACY         CARROLL                     OH     64598122811
22B8633884B588   MARIA         PEDROZA                     OK     90011123388
22B867A895715B   HECTOR        SANTOS                      VA     90014897089
22B87768891241   CHITTAGYA     LAMA                        GA     90013007688
22B8798297249B   DALE          ORRIS                       PA     90009729829
22B87A1874B261   WILLIAM       FLESHMAN                    NE     27004520187
22B88255A91541   ALEX          GARXA                       TX     90005962550
22B8854794795B   SMANTHA       REDDING                     AR     90014255479
22B885A7A9794B   CHRISTELLA    SAENZ                       TX     74009325070
22B8B48215B161   MELISSA       CLARK                       AR     90014754821
22B8B596187B87   LESLY         QUALLS                      AR     23071115961
22B8B59A35715B   GAYE          STAFFORD                    VA     90014175903
22B9174919184B   JEREMY        DUNKER                      OK     90013017491
22B91AA177B423   CEDRIC        ARCHIE                      NC     90013020017
22B92665281661   JASON         FORDYCE                     MO     90000916652
22B9283659136B   SASHANA       MALARVE                     KS     90014788365
22B9298974B261   VALENTIN      PABLO                       NE     90014829897
22B92A9618B168   GERALD        VALLEJOS                    UT     31088670961
22B9352355B232   JOSE          ALVAREZ                     KY     68007595235
22B93AA6972B42   RENATA        RIOS                        CO     33052470069
22B9557A587B59   LERONDA       HARRIS                      AR     90014165705
22B955A2A47952   JOSE          RODRIGUEZ                   AR     24094645020
22B9571385B167   MARGARITA     GONZALEZ                    AR     23049347138
22B9575295B161   JONATHON      MALLORY                     AR     90008737529
22B958A6551369   JOY           MEADS                       OH     90007938065
22B9624544B281   KRISTELLE     SAMONTE                     NE     90009852454
22B9636779152B   JOSE          LAGUNAS                     TX     90013593677
22B9647835715B   WILFREDO      MIRANDA                     VA     90011864783
22B96743891522   LUCIO         ALCALA JR                   TX     90011577438
22B9674A672B84   SA            KISS                        CO     90014177406
22B9757922B931   SHAMIRAN      BENNER                      CA     90001865792
22B97694763621   JENNIFER      O MALLEY                    MO     90007736947
22B97977672B42   DULCE         JAIME                       CO     33062769776
22B98382672B84   MARTHA        PINEDA                      CO     33049913826
22B98578455957   AMADOR        REYES                       CA     90015045784
22B9893894B588   LESLIE        LOFTON                      OK     90013479389
22B99154591528   CHRIS         PRANGNER                    TX     90013521545
22B992A7672B42   JAMES         FAMBER JR                   CO     90010872076
22B9942A887B59   SURENA        CROOM                       AR     90014094208
22B9958429136B   MARICELA      GUTIERREZ                   KS     29083315842
22B99868981661   CASSIE        SUMMERS                     MO     90000988689
22B999AA63364B   SHANTON       LOWE                        NC     90008089006
22B9B176581661   SHERRY        SCOFIELD                    MO     90013751765
22B9B25977B449   DAVID         ARMSTRONG                   NC     90013592597
22B9B939A9189B   LILLIE        CALDWELL                    OK     90014569390
22BB139837B471   ANITA         GIST                        NC     90010003983
22BB1513472B42   SAMANTHA      ANDERSON                    CO     90003235134
22BB163518B171   NALANI        HOLT                        UT     31080936351
22BB1834691541   MARTHA        ARAGON                      TX     90010988346
22BB1A6985B167   TANYA         DORAN                       AR     90014880698
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22BB2257691541   SANDRA         VERDIER                    TX     90009272576
22BB23A2791522   JOSEFINA       CONTRERAS                  TX     75088473027
22BB248225B271   JENNIFER       WINDELL                    KY     90013264822
22BB2831491257   ERIN           STEELE                     GA     14592978314
22BB2914741245   MAGGIE         SITES                      PA     90004219147
22BB2953451369   JOHN           WORISCHECK                 OH     66084879534
22BB2965755957   MARISSA        MARCYES                    CA     90010979657
22BB3215681661   DURN           SMITH                      MO     90014612156
22BB369525715B   KELLY          PETERSON                   VA     90014666952
22BB381149155B   VALERIE        LOPEZ                      TX     90011698114
22BB396225B167   MARY ANN       FISCHER                    AR     90013829622
22BB3A62591522   LUIS           LOZANO                     TX     75090470625
22BB419525B232   TROY           NALL                       KY     90009441952
22BB4214A9794B   MICHELLE       STORRS                     TX     90014842140
22BB47A9A55957   MALISSA        PHILLIPS                   CA     90011737090
22BB4866491522   ABIGAIL        MUNOZ                      TX     90011978664
22BB564569136B   JONATHAN       BREHANEY                   KS     90013686456
22BB6528291241   SANDRA         LIPSEY                     GA     14594095282
22BB6571987B59   TIMOTHY        WISE                       AR     90015275719
22BB6689972B88   CLIFFTON       COBBS                      CO     90011186899
22BB6A2A887B59   TIMOTHY        WISE                       AR     90015460208
22BB6A9419155B   JOSE           LOPEZ                      TX     75031800941
22BB745449189B   DONNETTE       BATES                      OK     90011464544
22BB7818531631   LISA           TINAJERO                   KS     22050808185
22BB7953A5B161   KIMBERLY       JONES                      AR     90015449530
22BB7A98591241   EBONY          ROBINSON                   GA     90013870985
22BB824625B271   MARAH          JUNIOR                     KY     90014922462
22BB848A58B168   RICHARD        JONES                      UT     31048244805
22BB86A299136B   UFORD          LINDSAY                    KS     90003896029
22BB8A27772B42   REYMUNDO       DEJESUS                    CO     90003790277
22BB9166672B84   ANDREA         LOVE                       CO     33054031666
22BB9366591541   SKY            MORIEL                     TX     90013573665
22BB941464B281   VICTOR         MERINO                     NE     90005214146
22BB9416A61973   HAYDEE         VAZQUEZ                    CA     90012564160
22BB946985B167   ALLEN          OLLIE                      AR     90014924698
22BB957795B271   DUSTIN         POTTER                     KY     90005575779
22BB962255B144   JACQUELYN      POINDEXTER                 AR     90012536225
22BB9A28891522   MARQUEZ        IRENE                      TX     75066340288
22BBB168987B87   CHARLIE        ROGERS                     AR     90011411689
22BBB17A17249B   GREG           KULCZYCKI                  PA     90014151701
22BBB66A29184B   CRISTOBAL      PEREZ                      OK     90007596602
22BBB723172B88   MARIA          FLORES                     CO     33094917231
22BBB75339184B   MARIA SUSANA   RESENDIZ                   OK     90013597533
22BBB78A74B588   MARIA          WOOD                       OK     90014767807
22BBB798185938   LOISE          MHONEKUHE                  KY     90014627981
22BBBA6985B167   TANYA          DORAN                      AR     90014880698
2311125439189B   MARIA          DIAZ-AVALOS                OK     21080092543
2311131765B232   JESSICA        MCCRARY                    KY     90012553176
2311155179794B   ERIC           GARCIA                     TX     90015425517
2311181894B588   JOHN           RISTER                     OK     90011728189
2311182159794B   ANEBRINIEY     THOMAS                     TX     90012458215
2311184794B281   VELIA          MENDOZA                    NE     90006018479
2311247925B167   DEBORAH        RILEY                      AR     90007954792
23113336472B88   MARIA          MILLAN                     CO     90006313364
231137A529184B   AMANDA         ONEILL                     OK     90009077052
231139A7491541   JESUS E        MORENO                     NM     75043749074
23113A5635B271   FARRAH         WEIS                       KY     68040110563
2311413465B271   MICHAEL        FOARD                      KY     90011351346
23114462A9184B   ANDREA         BROWN                      OK     90011354620
23114886A5B167   MARLENE        COLLATT                    AR     23037458860
23114A3825B161   ADRINA         ROSEBY                     AR     90013880382
2311589332B931   KIRSTIN        WADDLE                     CA     90013328933
2311633855B531   CAROL          BENCOMO                    NM     90009293385
2311657315B271   ANTHONY        WAGNER                     KY     68054315731
23118397572B88   ANDREW         ADAMS                      CO     90009943975
23118A96391525   JESSICA        LEA                        TX     75051600963
2311927965B161   CRYSTAL        BILLINGSLEY                AR     23047332796
2311BA5167B471   DEANGELO       COWELL                     NC     90009430516
2312111759155B   ANTONIA        MELENDEZ                   TX     75092951175
2312152812B242   GWENDOLYN      LEON                       DC     90001275281
231219A412B931   CHELSEA        RORABAUGH                  CA     90011119041
2312224769136B   ALMA           TREVINO                    KS     90012332476
23122313A4B261   JUAN           MATIAS                     NE     90013593130
23122435A55957   ALEJANDRA      ACOSTA                     CA     90011524350
2312314859155B   JAIME          SALAZAR                    TX     90015051485
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23123287172B88   MICHAEL          CASTO                    CO     33040992871
2312383617B449   WILLIAN          GRANT                    NC     90014878361
2312479249155B   ERIKA            LOPEZ                    TX     90009897924
23124A18A31631   RICARDO          GARCIA                   KS     90006010180
23124A36872B88   ECHO             BEAVER                   CO     90000320368
2312545569189B   JAMES            WALKER JR.               OK     21059144556
231256A766B259   LINDA            GERLAK                   AZ     90014386076
2312571915B232   JAMA             MOHAMED                  KY     90011987191
23125A12491241   CEAIRRA          HEYWARD                  GA     90014200124
23125A45A7B449   JAMEL            YATES                    NC     90015050450
23125A55672B32   TOMAS            AMADOR                   CO     33036800556
23126537272B42   ROSANA           MEDINA                   CO     90008665372
2312683982B931   CHANNY           KHIN                     CA     90008388398
2312753325B232   MAYRA ELIZABEH   NENEZ IBARRA             KY     90010465332
2312786815B161   MARRY            MOORE                    AR     90014368681
2312795A34B588   RANDY            BARRIOS                  OK     90013009503
2312812345B161   STEPHANIE        WALKER                   AR     23034191234
2312825174B261   BRENDA           MARTINEZ                 IA     27018262517
2312834735B167   FREDDIE          WILSON                   AR     90010013473
231291A489136B   CRISTINA         PAEZ                     KS     90012231048
2312943A44B281   DOMINIQUE        BURTON                   NE     27030724304
2312955A857544   DOUGLAS          CONWAY                   NM     90011385508
23129794A87B59   TIMOTHY          MIXON                    AR     23015967940
2312981139155B   GUILLERMO        ROJAS                    TX     90004258113
23129A2185B232   RAYMOND          BONCZKOWSKI              KY     90012850218
2312B15A791828   LEONARDO         MARTINEZ                 OK     90000991507
2312B66725B571   MIRIAM           HERNANDEZ-PEREA          NM     35084506672
2312B75289189B   KAREN            HINES                    OK     21015427528
2312B81624B261   BRUCE            RADER                    NE     90013988162
2312B86457B449   FELIPA           CORTEZ                   NC     11020488645
2312B973A87B59   MICHELLE         WILLIAMS                 AR     23070459730
231314A9991522   ROSALVA          VASQUEZ                  TX     75008804099
2313166919136B   CYNTHIA          CRAWFORD                 KS     29001526691
2313241899184B   TEO              GONZALES                 OK     21089674189
23132645A91541   DONNA            ALEVAREZ                 TX     90008996450
23132A65387B59   CLORINE          CHARLES                  AR     23065370653
23133146272B32   TAYLOR           HIGGINS                  CO     90014881462
231343A619794B   GUADALUPE        GARCIA                   TX     90012483061
2313447645B531   TAMARA           RAEL                     NM     90005624764
2313537249794B   ALISA            DIXON                    TX     74024103724
231355A258594B   JACQUES          CAMPBELL                 KY     67047435025
2313593789136B   JACIE            KICK                     KS     90013719378
2313624949189B   TERESO           ESPARAZA-DURAN           OK     90013722494
23136369172B32   PAULA            ROBINSON                 CO     33089713691
2313728578B849   NEOLANI          MAILO                    HI     90015412857
2313757A831453   SEQUOIA          BEVLY                    MO     90015325708
2313766377B449   MARIO            CELIS                    NC     90015046637
2313776254B588   HEATHER          EVANS                    OK     90010327625
23138261472B88   DOMINQUE         HUST ADAMS               CO     90011662614
2313827975B232   NORRIS           HALEY .SR                KY     68042762797
2313887894B281   ADAN             ORTIZ                    NE     90000398789
231392A454B261   SARAH            SALADO                   NE     90011032045
2313989989794B   ANTHONY          CASTRO                   TX     90015218998
23139A3624B261   KERRY            WERTHMAN                 NE     90003950362
2313B5A7A47937   MARTHA           MARTINEZ                 AR     90012165070
2313B624572447   DEBORAH          GUYAUX                   PA     90013996245
2313B657372B88   AURORA           BAEZA                    CO     90013106573
2313B82A67B449   REE              PURRIS                   NC     90011078206
2313B919755957   RACHAEL          LEWIS                    CA     90000139197
2313BA61487B59   CATHERINE        HENDERSON                AR     23015970614
23141162172B88   SHAWN            SHELLS                   CO     90005201621
2314187815B271   BRIAN            ALLEN                    KY     90013108781
2314189199184B   KEITH            SIMPSON                  OK     90006398919
2314225999794B   LUIS             TORRES                   TX     74011142599
2314231967B449   HUGO             MACIAS                   NC     90013923196
2314277974B588   DENZEL           FITTS                    OK     90014837797
2314283387B399   CHARLES          MENDS                    VA     90003268338
23142A16397B4B   TYLER            OSEBOLD                  CO     39084830163
23142AA2741245   WILLIAM          WARNICK                  PA     90008590027
2314346354B281   ANTHONY          LEFLORE                  NE     90013944635
2314376A547952   FRANCES          LONDON                   AR     90012357605
231437A1331453   ASBERRY          PATRICK                  MO     27573897013
23143A23391528   SYLVIA           RESENDEZ                 TX     90006760233
2314417533B336   FREDRICK         BRANLET                  CO     90011451753
23144421772B88   VAI              MARTINEZ                 CO     90012874217
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2314517929155B   JAIME        RAMIREZ CARRILLO             TX     90011881792
23145433372B88   SERGIO       DELGADO                      CO     90008674333
2314543919189B   LATRICIA     DEASON                       OK     90009774391
2314554A55B232   MIKE         NAVERRETTE                   KY     90013225405
23145AA585B571   DAVID        GONSALEZ                     NM     35081270058
231463AA655957   CAROL        WOOLWINE                     CA     48061883006
2314763679189B   BRANDY       COX                          OK     21070296367
2314768719794B   ANGELICA     LOFTN                        TX     90014886871
23147A6165B271   ANN          OGLE                         KY     90009380616
2314811562B27B   KATRINA      GHEE                         DC     90009771156
2314911575B161   HERMINIA     ORTIZ                        AR     23059851157
2314933A24B261   ANDREA       HARRIS                       NE     90007683302
231496A9187B87   BRETT        ALLEN                        AR     90002836091
23149734972B32   RONALD       RODRIGUEZ                    CO     90013047349
23149863854B84   RALPH        ANTHONY                      VA     90010738638
231499A439136B   DIAMONE      BROWN                        KS     90011089043
2314B65239155B   ANTONIA      RAMIREZ                      TX     75053086523
2314B923A91522   JUAN         ITUARTE                      TX     90014779230
2315129814B261   KAY          CARROL                       NE     27017832981
2315129A655957   ANA          ENRIQUEZ                     CA     90014842906
23151713A4B52B   DESIREE      REYNOLDS                     OK     21532187130
231525A4891828   RANDY        CURRY                        OK     90010275048
23152822272B32   LOUISE       MILLER                       CO     33059158222
2315315569136B   ROSALYN      WALKER                       KS     90014511556
2315462769136B   VICENTE      MALDONADO                    KS     90004526276
23154A7A231631   JOHN         WILLIAMS                     KS     90010670702
231551A165B271   JEFFERY      SINGLETON                    KY     90003011016
2315533499189B   DANIELLE     MCDOWELL                     OK     90011983349
231554A622B931   REBECCA      BRAVO                        CA     90014374062
2315568319184B   JEREMIAH     EDWARDS                      OK     21033026831
2315589A491522   VERONICA     HERNANDEZ                    TX     90012848904
2315616577B471   KILA         CURRENCE                     NC     11035201657
231561A284B588   CRYSTAL      SIMPSON                      OK     21593221028
231579A2741245   DARYL        HAYDEN                       PA     90014159027
23157A19572B88   ELIZABETH    ARAGON                       CO     90006810195
2315815A755957   JASON        BRANDON                      CA     48023131507
23158462A55957   RAUL         ALDAMA                       CA     90013694620
23158592A4B281   LESLIE       BECK                         NE     90001885920
2315885664B261   JOSE         LEDESMA                      NE     90007828566
2315B411655957   MARIA G.     ARIAS                        CA     48001434116
2315B683A5B271   ASHLEY       DOBSON                       KY     68037076830
23161868A87B59   CARLA        JONES                        AR     23055018680
2316227839152B   GLADYS       CORNEJO                      TX     90009902783
231624A1591541   LUIS         MARTINEZ                     TX     90003054015
2316375484795B   LAURA        PARAGIOUDAKIS                AR     25010057548
23163A8774B281   ALEX         CURTIS                       NE     90013720877
2316435A12B27B   JOSE         FUNES                        DC     90002663501
23164425A9136B   ROSA MARIA   SARAVIA                      KS     90013094250
2316455195B571   WAYNE        JARAMILLO                    NM     90006935519
2316463819794B   OSCAR        RAMIREZ                      TX     74044056381
23164798A5B167   ANTHONY      STALLCUP                     AR     23092887980
23165372372B88   JOSE         SALAZAR                      CO     33067613723
2316571824B588   DARLISHA     WARE                         OK     90011517182
2316594747B449   JAMES        SCHOOLFIELD                  NC     11049149474
23166157A7B449   JAY          SHELTON                      NC     90013041570
2316654835B161   MICHAEL      YOUNG                        AR     23001245483
2316659137B471   JACQUELYN    MATTOCKS                     NC     90011735913
23166A1A655957   JOAQUIN      BUENROSTRO                   CA     90015600106
231672A9691828   EDUARDO      DAVILA                       OK     21014262096
2316744679184B   WILLIAM      SIMMONS                      OK     90013544467
2316862415B531   JON          CASAS                        NM     35053146241
2316921135B271   JOSEPH       KELLEY                       KY     90000982113
2316945555B232   LATONYA      SMITH                        KY     90008494555
2316969269184B   MAURICIO     RIVERA                       OK     90008936926
2316992835B232   HECTOR       GARCIA                       KY     90005169283
2316B183591522   LOPEZ        FRANCISCA                    TX     75072451835
2316B36288594B   TOMMY        HAMM                         KY     90000443628
2316B56989184B   MISTY        MCULLOUGH                    OK     90012865698
2316B68579136B   MELISSA      CASPERSON                    KS     90013226857
2316B88259376B   KACHEMA      WOODRUFF                     OH     90011718825
2317276619155B   ROBERTO      MARTINEZ                     TX     75010917661
2317319849189B   ANNA         CHANEY                       OK     90009821984
2317322A155935   MIGUEL       GARCIA                       CA     90010462201
23173427272B42   ROBERT       PEALS                        CO     90012584272
2317385399794B   RICARDO      TOT                          TX     90002788539
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2317433674B281   ELVIRA       HOWARD                       NE     27057263367
2317445153B351   DON          KING                         CO     90007034515
2317468395B232   CELIA        FORD                         KY     68083406839
23174892687B87   MICHEAL      SCOTT                        AR     90006738926
2317489A972B88   MONICA       SANCHEZ LOPEZ                CO     90014598909
2317496839136B   SANJUANITA   GARCIA-DE RIOS               KS     90012749683
23174A7A65B161   JAMES        ROBINSON                     AR     90013720706
2317525379184B   LARRY        FORTENBERRY                  OK     21003812537
2317672A691541   DIANA        VELASQUEZ                    TX     90009727206
2317691489184B   RANDY        STOALABARGER                 OK     21091049148
2317699697B336   FARRUKH      SABIR                        VA     90012319969
2317763617B471   ALFREDO      ROQUE                        NC     11096876361
231782A969136B   MIKE         OGDEN                        KS     90012952096
2317863615B531   RUSKIN       IPTISAM                      NM     35090416361
231792A935B232   ELIZABETH    SANCHEZ                      KY     90012152093
2317983982B931   CHANNY       KHIN                         CA     90008388398
23179A2A855957   SAUL         RODRIGUEZ                    CA     90013130208
2317B24A69184B   DEBORAH      GIST                         OK     90013592406
2317B27A15B271   REBECCA      MEDELY                       KY     90014592701
2317B2A3155957   GENARO       LINARES                      CA     90015092031
2317B972731631   KRISTI       HALLEUM                      KS     90014559727
2317BA24291241   LARRY        DEMERY                       GA     14570630242
23181219172B42   FRANK        CISNEROS                     CO     90001632191
2318129A52B232   SAMUEL       DALEY                        DC     90001732905
2318194659794B   KIMARI       JURODE                       TX     90000479465
231819A3272B32   NORMA JEAN   TORRES                       CO     90011769032
231819A965B232   ANTHONY      MCKEVIER                     KY     90014179096
231825A955B271   LOIS         SPRINKLES                    KY     90011915095
2318273219184B   PAUL         MEIER                        OK     90012757321
2318275265B333   ERNESTINA    CALDERON                     OR     90011807526
23182A8139184B   DEANJLO      DOYLE                        OK     90010330813
231831A5A4B261   CHRIS        HIKE                         NE     27078291050
2318331A95B531   CYNTHIA      TRUJILLO                     NM     35033863109
2318332999189B   SANDRA       ALVAREZ                      OK     21058513299
2318386119794B   FELIPE       HERNANDEZ                    TX     74059758611
2318411289136B   SILVIA       MARIN                        KS     90011331128
2318431759184B   SAMANTHA     HINKLE                       OK     90014653175
2318471A891828   VICTOR       GABLE                        OK     90015137108
231855AA872B88   JOAQUIN      MORENO                       CO     90007995008
2318567A59189B   JOSE         ROMERO                       OK     90010626705
2318663747B449   DARRIN       TORRENCE                     NC     90015426374
231869A7172B88   CORDOVA      SABRA                        CO     33041209071
23186A98791522   ROSA         MALDONADO                    TX     90014380987
2318719788B355   DAVID        CRAWFORD                     SC     90014201978
2318737779189B   WALTRISHA    DUSTIN                       OK     90015223777
23187391972B88   STEVENSON    MARGARET                     CO     33094763919
2318756959136B   VICTOR       DERAS                        KS     90003295695
2318769297166B   CAROLYN      EWING                        NY     90007986929
23187766A87B59   BRITTNEY     THOMPSON                     AR     23092847660
23187854272B32   BRANDON      DUNN                         CO     90011118542
23187A71391241   ELLIOT       MIMS                         GA     90011020713
231881A3931453   DON          MALONE                       MO     27556161039
23188A4614B281   DAKOTA       BOYER                        NE     90015140461
2318959345B393   JEFFREY      SUMNER                       OR     44098125934
23189A4169136B   JOEL         CASTILLO                     KS     29014520416
23189A4549184B   LINDA        CONYERS                      OK     21001660454
2318B394491241   THOMAS       MCCLOY                       GA     90009143944
2318B48662B232   SEAN         BENTON                       DC     81057854866
2318B4AA872B32   HILLARY      BERNAL                       CO     90006914008
2318B634331453   CYNTHIA      YOUNA                        MO     27595286343
2318BA11555957   ROBERT       ROSE                         CA     48082960115
2319185194B588   COLYN        CADE                         OK     90015098519
2319197872B27B   BONITA       JONES                        DC     90008079787
2319284299155B   JOSE         MARTINEZ                     TX     90004258429
2319393525B232   KENDRICK     ANTHONY                      KY     90014179352
23193A4825B342   KIMBERLY     TORRES-JIMENEZ               OR     90014450482
2319428279794B   CARMEN       IBARRA                       TX     90012272827
2319434399184B   IRENE        HOWARD                       OK     90013803439
2319463A872B88   CANDACE      HYATT                        CO     33022396308
2319471A85B271   SHENA        BIBB                         KY     68016547108
2319475224B588   SAMUEL       COLLINS                      OK     90013557522
23194A2429794B   ALVARO       VELASQUEZ                    TX     74043220242
2319518554795B   JOSHUA       FARRIS                       AR     25093771855
2319556849189B   JOSE         OTERO                        OK     21074645684
2319637228594B   SAULO        ARREOLLA                     KY     90006653722
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2319653A591828   TERESA            PARRA                   OK     90014885305
2319699415B167   ZIERRA            BROADWAY                AR     23041759941
2319725527B471   NAKEISHA          MILLER                  NC     90011082552
23197716772B42   ERIC              KNUTSON                 CO     90013457167
2319898495B161   RICKY             GAZO                    AR     23043699849
23199581572B88   SPENCER           BRIGGS                  CO     33004775815
23199A98893773   SHAWN             VANMETER                OH     90005700988
2319B557A9794B   TONY              PEREZ                   TX     90008275570
231B14A1372447   RICHARD           SIMMONS                 PA     90013634013
231B187989189B   SARAH             DONEACHY                OK     90012408798
231B1A3A672B88   LISA              ROMERO                  CO     90012780306
231B1A56991828   MAHALA            MABRY                   OK     21006130569
231B2439491528   MARIA             INARAGA                 TX     75093194394
231B3319A72B32   TINA              COOPER                  CO     33015143190
231B356914795B   MARCY             DRAKE                   AR     25098325691
231B3791172B42   ROBERTO           ESPINOSA                CO     33008047911
231B429999189B   ROBERT            JOHNSON                 OK     90013842999
231B442119794B   GUSTAVO           RIVERA                  TX     90015324211
231B4578A91522   MARGARITA         VEGA                    TX     90012865780
231B513559155B   RAUL              CARREON                 TX     90015051355
231B527454B588   ARMANDO           GONZALAS                OK     90011862745
231B5915231453   MICHELLE          TOWNS                   MO     90014769152
231B599572B27B   KEITH             DUBLIN                  DC     90006309957
231B5A22985938   RICHARD           FORD                    KY     90013650229
231B6275933636   POWELL            ROSE                    NC     12046992759
231B643834B281   SILVIA            TORRES                  NE     27093534383
231B65AA44B281   MARIBEL           OCANA MORALES           NE     90008385004
231B6699531453   JOSEPH            MCCLANTON               MO     90015586995
231B717887B471   RONNIA KRISTINA   HOWARD-VANDIVER         NC     90013291788
231B742549189B   CLEMENTE          MONTOYA                 OK     21058114254
231B7437872447   KATHLEEN          KRUG                    PA     51064374378
231B784244B261   MARGARET          LEA                     NE     27068258424
231B796A591541   ALMA LILIA        MALDONADO               TX     90010919605
231B8123587B59   ANTHONY           JILES                   AR     23051441235
231B813359794B   CHRISTAL          TOLIVER                 TX     90005501335
231B8183561992   SANDRA            ESTRENERA               CA     46025491835
231B825865B232   CATHERINE         CAREY                   KY     90013002586
231B832A855957   CARRIE            BARRIOS                 CA     90014283208
231B8429231631   TOMMIE            CAMERON                 KS     22021404292
231B8647572B42   PATSY             QUINTANA                CO     90009466475
231B8771781637   EUNICE            NGADNA                  MO     90012057717
231B9516891541   RAUL              CORONEL                 TX     90014725168
231B9662191528   ELOISA            HOLGUIN                 TX     75093196621
231B9856861558   JALYN             MAYL                    TN     90015288568
231B9AA7331433   ANGELINA          SOLORSANO               MO     27549160073
231BB25A88594B   NATASHA           CUNNINGHAM              KY     90004402508
231BB773531631   TRISTA            JACKSON                 KS     90008487735
231BB825785938   JAMIE             CRUZ                    KY     90008318257
231BB897793773   JOSH              LONGSTRETH              OH     64505178977
231BB912291828   MELISSA           WILLIAMS                OK     90013169122
231BB98249184B   ROY               CORDOBA                 OK     90005149824
231BBA5915B161   LEWIS             PARNELL                 AR     90015320591
2321165485B531   PEGGY             ROMERO                  NM     35007686548
2321172989155B   ISMAEL            ZUBIA                   TX     75092427298
23211956A5B232   RICHARD           BOTHWELL                KY     90014179560
232129A484B281   DAVID             HAMPL                   NE     90010349048
2321357465B232   PATRICK           DONAHUE                 KY     68020075746
2321372A45715B   GLORIA            CAMPOS                  VA     90013497204
2321377834B588   JESUS             RODRIGUEZ               OK     90013557783
232137A2A31631   RICHARD           MORLAND                 KS     22068487020
2321388665B571   JUAN              MOREYRA                 NM     35072278866
2321415A472B32   JESSICA           COLLINS                 CO     90007431504
232142A2487B59   TAMARA            GULLEY                  AR     90008192024
2321534AA3147B   ANETTE            JENKINS                 MO     90010903400
2321555419189B   JEANIE            GIBSON                  OK     90011495541
2321561549184B   TALISHA           TYGGART                 OK     90013826154
232156A989794B   JANIE             NUNEZ                   TX     90010826098
2321592A35B531   VICENT            NOLL                    NM     35067349203
2321595845B232   CHRIS             BARROW                  KY     90014179584
23215A42872B88   DIANE             SERRANO                 CO     33033680428
2321652334B261   LONNETTAH         ELZER                   NE     90013635233
2321659AA87B59   KIMBERLY          PARKER                  AR     23016235900
2321668532B931   GERARDO           ORTIZ                   CA     90013396853
2321671A75715B   FERMIN            ESCOBAR                 VA     81002827107
2321675418B17B   NAYDEEN           LAMOREAUX               UT     31030957541
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2321683847B449   ELVA          VELASQUEZ                   NC     90013828384
23216A99672B88   TERESA        GUTIERREZ-ACOSTA            CO     90014470996
23217459A5B161   ANITA         ADAMS                       AR     90012144590
2321828A591828   ERIC          PARDEE                      OK     90010982805
2321874966196B   RUBEN         ORTIZ                       CA     90011317496
232188A437B471   MARIA         MALDONADO                   NC     11034478043
23219725A91828   CHRIS         FERRELL                     OK     21059397250
2321977555B571   COLLEEN       HEAD                        NM     90011077755
2321B618391541   BRIANNA       CARRASCO                    TX     90013476183
2321B62545B232   BILLYE        PAYNE                       KY     68088176254
2322122239136B   JUAN MANUEL   GUERRERO                    KS     90011622223
2322161984B261   HECTOR        BANDERAS                    IA     90001656198
2322176A672B32   BERNARDITA    CHACON                      CO     33025597606
23221778A9794B   EDUARDO       TOJ                         TX     90010827780
23221AA252B931   CLAUDIA       RODRIGUEZ                   CA     90014340025
2322256484795B   CODY          ANDERSON                    AR     25046725648
2322293719184B   HOWARD        ELDER                       OK     90005109371
2322389174B588   SAMANTHA      DEBOARD                     OK     90006058917
2322433144B588   DANIEL        WHARTON                     OK     90014453314
232245A994795B   CAITLYN       RAE                         AR     25054135099
23225296A7B471   ERNIE         BARR                        SC     11094722960
23225465A9136B   STANCE        RICHIE                      KS     90013314650
2322567249155B   TOMASA        RABELO TORRES               TX     75093866724
2322573839189B   KEITH         GRAY                        OK     21065477383
2322648945B167   CHARLENE      SPARKS                      AR     90013904894
23226A5139136B   JESSICA       SIEVERIN                    KS     90011010513
2322734815715B   MAGDALENA     PIWKO                       VA     81072243481
232279A934B281   HUMBERTO      JIMENEZ-PEREZ               NE     90014119093
2322911772B27B   KAREN         ROBINSON                    DC     90011501177
2322953162B27B   KAREN         ROBINSON                    DC     90013985316
23229A4A54795B   LAILANI       WELSH                       AR     90011110405
23229A86872B32   JOSE          ACOSTA                      CO     90013010868
2322B58629155B   ROSA          ALVARADO                    TX     75043165862
2322B6A2972447   NIKITA        KEMP                        PA     90010706029
2322B85124B52B   ASHLEY        ODANIEL                     OK     21513198512
2322BA8557B471   JAMYE         PARKS                       NC     90011480855
2323113542B27B   ANTONIO       FELICIANO                   DC     81005691354
2323198244B588   JAMES         JAMES                       OK     90001369824
232319AA172B42   CECILIA       CONTRERAS                   CO     90012029001
2323216732B27B   NIA           PRICE                       DC     90014241673
2323218A49794B   RANDY         PEREZ                       TX     90011761804
2323226579155B   PAUL          FRAIRE                      TX     90015052657
2323241455B161   BONITA        SPRINGER                    AR     23015254145
23232A24831453   SPARKLE       SMOTHERS                    MO     90013380248
2323332979189B   KELLY         JEFFERY                     OK     90005073297
2323411AA9155B   ALEXIS        GONZALEZ                    TX     90010211100
232345A689189B   ANA           GARCIA                      OK     90014245068
2323564625B167   RENEE         DURAN                       AR     90007746462
23235689A91522   ROSA          LOZANO                      TX     75008036890
23235714A72B73   CAROL         COOMBS                      CO     90001087140
2323593684B281   ANGELA        GILBERT                     NE     90013099368
23235A7687B471   TAJA          CARTER                      NC     90014180768
2323617618594B   MIKA          RITCHEY                     KY     67047281761
2323628759184B   JEANNETTE     FOSTER                      OK     21061142875
2323664144B588   GARNETT       STONER                      OK     21514046414
2323727267B471   JOSE          BENAVENTE                   NC     11085342726
232373A4431631   UGO           DISASI                      KS     22006753044
23237643A84364   SHANIQUE      SINGLETON                   SC     90000866430
2323878A55B571   JULIE         MITCHELL                    NM     90008487805
2323889179794B   MICHAEL       TREVINO                     TX     90013928917
23238951172B42   DINA          CHAVARRIA                   CO     33064589511
23238A1722B931   ANGELA        GAGLIAS                     CA     45044730172
232393A265B531   DAVID         GARCIA                      NM     90010603026
2323961A74B588   SHALANA       HAMILTON                    OK     90011736107
2323971647B449   BYRON         WILLIAMS                    NC     90002327164
2323B39A35B167   BETTY         JOHNSON                     AR     90007743903
2323B52587B449   MIGUEL        HERNANDEZ                   NC     90007505258
2323B726147952   SHAUNA        BROOKS                      AR     24090347261
2323BA5619136B   DANIEL        GONZALES                    MO     90009880561
2323BA9A49155B   LAURA         GONZALEZ                    TX     75089330904
23241462187B59   KERSHENA      PRATT                       AR     23049534621
2324181219794B   RUBEN         SANCHEZ                     TX     90013028121
2324192415B161   MARQUIS       TATUM                       AR     90010039241
23241933972B32   SERRANO       ROQUE                       CO     33025759339
2324227727B449   DEBORAH       RIVERA                      NC     90012582772
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2324344565B232   AHYAUNA      KAT                          KY     90009344456
23243494A7B449   ALEJANDRO    TOLEDO                       NC     90013894940
2324422699184B   ROWENNA      GAINES                       OK     90012882269
2324439439794B   BRANDI       HALFORD                      TX     90015113943
2324463454B588   ROBERT       NELSON                       OK     90013156345
2324473117B449   TAMARA       WORTHY                       NC     11003877311
23244782A36165   KRISTEN      HERRING                      TX     90011077820
2324492259136B   OLBBIE       CATCHING                     KS     90013929225
23245132A31631   JOE          RYDZEWSKI                    KS     90013541320
2324519755B147   EMILY        EDWARDS                      AR     90013301975
23245323A5B271   BRYAN        LINDSEY                      KY     90014153230
2324535934B261   JOSE         CARABANTES                   NE     90002843593
2324611215B232   DWAN         HEARN                        KY     68020091121
2324681A372B32   SANDRINA     HENDERSON                    CO     33045968103
232471A319184B   BRITTANY     ACKLEY                       OK     90013621031
2324731485715B   MANUEL       RIVAS MERCADO                VA     90010233148
2324853467B471   DIANA        CRUZ                         NC     90001915346
23249693A72B42   TRENACE      WOODS                        CO     90004906930
23249A8A372B88   CAMYRAE      CLARK                        CO     90003920803
2324B27722B931   JYSSICA      LYNN                         CA     90014652772
2324B74799155B   GLORIA       JIMENEZ                      TX     90008527479
2324B749A9184B   KILEY        WILLIAMS                     OK     90014767490
2324BA1555B232   KIMBERLY     SMALLS                       KY     68043400155
2324BA1637B449   MICHAEL      BANKS                        NC     90012960163
2325137759184B   MARQUITTA    LEGGINS                      OK     90014423775
2325144A131631   MAGAN        GALLEHER                     KS     90011864401
2325175922B27B   CARMELIA     FERRELL                      DC     90005607592
2325185412B931   DENISE       CRUSON                       CA     45061168541
2325188A391528   ARACELI      BRACAMONTES                  TX     90005928803
23252287672B88   DAVID        CABRAL                       CO     33057252876
2325233629155B   VALERIE      BOYKIN                       TX     75072263362
2325318815136B   ELIZABETH    HEINZE                       OH     90001861881
2325378554B261   EXEQUIEL     SOLTERO                      NE     90012687855
23253A99672B88   TERESA       GUTIERREZ-ACOSTA             CO     90014470996
2325422384B588   JENNIFER     HERNANDEZ                    OK     21558852238
2325455592B232   TERRENCE     AGYEKUM                      DC     90002935559
23254597A91541   MICHAEL      ARIAS                        TX     90012255970
2325463795B161   ELLIS        JACKSON                      AR     90011166379
2325468999794B   ANNA         PEREZ                        TX     90001896899
23254962A91541   BEATRIZ      CONTRERAS                    TX     75015939620
2325522812B931   PAUL         PUMPHERY                     CA     90014772281
232553AA131453   MEECHI       CALDWELL                     MO     90014693001
2325581AA4B588   BECKY        DEMERS                       OK     90013558100
2325587A587B87   ANDREW       NORWOOD                      AR     90006238705
2325628523B39B   HYON         KIM                          CO     90005532852
23256AA449136B   CHARLY       MORENO                       KS     90011440044
2325732399189B   ANN          MILLER                       OK     90004903239
2325748814B281   BONIFACIO    LOPEZ                        NE     27031634881
2325764267B449   ANGEL        HOWARD                       NC     90009066426
2325781AA4B588   BECKY        DEMERS                       OK     90013558100
2325783397B471   ERIC         TAPIA                        SC     90012938339
23257A4675B167   PHYLLIS      CLARK                        AR     23000800467
23257AA5887B87   LESLIE       JAMES                        AR     23081420058
2325877675B232   JOSE         BARAHONA                     KY     68064767767
2325941445B531   CASTILLO     YOLEXIS                      NM     90006804144
2325969869184B   LINDA        JONES                        OK     90012266986
2325998549189B   DEJAYN       BROWN                        OK     90011309854
2325B237791828   KENNETH      FLEEMING                     OK     90012582377
2325B64797B435   SHAMEKA      WILSON                       NC     90011136479
2325B858272B32   YADIRA       TORRES                       CO     90000648582
2325BA8235B271   SANITA       HUGULEY                      KY     90007860823
23261788A72447   RIC-QUAN     JOHNSON                      PA     90010147880
2326239239184B   CHRISTY      BALL                         OK     21001953923
2326241445B531   CASTILLO     YOLEXIS                      NM     90006804144
2326259792B931   IRMA         CERVANTES                    CA     90013415979
2326323712B27B   BERNARD      MILES                        DC     90014242371
23263561997B69   LESLIE       HILGENBERG                   CO     90012435619
2326363569184B   TIFFINY      LONG                         OK     90001216356
23263782A76B4B   ABEL         GONZALEZ                     CA     90004147820
23263A1575B232   AMANDA       ELLENBURG                    KY     90014180157
23264318572B88   YUVICELA     MORAN                        CO     33077033185
23264A6495B57B   MARGARET     FISCHER                      NM     90011430649
2326513755B161   TERESA       BROWN                        AR     90010651375
2326537A191828   HARLOD       WICKHAM                      OK     90012153701
2326565894B588   GAIL         SMITH                        OK     21557996589
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2326577589184B   LINDSEY           OLIVER                  OK     90014507758
2326619195B531   PAUL              BOIS-CLARK              NM     35089771919
232661A469136B   LAWRENCE ROBERT   BAYLESS                 KS     90010511046
2326674647B471   MICHEAL           CAMPBELL                NC     11066727464
2326747524B261   HUGO              CENTENO                 NE     27035724752
2326762575B271   CHRISTINA         HUTCHINSON              KY     90012896257
232676A475B232   BETTY             COWTHON                 KY     90005666047
23267A48441245   JACK              DANIELS                 PA     90012880484
23268A2235B232   PRESCILLA         ADKINS                  KY     90014180223
2326955627B471   GABRIELLE         JOHNSON                 NC     11030365562
2326967862B27B   ANTONIO           PINDEA CRESPO           DC     90008666786
2326985663B384   RAFAEL            MUNOZ                   CO     33067898566
232699AA333624   CASSIE            MCMILLON                NC     90011249003
23269A7295715B   STEVIE            BOLDEN                  DC     90010810729
2326B224255957   ERICA             LOPEZ                   CA     90006092242
2326B57A772447   TERA              FERGUSON                PA     51094765707
2326B937191241   JOSEPH            PRINCE                  GA     90011219371
2326B94419794B   ANDREA            CARTER                  TX     74089529441
2327135919184B   MICHAEL           CREWS                   OK     21083423591
2327166A291241   CHIKITA           JAMES                   GA     90010196602
2327167519155B   ARACELY           MIRANDA                 TX     90006556751
232716A9372B88   RAFAEL            LAMADRID                CO     90011806093
2327192735B232   TONY              HALL                    KY     90007359273
2327196468594B   JAMIE             SMITH                   KY     90000369646
232725A889794B   RAFAEL            OLALDE                  TX     90015225088
2327327A672447   DANIEL            ALCORN                  PA     90010622706
2327397832B931   MARIELA           REYES                   CA     90014409783
2327431459155B   MIKE              AVALOS                  TX     90015053145
23275272572B32   NICOLE            RICE                    CO     90013292725
2327544947B449   CHERI             HINES                   NC     11051954494
2327593799155B   ABEL              MARTINEZ                TX     75012629379
2327619575B271   BRANDON           ALFORD                  KY     90003971957
23276326872B32   DANIEL            PATTERSON               CO     90013193268
2327647838594B   TOBY              DENTON                  KY     67032994783
2327661769794B   EDGAR             MATIAS                  TX     74001586176
2327683187B456   KESSHIA           BISHOP                  NC     11076568318
2327686515B167   LINDA             ROWLAND                 AR     23043708651
23276912A7B471   YADIRA            PENA                    NC     90014759120
2327783129189B   MARIA             PINA                    OK     90001488312
2327867122B841   ROBERT            LOWE                    ID     90008126712
2327939A57B449   RAQUEL            HERNANDEZ               NC     90011943905
232798A225B161   MARCUS            WILLI                   AR     90015198022
23279A47191522   ELIZA             LECHUGA                 TX     75076330471
2327B318A55957   SHANNON           ANGEL                   CA     90000143180
2327B861291541   LAVIMINDA         MORALES                 TX     75026738612
2327B9A425B531   MECAH             CONTRERAS               NM     35005779042
2328169A687B87   HILDA             WATLEY                  AR     23022166906
2328176815715B   JOSE              ROJAS                   VA     90004407681
23281A2445B177   REGINA            MCDONALD                AR     90001640244
23281A6A972B32   CRISELDA          ESCALANTE VARELA        CO     33067240609
2328278989184B   KENDALL           ROSS                    OK     90015217898
2328336825715B   JORGE             SANCHEZ                 VA     81072273682
2328356A172B88   MASHKOOR          FAHIMA                  CO     90010535601
2328377539794B   NICOLE            ANDERSON                TX     90013057753
23283A35891522   FERNANDO          VILLAR                  TX     90007640358
23284574572B32   ADELMA            HERNANDEZ               CO     90000435745
2328499779794B   LAQUESAS          MCCARTY                 TX     90014929977
23284A2472B931   JESSICA           HARDY                   CA     45073010247
23284A48772447   TRUDY             MCDUNN                  PA     90013630487
23285A1A49136B   MARVIN            PORTILLO                KS     90003710104
2328618339184B   MIKAEL            BRADSHAW                OK     21074661833
2328646469155B   NANCY             TORRES                  TX     75087064646
2328688692B232   LASHAWN           HUNTER                  DC     90006018869
2328795614B261   JODIE             ZELASNEY                NE     27010209561
2328812487B471   EUGENE            MELVIN                  NC     11074441248
2328825354B261   TINA              QUINN                   NE     27019772535
2328877684B281   NANCY             ANDERSON                NE     90014627768
2328886227B449   WHITNEY           GILLIAM                 NC     90014928622
2328912A155957   GUSTAVO           LOMELI                  CA     90002261201
2328955535B161   ALDEANGELO        SENIOR                  AR     23069725553
23289A8369189B   AUBRIE            THOMPSON                OK     21009880836
2328B43649155B   GONZALES          THOMAS                  TX     90010734364
2328B83184B261   HENRY             ALVAREZ                 NE     90012628318
2328BAAA472B22   CURTIS            WHITMAN                 CO     90010130004
23291289272B42   RENE              GONZALEZ                CO     33027322892
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2329152954B281   KISWENDISDA   YAMEOGO                     NE     90013675295
23291A8215715B   PATRICE       DOORES                      VA     81025260821
2329283344B281   JENNIFER      JOHNSON                     NE     90008388334
23292A4A54795B   LAILANI       WELSH                       AR     90011110405
2329326769189B   NATASHA       WALKER                      OK     21084122676
2329569519189B   ARTURO        VAZQUEZ                     OK     21056006951
23295AAA54795B   JENNIFER      MOORE                       AR     25006420005
2329617654B281   KEITH         KREBS                       NE     27023471765
23296498772B88   JENNIFER      WHITEMAN                    CO     90004174987
232964A8287B87   KEELAN        DEAN                        AR     23012204082
2329691644B588   ALBERTA       KENDRICKS                   OK     90013379164
2329699792B27B   WILLIAN       RAMIREZ                     VA     81091889979
23297A1765B232   JOAN          MARLOW                      KY     90010190176
2329811377B449   JONATHAN      WILLIAMS                    NC     90011731137
2329898922B27B   SANTINI       LEARY                       DC     90010809892
23299857572B32   JOSTIN        HALL                        CO     90013298575
232B121795B571   CATHERINE     JARAMILLO                   NM     35010542179
232B1388172B88   HUMBERTO      CAMACHO                     CO     33062173881
232B1535472B42   LORNE         ADLER                       CO     33000055354
232B1893831631   ISAAC         IBARA                       KS     90004218938
232B193A372447   SCOTT         GALO                        PA     90004609303
232B1A6618594B   WILLIAM       MULDER                      KY     90009900661
232B227215B161   MARK          OLIVER                      AR     23058012721
232B228179794B   KEYOSHIA      WASHINTON                   TX     90015362817
232B261A84795B   JAMES         MCGEHEE                     AR     25057316108
232B2639131631   KARIN         STANSBURY                   KS     90013786391
232B284784B588   MISTY         DOVER                       OK     90014918478
232B2A66491522   EVELYN        LEYVA                       TX     90014860664
232B349289184B   SUNNY         SCHONHOLTZ                  OK     90014534928
232B37A429189B   ANGELA        MOON                        OK     90010197042
232B4118472B88   ANDREA        SANDOVAL                    CO     90014791184
232B418A272B42   ERIC          COUNTRYMAN                  CO     90014771802
232B464A941245   BRITTANY      DEMBOWSKI                   PA     90011066409
232B5258972B32   BEVERLY       RISLEY                      CO     90010642589
232B53AA172B42   DANA          CLARKE                      CO     90012733001
232B615A455989   MARQUEETA     SHELTON                     CA     90008391504
232B655324795B   JERIONG       LUTHA                       AR     90008855532
232B6587A91828   YENI          ROSAS                       OK     90009005870
232B66A495B161   ANGELA        MILLER                      AR     90014706049
232B681124795B   JERIONG       LUTHA                       AR     90014058112
232B687954B588   ELVIRA        VALERO                      OK     90014138795
232B694715B232   CHRIS         VITTITOE                    KY     90014179471
232B6989772447   KAREN         BRYAN                       PA     90007939897
232B833A15B271   LUIS          CALDERON                    KY     90015173301
232B844A64B261   SHELBY        YOUNG                       NE     27075514406
232B898359184B   MIKE          HOBBS                       OK     90009889835
232B8A8489189B   JOELLA        TIGER                       OK     21097030848
232B913A57B449   LISETTE       GONZALEZ                    NC     11010081305
232B925334B588   PATRICA       MEDINA                      OK     90013032533
232B935379794B   ANTHONY       TURNER                      TX     90009303537
232B983982B931   CHANNY        KHIN                        CA     90008388398
232B999725B271   JOSHUA        HEARN                       KY     68097899972
232B9A31171958   ROBIN         WICKS                       CO     90014790311
232BB24282B931   KATRINA       STANCELL                    CA     45099402428
232BB2A7591528   MARIO         TRUJILLO                    TX     75093232075
232BBA3529155B   SILVIA        FIERRO                      TX     90013920352
232BBA5464B261   TONY          TOWLES                      NE     27069810546
232BBA9A572B88   MORGAN        HEFTY                       CO     33054530905
2331131A15B531   JULIA         GURULE                      NM     35089783101
233115A785B254   PAYGO         IVR ACTIVATION              KY     90012645078
2331181A29184B   ROBERT        MCCURLEY                    OK     21092818102
2331194A272B88   ANGELINA      WAMBOLDT                    CO     90002539402
2331211A27B449   JOSHUA        BELLAMY                     NC     90013741102
2331277684B281   NANCY         ANDERSON                    NE     90014627768
2331281869184B   DUSTIN        FARRIS                      OK     21092008186
2331323A34B281   C             PATTERSON                   NE     90014032303
23313291972B88   ARMANDO       CEDENO                      CO     90002572919
2331357479189B   HENRY         SPEARS                      OK     21004255747
2331378835B531   HEATHER       BACA-LEE                    NM     35000027883
2331381A29184B   ROBERT        MCCURLEY                    OK     21092818102
2331383269794B   ROJELIO       OLALDE                      TX     90012098326
2331446685B571   PORTER        KIM                         NM     90000424668
233145A424B281   MOISES        ROJO HUERTA                 NE     27054195042
23314A5756B931   JASON         MORRIS                      NJ     90013980575
2331511595B531   DANIELLE      MAI                         NM     90008491159
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2331549129794B   ROGELIO      CRUZ-NIETO                   TX     74048994912
2331554175B232   KAY-TINA     BRODGEN                      KY     68042175417
2331574654B281   ALICE        LEWIS                        NE     27015567465
23315A1A372B23   GUADALUPE    RODRIGUEZ                    CO     90002790103
2331632719184B   TERESA       WILLIAMS                     OK     21057113271
2331656567B471   SAMANTHA     LEWIS                        NC     90012155656
23317266872B42   BENJAMIN     SCHULTE                      CO     90015382668
233172A179189B   MELANIE      WEST                         OK     90012032017
2331736325B161   SHARON       BUNCH                        AR     90014173632
2331743A472B32   ANDREW       KELMIOFF                     CO     90011514304
2331799525B531   ZULMA        LEYVA-RIOS                   NM     35005259952
23317A3845B571   JESSICA      GREINER                      NM     35094520384
2331852369794B   ALMA         RAMOS                        TX     90013615236
23318A2734B582   DAVID        MOON                         OK     90008740273
23318A5439184B   SEQUOIA      WARREN                       OK     90013510543
23318A97691522   PEDRO        MUNOZ                        TX     90015060976
2331922259189B   RYAN         TURNER                       OK     90014842225
23319253A72B88   ARTHUR       VALDEZ                       CO     33001222530
2331933645B161   MONTA        ROBERTS                      AR     90014173364
23319551272B42   LISA         TORRES                       CO     90013595512
23319633A4B588   SANDRA       RIOS                         OK     21590136330
2331996172B931   MIKE         HINRICHS                     CA     90014859617
23319A5617B471   PHYLLIS      THULIN                       SC     11076870561
2331B31A15B531   JULIA        GURULE                       NM     35089783101
23321844A55957   LEXUS        MENDOZA                      CA     90002788440
2332217114B281   CARLOS       RAFAEL                       NE     90010731711
2332254662B931   LOIS         RODRIGUEZ                    CA     90014505466
23322862A7B471   KAREN        LEE                          NC     90015178620
23322A6944B261   RAFAEL       RUIZ                         NE     90013370694
2332314499136B   GUILLERMO    RODRIGUEZ                    KS     29070741449
2332326A491522   ANTHONY      ROJAS                        TX     90009122604
23323621472B42   JUANA        MURILLO                      CO     33038086214
2332395789794B   VELMA        CHAPPLE                      TX     90014609578
2332414234B261   RODRIGO      SOLANO                       NE     90002861423
233247A754B588   CRISTINA     PEREZ                        OK     90013987075
2332512A82B931   TAMMY        ARREOLA                      CA     90014641208
23325564A87B87   YASHIKA      MORRIS                       AR     23086675640
23325724172B42   DAN          CARROLL                      CO     33028507241
2332579A64B281   MISTY        PHILLIPS                     NE     90008387906
23326336772B32   ADRIAN       CASTANEDO                    CO     90004843367
23326A3774B588   MAEGAN       WALKER                       OK     90005010377
2332729884B588   KYLIE        SHELTON                      OK     21558152988
233273A4651369   CATHY        KRAUS                        OH     66067163046
2332771365B571   VICTOR       ESPINOZA                     NM     35038077136
233278A7A5B536   ROBIN        GELLER                       NM     90004908070
2332796445B167   ROBERT       BUCK                         AR     90007349644
23327A4352B931   GERARDO      SOLTERO                      CA     45037300435
2332821254B261   ASHANTA      LOWERY                       NE     90014582125
2332877282B931   ALIZA        MARIN                        CA     90003957728
2332935337B471   NAKIA        GRAHAM                       NC     90007003533
2332941889136B   KAMI         HENLEY                       KS     29067224188
2332942454B261   STEVEN       PHALEN                       NE     90002004245
2332B466172B53   JAIME        HERRERA                      CO     33008244661
2332B518872B32   PATRICIA     CHISHOLM                     CO     90012185188
2332B64365B232   CATHERINE    BELLER                       KY     90011616436
2333119A991828   DESHAWNTA    LYDAY                        OK     90011001909
23331542772B88   SHARA        OATES                        CO     33042535427
2333198634B588   QUINTIN      MURRELL                      OK     90013779863
2333233682B27B   PAYGO        IVR ACTIVATION               DC     90014703368
2333237989136B   CARLOS       GUERRERA                     KS     90014853798
2333249718B179   VICTOR       RUIZ                         UT     31084784971
2333294A87B449   NELSON       OMAR                         NC     90011129408
2333336573B332   VICTORIA     BOSWELL                      CO     33064333657
2333342469155B   GUILLERMIN   ORTEGA                       TX     75023834246
23333452674B79   JOSEPH       ROGOWSKI                     PA     51036494526
233342A174B588   LATICIA      MARTINEZ                     OK     90006832017
23334437A3B333   CATHERINE    TRANI                        CO     90000944370
2333486735B271   EARLENE      LAX                          KY     90013818673
2333531865B249   KAMMY        LAWNCH                       KY     90010143186
23336235372B42   VIVIANA      AVILES                       CO     33061672353
23336A4619189B   SHAWN        HARBISON                     OK     90007750461
2333788A831453   ROBIN        LESUEUR                      MO     90013838808
23337967A4B261   MICHELLE     GREGORY                      NE     27043639670
2333882A22B27B   WARREN       HALE                         DC     81082168202
2333886969794B   CHRISTIAN    GARCIA                       TX     90012838696
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2333916589794B   BONNESHIA     JACKSON                     TX     90011351658
2333984644B588   CHRISTINE     ASHMORE                     OK     90012718464
2333B19454795B   BENITA        ANDERSON                    AR     90009361945
2333B975371925   JUANA         MOLINA                      CO     90009719753
2333BA89A9136B   SEAN          ANDRESEN                    KS     29076200890
2334115874B588   MATTHEW       EMMERT                      OK     90014631587
233412A117B449   EVELYN        CARTER                      NC     90008172011
23341326972B42   SUSAN         MONTEMAYOR                  CO     90013743269
23341579A9155B   OLIVAS        ADOLFO                      TX     90006875790
2334169545B232   WAYNE         MATTHEWSON                  KY     68082306954
23341A62A72B42   SUSAN         MONTEMAYOR                  CO     33090500620
2334242919794B   ANTONIO       SIC                         TX     90003834291
23342798472B42   GLENDA        ESCOBAR                     CO     33095967984
2334354145B571   ANGELA        FLORES                      NM     35080535414
23343584772B32   ABEL          RICALDY                     CO     90004015847
2334363949155B   ERNESTO       8A                          TX     90000366394
2334394577B449   KEVIN         BRADFORD                    NC     11072619457
23344411572B32   ROSEMARY      MILAM                       CO     90011504115
23344446A84364   RICHARD       CHAMPAIGNE                  SC     90004524460
2334452519184B   LANETTE       FARMER                      OK     21009905251
2334471919189B   MICHELLE      SKELTON                     OK     21065887191
2334489A45B232   LATRICA       WADLINGTON                  KY     68021598904
23344AA6872447   ADRIENNE      RESNICK                     PA     90003850068
23345761A9794B   SONIA         NIETO                       TX     90006147610
2334587655B232   ANTHONY       JEWELL                      KY     90010788765
23345A4619189B   SHAWN         HARBISON                    OK     90007750461
23347178197B69   RICHARD       BUSH                        CO     90002271781
23347389A72B32   TROY          DAVIS                       CO     90015263890
233475A554B281   WALTER        ARAUJO                      NE     90011625055
2334785957B449   QUIANA        RICHIE                      NC     90010308595
2334865669189B   PRINCE        MEGGS                       OK     90012036566
23349147A31432   DANNY         JACKSON                     MO     90003131470
2334917159155B   FRANK         DE LA CRUZ                  TX     90011571715
23349A95A4B588   JAMES         MURDOCK                     OK     90014260950
23349AA9172B32   JEREMIAH      HAYES                       CO     33070470091
2334B93A89184B   CHRISTIAN     PAZ                         OK     90012679308
2334B9A557B471   JOHN          WERENY                      NC     90010999055
2335199552B27B   TONY          BEATTY                      DC     90008129955
233519AAA55957   VICTOR        LOPEZ                       CA     90014619000
2335238815B167   JESSICA       GOODWIN                     AR     23039453881
2335295832B27B   CHRISTY       HAIRSTON                    DC     90014249583
23353A55687B87   BRITTANY      BRADLEY                     AR     23098390556
23353A75A72B61   TIMOTHY       FULTON                      CO     90013880750
23353A93A55957   MARCOS        HERNANDEZ                   CA     48092350930
2335472A59184B   GLYNN         SMITH                       OK     90015597205
2335473A79189B   LINDA         WARLEDO                     OK     90006617307
233547A799136B   MIKE          CONNOLLY                    KS     90009147079
2335575859184B   ARIANA        MARINA                      OK     90011027585
23355A2364B261   ANGELA        GOLDEN                      NE     90013080236
2335624A431453   MEHO          DURGUTOVIC                  MO     90006702404
2335671A24B58B   BRADLEY       BOECKMAN                    OK     90011417102
2335676674B281   ODILIA        PEREZ LOPEZ                 NE     90010107667
2335756658594B   KENNETH       MCCALISTER                  KY     90003225665
2335791699136B   GARY          STANFILL                    MO     90015159169
23358144687B87   JESSICA       BASS                        AR     90014641446
2335829285B161   TRAVIS        SPEARS                      AR     23005392928
2335894864B261   AMANDA        AUMA                        NE     27031149486
233597A1691828   CLINT         OSCEOLA                     OK     21095777016
23359A72881661   DELORES       MONTGMERY                   MO     90007130728
2335B31844B261   AMANDA        CHADWICK                    NE     90006823184
2335B472791541   JUAN MARTIN   GONZALEZ                    TX     90013114727
2335B551754B89   DAVID         DENNIS                      VA     90014295517
2335B629231453   EDWARD        SPRATT                      MO     90012906292
2335B84587B422   BRENDA        HERRERA                     SC     90012938458
2335B888972B88   SANDY         IXCHOP                      CO     90010028889
2335BA38172447   SAMANTHA      HOOVER                      PA     51083110381
2336291464B261   JOSEPH        KIRBY                       NE     27037979146
2336293138B16B   ERNESTO       BARAJAS                     UT     31004359313
2336334514B281   DARRYLL       TIMPERLEY                   NE     27028133451
2336335599136B   ALFREDO       LOPEZ                       KS     90013773559
23366199987B59   KATHLYN       MOORE                       AR     23041471999
2336666643B336   JODI          JAMES                       CO     90011626664
23367497687B87   LEALER        JACKSON                     AR     23056664976
2336814159794B   ROBERTO       BAERGA                      TX     90014421415
23368842172B32   TANGELA       COOK                        CO     33083648421
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23368A6814B261   AMBER         SMITH                       IA     90014400681
2336B767455957   JC            TURNER III                  CA     90011197674
2336B88435B571   ROBERTO       NUNEZ                       NM     35087888843
2337133427B449   GREGORIO      NUNES JR                    NC     90011093342
23371811A9136B   RUBEN         VELASQUEZ                   KS     90002298110
23372625A91541   GABRIELA      MARTINEZ                    TX     75029416250
23372939A91522   DOLORES       GUILLEN                     TX     75009999390
23372974172B32   ROBBIE        INGRAM                      CO     33073829741
23372A84A8B184   KACEY         THOMPSON                    UT     90009510840
2337312664B588   BRITNEY       SMITH                       OK     90013601266
2337326877B468   ERNEST        REID                        NC     90006622687
2337398A75B571   STAN          MINGE                       NM     90005409807
23373A41172B42   PATRYK        HOLLY                       CO     33075980411
2337538214B281   DANA          HERONIMUS                   NE     90012723821
2337546187B471   STACY         ALEXANDER                   NC     90011314618
23375493A72B32   MICHELLE      WAHLSTROM                   CO     33094724930
2337562369794B   MARCELA       ALFARO                      TX     90015006236
23376139A72447   BRIAN         UPDEGRAFF                   PA     90008641390
2337617189136B   MARCIE        FRECKS                      KS     90010111718
2337665622B931   DEREK         VALENZUELA                  CA     90008996562
2337684595B167   JUSTIN        HARMON                      AR     23091058459
2337687817B449   SHONTAVIOUS   MARSH                       NC     90010128781
233769A3472B32   DULCE         MORALES                     CO     33018409034
233769A588B147   RANDY         BRUNETTI                    UT     90001849058
23376A4369794B   NATASIA       AUSTON                      TX     90014640436
2337739659136B   BRANDON       CALVERT                     KS     90011013965
2337775499136B   ALEX          HERNANDEZ                   KS     90013327549
2337812717B449   DAMEKA        JOHNSON                     NC     90009171271
233781A542B27B   AUGUST        COLLINS                     DC     90013181054
2337825989155B   RAUL          CORTEZ                      TX     75068452598
23379352A41245   ANGELINA      LAYNE                       PA     51080783520
2337943885B271   CHRISTINA     GREEN                       KY     68015714388
2337B622A91541   AMANDA        GUTIERREZ                   TX     90002236220
2337B977455957   DONALD        DONALDSON                   CA     90000519774
23381A9A557531   JOSE          RAMIREZ                     NM     90000390905
2338225885B271   JANET         POWELL                      KY     90013872588
233825A1591541   JOSE          TAMAYO                      TX     75040665015
23383718872B42   LAURA         GONZALEZ                    CO     90005227188
23384764272B42   TAFOYA        TRACY                       CO     90009637642
2338491229184B   RHONDA        MCKNIGHT                    OK     21000799122
23384A41672B88   MOISES        LOZANO                      CO     33056460416
23384A6AA72B32   ABEL          VILLA                       CO     33092920600
23384A75361959   DIA           AL JABIRI                   CA     90006920753
23385351987B87   NAOCEA        EVANS                       AR     90014573519
2338535899184B   CODY          WATKINS                     OK     90014593589
2338548799155B   CHRIS         SUBIA                       TX     75045874879
23385598472B42   JESUS         SERRANO                     CO     90013835984
2338563299189B   SHAINA        JONES                       OK     90006226329
2338574489155B   JESSICA       SUBIA                       TX     90015127448
2338711734B281   SHEILA        SOPPE                       NE     27059661173
233872AA441245   KATHLEEN      MEYERS                      PA     51073462004
2338736895B167   VARONICA      LEE                         AR     23085403689
23387A1189189B   PEDRO         MARES                       OK     21077490118
233894A959189B   JOHN          MCCOY                       OK     21055744095
233899AA991541   JEREMY        WEBB                        TX     90002359009
23389A72872B42   MICHAEL       VIGIL                       CO     33032500728
23389AA8A31453   LUIS          PLATA-VELEZ                 MO     90013930080
2338B531891828   GEORGIAN      TURPIN                      OK     90014885318
2338B951831631   ANNE          CHANDLER                    KS     22092069518
2339177954B588   KENNETH       GABLE                       OK     90012667795
2339182435B161   JAMES         THOMPSON                    AR     90014738243
2339288145B571   LUCY          LEDGERWOOD                  NM     90011078814
233934A5131453   GLADYS        BREWER                      MO     27516104051
2339354325715B   RONAL         PEREZ                       VA     81080435432
23393569A41245   REBECCA       HYSONG                      PA     90011695690
233938AA572B32   MIRNA         HEREDIA                     CO     33012158005
2339487985B232   GREGORY       GRAHAM                      KY     90013708798
2339593445B333   KASSANDRA     LACOMBE                     OR     90012519344
2339595835715B   UBALDO        SERRANO                     VA     81006049583
2339665554795B   DONNA         SMITH                       AR     25029716555
2339672A14B933   CHARLES       SMITH                       TX     90000827201
233967A7793773   NICOLE        MCINTOSH                    OH     64593167077
23396A5777B449   KANNEEFRA     WATSON                      NC     90001580577
2339744455B161   KRYSTAL       PHILLIPS                    AR     23010174445
2339856415B271   ANNTWANETTE   HAWKINS                     KY     90010975641
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23398892772B32   CAELA            ENGLAND                  CO     90011118927
2339945627B449   LV               HINES                    NC     90014354562
233997A9972447   SEAN             HECKER                   PA     90013947099
23399A9A44B588   DORA             LOPEZ                    OK     90002030904
2339B25615B161   STEPHANIE        RUFFIN                   AR     23091042561
2339BA28585938   EDITH            BATES                    KY     90005520285
233B114944B588   JESSICA          ALVARADO                 OK     90013851494
233B1359A51343   GRACIE           DUNCAN                   OH     90004313590
233B1447731631   ANGELA           WARD                     KS     90002634477
233B179319155B   CRISTINA         CORONADO                 TX     90009877931
233B2171272447   JULIA            DISCELLO                 PA     90012901712
233B2531A7B449   JOSE VICTOR      GUZMAN MARTINEZ          NC     90012155310
233B2949987B87   LINDA            SIMMONS                  AR     23046749499
233B2A27A77341   LATONYA          WHITE                    IL     90007980270
233B311845B571   JOHN             LUCERO                   NM     90005171184
233B359664B281   ERICKA           RUBIALES                 NE     90013945966
233B372414B261   ALBERTO          HERNANDEZ                IA     27091347241
233B437779136B   RUBEN            ORELLANO                 MO     90012193777
233B459475B167   TERRIKA          EDWARDS                  AR     90005775947
233B4725191828   MIGUEL           REYES                    OK     90011167251
233B493A191541   DILLAN           PASCHALL                 TX     90013909301
233B496712B931   JOSE             CORNEJO                  CA     90014419671
233B5226172447   JUSTIN           VERNET                   PA     90011732261
233B5736255957   CORINA           MARTINEZ                 CA     90009337362
233B5775176B8B   LUIS             LEYVA                    CA     90011377751
233B5779A31631   NOAL             REYNOLDS                 KS     90010037790
233B5925691522   JOSEPH           VELAZQUEZ                TX     90007789256
233B6418472B53   ALDO             HUERTA                   CO     33054454184
233B666645135B   CASEY            DEFFREN                  OH     90014906664
233B761865B531   JESUS            CHAVIRA                  NM     90006806186
233B7683672B32   MARGARITA        MARTINEZ                 CO     33008306836
233B782559136B   GUILLERMO        ANDRADE                  KS     90008038255
233B7A8447B449   DOUG             SCHULTZ                  NC     90007900844
233B7A99485938   COURTNEY         HALCOMB                  KY     67098450994
233B839319136B   CHRISTIAN        THOMAS                   KS     90014413931
233B861315B531   CLARA            TERRAZAS                 NM     35076346131
233B8749891251   JINCEY           DAVIS                    GA     14570647498
233B8836647952   JOHN             CARNES                   AR     90005788366
233B959794B281   DIANE            NUNEZ                    NE     90013945979
233B977249794B   DULCE            ROBLEDO                  TX     90007707724
233B9A89391541   OLINSSER         POSADA                   TX     75004390893
233BB2A624B261   MARGARITO        MARTINEZ ALVARADO        NE     90013362062
233BB815731453   QUENTON          ROY                      MO     27576598157
233BBA8614B281   JEAN BAPTI       MAWAWA                   NE     90014170861
233BBAAA391541   DANIEL CUELLAR   ANCHONDO                 TX     90012470003
234112A374B261   SELBIN           MEJIA                    NE     90007282037
2341144384B281   BECKY            MERCHEN                  NE     90015134438
2341198564B588   JEREMY           JOHNSON                  OK     90013009856
234123AAA4B588   DANESHA          PONDER                   OK     90013613000
2341292A39155B   RODOLFO          ANAYA                    TX     90004259203
23412A18591522   NORMA            LUJAN                    TX     75006250185
2341334749184B   MARTIN           SOMERVILLE               OK     21033313474
2341414595B571   OTONIEL          GOMEZ-OROZCO             NM     35061291459
2341436A372B42   THOMAS           ZAPPITELLO               CO     90011243603
2341538514B281   BO               BO                       NE     90012723851
23415A92955957   BERTHA           GARCIA                   CA     48058270929
2341611352B27B   YVONNE           LIVINGTON                DC     90014251135
234162A7972B42   DAN              BROKER                   CO     90012872079
234165A764B261   ROSE             GROSS                    NE     90014175076
23416A13581661   MIKE             HERGERT                  MO     29087070135
2341729795B167   ANITA            CAZARES                  AR     90008432979
2341845627B449   LV               HINES                    NC     90014354562
2341899987B449   SANIE            SMITH                    NC     11044899998
23418A95A4B281   MELISSA          MEDRANO                  NE     90004870950
23419467972B42   ORALIA           NUNEZ                    CO     33046384679
2341966A391522   LETICIA          LIZARDO                  TX     75022986603
23419A4A39794B   VICTOR           TOJ                      TX     90013670403
2341B17239794B   ROBERT           ANDERSON                 TX     90015221723
2341B38A74B588   MAURA            CLARKE                   OK     21589563807
2341B45289155B   JESSEY           EVANS                    TX     90010734528
2341B4A1A4B588   PIEDAD           FIGUEROA                 OK     90000784010
2341B667531453   BRITTANI         BOOKER                   MO     90007936675
2342118624B588   RODRIGO          GILES                    OK     90013601862
23421273172B42   CINDY            ORTIZ                    CO     33014392731
234214A634B261   LATASHA          OLIVER                   NE     27007054063
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2342187699794B   NICOLE        LASTER                      TX     90015168769
23421A8419376B   BRITTNI       WILKINSON                   OH     90005110841
2342253A49794B   AMANDA        ATKINSON                    TX     90013545304
2342262754B281   NELSON        MEJIA ORELLANA              NE     90013946275
2342267287B471   JOSE          RAMOS                       NC     90013586728
234229A7872B32   ERICA         RIVERA                      CO     90012989078
2342389185B36B   MARFA         KORNILKIN                   OR     90009788918
23423AAAA2B931   KATHY         STAHL                       CA     45087180000
23424114472B42   ASHLEIGH      WINSLOW                     CO     90013541144
234243A8331473   RICHAUNDRA    POE                         MO     90003403083
23424682872B88   SALLY         CARRILLO-LOPEZ              CO     90000446828
2342614134B543   KIMBERLY      FINE                        OK     90007061413
234262A7655957   ROBERT        RUIZ                        CA     90011342076
23426357472B88   JOEL          CORCHADO JIMENEZ            CO     90011663574
234263A9751325   SELWYNA       WARD                        OH     90000923097
2342649A185838   THERESA       STEELE                      CA     46045234901
2342695759184B   TRAYVON       LESLEY                      OK     90014799575
2342698479189B   PAUL          CORRAO                      OK     21076169847
23427619587B59   SHUN          CAIN                        AR     23050116195
2342771A47B449   JULIO         CHICAS                      NC     90014157104
2342789944B281   CHEYENNE      HARPESTER                   NE     90003758994
2342794235715B   SAIRA         MAGANA                      VA     90000899423
23427946587B87   TANDRA        MAGSBY                      AR     90002939465
2342849338594B   SIBHAA        RAMIRO                      KY     90004704933
2342883869184B   KIERRA        HARRINGTON                  OK     90014788386
2342916339189B   KOU           LARKPOR                     OK     90011521633
2342933919136B   VICTOR        CORONADO                    KS     90011983391
234293A224B588   STEPHANIE M   WAGNER                      OK     90012763022
2342998342B232   HATTIE        WRIGHT                      DC     90006039834
2342B334691522   JUAN          PALOMARES                   TX     90008533346
2342B361391541   JOSIE         RAMIREZ                     TX     90011563613
2342B42599155B   MARTHA        ALEGRE                      TX     90015054259
2342B85A77B449   TATIANNAH     MONROE                      NC     90014078507
2342B957691828   MELISSA       WATSON                      OK     90006259576
2343115427B449   VICTORIA      ROTH                        NC     11011221542
2343259155B271   DESHAWN       TOOGOOD                     KY     90010975915
234326A865B244   JANICE        BUCKANON                    KY     90008436086
23432A8A991828   MELINDA       HAMILTON                    OK     90013280809
2343328512B931   ELIAS         JIMENEZ                     CA     45094782851
2343335338594B   BRANDON       LEAVELL                     KY     90012883533
2343346934B281   YOLANDA       SALVADOR                    NE     90007504693
2343362485B271   MILDRED       HIGGS                       KY     90014676248
2343375249184B   JEREMY        BEVINS                      OK     21001287524
23433955A72B32   PENA          JERRY                       CO     90008189550
23434399272B42   MICHAEL       DAVIS                       CO     90014683992
2343458885715B   JULIO         PORRAS PENA                 VA     81071425888
23434769A54191   KATY          TRUJILLO                    OR     90000827690
2343487249794B   BELINDA       THOMAS                      TX     90007378724
23434A39272B32   MARESA        PENA                        CO     33029140392
23435571672B88   RALPH         SALAZAR                     CO     90010535716
2343567174B281   JESUS         RODRIGUEZ                   NE     90013946717
2343593789136B   JACIE         KICK                        KS     90013719378
23435A51987B69   DENIKA        SMITH                       AR     90011000519
23436134A72447   JAIME         SMITH                       PA     90012651340
2343738645B271   KEISHAUNDR    WRIGHT                      KY     68015333864
23437749772B88   MIGUEL        AYALA                       CO     33080237497
23437A8855B161   ANGELA        SHAVERS                     AR     90013480885
2343858925B232   KRISHNA       GURUNG                      KY     90009805892
23438A52191828   JAMEKA        KIMBLE                      OK     90011950521
2343B68A64B281   DANA          ALEXANDER                   NE     90013766806
23441644A47952   DENISE        HORTON                      AR     24084336440
23442325A31631   ALFONSO       GOMEZ                       KS     90008423250
2344274224B281   MAX           PEREZ                       NE     90006297422
23442754472B88   JUANA         CARDONA                     CO     33052937544
2344285819136B   SUSAN         SEARS                       KS     90011448581
23442A9A74B261   JAMES         PETERSON                    NE     90012470907
2344321445B161   TERESA        HOLMES                      AR     23040512144
23443A13355957   REBECCA       RUELAS                      CA     90012950133
234442A179136B   SHARI         HUHO                        KS     90009362017
2344445925B571   JOSEPH        MARTINEZ                    NM     35087894592
2344533AA91541   9154074220    HUERTA                      TX     75052303300
23445611A72B42   LUIS          GOMEZ                       CO     90014696110
23445A2584B588   PETRA         LOZANO                      OK     90013780258
23446629A31453   JESSICA       MILLER                      MO     90014106290
2344691995B271   STACEY        RALEY                       KY     90010109199
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23446A12A72B32   VALERIE      BOHLING                      CO     33079150120
23446A66672B88   TIFFANY      STAHL                        CO     33068010666
23446A8119794B   STEPHANIE    SHEPARD                      TX     74035650811
2344731A95B271   YULI         SIN                          KY     90006503109
23447336A93727   JESSICA      JOHNSON                      OH     90003213360
2344752A971925   ROSEMARIE    QUINTANA                     CO     90014895209
23447A2685B232   KARISSA      MILTON                       KY     90014630268
23448588772B42   KENNETH      TAYLOR                       CO     90013065887
234488A6A91541   MICHELLE     REYES                        TX     75057478060
2344919144B261   MICHELLE     BOOTH                        NE     27074211914
2344979374B588   CARLOS       ALMARAZ                      OK     21510337937
2344B32574B281   ROBERTA      MACKE                        IA     27076453257
2344B357672B88   MANUEL       ROMERO                       CO     90013683576
2344B8A8A8594B   ANTHONY      BUTCHER                      KY     67005098080
2344B92229155B   EDUARDO      GARCIA                       TX     90001929222
2345158495B271   GAYNELL      HARRIS                       KY     90014135849
23451A77951369   SARA         LEIGH                        OH     90010640779
23452A45872B88   CHRISTIAN    LOPEZ                        CO     90014850458
23453A46591522   IVAN         ALFARO                       TX     90005490465
2345424997B471   ABEL         FUENTES                      NC     90004572499
2345426564B281   JULIO        ESPINAL                      IA     27077512656
23454A93157531   MARK         KEOPLER                      NM     90005940931
2345511289136B   SILVIA       MARIN                        KS     90011331128
23455136187B87   ERIC         WRIGHT                       AR     23041801361
2345523AA91522   CLAUDIA      MARQUEZ                      TX     75024022300
23455271A72B88   EDWIN        ARDOIN                       CO     90015162710
2345565A691828   LISA         GARRETT                      OK     90008196506
2345572A355957   CLIFFORD     THOMPSON                     CA     90000397203
2345586815B161   MARRY        MOORE                        AR     90014368681
23455A8799155B   MATHEW       JUNKER                       TX     90010410879
2345629154B261   SARAH        GOCHANOUR                    NE     27043132915
2345667894B281   MADONNA      ATTIA                        NE     90013946789
2345676614B281   JEAN         NORDSTROM                    NE     90013987661
2345717325B167   WILMA        JOHNSON                      AR     23032941732
2345727129794B   SANDY        IRVINE                       TX     90013502712
2345741A891828   DANIEL       GRISMORD                     OK     90013824108
2345751839794B   ARNULFO      VASQUEZ                      TX     90015115183
23458526A91541   MICHELLE     SANCHEZ                      TX     75095275260
23458899A51369   JAMES        JONES II                     OH     66011298990
234589A792B27B   ANDREA       ERVIN                        DC     90002759079
23459552872B88   LUIS         GONZALEZ AMAYA               CO     33016475528
2345B357672B88   MANUEL       ROMERO                       CO     90013683576
2345B72735B531   JOSHUA       ARMSTEAD                     NM     35041297273
2345B821191522   PETRINA      WILLIAMS                     TX     90009048211
2346123812B931   DORA         SANTOS                       CA     90014902381
2346124915B571   ISRAEL       GRANILLO                     NM     90009662491
2346153A49794B   AMANDA       ATKINSON                     TX     90013545304
2346169A391528   IVAN         JUAREZ                       TX     75002186903
2346247154B281   CHARLEAN     SPAVAK                       NE     90015034715
234629A339189B   JOYCE        CHARTIN                      OK     90012269033
234637A875B161   DECHAUNTA    KENDRICK                     AR     90009177087
234645A3185932   CHRISTINA    SPOHN                        KY     90012475031
2346494472B86B   DANA         BRENCHLEY                    ID     42057829447
2346496439136B   RHONDA       RANN                         KS     29048929643
23464A4495B571   ALBERTO      CARRASCO                     NM     90007100449
2346572A94B281   MINERVA      GARCIA                       NE     90013947209
2346578712B931   KARA         MALDONADO                    CA     90009867871
23465A5755B161   KEVIN        WRIGHT                       AR     23025670575
23466572A8B17B   CODY         FRANCE                       UT     31096965720
2346675317B449   SUE          RAMSEY                       SC     11056757531
23466A2685B232   KARISSA      MILTON                       KY     90014630268
2346723812B931   DORA         SANTOS                       CA     90014902381
234677A1441245   RAYMONDA     SWELL                        PA     90014167014
234679A992B27B   GUILLERMO    ESCOBAR                      DC     90000429099
2346861519794B   ARON         CHAVEZ                       TX     74044676151
2346875664B588   CONI         D LEON                       OK     90002527566
23469245A5B161   LASHAWNA     WILSON                       AR     90010762450
2346934749184B   MARTIN       SOMERVILLE                   OK     21033313474
2346962735B161   JAMES        PRITCHETT                    AR     90013856273
2346972464B281   WANDA        EDDY                         NE     27086657246
234698A824B588   LEONARD      HOOKS                        OK     90014838082
23469A13172B42   ALEXANDER    KOEHLER JR                   CO     90010770131
2346B198291542   DELIA        BARRAZA                      TX     90009371982
2346B4A8172B88   MELISSA      GIEBENRATH                   CO     90013934081
2346B53665B571   ARIADNE      MONTIEL                      NM     90009025366
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2346B54A85B333   SANDRA        DICKSON                     OR     90009745408
2346B85199184B   JORGE         PEREZ                       OK     90008718519
2347135545B571   CHRISTOPHER   BECK                        NM     90010413554
23471476A91522   CLAUDIA       IRIGOYEN                    TX     75064204760
23471A6579136B   MARILUZ       MEJIA                       KS     90010690657
23472159172B25   MERRY         CASALES                     CO     90010741591
2347259384B281   PATRICIA      GINDULIS                    NE     27014725938
2347289629155B   KARINA        HINOJOS                     TX     90011238962
23472949A9198B   JESSICA       LOCKLEAR                    NC     90011609490
23472A9A18594B   ISHEKA        BERRIOS                     KY     67026150901
23473186572B32   YOLANDA       MELENDEZ                    CO     33056741865
234731A445B271   CLARENCE      MCELROY                     KY     90014631044
23473527672B88   MONITA        NESHONI                     CO     90013425276
2347361519794B   ARON          CHAVEZ                      TX     74044676151
23473A74A9136B   SHEILA        RICHARD                     MO     90008400740
2347427367B449   NELIDA        GARCIA                      NC     90013512736
2347431254795B   DAVID         SIFUENTES                   AR     90001763125
2347458765B531   ERIKA         HOLGUIN-BARRAZA             NM     90003255876
2347484157B449   JESSICA       WOOLARD                     NC     90013528415
23474A6944B281   RAFAEL        RUIZ                        NE     90013370694
234752A147B449   SHAMKEKA      SIMPSON                     NC     90013002014
2347596875B271   APRIL         BOLTON                      KY     90014769687
23475999572B42   JUSTIN        PORTER                      CO     90010819995
234761A6172B42   JAMES         GASPARD                     CO     33093711061
2347644AA5B271   JOSE          SALAS                       KY     90011904400
23476A1479155B   MARIBEL       GUERRERO                    TX     90001080147
2347718394B261   HOPE          HAINES                      NE     27081291839
23477A98591522   MARIA         CABRAL                      TX     90013080985
2347881635B531   NADINE        CHAVEZ                      NM     90009488163
23479322572B42   CHET          NULES                       CO     90010183225
2347947A872B42   CHET          NULES                       CO     90010184708
23479527672B88   MONITA        NESHONI                     CO     90013425276
2347BA9895B232   HEATHER       BROWN                       KY     68070810989
2348118595B271   TAMMY         DICKEY                      KY     90008951859
2348179874B281   NICOLE        DOVE                        NE     27070037987
234819A847B449   BRENDA        CHIPMAN                     NC     90011869084
2348233199794B   DIANE         WILLIAMS                    TX     90013153319
2348252277B471   HUGO          GARCIA                      NC     90003065227
234827A8A57172   HECTOR        FLORES                      VA     90009917080
2348281679794B   JOSE          ARRIAGA MERCED              TX     90011358167
2348325115B571   FRANK         SANCHEZ                     NM     35007322511
234833A5231631   AMANDA        WILSON                      KS     90000183052
2348346799189B   AMBER         CLEVELAND                   OK     90007064679
234838A829794B   JOSE          CONTRERAS                   TX     90006858082
23484258772B88   MONICA        LOPEZ                       CO     90008052587
23484726672B32   MICHAEL       JACKSON                     CO     90009937266
2348492335B271   RICO          WOODRUFF                    KY     90008499233
23484991372B42   THERESA       ALARCON                     CO     90010319913
23485772572B32   ASDRIEL       BAUTISTA                    CO     33087087725
2348648254B281   SHERRY        BARTLETT                    IA     90013344825
234868A649184B   CHARLYNN      CLAYTON                     OK     90001318064
234869A626193B   BRENDA        GAXIOLA                     CA     90014389062
234872A434B281   SALVADOR      ZARA-CARBAJAL               NE     27043442043
2348798335B571   REGINO        LAZCANO                     NM     90008439833
2348818669189B   KRISTINA      GRISMORE                    OK     90001611866
2348849272B931   PAULINA       AYALA                       CA     90009814927
2348969749794B   MARCELINO     GARCIA                      TX     90000536974
234897A1191522   TOMAS         MORALES                     TX     75016097011
2348B29624B261   CHRISTINA     CASPER                      NE     27025122962
2348B581872B88   MARY          WALKER                      CO     90011395818
2348B72965B271   SHAWN         ZOLECKI                     KY     90012947296
2348B746172B42   TYRONE        SABALA                      CO     90010917461
2349132518B17B   GEORGETTE     BEVAN                       UT     31069583251
23491A92A2B931   ANGEL         BARRIOS                     CA     90014490920
2349231319794B   JOSE          HERNANDEZ                   TX     90002163131
2349269665B232   ANGELA        LOGSDON                     KY     90011026966
23492A25541245   MARSHA        OSBORNE                     PA     90014160255
23492A78584364   LCORIUS       JONSON                      SC     90009230785
23493356872B32   TED           ALEGRIA                     CO     33072433568
2349364A157531   STEVEN        GALLEGOS                    NM     90012996401
23493A96263643   RICK          HARRIS                      MO     27510990962
23494644A72B42   MENGESHA      TIRUNEH                     CO     90013046440
2349478619136B   SANDRA        KNIGHT                      KS     90012287861
2349495A74795B   DANA          HINKLE                      AR     90011059507
23495917172B32   FELIPE        FERNANDEZ                   CO     33077729171
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2349591999189B   SHEKINA         JOHNSON                   OK     90014739199
2349688595B571   RODOLFO         TRILLO                    NM     35040748859
23497633272B42   JOSHUA          FLETCHER                  CO     90010376332
2349794234B58B   THAT            GUY                       OK     90012389423
23498A82772B88   LUCIA           ESCORCIA                  CO     90002590827
23498AA264B588   DAYSHA          CONNER                    OK     90013010026
2349926A39794B   MICAH           PULLEN                    TX     90010502603
23499527272B88   TIMOTHY         HALL                      CO     33047775272
2349B4A9787B87   RENDY           NELSON                    AR     23049594097
2349BA45A7B471   JOAQUIN         BONILLA                   NC     90010820450
2349BA8725B232   WILLIAM         FRUCHTENICHT              KY     68055070872
234B132254B588   JOLAN           AUSTIN                    OK     90011743225
234B1433685639   MARLA           FLORES                    NJ     90001584336
234B1A9557B449   TIMARKUS        CORNWELL                  NC     90013060955
234B2157A4B261   GRACIELA        HERNANDEZ                 NE     90004361570
234B233515B232   FELICIA         LANDS                     KY     90008563351
234B2578551333   JOE             SEILER                    OH     90011875785
234B287174B588   KELLI           NORRIS                    OK     90005798717
234B3145572B32   COREY           PORTER                    CO     90012981455
234B341475B167   KOBA            HIKMAT                    AR     90007964147
234B3524572B88   HOLLY           WILSON                    CO     90013425245
234B359A755957   VERA            MEDINA REYNA              CA     48043795907
234B3836791522   JUSTEN          LEE                       TX     75095848367
234B38A199184B   LAURIE          DELK                      OK     90009578019
234B433769155B   PAULINA         ARCINIEGA                 TX     90014543376
234B451A272447   KRISTY          LARGE                     PA     90007985102
234B469A491828   JOSE            DURAN                     OK     90008996904
234B5163261558   TARQUIN         SHIPMAN                   KY     90009621632
234B5272572B32   NICOLE          RICE                      CO     90013292725
234B542599155B   MARTHA          ALEGRE                    TX     90015054259
234B5489A4B281   MICHAEL         EISELE                    NE     27058084890
234B584A47B449   YANNETH         ROMERO                    NC     90002048404
234B6282191541   MANUEL          GUERRERO                  TX     90007372821
234B6319391528   JUAN            VASQUEZ                   TX     75017903193
234B637539794B   DONALD          WILSON                    TX     90007893753
234B657327B449   ROSALIND        ROBINSON                  NC     11018285732
234B6611655936   BEATREZ         MARTINEZ                  CA     90013656116
234B756615B531   CARLOS          GARZA                     NM     35041055661
234B7742472447   MARK            PORTER                    PA     90013257424
234B834957B449   PANCHO          ROSAS                     NC     90015013495
234B8582391522   VERONICA        PEREZ                     TX     75068275823
234B8965A41245   TATUM           TATUM                     PA     90012329650
234B933469184B   ROBERT          NEWSOM                    OK     90015083346
234B9441491522   GABRIEL         TREJO                     TX     90013704414
234B947947B449   ALIDA           CARDONA                   NC     90009204794
234B9515291241   TONY            CORRADINO                 GA     90001935152
234B953255B571   YVONNE          JARAMILLO                 NM     35079315325
234B99AA691522   SOFIA           CARREON                   TX     90007369006
234BB879885847   JAMES           GOODALE                   CA     90012668798
234BB91584B281   SHANE           KRZYCKI                   NE     27093359158
234BB93912B27B   EDWIN           MELENDEZ                  DC     90010839391
234BB974A9155B   PATRICIA        ZUNIGA                    TX     90014979740
23511571A71952   SYLVIA          STREET                    CO     90013875710
2351168549184B   SONIA           VALLEJO                   OK     90009886854
2351169985B271   KRISTINA        PALMER                    KY     90013566998
23511818872B32   PAMELA          SEDILLO                   CO     33013408188
23511A7652B226   DYVOR           GIBSON                    DC     90004510765
2351251AA51365   DEBRA           PEAKE                     OH     90014745100
23512722172B32   RITO BANUELOS   PASILLAS                  CO     90006287221
23512A25851369   RUSSELL         DRAKE JR                  OH     90011620258
2351321569794B   CHRISLEITH      DEROUEN                   TX     90012612156
23513527172B42   REYES           LUJAN                     CO     33095395271
2351368135B571   MARIA           ANDREW                    NM     35026166813
2351425282B931   DALIA           YOUASH                    CA     45074762528
23514391172B88   DEREK           MCCOY                     CO     90011663911
235145A459184B   MIGUEL          OITEGA                    OK     90002605045
2351526154B281   LEOPOLDO        ROSALES CAZARES           NE     90012562615
235154A1151329   CYNTHIA         BRADEN                    OH     90001344011
2351565734B281   VANESSA         MILLER                    NE     90008676573
23515A67531453   TRENTON         PRATT                     MO     27559610675
2351643514B261   DARREN          JOHNSON                   NE     90000494351
2351648A48B145   BRANDON         WALL                      UT     90003234804
2351653259189B   RYAN            DEMETER                   OK     21091805325
235165A5372447   JENNIFER        NEELY                     PA     90014835053
23516878A2B931   MONICKA         KAO                       CA     90014518780
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23517719672B42   MARIA        CETEZ                        CO     33040607196
2351812755B571   BARRIENTOS   JOCELYN                      NM     90012951275
2351815814B281   DAVON        JACKSON                      NE     27071431581
23518559572B32   JANETTE      CARDONA                      CO     90013555595
2351865349136B   SAMANTHA     HARRIS                       KS     90014556534
2351873917B471   OCTAVIO      MORALES                      NC     90007637391
2351921335B161   CLEEA        JEFFRIES                     AR     23028812133
2351B22464B261   CELIA        HERNANDEZ                    NE     90007752246
2351B263891374   KEVIN        KINCAID                      MO     29041322638
2351B36259794B   JENNIFER     STOVER                       TX     90012093625
2351B422881661   TASHA        SMITH                        MO     90010964228
2351B49129794B   ALICIA       MARTINEZ                     TX     90007344912
2351B78984B588   MARIA        GARCIA                       OK     90014837898
2352138A84B281   IRENE        STARKEVICIUS                 NE     27088743808
23521973A9189B   WENDOLYN     HARRIS                       OK     90012649730
23521A8295B232   MARQUITA     TOBIN                        KY     68004280829
2352224699155B   DIANA        YANEZ                        NM     75003722469
23523346972B32   JASON        HILTON                       CO     90012343469
23523458372B88   LORETTA      DE HERK                      CO     90007444583
2352348A17B471   KRAIG        HARRIS                       NC     90008014801
2352388A53192B   ALFRED       BORBOR                       IA     90014258805
23523A59955957   ROBERT       MARIN                        CA     90012840599
23524142A5B232   RYAN         MANNING                      KY     68038411420
2352428399184B   MELODY       HOUSLEY                      OK     21054652839
235244A9491522   LYDIA        RODRIGUES                    TX     90014664094
235248A4841245   BRANDY       KLINGER                      PA     90012868048
2352497A65B271   COURNEY      CHAPMAN                      KY     90014609706
235255A7891522   OFELIA       MORENO                       NM     90005835078
2352581A65B571   BRENDA       PUGH                         NM     35064178106
2352622A172447   LESLEE       TENNEY                       PA     90001922201
235271AA141245   JENNIFER     HUNT                         PA     90014161001
23527A7559155B   BRANDON      RIOS                         TX     90001250755
2352842655B232   CLYDE        FEREBEE                      KY     90009464265
2352852584B588   STEPHANIE    MARTIN                       OK     90007605258
2352885199794B   ANTONIO      GUACHIAC                     TX     90014248519
2352975654B281   JOSE         RESENDIZ                     NE     90013947565
2352B27839155B   MONICA       ROSALES                      TX     90015222783
2352B867255957   LOUIS        RAMIREZ                      CA     48064728672
235311A1372447   LORI         WELTY                        PA     90013041013
23531353172B42   RAMONA       TERRAZAS                     CO     33042883531
23531A11A5B28B   CANDICE      PAYTON                       KY     68052580110
2353259779189B   MARETTA      BROWN                        OK     21002655977
235325AA872B88   RAMONA       MARTINEZ                     CO     33077315008
23532698572B42   ISABEL       TORRES                       CO     90015486985
23532783A4B281   DAVID        ULRICH                       NE     90011627830
2353279434B588   TRAVIS       PRICHARD                     OK     90008967943
2353284675B571   JUAN         CHAVEZ                       NM     35018598467
2353324A391541   LINDA        ARELLANO                     TX     75076362403
2353341435B232   ROBERT       BROOKS                       KY     90014184143
23533A2937B449   NURIA        ZUNIGA                       NC     90015120293
2353415767B449   KENNETH      FULLERTON                    NC     90013911576
2353464A95B271   MICHAEL      PARKS                        KY     90001786409
23534A32341245   CODY         SHEETS                       PA     90007260323
23534A9A18B15B   JULIANNE     HANKS                        UT     90004090901
2353647268594B   JESSE        BOND                         KY     67046874726
2353659919136B   RYAN         MARLER                       KS     90013735991
235366A377B471   TRACEY       OVERTON                      NC     11065096037
2353681825B271   BRIAN        POWERS                       KY     90012718182
2353685115137B   K            KITCHENS                     OH     90001588511
23536968A72B32   AARON        RODRIGUEZ                    CO     90012079680
235372A659155B   NANCY        RIVERA                       TX     90011572065
23537A18431453   MAGGIE       DELTON                       MO     90010850184
235383A792B232   DAVID        HARIS                        DC     90004803079
2353922A74B588   BARBIE       BOWENS                       OK     90010012207
2353957365B531   JAMES        MALDONADO                    NM     90006865736
235396A2351369   HONEY        LLOYD                        OH     66016756023
23539A5A72B931   ANGEL        FRISCH                       CA     90014550507
2353B246A55957   LATOYA       MAXWELL                      CA     90013882460
2353B3A7855931   JUDITH       JOYA                         CA     49063803078
2353B952293757   DOUG         HORNER                       OH     90008569522
2354117115B271   ANGELA       MARTIN                       KY     68017221711
235411A9241245   CODY         LIGGETT                      PA     90014161092
23541A7915B232   EDWARD       PELTIER                      KY     90013940791
235425A7855957   ISREAL       BARREDA                      CA     90015165078
2354299AA91522   GLORIA       DOMINGUEZ                    TX     75092249900
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2354343195B232   BRENDA       EVANS                        KY     68034634319
2354344579155B   ANGELA       VILLEGAS                     TX     90011094457
2354377684B281   NANCY        ANDERSON                     NE     90014627768
2354388849189B   CARDELL      JOHNSON                      OK     90008348884
2354467359189B   DEMARCO      GRAYSON                      OK     90008496735
23544A18A72B42   VALERIE      MEASTAS                      CO     33082230180
23545966972B88   VERONICA     CRUZ                         CO     33008499669
2354661168B184   BECKY        GILLIS                       UT     90006446116
2354663764B261   JENNIFER     FUNKHOUSER                   NE     27016516376
235469A939189B   SANDRA       BARBER                       OK     21074519093
23546A3A851369   TIMOTHY      MATHIS                       OH     66040110308
23546A5762B931   YOANA        FLORES                       CA     90010680576
23547285A31453   VICTOR       LOPEZ                        MO     27512612850
23547567672B32   VIANEY       QUINTERO                     CO     90012105676
2354789A29136B   BILLIE       TORRES                       KS     29067918902
23547A5762B931   YOANA        FLORES                       CA     90010680576
23548373A3B192   JULIET       AJIBOYE                      DC     90000883730
2354869485B161   BRENT        STONE                        AR     90011976948
23548962A91541   BEATRIZ      CONTRERAS                    TX     75015939620
2354924789184B   STEPHANIE    DUCKETT                      OK     90013412478
23549996A87B87   PAYGO        IVR ACTIVATION               AR     90005049960
23549A8535B271   CARLOS       ALVAREZ-KIRCHE               KY     90013930853
2354B91538594B   MARIA        AMAYA                        KY     67046869153
23551428A91522   WILLIAM      KINDERMAN                    TX     75098804280
23551A1589794B   AMINTA       RODRIGUEZ                    TX     74035990158
23551A45981635   AMIE         COONCE                       MO     90001290459
23552164372B32   LES          KUMFERMAN                    CO     90006401643
23552238A4B588   JESUS        HERNANDIZ                    OK     90011752380
235525A8931631   DELTA        MEADOWS                      KS     22051835089
2355315922B84B   CHELSEA      FRANDSEN                     ID     90009561592
2355333678B17B   JACKIE       FACER                        UT     31021053367
2355335587B471   SHAVONNDA    GASTON                       NC     11020783558
23553A9314B261   DARIAN       GOODWIN                      NE     27083590931
2355415259794B   JONATHAN     WEBB                         TX     90015041525
235542A524B261   KAYE         WAYNE                        NE     27041072052
23554668A31631   JOHN         JACKSON                      KS     90009386680
2355528145B571   ROGER        RAMIREZ                      NM     35005942814
2355537365B271   VICKIE       WATSON                       KY     90007113736
23555544872B88   GABRIEL      GURULE                       CO     90011505448
2355743A372B42   RHONDA       BALLARD                      CO     33004314303
2355748795B271   CARMEN       TAYLOE                       KY     90010984879
235574AA62B27B   AYENEW       WALLE                        DC     81010714006
2355827974B261   LINDA        WOLCOTT                      NE     27088282797
2355828544795B   CHRISTIAN    HUMPHREY                     AR     90010512854
23558A69185938   PARU         VENANCE                      KY     67085380691
23558A9AA91522   ESMERALDA    MARTINEZ                     TX     90003660900
23559346A4B281   APRILL       SCHOENFELDER                 NE     27031103460
235597A852B27B   JOSE         SAAVEDRA                     DC     90010277085
23559815A5B531   CHARLENE     GABALDON                     NM     90009468150
2355B145291541   JOSE         LOZANO                       TX     75051981452
2355B96324B281   DANIELLE     SMITH                        NE     90012359632
2356173269794B   ANGELICA     DIAZ                         TX     90010977326
23562A4245B161   GREGORY      BUTLER                       AR     90014680424
235635A655B571   MICHELLE     TSETHLIKAI                   NM     35073335065
2356377647B449   KEVIN        LINDON                       NC     90014197764
23564221772B32   CALEB        AMADOR                       CO     90015242217
2356432789184B   BRIAN        KROUCH                       OK     90007223278
2356473A35B271   BRANDI       COFFEY                       KY     90012407303
2356482585B167   JENNIFER     SANCHEZ                      AR     90002738258
2356484824B588   FELIX        WILLIX                       OK     90013928482
235648A859794B   EVERARDO     MARQUEZ                      TX     74063408085
2356546255B167   JANET        MOLODECKI                    AR     23062524625
23565472172B42   COURTNEY     MARTINEZ                     CO     90014424721
2356555679794B   STEVEN       CHANEY                       TX     74077375567
23565A62291522   SONIA        LEYVA                        TX     90014830622
23565A8145B244   IVORIE       POINTER                      KY     90004490814
23566181272B42   DIANA        LINARES                      CO     90009881812
2356664749155B   JENISA       MEDINA                       TX     90009336474
2356666A35B271   ALLEN        KENNEY                       KY     90012986603
2356718397B449   DESIRE       DANAN                        NC     90006261839
23567AA4455957   MARIO        JIMENEZ                      CA     90012280044
2356814874B588   JESIKA       ANDRADE                      OK     90014301487
23568553472B42   SHEILA       WADE                         CO     90006645534
2356884A731453   JANINE       MCFARLANE                    MO     90008098407
23568A81324B55   ISHATA       DEEN                         VA     81041920813
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235696A8784341   MICHAEL      CUNNINGHAM                   SC     90012866087
23569A1524B281   CRYSTAL      WISE                         NE     90007320152
2356B11345B161   ANGELA       FOY                          AR     23058681134
2356B375751369   LUIS         RODRIGUEZ                    OH     90004353757
2356B777672447   BRADLY       WALSH                        PA     90012037776
2356BAAA74B588   AMANDA       FRETZ                        OK     90014680007
2357144159794B   JOSE         TIRADO                       TX     90015064415
23572A81291828   CASSAUNDRA   STEVENSON                    OK     90014900812
23572A8989794B   ALFREDO      BACA                         TX     90003040898
2357318239184B   STEVE        EPPERSON                     OK     21073041823
23573183672B32   SHERI        NELSON                       CO     90011521836
2357354724B281   DWAYNE       JOHNSON                      NE     90001165472
2357378545B531   ELODIO       SANDOVAL                     NM     90006877854
2357386945B571   LUIS         DOMINGUEZ RODRIGUEZ          NM     35055008694
2357543189794B   ALEXIS       BERNAL                       TX     90015324318
2357599155B571   HERRERA      ANSELMO                      NM     35080629915
2357672A355957   CLIFFORD     THOMPSON                     CA     90000397203
23576831172B42   MARLENA      MARTINEZ                     CO     33055678311
235774A3A2B84B   NOE          CERVANTES                    ID     90002444030
2357797152B27B   KENNETH      GREENE                       DC     90003319715
23577A47697B69   ANDY         PAPINI                       CO     90009880476
2357827149155B   EDUARDO      GARCIA                       TX     90015072714
23578542972B88   JORDIN       VOEGTLIN                     CO     90013425429
235785AA185946   PENNY        RUNION                       KY     90009285001
2357937A872447   NICHOLAS     CLARK                        PA     90013673708
2357941445B531   ANDREW       HUERTA                       NM     90006704144
23579663487B87   CATHY        RICHARDSON                   AR     23020116634
2357972284B281   ROBERT       MEYERS                       IA     90012637228
2357B181A81681   DANIELLE     LAWSON                       MO     90001661810
2357B37797B449   MIKE         GOPAL                        NC     90014003779
2357B419455957   ALICIA       MEDINA                       CA     48016584194
2357B79A34B261   BEN          BANDANZA                     NE     27060907903
2357BA8877B471   TREVA        MORRIS                       NC     90009140887
2358115249184B   THOMAS       MCENTIRE                     OK     90003581524
2358138A54B281   BRADLEY      WOODS                        NE     90008393805
2358175419136B   LIZETT       FERNANDEZ                    KS     90014337541
2358197369155B   DIANA        ORTEGA                       TX     90004259736
23581A22885938   BJ           WILLIAM                      KY     90005940228
23581A4274B588   CLAUDIA      CERVANTES                    OK     21593800427
2358219675B271   TIFFANY      WHITE                        KY     90000161967
2358222699184B   JUSTIN       CRAYTON                      OK     90011072269
235822A3155957   GENARO       LINARES                      CA     90015092031
2358253275B571   JOHN         RUIZ                         NM     90009595327
23582958A31631   SHELBY       PEARSON                      KS     22095809580
2358333417B449   DEBRA        DEATON                       NC     90009583341
2358348879794B   CHRISTINA    RODRIGUEZ                    TX     90004364887
2358359AA4B551   ANDREW       MUCHERU                      OK     90007805900
235835A6A5B232   CHARITY      DONAHUE                      KY     90014185060
2358368134B543   JENNIFER     SOTO                         OK     90008856813
2358415282B27B   JUAN         PEREZ                        DC     90004491528
23584417972B88   CORREY       LONGSINE                     CO     90011664179
2358444114795B   TIFFANY      SHELTON                      AR     90006164411
2358491964B588   STACY        COBURN                       OK     21546239196
2358566664B281   MARY         LARAIGA                      NE     27006716666
235861AA855957   CHRIS        FROMME                       CA     90007741008
2358673664B281   BLANCA       ZACARIAS                     NE     90005827366
23586A3355B232   LAKENDRA     LAPRADO                      KY     68054520335
23587418572B32   MARIA        VALDEZ                       CO     33090884185
23587552A72B42   ALEJANDRO    CARDONA                      CO     90005015520
23587A24641245   KAREN        JOHNSON                      PA     90002280246
23587AA369189B   BRITTANY     KESHON                       OK     90015130036
2358838624B588   LUIS         GARCIA                       OK     90014293862
2358897659155B   YURY         TRUJILLO                     TX     90004259765
2358947A684364   MONIQUE      WASHINTONE                   SC     90002244706
2358968899189B   EBONY        TODD                         OK     90011506889
235896A6A5B161   KYRIA        PORCH                        AR     90014186060
2358B17147B449   DANA         JAMES                        NC     90011591714
2358B34A184325   ROBERT       BLOOD                        SC     90011723401
2358B3AA951331   BRENDA       BALLEK                       OH     90014983009
2358B432341245   LARRY        HOOVER                       PA     90014234323
2358B48535B571   ASHLEY       SCHUMERTH                    NM     90011114853
2358B58455B531   JOSE MARIA   ARANDA                       NM     90007485845
2358B99A15B232   BRETT        ADKINS                       KY     90010789901
23591567A91528   MARIA        ALVARADO                     TX     90005955670
23591A3377B449   ALEJANDRA    RODRIGUEZ                    NC     90011740337
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23592841472B42   KATRINA       MEADE                       CO     90015548414
2359318417B471   SHARA         SEPHES                      NC     90005881841
23593541A72B32   BRIAN         ARNOLD                      CO     90007865410
235936A1672B88   EROKA         THURMAN                     CO     90003096016
2359371379794B   RAUL          PINEDA                      TX     90011367137
23593A2189136B   JUDI          HOLDEN                      KS     29031230218
2359493A891541   JESSICA       GUEVARA                     TX     90010899308
23594A4864B281   LASHONDA      LUCAS                       NE     27008910486
23594AA846194B   JUAN C        LEON VENEGAS                CA     90014030084
2359557617B449   CANDIDA       MELGARA                     NC     11007505761
235955AA74B261   EMMA          WOODFORK                    NE     27015625007
2359577999136B   JUANA         SANTOS                      KS     90002267799
23595845972B32   CHRISTOPHER   HERNANDEZ                   CO     90013358459
2359594639184B   JINA          KILLOUGH                    OK     90015159463
23596275872B88   LUCIA         LOPEZ                       CO     90002242758
235963A349136B   JAMES         COURTNEY                    KS     90015093034
23596A5264B588   AMANDA        FINLEY                      OK     21526910526
2359789A67B449   CELIA         HERNANDEZ                   NC     90012308906
2359799645B259   CHRISTY       WILSON                      KY     90002899964
2359831619155B   OLGA          KING                        TX     90015223161
2359832982B542   LAMIA         REEDY                       AL     90014873298
2359838A19136B   S             HODGES                      KS     29047773801
2359875A55B571   DOM           DEHERRERA                   NM     90005037505
23598958172B88   CHRISTIAN     BARRON                      CO     90012589581
2359936329136B   VERONICA      ROMERO                      KS     90013773632
2359974324B261   DEBRA         BERNAL-SABINO               NE     90003117432
235997A819794B   MICHEAL       GREEN                       TX     74049217081
2359B256A91541   FORTY         FASHO                       TX     75078202560
2359B2A752B86B   ERIKA         ROBINSON                    ID     42060052075
2359B31649155B   JANETTE G     KIEMLE                      TX     90015223164
2359B778455957   MARK          GOFF                        CA     90014847784
2359B79A45B271   EDWARD        ELAM                        KY     90014507904
2359BA6A297173   MARISELA      MORALES                     OR     90012240602
235B182A831453   CHARMAINE     MINOR                       MO     90014428208
235B1978231631   KATHERINE     LOWE                        KS     22065509782
235B2454891522   SEELENE       GUTIERREZ                   TX     90013114548
235B274374B281   JOSEPH        MAKAYA                      NE     90013947437
235B2769A41245   MICHAEL       KNIGHT                      PA     90012047690
235B293839155B   ROSA          MONTEJANO                   TX     90004259383
235B2953A9794B   GUADALUPE     CUENCA                      TX     90014489530
235B3A1479189B   CASSANDRA     CORDREY                     OK     90006800147
235B4373277534   MARIA         FRANCO BARRIOS              NV     90010893732
235B4576372447   DENISE        ZIMMERMAN                   PA     90012865763
235B467659184B   TRAVIS        LOZADA                      OK     90011966765
235B4A62961939   SHAWN         BAUMANN                     CA     90001940629
235B535329794B   CHARLES       TOLIVER                     TX     74013453532
235B5574741245   PATRICK       FILSING                     PA     51024465747
235B574239189B   CALVIN        RIPPEE                      OK     90012167423
235B5743631631   ROXANNA       VENTURA                     KS     90014447436
235B5A3A39136B   MAYRA         GAUNA                       KS     90015300303
235B5A43991528   ARANGO        JUAN JOSE                   TX     90004410439
235B6163691542   ROBERT        MURPY                       TX     90004511636
235B646179794B   IVAN          PINA                        TX     90014894617
235B652978594B   TARACITA      PEAKE                       KY     90014035297
235B6711A55957   OWSMEL        DELEON                      CA     90013217110
235B681869189B   DAVID         KING                        OK     90006868186
235B7181691522   GLORIA        MACIAS                      TX     90014091816
235B719169184B   BREANA        NUNLEY                      OK     90015321916
235B728A37B449   NOEL          SALGADO                     NC     11035012803
235B72A2872B88   NAKIA         RASHID                      CO     33009522028
235B8114691541   JUANA         BACA                        TX     90014731146
235B8211181661   NANCY E       LINAN                       MO     29094452111
235B8386872B88   MELODY        HOLLAND                     CO     90011663868
235B8472976B49   KELEY         SORCORAN                    CA     90013864729
235B8A3289189B   DAVID         VANDYNE                     OK     21076840328
235B8A53741245   JOHN          PORTOGALLO                  PA     90014160537
235B8A7A591522   ISAAC         VILLARREAL                  TX     90003660705
235B9636291541   DIANA         MONTES                      TX     90014176362
235B9847272B32   DOUGLAS       THOMAS                      CO     90013918472
235B993778594B   NICOLE        HALLETT                     KY     67017589377
235BB228131631   ANTOINETTE    MINNIS                      KS     90004282281
235BB28829136B   JUAN          TORRES                      KS     90013472882
235BB61799184B   MIRNA         CINFUENTES                  OK     90014436179
235BB872572447   BETTY         ALLEN                       PA     51032358725
235BBA33541245   RAYNELL       FAIRLEY                     PA     90014160335
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235BBA5A272B88   CANDY             KOPPER                  CO     90012630502
235BBA78433126   KARLA             HERNANDEZ               MO     90012520784
2361133476B931   ALEXANDRIA        MORANO                  NJ     90014203347
23611A7884B281   OZELLA            FRAZIER                 NE     27064980788
23612197572B42   ROMAN             HERNANDEZ               CO     33070211975
23612377A5B271   JUAN              MORALES                 KY     90015233770
2361394589136B   DELICIA           GALVAN                  KS     90014259458
23613A3729794B   EZEQUIEL          NUNEZ                   TX     90012740372
23614188172B32   JUAN              RODRIGUEZ               CO     90001891881
23614262872B42   ANDRE             HERRON                  CO     90014652628
236142A2541245   JASMINE           ELLIS                   PA     90014652025
236143A7781661   LATOYA            BUCKNER                 MO     29038343077
2361446479136B   JORGE             SANDOVAL                KS     90015084647
2361562A25B232   MICHAEL           CEASE                   KY     90014186202
2361643494B588   FRANCISCO         VARELA                  OK     90011754349
2361661179794B   JUANPABLO         MARTINEZ                TX     90015116117
23616683587B87   MARESHA           WILLIAMS                AR     90005616835
2361716175B271   JUWANA            JONES                   KY     90009171617
2361728724B588   MICHAEL           MULLENDORE              OK     90003972872
2361775487B471   MICHAEL           SLAGLE                  SC     11011607548
2361792942B232   SANDRA            FLORES                  VA     90006019294
23617A1135B167   SANDRA            ASHLEY                  AR     90005250113
23618266172B42   MILDRED           PALMER                  CO     33085412661
23618A46572B32   RAMON             GUZMAN                  CO     90009720465
236192A8591828   SIMON             GARCIA                  OK     21047332085
2361958525B531   DENISE            RUBIO                   NM     35093815852
2361983388B182   RICK              BRERETON                UT     90004958338
2361999314B281   MELISSA           TIETSORT                IA     27040809931
23619A6278594B   ANGEL             MARTINEZ                KY     90007270627
2361B276172B32   STEVEN            WILLIAMS                CO     90002472761
2361B57A472447   JEFFREY           STEUART                 PA     90013835704
2361BAA5641245   JADA              JOHNSONO                PA     51094450056
2362132529155B   MARIA GUADALUPE   BATANCIS                TX     90015223252
2362134A472447   DARLENE           ROSS                    PA     51086703404
2362148AA9184B   ELSA              NUNEZ                   OK     90011714800
2362169155B232   LAJEWELL          GUEST                   KY     90014186915
2362266A487B59   BRITTANY          ROMES                   AR     23095386604
2362397819155B   VICTOR            PEREZ                   TX     90004259781
2362421729136B   DIANA             TARRACINO               MO     90013702172
2362442849184B   HEATHER           MARTIN                  OK     90009574284
23624A5A491541   MARTHA            HERNANDEZ               TX     75010020504
2362521962B931   LASHAWN           DEAN                    CA     90010662196
2362533512B27B   DION              MITCHELL                DC     81048753351
23625663A72447   PAULA             FICK                    PA     90010646630
2362582785B531   ALISON            JOHNSON                 IA     35089918278
2362625635B271   SHAWN             COOGLE                  KY     90009892563
23626A37772B32   JUSTIN            SANDERS                 CO     90005180377
2362726938B17B   JOHN              MERILL                  UT     31030982693
2362733512B27B   DION              MITCHELL                DC     81048753351
2362756819189B   KENDRICK          DAVIS                   OK     21074785681
2362829999155B   JUANA             CONTRERAS               TX     75095992999
2362838558594B   LAURIE            ROOP                    KY     67010293855
236283A5255957   RAUL RUDY         CANO                    CA     48075513052
2362862365B232   JESSICA           ANDREW                  KY     90008146236
2362877A672B42   MELANIE           DAVIS                   CO     90002187706
2362944129189B   TED               MANORE                  OK     90009834412
2362B253451369   PRECIOUS          TEAGUE                  OH     66011312534
2362B25735B531   JUDY              MARTINEZ                NM     90005292573
2362B28A291522   FLOR              ARANDA                  TX     90014702802
2362BA6A191528   ARTHUR            HAMMEL SR.              TX     75090420601
2363144535B232   KENDRA            HAMPTON                 KY     90010954453
23631A9344B588   ROBERT            DANES                   OK     90013780934
2363229769794B   STEPHANIE         COLEMAN                 TX     90011772976
23632A2AA5715B   PARRISH           WILLIAM                 VA     90005180200
2363323729155B   ALAVARO           RAMIREZ                 TX     75094272372
2363366485B531   MARTHA            PADILLA                 NM     90000886648
23634A7918B151   RAUL              ORTEGA                  UT     31046720791
2363514A655957   MANUAL            VILLARREAL              CA     90004661406
2363526234B588   MARY              MOLINA                  OK     90013662623
236354A8941245   DARNELL           KINSEL                  PA     90010514089
2363566A19189B   GEORGE            RYAN                    OK     90010776601
2363583275B232   ASHLEY            WILLIAMSON              KY     90014188327
236358A6772B88   AMANDA            STICKLEY                CO     90009268067
2363599357B471   HARVEY            PETTIS                  NC     11043239935
23636124A91528   NOEMI             LOPEZ                   TX     90002191240
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23636A22431453   ALYSSA          ROLLER                    MO     27559590224
23637495772B32   APRIL           RUBIO                     CO     33018024957
236382A849189B   HEATHER         FORSTON                   OK     90009562084
23638967A4B261   HEATHER         POPPLETON                 NE     27047979670
2363B371372B88   MARIA           NEVAREZ                   CO     90013683713
2363B472681661   MIGUEL          ANGEL                     KS     90014784726
2363B62419136B   FAYE            RAY                       MO     90008386241
2363B682831453   T               WALL                      MO     90014096828
2363B6A3572B32   ALEJANDRO       GOMEZ                     CO     33014946035
2364171575B161   ALANA           HOLLMAN                   AR     90012747157
2364172565B571   SABRINA         CHAVEZ                    NM     90005037256
2364177A19794B   BELEM           ALIA                      TX     90004387701
236419A9A72B27   LESLIE          ROBINSON                  CO     90006719090
23642272572B32   NICOLE          RICE                      CO     90013292725
236427A5672447   DANA            LOZANO                    PA     90015107056
2364442415B571   MONSERRAT       GUITERREZ                 NM     90010414241
2364454A172B32   JOLEEN MARRIE   BLAIR                     CO     90007875401
2364588559794B   ESTHER          AGUILAR                   TX     90014198855
2364611489155B   LAURA           SOLIS                     TX     75034761148
2364642345B161   TISHA           DYE                       AR     90015354234
2364693672B232   JAMIKA          CLAYBURN                  DC     90001709367
23646A7AA5B271   SHAWN           ABEL                      KY     90004160700
23647528A9136B   RAVONNA         MCBRIDE                   MO     90010195280
2364769979794B   ALICIA          GARCIA                    TX     90012066997
2364799857B449   WINSTON         WITHERS                   NC     90013799985
2364817364B281   SHAYLI          LONGMORE                  NE     90011631736
2364836917B449   NITA            INGRAM                    NC     11052193691
2364861519794B   ARON            CHAVEZ                    TX     74044676151
2364936945B167   DENISE          SIMPSON                   AR     23034723694
2364946A15715B   JAMES           COLEMAN                   VA     90012784601
2364947229136B   ROSARIO         SANCHEZ                   KS     90011034722
23649631172B32   JOSE            CASILLAS                  CO     33009626311
2364998A14B261   MARISSA         MURRY                     NE     90013739801
2364B362531453   DOTTIE          LEE                       MO     90013963625
2364B56724B588   KIMBERLY        MILLER                    OK     90011755672
2365135128B324   NOE             MONTES                    SC     90011053512
2365152534B261   KIM             JACKSON                   NE     27035525253
236515A7331631   ANGEL           BANUELOS                  KS     90015595073
23651717872B42   ERIKA           REGALADO                  CO     90011847178
23651A25755957   VENUS           DONAHUE                   CA     48064190257
236521A654B588   CASSANDRA       HASKINS                   OK     90012031065
2365224A431631   OLGA            MEDNEZ                    KS     90013902404
2365274A65B167   HILLARY         BROWNING                  AR     23011857406
23653A29972B42   FLORA           MARTINEZ                  CO     90010770299
2365418674B281   SANTANA         RODRIGUEZ                 NE     90004211867
2365428A172B88   MICHELLE        ESQUIBEL                  CO     90004042801
2365432265B342   NATANAEL        LOPEZ-CASTILLO            OR     90004503226
2365465529189B   EMILY           LANFORD                   OK     90014126552
2365471863B342   YVONE           WOLVERTON                 CO     90000917186
2365495255B571   OLIVIA          THOMPSON                  NM     90011079525
2365522175B271   LUIS            LIO ROSALES               KY     90008052217
23655A17131453   AUZANAY         HAYES                     MO     90015400171
2365622A52B931   JUSTIN          MYLAR                     CA     90014612205
23656A71372B88   STEVE           GRIMES                    CO     90014660713
23657268A91522   ELGIN           CASTRO                    TX     90015112680
23657834372B32   MARIA           JIMENEZ                   CO     33006418343
2365792539189B   MELISSA         KINDT                     OK     21076209253
23658542972B32   BRIDGETT        TOLLIVER                  CO     33062565429
23659485572B88   MIERE           MBUYI                     CO     90000334855
2365949662B27B   CAMERON         BEAUFORD                  DC     90001934966
2365952918433B   HIPOLITO        SILVA                     SC     19014015291
2365996359184B   CHRISTINA       CRITTENDEN                OK     21050899635
23659966572B42   CHARVARVIA      AROBERBTO                 CO     33059699665
23659A54581661   RAYMOND         RANSBURG                  MO     90004260545
2365B28299184B   TABITHA         PARENTI                   OK     90014852829
2365B94A45B232   SUNNY           PAULEY                    KY     68015119404
2366216725B161   SUMMER          DACUS                     AR     23013091672
2366257645715B   OLVIN           ZELAYA                    VA     81073375764
23662A59341245   GABRIELLA       KIPANGA                   PA     90012080593
236631AA891828   MICHAL          KUSMIESKI                 OK     90010321008
2366356568594B   SUSAN           BLAKEY                    KY     67015945656
23663945772B42   DANIEL          HOLMES                    CO     90004289457
2366423652B27B   JERRY           JORDAN                    DC     90012442365
2366438A44B261   RUBY            BROWN                     NE     90014873804
2366442262B232   RAYETTE         SILVER                    DC     90004054226
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236644A594B588   JUVENAL      LONGORIA                     OK     90013604059
2366455565B232   JANIE        MARTIN                       KY     90008845556
2366496A99713B   CASSANDRA    WOOD                         OR     90013459609
23665648A5B571   CHARLES      HILARIO                      NM     90009166480
23665739A4B261   DENISE       DUNCAN                       NE     27096057390
2366574974B281   EUGENIO      MATIAS                       NE     90014107497
23666438A31453   ALEXANDER    WASHINGTON                   MO     90014804380
2366677869794B   TANYA        ALBRECHT                     TX     90011217786
23666A7829794B   JULISSA      SALAZAR                      TX     74016070782
2366781535B531   ALEXUS       JOHNSON                      NM     90005648153
236679A1A31453   STACY        ADAMS                        MO     90013839010
2366835269136B   THANG        TUANG                        KS     90012143526
236685A7855957   ISREAL       BARREDA                      CA     90015165078
2366879479379B   JILL         SLAGLE                       OH     90008037947
2366883344B588   JASON        BLEVINS                      OK     21556268334
236693A4151369   KRISTEN      WARREN                       OH     90003233041
2366B293193773   ASHLEY       GRANT                        OH     90005842931
2366B44467B471   MARTHA       BROWN                        NC     90012354446
2366B57433B347   YESINIA      MARTA                        CO     33019445743
2366B974255957   JUANITA      NAVA                         CA     90013199742
2366BA58355957   NAHUM        COTO                         CA     90014780583
23671AA5872B32   BEVERLY      GRANT                        CO     90012630058
2367243288433B   VICTOR       COLIN HERNANDEZ              SC     90014044328
2367262934B261   ARACELI      LAGUNAS                      NE     90012206293
2367266A94B261   ARACELI      LAGUNAS                      NE     90005126609
23672963172B42   JACKIE       MARTINEZ                     CO     90011399631
23672A99772447   GABRIEL      WILSON                       PA     90010020997
2367313519794B   PAMELA       REDICK                       TX     90015361351
2367323187B449   DONNELL      GARDNER                      NC     90014462318
2367333295B531   JERMAINE     HAYWOOD                      NM     90010613329
2367359A19184B   LASHELLZ     KELLUM                       OK     21011695901
236738A1651369   LAKEIYA      JENNINGS                     OH     90009468016
2367391897B449   DONNELL      GARDNER                      NC     11007619189
23673A9415B167   DORIE TAM    SUMMONS                      AR     23058070941
2367443214B261   WILLIAM      PENNER                       IA     27042614321
23674735472B32   JOSE         SIERRA BARRON                CO     33019207354
23674A23A5B161   RICKY        DAVIS                        AR     90011880230
2367527437B471   NICHELLE     PAYTON                       NC     90014682743
2367557515B571   AMANDA       COX                          NM     35098775751
2367564797B449   SHANARIOUS   BURD                         NC     90013136479
2367647345B536   LUIS         MOREJON                      NM     90012144734
236777A1A51325   SERVRO       DE LA CRUZ                   OH     66014657010
2367799217B449   RONALD       WATSON                       NC     11050629921
2367858848B168   MICAH        PICKERING                    UT     90001795884
236785A3284364   JERRY        POSEY                        SC     90001515032
23679A9959189B   JOSE         MARTINEZ                     OK     90013860995
2367B45435715B   ELSA         ESTRADA                      VA     90007114543
2367B669691541   ESTELA       GARCIA                       TX     90011626696
2367BA84187B59   SHENNETTA    MILLER                       AR     23088030841
236813A8672B42   MICHAEL      ENGELHARDT                   CO     33091573086
2368146A641245   KRISTAL      OKNEFSKI                     PA     90004644606
2368189A17B471   RENEA        BECKWORTH                    NC     90014788901
23682373372B88   FELIPE       LOPEZ                        CO     90013683733
23682589A5B161   ARTHUR       WAITS                        AR     90013555890
23682798A4B281   ADAM         KELLY                        NE     90013947980
23683317A91541   CORINA       AGUIRRE                      TX     90011333170
23683A1179184B   AMIE         SIMS                         OK     21037710117
2368426462B27B   JAMES        ADKINSON                     DC     90013942646
2368442995B271   VANESSA      COX                          KY     90012904299
2368496185B571   TERRI        NORTON                       NM     35084079618
23685472972B88   BRIANA       CREWS                        CO     33040944729
236855A695715B   NOLVIN       GONSALEZ                     VA     90007215069
2368662A34B588   JESSICA      JOHNSON                      OK     90013226203
236868A967B449   MONDA        WILLIAMS                     NC     90011588096
2368695665B571   AMY          SERRANO                      NM     35088629566
23686A94591828   TIMOTHY      LUSTER                       OK     90014040945
2368855399184B   LAURA        LEWIS                        OK     90009315539
2368855442B232   ESTANISLAO   CARDOZA                      DC     90004055544
23688A7825715B   ABIKAR       BASHIR                       VA     90003690782
2368B61469184B   STEVEN       PATTON                       OK     21028176146
2369136965B531   NANCY        SOLIS                        NM     90010613696
2369268342B931   MICHELLE     TETENS                       CA     45002046834
236931A754B588   OMAR         DOMINGUEZ                    OK     90013781075
236939A2177523   CRYSTAL      EBNER                        NV     90011749021
23693A7915B271   VIOLET       NOEL                         KY     90014350791
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23694292A91374   REBEKAH      BOOSE                        KS     90005822920
23694842A91541   RICARDO      ARVIZU                       TX     90013708420
236948A9291241   JAMES        PAYNE                        GA     90007618092
2369571265B571   ERICK        HENSLEY                      NM     35003397126
2369573392B27B   EUGENE       STEWART                      DC     90003017339
2369573755B167   TAMEKA       FLANIGAN                     AR     90009397375
2369684219794B   JOSE         KUK                          TX     90013958421
23697147A41245   MARIA        DOLORES SAENZ                PA     51080211470
23697718A91541   KATHY        BROOM                        TX     90006937180
23697AA627B449   ARIANA       SMARAGDIS                    NC     90015190062
23698156772B32   AUSTIN       MONTOYA                      CO     90005001567
23698487172B42   TAVAREZ      MANUEL                       CO     33058654871
2369877627B471   DASIA        SOWELL                       NC     90007337762
23698817872B88   CAROL        PFLUGER                      CO     33098918178
2369891199155B   LILIA        MARTINEZ                     TX     75031009119
23699A52872B42   STEPHANIE    FLEMMINGS                    CO     90009150528
2369B262772B32   ERNEST AND   THERSA MASMAN                CO     33076132627
2369B47375B571   GLENDA       URQUIDI                      NM     35016824737
2369B691A9184B   RAYL         SNYDER                       OK     21018896910
2369B827263669   KELLY        LEWIS                        MO     90009448272
236B1373772447   SCOTT        COFFMAN                      PA     90013313737
236B149839794B   ISABEL       AGUERO                       TX     90006664983
236B1724A91522   ALEJANDRA    MARRERO                      TX     90013237240
236B173947B449   WAYNETTA     JOHNSON                      NC     90007877394
236B221989189B   LOUIS        BOWIE                        OK     21050772198
236B237975B271   ADRIAN       OWENS                        KY     68075093797
236B2531872B32   JANICE       THOMAS                       CO     33090755318
236B256695B167   NATISA       BAKER                        AR     90002635669
236B2587291522   BRENDA       RAMOS                        TX     75058075872
236B3169A9184B   DAVID        GOMEZ                        OK     90014181690
236B317492B27B   TARA         GREGG                        DC     81056831749
236B338AA85938   MICHAEL      CASE                         KY     90012153800
236B344A55B167   MELANIE      GILREATH                     AR     23090524405
236B34A5A4B261   DARLENE      BULLOCK                      NE     90013674050
236B35A9A9794B   MAURO        CASTILLO                     TX     90007885090
236B385917B458   NASTASSKIA   WATSON                       NC     90005148591
236B398463B351   JOSH         PATRICK                      CO     90012449846
236B3A2245B232   PEDRO        PEREZ                        KY     68063200224
236B4336731433   CRYSTAL      SNELLMAN                     MO     90009683367
236B439324B261   JOSE         CALDERON                     NE     27087883932
236B453287B471   NATHANIEL    CARTER                       NC     90008095328
236B4576191828   MIKKI        VANHORN                      OK     90009585761
236B477A855957   RONITA       GILLIAM                      CA     48081997708
236B5132741245   DERRICK      INGRAM                       PA     90014161327
236B5857531453   RENAE        NEWTON                       MO     90014588575
236B585917B458   NASTASSKIA   WATSON                       NC     90005148591
236B651275B571   KAMIYA       YOUNG                        NM     90012715127
236B6531A9155B   JAVIER       MELERO                       TX     75083685310
236B658A88594B   ANGIE        KIRK                         KY     90007915808
236B661854B261   DUANE        GONKA                        NE     27085516185
236B663485B531   ABIGAIL      RODRIGEZ                     NM     90011946348
236B736547B449   JUSTIN       DAVIS                        NC     90014583654
236B7458A7B471   LATOYA       JOHNSON                      NC     90014844580
236B754415715B   JOSE         BRAVO                        VA     81086945441
236B85A985B571   AMBER        ADKINS                       NM     35075465098
236B865A75B161   TORIS        HODGES                       AR     90010406507
236B8862991522   MIGUEL       CORRAL                       TX     90013108629
236B8951872B32   SILVIA       C. HERNANDEZ                 CO     33083799518
236B89A9247952   DERA         MCGLUGRITCH                  AR     24018369092
236B8A6314B261   DON          PANKIEVICZ JR                NE     27020350631
236B9239391528   JUAN         PINEDO                       TX     75090582393
236B9317A72B21   DUSTIN       ATWOOD                       CO     90014423170
236B9412476B67   ARTHUR       PUGH                         CA     90001164124
236B9444285998   AMANDA       CRUISE                       KY     90006354442
236B9496285938   RACHEL       CLARK                        KY     67009964962
236B955949136B   DANIEL       JONES                        KS     90013455594
236B9841472B32   SAYEGH       RICHARD/JORGE                CO     33013558414
236B9941472B88   DENITA       ROJAS                        CO     90013629414
236B99A389794B   CYNTHIA      SANCHEZ                      TX     90010259038
236B9A4885B271   SHEILA       SMITH                        KY     68016480488
236BB39119136B   AIDE         BUSTILLOS                    KS     90015193911
236BB42935B161   TONYA        MORRISON                     AR     90014704293
236BB75394B281   KATHY        NICE                         NE     27097717539
236BB78247B471   MICHAEL      SHEARN                       NC     90013347824
236BB857A72B32   DOROTEO      RUIZ                         CO     90014588570
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236BB8A5351369   SALVADOR         MARTINEX                 OH     66081248053
2371111218B17B   JOSEPH           RUBIO                    UT     31030061121
2371138A431453   CARLOS           YOUNG                    MO     27566633804
2371146359189B   DIANE            HAYNES                   OK     21088334635
2371146827B471   GALINDO          ANSELMO                  NC     90013224682
2371162114B231   CARLOS           VELASQUEZ                NE     90013296211
2371165AA91541   BARRET           BRANSON                  CO     75035326500
237119A7372B88   ALEJANDRO        GONZALEZ                 CO     90005599073
2371242292B841   LEANNE           VAN LONE                 ID     90001574229
23712881472B88   MARCOS           ARTEAGA                  CO     90012138814
23713911772B31   LOLA             POSTON                   CO     33046759117
2371437182B27B   DEONTE           MILL                     DC     90011213718
2371441274B261   DAVID            BURGMEYER                NE     27046424127
2371538A99184B   BARBARA          DEVILLE                  OK     90002983809
23715A46572447   PATRICIA         SMITH-SEMPREVIVO         PA     90014700465
2371693989794B   FLAVIO           UTUY                     TX     90013929398
2371694575B244   RICHIE           DUNLAP                   KY     68040929457
2371758719136B   LUIS             GRACIA                   KS     29085255871
23718226187B87   LATOYA           DAVIS                    AR     23047252261
23718258172B42   BRANDON          JONES                    CO     90009712581
2371849A691528   JOSE             ESCARENO                 TX     90006324906
23718A8235B232   SANITA           HUGULEY                  KY     90007860823
23718AAA17B449   SASHA            COOK                     NC     11047960001
2371926147B449   JERMAINE         BOWMAN                   NC     90010402614
2371979494B261   LILJOY           DAVIS                    NE     27085557949
2371998584B281   PABLO            TOBAR VERA               NE     90012159858
23721A5A25B271   HALEY            WILLETT                  KY     90014780502
2372227974B588   RHONDA           LAWRENCE                 OK     90013662797
2372232428B17B   AILINE           PATETEFA                 UT     31091163242
2372247719189B   NATHANIEL        COWART                   OK     90009994771
2372276677B471   ORANE            PHILLIPS                 NC     90003487667
2372279A75B571   LETICIA          COBOS                    NM     90000977907
2372312399189B   ALEXANDER        TIJUANN                  OK     90013861239
23723366872B88   JOSEPH URIOSTE   RACHEL ULIBARRI          CO     90012413668
23723497972B88   JOSEPH URIOSTE   RACHEL ULIBARRI          CO     90013324979
237238A9391541   SANCHEZ          PAULA                    TX     90005348093
23723A48155957   AMBER            JONES                    CA     48010050481
23724294A72B32   NICOLE           LEO                      CO     90008092940
23725146A41245   TEREZ            RUSSELL                  PA     90013591460
2372555129794B   NORMA            GONZALES                 TX     90006825512
2372635277B449   KIM              CURL                     NC     90006443527
237263AA684353   MONIQUE          ANCRUM                   SC     90010503006
237267A6991828   CHARLES          HENSON                   OK     21036217069
23726981672B32   JOVANNY          MELENDEZ                 CO     90014999816
23727A2129155B   LUPE             REYES                    TX     90004260212
23727A59372B42   GUADALUPE        ARROYO                   CO     33051960593
2372862469189B   GLORIA           BROTHERS                 OK     21013476246
2372896A491828   CARLOS           LOPEZ                    OK     90003349604
23729553472B42   SHEILA           WADE                     CO     90006645534
2372B1AA572B32   BRANDI           TRIGG                    CO     90014161005
2372B67A54B281   WALTER           MARAVILLA                NE     90008396705
2372B714155957   STEPHANIE        FAGUNDES                 CA     48092737141
2372B88A35715B   GERMAN           CASTRO                   VA     90012698803
2372BA47872B88   KATHY            SAYLER                   CO     90013590478
2372BAA2A91541   CORDOVA          BRENDA                   TX     90003830020
2373145849794B   JUAN             RUIZ                     TX     90013764584
2373175655B571   LINDA            MADRID                   NM     90008627565
23732945A4B261   WALLESHA         HUBBARD                  NE     27076349450
2373294A491541   ALAN             CARRILLO                 TX     90014629404
2373297545B571   COREY            BINGHAM                  NM     90011079754
237333A177B449   BILLY            HELMS                    NC     90000603017
2373389A54B588   RENATO           ESTRADA                  OK     90010248905
23733A36A55957   JEFFREY          FLETCHER                 CA     48042190360
23733A4245B271   STEPHANIE        ADAMS                    KY     90009530424
2373498629155B   FELIPE           PALACIOS                 TX     90010719862
23734A73572447   KRISTIE          ERWIN                    PA     90012310735
2373523235B167   KATRINA          BELL                     AR     90008332323
2373525469189B   LORI             DAVIS                    OK     90014852546
2373536935B271   CRYSTAL          FIELDS                   KY     90004583693
2373558189155B   VICENTE          P MURILLO                TX     75008475818
2373564768B17B   LYNSEY           BENSON                   UT     90007616476
23735825372B88   ELIZABETH        AVILA                    CO     90010278253
23735882A55957   DAN              SMITH                    CA     90011858820
2373681A791541   YOLANDA          CHERRY                   TX     90013778107
237368A739794B   ESTUARDO         FUENTES                  TX     90011148073
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23736A4379794B   RICARDO       SAENZ                       TX     90014770437
2373798A95B571   JOSE          RAMOS HERNANDEZ             NM     90011079809
23737A9724795B   PERFECTO      DE LA CRUZ                  AR     25024010972
2373869669189B   EFREN         LEDEZMA-SANCHEZ             OK     21090186966
2373885645B161   CHRISTOPHER   SMITH                       AR     90014208564
237392A2387B87   BERRY         RICE JR.                    AR     23065272023
2373935535B247   BRANDON       KRATZ                       KY     90007663553
23739374672B88   JOSE          BALDERRAMA                  CO     90013683746
2373942A172B32   JENNIFER      LOPEZ                       CO     33008444201
2373953997B449   PRINCESS      SIMMONS                     NC     11078615399
2373B339772447   VICTORIA      LASSITER                    PA     90012373397
2373B42359794B   CARLA         SALAZAR                     TX     90009994235
2373B487572B55   TINA          WAUHOP                      CO     90015164875
2373B65895B167   LYNN          CORLEY                      AR     23062176589
2373B78119184B   JESSICA       TURNER                      OK     90014227811
2373BA48791828   RUBEN         MARTINEZ RUIZ               OK     21080440487
237411A5872B42   STEPHANIE     WITHERSPOON                 CO     90011371058
23741538A6B931   JOSE LUIS     CABALLERO                   NJ     90015115380
23741854572B88   CRISTINA      FINLEY                      CO     90014798545
23742A96A4B281   PAYGO         IVR ACTIVATION              IA     90011780960
237437A2591828   KRUZ          MILLER                      OK     90007507025
2374383475B571   ANGEL         WEBB                        NM     35041948347
23743844672B32   PAMPAT        BSATTARI                    CO     90012588446
2374386679184B   TENESHA       HUNT                        OK     90014568667
2374389A831453   MARIE         HANCOCK                     MO     90014588908
23743A27991541   OSCAR         FLORES                      TX     90009250279
23743A7497B449   KEITH         WILSON                      NC     90015140749
2374418574B281   EZEQUIEL      SOTO                        NE     90004491857
237442A147B449   SHAMKEKA      SIMPSON                     NC     90013002014
2374465717B449   DARNELL       BRANNON                     NC     11045776571
2374585318B15B   SCOTT         JENSEN                      UT     31082668531
2374625947B471   DETAVIAN      RASHAD                      NC     90015002594
2374698A29136B   MEHGAN        RAE MYERS                   KS     90001439802
23747469972B42   BRIAN         GARCIA                      CO     90010224699
237482A569189B   RICHARD       LASH                        OK     21007142056
23748368A71924   L             DEAN                        CO     90006843680
2374922277B471   DONALD        WELCOME                     NC     90000522227
23749656A5B161   JAMIE         BEAM                        AR     90011066560
2374B149472B42   RICHARDSON    TORY                        CO     90010831494
2374B955A55957   CARLOS        LEMAS                       CA     90014929550
23751113172B88   SHONTAI       YEMANE                      CO     90012791131
237513A434B588   DANIEL        ROSALDO                     OK     90013663043
237515A139136B   TIFFANY       ESHNAUR                     KS     29063625013
23751871A72B88   TRACY         PELLETIER                   CO     90012858710
2375218514B588   CHARLES       MILLER                      OK     90011761851
2375227484B261   KELLY         BEINS                       NE     27083392748
23752953672B32   JOHN          MORRIS                      CO     90011119536
2375337789794B   RNADY         MAURICIO                    TX     90012953778
2375415939155B   LUIS          ROSILES                     TX     75028951593
2375421222B931   RHONDA        SNOW                        CA     45034532122
2375422577B449   ANAYELI       PEREZ                       NC     90014782257
2375434855B271   ELIZABETH     ALTON                       KY     68051823485
2375462524B281   GUSTAVUS      FRAZIER                     NE     90013676252
2375476877B471   LISA          IVEY                        NC     90009437687
2375479199794B   CHARLOTTE     OBELLA                      TX     90015357919
2375498A255957   JOSUE         MIRELES                     CA     90011429802
2375517615B161   SUSANNA       BOSTIAN                     AR     90012811761
2375551768B16B   DANIEL        SORENSON                    UT     31015075176
2375556A45B271   NORMA         DAVIS                       KY     90001795604
237557A2685999   TRACY         VASTINE                     KY     66063287026
23755841587B59   JASMINE       DOLLS                       AR     23032428415
2375697A99136B   NICK          SANTIAGO                    KS     90013239709
2375726525B271   SHAWN         HURT                        KY     68080912652
2375755737B449   RICHARD       MARQUEZ                     NC     90012305573
237577A3A9794B   BENJAMIN      JIMENEZ                     TX     90012497030
23758575372B42   COURTNAY      OBRIEN                      CO     90013045753
2375897235B531   HEZEKIAH      REYES                       NM     35002279723
2375927892B931   ERIKA         CONTRERAS                   CA     90014632789
2375B26662B27B   CARLOS        GALVEZ                      DC     90005372666
2375B31AA4B281   SANDOVAL      JOHN                        NE     27042643100
23762474A8593B   CLAY          HUNDLEY                     KY     90012074740
2376265599184B   JEFF          BARNETT                     OK     21036066559
2376323A772B32   MARIA         RAMIREZ                     CO     90012382307
237632A1972B32   MARIA         HIDALGO                     CO     33009502019
2376451944B261   ALDO          HERNANDEZ                   NE     90011815194
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2376466317B323   PEDRO        AGUIAR                       VA     81034596631
23764A38555957   BROOKE       LAVINE                       CA     90013980385
2376585795B161   REGINA       ADAIR                        AR     23094508579
23765A27431453   JULIE        REID                         MO     90011350274
2376658895B271   GREG         MILLER                       KY     90015155889
23766679A9155B   LAURA        RODRIGUEZ                    TX     90010336790
23766A83872B32   PAUL         PADILLA                      CO     90013780838
2376721679794B   JULIA        MENDEZ                       TX     90001042167
237673A9A41245   AARON        JOHNSON                      PA     90014163090
2376785438B17B   LINDA        GALLEGOS                     UT     31049978543
237683A9541245   JOSUE        CASTILLO                     PA     90014163095
23768A64272447   NICOLE       LANG                         PA     90009340642
23768A9A331631   MAGARITA     IBARRA                       KS     22000690903
237698A525B571   ENITH        HERNANDEZ                    NM     90008128052
2376B181447952   FATIMA       JONES                        AR     24016301814
2376B57A44795B   ELODIA       DURAN                        AR     25059465704
2376B81755B232   TESSA        WEISENBERGER                 KY     90009318175
23771222672B88   ERIN         BALTAZAR                     CO     90008502226
23771887A61939   JESUS        SANCHEZ                      CA     90014758870
2377211A181661   LAKESHA      SULLIVAN                     KS     90004261101
2377273835B232   CRAIG        GARRETT                      KY     68026827383
237728A8172B88   RAMIRO       MARIN                        CO     90012058081
2377293485B161   BIANCA       HALL                         AR     90015289348
23773764172B32   JESSE        PONCE                        CO     90008487641
23773A7679136B   EUGENE       HOLLINSHED                   KS     90008900767
2377482AA4B281   WENDKUNI     NIKIENA                      NE     90006158200
23776118287B87   MAKETHIA     SMITH                        AR     23039551182
2377624A19794B   JOSE         CAXAJ                        TX     90011062401
2377631AA31453   PEARL        KERR                         MO     90003133100
2377639249379B   SABRINNA     ROBERTS                      OH     64595733924
2377724A431453   MEHO         DURGUTOVIC                   MO     90006702404
23777743972B32   DOUG         DIRK                         CO     90004417439
2377781499184B   TERESA       GAMMILL                      OK     21002228149
2377848699136B   CALIXTRO     PEREZ                        KS     29017884869
23778496787B87   STEVIE       COBB                         AR     23084624967
2377887775B167   BETTY        WOODS                        AR     23087518777
23779276472B42   PATRICIA     ROSAS                        CO     90011582764
2377956A255957   ERNESTINA    RODRIGUEZ                    CA     90007585602
2377B21565B161   KATHERINE    VELASCO                      AR     90015222156
2377B292A4B588   MAURIYA      MAXWELL                      OK     90011462920
2377B36845B161   KATHERINE    VELASCO                      AR     90009893684
2377B647672B32   SEAN         LUGENBEEL                    CO     90012226476
2377BA8854B588   CLAUDIA      GALINDA                      OK     90011420885
237815A125B167   S            GRIMES                       AR     23008465012
23781998372B88   TONYA        LOPEZ                        CO     33006799983
2378215A572447   TRENT        OWEN                         PA     90012691505
23782519A9794B   BENJAMIN     OLALDE                       TX     90015225190
2378278872B931   BRANDON      FIELDS                       CA     90014697887
2378327722B931   JYSSICA      LYNN                         CA     90014652772
23783282A7B471   ELSY         HERNANDEZ                    NC     90008642820
2378341379189B   TINA         LOGAN                        OK     21089434137
2378397937B449   AIDA         HERNANDEZ                    NC     90013319793
237842A5441245   CHARLES      SMITH                        PA     51091482054
2378439A181661   RITA PAOLA   MORALES                      MO     29005333901
2378533785B571   JOSE         GONZALEZ                     NM     90014253378
2378554999794B   ADAN         CABRERA CRUZ                 TX     90015225499
2378582675B271   PAYGO        IVR ACTIVATION               KY     90014038267
23785A76155957   ROCIO        EVANS                        CA     48071920761
2378668619136B   DEVAN        WALTERS                      KS     90013506861
2378669A65B271   DESHAWN      MAGETT                       KY     90012916906
2378683314B588   AUTUMN       DAY                          OK     90011428331
23786A99A5B571   MARCUS       MARABAL                      NM     35039120990
2378778579155B   ANGELICA     MONTELONGO                   TX     75056857857
2378865139794B   TOMMY        WELLS                        TX     90011026513
23789468A5B531   BLANCA       CHAPARRO                     NM     90006894680
23789AA1491828   HAYDEN       ARIZOLA                      OK     90008090014
2378B2A189136B   LEE          KINSEY                       KS     90008912018
2378B723391541   GILBETO      MONASTERIO                   TX     90014897233
2378B84515B936   AMBER        PERRYMAN                     WA     90011138451
2379147524B281   DUSTIN       COGLEY                       NE     90011634752
2379166232B931   LAURA        JORDAN                       CA     45031536623
2379179587B449   TARA         QUINONES                     NC     11084007958
2379187419136B   JUAN         TISCARENO                    KS     90013028741
237923A5372B88   ARMIDA       FERNANDEZ                    CO     33046183053
23793127172B32   SHARON       SCHORZMAN                    CO     33004341271
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2379399769184B   RENA               ROSE                   OK     90008549976
23793AA9455957   SEBASTIAN          HUARACA                CA     90008300094
23794624987B59   TANYA              MILLER                 AR     23000466249
2379571A172B32   ELISA              PLATZ                  CO     33018327101
23796141172B32   DOROTHY            RUBY                   CO     90009751411
23796A87741961   JANE               MORRIS                 OH     90013580877
23797A4919189B   OCTAVIO            SERNA                  OK     90008560491
2379824A74B261   LAZARO             LARA                   NE     27085862407
2379847229794B   JOSE               TUMAX                  TX     90008154722
2379918695B232   MARTHA             SILVA                  KY     68046231869
23799213A51369   JAMES              ROPER                  OH     90003562130
237992A2893773   BELINDA C          JACKSON                OH     90005792028
23799352672B32   MICHILEEN          CHAPMAN                CO     90012113526
237999A395B161   LAMONT             SCOTT                  AR     23004119039
2379B391931631   ANNETTE            WOOLDRIDGE             KS     90014913919
2379B437751369   MARILYN            SORIANO                OH     66068594377
2379B512491828   BOBBIE             HAZELWOOD              OK     90010025124
2379B54459136B   BRANDI             SCHAFFER               KS     90011075445
2379B898472447   JAMES              ODONNELL               PA     90012578984
237B1911472B88   PERRY              LEDERBRAND             CO     90008779114
237B2147A91541   SHANNON            HARTFIELD              TX     90013221470
237B2437991541   ERIKA              ESCONTRILLAS           TX     90013174379
237B286277B449   FORREST            KIKER                  NC     90012328627
237B3485531631   MARGARITA          PEREDA                 KS     90006414855
237B3745355957   JULIO              CASTANEDA              CA     90014137453
237B4363791828   DANASHA            MAXEY                  OK     21030353637
237B5196653983   NAKEEA             WILLIAMS               OK     90014831966
237B5438172B32   DEBORAH            PAGE                   CO     33014204381
237B558114B261   PAUL               HOUSLER                NE     27083765811
237B586155B161   WHITNEY            MCCLAIN                AR     90007078615
237B587A391828   LATOSHA            OSBORNE                OK     90004648703
237B5AA255B271   THERESA            LESLIE                 KY     90003430025
237B626234B588   MARY               MOLINA                 OK     90013662623
237B627159184B   ROBERT             BAXTER                 OK     90014872715
237B63A199189B   MONICA             MARTINEZ               OK     90012183019
237B651945B531   SALLY              LAWSON                 NM     35081265194
237B6573131453   LOVIE              WILLIAMS               MO     90014815731
237B6575791522   ANGEL              APPELZOLLER            TX     90015435757
237B671572B931   CHRIS OR KRISTEN   ROCHA                  CA     90014627157
237B677389794B   DAGOBERTO          HERNANDEZ              TX     90003877738
237B6A4538594B   ABDULA             DERRICKS               KY     67056150453
237B7383A5B531   PERLA              ORTIZ                  NM     90008823830
237B766175B271   NAAMAN             NIEWADOMSKI            KY     68062806617
237B797799794B   JOSUE              NINO                   TX     90014029779
237B7AA6872447   ADRIENNE           RESNICK                PA     90003850068
237B8526491541   SHARON             CHITTUM                TX     90013655264
237B886385715B   MARTA              LAINEZ                 VA     81017448638
237B891737B471   JOVANNA            DULIN                  NC     90000399173
237B916487B449   HECTOR             ROBLERO                NC     90014471648
237B9316A72B88   DARIN              REINKE                 CO     90005733160
237B9443691522   CYNTHIA            FABIAN                 TX     75096474436
237B951349155B   EDGAR              DURAN                  TX     75097585134
237B95A5331631   ABREE              EVANS                  KS     90011355053
237BB5A319794B   EVELIA             VASQUEZ                TX     74039335031
237BB66772B27B   JOSEPH             SMITH                  DC     81088036677
2381234824B281   EARLENE            RUSH                   NE     27049313482
2381317757B471   LINDA              EVANS                  NC     90012711775
2381414329189B   SHAWNA             POE                    OK     90012441432
2381416A28B17B   VIVIAN             HOLMES                 UT     31027021602
238144A7291541   SUSANA             GARCIA                 TX     90011984072
23814538372B32   WENDY              WAGNER                 CO     33042635383
23815266A91541   MARTHA             ANAYA                  TX     90015082660
2381593A672B32   LANETTE            OLANDER                CO     90013389306
2381594672B27B   LATISHA            WILIAMS                DC     90008449467
23816142687B87   DANYA              LEWIS                  AR     90003391426
2381619779184B   JESSICA            TURNER                 OK     90013881977
238174A3272B32   GLORIA             GARCIA                 CO     33069684032
23817A3A291541   GUADALUPE          ACOSTA                 TX     90011430302
2381868754B588   LENITO             KING                   OK     90008386875
238187A918594B   STEPHANIE          ALLEN                  KY     67083307091
2381969A172B32   AARON              PROCTOR                CO     90012026901
2381B95827B471   MEEL               MCDOWELL               NC     11030109582
23821372172B42   LAYLA              LINEGAR                CO     90009943721
2382154A572B32   MANUEL             CASTELLAMES            CO     90010505405
23821A52841245   JUSTIN             SCHANZ                 PA     51086680528
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2382212715B161   JUAN         LOPEZ-VELASQUEZ              AR     90013581271
23822538A4B588   CIARA        STROZEWSKI                   OK     90011765380
23822A4A871932   JAMES        KINDALL                      CO     32048930408
23822A62587B87   JASON        DEBRO                        AR     23009880625
23823444172B88   KARELY       DELAROSA                     CO     90011784441
23823557672B88   MARTHA       CORTES                       CO     90015135576
2382374A431453   DESTINY      STRICKLAND                   MO     90013917404
23823868487B87   DEMETRIC     WALKER                       AR     90010908684
2382431A95B271   YULI         SIN                          KY     90006503109
2382465855B167   AMANDA       SCHMIDT                      AR     23063016585
23824691A91528   SAVANNAH     GONZALEZ                     TX     90005976910
2382473258B16B   JEAN         GRASER                       UT     31002657325
2382498A691828   DURENDA      ESTRADA                      OK     90004679806
23825235A4B588   SHEENA       PITTMAN                      OK     90014902350
2382555874B588   AARON        HAMILTON                     OK     90011765587
23825A5A661995   FELIPA       GONZALEZ                     CA     90009470506
238262A695B271   KENNETHA     MOORE                        KY     90009442069
2382649288B15B   CECILIA      BENNETT                      UT     90007754928
23826922472B88   ROLANDO      OSORIO                       CO     33078349224
23826A5492B931   BENNY        RAMIREZ                      CA     90014660549
2382737735B161   ALBERT       WILSON                       AR     23098663773
2382739319136B   CHRISTIAN    THOMAS                       KS     90014413931
23827794672B42   CECAR        GARCIA                       CO     90012907946
2382946439189B   JAMIE        EDILLO                       OK     90009934643
23829475972B32   IVETTE       VILLESCAS                    CO     90011514759
2382957765B531   JAMES        BOWEN                        NM     90006895776
2382987314B592   DEANA        NELSON                       OK     90001718731
2382B51959794B   TONI         RIBIGBE                      TX     90010235195
2382BAA649189B   DENISSE      DUARTE                       OK     21076190064
2382BAAA77B471   SHEILA       ROBINSON                     NC     90014910007
2383194A57B449   JOSE         PINEDA                       NC     90012959405
2383222724B261   BRIDGET      VANDERPOOL                   NE     27086402272
2383279775B161   DESREE       MCFERGUSON                   AR     23064147977
2383283244B281   CRISTAL      AMARILLAS                    NE     90009288324
2383315919189B   SCOTT        CRAIG                        OK     21098441591
2383358857B471   ALVIN        ROBINSON                     NC     11057115885
2383425534B261   BRADY        JOHNSON                      NE     90013002553
2383453559794B   GABRIEL      CARRASCO                     TX     74028395355
238349A3491522   TOMASA       PULIDO                       NM     75058679034
23834A22893773   SHANTELLE    NEWPORT                      OH     90011290228
2383756739184B   JESSIE       COLLINS                      OK     21009165673
23837784672B88   JUNE         GARCIA                       CO     90009097846
2383859995B531   RICARDO      VALENCIA                     NM     90006895999
23838A93472B88   JEAN         NICKENS                      CO     33067880934
23839146A9189B   MARIA        ORTIZ                        OK     90013861460
23839377A7B471   MATEC        GRAHAM                       NC     90008343770
2383947195B232   SAMANTHA     CRAVENS                      KY     90013754719
23839532A72B32   JOSE         MENDEZ                       CO     33054095320
23839723872B42   DAVID        AVITIA                       CO     90011387238
2383984457B449   CHRISTINE    JONES                        NC     90008648445
23839A35A5B271   ELONDA       WILSON                       KY     68051830350
2383B57765B531   JAMES        BOWEN                        NM     90006895776
2384128839794B   MARY         ARELLANO                     TX     90001692883
23841383172B42   DANIEL       PARR                         CO     90012253831
2384143264B588   JOSE         REVELES                      OK     90013664326
238414A482B27B   IVA          NEWMAN                       DC     90011194048
2384216245B271   THOMAS       THOMPSON                     KY     90006661624
23842A6859184B   MICHAEL      GAMAGE                       OK     90014940685
2384335365B271   LISA         BLANDFORD                    KY     90014223536
2384343644B588   GYANNAH      FLORES                       OK     90013664364
2384425235B161   NIKKI        LEWIS                        AR     23023312523
2384441115B271   LEROY        FURMAN                       KY     68058994111
23844577472B32   MIGUEL       FRANCO                       CO     90004155774
2384462995B531   ERIC         RADOSEVICH                   NM     90011696299
2384478872B931   BRANDON      FIELDS                       CA     90014697887
23845389872B42   IVONNE       ARKADIE                      CO     90010773898
2384563285B531   PAUL         ARCHULETA                    NM     90011696328
2384596759184B   DORIS        RAMIREZ                      OK     90014799675
2384598643B352   ROBERT       KURVINK                      CO     90007809864
2384598A741245   RICHARD      STEWART                      PA     90012629807
23846619772B32   MARY ELLEN   GUZMAN                       CO     33013156197
2384663285B531   PAUL         ARCHULETA                    NM     90011696328
2384769A887B59   LAJUANA      JONES                        AR     23092336908
23848213A51369   JAMES        ROPER                        OH     90003562130
23848243672B42   CAROL        MUDGETTE                     CO     33058212436
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2384941719155B   JESUS         SATARAIN                    TX     90014274171
238494A6691828   MARY          BAXLEY                      OK     90011904066
2384975A291528   GEORGE        DE LA ROSA                  TX     75093487502
23849984172B32   MARIBEL       GARZA                       CO     90011119841
2384B14184B588   JORGE         MATINEZ                     OK     90014071418
2384B339781661   ALEXANDRA     MARTINEZ                    MO     90004643397
2384B527991541   ROCIO         RANGEL                      TX     90013825279
2385188714B281   JAY           COLWELL                     IA     90013388871
23851A6655B571   MARICARMEN    LOPEZ                       NM     90011080665
23852333A55957   KYLE          APPLEGATE                   CA     90014393330
238538A582B931   SONIA         VALENZUELA                  CA     45066308058
238542AA591522   SONIA         ZUNIGA                      TX     90013702005
238544A415B531   CHRISTINE     COTINOLA                    NM     35090084041
2385498264B588   MARY          GARRISON                    OK     90008439826
238551A6331631   ERICA         NEIL                        KS     90002311063
2385528799794B   XOCHITL       DE LA TORRE                 TX     90001502879
2385534399189B   STEPHANIE     SCUGGINS                    OK     90008733439
238561A149794B   JOSE MIGUEL   VAZQUEZ SILVA               TX     90014531014
23856384472B88   WANDA         ROWE                        CO     33079883844
2385644814B261   ANNA          SIEGEL                      IA     27052764481
2385746762B249   PHYLLIS       WOODS                       DC     90009414676
238584A415B531   CHRISTINE     COTINOLA                    NM     35090084041
2385857559136B   SHERRY        MCFARLAND                   KS     29034905755
2385879849184B   ARTURO        HERNANDEZ                   OK     90012407984
2385966247B471   DAPHENE       MCINTOSH                    NC     90004596624
238596A749794B   SALLY         DELEON                      TX     90007586074
2385B75245B571   NATHIAN       SANCHEZ                     NM     90000427524
2385B8A9491828   KEVIN         MYERS                       OK     90013278094
2386193739794B   ARAZELY       SALAZAR                     TX     90011029373
23861A19331453   JAHBARIE      JEFFERSON                   MO     90015170193
2386351117B471   ELUVIA        JUARES                      NC     11035825111
2386362524B281   SUSAN         HENNEBERRY                  NE     90002786252
2386368715B161   MESHUNDA      MYLES                       AR     23049796871
2386396A44B261   JOHN          BRANNAN                     IA     90006469604
2386414225B232   PATTY         OSBORNE                     KY     90002681422
238645A1A72447   JILLIAN       BRIGGS                      PA     90000365010
2386467199189B   APRIL         CARROLL                     OK     90001266719
2386646145B531   GUADALUPE     SELMAN                      NM     90011694614
2386746149189B   TEIGHLOR      SCHEULEN                    OK     90013094614
2386746295B244   ROBIN         ROSENBARGER                 KY     68011444629
2386811369189B   SARAH         VU                          OK     90013241136
23868241672B88   AGUSTIN       SANCHEZ                     CO     90001162416
2386844195B271   CAROL         CRAWFORD-MACK               KY     68085314419
2386845AA4B281   TIFFANY       MACE                        IA     90009094500
2386855959189B   KIM           ALLISON                     OK     90014725595
23868576A87B59   DEBORAH       THOMAS                      AR     23040435760
23868A1A384364   BRANDON       GAILLARD                    SC     90009530103
2386935A172B32   ALLEGRA       FIORINO                     CO     33015173501
2387187747B471   TEREZA        MOREIRA                     NC     11062138774
238732A4291828   CHRISTY       MOLLINGS                    OK     90013332042
23874613372B88   BYRON         STRINGFELLOW                CO     90014776133
23874619687B59   ANDREA        DAVIS                       AR     23016776196
2387484745B375   LAURA         DURAN DIAZ                  OR     90013458474
2387491462B931   NORBERTO      POZOS-SANTOS                CA     90014709146
2387499762B27B   JOSSELINE     GROBLY                      DC     90009059976
2387499815B571   MARIO         FIERRO                      NM     35033099981
23874AA489155B   REBECA        FRANCO                      TX     90010810048
2387538879184B   MARRY         PERRY                       OK     90010293887
23876633672B21   INCY          SANCHEZ                     CO     33026046336
23876681A4B281   JACK          HUBBARD                     NE     27060396810
2387691462B931   NORBERTO      POZOS-SANTOS                CA     90014709146
2387779AA5B167   BRIGETTE      RHODES                      AR     23075007900
238777A724B588   TAMILLYA      JOHNSON                     OK     90011767072
23877A97372B42   RITA          DURAN                       CO     33071670973
23878535A91522   MARGARITA     RUVALCABA                   TX     90005505350
2387855989794B   LAURA         ESTILL                      TX     90013005598
23879353A91541   GABRIELA      CORONEL                     TX     90012763530
238799A4372447   HALLIE        GILLESPIE                   PA     90013289043
238799A522B931   JUSTIN        CONHISER                    CA     90014689052
2387B361655957   DOMINGO       PENA                        CA     90009553616
2387B385241245   ADEPITAN      ADEDAMOLA                   PA     90014163852
2388119879155B   NORA          MOTA                        TX     90009351987
2388148244B281   DALILA        CORDOBA                     NE     90015134824
2388172929136B   ERIN          MAHAN                       KS     90011077292
23881898772B32   SAWSEN        TAHA                        CO     90013018987
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2388272314B261   JUAN          URIBE-PENA                  NE     27004037231
23882895172B88   ARTURO        CHAVIRA                     CO     33031758951
2388291334B281   YANETH        OROZCO                      NE     90002519133
238833A825B271   MARY          TAYLOR                      KY     90010123082
23883812A5B271   MARY          TAYLOR                      KY     90012448120
2388387174B281   MNOA          DEUW                        NE     90013948717
2388441427B449   FRANCISCO     ZELEDON                     NC     11041374142
2388479699189B   SUSAN         THORNBURG                   OK     90015057969
2388558755B531   DANIEL        MARTINEZ                    NM     35090095875
23885AA9455957   SEBASTIAN     HUARACA                     CA     90008300094
2388627A155957   LUIS          NUNEZ                       CA     48015552701
238863A3691589   CLAUDIA       MORALES                     TX     90006373036
23887568A33126   NORMA         SILVA                       IL     90014175680
2388822A293724   DION          BARNETTE                    OH     90002502202
2388836469184B   ROBERT        JONES                       OK     21067623646
2388869A15B531   LEEANN        KIRBY                       NM     35013776901
2388869A35B271   YD            V                           KY     90005856903
2388897335B232   JENNIFER      WHEELER                     KY     68036199733
23889187487B87   LAWRENCE      ALFORD                      AR     23021241874
23889458572B88   ELISABETH     MONTOYA                     CO     90006014585
2388957684B281   TAYLER        LEHN                        NE     90008565768
2388983749794B   RENE          HERRERA                     TX     90012238374
2388B18695B531   WANDA         GREEN                       NM     90008481869
2388B58975B271   AMANDA        MORTON                      KY     90013205897
2388B5A384B281   CAROL         VASCO                       NE     90012805038
2389111265B232   ANTONIO       WEAVER                      KY     68066461126
23891285A41245   ARLENE        RICHARDSON                  PA     90000972850
238914A5231453   SARWAR        SAEED                       MO     90014924052
23891746A4B588   LUIS          OAXACA                      OK     90012727460
2389188774B281   SHELDON       MCCRAY                      NE     90013948877
2389248844B588   LASHAE        HASTINGS                    OK     90008884884
2389344A67B449   YOLANDA       ESPINAL                     NC     90013334406
2389349434B588   STEPHANIE     HORTON                      OK     90013814943
23893A31A9184B   KAREN         ANDERSON                    OK     90008550310
2389451A99794B   SHEA LYN      BLOCKER                     TX     74079765109
2389459449155B   ALEJANDRO     AGUIRRE                     TX     75043735944
23894813A91522   DAVID         MORALES                     TX     90013148130
23895252572B32   ROMAN         SANTISTEVAN                 CO     33001192525
2389533959794B   NORMA         PABLO                       TX     74090063395
2389534335B271   KORREE        BENNETT                     KY     90012473433
23895A95A91522   IRMA          MORALES                     TX     90015130950
2389685885B531   OSCAR         ALVARADO                    NM     90011698588
2389776894B281   CHRISTOPHER   FULTON                      NE     90011637689
2389888645B571   MARK          SODD                        NM     35061598864
23898A2419794B   ALEJANDRO     VASQUEZ                     TX     90013930241
2389968889184B   PATTY         WASHINGTON                  OK     90013916888
238998A8791522   RAFAELA       RAMIREZ                     TX     75023558087
23899A6937B449   THOMAS        CHERRY                      NC     11005930693
2389B62259136B   BEATRICE      PONCE                       KS     90009116225
2389B71179794B   ELOISE        KILPATRICK                  TX     90014517117
2389B7A415B232   MELISSA       WILSON                      KY     90011127041
2389B82A691522   YOLANDA       CHAVARRIA                   TX     90011858206
238B1A8718594B   JAMES         BART                        KY     67046360871
238B2131955957   DONAL         OWENS                       CA     48011091319
238B2533451369   DWAYNE        BASKEERVILLE                OH     90013515334
238B25A385136B   SABRINA       DEATON                      OH     90013775038
238B293317B449   KAMEKA        YOUNG                       NC     90009319331
238B345594B281   JUAN          JIMENEZ                     NE     90011644559
238B354494B588   RACHEL        JONES                       OK     21556225449
238B3627591541   ROSA          BUJANDA                     TX     90013276275
238B36A8A9136B   TASHINA       WRIGHT                      KS     90005366080
238B371714B59B   JACQUELINE    GORDON                      OK     90014417171
238B3767A41245   ROBERT        JONES III                   PA     51088507670
238B388637B471   AGUSTIN       CRUZ                        NC     90014998863
238B3892187B87   OMESKI        JONES                       AR     23068778921
238B389995715B   DONALD        MCCROSKEY                   VA     90001838999
238B479A45B271   EDWARD        ELAM                        KY     90014507904
238B5519A4B281   NATALIE       DEW                         NE     90014825190
238B588769189B   DELILAH       FOUNTAIN                    OK     21065438876
238B5929872B32   JO ANN        VARGAS ESPINOZA             CO     33060749298
238B613414B588   GLENETTA      RELERFORD                   OK     90013781341
238B623342B37B   RAUL          RAMIREZ                     CT     90014032334
238B6599831453   CHENISE       MOORE                       MO     90012945998
238B6666372B88   KERRI         DEHERRERA                   CO     90003696663
238B6865391541   PAULA         LOPEZ                       TX     90013048653
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238B714379794B   PATRICIA     AUSTIN                       TX     90005361437
238B75A2847952   JESSICA      SHIELDS                      OK     24029295028
238B761529189B   TIM          DOBBS                        OK     90014906152
238B7686791522   DORA         MORALES                      TX     75052476867
238B8641572447   RENEE L      BARNES                       PA     90012486415
238B88A879189B   RICHARD      KEYS                         OK     90013208087
238B8A4695B571   MONIGUL      WHITE                        NM     90011580469
238B9192885938   GREGORIO     HERNANDEZ                    KY     67050221928
238B9392791828   ARNULFO      ESPARZA                      OK     90012753927
238B994337B449   BRANDON      DYER                         NC     90013679433
238BB27875B232   BRITNEY      WILLIAMS                     KY     90014692787
238BB542691541   ARTURO       RAMOS                        TX     90013095426
239112A572B931   OMAR         MUNOZ                        CA     90014722057
23911796A85938   RICHELLE     CLAY                         KY     90003057960
23911822A72B73   REINA        HERNANDEZ                    CO     90007118220
2391223515B167   AMBER        GALLUPPO                     AR     90012642351
2391271958B17B   DAVID        COONS                        UT     31015627195
2391315715B571   LEON         MARTINEZ                     NM     90008631571
23913A2449136B   YENNY        SALAZAR                      KS     90014360244
2391448539189B   MARK         GALVEZ                       OK     90015084853
23914491172B42   ALISHA       SANCHEZ                      CO     33038834911
2391464299794B   LARRY        SOSNIK                       TX     90013306429
2391484949136B   NANCY        WILLS                        KS     90010588494
2391534434795B   JENNIFER     RAMIREZ                      AR     90013003443
2391536514B281   AMIE         FARRELL                      IA     90002623651
23916153A72B32   JASMIN       WHISENTON                    CO     90014881530
239165A3A91241   MICHEAL      CLARK                        GA     90013335030
23916A29972B42   MARIA        BEJARANO                     CO     33044500299
23916AA5491522   DAVID        GUTIERREZ                    TX     90015180054
2391711439184B   KAMERTRA     DANIELS                      OK     90012841143
23917817872B32   JUANITA      RODARTE                      CO     90014928178
23917989A9189B   ROBIN        FISHCER                      OK     90004819890
23918446672B88   DAVID        WASHBURN                     CO     33009384466
2391878619136B   SANDRA       KNIGHT                       KS     90012287861
2391918765B161   KIMBERLY     JONES                        AR     90009731876
239191A5772B88   QUNNELL      NAVE                         CO     33038001057
239195A7A9794B   CHRISTELLA   SAENZ                        TX     74009325070
2391973679794B   ROGELIO      GARCIA                       TX     90004147367
2391982372B27B   MICHELLE     CARTER                       DC     81052898237
2391996526B931   GREG         GIACINI                      NJ     90011829652
2391B15319794B   MICHAEL      RAMIREZ                      TX     90014831531
2391B815372B32   AJ           ARMSTRONG                    CO     90011958153
2391B841991528   ANGELINA     CHACON                       TX     90005978419
239212A164B261   LISA CAROL   WERNER                       IA     90014232016
23921685972B88   JORGE        FARIAS                       CO     90005426859
2392372844B281   SHAWNA       EGGERT                       NE     27091677284
23923787172B42   DEBORAH      HICKS-HANCHECK               CO     90012907871
239238AA89136B   TRACY        GOOD                         KS     29015958008
2392442A17B449   DIANA        KENNEDY                      NC     90007364201
2392562A64B588   KEVIN        LEE                          OK     90013996206
2392598112B235   ETHEL        ROBINSON                     DC     81009749811
2392624149184B   CLIFTON      BURRUS                       OK     90013902414
2392752815B232   LAVITA       MCCLAIN                      KY     68007475281
2392755994795B   SAN JUANNA   OSTIGUIN                     AR     90000125599
2392842589136B   NICOLE       MCINTOSH                     KS     29007194258
23928864272B88   TINA         JOHNSON                      CO     90012858642
2392889434B281   BRENDA       MARTINEZ FLORES              NE     90013948943
23928A13291828   MARLEN       GOMEZ MARES                  OK     90012770132
23928A9179155B   ARACELI      FLORES                       TX     90003310917
2392919787B449   ANDERSON     JORDAN                       NC     90009731978
2392999649136B   MARIA        FLORES                       KS     90012359964
2392B123391541   LETICIA      BATISTA                      TX     90010271233
2392B12369794B   ERIKA        VECERRA                      TX     90015511236
2392B279A91828   TERRY        FITZGERALD                   OK     90014772790
2392B72A74B281   THOMAS       VAUGHT                       NE     27089387207
2392B892691522   VERONICA     HATHEWAY                     TX     90013288926
2393179849136B   ANITA        COLE                         KS     29015667984
2393182345B271   THEODORE     WEAVER                       KY     90010118234
23931A57272447   KURT         HEPLER                       PA     90009250572
2393224454B281   TAMIKO       COLLIER                      NE     90013352445
2393224775B375   BENJAMIN     MADIGAN                      OR     90012572477
23933362572B27   LUIS         ORTEGA                       CO     33089423625
23933A2167B449   MICHAEL      GONZALES                     NC     11057850216
2393424229794B   AMPARITO     BOLES                        TX     90015072422
2393557725B571   JAIME        MOJARRO-SANCHEZ              NM     90000765772
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239357A8591522   AGUSTIN       AVILA                       TX     75088447085
2393685A472447   HAROLD        HASLETT                     PA     90012708504
23937426497B4B   JEFFREY       DAVIS                       CO     39055674264
2393746259189B   LASASHA       CASTLEBERRY                 OK     90009834625
2393774884B588   FORREST       FREEMAN 111                 OK     21559727488
23937758772B32   ROBERTO       ESPARZA                     CO     90013967587
2393796A49136B   WILLAIM       RIVERA                      KS     90001119604
23937A75A5B571   ALEJANDRINA   MOTA                        NM     90009070750
23937A93255957   MARIA         STANLEY                     CA     48013480932
239381A8697121   SYPHANTA      VONGSOURY                   OR     44500041086
2393864567B449   TUNISHIA      SHAW                        NC     90000876456
2393892689794B   JUAN          MARTINEZ                    TX     74021659268
23938A8615B271   ENRIQUE       REMGIO                      KY     90009950861
23939A22291541   JESSICA       DELPALACIO                  TX     90010480222
23939AA197B422   HARI PRASAD   CHAMLAGAI                   NC     90011680019
2393B119A9184B   RANDALL       MILLS                       OK     21055441190
2393B212181661   KIMBERLY      BLACO                       MO     90004652121
2393B25215B161   SAMANTHA      ALLEN                       AR     90006532521
2393B29275B232   TIMOTHY       WILLIAMSON                  KY     90012782927
2393B4A1391522   ZARI KARLA    SOLIS                       TX     90014584013
2393B645A72B42   CHRISTOPHER   DAY                         CO     90007466450
2394126794B261   BECKY         COLEMAN                     IA     90014292679
23941A9885B232   MELISSA       NEWTON                      KY     90000460988
2394222747B471   ROLAND        GEAR                        NC     90011902274
239423A3972B42   TIMOTHY       MILLER                      CO     90014843039
2394258A441245   AMBREIA       DOZIER                      PA     90014165804
2394261588B17B   JULIO         OCANO                       UT     90013866158
2394262245B571   LYDELL        BENALLY                     NM     35094926224
239427A1787B87   TOMEKA        FREEMAN                     AR     23034537017
239429A8A91542   NANCY         LOPEZ                       TX     90008009080
23942A7275B271   AARON         ELEY                        KY     90011050727
2394313312B27B   ZABRIA        PROCTOR                     DC     90008991331
23944344572B32   GREGORIO      CAMACHO                     CO     90011133445
23944A6A633677   SHAMEEKA      DANIELS                     NC     90006040606
2394519795B571   ASTRID        CAHUEX                      NM     90008631979
2394521662B931   NOE           MIRAMONTES-ESCOBEDO         CA     90014792166
23945331572B53   JACKLYN       DUVALL                      CO     90005563315
239453A118594B   ALONZO        BURNS                       KY     67046123011
2394547A98B15B   THEARSEA      DUKE                        UT     90002964709
23945581672B32   JOSEPH        LIBERATORE                  CO     90014895816
2394561215B531   PAUL          BLEA                        NM     35090116121
23945694372B88   MARGARITA     FLORES                      CO     90006236943
2394579897B449   ANTHONY       LOVE                        NC     90008747989
2394588116196B   JAIME         GARCIA                      CA     90003208811
2394632217B449   MIGUEL        MALDONADO                   NC     90011593221
2394721662B931   NOE           MIRAMONTES-ESCOBEDO         CA     90014792166
2394722464B281   DANIEL        METHER                      IA     90013962246
2394785A472447   HAROLD        HASLETT                     PA     90012708504
23947A6A891241   ANRDEA        CAMPBELL                    GA     14505190608
23947A99331453   NGUYEN        THUY                        MO     90013270993
2394814927B449   THOMAS        FUNDERBURKE                 NC     90009241492
239483A919136B   LIZ           DICKINSON                   KS     90014443091
23948828672B88   ROSA          CANO                        CO     90009148286
23948A4334B281   MARIS         PACHECO                     NE     27034900433
23948A55147952   ROBERT        ROBBINS                     AR     24072430551
2394921662B931   NOE           MIRAMONTES-ESCOBEDO         CA     90014792166
2394937755B161   KUERTON       HARRIS                      AR     90014293775
2394955494B261   THOMAS        PALACIO                     NE     90013965549
2394985459794B   OSCAR         HERNANDEZ                   TX     90004838545
2394B34959152B   ALMA          SOLIS                       TX     90001403495
2394B35A59189B   YHACOODAIL    REZZAQ                      OK     90014403505
2394B81A35B535   MARTIN        NEVAREZ                     NM     90014838103
2395182269189B   SAMANTHA      SMITH                       OK     90012918226
23952138972B32   TREVOR        SELKIRK                     CO     33020161389
23952233A72B42   NICOLE        PICASO                      CO     33059482330
2395335842B931   OLIVIA        LIME                        CA     90014793584
2395436259794B   JENNIFER      STOVER                      TX     90012093625
2395437892B931   CONNIE        CASA                        CA     90014793789
239544A9681661   LINDA         STRAMEL                     MO     29040074096
23954518376B21   ISABEL        GARCIA                      CA     90010845183
2395476847B449   LAKEISHA      HILL                        NC     90005297684
239557A9285892   ERIKA         CRUZ                        CA     46062017092
23955A4232242B   EREIDA        ANTONIO                     IL     90008790423
23955A7735715B   ARNULFO       RIVERA                      VA     90005900773
23955AA849136B   DAVIAN        MORRIS                      KS     90011890084
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23956968A2B931   JAMES        REYES                        CA     90006469680
2395699445B271   BRITTANI     HART                         KY     68091859944
2395716615B232   DONALD       THRONE                       KY     68040101661
239571A199184B   MATTHEW      WORSLEY                      OK     90012321019
2395738A457588   RAMON        FLORE                        NM     35504203804
2395743532B27B   SIRETA       MAXEY                        DC     90008804353
23957748672B88   LEWIS        JOANNE                       CO     90009707486
23958547A72B42   JESSICA      ALLEN                        CO     90008645470
23958815572B32   DAVID        KING                         CO     90009228155
23959548772B32   BRAD         BEARDSLEY                    CO     90002015487
2395987123364B   TIFFNEY      WILLIAMS                     NC     12009628712
2395B186372B32   JACQUELINE   ROMERO                       CO     33074521863
2395B2A2A55957   KATHERINE    MIZE                         CA     90002892020
2395B55A35B161   FREDY        MANDOZA                      AR     90008745503
2396152592B931   MICHELLE     SIZELOVE                     CA     90005305259
2396192354B261   HECTOR       HUGO                         NE     90014739235
239621A5155957   MAURICIO     SALDANA                      CA     48088361051
23962627272B88   GARCIA       FAITH                        CO     90008206272
23962A95691522   LETICIA      SALGADO                      NM     75004460956
2396359492B27B   LAURA        BARRIENTOS                   MD     90009835949
239638A4391522   DAISY        VASQUEZ                      TX     90014488043
2396398A572447   AMY          AUSTIN                       PA     51003409805
2396495324B281   TEREFU       AREGAWE                      NE     90013949532
239649A344B588   JESSICA      LEE                          OK     90011899034
2396555567B471   LATASHA      ANDERSON                     NC     90011925556
23965565A9189B   VALERIE      LEIGH                        OK     90006915650
239659A758B171   REBECCA      MESSINA                      UT     90013009075
23966A13A2B931   LAURENTINO   PEREZ                        CA     90014760130
2396738199184B   MELANIE      MOROSE                       OK     90001053819
2396752695B232   LACEY        BARNES                       KY     90009315269
2396789145B531   MICHAEL      REICH                        NM     90008928914
23967A12291828   KELLY        DAWSON                       OK     21014240122
23967A37551369   WORSHAM      JERRNISCE                    OH     90013290375
2396831AA91541   ROSARIO      AGUIRRE                      TX     75059393100
2396859A57B471   ESTET        ROJAS                        NC     11007595905
2396859AA4B551   ANDREW       MUCHERU                      OK     90007805900
2396861825715B   JOSE         SANTOS                       VA     90000466182
2396869467B42B   SERGIO       LEIVA                        NC     90000276946
23969135A72B32   ALMA         CORTEZ                       CO     33013431350
2396919614B281   MARY         BROWN                        NE     90014881961
23969224972B88   NATASHA      KOCH                         CO     90003722249
2396B258984344   EDVINA       FELDER                       SC     90014202589
2396B29139155B   KEVIN        CAMARENA                     TX     75030432913
2396B65755B271   MARTINA      SILVESTRI                    KY     68098286575
2397123864B588   KANDICE      DURAN                        OK     90013232386
239712A434B588   KANDICE      DURAN                        OK     90011772043
2397136865B161   CHRISTIAN    MCFADDEN                     AR     90012983686
2397185385B161   DANYELLA     WHITE                        AR     90014738538
23971A2919155B   TOMAS        MACHADO                      TX     75097750291
2397238134B261   CONSTANCE    WOLFE                        IA     90013933813
2397249822B931   JOHN         CASTILLO                     CA     90010674982
23973348A55957   JOSE         GONZALEZ                     CA     48086013480
2397357924B261   MARCUS       CORK                         NE     90014505792
2397361577B449   JILL         LESTER                       NC     90008846157
2397364284B281   LYNDA        WRIGHT                       NE     90012076428
23973A2919155B   TOMAS        MACHADO                      TX     75097750291
2397414145B571   JOE          CHAVEZ                       NM     90010841414
2397524685B571   MICHAEL      BROWN                        NM     90008632468
23975A2A191881   SHAKAYE      RELEFORD                     OK     90001210201
23975A68A4B261   RAQUEL       SERRANO                      NE     27043170680
23976367A41245   ANDY         TARAUELLA                    PA     51088403670
2397664542B931   ASHLEY       PALACIO                      CA     90014796454
23976863787B59   LATRICE      LOWE                         AR     23032338637
2397686487B449   EVERLEAN     EVERETT                      NC     90012958648
2397743A141251   JOSEPH       ARTHUR                       PA     90010274301
23978113A85938   MARY         PRATT                        KY     67007771130
23979415987B87   PRISCILLIA   LANCASTER                    AR     23096804159
239795A4A9794B   ELDER        MACARIO                      TX     90012205040
2397B489791541   BRENDA       CARDENAS                     TX     90002714897
2397B62174B588   AMANDA       SOLORIO                      OK     90014936217
2397B82337B471   COREY        BUTLER                       NC     90001088233
2397B8A6A61985   CAMARADA     CHITO                        CA     90012918060
2398118784B588   RICKEY       WHEELER                      OK     90014971878
2398143225B271   ELIZABETH    FINLEY                       KY     68095754322
2398155989794B   LAURA        ESTILL                       TX     90013005598
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2398165792B931   ANTHONY      GONZALES                     CA     90014796579
23981947472B42   RACHEL       GALLEGOS                     CO     33081949474
23981978172B88   ANTHONY      DURAN                        CO     90009519781
23981A24841245   JASON        COOKSEY                      PA     90014730248
2398314319794B   CHRISTOPHE   SHIELDS                      TX     90003951431
2398397214B588   UVADA        HEATH                        OK     90012919721
23983A87141245   CURT         MIHALOV                      PA     51030710871
2398471482B931   FRANCISCO    DELOS SANTOS                 CA     90014797148
239847A6372B88   CHARMAINE    RUBY                         CO     90002057063
2398569957B449   PEGGY        FOSTER                       NC     11062526995
2398573672B931   FRED         SCHMITZ                      CA     90014797367
2398642364B543   GEORGE       HEICHELHEIM                  OK     90004354236
23986444A47952   DELILAH      ESCOBAR                      AR     24052074440
23986482A9155B   DIANA        MORALES                      TX     75052104820
2398652414B261   SUPER        RUFEROS                      NE     90012495241
2398657135B531   YAMILIA      RODRIGUEZ-SEGURA             NM     90006945713
239865A7672B32   LIDIA        CHAIREZ                      CO     33042145076
2398673672B931   FRED         SCHMITZ                      CA     90014797367
23986942572B88   LATRECE      BROOKS                       CO     90013159425
23986A91285938   CHRIS        VASQUEZ                      KY     67009990912
2398725484B588   TIFFANY      FRANKLIN                     OK     90011772548
239872A5455957   CARLOS       GONZALEZ                     CA     90000192054
23987844972B32   RENE         GARCIA                       CO     33067158449
2398886814B261   ELIZABETH    LOPEZ                        NE     90001308681
2398889A25B271   NAEIM        TORKIAN                      KY     90002028902
23988A9549136B   ISAIAS       HERNANDEZ                    KS     90011900954
2398923445B195   ROCHELLE     CLASS                        AR     23010922344
2398941672B27B   MARTIR       VELASQUEZ                    VA     90011194167
23989455787B87   TYWANNA      MACKEY                       AR     90005534557
23989896A72B88   LETICIA      DOMINGUEZ                    CO     33064358960
23989AA6272447   JOE          EMAHIZER                     PA     90015010062
2398B156772B32   AUSTIN       MONTOYA                      CO     90005001567
2398B237647952   BOBBI        KELLY                        AR     90006602376
2398B23A19189B   CHARLENE     OCONNOR                      OK     90011412301
2398B987291828   ROSAIRO      LOPEZ                        OK     90010319872
23991172287B87   NECOLE       TAYLOR                       AR     90003531722
239911A3A9155B   GEORGE       MERAZ                        TX     75017361030
2399121A44B261   LEKISHA      BEST                         NE     90015132104
2399173624B281   PATRICK      MCDERMOTT                    NE     90000577362
2399216419184B   KATHRYN      KIRKSEY                      OK     90015001641
2399236229184B   ANTHONY      MIMS                         OK     90004453622
239923AA572B42   JUANITA      SIERRA                       CO     90006823005
239924A579155B   JOANNA       LOPEZ                        TX     90010284057
2399263432B931   AMBER        LARA                         CA     90014806343
23992758A72B32   CLAUDIA      ROMERO                       CO     90008187580
239932A849379B   ALL-PRO      TOWING INC                   OH     90004112084
2399333799155B   FELICIA      MARQUEZ                      TX     75020903379
2399424689136B   LEALA        TAYLOR                       KS     90015172468
23994794197B35   EDUVEJAN     VIALPANDO                    CO     90007737941
239953A915B232   JANSON       HONSHELL                     KY     68076463091
2399544555B271   DANIEL       MADDEN                       KY     90013384455
23995A6265B531   WILLIAM      DAVIS                        NM     90012600626
239961A499155B   RICARDO      JAQUEZ                       TX     75040211049
23996233A72B32   NICOLE       JOHNSON                      CO     33010122330
2399689177B449   SCHRELL      MINCEY                       NC     90005838917
23996945A51369   ALICIA       HALL                         OH     90005779450
2399813374B261   GUALIP       OSMAN                        NE     90014711337
2399819359136B   RAUL         DE LA FUENTE                 KS     29089361935
23998345A91541   JOHNNY       BALCAZAR                     TX     75091293450
23998723A2B27B   VANESSA      MIMS                         DC     81073897230
2399876799189B   BRIAN        GIBBS                        OK     90013157679
2399B328A5B571   HELENA       CASTILLO                     NM     90011093280
2399B626441245   REBECCA      CANSLER                      PA     90014166264
2399B661857564   MARIA C      AGUILERA                     NM     90005656618
2399B894972447   JAMES        LANG                         PA     51016108949
239B1874A31453   ADAM CAREY   JESSICA REESE                MO     90012148740
239B1998A5B271   CRUZ         ZACARIAS                     KY     90013619980
239B2475891828   KEQUANA      ELMORE                       OK     21028674758
239B2851733677   REGINOLD     NOLEN                        NC     90007978517
239B296774B281   PATRICIA     MOSS                         NE     90008289677
239B297A89184B   TAWNIE       TUCKER                       OK     21087489708
239B2997972B42   MAHPIYA      WHITECAOS                    CO     90013879979
239B34A6441245   TAMERON      JONES                        PA     90014164064
239B3A46A5B271   ERIC         HALL                         KY     90012600460
239B4447A5715B   IVAN         MELGAR                       VA     90003184470
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239B4596491541   JUAN             TAPIA                    TX     90013645964
239B4641A41245   TANYA            REDDIX                   PA     51090426410
239B47A1191522   TOMAS            MORALES                  TX     75016097011
239B5A81772B88   TONY             GALLEGOS                 CO     90014660817
239B6731891541   SANDRA           GUARDADO                 TX     75025457318
239B6967A5B172   HEATHER          WITHAM                   AR     90010469670
239B6A81772B88   TONY             GALLEGOS                 CO     90014660817
239B711327B471   BENITO           SOTO                     NC     11056841132
239B71A849184B   LAMAR            ISHIMAN                  OK     90014331084
239B7768491541   PATRICIA         CHAVEZ                   TX     75007357684
239B789434B281   BRENDA           MARTINEZ FLORES          NE     90013948943
239B796129189B   TIFFANY          CONTRERAS                OK     90001689612
239B7A3572B931   VANESSA          VADERPOL                 CA     90014790357
239B82A715B271   DONNA            MARTIN                   KY     90011082071
239B842864B261   LAURIE           SNYDER                   NE     90012494286
239B8429A5B161   KATRINA          ALLISON                  AR     90014344290
239B8746672B42   JIM              ROMERO                   CO     90015367466
239B876544B22B   CAROL            MCDOWELL                 NE     90009637654
239B941428594B   PRISCILLA        LOVIN                    KY     67046184142
239B9488672B32   NORMA            LOPEZ                    CO     90011514886
239B95AA89184B   JOHN             YOUNG                    OK     90014365008
239B982414B588   BARBARA          GENTRY                   OK     21515708241
239B988362B23B   LAKESHA          JARMON                   DC     90004598836
239B998164795B   DON              DUBERT                   AR     90004839816
239BB193A9155B   ADRIANA          DE LOS SANTOS            TX     90009551930
239BB35329794B   JIME             MANZANO                  TX     90014363532
239BB531941245   RONALD           COLEMAN                  PA     51076785319
239BB84A272447   EUGENE           BAILEY                   PA     90011938402
23B11A2395B271   RONALD           JORDON                   KY     90012550239
23B1219174B281   STEVEN           ROSENTHAL                IA     27096321917
23B1388A472447   SETH             YURKOVICH                PA     90003708804
23B149A6741245   APRIL            CASERES                  PA     90008449067
23B1519A95B243   GARY             BURNETT                  KY     90011281909
23B15389487B59   ELEAPTHER        CHARLES                  AR     23072103894
23B15A12A5B271   ANDREA           BLEVINS                  KY     90013510120
23B15A33341245   TANESHA          BONE                     PA     90005010333
23B16127191522   EFRAIM           GAYTON                   TX     75012971271
23B16144672B38   PAIGE            BARLASS                  CO     33088431446
23B1666914B281   JARED            ANDERSON                 NE     27098916691
23B1821214B588   STEVIE           LAIR                     OK     90011862121
23B1856634B281   TRACEY           SHIFLETT                 NE     27000835663
23B18842577577   DAVID            LISTER                   NV     90012478425
23B18936691541   PAREDES          JUAN                     TX     75066789366
23B18A75155957   FREDDA           SORIA                    CA     48036370751
23B18AA6891522   MARIA            RAMIREZ                  TX     90013580068
23B19363572B42   WOODIE           BONNER                   CO     33044773635
23B19378572B32   PAUL             MARTINEZ                 CO     90007383785
23B1945617B449   KRISTEN          ALEXANDER                NC     90014754561
23B1958295B232   GRACIELA         GUTIERREZ                KY     90014165829
23B1B38845B161   TONYA            CHESTNUT                 AR     23025783884
23B1B4A1491522   KARLA            HERNANDEZ                TX     90014414014
23B1B54662B931   LOIS             RODRIGUEZ                CA     90014505466
23B1B845A7B449   BASMAL           YALDO                    NC     90014858450
23B1BA45981635   AMIE             COONCE                   MO     90001290459
23B1BA5534B281   NOREEN           HEBDA                    NE     90011620553
23B21316391541   BRYAN            WHITLEY                  TX     75048193163
23B2159A431453   SAMATHA          BATTLE                   MO     90013215904
23B2162AA9136B   KEYVEON          HARRIS                   KS     90011426200
23B21828847952   DAVID            REED                     AR     90007238288
23B21875A41245   JESSICA          LOTIS                    PA     90014858750
23B22242A72447   CHERYL           KING                     PA     90014782420
23B22318472B42   BERNARDINO       LOZANO                   CO     33084633184
23B2263635B571   CLARK            BLAINE                   NM     90011076363
23B22822472B32   VERA             VENEGAS                  CO     90011118224
23B2296AA2B931   RAMON            VILLALOBOS               CA     45018179600
23B22A66291541   LAURA ANGELICA   MARTINEZ                 TX     90012040662
23B23588A5B232   PAYGO            IVR ACTIVATION           KY     90014165880
23B24192491522   RAMON            DOMINGUEZ                TX     90013431924
23B2443A391541   BERTA            MORENO                   TX     90014664303
23B2456655B271   LENIN            CACERS TREJO             KY     90012045665
23B24A8765B36B   MARCELA          GARCIA                   OR     90008730876
23B2529142B931   RICARDO          ARGONA                   CA     90013952914
23B2533125B271   KIARA            ROBINSON                 KY     90014483312
23B25A21972B32   LORRAINE         ALVA                     CO     90013140219
23B26445255957   MEGAN            BRAZ                     CA     48054154452
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23B2645679184B   ERENDIRA                   OSORIO         OK     90011904567
23B26585772447   JENNICA                    SUKUSTIS       PA     90013525857
23B27993291522   ISAAC                      HERRERA        TX     90011449932
23B27A5A19136B   KAREN                      NAVAS          KS     90005160501
23B28134A91241   DANIEL                     ALEXANDER      GA     14597801340
23B2861A99794B   AHEDILSON                  BARRIOS        TX     90014456109
23B28751991541   ANABEY                     RODRIGUEZ      TX     90002357519
23B2932265B271   CATHY                      MC MASTERS     KY     68072173226
23B2962925B232   SCOTT                      BURTON         KY     90014166292
23B2B648872447   EMMA                       PARKER         PA     51094456488
23B2B912631453   TRAVIS                     WADE           MO     90013779126
23B2BA6A984364   GRALIN                     DUNN           SC     90010090609
23B3124859189B   THOMAS                     STEWART        OK     90002442485
23B31351472B42   JAMES                      SMITH          CO     90012153514
23B3143799794B   JOSE                       GOMEZ          TX     90012484379
23B31455455957   HELEN                      VASQUEZ        CA     48046374554
23B3154462B931   BEATRIZ                    RUIZ           CA     45073845446
23B3163125B232   KEVIN                      SHANNON        KY     90014166312
23B3183AA5B571   DCHON                      POWDELL        NM     90011578300
23B32538493724   BRENDA                     HOWARD         OH     64504075384
23B33A21441245   WILBERT                    BROWN          PA     90012890214
23B34126991528   LAURA                      GARCIA         TX     90005921269
23B3414A191522   JESSICA                    AVILA          TX     75027681401
23B34326391828   BRYANT                     WHITTAKER      OK     90014233263
23B34569147945   CALVIN                     LEONARD        AR     24007635691
23B34638177534   DAVID                      BRANSON JR     NV     43095556381
23B34714872B42   JUAN                       PALACIOS       CO     90011847148
23B35211985938   JOSH                       MURRAY         KY     90013652119
23B3525929189B   RICHARD                    CREWS          OK     90014152592
23B352A7285834   MANNY                      AGUILAR        CA     90000872072
23B35395957B85   MICHAEL                    PURDY          PA     90014973959
23B3545164B261   RACHELL                    OWNES          NE     90014914516
23B35553991522   SERGIO                     TOBIAS         TX     75073705539
23B35745A9794B   JOSE                       MARTINEZ       TX     90013787450
23B3593829189B   ALONDRA                    PORTILLO       OK     90009969382
23B35965A7B471   CASSANDRA                  BROWN          NC     90010689650
23B362A825B271   ERIK                       BLEDSOE        KY     90010222082
23B36428A7B449   JASON                      RIDENHOUR      NC     90002254280
23B3666639794B   PHILIPP                    TESCH          TX     90010806663
23B36A8284B281   QUAVONDACE                 PETTIFORD      NE     90014880828
23B37696881661   IRENE                      GONZALEZ       MO     90000966968
23B379A4255957   MIGUEL                     FLORES         CA     48075079042
23B38149391522   FREEMAN                    WHITE          TX     90000541493
23B3815A45B571   JULIO                      ELIAZ          NM     35095651504
23B3823797B471   JASMINE                    GRANT          NC     90014682379
23B38269751333   LAWRENCE CHRISTINN SHARP   BRIGHTMAN      OH     90008302697
23B3832539136B   LIZETH                     SINKLER        KS     29057153253
23B38675247952   PATRICIA                   BARDALES       AR     24033006752
23B38894691541   MONICA                     HURRUTIA       TX     90012198946
23B38972A4B588   NEALON                     ADAMS          OK     21557149720
23B3932639189B   GARY                       WALLER         OK     21069793263
23B3965955B232   MATTHEW                    KNUCKLES       KY     90014166595
23B3B237885938   JOYCE                      OVERSTREET     KY     67060412378
23B3B26839189B   KELLY                      LAWRENCE       OK     90011042683
23B3B49829794B   ARCHIE                     KING           TX     90013994982
23B3B624491534   LORENZA                    ROQUE          TX     75051166244
23B4152214B543   SHARMEAL                   WOODS          OK     90010985221
23B419A1255957   CARLA                      DEL REAL       CA     90012949012
23B41A22347952   MIGUEL                     VELAZQUEZ      AR     24052180223
23B42226441245   KAREN                      MANKEY         PA     51079232264
23B4227A772B32   GLADYS                     CORPUS         CO     33075302707
23B42296872B88   FRANCES                    TAFOYA         CO     90006762968
23B42365631453   GLENN                      MCKINNEY       MO     27559793656
23B42399A33639   STEPHANIE                  GILES          NC     90011293990
23B4285865B232   JERRY                      NALLEY         KY     90015048586
23B43599A5B531   CATHERINE                  NEYMAN         NM     35064415990
23B4379289794B   LETICIA P                  CERVANTEZ      TX     90004407928
23B43888472447   MIA                        TROFIMUK       PA     90010858884
23B439A947B425   FRANCINE                   MOTT           NC     11016849094
23B44318972B42   DARIAN                     MOORE          CO     90012613189
23B449A9881661   ESSENSE                    LONG           MO     29010039098
23B45535391828   ARSENIO                    ROMERO         OK     21092475353
23B455A152B931   SONG                       YANG           CA     90013365015
23B4617245B232   BATISTA                    RAFAEL         KY     90010091724
23B4627A772B32   GLADYS                     CORPUS         CO     33075302707
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23B4664168594B   JESSICA      JONES-FULLER                 KY     67056316416
23B4668544B588   RICHARD      ORTIZ                        OK     90003156854
23B46936581661   OSCAR        COOPER                       MO     29010039365
23B47385255957   DANIEL       DIAZ                         CA     48006893852
23B4778565B232   SHELIA       TETRICK                      KY     68038957856
23B48143A72B32   ELSIA        RUIZ                         CO     90007931430
23B48239872B32   ELSIA        RUIZ                         CO     90013062398
23B4826384B261   CHACOIYA     WILLIAMS                     NE     90010312638
23B4831728594B   VANESSA      CAMACHO                      KY     67079463172
23B48519331453   MARKIA       ALL                          MO     90014615193
23B48828281661   MEGAN        MCCLEARY                     MO     90009168282
23B4883A991541   ANTONIO      GOMEZ                        TX     90011058309
23B49325772B42   AMBER        STARNES                      CO     90008923257
23B4941699184B   GENEE        SNIDER                       OK     90001904169
23B49533191541   SAMANTHA     GARCIA                       TX     75036295331
23B49967341245   MEISBERGER   T RYAN                       PA     90008399673
23B4997467B471   QUASHANDA    PATTERSON                    NC     90015159746
23B4B29865B232   JONATHAN     FORMICA                      KY     90010882986
23B4B425972B88   LINDA        GARCIA                       CO     33092744259
23B4B829991541   JOSE         ALVARADO                     TX     90014558299
23B51255A9136B   RICARDO      JACOBO                       KS     90006982550
23B5141465715B   UNISA        KANU                         VA     81069904146
23B5161A78594B   GEFFREY      HIRST                        KY     90004906107
23B51641755957   LINDA        LOPEZ                        CA     48097876417
23B51714191828   CARLOS       LOPEZ                        OK     90012287141
23B51853291522   MARTHA       DOMINGUEZ                    TX     75009858532
23B52458591522   JESSICA      PROVENCIO                    TX     90010034585
23B5319899155B   MAYRA        RAMIREZ                      TX     90014881989
23B53215955957   CARINA       FERNANDEZ                    CA     90014902159
23B5332265B271   CATHY        MC MASTERS                   KY     68072173226
23B5366915B161   PRISCILLA    DAVIS                        AR     23074446691
23B53729991522   YAMIL        REYES                        TX     90009687299
23B5395879136B   JOYCE        WILSON                       KS     90012749587
23B53A6922B931   JUAN         GONZALEZ                     CA     90012910692
23B5419A291541   MARIA        DIAZ                         TX     75036911902
23B5438A472B88   TANIA        TAYLOR                       CO     90007793804
23B54427184353   ROSA         ROBINSON                     SC     90013764271
23B5443A391541   BERTA        MORENO                       TX     90014664303
23B54833247952   TORRANCE     CUMMINGS                     AR     24071978332
23B54835772B42   RICARDO      VALENCIA                     CO     33067758357
23B5542232B281   DAMOND       LITTLE                       DC     90004424223
23B5568315B271   MICHAEL      SCHWITZ                      KY     68021636831
23B55749A51325   JOSHUA       CLIFFORD                     OH     90009987490
23B5582779136B   FRANCISCO    HERNANDEZ                    KS     90011008277
23B56214291522   VANESSA      MUNOZ                        TX     90013262142
23B5634555B571   ANTHONY      LOVATO                       NM     90012143455
23B5677294795B   NATASHA      TERRY                        AR     90008287729
23B56A29647952   CONSUELO     CRUZ                         AR     24078470296
23B5718547B471   LESLIE       TORRENCE                     NC     90004291854
23B5733415B271   DENISE       EDDINGTON                    KY     90005393341
23B57441347922   ANGELA       GROSS                        AR     90011714413
23B5826885B232   MARY         MCFALL                       KY     90006142688
23B58785984364   ERIKA        GARCIA                       SC     19089507859
23B588A785B531   MARTHA       GUTIERREZ                    NM     90006988078
23B58AA4141245   CRYSTAL      ROBERTS                      PA     51034320041
23B59113A9794B   MICHAEL      PRITULSKY                    TX     90012191130
23B594A4972B88   ESTELA       HERNANDEZ                    CO     33028414049
23B59539272B38   EDUARDO      CAMACHO                      CO     90010735392
23B597A1191522   TOMAS        MORALES                      TX     75016097011
23B59AA799794B   PAYGO        IVR ACTIVATION               TX     90015000079
23B5B4AA791241   TY           LUSK                         GA     90010474007
23B5B513547826   SHANNON      CLEVELAND                    GA     90015205135
23B5B745191828   JUAN LUIS    NOGUERA                      OK     90010287451
23B5B89125B232   JAMESON      WILLIAM                      KY     90011588912
23B5BA8412B931   MARIA        GONZALEZ                     CA     90014920841
23B61132641245   JESSICA      NOLDER                       PA     90009221326
23B61241572B88   PAYGO        IVR ACTIVATION               CO     90011662415
23B6143424B281   DAL          KAMI                         NE     90014994342
23B615A4591522   BERTHA       PEREZ                        TX     90013165045
23B6168365B271   MARCOS       GUZMAN                       KY     68055916836
23B62477231631   JAMES        MERCADO                      KS     90014224772
23B625A1A72B88   RIGOBERTO    ZAPATA                       CO     90013425010
23B6288377B471   EVELYN       HERNANDEZ                    NC     90014948837
23B63349172B88   RAYMOND      BARGAS                       CO     33047663491
23B63499A9184B   ELISHA       MORALES                      OK     90000974990
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23B63561155957   ALEX         FLORES                       CA     48053235611
23B6368A191522   SILLER       GLORIA                       TX     90008846801
23B64186691828   JEREMY       LODGE                        OK     90014811866
23B64617255957   ELI          FELIPE                       CA     90012776172
23B649A879794B   VERONICA     OBIEDO                       TX     90009669087
23B65A58472447   DEBRA        DEABENDERFER                 PA     90010640584
23B6636A87B449   PORTIA       FULWILEY                     NC     90014583608
23B6651185B538   ERICA        RUIZ                         NM     90001295118
23B6692A37B471   DARELL       MYERS                        NC     90012719203
23B67252331453   MATHEW       MAYFIELD                     MO     27597282523
23B67358991828   DE           RODRIGUEZ                    OK     90008073589
23B675A1791522   JESICA       BUENROSTRO                   TX     90014435017
23B678A9655957   JENNIFER     RUNNION                      CA     90002988096
23B67A4525B161   ROBIN        HOWARD                       AR     23084960452
23B67AA724B261   LETICIA      BARAJAS                      NE     90012430072
23B6826897B423   REGINA       HUNTER                       NC     90004642689
23B6872147246B   DOUG         MCKAIN                       PA     90005277214
23B6873A15B271   SHERRYL      VIALDORES                    KY     68027387301
23B6879339794B   LYDIO        RUBIO                        TX     74093777933
23B6933614B28B   ASHLEY       CRONK                        NE     90011193361
23B6934A24B543   LORI         HAMILTON                     OK     90010093402
23B6949464B261   BENJAMIN     OLIVA                        NE     27036034946
23B69536955957   JULIO        CESAR                        CA     90004195369
23B69646A2B931   JESSICA      MORALES                      CA     90013306460
23B69889891828   GAIL         SCYFFORE                     OK     90000488898
23B6B17672B86B   FRANCISCO    RODRIGUEZ                    ID     90000991767
23B6B339872B32   ANGELICA     ALANIS                       CO     90009453398
23B6B617543593   CORY         HEBERT                       UT     90011856175
23B6BA1119136B   SHANEE       HOWARD                       KS     29085730111
23B6BA38484364   PEGGY        PALMER                       SC     90011130384
23B71479151369   TARA         RANDALL                      OH     66028464791
23B717A945B247   MELINDA      HARKLESS                     KY     90003137094
23B71A73A72447   VIOLET       TEMPLER                      PA     51083900730
23B71A7AA72B32   ROSA         VALDERAS                     CO     90006590700
23B72332191528   MARIA        CANALES                      TX     90005923321
23B7236345B571   ANTHONY      CLARK                        NM     90013343634
23B72A1689136B   LUZ          LOZANO                       KS     90015210168
23B73734631433   REGINA       WATSON                       MO     90004237346
23B7391328B17B   HERMILIO     JEREZANO                     UT     31064159132
23B74168281661   JAMES        OWENS                        KS     29046141682
23B74591287B87   ANGELINA     ROBINSON                     AR     23095815912
23B74645931433   NICKI        ARMAN                        MO     27581776459
23B7478544B261   ANGEL        JOHNSON                      IA     90010107854
23B75487381661   VICTORIA     HEAGY                        MO     29045234873
23B7567245B167   NEDRA        RIVERS                       AR     23088346724
23B7591949189B   NOEMI        RAMIREZ                      OK     90014649194
23B76338391241   JANETT       JOHNSON                      GA     90011143383
23B7659375B167   BRANDON      SHAW                         AR     23038235937
23B76727672B23   KRISTINA     CARROLL                      CO     90014247276
23B76782372447   JESSE B      BEATTIE                      PA     90014507823
23B772A975B232   SHAWN        EARSERY                      KY     90007172097
23B7797224B261   TIMOTHY      MARSH                        NE     27094729722
23B78258972B32   BEVERLY      RISLEY                       CO     90010642589
23B782A9887B87   KAREN        PRATT                        AR     23019852098
23B78652381661   WILSON       BROWN                        MO     29010046523
23B78752A7B449   HELEN        CONNOR                       NC     90011077520
23B79524972B32   ERICA        CRUZ                         CO     90006845249
23B79526872447   RICHARD      LANGIN JR                    PA     90014635268
23B7956215B271   JOSE         MORALES                      KY     90015155621
23B797A7A4B588   JOSE         PADILLA                      OK     90014057070
23B79983291541   LUPE         GARCIA                       NM     75074879832
23B7B1A944B281   VICKY        SHOWMAN                      NE     90013131094
23B8122614B543   DANIEL       CASTELLUZZO                  OK     90010262261
23B8149739136B   LINDY LOU    VAUGHAN                      KS     90013274973
23B8189894B588   CEFERINO     MALDONADO                    OK     90000288989
23B8221899184B   ALEXANDRA    FOREMAN                      OK     90013122189
23B82277A5B531   CE           SATTERFIELD                  NM     90010072770
23B8232299189B   LETICIA      GUILLEN                      OK     90013113229
23B82693591541   ALONSO       PEREZ                        TX     90015126935
23B827AA84B588   ISABEL       ALEJOS                       OK     21567267008
23B82A36331631   NATALIE      SWITZER-HAULE                KS     90004200363
23B83615991828   LATONIA      ROBERSON                     OK     90014196159
23B83642541245   ANTOINETTE   WILEY                        PA     90014156425
23B8391375B232   REGINALD     PETTY                        KY     90014169137
23B83991493727   KATRINA      SHAHAN                       OH     64529949914
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23B8422584B281   ANGELA        VAMPOLA                     NE     90006562258
23B843AA491541   LORENA        ALVARADO                    TX     90008113004
23B84479887B87   DEBORAH       MORRIS                      AR     23007884798
23B845A8772447   JUSTIN        FLEMING                     PA     90014415087
23B848A2141245   SANDY         SMITH                       PA     90008588021
23B8545A661932   ZACK          BILBREY                     CA     90000334506
23B85494272B41   MARYLEONA     HOLMES                      CO     90011514942
23B85A7169155B   HILDA         GONZALEZ                    TX     75047030716
23B8626944B261   LESVAN        TORRALVO                    NE     90002372694
23B86371891828   MICHAEL       OLMOS                       OK     90012223718
23B86448884364   LEONARD       FINLEY                      SC     19052314488
23B8657687B449   ELSY          LOPEZ                       NC     90014945768
23B86853A9794B   OBISPO        TAX                         TX     90015108530
23B86A4629155B   ERIQUE        VARGAS                      TX     90010360462
23B8818569155B   ELIZABETH     REALYVAZQUEZ                TX     90010311856
23B88254491828   PAUL          HARRIS                      OK     21063982544
23B88487972447   SHARONDA      ROBINSON                    PA     90011464879
23B8858994B588   PHILLIP       DAVIS                       OK     90013555899
23B88663972447   DANIEL        CARUSONE                    PA     90013236639
23B886A2191541   ROCKER        CHICK                       TX     75036706021
23B88791131631   ELIZABETH     DECKARD                     KS     22035127911
23B8913714795B   SUSAN         MENJIVAR                    AR     25091941371
23B8B322772B42   ANGEL         RAMOS                       CO     33075273227
23B8B72414B261   ALBERTO       HERNANDEZ                   IA     27091347241
23B8B7A674795B   ELSA          CALDERON                    AR     25059617067
23B9126295B531   MARISA        BENTZ                       NM     90006712629
23B9167852B931   MANUEL        OLIVARES                    CA     45080986785
23B92627191522   SARAI         PINERIA                     TX     90011436271
23B92853372481   AMY           MARTIN                      PA     51029398533
23B92888991541   JANET         CARMONA                     TX     75013808889
23B93157191528   ERICKA        GONZALEZ                    TX     90000951571
23B93212984364   TWYLAN        RENEE                       SC     90000302129
23B9329A155957   FREDERICK     JONES                       CA     90002062901
23B93345691828   JOSE          MADRIGAL                    OK     90010723456
23B9336364B281   COBY          POINTS                      IA     90013943636
23B93838A7B449   DANIELLE      DAVIS                       NC     90013778380
23B9421974B281   KATHLEEN      KELLOGG                     NE     90013852197
23B94557972B32   JALIA         GARZA                       CO     90012205579
23B94654441245   DEISHA        WILEY                       PA     90014156544
23B9511894B261   JESUS         CHAVEZ                      NE     90012971189
23B95169A51343   NICOLE        GILREATH                    OH     90001441690
23B95364291522   VERONICA      LOPEZ                       TX     75026673642
23B9568799189B   HECTOR        AGUILAR                     OK     90014056879
23B9599A472B42   CRISTAL       LEYVA                       CO     90013629904
23B959A5881661   TRACY         TAFOYA                      MO     90007079058
23B96278A4B281   OKELEY        HOENOU                      NE     90015012780
23B9629115B571   ASTRIL        ORLAGUA                     NM     35093872911
23B96339181661   CHARLES       RUE                         MO     29076053391
23B9636969136B   HELEN         TAYLOR                      KS     90012303696
23B9655299184B   TERRELL       JONES                       OK     21087035529
23B9658865B161   ARMSTEAD      MAKESHA                     AR     23007175886
23B9666A191828   MARIKA        MASON                       OK     90010686601
23B96798A84364   RAVEN         HARTWELL                    SC     90010297980
23B9681184B588   CHRISTOPHER   ROBINSON                    OK     90012588118
23B96878955957   RALPH         MONTEJANO                   CA     90000138789
23B97249355936   SHARNAY       SOUZA                       CA     90005842493
23B9791A547952   ANTHONY       MALOY                       AR     90005439105
23B97974487B59   FOLANDA       WILLIAMS                    AR     90005699744
23B98447872447   DONTE         LEWIS                       PA     90011064478
23B98574A5715B   NEFUSIE       GUDISA ABDI                 VA     81002805740
23B98753A91541   ALEJANDRA     RODRIGUEZ                   TX     75085887530
23B9888417B449   JAVIER        CRUZ                        NC     11065088841
23B98915791522   PATRICK       WARD                        TX     90011859157
23B9934A69155B   FABIAN        BOTELLO                     TX     90009403406
23B99562272B88   YESENIA       MARES                       CO     33070315622
23B9989465B531   JOSEPH        SOTO                        NM     90010658946
23B9992379794B   MALLORY       THURMON                     TX     90013389237
23B9994668B188   RONALD        CLARK                       UT     90010349466
23B999A157B471   KELLY         FOX                         NC     90003539015
23B99A6912B931   LUCAS         GILLILAND                   CA     90013320691
23B9B246391541   GUADALUPE     MADRID                      TX     75088712463
23B9B276591828   MICHELLE      WARREN                      OK     90013362765
23BB126435B244   MIGUEL        LEMUS                       KY     90013302643
23BB134498594B   AMY           BELOMY                      KY     67091963449
23BB13A1572B42   DESIRRE       BABB                        CO     33073123015
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23BB199129155B   MARGARITA    PEREZ                        TX     75083659912
23BB2318772B88   JESSICA      EVANS                        CO     33012063187
23BB2352191828   BRANDON      BENNETT                      OK     90008573521
23BB2571391828   RONESHA      JONES                        OK     90013045713
23BB268925B571   JOSE         LOPEZ-AMPARA                 NM     90011196892
23BB311212B931   BREANN       SALAS                        CA     90012471121
23BB32A9372B88   EDGAR        TISCARENO                    CO     90011662093
23BB3683131433   DANNETTA     CLAIBORNE                    MO     90004236831
23BB3732855957   JEREMY       CAUDLE                       CA     90011577328
23BB3981293721   SARAH        SHARP                        OH     64512039812
23BB3A8755B271   CAROLYN      LEWIS                        KY     90009160875
23BB3AA6172B42   JESSICA      GARCIA                       CO     33052970061
23BB54A294B281   BONEY        PATEL                        NE     27091504029
23BB58A1472B42   KENDRA       HOPE                         CO     90000168014
23BB6118172447   BRANDY       CRAMER                       PA     90015451181
23BB6496A2B931   ANGEL        TRUJILLO                     CA     90009624960
23BB661A17B471   SHAWN        A CRAWFORD                   NC     11096866101
23BB6A3A44B588   LAWRENCE     JOHNSON                      OK     90014640304
23BB727785B161   ANGELA       RAINEY                       AR     90012992778
23BB741432B27B   CALETA       JOYNER                       DC     90010434143
23BB7425755957   JOSE         GUTIERREZ                    CA     48000974257
23BB7948991528   ERIKA        CAMACHO                      TX     75093169489
23BB7A6515136B   ADAM         TEEPEN                       OH     66077600651
23BB8335133639   ANDREA       OUTLAW                       NC     90014083351
23BB8758972B42   ELEUTERIO    HERNANDEZ CALVA              CO     90012217589
23BB8AA4872B88   JORGE        MANUEL                       CO     90012240048
23BB9299A9712B   WILLIAM      PALMER                       OR     90012212990
23BB9337193773   SHAWN        HALL                         OH     64596653371
23BB9466772B98   GUZTAVO      GALAVIZ                      CO     90013304667
23BB953AA72447   BRITTANY     BOYER                        PA     90012065300
23BB9975731453   SHEREE       GURLLY                       MO     90014829757
23BB9A8915B161   TARA         DAVIS                        AR     23090480891
23BBB159A5B531   RAY          MARTINEZ                     NM     90013221590
241111A745B271   MYTICA       MYERS                        KY     90010481074
24111A32A7B471   KENNETH      WRIGHT                       NC     90008480320
241123AA272B98   JOSEPH       CORDOVA                      CO     90000213002
2411278114B588   PATRICIA     HUGHES                       OK     21578267811
241135A3941245   ERIC         FISCHER                      PA     90013085039
2411436362B27B   LORENZO      ESCOBAR                      VA     90005173636
2411494685B139   ALI HAMA     DICKO                        AR     74560199468
2411518777B471   CLARISSA     MERITT                       NC     90013461877
2411532A372B88   MARIA        GUTIERREZ                    CO     33029203203
24116A7645715B   FLORES       ALEXANDER                    VA     90005480764
2411757235B571   CHERIE       AUSTIN                       NM     35094465723
2411815845B271   LINSEY       JONES                        KY     68008221584
2411994A77B471   MELEIA       CURRY                        NC     11066599407
2411995847B347   SOFIA        FLORES                       VA     90003169584
24119A6135B161   RAYMUNDO     HIGINIO- MARTINEZ            AR     90012730613
2411B183291522   IRMA         RECENDEZ                     TX     90010701832
2411B44835B271   PAYGO        IVR ACTIVATION               KY     90014334483
2411B897972B32   DANIEL       WILLES                       CO     33040928979
24121A46291828   KAYLA        MITCHELL                     OK     90009940462
241228A699794B   VIRGINIA     PINEDA                       TX     90014938069
2412479442B27B   WILLE        JACKSON                      DC     81012247944
2412535152B27B   SHERMAINE    GRAHAM                       DC     90006793515
2412542119184B   EMILY        FREEMAN                      OK     21020164211
2412588A97B471   ANNA         YOUNG                        NC     90009118809
24126377A72B88   DOMONIC      BARRIOS                      CO     90011593770
2412683479155B   BRIAN        BERGER                       TX     90010308347
2412686A491953   STELLA       CARPENTER                    NC     17080158604
24126A95161985   JUVENTINO    LOPEZ                        CA     90011760951
24127395172B32   JAVIER       FLORES                       CO     90007293951
2412756134B588   RICHELLE     DRIVER                       OK     90005995613
24127633A5B271   NOE          GARCIA GARCIA                KY     90009706330
24129A75993727   FELISHA      ROY                          OH     90013600759
2412B237A7B449   BOOKER       HOPKINS                      NC     90013422370
2412B421472B32   CYNTHIA      CRESPIN                      CO     90011044214
2412B665857157   CESAR        LARIOS                       VA     90002406658
2412B697293767   AMY          AKERS                        OH     90005726972
2412B739131453   VICTOR       MACBRIDE                     MO     27597697391
2412B76734B281   WILLIAM      DICKEY                       NE     27046867673
24131854A9155B   MARTHA       BISH                         TX     90011568540
24132457887B59   MARTHA       HANDEL                       AR     23069934578
24133522A4B588   CHRISTO      SHARP                        OK     90014635220
241335A4471935   TYRONE       ADAMS                        CO     90012875044
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2413375697B471   CHANEL         WORTHLEY                   NC     90014687569
24133834572B42   MELISSA        YAMILETH                   CO     90011888345
2413461A24B588   SAMANTHA       SMITH                      OK     90010956102
24134668724B43   VALERIA        PERSON                     DC     90013946687
2413549918B171   ADRIAN         ORTEGA                     UT     90001844991
24135A11391953   JUAN           RAMIREZ                    NC     90011520113
2413677867B471   JASON          ARGUETA                    NC     90014687786
2413685555B161   LARRY          DAVIS                      AR     90008088555
24137662A72B42   DAN            GOULET                     CO     90013886620
24137875A57157   SERGIO         PINEDA                     VA     90006508750
241384A7385892   JEFFERY        HALL                       CA     90007334073
24138583772B88   RAYMOND        HINSLEY                    CO     33002505837
241386A967B471   EVAN           TONEY                      NC     90009496096
241387A5591525   EDWARD         L MILLER                   TX     90002377055
2413882A79184B   ERNEST         WEST                       OK     21004588207
24138939A91828   HEAVEN         CAUDLE                     OK     90013659390
2413944AA9196B   HOLLI          MCKINNIS                   NC     17092494400
2413958839184B   REX            BIGELOW                    OK     90012945883
24139739A5B161   NIKIYAH        WATKINS                    AR     90014667390
2413B263971935   MANUEL         PORTILLO                   CO     90014362639
2413B294591828   KIMBERLY       EVANS                      OK     21056842945
2413B478372B88   SARAH          GARZA                      CO     33053544783
2414197252B931   LUIS           VAZQUEZ                    CA     45093249725
2414198637B422   ASHLEY         SIMMONS                    NC     11006039863
24141A6925B28B   LOLITA         JENKINS                    KY     90001970692
24142249572B42   JORDAN         REDMOND                    CO     90006652495
2414252962B27B   KADIATU        ALPHA                      DC     81080635296
2414263A681644   TAMBRA         WILLIAMS                   MO     90011516306
24142675172B32   EDGARDO        RODRIGUEZ                  CO     90011786751
24143576A61986   PABLO          CRUZ                       CA     90010525760
2414394AA72B88   NEIRINAURA     HERNANDEZ                  CO     90014959400
24143A79455957   GARRETT        VAZQUEZ                    CA     90008710794
24144551472B32   JEHELY         ESPINOZA                   CO     90013295514
24144A65293731   BILLI          DAVIS                      OH     90015020652
2414543665B161   TABITHA        BLACKBURN                  AR     90015214366
24145A17691541   GASTON         CONTRERAS                  TX     90011950176
24145A65293731   BILLI          DAVIS                      OH     90015020652
24146A5195B161   KIESHANYA      WHITTAKER                  AR     90014360519
241471A225B571   BRUCE          BLACKMAN                   NM     90006681022
2414751A691541   KING           MONTIEL                    TX     90012585106
24147782872B32   VENASSA        ALBA                       CO     90002127828
2414778A291828   LAURA          BASURTO                    OK     90009257802
24147AA257B449   TONYA          MONIQUE NEWTON             NC     90014790025
2414823335B271   JULIUS         KENNEDY                    KY     90011352333
241483A6731453   NICOLE         SCHNURR                    MO     90013833067
2414842269794B   OSCAR          AGUIRRE                    TX     74060444226
24148A95541245   THOMAS         GAVULIC                    PA     51015270955
2414945457B449   ARMANDO        BALTAZAR                   NC     90010294545
24149685A91541   STEVE          PEREZ                      TX     90014556850
2414B221255957   JOEL           GARCIA                     CA     90007172212
2414B424233677   STEVEN         TAYLOR                     NC     90001264242
24151246A55957   LATOYA         MAXWELL                    CA     90013882460
24151473887B87   BRITTNEY       JASPER                     AR     23009044738
241518A394B261   KEITH          BLANCHARD                  IA     27028508039
2415337424B281   FERNANDO       DE LA ROSA                 NE     27086333742
2415359942B931   LORETTA        MILLS                      CA     45045555994
2415368855B333   MARGGI         MCKINNEY                   OR     90008516885
2415375565B161   LARRY          CONLEY                     AR     90013707556
24153A83A91953   KESETE         EYASSU                     NC     90010710830
2415456A971935   LUIS           HUCHIN                     CO     32016055609
24154A6434B281   CESAR          TORRES                     NE     27017060643
2415535492B232   MARCUS         GILES                      DC     90004083549
241559A6A24B55   ISABEL         GALLO HERNANDEZ            VA     81084809060
2415635957B449   RASHAUN        STEVENSON                  NC     90008603595
24157263224B55   LEARY          BOWSER                     DC     90007402632
2415761A884364   JAMES          BROWN                      SC     19027306108
2415764A491522   ALBERTO        AGUILAR                    TX     90009336404
2415775525B161   DEVANA         DOBSON                     AR     23002247552
241579A3572B88   JANINA         SANDERS                    CO     90013139035
2415867624B588   TIM            CALDWELL                   OK     90001086762
24158919A91541   MIGUEL         VALLE                      TX     90008789190
24159738972B32   D-ANTHONY      JONES                      CO     90014837389
2415989537B633   IDELINA        RAMIREZ                    GA     90011358953
2415B699257157   MANUEL         ORTIZ                      VA     90010846992
2415B771361558   MIGUEL ANGEL   HERNANDEZ                  TN     90015497713
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2415B87149184B   CINDY             HAIRE                   OK     21091348714
241613A554B588   DUSTIN            BAKER                   OK     90012453055
24162515A71935   AUTUMN            NELSON                  CO     90013225150
24162A25781644   MISAEL SALVADOR   AGULAR                  MO     90013950257
24162A89391241   TRACY             AITKEN                  GA     90012760893
2416315A471933   LAWRENCE          MCCLAIN                 CO     90010751504
2416326627B449   TERRICA           HIGHTOWER               NC     90014152662
24163AA5891356   JOSE              RODRIGUEZ               KS     90014830058
24164172372B88   JENNIFER          VELA                    CO     90014451723
2416496475B271   LORI              EPPLER                  KY     68042299647
24164A98985938   GENE              MACKEY                  KY     90007050989
24165854A9155B   MARTHA            BISH                    TX     90011568540
24165A9957B644   QUANTORIA         GREEN                   GA     90008850995
241669A3187B87   ANGELA            BILLINGS                AR     23025839031
24166A2575B271   CASSI             ALLEN                   KY     68051820257
24167534A4B588   MARCELA           IBARRA                  OK     90015285340
24167567A91241   MARTHA            BLANDING                GA     90015245670
241676A497B449   ANA               AMAYA                   NC     90008016049
24167A41981644   MARVA             ABROUGHT                MO     90013950419
24167A5532B27B   SHONTEL           ALEXANDER               DC     90014680553
241683A5687B87   SHAWNDELLA        BENNETT                 AR     23088943056
24169178A55957   SHAWNTEL          CORTEZ                  CA     48016231780
2416B19614B588   DAVID             STANTON                 OK     21544341961
2416BA52A91356   GERAMY            DEMONBRUN               KS     29028540520
24171126487B87   DOROTHEA          WILLIAMS                AR     23088461264
241719A3791241   CARMEN            FRAIZER                 GA     90002729037
2417231214B281   STACEE            JUSTUS                  NE     27067333121
2417234A672B32   JERMEY            HALSTEAD                CO     90013933406
241724A4391356   RYAN              DUNNAM                  KS     90009114043
2417316254B588   VINCENT           HOGG                    OK     90011511625
24173AA6791828   HALEY             CONLEY                  OK     90000860067
241749A1687B87   CHIQUITA          EVANS                   AR     23033319016
24174A38391541   SOCORRO           RODRIGUEZ               TX     90000520383
24174A8884B588   YESENIA           CABRERA                 OK     90012620888
241753A6A2B27B   RONALD            PETERSON                DC     90014293060
2417572714B588   ELISA             LUEVANO                 OK     21554167271
241766A9455957   WENDY             OROZCO                  CA     90012286094
2417744154B588   FRANCISCO         MENDOZA                 OK     90015224415
2417746579155B   NORMA             SIRRA                   TX     75035694657
24177578272B32   ARELY             TORRES                  CO     33059235782
2417764A481644   MARIO             RODRIGUEZ               MO     90008196404
24177A6373B355   JANETH            HENRY                   CO     90011480637
24178335372B88   DONNA             ELLIOT                  CO     90008413353
2417875912B27B   IGOR              MILOSEVIC               VA     81016467591
24178868A7B449   AMBER             NUNUZ                   NC     90002618680
241792A939189B   BRITTNEY          LITTAU                  OK     90010982093
2417963194B281   ALISHA            DUNLAP                  IA     90006096319
2417965525B271   WANDA             LEE                     KY     90009056552
24179A15161996   SILVIA            CERVANTES               CA     46066770151
2417B4A1791953   JUANITA           JONES                   NC     90001844017
2418128A25B271   IROLVIS           LARA-BOYCE              KY     90009032802
241814A6A4B281   VIRGIL            MOEHRING                NE     27001674060
241816A6A84364   LUZ               VAZQUEZ                 SC     90013226060
2418171775B571   PATI/ELIAZ        DIAZ/ZARATE             NM     35054457177
2418174199189B   SAMANTHA          SHAIREZ                 OK     21081797419
241822A5631453   ANTHONY           LEZY                    MO     90015182056
24182A9429155B   TONY              QUINTANA                TX     90010080942
24182A97372B88   TRISHA            MAKI                    CO     33074760973
241831A5355957   CRYSTAL           MORENO                  CA     48093521053
2418342329184B   BRADLEY           BLAIR                   OK     90013654232
2418351782B249   WAKEEN            EDWARDS                 DC     81017615178
2418391645B571   DELFINA           CASTILLO                NM     35085149164
241854A9691828   MARTIN            WILLIS                  OK     90011564096
241862AA731453   LEAH              PRICE                   MO     90015052007
2418656A391953   AJA               ASH                     NC     90012395603
241871A244B588   DOMINQUE          LAMEY                   OK     90010121024
2418795284B588   JONATHAN          CRAIG                   OK     90015159528
241882A3A31453   EDDIE             WOODFIN                 MO     90001522030
2418838994B261   BARBARA           COOPER                  NE     90007153899
24188A2937B449   KEISHA            ADAMS                   NC     90000340293
24188A92872B42   JAY               BARTON                  CO     33009790928
24189353A5B161   VONDA             MORRIS                  AR     23086963530
24189582672B88   AMY               CEBALLOS                CO     90014935826
2418998134B588   JERROD            PEDRO                   OK     90014439813
24189A2482B27B   SHIRLEY           BEARD                   DC     90012510248
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24189A37131453   KEVIN        RITROVATO                    MO     27585270371
2418B535491356   AUDWIN       PORTER                       KS     29079335354
2418B67A172B88   SOLOMON      LOPEZ                        CO     90013416701
2418B69A77B449   SHAKAEDA     BYERS                        NC     90012436907
2418B83167B449   MARCUS D.    JACKSON                      NC     11057898316
2419115534B588   CHARLENE     MASCOTE                      OK     90015381553
24191418A31631   DEANNA       MCWITHEY                     KS     22065894180
2419182747B423   SUMATRA      SMITH                        NC     90005948274
2419185944B261   GEOVANY      AGUILAR                      NE     90012358594
2419214AA81644   JOSE         FELICIANO                    MO     90013951400
24192711572B88   SAIRA        NEVILLE                      CO     90004917115
24192782872B42   VENASSA      ALBA                         CO     90002127828
2419292AA9184B   VENUS        WILSON                       OK     21008519200
241932A837B358   MANUEL       HERRERA                      VA     81028332083
2419345A691828   DEVENA       POWELL                       OK     90012854506
24193597A2B27B   MARQUITA     WRIGHT                       DC     90012835970
241939A8A91541   NANCY        LOPEZ                        TX     90008009080
241941A8A5B571   TAMINICH     KRISTINA                     NM     35054891080
24194278A91522   AMANDA       RODRIGUEZ                    TX     90005272780
2419465498B179   MELISA       DICKINSON                    UT     90005556549
2419471525B271   ANA          HERNANDEZ                    KY     90001057152
24194716472B88   JESSICA      SANCHEZ                      CO     33058297164
24194994172B42   JOHN         DURAN                        CO     33033549941
2419499662B27B   VERNON       JOHNSON                      VA     81082549966
2419528939794B   ISSABELL     CASTRO                       TX     74062152893
2419559558B172   ANDY         VANDENOVER                   UT     90008405955
2419628879184B   GUADALUPE    VERGARA                      OK     90006552887
24196427572B88   JADE         WINTERHALDER                 CO     33073674275
2419643322B27B   AHMAD        ABDALLAH                     DC     90012684332
24196473372B42   ISTVAN       BAKA                         CO     33020764733
24196874787B59   JOE          SMITH                        AR     90009548747
2419692717B449   VALERIE      MCCRAY                       NC     11064119271
241977A2572B32   HERON        ESTRADA                      CO     90014477025
24197A32791953   ALONZA       HUNTER                       NC     90010950327
2419821734795B   TANISHA      REED                         AR     25044252173
24198367A91541   ISIDORO      IBARRA                       TX     75038953670
2419985117B449   PAMELA       JONES                        NC     11011538511
2419B68A94B588   MARCO        BUGG                         OK     90008916809
2419B6A2372B88   RICKY        MUNIZ                        CO     90011696023
2419B77282B931   LANORA       GRIFFIN                      CA     90009977728
2419B7A8771935   LUIS         SANTIAGO                     CO     90012877087
241B164945B271   REBEKAH      TIDBALL                      KY     68095746494
241B1832585938   MARIA        MUNOZ                        KY     67096638325
241B2125891942   JORGE        VAZQUEZ                      NC     90006711258
241B256437B471   CHRISTINA    CANNIE                       NC     90012925643
241B267A731631   TAMMY        COLEMAN                      KS     90008756707
241B28A1431453   ANNETTE      CROFT                        MO     90015528014
241B316A772B88   JIM          VALLEJOS                     CO     90014781607
241B322439155B   VERENIZ      RUIZ                         TX     90011242243
241B3473391582   FRANCISCO    VILLA                        TX     90009964733
241B349AA91522   TYRONE       GREENE                       TX     90003464900
241B4143691356   KAREN        MCNAMARA                     KS     90014551436
241B463534B281   CATINA       WOODFORK                     NE     90010596353
241B4824A2B27B   OMAR         AMURRIO                      VA     90012278240
241B4891491828   TONYA        HATFIEOD                     OK     90007188914
241B4945781644   SKYE         TAUILIILI                    MO     90013949457
241B531517B358   FADI JA      ALARAMIN                     VA     90011543151
241B5A37A31453   CHYRESE      TROTTER                      MO     90014690370
241B643425B271   WANDA        HAYES                        KY     90015004342
241B6A58491828   NICOLE       JACKSON                      OK     90011450584
241B717A79189B   SCOTT        HOWELL                       OK     90001781707
241B728729184B   MAI          CHANG                        OK     90012382872
241B72A1691356   ADAM         CALDWELL                     KS     90013202016
241B762548598B   SANDRA       RASMUSSEN                    KY     90004326254
241B7975791522   TELEZ        LORENZ                       TX     90010329757
241B839369184B   PAYGO        IVR ACTIVATION               OK     90013963936
241B8466A72B42   GUSTAVO      ROSALES                      CO     33040404660
241B856437B471   CHRISTINA    CANNIE                       NC     90012925643
241B86A4131631   BARRY        BROWDER                      KS     22042776041
241B8853A5B161   MARIA        PAREDES                      AR     90012238530
241B8979672B32   JOEL         ZAMORA                       CO     90013529796
241B8A17291541   ROBERTO      ARTIAGA                      TX     90012840172
241B8AA1A5B571   LEONARDO     IBARRA                       NM     35060900010
241B9311631631   JESSICA      LAWYER                       KS     90009763116
241B9499555957   BRITTANY     SELF                         CA     90008874995
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241BB22884795B   MANUEL       MEDINA                       AR     25083402288
241BB234455957   SANDRA       GONZALES                     CA     48052092344
241BB48319189B   TERAI        LEAIS                        OK     90014894831
241BB842391828   BECKIE       CARR                         OK     90001518423
241BB849544B62   ROSALYN      BULLARD                      OH     90014408495
241BBA83172B32   FAUSTINA     CARBAJAL                     CO     90014200831
242113AA241245   JOHN         SHAFFER                      PA     51035473002
24212311A4B551   MALIKA       MAYBERRY                     OK     90014633110
24212463A72B25   ROBERT       SIKES                        CO     90015084630
2421276919376B   DENISE       RINEHART                     OH     90010847691
24213A25872B32   MARTA        MORENO                       CO     33008900258
24213A81791356   ANAVESSY     MATTA                        KS     90015280817
24213AA174795B   MARIA        RODRIGUEZ                    AR     25094670017
2421434764B261   MARY         PATTERSON                    NE     27017473476
2421459182B27B   JEFFREY      WHITE                        DC     90013125918
24214663A5B271   SAMANTHA     GAITHER                      KY     90014636630
242146AA155957   RALPH        IZQUIERDO                    CA     90006136001
2421693115B161   TYNESHA      GRIFFIN                      AR     90011199311
2421694949184B   CHAD         GRAY                         OK     90015129494
24216A12455957   JOSE         GONZALEZ                     CA     90015090124
24216A5A972B27   SCOTT        PHILLIPS                     CO     33023190509
2421714374B588   TEDDY        TESKE                        OK     90012721437
242176A9A85844   WENDY        BETHGE                       CA     90010196090
2421794619184B   MARCQUEL     EDWARDS                      OK     90013889461
2421795A54B261   TIFFANIE     RICHARD                      NE     90013189505
24218146772B35   ASHLEY       TRYELS                       CO     90013101467
24218448972B88   NIDYA        NORIS-FERNANDEZ              CO     33052124489
242198A4791828   JIMMY        HAMMONS                      OK     21097068047
2421B12895B161   HUBERTA      NEWBY                        AR     90014511289
2421B197272B32   SUN VALLEY   YOUTH CENTER                 CO     33003771972
2421B424591541   PATRICK      OFALLA                       NM     75013214245
2421B564A55957   RAQUEL       RUIZ                         CA     90013255640
2421B91399155B   SALVADOR     ACEVEDO                      TX     90012639139
2421B99A831453   TARIA        HESS                         MO     90013579908
2421B9A1172B88   ESTRELLA     TALAMANTES                   CO     90013489011
2421BAA367B471   TONY         JACKSON                      NC     90004830036
24221246A72B88   DIANA        OLIVAS                       CO     90014742460
2422178729155B   RAMON        GONZALEZ                     NM     90008767872
2422221817B422   KATHRYN      CAREW                        NC     11079062181
2422222477B449   WALTER       DLAIR                        NC     11029402247
2422283644B588   MILTON       CHAVEZ                       OK     90010318364
2422291389184B   RASHEED      CRAWFORD                     OK     90015159138
24222962A9184B   JESSICA      MACIAS                       OK     90009859620
2422359885B54B   WILLIAMS     PADILLA                      NM     90015145988
2422362A67B471   VANESSA      LAMAR                        NC     90014696206
2422399454B588   OCTAVIO      ALBA                         OK     90004119945
24223A7289155B   SONIA        SIERRA                       TX     90002270728
24223A97172B32   LUIS         GUTIERREZ                    CO     33071410971
24223A99555923   ANGELA       HERNANDEZ                    CA     90015160995
242244A1172B32   MIGUEL       BARRON                       CO     90004894011
2422634279155B   DANIEL       ALCALA                       TX     75079803427
2422673A391828   LORENA       RIVERA-CEJA                  OK     21090267303
2422694A12B931   ALICIA       CHANEY                       CA     90002879401
2422726987B449   ROGER        CHACON                       NC     90013422698
2422763322B232   LILLIAN      MACFARLAND                   VA     90010466332
2422786A491953   CHARLENE     HARRIS                       NC     17074778604
2422844829189B   TARESHA      HARRISON                     OK     90011394482
24229275336B95   TOGI         LUAPITOFANUA                 OR     90004742753
2422975654B261   DENA         PUTNAM                       NE     27068527565
2422979195B271   WILSO        SOCOP                        KY     90011937919
24229944A91241   CRYSTAL      GREEN                        GA     90009599440
2422B36147B449   JAZQUELINE   NICHOLS                      NC     11000063614
2422B3A8531453   ELZEE        MAJOR                        MO     90015153085
2422B531691541   GLORIA       SALAZAR                      TX     75087065316
2422B933455957   NORA         FLORES                       CA     90000639334
2423182692B232   LATOYA       JACKSON                      DC     90004088269
242318A419189B   SUSIE        ANDERSON                     OK     90008328041
24231A29291541   ELIZABETH    LOPEZ                        TX     90012170292
2423222794B588   CESAR        ESPARZA                      OK     21510592279
2423265334B281   JAIME        ERIN                         NE     90011796533
2423281215B271   MATTHEW      MOHR                         KY     68098258121
2423292294B261   SHEILA       LEIGHNER                     IA     27041229229
242332A929155B   ERIKA        GALARZA                      TX     75080992092
24233816972B88   JULIE        FAIRCHILD                    CO     33055828169
242338A3151369   VAUN         MITCHELL                     OH     66097448031
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24233A19791953   LATESHA           WINSTON                 NC     17043620197
24234299372B32   JOHN              GURULE                  CO     33025232993
2423497789189B   CHRISTINE         BOWMAN                  OK     90014179778
24234A9467B471   JOAQUIN           NATAREN                 NC     90010730946
24235567472B42   ROEL              MATA                    CO     33033555674
24235944572B88   MIKE              PERALTA                 CO     90014759445
2423644245B161   SONYA             DAVIS                   AR     90007264424
24236A73591828   COURTNEY          ST CLAIR                OK     90014610735
2423721247B471   EUREKA            BYNUM                   NC     90014272124
242375AA172B32   COLLEEN           ESPARZA                 CO     33094845001
24238513172B42   DAVID             DAVIS                   CO     90010625131
2423922937B449   MONTAYA           DANIELS                 NC     90012082293
2423951429152B   ALBERTO           MENDOZA                 TX     90009595142
2423B153691356   LEON              CARTER                  KS     29018421536
2423B55675B571   BRENDA            HELMICK                 NM     35087075567
2423BA86931433   DAVIDSON          JEROME                  MO     27594600869
2424124615B271   CLIFFORD          WEBB                    KY     68002912461
2424192229155B   SELENA            ROSALES                 TX     90004989222
24241A94791953   EUGENIA           JENNINGS                NC     90009830947
24242151A72B32   JUAN ANTONIO      PARRA MARQUEZ           CO     90015141510
2424255399184B   BOBBY             MCKILLIP                OK     90014055539
24242897376B84   FABIAN            MORALES                 CA     90008988973
242432A8684364   MAUREEN           ROACH                   SC     90014902086
24243439A91953   RENEE             TUCKER                  NC     90010374390
242435A452B27B   ANTOINE           CAIN                    DC     90004265045
24243688A9184B   MARK              THOMPSON                OK     21082516880
24243A64672B42   ROXANNE           HERRERA                 CO     90013520646
24244294A9155B   GABRIELA          MARISCAL                TX     90011242940
24244342A31631   KURT              COLEMAN                 KS     90015153420
24244A8542B27B   KAREN             BRANCH                  DC     90014810854
2424517654795B   AMY               BENDICK                 AR     90010551765
2424579379184B   AARON             MISAK                   OK     90003767937
2424589A17B449   LATASHA           HARDEN                  NC     90006068901
242458A434B231   MELVIN            MELENDEZ                NE     27024748043
24245A3299155B   CRYSTAL ANNETTE   LOPEZ                   TX     90008410329
24246179A2B27B   VANESSA           BROWN                   DC     90010571790
2424628675B271   CLARENCE          KAYS                    KY     90013362867
24246647A31453   NYQUITA           CRINER                  MO     27559966470
24246A5419155B   IGANCIO           MARTINEZ                TX     75097840541
24247121A72B53   ELICIA            LOVATO                  CO     90012751210
24247248A9155B   JUAN              HERNANDEZ               TX     75097842480
24247582A72B42   MARANDA           KILLEN                  CO     90013295820
2424778437B274   ANDREW            RODENBUCHER             AZ     90013927843
24247A16391541   LUZ               CUEVAS                  TX     90005710163
2424831687B449   ERICA             MITCHELL                NC     90013743168
24249759472B88   FELIX             ORTEGA                  CO     33062307594
2424B17AA9155B   LINA              LEYVA                   TX     75031141700
2424B362272B42   MICHAEL           GEORGE                  CO     90013083622
2424B623572B42   ORIANA            JHONSON                 CO     90014726235
2425184695B271   BRITANY           GRIFFIE                 KY     90013878469
2425197949189B   MARTIN            BITTLE                  OK     90011049794
24251A19A72B88   TESSA             VIGIL                   CO     90012170190
24252A38891522   RAUL              DE LA CRUZ              TX     75014200388
24253152A57157   MICHAEL           OFORI                   VA     81010491520
24253864172B32   CESAR             LOPEZ                   CO     90014918641
2425392972B931   HERNANDEZ         ROBERTO                 CA     90000839297
242547A4255957   BRANDY            PRITCHARD               CA     90014797042
24254A9984B56B   FANNY             ERAZO                   OK     90012680998
24255167272B32   GLORIA            PRIETO                  CO     90012871672
24255662272B41   JULIE             ANGELO                  CO     90006016622
24255A82254123   ANDREA            MATLOCK                 OR     90007120822
2425619A384364   KRYSTLE           REESE                   SC     90013601903
2425651979184B   ANDREW            BLEVINS                 OK     90014855197
24256656672B32   DIEGO             SALAZAR C               CO     33071606566
24256A47355957   RAFAEL            HERNANDEZ               CA     90006040473
2425767A776B52   RUBEN             TIRADO                  CA     90002556707
2425822427B471   TEAZHA            WADE                    NC     90011712242
24258258A84364   ANGEL             BAILEY                  SC     90010372580
2425884374B588   SHAQUANDA         MITCHELL                OK     90009628437
2425926424B588   LYDIA             PANTHER                 OK     90009172642
24259383A71935   KENNETH           BALDWIN                 CO     32016043830
24259A6237B471   NAZARIO           BRITO                   NC     11047800623
2425B28587B471   JOHN              BOOTH                   NC     11048562858
2425B46855715B   ALBA              GONZALEZ                VA     90000434685
2425B53A131453   VINCENT           BREYFOGLE               MO     90011215301
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2425B725691541   TOMMY        MARTINEZ                     TX     90011967256
2425B85269189B   PAUL         MOURA                        OK     90013198526
2426147A891953   MICHAELA     GRANT                        NC     90013994708
2426179335B571   SHANNON      WEINBERGER                   NM     90009707933
242618A569155B   KERI         SMITHERS                     TX     90000468056
2426195A291541   AMANDA       TAPIA                        TX     90010749502
2426291282B27B   PEDRO        NAVA                         DC     81092109128
24262A3579184B   JERRY        WHARTON                      OK     90013720357
2426346A793767   GAYLE        BOWEN                        OH     90002614607
2426367759184B   LAURI        PETERS                       OK     90010656775
24263683572B32   DEANA        AMPTMAN                      CO     90010246835
24263714772B88   RAFAEL       ENCARNACION                  CO     90000557147
2426428237B449   ALBERTO      SORTO                        NC     90013422823
24265394572B32   ABRAHAM      MUNOZ                        CO     90012403945
2426558449189B   KRISTY       PETERS                       OK     21083735844
2426678A672B42   CHICA        SEXY                         CO     33052557806
242674AA872B38   NOEMI        MEDINA                       CO     90014844008
2426767357B471   TIRNEKA      ROSS                         NC     90014696735
24267A2A747952   JOEY         SCHOGGINS                    OK     24054130207
24267A71791541   ARTURO       VASQUEZ                      TX     75040940717
2426851979184B   ANDREW       BLEVINS                      OK     90014855197
242689A1772B32   SUSAN        CHANDLER                     CO     90006469017
2426997A72B27B   JEFFERY      FORD                         DC     90011579707
2426B166991522   IRENE        GARCIA                       TX     90007061669
2426B46794B261   BRIAN        HANKE                        NE     27072334679
2426B81979155B   MARIA        GOJARA                       TX     90008768197
2426BA2A24B281   BRANDON      GOSWICK                      NE     27074950202
24271424872B88   TANIA        GUILLEN                      CO     33001644248
2427166A64B261   MARIA        PAULA MENJURA                NE     90013316606
24273435A84364   MONICA       QUIROZ                       SC     90009964350
2427449AA84364   EDDIE        LASOS                        SC     90013094900
2427472714B588   LIZANDRO     SIFUENTES                    OK     21503437271
24275688A51369   LISA         JOHNSON                      OH     66024176880
2427628657B449   BRADFORT     CLINTON                      NC     11059842865
242762A769184B   LINDSEY      ANTWINE                      OK     90008342076
2427636789189B   WILLIAM      JONES                        OK     90013093678
2427641512B27B   EMELINA      YANEZ                        DC     81019574151
24276A55655957   ELIZABETH    GUIZAR                       CA     90015160556
242771A924B588   EUSTACE      PAIGE                        OK     90013551092
242773A9855957   IRENE        LOPEZ                        CA     48043583098
242773A9A91828   KENNETH      KARNS                        OK     90009373090
24277914A71935   GLENDA       ESPINOZA                     CO     90003029140
24278A3385B571   MOISES       GRIEGO                       NM     35044480338
2427928A65B571   SHELLY       MANN                         NM     90001622806
24279A25772B88   MARICELA     RAMOS                        CO     90013260257
2427B517141245   CANDICE      ROBINSON                     PA     51089885171
24281149672B32   OMAR         ARGUETA                      CO     90012431496
2428159265B36B   OSCAR        FLORES GARCIA                OR     90004295926
24281645498B72   TONY         JACKSON                      NC     90011916454
2428176989184B   JEREMY       JONES                        OK     21097127698
2428214AA41245   LEANNE       BIELEC                       PA     51002801400
2428297A891522   JOSUE        HERNADEZ                     TX     90011129708
242832A9291541   ERIKA        GALARZA                      TX     75080992092
242844A6141245   JAMES        ROEDLER                      PA     51039894061
2428459424B588   CLYDE        LAVIOLETTE                   OK     21558005942
242859A2A72B42   CONSWELLA    GIBSON                       CO     90004719020
24285A51672B32   BILL         MCCAINN                      CO     33095800516
24285A85785938   CHANEL       SMITH                        KY     90007650857
2428649674B588   NICOLE       ERVIN                        OK     90014194967
24286828872B88   JUDITH       GARCIA                       CO     90013638288
24286912172B42   INOSENCIO    NAVA VASQUEZ                 CO     33095549121
2428753465B571   HEMERECK     ULIBARI                      NM     35004465346
24287A97A4B588   NATOYA       KNAPPS                       OK     90008620970
24287A99191541   NORMA        SEPULVEDA                    TX     90011150991
2428863874B281   ISRAEL       GARCIA                       NE     90012466387
24288819A41245   ALBERT       PICKENS                      PA     90000998190
2428882775B271   GREGORY      FORD                         KY     68056818277
2428897A172B88   CYNTHIA      EAKINS                       CO     33071629701
2428B23422B841   FRACES       APACHECO                     ID     90007062342
2428B44414B261   RICHARDSON   EDIONSERI                    NE     27044374441
2428B74A491356   JERMICHAEL   JORDAN                       KS     90013837404
2429169879184B   CASSANDRA    RAMIREZ                      OK     90010986987
2429175134B261   TOLISHA      GREEN                        NE     90002577513
24291A2925B161   RYNESHIA     SANDERS                      AR     90014780292
24291A7A591522   HERMINIO     TAFOYA                       TX     90001870705
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24291A9899794B   CARLOS       SANCHEZ                      TX     90001430989
24292145A31453   AASHYA       QUARLES                      MO     90012301450
2429289A691522   MICHAEL      MARQUEZ                      TX     90008348906
242934A9272B32   SHAW         KIM                          CO     90009354092
24293771A91522   WILLIAM      ROACH                        TX     90005027710
2429422914B281   F            ZENON                        NE     27071572291
24294395A24B55   MARCOS       LIUZZI                       VA     90010543950
2429458AA4B588   TRACY        AARON                        OK     90012825800
2429545385B161   ANTHONY      JOHNSON                      AR     90015214538
2429568912B27B   AKEEM        JACKSON                      DC     90008846891
24295722272B88   RAFAEL       HURDADO                      CO     90015127222
24295967772B88   JAMIE        VENEGAS                      CO     90013779677
2429646A472B32   SELINDA      COSTA                        CO     33087344604
2429674775B161   MICHAEL      SMITH                        AR     23066567477
24296A13631453   ALFRED       DANIEL                       MO     90004410136
24297176924B55   ARKEL        BIRDGEWRITER                 MD     90015531769
24297A17272B88   KENNETH      DURAN                        CO     90008030172
2429868A62B27B   DEBORAH      HICKSON                      DC     90013186806
24298A5942B232   LILLIAN      GREENE                       DC     81080150594
24298A77272B88   SEAN         RILEY                        CO     90012640772
24299AAA297173   JOSE         MARTINEZ REYES               OR     90007830002
2429B189647952   TINA         NGUYEN                       AR     90008471896
2429BA1779189B   JESSICA      GOEBEL                       OK     90012500177
242B149A271935   JERRY        HARRIS                       CO     90015274902
242B184335B161   JEMORL       RINCHER                      AR     23006988433
242B1A2814795B   MICHELLE     CHAVEZ                       AR     25006890281
242B2177272B32   NELSON       MARCUS                       CO     90014021772
242B221339189B   AIDE         ALVARADO                     OK     90012902133
242B23AA731453   SHELLY       DIXON                        MO     90015153007
242B2576981644   PIERA        ROSS                         MO     90011395769
242B2849572B88   LEONARDO     GODOY FALCON                 CO     90014558495
242B3166355957   ERIC         BREAUD                       CA     90014351663
242B3171641245   ANDREA       SAVILLE                      PA     90005731716
242B3624A31631   ZONA         BALLOU                       KS     90006166240
242B3A24755931   ALEX         GARCIA                       CA     90010920247
242B4299A5B271   KIMBERLY     SHIVELY                      KY     90005232990
242B51A515B571   ANTONETTE    ORTIZ                        NM     35094221051
242B538A14B261   LINDA        MULHOLLAND                   IA     90007693801
242B54AA92B931   JEFFERY      LEE                          CA     90010904009
242B581419155B   SANDRA       LOPEZ                        TX     75092308141
242B59AA42B27B   MARQUITA     GREEN                        DC     90011579004
242B6253255957   NATHANIEL    STEFFENS                     CA     90012092532
242B6297791356   SABRINA      MCGOWAN                      KS     90014852977
242B6489724B55   ELIZA        CORADO                       VA     90013884897
242B662569184B   WILLIAM      DAVIS                        OK     90015016256
242B664917B449   JERRY        REID                         NC     90015116491
242B7828191541   WALTER       CONNOR                       TX     75031968281
242B826739155B   DANIEL       CORREA                       TX     90011242673
242B829334B261   ALFREDO      SANCHEZ                      NE     90004862933
242B865A784364   YVONNE       WATERS                       SC     90002386507
242B88A9671935   KELSEY       MILLER                       CO     90006438096
242B8A72431453   MICHAEL      BRADSHAW                     MO     90001350724
242B9381372B88   JACQUELINE   B COMMINELLO                 CO     33041243813
242B9495391522   MARIANA      GANDARA                      TX     75002334953
242B9A9824B281   NICHOLAS     PETERKA                      NE     90004940982
242BB258A9189B   ERIC         SAMPLE                       OK     90014082580
242BB571991525   NELLY        LIMON                        TX     90014435719
242BB692A4B261   KATY         RUBIALES                     NE     90014286920
242BB717555957   MARCUS       PIPPINS                      CA     90013937175
2431161439189B   JOYCE        WARE                         OK     90012346143
2431294A971935   JOHN         JAQUEZ                       CO     90015199409
24312A1484B588   BRENDA       MCCRACKEN                    OK     90009190148
24312A36772B32   JOSE         JIMENEZ                      CO     90001330367
24312A76131631   REBECCA      WALTERS                      KS     90015270761
2431511795715B   KENDRA       VILLANUEVA                   VA     90004101179
2431547829794B   CARINA       LEON                         TX     74095434782
2431673987B471   TERRI        REED                         NC     11078097398
2431735614B281   DAVID        MAYEN                        NE     90000433561
243196A8771935   JENNIE       ZERFAS                       CO     32009756087
24319842472B42   LUZ          TORRES                       CO     90001308424
2431B29274B261   GEORGE       BECKWITH                     NE     90002072927
2431B425272B42   YUSUF        MUSAALI                      CO     90009834252
2431B443931631   MARIE        MCDONALD                     KS     90007354439
2431B514751333   DWAYNE       HAYES                        OH     90012685147
2431B66762B27B   SHIRLEY      BROWN                        DC     90005936676
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2431BA29831433   GINA           ANTHONY                    MO     90001450298
2432142825B271   FEDERICO       VEGA                       KY     90010504282
2432257764B588   BRAHAYAN       COTA                       OK     90014125776
24322916187B59   LISA           BUDD                       AR     23072209161
24323192772B42   ERIKA          GUILLEN                    CO     90014091927
2432362719189B   KAWONNA        WARD                       OK     90014836271
2432377227B471   TIAZSA         PARHAM                     NC     90014697722
2432434284B588   BRYAN          ALVERADO                   OK     90013803428
243254A517B358   MAURICIO       GONZALEZ                   VA     90005044051
2432599445B271   JESSICA        WATTS                      KY     68079889944
24325A46A91522   SALVADOR       ORTIZ-RIOS                 TX     90004960460
2432678947B471   MISSY          DUMLAP                     NC     90014697894
2432686185B271   LICET          IMBERT-MATOS               KY     90014738618
2432713814B261   NORBERTO       IBANEZ                     NE     27085791381
2432749274B261   JOSHUA         VILLEGAS                   NE     90014234927
2432754258598B   SARAH          WALSH                      KY     90013485425
24327AA1591828   KIMBERLY       SETWART                    OK     90009010015
243285A274B588   MITCHELL       EVANS                      OK     90014855027
243291AA69155B   EDUVIGES       VILLA MORENO               TX     90008261006
24329A3535B571   SERGIO         AGUILAR                    NM     90004360353
2432B818891953   JOSEFA         GONZALES                   NC     90013568188
2432B886A5B271   NATHANIEL      PEARSON                    KY     90015128860
2433238574B261   JILL           SMARTY                     NE     90014673857
2433247A181644   JOSEPH         COSTANZA                   MO     29062944701
24332588A91241   LESLIE         JOHNSTON                   GA     14570615880
24332914187B87   EDNA           DUNN                       AR     23088799141
2433322A591828   SERGIO         CABELLO                    OK     90011002205
243339AA87B471   GREENE         ALESIA                     NC     90011409008
2433565175B271   TREMIKA        MITCHELL                   KY     90012166517
2433631A45B571   ISRAEL         MEDINA                     NM     90010573104
24336567A91522   JOSHUA         CHAVIRA                    TX     90012285670
24337689A72B88   CECILIA        LOPEZ                      CO     90014816890
2433796417B471   QUINTIK        BERRY                      NC     90014729641
24337A8294B588   EVA            ROUBERT                    OK     21558260829
243382A6557157   TRAVIS         TUCKER                     VA     90012122065
2433868615715B   CARLOS         RODRIGUEZ                  VA     90000926861
24339864A71935   NANCY          HARVEY                     CO     90007438640
24339A3A472B88   HECTOR         VELOZ LUEVANO              CO     90007310304
2433B417651325   LUIS ALBERTO   CALIX                      OH     90013124176
2433B74A57B449   CHARLES        CLARK                      NC     11058077405
2433B81987B471   LORENZO        LEWIS                      NC     11003548198
2433B878831453   CASSANDRA      KEYES                      MO     90015118788
2433B949331453   JASMINE        JAMES                      MO     90013839493
2434133A331453   ALICIA         GARCIA                     MO     27509103303
2434221879794B   CHRISTOPHE     MARTIN                     TX     74004632187
243423A3991953   IVAN           SINDORF                    NC     90015123039
24342A3895B571   JOHN           TROISE                     NM     35045180389
24344558372B88   RONAL          PEDRIN                     CO     33045845583
2434566164B588   MARIA          JAY                        OK     90010456616
24345A53155957   MICHAEL        TAYLOR                     CA     48090640531
24346A5A39155B   JUANITA        MERCADO                    TX     75075010503
24346A89984364   DELVETON       CHESTNUT                   SC     90013370899
2434857162B27B   RICARDO        LOVE                       DC     90012565716
2434938792B27B   XAVIER         WYNN                       DC     90014103879
243494AA39155B   DOMINGUEZ      DAVID                      TX     90011244003
2434982A15B271   CARMEN         BORDES INFANTE             KY     90013238201
24349A55587B87   SHARON         CHAPMAN                    AR     90014290555
2434B224291356   BETTY          FARMER                     KS     29019642242
2434B478A7B449   PEDRO          BARRON                     NC     90011254780
2434BA66647952   CINDY          KING                       AR     90008040666
2435128439184B   KOURTNEY       STONE                      OK     90009862843
2435132A291953   GABRIELA       GUZMAN                     NC     90013973202
2435135A991541   JOE            RIVERA                     TX     90010933509
24351465972B42   JORGE          VIZARRO                    CO     90011944659
2435272A691828   SHANE          REED                       OK     90014757206
24354177672B88   AGUIRRE        MISAEL                     CO     90007401776
2435421A65B271   TASHANNA       BOLDEN                     KY     90006932106
24354882172B25   NICOLE         PALMA                      CO     33098338821
2435517152B27B   ANTHONY        STODDARD                   DC     90014571715
243553A357B449   NAHOMY         BELEN                      NC     90013423035
24355624A4B588   APRIL          TURNER                     OK     90008446240
2435568325B571   JESSE          DICKERSON                  NM     90004566832
243564A1A81644   ASHLEIGH       CRAVEN                     MO     90013954010
243566A9A91356   JENNY          MCINTYRE                   KS     90005706090
2435713A94B261   KEVIN          WIMES                      NE     90014281309
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2435734A372B32   CRISTINA     VILLALON                     CO     90007483403
2435857777B449   SHERIKA      STREETER                     NC     90008605777
2435884444B261   LUIS         MORAN                        NE     27033918444
2435946344795B   JUSTIN       HUNSLEY                      AR     25058524634
243597A6172B42   JANIE        IALPANDO                     CO     90012917061
2435B23484B261   LUCAS        LACY                         NE     90011522348
2435B35755715B   LEONEL       GUADALUPE VILLA LOBOS        VA     90004503575
2435BAA9A55957   KIMBERLY     UTIERREZ                     CA     90013000090
24361369A5B161   KENESIA      DAVIS                        AR     90004153690
2436148169184B   JENIFER      BODIRSKY                     OK     90014314816
24361A54931445   SHONTA       WEBB                         MO     27511510549
2436222135B161   SHARON       TURNER                       AR     90014152213
24362345172B88   MICHELLE     JACKWAY                      CO     90006273451
243628A5172B32   JOSE         HERNANDEZ                    CO     90010778051
24364875972B42   PRECIOUS     GAMA                         CO     90004468759
24364A8937B449   BLANCA       TORRES                       NC     90014480893
24365587672B42   JIMMY        GONZALES                     CO     90010935876
2436711514B261   MELANIA      FRANCO                       NE     90014621151
2436737A491953   VU THOI      NGUYEN                       NC     90013533704
2436759262B27B   SHAWN        BUTTS                        DC     90008265926
2436778289155B   VICTORIA     AGUILAR                      TX     90011567828
24367868A7B449   AMBER        NUNUZ                        NC     90002618680
24367975872B88   ANTHONY      JIMENEZ                      CO     90012909758
2436823615B271   CARLOS       ALBERTO                      KY     68088972361
2436829954B281   CHERI        LAING                        NE     90007532995
2436911A35B271   REBECCA      MCCUBBINS                    KY     90014781103
24369215A31433   SHERICO      WHITE                        MO     27574332150
24369657A4B261   DEANNA       JAYNES                       IA     27007696570
2436B118181644   MIGUEL       MENDOZA                      MO     90014671181
2436B417972B32   DAVIEN       GARCIA                       CO     90013194179
2436B647847952   WILLIE       LOVE                         AR     24095716478
2437137A255957   PAUL         GARCIA                       CA     90015173702
24371A39772B88   DANNY        MATTORANO                    CO     90000620397
24372287872B42   ALEX         GOUDESEUNE                   CO     90013172878
243723A3671935   MARIA        HERNANDEZ                    CO     90010413036
24372634A91522   ROCIO        CARMONA                      TX     90013646340
2437265AA31479   MONIQUE      SLEETS                       MO     90013136500
2437349522B242   LATIA        PLOWDEM                      DC     90007754952
243734A5184364   CRUZ         BERRIO                       SC     90013654051
2437353172B27B   DAJUAN       ROWN                         DC     90012785317
24373611872B42   TAVIA        EMERSON                      CO     90014146118
2437381168594B   DONTAY       CARTER                       KY     90003658116
2437388A987B59   CD           RICHARDSON                   AR     23024938809
24373A54A55957   LEE          TAMAYO                       CA     90004680540
2437439854B261   ALEXE        ANDERSON                     NE     90009713985
2437447837B471   REBECCA      DAVIS                        NC     90011104783
24374523A91522   ABIGAIL      MENDOZA                      NM     90010415230
24375123872B88   ANTHONY      CHAVEZ                       CO     90012791238
2437518215715B   MD           JAKIR HOSSAIN                VA     90013681821
2437571965B271   GARY         RANSCHERT                    KY     68002037196
24375A1AA31631   MICHELLE     THORNTON                     KS     22095180100
2437623619794B   ALEJANDRO    MARTINEZ                     TX     90003192361
2437631A791541   KARLA        MONTES                       TX     90012573107
24376548A57133   CARMELO      CHAVARRIA                    VA     90006485480
24376A9635B161   ANGELA       STUART                       AR     23051860963
2437713A32B27B   WALTER       TRIPPLETT                    DC     90011501303
24377179A2B27B   WALTER       TRIPPLETT                    DC     90014761790
2437723A472B42   DIEGO        LOPEZ                        CO     33042532304
2437735A572B88   FRANKLIN     KEELS                        CO     33011243505
2437738684B588   LUIS         MOLINA                       OK     90007323868
2437828A931453   STEVEN       SMITH                        MO     90009192809
243787A2155931   ISMAEL       MAZANO                       CA     49084257021
24378A33791522   ZAMORA       ANGEL                        NM     90011610337
24379566172B32   RAYMOND      BURCH                        CO     90014495661
2437B12245715B   DAVID        CRUZ                         VA     90000901224
2437B41A191356   ARELY        DOMINGUEZ                    KS     90008744101
2437B454155957   ALBERT       COTA III                     CA     48069024541
2437B7A637B449   KWON         RATLIFF                      NC     90007927063
2438148539155B   RAFAEL       BELTRAN                      TX     75071924853
24381A12191953   MICHELLE     MAH                          NC     90012330121
24382412872B88   KAREN        SANDOVAL                     CO     90011594128
2438298754B588   ABIGAIL      MALLONEE                     OK     21557969875
2438342682B27B   EDWARD       HARRIS                       DC     90013614268
24383673A7B471   EMMANUEL     GBARBEA                      NC     11091166730
24383A3264B588   MARIN        KARINA                       OK     90014010326
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24384167A91828   BRIANNA       DAILY                       OK     90013241670
2438435655B271   BRAD          JEFFERY                     KY     90010493565
24384448A71935   MARIO         FLORES                      CO     32040604480
2438497399184B   JENNA         DOBSON                      OK     21011759739
24384AA4241263   MIKE          JOHNSON                     PA     90013440042
2438594379155B   CARLOS DIN    DE LEON                     TX     90010439437
243861A2281644   REBEKAH       MILLSAP                     MO     90012201022
2438713797B449   RONY          ORELLANA                    NC     11003811379
2438731595B271   CRISTIANE     SANTOS                      KY     68009043159
2438744469184B   BRITTANY      CHAPLIN                     OK     90009864446
2438747614B261   JULIA         RELFORD                     NE     90013354761
24387793A91828   TREY          STEVENS                     OK     90010797930
24387AA6985999   MARIO         GERMAN-LECHUGA              KY     90010610069
2438893977B471   JOSEPHINE     STARR                       NC     90014699397
2438965279155B   YOMARA        MENDEZ                      TX     75007476527
2438B137872B42   BARBRA        MAES                        CO     33084961378
2438B564781644   SANDRA        RAMOS                       MO     90014945647
2438B788A41245   JAMES         JONES                       PA     51041477880
24392914724B55   NELSON        MARTINEZ                    VA     81046259147
24392A2154B588   GUADALUPE     CORTEZ                      OK     90015280215
24392A9119189B   ANEL          ALVAREZ                     OK     90010250911
2439313A55715B   LORDA         CHAVARRIA                   VA     81043761305
24394495676B4B   ASHLEY        ABELL                       CA     90012414956
2439478727B449   KIRK          DAVIS                       NC     11061487872
24394879272B32   BARRETT       JEREMY                      CO     90007278792
243948A9257157   BONNIE        NAPPER                      VA     81011358092
2439529125715B   EDELMIRA      REYES                       VA     90000302912
24395769372B88   RUYOU         WANG                        CO     90012707693
2439672434B261   MONICA        ROBINSON                    NE     90002477243
243972A4171935   EDIN          TALOVIC                     CO     90003382041
2439782A291828   TAMISHA       RIVETS                      OK     90011468202
2439895577B449   PAYGO         IVR ACTIVATION              NC     90013669557
24398A25472B88   JESSICA       SANCHEZ                     CO     90011490254
24399165972B32   JONELLE       CASAREZ                     CO     33081441659
2439944578B332   MELISSA       PRESSLY                     SC     90012554457
24399761A9189B   KARRA         SULLIVAN                    OK     90009317610
243999A6A47952   NORLEEN       MILLER                      AR     90007319060
24399A2A724B55   WILLETTA      CARTER                      DC     90009380207
2439B74455B271   KEVIN         DIEHL                       KY     90013227445
2439B77787B449   BERTHA        MILLER                      NC     11088637778
2439B853241261   TONI          TAYLOR                      PA     90001068532
243B111484B588   BRANDI        GILKEY                      OK     90013361148
243B143A49184B   JAMES         NOWLIN                      OK     90011544304
243B155757B449   THEODORE      BROWN                       NC     90011735575
243B162A585951   ASHLEY        BATTS                       KY     90001756205
243B1998A2B27B   SHONTIA       PANNELL                     DC     90011579980
243B2357191356   JAIME         HERNANDEZ                   KS     90007793571
243B2416371935   CHRISTOPHER   MCCULLOCH                   CO     90015134163
243B2737A91828   CHRISTY       HAMILTON                    OK     90010247370
243B2AA285B57B   MARK          GURULE                      NM     90010060028
243B3952991522   JORGE         GONZALEZ                    TX     90005499529
243B4145791522   VIRGINIA      LUDWIG                      TX     90013801457
243B4661531453   JIMMY         LASTER                      MO     27538726615
243B4A8A39189B   JAMES         TODD                        OK     90014570803
243B5531572B32   LYNNE         CHAVEZ                      CO     90010415315
243B593155B271   DALE          KELLEY                      KY     90003519315
243B615919794B   JOSE          MOLINA                      TX     90007041591
243B64A9472B88   KRYSTA        WALTERS                     CO     90011594094
243B7194897122   MONICA        RUIZ                        OR     90009731948
243B792929155B   PRISCILA      HERRERA                     TX     90009229292
243B9118481644   SOLOMON       ABEBE                       MO     90009341184
243B9483184364   SYRAN         AUSTIN                      SC     90008854831
243B953A272B88   MICHAEL       GOMEZ                       CO     90000395302
243B9882171935   JASON         STANLEY                     CO     90012878821
243BB498A72B42   MINOTT        TANA                        CO     33016254980
243BB974657157   DEION         JACKSON                     VA     81088309746
243BB976861937   FABIAN        BERNSTEIN                   CA     90014009768
243BB981772B88   MARIA         RODRIGUEZ                   CO     90004209817
24411946872B88   RICARDO       RODRIGUEZ VAZQUEZ           CO     33046719468
2441259945B271   MARK          PIERCE                      KY     90013025994
24412994A31631   MARCELO       ALFARO                      KS     90001139940
2441331157B449   CRYSTAL       MILLER                      NC     11006733115
2441349815B271   TANISHA       COOK                        KY     68045644981
24414183472B42   ANTOINETTE    MARTINEZ                    CO     33075451834
2441477574795B   CHRISTINA     GUZMAN                      AR     25064897757
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2441496687B471   MARTHA       CORREA                       NC     90014729668
2441555A24B261   CRISTOPHER   TROTTER                      NE     90005495502
24417154A72B32   RANDY        ARAGON                       CO     33011121540
2441774495B571   MARIA        ARREDONDO                    NM     90009957449
244177A875B161   DECHAUNTA    KENDRICK                     AR     90009177087
24418218672B32   EFREN        GARCIA                       CO     90000802186
24418811872B42   CLAUDIA      SIMENTAL                     CO     33078578118
2441885289184B   CAMERINO     JIMENEZ                      OK     90009928528
2441885A94B588   BRITANI      STEWART                      OK     90015048509
2441934664B261   JENIFER      WINSCOT                      NE     27003813466
2441963552B931   ALBERTO      VASQUEZ                      CA     90003346355
24419649A7B471   TIANA        GORDON                       NC     90014706490
2441B122A31433   PAMELA       ADAMS                        MO     27589171220
2441B188191953   CARMEN       AGUILAR                      NC     90014991881
2441B316184344   BEVERLY      HILZENDAGER                  SC     19050983161
244217A2271935   AMBER        GABELMAN                     CO     90012987022
24421A1199189B   STACY        LOPEZ                        OK     90013540119
24422258A5B232   MICHELLE     EDWARDS                      KY     90007462580
244225A749189B   SHEREE       ELMORE                       OK     90010525074
2442291217B449   CHAKIRA      WOODARD                      NC     90014599121
24422AA927B449   REGINA       SMITH                        NC     90009850092
2442381754B588   SILVER       FRIES                        OK     90010358175
24424199776B62   SCOTT        SPRIMONT                     CA     90013101997
24424215A72B42   KACEY        CAMPBELL                     CO     33097142150
2442421697B644   LASHONDA     WILLIAMS                     GA     90014012169
2442443815B271   KAYLA        GUEST                        KY     90012054381
2442492535B161   KIMBERLY     LEE                          AR     90014849253
2442494755B571   LAUREN       SADOWSKI                     NM     35095219475
24426682472B88   EDUARDO      SARABIA                      CO     90013416824
24426969A81644   JEFFREY      HOLLAND                      MO     29044819690
24427A5828B394   MICHELLE Y   DAVIS                        SC     90011850582
24428352A9189B   CATALINA     GOMEZ                        OK     90014853520
2442866457B471   ADRIAN       LOPEZ                        NC     90014706645
24428996572B88   LUIS         FRANCO                       CO     33012139965
2442961755B161   BECKY        TONE                         AR     90013626175
2442B136A71935   ROBERT       BOWLES                       CO     90012911360
2442B1A554B261   WALLACE      HARPER                       NE     90015581055
2442B455571935   MEGAN        MCCABE                       CO     90011244555
2442B498381644   CHANELE      CHRISTINE                    MO     29058034983
2442B51A35B271   KIARA        TENNYSON                     KY     90013725103
2442B842872B88   GUSTAVO      SANDOVAL                     CO     33060178428
2442B935171923   JUSTIN       MOSS                         CO     32065679351
2442BA9AA7B471   JAVIER       HERNANDEZ                    NC     90010210900
2443155337B449   GREGORY      BRYANT                       NC     90004535533
24432895672B88   TATIANA      BONILLA                      CO     90013048956
24433976972B88   JEFF LEE     EVANS                        CO     90013159769
24433A9857B471   ANGELICA     BENITEZ                      NC     90003490985
2443494294B261   MEAGEN       JOHNSON                      NE     90014799429
2443513A42B27B   OC           ANDREWS                      DC     90013051304
244352A5431453   TAMMY        ROBINSON                     MO     27547972054
24435A47285938   ADRIANNE     RAGLIN                       KY     90005220472
24435A8829184B   TERI         TERRY                        OK     90012010882
2443715825B271   LILY         B                            KY     90014291582
244376A787B471   LATASHA      CRAWFORD                     NC     11010866078
2443774A672B88   RAUL         REZA                         CO     33067077406
2443782734B281   CORY         PRATER                       NE     90010608273
2443836573B144   JAMES        ROY                          DC     90002443657
24438A61591241   WEDNESDAY    THOMAS                       GA     90013480615
2443995467B471   HANNA        PHIFER                       NC     90009549546
24439A6A49189B   KIM          MICHAEL                      OK     90010050604
2443B27997B471   JASMINE      ROBINSON                     NC     90010432799
2443B795772B42   SHAWN        ELLIOTT                      CO     90012747957
2444184255B161   RUBUN        NIMS                         AR     90013828425
24441A7919184B   MARIA        JONES                        OK     21088010791
2444221824B588   TIMEKA       ALEXANDER                    OK     90014562182
24442682572B88   MARCELO      FLORES                       CO     33041236825
24443173872B88   LENNON       BARNICA                      CO     90014451738
244449A8576B84   FABIAN       MORALES                      CA     90008989085
2444544A631453   DAVID        STICE                        MO     90015274406
24446345A9794B   ALEJANDRO    GONSALEZ                     TX     90006713450
2444678A491828   SHANICE      ROSS                         OK     90008617804
2444691464B261   JOSEPH       KIRBY                        NE     27037979146
2444748A585938   JOSE         GUTIARREZ                    KY     90002304805
2444757769189B   VIRGINIA     HORTA                        OK     90010765776
244476AA771925   DAVID        RYVER                        CO     90002426007
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24447745A7B471   IVAN         MORALES                      NC     90014707450
24448557672B32   MARTHA       CORTES                       CO     90015135576
244487A375B271   LEWETTE      HOTT                         KY     90004517037
2444889672B27B   MILTON       PARKER                       DC     90002348967
2444919855B161   CHRISTOPHE   HEIDELBERG                   AR     23014841985
2444919A84B261   ROY          TOWNSEND                     NE     90011461908
2444988844B588   ATTALLAH     BIRDSONG                     OK     90011068884
24449A9117B274   HUNTER       HAYWARD                      AZ     90011950911
2444B27A172B32   SHEENA       EATON                        CO     90011062701
2444B54447B449   DINA         GARCIA                       NC     90006135444
2444B762891541   SCARLA       CRUZ                         TX     90015207628
2444B781255957   JULIO        DIAZ                         CA     90013317812
2445196387B449   ANTOINETTE   ROGERS                       NC     90013219638
2445228449155B   ELVIRA       BARRAZA                      TX     90004962844
2445258245B161   TAMMY        BURRELL                      AR     23064875824
24452863472B42   KAYLA        SHULTZ                       CO     90012498634
24454218A72B32   MIKE         BEYARD                       CO     90011962180
2445511A791525   LUCY         MARTINEZ                     TX     75088731107
2445557A57B449   TIAFA        BRAWLEY                      NC     90011275705
2445639849184B   SEIGLINDE    OWENS                        OK     21036743984
2445653954B281   PAT          FISHER                       NE     27093035395
244567A6771935   CLEO         MARTINEZ                     CO     32017197067
24456A75591356   SARAHI       HERNANDEZ                    KS     90014330755
2445719347B449   J            ROCK                         NC     90008811934
24457464A85938   JEFF         JACOBS                       KY     90004904640
2445759A47B449   KALIMAH      WILLIAMS                     SC     90011255904
2445873717B471   REGINA       HILL                         NC     90007777371
2445918A263B27   WARREN       MEYERS                       CO     90012461802
2445984647B471   JON          HUGGINS                      NC     90002828464
2445989985B271   JUSTIN       HUFFINES                     KY     68014418998
2445B37445B571   JEANETTE     SHAPPEE                      NM     90011603744
2445B643A5B271   MELISSA      HUBBARD                      KY     90015276430
24462975A4B548   TEENA        LEWIS                        OK     90004549750
24463652672B88   THOMAS       MALONE                       CO     90010146526
244636A6391522   SERGIO       CORDAVA                      TX     90012996063
2446384A74B588   OLAN         JOHNSON                      OK     90012038407
2446421719155B   LUIS         TREVIZO                      TX     90000662171
24465816A91541   IRIS         LEYVA                        TX     90010298160
244658A3651369   MARK         BRADFORD                     OH     90012368036
244666AA372B88   JACSON       MACOSKEY                     CO     90014586003
2446699767B449   TASHA        LEAKE                        NC     90014789976
2446715729189B   JOHNNIE      JOHNSON                      OK     21085371572
2446729565B271   DENISE       BURKHEAD                     KY     90014102956
24467858872B88   LAZARO       GARCIA-RIOS                  CO     33089848588
24468266872B88   ARACELI      MURGA                        CO     33013252668
2446895485B57B   JOSEPH       JARAMILLO                    NM     35030979548
244689A1791522   GERARDO      VASQUEZ                      TX     90011959017
2446913369184B   MICHELLE     BREITHAUPT                   OK     21033301336
24469412A55957   JUAN         ORTIZ                        CA     90013624120
244699A9385938   MELODIE      CLARK                        KY     90009079093
24469A64A2B27B   AL           MILLER                       DC     90013640640
2446B32185B271   CARL         COMSTOCK                     KY     68082223218
2446B73417B471   SUZANA       LOPEZ                        NC     90008907341
24471675291B38   SHA-HE       CROSS                        NC     90011706752
244717A264B261   CARLOS       SALAZAR AGUILAR              NE     90011557026
2447244878B172   LILIA        JIMENEZ-VAZQUEZ              UT     31077924487
24472877872B88   EDWARD       ANTWAN-BELL                  CO     33014208778
2447317454B261   GABRIELA     GOMEZ                        NE     90012711745
244735A529189B   BETTY        VILLA                        OK     90010555052
2447445567B449   DEMONTREUS   WALLACE                      NC     90014174556
2447522352B232   PILAR        PALACIOS RAMIREZ             DC     90004112235
24475798772B32   PATRICIO     MONTOYA                      CO     90011867987
24475A25491953   ISABEL       DE LA CRUZ RUIZ              NC     90012780254
244763A5171935   TODD         ELENGA                       CO     32092933051
24476565372B32   PAULINE      PERKO                        CO     90013065653
24476984272B42   SHARLENE     LITTLE                       CO     33096129842
2447721534795B   TARA         FARIAS                       AR     25073622153
24477498A7B471   ALEJANDRA    RESTREPO                     NC     11003704980
24477841772B32   MATTHEW      HARVEY                       CO     33015238417
2447791167B449   RONALD       JACKSON                      NC     11038129116
2447874A672B88   CEC          BOS                          CO     90014887406
2447952584B588   DENISSE      MENDOZA                      OK     90013595258
2447B39395B161   ALLAN        SMITH                        AR     90015503939
2447B591272B32   HECTOR       CONTRERAS                    CO     90009135912
244813A634B261   DEMO         WHISPERING RIDGE             NE     90010013063
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24481429772B32   JOSIE         MARTINEZ                    CO     90004894297
244827A6A41245   SCOTT         PARSONS                     PA     90002527060
24482A65472B42   AJ            ALLEMANT                    CO     33010210654
2448314637B386   DAMILOLA      FAGBBERNO                   VA     90008761463
24483979A71935   BRIAN         WHITLATCH                   CO     90009959790
24484621772B88   MANUEL        GONZALES                    CO     90004106217
24484A3839184B   HALEY         SLAYBAUGH                   OK     90012680383
2448522115B271   VICKI         GREEN                       KY     90010262211
2448593359189B   BRANDON       TALIAFERRO                  OK     90014759335
2448632A69184B   JENNIFER      ATWELL                      OK     90008723206
2448681A872B32   JADE          JONES                       CO     33017428108
24486A39591241   SHANTE        COX                         GA     90013370395
24486A8649189B   SILVIA        HERNANDEZ                   OK     21001280864
24486A96755957   AMBER         PUCKETT                     CA     90010580967
24487382572B42   JOSE          CHAB MAY                    CO     90013883825
2448785167B471   BRENDA        PATTERSON                   NC     90014708516
24487917576B56   SERGIO        CINTRON                     CA     90015009175
24489362A4B588   JORGE         DE ARO                      OK     90009573620
24489AA9231631   KIM           SLOVER                      KS     90007580092
2448B77547B471   TAMARA        OATES                       NC     90014717754
2448B815872B32   CARLOS        DAVILA                      CO     90011958158
2448B921691953   CRYSTAL       HICKS                       NC     90014969216
2449184622B27B   PATIENCE      OPARA                       DC     90002248462
24492368372B32   ADRIANA       GARCIA                      CO     33071773683
2449285167B471   BRENDA        PATTERSON                   NC     90014708516
24493411872B32   JOSE          GOMEZ                       CO     33092834118
2449349157B449   ROSELYN       MOLLAY                      NC     11000784915
24494116A91241   DONALD        FOWLER                      GA     90007131160
2449441A89155B   AURELIO       HERNANDEZ                   TX     90011244108
2449467517B471   JAVIER        LOPEZ                       NC     90008026751
24495518724B55   EBONY         SHELLEY                     DC     90014815187
2449625639155B   JAVIER        CANALES                     NM     75022622563
2449659557B449   ERICK         WADE                        NC     90011255955
2449661485B571   ROBERT        WILKENSON                   NM     90002876148
2449731777B471   CONSTANCE     BELLE                       NC     11017653177
2449742879155B   ARACELI       HERNANDEZ                   TX     75058324287
2449848A75B161   JOSE          PAZ                         AR     90002244807
2449888757B423   ALCIA         ALLISON                     NC     90001698875
244988A6372B42   ALAN          RAMIREZ NORBERTO            CO     90012138063
24499492A5B257   CHRISTOPHER   MARTIN                      KY     90011914920
2449949619189B   RUTH          LEWIS                       OK     90012184961
2449985167B471   BRENDA        PATTERSON                   NC     90014708516
24499A7154795B   FERNANDO      URESTI                      AR     25075650715
2449B113491356   SHAWN         AXE                         KS     90010571134
2449B85167B471   BRENDA        PATTERSON                   NC     90014708516
244B1888991541   RAFAEL        RAMIREZ                     TX     75065788889
244B1A3289189B   DAVID         VANDYNE                     OK     21076840328
244B256965B536   CESAR         VELAZQUEZ                   NM     90009965696
244B2881284364   JORGE         VAQUIER                     SC     90012518812
244B2954181644   ALICIA        OLIVER                      MO     90006919541
244B3417155957   JOSE          ROSAS                       CA     90003724171
244B384849184B   ABBEY         GREGORY                     OK     90003768484
244B3861A98B32   ANNIEBELLE    SMITH                       NC     90001238610
244B395284B588   DORLYN        GOMEZ                       OK     90014999528
244B497217B471   BOBBY         CURRIE                      NC     90014699721
244B5688772B32   MAGDALENA     CORRALES                    CO     90014176887
244B6319272B32   MARLENE       ZAHN                        CO     33041233192
244B6634A5B161   ANTOINETTE    WILLAIMS                    AR     23092286340
244B6716591828   ANAHI         GUZMAN                      OK     90012997165
244B6A21131631   JACLYN        LINARES                     KS     22084570211
244B6A67272B42   JASON         SMITH                       CO     33000090672
244B7221191828   ALEXIS        KING                        OK     90001632211
244B7365355957   BRENDA        JARAMILLO                   CA     90013343653
244B7591681644   SAUL          GARCIA HERNADEZ             KS     90010335916
244B7818472B32   ARACELI       SANCHEZ                     CO     90012908184
244B7947472B42   DANYELLE      BRISENO                     CO     90010179474
244B7998384364   RAMON         MORALEZ                     SC     90011279983
244B8148A91356   JAMESHA       PRICE                       KS     29007121480
244B817632B32B   MAICO         BARILLAS                    CT     90013961763
244B83A357B449   NAHOMY        BELEN                       NC     90013423035
244B848564B281   JENNIFER      MADDOCKS                    NE     90013114856
244B8A6A99184B   MISHA         SHAFFER                     OK     90015170609
244B9237972B32   JULIO         RODRIGUEZ                   CO     33093972379
244B927135B271   JENNA         PARRIS                      KY     90015122713
244B9788A91541   MARIA         GALLARDO                    TX     75057627880
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244BB15175B161   DAMARCUS     THROWER                      AR     90013901517
244BB257272B29   ANGELA       GRAHAM                       CO     90014562572
244BB476987B59   SHANNA       YOUNG                        AR     23056344769
244BB676A91953   TERRIKA      IRVIN                        NC     90007716760
244BB936931453   ANTHONY      SIMINO                       MO     90014879369
244BBA59372B88   JEFFREY      LANGFORD                     CO     33092640593
2451151A85B161   LASHAWN      GULLETTE                     AR     90014745108
24511572472B32   TONY         MARTINEZ                     CO     90014595724
24511A9679155B   VERONICA     AGUILAR                      TX     75041300967
2451282AA7B471   CHAQUITA     MATHIS                       NC     90014718200
24513347A91953   DARLENA      HOOD-WRIGHT                  NC     90012183470
2451389449189B   DUSTIN       CULVER                       OK     90012258944
2451434964B588   NANCY        MCKINNEY                     OK     21532753496
2451465567B471   TAMEKA       EDWARDS                      NC     11059636556
2451473524B261   JOAN         MAGLICIC                     NE     27093857352
2451486A491241   LOUISE       PRATHER                      GA     14589068604
2451533AA72B32   GILBERTO     MENDEZ                       CO     33063093300
24515947472B88   FORTUNATO    MONROY                       CO     90002039474
245164A2884364   DAVID        SCOTT                        SC     90005484028
2451658412B27B   JEANIE       BATES                        DC     90010395841
2451697994B261   ROCHELLE     BELGRAVE                     NE     27085249799
245173A239189B   LISBETH      ZUNIGA                       OK     90000213023
24517894572B88   TERESA       LOTTIE EARLE                 CO     90008438945
2451917584B588   JUDY         LOUNSBERRY                   OK     90009351758
2451978145B936   PATRICK      STENHOUSE                    WA     90012887814
24519987372B42   ANASTACIO    GARCIA                       CO     33090529873
2451B593184364   MARQUES      BROWN                        SC     19020895931
24521223287B87   RENARTA      GIVINS                       AR     90007762232
24521A47A8B159   COLTON       BENSON                       UT     90009590470
2452213A281644   KAT          ALEMAN                       MO     90011411302
2452248914B281   JAMES        BACON JR.                    NE     27087464891
24522612A5B271   TENISHA      COMPTON                      KY     90013376120
245226A6791828   LADONNA      PICKUP                       OK     90014636067
2452282535B571   LINDA        SHAKESPEARE                  NM     90000618253
2452293958B15B   MELANIE      LLOYD                        UT     90008729395
2452352885B271   ANGELA       KENNEDY                      KY     90010875288
2452498A67B471   CLAUDIA      LAYNEZ                       NC     90010249806
2452579384B261   MICHELLE     SMITH                        NE     27016837938
2452683415B571   GRISELDA     RAMIREZ                      NM     35017088341
24526894172B88   BARRON       FILEMON                      CO     33053548941
24526A5A785938   JOEL         DIAZ                         KY     90003040507
2452749757B666   LINNETTA     HOSEA                        GA     90013444975
24527798A71935   GUADALUPE    VERA                         CO     32046667980
245286A4181644   ERIC         JONES                        MO     29094726041
24529161876B49   LAURA        ARMENTA                      CA     90008041618
245292AA791541   DINA         VILLALOBOS                   TX     75091042007
2452B17829184B   JANICE       THOMAS                       OK     90007001782
2452B357572B42   SYLVIA       TAMIRANO                     CO     90014023575
2452B4A5A7B471   DELORIS      BATES                        NC     90003024050
2452B753984364   CHRISTOPHE   MCGEE                        SC     19002957539
2452BA4AA7B449   KRISTNE      GLADDEN                      NC     90010360400
24531A2945B161   DAVID        MOSLEY                       AR     23084930294
24532933972B32   ANGELICA     CASTILLO                     CO     33057639339
2453338175B161   GERI         MILLER                       AR     90009493817
24533684672B32   JORGE        VALDOVINOS                   CO     33082456846
24533A8522B242   CHIDI        NWOSU                        DC     81012060852
24534337972B23   STEPHEN      RODDAM                       CO     90011673379
2453485549189B   MAADOLFINA   MONDRAGON                    OK     90012638554
2453544734B281   DIANA        CONTRERAS                    NE     90010544473
24535A2339184B   ANAI         PALACIOS                     OK     90009880233
2453635924B588   SHELA        RIGGIE                       OK     90011903592
245363A755B571   VANESSA      LUCERO                       NM     90006053075
2453694145B161   LATONYA      DAVIS                        AR     90014919414
24537799772B21   SUSANNA      WINN                         CO     90004307997
24537A1A691356   CYNTHIA      PULIDO                       KS     90014430106
24537A48A7B471   RUDY         AGUILA                       NC     90014710480
2453821724B281   JENNIFER     SILKETT                      NE     27054352172
2453825799189B   CARLESHIA    WHITE                        OK     21064792579
24538384A84364   JUDY         WALTERS                      SC     90014093840
24538938872B88   ZACKERY      OSTHEIMER                    CO     90001079388
2453978975B271   DANA         BARNETT                      KY     90013347897
2453995615715B   ANTONIO      BACALSO 3                    VA     90005079561
2453BA26991953   PHILLIP      LOVERDI                      NC     17077980269
2453BA6A991522   ANNETTE      ARMENTA                      TX     90011050609
24543A4A955957   JENNY        OWENS                        CA     90014620409
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24543A66A9189B   BILLY        COOPER JR                    OK     21067760660
245441A3255957   SUNSHINE     AGULIAR                      CA     48064631032
245442A8871935   RAMON        TORRES                       CO     90012942088
2454475777B471   TONYA        HAMILTON                     NC     90012087577
24544958A72B32   JOSE         BUSO                         CO     90011769580
24544A4512B232   TRACY        FORD                         DC     81015090451
2454542557B484   JENNIFER     MEEKS                        NC     90013774255
24545682972B21   MARGARITA    AGUIRRE                      CO     90002976829
2454613832B27B   JENNIFER     CAMPBELL                     DC     90012731383
2454632A255957   PASTOR       HUERTA-COLMENARES            CA     48057723202
2454638724B281   TERESA       CHAVEZ                       NE     90010613872
2454716294B588   SOFIA        DOMINGUEZ                    OK     90013881629
2454757A561997   HERIBERTO    VARGAS                       CA     46004065705
24548251A91356   BRINA        GEELZUNAS                    KS     90011002510
2454865255715B   ERIKA        PONCE                        VA     90000966525
24548A84931453   MAE          BOUDREAUX                    OK     90013880849
245493A657B449   JENNY        WASHINGTON                   NC     11086173065
2454964945B161   GUCCI        LAFLARE                      AR     90009606494
2454994824B582   WENDY        CASTANEDA                    OK     90012369482
2454B335A91356   KIM          PRYOR                        KS     90012643350
2455258422B27B   ANGELA       GREEN                        DC     81094775842
24552659172B32   KEVIN        DIAZ                         CO     90011466591
24552915591B38   HERBER       VASQUEZ                      NC     90015449155
245529A287B449   DONALD       BROADWAY                     NC     90000849028
24552A8A87B471   CONSUELO     VERA                         NC     90004900808
2455487A947952   WAYLON       HURD                         AR     24007298709
24554A26387B87   RODNEY       SIMMONS                      AR     23012050263
24554A5565B161   KRYSTAL YN   HILL                         AR     90013550556
24555315472B88   SILVERO      LOPEZ JOSE                   CO     90014543154
2455571649189B   ANDY         WILLIAMS                     OK     21066107164
2455586377B449   JONATHAN     SMITH                        NC     11007268637
245565A7855957   ROMELLIA     MELGOZA                      CA     90013555078
24556641A51369   ALLEN        MURRY                        OH     66058256410
2455756179189B   OSCAR        YOUNG                        OK     21056605617
24557729A91541   FRANCISCO    CAMACHO                      TX     75099237290
24558343A72B32   ANGEL        CRUZ                         CO     33039303430
2455881937B471   MELISSA      MONTOYA                      NC     90008058193
24558A3842B27B   RICHARD      MULLEN-EL                    DC     90012180384
2455985555B161   LARRY        DAVIS                        AR     90008088555
2455B12435B161   JAMES        LOVE                         AR     90014511243
2455B33892B27B   DOMINIQUE    EASTERLING                   DC     90015303389
2455B417A72B88   RAQUEL       POOL                         CO     90015214170
2455B44685B271   SHLBY        JACKSON                      KY     90012054468
2455B474481644   JAMI         MORRIS                       MO     90011694744
2455B99154B281   JESSICA      ASHCRAFT                     NE     90010479915
2456136653B324   DAWN         VIGIL                        CO     33085463665
24561439672B42   BRIAN        GRAGG                        CO     90006424396
245614A149155B   MONICA       VIDANA                       TX     75065814014
2456166527B449   JANICE       RAY                          NC     11008226652
2456185269189B   PAUL         MOURA                        OK     90013198526
2456227524B588   GERMON       GONZALEZ                     OK     90009072752
24562A42672B42   ERNESTO      CARAVEO                      CO     90010220426
245633A2272B88   ELIZEBETH    BAKER                        CO     90013073022
24563829572B88   ELIZEBETH    BAKER                        CO     90011148295
2456398782B27B   DION         SMITH                        DC     90015189878
2456439679184B   JENNIFER     SOUTH                        OK     21052373967
24564448A7B362   MISRAK       ZELEKE                       VA     81059504480
2456473562B232   MICHELLE     MCKENZIE                     DC     90004117356
24564A6757B471   ROXANNE      DAVIS                        NC     11092040675
2456547A684364   JESSE        HENDERSON                    SC     90014034706
24565557572B42   RICH         HERNANDES                    CO     33021625575
2456565344B588   TRAVIS       MEEK                         OK     90008526534
245659A872B931   ESTHER       ANGUIANO                     CA     45089899087
24565A2269184B   MARY         HITCHCOCK                    OK     90014780226
2456629437B449   SHEILA       HUBERT                       NC     11044032943
2456721725B271   ANN          MS.                          KY     68044062172
24567465172B42   KASIE        JARAMILLO                    CO     90008534651
2456B128791953   SIMONE       THORNTON                     NC     90013741287
2456B73844B588   BILLIERAE    EDWARDS                      OK     90012987384
2456B74599155B   AIDE         MORALES                      TX     90008997459
2456B949791541   MARIA        HERNANDEZ                    TX     75015819497
2457179454B588   ANTONIO      ORTIZ                        OK     90007287945
2457238675B271   JESSICA      AVIS                         KY     90013863867
24572A32184364   PARIS        GREEN-SMALLS                 SC     19049790321
245731A477B471   GREGGORG     COVINGTON                    NC     90010211047
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2457352747B449   ANTOIN           GRAVES                   NC     90014135274
2457413A955957   CHRISTINA        CONTREAS                 CA     48055371309
2457452885B271   ANGELA           KENNEDY                  KY     90010875288
2457494894B588   CHAD             RUIMVELD                 OK     90009629489
2457519115B571   IRIS             OROZCO-SOTO              NM     35011461911
2457549522B242   LATIA            PLOWDEM                  DC     90007754952
24576122872B32   NATHAN           PETERSON                 CO     90014911228
2457661A35B271   WILIAMS          PEYTON                   KY     90012886103
2457665344B588   TRAVIS           MEEK                     OK     90008526534
24577A78384364   CHRISTOPHE       HAYES                    SC     19043380783
245795A744B281   RIKKI            CASAREZ                  NE     90010615074
24579975A91541   ISABEL           VILLA                    NM     90012139750
2457B612691528   SHANTELL         EDGERTON                 TX     75093766126
2457B63A584364   JONATHAN         SEABROOK                 SC     90011486305
2457B71832B27B   CARL             BROWN                    DC     90011367183
2457B767491541   LORENA           GAMBERT                  TX     90011127674
2457B94A391953   SZILARD          PUSZTAFALVI              NC     17033709403
2458234A39155B   PETRA            BARRERA                  TX     75098053403
2458237853B358   ANGELICA         RIVERA                   CO     33015803785
2458245637B449   YAKIRA           BELLAMY                  NC     90007124563
2458262A791356   ANGELA           KIESLING                 KS     90013606207
2458269779184B   DWAYNE           REED                     OK     90014836977
24582768587B87   JOSE             MALAVE                   AR     23054467685
2458346A293742   TIFFANY          BROWN                    OH     90009454602
2458357354B588   RAELINDA         GALLAGHER                OK     90012895735
2458434A29189B   RAENASHIA        DAVIS                    OK     90006203402
245845A474B588   DEMETRIA         WASHINGTON               OK     90014885047
24584A33891356   ANDRE            ALLEN                    KS     29007180338
2458514375715B   MARLENA          MELENDEZ                 VA     81028371437
24585712872B32   GRISELDA         MERCADO MONTENEGRO       CO     33054537128
2458572A684364   MARY             WARING                   SC     90006527206
2458584344B261   JANICE           VELASQUEZ                NE     27061198434
24585A25A57157   EMMANUEL         OPOKU                    VA     81023160250
24586483972B21   MIKE             MARTIN                   CO     90004214839
2458673884B588   RAYMOND          BELL                     OK     90010177388
2458682195B271   CONNIE           DENNIS                   KY     90011148219
2458743755B161   MARGARET         ODEM                     AR     23068944375
2458746A451338   KEVIN            BOGAN                    OH     66007654604
2458747549184B   RANDY            PRIDGIN                  OK     90012354754
245876AA16193B   JUARRES          ERICXK                   CA     90001666001
24587775A81644   MONIKA           SAMUELS                  MO     29086047750
2458779729155B   SERGIO           TREVISO                  TX     90002297972
2459145768B16B   HANNAH           JONES                    UT     31004044576
24591561A91522   RENE             VELAZQUEZ                TX     90013325610
2459263767B449   NURIS            MOREIRA                  NC     90011256376
2459314A241245   MISHA            MCSHANE                  PA     90000521402
2459395379152B   ARLET            GARCIA                   TX     90014879537
24593AAA17B449   SASHA            COOK                     NC     11047960001
2459445A131631   JESUS            RETANA                   KS     22013214501
24594484A72B88   OSCAR ARMANDO    ALVARADO PREZA           CO     90008414840
2459461945B271   ANDI             RAMIREZ                  KY     90015136194
24594A7829794B   JULISSA          SALAZAR                  TX     74016070782
2459535A172B32   LILIANA          LIMAS                    CO     90009603501
2459539838B132   GERALD           RACKHAM                  UT     90011663983
245958A4191828   JAVIER           GUTIERREZ                OK     90009428041
2459639A47B449   JANAE            JOHNSON                  NC     90002143904
2459665822B27B   DANIEL           GONZALES                 VA     81015906582
24596A96191522   IRMA             DAVILA                   TX     90008260961
24596AA4791541   SANDRA MARCELA   PEREZ                    TX     90013460047
245972A7891828   NEIL             SIFFERATH                OK     90009772078
2459742A94B261   CHRISTINA        CHINOWTH                 NE     90000654209
24597432A7B449   SHAWANDER        ALSTON                   NC     90013384320
2459755129794B   NORMA            GONZALES                 TX     90006825512
245975A5872B88   JUAN             DELA CUERDAS             CO     90012095058
24597A62491541   MARICELA         GONZALEZ                 TX     90014880624
2459912449189B   SAHIRA           GASPAR                   OK     90013241244
2459922A44B28B   KATHLEEN         WHITE                    NE     90007042204
24599798A5B161   ANTHONY          STALLCUP                 AR     23092887980
2459B1A429184B   AMANDA           EWING                    OK     90012731042
2459B426A72B42   KEVIN            REYNOLDS                 CO     90013554260
2459B631A4B281   HEVER            HERNADEZ                 NE     90012326310
245B1122291953   ALEX             JONES                    NC     17043821222
245B176682B232   GILMAR           ARIAS                    DC     81005157668
245B2319A9184B   KASANDRA         PILANT                   OK     21094553190
245B2551A71935   ASHLEY           GALPIN                   CO     90011245510
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245B2622972B42   MURPHY        REGINA                      CO     90010496229
245B297A53B171   LARRY         BLACKWELL                   DC     90005099705
245B3859591B38   JASMINE       BANKS                       NC     90015388595
245B3A2945B571   SHELLYANN     BACA                        NM     90010510294
245B498629189B   ADRIAN        ESPINOZA                    OK     90012889862
245B5272391356   SANDRO        GARCIA                      KS     90014922723
245B541154B588   CHRISTOPHER   BLANCHARD                   OK     90012524115
245B613A281644   KAT           ALEMAN                      MO     90011411302
245B685595B571   GABRIRLA      MUNOZ-LEYVA                 NM     90011618559
245B7133891241   KIMBERLY      MCDONALD                    GA     90012961338
245B73A9484364   NAKIA         LEWIS                       SC     19046023094
245B7664A24B55   SHIRLEY       HAMLETT                     VA     90012466640
245B7716291953   HARD          CORE                        NC     90012287162
245B7839141229   KATHY         VOLPONI                     PA     51040308391
245B8566472B32   VERONICA      MARTINEZ                    CO     90013065664
245B8686785938   STACY         GUMM                        KY     90003026867
245B8879331631   LARRY         ZENNER                      KS     22091848793
245B9156871935   MINNIE        RIVERA                      CO     90011921568
245B9381131631   EDUARDO       BRAVO                       KS     90010353811
245B9912191828   CRISTOBAL     DIAZ                        OK     90008219121
245B9A29491522   MICHAEL       DUMOULIN                    TX     75027460294
245B9AA2155957   DAILENE       CALDERON                    CA     90012800021
245BBA6559189B   FOUSTO        RANGEL                      OK     90013670655
246113A157B449   MAXINE        WASHINGTON                  NC     90013923015
2461177312B232   YVETTE        MILES                       VA     90010707731
246117A1791241   FRANK         ELMORE                      GA     90012467017
24611923187B59   BYRON         GREGORY                     AR     23058869231
2461225599189B   ALMARELY      ROJAS                       OK     90011502559
2461326485715B   MERRY         SHOBEIRI                    VA     90000982648
246155A6691828   KENNIE        MORALES                     OK     90006225066
24615962172B88   MARTIN        RODRIGUEZ                   CO     33031229621
24617517172B88   SUNNY         ROBARDS                     CO     90014895171
246175A7281644   CHERISE       CLEMENT                     MO     29022615072
2461835954B281   MICHAEL       CRAVEN                      NE     27095493595
2461849195B161   CARL          GARNER                      AR     90012384919
2461868A641245   KENNETH       BROWNFIELD                  PA     51068856806
2461889A181644   RAFAEL        GUTIEREZ                    MO     90014158901
2461963257B449   ROCHELLE      CARTES                      NC     90014406325
24619A4429184B   ANTRON        WRIGHT                      OK     90011800442
2461B296391541   ANGELICA      SANCHEZ                     TX     90014602963
2461B591691356   GLADYS        RECINOS                     KS     90012385916
24621A48851329   TYLER         HAYS                        OH     90012620488
2462288124B588   JENNIFER      WARRIOR                     OK     90006518812
2462316219155B   MIGUEL        FLORES                      TX     90010481621
2462332999794B   MGADALENA     PEREZ                       TX     74028633299
2462359A293757   FRANK         PUJIA                       OH     64556165902
24623869472B32   DOUGLAS       BULLARD                     CO     33078238694
2462487822B27B   DEVAUGHN      JARVIS                      DC     90010208782
24624A19791541   ELI           TOTO                        TX     75098620197
24624A51A71948   BLANCA        TODAKEE                     CO     32066890510
2462522472B931   EDNA          WATKINS                     CA     45037532247
24625343A81644   DAVID         MALLONEE                    MO     90003823430
24625384872B32   RUBEN         RODRIGUEZ                   CO     90001263848
2462551599155B   JAIME         BENITEZ                     TX     90011245159
2462559864B261   DEBORAH       BAKER                       NE     27089285986
2462593679184B   PRISCILLA     ESCARSEGA                   OK     21010239367
2462613179155B   ARCELIA       VELASQUEZ                   TX     90013631317
2462629A891828   JOHN          ROSE                        OK     21098452908
24626314472B88   CHRIS         PARMITER                    CO     90009373144
24627195372B42   JESUS         BUSTILLOS                   CO     90012151953
24627787672B88   MONIQUE       GARCIA                      CO     90014577876
24627A44341245   ALMA          JOHNSON                     PA     51039990443
24627A99391828   DEIDI         CRUZ                        OK     90012410993
2462823AA91522   NADINE        ULLRICH                     TX     75063962300
24628953A71935   APRIL         GARCIA                      CO     90013039530
2462B372291522   ARACELI       ATILANO                     NM     75024153722
2462B9A794B588   JARRID        DUPUIS                      OK     21564529079
24631867372B42   MARISOL       QUIROZ                      CO     33017358673
24632244972B88   JOSEPH        GARCIA                      CO     33026982449
24632397172B42   JEANNETTE     ALVAREZ                     CO     33093023971
2463349422B931   ALEXANDER     ULLOA                       CA     90013744942
2463438649184B   PARSCHE       BARNETT                     OK     90013933864
24634492272B32   MARTINA       CHAVEZ                      CO     90012454922
2463451A672B88   RODRIGO       PEREZ                       CO     90013585106
24634A4122B27B   JAY           WILLIAMS                    VA     90012180412
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24635447A31297   NAKIDA       MINNION                      IL     90009824470
246356A8491541   VIRGINIA     MATKIN                       TX     75049616084
24635892972B88   RUDY         GALLEGOS                     CO     33071908929
24636349A72B42   MARCO        VARGAS                       CO     90006373490
24636851A91953   TONY         BIGGIE                       NC     90015018510
24637879A91541   LAURA        HERNANDEZ                    TX     90012808790
246378A2A91828   MICHELLE     WALLACE                      OK     90011458020
2463819119152B   LIDIA        LUNA                         TX     90012271911
24638252572B32   LAWRENCE     WHITTAKER                    CO     90006942525
2463844A44B588   KRYSTLE      HENDERSON                    OK     90011174404
24638966172B42   AIMEE        BENNIS                       CO     33093619661
24638A17691541   GASTON       CONTRERAS                    TX     90011950176
24638A71191828   SUAN         MUNG                         OK     90013350711
24639816172B42   JOSE         GARCIA MUNOZ                 CO     90004158161
2463B28544B588   BECOY        HAWKS                        OK     90013272854
2463B39815B271   CANDELARIA   TIU                          KY     90008573981
2463B437372B88   TODD         REINHARDT                    CO     90014454373
2463B441A71935   MATTHEW      HEADLEY                      CO     90011324410
2463B585384364   ARTHUR       HAMILTON                     SC     90013355853
2463B625A72B42   VICTOR       BAILEY                       CO     90009496250
2463B966691522   WENDY        SANDOVAL                     TX     90011409666
24642176A71935   VERONICA     HUITZACUA TORRES             CO     90004161760
24643462A55957   RAUL         ALDAMA                       CA     90013694620
24643A5A94B281   CHARTESA     GORUM                        NE     90002640509
246445A225715B   JUBENAL      TORRES                       VA     90004155022
24644A6A991522   ANNETTE      ARMENTA                      TX     90011050609
24645528672B42   KENYA        MARCUS                       CO     90013065286
246455A1984364   REGINALD     COULTER                      SC     90014495019
24645896872B88   TRINA        MINEAULT                     CO     90013048968
2464659A52B27B   JOHNATHAN    BURDEN                       DC     90012775905
2464786877B494   DAN          DEMPSEY                      NC     90008568687
2464797A831453   TYRONE       PATRICK                      MO     27593649708
24647AA7172B88   DORA         ARGUETA                      CO     90013530071
2464816A79184B   VICTORIA     HERNANDEZ                    OK     90009941607
24649423A91241   BILL         GROTTO                       GA     14517654230
2464963144B588   FRANK        TANNER                       OK     90008966314
2464996A841245   RENEE        SCANLON                      PA     90012409608
2464B1A6891828   LINSEY       PANCOAST                     OK     21009201068
2464B949584364   HUGOR        SOUSA                        SC     90014859495
2464B99953B192   TERESA       VASQUEZ                      VA     81066669995
2465139799184B   BLANCA       CONTRERAS                    OK     90010613979
2465278299184B   NATOSHA      WILLIAMS                     OK     90010127829
2465294A355957   NANCY        GUZMAN                       CA     48007989403
24654524372B32   ANTONO       ALVARES                      CO     90007165243
246547A9631631   MATTHEW      MAUPIN                       KS     90009557096
24655476772B88   MICHELLE     MARTINEZ                     CO     33042464767
2465599A781644   JESSICA      TAPIA                        KS     90014159907
24655A25731433   CRYSTAL      ODOM                         MO     27505840257
2465621942B27B   CALVIN       STARKS                       DC     90013132194
2465667A891522   DANIA        DUQUE                        TX     75016666708
2465674544B261   ROSA         NOLASCO                      IA     90013137454
24656816A84364   WILLIAM      CRISEL                       SC     19089998160
246579A624B261   JESSIE       BEAUGARD                     NE     27078599062
2465814785715B   LILIA        MEDINA                       VA     81025241478
2465827119794B   RAY          JR                           TX     90008472711
246596A3571925   GLADY        VASQUEZ                      CO     90009546035
24659A7919152B   RICARDO      ONTIVEROS                    TX     90008410791
2465B2A769184B   TAWNY        GRAY                         OK     90010332076
2466179A971935   DERRICK      VALDEZ                       CO     90011247909
2466187374B541   GLENDA       DEER                         OK     90002138737
24662822672B42   KIMBERLY     LOFTIN                       CO     90009388226
24662AA2591828   JERMEL       HURST                        OK     90008230025
24663131A7B449   HENRIETTA    MOORE                        NC     11069191310
24663488372B88   TIERRA       RYAN                         CO     90011594883
2466362964B588   STEPHANIE    INGRAM                       OK     90003786296
24663A9277B471   TERRI        HUNTLEY                      NC     90014720927
246641AAA91828   MARLA        COLE                         OK     90004641000
2466422377B449   PAYGO        IVR ACTIVATION               NC     90011552237
2466468145B161   KIMBERLY     SMITH                        AR     90015116814
2466535264B281   LISA         WATKINS                      IA     90010433526
2466556A691828   BRUCE        SIMPSON                      OK     21041565606
24665643772B88   WAYNE        NELSON                       CO     33054326437
2466672744B588   DAVID        DELANA                       OK     90008917274
2466675297B471   ALEJANDRA    OCAMPO                       NC     90001727529
24667A71772B88   TERRY        STOKER                       CO     90006410717
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24667AA1171935   ARNOLDO      NUNGARAY                     CO     32064330011
2466836757B457   VICENTE      GIL                          NC     90010383675
2466847347B449   NICOLE       RHYNES                       NC     90013084734
2466852A39155B   HILARIO      CADENA                       TX     90011245203
24669A57A91541   LUIS         DE LA CRUZ                   TX     75035670570
2466B178631453   TIA          MONIQUE                      MO     90011231786
2466B258984364   SHANA        WADE                         SC     90003142589
2466B61635B271   BRITTANY     SLEMMONS                     KY     90012906163
2466B74A24B261   NOEL         GRANADOS                     NE     27093167402
2467121497B435   CONCEPCION   BARRERRA                     NC     90012582149
24671234372B42   RAMONA       MENDEZ                       CO     33036192343
2467146959184B   RUSSELL      THORNGREN                    OK     90013764695
2467186275B271   JAMES        EDWARDS                      KY     90013928627
2467199564B261   RYLEAH       BROWN                        NE     90012179956
2467239A94B588   JUANITA      VAZQUEZ                      OK     90005293909
2467256755715B   EDGARDO      TERCEROS                     VA     90001225675
24672937972B88   ALDO         LOPEZ                        CO     33065459379
2467317A64B281   ZACH         KERMEL                       NE     27065731706
24673923172B88   DEVON        MAESTAS                      CO     90014879231
24674135A9155B   LUIS         DOMINGUEZ                    TX     90001881350
24674753A85938   GARRETT      STARK                        KY     67015827530
246748A9572B32   ARACELI      MENCHACA                     CO     90012338095
2467541612B27B   KEON         BROWN                        DC     90012834161
24675554A4B261   MERCEDES     HOLLERUP                     NE     90008735540
2467571255B271   YAEMI        CABRERA                      KY     90011917125
2467671784B261   JEREMY       BOLAN                        NE     27084697178
2467683A631453   DONOVAN      SUGGS JR                     MO     90012388306
246784A717B471   OSCAR        BARRIGA                      NC     90013924071
2467867934B261   DANEL        MORRIS                       IA     90013186793
2467872AA72B32   SERGIO       AGUILAR                      CO     90001577200
2467924115B161   KERI         ROBINSON                     AR     90014072411
2467B227991828   DAVID        KUHN                         OK     90015002279
2467B256572B88   CRAIG        DESMET                       CO     33087602565
2467B299491241   JASMINE      MARBERRY                     GA     90013152994
2467B519A81644   MUNDIE       WEDDLE                       MO     90003265190
2467B53392B27B   EBONI        MCLEAN                       DC     90015205339
2467B991391522   DENISSE      MOLINAR                      TX     90013119913
246814A9991356   KARLOS       TAYLOR                       KS     90005034099
24682388572B88   RAY          ASIAS                        CO     90005453885
2468324662B27B   ALEYSHA      COFFIELD                     DC     90015172466
24684386A7B471   NICOLE       MOORE                        NC     90013003860
246851A2A57133   SILVIA       RODAS GALINDO                VA     90012941020
2468534589184B   DAWNELL      TERRY                        OK     21008643458
246854A1872B41   RONALD       SHOWERS                      CO     90001114018
24685974872B88   HOLLY        MEYER                        CO     33004339748
2468626244B588   KAYDEE       IRUEGAS                      OK     90012652624
2468722835B271   ANDREW       BUREN                        KY     90010102283
246882AA991541   BILMA        GONZALES                     NM     90000662009
24688488A2B27B   MILTON       GENOVEZ                      VA     90014154880
24688895A24B55   WHITNEY      DOWELL                       DC     81081808950
2468943825B161   BRENDA       REED                         AR     23007154382
2468971A272B32   KYLE         BRYAN                        CO     90000277102
246897A379184B   MIA PACHEE   VANG                         OK     90014297037
2468985496196B   BRYAN        STANDKE                      CA     90002218549
2468B254851325   BINETA       DIENG                        OH     90012312548
2468BA59881644   ROJELIO      ZARATE                       MO     90014160598
2468BA6A691953   KAREN        HARRIS                       NC     90005810606
2469114495B571   KEVIN        YEAGER                       NM     90008511449
24691955A5B271   KIYA         WILLIAMS                     KY     90001179550
24692228A7B449   SINDY        GUCEDA                       NC     90012962280
24692A16372B42   PENELOPE     QUINATANA                    CO     90009560163
24692A2225B571   JOEL         RIOS                         NM     35091200222
2469351314B588   PORTIA       POUNDS                       OK     21557845131
24693838872B32   RUTH         SILALAHI                     CO     33023468388
2469397A55B161   JULIAN       WILLIS                       AR     90015559705
2469433235715B   DEBORAH      AHENKA                       VA     90004893323
24695637A71935   MANUEL       HERNANDEZ                    CO     90012956370
24695782A2B232   MELLISSA     COOK                         DC     90012577820
24695962A91541   SARAH        SANCHEZ                      TX     90010639620
24696118A72B31   JULIA        LOYA                         CO     33077521180
2469657794B588   LAMAR        JOHNSON                      OK     90011805779
2469726284B261   FRANK        STEWART                      NE     90015092628
2469746734B588   ANNA         TALAVERA                     OK     90014844673
24697516A9184B   PATSY        HARDESTY                     OK     90014755160
2469751755B571   JENNIFER     LOPEZ                        NM     90003925175
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2469787265715B   JOSE JAVIER   ROMERO AGUILAR              VA     90003228726
2469836777B449   ALIDA         LOPEZ                       NC     90014833677
2469841AA4B281   INGRID        ALVARADO                    NE     90000984100
24698A3252B27B   ERIKA         QUIROZ                      VA     90014450325
24699473372B42   FRANCISCA     SOTO                        CO     33090234733
24699915476B53   BEATRIZ       PEREZ                       CA     90010849154
2469B29234B588   JULIAN        CHAVEZ                      OK     90014152923
2469B7A395B161   DAVID         COURTNEY                    AR     23072907039
2469B855381644   JUWAN         QUARY                       MO     90010478553
246B161972B27B   EDGAR         RENDON                      DC     90003326197
246B1627693767   DEBORAH       ADKINS                      OH     90001846276
246B18A5661986   BELEN         MORALES                     CA     90013228056
246B1916155957   BEATRIZ       EVELAND                     CA     90015099161
246B229134B588   PHILLICHIA    NEWBY                       OK     90010672913
246B229AA31453   MORVION       CURRY                       MO     90009102900
246B2958391953   DEBORAH       GAITHER                     NC     90005179583
246B2A55272B88   SCHRESE       WELLS                       CO     90010970552
246B381A884364   CARLOS        SOSA                        SC     90011268108
246B3983A91541   JONATHAN      GARCIA                      TX     90010139830
246B42A8891522   RICK          DURAN                       TX     90013462088
246B452884B588   CHRISTY       HOUSE                       OK     90013985288
246B4696791541   JESUS         ARANDA                      TX     75092846967
246B477719189B   NATHANIEL     NASH                        OK     21013307771
246B5864191828   JAN           DIXON                       OK     90011088641
246B5AA4455936   MARIO         JIMENEZ                     CA     90012280044
246B619A191881   CRYSTAL       BAILEY                      OK     90011501901
246B6387531631   DENNIS        ALCOX                       KS     90014843875
246B664577B449   ELLIO         MUNOZ                       NC     90011256457
246B6656191241   ROSALINDA     DORSEY                      GA     14593426561
246B785369189B   SANTIAGO      SUAREZ                      OK     90009418536
246B7A18A87B87   KEYANA        ANDERSON                    AR     23037240180
246B823267B471   LAWRITA       MINTON                      NC     90014142326
246B83A429189B   KATHERINE     STILL                       OK     21019213042
246B9351672B88   CARLOS        ARELLANO                    CO     90012663516
246B9499855997   ANGELICA      PEREZ                       CA     90006064998
246B9541176B53   SABINO        VARGAS                      CA     90012355411
246BB996691522   JESUS         LARA                        TX     75078819966
2471213A391241   SHEWANDA      MCCARR                      GA     90014081303
2471276942B27B   TIMOTHY       GREEN                       DC     90013037694
2471317659155B   JOSEPH        QUARTERMANE                 TX     90008771765
247133A4572B32   YOLANDA       VAZQUES                     CO     90011063045
247137A8155957   JOEL          SANDOVAL                    CA     90012867081
247143AA25B161   SONDRA        ELLIS                       AR     90014763002
2471454552B27B   JHONE         SHASHURA                    DC     90013135455
24714598A91953   LAWANDA       JACKSON                     NC     90007825980
2471486695B161   NIA           HARVELL                     AR     90015598669
24715A6277B449   LUIS          LOPEZ                       NC     90012230627
2471628A65137B   KATHERINE     MALONE                      OH     90014482806
2471636325137B   FRANK         MALONE                      OH     90012783632
24716A74381637   ISHA          BRITTEN                     MO     90001610743
24717A4879189B   JEFFREY       DEWEESE                     OK     90009190487
2471857A54B588   MARYLYN       ALVAREZ                     OK     90013455705
24718742472B42   TOMAS         ARELLANO GARAY              CO     90013247424
24718A79372B88   PABLO         REYES-SANTILLO              CO     90013140793
2471927AA5B161   SEAN          THOMPSON                    AR     23094982700
24719329A5B271   SHARRONDA     JACKSON                     KY     68036123290
2471B441731453   JANEE         BOLDEN                      MO     90014144417
2471B84685B571   DAVERI        LECHUGA                     NM     90011728468
2472152774B261   JUSTIN        PORTER                      NE     90008415277
247221A3372B32   GENEVIEVE     MACIAS                      CO     90005211033
2472243644B588   JUSTIN        HURLEY                      OK     90011454364
24722A44871935   PAUL          OVERSTREET                  CO     32089330448
2472315127B471   MARLON        THOMPSON                    NC     90014731512
24723217572B42   TWALLA        BLACKSHER                   CO     90014652175
24723732A71935   DEREK         ORNELAS                     CO     90014927320
2472377AA91522   CUEVAS        IRENE                       TX     90001637700
2472421AA91356   DON           SMITH                       KS     90013692100
2472456A172B32   DONALD        FRATZ                       CO     33092815601
2472489572B86B   JONATHAN      KLINE                       ID     90011678957
2472552999155B   CELIA         SANDOVAL                    TX     90009725299
2472558849189B   HEATHER       BUCHER                      OK     21044835884
2472566AA4795B   HUGO          SANCHEZ                     AR     25010246600
2472577A13146B   GWENDOLYN     PENDLETON                   MO     90003837701
2472623714B281   MICHAEL       ROLLINS                     NE     27098422371
247263A389189B   KRISTIE       BENSON                      OK     90001303038
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2472662534B588   NIKITA         MOSLEY                     OK     90012826253
24727176972B32   YADIRA         GONZALEZ                   CO     33059741769
2472758494B588   ISMAEL         SALAS                      OK     90010905849
24728823A57124   ELIZABETH      BELTRAN                    VA     90008028230
247288A555B161   VALERIE        CALVIN                     AR     23054398055
24729167672B88   PATRICK        PEOPLES                    CO     90001851676
24729324272B32   FERNIE         GANDARA                    CO     33035493242
2472933369184B   CLAUDIA        COMPOS                     OK     90009943336
2472953577B471   MARIA          FRANCISCA LOVO             NC     90011805357
24729895A71935   SARAH          SZENDRODI                  CO     90007358950
2472B352441245   JENNIFER       MROZ-TOMER                 PA     51080113524
2472B69A97B471   LUIS           ROMERO                     NC     90009096909
2473183977B471   LATIA          LANDY                      NC     90014738397
247349A1991541   GUADALUPE      SOLORZANO                  TX     90006919019
24735232372B32   EARLE          BENNETT                    CO     33080512323
2473544839189B   JOAQUIN        DEL RIO DIAZ               OK     21029214483
24735AA9455957   SEBASTIAN      HUARACA                    CA     90008300094
2473639854B261   CHRISTIE       BURGESS                    IA     27088403985
24736622272B88   JORGE          OLIVAS                     CO     33072436222
24736778172B32   DEBORA         RODRIGUEZ                  CO     33004747781
2473718867B471   SANTARIEO      ROSEBORO                   NC     90014731886
247379AA591522   ZARKY          BENJAMIN                   TX     90014389005
2473837545B271   DALTON         ENGLE                      KY     90015603754
2473874855B161   QUENTIN        DANIELS                    AR     90014457485
24739326772B32   ANGEL          VILLA                      CO     90013733267
24739A7199189B   ANGELA         BECKHAM                    OK     21071800719
2473B15627B471   PATRICIA       WILSON                     NC     90014731562
2473B167391541   MONICA         TREVIZO                    TX     90011401673
2473B338271935   KANDIS         KEYS                       CO     90012963382
2473B562655957   EVELYN         BOGARIN                    CA     90011355626
2473B56899155B   LUZ            LOPEZ                      TX     90011245689
2474127512B27B   BRYAN          KINARD                     DC     81075532751
24741811172B88   SAMUEL         ORTIZ                      CO     33096258111
2474354142B86B   KAYLENE        ST JOHN                    ID     90002165414
247438A9891541   LORENZO        AYALA                      TX     90014838098
2474428544B588   BECOY          HAWKS                      OK     90013272854
2474488755B271   MICHELLE       SALMON                     KY     68063218875
247451A999184B   GEORGINA       GUZMAN                     OK     90015101099
24745274A2B27B   MONTE          NAPOLEAN                   DC     90014362740
2474616694B261   JESSICA        ROBINS                     NE     90010381669
24748A25972B42   BRANDON        BROCKINGTON                CO     90012660259
2474943644795B   REYNALDO       HERNANDEZ                  AR     25055264364
247498A9291541   LUZ            REYES                      TX     75077538092
2474B295A2B931   JUAN           ESPARZA                    CA     45051642950
2474B43719189B   TONYA          NICKLES                    OK     21031524371
24752A85377572   SAMATHA        WOLFE                      NV     43078520853
2475423514B281   JENNIFER       CAMPER                     NE     27097112351
2475424A172B88   MANUEL         ALMADER                    CO     33071522401
2475437497B449   DAVID          ROSEBORO                   NC     90013743749
24755149472B32   SHEENE         FROST                      CO     90007551494
2475525842B27B   JOSHUA         LEE BROWN                  DC     90012462584
247556A975B161   COURTNEY       PARKER                     AR     90012856097
2475692924B588   SAICEULL       DRAKE                      OK     90009129292
2475694955B276   TYEISHA        GARNER                     KY     68013439495
2475727872B27B   TIMARRA        SMITH                      DC     90008942787
24757279872B38   VICTORIA       MORUA                      CO     33017772798
2475762784B281   URSULA         BLUNT                      NE     27029306278
24757792172B42   BENITA         DE LUNA                    CO     33061377921
24758693772B88   SARAH ASHLEY   LEWIS                      CO     90014716937
2475965717B449   JAMES          GRIFFIN                    NC     11070226571
24759795A5B271   DONALD         MATTINGLY                  KY     68010317950
2475B347291522   MINA           ORTEGA                     TX     75004733472
2475B392A72B42   MICHELLE       HARLESS                    CO     90012303920
2475B91185B271   DAVID          LAWLESS                    KY     90014339118
2475BA6239155B   TANYIA         QUINONEZ                   TX     90010500623
2476153A24B588   MARIA          CORADO                     OK     21508775302
24761748A5B161   CHRISTON       SHACKLEFORD                AR     90014557480
2476185A95B333   LAURITA        SANCHEZ GOMEZ              OR     90005648509
24761A92355957   JOSE           GARCIA                     CA     90012050923
2476239169184B   ESTHELA        ARIAS                      OK     90013853916
247626A544B588   KOURTNEY       WLATER                     OK     90015026054
2476333995B571   JOYCE          GILMORE                    NM     35095053399
24763A2664B588   JEFFREY        WILSON                     OK     90010190266
2476443619155B   ALFREDO        MARQUEZ                    TX     75023414361
2476474799189B   SHANNON        KISCER                     OK     21092897479
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24764823A91953   ALISHA       HORTON                       NC     90013288230
24764A26472B32   MICHAEL      DELODOVICO                   CO     33087350264
2476556A131631   MARIA        CROWE                        KS     22084165601
2476569635B161   SHERRELL     LAYTON                       AR     90013166963
24765A13951329   FREDERICK    LONG                         OH     90012420139
2476687A272B42   MELISSA      BORQUEZ                      CO     33088718702
24766A37231453   NATOYA       WOODS                        MO     90014690372
2476718154B28B   RICARDO      SALVEDRA                     NE     90009391815
247682A3871935   CHRIS        BOYETR                       CO     90014772038
247685A4172B32   CODY         CARSON                       CO     33002055041
24769A4299155B   GUADALUPE    VILLALPANDO                  TX     75008990429
2476B227572B32   DOMINICK     FLORES                       CO     90015222275
2476B499155957   MARCIAL      CORNELIO                     CA     90013744991
2476B622672B88   MARIE        RIVERA                       CO     90008776226
2476B691791522   SANCHEZ      GLORIA                       TX     90013646917
2476B839181644   BRANDY       HOUSE                        MO     90015248391
2477137AA7B471   JONATHAN     GAINES                       NC     90011573700
2477177A272B88   MICHAEL      CORDOVA                      CO     33055507702
2477248A15B271   EDGAR        NAVARIJO                     KY     90002054801
2477249824B588   DOUGLAS      CARTER                       OK     21530074982
247728A327B449   SOBRINA      CONCEPCION                   NC     90011258032
24773517172B88   SUNNY        ROBARDS                      CO     90014895171
2477438614B261   CHRISTINE    WIECH                        NE     27002903861
247746A4531453   CHARLES      SIMMONS                      MO     90011986045
24774912124B75   LIMBERDT     SILES                        VA     90010309121
24774989472B88   AMY          PURSER                       CO     33013649894
247756A6784364   YVETTE       SANCHEZ                      SC     90013966067
24776164572B32   BRANDIE      TACORONTE                    CO     90014231645
24777A68272B88   RYAN         RAMSTETTER                   CO     90013210682
24779A6267B449   BRITTANY     COLLINS                      NC     90010360626
2477B33475B161   ALLEN        HAYES                        AR     23093013347
2477B768A91953   CINDY        DIAZ                         NC     90013237680
2478151434B588   CRYSTAL      WILLIS                       OK     21587985143
2478157A771935   ADRINA       BRENA                        CO     90003355707
24781914A5B271   YOANNY       VAZQUEZ                      KY     90012689140
24781922A91928   PATRICE      RUSH                         NC     90007989220
24781A25781644   KAYLA        SMITH                        KS     90013160257
2478225255B161   L            FOY                          AR     23087442525
24782A66A9794B   MARK         WHITMORE                     TX     90003250660
2478419562B27B   NICK         BEAN                         DC     90013731956
2478428824B588   JAMES        DICKERSON                    OK     90013102882
2478446645B161   BRITTANY     MCDONALD                     AR     90014314664
2478451299189B   DRENICK      CHISM                        OK     90010205129
24784A97A4B261   JUDY         HUNTER                       NE     27003660970
2478528487B471   JAMES        DAVIS                        NC     90014732848
2478541193B374   LEONARDO     CASTELLANOS                  CO     33075514119
24785439972B32   KIM          PERKINS                      CO     90012604399
2478547A37B449   JOSE         REYES                        NC     90014174703
2478573389155B   GOMAR        MOBILE HOMES INC.            TX     75032717338
2478576562B27B   ANNA         METZGER                      DC     81033497656
2478596A49184B   SHIRLEY      BLEDSOE                      OK     90015009604
2478626AA5B271   RICHARD      JUDD                         KY     68000252600
2478629724B588   TASHONDA     RUSSELL                      OK     90015172972
247863AA193757   DEIRDRE      JOINS                        OH     90008463001
247869A4791356   TOYON        WILLIAMS                     KS     90013849047
24787991772B42   TYRE         FALLS                        CO     90015309917
247881A8385998   ADRIAN       HOUSTON                      KY     90013401083
247882A7571935   FELIX        CERVANTES                    CO     90011252075
2478931A131453   MARKITA      MEEKINS                      MO     27511943101
24789654472B42   SANTOS       GOMEZ                        CO     90013976544
2478966A384364   JOCELYN      MONIQUE                      SC     90015126603
2478967619136B   SALVADOI     ALVINO                       KS     29006306761
24789A56872B32   RUSTEN D     MERVIN                       CO     33064310568
24789AA3A72B42   GLORIA       GARDEA                       CO     33084470030
2478B428691541   ELIZABETH    LOPEZ                        NM     90013304286
2478BA3324B281   WILLAM       WALLACE                      NE     90002170332
24791A51861986   JOE          ALFRED                       CA     90012640518
24792247387B87   LATINA       MYERS                        AR     90007202473
2479332122B27B   KARLOS       MCDOWELL                     DC     81039313212
24793838A72B42   JAVIER       ROJAS                        CO     33042578380
2479412289184B   TIMIA        BAUL                         OK     21047631228
24794917872B42   WILLIAM      ERNEST POMERLEAU             CO     90002709178
24794A81A71935   REGINALD     BLAKEY                       CO     90014370810
247957A7A91356   PAMLA        HOUGHAM                      KS     90012447070
2479587229794B   BRANDON      COLEMAN                      TX     90003648722
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24795925272B88   ESTEP             MICHAEL                 CO     90007459252
2479624624B588   JERRY             WALKER                  OK     90004672462
24797159A2B27B   RODRIGUE          PONDEM                  DC     90012741590
2479732317B471   VERNON            BOWEN                   NC     90014733231
24797453272B32   FRANCHESCA        AMAYA                   CO     90014374532
2479793A25B271   ANTONIO           TAYLOR                  KY     90003189302
247984A9431453   MISCHA            SHELTON                 MO     90015194094
247989A639155B   GUADALUPE         HERRERA                 TX     90006859063
24798A6734B588   STEPHEN           HARDING                 OK     90013540673
24798A92291828   MELISSA           JONES                   OK     21016780922
2479984A97B471   CHRISTY           HILL                    NC     90007428409
2479988244B261   LENEA             LONG                    NE     90010908824
2479B12665B271   VICKI             VACCARO-SHANKS          KY     90006021266
2479B271391356   ELENA             MARTINEZ                KS     90011122713
2479B527272B32   NICHOLAS          GALLEGOS                CO     90013585272
2479B9A1191356   ALEXIA            RAMIREZ                 MO     90015069011
247B1243A9184B   ASHLEY            HAMMER                  OK     90014552430
247B1412972B32   KARINA            ARANDA                  CO     90013084129
247B166279155B   DULCE             SAUZEDO                 TX     90013846627
247B2287391828   MICHAEL           NORRIS                  OK     21050352873
247B27A7972B42   MARCUS            JAMES                   CO     33096737079
247B338377B449   MERISAI           LATIMER                 NC     90003223837
247B3563971935   JUAN              MUNIZ                   CO     32084905639
247B3782691522   GIL               BUSTILLOS               TX     75006907826
247B613765B571   NICOLE            HOLGUIN                 NM     90010511376
247B616419189B   SARAH             MALAS                   OK     90011221641
247B668794B231   JUAN              CASTRO                  NE     27080936879
247B6818972B42   LAURA             CLARK                   CO     33051238189
247B688729184B   KATHELEEN         LOWE                    OK     90008038872
247B6933872B32   EDMUND            DEHERRERA               CO     33056369338
247B728964B281   RENEE             KEELIG                  NE     27013042896
247B7293691356   ANGELINA          SCHMIDT                 KS     90014302936
247B747389184B   NEISHA            SUTTON                  OK     90014064738
247B7955277523   MICHAEL           PACINI                  NV     90007339552
247B7A4A391828   COREY             FIRSHER                 OK     90012910403
247B835319155B   DANIEL            MUNOZ                   TX     90005713531
247B9312455957   ROSA              GARCIA                  CA     48018393124
247B96A138B151   DANIELLE          PRESHA                  UT     90013316013
247BB33849189B   GEORGIA           LOWE                    OK     90003113384
247BB631891541   PMAR              MORENO                  TX     90012776318
247BB793691828   MICHAEL           ROWENS                  OK     21005507936
247BB843257157   DWAYNE            GILLIARD                VA     90005138432
2481114375B271   ROGER             DAVIS                   KY     90012081437
248116AA39189B   IISHA             ELLIS                   OK     90010606003
2481246452B931   BRANDY            TAVARES                 CA     45084504645
24812583A91953   ARACELIS          VAQUERO                 NC     90008465830
2481333687B471   BYI               ROLAND                  NC     90014733368
2481337445B571   BRY               ESTRADA                 NM     90008513744
2481349139184B   LUIS JAVIER       BANOS                   OK     90009944913
2481376A44B261   BENEDICTO         GARCIA                  NE     90000277604
2481386347B449   LISA              OLSEN                   NC     90005828634
2481476A37B449   FRANCISCO         HERNANDEZ               NC     90002637603
2481512629189B   LYDEANA           HELDSTAB                OK     90012081262
24815A17A71935   JUAN DE LA CRUZ   CASTANEDA               CO     90003950170
2481657665B161   DIANA             ROBLES                  AR     90014855766
24816879372B32   JOSEPH            REYNOLDS                CO     90008068793
24816A1795B571   ELAINA            CASTRO                  NM     90002730179
24816AA9931453   MARANDA           RUSH                    MO     90014190099
2481718462B232   LATIA             DURRETT                 DC     81009561846
2481763174B551   CORA              BOYKINS                 OK     90010826317
24818432A72B88   DAVID             ALLEN                   CO     33086224320
24818558A81644   LINDA             PEAK                    MO     29057865580
2481861525B161   DAVID             MILNER                  AR     90012376152
2481885865B571   SERGIO            ROBLES ELISALDE         NM     90009708586
248192A795B161   VERNA             FREEMAN                 AR     90010562079
24819554A7B484   KITA              ADAMS                   NC     90010495540
2481973215B271   RONIQUE           ALEXANDER               KY     90014727321
2481B11439189B   KAMERTRA          DANIELS                 OK     90012841143
2481B256891356   KAREN             OCHOA                   KS     90010272568
2481B64715B161   JEFFERY           ABBOTT                  AR     23020076471
24821147A85931   KIM               ELRIDGE                 KY     67081891470
2482126A291541   MARTIN            MARTINEZ                TX     90015202602
2482144955B257   TABATHA           BEISLER                 KY     90011674495
2482166A455957   PAUL              ROCHA                   CA     48075076604
2482235137B471   PHILLP            TATE                    NC     90014733513
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2482289248B182   ROMELL                 PETERSON           UT     90008988924
24822A42355957   RON                    GONZALES           CA     90015070423
2482318879155B   ALBERTO                VAQUERA            TX     75082191887
24823A2782B27B   LAKISHA                BRADFORD           DC     81013810278
24823A56A91953   JOHN                   KWASNIK            NC     90009170560
2482463224B588   TERRY                  EFFINGER           OK     90003786322
24825596A7B449   JENNIE                 HOLMES             NC     11062315960
2482586519794B   ANA                    GARCIA             TX     74063768651
248266A824795B   WILLIAM                FALK               AR     25080286082
24826A94785938   TAMARA                 DIXON              KY     67017540947
2482785289184B   CRAIG                  ELLIS              OK     90010908528
2482795AA9155B   JAVIER                 RUIZ               TX     90009299500
2482848929794B   ALBERTO                SIC                TX     74015464892
24828A17372B32   MENACHEM               KRAMISH            CO     90012950173
24828AA5791522   ANGIE                  CAMP               TX     90013420057
2482954994B281   KYLE                   ROGERS             NE     90005275499
2482977A78B16B   SARAH                  WARCUP             UT     90010647707
24829914A5B271   YOANNY                 VAZQUEZ            KY     90012689140
24829995A91241   SHEENA                 SHEPPARD           GA     90013969950
24829A16231453   NAOMI                  VAYE               MO     90015080162
2482B38A291241   CARVIN                 LASSETER           GA     90005123802
2482B549131464   TIFFANY                AXTON              MO     90013935491
2482B558691522   MARJORIE               LOBDELL            TX     90012685586
2482B86535B271   BONNIE AND STEPHANIE   SAUER              KY     90011678653
2483116A84B261   CINDY                  PETERSEN           NE     27047891608
24831316672B88   DANIEL                 OLIVAREZ           CO     33076273166
2483146A155957   MARIA                  MOTA               CA     48000324601
24832A69531631   SHAWN                  ANDERS             KS     90003910695
2483311632B232   DENISHA                TOYE               DC     90012461163
248332A8A91828   LENITA                 PARRY              OK     21003002080
2483353A233627   LISA                   GARNER             NC     90014195302
2483357A77B449   LADYRIKKKA             WILLIAMSON         NC     11005345707
2483373A791241   STACY                  JONES              GA     90013297307
2483424A64B281   JOSE                   ABREGO             NE     90004132406
2483439615B571   HERMELINDA             ESCOBEDO           NM     90002773961
2483484629794B   JENA                   BYBEE              TX     74010828462
2483497147B449   FERMIN                 CABRERA            NC     11054429714
248351A8471935   DEBBIE                 GARCIA             CO     32052771084
2483568A381644   LATIQUE                PAYTON             MO     90006906803
2483621822B27B   EDITH                  LOPEZ              DC     90014502182
24836338272B42   FRANCHON               MCGHEE             CO     90012513382
24836657172B32   MARIO                  TORRES             CO     90011896571
2483749854B588   PAYGO                  IVR ACTIVATION     OK     90013284985
24837588A98B32   KALIFA                 CARTER             NC     90011335880
2483799619189B   RAMIREZ-RODRIGUEZ      PATROCINIO         OK     90010959961
2483814A72B27B   HUGO                   HERNANDEZ          DC     81014631407
2483837A77B471   SHELLY                 GIDNEY             NC     90014733707
2483861625B271   PATRICIA               CHAPMAN            KY     90013506162
24838AA4481644   KEVIN                  BLACK              KS     29015940044
248391A7631631   VICTOR                 ALVAREZ            KS     22037491076
24839A9952B27B   TAUREAN                BAILEY             DC     90013880995
2483B277A91541   MICHEAL                FLORES             TX     90009822770
2483B2A937B45B   KIRSTEN                MARTIN             NC     11036142093
2483B37657B471   KEANNA                 LEWIS              NC     11045913765
2483B42767B435   PATRICE                WHITE              NC     90006524276
2483B62A791241   RAVEN                  HEYWARD            GA     90014386207
2483B698872B88   JAMES                  FLOOD              CO     90009326988
2483B86525B271   TOMMIE                 OUSLEY             KY     68011088652
2484147345B571   JOANN                  JACKSON            NM     35062344734
24841645A72B32   GENELLE                AUSTIN             CO     90003956450
2484248238594B   DONESIA                HAYES              KY     90013914823
2484287982B27B   GEANE                  DUPITAS            DC     90012138798
24842A26672B32   KENETH                 GROSS              CO     33002830266
2484324135B271   MELANIE                HUFF               KY     90010822413
248436A1191541   ANGELICA               GARCIA             TX     90009206011
2484427289184B   LORNE                  BIRDCREEK          OK     90005882728
2484431A672B42   ADRIAN                 YANKANA            CO     33064253106
2484465355B571   ABRAHAM                POWELL             NM     90010816535
24845371A55957   NICK                   MACHADO            CA     48097763710
24845761887B59   CLOTHIELDA             HOLLOMAN           AR     23041217618
2484599342B27B   DANA                   HUNT               DC     90011589934
24845993A7B471   MARIA                  NAVARRETE          NC     90014749930
24845A73131453   ROGER                  GREEN              MO     90015210731
24847252972B88   RAEANNION              HITT               CO     90014132529
24847A53A85938   JERRY                  TOWNSEND           KY     67037860530
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24847A6164795B   ANGELITA     BLACKBURN                    AR     25074030616
2484938A484342   MICHELE      OESMANN                      SC     90007483804
2484945A44B261   ERIC         WIIG                         NE     90009574504
24849558A81644   LINDA        PEAK                         MO     29057865580
24849843172B42   DONALD       BARNES                       CO     33067838431
2484986A491953   STELLA       CARPENTER                    NC     17080158604
2484992A39189B   ELISHA       JONES                        OK     90011389203
24849A5554B281   JOSE         CHICAS                       NE     90000450555
2484B28637B449   ASA          CALDWELL-HARRIS              NC     90008622863
2484B631955957   NICOLETTE    MANGINI                      CA     48092156319
2484B969691953   RAFAEL       CATEMAXCA                    NC     90007929696
2484BA46181644   LEANNE       JACOBSON                     MO     90010270461
2485199912B27B   CLIFTON      CRUMP                        DC     90011589991
2485257249189B   ERIC         BELL                         OK     90013015724
2485261969184B   DARREN       MEANS                        OK     90009946196
24852685A91522   CECILIA      RAMIREZ                      TX     75076826850
248529A124B281   RENEE        WALKER MOSER                 NE     90011939012
2485336A172B42   SABINA       RAEL                         CO     90013653601
24853544387B87   TERESA       SANDERS                      AR     23027805443
24853A5435B127   MELANIE      CHAPMAN                      AR     90006050543
2485433222B931   JOAQUIN      GARCIA                       CA     90005263322
24854673A4B261   MILBURN      FRAMPTON                     NE     27069906730
24854943672B88   JAQULENE     DEFRANCE                     CO     90000289436
24854A29455957   GABRIELA     MARES                        CA     48083910294
24855739A91356   ZAFERINA     SAENZAPARDO-RODRIGUEZ        KS     90014697390
2485597117B449   CHRONICLES   WATKINS                      NC     11010909711
2485664A94B261   TONYA        LEE                          NE     90014396409
248569A4684364   VIVIAN       WILLIAMS                     SC     90013829046
24856A93855957   EDUARDO      LEOS                         CA     48003550938
2485788549184B   TAMEKA       HARDY                        OK     90012708854
2485892598B159   JANE         MAY                          UT     90003749259
24858967A91541   JESUS        CERVANTES                    TX     90014409670
24859766A5B271   DIANE        ALEXANDER                    KY     90000987660
2485B339A8B151   ROBERT       HUERTA                       UT     90003943390
2485B39667B471   RAFAEL       GARCIA                       NC     90014733966
2485B487855957   IGNACIO      AGUILAR                      CA     90000694878
2485B81425152B   MARIA        VARGAS                       IA     90013898142
24861A5524B588   SHARMAINE    BURRIS                       OK     21557690552
24862879372B32   JOSEPH       REYNOLDS                     CO     90008068793
24862A41354162   BRAD         ARMSTRONG                    OR     90015490413
24864299A31453   MARLENE      CORNELL                      MO     90005852990
2486441679184B   JOHNNY       INGRAM                       OK     90014664167
24864546A31453   ANYAI        JOHNSON                      MO     90013345460
24864935A72B88   MIGUEL       AYALA                        CO     90012479350
2486496437B471   BEATRIZ      SANCHEZ                      NC     90002929643
2486517869184B   NORMA        HUIDOBRO                     OK     90012051786
2486567487B141   NYAJAL       CHAKIN                       ND     90014996748
2486653489155B   DAPHNE       MONTALVO                     TX     90004315348
24866A11584364   HASSONA      SIMMONS                      SC     19058750115
2486841597B471   TAMARA       WASHINGTON                   NC     90014734159
2486847525B271   RICK         BREWER                       KY     90001074752
248694A394B281   JILL         MCNULTY                      NE     90002494039
24869742772B32   MIGUEL       GAYTAN                       CO     33084517427
2486B317681644   ROSARIO      ROMO                         MO     90014163176
2486B536577523   FRUTOSO      VARA                         NV     90013495365
2486B77729189B   SHANETTA     WALTON                       OK     21047067772
2486BA78672B32   PORTIA       JOHNSON                      CO     90000800786
2487111A384364   CEDRIC       SMITH                        SC     90014091103
2487147413B358   JULIE        JENKINS                      CO     90011834741
2487149347B449   HATTIE       WASHINGTON                   NC     90013674934
2487182857B276   CRYSTAL      HITON                        NV     90012228285
24872453A81658   MARGARITA    RENTERIA                     MO     90014204530
2487256A591522   EZEQUIEL     OLIVAS                       TX     90013905605
24873325172B32   SARAH        SARABIA                      CO     90011063251
24873791A91241   JALISSA      GREEN                        GA     90008307910
2487443A231453   TERESA       HENDERSON                    MO     90011234302
24875123972B32   EDDIE        GONZALEZ                     CO     90013451239
2487521544B281   GUADALUPE    VALDIVIA-GARCIA              NE     27044592154
2487556835B161   VALERIE      STRIBLET                     AR     23064535683
24875623A81644   CASSAUNDRA   ROBINSON                     MO     29029036230
24875689372B42   SHERRY       HALL                         CO     33058516893
248759A8831433   BRITTANY     SUMMERS                      MO     90002279088
24877593A84364   CHUCK        VEACOCK                      SC     19046275930
2487837A272B42   DANE         KING                         CO     90012663702
24878578972B88   MICHAEL      ROPER                        CO     90008415789
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24878689887B59   XAVIER         KIRKLIN                    AR     90015326898
248789A2731433   DEMETRIA       JOHNSON                    MO     90012319027
2487B17A972B32   OSHIA          WALKER                     CO     90001431709
2487B27357B471   ASHUNDA        SINGLETON                  NC     90013092735
2488151177B449   LAURA          PALMA                      NC     90013765117
24883A88291356   LYNNA          PACE                       KS     90006120882
2488451119184B   TROY           SHOATE JR                  OK     21059255111
2488492A591541   JESSICA        ANDRADE                    TX     90012629205
2488582135B161   PATRICIA       MCCARTY                    AR     90012658213
2488587857B471   FATIMA         PEREZ                      NC     90014738785
2488645754B553   JASON          EDMON                      OK     90011134575
24886474A2B27B   CHRISTINE      SIMMS                      DC     90009944740
2488658459184B   JERRY          LANDRUM                    OK     90008505845
24886774A7B471   ELISA          HERNANDEZ                  NC     90008857740
24886839672B88   SHAWN          MARTENSWARNER              CO     33095548396
2488792529155B   MARISOL        WILLIAMS                   TX     90010299252
2488817597B422   GUILLERMO      ARTEAGA                    NC     90012351759
2488849259189B   BLANCA         MORENO                     OK     90007934925
2488882424B588   JESSICA        ZAMORA                     OK     90004818242
248888A5591522   PAYGO          IVR ACTIVATION             TX     90010008055
24888A73A24B55   IRA            EVANS                      DC     90010550730
2488913734B588   JUAN           GONZALEZ                   OK     90014951373
2488955845B271   AMANDA         COOPER                     KY     68092705584
2488B524584364   ERIC           SCOTT                      SC     90014035245
2488B81455B571   BRITTANY       INGRAM                     NM     90006358145
2488B9A4A85938   GEORGANNA      DAVIS                      KY     90008589040
2488BA7A341272   CHRISTY        WILLARD                    PA     90013360703
2489237A871935   TAYLOR         WOOLDRIDGE                 CO     90001593708
2489255575B571   MARIA          CHICA                      NM     90011775557
2489329934B588   CHELSEA        MOAD                       OK     90014712993
2489338815B271   ANA            ARCE-CACERES               KY     68059673881
24894963A31433   RODNEY         WILLIAMS                   MO     27591579630
2489712A391953   SHANEL         ROYSTER                    NC     90014621203
2489731755B271   MICHAEL R.     LEACHMAN                   KY     68001243175
2489743227B471   BERTIN         SAUCEDO                    NC     90014734322
2489746A74B588   KENA           JONES                      OK     90004814607
24897549A72B42   JUANA          CEBALLOS                   CO     33058225490
2489771A791541   ROSA           AGUILAR                    TX     90013437107
2489834262B27B   TAJUDEEN       OLANIYAN                   DC     90014983426
24898A86185938   MANUEL         GARCIA                     KY     67005660861
248997A2597B41   CARL           GRONBERG                   CO     90014637025
2489B24925B571   MARTHA         MCELYEA                    NM     35045742492
2489B3A7372B29   ERIC WILLIAM   PETRICH                    CO     90003803073
2489B661371935   BRADLY         CONN                       CO     90012966613
2489B852572B42   CARLOS         QUINTANILLA                CO     33011838525
2489BAAAA4B588   JEANA          NICHOLS                    OK     21557680000
248B115157B471   COREY          FLOYD                      NC     90012541515
248B116319189B   SASHA          ROBERTSON                  OK     90012651631
248B125A391541   JOSE           MUNOZ                      TX     75035632503
248B1A9AA4B281   DAN            PETERSON                   NE     90011810900
248B2A85531453   PAVIELLE       JONES                      MO     90014410855
248B333587B471   THEODORE       ROBERTS                    NC     90014733358
248B367515B271   BRITNEY        ISAACS                     KY     90011926751
248B3697872B42   TERELLE        FIELDS                     CO     90012866978
248B4542791953   EMANUEL        CRUZ MOORE                 NC     90010785427
248B473472B27B   JOSE           NAVARRO                    DC     90013607347
248B473615B161   MONTIEL        AVALOS                     AR     23064817361
248B4926891953   ROSALIO        LOPEZ                      NC     90012799268
248B4947171935   HARNEK         SAHOTA                     CO     32039109471
248B523927B449   DAMZAR         DIMGLEY                    NC     90014702392
248B5731571935   JOHN           STURGIS                    CO     32054687315
248B5944191356   PABLO          RODRIGUEZ                  KS     90015309441
248B594979184B   STEPHANIE      APFELBACHER                OK     90012399497
248B6957841245   DWIGHT         HAWKINS                    PA     51072339578
248B7244271935   EDWARD         KNIGHT                     CO     90009602442
248B7417A91522   JOSEPH         MOTA                       TX     90013284170
248B7989172B42   KRISTI         WEBBER                     CO     33083809891
248B8252991582   ISABEL         RODRIGUEZ                  TX     90001682529
248B826985B161   ANGELA         CAULDWELL                  AR     23088652698
248B82A4451369   CHRISTOPHE     WOLFE                      OH     90013082044
248B8727972B32   MICHAEL        VIALPONDO                  CO     90014657279
248B8797872B42   HELEN          KEMP                       CO     33052167978
248B917812B27B   TRINESE        BEASLEY                    DC     90013901781
248B9673A4B261   ROBERTO        SENA                       NE     90012356730
248B9AA9731453   CHIQUITA       NEWBY                      MO     90008230097
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248BB3A4691541   FRANCISCO    MAURICIO                     TX     75089563046
248BBA9AA4B281   DAN          PETERSON                     NE     90011810900
24911526A5B161   CYNTHIA      BOSTON                       AR     23019695260
249116A1872B42   RODNEY       DAVIS                        CO     33077546018
24911A96693767   BRYAN        BROWN                        OH     90013490966
2491235A471935   FELIPE       GARCIA                       CO     32010983504
2491274145B161   JULIA        COUSETTE                     AR     23072087414
24912A2195B271   GARFIELD     WEBB                         KY     90014900219
2491377477B449   BIRKTI       ABRHA                        NC     90014727747
2491382264795B   DEBORAH      GREEN                        AR     25063618226
2491443297B471   ORLANDO      JACKSON                      NC     90001314329
249145A8855957   AMELIA       AVALOS                       CA     90008535088
24914658172B88   AMANDA       MIERA                        CO     90014516581
249146A4641245   NATASHA      SIDDIQI                      PA     90010586046
2491527647B449   MARIBEL      CASTILLO                     NC     90014152764
2491543299189B   MARIO        CARDONA                      OK     90013844329
2491584814B281   ARTURO       MIRANDA                      NE     27065658481
24915973A72B88   CALEB        THOMAS                       CO     90012989730
249164A6471935   ALISA        POULTON                      CO     32050434064
249175A4331453   LATONYA      GRAY                         MO     90011235043
2491779565715B   KAILA        TANKSLEY                     VA     90001297956
249177A3571935   CARLOS       MENDOZA                      CO     90013967035
24917837372B88   JUSTIN       MATTOCKS                     CO     90013638373
2491787A391953   RONALD       TURNER                       NC     90014878703
2491818827B449   NATASHA      DAVIS                        NC     90014771882
24918541572B88   STACEY       IRVIN                        CO     90012215415
2491896A791953   DIANE        ROSSI                        NC     90012289607
2491926254B588   RAY          BRADSHAW                     OK     90013012625
2491B937A91522   JESSE        CHAVEZ                       TX     90015049370
2491BAA4A55957   MADALYNN     MAKEKAU                      CA     48048990040
2492128A47B449   SHAWN        DILLHUNC                     NC     90012952804
24921677172B32   KATHY        DEGALDO                      CO     90009096771
249221A615B257   CARMIN       GLOVER                       KY     90011891061
24922395472B32   VICTOR       GERMAIN                      CO     33018763954
2492241259189B   CAROLINA     JARAMILLO                    OK     90008294125
2492339319189B   KYLE         BLAIR                        OK     90013653931
24923412172B42   VINCENT      RODELL LEE                   CO     33087044121
24923817A4B588   SHEMIKA      CRYER                        OK     90008428170
24924253A7B449   JYMECIA      BENSON                       NC     90007462530
24924A25191522   VALERIA      POBLANO                      TX     75067420251
24925384472B42   HEATHER      WILSON                       CO     90010163844
24926933672B42   GILBERTO     CORTES                       CO     33071279336
24927357A7B471   AYESHA       BENNETT                      NC     11011443570
2492739595B271   SASHA        BARD                         KY     90014793959
2492754165B161   BRIUANNA     GREEN                        AR     90014695416
24927A92291828   MELISSA      JONES                        OK     21016780922
2492821932B232   JOSE         HERRIQUEZ                    DC     90004802193
2492933635B161   LATRYCE      TAYLOR                       AR     23020673363
24929378A9189B   CORIE        BUTLER                       OK     21081953780
2492991835B271   ALICIA       LILLY                        KY     90008229183
2492B438691522   JOE          MONTANA                      TX     90011084386
2492BA4567B471   ISMAEL       TERAN                        NC     90004260456
2493125672B27B   DAVID        ESCALANTE                    DC     90008822567
24931A4249155B   CORAL        CORTES                       TX     90009360424
249321A5931631   JONATHAN     FITZGERALD                   KS     90005341059
24933631A72B32   CESAR        DE LA ROSA                   CO     90014466310
2493451A531453   AINYE        GREENE                       MO     90011235105
24934997A91541   LUIS         VALDEZ                       TX     90004509970
24934A5969189B   AMANDA       BROWN                        OK     90011890596
24935A33372B88   BEATRIZ      CONTRERAS                    CO     33080720333
24935A3615B271   PATRINA      SALTSGAVER                   KY     90014600361
2493663669189B   ANGELETTE    SMITH                        OK     90013696366
24936A32691541   MARIO        MORENO                       TX     90012170326
24936A54391241   KIM          WILL                         GA     90009940543
249378A3171935   GABRIEL      MCKNIGHT                     CO     90014148031
24938454872B32   JANIS        ARAGON                       CO     33098714548
249392A7991241   YOLANDA      DRYER                        GA     90014552079
2493B11A755957   DANIEL       POTEETE                      CA     90011681107
2493B6A9731453   DEVONTE      MILLER                       MO     90013876097
2494151A951369   CARLOS       LOPEZ                        OH     66017475109
2494199985B271   HANNAH       THIEMAN                      KY     90014909998
2494231884795B   TOM          HENSON                       AR     25047783188
2494357587B471   MAYTOYA      CURETON                      NC     90014735758
2494364A27B435   VANESSA      PATTON                       NC     90011116402
2494414A831433   LATRINA      TAYLOR                       MO     90007411408
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24944821A72B32   KOREY        BUEHLER                      CO     90007978210
24945893A97122   MICHAEL      EGLI                         OR     90011458930
24945A75972B32   CRIS         HAYLOR                       CO     90003310759
24945AA125B271   MARVIN       JOHNSON JR                   KY     68094620012
2494623924B588   AURORA       MALDONADO                    OK     90010832392
2494624A591541   LORINA       ORTEGA                       TX     90009862405
249462A625B271   PATRICIA     BORDERS                      KY     90014162062
24946454A91241   SKIPPER      COX                          GA     90014924540
2494674285B333   DONNA        HANSEL                       OR     90012397428
24946A37391953   SHYLENA      DAY                          NC     17001650373
249476A642B249   ANNA         CHICAS                       DC     90000136064
24947A4A381644   DAVID        YEWELL                       MO     29016810403
2494826397B449   JENNIFER     WALSH                        NC     11006122639
24948793A4B588   DAVID        DAVIS                        OK     90013187930
24949321A91241   YAKARIA      KEEL                         GA     90014933210
2494938929184B   FRANKLINE    ALJEANDROP                   OK     90003893892
2494965477B471   ALISA        MACKEY                       NC     11087376547
24949745872B88   GUADALUPE    AVILA GARCIA                 CO     33095187458
24949A8643B352   JAMES        MARTINEZ                     CO     33076190864
2494B326572B32   CRISTIAN     PEREZ                        CO     90013463265
2494B977371935   ANNE         MULLER                       CO     32097809773
2495139897B449   HERLIN       VENTURA                      NC     90013743989
2495236A772B42   DANIEL       FORBIS                       CO     90013503607
2495238164B588   JESUS        CALDERON                     OK     90014173816
249523A899189B   BRYAN        THURMAN                      OK     90012023089
24952422972B42   SABRINA      MALDONADO                    CO     90002464229
2495322174B261   CJ           HUNTER                       NE     90014852217
2495364724B52B   PATRICIA     DURDEN                       OK     90011146472
24953659A7B471   JAMAL        HOLMES                       NC     90014736590
24953A47291241   JOSHUA       MCLENDON                     GA     90013930472
24953A94672B32   YOLANDA      VELAZQUEZ                    CO     90008760946
24954118872B32   SHIRLEY      VILLEGAS                     CO     90013401188
24954426A72B42   KEVIN        REYNOLDS                     CO     90013554260
2495555582B27B   JERMAINE     JACKSON                      DC     90012555558
249559A769155B   LUIS         HERNANDEZ                    TX     90008649076
2495641964B261   ESTER        CORTEZ                       NE     90013644196
24956937872B88   MICHAEL      WORKMAN                      CO     90012479378
24956A9524B588   LAWRENCE     WILSON                       OK     90014640952
249576A975715B   ISABEL       SANDOVAL                     VA     90001276097
249581A3731453   KEDA         MCROBERTS                    MO     90005601037
24958313472B88   TIM          TRIPP                        CO     33058293134
2495B116891828   BLIA         LOR                          OK     90014691168
2495B243855957   GONZALO      PEREZ                        CA     90014802438
2495B826371935   AARON        MESTAS                       CO     90015098263
2495B829391241   DEBRALEE     COBB                         GA     90014558293
2496161397B449   MICHAEL      SMITH                        NC     90003386139
249616AA37B471   JAMARION     ROSEBORO                     NC     90007726003
2496173545B271   JOSEPH       WHELAN                       KY     68021687354
249621A8154162   SAMUEL       STRANGE                      OR     90014921081
2496226525B161   SANDRA       STEWART                      AR     23029212652
249624AA45B271   TIERRA       WRIGHT                       KY     90014224004
24962617A72B42   LETICIA      VALIENTE                     CO     33051826170
2496266424123B   RONALD       CIORRA                       PA     90014476642
2496394A341245   HENRY        CARPENTER                    PA     90001299403
24963A8876B247   JAVIER       QUINONES                     CO     37065170887
249655A3955957   MARION       ROSS JR                      CA     48017275039
2496648947B449   CHARLES      RANDALL                      NC     11035224894
249665A5691986   MIGUEL       ADAME                        NC     90012115056
24966A3535B161   BRITNEY      LAMBERT                      AR     90004970353
2496752657B449   MARCOS       ROJAS                        NC     90013675265
24967762872B32   JONATHAN     KEEGHAN                      CO     90014307628
2496793865715B   MARIE        DEDINA                       VA     90006329386
24967A8876B247   JAVIER       QUINONES                     CO     37065170887
2496838425B161   ADOLFO       CENDEJAS                     AR     90002633842
2496886A557157   OLIVIA       LLOYD                        VA     90002368605
2496932A55B271   CHAD         MUDD                         KY     90015313205
2496B315991541   LILANA       ROBLERO                      TX     90011523159
2496B417172B32   SAM          SNAKES                       CO     90014944171
2496B553A81644   WILLIAM      BARRETT                      MO     90013535530
2497112949155B   MARTHA       DE LA RIVA                   TX     75001921294
2497144425B571   MISTEEQ      VIGIL                        NM     90010714442
2497153867B471   TOMIKA       BRIGHT                       NC     90007725386
2497161A272B88   CARLOS       VALLES                       CO     90009826102
249736A3971935   SHAWNNA      EMILIO                       CO     32011736039
24973A1A541245   LESTER       JACKSON                      PA     51066530105
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2497437752B27B   KIMBERLY         LEWIS                    DC     90013013775
249756A4881644   DARON            WILLY                    MO     90003616048
24976985872B32   ZANTEL           ABAD                     CO     90012589858
2497737323B391   DALE             ALBRECHT                 CO     90002393732
249774A9391953   LEROY            MELTON                   NC     90015034093
2497832129189B   FREDA            SMITH                    OK     90014313212
24979919972B32   DONNA            BLEDSOE                  CO     90000989199
24979A17551333   KARMIA           ADKINS                   OH     90011110175
2497B237955957   OVIDIO A         SAUCEDA                  CA     90005042379
2497B344972B32   WELTON           TUCKER                   CO     90011063449
2497B394591534   MARIA DE JESUS   OROZCO                   TX     90013713945
2497B4A5872B42   JASON            MITCHELL                 CO     33048204058
2497B739672B88   ROMONDE          WEBSTER                  CO     90013157396
24981153A91828   TAKEA            DARKO                    OK     90009921530
249826A1831453   CHRISTOPHER      CALLAWAY                 MO     90011236018
24982A6114B588   RICARDO          GUTIERREZ                OK     90010970611
2498365719155B   ERIBERTO         CHAVEZ                   TX     75076766571
249841AA472B32   LEANN            TRUJILLO                 CO     90007151004
2498421175B571   ANNA             BOLIVAR                  NM     35033892117
2498477875B271   MALIK            PHILLIPS                 KY     90014297787
249848A419184B   KEN              BUCHER                   OK     21045168041
249856A8241272   ELAINE           PHILLIPS                 PA     90010126082
24985919872B42   BRENDA           CHAVEZ                   CO     33013089198
2498612399189B   TYLER            SHELL                    OK     90015531239
24986186A91541   MARIA            GALLEGOS                 TX     90013721860
2498666A291828   BRANDY           BLACKFOX                 OK     90009316602
2498749934B588   STEPHANIE        MCCARTHY                 OK     90012074993
2498782A271935   MICHAEL          DIAZ COLON               CO     90013238202
2498788457B471   CRISTEN          ALEXANDER                NC     90014738845
2498922929184B   JOSE             DURAN                    OK     90014992292
249892A2991522   JUAN             GOMEZ                    TX     90012702029
2498954369155B   RAFAEL           ZUNIGA                   TX     90009535436
24989A16891356   BELLA            ROE                      KS     90010010168
2498B15475B936   DIANE            FALL                     ID     90005191547
2498B46987B449   EDUARDO          AYALA                    NC     11060624698
2498B9A8191541   MAYRA            MACIAS                   TX     75089319081
249913A8372B42   KURT             HERTEL                   CO     90013103083
24991586972B42   JAMES            ANDERSON                 CO     90013295869
249929A2677576   DIRK             JACOBSEN                 NV     90006799026
2499333A24B261   OLIVIA           BAKER                    NE     90013273302
2499371769189B   CHERYL           STARKEY                  OK     90013257176
2499412157B449   PABLO JUNIOR     MORA                     NC     90012211215
24994598972B42   LEONARDO         ORTIZ                    CO     33011165989
2499474255B571   SABRINA          MARTINEZ                 NM     35055427425
249957AA54B588   VINICIO          RODAS                    OK     90010677005
249974A3172B32   TAMMY            WILSON                   CO     90003984031
249974AA933B96   CHRISTINA        ERVIN                    OH     90012814009
2499829424B261   BENITO           HERNANDEZ                NE     90013942942
2499856A37B449   ELADIO           LOPEZ                    NC     90013675603
249992A944B588   ROBIN            ERNST                    OK     90013682094
2499977892B27B   TIANDRA          HASKINS                  DC     90014767789
24999A8A831453   CHRIS            KLUND                    MO     27593200808
2499B77174795B   MARIA            LANDEROS                 AR     25055167717
2499BA79981644   LETICIA A        SCOTT                    MO     90015050799
249B124365B271   TAMMIE           ORTIZ                    KY     90013092436
249B1277955935   ROCHELLE         ROBINSON                 CA     90013642779
249B26A4331631   JEROME           CHRISTMON                KS     90007826043
249B31A5855957   CINDY            MORA                     CA     48010241058
249B322944B261   MONA             JOHNSON                  NE     27029972294
249B329A891828   JOHN             ROSE                     OK     21098452908
249B352A691953   ERICA            THOMPSON                 NC     17051255206
249B3598931453   JASMINE          RODRIGUEZ                MO     90009795989
249B4374681644   ARLOWA           ADAMS                    MO     90014163746
249B4A57491522   MERCEDES         LOPES                    TX     90007450574
249B4A8A691541   ROSA             MALDONADO                TX     90010900806
249B5497772B32   MARTHA           LANDEROS                 CO     90005664977
249B5546191541   JOE              MARIN                    TX     75078075461
249B5669291828   DONNELL          WASHINGTON               OK     21059116692
249B5949491241   CATHY            VACCARI                  GA     90003559494
249B62A7A8B16B   JOYCE            OLIPHANT                 UT     90009952070
249B63A559155B   JOSE             GARCIA                   TX     75079973055
249B684A672B42   JULIUS           MCCOY                    CO     33097528406
249B7259191525   MAYRA            LOZANO                   TX     75056092591
249B7274291522   EVA              RUIZ                     TX     90012372742
249B756715B571   JOSEPH           WRIGHT                   NM     35008765671
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249B8331231631   NANCY             SANDOVAL                KS     22039243312
249B846777B471   LAKITA            WILLIAMS                NC     90014734677
249B869295B271   DIANA             RICHARDSON              KY     90012136929
249B923464B261   DAMIAN            POLLACK                 NE     27072252346
249B9515472B32   DEBBIE            MATHIS                  CO     33067995154
249B954874B588   FELICIA           MATHEWS                 OK     90013825487
249B988229155B   MARGIE            HERNANDEZ               TX     75052378822
249BB63532B32B   JEAN              POLICAT                 CT     90013486353
249BB678471935   CARRIE            RAYOR                   CO     90012966784
249BB878691953   RODRECO WELBORN   VALDEZ                  NC     90011948786
249BB9A1791356   CLAUDIA           HUIZAR                  KS     90015049017
24B1116A38B182   GHISLAINE         HOMAN                   UT     31023581603
24B112A254B281   CHRISTINE         BOETEL                  NE     27093432025
24B11329691528   DAVID             HINOJOSA                TX     75093533296
24B1146834B588   SOCORRO           HERNANDEZ               OK     90010984683
24B11635355935   LILILIAN          BRYSON                  CA     90012776353
24B11799755957   STEVEN            OLIVER                  CA     90008487997
24B11917A5B161   ANNA              SIMMONS                 AR     90010819170
24B13415A4B281   ELIZABETH         THEULEN                 NE     90010594150
24B1352235B571   ASHLEY            REED                    NM     90009225223
24B13937336B95   MELANIE           CUNNINGHAM              OR     44525909373
24B13A96941245   LINDA             HVOZDIK                 PA     90006150969
24B1488269189B   SHERRY            PURDOM                  OK     21017818826
24B14A96931631   SHERYL            DORSEY                  KS     90003700969
24B15268655957   TOSHIA            LEE                     CA     90010572686
24B15A87A91953   BARBARA           DALE                    NC     90011510870
24B1645AA9184B   ELVIRA            MORENO                  OK     90011404500
24B16734625138   CASSANDRA         MILLER                  AL     90014727346
24B17121372B88   CURTIS            HESTER                  CO     90008991213
24B17241755957   LOUIS             MERCADO                 CA     48002392417
24B17251A4B588   MAREALE           GARRETT                 OK     90010912510
24B1752A291893   MARY              ZACHERY                 OK     90010795202
24B1823965B271   NANCY             ROBINSON                KY     68046952396
24B1861757B471   TERWHA            GLASS                   NC     90008026175
24B18717A72B32   JERMAN            JAVIER                  CO     90014657170
24B18A5257B471   ALICIA            JENKINS                 NC     90014670525
24B191A2647952   DORGUINA          CHANCEY                 OK     24010271026
24B19246891542   ANTONIO           HERNANDEZ               TX     90013082468
24B1B528591356   ALBERTO           MACIAS                  KS     29048345285
24B2129A12B27B   WILLIAM           CORLEY                  DC     90014292901
24B21615791522   CHRISTOPHR        MUNOZ                   TX     75085916157
24B2168889184B   DAWAN             STIGGER                 OK     90014836888
24B21A96A91828   STEPHANIE         HOLMBURG                OK     90012330960
24B22284A7B449   CARLOS            GONZALES                NC     90014112840
24B223A4557157   JUAN              VEGA                    VA     90011363045
24B2259154B588   JOSH              BOBO                    OK     90015185915
24B22686772B42   MANUEL            CALDERON                CO     33061426867
24B22877781644   ARACELI           MARTINEZ                MO     90013948777
24B23138291356   JEON              DAVIS                   KS     90014601382
24B2336455B271   OROZCO            PEREZ                   KY     90014083645
24B24256585938   CARLA             GONZALEZ                KY     67030172565
24B24278872B32   BEVERLY           MALLARD                 CO     33021602788
24B24916461994   LILIA             ONG                     CA     46037269164
24B251A112B27B   GODFREY           JALOH                   VA     90013361011
24B25662672B32   BRISSA            MANRIQUEZ               CO     90013966626
24B25774784364   ROSHELL           WALLS                   SC     90013777747
24B25861172B42   MICHAEL           NEWTON                  CO     90010928611
24B25A59291828   DEVIN             WINN                    OK     90013380592
24B2633A95B161   BRIDET            FARMER                  AR     90014713309
24B2671A291828   JUSTIN            BECKWITH                OK     90006037102
24B26818591541   IRENE             VILLEGAS                TX     90012388185
24B27189391828   SERGEI            ZAGORODNY               OK     90006011893
24B27199A4B588   JONATHAN          DYKES                   OK     90015601990
24B2737179155B   WILL              SMITH                   TX     75083263717
24B2759A14B281   EDITH             AVANT                   NE     27042665901
24B276A1891522   JESUS             BARRAGAN                TX     90006416018
24B2777567B457   FELICANA          PERREZ                  NC     90010507756
24B2833547B471   TAMIKA            GAMBLE                  NC     90010953354
24B2833644B588   BROOKE            WALLACE                 OK     90014663364
24B28417481644   NALLEY            ROSARIO                 MO     90000114174
24B2874869155B   FERNANDO          VAZQUEZ                 TX     90010777486
24B2876A872B42   KANE              ACOSTA                  CO     90015137608
24B2887314B281   TODD              HOLLINGSWORTH           NE     27030668731
24B2917A291241   ANDRE             TYSON                   GA     90012011702
24B2935A471935   BRAYN             BALL                    CO     90010903504
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24B2B112941245   ANDREA          ASHER                     PA     51087791129
24B2B125391522   JUDITH          MACIAS                    TX     75050301253
24B2B265357124   OSCAR           MALDONADO                 VA     90007992653
24B2B28717B449   JAVEL           EVANS                     NC     90012622871
24B2B761871935   OTIS            TRAMMELL                  CO     90000827618
24B3128393B355   MARIA           AGUILERA                  CO     90010722839
24B3176419155B   JUAN            CORONA                    TX     75071067641
24B32663931453   LACEY           HENDRIX                   MO     90010306639
24B32826155957   DOLORES         RODRIGUEZ                 CA     90008058261
24B33865591241   EMBER           HUNTER                    GA     90012988655
24B33886681644   REBECA          LOPEZ                     KS     90013948866
24B34257172B32   CARLOS          RUIZ                      CO     90008092571
24B3435754B281   KYLE            SPEIGHTS                  NE     90011793575
24B347A8881644   MELISSA         BITTIKER                  MO     90010087088
24B3517652B232   LATISHA         CHAPMAN                   DC     90004071765
24B3519575B271   DONNA           ROISOR                    KY     90006041957
24B35837731453   ARTIS           BEATY                     MO     90009218377
24B36925481644   ERIC            JONES                     MO     90009939254
24B3773294795B   JOSE            FLORES                    AR     25095097329
24B3814639189B   DEMERTRICE      HARDRICK                  OK     90012231463
24B38559584364   JOSE            PUGA                      SC     90013105595
24B38692491953   JUSTIN          REYNOLDS                  NC     90001106924
24B3871847B399   JOSE OSCAR      COLINDRES                 VA     90005597184
24B39726572B42   EDGAR           ROMERO                    CO     90012097265
24B3B29565B271   DENISE          BURKHEAD                  KY     90014102956
24B3B373687B87   FELICIA         MILLER                    AR     23032083736
24B3B412831453   DEBRA           CHANDLER                  MO     27571794128
24B3B485A55957   SCOTT           MASON                     CA     90012424850
24B3B622672B32   FORTUNATO       CANALES                   CO     33062026226
24B412AA731453   LEAH            PRICE                     MO     90015052007
24B4145495715B   EDWIN           GUZMAN                    VA     90000404549
24B4155784B588   SARAH           BRAXTON                   OK     90012335578
24B41865972B32   NICHOLAS        DEBELLE                   CO     90000928659
24B4228739794B   LAKIESHA        MINOR                     TX     90002622873
24B424A865B161   JESIKA          LONG                      AR     90014984086
24B4257735B271   BOBBY           POWERS                    KY     90011025773
24B4287A457157   LORRAINE        GADSDEN                   VA     81088578704
24B42898A71935   JASON           PARRY                     CO     90012818980
24B42A6A691522   MARIO           JIMENEZ                   TX     90012730606
24B43722A81644   SARAHY          VELASQUEZ                 MO     29041267220
24B455A7491541   MIRELLA         SANCHEZ                   TX     90003775074
24B455AA191522   CARLOS          ECHEVARRIA                TX     90008605001
24B4598469189B   KIRA            HAMBLIN                   OK     90008969846
24B4614A672B32   MATTHEW         HAYES                     CO     33070311406
24B46418351326   TAMMY           MCQUAID                   OH     90014744183
24B4642134B261   RHONDA          ROBINSON                  NE     27076954213
24B4685645B161   CHRISTOPHER     SMITH                     AR     90014208564
24B46A51191356   ROBERT          KASPER                    KS     90009360511
24B47218991828   ALEXANDRA       FOREMAN                   OK     90013122189
24B4766449184B   WILMER          FLORES                    OK     90003766644
24B4785A591953   TRAY            WILSON                    NC     90015078505
24B48164797173   SARAH           EAGLE                     OR     90010531647
24B4824287B449   PAIGE           HANSBROUGH                NC     11028872428
24B48386671935   JEFFREY         LANGWORTHY                CO     90015133866
24B48589231453   MICHELLE        BAIK                      MO     90010405892
24B4875973B127   DELMER          PORTILLO                  VA     90005807597
24B48898A7B423   HENRIETTA       SMITH                     NC     90008428980
24B488A154B261   LINDSLEY        ESTES                     NE     27009168015
24B4912575B571   ART             HERRERA                   NM     35067641257
24B49173397173   JOE             GLOVER                    OR     90010531733
24B49318171935   JOSE DE JESUS   AMEZCUA                   CO     90013053181
24B49699141229   ICB             INC                       PA     90007066991
24B4972935715B   URANIA          LOPEZ                     VA     81026067293
24B49789481644   BETTY           MASON                     MO     29029267894
24B49862291828   JAVIER          GARCIA                    OK     21069488622
24B4B286391828   HAZEL           MILLER                    OK     90012662863
24B4B373A31631   BILL            DEAN                      KS     22004093730
24B4B591172B32   OLUSEGUN        ADENOWO                   CO     33093055911
24B4B73435B271   DANNIELLE       DUGAN                     KY     90013147343
24B4B836191828   EMPRAIM         LIGGINS                   OK     90014648361
24B4B998184364   MARIO           VALLADARES                SC     90013109981
24B51119772B42   KEITH           FARLEY                    CO     90008301197
24B515A5A4B261   MIKLE           LESSLEY                   NE     90015165050
24B5165859189B   RENEIA          LOWE                      OK     90010736585
24B51662A91541   ANNIE           HOLSEY                    TX     75061056620
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24B5171725B271   JEREMY              ALLEN                 KY     90007087172
24B51938191356   ELENA               PACHECO               KS     90012009381
24B5233AA5B571   JUAN                ALVAREZ               NM     90010503300
24B5297554B588   MADELINE            KEMPER                OK     90014019755
24B53189891953   DIANA               DE ANDA               NC     17039391898
24B53291571935   MARK                STEINER JR            CO     32087992915
24B53748591541   MARIO               VALDEZ                TX     75064577485
24B538A8191356   JAZMIN              JIMENEZ               KS     90012418081
24B5517A191541   RICARDO             HERNANDEZ             TX     90006101701
24B5522435B571   CORRINE             MAES                  NM     35009692243
24B55587491356   SANTIAGO            GARCIA                KS     90014675874
24B558A359189B   GABRIELA            VASQUEZ               OK     90012058035
24B5632532B27B   JOHN                JOHNSON               DC     81051353253
24B5645A34B588   GERVIN              GONZALEZ              OK     90015004503
24B57488872B42   AMANDA              NEWTON                CO     90013054888
24B5788315B161   ANGEL               ALLEN                 AR     90015208831
24B58177131433   JENNIFER            STRAUTMAN             MO     27590141771
24B5835299184B   HEATHER             HANSEN                OK     90013203529
24B5866728B149   BECKY               RASMUSSEN             UT     90012706672
24B58698272B88   LAURA               BUSBY                 CO     90004916982
24B58A16891828   RASHEED             OLAONITEKUN           OK     21007890168
24B58A97A72B32   ABIGAIL             GARCIA                CO     90012420970
24B58AA9391241   CERRELL             ROBBINSS              GA     90014780093
24B59A64891241   BRYAN               EVANS                 GA     90011970648
24B5B893A91541   GUADALUPE           APODACA               TX     90000148930
24B5B932991828   JESUS               AGUILAR               OK     90009539329
24B61138971935   LUIS                SALINAS               CO     90014321389
24B6118899794B   JOSE                RAMIREZ               TX     90000991889
24B6126864B28B   DENNIS              ZAGER                 NE     90013002686
24B61277985999   SHIRLEY             CRANK                 KY     90012082779
24B6167977B471   CHRIS               TINDAL                NC     90014766797
24B61853184364   DELPHINE            MOORE                 SC     19045838531
24B61A3A191541   LEO                 MELENDEZ              TX     90012850301
24B61A79372B88   PABLO               REYES-SANTILLO        CO     90013140793
24B62139691926   STEPHANIE           DUPREE                NC     17030881396
24B62548624B55   LAVERIA             WHITBY                DC     90009905486
24B6273195B271   CYNTHIA             TERZO                 KY     90003607319
24B63438391541   JUAN                LOPEZ                 TX     90009284383
24B643A6872B32   FREDERICK GARRETT   KING                  CO     90011413068
24B64699187B87   ELOISE              SELBY                 AR     23016056991
24B64A98855957   SHILA               HARRIS                CA     90012840988
24B6557395B571   ARTURO              COCA                  NM     35092015739
24B65722341245   LATESHA             MURRAY                PA     51069957223
24B6669519184B   ANGELA              VANDIVER              OK     90013626951
24B6698A231631   DANIELLE            TUCKER                KS     22006969802
24B66A68291953   NOE                 MORALES               NC     90013980682
24B6725A42B27B   SHERTI              HENDRIX               DC     90014332504
24B67439691541   EDUARDO             MADRID                TX     90010314396
24B67474472B88   CONNIE              HENDRICKS             CO     33063454744
24B6754262B27B   SHERTI              HENDRIX               DC     90011615426
24B6779735B271   RHANDI              THOMPSON              KY     90013847973
24B67815347952   RAFAEL              MANJARREZ             AR     24038418153
24B678A3791522   PERLA               HERNANDEZ             TX     90015058037
24B6791773B39B   CINDY               ANDERSON              CO     90011469177
24B6851875B161   DOMINQUE            COATS                 AR     23002835187
24B69349A87B87   LEE                 STOKES                AR     23071393490
24B69571891953   EUGENIA             WIMBUSH               NC     90015245718
24B6983979184B   PATRICE             GREEN                 OK     90009858397
24B69A6422B281   TELISA              SETTLES               DC     90004040642
24B6B673691356   LUPITA              CONTRERAS             KS     90014376736
24B6B734372B32   ERIC N              VASHTI                CO     33045727343
24B6B99154795B   AMANDA              CARSTEN               AR     90012239915
24B71211472B32   MIGUEL              FLORES                CO     90011062114
24B71841591828   LOGAN               WEDDLE                OK     90014128415
24B71A94191522   JOSE                LOPEZ                 TX     75031800941
24B72273681635   CHRIS               GREENWALD             MO     90010682736
24B72298A7B449   KENISHA             BILLUPS               NC     90011252980
24B72399291356   RACHEL              MARTIN                KS     90013243992
24B7242495715B   JOSE                ARANA                 VA     90005344249
24B72538284364   RONALD A            CONNICK JR            SC     90014555382
24B72755347952   MONICA              PRUITT                AR     90005007553
24B72A45857157   LUIS                BONILLA               VA     90003490458
24B73245A91522   RAUL                BAUTISTA              TX     90011942450
24B74135A31631   DAWIT               TSEGAY SIELE          KS     90014071350
24B74429991241   KRISTEN             PINHEIRO              GA     90014064299
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24B7443387B274   STEFANIE     GETTMANN                     AZ     90012044338
24B74582191356   RAY          CLARK                        KS     29034195821
24B74622572B88   TONY         MAUBACH                      CO     90014386225
24B7482A79184B   ERNEST       WEST                         OK     21004588207
24B7499A291541   JUAN         SERRANO                      TX     90014729902
24B7514A591522   DERYL        CURTIS SR.                   TX     75023531405
24B7516889184B   DAISI        CARDENAS                     OK     21085261688
24B7522869189B   DARREL       RUFF                         OK     90011702286
24B7565225B271   TIMOTHY      MILLER                       KY     90014886522
24B75852171935   ALFONSO      CHAVARRIA                    CO     32024018521
24B76135672B88   TOMMY        HUFF JR                      CO     33009371356
24B761A8257157   LUCAS        GARCIA                       VA     90003081082
24B7623584B281   MELISSA      DE LA CRUZ                   NE     90011742358
24B76276487B59   ANGELA       HARRIS                       AR     90002942764
24B7741125B271   DUSTY        KEY                          KY     90004354112
24B7766672B931   TOMMY        PATTERSON                    CA     45097376667
24B77912572B88   NAVARRA      MOUA                         CO     90006459125
24B78133A91522   SYLVIA       GRANILLO                     TX     75087231330
24B78325131631   MIRNA        RUVALCABA                    KS     90009413251
24B78493691241   JONATHAN     PERAZ                        GA     90011904936
24B7856534B588   KEVIN        GILBERT                      OK     90014345653
24B7864A972B88   FRANCISCO    GARCIA                       CO     90013066409
24B7869265B271   CONTESSEA    SPEAKS                       KY     68040296926
24B787A8655957   RICKEY       GREEN                        CA     90012787086
24B7934964B261   MONIQUE      COOPER                       NE     27045753496
24B79976972B88   JEFF LEE     EVANS                        CO     90013159769
24B79A61191828   JODIE        CAPPS                        OK     90007960611
24B7B67465B271   LUCIO        RAMIREZ ROJO                 KY     90011866746
24B81358772B42   JACKIE       TORRES                       CO     33006813587
24B8152359184B   KENAN        FRIDAY                       OK     90012845235
24B81588155957   MANUEL       DUUARTE III                  CA     48069555881
24B81678771935   KEOKI        SMYTHE                       CO     90014266787
24B81738272B32   NENA         MARTINEZ                     CO     90014837382
24B81A72491541   VICTOR       CORTEZ                       TX     90013410724
24B8234A32B27B   CHRIS        EDWARDS                      DC     90013813403
24B8239817B471   JERSON       ESTRADA                      NC     90013553981
24B82682491356   ANGELA       HAYNES                       KS     29073746824
24B82854591522   ALMA         CORTEZ                       TX     90011828545
24B82957931453   NIKKI        MITCHELL                     MO     90001379579
24B82A85972B88   SHAWN        RIDDELL                      CO     90009930859
24B83445291522   JOSHUA       LOPEZ                        TX     90007604452
24B83856381637   ROBERT       HENDERSON                    MO     90012558563
24B8385A161939   MARIA        FIELD                        CA     46076388501
24B84122872B88   ERIC         BAILEY                       CO     33049761228
24B84321772B32   MAYTE        PAREDES                      CO     33010003217
24B84819184364   BAYRON       MONROY                       SC     90013668191
24B84A5772B931   JESSICA      APODACA                      CA     90005550577
24B84A6362B27B   TIMOTHY      THOMAS                       DC     90014520636
24B8512137B449   RAJAI        ROBINSON                     NC     90009081213
24B85142331453   NICHOLE      CHICK                        MO     90012451423
24B8554419184B   THOMAS       HINDS                        OK     21090285441
24B85828A9189B   TAMRA        RUHMANN                      OK     21029998280
24B86441284364   JESSE        PURVIS                       SC     19010314412
24B86462191522   IVONNE       DIAZ                         TX     75064114621
24B8646535B161   JAMIE        LOCKETT                      AR     90013764653
24B86769A9794B   LUCAS        PEREZ                        TX     74077117690
24B87A43372B88   YOLANDA      CABRAL                       CO     33026990433
24B88362391541   ISABEL       PINEDA                       TX     90010853623
24B8882AA72B32   LISA         CRAIG                        CO     90005218200
24B8958185B161   MARTHA       VALASQUEZ LOPEZ              AR     90012035818
24B8963327B449   ROSALIND     CRAIG                        NC     11040916332
24B89A51872B32   MELISSA      GLANDER                      CO     90014730518
24B8B284A72B88   DAWN         FUENTEZ                      CO     33079372840
24B9224A34B281   MICHAEL      SNODGRASS                    NE     90011652403
24B9256437B471   CHRISTINA    CANNIE                       NC     90012925643
24B9295A75B271   BRIAMA       GROVES                       KY     90011689507
24B92A68431631   MINDY        BROCKUS                      KS     90014030684
24B93118371935   JOSE         SANDOVAL                     CO     90015271183
24B93165491241   BRIAN        MOYO                         GA     14540111654
24B93423355957   ANA          LOPEZ                        CA     90010664233
24B9392144B261   WILLIAM      RIVERA                       NE     90013929214
24B93A51587B59   HURBERT      CORBIN                       AR     23055250515
24B94299184364   ELY          DRIGGERS                     SC     19086512991
24B9438184B588   SHERRY       NUSZ                         OK     90013533818
24B9448A791953   TRACY        TOOMER                       NC     17004724807
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24B9449255715B   JELA         DEAN                         VA     90003204925
24B94627391356   CARLOS       GALVEZ                       KS     29026186273
24B94844691828   GREG         LYTLE                        OK     21005218446
24B95276957133   DANIEL       MUNOZ                        VA     90011742769
24B952A8891356   GAYLORD      RICHARDSON                   KS     90007762088
24B95378891828   GREGORY      KIRBY                        OK     90013283788
24B9542A972B32   NORMA        GONZALEZ GOMAEZ              CO     90005774209
24B95444531453   ANTOINETTE   BURKS                        MO     90013544445
24B95454191953   MYCHEL       WILLIAM                      NC     90009024541
24B9561562B927   JAMIE        SIMMONS                      CA     90010476156
24B95767355957   KIM          ACEVEDO                      CA     90013047673
24B9593842B27B   DANAY        HARPER                       DC     90012939384
24B95A1165B161   MANUEL       RIOS                         AR     90015610116
24B96199391522   PRICILLA     RODARTE                      TX     90007231993
24B9657185B571   DENISE       GERSBECK                     NM     90001485718
24B96A67591241   JOHNNY       RHODES                       GA     90009280675
24B96A8A587B87   SAMANTHA     HURST                        AR     23068530805
24B97147791541   CYNTHIA      SCHAFER                      TX     90002221477
24B9732845B161   DOMINIGUE    VINSON                       AR     90012633284
24B97631A9189B   JUSTIN       BRASSFIELD                   OK     90006566310
24B98333291522   ALEX         G.                           TX     75083113332
24B98669572B88   DANA         RODRIGUEZ                    CO     33041726695
24B9872714795B   SANTIAGO     GARCIA                       AR     25076207271
24B98938872B42   ZACKERY      OSTHEIMER                    CO     90001079388
24B99238655957   MIGUEL       RAMIREZ                      CA     48017902386
24B99319921626   ROSA         OZANICK                      OH     90013893199
24B99571291356   JACKIE       ELGIN                        KS     90012865712
24B9967695B161   AMANDA       DAVIS                        AR     23013876769
24B9B51517B449   SADRIGA      GIBSON                       NC     90009315151
24B9B56437B471   CHRISTINA    CANNIE                       NC     90012925643
24BB1136931453   SATCHEL      DONALD                       MO     90010281369
24BB1916384364   JEREMY       WOOD                         SC     90014839163
24BB23A6291953   MARIA        MORENO                       NC     90014963062
24BB3232141245   CALVIN       GOODMAN                      PA     51003512321
24BB353964B281   BARBARA      REMMEN                       IA     90009515396
24BB3563172B42   ELAINE       PRATT                        CO     90012935631
24BB3863191949   CARMEN       SLOAN                        NC     90012868631
24BB3A33961999   FELICIANO    ARREARAN                     CA     90012570339
24BB425827B449   MARCOS       CORTEZ                       NC     90012952582
24BB463315715B   GLORIA       SANCHEZ                      VA     81012696331
24BB4643287B59   SANDRA       BENNETT                      AR     23040716432
24BB464898B17B   MILAN        FITZGERALD                   UT     31001156489
24BB4A4744B261   CARLOS       RAMOS                        NE     90010890474
24BB547965B161   DELILAH      HODSHIRE                     AR     90015004796
24BB5863191949   CARMEN       SLOAN                        NC     90012868631
24BB598455B191   ADRIAN       COOPERWOOD                   AR     90014899845
24BB598A44B588   MARTIN       ARIAS                        OK     90012679804
24BB5A65972B73   ANNETTE      JACOBS                       CO     90009170659
24BB636397B435   DAILLA       PETERSON                     NC     90010883639
24BB6447291541   CHRISTOPHE   BREAZEALE                    TX     90000484472
24BB685A891828   TRAVIS       HYATT                        OK     90008188508
24BB6992541245   MATTHEW      DEMBRWOSKI                   PA     51012569925
24BB6A1117B471   KRISTEN      SHARPE                       NC     90014670111
24BB7A1117B471   KRISTEN      SHARPE                       NC     90014670111
24BB8229891522   GRACE        GANDARA BELTRANN             TX     75028952298
24BB9531391541   RENE         VALADEZ                      TX     90008575313
24BB9599391522   MARIBEL      CHAVIRA                      TX     90011435993
24BB998A191953   TANYA        WILLIAMS                     NC     17033249801
24BBB17179155B   NITER        ALVIN                        TX     90011241717
24BBB4A7891522   MARTHA       TREVIZO                      TX     90012894078
24BBB638131453   DEEZ         NUTS                         MO     90015026381
24BBBA3582B232   KIZZIE       KING                         DC     81047180358
25111478172B88   DULCE        BANCHEZ                      CO     90011294781
25111957A3B388   AUGUSTINE    MADERA                       CO     90012219570
2511214A24B588   MARTHA       SANCHEZ                      OK     21545511402
2511243624B281   JUSTIN       CHERRY                       NE     27044654362
25112795A9189B   KELLY        WILLIAMS                     OK     21025437950
25112A7A757157   DOUGLAS      ROSS                         VA     90010290707
2511335A43B388   NEVA         SMITH                        CO     90007873504
2511357275B271   MACKENZA     SIMPSON                      KY     90014105727
2511364762B839   KHTER        HOSSIN                       ID     90013936476
2511435659155B   MARTHA       GARCIA                       TX     90008873565
25114529872B32   EDGARDO      HERNANDEZ                    CO     33010945298
2511453879794B   MICHAEL      CAPPS                        TX     90014875387
2511614827B471   SGASGS       GFGHSDF                      NC     90008241482
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2511635155B592   MONICA       WYCHE                        NM     90002833515
25116A1289136B   ABEGAY       VARGAS                       KS     90013940128
25116A5469794B   CARLOS       TAMAYAC                      TX     90010360546
25116A5859189B   GEORGINA     GUZMAN                       OK     90015190585
25117189272B42   MARTINA      GARCIA                       CO     90009511892
2511768934795B   JOSUE        AYALA                        AR     90007836893
251177A899155B   LYZETH       VARGAS                       TX     75098467089
2511797A99136B   NICK         SANTIAGO                     KS     90013239709
251182A1791522   VANESSA      RODRIGUEZ                    TX     75025072017
251185AA89189B   GARY         STEVENSON                    OK     90005535008
2511868544B588   ENRIQUE      RESENDIZ-CHAVEZ              OK     90012786854
2511934282B27B   JUSTIN       SHROUT                       VA     90012373428
25119352A85938   FABIO        SANTIZO                      KY     67017633520
2511973689794B   KENNETH      THORNTON                     TX     90013547368
2511B35135B571   ANTOINETTE   HERRERA                      NM     90012203513
2511B74135B161   MEGAN        BEAL                         AR     90013777413
2511B7A769155B   JAZMINE      RENTERIA                     TX     90012337076
2512128A37B471   UNSHANEKI    MURRAY                       NC     90014512803
25122629372B42   SHANE        NELSON                       CO     90012536293
25123245272B32   JOSE         RAMIREZ                      CO     33085712452
2512345165B271   EARNIST      GAITHER                      KY     90008594516
251237A3841245   JAKE         GRAY                         PA     90005837038
2512381855B271   JERMICA      DORSEY                       KY     90011578185
251239A5471943   ROSE         NELSON                       CO     90014229054
25123A8A25B161   JADA         JOHNSON                      AR     90007750802
251241A479155B   DANTE        MONDRAGON                    TX     90013001047
25124A2A691828   MARIA        GONZALES                     OK     21082370206
2512564444B588   LAKELL       FRANKLIN                     OK     90011476444
2512568985B271   NATHANIEL    YURT                         KY     90013466898
25125759272B88   MATHA        MUNOZ                        CO     33075297592
2512656164B588   DIONNE       FORSHEE                      OK     90011425616
251267A914B588   JENNI        COWAN                        OK     90012907091
25127216572B88   MARIA        MENDEZ                       CO     90012512165
25127256772B32   IVAN         GALINDO                      CO     33068682567
2512772595B571   JOHN         CHICK                        NM     90011727259
2512815929184B   MICHELLE     BAGRAVE                      OK     90010541592
2512816654B588   PRINCESS     THELISMA                     OK     90015001665
25128176A2B232   SHIRLEY      BENTON                       DC     90006541760
2512833217B471   LAKEESHA     BRIGHT                       NC     90011173321
2512835A55B271   DONALD       HEBERT                       KY     90013303505
2512941387B656   CORNELIO     GOMEZ                        GA     90001294138
2512B2A352B839   JANET        HOLST                        ID     90013022035
2512BAA949155B   VERONICA     RAMIREZ                      TX     75045270094
2513162514B588   THAD         BREEDING                     OK     90010856251
25131A4379794B   HANNAH       WILKINSON                    TX     90013840437
25131A4869155B   SUSAN        VALLIERES                    TX     90011600486
251322AA89189B   KLAYTON      HICKMAN                      OK     21000102008
2513254642B839   MANUEL       CORONA-ORTIZ                 ID     42031245464
2513267819184B   MICHELLE     WILLIAMS                     OK     90012346781
25133369A2B839   ROSALBA      VILLA                        ID     42039133690
2513362A855957   NICHOLAS     PIMENTEL                     CA     90008036208
251338A225715B   ALFREDO      BARRIENTOS                   DC     81012658022
25133A51472B88   FAITH        SMITH                        CO     90013750514
2513417815715B   TIGIST       ALEBEL                       VA     90012071781
2513427249136B   JAMES LEE    HULS                         KS     29013502724
2513455925B161   JABARI       HAWKINS                      AR     90015205592
2513488A59155B   ANTONIO      DAVILA                       TX     75035788805
2513496535B271   JERALD       MCCARDLE                     KY     68095929653
25134A21A2B839   KAROLYNN     LARSON                       ID     90009410210
2513516A681661   TREVOR       WARNER                       MO     90008981606
25136479A41245   CAREY        TWIGGER                      PA     90011824790
2513676649136B   JORGE        HERNANDEZ                    KS     90013967664
25136A38581633   LORA         JOHNSON                      MO     90015070385
2513795A84B588   ALAN         ELLMORE                      OK     21557129508
25137986772B88   LAURA        ARGUELLO                     CO     33090459867
25137A4529136B   RACHEL       WILSON                       KS     90013940452
2513819869184B   JERI         MCCAIG                       OK     90010541986
251384A614B261   JOSEPH       KASUN                        NE     27009404061
2513865637B449   CHRISTOPER   SMITH                        NC     11052296563
2513874A92B839   CLARENCE     KONERTZ                      ID     90006927409
2513885935715B   HEIDY        PEREZ                        VA     90005788593
25139169372B32   CARLOS       DELGADO                      CO     33008291693
2513918214B281   FRANK        DEAN                         NE     27096711821
2513932685715B   AURELIO      ROMERO                       VA     81091363268
2513951575B571   ESTEBAN      BERNADAC                     NM     90006435157
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2513952A78598B   JEFFREY       PORTER                      KY     90004315207
251397A7A51328   ANGELA        CONSTABLE                   OH     90008957070
2513B22177B449   JAMAL         DERR                        NC     90001822217
251411A117B477   VALESKA       IBANEZ                      NC     11026511011
2514166269136B   ALLYSON       TOYLOY                      KS     90014006626
25141A23A47834   LAMONT        GREENLEE                    GA     90014530230
25141A28731453   COREY         CROWDER                     MO     90001890287
25141A53581633   CHARLES       JEFFERYS                    MO     29001060535
25142169A5B161   LOLITA        COTTON                      AR     90007141690
2514222369184B   NORA          ALMAZAN                     OK     90010542236
25142633772B32   DENISE        ALANIS                      CO     90011036337
2514288674B588   CRYSTAL       TURNER                      OK     90013008867
25142A1949189B   VERONICA      MARTINEZ                    OK     90014020194
2514347299136B   ANA K         SIGALA                      KS     90013304729
2514356757B449   KENNETH       BERNES                      NC     11013735675
25143651372B32   JACOB         BRENNAN                     CO     90012706513
251438A769189B   JESUS         HARO                        OK     90014348076
251441A897B471   DYLAN         LOPEZ                       NC     90011261089
251442A535715B   JAIME         MENJIVAR                    VA     90005162053
25144395772B42   SERGIO        LUEVANO                     CO     90012843957
251443A329136B   ADAM          HILL                        KS     90004973032
251449AA472447   MARILYN       STULL                       PA     90004179004
2514553265B161   EDGAR         TEC                         AR     90013255326
251455A672B839   TINA          CONNELLY                    ID     42060405067
25145A1749794B   RIGOBERTO     ROSAS                       TX     90010690174
251465A8555957   REY           MATUS                       CA     90014465085
2514676439189B   IAN           LEWIS                       OK     90011617643
2514689A472B88   MIGUEL        BUENROSTRO                  CO     90009958904
251469A449136B   SHAWNA        LEEKS                       KS     29017079044
251471A337B477   CHARLES       ROSEBERRY                   NC     11078081033
25147736372B32   VICTOR        MORELO                      CO     90010767363
251477A3593731   RICHARD       SHUYZ                       OH     64582877035
2514832649794B   OBISPO        TAX                         TX     90013013264
251483A6424B48   SHANISE       LEE                         DC     90013113064
25148741A91522   SHEENA        PETERSON                    TX     90014107410
25148757A91893   DEANN         WELLS                       OK     90007737570
2514877899184B   TEENA         CATES                       OK     21054207789
25148A6687B471   IKEACHER      GARRIN                      NC     90014940668
251491AA69189B   DARIN         BALES                       OK     21087481006
2514931129155B   JOSE          LEOS                        TX     90001273112
2514951635B161   C SUE         STOVALL                     AR     23076925163
2514978715715B   JOSE          VILLALTA                    VA     90006577871
2514B41A64B588   ASHLEE        HAHN                        OK     90015334106
2514B574A5B161   MARINA        CORNEJO                     AR     90015435740
2514BA8974B281   AHSELMO       MENDEZ                      NE     27043930897
2515172589136B   CHRISTA       GUMM                        KS     29013257258
251519A7251329   JOHNATHAN     LAMB                        OH     90001619072
2515276A172B42   CATRICE       CHAVEZ                      CO     90013027601
25152A71291522   YVONNE        PARGA                       TX     90012300712
25152A89A9136B   CESAR         VEGA                        KS     90013940890
25153742772B88   COBY          ROMERO                      CO     90013367427
2515411485B161   CHERI         PEER                        AR     23086121148
2515434A133642   PRISCILLA     BLACKWELL                   NC     90006793401
251543A1271928   HAYLEE        EHRLICH                     CO     90011893012
2515487A17B477   JOE           TOWEY                       NC     90011178701
25154A68872B42   STEPHEN       ALLY                        CO     90002870688
25154AA332B839   MARIA         MARTINEZ                    ID     42046320033
2515543664B281   JOSE MIGUEL   LOPEZ                       NE     90015124366
25155A2345B571   ESTHER        BARLEA                      NM     90000720234
2515623A172B88   DANNY         LONG                        CO     33005232301
2515647A961939   FRANCIS       PELLETIAIRE                 CA     46094074709
2515672547B477   ANDREA        TOLBERT                     NC     11009687254
25157432372B32   MARK          FILLEY                      CO     90007444323
25157478A72B42   MISAEL        BATALLA                     CO     33011424780
2515793212B839   JAMES         MILLER                      ID     42083689321
251584A4372B32   LARRY         DOMINECK                    CO     33009334043
2515857632B27B   SYLVIA        GRIPPER                     DC     90014725763
251591A2772B88   LUZ           GARCIA                      CO     33002761027
2515926117B471   APRIL         HARRISON                    NC     90014442611
251594AA64B281   RUDRA         CHAPPELL                    NE     90015094006
2515953859794B   REYES         RENDON                      TX     90002455385
25159635872B32   EVA           WILLIAMS                    CO     90010186358
2515968827B449   LARRY         HICKS                       NC     11006186882
2515B24A171928   CHARELS       WILSON                      CO     90013612401
2515B52265B161   JOHN          KORDSMEIER                  AR     90013895226
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2515B578255957   ANA             NEGRETE                   CA     90009445782
2515B635747952   SHAVONDA        GAMBLE                    AR     24077626357
2516178184B281   DALE            PERRY                     NE     90000267818
2516183AA84364   STOKES          LAKYSHA                   SC     19088518300
2516261724B261   MARY            MULDER                    NE     90014156172
25162A4435715B   MIRWAIS         NASARI                    VA     81082920443
25162A99685946   CHRIS           STEERS                    KY     90008430996
2516372512B27B   GREGORY         TROTTER                   DC     90012797251
25164722172B88   JOSE            GARZA                     CO     33055927221
251647A8A72B32   JOHN            BERNAL                    CO     90014557080
25164A6675B271   JOSEPH          WILLIAMS                  KY     90011250667
2516517324B588   JESSICA         GERHART                   OK     90011901732
2516559A991582   SAUL            CASTANEDA                 TX     75088365909
2516588A193731   DAVID           CHATMAN                   OH     90014778801
2516613A691828   AMANDA          CAMBERS                   OK     90013291306
251661A3172B32   VANESSA         TOWNER                    CO     90012471031
2516644414B261   CRAIG           ROBERTS                   NE     90012534441
2516686587B471   TAMMY           HELMS                     NC     90014758658
2516761469189B   STEVEN          PATTON                    OK     21028176146
251678A2371928   BRIAN           SMITH                     CO     32044208023
25167A38372B88   ARMANDO         FRANCIA                   CO     90002400383
25167A7625B232   ARLESIA         SANDERS                   KY     90008850762
251682A7991522   KRYSTAL         RIVERA                    TX     75030692079
25168A2354B261   BREANN          DODD                      NE     90013920235
25168A5679155B   SHIRLEY         BOLEN - GONZALEZ          TX     90015270567
251692A684B281   JOHN            VODICKA                   NE     27066262068
25169AA1A85938   MICHELLE        JOHNSON                   KY     90010970010
2516B24339184B   MICHAEL         BERRYHILL                 OK     90012722433
2516B26A89155B   SARA            RODRIGUEZ                 TX     75059352608
2516B47694B261   LIDUVINA        TAMAYO                    NE     90012984769
2516B68827B449   LARRY           HICKS                     NC     11006186882
2516B868272B88   TRINA           HERNANDEZ                 CO     90006678682
2517117A74795B   SARAH           DASH                      AR     25001481707
2517144897B471   SERGIO          VASQUEZ                   NC     90012484489
2517148294B588   LANCE           CARNEY                    OK     90012294829
2517176A991522   ROMERO MATIAS   MATIAS                    NM     90010957609
25171A79271928   BOBBIE          BARTH                     CO     90013260792
25172155A33B96   PATRICIA        LOMBARDO                  OH     90014041550
251726AA19794B   JOYCE           ALBA                      TX     90013016001
2517292144B281   BREE            GILBERT                   NE     90012579214
2517339719155B   VIRGINIA        PRECIADO                  TX     75028443971
2517352629794B   EDUARDO         TOC                       TX     90014915262
2517359999189B   JOEL            GUTIERREZ                 OK     21044265999
2517396354795B   HEIDE           LEMKE                     AR     25064659635
251743AA891241   TONY            THOMAS                    GA     90003933008
25174794A31631   AMANDA          COX                       KS     90014567940
251754A3472B88   MARIA           FALCON                    CO     90013244034
251756A777B373   HILDA           VENTURA                   VA     81042286077
251757A3A72B42   ADRIAN          LOPEZ                     CO     33043037030
25175A82A72B32   RODRIGO         BANUELOS                  CO     90008890820
25175AA8281661   HEATHER         TARBOX                    MO     90010990082
2517659729189B   KRISTIN         HIGNITE                   OK     90011755972
2517668419155B   CARLOS          DELGADO                   TX     75080146841
25177154172B32   KENT            MARTIN                    CO     90015181541
25177647A91828   GLENDA          PETTIT                    OK     90003016470
25177A66872447   ELAN K          THOMPSON                  PA     90010730668
25178A9249794B   TATYANA         MITCHELL                  TX     90015210924
2517946875B571   CLARA           FONSECA                   NM     90012774687
25179AA7231453   GENEVIEVE       DRESTE                    MO     90011980072
2517B591493731   LORENA          PORFIRIO                  OH     90013675914
2517B993157157   SWINDELL        SIMMONS                   VA     90011199931
2517BA42655957   ELOI            MARIN                     CA     90011640426
2518179659794B   ROBIN           MIRANDA                   TX     90013297965
2518224A657157   PAUL            PHOLEN                    VA     90013292406
2518259852B27B   TYRONE          MARSHALL                  DC     90013195985
2518385855B36B   KAYLEIGH        ANN-ACKERMAN              OR     90002038585
25183892172B42   QUANISHA        DAVIS                     CO     33015128921
2518413732B27B   ANGELA L        PRICE                     DC     90014581373
2518415925715B   SARDAR          ALI                       VA     81083721592
2518486A54B588   ERIK            BELCHER                   OK     90012428605
25184A46771943   RAQUEL          GROTJAHN                  CO     90014240467
25185315A9136B   EDWIN           MEJIA                     KS     90012873150
2518553435715B   ANGELA          LOPEZ                     VA     90012105343
2518562799155B   ELIZABETH       GARCIA MARTINEZ           TX     75031066279
25185899A91522   RAUL            HUERTA                    TX     90003768990
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2518597447B471   SCOTT             SEMELSBERGER            NC     90015369744
251862A932B932   WAYMON            STANCELL                CA     90001132093
25186A74157157   TIMOTHY           DADZIE                  VA     90012030741
25187349872B32   SCOTT             LIEBELT                 CO     33043813498
2518776964B281   ROBERTA J         STARK                   NE     90013957696
25187879972B42   ANTHONY           WHITE                   CO     90000818799
2518861314B281   VERSIE            ANDING                  NE     27011186131
25188AA968B137   NICOLE            BARTON                  UT     31098620096
2518958A45715B   OSCAR             BERDUO                  VA     81069435804
25189848172B32   CORY              BANTOCK                 CO     33068408481
25189A16691522   LAURA             BORJON                  TX     75097450166
2518B294A31433   CRISSIE           HAGENS                  MO     90010592940
2518B352791828   DONNA JEAN        CHANDLER                OK     90013633527
2518B751491522   ERIKA             CASAS                   TX     90005857514
2518BA2465B571   AIREL             NAVARRO                 NM     35088630246
251911A379136B   STEPHANIE         MURILLO                 KS     90013941037
2519124297B449   ALEX              FORTE                   NC     90002372429
2519174655715B   WILMER            BNILLA                  VA     90012877465
2519291837B471   TRIMECHIA         COE                     NC     90010459183
2519323339189B   RICHARD           TODD                    OK     90013712333
2519336A693767   MELISEN           DERKSEN                 OH     90012683606
2519356849184B   DONCIELA          DREW                    OK     21060145684
2519371A272B42   DEBBIE            COOK                    CO     33001547102
2519524277166B   DONNA             MITCHELL                NY     90015442427
2519525552B27B   STANLEY           HARRIS                  DC     90013772555
2519538A75B352   NENA              SWEENEY                 OR     90009393807
2519582A99136B   QUINTON           LARSON                  KS     29068778209
2519623434B588   MONICA            YBANES                  OK     90014662343
2519628795B161   ISAIAS            MARTINEZ                AR     90012022879
25196979672B32   ROSA              GARCIA                  CO     90006099796
25197311472B88   JUANA             RUIZ                    CO     90008193114
2519831317B477   MELVIN            HERRING                 NC     90011363131
251988AAA72B42   JOHN              SANDOVAL                CO     90014978000
2519899A961979   JAMIL             BEDUHI                  CA     90012629909
25198A1A172B88   ADAM              KNAPP                   CO     90013800101
2519926634B281   CARLOS            AREVALO                 NE     90014892663
2519951A55715B   YOVANI            ARDON                   VA     90008125105
2519B17855B592   KIMBERLY          BACA                    NM     90013081785
2519B696884341   TONY              ARENSDORF               SC     90000886968
251B1174972447   JESSICA           MEHALL                  PA     90014171749
251B1275A97949   TRANSITO          GARCIA                  TX     90001522750
251B156382B27B   PATINA            WILLIAMS                DC     90010235638
251B2281872B88   OLIVIA            ARCINIEGA               CO     33088012818
251B2453781637   ALMA              FRANCO                  MO     90009274537
251B2637A9155B   LORENA            SERVIN                  TX     75080146370
251B293548B151   LUIS              MEJIA                   UT     31009359354
251B3238991949   KARINA            MORA RUIZ               NC     17081932389
251B3516771928   NELSON            WALLACE                 CO     32061935167
251B446A84B281   PAULA             MARQUEZ                 NE     90002224608
251B455425B571   JEREMIAH          WEIL                    NM     90011625542
251B471A581637   CESAR             PADILLA                 MO     90013607105
251B4A55672B88   ARTURO            QUIROGA-BADILLO         CO     33009300556
251B5A3AA7B471   EMILIA            MORENO                  NC     90014880300
251B655325B161   TERRANCE MOSEBY   MOSEBY                  AR     90015205532
251B699829189B   SHADE             BROWN                   OK     90010729982
251B712A381633   KIM               MCINTOSH                MO     90012931203
251B716539376B   PORSHA            GRESHAM                 OH     90012501653
251B718329155B   JULIETA           IBARRA                  TX     90013681832
251B734282B27B   JUSTIN            SHROUT                  VA     90012373428
251B7487891881   STANLEY           GORDON                  OK     90006614878
251B784354B588   CECILIA           CAMPBELL                OK     90010728435
251B7897771923   AURDRELYS         MARTEN                  CO     90012828977
251B7A9919155B   NORMA             SEPULVEDA               TX     90011150991
251B7AA2941251   JONATHON          ECKERT                  PA     90012670029
251B814A45715B   CRISTINA          ROMERO                  VA     90011781404
251B8397191542   VIRGINIA          ALONSO                  TX     90012673971
251B845642B27B   YESENIA           CARRANZA-MORALES        DC     90012344564
251B8727131453   ANITRA            SHANNON                 MO     90014677271
251B8818655957   JOSEPH            TURNER                  CA     90011868186
251B8A53A7B471   KEMMERLY          CHAPMAN                 NC     90011260530
251B8A9A485938   ANTONIO           WEBB                    KY     90001440904
251B912469136B   CAMMIE            BELTON                  KS     90010911246
251B942255715B   WILLIAM           SALGADO                 VA     90011634225
251B9559981661   MICHELLE          ANTONYSHYN              MO     90014745599
251B9565393731   MARIA             MORGAN                  OH     90013245653
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251B96A624B261   HECTOR                  DIAZ              NE     27057006062
251B9788277574   JUAN                    GARCIA            NV     90003407882
251B9838771928   ROCIO                   RAMOS             CO     32063008387
251B998A39155B   SAIRA                   MANCINAS          NM     90009629803
251BB385757157   JOSE                    NOLASCO DIAZ      VA     90014533857
251BB434772B32   JEANIE                  HOLZWARTH         CO     33083154347
251BB439972B42   JOHN                    QUINTANA          CO     90011304399
251BB45A957B9B   KIM                     ELLARD            PA     90010404509
251BB82A931433   VICKY                   MCKOY             MO     90010838209
2521133A572B88   SALVADOR                GUTIERREZ         CO     90011573305
2521164229136B   REYNA                   ORTIZ             KS     90013436422
25211A58272B88   MAGDALENA               ZETINA            CO     33070420582
25211A76672447   ROB                     MARSH             PA     90010070766
2521257929184B   MATTHEW                 OLSEN             OK     90012785792
2521259A75B271   LAURA                   MARTIN            KY     68000175907
2521293145B161   TINA                    MARBLEY           AR     90005119314
2521361242B839   JUAN                    HURTADO           ID     90013716124
2521423399136B   KAREN                   LINAREZ           KS     90013942339
2521457393B388   STEVEN                  MOORE             CO     90001095739
2521476779155B   HILDA                   GOMEZ             TX     90014047677
25214A1749794B   RIGOBERTO               ROSAS             TX     90010690174
2521535219136B   FREDY                   MARTINEZ          KS     90012183521
25215643A4B588   JASON                   CHASTEEN          OK     90013716430
25215A4122B839   JASON                   LEWIS             ID     90001880412
2521622755B161   ANTONIO                 GOODWIN           AR     90007812275
25216AA389794B   UBALDO                  RUIZ CARLOS       TX     90014110038
2521742985B161   LYNN                    SCROGGINS         AR     23028604298
25217518A71928   JAMES                   MCHENRY           CO     90014675180
2521787A981661   MARIA TERESA DE JESUS   SANCHEZ GARCIA    MO     90014928709
25217A11372B88   GERALD                  HORTON            CO     90012820113
25217AA337B471   EMILY                   ESTRADA           NC     90013620033
25218A37781637   RODNEY                  GREEN             MO     29005370377
25218A97172B42   LAKEISHA                SHELTON           CO     90013390971
25219121272B32   MARIO                   ORONA             CO     90013221212
25219899A5B271   JULIE                   MAASEN            KY     90011558990
2521B2A442B839   CECILIA                 REYES             ID     90014162044
2521B69455B271   LACHANCE                ADAMS             KY     90012236945
2522147689136B   ANTONIA                 DUE?AS            KS     29016224768
25221589487B87   CAROL                   STATEN            AR     23073735894
252215A5791522   RUDY                    ZUBIA             TX     75088205057
25221A9A455957   MARIA                   OCHOA             CA     90007180904
2522211999184B   EDNA                    SMITH             OK     21077471199
25222783172B88   DANESSA                 WASHIGHTON        CO     90012677831
25222A66691522   MARIA                   DE LEON           TX     75046250666
25223391A85938   JESSICA                 JNES              KY     90004233910
25223A99291522   CAROLINA                ROBLES            TX     75045220992
2522427A972B42   WELDON                  BYRD              CO     33014232709
2522458A47B477   JENNIE                  DEAL              NC     90010525804
252249A4672B35   JACQUELINE              MABBITT           CO     39098769046
25225295372B32   LANEY                   BECKER            CO     90010752953
2522596395B571   SAMUEL                  PEREZ             NM     90003219639
25225A99591522   KENIA                   MARQUEZ           TX     75065930995
25226574A72B88   JEROLD                  LALO-HERNANDEZ    CO     90007215740
2522661345B271   ELISHA                  ROGERS            KY     68009876134
252266A262B962   XELDA                   OITERONG          CA     90004296026
2522676757B471   ASHLEY                  WHITLOCK          NC     11095587675
25227A1615B571   JACQUELYN               HAMPTON           NM     90014950161
2522866552B839   VENANCIO                RIVERA            ID     90001726655
2522883A791589   ALEJANDRO               MORALES           TX     90009608307
2522895A89136B   ASHLI                   FLETCHER          KS     90010939508
2522934125B161   MICHELLE                JONES             AR     23096383412
2522969727B477   DENTON                  MCKINNON 3        NC     90013146972
252297A517B477   SHAMIKA                 CONTTON           NC     90010807051
25229AA9493731   ELIZABETH               BOWLING           OH     90012020094
2522B17925B271   ALISHA                  CARGILL           KY     68039521792
2522B32374B588   CRISTAL                 HERNANDEZ         OK     90013593237
2522B52127B477   SHANRIQUA               HENDERSON         NC     90010525212
2522B695872B32   DON                     VOLAK III         CO     33044016958
2522B752393731   JACQUELINE              SCOTT             OH     90009847523
2522B83995B571   LAUREN                  SMITH             NM     90000178399
2522BA98891525   CARLA                   MORENO            TX     90008770988
25231152A57157   WINCHELL                PARENT            VA     90014701520
25231287272B88   LOURDES                 GONZALEZ          CO     33038652872
2523131559136B   TOM                     STRICK            KS     90013943155
2523157157B477   GARY                    MOSS              NC     11005015715
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1302 of 2350


25231A1515B342   TONY              NABORS                  OR     44521810151
2523246632B27B   RHEUTHELIA        SIZER                   DC     90009404663
252325A4A5B271   TAMARA            HARRAWAY                KY     90014365040
2523265A331453   PAMELA            HATTEN                  MO     90012176503
2523268875B571   MANUELA           SOTO                    NM     90002936887
252327A7691828   TACARRA           CREGGETT                OK     90013007076
2523424494B588   KENTON            BOWENS                  OK     90014822449
2523499382B839   ELIZABETH         CERDA                   ID     90014719938
252354A852B27B   CHIQUITA          PAIGE                   DC     90015124085
2523682999189B   GEORGE            KAKOMA                  OK     90003338299
2523728255715B   EULOGIO           VALDERAMA               VA     81004282825
2523793A59189B   BONNIE            SMITH                   OK     90012479305
2523811A55B271   STEPHENNE         KASAL                   KY     90015041105
2523827885B571   PATRICK           ANAYA                   NM     90014622788
2523872A481637   LENA              ADAMS                   MO     29079897204
2523888729155B   DIANA             SEGURA                  NM     75009428872
25239479472B32   JANELLE           BACA                    CO     90010604794
2523993A59189B   BONNIE            SMITH                   OK     90012479305
2523999A19136B   MONICA            CHAVEZ                  KS     90013139901
2523B14A15B271   QUETNEN           CARROLL                 KY     90011251401
2523B549972447   JANELLE           BIAS                    PA     90014055499
25241669A9794B   SHUNTERICA        KING                    TX     74078506690
25242124A4B281   AUTUMN            COLVIN                  IA     90009471240
2524232395B271   JASON             WESTBROOK               KY     68035493239
2524274949189B   ROBIN             DEACON                  OK     90009067494
25242982272B32   ELVIN             GUTIERREZ               CO     90005899822
25242A42272B88   AMALIA            HERNANDEZ               CO     90001330422
2524342A13B364   MICHAEL           LUCERO                  CO     33087154201
2524362155715B   MISHA             SAMUELS                 VA     90011786215
25243A3237B471   NADJA             FORD                    NC     11020860323
2524424917B471   MARTEEN           WOOD                    NC     90011262491
252442A879184B   FRANK             BOWMAN                  OK     90011872087
2524458449794B   TRANIKA           MONTGOMERY              TX     90005965844
2524482429189B   TERRANCE          NICHOLS                 OK     21071578242
252451A1155957   TERESA            VALENZUELA              CA     48084081011
25245A33591881   CYNTHIA           DANIELS                 OK     90010840335
252462A8691522   JENNIFER          MANSFIELD               TX     90012712086
25246353A2B27B   GENESIS           SMITH                   DC     90010213530
2524658192B839   BENITO            SOTO                    ID     90002515819
252467A514B588   DARL              GORUM                   OK     90010867051
25246893A5715B   ERICA             HARRIS                  DC     90005698930
2524819292B27B   MARIALINDA        HERNANDEZ               DC     90000451929
252484A439136B   RYAN              DUNNAM                  KS     90009114043
25248633A55957   CYNTHIA           MORA                    CA     90012526330
25248788A9189B   MISTY             PEARSON                 OK     90008007880
2524975155B571   JESSE             CORONADO                NM     90008527515
25249A81372B88   JOSE DE LA CRUZ   ORTIZ DELAO             CO     90009720813
2524B44349136B   HORACIO           MARTINEZ                KS     90014814434
2524B884151325   ERIC              DARPEL                  OH     90010898841
25251116A2B841   JOEL              LOPEZ                   ID     90009591160
2525123124B58B   RITA              HYPDLIYE                OK     90010182312
2525126419155B   AMY               GILES                   TX     90014242641
2525133464B588   CHERLY            LYONS                   OK     90004583346
2525148479794B   ERICKA            MORGAN                  TX     90015174847
2525194772B841   JOEL              LOPEZ                   ID     90012919477
25252281772B32   NORMA             RODRIGUEZ               CO     33087952817
2525299932B839   ELVIA             SANCHEZ                 ID     90003609993
2525358775715B   VICTOR            GONZALEZ JUAREZ         VA     90006415877
2525369459794B   LEONOR            GARCIA                  TX     74058066945
25254119A71943   SADE              JOHN                    CO     90005351190
2525497695B271   NATASHA           CROWDUS                 KY     90013829769
2525532544B588   PRISCILLA         JOHNSON                 OK     90014623254
2525584794B261   CHARLES           DICKSON                 NE     27001488479
25255984272B88   MICHAEL           BLAKE                   CO     90014249842
2525647615B161   OCTAVIO           LOPEZ                   AR     90013114761
25256491A72447   KRISTA            CRAWFORD                PA     90011474910
252564A1972B32   KATHY             LIPPINCOTT              CO     90003014019
25256A9AA9184B   ELIZABETH         DOUANGMANI              OK     90012260900
2525796294B261   MIGUEL            GARCIA                  NE     90013249629
25257973A72B32   NATASHA           BOYD                    CO     33017369730
2525886199155B   PATRICIA          GARCIA-SANCHEZ          TX     90015298619
2525897A49136B   PAUL              EDWARDS                 KS     29035819704
25258AA5751328   CAROL             GIBSON                  OH     66018530057
252592A734B588   LINDA             GREEN                   OK     90001642073
252592A8872B88   WENDY             SAMORA                  CO     90014452088
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2525938122B839   ORTIZ           THELMA                    ID     42039983812
2525951A89155B   ALEJANDRO       HERRERA                   TX     90012245108
2525B293772B88   GENEVIEVE       TENORIO                   CO     90011332937
2525B2AA791522   DINA            VILLALOBOS                TX     75091042007
2525B545157531   SERGIO          RODRIGUEZ                 NM     90007055451
2525BA38A55921   JOANNA          GARCIA                    CA     90012300380
25261236A51328   JOSHUA          PETERS                    OH     66047102360
25261331272B32   CHARLES         MARTINEZ                  CO     90014753312
252618A8A72447   JOSHUA          SHORT                     PA     90013958080
25261AA337B471   EMILY           ESTRADA                   NC     90013620033
2526232879794B   IESHA           HARRIS                    TX     74016003287
2526261243B364   MARTHA          TORRES-RECINOS            CO     33029596124
25262766A9155B   JESSICA         MARIN                     TX     90013807660
2526344549184B   LARICA          COMPTON                   OK     90013674454
2526373594B588   MARTINA         MARTINEZ                  OK     90002207359
2526385195B161   MARQUETTA       PURDIMAN                  AR     90012788519
2526395992B839   ELISA           ACUNE                     ID     90011499599
25263A99851328   DUSTIN          GRAY                      OH     90012450998
2526415989155B   SERGIO          FAZ                       TX     90009471598
2526448969136B   KEVIN           FREEMAN                   KS     90013944896
2526469532B839   LINDSAY         SALINAS                   ID     90012866953
2526527869155B   MARIA           FIERRO                    TX     75080352786
2526553514B588   RACHAEL         CAMBRON                   OK     21537965351
25265566397B49   VICTOR          ENCARNACION               CO     90012935663
2526685249794B   CINTHIA         GARCIA                    TX     74031568524
25266913A57157   JOSE            ROMERO                    VA     90008519130
252669A2655935   JOSE            MORALES                   CA     90014999026
25266AA4872B32   MIGUEL          ANAYA                     CO     90009640048
2526714799794B   RANDY           RAMIREZ                   TX     90005701479
2526825A62B27B   SHAWN           SCOTT                     DC     90014592506
252686A5272447   PAUL            ACKLES                    PA     51055576052
25268745772B32   MARGARET        WITT LING                 CO     90010737457
25269464A72B88   NYCOLE          OWENS                     CO     90000404640
25269521772B32   JOETTE          MONTOYA                   CO     33017375217
2526954A39189B   KAY             FRANCES                   OK     90011525403
2526B27429794B   MARIA           SALDANA                   TX     74015262742
2526B84119155B   PRICILIA        SAUCEDO                   TX     75046038411
25271369772B32   OLIVIA          MARTINEZ                  CO     33033093697
252716A4555957   JUAN            PACHECO                   CA     90010056045
25271861A72B42   NATHAN          STEWART                   CO     90013588610
25271A92281661   DAVID           KITCHEN                   MO     90000860922
25271AA9381633   DAVON           WALKER                    MO     90015210093
2527265589794B   PAYGO           IVR ACTIVATION            TX     90011606558
25272A2355B271   CRYSTAL         WALKER                    KY     90007600235
2527377578594B   STACI           FERRELL                   KY     90001047757
2527414639189B   ANGIE           PITTS                     OK     21075571463
2527461549155B   MIRIAM          CHAVEZ                    TX     90007906154
25275267172B88   BLANCA          LOPEZ                     CO     33012872671
2527562619184B   TERRY           WILLMAN                   OK     90013166261
2527593429155B   ANTONIO         LOZANO-RIVERA             TX     75088789342
25275992A4B588   DON             DANIELS                   OK     90011959920
2527675987B45B   AVIS            CLOUD                     NC     90009237598
2527681812B839   ERIC            DE LA CRUZ                OR     90013968181
2527821592B839   HOLLY           FRANK                     ID     90010802159
2527821719155B   CAROLINA        SERRATO                   TX     90012382171
2527831775B271   ROSA            GLENN                     KY     90013933177
2527844362B839   HOLLY           FRANK                     ID     90011644436
2527915517B471   SUSAN           JOINES                    NC     90002931551
2527989849189B   AMARI           BENSON                    OK     21046428984
2527B46272B839   GEORGE          SNIDER                    ID     90014564627
2527B89935715B   ABAMNEH         YESHITILA                 VA     90012318993
2527B8A3471928   JOSUE           MCGEE                     CO     90014088034
2528138757B471   SKY             ELKINS                    SC     90014913875
2528148774B261   JERRY           SIME                      IA     90010954877
2528149922B232   RACHELLE        THOMPSON                  DC     90005314992
2528227169136B   SERGIO          GALINDO                   KS     90013852716
2528244792B27B   DONNA           MARIA                     DC     90011494479
2528276239794B   JAIRO           GOMEZ                     TX     90015037623
25283345A57157   HUNBERTO        ALFORO                    VA     90009713450
25283447A4B281   TIEARA          MITCHELL                  NE     90014434470
2528346949155B   MARIA ANTONIA   MANRIQUEZ                 TX     90005424694
2528374A272B32   JOSE            OCON                      CO     90013497402
252838A5272B88   ITZEL           ENRIQUEZ                  CO     90013068052
25283A61772B42   JENELLE         COX                       CO     33061060617
2528558A49794B   RAMIRO          CHAVEZ MOTA               TX     90013075804
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252855A342B232   NICOLE         ROBINSON                   DC     90005315034
2528572344B596   MARVETTA       MOSLEY                     OK     90014687234
25285A99572B32   DORA           NATAREN MANUELQ            CO     33069210995
25286194A2B839   JOSHLIN        ROWE                       ID     90004331940
2528655AA4B588   MARTIN         MALDONADO                  OK     21574625500
25286589572B42   ENGELKING      BRANDT                     CO     33020085895
2528695184B281   ANGELES        FLORES                     NE     90014259518
2528712A631453   ERICA          DUKE                       MO     90002501206
2528764595B571   LUISA          MARTINEZ                   NM     90014726459
25287A48851329   TYLER          HAYS                       OH     90012620488
25287A65481637   JOSE           GUZMAN                     MO     90012490654
2528851745B271   HAROLD         LIDDELL                    KY     90014685174
2528887937B471   BELVA          HOPPER                     NC     11002228793
25288A89581661   LAURA          WELLS                      MO     90014170895
252892A2481633   LATOYA         BURCHFIELD                 MO     90014902024
252895A6A81638   SYLVIA         JAMES                      MO     90013615060
25289665A44B75   JAMES          BACHMAN                    OH     90014146650
25289855572B88   FRANCISCO      DE LA CRUZ                 CO     33080398555
25289A87631453   LUIS           RAMIREZ                    MO     90012030876
2528B193751328   PAUL           ERICKSON                   OH     90014041937
2528B216757157   DANIEL         FLORES                     DC     81098632167
2528BA54672B88   ROCHELLE       BRICKER                    CO     33085980546
252916A639136B   NADINE         PRADO                      KS     90013156063
25291A3845B161   ALISHA         WINKLER                    AR     90014500384
2529212219794B   TATYANA        MITCHELL                   TX     90014641221
252933A759184B   TIFFANY        CRANE                      OK     90010873075
25293424A2B27B   ELLIOT         GROSS                      DC     90000524240
252938A879155B   RITA           COBOS                      TX     90013298087
2529427885B571   PATRICK        ANAYA                      NM     90014622788
2529446315715B   JOSE           MOLINA                     VA     90012884631
252945A2672447   NATALE         TITUS                      PA     90009365026
252945A447B477   SHERITA        SPENCEER                   NC     90008855044
2529516A34B588   ANNA           MARTINEZ                   OK     90001771603
252951A2171928   SARAH          BURKE                      CO     90014651021
2529559A29794B   ELIZABETH      DIXON                      TX     90014465902
2529589575B161   CHERRY         BURGESS                    AR     90011458957
2529595185B571   SHAWN          LEONARD                    NM     35054639518
2529634887B449   LORENA         ABARCA                     NC     90004683488
2529649859155B   JOSE           ORNELAS                    TX     90005424985
252966A685715B   CAMACHO        MILTON                     VA     90011606068
2529719A69136B   ORIDANIA       ORTIZ                      MO     90011531906
2529767A67B471   ROBIN          CRAWFORD                   NC     90012786706
2529769425753B   DANIEL         HIGGINS                    NM     90014826942
2529848589184B   BRIAN          ERNEST                     OK     90014004858
2529849642B839   ALEXANDRIA     DAVIS                      ID     90012844964
2529857219155B   WILLIAM        GUTIERREZ                  TX     90014605721
2529857295B161   KIMBERLY       MOORE                      AR     90015205729
2529863844B281   CARRIE         REILEY                     IA     90013546384
2529931329184B   IESHA          KING                       OK     90013443132
2529932765B271   JACQUELINE     WALKER                     KY     90011253276
25299376272B88   ALFONSO        GARCIA                     CO     90003373762
25299A35181633   MISS           HESS                       MO     29052440351
2529B955251328   BRITTANY       HOGAN                      OH     90013359552
252B112967B471   KARON          KIKER                      NC     90011261296
252B116457B477   RODRIGO        VARGAS                     NC     90015041645
252B1337472B88   CELESTE        VAN DEN BOS                CO     90003853374
252B1381336165   LILLIAN MOYA   ARZAVE                     TX     90012993813
252B157479184B   CRISTOPHER     MORALES                    OK     90013925747
252B1681881661   SHALLEY        RENEE                      MO     90009886818
252B178245B571   SABRINA        CHANDLER                   NM     90011137824
252B2441497B4B   ALFREDO        NUNEZ                      CO     90006064414
252B244954B261   KOKOU          AKAKPO                     NE     27001054495
252B2558283289   JOSE           CARAZA                     UT     90014955582
252B3275141245   YOLIANETTE     RIVERIA                    PA     90003342751
252B3A75571928   SANDRA         RUACHO                     CO     32000810755
252B4367A4B588   LATASHA        MISHION                    OK     90010543670
252B436924B231   HEATHER        GARRETT                    NE     90005403692
252B4711331453   BRIAN          WIDEMAN                    MO     27544287113
252B4711657157   SHEANA         PEAKE                      VA     81067197116
252B566499794B   ERICA          HARDY                      TX     90007296649
252B5778A31631   JUAN           VELARDE                    KS     22003917780
252B5883355957   MARIA          ARROYO                     CA     90002498833
252B588A472447   CHRISTOPHER    SOFALY                     PA     90003568804
252B58A3591241   SHARON         BYESON                     GA     14570628035
252B681865B571   ANGEL          GONZALES                   NM     90014588186
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252B691719189B   STACY         VILLAPANDO                  OK     90013929171
252B746619184B   ALEXANDRA     SILVIA                      OK     90013974661
252B74AA34B261   SEYDOU        BAH                         NE     27013954003
252B756385B571   JESUS         SANCHEZ                     NM     35010355638
252B7A6546B862   JEFF          BENNETT                     WI     90015610654
252B816A971928   JOSE          GONZALEZ                    CO     90000331609
252B8246831433   BRIDGETTE     WATSON                      MO     90011712468
252B869745B571   BRANDI        NIETO                       NM     35028766974
252B8A3715B571   CHAVEZ        RUTH                        NM     35072480371
252B9316672B88   DANIEL        OLIVAREZ                    CO     33076273166
252B9486881661   EDITH         CARREON                     MO     90014914868
252B977729189B   DEANNA        HARNEY                      OK     21097207772
252B986394B588   CATRINE       MAYES                       OK     90007118639
252B989619184B   JENNA         SANDERSON                   OK     21079068961
252B9A89161925   JAMES         JADLOC                      CA     46045230891
252BB22577B471   DA            DA                          NC     90014172257
252BB55784B261   PIERRE        SAGITTEH                    NE     27035775578
252BB93325B271   TRAVIS        CADDO                       KY     90013229332
2531126855B271   AMANDA        STEPHENS                    KY     90014582685
25311947272B32   JOSE          VELA                        CO     90002699472
2531197552B839   TERRI         HARRINGTON                  ID     42010709755
253122AA89189B   KLAYTON       HICKMAN                     OK     21000102008
2531272352B839   FERNANDO      GUZMAN                      ID     90012547235
2531279719184B   FELIPE        PORTILLO                    OK     90012587971
2531334345B271   MISTY         OBRIEN                      KY     90011023434
2531367329136B   CESLO         ESPANA                      KS     90007476732
2531375286196B   RATHANA       NAM                         CA     90012607528
25313A34881637   RANDY         CROUCH                      MO     90008940348
2531483187B471   KESSHIA       BISHOP                      NC     11076568318
2531563A981633   DENISE        JOHNSON                     MO     29046846309
25315A51581637   TRAVIS        HENKE                       MO     90012900515
2531685A351365   JEANNETTE     RICE                        OH     90010288503
25316A56931433   GREGOREY      BAILEY                      MO     90000700569
25316A68881661   JERQUAN       BOTLEY                      MO     29094040688
2531718812B27B   CAPRICE       CRAWFORD                    DC     90013041881
253172A3985938   SYLVIA        MIKE                        KY     90012762039
2531752A793731   MELISSA       YAQEEN                      OH     90014125207
2531811619136B   CODY          YOUNG                       KS     90000651161
2531827A391522   ELIZABETH     SANCHEZ                     TX     90004992703
253184A5755957   BYRON         VELEZ                       CA     90013044057
2531925A581633   ROCHELLE      CURTIS-OTTO                 MO     29034672505
25319A21355957   DESIREE       GRIEGO                      CA     90015080213
2531B198472B32   MICHAEL       SHELLS                      CO     90002601984
2531B688591522   GARCIA        PEDRO                       TX     90010076885
2531B753A7B471   PAULETTE      FAULK                       NC     90001527530
2531B999691528   SANDRA        LUJAN                       TX     90006529996
2532153135B33B   PATLAN        MONDRAGON                   OR     90009275313
2532153A39794B   BONIFACIO     MORENO                      TX     90011245303
2532167A281637   MARTIN        JIMENEZ                     MO     90014156702
2532179665715B   SANDRA        CENTENO                     VA     90008437966
25321918372B88   NICEFORO      DIAZ                        CO     90000259183
25321A53155939   ADAM          WEAVER                      CA     90008870531
25322774172B88   ANTONIO       PASOS FLORES                CO     90013557741
2532296A491221   KENDRA        SMITH                       GA     90014039604
25322977A2B975   EVER          LEON                        CA     90015119770
25322A4275B161   CARLOS        MOORE                       AR     90014520427
2532348589155B   GRACIELA      VELASQUEZ                   TX     90009804858
2532356A24B588   NORA          RAMIREZ                     OK     90002305602
2532383735B161   CHRISTOPHER   IVR ACTIVATION              AR     90013788373
2532416A631453   FELIPE        HALL                        MO     90012991606
2532422A172447   LESLEE        TENNEY                      PA     90001922201
2532461A17B477   BRENDA        ADDISON                     NC     11010176101
2532465879136B   YOLANDA       ALCALA                      KS     90013946587
25324A6A92B27B   ROCHELLE      EDWARDS                     DC     90010310609
2532514179136B   SCOTT         MCINTYRE                    KS     90010221417
2532517759155B   SAMANTHA      HUNNICUTT                   NM     90012851775
2532667773B377   SERGIO        ROCHA                       CO     90014126777
25326919972B88   JUAN          GONZALEZ                    CO     33094759199
25326A8683B333   ELIZABETH     HOGG                        CO     90002400868
2532739769155B   GENOVEVA      MILAN                       TX     90013353976
2532748579136B   THIRD         BOYD                        MO     90007354857
253277A9472B88   HARDUNA       FOFANA                      CO     90003217094
253279A1972B32   DION          GRIEGO                      CO     33088009019
2532815813B464   JEANETTE      HILLEARY                    WV     90015341581
2532826789136B   JIM           INMAN                       KS     90010932678
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2532837A59189B   MIA           HARRIS                      OK     21040963705
25328941A5B271   TERRI         MOORE                       KY     90006659410
25329365772B32   EDWARD        JONES                       CO     33018863657
25329383472B88   LINDSAY       VARDEMAN                    CO     33064203834
25329879376B8B   HUGO          PENITEZ                     CA     90014708793
2532B1A7555957   ARTHURO       GONZALEZ                    CA     90006551075
2532B32879794B   IESHA         HARRIS                      TX     74016003287
2532B453781637   ALMA          FRANCO                      MO     90009274537
2532B593891828   REBEKAH       CRAVEN                      OK     90015365938
2532B88129189B   RHONDA        DELP                        OK     21075608812
25331A53755957   NASARIO       PEREZ                       CA     48083360537
25332273A4B281   SARAH         SMITH                       IA     90008482730
2533253835B271   CHRISTINA     SON                         KY     68007705383
2533297552B27B   MONTRESSA     BUTLER                      DC     90013459755
25332A5A581633   BRETT         BRISCOE                     MO     90014030505
2533312765B161   PAMELA        BELCHER                     AR     90015161276
253331A329155B   MARIBEL       OLIVERA                     NM     90009231032
25333395A55957   LETICIA       LOPEZ                       CA     90015463950
253333A7851369   JAMIL         MONEY                       OH     66077483078
2533369392B27B   EDDIE         PALEMR JR                   DC     90005546939
2533418743B164   LAVINA        HARDY                       DC     90006881874
25334882A4B261   TERESA        MENDEZ                      NE     27018368820
2533498334795B   SHANNAN       BRINK                       AR     25025349833
25335268272B88   RYAN          REYNOLDS                    CO     90013002682
25335396A5B936   ESTRELLA      CONTRERAS                   WA     90015353960
25335467372B32   ANAHY         MUNOZ                       CO     90007894673
25335771176B53   ERICA         LEON                        CA     46041407711
2533598559155B   RUBEN         VALLES                      TX     90014019855
2533619A42B839   ELVA          GARCIA                      ID     90015201904
2533652355B271   JOSE          ALVAREZ                     KY     68007595235
253368A649136B   ADAN          CANELA                      KS     90013948064
25336A11871928   BETTY         TERRY                       CO     90013140118
25336A29531631   JUDE          KASPER                      KS     90014100295
2533754815715B   ALEXANDER     GUILLEN                     VA     90014005481
25337A9A59794B   PAULINO       THEODORO                    TX     74068900905
25338446372B42   LUIS          GONZALEZ                    CO     33091864463
253384A5191522   CARLOS        BUSTAMANTE                  TX     90009954051
2533867332B839   ISABELLE      ABREGO                      ID     90012436733
2533881564B281   GARY          FOWLER                      NE     27027778156
2533894744B592   TIFFINE       JOHNSON                     OK     90012339474
25338A5735B571   MOORE         MATTHEW                     NM     90000720573
2533913559155B   CHRISTINE     AVILA                       TX     75039901355
2533951A99794B   SHEA LYN      BLOCKER                     TX     74079765109
2533996839189B   SARAH         HARJO                       OK     90011029683
2533B111881661   MR            THOMPSON                    MO     29001101118
2533B11922B27B   LORENA        FIGEROA                     DC     81039301192
2533B2A655715B   YASSMIN       CERON                       VA     90008292065
2533B318131453   ALLEN         GREEN                       MO     27590113181
2533B421754123   SANDRA        PARKER                      OR     90008634217
2533B757A2B839   ANDY          GARCIA                      ID     90003347570
2533B87749136B   VICENTE       RODRIGUEZ                   KS     90011988774
2533B917691828   ANTONIA       CARRENO                     OK     90012979176
253416A479189B   RITA          JACKSON                     OK     90008706047
25341A1559184B   BETTY         VISOR                       OK     21087310155
25341A87481661   JENNIFER      ORTEGA                      MO     90012270874
253421A2755957   LORENZO       GUTIERREZ                   CA     90013271027
2534238A181633   DEBBIE        DECAVELE                    MO     90010093801
2534257A44B588   RODRIGO       JAUREGUI                    OK     90013365704
25342A15791522   JOSE          TORRES                      TX     90012040157
25342A2189189B   GINA          RAIGOZA                     OK     90005010218
25343297A5715B   VALDOVINOS    DINORA                      VA     90013302970
2534331779136B   ROSANNA       MARQUEZ                     KS     90014573177
2534348683362B   KEITH         LEAKE                       NC     90008714868
25343958A81661   ERIC          MCCUBBIN                    MO     90014609580
253443A589794B   EDELMIRA      GARCIA                      TX     74037683058
2534549555715B   LUIS FELIPE   MIRA                        VA     90009944955
2534578942B27B   CECILIA       DOKU                        DC     81014007894
2534582779189B   CASEY         PETRUNAK                    OK     90009508277
2534583174B588   ANGLEA        BROWN                       OK     90001808317
2534591999794B   VICTOR        TUMAX                       TX     74007489199
2534672939155B   SAMUEL        MARTINEZ                    TX     75083197293
2534686649155B   GRACIELA      HERNANDEZ                   TX     90015118664
253468A659136B   MICHELLE      WALKER                      MO     29059138065
2534743817B471   WALTER        ROSA DE PAZ                 NC     90012314381
253474A879189B   JACKIE        CHEADLE                     OK     90013734087
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2534754525715B   WILSON           VASQUES                  DC     90013645452
2534789947B471   WALTER           ROSA DE PAZ              NC     90014908994
25347A2A171928   HAROLD           BRIDGERS                 CO     90012210201
2534848589184B   BRIAN            ERNEST                   OK     90014004858
2534887295B571   SUSAN            WILLIAMS                 NM     90008528729
25348912272B32   DACI             BLANCHARD                CO     90002839122
25348A69757157   CANDICE          BIBBS                    VA     90010970697
25348A75572B88   CHRISTAL         GONZALEZ                 CO     33046070755
2534917614B588   KYLIE ANNA       KOOS                     OK     90010551761
2534969249794B   LIANA            GUTIEREZ                 TX     90013916924
2534986A972447   MARY             KASACJAK                 PA     51006598609
253498A649136B   ADAN             CANELA                   KS     90013948064
2534B5A234B588   LESLEY           LENA                     OK     90005355023
2535187AA9794B   DAVID            MARTINEZ                 TX     90014588700
25351A6825B161   ANDREA           GATEWOOD                 AR     23030390682
2535289475B271   LANETT           COGBURN                  KY     90014568947
2535359989184B   DORA             PEREZ                    OK     90014525998
2535389739136B   ANDREW           HICKS                    KS     90014908973
2535418514B588   LARRY            DUPREE                   OK     90004141851
2535464359184B   BRITTANI         CANDIOTO                 OK     90013226435
2535499227B471   MARIELA BAILON   DOLORES                  NC     90008239922
25354A23551333   ROBERT           PEREZ                    OH     90008990235
25355365376B62   ANA              BRITO                    CA     90013693653
25355A85372B23   CARLOS           HILL                     CO     90001320853
2535616784B281   EVENCIO          MARTINEZ                 NE     27040301678
2535691A77B471   APRIL            FANT                     NC     90012119107
25356986A81638   KORINA           EUERRA                   MO     90012089860
253572A414B261   RACHEL           VAIAOGA                  NE     27095802041
2535761449184B   BRIAN            HILL                     OK     90015296144
25357966872B88   SILVIA           VASQUEZ                  CO     90003369668
2535814684B281   SERGIO           MARTINEZ-DIAZ            NE     90014171468
2535848287B449   CHERRY           JACKSON                  NC     11086194828
25358A9119794B   WILFIDO          CHAN                     TX     90010040911
25359591772B88   ALMA             ALMANZA                  CO     90005675917
25359A95772B32   ADOLFO           HERNANDEZ                CO     90009740957
25359AA7A9794B   ROCIO            VASQUEZ                  TX     90014720070
2535B493871928   URICK            PHILLIPS                 CO     90014534938
2535B81237B477   TOMMY            PHILLIPS                 NC     90003418123
2535B891684364   TANESHA          GREEN                    SC     90000948916
2535B897693767   DANTE            WITHERSPOON              OH     90013158976
2536161899155B   MARCO            ORTEGA                   TX     75084386189
25361638272B88   JOSUE            SANCHEZ-SOLIS            CO     90012716382
2536177757B471   MARIO            AMAYA                    NC     90012237775
2536225347B494   ALICE            POWELL                   NC     90013602534
2536226989136B   LATREECE         ESTES                    KS     90014712698
253622A984B588   EBONIE           MCBROOM                  OK     90010552098
25363195272B42   HERNANDEZ        JOSEPH                   CO     90013651952
2536333486B862   MICHAEL          WAGNER                   WI     90015373348
2536333849155B   ARMANDO          ESCOBAR                  TX     90008693384
2536366265715B   FELICIA          SMITH                    VA     90011646626
2536374329136B   MARIA            BARRIENTOS               KS     90006077432
2536421764B588   KATIE BRIANNA    KOOS                     OK     90010552176
25364314272B32   RENA             ROY                      CO     33060213142
253647A165B571   MERCIE           APODACA                  NM     90012667016
25364972A9189B   DEBBIE           SLAUGHTER                OK     90013209720
25364A91685B6B   BARBARA          FALGOUST                 FL     90015510916
25364A9469155B   ELIZABETH        CABRALES                 TX     75080150946
25365423A91522   CLAUDIA          SILVA                    TX     90012904230
25365538772B88   RANDY            CORLEY                   CO     33046065387
2536596175B161   WALTER           MILLER                   AR     90015059617
2536699534B281   NICHOLAS         JEROME HARRIS            NE     90012389953
2536777599155B   ANA              DURAN                    TX     75097627759
2536863869794B   LUIS             VASQUEZ                  TX     90013826386
25368797172B88   MARTHA           MIRAMONTES               CO     33055647971
253687A712B839   JAVIER           DELHOYO                  ID     42061387071
2536947977B423   DARICK           JONES                    NC     90011964797
25369547A7B449   ARTURO           TEPOZ                    NC     90001035470
2536B33A87B471   STACEY           COLEMAN                  NC     11090813308
2536B586971943   QUOC             HUONG                    CO     90010305869
2536B62819155B   SILVANA          BECERRA                  TX     75007066281
2536B75AA81661   MS               ROBINS                   MO     90001877500
2536B87AA9794B   DAVID            MARTINEZ                 TX     90014588700
2537183A75B271   STEVE            RIOS                     KY     90009568307
25371957972B42   CHRIS            HAMMERBERG               CO     90013109579
2537212A87B449   JAMES            MURRAY                   NC     90003771208
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2537222217B471   BRENDA       SIMTSON-CARRION              NC     90015552221
25372A25A5B161   SEDRICK      LEDBETTER                    AR     90013860250
2537321615715B   BENNY        MEJIA                        VA     90004832161
2537347649189B   DIEGO        OCHOA                        OK     90003694764
2537365792B839   MASON        OLIVEIRA                     ID     90014566579
2537369195B571   TANYA        BELONE                       NM     90009906919
2537411765715B   JOSVEL       ACEVEDO                      VA     90006621176
25374197572B32   CODY         LORENZ                       CO     90012981975
2537424927B471   TROY         BRELAND                      SC     90011242492
253742AA19136B   SANDRA       DIAZ                         KS     29004342001
25374742572B32   JASON        PETTID                       CO     90013897425
25374A82985938   JOEY         BENTON                       KY     67091330829
25375216A4B281   CHRISTINA    PITMAN                       NE     90015172160
2537551A85B271   BARBARA      GANDY                        KY     68006885108
25375652A4B261   MARCI        OWENS                        IA     90010956520
2537567169794B   JUVENAL      GONZALES                     TX     90013156716
25375814A91522   CARMEN       HENRIQUEZ                    TX     90014858140
2537597272B27B   JORGE        JIMENEZ                      DC     90013519727
2537698844B261   CALETA       SMITH                        NE     90010959884
253769A1972B44   EVER         MORALES                      CO     90010399019
2537724A14B281   DAVON        WYNNE                        NE     90014852401
25377381572B88   ELIZABETH    DAIGLE                       CO     90008103815
253774A723143B   LANCE        DEJONG                       MO     90014764072
2537829524B588   APRIL        RING                         OK     90010552952
25378A93172B32   CINDY        POPPE                        CO     90013650931
25378AA535B571   JOSE         ESTRADA                      NM     90014590053
2537935475B571   JASON        FULLER                       NM     90000363547
2537966A493731   RANEY        WORTHHAM                     OH     90011616604
253799A764B588   DENISE       TOLSON                       OK     90008889076
2537B113A55957   VALERIE      CRAWFORD                     CA     90008351130
2537B223971943   ROSEMARY     DOUD                         CO     32075182239
2537B23727B477   EVELENE      BROWN                        NC     90010562372
2537B27179794B   KAREN        LAWRENCE                     TX     90014162717
2537B318881637   DERRAE       DAVIS                        MO     90012943188
2537B43A37B449   ELOISA       LOPEZ                        NC     90013344303
2537BA51371928   GINGER       PATIK                        CO     90006720513
2537BA55381661   KYLE         HARPER                       MO     90014180553
25381439472B88   DANNETTE     SPRATTLER                    CO     90013624394
25381A61581661   ANTHONY      JACKSON                      MO     90014180615
25382128A4B261   NIKKI        BRYSON                       NE     27065721280
2538224552B27B   KIMBERLY     HERNANDEZ                    DC     90003372455
2538289729155B   KELLY        ACOSTA                       TX     90012978972
25382998372B42   PAM          MARSH                        CO     90001649983
25382A69457157   ANGELA       LEWIS                        VA     81073250694
2538327887B471   CAROLE       BROWN                        NC     90014852788
2538365315B571   MICHAEL      LOVE                         NM     90013086531
2538385369136B   TERRY        HAMILTON                     KS     29050728536
253842A915B571   ASHLEY       CHAMBERLAIN-TAFOYA           NM     90014762091
25384334A2B27B   KYREE        KENNY                        DC     90013063340
253845A159136B   ANDRE        DICKENS                      KS     29003255015
2538485679376B   VENITA       YOUNG                        OH     90007888567
2538546A791828   MARIO        ALBARRAN                     OK     90013374607
25385928472B32   EDUARDO      OCHOA                        CO     90015189284
2538612A772447   EBONY        JACKSON                      PA     90013981207
25386197572B32   CODY         LORENZ                       CO     90012981975
2538666652B232   ARTHUR       BUNDY                        DC     90005316665
25387427772B88   TONI         HAMMERBERG                   CO     33017864277
2538791834B281   HARLEY       HUKSINS                      NE     90013879183
25387AA695B571   RAFALE       TORRES                       NM     90014590069
2538836189136B   MARIA        AVILA                        KS     29058363618
25388944A5B161   MARILIN      MORALES                      AR     90014119440
2538896A455957   OSVALDO      ENRIQUEZ                     CA     48088899604
2538992994B588   HECTOR       AREVALO                      OK     90010919299
2538993929136B   ALMA         ESTRADA                      KS     90013949392
2538996999189B   TERESA       KEEVER                       OK     21065649699
2538B254A2B27B   TYRONE       BENNINGS                     DC     90010992540
2538B2A3255977   MARIA        DE JESUS                     CA     90010832032
2538B338651328   BENNY        ADKINS                       OH     66072073386
2538B36A69155B   ADRIANA      AGUILAR                      TX     90014203606
2538B538772B88   RANDY        CORLEY                       CO     33046065387
2538B64454B261   CHRISTY      SCHLUETER                    NE     27060726445
2538B74875B161   HEATHER      BRIGGF                       AR     90014647487
2538B83524B588   CHRISTOHER   HAYS                         OK     90012998352
2539185494B588   JESUS        CORDONA                      OK     90015138549
2539284942B839   ESTANISLAO   DIAZ                         OR     90011698494
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25392969A51328   FORREST      HAINES                       OH     90002289690
2539299A871943   KIMBERLY     ARGO                         CO     32010249908
25393144172B88   TITUS        BLOSSER                      CO     90009321441
2539319985B161   TOMIKA       VERGES                       AR     90008971998
253934A1593731   REUBIN       BEAVERS                      OH     90000824015
25393585A9136B   LASHELL      WILLIAMS                     KS     90014855850
2539364295B271   DARIUS       SIMPKINS                     KY     90013016429
2539375499189B   DAVID        VALDEZ                       OK     90011627549
2539377524B261   TOLIBJON     MARUPOV                      NE     90011767752
2539434652B839   MONICA       ARREDONDO                    ID     90012893465
25394378572B88   MICHELLE     NAVA                         CO     90011573785
2539461A48432B   YURI         TOLEDO                       SC     90011216104
25394A3995B571   JENNIE       ADAMS                        NM     90014590399
253951A969184B   SHELBY       FOX                          OK     90015421096
2539525157B471   CATHERINE    CLINE                        NC     11036932515
2539574629136B   VISMAL       TORRES                       KS     90007787462
2539656318B145   JUAN         GONZALEZ                     UT     90008005631
2539667199184B   JASON        SHAFFER                      OK     21018646719
25397A17A5B161   MATILDE      PALOS                        AR     90003180170
25397A5535B571   EREMITA      MARQUEZ                      NM     90013010553
25398358772B32   VERONICA     BAUTISTA                     CO     90013513587
2539846819155B   BLANCA       SANTILLAN                    TX     75020164681
2539851265B571   ALFRED       GRIEGO                       NM     90009495126
253985A169184B   SERGIO       GARCIA                       OK     90010685016
2539881362B839   JUAN         RUIZ                         ID     90013938136
2539884499794B   RANDI        GARCIA                       TX     90015088449
25398A84A81661   SHAWN        HOGAN                        MO     90014180840
2539936324B221   LACEY        HUMPAL                       NE     27080163632
25399468A71928   WALTER       BUTLER                       CO     32012744680
2539948189189B   THOMAS       MOODY                        OK     90014714818
25399A71272447   MARI         WYCKOFF                      PA     51089290712
2539B71869136B   EDUARDO      LOPEZ                        KS     90013027186
2539B87995B333   CHRIS        HOFMANN                      OR     90014668799
2539B964991828   BONNIE       PAUL                         OK     90007559649
2539B983872B32   NICOL        SYVERTSON                    CO     90013159838
253B2689272447   SHANNON      SWERTZER                     PA     90009046892
253B276254B281   AUTUM        ATHAY                        IA     90013947625
253B32A557B449   CHELITA      LITTLE                       NC     11013272055
253B353562B232   MICHAEL      SAMUELS                      DC     90005315356
253B381689794B   PATTY        NAVARRO                      TX     90008738168
253B3966972B32   TOMAS        ESCAMILLA                    CO     90012809669
253B397739155B   JOSE         HOLGUIN                      TX     90013329773
253B3A68997949   HORACIO      LOPEZ MARTINEZ               TX     90009520689
253B4381472B88   LOUISE       BAILEY                       CO     33033163814
253B447414B588   JUDITH       AGUIRRE                      OK     90014544741
253B453917B471   EDWARD       MARSHAL                      NC     11066875391
253B462484B261   TIANNA       WATKINS                      NE     90003636248
253B4794472447   JOHN         YOTUM                        PA     90015537944
253B4946672B42   MARY         CORONADO                     CO     90005509466
253B542A94795B   ISMAEL       POLANCO                      AR     90002404209
253B5436651328   STEPHANY     DALLINGER                    OH     66078034366
253B582322B235   DOMINIQUE    MOORE                        DC     90013318232
253B5833931631   ALFRED       ANGEL                        KS     90010488339
253B611A99189B   ANTHONY      DOWD                         OK     90001971109
253B625675B271   ROBERTO      FRANCO                       KY     90001472567
253B6336372B88   DERON        JOHNSON                      CO     90009693363
253B6519357157   MELISSA      JONES                        VA     90010955193
253B6671831453   JELISA       DAVIS                        MO     90014406718
253B691665B571   AMANDA       BOGUSKY                      NM     90014589166
253B6957793731   HELPING      HANDS                        OH     90012179577
253B731177B471   ROBERT       BRAWLEY                      NC     90013363117
253B743469136B   RICHARD      ISABELL                      KS     29041084346
253B744627B477   JOSHUA       GHEBREMICHAEL                NC     11063684462
253B7773357157   JEROME       CARTER                       VA     90006237733
253B77AA172B32   CRISTINA     FLORES                       CO     33059297001
253B791A131631   MARIO        CABRAL                       KS     90014099101
253B797459794B   TYRELL       THOMAS                       TX     90013919745
253B7A73781661   MATT         NORTHCUTT                    MO     90010990737
253B827A84B531   KAREN        HOLLAND                      OK     90010632708
253B876153B383   CHRISTINA    PANCZYK                      CO     33080217615
253B891665B571   AMANDA       BOGUSKY                      NM     90014589166
253B8AA554B261   ASHLEI       RICKER                       NE     27050870055
253B9127776B4B   ALI          ESLAMI                       CA     90000541277
253B92AA89189B   KLAYTON      HICKMAN                      OK     21000102008
253B9516393723   CHRISTA      ROBERSON                     OH     90007915163
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253B973A761996   JESUS          SANCHEZ                    CA     90009617307
253B988264B588   JESSICA        CHANCE                     OK     90014968826
253B9967941245   MARCIA         LUSTER                     PA     90002929679
253BB263391241   TIFFANY        BATTLE                     GA     14579732633
253BB5A472B839   CRISTI         PULLEY                     ID     90013645047
253BB89869155B   LORENZO        JIMENEZ                    TX     90012348986
253BBA7599794B   CRISTIAN       MERCADO                    TX     90013630759
253BBA86791828   LINDA          JAMISON                    OK     90014290867
2541118654B588   LASHAWN        WILLIAMS                   OK     21509091865
2541135779155B   VIRGINIA       LUDWIG                     TX     90009813577
2541158219155B   MIRANDA        HOLGUIN                    TX     90014605821
25411A42493731   DAEONNA        DAVIS                      OH     90000410424
2541295179136B   SATRINA        DOYAL                      KS     90001269517
25413294972B32   MARIA          TORRES                     CO     33017932949
254136A2781633   JAMI           DAY                        MO     90011066027
25414167A4B588   ALEXANDRIA     WOODMANSEE                 OK     21510661670
2541462745B271   BARBIE         PARKER                     KY     90007196274
2541538415715B   TERESA         HENRIQUEZ                  VA     90010333841
2541542445135B   RANDY          SCHNEIDER                  OH     90008834244
254158A289155B   MARTIN         BETANCOURT                 TX     90012668028
2541657A72B839   ANTONIO        GONZALEZ                   ID     90009945707
254165AAA4B588   TAYLOR         WOODS                      OK     90013645000
2541668A272B88   ROBERTO        LEON                       CO     90009276802
2541691545B161   MICHELLE       LOVE                       AR     90014559154
2541725125B161   RODNEY         WARREN                     AR     90010832512
25417721272B88   MARK           GARDNER                    CO     90001627212
25417A4339155B   CRYSTAL        CASTREJON                  TX     90010210433
2541898992B232   BARBARA        WICKER                     DC     90005319899
25419A2425B271   TAMIKA         JONES                      KY     90014120242
25419A3665B571   ROXANNE        CHEVEZ                     NM     90014590366
2541B298693731   DENISE         GREGORY                    OH     90014702986
2541B621291828   WAKELLAH       WEST                       OK     90006496212
2541B898833686   LATOYA         JONES                      NC     90011428988
2541BA8499794B   JOHN           QUACKENBUSH                TX     90014770849
2542118579155B   MIRIAM         HOLGUIN                    TX     90002661857
25421743A5B271   ASHLEY         JENNINGS                   KY     90008717430
25421A81971928   CHANTRY        CAMPBELL                   CO     90012740819
2542235379184B   LANA           TURNER                     OK     90014353537
25424218A85938   WILLAIM        FANNIN                     KY     67079912180
2542445139794B   EDMONDO        IBARRA                     TX     90006384513
2542452A372447   DEBRA          JARMON                     PA     90013175203
25424784A91522   LILIA          FLORES                     TX     75035197840
2542482585B571   CLAUDIA        AVILA                      NM     35015478258
254252A5271943   STEPHANIE      LANKFORD'IRWIN             CO     90014712052
254252A569713B   MIESHA         BROWN                      OR     90015322056
25426195A7B471   JOEL ORLANDO   TICAS                      NC     90013921950
2542636464B588   NARNETTA       SHAW                       OK     90012853646
2542642A771943   MARISOL        SALGADO                    CO     90008274207
254271A264B261   ARTURO         TORIBIO                    NE     90010481026
2542737A15B571   JANEEYEE       SCHELLS                    NM     35017843701
25427A7624B281   RHONDA         MINER                      NE     90014440762
25427AAA951328   MARY           KELLEY                     OH     90010160009
2542849677B477   ALEXUS         LEE                        NC     90011154967
2542874465B161   SHAMELLE       MORGAN                     AR     90012557446
2542914922B27B   ROBERT         WILLIAMS                   DC     90013721492
2542921547B477   TIMOTHY        GUINN                      NC     90011892154
25429A55781637   COLLIN         BELL                       MO     90009220557
25429A7277B477   TIMOTHY        GUINN                      NC     90011480727
2542B12A981661   SANDRA         MELGAR                     MO     90014181209
2542B1A949189B   AMANDA         TAYLOR                     OK     90014741094
2542B21339136B   REYES          GRANADOS                   KS     90009122133
2542B23239794B   YOLANDA        SILVA                      TX     74045332323
2542B284191522   MARGIE         GOMEZ                      TX     90010642841
2542B63642B839   MICHAEL        WILSON                     ID     42072496364
2542B85784B588   ANIBAL         AVILA                      OK     21534028578
2542B872A5B271   LASHAY         SMITH                      KY     90009618720
2542BA11871928   ROBERT         HAMMOND                    CO     90009180118
2542BAA5381633   LAMONTAE       MAYS                       MO     90014440053
25431A3229155B   MANUELA        ACOSTA                     TX     75041670322
25432A31791522   BLANCA         ESQUIVEL                   TX     75084250317
25432A51777534   ADRIAN         BAUTISTA-LOPEZ             NV     90009410517
2543321A341245   PATRICIA       ZIGAROVICH                 PA     51069302103
2543345774B221   COURTNEY       KIDD                       NE     27014434577
2543377774B261   MODESTA        LEDESMA                    NE     90014237777
2543396A831631   ALMA           MARTINEZ                   KS     22033699608
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2543451159155B   CINDY        MARTINEZ                     TX     90008275115
25434772724B46   DALE         MILLER                       DC     81024987727
25434A3554B281   ANGEL        GARCIA                       NE     90014700355
2543511849189B   JUAN         SANTILLAN                    OK     90011431184
2543727365715B   NORMA        NOLASCO                      VA     81012932736
2543786354B261   JESSICA      ARMSTRONG                    IA     90015118635
25437A46591828   DESIREE      GRAFF                        OK     90012230465
25437AA5931433   JEROME       STONE                        MO     90013140059
25438A5455B571   NUKU         DOAMEKPOR                    NM     90014590545
25438A6179155B   ROSA         GONZALEZ                     TX     75023650617
25439686A5B161   TIM          VAUGHAN                      AR     23092886860
25439A3995B571   JENNIE       ADAMS                        NM     90014590399
2543B215181637   MIKELA       OLIVER                       MO     29010862151
2543B43219189B   JULIO        CAMPOS MARTINEZ              OK     90010094321
2543B575371943   ESTEBAN      CASTRO                       CO     90000575753
2543B8A2A81633   SHAUN        KNOX                         MO     90012168020
25441A52557157   ERIC         HERNANDEZ                    VA     90011500525
25441A68772B88   CRYSTAL      RAMIREZ                      CO     33046060687
2544213A472B88   CASEY        COWELL                       CO     33054121304
2544262355715B   CARLOS       ROBLES                       VA     81046216235
2544265335B161   MARIA        BOWERS                       AR     23092116533
25442925872B32   JASMINE      ROJAS                        CO     90010799258
254429A5551328   JENNIFER     JOHNSON                      OH     66098409055
25442A3995B571   JENNIE       ADAMS                        NM     90014590399
25442A62A9155B   ANGELA       LOESCH                       TX     90005690620
2544317119136B   BRISA        ARTEAGA                      KS     90015261711
254439A669184B   ILEN         CUVA                         OK     90012639066
2544419692B222   JORGE        USEDA                        VA     90010841969
2544485352B27B   MIRKA        SHEPHARD                     DC     90013128535
2544541319155B   ARMANDO      PEYNADO                      TX     90008694131
2544556425715B   OBED ISAI    ARQUETA                      VA     90013085642
25446161A31433   LAWANDA      MOSS                         MO     90001371610
2544621349184B   TOMIKA       VERSER                       OK     90011242134
25446751972B42   JUAN         CASILLAS                     CO     33089617519
25446759A2B27B   WILLIAN      STANCIL                      DC     90014007590
25447329A77381   ABEL         FLORES                       IL     20509683290
2544775137B471   JOHN         PINCKNEY                     NC     90015457513
25447A6179155B   ROSA         GONZALEZ                     TX     75023650617
2544931A79189B   TRACY        MOORE                        OK     90000523107
2544957222B27B   WILLIE       GLOVER                       DC     90014715722
2544B11899136B   CHRISTIAN    ZAVALA                       KS     90013951189
2544B22829794B   CARMEN       IBARRA                       TX     90013422282
2544B322357157   JENNIFER     ROWSON                       VA     90014603223
2544B36919155B   LAURA        BENTLEY                      TX     90013893691
2544B494472B32   KATHLEEN     WEBER                        CO     33085184944
2544B644757157   JENNIFER     RAWSON                       VA     90013486447
2544B7A1572447   DANIELLE     REDMAN                       PA     51041827015
2544B8A667B471   SHANA        JACKSON                      NC     90013028066
2544BAA5793731   SAMANTHA     RAAB                         OH     90014800057
25451197A81637   REBECCA      VOORHEES                     MO     90008001970
25451483A72B88   JORDAN       GRACE                        CO     90013874830
25451A21331631   JAMIE        SCHANTZ                      KS     90015020213
2545244252B839   GARCIA       LETTIZIA                     ID     90005944425
2545411639184B   BEN          MCLEAN                       OK     90015421163
2545433385B167   JOANNA       TANNER                       AR     90014713338
25454686A4B261   WENDY        MOROZ                        NE     27094096860
254546A4555957   JUAN         PACHECO                      CA     90010056045
25454757972B88   JUSTINE      PENA                         CO     90013047579
2545483A25715B   GLORIA       DE PAZ                       VA     90008138302
25454A5AA61986   ADRIANA      DIAZ                         CA     90013240500
2545521A551369   NICOLE       SCHULER                      OH     66006952105
2545579932B839   LEOPY        TSHIPAMA                     ID     90009957993
25455839A5715B   OSCAR        FLORES                       VA     90013618390
25455A13531453   MARIE        BECNEL                       MO     90010430135
25456213572B44   SHANNA       CATHEY                       CO     90010862135
254568A722B27B   LEONARD      SMITH                        DC     90011968072
25456A68597B41   BRADLEY      JUDKINS SR                   CO     39083230685
25456A81941245   ROSEMARIE    HOPKINSON                    PA     51092000819
25457736772B88   MARK         SCHALL                       CO     90014667367
2545781882B839   ASHLEY       ROBINSON                     ID     90013938188
2545817775B271   ALEASHA      SMITH                        KY     90004351777
2545915A272B32   DEZIREE      HOLMAN                       CO     90014631502
25459422572B88   MARIA        MARTINEZ                     CO     90011574225
2545986899184B   CHARLES      WALKER                       OK     90013868689
2545B396793731   SIA          ROBINSON                     OH     90012953967
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2545B952757157   CAMERON      RIFE                         VA     90015089527
2545B997A71943   SHANITA      GALLOWAY                     CO     90014789970
2545BA64772B88   MOULIKAH     JORDAN                       CO     90012790647
25461157A4B281   GRACIELA     HERNANDEZ                    NE     90004361570
25462156A9155B   ISABEL       GOMEZ                        TX     90010271560
2546227525B161   SHAMIKA      BOXLEY                       AR     90014822752
2546371252B839   JUDY         GERHLS                       ID     90015237125
2546375969184B   CLINTON      GRIFFITH                     OK     90012177596
2546463662B839   BRITTANY     BOLEN                        ID     90011716366
25464696A91522   JOELLA       VELEZ                        TX     75054106960
25464AA717B471   LATOYA       DAVIS                        NC     90014330071
254651A657B471   MYRON        CHAPMAN                      NC     11085421065
2546599642B27B   RAMON        THOMAS                       DC     90005949964
25466379A91522   SALVADOR     COLLAZO                      TX     90008763790
2546664A272B88   JONATHAN     GEISLER                      CO     90011576402
25467643972B88   MELINA       MARTINEZ                     CO     90011576439
2546866934B588   ANITA        FLORES                       OK     21582096693
25469312A4B281   YOLANDA      MONTUFAR                     NE     90010243120
2546947799136B   ROSA         GARCIA                       KS     90014564779
25469635972B88   DEBORA       PINCKNEY                     CO     33096426359
2546985779155B   DOLORES      QUINONEZ                     TX     90008258577
2546B31514B261   ABRAHAM      GARANG                       NE     90012793151
2546B36A12B27B   TIFFANY      RAMSEY                       DC     90012373601
2546B77972B232   LUISA        MADRID DE JIMENEZ            DC     90000887797
2546BA15231433   NICOLE       KING                         MO     27596500152
2547173594B588   MARTINA      MARTINEZ                     OK     90002207359
2547221969184B   ROBIN        MATTINGLY                    OK     90011222196
2547259A57B477   KISHA        DAWKINS                      NC     11006455905
2547266279155B   LORENZO      CHACON                       TX     75066146627
254729A9455957   MARTIN       ROMERO                       CA     48015569094
25472A8114B261   IAN          DODGE                        NE     27095120811
254733AA491528   SUSANA       VICENTAINER                  TX     75008483004
25473654172B88   LUIS         HERRERA                      CO     90011576541
2547371455715B   PAULOS       YACOB                        VA     90012537145
2547378729136B   ARACELI      RODRIGUES                    KS     90007227872
25473AA2671943   PATRICIA     EXLINE                       CO     32012510026
254753A185B571   KRISTINA     FRIEND                       NM     90012063018
2547562A172447   BLAISE       DAWSON                       PA     90012566201
2547615855B271   CHRIS        SOTO                         KY     90010101585
2547754A591828   KATIE        JONES                        OK     90012155405
2547762662B839   KIM          GIVENS                       ID     42068276266
2547785A772447   HENRIETTA    SHEARER                      PA     90010118507
2547811852B839   SUZANNE      BRADY                        ID     90012941185
25478174172B88   PEDRO        RODRIGUEZ                    CO     33022471741
254784A977B471   LUCIA        PEREZ                        NC     90012634097
25479138472B32   EDITH        CASTRO MORALES               CO     90013321384
25479A4825B936   VICKY        SALDIVAR                     WA     90001960482
2547B156772B88   LUCINDA      CONDE                        CO     90010521567
2547B627A51328   MICHAEL      STEGEMOLLER                  OH     90009586270
2547B65A181661   MELISSA      MILLER                       MO     29081966501
2547B88359155B   ANGEL        HERRERA                      TX     90013008835
2547B9A1431433   JOEI         LANGCASTER                   MO     27567599014
2548111279794B   VERONICA     DIAZ                         TX     90013681127
2548168264B588   MARITZA      CALDERON                     OK     90012306826
25482257372B88   LOURDES      MONARREZ                     CO     90002072573
25482857A55957   KATHY        DELING                       CA     90011108570
2548286199155B   PATRICIA     GARCIA-SANCHEZ               TX     90015298619
25483161587B87   BENNIE       GARRETT                      AR     23056861615
254838A3471928   JOSUE        MCGEE                        CO     90014088034
25485A51172B88   JUAN         NORIEGA                      CO     33080170511
25485A9329184B   WILLIAM      WHINERY                      OK     90011010932
25486A94393731   LATOYA       MILLER                       OH     64518020943
2548716A181637   NINA         ANDERSON                     MO     29002011601
254875A3241245   JACQUELINE   DOUTHETT                     PA     90010545032
2548795637B471   LATONYA      WOODS                        NC     90012989563
25487982A71928   BRITTANY     JONES                        CO     90015279820
25488472672B88   MARCHELLE    KIRBY                        CO     90002224726
2548946924B281   LISA         HANEY                        IA     90004184692
2548974119189B   ROBERT       HILL                         OK     21023597411
254897A177B466   ANTOINE      GLOVER                       NC     90008707017
2548B14969794B   IRENE        MORENO                       TX     90007341496
2548B225A9184B   BRIAN        HALL                         OK     90012272250
2548B28555715B   JOSE MORIS   CALDERON                     VA     90013922855
2548B687A71943   CHEYENNE     SATHRE                       CO     32040856870
2548B73335B161   TIFFANY      COULTER                      AR     90014957333
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2548B82529376B   JAMES           THOMAS                    OH     90005778252
25491161872B88   JESENIA         BERNAL                    CO     90012921618
2549128363B391   TYSON           ADAIR                     CO     90007282836
254916A5257157   CHARLIE         COLATO                    VA     90010606052
25491AA1351328   CHRIS           GODLEY                    OH     90012100013
2549268747B471   DAYLVIN         MCILWAINE                 NC     90006716874
25492A1434B281   VANESSA         YOUNG                     NE     90004120143
2549324119136B   LUIS            GALINDO                   KS     90011152411
25493492572B88   VALENCIA        LOPEZ                     CO     90002834925
2549363717B471   LEODEGARIO      SOTO                      NC     90014546371
25494275A81661   IVAN            PACHECO SANDOVAL          MO     90014182750
254942A5281633   JERMAINE        BROWN                     MO     90014902052
2549477724B261   JOHN            PLOG                      NE     27034137772
254948A384B588   TIMOTHY         BRADFORD                  OK     90010558038
2549491A172B88   ASHAUNAISE      GAINES                    CO     33022469101
25494A9673B127   GLEN            ELLE                      DC     90011450967
2549575187B471   BRITTANY        BENJAMIN                  NC     90010587518
2549653745B161   MIKE            MORNING                   AR     90013155374
254965A7371943   CODY            NORTON                    CO     90014115073
2549664999794B   CHARLES         JOHNSON                   TX     74008566499
25496A36891828   SHANTORRIA      LEWIS                     OK     90012130368
25496A5969155B   JOSE            CASTRO                    TX     90014010596
25497642A9184B   DARRYL EDWARD   WINFIELD                  OK     90010556420
2549779A381661   JADERAH         ROBINSON                  MO     90008987903
2549796419794B   SANDRA          NOLASCO                   TX     90006089641
25497A77691828   SAMANTHA        SHEFFEY                   OK     90007310776
2549817A24B281   TYLER           PEARSON                   NE     90014811702
2549927869136B   CARLOS          HERRERA                   KS     90013952786
2549933215B571   ELSPERANZA      LAURENCE                  NM     90010093321
2549B226381637   JOSE            LUIS SANCHEZ              MO     90011422263
2549B572272B32   CORRINA         LOPEZ                     CO     90011975722
2549B964971943   RIGOBERTO       SANCHEZ                   CO     90013819649
2549BA6612B27B   XAVIER          ROBINSON                  DC     81016720661
254B118245B571   STAR            MEEKS                     NM     90004241824
254B13A342B839   TRACY           NELSON                    ID     90011783034
254B15A424B588   STATIA          JACKSON                   OK     90013715042
254B173854B261   JOSE            PANIAGUA                  NE     27080567385
254B1761A91828   NIKITRA         MAYHUE                    OK     90014057610
254B1928571928   BRENDA          HURT                      CO     90010869285
254B1A52872447   TRACEY          BASH                      PA     90011190528
254B292492B839   TRICIA          DOUGHTY                   ID     90004189249
254B2A84A81661   SHAWN           HOGAN                     MO     90014180840
254B3118857157   KRISTY          VANDALE                   VA     90000431188
254B345775B571   LOURDES         CORTEZ                    NM     35094434577
254B3667A93752   CANDACE         BEVAN                     OH     90001716670
254B388175B161   AMOS            RAY                       AR     23005648817
254B3954481637   JUAN            ARAGON                    KS     90013859544
254B411119189B   LATISA          MASON                     OK     90005901111
254B427125B271   JULIE           HARL                      KY     68093842712
254B445277B471   KENDRIS         BUTLER                    NC     90013294527
254B519599155B   ELIZABETH       CAMACHO                   TX     90011541959
254B51A599184B   ANITA           RITTER                    OK     21004141059
254B5569391828   TAMMIE          DAVIS                     OK     90008725693
254B594447B471   PABLO           MARTINEZ                  NC     90010459444
254B637837166B   JOANNE          PONCE                     NY     90014783783
254B6659631433   ROCK            STAR                      MO     27581606596
254B6881472447   ANGELA          KEDRAC                    PA     90010118814
254B743A972B88   NORMA           MARTINEZ                  CO     90008644309
254B8356581633   ANTHONY         EMANUELE                  MO     29086643565
254B859319136B   JUSTINO         MARQUEZ                   KS     29052355931
254B9545172B32   DIEGO           SANDAVAL                  CO     90006405451
254B9597641251   JOHN            CUNNINGHAM JR             PA     90000215976
254B9944193767   JAY             JONES                     OH     90008449441
254B9AA9451328   SCOTT           ROBINSON                  OH     66056110094
254BB31595B271   JOHN            CAPPS                     KY     90003693159
254BB77965B161   RAIDA           BUNCHE                    AR     90007567796
2551218644B261   MELISSA         MILLER                    NE     27093421864
2551218995B161   VENUS           JOHNSON                   AR     23073731899
255121A515B271   ANTHONY         BROWN                     KY     90014491051
2551256682B839   ELIVA           EZPARZA                   ID     90013045668
2551273A381637   OSCAR           MENJIVAR                  MO     90003487303
2551285379136B   DUSTIN          BALDWIN                   KS     29089398537
255128A844B281   VELA            JAMES                     NE     27046098084
2551324259794B   JERLENE         PARNELL                   TX     90013932425
2551418282B839   LUIS            LOPEZ                     ID     90012941828
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25514427172B42   JASMINE      COTTON                       CO     33090694271
25514845A9136B   CHRISTINA    ROSS                         KS     90004258450
2551525412B839   JANELLE      BIRD                         ID     90009302541
25515263372B42   TARA         MONTOYA                      CO     90014532633
25515634A7B449   THERONE      POE                          NC     11096666340
2551639164B588   TERRY        PARKER                       OK     90012853916
25516833172B42   RICKY        BIASAIDO                     CO     90010208331
2551712825B571   JONATHAN     ZAVALA                       NM     90014591282
2551753992B839   ADAM         BAIN                         ID     90012695399
2551779A293731   BOBBY JEAN   WIREMAN                      OH     90010417902
2551813795715B   MAYRA        DIAZ                         VA     90012041379
25518242A41229   DENISE       KENNEDY                      PA     51059652420
2551859835B161   MARCUS       WHITE                        AR     90014775983
25518613A9155B   MIGUEL       FLORES                       TX     90001826130
2551899664B261   OFELIA       CAMACHO                      NE     27061959966
25518A6A681637   SHANE        WOOD                         MO     90014460606
2551918299189B   RAMON        ORTIZ                        OK     21067011829
255191A5931433   DELORES      SMITH                        MO     27564121059
2551931A79136B   LUIS         GODOY                        MO     90013953107
25519A58355957   GLORIA       PEREZ                        CA     90004260583
25519AA4993731   JASON        MCCLELLAND                   OH     64510240049
2551B198872B32   CODY         WHITED                       CO     90014781988
2551B452A9794B   ADELINA      CARADANAS                    TX     90000284520
2552115615B571   RANDELL      SIMS                         NM     90014591561
25521186476B71   IVAN         ESTRADA                      CA     90008591864
255211A4855935   JOSE         ARTEAGA                      CA     90011161048
2552135893B364   SURAFEL      MOHAMED                      CO     90011623589
25521583A55957   PATRICIA     GARCIA                       CA     90005345830
25522319272B42   JUAN         ROMERO                       CO     90011993192
2552235893B364   SURAFEL      MOHAMED                      CO     90011623589
25522377A71928   DAVID        SINCLAIR                     CO     32001383770
255227A3372B88   BRANDON      CHAVEZ                       CO     33034757033
2552339959794B   LAUNITA      LLANAS                       TX     90008733995
25523A6A147952   LUCY         VILLAVICENCIO                AR     24061630601
2552411A881633   CARRIE       CORNWELL                     MO     29030071108
25524126672B88   TIERRA       SPRINGER                     CO     90009101266
2552434699794B   ANTONIO      SALAZAR                      TX     90013933469
2552477623B356   QUIRING      BRIAN                        CO     33018087762
2552535935B571   TIFFANY      TIFFANY                      NM     90008393593
2552552945B271   JOHN         GRIDER                       KY     68006785294
255256A1791227   GUSTAVO      PENA                         GA     90014096017
2552615925715B   SARDAR       ALI                          VA     81083721592
25526161A71928   SETH         SUTTON                       CO     32038501610
2552639289794B   ERICK        MIRANDA                      TX     90013933928
255266AA24B588   COURTNEY     BYRD                         OK     21556866002
2552677955B271   TERA         CHARLESTON                   KY     68040297795
25527449A5B271   MIRES        HEGGIE                       KY     90000194490
2552765727B477   MAURICE      YOUNG                        NC     90011446572
2552785174B588   BIRON        DE LEON                      OK     90013728517
25528144172B42   ROGER        TAGBO                        CO     33083931441
2552826425B161   LOUIS        WILLAMS                      AR     90013362642
2552876A44B588   ADRIAN       THOMAS                       OK     90008377604
255289A6441245   AUGUSTUS     DAVIS                        PA     90011829064
25528AA682B975   OFELIA       PACHECO                      CA     90008730068
25529452A9794B   ADELINA      CARADANAS                    TX     90000284520
25529AA1351328   CHRIS        GODLEY                       OH     90012100013
2552B11327B471   HECTOR       REMIGIO                      NC     90011181132
2552B22A493731   TOD          SAMS                         OH     90000412204
2552B24434B261   DAWN         KELLER                       NE     90009852443
2552B24849794B   ALAN         DIMAS                        TX     90013932484
2552B56912B27B   PAYGO        IVR ACTIVATION               DC     90013785691
2552B71A14B588   SABRINA      DUPREE                       OK     21524667101
2552B886A72447   MICHAEL      BECKOWITZ                    PA     90013478860
255319A7791828   LYNN         NEWMAN                       OK     21074189077
255321A5A71943   NATHAN       REEDY                        CO     90015341050
2553244A157157   EMIL         ALVAREZ                      VA     90012674401
2553317A62B27B   EMANUEL      GROSS                        DC     90010281706
2553332315B271   RON          SPADIE                       KY     90013933231
2553368759794B   TOBIA        WASHINGTON                   TX     90010396875
25534A83591522   REYMUNDO     BARRAZA                      TX     90002370835
2553559754B261   AITI         GURUNG                       NE     90008045975
2553583332B839   THOMAS       ORELLANA                     ID     90013938333
25535A85A9136B   IVETTE       VIVEROS                      KS     90008510850
25535AA195B161   DEJUAN       WRIGHT                       AR     90013280019
2553623A24B588   BRETT        SCHAEFER                     OK     90015302302
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2553642925B161   KIMBERLY         SANDERS                  AR     90011624292
2553735619189B   PAMELA           KIESLICH                 OK     21072663561
2553765214B281   LORI             RIEDERER                 NE     27097436521
25538118A57157   SHAMS            SHAMSUDDIN               VA     90012231180
25538876872B42   MATTHEW          JORDAN                   CO     90011518768
255388A469794B   ULISES           HERNANDEZ                TX     74063158046
255391A365B161   JIMMIE           BURGESS                  AR     90013931036
2553962599155B   LILIANA          BERNAL                   TX     90008946259
25539782172B42   ESTRELLA         VAZQUEZ                  CO     90006957821
25539A51A57157   RHINA            BONILLA                  VA     90001320510
2553B383951328   TARA             TELINDA                  OH     90007323839
2553B3A925715B   MARGARITA        FRANCO                   VA     81092383092
2553B767593731   MITCHELLE        DIXON                    OH     90004307675
2553B928957157   EDMUND           COMBS                    VA     90001809289
2554112A193731   HEATHER          KEITH                    OH     64569641201
25541363A9136B   CARLOS           YUMAN                    KS     90013953630
2554174A291528   CAMPOS           CARMEN                   TX     75094677402
25541828472B88   ISAIAH           GARCIA                   CO     90012858284
25542453A57157   MARY             KAMARA                   VA     90013634530
2554255985B571   MARES            LYNN                     NM     90004375598
25543323A9136B   AIDA             HERNANDEZ                KS     90013953230
255434A359794B   MILTON           MALTEZ                   TX     90015094035
25544112A55957   NICOLAS          PIMENTEL                 CA     90006081120
25544566A9136B   KEVIN            ESTRADA                  KS     90014395660
2554468759794B   TOBIA            WASHINGTON               TX     90010396875
2554477159184B   TARA             GRAY                     OK     90010557715
255451A2191522   AARON            HIGAREDA                 TX     90000761021
255451A5138522   RAUL AND KARLA   GUARDADO                 UT     90014071051
2554528A672B42   MELISSA          FOWLER                   CO     90014842806
2554594215B375   SARAH            MORALES                  OR     90012469421
255466A5457157   OSCAR            RIVERA                   VA     90010896054
2554685224B588   RONALD           TODD                     OK     21556858522
2554686875B271   JOSH             EDWARDS                  KY     90011468687
25547A24771928   ORLANDO          ROMERO                   CO     90012400247
25547A67831453   L                WIMBLEY                  MO     90010150678
25548698A93731   NICOLE           LAGUIRE                  OH     64517006980
2554891A891828   CHARLOTTE        MURPHY                   OK     90008509108
2554931415715B   WARD             THOMAS                   VA     90013303141
2554987839184B   MARGARITA        MALDONADO                OK     90014548783
2554B138131453   AMY              RENNER                   MO     90006191381
2554B323748B23   TINA             LINN                     AZ     90014313237
2554B62A55B323   DAVID            WEST                     OR     44573336205
25551164472B88   ELVIRA           ESPARZA                  CO     90012921644
25551443272B32   MARGARITA        TUTTLE                   CO     33086384432
2555168767B471   LAURA            JAMES                    NC     90012056876
25551A5365715B   JONAH            BRYANT                   VA     90010380536
255523A354B588   ANGELIA          HITSMAN                  OK     90010213035
2555242689136B   JAVIER           TRUJILLO                 KS     90003154268
2555371372B839   DALLAS           JORDAN                   ID     90014527137
25553856272B88   ELIDA            AMAYA                    CO     90010358562
2555411119189B   LATISA           MASON                    OK     90005901111
255542A7881633   CHRISTOPHER      MORGAN                   MO     90014412078
2555446599136B   CORY             JEFFERSON                KS     90007014659
2555516315B571   RACHAL           MCHUGH                   NM     90010461631
25555271272B88   JONATHAN         MARTINEZ                 CO     90013612712
2555539689184B   DEBRA            HATTAN                   OK     21032183968
2555547A17B477   ASHTON           JACKSON                  NC     11089534701
255559A9472B32   LEZLY            MELENDEZ                 CO     90013019094
2555632929794B   LORENA           LOPEZ                    TX     90013953292
2555633825B161   KEVIN            LEVON                    AR     23064943382
2555646625B571   ANSELMO          CHAVEZ                   NM     90011634662
255568A964B588   OSCAR            TRAYLR                   OK     90008018096
2555715A95B161   KENNY            WOMACK                   AR     23009901509
25557229A5B571   LOURDESAVI       MONELL                   NM     35092722290
25557682672B32   CECILIA          TRUJILLO                 CO     90012826826
2555921A64B261   STACIA           JOHNSON                  NE     27060082106
2555947429794B   BILLIE FAYE      WORKMAN                  TX     90013954742
2555999885715B   EDEN             COLINDRES                VA     90009529988
2555B112655957   MARK             SERRANO                  CA     90007371126
2555B168441245   DARLENE          KUHN                     PA     51087461684
2555B367957157   HECTOR           VASQUEZ                  VA     90013383679
2555B552371928   MARIA            HICKS                    CO     90010335523
2555B73474795B   MONICA           VILLALOBOS               AR     25047827347
2556122984B261   JAKOB            DAVIS                    NE     27017832298
2556159A784364   MYRON            COOPER                   SC     90003305907
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2556191845B161   MACK          CHUKES                      AR     23021289184
25562413A91241   MIRA          BOOKOUT                     GA     14512994130
25563255A71943   TINA          RUIZ                        CO     32078552550
255634A7672B42   MAVIS         LEVY                        CO     90012844076
2556363185715B   CRYSTAL       GABRIELLE                   VA     90005346318
2556458555B571   JOHN          GUTIERREZ                   NM     90014915855
255645A865B161   ANTHONY       STOKES                      AR     90015235086
2556482425B271   WILMA         PRIDDY                      KY     68073498242
255648A8272B88   JESUS         DOMINGUEZ                   CO     90000778082
25564A24984364   DERRICK       RIVERS                      SC     90005880249
2556521A92B27B   QUENTIN       HARDY                       DC     90013902109
25565235172B32   KIMBERLY      MYERS                       CO     33059052351
2556582939189B   ROBERT        BUTLER                      OK     90014728293
255664A349189B   STEPHANIE     DOBBS                       OK     21002254034
25567173A72B32   FERNANDEZ     FREEMAN                     CO     33050261730
25567311A84364   ERICA         CHAVEZ                      SC     90007993110
2556776A65B571   EVANGELINE    BACA                        NM     90009807606
2556831879198B   LOUIS         ORJI                        NC     17065103187
2556868A49184B   LUZ           LICON                       OK     90006556804
25568A64871928   DANA          MARTINEZ                    CO     90013470648
2556922835B571   LIZETH        CASTRO                      NM     90004242283
25569275A55957   MARTHA        ZAVALA                      CA     48026462750
2556932119189B   MICHAEL       LEWIS                       OK     21094883211
2556944949184B   ARONICA       PAYNE                       OK     90014704494
255694A1285831   ADRIAN        CRISAN                      CA     90010314012
2556B54A12B839   VINCENT       ANDREW                      ID     90012955401
2557148774B588   TYLER         MARCHESE                    OK     90012574877
2557239235B571   JOANNA        BACA                        NM     90014603923
25572769A72447   NELSON        ARNOLD                      PA     90014647690
2557283189189B   HOWARD        SUMMERS                     OK     90014728318
25572AA4993731   JASON         MCCLELLAND                  OH     64510240049
2557351A89136B   OSCAR         HURITA                      KS     90014065108
2557397359794B   JERIKHA       WIESE                       TX     90014999735
255739AA12B394   JULIA         RODRIGUEZ                   CT     90014449001
25573A24251328   DEBRA         HOBSON SPICER               OH     90014170242
2557436272B839   JOSE          NUNEZ                       ID     42015563627
2557441A157157   JOSE          MORENO                      VA     81092674101
2557447985B571   BELVA         STAMPS                      NM     90007524798
2557476824B588   VERONICA      RIOS                        OK     90012337682
2557544442B839   DANIEL        MINGA                       ID     42088874444
2557549A35715B   JORGE         GUZMAN GOMEZ                VA     90000734903
2557573685B161   JERRICA       MASON                       AR     90011017368
25575A3A99184B   TYLER         GATTIS                      OK     90013830309
255761A649136B   IVETH         ALVARADO                    KS     90012081064
2557656789184B   SHELBY        KEITH                       OK     90015285678
25577274772B88   JESSICA       FLORES                      CO     90013612747
2557747715B571   KELLY         BADGLEY                     NM     90011634771
2557774449794B   CAMELO        HERNANDEZ                   TX     90014047444
2557798479189B   PAUL          CORRAO                      OK     21076169847
25578295672B42   CHRISTOPHER   LUCERO                      CO     90012622956
25578482A5B571   JOELDA        OTERO                       NM     90009814820
25578831472B88   MARIO         AVALOS                      CO     33059438314
2557885A531433   AARON N       GIBSON                      MO     90010548505
2557927827B496   ANNESIA       BEHARRY                     NC     11086532782
2557953929794B   KIM           BUTLER                      TX     74069725392
2557B38275B161   LISA          BOWMAN                      AR     90011323827
2557B61439184B   KAMITA        SCRAPER                     OK     90002696143
2557B949991241   NATHANIEL     ROBERTS                     GA     90001519499
2557BA4849155B   JESSICA       CARLOS                      TX     75032220484
2557BA6A631631   PHILLIP       GREEN                       KS     90014160606
2558116392B839   JD            EMLER                       ID     42005211639
25581562176B62   OSCAR         ROSALES                     CA     90005885621
2558157567B471   ESTUARDO      SANTOS                      NC     90011265756
255817A5641245   SEAN          TURNER                      PA     51048007056
25581839A5715B   OSCAR         FLORES                      VA     90013618390
255822AAA9794B   LORENZO       CRUZ                        TX     74078232000
2558297212B839   JASON         MOORE                       ID     42092399721
25583132572B88   CRYSTAL       FIELD                       CO     33040271325
2558324A89184B   CHYANNA       PATTERSON                   OK     90012142408
2558328A35B271   JESSICA       DAVIS                       KY     90013582803
2558329A955957   NATALIE       VESS                        CA     90013462909
2558496535B271   REYCHELLE     ADAMS                       KY     90014129653
25585166A2B27B   CHRISTINE     COLLINS                     DC     90010931660
2558522A39794B   OLIVIA        TORRES- FRAGA               TX     90014172203
2558579437B471   EDITH         MARTINEZ                    NC     11059857943
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25585A5684B588   PABLO        RAMIREZ                      OK     90013210568
2558655859189B   SARA         HUTCHISON                    OK     90014305585
2558729474B261   BOBBI        SIMET                        IA     27005372947
25587912276B56   JULIA        OCHOA                        CA     90015199122
255883A2731631   EHRICH       COOPER                       KS     90010403027
25588A99872B32   DEBRA        JORGENSEN                    CO     90010900998
2558B351972B42   MIGUEL       CHAVEZ                       CO     33065843519
2558B4A4841272   KENISHA      KIRBY                        PA     51017354048
2558B58A84B261   BRANDON      MERKELEY                     NE     90002415808
2558B664381661   MARCIA       GERRING                      MO     90014186643
2558B966593731   STEVEN       BULLOCK                      OH     64574099665
2558BA4262B839   SHIRLEY      MESA                         ID     90015020426
2558BA6A572B88   KIMBERLY     BUCHER                       CO     33066790605
2559146A79136B   CAMILLE      DROMAN                       KS     90013954607
2559168A781661   PATRICK      GERRING                      MO     90014186807
2559194A591528   OLGA         REYES                        TX     75078809405
2559234715B571   MAGDA        BARASA                       NM     35094483471
2559257A47B477   MOISES       PAZ                          NC     90012655704
2559289354B588   SHERRI       SMITH DAVIDSON               OK     90013728935
25593A52672B32   SAMEERAH     AZZAWI                       CO     33082700526
2559447144B261   BRIANA       PALMA                        NE     27034024714
2559528445715B   ELDA         CAZANGA                      VA     90013642844
2559542499794B   MARTHA       POMPEYO                      TX     90014174249
25595738672B32   EDGAR        ANGULO                       CO     90009137386
2559598149184B   KENNETH      JONES                        OK     90015149814
25596147A72B98   MARIA        BANUELOS                     CO     33014601470
255962A2A81633   ANGELA       MACDONALD                    MO     90010622020
25596A51272B88   AARON        GRAY                         CO     90012010512
25596A72891528   DAVID        PENA                         TX     75094710728
2559827929155B   CLAUDIA      GARCIA                       TX     90013682792
2559847449189B   JORDAN       MATHIS                       OK     90011574744
2559852897B471   RAMIRO       HERNANDEZ                    NC     90006605289
255987A317B477   CHARLES      JAMESON                      NC     11076447031
2559964149794B   GERARDO      HERNANDEZ                    TX     90014176414
2559B135A31631   ROBERT       JOHNSON                      KS     90011021350
2559B18472B27B   MOE          PARKER                       DC     90014581847
2559B193372B32   LEMMIO       TOWNSELL                     CO     90013811933
2559B224755957   JODYNE       TRIPLETTE                    CA     90008722247
2559B244972B88   MARCELA      SANCHEZ                      CO     90010602449
2559B49785B271   DAMIAN       RIVERA                       KY     90000194978
2559BA24751328   REBEKAH      KILBURN                      OH     66009040247
2559BA7324B588   REVIS        HALEY                        OK     90014830732
2559BA8685715B   ADRIENNE     JARMON                       VA     90007870868
255B146A15B161   JOSHUA       RHODES                       AR     90012884601
255B153A457157   WILMER       ORTEZ                        VA     90009005304
255B176719136B   TABATHA      FOSSETT                      KS     29034897671
255B21A615715B   KATHLEEN     COX                          VA     90010471061
255B2332272B32   KARI         PENNINGTON                   CO     33089843322
255B2467171928   JUANA        LANZAS                       CO     90012994671
255B2616771928   ALLEN        MATOXEN                      CO     90013016167
255B2669A7B471   THEODORE     KENNEDY                      NC     90013226690
255B26A6A72447   THOMAS       WOLOSYN                      PA     51098406060
255B2747A31453   LISA         JIMENZE                      MO     27561637470
255B2832157157   JENNIFER     HERCULES                     VA     81004718321
255B313A65B571   STEVEN       GLENN                        NM     90004241306
255B3629881661   FREDDIE      MITCHELL                     MO     90009976298
255B377845B271   JAMES        NORRIS                       KY     90013597784
255B382244B588   CHRIS        BRANSCUM                     OK     90003148224
255B4158172B32   JACLYN       TRIZIO                       CO     33044891581
255B416624B281   JONATHAN     COTE                         NE     90015321662
255B483959155B   MOE          BROWN                        TX     90014578395
255B48A1391522   ELIZABETH    LAZO                         TX     75025148013
255B5429261958   LINDA        WHITE                        CA     90012614292
255B591699189B   CRYSTAL      HOLMAN                       OK     90007289169
255B6222177541   JESUS        MORA CARRILLO                NV     90002612221
255B6593571943   ED           WILLARD                      CO     90010255935
255B659729794B   ALBERTO      MENJIVAR                     TX     90015215972
255B6816257157   DAYNA        GILLIS                       VA     81061988162
255B683A481637   SAUNDRA      HUNTER                       MO     90010618304
255B6988A9794B   MODESTO      RODRIGUEZ                    TX     90011929880
255B728A672B42   MELISSA      FOWLER                       CO     90014842806
255B737A59189B   GERARDO      HERRERA                      OK     90011633705
255B767A19155B   ROGELIO      DONACIO                      TX     75048496701
255B7841472B32   DANIEL       BOYO                         CO     33086998414
255B8214A71928   OSCAR        HERNANDEZ                    CO     90013732140
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255B8436771943   JEANETTE        POWELL                    CO     90003724367
255B858794B281   WILLIAM         HAYNES                    NE     90013695879
255B8972457157   ELIZABETH       CARLUS                    VA     90015339724
255B8A67681661   JAMES           ROARK                     MO     29022210676
255B8A93131453   CHELENA         PYE                       MO     27520680931
255B9266593731   JESSICA         MARRIOTT                  OH     90013752665
255B972579136B   DAN             PETERSON                  KS     90011167257
255B988949136B   LUCIO           POSADAS                   KS     29055158894
255BB25339155B   KARMEN          RODRIGUEZ                 TX     75085562533
255BB3A9891528   EDGAR           PEREZ                     TX     90006003098
255BB834791893   ALMA            AGUERO                    OK     90011598347
2561145725B571   MARTY           SANCHEZ                   NM     90011044572
25611656A3145B   MARGARET        MOORE                     MO     90013566560
25611A83691828   FELIPE          VAZQUEZ                   OK     90008510836
25612351A9136B   MILAGROS        GUZMAN                    KS     90007543510
256128A6A91522   DIANA           LOPEZ-BARRAGAN            TX     90006358060
25612A48772B42   MIGUEL          GREEN                     CO     33047740487
25612A55381633   MONICA          LANE                      MO     90005330553
25612AA724B588   JESSY           BROWN                     OK     90011960072
2561383A171928   ALBERT          ATKINS                    CO     90007738301
2561396A59155B   TRAVIS          BRITTAIN                  TX     90011139605
2561439475B571   SILVIA          GONZALES                  NM     90005773947
25614894872B32   CIJI            RAMIREZ                   CO     90013258948
25614A8224B588   CHRISTIAN       RHODES                    OK     90014810822
2561576759136B   JOSE            ALBERTO                   KS     90015207675
25615826672B32   JORGE           NAVARRO                   CO     90013608266
25615A4159794B   PAYGO           IVR ACTIVATION            TX     90015250415
256163A1A9794B   YAJAHIRA        GOMEZ                     TX     90007793010
2561646A15B571   ROSE            SNOW                      NM     90013154601
2561751524B588   PEARL           PATTERSON                 OK     90013645152
2561757292B839   JOSE            MALDEONADO                ID     42039495729
2561778275B161   ROGER           WEBB                      AR     90013777827
25618635476B53   ADOLFO          CRUZ                      CA     90001306354
256189A8772B88   BONNIE          HARRISON-HALL             CO     33016389087
25619526572B32   ANTONIO         ALVARENGA                 CO     33064695265
256195AA591528   ROSA            GALINDO                   TX     75039405005
2561974695B161   EBONY           GETER                     AR     23060497469
2561B11462B839   GIL             SOTO                      ID     42050871146
2561B572793731   SHARIA          BAILEY                    OH     90013355727
2561B88299189B   ARNOLD          FUEL JR                   OK     21040378829
2561BA86A7B477   LANYIA          MCCOLLOUGH                NC     90011190860
2562143A35B571   BLANCA          VALLES                    NM     90014604303
25621953872B32   DAWN            BARTOLONE                 CO     90014059538
25621983A9184B   FELIX           SANCHEZ                   OK     90002569830
25622141A71928   RICK            BAKER                     CO     32086681410
2562317925B271   CHRISTINA       LAWRENCE                  KY     90013211792
25623259A5B161   DAVID           DE LA CRUZ                AR     90014382590
2562353164B588   LATISHA         JAMES                     OK     90011355316
2562365417B471   ELBA PATRICIA   SANCHEZ FLORES            NC     90014546541
2562375355715B   AMILCAR         SANCHEZ                   VA     90006247535
256237A4872B88   MARIA           HERNANDEZ                 CO     90012837048
25623A5A355957   MARIA           BARRAGAN                  CA     90015520503
25624567A9136B   JESUS           RODRIGUEZ                 MO     90013955670
2562457819184B   APRIL           WILLIS                    OK     90013925781
2562475274B261   LASHEY          LAWVER                    NE     27014587527
2562486822B839   SAMANTHA        JOESPH                    ID     90013638682
2562498352B27B   DON             JACKSON                   DC     90014909835
2562543895B571   SARAH           GUTIERREZ                 NM     90014604389
256254A362B839   DAVID           WAGEMAN                   ID     42075824036
256254A839155B   MARIA           MENESES                   NM     75096704083
2562631A891522   MIRNA           SOTO                      TX     75088583108
2562695124B588   BRANDON         SMITH                     OK     90014569512
25626A38572B32   CESAR           MORALES                   CO     90012640385
2562792A193731   KALESHA         BAILEY                    OH     64589709201
25627934554B63   DAVID           DENNIS                    VA     90015399345
25628197A72B32   FRANCISCO       CARDIEL                   CO     33019061970
2562843127B471   LEANDRIA        BERRY                     NC     90013374312
25629274972B32   LAWRENCE        CARRASCO                  CO     33039202749
2562943715715B   KENNY           ANDRADE                   VA     90011654371
2562964A391522   RAMONA          VASQUEZ                   TX     75001186403
2562972A231453   ASHLEY          WILKERSON                 MO     90012227202
2562976839136B   MELISSA         BRIONES                   KS     90009077683
2562B266A81633   ANTHONY         MACK                      MO     90003692660
2562B283572B42   DARREN          BORUCKI                   CO     90012142835
2562B335372B88   LATASHA         MACK                      CO     90005273353
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2562B495A81661   MISHEL           RODAS                    KS     90009204950
2562B68265B571   ANGELIQUE        PENA                     NM     90005056826
2562B742631466   LISA             OWENS                    MO     90013437426
256318A4A81633   KNEIKA           ROBBINS                  KS     29043588040
25632499672B88   JOSE             GONZALEZ                 CO     90013874996
2563317465715B   RIGOBERTO        ALVAREZ                  VA     81035641746
256332AAA5B271   TRACY            BELL                     KY     90010942000
2563395A854121   BEATRIZ          PEREZ CONTRERAS          OR     90012439508
2563441145B571   LETICIA          MADRID                   NM     35000094114
25634A89731631   DAVID            FLEMING                  KS     90009660897
2563515AA57157   IBETH            URREA                    VA     90014481500
2563558255715B   ALEJANDRO        NGEL                     VA     90013165825
256361A5A57157   ALANA            PROCTOR                  VA     90015291050
25636273A5B271   LEONDE           ROBINSON                 KY     68007532730
2563629994B588   PAULINE          ANDERSON                 OK     90014282999
2563632184B261   NAKIA            SHARPE                   NE     90001693218
25636484A7B362   NARGIS           DANISHMANDI              VA     81017654840
2563716662B27B   AMBER            BORROGHS                 DC     90014971666
2563757764B261   PARKER           BROWN                    NE     90013885776
2563758315B271   ANDREW           HYLE                     KY     68042595831
25637585172B42   EUGENIO          TORRES                   CO     90014485851
25637643A61999   KARLA            AGUILLA                  CA     46089516430
2563764A771928   RONALD           KRUSE                    CO     90000656407
25637A29A72B32   CLAUDIA          LOZA                     CO     33084940290
25638179A5B271   CASSANDRA        WETHERBY                 KY     90010281790
25638597A71928   DESIREE          GARDNER                  CO     90012985970
2563927324B281   MICHELLE         SHAKESPEARE              NE     90013712732
25639295A91522   BLANCA           VALDIVIEZO               TX     75086832950
2563966174B261   AMOU             FARIAL                   NE     90010936617
2563B18894B261   RUSSELL          SPAWN                    NE     27003701889
2563B194342562   LESLEY           SALUSKIN                 WA     90015361943
2563B267591522   ERNESTO          SIMENTAL                 TX     90009702675
2563B27522B27B   ANIBAR           MARTINEZ                 DC     90012882752
2563B298693731   DENISE           GREGORY                  OH     90014702986
2563B782381637   RONELL           VINCELL                  KS     90010607823
2563B7A767B471   RAYMOND          BENNETT                  NC     90008927076
2563B885A72B32   DESEAN           MBROWN                   CO     90013008850
2563BA8574B281   TIANA            CROWDER                  NE     90013540857
25641225A2B27B   TYREEK           LAMBRIGHT                DC     90013922250
256415AA891528   JORGE            MUNOZ                    NM     75094725008
2564181A99155B   RENE ALEJANDRO   VALDEZ                   TX     90012808109
2564198712B839   JOSE RENE        RAYON                    ID     90003579871
25641AA6991828   MARISOL          RAMIREZ                  OK     90012430069
2564225987B477   MICHAEL          TURNER                   NC     90013052598
2564279A871928   ANDRE            DYER                     CO     90013167908
2564284139136B   RAYMOND          GOSLING                  KS     90013968413
256429AA45B271   TONI             MITCHELL                 KY     68055189004
2564344349136B   HORACIO          MARTINEZ                 KS     90014814434
25643973A57157   LATRICE          JONES                    VA     90014509730
2564523A79189B   DEREK            HARBIN                   OK     90011642307
25645785472B88   MARIBEL          PRADO                    CO     90015127854
25645A8447B477   LINDA            GWING                    NC     90008110844
2564644537B471   ARACELI          GARCIA LOPEZ             NC     11067564453
2564655535B571   CHRISTOPHE       DEMPSEY                  NM     35019985553
25646A45281633   ANNA             RODIGUEZ                 MO     29036320452
2564715492B839   EDUARDO          DUENAS                   ID     42042081549
2564746694B588   TOMMY            WOODS                    OK     90010564669
2564796A59155B   TRAVIS           BRITTAIN                 TX     90011139605
2564914A941245   LEBRUN           ANTHONY                  PA     51006571409
256493A119184B   SCOTT            LESTARGE                 OK     21094303011
2564981469155B   ANGELICA         MARTINEZ                 TX     90012668146
256499A1751328   ANTHONY          BEHERY                   OH     90010369017
2564B399672B88   MARIA            YESENIA                  CO     90013953996
2564B646381637   GLENN            EVERHART                 MO     29022366463
2564B92725B571   DWAN             CHAVEZ                   NM     90006459272
2564B991141245   STEVE            ROUGH                    PA     51060309911
2565122579189B   KAREN            MATHEWS                  OK     90003702257
2565125667B477   AMY              TURNER                   NC     90013052566
256525A399184B   LUISA            SUAREZ                   OK     90009575039
256528A515B271   ANTHONY          JOHNSON                  KY     90010138051
25652A83581637   TERRENCE         SMTIH                    MO     29088740835
2565381A12B839   BRIAN            STAGGS                   ID     90009158101
2565429495715B   MELODY           COLLINS                  VA     81093592949
2565484139136B   RAYMOND          GOSLING                  KS     90013968413
2565511A591528   IVANNA           TORESS                   TX     75094731105
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2565529454795B   MARIA        PATINO                       AR     90002422945
2565548A672B32   JOSE         ROSALES                      CO     90007214806
2565551939155B   TORRES       KATHY                        TX     90009825193
2565562A193731   ELISA        WELBAUM                      OH     64515236201
25656243572B88   PATRICIA     CANNON                       CO     90001952435
2565637339155B   MARIO        PENA                         TX     90014203733
2565684139136B   RAYMOND      GOSLING                      KS     90013968413
2565691974B281   DESHAWN      TOLBERT                      NE     90015129197
2565726999184B   KRISTY       WHITELEY                     OK     21065962699
25657466572B21   EUNICE       WALKER                       CO     33014274665
2565759A991828   ANA          TREJO                        OK     90008515909
2565769A62B839   JUANITA      ARGUELLO                     ID     90011316906
256585AA39794B   DEE          ROBERTS                      TX     74007945003
256588A149136B   RONY         CASTILLO                     KS     90000148014
2565932789136B   ANDREW       BOYKIN                       MO     29077323278
2565947244B588   MICHAEL      LYON                         OK     90010564724
2565974182B839   DAWN         BEVAN                        ID     90008367418
2565B19794B541   KARL         KALKBRENNER                  OK     21567841979
2565B566655931   VICKY        BECERRA                      CA     90009385666
2565B821755957   ONELIA       FERNANDEZ                    CA     90012678217
2565BA3345715B   DAVID        FIGUEIREDO                   VA     90001630334
25661A2964B281   KYLE T       LOWERY                       NE     90011180296
2566273A15B571   AMBER        SPIERS                       NM     90002037301
2566349779794B   JOSE         SILLNAS                      TX     74001704977
256634A1151328   ANDREA       RITCHIE                      OH     90013124011
256636A2672B42   JASON        FIMPLE                       CO     90009726026
2566372819184B   STEVEN       YARNELL                      OK     90010717281
25663A9A32B27B   LAJOYE       LOFLAND                      DC     81047680903
2566436899136B   CARISSA      DIAZ                         KS     90008743689
2566471A14B588   DONNA        LAIR                         OK     90013767101
2566479317B399   KASHIF       KHALIL                       VA     90005297931
25664A47881633   DWAIEN       ROBINSON                     MO     90013990478
25664A52693731   JONI         MOORE                        OH     90008830526
256653A155B271   CLIFFTON     HARDIN                       KY     68008263015
256653A7581661   JOSE         NAZARIO                      MO     90015163075
25665536A81637   ANN          BOSS                         MO     90012135360
2566644785715B   KENNY        ANDRADE                      VA     90011654478
2566654812B839   CRISTINA     AGUAYO                       ID     90008955481
2566692347B471   TADRYN       MAIPI                        NC     90014599234
25667121272B32   MARIO        ORONA                        CO     90013221212
25667272A72B42   JIM          WALKER                       CO     90001242720
2566764575715B   DM           MENDOZA                      VA     90012656457
2566837A772B42   DAVID        CARROLL                      CO     33097433707
2566964A49136B   ESTRELLA     GONZALEZ                     KS     90014876404
2566B47A781633   JEANNIE      HUGHES                       KS     90015094707
2567111634B553   JENNIFER     MIX                          OK     90011331163
25671458A9189B   MISTY        HASKETT                      OK     90013934580
2567156584B281   NATHAN       GUNTER                       NE     27055085658
2567172647B471   BRAULIO      ALBAREZ                      NC     11077687264
2567176955B571   DEISY        MARTINEZ                     NM     90013067695
25672121272B32   MARIO        ORONA                        CO     90013221212
2567241312B839   RAFAEL       MAGANA-LUA                   ID     90011844131
2567263647B471   JOSE         ROMERO                       NC     90011266364
25672674772B88   GLORIA       HERNANDEZ                    CO     90008826747
256727A874B588   CHAD         ALBEE                        OK     90001917087
25672A96A9794B   LESLIE       CHAVEZ                       TX     90014610960
2567319139184B   AMANDA       EDWARDS                      OK     21094191913
2567328839794B   MARY         ARELLANO                     TX     90001692883
2567357665B271   JAMES        NELSON                       KY     90014045766
25673685A57157   TIMOTHY      WALTON                       VA     90013226850
2567382934B261   JUAN         GARCIA                       NE     90008158293
2567387464B588   STEVEN       HAYS                         OK     90014038746
25673A4579155B   OLIVAREZ     MARIA ANA                    TX     75031130457
256741A4A9794B   JORGE        GOMEZ                        TX     90014611040
2567428755B161   JONATHAN     ASSADI                       AR     90010982875
2567448597B471   PARIS        MCLEAN                       NC     11058464859
2567481A172447   LAUREN       RACIOPPO                     PA     51014548101
2567515557B471   STEVEN       CHISHOLM                     NC     11003001555
25675198572B88   ASHLEE       GARCIA-PEREZ                 CO     33067191985
2567534A772B42   LILIANA      ALDRETE                      CO     90011253407
256754A322B839   TROY         STEPHENS                     ID     42058184032
2567566462B27B   OIHKLHL      FGJHFKUYK                    DC     90009986646
256756A4A4795B   JAMMIE       FISHER                       AR     90012586040
2567594174B261   ESVEIDY      MALDONADO                    NE     27074839417
25675A62691828   ROBERT       CRUCE                        OK     90014390626
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2567616552B839   FELICIA      COHEN                        ID     90011471655
256772A429155B   VONDERRICK   HARTELY                      TX     90015282042
25677323997B41   SHAWN        BERGERON                     CO     39044823239
2567795977B471   AMIKAR       ESCALANTE                    NC     90012989597
25677A8A22B27B   CORNELIA     BECK                         DC     90007780802
2567816774B588   ADRIANA      HERNANDEZ                    OK     90015001677
25678672A71928   ROBERTA      BAILOR                       CO     90014486720
2567888575B328   DEWITT       RHODES                       OR     44553998857
25678A86251328   JAMES        FINLEY                       OH     90000320862
2567939279794B   CYNTHIA      SANCHEZ                      TX     90014643927
256795A279189B   CHANDRA      HARRISON                     OK     90014705027
256796A1672B32   EROKA        THURMAN                      CO     90003096016
2567974429155B   ELENA        TOVAR                        TX     75069837442
25679A6715B161   ATHENA       MAHANEY                      AR     90013540671
2567B24245B271   KEITH        JACKSON                      KY     90006722424
2567B44A32B839   JOEL         VELEZ                        ID     42065064403
2567B465471928   TARYN        CARTER                       CO     90013374654
2567B487471943   DANIEL       CARTAJENA                    CO     90011054874
2567B514691828   DAVID        SMITH                        OK     90003655146
2567B542455957   DIANNE       ESCALERA                     CA     90000115424
2567B67369794B   ANA          TZUNUN                       TX     74018056736
2567B96582B27B   SARA         GONZALEZ                     VA     90011519658
2568129874B281   GILBERTO     OSCOBAR                      NE     90014822987
25681683A5B33B   KENNETH      LIEBL                        OR     90011626830
25682255972B32   VICTORIA     CABALLERO                    CO     90012952559
25682477A72447   KEITH        WHITNER                      PA     90010324770
25683223A81661   MOISES       FRAIRE                       MO     90014162230
2568332569136B   ABRAHAM      RODRIGEZ                     KS     29085633256
25684141A71928   RICK         BAKER                        CO     32086681410
256845A669794B   PAUL         PRADO                        TX     90014615066
2568466145B271   ARLETTIA     ADKINS                       KY     90002986614
2568486419155B   JESUS        PALACIOS                     TX     90014578641
2568494239189B   TERRY        MARTIN                       OK     90012519423
25684998A9136B   JEFFREY      CARLSON                      KS     90013969980
25685A43A72447   KIMBERLY     ZAMENICK                     PA     51019440430
25686298A2B27B   ASLEY        SPENCER                      DC     90012122980
25686A66172B32   TERRY        CRUICKSHANK                  CO     33089150661
2568874A34795B   ROBERTO      GONZALEZ                     AR     90004627403
2568887259136B   MELISSA      JONES                        KS     90015088725
25689858A71943   JOSHUA       GADWAY                       CO     90012578580
25689AA552B839   CORY         WEEKS                        ID     90009760055
2568B343971943   ALYSHA       CAUDLE                       CO     90014803439
2568B585655957   BRENDA       GUZMAN                       CA     90013635856
2568B58859136B   DANIEL       RIVERA                       KS     90006325885
2568B85A52B27B   TALISHA      JUDD                         DC     90009738505
2568BA11A5715B   GENESIS      CASTILLO                     VA     90013760110
2568BA9642B839   TAUD         WIGHT                        ID     90009660964
2569158415B161   SHAWNDA      WASHINGTON                   AR     23061585841
2569186419155B   JESUS        PALACIOS                     TX     90014578641
25691896672B88   ELIAS        JAQUEZ                       CO     33000958966
25693912472B42   DANIELLE     MONTOYA                      CO     33072879124
2569448837B471   CESAR        ZALAZAR                      NC     90011854883
2569467854B261   JULIO        ROSAS                        NE     90013556785
2569471819184B   EDSON        OCAMPO                       OK     90011487181
2569485A491522   VICTORIA     SAENZ                        TX     90013198504
2569519784B261   DIANA        KELLER                       NE     27086091978
25695727272B32   DAMARA       HERNANDEZ                    CO     90013307272
25695814A9189B   VERONICA     AGUIRRE                      OK     21068838140
2569621784B588   SIMONE       HIPP                         OK     90013872178
256963A2972447   MICHAEL      BARNES                       PA     51037423029
2569686232B27B   LONEICE      BUNDY                        DC     90005548623
25697216A61982   JOANA        MONTANE                      CA     90011542160
2569765674B588   ANDREA       MCCULLAR                     OK     90010566567
256976A8893731   HANNAH       WILCHER                      OH     90013356088
2569781927B393   ROBERTY      CLAROS                       VA     81040868192
25697A44731631   JESENIA      SOSA                         KS     22060710447
2569816A685938   VIRGIL       PEMBEK                       KY     90005691606
256982A239794B   DENISE       MARTINEZ                     TX     90014632023
25699194A81633   DEONNA       CRENSHAW                     MO     29002331940
256992A959794B   KATHY        MCCOY                        TX     90014632095
2569931A651328   JOSE         JARAMILLO                    OH     90008553106
256993A625133B   MELISSA      PUTTEET                      OH     90011653062
256999A469184B   ROBERT       BENNETT                      OK     90015189046
2569B26347B471   ROMELIO      CANO                         NC     90008252634
2569B47375B571   NAOMI        BETANCOURT                   NM     90011564737
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2569B4A479794B   TERESA       SANTISO                      TX     90006864047
2569B587A57157   MARK         POIRIER                      VA     90012065870
2569B723581637   GAIL         CUBIE                        MO     90013127235
2569B952172B42   DANA         RAY                          CO     33031059521
256B113697B477   RAMIRO       MARTINEZ                     NC     90010001369
256B1145281661   ROSA         SOTO                         MO     90005191452
256B1335357157   TAMMY        EVANS                        VA     81014303353
256B144755B571   ARMENDARIZ   THOMAS                       NM     90008184475
256B1569393731   JESSE        SCHROTE                      OH     90013355693
256B157844B588   CHRISTINA    MCKINNEY                     OK     21560445784
256B1591831453   DONMINCK     LEWIS                        MO     90014235918
256B1723291522   ALFREDO      HIDALGO                      TX     90011027232
256B2481136121   SERGIO       CHRISTPHER                   TX     90008394811
256B266299794B   SALVADOR     CORREA                       TX     90014176629
256B2729791893   JULIANA      JENKINS                      OK     90010507297
256B327342B927   PATRICIA     SHAW                         CA     90015012734
256B332619136B   TERESA       RAMOS                        KS     29040333261
256B349219189B   ALEJANDRA    MATIAS                       OK     21085854921
256B354675715B   JOSE         RAMIREZ TRUJILLO             VA     90013095467
256B366585B936   DAVID        GESELLCHEN                   ID     90013866658
256B3A94341245   CHRISTINA    MCNEESE                      PA     51013570943
256B4272691241   CURTIS       SINGLETON                    GA     14515612726
256B429442B232   DEVIN        STOKES                       DC     90005352944
256B439279794B   CYNTHIA      SANCHEZ                      TX     90014643927
256B4542651328   DANA         TAULBEE                      OH     90011145426
256B4651A93731   JOANNE       COSPY                        OH     90013466510
256B493355715B   LORENA       CAMARILLO                    VA     90015149335
256B4A9399189B   SCHYLER      HART                         OK     90015310939
256B5348797132   KENDALL      BANKS                        OR     90007733487
256B5526891221   TAMESHIA     BRINSON                      GA     90003285268
256B558819155B   CECILIA      COMPOS                       TX     75089255881
256B56A524B281   DAVID        DURHAM                       NE     90005436052
256B5925951328   DEANNA       BROWN                        OH     66034849259
256B627612B27B   CHARISHIA    LANGLEY-PETERS               DC     81075352761
256B6377A57157   DOMINGO      RIVAS                        VA     81023893770
256B6783A71928   SARAH        CASDEN                       CO     90011307830
256B689354B588   SHERRI       SMITH DAVIDSON               OK     90013728935
256B692332B839   MELISSA      JOHNSTON                     ID     42083619233
256B724215B161   RODERICK     SMITH                        AR     23044432421
256B7521772447   DIANA        BLUMERAITIS                  PA     51044255217
256B755319136B   TOMAS        ROJAS                        KS     90013955531
256B756674B261   DELIA        HERNANDEZ                    NE     90008795667
256B762269184B   JAVIER       TORRES                       OK     90013806226
256B799629155B   VICTOR       ALVARADO                     TX     75053269962
256B863944B281   RENAE        KECK                         NE     90010156394
256B8812757157   MARIO        GITON                        VA     90013418127
256B9254257157   ORALIA       ROMERO                       VA     81052202542
256B9275793731   DAMON        LANE                         OH     64526502757
256B9525291828   NANCY        ANGEL                        OK     90013265252
256B9715481633   JAYME        SMITH                        MO     90004707154
256B9833831453   SHANNON      HAYES                        MO     90012718338
256BB12A59184B   DONTE        CHAFFIN                      OK     90014451205
256BB191593731   BRANDON      REED                         OH     90012091915
256BB438191828   TYLER        ARCHER                       OK     90011884381
2571121587B471   LEYBIN       ROMERO                       NC     90014752158
2571128199155B   ESMERALDA    LOPEZ-SANCHES                TX     90011992819
25711375372B88   ILYTHIA      REED                         CO     90008073753
2571137965715B   ANA          MENDOZA                      VA     90011383796
25711A8719184B   CHRISTINA    RICHMOND                     OK     21079630871
25711AA9451328   SCOTT        ROBINSON                     OH     66056110094
2571322695B271   TANCE        MILLER                       KY     90008412269
25713A4859136B   TOMAS        FIGUEROA                     MO     90005170485
2571418494B281   DAWN         SMITH                        IA     90000271849
257141A2971928   ROBERT       WILLMORE                     CO     32039301029
2571456A331631   OSWVALDO     VALVERDE                     KS     90014165603
25714744872B32   JAKE         MARQUEZ                      CO     90013497448
257154AA433B96   STEVEN       CLARK                        OH     90013984004
25715A2644B281   JEREMY       MADSEN                       IA     90015310264
2571673A131433   PABLO        NAVA                         MO     27506607301
25716816A72447   CARL         PRAGER                       PA     90005378160
2571699865B344   HOSVIT       ESCOBAR                      OR     44563189986
25716A1817B471   ALTAGRACIA   TEJEDA                       NC     90014830181
2571765299184B   CHRISTI      SMITH                        OK     90009796529
257177A637B471   JOEL         PINEDA                       NC     90009097063
257177A8671928   PAUL         ANDERSON                     CO     90013767086
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2571799519155B   DANIEL          RODRIGUEZ                 TX     90011139951
25718141A5B271   ASHLEY          SANDERS                   KY     90013541410
2571847599189B   ROBERT          ANDERSON                  OK     21020894759
2571865A857157   LISA            GEKALLA                   VA     90011216508
2571868487B449   CHRISTA         ASHFORD                   NC     90002666848
257187A8255957   CLAUDIA         FREDRICK                  CA     90012907082
257192A7872B32   CALVIN          BONNELL                   CO     90013042078
2571B37435B571   JESSE           MARTINEZ                  NM     35040123743
2572128534B588   BRANDON         FARRIES                   OK     90014552853
2572247A191828   JUAN            HERNANDEZ                 OK     21096184701
2572254334B588   DIANA           TELLO                     OK     90013925433
2572264324795B   JACOB           SKELTON                   AR     90012086432
25722A1245B571   JESSICA         CORONADO                  NM     90012240124
2572322869184B   EDUARDO         SALGERO                   OK     21077842286
2572349AA4B588   CARLOS          O ROURKE                  OK     90012444900
2572386199155B   PATRICIA        GARCIA-SANCHEZ            TX     90015298619
2572475275B271   CHARLES         HAIRE                     KY     68042767527
2572482814B281   JODI            TONKINSON                 IA     27025668281
25724994372B41   NERI            KIM                       CO     90010849943
257253A224B588   RUBEN           BERMUDEZ                  OK     90013753022
2572541259794B   LAVETTE         ARNOLD                    TX     90014644125
257254A217B477   BONNIE          WHITLEY                   NC     90011214021
2572556884B281   GREG            DARLING                   NE     27090695688
257264A217B477   BONNIE          WHITLEY                   NC     90011214021
25726A8199136B   ALBERTO         VASQUEZ                   MO     90015180819
2572719954B261   ANGELA          WILLIAMS                  NE     90013901995
2572726759155B   YVETTE          CARRASCO                  TX     75079012675
2572766719184B   JOSE            ARGOMANIZ                 OK     21075526671
257276A499189B   MONICA          ORTIZ                     OK     90013096049
2572773A15B571   AMBER           SPIERS                    NM     90002037301
2572835117B449   TEHERRAH        DAUGHTRY                  NC     90005203511
25728368872B88   MELODY          AGUIRRE                   CO     90011493688
2572845A372B42   LASHAY          ADAMS                     CO     90011304503
2572845A671943   FRANCES         INGRAM                    CO     90013164506
2572849812B839   TIMOTHY         PURYEAR                   ID     42029454981
257284A369189B   ASHLEY          GRESHAM                   OK     90005664036
2572854484B261   EVA             JUDITH                    NE     90013385448
2572877952B232   TAKIA           LAWSON                    DC     90005707795
2572957549155B   MARIA           CHAVEZ                    TX     90011545754
2572999A47B449   SAMUEL          SPEARS                    NC     11089369904
25729A96A9136B   T               CLARE                     KS     29045730960
2572B11157B477   CHRISTINA       JOHNSON                   NC     11004071115
2572B16A14B588   STEVEN          RICHEY                    OK     90015011601
2572B552141245   TAMMY           HOPKINS                   PA     51011555521
2572B95872B86B   ASHLEY          LAPPIN                    ID     90013409587
2572B971455957   JONATHAN        COSIL                     CA     90013039714
2572B983731433   SYLVESTER       HUFFMAN                   MO     27557619837
2573185629155B   MOISES          LANDEROS                  TX     90011328562
25731A14572B88   DAVE            LEHMAN                    CO     33085280145
2573262749155B   RENE            ALFARO                    TX     90008696274
2573264947B471   CASEY           WAGNER                    NC     90011266494
25732A48931453   SHAQITA         WILLIAMS                  MO     90004910489
25732AA9531433   AMOS            JACKSON                   MO     90006740095
257332A1457176   AMILCAR         ALVARADO                  VA     90009492014
257333A684B281   CHAYA           GEORGE                    NE     90009493068
2573385A581637   TIMOTHY         LEACH                     MO     90012408505
25734441572B53   MICHELLE        NOLL                      CO     90001564415
2573458795B161   NATE            BURROUGHS                 AR     90015565879
25734667A93752   CANDACE         BEVAN                     OH     90001716670
257347AA391241   AFRICA          PAYNE                     GA     90006117003
2573483459155B   EVELIN VARGAS   GAEZ                      TX     90004618345
2573494575B161   RAVEN           HAWKINS                   AR     90014809457
25734A37951328   DAVID           MASSEY                    OH     66096070379
2573528374B588   BRITTANY        WILLIAMS                  OK     90006682837
2573565779155B   ALICIA          CORONA                    TX     75062826577
25735AA5272B88   JUSTIN          VASHSAW                   CO     90013860052
2573612455B271   CRYSTAL         YATES                     KY     90013611245
2573658565B571   STAPHANIE       VILLEGAS                  NM     90009165856
25736941172B42   BALLAR          CHRISTOPHER               CO     33075369411
2573695135B161   TYWON           ROUSE                     AR     90007429513
2573724552B27B   KIMBERLY        HERNANDEZ                 DC     90003372455
2573789142B839   NURA            LA DUKA                   ID     90014328914
2573889512B839   KEVIN           MCCLOUD                   ID     90011208951
25738A5295B161   MICHELLE        BARNETTE                  AR     90011050529
2573921949136B   JOSE            PALAFOX                   KS     90009912194
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2573932685715B   MOHAMUD      ALI                          VA     81027633268
2573935555B271   KIM          MOORE                        KY     68011563555
257393A529184B   IRAIS        MARTINEZ                     OK     90013563052
2573967414B261   SUK          RAI                          NE     90014046741
25739779A31453   GERALDINE    JEFFREY                      MO     90009687790
2573B1A8172B42   MARLON       MONZON                       CO     33031541081
2573B47827B477   KIMBERLY     WATKINS                      NC     90011214782
2573B497257157   WILLIAM      WOOLFREY                     VA     81046464972
2573B587681661   MICKEL       SCOTT                        MO     90009345876
2573B93718B172   TYSON        BLANCO                       UT     31077779371
257413AA29189B   ASHLEY       CHERYL                       OK     90009303002
2574143AA9184B   ARCELIA      GARCIA                       OK     90010564300
2574155265B161   KALA         HARRIS                       AR     90010965526
257417A589155B   LIZBETH      RODRIGUEZ                    TX     90013397058
25741A5275B259   JASON        MURI                         KY     90015160527
2574324175715B   CATHERINE    JONES                        VA     90013882417
2574339799136B   MIRIAM       AGUILAR                      KS     90014023979
2574349742B839   THERESA      HIGLEY                       ID     90010994974
2574359294B588   JESSIKA      IVY                          OK     90011425929
25743795272B88   AMY          HOWARD                       CO     90008437952
2574397555B271   MARVIN       SAMUELS                      KY     90014989755
257441A379189B   JILLIAN      DUVAL                        OK     21038621037
2574487629155B   CINDY        CASTANEDA                    TX     90014578762
25744AA399155B   DEBRA        LOPEZ                        TX     90010710039
2574515377B471   MELISSA      SOLORZANO                    NC     90015101537
2574628219155B   ADRIAN       RIVAS                        TX     90011992821
257463AAA71928   LEANN        DERK                         CO     90006813000
25746436A2B27B   BOLANLE      OLUFISOYE                    DC     90014284360
25746554A5B571   REBECCA      CHAVEZ                       NM     90014605540
257466A944795B   SAUNDRA      TAYLOR                       AR     25035816094
2574693447B471   GINNY        SAEFONG                      NC     90014369344
25746A74172B32   MAGDALENA    LARA                         CO     33088430741
25746A78151328   KYLE         BISHOP                       OH     90012850781
25746A95181633   CRISTINA     VALADEZ                      MO     90014690951
2574723A89794B   JOSE         OLALDE                       TX     90015182308
2574793339189B   JENNIFER     MANGUM                       OK     21038379333
25748292A71943   GATOR        BODYNE                       CO     90015152920
257484A2655957   CHARLES      STOUT                        CA     48096024026
257484A8472447   BRENDA       VARELA-SANTIESTEBAN          PA     90012824084
25748615A4B261   JERMEY       THOMAS                       IA     90014956150
2574864459136B   CRISTIAN     DIAZ                         KS     90014046445
25748866372B32   DOMINICK     GALLEGOS                     CO     90014698663
25748A3695B571   WAYNE        CHAVEZ                       NM     35093950369
25748A68481633   SUMMER       DIXON                        MO     90005330684
257494A5271928   MELISSA      ABBPTT                       CO     90012904052
25749795A9189B   LAREAMER     LOFTIN                       OK     90012187950
2574B293772B42   GUADALUPE    MUNOZ                        CO     33002322937
2574B66649794B   MICHEAL      HOWELL                       TX     90004766664
2574B796A91553   CECILIA      CASTILLO                     TX     90000667960
2574B923191522   NAYELI       ARGUELLO                     TX     75025039231
257512A7A5B271   ASHLEE       CORNELL                      KY     90013032070
257513A124B549   JHOBANY      CRUZ                         OK     90010013012
2575144A19136B   ALFREDO      AVITIA                       MO     90015004401
25751A42231631   CHRIS        HYMER                        KS     90007880422
2575296575B161   FLORENCE     GILLIAM                      AR     90013919657
2575297665B57B   CARMEN       DURAN                        NM     90004689766
25752A6514B281   ANTHONY      MATLEY                       NE     27038630651
25753A68872447   BLAIR        JONES                        PA     90003820688
2575576689794B   SHANE        BUSSART                      TX     90014667668
2575596439136B   ROSALBA      MENDOZA                      KS     90013819643
257567A9781637   JAMEAL       SCARVERS                     KS     90014107097
2575782986194B   JUAN         YESCAS                       CA     90013888298
25757984772B32   RYAN         WRIGHT                       CO     90010089847
25757A8767B477   JAMES        BROWN                        NC     11093210876
257582A9971943   STEPHANIE    GONZALES                     CO     90012912099
2575837554B281   TALAT        SHABBIR                      NE     90009633755
257588A4791828   JIMMY        HAMMONS                      OK     21097068047
25758A95255957   ROBERTO      CISNEROS-GARCIA              CA     48097970952
25759172872B32   NANCY        GALVEZ                       CO     90004211728
25759252972B88   BRITTNI      HAMM                         CO     33005612529
2575935375B271   TIARA        DAVIS                        KY     90013933537
2575942449189B   PATRICIA     WHITE                        OK     21009184244
2575988289184B   MISSY        JONES                        OK     90004268828
2575B84829184B   GREYVIS      AGUILAR                      OK     90014848482
2575BA95172B42   TEAGUE       HARRISON                     CO     90013080951
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2576187A171928   JOSEPH       MILLER                       CO     32027388701
2576198269794B   JASMINE      BEST                         TX     90014669826
257619A342B839   SHI          KADERLY                      ID     90013209034
2576252745715B   SANTOS       ERAZO                        VA     81034275274
2576326A355957   MARIBEL      ALCANTAR                     CA     90000702603
2576336989155B   CARLTON      BOYD                         TX     75079013698
2576361414B261   OLUYINKA     JAKEREDOLU                   NE     90004926141
2576367384B588   JACOB        HARRELL                      OK     90014876738
2576377929136B   MICHELLE     RHODES                       KS     90008747792
2576398269794B   JASMINE      BEST                         TX     90014669826
25763A1A72B839   MELLISA      COSTILLA                     ID     90003330107
2576556525B161   WILLE        SWINTON                      AR     23081515652
25765A5732B27B   QUANITA      SINGLETARY                   DC     90010250573
2576656385715B   JUAN         LEMUS                        VA     81043455638
2576656817B477   SUSAN        SIMPSON                      NC     90011225681
2576677525715B   MICHAEL      ADAMS                        VA     90012697752
25766888172B88   ANGELA       MURILLO                      CO     33039838881
25766A57151328   JOHN         FAULKNER                     OH     90002660571
25767197A7B471   MI           RAHLAN                       NC     90013921970
2576774419189B   ALECIA       MCCOY                        OK     90014277441
257677A4431631   DARIN        DUNCAN                       KS     22057697044
25767A1294B281   KIMBERLY     FREEMAN                      NE     27013340129
2576856169136B   JANNETH      ASTORGA                      KS     90012665616
2576878452B839   MICHELLE     MITCHELL                     ID     90013167845
2576934789155B   CHARLY       CHARLY                       TX     90009263478
2576959845B161   TRACY        HEARD                        AR     90014915984
25769642372B42   TONYA        RENEE                        CO     90002866423
2576973587B471   JATANGELA    MASON                        NC     90007747358
2576993A172447   RAYMOND      CLEMONS JR                   PA     90013319301
2576B3A4472447   TAMMY        GOODWIN                      PA     51085153044
2576B46459155B   SALVADOR     MARTINEZ                     NM     75057444645
2576B471451561   DOMINIQUE    BLACKSTOCK                   IA     90015344714
2576B491881661   NATHAN       DONNELSON                    MO     90010284918
2576B627781633   CHRIS        MENTZER                      MO     90013936277
2576B656672B88   LAURA        FOX                          CO     33079186566
2576B753251328   JEREMY       DAYTON                       OH     90011147532
2577134515B172   KOREY        PORTEE                       AR     90015403451
257715A2533677   CARLTON      GRAVES                       NC     12094475025
2577185A491522   VICTORIA     SAENZ                        TX     90013198504
25772123A9189B   AARON        BRYANT                       OK     90014091230
25772153872B32   ZENA         BARRERA                      CO     90013621538
2577259735B571   JACQUELINE   MARCOTT                      NM     90014605973
2577274A581633   MELANIE      CARTER                       MO     90014837405
25772A4485715B   LAKNDAR      GABBABI                      VA     90011240448
2577333A971928   ROBERT       SCOT                         CO     90012673309
2577565939794B   RAVEN        LAWRENCE                     TX     90014676593
2577577827B471   ROBERT       DEPUTY                       NC     11005287782
25775AA5581661   FERNANDO     AGAMA                        MO     90001060055
2577619637B471   NAKEVIA      HARVELL                      NC     90014841963
25776262A57157   JACQUELINE   ROXANA SORTO RIVERA          VA     90006692620
25776619972B88   ALMA         GUTIERREZ                    CO     33062636199
2577688485B271   ELISHEBA     SARVER                       KY     68008228848
2577696622B839   TROY         BUTTS                        ID     42087309662
257769A1185946   ASHLEY       WEISBRODT                    KY     90013459011
2577728624B261   LQUAITA      RUSSELL                      NE     90011092862
2577796884B281   KATHLEEN     GOULD                        NE     27076989688
25777A4435B271   DANA         NORBURY                      KY     68098790443
2577823364B281   ADAM         GALLAGHER                    IA     90010562336
2577836864B261   JESSICA      HANSON                       NE     27082943686
2577914728B595   ANA          ALVAREZ                      CA     90009461472
2577922845B571   JEREMY       CARRILLO                     NM     35051442284
25779372572B32   LORETTA      BENAVIDEZ                    CO     90013193725
2577939319794B   ARMANDO      GOMEZ                        TX     90009683931
257793A919155B   JASMON       WILHITE                      TX     90010313091
2577957769136B   MARIBEL      HERNANDEZ                    KS     90014025776
25779A1659189B   SPARKLE      HOLLOWAY                     OK     21011590165
2577B276881633   CHRISTOPHE   HOLTZCLAW                    MO     29094622768
2577B27A276B62   MATTHEW      DEAN                         CA     90008432702
2577B62784B281   MARK         WARSOCKI                     NE     27046316278
2577BA6677B477   KESHIN       DAWKINS                      NC     90006700667
2578124294B588   DENNIS       ROBINSON                     OK     90014662429
2578128632B27B   SHIFFEN      BROWN                        DC     90006162863
257813AAA91522   JUAN         SILVA                        TX     90015033000
2578168497B471   ALI          A ALNAHASH                   NC     90012636849
25781974572B32   PACZOSA      MELISSA                      CO     33024929745
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25782391A71943   BEATRICE     NUNEZ                        CO     90001943910
2578257769136B   MARIBEL      HERNANDEZ                    KS     90014025776
2578264252B839   JASON        SMITH                        ID     90013016425
257833A2172B32   DEBRA        COHEN                        CO     90014803021
2578459827B435   JOLETTA      ROBINSON                     NC     90011865982
25784882A31631   BRIAN        COLLINS                      KS     90009418820
2578495374B297   ELVIN        HOLLOWAY                     NE     90004099537
2578561235B571   RUBEN        BACA                         NM     90014606123
2578596AA55957   JUANITA      VALADEZ                      CA     90009409600
25785A26772B32   VALENTINE    JOSEPH VIGIL                 CO     90009070267
257862A7372B32   JOSHUA       MCCULLEY                     CO     90013122073
2578642359155B   LUIS         VILLA                        TX     90013934235
2578717882B27B   LAWRENCE     WOOD                         DC     90008861788
2578844929794B   RONY         ESTEBAN                      TX     90014684492
257884A8693731   MARIA        BOLANOS                      OH     64570744086
2578859727B449   RODRIGO      MORAN                        NC     11043785972
2578896289155B   ADAN         MONTANEZ                     TX     90014409628
25789A56431453   JEANETTE     EDWARDS                      MO     90013910564
2578B12995715B   ARELI        HERNANDEZ                    VA     81041641299
2578B449872B32   JOSHUA       SEARS                        CO     90014464498
2578B46512B839   TYLER        QUINN                        ID     42089014651
2579168535B571   OMAR         TALAMANTES                   NM     90008556853
25791768672B42   SAM          LOVATO                       CO     33041127686
2579178A171943   LYNNEL       DEMONTINEY                   CO     90014397801
25791854472B32   JOSHUA       MARTINEZ                     CO     90012858544
257923A4991522   KRISTOPHER   GERMANY                      TX     90010293049
2579293982B27B   CESAR        ARIAS                        DC     90010469398
25792A6A74B281   MICHAEL      NAGEL                        NE     90005880607
2579321772B28B   JENNIFER     LOUIS                        DC     90014152177
2579359179189B   MICKEY       FRENCH                       OK     90014465917
25793A3965B271   ANATASHA     LANE                         KY     90013240396
25794149A2B839   BEN          GLASGOW                      ID     90015151490
2579421772B28B   JENNIFER     LOUIS                        DC     90014152177
2579445685715B   ASHLEY       BRANCH                       VA     90002654568
25794574A72B88   JEROLD       LALO-HERNANDEZ               CO     90007215740
257957A279155B   KARINA       MACIAS                       TX     90010347027
2579586592B839   TRACY        EGAN                         ID     42049298659
2579666975B571   HARRY D      SMITH                        NM     90004756697
2579762419136B   MARLON       JONES                        KS     90008526241
2579799159794B   ELIJAH       NELSON                       TX     90010439915
25797A3592B839   MICHAEL      CHRISTENSEN                  ID     90013940359
2579828292B839   LAWRI        JACKSON                      ID     42037912829
2579912392B232   JAMES        NICKENS                      DC     90009141239
2579998532B839   DANA         SPRATT                       ID     90009359853
2579B146931453   SHERRI       RANDALL                      MO     27567711469
2579B19814B588   TAYONTE      BAGEY                        OK     90005481981
2579B1A1181637   IVERY        MOORE                        MO     90013561011
2579B479581633   LANA         TAYLOR                       MO     90009954795
2579BA8574B261   HTUN         WIN MAUNG                    NE     90015160857
257B1151593731   LATAYA       BENNET                       OH     90014941515
257B1321171943   BRANDY       LINO                         CO     90013883211
257B1364191522   MARISELA     HERNANDEZ                    TX     90008053641
257B16A1651328   SAMUEL       LAY                          OH     90003046016
257B1A2539136B   JOSE         VEGA                         KS     90006280253
257B21A994B588   MYQUAWN      MITCHELL                     OK     90011621099
257B2526161959   HAROLD       NICELER                      CA     90004615261
257B2529831433   JANE         DELLING                      MO     27536395298
257B257114B281   BETTY        GRIFFIN                      IA     90013765711
257B262819152B   DAVID        GUZMAN                       TX     90002406281
257B341844B281   RICHELLE     FOSTER                       NE     27045464184
257B3578372B32   MARIA        VERA-MEDINA                  CO     33029215783
257B3778736121   JOHNNY       MARTINEZ                     TX     90002177787
257B4196991828   SCOTTI       QUIROZ                       OK     90008511969
257B461454795B   LAZARO       LOPEZ                        AR     25014456145
257B465595B271   JAMES        SANDERS                      KY     90003356559
257B5289A55957   CAMILE       CHASE                        CA     90013252890
257B544344B261   VERONICA     STUART                       NE     27050784434
257B631914B281   DANETTE      FARMER                       IA     27016133191
257B6531471943   BRANDI       RUHE                         CO     32045595314
257B6977161935   MARTHA       AVILA                        CA     90012449771
257B7173771928   KIM          WICHERT                      CO     90012681737
257B736317B471   LISENBY      RANDALL                      NC     90013983631
257B771298B15B   FRANKLIN     RUIZ                         UT     90005407129
257B7A14771928   JEFF         MUNOZ                        CO     90013740147
257B8554781633   PATSY        CHOWNING                     MO     90001845547
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257B872189155B   LINDA EVA    SALAZAR                      TX     90005487218
257B8954731453   HANNAH       RUBIN                        MO     90013959547
257B8A67A72B42   TRACY        ZILLION                      CO     33034410670
257B959799155B   ANDRE        WASHINGTON                   TX     75056985979
257B9A15A91885   JOSEPH       RAMSEY                       OK     90009090150
257BB19229794B   JENNIFER     CRUZ                         TX     90014631922
257BB233793731   MAURA        NIXON                        OH     64540652337
257BB4A9481661   APRIL        HEWITT                       MO     90014244094
257BB557271928   MONICA       RASCON                       CO     90014225572
257BB99AA9155B   JAIME        HOLGUIN                      TX     90011139900
257BBA66172B88   GERARDO      BANUELOS                     CO     90013030661
257BBA9132B839   KATIE        WRIGHT                       ID     90006200913
2581122955B235   TISA         CUNNINGHAM                   KY     90002902295
2581143A371943   ANDREA       CORTEZ                       CO     32000654303
2581146A37B399   WILMER       MEJIA                        VA     90003614603
25811483A4795B   MARTIN       KEITH                        AR     25045074830
2581167779136B   CAMERON      CRISP                        KS     90014746777
25811A9A581637   CHRIS        NARAMORE                     MO     90013490905
2581252132B981   MIGUEL       CIBRIAN                      CA     90012615213
25812793972B88   MICHAEL      DORVAL                       CO     90011577939
25812853A5B571   DEEANNA      CHAVEZ                       NM     35061638530
258128A542B27B   ANDREW       SEEGERS                      DC     90013448054
2581295999189B   REBECC       EIDSON                       OK     90009859599
25812A11771943   OSCAR        RODRIGUEZ                    CO     90001140117
25812AA9971943   DIANA        ROMERO                       CO     32020730099
2581333234B588   NICOLE       CONALLY                      OK     90003653323
2581366954B588   MICHAEL      WELCH                        OK     90013046695
25813818A2B839   JOANN        HAGADORN                     ID     42078478180
25814115572B32   DE JESUS     IGNACIO                      CO     90012791155
258144A6A93731   NOEL         CORTES                       OH     90012264060
2581474445715B   CARLOS       TORRES                       VA     90001877444
25814A7515B571   LANAY        GALLEGOS                     NM     35047620751
25815425A5715B   BYRON        VELIZ                        VA     81076384250
25815483A4795B   MARTIN       KEITH                        AR     25045074830
258154A229184B   ELIZABETH    MERCADO                      OK     90005144022
2581566883B384   ISABEL       CHACON                       CO     90008076688
258163A5672B88   CLAUDIA      ORTEGA                       CO     90012763056
2581641987B471   VIRIDIANA    SALDANA                      NC     90013544198
2581782464B261   HEATHER      BUDKA                        IA     27050298246
2581792725B571   DWAN         CHAVEZ                       NM     90006459272
2581858452B27B   CATALINO     ASCENSIO                     DC     90009835845
2581871855B271   DAWN         DUVALL                       KY     68046187185
25818756A4B588   ADRIAN       GONZALEZ                     OK     21509497560
25818887A85951   JEFF         ALSIP                        KY     66042228870
25818898A4B281   NICHOLAS     EPP                          NE     27039358980
2581917472B839   ABLE         GARZA                        ID     90010131747
2581954152B839   KIRSTINA     TAYLOR                       ID     90008765415
2581983634B588   SHARON       DAVIS                        OK     90008018363
2581991A651328   ONISSA       MCCARLEY                     OH     90013079106
25819A4152B27B   SHADAWN      WATTS                        DC     90014160415
25819A56A72B88   ARTHUR       HENDERSON                    CO     90005440560
2581B21A772447   KYLIE        MOUCHERON                    PA     90011012107
2581B631755957   SOPHIE       GOMEZ                        CA     90003766317
2581B83737B449   NEVILLE      TAYLOR                       NC     90003028373
2581B92A585999   KRISTINA     REINERT                      KY     90014799205
2581B94589184B   TEQUILA      FRANKLIN                     OK     90014759458
2582151895715B   CESAR        MONTANO                      VA     81020295189
2582165685B342   JOHN         MATTI                        OR     90009366568
25821954A9184B   PERLA        ROJO                         OK     90010569540
2582232474B588   MANUELITO    VALLEY                       OK     90010573247
25822A26161935   EFFRAIN      BENAVIDEZ                    CA     90009040261
2582317332B27B   MARK         WHITE                        DC     90010341733
25823327372B32   NANCY        FOUST                        CO     90006513273
25823A2465B571   HELENA       BACA                         NM     35052960246
2582411365B571   VANESSA      MONTOYA                      NM     90007251136
2582411825B271   EDWARD       SAND                         KY     90012211182
2582468113362B   JAMES        HOLMES                       NC     90010666811
258247A489184B   SUSIE        AL-TALL                      OK     90011457048
2582489142B27B   TINA         JOHNSON                      DC     90005698914
2582558144B588   KARA         SCHOECH                      OK     90013065814
2582619439184B   MARIAH       PHILLIPS                     OK     90015061943
258261A3A93731   LATASHA      KNIGHT                       OH     90004241030
25827216A7B471   JESUS        RUIZ                         NC     90014752160
2582738169794B   JAIME        MOSLEY                       TX     90014743816
258275A7671943   JOSHUA       CANTRELL                     CO     90013335076
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25828A5A12B839   MARIA        GONZALES                     ID     90013940501
2582973235B571   ARIANNA      GOULD                        NM     90003467323
25829832672B32   MICHELLE     COLLEEN                      CO     90012648326
25829A8847B471   WILFRED      CLEMENTE                     NC     90011770884
25829AA379155B   ALFREDO      SOTELO                       TX     90011140037
2582B16264B261   JOSE         RAMOS                        NE     27015941626
2582B197171935   ROBERT       SANFORD                      CO     32092091971
2582B847955957   REBECCA      HAMILTON                     CA     48049798479
2582B855A9155B   DANIEL       ALCALA                       TX     90013298550
2582B8A5A91828   TARA         MCDONALD                     OK     21040588050
25831377672B42   FRANCISCA    MONTANEZ                     CO     33021603776
2583141479184B   LEE          SCOTT                        OK     21027884147
25831A5A791828   BEVERLY      BREWER                       OK     90013700507
2583214634B261   REBECA       BECERRIL-MARTINEZ            NE     90013521463
25832226172B88   JESUS        CHAVEZ                       CO     33044932261
25832351472B32   ANTHONY      OBERT                        CO     90011373514
2583241357B858   BRAIN        DAVIS                        IL     20551814135
25833739A5B271   VERNON       ARMSTRONG                    KY     90014817390
2583416889189B   JAMES        MILLER                       OK     90011651688
25834276A81633   ERNESTO      VALAZQUEZ                    MO     90012722760
2583455A69189B   KAYSHA       BYRLEY                       OK     90014705506
2583456599794B   HELEN        DAVISS                       TX     90014745659
2583491119184B   NIKKI        WOOTEN                       OK     21064829111
25834961772B88   LONNY        MONTOYA                      CO     90014399617
258352A3481633   RHONDA       VANN                         MO     90008912034
2583548179794B   ERIC         GARCIA                       TX     90007364817
2583549764B281   KANTRELL     HARRIGTON                    NE     90013774976
258355A164B588   LEVI         PORTEN                       OK     90012445016
25835A1979184B   JEFFER       CUTIC                        OK     90010570197
25836577A4B281   RALPH P      AVOLIO                       NE     27071025770
25836664472B88   AMY          MARCOTTE                     CO     90014686644
2583668159794B   MARLINE      RODRIGUEZ                    TX     90014096815
2583733275715B   BLANCA       VILLANUEVA                   VA     90002323327
25837A1A472B32   NORMA        DELINT                       CO     90007960104
2583849129794B   ALICIA       MARTINEZ                     TX     90007344912
25838531772B32   ALICIA       LONGSINE                     CO     90007895317
258385A2857157   ROBERT       ROTCHFORD                    VA     90010845028
25838A77472447   CHARLES      MASON                        PA     51046610774
2583936114B588   AMBER        HARKNESS                     OK     90002433611
258395A1661985   JERMIAH      VINCENT                      CA     90002555016
2583972915715B   ROCIO        LORES                        VA     90002077291
2583976399184B   JACQUELINE   PRINCE                       OK     90012867639
2583B27687B471   KAROL        RIVERA                       NC     90012752768
2583B422681637   HYUN SOOK    KIM                          MO     90013384226
2583BAA439155B   RENE         PALMA                        TX     90011140043
2584125A22B27B   GERALD       SIMPSON                      DC     90014102502
258415A2857157   ROBERT       ROTCHFORD                    VA     90010845028
258418A4A57157   SHARNITA     JUGGINS                      VA     90008118040
25841A45171928   REGINA       RING                         CO     90012850451
2584241179189B   KAREEM       BROWN                        OK     90011924117
2584245895B571   KENNETH      MESSLER                      NM     90014594589
25842631A91889   LISA         COLEMAN                      OK     90004226310
2584276AA51328   KAITLYN      CLASS                        OH     90008487600
258432A9772447   VINETTA      SEIGAL                       PA     90014042097
258432AA972B32   ALDO         BONILLA                      CO     90013232009
2584344A772B42   PATRICK      BYRNE                        CO     90010124407
2584367485B571   TOMEY        ANAYA                        NM     90014606748
2584444464B281   RANDY        ORDUNA                       NE     27013644446
2584521679794B   JULIA        MENDEZ                       TX     90001042167
2584544199155B   MARIA        CARDENAS                     TX     90012604419
25845462A71943   YOLANDA      TOMAS                        CO     90012344620
2584578852B839   STEPHEN      KING                         ID     90011637885
258461A332B27B   CYNTHIA      MCLEAN                       DC     90015201033
258462A588B15B   YARET        AVALOS                       UT     31088612058
2584633414B281   JOSE         CAMOPOS                      NE     27052023341
2584639279794B   CYNTHIA      SANCHEZ                      TX     90014643927
2584671A49155B   MICHELLE     RODRIGUEZ                    TX     90013057104
258469A465B271   TIERRA M     FOSTER                       KY     90008829046
2584742454B588   BRANDON      TIPTON                       OK     90010574245
2584759512B27B   JOSE         FLORES                       VA     81044035951
25847943A91522   GRACE        MARTINEZ                     TX     75025469430
2584839279794B   CYNTHIA      SANCHEZ                      TX     90014643927
2584844814B281   ANNA         SIEGEL                       IA     27052764481
2584848AA91522   GUILLERMO    PRIETO                       TX     90012424800
2584874A85B271   ORQUIDEA     DIAZ-RODRIGUEZ               KY     90009307408
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2584881267B422   ALFONSO         NARANJO GARCIA            NC     90012928126
2584896577B471   BRIONNA         RODDEY                    NC     90013799657
2584967692B839   ANTHONY         OHARE                     ID     90010226769
25849A8955B161   BRITTNEY        ISBY                      AR     90005150895
2584B3A412B27B   NICOLE          SHELTON                   DC     81014263041
2584B44784B588   AARON           SMITH                     OK     90005054478
2584B48957B457   RA QUIALL       LAND                      NC     90010804895
2584B529761934   LISA            THOMPSON                  CA     46005195297
2584B88597B477   ASHLEY          STROTHER                  NC     11001218859
2585156874B281   JAMES           LAWSON                    NE     90010605687
258521A8885951   JOSH            BOWMAN                    KY     66017501088
2585341A681633   SUSAN           SADDLER                   MO     90013554106
25853711372B88   BRIAN           SHAW                      CO     33064337113
2585396545B271   ANGEL           CLAY                      KY     68040439654
258539A7831453   MARVIN          TERRALL                   MO     27515389078
2585448954B261   SHAUNESSY       HENDERSON                 NE     90008174895
2585488385B271   VICTORIA        TAYLOR                    KY     90006088838
2585536A39794B   JOSE            VARGAS                    TX     90014763603
25855627272B42   MARIE           VELASQUEZ                 CO     90011546272
25855A33191522   CRYSTAL         CARRILLO                  TX     90002690331
25856667A97121   ESTELLA         HERNANDEZ                 OR     90014386670
25857412772B42   MEREDITH        ROZDILSKY                 CO     33041134127
2585743249794B   KALIE           KRUSE                     TX     90014764324
2585749634795B   BRANDY          FERNANDEZ                 AR     90006694963
2585777A35715B   MARIA           HERNANDEZ                 VA     90007397703
2585852474B588   REGINNE         MITCHELL                  OK     21509125247
2585864A92B839   OLIVIA          VAZQUEZ                   ID     90002326409
25858692A91828   ANDRES AUDIEL   ROCHA-CORTINAS            OK     90014846920
2585886119794B   FELIPE          HERNANDEZ                 TX     74059758611
25858A4474B281   JOSE            MORALES                   NE     27028870447
2585936A491828   MIRIAM          DUARTE                    OK     90008513604
258593A1931453   LEONIA          COATS                     MO     90006153019
2585962659794B   SHAAKIR         CRENSHAW                  TX     90014766265
2585977A351328   STEFAN          TALLEY                    OH     90010407703
2585B146491528   JANETH          CHAVIRA                   TX     90006751464
2585B17164B588   JOSEPH          SPARKS                    OK     90014841716
2585B23A941245   ANTONNE         TURNER                    PA     51066452309
2585B42955B172   KHADIJAH        AQUIL                     AR     23037014295
2586128A84B281   ANNETTE         CARROLL                   NE     90010942808
258624A695B271   HEATHER         WILCOX                    KY     90005234069
25862985972B32   REGINA          ARCHIBEQUE                CO     90013159859
2586318A255957   MARICELA        HERNANDEZ                 CA     48024131802
25863515572B42   THAIS           MICHAEL                   CO     90010375155
258635A3A81661   DELORES         ROLLINS                   MO     29051515030
2586437484B933   CORY            SHAW                      TX     90001053748
2586439939136B   TINA            HUBBARD                   KS     29085933993
25864A6A64B588   ISABEL          PERALES                   OK     90014830606
258652A139794B   ALMA            VENEGAS                   TX     74072942013
2586594359189B   JOHN            NENGSSOUA                 OK     90006029435
258662A139794B   ALMA            VENEGAS                   TX     74072942013
25867786A72B32   KIMBERLY        TOVAR                     CO     90011037860
25867A43A5715B   RAFAEL          TENAS                     VA     90010280430
2586829839794B   KEN             STONE                     TX     90014772983
25868313772B35   AMANDA          MENDEZ                    CO     90014563137
258683A9851369   ASHLEY          PENNINGTON                OH     66019543098
25868A3962B27B   PAMELA          PHILLIPS                  DC     90008050396
25868A3A15B161   BRITNEY         CAMPBELL                  AR     90013860301
25868A45171928   REGINA          RING                      CO     90012850451
2586923724B281   DANIELLE        VAUGHN                    IA     90006242372
2586957645B571   GINA            CHACON                    NM     90010675764
2586964215B161   GAYLON          ANDERSON                  AR     23006966421
2586B22A781661   TAMEKA          HANKS                     MO     90011402207
2586B42A255957   SARAH           RORIGUEZ                  CA     90007134202
2586B74289189B   CHELSEA         BICKFORD                  OK     90014557428
2587115937B471   CLAUDIA         MARTINEZ                  SC     90012801593
258713A2957157   JOSE            MENDEZ                    VA     90009963029
25871413A9794B   JAZALCIA        HAWKINS                   TX     90014774130
2587149393B127   MICHAEL         WHEELER                   DC     90011084939
2587158A791522   VERONICA        SALAS                     NM     75044935807
2587167769136B   BRANDI          AMPARANO                  KS     90014046776
2587193729189B   JOEL            GRIMES                    OK     90000929372
25871A81881633   BRIAN           HOUSE                     MO     90012020818
258721A228B184   LORRAINE        ANDERSON                  UT     90007871022
25872273172B42   CINDY           ORTIZ                     CO     33014392731
2587242825715B   RUBELIO         NAJARRO LOPEZ             VA     90009824282
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2587251A761921   ADEEB        JABO                         CA     90008355107
25872A9292B839   BRIAN        SIMMONS                      ID     42062920929
2587318214B261   FRANK        DEAN                         NE     27096711821
258743A547B471   HASAN        BORE                         NC     90012713054
25874A58341245   JAMIE LYNN   MANDARINO                    PA     90000870583
25874A7519155B   KATHLEEN     LOPEZ                        TX     75087160751
2587532879794B   IESHA        HARRIS                       TX     74016003287
2587582314B553   SARAH        WEST                         OK     90012988231
258762A359136B   JESUS        FIGUEROA                     KS     90009182035
2587632595715B   ABRAHAN      ESTRADA                      VA     90001513259
2587737435715B   REINERIA     CASTRO LOPEZ                 VA     81030373743
2587756A39189B   TIFFINY      BYRD                         OK     90013285603
2587775249184B   LISA         CANALIER                     OK     90012487524
25877886A71928   JOHNNY REY   TRAVES                       CO     90009208860
25878359872B32   MARK         LANDIN                       CO     90011373598
2587897764B281   SHELIDRA     DEAN                         NE     27098909776
2587957386B862   NIKKI        MILLER                       WI     90015395738
25879A4729794B   JUAN         LOPEZ                        TX     74042650472
2587B26A59189B   ERICA        LAPHAM                       OK     90011652605
2587B382155957   JESUS        LARIOS                       CA     90012363821
2587B58454B261   CECILIA      ORTEGA-HERNANDEZ             NE     90014045845
2587B5A1872447   SUMMER       SAGER                        PA     90010265018
25881539A5B271   HEATHER      BLAKE                        KY     90014495390
258819A394B261   CHRISSTINA   JONES                        NE     27007459039
25882197172B32   JENNIFER     CUNNIGHAM                    CO     33089011971
2588244119184B   FRED         PHILLIPS                     OK     90015004411
25882A7914795B   YANIRA       LISETH                       AR     90006480791
25884955472B32   DEON         RUYBAL                       CO     33036169554
2588532595715B   ABRAHAN      ESTRADA                      VA     90001513259
25885A21331433   CHERYL       DEFRANCE                     MO     90011190213
2588631479189B   NORMAN       JACKSON                      OK     90011653147
2588676379136B   AMY          TELLO                        KS     90014917637
258867A545B271   LORI         CROSIER                      KY     90003187054
258872A6691522   TANA         SANTIVANEZ                   TX     75050472066
25887322172B32   ESTELA       HERNANDEZ                    CO     33049123221
25888147772B42   LIZETH       ARMENDARIZ                   CO     90009621477
2588814912B27B   TAVON        BROWN                        DC     90014581491
2588832657B471   TISHAWNA     BAXTER                       NC     11015463265
2588915A481637   LATEEA       WILLIAMS                     MO     29046571504
25889A8845B161   BRITTANY     KELLEY                       AR     90013650884
2588B312755957   RYAN         WASHINGTON                   CA     90002533127
2588B868681633   ROBIN        PETREE                       MO     29011708686
2588B96347B471   CINDY        BUTTER                       NC     11036409634
2588BAA6172B42   JESSICA      GARCIA                       CO     33052970061
2589142779155B   ARTURO       FERNANDEZ                    TX     90009264277
25892211A31631   JOSE         BECERRA                      KS     90014182110
2589238A772447   MINDY        PRAYER                       PA     90011183807
25892545A4795B   ADAM         GABBARD                      AR     25058355450
25892723A93731   ASHLEY       JOHNSON                      OH     90014447230
25892A69255957   ROSA         VALLEJO                      CA     90009330692
258931A9691528   FERNADO      FLORES                       TX     75045281096
2589321399136B   ASHLEY       HUMERICKHOUSE                KS     90012002139
2589328767B471   VERONICA     DE LA PAZ                    NC     11050192876
2589384972B27B   LEYON        ARNOLD                       DC     90009098497
25894855572B32   JODIE        CALHOUN                      CO     90012858555
258949A729189B   GARY         BRUMLEY                      OK     21088589072
2589532699155B   JUAN         MARQUEZ                      TX     90003583269
25895468672B42   VINCENT      VIGIL                        CO     90011304686
2589571894B281   BRANDY       HOLMES                       NE     90004037189
2589617419794B   JACQUELINE   COREAS                       TX     90010631741
258961AA75B571   ALINA        CARDOZA                      NM     90014571007
25896845398B42   TYWON        CHAPMAN                      NC     90012528453
2589733212B27B   MACHELL      KORNEBAY                     DC     90011563321
2589734A82B898   JOSE         RODRIGUEZ                    ID     90013753408
2589735A39189B   ALVIN        LINCOLN                      OK     90013073503
25897831A4B281   PATRICK      FRANCAVILLA                  NE     90001588310
2589813977B471   FELICIANO    LUNA                         NC     90013851397
25898347A9137B   AMBER        COOPER                       KS     90015123470
2589867787B477   SHANNON      WILSON                       NC     90012446778
2589895945B342   JOSEPH       RANKINS                      OR     90015139594
2589897484B261   PARKER       CHENEY                       NE     90007229748
2589918885B271   SHERRY       LINDSEY                      KY     90013671888
2589992365715B   ARECELY      CABRERA                      VA     90014179236
25899A73A4B582   MAURICIO     MALDONADO                    OK     21588080730
25899A88381661   NINA         CARROLL                      MO     90003670883
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2589B362A4B553   CHRIS        WELCH                        OK     90010873620
2589B66562B839   DAVID        ZEDWICK                      ID     90009196656
2589B97A79794B   LYNDEE       HARRISON                     TX     90014799707
2589BA83131453   ASHLEY       RIVERS                       MO     90010220831
258B111754B261   KARMINA      ORTIZ                        NE     90010961175
258B12A7272B32   PERICKS      ATAMBLUE                     CO     90013932072
258B14AA651328   ERIN         ROOK                         OH     66022504006
258B1572371943   MICHAEL      ADER                         CO     32007275723
258B1591A9794B   ROBERT       TREVINO                      TX     90011545910
258B169939794B   JOSE LUIS    TIRADO                       TX     90014686993
258B181145B571   D            REED                         NM     35094658114
258B185229189B   LARHONDA     BROWN                        OK     90014728522
258B2492572B88   DAVID        FEARHEILEY                   CO     33020994925
258B24A275B571   LUIS         VALENZUELA                   NM     90004244027
258B2A26571943   JOSHUA       HUTSHINGS                    CO     90003730265
258B3443471928   DUSTEN       KENNEDY                      CO     90009374434
258B344715B271   MELISSA      DAVIS                        KY     68045854471
258B3467A81661   MARRESHA     WHITLEY                      MO     90014214670
258B363475B571   GEORGINA     MARTINEZ                     NM     35008466347
258B3732272447   JESSICA      WELLS                        PA     51016217322
258B4113393731   KIMBERLY     GEORGE                       OH     90002511133
258B456584B281   NATHAN       GUNTER                       NE     27055085658
258B5646957157   JAHIR        CAMPA                        VA     90005086469
258B5A3939189B   GAIL         FRANK                        OK     90011650393
258B5A69757157   CANDICE      BIBBS                        VA     90010970697
258B6117771928   LORA         WILLIAMS                     CO     90014461177
258B6133181637   KEVIN        TOTTEN                       MO     29091941331
258B651185B571   BIANCA       RUIZ                         NM     90008535118
258B656169136B   JANNETH      ASTORGA                      KS     90012665616
258B684919155B   CARMEN       CASTRO                       TX     75072148491
258B6A8757B471   PEDRO        BENITEZ PERES                NC     90011770875
258B6AA3657157   YENI         GARCIA                       VA     90007790036
258B711342B27B   KEVIN        BROWN                        DC     81005381134
258B7543371943   JANET        BUSTILLOS                    CO     32020355433
258B7785272B42   JEFFERY      COLOMBO                      CO     90007247852
258B8536731432   REANE        SMITH                        MO     90010805367
258B8864172B32   JAIR         NUBE                         CO     90012898641
258B8A34A72B88   MITCHELL     MUMMA                        CO     90013020340
258B9119471928   PETERSEN     DAVIS                        CO     32012121194
258B9367572B32   CARMEN       TREVISO                      CO     90013583675
258B97A264B261   CARLOS       SALAZAR AGUILAR              NE     90011557026
258B985359794B   MATTHEW      DESKIN                       TX     90014698535
258B99AA25B571   JOSEPH       PADILLA                      NM     35012469002
2591175389184B   TANYA        WOOLLARD                     OK     21092557538
2591179479794B   ISRAEL       DANIEL                       TX     90011567947
25911A1115715B   ABIGAIL      SEJAS ALVAREZ                VA     90012170111
259121A942B839   KATHLENE     SPRADLIN                     ID     42087341094
2591223274B261   BRIAN        MORRISON                     NE     27097332327
259122A449155B   ZAIDA        SAENZ                        TX     90013832044
259124A6A81633   ARMAND       BAKER                        MO     90014174060
2591324422B27B   STEVEN       BENFORD                      DC     81048052442
25914327772B32   TEMIA        STEWART                      CO     90012393277
25914698672B88   ANGEL        FERNANDEZ                    CO     90013786986
2591522A39794B   DAVID        MITCHELL                     TX     90014802203
2591545A831453   SUSAN        SKIBENSKI                    MO     90013224508
259163A119155B   MINERVA      ESPINOZA                     TX     90013683011
25916792272B32   CHERYL       MORRISON                     CO     90014337922
2591686232B27B   LONEICE      BUNDY                        DC     90005548623
25917A75655957   FATIMA       BAILEY                       CA     90008570756
2591819925B571   MELODIE      FITCH                        NM     90002611992
25918351A31631   NICHOLAS     KENNEDY                      KS     90014183510
2591846AA93731   GEORGE       HATFIELD                     OH     90013074600
2591881A831453   KELLY        WHITE                        MO     90001658108
2591894514B281   NICOLE       TIMMERMANS                   NE     90011209451
2591946A491952   TOKI         SMITH                        NC     90010964604
2591963885715B   EDGAR        ORDONEZ                      VA     81091746388
2591995842B27B   JANANCIA     COOPER                       DC     81014279584
259199A815B571   GUMERCINDO   GUTIERREZ-ROBLES             NM     35061219081
25919A17981633   ROXANA       ROMERO                       KS     90011900179
2591B168A91522   KARLA        ALVAREZ                      TX     90009481680
2591B436772B88   MARIA        ROSALES                      CO     90008534367
2591B713471928   ROSEMARY     PRICE                        CO     90010917134
2592167114B261   LATISA       CROWDER                      NE     27057406711
2592226174B588   JAQUELINE    WASHINGTON                   OK     21566982617
2592255529184B   RAVEN        CRABTREE                     OK     21073285552
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2592259352B839   CHRALES      EDWARDS                      ID     90009945935
2592273973366B   DERRICK      PENDER                       NC     90011147397
2592286457B666   TRELISE      GLANTON                      GA     90001678645
25922A26791828   BRANDY       DOYLE                        OK     90012530267
25923438872B32   BRUCE        CRESS JR                     CO     33011364388
2592393649189B   TARA         STANLEY                      OK     90009039364
259239A799155B   BRITTANY     BUTLER                       TX     90006749079
2592434A351328   RONALD       SLAVEN                       OH     90014133403
2592454975715B   JOSE         MARTEL                       VA     90009895497
25924A44472447   LORI         REICHARD                     PA     51042850444
259252A145715B   CARMELITA    SPEIGHTS                     VA     81010332014
2592536847B477   LASHAN       MANN                         NC     11014623684
2592553657B449   MARTA        CUEVAS                       NC     11036925365
25925577A91522   EDGAR        GARCIA                       TX     75082475770
2592561389155B   RAMON        VARELA                       TX     75078896138
2592578A52B232   CHARLES      GOLDSMITH                    DC     90009347805
259257A5333669   ROBIN        SAMUELS                      NC     12029737053
25925811272B32   JULIAN       QUEZADA                      CO     90015128112
259261A125715B   EVELISSE     SANTIAGO                     VA     90014161012
25926626372B32   MICHAEL      BEIZA                        CO     90013876263
25926A3277B471   GAVIN        LESESNE                      NC     11028960327
25927791172B88   BERNARD      DEWITT HOUSE                 CO     90014937911
25927A9395B161   MARJORIE     MITCHELL                     AR     23040560939
2592834612B249   DENNIS       HARRIS                       DC     90001763461
25928539372B42   EDNA         PORRAS                       CO     90006005393
25928584A71943   VICTORIA     CALDERON                     CO     90013215840
2592873485B161   DEMEATRIC    MCTYER                       AR     23095857348
25928A14191828   JON          COLE                         OK     90002240141
25928A77641245   JOANA        MORALES                      PA     90008680776
2592912324B261   KATHERINE    CZAPLEWSKI                   NE     90010961232
2592929945B161   LESLIE       MARSHALL                     AR     90015012994
2592949634795B   BRANDY       FERNANDEZ                    AR     90006694963
25929672A71928   DAVID        QUITERIO                     CO     32010116720
2592B468955957   TRISH        MARTINHO                     CA     48061054689
2592B498631433   ELLA         JONES                        MO     27598024986
2592BA2349155B   JESSICA      REYES                        TX     90005140234
2592BA8152B839   JESSICA      STEVENS                      ID     90014790815
2593219925B571   MELODIE      FITCH                        NM     90002611992
259322A1631433   KADEJA       LAHAI ' TUMAGOI              MO     27507652016
2593232744B281   BRITTANY     BROCKMAN                     IA     90009173274
259323A8581633   CHRISTINA    PALAAMO                      MO     29091983085
259329A5791828   ELSO         JUAREZ                       OK     21088829057
2593386575715B   DANIEL       HERNANDEZ                    VA     90012228657
25933875672B88   SOCORRO      RAMIREZ                      CO     33019238756
2593389A14B281   BLANCA       TELLES                       IA     27097738901
2593437A791828   KATHRYN      COLE                         OK     21028813707
2593441A472B88   MONIQUE      RODRIGUEZ                    CO     33040404104
2593542629189B   MIRIAM       JONES                        OK     90011654262
2593571AA57157   JOSE         CASTILLO                     VA     90014857100
25935AA872B27B   LAKIESHA     BROWN                        DC     81001600087
259366A5191522   HUMBERTO     HERRERA                      TX     75030206051
2593837899189B   KATHRYN      VABERBER                     OK     21086313789
2593881437B471   TRACY        MCCLURE                      NC     11090058143
25938AAA12B27B   LUCIO        PEREZ                        DC     90002150001
259398A727B471   TIERRA       CAMP                         NC     90011268072
25939A72A81637   CHARMETRIA   MCDANIEL                     MO     29005690720
25939A9672B27B   RAMON        CRUZ-CANALES                 DC     90008050967
2593B12315B571   MARIA        MORALES                      NM     35011211231
2593B55574B261   JOSH         CRAIG                        NE     90003445557
2593B861141245   MARCUS       FRITZ                        PA     90011838611
2594112912B232   TIMOTHY      LANE                         DC     90014421291
25941239972B53   RICHARD      TERRY                        CO     90005672399
2594152975133B   LUIS         MEJIA                        OH     90008615297
2594159882B27B   ANGELA       FOSTER                       DC     90014195988
25941A24771928   ORLANDO      ROMERO                       CO     90012400247
2594218674B549   TERRY        PARKER                       OK     90010051867
25942325372B88   MARTHA       LOPEZ                        CO     90013533253
259425A8991828   JOSE         RANGEL                       OK     90008515089
2594291465B161   TONI         GOODRICA                     AR     90007509146
2594299839794B   CHERYL       SUTHERLIN                    TX     90014839983
25942A4639184B   CLARENCE     COLEMAN                      OK     90008180463
25943375972B42   JOHN         MYERS                        CO     33001593759
2594352439184B   VIRGINIA     AYERS                        OK     90010865243
2594361654795B   MARIA        PEREZ                        AR     25067766165
25943668A4B588   MARTRICE     WALKER                       OK     90008756680
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2594377485B571   DANIELLE     SNIDER                       NM     90013067748
25943A23791828   LAMIA        GARZA                        OK     90012490237
25944161172B32   JUAN         ANAYA                        CO     90011451611
2594425165B161   MEGAN        MARSHALL                     AR     90011862516
2594431A372B88   JOSE         CAMPOS                       CO     90007413103
259444A1785925   JOHNATHON    HENSLER                      KY     67083544017
259444A3772B88   GUSTAVO      CASTNEDA                     CO     90012874037
2594489799155B   STEVEN       PARTAIN                      TX     90014578979
2594511732B839   CHRISTINA    WERRE                        ID     90001341173
2594595199155B   DENISE       ORTEGA                       TX     90007559519
2594611687B471   DARYL L      SHARPE                       NC     90010471168
2594632552B27B   MELISSA      STACKHOUSE                   DC     90004093255
2594646569189B   DIANA        JAIMES                       OK     90011654656
2594657AA4B261   ROBYN        CHRISTOFFERSEN               NE     90015025700
259469A1931453   GENETRIA     BYARS                        MO     90012769019
2594725245136B   WILLIAM      BELL                         OH     90002222524
25947546A9189B   AMANDA       AILEY                        OK     90013355460
2594777575B571   JESUS        BARRIOS                      NM     90014607757
2594785565B271   TIMOTHY      REEDER                       KY     90013708556
25947A5A35B161   WANDA        CHANDLER                     AR     23048870503
2594948A331453   MARCUS       HAYES                        MO     90013374803
2594955985B161   TRACY        REED                         AR     90013395598
25949811A72B42   EDDIE        SONS                         CO     90010358110
2594B324881661   JENIFER      MENCIA                       MO     90011373248
2594B325171924   MARY         MADRID                       CO     90009343251
2594B639A91522   LYDIA        GARCIA                       TX     75075656390
2594B7A789155B   JESUS        GARCIA                       TX     90005217078
2595164954B281   STEVEN       GRABENSCHROER                NE     90014126495
2595168A171928   DEE          JONES                        CO     90012516801
2595173165B571   ERICA        MARTINEZ                     NM     35076477316
2595195A39189B   AMELIE       MARTINEZ                     OK     90012889503
2595322695B161   CRAIG        GLINN                        AR     90013352269
25953353272B2B   ANTHONY      MATTERN                      CO     90011503532
259535A129189B   JENNIFER     WALTERS                      OK     90011655012
25953796A91522   JORGE        MUNOZ                        TX     75096667960
2595398119155B   GUILLERMO    ALCALA                       TX     75058579811
2595398523363B   RUBEN        CHAVEZ                       NC     90005519852
25953A39781661   CAROLYN      STACY                        MO     90011100397
2595446A681633   ELIZA        BARR                         MO     29067714606
25954512572B44   SERVANDO     VIDANA                       CO     90010415125
2595465677B477   DEMARIO      BROWN                        NC     90009176567
25954877172B32   JAMIE        WELBY                        CO     90013898771
25954A95693731   CATRINA      ELY                          OH     64526330956
2595512985B161   DEBORAH      PRIEBE                       AR     90013931298
2595519A24B588   MARCUS       CLAY                         OK     90002011902
2595558A871943   HARVEY       FLOWERS                      CO     90005225808
25955859A4B231   DELORIS      SARTEN                       IA     90002528590
25955A5947B471   JACOB        GONZALEZ                     NC     90014440594
259564A1372447   RICHARD      SIMMONS                      PA     90013634013
25956636372B88   GINA         VILLARREAL                   CO     33025626363
25956A37772B42   ELIZABETH    COOKE                        CO     33072420377
259572AAA9155B   LUIS         MORENO                       TX     90012892000
259575A439136B   OSCAR        VARGAS                       KS     90013245043
2595848419155B   JOSE         RIVERA                       TX     90012964841
25958A94572B42   ARMANDO      RIOS                         CO     33001020945
25959A4357B449   WALTER       SUSSWELL                     NC     11047980435
2595B13495B161   DOMNIQUE     WALKER                       AR     90008171349
2595B327A9189B   GARY         COOK                         OK     90006883270
2595B36969184B   CANDY        SIDDIQUI                     OK     90009093696
2595B41142B839   CONNIE       GRANGER                      ID     42005084114
2595B6A979136B   HUSS         KEY                          KS     90012666097
2595B788372B32   DAVID        CASTILLO                     CO     90002057883
2595B816457157   CONRADO      PEREZ JR                     VA     81027678164
2595B93184B281   CINDY        PICKENS                      NE     90005379318
2595B994571943   DARRYL       WILLIAMS                     CO     90015129945
2595B99AA9155B   JAIME        HOLGUIN                      TX     90011139900
2596133419155B   FRANSICO     MORALES                      TX     90002343341
2596153615715B   ALEXANDER    MARTINEZ                     VA     90001515361
2596167787B471   MONTEIZ      BAPTIST                      NC     90009196778
25961A94885938   DONALD       BERNARD                      KY     67074880948
2596243892B27B   TORRIE       WILSON                       DC     90012904389
2596266464B588   ROXANNE      VEATCH                       OK     90012636646
25962AA5571943   KEVIN        GRANFORS                     CO     90012630055
25963468A9155B   ADRIAN       GALINDO                      TX     90014754680
25964458A93731   BRIAN        GARBER                       OH     90012854580
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259646A139189B   ANDREW       CARTER                       OK     90011656013
259661AA872447   LONNIE       ROSS                         PA     90012441008
2596667599155B   DIEGO        MARTINEZ                     TX     75016886759
25966759372B32   CORY         GUZMAN                       CO     90011387593
259668A8831631   TIMOTHY      KEMP                         KS     90014038088
2596743369184B   ASHLEY       WILLIS                       OK     90014684336
2596791254B281   JOSE         MUNOZ                        NE     90015149125
2596839527B449   NZUZI        KINSAKA                      NC     90002943952
259683A7281661   OSCAR        RODRIGUEZ                    KS     90012023072
2596882999189B   ERICKSEN     CHRISTIAN                    OK     90005048299
2596B491484364   DAVID        BRADWELL                     SC     19005314914
2596B5A345B36B   CONNIE       PELTO                        OR     90012645034
2596BA92971928   CLARISSA     JOE                          CO     90014750929
259711A1381661   CELINA       MELENDEZ                     MO     29010731013
25971238A51328   MARK         FANNIN                       OH     90013622380
25971A47551365   DENSON       CONN                         OH     90014160475
25971A5832B839   SHAWN        BAKER                        ID     90013420583
25971A83A51365   DENSON       CONN                         OH     90002290830
25971AAA972B42   FAVIOLA      GODOY                        CO     90007340009
25972873A91828   DARRIN       JONES                        OK     90014758730
25973239A9189B   HORACE       RAY                          OK     90014572390
259733A2371933   DEWAYNE      SMITH                        CO     90003453023
2597398A981661   ALINE        NEELY                        MO     90011789809
25973AA3255957   MONICA       BERMUDEZ                     CA     90013110032
259744A3781637   RICK         TESCHKE                      MO     90003454037
2597459485B271   BLEH         HTOO                         KY     90010055948
25974882672B42   JOHN         ADAMS                        CO     90012298826
259753AA19184B   EATRICE      WHITE                        OK     90010253001
25975415A5715B   ERMIDES      GRIJALVA                     VA     90011414150
2597553A257157   EUGENIA E    FRIEL                        VA     90001795302
2597613599155B   MARTHA       EGURE                        TX     90009751359
2597698539136B   TERESA       ALTUZAR                      KS     29066909853
25976A3255715B   DANA         SPRINGS                      VA     90011910325
2597748274B281   ERNESTINE    ALSIDEZ                      NE     27082374827
2597767115B571   PAUL         CASTILLO JR                  NM     90011786711
259778A215715B   JORGE        RENTAS                       VA     90012878021
25977A45A72B32   LORA         LAGUARDIA                    CO     33040140450
25979456772B32   JUAN         ARIAS                        CO     33023054567
25979A92A41245   CASSANDRA    SMITH                        PA     51009540920
2597B555791528   ROSA         MARTINEZ                     TX     90006535557
2597B55584B588   JUDY         HANKS                        OK     21517245558
2597B589631631   ZACHARY      CARNAHAN                     KS     90010925896
2597B773331453   CHIMERE      MITCHELL                     MO     90011127733
2597B86714B261   AKOELE       AKPABLI                      NE     90015118671
25981176272B42   AMANDA       MCCLELLEN                    CO     33035601762
2598193852B839   LILIAN       SANDOVAL                     ID     90002609385
2598232259155B   SYLVIA       HERNANDEZ                    TX     90011193225
25982548372B42   BILLY        SNIDER                       CO     33005145483
2598259254B261   JESSY        TARUMOTO                     NE     90014435925
25982612A72B32   JOHN         INFANTE                      CO     90003276120
259828A284B588   COOWESTA     GRAY                         OK     90006018028
25983A6269184B   MIRANDA      JEFFRIES                     OK     90013270626
25983A79371928   NAYELI       SALINAS                      CO     90011940793
2598448747B471   JARED        GIBSON                       NC     11076704874
25984664572B32   IRIS         HERNANDEZ                    CO     90012716645
25984854A9189B   CHRISTY      SMITH                        OK     21062788540
2598516817B471   KAROLYN      SMITH                        NC     90011581681
2598534239184B   BARBARA      TORRE                        OK     90008953423
2598537385B161   KELLEN       SUMMONS                      AR     90007663738
25985918772B42   ASHLEY       SANCHEZ                      CO     90013659187
2598611635B161   TYSHANNA     SCALES                       AR     90015151163
2598626655B571   CESAR        GRAJEDA                      NM     90008712665
2598753279184B   LUCERO       HERNANDEZ                    OK     90013675327
2598779315B571   MICHELLE     LENTE                        NM     90008557931
2598792932B839   SHY          BAKER                        ID     42086069293
259891A325B161   CLARA        ELLIS                        AR     90008051032
2598984A65B571   CANDICE      WIERWILLE                    NM     90014608406
25989A92A41245   CASSANDRA    SMITH                        PA     51009540920
2598B491284364   PATRICE      STEVENS                      SC     90003934912
2598B52179155B   JOSE         ANDRADE                      TX     90009265217
2598B995757157   LOIDA        MEJIA                        VA     90007669957
2599153A85715B   MORENA       PINEDA                       VA     81087805308
2599155465B28B   DAVID        MONEY                        KY     90005675546
2599159387B274   MARIA        LOZPEZ                       UT     90012635938
259917A4772B32   LADY         PINEDA                       CO     33097827047
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2599182779136B   JONATHAN            PAINE                 KS     90010958277
2599182A99184B   JON                 WILLIAMS              OK     90004768209
2599254522B839   DEANNA              REED                  ID     90011005452
2599331A99155B   ARIANA              VILLARREAL            TX     90013683109
2599343972B27B   IRMA                RIVERA                DC     90000284397
2599345A181633   AMANDA              PERKINS               MO     90008074501
2599354995B571   JAMES               ALLEN                 NM     35078815499
25993A32455957   YOLANDA             PACHECO               CA     90012340324
2599432694B588   TONYA               QUARTERMAN            OK     90002133269
259944A844B581   HENRY               GUNN JR               OK     21552504084
2599553775B571   JASON               WILKINSON             NM     35062405377
2599662449152B   JOSE                MUNOZ                 TX     90010476244
25996634872B88   MATTHEW             CRUZ                  CO     33056386348
2599693A87B471   CHRISTOPHER         FLETCHER              NC     90014119308
25996A42A41245   BRIAN               MCCULLOUGH            PA     90015300420
2599843952B27B   TIANA               SMITH                 DC     90012904395
25999127672B88   KIRSTINA            TORRES                CO     90012241276
25999548A91522   ERNEST              GONZALEZ              TX     75097865480
2599967A681661   PAMELA              CASTEEL               MO     90003036706
2599995959189B   JADEN               VINES                 OK     90013399595
2599B87A351328   CHRISTINA           PAULEY                OH     90014728703
259B1142591522   DOLORES             CHAVEZ                TX     90013171425
259B1283A93731   VELMA               COLEMAN               OH     90014992830
259B1539771943   MELISSA             GREGORY               CO     90007205397
259B1539A5B271   HEATHER             BLAKE                 KY     90014495390
259B172685B571   ALYSON              JONES                 NM     90014607268
259B292384B281   MARCHE              ROBINSON              NE     27003879238
259B2A85571928   CHRIS               ROWELL                CO     90005350855
259B3514191522   LUIS                CONDE                 TX     90008745141
259B361647B456   ELIAS               ORELLANA              NC     90009786164
259B383A185844   GABRIEL             HERNANDEZ             CA     90004308301
259B3A64555957   GARY                JONES                 CA     90012560645
259B3A97191528   ARMANDO             URIBE                 TX     90002810971
259B4224231433   CRYSTAL             JONES                 MO     90011742242
259B425A157157   NANCY               IZAGUIRRE             VA     90008402501
259B431935B161   CHARLES             WELLS                 AR     23040883193
259B437224B582   EDIN                MALDONADO             OK     90005363722
259B4A8897B471   KINDAL              PERRY                 NC     90008260889
259B5136A5B161   SHENITA             MOORE                 AR     90013241360
259B526424B588   LYDIA               PANTHER               OK     90009172642
259B5546231453   ANITA               MCCLAIN               MO     27560025462
259B58A9591828   FABIAN              CHAIRE-HERNANDEZ      OK     90008658095
259B629659155B   ALFREDO             TORRESDAY             TX     90013682965
259B6569731631   AMMON               OHLSON                KS     90004795697
259B686375B271   IRENIA              BARBAN                KY     90011258637
259B698A984364   DANIELLE            MOLTER                SC     19078719809
259B7583A5B161   FREDDIE             WILLIAMS              AR     90010125830
259B7711A85938   RAUL                CORTEZ                KY     67069657110
259B7929172B88   ALEJANDRO           OROZCO                CO     33005129291
259B837579189B   TRINA               SKINNER               OK     90008583757
259B8636291522   MICHELLE            GALLARDO              TX     90011196362
259B8887272B88   ELI-LEONA           RANGE                 CO     33010798872
259B9368271943   ANGELINA            TRUJILLO              CO     32030763682
259B9781751328   KEVIN               HOPKINS               OH     90014727817
259B991989155B   VINCENT             VILLARREAL            TX     90013009198
259BB263831453   TEIRA               HOWARD                MO     90014562638
259BB282691528   MARISSA             ANCHONDO              TX     90006532826
259BB664A72447   MEGAN               ALT                   PA     90007776640
25B1123444B261   CRYSTAL             NAVA                  NE     90013502344
25B11234855957   MANUEL              MGANA                 CA     90010692348
25B11322471943   IAN                 BAUGH                 CO     90005033224
25B11414571932   RUBEN               GARCIA                CO     90011274145
25B11514A9155B   JOSE                GARCIA                TX     90013655140
25B1163674B588   CHRISTOPER          STEPHENS              OK     21576166367
25B11883331453   PAYGO               IVR ACTIVATION        MO     90013808833
25B12114A9713B   RACHELLE            STRANGE               OR     90007781140
25B12228A81637   EGYPT               SMITH                 MO     90001982280
25B12336641245   RODNEEKA            LEWIS                 PA     51001153366
25B1233A791828   LUZ                 RODRIGUEZ             OK     90000543307
25B1276495B571   MATTHEW AND MARIE   ORTIZ-GONZALES        NM     90014517649
25B13242471943   MARGARET            GARCIA                CO     32010592424
25B13338681661   CHRISTINA           MASON                 MO     90014573386
25B1368A372B88   LUIS                ARO                   CO     90014476803
25B1382512B839   ALFRED              ARAGON                ID     42027838251
25B13843172447   CHRISSIE            CHAMBERS              PA     90014928431
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25B1393989794B   FLAVIO              UTUY                  TX     90013929398
25B1416A99189B   JOSE                MARTINEZ              OK     90011601609
25B1434A471928   TANILLE             BUDETTI               CO     90012273404
25B1451919713B   MARTIN              AVILA                 OR     90012495191
25B1474775B571   ANDRES              MENDOSA HERNANDES     NM     90013427477
25B14856291828   JAMES               JOHNSON               OK     21094588562
25B1497564B588   RAMON               RASADO                OK     90014129756
25B1546A12B839   JANINE              TIPPON                ID     90010904601
25B15A7A19794B   MATEO               HUINAC                TX     90010270701
25B16346272B88   NATHANIEL           ROMERO                CO     90007153462
25B16753791528   JEREMEY JOHN        MAZZA                 TX     90005987537
25B1698895B571   VALERIE             SILVA                 NM     35032079889
25B17173393731   DAVID               RODGERS               OH     90013591733
25B1755115B571   MARTHA              HERNADEZ              NM     90008515511
25B1782289136B   JOSE                MALACARA              KS     90008468228
25B17896691522   TOM                 BREITLING             TX     90000908966
25B17A3849184B   ZAR                 WIN                   OK     90012260384
25B18217731453   SELONA              QUARRELS              MO     90003792177
25B18245681637   LEONARDO            HERNANDEZ             MO     90012862456
25B1848166B862   DANDRE              DANIEL                WI     90015504816
25B1854847B471   KATHLEEN            MEADOWS               NC     11001965484
25B18659281661   ASHLEY              EMERY                 MO     90014166592
25B18A65893731   TEANA               OVERSTREET            OH     64568340658
25B19132881637   KENNETH             SHEPHERD              MO     90014711328
25B19556255957   JESSICA             MONTOYA               CA     48013435562
25B19592185938   TONY                GILPIN                KY     67000245921
25B19657372447   DANELLE             STUMP                 PA     51078946573
25B19A17781668   ROBERT              FERGUSON              MO     90013280177
25B19A2779136B   MARIO               ARANDA                KS     90007940277
25B19A68371943   JUSTIN              FISCHER               CO     32082190683
25B1B56224B588   RICHARD             REED                  OK     90013715622
25B1B76495B571   MATTHEW AND MARIE   ORTIZ-GONZALES        NM     90014517649
25B1B854972B88   MELINDA             HART                  CO     33073258549
25B1B891581661   VITA                GRANT                 MO     90010978915
25B1B9A999794B   TEXAS DEPT          CRIMINAL JUSTICE      TX     90015009099
25B21383391528   MILDRED             VENEGAS               NM     75091753833
25B21486572B42   REGINA              NATIVIDAD             CO     33043074865
25B216A3A81661   MANDEO              RODELA-PANDO          MO     90014166030
25B21816772447   ROGER               MILLIRON              PA     90009188167
25B22122981633   CHRISTAL            HARRIS                MO     29043591229
25B22318491522   VERONICA            HERNANDEZ             TX     90004953184
25B22459A72B88   STEPHEN             HUNT                  CO     90013254590
25B2246229136B   KELLY               SIMS                  KS     90012484622
25B22712171943   LEJONETTE           GRAY                  CO     90014047121
25B22748981661   ADAN                NAVARRETE             KS     29067667489
25B2278997B477   PRUDENCI            ESCOBAR               NC     90014817899
25B2291462B27B   TIARA               GOMILLION             DC     81078779146
25B2293829155B   MARIA               SILVA                 TX     75071029382
25B22A3AA7B471   EMILIA              MORENO                NC     90014880300
25B22A9339189B   RANDY               FULPS                 OK     90013540933
25B2329745B271   RACHEL              KESSINGER             KY     90013882974
25B2352882B27B   LAKEISHA            JACKMAN               DC     90005015288
25B23537672B32   ROCKY               FEDERICO              CO     90009505376
25B23635671943   DEILBER             FUENTES               CO     90010776356
25B23849591885   JOLANTA             ALONSO                OK     21088118495
25B23965372B42   RODRIGO             CASTRO                CO     90012429653
25B24195891522   ERLINDA             ESTRADA               TX     75024131958
25B24214A4B588   TRICIA              COLVIN                OK     21582512140
25B243A715715B   SANDRA              MALDONADO             VA     90004233071
25B2443559189B   MIREYA              RISSER                OK     90012504355
25B244A2991828   ATHUR JAMES LEE     ROY                   OK     90006904029
25B24637191383   MELISA              ALLEN                 KS     90002826371
25B24892281633   JILLIAN             HENDRIX               MO     90008818922
25B24959541245   CLYDE               DEMUS                 PA     51062199595
25B25346893731   KEVIN               SIMMONS               OH     90009133468
25B25849571943   ERIC                EDWARDS               CO     90010758495
25B258A3797121   MATT                ZOOK                  OR     90012668037
25B25999355935   ESTHER              DELGADO               CA     90012679993
25B26143672B88   YVETTE              NOBLE                 CO     33033211436
25B26347555957   ROBERT              PARAMO                CA     48026453475
25B26798A57157   JENNIFER            MURPHY                VA     90000797980
25B26A32441245   CAROL               GAULT                 PA     51036890324
25B2734A872B42   BRITTANY            BENDZ                 CO     90012483408
25B2741624B281   DAWN                LEE                   NE     27054364162
25B274A3272B88   ESPERANZA           JARAMILLO             CO     90007944032
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25B2771A65B161   MISTY            BOUPHASAVANH             AR     23047127106
25B27A22131433   SAPRINA          COOKSEY                  MO     90011710221
25B28449A2B27B   CHINA            COWAN                    DC     90004234490
25B28456347826   KAREN            WASHINGTON               GA     90012424563
25B28571731631   GLORIOUS         POLITE                   KS     90011275717
25B28A6545715B   MICHAEL          WHIFFEN                  VA     90013730654
25B2916289155B   LAURA            ZALCE                    TX     90013221628
25B2922595715B   JAVIER           GAYTAN                   VA     90009342259
25B2957959189B   TRACI            HENDRICK                 OK     90014465795
25B2965A893731   LADONNA          WATSON                   OH     64547656508
25B296A754B281   THOMAS           BARDEN                   NE     27063806075
25B2B372A7B471   KERLIN           GUERRERO                 NC     90012343720
25B2B519891522   JESSICA          PAZ                      TX     90011605198
25B2B521872497   JONATHAN         BILLHEIMER               PA     90006405218
25B2B567971928   YESICA           PRIETO                   CO     90013785679
25B2B6A719155B   VIRGINIA         LARA                     TX     75011656071
25B2B88829136B   KENNETH          POWELL                   KS     90002708882
25B31223355936   KELLY            GILSON                   CA     90009982233
25B3175695B271   TED              STIVERS                  KY     90012447569
25B31784A91528   ROLANDO          MUNDO                    TX     90005987840
25B3178592B839   DAVID            WILLIAMS                 ID     90014497859
25B3247365B571   ALYSIA           RAMIREZ                  NM     90011624736
25B3261117B471   LISA             MASSEY                   NC     11014756111
25B32858872B88   TWILA            HOPKINS                  CO     90003958588
25B3386435B271   ANDREW           HOWELL                   KY     90010498643
25B338A549189B   BRANDY           CURRY                    OK     21018338054
25B33924971924   OLIVIA           SOTELO                   CO     90014859249
25B3412524B553   ANDERSON         CHRISTOPHER              OK     90008051252
25B3466AA93731   DAVID            JONES                    OH     90010376600
25B34A6A981637   DEENA            DOWNEY                   MO     90014810609
25B352A6657157   ANA              MOZ                      VA     90014532066
25B3542859136B   CAROL            LAWRENCE                 KS     90010124285
25B35577971943   MARIA            ALVARADO                 CO     90014615779
25B3582892B839   APRIL            ROBINSON                 ID     42046638289
25B36128555923   PATRICIA         HARRIS                   CA     49091831285
25B36384631433   JEFF             DAVIDSON                 MO     27502743846
25B36487991241   VERONICA         JOHNSON                  GA     14549154879
25B3669672B27B   JOSE             ORELLANA                 DC     90010766967
25B36753172B32   AMBER            RASMUSSEN                CO     33005127531
25B36774271943   OLGA             MALDONADO                CO     32057197742
25B36879831453   NATHAN           DUNCAN                   MO     90011178798
25B36938551328   LOUIS            ROOK                     OH     66016799385
25B37873672B88   PAIGE            MENZOR                   CO     90004918736
25B3788812B839   DANIEL           GARCIA                   ID     90008308881
25B37889A5B571   DARLENE          ORTEGA                   NM     35000178890
25B37976672B32   SAMANTHA         HERNANDEZ                CO     90011109766
25B37A7467B644   BRITTANY         PORTER                   GA     90010280746
25B381A7A4B588   FFR20456 PEDRO   PEREZ                    OK     90014231070
25B38325793731   BRITTNAY         MILLER                   OH     90014623257
25B3919A44B52B   ANA              GALINDO                  OK     90010361904
25B392A1171928   YOLANDA          HERNANDEZ                CO     90000902011
25B39432181661   BRYON            WEBB                     MO     90006994321
25B39552472B32   BRIAN            KENYON                   CO     90007045524
25B39745A71943   FRANCES          RIDER                    CO     32092157450
25B3989349794B   CARLA            MUNSUN                   TX     90014918934
25B3995819189B   EYRA             ROMERO                   OK     21084679581
25B3B431597B53   DAWDY            YVONNE                   CO     39093584315
25B3B45929189B   BENZIE           BROOKS                   OK     21045164592
25B3B57155715B   AUDELINA         BARRIOS                  VA     81030455715
25B3B751755957   AMIE             CAMPBELL                 CA     48033377517
25B3BA43A4B588   MONEEK HOWELL    MICHAEL ROGINS           OK     90013230430
25B41214372B42   WORM             INC                      CO     33090082143
25B41622281661   KEYANA           BROWN                    MO     90014166222
25B4165299155B   ADRIAN           SEGURA                   TX     90010766529
25B42419557157   MARVIN           RODRIGUEZ                VA     90014064195
25B42736472B32   SIMONE           HERRERA                  CO     90014457364
25B42776971943   TARON            MORRIS                   CO     90013887769
25B42A13A81633   TINA             BAIRD                    MO     90013420130
25B4368172B839   VICKIE           MOSQUEDA                 ID     90013136817
25B436A489184B   JOSUE            RODAS                    OK     90014156048
25B43869A71943   BRITTANY         YANCEY                   CO     90013748690
25B43A19381661   FIDENCIO         MORALES                  MO     29017910193
25B4411A49155B   PAUL             CENICEROS                TX     90011541104
25B44139572B42   RICHARD          RAMIREZ                  CO     33036241395
25B44465A2B839   KIMBERLY         BLECHINGER               ID     90006784650
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25B44572A72B32   TINA            LEVY                      CO     33033535720
25B44699593731   BRITTNAY        STEWART                   OH     90008836995
25B4471565B571   V               SANCHEZ                   NM     35085097156
25B4476545B271   MICHAEL         WALLACE                   KY     90015197654
25B4479A955957   JUAN            PEREZ                     CA     48001407909
25B45429781661   TROY            JONES                     MO     90009974297
25B458A9655957   KIM             ENS                       CA     48078698096
25B45913751328   CHRISTOPHER     GARITSON                  OH     90008579137
25B45A43A4B588   MONEEK HOWELL   MICHAEL ROGINS            OK     90013230430
25B46457871928   REESE           MILLER                    CO     90004104578
25B46744661935   ADRIANA         CORONA-GASTELUM           CA     90012207446
25B4693672B931   TIM             BERG                      CA     90011649367
25B46A5585B271   SHERRICE        JACKSON                   KY     90002730558
25B47566981633   WENDY           NAJO                      MO     90003525669
25B47824184364   CHELSEA         PRIEST                    SC     19081758241
25B47845231631   JOHNNY          FREDERICK                 KS     90015118452
25B4794535B161   SARA            HAMMER                    AR     90002549453
25B4798755B271   EMMA            HARDIN                    KY     90011249875
25B4811489794B   CHRISTINA       WILLIAMS                  TX     90012891148
25B4835712B839   BETTY           CROCKER                   ID     90012533571
25B4862292B27B   KRISTIAN        HONESTY                   DC     90008196229
25B48A9984B588   LOLITA          COLBERT                   OK     90014690998
25B48AA9672B88   ABDIEL          HERNNADEZ                 CO     33048880096
25B495A4A55957   DANIEL          GONZALEZ                  CA     90014155040
25B4981395B571   DEMARIUS        HARRIS                    NM     90014518139
25B49845655936   CHRISTINA       EMERY                     CA     90001508456
25B49912157157   BLANCA          NOGALES                   VA     81064739121
25B49A2239794B   WILMER          OROZCO                    TX     90012470223
25B4B4A3872B32   VANESSA         GARCIA                    CO     90007894038
25B5137744B281   GABRIELLE       ELLIOTT                   NE     27086383774
25B51473857157   CHARLIE         PERCHIANO                 VA     90011174738
25B5193759184B   ESTELLA         HERNANDEZ                 OK     90010539375
25B52256A72B88   MIKE            MESFIN MEKONEN            CO     90013612560
25B5256579184B   KECIA           HILL                      OK     90012465657
25B52574171943   RUBEN           GUZMAN                    CO     32022375741
25B5271A19155B   SANDRA          MACIAS                    TX     75096207101
25B52A3549794B   PEGGY           HAMMOND                   TX     90012470354
25B52A58272B88   MAGDALENA       ZETINA                    CO     33070420582
25B53199171928   COUNTRY         CAT                       CO     32016641991
25B5357249794B   JOSUE ISMAEL    NINO                      TX     90013295724
25B535A827B477   ARETHA          SMITH                     NC     90014875082
25B53645855957   ALBA            CASTRO                    CA     90010626458
25B5365452B232   SQUIETTA        AMIN                      DC     90001146545
25B53718A31631   TIMOTHY         MCDONALD                  KS     90012587180
25B53772A9136B   TIFFANY         SIPPLE                    KS     90013937720
25B5424A871928   PATRICIA        ARELLANO                  CO     90014992408
25B5449229189B   PAMELA          JOHNSON                   OK     90003934922
25B5492487B477   HEMAN           SPELLER                   NC     90014849248
25B5545484B281   MIKAEL          FREEMAN                   NE     90010424548
25B5546399136B   RUBEN           ORTEGA                    KS     29050634639
25B5567222B27B   KAMECIA         MALLORY                   DC     90011826722
25B559A963B352   FLOR            CRAWFORD                  CO     33064819096
25B5651A881633   KENNETH         BENTLEY                   MO     29001055108
25B56963672B88   LUZ             VARGAS                    CO     33040499636
25B57782991522   MARIA           ANDAZOLA                  TX     75048567829
25B5792289189B   EFRAIN          CORONA                    OK     90015089228
25B58124941245   SEAN            MCPHERSON                 PA     90011821249
25B58233191522   LIZETH          SANCHEZ                   TX     75003142331
25B58565172B42   JERRY           SCHELL                    CO     90009045651
25B58966431631   DEVIN           WERD                      KS     90013969664
25B59149372B42   LUIS            RAMIREZ                   CO     90003271493
25B5944214B588   JOSE            HERNANDEZ                 OK     90015144421
25B5959152B27B   THERESA         DIXON                     DC     90013865915
25B59596193122   JASMYNE         DANIELS                   KY     90013025961
25B5977244B281   ALEMNESH        GEBREYES                  NE     90012297724
25B5B766472B88   JOSE            EUSEBIO                   CO     90013557664
25B6122A871928   TOM             WILLIAMS                  CO     90000632208
25B61549991B35   MAYRA           DELGADO                   NC     90013845499
25B617A8172B88   ENRIQUE         SALINAS                   CO     90012607081
25B6193769155B   JUAN            JIMERNEZ                  NM     75066939376
25B61A4129794B   CHRISTIAN       PAZ                       TX     90013310412
25B62147172B42   HECTOR          SOTELO                    CO     33020461471
25B622A9757157   SANDRA          JIMENEZ                   VA     81063392097
25B62335472B32   ZACK            HOOVER                    CO     90000213354
25B6272649794B   ARTURO          DURAN                     TX     90011847264
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25B62791333686   AMELIA       JONES                        NC     90010907913
25B62A78881633   ERIKA        NELSON                       MO     90008260788
25B62A87691522   VERONICA     RAMOS                        TX     75068020876
25B6313732B27B   ANGELA L     PRICE                        DC     90014581373
25B63643155957   RODRIGO      DURAN                        CA     90015226431
25B63A2429794B   ALVARO       VELASQUEZ                    TX     74043220242
25B64152272B32   VICKY        RUANO                        CO     33041361522
25B647A4531453   RAQUEL       REED                         MO     90012967045
25B6482984B588   GONZALO      CORONADO                     OK     21560728298
25B64892593743   ELANIA       SPAMM                        OH     90008958925
25B64A1969155B   ALBERTO      GUERRERO                     TX     75013710196
25B65491661929   LETICIA      GOMEZ                        CA     46007584916
25B65562131631   PHILLIP      HAINES                       KS     90010485621
25B6568A44B588   STEVE        PHELPS                       OK     21537436804
25B6591539155B   ARTURO       JARA                         TX     90011509153
25B66259291828   WINNETTE     BROWN                        OK     90008492592
25B67481472B88   RAYBRIAN     ARNOLD                       CO     90002804814
25B67513523139   JONAS        GOMEZ                        MI     90014735135
25B6768345B161   TRACI        CHILDRESS                    AR     90005436834
25B67833355957   FRANCISCO    SALCIDO                      CA     90012538333
25B6787995B271   GARY         ALLEN                        KY     68042408799
25B68151971943   CINDY        WALT                         CO     32091621519
25B68195A9155B   SUSAN        LOPEZ                        TX     90012771950
25B6869439794B   DORY         SEALES                       TX     90010806943
25B6924824B588   JAMES        PRATT                        OK     90012852482
25B69284A6B862   JESSICA      CLARK                        WI     90015592840
25B6955989189B   JAKE         HAUBRICH                     OK     90011615598
25B6B967155957   ISMAEL       LOPEZ                        CA     90013109671
25B6B998372447   WILLIAM      OHARA                        PA     90013119983
25B7132A672447   STEPHANIE    MARINOFF                     PA     90011953206
25B7139855B271   SIARA        GORE                         KY     68042113985
25B7142799794B   SHAMEKA      OAKS                         TX     90012874279
25B72462891828   CHASIDY      EDENS                        OK     90013274628
25B72542772B42   SHARA        OATES                        CO     33042535427
25B7257A481661   KHIYANDRE    BELL                         MO     90009785704
25B72841481633   TIONA        NEELY                        MO     90012938414
25B7297665715B   JAQUELIN     DELCID                       VA     90006619766
25B72A3258B16B   JOSHUA       THOMPSON                     UT     90008090325
25B7324A35B271   JANET        STAFFORD                     KY     68011732403
25B73286981637   EARL         MASON                        MO     90012422869
25B73584193731   JEFFREY      MOLTON                       OH     64515235841
25B73682A81661   LUIS         RAMIREZ                      MO     90014166820
25B7374132B839   MIRANDA      JOHNSON                      ID     90013167413
25B73783A9136B   VICTOR       RAMIREZ                      KS     90000137830
25B7384775B571   ERICCIA      DAVIDGE                      NM     90014518477
25B73959184364   YOLONDA      GAILLIARD-BROWN              SC     19023889591
25B7398135B161   YAMESSA      BOHANNON                     AR     90007809813
25B73A4787B476   ALONSO       OCHOA                        NC     90010450478
25B73A78172B88   SILVIA       GARCIA                       CO     33039570781
25B7411489794B   CHRISTINA    WILLIAMS                     TX     90012891148
25B7415A691828   RAUL         DELGADO                      OK     90010751506
25B7443682B27B   ANNELL       BUGGS                        DC     90011124368
25B74495781637   ANDREA       BAILEY                       MO     29012714957
25B744A845B271   STEPHEN P    GRUBBS                       KY     90012274084
25B74521A61929   MARIO        MARQUEZ                      CA     90006655210
25B7496692B27B   ANNELL       BUGGS                        DC     90013619669
25B751A2291828   XION         KUE                          OK     90014741022
25B7538A155957   MANUEL       VASQUEZ                      CA     90013663801
25B7588933B384   ZACHARY      FLACH                        CO     90009218893
25B758A5381633   DONALD       NOBLE                        MO     90012328053
25B75A72541245   PATRICIA     NESTOR                       PA     51028830725
25B75AA617B471   JASON        BIRD                         NC     90015160061
25B766A8271943   BRITTANY     DUGGER                       CO     32070296082
25B76975A7B471   HINNA        JOHNSON                      NC     90014159750
25B76A69A9136B   SHAVEL       RICE-MOORE                   KS     90014900690
25B7719859155B   ELIZABETH    ROSALES                      TX     75053531985
25B77323255957   JOEL         MEJIA                        CA     90014583232
25B77333A9184B   KRYSTAL      IRVING                       OK     90013743330
25B7736814B281   SHANETRA     WATTS                        NE     90005293681
25B77415272B32   HEIDI        HIRSCH                       CO     33015014152
25B77567485938   WILLIAM      STAFFORD                     KY     90005245674
25B77672491528   JOSE         MIRAMONTES                   TX     75021126724
25B777A244B588   JOHNATHON    ADAMS                        OK     21524637024
25B7781719184B   KRYSTAL      IRVING                       OK     90015248171
25B7842552B839   JASON        BROWN                        ID     42009884255
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25B785A492B975   BRENT NATHANIEL   CUTERI                  CA     90012245049
25B7864575B161   DONNA             THOMPSON                AR     23082826457
25B7881269794B   SECUNDINO         CUA                     TX     90006838126
25B7922812B27B   CRYSTAL           KITT                    DC     90014662281
25B79341931453   NIKO              DRAKE                   MO     90014143419
25B7957272B839   SCOTT             WARNER                  ID     42011665727
25B7964344B261   LAKEISHA          TURNER                  NE     90014636434
25B7B43137B656   SUPRENA           WYATT                   GA     90011414313
25B7B82219136B   CHRIS             EVERETT                 KS     90013938221
25B7BA5A151328   ALLISON           KOELBLIN                OH     90000230501
25B8145439794B   LUCERO            GRANADOS                TX     90009514543
25B81824691828   AUSTON            GOE                     OK     90015308246
25B81A57A81661   SHAWNTA           PRICE                   MO     29015160570
25B82399971928   BEN               GOODWIN                 CO     90007893999
25B82424593731   TAMRA             WIKOFF                  OH     90011254245
25B8257714B281   PATRICIA          BANDERAS MARTINEZ       NE     90009985771
25B8262447B477   IRIS              WATSON                  NC     90014876244
25B8273497B449   MICHAEL           MOORE                   NC     11043827349
25B82748443551   DUSTIN            BURCH                   UT     31012877484
25B82927831453   JASON             WITTE                   MO     90013829278
25B82A4895B161   ERIC              KIDD                    AR     90000830489
25B82AA6457157   IRIS              MOLINA                  VA     81080830064
25B83116793731   GREGORY           LEE                     OH     64524481167
25B8334A49189B   CONNIE            SMITH                   OK     21085233404
25B83392957157   DOMINGO           VELASQUEZ               VA     90012473929
25B8345465B271   MARGARET          SLOAN                   KY     68043064546
25B83528371928   CRYSTAL           BAILEY                  CO     32050695283
25B843A3671928   MARIA             HERNANDEZ               CO     90010413036
25B84624871928   LATOSHA           BOWMEN                  CO     90012786248
25B84718372B88   SEFERINA          RIVERA                  CO     33066897183
25B84A7757B471   GUOI              BAHLBI                  NC     90008230775
25B85755A51328   THOMAS            SORRELL                 OH     90011327550
25B85A6834B281   BRIAN             LANAM                   NE     90007930683
25B85A76457157   ALFREDO           HERNANDEZ               VA     90012960764
25B863A764B588   LINDA             GLOVER                  OK     21590673076
25B86449271928   CHRISTOPHER       MEEHAN                  CO     90012414492
25B8649655B271   OMAR              DE LA CRUZ              KY     90000674965
25B864A735B161   ANTWONE           DANIELS                 AR     90014884073
25B8674A92B839   CLARENCE          KONERTZ                 ID     90006927409
25B86868957157   JULY              BARBARAN                VA     90014228689
25B871A9372447   LEA               SLUSAR                  PA     90014471093
25B87799731433   MICHELLE          SANFORD                 MO     90010587997
25B87829172B25   PEREZ             ZULEMA                  CO     33024558291
25B87984A9189B   SUSAN             NELSON                  OK     90006449840
25B8822A581637   PETER             SHAPIRO                 MO     90014122205
25B88399593731   CHAD              MAYES                   OH     64588083995
25B88564771943   EMMA              HOLMES                  CO     90010305647
25B88812331433   THOMAS            CAESAR                  MO     90010588123
25B892A225B571   LA SHAWN          PEOPLES                 NM     35093962022
25B89517572B32   DAWN              GREEN                   CO     33087975175
25B89693181661   DANNY             WALKER                  MO     90014166931
25B8969717B477   QWASHALA          DAWKINS                 NC     90014876971
25B89749855957   JESUS             VILLAPANDO              CA     90001587498
25B8991874B281   KIMBERLY          PLUMMER                 NE     27096109187
25B8B43549189B   SANDRA            PRICE                   OK     90010724354
25B8B5A685B571   JOSE              BENCOMO-CHAVIRA         NM     90011625068
25B8B618A72B42   GENE              BERRY                   CO     90002896180
25B91374271943   JOSE              RODRIGUEZ               CO     90013683742
25B91382961939   CHRISTOPHER       LAWRENCE                CA     90003103829
25B91681184364   LARETHA           ADAMS                   GA     19012646811
25B9182137B471   HUMBERTO          DELGADO                 NC     90010168213
25B92329A91522   MARTHA            JORDAN                  TX     90005613290
25B9249364B281   KENDAL            MORELAND                NE     90015494936
25B9253A671923   MICHEL            DECKER                  CO     90002175306
25B92541757157   GERMAINE          HACKEY                  VA     90012995417
25B92758581633   ROBERT            TRUSS                   MO     29001057585
25B92984A9189B   SUSAN             NELSON                  OK     90006449840
25B93172472B42   JAMES             RUBESNE                 CO     90015101724
25B933A295B161   KATE              THIPASEUTH              AR     90005793029
25B9347A99794B   VICTORIA          BOHLER                  TX     90012524709
25B93675593731   PATRICK           DOOLAN                  OH     90013006755
25B93745272B42   KATHRYN           PARENT                  CO     90011947452
25B9374A19189B   DAJAUNNA          MOORE                   OK     21019027401
25B9378A371928   CARLA             PAYNE                   CO     90013247803
25B9397974B588   ANTHONY           HAWTHRORE               OK     21556999797
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25B93A3675715B   KIERSTA           WOOLFREY                VA     81065790367
25B94227972447   GEORGE            DIAZ                    PA     90001112279
25B9469A491522   SANDRA            VALDEZ                  TX     90012886904
25B95383472B32   JENNIFER          RODARTE                 CO     90012753834
25B95859661992   HECTOR            ARECHIGA                CA     46016348596
25B9613889184B   MICHAEL           LAMB                    OK     90012851388
25B9659385B161   ARIHANNA          STARKS                  AR     90013355938
25B96716981661   ERIC              SPEARMAN                MO     90014167169
25B9679144B588   BRANDEN           BUCHANAN                OK     90010537914
25B9682539184B   JENNIFER          HARPER                  OK     90015258253
25B97189181637   RANDY             HALL                    MO     90012731891
25B9732175715B   ONELIO            VILLATORO               VA     90011633217
25B97763172B88   JOHN              LIBBY                   CO     33069697631
25B9785882B839   SELENE            MEJIA                   ID     90014518588
25B9789119794B   JACOB             MENTZ                   TX     90009908911
25B97972172B42   GLORIA            MORALES                 CO     90009119721
25B9838862B839   FRANCISCO         ALVARADO                ID     90014273886
25B98459631631   ARACELY           FORTIZ                  KS     90013954596
25B98494971928   BEATRICE          PEREZ                   CO     90014404949
25B98514591828   MICHAEL           HUTTON                  OK     90010775145
25B9851A957538   LUIS              GUTIERRES               NM     35509855109
25B98773A81661   STEVEN            DODDS                   MO     90009477730
25B987A425B571   MAYTE             URBINA                  NM     90014587042
25B9883A37B449   STAR              LAMISON                 NC     90014278303
25B99248472447   JEFFREY           KROFCHIK                PA     90013802484
25B9944892B27B   MASUMA            CHOWDHURY               VA     90012714489
25B994A164B281   LENNY             RUBEK                   NE     27080764016
25B9975562B27B   NATALIE           THOMPSON                DC     90011327556
25B9993A781633   MARVIN            BRUNTMYER               MO     29087399307
25B9B13944B281   DAVID             GOLIDA                  NE     90012961394
25B9B14245B271   KENZIE            KAPPEL                  KY     90015061424
25B9B19249155B   JESUS             ALEJANDRO               TX     75076461924
25B9B1A5A4B588   CASSANDRA         WELLMAKER               OK     90013231050
25B9B55325B161   TERRANCE MOSEBY   MOSEBY                  AR     90015205532
25B9B576955957   JORGE             JIMIENEZ                CA     90005695769
25B9B68A181661   SYDNIO            BROWN                   MO     90015026801
25B9B6A492B839   JENNY             COLLARD                 ID     90001176049
25B9B719693767   TAKEISHA          PERKINS                 OH     90011407196
25B9B826771928   MATT              YOUNG                   CO     32045818267
25B9B873A81687   MICHAEL           MAY                     MO     90002058730
25B9B897881687   MICHAEL           MAY                     MO     90012948978
25BB1154731453   LEOLA             JACKSON                 MO     27521491547
25BB118649136B   SENO              BLACK                   KS     90013941864
25BB129785715B   SORAYA            DEL VALLE               VA     90012162978
25BB131A772B88   LEELEE            PEREZ                   CO     90013853107
25BB2259391828   FLEETA            DAVIS                   OK     90009342593
25BB244469184B   SANDRA            SANCHEZ                 OK     90013394446
25BB266599189B   CHARLES           CURTIS                  OK     21091166659
25BB2787193731   ANGELA            HUFFMAN                 OH     64532087871
25BB282419794B   OLGA              VILLANUEVA              TX     90008438241
25BB3434491522   ILIANA            CERINO                  TX     75041014344
25BB3551A57157   JUSTIN            TERRELL                 VA     90014725510
25BB3949485938   LASHA             HADDIX                  KY     67024189494
25BB411454B281   KRISSY            THORNBURG               NE     27047911145
25BB46A8A93731   MATILDA           SENAYAH                 OH     90013966080
25BB5327371943   JARED             CARTER                  CO     90015423273
25BB5535393731   KENYATTA          LINDER                  OH     64593355353
25BB5964771943   JESUS             BUSTAMANTE              CO     32083429647
25BB59AA74B588   KEVIN             SKELTON                 OK     21557029007
25BB6417A71928   SARA              BOYSON                  CO     32061844170
25BB6955657157   DONALDO           VELASQUEZ               VA     90001659556
25BB7A11872B32   LETICIA           RODRIGUEZ               CO     33045900118
25BB7A17976B22   PAOLA             ORTIZ                   CA     90014210179
25BB8771472B42   ELVIRA            TORIBIO                 CO     33001327714
25BB8A4212B27B   FREDDIE           JACOBS                  DC     90013960421
25BB9455291828   GENEA             BOYCE                   OK     90015084552
25BBB256772447   SUSAN             RUPP                    PA     90015342567
25BBB3A9781633   FERNANDO          MANUEL                  MO     90013193097
25BBB562431433   ADAM              MOELLERING              MO     27535685624
25BBB65989136B   MAGGIE            THOMAS                  KS     90013936598
25BBB835172B42   MELISSA           LUCERO                  CO     33077888351
25BBBA6359155B   JESSE             YANEZ                   NM     90014140635
26111383A91953   TYSHELL           PERRY                   NC     90014613830
2611179422B27B   PATRICIA          JONES                   DC     90008857942
26111895972B32   ALFREDO           HERNANDEZ III           CO     90012478959
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2611191585B161   SAM          NORRIS                       AR     23019219158
2611273945715B   YAA          DUAH                         VA     90006137394
2611278689189B   JESSICA      HOLAHTA                      OK     90014867868
2611343582B27B   DENICE       SAVAGE                       DC     90012204358
2611459482B232   DONNA        PERKINS                      DC     90005825948
26114A5947B449   ROBIN        MARTIN                       NC     90014580594
2611528984B281   WANDA        NICHOLS                      NE     27030422898
2611546584B261   PAULA        RAMSEY                       NE     27017964658
26115498572B29   IVAN         BENATINSKY                   CO     90001364985
26115575372B32   DEVONIE      ROMERO                       CO     90014485753
2611563569136B   GLORIA       RUSELL                       KS     29007596356
2611597A74B521   AMANDA       TOTSCH                       OK     90008399707
26116A5417B471   APOLINAR     PEREA                        NC     11020140541
26116A9469184B   DERRICK      WALKER                       OK     90013830946
2611784964B588   JUSTIN       HARTWELL                     OK     21511698496
2611821845B271   EDWIN        BROWN                        KY     68004272184
26118638172B32   FRANCISCA    STEVENS                      CO     90013506381
26119A5972B96B   JOSE         VALENCIA                     CA     45006020597
2611B288384364   CLAUDIA      PEREZ-REYES                  SC     19013892883
2611B58313B364   CLYDE        LAY                          CO     33049005831
2611B76759189B   MARCOS       MENDOZA                      OK     90014867675
2611B786A72B42   JOSE         JUAN ARAIZA                  CO     90000467860
26121638A4B588   LUCELLY      ARCILA                       OK     90009796380
2612187779136B   GARY         HICKS                        KS     29009388777
26121A1367B477   WILLIAM      SPRINKLE                     NC     11032840136
2612217812B27B   MANUEL       GUTIERREZ                    DC     90013271781
2612222A95B57B   FLORENCIO    TERRAZAS                     NM     35010542209
2612232A34B588   JAMES        DIGGS                        OK     90007833203
2612365469712B   QUAYSHAUN    SANDERS                      OR     90010556546
26126A7A955957   MAIRA        ANDRADE                      CA     90011430709
26127319A55977   KARINA       RIOS                         CA     90012393190
261278A769184B   PEDRO        LOPEZ                        OK     21066758076
261281A3A9184B   DIANA        PANTOJA                      OK     90013831030
2612833835B271   WILLY        BLANE                        KY     90012283383
2612838489136B   VALERIE      WESLEY-BROWN                 KS     29014503848
2612846A572B42   JEFFREY      REYNOLDS                     CO     90011874605
261285A3972B32   NEAL         JONES                        CO     90011895039
2612B94799184B   SANDY        MCCARTY                      OK     21084519479
2612BA59555977   EDITH        CELIS                        CA     90012340595
2613113592B232   VICTORIA     BRANCH                       DC     90001971359
2613115A79189B   VALENCIA     HADLEY                       OK     90014301507
2613125379184B   MUHAMMAD     DURRANI                      OK     90013252537
261318A7191522   SALOMON      POLANCO                      TX     75012848071
261319A514B261   SARAH        BECKMAN                      IA     27069499051
2613236A991528   JOSE         ZAMORA                       TX     75095203609
26133354772B88   MARK         HILL                         CO     90014633547
26133548372B29   ARIEL        BROUILLET                    CO     90014355483
261347A9772B42   ROBERT       WILLIAMS                     CO     90013527097
26134896172B32   MARK         ISACCS                       CO     90012458961
26134A7A961921   MARTHA       RAMIREZ                      CA     90011460709
26135634A81661   DONNIE       JAMISON                      MO     90010846340
261361A2572B32   ANDREW       MONTOYA                      CO     90014071025
26136A51457157   ANTHONY      THOMAS                       VA     90012030514
26137335691B44   ASHLEY       BELL                         NC     90014363356
2613762A44B261   HEATHER      OBARA                        NE     90000406204
261376A3955957   OSCAR        PONCE                        CA     90014946039
26137A2844B281   TONI         KELLY                        NE     90004600284
2613913819136B   TERRY        AWASOM                       KS     29008551381
2613954A484364   CHRESS       JACKSON                      SC     90015175404
2613969324B261   SHAYLA       KERNELL                      NE     90010156932
2613B479191522   ELIJAH       TAYLOR                       TX     90010274791
2613B68559712B   LENA         BROWN                        OR     90010536855
2613B71957B477   ANTHONY      RENDLEMAN                    NC     90006857195
26141313572B88   YESI RAQUE   HERNANDEZ                    CO     33076133135
261413A9572B32   TINA         TRUJILLO                     CO     33067843095
2614152744B588   EDUARDO      ROJAS                        OK     21514855274
2614184379189B   ROBERT       SWANFELD                     OK     90014868437
26141A39655977   JOSEFINA     BECERRA                      CA     48073080396
2614241A955977   JULIE        HILL                         CA     90009264109
2614393637B449   KAREN        WILKERSON                    NC     90009139363
2614437437B449   DWAYNE       WORTHINGTON                  NC     90000613743
261451A8431631   PAYGO        IVR ACTIVATION               KS     90007421084
261454A4684364   JAMES        BROTHERS                     SC     90012874046
2614584A455957   REBECCA      LAM                          CA     48067458404
26146211A4B588   CAROLYN      ALSUP                        OK     21589602110
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2614647474B281   JEOVANY           MIRANDA                 NE     90006544747
2614782979184B   MARIA FELIX       MADERA                  OK     90011808297
26148163472B73   SHAQUOYA          HODGES                  CO     90013061634
2614854279155B   EZEQUIEL          APARICIO                TX     90010065427
2614875488B188   YASMIN ANDREINA   PEREZ                   UT     90011767548
2614886315B54B   MANUEL            HURTADO                 NM     90014638631
26149214A72B42   ANNMARIE          PRESTON                 CO     90014542140
261499A4A72B29   GEORGE            PALM                    CO     90012799040
26149AA4A91828   MARCO             COOK                    OK     90014650040
2614B249355977   BENJAMIN          LIRA                    CA     90009792493
2614B322555977   PAUL              PERRY                   CA     90003923225
2614B57A991828   CANDACE           LOGAN                   OK     90010125709
2614B81249155B   DANIEL            SEGURA                  TX     90006448124
2614BA8A44B261   NICOLE            DUFFIELD                NE     90011010804
2615237165714B   MARVIN            MARQUEZ                 VA     90007493716
2615341A991522   ROBERT            LUCERO                  TX     90013444109
26153589A93727   JASMINE           KIDD                    OH     90008645890
2615366A272B29   KRISTI            AMAROSA                 CO     90002326602
26155384772B98   PATRICIA          AGUILAR                 CO     90001293847
2615568A891522   GONZALE Z         AMANDA                  TX     90002546808
26155A8564795B   VELDA             ALANIS                  AR     90010330856
2615636619189B   ERICA             MAGEE                   OK     21019283661
26156988A84364   TAMMY             HAMILTON                SC     90006619880
26157467272B29   BEATRICE          PASILLAS                CO     90012574672
26157A7867B477   ROBERT            MCCASKILL               NC     11018380786
26157A88455957   ANNA              HERNANDEZ               CA     90003430884
2615892145715B   LUIS              ECHALAR                 VA     81077319214
261589A9A91522   MARCO             CAMPOS                  TX     90009559090
2615911949184B   ALLEN             HUBBARD                 OK     90013831194
2615B888791241   CALVIN            SHIGGS                  GA     90008758887
2615B951384364   BRIAN             HOOPER                  SC     90008869513
26161185372B32   LUPITA            ROMANO                  CO     90010741853
2616137859155B   GABRIEL           DIAZ                    TX     75020443785
2616146512B27B   TAQUISHA          BRANCH                  DC     90012324651
26161A5125714B   AMANDA            DAYSON                  VA     90000120512
26162116A72B88   ROBERTA           RATCLIFF                CO     33020751160
26163476172B88   MICHAEL           YAZZIE                  CO     90012794761
26163854A57157   CAROLINA          ESCOBAR                 VA     81022478540
261639A179189B   PAULA             GUTIERREZ               OK     90014869017
261641A4772B88   ISMAEL            GONZALEZ                CO     33042601047
26164814572B32   CRISTHIAN         CARRASCO                CO     90003358145
26165261772B32   AHUEDON           JONES                   CO     33033572617
2616572A731433   ROBIN             CHAFFIN                 MO     27589407207
2616655997B449   TASHIBA           MCCLELLAN               NC     90002705599
26166824272B29   DANELL            BAKER                   CO     90013868242
26167214A72B42   ANNMARIE          PRESTON                 CO     90014542140
26167476872B88   BRANDON           LOPEZ                   CO     90012794768
26167489672B29   EDITH             CISNEROS                CO     90014994896
26168313572B32   JOSE              NUNEZ                   CO     90012503135
2616891289189B   ARMIDA            FLORES                  OK     90014869128
26169567872B32   JULIO             MORALES                 CO     33041845678
2616962814B261   RANDY             ALLEN                   NE     27035246281
2616B63189184B   BRIDGETT          WRIGHT                  OK     21018056318
2616B733455957   ERNESTO           RODRIGUEZ               CA     90015197334
26171716A72B88   MARGARITA         GARCIA                  CO     33056357160
2617176566B381   RON               GUTOWSKI                NH     90014197656
26171A51491522   RUBIO             GABRIEL                 TX     75097670514
26172211A9184B   KALY              MCMANUS                 OK     90009032110
2617297A65B571   ANGELIC           ROMERO                  NM     35046909706
2617334517B422   AZIEB             WOLDU                   NC     90001453451
2617349529155B   ERIKA             TORRES                  TX     75096884952
261734A212B232   YOLANDA           PHARR                   DC     90003314021
26173A85484364   BRADLEY           JIMENEZ                 SC     90001660854
2617458A19189B   FELICIA           RAMOS                   OK     90010365801
26175991172B29   JUAN              MARTINEZ                CO     33002119911
26176A84972B32   BERTHA            MORALES                 CO     33023420849
2617762375B161   JAY               SOLOFF                  AR     90003856237
2617829324B592   SANTOS            HERNANDEZ               OK     90012732932
26178327A91953   MANUEL            CABRERA                 NC     90008693270
26178A12257157   TIM               SERGENT                 VA     90012240122
26179438A2B232   JOHN              WAYNE                   DC     90005834380
26179634672B32   TABATHA A         HALSELL                 CO     33054176346
2617985664B261   SHELLY            MARSOLEK                NE     27014148566
26179949A55957   MARIA             RUIZ                    CA     90013049490
2617B34319184B   ASTASHA           HELTON                  OK     90009093431
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2617B46585B37B   BANGBA         ASEKA                      OR     90013404658
2617B793172B32   JUSTIN         TROUDT                     CO     90001457931
2617B884291383   TAMARA         SANDERS                    KS     90006448842
2618193218B324   SYRETTA        LONG                       SC     90009159321
26181A21957157   JULISSA        CLIMA                      VA     90012180219
26182A8868B184   JORGE          GARCIA                     UT     90007740886
2618377465B161   SHOPIELYNN     LAISEN                     AR     90011087746
2618438634B261   KENNETH        WORTMAN                    NE     90007503863
2618447887B477   JONATHAN       WILLIAMS                   NC     90007484788
26184624A91953   ANNA-MARIE     STARNES                    NC     17029226240
26184668772B32   SATENIK        HAVANISYAN                 CO     33092346687
2618495A29189B   ANGELIC        BARRIOS                    OK     90014869502
26184A6539184B   ALLISON        DAUGHERTY                  OK     90012090653
26185119372B32   BRIANNA        BROWN                      CO     90014391193
26185297372B29   ANTHONY        FERONA                     CO     90013812973
26186549972B32   VANESSA        BACA                       CO     90012655499
2618658914B261   ERNESTO        RIVERA                     NE     90012115891
26186738A4B588   CHASITY        WHITE                      OK     90013367380
26186A7795B161   TRESSIE        JACKSON                    AR     23005880779
2618773719189B   ERSELL         BEARD                      OK     90012547371
26188335172B88   MIRNA          MEJIA                      CO     33052233351
26188463772B32   GETHSEMANE     TEMPLE                     CO     33034844637
2618896659189B   JACQUELINE     DAVIS                      OK     90014869665
2618967455714B   OBISPO         JUARES                     VA     90004406745
261896A393B364   TERRI          MEANS                      CO     90006966039
26189829172B32   BRANDY         JONES                      CO     90011038291
2618B3A494B281   JOSE           ROLANDO                    NE     90000173049
2618B75A47B449   JOHN           COFFIN                     NC     90011477504
2618BA75261985   JUAN           BENAVIDES                  CA     90006380752
2619197199189B   DEAWNA         BROWN                      OK     90014869719
26192131772B29   JEREMIAH       CHILDS                     CO     90008811317
2619274977B449   ROBIN          HAYES                      NC     90013597497
26192A6434B281   LORAINE        LAFFERTY                   NE     90010500643
2619397369189B   GLORIA         LUJANO                     OK     90014869736
26193AA4255977   ORLANDO        MENDOZA                    CA     90007990042
26194A4227B471   CLEOFE         REYES                      NC     90004260422
26195A9675598B   SERGIO         LOPEZ                      CA     90009610967
2619664A441B41   BAYRON         MENDEZ                     MD     90003086404
26196692A55931   MARGARITA      GUTIERREZ                  CA     49061156920
2619682639155B   ELIZABETH      SIERRA                     TX     90005458263
2619789182B28B   GINA           MILLER                     DC     90010508918
2619798189189B   CHRISTINA      RYAN                       OK     90014869818
26198131A5B161   EARL           WESTBROOK                  AR     23020451310
2619839A19184B   LAURI          MAGANA                     OK     90014583901
2619944274B588   DEVON          BENNET                     OK     90014624427
261B12AAA2B27B   ANA            ESCOBAR-RAMIREZ            DC     90012372000
261B1354591522   TONY           PONCE                      TX     90013203545
261B1631A4B543   ELMA           ELIAS                      OK     90008306310
261B18A9272B42   NELSON         CARRILLOS                  CO     33071948092
261B1A8149189B   LAURA          CIROCCO                    OK     21003690814
261B2116281661   ERIC           J PETERSON                 MO     90001891162
261B2285391828   JACKIE         CAFFEY                     OK     21096652853
261B2334941245   SHYRON         DYER                       PA     90012663349
261B2427A5B161   THERESA        JOHNSON                    AR     23075284270
261B2558172B32   ROBERT         KASLOW                     CO     33027985581
261B2571131631   JIM & MELODY   HARRISON                   KS     90015205711
261B275339155B   MANUEL         CASAS                      TX     75098777533
261B314154B281   SHERIE         OROZCO-RAMIREZ             NE     90004521415
261B3226855957   NORI           PACHECO                    CA     90007842268
261B3513793753   CHRIS          MORELAND                   OH     90000545137
261B443422B27B   ERIKA          ARNOLD                     DC     90013204342
261B444585B247   CANDACE        SCOTT                      KY     90014794458
261B448565B571   JOEL           RODRIGUEZ-MIRAMONTES       NM     90003374856
261B4698151322   DANIEL         PFIRMAN                    OH     90004006981
261B4852931631   REBECCA        GRACY                      KS     22097638529
261B5A39831631   JOHN           ROBINSON                   KS     90000130398
261B6435172B88   DERRICK        OGMAN                      CO     90012634351
261B6445155977   EVA            ARENIVAS                   CA     90012574451
261B656A94B261   GRACE          MONTES                     NE     90013225609
261B6926A91953   AKUL           NGONG                      NC     90014499260
261B6987572B29   TENEILL        THOMPSON                   CO     90013829875
261B69A7A84364   TERRY          WALTON                     SC     90013769070
261B7155891953   JOSSELIN       ESCOBAR                    NC     90015141558
261B7226855957   NORI           PACHECO                    CA     90007842268
261B7432791828   SHAWN          MITCHELL                   OK     90014874327
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261B752727B471   SHERYL       HILL                         NC     90013215272
261B85A9A84364   CHRESS       JACKSON                      SC     90015175090
261B8625391522   KAYLA        WILSON                       TX     90013566253
261B864584B592   STEVEN       NICHOLS                      OK     90001096458
261B877699184B   CARMEN       GIBNEY                       OK     90010757769
261B8817955977   JANET        PUGA                         CA     48047448179
261B8916151369   KATHERINE    UPSHAW                       OH     90009089161
261B9235A84364   GUY          AHLSTROM                     SC     90014802350
261B9297A5715B   JAUNTO       DE LEON                      VA     81015722970
261B9434291953   EVELIO       GARCIA                       NC     90011254342
261B954A29155B   VERONICA     MIRAMONTES                   TX     75036605402
261B9938857157   ROBERT       GOFFREDO                     VA     81025869388
261B9A38891241   ELIZAMA      BECERRA                      GA     90006110388
261B9A81972B32   STACI        VIGIL                        CO     90011950819
261BB645481661   OMINI        ANDERSON                     MO     29048956454
26212526472B42   SHAWN        DOZIOR                       CO     33052675264
2621275894B261   BRANDON      BYRD                         NE     90014957589
2621282915B161   ERICA        PITTS                        AR     90010998291
26213482272B29   MARCO        JIMENEZ                      CO     90012374822
2621364655B161   EMILY        IVES                         AR     90014696465
262138A5291528   SANDRA       HERNANDEZ                    TX     75093798052
26213A6595715B   CLADI        GARCIA                       VA     90006330659
26213A78372B42   ALMA         PLAZOLA                      CO     90004910783
2621462169136B   LASHEIA      WILLIAMS                     KS     90006796216
2621468A59184B   RICARDO      SALINAS                      OK     90001986805
26214A3719189B   MICHAEL      HEATH                        OK     90014870371
26215876372B88   MICHAEL      KLEIST                       CO     33036558763
2621592A84B281   BRANDY       GERREN                       NE     27026399208
26215A64191522   BRANDY       LIPAROTO                     TX     90003890641
2621618A972B29   ANTOINETTE   BAKER                        CO     90014741809
26216658A72B42   SOCORRO      PERALES                      CO     33058766580
26217761724B6B   JOSE         COLINDRES                    VA     90013527617
26217A84857157   JORGE        GOMEZ                        VA     90000650848
262194A335B161   KEVIN        CURRY                        AR     90013054033
26219927A4B281   AMANDA       TAYLOR                       NE     90010299270
2621B117884364   CHANCE       ROBERTS                      SC     90013951178
2621B39924B588   MYCHAELA     DAVIS                        OK     90010863992
2621B774691828   RAFAEL       TORRES                       OK     90014727746
2622115274B261   RONALD       KARNETT                      NE     27047561527
2622139A19184B   LAURI        MAGANA                       OK     90014583901
2622173249152B   JORGE        GIBBS                        TX     90008677324
26221733472B32   MARIA        GONZALES                     CO     90011597334
26221847372B88   ANA          MARTINEZ                     CO     90013028473
26222A73781661   WILL         SHAUIB                       MO     90010500737
2622389474B261   STEVE        FOSTER                       NE     27002108947
26223A55777523   ALLAN        LEMUS                        NV     90010680557
2622475425B161   MONTEZ       PORTER                       AR     90014567542
262248A4855977   SILVIA       URBANO                       CA     90014468048
2622581269184B   ARMANDO      MUNOZ                        OK     90010758126
26225A18251369   ADAM         THOMSSON                     OH     66092940182
26225A4567B471   ISMAEL       TERAN                        NC     90004260456
2622628568B324   CHANDRIA     DICKERSON                    SC     90000992856
262263A1A7B477   ASHLEY       SANDERS                      NC     90011623010
2622657854B261   JEFF         BANFIELD                     NE     90005435785
26226691572B32   MARIA E      LOZANO                       CO     33054176915
26226A5789189B   GRANT        LOHNBAKKEN                   OK     90014870578
262274A665B571   JOLEANA      PARMENTIER_LUJAN             NM     35088584066
26227729A41245   THOMAS       SUPRA                        PA     90006387290
262279AA591953   VICTOR       CARILLO                      NC     90011949005
262283AA272B29   LORRAINE     SANTANA                      CO     33048353002
2622867839189B   KELLY        PARKER                       OK     90014876783
2622B66697B477   AMAIIA       JIMENEZ                      NC     90012676669
2622B88139136B   VICTOR       SILVEYRA                     KS     29033758813
2622B95338B182   JEREMY       PAINTER                      UT     90007809533
2622BA59781661   LELA         CONLEY                       MO     29063590597
2622BA6A59189B   JEFF         DAVID                        OK     90014870605
26231A91885938   SAMUEL       RODRIGUEZ                    KY     90009580918
26232953772B29   CHANTAE      MARTINEZ                     CO     90005949537
2623317289184B   SUE          DUNCAN                       OK     90013831728
262333A4472B42   MIKE         LOPEZ                        CO     90010733044
2623437946B134   ARTEMIO      LLERNANDEZ                   MS     90015363794
26234446772B29   NOE          OSORNIO                      CO     90014444467
2623444699155B   NANCY        LOPEZ                        TX     75094484469
262346AAA4B281   EMILY        MCVEY                        NE     90011706000
2623477927B449   MANUEL       SANCHEZ                      NC     90015187792
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2623486495B161   MICHEAL      HILL                         AR     90012878649
26234982272B29   MARIA        CARDOZA                      CO     33074109822
26235416972B88   MONICA       GOODBURN                     CO     33050794169
2623559374B281   JODI         HOMER                        NE     90006405937
2623635859155B   ANA          CENICEROS                    TX     90002733585
26236758772B32   JAVIER       CRUZ                         CO     33002357587
2623819A45B28B   ABEL         DELGADO                      KY     90000471904
26239424A85B6B   MICHELLE     HOULDIN                      FL     90015424240
262394A215B243   GLORIA       JACOBS                       KY     90015114021
26239571A57157   LASHANDA     BAKER                        VA     90010285710
2623978944B588   TYREKE       JONES                        OK     90006847894
2623B224576B8B   DANIELS      ALAN HINTON                  CA     90013072245
2623B77925B161   DORIS        CLINKSCALE                   AR     23020677792
262415AAA57157   MIZANE       BORELAND                     VA     90013935000
2624188157B449   WILBERT      BROGAS                       NC     90013248815
2624247A74B588   BRANDON      HUGHES                       OK     90012464707
2624289825B571   LORIANN      ROMERO                       NM     90003378982
2624339575B571   ANTHONY      MARTINEZ                     NM     35092893957
26243839A91522   JOSE         ESCARCEGA                    TX     75083258390
2624456397B449   ALONZO       WASHINGTON                   NC     90014755639
2624545A872B88   ROSALES      SALVADOR                     CO     90000904508
2624567849189B   NICHOLLAS    LANKFORD                     OK     90014876784
26246292A57157   JESSICA      PAREDES                      VA     90012752920
26246668872B42   ADRIAN       ONTIVEROS                    CO     33023376688
2624732635B161   SHUNATEL     SAIN                         AR     90014573263
2624745124B553   ARTURO       RODRIGUEZ                    OK     90010674512
2624745659133B   MEOLETHA     NEWTON                       KS     29003674565
26247978272B32   BOBBIE       ROLLINS                      CO     90014579782
262487AA39189B   JOELLA       BEBEE                        OK     90014877003
2624893132B232   BREANNA      WOMACK                       DC     90005839313
26249338172B42   CAROLINE     PASILLAS                     CO     90010233381
26249469A9184B   MONICA       MARKHAM                      OK     21049174690
2624971852B27B   AJA          BRYCE                        DC     90015097185
26249765472B88   VANNESSA     SOTO                         CO     90004107654
2624B671377562   FRANCO       BRIAN                        NV     90008356713
26251A8A94B281   GINA         KENNEDY                      IA     90008050809
2625267237B477   ISAAC        VIVEROS BAUTISTA             NC     90011626723
2625298464B261   BROOKE       TIEDEMAN                     NE     27052579846
2625321A831631   CLAUDE       HALE                         KS     90013932108
2625498A591241   GEORGE       BETTERSON                    GA     14579569805
2625573A14B588   SAYLOR       HANNA                        OK     90014027301
26255936172B88   RHENNA       RIVERA                       CO     33078929361
2625619584B261   TRISHA       CHLEBINSKI                   NE     90002741958
2625673369189B   NOE          THOMPSON                     OK     90014877336
2625842639136B   ANA          ROTHWELL                     KS     90006774263
26258429272B29   REBECCA      CASTILLO                     CO     90015264292
26258587172B29   ANGEL        RAMIREZ                      CO     90013055871
2625874169189B   ANSHANIQUE   MONDAINE                     OK     90014877416
2625916823B333   JOSHUA       JOHNSON                      CO     33054471682
2625969499184B   ALISON       THOMAS                       OK     90008716949
26259A57384364   AMBER        WILLIAMS                     SC     90010920573
2625B484191522   NORMA        HERNANDEZ                    TX     75007764841
262611A5A72B88   ARMANDO      TORRES                       CO     90009801050
2626128212B27B   BRIAN        COLES                        DC     90012442821
2626132839184B   BETTY        ARROYO                       OK     90014623283
262614A119155B   OMAR         GUZMAN                       NM     75008304011
2626219815B226   PEGGY        LEWIS                        KY     68058321981
2626257819184B   ROBERT       MILLION                      OK     21034225781
2626275993B347   BRIAN        MARTIN                       CO     90005617599
2626286465B271   ANGELA       RANEY                        KY     90000318646
26262A14155957   BRIANA       HERNANDEZ                    CA     90014820141
2626316A431445   JOHN         SHARKEY                      MO     90013331604
2626337A872B32   THOMAS       MCGETTIGAN                   CO     90014443708
2626354AA9155B   EZEQUIEL     RUBIO                        TX     75098245400
2626423785137B   KASEY        VAUGHN                       OH     90011222378
2626425364B588   JESSICA      HAYES                        OK     90013092536
2626469892B27B   PHILLIP      PUGH                         DC     90013686989
26264A98255957   ERNESTO      RAMIREZ                      CA     48062350982
26265632A5B571   AMANDA       ABERLE                       NM     90013616320
26265A9AA47942   CHARLIE      MATTHEWS                     AR     25070020900
26266587A31631   MONTANA      HOLTFRERICH                  KS     90013485870
2626776269189B   KRISTINA     LONG                         OK     90014877626
26267A57872462   NICOLE       GEORGE                       PA     90008490578
26268879A72B86   JUAN         ASTORGA                      CO     90005478790
26268A74872B29   AMANDA       SORRENTINO                   CO     90008210748
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26268AA7A5B571   CRYSTAL         CASAREZ                   NM     90004700070
2626954657B471   SHAWN           COLLINS                   NC     90008145465
2626962637B471   SHAWN           COLLINS                   NC     90014866263
2626B18274B588   VINCENT         JONES                     OK     90014001827
2626B425855957   LAURA           RODRIGUEZ                 CA     90012684258
2626BA2182B232   TERRENCE        STROMAN                   DC     90005840218
26271145672B29   ILEANA          MARTINEZ                  CO     90005101456
262722A1957157   RUBEN           ROMERO                    VA     90006282019
26272381A9184B   KATHERINE       BROWN                     OK     90009893810
26272483A57157   RATHA           SARATH                    VA     90011614830
2627289369189B   BRYAN           LA NEAR                   OK     90008858936
26272921272B32   JAMES           GEHRIG                    CO     90012249212
26273115A61951   ANTONIO         PAREDES                   CA     90011401150
26273585A55977   JESSICA         CASTELLANOS               CA     90014155850
2627377229189B   NAKESHA         MARTIN                    OK     90014877722
2627435A284364   SHAWN           BROWN                     SC     90011293502
262745A9591241   KAREEMIA        POLITE                    GA     90005515095
2627477739189B   MICHAEL         JAROSZ                    OK     90014877773
2627551A741245   JOANN           MILLER                    PA     90014745107
26275912772B88   ROSEANGELA      GALLEGOS                  CO     90012219127
26275956A55977   DEBORAH         FELIPE                    CA     90007639560
2627659914B261   MICHEAL         KNOLL                     NE     90013555991
26276A31372B42   JULIO           SULCA                     CO     33069810313
262777A2791953   SARAH           DUNN                      NC     90013137027
26278162772B29   JAIME           HERRERA                   CO     33002791627
262784A324B281   DENISE          BOJE                      NE     27022084032
2627852247B471   WILLIAM         ECKERMAN                  NC     90007415224
2627915477B477   MARK            LEDFORD                   NC     90000881547
2627931A472B88   DANIEL          VALDEZ JR                 CO     33044663104
26279A17972B26   ANTHONY         BEREAL                    CO     90001660179
26279A96A84354   ANTOINE         MALONE                    SC     90014520960
2627B116291522   JESSICA         RASCON                    TX     90014761162
2627B242A91528   LISA            DE LA O                   TX     75017532420
2627B91175B161   DEMETRIUS       SPENCER                   AR     90011089117
26281531A72B29   TODD            BENSON                    CO     90014105310
26281956A55977   DEBORAH         FELIPE                    CA     90007639560
26281A44A41B26   MARK            PELLINGER                 MD     90015440440
2628213422B27B   LISA            ADELAKUN                  DC     90001421342
26282473472B42   LIDIA           DIAS                      CO     33090474734
2628338845B161   TERRY           COLLINS                   AR     90014573884
2628353A15B571   CATHERINE       NELSON                    NM     35015705301
2628361A455977   ANAYA           PATRICK                   CA     90008396104
26283643372B88   ERIKA           MARTINEZ                  CO     90013496433
26283751672B42   JENNIFER        ARELLANO                  CO     90011307516
262839A7872B32   THOMAS          MOREY                     CO     90012459078
26285169572B88   DOMINGO         ASENCIO                   CO     90013821695
2628534357B477   HEATHER         CARTER                    NC     90011633435
262857A892B27B   TINA            HAWKINS                   DC     90010067089
26286522972B29   MAURA           BAUTISTA                  CO     90005775229
2628656594B588   LASHAWN         TURNER                    OK     90013695659
26286663672B42   PHIL ANTHONY    JUAREZ                    CO     90015366636
26286A38A4B261   ASHLEY          ZAPETA                    NE     90014530380
2628782AA91522   DEZERAE         VANVERTH                  TX     90013828200
262878AAA81661   JULIA           CORE                      MO     29040228000
26287A84357157   JOSE            ROMERO                    VA     90007330843
2628834945B375   TONY            MORGAN                    OR     90005703494
2628942955B161   TAYLOR          EVERETT                   AR     90014574295
26289592772B29   EVELIN          PACHECO                   CO     90015145927
2628964AA31631   JONNIE          HODGES                    KS     22087856400
262898A7A9184B   MARCELINO       LEAL-PEREZ                OK     21000798070
2628B28824B564   ERIC            CALHOUN                   OK     90012192882
2628B38A172B32   OFELIA          BENITES                   CO     90013273801
2628B546172B32   ALICIA          MARTINEZ                  CO     33064055461
2628B868457157   ELMER ENRIQUE   CORTEZ NOLASCO            VA     90007718684
26291A6539184B   ALLISON         DAUGHERTY                 OK     90012090653
26292613972B88   CASSANDRA       GARZA                     CO     90007866139
26293A29A84364   MICHAEL         COHEN                     SC     90014330290
2629437A955977   FELIPE          LOPEZ                     CA     90010913709
262943A929184B   LISA            RUSHING                   OK     90009903092
2629463119155B   JULIE           SOTO                      TX     90001146311
26295299A5715B   ROSA            MONTESINOS                VA     81078752990
26295413772B88   SHANELLE        LOPEZ                     CO     33071434137
26295A85A9136B   LORETTA         WALLER                    KS     90007910850
26296221791B38   ELGAR           GUIFARRO                  NC     90015432217
2629648767B477   LAURA           MARTINEZ                  NC     11049684876
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2629687A972B42   EVELYN        SAILAS                      CO     33071598709
26297252A8B151   LONNIE        TRUJILLO                    UT     90003452520
2629742763B347   ARACELI       BELOERA                     CO     90003544276
26297463572B35   MARGARET      NOVARIA                     CO     90008074635
2629785A29189B   ALEX          MARTIN                      OK     90014878502
262986A4672B42   ANGEL         MORALES                     CO     33011366046
26298789772B88   WINNIA        SANCHEZ                     CO     90013637897
26298A35372B32   BETTY         SCOTT                       CO     33067030353
26299A3779155B   AIME          TERAN                       TX     75045100377
2629B889972B29   NELSON JOEL   GALDAMES CRUZ               CO     90007558899
262B1179231631   JEFF          HALE                        KS     22065671792
262B197369189B   GLORIA        LUJANO                      OK     90014869736
262B2421871224   KATIE         LAUDON                      IA     90001284218
262B25A5685998   TAYLOR        BAKER                       KY     90010605056
262B299379189B   LATOYA        OSBORN                      OK     90014869937
262B3672A51339   SABRINA       BARROWS                     OH     90011206720
262B3742257157   LISA          SMITH                       VA     90013507422
262B3789831631   OSORNIO       VICENT                      KS     90012067898
262B399379189B   LATOYA        OSBORN                      OK     90014869937
262B399934B261   COREY         SCHWALM                     NE     27096219993
262B412949189B   JERRY         KELLEY II                   OK     90013221294
262B461249184B   CORIE         MCGUIRE                     OK     90001316124
262B4896691522   DANIEL O      HURTADO                     TX     90007028966
262B5442881661   SANDRA        SIMENTAL                    KS     90009304428
262B656517B449   CARRIE        GRANT                       NC     11080375651
262B67A175B161   ERICA         LEMONS                      AR     90014567017
262B7496491227   WORKS INC     RIVER OAKS WATER            GA     14506114964
262B7573572B32   LYDIA         HINOJOS                     CO     90013255735
262B761574B261   EDWARD        MCMAHON                     NE     90007036157
262B7926572B88   ABEL          PIZANA                      CO     33098849265
262B8874672B32   ALEJANDRA     GARCIA                      CO     90013318746
262B88A529184B   TAD           SAMPSEL                     OK     90009398052
262B8939A55957   CLAUDIA       MARR                        CA     90012549390
262B8A8315B271   DIANA         HORN                        KY     68084010831
262B9629855957   JESSICCA      GOODMAN                     CA     48089556298
262BB32989189B   DONALD        DEBOSE                      OK     90013293298
262BBA92857157   YORLENI       PALACIOS                    VA     90013050928
263113A5772B29   NICKI         DEE                         CO     90013753057
2631313294B521   MARILYN       MOORE                       OK     21517361329
26314343472B29   MIRIAM        MARTINEZ                    CO     90012413434
2631447142B27B   SHELLEY       RHODES                      DC     81058694714
26314A24A91522   JAIME         LUNA                        TX     75077410240
2631523334795B   MARIA         BERRUM                      AR     25079512333
26315342972B38   SHANNEN       SILVA                       CO     90009253429
2631535714B588   KITTRA        WEISS                       OK     90013433571
2631548A151333   GAYE          HUMPHREY                    KY     66089404801
2631599489155B   OSCAR         NUNEZ                       TX     90000949948
2631653A872B88   MIKE          SMITH                       CO     90013855308
2631689549184B   RONNELLE      SIMS                        OK     90013838954
26316A13772B32   ELEAZAR       CUNYAS                      CO     90014590137
2631713859189B   ANGELA        MCGREGOR                    OK     90007411385
2631869399184B   MICHAEL       BANKS                       OK     90011986939
26318859A72B88   NAKIA         BOYCE                       CO     90013028590
2631B156491828   YESIKA        GONZALEZ                    OK     90012451564
2631B439193757   IDA           COCHRAN                     OH     64556834391
2631B631872B29   PATRICK       DESELMS                     CO     90001586318
26322887772B32   ANGELICA      GARCIA                      CO     90014868877
2632358749184B   DYANE         NEAL                        OK     90013535874
2632375844B588   EDUARDO       IBARRA AGUINAGA             OK     90012547584
2632468394B281   CHARLES       SPRAY                       NE     90001196839
26325174A72B29   KARLA         CHAVIRA                     CO     90005521740
263254A764B588   JENNA         THOMAS                      OK     21586664076
2632554919184B   DANIEL        THORNTON                    OK     90013915491
2632565A92B27B   HELENA        JOHNSON                     DC     90006486509
2632593789189B   JOSE          ALVARES                     OK     90014879378
263266A8A91528   YURIDIA       CARBAJAL                    TX     90006806080
26326745A9184B   CHARLES       REED                        OK     90013237450
26327471A55957   JOSE          AGUAIO                      CA     90000904710
2632756A47B449   JENNY         HERNANDEZ RENTERAL          NC     11058455604
2632786984B588   GREGORIO      ARZOLA                      OK     21573338698
2632795A79189B   RITA          CUELLAR                     OK     90014879507
26327A84A3B333   STEVEN        SWEENEY                     CO     90002850840
263281A8657157   EMMA          HOLLINS                     VA     81006811086
2632845643B39B   JACQUELINE    SALAZAR                     CO     33086384564
263287A5272B32   TAMUNGO       MISAGWE                     CO     33011847052
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1349 of 2350


2632895A79189B   RITA         CUELLAR                      OK     90014879507
2632942644B588   MARIA        RODRIGUEZ                    OK     90012774264
2632995A79189B   RITA         CUELLAR                      OK     90014879507
26329998197B67   MICHAEL      FLORES                       CO     90007159981
26329AAA831631   TIKEYAA      EDWARDS                      KS     90007100008
2632B853757157   IRMA         SIMS                         VA     90011628537
2632B9A497B449   JUAN A       RODRIGUEZ                    NC     90014009049
2633186269189B   MIGUEL       ROJO                         OK     90009608626
2633213A984364   PARIS        COAXUM                       SC     90014901309
263323A9477523   JOELEEN      HARMS                        NV     90014583094
2633247192B232   LAKENYA      TWITTY                       DC     90005854719
2633415535B571   ABEL         DIAZ                         NM     35056881553
26334496972B88   JOLENE       MANZANARES                   CO     90012794969
2633497489189B   ROBIN        BERTELLI                     OK     90014879748
26335144872B42   CHAS         RICHARDSON                   CO     90013821448
26335384A4B281   JOHN         WALLACE                      NE     90002263840
26335745772B88   ANGELIC      VIGIL                        CO     90014147457
26336245472B88   JASON        TOUCHSTONE                   CO     90012852454
26336873972B32   JOYCELYN     HARDIN                       CO     33055518739
2633688176B931   REYNA        CRUZ                         NJ     90015008817
26336A79747965   DOUGLAS      LUBBE                        AR     90007770797
263371A2931631   LASHIRA      WOODS                        KS     90002951029
2633735467B449   BRIANNE      BOYCE                        NC     90012113546
2633751822B27B   HASHIM       BONEY                        DC     90005575182
2633758884B588   REBECCA      RATLIFF                      OK     90001175888
263376A5872B35   LORENA       CASTRUITA                    CO     90011046058
26337733872B29   RAQUEL       PARRAS                       CO     33097547338
2633828A34B588   NICOLE       CARSON                       OK     21590842803
2633866935B161   BRANDI       HOLMES                       AR     90014576693
26338983772B88   JOSE         ESTRADA                      CO     90012779837
26338A7A876B4B   SANTOS       VASQUEZ                      CA     90011460708
26339617172B73   CARMEN       ORTIZ                        CO     33071856171
2633B59895B161   ERICA        JEFFERSON                    AR     90013685989
2633B638591522   ANA          GARCIA                       TX     90013356385
2633B71834B281   JESSICA      ROSE                         NE     27025147183
2633B921A4B588   ANGELA       VINEY                        OK     21558499210
2634166935B161   BRANDI       HOLMES                       AR     90014576693
26342358372B29   BILLIE       POWELL                       CO     90013603583
2634292A37B275   BLANCA       BARRASA                      AZ     90014319203
2634314685B232   ANGELA       DEBERRY                      KY     90008531468
2634351194B588   JAMES        MELAND                       OK     90013465119
26343A3A15B161   CAROLYN      SMITH                        AR     23055120301
26343A9235B571   JUDY         DUTIL                        NM     90003380923
2634451234B588   TAMMY        CUTLER                       OK     90008035123
26344A32272B88   JESSE        VAZQUEZ                      CO     33002540322
263474AA884364   ELLIS        FUNNEY                       SC     90013114008
26347A65472B32   ABDULLATIF   HAGI SHIRWA                  CO     33022980654
2634859524B588   ROSXCOE      HAWKINS                      OK     90014455952
26349A4A772B32   ALEX         TUJILLO                      CO     90014490407
2634B876972B88   ADAM         LIVSEY                       CO     90014418769
26351388572B44   LUZ          ASCENCIA                     CO     90010433885
2635212A472B42   EMELIA       ESPINAL                      CO     90014321204
2635268445136B   PATRICIA     WHITMIRE                     OH     66015756844
2635272169189B   MARIA        NUNEZ                        OK     90014887216
2635284228B168   CLAUDIA      REANEY                       UT     90014538422
2635336925B161   NAKISHA      DEADMON                      AR     90013223692
263534AA884364   ELLIS        FUNNEY                       SC     90013114008
2635368445136B   PATRICIA     WHITMIRE                     OH     66015756844
2635423199184B   DAELYN       DOWNING                      OK     90013832319
26355489172B29   KARLA N      RODRIGUEZ                    CO     90012374891
2635625959155B   FELIPE       CAVARRUBEAS                  TX     75089742595
26356322172B32   GAIL         MARMO                        CO     33067033221
2635655894B588   RENE         ORTEGA                       OK     90014945589
2635656A52B27B   HARVEY       DENT                         DC     90014655605
2635666315B161   TOYA         JACOB                        AR     90014576631
2635713299184B   ANGELA       MOORE                        OK     90012901329
26357586872B29   AL           GARCIA                       CO     90014715868
2635775618B136   ADRAINE      UHOUSE                       UT     90009827561
26357A4339189B   HOLLY        LEWELLIN                     OK     90014880433
2635837842B27B   JADA         PARKER                       DC     90013843784
2635838465B57B   TENESHA      ROBBINS                      NM     90009043846
26358582972B32   IRENE        PANDO                        CO     33014285829
26358A4339189B   HOLLY        LEWELLIN                     OK     90014880433
2635929A37B449   TANIA        FLORES                       SC     90014152903
2635B25547B449   MARIA        RAMOS VIDAL                  NC     90013982554
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2635B31377B449   MORGAN       HUNTER                       NC     90001983137
2635B6AA772B29   FAUSTINITA   MARTINEZ                     CO     90004106007
26361321572B88   RICARDO      PEREZ                        CO     33076663215
26361717672B98   OLIVIA       MANZANO                      CO     90008647176
2636171944B261   JOHN         BEAMAN                       IA     90014417194
26361A6539184B   ALLISON      DAUGHERTY                    OK     90012090653
2636223494B588   AHNDREA      BOYIDDLE                     OK     90008762349
263631A6572B88   JUSTINA      SALLE                        CO     90008541065
2636358552B27B   RENEE        FLOURNOY                     DC     90010215855
2636361849184B   JENNIFER     MAXEY                        OK     90010656184
2636364625B161   ASHLEY       TATE                         AR     23000636462
2636415654B281   TARNESHA     MIDDLEBROOKS                 NE     27075551565
2636418A197132   PHILIP       PATTERSON                    ID     44591471801
26365397572B32   MELISSA      GILLISPIE                    CO     90011993975
263657AA855957   ORLANDO      JIMENEZ                      CA     90015387008
2636668A672B29   MICHEAL      GRUCEL                       CO     90015026806
2636674965752B   DAVID        MELCHER                      NM     90010687496
2636722825B271   MICHAEL      G. KELLY                     KY     68095442282
263675A8691528   LLUVIA       PALACIOS                     TX     90001945086
2636761284B588   JENNIFER     RUTH                         OK     90011126128
26367933372B42   AMANDA       FRYE                         CO     33006899333
26367A1348B182   WENDY        BARNEY                       UT     31054850134
26368A7195B161   TERESA       BUNCHE                       AR     23073710719
26369333172B32   JUAN         TORRES                       CO     90011483331
26369457A85B32   JONISHIA     WHITAKER                     FL     90015394570
26369713A5B161   ANGELA       TOKI                         AR     90014577130
26369A54257157   DAVY         CHAWU                        VA     81027480542
2636B2AA572B32   ATALIA       MARRUFO                      CO     90002222005
2636B767991953   FRANCISCO    NAVA MENDOZA                 NC     17022767679
2636B8A519189B   NATALIE      FOSTER                       OK     21088298051
2636B9A726193B   DOROTHY      HENTON                       CA     46086319072
2637131392B27B   RACHEL       EVERETTE                     DC     90013243139
2637197154B281   MELINDA      DOMINGUEZ                    NE     27015159715
26371AA724B588   BRITANY      LATTA                        OK     90010700072
2637217A991528   MILCHA       BERMUDEZ                     TX     75084681709
2637242755B161   LAURA        ECKLER                       AR     23010064275
2637288175715B   WALTER       LOPEZ                        VA     81079058817
26373624887B69   DORETHEA     THREADGILL                   AR     23001366248
26373763A72B32   JAMES        MONTOYA                      CO     90007427630
263739A3572B88   JUSTINE      TRUJILLO                     CO     90013989035
26374A7449189B   JASON        BILLS                        OK     90014880744
26375481176B67   TERESA       HOLGUIN                      CA     90012504811
2637562958B324   ANGELA       HOLLEN                       SC     90012626295
26376713A5B161   ANGELA       TOKI                         AR     90014577130
26377478872B42   CHRISTOPHE   GUIVER                       CO     33021434788
2637861294B588   CHELLE       JONES                        OK     90010136129
2637867624B261   RAFAEL       GONZALEZ                     NE     90012466762
2637874AA91522   MARTHA       ESTRADA                      TX     90012017400
2637887579155B   JOSE         HERNANDEZ                    TX     90002408757
26378A8189189B   KEVIN        ROBINSON                     OK     90014880818
26379246A5B161   SHAVETA      MCKAY                        AR     23084002460
26379A8189189B   KEVIN        ROBINSON                     OK     90014880818
2637B89584B521   SOTERA       OCAMPO                       OK     90004608958
2638139414B588   CRUZ         ROMAN                        OK     90010983941
2638179755B247   HUBERT       PAYTON                       KY     90014967975
26382122672B88   MANUEL       GARCIA                       CO     90001331226
2638264A961974   MARICELA     BARBOSA                      CA     90003476409
26382A15391828   ANDREA       BURGESS                      OK     90012330153
26382A8569189B   PAMELA       ZUIDEMA                      OK     90014880856
2638339AA84364   JOHN         CAMPBELL                     SC     90005983900
2638415295B161   JEREMY       MILAM                        AR     90011091529
263846A2655957   JUAN         ORTIZ                        CA     90001506026
263856A274B261   AUSTIN       SULLIVAN                     IA     90009176027
26385A97191953   INFINI       HERNANDEZ                    NC     17027810971
2638643524B588   ADAM         JOHNSON                      OK     90007834352
2638737692B395   LUT          MUHAMMAD                     CT     90014173769
2638852584B588   STEPHANIE    MARTIN                       OK     90007605258
263888A2855957   YLSSA        ARIAS                        CA     90013608028
2638BA8189189B   KEVIN        ROBINSON                     OK     90014880818
26391416472B29   BETINA       GALINDO                      CO     90013694164
2639178367B449   CRISSILA     VINES                        NC     90004417836
2639231214B281   ANDREW       MINISTER                     NE     27008283121
26392A7145B244   KIM          BYARS                        KY     68094530714
26393898A4B553   MARIA        FIERRO                       OK     90003738980
2639431A15135B   DONNA        KNOTTS                       OH     90003623101
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26394919572B42   RUDOLPH              LEE                  CO     90013509195
26394A75972B32   NATALIE              HOLIFIELD            CO     33094890759
26395127A55989   REBECCA              SLONE                CA     90011301270
2639523A99184B   TERRY                ELLISON              OK     21063912309
2639526814B588   TERESA               SELLERS              OK     21589322681
26395316672B86   BOUBAKARY            SOUMAH               CO     90008503166
2639561237B449   CLAUDIA              JUAREZ               NC     90002506123
2639667627B471   CASSANDRA            SMITH                NC     90002266762
26397127A55989   REBECCA              SLONE                CA     90011301270
26397139472B29   PANFILO              CALVA                CO     33063611394
2639715295B161   JEREMY               MILAM                AR     90011091529
263972A259184B   HOPE                 WIDNER               OK     90000592025
2639766425B161   MARTISHA             WRIGHT               AR     90013296642
2639819364B281   SCOTT                IVERSON              IA     27000301936
26398475672B29   JOSE                 HERNANDEZ            CO     33008934756
26398559172B32   ANNETTE              PALMA                CO     90002235591
26399425A72B42   MANUELA DEL CARMEN   KANTUN-KANTUN        CO     90013264250
26399475172B29   COSME                DUARTE               CO     90011234751
2639952315B161   KENESHA              WITHERS              AR     90008895231
2639969667B477   JOSSUE               FONTES SANCHEZ       NC     90012236966
26399A13272B32   KRISTOPHER           GARCIA               CO     90014160132
2639B125691241   FREDDY               BURNSED              GA     14591081256
2639B26424B58B   ELIZABETH            CABRAL               OK     90008842642
2639B419331631   BRYANT               HOWARD               KS     90008604193
2639B4AA355935   JUVENTINO            RAZO                 CA     90013104003
2639B59A29155B   LISA                 NARANJO              TX     75098275902
2639B93489136B   RIQEL                FREEMAN              KS     29097519348
263B1144991953   ROBERTO              ROMERO               NC     90006271449
263B1172A5B271   WENDY                WHITE                KY     68040841720
263B144832B235   BERNICE              RINK                 DC     90000974483
263B169193B352   FRANK                MARTIN               CO     90006196919
263B1A1AA9189B   ANGELEA              LEE                  OK     90003430100
263B1AA166196B   RAMATOU              MEWADA               CA     90008990016
263B2151972B41   KARIME               LOPEZ                CO     90009671519
263B2195884364   BRANDON              TYLER                SC     90015251958
263B2227191893   MARY                 SWEEDEN              OK     90004182271
263B291965715B   TEODORO              RAFAELANO            VA     81078759196
263B3497572B32   JANIS                PHILLIPS             CO     33077114975
263B385849189B   JAMAL                HONOR                OK     90014878584
263B423514795B   LINDA                DENARD               AR     25074932351
263B4347291828   ANDREW               GOFORTH              OK     90007283472
263B4556A72B29   ADAM                 HUERTA               CO     90007405560
263B4711A7B449   GABRIEL              JUAREZ               NC     90015137110
263B4751657157   EDWIN                PORTILLO             VA     90012527516
263B4886255977   MIGUEL               RODRIGUEZ            CA     90008738862
263B4958991953   SARA                 CIESLA               NC     17078679589
263B5491972B88   MARISELA             RENTERIA             CO     90012794919
263B557652B27B   ENSEEBIO             OHCAN                DC     90010685765
263B571A947952   JENNIFER             COLLINS              AR     24018817109
263B5725933638   SAUL                 GALLEGOS             NC     90001697259
263B617368B182   ASTELLA              BROADHEAD            UT     90004581736
263B6271531631   ANYELICA             CASTENEDA            KS     90011202715
263B62A639184B   KENNETH              NICHOLSON            OK     21020892063
263B687A64B281   WYATT                BELL                 NE     90006358706
263B689114B261   CARMEN               AGUILAR              NE     27005618911
263B876454B588   APRIL                DOTSON               OK     90004057645
263B895567B477   SHELBY               DAVIDSON             NC     90012469556
263B8A42255957   NANCY                PRIETO               CA     48077560422
263B9199A72B42   JUDITH               GARCIA               CO     33055221990
263B921A755977   SUSANA               MURILLO              CA     90013232107
263B96A159184B   NICK                 FLEMONS              OK     90010656015
263B9962172B32   SHERI                KRESAL               CO     33080669621
263BB48282B27B   KALIA                HILTON               DC     90010384828
26411743272B88   SOSTENES             FLORES               CO     90009677432
264124A7151369   JIMMIE               ADAMS                OH     66004534071
26412778872B29   MAXAMILLIO           GALLEGOS 3RD         CO     33015637788
2641296729184B   SARA                 CLINGAN              OK     90005679672
26412A2A42B27B   JESUS                REYES                DC     81014480204
264135A7257157   LUIS                 RENDON               VA     90013935072
2641364223B388   AYANNA               RUSSELL              CO     90008586422
2641626694B281   SATARA               SLOAN                NE     27001522669
26416963A72B42   ROBERT               SIGARST              CO     90011889630
2641713679189B   MARKISHA             BRADFORD             OK     90009601367
2641821999189B   REES                 HODGES               OK     90006712199
2641835A531433   JEROME               BONFANTI             MO     27584953505
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26418A27841245   BRAD          DOFNER                      PA     51015100278
26419347A57157   ATIF          ZIA                         VA     90012943470
2641B19247B471   DEINER        RAMIREZ                     NC     90009691924
2641B924676B71   GUILLERMO     PEREZ                       CA     46070939246
2641BAA7A72B32   RUBEN         DIAS                        CO     90005280070
2642288617166B   JENNIFER      BABINSKI                    NY     90015548861
2642295844795B   MICHELLE      HIGGINS                     AR     25081899584
264238A527B477   LASHWN        LIPSCOMB                    NC     90003978052
26424394372B29   GOTWALD       MISHA                       CO     90011353943
2642451A277562   MELANIE       ERIKSEN                     NV     90006665102
2642529375B571   CRYSTAL       PLANTE                      NM     90003382937
2642543A172B42   CASTULO       GONZALEZ                    CO     33091524301
26426642172B29   REBECCA       MARTINEZ                    CO     90014076421
2642679855B161   YARIBETH      FASON                       AR     90014887985
2642746562B27B   DULCE         RUBI                        VA     90012444656
2642753485B54B   KEN           WOOLARD                     NM     90010135348
2642836152B27B   LASHANNON     WALLER                      DC     90009893615
26429261672B42   SHAWN         GOSSELIN                    CO     90013912616
2642B125791522   MAGDALENA     DE LARA                     TX     75064001257
2642B197155977   DIANNA        SANCHEZ                     CA     48073101971
2642B473897121   GERALD        MORTON                      OR     44502824738
2642B55854795B   JOHN          MOBLEY                      AR     90005605585
2642B77A75B571   RIGOBERTO     VALENCIANO                  NM     35076477707
2642B887233636   MELODY        ARCHIE                      NC     90009538872
2642B99144B588   AMY           WITCHER                     OK     21558469914
264313A7157157   MACARIO       MONTES                      VA     90012533071
26431599A5B161   DENISE        LACEFIELD                   AR     90008895990
264316AA631631   STEDMAN       DUMAS                       KS     90014226006
2643174785715B   LUIS          JASHIMOTO                   VA     90006317478
26432585A4B588   DOMINIC       SMITH                       OK     90007605850
2643281A772B32   IRIS          MARTINEZ                    CO     90010348107
2643295539189B   DEWANNA       BEHN                        OK     90013719553
26432A72572B42   NATASHA       POWELL                      CO     33068770725
26435A2379136B   IGNACIO       FERNANDEZ                   KS     90008550237
26435A44A81661   RICKY         SIGMON                      MO     29034600440
26435A56872B88   ANGELA        MITCHELL                    CO     90013610568
26435A84455977   ALEJANDRINA   RAMIREZ                     CA     90013120844
264365A7372B88   ERIC          HOLMES                      CO     90010095073
26437676A41245   MICHAEL       A COSTANZO                  PA     51074386760
26437976272B29   JANET         AGIURRE                     CO     90011859762
2643865A655957   FRANCISCO     SANCHEZ                     CA     90014516506
2643893362B931   RODNEY        THOMPSON                    CA     45084269336
2643931A484364   ANTHONY       QUINTANA                    SC     90013033104
26439358872B29   RAQUEL        PEREZCEDILLOS               CO     33002933588
2643973474B592   MAGATTE       SARR                        OK     21576277347
2643B71A172B32   WENDY         HEYWOOD                     CO     33096137101
26441A61931631   LOYD          BRODY                       KS     22012450619
2644229A372B29   ROSANELL      WILHAM                      CO     90009122903
26442484672B42   BLANCA        AGULIAR                     CO     90014904846
2644292A37B275   BLANCA        BARRASA                     AZ     90014319203
2644379482B96B   GHAZIE        ASSAKER                     CA     90003057948
2644481214B261   SALLY         HEDRICKS                    IA     90014638121
26445565972B29   ALICIA        TARANGO                     CO     90009185659
2644576399189B   OSCAR         RIOS                        OK     90014887639
2644592817B449   GLORIA        LOPEZ                       SC     90001719281
26445983272B88   BRIE          WALKER                      CO     90008469832
2644647A657157   JAY           HERNANDEZ                   VA     90010764706
26447861472B29   MARY          ROJAS                       CO     33096948614
26448A69455957   JOSEPH        TORRES                      CA     90013890694
26449976672B42   DAVID         ATZ                         CO     90008069766
26449A75391953   ELIAS         BALTAZAR-NARVAEZ            NC     90014480753
2644B84284B261   JOHN          MCDERMOTT                   NE     27082918428
2644B978572B42   MARIA         RODRIGUEZ                   CO     33030029785
2645122214B261   HOLLIS        BOURN                       NE     27097242221
26451541A91241   GILBERTO      TZANAHUA                    GA     90005155410
2645191A551369   DEBBIE        LYKINS                      OH     90003469105
264519A4541245   LYNN          CRONIN                      PA     51052859045
2645217992B931   MARTIN        PLASCENCIA                  CA     45030451799
26452632372B42   VICTORIA      HALLOWELL                   CO     33042806323
2645295432B27B   RAVEN         THOMAS                      DC     90011189543
26453866872B88   PATRICIA      GAYTAN                      CO     90001278668
2645494254B592   KELLY         CONLEY                      OK     90002349425
2645552862B237   TILLIE        WASHINGTON                  DC     90001025286
264559A715B161   GERRY         PEARSON                     AR     23093209071
26455A99931631   ANA           CAMPOS                      KS     90004490999
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2645646599136B   RACHEL         SMITH                      KS     29006864659
26456478672B29   LUCIA          CALZADA                    CO     90011234786
2645675445B161   KARA           PARSLEY                    AR     90011107544
2645676984B531   CHERYL         BURKHALTER                 OK     90010027698
26457393A55957   JESUS          SALAZAR                    CA     90013423930
26458199872B88   MICHELLE       MORALAS                    CO     90008121998
2645B2A6A9136B   OLIVIA         ZAMBRANO                   KS     29037252060
2645B666151369   DEWEY          MARTIN                     OH     66073236661
2645B882291522   MARGIE         HERNANDEZ                  TX     75052378822
2645B99162B27B   KENYETTA       BRYAN                      DC     90015329916
26461429124B83   ANDRE          WILSON                     DC     90012364291
26462175872B88   VICENTE        CARBAJAL                   CO     33026001758
26462A6884B588   TEARSTINE      MCDANIEAL                  OK     90012740688
2646331A881661   DANIEL         MORALES                    MO     29009793108
2646358255715B   GABRIEL        CERVANTES                  VA     90002155825
2646438A19136B   S              HODGES                     KS     29047773801
26465537572B42   EVAN           TARVER                     CO     90007945375
264656A494B588   KRISTINA       KAY                        OK     90014866049
2646585649189B   MATHEW         CAMPBELL                   OK     90014888564
264662A2797122   VERONICA       MONTOYA                    OR     90008962027
2646632619189B   ABBY           VILLEDA                    OK     21065963261
26466383972B32   IRMA           HOLGUIN                    CO     33079503839
2646655682B27B   ANTHONY        KYLES                      DC     90009055568
26466799587B69   LINDA          BANKS                      AR     90011787995
2646681289184B   GAIL           THOMAS                     OK     90012408128
26467114372B42   ESPERANZA      DENA                       CO     90002641143
2646721164B261   WENDY          BESSE                      NE     90015202116
2646785899189B   CHRISTINE      PASTRANA                   OK     90014888589
26468198772B88   MICHELLE       GASCA                      CO     90001841987
2646821875B36B   ROWANA         ADAMS                      OR     90004032187
2646839139189B   KACI           OZBUN                      OK     90014903913
2646852587166B   CHRISTINE      BUCK                       NY     52012535258
26468A38A4B261   ASHLEY         ZAPETA                     NE     90014530380
2646916134B261   DEAN           THOMPSON                   NE     90014441613
264696A8655957   BETTE          IERONIMO                   CA     90014356086
26469A87693757   SHAWNETTA      WHITE                      OH     90009590876
2646B697355957   LORENZO        MAYORGA                    CA     90014066973
2647225195752B   RICH           HERDEN                     NM     90010012519
26472656972B23   NOEMI          PEREYRA                    CO     33014236569
2647296244B588   JENNIFER       FALL                       OK     90012849624
26473649372B32   GABRIELA       GONZALES                   CO     33019436493
2647389739189B   JOSE           BOTELLO                    OK     90014888973
26473A87172B42   ZACHARY        HOWSER                     CO     33045520871
26474419172B29   JOHN           AMES                       CO     33028954191
26475A99572B32   JOLENE         TORRES                     CO     33005340995
264764A5755957   BYRON          VELEZ                      CA     90013044057
26476518972B88   RENAY          HOFFSCHNEIDER              CO     90012795189
26476A87172B42   ZACHARY        HOWSER                     CO     33045520871
2647728539184B   WILLIAM        LOONEY                     OK     90013832853
26477918172B42   LIDIA          DESNACHEZ                  CO     33073429181
26478467172B88   STEVEN         SALGADO                    CO     90000374671
264791A339136B   REGINA         MCCLANAHAN                 KS     90005291033
264794AA94B261   SAMUEL         GORDILLO                   NE     27057954009
26479694372B32   RUFINITA       CHAVEZ                     CO     33053666943
26479755A72467   ELAINE         WALKER                     PA     90013927550
2647B44897B449   SYMPHANY       HOLMES                     NC     90014144489
2647B472372B32   APRIL          TRIMBLE                    CO     33005224723
2647B875572B88   KRISTANNE      CORDOVA                    CO     90004208755
2647B886491953   CELESTE        RODGERS                    NC     90006208864
26481299972B29   DEBBIE         PADILLA                    CO     90013272999
2648157367B477   TINA           BURRIS                     NC     90010175736
26481786A2B27B   ALISA          HARPER                     DC     90008427860
26481975772B88   SARANCHIMENG   BYAMBASUREN                CO     90009229757
26482A54872B88   DEANA          BARGAS                     CO     33053150548
26483A12655977   TRALAINE       KEEL                       CA     90011540126
26483A49855986   ROBIN          ROBINSON                   CA     90005970498
26484689A57157   SHEKU          KONNEH                     VA     90012686890
26484748772B42   SARAIT         RAMIREZ                    CO     90012177487
26485333A81661   KYLE           RICHARDSON                 MO     29087093330
2648551355715B   DAWNA          WATSON                     VA     81016035135
26485781472B88   JAMIE          ARMSTRONG                  CO     33025607814
2648637164B588   KASEY          SUTTON                     OK     90010873716
2648742115136B   LUCHAN         PRICE                      OH     90001204211
2648762958B159   CHRISTOPHER    ELLIOT                     UT     90004286295
2648768675B271   SHEBA          SIMMS                      KY     68018726867
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264876A6291953   WELINTON       PEREZ                      NC     90011376062
26488367572B88   ANGELA         MARTIN                     CO     90013343675
2648968555B571   CHARLENE       RODRIGUEZ                  NM     35079486855
26489687172B42   LUCILA         MONTIEL                    CO     33042146871
2648B18497B471   SEFERINO       CRUZ                       NC     11024241849
2648B2A7A72B88   RAYMOND        RUIZ                       CO     90012802070
2648B2AA172B29   DEANNE         ADDISON                    CO     33030602001
2648B47159184B   BELIA          BECERRA                    OK     21074254715
2648B741231448   LAUREN         POWELLS                    MO     90002837412
2648B898791522   FRANK          CABRAL                     TX     90013108987
2648BA65255977   ADAM           CLARK                      CA     90001010652
26491679972B32   HERNANDEZ      MANUEL                     CO     90015326799
2649181AA57157   IVAN           SEGOVIA                    VA     90009198100
26492AA394B588   MEGAN          STINNETT                   OK     90005100039
26493247572B32   GABRIELA       JIMENEZ                    CO     90013792475
2649325379189B   LARRY          FORTENBERRY                OK     21003812537
264933A472B232   KRISTIE        PRICE                      DC     81005913047
2649354638B151   EMRAL          OZZEHIR                    UT     90002515463
2649428815B28B   RHONDA         HENDRICKS                  KY     90002462881
264948A5457157   CATRINA        MEHR                       VA     90012688054
2649514689184B   DALLAS         WHISENHUNT                 OK     90008601468
26495629772B88   LAURA          HEMLEIN                    CO     33002026297
26497188572B32   DAVID          CORDOVA                    CO     90010391885
264979A5491828   ROBERTO        RUIZ                       OK     90013929054
26497A8857B471   MISAEL         FUENTES                    NC     90003040885
2649818397B449   HEATHER        ROSENBALM                  NC     11078021839
2649918792B27B   KIA            HENDERSON                  DC     90012791879
2649922555B571   TANYA          RODRIGUEZ                  NM     35082742255
2649B528991953   PAULA          BEST                       NC     90002455289
2649B82139155B   JOSE           BUENO                      TX     90004328213
264B1191584364   JUAN           JIMENEZ                    SC     90015261915
264B169A385823   RICA           LEHMANN                    CA     90003096903
264B1972331433   WILBERT        SIMMS                      MO     90011569723
264B2243941245   MELISSA        FOFLYGEN                   PA     51010642439
264B2588A72B88   JAMES          LEBERT                     CO     33008175880
264B294199136B   SANTOS         FELICIANO                  KS     90009229419
264B312532B27B   SHANELLE       HOWELL                     DC     90013151253
264B3243941245   MELISSA        FOFLYGEN                   PA     51010642439
264B3599772B88   CIPRIANO       DURAN                      CO     90012155997
264B3AA195B571   GABRIEL        MONTOYA                    NM     90004100019
264B4659993727   SHALONDA       EGLER                      OH     90012886599
264B4895A57157   CHRISTOPHER    MARTINEZ                   VA     90013508950
264B517A391953   JOSEPH         SPOKES                     NC     90008361703
264B518437B449   NIVA           KISER                      NC     11086371843
264B5448791828   CESAR          FERNANDEZ                  OK     21068684487
264B629A572B88   MONCIA         LEYBA                      CO     33088192905
264B73A1255977   ALYSSA         DIAZ                       CA     90013483012
264B811AA81661   ANTONIA        DIAZ                       MO     90001111100
264B8A52A55977   YVETTE         GOMEZ                      CA     90002010520
264B951A52B27B   MICHEAL        MCBRIDE                    DC     90014995105
264B9589572B32   BRAD           GRAHAM                     CO     33049345895
264B986799184B   JENNIFER       CAMPBELL                   OK     90014828679
264BB432455977   JESSICA        CASTRO                     CA     90015034324
264BB93159155B   IVETTE         GUTIERREZ                  TX     75074889315
2651112899155B   LACHUNDRIA     AGUIRRE                    TX     75089851289
2651155294B588   LASHAND        BUFORD                     OK     90010495529
2651273825715B   BYRON          GONZALES                   VA     90000527382
26512A7514B588   THIOMY         TRINH                      OK     90015080751
26514551A84364   BECKY          WHITE                      SC     90007185510
2651456884B588   CHERE          OSBORNE                    OK     90009545688
2651497879189B   KENT           ROBB                       OK     90014889787
26514A2437B477   MARIA          PENA                       NC     90011690243
26514A59772B88   BRIAN          GASSMAN                    CO     90008490597
2651519224B521   ERIC           SMITH                      OK     90004661922
2651569462B962   YADIRA         LOPEZ                      CA     90012716946
2651619524B588   CARLA          LEWIS                      OK     90009131952
2651657A372B32   SHARON         KAYE                       CO     90003865703
2651699819379B   CLARENCE       WILLIAMS                   OH     90012989981
2651734395592B   DAVIANNA       MARTINEZ                   CA     90001273439
26517742A57157   LUIS ERNESTO   ANGELES TORRES             VA     90008717420
26517943872B32   STEVEN         WRIGHT                     CO     33006179438
26518A4A372B32   CATHY          PREST0N                    CO     90009690403
26518A92857157   YORLENI        PALACIOS                   VA     90013050928
2651936A591528   MARIBEL        SNYDER                     TX     75047703605
2651988A87B471   SHAQUNA        FAUNTLEROY                 NC     90007358808
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2651B13489155B   LIZETTE      ESPARZA                      TX     75026891348
2651B855672B42   AERIK        EDWAD WILLIAMS               CO     90013068556
265222A239136B   KENNETH      KERNS                        KS     29016922023
265222A974B521   ROCHELLE     LAWRITSON                    OK     90003992097
2652254A19184B   RONALD       RUNNELS                      OK     21078925401
26522A9397B477   LATRISH      SEIGLE                       NC     11007280939
2652321A89136B   JAMIE        REDIC                        KS     29035302108
26523534472B29   VICTORIA     ARMENTA                      CO     33010505344
2652354495B161   JOHN         WILLIAM                      AR     90002245449
265235A484B261   JORDAN       MCGUIRE                      IA     90011015048
2652447A84B588   JENNY        BLAINE                       OK     90012674708
26524499172B32   HEATHER      MCLEOD                       CO     90002574991
26524A24791522   DARELL       HOLLIS                       TX     90014780247
26525442972B88   ORALIA       VEGA                         CO     90007244429
2652573457B477   NANCY        TROUTMAN                     NC     11011317345
26525818A55977   JENIFFER     HANSON                       CA     90006518180
26526158A91528   RUBEN        QUEZADA                      TX     75052471580
2652642759189B   EMILIANO     GONZALEZ                     OK     90014904275
2652649115B271   CHARLES      PARRIGAN                     KY     68028244911
2652656A972B32   EDSON        VIVAR                        CO     33003335609
2652659144B588   CARL         HINES                        OK     90012945914
2652761A57B462   KIMBERLY     MCCOLLUM                     NC     90001066105
2652789719184B   JAVIER       CASAS                        OK     90013838971
26528548372B29   ARIEL        BROUILLET                    CO     90014355483
26528AA639189B   SEIKAM       TOUTHANG                     OK     90014890063
26529142972B42   JUAN         DEVORA                       CO     90010691429
2652995839189B   MANUEL       LOPEZ                        OK     21072939583
2652B444372B29   JOHN         LOPEZ                        CO     90013744443
2652B483591522   ESTRELLA     VALERIO                      NM     75002344835
2652B549381661   LORENA       OMANA                        MO     90012285493
2652B631755957   SOPHIE       GOMEZ                        CA     90003766317
2652BA83241245   STEVEN       KING                         PA     51063920832
2653157725B161   KESHON       CLAY                         AR     90014585772
2653211572B27B   FREDDIE      WARE                         DC     90012381157
2653221819184B   STEVE        FOX                          OK     21066142181
26532726372B29   STEPHANY     FUERTE                       CO     90006957263
265327A715B161   HEATHER      BALLARD                      AR     90014877071
26532947972B88   LAVON        SMITH                        CO     33045309479
26533386A4B521   TAMMY        TIGER                        OK     21582433860
2653346225715B   ANA          VASQUEZ                      VA     81046744622
26533527572B88   LOUISA       MANESS                       CO     33027075275
26533693A91522   GILBERTO     MORALES                      TX     90008716930
2653477734B261   DAVID        MANKAMYER                    NE     27096077773
26535295272B32   TAMRA        SANCHEZ                      CO     90010472952
26535332A71948   HENRY        GRUBBS                       CO     90010593320
26535873572B88   JAIME        RIZO                         CO     90002178735
26535A2859189B   RODNEY       BELK                         OK     90014890285
26536622A84364   LEVANI       DOS SANTOS                   SC     90009676220
265369A6472B32   MELISSA      LUALLEN                      CO     90004699064
26537148972B32   GRACIANO     BASURTO                      CO     33035861489
2653725617B449   SANDRA       CORBERA                      NC     90012412561
2653769979189B   JANA         TATE                         OK     21075156997
26537A7642B27B   ASIA         FERGUSON                     DC     90012320764
2653862195753B   STEPHANIE    BRASEL                       NM     90014186219
2653BAA1631433   MIAH         LOVE                         MO     90004020016
26541431A55957   JOSE         RAMIREZ                      CA     90013194310
2654198315B161   SEAN         MACKEY                       AR     90008979831
2654223517B449   KAREN        PEREZ                        NC     90012092351
26542455A84364   JERENE       GILLIAN                      SC     90012884550
265427A4872B29   VICTOR       DELGADO                      CO     90010267048
26542974A55977   GUADALUPE    AGYLUZ                       CA     90014189740
2654428679189B   SHYLA        MCKINNEY                     OK     90005162867
2654495395B271   AMANDA       ALLEN                        KY     90001689539
26544A6117B449   GEORGE       WISE                         NC     11080470611
2654563345B271   FERNANDO     RIVERA                       KY     68031246334
26546138472B29   MARIAH       MONTANO                      CO     33062321384
265464A285B161   EDWARD       SHELTON                      AR     23083244028
2654725195752B   RICH         HERDEN                       NM     90010012519
265474A435B161   CYNTHIA      WALKER                       AR     23011474043
2654777514B521   PHILIP       HATFIELD                     OK     21556207751
26547864A9136B   CHRISTINA    BLACKSHER                    MO     90011788640
26548784672B29   JUAN         CABALLAERO                   CO     90009617846
2654B37559184B   DANNA        SMITH                        OK     90002043755
2654B61A991828   BETTY        PRESSLAUER                   OK     21048176109
26551928972B32   KIMBER       DURAN                        CO     33074899289
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26551A23341245   DAVID        LEE                          PA     90012210233
2655265519184B   FLOR         CASTRO                       OK     90008656551
2655272A355977   CLIFFORD     THOMPSON                     CA     90000397203
265529A5872B42   FLOR         RODRIGUEZ                    CO     33074859058
26553298272B32   MASON        NOLAN                        CO     33054182982
26553483A91828   KATHERINE    TUITE                        OK     90015204830
265539A215715B   ENRIQUE      MEJIA                        VA     90009539021
2655434545715B   ZAHRAA       ALDULAIMI                    VA     90002943454
26554377A91241   ELIZABETH    SYKES                        GA     14516343770
2655452A655977   RAMON        MARTINEZ                     CA     90008375206
2655553A372B88   SCOT         EDWARDS                      CO     90012795303
2655566524B588   SARA         ROWELL                       OK     90014816652
2655581299189B   ESTEFANY     OLIVERA                      OK     21052068129
26556711A7B449   GABRIEL      JUAREZ                       NC     90015137110
26556A9654B261   GREGORY      WHITE                        NE     27061650965
26557313A77523   JASMINE      BARBAN                       NV     90009473130
2655741785B161   DAVID        JONES                        AR     90006144178
2655838469155B   JUAN         CORTEZ                       NM     75076573846
26558588A5B571   LAURA        MONCADA                      NM     90008735880
2655884A57B449   TENIKA       SIMPSON                      NC     11052528405
26559A11A5B571   MISTY        MARTINEZ                     NM     35053450110
26561254872B32   CHELSEA      ROBBINS                      CO     90014432548
2656147314B564   DYLAN        RODIG                        OK     90013304731
2656162392B357   CARLA        AGUIRRE                      CT     90014096239
265621A2872B25   AARON        MANDEL                       CO     90014351028
2656248A57B471   RODNEY       WINGATE                      NC     11014084805
2656299379189B   MIKE         WILLIAMS                     OK     21039959937
265629A288586B   GIL          SAVAGE                       CA     90000169028
2656314819189B   ORTEGON      VINCENT                      OK     90005031481
265635A4691953   CATHY        BOVE                         NC     90012215046
26564127172B42   FAVIOLA      SOTO GUERRA                  CO     33027001271
26564A1874B261   WILLIAM      FLESHMAN                     NE     27004520187
26564A48291953   DAYSI        RIVERA                       NC     90011940482
26564AA4772B88   VICTOR       RODRIGUEZ                    CO     33068800047
2656541A984364   TASHEMAH     GADSDEN                      SC     90012324109
26565483572B88   MIGUEL       ARANDA                       CO     90011274835
26567616A31631   SHAWN        PHELPS                       KS     90013916160
26567A14731453   CHARITY      TWINE                        MO     90004150147
265684A9272B42   MALCOLM      LEWIS                        CO     90003744092
2656B17142B27B   DENISE       HINNANT                      DC     90013161714
2656B59A391522   MARIO        SIFUENTES                    TX     90010915903
2656B8A2972B29   ALAN         KIMPEL                       CO     33000648029
2656B937957157   RINA         GARCIA                       VA     90009589379
265722A4191522   RICHARD      TORRES                       TX     75086052041
265736A4597122   ELIAS O      YOUNG                        OR     90011626045
26573A2417B449   MERISSA      MORROW                       NC     90003000241
2657411A67B449   PABLO        SALAZAR                      NC     90013911106
26574A2414B281   DANIEL       PRIBYL                       NE     27038990241
26574A48955957   JUAN         ALVAREZ                      CA     90007840489
26575815A84364   ANA          PEREZ                        SC     90013528150
26575AA384B521   SHANE        STRATTON                     OK     90004620038
2657741415135B   ELAINE       SMITH                        OH     90011654141
2657853834B261   JHOZEL       TEODORO                      NE     90013545383
2657872657B449   SCOTT        MCKINNEY                     NC     90013167265
2657881864B521   MICHEAL      GREEN JR.                    OK     21575238186
2657883347B471   MARLON       SIRRON                       NC     11086508334
2657894925715B   LEONARDO     HERNANDEZ                    VA     81016169492
2657921999184B   SHAWNA       WHITEHEAD                    OK     90012322199
2657B961591542   ANA          QUEZADA                      TX     90012689615
2658167224795B   MORINA       KIJIDRIK                     AR     25043796722
2658179475B161   TERRELL      MORRIS                       AR     90014587947
26581A2524B521   JACQUELYN    ANNANDERS                    OK     90004620252
2658225137B633   JENNIFER     CORTES                       GA     90011332513
2658269A84B261   LURA         JACKSON                      NE     90002086908
26582A87691953   MIGUEL       DUTRA                        NC     90013730876
26583A15691828   KATHERINE    BRADFORD                     OK     21079340156
26583A88691953   TAMARA       STUBBS                       NC     90008970886
2658415597B449   JUAN         AGUILAR                      NC     90012751559
26584532972B88   MIGUEL       PALACIOS                     CO     90012795329
2658481155B161   GLORIA       HILL                         AR     90014588115
2658521A331453   PATRICIA     ROBINSON                     MO     90007242103
26585A4344B521   LEIGHANNA    PERRRIN                      OK     90004620434
2658638867B423   MARGARITA    CARDENAS                     NC     11002013886
2658644A581661   EARL         GRAYSON                      MO     29008194405
2658695213144B   FRED         DEAN CODY                    MO     90002199521
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26586AA967B449   GUILLERMO    FLORES BARTOLON              NC     11016160096
26587167A84364   TOM          KELLY                        SC     90006361670
2658773829189B   SHARI        TAYLOR                       OK     21043187382
26587A53357157   MALYAN       HENRY                        VA     90002290533
26588216672B42   JOSE         LOPEZ                        CO     90014542166
2658829474B281   EDWIN        GARCIA                       NE     27007652947
26588985972B86   SOPHIA       COLON                        CO     90008779859
26588A8169184B   BILLIE       CAMPBELL                     OK     90014510816
2658944945B161   TIM          JONES                        AR     90011094494
2658976A44B261   BENEDICTO    GARCIA                       NE     90000277604
2658997437B666   LUZ          SUAREZ                       GA     90010689743
2658B218933B96   PEDRO        OSCAR                        OH     90015172189
2659117844B261   AMBER        HATHAWAY                     IA     27097231784
2659233449136B   ROB          LASLEY                       KS     29035253344
26593694772B29   MICHEAL      SILLETTO                     CO     90010486947
26595445A72B41   ANDREW       HURTADO                      CO     90012474450
2659561754B261   NOE          VARGAS                       NE     27079876175
26595764572B32   TIKI         JOHNSON                      CO     90014587645
2659676984B531   CHERYL       BURKHALTER                   OK     90010027698
2659677754795B   JOSE         MARTINEZ                     AR     25023487775
26596979972B88   EMANUEL      ARMENDARIZ                   CO     33053889799
2659744269184B   JORDAN       CHYENNE                      OK     90007734426
26597821272B29   FATIMA       ALDABA                       CO     90001858212
2659792799194B   YULIANA      VELAZQUES                    NC     90005799279
2659799A67B323   SANTIAGO     CORTEZ                       VA     90005209906
2659845819184B   DUKE         REYNOLDS                     OK     21027044581
2659B31119184B   ERICA        MAKINS                       OK     90014553111
2659B693191967   SHELIA       CEPHUS                       NC     90001726931
2659B9A4184364   TANYA        JAMES                        SC     90003909041
2659BA61472B88   JOSE         JAUREGUI                     CO     90012840614
265B211892B962   DARLANE      SCOTT                        CA     90010781189
265B2421491828   GERARDO      CARDENAS                     OK     90013524214
265B2552372B32   EMILY        BORSICK                      CO     33037395523
265B2673255977   ANGEL        BRISTOL                      CA     90010196732
265B367AA2B27B   CAMERON      DIXON                        DC     90010226700
265B38A8272B88   LORETTA      SMITH-OWENS                  CO     33084608082
265B397879189B   KENT         ROBB                         OK     90014889787
265B4427861974   ALMA         RODRIGUEZ                    CA     46052544278
265B44A1472B32   AMBER        BORREGO                      CO     90011234014
265B469649184B   TENNILE      HARRIS                       OK     90009906964
265B497879189B   KENT         ROBB                         OK     90014889787
265B5354A72B32   FRAISER      OSCANOA                      CO     90009923540
265B57A425B161   SASHA        GARDNER                      AR     90014877042
265B57A6A3B38B   JOSEPH       JCOLTA                       CO     90013357060
265B586574B588   RAMONA       DELGADO                      OK     90014918657
265B5A6694123B   TOM          MCCONELL                     PA     90011340669
265B6748A9189B   TRACY        YAWS                         OK     21004347480
265B712325B571   RHONDA       SEDILLO                      NM     35034221232
265B7469757157   VICTOR       SOTO                         VA     90010734697
265B767932B27B   MARCUS       MINOR                        DC     81014506793
265B7893955977   JAMIE        CHAVARRIA                    CA     48017618939
265B8726755957   ANGELA       VANHOEK                      CA     48027467267
265B9619A41245   MATT         MOCKABEE                     PA     90000526190
265B9748572B29   ADRIAN       SALINAS                      CO     90012347485
265B978A372B42   MARLENE      ROMERO                       CO     33007507803
265BB28542B232   LAVONYA      STROMAN                      DC     81014322854
26611A61655977   VERONICA     MARTINEZ                     CA     90014290616
2661264654B588   RONDA        COOK                         OK     90007796465
26612855872B29   MARIA        MARTINES                     CO     90014198558
266135A7361932   BETTY        RICHMOND                     CA     46000205073
2661373484B261   MATT         MCCLARY                      IA     90012437348
26613955472B32   JORGE        LOPEZ                        CO     90012459554
26613A2917B477   BETHANY      MORGAN                       NC     90002150291
2661458535B571   CHARLES      DODGE                        NM     90006955853
26614765A7B471   ALEX         HARTLEY JR.                  NC     90003237650
2661553AA5B161   GENEVA       SANDERS                      AR     90013415300
26615988A5B271   CODY         BEAUCHAMP                    KY     90002809880
26615A73631631   MARIO        BENJAMIN                     KS     90013770736
2661694679136B   CYNTHIA      ELLISON                      KS     90009049467
2661812259155B   MAYELA       LEON                         TX     90005481225
26619965A2B27B   ABIGAI       JIMENEZ                      DC     90013819650
2661B478141245   KRISTIE      NAPLES                       PA     51090084781
2661B49419189B   ERIN         STRAESSLE                    OK     90007304941
2661B574972B29   ALLISON      FISHER                       CO     90013105749
26621A8A491828   CHRISTI      WATSON                       OK     90013630804
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266226A887B449   LISA          HOLDEN                      NC     11046576088
26623851A51369   GARY          BUNGER                      OH     90006798510
26623A2562B232   JOSEPH        SMITH-EL                    DC     90005880256
26624487872B32   CHRISTIE      MCKAY                       CO     90010994878
26624675872B88   CLAUDETTE     TRUSTY                      CO     33040986758
2662514A461996   TIDWELL       MASONERY                    CA     46005231404
26625413A7B449   DENNIS        BOYD                        NC     90011324130
2662577A872B32   J JESUS       GARCIA-GONZALEZ             CO     90014587708
26625AA895B161   HECTOR        ZAVALA                      AR     90009000089
2662722474B234   SANDRA        STERN                       NE     27093342247
2662812A291522   DAVID         RAMIREZ                     TX     90001841202
2662849419189B   ERIN          STRAESSLE                   OK     90007304941
2662879694B588   KELLEY        LISS                        OK     90002277969
266298A9231456   BOB           JOHNSON                     MO     90008648092
2662B388A72B88   KAMEISHA      WILEY                       CO     90003843880
2662B892844345   EBONY         JACKSON                     MD     90000848928
26631239272B42   ALFONSINE     UWIZEYE                     CO     90006302392
2663167428B17B   TAMIRA        ORELLANA                    UT     31050696742
2663196475B161   RENA          DRAYTON                     AR     90014589647
2663215115B271   MORCO         ANTONIO                     KY     68020491511
2663296475B161   RENA          DRAYTON                     AR     90014589647
26633529A91522   EDGAR         SANCHEZ                     TX     90014845290
2663373599184B   SARAH         BENFIELD                    OK     90011407359
266339A7424B48   ANA           ERAZO                       VA     81015189074
2663451A67B462   BEATRIZ       HERNANDEZ                   NC     90011755106
2663481544B588   EDGARDO       CORTEZ                      OK     90012128154
2663527162B27B   JACKIE        CAMPBELL                    DC     90008122716
2663547369184B   ASHLEE        PRITCHET                    OK     90007954736
26635477672B32   BERNADETTE    OCHOA                       CO     33091374776
26635622972B88   LUIS          MENDOZA                     CO     90001606229
26635633A4B521   SANDRA        RIOS                        OK     21590136330
26635A38572B42   IRMA          MARTINEZ-SANTIAGO           CO     90000460385
2663654854B588   VICTOR        CAMPUZNO                    OK     90004025485
26637176372B27   DOROTHEA      QUINGLY                     CO     90009621763
266372A9972B88   FLORA         STARK                       CO     90012802099
266373A2972B32   VERONICA      VILLALBAS                   CO     90008623029
26638A53A3B391   NICK          ROBERTSON                   CO     90003450530
2663938A372B32   RANDY         RADER                       CO     33070763803
26639A58A91589   CERVANTES     BRAULIO                     TX     90001480580
2663B148272B88   JUAN MANUEL   ALVARADO                    CO     90012001482
2663B1A2872B25   AARON         MANDEL                      CO     90014351028
2663B488951369   SHANDA        WHITE                       OH     90008184889
2663B863284364   ASHLEY        SHAW                        SC     90014888632
2663BA76931631   EDITH         CERVANTES                   KS     90010240769
26641834A9189B   RICHARD       RUHL                        OK     90014918340
26641976672B42   ADRIE         GARCIA                      CO     90014639766
2664254484B261   EVA           JUDITH                      NE     90013385448
26643834A9189B   RICHARD       RUHL                        OK     90014918340
2664489795B161   MELVIN        HANEY                       AR     90014888979
2664496584B588   VERONICA      MONTELONGO                  OK     90012189658
26645785472B88   ERIC          ESTRADA                     CO     90005477854
2664673637B424   MONSERRAT     ESCOBEDO                    NC     90012827363
2664745994B588   ERICK         LUEBECK                     OK     90000504599
26648126672B29   DEBORA        MANUEL                      CO     90000521266
2664838815B161   SHIQUITA      JOHNSON                     AR     90011523881
2664917A372B88   LLUVIA        BENCOMO                     CO     90008841703
26649411A9184B   LENNISON      BAEZ                        OK     90014914110
2664B627372B29   KENNETH       KENNEDY                     CO     33010516273
2664B666855977   ANGELICCA     RODRIGUEZ                   CA     90013646668
2664BA6A691953   ROBERTO       ZUNIGA                      NC     90004310606
2665148949155B   KENNY         DURLING                     TX     75093604894
266515A172B27B   DANIEL        BELTON                      DC     90003005017
2665177A52B27B   MARKETA       WRIGHT                      DC     90014617705
26652894A55957   TAUNYA        PATTERSON                   CA     90014308940
26652A38991953   CONCEPCION    PRADO TORRES                NC     90005560389
26653A11585938   TODD W        MINGEY                      KY     67072710115
2665451345B161   SHENITA       TUCKER                      AR     90011095134
266545A2631631   BRANDY        RICHARD                     KS     90012155026
26654993472B29   MONICA        QUINONES                    CO     90015189934
26655A61972B42   ABBY          KING                        CO     33053550619
26655A65272B88   TOMMY         SENA                        CO     33065460652
2665663859189B   BRANDY        STOREY                      OK     90012936385
26656718572B29   ADAM          SALAZAR                     CO     90014697185
26656A7534B588   VALERIE       STUBBS                      OK     90010700753
266571A667B449   ANTOLIN       ESPINOSA                    NC     90012291066
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266572A5655957   ANGEL         QUINTERO                    CA     90009592056
26657A1637B471   JANETTE       JUAREZ                      NC     90002900163
26657A9299155B   ESTHER        CASTRO                      TX     75000280929
266582A6872B32   MARCO         A LOPEZ                     CO     90012872068
2665833775715B   SHANIA        ROBERTS                     VA     90002293377
26658768672B42   ARELY         ZELAYA                      CO     90013237686
2665895899155B   LORENA        GONZALEZ                    TX     90002059589
2665899A241259   JUSTIN        ZORA                        PA     90007119902
2665938584B261   GILBERT       JORDAN                      NE     90000933858
26659829272B32   BACA          LORIE                       CO     33067978292
2665986189189B   ASHLEY        BOWEN                       OK     90014918618
2665B129357157   JOSE          URIAS                       VA     90002461293
2665B38482B27B   LAWANA        JONES                       DC     81014333848
2665B529772B32   DESARI        MORTENSEN                   CO     90005065297
26661291172B42   JAY           MCMULLEN                    CO     33081252911
2666156474B588   SAMANTHA      MCCLOSKEY                   OK     90012885647
26661632A91828   LIBRO         MARTINEZ                    OK     90009196320
266621A659184B   SHERRY        MERRELL                     OK     90009031065
26662425472B32   JUAN MANUEL   COYOTE                      CO     90011444254
26662A98572B88   NATHAN        KILGORE                     CO     90008470985
26663766272B32   EDDIE         MARTINEZ                    CO     90014587662
2666398527B334   AGUSTIN       VACA                        VA     90008989852
266639A4881661   CAROYLN       SPAIR                       MO     90011579048
26664A17672B88   CARLOS        MEDINA                      CO     90014160176
26664AA1657157   ISABEL        HERNANDEZ                   VA     90013940016
26665136972B32   MICHAEL       REYNOLDS                    CO     90012391369
2666554A372B42   BERNARD       JOHNSON                     CO     33095715403
26665597272B29   JANETH        TREVIZO                     CO     90013475972
2666572934B588   TIESHIA       FREDERICK                   OK     90011147293
2666642534B588   VULNAVIA      ROYSTER                     OK     90014644253
26666574A7B449   ENRIQUE G     MIRANDA AGUSTIN             NC     90007615740
2666687599152B   DIANA         VARELA                      TX     90008608759
2666739A955931   EDUARDO       MARQUEZ                     CA     90012823909
26668126672B29   DEBORA        MANUEL                      CO     90000521266
2666816629155B   MONICA        ROMERO                      TX     75086781662
2666887699184B   HECTOR        AGUILAR                     OK     21020708769
266695A7831631   AMEE          MOON                        KS     90013545078
2666B782972B29   STARLENE      THOMPSON                    CO     90014847829
2666B93A784364   PAT           MEDLOCK                     SC     90010519307
2666BA33655977   MARIO         PEREZ                       CA     90011360336
266712A8A55977   MARCUS        FAGUNDES                    CA     90014752080
2667181AA55977   FABIOLA       LOPEZ                       CA     90014728100
2667187849155B   APOLONIO      RAMIREZ                     TX     75069638784
2667196A276B21   BRAD          BLACKSON                    CA     46091739602
2667245552B27B   LISA          TAYLOR                      DC     81039464555
2667261AA57157   MARLETTE      QUIN-PARKER                 VA     90011306100
26672728A7B449   DARLA         MELANSON                    SC     90014487280
2667368653B348   PHILLIP       GARCIA                      CO     33070846865
26673797772B32   JORDAN        HOGH                        CO     90012647977
2667386284B588   DEMETRIE      SMITH                       OK     90013158628
26674437172B32   JERRY         SHANNON                     CO     90012854371
26675117272B32   AMANDA        VARGAS                      CO     90012631172
2667546A257157   JAMES         JHONSON JR                  VA     90014014602
26675A96772B86   MARIE         MAESTAS                     CO     90008240967
2667673644B281   KATRINA       HARRIS                      NE     90008647364
266768A6731453   EDWARD        BEVEL                       MO     27593918067
2667697A255977   ALONDRA       GOVEA                       CA     90001269702
26677262372B32   YURI          MORENO                      CO     90012062623
26677957A84364   RONDAIZIA     GRAVES-TITUS                SC     90008319570
2667851523B348   LISA          BARCELONA                   CO     33006625152
266787A1631488   WALTER        HAMMOND                     MO     90002107016
266791A955B161   JERRY         CHAMBERS                    AR     90014591095
26679883A72B88   BRIAN         SCHWALEN                    CO     90013108830
2667B983531631   QUANEISHA     YATES                       KS     90008949835
26681398772B32   JOHNNIE       WARREN                      CO     90006053987
2668192284B261   AMANDA        LIND                        NE     27095359228
2668228394B281   FELIX         ADAME                       IA     27054422839
2668231632B232   MIGUEL        ORTIZ                       DC     90005883163
2668339759189B   KAMETRIA      BARBER                      OK     90012643975
2668494579136B   MARIA         MORALES                     KS     90006559457
266851A955B161   JERRY         CHAMBERS                    AR     90014591095
26685A32957157   EVER          RIVAS                       VA     90009060329
26685A74972B29   SANDRA        OLIVAS                      CO     90004500749
26687756A57157   CRISTINA      GOMEZ                       VA     90004747560
26687A4949189B   ANDREW        HEMINGER                    OK     90003410494
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2668848169155B   YESICA               ESTRADA              TX     90005504816
266887A6584364   ARDELL               DIARRA               SC     90012867065
266897AA684364   VANESSA              MITCHELL             SC     90012137006
2668B41819184B   ERRICA               FOSTER               OK     21018884181
2668B613672B88   SEAN                 COFFMAN              CO     90009566136
26691162472B86   JANE                 MAESTAS              CO     90008241624
2669146969184B   DIANA                FLOYD                OK     90007734696
26691542A91953   JAYLIN ALIA NICOLE   SMITH                NC     90005005420
266924AA972B42   RANDI                RAMIREZ              CO     90009204009
2669251A14B261   NOHELY               PEREZ                NE     90012095101
2669295499184B   DON                  GOTCHER              OK     90013109549
2669311A772B32   JOSE                 ESCOVAR              CO     90013581107
26693547372B26   ELFAZ                SHEERAW              CO     90012785473
2669397479184B   TONYA                TERRY                OK     90015209747
26694178672B42   ROSALIE              BENAVIDES            CO     33090691786
2669419A755977   PEDRO                TAFOLLA              CA     48009341907
2669434485B161   TAJIAH               ROBERTS              AR     90012673448
26694659772B32   MATTHEW              ROBBS                CO     33018106597
2669569A372B32   REED JR              ROBERT               CO     90010976903
2669578484B588   ANDREA               BUSS                 OK     90010957848
2669628985137B   JENNIFER             WILSON               OH     90007582898
26696917572B42   IVAN                 SCHABACKER           CO     90013289175
26696948A4B261   MARY                 MEISTER              NE     90014769480
26697394576B82   EMMANUEL             IBANEZ               CA     90003533945
2669773529184B   JOSEPH               PIRO                 OK     90010017352
2669799744B588   GINA                 KILPATRICK           OK     90012099974
26699719672B29   ADRIANA              GONZALEZ             CO     90014697196
2669981434B281   FRANCISCO            BECERRA              NE     90007178143
26699973972B88   KENNETH              THORNE               CO     90008719739
26699A76581661   NICHOL               BARNES               MO     29030090765
2669B213655957   ERIKA                MORA                 CA     90005592136
2669B548A72B88   TRACY                DANIELS              CO     33050275480
2669B873957176   KARLA                ALFEREZ              VA     90008908739
2669B97A757157   JOSE                 PALACIOS             VA     81029119707
266B1189731631   MARSHA               HALL                 KS     22084571897
266B1383172B32   CASIMIRO             ZAMORA               CO     33095763831
266B1742372B29   MARTHA               BALBUENA             CO     90013357423
266B1761655957   CLARA                GLASPIE              CA     90012867616
266B1917291828   JACOB                MCGUIRK              OK     90014779172
266B1A57A4B281   LAURIE               HUGGLAND             NE     27090670570
266B2328391241   KERRI                LEWIS                GA     90002903283
266B254853B333   PAM                  CALHOUN              CO     90002825485
266B2646972B88   JORDON               CRAWFORD             CO     33046276469
266B283A172B32   JOSEFINA             ROJAS-LEDESMA        CO     90009488301
266B2892257531   JUDITH               NELSON               NM     90012988922
266B3482372B42   TYLER                DALK                 CO     33089804823
266B4392672B32   IGNACIA              CARRILLO             CO     33046993926
266B44A6591522   KRISTIAN             FUENTES              TX     90012304065
266B4595151369   BETH                 SCHROER              OH     66012295951
266B4AA5384364   KENNETH              JOHNSON              SC     90011590053
266B5122472B29   DAVID                NAJERA               CO     33088521224
266B5235172B88   JON                  JANSEN               CO     33007602351
266B5353A72B29   JUDITH               MORENO               CO     33025083530
266B538A34795B   JUTON                LOCKHEART            AR     25043773803
266B585394B588   TAYNA                KEENEY               OK     90012388539
266B594679136B   CYNTHIA              ELLISON              KS     90009049467
266B596284B261   LYNETTE              BLACK                NE     27024549628
266B676715B571   MIREYA               GUERRERO             NM     35029417671
266B738495B271   KRISTIN              PHILLIPS             KY     68016823849
266B833287B449   ADRIAN               JORDAN               NC     90013533328
266B847554B261   LAWRENCE             MCLUCAS              NE     27018664755
266B8546457157   JESUS                MARINERO             VA     90009555464
266B87A5191953   RACHEL               JUSTICE              NC     17066377051
266B939263B355   ALICIA               HERRERA              CO     90013143926
266B939468B17B   WILLIAM              MUSA                 UT     90011103946
266B93A9A51369   AMANDA               HATFIELD             OH     90010743090
266B972859184B   JULIO                MIRANDA              OK     90012377285
266B983AA84364   STOKES               LAKYSHA              SC     19088518300
266B9915291953   MAYRA                RODRIGUEZ            NC     90012029152
266B9A16572B88   MATTHEW              MORRIS               CO     90007430165
266BB421A7B477   MARKISKIA            HENDERSON            NC     90012244210
266BB552972B86   KRISTI               SMITH                CO     33012925529
266BB81932B27B   LITALIA              PEGRAM               DC     90012558193
26711488672B42   DUSTIN               GOUGH                CO     90010354886
26712168A72B42   MELANIE              COE                  CO     90013271680
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26712441272B29   JOSHUA       TRUJILLO                     CO     90012864412
267124A8372B32   SOLOMIE      ALEBACHEW                    CO     90013254083
2671448887B477   BEVERLY      GRIM                         NC     11016964888
26714657276B62   ERNESTO      MUNOZPEREZ                   CA     90001266572
26714744472B32   SALVADOR     GARCIA                       CO     90012897444
26714A8419184B   LISA         CANNON                       OK     90011750841
2671511A79155B   LUCY         MARTINEZ                     TX     75088731107
26715255A5B271   JOSEPH       TYPROWICZ                    KY     68011692550
2671542817B449   BARBARA      LYNCH                        NC     90012854281
2671586624B588   ROY          WILLIAMS                     OK     90009068662
26715A37584364   DENISE       MOSLEY                       SC     90013930375
26716892172B88   CECILIA      BRABO GODOY                  CO     90009368921
2671711734B261   ANGEL        CERVANTES                    NE     27008271173
2671753A461994   ROMAN        DIAZ                         CA     46097015304
2671773385B571   LUCERO       BRITTANIE                    NM     35077737338
26717816172B32   MONICA       MCNEILLY                     CO     90015188161
2671798469189B   ANA LAURA    NUNEZ                        OK     90014919846
26717AA9991831   RONALD       JAMES                        OK     90012630099
26718A3414B261   HOUSTON      ALEXANDER                    NE     27084190341
26719336772B32   JANEE        OSBORNE                      CO     90003433367
2671946627B449   LUTHER       RANKIN                       NC     90014324662
2671963935B161   NYLA         HARLEN-COHN                  AR     90001956393
267199A6485998   HARRY        IVEY                         OH     90008399064
2671B12A457157   JORGE        MONTECINOS                   VA     90008541204
2671B131A91953   VERONICA     MURGA                        NC     90006991310
2671B473A4B588   JORNAE       DEAN                         OK     90002064730
2671B5AAA5B161   SULANDA      NELSON                       AR     23095505000
2671BA28A84364   MATT         LARA                         SC     90014910280
26721374A51369   HELEN        ROBERTS                      OH     66030853740
26721429A5B161   JOSE         GUADALUP                     AR     90012604290
26723167772B32   JORGE        NAAL                         CO     90014971677
26723A9734B261   DEBBIE       BASS                         NE     90013840973
2672442787B449   PROSPERO     SESMOS RIVERA                NC     90013064278
2672465847B471   MELODY       GREEN                        NC     11019736584
26724725672B32   MANUEL       SOTELO                       CO     90012907256
26725182672B32   SAVANAH      MARTINEZ                     CO     33088151826
26725347772B29   DANYLE       DAVIS                        CO     90010163477
2672626714B521   GLENDA       MCGUIRE                      OK     90008682671
267265A489155B   VARGAS       BEATRIZ                      TX     75011175048
26726A78261979   MARTIN       VILLAREAL                    CA     90007810782
26727553172B42   LADRAYE      SHAW                         CO     33095395531
2672794719136B   TENIKA       FREELON                      KS     29004219471
26727A2999189B   JEREMY       ULLRICH                      OK     90014920299
26727A93272B32   SERGIO       ESPARZA                      CO     90011690932
26728173A91582   NANCY        MARQUEZ                      TX     75063801730
26728313272B88   RECCO        JOHNSON                      CO     33077323132
26728753872B32   ROGOBERTO    VIVEROS-BACA                 CO     90012617538
267287A7A7B449   JEREMY       ROTARIUS                     NC     90005557070
2672899569184B   CHRIS        KING                         OK     90000279956
2672899689136B   GRACE        HERRERA                      KS     90005279968
26729A3759189B   MARIA        CONTINAS                     OK     90014920375
26729A38A7B449   SHAQUIA      HOOD                         NC     90012400380
26729A92A41245   QUENTIN      DZARA                        PA     90012490920
2672B318A55977   SHANNON      ANGEL                        CA     90000143180
2672B3A669184B   KENNETH      LYNCH                        OK     90001963066
2672B451457157   FRANCIS      CHENEVEKT                    VA     90012674514
2672B911955957   ENRIQUE      GARCIA                       CA     90014779119
267313AA891953   TYEESHA      COOPER                       NC     90010013008
2673144875715B   MELISSA      LOPEZ                        VA     81016484487
26731864372B42   DENNY        BANDY                        CO     33034248643
26732248572B29   MATTHEW      MEDINA                       CO     90012562485
2673274394B588   SHAUN        MOSER                        OK     90010417439
26733178672B88   IMARI        SMITH                        CO     90013081786
2673336919155B   EVA          AGUILAR                      TX     90007563691
26734269A57157   ANABEL       ORTOLA                       VA     90013542690
2673437A341245   GRETA        PEGHER                       PA     51002233703
26734991624B46   ASHA         SCOTT                        DC     90007249916
26736274272B88   ROSENDO      SOLIS                        CO     90013752742
2673669422B241   HEATH        LEWIS                        DC     90011846942
26736935572B29   VIRGINIA     ALEXANDER                    CO     90014099355
267369A979184B   AYME         ZUNIGA                       OK     90013839097
2673718AA4B52B   MICHAEL      OWENS                        OK     90010721800
267373A619189B   JOSE         SANCHEZ                      OK     21074313061
2673826A97B477   ASIA         BENTON                       NC     11052682609
26738448472B32   JAZMIN       SEPULBEDA                    CO     33015024484
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2673866658598B   DOUGLAS      NOEL                         KY     90007706665
267386A7291522   MAGALY       MENDOZA                      TX     75042656072
26739194A7B449   ABIGAIL      MEDRANO                      NC     11076851940
2673948115B161   JARMON       LLOYD JR                     AR     90012604811
26739515472B29   GIOVANNI     GONZALEZ                     CO     90012375154
2673B24454B261   NICOLE       SCARBORO                     NE     27009812445
2673B26A891522   MAYRA        GONZALES                     NM     75044372608
2673B872355957   MEGAN        MCINTIRE                     CA     90014908723
2673B8A345B571   YVONNE       ROMERO                       NM     35056978034
267412A6331433   RACHEL       PAGE                         MO     27541262063
267419A8472B88   OSCAR        MONTEAL                      CO     90012809084
26741A8845B161   CARLOS       CHAY                         AR     23016190884
26744177A91828   ANGELICA     PINA                         OK     90008481770
26744835172B42   KEITH        DEMPSEY                      CO     33021588351
2674484A77B449   DILLON       BLACKWELDER                  NC     90014568407
26745563372B88   ALBERTO      PAREDES                      CO     90002215633
26745726A91522   ARMIDA       TREVINO                      TX     90014917260
26746821A57157   KIMBERLY     RUCKER                       VA     81052328210
2674718AA4B52B   MICHAEL      OWENS                        OK     90010721800
267479A334B261   IAN          GOMEZ                        NE     90009609033
2674824AA9184B   DERRICK      DAILEY                       OK     90014152400
26749149872B32   SANDRA       GARCIA                       CO     90011061498
2674B832525138   MARSHA       STEWART                      AL     90013038325
2674B957672B42   JACQUELINE   AGUILAR                      CO     33084919576
26751159972B88   CESAR        ALVAREZ                      CO     33067621599
26751A66372B32   JASON        SMALL                        CO     90012470663
2675218399136B   JAVIER       HERNANDEZ                    KS     90015321839
2675227AA4B521   NATASHA      DORSEY                       OK     90006682700
2675236769184B   JULIO        BAROJAS                      OK     90015103676
26753169A7B449   FABIAN       ROBINSON                     NC     90014821690
2675332A79155B   GARCIA       ARELY                        TX     90012303207
267539A669155B   MARIA        GARCIA                       TX     75074819066
26754A2A384364   DAYAMI       MCCANTS                      SC     90010750203
26754A88572B88   ISSAC        MARTINEZ                     CO     90015120885
26755563172B88   NELSON       MARES                        CO     33014245631
2675563364B261   IRIESELA     VALENTE                      NE     90010436336
2675572A884364   ISRAEL       SANCHEZ                      SC     90008647208
26755A15171925   ROXANNE      ROMERO                       CO     90012390151
2675767129189B   BRITTNEY     JONES                        OK     90014926712
26757AA8472B29   ROSENDA      HERNANDEZ                    CO     90008710084
2675812314B588   JAQUATTEA    AUGUSTINE                    OK     90010701231
2675885795B271   KOR LONDA    MCCROMINS                    KY     68066648579
2675885A35B326   GABRIELA     MORALES                      OR     90005738503
26758999272B29   FLORENTINO   ANTILLAN-TREMILLO            CO     90012959992
267597A2591828   RANISHA      ROCHELL                      OK     90014067025
26759973272B29   RANDALL      BOYLES                       CO     90000999732
2675999A24B261   KATRINA      HOTKA-TRUEMPLER              NE     90012099902
2675B59879184B   SHERITA      MORRIS                       OK     90013835987
2675B654672B29   JUANA        REYES                        CO     33040676546
2675B992657157   LEONARDO     BERMUDEZ                     VA     90010739926
2676113957B336   LISA         SAEZ                         VA     81057081395
2676226984B588   TILLY        FRANCO                       OK     90006732698
267622A1472B88   JOSHUA       GILDEN                       CO     90011972014
2676244839189B   JOAQUIN      DEL RIO DIAZ                 OK     21029214483
2676377174795B   MARIA        LANDEROS                     AR     25055167717
26764736A9184B   MARIA        PADILLA                      OK     90010017360
2676496A37B449   LASHAE       WALKER                       NC     90013239603
2676592934B281   SYLVIA       HOLST                        NE     27029089293
26766268872B42   THEODORE     SALAZAR                      CO     33011932688
26766743672B88   LORRIE       MARTINEZ                     CO     33013377436
26766A29672B32   TRAVIS       MARRICLE                     CO     33032000296
267672A3591828   JANELLE      JARCHOW                      OK     90011022035
26767523972B88   BRIAN        NASTICK                      CO     33034615239
2676754464B281   LEAH         BROWNING                     NE     27074725446
26768638972B29   ROBERTA      GOLDAMMER                    CO     90012926389
26768891772B32   KRISTIE      TSINNIJINNIE                 CO     90014868917
26768A43257157   MONRIQUE     SARCENO SALGUERO             VA     90012690432
26769154572B88   CARLOS       PAREDES                      CO     33091091545
26769167172B29   MARGO        DIXON                        CO     33008721671
2676982252B232   CHANELL      HODGE                        DC     90005888225
2676997395B571   BRYCE        HARPER                       NM     90008359739
2676B949872B42   VALERIE      DIACK                        CO     33095509498
2677117345B54B   BRENDA       PADILLA                      NM     90015381734
2677281269189B   SARAH        CORNELISON                   OK     21052448126
26773122A4B588   ANGEL        WALKER                       OK     90012741220
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2677334A77B449   BRIANNA         TRAVELL                   NC     90002883407
2677387555B161   CRISTINA        KAIN                      AR     23008028755
2677398358B168   SHAYLEE         WHEELER                   UT     90002779835
2677471849184B   BRENDA          SEALS                     OK     21062837184
26776156472B29   JOSE            HERNANDEZ                 CO     90011581564
2677692782B27B   DARREN          ANDREWS                   DC     90008979278
26777539272B88   DORA            ZUNGIA                    CO     90011275392
26778242972B32   TIFFANY         MUNOZ                     CO     90013712429
2677849A44B261   JULIUS          SHIELDS                   NE     90011504904
26778A16857157   ROGER           COALEANO                  VA     81029280168
2677976372B27B   CHANEL          JENKIN                    DC     90015097637
2677989849184B   PAIGE           DANIEL                    OK     21063658984
26779AA1351369   DELORES         HALL                      OH     66015090013
2677B133372B88   JESUS           TREVIZO                   CO     90008471333
2677B2AAA7B471   TRIASSA         DUBOR                     NC     90002962000
2677B33787B471   TRIASSA         DUBOSE                    NC     90014003378
2677B6A4155977   ALYSHA          SUMAYA                    CA     90012006041
2678172549189B   DYLAN           ANNEX                     OK     90014927254
26782151672B88   KRISTY          RAAB                      CO     33015261516
2678243465B161   LAURA           MELENDEZ                  AR     90014704346
26782439772B32   COLLIS          CLARK                     CO     90012854397
2678245A172B42   ALCALA MANUEL   HURTADO                   CO     90012024501
2678262A371935   CLARA           FOWLER                    CO     32094886203
2678276514B588   DEBRA           RUCKER                    OK     21552707651
26782998A36165   ROBERT          RAMIREZ                   TX     90012969980
26782A3269184B   BOBBI           CASE                      OK     90009740326
2678371A672B42   TINO            GONZALEZ T G              CO     90010927106
26784677A4B588   TRISHA          JACKSON                   OK     90014046770
26784723172B29   JIM             WADDELL                   CO     33088327231
2678477885B161   BRITTANY        ROBINSON                  AR     23008127788
26785A38472B42   RICHARD         GARCIA                    CO     90012830384
26786439772B32   COLLIS          CLARK                     CO     90012854397
2678676114B588   RAVEN           MILLER                    OK     90014417611
26786791A57157   NORMA           JOVEL                     VA     90013327910
2678739A591953   FELICIA         YOUNG                     NC     90008763905
26787A3A65B161   SUZETTE         ELLIS                     AR     23089930306
26787A54991986   DARIUS          OSBORNE                   NC     90013300549
26788466272B29   DAVID           CALDERON                  CO     90012574662
2678995799184B   SPENCER         LOVE                      OK     90013079579
26789A47371935   SAUL            OROZCO                    CO     90011160473
2678B224155977   ITZEL           ACOSTA                    CA     90013182241
2678B475721677   CHRISTINA       MORRISON                  OH     90011154757
2678B95A391953   GRACE           HARRIS                    NC     17016539503
2678BA53455957   MYEISHA         WORMLEY-JOHNSON           CA     90013460534
267918A4361995   ANGELICA        RODRIGUEZ                 CA     90004468043
26791932272B88   WAYNE           GRIFFIN                   CO     90009389322
26792126A7B449   GLORIA          YATES                     NC     11098011260
26792171A9184B   MICHAEL         EUBANKS                   OK     90007361710
26792318A72B88   ISELA           MENDOZA                   CO     90015073180
26792AAA77B471   MIGUEL          SALGADO                   NC     11086170007
2679376894B261   TRACY           BARTOETT                  NE     27079497689
2679394952B542   JULIO           BRIONES                   AL     90015019495
2679447279184B   HUMBERTO        MARTINEZ                  OK     90010804727
267944A893B352   MICHAEL         LITTLEHORN                CO     90004854089
2679451162B232   CHRISTEN        MCBRYDE                   DC     90008895116
2679475632B27B   DARLENE         BURTON-DORSEY             DC     90012807563
26795326372B27   LUCILLE         WASHINGTON                CO     33000513263
26795A6834B261   BRIAN           LANAM                     NE     90007930683
2679645524B588   TRISTA          GILBERT                   OK     90003004552
2679722854B588   CREE            HILL                      OK     90015112285
2679839172B27B   MIA             CARTER                    VA     90015213917
26799283272B88   MARIA           GAMBOA                    CO     33098902832
26799772A84364   RUSHIA          ROBERTSON                 SC     90013047720
267997A1891953   FRANCIS         WHEELER                   NC     90013627018
2679989265B161   TAMIKA          BLOCKER                   AR     23064778926
267B136A572B32   MAHIPIYA        WHITE CALF                CO     90011073605
267B1635684364   SIMON           LICONA                    SC     90013936356
267B1978991828   APRIL           CHANCELLOR                OK     90010659789
267B2868831631   WILMA           WILLIAMS                  KS     22026978688
267B31A6255977   OLIVER          GODINEZ                   CA     90013161062
267B3577A81661   TAMMY           RICHARDSON                MO     29081145770
267B3778131433   CHARLOTTE       AUTTIN-HOLT               MO     27541247781
267B413A531433   DARRYL          ELLIS                     MO     27575431305
267B452775B161   MILTON          WHITAKER                  AR     23000355277
267B5133172B88   FELIPE          QUINTANA                  CO     33001261331
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267B5268A2B27B   EARL             NELSON                   DC     90008032680
267B554A857157   PEDRO            QUISPE                   VA     90010465408
267B5843561989   DORA             CANO                     CA     90004528435
267B6481291522   GEORGINA         ANTILLON                 TX     90008774812
267B6513793753   CHRIS            MORELAND                 OH     90000545137
267B66A172B86B   GABINO           FRANCO                   ID     90014996017
267B6844655957   LOURDES          VICENCIO                 CA     90007168446
267B697519189B   RENSO            ZAVALA                   OK     90014919751
267B7343684364   CHRISTINA        MILLS                    SC     90010523436
267B7427A5715B   YOLANDA          VARGAS                   VA     81042414270
267B7632357157   JAMAL            WALKER                   DC     90012336323
267B79A1472B29   MARIO            VARGAS                   CO     33087209014
267B822494B543   LACHRISA         DUPREE                   OK     90001612249
267B8622931631   MANUELA          PUCHI                    KS     90013566229
267B8878243551   SHANNON          ASHBY                    UT     90000888782
267B8A74984364   MIRANDA          NEALY                    SC     90014570749
267B9363A4B588   EBONY            JARRET                   OK     90012453630
267B9576184364   JASMINE          BROWN                    SC     90014875761
267B96A279184B   CANDY            WATKINS                  OK     90009746027
267B9759972B29   SUSAN            BUTLER                   CO     90011897599
267B986A472B32   CHRIS            ROSS                     CO     90008268604
267BB583472B32   SONNY            FISCHER                  CO     90014595834
267BB66235B161   MARIA            SANTOS                   AR     23092136623
267BB949A72B53   JUSTINA          HONEA                    CO     90010869490
26811411A9189B   LENNISON         BAEZ                     OK     90014914110
26812248672B42   RAUL             VALDEZ HERNANDEZ         CO     90009532486
268124A713366B   DORIAN           HARDY                    NC     90011454071
268127A4331453   JERMANIE         BRYANT                   MO     27564667043
26813194972B88   WILLIAM          JR                       CO     90011961949
268136A579155B   ALEX             RAYOS                    TX     90005486057
2681393812B27B   BENJAMIN         MCDANIEL                 DC     90009529381
2681435319184B   HUE              CULVER                   OK     90012963531
2681441564B588   IONE             GRAHAM                   OK     90013104156
268151A474B588   SAMANTHA         JOHNSON                  OK     90004451047
2681547255715B   SEAN             BOWLES                   VA     90005014725
2681552174B261   CELETHIA         BURTON                   NE     90012095217
2681575825B37B   SCOTT            PAYNE                    OR     90008607582
26815A1122B27B   WILLIAM          FRIDAY                   DC     90012240112
26815A21691953   ANGELA           CHAMBERS                 NC     90011350216
26815A6A761977   MIGUEL RICARDO   SOTO RICO                CA     90012680607
268165A689184B   ANA              GARCIA                   OK     90014245068
26817138A5B244   JAMIKA           DRAKE                    KY     90010881380
268171A2791828   SAMANTHA         HARRISON                 OK     90013631027
26817236A91522   MARIA            ALVAREZ                  TX     90013642360
26817A73991522   OTILIA           QUINTANA                 TX     90014910739
26818931272B32   JESUS            TALAMANTES               CO     90011179312
2681921A591953   SARAI            ESCOBAR                  NC     17085642105
268192A7491828   DAVONTE          WILLIAMS                 OK     90000582074
2681948274B261   DAWN             HARTLEY                  IA     90014834827
268195A7941245   HAYLEY           KING                     PA     90002355079
2681963565B161   HAGLER           MYESHA                   AR     90011096356
268197A179136B   BUBBA            HETTMAN                  KS     29055987017
2681B445591828   DEISY            SANTANA                  OK     21015734455
2681B48382B27B   BRIAN            MARSHALL                 VA     90014484838
2682166165B571   ANTHONY          WOOD                     NM     90006476616
2682179424B261   SERGIO           AGUSTIN                  NE     90011017942
268223A7181661   JESSICA          HERNANDEZ                MO     29079873071
2682368254B261   LESHA            HARRIS                   IA     90011026825
2682463437B449   EDUARDO          NENGITUKULA              NC     90011916343
268247AA19184B   CLARISSA         HOWARD                   OK     90010207001
26824A5725B571   CASSANDRA        CARRILLO                 NM     35061100572
2682578A94B588   EVINYN           QUIJADA                  OK     90006197809
268268A1781661   SANTOS           HERNANDEZ                MO     29002178017
26827735672B88   NATLEY           WOODS                    CO     90008977356
26827974372B42   JANNIELLE        FLORES                   CO     90012119743
26827A84672B42   JENNIFER         RODRIGUEZ                CO     90013070846
2682844262B27B   FELICIANO        GATICA                   DC     90003604426
2682889769155B   SIMONA           HERNANDEZ                TX     75087358976
26828914A7B449   SADE             HOUGH                    NC     90012869140
26829A8A37B471   MAURICE          CARROLL                  NC     90009700803
2682B597272B29   CARLOS H         ROLDAN                   CO     90011235972
2682B63A172B88   KARLA            CERECERES                CO     33009586301
2682B88645598B   SAMUEL           FLORES                   CA     90003008864
2682B8A269189B   DANIEL           LAWRENCE                 OK     90014928026
26833181472B32   GUADALUPE        TALAVERA                 CO     90011061814
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2683439427B477   SHAUNTA      MOORE                        NC     90004223942
26834A37672B88   KELLY        HAMILTON                     CO     90013770376
2683536154B281   THUBO        ACHWIL                       NE     27074983615
26836335172B98   WANDA        RAMEY                        CO     33095083351
2683655377B471   GALVAN       AGUILAR                      NC     90002095537
2683659137B449   DANISHA      PATTERSON                    SC     90010965913
268368A2691828   TRESSIE      SWEARINGEN                   OK     21025548026
2683742685B571   OSCAR        BARRIGA                      NM     90009144268
268377A989136B   BRIDGETT     FITZPATRICK                  KS     90008337098
2683912219184B   ROSA         RABANALES                    OK     21044931221
2683945828B17B   MONICA       MUNOZ                        UT     31047844582
26839527A57172   MIGUEL       CASTRO                       VA     90008695270
26839549172B29   CHARLENE     SOLANO                       CO     90001365491
2683B13A34B588   THERESA      MITCHELL                     OK     90009811303
2683B22A155977   ARTURO       GONZALEZ                     CA     90013602201
2683B4A4584364   COURTNEY     FERGUSON                     SC     90013944045
26841431A72B88   CHRISTINA    JENSEN                       CO     90014474310
26841777472B42   EVELIN       MELENDEZ                     CO     90010887774
2684183155715B   MELUIS       MARTINEZ                     VA     90005458315
26841A63A51369   GWENDOLYN    WILLIAMS                     OH     90003260630
26841A73772B32   CONCEPCION   GALVAN                       CO     90012470737
2684265775B161   RANEL        LOWE                         AR     90011096577
2684292619184B   LANEISHA     HUGHES                       OK     90010869261
2684449792B232   DOMINICK     STOVER                       DC     90005894979
2684472257B471   NOLBERTO     CHAVARRIA                    NC     11094227225
2684562194B261   RUSS         MYRICK                       NE     27037516219
268457A985B161   CAROLE       WILSON                       AR     90009097098
2684627117B449   AKBAY        DEFNE                        NC     11064382711
2684663A29189B   JASON        HENDRIX                      OK     90011886302
2684697329184B   LAURA        OWEN                         OK     90012029732
2684935167B457   REBERAH      WASHINGTON                   NC     90012273516
2684967644B531   CONSUELO     ESTRADA                      OK     90006296764
2684B13214B261   ROSLAND      HENDERSON                    IA     90012421321
2684BA95331631   SHERI        GONZALEZ                     KS     90014750953
2685173A99184B   FERNANDO     PALESTINA                    OK     90011407309
26851A42A5B57B   CLARA        SERRANO                      NM     90009090420
26852173672B32   ROBERT       ESQUIBEL                     CO     90011061736
26852879A72B29   JUAN         ASTORGA                      CO     90005478790
26852A28331453   JAMES        TROY                         MO     90004270283
26853779872B42   JUAN         IBANEZ                       CO     90014037798
2685429494795B   SONNY        JONES                        AR     25095242949
2685458865B161   MARK         CLARK                        AR     23087685886
26855548772B29   GABRIEL      GALLARDO                     CO     90009565487
2685582779189B   ANGELIA      HANSEN                       OK     90014928277
2685653364B588   ALYSSA       TOLSON                       OK     90012685336
2685679954B261   JESSICA      MILLER                       NE     90011017995
26856A11997122   NOEL         MENDEZ                       OR     90013250119
2685774544B281   JOSE         BERNARDINO                   NE     90006457454
26857A7347B449   RICHARD      MEDLIN                       NC     90014710734
2685834614B281   JOHN         STONE                        NE     27012513461
2685917222B27B   PAUL         BASSE                        DC     90001311722
26859426872B32   ALLEN        HALKO                        CO     90013364268
2685973A284364   JONATHON     SIMMONS                      SC     90013607302
2685B27912B27B   NORMA        LEON                         DC     81027502791
2685B32252B926   MALCOM       WRIGHT                       CA     90000963225
2685B461172467   BETH         MOORE                        PA     90008594611
2685B484491828   NICOLE       GREEN                        OK     90015124844
2685B848172B29   EFRAIN       TINOCO                       CO     33074558481
2685B949972B88   JOSH         SALCIDO                      CO     33012699499
2685BA2947B449   DARRYL       CARSON                       NC     11067520294
268613A1172B32   MARGARITA    LEON                         CO     33054503011
2686234492B27B   DIANE        LAMBRIGHT                    DC     90010393449
2686253364B588   ALYSSA       TOLSON                       OK     90012685336
2686321164B261   WENDY        BESSE                        NE     90015202116
2686326774B581   ASHLEY       ELMORE                       OK     90014332677
26864714372B42   OSCAR        BUENO                        CO     90010927143
2686515137B644   SHANTAE      SAVAGE                       GA     90010641513
2686565889155B   JOSE         GONZALEZ                     TX     75099146588
26865779572B88   DONALD       ARMSTRONG                    CO     90000377795
268661AA731631   JOSE LUIS    JACQUEZ                      KS     90013601007
2686755465B28B   DAVID        MONEY                        KY     90005675546
2686796A472B32   TASHA        SHAW                         CO     90012139604
26868478A4B588   JAMES        WHITE                        OK     90005024780
2686882859136B   SARA         DIAZ                         MO     90003358285
268693A9591522   ARTHUR       DE STEFANO                   TX     90014523095
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268696A579155B   ALEX         RAYOS                        TX     90005486057
2686B39584B281   JESSICA      SISNEROS                     NE     90008653958
2687181295B161   SHARONDA     FLINT                        AR     90009098129
26872A2A931631   JON          BOYD                         KS     90009540209
2687383A99184B   BREANA       BROWN                        OK     90009398309
2687384A781661   KELLIE       COLLINS                      MO     90010518407
268741A1A72B32   GRISEL       MARQUEZ                      CO     90001931010
2687461AA84364   VALORIE      DRAYTON                      SC     19001506100
26874A8139155B   ADRIANA      GONZALES                     TX     75084250813
26875AA8471924   STEPHEN      GONZALES                     CO     90007870084
2687653789184B   OLGA         TORRES                       OK     90002195378
2687692727B471   ANTOINE      ISLES                        NC     11064269272
26877463572B88   DON          DOBRANSKY                    CO     33087594635
26877A1735B271   STEWART      SHARPE                       KY     68093580173
2687829359189B   MANUEL       MEMIJE                       OK     90010202935
26878711772B29   ANITA        GARCIA LEON                  CO     90002737117
2687978824B281   ZAMZAM       JIMALE                       NE     90011647882
268797A6372B88   ALEZANDRA    GALVAN                       CO     90010527063
2687986382B27B   ZACK         JOHNSON                      DC     81078228638
2687992392B232   DION         MCCLURE                      DC     90005899239
2687B19372B27B   TELEKA       LEWIS                        DC     90015011937
2687B233257157   SUSANA       CASTILLO GUERRA              VA     90012732332
2687B94839184B   MATEO        LOPEZ                        OK     90015289483
2687BA41555977   CHRIS        ORTIZ                        CA     90000410415
2687BAA5391528   JESUS        ZARATE                       TX     90006880053
2688117A184364   KRISTEN      ALLEN                        SC     90013941701
2688271999184B   STACYE       CHERNISKY                    OK     21070087199
26882A41157157   AMILCAR      GOMEZ                        VA     90009020411
268833A119189B   SCOTT        LESTARGE                     OK     21094303011
26883575272B88   SARA         REDLER                       CO     90011275752
2688366362B27B   MARK         JOHNSON                      DC     90001036636
2688414324B588   ANITRA       FLEEKS                       OK     21558221432
2688476A831631   BRIANA       ALFORD                       KS     90013917608
2688522A82B27B   DON          WALKER                       DC     90010412208
2688526A72B27B   LAPREKIA     GILBERT                      DC     90012832607
26885A6315B161   HUGH         EASTWOOD                     AR     90010390631
2688665572B27B   JUNE         MARSHALL                     VA     81014416557
2688744642B962   CHVONNE      MACINTOSH                    CA     90009424464
2688759742B931   JUAN         MORALES                      CA     90006425974
268878A546196B   JANETH       MALDONADO                    CA     90008078054
2688795535592B   MARIA        ESCAMILLA                    CA     90008679553
26888339972B32   LATONYA      WILLIAMS                     CO     33005853399
2688989994B261   RAUL         JARQUIN                      NE     90015098999
2688B17358B17B   ASHLEY       TAYLOR                       UT     90010171735
2688B654355957   ROXANA       VASQUEZ                      CA     90015396543
2688B992791241   WILLIE       LEWIS                        GA     90011419927
26891575172B32   MARIA        GUILLEN                      CO     33045125751
268919A589189B   JEREMY       BILLINGSLY                   OK     90014929058
2689255A97B449   CAROLINA     FUENTES                      NC     90013525509
2689263539155B   IVAN         DURAN                        TX     90005486353
2689391149189B   OCTAVIO      MEDRANO                      OK     90014929114
2689445874B588   JOSE         FRANCISCO                    OK     90004124587
2689491149189B   OCTAVIO      MEDRANO                      OK     90014929114
2689492397B449   VANESSA      SPRING                       NC     90012869239
26894A11157129   LESLIE       WHITE                        VA     90001420111
2689511337B422   JOHANNA      GONZALEZ                     NC     90013581133
2689527347B449   HEATH        POLSON                       NC     90012092734
26895A83172B32   LISA         TALMADEGE                    CO     33048670831
26896239172B88   ERICK        MARTINEZ                     CO     90012802391
2689631774B588   TABITHA      KING                         OK     90014093177
2689666924B588   MALEA        BARNETT                      OK     90011126692
2689672589136B   CHRISTA      GUMM                         KS     29013257258
26897622972B29   MICHAEL      PICKTELL                     CO     90011236229
26897758872B53   KIMBERLY     PETTERSEN                    CO     90006057588
2689817182B27B   MANOR        ZAPET                        DC     90004311718
268982A979152B   BRYAN        VALLE                        TX     90001502097
2689835264B261   BERNARD      PARCHMENT                    NE     90013493526
2689864AA55957   FAYE         PEREZ                        CA     90011116400
2689891374B281   VICENTA      JIMENEZ                      NE     27061599137
26898981297B41   IDRIS        AHMAD                        CO     90006139812
2689918357B477   BRANDI       CHRISTENBURY                 NC     11010171835
2689922682B27B   ANA          OBELIZ                       DC     90008422268
26899A5869155B   LURDES       GARCIA                       TX     90009250586
26899A6439136B   JOSE         MARIA PEREZ                  KS     90003360643
26899A66172B29   LORENA       TRUJILLO                     CO     33062500661
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2689B211991828   M             DIXON                       OK     90014352119
2689B598831631   GEOMAR        CERVANTES                   KS     90012745988
2689B951472B29   REBECCA       FRAZIER                     CO     90013829514
2689B953672B88   MAYRETH       BARRAZA                     CO     90012629536
268B1784172B42   VALERIE M     ROBLES                      CO     33085067841
268B2233955947   ANDY          FLORES                      CA     90013892339
268B251A657157   ZULMA         CONTRERAS                   VA     81052565106
268B254A472B32   KWING HO      YAN                         CO     90009715404
268B3143172B88   NORMA         SANCHEZ                     CO     33079161431
268B3336861939   PECOLIA       GREEN                       CA     46043903368
268B375A172B29   JASON         LEBSOCK                     CO     33025307501
268B42A274B521   TANYA         LASSAK                      OK     21572482027
268B431473B347   KATHERINE     CRUZ                        CO     33016793147
268B4592381661   TIFFANY       SLATER                      KS     90010515923
268B4A1A27B449   DERRICK       BARBER                      NC     90014810102
268B5176384364   JASON         FLEMING                     SC     90001261763
268B5422331453   DAVID         WILLIAMS                    MO     90002144223
268B574759189B   JAVIER        LOPEZ                       OK     90014927475
268B5798331492   MARSHALL      CLEMONS                     MO     90006367983
268B57A5491953   ALEJANDRO     LOPEZ                       NC     90004517054
268B5951672B42   TERRY         BURKE LINDEMAN              CO     33082399516
268B619367B477   JESSICA       FARRIS                      NC     90003211936
268B697832B844   OLGA          HARPER                      ID     90012079783
268B6A93855977   EDUARDO       LEOS                        CA     48003550938
268B72A8A4B588   DEREK         KIGHT                       OK     90013732080
268B7389391522   ELVA          FERNANDEZ                   TX     75085733893
268B745867B449   ERIC          CARPENTER                   NC     11045864586
268B7787A72456   JENNIFER      WHITE                       PA     90007447870
268B7879881661   ROXIE         TURNMAN                     MO     29044758798
268B891557B449   WESLEY        FISHER                      NC     11032749155
268B8965555977   JESUS         REYES                       CA     90010799655
268B9553972B88   ROBERT        SHENEFIELD                  CO     90007395539
268B9656555977   MICHAEL       TAFOYA                      CA     90012076565
268B985289136B   CLAUDIA       MORA                        KS     29055328528
268BB138531631   JANIECE       DELAGARZA                   KS     90002501385
268BB593481681   SONYA         LOVE                        MO     90005875934
268BBA6647B449   MARSHA        GANDY                       NC     11092310664
2691138415B271   MARK          WILSON                      KY     68043393841
2691141132B27B   ANDERSON      LIRIANO                     DC     90012314113
2691212A155977   DORA          MULLEN                      CA     90015291201
2691216A681661   TERRY         FOLDEN                      MO     29073181606
26912185A25138   JOSE          LOPEZ                       AL     90015501850
26912782376B21   KACEY         BLANDA                      CA     90001737823
26913651172B32   MARIA         F DE MUNOZ                  CO     33070166511
26913AA7891953   TIP           TIP                         NC     90010450078
2691474429155B   ELENA         TOVAR                       TX     75069837442
26915169672B32   DIANE         VIGIL                       CO     33094901696
26915AA7355957   LUIS          RAMIREZ                     CA     90011170073
2691628374B588   LOIS          QUEZADA                     OK     90015072837
26916451672B32   JOSE          CORDOVA                     CO     33039174516
269164A298B136   MIKKEL        ROSS                        UT     90000964029
2691691155715B   MARIA         GUARDADO                    VA     81016279115
2691699184B521   JACOBO        MORALES                     OK     90005559918
2691875254B588   LEANN         KNIGHT                      OK     90015167525
26918A2A172B32   STACY RENNE   PASSAFIUME                  CO     90013780201
2691951134B261   DAVID         BRUNING                     NE     90008595113
2691955A231453   CHERYL S      WALDROP                     MO     90010105502
2691B191A91241   WINDLAE       ANDREWS                     GA     90011771910
2691B244572B88   MARIA         MEDINA                      CO     90012802445
2691B8A7472B42   JERRY         STEVENS                     CO     90012088074
2691BA5829189B   GEORGE        SMITH                       OK     90009760582
2692129395B161   ROXANA        HERBABDEZ                   AR     90014602939
2692231717735B   COURTNEY      SMITH                       CO     90001193171
2692334185B161   LISA          WOODS                       AR     23086673418
2692342A255977   SARAH         RORIGUEZ                    CA     90007134202
2692368582B27B   ANNIE         YALEGUE                     DC     81016346858
26925A53272B42   COURTNEY      ANDERSON                    CO     90014200532
2692633142B27B   JOSEPH        JACKSON                     DC     90010893314
26926421372B29   ROSA          RIBAS                       CO     33015704213
26926816172B32   ALMA          NUNEZ                       CO     33063088161
2692757649184B   MITCHELL      LEE                         OK     90013985764
269279A5572B88   SANDRA        RASCON                      CO     33022269055
2692985A872B32   ERIK          EDUARDO                     CO     90003488508
2692993255B271   RICHARD       GOODIN                      KY     90001319325
2692B923291522   ADRIAN        FLORES                      TX     90012889232
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2692BAA458B151   AMANDA        CROSBY                      UT     90009170045
26931741172B42   MICHAEL       MOULTON                     CO     90012127411
2693175915B161   MARQUEL       JEFFERSON                   AR     90011317591
2693285394B588   TAYNA         KEENEY                      OK     90012388539
2693286412B27B   DONNELL       SMITH                       DC     90008108641
2693295854B261   CHRISTOPHER   NELSON                      IA     90013089585
269331AA69189B   KAYLA         ENOS                        OK     90014931006
2693481112B926   LUIS          DE ARCOS                    CA     90007478111
26934826872B29   ALI           ALSHIBLY                    CO     90013858268
26935292A81661   SANDRA        ROBINS                      MO     29097932920
2693598463B179   LARRIEKA      KNOX                        DC     90011939846
26936593472B42   KITZI         SMITH                       CO     90014555934
2693711717B477   TRACY         WILSON                      NC     90002731171
26937524472B29   PORTILLO      MANUEL                      CO     33015705244
269381A1772B32   RENATA        GALVAN                      CO     90011931017
2693844215B571   RICHARD       SANCHEZ                     NM     35057144421
2693876632B27B   SHAWN         BELTON                      DC     90002707663
26938A25985938   LUISA         RAMOS                       KY     90012320259
26939198972B32   MARIBEL       GONZALEZ                    CO     33062011989
2693927285B37B   KIMBERLY      JARVIS                      OR     90006442728
26939A2467B449   GUSTAVO       MADORA                      NC     90006650246
2693B579157157   SAYQUAN       CARTER                      VA     90012745791
2694113A49189B   JOSEPH        IANNAZI                     OK     90014931304
269421A5272B88   IRENE         VARRUETA                    CO     90004501052
26942364A55977   MARIA         GARCIA                      CA     48078533640
26943173672B32   ROBERT        ESQUIBEL                    CO     90011061736
26943254172B88   JASMINE       CORRAL                      CO     90012802541
2694362AA9184B   MARCOS        SALDIVAR                    OK     90015146200
26943A62872B42   CLAIRE        LEPPER                      CO     90010670628
2694455744B553   CHADRIC       BLOOMER                     OK     90006405574
269447AAA41245   BRUCE         RANDOLPH                    PA     51042257000
26945448A9184B   JOSE          OVIODO                      OK     90009924480
2694749A29136B   RICARDO       ANDRADE                     KS     29035824902
2694787965B571   JONES         TAFT                        NM     90005318796
2694814744B281   WILBERT       SMITH                       NE     90002131474
26948A42172B29   ANASTACIO     HUICOCHEA                   CO     33076940421
26949617A72B32   SMITH         RENE                        CO     33095266170
2694B195A55957   MARGARET      VILLEGAS                    CA     48014941950
2694B264772B29   JEFRIES       RIANNE                      CO     90010192647
2694B6A8841245   DAVID         DININNO                     PA     90007226088
2694BA17855977   MIRIAN        LOPEZ                       CA     48036690178
26951A34A72B29   KACEY         AUMILLER                    CO     33040700340
2695215764B588   RONY          RAMIREZ LOPEZ               OK     90013391576
26953141A9189B   CHRISSIE      LACEY                       OK     90014931410
2695354764B261   JOSE          ALVAREZ                     NE     27049185476
26953A77A9184B   LARRY         DOODLEY                     OK     21016910770
2695443339155B   MANUEL        RODRIGUEZN E                TX     90007074333
26954487572B32   SENAIDA       CABRERA                     CO     33079774875
26954A63572B32   NICOLE        BALLEGEER                   CO     90012580635
26955469872B88   JAIME         PEREZ                       CO     90004714698
26955A4882B27B   ANISHA        BLAND                       DC     90014520488
269566A877B449   WILLIAM       COOK                        NC     90013616087
2695854519152B   ELICEO        VENGAS                      TX     90008165451
26958558372B29   NOE           TORREZ                      CO     90008635583
26958A8534B261   RUDEY         BISSONETTE                  NE     27016080853
26959587A72B29   VIRGINIA      ARAGON                      CO     90014715870
2695B21514B588   DENZEL        AKINMOLADUN                 OK     90014732151
2695B411257157   BETTY         WRIGHT                      VA     90012844112
2695B447872B42   SUSAN         SCOTT                       CO     90012324478
26962571172B88   BETH          RICCI                       CO     33073735711
269627A2887B87   CAROL         WILLIAMS                    AR     23022817028
2696295419184B   DONALD        ELLIS                       OK     90013839541
26963654972B29   ALEJANDRO     GUIVARA                     CO     90011236549
2696435269184B   JONATHAN      BRAY                        OK     90015343526
2696436A455977   TINA          WALKER                      CA     48044203604
2696439535B54B   HUGO          MERCADO                     NM     90013903953
2696593812B27B   BENJAMIN      MCDANIEL                    DC     90009529381
2696639152B27B   CHRISTAIN     GRAY                        DC     90010893915
269663A2A76B71   SCOTT         FLAHIVE                     CA     90013153020
26966513A61935   MARTHA        VASQUEZ                     CA     90010005130
2696672749184B   PABLO         GONSALEZ                    OK     21007267274
26967515972B32   ROSA          GAYTAN-DE SALAS             CO     33079545159
2696775355B271   EBELYN        LABRADA                     KY     90000877535
2696893497B449   YOLANDA       FEE                         NC     90009829349
26968A4254B588   REGINA        JOHNSON                     OK     90009200425
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2696911294B261   ADELA         VAZQUEZ                     IA     90013661129
26969178A9189B   DERRICK       RUSSELL                     OK     90014931780
269693A6484364   IVAN          ATALAIA                     SC     90009103064
26969572772B88   KRYSTAL       RAEL                        CO     33044665727
26969595A57157   ELSA          CRUZ                        VA     90011045950
2696B2A179184B   AMANDA        HERNANDEZ                   OK     21054712017
2696B944471924   DAVID         RODRIGUEZ                   CO     90007919444
2696BAA334B588   STEVEN        HARRIS                      OK     90010560033
2697287712B27B   KANIESHA      TILLER                      DC     90002108771
2697295AA55977   MARINA        GUEVARA                     CA     90012079500
26972A89651353   TYLAN         COHN                        OH     90014130896
2697398157B471   TRALETTA      BANKS                       NC     11074059815
26973A13772B32   KAYLYN        LILLY                       CO     90014160137
2697471737B477   MISTY         KISER                       NC     11011717173
269748A9991528   EZEQUIEL      HLUZ                        TX     75090458099
2697535475B571   TYLAN         TIDELL                      NM     90003403547
2697571A172B32   SANDRA        ESQUEDA                     CO     90009087101
26975A4A691522   ANTONIO       PAIZ III                    TX     90011090406
26975AA8377371   WHITNEY       WHITE                       IL     90000680083
2697661A472B32   TAMI          MARTINEZ                    CO     90014486104
2697683189155B   JUAN          BELMAN                      TX     75096368318
26976A9A451369   QUINITITRA    BAKER                       KY     90008790904
26977332A2B232   CHARLES       ANEKE                       DC     90001973320
2697747752B27B   FLAVIA        FORD                        DC     81083954775
2697914715B271   ANDREA        WILLIAMS-HALSELL            KY     68052241471
2697B516172B29   ADRIAN        PASILLAS                    CO     90011405161
2697B51A691249   RAMONA        BAUCOM                      GA     90000685106
26981A98885949   NANCY         WILSON                      KY     90012440988
2698212417B477   HATHO         BURRIS                      NC     11081901241
2698248249184B   FRANSISCO     RODRIGUEZ LOPEZ             OK     90009874824
26982798672B32   GILBERT       MENDEZ                      CO     33023927986
2698283384B281   ELIZABETH     FITZGERALD                  NE     27001358338
26982AAA45B271   WILL          HOLLENQUEST                 KY     68056480004
26983275672B88   EDWARD        DAVIS                       CO     90004962756
2698356765B161   MICHELLE      DREHER                      AR     90014605676
2698385394B588   TAYNA         KEENEY                      OK     90012388539
2698437334B261   JESUS         ARANDA                      NE     27068823733
2698543734B582   ALVERTO       ARVIZO                      OK     90009224373
2698556765B161   MICHELLE      DREHER                      AR     90014605676
269857A2791953   IVAN          SANTOS                      NC     90011417027
2698594A384364   JUAN CARLOS   BAUTISTA                    SC     90013949403
26985A84672B42   JAVIER        MORENO                      CO     90010670846
2698648274B261   DAWN          HARTLEY                     IA     90014834827
2698756765B161   MICHELLE      DREHER                      AR     90014605676
26987A44972B32   RODOLFO       LOPEZ                       CO     33047840449
26987A82A41245   MELISSA       KRAFT                       PA     51060950820
269883AA84B261   CHRIS         MANZER                      NE     90005243008
2698856765B161   MICHELLE      DREHER                      AR     90014605676
2698865479189B   YVONNE        RABON                       OK     90008726547
2698865A657157   VIOLET        GOMEZ                       VA     90012746506
269891A9781661   BENJAMEN      JAMES                       MO     29030021097
269892AA991953   JOLINDA       CLAPP                       NC     90008772009
2698976697B471   FRESNEL       NKOSI                       NC     90009227669
26989814272B42   JESUS         TORRES                      CO     33090438142
26989A3734B588   RONNIE        THOMAS                      OK     90011430373
2698B229472B27   STACY         VALDEZ                      CO     90008362294
2698B277657157   MICHELLE      BRISCOE                     VA     90010722776
2698B6A695B161   KIERRA        WALKER                      AR     90003126069
2698B94654B521   RENAE         BURBRIDGE                   OK     90007389465
2699173517B449   PRISCILLE     NTUMBA                      NC     90014897351
269917A4255957   MEGAN         RHEA                        CA     90010627042
26991A7144B281   LINDA         HALBERT                     NE     27095580714
269922AA872B29   OSCAR         SILVA                       CO     90007732008
26992696972B42   JODINE        LUCERO                      CO     90015086969
2699326672B27B   JOHN          SCOTT                       DC     90015042667
2699357799184B   BETTY         LOCKETT                     OK     21032395779
26995694A5B161   KEVIN         HELMES                      AR     90014696940
269956A137B449   MONTEA        MOORE                       NC     90003046013
26995A4275B571   STELLA        TORRES                      NM     35066860427
2699625716B247   ROBIN         GUTIERREZ                   AZ     90014132571
2699643267B449   HARRY         NUNEZ                       NC     11094394326
26996A21672B32   DEHART        JEANETTE                    CO     33098600216
2699721293366B   ALRITA        WILLIAMS                    NC     90002782129
2699795759184B   LYNNE         SWANFELD                    OK     90001769575
269991A4884364   AARON         HENSON                      SC     90013951048
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2699937762B241   ANTHONY      PREACHER                     DC     90009603776
2699965177B471   GLORIA       COUIGTON                     NC     90011236517
2699B72392B232   DOMONIC      GARRETT                      DC     90005727239
2699B724972B88   ANDREW       GORMAN                       CO     90010527249
269B163545B161   FRANCES      DONALD                       AR     23020456354
269B1671555977   VERONICA     FLORES                       CA     90005256715
269B213215B571   TIM          CHISM                        NM     90003401321
269B2283484364   REYES        RAMIREZ ORIZABEL             SC     90013942834
269B2558955957   ORTENSIA     HERRERA                      CA     90009325589
269B2739291522   ERICA        MARIN                        TX     90002997392
269B3683255957   BLANCA       OSUNA                        CA     48034376832
269B371A972B88   IMELDA       DIAZ                         CO     33076307109
269B4194272B88   CHRISTINA    MA                           CO     90012851942
269B4439272B42   ANN          CADWELL                      CO     90013924392
269B5343A72B29   EDWARD       HARSHAW                      CO     90012003430
269B5612A5B161   LEE          GALLOWAY                     AR     23008806120
269B592A44B261   SHARON       HERRERA                      NE     27098179204
269B5A46491241   LAURANCE     SCHMIDT                      GA     90009160464
269B6959272B32   OMAR         HERNANDEZ                    CO     90014999592
269B71A715B161   MONIQUE      HARPER                       AR     90008611071
269B724374B588   KAYAN        BRISTOL                      OK     90010592437
269B738834B588   MYKEL        SHERRILL                     OK     90014013883
269B7A69A57157   REZA         SHANIZI                      VA     81074510690
269B8372691959   WACKIMA      WRIGHT                       NC     90010153726
269B8428761974   TRINIDAD     ORTEGA                       CA     46009854287
269B8778851369   LAURACIA     MACHUCA                      OH     66040467788
269B8A71391522   SARAHI       GUZMAN                       TX     90011150713
269B92A675715B   BINIYAM      TOGGIA                       VA     90012202067
269B94A8272B32   CORNELIO     LECHUGA                      CO     33010144082
269B9A3532B27B   WENDY JO     HAYNES                       DC     90007330353
269BB28374B588   LOIS         QUEZADA                      OK     90015072837
26B11221691953   JUDY         SPEIGHT                      NC     90002272216
26B11421955957   SERGIO       FUENTES                      CA     48002804219
26B1193874B261   PAMELA       WATER                        NE     90011009387
26B12298631631   CHRISTINA    REISWIG                      KS     90009582986
26B12348491582   GLORIA       GANDARA                      TX     75050943484
26B12362276B82   OLGA         HERNANDEZ                    CA     90013733622
26B12445472B29   YOLANDA      CARBAJAL                     CO     90003264454
26B13326884364   ERLINDA      ORTIZ                        SC     90013683268
26B13366871933   DANIEL       COKER                        CO     90004573668
26B1429A733654   TAMMY        DONOVAN                      NC     90008792907
26B1434194B521   MEDINO       SERGIO                       OK     90006983419
26B146A8351369   CHRISTINA    SHARP                        OH     90006996083
26B14937A72B88   JOHN V       NGUYEN                       CO     90011479370
26B1566159184B   JOE          MARTIN                       OK     90008896615
26B15921272B32   TOYIA        MORRIS                       CO     33011089212
26B1592719189B   ACACIA       PRUETT                       OK     90011529271
26B1645299189B   CECEILA      WALKER                       OK     90008764529
26B164A4757157   EMIDIA       PORTILLO                     VA     90013934047
26B16544591828   JOSH         MAY                          OK     90008445445
26B1668193362B   KIMBERLY     MOORE                        NC     90004576819
26B1698A761979   MICHELLE     ELIZONDO                     CA     90010359807
26B16A76484364   BRIDGETTE    WALKER                       GA     90011280764
26B17258572B29   SONIA        ONTIVEROS                    CO     90008632585
26B1733247B449   SHAWNTASIA   MCGILL                       NC     90010793324
26B1734777B666   LETRICIA     FREIGHTMAN                   GA     90012643477
26B17818831631   JENNIFER     METCALS                      KS     90015298188
26B17AA2972B42   ANGELA       HAWKINS                      CO     33051830029
26B18159772B88   MARIA        PICAZO                       CO     33091551597
26B1986799184B   JENNIFER     CAMPBELL                     OK     90014828679
26B19A56991953   CLAUDE       KAZADI                       NC     90011450569
26B1B284855977   RON          YBARRA                       CA     90011032848
26B1B38789189B   CRYSTAL      DAVIS                        OK     90011043878
26B21874255977   MATTHEW      MARTINEZ                     CA     90012868742
26B21A3A272B42   SULMA        GONZALEZ                     CO     33040270302
26B21A98991547   MARIO        MENDOZA                      TX     90012690989
26B2225757B449   LAFAIOL      JACKSON                      NC     90002262575
26B22419991953   KRISTOPHER   HARRIS                       NC     90012364199
26B22658A51333   ARIYALE      TWITTY                       OH     90003686580
26B2288352B27B   STACEY       WILLIAMS                     DC     81050608835
26B22A7219184B   RUTH         ROBERTS                      OK     21049750721
26B2318194B588   ASHLEY       MOSELEY                      OK     90015101819
26B2341177B462   JOEL         SANDWICK                     NC     90004204117
26B23443472B29   DARLENE      ORTIZ                        CO     33070964434
26B2384495715B   FILANDRO A   NAVARRO                      VA     81077798449
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26B2394669155B   RITA            MARQUES                   TX     90003979466
26B24745555957   DEANN           KENNEDY                   CA     90004677455
26B24796661999   JOSE LUIS       JUAREZ                    CA     90010247966
26B2485769189B   MARSHA          HENNESSEY                 OK     90014818576
26B25537A72B29   SHANDI          CATHCART                  CO     90013965370
26B2624925B161   FALLON          ARMSTRONG                 AR     23020312492
26B2633A991953   MYKIA           BAILEY                    NC     90014213309
26B2656885B161   FALLON          WITHERS                   AR     90013485688
26B26822A9189B   KAYLA           THURBER                   OK     90014768220
26B2727555B161   YVONNE          HARRIS                    AR     23005442755
26B27346A4B261   WILLIAM         LEWTON                    NE     27045603460
26B27563857157   BERKLEY         WATERBURY                 VA     90002635638
26B2823145B271   GARRY           JENNETTE                  KY     90009662314
26B2886A49189B   MARY            RUPE                      OK     90014818604
26B28AA184B588   TIFFANY         SPENCE                    OK     90008740018
26B2921384B521   GEMMA           TORRES                    OK     21517232138
26B29672931433   CRYSTAL         WALTON                    MO     27564826729
26B29741972B53   KRISTINA        STOLL                     CO     33097437419
26B2B587391241   LISA            DILLON                    GA     90001695873
26B2B85749189B   MICKEAL         MABERY                    OK     90014818574
26B2B91A27B449   NADIA           HARRIS                    NC     90010649102
26B31143572B29   ARACELI         REYES                     CO     90010501435
26B312A8A84364   IVAN            WILSON                    SC     90013472080
26B3166A291953   GERON           HYKE                      NC     90001466602
26B31A56391828   HOLLY           HINE                      OK     90013630563
26B3255415B271   DONNI           CARBY                     KY     68019295541
26B3398A441245   ALICIA          MAHAFFEY                  PA     51060819804
26B34421A57157   AKWASI          BERPONG                   VA     81014304210
26B3447717B477   JEFFREY SCOTT   RAMSEY                    NC     90011294771
26B34742A81661   LORI            GRUBER                    MO     29013957420
26B35233A4B261   MARIA           HERNANDEZ                 NE     90014752330
26B359A7A84364   TERRY           WALTON                    SC     90013769070
26B361A112B27B   KAHLID          MAFTON                    VA     90015021011
26B362A464B261   TONI            LEWIS                     NE     27068972046
26B3631A891589   MARISELA        SALGADO                   TX     75039033108
26B3658582B27B   ANDRE           CUMMINGS                  DC     90012785858
26B3682544B588   MELODY          CURTIS                    OK     21558678254
26B36877A9189B   CANDI           MAYES                     OK     90014818770
26B3691A672B88   BRITTNEY        MURPHY                    CO     90006159106
26B36957681661   CAROL           MONTGOMERY                MO     29082189576
26B3818A455977   LETICIA         JONES                     CA     90014971804
26B38213681668   NORTHSTAR       CONSTRUCTION              MO     90009652136
26B383A1591522   DIANA           ANDRADE                   TX     75084163015
26B38774591828   BRENTON         GUINN                     OK     90014727745
26B38866972B88   VANESSA         CARABAJAL                 CO     90014418669
26B3916A79184B   LOGAN           MACMILLAN                 OK     90014421607
26B39474455977   REBECCA         CAMARENA                  CA     90015024744
26B3979AA9136B   HUSSEIN         MALISAW                   KS     90003487900
26B398A9A57157   FRANCIA         GONZALEZ                  VA     90007348090
26B3B162291522   DEBORAH         HILBERT CRUM              TX     75040021622
26B3B675884364   SEAN            DIEHL                     SC     90007226758
26B3B8A875B161   JAMES           PICKENS                   AR     90014868087
26B41328A91522   EDNA            ALVARADO                  TX     90013923280
26B4134699189B   FABILA          LOERA                     OK     21012023469
26B41678A9184B   TAYLOR          DOMRES                    OK     90013026780
26B42625972B29   ERIONNA         TOVAR                     CO     90014426259
26B4265882B27B   EMILIO          MATOS                     DC     90012996588
26B42797391522   NENCY           LICANO                    TX     75025517973
26B42835891579   CECILIA         ENRIQUEZ                  TX     90007738358
26B42914891352   INEZ            FRY                       KS     90010819148
26B42919172B32   DAN             MARES                     CO     33045379191
26B42A93391953   HEMAN           CANTARERO                 NC     90015140933
26B4313799136B   KEITH           POUGHERTY                 KS     90009751379
26B4346677B477   VERN            EDWARDS                   NC     90000864667
26B43469185938   BECKY           GARNER                    KY     67010114691
26B43726784364   DELANEY         SMALLS                    SC     90014747267
26B43971191241   SERGIO          CORRAL                    GA     14528409711
26B439A779189B   RUSHONTI        LEWIS                     OK     90014819077
26B43A14141245   DANIELLE        HASKIN                    PA     51018750141
26B43A7484B588   MARY            SPAULDING                 OK     90014130748
26B44383684364   IRVIN           SMITH                     SC     90014783836
26B44428A57157   LUIS            LOVATO                    VA     90013934280
26B444A897B449   ROBERT          BARCELLO                  NC     90010044089
26B44582231631   RONALD          CRUMBLE                   KS     22004665822
26B44999555957   ANNETTE         ATTILANO                  CA     90014769995
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26B45241672B32   TIFFANY            OWENS                  CO     90013402416
26B45665855957   MARVIN             CARAVANTES             CA     90009946658
26B4596945B344   GREGG              SPEER                  OR     90010259694
26B4684124B261   TYLER              TIETSORT               IA     90014158412
26B4698245B57B   BELINDA            GALLEGOS               NM     35028419824
26B4719284B588   JANET              CHANEY                 OK     90000441928
26B4767675B375   DEBORAH            SAIF                   OR     90015026767
26B47736672B88   LISA               ANDERSON               CO     33068507366
26B47A87691953   MIGUEL             DUTRA                  NC     90013730876
26B4811379184B   ELVIA              NAYEEM                 OK     90011421137
26B4823767B449   JOHN               LINEBERGER             NC     11008762376
26B4829294B281   IRESHA             GUNTER                 NE     90002602929
26B48841397121   APRIL              MECKERT                OR     90009388413
26B49484491522   DANIEL             CERA                   TX     90006994844
26B4992A272B88   NATHAN             SPEAR                  CO     90009329202
26B4B379172B88   JUAN CARLOS        CORONA JARAMILLO       CO     90013043791
26B4B43485B57B   DANIEL             GONZALEZ               NM     90009534348
26B4B6A5398B52   ANGELA             HUDSON                 NC     90010846053
26B4BA8179155B   DESIREE            VELAZQUEZ              TX     90007390817
26B5118779155B   ROSALINDA          AGUIRRE                TX     75019781877
26B52115672B88   PEDRO              ARRAS                  CO     33077321156
26B52717855977   AUDREY             CRAWFORD               CA     48091747178
26B52A2A67B477   REBECCA            COLUMBIA               NC     90013440206
26B53388A4B521   CHARLES            HUMPHREY               OK     90004593880
26B537AA791953   TAYLOR CHRISTINA   DUNN                   NC     90012987007
26B54A8717B477   REBECCA            COLUMBIA               NC     90014080871
26B55786591828   HOPE               JINDRA                 OK     90005937865
26B56884784364   NOVELLA            ROBINSON               SC     90014278847
26B56A55831631   STACY              WATLEY                 KS     90012900558
26B57954931631   AMBER              WILSON                 KS     22059439549
26B57AA339189B   JEREMIAH           BROYLES                OK     90014860033
26B58463272B42   LINDA              KRUMHOLT               CO     90013524632
26B58468772B42   LINDA              KRUMHOLT               CO     90013294687
26B58583372B42   LINDA              KRUMHOLT               CO     90004955833
26B5872964B588   ROLAND             LEWIS                  OK     90014237296
26B58A56172B42   LINDA              KRUMHOLT               CO     90013590561
26B58A84672B32   NIKOLAOS           KOUTROULOS             CO     90011650846
26B5943242B27B   ERICK              CELESTINO              DC     90012204324
26B5969399184B   SARAH              RAGSDALE               OK     21068216939
26B59989555936   BERTHA             TORRES DE RODRIGUEZ    CA     90014419895
26B5999459189B   TIARON             SMITH                  OK     90014819945
26B5B44429189B   JAIME              OCHOA                  OK     90004014442
26B5B66564B588   EDUARDO            MUNOZ                  OK     90004046656
26B5B667272488   DARLENE            BOOHER                 PA     90007086672
26B5BA58272B32   MAGDALENA          ZETINA                 CO     33070420582
26B61233751369   EDWARD             MARSH                  OH     66045852337
26B62118484364   NYA                MOSES                  SC     19054861184
26B62756491522   LYDIA              GALARZA                TX     90014437564
26B62A25891582   ROSA               BATIZ                  TX     75063460258
26B62AAA89189B   BLANCA             MARIN                  OK     90014820008
26B63252455977   AMANDA             FREITAS                CA     90014832524
26B6341974B543   RICKETA            DAVENPORT              OK     90009164197
26B635A532B27B   TAMARA             PUGH                   DC     90010845053
26B6375217B477   YOLANDA            BYERS                  NC     11015817521
26B6376614B261   GARRETT            EURE                   NE     27091117661
26B64385555957   ANDY               MARTINEZ               CA     90010773855
26B6495779189B   SHALANDA           TURNER                 OK     90003429577
26B649A6272B42   CESAR              ARREOLA CHAVEZ         CO     90010679062
26B65186372B88   JACQUELINE         ROMERO                 CO     33074521863
26B65841472B32   RUBEN              MADRIJAL               CO     33042568414
26B66251555957   JESUS              OSEGUERA               CA     90013742515
26B66633472B42   DIANE              CANDELARIA             CO     33078536334
26B66973191953   SANDRA             KNIGHT                 NC     17035259731
26B6777A34B261   JAMES              EVERY                  NE     90014527703
26B6812919189B   MELODY             SHELTON                OK     21087201291
26B6987917B449   JENNIFER           SHANNON                NC     90009598791
26B6B2A4391953   BRIAN              CONYERS                NC     17094172043
26B6B344684364   KEOSHE             SIMMONS                SC     90013863446
26B6B595272B32   RALPH              LOPEZ                  CO     90011885952
26B6B951655923   NIDIA              DAZA                   CA     90013099516
26B7168885B255   DON                TWYMAN                 KY     90005566888
26B7186815715B   MARIA              BAIRES                 VA     90007608681
26B7191277B477   DEXTER             PLESS                  NC     90012469127
26B71A4685B271   RIDDLE             SPRINGER               KY     68017320468
26B71A86372B32   ANTHONY            DOLIF                  CO     33076390863
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26B7226914B261   NORMA             CARDENEZ                NE     90009252691
26B72311655977   SAUL              CASTRO                  CA     90012953116
26B72465455986   RICARDO           DAVILLA CEBALLOS        CA     90001814654
26B72A41272B32   JOSE              ALEX                    CO     90012470412
26B72A72172B88   MARK              DIX                     CO     90014070721
26B7327A455977   ROMAN             MARQUEZ                 CA     90009082704
26B7374194B261   TERRI             KNUTSON                 NE     90002937419
26B73948955957   RICARDO           CAMPOS                  CA     90014819489
26B741A8291828   AMBER             WALLEN                  OK     90012671082
26B74623872B42   HOWARD            MAER                    CO     33050876238
26B7496657B449   LIZBETH           ESPINOZA                NC     90007609665
26B74978184364   ERNEST            SPEIGHTS                SC     90010209781
26B7593689184B   VIRGINIA          WHITE                   OK     90014649368
26B75A4179189B   CARNISHA          PEARSON                 OK     90014860417
26B75A7149136B   GUADALUPE         OROZCO                  KS     29003470714
26B7661114B261   JULIA             GALLOWAY                NE     27034426111
26B7669134B245   STEVE             STANEK                  NE     90003826913
26B7746212B249   FLEISHIA          COWARD                  DC     90012944621
26B774A1441245   MICHAEL           SHEVLIN                 PA     51077014014
26B7769324B588   RICHARD           LAIRD                   OK     90011916932
26B777A1A4B281   ANGELICA          LOPEZ                   NE     90001907010
26B77952855977   IVONNE            CASTILLO                CA     90012989528
26B782A8A55957   CORTNEY           GIBSON                  CA     90015572080
26B78498872B32   MIGUEL            FLORES                  CO     33094884988
26B792A288B15B   LADJANE           CARVALHO                UT     90012712028
26B79411355977   AYRON             HENSHAW                 CA     90002484113
26B81756385999   JENNIFER          OBRIEN-CORTS            KY     90008497563
26B8244365B161   JERRELL ISAAC     THOMAS                  AR     90002944436
26B82583881661   ALFRED            SCOTT                   MO     90001325838
26B82A4789184B   SARAH             REDMAN                  OK     21009180478
26B83462A55957   RAUL              ALDAMA                  CA     90013694620
26B8353347B471   LINDA             MENDEZ                  NC     90000645334
26B83661955957   JESSICA           HERNANDEZ               CA     90012306619
26B84149A91547   HIRAM             GANDARA                 NM     90010841490
26B84276391953   DANITRA           JOHNSON                 NC     90013482763
26B84996591522   HERNANDEZ         PERLA                   TX     90010339965
26B8523847B471   KENNETH           LITTLE                  NC     90004992384
26B85556547895   NATHANIEL         JORDAN                  GA     90013455565
26B85933984364   JALISA            SMALLS                  SC     90015139339
26B8595414B588   ANGELA            MOORE                   OK     21573129541
26B85A4A351333   CHRISTOPHER       GRIFFIN                 OH     90008550403
26B86643231631   MATHEW            LOW                     KS     22067936432
26B8665A54B231   MICHAEL           BEISTER                 NE     27098026505
26B87377857157   ZACHERY           SIMMONS                 VA     90014213778
26B8848249184B   JOLENA            DOLPH                   OK     90007434824
26B891A4A5B344   DMYTRO            OZDOYEV                 OR     90009661040
26B89529851343   TIFFANY           PARKS                   OH     90008975298
26B89767991828   KELLEY            ISAACSON                OK     21054437679
26B89774691953   STEPHANIE         DAVIS                   NC     90008677746
26B8999225B271   RAMAR             MOTEN                   KY     68058639922
26B89A77772B88   COURTNEY          LEMMINGS                CO     90011670777
26B8B468A2B27B   JUAN JOSE         CATALAN                 DC     90014994680
26B915A6472B42   JOEL              TORRES                  CO     90012905064
26B91A6359189B   MISTY             DAWN                    OK     90014860635
26B92484372B88   JUSTIN            SMITH                   CO     90005484843
26B9395794B281   ILIANA            COLIS                   NE     90005079579
26B94A84991241   KEVIN             ORR                     GA     14584970849
26B9523255715B   MAURICIO          ADRIASA                 VA     90003192325
26B9636224B281   TINA              JEFFREY                 NE     27086413622
26B9695227B633   SANDRA            SLAUGHTER               GA     90001149522
26B96A68791528   MARGARITA         SALAS                   TX     75074880687
26B9756A372B29   GABRIEL           MACIAS-GALARZA          CO     33040765603
26B98252881661   GREG              HENEHAN                 MO     90003682528
26B98331991828   KELLA             MCQUIGG                 OK     21060283319
26B98453831432   MARK              BRENNAN                 MO     90002304538
26B98486272B88   ELEUTERIO         MERCADO RODRIGUEZ       CO     90003444862
26B98579357157   HORACE            PENDERGRASS             VA     90013505793
26B98749872B29   MARIA MARGARITA   VALDEZ                  CO     90012147498
26BB1264572B42   ARMANDO           PROVENCIO               CO     90002652645
26BB15A3581661   EBONY             BROOKS                  MO     90006795035
26BB2358991953   FENTON            JOLLY                   NC     17048373589
26BB35A2272B29   MICHELLE          PADULI                  CO     90012835022
26BB41A5A4B281   CHRIS             HIKE                    NE     27078291050
26BB442A52B27B   PHILLIP           LEE                     DC     81012984205
26BB484AA9189B   JUSTIN            LOGAN                   OK     21083808400
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26BB4924984364   ADAM             ZOUCHA                   SC     19002649249
26BB499A172B88   ROSARIO          JUAREZ                   CO     33095729901
26BB518A472B88   EDITH            LOPEZ                    CO     90015181804
26BB5239A2B27B   MEBRATU          AGDE                     DC     90011162390
26BB5562872B32   LYDIA            WAYSUABA                 CO     33043375628
26BB595234795B   TIFFANY          STRAUGHAN                AR     25082449523
26BB5A64972B42   JANINE           CHACON                   CO     90008210649
26BB61A3772B32   CHRIS            SOON FAH                 CO     90012631037
26BB632657B477   ANGELA           AQUINO                   NC     90011283265
26BB683AA5B161   TAMEKA           WYATT                    AR     23090778300
26BB6A6A99184B   JUSTIN           JACKSON                  OK     21095920609
26BB7122857157   BRUCE            LOVITT                   VA     90011741228
26BB7358591534   JORGE            CARPET                   TX     75018403585
26BB7396991953   CHRISTIE         YOUNGS                   NC     90013573969
26BB7433855957   DAVID            MIRANDA                  CA     90013054338
26BB7663291828   DANIEL           NUNN                     OK     90009446632
26BB8333391241   APRIL            BROWN                    GA     90009763333
26BB8731791828   ADOLFO           CANO                     OK     21047017317
26BB9414231433   STPHEN           BONNER                   MO     27585154142
26BB961339136B   ADRIANA          SANTOS                   KS     29035756133
26BB982669184B   JORGE            DIAZ                     OK     21053918266
26BB9A95472B88   MARIA            TERESA                   CO     33077790954
26BBB1A6272B88   PERRY            LEVERT                   CO     90012001062
26BBB372A57157   JARROD           WALLACE                  VA     90013933720
26BBB419A72B29   ELIA             STEFFEN                  CO     33089914190
26BBB516172B88   ANTHONY          RUSSON                   CO     90007975161
26BBB8A669155B   MANUEL           LUJAN                    TX     75093588066
2711126762B27B   ROBBIN           HERRING                  DC     90009072676
2711139817B449   NYASIA           CARR                     NC     90014743981
2711188899189B   SHELBY           WHINERY                  OK     90012318889
2711267275B271   ANTHONY          BONNER                   KY     90003296727
27112A6A291356   DANIEL ANTONIO   TRUJILLO PEREZ           KS     90014060602
2711365424B588   MAGDIEL          RIOS                     OK     90011476542
2711388619136B   BRITTANY         RIEVES                   KS     90009408861
271146A5791592   ISAIAH           LAWSON JR                TX     90013046057
271157A1972B29   REBECCA          ZIDERMAN                 CO     90014167019
27115A1352B27B   MELANIE          TURK                     DC     90014790135
2711724799184B   NASHIRA          WINSTON                  OK     90010772479
271172A369794B   MIGUEL           OLVERA                   TX     74029932036
271173A1493731   SALLY A          HILL                     OH     64539413014
271176A9581638   CHYLIYAH         HENDERSON                MO     90013896095
2711787A872B88   GRISELDA         CARMONA                  CO     90011948708
27118464A81661   DIANA            WEBER                    MO     29077894640
27118A63381637   ROBIN            STAUFFER                 MO     90013810633
2711969567B471   RIRA             JOHNSON                  NC     11040556956
271196A2591592   TANIA            MARIE TREJO              TX     90001736025
271197A472B27B   ELIZABETH        VENTURA                  DC     90009217047
271198A879155B   ROSA             CARDENAS                 TX     90014608087
2711B17A29184B   DENISE           GONZALZE                 OK     90010321702
2711B2A7191356   ALEX             AUTREY                   KS     29063672071
2711B33815B28B   HAROLD           WELCH                    KY     68073713381
2711B356A7B471   JOANN            JONES                    NC     11004223560
2711B55379136B   RODNEY           CALLOWAY                 MO     90013265537
2711B5A3981638   STEVETTA         DICKERSON                MO     90002475039
2711B69584B521   GERRARDO         CERVANTES                OK     90005796958
27121114972B88   MANDY            BENSON                   CO     33060741149
27121249876B69   SANTIAGO         MARTINEZ                 CA     90004792498
2712195135B342   MARIA            HERNANDEZ                OR     90012829513
27123489772B29   ERICA            TORRES                   CO     33063664897
2712416414B281   SANDRA           ABRAMS                   IA     90007471641
2712528A455957   ELISEO           GARCIA                   CA     90000512804
27125344398B32   CEDRIC           MILLER                   NC     90007973443
27125A52172B88   MARISOL          ENRIQUEZ                 CO     33093460521
2712664599155B   JOSE             DIAZ                     TX     90005346459
2712713772B27B   TERRENCE         JONES                    DC     90004941377
27127325A55957   DAVID            SMITH                    CA     90015143250
2712761469189B   TED              CRISP                    OK     21034546146
2712779279184B   ALISHA           OWEN                     OK     90014697927
271279A575B571   JESUS            OAXACA CARRASCO          NM     35055179057
2712941884B521   JENNIFER         RIGGLES                  OK     90007344188
2713149244B261   ROSA             VARGAS                   NE     90009204924
2713159924B588   REYES            WILLMER                  OK     21574515992
27131783472B29   SONIA            ESTRADA                  CO     33050027834
271318A2193757   DWANA            WOULLARD                 OH     90007568021
27131A77185822   ROBERT           BLOCHER                  CA     46034010771
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2713266845B529   LINDA         FRIESEN                     NM     90000456684
27132844372B42   DUSTYN        PLATT                       CO     90011768443
2713294279136B   JANET         BRAVO                       KS     29083419427
27134314172B29   LOUIS         DIXON                       CO     90008753141
2713434819155B   MYRIAM        MACHADO                     TX     75014913481
2713448515598B   LEOBARDO      LOPEZ                       CA     90012574851
2713456634B261   AFI           GBEKODOU                    NE     90003015663
2713544237B449   SHEQUILA      GOODMAN                     NC     90014744423
2713566684B551   MICHAEL       LEGGE                       OK     90011856668
2713652654B588   SHELLY        GLOVER                      OK     21559195265
2713658315B57B   EDWIN         SANCHEZ                     NM     90014805831
27136589472B42   MARCO         GONZALEZ                    CO     90015225894
271379A5291828   YASMIN        TREVIZO                     OK     90008019052
27138139372B88   ADAM          LUJAN                       CO     90007511393
27138166872B29   LISA          BLUFORD                     CO     33023221668
27139357A91592   NORMA         GARCIA                      TX     75083113570
2713B216144B22   DIANA         BRINGARD                    OH     90014572161
2713B227491356   DANIEL        MARTINEZ                    KS     90014762274
2713B42239155B   MICHAEL       JONES                       TX     90010264223
2713B464A55957   KANE          AGUILAR                     CA     90000514640
2713B885491828   VICENT        SALAZAR                     OK     90010738854
2713B923185958   ANTHONY       LAWSON                      KY     90012229231
2713BA1A77B471   TIFFANY       HIGH                        NC     11011940107
271413A3381661   SARETA        WISE                        MO     90004443033
271415A714B588   RYAN          BAKER                       OK     90012515071
27141627A72B29   CHRIS         EDELEN                      CO     33073826270
27141A4234B588   RACHEL        ENDRESS                     OK     90014690423
27142221A91592   VALENZUELA    NORMA                       TX     90002772210
2714258222B27B   TRACIA        MATTHEWS                    DC     81045255822
2714276259184B   JAMES         FLYNN                       OK     90012407625
27142A3884B261   MARIA         PINEDA                      NE     90011110388
2714332719184B   LETICIA       PEREZ                       OK     90001593271
2714395A75B271   JOSE          TORRES                      KY     90009219507
27144725A2B363   MONICA        MILLER                      CT     90011107250
271451A234B588   LAKESHA       JUDY                        OK     90014831023
27145A1897B449   ESPERANCE     KASINDE                     NC     90000260189
27146464A9136B   JUAN          CALDERA                     KS     90015214640
2714691984B521   CHRISTOPHER   CLARIDGE                    OK     90002799198
2714768669184B   JACALYN       KETCHERSIDE                 OK     90014446866
2714784277B471   INES          JARQUIN                     NC     11017378427
2714794347B449   PAMELA        ALSBROOKS                   NC     11089519434
2714B29525B222   JOESPH        OWENS                       KY     90008372952
2714B47655B271   KORI          KLEIN                       KY     90008954765
2714B866881638   RICHARD       LANE                        MO     90014458668
2714B873972B88   JUAN          MONTOYA                     CO     33014068739
2714B949891592   ARACELI       ALVEREZ                     TX     90005189498
2715125595B161   SHIRLEY       JAMES                       AR     23062282559
2715146927B449   TASHA         JOHNSTON                    NC     90014744692
27151A81972B29   PATRICIA      RAMIREZ                     CO     90012930819
27151A83881638   REVA          BUTTERS                     MO     90014650838
2715355A585822   CLEOPATRA     MASHIE                      CA     90009215505
2715383249794B   ENEDELIA      JUAREZ                      TX     74095318324
2715387715B271   ABDEL         KASSEM                      KY     90014898771
27153A2375B161   SANDRA        BUTLER                      AR     90007070237
2715415AA31631   KATINA        SUTTER                      KS     90012661500
2715432A69184B   PAYGO         IVR ACTIVATION              OK     90015283206
2715496975B271   MARY          SONKO                       KY     68031419697
2715524114B521   SONIA         PINEDA                      OK     21556672411
271554A6341245   SAMUEL        SIMONS                      PA     51077194063
27155532A61982   OFELIA        NUNEZ                       CA     90009065320
27155712172B29   MEGALI        RAMIREZ                     CO     90014167121
2715653799189B   JONATHAN      GLENN                       OK     21047355379
2715661142B27B   RENEE         WILLIAMS                    DC     90008906114
27157126372B88   SHARI         SEBOEK                      CO     33008701263
271573A7A91881   REYNALDO      TORRES                      OK     90007293070
2715755692B264   MARCUS        DOWLING                     DC     90000875569
27157884A85938   JOSH          DOFOUR                      KY     90011828840
2715816A14B281   CAROL         PANDIS                      IA     90001341601
2715824A898B42   RAMONA        OLIVER                      NC     90004132408
2715834342B27B   DONETTA       WILLIAMS                    DC     90013923434
27158869376B69   CARL          WORTHINGTON                 CA     90006718693
2715954264B261   TERRY         LARSEN                      NE     27060915426
2715954849184B   MANDALYN      BECKER                      OK     90015255484
2715977219189B   STEVEN        MICHAEL                     OK     21072177721
2715B212181638   ANTONIO       ALVARADO                    MO     29050502121
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2715B64264B281   SHANELLE       LEWIS                      NE     27070166426
2715B67315B271   JOESPH         THOMPSON                   KY     90013686731
2715B716131453   BRYANT         WHITLEY                    MO     27595817161
271613A3491828   ARNOLD         RODRIGUEZ                  OK     21011963034
2716235239136B   PEDRO          LOPEZ                      KS     29067813523
2716237554B281   ALTHEA         LANE                       NE     90002533755
27162396472B29   SARAH          WHINERY                    CO     90010313964
2716269372B28B   ALVANEECE      WILSON                     DC     90010456937
271626A8955957   ALEXA          ESPINO                     CA     90012296089
2716359365B271   ELISE          STEVENSON                  KY     90012005936
27164742972B42   HALL           RICHELE                    CO     33014867429
271647A5381691   TAMMY          FOSTER                     MO     90001457053
2716624979184B   SHERICE        JONES                      OK     90015172497
2716695349155B   DAVID          BAYLON                     TX     90014619534
27166A48A4B521   CRISTI         BOOTH                      OK     21569470480
27166AA4631631   CARLA          BURNEY                     KS     22096120046
2716753865752B   CARL MONIQUE   JAQUEZ                     NM     90013005386
27167A81791356   MEGAN N        CLEMENT                    KS     90010950817
27167AA539189B   DALE           DENNIS                     OK     90011180053
2716843A784364   THOMAS         KIMBALL                    SC     19017964307
2716948947B449   ASUNCION       PAZ                        NC     90014744894
2716B224191592   YAMEL          GONZALEZ                   TX     75094932241
2716B575851369   CYNTHIA        DAVIS                      OH     90009485758
2716B97425B271   BRITTANY       SEARS                      KY     90013349742
27171472A4B281   PAMELA         PERRY                      NE     90003484720
27171688572B88   NORMA          CHAVEZ                     CO     33023656885
271716A579155B   APRIL          TARIN                      TX     90011676057
271727A832B27B   RODERICK       NEAL                       DC     90013157083
27173477572B29   ROBERT         TAFOYA                     CO     33096944775
27173A6184B588   DONNISHA       BROWN                      OK     21536800618
27174235A93731   MATT           BLAKE                      OH     90007472350
27174347A91828   JUAN CARLOS    GUERRERO                   OK     90002473470
2717536234B261   CHLOE          LAMAY                      NE     90004993623
2717557AA9189B   GILBERTO       HERNANDEZ                  OK     90000625700
2717586619189B   SHANI          FIERKE                     OK     90015348661
27175A44691241   ROBERT         SMITH                      GA     90014760446
2717626794B588   NIKKI          GUZMAN                     OK     90006972679
271765A2831631   APRIL          REED                       KS     90012125028
2717681562B27B   TIFFANY        EVANS                      DC     90009538156
27176AA464B261   JESUS          HERNANDEZ                  NE     27042750046
27177A22A9189B   LASHAWNDA      TAYLOR                     OK     90013170220
27177A9A381661   DANE           DAHLSTROM                  MO     90011050903
27178124372B29   KEONDRA        TURNER                     CO     90011831243
2717853555B271   BRANDON        THOMPSON                   KY     90014815355
2717857657B424   DELFINA        SALAZAR SALAZAR            NC     90011255765
27178A7199189B   THANG          DAL                        OK     90015130719
2717929172B27B   IVANIA         ZELAYA                     DC     81086252917
27179529672B42   KRISINE        LONG                       CO     33015175296
2717972994B588   ANTONIO        BARRIOS                    OK     90013267299
2717B36599136B   WILVOR         GUILLER                    KS     90014113659
2717B424431453   UNICERE        COX                        MO     27578954244
2718121984B588   CHAVON         CRAIGS                     OK     90014632198
2718167169184B   DEMARCUS       BENNETT                    OK     21074106716
2718172457B471   VILMA          REYES                      NC     11046997245
27181854272B29   OSCAR          GUTIERREZ                  CO     33074148542
2718215A176B4B   WENDY          CARRILLO                   CA     90010491501
2718329459184B   KIMBERLY       EVANS                      OK     21056842945
271842A3A4B588   JZAMIEL        BELL                       OK     90014622030
27185182A9184B   CONNIE         ARREDONDO                  OK     21037761820
2718546357B449   FELICIA        JOHNSON                    NC     90005004635
27185A84A91592   LUIS MIGUEL    SOLANO GARCIA              TX     90013210840
27186167472B29   DELILAH        RODRIGUEZ                  CO     90010951674
2718621A143523   ANABEL         GUADARRAMA                 UT     90001482101
2718665973366B   HARRIET        BYRD                       NC     90009406597
2718693583B333   PABLO          IBARRA                     CO     90008269358
2718854369155B   DINA           OZETA                      TX     75082825436
2718873259189B   STEVEN         SHAW                       OK     90012257325
27188747472B42   ROSA           CHAVEZ                     CO     90011897474
27188931676B82   DELFINA        HERNANDEZ                  CA     90007169316
2718948A59155B   AMBER          GONZALES                   TX     90013424805
2718958A29136B   DEREK          WATTS                      KS     90013525802
27189A37385822   REYNALDO       ESCOBEDO                   CA     46009580373
27189AA947B471   GINA           LUJAN                      NC     90012000094
2718B345555957   SANTIAGO       GONZALEZ                   CA     90008693455
2718B361193731   LISA           PARKS                      OH     64591113611
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2718B69A69184B   CYNTHIA             FERNANDEZ             OK     90010506906
2718B822381638   JASMINE             SCOTT                 MO     90013038223
2718B927731631   JOSEPH              GIBBS                 KS     90007359277
2718BA2365B161   ALICIA              BREEDLOVE             AR     90009410236
2719156957B449   STEVEN              JAMES                 NC     90014745695
27191592572B21   MELISSA             HABERMAN              CO     90005375925
271918A4472B42   RENEE               RODABAUGH             CO     33094648044
2719234189136B   RICARDO             HERON                 KS     90009233418
2719336874B521   STEPHANIE           ESTES                 OK     90004363687
2719358415B271   CORNELL             WILLIS                KY     90014865841
27194486983B87   RYAN                PEREZ-GARCIA          TX     90013344869
2719492A44B521   KHEELIN             MARTIN                OK     90012799204
271953A397B449   ATIBA               RICHARDS              NC     90014763039
27195524A72B88   ANNA                PRYER                 CO     33075575240
2719572835B571   FRANCO DE LA ROSA   ANAHI                 NM     90011277283
271957A847B484   KEISHA              LEACH                 NC     11029127084
2719593579155B   JOSEFINA            MURILLO               TX     75007279357
27196176572B29   PATRICIA            ARCHULETA             CO     90013191765
271967A9291528   JOSE                MAGALLANES            TX     90001737092
27196883A57128   ELWIN               GUEVARA               VA     90011828830
27197175872B29   ALEXIS              GOMEZ                 CO     90001861758
2719733134B588   BETTY               MALLETTE              OK     90008163313
2719771425B271   JOAQUIN             GOMEZ                 KY     90007587142
2719871619136B   JESSICA             STANLEY               KS     90014847161
2719936754B588   ANTONIO             RAY                   OK     90010913675
271998A4391828   TIFFANY             HOLDER                OK     90009468043
27199914672B88   GERARDO             HERNANDEZ             CO     33097039146
2719B11A43B39B   PAUL                GERHARDSTEIN          CO     90014631104
2719B374657172   JESUS               AMAYA                 VA     90006743746
2719B738572B98   MOISES              GARCIA-HERNANDEZ      CO     90010647385
2719B998572B29   MICHAEL             MAHONEY               CO     33000659985
271B11A839184B   WILLIE              BIGGINS               OK     90008371083
271B128915715B   PABLO               GUZMAN                VA     90004172891
271B1854472B35   JEREMIAH            MITCHELL              CO     90010028544
271B211759184B   LORI                JARVIS                OK     21034461175
271B224149794B   ELVIA               URETA                 TX     74094922414
271B2316133636   AKIMYA              BARNEY                NC     12009133161
271B25A459155B   ROSA                GARCIA                TX     90011675045
271B2848A4B588   DANIEL              HARRIS                OK     90011608480
271B337727B449   CHINETHA            TEDDER                NC     90014743772
271B418A29184B   EDEN                COLE                  OK     90013431802
271B41A785B271   BOBBY               JONES                 KY     68090281078
271B4449631453   TIM                 MCMORRIS              MO     27525204496
271B4479781637   JUSTIN              PYLE                  MO     29077324797
271B4485291356   LETICIA             LOPEZ                 KS     90013314852
271B476299189B   ANNA                ATCOSTA               OK     90009297629
271B479454B261   TABITHA             RODENBOUGH            NE     90015167945
271B4A18372B29   JOSEPH              MORENO                CO     90013760183
271B6334185938   CHELSEA             ALLEN                 KY     90013043341
271B671359155B   PORFIRIO            MORALES-BUNKER        TX     75046707135
271B6818681637   KIARA               WATTS                 MO     90007208186
271B7164731453   JONES               DARRELL               MO     27560611647
271B732299136B   JULIA               ROGERS                KS     90011263229
271B732319155B   MIGUEL              ROSALES               TX     75090633231
271B73A3272B42   ASHLEY              SHEMANSKE             CO     90007203032
271B747149152B   GUADALUPE           MENDOZA               TX     90006914714
271B86A3531453   KOSTA               LONGMIRE              MO     90011556035
271B885519155B   NORMA               AGUILERA              TX     90014108551
271B8A3992B27B   ROLANDO             EDWARDS               DC     81075120399
271B9382991241   TYKIBA              SMITH                 GA     90013263829
271B9679481648   JERRY               LONG                  MO     29027836794
271B9825881661   FERNANDO            ARIZPE                MO     90011258258
271BB34124B521   JAMES               GRAHAM                OK     90008923412
271BB43565715B   DIANA               BUSTAMANTE            VA     90000244356
271BBA8259136B   DEANGELA            BOYD                  KS     90005200825
2721131759184B   CECIL               HARJO                 OK     90013493175
272121A9841245   RYAN                FOGARTY               PA     90007171098
27212774A93731   ROBINSON            LAVONNE               OH     90003707740
27212792776B53   IZAMAR              TORRES                CA     90011877927
27212A29791833   ALICE               JOHNSON               OK     21076380297
27212A7869155B   GUADALUPE           ESPARZA               TX     90011680786
2721467415B571   GARY                WEINRICH              NM     90005246741
2721476A255957   KEVIN               SHORTNACY             CA     90014957602
27214A57655957   STEVEN              AGUIRRE               CA     90009670576
2721541383B365   JESUS               NAJERA                CO     90003384138
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27215716572B88   MARIA            SANCHEZ                  CO     90011117165
2721582487B494   JOHN             KOSTOPOULOS              NC     11023288248
27215958672B29   LORI             TRUJILLO                 CO     90013009586
272163A219184B   FRANKIE          DELATORRE                OK     21057453021
2721647659794B   ADELLA           SILVA                    TX     74002974765
27216731672B29   ROBERT           STEWART                  CO     90014167316
27216A24881648   ERMINIA          LOPEZ                    MO     29078100248
27216A66A55957   RYAN             MEYERS                   CA     90002060660
2721746184B261   TYSA             HURLBUT                  NE     90014694618
2721834257B449   CRISTINE         PLYLER                   NC     90014763425
27218599172B42   JEFFREY          NOLL                     CO     90012975991
27218A87533638   TERRY            ELLIS                    NC     90004020875
2721916367B435   MARGARITO        ARIAS                    NC     90012531636
2721934972B27B   MELVIN           DEAN                     DC     90013923497
27219A1824B261   RYAN             COOK                     NE     90014360182
27219AA349189B   TOSHIKO ANGELA   BLEVINS                  OK     90013860034
2721B2AA94B541   ANTWAN           GREEN                    OK     90002982009
2721B449957564   TOM              HANSEN                   NM     90012864499
2721B66A485938   SELENE           QUINTANA                 KY     90007266604
2721B99864B588   JASON            TROUT                    OK     90008409986
27221264272B88   BRENDA           ROMERO                   CO     90005112642
27221488272B29   FABIAN           MARTINEZ                 CO     33000904882
2722165A95B571   PEREA            TOMMY                    NM     90011296509
2722197239184B   NICOLE           PERIDORE                 OK     21046019723
272219A8391356   MARIBEL          CARBALLO                 KS     90011049083
2722248289155B   ERICA            ROSALES                  TX     90015214828
27222527572B88   ELIZABETH        SCHAEFFER                CO     90010315275
27222A65181638   RACHEAL          TALBERT                  MO     90015010651
27222AA1172B88   CHOMPHET         LY                       CO     90010350011
272233AA385822   JEFFREY          FIDLER                   CA     90013343003
2722346669136B   ELENA            GALDAMEZ                 KS     90015214666
2722393784B261   TIFFANY          KESTER                   NE     27014629378
27223955272B42   WAYNE            BRUNI                    CO     33065689552
27224437A91356   ELIZABETH        FALCON-ORTIZ             KS     90012774370
27224938272B88   JOSEPH           MIGNEREY                 CO     90011609382
27224A94147952   ELISA            HERNANDEZ                AR     24080050941
2722559A893731   OLLIE            MARTIN                   OH     64571895908
272255A554B588   CHRISTINE        ADAIR                    OK     90012035055
27225932A7B449   JAMAL            KEITH                    NC     90011349320
2722613A99794B   JOSE             RODRIGEZ                 TX     74044811309
2722619619155B   ANA              MENDOZA                  TX     75070361961
2722655995B271   DARNISHIA        BURNS                    KY     68089015599
2722671A797B4B   KYLA             HINES                    CO     39076037107
272268A9A84364   AGNES            LEVINE                   SC     90003298090
2722696189189B   MOISES           JIMENEZ                  OK     90012689618
2722898A75592B   JESUS ANTONIO    CASTILLO                 CA     90011989807
27228AAA991541   MARIA            FLORES                   TX     90010170009
272294A2761992   JOE              DRUMMOND                 CA     90009194027
27229A7687B449   TAJA             CARTER                   NC     90014180768
2723132A52B92B   HERMILIA         IBARRA                   CA     90006053205
2723133164B261   ARMANDO          GUTIERREZ                NE     27065143316
2723139784B588   MICHAEL          HOLT                     OK     90010233978
2723194347B449   PAMELA           ALSBROOKS                NC     11089519434
2723297975B226   SHAREKIA         GREEN                    KY     90004709797
2723316939155B   MARINA           PEREZ                    NM     90000121693
2723319819136B   LETICIA          LINARES                  KS     90015261981
272336A5891547   JULIO            GARCIA                   TX     90012666058
27233886572B88   DAVID            BRUNT                    CO     90008258865
27234438572B42   BRIDGET          ALEXANDER                CO     90005214385
272344A769184B   ALICIA           OLMOS TREJO              OK     90003474076
2723494A24B588   MARIA            PEREZ HERRERA            OK     90013559402
27234A34672B88   MERCEDEZ         BENITES                  CO     33096060346
27234A95672B31   JESUS            SOLIS                    CO     90003190956
2723568A57B449   ALEXANDER        MALDONADO BANEGAS        NC     11023706805
27235727A72B88   MIKE             LONG                     CO     33064887270
27235836472B29   RENEE            CASIAS                   CO     33088208364
272362A247B666   HUGO             PEREZ                    GA     90011652024
2723657865715B   JOSE             LARA                     VA     90000255786
272367A9A81638   SILVIA           VEJAR                    MO     29017677090
2723724714B281   LINDA            MACK                     NE     27043522471
2723733549184B   XIMENA           LUNA                     OK     90015013354
27237445698B52   JOSE             CUEVAS                   NC     90005514456
2723762529189B   BRITTNAY         ROGERS                   OK     21084926252
27237649A61997   GONZALES         JOSAPH                   CA     90001736490
27237A87A4B588   JOSELUIS         SERRANO                  OK     90006730870
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2723838A95B271   LAKESHA        CHANEY                     KY     90014593809
2723983A272B88   ARSENIA        HANSEN                     CO     90014168302
2723B472593731   EARL           BUSH                       OH     90010224725
2723B96699155B   EVELYN         CARBAJAL                   TX     90014619669
2724117887B449   GEORGIANNA     HARRISON                   NC     90010371788
2724268A791356   DENISE         MCGEE                      KS     90013536807
2724361A34B521   QUINDALE       ALLENSWORTH                OK     90005356103
2724412232B27B   MICHAEL        SCOTT                      DC     90014791223
2724477A59189B   ELVIA          MEDEL                      OK     90009677705
27244A7A191241   PATRICIA       ROTH                       GA     90015200701
27246165A7B471   DALLAS         LANDRUM                    NC     90001561650
2724622A772B29   LANCE LEON     BARTOW                     CO     90014672207
2724739184B588   KRISTEN        ORTEGA                     OK     90012433918
27247A3799184B   BRYAN          GEESAMAN                   OK     90006830379
27248732572B29   JOSE           TREJO                      CO     90014817325
27248A3344B588   ANDRES         RAMOS                      OK     90011550334
2724913A12B27B   ELVERA         SNOW                       DC     90014791301
2724927584B588   KAROLINA       MENDEZ                     OK     90014822758
27249992372B88   JEANNE         SALKILL                    CO     33034649923
2724B347A55957   JUANITA        MELCHOR                    CA     90014063470
2724B68989136B   NARAYAN        REGMI                      KS     90015026898
2724B888285822   MASOOD         KHAN                       CA     90011128882
2724BA6319184B   AARON          DOWNS                      OK     90010050631
2725119A931631   AARON          HUGHES                     KS     22001261909
2725162154B261   BRIAN          ADAMS                      NE     27055256215
2725277969184B   RUSSELL        JACKSON                    OK     90000407796
27252858498B52   GUADALUPE      RICARDO                    NC     90009618584
272529A494B261   FRANCISCO      ESTRADA                    NE     27060039049
27253A8853146B   TAMIKA         SMITH                      MO     90009070885
2725446A591828   CHRISTOPHER    CHENEY                     OK     90011614605
2725611635715B   JAMIE          ARTIGA                     VA     81089781163
2725683612B27B   TAKIYAH        WILSON                     DC     90010438361
2725734147B471   AKYA           CANADA                     NC     90009913414
2725764115B161   LAAIA          SAMADI                     AR     23065076411
2725786119184B   CHERYL         LOVE                       OK     90015278611
27257A2A877338   LEANA          WALKER                     IL     20503850208
27258762372B29   CATHY          SIEP                       CO     33057057623
2725884779794B   WILLIE         HOUSTON                    TX     90004528477
27258A3975B144   MYEISHA        THOMAS                     AR     90013440397
272593A829155B   DANIEL         ALATORRE                   TX     90012793082
2725963A17B449   CHARLOTTE      CHERRY                     NC     90014746301
2725B2A179189B   SUSAN          SMITH                      OK     21073672017
2725B742572B29   DEANDRA        RUYBAL                     CO     90014167425
2725B969281648   JIM            PERRY                      MO     29026949692
2725BA57991828   MARITZA        GUZMAN                     OK     90012410579
2726115449794B   ROSALYN        WILLIAMS                   TX     90002451544
2726122675715B   ROSA           BARRILAS                   VA     81089782267
2726162452B27B   JAUQUINNA      DAVID-KELLY                DC     90008146245
2726196589155B   ROBERT         AVALOS                     TX     90014619658
27262AA5591592   MONICA         GONZALEZ                   TX     90009720055
27263676472B42   SHAWN          SIKORSKI                   CO     90013226764
2726439A17B449   OSCAR          LOPEZ                      NC     90014763901
2726499889155B   JESUS          RIVAS                      TX     90014629988
27264A21791541   SONIA          GUTUIERRES-DUENA           TX     90011610217
27264A79631453   MARY           IRVING                     MO     90011840796
2726564937B449   JOSE ANTONIO   MARTINEZ MURILLO           NC     90014746493
2726571A831631   DAVID          HANSLEY                    KS     90013457108
2726622194B541   ELMER          GABRIEL                    OK     21554672219
2726669733B323   DARLA          BENNETT                    CO     33006846973
27266758772B29   JOSEPH         CORDOVA                    CO     90014167587
2726724A69155B   PONCIANO       ESTRADA                    TX     90003172406
27267759972B29   TAYLOR         CISNEROS                   CO     90014167599
2726781592B27B   CHARISMA       DIONNE                     DC     81011948159
2726829144B588   JAVIER         MCGEE                      OK     90013622914
2726841129155B   MELANIE        REBOLLO                    TX     75013964112
27268596A7B484   ELICIA         JOSIE                      NC     90007085960
2726927A991828   HOUARI         PITA                       OK     90012822709
27269A16A4B588   MARK           HARRIS                     OK     90010380160
2726B674891241   ALBY           PODOLSKI                   GA     90004516748
2726B753372B29   JENNIFER       MCMURRAY                   CO     33072427533
2726B89115B271   VANIA          HAIR BY                    KY     68017688911
27271346A55957   OMAR           LORENZO                    CA     90008713460
2727165A476B69   GONZALO        ACOSTA BARRAZA             CA     90012076504
27271979572B42   TEANA          CHAVEZ                     CO     90003479795
27271AA1193731   YOLONDA        FROST                      OH     64522620011
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272732A699155B   GEMA         VILLAREAL                    TX     90011682069
27273346A61995   NEIL         WARD                         CA     90006133460
2727363384B261   ARMANDO      HENANDEZ                     NE     27087776338
272742A929155B   PATRICK      WILLIAMS                     TX     90011682092
27274379572B88   SANDRA       SUAREZ                       CO     90004383795
2727546424B261   JOVAN        MURRY                        NE     90014694642
2727553A19155B   LUISA        LUNA                         TX     75083335301
272755A6851369   MERK         JOHNSON                      OH     90007295068
27275811A2B27B   ESTELLA      HOLLINS                      DC     81089848110
272759A249136B   MICHAEL      RICE                         KS     90012239024
27275A67397B4B   JUSTIN       BOWERS                       CO     39068530673
2727632669184B   LEIBER       MARTINEZ                     OK     90009523266
2727667477B449   ALKANANI     ARKAN                        NC     90014746747
2727673684B588   TRINIDAD     PEREZ                        OK     90014897368
27276A3A57B471   LUIS         MORAN                        NC     90012000305
2727776599136B   ELIZABETH    SANTILLO                     KS     90011567659
27277A8495715B   DEVIN        JOHNSON                      VA     90005510849
2727851344B261   LENA         BEDFORD                      NE     90015115134
2727931979184B   KAY          ROBISON                      OK     90010383197
2727942322B987   BLANCA       RUIZ                         CA     90013054232
27279461572B88   KOFI         AMAKYE                       CO     33086374615
27279744372B42   CLAUDIA      GONZALEZ                     CO     90003067443
27279A9947B471   LAKEMA       YOUNG                        NC     90008000994
2727B14469189B   JOEL         MARTINEZ                     OK     90010721446
2727B278157157   LUIS         ASCENCIO                     VA     81000682781
2727B53144B521   MICHAEL      LAWRENCE                     OK     90007565314
2727B585391592   EMILIO       MIRAMONTES                   TX     90014225853
2727B618784345   SHAWN        SWINTON                      SC     19006366187
2728133599379B   MELISSA      LOVIN                        OH     90012423359
2728155129189B   CAMELLE      COLEMAN                      OK     90014885512
2728185A25B161   CYNTHIA      WILLIAMS                     AR     23031578502
2728192214B281   JEFFREY      PRUETT                       IA     27011249221
272819AA355957   DARNELL      JOSEY                        CA     90012779003
2728227859136B   RICHARD      JOHNSON                      KS     90008732785
272822A2281638   NICHOLAS     MCCALE                       MO     90013422022
27282438572B42   JESUS        GARCIA                       CO     90004384385
2728366735B161   BRITTANY     COGSHELL                     AR     90006836673
2728423A89184B   VASQUEZ      SERIO                        OK     90000102308
2728464249136B   ALISON       SMART                        KS     29076486424
27284A17872B88   IVAN         HERRERA                      CO     90010210178
27284A47972B29   ALFREDO      CASTRO                       CO     33096300479
27284A8977B435   ROSELIN      QUINONEZ                     NC     90008250897
27285553672B42   AQUINA       ROGERS                       CO     33083955536
2728588817B449   CLARA        ELLERBEE                     NC     90003978881
2728668944B588   WILLIAM      CRONIC                       OK     21589666894
2728678399184B   MICHAEL      DETAR                        OK     90015217839
27286A6549136B   SKYLINA      TERRYCAVE                    KS     90009760654
27287963472B29   ELTEONTE     AKINS                        CO     90015169634
27287A48184344   LUIS         CANSIGNO                     SC     90013460481
2728871134B588   AUTUMN       HAMMONS                      OK     90015137113
27288A42885938   SUNNY        MARSHALL                     KY     90010990428
27289657A2B27B   GALE         MILLNER                      DC     90010736570
2728B58A77B471   SHIRLEY      GAINEY                       NC     90001945807
2728B616331433   REVA         LEWIS                        MO     90003596163
2728B69929189B   ANDRA        SAMUEL                       OK     90013916992
2728B89324B58B   DEBRA        JOHNSON                      OK     90008778932
27291A99A85822   GUILLERMO    FIGUEROA                     CA     90012660990
2729229A89189B   SHEANA       HILL-BROWN                   OK     90014502908
272922A2381637   WANDA        CRAWFORD                     MO     29003672023
2729235742B27B   DONNA        CLAUS                        DC     90006773574
272927A274B281   RONDA        FINK                         IA     27094027027
2729286849136B   LAWRENCE     MATTHEWS                     KS     90010608684
2729318137B484   CHERYL       BARNHILL                     NC     90007101813
2729362A181638   LAROCK       THOMPSON                     MO     29084876201
272936A812B23B   NOE          MARTINZ                      DC     90006566081
27293A5829184B   GEORGE       SMITH                        OK     90009760582
2729426A155957   PATRICIA     BRIENO                       CA     90000832601
272942A297B484   JODY         MARTIN                       NC     90007102029
2729459584B588   ESSENCE      ROBERTS                      OK     90013435958
2729493887B449   MARLEN       GARCIA                       NC     90012179388
27295139972B88   NANCY        ZUNIGA                       CO     90006061399
27295A6259794B   BRANDON      HALL                         TX     90010720625
27296649A55957   JOHANNAH     HERNANDEZ                    CA     48081036490
27296724872B88   ISMAEL       HINOJOSA                     CO     33046247248
27296952A91828   BRUCE        DEDMON                       OK     90009019520
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27296955972B42   TONY         GEHRING                      CO     90012769559
2729737197B484   SIERRA       HUFF                         NC     11079073719
2729743939184B   JOHN         REGER                        OK     90001504393
272976A9771221   TYRIQUE      GOODMAN                      IA     90015616097
2729773744B588   SHENIA       RANDON                       OK     90014897374
27297A16191356   JAMES        KINYON                       KS     90010290161
27297A46972B29   JESSICA      CARTER                       CO     33065520469
27298438A76B69   HARRY        BISHOP                       CA     90011744380
2729855337B449   LORITA       FAIR                         NC     90010405533
27298951A91889   JENNIFER     DOWN                         OK     90008739510
27298A88276B21   LUCIA        HERNANDEZ                    CA     46068180882
27299363A93731   JASMINE      CRANFORD                     OH     90011193630
27299A93331453   JAZZIAH      JOHNSON                      MO     27560480933
2729B135691241   WALTER       OCHOA                        GA     90001311356
2729B376593731   DAVID        OWENS                        OH     90013833765
2729B751355957   ANGIE        MAYA                         CA     90012057513
2729B81384B588   YSENIA       SANCHEZ                      OK     90008708138
272B1145572B88   REBECCA      FLETCHINGEER                 CO     33057271455
272B153927B449   LUIS         ROSALES                      NC     90014745392
272B18A6381638   CODE         CALVEN                       MO     90012168063
272B211867B449   SADIE        BRAXTON                      NC     90011051186
272B2239172B42   MAGIC STAR   MORENO                       CO     90010872391
272B2312455957   ROSA         GARCIA                       CA     48018393124
272B266119155B   JOSE         VAZQUEZ                      TX     90011676611
272B3241157157   ISABEL       ORELLANA                     VA     81030942411
272B3A65872B29   ERIBERTO     OROZCO                       CO     33077250658
272B3A67584364   SYREETA      GILLIARD                     SC     90010640675
272B4134872B88   BEATRICE     VIALPANDO                    CO     90012931348
272B417289136B   JAMES        WEAVER                       KS     90013491728
272B4727672B29   SANTIAGO     SANCHEZ                      CO     90014167276
272B4848472B88   CINDY        SERRATO                      CO     90014688484
272B4968785822   FABIAN       LOPEZ                        CA     90015329687
272B5531872B53   JAMES        DOUGLAS                      CO     90010015318
272B5582291592   NASSER       AL-SHAMESI                   TX     90010155822
272B5729A72B29   NAYELLI      ROJAS                        CO     90014167290
272B5A1AA55957   VICTOR       GARCIA                       CA     90011250100
272B643A191528   OCTAVIO      QUININEZ                     TX     90005844301
272B6771672B29   ISAAC        HERRERA                      CO     90012677716
272B7849391828   AMABILIO     BAUTISTA                     OK     21090658493
272B78A239136B   FLOR         VIOLETA                      KS     90008028023
272B8153A5B571   JEFFERY      DITTMAN                      NM     90010541530
272B85A7572B88   RYAN         THOMSON                      CO     33080925075
272B954987B449   ORLANDO      AMAYA                        NC     90014745498
272B956974B588   TAMRA        SIMS                         OK     90015255697
272B9639191356   ASHLEY       JACOBS                       KS     90010766391
272B965387B471   LETISHA      DIALLO                       NC     90011056538
272B9661A5B271   JOSEPH       BENNETT                      KY     90010966610
272B9A6185B271   CHEQUINTA    BUTLER                       KY     90013810618
272BB27855B271   MARIBEL      MIRANDA FLORES               KY     90014752785
272BB31989794B   ROSARIO      ROMERO                       TX     90002563198
272BB71447B484   CRYSTAL      RABON                        NC     90006997144
27311212572B88   BERENICE     STENNER                      CO     33049062125
2731128A872B29   ELIZABETH    ILLA                         CO     33016442808
2731343939184B   JOHN         REGER                        OK     90001504393
27314293172B29   CELESTE      ABEYTA                       CO     90001712931
273142A2391241   ALEX         BROOKES                      GA     90010172023
2731439A872B88   CYNTHIA      WEBB                         CO     33011763908
2731466192B27B   RITA         HENDERSON                    DC     90005106619
27314827A9189B   ROBERT       HENDRICKSON                  OK     90015258270
273149A444B521   MICHEAL      FRIDAY                       OK     90013759044
2731524145715B   NANCY        HENRIQUEZ                    VA     90000262414
2731526795B161   LINDA        BRUNSON                      AR     23027702679
27315412172B29   STEVE        MAES                         CO     90001164121
27315524A31631   SHIRLEY      TERRY                        KS     22027625240
2731569914B261   RACEAN       LOWE                         NE     90014126991
27316264A91356   MARISOL      MIRANDA                      KS     90011662640
2731644A291592   OSCAR        HERRERA                      TX     90013084402
2731664447B471   JACKIE       FOUTZ                        NC     11015946444
27316947476B69   ALFREDO      MURILLO                      CA     90006929474
2731697572B27B   SERAJE       ASSI                         DC     90002679757
27317163972B88   MARISELA     HERNANDEZ                    CO     90001951639
27317556872B42   JUDITH       ZINDA                        CO     33026355568
2731866345B271   RONIKA       TAYLOR                       KY     68092426634
2731869889189B   TERRENCE     LAMONT                       OK     90012346988
27318926672B42   JUANITA      ORTEGA                       CO     90013959266
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273195A2585822   BRENDA        CASTELLANOS                 CA     90005105025
2731982717B449   BRITANY       WALLACE                     NC     90014748271
27319922972B29   ADELA         SANCHEZ                     CO     33018259229
2731B78A272B29   SAMANTHA      CASIAS                      CO     90014167802
2731B82398B56B   VERO          SILVA                       CA     90013788239
2732116512B86B   AMBER         WHITAKER                    ID     42083581651
273212A2285938   DARLEENE      POPE                        KY     90007362022
2732156A93B365   ANGELA        KENNEPOHL                   CO     90012485609
27321736A8B123   STEVE         WAITE                       UT     90001757360
27321A83172B88   HILDA         LOPEZ                       CO     33049060831
2732226898B56B   GUILLERMO     CONDO                       CA     90013052689
2732286669184B   JEFFERY       LYNCH                       OK     90014598666
27322A7922B27B   RAQUEL        JUAREZ                      DC     90000230792
2732329679184B   JAMES         SHELTON                     OK     90012482967
2732384957B449   YOLANDA       MCCAIN                      NC     90014748495
27323AA8776B21   TRAVIS        WIMMER                      CA     90009200087
27324318672B42   BERNADETTE    CONE                        CO     33062733186
27324488172B29   CHANTELL      SOLIS                       CO     90000794881
2732483A35715B   ALEX          GARCIA                      VA     90003258303
27324A4925B571   CESAR         VILLALOBOS                  NM     35054380492
2732555252B27B   SHAQUITA      HOLMES                      DC     90006325525
27326A1974B521   DONNIE        WILSON                      OK     21517620197
273272A585B571   IMELDA        OLIVARRIA                   NM     35007652058
2732778759136B   ISMAEL        PEREZ VAZQUEZ               KS     90011267875
2732834765B571   LETICIA       CUNNINGHAM                  NM     90012563476
2732839A191525   MARIA         DURAN                       TX     75022973901
27328557872B42   ROMO          FEBE                        CO     90010405578
273288A529136B   KATHERINE     DCHOOLEY                    KS     90002658052
2732899664B588   ANQUESHA      FRIDAY                      OK     90003729966
2732973629794B   REINA         L PEDRAZA                   TX     74096057362
2732B187891541   MAYRA         CERDA                       TX     75014761878
2732B213655957   ERIKA         MORA                        CA     90005592136
2732B418831453   TIMOTHY       WALKER                      MO     27579394188
2732B78694B261   NATHAN        GODIN                       NE     90015297869
2732B954172B29   BRUCE         ALAN                        CO     90003589541
2732BA17691592   LEAH          VELA                        TX     75026770176
2733117679794B   CONSUELO      REYNA                       TX     74006121767
2733139A161939   CLIFFORD      BIGWOOD                     CA     90014983901
2733144724B261   GERARDO       BERNABE                     NE     27057124472
273318A2951331   DILLOM        HOGAN                       OH     90011268029
27332383572B88   STEH          ROLIND                      CO     90013123835
2733246647B449   ELSI          BONILLA                     NC     90012604664
2733255A572B42   ERNESTO       GUERRERO                    CO     90013535505
2733296985B247   JOSH          HERALD                      KY     90003649698
2733332574B261   JENNIFER      KOMOR                       IA     27051533257
2733333459155B   MICHELLE      CROSBY                      TX     90011683345
27333885976B69   LORENZO       SANTOS                      CA     46050778859
27333A57631453   CHARLOTTE     WHASHINGTON                 MO     27515140576
273342A329189B   CHAMIKKA      SLOAN                       OK     90010482032
2733433459155B   MICHELLE      CROSBY                      TX     90011683345
27335A5189155B   RACHEL        CULBERTSON                  TX     90014630518
27336599A4B588   JUDITH        DURON                       OK     90013845990
2733695729189B   TONYA         THOMAS                      OK     90009609572
273371A7291356   STACEY        GOLDEN                      KS     90015311072
27337522A97121   SIERRA        WEST                        OR     90011515220
2733893497B449   CHRISTOPHER   GRIGGS                      NC     90014749349
2733898889155B   OSCAR         RODRIGUEZ                   TX     75033529888
2733917A491833   ROBERT        WALKER                      OK     90006811704
2733942234B588   RICCO         SMITH                       OK     90015084223
27339426A7B471   CAROLYN       PITTS                       NC     90010334260
273396A645B271   JOHN          REICHLE                     KY     90012856064
2733989A391592   JENNIFER      VEDOY                       TX     90012788903
2733B785172B29   BRENDA        GUASRDADO                   CO     90014167851
2733B875191541   MOSES         MENCHACA                    TX     90010958751
2733BAA4472B88   TODD          OJA                         CO     90010350044
2733BAA9481648   TODDISHA      FRAISER                     MO     90009510094
2734146198B17B   JENNIFER L    MECHAM                      UT     90012304619
273417A784B261   LUIS          CASTREJON                   NE     90001677078
2734181919136B   DIEGO         HINOJOSA                    KS     90006768191
27342796672B88   CRAIG         RIGLER                      CO     90000497966
2734387875B271   TRACY         WALKER                      KY     90012538787
2734421985715B   NOE           SALVADOR                    VA     90007822198
273446A3A6196B   PATRICIA      CUETO                       CA     90008616030
27344812A4B588   LEE ANNE      COOKSEY                     OK     21586158120
2734567344B261   WESLEY        VAVRA                       NE     27019206734
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2734668218B337   MURIEL        JERNIGAN                    SC     90001136821
27346692A91592   LUIS          DEL MERCADO                 NM     75039876920
27346A7129155B   JOHNATHAN     MOORE                       TX     90014630712
27347A65A72B88   ISAAC         GARCIA                      CO     90012240650
2734828969189B   AJUANIA       BUYCKES                     OK     90005192896
2734855187B449   SELRENA       HARRELL                     NC     90014765518
2734887439155B   MARIA         MARQUEZ                     TX     90002098743
2734969184B588   ANNA          PHILLIPS                    OK     90014356918
2734969779189B   DANIEL        BAUDER                      OK     90014176977
27349786572B29   ZANDRA        CELAYA                      CO     90014167865
27349A83881638   REVA          BUTTERS                     MO     90014650838
2734B61A385822   JEREMIAH      BRYANT                      CA     46035036103
2734B78815136B   RICKS         CVETANKA                    OH     66061277881
2734B86529155B   JORGE         NUNEZ                       TX     75014348652
2734B951355957   VICTOR        HERNANDEZ                   CA     90006669513
2734BA1534B588   WENDELL       BYRLEY                      OK     21598150153
2735121222B27B   GET           MONEY                       DC     81012232122
2735133849184B   CHRISTOPHER   SHANE                       OK     90013903384
27351786572B29   ZANDRA        CELAYA                      CO     90014167865
273527A449155B   LISA          VIGIL                       TX     75019057044
27352981472B29   DELORES       GONZALES                    CO     33051909814
27353648472B88   MIKIELLA      LOBATO                      CO     90014966484
2735398239184B   DOROTHY       LEFTWICH                    OK     21072989823
2735441357243B   SHANE         HANNA                       PA     90004454135
273546A4481638   JAZMAN        DAVIS                       MO     90011536044
27355A17685822   EDGAR         CARDOZO                     CA     46074280176
27356138A85822   HIMERIO       GARCIA                      CA     90011491380
2735647282B27B   RONALD        WILSON                      DC     90014794728
273564A9272B88   EUGENIO       ZAPATA                      CO     90013684092
2735672749794B   LANDON        LEWIS                       TX     90005117274
2735746299184B   KENDEL        JOHNSON                     OK     21015814629
2735818934B588   KYLE          FISHER                      OK     90013251893
2735841769189B   XENIA         JOHNSON                     OK     90002014176
2735883282B27B   KATHY         JACKSON                     VA     81014688328
2735893AA55939   TAYLOR        MICHELLE                    CA     49010999300
27359684A5B271   JENISHA       BAKER                       KY     90011996840
2735972749794B   LANDON        LEWIS                       TX     90005117274
27359A46972B88   MARIA         MONSIUVIAS                  CO     90013940469
2735B526A61986   MARIA         GARICA                      CA     90009295260
2735BA7129155B   JOHNATHAN     MOORE                       TX     90014630712
27361336A9155B   NAJERA        STEPHANIE                   TX     90012413360
2736147282B27B   RONALD        WILSON                      DC     90014794728
2736193A44B588   RUBEN         FUENTES                     OK     90011499304
2736325447B328   ANIL          TREHAN                      VA     90000452544
27363416772B29   LESTER        SOWARDS                     CO     33030544167
27363754772B88   SETH          ANTILL                      CO     33004587547
27363A54131433   DEBBIE        SHIFFLETT                   MO     27586280541
2736415443B379   JOSE          SCENSIO                     CO     90010391544
2736427929184B   ESTEVAN       MIRANDA                     OK     21091472792
2736468429155B   FERNANDO      BONILLA                     TX     90014196842
2736469A981638   BENNIE        MAPLE                       MO     90012786909
27365328672B42   SHELTON       MPHAHLELE                   CO     90012493286
27365786572B29   ZANDRA        CELAYA                      CO     90014167865
2736618449152B   REYNALDO      SOLIZ                       TX     75026781844
2736619779136B   PATRICK       GARNER                      KS     90013651977
27366877A7B449   YANET         MOREL                       NC     11091818770
27366A5274B261   SHIRLEY       RICHEY                      IA     90011710527
27366AA5955957   ROSA          HERNANDEZ                   CA     90013760059
2736814A19136B   CHARLENE      BRIDGEFORD                  KS     90004731401
273681AA59189B   MARSHA        HENNESSEY                   OK     90014811005
27368645376B8B   ALEJANDRO     SOLORIO                     CA     46083716453
2736941569189B   TICHELLE      TIGER                       OK     21011784156
27369694A85822   SORAYA        SOTO                        CA     90012386940
27369A91793731   BETTY         KLINE                       OH     90008940917
2736B962591241   DARLENE       JONES                       GA     90014719625
27371411272B88   JOHNATHAN     DAHARSH                     CO     90013684112
2737215942B27B   NYGARI        OTTLEY                      DC     81029091594
27372266A72B88   STEFANIE      HERERRA                     CO     90005502660
27372411A4B588   ARIEL         REEVES                      OK     90007274110
273731A125B571   VERONICA      DURAN                       NM     35012521012
27374367A31453   BRITNEY       TRIPLETT                    MO     27576303670
2737479A572B88   LIZETH        ESPINOZA                    CO     90012817905
2737641A49155B   ASHLEY        QUIROZ                      TX     90011684104
2737675585B271   MARK          RUSSELL                     KY     90010847558
2737699269189B   TEREANCE      SMITH                       OK     21004599926
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273772A5485822   JENNIFER     BIEN                         CA     90011782054
2737761A37B449   SONYA        CHAMPION                     NC     90014766103
2737793219155B   CHAVEZ       MARIA                        TX     90006279321
273782A485B571   ANNA         PADILLA                      NM     90008752048
2737858914B281   MARY         BROWN                        NE     27012925891
27378A58885822   STEVEN       ROBERTS                      CA     90002100588
273798A889155B   MARIA        TERRAZAS                     TX     90014638088
2737B18539155B   VIRIDIANA    MONTOYA                      TX     90010821853
2737B269655957   ROXANNE      STODDARD                     CA     90006952696
2737B271593731   JOSHUA       ANDERSON                     OH     90014172715
2737B4A8A9184B   NELIDA       PEREZ                        OK     90006364080
27381433172B42   MARGARITA    CASTANEDA                    CO     33057954331
27382314A5B571   SHERRI       NAVARRO                      NM     35078733140
2738363654B588   PARTRICIA    YANEZ                        OK     90014256365
2738363889184B   EVAN         VAN SLOTEN                   OK     90013796388
273836A265B271   BENJAMIN     BLUITT                       KY     90014836026
2738425945B571   MIREYA       LOPEZ                        NM     90010542594
27384477672B29   AMY          BAKER                        CO     90012654776
2738461997B471   MISTY        VALDEZ                       NC     11091356199
27384A7AA4B261   SHARON       WALLACE                      NE     90005880700
27384AA1681661   LETICIA      SANCHEZ A                    MO     90010320016
27385862A72B42   JOEY         LEWIS                        CO     33089378620
2738628229184B   JESSICA      HINES                        OK     90009222822
2738658535B271   WAYNE        KALLIN                       KY     90012655853
2738666417B449   JAKORI       PLESS                        NC     90014766641
273866A2381638   JONATHAN     DOUGLAS                      MO     90014196023
2738677814B541   JOE          ALEXANDER                    OK     21538067781
2738758964B588   SUSAN        HERNANDEZ                    OK     90013535896
2738782449155B   ORTEGA       JAIME                        TX     90011858244
27387897772B88   LEONARDA     TARIN                        CO     90014698977
273878A534B261   ALEXIS       HUNTOON                      IA     90009078053
2738871762B27B   WONDIRAD     WORKINEH                     DC     90013157176
2738891789189B   MARIA        MARRUFO                      OK     90012979178
273895A342B27B   DANIELLE     RICHBOW                      DC     90014795034
27389751A9184B   JESSIE       TABER                        OK     90013287510
2738975A14B281   DAVID        DEBOLT                       NE     27021327501
2738997324B261   AMANDA       WALKER                       NE     90011349732
2738B16984B588   ROY          MILLS                        OK     90013301698
27393311672B29   MARIO        ROBLES                       CO     90011833116
2739342389189B   JEREMY       FLANIGAN                     OK     90013274238
2739345195B161   SHEKIA       CARLOCK                      AR     90007744519
2739359A481661   FREDA        SUBER                        MO     29098015904
27394211472B42   MIGUEL       SANTANA                      CO     90013862114
2739423349184B   RON          TUNER                        OK     90012242334
2739473755B571   FROILAN      RAMIREZ                      NM     35015917375
2739474249379B   RON          BARKLEY                      OH     90005297424
27394954372B42   BRANDY       HAMILTON                     CO     90013879543
27394A92961982   NICOLE       WOOLFOLK                     CA     90009470929
2739555817B449   MALIK        ADAMS                        NC     90015055581
27395657A4B261   DEANNA       JAYNES                       IA     27007696570
27395A12891833   ANGELICA     MAXWELL                      OK     90007570128
2739642A591592   SOCORRO      VEGA                         TX     90014154205
27396492A4B261   WANETTA      RICHARDS                     NE     27073034920
2739675569136B   KATHY        SMITH                        KS     29049727556
2739717A89136B   CARLOS       DOMINGUEZ                    KS     90013881708
27397466A91241   TAWONA       ANDERWS                      GA     90014134660
2739827845B271   SONAM        GURUNG                       KY     68074432784
27398486772B88   BLANCA       ARAIZA                       CO     33041054867
27398793A85822   ANABEL       SOTO                         CA     90010597930
2739917985715B   ANA          SALGADO                      VA     81046411798
2739941579133B   PAULA A      CADY                         KS     29083064157
2739948874B221   TALISA       JENKINGS                     NE     90009314887
273994A9372B29   MARICELA     ZAVALA                       CO     90009814093
27399652872B42   CRISTOPHER   CHASE                        CO     90012916528
27399839572B88   MICHAEL      KEMP                         CO     90011458395
27399A45991356   JUAN         MONCADA                      KS     29039330459
27399A91672467   JULIA        WILLIAMS                     PA     90011340916
27399A99693731   CHRISTINA    HERNANDEZ                    OH     64515190996
2739B35212B27B   MYESHA       HILL                         DC     90013133521
2739B772285822   ERIC         G ENCINARES                  CA     90012617722
2739B9A2991356   OSVALDO      HURTADO                      KS     90010709029
273B1121384364   EDITH        BLUNTT                       SC     90003301213
273B172147B449   BRENDETLA    SPENCER                      NC     90014747214
273B1A2399155B   CESAR        BARRAZA                      TX     90014630239
273B1AA1172B88   CHOMPHET     LY                           CO     90010350011
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273B2577941245   ROBERT       GALLOCHER                    PA     90005315779
273B263117B471   CANDACE      BARRINGER                    NC     90011496311
273B267A555957   MIGUEL       CORONA                       CA     90013926705
273B278719794B   FIDEL        DESANTIAGO                   TX     90000357871
273B369184B588   ANNA         PHILLIPS                     OK     90014356918
273B371982B934   LISBETH      GALAN                        CA     90012067198
273B4312272B88   BEN          GONZALES                     CO     90005443122
273B4357885822   ROBERT       MILLER                       CA     90012393578
273B515764B588   TIMOTHY      JONES                        OK     90010011576
273B5347691528   GUSTAVO      VALDEZ                       TX     75041373476
273B5976185822   MARCOS       CASTILLO                     CA     90012499761
273B5A8649189B   JEREMY       WEST                         OK     90012410864
273B6532851889   JOSEPH       RETOS                        NY     90009555328
273B6576691592   ZAIDA        SANCHEZ                      NM     75087835766
273B679AA4B588   MICHELLE     WILLAMS                      OK     90013917900
273B6A45A55957   ESMERALDA    DE LEON                      CA     90003260450
273B724645B271   LARREE       COOMER                       KY     90009922464
273B798334B261   LINDA        WHITE                        NE     90015339833
273B822689136B   MAYRA        FLORES VAZQUEZ               KS     90006082268
273B8342455957   NADIA        LOPEZ                        CA     90011243424
273B856934B58B   ROBERT       MORPHIS                      OK     21514825693
273B866A585822   DAN          KRENTZ                       CA     46011266605
273B8762191356   KRYSTAL      OLDHAM                       KS     90015167621
273B935469189B   ELFIDIO      CORONADO                     OK     90005903546
273B9834631433   ALICA        COLLINS                      MO     27542938346
273BB46479184B   CARMETHIA    CLEMONS                      OK     90013784647
273BB57AA55957   KRYSTAL      SHOWALS                      CA     90009565700
273BB773672B29   EDUARDO      GOMEZ                        CO     90014167736
273BB993391833   DANYELLE     SANDERS                      OK     90008579933
27411558176B69   LEONARDO     VALENCIA MENDEZ              CA     90006375581
274116A9491592   JUAN ANGEL   ROCHA                        TX     90012876094
27411A65833B96   LATAYA       FURMAN                       OH     90014560658
27411A74491356   HUGO         GALINDO CANO                 KS     90014070744
2741217665B271   PEDRO        CASTRO                       KY     68057521766
2741238757B471   APRIL        WHIDEMAN                     NC     90008643875
27412494A9189B   ELIANA       SALDIVAR                     OK     90014824940
27412694272B29   MARTHA       MALDONADO                    CO     33081846942
2741288849794B   WENDY        RAMOS                        TX     90004458884
27413211A41245   STEPHANIE    MCCARTNEY                    PA     51044232110
27414582372B29   ENRIQUE      PAREDES                      CO     90001455823
2741562A955931   ERIC         BENITEZ                      CA     90011236209
2741598479136B   GENEVA       BROWN                        KS     90006799847
274159A9172B88   RUBEN        DELGADO-GUARDADO             CO     33047049091
274161A9876B69   EFIGENIA     CRUZ                         CA     90006841098
2741662919184B   IDALIA       ESCOBEDO                     OK     90009656291
2741694435B271   BRANIGEN     WALLACE                      KY     90002909443
2741726275B571   BONIFACIO    HERNANDEZ                    NM     35096632627
2741744975136B   BOBBY        JOHNSON                      OH     66055044497
2741863987B449   ALLEXYS      PAIGE                        NC     90013596398
2741867934B521   BRANDY       KING                         OK     90005936793
2741872A391241   ALFREDO      CRUZ                         GA     90014957203
27418A75972B88   JULIANNE     FRESQUEZ                     CO     90010110759
2741931865B161   DEANDREA     ANDERSON                     AR     90010543186
2741B272872B29   BLANCA       DOMINGUEZ                    CO     90004212728
2741B35AA7B449   BARBARA      CASON                        NC     90014773500
2742138347B449   TORI         IVEY                         NC     90014773834
2742138642B27B   ANTONIO      MAIS                         DC     81010653864
2742177A59155B   DULCE        GOMEZ                        TX     75098707705
2742196215B271   JUNET        GONZALEZ                     KY     90012539621
2742214332B27B   REGINALD     MCCORD                       DC     90000841433
2742225535B569   CARLA        CISNEROS                     NM     90004722553
2742325124B261   MICHELLE     TRUDELL                      NE     27058362512
274234A327B471   MARIA        MAYA                         NC     11047234032
27424319A85646   EVELYN       ROSARIO                      NJ     85007553190
2742437139155B   GUADALUPE    CRUZ                         TX     90009923713
27424447A72B88   DAGOBERTO    AVILA                        CO     90012874470
274248A7272B29   ELOY         GUTIERREZ                    CO     90014168072
27427243172B29   IAN          COCHRAN                      CO     90014842431
27427551A9155B   KRYSTAL      MILLIORN                     TX     90000485510
2742762367B471   SHIRLEY      SIMPSON                      NC     90004676236
2742772AA51369   DEZARE       JORDAN                       OH     90010497200
27428722A76B69   JOSE         LEDESMA                      CA     90010607220
2742885719189B   LARISSA      GRITTS                       OK     90009678571
27428862972B88   EMANUEL      RENDON-DIAZ                  CO     90014688629
27428A47857157   JAMES        TURNER                       VA     90003470478
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2742926295B271   CHIQUITA     HARPER                       KY     68063812629
2742926574B261   KELLY        MILFORD                      NE     27019292657
2742951832B27B   JAMES        JACKSON                      DC     90014515183
27429989A31433   STEPHANIE    SMITH                        MO     90007999890
2742B632991592   CHARLES      GRANTZ                       TX     75044176329
2742B686181638   KALYNN       MURRAY                       MO     90008266861
2742BA44791828   JOSE         ORELLANA                     OK     21098460447
274316A1191528   LORENZA      VASQUEZ                      TX     75078726011
27431885A93731   COREY        RUNYON                       OH     90008098850
2743258814B521   NICOLE       PAISLEY                      OK     90010845881
2743277214B261   SARA         MAZUR                        NE     27019297721
2743319A79155B   CAROLINA     PONCEDELEON                  NM     75098711907
2743323332B839   DANIEL       GARCIA                       ID     90001912333
2743346369189B   DUSTIN       SANG                         OK     90012994636
27433568672B29   ESPERANZA    MARTINEZ                     CO     90004505686
27434A8645B571   DYLAN        HARKES                       NM     90008060864
2743513A29155B   ROSA         TEPEZANO                     TX     90014631302
27435456A91828   JENNIFER     HARDIN                       OK     90014864560
2743596519184B   STEVEN       AUSTEN                       OK     90012659651
27436593572B29   GUILLERMIN   DE SIERRA                    CO     33056345935
2743694455B571   RIEKO        SONE                         NM     35008069445
27436A1729184B   ROBERT       TURNER                       OK     90008540172
27436A7979794B   THERESA      ROBINSON                     TX     90005400797
27437172524B46   EVA          TALIAFERRO                   DC     90015061725
2743729A59136B   ISAIAS       FUENTES                      KS     29004322905
2743752119155B   CESAR        TORRES                       TX     75033835211
2743755A79794B   JAMIE        ELLEDGE                      TX     74015435507
2743951679155B   JOSE LUIS    SANCHEZ                      TX     90011685167
2743971119189B   DIANNA       PICKENS                      OK     21089237111
2743979932B27B   KAWARA       TIMOTHY                      VA     90009657993
2743B331931631   JAMES        INGRAM                       KS     22090413319
274415AA193731   AUBRIE       HOPKINS                      OH     90014605001
27441773A81661   STEVEN       DODDS                        MO     90009477730
2744181919136B   DIEGO        HINOJOSA                     KS     90006768191
27441A39141245   JOSEPH       FAZIO                        PA     51013790391
2744224577B471   JEFF         BLANTON                      NC     11002802457
274423A1791828   HEATHER      MORRIS                       OK     90014413017
27442562772B42   GREGORIO     SALOMON                      CO     33024395627
274425A8A93731   JAQUATA      HOWARD                       OH     90014875080
27442815972B29   PRICILLA     SANCHEZ                      CO     90014558159
27442832A55957   ALEX         VALENZUELA                   CA     90009268320
274434A2972B42   ANTHONY      PREITO                       CO     33012984029
2744496754B588   CYNTHIA      MINOZ                        OK     90014169675
274451A129189B   PEDRO        BUSTOS                       OK     90014811012
2744637537B471   SARA A       SHUNKWILER                   NC     90011483753
274466A865B271   LAMONDRE     SANDERS                      KY     90014836086
2744675742B27B   MARTINA      GOMEZ                        DC     90010737574
27447533A91356   ROBERT       BUCK                         KS     90012245330
27447A52431631   FELICIA      COOLEY                       KS     22025470524
2744813164B261   THOMAS       FREED                        NE     90014141316
2744831585B571   JAZMIN       CASTRO                       NM     90010543158
2744869699136B   JUAN         GACHUZ                       KS     90004006969
2744947865B177   VICTORIA     BOOKER                       AR     90013754786
27449A64981661   ROXANA       LOPEZ                        MO     90011400649
2744B538672B42   SOMMER       KRUSKAMP                     CO     33006505386
2744B598A25245   ADELYA       WILLIAMS                     NC     90001935980
27451381A91528   SOLEDAD      MARTINEZ                     TX     75093873810
274517A6691592   DAVID        MONAREZ                      TX     90012857066
27451897772B88   LEONARDA     TARIN                        CO     90014698977
2745219A491592   MARIA        FERNANDEZ                    TX     75043471904
2745233A661985   MARTIN       PEREZ                        CA     90012343306
2745243A94B261   EDMIA        MCGARY                       NE     27096094309
27452742572B29   DEANDRA      RUYBAL                       CO     90014167425
27452758A7B449   ISRAEL       ALVAREZ                      NC     90013497580
2745276814B281   CINDY        JOHNSON                      NE     27093257681
274529A3291589   ELIZABETH    CASTILLO                     TX     75097149032
27453421372B88   VANESSA      VELASQUEZ                    CO     90012264213
27453676772B29   SALVADOR     GARCIA                       CO     90006506767
274539A9A31631   LINDA        WINEGARNER                   KS     22084249090
2745428395B271   RHONDA       LANGFORD                     KY     90006142839
2745453217B449   MANNIE       FRESH                        NC     90014775321
274546AA791592   ALAN         FONSECA                      NM     75067836007
2745489519189B   DAVETTA      CAYSON                       OK     90009678951
2745654359155B   ANGEL        RIVERA                       TX     90011685435
27456A3577B471   JOSEPH       WATSON                       NC     90012000357
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27456A94581661   MALINDA      GARDNER                      MO     29087700945
27457576A7B471   DAVON        HOWARD                       NC     90010055760
27457A72357531   PABON        FELIX                        NM     90003740723
2745844329184B   SHAWANNA     ASHLEY                       OK     90004134432
274588A9772B29   AMY          ZARAGOZA                     CO     90014168097
27458A58581638   SAMANTHA     CAMPFIELD                    MO     29060860585
27459124A85822   AUSTIN       MOSES                        CA     90014341240
2745916889155B   JAVIER       GARCIA                       TX     90014631688
27461283472B88   CLAUDIA      DOMINQUEZ                    CO     90006662834
27461539A91592   NOEMI        DE LA CRUZ                   TX     90014625390
2746157542B27B   CARLOS       PAYNE                        DC     90014795754
274616A7681661   SARAH        WOODROME                     MO     90009346076
2746296535B36B   EULALIO      CONTRERAS                    OR     90003029653
2746314159198B   STEPHANIE    YORK                         NC     90011011415
27463471A5B36B   ANA          TAPIA                        OR     90007624710
2746399814B281   CINDY        KROULEK                      NE     27024389981
27464772A72B42   MARVIN       TEMPLE                       CO     90005227720
2746497A24B261   JAMES        GOULD                        NE     90004419702
27464A41755957   THEODORE     RAMIREZ                      CA     90004010417
2746527757B358   RONALD       BARBA                        VA     90001472775
2746531585B571   JAZMIN       CASTRO                       NM     90010543158
27465954A85822   OBDULIA      DURAN                        CA     46066559540
27465A87691356   SYMPHANEE    WILLIAMS                     KS     90010950876
27466171A41245   RICHARD      SUTPHEN                      PA     90011691710
2746619479136B   ROBERTO      COLIN                        KS     90010611947
2746631497B699   ETTA         WILLIAMS                     GA     90004333149
2746751554B281   JEFFREY      GARVEY                       IA     27041985155
2746763219184B   VET          EZELL                        OK     21029256321
2746784194B588   ASHLEY       SHINAULT                     OK     90013688419
2746894215B571   VANESSA      SALGADO                      NM     90009029421
27469A2562B27B   SUNDAE       BOLDWARE                     DC     81021570256
27469A39981638   TERESA       SAGE                         MO     90013600399
2746B54759155B   JORGE        PEARSON                      TX     90011685475
2746B67574B588   JACKIE       RODGERS                      OK     90002356757
2747132A65715B   MANUEL       ORTEGA                       VA     90003263206
2747191729189B   SILVERIA     OCHOA DE CHAIREZ             OK     90013459172
2747341A372B29   NORBERTO     CAMACHO                      CO     90011834103
2747419559155B   ALMA         GUTIERREZ                    TX     90009831955
2747428129189B   ENRIQUE      SALDANA                      OK     90006082812
2747435994B261   NICOLE       BENTZINGER                   NE     27065093599
27474A75272B88   CESAR        PENA                         CO     90013940752
2747557529189B   ANGELES      TORRES                       OK     90013795752
2747564579184B   DANIELLE     CARTWRIGHT                   OK     21065636457
27475A2A88B176   LAUREN       MCDANIEL                     UT     90004000208
274761A4491828   LETICIA      MASEDO                       OK     21017361044
274766A8493731   JASON        HOWARD                       OH     90014106084
2747689749136B   LEISLIET     MARQUEZ-VICENTE              KS     90013748974
27477479A91528   ARMANDO      SILVA                        TX     75012564790
2747846129184B   CECILIA      GARFIAS                      OK     90004254612
27478541972B88   REINA        VELASQUEZ                    CO     90013125419
2747861215B571   YVONNE       SANCHEZ                      NM     90004016121
2747888889155B   LLUVIA       SIGALA                       TX     75037018888
27478923A9794B   WHITAKER     MORRIS                       TX     74017269230
2747921237B449   CHAREE       CAMPBELL                     NC     90014782123
2747968922B965   MIGUEL       ZAMUDIO                      CA     90013676892
27479A75A72B29   TIMOTHY      FULTON                       CO     90013880750
2747B161185822   SERGEY       RUDOY                        CA     90010971611
2747B82194B588   RUBY         FRICK                        OK     21586158219
274816AA157157   CONSTANCE    ABBAL                        VA     81016186001
2748178844B261   ADAM         HANNA                        NE     90014547884
2748187189155B   ROSALIA      PONCE                        TX     75098888718
27482A2179136B   JOSELYN      GRAHAM                       KS     29073580217
2748316512B27B   GARY         RIDGLEY                      DC     81095581651
27483827A9136B   OLOPEZA      SILVINO                      KS     90010948270
27484A55881638   CHARLES      SNYDER                       MO     29009990558
2748544579155B   CARLOS       GUZMAN                       TX     90013224457
27486375A93731   JUSTIN       VAMOS                        OH     90009053750
27486743172B88   SERINA       DURAN                        CO     90012557431
274874A5691592   FERNANDO     GONZALEZ                     TX     90014384056
2748751AA5715B   AURA         OROCHENA                     VA     90000285100
2748775625B571   ARACELI      GARCIA                       NM     90011297562
2748851AA5715B   AURA         OROCHENA                     VA     90000285100
2748887764B261   DUANE        KUGLER                       NE     27036468776
274889A259136B   MARCO        GUARDADO                     KS     90011429025
27488A8197B449   WILLIAM      FULLER                       NC     90014790819
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274893A235B571   SAMANTHA     SIMON                        NM     35088503023
2748975337B462   EDWIN        MENJIVAR                     NC     90006377533
2748995717B449   EDITH        SANCHEZ                      NC     90001629571
2748B24767B449   LAURA        GRASSO                       NC     90014782476
2748B24A981638   ANDY         HARDEN                       MO     90013062409
2748B319472B88   SUSAN        FERNANDEZ                    CO     33040023194
2748B32279189B   CATHIE       HOLLINGSWORTH                OK     90009503227
2748B33A49155B   VERONICA     RODRIGUEZ                    TX     90012803304
2748B5A5685998   TAYLOR       BAKER                        KY     90010605056
2748BA6592B27B   DESHANTEL    JONES                        DC     90010290659
2748BAA375B271   GERALD       SUMMERS                      KY     68003870037
2749227765B545   JARED        POWELL                       NM     90003512776
274922A1331631   JAARED       OLSON                        KS     90003542013
2749282557B471   LILLIAN      BARRETT                      NC     90011058255
274928A259189B   ABRIL        ARTEAGA                      OK     90011968025
2749359179155B   PRISCILLA    REYES                        TX     90011685917
274937A964B588   DEWEY        GILDER                       OK     90006377096
27493A23772B29   MARTHA       ALONZO                       CO     33015540237
2749424179155B   ANTONIO      FLORES                       TX     90014632417
27494845172B88   ASHLEY       STOCKMYER                    CO     33035158451
2749511452B27B   JACQUELINE   HARRIS                       DC     90013141145
27495A2A881639   GARY         SOUKUP                       MO     29013810208
2749629317B449   ALIREY       DALTON                       NC     90014782931
274968A789136B   EDUARDO      ARRAZOLA                     KS     90001178078
27496AA4793731   MARY         BRANSCOMB                    OH     90003470047
27497653472B88   RAY          ROMERO                       CO     33039596534
2749822942B27B   SHAWN        OAKCRUM                      DC     81010772294
2749857634B553   SHALETHA     GILBERT                      OK     90006855763
27499174472B88   DIANA        ORTEGA                       CO     90009351744
2749919673B333   LEAH         ARAGON                       CO     90008741967
274996A2357157   BUFFIE       NEDITCH                      VA     81016196023
2749B552885822   MANUEL       VELASQUEZ                    CA     90008985528
2749B5A474B588   LEKEISHA     MARTIN                       OK     21516185047
2749B7A2793731   JACKIE       PIERCE                       OH     90012017027
2749B98A391241   NASHARA      JOHNSON                      GA     90014089803
2749BA3A791592   AMY          BABCOCK                      TX     90014390307
2749BA43191528   VALERIE      VALLES                       TX     75094190431
274B1249791828   JESSICA      BROUSSEAU                    OK     90000662497
274B188267B449   ARIANA       SORIANO                      NC     90009298826
274B226655B571   JOSEPH       GARCIA                       NM     90010542665
274B2339572B29   AMINDRA      VARGAS                       CO     90007553395
274B2367291356   RICARDO      RODRIGUEZ                    KS     90013293672
274B24AA572B88   JOAN         LOUGHRAN                     CO     33014884005
274B27A492B27B   MONEA        SMITH                        DC     81010627049
274B282A89189B   SUMMER       WILSON                       OK     90009678208
274B2866777399   MARY         WICKRAMASEKERA               CO     90012248667
274B29A975B271   SHERMOND     BOBBITT                      KY     68082559097
274B317A29189B   DENISE       GONZALZE                     OK     90010321702
274B344634B588   BENNIE       ANDERSON                     OK     21592184463
274B3551891828   TONY         HEARD                        OK     90013895518
274B355A79155B   MICHELE      CARISON                      TX     90012955507
274B3696872B42   BENJAMIN     PALMA                        CO     33058006968
274B4163472B29   KENNETH      TENNYSON                     CO     90012151634
274B473A15B271   SARAH        TRONCIN                      KY     90010027301
274B514A172B29   ROBERTA      TURNEY                       CO     33054211401
274B613474B588   TE           MANG                         OK     90013311347
274B6273441245   LYNYRD       DAYTON                       PA     90004812734
274B6322272B42   ALEJANDRA    ZAMBRANO                     CO     90005193222
274B664622B27B   LEONARD      POE                          DC     90003266462
274B673448B137   SIDNEY       SMITH                        UT     90013307344
274B6A72791241   KADIJAH      PENDERGRAPH                  GA     90014610727
274B733A272B29   ISMAEL       LOPEZ                        CO     90011833302
274B8159391592   JESUS        LOZANO                       TX     75095111593
274B835345B54B   CHARMANE     JACQUEZ                      NM     90014483534
274B8825972B29   PATRICIA     TIBBETTS                     CO     33005268259
274B893A372B42   RONALD       FREDERICKS                   CO     33082729303
274B8A7735B161   KATHY        BLACKSHER                    AR     90009910773
274B9421872B88   KERI         HAYNES                       CO     90010474218
274B9525491828   NELY         VERAZQUEZ                    OK     21058745254
274B9873A91833   ATTRELL      REDRICKS                     OK     21038348730
274BB632391592   RAMON        VITAL                        TX     75047036323
2751265719155B   JOSIE        MCCLEARY                     TX     75089246571
275126AA92B27B   LINDA        HILL                         DC     90014796009
2751294549136B   PORSCHE      HASKINS                      KS     90013229454
27512AA1585938   MARJORIE     POOL                         KY     67022950015
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27513191A72B86   PATRICIA       BARRON                     CO     33017421910
27513265772B42   ECTOR          IXCHOP                     CO     33084132657
2751349244B521   ROBERTO        ZAYATE                     OK     21563224924
2751421215B161   BEVERLY        BERRY                      AR     23007472121
2751432757B449   SELENA         MOORE                      NC     90014783275
2751479669189B   LIANN          ALFARO                     OK     21061257966
2751482227B471   MONICA         TORAIN                     NC     90008858222
27514857A5B571   JOSEPH         TREJO                      NM     35011658570
275156A7591828   BLANCA         LOPEZ                      OK     21050126075
27516879A91241   NIESHA         CLARK                      GA     90012038790
27516A43A72B42   ANGELINA       DAVILA                     CO     33093070430
27517873472B88   SERGIO         MARTINEZ                   CO     90012858734
2751788574B281   DENEAN         CARLSON-ROZIC              IA     27087858857
27517A94377541   CASCIE         HENDERSON                  NV     90000530943
275183A8691592   EUNICE         GONZALEZ                   TX     90010423086
2751849964B588   MARTIN         ACEVEDO                    OK     90013674996
2751874819136B   CYNTHIA        ACOSTA                     KS     29001357481
2751938AA4B588   WENDY          WELLS                      OK     90014553800
2751961345B271   TAYLOR         HENRY                      KY     90014836134
2751979757B449   PEPPER         PERRELL                    NC     90001887975
2751B435A76B69   BRENDA         GARRISON                   CA     90009014350
2751B55A991592   SHAY           DUCKETT                    TX     90014625509
2751B58472B27B   LUIS           MAYEN                      DC     81010905847
2752142489189B   OLGA           MEDRANO                    OK     90008664248
27521544572B29   MICHAEL        NIXON                      CO     33010805445
275219A7236165   ROSEMARY       MONTOYA                    TX     90014709072
2752211A491592   BRIAN          GAYTAN                     TX     90012611104
2752235269794B   FREDDY         AMOSIE                     TX     90011193526
2752313877B449   JAMIE          OVERCASH                   NC     90011131387
2752359764B588   RASHUNNA       MORRIS                     OK     90013435976
2752364A691828   JUAN           CEBELLOS                   OK     90013896406
27524552172B88   LIVINIA        VOIGT                      CO     33022465521
2752491944B588   SANDRA         CABRERA                    OK     90007559194
2752495289379B   KAYLA          YOUNG                      OH     90007869528
2752498A591356   BRUCE          OGDEN                      KS     90015119805
275249A8585822   THOMAS         MCBRIDE                    CA     90012999085
27524A33591828   ARTHUR         ENGLISH                    OK     21099020335
275258A4785822   GERARDO        CASTILLO                   CA     90013338047
2752612215715B   STEVEN         MARTINEZ                   VA     90000291221
27526463372B88   AZUCENA        VILLARREAL                 CO     90013424633
2752752475B271   MARK           BUSH                       KY     90015315247
275277A5381661   TERRANCE       ADGER                      MO     29077897053
27527882872B29   DONNA          DONOHOO                    CO     33015538828
27527A5A59189B   GLENDA         DINORA                     OK     90014540505
27528574A72B29   JEROLD         LALO-HERNANDEZ             CO     90007215740
27528967A72B42   COREY          BEECH                      CO     33073759670
27528A1114B261   M DEL CARMER   CARRIZALEZ                 IA     90004500111
2752912633B365   MARIA          ROMERO                     CO     33017391263
27529476572B27   CHARLES        HARVEY                     CO     90009964765
2752949145752B   MARIA          CARRILLO                   NM     90010864914
27529689372B42   YARA EDITH     ZUBIA-RODRIGUEZ            CO     90013626893
27529A89972B88   SALVADOR       SOLANO                     CO     90000250899
2752B492172B29   KIMBERLEY      SORRENTINO                 CO     33057504921
2752B884291383   TAMARA         SANDERS                    KS     90006448842
2752BAA2A41299   ART            BECKAS                     PA     90014470020
2753128259155B   ANDREW         JASSO                      NM     75046462825
275319A915B271   MAHOGAMY       BROWN                      KY     90001609091
2753324935B161   FWATULA        WALKER                     AR     23014512493
275333A112B27B   PHILLIP        LANE                       DC     90013723011
27533834176B69   RAFAEL         GONZALEZ                   CA     90009888341
27533841172B29   DREW           RUNGE                      CO     90014168411
2753384A75B538   LONNIE         DEHERRERA                  NM     90001448407
27533AA3555957   DONALD         GOODLOW                    CA     90003390035
2753488784B588   CAMERON        SMOTHERMAN                 OK     90009738878
27535782A91592   NEFI           ALANIZ                     TX     90006317820
2753622139136B   EBERTO         ROMERO                     KS     29033682213
27536526A2B27B   MARIA          FLORES                     DC     90006665260
27536A1A531631   FAITH          BARROWS                    KS     90006600105
27536A7343B38B   FELICITY       HERNANDEZ                  CO     90012870734
2753772A37B449   TONIE          FORTE                      NC     90004907203
2753795922B27B   DONNELL        BROADWAY                   DC     90010749592
27538357672B88   MARISELA       RUIZ                       CO     90011893576
275383A959189B   CHARLES        ECKELT                     OK     21073703095
2753865334B588   MICHAEL        HERRIAN                    OK     21556646533
27539373A72B42   KAY            REICHERDT                  CO     33085283730
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2753939165B271   TERRANCE      ANDREW                      KY     90014663916
2753965194B521   VERENCE       SANCHEZ                     OK     90007146519
27539917872B29   CARLY         DYSON                       CO     90014169178
2753B16765B271   DAGEN         HUDSON                      KY     90014961676
2753B44A581637   EARL          GRAYSON                     MO     29008194405
2753B462A72B29   JOSE          MARTINEZ                    CO     90011834620
2753B47795B161   CHARLENE      ESTES                       AR     23071334779
2753B641381648   LAWANDA       DAVIS                       MO     29032216413
275412A9672B29   ISAIS         VALDEZ CORTEZ               CO     33068262096
2754133555598B   SONIA         LOZANO                      CA     90011623355
275415AA791828   JOSE CARLOS   FUENTES                     OK     90004265007
2754274199184B   SABRINA       FARRIS                      OK     90014327419
275434A282B27B   BRITTANY      RICHARDSON                  DC     90013924028
2754386734B261   ARON          MAYA                        NE     27026408673
2754464465715B   DORIS         WASHINGTON                  VA     90000296446
2754465699189B   LUIS          PRESA                       OK     90012016569
2754475313364B   STEPHON       LEIGH                       NC     12010927531
2754513A44B281   ANNETTE       SHANNON                     NE     27083601304
2754548377B449   ANDRESHA      BYRD                        NC     90014784837
275455A789136B   JESSICA       PIPER                       KS     29071955078
2754638634B588   KAQUEESE      WILLIAMS                    OK     90011383863
27546A8139155B   ADRIANA       GONZALES                    TX     75084250813
2754833119184B   BRIDGET       ALLISON                     OK     90007923311
27548969172B29   KEISHA        VELASQUEZ                   CO     90015169691
275489A9791828   LASHUAN       WATTS                       OK     90013929097
27548A19172B42   JORGE         DURAZO                      CO     33021860191
2754965484B521   CHRISTOPHER   HARKLEROAD                  OK     90002506548
2754967579155B   ELIZABETH     GONZALEZ                    TX     90011686757
27549A9635B28B   ERIN          MOTT                        KY     68013620963
2754B53974B261   FRANCES       FORTENBERRY                 NE     90003655397
2754B996671925   DEBRA         VANBUSKIRK                  CO     38038119966
2754BAA2A4B281   LANCE         ZIMMER                      NE     27064910020
2754BAA6381638   EMMA          WOODARD                     MO     90007780063
2755221922B27B   ROBERT        BELT                        DC     90013142192
27552881A93767   ANTONIO       MAUFFET                     OH     90014538810
2755294A45B161   CHEQUINE      HILLERY                     AR     90004819404
2755366374B588   NIVA          LOCKETT                     OK     90013456637
27553A5A55B271   DAISY         PERKINS                     KY     90003760505
2755466387B449   MERCY         KEAR                        NC     90009116638
27554684A9155B   VERONICA      DESERAY                     TX     90011686840
27555218A72B88   MONIQUE       THOMAS                      CO     33089602180
275556A2731433   JAMES         LACROIX                     MO     90001176027
2755581215B571   MARCOS        POQUE                       NM     90011298121
2755727145715B   MARTIN        GOMEZ                       VA     90000502714
2755928AA5B271   YUNIKKA       REESE                       KY     90001992800
2755991859184B   CYNTHIA       TREVINO                     OK     90013959185
27559939A9189B   LILLIE        CALDWELL                    OK     90014569390
27559A36172B88   IRMA          CASILLAS                    CO     33005000361
2755B21419155B   MARIA         ALMANZA                     TX     90000762141
2755B53A972B88   AMANDA        THORTON                     CO     90011015309
2755B783572B29   ALEKSEY       SHELAMOV                    CO     33047757835
2756142953B348   YOLANDA       MATA CAMACHO                CO     90008674295
275616A7772B29   ROSA MA       CASTILLO                    CO     33062456077
2756173A14B261   DANA          BOTOS                       NE     27095037301
27564397A7B449   KENNETH       MILLER                      NC     11094183970
2756537679136B   TINA M        HUBBARD                     KS     90014703767
27565618A5B271   CHRIS         THOMAS                      KY     90014876180
27565746372B42   GREGORY       DAVIS                       CO     33092477463
275658A8A91592   MINERVA       ALVAREZ                     TX     90013048080
27565A5177B471   DESHIA        STARKES                     NC     90007530517
2756636844B588   REBECCA       BLAIR                       OK     90008973684
27566552376B69   VIVIENNE      CUMMINS                     CA     46006705523
27566892672B88   ABELARDO      GONZALES                    CO     33076448926
27566A93931433   INDIA         WILLIS                      MO     90005500939
27567362A85822   MELISSA       MELCHIONE                   CA     90013243620
2756754925B571   DEANNA        TRUJILLO                    NM     90003955492
2756778A972B29   ELIJAH        MENDEZ                      CO     90012677809
27567876A81648   TRICIA        VANDRUFF                    MO     29026968760
2756823562B27B   DEVIN         ARMSTRONG                   DC     90013142356
275688A4472B29   EVANGELINA    AMAYA                       CO     90011838044
27568A6714B281   BRICE         TCHEGNINOUGBO               NE     90011270671
27568A7A65B571   DAVID         HOLGIN                      NM     90006460706
2756999A29189B   KENNEDY       SMITH                       OK     90015179902
2756B314A4B588   JOSH          BOWLES                      OK     21532783140
27571214572B29   BYRON         CLARK                       CO     33015532145
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27572164672B29   JULIO        OVANDO                       CO     33081451646
27572225772B42   GUILLERMO    DIAZ-SIERRA                  CO     33091402257
275723A8181638   CRAIG        MCCORD                       MO     29031713081
2757242934B588   MARK         BUCHANAN                     OK     90005534293
2757258AA31453   DONNA        LONG                         MO     90010685800
2757265918B56B   HEATHER      HEART                        CA     90013956591
2757321192B229   DONTE        MILLS                        DC     90012032119
2757334357B449   MIRIAM       VALLES                       NC     11080883435
2757361A65598B   SUSANA       GONVALEZ                     CA     90009916106
27573857672B29   ENRIQUE      MORALES                      CO     90014178576
27573A8687B377   ADRIENNE     JARMON                       VA     90007870868
2757419419794B   VICTOR       GONZALES                     TX     74019271941
2757421455B271   AMBER        DOWELL                       KY     90011532145
2757435559136B   ROSA         VALLES                       KS     90015013555
27574A24272B42   ADRIANA      CUEBAS                       CO     90004690242
27574A7354B261   ASHLEY       GINTZ                        NE     90013980735
275751AA89189B   XAVIONA      WILBORNE                     OK     90009691008
2757548A772B29   KARINA       PUENTE                       CO     90011834807
27577764772B88   JEAN         GALLEGOS                     CO     90011387647
275783A759155B   ROCIO        MARTINEZ                     TX     75001683075
2757875935B271   YUSIEL       LEYVA PINA                   KY     90011177593
27578A46191828   JESS         GARRISON                     OK     90009490461
2757956759155B   CONCEPCION   ROBLES                       NM     90013425675
27579857572B29   DULCE        GARCIA                       CO     90014178575
27579952672B88   MALINDA      LYTLE                        CO     33094109526
2757B37955B271   TIFFANY      BOTT                         KY     90013343795
2757B773172B88   WILLIAM      COVINGTON JR                 CO     33027627731
2757B84779794B   WILLIE       HOUSTON                      TX     90004528477
27581222A7B449   LIDIA        GARCIA                       NC     11051732220
2758232174B588   MEGAN        FITCH                        OK     90000843217
2758254957B449   K            JEL                          NC     90014785495
275837A299155B   MARIA        PAREDES                      TX     90014797029
2758396469189B   JUDY         BILLINGS                     OK     90012689646
27583A19731631   DANIEL       STOGNER                      KS     90010130197
275841A2393731   MELANIE      BRUMMETT                     OH     90010271023
27584648472B88   MIKIELLA     LOBATO                       CO     90014966484
2758561665B271   ALVINA       WALKER                       KY     90014836166
275858A7672B88   DAWN         ROE                          CO     90011988076
27585A41591241   ERICA        ELLIOT                       GA     90014850415
2758616549155B   MARCO        FRIAS                        TX     75033221654
27586A1629189B   CHRISTY      WAGNER                       OK     90015270162
27587123572B29   FRANCISCA    HERRERA                      CO     33015581235
2758755612B86B   CRAIG        DEVENEY                      ID     90009225561
2758766822B27B   ERICA        MOBLEY                       DC     90012586682
2758786A49155B   JESUS        GAONA                        TX     90014788604
2758854147B449   BRISHAWNA    THREATT                      NC     90014785414
2758912147B449   PATTY        RADASZEWSKI                  NC     90014791214
2758934759189B   TISHA        GABLE                        OK     90015023475
2758941657B449   ROSHENE      WHITFIELD                    NC     90014674165
27589761A91577   ROBERT       HENDERSON                    TX     90011717610
275897AA831631   LUZ          GAITAN                       KS     90009957008
2758B162891356   TINA         NWOGOR                       KS     90013581628
2758B181691828   DAVID        DAVISON                      OK     21013091816
27591356A81661   JENNIFER     THOMPSON                     KS     29022543560
2759147847B471   LYDIA        REYES                        NC     90012184784
2759215925B271   VERONICA     STANTON                      KY     90009481592
2759225869155B   VALARIE      SAENZ                        TX     90014632586
275926A4593731   DANIEL       MOUNCE                       OH     90014606045
27592926A7B471   RICK         MCGRIFF                      NC     11042009260
27593379A85822   SAHAR        ABUNADI                      CA     90011333790
2759345829155B   ANTONIO      RUBALCABA                    TX     75070594582
27593852472B88   JOSUE        JIMINEZ                      CO     90010028524
27593949772B42   IDELFONSO    TORRES                       CO     90001259497
2759429465B571   DAVID        MARQUEZ                      NM     35025822946
275955A1491541   FRANCISCO    VILLA MORALES                TX     90005395014
2759563935B161   RACHEL       FLOWERS                      AR     90002196393
27595842224B43   HERMAN       JACKSON                      DC     90007228422
27595A8489184B   ROBERTS      STACEE                       OK     90008080848
27596319A55957   ROSIO        TAFOYA                       CA     90014753190
275963A8891833   JOE          SHEPPARD                     OK     90010983088
2759648A893731   TARA         ALSPAUGH                     OH     90007194808
27596519A4B281   DEBRA        WALKER                       NE     27092975190
2759795479152B   MAYRA        MUNIZ                        TX     90011509547
275984A4157157   JUAN         ALVAREZ                      VA     81077734041
2759867195B571   WAYNE        NAHA                         NM     90009156719
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2759929889184B   ROSITA           BYAS                     OK     21097192988
27599668976B71   CHRISTIAN        DEROSE                   CA     90006896689
2759983A585822   AMNER            GARCIA                   CA     90012268305
2759B231891356   IVAN             MARINEZ                  KS     90014512318
2759B29629155B   GABRIELA         NAVARRO                  TX     75088442962
2759B492541245   STEPHANIE        MARTY                    PA     51054534925
2759B914A72B29   NORMA            ALMARAZ                  CO     33061009140
2759B97152B357   MANUEL DEJESUS   LIRIANO                  CT     90013099715
275B15A154B261   CARLA            SELLERS                  NE     90005855015
275B1A1399189B   ADRIANA          TORRES                   OK     21004040139
275B2A6484B261   MELISSA          RIDGE                    NE     90005390648
275B3414997122   MELLISSA         SPARKS                   OR     90001134149
275B3445181637   MARGARET         MARTIN                   MO     29093924451
275B344A293731   MIKE             WARE                     OH     90012424402
275B355285B271   CINDY            STEVENSON                KY     68043765528
275B3885391592   JANEESE          JURADO                   TX     90010458853
275B395332B27B   GWEN             THOMAS                   DC     81077999533
275B4653185822   DEBORAH          PRIOR                    CA     90013046531
275B46AA99155B   MIGUEL           RIVERA LOPEZ             TX     90011686009
275B4925155957   JORGE            SOLORIO                  CA     90004979251
275B51A485B271   JENNIFER         ABERNATHY                KY     90014931048
275B588517B471   PAUL             ROGERS                   NC     90011278851
275B6274772B73   ROSA             CORTEZ                   CO     33095892747
275B6285A91356   MARISOL          BARAJAS                  KS     29074252850
275B6476572B42   JAMES            BROWN                    CO     33006344765
275B65A4991828   KAYLA            DOSS                     OK     90014485049
275B667417B471   JUAN             TAPIA                    NC     90005186741
275B6749133636   MALICIA          GLOVER                   NC     12008727491
275B725999189B   TYDEREIA         PATTERSON                OK     90014562599
275B735539155B   JOSE ANGEL       RAMIREZ                  TX     90014863553
275B76A5A9155B   PRISCILLA        PERKINS                  TX     90011686050
275B837214B261   WILLIAM          VAUGHN                   NE     90012283721
275B839554B588   ADRIAN           BURDEX                   OK     90012783955
275B8417885822   ANDREW           NUNEZ                    CA     90013834178
275B84A5755957   JAVIER           REYES                    CA     90008794057
275B8573855957   JOSE             AVALOS                   CA     90014245738
275B8982191592   LIZETT           CHAVEZ                   TX     90011379821
275B9368855957   YARITZA          CRUZ                     CA     90012193688
275B94AA176B69   ANA              SANCHEZ                  CA     90010614001
275B9617291241   BETTY            JEAN                     GA     90013026172
275B9649593731   BRENDA           TELLIS                   OH     64589166495
275BB19A281661   CYNTHIA          ARMSTRONG                MO     90011001902
275BBA91981638   RUDIS            FRANCO                   MO     29066310919
276126A5581638   ROY              MCCANSE                  MO     90013096055
27613378A9136B   MARIA            GUTIERREZ                KS     29039343780
276137A4691528   ANDRADE          TRANSPORTATION           TX     90003287046
27613866272B88   ROSALBA          ESCOVEDA                 CO     90014578662
2761393342B27B   MARY             CEPHAS                   DC     90002479334
2761425734B588   MORRISON         DEWAYNE                  OK     90011322573
27614413472B29   BLANCA           SALMERON-LOPEZ           CO     90010554134
2761446183B127   TEARA            BEALLE                   DC     90001514618
276144A134B588   RODERICK         MORRISON                 OK     90012714013
27614782A91592   NEFI             ALANIZ                   TX     90006317820
2761482A385822   ALFRED           MASON                    CA     46060808203
27614873172B29   GENOVEVA         VEALASCO                 CO     90014168731
2761498A17B471   JANELLE          ROBINSON                 NC     11064989801
276155A259136B   TONYA            DENHAM                   KS     90004865025
276155AA491828   RICCO            WILLIAMS                 OK     90014425004
27615A43591356   LUIS             RODRIGUEZ                KS     29014690435
2761864719184B   DWAYNE           DANIELS                  OK     90014906471
27618913A55957   JUAN CARLOS      PEREZ                    CA     90013549130
2761B231193731   PATRICE          LITTLJOHN                OH     64505072311
2761B268A9155B   LORENZO          VARGAS                   TX     90014632680
2761B45769136B   TONYA            SERAFIN                  KS     90011274576
2761B518172B42   NANCY            WILLIAMS                 CO     90000795181
276214A342B27B   JUSHELLE         POWELL                   DC     90013144034
27621945A72B42   INA              GARCIA                   CO     90012289450
2762234435B571   GLORIA           LUJAN                    NM     90004723443
27624159272B29   ANTONIO          CALDERA                  CO     90011821592
27624483A81637   NYKITA           PENN                     MO     90005794830
27624536A55957   ASHLEY           SALCIDO                  CA     90009275360
2762518458B178   ROBERT           BUCKLEY                  UT     90013641845
27625696A31453   PAMELA           SEARS                    MO     27574736960
2762571728B16B   JESSICA          SANDERSON                UT     90004987172
27626619872B29   AERNI            LYTLE                    CO     90004506198
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27627159272B29   ANTONIO       CALDERA                     CO     90011821592
27627214A57157   NGUYEN        NGUYEN                      VA     90004362140
2762727479155B   APRIL         CORONA                      TX     90014632747
2762911399155B   IGNACIO       VILLA                       TX     75015231139
27629431772B88   ALEIDA        ROJAS                       CO     90013254317
27629524A72B29   ZULIEMA       ALVARDO                     CO     90011835240
2762967989184B   JEFF          CLAYBOURN                   OK     21057126798
27629A1317B449   COURTNEY      HALL                        NC     11024090131
2762B193A5B333   GERRICK       ADACHI                      OR     90004651930
2762B412A91241   LEO           LEE                         GA     90014564120
2762B753572B42   KASSANDRA     REDLEAF                     CO     90011987535
2762B815591828   SIERA         LAFFOON                     OK     90014758155
2762B921491592   RUBEN         CORDERO                     TX     75095059214
2762B947657157   PRISCILLA     TURKSON                     VA     81016389476
2763125134B261   JOHN          MYERS                       IA     90013492513
27631272A4B281   PENNY         MCCLARNON                   NE     90008952720
27631332487B87   RICHELENE     IRBY                        AR     23025463324
276318A7693743   NICOL         ELZEY                       OH     90008788076
276324A7991592   GABRIEL       HIGADERA                    TX     90009224079
27632549472B29   DEANNA        COTTER                      CO     90011955494
27632851672B88   DIANA         PACHECO                     CO     90003188516
2763316765B271   DAGEN         HUDSON                      KY     90014961676
276338AA32B27B   MILTON        ZACARIAS                    DC     90013158003
276352AA755957   VANESSA       CARRERA                     CA     90003422007
27636134872B88   JOSELUIS      SALAZAR                     CO     90013941348
2763629499136B   STAR          ROBINSON                    KS     90004262949
2763637869155B   NADINE        RODRIGUEZ                   TX     90010113786
27636A3672B27B   GEMECHU       ALEMBO                      DC     90008760367
276372A815B271   HERBERT       GARNER                      KY     90011472081
2763732964B261   MIGUEL        ANTONIO                     NE     90012163296
2763757669136B   ZAKIA         TURNER                      KS     90013335766
27637799872B42   PAUL          LUCERO                      CO     90013377998
276383A9A31433   ANDRE         COVINGTON                   MO     90001393090
27638A32272B88   MIRIAM        PEREZ                       CO     33060120322
27639278A91828   LINDA         JUSTICE                     OK     90006072780
27639469872B29   OTSMARO       ZELAYA                      CO     90008174698
276396AA377534   JEREMY        WOOD                        NV     90001636003
2763995979136B   WARREN        WHITE                       KS     29031119597
2763B176681648   ISAIAS        AMAGA                       MO     90001431766
2763B312872B88   LANA          GARCIA                      CO     33062423128
2763B69A84B588   JONATHAN      RICE                        OK     90010906908
2763B786972B29   ERICA         TORRES                      CO     90012677869
2763B952555957   ASIA          TAFOLLA                     CA     90014779525
2764134244B588   DEBORAH       DUNN                        OK     90012133424
27642A3312B856   RANDY         COX                         ID     42082520331
2764325937B449   DAVID         SERRANO                     NC     90006612593
27643367A9184B   SHAUN         COLLINS                     OK     90013803670
2764343A54B588   AIDA          ALARCON                     OK     90004814305
27643874A5B571   JORDAN        RAEL                        NM     90011298740
27643977A41245   SHANEMA       GRAHAM                      PA     51030129770
2764439474B261   MOISES        MORENO                      NE     90006163947
2764446A75B571   EMILIO        LOPEZ                       NM     90001664607
27644875172B88   CODY          SANSON                      CO     90012858751
27646445A91592   ROBERTO       GUERRERO                    TX     75050364450
2764656289155B   MARIBEL       AGUILERA                    TX     75052355628
276467A3172B42   RENEE         MEDINA                      CO     33015207031
27647736A4B261   LANCE         DALTON                      IA     90013587360
2764821984B588   CHAVON        CRAIGS                      OK     90014632198
27648A95191356   ZANE          SCHULER                     KS     29020020951
27649747A4B588   JAIME         GASPAR                      OK     90013527470
2764B23579189B   TOMAS         MENDOZA                     OK     90013232357
2764B612291592   ISAAC         RODRIGUEZ                   TX     90012526122
2764B641591592   MARIA ELENA   ROMERO                      TX     90007526415
2764B82772B27B   CORINE        CURRY                       DC     90013158277
2764BA67A5B271   ALICE         MORRIS                      KY     90009170670
2765112867B449   GERMAINE      FORD                        NC     90014791286
2765112AA76B69   RUSSELL       HAMERDINGER                 CA     90011781200
27651189872B88   EBONY         TURNER                      CO     33047131898
27651271A9136B   DERRICK       WEAVER                      KS     29042262710
276513A6791828   MIRANDA       EMSLEY                      OK     90014583067
2765149199155B   MARCO         LUNA                        TX     90003974919
2765149725B271   REBECCA       HURST                       KY     90014844972
2765331944B588   OLVIA         WRIGHT                      OK     21503743194
2765369869136B   MARISOL       ALEJO                       KS     90011206986
2765413799189B   JOSEPH        WITWER                      OK     90009871379
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2765418835B271   EDWIN        BRODLEY                      KY     90014571883
2765446574B588   SAMANTHA     DURKEE                       OK     90006264657
2765515412B27B   WARREN       FISHER                       DC     81011091541
27655739672B29   APRIL        STALNAKER                    CO     90002217396
27655894A93731   RACHEL       THOMPSON                     OH     90006328940
2765628399155B   JOSE         SOTELO                       NM     90014632839
2765628684B261   LORENZO      LASON                        NE     90007062868
2765634849136B   BRANDIE      PHINNEY                      KS     29002673484
27656443A9189B   JACOB        HYMER                        OK     21089014430
2765668634B588   DIANGELO     ANDERSON                     OK     21577966863
27657639672B29   JOSH         OTRADIOVER                   CO     90004506396
2765767625B161   TABITHA      MERRITT                      AR     90013546762
2765832554B588   TOMAS        OLGUIN                       OK     90006563255
2765837479794B   ISIDRO       RODARTE                      TX     90000763747
2765872114B281   RICARDO      DOMINGUEZ                    NE     27035487211
27658736172B42   MARK         DEGEORGE                     CO     90000427361
2765881869189B   ANGEL        BARROWS                      OK     21082068186
2765886257B449   QUENYA       PETTIS                       NC     90009618625
2765925442B27B   DEBORAH      THOMAS                       DC     90004322544
2765981A957157   LAREINA      MARSHALL                     VA     90003718109
2765B2A122B27B   JYNELL       PAIGE                        DC     90009752012
2765B2A2655957   ANDREW       MARTINEZ                     CA     90014182026
2765B328585822   MARIA        AVILA                        CA     46050163285
2765B79A891592   CASTANON     DAVID                        TX     90012427908
2766122895715B   DAVID        AGUILAR                      VA     81019112289
2766125329155B   ANTONIO      MESTA                        TX     90012012532
2766217A37B449   ALONZO       LAWRENCE                     NC     90014791703
276626A8372B88   KURT         MORRIS                       CO     90006346083
2766271A35B161   KARYETTA     BROWN                        AR     90010557103
27662984372B29   DARIUS       MONTGOMERY                   CO     90012699843
2766315A955935   ARMANDO      OROZCO                       CA     90008261509
2766368199155B   IMMANUEL     SALAS                        TX     75006736819
2766375629155B   CHRISTIAN    SALAS                        TX     90005617562
27663A9915592B   DALIA        GARCIA                       CA     90011140991
276641A2491828   EDIL         CHICAS                       OK     21011871024
27664329672B29   ROSA         LOPEZ                        CO     90002343296
2766517319189B   MICHAEL      VILLEGAS                     OK     21077321731
27665397472B88   EILEEN       MOONEY                       CO     33052643974
27665959A91241   ASHLEY N     LAWTON                       GA     90015089590
27666149A9155B   DANIEL       GALLARDO                     TX     75080981490
2766852819155B   DIANA        FLORES                       TX     90004915281
27669A12981638   MARIA        PINO-DOMINGUEZ               MO     90012320129
2766B85A951338   JULIA        ROHS                         OH     90006678509
2766B936741245   TIMOTHY      MEEHAN                       PA     51036959367
2766BAAA55B161   PLEAS        GRAY                         AR     23094520005
2767115569794B   LULI         GUTIERREZ                    TX     90004721556
27671187872B88   CHEYNA       SANDERS                      CO     90014881878
2767129787B471   AMARI        GIBSON                       NC     90010642978
2767153955B571   LIA          PEDERSEN                     NM     90009545395
27671568672B42   GERARDO      VILLAR                       CO     33072695686
2767193749184B   CINDY        HERDER                       OK     21013859374
2767194A49155B   GRISELDA     ZAMORA                       TX     90013009404
276727AA255957   JUAN         VALDEZ                       CA     90007597002
2767332684B521   ALESHA       DAVIS                        OK     21556773268
276743A995B271   MARCELLA     DUNCAN                       KY     90007093099
27675649972B42   FRANCISCO    SANTILLANO                   CO     90011586499
27675891272B29   HOPE         SMITH                        CO     90014168912
2767623657B449   DEANGELO     BAKER                        NC     90014792365
2767625422B27B   FREDI        SOLIS                        DC     90014802542
27676912A91592   ERIKA        ROMERO                       TX     90010729120
27676A9557B471   ABDULE       MEADERS                      NC     90012000955
27676AA4485822   MARTIZA      GASTELUM                     CA     90010030044
2767722455B177   SHERRY       BROWN                        AR     90003262245
27678A47291828   CALVIN       ROUSE                        OK     90009450472
276792A635B271   ALI          HASSAN ARFAH                 KY     90002722063
27679459A7B449   ZENA         GOINGS                       NC     90014654590
2767951939155B   SONIA        RIOS                         TX     75015235193
2767983459184B   CONNIE       EVANS                        OK     90011068345
2767B49624B588   JESSICA      NICHOLE                      OK     90008784962
2768191A22B27B   TYRONE       SMITH                        DC     90013969102
2768196A791383   TANISHA      KEYS                         KS     90008659607
27682877A3364B   DAVID        JAMISON                      NC     90011678770
27683256A7B449   KATINA       DAVIS                        NC     90014792560
2768359834B281   ALEXANDRIA   WILLIAMS                     NE     90000255983
27683663A85822   SAUL         TENDERO                      CA     90014456630
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2768367A481637   JIM          STARK                        MO     29049966704
27683AA2487B69   BOBBY        DRANDRIGE                    AR     90008060024
2768425422B27B   FREDI        SOLIS                        DC     90014802542
276847A4376B69   SEVERIANA    SERAFIN                      CA     46005507043
2768544119136B   ASHLI        FLETCHER                     KS     90002264411
2768567A991828   KEVIN        CROSS                        OK     90013266709
2768577A791592   OSCAR        LOPEZ                        TX     90012167707
2768591A781661   JONES        NICOLES                      MO     90013539107
276861A389189B   BRUCE        YATES                        OK     90014811038
276863A489155B   MANUELA      VARELA                       TX     90008003048
2768671A49136B   KEITH        BRENTLINGER                  KS     90014347104
27686A4169184B   ANABELL      CONDE                        OK     90014740416
2768711545B271   SHAWN        RADFORD                      KY     90014001154
27687254672B88   CONTRA       HERNANDEZ                    CO     90010342546
2768791694B588   CYNTHIA      STEPHENS                     OK     90013409169
27687A61387B69   CHIENNA      DORROUGH                     AR     90010020613
2768825385B271   CANDICE      BURBRIDGE                    KY     68076802538
27689159A5B271   JOSE         ESPINOSA                     KY     90008801590
2768921365B571   DESIREE      PURLEY                       NM     35063442136
27689487872B88   ROSE MARY    ENRICO                       CO     90009944878
2768B1A5991241   ERIN         BRUTCHER                     GA     90005161059
2768B79AA81661   EDWIN        BELGRAVE                     MO     90008917900
2768B894893731   JENNIFER     GRANGER                      OH     90006328948
2769194159136B   KENNETH      MOORE                        KS     29034449415
27691952672B42   DAMON        THOMAS                       CO     90015139526
27692777772B88   HOLLIE       GELLINGER                    CO     90011117777
27692779772B88   LEONID       KRUGLIK                      CO     90000447797
2769343632B27B   GERALD       ALLEN                        DC     90008564363
2769343A991241   ALEXANDRIA   GREGORY                      GA     90015114309
2769438325B571   MARGARITA    MARTINEZ TREVINO             NM     90001303832
2769475A52B27B   KERRY        DAVIS                        DC     90003267505
27695519A72B29   MIGUEL       ONTIVEROS                    CO     33074575190
27695661A93731   TISHE        NELSON                       OH     90010216610
27695687A93731   HOLLIE       BLYTHE                       OH     90014606870
2769598935B161   JUANITA      BURKS                        AR     90010559893
2769633429155B   FLOR         OLIVAS                       TX     90014633342
27696998372B42   JOHN         SANTISTEVAN                  CO     33061069983
2769699A29189B   KENNEDY      SMITH                        OK     90015179902
27697121A5B271   RENESHA      BROOKS                       KY     90014001210
27697149A81638   CARMESHA     CRAIG                        MO     90014841490
27697AA4291933   ANN          CLOSS                        NC     90002380042
2769829489184B   ERIN         LIERLY                       OK     21030952948
2769829A67B449   GABRIELLE    KINGE                        NC     90014792906
2769887765B271   SANDRA       CASTRO                       KY     90014738776
2769B59739189B   CELIA        MALDONADO                    OK     90013535973
2769B84284B281   TISHA        POINTER                      NE     90008588428
2769B852455957   CRISTAL      MARTINEZ                     CA     90014518524
276B131119184B   FELEISHIA    MCKINZIE                     OK     90014713111
276B1342176B69   SNOW         ROBERT                       CA     90007043421
276B1863591828   JOSH         ULREY                        OK     90007668635
276B244377B449   TARA         WHITE                        NC     90009994437
276B2493172B29   VIOLETA      CENICEROS                    CO     90011834931
276B258729136B   JENNIFER     LAYNE                        KS     90011185872
276B2683355957   CHRISTINA    GARCIA                       CA     90015076833
276B2697191356   WHITNEY      BUNTING                      KS     90012606971
276B2A84681638   ANTHONY      ZICARELLI                    MO     90014650846
276B4816691927   BRUCE        STRICKLAND                   NC     17036728166
276B483499184B   MATTHEW      SCHMIDT                      OK     21027268349
276B5183891592   PAOLA        QUINONEZ                     TX     75070011838
276B5242272B42   ESMAIL       MOMANDI                      CO     90011772422
276B632A772B42   KRISTI       MORRISON                     CO     33085133207
276B6563672B29   JOLENE       MARTINEZ                     CO     90014155636
276B666497B449   CLAUDIA      LEIVA                        NC     11077756649
276B683159136B   RONALD       NORRIS                       KS     29081798315
276B6A64391356   GERARDO      CASTOR                       KS     90011260643
276B7467872B88   FARRELL      HOLLINGSWORTH                CO     90002814678
276B762724B261   KRISTI       HADDEN                       IA     27026756272
276B781185B571   VINCENT      PALMERI                      NM     35014668118
276B8569A5B271   TIFFANY      POWERS                       KY     68039945690
276B8658491592   AMBER        LOPEZ                        TX     90001996584
276B936A591592   JAYSON       CONROY                       TX     90001433605
276B966339794B   JUAN         GONZALES                     TX     74088616633
276B982545B571   JANEYA       GARVISO                      NM     90002918254
276B9A34391592   ANA          LOPEZ                        TX     90014390343
276B9A3659189B   CASEY        DAWN                         OK     90011180365
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276B9A6A88B176   CLAUDIA          PINOLA                   UT     90013780608
276BB926691356   MIRANDA          OLEY                     KS     90012359266
276BB9A3281638   VIRGINA          ORTIZ                    MO     90004539032
2771226849184B   MARIA            PEREZ                    OK     90009892684
2771228715B161   ROBERTA          COLLINS                  AR     90008862871
2771298967B449   VANN             POY                      NC     90012379896
277129A1472B29   ALLISANDRE       ELENA                    CO     90014169014
2771329455B271   AMY              ELLIS                    KY     90013392945
2771365339184B   JEWELLS          PARMELL                  OK     90015546533
27713794A5B161   TIMOTHY          MIXON                    AR     23015967940
27713835172B42   ROBERT           BACA                     CO     33050158351
27713A97872B88   PRISCILLA        TRUJILLO                 CO     90013940978
2771522A293731   DOUGLAS          ENGLE                    OH     90010222202
2771578A272B88   TERESA           SAVALA                   CO     33064807802
277158A855B271   MELISSA          WHITLOW                  KY     68038768085
27715A2885715B   LUIS ALEJANDRO   RIVERA                   VA     90005820288
2771615272B27B   PHILLIP          FORD                     VA     90013231527
2771692169189B   VALARI           MCCONNELL                OK     21078169216
27716A43872B88   TRAVIS           FINAZZO                  CO     90014860438
27716A98372B88   AOCHI            APUNGU                   CO     90013940983
2771717917B373   BRANDON          BARBER                   VA     81017041791
2771733447B449   RONY             RONY                     NC     90007973344
2771747717B471   HOMERO           BENITEZ                  NC     11035004771
2771775A247952   WALETHA          BELL                     AR     24041307502
2771828573B333   OLIVER           KUKLENSKI                CO     90013022857
27718971972B29   BRANDON          COUTLAKIS                CO     90011799719
27718A32272B88   MIRIAM           PEREZ                    CO     33060120322
27719A8324B588   MIYA             BROWN                    OK     90013570832
2771B31577B449   DEIOR            SHIPP                    NC     90014793157
2771B3A389155B   PATRCIA          REYES                    TX     90014633038
2771B915172B29   NOE              JIMENEZ                  CO     33010999151
277212A499136B   JESSICA          VAZQUEZ                  KS     90011282049
2772131984B281   CODY             DARGES                   NE     90011273198
2772132217B449   FREDDIE          BROWNLEE                 NC     90014793221
2772175734B588   JOSEPH           HARDEMAN                 OK     90008027573
277225AA572B29   ADOLFO           MAZIAZ                   CO     90005155005
2772353389184B   MIRANDA          LEAK                     OK     90002295338
27723A82185822   BARBARA          DURAZO                   CA     90011180821
27724739A9189B   SONYA            PECK                     OK     90009707390
2772475A891356   JOSE FRANCISCO   MORA CALVO               KS     90015157508
2772527825B571   DARCY            BULAND-DEVALLEJOS        NM     90013492782
2772529614B261   YAMDAARE         YAMEOGO                  NE     27088912961
277258A479184B   JENNIFER         LANNING                  OK     90001288047
277261AA676B69   YENY             PALACIOS                 CA     90007091006
2772635379155B   ALLY             COLUNGA                  TX     90011693537
27726372672B88   ISABEL           VALAZQUEZ                CO     33036823726
2772657415B271   TREVOR           MORTON                   KY     90010645741
2772665A455931   BEATIRCE         CORDOVA                  CA     90012606504
27727249372B29   ELENA            BELTRAN-MEDINA           CO     90008472493
2772733222B27B   KELLY            ODEMNS                   DC     90014803322
2772772779155B   JOSE             ANDRADE                  TX     75001727277
2772934867B449   NERISSA          WILLIAMS                 NC     90014793486
27729721472B42   KATHLEEN         WELTY                    CO     90009927214
2772B17134B281   MAURICIO         ANAYA                    NE     90010521713
2772B3A6491828   MAGALI           CONDE                    OK     21077573064
2772B79545B36B   LUIS             GONZALEZ                 OR     90005797954
2772B945755957   SERENA           DIASO                    CA     90012779457
2772BA4444B261   ALFREDO          NAVARRO ROBLES           NE     90011350444
2773114855B271   GREG             BRYANT                   KY     90002881485
27731191372B29   V ALARIE         STEGALL                  CO     90015121913
27731555572B25   AMAIDA           TRUJILLO                 CO     33003615555
27731878A31453   TAMMY            FLIEGER                  MO     27515258780
27731946A91828   SHAWN            OLIVER                   OK     90010429460
27731A75561935   MICHAEL          PULIDO                   CA     90004130755
277322A3672B42   MARIBEL          RODRIGUEZ                CO     90010942036
2773233222B27B   KELLY            ODEMNS                   DC     90014803322
2773245265B271   KEITH            SAVAGE                   KY     90015504526
2773332A64B261   CHERYL           PIEMONTESE               NE     90014153206
2773336777B449   ROSA             MORRIS                   NC     90014793677
2773483624B588   ELISEO           GOMEZ                    OK     90012988362
2773483664B521   LYNDON           HAWKINS                  OK     90013488366
2773537537B449   LETASIA          LEWIS                    NC     90014793753
27735A1679184B   ALLAN            CANTRELL                 OK     90012110167
277367A5191528   JUANA            SALAS                    TX     90003287051
277369A4A72B29   DANIEL           VERAZ                    CO     90014169040
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2773782A19155B   DIEGO          HERNANDEZ                  TX     90013058201
2773848579136B   TAMIE          BUCKLER                    KS     29007534857
2773848599184B   JASHON         FUSHON                     OK     90013784859
27738499172B88   THAI ROBBY     XIONG                      CO     90015024991
2773916557B471   JO ANNA        HAYES                      NC     90007581655
2773B144A81661   YAHNA          REID                       MO     90015441440
2773B35A97B449   DAYSI          SALMERON                   NC     90014793509
2773B914755957   RCHARD         EDWARDS                    CA     90012149147
27741683572B42   NICHOLAS       DAVIS                      CO     90013796835
27742384A7B449   YARI           ALEMAN                     NC     90014793840
2774238A293731   WILLIAM        TINCHER                    OH     90000283802
2774249287B328   JOSE           LOPEZ                      VA     81013584928
2774269754B588   MARY           ERVIN                      OK     90005276975
2774284319155B   SAMUEL         BARRERA                    TX     90014638431
27743761572B42   MIREYA         SANCHES                    CO     90010667615
27743836A72B73   ALISHA         KISNER                     CO     90001658360
2774391AA72B29   SHERRI         LANDRUM                    CO     90014169100
2774439647B449   DANIA          LAGOS                      NC     90014793964
27744836A72B73   ALISHA         KISNER                     CO     90001658360
2774488924B261   ASHLEY         WHEELER                    NE     90006798892
2774527662B27B   URSULA         DAVIS                      DC     90013232766
2774533222B27B   KELLY          ODEMNS                     DC     90014803322
2774558879189B   ANGELA         HALL-OTIS                  OK     90013775887
277458A6772B42   CHARLES        SHANKS                     CO     90012918067
2774628242B27B   MALIK          SHELTON                    DC     90013232824
27746662A91356   RONALD         CARRUTHERS                 KS     90013536620
27747322976B4B   DORA           FLORES                     CA     90011963229
27748384A7B449   YARI           ALEMAN                     NC     90014793840
2774B37777B449   ROSA           VILLAFANA                  NC     90014793777
2774B939191241   ARNITRA        STILES                     GA     14590359391
2775182399189B   SHANTEL        DIXON                      OK     90009708239
27752111972B88   BINYAM         KEBEDE                     CO     90006091119
2775271189155B   MARIA          BANDA                      TX     90001287118
2775295217B449   NATINHA        HOLLOMAN                   NC     11084639521
27753193A31631   LOREN          HERMRECK                   KS     22061701930
2775369945B276   HAROLD         LAWSON                     KY     90012046994
2775378367B449   LISA           REID                       NC     11008427836
27753855872B88   JULIE          REYES                      CO     90004498558
2775425195B271   T              SLOAN                      KY     90013512519
2775444A291592   OSCAR          HERRERA                    TX     90013084402
277547A4A91241   SHAMONICA      MAXWELL                    GA     90005127040
27754949172B88   BIANCA         ANEMA                      CO     90012349491
27757188372B88   RICK           ORTIZ                      CO     33095071883
2775729215B161   MARIO          GOMEZ                      AR     23004862921
2775731869155B   EFREN          MAESE                      TX     90014633186
2775737A472B42   MARLAND        RUSH                       CO     90013093704
27757A81791356   MEGAN N        CLEMENT                    KS     90010950817
2775826A32B27B   DIANE          DAVIS                      DC     81016372603
2775833439155B   JOSE           RAMOS                      TX     90013773343
2775869945B571   APRIL          MONTANO                    NM     90007486994
27758A3547B471   JUNIOR         ZUNIGA                     NC     11028580354
2775924132B27B   EDGARDO        GUERRERO                   DC     90010782413
2775968624B261   DARNELL        WEBB                       NE     90014836862
2775B36619189B   ERICA          MAGEE                      OK     21019283661
2775B94A672B88   CAROLINA       BORJAS                     CO     33072139406
2775B955193731   NICOLE         PERRY                      OH     64505569551
2775B97437B471   VICOR          MANUEL                     NC     90011059743
27761336672B29   ROSA           BRAVO                      CO     33091453366
2776186295B161   RENARDA        PENN                       AR     90006588629
27761A4169184B   ANABELL        CONDE                      OK     90014740416
2776221A54B588   KAILEE         LAWRENCE                   OK     90007562105
2776329115B271   VANESSA        ELLIS                      KY     68039932911
2776349915B271   VANESSA        ELLIS                      KY     90012324991
27763794A76B69   JOSE ARMANDO   HERNANDEZ ROJAS            CA     90007117940
2776421722B27B   RACQUEL        KELLEY                     DC     90015052172
277642A6A9136B   OLIVIA         ZAMBRANO                   KS     29037252060
2776466A441245   PAULINE        SHIELDS                    PA     51026546604
27764A6A291241   FRANKIE        WILSON                     GA     90014030602
2776518189155B   JENNIFER       DOMINGUEZ                  TX     90011321818
2776572194B588   BENTON         MECCAULEY                  OK     90006217219
2776627469189B   CHRISTY        HUTCHCRAST                 OK     21011392746
277673A5972B88   PAUL RICARDO   CASTORENA VILLA            CO     90008393059
2776765937B422   SHELDON        DAVIS                      NC     11015196593
2776787A972B42   JOHN           MITCHELL                   CO     90003018709
27767A31885822   MICHAEL        MENGLE                     CA     90010700318
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2776849A681638   SAM          PARK                         MO     90009704906
2776942AA7B449   NICOLE       WHITWORTH                    NC     90014794200
2776B46A74B588   KENA         JONES                        OK     90004814607
2776B78699189B   ANGEA        GIBSON                       OK     90008097869
2777166A185938   CODY         MATHIS                       KY     67088046601
277723A432B27B   RENEE        JONES                        DC     90014803043
27772479272B42   BENITO       ALVARADO                     CO     33064314792
2777293114B261   ROBERT       JONES                        NE     90010339311
27772A5539189B   METRIA       SMITH                        OK     90011180553
2777349625137B   DENISE       HOPSTER                      OH     90010914962
27773789272B88   MARLYN       SIFUENTES                    CO     90011117892
2777399289189B   MARGARET     AVILA                        OK     90006309928
27773A9A591592   JAIME        JARAMILLO                    TX     90012950905
2777413739136B   BRENDA       BENNETT                      KS     90008291373
27774A8979155B   JOEY         HERNANDEZ                    TX     75010840897
2777552544B261   TRACI        LEWIS                        NE     27010625254
27775668572B42   YESENIA      PACHECO                      CO     90011436685
2777642AA7B449   NICOLE       WHITWORTH                    NC     90014794200
2777654229136B   NELSON       RECINOS                      KS     90012485422
277769A179189B   HELEN        WAKEFIELD                    OK     21003779017
2777741974B588   ROBERT       CARR                         OK     90013824197
27777497254B84   XIOMARA      GARCIA                       VA     90005724972
2777943A87B449   CINDY        CALDERON                     NC     90014794308
2777944879189B   OSIE         MCQUARTERS                   OK     21018984487
2777B298372B42   HEIDI        DURAN                        CO     33044702983
2777B32129155B   PERLA        TORRES                       TX     90014633212
2777B37284B521   REDA         BOYER                        OK     21552683728
2777B42AA7B449   NICOLE       WHITWORTH                    NC     90014794200
2778161982B27B   REJENE       FIELDS                       DC     90007366198
2778245934B521   FRANCISCO    GUERRA                       OK     21563794593
2778314164B261   JERMAINE     HARRIS                       NE     27033931416
2778336777B449   ROSA         MORRIS                       NC     90014793677
2778488797B449   ODONALD      YOUNG JR                     NC     11072348879
2778513213B35B   CHRISTIAN    BALL                         CO     39087131321
2778534292B27B   ANTONIO      TAYLOR                       DC     90013233429
2778538984B521   CASSANDRA    MASSEY                       OK     90014713898
27785916772B29   APOLINAR     OROSCO ALCARAZ               CO     90014169167
27785A6779184B   ASHLEY       RUEHLE                       OK     90013810677
27786543472B88   KIDST        KITAW                        CO     90013165434
2778661585B161   ERIK N       GREEN                        AR     23079936158
2778661623B35B   STEVE        MORALES                      CO     90008696162
27787857572B29   DULCE        GARCIA                       CO     90014178575
2778789749136B   LEISLIET     MARQUEZ-VICENTE              KS     90013748974
2778812989184B   SANDRA       ALCANTAR                     OK     90009901298
2778885354123B   MEGHAN       HENDERSON                    PA     90005878535
2778B224791356   RHONDA       JONES                        KS     90013932247
2778B33222B27B   KELLY        ODEMNS                       DC     90014803322
2778B37892B249   DARLENE      HUNTER                       DC     90001423789
2778B4A415715B   JUAN         OLIVERA                      VA     90004754041
27791A2464B261   DEBBIE       SPENCER                      IA     27082850246
2779248827B449   LILIAN       ORTIZ                        NC     90014794882
2779291714B261   NITA         COTTON                       NE     27015179171
2779316475B571   DIAS         MIGUEL                       NM     90004521647
2779319A191592   YESENIA      PEREZ                        NM     75016791901
2779332129155B   PERLA        TORRES                       TX     90014633212
2779348219155B   CHARYTIN     BALTAZAR                     TX     90011694821
277934A699189B   CHRISTOPHE   SMITH                        OK     21002034069
2779377147B471   SYLETHIA     MOBLEY                       NC     90013867714
27794194A91528   JOELLIE      VALENCIA                     TX     90004031940
277942A3991592   CRYSTAL      VILLA                        TX     90013122039
27794457572B88   KARI         WELSH                        CO     90005164575
2779477542B27B   DERRICK      MOBLEY                       DC     81017097754
2779547567B449   MARIO        LAGOS                        NC     90002824756
27796266372B29   VIRGINIA     CHI                          CO     33027652663
2779728465B571   RICHARD      CARPENTER                    NM     35092472846
277972A329189B   CHAMIKKA     SLOAN                        OK     90010482032
27797845276B69   JOSE LUIS    RAMIREZ                      CA     90007128452
27797A1389136B   DANA         SMITH                        KS     90014980138
2779859959136B   CONNIE       NICHOLS                      KS     29078075995
2779895837B449   DAMARIS      AYALA                        NC     90014809583
27798A45491592   GUADALUPE    BARRON                       TX     90012980454
2779928269155B   JAVIER       CONTRERAS                    TX     75037902826
2779943135B271   HUBERT       WALKER                       KY     90002884313
27799518372B88   MARIA        LOPEZ                        CO     90014745183
2779978912B27B   MELVIN       CAMPOS                       DC     81098667891
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27799A9119136B   MAGALY            SOLIS                   KS     29035080911
27799A9955715B   JUANITA MARIANN   WILLIAMS                VA     90004010995
2779B277931453   SHANNA            ROWAN                   MO     27515262779
2779B489941245   SHEBRINA          HILL                    PA     51042504899
2779B496891828   JANEY             DORR                    OK     90009654968
277B1224755957   JODYNE            TRIPLETTE               CA     90008722247
277B123722B27B   DONALD            JONES                   DC     90002512372
277B233825715B   YURI              BERENICE RAMOS          VA     90014383382
277B2487A91541   ELECTRICAL        HIGH PRO                TX     75035074870
277B421729184B   CHRISTOPHER       AGUIRRE JR              OK     90012912172
277B4455172B35   SCOTT             JENSON                  CO     90009914551
277B522A291356   ISMAEL            MARTINEZ                KS     90014692202
277B616789189B   BRANDON           HAYNES                  OK     90003051678
277B6972672B88   EARL              PALMER                  CO     90006809726
277B71A7757157   RENE              MARROQUIN               VA     90003461077
277B732727B471   SONYA             SMITH                   NC     90009903272
277B774379136B   ELBER MENAHEN     CASTANDEA SAMAYOA       KS     90013637437
277B783119184B   NAOMI             MORRIS                  OK     90010948311
277B826642B27B   MIKE              GREEN                   DC     90014802664
277B8916A91592   MARIA             ORDAZ                   TX     90014779160
277B896A472B88   TASHA             SHAW                    CO     90012139604
277B9341357157   TANIA             SALGADO                 VA     90006493413
277B9351872B29   ANNE              PIERCE                  CO     33070283518
277B95A2A72B88   LACEY             PATRICK                 CO     90001815020
277B9681691828   JOYCE             RUPERT                  OK     90010386816
277B9789855957   SARA              MEZA                    CA     90014027898
277BB26A172B88   ELIUD             HERNANDEZ               CO     33062422601
277BB274531631   VON               ENSEGIN                 KS     90013862745
277BB38779189B   JAMES             EDGAR                   OK     21096013877
277BB525985822   ERICA             LEE                     CA     46009635259
277BB6A1A81648   SHENOWA           ROBINSON                MO     90010186010
277BB833A72B29   RICARDO           CARRILLO                CO     90011838330
2781136777B449   ROSA              MORRIS                  NC     90014793677
27811541872B42   ALONSO            MEDINA                  CO     90002175418
2781154519184B   MATTTHEW          MULLINS                 OK     90012405451
2781176282B229   WOODROW           GIVENS                  DC     90011447628
2781233935B139   YOLONDA           WINSTON                 AR     90013323393
2781257144B281   EARLENA           HUDSON                  NE     27095765714
27814714A72B29   RONNIE            GUTIERREZ               CO     90013087140
2781538A555977   JESUS             RODRIGUEZ               CA     90005173805
2781555927B471   MAURICE           EDWARDS                 NC     90011335592
2781598AA91525   LOURDES           MERAZ                   TX     90009399800
27816173372B42   FRANK             CASADOS                 CO     90003171733
2781766A681661   RENADA            LOPEZ                   MO     90007816606
27817A9379136B   ASHLEY            FRANKLIN                KS     29082660937
27818156372B42   DARNELL           ANDRUS                  CO     90007791563
2781825A281638   NOE               MONDRAGON               MO     29083832502
2781853537B449   JOSE              LEON                    NC     90014795353
2781866459136B   ANASTASIA         LOCKE                   MO     29030656645
27818AA5A55957   MANUEL            VANHOFWEGEN             CA     48028930050
2781B195155935   JOSE              ESPINO                  CA     90010131951
2781B198272B88   TIM               PICKETT                 CO     90006781982
2781B38A172B29   FERNANDO          VICTORIO-SARMIENTO      CO     33038193801
2781B433A72B42   ALVARO            ARROYO LOPEZ            CO     90008934330
2781B654691828   KEISHA            DAVIS                   OK     21033316546
2781B719684364   CATHLEEN          DOCHERTY                SC     90013157196
2781BA2495B271   FONEISHA          HENRY                   KY     90000930249
27821638972B88   TANDRA            LEWIS                   CO     90008266389
2782245A25B271   REBECCA           HOGAN                   KY     90011954502
27822531176B52   MANUEL            LIRA                    CA     90013905311
2782269169184B   JERRI             LAWRENCE                OK     21003506916
278238A855B271   MELISSA           WHITLOW                 KY     68038768085
2782431423144B   LEATRICE          SHAW                    MO     27514683142
2782497139189B   SERGIO            SOTO                    OK     21089379713
2782498455B271   OLIVE             NYIRAMABAN              KY     90014949845
27824A17672B88   GARCIA            REGINA                  CO     90010950176
2782631619155B   REYMUNDO          DURAN                   TX     90015083161
27826A19385B32   MARCOS            PEREZ-D                 FL     90015470193
2782713599184B   RAYMOND           DAVALOS                 OK     90012041359
27827A68172B29   DALIA             CHAVEZ                  CO     33014720681
27827A7367B449   AMBER             RIDGELL                 NC     90013700736
27828353A71925   VANESSA           LOPEZ                   CO     90004873530
2782836777B449   ROSA              MORRIS                  NC     90014793677
2782893344B553   SHIMITRIA         MILLER                  OK     90012659334
2782B193172B88   KALI              RODGERS                 CO     33032491931
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2782B278993731   KYLE         WIEDENHEFT                   OH     64575442789
2782B857872B29   JOSEPH       HEALY                        CO     90014178578
2782B868791B44   PAYGO        IVR ACTIVATION               NC     90015288687
2782B8A2A91356   LUKE         KOVACH                       KS     29039528020
2783148A176B69   SHERRY       DEFRANSISCO                  CA     90012724801
278321A4172B42   ANTHONY      STANO JR                     CO     33054131041
27832A4884B588   JAIME        SANDERS                      OK     21551580488
2783311A491592   JOSE         LOPEZ                        TX     90013211104
27833333A55957   KYLE         APPLEGATE                    CA     90014393330
27833383572B29   CARELYN      ADAMS                        CO     90008403835
2783374799193B   CHRISTIE     HERDING                      NC     90001287479
27834435A7B449   NICOLE       FULLER                       NC     11080314350
2783474799193B   CHRISTIE     HERDING                      NC     90001287479
27834A67881548   KAREN        PRIGGE                       IL     90014250678
2783536A385822   WALTER       HASLOP                       CA     90012793603
278353A899155B   ALEJANDRA    GOMEZ                        TX     90005133089
2783559A993731   ALTON        HERRON                       OH     90011205909
278355A115B161   PRISCILLA    HENSON                       AR     23004325011
27835641A4B581   KATREECE     LAMOUR                       OK     90012606410
27836191A81637   PAPER        DRAPER                       MO     90003971910
2783636779155B   DARLENE      LARA                         TX     90014633677
2783657297B449   TIFFANY      OLIVER                       NC     90014795729
27837417772B42   MARGARETTA   FNU                          CO     33091474177
27839737A51338   PAMELA       AUSMAN                       OH     90011977370
27839A6175B271   SUSAN        MCARTHUR                     KY     90015110617
2783B57297B449   TIFFANY      OLIVER                       NC     90014795729
2783B578A5715B   CARLOS       MERLOS                       VA     90005565780
2783B593124B46   JOSE         ROJAS                        VA     81061535931
2783B6A4391241   COLIN        KERRIGAN                     SC     90015306043
27841674376B69   DENNIS       PIERCE                       CA     90011806743
2784236132B27B   DRADORANCE   BLACKMON                     DC     90014803613
2784238225B271   HOLLY        DEAN                         KY     68022203822
2784352144B281   DENNIS       DIEMER                       NE     27029455214
278441A112B27B   KAHLID       MAFTON                       VA     90015021011
2784433A25B571   RAMON        VALENZUELA                   NM     35087883302
2784437814B588   DESMON       FRAZIER                      OK     90013013781
27844955A85822   APRIL        SANCHEZ                      CA     90011109550
2784499515B161   MERCEDES     FENNELL                      AR     90010569951
27844A79A72B42   GERARDO      DE LA RIVA MARTINEZ          CO     90010690790
27844AAA181638   AUSTIN       MOYER                        MO     90014230001
2784662969189B   ALTISHA      BOYD                         OK     90011416296
27846636A4B261   TASHA        ALLEN                        NE     90011706360
27846A5235B271   WOODS        LUCILE                       KY     90000710523
2784746A84B261   PAULA        MARQUEZ                      NE     90002224608
2784771A35B571   AURORA       CANO                         NM     90005397103
2784852879155B   MARIANA      HERNANDEZ                    TX     75015665287
278486A837B449   APRIL        BARBER                       NC     90014796083
2784B34912B856   MELISSA      CARVER                       ID     42051463491
2784B578591592   WILFREDO     FEBRES                       TX     75010995785
2784B5AA99136B   JESUS        GONZALEZ                     KS     90015215009
2784B85A84B261   CECILO       AGUILERA                     NE     90012038508
2785115925B271   VERONICA     STANTON                      KY     90009481592
2785241A39794B   GABRIEL      COLLAZO                      TX     74046214103
27852A15A31453   SHARON       BILBARY                      MO     27502420150
27852A97972B88   MARIE        MARTINEZ                     CO     90014850979
27853276172B29   DARCEL       PINKSTON                     CO     90000102761
27854124972B88   ON 1         DYNASTY ENT.                 CO     33021741249
2785461892B27B   VERNON       L HUNT                       DC     90005226189
2785469474B588   CALEB        GUIDRY                       OK     90003586947
27855138672B42   JENNIFER     REYNOLDS                     CO     90014381386
2785589724B588   AMY          LOYD                         OK     90011338972
2785646594B531   JOE          COMET                        OK     21551154659
278564A1951369   LAURA        RESETARITS                   OH     90007474019
27856957972B29   MANUEL       TORRES                       CO     90014169579
27856A27A85822   MARTIN       BARANDA                      CA     46038670270
27856AA545B161   DAVID        WEATHERLY                    AR     90004330054
2785743655B257   LATASHA      CLYBURN                      KY     90011824365
27857516A9189B   JENNIFER     NORMAN                       OK     21096985160
27857987176B69   MARIA G.     DIAZ                         CA     90007169871
27858741172B42   ARELY        GONZALEZ                     CO     90014687411
27858A6849155B   PAULA        CARREJO                      TX     90009560684
27859126572B88   DANIEL       RUBIO                        CO     90013941265
2785941247B471   TICOBE       DUPONT                       NC     11059294124
27859634872B42   CHARLOTTE    OLIVAS                       CO     33043796348
2785B53284B281   MELISA       RICHTIG                      NE     90006425328
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2785B95574B531   KAREN        MELTON                       OK     90012589557
2786139449184B   MAYRA        LUNA                         OK     90012423944
2786146759189B   AMANDA       GARCIA                       OK     90015204675
27861593A47952   JANICE       NOLAN                        AR     24009045930
27861751A9184B   MICHEAL      MORGAN                       OK     90015137510
2786231714B261   ANGELA       GARZA                        NE     27067753171
2786248965B271   NIKKI        GORE                         KY     90006554896
2786314227B471   APRIL        EASON                        NC     90006781422
2786354965B571   RAYMOND      SERNA                        NM     35096905496
27863667A81638   KEVIN        HELWIG                       MO     90014416670
2786376617B449   MICHELLE     FALLIE                       NC     90014797661
2786386494B588   AMBER        RINGWALD                     OK     21502438649
2786396A272B29   MANUEL       ZARATE                       CO     90014169602
27864876A81638   TRICIA       VANDRUFF                     MO     29026968760
27864AA9272B29   HILDA        ESRTRELLA                    CO     90011840092
27865118A55957   MAGDALENA    QUINTERO                     CA     90009791180
2786519267195B   ISABEL       RENZ                         CO     90008311926
2786534434B588   KATIE        WISE                         OK     90001373443
2786538119189B   GLENN        STEWART                      OK     21057033811
2786566869155B   BARBARA      AMARO                        TX     75075606686
2786654215B271   STACIE       CRAVEN                       KY     68062525421
2786665735B571   MARIA        WELCH                        NM     35088366573
27866A11A72B29   KEYANTY      HSU                          CO     90011840110
27867356A9184B   LESLIE       HICKS                        OK     21099713560
278673A8572467   CASSANDRA    ALEXANDER                    PA     90015343085
2786788445B271   DANIEL       TUBERVILLE                   KY     90015158844
2786795659189B   JAMI         CARTER                       OK     90009449565
27867A35391356   RENE         SANTIAGO PEREZ               KS     29015480353
2786816135B161   ANGLE        STANLEY                      AR     23086861613
2786834259196B   THIERNO      DIALLO                       NC     90005293425
27868616172B42   MARTHA       ROBITZ                       CO     90012826161
2786891614B588   MELISSA      LEHENBAUER                   OK     21545429161
27868A97981661   LATONYA      TATUM                        MO     29040710979
2786B1A745B161   KOKI         CROUCH                       AR     90010571074
2786B2A5841245   DONE         WILLIAMS                     PA     90005642058
2786B379A2B27B   DEWAYNE      ADDISON                      DC     90014803790
2787138215B571   IRMA         ACEVES                       NM     35014693821
2787216972B27B   BRADFORD     HOLMES                       DC     81005651697
2787223429136B   FRANK        IBRAHIMOVICH                 KS     90011572342
2787242924B28B   MELAKU       TASSEW                       NE     90011904292
2787349A785822   PONTIUS      MALMBERG                     CA     90013984907
27874129872B88   MATTHEW      KELLY                        CO     90013941298
2787438942B27B   LATONYA      EDMONDS                      DC     90014803894
2787476AA4B281   SHANTE       ROBY                         NE     90008617600
27875A45191528   ALEJANDRO    MONTELONGO                   TX     90003290451
2787667A455931   ZAIDA        MERAZ                        CA     90005826704
27876A73491356   ALEXA        ROJAS                        KS     90013060734
27877316A91356   PETER        HAMAM                        KS     90012613160
27877822972B42   MARISELA     TRUJILLO                     CO     33004668229
2787786379189B   AKICHA       SMITH                        OK     90014048637
2787858412B839   SORIN        GHIMBASANU                   ID     42047115841
2787865699155B   PATRICIA     MEDINA                       TX     90011696569
2787926439155B   MARISSA      ORTIZ                        TX     75001912643
2787935489184B   ERNEST       TAYLOR                       OK     90011403548
2787956955B571   RAYMOND      NEVAREZ                      NM     90013085695
27879646472B42   DANIEL       GRAHAM                       CO     90013036464
27879A89891592   ARAIZA       KIANI                        TX     75096560898
2787B2A2A91547   JIMMY        MORRIS                       TX     90011352020
2787B38112B27B   MARCO        THOMAS                       DC     90014803811
2787B42754B281   TERRY        SHORT                        NE     27035344275
2787B65349155B   ELVIA        DELGADO                      TX     90011696534
2787B777772B88   HOLLIE       GELLINGER                    CO     90011117777
2787B967757157   MONTREZ      GREER                        VA     90002919677
2788142A45B271   BARRY        MCALLISTER                   KY     68083654204
2788181964B588   ARIEL        PIERCE                       OK     90011408196
2788269467B334   JOSE         RAMOS                        VA     81035506946
27883A98457157   KIMBERLYN    PERKINS                      VA     90002920984
2788424147B471   GREGORY      SMITH                        NC     11003062414
2788457769189B   ALYSCIA      WINNETT                      OK     90012705776
27884758872B88   VIOLA        ESCALANTE                    CO     90013057588
27884A8A54B521   MINDY        RODRICK                      OK     90003680805
27884AA8991592   CRISTAL      LOPEZ                        TX     90013450089
2788549414B261   JOSE         MORALES                      NE     90014664941
27885A69A5B571   MAE          JACKSON                      NM     35075570690
2788697385B271   SAMANTHA     BENNETT                      KY     68076829738
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27886A68581637   JOHN         MATHEWS                      MO     29054550685
27887136672B88   MICHELLE     AVALOS                       CO     90013941366
2788722119155B   JANETTE      RAMOS                        TX     90012032211
2788741A52B27B   LENARD       JONES                        DC     90014804105
27887962672B29   MICHEAL      BLAKNEY                      CO     90014169626
27888339172B88   MARTHA       GUERRERO                     CO     33089883391
2788841574B261   ELIZABETH    CORTES                       NE     90013224157
2788911834B261   TRACEY       MARSHALL                     NE     27030441183
2788B11A531631   CHRISTAL     YOUNG-WELCH                  KS     22040751105
2788B49A751346   MARIA        BARNES                       OH     90008674907
2788B547491828   TONYA        GREGORY                      OK     21071615474
2788B6A6191356   DOMINIC      DAVIS                        MO     90012766061
27891359172B88   JUANITA      WARD                         CO     90014903591
278916A8272B88   RODOLFO      RUIZ                         CO     90000446082
2789183945B271   STEPHANIE    FORD                         KY     90009598394
278921A7931433   CATHY        DUFFIE                       MO     90005501079
2789237994B581   FELICIA      IRWIN                        OK     21554713799
2789264575B271   LARRY        BOOTH                        KY     90014876457
2789269A84B588   BILL         DAUGHERTY                    OK     90007446908
27892925672B88   CARLOS       RIOS                         CO     90007919256
27893162172B88   FRANK        DERRERA                      CO     33043241621
27893934A33648   ALICIA       ARMSTRONG                    NC     90004699340
278941A1933654   JOLENDA      PINNIX                       NC     90011021019
2789431245B571   JOEL         CASARRUBIAS-GOMEZ            NM     90009693124
2789451845B271   KAREN        MEDDLES                      KY     68015815184
278954A5A84566   JOSEPH       PANNET                       NY     90015394050
2789636A29155B   OSCAR        GAYTAN                       TX     75015543602
2789638459184B   TANEKA       HUMPHREY-JOHNSON             OK     90009013845
27896392872B29   NICOLE       MONRAGON                     CO     90014763928
2789693133B38B   JOHN         BLANCHARD                    CO     90012319313
278975A5781661   TERESA       SHEDD                        MO     29011115057
2789787A755957   MANUEL       ESPINOZA                     CA     90010418707
27898282572B88   ASHLEY       FRIZZELL                     CO     90014062825
2789997184B588   ICIDRO       BANDA                        OK     90015309718
27899AA937B449   MARTIN       HERNANDEZ                    NC     90003210093
2789B3A625B271   ELIZABETH    DURAN                        KY     90009223062
2789B436331631   RONALD       ACKLIM                       KS     22097454363
2789B642772B29   CLAUDIA      MONCADA GARCIA               CO     33053476427
2789B915A4B261   CARLOS       CORRAL                       NE     90008209150
278B18A839155B   ANA          CARRILLO                     TX     90000778083
278B192A472B42   JOSH         SANDOVAL                     CO     90015299204
278B2488772B42   ADAN         TORRES                       CO     33090574887
278B2933372B29   WILLIAM      LOHMAN                       CO     90011839333
278B2A7A67B666   TEROONIA     EVERETT                      GA     90010870706
278B2A88A4B281   RODERICK     FLOTT                        NE     27086470880
278B3379731277   EDWARD       LAND                         IL     90015373797
278B35A1855957   SUZETTE      MODDY                        CA     90004775018
278B3653276B69   MARIA        ROJAS                        CA     90010726532
278B3789272B88   MARLYN       SIFUENTES                    CO     90011117892
278B397842B27B   BYRON        FULLER                       DC     81006299784
278B3A62181638   CHIRS        HARRIS                       MO     29044070621
278B4279A9189B   TRACY        NEWTON                       OK     90011472790
278B447424B588   JENNIFER     RENTFRO                      OK     90011164742
278B448382B27B   GILDA        GONZALEZ                     DC     81086564838
278B45A1A9155B   CHARYTIN     BALTAZAR                     TX     90011695010
278B491935B161   CRISTOBAL    OCANA                        AR     90005639193
278B5344A81638   TIFFANY      GREER                        MO     29020343440
278B5457131453   DELBERT      REEVES                       MO     27578294571
278B5724972B42   MARIA        ARMENDARIZ                   CO     33094127249
278B582839136B   ERENDIRA     ROJAS                        MO     29054918283
278B6112731631   DONTE        MCGILL                       KS     90007451127
278B622729155B   ZAMORA       NUBIA                        TX     75013552272
278B6235755957   CRYSTAL      QUAIR                        CA     90012872357
278B6432591528   MICHAEL      KNIGHT                       TX     90008114325
278B663117B471   RENEE        RAYNOR                       NC     11078966311
278B7117672B88   RICARDO      SILVA                        CO     90013941176
278B7344491592   MALINDA      GREEN                        TX     90006083444
278B74A8931488   VIVIAN       COLLINS                      MO     90007174089
278B7669493731   SHATARA      CONNER                       OH     90014616694
278B769144B588   BONNIE       BEAVER                       OK     90014316914
278B7911A85822   AZADEH       KHAMOOSHI                    CA     90012099110
278B7934491356   ABEL         HERNANDEZ                    KS     29041999344
278B7936351369   SHAWN        MCLUCAS                      OH     66008579363
278B7AA7284364   LASHANDA     ABRAHAM                      SC     19089390072
278B8287781638   CHRIS        BLACK                        MO     90014712877
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278B879599184B   KARLEY       MCGILL                       OK     90014577959
278B891359184B   ORLANDO      GONZALEZ                     OK     90008619135
278B93A6791828   MIRANDA      EMSLEY                       OK     90014583067
278BB138591833   WILLIE       HILL                         OK     21009071385
278BB46875B195   JAMES        URSERY                       AR     90012144687
278BB529881661   DEETTA       LASSITER                     MO     90015305298
2791134A985888   KEVIN        DUNN                         CA     46090903409
2791139939155B   JULIETA      GONZALEZ                     TX     90014633993
27911766172B88   MARIA        CHACON                       CO     33046097661
279121AA697B67   HERMINDA     HERNANDEZ                    CO     90007841006
279124A854B588   SAMUEL       RECINOS                      OK     90001244085
27912818A9184B   LEMUEL       WHITESIDE                    OK     21028908180
279128AA241245   JOSEPH       MUBANGA                      PA     90002708002
27913132772B88   ESTELA       IBARRA                       CO     33002171327
2791348175B571   RAYMOND      SOTO                         NM     35010184817
2791361452B27B   JAIME        SANCHEZ                      DC     81001286145
27913858A9155B   ROSALINDA    SOTO                         TX     90014638580
2791466445B271   LYNDSAY      BARNES                       KY     90002726644
2791562A193731   RONALD       BOYD                         OH     90014856201
279158A712B934   JUAN         PANTEJA                      CA     90012938071
27915A5159189B   ERICA        WALKER                       OK     90009720515
27916975672B29   BENITO       CARRILLO                     CO     90014169756
27916A2964B588   SIMONE       KNIGHT                       OK     90012510296
2791757517B358   AARON        MCLAUGHLIN                   VA     81002555751
2791823759198B   ESPERANCE    LUNGENI                      NC     90000662375
279184AA54B566   SHAWN        CLEMENTI                     OK     90014714005
279189AA572B29   JAVIER       RODRIGUEZ                    CO     33092529005
27919239272B42   RICARDO      VANENZUELA                   CO     90014092392
2791937879155B   VICTOR       SALAZAR                      TX     90012793787
2791951A172B29   EDDY         MORENO                       CO     33096065101
2791966429136B   JESUS        GONZALEZ                     KS     90011576642
2791979329155B   MARY         GONZALES                     TX     90010357932
27919A77131631   WESLEY       SUTTE                        KS     90013730771
27919AA975B271   ALNOLDO      MICHEL                       KY     90013930097
2791B177191356   ALEJANDRO    MACIAS-AYALA                 KS     90015101771
2791B65144B564   MERVIN       NICHOLS                      OK     90011706514
2791B75AA81638   ABIGAIL      MARQUEZ                      MO     90014077500
2792113587B276   RICHARD      STARCHER                     CO     40596961358
2792125759184B   VERA         LECLAIR                      OK     90013072575
279212A225B271   JACOB        SZARAZ                       KY     90012702022
2792137259189B   STEPHEN      ROGERS                       OK     90003933725
2792156119155B   JOSE         TERRAZAS                     TX     75055465611
2792213A89136B   CORY         SLAUGHTER                    KS     90013631308
27922394A72B29   GISSEL       VENZOR                       CO     90004753940
2792397139184B   SERGIO       SOTO                         OK     21089379713
279239A2881638   VIRGINIA     MELENDEZ                     MO     90014139028
27923A12591528   MIGUEL       RODRIGUEZ                    TX     75094290125
2792416625715B   JEFF         HIGGINS                      VA     90000381662
27924217772B88   SHATERICA    SADE TRYELS                  CO     90013942177
279246A1185822   LULU         ALFARO                       CA     90007296011
279246A4172B29   JOHN         KOLIOPOULOS                  CO     33012186041
279248A1855931   CECILIA      IBARRA                       CA     49030178018
2792518222B27B   TIFFANY      BUTLER                       DC     90005661822
2792575719136B   RACHEL       GRIFFITH                     KS     29065557571
2792623187B449   WILLIAM      WHITLOW                      NC     90011462318
27926282A5B271   PERNELL      JOHNSON                      KY     90005002820
2792644637B471   CHARDRAE     ODEM AND CAROL STEELE        NC     90012394463
2792743545B571   VALERIA      LUEVANO                      NM     90001304354
2792777145B271   LUNGU        KAPITA                       KY     68076837714
27927A58793731   NOE          ALAS                         OH     90014010587
2792838A34B281   LAQUEDA      MOORE                        NE     90008833803
279285A7772B29   LOURDES      MORALES                      CO     90000435077
2792871A19184B   CLAUDIA      RUBI                         OK     21043277101
27928993A91356   JEFF         CRITES                       KS     90004729930
27928A1555B271   REBECCA      FRITH                        KY     68025140155
2792922759155B   CARLOS       MARTINEZ                     TX     90001312275
2792924124B261   LEON         WORTMAN                      NE     90015032412
2792B479872B29   HILARY       HINDS                        CO     90011594798
2793228839198B   EARL         LEE                          NC     90003752883
2793289729155B   ALONDRA      MURRILLO                     TX     75096958972
2793291A49189B   JACQUELINE   DAVIS                        OK     90008679104
2793311239155B   MIRIAM       CARBAJAL                     TX     75002151123
27934563A91592   GEORGINA     HERNANDEZ                    TX     90010935630
2793459895B571   BERNIECE     CHAVEZ                       NM     90000845989
279346A2551369   MARGAUX      ROBERT                       OH     66026296025
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2793476459184B   RACHELLE     MONTGOMERY                   OK     21062777645
2793491922B394   BRUCE        LOCKWOOD                     CT     90014429192
2793574219189B   ELIZABETH    JOYCE                        OK     90012187421
27935899A72B88   RYAN         ONEAL                        CO     90014698990
27936239372B29   NICOLE       WIDDLE                       CO     33011032393
2793642164B281   MAKIA        TERRELL                      NE     27093034216
2793724519189B   SONYA        MCCANN                       OK     21080142451
2793774889136B   PABLO        HENANDOZ                     KS     90009067488
2793775679155B   LUIS         SAUCEDO                      TX     90008757567
27937A58A91528   RAYMUNDA     SILVER                       TX     75040610580
27937A91A81637   GLENDA       GUINA                        MO     90006760910
27938416A9155B   SUSANA       ARAUJO                       NM     90014634160
27938453172B88   CLAUDIA      BARRERA                      CO     33034114531
2793861A931631   VERNON       JENNINGS                     KS     90010206109
27938734572B29   J            JONES                        CO     90012397345
2793885584B281   JACOB        HICKS                        NE     90001308558
2793941699189B   IVAN         HONEYCUTT                    OK     90014844169
279394A8481652   CHRISTINA    CLEVENGER                    MO     90007624084
2793961345B271   CHARISSE     KING                         KY     90010646134
2793992367B449   RONALD       BARNES                       NC     90014799236
27939A52476B4B   ELEAAZAR     LOPEZ MORALEZ                CA     90012280524
2793B182785822   THOMAS       RYAN                         CA     90013111827
2793B923A91592   JOSE         PINERO                       TX     90015239230
2794128299155B   DERICK       CAMACHO                      TX     90003202829
27941584376B69   EDUARDO      SOTO                         CA     46057145843
2794181327B449   CAMILLA      ERVIN                        NC     90010358132
27941A53491828   JENNIFER     SNYDER                       OK     90010740534
2794228A29189B   ARLINDA      DOCTORMAN                    OK     90012592802
2794269774B261   CAROL        DENNY                        NE     27045686977
27942885172B29   PAIGE        FRANKLIN                     CO     33082118851
2794292367B449   RONALD       BARNES                       NC     90014799236
27942AA4355957   DOUGLAS      SMITH                        CA     90002020043
2794327322B27B   ANTOINETTE   KIRKPATRICK                  DC     90015052732
2794332634B588   CLEMENTE     AKUFO                        OK     90007833263
27943416A9155B   SUSANA       ARAUJO                       NM     90014634160
2794371899794B   JUNA         GARCIA                       TX     90002537189
279437A834B521   MICHAEL      LEONARD                      OK     90011017083
2794454654B281   JOHN         HENDERSON                    NE     90011275465
2794486A472B88   MARY         REDDY                        CO     33012388604
2794535A857124   SANDRA       FIGUEROA                     DC     90004603508
27945A4225B271   AUSTIN       DUFF                         KY     90013490422
27946922A9136B   YAHAIRA      PEREZ                        KS     90013899220
279473A7872B29   JEFFERSON    MEDINA                       CO     90015243078
279476A2831492   LAQUITA      EGGLESTON                    MO     90010066028
2794879922B86B   EILEEN       ROSALES                      ID     90007667992
2794898554B588   SHAWNTE      DAVIDSON                     OK     90014859855
27948A14481638   AMELIA       MAPLES                       MO     90014600144
27948A3389189B   GENOVEA      SOSA                         OK     21013600338
2794959729136B   DEMETRIUS    SMITH                        KS     90014835972
27949781A4B261   TINA         MAROW                        NE     90006057810
2794B956277584   RICHARD      TIMMERMAN                    NV     90001239562
27951478972B29   MIRIAM       SOLANO                       CO     90009944789
27951831A93731   NATTIE       BOWERMAN                     OH     64557608310
27952312A91828   CUAHUTEMOC   DURAN                        OK     21007243120
27952358A72B42   ANAIS        SALCIDO                      CO     90009583580
2795292367B449   RONALD       BARNES                       NC     90014799236
27952A27193731   EDDE         STIDHAM                      OH     90012180271
279532A2A76B69   MARIA        CISNEROS                     CA     46013592020
2795437A955957   ANGEL        SILVIA                       CA     90013033709
27955148772B42   BERRIOS      JESSICA                      CO     90008441487
2795521AA4B281   SHARON       ENNIS                        NE     27078892100
27955463972B88   BRYENNA      GONZALES                     CO     90014784639
2795577719189B   KENDRA       ARTHUR                       OK     21062107771
27956288A91241   ELMER        MENJIVER                     GA     90000172880
279564A515715B   FRANCES      JENKINS                      VA     90006614051
27956551A4B261   KENNETH      CLAYTON                      IA     27079455510
27956A1155B271   IZAIH        MASK                         KY     90013930115
27956A86291828   BAILEY       ROBINSON                     OK     90015290862
27957352A9189B   CATALINA     GOMEZ                        OK     90014853520
2795785735B271   BARBARA      COOK                         KY     90012668573
2795794287B449   JAMEEL       ANTHONY                      NC     90014799428
27958455572B29   MIREYA       QUEZADA                      CO     90012754555
27958A63193731   JOHN         ELLISON                      OH     64534050631
2795947A191241   VICTOR       GALVAIN                      GA     14585044701
2795972764B588   JOSEPH       LOPEZ                        OK     90002557276
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2795985622B27B   DADITU       MOSISSA                      DC     90001838562
279599A4472B88   JAIME        YBARRA                       CO     90014689044
27959A1679184B   ALLAN        CANTRELL                     OK     90012110167
27959A87841272   DANIEL       BELL                         PA     90012460878
2795B193376B69   DONGKYUN     YU                           CA     90011831933
2795B1A569189B   GUSTAVO      SALAZAR                      OK     90014371056
2795B459A91356   KOURTNEY     JACKSON                      KS     29016264590
2795B69414B588   BRENDA       GUZMAN                       OK     90010286941
2795B92A39189B   GUSTAVO      SALAZAR                      OK     90014549203
27961123A72B88   CHRISTOPHE   FREEMAN                      CO     90000251230
27961486976B69   ANTONIO      GARCIA                       CA     90011834869
27961966A71936   BENJAMIN     PHILLIPS                     CO     90009329660
27961A2A831631   KEVIN        FLEURY                       KS     90014500208
2796266424B588   KRISHLA      DYE                          OK     90005536642
2796272695B271   SUSAN        BRILEY                       KY     90007877269
2796292679184B   JUSTIN       DAVIS                        OK     21043089267
2796351169189B   MICHAEL      STEWARD                      OK     90012835116
27964642372B86   MICHAEL      PARRIS                       CO     90000836423
2796516475B571   DIAS         MIGUEL                       NM     90004521647
279653A454B588   CAROLYN      PARKER                       OK     90015093045
2796593A87B471   NANCY        DIAZ                         SC     90001889308
27965A8539189B   KATIOYA      TURNER                       OK     90009730853
2796736285B271   NASECAH      MCTIER                       KY     90002943628
2796857A65B161   SHERRY       HENLEY                       AR     23000905706
2796898259155B   JOSE         ESQUIVEL                     TX     90014829825
27968997A4B281   EDWARD       BREITENSTEIN                 IA     27003949970
27968A87655957   JOSE         SOLORIO                      CA     90005800876
2796915A172B88   DENNIS       WILLIAMS                     CO     90013941501
279693A5576B53   NORBERTO     MARTINEZ                     CA     90002163055
2796B394A72B29   GISSEL       VENZOR                       CO     90004753940
2796B741751338   LINDA        HARRISON                     OH     66016787417
27971859A91592   GLORIA       ARENAS                       TX     90013218590
2797215869184B   RAMONA       DRYWATER                     OK     90014991586
27972166A81638   MICHAEL      WHITEBEAR                    MO     29041071660
279723A9893731   KENNETH      THOMPSON                     OH     64505653098
27972717A5B571   ROSALINDA    DELGADO                      NM     35062837170
2797472859189B   DMARCO       ADAMS                        OK     90011967285
27974984372B29   YADIRA       IBARRA                       CO     90014169843
2797546A54B281   TRACIE       WARD                         NE     90012704605
27976964A55957   STEVE        LUNA                         CA     90014779640
27976A6188433B   REGINALD     WILKES                       SC     90006010618
27977A7445B271   MICHAEL      STALLINGS                    KY     90012290744
27978A74781637   WRETHA       MADRIGAL                     MO     90005520747
27978A9324B261   ELIZABETH    JUDEVINE                     NE     90012700932
2797959625137B   ANDRE        BUSH                         OH     90007665962
2797B5A712B27B   MICHELLE     COLLINS                      DC     90014805071
2797B981791592   ARTHUR       CRAWFORD                     TX     90009739817
2797BA24685B21   LATORISHA    ALLEN                        FL     90015410246
2797BA8A64B592   MIQUEL       GOMEZ                        OK     90011740806
2798172749189B   PABLO        GONSALEZ                     OK     21007267274
2798178399184B   MICHAEL      DETAR                        OK     90015217839
279823A517B449   VONNETTA     HART                         NC     11093653051
2798267A741245   JADA         CARABOLLO                    PA     51010656707
27982A4A691534   CLAUDIA      GARCIA                       TX     90010770406
27982A5664B281   KHORI        MCFADDEN                     NE     27074460566
2798329949184B   RONNELL      GARDNER                      OK     90014872994
279834A649136B   ANDREA       RANDLE                       KS     90014714064
27983625844B62   STEVE        LANESE                       OH     90014156258
2798421155B271   SASHA        BEATTY                       KY     90014982115
27984326376B69   MARIA        RICARDEZ                     CA     90007243263
2798444255B376   HERMAN       HAWKINS                      OR     90002314425
27984AA9172B29   EDUARDO      ESCOTO MONCIVAIS             CO     33021120091
2798515A191528   NORMA        VILLANUEVA                   TX     90005861501
2798516587B449   JESSIE       HOUSTON                      NC     90011111658
2798587552B27B   EDUARDO      GOMEZ                        DC     90002628755
2798593614B521   BRENDA       DENISON                      OK     21524729361
27985A58372B88   MARISELA     SALDIVAR                     CO     33095250583
2798628739794B   LAKIESHA     MINOR                        TX     90002622873
2798695514B281   MARIA        HARO                         NE     90006229551
27986A98331433   MICHEAL      FLETCHER                     MO     27510320983
2798736A291528   BERNABE      GONZALEZ                     TX     75055853602
2798762A78B15B   JOSE         GONZALEZ                     UT     31024086207
2798778389155B   CORINA       MENDOZA                      TX     90011697838
2798779949189B   SCOTT        MARINER                      OK     90014537994
2798866769184B   PATRICIA     RAMIREZ                      OK     90014376676
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2798884195B271   JORGE        HERNANDEZ                    KY     90014548419
27989727A9136B   ANGEL        DIXON                        KS     90014117270
2798985784B588   ANIBAL       AVILA                        OK     21534028578
27989A79372B29   PABLO        REYES-SANTILLO               CO     90013140793
27989AA6641245   WILLIAM      RUMP                         PA     51087750066
2798B2A1672B29   SANTIAGO     JUAREZ                       CO     33087232016
2798B84284B588   LAUREN       BUSKIRK                      OK     90014398428
2798B843191828   BRITTANY     ALSTON                       OK     90011968431
27991156672B88   GABRIELLA    DIPENTINO                    CO     90013941566
27991211372B86   ANDREIA      DOS SANTOS NAZARIO           CO     90012732113
2799122554B588   LATOSHIA     HUETT                        OK     90012642255
2799124239184B   SAM          HUNTER                       OK     90008072423
279913A1631453   MICHAEL      HARRIS                       MO     90007113016
27993727A72B42   JASON        FUENTES                      CO     33028367270
2799397339136B   JOSE         ZUNIGA                       KS     90013029733
27993A33581638   WILLIAM      SIMMONS                      MO     90006510335
2799412929189B   SHEM         PETERS                       OK     21001301292
2799492525B255   BLAINE       KNOOP                        KY     90008979252
2799494A891241   ESQUIPULA    GOMEZ HERNANDEZ              GA     90014539408
27995137772B88   GREGORIO     SANTAY AJANEL                CO     90000251377
2799596A381661   ANGELA       MITCHELL                     MO     90011529603
27995A89577338   JUAN         ALVOR                        IL     90015490895
2799641295B271   ADAM         TAPPER                       KY     68017434129
2799649124B261   CINDY        JOHNSON                      NE     90003864912
2799667A49184B   JACOB        DURANT                       OK     90011086704
2799743A985822   STEVE        LAI                          CA     90012244309
2799798327B449   LATOYA       LINDESAY                     NC     90014799832
2799843555B271   ALLYSHA      MILLER                       KY     90012784355
279985A7891828   WILDER       LOPEZ                        OK     21001985078
2799881659189B   MELISSA      MARTINEZ                     OK     90006808165
27998869972B88   MACIEL       SAUCEDO                      CO     33013108699
2799964A291828   ILONA        HUGHES                       OK     90002126402
2799B647191828   GRISELDA     LEYVA                        OK     90013906471
279B1874981638   DIANA        SEHORN                       MO     90014318749
279B1AAA29189B   JAMES        PRESTRIDGE                   OK     90003190002
279B224774B261   SAMUEL       BLANCO                       NE     90010012477
279B354225B271   WENDY        WALLACE                      KY     90012745422
279B3757872B88   SHERRY       MARTINEZ                     CO     90010377578
279B514A572B88   GABRIELA     RIVAS- DELGAGO               CO     90013941405
279B5687131631   CECILIA      FRIDAY                       KS     22083966871
279B56A2491828   SHENA        HAYES                        OK     90013986024
279B5724A91833   ANADALE      KAHRIMAN                     OK     90005297240
279B5945672B42   NANCY        MARTINEZ                     CO     33067549456
279B621A285822   CHAREE       JAMESON                      CA     90001032102
279B6227293731   TOMMIE       TINCHER                      OH     64510722272
279B628242B27B   JACQULINE    PETWAY                       DC     90013242824
279B628A891828   VILMA        AMBROSIO                     OK     90013072808
279B631994B521   BRANDON      KETCHUM                      OK     21509473199
279B6328981661   CHARLES      MACKEY                       MO     29082393289
279B648899155B   JOSIE B      WADE                         TX     75015544889
279B6712A5B271   SHELIA       WEBSTER                      KY     90013187120
279B7487572B88   JEREMY       IREY                         CO     90013424875
279B761679184B   MARIAH       SCRAPER                      OK     21079776167
279B8114633646   LOMARK       BARREN                       NC     90009401146
279B818569189B   ASHLEY       HOPWOOD                      OK     90014681856
279B8392A85822   ALEX         SANCHEZ                      CA     90003393920
279B9A24741245   SAMUEL       BROWN                        PA     51051590247
279BB531531473   MARC         WELCH                        MO     90002395315
279BB664671923   DANIEL       DAVIDSON                     CO     90005226646
279BB685871221   DAVID        FUENTES                      IA     90014696858
27B118A9A72B29   VINCENT      VARGAS                       CO     33090738090
27B12436591833   FOWLER       DENESHA                      OK     90002464365
27B12818A5B271   JASON        ROCKEFELLER                  KY     90015198180
27B1358195715B   HECTOR       ROMERO                       VA     90000235819
27B1369283B174   MARIA        CHILIGUAY                    VA     81045626928
27B1372699184B   SARAH        FRANKLIN                     OK     21027317269
27B137A395B271   STEPHANIE    ROSE                         KY     90012247039
27B13992585822   AFSAN        HAMZEHPOOR                   CA     90010469925
27B13A62581661   CARLA        JACKSON                      MO     90015030625
27B13A95555923   CLEMENCIA    CORTEZ                       CA     90013910955
27B1415A35B271   EDWIN        SMITH                        KY     90013341503
27B143A9857157   JAMAL        LACY                         VA     90012923098
27B1527472B27B   TODD         SCHIFFMAN                    DC     90013522747
27B15322991979   ANGEL        ALFARO                       NC     17067023229
27B15324755957   KELSIE       VILLASENOR                   CA     90015143247
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27B1532755B271   CHRISTOPHE   JONES                        KY     68094623275
27B1546A69136B   THOMAS       GIESLER                      KS     90011444606
27B1644179189B   HEATHER      HENSBERGER                   OK     21039834417
27B1672374B281   ANDREW       JANOS                        NE     27028507237
27B16963157B85   SHEENA       KLECHA                       PA     90011029631
27B17582285822   JASON        LEE                          CA     46073025822
27B17828891833   FREDRICK     REESE                        OK     90002778288
27B17984357B85   DANNY        KLECHA                       PA     90011029843
27B17A7A291828   DEBRA        BAHE                         OK     90014740702
27B18836A72B42   MICHELLE     BANECKS                      CO     90013598360
27B18947772B88   ANA          MARTINDEL CAMPO              CO     90001299477
27B18948172B29   YARIDZHA     MENDEZ                       CO     90011829481
27B18A58A85822   MYRA         PUNAY                        CA     90013040580
27B19248691828   JANELLE      WHITE                        OK     21088162486
27B19425831631   DON          KIRK                         KS     90013434258
27B19594172B42   MERIS        ALDANA                       CO     90002225941
27B1965589155B   LUIS         RAMOS                        TX     75032506558
27B19A5534B261   NIOKA        BRAGGS                       NE     27081980553
27B1B199A9189B   CHELA        PEDROZO                      OK     90012101990
27B1B52785B271   JEANNE       DELEON                       KY     68074635278
27B1B652693731   SHERYL       MANN                         OH     64547366526
27B1B71A291528   DALIA        RONQUILLO                    TX     90005827102
27B2158782B27B   DAISY        THORNE                       DC     90014785878
27B21635185822   AIOTEST1     DONOTTOUCH                   CA     90015116351
27B21654391241   ALFREDO      CARBALLO-ROMERO              GA     90015126543
27B21668372B29   JUAN         VILLALOBOS                   CO     33010796683
27B21692391592   JOSE LUIS    BAILON                       TX     90001586923
27B228A514B261   JANET        MAPES                        NE     27090648051
27B2295A99189B   LIZBETH      MOGUEL                       OK     21035629509
27B22A1479155B   YOLANDA      OROZCO                       NM     75042760147
27B22A92355957   JOSE         GARCIA                       CA     90012050923
27B23621785822   HERNAN       BARRETO                      CA     90011516217
27B24329A91592   KARLA        OLIVAS                       TX     75005003290
27B246A9491356   ANAYELI      SEREAVIO                     KS     90010766094
27B2476597B449   KENNITH      HURR                         NC     90011517659
27B2482644B281   DWAINE       GOINGS                       NE     90009438264
27B24855947952   JENNIFER     HALL                         AR     24069518559
27B2486732B229   TIA          LEWIS                        DC     90005748673
27B24AA3255923   GERMAN       MENDOZA                      CA     90014820032
27B25159257157   SARDAR       ALI                          VA     81083721592
27B25689155957   T            BELLA-MENDOZA                CA     48000216891
27B2596AA2B27B   DAIQUON      STEPHENS                     DC     90014789600
27B25A72991356   NEDJO        SUSLJIK                      KS     90006050729
27B26352857157   MARIO        HERNANDEZ                    VA     90004893528
27B26582572B42   STEVEN       PEDERSEN                     CO     33096555825
27B27225281638   SHANNON      NOVAK                        MO     29020132252
27B27259555957   UBER         SOTO                         CA     90010042595
27B273A1993731   STEVE        BARTON                       OH     90014963019
27B2753939155B   VICTOR       GARAY                        TX     90012955393
27B2755389189B   PHYLLIS      STOKELY                      OK     21003745538
27B2775149184B   LATRICIA     WRIGHT                       OK     90005117514
27B27851291592   MARIA        HERNANDEZ                    TX     90009098512
27B2847319155B   SILVIA       MURO                         TX     90008744731
27B28614285822   BENJAMIN     DUNN                         CA     90011756142
27B2862819184B   MAN          CING                         OK     90010706281
27B28667831631   GRISELDA     SAENZ                        KS     90006746678
27B28937657128   OSVALDO      BORDA                        VA     81053439376
27B2967315B271   JOESPH       THOMPSON                     KY     90013686731
27B2998424B281   MEIA         WINDHAM                      NE     90012189842
27B29A4339155B   LINDA        ARELLANO                     TX     75046280433
27B29A66A9184B   MARGARITA    RILLA                        OK     21061030660
27B2B538655957   ARACELI      JIMENEZ                      CA     90004195386
27B2B629531433   JACQUETEEN   PETERSON                     MO     27592706295
27B2B87644B261   TRISHA       DOWNEY                       NE     90011348764
27B3125319155B   CHRISTOPHE   GARCIA                       TX     75050772531
27B3145789189B   MARTIN       MCOLLUM                      OK     90014614578
27B31711572B42   ROBERTA      QUINTANA                     CO     90013467115
27B3221557B484   PANCHO       RODRIGUEZ                    NC     90004232155
27B3296999136B   BRIANNE      HUBBART                      MO     90010329699
27B3323A89189B   VASQUEZ      SERIO                        OK     90000102308
27B3335A691592   PAMELA       DOMINGUEZ                    TX     90013863506
27B3364494B588   ELEUTERIA    VENEGAS                      OK     90010966449
27B33A7AA72B42   SONJA        RUTHERFORD                   CO     33017290700
27B3429827B449   MERCEDES     FRANCO                       NC     90014742982
27B3433194B588   DAJANEAA     CRAINE                       OK     90013673319
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27B34421572B42   VANCE             WALKER                  CO     90010824215
27B34428293731   JASON             WHALEY                  OH     90013124282
27B34737772B88   OSCAR             HERNANDEZ               CO     33059437377
27B34A73185822   YOVAN             GUTIEREZ                CA     46098690731
27B34A91991828   LEEANN            DAY                     OK     90014600919
27B3538514B281   MICHAEL           WOODS                   IA     90010513851
27B3545235B271   SHERION           MACKLIN                 KY     90012034523
27B35753285822   LEONILO           CASTILLO                CA     90014477532
27B3592474B588   DONNA             JOHNSON                 OK     90011889247
27B362A8141245   PHYLLIA           TOBIAS                  PA     51086532081
27B37139A51369   SIMPSON           BONNER                  OH     90007211390
27B37262261992   KARL              BURCH                   CA     90004242622
27B3746244B553   VERONICA          GONZALEZ                OK     90012784624
27B37774A93731   ROBINSON          LAVONNE                 OH     90003707740
27B3822777B449   JOSE              RAMOS                   NC     90009282277
27B38484272B42   DELMAR            MARTINEZ                CO     90012584842
27B38524631631   NITASHA           RODRIGUEZ               KS     90014195246
27B3866A791592   DAMIEN            MCKENNA                 TX     90010946607
27B3882239189B   SANDRA            PATTON                  OK     21063198223
27B38A9285B571   JAVIER            RUIZ                    NM     35007690928
27B3918A691356   ESAU              AVARENGA                KS     29080371806
27B39764961963   MONICA            GERBELLA                CA     90014217649
27B39A67A91592   ELIZABETH         RIVAS                   TX     90011040670
27B3B263281637   MARISIA           MURILLO                 MO     90008622632
27B3B42AA31453   LESHELL           FAIR                    MO     90004934200
27B3B8A8872B88   JOHN              JACKSON                 CO     33021008088
27B41143285822   SUSANA C          NARANJO                 CA     90009111432
27B417A894B281   MELINA            BAEZA                   NE     27007277089
27B41A8A781638   TIFFANY           TYLER                   MO     90012710807
27B42475291592   FRNKIE            LERMA                   NM     90012154752
27B42546A76B69   PAUL              BELSON                  CA     90006665460
27B4288184B588   TERRY             WALLER                  OK     90014778818
27B42925672B42   JUAN              HIDALGO                 CO     90014639256
27B43165341245   ALICIA            PURTER                  PA     90007461653
27B4351327B425   JAQUELL AINJULL   BECKWITH                NC     90006975132
27B44187691592   JAMES             BROWN                   TX     90009621876
27B44457A5B161   COUNTIS           BURL                    AR     23063904570
27B44922881638   SULEYMA           ARAGON LEIVA            MO     90011989228
27B45179A72B42   JACOBI            TURNER                  CO     90013511790
27B4531455B161   YVONNA            ALEXANDER               AR     90010873145
27B45999391592   JAZMIN            VEGA                    TX     75061619993
27B45A99A81638   ALIYA             LOGAN                   MO     90013320990
27B46667772B29   DANIEL            TEODORO                 CO     90014166677
27B4679A755957   STEPHANIE         LOZANO                  CA     90006907907
27B46835191356   CHERYL            MEANS                   KS     29006408351
27B47184472B42   CARLOS            CARBAJAL                CO     90003861844
27B47237931631   SHELIA            LAPLANTE                KS     90002422379
27B47321A91356   MARIO             SOTO                    KS     29070903210
27B47588191241   ALLLISON          TUTEN                   GA     14532845881
27B4764774B588   SARAH             CLAUNCH                 OK     90014356477
27B47722491828   JHONASTIN         REYNOLDS                OK     90013887224
27B48196491241   ARTURO            HERRERA                 GA     90013451964
27B48754A91979   CARLOS            SANCHEZ                 NC     90010737540
27B48937891356   JOSE LOPEZ        GARCIA                  KS     29080819378
27B493A147B449   ROCHELLE          POOLE                   NC     90014743014
27B4966589136B   BRIAN             HOOVER                  KS     29095106658
27B49722491828   JHONASTIN         REYNOLDS                OK     90013887224
27B49A5AA31631   LAUREN            JANZEN                  KS     22005850500
27B49A79755957   FABIEN            LEDEZMA                 CA     90011550797
27B4B12592B27B   TIRU              BITUL                   DC     90010861259
27B4B14625B161   JANNEL            PARKER                  AR     23073891462
27B4B528A9184B   AMBER             ASHTON                  OK     21009435280
27B4B65754B582   LONSZETTA         BAIDEN                  OK     90011386575
27B4B91879155B   JESUS             RAMOS                   TX     90009279187
27B5154667B471   CARLOS            PAREDES                 NC     11014515466
27B521A1855957   ESTHER            NUNEZ                   CA     48089481018
27B52286381648   PATTY             PHILLIPS                MO     29070032863
27B52916276B69   CAROLINA          VARGAS                  CA     90007459162
27B5315A49189B   MARISOL           DELGADO                 OK     90008711504
27B53396181638   KEITH             TOLBERT                 MO     90003253961
27B53654191241   CHERINA           RIVERA                  GA     90012996541
27B53666572B29   MARIA             RODRIGUEZ               CO     90004916665
27B5371A824B43   ROLLINS           BEY                     DC     90011137108
27B53A16455957   LORENA            SILVA                   CA     90001270164
27B53A45191356   AMY               CRUTCHFIELD             KS     90013860451
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27B53A55672B29   PATRICIA     ROSA                         CO     90004470556
27B5447A491528   HERNANDEZ    JOSEPH                       TX     90001274704
27B5485617B449   SHAWN        CONNELL                      NC     90000318561
27B55399172B29   ROLANDO      VARGAS                       CO     33097003991
27B5542759136B   CHARLES      COTE                         KS     90010954275
27B5568219184B   CLIFFORD     WEBSTER                      OK     21083436821
27B55A42255957   CHRISTINE    WHITACRE                     CA     90001270422
27B561AA94B588   DAVID        GRISSOM                      OK     90010401009
27B5676219155B   MARIA DEL    MORALES                      TX     90000777621
27B56818591356   STACEY       COSTON                       KS     90004668185
27B5797788B137   COZETTE      SORENSEN                     UT     31024709778
27B57A11491241   NATASHA      COLLINS                      GA     90015150114
27B57AA4291592   NORMA        CASTILLO                     TX     90013930042
27B5875764B592   CLAUDIA      BRAVO                        OK     90011177576
27B5921164B261   WENDY        BESSE                        NE     90015202116
27B59422291833   KYISHA       LENTZ                        OK     90009544222
27B59771672B29   ISAAC        HERRERA                      CO     90012677716
27B5B712861992   JASON        HALLIBURTON                  CA     90013267128
27B5B755472B88   HONORIO      MELCHOR                      CO     33071167554
27B6124935B271   DANIELLE     SMITH                        KY     90012912493
27B613AAA4B521   GWENNETTA    TURNER                       OK     90002833000
27B6175935B271   YUSIEL       LEYVA PINA                   KY     90011177593
27B61836672B29   JUANA        MEDINA                       CO     90014178366
27B6197A39184B   LIAN         THANG LAM                    OK     90014569703
27B6218289794B   TIFFANY      WASHINGTON                   TX     74055371828
27B62781991356   LATASHA      WILSON                       KS     90011337819
27B63216455931   KENNETH      ATRAT                        CA     90005192164
27B63314291592   JACQUELINE   HOWARD                       TX     90014543142
27B6334115715B   MARIA        DEL CARMEN MARTINEZ          VA     81089553411
27B6339819136B   YADIRA       REYES                        KS     90011853981
27B63673272B29   ANDRES       LOPEZ                        CO     90014166732
27B6378949184B   ALBERTA      WATSON                       OK     21038007894
27B6444689155B   THOMAS       GREGORY                      TX     90011674468
27B64668485938   WILLIAM      SEXTON                       KY     90009666684
27B646A7A55957   GUSTAVO      RAMIREZ                      CA     90012296070
27B64812776B67   JAMES        BAYER                        CA     90000548127
27B65223591528   RAMON        ESPINOZA                     TX     90007152235
27B6541A791828   MICHAEL      MAXWELL                      OK     90007664107
27B65447391356   CODY         FOSSETT                      KS     90014894473
27B66484991241   DENNAYSHA    ROPER                        GA     90014484849
27B66A7495715B   CLAUDIA      OROSCO                       VA     90000240749
27B66A98691356   AMADOR       JUAREZ                       KS     29073820986
27B67299A5137B   PEGGY        NICE                         OH     90012132990
27B67595572B88   JERALYN      STANDING                     CO     90009945955
27B67742591241   HANNAH       BROWN                        GA     90014067425
27B67991172B29   BLANCA       RAMIREZ                      CO     90011829911
27B67A88455957   RACHEL       SANCHEZ DE CARRERA           CA     90015100884
27B67AAA12B27B   MADINA       CALLAHAN                     DC     90014790001
27B68396A91241   JOEPHINE     MINOR                        GA     90014503960
27B68457972B29   GORGE        GARSIS                       CO     90008704579
27B68A19372B88   JAYDEN       THOMAS                       CO     90013940193
27B6911A99189B   SANDRA       DEVILLE                      OK     90010351109
27B69A1879136B   KNYCOLE      HARPER                       KS     90000590187
27B6B1A122B27B   JULIO        LEMUS                        VA     90007241012
27B6B2A3972B29   DENNIS       NESBY                        CO     90013022039
27B6B351872B42   ANNE         PIERCE                       CO     33070283518
27B6BA26791592   LEONEL       DE LA CRUZ                   TX     90011000267
27B7133287B449   MARIA        SOLIZ                        NC     90008953328
27B713A879184B   ROXANNE      GIBBS                        OK     90014853087
27B713A9193731   LAMARK       FISHER                       OH     90005693091
27B7158865715B   ALBERTO      VALENCIA                     VA     81089565886
27B71A39676B69   EDVIN        MARTINEZ                     CA     90006670396
27B72198131631   HELENA       MARTIN                       KS     22005961981
27B72263A4B521   MINDY        HOOPER                       OK     90010732630
27B7249944B588   DAWN         CLOWER                       OK     90010274994
27B73475A55957   MARGARITA    PENA                         CA     90009504750
27B73622157157   TIANNA       WINBUSH                      VA     81015576221
27B73991776B52   STEVEN       ZAVALA                       CA     46032789917
27B7594624B281   JESSICA      HAJEK                        NE     27024689462
27B76296381661   JAIR         MELENDEZ                     MO     29015052963
27B76612284382   AMANDA       MADISON                      SC     90005996122
27B76813A81638   CARRIE       DUNLAP                       MO     29044748130
27B76934893731   TONYA        STEVENS                      OH     90013909348
27B77182291542   FILIBERTO    HERNANDEZ                    TX     90002181822
27B7725815B271   JONATHAN     HAMMACK                      KY     68021222581
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27B77447A5B35B   LAURA        HABER                        OR     44510724470
27B77685172B29   TAT          MINH                         CO     90014166851
27B778A4785639   JUAN         MARTINEZ LOPEZ               NJ     90010018047
27B77A44991833   LESLEI       HOUSTON                      OK     90001720449
27B78239491881   DEWAYNE B    BARNES                       OK     21035092394
27B7839869136B   MARIA        BETANCOURT                   KS     90014173986
27B78815591828   GUADALUPE    ESCOBEDO                     OK     90005788155
27B78925672B88   ANAHI        MIRANDA                      CO     90010299256
27B79292172B88   BERTHA       GARCIA                       CO     90002692921
27B79562441245   MELANIE      SMITH                        PA     90007505624
27B79618A72B29   KYLE         BARRON                       CO     33013286180
27B79865791241   ANTONIO      HAMILTON                     GA     90013598657
27B7B165893731   DASHAWN      RICE                         OH     90011191658
27B7B4A8143523   RUBEN        SOTO                         UT     31009604081
27B7B91399155B   SILVIA       CHACON                       TX     90014619139
27B7B94134B261   LINDENA      JIDE-JUBILEE                 NE     90005859413
27B8177987B449   LYNERA       INGRAM                       NC     11052497798
27B82625751369   AURELIO      MORALES                      OH     90007266257
27B82A7384B261   GUILLERMO    DOMINGUEZ                    NE     90012220738
27B8344319155B   YVETTE       CASTILLO                     TX     90013424431
27B83444481638   TARA         WEBB                         MO     90010994444
27B834AA94B281   CHELSIE      MCALLISTER                   IA     90009604009
27B835A6376B69   JEANNIE      DULAY                        CA     90010565063
27B8369729794B   CANDIDO      CANGAS                       TX     90010406972
27B8383645B57B   JOSEPH       BOYD                         NM     90011688364
27B83847591528   PERLA        LOYA                         TX     75044958475
27B83854472B88   JEREMIAH     MITCHELL                     CO     90010028544
27B83A5475598B   ELDA         MARTINEZ                     CA     90001360547
27B83A65772B42   NATASHA      SANTISTEVAN                  CO     90008930657
27B84177285822   JORGE        ESQUIVEL                     CA     90005381772
27B8448229155B   JOSE         ALVAREZ                      TX     90011674822
27B84591951329   RACHAEL      PFEIFFER                     OH     90006065919
27B84A43191592   JOE          B                            TX     90010180431
27B84A82A72B29   RICARDO      TAPIA                        CO     33010220820
27B85849372B42   COLE         WURL                         CO     33061828493
27B8597589189B   RODNEISHA    SMITH                        OK     90012499758
27B8614A472B29   PETE         BONEY                        CO     33017841404
27B8631139794B   KRISTAO      JOHNSON                      TX     90002563113
27B86588191241   ALLLISON     TUTEN                        GA     14532845881
27B868A925B271   GERARD       GREEN                        KY     68019128092
27B87274785822   SADAF        NEROMAND                     CA     90014752747
27B8733785B271   NIGHT        TAMBO                        KY     90015273378
27B87536A9374B   TRAVIS       TIPTON                       OH     66047675360
27B87669491356   SANTA        EMIGRIO                      KS     90014216694
27B87763391592   ZAMORA       TRANSPORT INC                TX     90003377633
27B879A9581661   JAMES        ETH                          MO     90013649095
27B88324391828   LINDSEY      BOSWORTH                     OK     90014713243
27B8884918B384   MONICA       RILEY                        SC     90012128491
27B88964872B29   JOHN         AXEL THEORINE                CO     33000599648
27B8897685B161   TONYA        HUNTER                       AR     90012549768
27B89395591592   JANET        TOVAR                        NM     90013693955
27B89634141245   JOSEPH       VAUGHN                       PA     51063886341
27B8985929155B   JOSE         CHAIREZ                      TX     90013098592
27B8B7A779155B   ELIAS        RIVERA                       TX     90005597077
27B91191A5B271   KELSEY       MOORE                        KY     90014701910
27B91211831437   LOIS         MOORE                        MO     90010122118
27B91438A41245   DAVID        DICKERSON                    PA     51054624380
27B915A2672B29   FEY          LAWSON                       CO     90014295026
27B9196444B261   BILL         BOS                          IA     27033899644
27B9197479184B   TONYA        TERRY                        OK     90015209747
27B91A8239198B   THOMA        JOHN                         NC     90007220823
27B92116872B88   FREDDY       SANCHEZ                      CO     90011211168
27B9228A157157   KAREN        QUINN                        VA     81015512801
27B9256A691592   VERONICA     MONTELLANO                   TX     90009405606
27B92687772B29   ROSHONDA     GERTIE                       CO     90014166877
27B928A9A9184B   ELENA        MUNOZ                        OK     90011478090
27B92A9794B588   LINDSEY      MORRIS                       OK     90013040979
27B9319139184B   KENDA        OSBORN                       OK     90012451913
27B933A397B449   ATIBA        RICHARDS                     NC     90014763039
27B9362194B281   RUSS         MYRICK                       NE     27037516219
27B93632881638   AMANDA       SMITH                        MO     29038476328
27B9388885B571   FAITH        PLATERO                      NM     90002668888
27B9489474B261   JENNIFER     HERSKIND                     NE     90011348947
27B94993391828   DANYELLE     SANDERS                      OK     90008579933
27B9537347B449   RAYDOMA      STCKEY                       NC     90014743734
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27B95621A5B271   KATHERINE    HALL                         KY     68093916210
27B95692972B29   LESLIE       SALDANA                      CO     90014166929
27B95AA6431453   MILLER       PETER                        MO     27560520064
27B96567231631   TERUA        BROWN                        KS     90014905672
27B9672679189B   LEONA        BARNES                       OK     90009297267
27B97117781638   GLORIA       HOOKER                       MO     29070201177
27B975A2184364   ANNETTE      ROLLERSON                    SC     19056885021
27B97632493731   DARION       BREWER                       OH     90009876324
27B97772791592   LILI         CAMACHO                      TX     75044677727
27B97A73A81648   LARRY        MCCOY                        MO     29025500730
27B98416A31631   GUSTAVO      CARRILLO CRUZ                KS     22063754160
27B985A684B281   VERONICA     FLORES                       NE     27008705068
27B98679A91592   IRMA OCON    MENDIVE                      TX     90012856790
27B98682981648   SARA         ARMENDARIZ                   MO     29016196829
27B9928549155B   ROSALBA      BARRIOS                      TX     90012792854
27B99533291528   ERIKA        CANO CALDERON                TX     90003275332
27B99537255957   DANETTE      GAYTON                       CA     90011645372
27B9B472781633   CARMEN       GONZALES                     MO     90014174727
27B9B85155B571   MARIA        TRUJILLO                     NM     35076878515
27B9BAA9593731   PAISLEY      ROBINSON                     OH     90008210095
27BB1387181646   TERA         BUTLER                       MO     90001333871
27BB1645472B29   SUJEY        JAUREGUI                     CO     90014166454
27BB1A1A59136B   TERESA       MADRIGAL                     KS     29063940105
27BB266597B484   LISVET       LOPEZ                        NC     90006836659
27BB2812631453   MIKE         MORRISON                     MO     27517188126
27BB2835793731   SHEENAN      PHIPPS                       OH     90012358357
27BB2979185822   ROSA         GARCIA                       CA     46004229791
27BB2A94755957   RENEE        BARBER                       CA     90001420947
27BB3173572B88   SCOTT        ALLEN                        CO     90014531735
27BB368879189B   EVA          BOWIE                        OK     90009286887
27BB3984A61935   ADELA        RODRIGUEZ                    CA     90010809840
27BB4139193731   ANDREA       MCKAY                        OH     64554861391
27BB4191391241   ALVIN        HOFFMAN                      GA     90012811913
27BB421779136B   OMAR         ANTONIO                      KS     29051212177
27BB432A581638   DWAYNE       HOLLINSHED                   MO     90015303205
27BB4655291356   MARIA        GUERRERO                     MO     29046476552
27BB47A1941245   MELISSA      MILIAUCKAS                   PA     51079967019
27BB5199184364   OSCAR        GONZALEZ                     SC     90006651991
27BB628155B571   ANTOINETTE   MORA                         NM     90012702815
27BB757579155B   ANTONIO      TORRES                       TX     75019415757
27BB767A181661   ROLANDA      ROULETTE                     MO     90009696701
27BB774A891592   FABIOLA      NEVAREZ                      TX     75004457408
27BB7A48981638   JACLYN       REDMOND                      MO     90007810489
27BB7A5859184B   MELONEE      WILLIAMS                     OK     21087670585
27BB814529155B   REBECCA      GARCIA                       TX     90007141452
27BB8522A2B27B   ELEASSIA     KINCAID                      DC     90014785220
27BB8918185938   PEGGY        WADKINS                      KY     90013119181
27BB8A65255957   ADAM         CLARK                        CA     90001010652
27BB911994B261   MARK         WEBER                        NE     90014261199
27BB9287A7B449   NATASHA      STUCKEY                      NC     90014742870
27BB9698531631   COREY        WRIGHT                       KS     22059076985
27BB9718561951   ISABEL       CHAVEZ                       CA     90006407185
27BBB25999794B   LUIS         TORRES                       TX     74011142599
27BBB395455957   RICARDO      CRUZ                         CA     90006603954
27BBB476431439   MOONEKE      WILSON                       MO     90013784764
27BBB9A3A5B271   EALY         DENISE                       KY     90015129030
2811115679184B   LARRY        LANG                         OK     21074571567
28112429A2B27B   CARLOS       FUENTES                      DC     90014174290
2811379267B449   JEWEL        GARDNER                      NC     90014047926
2811392625B161   HENRY        JOHNSON                      AR     90011549262
2811449A972B88   ARVIONNE     COLEMAN                      CO     90013934909
2811551A47B449   KEYLA        RUBY                         NC     90009055104
281157A3581637   MILTON       AJPOP                        MO     90001007035
28115A39431631   VICTOR       TRILLO                       KS     22096130394
28116511672B88   AURELIO      GARCIA                       CO     90013405116
28116556172B88   NAHUN        CANDIA                       CO     90011355561
2811655969189B   LAURA        MCCLAIN                      OK     90012145596
2811669614B281   SILVIA       BARDERAS                     NE     27009536961
28116793A7B449   JIMMY        ESPINOZA                     NC     90014047930
28117915A55957   DAISY        NEGRETE                      CA     90001229150
281194A1141245   KARMELL      HARRIS                       PA     51000604011
281195A7A5B271   JENNIFER     WATERS                       KY     68087035070
2811963A472B29   JAVIER       HERRERA                      CO     90011276304
2811B65337B471   DARLENE      POWELL                       NC     90012226533
2811BA8324B588   PATRICIA     NICKELBERRY                  OK     90008570832
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2812197114B988   JENNIFER      ORTA                        TX     90015449711
2812199854B261   DONALD        HORSCHAR                    NE     90014429985
28122527872B88   JAMES         JAMES                       CO     90004755278
2812263A572B88   ELIZABETH     MARIN                       CO     90013926305
2812364274B281   ROBERT        MORRIS                      NE     90013176427
28123813272B42   ALFREDO       CHAVEZ                      CO     33075228132
2812431585B271   JUAN CARLOS   SOSA                        KY     90013403158
2812433A54B281   ADAM          VINER                       IA     90012733305
2812474A72B27B   ANDRE         LEWIS                       DC     90015147407
28124847672B88   JOHN          PEREZ JR                    CO     90013628476
2812492255B161   CHASTITY      JONES                       AR     23080729225
28124A3575B571   MANUEL        NAJAR                       NM     35055510357
28124A9454B988   VALDA         JENKINS                     TX     90003870945
2812543334B988   CHAD          MILLER                      TX     90014964333
2812629274B988   CODY          ALLEN                       TX     90015392927
28126935A5B271   BEVERLY       JOHNSON                     KY     90006329350
281275A992B962   SINATH        PHEAP                       CA     90012055099
2812799454B988   WOODROW       GLAUDE                      TX     90012079945
28128686572B88   ALISSA        HANFF                       CO     90002176865
2812914819189B   EDIE          SULLIVAN                    OK     90009351481
2812918A14B261   REX           SCHMIDT                     NE     27062601801
2812986A94B281   YESENIA       MARTINEZ                    NE     27072488609
2812B29942B27B   BENJAMIN      BUSH                        DC     90014362994
2812B446431453   DEBORAH       OWENS                       MO     27566384464
2812B77319184B   DANIEL        PITTMAN                     OK     21016367731
2812B83615B571   ROY           THUNDERCLOUD                NM     90011708361
2813113989189B   ALICIA        BLEDSOE                     OK     90013861398
2813174935593B   MARTHA        CHAVEZ                      CA     48014047493
28131759472B42   PEDRO         CHAVEZ                      CO     90011877594
28131939972B29   ADRIANA       SOTO                        CO     90011779399
28131A32881691   ERIN          ASHBRROK                    MO     90010430328
28131A7724B281   JASON         BUCK                        NE     90013410772
28132A42757157   MARIA         ESPINOZA                    VA     90013380427
28133253A72B29   VANESSA       GALLEGOS                    CO     90015042530
28133266872B88   ALBERTO       MARTINEZ                    CO     33024552668
2813356469189B   BRYAN         PATRICK                     OK     90015195646
2813449555B271   DEMETRAA      LEWIS                       KY     90012524955
28135375A72B42   JESSICA       CHERNILA                    CO     90003323750
28135747A4B988   OSCAR         LARA                        TX     90015007470
281358A274B588   MIRANDA       ROSAS                       OK     90001258027
28135A2379184B   ANDREA        DENNIS                      OK     90013780237
2813682537B449   TAMIKA        GAMBLE                      NC     90014048253
28136938972B88   RICARDO       MENDEZ                      CO     90012019389
28136962A9184B   JESSICA       MACIAS                      OK     90009859620
28138378872B29   ROSA          PEREZ                       CO     90009253788
2813846635B271   COBY          DUNN                        KY     90014564663
28138856A5B571   DANIELLE      PADILLA                     NM     90013158560
2813B676772B42   LETICIA       ALVAREZ                     CO     90008466767
2813B78755B271   KAT           DADDY                       KY     90012347875
28141586A91241   ANTONIO       HERNANDEZ                   GA     90003435860
28141682A9184B   CLARISA       SOSAVILLANUEVA              OK     90014756820
28141A67751328   VICKI         TAYLOR                      OH     90005540677
28142369A91528   JULIE         SAENZ                       TX     90005713690
2814236A131453   MARIE         THEODORE                    MO     27513333601
2814245137B435   JAMAL         HUNTLEY                     NC     90013814513
2814265145B271   JOHNNIE       BONNER                      KY     90012366514
281427A955B571   APODACA       SHAHIN                      NM     90013087095
28142A62591241   C D B GREEN   READ NOTES                  GA     90008200625
28143717A4B588   OWOLE         LAWANI                      OK     90001047170
28143746672B29   KATHLEEN      VILLEGAS                    CO     90007507466
2814426774B281   CHARISMA      FLOWERS                     NE     90013932677
2814434659184B   SHAVONNE      WHITEHEAD                   OK     90011143465
2814593A25B571   NADINE        CRUZ                        NM     90011709302
28145A1779184B   WILLIE        SMITH                       OK     90010520177
28145A9642B572   ANTONIO       LARIOS                      AL     90014520964
2814617314B581   MARVIN        MONTERROSO                  OK     90000461731
28146493A5B254   BELINDA       JENKINS                     KY     90005614930
28146716372B29   NASTASSJA     TODD                        CO     33094577163
2814673A491241   SHIRON        WILLIAMS                    GA     90012817304
28146A4145B571   ANTHONY       SOTO                        NM     90008710414
2814728375B271   BARBARA       RICHARDS                    KY     90013652837
2814769686B931   ALI           GUNAYDIN                    NJ     90015226968
2814778694B521   DANA          BOLDING                     OK     90007357869
281482A564B281   OCTAVIEA      MCGHEE                      NE     90007582056
281483A477B449   MEREDITH      MUNGIN                      NC     11025353047
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2814B577972B41   JANEY          GRENZ                      CO     90014045779
2814B84857B347   LESLY          RUBI FUENTES               VA     81027958485
2814B89784B988   ASHLEY         ROWRY                      TX     90013308978
2814B988281526   CASSIE         ORCHOLSKI                  IL     90014769882
2815165824B281   ROBERT         WHITEMON                   NE     27057166582
28151A9695B571   TABITHA        TORRES                     NM     90003580969
281522A5691356   IVAN           OCHOA                      KS     90012252056
28152636772B29   MARIA          VILCHIS                    CO     33085566367
28153452572B42   RONDA          MENDEZ BURGOS              CO     90014174525
2815373735B571   ALFONSO        GRANADOS                   NM     35095067373
28153755172B88   ESTER          JUAREZ                     CO     90006447551
28153A69172B29   CHILITA        BETTS                      CO     90002920691
28154378872B88   JOSE           PARRA                      CO     90006753788
2815449232B27B   TYRONE         HUNTER                     DC     90014914923
28155392172B88   JEROAN         ADAMS                      CO     33054663921
2815551947B471   IRBEN          MAZARRIEGOS                NC     11079755194
28155A2A991356   EDGAR          ERAZO                      KS     90013080209
28155A8695B571   KATHLEEN       HAINES                     NM     90003440869
2815617522B27B   MARY           LINDSAY                    DC     81004971752
2815636AA4B988   ROBERT         GLISSON                    TX     90015333600
28156A42641281   CEDRICK        BRIGGS                     PA     90014990426
28156A79272B88   MANUEL         MACIAS                     CO     33091380792
2815833649794B   RAFAEL         ALVARADO                   TX     74004583364
2815834392B27B   ANTONIO        JEFFRIES                   DC     81006743439
28159278A41248   TRACY          LANE                       PA     90013402780
2815945175B271   RICHARD        LARGE                      KY     90004224517
2815B28A184382   DARLENE        LEDFORD                    SC     90009372801
2815B51A372B42   JENNIFER       TORREZ-HOLGUIN             CO     33081365103
2815B657791547   ISMAEL         CHAVEZ                     TX     75039226577
2815B712491828   TYSHEKA        ELLIS                      OK     90008767124
2815B864231453   CHARLES        COGSHELL                   MO     90010718642
28161967576B69   MARY           POCKRANDT                  CA     90011779675
28162AA2A5B571   ALFONSO        DEOCAMPO                   NM     90013300020
281633A5957157   MORENA         ALAS                       VA     90013933059
2816352794B531   EDWIN          GONZALEZ                   OK     90013365279
2816395572B86B   DORA           STINNETT                   ID     42090479557
2816433A95B181   MONICA         NADEN                      AR     90009803309
2816438A72B27B   VALENCIA       ADAMS                      DC     90011523807
2816458827B449   JAMES          HARRIS                     NC     90014095882
2816577595B161   MARIE          SNEED                      AR     90012697759
2816578A29184B   NORBERTA       OJEDA                      OK     90006117802
2816637444B281   DENNIS         LOGUE                      NE     90013963744
28166431172B42   ELIZABETH      THORSTENSON                CO     90000104311
2816661754B988   TRACY          BARNES                     TX     90013866175
28166626872B29   MARTHA         RAMIREZ                    CO     90008826268
28166A46181633   JORGE          MARTIENEZ                  MO     90012470461
28167739672B29   LINDSEY        WYATT                      CO     90009577396
2816894384B233   DENNIS         CURTIS                     NE     90009219438
28169296172B88   CHRIS          RAKES                      CO     90002432961
2816934A24B281   NIKKI          HOLLINGSWORTH              NE     90013513402
2816B245861982   MURUGANANDAM   JAYABALAN                  CA     90010462458
2816B354481637   LISA           JONES                      MO     90012273544
2816B518A2B27B   JENNIFER       GARCIA                     DC     90011405180
2816B868591547   JORGE          DIAZ                       TX     90013918685
28172226797B41   RONDA          REDMAN                     CO     90012772267
28172249A72B88   CYNTHIA        SCOTT                      CO     90011692490
28172A48193767   RENATA         WARD                       OH     90013860481
2817378335B161   ANTWON         THOMAS                     AR     90012817833
2817457595B271   DOUGLAS        KEY                        KY     90014035759
2817541A791833   VIKKI          MORGAN                     OK     90007604107
28175422A72481   DANA           DILLARD                    PA     51017324220
2817564159189B   MATHEW         BAILEY                     OK     90009256415
2817573829184B   JAMIE          WOOD                       OK     90012827382
2817622A49189B   SHERRY         BRADSHAW                   OK     90001652204
28177134A72B29   CELIA          QUINONEZ                   CO     33050501340
2817718985592B   AUGUSTINE      GARCIA                     CA     90008151898
281773A4641455   MARCIA         RAMEY                      WI     90011613046
28177636272B88   JERMIAH        SYRON                      CO     90013086362
2817787785B271   ERNEST         KING                       KY     68066638778
2817811A881633   JEANINE        LEVY                       MO     90012861108
2817911684B261   SAMANTHA       GINTZ                      NE     27068521168
28179491872B88   SAUL           CASTANEDA                  CO     90013934918
28179667A7B449   TIFFANY        MOORE                      NC     11012886670
2817969125B571   VIRGINIA       GALLEGOS                   NM     90009516912
2817997384B988   PAYGO          IVR ACTIVATION             TX     90015189738
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2817B117772B42   BRUCE          RUSSELL                    CO     33051471177
2817B552891356   FLOR           GARCIA                     KS     90009805528
28181872454B32   DARRELL        FLYNN                      VA     90004048724
2818196184B261   MONIQUE        CLEMENTS                   NE     90000809618
2818248A92B27B   JASMINE        JOHNSON                    VA     90009954809
2818362239794B   PAMELA         MCMILLEN                   CO     74003446223
2818372A372B88   NIKOLAS        ADAMS                      CO     90014817203
2818381629189B   SHELLY         TUMMONS                    OK     90014728162
2818434A881633   JUANITA        JACKSON                    MO     90005833408
281844A3891833   KIMBERLY       REAMEY                     OK     90007484038
2818463A572B88   ELIZABETH      MARIN                      CO     90013926305
2818467275B271   MATHEW         RICHARDSON                 KY     90014416727
2818493665B571   GLORIA         CHAVEZ                     NM     35092489366
2818574755B161   LISA           COLEMAN                    AR     90009787475
2818578889189B   TAMI           HARRIS                     OK     21009037888
2818617932B27B   KESHAUNA       MUHAMMAS                   DC     90010401793
281868A5991828   MELVON         WHITE                      OK     21002868059
28187549772B35   DAVID          MONTOYA                    CO     90003545497
28187A4672B27B   GREGORY        SPRIGGS EL                 DC     90004440467
2818837654B988   JUAN           DE LA CRUZ                 TX     90013383765
2818871654B281   MISS           RUSSELL                    NE     90000817165
281888A8191592   MELISSA        MONZON                     TX     90010738081
2818B62AA6B649   DESTINY        JOHNSON                    KY     90014616200
281918A424B281   TUAN           NGUYEN                     NE     90005158042
28191A89581637   JAYME          SHARP                      MO     90002530895
2819259A451328   LAVINA         BROWN                      OH     66011455904
28192A8635B571   YVONNE         SANDOVAL                   NM     35071970863
28193A41A57157   HIRAM          RIVERA                     VA     90009920410
28194A1195B271   JOSHUA         DILLANDER                  KY     90013610119
2819541795B271   ANGELA         ALDRIDGE                   KY     68057174179
28195489A4B531   ELAINE         HODNETT                    OK     90012224890
281957A4481633   SAMUEL         GUTIERREZ                  MO     90015127044
28195A3154B521   BRIAN          CRANFORD                   OK     90012370315
281962A6A81633   ALEX           PASAYES                    KS     29081432060
2819693184B281   CINDY          PICKENS                    NE     90005379318
2819781979184B   JENNIFER       HUGHEY                     OK     90004098197
28197A2634B588   SAUNDERA       HOPGOOD                    OK     90009970263
2819827452B222   BRASHAR        JAMES                      DC     90012172745
2819848842B27B   STEVEN         MCPHERSON                  DC     90002174884
28198574A77534   DARLA          WARD                       NV     43091635740
2819869A73B35B   JAHMEL         NORRIS                     CO     90014186907
28198A24751328   REBEKAH        KILBURN                    OH     66009040247
2819921359184B   KATY           COLLINS                    OK     90010472135
281994A754B988   TAMMY          ROCKA                      TX     90010954075
2819952972B27B   MARCY          THORTON                    MD     90015405297
28199918A57157   JOSE           GUZMAN                     VA     90015319180
2819B111691547   CHRISTOPHER    CASTILLO                   TX     90011151116
2819B119431453   PRISCILLA      PATTERSON                  MO     90011071194
2819B249A72B88   CYNTHIA        SCOTT                      CO     90011692490
2819B52245B571   JULIETTE       BALDONADO                  NM     35089285224
2819B54565593B   CAROLYN        LONG                       CA     90012235456
2819B734272B88   AMANDA         VAUGHN                     CO     90012667342
2819B755A91828   JOSH           WOODS                      OK     90004957550
281B1132761979   AMIRA          AZZU                       CA     90001331327
281B116622B27B   DENNIS         CASTELLANOS                DC     90015001662
281B133234B588   NICOLE         CONALLY                    OK     90003653323
281B142A45B271   SHIRLEY        WILLIAM                    KY     90010144204
281B172A17B422   CHRISHAWNA     HAMMOND                    NC     90013997201
281B176689184B   ELYSSA         WHITE                      OK     90013717668
281B1AA9757157   NATHANIEL      ROSS                       VA     90002600097
281B2333A72B88   JOSE           GALLEGOS                   CO     33016053330
281B241A32B27B   YULONDA        HALL                       DC     90010804103
281B253A357157   OSCAR          MAJANO                     VA     90010315303
281B2723281633   JOSHUA         HEMBERGER                  MO     90011107232
281B2877877355   CALESTINE      STRAIN                     IL     90003998778
281B3296A31631   TRACY ELAINE   BOWEN-KHAMALA              KS     90011562960
281B3353191528   DANIEL         MUNOZ                      TX     90005713531
281B3595143551   JOSE           GARZA                      UT     90009155951
281B36A954B588   MAYRA          GUTIERREZ                  OK     90011946095
281B3814791241   JACQUELINE     ECHOLS                     GA     90011258147
281B3856691241   NATHANIEL      BRACK                      GA     90014788566
281B3878141245   TAMMI          DICK                       PA     51027708781
281B423333B35B   CRISTIAN       RAMIREZ                    CO     90011042333
281B4668191828   KAREN          PUCKETT                    OK     21059586681
281B4877877355   CALESTINE      STRAIN                     IL     90003998778
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281B5364631631   CRISTAL       PEREZ                       KS     90008123646
281B538117B471   MARYJOSE      VELASQUEZ                   NC     11077353811
281B632737B399   NADIA         REANGBER                    VA     90009823273
281B639329189B   CORTNEY       TAYLOR                      OK     90014473932
281B662215B271   CALHOUN       JOSHUA                      KY     90004836221
281B6662A9155B   ANGEL         ARZATE                      TX     75051116620
281B736113B333   NICOLE        TOWNSEND                    CO     90011363611
281B7598791547   JOANA         PULGARIN                    TX     90015175987
281B8559872B29   ELDA ISABEL   CHAVEZ-ORTEGA               CO     90008825598
281B85A3785965   ANNIE         HALL                        KY     66062045037
281B876A44B261   MARTHA        ZABALETTA                   NE     90007047604
281B918547B259   MELA          BORREGO                     NM     40517261854
281B983434B234   LYNAE         HANSON                      NE     27061598343
281B9A88872B42   JENNIFER      CHAVEZ                      CO     90011720888
281BB665191828   MARSHA        MCNEILL                     OK     21001326651
281BB795291833   BRANDY        TIDWELL                     OK     90014877952
281BB876631453   MYRA          DAVIDSON                    MO     90014658766
28211431672B42   JULIO         CESAR                       CO     90015184316
2821143AA2B27B   VONNIE        GREEN                       DC     90014614300
282116A539184B   RICHARD       POPER                       OK     90013516053
2821234A32B226   PATRICIA      BISHOP                      DC     90013003403
2821238347B471   MARTIN        HAMILTON SR                 NC     11030853834
2821256464B261   MICHAELA      SANDOVAL                    NE     90014865646
2821355A172B88   CARMEN        ROBREDO                     CO     33001915501
28214A15772B29   MARIA         PEREZ                       CO     33091840157
2821572315B161   ROCHELLE      NOONER                      AR     23073217231
2821614264B588   MATHEW        HITSMAN                     OK     90010981426
28216284272B29   ERIC          ARELLANO-DOMINGUEZ          CO     90015042842
28217198A81633   FELICIA       LOPEZ                       MO     90011311980
28217634A7B449   GILSI         MOTINO                      NC     90005766340
2821764894B988   TAMMY         SELF                        TX     76583316489
282177A8431453   TYRONE        LESLIE                      MO     90010247084
2821823555B571   PEREZ         JESUS                       NM     90000702355
2821834394B261   STEVE         BROWN                       NE     27088973439
2821866619155B   JULIA         CALZADIAS                   TX     90006636661
28219115372B29   FRANCISCA     MARTINEZ                    CO     33095301153
282193A8181638   LORENZO       FLECHER                     MO     29016633081
282196AA157157   EUGENIO       HERNANDEZ                   VA     90002316001
2821B159951328   SEAN          EVANS                       OH     90011941599
2821B965351338   TERRI         HAMILTON                    OH     90009659653
28221245A91592   JULIO         GOMEZ                       TX     75047582450
2822145174B281   PAYGO         IVR ACTIVATION              IA     90013174517
28221494272B88   MIGUEL        RAMIREZ                     CO     90013934942
282217AA191547   MANUEL        PADILLA                     TX     75080887001
2822252122B27B   BETHLHAM      ARGAW                       DC     90012475212
2822256239184B   CURTIS        JONES                       OK     90013785623
2822293A757157   LARIZA        MERCADO                     VA     90013369307
282242A8371925   COLLEEN       CRAGOE                      CO     90001722083
2822433A291528   MARIA         MORENO                      TX     90001943302
2822476315B243   THERESE       BOSH                        KY     68074627631
28224A7A276B4B   HUGO          SANCHEZ                     CA     90009680702
2822634795B271   NOBERTO       GUZMAN                      KY     90010753479
2822673655B271   JANINE        PEREZ                       KY     90015217365
28226879A4B261   FAUSTINO      LOPEZ-BARCENAS              NE     27059268790
2822763882B27B   MERCEDES      CASTILLO                    DC     90003966388
2822852A49184B   OSCEOLA       FOX                         OK     90012435204
2822912349794B   SAMMY         CAMPOS                      TX     74073231234
2822923165B271   SHANNON       HURT                        KY     90009272316
28229246672B42   AMY           MCKEE                       CO     90006262466
2822B85795B271   JAZMINE       TRICE                       KY     90013778579
2822B88225B571   DIANA         SOLIS                       NM     90014618822
2823182774B988   ROBIN         HALLAHAN                    TX     90012488277
28231A76331453   AMY           PITSCHNER                   MO     90014670763
28232561176B69   JOVANHY       MARTINEZ                    CA     90011595611
2823285745B271   CRISTY        ASHLEY                      KY     90006368574
2823288535B571   DAVID         BACA                        NM     90014618853
2823289397B449   TERENA        DUMAS                       NC     90014088939
28232A43185991   REBECCA       KIDWELL                     KY     66010750431
2823388645B571   REZHANE       MCNAIR                      NM     90014618864
28233892A72B35   DEBI          WALTON                      CO     33068978920
28234996772B29   MARIA         GONZALEZ                    CO     90007099967
282349A455B271   LAWANDA       FOSTER                      KY     90012849045
2823547485B271   SANDERS       MEGAN                       KY     90006934748
2823697794B588   ITZEL         CERVANTES                   OK     90012279779
282379A685B271   KENNETH       RUFF                        KY     90013009068
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2823817863B35B   MARIA             DURAN                   CO     33063631786
2823839965B571   HULL              RENELL                  NM     90000703996
2823852269184B   CHRIS             RIOS                    OK     21026125226
2823927329189B   SHELBY            THOMIS                  OK     90009342732
2823947935B342   KYLE              SMITH                   OR     90014784793
2823967566364B   PAYGO             IVR ACTIVATION          MO     90011386756
28239A25A9184B   CORRIAN           KAUFMAUN                OK     90011050250
2823B1A914B988   RONNIE            BANKS                   TX     90011391091
2823B29117B449   JAQUARN           WALLALE                 NC     90014152911
2823B637693727   MARIAH            WILSON                  OH     90011376376
28242286772B88   ZANE              SCHAFFER                CO     90011692867
282423A8257157   MARNIE            LARY                    VA     90002383082
2824245464B588   CHARLES           BLOODWORTH              OK     90012734546
28243A73351328   ROSARIO           MAZARIEGOS              OH     90011810733
2824437A876B69   DAVID             NICHOLS                 CA     90008633708
28244A32491592   LINDA             KOLOKOLO                TX     90006840324
2824515789184B   HEAVEN            JONES                   OK     90003441578
2824598899189B   MARTIN            VILLAVISENCIA           OK     90010069889
28246536772B42   SYLVIA            SANCHEZ                 CO     90013225367
2824729A45B271   RON               SPADIE                  KY     90013932904
2824816A19189B   RAFAEL            SAAVEDRA                OK     21000021601
2824817474B588   JAMES             CUNNINGHAM              OK     21578421747
2824819765B161   COREY             BAILEY                  AR     23092061976
28248921872B25   YAVICELA          RIZO MUNOZ              CO     90005509218
2824933819189B   TOBY              SOLOMON                 OK     90015113381
2824951419184B   GWENDOLYN         MCINTOSH                OK     90002275141
28249761572B88   MARIA GUADALUPE   MUNOZ                   CO     90013297615
28249A39431631   VICTOR            TRILLO                  KS     22096130394
2824B236857157   MINUETTE          BROCK                   VA     90010392368
2824B246A4B261   JOEL              TRIANA                  NE     27019932460
2824B34134B581   STANLEY           ABEL                    OK     90010163413
2824B585991592   MARTHA            FABELA                  TX     90014655859
2824B637272B88   LUIS              MURO                    CO     90013926372
2824B688391828   CRYSTAL           ROBOL                   OK     90014756883
2824B975672B88   MARGARITA         ABARCA                  CO     90013529756
2825119784B261   VALERIE           MCDOUGLE-GABA           NE     90006841978
2825168959199B   ASHLEY            STANLEY                 NC     90001096895
2825271424B521   HARVEY            LYNN                    OK     90008357142
28252A2A172B42   MA. TERESA        LOMELI-DIAZ             CO     33032640201
2825366A772B88   ANGELA            FLORES                  CO     33055576607
282538A2931453   FELICIA           LARKINS                 MO     90009928029
28253A2A52B27B   EARL              JOHNSON                 DC     90012800205
28253A75191241   SHAWANA           PINKSTON                GA     90013400751
28253A96A25144   EDDIE             GALTFELTER              AL     90014560960
282542A1851322   JAMES             HELTON                  OH     90009892018
2825461A981637   MILES             DEAN                    MO     90005396109
28254A35972481   WILLIAM           NICHOLSON               PA     90011690359
282553A354B588   ANGELIA           HITSMAN                 OK     90010213035
28255889872B42   NORA              JURADO                  CO     90015118898
2825666453B356   LYNN              HILL                    CO     33085516645
2825742714B261   MICHEL            HOLEMAN                 NE     90013374271
2825745112B27B   GREGORY           MULDROW                 DC     81014724511
28258299A72B29   AYALA             GONZALEZ                CO     90015042990
282584A3791241   ALFRED            PERRY                   GA     90014784037
28258658172B29   GILBERT           VALENZUELA              CO     90005676581
2825953A34B588   JOHN              GRAHAM                  OK     90014885303
28259565A91542   RICARDO           MONZON                  TX     90013565650
28259A8534B281   RUDEY             BISSONETTE              NE     27016080853
2825B779A85965   LORI              FRANKLIN                KY     90005717790
2825BA29872B29   ISRAEL            GARCIA                  CO     90010740298
2826117A74B588   SARAI             RODRIGUEZ               OK     90014611707
2826169139189B   ELVIRA            PUGA                    OK     21031206913
2826233594B588   BRIANNA           ROBERTS                 OK     90013783359
2826288134B521   DAVID             ALEGRIA                 OK     90007398813
2826351235B271   RYAN              TERRY                   KY     90014935123
2826492735B571   JONTELLE          LEYBA                   NM     90014619273
2826566A34B588   KATHERINE         JACKSON                 OK     21578966603
2826585614B261   XAVIER            CHAIDEZ                 NE     90013258561
2826629464B261   MICHAEL           ROGERS                  NE     90012682946
2826632365B161   TABITHA           COFFER                  AR     90010843236
2826664424B588   JENNIFER          STARK                   OK     90012536442
28266AA2A31631   MARK              STRUBLE                 KS     22030740020
2826739124B588   JEFF              GORDON                  OK     90015533912
2826766A12B27B   DOMINIC           ISHMELL                 DC     90014756601
2826858185B571   AMANDA            WRIGHT                  NM     35057585818
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2826871414B588   MARIELA      HERRERA                      OK     21548937141
28269317A91356   MICHAELLE    BROOKS                       KS     90014193170
28269998376B67   JOHN         SORTOME                      CA     46016899983
282699A8231453   MYRA         TAYLER                       MO     27585989082
2826B162736B77   LA NAUNG     LAHTAW                       WA     90015361627
2826B169772B42   CARLOS       ORTIZ                        CO     33080641697
2826B25714B548   LEON         AWES                         OK     90010002571
2826B82339189B   MARIANA      SANTOS                       OK     90012828233
2827134815B271   NANCY        ESTES                        KY     68075613481
2827187147B449   ELMER        MARTINEZ                     NC     90010748714
2827225314B261   YOLANDA      DELTS                        NE     90013952531
28272349272B29   ISAAC        SMITH                        CO     90000363492
2827284A791592   FERNANDO     YANEZ                        TX     75095558407
28272A14691547   KIMBERLY     VICK                         TX     75051100146
282731A589184B   JAYVIS       SPENCE                       OK     90015071058
28273476872B29   ANGELA       GUTIERIEZ                    CO     33067954768
2827396A281633   RONJALO      DIXON                        MO     90014159602
282741A997B471   KATIE        SIEKKINEN                    SC     90008101099
2827437A69155B   SILVIA       LOPEZ                        TX     75025623706
28274675A4B988   KARL         FRAGSTEIN                    TX     76577136750
28276293872B88   RUBY         VALDEZ                       CO     90010972938
2827737882B23B   BROOKE       PLEAS                        DC     90008063788
2827778582B27B   EJIKE        NWANKWO                      DC     90007367858
28277A12A31453   LADONNA      SMITH                        MO     27508150120
282782A6A85965   AMY          COOK                         KY     66024392060
2827865A191528   MONICA       GARCIA                       TX     75048376501
2827876715B161   JANET        HALL                         AR     23053517671
2827897326193B   ANDREW       LISK                         CA     90008859732
28278A39831631   JOHN         ROBINSON                     KS     90000130398
28278A4119376B   JAMES        WALKER                       OH     90000320411
2827995439189B   CHRIS A      MARTIN                       OK     21034199543
28279A62691592   LETICIA      MORENO                       TX     90012840626
2827B384951328   RASHID       TAYIDI                       OH     90014673849
2827B63755B271   JOESPH       HART                         KY     90014036375
2827B668891828   KEJUAN       HUGHES                       OK     90010286688
2827BA61191547   SAUL         TERESO                       TX     90010310611
282814A125B571   BEN          SANDOVAL                     NM     90011714012
282822A7791828   STEVEN       GUTEKUNST                    OK     90012112077
2828265637B471   ALEXANDER    PORTER                       NC     11083146563
2828271214B988   JESSICA      CRABTREE                     TX     76563797121
28282716236B77   FRED         QUALLS                       OR     90014357162
28282A28881638   JACINTA      THORNTON                     MO     29001470288
28283839A51328   JAMES        HALL                         OH     66058898390
2828432AA4B588   MARY         PATTERSON                    OK     90015173200
2828455A291241   ROBIN        YOUNG                        GA     90014055502
28284839A51328   JAMES        HALL                         OH     66058898390
282852A6591547   DIANA        GUERRA                       TX     90011522065
28285645472B29   GONZALEZ     VICTOR                       CO     90007156454
28285A57591356   MIGUEL       AGUILAR SANTIAGO             KS     90010420575
2828679635B271   ANDRA        WOODS                        KY     90013837963
2828784799374B   AMY          LEWIS                        OH     90008178479
2828788364B281   ANGELA       CUNNINGHAM                   NE     90013488836
282885A2757157   TOMMY        HOLIDAY                      VA     81048625027
28288853A5B571   RACHEL       BROWN-WALKER                 NM     90005448530
28288AA6891241   TANYA        GADSON                       GA     90014790068
2828911957B449   SAMERRA      CLOTTER                      NC     90014931195
2828912929189B   KELLY        COYLE                        OK     90000901292
28289425A57157   PRINCESS     KABBA                        VA     90000594250
2828B37464B261   CHRIS        BURNS                        NE     27030753746
2828B949376B69   LEANARDO     CHAVEZ                       CA     90011159493
2828B99927B449   PETRON       ESCOLANTE                    NC     90008169992
2829148139189B   BRYAN        GIBSON                       OK     90014014813
2829245A391833   DOROTHY      MAYHUE                       OK     21087524503
2829262982B27B   CARL         DADE                         DC     90012736298
28292A48891241   JEREMY       SIMS                         GA     90014790488
2829334869184B   CHARLES      TAFF                         OK     90014983486
28293753A54121   FAITH        BOOTH                        ID     42079907530
28293835572B88   DAN          BROADER                      CO     90013488355
28293A37593742   CHINAH       POWELL                       OH     90008850375
28294516872B88   LORENZO      MORENO                       CO     33054645168
2829491A581633   MONTGOMERY   LAWSON                       MO     90013519105
2829517AA31453   JOHN         TERRY                        MO     90007011700
2829527274B261   CURRY        DAVIS                        NE     90012152727
28295355A91547   ADRIAN       LOPEZ                        TX     90014673550
2829555AA91592   SEBASTIAN    GONZALEZ                     TX     90007325500
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28295A48891241   JEREMY          SIMS                      GA     90014790488
28298733A4B588   ERIKA           COLEMAN                   OK     21554027330
2829885265B571   VIRGINA         CALABAZA                  NM     90006688526
2829947244B261   JOSE            VAZQUEZ GUTIERREZ         NE     90015124724
282994A8891828   LEAH            MORTON                    OK     90012694088
2829975824B588   DEREK           FORSHEE                   OK     90013587582
2829981329189B   PATRICIA        GAINES                    OK     21063268132
28299A47A57176   CARLOS          PEREZ                     VA     90008960470
2829B3A9772B29   ROBERT          YOUNG                     CO     90015043097
2829B667891589   ROBERTO PABLO   FLORES                    TX     90002906678
282B11A6881638   ARETHA          BROOME                    MO     29085541068
282B1278172B29   MARIA           AGUILERA                  CO     90015042781
282B1312851328   RICKY           SIMMONS                   OH     90010973128
282B146714B988   JORDAN          BERNARD                   TX     90013144671
282B21A3172B88   LORI            CURTIS                    CO     33054661031
282B244734B52B   LADONNA         WILLIAMSON                OK     90006924473
282B279125B271   TONSHAY         PORTER                    KY     90009567912
282B2838276B69   RUTH            NAVARRO                   CA     90008838382
282B3442157157   LISA            SMITH                     VA     90009284421
282B354934B588   SHERAYA         BRIGGS                    OK     90013825493
282B3785451328   SHELLEY         BOOKHEIMER                OH     66098927854
282B3AA6772B88   MARGARITA       LORATOS                   CO     33046280067
282B3AA975B161   BRANDI          NALLEY                    AR     90011550097
282B4858891592   VERONICA        MARTINEZ                  TX     90007888588
282B5528476B62   JOSE            PANDURO                   CA     90001755284
282B7139772481   KARLTON         DENNIS                    PA     51017361397
282B7227851358   BRANDON         DRAKE                     OH     90003452278
282B7698531631   JENNIFER        SMITH                     KS     22069786985
282B7947451328   MIGUEL          NAVRRO                    OH     90014979474
282B811A657157   TAWANDA         BOGGS                     VA     90014901106
282B831834B281   CARLOR          GRAHAM-WESTBROOK          NE     90000483183
282B9472172B88   FRANSISCO       CEBALLOS                  CO     90014734721
282B9695457157   WINFIELD        DEPPE                     VA     90011976954
282B974239794B   JUAN            HERNANDEZ                 TX     74073227423
282B9776A41245   DANIEL          DONAHUE                   PA     90011217760
282B98A319184B   TERRANCE        GILLEY                    OK     21081228031
282BB299381633   CURTIS          HARRIS                    MO     90012682993
282BB735261985   OSCAR           COBIAN                    CA     90010417352
282BB756657157   JOSE            ORELLANA                  VA     90014587566
282BB843591241   AMIRA           BACON                     GA     90014748435
2831144A19184B   KIMIKO          BROWN                     OK     90013724401
2831157277B449   DANIA           MCCRAY                    NC     90011085727
2831266484B988   YIMIN           HE                        TX     90012346648
28312A9217B449   FRED            SUDDUTH                   NC     90013340921
2831315992B27B   ALISHA          BARNES                    DC     81080001599
2831372785B161   TYWANNIA        WILSON                    AR     23084287278
2831455A751353   JANE            MORRIS                    OH     90008865507
2831458815B271   DANIEL          VARGAS                    KY     68082865881
2831487155B571   MARIA           CAMERENA                  NM     35070378715
283164A944B261   JOSE            MEDINA                    NE     27080494094
283167A1791241   FRANK           ELMORE                    GA     90012467017
283178A614B261   JAVIER          GARCIA                    IA     27094258061
2831847765B571   BEATRIZ         CHAVEZ                    NM     90010244776
28318775A7B449   KENISHA         MILLER                    NC     90014097750
2831912885B571   DOMINIQUE       LARRIBAS                  NM     90010871288
2831963335B271   SHAWNA          HAUDENSHILD               KY     68037846333
283197A1672B29   MYRA            B                         CO     90011277016
2831981A572B29   TEMESGEN        BERAKI                    CO     33062578105
2831B24155B161   SAM             CARROLL                   AR     23060802415
2831B24454B261   NICOLE          SCARBORO                  NE     27009812445
2831B415691592   LAURA           ALCALA                    TX     90012314156
2831B43552B987   JOHNNY          BADIE                     CA     90005074355
2831B49AA4B988   DAVID           DUVAL                     TX     90009134900
2831B59197B471   OSCAR           AREBALO                   NC     90001765919
2832228994B281   RANDALL         TOMSU                     NE     90013452899
28322366872B88   MARIA           CHAVEZ                    CO     33006483668
28322829A91592   OYUKY           HENRIQUEZ                 TX     90010738290
28322A2444B261   MANUILA         JOHN                      NE     90014560244
28322A83A41245   BENJAMIN        COCHRAN                   PA     51046410830
2832334897B422   NOEL            EWING                     NC     90013793489
28324216476B69   EDGAR           DIAZ                      CA     46030262164
2832496A991241   THOMAS          MUTCHERSON                GA     90012759609
28324998172B29   JOHN            ALMAGUER                  CO     90008729981
2832562AA5B571   VIDAL           RODRIGUEZ                 NM     90006136200
28325A6554B281   SANTIAGO        VALADEZ                   IA     27090770655
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2832665455B271   STACY            BECKHAM                  KY     90012446545
283266A1872B42   MARIA            ELIAS                    CO     33090876018
2832749114B281   CARLOS           REYES                    NE     27001044911
283278A924B588   MELVIN           LEWIS                    OK     90009318092
28328236A51328   JOSHUA           PETERS                   OH     66047102360
2832896655B161   LATASHA          BEST                     AR     90004819665
28329321372B29   ASHLEY           CORONADO                 CO     90015043213
283295A584B588   RITA             ROBERTS                  OK     90003035058
2832B154A31433   JEANNINE         MCFADDEN                 MO     90004611540
2832B36362B27B   KELLY            EDDINGS                  DC     90014693636
2832B779791592   GENARO           FIGEUEROA                TX     75010797797
2832B93214B281   YOLANDA          VALENCIA                 NE     27046369321
28331126672B42   ANDRINA          LEAHY                    CO     90012111266
2833169944B281   CONNIE           COCO                     NE     27012906994
28331A3987B449   TANYA            TURNER                   NC     11049400398
28331A75191241   SHAWANA          PINKSTON                 GA     90013400751
28332571872B88   LETICIA          HERRERA-MENDOZA          CO     90014775718
28332867A57138   SANTOS RUAL      PORTILLO                 VA     90013868670
28333321572B42   GRANT            NICHOLSAN                CO     90012903215
2833376A591547   ALEJANDRO        VALENZUELA               TX     90005847605
28333A24A4B281   ROSHEA           JONES                    NE     27000140240
28333A75151328   DELVIN           HARRIS                   OH     90014760751
28334623A5B571   PATRICIA         MADRID                   NM     35065086230
28334655A87B87   E                MCMAHAN                  AR     23024486550
2833528A64B588   JANET            VELASCO-MARTINEZ         OK     90013572806
2833554865B177   AMBER            HARRIS                   AR     90010935486
28335639A91547   VICTOR           MATA                     TX     90005576390
2833569A17B449   VICKIE           GRIER                    NC     11058636901
28335A68881633   JERQUAN          BOTLEY                   MO     29094040688
28337923472B42   HERIBERTO        NAVA-MARTINEZ            CO     90013259234
2833867814B588   EDWINE           TISDALE                  OK     90013006781
2833877664B267   MICHELLE         WORLEY                   NE     90008987766
28338A4A59184B   RAQUEL           CONN                     OK     90012970405
2833B4AA231453   DANIEL           MENDEZ                   MO     90011564002
2833B64789155B   VERONICA         PEREZ                    TX     75091576478
2833B832172B29   BRYAN            DECKER                   CO     33000208321
28341A6769189B   VICTORIA         BURTON                   OK     21082670676
2834241419155B   ELOISA           RIVERA                   TX     75047014141
283439A229189B   ANNA             CARLISLE                 OK     90015429022
2834428714B261   JEFFREY          GUDE                     NE     27020042871
2834474A272B42   STEPHAN          POHANIC                  CO     90002817402
2834546824B588   JESSICA          WILLIAMS-KOWALCIK        OK     90014714682
28345719472B29   ANA              VELASQUEZ                CO     90011277194
2834595564B281   HALEY            SPRINKEL                 IA     90006459556
2834636429184B   ERICA            GULLICK                  OK     90011393642
2834733264B281   MICHAEL          WHITE                    NE     90013853326
28347888A91592   CAROLINA         OBLICK                   TX     90007668880
28348156572B88   MARIA DE JESUS   MARTINEZ                 CO     90011941565
283483A7891592   IGNACIO          DELGADO                  TX     90010723078
2834913A472B42   ARIANE           PENNINGTON               CO     90008841304
28349253372B98   HILDA            DIMARCO                  CO     90004312533
2834953284B588   JAMES            ROY                      OK     90014065328
28349591972B88   MEGAN            MILLS                    CO     33021485919
2834B25692B27B   JERMAINE         WILLS                    DC     90015022569
2834B39A944B75   ISABELLE         FERRER                   OH     90013943909
2835115118B16B   REX              MUHLESTEIN               UT     90013781511
28351376A72B88   ROBERT           CARPENTER                CO     33035483760
2835161585B271   DONNIE           MORRIS                   KY     68022156158
283525A7261997   ORVEL            BROWN                    CA     90008365072
2835288619184B   GRACIELA         MUNOZ                    OK     90006978861
2835291A581633   MONTGOMERY       LAWSON                   MO     90013519105
2835352A581633   JOHNNY           BRACKINS                 MO     29011545205
2835358745B271   ELAINE           SHELTON                  KY     90002785874
283538A495B571   ALBERT           OCHOA                    NM     90011088049
2835434A19184B   JUAN             RODRIGUEZ                OK     21006223401
283546AA44B261   ANDRES           ORDAZ PEREZ              IA     27072746004
28354714972B88   ANTONIO          BORUNDA-FIERRO           CO     90002307149
28354A81651328   FLOYD            ADAMS                    OH     90002010816
2835549559189B   VICTOR           RAMIREZ                  OK     90014174955
2835587AA76B69   CARLOS           MORALES                  CA     90008798700
28355A32657123   JOSE             VENTURA                  VA     81031340326
2835816879184B   TAH'VONNY        COFFEY                   OK     90012661687
2835921892B27B   SHERWOOD         HARDY                    VA     90012802189
2835953A376B69   ALEJANDRA        CASTALLANOS              CA     90014245303
28359A4A691534   CLAUDIA          GARCIA                   TX     90010770406
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2835B447641281   FALLON       HANBURY                      PA     90004534476
2835B897981638   MELISSA      MCNUTT                       MO     90004018979
2835BA2775B571   DANA         WASHEE                       NM     90014620277
2836156114B588   ANDREW       HOLT                         OK     90010245611
2836173679184B   TIA          PRESLEY                      OK     90014337367
28361996698B2B   JOSE         HERNANDEZ                    NC     90015159966
2836269114B281   BARBARA      GERMANY                      NE     27091546911
2836327222B27B   COLELL       HUNTLEY                      DC     90013232722
2836449A157157   JENNIE       DELLINGER                    VA     81087044901
2836463942B27B   LENA         CARTER                       DC     81036336394
2836464614B261   NICOLE       NYBERG                       NE     27023596461
2836534182B27B   ANTAWON      VENEY                        DC     90014883418
2836544154B988   MARTHA       THOMPSON                     TX     90012684415
28365474997B41   GERONIMO     ROMERO                       CO     90012664749
28365879472B88   MARK         BECHLER                      CO     90002838794
2836589814B281   KELLIE       MCCOY                        NE     90014778981
28365A62391592   MARTIN       LASCANO                      TX     90008250623
28365AA3581633   WENDY        ORELLANA                     MO     90012480035
283672A1672B42   DEVIN        ALLINGHAM                    CO     90012042016
283674A5A91241   ERICA        SMOKES                       GA     90014804050
28367A57591356   MIGUEL       AGUILAR SANTIAGO             KS     90010420575
2836828399184B   TANYA        MERCADO                      OK     90014582839
2836B989872B29   DEDRA        KING                         CO     90009639898
28371193A91547   ROBERTO      FLORES                       TX     90010371930
2837136114B521   AMBER        HARKNESS                     OK     90002433611
2837153999189B   MERCEDES     REVELS                       OK     90014015399
2837171A691356   ROYCHELL     CARTER                       KS     90013427106
28371818A81646   LEVANDER     MAYO                         GA     90009018180
2837184129184B   VERONICA     CAMARENA                     OK     90010718412
2837274487B468   JESSICA      HELMES                       NC     90004527448
2837326A32B232   DIANE        DAVIS                        DC     81016372603
283739A4472B42   JOEL         CHAIDEZ                      CO     90012029044
2837424132B264   LEON         WILKERSON                    DC     90012252413
28374715274B56   JESSICA      CHAPMAN                      OH     90010987152
2837494825B161   TERENCE      CALLIHAN                     AR     23076829482
2837512575B271   ELIZABETH    WHITE                        KY     90008911257
2837541944B261   JULIO        GARCIA NUNEZ                 NE     90013924194
2837654AA51328   MEGAN        NICHOLS                      OH     90014995400
283765A8172B88   JAVIER       PALOMINO                     CO     90014735081
283768A8172B29   GRETA        CHAVEZ HERNANDEZ             CO     33071868081
2837741854B988   ERIC         BARTHOLAMEN                  TX     90014154185
2837753312B892   BELEN        GARCIA                       ID     90010875331
2837799419189B   AARON        JOHNSON                      OK     90009859941
28378294872B29   KYLE         SIGNS                        CO     33098682948
2837893824123B   GEORGE       MISLANOVIH                   PA     90004959382
28379A97191547   CELESTINE    SECTION                      TX     90010970971
2837B396291241   STACY        STRICKLAND                   GA     14584443962
2837B6A419155B   AVANTE       PLUMBING                     TX     75001616041
2838158214B588   DYLAN        CANALES                      OK     90011965821
28383569A5B271   RICHARD      MADDOX                       KY     90014535690
283835A189184B   ROGER        MIKLES                       OK     90013015018
2838399749184B   GUISELA      OROZCO                       OK     90013839974
28383A99A9184B   ROGER        MIKLES                       OK     90013840990
2838423569184B   IRENE        TRINIDAD                     OK     21009052356
28384532A91592   ARLENE       BYNUM                        TX     90008915320
2838493915B571   FRANCES      ROMERO                       NM     35019079391
2838496244B551   BILLY JR     BURKS                        OK     90013829624
28385356672B88   JARIN        SUDDRETH                     CO     90011693566
28385825A5B161   SAKEYSHA     HUNTER                       AR     90001688250
28385A79472B29   TIFFANY      BYRD                         CO     90015030794
28385A9994B261   SHAWN        SHELY                        NE     27020070999
28386A76451344   PATRICIA     SCRAIN                       OH     90001540764
2838758A87B449   OTIS         HEMPHILL                     NC     90001705808
28387A31991833   WILLIAM      WORKMAN                      OK     90012780319
2838B438A91828   LESLIE       PALAFOX                      OK     21006434380
2838B477731453   NEKETIA      FULTON                       MO     90014694777
2838B654457157   MATTHEW      THOMAS                       VA     90013226544
2838B987357157   LISA         MCCORMICK                    VA     90014619873
2839154124B596   TASHARA      WRIGHT                       OK     90012655412
2839316357B449   MARY         LOPEZ                        NC     90014131635
2839373A87B471   DOREEN       GOVERO                       NC     11091397308
28393A13681633   ASGHAR       JAVADI                       MO     90012480136
28393A63386438   EUGENO       VELASCO                      SC     90014120633
2839476565B271   NOVELLA      ANTHONY                      KY     90005267656
2839524895B571   STEPHANIE    SANCHEZ                      NM     90008352489
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283962A1A91828   HERMELINDA          MOLINA                OK     21080252010
283969AA44B261   KELSEY              SCOTT                 NE     27008929004
28396A64957157   KRISTEN             BRUNNGRABER           VA     90008960649
28397155A5B571   ROBERT              RAMIREZ               NM     90012571550
2839736559189B   ANGELA              MCDONALD              OK     90000913655
2839749A291828   ZENZAL              ALSTON                OK     90004234902
2839812159184B   ED                  JAMISON               OK     21001261215
2839846969189B   BARBARA             HERNADEZ              OK     90010034696
2839853837B449   MARIA TERESA        CHAVEZ BERNAL         NC     90014105383
28398A23A31433   LESLIE              LOPEZ                 MO     27556330230
2839967168B166   CYNTHIA             HARPER                UT     90014656716
2839996994795B   LAURA               BARELA                AR     25013259699
283999A8631631   RONNIE              PHILLIPS              KS     90000629086
2839B15987B449   IVAN                RIVERA                NC     90001841598
2839B582891828   JUANITA RODRIGUEZ   REYES                 OK     90014065828
2839B599272B42   BEVERLY             SCOTT                 CO     33095475992
283B116A691828   ANGELINE            DRAKE                 OK     90012611606
283B137245B571   MARIA               CASTILLO-NEVAREZ      NM     35076393724
283B1566A4795B   SAMUEL              LOPEZ                 AR     25033815660
283B185289189B   TYLISA              MORRIS                OK     90013848528
283B1A7117B471   DETRIA              HARRIS                NC     11014320711
283B1AA6891241   TANYA               GADSON                GA     90014790068
283B227454B592   KRISTI              PEREA                 OK     90015252745
283B2318891833   SUSAN               PAINE                 OK     21019113188
283B2853891828   DARIN               WOLFF                 OK     90014898538
283B3613161925   CLAIRE              CORADO                CA     90001936131
283B3696391828   JIMMY               DALE                  OK     90014396963
283B411779189B   MONTE               BROWN                 OK     21072751177
283B416A24B588   NIKOLYA             BROWN                 OK     90011171602
283B4787391828   KATHERIN            BREWER                OK     90012597873
283B483217B449   TERENA              DUMAS                 NC     90014258321
283B4991A51328   ANGELA              HARRIS                OH     90004089910
283B523552B27B   RILDER              TERRERO               DC     90013662355
283B587754B588   ASHLEY              GREESON               OK     90009918775
283B6194876B69   MARIA               SUAREZ                CA     90009101948
283B621164B281   AKPOKLI             FLODO                 NE     90002122116
283B6373A8B159   MEGAN               HEAPS                 UT     90008153730
283B6496291592   SOCORRO             TRUJILLO              TX     90012814962
283B6939472B88   ARTURO              LOPEZ BENITEZ         CO     90014049394
283B716432B27B   RUQUYAH             AHMAD                 DC     90007871643
283B8641572B88   LUIS                MURO                  CO     90013926415
283B9138991833   SHAYA               ZWIRTC                OK     90014921389
283B9394191828   JOHN                KING                  OK     90014883941
283B967989184B   JEFF                CLAYBOURN             OK     21057126798
283B973577B449   CHRISTIAN           PONCE                 NC     90014097357
283B997A191592   VICTOR              HERRERA               TX     90013429701
283BB277A3B35B   LORENZO             FERRER                CO     90007782770
283BB46784B261   MICHAEL             MERCER                NE     90014874678
283BB567791528   GEORGINA            RUIZ                  TX     90005715677
283BB639572B29   ELMAR               MONTENEGRO            CO     90015046395
2841251549189B   ANGELA              DOWELL                OK     90004255154
2841315A272B29   FERNANDO            DORADO                CO     33078641502
2841334474B588   YOLANDA             CASAS                 OK     90011363447
2841414A591833   BRIAN               FAIR                  OK     90000241405
284144A359794B   SOTERO              CISNEROS              TX     74021064035
28414565A31453   BRITNEY CHRIS       MILES                 MO     90014695650
2841463619155B   VIOLA               LASCANO               NM     75083876361
2841494775B271   JULIUS              GREEN                 KY     68014099477
28415523572B88   AARON               VALDERAS              CO     90014735235
28415911A91828   ROSA LINDA          GAMBOA                OK     21026319110
28416565A31453   BRITNEY CHRIS       MILES                 MO     90014695650
28417523572B88   AARON               VALDERAS              CO     90014735235
28417622A81633   ROBERT              BRAUSE                MO     90014176220
2841824369189B   PAYGO               IVR ACTIVATION        OK     90014362436
28418348572B88   ISIDRO              PEREZ                 CO     90012033485
28418A51931453   BRENDA              HARVEY                MO     90011500519
2841982A931453   RAQUEL              DASILVA               MO     27596598209
28419A64685991   NORMA               PALACIOS              KY     66044860646
2841B346491241   ERICK               POWELL                GA     14593863464
2841B415A5B161   JOSE                VILLALVA-MORALES      AR     90000944150
28421358A85991   BRYAN               BEAL                  KY     66011163580
28421461972B88   STACY               BENNER                CO     90012204619
2842148A172B42   PATRICIA            ROBLES-ROBLES         CO     33056974801
284215AAA9189B   KENNETH             HIBBS                 OK     90014175000
2842189239184B   HEILEY              DEFFLER               OK     90011068923
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2842198227B449   KENTERLL     LITTIE                       NC     90014519822
28421A8324B588   CATHERINE    ESPERE                       OK     90011510832
2842312529184B   JESSICA      HANNAFORD                    OK     90012731252
2842359A372B42   GRISEL       VARGAS                       CO     33003945903
284242A8491833   CAROLYN      OWENS                        OK     90006672084
2842485815B271   ROBIN        LEE                          KY     90013598581
28425541176B69   VERONICA     MARES                        CA     46022745411
284255AA181633   TAMMY        ROGERS                       MO     29025385001
2842562712B27B   GARY         LOVE                         DC     90013976271
2842584569794B   PAM          CHMELAR                      TX     74020918456
28426496772B88   MUGAMBI      KITHAMA                      CO     33049464967
28426A7A65B571   JASON        BROOMFIELD                   NM     90011720706
2842714A591833   BRIAN        FAIR                         OK     90000241405
2842752754B281   DANIEL       BEERMAN                      NE     90014355275
2842782424B588   LINDA        COLLINS                      OK     90015188242
284285A1785991   KRISTIN      MONACO                       KY     90006705017
28428724172B88   REBECCA      SUSAN GUTIERREZ              CO     33091867241
28428A2753B333   ELIZABETH    OJEDA                        CO     90011070275
28429145A91881   BRANDON      SILAS                        OK     21001311450
284291A3241245   KAREN        MAGLICCO                     PA     51092641032
2842933749376B   DANIELLE     HOSKINS                      OH     90012433374
2842933A291592   RAYMOND      SANCHEZ                      TX     90013313302
2842998272B27B   ROBERT       JONES                        DC     90007969827
2842B112A91833   JASON        GALLAGHER                    OK     90009391120
2842B193231631   SCOTT        BEHRENT                      KS     22004331932
2842B23169189B   EVANGELINE   NEWTON                       OK     90007882316
2842B524672B88   ROXANN       PADILLA                      CO     90014735246
2842B554381633   DIANA        GOMEZ                        MO     90011475543
2842B56985B271   JOSE         JIMENEZ                      KY     90013055698
2842B7AA491547   CLAUDIA      DE LEON                      TX     90010137004
2842B96437B471   APRIL        ROGERS                       NC     90004149643
28431AA9191592   MANUEL       SILVA                        TX     75050660091
284321A5657157   LEONIDAS     HERNANDEZ                    VA     90014531056
2843237324B988   MICHAEL      THOMPSON                     TX     90015513732
28432693A5B271   ALOOR        KUAL                         KY     90014416930
28432957A91828   ARDELIA      JACKSON                      OK     90010059570
28434213972B29   BERTHA       HERNANDEZ                    CO     90005492139
28434572A4B588   RODGER       MARSH                        OK     90014885720
2843511A84B261   RACHEL       SOLBERG                      NE     27028631108
2843541615B571   ODELIA       BACA                         NM     35074374161
2843682949184B   AGELINA      MARTINEZ                     OK     90009818294
2843689A491592   CARMEN       SERRANO                      TX     75097528904
28436914A91542   JESUS        CORTEZ                       TX     90009839140
2843712378B153   MARK         LINDQUIST                    UT     90004541237
284377A549155B   CARLOS       CAMARILLO                    TX     90006697054
28437849A31631   MARY         HOLLUMN                      KS     22011848490
2843858832B27B   NIGEL        BELMAN                       DC     90014725883
2843947154B261   DAVID        TORRES                       NE     90010774715
28439797372B88   RAINA        DELGADO                      CO     90001627973
2843985585B271   NOELVIS      GARCES                       KY     90013218558
2843B22224B588   MONA         ARNOOD                       OK     90015472222
2843B22A957157   RAMON        VASQUEZ                      VA     90010412209
2843B313891592   LUIS         RIOS                         TX     75019163138
2843B568441245   KIMBERLY A   SPRIGGS                      PA     51044055684
2843B578297B4B   MARISOL      BETANCOURT                   CO     90012615782
2843BA25931453   TIAUNA       HUNTER                       MO     90014050259
2844125595B571   DENISE       COLLINS                      NM     35007092559
284418A9991356   SHANTEL      RICHARDSON                   MO     90009538099
28442135572B29   CONNER       GRIFFIN                      CO     90006771355
2844238A431631   REBECCA      BARNETT                      KS     22076103804
28443161A5B571   ELEAZAR      IXMATLAHUA                   NM     90011721610
28443344872B42   ADELAIDO     PEREZ                        CO     90014003448
2844354A35B271   JASON        HAYDEN                       KY     90012525403
2844354A82B27B   DEVONTE      WHITE                        DC     90015165408
2844386425B571   PHILLIP      SANDERS                      NM     90012838642
28443A64557157   KEITH        ABEL                         VA     90014550645
28444171A91547   JESSIE       HUERTA                       TX     90011211710
284445A6585965   JULIE        WRIGHT                       KY     66060835065
28444746A81637   TATIANA      LAURY                        MO     90000917460
2844554525B271   JORDAN       FULLER                       KY     90014565452
28446527572B88   MARITZA      HERNANDEZ                    CO     90014735275
2844787524B588   SHANNON      BRACKETT                     OK     90005328752
2844912754B588   RICHARD      CONWAY                       OK     90009951275
284496A8884342   AMIN         MALDONADO                    SC     90005156088
2844B979672B42   RACHEL       SNYDER                       CO     33066419796
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2845128A957157   JEFF         BATTIS                       VA     90011242809
28451A34A51328   KEVIN        OHLER                        OH     66003640340
2845232A631453   NICOLE       YOUNG                        MO     90002223206
2845284AA2B27B   GABRIELLA    EDWARDS                      DC     81088848400
28453869872B88   BROQUELL     ARGUELLO                     CO     90003138698
28454529A4B521   LEONARDO     GRANADOS                     OK     21584305290
28454696872B88   LAVONNE      EVENS                        CO     33020496968
2845546455B271   ROBERTO      GARCES                       KY     90009904645
28455766A72B29   PABLO        GALVAN                       CO     90011277660
28456137172B42   GAIL         VELARDE GUERRERO             CO     33082541371
28456979772B29   CARINA       RENTERIA                     CO     90000239797
2845779912B27B   PERCELL      RYLAND                       DC     90015277991
28458756572B88   EXZERT       WATSON                       CO     33000397565
2845886112B27B   DEMARCO      HASKINS                      DC     90012808611
2845952645B571   REYES        APARICIO-REGALADO            NM     35024105264
2845B2A9857157   JAIME        FLORES                       VA     90002602098
2845B459381633   SUNNY        SNODERLY                     KS     90013154593
2845B9A7731453   CRYSTAL      RICHARDSON                   MO     90007509077
2846219545B571   JORGE        GONZALES                     NM     35056921954
2846281829184B   RAUL         GONZALEZ                     OK     90012188182
2846311553B35B   MADOSHI      KAMARA                       CO     90001711155
2846473919189B   CARMEN       NAVARRO                      OK     21015337391
28465371672B29   NOE          DUENAS                       CO     90015043716
2846549564B281   ELENA        ORNELAS                      NE     27036734956
28465693772B42   SOLOMON      VASQUEZ                      CO     33038426937
28465787172B88   ANTHONY      GONZALEZ                     CO     90008507871
2846623452B27B   RUTH         BAYLOR                       DC     90012992345
2846681954B988   JAMI         MCLAUGHLIN                   TX     90002868195
284684A4372B88   OLIVIA       CONTRERAS                    CO     33042324043
2846851374B581   LAKESHIA     LOVELESS                     OK     21594655137
28468812872B29   FELICIA      WILLIAMS                     CO     90015058128
28469328872B42   RACHELLE     CAMACHO                      CO     33097473288
2846995194B588   LAURA        IBARRA                       OK     90008539519
28469A7687B449   PATRICIA     THOMPSON                     NC     90015150768
2846B1A2291356   NICHOMI      DODDS                        KS     90004911022
2846B41899189B   JENNA        DEMOPOULOS                   OK     21095384189
2846B51355B571   HOLGA        CARRILLO                     NM     90013915135
284723A4291528   CHRISTINA    VALDEZ                       TX     90010913042
2847267627B362   GIOVANA      CHANG                        VA     90012906762
2847282A79184B   STEPHEN      MILLER                       OK     90015278207
2847351144B588   PERLA        SALAZAR                      OK     90008785114
28473969872B86   DAGOBERTO    GONZALEZ                     CO     33020129698
28473A4969155B   VIRGINIA     RODRIGUEZ                    TX     90011960496
28474151172B29   ROMINA       RIOS                         CO     90003071511
2847442644B988   BETHANY      CHRISTMAN                    TX     90015254264
2847479814B261   PATRICK      MARION                       NE     90010447981
284748A7A85931   HARRY        WILLIAMS                     KY     67049268070
2847528994B281   MICHAEL      MILLER                       NE     90011792899
2847613A191547   MIGUEL       VELA                         TX     90012521301
284766A4991547   MARIA        RAMIREZ                      TX     90012546049
28477A4514B261   KELLEY       SANDERS                      NE     27096530451
28479188A9184B   BOSTON       HARDEMAN                     OK     90003931880
284793A479155B   PETE         ARNDT                        NM     75015003047
2847B469591933   DAVID        WILLIS SR                    NC     90000394695
2847B648A87221   WANDA        BRANDT                       IL     90012816480
2847BA58591828   DEBORAH      FAULK                        OK     90008410585
2848241995598B   PERNELL      LONG                         CA     90009394199
2848278584B261   ROBERTO      SABALE                       NE     90012927858
284828A455B271   NICOLE       BURNS                        KY     68064968045
28483625A72B88   KASIE        MEMMER                       CO     33086446250
2848451AA91828   NIXON        LOPEZ                        OK     21094025100
2848471395593B   EDWARD       CANELA                       CA     90008037139
2848476194B588   CATRINA      WEATHERFORD                  OK     21503047619
2848496A39189B   KAREN        LEDBETTER                    OK     21089389603
28484AA2981633   CARLEDA      SANCHEZ                      MO     90013860029
2848566A62B27B   FRANSWAU     BROWN                        DC     90012046606
28486312672B88   JORGE        RODRIGUEZ                    CO     90012763126
2848675134B521   SARA         FENDER                       OK     90006937513
2848675872B892   MICHAEL      MORRIS                       ID     90013437587
2848691552B27B   GJHB         TDYFRXT                      DC     90012809155
2848755974B261   VIRGINIA     CATOB                        NE     90009415597
2848788824B281   MIKEISHA     RUSSEL                       NE     90009998882
28489867372B29   LEYLA        KHAMESIPOUR                  CO     33015738673
2848991675B271   AMBER        THOMAS                       KY     90010519167
2848BA3AA76B69   JUANA        MUNOZ                        CA     90012440300
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2849163884B261   SERVANDO           PERALES                NE     27081686388
2849188745B271   CARRIE             BODEMANN               KY     68039888874
2849237AA91828   MARIA DE ROSARIO   LEDEZMA                OK     90009233700
284939A4257157   ANGELINA           BEMBRY                 VA     90010719042
2849425A972B29   DEANNA             BARAJAS                CO     90008342509
284945A1891592   HILDA              ALFARO                 TX     75005565018
28494989A7B449   EBER               NOLASCO                NC     90014679890
2849499825B271   MARY               HOLT                   KY     90013509982
28494A52181638   ANDRE              ROBINSON               MO     90001010521
28494A82991828   JOSE               TORRES                 OK     90012040829
28495362A85965   CELIA              PEARSON                KY     66055523620
2849542A87B449   JERRY              STRANGE                NC     90012814208
2849544719184B   BREANN             HARRIS                 OK     90014514471
28495614A72B29   BRIAN              LEWNO                  CO     33015626140
284962A794795B   CHRISTINA          CROSSLAND              AR     25033122079
2849713474B261   SHYLA              MARTINEZ               NE     90014171347
2849725769184B   RICHARD            SCOTT                  OK     90012882576
2849772A885875   ERIC               TAJANLANGIT            CA     90010067208
2849926314B588   ANDREA SIMONE      THEUS                  OK     90014502631
2849927359189B   DARCY              ALEXANDER              OK     21023112735
2849995582B27B   PETER              CHANG                  DC     90015229558
28499A92776B56   GLORIA             LIMA                   CA     90014290927
2849B151491547   CHRISTOPHER        TREVIZO                TX     90012521514
2849B37145B571   CHRISTINE          GARCIA                 NM     90011163714
2849B3A3131453   AARON              VICKENS                MO     27561703031
2849B53214B588   GLENN              RAY                    OK     90015315321
2849B61A79189B   KATHERINE          JONES                  OK     90002696107
2849B64454B988   DANIEL             LOZANO                 TX     76595956445
2849B944772B88   JUSTIN             DEBACA                 CO     90014049447
2849BA3774B588   EMILY              RITTGERS               OK     90013540377
284B1397357157   AMANUEL            MEKURIA                VA     81051303973
284B28A2A5B161   ALINO              FIELDS                 AR     90001258020
284B312769184B   VICTORIA           SHAFFER                OK     90012721276
284B3269531453   LETONYA            BELL                   MO     27512992695
284B3545691833   BILL               COX                    OK     90014515456
284B3A78257157   SANDRA             SYKES                  VA     81018410782
284B4269531453   LETONYA            BELL                   MO     27512992695
284B517A976B53   MARIO              RUIZ                   CA     90001471709
284B5268791241   ROBIN K            MCCALLAR               GA     90010162687
284B547824B588   MICHELLE           REEVES                 OK     90008824782
284B5682785991   KAREN              ROSS                   KY     66031166827
284B634769184B   KATRINA            GEATCHES               OK     90014413476
284B6716372B29   FRANCISCO          URIAS                  CO     33004237163
284B697A591528   VICKY              BARRON                 TX     90007769705
284B713825B571   LINDA              SANDOVAL               NM     90009331382
284B8442891547   GUILLERMO          MARTINEZ               TX     75020604428
284B8679691542   CARLOS             VAZQUEZ GARCIA         TX     90007296796
284B8881291356   PAYGO              IVR ACTIVATION         KS     90014728812
284B937779189B   TOMM               JOHNSON                OK     21063153777
284B9847381633   JASMIN             CRUZ                   KS     29034898473
284B9A9769184B   WENDY              SKIDGEL                OK     90008970976
284BB4A945B571   WILLIAM            EDMOND                 NM     90004334094
284BB79235B571   JOSE LUIS          LOPEZ                  NM     90011717923
284BB989172B88   DANIELA            SALAIS                 CO     90008659891
285112A994B261   DAVID              HEARN                  NE     90002562099
2851139A45B161   JACQUALINE         OVERSHON               AR     90005573904
2851191984B588   FELIPE             GARCIA-CANDIA          OK     90012639198
2851223825B571   JOSEPH             HAYNES                 NM     90001492382
285123A792B27B   DAVID              HARIS                  DC     90004803079
285125A7A9794B   CHRISTELLA         SAENZ                  TX     74009325070
2851341A15B571   DANA               CADENA                 NM     35005234101
2851537845B571   WOOD               ROYAL                  NM     90011123784
2851547369189B   LATOSHIA           KELLEY                 OK     90014694736
28515843A91592   ANITA              RAMOS                  TX     90005238430
28515A2493B39B   STEVEN             PERRY                  CO     33049340249
2851636A55B271   DONALD             BURTON                 KY     90007383605
2851653752B27B   ROBERT             MILLENDER              VA     81049665375
2851684723B356   RALPH              SPARKS                 CO     90004898472
28516A8A657157   TIM                JOHNSON                VA     90013020806
2851739755B271   JORGE              RODRIGUEZ BERNAL       KY     68046633975
2851824949184B   TERESO             ESPARAZA-DURAN         OK     90013722494
28518362A4B988   CYNTHIA            ABRAM                  TX     90012293620
2851876644B988   STEPHEN            ALLEN                  TX     90013887664
2851883425B161   YOLANDA            HALL                   AR     23089778342
28518921672B61   SIGFREDO           QUIJADA                CO     90008289216
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2851893454B588   VALENTE      IBARRA                       OK     21581079345
28519963672B61   CARMEN       GUTIRREZ                     CO     90008289636
2851B6AA331453   ALICIA       CALHOUN                      MO     90014706003
2851B794685991   DERRICK      SMITH                        KY     90006797946
28521A9A555921   RENE         ESCARCEGA                    CA     90012990905
28522A52881633   TONISHA      COUSER                       KS     29066310528
28522AAA12B27B   LUCIO        PEREZ                        DC     90002150001
2852412885B271   TYREE        TOLLEY                       KY     90013271288
2852436665B271   TYREE        TOLLEY                       KY     90011373666
28524416A72B29   JUAN         SANDOVAL                     CO     90006764160
2852444A872B88   NICOLE       MAGANA                       CO     90007154408
2852447489184B   JEREMY       BRADBURN                     OK     90013724748
2852469189184B   WILLIE       MYERS                        OK     90011516918
2852541A172B88   TIKA         WALKER                       CO     90006984101
285254A5191833   SIR          JOHNSON                      OK     90010504051
285265A922B27B   QUINCY       BAIRD                        DC     81038865092
28526857672B29   CHANEL       CHABLIBRATTON                CO     33015628576
285268A4372B42   BRITTNAY     MANTYCH                      CO     90011008043
28527117A31453   HEATHER      LOWE                         MO     90005111170
2852756A19189B   BLAHO        SINGER                       OK     90014315601
2852763264B281   GELISA       MILLER                       NE     90013266326
2852785745B571   DAMIEN       SAAVENDRA                    NM     35035208574
28528358472B88   ROBERT       TRUJILLO                     CO     90000783584
285288AA39189B   JACOB        PALMER                       OK     90010748003
285297A5291534   MARIA        CALANCHE                     TX     90012737052
28529A48257157   MAURICIO     ALVAREZ                      VA     90011250482
2852B665831631   KIMBERLY     NEWTON                       KS     22026146658
2852B97582B27B   JOSE         SALVADOR                     DC     90012809758
2853125A75B161   REGINALD     BONNER                       AR     23000232507
2853249674B988   KELLY        HINSON                       TX     90013634967
2853428455B571   RAFAEL       BARRAZA                      NM     90014632845
28534A45191528   ALEJANDRO    MONTELONGO                   TX     90003290451
28534A8A791828   JEREMY       PARKER                       OK     90009120807
2853516479184B   BRYANT       ADAME                        OK     21094981647
2853519834B281   ANDRAE       TAYLOR                       NE     90010211983
2853548354B988   BRITTNEY     SMITH                        TX     90000614835
2853696729155B   ROMERO       YADIRA                       TX     90006709672
28536979972B42   ZACK         WALSH                        CO     33041559799
2853718995B161   VENUS        JOHNSON                      AR     23073731899
28537375A91828   JENIFER      BARRETT                      OK     90012783750
2853759672B27B   BRADERICK    FARMER                       DC     90014725967
2853843597B449   ZENAIDA      GONZALEZ                     NC     11008794359
28538842572B88   JOSE         HERNANDEZ                    CO     33077708425
2853894675B271   JENNIFER     MURELL                       KY     68006839467
285389A782B841   GEORGE       JIMENEZ                      ID     90014709078
2853961724B281   MARY         MULDER                       NE     90014156172
2853966725B271   ANDERSON     COLEMAN                      KY     68071636672
2853B24577B449   GLENNA       BENJAMIN                     NC     11049772457
2853B655672B88   ELIA         TRUJILLO                     CO     90013926556
2853B845681633   MARK         WINTERS                      MO     90015378456
2853B86337B471   RHONDA       TINDAL                       NC     90000868633
2854196729155B   ROMERO       YADIRA                       TX     90006709672
2854229225B255   RUTH         LINN                         KY     90002712922
28542487A9155B   ISAIAS       GUTIERREZ                    TX     90011034870
2854252739184B   CINDY        DELOSSANTOS                  OK     90003935273
2854363559184B   RENEA        HARRALL                      OK     90006206355
2854396A64B281   JOSE         GUTIERREZ                    NE     90004989606
285439AA25B333   REGINO       MALDONADO                    OR     90011419002
28543A23557157   TONYA        SULLIVAN                     VA     90007750235
28543A37A4B588   APRIL        BRAVO                        OK     90012370370
28544224A9189B   LORENA       MUNOZ                        OK     90003302240
28544382A72B88   NEIL         BENSON                       CO     33016533820
2854493714B988   ALVIN        CHILDRESS                    TX     90010039371
2854497974B588   JENNISER     HOWE                         OK     90000609797
2854578855752B   KELLY        SMYER                        NM     35571577885
28545A6954B588   TYANN        PEAVEY                       OK     90006090695
2854658159184B   WESLEY       JOHNSON                      OK     90012615815
2854717359189B   DEBORAH      NELSON                       OK     90011431735
28547651A4B588   VALARIE      CARTER                       OK     90012476510
2854775A272B88   BIMMER       TORRES                       CO     33052957502
28548295372B88   LINSAY       LEMMER                       CO     90012702953
2854829919794B   EDWARD       CAMPOS                       TX     74048122991
28548348A91528   TERESA       SALINAS                      TX     75061263480
285487AA18B137   DENNIS       WEIGHT                       UT     31023337001
2854945614B588   SANDRA       MARTIN                       OK     21590804561
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2854B144991828   ERIC          LAWAYNE                     OK     90014751449
2854B218461931   ROBERT        WILLIAMS                    CA     90008712184
2854B61735B161   MARIA         TADEO                       AR     23002906173
2854B63972B27B   LASHAWN       NOBLES                      DC     90013186397
2855171989189B   TJ            COVINGTON                   OK     90009987198
2855181185598B   SERGIO        ACEVEDO                     CA     48082788118
28551A53457157   JAMES         GUNN                        VA     90010490534
2855283212B931   DONNA         DIXON                       CA     45069868321
2855297614B588   LUKE          EDWARDS                     OK     90003449761
2855393A691592   MARIA         AVILA                       TX     90013149306
285547A6731453   ANTOINEK      BANKHEAD                    MO     90014707067
2855571A631453   CHRISTOPHER   SHINALL                     MO     90014707106
28556363A5B571   ASHLEY        SGALA                       NM     90002963630
2855662A99794B   SHAWN         JENKINS                     TX     74086866209
28556A5A872B88   MICHELLE      TAFOYA                      CO     90009520508
2855726344B588   TAMMIE        TURNER                      OK     90010342634
2855734A481668   MARLA         BANKS-HENSLEY               KS     90013813404
2855829255B271   BEVERLY       THOMAS                      KY     68036412925
28558A98191356   VALERIE       RUIZ                        KS     90013640981
2855943259794B   ALFONSO       TAJIBOY                     TX     74024734325
28559548A2B27B   MATTHEW       CASEY                       VA     90015085480
285599A285B271   LATASHA       WISE                        KY     90001569028
2855B143691547   JULISSA       AYALA                       TX     90012521436
2855B297576B69   LEILANI       SILVA                       CA     46006722975
2855B62A691833   SUMMER        TAFOYA                      OK     90009456206
2855B84194B988   CHAD          JACKSON                     TX     90014698419
2855B898631453   CHRISTINA     PLUMMER                     MO     90014718986
2855BA23557157   TONYA         SULLIVAN                    VA     90007750235
2855BA36741245   STACEY        SMITH                       PA     90013700367
28561237A72B42   DEZZERAE      VIGIL                       CO     90010222370
2856177949184B   JAMES         SIMMS                       OK     90009477794
2856179595B571   GUADALUPE     NUNEZ                       NM     90007967959
2856187A331433   MICHAEL       JOHNSON                     MO     90008648703
285618A667B449   JESICA        GUTIERREZ                   NC     90014108066
2856292815B161   SANDRA        CONLEY                      AR     23065919281
28562A21936B77   CRISTENA      ORELLI                      OR     90005520219
2856417729184B   EDITH         KEASLING                    OK     90013871772
2856476573B992   KAYLA         SMITH                       IL     90015377657
2856527664B988   RODNEY        PUGH                        TX     90008192766
2856557A44B281   REGINA        MINTON                      NE     27003215704
285664A765B161   COURTNEY      FAVALORA                    AR     23069374076
2856683A69184B   CHRISTINA     CRAWFORD                    OK     90013118306
2856745332B27B   RENEE         JACKSON                     DC     81014974533
28567828A9184B   TRISTA        MATHEWS                     OK     90014788280
2856792A481633   ALAN          SHARP                       MO     90013629204
28567AA514B988   KENNETH       MAYFIELD                    TX     90007650051
2856841A14B281   MARCELINO     INIGUEZ ANAYA               NE     27089404101
28568454672B29   STEVEN        SHELTON                     CO     90010644546
285685AA276B69   JUAN          MONTELONGOS                 CA     90009475002
2856884147B449   VICTORIA      KELLER                      NC     90014148414
28568851A91547   BERNADETTE    BARBA                       TX     90009628510
28569618872B42   DOUGLAS       DOHMAN                      CO     90009946188
2856B2A514B988   AGUSTIN       BELISTA                     TX     90014492051
2856B44144B588   ARACELY       APODACA                     OK     21553824414
2856B763231453   RASHEID       BROWN                       MO     90014707632
2856B776A61992   RUBEN         ROLDAN                      CA     90002417760
2856B882491592   MARISOL       RODRIQUEZ                   TX     90010738824
28571398A4B988   PERCY         ALLEN                       TX     90012203980
2857155782B27B   ALBA          CASTRO                      DC     90011245578
2857163674B588   ARELY         GUZMAN                      OK     90015066367
28572231172B29   LUZ           MARTINEZ                    CO     90005492311
2857288515B271   JOYCE         PEARSON                     KY     68024198851
2857338612B27B   JOSE          VARGAS                      DC     81014803861
2857359545B571   PATSY         HOLMES                      NM     90013075954
2857396984B588   TAMMIE        BRISCOE                     OK     90009479698
28573A65657157   FREDYS        SIGARAN                     VA     90012920656
28574423A2B841   JORGE         TORRES                      ID     90009244230
28574488A9184B   ACEY          NEWMAN                      OK     21075064880
285756A5891592   JONATHAN      FLORES                      TX     90009956058
285759A377B494   TAQUE C       THOMAS                      NC     90005909037
285761A3681637   EDIN          GARCIA                      MO     90009151036
28576562572B42   BARBARA       EDWARDS                     CO     33037935625
28576672A2B27B   JASON         RICHARDSON                  DC     90008376720
28577213372B29   ALEJANDRA     TORRES                      CO     90001712133
28577882A31453   TERRY         SCHNELTING                  MO     27505248820
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28578388772B29   PALMER        DAN                         CO     90009543887
2857899719184B   GARY          CARSON                      OK     90010189971
28579435572B42   RONDA         SIMPSON                     CO     90014344355
2857999A172B88   VICTORIA      BARD                        CO     33004359901
28579A72691592   OSCAR         AVILA                       TX     75013900726
2857B34724B281   BRANDON       STARKS                      NE     27086933472
2857B919891528   NANCY         SALDANA                     TX     75081339198
28581975A4B988   ARES          ETEMADI                     TX     90010359750
28581A3843147B   ROBERT        MCNEAL                      MO     90006050384
2858316364B588   HEATHER       REDWINE                     OK     90012041636
28583851A81638   JOWANA R      JOHNSTON                    MO     90007228510
2858485124B588   KRISTINA      WILLIAMS                    OK     90014928512
28584A8664B988   WILLIAM       NIXON                       TX     76506720866
28584A9789184B   LISA          CLAGG                       OK     90011320978
28585361A5133B   SHERRI        MOERMOND                    OH     90007643610
2858586337B471   RHONDA        TINDAL                      NC     90000868633
2858737775B571   ANDREA        DIMAS                       NM     90014633777
285875A5691833   JARRET        SOETEN                      OK     90013345056
2858774137B449   LAURA         HAGER                       NC     11031977413
28587A1397B471   CHARLINE      BURROUGH                    NC     90007630139
285887A424B521   LEHMAN        BOYCE                       OK     90001327042
28588856272B88   SHANTELE      MITCHELL                    CO     90008508562
2858924A592864   VICTOR        COTA                        AZ     90015312405
2858B233691833   DANICA        CAMPOS                      OK     21097802336
2859137A35B571   MONICA        BENCOMO                     NM     90012563703
2859157224B588   SHEVON        KENDRA                      OK     90011055722
2859223367B471   HORACE        DUGGINS                     NC     11002532336
2859313589189B   COURTNEY      STOUT                       OK     21027491358
2859326724B588   LAPERCIOUS    MOORE                       OK     21510142672
28593723444B75   PATRICK E     FLANAGAN                    OH     90014007234
2859415A64B588   BARRY         BIGLOW                      OK     21566231506
2859448A89184B   NORMA         MERIDA                      OK     90015094808
285949A6372B42   KELLY         JOHNSON                     CO     33083269063
2859513234B588   ALEXANDER     DAVIS                       OK     90014731323
2859632295B571   PHILLIP       AVILA                       NM     35086353229
2859645654B261   JOHN          OCONNOR                     NE     90013524565
28596A7934B988   ALBERTO       ENRIQUE                     TX     90013940793
28596A8A572B42   JAMES         ALARID                      CO     90009320805
2859711695B257   PAMELA        WEDDINGTON                  KY     90003381169
2859728395B271   TANIKA        ROGERS                      KY     90010522839
28597A39697B4B   DENNIS        PFOHL                       CO     90000310396
285982A975B271   JOE           THACKER                     KY     68049002097
285991A9471923   ERIKA         DEVINS                      NV     38065281094
2859956554B281   JULIA         DAVIS                       IA     27041625655
2859B233157157   PAOLA         PACHECO                     VA     90010502331
2859B37A35B571   MONICA        BENCOMO                     NM     90012563703
2859B56814B588   SAMUEL        QUIJAS-TORRES               OK     90010875681
2859B77AA9152B   ADANESNE      PACHECO                     TX     90004947700
285B12A142B27B   DONNA         HOUGH                       DC     90014652014
285B194755B271   DEBRITA       WELLS                       KY     90013779475
285B1966372B88   CHRISTOPHER   ZAVALA                      CO     90014169663
285B222814B588   HELEZETTA     WILLIAMS                    OK     21540602281
285B2526391547   GISELA        MONTOYA                     TX     90014685263
285B2725781638   VERONICA      GONZALEZ                    MO     29013567257
285B286A991833   SHEILA        WILSON                      OK     90013888609
285B2883672B29   TODD          JOHNSON                     CO     33084748836
285B2896257157   UNDRE         DRAWN                       VA     81011668962
285B2957A91828   THALIMIKA     FORBES                      OK     90010339570
285B311A84B261   RACHEL        SOLBERG                     NE     27028631108
285B4571591833   LUSRETIA      BARRIENTOS                  OK     90007235715
285B4861391592   MAYRA         VELAZCO                     TX     75054078613
285B511685598B   JOSE          GARCIA                      CA     48012291168
285B5396672B42   DAVE          DAVIDSON                    CO     90010153966
285B5587285835   IRVING        PINEDA                      CA     90003585872
285B564255B571   DESTINY       MARTINEZ                    NM     90011886425
285B5A12A9794B   CHRISTIAN     TUMAX                       TX     74083550120
285B6142991547   UNI           HAN                         TX     90012521429
285B644735B571   DEBORAH       JONES                       NM     35028504473
285B673884B281   JILL          SHRADAR                     NE     27004787388
285B744944B521   HENRY         HUTCHINSON                  OK     21555434494
285B7716591592   EDGAR         CHAVEZ                      TX     90014927165
285B7A49791547   CHRISTIAN     MARQUEZ                     TX     90011090497
285B816549189B   PATRICIA      AKERS                       OK     90013831654
285B837524B588   PAYGO         IVR ACTIVATION              OK     90012573752
285B947525B161   KATHERINE     HOPPER                      AR     90009864752
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285B9641691534   ADRIAN              GONZALEZ              TX     90010916416
285B973969184B   CARLENA             LITTLEHEAD            OK     90015147396
285B9813A91592   JEANETT             GANDARA               TX     90012868130
285B988252B27B   TREVON              LINDSEY               DC     90014798825
285BB653A2B27B   NAJI                COPELAND              DC     90001436530
28611772A85991   MATHEW              DAVID                 KY     90006887720
2861182259189B   ANTONIA             TORRES                OK     90015038225
28612548A9155B   CHRIS               SALDANA               NM     75047065480
28613895972B42   CHRIS               MARQUEZ               CO     33035728959
2861433669184B   RHEA                SMITH                 OK     90014563366
28614441A7B449   NAILAH              CAREW                 NC     90013164410
28614A9169184B   JEWEL               ANDREWS               OK     90014610916
28615692172B42   GERALD              SMITH                 CO     33093176921
28615697672B88   VIOLET              LEMOINE               CO     90013926976
286168A324B281   SHANNON             DURKAN                NE     90012338032
28616A18141245   AMANDA              ROY                   PA     51010890181
2861737659189B   ERIKA               FERGUSON              OK     90014263765
2861776834B588   DENISE              ELIX                  OK     90007447683
28617A6167B449   DEMAROUS            NASH                  NC     90011000616
2861843234B588   CHERI               CAIN                  OK     90013694323
28619543972B88   FRANKIE             COOPER                CO     90014735439
286199A137B449   TERRONDA            BUMPASS               NC     90014109013
2861B37564B261   MIGUEL              GONZALEZ              NE     90011143756
2861B5A9691592   VICTORIA            STEWART               TX     90014485096
2862126817B449   DENISE              BERRY                 NC     11094332681
286214A9481637   TANESKA             ROBINSON              MO     90005414094
2862251915B571   MARIZOL             GRANADOS              NM     35068425191
2862263684B588   PHILLIP             PRIEBE                OK     90006466368
2862292387B449   WENDY               BOLES                 NC     11013499238
28622AA2481638   DANIEL              MELO                  MO     29061770024
28624187936B77   JARRETT             LYNCH                 WA     90015521879
2862421344B28B   CHRISTOPHER         JONES                 NE     90009552134
2862422444B281   ALVAREZ RODRIGUEZ   IVAN                  NE     90013832244
2862451915B571   MARIZOL             GRANADOS              NM     35068425191
28624994A91833   LUKE                TIMMONS               OK     21001999940
28624A17291547   IVONNE              MACIAS                TX     90013920172
28625899A31453   GREGORY             DELL                  MO     90014708990
2862617729184B   JASON               TATRO                 OK     21083541772
2862643A52B27B   LINDA               THORPE-HODGES         DC     90012814305
286264A4A91592   DAISY               ORTEGA                TX     90013104040
2862659344B588   STACEY              BLATNEY               OK     90003785934
28626A8834B281   JOSHUA              ORTTILL               NE     27077530883
28627359172B88   JOSE                FLORES                CO     33096613591
2862782152B27B   JOSE                MANZANARES            DC     90009178215
28627A64491547   JOSE                HINOJOSA              TX     90007290644
28627AA2A91356   BRANDON             STEVENSON             KS     90010450020
28628A8A293724   KEISHA              DUNN                  OH     90002470802
2862992679189B   JUSTIN              DAVIS                 OK     21043089267
2862B352291828   GLENN               HARLEY                OK     90008833522
2862B39175B571   MARTHA              RODRIGUEZ             NM     35003533917
2862B6A425B259   ANGELA              KNIGHT                KY     90002096042
286315A6585965   JULIE               WRIGHT                KY     66060835065
2863165629184B   CLAUDIA             CALDERON              OK     90004906562
28631682A57157   JACOB               AYALA                 VA     90012966820
2863171292B27B   GREENE              MICHAEL               VA     90008987129
286322A899155B   RUDY                SANCHEZ               TX     90006712089
286324A699184B   MARIETTA            WILLIAMSON            OK     90012244069
28633275A9155B   GORGE               VELLELA               TX     75079092750
286335A385B257   CHRIS               ASHBY                 KY     68015085038
28634192372B29   RAQUEL              GUTIERREZ             CO     90011451923
2863452A74B261   CATHY               JORDAN                NE     90013095207
28634757A91833   JULIE               RAMIREZ               OK     90004717570
2863486427B449   OLGA                BASEMO                NC     90006938642
28635159A9184B   SAMANTHA            PEEL                  OK     90008581590
286356A755B161   PORCHA              HUNTER                AR     90011126075
2863575585B271   MARK                RUSSELL               KY     90010847558
28635A36272456   PAMELA              JOHNSON               PA     90006880362
28635A3654B588   NICOLE              GREEN                 OK     90009570365
28635AAAA8B137   PATRICIA            SANTILLAN             UT     90004870000
286365A1172B88   RYAN                SPEAR                 CO     90013935011
28636848A91592   FELIPA              NAJERA                TX     90007188480
28636A77991828   JOYCE               BAILEY                OK     21066370779
2863849865B161   MARIA               RAMIREZ               AR     23022874986
2863899212B987   TERESA              HAMRICK               CA     90012699921
2863937117B449   STEPHANIE           ROBINSON              NC     90010373711
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2863967245B161   NATALIE      STEVENSON                    AR     23018106724
2863968389184B   FRANCISCO    GONZALES VILLALOBOS          OK     90009416838
28639838872B29   WHITNEY      JORDAN-TRUJILLO              CO     90004098388
28639A7169189B   MONIKA       WOLF                         OK     90014780716
2863B26539184B   SHAYLA       PERKINS                      OK     90010472653
28641AA732B27B   TIGIST       FISSEHA                      DC     90007480073
2864264134B521   RACHELL      RHODES                       OK     90005246413
28643282A2B27B   TENIKA       FENNER                       DC     90001732820
286437A5257157   JENNIFER     RILEY                        VA     90012967052
2864474532B249   JUANITA      DOWDY                        DC     90002487453
2864487A14B588   NICQUELL     OMEZ                         OK     90013498701
2864494939184B   URIEL        CORTEZ                       OK     90002059493
2864549629189B   JAMES        OFFICER                      OK     21006224962
2864565795592B   CIRENIO      GUTIERREZ                    CA     90010786579
2864572485B161   VERNON       MORGAN                       AR     90000727248
2864576424B564   PEECH        JOHNSON                      OK     90000577642
28646233372B88   ANGEL        CRUZ                         CO     90003282333
2864642147B471   JESUS        LOPEZ                        NC     11077354214
28646558572B29   ISABEL       MELGOZA                      CO     90009855585
28646664A91356   CLARENCE     MCWILLIAMS                   KS     90011206640
28647155972B29   ROBBY        ORR                          CO     90002771559
2864835125598B   MICHELLE     MARTINEZ                     CA     90005673512
2864958484B281   CELIA        MITCHELL                     NE     27051925848
2864B55577B471   KATHY        RALEY                        NC     90010905557
286519A9372B42   HUGO         RODRIGUEZ                    CO     90012489093
286524A8472B42   CARLOS       MUNOZ                        CO     33042834084
2865347369189B   LATOSHIA     KELLEY                       OK     90014694736
28654176A91356   MARTHA       RAMIREZ                      KS     90013331760
286543A924B588   SPARKELL     MONTGOMERY                   OK     90014413092
2865494945B271   LESLIE       PERKINS                      KY     90012949494
28655219872B29   SHANNON      GIARRUSSOM                   CO     33090492198
28655A5A69155B   JAVIER       CARRILLO                     TX     90008750506
28655AA347B449   GLORIA       RESENDEZ                     NC     90014110034
286563A2231453   STACY        STUBITS                      MO     90007813022
2865793A64B988   JOE          GARRICK                      TX     90014179306
28657A83991547   ELIZABETH    BARRAZA                      TX     75043550839
28658186A72B42   ERIC         VELA                         CO     33048741860
2865819479184B   THERESA      COLE                         OK     90014051947
2865839684B261   AISHA        RICHARDSON                   NE     90012063968
28658695A91833   TIFFANY      HALL                         OK     90008386950
28658A88631453   KEYONNA      BELK                         MO     90014720886
286593A164B988   ANITA        DYSON                        TX     76560403016
2865964A272B42   MARIE        VELASQUEZ                    CO     90011096402
2865B84754795B   BLANCA       SAENZ                        AR     25088178475
2865BA41631453   RAYSHAWN     STEEPLES                     MO     90014720416
2866141532B841   NESTOR       INGA                         ID     90012714153
28661641A9189B   SHARON       BARRIOS                      OK     90014026410
2866211A631631   LISA         TAYLOR                       KS     22021151106
2866227A974B97   HEATHER      HALL                         OH     90010232709
28662698A31433   JASMINE      BAILEY                       MO     90004616980
28663178172B42   VERONICA     FRANCO                       CO     90005331781
2866379462B27B   BRENDA       WOODLAND                     DC     90010517946
2866399395B271   CARMEN       FRYE                         KY     90011419939
2866474224B281   SELINA       SANCHEZ                      NE     90000367422
28664771A4B988   TAMMY        CONLEY                       TX     90014787710
2866485984B261   RABIN        SUBBA                        NE     90014488598
286653A5691356   SHANDA       HUGHES                       KS     29040053056
2866641854B988   ERIC         BARTHOLAMEN                  TX     90014154185
2866717574B281   NOAH         SUTTON                       NE     27064701757
2866816A69184B   ANDRE        BARR                         OK     90013891606
28669381A4B281   MORGAN       SHARON                       NE     27054333810
2866B518A91592   MANUEL       CUEVAS                       TX     90014485180
2866BA6489155B   JESUS        ROMANILLO                    NM     75007700648
2867156987B449   ROSARIO      DELGADO                      NC     90005395698
2867166964B521   JAQUAY       LAQUALLA                     OK     21516476696
28671A66172B88   KIMBERLY     BELL                         CO     33042400661
2867248675B161   MARSHUNDA    THOMAS                       AR     90012874867
2867275685B161   MARSHUNDA    THOMAS                       AR     23084097568
28672871A57157   CLAUDIA      ESCOBAR                      VA     90012118710
28672885A31453   TONY         HENDERSON                    MO     90014308850
2867317249189B   NADA         MOSTOFI                      OK     90007751724
2867355732B27B   TYRONICA     WILLIAMS                     DC     90012815573
28673598336B77   AGNES        ONDIEKI                      OR     90004835983
2867366964B521   JAQUAY       LAQUALLA                     OK     21516476696
28674296772B29   LILIANNA     MORALES VILLAREAL            CO     90010242967
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2867625A59189B   REBECCA       THOMAS                      OK     21065902505
286763A954B588   TANNER        POLK                        OK     90012373095
28676419A2B27B   WILLIE        SHORTER                     DC     90014724190
2867727455B571   VANESSA       PEREA                       NM     90014642745
2867736664B521   RHONDA        MILIA                       OK     90005533666
286776A5631456   JUSTIM        RINGLING                    MO     90004956056
28678123A5B271   MARCOS        ORTIGOZA                    KY     68070401230
2867854812B27B   WESLEY        PINKNEY                     DC     90015295481
28678A6224B988   TRAVIS        COLLINS                     TX     90013950622
2867982575B571   DARLENE       ALVARADO                    NM     35040238257
28679A4324B988   MICHAEL       DOUCET                      TX     90010730432
28681451272B42   VERINA        RIVERA                      CO     33055514512
28682195A31453   TERRENCE      LUMPKIN                     MO     90014721950
2868229474B521   COREY         DAVIS                       OK     21516482947
286828A354B281   EDGAR         MARTINEZ                    NE     90014918035
28683217172B42   JORGE         HERNANDES                   CO     33051212171
2868325545B571   JORDIAN       PACHECO                     NM     90014652554
286833AA59189B   JONNY         PORTER                      OK     90013403005
28684217172B88   VIC           BARBOSA                     CO     90012752171
2868484A685965   SARAH         MAGEE                       KY     90005648406
286857A9757157   JUAN          AGUILAR                     VA     90000557097
28685A59491528   JOSEPH        OBER                        TX     75095050594
2868614758B15B   DELO          LIU                         UT     31088461475
28686158A3364B   LETICIA       GRANADOS                    NC     90014781580
28686269472B88   ESTEBAN       RODRIGUEZ                   CO     33053162694
286877A2941245   LEANNE        ZERR                        PA     51020927029
28688679772B98   ROBIN         JONES                       CO     90011846797
2868876149189B   CAROLINA      RIOJAS                      OK     90010737614
2868922444B588   ABRAHAM       MENDUS                      OK     90015032244
2868922514795B   TOVAR         MANUEL                      AR     25096062251
2868938389184B   HUGO          MARIN                       OK     90014823838
28689459172B29   ANGEL         BARELA                      CO     33052064591
2868B446491592   RAMON         CASTILLO                    TX     75081904464
2868B611131453   WENDY         WEIGHT                      MO     90011566111
2868B61395B571   ANTONIO       SOLIS                       NM     90014616139
2868B746791828   ANTHONY       WHALEN                      OK     90000967467
2868BA9994B988   NICOLE        COLLINS                     TX     90013950999
28691A2577B449   JAHNIEL       CABRERA                     NC     90008720257
2869218425B571   NANCY         ABEYTA                      NM     35062051842
2869273845B161   BOBBIE        HAMPTON                     AR     23018187384
28693218172B88   SANCHO        SANDOVAL                    CO     90013052181
2869359344B588   STACEY        BLATNEY                     OK     90003785934
2869359385B271   ROY           TAYLOR                      KY     90005595938
28693AA949189B   ANTHONY       COX                         OK     90014050094
28694126872B88   DAVID         PENA                        CO     90013991268
2869478422B27B   MORRIS        SMITH                       DC     81020137842
2869518A691828   CING          LUN                         OK     90015321806
2869556629189B   TAMEKIA       COLBERT                     OK     21081045662
286963A4451333   SHAWN         ALCHELE                     OH     90009573044
286965A755B571   APRIL         RHODES                      NM     35060565075
2869747895B571   RACHEL        BOETTGER                    NM     35088044789
286974A7544B75   PAUL          GRIMM                       OH     90014014075
28697551472B88   CHRISTOPHER   BARRETT                     CO     90014735514
28697817472B42   ALEJANDRO     OLIVAS                      CO     33084778174
2869798415B333   MONICA        MONROY                      OR     90015039841
28697A95A91828   JONI          SHELTON                     OK     21048060950
28697AA4A93727   DEBBIE        PARKER                      OH     64560510040
2869844144B281   JEFF          KETZEBACK                   IA     90011814414
28698617A72B88   LETICIA       VALIENTE                    CO     33051826170
2869874939184B   THOMAS        CRAGER                      OK     90013737493
28698751972B29   YVONNE        GONZALES                    CO     90002337519
2869993712B27B   COURTNEY      MERCER                      DC     90010869371
2869B364691547   MARIBEL       CASTRO                      TX     90013933646
2869B3A265B571   BRITTANY      GUTIERREZ                   NM     90014643026
286B119795B571   ASTRID        CAHUEX                      NM     90008631979
286B1666657157   SARAH         GRANT                       VA     90013796666
286B218849184B   LACY          BOFFER                      OK     90013901884
286B2385A5B257   JOSH          LAFEVER                     KY     90008553850
286B2837591592   ODALYS        VILLANUEVA                  TX     90013178375
286B2A5A531453   LISA          LOPEZ                       MO     27593180505
286B2AA379189B   EMILY         BURNS                       OK     90012520037
286B3429A91356   DEANNA        TURNER                      KS     90014764290
286B369AA72B42   KRIS          FRANK                       CO     33072606900
286B375A27B449   FATIMA        PORTILLO                    NC     90009877502
286B3A17536B77   RACHELL       GONZALEZ                    OR     90007850175
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286B433929184B   HILDA         LEYVA                       OK     90009143392
286B4791591592   PANCHO        MARTINEZ                    TX     75086867915
286B5148672B42   MARTHA        LOPEZ-MAGALENO              CO     90007931486
286B53AAA4B988   LEONARDO      CABRAL                      TX     90014703000
286B5711131631   VICHET        MENG                        KS     22075947111
286B7233881637   SHARDAE       JONES                       MO     29003222338
286B7244672427   DALE          MCCANDLESS                  PA     90014312446
286B7645281633   MONICA        ALBERTY                     MO     90014756452
286B8155972B42   ERASMO        DIAZ                        CO     90013731559
286B8318972B29   VALERIE       VIGIL                       CO     90011533189
286B8921A31453   TANESHA       GRIFFIN                     MO     90014719210
286B8A84157157   CAROLINA      AMAYA                       VA     90015020841
286B9147A97B4B   ERIC          PETAGO                      CO     90008931470
286B9192591592   ERIC          MARTINEZ                    TX     75090291925
286B92A1A72481   CANDY         KIMMELL                     PA     90007092010
286B944A49189B   JAMES         MCNABB                      OK     21049894404
286B9725172B29   JOHN          CERECERES                   CO     33037217251
286B978728B166   CAROLINA      MARQUEZ                     UT     90004877872
286B9865281638   TAMMY         LOPEZ                       MO     29077108652
286B9928691356   JUANA         SOTO                        KS     90001419286
286B9968672B88   HECTOR        MEZA                        CO     90013259686
286BB13255B271   SCOTT         MORGAN                      KY     90003031325
286BB424A91833   HOLLY         SCOTT                       OK     21012804240
286BB452672B88   HILARIO       SANDOVAL                    CO     33001484526
28711716976B22   IVAN          BALLIN                      CA     90014357169
28711A8154795B   MICHAEL       LEWIS                       AR     25096620815
287136A149189B   AMY           BREVILLE                    OK     90014886014
28713A6A131277   VELMA         HUDGINS                     IL     20520190601
28713AA9581646   FRANZ         GA                          MO     29002690095
2871423359189B   KAREN         DAY                         OK     90012162335
28714494A5B571   ANTHONY       DEVARGAS                    NM     35041054940
2871547417B449   KARA          RYDILL                      NC     11008154741
2871567854B588   REBECCA       WILLIAMS                    OK     21559656785
28715A6589184B   ERNESTO       MARTINEZ                    OK     90007740658
28715A9192B232   NETA          VAUGHT                      DC     90008890919
287161A225B571   JOSE          HERRERA                     NM     35059751022
2871637439184B   WYATT         SHELDON                     OK     90004893743
28716A98331631   DION          RIEDEL                      KS     90013050983
28717217936B77   VICTORIA      SMITH                       WA     90015362179
28717849372B29   JONATHAN      MAX                         CO     90011278493
28717A6679184B   SUSANA        WAYD                        OK     21066670667
28718324A51328   CAMERON       KELSY                       OH     90013353240
287184A1191828   ENNI          AGUSTINE                    OK     90012784011
28718567A9184B   BRITTANY      ESTES                       OK     90013725670
287186A1872B88   SEAN          MILLER                      CO     33082776018
28718A37891547   NANCY         LOPEZ                       TX     75030470378
28718A4915B571   CARLOS        MEDRANO                     NM     90010770491
28719144A9184B   MICHAEL       ROGERS                      OK     21003441440
2871946A59189B   CHRISTOPHER   CHENEY                      OK     90011614605
28719586A91844   JOSE          OLCON                       OK     90013015860
28719A5945B161   JESSICA       WILLIAMS                    AR     23087210594
2871B177A81633   STACY         MCQUEEN                     MO     29063991770
2871B9A2731631   DENNIS        MOLER                       KS     22074189027
2871BA4495B271   MARQUITA      CHAPMAN                     KY     90014730449
2872214714B988   IVAN          CORDOBA                     TX     90011401471
2872219849184B   LISA          MCCLISH                     OK     90012731984
28722687572B29   MATHEW        COMER                       CO     90015046875
28722A43391833   MELISSA       HERNANDEZ                   OK     90011330433
287231A842B27B   ROBERT        HALL                        DC     90015301084
2872356144B261   JUAN          ROMERO                      NE     90015445614
2872381A931433   RICHARD       MARKS                       MO     90004618109
28723AA519189B   ULISES        MAZARIEGOS                  OK     21092730051
28724477A91547   ARMANDO       RUIZ                        TX     75000924770
2872496A79184B   ORLANDO       GONZALES                    OK     90013779607
2872524224B281   MARIA         SANTIAGO                    NE     27017112422
2872526764B261   ANGELA        JONES                       IA     27038422676
2872643754B281   ANGELIQA      LOPEZ                       NE     90014744375
28726458672B42   NICOLE        GUTIERREZ                   CO     90012644586
28726A48A5B161   SHIRLEY       FELEMONS                    AR     23007050480
2872786235B571   DAVID         NERI                        NM     90011728623
2872B119A91828   ARCILA        VILLALPANDO                 OK     90011431190
2872B45484B281   AGRIPINA      PACHECO                     NE     90011284548
2872B66245592B   ALYSSA        RODRIGEZ                    CA     90014786624
2873159917B423   PRETTY        LADY                        NC     90012555991
28731A45385991   DON           WILLIAMSON                  KY     90007000453
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2873258745B271   ELAINE        SHELTON                     KY     90002785874
28732861772B29   JOSE          VILLAGRAN                   CO     90011278617
28733833372B88   DARRELL       JACKSON                     CO     90012048333
2873437794B281   MISTY         CEBALLOS                    NE     90001043779
28734415972B88   DARYL         EASON                       CO     90011624159
287345A874B988   BRIAN         TREGRE                      TX     90012645087
28735771372B88   GLORIA        TORRES                      CO     90009737713
28736682A9184B   CLARISA       SOSAVILLANUEVA              OK     90014756820
28736685572B29   GRETCHEN      TAYLOR                      CO     33017496855
28737427A9189B   LEON          ALEMAN                      OK     21093584270
2873768179184B   CANDRA        DREW                        OK     90009206817
2873837775B571   LIZBETH       RUIZ                        NM     90014643777
2873928259184B   ARMANDO       SANDOVAL                    OK     90010472825
2873975A55B571   ERICA         BACA                        NM     90002647505
2873B326891592   SANDRA        VASQUEZ                     TX     75021263268
2873B494772B29   ANGELIA       ALKINS                      CO     90002464947
28741198772B98   MARIA         SALAZAR                     CO     90010061987
2874138388B16B   CONNIE        GASCAS                      UT     90005543838
2874148434B52B   JOEL          MCCRACKEN                   OK     21553614843
28742496972B88   SAMANTHA      SHIPWASH                    CO     90013244969
2874256114B588   RAY           BALDERAS                    OK     21559815611
287425A6331453   TIM           LOWE                        MO     90010305063
2874316964B281   DENISE        COBB                        NE     90007741696
28743184A5B571   ALEJANDRO     BORJAS                      NM     35038571840
2874343679189B   ALEXANDRA     HOLLAND                     OK     90009284367
287448A1991356   LUIS          APARICIO                    KS     90014158019
2874498A791833   CORNELL       ROLLAND                     OK     90014979807
287451A614B988   JOSH          JOHNSON                     TX     90014141061
28745323A57133   GLENDA        APARICIO                    VA     90013663230
287453A874B588   EVER          PEREZ                       OK     90010753087
2874541254B261   OMAR          SAMATEH                     NE     90010294125
28745948972B88   SANDY         RAMIREZ                     CO     33045239489
2874612879184B   KIM           MOORE                       OK     90011201287
2874632A39189B   GRISELDA      PADILLA                     OK     90003973203
2874698424B281   TENISHA       VAWSER                      IA     90012219842
28746A95457133   JOSE          PORTILLO                    VA     90010580954
28747127272B88   KURT          ALTHOFF                     CO     90013991272
28747A3A457564   AMANDA        HALLADAY                    NM     35586010304
28748776672B88   ADRIANNA      KOCAK                       CO     90012857766
2874893744B588   ARTHUR        JOHNSON                     OK     21510569374
28749493472B29   ANDREW        DENNIS                      CO     33020134934
2874B178A91241   BRIAN         CURBY                       GA     14588411780
2874B3A6991547   MARIZA        GUILLEN                     TX     90011713069
2874B4A1957157   BANDITSEREN   OTGONBAYAR                  VA     90010534019
2875338A24B281   VALERIE       LIZZIE                      NE     27084943802
28753754772B88   ZYANYA        CHARLES                     CO     33035107547
2875378444B261   HALLE         SHERLOCK                    NE     90007607844
2875475834B521   KELLEY        DAVIS                       OK     90005247583
287553A6491592   NORMA         PARRA                       TX     75086623064
2875543155B571   DEIDRE        MORGAN                      NM     90014644315
2875574154B988   MADALYN       BROWN                       TX     90004587415
2875584AA2B27B   GABRIELLA     EDWARDS                     DC     81088848400
2875639154B281   CHRISTOPHER   MILLER                      NE     90015303915
2875664A791592   JOSE          ROMAN                       TX     90001026407
28757A83931631   AMY           CUTSHALL                    KS     22096620839
2875829A672B42   ROSALINDA     DE ROBLES                   CO     90013642906
2875874A872B29   GLORIA        ROBINSON                    CO     90009407408
2875B647291356   STANLEY       MULDREW                     KS     90015186472
2875B71584B281   DENISHA       THOMAS                      NE     90013977158
2875B99465B271   LAKISHA       OLIVER                      KY     90010529946
28761766A31453   AMERIA        CHAPPLE                     MO     90014727660
28761877372B88   EDWARD        FRIESS                      CO     90011138773
28761955A97B23   HENRY         BUSS                        CO     90006889550
28763331A91547   PRISCILLA     ORTIZ                       TX     75057163310
2876361994B588   RICARDO       REYNA                       OK     21591046199
28763A9119189B   LISA          BIEKER                      OK     90005360911
28764669436B77   SEGH          JOHNSON                     WA     90015456694
287646A3431453   DAWN          TUCKER                      MO     90014636034
28764A7A291828   JILL          AGUILAR                     OK     21003990702
28765617172B42   COLLIN        ANDREW ZANKER               CO     33084886171
2876588397B449   KHUCH         RAHLAN                      NC     90001038839
2876663969189B   JOSHUA        STACY                       OK     90012676396
2876673729184B   JOSE          FERNANDO RODRIGUEZ          OK     90010767372
28767244A2B27B   ELLIS         ANDERSON                    DC     90009562440
28767756572B88   VICTORIA      HARVEY                      CO     90012397565
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28768638172B42   DULCE        HERNANDEZ                    CO     33040176381
2876875734B261   KIRSTEN      WEIKLE                       NE     90009837573
2876913542B27B   JAMES        TAYLOR                       DC     81058151354
2876975399184B   INDRIT       VUCAJ                        OK     90012557539
2876981A931453   LARHONDA     HOLMES                       MO     90014728109
2876B182157157   ANTHONY      BLACK                        VA     81009691821
2876B25972B27B   JOHN         CUNNINGHAM                   DC     90002652597
2876B65137B449   FELIX        LOPEZ                        NC     11097776513
2876B697A72B88   DARREN       MAESTAS OR JANETH VILLA      CO     90013496970
2876BA2984B261   CANDAC       JIPSON                       NE     90001410298
2877117A891528   JOSE         RAMIREZ                      TX     90003301708
28771593536B77   MARTINA      SALAMANCA                    OR     90008365935
28772432672B88   PATRICIO     PISANA                       CO     90012734326
2877245629155B   NORMA        ARGUELLES                    TX     90006714562
2877343335B571   ANTONIO      MONTOYA                      NM     90012034333
2877413315B161   PAULA        MILLS                        AR     90009941331
28774333172B25   JUSTIN       CARPENTER                    CO     33028953331
2877496982B987   MAXIMINO     TORRES                       CA     90015019698
28774AA254B988   MACARIA      VELASQUEZ                    TX     90014110025
28775132772B88   GRACIELA     MARTINEZ                     CO     90005621327
2877535337B471   HECTOR       LOPEZ                        NC     11004623533
287753A8881687   ELEANOR      RAMIREZ                      MO     90010073088
2877599937B449   ZENAIDA      HERNANDEZ                    NC     90010749993
287777A3681633   ABEL         G                            MO     90014137036
28777834172B42   YOLANDA      PACHECO                      CO     33012638341
28777A2549184B   GEINER       MIRANDA                      OK     21017000254
28777A8345B538   ROGELIO      ORTIZ                        NM     90013900834
287783AA77B449   MERCEDES     CASTRO                       NC     90014153007
287786A447B471   CELINA       STITT                        NC     11036176044
28778795A9184B   COREY        COATS                        OK     90002157950
2877957A19184B   KAREN        DUNN                         OK     90002675701
2877983789376B   SANDRA       MCCOLLUM                     OH     90006508378
2877994729189B   LAURA        SANCHEZ                      OK     90014169472
28779A1639376B   TIMOTHY      VANHOOSE                     OH     90001050163
2877B433436B77   FIDEL        GOMEZ                        OR     44571824334
2877B626241245   THOMAS       EXLER                        PA     90009056262
2877B768557157   MARCELLA     BARKSDALE                    VA     90005437685
2877B818931453   COZET        LATIMORE                     MO     90014728189
28781397A71923   JANA         HAYES                        CO     90013243970
2878225754B988   COREY        JOYNER                       TX     90012192575
28783961172B29   NOLBERTO     OJEDA                        CO     33076079611
2878473772B27B   LAKIVA       MCGHEE                       DC     90012817377
28784897A31453   ALIESHIA     PIERCE                       MO     27512028970
28784A69591589   MARISELA     RIOS                         TX     75072380695
28785835972B29   JESUS        DE LEON                      CO     33098538359
2878631737B449   ALICIA       HERNANDEZ                    NC     90014153173
2878645785B571   ROBERT       EBERT                        NM     90014644578
287865A769189B   TORI         ALEXANDER                    OK     90011005076
2878762A691833   SUMMER       TAFOYA                       OK     90009456206
28787A12491547   CESAR        CARRASCO                     TX     90005110124
2878887A893724   LAWRENCE     NWOYEOCHA                    OH     90011808708
28788918A93724   NAKEMEA      BIRDEN                       OH     64559909180
28788A5A272B88   STEPHEN      DEYERLE                      CO     90011950502
2878922364B261   NICOLE       COX                          IA     90014702236
2878965742B27B   JASMINE      DAVIS                        DC     90014526574
2878B59515598B   OLGA         RODRIGUEZ                    CA     90011205951
2878B739A31631   TOSHA        REED                         KS     90012557390
2878B829A4B988   JOSEPH       WHITE                        TX     76540568290
2878BA2A72B27B   DELFINA      RAYMUNDO-GUDIEL              DC     90008800207
287918A2372B42   JOHN         BERRY                        CO     90014768023
2879198335B571   JOSEPH       MANZANARES                   NM     35057339833
28791AA9272B88   KARINA       ARROYO                       CO     90012640092
287941A8341245   DAN          SCHUESSLER                   PA     51057481083
2879425379184B   LARRY        FORTENBERRY                  OK     21003812537
2879431166194B   KEN          EDWARDS                      CA     90008723116
2879477762B27B   DONNA        CHRISTIAN                    DC     90012817776
2879513489184B   ASHLEY       ROSS                         OK     90013741348
2879546314795B   ANDREA       PEREZ                        AR     25064594631
28795A2284B281   DAVID        SANSON                       NE     90012120228
2879717595B161   MONICA       HUMPHREY                     AR     23033421759
2879749A857157   LAUREN       WATTS                        VA     90014154908
287977A5391833   MARCELINO    DIAZ                         OK     90003957053
2879817A97B368   MOHAMED      HUSSEIN                      VA     90001301709
28798954772B88   PERRY        MESKIMEN                     CO     90008509547
2879939385B571   MICHAEL      ROGERS                       NM     90014913938
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287996A3391592   MARCO        CORONEL                      TX     90013876033
2879B444372B29   GABRIELA     CATRO                        CO     33061854443
2879B567391833   JACQUE       BEAVER                       OK     90013165673
2879B72A49189B   KRISTINA     BACHMAN                      OK     90006417204
287B169237B486   GENA         LYNN MOORE                   NC     90007136923
287B2342872B29   NICK         ACOSTA                       CO     90004503428
287B2893891241   BOBBIE       WHITE                        GA     90010018938
287B3381A4B281   MORGAN       SHARON                       NE     27054333810
287B3496972B88   SAMANTHA     SHIPWASH                     CO     90013244969
287B3633931631   KYLIE        HENDERSON                    KS     90010886339
287B3862857157   MANUEL       ALVARENGA                    VA     90010528628
287B3972891547   LISA         SKELTON                      TX     90002179728
287B3A8A331453   DANIEL       REBERT                       MO     90007510803
287B3A9519794B   SANDRA       DARLING                      TX     74011870951
287B458A34B28B   BRANDON      KAUFMAN                      NE     90013055803
287B4858671943   ALEXANDRA    PHILLIPS                     CO     90006608586
287B5164291547   FRANCISCO    RODRIGUEZ                    TX     90014731642
287B522A941245   JANET        TERRY                        PA     51060432209
287B5539157157   DANNIEL      TENEZ                        VA     90013815391
287B591912B27B   CLIFTON      GARY                         DC     90009179191
287B6327A91547   CARDOZA      JORGE                        TX     90014373270
287B66A1A2B27B   JOHNNY       BRATTON                      DC     90012816010
287B6885191833   JULIE        THORNBRUGH                   OK     90003888851
287B731A591547   WILFREDO     TORRES                       TX     75084623105
287B844659189B   PATRICIA     ALFARO                       OK     90011854465
287B871A15B571   ANGIE        FIGUEROA                     NM     35041357101
287B8767957157   JASON        BERMUDEZ                     VA     90014887679
287B9358A4B261   IGNACIO      DEMUNER                      NE     90012913580
287B93A8A57157   ANTONIA      ALEMAN                       VA     81064303080
287BB363181633   JOEL         JACKSON                      MO     90014113631
287BB4A3272B42   RYAN         STUART                       CO     33067074032
287BB852491592   CODY         AMMONS                       TX     90012428524
288112A782B264   AVIS         THOMPSON                     DC     90014092078
28811518772B88   LUIS         APODACA                      CO     90013935187
28811875672B88   DEZMEN       SANCHEZ                      CO     90005138756
2881455835B571   JUAN         OERA                         NM     90003055583
2881494152B27B   MIGUEL       MERINO                       DC     81078379415
2881592527B449   A JA         WALKER                       NC     90008339252
2881627245B571   JANE         KENDALL                      NM     90011732724
2881733517B471   LESLIE       BLAKENEY                     NC     11069643351
28817573372B88   MIGUEL       DEGOLLADO                    CO     90014735733
2881829515B161   MARK         SHAW                         AR     23091792951
2881845A851351   VALERIE      LANDERS                      OH     90011384508
2881855835B571   JUAN         OERA                         NM     90003055583
28818831272B29   HECTOR       MORELOS                      CO     90008828312
28819651A91356   FRANCISCA    HERNANDEZ                    KS     90013226510
2881997994B588   MISTY        THOMPSON                     OK     90010759799
28819A25A72B88   BELLA        URBINA                       CO     33098290250
28819A3223144B   ALICIA       HUDSON                       MO     27542240322
2881B177131453   JODY         BRISON                       MO     90005961771
2881B1A3291528   FELIX        ARROYO                       TX     90005741032
2881B36872B27B   DAJHAN       SETTLES                      DC     90014843687
2882145484B521   NIKENYA      COX                          OK     90002514548
2882154459184B   ELISA        PUENTE                       OK     90009015445
28821A46791547   MARK DAVID   RODDY                        TX     90013920467
2882262A591356   JUDE         JEULCIAS                     KS     29088526205
28823842772B88   ISAAC        GONZALES                     CO     90013488427
2882397394B261   APRIL        WARREN                       NE     90015069739
28823A8194B261   JOAL         NISTL                        NE     90008300819
28824A23457157   SEBASTIAN    GONZALEZ                     VA     81054140234
28824A52831453   CEPEDA       WHITE                        MO     90014730528
28825232272B88   CINDY        FLORES                       CO     90013962322
2882542534B541   JUANITA      JONES                        OK     90011124253
2882562A77B422   GLADYS       MCCULLOUGH                   NC     11007516207
2882573679184B   TIA          PRESLEY                      OK     90014337367
28825867A92864   SONIA        WETMORE                      AZ     90014658670
2882597999189B   ERICK        DIONICIO                     OK     21014869799
28825A16591833   CLIFFORD     BRUNELLE                     OK     90013360165
28826218A7B449   ELISEO       GARCIA                       NC     11038032180
288264A6772B88   BRISA        MONREAL                      CO     90004214067
288273AA95B271   LAVINA       COLE                         KY     68081163009
2882771714B261   EDWARD       SPENCER 4TH                  NE     27056117171
2882878665B271   AIMEE        PAWLEY                       KY     90009747866
2882894519184B   WILLIAM      KOZIK                        OK     90006239451
28828A36A38525   VERONICA     GARCIA                       UT     90012100360
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2882946A692864   KAREN        MENDEZ                       AZ     90015054606
2882951514B261   ROBERT       JENSEN                       NE     90014075151
2882977557B449   TINA         NICHOLS                      NC     11067477755
2882B269372B29   ELENA        GREEN                        CO     33004362693
2883127A772B29   MONICA       CASTILLO                     CO     33048902707
2883195687B471   ROMANUA      JONES                        NC     11047959568
28831A46791547   MARK DAVID   RODDY                        TX     90013920467
28832372972B42   PAMALA       MILLER                       CO     33041563729
2883257164B988   LEENORA      NELSON                       TX     90014625716
28832844672B29   LOURDES      CABRIALES                    CO     33084658446
2883351222B926   CAMMY        WOODY                        CA     90004185122
288337A2A4B281   DORIS        LEWIS                        NE     27089517020
2883428827B449   CANDIDO      RIOS                         NC     90002302882
2883468A64B988   ROBYN        CHILDRESS                    TX     90012116806
2883477965B271   CHAD         BEST                         KY     90013947796
28835845172B88   MELINDA      HERNANDEZ                    CO     33094538451
2883732265B571   BLANCA       CHAVEZ                       NM     90013033226
2883734A15B271   APRIL        WATKINS                      KY     90014793401
2883899314B588   WANDER       OMERO                        OK     21559299931
28838A51391547   ELIZABETH    BENCOMO                      TX     90013920513
2883B2A2857593   GABRIELA     BAEZA                        NM     90013272028
2884139832B389   CLAYTON      SWEET                        CT     90013653983
28841411472B42   JAMES        COFIELD JR                   CO     33073464114
2884184274B281   DOMINIC      MOSIORI                      NE     90004028427
28842522872B88   MARLENE      BORGES                       CO     90013935228
2884294915B161   PRESTON      YANCY                        AR     23022919491
2884332A272B29   ANDREA       JACKSON                      CO     90005493202
28843A5A536B77   ANIVAL       CALDERON                     OR     44520130505
2884472979189B   UBER         SILVESTRE                    OK     90009987297
2884514629189B   MARIA        LUGO                         OK     90004811462
28845315272B29   ADAM         ROMERO                       CO     33040043152
2884545747B449   VALERIE      GARRETT                      NC     90009294574
28845566A57157   MELISSA      WASHINGTON                   VA     90011965660
2884651849184B   EDUARDO      IBARRA                       OK     90000255184
28846989272B88   RICHARD      CRATEN                       CO     33095519892
288472A3857157   MONSTER      SCAPES                       VA     90010572038
2884733874B988   C HAD        HUMPHERY                     TX     90013033387
2884749A872B42   GENA         BARLEY                       CO     33076194908
2884757524B988   C HAD        HUMPHERY                     TX     90010345752
28847576472B88   MIKE         BIRD                         CO     90014735764
28847AAA931453   GLENDA       HAWKINS                      MO     90014750009
2884837319376B   RAFIK        HAKIM                        OH     64530583731
28848431972B29   GLORIA       ESPINOZA                     CO     33051854319
28849322272B29   LISA         MCALLISTER                   CO     90005493222
2884987569794B   LAKIESHA     TENNELL                      TX     74050258756
28849A99572B88   JUSTIN       STRIEGEL                     CO     33074220995
2884B35584B281   DWIGHT       HOWARD                       NE     90014603558
2884B466281637   SHARIKA      THOMPSON                     MO     29035554662
28851231A4B588   LASANDRA     GILBERT                      OK     90013232310
2885149AA91828   MARIA        PEREZ-SALDIVAR               OK     90010984900
2885328539184B   LEVI         MILLER                       OK     90012252853
28853A3764B261   TINA         POINTER                      NE     27065250376
28854322372B88   EDIN         ARGETA                       CO     90010083223
2885443817B449   DEBORAH      GATEWOOD                     NC     90014154381
2885484634B261   LISA         NOAH                         NE     27063688463
28854A36A9189B   ANNEKA       ROBERTSON                    OK     21035260360
2885567694B588   STACY        HESS                         OK     90012346769
2885673A143551   MARIO        OROZCO                       UT     90008997301
28856817372B29   JOSE         GARCIA                       CO     33071068173
28856AA534B261   ANTONIO      ZARZA                        NE     90012400053
2885727712B572   TOMASA       SOLIS JUAREZ                 AL     90015042771
28857341A91828   ADAM         PEARSON                      OK     90012193410
28857583472B88   NICK         PROCOPIO                     CO     90014735834
2885768892B27B   RENEE        SILVERS                      DC     90010196889
28857727472B29   MIKE         GALLEGOS                     CO     90015047274
28857A1384B588   JOSE         RIVAS                        OK     90000910138
28858423A5B571   STEPHEN      KNISELY                      NM     90011734230
2885979135B161   ONTARIO      ADAMS                        AR     23095007913
28859A2559184B   DIANE        YOUNGBIRD                    OK     90008630255
2885B532597B41   SALVADOR     RODRIGUEZ                    CO     90006415325
2885B791A91592   CHRIS        YTUARTE                      TX     90012057910
2885BA75161551   CHRISTIAN    MARTINEZ                     TN     90014660751
2886181AA81633   SHAVONNA     BROWN                        MO     90003298100
28861A28591356   THOMAS       MCCRAY                       KS     29009540285
288626A285B271   MANTRELL     PARKER                       KY     68073256028
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2886281184B988   ANDREA            WHITE                   TX     76556158118
2886287A172B29   LORENA            GUTIERREZ               CO     90001178701
28862949A91828   SHERYL            MCGHEE                  OK     21011289490
288629A942B962   CHRISTINE         WORTHY                  CA     45000649094
288642A862B27B   GERALD            WILLIAMS                DC     90011962086
288643A4177363   SERGIO            BARRIOS                 IL     20502303041
28866324872B88   MELISSA MONIQUE   SANCHEZ                 CO     90010083248
28867A7149184B   JUDY              TALYOR                  OK     21035730714
2886824874B281   VICTOR ALONSO     JIMENEZ                 NE     90012392487
2886844689184B   PA H              YANG                    OK     90007464468
2886871954B261   ROY               WINTERS                 NE     90001087195
2886937334B52B   ROBERT            OSIFE                   OK     90012103733
2886975A972B42   MANUEL            JIMENEZ                 CO     33076547509
2886999A57B449   JOTHAN            WILSON                  SC     11039799905
2886B522872B88   MARLENE           BORGES                  CO     90013935228
28871985397B37   JAMIE             COOK                    CO     90009939853
28871A52831453   CEPEDA            WHITE                   MO     90014730528
28871A85472B88   FELIPE            CERYANTES               CO     33067130854
28872266972B88   JAIME             GUTIERREZ               CO     90010522669
2887247725B161   DANIEL            EVANS                   AR     23093574772
28872A9684B281   NICHOLS           BRYCE                   NE     90012110968
2887313819184B   JOSE              CRUZ                    OK     90002801381
2887348237B449   DAFNE             CANTU                   NC     90014154823
28873A18472B88   PETRA             BELLO                   CO     90004410184
2887417A391528   CHRISTINE         GUERRERO                TX     90005741703
2887418619189B   JESSE             STEPHENS                OK     90008251861
288742A123146B   SHANE             KEELE                   MO     90000732012
28874A6579155B   LOUIE             BELIS                   TX     75017440657
2887511415B161   PATRICIA          ALSELMI                 AR     23098621141
2887555575B571   MELISSA           BROWN                   NM     90014645557
2887564475B571   MICHAEL           GRIEGO                  NM     90008436447
2887564479189B   KATRINA           TOLES                   OK     90012076447
2887632999184B   TYLER             ELLIS                   OK     90013043299
288765AA557157   JOSE              MARTINEZ                VA     81090955005
28876A4199155B   SERGIO            JASSO                   TX     75007810419
2887731717B471   ASHLEY            ANDERSON                NC     90001563171
28877583472B88   NAITUN            SEIN                    CO     33079455834
2887783139184B   KIMBERLY          MARCELLUS               OK     90014788313
28878813172B88   ERRICK            RODRIGUEZ               CO     90013048131
28878847472B29   MICHAEL           HERNANDEZ               CO     33011628474
2887964234B988   AMY               SMITH                   TX     90011006423
28879912A81633   LAURA             GUTIERRES               MO     29089809120
28879A55131631   KAYCIA            SUTTON                  KS     22050950551
2887B347572B42   TEWDRUS           ANDETSION               CO     90007563475
2887B867691828   MINDY             NEESE                   OK     21093078676
2888147959184B   TIM               MOLLOY                  OK     21019424795
28881858472B29   ROBERTO           AVALOS                  CO     33059068584
28881A8987B449   PATRICIA          MCNEILL                 NC     90012220898
28881A9499189B   DENNIS            CARLISLE                OK     90015430949
2888231294B281   MICHAEL           CONNELLY                NE     90013933129
288826A814B261   DONNIE            FRANCIS                 NE     27039686081
288828A2951328   BRYAN             ELLIS                   OH     90005248029
2888295474B281   DAVID             GONZALEZ-GARCIA         NE     90012229547
288833A315B393   JAVIER            OROZCO                  OR     90011413031
28883493A91592   SANDRA            WATSON                  TX     90012204930
28883A1745B525   JESUS             LOPEZ                   NM     90013620174
2888673A97B449   MARTIN            CHAVEZ                  NC     90010107309
288874AA45B571   JACLYN            FORT                    NM     90014634004
2888761774B988   MONICA            SANCHEZ                 TX     90012786177
28887843972B42   OMAR              GOVEA                   CO     33091198439
2888787217B449   TASHA             STURDIVANT              NC     90014488721
288878A9657157   AIMAO             BARRE                   VA     90010578096
28887949A91828   SHERYL            MCGHEE                  OK     21011289490
28888812A31453   DEBRA             SMITH                   MO     90001778120
2888936435B271   MICHAEL           FOGGY                   KY     90014703643
2888951A791356   MALINDA           BROWNLEE                KS     29000995107
28889852A57157   STEFFANY          JOHNSON                 VA     90005698520
2889117A17B449   DIANA             HEINRICH                NC     11066011701
28891343472B29   JADE              HERRERA                 CO     90011533434
2889181A791356   LEDET             BROWN                   KS     90009578107
28891A68272B42   BRENDA            BARRON                  CO     90013560682
2889329132B27B   ASIA C            BROWN                   DC     90012922913
2889442719184B   GRISELDA          GOMEZ                   OK     21038694271
28894468672B42   RACHEL            ZOKAITIS                CO     90014104686
2889547834B281   VIRGINIA          ORTIZ LOPEZ             NE     90003794783
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288965A444B261   NATE           BURRELL                    NE     27083465044
28896AA7841245   ADAM           CLARK                      PA     90005450078
2889735715B571   VICENTE        ROSALES                    NM     35084823571
2889749639184B   DAWN           HELTON                     OK     21087674963
288978A9A41245   DANIELLE       RIES                       PA     90000538090
28898174772B88   MISTIE         HENSLEY                    CO     33065221747
28898685472B42   MARIA          REYES                      CO     90014426854
2889949A55B571   ANTONIO        GONZALES                   NM     35092184905
2889949A591833   COLBY          MURPHY                     OK     90011344905
2889998194B281   JESSICA        RODRIGUEZ                  NE     90012429819
28899A4A572B88   EMILIA         SAUCEDO                    CO     90007470405
2889B258372B88   FLOR           TAPIA                      CO     33050172583
2889B466991592   MARIA          CRUZ                       TX     75000694669
2889B514172B42   MARCIA         DRISCOLL                   CO     33061805141
2889B738291542   ENRIQUE        LAWLER                     TX     75018987382
288B1337157157   KIMBERLY       GEORGE                     VA     81009553371
288B1421272B29   RUBEN          TRUJILLO                   CO     33055114212
288B1571772B88   ANNABELLE      RIVERA                     CO     90014735717
288B234257B449   JHANEE         BLOUNT                     NC     90014153425
288B249419155B   ANTHONY        COOK                       TX     75007934941
288B2945A41245   JOSEPH         MCDADE                     PA     90005449450
288B2A38472B29   MICHELLE       PETTIFORD                  CO     90009820384
288B2AA3931453   VINCENT        JACKSON                    MO     90015120039
288B334887B449   EDGAR          JARAMILLO                  NC     90014153488
288B3814A31453   UVETTE         MORELAND                   MO     90012788140
288B3A93191547   RUBEN          MARTINEZ                   TX     75080870931
288B4351657142   JOSE           FUENTES                    VA     90001843516
288B4359891541   ROBERT         ZAMBRANO                   TX     90011393598
288B4523A5B571   ROMOLO         CHAVEZ                     NM     35096735230
288B4624A9184B   MIRIAM         DURAN MUNOZ                OK     90013196240
288B472839184B   MIRIAM         MUNOZ                      OK     90010127283
288B548475B571   NICOLE         MARTINEZ                   NM     90014644847
288B5972931433   FELICIA        HUDSON                     MO     90004619729
288B6115A9189B   WILLIAM        HUFFMAN                    OK     90014061150
288B6382791592   MARTHA         SOTELO                     TX     90008113827
288B6814A31453   UVETTE         MORELAND                   MO     90012788140
288B6843A3B352   ALBA           SOLIS                      CO     90011368430
288B6949157157   LETICIA        HERRERA                    VA     90012519491
288B711584B281   ESTHER         MALDONADO                  NE     90009961158
288B761115B161   CHRIS          WILLIAMS                   AR     23021476111
288B7959A72B88   MAGDALENA      BAILON                     CO     90000409590
288B7A2539184B   AUDRA          LEWIS                      OK     90010130253
288B8234872B42   YVETTE         J O MAES                   CO     33033092348
288B8429425138   SCOTT          HERNANDEZ                  AL     90014504294
288B864A35B571   LIZY           SALVIDREZ                  NM     90011416403
288B8895672B29   RASCON         MELISA                     CO     90010948956
288B893A691592   CYNTHIA        VASQUEZ                    TX     75054659306
288B896A257157   JOSE           RAMIREZ                    VA     81054289602
288B9566A31433   THERESA        BARTON                     MO     90008615660
288B9793491828   DAVID          RODRIGUEZ                  OK     90013777934
288B98A6472B42   LUIS           BATISTA                    CO     90009058064
288B993114B588   ROXANNE        STREET                     OK     90009029311
288BB469581633   LONNIE         RIDDLESPRIGER              MO     29075494695
288BB49419155B   ANTHONY        COOK                       TX     75007934941
288BB887291356   CRYSTAL        MARCUS                     KS     90004398872
288BB99A37B449   JOSE P         REYES                      NC     90014169903
2891146274B261   RICHARD        CLARK                      IA     27060424627
2891157A125144   FELICIA        ROBINSON                   AL     90014575701
2891223289189B   JANA           EVANS                      OK     90002482328
28912A95191828   GISELLE        GUZMAN                     OK     90015100951
2891343A34B281   MARLON         DEVERS                     NE     90011314303
28914A12891547   JAIME          SANCHEZ                    TX     75094570128
28914A67372B88   MARIA          MEDRANO                    CO     33051280673
28914A95757157   DERESSE        WOLDENES                   VA     90000990957
28915849272B42   CONCHITA       HERNANDEZ                  CO     90004998492
28916327A72B29   MARIA          BARAJAS                    CO     90004433270
289172A7872B88   JOSE           BUSTILLOS-GAMBOA           CO     33042052078
2891743439184B   DAVID          FOX                        OK     21013864343
2891759944B261   QWANISHA       MITCHELL                   NE     90015295994
2891846684B588   CHARLES        MCCRACKEN                  OK     90015094668
2891971674B281   ANTUNASHEAKA   MIDDLEBROOKS               NE     90011707167
28919A12257157   JAY            MORALES                    VA     90014160122
2891B217491547   CANDELARIA     MORALES                    TX     90011372174
2891B28A35B571   LAURA          RAMIREZ                    NM     35029552803
2891B645591356   CRYSTAL        EVERIDGE                   KS     90012716455
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2891B75AA85928   LOUIS        SPEARS                       KY     90007677500
2892137A531453   ROSHANDA     BALENTINE                    MO     90014733705
289216AA372B88   CRUZ         QUEZADA                      CO     90014736003
28921864A4B541   ANNIE        BROWN                        OK     90013048640
2892236644B588   COQUESA      LARNEY                       OK     90006553664
28922482A91828   AMED         PLASCENCIA                   OK     90011864820
2892297914B988   JOHN         SOLIS                        TX     90012289791
28922A3A791592   JOSE         FABELA                       TX     75013380307
2892413679189B   DAVID        MCGILL                       OK     21088071367
28924446A31453   DEBBIE       WOODARD                      MO     90010164460
2892454769713B   YVONNE       WAINIS                       OR     90012085476
2892456A27B449   VICTOR       CANTU                        NC     90014155602
28926991772B88   DAN          MCLEAN                       CO     33097859917
28926A82691547   AURORA       FRANCO                       TX     90000910826
28927893572B29   JOHN         RODRIQUEZ                    CO     33072788935
28927899A91356   LEONA        GARCIA                       KS     90008688990
2892826477B449   ARMANDO      RENTERIA HERRERA             SC     90010452647
28928A9119189B   OLINDA       SALDIVAR                     OK     90013520911
289294A522B27B   CLARE        MOOYE                        DC     81064214052
2892952A17B471   MARIAN       SUTTON                       NC     90000915201
28929743A91833   KAYSHA       JAMERSON                     OK     90008507430
2892B43A985965   EMANUEL      JUREZ                        KY     66024804309
2892B446A5B271   HANNON       CINDY                        KY     90006184460
2892B4AA891547   YAZMIN       TORRES                       TX     90013934008
2892B656591356   ERIC         MIMS                         KS     90014416565
289313A156194B   SHAWNN       PARKER                       CA     46072583015
28931637972B42   HERNANDEZ    ADAN                         CO     33000866379
2893281222B27B   REINA        HERNANDEZ                    DC     81085608122
289328A149189B   JOHN         WALKER                       OK     21003638014
28932911172B88   TEODORO      MUNOZ                        CO     33000459111
28932A91691828   JEWEL        ANDREWS                      OK     90014610916
28933348A91547   LEONARDO     VASQUEZ                      TX     90007113480
2893375A591241   KIERA        MCLEAN                       GA     14576797505
28934341772B29   DEBRA        OKWALE                       CO     90011533417
2893443919184B   BREANA       CARNE-MCPHERSON              OK     90012514391
28934567A7B644   LEAH         UNWIN                        GA     90002785670
2893523295B54B   ANGELISA     YAZZIE                       NM     90014472329
2893558814B521   CARRIE       GEE                          OK     21516575881
28935A55781633   TANYA        DAVICKSON                    MO     90007880557
2893628A181637   ADISALEM     ASFAN                        MO     29055112801
2893644612B264   TSEGMAMLAK   MOHAMMAD                     DC     90012774461
289364AA49184B   MIRNA        CIFUENTES                    OK     90012834004
289368A7791547   VIANEY       CORRAL                       TX     75083268077
2893693117B471   FAYE         BAKER                        NC     11072829311
28937AA7431432   YVONNE       TAYLOR                       MO     90001800074
289384A1991592   LORENZO      OLIVAS                       TX     75016914019
289385A6472427   FRENCHYS     AUTO                         PA     90010805064
2893867A95B271   ZENDRA       EVANS                        KY     68081056709
2893892474B281   CARLOS       MARTINEZ                     NE     90007609247
28939425A5B571   MIGUEL       RODRIQUEZ                    NM     90013474250
2893955364B988   LEILANI      ROSETTE                      TX     90004995536
2893B485272B29   LUZ          MCCLENDON                    CO     90003254852
2893B485972B88   DERRICK      MITCHELL                     CO     33077714859
2893B831291528   RAQUEL       MONREAL                      TX     90007108312
2893B865657157   ALBA         GRANADOS                     VA     81012448656
2893BA41791592   PONSE        OLGA                         TX     90011200417
2894138798598B   RONDA        SCHWEITZER                   KY     66037563879
289418A6691592   ELIZABETH    FERNANDEZ                    TX     90014098066
2894213814B281   NORBERTO     IBANEZ                       NE     27085791381
289422A894B582   RUBEN        MUNOS                        OK     90013892089
2894235229184B   KEVIN        PLUNKET                      OK     90014413522
28942372A9189B   MARIA        SANTOS CRUZ                  OK     21071223720
2894253345B271   DORIAN       JOSEPH                       KY     90010535334
28942758A72B88   TANYA        DURAN                        CO     33042397580
28943567A85865   SACHIYO      TAKASAWA                     CA     90011655670
2894426845B244   ROBERT       WATERBURY                    KY     90008952684
2894639199794B   KEITH        PINNEY                       TX     74017983919
2894687625B271   DOMINGO      ROJAS-GOMEZ                  KY     90010938762
2894727897B422   JOHN         MATHEWS                      NC     90012702789
289476AA951331   KEVIN        KENNY                        OH     90000676009
2894895A37B449   SPENCER      SALAS                        NC     11081639503
2894918589794B   JANNETTE     SALAZAR                      TX     74013451858
2894962214B988   LEONARDO     CABRAL                       TX     76551776221
2894B863172B42   LANA         RUPP                         CO     33066688631
2895125774B988   JOSEPH       SCOTT                        TX     76586282577
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28951577A91592   DORA ISELA    MOLINA                      TX     90007805770
28951A57A91547   CHRISTOPHER   KRAUSE                      TX     90013920570
28952123A5B271   MARCOS        ORTIGOZA                    KY     68070401230
2895223172B892   DONALD        WHITTINGTON                 ID     90008572317
289526A988B188   LIZ           GREUEL                      UT     90012636098
28953795372B88   JOSE          BARRAGAN                    CO     90012857953
28954A62191547   FRANCISCO     ACOSTA                      TX     90013920621
2895518279189B   ROCIO         RODRIGUEZ                   OK     90014061827
289551A363B356   MARIA         BLANCO RODRIGUEZ            CO     90009681036
289554AA191241   PAYGO         IVR ACTIVATION              GA     90011574001
2895562AA57157   MELISSA       MONROE                      VA     90010016200
2895563775B571   MARELLA       DALGAI                      NM     90014646377
28955A8614B988   DICKIE        SPICKARD                    TX     90009500861
28956187572B29   KEITH         GUMMIN                      CO     90009261875
2895662147B449   JEL           K                           NC     90014156214
2895759A851328   SARAH         ISAACS                      OH     90006105908
2895899689155B   LIVIA         FLORES                      TX     75049849968
28959A31657157   EMMANUEL      BOCKARIE                    VA     90014160316
2895B525A85965   JOHN          TAYLOR                      KY     66033405250
2895B57A772B42   ARTHUR        EVANS                       CO     90013445707
2895BAA744B281   MICHAEL J     BOUQUET                     NE     27048350074
2896145139184B   SONJA         ALDRIDGE                    OK     90010434513
28961468A63635   YEATS         THURMOND                    MO     27500774680
2896288887B449   DIANE         SPRING                      NC     11052158888
28962986A31453   JERRY         MORGAN                      MO     27565349860
28963564672B42   KATRINA       MOORE                       CO     33010835646
2896485A33B352   ROMEO         NICHOLSON                   CO     90011538503
289658A2531453   CORTEZ        MINNIS                      MO     90011568025
2896722669189B   RONALD        OBRIEN                      OK     90014062266
2896748177B451   JOSE          MEDRANO                     NC     11094124817
2896768A62B27B   PARIS         ELLIS                       DC     90014306806
28967A1549189B   RONALD        OBRIEN                      OK     90014070154
2896827A791828   DANIEL        RODRIGUEZ                   OK     90011512707
28968658472B29   VICTORIA      HINOJOS                     CO     90010656584
2896888852B27B   IBRAHIM       ANWAR                       DC     90006538885
28969526A72B42   OSTIN         HERNANDEZ                   CO     90012895260
2896B868631277   LARENA        WARNER                      IL     90015408686
289713A7A5B259   AMY           WINTERS                     KY     68018873070
2897233239184B   JASON         WILLIAMS                    OK     90010933323
2897355447B471   MARIELA       GIRON                       NC     90004335544
2897374A49184B   LAVERL        TILTON                      OK     21037917404
28973A85A5B161   MARCUS        BROWN                       AR     90004220850
2897467984B261   TERRY         SORTINO                     NE     27073096798
2897537584B588   SINGLETON     NICOLE                      OK     90014173758
2897567895B271   ROSALINDA     ALLEN                       KY     68024166789
2897578A181638   JENNISE       TURKS                       MO     29032897801
28976A5834B521   AMBER         HERRIN                      OK     90000990583
2897763A691547   LUPITA        CORDERO                     TX     75089276306
2897894737B449   MARIA         RUIZ                        NC     90007949473
28978A96231453   ALYSSA        MEYER                       MO     27581160962
2897927479189B   CHRISTINA     BARBER                      OK     21004232747
28979634A91356   TANICHIKA     WILLIAMS                    KS     90014866340
2897B929691592   ALEJANDRA     PEREZ                       TX     75016819296
289819A8191547   MARTIN        KENNEDY                     TX     90014239081
2898211777B449   JESSICA       ANTHONY                     NC     90001541177
28982296772B29   ELIZABETH     JIMENEZ                     CO     90000942967
289823A5881638   STEPHEN       TYRELL                      MO     90001383058
2898272A472B88   IRAN          BLANCO                      CO     90006967204
28982823A5B571   RENA          CROWTHER                    NM     90012668230
289828A214B261   SHUNTA        PAUL                        NE     27046438021
289837A977B328   JUAN          AGUILAR                     VA     90000557097
2898394195B271   THOMAS        TAYLOR                      KY     68016069419
289844A942B229   TWAN          WEAVER                      DC     90001624094
2898491789184B   SERGIO        ALBA                        OK     90009599178
28985515A91528   DANIEL        SANO                        TX     90003305150
2898766885B571   JOHNELLE      LONG                        NM     90014646688
28987A5A52B27B   ERICKA        JAMES                       DC     90013180505
2898828A281633   LAVONNE       MCFADDEN                    MO     90013652802
2898887A884382   MICHAEL       HARKNESS                    SC     90005228708
28989454A9189B   LASHION       REYNOLDS                    OK     90012284540
2898959535B571   JENNIFER      MAESTAS                     NM     35077035953
28989A28372B88   SHERYL        PURCELL                     CO     90012780283
2898B325191356   YVONNE        LOVE                        KS     29059703251
2898B454281633   JULIO         AROYO                       MO     90011164542
2898B56414795B   BOBBY         PARKER                      AR     25033665641
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2898B784191592   FABIAN            GRIEGO                  TX     75071647841
2898BA69572B88   MAIRA             GOMEZ                   CO     90014850695
28991266A4B281   JUANA             ALBERTO                 NE     90010212660
28991337172B88   RAVEN             ZENT                    CO     90014763371
289935A3926759   NADJY             TYLER                   PA     90013005039
28993796A85965   KATHERYN          LARISON                 KY     90010797960
28994178A4B281   JOHN              SALAZAR                 NE     27091611780
28995423236B77   ELODIA            VALENCIA                OR     90015094232
2899559175B271   JAMES             PERRY                   KY     90014935917
28995AA764B261   KARLA             GARRITY                 NE     27001530076
289978A7A4B988   NECIL             BECKETT                 TX     90000718070
2899814A181633   CHRISTOPHER       HARRIS                  MO     90003791401
2899854179184B   CHRISTINE         GURROLA                 OK     90014915417
2899945814B588   CHANTA            CARILLO                 OK     90010754581
28999A6544795B   JAMES             MCCULLOUGH              AR     25087620654
2899B336A91833   LISA              CUDJO                   OK     21051483360
2899B35322B27B   DANIEL            VELAZQUEZ MATIAS        DC     90010423532
2899B39144B588   LUCILA            RAMIREZ                 OK     90014963914
2899B759957531   DAMBRA            DABNEY                  NM     90009727599
2899B95644B281   DIEGO             BARRERA                 NE     90012129564
289B1213372B88   ALEJANDRA         TORRES                  CO     90001712133
289B1469772B29   JOSUE             BLANCO                  CO     33029194697
289B1718291828   ANDREA            LAWRENCE                OK     21055617182
289B1962257157   NICKOLE           CROMARTIE               VA     90014159622
289B275854B988   MICKIA            TOLER                   TX     90002317585
289B3291854B84   ISHAM             COLEMAN                 VA     90005342918
289B3982A4B261   FORGN             PIERCE                  NE     27087219820
289B4554685991   ERIK              NIEDERKORN              KY     90007195546
289B4736891547   GEORGINA          TREJO                   TX     75081177368
289B4826A72B42   KENDRA            BURBACH                 CO     90012758260
289B484197B471   BILL              DOLLAR                  NC     11069688419
289B543497B471   EYOSIAS           ARGAW                   SC     90007464349
289B6352191547   MARIA             ANDAVAZO                TX     90011063521
289B689349152B   MARTHA            VALLES                  TX     90001758934
289B713A24123B   MATTHEW           BOWER                   PA     90001301302
289B721817B449   DONALD            ESTES III               NC     11088852181
289B7426991547   STEPHANIE         ESCOBAR                 TX     90012624269
289B773879189B   ANTONIO           CARBAJAL-HERNANDEZ      OK     90012347387
289B7824A9184B   LESLIE            SELFRIDGE               OK     90011648240
289B7849572B42   CARMEL            TANSEY                  CO     33083368495
289B858395B571   JAMES             LEE                     NM     90014645839
289B893414B588   TERESA            CONN                    OK     21579279341
289B9695172B88   SAMUEL            HIMES                   CO     90010746951
289B9766872B29   BRENDA            DORN                    CO     90009847668
289B986269184B   ANDRES            MORAN                   OK     90008658626
289B9966A4B261   MATT              LONG                    NE     27020519660
289BB21A54B588   STEPHANIE         WILLIAS                 OK     90013262105
289BB3A9491356   MAURINO           JIMENEZ                 KS     90013563094
289BB584772B88   ABEL              RICALDY                 CO     90004015847
289BB721657157   SANDRA            MCCRORY                 VA     90013127216
28B11448472B29   NANCY             ROJAS                   CO     33067774484
28B11976272B21   LEIGH AND JASON   HAGIN                   CO     90009989762
28B12135591828   PEDRO             ARROYO                  OK     21095171355
28B13444685991   DANIELLE          GADD                    KY     90008924446
28B13531A5B161   ERIC              DOBBINS                 AR     90007545310
28B13792191547   CLAUDIA           MATA                    TX     75059877921
28B13883691356   MARIA             BAUTISTA                KS     90000558836
28B1428539189B   JACKIE            CAFFEY                  OK     21096652853
28B1542365B571   VICTOR            ORTIZ                   NM     90014294236
28B1542779189B   JEFF              BAXTER                  OK     21032524277
28B15755391241   LINDA             BROWN                   GA     90011607553
28B16153455957   BERNADETTE        THOMPSON                CA     48090781534
28B16162191828   DANITA            DENNIS                  OK     90010171621
28B1664134B261   CANDY             JONES                   NE     90013766413
28B16711A91592   ZAIRA             SALINAS                 TX     90013627110
28B16735472B88   MICHAEL           HARRISON                CO     33076967354
28B1682259794B   JOSEPHINE         PADRON                  TX     74004018225
28B17439372B42   TERENCE           BRADSHAW                CO     90013104393
28B17846731631   TINA              COSTER                  KS     90013608467
28B17956772B29   MARISOL           VALBUENA                CO     33078199567
28B17A7A74B261   NEFTALI           ZARAZUA-PENA            NE     27043510707
28B1862114B261   CARLOS            VELASQUEZ               NE     90013296211
28B18A76452B58   WHITLOCK          CINDY                   CA     90000820764
28B19479A91547   ARMANDO           SILVA                   TX     75012564790
28B1966264B588   ARACELI           OJEDA                   OK     90012516626
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28B1966699155B   JESUS        MEZA                         TX     90006536669
28B19722A9184B   ASHLEY       PRICE                        OK     90003497220
28B19876772B88   SANDRA       LOPEZ                        CO     90014098767
28B1B365891592   CRYSTAL      AVILA                        TX     75091483658
28B1B61835B571   ADELA        URTIAGA                      NM     90014616183
28B1B865291828   ALOMERO      LOPEZ                        OK     21039348652
28B1B98A891356   AMBER        TIMMONS                      KS     90009579808
28B2123485B571   MICHAEL      GIBSON                       NM     90011702348
28B2147AA4B588   HERMAN       PEREZ                        OK     90000394700
28B21585472B88   ANGEL        ARINAGA                      CO     90013235854
28B2167A44B231   MIKE         WENNINGHOFF                  NE     27087266704
28B21962591241   DARLENE      JONES                        GA     90014719625
28B21A15981633   COLLIS       LEE                          MO     29000940159
28B22452591241   ALONZO       GLOUD                        GA     90007464525
28B22585991592   MARTHA       FABELA                       TX     90014655859
28B2264575B571   DORIAN       FRENIERE                     NM     90014616457
28B2291A631433   DETRICE      RAY                          MO     90008719106
28B22A8464B588   CAMILO       GONZALEZ                     OK     90010330846
28B2364575B571   DORIAN       FRENIERE                     NM     90014616457
28B23728181633   MONICA       TURNER                       MO     90013157281
28B24294972B42   CHRIS        MEIKLEJOHN                   CO     90010212949
28B2459895B161   TOMMIA       SHELTON                      AR     23029125989
28B2464575B571   DORIAN       FRENIERE                     NM     90014616457
28B2475914795B   DAVID        WARD                         AR     25007477591
28B24761151328   KEITH        MCINTOSH                     OH     66053677611
28B24997891542   ANTONIETA    TREVINO                      TX     90007409978
28B2561A472B88   TRAVIS       CONOVER                      CO     33000586104
28B25648131453   LATRELLE     YANCEY                       MO     90014656481
28B26345991547   ARTURO       CEBALLOS                     TX     90008423459
28B2654455B271   BIANCA       ROTA                         KY     68013465445
28B2687669184B   ANGELICA     JUAREZ                       OK     90008448766
28B26A99791828   MARCO        LARIOS                       OK     90014470997
28B27389981633   LUPEE        AGUILAR                      MO     90014893899
28B2753714B521   MARIA        GODINEZ                      OK     90005165371
28B2764897B449   MICHELA      CORNETT                      NC     90014046489
28B27A3734B588   JOHN         WRIGHT                       OK     90015160373
28B2837419189B   BRIDGETT     MCNEILL                      OK     90010373741
28B28499A91592   MARCO        RODRIGUEZ                    TX     90004014990
28B284A3641245   KELLY        STARVER                      PA     90011764036
28B28772136B77   KARINA       GUITRON                      OR     90004287721
28B29442691592   GUADALUPE    MADRID                       TX     75097244426
28B2945669184B   MISS         JORDAN                       OK     21078474566
28B2949664B281   DARYL        WADE                         NE     90009244966
28B2B912572B42   SANDRA       LEAL-BECERRA                 CO     33085709125
28B2BA45151328   ZACHARY      STEFFES                      OH     90014630451
28B31519957157   ROXCANA      RAMOS                        VA     90014135199
28B31951691592   CRISTIAN     TELLEZ                       TX     90014179516
28B32239257157   JORDAN       HOGAN                        VA     90013172392
28B32273461995   ELLEN D      NEHRKORN                     CA     46053252734
28B32644672B42   DARNISHA     JOHNSON                      CO     90014906446
28B32679672B88   MODESTA      ARCHULETA                    CO     90002836796
28B3287354B281   ELIZABETH    WAL                          NE     90014348735
28B32933981637   SAMANTHA     MILLER                       MO     29064149339
28B32937291592   OFELIA       GONZALEZ                     TX     90012859372
28B32959785965   SHANNON      SUNN                         KY     90015079597
28B33428A4B588   STEPHANIE    DOTSON                       OK     90011024280
28B33558872B29   NATALIE      YOUNG                        CO     33015685588
28B3452463B384   LISA         BARNICA                      CO     90012725246
28B3571455152B   SHIRAH       LEWIS                        IA     90014737145
28B3592834B588   JEFFERY      BURCH                        OK     90007989283
28B36363976B69   BEATRIZ      AMBRIZ                       CA     90008493639
28B36419691241   JUSTIN       WELLS                        GA     90010734196
28B3684544795B   TRACEY       RUSSELL                      AR     25015958454
28B375A3A9184B   MARISELA     HERNANDEZ                    OK     90010135030
28B3764679189B   TEVIN        BURKS                        OK     90012436467
28B3784544795B   TRACEY       RUSSELL                      AR     25015958454
28B38164785965   ROLANDO      GARCIA                       KY     90015081647
28B38376191547   MIGUEL       CASTANEDA                    TX     90003473761
28B3838A55B161   KAURON       MAYO                         AR     90013313805
28B3861AA4B281   SANCHA       KANE                         NE     90015096100
28B3948942B27B   PHYLLIS      M. FERNANDORS                DC     90013144894
28B399A634B261   MASON        ALTHEA                       NE     90000719063
28B4114155B331   KATHLEEN     PHIPPS                       OR     44597641415
28B4186A29189B   CHARLES      JERKINS                      OK     90009308602
28B42581893762   THERESA      HAMBACH                      OH     90012565818
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28B42849492864   JOSE         ESTRADA                      AZ     90015368494
28B42A41491592   EVENE        JIMENEZ                      TX     75097610414
28B43489272B88   BAILEY       CARPENDER                    CO     90013934892
28B438A8491828   MARIO        BEARD                        OK     90009748084
28B4419285B271   LORENZO      BARRERA                      KY     90012031928
28B441A614B281   DIANE        HERNANDEZ                    IA     27086891061
28B45681772481   ASHLEY       RAGER                        PA     90006156817
28B46329457157   FRANCIS      CARDOZA                      VA     90012203294
28B4678354B281   TIMOTHY      JACOBS                       NE     90001547835
28B4689649189B   ROBERTO      CORREA                       OK     21057978964
28B46947351328   FELECIA      JOHNSON                      OH     90013139473
28B4741194B281   NICOLE       LAFOE                        NE     90011814119
28B47658751328   KEEGAN       WOOLDERIDGE                  OH     90012226587
28B48191755935   SHUMA        YOUNG                        CA     90004691917
28B48199293767   BETH         HOBBS                        OH     64517471992
28B48228893724   MARIA        YUPA                         OH     90009712288
28B48297991241   SHANTE       FREEMAN                      GA     90014722979
28B48693372B42   FRANK        VASQUEZ                      CO     90009526933
28B48884991592   ANTELMO      GARCIA                       TX     75046888849
28B48A32281633   CHRIS        MAGUIRE                      MO     90013190322
28B49663991547   YVONNE       ORTIZ                        TX     75087906639
28B49725891828   LATEASE      DELOUISER                    OK     90013537258
28B4977385B271   JOSHUA       AYERS                        KY     90014927738
28B4985412B572   AMBER        HARRIS                       AL     90014148541
28B4B245772481   JOHN         KARPEL                       PA     51083682457
28B4B858491356   WILLIAM      BAUER                        MO     29022908584
28B5122882B27B   FRANK        BROWN                        DC     90012792288
28B5131979184B   DEWAYN       GIBBS                        OK     90010963197
28B515A8A72B88   EVELIO       MENDEZ                       CO     33024885080
28B51669541245   RYAN         DUNLAP                       PA     51024976695
28B5167219184B   MARLENE      LOZANO                       OK     21093556721
28B52353872B88   CHRISTOPHE   RICHARDSON                   CO     33096863538
28B5274995B571   THOMAS       ZUNI                         NM     90006317499
28B52783557157   MAXIMO       MACIAS                       VA     90014497835
28B531A5172B29   JOSE         HURTADO                      CO     33028361051
28B53735281633   MATT         YABRRA                       MO     90012047352
28B53854A5B571   REYNOLDS     BRITTANY                     NM     35020008540
28B5388249184B   MAURICE      BUNCH                        OK     21018038824
28B54376191547   MIGUEL       CASTANEDA                    TX     90003473761
28B547A2191889   MARITZA      ESPINOZA                     OK     90012587021
28B55154331453   LARRY        HENDERSON                    MO     27574641543
28B5612414B521   NICOLE       HUDSON                       OK     21563461241
28B56175151328   BRIAN        SMITH                        OH     90000431751
28B5635265B161   FRANK        GIVAN                        AR     90002063526
28B56516A5B271   BROOKE       IMHOF                        KY     90015215160
28B56529597132   DOUGLAS      GERHOLD                      OR     90011885295
28B5737259184B   STEPHEN      ROGERS                       OK     90003933725
28B57635A57157   STACEY       MATTHEWS                     VA     90011516350
28B5834672B27B   CELESTE      HAYNES                       DC     90015133467
28B58596872B42   ARMANDO      BOTELLO                      CO     33089215968
28B58639A91828   ANGELA       TUNNELL                      OK     90013336390
28B5884124B261   TYLER        TIETSORT                     IA     90014158412
28B59233691356   RENE         OJEDA                        KS     29078242336
28B59397857157   ELIZABETH    COSGROVE                     VA     90000893978
28B5955988B147   CORY         GREEN                        UT     90012075598
28B5971914B281   DONSHA       MAYFIELD                     NE     90014717191
28B5996859184B   MELISSA      RAIMONDI                     OK     90012579685
28B5B35244B261   SHEENA       WESTERFIELD                  NE     27046743524
28B5B759891356   TATSY        BROWN                        KS     29095177598
28B5B7A1331453   SHANNON      PULLIAM                      MO     90014657013
28B5B7A2A4B521   MICHELLE     CARMICHAEL                   OK     90012597020
28B6163572B27B   NORA         GARCIA                       DC     81094036357
28B6219314795B   MARIA        SANDOVAL                     AR     25054371931
28B62869891828   JUAN         ESCOBAR                      OK     90014598698
28B634A6791592   ROXANNA      MARTINEZ                     TX     90006434067
28B6366127B449   TYECIA       STEELE                       NC     90009666612
28B63725431453   ROBIN        ARMSTEAD                     MO     90014657254
28B6436265B271   TODD         CHAMBLEE                     KY     90003133626
28B64443791547   JAIME        CORREA                       TX     90014934437
28B64467851322   AARON        RANDOLPH                     OH     90011774678
28B64579A7B449   CHARLES      NORWOOD                      NC     11007715790
28B65356A9184B   JESSICA      HERNANDEZ                    OK     90014683560
28B65624581633   JEFFREY      GALINDO                      MO     90011186245
28B65636291828   RENEE        KELLER                       OK     90014536362
28B662A989189B   DAWN         TERHUNE                      OK     90008242098
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28B6638384B281   RICARDO       DAUBMAN                     NE     90005723838
28B67534451328   JORDAN        POWELL                      OH     90010575344
28B67913172B29   JANESE        STAGGS                      CO     33054599131
28B6826854B261   DEBRA         SCHABER                     NE     90010782685
28B684A557B449   STEFAN        NADZAM                      SC     90009014055
28B6866172B27B   LUVINIA       CARTER                      VA     81015896617
28B68988591356   FRANCISCO     ESCARCEGA                   KS     90001679885
28B68A72185965   STANLEY       YOUNG                       KY     66038130721
28B69278A41248   TRACY         LANE                        PA     90013402780
28B69311172B88   CASSANDRA     GIBNEY                      CO     90012763111
28B6931619184B   APRIL         TRUE                        OK     90014663161
28B69412591241   LYNNE         BRACKINS                    GA     90010774125
28B6969A131631   KEVIN         WALTER                      KS     22033586901
28B6989765B161   DENISE        PURIFOY                     AR     23087288976
28B6B2A3A2B27B   SHAQUITA      WILSON                      DC     90014762030
28B6B678A85884   RUTH          MORALES                     CA     90008906780
28B6BA91691833   SANDI         PRYOR                       OK     21097040916
28B71228472B29   PATRICK       QUINN                       CO     90015042284
28B71417872B42   MARIA         RIVAS                       CO     90012834178
28B71761391542   RAMON         MEDRANO                     TX     90005827613
28B71787391833   PHILLIP       HAYMOND                     OK     90015447873
28B71A21A7B644   GERARDO       GARCIA                      GA     90013690210
28B72141691833   STEFAN        BRYANT                      OK     90011521416
28B7235124B261   MABEL         SANCHEZ                     NE     27050863512
28B72534A31453   WILLIAM       NEIL                        MO     90011145340
28B7277965B161   GION MARIAH   RUSSELL                     AR     90011547796
28B72842A9189B   JORGE         HERNANDEZ                   OK     21034008420
28B7295193366B   SAMANTH       CHANDLER                    NC     90011829519
28B73669291534   ANA           CALDERON                    TX     90007816692
28B7376164B588   MIGUEL        MORENO                      OK     21572967616
28B73A95991241   WINTON        WATERS                      GA     14572410959
28B74114454185   BRIAN         CUNNINGHAM                  OR     90014201144
28B7425794B588   REVA          NEWTON                      OK     21559582579
28B74368431433   MATHEW        COX                         MO     27517063684
28B74633491241   FRANCISCO     GASPER                      GA     90010226334
28B7498859184B   CHARLES       JOHNSON                     OK     21062009885
28B75124757157   TAHRIE        BREVARD                     VA     90007931247
28B7549474B588   STEVEN        HAYS                        OK     90014814947
28B75634472B29   ALBERTA       GARCIA                      CO     90006006344
28B757A515B571   CHRISTANNE    JULIAN                      NM     90014617051
28B75895181633   JAMEELAH      WASHINGTON                  KS     90011998951
28B75A32691828   LORA          REYNOLDS                    OK     90010080326
28B7612658B184   LAURIN        LOWRY                       UT     90014521265
28B7613963B333   JOSEPH        TORRES                      CO     90000251396
28B76568A4B261   VINCE         EBERHAND                    NE     90010265680
28B7713A72B27B   SHIRLEY       HOPKINSON                   DC     90013421307
28B7757754B281   CACHE         STURDEVANT                  NE     90014775775
28B7771435B161   LAMONT        HOLMES                      AR     90014807143
28B7786334B521   STEPHANIE     BUTTS                       OK     21505808633
28B77962957157   DESARAY       LEWIS                       VA     90011189629
28B78452785965   AMY           ALLEN                       KY     66002804527
28B7846519184B   CLAUDIA       GOMEZ                       OK     90013394651
28B78495531453   NIYA          DOYLE                       MO     90014364955
28B7887442B27B   MARCUS        SPANN                       DC     90015218744
28B788A552B27B   MARCUS        SPANN                       DC     90013118055
28B7921522B27B   GETAHUN       BEKELE                      DC     90014702152
28B79259191547   MERICA        BRIGHT                      TX     75004422591
28B7926379184B   LATONYA       OGANS                       OK     21091492637
28B79659A4B988   SHARITA       WALKER                      TX     90000946590
28B7976379794B   ISMAEL        MARTINEZ                    TX     74010077637
28B79A79585991   JOSEPH        OLDIGES                     KY     66073230795
28B7B666772B88   JAVIER        HERNANDEZ                   CO     90010816667
28B81159891241   KATRINA       SCOTT                       GA     90014731598
28B8126794B588   NIKKI         GUZMAN                      OK     90006972679
28B8239675B271   KEVIN         MUSINSKI                    KY     90007103967
28B8251414B261   EDRUN         BOYER                       NE     27029215141
28B82616291828   ESMERALDA     MONSIVAIS                   OK     90005966162
28B82696891592   JUAN          GONZALEZ                    TX     90003866968
28B82A43591833   JUDITH        MIZE                        OK     21013050435
28B8313257B449   TIM           GREEN                       NC     90011951325
28B83525151328   BRIAN         HOWELL                      OH     66046015251
28B8352994B281   ASHLEY        ANDERSEN                    NE     90011675299
28B8448865B271   TERRY         ALLEN                       KY     68021574886
28B8458597B449   LINDA         SIMMONS                     NC     11003695859
28B85187672B29   CATOSHA       BENJAMIN                    CO     90013471876
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28B85262691547   JOE            HERRERA                    TX     90013202626
28B854A594B261   PATRICIA       ODINAS                     NE     90003134059
28B85697A31453   STEPHANIE      BATES                      MO     90014166970
28B856A4191828   JOHNNY         RAMIREZ                    OK     21005156041
28B85958972B42   CODY           OSBORNE                    CO     33028399589
28B86661291547   CYNTHIA        CRUZ                       TX     90009846612
28B86728131453   REGINALD       RICHARDSON                 MO     27517857281
28B8742655B271   JESSICA        MOHR                       KY     90014484265
28B87451857157   NATHALIE       AGUIRRE                    VA     81046984518
28B87653181633   JOANA          CALHOUN                    MO     29001026531
28B87A85A5B271   ALI L.         MADDUX                     KY     90010510850
28B8829925593B   MELINDA        PHILLIPS                   CA     90000762992
28B88336891528   ARMANDO        VARGAS                     TX     90005713368
28B88A6A32B27B   DEMETRIA       MURPHY                     DC     90011190603
28B8935368B831   VAMEIHENGALU   HUHANE                     HI     90015443536
28B895AA48598B   MARY           LIVELY                     KY     90013205004
28B89982372B29   NICOLE         HALL                       CO     90012719823
28B8B484631277   CYNTHIA        MANJARREZ                  IL     90010504846
28B8B495531453   NIYA           DOYLE                      MO     90014364955
28B8B792372B29   ANGELICA       VAZQUEZ                    CO     33040857923
28B8B819691833   SARAH          GORDON                     OK     90003448196
28B8BA7215B571   YVONE          SIAZ                       NM     35091700721
28B9133A95B571   DREW           BENAVIDEZ                  NM     35091453309
28B91744672B42   BACTAZAR       HILDEBERTO                 CO     33078427446
28B91A9547B471   LAWANDA        MICKEL                     NC     11040910954
28B92268A4B261   ANDREA         HENDERSON                  NE     90005382680
28B92541591592   ANN            HERNANDEZ                  NM     75000815415
28B925A2272B88   SAM            MEILS                      CO     33026435022
28B92967791356   KATHRINE       COLLINS                    KS     90001049677
28B93181291528   RUTH           MARTINEZ                   TX     90003291812
28B93711A5B571   NEVA           ARGUELLO                   NM     35007337110
28B93832A72B42   MARIA          MENDOZA                    CO     33088938320
28B942A534B588   FELICIA        WILSON                     OK     90012382053
28B95458872B42   RAYMOND        VIGIL                      CO     33072484588
28B95592581638   TIMOTHY        SMITH                      KS     29014255925
28B9595979189B   ALEX           GOMEZ                      OK     90011149597
28B96144681637   TRINA          WILLIS                     MO     29089011446
28B96245991241   LINBURG        ELLISON                    GA     90014732459
28B9649822B962   JOHN           CASTILLO                   CA     90010674982
28B9652694B261   TRICIA         BARBER                     NE     27010215269
28B97465881637   CATHY          LUTTRELL                   MO     29013694658
28B97A3544B281   MANUEL         SANCHEZ                    NE     90013920354
28B97A3839184B   STEPAHNIE      SANCHEZ                    OK     90010270383
28B9826262B27B   JUDY           LINDSEY                    DC     90012842626
28B9838194B281   CHARLES        NEWSON                     NE     90013903819
28B9872285B571   JASMINE        BASELA                     NM     90011707228
28B98A37872B29   GORDON         SCOTT VOEGTLIN             CO     33095300378
28B99471791828   TOSHA          COWANS                     OK     90013634717
28B99981A4B281   SHAKIARA       DAVIS                      NE     27003649810
28B9B28439155B   DELILAH        MARTINEZ                   TX     90006622843
28B9BA4A69189B   CECILIA        DE RIO-AMBRIZ              OK     90014370406
28BB1134227B45   BERTHA         MANRIQUES                  KY     90013921342
28BB1535891356   JUANA          ARITA                      KS     90012245358
28BB1536151328   ANTHONY        BUTLER                     OH     90013135361
28BB1539291241   WILLIAM        BLANCHARD                  GA     90007665392
28BB1564431453   SHAWN          NANCE                      MO     90010465644
28BB2511891528   ANNALICIA      QUINTANA                   TX     75062835118
28BB2539291241   WILLIAM        BLANCHARD                  GA     90007665392
28BB2821385965   TIM            EUBANKS                    KY     66068758213
28BB3138576B69   ROXANNE        HOBSON                     CA     90002851385
28BB316792B27B   REGGIE         B                          DC     90012791679
28BB35A4685965   SHERRY A       SMITH                      KY     90006685046
28BB5221472B88   ROBERT         NEUMAN                     CO     33072112214
28BB545AA5B271   PAYGO          IVR ACTIVATION             KY     90014564500
28BB5563857157   BERKLEY        WATERBURY                  VA     90002635638
28BB5592291881   ERIN           CAMPBELL                   OK     90005025922
28BB646452B27B   JAMES          PYLES                      DC     90014844645
28BB717A391828   MIGUEL         ZACARIAS                   OK     21019881703
28BB7257972B42   EDER           BARRAZA                    CO     90013552579
28BB756459155B   ROBERT         GARZA                      TX     75017655645
28BB832944B521   SARA           ALSEPT                     OK     21563443294
28BB8341136B77   HAZEL          BIRCH                      OR     44590053411
28BB885A89189B   GLEN           HINCH                      OK     21086478508
28BB8A16691592   NORMA          SOTO                       TX     90009160166
28BB925919189B   LILIANNA       AVELA                      OK     21032372591
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28BB939974123B   GAIL         MCCUNE                       PA     90007543997
28BB9554291356   ANA          GARCIA                       KS     29046575542
28BB9666A5B271   DONALD       LAMBERT                      KY     90008086660
28BB9846691241   CHAKA        HYMON                        GA     90014718466
28BB9984951328   JESSICA A    SMITH                        OH     90001759849
28BBB38A891547   LAURA        GONZALEZ                     TX     90010943808
28BBB524185965   LINDA        RAUEN                        KY     90015055241
28BBB72544B261   ANTHONY      KITT                         NE     90001107254
28BBB746691592   JOSE         BARRIENTOS                   TX     90012027466
28BBB993172B42   RICHARD      WOERNER                      CO     90013119931
29111731672B42   NANETTE      MENDOZA                      CO     33008997316
2911181582B27B   KELLY        ROOSEVELT                    DC     81012628158
2911245349155B   NANCY        FEDERICO                     TX     90007904534
29112826854B6B   LOURDES      BOWENS SMITH                 VA     90008728268
2911354819155B   JULIO        VASQUEZ                      TX     90014245481
2911432A931631   KIMBERLY     GRANT                        KS     22066013209
29114358A91522   ESTEBAN      MURO                         TX     90005403580
29114492A55957   FERNANDO     BENITEZ                      CA     90005074920
2911735544B582   LATASHA      STEVENSON                    OK     21595783554
29117811A72B84   JOSE         TREJO                        CO     33071518110
2911842822B357   LASHANDA     FRANKLIN                     CT     90012544282
291185A8A5B271   CHVANDA      HENLEY                       KY     90005335080
291188A2531453   ASHLEY       NELLUMS                      MO     90014548025
2911957A19189B   WHITNEY      BURKE                        OK     90005305701
29119733972B42   JOHN         TREJO                        CO     33095397339
2911B872A4B261   DANIEL       KING                         NE     90009998720
291214AAA91953   DARNELLA     DAVIS                        NC     90014024000
2912232817B783   SHAWN        WILLIAMS                     CA     90015183281
2912364497B449   FOREST       WALKER                       NC     11089526449
29123A2575B571   BRENDA       FLORES                       NM     90013010257
29123A9145B161   WILLIAM      DURHAM                       AR     90005610914
2912489839189B   EBONY        SYAS                         OK     90014308983
2912516799184B   JOSEPH       CLOUD                        OK     90013411679
2912523517B449   BERNETTA     LATRICE POLK                 NC     11060532351
2912566832B229   MARITZA      MARQUINA                     DC     90008666683
29125788887B87   YVETTE       MOORE                        AR     90010017888
2912714535B161   TANYA        HARRIS                       AR     90014811453
2912734A151328   MARRY        TUNING                       OH     90012023401
291277A195B28B   DENISE       ARMSTRONG                    KY     90005827019
2912856787B449   JOHN         ACOSTA                       NC     90013305678
291286AA93B333   KENYA        BARTHELEMY                   CO     90007886009
29128863787B87   LATRICE      LOWE                         AR     23032338637
2912939655B571   ERIK         PIERCE                       NM     90015013965
2912B2A5191592   LUIS         CARRILLO                     TX     90014692051
2912B559391953   JOSEPH       MBOMBO                       NC     90005875593
2912B856387B87   TAKEYLER     WHITE                        AR     23013578563
2912B928755944   ALEJANDRO    RAMIREZ                      CA     90014999287
2913168215B571   DAVID        GRANADOS                     NM     90012876821
2913255943B15B   NIGEL        ANTHONY                      MD     90014885594
2913339819189B   LAQUETA      CHERRY                       OK     21060303981
2913424269189B   CHRISTY      RYAN                         OK     90015062426
29134742572B42   MICHELLE     ASWAD                        CO     33011367425
29134A4145B571   ANTHONY      SOTO                         NM     90008710414
2913532965B161   ANDREA       PLUMMER                      AR     90014803296
29135381A5B571   VANESSA      SALAZAR                      NM     90014763810
29135675287B87   VICTORIA     WADE                         AR     90010896752
29135A3625B571   MARIA        ROBLEDO                      NM     90012790362
291362A7A55957   CORINA       REYNA                        CA     90002972070
2913642A84B261   JUAN         OCHOA                        NE     90013414208
291366A997B449   MIKE         SMITH                        NC     90010526099
2913683645B161   SHARON       HENLEY                       AR     23077678364
29136A62431453   DERRICK      MCDANIEL                     MO     90012950624
2913732735B343   IVAN         RODRIGUEZ                    OR     44586583273
291374A717B471   DARMARCO     STOKES                       NC     11003934071
2913845A17B334   MERLYN       QUINTANILLA GONZALEZ         VA     90006184501
2913883645B161   SHARON       HENLEY                       AR     23077678364
291394A9931453   SYLVIA       BECKS                        MO     90007984099
291396A445B271   JON TODD     FUCHS                        KY     90012096044
2913987429184B   LATRICE      PANNELL                      OK     90011078742
2913996777B449   TAMEKA       BURNO                        NC     11011379677
2913B67546196B   JULIE        ROBERTS                      CA     90013206754
2913B925451328   ANGEL        RIELAGE                      OH     90002969254
2913B962584364   SHARONDA     DELESLINE                    SC     90007659625
2914134195B161   SHARONDA     BURKES                       AR     90014803419
2914287644B261   ANABEL       AVALOS                       NE     27072028764
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29145342987B87   TOYEDITH     RICHARDS                     AR     23080993429
2914564A591953   JANE         SMITH                        NC     90003906405
291456A869184B   CASIMIRO     GALLARDO                     OK     90006636086
29145985A55997   RAFAEL       AGUILAR                      CA     90011469850
291461A6451328   KIMBERLY     BRAY                         OH     66089751064
2914634195B161   SHARONDA     BURKES                       AR     90014803419
29147115A91828   RACHEL       HARBERT                      OK     90014001150
2914811389155B   MARICELA     CASTRO                       TX     90006491138
2914814A587B87   ADRIEN       THOMPSON                     AR     23032481405
2914858A99184B   ROBIN        GILMORE                      OK     21037215809
2914987A387B87   SHANICA      IVERSON                      AR     90015428703
2914B298887B87   EBONY        WRIGHT                       AR     90014212988
2914B329431453   MARSTINE     WATFORD                      MO     90015253294
2914B67A581667   BRENDA       JOHNSON                      MO     90009746705
2914BA6733366B   JAKEETA      WILEY                        NC     90012570673
2915122327B449   MARIA        ALVAREZ                      NC     90010682232
2915217765B571   BRIA         LOPEZ                        NM     90004911776
2915241A481633   OSCAR        DE LA CUEVA                  MO     29011494104
29152561997B69   LESLIE       HILGENBERG                   CO     90012435619
29152A5435B127   MELANIE      CHAPMAN                      AR     90006050543
29153235A91522   ALFREDO      AMAYA                        TX     90007602350
29153881A9155B   ANA          VALDEZ                       TX     90012858810
2915534195B161   SHARONDA     BURKES                       AR     90014803419
2915561299155B   MANUEL       HERNANDEZ                    TX     90004946129
2915563397B449   JUAN         GARCIA                       NC     90014916339
29155699A57133   MARIA        EGUIGURE                     VA     90003276990
29155AA1572B84   JOSE         SALAZAR BURCAIGA             CO     90004540015
2915634195B161   SHARONDA     BURKES                       AR     90014803419
29156774A55957   JESSICA      SALAZAR                      CA     90014557740
2915683714B588   DANIEL       VANVALKENBURG                OK     90009298371
29156A42551328   RONDA        MCCOY                        OH     90013680425
2915725485B571   RODLYN       MURO                         NM     90014252548
291586AAA55957   ALISHA       CASTRO                       CA     90014266000
291597A234B588   KAREN        WILLIAMS                     OK     90015027023
2915B34195B161   SHARONDA     BURKES                       AR     90014803419
2915B473491522   MICHELLE     GARCIA                       TX     90004894734
2915B848A91953   CLAUDIA      ADAME                        NC     90007948480
291614A919184B   ESTAFAN      ABARCA-JAIME                 OK     90009334091
29161A6435B571   ERIC         GRIEGO                       NM     90013990643
29161A68351336   TERESA       SMITH                        OH     66052070683
2916242377B449   SANDRA       GARCIA                       NC     90012814237
29162592572B84   CHRIS        LYNCH                        CO     90011715925
29162594572B21   SARAH        FREDERICK                    CO     90007075945
2916344A19184B   MARIA        GONZALEZ                     OK     90014504401
2916429397B449   SIAMIRAMYS   GAYLE                        NC     90013922939
2916484415B571   ANNA         DELANO                       NM     35036658441
29164A6A94B281   CHARLES      VOGELE                       NE     90013190609
29164AA1A9155B   GENOVEVA     MARIN                        TX     90014250010
2916516479184B   BRYANT       ADAME                        OK     21094981647
29165744A7B323   PAULINE      SHAW                         VA     81081167440
2916587155B571   LUCAS        TOMPKINS                     NM     90014428715
29167868272B84   TRINA        HERNANDEZ                    CO     90006678682
29167A78855957   SALVADOR     DELGADO                      CA     48000540788
2916841797B449   KENIA        VENTURA                      NC     90014964179
2916842249189B   ANDREA       MARTINEZ                     OK     90006154224
2916887225B57B   CYNTHIA      JIMENEZ                      NM     90012168722
2916998418B16B   KIMBERLY     ROCKWOOD                     UT     90002119841
2916BA3685B571   CARMEN       LARA HERNANDEZ               NM     90003810368
2916BA5A52B242   VICENTE      BONIFACIO                    DC     90007740505
2917178629155B   ROSIE        OROZCO                       TX     90006997862
29171A55131453   BRIONNA      ROBINSON                     MO     90014050551
29172391A91528   ALIDA        RAMIREZ                      TX     75000723910
29172671A7B393   CASSIO       MENEZES                      VA     90009266710
29172A4935B271   KEVIN        CANDLER                      KY     90006650493
2917316885B161   DIANE        JACKSON                      AR     90012251688
2917411135B161   MARCO        HERNANDEZ                    AR     90001581113
2917442577B449   CHANDLER     E                            NC     90014294257
2917514825B271   TRACY        BYERS                        KY     90011171482
2917611479155B   MARISOL      OROZZO                       TX     90009631147
2917616885B161   DIANE        JACKSON                      AR     90012251688
291764A169155B   MARIA        MONTOYA                      TX     90010774016
29176A45991522   FELIPE       AVILA                        TX     90000690459
29176A73355957   VANESA       JARAMILLO                    CA     48085350733
29177412A81633   SELESTINO    DELAO                        MO     90014934120
2917836A85B161   ALBERT       MORRIS                       AR     90014803608
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2917861999155B   HOWARD       THOMAS                       TX     90011886199
2917923337B449   RODOLFOQQ    SANCHEZ                      NC     90013602333
2918143347B449   MICHAEL      HOGLEN                       NC     90010524334
2918248139184B   LISA         DURAN                        OK     90015304813
2918291229189B   KETWAINETT   DREW                         OK     21050609122
29182A1A391522   JORGE        ROBLES                       TX     90010360103
2918321499155B   LUZ          SALOME                       NM     75063102149
2918355814B261   MICHAEL      CONNELLY                     NE     90013935581
29183A9184B281   ANSELMO      RAMIREZ                      NE     27064270918
2918426189155B   STEVEN       MARTINEZ                     TX     90010482618
2918444A34B261   SUSAN        FULLER                       NE     90013414403
29184685472B84   IMELDA       BLANCO                       CO     33038056854
2918473194B281   VERNON       WILLIAMS                     NE     27027497319
2918531324B245   DAWN         COLDWELL                     NE     27005823132
2918566117B471   LINDA        OWENS                        NC     11020546611
2918665747B449   JONATHAN     HOLMES                       NC     90007036574
2918763727B471   CHERRELL     KING                         NC     90004356372
29187A7834B588   DOMINIC      WILBURN                      OK     90013550783
2918888A987B87   JOE          JACKSON                      AR     23091978809
29189334687B87   CHRISTOLYN   BROWN                        AR     90014063346
29189361A9155B   ESTEBAN      RODRIGUEZ                    TX     90006103610
2918995374B588   DANA         HALL                         OK     21560179537
29189A96181633   KAREN        NUNEZ                        MO     90013270961
2918B21685B161   DARIUS       WILKERSON                    AR     90011652168
2918B6A7981633   KIARA        GILLESPIE                    MO     90014536079
2918B836961985   EDA          MARTINEZ                     CA     90013778369
2919119955B571   JARED ALAN   SHARP                        NM     90014601995
291913A3597B69   FANYA        ARMENDARIZ                   CO     90014983035
2919157995B271   MARIELA      GOMEZ                        KY     90006675799
29191A3688B135   JULIAN       VENEGAS                      UT     90005710368
2919232595B244   JOHN         KOZUMPLIK                    KY     90014813259
2919234892B965   NAYELY       LOPEZ                        CA     90011993489
291927A975B571   REYNA        ARAGON                       NM     35087717097
2919284315B244   JOHN         KOZUMPLIK                    KY     68056218431
29192A48287B87   KENYOTTA     BELL                         AR     90002950482
29192A5659155B   GUADALUPE    GONZALEZ                     NM     90012910565
2919429617B449   CARLOS       ZUNIGA                       NC     90013922961
2919445A14B588   MARIA        CORDERO                      OK     21577434501
29194472A91953   STEVEN       FAULKNER                     NC     90014014720
2919459949155B   MARTHA       GUTIERREZ                    TX     75022585994
2919477543B388   JORGE        CHAVEZ                       CO     33090797754
2919525354B588   MANUEL       GONZALEZ                     OK     90010712535
2919555144B588   TONY         LAREDO                       OK     90015345514
2919585879155B   JUAN         CARLOS                       TX     75069468587
29195AA8331453   REGINA       DAVIDSON                     MO     90011180083
2919639125B161   JEREMY       FRANKLIN                     AR     90014803912
29196473287B87   CANDIDA      BRIAN                        AR     90014614732
291976AA451328   RICK         SPURLING                     OH     66091836004
29198771A4B281   CHRISTINA    JOHNSTON                     NE     27071167710
2919884115B571   JENNIFER     TAFOYA                       NM     35084488411
29199349198B72   DOROTHY      ALLISON                      NC     90008863491
2919B36869189B   HERBERT      ISHEE                        OK     90015063686
291B1683A7B449   ARELY        LOPEZ ROBLERO                NC     90014476830
291B2237581633   LINDA        RANDOLPH                     MO     90002252375
291B2389955957   RAMON        RUIZ                         CA     90007893899
291B2548287B87   TAMEKIA      PUGH                         AR     90014045482
291B388145B571   CARLOS       LARA                         NM     35005988814
291B4338984359   MAYA         SMITH                        SC     90008483389
291B4456A9155B   ARMANDO      MEZA                         TX     90001004560
291B4584872B84   ELISSA       ARNEL                        CO     33094305848
291B46A165B571   DIANA        ORNELAS                      NM     35094806016
291B4935691522   YASMIN       VARGAS                       TX     90011179356
291B6387972B42   MARTA        SOLORIO                      CO     90013783879
291B7516451336   COLLEEN      CAMPBELL                     OH     66006205164
291B7822444B62   ANTHONY      BULLARD                      OH     90014408224
291B821A47B449   SHON         HALL                         NC     11015832104
291B87A364B588   REGINA       FEDERICO                     OK     90009297036
291B9671A51328   IGNACIO      GARCIA                       OH     90014866710
291BB5A637B449   DELMI        MATA                         NC     90014885063
291BB716A91241   FRANCISCO    HERNANDEZ                    GA     90009177160
292125A135B161   ANOTONA      PHILLIPS                     AR     90014805013
2921473A491881   RHALONDO     CROOMS                       OK     90001487304
29214A3834B588   MAVY         RIOS                         OK     90013790383
29214AA1A51336   URENA        GONZALEZ                     OH     90014540010
2921512884B245   MANUEL       BERMUDEZ                     NE     27076651288
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292154A3887B87   JETHRO       DOGINE                       AR     90010914038
292155A515B271   PEGGY        EMBRY                        KY     68062405051
29215A3264B588   DAVID        WRIGHT                       OK     90009300326
2921627519184B   ERICK        LOPEZ                        OK     21007682751
29216A4525B271   KEISHANNA    HUGHES                       KY     90005620452
2921727A27B471   MICHEL       SOOW                         NC     11047152702
2921743A49189B   JAMES        NOWLIN                       OK     90011544304
2921792A651328   DOUG         MCCROSSIN                    OH     90002369206
292179A545B571   AMANDA       QUINTANA-FLORES              NM     90009959054
29217AA6951336   JOHN         MAKLEM                       OH     66016770069
2921834347B449   JERMAINE     TOWNSEND                     NC     11085243434
29218685172B84   CHALANA      SIMS                         CO     33084216851
29219312387B87   SYLVESTER    PARKER                       AR     90013363123
2921963869184B   FAITH        PEDE                         OK     90012316386
2921B197291592   YVONNE       GALINDO                      TX     75044961972
2921B19A65B571   STEPHANIE    GALLEGOS                     NM     35085881906
2921B232191828   CHARLES      UPSHAW                       OK     21050582321
2921B433438523   GREGORY      IPSON                        UT     90014804334
2921B636131631   DEBRA        HALL                         KS     22033466361
2921B88A461995   LINDA        HENSELL                      CA     90011788804
2921B967193737   APRIL        EDWARDS                      OH     64564119671
2921BA31A91953   SOAKI        KEBI                         NC     90011330310
2921BA76591522   HECTOR       AGUILAR                      TX     90009680765
29221A7A191953   MATT         MCANDREW                     NC     90009920701
2922212695B161   TASWANN      POUNCY                       AR     90008301269
292222A6931453   ALEX         BUTLER                       MO     90009902069
292223A9272B42   EDGAR        MOS                          CO     33087003092
29222A46731631   CARTER       BRANHAM                      KS     90004770467
292235A2951328   TOM          VUNAK                        OH     90013865029
292235A399184B   LESLIE       CASEY                        OK     90002875039
2922464495B271   YASMINE      CROOM                        KY     90005766449
29224A2215B571   CLOE         GARCIA                       NM     90013170221
2922534345B271   MISTY        OBRIEN                       KY     90011023434
292253A454B588   KATHERINE    LAKEEY                       OK     90002033045
2922558895B161   VERA         CRUMPTON                     AR     90014805889
2922568A581633   PATRICIA     HARRISON                     MO     29001716805
292256AA391592   GONZALEZ     MAYRA                        TX     75042176003
2922654369184B   PAOLA        CARDOSA                      OK     90012965436
29226A47363B96   ROBERT       ENRIQUEZ                     IL     90015210473
2922741749184B   AARON        HITWCHCOCK                   OK     21011714174
292275A684B588   MARIA        TORRES                       OK     90014015068
2922763569184B   BREONA       SALLIS                       OK     90014526356
2922798385B571   ROSA         GIBBS                        NM     90010089838
2922863635B161   CHAD         PINKSTON                     AR     90000866363
2922931349184B   JUAN         HERAS                        OK     90011093134
2922B442787B87   CALENE       REED                         AR     23000634427
2922B485772B42   CAMILLE      TRICHIE                      CO     90007044857
2922B6A9743523   KAYLA        JOHNSON                      UT     90013406097
2922B7A289184B   CHRISTEN     JONES                        OK     90013007028
2922B8A9655957   MARTIN       JOHNSON JR                   CA     48092948096
2923131A92B931   CHRISTINA    LACOMBE                      CA     45067913109
2923149515135B   DEBRA        MAYS                         OH     66015524951
2923168934B261   ROCHELLE     BERRY                        NE     27047466893
29232934172B84   CRISTINA     GONZALES                     CO     33070499341
29233169A87B87   TIJUANA      WEBSTER                      AR     90011111690
29233254A5B181   MAXINE       SABB                         AR     90012102540
29233958A87B87   SLYVESTER    PARKER                       AR     90010019580
29233A81731433   JENNIFER     ESTES                        MO     27594250817
29236273A85822   JORGE        HIDALGO                      CA     90003952730
29236A4249189B   ERNESTO      RODRIGUEZ                    OK     90015090424
29237A3419155B   LESLIE       NUNEZ                        TX     90001010341
292381A1372B84   JENNY        WEST                         CO     33012471013
2923869667B449   KAREN        NUNEZ                        NC     90004096966
2923887239189B   JENNIFER     MCNABB                       OK     90015108723
292388A875B161   EURANA       JONES                        AR     90014058087
29239684A5752B   ALICIA       MINICH                       NM     90000836840
29239A7559155B   MARIA        NEVAREZ                      TX     90014250755
2923B267355957   ANDREA       LIMAS                        CA     90006262673
2924119784B588   BERTHA       MEDINA                       OK     90011071978
292412A2781633   ASHLEY       BOWLES                       MO     90010982027
2924145744B261   JOHN         SWARTZ                       NE     27021004574
2924169525B161   VELRITA      CAMPBELL                     AR     90014806952
29241AA3A91953   RAISSA       MABOLIA                      NC     17070110030
2924238397B449   KIMLEANG     NGUN                         NC     90013943839
2924276524B281   MARCELA      ANTUNEZ                      NE     27012717652
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29242A5414B245   NOE          RESENDIZ                     NE     27075620541
2924311189184B   PATRICIA     GUERRERO                     OK     21018851118
2924335959184B   YURDIA       URQUIZA                      OK     90011303595
2924351987B275   RACHEL       MCGRANE                      AZ     90008685198
2924384239155B   OFELIA       ZAVALA-LEDEZMA               TX     75073178423
29243A4254B261   EDITH        VALDEZ                       NE     27054780425
2924432A351328   MATTHEW      STEPHENS                     OH     90010633203
2924458515B571   GUADALUPE    MONTOYA                      NM     35017185851
2924532A19189B   DEBORAH      SILKEY                       OK     90015003201
2924556997B449   DANYAIL      HARRIS                       NC     90014035699
2924593694B281   LEAH         CROSS                        NE     27042699369
29246215272B29   ERNEST       FERGUSON                     CO     33087922152
2924633A987B87   ALISHA       GOODLOE                      AR     90013953309
2924635A672B42   DAVID        MARES                        CO     90011483506
29246A5344B588   DEBRA        BRUCE                        OK     90012730534
29246A71A9376B   DANIELLE     ROGERS                       OH     90013940710
2924733785B571   JOSE         GONZALEZ                     NM     90014253378
29247661972B84   ALFREDO      GUERRERO CERECERES           CO     33049506619
2924786275B271   JAMES        EDWARDS                      KY     90013928627
2924793819155B   YVETTE       OCHOA                        TX     75077739381
292481A3991592   VANESSA      LOPEZ                        TX     75033871039
29248A13351336   KELLI        CONNER                       OH     90008970133
29248A89651328   REVA         HALL                         OH     90011020896
2924933A19184B   LATICE       TYLER                        OK     90011093301
2924997A163643   FRANK        WHITEHURST                   MO     90012409701
2924B22835B271   JESSECA      HUDOPETT                     KY     68094652283
2924B86395B161   MICHAEL      MURPHY                       AR     90012398639
29251379587B87   SANDRA       GARDNER                      AR     90011943795
2925155417B471   SHAVONNA     HARRISON                     NC     11020985541
29251758A91953   MANUEL       DAVID                        NC     90009797580
2925274339155B   MARY ANN     PAIZ                         TX     90009477433
29252A28A4B588   MARIE        WRIGHT                       OK     90013510280
29253679272B42   TERRIE       HOLMES                       CO     33043456792
2925372A631453   ALISHIA      MORGAN                       MO     90014877206
29254338A9184B   LAURA        BRICKER                      OK     90011093380
29254655287B87   KAESHA       ALLEN                        AR     23047076552
29254A76772B42   ALFREDO      TOVAR-PINEDA                 CO     33014270767
292553A235B161   MARCUS       BROWN                        AR     23065353023
2925555724B588   SHANIQUA     LOGAN                        OK     90011285572
292556A3991241   CHRISITINA   DEFOE                        GA     14574996039
29255A79A91592   AARON        GALLEGOS                     TX     90013470790
292563A235B161   MARCUS       BROWN                        AR     23065353023
2925756249184B   JOHN         PADGETT                      OK     90012875624
292577AA95B571   MELISSA      CORDOVA                      NM     35076867009
29257A88372B29   MARIBEL      LUJAN                        CO     90009830883
29258133772B29   ELIZABETH    ANDRADEAGUIRRE               CO     90006751337
29258244172B84   ANAID        RIVERA                       CO     33041312441
2925862A591592   CARMEN       SALDANA                      TX     90007936205
292588A1372B41   GONZALEZ     GAVINO                       CO     90008648013
29259A31851336   MARY         SWEET                        OH     66047690318
2925B1A1551328   NATHAN       SKAGGS                       OH     90012461015
2925B42465B161   DANIELLE     MORGAN                       AR     90014814246
2925B67217B449   MITCHELLE    ACOSTA                       NC     11077246721
29261193172B42   KALI         RODGERS                      CO     33032491931
2926141439184B   DESTINEE     MITCHELL                     OK     90012954143
2926188A29189B   DOUGLAS      HOUSE                        OK     90012598802
2926191535B571   MABLE        HERRERA                      NM     35073639153
2926192A94B281   CESAR        ARAUZ DE LEON                NE     27028479209
29262A1263B39B   SHERYL       BEEN                         CO     90012400126
2926325AA55957   VICTORIA     RAMIREZ                      CA     90014192500
2926415A39155B   NATALIE      SALAZAR                      TX     90003041503
2926447AA72B84   BRIANA       NIEBAS                       CO     90005894700
29265522A87B87   JAMES        NELSON                       AR     23028885220
29265A81A9189B   ELISA        SALAZAR                      OK     90012260810
2926696239184B   FRANSICO     ZUNUN                        OK     90012339623
2926746825B271   GEORGE       KIRBY                        KY     90012464682
2926761964B553   LISA         BROOKS                       OK     90011106196
2926917882B27B   RAMON        MERINO-GUERRERO              DC     90006761788
2926993257B449   SHAQUASIA    ANDERSON                     NC     90014559325
29269A81A9189B   ELISA        SALAZAR                      OK     90012260810
2926B159251336   TROY         AYERS                        OH     90011171592
2926B325255957   RICKI        TAYLOR                       CA     90015503252
2926BA46972B42   JESSICA      CARTER                       CO     33065520469
2927124155B271   LANA         ALBIN                        KY     90001672415
2927126599155B   ENRIQUE      PIZANA                       TX     90010482659
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2927148718B168   VERONICA     GUTIERREZ                    UT     90010334871
29271751672B42   JUSTIN       ANDERSON                     CO     33065447516
2927225143B333   RONALD       HERDT                        CO     33089662514
2927241659184B   JACQUELYN    WELCH                        OK     90012954165
29272874A91828   AARON        MCCLAIN                      OK     21078148740
2927294925B571   MICHAEL      BEGAY                        NM     90003869492
2927346635B161   TIMOTHY      WISE                         AR     90013384663
29274595587B87   SHEILA       MANNS                        AR     90015375955
2927548594B588   NICHOLAS     REIER                        OK     90010294859
29275A3955B161   JOSE         RAMIREZ                      AR     23098850395
29276265972B42   CLAUDIA      LOZOYA                       CO     90012272659
2927626599155B   ENRIQUE      PIZANA                       TX     90010482659
2927648414B588   DREDON       TURNER                       OK     90011164841
2927699525B375   JEFFERY      REED                         OR     90008169952
29276A23841252   JONATHAN     GOUGHLER                     PA     90012540238
2927778A587B87   CHARLES      NANCE                        AR     23022937805
2927815239189B   PATRICIA     SOULERET                     OK     90015091523
2927847884B588   BRITTANY     CASS                         OK     90008644788
2927921A655957   MARIA        MARTINEZ                     CA     48070882106
29279A96591525   MARCOS       LARANIAGA                    TX     90004000965
29279A9729155B   PATRICIA     VELASQUEZ                    TX     90014250972
2927B45695B571   JOSE         SAENZ                        NM     90014454569
2927B47774B261   MEAGEN       WEISS                        NE     90011064777
2927B495191953   JAZSALYN     MCNEIL                       NC     17087564951
2927B7A7631631   MOLLY        CARSON                       KS     90014247076
2927BAA5172B84   MITCHELL     HRDLICKA                     CO     33094310051
29281793A61994   MAYRA        PIMENTEL                     CA     46084527930
29281A14291592   JESUS        GUERRERO                     TX     90001870142
2928216629189B   JUAN         VALADEZ                      OK     90015091662
292825A6772B42   ROSS         MCMILLION                    CO     33066125067
29282A66755957   DESTYNEE     BALDERAS                     CA     90006890667
292835A3455957   SARA         OVERSEN                      CA     90011795034
2928374489155B   NORMA        MONAREZ                      TX     90002397448
29284A29451343   ALVARO       DIAZ                         OH     66002080294
29285145587B87   FREDRICK     BEE                          AR     90013031455
29285238A72B84   ANNA         BAKER                        CO     33095872380
2928657574B588   ERIC         PETTIT                       OK     90012175757
2928713A985822   ANTONIO      MARTINEZ                     CA     90005651309
2928723479184B   CARLOS       AVLES                        OK     21014812347
2928769669184B   EFREN        LEDEZMA-SANCHEZ              OK     21090186966
292879A4731631   SCOTT        RIDDLE                       KS     90003869047
292879AA591953   ARISHONNE    RICHARDSON                   NC     90014559005
29288A86491522   LEROY        SHELDON                      TX     75018350864
29288A89991528   ROBERTO      OBREGON                      TX     90000610899
2928B354191522   OSCAR        HERNANDEZ                    TX     75093853541
2928B71958B171   MARYANN      ERICSON                      UT     90003467195
2928B816481633   JNAI         RUBIN                        MO     90002518164
2928B99595B271   PHYLLIS      BAKER                        KY     90014899959
292915A6491953   CALVIN       HARRIS                       NC     90014095064
2929184585B571   ZACKERY      MCCULLOUGH                   NM     90005658458
2929299919189B   NATHAN       BREWER                       OK     90009669991
2929332497B449   STEVEN       JACKSON                      NC     90000363249
29293A2845B161   BRITTNI      MASON                        AR     90013950284
29293A4A891522   CAROLINA     GONZALEZ                     TX     90008450408
2929451315B571   FELICIA      CALDWELL                     NM     90011645131
2929461695B141   REGINALD     BURNS                        AR     23096126169
29294973372B42   DENA         GONZALEZ                     CO     33095569733
29295375272B42   LINDSEY      FANDEL                       CO     90011933752
2929617882B27B   RAMON        MERINO-GUERRERO              DC     90006761788
2929688489184B   ORLANDO      PERSON                       OK     90014208848
2929793814B281   AMY          SCHULZE                      NE     27031539381
2929838A291592   ARLENE       SALIDO                       TX     90011053802
292986A8922439   JESSIE       GONG                         NE     90010546089
2929913AA91953   CAROL        COOPER                       NC     90011521300
2929946A984364   STANLEY      HAINES                       SC     19059674609
2929B53295B271   KATHY        CAREY                        KY     90012585329
2929B618351336   JUSTIN       FOSTER                       OH     90011556183
2929B73439184B   TERRELL      WASHINGTON                   OK     90008727343
2929B78585B161   ADRIAN       JACKSON                      AR     90012137858
2929B89A891522   ISABEL       CISNEROS                     TX     90010038908
2929B94A15B571   DANIEL       GONZALES                     NM     35029489401
2929B953472B84   ANGELA       FREY-REYNOLDS                CO     33099259534
292B119345B571   DESIREE      TRUJILLO                     NM     90010361934
292B144659713B   BILLY JOE    FARRAR                       OR     90010554465
292B173AA4B261   CARMEN       BOSTON                       NE     27043347300
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292B2614551336   ANGELA       WEBER                        OH     90011336145
292B2729A91592   HERRERA      LAURA                        TX     90009907290
292B3283691828   CECELIO      STIDHAN                      OK     21048442836
292B329969155B   MARGIE       MUNOZ                        TX     75074912996
292B3575291528   CUSTOMER     WIRELESS                     NM     90000385752
292B3655755957   JEAN         JONES                        CA     48047736557
292B3986A22971   CAMILO       ESCARCHA                     GA     90015539860
292B4163651336   LATASHA C    HILL                         OH     90007421636
292B46A2831453   CHARLI       CUNNINGHAM                   MO     90012616028
292B4A1689155B   SYLVIA       VACIO                        TX     90006230168
292B5328A5B538   HELENA       CASTILLO                     NM     90011093280
292B5416781633   DAVID        DEAN                         MO     90006724167
292B551525B571   BETTY        LANGLEY                      NM     90011725152
292B65A3A31453   GABRIELLE    STEWART                      MO     90015115030
292B6A43A4B245   BRYSON       WILSON                       NE     90008200430
292B7185191528   KRISTINE     GREER                        TX     75012151851
292B733414B281   JENNIFER     UPDERGRAFF                   IA     90010733341
292B7421A91592   SAMUEL       RAMIREZ                      TX     90013604210
292B746235B161   AMBER        RAY                          AR     90011654623
292B827659155B   JOSE         ARRIAGA                      TX     90004272765
292B868435B571   JAVIER       BECERRA                      NM     90013276843
292B881455B271   TIFFANY      VISSERS                      KY     90014598145
292B9334231631   JOYCELYN     BAKER                        KS     90014173342
292B93A577B449   FLORIDALMA   PINTO                        NC     90013923057
292B9517281633   JANET        STEWART                      MO     29001105172
292B9557A4B261   ANTONIO      CASARAS                      NE     90013965570
292B9759497173   ARLETTA      QUADRO                       OR     90001297594
292B998A151328   LONNIE       JUSTICE                      OH     66018959801
292BB39585136B   HEATHER      SMITH                        OH     90011683958
292BB496131631   DAVID        LOMBARD                      KS     90014974961
292BB96A172B29   FRANCISCO    ANDRADE                      CO     90005189601
2931113469184B   KHIREE       THOMPSON                     OK     90014451346
2931192529189B   RACHEL       MARTINEZ                     OK     90015109252
29311962A87B87   SHERENEY     MOSS                         AR     90005379620
29311A44161992   ISRAEL       TALAVERA                     CA     90004930441
29312258A31631   DOMINIQUE    TROTTER                      KS     90013942580
2931236A487B87   ANGELAQ      HILL                         AR     90014573604
2931272267B449   JIMMY        DONNELL                      NC     90012527226
29312981272B61   STEPHANIE    TAFOYA                       CO     90015049812
2931327959184B   JORGE        TREJO                        OK     90014172795
2931337114B245   KUDRON       MICHAEL                      NE     27040803711
29313684A7B449   BLUK         ROMAH                        NC     11033906840
29315774297B41   HECTOR       DIAZ                         CO     39048587742
2931599837B449   PANSY        SMITH                        NC     90008549983
29315AA227B449   ARMANDO      RAMIREZ                      NC     90013930022
29316A41A53B28   DORTHEA      LANGWORTHY                   CA     90011420410
2931864399189B   CATHERINE    DARKO                        OK     90013836439
29318AAA931453   MARSHA       NORMAN                       MO     90014580009
2931B28374B588   LOIS         QUEZADA                      OK     90015072837
2931B748A85822   GRACIELA     DIAZ                         CA     46006747480
2931B92A49189B   KWUAN        SANDERS                      OK     90015109204
2931BA2759184B   KEAUNNA      FOSTER                       OK     90011110275
29322186A55957   JUAN         MEDINA                       CA     48095581860
2932321399184B   JOEL         GONZALEZ                     OK     90012802139
29323A33691828   MARCUS       WHITED                       OK     90005790336
2932447755B161   SHANE        BERRY                        AR     23085094775
2932485214B281   SARAH        CHAMBERS                     NE     90010538521
29324A3229189B   ELVIN        OLVIA                        OK     90004240322
29327271672B42   SARAH        DILLON                       CO     33095422716
2932819289155B   ROSE         MORALES                      TX     75061451928
29328A3739189B   ASHLEY       LEATH                        OK     90015120373
29329745172B84   GERI         LEMMING                      CO     33065557451
2932B43555B571   DEBRA        HUNTER                       NM     90005114355
2932B4A684B588   ROBERT       BAKER                        OK     90014534068
2932B74455B343   DARIO        MOROTE                       OR     90005947445
2933183885B271   ARIAN        PADRON                       KY     90010688388
2933212657B449   BRITTNY      WILLIAMS                     NC     90011481265
29332397A71923   JANA         HAYES                        CO     90013243970
2933293819155B   ROSANA       GARDEA                       TX     90009249381
29332A68872B29   MARTIN       MERCADO                      CO     33083520688
2933446385B161   MABLE        FAIR                         AR     23092224638
29335169787B87   MIKAELA      GARCIA                       AR     90013341697
2933537847B471   BRYAN        ANDERSON                     NC     11099133784
2933569295B161   JESSICA      LEE                          AR     90014816929
2933573947B449   ALEJANDRO    MELCHOR                      NC     90012527394
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29336A6899189B   MICHEL              DUDLEY                OK     21084280689
29337185287B87   LATASHA             CARLOCK               AR     23054471852
293387A1791241   DAVID               MIKE                  GA     90011697017
2933935354B281   ERICK               NIEMEIR               NE     90005573535
2933972834B261   JUAN                TORRES                NE     90014847283
2933973964B588   HUNTER              VAUGHN                OK     90011027396
2933975965B281   SHAUN               HODGES                KY     90011187596
2933B131A7B449   COURTNEY            WALLACE               NC     90011401310
2933B815255957   MARIA               ALVAN                 CA     90013058152
2933BA4A991522   MICAH E             ALLEN                 TX     90013710409
2934125197B471   DEBORAH             HOLLIS                NC     11027442519
2934126669189B   MCBRAYER            LADONNA               OK     90006482666
29341269787B87   MARJORIE            ABRAHAM               AR     23095042697
2934176397B449   MONIKA              MACON                 NC     90004097639
29342997A4B245   EDWARD              BREITENSTEIN          IA     27003949970
293431A725B271   BRIANA              KELLER                KY     90011421072
293434A527B435   LATAYA              MCCLURKIN             NC     90013824052
2934353A14B588   SHERRY              MOWDER                OK     90013485301
293438A4791953   ELIZABETH           MEXICANA              NC     90002108047
29344213572B29   MARIA               MONTOYA-SANCHEZ       CO     33090412135
29344975787B87   SHANNON             WILLIAMS              AR     90014889757
293455A679189B   ALEXANDRIA          PARKER                OK     90015115067
29345924A31631   RONNY               THOMAS                KS     90010959240
2934642269189B   HERBERTINA          KENDRICKS             OK     90007564226
2934BA83272B29   JESUS               MARTINEZ              CO     90006640832
2935152789189B   MICHAEL             BEAMON                OK     90015115278
29351653A5B571   ESPERANZA           BACA                  NM     90004126530
2935191282B27B   TEKO                BOSTICK               VA     81059229128
2935276515B338   DANIEL              BARELA                OR     90005387651
29352A9A791953   LATINA              COSTON                NC     90013720907
2935326799155B   GARAY               CESAR                 TX     90010482679
29353387972B84   FRANCISCO           GUEVARA               CO     33073483879
2935458534B261   IVAN                INFANTE               IA     90007485853
2935497644B588   SHERRIL             PERRY                 OK     90013329764
2935515344B281   AGNES               GERI                  NE     90008481534
29355329372B42   FEDERICO            LOPEZ                 CO     90012303293
2935549344B588   BRITTNI             JENKINS               OK     90012314934
29355564A87B87   YASHIKA             MORRIS                AR     23086675640
2935556518B172   STEVE               WOFFINDEN             UT     31059405651
2935567A987B29   MARVIN              CARTER                AR     90015236709
2935639A897949   DORA                CRUZ                  TX     74098363908
29356596587B87   MARCUS              GIVENS                AR     90005385965
2935686148B17B   SARITA              CAREY                 UT     31059218614
2935716A64B245   ADRIAN              MOSS                  NE     90008051606
2935754A172B42   CONSTANCE           MCCARTNEY             CO     33079015401
2935755285B571   CHRISTINE           VILLALOVOS            NM     90011755528
29358272672B42   MARCUS              HILL                  CO     90014962726
29359393A85822   ERIC                HERBST                CA     46003543930
2935956994B588   MISTY               KEOUGH                OK     90012625699
2935B17765B161   NIKKI               COLEMAN               AR     23022141776
2935B32474B261   GABRIELLE LUCILLE   HORTON                IA     90014903247
2935B483291828   CHRISTINEA          KEARSE                OK     90013644832
2935B633572B29   LEONEL              ESCOBAR               CO     33013216335
2935B648781691   LORI                HENDRIX               MO     90005346487
2935B766654122   DEANNA              IBRAHIMI              OR     90014607666
2935B93A451336   TERRY               PAYNE-JACKSON SR      OH     90012869304
2935B997731433   JAMES               CHING                 MO     90013959977
2936124A791522   LETICIA             RODRIGUEZ             TX     90008172407
29361481672B42   MARTIN              CRITCHFIELD           CO     33035124816
293614A2531453   ANTHONY             WHITE                 MO     90013364025
29362924387B87   KERRANZD            WALTON                AR     23000919243
29363331172B84   VALENTINA           TALAVERA              CO     33077653311
29363A4245B571   DAVONTE             QUINTANA              NM     90014320424
29364118372B42   CECILIA             REYES                 CO     33015021183
2936433A28432B   VICTORINO           DELGADO               SC     90013673302
29364358172B84   EFFIE               SIMS                  CO     33040823581
2936525AA55957   VICTORIA            RAMIREZ               CA     90014192500
29366663487B87   CATHY               RICHARDSON            AR     23020116634
293669A789189B   BAUDEL              GUZMAN                OK     21010669078
2936716124B588   JOSE                BORJAS                OK     21584951612
2936722887B449   SANDRA              SANTOS                NC     90014232288
2936774164B261   PAPA                MENSAH                NE     90014917416
2936861735B161   MARIA               TADEO                 AR     23002906173
29368AA9831631   STEVEN              FORSTER               KS     90012060098
2936936574B245   PHAT MAMA           FLEMING               NE     90010763657
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2936978A22B841   KATIE         ROWE                        ID     42068727802
2936B73519155B   TERESA        ARAGON                      TX     75025787351
2936B829222971   GILBERTO      LOPEZ                       GA     90015578292
2937111675B271   ROGER         FRAME                       KY     90002481167
2937151314B245   ANDRELL       ROBINSON                    NE     90011765131
2937157584B588   DIANE         WEST                        OK     90000215758
2937196A29184B   JUAN CARLOS   TERRAZAS                    OK     90012409602
2937236677B449   NELCI         CERRATO                     NC     90013923667
29373391172B84   MARIA LUZ     MORENO                      CO     33071523911
293743A6291522   ISMAEL        ARRIAS                      TX     90015123062
2937534764B245   MARY          PATTERSON                   NE     27017473476
29375383A4B588   DORA          MENDOZA                     OK     90006823830
2937646A231631   MOSES         UANZI                       KS     90013754602
29376661572B42   ANGELA        PERKINS                     CO     33055026615
2937767394B596   DELOIS        JOHNSON                     OK     90005036739
2937814239184B   ALEJANDRO     LUNA                        OK     90012981423
2937849354B281   ELDA          ARGUETA                     NE     27097854935
293795A9231631   VERROD        HARRIS                      KS     90007125092
2937B2A6472B84   LISA          MAESTAS                     CO     90010972064
2937B795491528   JAZMIN        SOTO                        TX     75005577954
2937B846A91522   GRISELDA      MORALES                     NM     75096008460
2938143A372B84   DALIA         MINJARES                    CO     90003564303
29381AA3591592   MARIA         HERNANDEZ                   TX     90013910035
29382A58551336   ASHLEY        ROSS                        OH     90011520585
293831A119189B   MELANIE       RABON                       OK     90015121011
2938323929155B   ROGELIO       ENRIQUEZ                    TX     90006632392
2938381A455957   JOSE          MORENO                      CA     90005428104
2938426279155B   ERICA         MARTINEZ                    TX     75084522627
2938429549189B   BARBARA       HALL                        OK     21033452954
29385A54372B84   JOHN          GORZELANSKI                 CO     33050620543
2938726A987B87   PAYGO         IVR ACTIVATION              AR     90011612609
293881A895B161   SUZANNE       CALDWELL                    AR     90011671089
2938877679184B   QUINTEN       HARPER                      OK     90011097767
2938937325B161   DENESHA       ANDERSON                    AR     90002593732
2938941567B471   NORVELLE      WINCHESTER                  NC     11038654156
293895A2A22971   AMILCAR       LUNA                        GA     90015465020
2938968754B588   YOLANDA       GRANT                       OK     90005566875
2938974894B596   MARIA         KYSER                       OK     90009307489
29389752872B42   HUMBERTO      POLANCO                     CO     90009827528
2938B815A4B281   MARK          WIEDERIN                    NE     27045898150
2938B833472B84   VALERIE       VALDEZ                      CO     33052638334
2938B897391528   PATRICIA      RUIZ-DE CERVANTES           TX     90013518973
2939181AA2B27B   DARLENE       EDDY                        DC     81021708100
2939217784B588   KRISTYL       ONEAL                       OK     21550001778
2939278819155B   MARY JANET    PESANTE                     TX     90009597881
2939436175592B   ERIC          JONES                       CA     90010583617
293944A4A5B271   PHILLIP       RONNIGER                    KY     90007224040
29395837272B42   ARTURO        GUTIERREZ                   CO     33040978372
2939585467B471   ANGELES       NAVA                        NC     90004358546
29395A8785B571   DESIREE       ELVIRA BALDONADO            NM     90012920878
2939663355B571   JASHEENA      CLAH                        NM     90012316335
2939664335B271   BRANDY        WALDRIDGE                   KY     90014296433
29396A26887B87   KENYATA       HILL                        AR     90011620268
2939715A47B449   ERICA         WHITE                       NC     11042831504
2939839AA7B449   HILDA         ESCOBAR                     NC     90013923900
29399152872B42   ALFREDO       ABAD                        CO     33068901528
2939917645B271   JILL          CHERRY                      KY     90011011764
29399797857B85   MELISSA       FALCO                       PA     90015347978
2939B523A72B29   LUCAS         GAWRYL                      CO     33030625230
2939B53819155B   JUAN          GONZALEZ                    TX     75073185381
293B11A6291953   MAYA          BURNS                       NC     90013261062
293B197367B449   CATHEY        BLACK                       NC     90007599736
293B1A51491522   ANTHONY       PINEDA                      TX     90014600514
293B222564B281   CATHELEEN     GONZALES                    NE     90010912256
293B366A231453   CHERON        MORGAN                      MO     90013206602
293B3919798B42   OSCAR         MEJIA                       NC     90007879197
293B4282184364   MARLENE       GARCIA                      SC     19035532821
293B437315B571   JULIAN        SOTELO                      NM     35070193731
293B43A3391522   DENISE        MORALES                     TX     90005093033
293B443665B271   AARON         BALDWIN                     KY     68044934366
293B4846A31631   BRITTANY      KNIGHT                      KS     90014828460
293B485222B543   BLAKE         KNIGHT                      AL     90015538522
293B487769155B   ANTONIO       MARTINEZ                    TX     90014638776
293B4A68331453   GEORGE        MCLEMORE                    MO     90014810683
293B5694555935   JOSE          JUAREZ                      CA     90008476945
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293B579774B281   ALEXIS        COOPER                      NE     27054127977
293B6379155957   SYDNEY        REYES                       CA     90004833791
293B676999184B   LEMEKA        HAMPTON                     OK     90008347699
293B6969991592   JULIO         RAYGOZA                     TX     90013209699
293B742445B271   EDWARD        HOLT                        KY     68084184244
293B7618491522   SARAH         PEREZ                       TX     75072616184
293B88A719155B   SALOMON       POLANCO                     TX     75012848071
293B8A18A87B87   ARRETTER      LAMPKIN                     AR     90010920180
293B974485B571   BRIANNE       DEIN                        NM     90014367448
293B97A9191522   ELIZABETH     SANDOVAL                    TX     75035487091
2941322759189B   ROY           SONES                       OK     90015122275
2941414147B471   ROSICELA      SIFUENTES                   NC     11033681414
2941426454B588   ALISIA        WATSON                      OK     90013832645
29414278187B87   CARL          DAVIS                       AR     90010742781
2941459A991522   ARTURO        HEREDIA                     TX     90013775909
2941521829155B   NELSON        RIVERO                      TX     90015262182
294157A3591592   MARTHA        CORONA                      TX     90007937035
2941617239184B   JAYME         LANSDALE                    OK     90014771723
2941619AA91522   RODOLFO       GONZALEZ                    TX     90008911900
29416266372B42   JEFFERY       HILL                        CO     90004972663
2941662824B261   MARVIN        THOMAS                      NE     90013936282
294168A347B449   GILBERTO      MEDINA                      NC     90012528034
2941731565B161   CASSANDRA     RUSSELL                     AR     90011673156
2941736949184B   ANDREA        GREEN                       OK     90012363694
2941744A35B571   EDITH         JACQUEZ                     NM     35094564403
2941956655B571   JUAN          GARCIA                      NM     90014785665
2941961989189B   ALONZO        CALIXMACEDO                 OK     90010296198
2941964784B588   CYNOVAH       ROBERTS                     OK     21551696478
2941B13927B449   COREY         BELL                        NC     90013961392
2941B325955957   CHRISTOPHER   MARTINEZ                    CA     90014033259
2941B732131453   JEREMY        MELTON                      MO     90010877321
2941B78A451328   TIMOTHY S     CHAPMAN                     OH     90011317804
29421431A21683   MICHEAL       EGANE                       OH     90015254310
294219A7985822   RAFAEL        REYES VILLAMAR              CA     46016329079
2942228589184B   ALAN          DELGADO ROSALES             OK     90012802858
2942286684B588   LISA          PETERSON                    OK     90012968668
29422957372B29   JOSE          CARRILLO                    CO     33016679573
2942388894B588   FERNANDO      CAMACHO                     OK     90014178889
294248A7181633   NATACHA       MINME                       MO     29080728071
2942499827B449   KELVIN        LESANE                      NC     90011939982
29424A55741243   AMANDA        L. KIGER                    PA     90009270557
2942591A39184B   CHRISTEN      BURKHEAD                    OK     90011099103
2942634762B242   RENEE         HARRIS                      DC     90001473476
29427A3844B56B   HORTENCIA     MARTINEZ                    OK     90014870384
29427A89455957   JUSTIN        BRUMM                       CA     90006040894
2942832184B592   JOE           BANKSTON                    OK     90003233218
294285A9A51336   MELLISSA      RONAN                       OH     90004145090
2942926A851336   DEIRRDRA      DEVERAUX                    OH     66020132608
294295A5491953   FREDERICK     REAVES                      NC     90010995054
294298A145B271   ANGELA        BASIL                       KY     90003708014
2942B18854B588   MICHELLE      METCALF                     OK     90012651885
2942B712372B42   LINDA         MCCOY                       CO     33036727123
2942B753672B4B   KHRISTIAN     TOUHY                       CO     90014417536
2942B951391528   LUISA         GOMEZ                       TX     75094849513
294316A964B245   SAVON         CARABALLO                   NE     90011766096
29432672987B87   BEN           COLLIER                     AR     90014486729
2943282657B449   ANTWANETTE    ENGLISH                     NC     90012528265
2943358725B36B   JENNIE        MC CAIN                     OR     90007845872
2943362A951328   TERA          SKEENS                      OH     90014716209
29433869A47826   BRAYLON       ANDREWS                     GA     90012498690
294341A765B571   TERRENCE      ALLEN-WILLIAMS              NM     90014321076
29434542624B46   PAULINA       WILDER                      VA     81086105426
294356A964B245   SAVON         CARABALLO                   NE     90011766096
2943589A591528   CESAR         LECHUGA                     TX     75094348905
294361A7331453   BRENDA        GREEN                       MO     90011441073
2943681897B278   LUIS          RUIZ ZUNO                   AZ     90011238189
294369A737B471   SHANEKA       BROWN                       NC     11043919073
2943774164B261   PAPA          MENSAH                      NE     90014917416
2943812679155B   CORINA        OLIVAS                      TX     90012991267
2943867619189B   EVA           GUITIERREZ                  OK     90015126761
29438A54372B84   RICHARD       WRIGHT                      CO     33038980543
2943938349184B   NATALIE       WHITE                       OK     21066853834
2943977AA97B37   BRITTANY      HATTAN                      CO     90010777700
2943983847B449   KIMBERLY      SWAIM                       NC     90000308384
2943B251A85822   JOHN          KELLY                       CA     46068482510
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2943B4A3391953   JUSTO         MARTINEZ ESPONOZA           NC     90002154033
2943B598A55957   DELIA         CRUZ                        CA     90013335980
2943B67A99189B   JANET         HARPER                      OK     90015126709
2943B969551328   JOHNI         MCINTOSH                    OH     90014449695
2943B9A4A4B551   ALBERTO       RAMIREZ                     OK     90001589040
29441154172B42   ARMANDO       GAMEZ                       CO     90013331541
29441243A51328   CORTNEY       HAMILTON                    OH     90015112430
29441A12581633   DEVIN         NIGHTENGALE                 KS     90010200125
29441A76972B84   ELIZABETH     HUMPHREYS                   CO     33095410769
2944241544B245   RANDAL        KENDALL                     NE     27001684154
2944265812B27B   NIKIA         GOOLSBY                     DC     90001986581
2944268389189B   ALEJANDRO     LOPEZ                       OK     90015126838
294429A5A31631   KRISTOPHER    HISEN                       KS     22004789050
29444488A91953   DAVID         BARBEE                      NC     90003694880
2944465929155B   EDDIE         TALAMANTES                  TX     90010376592
29444688A9189B   BRETT         MOORE                       OK     90015126880
2944513879152B   JESSICA       HAWKINS                     TX     90008091387
2944524A65137B   RICHARD       GORSUCH                     OH     90003872406
29446688A9189B   BRETT         MOORE                       OK     90015126880
294471A455B571   MARIA         DORADO                      NM     35046861045
29447524A4B588   MARIA         GONZALEZ                    OK     90009785240
2944752A69189B   UNKNOWN       UNKNOWN                     OK     21014705206
2944768A291953   BLANDINA      PAZ                         NC     17095056802
29449659787B87   ANTHONY       WASHINGTON                  AR     90015316597
2944BA3834B245   JULIA         GUILLIAMS                   NE     90009000383
2945158A691522   AURORA        ESCOBAR                     TX     90014925806
2945178539189B   GABRIELA      RODRIGUEZ                   OK     90012037853
29451855272B42   ROSALBA       GARCIA                      CO     90008658552
2945245A44B588   DEAN          CLODFELTER                  OK     90013264504
29453792787B87   SHASHANA      WARFIELD                    AR     23028747927
2945392675B161   KENTON        SKARDA                      AR     90014879267
29454265172B42   JOSE          RODRIGUEZ                   CO     33010752651
2945428374B588   LOIS          QUEZADA                     OK     90015072837
29454746A4B261   ADRAIN        ADAMS                       NE     27031097460
294547A3833B31   PAYGO         IVR ACTIVATION              OH     90004367038
29455979A5B161   LATOYA        RUMPH                       AR     90014879790
2945666554B261   JOSE          OZUNA                       NE     90013936655
29456736372B42   VICTOR        MORELO                      CO     90010767363
2945748329155B   LORENA        GONZALEZ                    TX     90012614832
2945818987B471   RAYSON        HOWARD                      NC     11091351898
2945883429184B   SHAKENNA      RECESS                      OK     90014858342
2945923664B588   TYREE         COFFEY                      OK     90006212366
2945927429184B   KIMBERLY      THOMPSON                    OK     90013412742
294592A685B36B   TERESA        HIGH                        OR     90014722068
29459711A4B261   AMBER         PEARSON                     IA     90014817110
29459A61997122   CINDY         ADAMS                       OR     90007830619
2945B116655957   ROSE          CONTRERAS                   CA     90009771166
2945B18485B338   JOHN          GREER                       OR     44527271848
2945B388391953   JUAN CARLOS   VILLARREAL                  NC     90015213883
2945B625351328   BILLY         LITTLE                      OH     90014756253
2945BA32491828   DAVID         HANDLEY                     OK     90012490324
2946188AA5714B   LORENZO       HAIRSTON                    VA     90013008800
2946234764B245   MARY          PATTERSON                   NE     27017473476
2946278285B161   CARRIE        BROWN                       AR     23056247828
29462A5159189B   THANG         PUI                         OK     90015140515
2946339A75B271   KRISTINA      JAGGER                      KY     90013503907
2946358A17B449   JULIET        WEBB FLIP                   NC     90014175801
2946396239184B   JERIKA        CROSSLAND                   OK     90013739623
2946647564B588   HOLLY         PATTERSON                   OK     90008874756
29468627887B87   TANESHA       THOMAS                      AR     90012266278
2946874139189B   MONTREIL      KIRK                        OK     90015127413
29468899A5B271   JESSIE        RIDGEWAY                    KY     90014028990
29468A27772B42   HECTOR        BARON                       CO     90012600277
2946911144B261   KOKOU         ATSOU                       NE     90014801114
294696A9285822   CARMEN        VELARDE                     CA     90010266092
2946996375B161   TOREAL        JONES                       AR     90014879637
29469A83472B42   ERNESTINA     VILLASANA-PEREZ             CO     33072720834
2946B192A9155B   SALVADOR      DOMINGUEZ                   TX     90009171920
2946B287491592   NATALY        MORENO                      TX     75029742874
2946B658472B42   DOMINIQUE     LOPEZ                       CO     90012826584
2947174879189B   MARTHA        LOPEZ                       OK     90015127487
2947187A755957   MANUEL        ESPINOZA                    CA     90010418707
2947192A791592   KARLA         LECHUGA                     TX     90013629207
29472336572B42   LOURDES       RIVERA                      CO     90004013365
2947278127B449   ANGELICA      MONTERO                     NC     90012837812
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29472799387B87   ANTONETT      CONNER                      AR     90014727993
2947288674B588   AMANDA        SLUDER                      OK     90012498867
29473879A7B471   ALEXANDRIA    GEIGER                      NC     11002918790
294747AA651336   TIM           OBRIEN                      OH     66008717006
2947488869155B   BEBEE         ROCHELLE                    TX     90011218886
2947571679184B   APRIL         WRIGHTEN                    OK     90007187167
29475A1A89155B   SERGIO        VILLARREAL                  TX     75004040108
294761A449189B   SPARKLE       JOHNSON                     OK     90014941044
2947676679184B   ZACHARY       MATHER                      OK     90014347667
2947744685B161   RHONDA        BARNES                      AR     90014884468
2947756625B571   CYSTAL        ARAGON                      NM     35032845662
29477852A81633   TANYA         TAYLOR                      MO     29059268520
294778A825B161   RHONDA        BARNES                      AR     90013188082
2947913177B449   YADIRA        VALERA                      NC     90014411317
2947969514B261   DEBORAH A     LEMR                        NE     27039666951
2947B214951328   ROBIN         WIRTLEY                     OH     66082922149
2947B29634B588   ROSA          ALATORRE                    OK     90013832963
2947B73299189B   TERESA        MAY                         OK     90015127329
2947B83239155B   DIANA         NEVAREZ                     TX     90009158323
2947BA55A91528   MARIA         CARRILLO                    TX     90003250550
2948151165B571   ALLAN         FOSTER                      NM     90007495116
2948177849189B   DARRYN        DAVIS                       OK     90015127784
2948331815B571   LYDIA         LUCERO                      NM     90014513181
2948391359155B   CATHERINE     JONES                       TX     90010079135
2948395439155B   YADIRA        OKELLY                      TX     90014779543
29485A36155957   CARMEN        LEON                        CA     48074110361
29486197A7B471   CHRISTINA     BROWN                       NC     11047191970
29486A1684B245   KARI          AMEGANDGI                   IA     90009500168
2948772A84B261   JACINTO       TORRES                      NE     90013937208
29487855872B98   JULIO         HERNANDEZ                   CO     90008068558
2948843835B271   EILEEN        OLIVER                      KY     90006304383
29488615A57176   DEMETRIAS     TOWLER                      VA     90007906150
294886A9991542   MARTHA        VELARDE DE RAMIREZ          TX     90013066099
29489288772B84   RAMIRO        AVILA ORTIZ                 CO     33098542887
2948995275B271   SHANIECE      WILLIAMS                    KY     90015159527
2948B26584B261   LASHERRIE     PALMER                      NE     27046812658
2948B3A6861433   CHRISTOPHER   HESSON                      OH     90014103068
2948B773A9189B   SHARKEYA      FREEMAN                     OK     90015127730
2949238415B571   NORMA         QUEZADA                     NM     90013553841
294924A6551336   ROGELIO       LOPEZ                       OH     90008664065
2949325665B271   AARON         BEAMER                      KY     90011012566
294934A299189B   WILLIS        LADON                       OK     90015134029
29493753A72B42   MANUEL        GOMEZ                       CO     90011477530
2949461A89184B   CRYSTAL       BALDRIDGE                   OK     90007956108
294949A3951328   PAYGO         IVR ACTIVATION              OH     90010049039
29494A85833631   JAMIE         MOORE                       NC     90007680858
2949529429184B   TANYA         THOMPSON                    OK     90014202942
2949545267B449   LOUIS         BARAJIS                     NC     90014274526
294955A2291547   RAUL          ORTEGA                      TX     90010475022
29496A9177B449   DANIELLE      DAVIS                       NC     90006500917
294973A255B161   PAMELA        ROBERTSON                   AR     23006343025
2949764695B571   GABRIEL       REYES                       NM     90009536469
29497A5A457531   SHERYL        BEYER                       NM     90008010504
2949951547B449   DIANA         CASTRO                      NC     90006665154
29499A98472B42   ELOY          RODRIGUEZ                   CO     90015140984
29499A9A491592   MICHELLE      VILLANUEVA                  TX     90013470904
2949B259731631   BLAINE        REEDER                      KS     90013802597
2949BA5A457531   SHERYL        BEYER                       NM     90008010504
2949BA94A4B281   EVELYN        WAKEFIELD                   NE     90013730940
294B1352572431   NICOLE        GARUCCIO                    PA     90008303525
294B151994B588   TINA          LEE                         OK     90012425199
294B1966991828   TANYA         GRAY                        OK     90011919669
294B2385591592   RICHARD       ERSKINE                     TX     90009753855
294B23A9A5B19B   JAMES         HARRIS                      AR     90006063090
294B254459193B   TERENCIA O    BELTRAN                     NC     17013045445
294B254A34B281   JOSHUA        GARDNER                     NE     90010725403
294B273695B271   ROLANDO       ESPINOSA                    KY     68062947369
294B316739155B   MARTIN        JUNIO                       TX     90014251673
294B3486A9184B   ANTHONY       WHITE                       OK     90015304860
294B3539651336   TARA          HUSSONG                     OH     66045435396
294B418A62B229   NAKISHA       COOK                        DC     90004231806
294B457AA4B233   JEANETTE      DEFORD                      NE     90014425700
294B4637387B87   PAYGO         IVR ACTIVATION              AR     90014596373
294B481249184B   STACIE        REED                        OK     90011098124
294B514127B449   CARLOS        CHACON                      NC     90013171412
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294B5256291522   LILIA        SALAS                        TX     75053562562
294B526634B588   LORETTA      WARE                         OK     90005962663
294B564637B449   EVANY        WILLIAMS                     NC     90010536463
294B564AA9189B   OLVIN        GARCIA                       OK     90015126400
294B6368654B32   KARINA       CANALES                      VA     90009433686
294B6424787B87   ROSHAWNDA    FLOWERS                      AR     90013874247
294B6483A51336   HEATHER      OPENSHAW                     OH     90012454830
294B717584B588   KATHERINE    ASHTON                       OK     90015161758
294B7655291828   GEORGIANNA   MCCLELLAN                    OK     21016156552
294B7989441259   MICHAEL      CHAMBERS                     PA     90001099894
294B7A72151336   BARBARA      LAWSON                       OH     66001100721
294B81A5491828   DEBRA        CAPERS                       OK     90004641054
294B8978791592   EDDIE        OCHOA                        TX     90013149787
294B9799891241   VERA         BROWN                        GA     90009277998
294B982A79184B   MAGGIE       HARPER                       OK     90011098207
294B996334B245   ROGER        LINDELL                      NE     27081369633
294B9A1287B449   GILBERTO     REYES                        NC     90013930128
294B9A3844B56B   HORTENCIA    MARTINEZ                     OK     90014870384
294BB676331631   TIM          NEWTON                       KS     22024196763
294BB74485B571   BRIANNE      DEIN                         NM     90014367448
2951117833B324   CHARLES      TUHOLSKI                     CO     90013241783
2951138189184B   VICTOR       ROMERO                       OK     90014203818
2951163154B245   BEN          KABOUREK                     NE     90003726315
2951231164B543   MICHELE      VOLPE                        OK     90009113116
29512422A9189B   IVAN         SWEENEY                      OK     90015134220
29513277A91383   JASON M      TIRK                         KS     29073682770
29513425172B42   DENISE       HAVENS                       CO     33002114251
29513819A5756B   GERMAN       CORRAL                       NM     90009948190
29513AA6181633   STEPHANIE    SAND                         MO     90013790061
2951413624123B   MARCOS       SACHIS                       PA     90012641362
2951538384B245   RICARDO      DAUBMAN                      NE     90005723838
29516A91751328   ROBERT       PHILPOT                      OH     66076160917
29518158687B87   BRIUNA       MOORE                        AR     90005441586
2951827567B449   CURTIS       WALKER                       NC     11094152756
2951832A831631   KEVIN        BURKE                        KS     90007373208
29518924872B42   ERIKA        ORONA                        CO     33046409248
29518A82851328   SRINATH      RAGHAVENDRAN                 OH     90010350828
295193A864B588   MARCO        ZAMORA                       OK     90004293086
2951988A387B87   PAYGO        IVR ACTIVATION               AR     90013668803
2951B3A8687B87   AUTUM        NELSON                       AR     90014733086
2951B43A14B588   SUSY         QUINTERO                     OK     21583354301
2951B77914B245   MANUEL       GARCIA                       IA     27064017791
2951B8A8855957   MONIQUE      SANCHEZ                      CA     90009688088
29521698872B86   MILLIE       ELIZABETH ELMER              CO     90009956988
2952175624B261   OLIVIA       CAMPOS                       IA     90013937562
29522A41287B87   BRITTNEI     AUSTIN                       AR     90012190412
2952336994B261   STANLEY      BAUER                        NE     27021603699
29523A32551336   JAMESHA      BROOKS                       OH     90014300325
29524A94881633   DORA         PEREZ                        MO     90014350948
295251A595B571   JHONY        CHAVEZ                       NM     90006951059
29525A96972B42   DANIEL       DOMINGUEZ                    CO     90006730969
29526533A72B42   KATHY        BLANCHARD                    CO     33094665330
2952689665B571   MARISOL      QUIRANTE                     NM     90011648966
2952779675B271   MARCOULLA    NESBITT                      KY     90008107967
29527865687B87   VICKIE       LANE                         AR     90013998656
2952793579184B   SHANE        ROBERTSON                    OK     90012349357
295286A1561957   CAROL        BREHMER                      CA     90009566015
2952957885B36B   JOSE         SALAZAR                      OR     90005195788
2952976189189B   ROXANA       IBARRA                       OK     21073467618
2952978754B245   MINDY        LILE                         NE     90001867875
2952B511291828   CRHISTIAN    PEDROZA                      OK     90012995112
2952B753631631   SHANE        HORNING                      KS     22014377536
29531A79191B38   ARIEL        DUNN                         NC     90015130791
2953216489184B   GUILLERMO    RAMIREZ                      OK     90011111648
295321A8A9155B   AZUZENA      NEVAREZ                      NM     75006261080
295323A725B571   PATRICK      FARFAN                       NM     90000873072
29532AA7655957   ADRIAN       LEON                         CA     48027020076
2953561997B471   MISTY        VALDEZ                       NC     11091356199
29536847A31631   JASON        WARREN                       KS     90005958470
29537A68551328   TOM          TOMLINSON                    OH     90000120685
2953846999189B   LATASHA      REED                         OK     90015134699
29538837A85822   SUZETTE      SUTFIN                       CA     90004048370
29538994972B84   JULIE        WARREN                       CO     90005039949
295391A1187B87   DESHANNAN    RUSSELL                      AR     90011001011
2953936897B449   JUAN         ROQUE                        NC     90013923689
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2953957879155B   LORENA        AGUIRRE                     TX     75056095787
2953958395B571   JAMES         LEE                         NM     90014645839
2953B1A1A91828   KATHERINE     TUITE                       NE     27014591010
2953B293291953   RUTH          FRYAR                       NC     90013092932
2953B379957128   CARLOS        CHIVALAN                    VA     90001163799
2953B44794B588   HELENE        HARDWAY                     OK     90013954479
2953B58AA5B271   AMBER         HALL                        KY     90013575800
2954159A251328   VINOTHKUMAR   BALAKRISHNAN                OH     90010305902
2954167694B261   JOSE          RAMOS                       NE     90013386769
2954174725B271   ROBBINS       FAMILY                      KY     90010907472
2954234299184B   RACHEL        GARDUNO                     OK     90014203429
2954293399155B   ALEJANDRA     MENDEZ                      TX     90011219339
2954337394B588   DAMARIS       CASTRO                      OK     21583813739
2954349A49189B   MATEO         AGUILAR                     OK     90015134904
295435A574B245   LAUREL        NELSON                      IA     27090525057
2954425A881633   KEISHA        MERIWETHER                  MO     90014872508
2954589264B588   EARNEST       WILLIS                      OK     21559938926
29546AA4897B4B   ROSA          NUNEZ                       CO     90010840048
2954725A491592   CARLOS        SANTIAGO                    TX     75096872504
2954767355B161   PATRICIA      CARRILL                     AR     23002156735
2954852697B449   TERESA        NORMAN                      NC     90005865269
2954B175131453   ROBERT        EVANS                       MO     27500621751
2954B34299184B   RACHEL        GARDUNO                     OK     90014203429
2954B569A9155B   VERONICA      GUZMAN                      TX     90009195690
2955122A99155B   ELIZABETH     CARO                        TX     90009642209
295521A7655957   CARLOS        FRANCO                      CA     90011451076
295522A3A55957   FRANCISCO     ZARAGOZA                    CA     90013502030
2955237A891828   WALTER        MULLINS                     OK     90000283708
2955282755B571   MARIA         CHAVEZ                      NM     90009918275
29553A37172B42   DAVID         GARCI                       CO     33076310371
29554878972B42   OSCAR         RUBIO                       CO     33091908789
29554A3515B571   FERNANDO      VIRAMONTES GURROLA          NM     35005340351
29555554A47965   CHRISTINA     RIDENOUR                    AR     90014085540
29555A2349184B   AUBREY        WILLIS                      OK     90012330234
29555A89872B42   KINAAN        HAMED                       CO     33000850898
2955651555B338   KIMBERLY      DILLON                      OR     90000575155
29556754672B42   RON           BARELA                      CO     90014637546
29556A37A8B151   ROQUE         STARLA                      UT     90004690370
2955731729184B   CRISTINA      VERGARA                     OK     90013413172
29559277A91383   JASON M       TIRK                        KS     29073682770
29559345A9184B   CHASE         KEENE                       OK     90014203450
29559862887B87   TAMARA        SHELTON                     AR     23015968628
2955B4A2991828   GRADY         KERSH                       OK     90012314029
295635A6555957   PATRICIA      ALVES                       CA     48034545065
295638A8191953   ERIKA         HERNANDEZ JIMENEZ           NC     17052518081
29563A19A31631   NICK          CROSS                       KS     90010660190
2956431825756B   JOSE          MIRANDA                     NM     90014183182
29564A39151328   ELAINNA       KIMBLE                      OH     90012390391
2956534A476B62   JOSE          CHAVEZ                      CA     90008043404
29566882787B87   MECHELLE      HAMPTON                     AR     90008628827
2956726359155B   ELSA          TAYLOR                      TX     75002392635
2956733713B39B   CHAUNCEY      WARREN                      CO     33032213371
29567846A4B588   HEATHER       GILLASPY                    OK     90012238460
2956852699189B   CODY          COSHATT                     OK     21079905269
2956996149155B   ELIZABETH     ESCOBAR                     TX     90010499614
2956B298691953   JESUS         PEREZ                       NC     90011452986
2956B35355B271   MARK          MARTEN                      KY     68020393535
2956B384272B42   BLANCA        MUNOZ                       CO     33050473842
2956B448491889   JALEAN        RUBLE                       OK     90010544484
2956B715281633   ARLANDO       BURNS                       MO     90010897152
2956B993555957   FERNANDO      NINO                        CA     90007609935
2957112439189B   TERENCE       BANKS                       OK     90015141243
29572A59872B42   JESSE         ANDRESON                    CO     33016130598
2957333A393721   VINCENT       BERRY                       OH     64549253303
29574338A72B42   JESSE         GAST                        CO     33049493380
29574A1699155B   ARACELI       GARCIA                      TX     90007430169
29574A47572B84   PABLO         GUZMAN                      CO     33058080475
29574A88751336   JEFFERY A     JOHNS                       OH     90015300887
2957577524B245   TOLIBJON      MARUPOV                     NE     90011767752
29575A15A9184B   KIM           AGENT                       OK     21094700150
29576245A81633   JAMES         JOHNSTON                    MO     90004442450
2957652175B569   MIGUEL        GAVAN                       NM     90011755217
2957778589155B   CYNTHIA       CRUZ                        TX     75004017858
2957817939184B   CAROLIN       RANDOLPH                    OK     90014771793
2957922674B245   DEBRA         BOLDEN                      NE     27021672267
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2957B135231631   DEBBIE       BRIBIESCA                    KS     90010981352
2957B19994B261   HARMAN       AMY                          NE     90011041999
2957B391A9155B   GLADYS       LUNA                         TX     90004313910
2957B491187B87   JAMMIE       ROUSE                        AR     90014944911
2957B883555957   SALLY        LEON                         CA     48053668835
2958131452B955   JOSE LUIS    OCHOA                        CA     90013943145
2958165A391828   MAGGIE       MCCLARY                      OK     90010526503
2958178374B245   FRANKLIN     WILLIAM                      NE     27092597837
2958299A15B161   KRISTIE      JOHNSON                      AR     23000479901
295829A3787B87   JORDAN       QUARLES                      AR     90015109037
2958343889189B   ANTIWAN      SIMMONS                      OK     21081424388
2958482AA7B449   STEVEN       GAITEN                       NC     90011958200
2958483789184B   SHELA        NORTHCROSS                   OK     90014858378
295851A6891522   LUIS         JURADO                       TX     90012731068
29585A72751328   MIKE         CLARK                        OH     90013270727
29586117887B87   CYNTHIA      DABNER                       AR     90013401178
2958627A454162   JOSHUA       ALVAREZ                      OR     90014032704
29586A1317B449   DENICE       FRANCO                       NC     90013930131
29587695987B87   TYNISHA      PARKS                        AR     23079226959
2958833A393721   VINCENT      BERRY                        OH     64549253303
2958915465B271   WANISHA      WHITE                        KY     90000931546
2958942717B449   KAREN        SOSA                         NC     90006694271
29589617A91828   NANCY        MACHORO                      OK     90002196170
29589A7749189B   SANDRA       FANNIN                       OK     90015150774
2958B51214B592   NATHAN       EDWARDSON                    OK     90008595121
2958B51A251328   JOHNATHAN    LAMB                         OH     90005765102
2958B92415B571   SUSIE        MAEZ                         NM     35015359241
2958B96A685822   MIKHAIL      ABRAMOV                      CA     90013589606
2959121A791592   MARCO        LOPEZ                        TX     90008302107
295913A367B449   ROBERT       MCCCAULEY                    NC     90008883036
2959153498B188   JACOB        NEILSEN                      UT     90003765349
295927A8491522   VICTORIA     ANAYA                        TX     90011577084
2959411319189B   JABARI       BURKS                        OK     90009531131
29594766872B42   MELISSA      GUZAINO                      CO     90012837668
2959487A331453   CARL         MEEKS                        MO     90012878703
29594A21987B87   JOSEPH       MEANS                        AR     23061080219
2959562115B571   YVONNE       CORDOVA                      NM     35067856211
2959633A55B271   DAVID        PEREZ                        KY     90013693305
2959638587B449   KAREN        MARTINEZ                     NC     90013923858
29598764A72B42   ANGELA       BARRIOS                      CO     90002607640
29598A73A91933   BENIYAM      TESFAYOHANNES                NC     90002660730
2959931984B261   WILLIAM      MOSLEY                       NE     90003963198
29599A4969155B   VINOD        VASON                        TX     90014770496
2959B96614B281   DOUGLAS      TSOKA                        NE     27089469661
2959BA64291522   EDUARDO      BALDERAS                     TX     75002540642
295B1133431453   STEPHANIE    RHODES                       MO     90009331334
295B11A834B245   ERIN         BULANDA                      NE     90000871083
295B136A987B87   CANDRA       LITZSEY                      AR     90013933609
295B1384691828   JODI         SALLIS                       OK     90014563846
295B177A691592   MARIO        JIMENEZ                      TX     90012887706
295B1A54591828   CHYNNA       BLAIR                        OK     90009510545
295B21A595B571   JHONY        CHAVEZ                       NM     90006951059
295B2369741295   NAVARRE      DIXON                        PA     51079073697
295B2399572B27   BRIAN        BEECHER                      CO     90001993995
295B2435991828   HEATHER      TERRELL                      OK     90010524359
295B3144272B42   AMY          MINOR                        CO     90012571442
295B3698987B87   ALYSSA       RAYBURN                      AR     90013196989
295B421385B161   MELESSIA     PIPPEN                       AR     90014362138
295B436A772B29   ROSA         RODRIQUEZ                    CO     33062403607
295B5796891953   COREY        BRITTON                      NC     90015167968
295B5818991592   ELIZABETH    RODDIGUEZ                    TX     75010848189
295B5A71672B29   MARIA        OROZCO                       CO     33050350716
295B6926191828   ROSIE        MCQUARTERS                   OK     90012189261
295B731845B375   MARIA        GONGORA                      OR     90000803184
295B733889155B   MARIA        OLIVARES                     TX     75065393388
295B748979189B   CURTIS       CORLEY                       OK     21018054897
295B8135151328   DONIE        JONES                        OH     90015541351
295B822287B471   RICARDO      MORA                         NC     90008902228
295B824379184B   JACQUELINE   CALDWELL                     OK     21003972437
295B99A4331453   RHONDOLYN    WEST                         MO     90005559043
295BB44865B271   AUBREY       HELLER                       KY     90014404486
295BB664991592   MIGUEL       BERMUDEZ                     TX     90010916649
295BB79884B281   KRISTY       WOLFF                        NE     27074177988
295BBA6A891828   DENA         RITCHIE                      OK     21000410608
2961173895B161   ANGELA       HAYNIE                       AR     90000867389
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2961186769155B   AARON                 DIAZ                TX     90009918676
2961219929189B   CARMEN                MENDOZA             OK     90007141992
29612271572B42   RUBI                  RODRIGUEZ           CO     33052992715
2961373895B161   ANGELA                HAYNIE              AR     90000867389
2961571685B571   TIFF                  MCNIGHT             NM     90012877168
2961591775B271   CHRIS                 STEPP               KY     90001989177
2961612A65B161   SCHANNA               BANKS               AR     23005761206
2961663A855957   DONNA                 BREWITT             CA     90009826308
2961777A531453   CURTIS                SLEET               MO     90014827705
29618278587B87   ICELLO                HAYNES              AR     90013472785
29618599A91953   JORGE                 MORALES             NC     90015105990
296191A494B588   VIVRE                 VARGAS              OK     90012861049
2961958869184B   IVAN                  KNIGHT              OK     21045025886
29619874A91828   AARON                 MCCLAIN             OK     21078148740
29619A7157B471   ANTWANIQUE            MCGOWAN             NC     90005720715
2961B4A275B571   CODY                  CLEMENS             NM     90014874027
2961B564187B87   KRYSTAL               EVANS               AR     90011215641
2961B841651351   TONI                  DIFIORE             OH     90011278416
29621353224B88   WILLIAM               FENWICK             DC     90001403532
29621441487B87   TRUMORROW             RAINY               AR     23005134414
296219A2831453   TYNERRIA              HALL                MO     90009789028
2962277564B261   JOEL                  CRUZ                NE     90013937756
2962321367196B   NICOLE                GUERRA              CO     90014332136
2962337724B261   MARIA                 LOPEZ PEREZ         IA     90013153772
296235A1291828   SHARMEKA              PURNELL             OK     90015155012
29623A1467B449   VIANEY                PRADO               NC     90011940146
296245A774B261   AHMED                 ELSAMADONY          NE     90003255077
2962492289155B   DANIEL                GUILLEN             TX     90003529228
29624A59391828   MICHAEL               PHILLIPS            OK     21038230593
2962539A451331   CARL                  HENNEMAN            OH     90010683904
2962542877B462   AGUSTIN               HERNANDEZ           NC     11019564287
29625751772B84   ARACELI               MARTINEZ CARMONA    CO     90011717517
29626978A4B588   MARIO                 AMBROCIO            OK     90015199780
2962737785B571   CARLA                 ORDONEZ             NM     90014373778
2962738617B449   GUILLERMO             MOLINA              NC     90013923861
296273A4291528   CHRISTINA             VALDEZ              TX     90010913042
29627A4484B588   MARTIN                GARCIA              OK     90008060448
296285A4A76B62   JUAN                  PARADA RIVAS        CA     90009165040
29629458887B87   RUTHIE                MADDEN              AR     90014154588
29629A64172B42   JON                   NEIMAN              CO     33089160641
29629A7934B261   LILLIE                BRADFORD            NE     90008090793
2962B284351328   CINDY                 LOWERY              OH     90010192843
2962B3A348B151   JUAN                  FUENTES             UT     90013553034
2962B62114B588   ANOTHNY               PRESENT             OK     90013906211
2962B92429189B   JAMES                 GOOD                OK     21014999242
29631161A55957   GUADALUPE             VILLAREAL           CA     90007781610
29631747787B87   TIARA                 TERRY               AR     90006517477
29631A5874B588   SHERICKA              MCCOY               OK     90010890587
29633255A55957   ALMA                  GODINEZ             CA     48064592550
2963344A15B571   LEONOR                GONZALES            NM     35096564401
29633579772B42   LINDA                 CALDWELL            CO     33006805797
296341AA291592   THOMAS                MILHOLLAND          TX     90013471002
2963436135B271   THERESA               SUMMERS             KY     68019663613
2963512174B245   KATHRYN               RECKINGER           NE     27032471217
2963533649155B   MARCO ANTONIO         PEREZ               TX     90003283364
296358A5972B42   ROBERT                JAQUES              CO     33093098059
296368A929155B   MELISSA BILL          VILLAREAL           TX     90004278092
29636A1844B245   TRACY                 SLAVIN              NE     27088100184
29637AA5991592   MONICA                FAIVRE              TX     90007980059
2963864225B571   GENEVIEVE             ABEYTA              NM     90014226422
2963B62739189B   JOHN                  MELLOR              OK     90015176273
2963B99215B271   MARIA                 LOPEZ               KY     90004029921
2963BA8394B261   MARK                  POLITO              NE     27073880839
296411A5391522   LUANA                 RUEDAS              TX     90013351053
2964146445B247   SEAN                  COFFEY              KY     90003134644
29642492872B84   DON                   HOLLIDAY            CO     33051794928
2964381352B229   JERENA                HALLMON             DC     90001688135
2964425474B261   ANDREW                SECORA              NE     90012762547
296442A985B571   HERBERT               DUGEON SENIOR       NM     90013422098
296444A657B449   JAMES                 BENNETT             NC     90013904065
29644874872B61   GENERAL MAINTENANCE   SERVICE LLC         CO     90013428748
2964639247B449   JAIME                 MARTINEZ V          NC     90013923924
29646558272B23   CLARENCE              MOYER               CO     90010135582
29647399972B84   MONIQUIE              OBARSKI             CO     90007473999
2964767789189B   JASMANY               ROCHA               OK     90015176778
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29647A1779373B   WILLIAM       HALE                        OH     90003630177
29648296124B43   LASHONDA      WALKER                      DC     81027392961
2964863A47B449   GILBERTO      FLORES                      NC     90010676304
2964954135B161   TERESSA       ASHFORD                     AR     23063655413
2964B79184B281   ROSALIA       SALAZAR                     NE     27015947918
29651A48387B87   TRESSA        ROBINSON                    AR     90010280483
2965227675B571   HUMBERTO      BARDETTE                    NM     35043512767
2965231A44B588   ERIKA         GARCIA                      OK     90002773104
2965269A49189B   LAVADA        GRIFFIN                     OK     90015176904
296536A5391525   MARIO         CHAVEZ                      TX     90012366053
296536A5587B87   D'ANDREA      KINDALL                     AR     90013926055
29653A68331453   GEORGE        MCLEMORE                    MO     90014810683
2965478A94B261   ROBERT        SMITH                       NE     90013937809
296552AA391241   DAISY         WILSON                      GA     14580692003
2965582799155B   ARTURO        MONTERO                     TX     90004278279
2965639247B449   JAIME         MARTINEZ V                  NC     90013923924
29656614A87B87   JOHN          POLK                        AR     90013926140
2965682459155B   LUCIA         PEREZ                       TX     90013358245
2965684297B449   DERISHA       BALDWIN                     NC     90010538429
296575AA19184B   TRACY         HOPKINS                     OK     90011115001
2965783785B271   DWIGHT        HICKSON                     KY     90009718378
29657A3924B245   JUDY          JONES                       NE     27053030392
29658318A91953   WENDY         SALGADO B                   NC     90011093180
2965954149155B   STEPHANIE     TORRES                      TX     90013565414
29659816A41281   JANELL        HOWARD                      PA     90013618160
2965B227985875   DAVID         MOORE                       CA     90010992279
2965B44797B449   JULIO         ESQUVIEL                    NC     90014894479
2965B515897122   EUSEBIO       TEREZA                      OR     44535645158
2965B73575B271   VENANCIO      LOPEZ                       KY     90014327357
2965B98959155B   ANGIE         LUCERO                      TX     90011219895
2966135124B588   TELISA        MCKENZIE                    OK     90012663512
29662379276B8B   ALEX          BARWNER                     CA     90009903792
2966285369184B   JENNIFER      HAUGHN                      OK     90014638536
29663416A72B42   LUCIA         RIOS                        CO     90013504160
2966352985B271   CHRISTOPHER   GARDNER                     KY     90014855298
2966355435B244   LUCKOSONDO    SYLLA                       KY     90014355543
296639AAA81633   ANDRES        HERNANDEZ                   KS     29001029000
296646A2755957   STARLENE      STOKES                      CA     90003166027
296646A5A7B33B   JOSE          GUEVARA                     VA     90003706050
29665684A55957   LUPE          CARDENAS                    CA     90011886840
2966639654B245   PAYGO         IVR ACTIVATION              NE     90010583965
29666431972B29   IVON          RODRIGUEZ                   CO     90000124319
2966688A74B261   ROSENNE       OLSON                       NE     90010218807
29667962572B84   DUNG          DINH                        CO     90002159625
29669455287B87   TANISHA       LOVE                        AR     90010024552
2966952A95B271   SHANNON       PERRY                       KY     90013975209
2966967927B449   DANIEL        FORTHMAN                    NC     90012816792
29669943A4B588   DAVID         JONES                       OK     90011959430
2966995739184B   JORGE         DOROTEO                     OK     21000819573
29669A66781633   AMANDA        MOON                        MO     90011120667
2966B21339155B   DANIEL        FRANCO                      TX     90012092133
2966B839A4B588   CHRYSTA       BROUSSARD                   OK     90011338390
2967111444B261   SEAN          BROZAK                      NE     90010851144
2967249515B271   EDWARD        BOLIN                       KY     90014724951
2967297874B281   BRANDON       MEYER                       NE     90004499787
2967366699155B   YARATZED      GONZALEZ                    TX     75010356669
29674822A7B449   TOUDD         BROWEN                      NC     90013228220
29675A78351328   REBECCA       HACKER                      OH     90012390783
2967622165B571   LAURYN        DUBERRY                     NM     90013082216
2967622AA91522   IRMA          BUSTAMANTE                  TX     75073622200
2967638A84B261   SIARA         MITCHELL                    NE     90010253808
2967648589155B   EDUARDO       DE LEON                     TX     90012214858
29677355A91528   ROSA          RUIZ                        TX     90005803550
2967773A291522   IRMA          MENDOZA                     TX     75045067302
29677A58341252   THOMAS        CROOKHAM                    PA     90011130583
2967834317B422   FERNANDO      CALIHUA                     NC     90010503431
29679459A91592   ROGELIO       DELGADO                     TX     90006894590
2967B1A459189B   WILLIAM       CHILDS                      OK     21053241045
2967B36AA77534   THALINA       JORDAN                      NV     90001513600
2967B446181633   PEDRO         VELAZQUEZ GUTIERREZ         MO     29004984461
2967B95757B449   ERNEST        SASSE                       NC     90012809575
29681671172B84   ED            SISK                        CO     33057616711
2968197792B962   FABIOLA       RUBIO                       CA     90012139779
29681A7A691828   BERRY         WASHINGTON                  OK     21075490706
29682216472B42   TINA          CHRISTINE SANCHEZ           CO     33038562164
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2968229444B596   THERESA       COX                         OK     90013982944
296828AA657544   PATRICIA      GONZALES                    NM     90004548006
2968348515B338   DANAYA        PFEIFER                     OR     44569544851
296834A7991525   GABRIEL       HIGADERA                    TX     90009224079
2968396549152B   MARIAM        KABARITI                    TX     90009739654
2968438644B261   ROBERT        BREWER                      NE     27018003864
29684813587B87   CHANDA        WILLIAMS                    AR     90012288135
296867A6191522   MIRNA         GUTIERREZ                   NM     75053977061
2968785787B666   TAMMY         HARRISON                    GA     90011518578
2968893A861435   JORGE         CABRERA                     OH     90015279308
29689925387B87   ANGELA        BILLINGS                    AR     90013189253
2968993A29189B   NASHAUN       SHAW                        OK     21029549302
2968B229791592   JORGE         RODRIGUEZ                   TX     90015202297
2968B41524B261   KRYSTAL       LITTLE                      NE     90013154152
2968BA7A831631   CHRISTIE      WILLIAMS                    KS     90010660708
29691551A4B281   KIMBERLY      MCMAHON                     NE     90008295510
2969166A391522   EVANGELINA    LUCERO                      TX     90014026603
29691A87691828   ERMELINDA     THOMAS                      OK     21043400876
2969224577B449   GLENNA        BENJAMIN                    NC     11049772457
2969258A691522   AURORA        ESCOBAR                     TX     90014925806
29692914A5B571   JAIME         GOMEZ                       NM     90002889140
29692A8837B435   LORENA        JIJON                       NC     90012670883
2969336595B571   CARLOS        BERMUDEZ                    NM     90009793659
29693724772B42   KENYETTA      WILSON                      CO     90013077247
2969392429189B   JAMES         GOOD                        OK     21014999242
2969393747B362   SABINA        ROMERO                      VA     90001659374
2969615619155B   AVELINO       VELEZ                       TX     75043061561
296963A647B449   SONIA         BAUTISTA                    NC     11064543064
29697A1535B571   MARY          BRUNDIGE                    NM     35051080153
2969825715B271   CHARTRICE     WITHERS                     KY     90013212571
2969856335B161   ANGELA        BURT                        AR     23060985633
29698945A91592   MARCO         ALVARADO                    TX     90012929450
29699559787B87   CHARLOTTE     PARKER                      AR     90013935597
2969956519184B   GABRIEL       BLAKE                       OK     21091015651
2969964845B161   ALDEN         PHILLIPS                    AR     90011696484
29699A6A891592   ASHELY        ZAMBRANO                    TX     90010770608
2969B313891522   CARLOS        ARGUELLES                   TX     90003093138
2969B32644B245   NICOLAS       RAMIREZ                     NE     90001083264
296B115214B588   ANGEL         ELLIS-POWELL                OK     90010041521
296B2361485822   BRANDON       MOORING                     CA     90000603614
296B2369672B42   ANGEL         AGICEA                      CO     90011953696
296B259159189B   SHANNON       HARBESTON                   OK     90015175915
296B2A5A351328   DANIEL        SANTOS                      OH     90013930503
296B3745191522   JOEL          VILLEGAS                    TX     90014887451
296B378114B281   CRAIG         GAITHERIGHT                 NE     90002457811
296B496969155B   ISABEL        LOPEZ                       TX     90011679696
296B4A5817B449   CHYNNA        CHONG                       NC     90006150581
296B5125155957   ALEJANDRA     LEPEZ                       CA     90015371251
296B5225831453   SATASHA       ROOKS                       MO     90011172258
296B547617B471   CAROL         BLACK                       NC     11098044761
296B5543791522   JOVANNA       MENDOZA                     TX     90014965437
296B6249581633   JESSICA       CAZENAVE                    MO     90010242495
296B62A9936121   RAENELL       MCCORD                      TX     90010172099
296B659359189B   RENAE         EISENBERGER                 OK     90015175935
296B6639191828   DEBBIE        HARRIS                      OK     21001966391
296B67A675B271   JANAY         KELLY                       KY     90014757067
296B699A491953   JEANNOT       BOMBUTSHI                   NC     90014749904
296B6A23591592   CHRISTINE     AGUILERA                    TX     90010390235
296B736624B588   DAVID         PHILLIPS                    OK     21537713662
296B74A455B271   NICK          JACOBS                      KY     90012524045
296B7529651328   STEVEN        SLADEK                      OH     90013015296
296B785739155B   JESSICA       NAVARRO                     TX     90004188573
296B8252691828   HAILEY        MARTIN                      OK     90013752526
296B837339155B   ANA           TORRES                      TX     90009083733
296B86A9A51328   JAMES         MARTIN                      OH     90014476090
296B886A991528   RAMON         GARCIA                      TX     90007118609
296B8A9165B271   RICHARD       STEWART                     KY     90014820916
296B967784B588   FRANCISCO     MEZA                        OK     90015206778
296B976235B271   ELENA         BALLESTEROS                 KY     90013347623
296B9955581646   WENDY         ORELLANA                    MO     90007839555
296BB1A6481633   AURELIO       ROMERO                      MO     90007561064
296BB835A9189B   SARA          BASFORD                     OK     90003338350
2971195124B588   APRIL         ROBINSON                    OK     90014469512
2971198834B281   LUIS MARTIN   TORRES                      NE     90012869883
2971414A341243   CHRISTOPHE    MOORE                       PA     90001701403
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297144A9991528   RAYMOND       CANTRELL                    TX     90001714099
29714686687B87   TRISHA        MCCOY                       AR     90015176866
2971491A44B261   EMILY         CRAWFORD                    NE     27032299104
297153A255B571   YESENIA       CABRAL                      NM     35091383025
2971592A64B261   JANICE L      AHERNS                      IA     27050989206
29715AA139155B   ALFREDO       ROMAN                       TX     90011220013
29716242487B87   LINDA         GATEWOOD                    AR     23089532424
2971644757B423   BERNARDINO    LARA MARCOS                 NC     90013924475
29719239A91522   VIANEY        ORTIZ                       TX     90012642390
2971964AA91522   VIANEY        ORTIZ                       TX     90008556400
2971968A891953   JUANA         SILVERIO                    NC     90014166808
2971982A557593   KATHLEEN      GARCIA                      NM     90007488205
2971B147991592   KARLA         BUENROSTRO                  TX     90015031479
297213A6647952   BRENDA        MOTT                        AR     90000913066
29721839387B87   VICTORIA      JACKSON                     AR     90013938393
29721A48384364   MAURICE       ALLARD                      SC     19021590483
2972244139184B   MARILYNN      WEST                        OK     21070794413
297224A717B449   OSCAR         BARRIGA                     NC     90013924071
2972362435B271   MARIE         MAYES                       KY     90008906243
29723A8655B571   MARIA         HOLGUIN                     NM     35083350865
2972417297B449   JAVARES       BLAKELY                     NC     90015131729
2972427A791592   CRISTINA      DELGADO                     TX     90008382707
2972443619189B   JANET         SMITH                       OK     90015214361
2972731A191828   CHRISHANNDA   AYERS                       OK     90013963101
297278A9591522   ROBERT        SORIANO                     TX     90010358095
2972888965B271   VICKI         NICHOLS                     KY     68028818896
2972947249189B   TANNEQUA      LEWIS                       OK     90009534724
297298A4A31453   TORY          MITCHELL                    MO     90013188040
2972B12545B571   JESSICA       REYNOLDS                    NM     90012511254
2972B433191592   JOSUE         RIVAS                       TX     90010814331
2972BA9A581633   CHRIS         NARAMORE                    MO     90013490905
2973141498B159   JAMES         HANKS                       UT     90006724149
29731739787B87   LISA          BROWN                       AR     90009067397
2973263763364B   TERRY         WHITE                       NC     90012646376
2973352AA51336   TASHA         DAY                         OH     66020175200
2973389419189B   MATHEW        ALLISON                     OK     90007208941
2973491315B254   RICHARD       BURCHETT                    KY     90009769131
2973549339189B   SHALONDA      LUNSFORD                    OK     21097494933
2973614415B195   CHARLIE       JORDAN                      AR     90015071441
297362A3131453   SAMMY         BROWN                       MO     90004622031
2973668297B449   CHARTINA      BOOZE                       NC     90011506829
2973744579189B   TONY          MURRAY                      OK     90015214457
29737459A72B29   DANIEL        FUENTES                     CO     33038874590
2973766799184B   OSCAR         RAMIREZ                     OK     90014686679
2973777289152B   JANETTE       HERNANDEZ                   TX     90012457728
2973927235B271   RACHEL        ROSARIO                     KY     68019682723
29739467A5B571   LUIS          BUSTILLOS                   NM     90014374670
2973972792B987   MIGUEL        ARAUZA                      CA     90012827279
2973B19927B449   KENYA         THOMAS                      NC     90014971992
2973B742131631   JESSIE        PAYNE                       KS     22015407421
2973B92324B281   MARIA         TAMAYO                      NE     90005799232
2974144749189B   PETER         TOWSON                      OK     90015214474
2974244749189B   PETER         TOWSON                      OK     90015214474
2974336A191592   DAVID         RUBIO                       TX     90014453601
2974346194B588   KRYSTAL       CAMPUZANO                   OK     21563654619
2974378A471923   HILARY        SHINN                       CO     90003637804
297437A2487B87   LAUREN        BROWN                       AR     90015177024
297438A3685822   AARON         LAMOT                       CA     90002728036
2974482A94B261   ROSA          ZAMORA                      NE     90013938209
2974574119184B   NANCY         IVEN                        OK     90011117411
297464A717B449   OSCAR         BARRIGA                     NC     90013924071
29746529A5B271   MIKE          REYNOLDS                    KY     68065625290
2974666195B571   MARIA         SAENZ                       NM     35060736619
2974685719184B   JACKIE        WILSON                      OK     90000988571
2974721684B588   CHRISTINA     TORRES                      OK     90006542168
297478A8591592   JOSE          SOLORIO                     TX     75052088085
29747A66372B42   LARISSA       NEELEY                      CO     33008420663
29748A2119155B   DAVID         ALVARADO                    TX     90011220211
2974984799189B   REBECCA       SIMS                        OK     90011608479
2974B566191828   EARLOW        LIRA                        OK     21011425661
2974B99A691953   PATRICE       HIGH                        NC     90002229906
2975139A491828   BRANDY        PATRICK                     OK     90006113904
2975184799189B   REBECCA       SIMS                        OK     90011608479
2975189175B161   SHARON        SMITH                       AR     23039428917
29751A14A57581   ANTONIO       SEDILLO                     NM     90012300140
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29753A5A391828   RAYMOND      LEE                          OK     90010530503
29754A88887B87   RUBY         COLEMAN                      AR     90009330888
2975521415B271   MICHAEL      PHELPS                       KY     68091172141
2975532857B449   WENDY        BANEGAS                      NC     90001263285
29755969A51328   FORREST      HAINES                       OH     90002289690
2975655274B588   RACOYA       THOMAS                       OK     90007435527
2975684944B588   GIBRIAN      RIVAS                        OK     90015018494
29757755A81633   DOUGLAS      TYSON                        MO     90009237550
2975846A84B588   JESSE        HARMON                       OK     90010734608
2975911735B271   BADD         ASZ                          KY     90012331173
2975962559155B   RAMON        ROMERO                       TX     90002576255
2975B263351328   SAMANTHA     KIRBY                        OH     66058432633
2975B988985822   ADA          QUINONEZ                     CA     90003169889
29761A96472481   ASHLEY       JOHNSON                      PA     90001410964
2976272875B571   MARTIN       CANALES                      NM     90006217287
29762A77784364   WILLIAM      WRIGHT                       SC     90007130777
2976351449155B   ROSAURA      ALFARO CERVANTES             TX     90012575144
29763A55851328   JAMIE        LAMBERT                      OH     90011890558
297641A1191522   CLAUDA       HERNANDEZ                    TX     90008451011
29765271A3B352   ALPHONSO     BASS                         CO     33035312710
2976591934B281   DOROTHY      GILLMAN                      NE     27030799193
29765A2884B588   REY          PRICE                        OK     90011970288
29766A36691592   ORLANDO      AVALOS                       TX     75077250366
2976733A24B588   RUBEN        MARTINEZ                     OK     90001783302
2976733A555957   IVETTE       CHAIDEZ                      CA     90011333305
29767682572B84   LANA CORIE   MEDINA                       CO     90002016825
2976819694B281   DIONDRE      MITCHELL                     NE     27026651969
29768582A4B588   BRIAN        WALKER                       OK     90005665820
29768829687B69   RICHARD      BRIGGS                       AR     90013768296
2976897332B221   CAROLYN      CLEMONS                      DC     90014499733
2976919739155B   WEST         SLOAN                        TX     90014801973
2976935365B271   JEFF         GILBERT                      KY     90012933536
2976B21182B221   KENYATTA     ALI                          DC     90002602118
2976BA96472481   ASHLEY       JOHNSON                      PA     90001410964
2977143A85B571   CYNTHIA      CLEMENTS                     NM     90003274308
29771816976B4B   SERGIO       RODRIGUEZ                    CA     90011778169
29771948A5B161   LASHALL      HOWARD                       AR     90002039480
2977235754B588   ASHLEY       TIPPIT                       OK     90013833575
2977273AA51328   ANDREW       RITTER                       OH     66040057300
2977424887B449   HEDDY        ALVES GARCIA                 NC     90010542488
297742AA681633   MORRIS       CORNLEY                      MO     90000492006
2977443895B35B   MARIA        RODRIGUEZ                    OR     90010004389
29774585A4B541   DANIELLE     WALKER                       OK     90012585850
2977489A451328   NATHAN       HEATHCOCK                    OH     90010678904
2977648A291522   AIDEE        OROZCO                       TX     75094014802
297766A695B19B   RENEE        GARCIA                       AR     90012516069
29777288A91828   PHIL         MCARTHUR                     OK     21007932880
29777A7345B271   DARNELL      TAYLOR                       KY     90014700734
2977854A79189B   TRE          ROBINSON                     OK     90015215407
2977887115B271   LACIE        WILLIAMS                     KY     90001618711
29779854A51328   TERESA       DEAN                         OH     66040858540
2977B742585822   ASHLEY       DODGE                        CA     90011577425
2977B76A15B571   WALDREIA     CLARK                        NM     90005007601
297811AA255957   YAZMIN       SANCHEZ                      CA     90009641002
2978274A25B161   JAIME        LOPEZ                        AR     23001287402
2978311A991592   JORGE        RODRIGUEZ                    TX     90013471109
2978323A87B449   CRYSTAL      SMITH                        NC     90013172308
2978328835B271   JAMES        JONES                        KY     90007922883
29783299A91828   MICHAEL      BEVINS                       OK     90015002990
29783A5784B588   KAREN        CARDONA                      OK     90011380578
2978424A24B245   CHERITA      VELAND                       NE     90012602402
2978438939155B   ANTONIA      BUSTAMANTE                   TX     75011153893
29784A2915B271   JOSEPH       HUNT                         KY     90005190291
2978534929184B   MELISSA      SHAW                         OK     90014213492
297855A134B281   NIM          TAMANG                       NE     90010555013
2978576314B588   VICTOR       CARRAON                      OK     21588717631
2978742245B161   SHERYL       CARMICHAEL                   AR     23002184224
2978748899155B   ANDY         GALLARDO                     NM     90012494889
2978864355B571   ALEXIS       BAROS                        NM     90014936435
29788A7664B261   RAN          GURUNG                       NE     90012740766
297898A2691522   MARGARITA    SIFUENTES                    TX     90002098026
29789A25991592   ENRIQUE      CASTILLO                     TX     90014770259
2978B664931453   ANTONIO      RILEY                        MO     90001296649
2978B74854B281   TRACY        MORGAN                       NE     90012447485
297918A575B571   MICHELLE     DEWEY                        NM     90003148057
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2979198454B281   KANDACE       CHAMBERS                    NE     27090039845
2979382255B271   REALLY        REAL JR                     KY     90008678225
29794771872B84   JEN           SCHMIDT                     CO     33049957718
2979669487B449   ADILIO        MARTINEZ                    NC     11018426948
29797223A61994   DEBRA         JONES                       CA     90013712230
2979725435B571   ANNETTE       ARAGON                      NM     35093482543
29797A68591828   MYESHA        WINSTON                     OK     90004190685
29797A94351323   MONTE         GATES                       OH     90013940943
29798217A72B42   JEFF          GARCIA                      CO     33051502170
2979967345B271   KIARA         FOWLER                      KY     90003386734
2979BA7557B457   NATASHA       WELBORN                     NC     90007890755
297B129A191828   JOHNNA        MIZER                       OK     21007932901
297B175785B161   AXLEXIS       ALVAREZ                     AR     90011697578
297B1A95A87B87   MUVEDEMO      ID UR MOBILE CONNECTION     AR     90003110950
297B378147B449   LUDI          GARCIA                      NC     90003007814
297B419267B449   SINDY         BANNESA                     NC     90011401926
297B451467B449   MATERRANCE    RORIE                       NC     90010125146
297B491229155B   SILVIA        HERNANDEZ                   NM     75027039122
297B5297481633   DAVON         DAVIS                       MO     90012702974
297B5385255957   DANIEL        DIAZ                        CA     48006893852
297B5681631453   MARCEL        HARRIS                      MO     90013486816
297B58A9955957   RICARDO       ALVARADO                    CA     90014998099
297B5978272B42   AVINA         CRUZ                        CO     90008559782
297B6586491522   ALEX          MONTOYA                     TX     90013905864
297B65A4281633   ADAM          WARD                        MO     90013405042
297B6839431631   TERANCE       WHITE                       KS     90011988394
297B719585B571   TRACY         ELDRIDGE                    NM     90013421958
297B787689189B   JESSIE MAY    WARTSON                     OK     21087318768
297B7993291953   TYESHA        DAY                         NC     90013709932
297B8292691828   JUDY          BRUSVEEN                    OK     90002772926
297B8447A72B84   CORA          HOLLAND                     CO     90008634470
297B8633891522   ADILENE       SALAS                       TX     90013766338
297B8926391953   PEDRO         CHAJ                        NC     90013559263
297B8986551328   EUGENIO       MARTINEZ                    OH     90009689865
297B8A18A31631   MOLLY         NAIL                        KS     22007990180
297B955759155B   ANDRE         THOMAS                      TX     75022725575
297B9746681633   CHRISTINE     WILSON                      MO     90000937466
297BB119851328   STEPHANIE     REPP                        OH     90014031198
297BB17494B553   VIRIDIANA     PACHECO                     OK     90007631749
297BB211172B42   JAHAZIEL      RODARTE                     CO     33098032111
29811377A85999   STEVEN        JONES                       KY     66001963770
29811557772B84   KRISTIN       RINCONES                    CO     90013215577
2981186685B571   MONICA        MACIAS                      NM     90004398668
2981214A733628   SOLIS         INGRITH                     NC     12070571407
2981299128B15B   ALFREDO       MARTINEZ                    UT     31090589912
298133A6784364   KAYLA         GUNTERMAN                   SC     90010573067
2981345845B271   PATRICIA      MEREDITH                    KY     90013314584
2981423A25B571   LUIS          PUENTEMORENO                NM     35087802302
2981493124B261   KYWANNA       MUMPHREY                    NE     90009409312
29815AA5631433   PAUL          WEISS                       MO     27568980056
29816895787B87   CHERRY        BURGESS                     AR     90011458957
29816A1AA5B271   TERRY         ALLEN                       KY     68011200100
2981751645B333   CHARLES LEE   WANKE                       OR     90012575164
29817634A9189B   LONDI         VASQUEZ                     OK     90015216340
29817A7664B261   RAN           GURUNG                      NE     90012740766
29818214872B84   FILIBERTO     SAUCEDO                     CO     90005312148
2981839285752B   CARLOS        MARTINEZ                    NM     90011563928
29818A4569155B   JANET         ACOSTA                      TX     90011220456
2981B461555957   JOHN          HERRERA                     CA     90013604615
2981B766472B84   MELISSA       MAY                         CO     90007357664
2981B865191522   OSCAR         GUTIERREZ                   TX     90015168651
2981B92684B261   MICHAEL       RAUMAKER                    NE     90009409268
298214A3151336   AARON         MIZELL                      OH     90007644031
29821778A72B4B   MICHELLE      FORSYTHE                    CO     90008797780
298218A8A9189B   RICK          NEDOM                       OK     21081278080
29821A58731453   PORTIA        WINSTON                     MO     90014810587
2982245937B449   FRED          TRACY                       NC     90010704593
2982254334B261   TYLER         ALLARD                      IA     90013775433
2982268375B243   YOLANDA       REDMOND-GLENN               KY     90006426837
29823444A9155B   LUCY          LEDESMA                     TX     75020284440
2982378429189B   BRENDA        TORRES                      OK     21045937842
2982385A761932   JORDAN        MARTINEZ                    CA     90011378507
29823A2724B588   CHAQUANA      THOMPSON                    OK     21518750272
2982419719155B   DOUGLAS       TINELL                      TX     75020041971
2982514925714B   WILBER        ABAD                        VA     81008631492
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2982642767B449   ANDRES             CONTRERAS              NC     90013924276
2982645297B449   LERON              PRECEND                NC     90014854529
298264A329184B   SALVADOR           GUERRA                 OK     21074294032
2982685494B245   DANZELLER          ECHITINAW              NE     27018908549
2982715555B571   GABRIEL            ESPINOZA               NM     90007661555
29827171A51328   ASHLEH             SPURLING               OH     90013941710
298271A7151336   STEPHEN            TOMPKINS               OH     66057411071
298278A9A72B42   VINCENT            VARGAS                 CO     33090738090
2982974534B281   RENAZYA            TORRES                 IA     90007977453
2982B397191241   TAMMY              DAUGHTRY               GA     90009593971
2982B53AA81633   KAYLA              COX                    MO     90009405300
2983138344B261   BRADLEY            DUST                   NE     27075203834
29831711672B42   PEDRO              CASTRO                 CO     33098447116
2983199339184B   JESUS              MAZORIEGO              OK     21068669933
29832A92A91828   RODERICK           COLE                   OK     90012570920
2983339364B281   JORDAN             PAVELKA                NE     90006153936
2983364434B588   CYNTHIA            STIRES                 OK     90004336443
29834599272B42   DAVE               WOODS                  CO     90013825992
29835A4A27B449   MIRIA              GUEVERA                NC     90013930402
2983718195B571   LINDA              BAZAN                  NM     90011651819
2983733754B588   STEPHANIE          WAGGONER               OK     90015033375
29837554987B87   BARBARA            ADROW                  AR     90014575549
2983883789184B   SHELA              NORTHCROSS             OK     90014858378
29839A45A87B87   PAYGO              IVR ACTIVATION         AR     90014570450
2983B38729189B   BRIAN              MEADOWS                OK     21026333872
2983B83A233642   WESLEY             SCOTT                  NC     90009758302
2983B923481633   ALESHIA            FLETCHER               MO     90009399234
2984161555B271   DONNA              LEE                    KY     90011026155
2984185144B588   KRISTEN MICHELLE   SANDERS                OK     90013668514
2984186759184B   EMILY              FROST                  OK     90010148675
2984245865B271   RUTH               HOEFLIN                KY     90013314586
298424A8785822   MYRNA              DOUGALL                CA     90009574087
29842582A4B261   ALEXIS             PACHECO                NE     90011615820
29842965A22971   BRANDEN            WILEY                  GA     90015519650
29842AA8131453   VONDA              WILLIAMS-HALL          MO     90013850081
2984337499184B   HECTOR             RESENDIZ               OK     21033693749
2984375135B571   JOE                BACA                   NM     90009287513
29844345287B87   SHAVON             MILLER                 AR     90013073452
2984469399155B   MARIA ANTONIA      SALAZAR                TX     90012026939
29844714972B29   MIGUEL             RUBIO                  CO     90003287149
29844A31A91592   CARLOS             LEYVA                  TX     90011950310
2984539A49184B   MICHAEL            DORLAND                OK     90014583904
29845486887B87   EVA                JOHNSON                AR     23082744868
298454A735B571   GUADALUPE          MENDOZA                NM     35054734073
298456A429189B   JAMIE              ODONNELL               OK     21087086042
2984646312B962   ROSA               HERNANDEZ              CA     90014094631
2984665936B931   CLAUDIO            HERNANDEZ- FLOREZ      NJ     90015366593
29846A14555957   FELIPE             NUNEZ                  CA     48016960145
298471A565B571   VALARIE            GARDUNO                NM     35030251056
2984888A45B571   SCOTT              RANSOM                 NM     90008588804
2984B26627B449   TABATHA            MASSEY                 NC     90007262662
2984B31124B588   TENNISE            ROBERTS                OK     90005623112
2984B85315B271   JAMIE              RANES                  KY     90014358531
2984B87699189B   HECTOR             AGUILAR                OK     21020708769
29852699A4B56B   JOANNA             MELEGATTI              OK     90005676990
29854A56131453   SAUDIA             PIERCE                 MO     90010730561
2985539567B471   FELIX              LOPEZ                  NC     90003153956
298553A374B281   KELLY              MCDONALD               NE     27098413037
29855A8435B271   VICKIE             LONDON                 KY     90003040843
298576A524B245   BOBI               SVENNNINGSEN           NE     90012086052
2985785764B261   ETHEL              HODGES                 NE     90013938576
2985846A472B42   RIGOBERTO          VALDEZ                 CO     90012484604
298589A129184B   BRENDA             DRAPP                  OK     21078519012
2985926469155B   CHARLES            TURNER                 TX     90000372646
29859A25972B84   BARRY              BAXTER                 CO     33087190259
2985B13242B229   DARRELL            STEVENS                DC     90001461324
2985B192272B29   MARTHA             MARTINEZ               CO     90006851922
2985B32949189B   OQUELY             GONZALEZ               OK     90015223294
2985B427591592   OSCAR              CEIJAS                 TX     90001174275
2985B64599184B   CLAUDIA            GOMEZ                  OK     90012446459
2985B78954B588   MONICA             THOMAS                 OK     90009697895
2986139694B588   JUSTIN             JONES                  OK     90012743969
298614A5987B87   JUNE               STEWARD                AR     90014474059
2986154455B338   CASEY              FOWLER                 OR     44525015445
2986159345B271   ERIN               ROBERTSON              KY     90013005934
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2986257925133B   KRISTIE       WIEMER                      OH     90013775792
2986354569184B   DAVIN         BOGGAN                      OK     21089975456
298637A7A72497   JUDITH        CORONA                      PA     90003037070
298639A9172B84   CRIS          PARKER                      CO     90001229091
29864A41981633   CARLOS        GIRAUDY                     MO     29094980419
2986658349189B   MARLA         MOODY                       OK     90015235834
29866A7A872B4B   HEATHER       BARTH                       CO     90009040708
2986828872B242   JAMES         ALDRIDGE                    DC     90008762887
2986841689155B   KARINA        LOPEZ                       TX     90009084168
2986844785B161   ZENA          GREEN                       AR     23002804478
2986895672B221   ABSHIR        ADAM                        VA     90002509567
298696AA49189B   TIKCHA        JOHNSON                     OK     90015236004
298697A7851336   AMBER         MAGGARD                     OH     90008167078
2986992664B245   KELSIE        FLATT                       NE     90008709266
2986B48697B449   CATALINA      HERNADEZ ALMARAS            NC     90010544869
2986B696972B84   SIMMS         JODON                       CO     33056736969
2987166A891522   SILVA         RAMIREZ                     TX     75097486608
29871994A8B147   GABRIEL       OLIVA                       UT     90011769940
2987253145B161   HERMAN        STEVENSON                   AR     23029045314
29872A31751325   DONNA         MOORE                       OH     90000820317
29873282972B42   MARY          JENSEN                      CO     90007662829
2987378559189B   TABITHA       SALOM                       OK     21030617855
2987415389155B   NORMA         GUAJARDO                    TX     90014501538
2987541A99184B   AMY           SCHAEFER                    OK     90013414109
2987543877B449   MARIA         AGUILAR                     NC     90013924387
2987551637B449   ERICA         CHINCHILLA                  NC     90010545163
29875636376B71   ASHLEY        CAVERO                      CA     90012726363
2987592529155B   CAROLINE      MARTINEZ                    NM     90015329252
29875A2499189B   DENNIS        TATUM                       OK     90014150249
2987624884B261   PRECIOUS      CLARK                       NE     90009142488
29876792887B87   JAWAUNAKA     JORDAN                      AR     23049237928
29876A3314B588   JENNIFER      TOVAR                       OK     90011430331
29877427887B87   ORA           ASH                         AR     90008854278
29877725A91522   ALVAREZ       ALVAREZ                     TX     75040327250
29878441A81633   BRANDON       RIVERA                      MO     90013414410
29878A88791953   CARLOS        MONTALVO                    NC     17062520887
29879346372B84   VANG          LEE                         CO     90002193463
2987966714B261   NICHOLE       SHEARD                      NE     27030076671
2987984859189B   NANCY         HOLLINGSHEAD                OK     21076958485
2987B299751328   ROBERT        COFFMAN                     OH     90013952997
2987B777891592   OSCAR         MATA                        TX     90010887778
2987B832591953   SONYA         MOORE                       NC     90010908325
29881324A91828   CIARA         PALONE                      OK     90005773240
2988148374B221   TERRIE        MILLER                      NE     90012214837
2988211384B588   CHRISTOPHER   CLARK                       OK     90009271138
29882567487B87   YOLANDA       CLEVELAND                   AR     90013945674
29882683372B29   EH            PAW                         CO     90006776833
29882A9315B571   CLAUDIA       PARRA                       NM     90010560931
2988315234B588   NANCY         BREEDEN                     OK     90009701523
2988329235B571   HEATHER       FISHBACK                    NM     90014842923
2988359139184B   KATIE         SPENCER                     OK     90015045913
29885653172B42   FRANCISCO     GARCIA                      CO     90004046531
2988583692B92B   MIGUEL        MENDOZA                     CA     90012998369
2988586AA91592   GUADALUPE     NIETO                       TX     90013328600
298867A2881633   AJA           BEEKS                       MO     90000627028
29886A13291592   DANIEL        ALVARADO                    TX     75099640132
29887947A81633   TANIKA        SULLIVAN                    KS     90013699470
2988845349184B   BAMBI         CHERRY                      OK     21060024534
2988851525B571   CAROL         WASHBURN                    NM     90002875152
2988865747B449   ETIENNE       SADOHOUNME                  NC     90002956574
29889538436B77   MATTHEW       DUSKY                       OR     90010315384
2988974884B588   FORREST       FREEMAN 111                 OK     21559727488
29889A38355957   LILLIAN       VENTURELLA                  CA     48094880383
2988B5A8872B84   ANN           CGUE                        CO     33059705088
29891A4359155B   ROSALES       BLANCA                      TX     90011430435
29892A53755957   VICTORIA      SANCHEZ                     CA     90013130537
298951A4172B42   SARAH         TITUS                       CO     90014681041
2989527155B271   RAYMOND       JEFFRIES                    KY     90013212715
2989528627B449   AUSTIN        LONG                        NC     90010742862
298958A2251336   MELODY        WATERS                      OH     90015228022
2989739387B449   KELVIN        WALKER                      NC     90014873938
298973AA25B161   VICKI         SHEPARD                     AR     23011323002
2989797447B449   VALERIA       REYES                       NC     11079799744
2989874884B588   FORREST       FREEMAN 111                 OK     21559727488
2989947A591592   RED           HUDSON                      TX     90010814705
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2989B612A91592   GARY         PIZANA                       TX     90014176120
2989B87A172B42   JAMES        BARTH                        CO     33006568701
2989B91559376B   JAMES        CRASE                        OH     90014889155
298B14A3A5B571   BIENVENIDO   OTERO-ORDONEZ                NM     90013074030
298B151A591522   ABRAHAM      NEVAREZ                      TX     90008685105
298B16A6591522   ANGEL        LARA                         TX     90014156065
298B1733657581   PRISCILLA    MORENO                       NM     35517307336
298B1A22855957   MARTHA       ROJAS                        CA     90001040228
298B214595B571   JANET        SAIZ                         NM     90008621459
298B2163491828   JULIA        BRUSVEEN                     OK     90013511634
298B2281581633   GLENDA       AGUIRRE                      MO     90014642815
298B2378991592   JESUS        RAMIREZ                      TX     90011053789
298B285589155B   BERTA        GARCIA                       TX     75074268558
298B28AA787B87   LUTHER       WHALEY                       AR     23089318007
298B2A93991941   ROSIE        JONES                        NC     90006010939
298B3151172B42   CARMELINA    VENEGAS                      CO     33075331511
298B33AA381633   PATRICIA     LAMPKIN                      MO     29034083003
298B3523291528   SANDRA       RODRIGUEZ                    TX     90005825232
298B5235451328   CLAYBURN     BIRD                         OH     90013932354
298B549814B261   MEGAN        ROLLINS                      IA     27015294981
298B591999155B   DAVID        UENO                         TX     90004279199
298B6123591953   ADAM         WHITE                        NC     90012251235
298B6385551328   RACHEL       ELERICK                      OH     90003083855
298B67A8372B42   MELISSA      RIVERA                       CO     33042617083
298B6913172B42   DYLAN        RIVERA                       CO     90010809131
298B7269751336   JEFF         ASHER                        OH     66026982697
298B757399189B   OLGA         AVINA                        OK     90014195739
298B766A191828   LILIANA      RODRIGUEZ                    OK     90014916601
298B7772A4B245   SHAWN        COOPER                       NE     27095537720
298B797425B571   MARY         JAQUEZ                       NM     35074749742
298B8589881633   LISA         HYATT                        MO     29056135898
298B8743451328   MARIA        IRVIN                        OH     66087527434
298B891924B588   JOSE         GONZALEZ                     OK     90013009192
298B8A4537B42B   RICHARD      MORGAN                       NC     90009530453
298B9362951336   ANTONIETA    ESCALANTE                    OH     90014823629
298B9388751328   LAURA        RIGDON                       OH     90014803887
298B9A2975B161   CLARA        JENKINS                      AR     23002640297
298BB248651336   DENNIS       WESSEL                       OH     90006962486
298BB33A34B588   HERBERT      DUNCAN                       OK     90009693303
298BB648991522   BELEN        CONTRERAS                    TX     90005656489
298BB685191592   ABRAHAM      ORTEGA                       TX     90009566851
298BBA8715B571   LUIS         LOZOYA                       NM     35095640871
298BBA9219184B   BERNARDO     GARCIA                       OK     90014230921
2991339369155B   GERALD       DITZ                         TX     90002663936
29913556A72B29   RODNEY       PEACOCK                      CO     33011305560
2991372279155B   DITZZ        GERALD                       TX     90010377227
2991432789184B   CARLOS       CONTRERAS                    OK     90012513278
2991486324B245   MARIA        SUAREZ                       NE     27000278632
29914892A4B261   AMILCA       VASQUEZ                      NE     90013938920
299153A5291525   MARIA        FLORES                       TX     75007173052
2991576454B588   ELVERINIA    GARCIA                       OK     90013857645
2991639924B245   AUSTIN       PUCKETT                      NE     90011773992
2991731AA9155B   MOISES       DIAZ                         TX     90014683100
2991769A59155B   MOISES       DIAZ                         TX     90015206905
29918231672B42   PAUL         COUTURE                      CO     33009072316
2991824514B245   DIANA        ANDREASEN                    IA     27069522451
2991859149155B   SABRINA      VARGAS-ORTIZ                 TX     75068645914
2991BAA2891241   TONYA        THORPE                       GA     14589980028
2992183238B179   RAYMUND      HARRIS                       UT     31037448323
2992185A69155B   ARTURO       ESPINOZA                     TX     75087168506
2992341A391828   KRYSTAL      WILLIAMS                     OK     90014304103
2992461719184B   FRANCISCO    GARCIA                       OK     21004856171
2992481573B333   ART          VALENTINE                    CO     90008468157
29924A68455957   ITELA        MAYORAL                      CA     90013860684
299256A2251328   TARA         TELINDA                      OH     90013956022
2992629638B172   RAMIRO       MARROQUIN                    UT     31085562963
2992641619184B   KERRY        NEELEY                       OK     21056854161
2992658115B571   TAMARA       FRANCISCO                    NM     35092915811
2992685525B271   AUSTIN       STINSON                      KY     90011208552
2992731185B161   MARCY        HOLMES                       AR     23000133118
29927997572B42   SOCORRO      CUEVAS                       CO     90004689975
299281A8372432   RONALD       KERNS                        PA     90011661083
29928341872B42   LEI          LONGAKER                     CO     90014083418
299283A865B571   MARIA        LOPEZ                        NM     90008243086
299286A875B375   JOHN J.      HALVORSON                    OR     90010046087
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2992B64114B281   LINDA        ROBINSON                     NE     27030906411
2992B676A9189B   KAY-LONI     TAYLOR                       OK     90015236760
2992B9A129184B   BRENDA       DRAPP                        OK     21078519012
2993121957196B   CADEEJAH     CHAFFIN                      CO     90010502195
29932A2197B449   SUGELY       DELCID BANEGAS               NC     90013930219
29932A6699189B   CLEO         JACKSON                      OK     90015240669
29933535987B87   BRITTNEY     ALLEN                        AR     90006925359
2993512A591828   DEVIN        TYLER                        OK     90014241205
299357A8972B84   ALAINA       RADECKY                      CO     33083857089
2993596A431631   LISA         CULVER                       KS     90012659604
299361A734B281   JEREMY       BELT                         IA     90002071073
2993672935B161   CARL         LAWSON                       AR     90012587293
299375A4355957   NATASHA      GONZALEZ                     CA     90013775043
29938458472B42   SUSAN        SPIES                        CO     33053554584
29938A15484364   JAMES        WHALEY                       SC     90008150154
2993B197831631   CANDICE      KETCHAM                      KS     22080341978
2993B2A194B588   GLENDA       SILIEZAR                     OK     90015312019
2993B53634B245   ANDRADE      ESPINOZA-ZULEYMA             IA     90003415363
2993B599A91592   ALEX         FUNES                        TX     90012735990
2993B59A751328   KEVIN        STEINBRUGGE                  OH     90002245907
2993B821587B87   TERESA       LAPOOLE                      AR     23086458215
2994188519155B   VICTOR       MORALES                      TX     90009938851
29942226272B42   GERMAN       SALGADO MALDONADO            CO     90012332262
2994227825B271   MARK         WEAVER                       KY     90014932782
2994273A29155B   IRMA         MENDOZA                      TX     75045067302
2994277A97B449   MAHMOUD      BADR                         NC     11004627709
2994343AA9184B   ARCELIA      GARCIA                       OK     90010564300
2994412AA4B281   TRACY        HUERTA                       NE     90010401200
29944878372B84   JOHN         MARTINEZ                     CO     33050998783
299448A7791592   ARTURO       VENEGAS                      TX     75081098077
299449A5372B42   HENRIETTA    FLOWERS - MARTIN             CO     33069859053
29944A84A72B25   THERRIN      JONES                        CO     90012510840
2994528324B588   ANA          BRAVO                        OK     90009702832
2994531A991522   RITA         VALDEZ                       TX     90000213109
299457A5855957   VERONICA     GONZALEZ                     CA     90011227058
2994595867B449   SASHA        HENDERSON                    NC     11088019586
299462A2285822   KIMBERLY     MARTINEZ                     CA     90011592022
29946993672B42   NICHOLAS     VERBLE                       CO     90013809936
2994811555B333   IGNACIO      VARGAS                       OR     90014551155
299493A8A87B87   PAYGO        IVR ACTIVATION               AR     90012893080
2994B261A87B87   SHARONNA     ASHLEY                       AR     90013352610
2994B316A51336   JOHN         MANUEL                       OH     90012913160
2994B48565B571   TOBI         GENTRY                       NM     90005114856
2994B578791522   SAUL         ESPARZA                      TX     90009955787
2994BA69431448   MERCEDES     HODGES                       MO     90011720694
2995111834B281   TRACEY       MARSHALL                     NE     27030441183
2995143A291522   CHRISTINA    REDER                        TX     75054064302
299516A4391953   EBONY        HARTSFIELD                   NC     90011016043
29951A25455957   TINA         JIMENEZ                      CA     90003910254
2995238925B571   ROB          LYDICK                       NM     90013413892
2995261217B449   ERIKA        BARTON                       NC     11089326121
2995265585B271   KAYLA        MORRIS                       KY     68055746558
29952789A51336   NATASHA      WEIER                        OH     66059157890
2995398295B571   MAGGIE       SORRELL                      NM     90012639829
29953A89431631   JOHN         SIMMS                        KS     90011980894
2995513434B245   CAROL        KOZICKI                      NE     90009501343
29956277972B84   MARIO        GARCIA                       CO     90009792779
2995883789184B   SHELA        NORTHCROSS                   OK     90014858378
29958AA6451336   ISSAC        DIGGS                        OH     66094790064
2995911454B245   JORGE        DIAZ ESPINO                  NE     90000571145
29959645572B29   RENEE        AMBROSEN                     CO     33032316455
2995982939155B   JOSE         DE SANTIAGO                  TX     90013488293
2995B54329184B   TINA         SKJERSETH                    OK     90012485432
29961199197B4B   RACHEL       SIPPEL                       CO     90004221991
2996161315B571   TAMARA       TAPIA                        NM     90008676131
2996165674B588   ANDREA       MCCULLAR                     OK     90010566567
29961A31585822   NICOLE       HOUSHAN                      CA     90008610315
29961A65891953   RENE         GAMEZ                        NC     90011830658
2996228994B261   RANDALL      TOMSU                        NE     90013452899
29962459672B42   SYDNIE       RILEY                        CO     90012414596
2996314A987B87   JONATHAN     BOYKIN                       AR     90011241409
29963963472B29   SIMONA       CORREA                       CO     33088679634
29965451472B29   KAYLEN       HOLLIS                       CO     90002814514
29965482698B42   RUDY         ARANA                        NC     90010334826
2996588163144B   TAMMY        HUNT                         MO     90015178816
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2996626714B588   ADRIANA       CHAVARRIA                   OK     90010722671
29966785A55936   CHERRIE       BYARS                       CA     90013367850
29966A16455957   MICHAEL       SASIN                       CA     90010780164
299676A979184B   JOHN BEATY    WORTHAN                     OK     21094566097
29967A52291592   SAMUEL        MUNOZ                       TX     75071830522
2996824637B449   FILIBERTO     ESTRADA                     NC     90013602463
29968AAA751325   ASHLEY        WILLIS                      OH     90006860007
29969183A91528   FRANCISCO     ALVIDREZ                    TX     75087091830
299693A2372B84   BEVOLIN       ROBINSON                    CO     90010533023
2996992289136B   ASHLEY        OLDFIELD                    KS     90002279228
2996B136291522   RAUL          ADDEMAN JR                  TX     90013151362
2996B14299155B   GABRIEL       DELACRUZ                    TX     90015131429
2996B14839189B   CADY          RITTETOE                    OK     90015241483
2996B576755957   BRITTNEY      THOMPSON                    CA     90007405767
2997219A491828   MARTHA        MARES                       OK     90012561904
29972678772B42   STEVE         SCHNARR                     CO     33069796787
2997278217B33B   RAHIMA        SAFI                        VA     90009307821
29973811472B84   RAMIRO        SANCHEZ                     CO     90011718114
2997434464B245   KEYSHA        CORTES                      NE     90013773446
29974A6384B588   DAISY         MENESES                     OK     90014680638
29974A6447B449   MARIO         GRANDE                      NC     90012020644
29975983A91828   DEMYA         WILKERSON                   OK     90002609830
2997653834B588   ALBERTO       SOLANO                      OK     90014025383
2997717A99155B   ERICKA        GUERECA                     TX     90011221709
29977262172B42   ANA           MARTINEZ                    CO     90010012621
2997829A491828   FELICIA       MATHENEY                    OK     21011752904
2997834355B161   JOSE          SANTOS                      AR     90004693435
29978892687B87   MICHEAL       SCOTT                       AR     90006738926
2997B984231433   JOHN          TAYLOR                      MO     90004459842
29981951487B87   COURTNEY      OTIS                        AR     90013949514
29981A4825B271   LATONDRA      HUFFMAN                     KY     90013120482
29981AA913B347   EDUARDO       ESCOTO MONCIVAIS            CO     33021120091
299827A649184B   CHRISTOPHER   DAVIS                       OK     90011137064
2998288487B449   ROSE          WALKER                      NC     90006518848
29985A8A291592   ROBERTO       RODIGUEZ                    TX     90005300802
29986373A51336   DERRICK       DAVIS                       OH     90014773730
2998686214B245   JALISA        WILLIAMS                    NE     90012308621
2998796249184B   RAMONA        CHEZEM                      OK     90012989624
29987A62972B42   RENEE         STAPLETON                   CO     90012870629
29987A7635B271   JESSICA       DAVIS                       KY     90011000763
2998838274B261   JULIA         BREKEL                      NE     27068373827
29988A2669155B   RICHARD       PONCE                       TX     75088380266
2998935165B271   JUSTIN        CHRISTMAN                   KY     90015323516
29989414387B87   GABRIELLE     WHITMORE                    AR     90011014143
2998B27617B386   JENNIFER      GREENFELD                   VA     81035792761
2999141A44B25B   THOMAS J      YABLONSKI                   NE     27074264104
2999156A491522   SEAN          GRAY                        TX     75070345604
29994161272B42   VERONICA      OROZCO                      CO     33010421612
29994588A72B29   MAYRA         BALTAZAR                    CO     33074295880
299947A494B588   SKYLER        HENDERSON                   OK     90012387049
2999482227B449   CECELIA       DONYEN                      NC     90002708222
29994A2375B271   LATRECE       WARE                        KY     90013980237
29995137A72B38   LAURA         LAMB                        CO     90006161370
2999558774B281   LUCIO         GUZMAN                      NE     27061305877
2999568539184B   YOLANDA       GALLEGOS                    OK     90010826853
2999673687B471   LYNETTE       DIXON                       NC     11047237368
2999698A15B571   BRENDA        BLANDO                      NM     35050519801
2999719A931433   DEBRA         WOLFF                       MO     90010021909
2999855A372B42   TAMMY         BELLAMY                     CO     90012125503
29998A4129155B   LINDA         ESTRADA                     TX     75050600412
299992A9191522   ANITA         ALVARADO                    TX     90007372091
2999951339184B   VALERIE       JAMES                       OK     90014215133
29999A6664B588   ANDREA        PALOMO                      OK     90014520666
2999B62862B265   KEVIN         CURTIS                      DC     90012016286
2999B75114B245   LYNNETTE      SANDERS                     NE     27066827511
2999B892655957   PAULINE       RISENHOOVER                 CA     90007738926
2999BAA689189B   NICK          WASHINGTON                  OK     90005310068
299B1126487B87   DOROTHEA      WILLIAMS                    AR     23088461264
299B142339184B   ALTHEA        COMPHER                     OK     90014214233
299B155384B551   GREG          WENGER                      OK     21591495538
299B1814891528   SINDIA        TORRES                      TX     75081388148
299B28A715B271   KIM           YONS                        KY     90011088071
299B297975B271   DEANTE        CUMINGHAM                   KY     90013269797
299B2A26255957   MALAYKHAM     VONGMANY                    CA     48088020262
299B51A7151336   JACINTO       CHAVEZ                      OH     90012211071
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299B5582891522   ESMERALDA    CONTRERAS                    TX     75037525828
299B591327B471   KENNEDI      TERRELL                      NC     90004539132
299B5997281633   JULIO        MARTINEZ                     MO     90005119972
299B662935B161   CLIFTON      CHARLES                      OK     90011206293
299B7154A7B449   SHENA        OSBORNE                      NC     90002031540
299B7258955957   VICTOR       GARCIA                       CA     90000872589
299B765A391592   JASON        GONZALEZ                     TX     90004166503
299B7674731631   LEONARD      BAILEY JR                    KS     90012796747
299B844357B449   DAGOBERIO    BANEGAS                      NC     90013924435
299B949124B588   JOHN         YOUNG                        OK     90005104912
299B9897787B87   BRIAN        SHANNON                      AR     90002468977
299BB34915B271   MONTESEA     MANNING                      KY     90009163491
299BB55164B588   YALONA       KING                         OK     90014015516
29B11868772B42   HANNAH       SUH                          CO     90012848687
29B11A6695B271   CHRISTINA    RHODES                       KY     90015320669
29B12667972B84   MIRNA        CALVA                        CO     90009636679
29B128A245B161   KIARA        MARSHAEL                     AR     90001088024
29B131A9591522   FRANCISCO    CHAVEZ                       TX     75079201095
29B13651491953   WAN          PUIH                         NC     17014626514
29B13883584364   TERRENCE     DICKSON                      SC     90011288835
29B13892472B42   NICOLE       CAMPBELL                     CO     33032748924
29B1418A39189B   DONNA        PLATT                        OK     90015051803
29B14836331453   EUGENE       CUFF                         MO     27544578363
29B15177191528   SONIA        GONZALEZ                     TX     90005781771
29B15459351336   CHERYL       ACKERMANN                    OH     90005764593
29B15492A72B42   JOSE         NUNEZ                        CO     90012904920
29B1565774B261   VEVE         ADANILENTE                   NE     27059396577
29B15A18772B84   MARIAH       CASILLAS                     CO     90008490187
29B16564491522   MARIE        ORRICK                       TX     90014935644
29B169A5555957   MATT         JOHNSON                      CA     90012289055
29B16A52831631   TRACY        WILLIAMS                     KS     90014300528
29B17139A7B449   DORA         PINA                         NC     90013961390
29B17177191528   SONIA        GONZALEZ                     TX     90005781771
29B17188131631   JOHN         BIAGINI                      KS     22081411881
29B1771A991828   VICTOR       TORRES                       OK     90010507109
29B17988531448   JA'NET       MORGAN                       MO     27539849885
29B18116191241   PATRICK      MIKELL                       GA     14571521161
29B1822617B449   KENDRA       DIXON                        NC     90001642261
29B18495485949   NAKIESHA     TAYLOR                       KY     90015214954
29B1869A491953   ALBERTO      SANTOS                       NC     17081426904
29B18968491828   TAY          BREWER                       OK     90013399684
29B18A9295B356   MORGEN       STAR-BUHLER                  OR     90002240929
29B1924949184B   MITCHELL     BOWEN                        OK     21038682494
29B1978424B588   BRIAN        HALE                         OK     90011557842
29B19A4177B449   BETTY        SIMPSON                      NC     90014610417
29B1B17119189B   MONIQUE      MOORE                        OK     90015051711
29B21491191522   CLEO         SAIZ                         TX     90013104911
29B2157315B161   KAMILANA     GAITHER                      AR     90012785731
29B21582651336   TRISHA       WILSON                       OH     66039525826
29B22168691953   STEPHEN      BELL                         NC     90012051686
29B2236899155B   ELIA         TRUJILLO                     TX     90015033689
29B22776991592   ERNESTO      CHAVIRA                      TX     90011577769
29B22A1454B588   XAVIER       GRAVES                       OK     90013790145
29B22A3947B449   ERICA        BURDINES                     NC     90014300394
29B2335499155B   EMA          ARMENTA                      TX     90006103549
29B23517751336   CHASIE       ROBINSON                     OH     90012885177
29B2373544B245   JANICE       BAUMGARTNER                  NE     27036137354
29B23826291522   RUDY         M                            TX     90009528262
29B2398AA61995   SLOANE       GRAFT                        CA     46016989800
29B23A9269184B   YOLI         PAREDES                      OK     90006150926
29B2486444B245   DYCHELLE     GRIFFY                       NE     90013568644
29B2557315B161   KAMILANA     GAITHER                      AR     90012785731
29B25A43155957   CHERRI       WOOMMAVOVAH                  CA     48006420431
29B25A4984B245   LISA         SKINNER                      NE     27071800498
29B2673395B571   RICKY        JIMENEZ                      NM     90010207339
29B26AA9A7B449   HLAT         ROMAH                        NC     90011940090
29B275A8A4B245   DAVID        JAIMES                       IA     27072555080
29B27725781633   RICKIE       MOORE                        MO     90015187257
29B27948781633   BALTAZAR     CALDERON                     MO     90010389487
29B28259391828   FLEETA       DAVIS                        OK     90009342593
29B2831584B588   MARK         WADZECK                      OK     90003753158
29B28575851328   HAROLD       SOUTHARD JR                  OH     66013675758
29B2863219189B   VET          EZELL                        OK     21029256321
29B29694651336   KERRIE       HANEY                        OH     90013316946
29B2B174587B87   MIGUEL       SANTOS                       AR     90014861745
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29B2B46565B161   MARLON       RAGLIN                       AR     90014794656
29B2B52235B268   BRENDA       CRAIG                        KY     90007395223
29B2B676672B42   EMMA         LIMAS                        CO     33015656766
29B2B925655957   GREGORIO     SANTIAGO                     CA     90001319256
29B2BA9467B449   FRED         MOORE                        NC     90012860946
29B311A655B571   DESIREE      CHAVEZ                       NM     90007861065
29B31284231453   KALEB        BENARD                       MO     90015252842
29B3196244B588   LAKESHA      JACKSON                      OK     90013329624
29B31A99A71925   TIMOTHY      GARBISO                      CO     90006170990
29B3218953B333   BABARA       HANCOCK                      CO     90005111895
29B3235A431453   ROBERT       WEBB                         MO     90014443504
29B32554591592   DANIELLA     VALENZUELA                   TX     90007935545
29B32566651336   MOHAMMED     ALI                          OH     90012655666
29B33928581633   SUSAN        SOTTORIVA                    MO     90001439285
29B33AAA57B449   JENNIFER     VICKS                        NC     90013930005
29B34317387B87   CANDICE      HENDERSON                    AR     90015113173
29B34362151351   JENNIFER     RUTH                         OH     90006453621
29B34524285875   ANDRES       SUAREZ                       CA     90012725242
29B34555891828   SAHER        ANWAR                        OK     90015015558
29B34823A91592   OMAR         MALDONADO                    TX     90015138230
29B3521A385822   MARITZA      PEREZ                        CA     90011962103
29B35478631631   DOUGLAS      MEYER                        KS     22092464786
29B3548A691953   ROBERTO      TORRES                       NC     17091294806
29B35495157128   JUAN         JIMENES                      VA     81025454951
29B354A1761921   ADELINE      JOHNSON                      CA     46086324017
29B3616157B449   DENISE       GRANT                        NC     11050721615
29B36663487B87   CATHY        RICHARDSON                   AR     23020116634
29B36682572B84   LANA CORIE   MEDINA                       CO     90002016825
29B37673651336   VIRGINIA     KEMPLIN                      OH     90006356736
29B38227391592   VERONICA     BUSTAMANTE                   TX     90010812273
29B3833719184B   LEOBARDO     DIMAS                        OK     90012363371
29B3839234B281   LESLY        FLORES                       NE     90010113923
29B3844855B271   HATTIE       SMITH                        KY     90014134485
29B384A225B161   EBONI        JONES                        AR     90014154022
29B384A719155B   FLOR         PRIETO                       TX     75043394071
29B38745672B84   MANUEL       AGUAYO                       CO     33002487456
29B38869831453   MARCUS       WOODSON                      MO     90013898698
29B39128287B87   JACQUELYN    MCBRIDE                      AR     23009461282
29B3942994B261   CHARLEY      JACKSON                      NE     90012754299
29B39516972B42   BYRON        SOTOS CAMPOS                 CO     90009005169
29B39631751328   ROY          DEATON                       OH     90014866317
29B3972939189B   CHRISTELLA   EDWARDS                      OK     90003277293
29B39A28455957   MELISSA      GONZALEZ                     CA     48052910284
29B3B15294B588   EDITH        HUMBERT                      OK     90014421529
29B3B1A1291522   LUIS         MARQUEZ                      TX     75087691012
29B3B956551331   JAMES        SHIRK                        OH     90013449565
29B41189731453   TAHWANA      PITTMAN                      MO     90009811897
29B41279A5B161   BRIAN        BROOKS                       AR     23017702790
29B41528955957   JESUS        CORTEZ                       CA     48052975289
29B416AA69155B   CORONADO     RITA CORONADO                TX     90005016006
29B4192575B271   VICTORIA     CARTER                       KY     90013579257
29B4212855B271   TYANN        NEBLETT                      KY     90014581285
29B4215734B261   MARIO        MORENO                       NE     90010911573
29B4229389184B   DILLON       KING                         OK     90011982938
29B4255A55B161   ARQUIS       JONES                        AR     90014795505
29B4287664B281   AMY          QUEEN                        NE     27051268766
29B42887691522   ANGEL        RIVERA                       TX     90013548876
29B429A799189B   ROBERTO      GONZALEZ                     OK     21062559079
29B431A3672B42   MARIA        CALZADA                      CO     90013691036
29B43749631277   BOYE         JEFF                         CA     20569137496
29B43972891522   MICHELLE     MADRID                       TX     75005029728
29B4448869184B   RAQUEL       LANE                         OK     90011074886
29B44676891828   JOE          MCNABB                       OK     21042576768
29B4478468B837   SAMSON       TANELE                       HI     90014377846
29B44A88481633   CHERYL       LUCKENBAUGH                  MO     90010880884
29B4543469189B   SUSAN        TALLEY                       OK     90003274346
29B4553514B281   TIMOTEO      FIGUEROA LUCAS               NE     90008075351
29B455A179184B   JOSE         MARTINEZ                     OK     90011075017
29B45685485955   JANICE       DURRAH                       KY     90006426854
29B457A5191592   YANET        RAMIREZ                      TX     90012927051
29B45969781633   ALFRED       WILLIAMS                     MO     90012719697
29B45A22751336   MATHEW       TRACE                        OH     90011900227
29B46762855977   YVONNE       LUNA                         CA     90005797628
29B46929172B42   IVONNE       COBOS                        CO     90011469291
29B469AA14B261   RUBEN        PALOS                        NE     90012999001
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29B4724249189B   KARLY        MCDOWELL                     OK     90015052424
29B48199572B84   FERNANDO     FLORES                       CO     90007121995
29B48276887B87   DESMOND      JENKINS                      AR     23050092768
29B4846544B588   SHAWN        ALEXANDER                    OK     90013894654
29B4949639189B   DAWN         HELTON                       OK     21087674963
29B4991599184B   KELLY        DON                          OK     90012269159
29B4B737A4B588   JENNIFER     WOOTEN                       OK     90006077370
29B5128114B588   MIRTA        GRAMAJO DE LEON              OK     21519692811
29B51A1879184B   TAMARA       KITTRELL                     OK     90014200187
29B51A53972B84   GLORIA       DELACRUZ                     CO     90002840539
29B51A6AA85822   GREG         LARSON                       CA     90001120600
29B5216814B261   DEJANIERA    RUCKER                       NE     27072281681
29B5279A74B543   BOBBIE       ANDERSON                     OK     90014407907
29B52891191953   FIDEL        RUIZ-SILVIA                  NC     90012628911
29B53229A72B42   ESPERANZA    SANTILLON                    CO     90011202290
29B5328597B449   SCOTT        SMITH                        NC     90013922859
29B535A6A72B84   JULIO        DE LA ROSA                   CO     90011715060
29B536A9785822   CLINTON      GERSTENSLAGER                CA     46090346097
29B5433A24B281   DEBARA       KREEGER                      NE     27037043302
29B54441791528   CARMEN       SANCHEZ                      TX     75094574417
29B5447479189B   JULIO        ALVARADO                     OK     21009984747
29B5516325B571   DIANA        TORRES                       NM     90014251632
29B5525374B588   CHRISTINE    GRAYSON                      OK     90011192537
29B5526125B36B   SAMANTHA     HOBBINS                      OR     90010802612
29B55962451336   CLAUDETTE    HOWARD                       OH     90013139624
29B55A1A35B271   TIM          CLARK                        KY     90010350103
29B56186385822   IRENE        LANCASTER                    CA     90008341863
29B56252776B53   JAMES        LEUTH                        CA     90009572527
29B5639736B134   NORMAN       ARRINGTON                    MS     90014593973
29B56523751336   CANDUS       WILLENBRINK                  OH     90013045237
29B5666279155B   ALFREDO      REYES                        TX     90012726627
29B5729A44B281   SARA         SPINDLER                     NE     90004372904
29B57415831631   AMAL         MEKAEIL                      KS     90003824158
29B57485955957   JANET        ALAPISCO                     CA     90013984859
29B58598391528   MAYRA        NEVAREZ                      TX     75094055983
29B5873519155B   MARIA        FERNANDEZ                    TX     90009807351
29B591A6172B42   SONYA        ORONA                        CO     90013881061
29B59474391522   DINA         CASTRO                       TX     75090014743
29B59542455957   BRENDA       MORALES                      CA     48071495424
29B59598391528   MAYRA        NEVAREZ                      TX     75094055983
29B5987A24B245   SARA         ORTEGA                       NE     27060408702
29B5B22577B449   GUADALUPE    CORTEZ                       NC     90013422257
29B5B262A7B449   NIKIA        THAMES                       NC     11096442620
29B5B422355944   MARIA        CORIA                        CA     90014974223
29B5B618451328   JAIME        GREEN                        OH     90013266184
29B5B846781633   SHANTALLE    STEELE                       MO     90007558467
29B5B862491592   JOANNA       LOPEZ                        TX     75091798624
29B5B94787B386   JOSE         A. GUERRA JR                 VA     81091019478
29B612A6691828   RICHARD      STEINER                      OK     90014522066
29B614AA551328   TRACI        RISNER                       OH     66066914005
29B6166AA9155B   TERRY        FERNANDEZ                    TX     75018816600
29B6226895B571   MOJGAN       SAADWAND                     NM     90001322689
29B6243A931453   RYAN         YOUNG                        MO     90013624309
29B62645254185   MARINA       CARRION                      OR     90006186452
29B6297A555957   JESUS        ACOSTA                       CA     90002639705
29B63682381633   ALICE        HUMPHREY                     MO     29001096823
29B6391465B135   PEGGY        NELSON                       AR     90006079146
29B6441385B271   WILLIE       MCKINNION                    KY     90003744138
29B6453695752B   ERIC         GARZA                        NM     90005375369
29B65574672B42   KARLA        RIVERA                       CO     33050325746
29B66995A84364   JESSE        HALFHILL                     SC     19043699950
29B6714517B449   RAUL         HERRERA                      NC     90011451451
29B67333287B87   DEN          CLOUTIER                     AR     90015113332
29B67334585822   MIKERU       TSUNODA                      CA     90008343345
29B6815884B245   CHRIS        OCONNOR                      NE     27016091588
29B6859AA4B588   TAYLOR       KRETCHMAR                    OK     21501315900
29B68777661995   SANTOS       VARGAS                       CA     90007857776
29B68845231453   SUNSHINE     RAYN                         MO     90003938452
29B695A9872B42   MARIA        PEREZ                        CO     90008355098
29B69A43972B21   GRISCELA     MARQUEZ                      CO     90001670439
29B6B22147B471   ANNETTE      RATCHFORD                    NC     11003932214
29B6B3A2672B84   MATTHEW      DESIMONE                     CO     90012743026
29B6B674472B42   LEANNE       CARRENDER                    CO     33051176744
29B72285931453   CRYSTAL      BROOKS                       MO     90012402859
29B72575191953   AGUSTIN      CISNEROS-GONZALEZ            NC     90011475751
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29B73689291592   ERIKA           AVINA                     TX     75084376892
29B73754685822   MANUEL          DIAZ                      CA     90004187546
29B73813A9155B   CHRIS ALBERTO   GARAY                     TX     90012178130
29B7384835B571   GYPSY           PURCELLA                  NM     90014718483
29B73AAA655957   ADRIAN          PONCE                     CA     90013970006
29B7422825B271   ALBERTA         PEREZ                     KY     68013092282
29B7429249189B   CHRISTY         BEESLEY                   OK     90015052924
29B74826791522   JUAN            PEREZ                     NM     75093838267
29B7529249189B   CHRISTY         BEESLEY                   OK     90015052924
29B75294791241   TROI            KHAN                      GA     90003932947
29B76524187B87   CARNISHA        LEE                       AR     23054705241
29B76562351336   JOSUE           PABLO                     OH     90012445623
29B7674429155B   ROBERTO         GOMEZ                     TX     90014557442
29B76997891828   MICHAEL         RECORD                    OK     90014379978
29B76A7675B571   DOLORES         VALLEJOS                  NM     90012920767
29B7721285B257   APRIL           BROCK                     KY     90010452128
29B7726284B588   LEANDRA         PRICE                     OK     90014712628
29B77335891528   GRACIELA        VENEGAS                   TX     75094063358
29B77A4563B333   NORMA           CABRERA                   CO     90011490456
29B7859879184B   PEYTON          MASON                     OK     90011075987
29B78691184364   GUADALUPE       MACUIXTLE                 SC     19005396911
29B7878425B271   CIERRIA         FARMER                    KY     68077237842
29B7899769189B   STEPHANIE       POWELL                    OK     90013029976
29B79155372B84   JESUS           FAVELA                    CO     33097161553
29B7941A451336   TREVOR          ROBINSON                  OH     90015584104
29B79633685822   SOFIVA          POPAL                     CA     90006246336
29B79796187B87   BRANDON         WRIGHT                    AR     90014957961
29B7B55262B645   SCOTT           HALFHILL                  WA     90015275526
29B7B581A7B471   MANGUILA        SANCHEZ                   SC     90001855810
29B7B896151336   BELINDA         WASHINGTON                OH     66075068961
29B7B8A8131433   HARRIET         WILKS                     MO     27573668081
29B7B939191241   ARNITRA         STILES                    GA     14590359391
29B815A244B261   EVA             QUINTANIA                 NE     90013935024
29B8192444B261   LISA            HALL                      NE     90004029244
29B8232A45B341   MISTY           UNDERWOOD                 OR     44588603204
29B82848191828   KESELAR         MITCHELL                  OK     21020228481
29B83313691953   LEAH            NEWKIRK                   NC     90013963136
29B8343615B271   SHANNON         RAMSEY                    KY     90014234361
29B8361A92B242   DOUGLAS         CARTER                    DC     90002836109
29B83A87A51328   ALI             SHAH                      OH     90015290870
29B84147791828   RANDALL         LIGGINS                   OK     90011371477
29B84734381633   ROBERTA         BARR                      MO     90001277343
29B851A729184B   JAMES           EDWARDS                   OK     90006551072
29B85416972B84   JOSE            GALVAN                    CO     33056974169
29B8614325B161   DENOTRA         SPEED                     AR     90008111432
29B86539191592   VICTOR          LUNA                      TX     90013365391
29B867A5A9155B   BRYAN           ANDRADE                   TX     90011217050
29B86862481633   BOBBIE          SILLER                    MO     90009498624
29B868A877B699   JASMINE         TAYLOR                    GA     90008788087
29B873A959189B   VIRGIL          DAVIS                     OK     90015053095
29B8784969184B   SHREETA         BUYCKES                   OK     21008178496
29B87899291828   JUSTIN          BROWN                     OK     90010508992
29B878A6151336   MARK            HESS                      OH     66089248061
29B8831A39184B   DAMEYAN         LYONS                     OK     90012793103
29B88A64155957   GLORIA          DONEZ                     CA     48047590641
29B8971A64B588   JOSE            ONREAL                    OK     90013497106
29B8B175255957   TAMMY           GARRISON                  CA     90015121752
29B8B2AA887B87   NAKITA          MCLEMORE                  AR     23007272008
29B8B58A251328   ERICK M         BUMGARDNER                OH     90012695802
29B8B6A4876B62   NOEMI           RODRIGUEZ                 CA     90006656048
29B8B89615B271   VICKIE          RUSHING                   KY     90007158961
29B8B91619155B   ELENA           GUILLEN                   TX     75086979161
29B91274491522   ROSA            MELENDEZ                  NM     90007342744
29B91493391592   IRMA            CHAVARRIA                 TX     90002414933
29B91899831453   MISTI           COTTON                    MO     90014398998
29B9195AA5B375   ROBERT          FENNELL                   OR     90008749500
29B91A31831631   JOHN            OSLER                     KS     22086610318
29B92487881633   DAVID           SHULL                     MO     29037674878
29B9276865B271   JOE             WELLS                     KY     90011087686
29B92971131442   TAMI            GENTRY                    MO     90000909711
29B93366955957   SHANELL         HARRISON                  CA     90011993669
29B93445681633   GINA            HULSEY                    MO     90011944456
29B9356942B229   JESUS           SEGURA                    VA     90007395694
29B9414419155B   ROSA            CARRERA                   TX     75036861441
29B9424959184B   MICHAEL         ANTWINE                   OK     90014712495
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29B9444755B571   ARMENDARIZ   THOMAS                       NM     90008184475
29B94789491592   NORMA        QUINATANA                    TX     75032737894
29B94883491953   CHREL        MOORE                        NC     90010988834
29B95254291522   ISELA        GOMEZ                        TX     90014472542
29B95322981633   CHARLES      SCOTT                        MO     90015153229
29B954A795B571   JOEL         FERNANDEZ                    NM     90004764079
29B95829291522   NOE          MENDOZA                      TX     75001898292
29B9586479155B   IRMA         CEBALLOS                     TX     75013818647
29B95A85591B38   JASON        HITCHCOCK-SIVAK              NC     90013790855
29B96416191828   SID          HADNOTT                      OK     21042554161
29B9645145B571   JOSHUA       HALLADAY                     NM     90008184514
29B9681487B449   TINA         JARRETT                      NC     90013918148
29B97295A9155B   ERICA        GRANADOS                     TX     90013412950
29B973A8791241   RENEE        PLUMMER                      GA     90009543087
29B9749457B449   ALTAVIA      BLAKENEY                     NC     11015114945
29B974A298B136   MIKKEL       ROSS                         UT     90000964029
29B97689597B41   ROBERTA      DINKEL                       CO     39014886895
29B98163A91828   MAYA         STEVENS                      OK     90013281630
29B98273372B42   JULIO        CARRILLO                     CO     90014942733
29B982A8A51336   ROGISTINE    WARD                         OH     90011872080
29B99A68551336   MELLISA      FLOYD                        OH     90010010685
29B9B126951328   ANTHONY      AMAND                        OH     90012161269
29B9B48A251336   STEVE        SMITH                        OH     90012174802
29B9B73869184B   CANDICE      COLBERT                      OK     90014917386
29BB152A391592   ALEJANDRA    HERNANDEZ                    TX     90007935203
29BB158224B588   ISRAEL       RUIZ                         OK     90001375822
29BB246889155B   IGNACIO      MUNIZ                        TX     90014244688
29BB295135B161   TOMMY        PUCKETT                      AR     90008469513
29BB316769184B   SHANTELL     MARCETTE                     OK     90004971676
29BB31A2791592   JESUS        CORRAL                       TX     75051171027
29BB3293351336   JUAN         ROSALES                      OH     90009452933
29BB3747191522   GABRIEL      VIRGEN                       TX     90008357471
29BB3949187B87   JENNIFER     SMITH                        AR     23091449491
29BB4521472B42   JOSE         VALENCIA                     CO     90007825214
29BB5782955957   MIGUEL       AVILA                        CA     90012307829
29BB57A469184B   PAYGO        IVR ACTIVATION               OK     90014787046
29BB6124124B43   JOBEL        LOPEZ                        DC     81017531241
29BB6166381633   JESSICA      SLATES                       MO     90014631663
29BB627627B449   BESSY        MIRANDA                      NC     90013922762
29BB649285B271   BROOKE       FAVORS                       KY     90014824928
29BB664839155B   RAMON        AVILA                        TX     90010496483
29BB6863491828   ASHLEY       PATTOM                       OK     21086798634
29BB7572872B42   ANGELINA     FRAIRE                       CO     33092325728
29BB76A2951336   PATRICK      HARPEN                       OH     90010806029
29BB844325B161   REGINALD     WILLIAMSON                   AR     90014794432
29BB8715891828   RACHEL       YOUNG                        OK     90008587158
29BB879775B271   JENNIFER     REEVES                       KY     90015307977
29BB8856431453   ALEX         GUTIERREZ                    MO     90009938564
29BB8A14331485   YIN          HTUN                         MO     27595670143
29BB9133772B84   JAIME        ARMENTA                      CO     33050181337
29BB923525B271   AMANDA       ENGLAND                      KY     90011122352
29BB936514B588   DEANNA       JONES                        OK     21585513651
29BB945A54B281   DESIREE      BYRD                         NE     90008074505
29BBB99499189B   DAVID        DAVIS                        OK     90009859949
2B11117737B471   JARION       STRAITE                      NC     90013551773
2B111275771948   SHAMICA      GOOLSBY                      CO     90006252757
2B11137512B892   JOHN         BURTCHETT                    ID     90003013751
2B111697172B38   DEBORAH      EDWARDS                      CO     90000846971
2B111751691522   ROSA         RUVALCABA                    TX     90014397516
2B111883674B79   TENYSHA      VAUGHAN                      PA     90008838836
2B11199A655957   HARLEY       DAVIDSONS                    CA     90009519906
2B111A98251343   MONET        BANKS                        OH     90011260982
2B112189A84364   CELIA        TORRES                       SC     90013921890
2B112334172B98   KESUAN       PREVOT                       CO     90012113341
2B112344874B79   TYLER        KNOX                         PA     90013743448
2B112471A91592   JONATHAN     FLORES                       TX     90012474710
2B11247812B892   DEBI         RUHE                         ID     90010004781
2B112556831453   RICK         MILLER                       MO     90015305568
2B11279378B334   BRITTANY     FRAZIER                      SC     90014357937
2B11293624B588   ELVETTER     EALOM                        OK     90012229362
2B112965655957   AUDREYANNA   VAZQUEZ                      CA     90014359656
2B112A4A571948   AVENCIO      CARDENAS                     CO     90004170405
2B11317412B27B   AYANNA       FLOWERS                      DC     81053691741
2B1131A5651343   JAMES        MASON                        OH     90011261056
2B113329884364   CANDELARIO   LUNA MOLINA                  SC     90012693298
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2B113349942336   JENNIFER     CALHOON                      TN     90013563499
2B113669191828   JERMEA       VANN                         OK     90008826691
2B11382655B271   TONISHA      FIELDS                       KY     68011938265
2B11418544B261   ERIN         BROWN                        NE     90011971854
2B114187691522   NORA         SEVILLANO                    TX     90010331876
2B114236781637   DEVIN        HAWKER                       MO     90013542367
2B114935A74B79   NANCY        PUGLIESE                     PA     51005799350
2B11517814B245   JOE          PIRSON                       NE     27000921781
2B11531467B449   CAROL        STEELE                       NC     11060993146
2B115668555941   TINA         HERNANDEZ                    CA     90006976685
2B115673557157   ISAIAH       KANNAMORE                    VA     90013566735
2B115A6174B588   SANDRA       HAYS                         OK     90010430617
2B11613A14B588   DONNA        GRAHAM                       OK     90004951301
2B11619592B892   SARAI JEAN   PETERSON                     ID     90012001959
2B116359885965   JOHN         DOE                          OH     90003623598
2B11637A58B334   KEITH        TAYLOR                       NC     90013213705
2B1163A1785965   JODI         FUHRMAN                      KY     90013553017
2B116625584364   OLIVIA       WASHINGTON                   SC     90001286255
2B116753971948   MARVIN       GAITHER                      CO     90014177539
2B1172A6393773   CANDY        JOHNSON                      OH     64554572063
2B117513351343   KRISSHON     MARTIN                       OH     66040305133
2B11758774B281   LUCIO        GUZMAN                       NE     27061305877
2B1178A9185938   MARILYN      LAKES                        KY     90008958091
2B11837A78B17B   GRANT        ANDERSON                     UT     31013943707
2B1183A8291251   DEANNA       MORENO                       GA     90001913082
2B118533591828   CECIL        CREAMER                      OK     90004145335
2B118634191541   BERNALL      RICARDO                      TX     90003676341
2B118672287B21   AMBER        NUNN                         AR     90014226722
2B118A54481446   LINDSAY      HANSEN                       PA     90013870544
2B119437631631   ASHLEY       JACKSON                      KS     90010784376
2B11989274B28B   KERRY        GARTNER                      NE     90010718927
2B11993877B471   ALBERTO      SALGADO                      NC     11046099387
2B119A43361967   SUMMER       PASHBY                       CA     90002590433
2B119A67274B79   GUY          THOMAS                       OH     90013950672
2B11B14272B232   GENI         RUIZ                         VA     90003141427
2B11B21822B839   JASON        PLUGER                       ID     90014782182
2B11B43A274B79   NANCY        HARNER                       OH     90014214302
2B11B485257157   PEDRO        ALVAREZ                      VA     81021734852
2B11B732172B98   JOSE         DEL TORO                     CO     33012567321
2B11B77484B245   ARVIE        COLLINS                      NE     90005317748
2B11B983351343   HOZAY        CLOROS                       OH     90008099833
2B121222172421   KRISTINA     KELLER                       PA     90013382221
2B121377391828   REBECCA      MERRITT                      OK     90013003773
2B12148225B271   JENNIFER     WINDELL                      KY     90013264822
2B121549191522   STEPHANIE    REYES                        TX     90010635491
2B1215AA75B167   CAMERON      MCGEE                        AR     90014375007
2B121957455957   PRISCILA     BUITIMEA                     CA     90012419574
2B1219A1291241   DUSTIN       DOWNARD                      GA     90013129012
2B122189984364   JEOVANI      GONZALEZ                     SC     90003971899
2B12224852B839   KERRY        RENARD                       ID     90013942485
2B12241A49189B   RACHELL      DOWNS                        OK     90014344104
2B122544472421   LAYLA        FRANCO                       PA     90005345444
2B122569155941   RICHARD      HILL                         CA     49068205691
2B12275863147B   CLOTEL       MEANS                        MO     90011417586
2B122963A5B161   MARY         LYONS                        AR     23023569630
2B12319888B334   SGAYLA       WILLIAMS                     NC     90011091988
2B123525985965   LOREN        SHOEMAKER                    KY     66081245259
2B12395567B449   REYNO        LEOCADIO                     NC     11013719556
2B1239AA985938   LUIS         ANDRADE                      KY     90014109009
2B12456A485938   MICHELLE     LOGAN                        KY     90015455604
2B12535A387B59   MARCIE       MARTIN                       AR     90010613503
2B12589415B271   ROSS         LAZROVITCH                   KY     90013368941
2B12592215B161   BRENDA       OWENS                        AR     23097449221
2B125A32493742   RHONDA       ANDERSON                     OH     64513440324
2B12633435B271   MARK         GARBER                       KY     90010593343
2B126464272B98   DONALD       HARVEY                       CO     33039934642
2B1264A2291541   BIANCA       LOZANO                       TX     90013284022
2B12662565B171   CANDACE      MAYS                         AR     90004646256
2B12671782B839   CATHERINE    KENT                         ID     90014627178
2B126A9657B471   ESMERALDA    ZRUZ                         NC     90009480965
2B127246581637   JANUARY      SCOTT                        KS     90014272465
2B12752645B161   BOBBY        PARKER                       AR     23080325264
2B12758564B281   DAMARIS      RODRIGUEZ                    NE     90013025856
2B127644685988   COURTNEY     SCOTT                        KY     90015516446
2B12767899189B   CHRIS        ANDERSON                     OK     90014666789
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2B127694951343   JULIAN        ROBINSON                    OH     90013306949
2B1277A9A71948   TONY          CISNEROS                    CO     32011417090
2B12787249794B   BELINDA       THOMAS                      TX     90007378724
2B1281A777B699   LAKEISHA      MILES                       AL     15008771077
2B12825AA91592   MARIA         RAMOS                       TX     75013392500
2B128416884364   LATAYA        CARTER                      SC     90014444168
2B129211591592   GLORIA        MARCO                       TX     90010502115
2B12925A72B839   RICK          FOX                         ID     42095412507
2B12966339794B   JUAN          GONZALES                    TX     74088616633
2B12B144391522   ROSA          CARRASCO                    TX     75096651443
2B12B52717B471   CARLOS        ORTIZ                       NC     90013115271
2B12B65749189B   ANNA          DARR                        OK     90012646574
2B12B69258B334   JESSICA       PLESSNER                    NC     11069676925
2B12B863155957   ISSAC         KLOSTER                     CA     90012278631
2B12B999681661   NORMA         RENTERIA                    KS     90010179996
2B1315A477B449   LINDA         STONE                       NC     11006335047
2B131741531453   SIERRA        WALKER                      MO     90013127415
2B13193A684364   ANTWAN        BROWN                       SC     90014599306
2B13244768B334   ALEXIS        MILLER                      NC     90014674476
2B13248695B167   ALEX          ARNOVICH                    AR     90013354869
2B13249425715B   CALDERON      TOSATADO                    VA     90004594942
2B132749972421   LACSEY        MOWRY                       PA     90013047499
2B132A89891541   ALEXIS        CASTEAL                     TX     90013760898
2B13316595B167   ERNESTO       VELASCO                     AR     90014591659
2B13324714B281   YOLANDA       YATES                       NE     90012522471
2B13325562B839   CHRIS         BLETHEN                     ID     90013942556
2B133458447952   WENDY         ROGERS                      AR     24029234584
2B133856251343   ARRICK        COLEMAN                     OH     90014108562
2B133A2A38B17B   TYLER         TRUJILLO                    UT     90011760203
2B134749972421   LACSEY        MOWRY                       PA     90013047499
2B1347A2455957   ALFRED        TAMALLO                     CA     90009767024
2B1347A5A31453   SHAWN         EDWARDS                     MO     27511727050
2B134821147952   LARISSA       FLANAGAN                    AR     90006768211
2B134895857157   TAESHON       AGEE                        VA     90014718958
2B134A33385988   CHANDA        VASQUEZ                     KY     90007480333
2B135222A4B281   BRAD          WRIGHT                      NE     90015142220
2B135477A91592   ARMANDO       RUIZ                        TX     75000924770
2B135625A85988   ANNETT        BARCELLES                   KY     90015426250
2B135672281637   MANEIK        DOOLEY                      MO     90013236722
2B135A3725B167   ALANNA        NIGHSWONGER                 AR     90013460372
2B136148291522   PATRICIA      KENNEDY                     TX     90008091482
2B13629A551343   MICHAEL       LINDSLEY                    OH     90013652905
2B136552172B42   SHANTEL       QUINTANA                    CO     33087695521
2B13657A257157   FAUSTINO      PENA                        VA     90012505702
2B13659817B699   AKESHIA       WILLIS                      GA     15014695981
2B136612131433   HOWARD        HAYDEN                      MO     27509686121
2B136A51791528   GUADALUPE     ARRAS                       TX     75048290517
2B136AA598B334   PEDRO         LUNA MENDOZA                SC     90015300059
2B137378184364   AMY           RICHARDS                    SC     19040053781
2B137522391522   PIMENTAL      GRACIELA                    TX     90005715223
2B137689491541   ISHA          LOPEZ                       TX     90013656894
2B13768A455957   BLANCA        BRITO                       CA     90011476804
2B137721755936   FELIPE        VAZQUEZ                     CA     90002397217
2B13786693147B   JACKQUELINE   OWENS                       MO     90002278669
2B138263185938   RODRIGO       HERNANDEZ                   KY     90010912631
2B138284581661   NANCY         MORRIS                      MO     29067372845
2B13831642B94B   ALFREDO       QUINTERO                    CA     90012703164
2B138436151343   EMILY         DIXON                       OH     90013084361
2B138647591885   MICHAEL       DENNEY                      OK     90011116475
2B138A84455941   DANNY         MARTINEZ                    CA     90014850844
2B138A8639189B   DAVID         HAYES                       OK     90011220863
2B13914935B167   LORRIES       BARNETT                     AR     90011321493
2B13944464B245   MICHAELA      MURPHY                      NE     27027704446
2B1395A3172B98   PAUL          GRIESS                      CO     33046645031
2B13968174B281   KEVIN         HERNANDEZ                   IA     90014166817
2B139A9845715B   MILTON        CALLEJAS                    VA     90006540984
2B13B2A544B588   MARCO         VALDEZ                      OK     90008012054
2B13B63685B271   JENNA         KEELING                     KY     90015266368
2B13B83995715B   HART          WILLIAM                     VA     90011678399
2B13B918441245   KATHRYN       SIMS                        PA     51037669184
2B13B9A1957157   JOSE          MARQUEZ                     VA     90014419019
2B13B9A9372421   ASHLEY        GRIFFIN                     PA     90014559093
2B13BA4A991592   MONICA        LEMUS                       TX     90004950409
2B141228391541   ESMERALDA     MENDOZA                     TX     90009742283
2B14132A947952   BARBARA       MOORE                       AR     90013543209
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2B141521855941   SABRINA             OSUNA                 CA     90013195218
2B14171A99189B   VICTOR              TORRES                OK     90010507109
2B14179115B271   GABRIEL             VAZQUEZ               KY     90009047911
2B141988572421   JUSTIN              BARTLETT              PA     90013049885
2B14223A241365   TIFFANY             WINTERS               MA     90015352302
2B142262691522   DARRYL              BURFORD               TX     90011382626
2B14226368B17B   LEVI                COLLINS               UT     90007292636
2B142521487B21   TONNOR              FRAZIER               AR     90015395214
2B142699A7B449   SHONDA              STRAITE               NC     11052576990
2B142713884364   CHARLES             AHERN                 SC     90014897138
2B143184647952   JENNIFER            GRIFFIN               AR     90014041846
2B1432A7557157   JOCK                BROWN                 VA     81072512075
2B14368314B281   MIRIAM              GALIZ                 NE     90014166831
2B143853191541   ANA                 HERNANDEZ             TX     90012938531
2B144461671948   MICHAEL             ELLIS                 CO     90014164616
2B1444A9957157   ERIKA               IBANEZ                VA     90006364099
2B14474A19184B   DAJAUNNA            MOORE                 OK     21019027401
2B144759A5B167   PATRICK             NORRIS                AR     23088927590
2B14494594795B   FREEDOM             CASEBOLT              AR     25013089459
2B14526A184364   ALAN                BARNWELL              SC     90009172601
2B14541622B839   THERESA             GOIN                  ID     42088734162
2B14544142B264   DAMARIS             WARREN                DC     90011134414
2B14564159794B   AMANDA              FLOWERS               TX     90014666415
2B145661191592   RAMIRO              GONZALEZ              TX     75019026611
2B145A8322B229   FREDDIE L.          HALL JR.              DC     81017350832
2B14643822B892   JEFF                BENOIT                ID     90012694382
2B14664435B167   MICHELE             LIGHT                 AR     90014606443
2B146A29885988   PAYGO               IVR ACTIVATION        KY     90009630298
2B147141272421   KENNETH             HARRIS                PA     90014741412
2B147141972B42   DAVID               ANDERSON              CO     90014701419
2B147423872B42   REBEKAH             CARPENTER             CO     90008694238
2B147453372B98   AFEWORKI            TEKLE                 CO     90014184533
2B147467155957   LAURA               ASHLEY                CA     48084684671
2B147561487B59   AYLA                PERKINS               AR     23049985614
2B1475A3951343   ERICA               CAUTHEN               OH     90009895039
2B147885985938   CARLA               SMALL                 KY     90002528859
2B147A49685965   RUSSELL             VANCE                 KY     90013660496
2B14833154B588   LESIA               GINN                  OK     90012173315
2B148457A22971   SANTOS              JIMENEZ LOPEZ         GA     90015494570
2B148667891828   WILLIAM             HARRIS                OK     90001306678
2B148815441245   TRACEYLYNN          ALCANTERA             PA     51044538154
2B148915572B98   MARGARITA           CAMPOS                CO     33087119155
2B1491A9372B42   JENNIFER            ZIMMER                CO     33030831093
2B149258891828   CRYSTAL             GODWIN                OK     21081382588
2B1494A715B167   ROSALYND            GILBERT               AR     23013834071
2B1496A8691541   GRACIELA            GARCIA                TX     90004786086
2B14982514B245   COLLEEN M           HUG                   NE     27030138251
2B14B174457157   CHRISTINA           HUGHES                VA     90014711744
2B14B299424B55   IRENE               WILLIS                DC     90012272994
2B14B2A2387B87   BERRY               RICE JR.              AR     23065272023
2B14B44154B588   MICHAEL             WYATT                 OK     90012994415
2B14B451371948   JERY                VOGT                  CO     90014164513
2B14B451A57157   JOSE                SORTO                 VA     90010454510
2B14B48338B334   TONI                GLADDEN               SC     90014794833
2B14B787555957   RAUL                GONZALES              CA     90014787875
2B151235A8B17B   LUIS                GUTIERREZ             UT     31021212350
2B151389972421   DUSTIN              YOUHON                PA     90011243899
2B151613231631   CURTISS             HOWARD                KS     90013096132
2B151933985965   CRYSTAL             BRITTON               KY     90003289339
2B152143A5715B   MARYAN-RUNN AHMED   SHARIF-GURE           VA     90013751430
2B15225942B839   RICHINA             DAVIS                 ID     90013942594
2B15286765B571   JOSE                LOZANO                NM     90007168676
2B152A35972B98   CESAR               ORTIZ                 CO     90015140359
2B153349994954   GABRIELLE           TANCIK                CA     90015243499
2B153821157157   TORI                SHAW                  VA     90010818211
2B153929A5B167   ALANDA              CATES                 AR     90011059290
2B154139255941   GABRIEL             LOPEZ                 CA     90007861392
2B154197881637   SHARON              LINDSAY               MO     90014111978
2B15425525715B   IBETH MABEL         IRAHETA               VA     90015182552
2B154273885938   DERRICK             MILLER                KY     67007072738
2B15479458B334   ERNESTO             PEREZ                 NC     11053497945
2B154847572B98   ANNABELE            NUNEZ                 CO     33010178475
2B15513844B588   TIFFANY             CALDWELL              OK     90012741384
2B1553A2187B87   LATOYA              FOSTER                AR     90015263021
2B155536885938   CARMEN              HAFLEY                KY     90014715368
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2B155696187B21   TAMMIE        KEELING                     AR     90014016961
2B155AA1A41245   JOANNA        MOORE                       PA     90012720010
2B15643878B334   ONIQUA        CHISOLM                     NC     90013384387
2B15651149794B   JUAN          AGUIRRE                     TX     74053535114
2B156566A31631   JASON         PHILLIPS                    KS     90012225660
2B1565A5191522   ALEJANDRA     VELSAZCO                    TX     90002685051
2B156A5A551343   MARIANO       DELRIO                      OH     90011500505
2B157259A4B588   MONICA        DUDLEY                      OK     90014582590
2B157265591592   YESENIA       GARCIA                      TX     90014032655
2B15726614B281   JEFFREY       WILLIAMS                    NE     90006272661
2B157462372B98   BRUNO         CHAVEZ                      CO     90014184623
2B15833A687B87   BRITTANEY     DOOLITTLE                   AR     90015263306
2B15871689189B   MARILU        LAZALDE                     OK     90014667168
2B158A1985B531   GLORIA        LUCERO                      NM     35069190198
2B158A2279794B   CEFERINO      AGUILAR                     TX     74006020227
2B158A33385965   CARIE         BELL                        KY     90006830333
2B158A89A91241   JAMALL        GREEN                       GA     90014710890
2B15911AA4B281   ABEL          ALEXANDER                   NE     90006801100
2B159187581661   LANETTE       JACKSON                     MO     90011191875
2B159316191592   OSCAR         ORTEGA                      NM     75095533161
2B159492484364   LATISHA       SHARPE                      SC     90013314924
2B15971799189B   LATRYCE       BRUNSON                     OK     90014667179
2B15993195B271   RON           BARAS                       KY     90013849319
2B159949247952   HIRAM         MORAN                       AR     90015609492
2B15B26444B261   COLTON        BENSON                      IA     90013832644
2B15B567672421   MICHAEL       WISOILI                     PA     90014225676
2B15B698287B21   RENEE         INGRAM                      AR     90011186982
2B15B941685938   FRANCK        MOUITHYS                    KY     90007379416
2B15B944A87B87   AISHA         HENRY                       AR     23031479440
2B16126639189B   DALE          CULPEPPER                   OK     90010152663
2B161329971948   BYRON         HARDAWAY                    CO     90007423299
2B16136114B245   ANTHONY       TAMAYO                      IA     90002643611
2B161559791241   JOSE          NACHES                      GA     90015055597
2B161781A72B98   JESUS         RODRIGUES MUNEZ             CO     90001937810
2B16217659189B   GABRIELA      RODRIGUEZ                   OK     90011221765
2B162661891828   MICHEAL       ADKISM                      OK     90009386618
2B163212172B98   RODOLFO       CHACON                      CO     33096362121
2B163319285988   TAMATHA       WILLOUGHBY                  KY     90014163192
2B16357187B699   TAMISHIWA     KING                        GA     15083775718
2B1635A944B245   RICHARD       HENNINGS                    NE     90000295094
2B16369944B588   MICHAEL       CASTEEL                     OK     90002696994
2B163816A5B167   PAYGO         IVR ACTIVATION              AR     90012678160
2B163856671948   CHRISTOPHER   ROBERTSON                   CO     90014498566
2B163958187B87   RICHARD       WILLIAMS                    AR     23088519581
2B163991791528   VICTOR        AVILA                       TX     75092229917
2B16417879189B   SABRINA       ARAIZA                      OK     90011221787
2B1646AAA91528   SABINO        SALAS                       TX     75003916000
2B16488367B471   LESHAUNDRA    SHERROD                     NC     90013098836
2B16493912B892   ANGELIQUE     DAUENHAUER                  ID     90000299391
2B164974272B98   JEREMIAH      VAN HORN                    CO     90012699742
2B164A3375715B   ROSA A.       REVELO                      VA     81019430337
2B165139A72421   BRIAN         UPDEGRAFF                   PA     90008641390
2B165167585965   SHONA         SPENCE                      KY     90005661675
2B16518355B161   KRISHONDA     ROSS                        AR     90002791835
2B165616391592   MANNY         TERRAZAS                    TX     90012716163
2B165947647952   JUANA         JAIME                       AR     24090769476
2B166165A85965   FLORENCE      LANDRUM                     KY     66068071650
2B16618355B161   KRISHONDA     ROSS                        AR     90002791835
2B16619A651343   ISSELMOU      FALL                        OH     90013951906
2B16624A98B17B   ARTURO        CABELLO                     UT     31002202409
2B16651282B892   DELAYNNE      ADAMS                       ID     90003195128
2B166546791241   JAMESHA       NORMAN                      GA     90014635467
2B166614455941   YOLANDA       MENDOZA                     CA     49036736144
2B166833191592   FELIPA        WOOD                        TX     90013238331
2B166A54191522   JAVIER        VALENZUEL                   TX     90013360541
2B167165A85965   FLORENCE      LANDRUM                     KY     66068071650
2B1671A1991541   HECTOR        ZUNIGA                      NM     90009801019
2B167463587B59   LESTER        YOUNG                       AR     90010934635
2B16772187B449   SHERYL        MASSEY                      NC     90014807218
2B16815AA71948   LASHAUNA      JONES                       CO     32013811500
2B168215757157   ELIZABETH     MENDOZA                     VA     90007552157
2B168663A51343   PAUL          DANIELS                     OH     90013096630
2B16882732B975   ROSY          CHAVEZ                      CA     90012148273
2B168AA857B471   CARMEN        MERINO                      NC     11011390085
2B169143A7B699   RAMIRO        MORALES                     GA     15038621430
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2B169188531453   CHRISTOPHER    CONLEE                     MO     90013191885
2B169192351343   SHEILA         SUDBERRY                   OH     90013951923
2B169371685938   HECTOR         GONZALEZ                   KY     90012973716
2B1696A8A4B281   LUZ            MONARREZ                   NE     27083826080
2B1697A5371948   JERRY          HARRIS                     CO     90011547053
2B169839291592   JIMMIE         KETCHAM                    TX     75050958392
2B16992134B261   SCOTT          BUTLER                     IA     90014309213
2B169A17387B59   ALCORTA        RICHARD                    AR     90014520173
2B16B452987B59   BRANDY         SLOAN                      AR     23024514529
2B16B89A731453   CIARA          BASKIN                     MO     90008498907
2B16B98332B839   TYLER          MILLER                     ID     90003269833
2B16BA63872B98   ANGEL          SANCHEZ                    CO     90013000638
2B171442181661   JESSICA        WASHAM                     MO     90012664421
2B171467A72B98   TSRRAELA       VELASQUEZ                  CO     90014184670
2B17161A931433   GLEN           BRYANT                     MO     90003836109
2B17166412B839   GALI           AGILUR                     ID     90000546641
2B17217865B271   MELANIE        NEHMZOW                    KY     90011101786
2B172585291541   ALICIA         CORDOVA                    TX     90009605852
2B17263869794B   LUIS           VASQUEZ                    TX     90013826386
2B172916272B98   GUILLERMO      CASTRO                     CO     90000889162
2B172A6A155941   HEATHER        WALSH                      CA     49086230601
2B172A6A491522   ADRIAN         NUNEZ                      TX     90008120604
2B172A97691592   FELIPE         GONZALEZ                   TX     90010860976
2B1732A679189B   PATRICK        ARMSTRONG                  OK     90011222067
2B1733A2374B79   ROBBY          DOERR                      PA     90013653023
2B173781281637   ED             BROWN                      MO     90008507812
2B173832191592   ARACELLI       TORRES                     TX     75009328321
2B17386855B167   TODD           SEGER                      AR     90014458685
2B173A27472B98   JOSE           BARBA                      CO     33047190274
2B17539995B271   BIRKHA         GURUNG                     KY     90012073999
2B175958787B59   DELLA          DAVIS                      AR     23056999587
2B175A52991592   CLAUDIA        GARCIA                     TX     90013660529
2B176256384364   ROSANNA        TRACY                      SC     19026332563
2B176444171948   CINDY          THOMPSON                   CO     32006574441
2B176592A7B449   SHELBY         SANDERS                    NC     90014815920
2B17676117B471   DOMITLA CRUZ   JIMENEZ                    NC     90012437611
2B176893731492   JAMI           OVERY                      MO     90002318937
2B176A2A45B167   ANDREA         BLY                        AR     90010670204
2B176A78691592   DOMINICK       TURNSIPSEED                TX     90014260786
2B177365551343   LESLIE         JOHNSON                    OH     66062063655
2B177592A7B449   SHELBY         SANDERS                    NC     90014815920
2B177647A31453   BRANDON        CANNON                     MO     90015126470
2B17789974B281   VICENTE        FOX                        NE     90013398997
2B178292657531   CONSTANCE      YOUNG                      NM     90012642926
2B178386A87B21   DERRY          TEARSON                    AR     90013993860
2B178465557157   VIRGINIA       PAUCCAR                    VA     90014854655
2B178653955957   GEORGE         CASARES                    CA     90011966539
2B178864572B98   MA DEL ROCIO   GUTIERREZ-DAMIAN           CO     90012668645
2B179323A72421   TAD            SCHAEFFER                  PA     90014493230
2B17952517B449   LAISHAH        GLOVER                     NC     11070855251
2B179789A85938   RAUDALL        PERRY                      KY     90012487890
2B17991A185955   CAROL          ALLEN                      KY     90000339101
2B179A9712B892   WINDELL        JACKSON                    ID     42010960971
2B17B15A287B21   MATTHEW        BARNETT                    AR     28006241502
2B17B64722B839   DEBORAH        LADUKE                     ID     42039126472
2B17B745972B98   MARNIE         ANDERSON                   CO     33073817459
2B17B848384364   VERA           NELSON                     SC     90013848483
2B17B922891241   JOANNA         MCGRAW                     GA     14505869228
2B18124544B588   CHRISTEN       CRAWFORD                   OK     90012672454
2B18131445B531   FELICIA        PADILLA                    NM     35066833144
2B181433A4795B   STEPHANIE      BURNS                      AR     90001574330
2B18143872B892   TREVA          NAVARRETE                  ID     90009294387
2B18174627B449   KAVON          GREEN                      NC     90014807462
2B182318A84364   TENITA         FLOYD                      SC     90011383180
2B182337931453   BRADLEY        WORSHAM                    MO     90012703379
2B182468287B21   BRENDA         KEIR                       AR     90015504682
2B182612A91241   DENVER         LANIER                     GA     90014546120
2B182A7314B588   LISA           KENNEDY                    OK     21578730731
2B18336419794B   TAHANNA        PHORN                      TX     90015103641
2B183522555941   DIANE          MYRICH                     CA     90013195225
2B183934372B42   CARLOS         OROZCO                     CO     90012639343
2B183A12241245   DENISE         LYNCH                      PA     51054000122
2B184176193773   JOHN           WHITT                      OH     64585151761
2B184219187B21   CAROLYN        SHANDS                     AR     90015232191
2B184522A51343   ASHLY          MALOTT                     OH     90010385220
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2B184865255957   VINA            WHEAT                     CA     48037918652
2B184A69885988   ROY RAY         TERRY                     KY     90000620698
2B185114A85965   MICHELLE        PENICK                    KY     90012721140
2B185329A91592   SYLVIA          SAENZ                     TX     90010233290
2B185339891541   ZAARETH JU      SALVADOR-SOLANO           TX     75032083398
2B185351371948   CHRISTOPHER     STEPHEN                   CO     90011383513
2B185421191592   ANTONIA         ORTIZ                     TX     75059724211
2B1855A4671948   KRYSTAL         JAVIER                    CO     90014165046
2B18589518B188   REBECCA         KRUEGER                   UT     90007308951
2B185929491528   RAQUEL          MURGA                     TX     90003339294
2B186276157157   TWUMMAA         OFEI                      VA     90011402761
2B186436474B79   LISA            POULIN                    OH     51090944364
2B1866A8772421   TOM             BRADY                     PA     90010406087
2B186858685938   YAMINI          RAY                       KY     90010508586
2B186A4468B334   SALVADOR        LOPEZ LOPEZ               NC     11070760446
2B1873A675B271   RYAN            JONES                     KY     90014153067
2B187487881637   KARA            H                         MO     90014824878
2B18757618B188   VERONICA        MARTINEZ                  UT     90000195761
2B187721355957   JUDITH          FLETCHER                  CA     48085647213
2B18788849189B   MARCO           DIAZ                      OK     90011958884
2B187892687B59   MICHEAL         SCOTT                     AR     90006738926
2B18792342B892   SHIRLEY         GRAY                      ID     42014209234
2B18798AA51343   AUBRE           WEATHERSBY                OH     90008859800
2B188128A4B261   NIKKI           BRYSON                    NE     27065721280
2B1886A3251343   RUTH            BRAZEAL                   OH     66048326032
2B188991484364   BRITTANY        JONES                     SC     90015259914
2B188A8A55B167   MUVEDEMO        ID COMPLETE WIRELESS      AR     90003110805
2B189173A91251   SEVERINO        HERNANDEZ                 GA     14503981730
2B189281757172   MICHAEL         MUNDELL                   VA     90003372817
2B18943A35B571   RALPH           ARCHULETA                 NM     90007314303
2B189729774B79   BYRON           SEGLE                     OH     51083797297
2B18B27A791397   JUANA           GARCIA                    KS     90006482707
2B18B3A722B892   GERMAN          DE LACRUZ                 ID     90013033072
2B18B581191397   MONTSERRAT      PEREA                     KS     90013115811
2B18B5A5291828   SUGEY HERBERT   SAMPAYO                   OK     90009985052
2B18B94975B167   MONICA          TURNER                    AR     90011349497
2B18BA69885988   ROY RAY         TERRY                     KY     90000620698
2B18BA81287B59   MARANDA         ALFORD                    AR     90013780812
2B19153559794B   GABRIEL         CARRASCO                  TX     74028395355
2B191642972421   STEVE           BRZEZINSKI                PA     90008106429
2B19213594B588   RICHARD         MARSHALL II               OK     90015171359
2B1921A2391522   GLORIA          RODRIGUEZ                 TX     75017511023
2B192211A2B892   TERESA          WEST                      ID     90007762110
2B192355485988   CARRIE          HENDERSON                 KY     90014963554
2B192A76271948   MANUEL          THAYNE                    CO     32012680762
2B19319124B281   JAMES           SEVERA                    NE     27007131912
2B19326699189B   LATOYA          ROWE                      OK     90011222669
2B193493A5B161   CLEASTER        DAVIS                     AR     23004714930
2B19362462B839   JOSE            CHI CORDERO               ID     90015216246
2B193861572B98   LANI            ANDERSON                  CO     33085228615
2B19393A585988   BREE'ANA        THOMAS                    KY     67015869305
2B193989A55941   DEMETREAL       EDWARDS                   CA     90006029890
2B194421A93773   DEBRA           FARRIS                    OH     90009864210
2B19445779189B   GUANEKA         WILLIAMS                  OK     21089944577
2B194472172B98   THEODORIC       SHERWIN                   CO     90014184721
2B194565274B79   SAMANTHA        ASBURY                    PA     90013065652
2B194636757157   JUAN            BONILLA                   VA     90013986367
2B19491585B167   SAM             NORRIS                    AR     23019219158
2B194A2765B161   KAREN           JOHNSON                   AR     90013340276
2B195286491522   ARTURO          LARA                      TX     90014202864
2B19551215B936   AMIE            GENTRY                    ID     41015765121
2B19556595B571   SANDRA          CHAPARRO                  NM     35006585659
2B195654A85988   CURTIS          WILLKERSON                KY     90011926540
2B195953184364   APRIL           BLODGETT                  SC     90014599531
2B195A2292B839   CLEMENTINE      CYIRAMAHORO               ID     90011150229
2B196355357157   JOHN            ABEL                      VA     90001023553
2B19641262B892   RANDI           COWAN-DALTON              ID     90013034126
2B196552A9184B   KRISTEN         HANCOCK                   OK     21043945520
2B196751871948   SILVIA          ROMERO                    CO     32038447518
2B19697986196B   BOB             CROMWELL                  CA     46006319798
2B19712189184B   LAKESHA         PEEPLES                   OK     90013891218
2B19729135B571   OSCAR           SANCHEZ                   NM     35095772913
2B197618281637   AMILCAR         RODOLFO                   KS     90013056182
2B197A34487B21   JASON           WEATHERFOR                AR     90015500344
2B197A66585938   MATTHEW W       BROCK                     KY     90003900665
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2B197A72172B98   MICHAEL       BALDWIN                     CO     33061810721
2B19857244B281   FELIPE        ENRIQUEZ                    NE     90008555724
2B198925391241   SYLVIA        TAYLOR                      GA     90011219253
2B198A42681661   ARTASHA       LOONEY                      MO     90014880426
2B199181674B79   KRISTY        JACKSON                     OH     90001231816
2B19924615715B   OSCAR         FLORES                      VA     81011502461
2B1992A5271948   DESIREE       ROMERO                      CO     90014362052
2B199334691522   NOHEMY        BROWN                       TX     90007083346
2B199633887B21   BOBBY         BUTLER                      AR     90015576338
2B1996A787B449   LATASHA       CRAWFORD                    NC     11010866078
2B199895A9184B   JORGE         PANDO                       OK     21084238950
2B199A55151343   TYAN          WINBUSH                     OH     90011500551
2B199A6585715B   KATHERINE     LEAKE                       VA     90011930658
2B19B33788B334   LIDIA         VAZQUEZ                     SC     90014963378
2B19B3A385715B   SUCELI        MAZARIEGOS                  VA     81057433038
2B19B85663B384   RAFAEL        MUNOZ                       CO     33067898566
2B19B89A251561   KODJO         ABATHAN                     IA     90015448902
2B1B114414B245   ADAM          LEWIS                       NE     27088121441
2B1B1163355957   LUIS          CARBALES                    CA     90013431633
2B1B2426155957   MELISSA       VANZANT                     CA     90008974261
2B1B2431891541   VARGAS        MARTHA DOLORES              TX     75068284318
2B1B246459184B   JORDAN        TREIS                       OK     90000614645
2B1B25A6A4B588   NACOLBY       BEARD                       OK     90013455060
2B1B2674631631   LURETO        REYES                       KS     90002406746
2B1B269844B245   WILLIE        AUSTIN                      NE     90010546984
2B1B2756485965   ELLEY         CABRERA                     KY     90014147564
2B1B2917961982   VINCENT       GORDON                      CA     90002769179
2B1B3159691522   ROBERTO       LOPEZ                       TX     90005881596
2B1B33AA191592   MAGDALENA     CASSIO                      TX     90008453001
2B1B382684B281   CARL          JACKSON JR                  NE     27064698268
2B1B388595715B   CHRISTOPHER   MACHUCA                     VA     90012108859
2B1B4283A81687   LESLIE        ESKRIDGE                    MO     29009302830
2B1B4343951343   ATHENA        WHITTAKER                   OH     90006333439
2B1B437774B281   BILLIEJOE     DUNHAM                      NE     27029453777
2B1B459527B449   KYRIE         BRUT                        NC     90014805952
2B1B4723491528   JOSHUA        GALVEZ                      TX     90003337234
2B1B4A38391592   MELISSA       HERNANDEZ                   TX     90001710383
2B1B5582785988   MATT          WILLOGHBY                   KY     90015545827
2B1B56A998B334   KIMYADA       MOSES                       SC     90012966099
2B1B5892484364   VERONICA      MIDDLETON                   SC     19009468924
2B1B6753372B98   BRITTENEY     JERKINS                     CO     90011937533
2B1B712382B892   PEPPER        HERNANDEZ                   ID     90010241238
2B1B7722591541   RACHEL        SANCHES                     TX     90010847225
2B1B7867571948   TRICIA        LUCERO                      CO     32016388675
2B1B816347B449   TOSHA         MILLER                      NC     90014901634
2B1B8488985938   BEVERLY       HUTCHINSON-TERRY            KY     90014564889
2B1B848A74B588   AJULINA       ADENYA                      OK     90011494807
2B1B859487B699   ELAINE        HATCHETT                    GA     15045215948
2B1B913129184B   FRANK         FREEMAN                     OK     21025041312
2B1B953539189B   BRENT         CATO                        OK     90006155353
2B1B955814B588   MARK          WALLACE SR                  OK     21552145581
2B1B9564872B42   ESPERANZA     MARTINEZ                    CO     33095765648
2B1B9595491241   ISIAH         PASLEY                      GA     90012755954
2B1B9937731631   ROBERT        HOOD                        KS     22070779377
2B1B9958A87B59   PAYGO         IVR ACTIVATION              AR     90015339580
2B1B9A2572B839   DOUGLAS       EISENBERG                   ID     42004780257
2B1B9A44455957   REYNA         SANCHEZ                     CA     90014440444
2B1BB176321737   ANGEL         CORAVO                      IL     90011951763
2B1BB421451397   NYLUAL        LOVE                        OH     90015524214
2B1BB59A25B271   DEBBY         BRINSON                     KY     90013225902
2B1BB639791541   HERIBERTO     OLIVAS                      TX     90004406397
2B1BB647691528   EDUARDO       LOZANO                      TX     75091866476
2B1BB92325B167   SAHWANA       ELLIS                       AR     90014559232
2B2111A152B839   ALBERTO       SOTELO                      ID     90012621015
2B211222431631   OLGA          HIGAREDA                    KS     90014442224
2B2113A8587B87   VALERIE       SMITH                       AR     23093943085
2B21195399189B   LYLA          CERVANTES                   OK     21064759539
2B211A22885938   CASAUNDRA     LEWIS                       KY     90010920228
2B2121A215715B   ABUBAKAR      KAMARA                      VA     81005771021
2B21236A78B17B   MELINDA       CUCCIA                      UT     31023053607
2B21245364B267   KUDRNA        LARRY                       NE     27098004536
2B212468887B87   TRACY         JONES                       AR     90001054688
2B21249469189B   KENDRA        JOHNSON                     OK     90014054946
2B2127A832B232   PHYLLIS       LANE                        DC     90003147083
2B212A48A72B98   MICHELLE      SMITH                       CO     90002830480
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2B213128231453   FREIDDIE     OWENS                        MO     90011031282
2B213279941286   TIFFANY      THOMAS                       PA     90010822799
2B21341A35B161   ELIZABETH    PANIAGUA                     AR     90006814103
2B213517431631   JARVIS       DUALNEY                      KS     90007035174
2B213711A2B232   STEPHANIE    RICH                         DC     90003147110
2B21375A572421   COCHELLE     WILSON                       PA     90003407505
2B21421A272B98   JORGE        RUIZ                         CO     33051722102
2B214231655941   BALERIA      ORITZ                        CA     90005102316
2B214572372482   DIANE        RUGH                         PA     90013685723
2B21482AA8B17B   ANGELICA     MUNOZ                        UT     90008678200
2B214997847952   TIFFANY      MCDADE                       AR     24066259978
2B215165185965   ZACH         WARTMAN                      KY     66009921651
2B2152A3281637   MARISOL      LOPEZ                        MO     90011352032
2B2153A5672421   LISA         MOAN                         PA     51087843056
2B215522155957   ALEJANDO     DELATORRE                    CA     90015095221
2B215829872B42   DIANA        GONZALEZ                     CO     90007718298
2B21615848B334   ADA          GUTIERREZ                    SC     90001571584
2B216257481637   JERRY        MASTERSON                    MO     29006952574
2B2165A467B449   CHERRY       WILLIAM                      NC     11053035046
2B21673619794B   ZEFERINO     CRUZ                         TX     90013037361
2B216746991522   CYNTHIA      CARRILLO                     TX     75074517469
2B21684A64B281   LUIS         ARAGON                       NE     90014168406
2B21687444B588   OTILIA       ESTRADA                      OK     90015148744
2B217246471948   BRIAN        MACKES                       CO     90013402464
2B217413984364   TIMOTHY      TAMBURRINO                   SC     90013804139
2B21756979184B   DEMARCO      CORBIN                       OK     90009175697
2B217677787B21   HEATHER      CROW                         AR     90015076777
2B217738855941   DIXIE        TRISTAN                      CA     49076497388
2B217797691541   ERICK        ALCANTAR                     TX     90013667976
2B217869991323   AMY          PEER                         KS     90001088699
2B21795A672B98   ROBERT       DAVIS                        CO     33020879506
2B217A17291828   JUDY         CARTEE                       OK     90013650172
2B218148481637   JEFFREY      ABBOTT                       MO     90013271484
2B21819928B168   CAROLINA     SERRANO                      UT     90005731992
2B218384987B21   JOSH         RANKIN                       AR     90015243849
2B21846A38B17B   MARINO       SANTILLAN                    UT     31032294603
2B21858482B839   VERONICA     LONGDEN                      ID     90014825848
2B218615855957   JESUS        DE DIOS                      CA     48096736158
2B2188A1A85965   TERESA       BEGNOCHE                     KY     90000588010
2B21894564B281   MARISELA     MOLINA                       NE     27033859456
2B219188487B21   WILL         MCMINN                       AR     90015371884
2B2191AA44B281   MONICA       GOLDEN                       NE     90010641004
2B219284191541   LAURA        MALDONADO                    TX     90013902841
2B219479293773   NICHOLAS     PIEKUTOWSKI                  OH     64555514792
2B219842872B42   CAMILLE      CORDOVA                      CO     33012538428
2B21B196947952   MISHECK      MGWENYA                      AR     24039961969
2B21B25346147B   HAILEY       PYLES                        OH     90014232534
2B21B61A47B449   LASHUNDA     MCMOORE                      NC     90014816104
2B21B79775B161   ASHIA        BRASON                       AR     90013777977
2B21B91612B892   CANDY        MESTAS                       ID     90003119161
2B221427A91828   JASMINE      WOOTEN                       OK     90011634270
2B221516447952   MIKAYLA      ENGLISH                      AR     90008495164
2B2217A362B27B   DARETTE      ORAHAM                       DC     90010587036
2B221A3238B17B   MARIO        GARCIA                       UT     90007510323
2B221A8992B892   SARAH        YORK                         ID     90006350899
2B222454931631   SYLVESTER    ADIMEKWE                     KS     90009324549
2B2225A4355957   NATASHA      GONZALEZ                     CA     90013775043
2B222A42351336   TANESHIA     BROWN                        OH     90013490423
2B222A96991528   TONI         BRISENO                      TX     90006520969
2B223357A55957   ARMIDA       MARTINEZ                     CA     90015213570
2B22346A491582   ADALBERTO    OROZCO                       TX     90010864604
2B223545572B42   RAFAEL       RUIZ                         CO     90012465455
2B2236A518B334   ANTONY       CURRY                        SC     11000156051
2B223991191522   SUZANNA      JORDAN                       TX     75017519911
2B2239A5285938   ANDREA       BLACK                        KY     90009939052
2B22419584B588   ASHLEY       ROLEN                        OK     90009321958
2B22427599184B   GARY         MCKINNEY                     OK     90007362759
2B22438227B699   ASIA         STINSON                      GA     15044863822
2B224529784364   CAYSHA       SMITH                        SC     90011265297
2B22461517B449   SAMARIA      WILLIAMS                     NC     90014816151
2B22475734B245   KIRSTEN      WEIKLE                       NE     90009837573
2B22491A185988   BRANDON      SLAUGHTER                    KY     90014799101
2B2249A122B27B   TOMMIE       SHADE                        DC     81031659012
2B225113851343   SARA         GRABER                       OH     90015251138
2B2252A7791522   MARK         LUNA                         TX     75013312077
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2B225315191541   JAVIER        RUBIO                       TX     90010283151
2B225458787B21   BOBBY         BUTLER                      AR     90015414587
2B22546768B17B   NICOLE        CRESPIN                     UT     90004364676
2B225637385988   JASMINE       KING                        KY     90008096373
2B22566A18B56B   GARRY         INDIANA                     CA     90015496601
2B225867A74B79   JAMIE         DWYER                       PA     51027148670
2B2258AA69189B   APRIL         PHILLIPS                    OK     90014688006
2B225A83A8B17B   NICOLE        RIDLEY                      UT     90013110830
2B226129255941   MARIA         GASTELUM                    CA     49065231292
2B22615732B839   JOSEFINA      CRUZ                        ID     90007991573
2B226221A5B167   MARVEL        MCMASTER                    AR     23031222210
2B226316751343   DORTHY        BAUER                       OH     90011533167
2B226398161985   REBECA        RON                         CA     90011803981
2B226398384364   KIMBERLY      ZADONIA                     SC     90003433983
2B226497A72B98   JOANA         HERNANDEZ                   CO     90014184970
2B226971491251   GILBERTO      VENTURA                     GA     14516799714
2B226A3357B471   MARCUS        BAKER                       NC     90013130335
2B226A74A81637   MARISSA       LEA                         MO     90014480740
2B226A98391241   AHMAD         SHAMSIDDIN                  GA     14597990983
2B22733A39189B   JAQUILA       MEEKS                       OK     90011223303
2B227535991241   SHAAUNTAE     JONES                       GA     90007165359
2B227577672421   GREGORY       RUSSELL                     PA     90003365776
2B227678291241   VICKI         WELLS                       GA     90008406782
2B22783A555957   ADANELI       MEDRANO                     CA     90006418305
2B2281A8191828   JASMINE       CERVANTES                   OK     90012881081
2B228256487B87   VALERIE       SMITH                       AR     90002472564
2B228373651343   CHUCK         WEBB                        OH     90014993736
2B228497672B98   CHRISTOPHER   TAPP                        CO     90014184976
2B22853418B334   PAMELA        MCPHAUL                     NC     11006595341
2B228AA6457157   IRIS          MOLINA                      VA     81080830064
2B22913A99794B   JOSE          RODRIGEZ                    TX     74044811309
2B22975312B839   DANITA        WILKEN                      ID     90003557531
2B229A27231631   DENNIS        WRIGHT                      KS     22006160272
2B229A6A391241   LINDA         GLOVER                      GA     90011230603
2B229A94287B87   PAULINE       RAYA                        AR     90002940942
2B22B61517B449   SAMARIA       WILLIAMS                    NC     90014816151
2B22B73A47B699   BRUCE         BONAPARTE                   GA     15002697304
2B231119471948   ROCHELLE      WILSON                      CO     32010831194
2B231363572B42   NICOLE        GALLEGOS                    CO     33027983635
2B23168A555941   EVA           SANTOS                      CA     49089916805
2B231934A91541   ARACELY       AGUIRRE                     TX     90013779340
2B231997751336   ALEXIS        WHEELER                     OH     66017199977
2B232194451336   JUANISHA      GIBSON                      OH     90002771944
2B23221445B161   GEORGE        MUMPHREY                    AR     90013232144
2B23244A891522   MIA           DANIELLA                    TX     90002264408
2B232562961932   CATHERINE     FAHEY                       CA     90008965629
2B232635872B98   LUCILA        LUEVANO                     CO     33001906358
2B232711491828   LEKEISHA      KIMBROUGH                   OK     90008377114
2B2328A314B261   KATELYNN      BROWN                       NE     27001128031
2B233198191828   COURTNEY      CHERMACK                    OK     90012611981
2B233475885988   JHERAN        MOORE                       KY     90014394758
2B233721555941   YVETTE        ROJAS                       CA     90012517215
2B23412365715B   JOSE          LOPEZ                       VA     90012201236
2B234436372B98   RIGOBERTO     MALDONADO                   CO     90008604363
2B23443758B17B   MARIE         ROMRELL                     UT     90013934375
2B23459955B271   PAULA         SMITH                       KY     90013395995
2B23494342B839   SUE           MONSON                      ID     42092339434
2B234999655941   ELVIS         MENDOZA                     CA     49008399996
2B23499A251336   MENEBERE      TANIGUCHI                   KY     90012499902
2B23516429794B   EFRAIN        TAJIBOY                     TX     90012741642
2B235511391592   GEORGE        HIGADERA                    TX     90014025113
2B23591875B167   JANA          MCDOUGAL                    AR     90011089187
2B236386A85988   CHASITY       INGRAM                      KY     90012163860
2B23667A347952   ERICA         ACEVES                      AR     90015016703
2B23692914B245   RICH          TINNELL                     NE     27008689291
2B23777A251336   LEOPOLDINA    GARCIA                      OH     90010257702
2B237985691592   VERONICA      GUERRERO DE GONZALEZ        TX     90014759856
2B237A18971948   AUTUMN        JAMES                       CO     90012870189
2B238167A84364   SHAKEETE      RIVERS                      SC     90014811670
2B238239141299   ROSEMARY      PAGANO                      PA     90001312391
2B23847387B449   CAROL         MCFARLEY                    NC     11088124738
2B23858827B471   JAMES         HARRIS                      NC     90014095882
2B239667272421   DARLENE       BOOHER                      PA     90007086672
2B23969489189B   CONSUELO      ESCALANTE                   OK     90004266948
2B239939571948   ELIZABETH     LOPEZ                       CO     90008809395
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2B23B3A9751336   MARTINA       BOOKER                      OH     90002373097
2B23B448951343   ANDREW        LEE                         OH     90013004489
2B23B56A687B59   TIFFANY       TRIPP                       AR     90012705606
2B23B75919184B   SHAUNDORA     CARTER                      OK     21073697591
2B23B81A271948   VIRGINIA      NAVA                        CO     90014178102
2B241125831453   SMYTHE        GAIL                        MO     90000601258
2B241337A85965   SUZANNE       TASAYCO                     KY     90013963370
2B241686187B59   KIMBERLY      SCARVER                     AR     90014806861
2B24184414B588   ERICKA        DURHAM                      OK     90012308441
2B24187274B588   JASMINE       THOMPSON                    OK     90013718727
2B24245134B521   YVONNE        FUENTES                     OK     90006054513
2B24248565715B   MARIAPIA      ORDONEZ                     VA     90011824856
2B242662131453   ROBERT        SEAGER                      MO     90015126621
2B242681231631   TRACY         GRIFFITH                    KS     90009016812
2B242797885938   SHONTA        CHRISTOPHER                 KY     90012377978
2B242A4A99184B   TIA           TATE                        OK     21049780409
2B24318A293773   ROY           HUTCHINS                    OH     64524561802
2B24356949184B   KAREN         BEATTY                      OK     21074465694
2B243674147952   AMANDA        MASTRI                      AR     90001676741
2B243817272B98   JOSE          RUIZ                        CO     33083048172
2B243883287B59   JAQUAN        LASLEY                      AR     90015258832
2B243A88887B87   RUBY          COLEMAN                     AR     90009330888
2B24423384795B   MARJORIE      GRIJALBA                    AR     25072072338
2B244382374B79   DAVID         BOYD                        OH     90011073823
2B244391884364   JANELL        CLARKE                      SC     90009983918
2B24441375B167   RHONDA        DEDERICK                    AR     23012274137
2B244459691522   NAKIA         PRINCE                      TX     75003234596
2B244562991541   SERGIO        RODRIGUEZ                   TX     90011465629
2B24465645715B   JOSE          ARGUETA                     VA     90011066564
2B244959472421   DANIELLE      STONE                       PA     90013429594
2B244AA159184B   KIMBERLY      SETWART                     OK     90009010015
2B245276151336   WILLIE        MOORE                       OH     90013012761
2B24536A89189B   JOHN          FLAKE                       OK     90011223608
2B245531555941   ROY           RENDON                      CA     49070475315
2B24577A281446   ASHLEY        HIGBY                       PA     90013827702
2B24594879184B   MAGYN         PASSMORE                    OK     90010379487
2B246412A87B87   TELISHA       JONES                       AR     90004284120
2B2465A2772B98   LORENZO       GUADIAN                     CO     90014185027
2B24671A491541   TAMARA        CORDERO                     TX     90013377104
2B246AAA57B471   MORGAN        COON                        NC     90013100005
2B24724A485988   SHARON        CORMAN                      KY     90008972404
2B24759998B17B   ROBERT        REED                        UT     90005075999
2B24765117B449   DANIEL        MOTA                        NC     90014816511
2B247897385988   WILLIAM       HATTON                      KY     90014038973
2B247A91591541   BRENDA        RODRIGUEZ                   TX     75055340915
2B248214371948   MIRANDA       WIMSETT                     CO     90011902143
2B24826349794B   EMILIANO      TIRADO                      TX     90014502634
2B248412A87B87   TELISHA       JONES                       AR     90004284120
2B24869492B931   FREDDIE       DUNN                        CA     45075466949
2B2486AA141245   DANIEL        TICKNER                     PA     51085506001
2B248A4374B261   CHRISTOPHER   OSBORNE                     NE     90014630437
2B248A53991251   JENNIFER      JONES                       GA     90001630539
2B248A77391592   ADRIAN        GARCIA                      TX     90009060773
2B249251157157   JESUS         ARREGUIN                    VA     90014972511
2B2492A5641245   RADMILA       DAKIC                       PA     51008282056
2B24933279184B   DESTINY       ROHLING                     OK     90015303327
2B24936915B167   AMANDA        VANCE                       AR     90014343691
2B24949395B28B   RICHARD       HOWARD                      KY     90012994939
2B249667247952   CHARLES       OLIVER                      AR     24006956672
2B2496A9172B98   MARISELA      HERNANDEZ                   CO     90011726091
2B249A55387B87   ANTONIO       BUCHANAN                    AR     90011750553
2B24B27A472B42   EFREN         RAMIREZ                     CO     33061072704
2B24B68814B281   MIKE          STERBA                      NE     27048306881
2B24B697431453   GENE          RAYFORD                     MO     90014056974
2B251334791541   THANIA        QUINONES                    TX     90011803347
2B2514A1693773   HEAVEN        HOFF                        OH     64531074016
2B251612A55957   SUSANA        VALDININOS                  CA     90013706120
2B25192535B271   LAURA         DAVIDSON                    KY     90013829253
2B252187172B42   JOSE          VERA                        CO     90012411871
2B25239547B449   MANUEL        GARCIA                      NC     90008583954
2B25276AA91528   ANGELA        OLMOS                       TX     90006927600
2B253144887B87   DAVE          JOHNSON                     AR     23061821448
2B25332239794B   ELOUISA       SANCHEZ                     TX     90014583223
2B25339959794B   LAUNITA       LLANAS                      TX     90008733995
2B25345A797B4B   MARIANA       TRUJILLO                    CO     90008344507
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1486 of 2350


2B25356877B449   MEKA         BLACKMON                     NC     90011515687
2B25366257B449   MARCO        MORENO                       NC     90014816625
2B253794355941   LEOBARDO     RIOS                         CA     49074537943
2B253825385938   SABRINA      CARPENTER                    KY     90012328253
2B253956A87B59   LORI         KRIK                         AR     90013049560
2B25423279794B   IRMA         SANCHEZ                      TX     90013332327
2B254581284364   RAHEEN       HART                         SC     90014585812
2B254954431453   MICHELLE     STEAHLE                      MO     90007519544
2B25496A457565   MARLENE      NEVAREZ                      NM     90011459604
2B254A3579189B   JOYCE        MONTGOMERY                   OK     90002160357
2B255377391541   CASSANDRA    SAENZ                        TX     90014153773
2B255A53291522   SARA         BARRIOS                      TX     75019590532
2B255A86971221   MARIO        GOSS                         NE     90015580869
2B256166851343   LILIA        LINARES DOMINGUEZ            OH     90014171668
2B2561A5457157   WILLIAM      GIAMPA                       VA     90009651054
2B25638754B261   SCOTT        GRIMM                        NE     90009493875
2B2563A9484364   NAKIA        LEWIS                        SC     19046023094
2B25642667B699   KRISTINA     GENTLE                       GA     90004464266
2B256438787B87   BARBARA      BLUNT                        AR     23089934387
2B25653789794B   MARCUS       FLOWERS                      TX     90011305378
2B256AA6A41245   RODOLFO      RAMOS                        PA     51047410060
2B257239651343   JAMES        BAKER                        KY     90013952396
2B257463674B79   CHAMPAYNE    BRAY                         PA     90006844636
2B257A3794B261   LINDA        ORR                          NE     90013410379
2B257A6492B839   GARY         MARSHALL                     ID     90009030649
2B25859A29794B   ELIZABETH    DIXON                        TX     90014465902
2B258667272421   DARLENE      BOOHER                       PA     90007086672
2B258853191592   PAULA        HERNANDEZ                    TX     90007398531
2B258929A31631   JUNE         DIDON                        KS     90013259290
2B25893419189B   GREGORY      LEE                          OK     90014669341
2B258945791541   AILEEN       SERRANO                      TX     75042609457
2B259239651343   JAMES        BAKER                        KY     90013952396
2B259326651336   KAREN        SNELL                        OH     66047043266
2B259331591241   MELISSA      WINTERS                      GA     90007833315
2B259669591592   ADAM         TERCERO                      TX     90015096695
2B25B133855935   MARTIN       ARCE                         CA     90012681338
2B25B27524B588   GABRIELA     MATAMOROS                    OK     90015292752
2B25B331191528   LIZDEMAR     NAJERA                       TX     90003343311
2B25B714372B98   JIMMY        BURKEN                       CO     90013087143
2B2613A745B161   CLARENCE     THORNTON                     AR     23000233074
2B261943731453   DARTELO      PERES                        MO     27589809437
2B26198442B839   JAMES        BELCASTRO                    ID     42078809844
2B261A9649794B   ROLANDO      VASQUES-SIC                  TX     74092870964
2B262399351336   SHARIAH      PRICE                        OH     90011603993
2B262427685965   LINDSEY      PENDLETON                    KY     90014174276
2B26252374B281   GEOFFREY     MARSHALL                     NE     90004885237
2B262887452B3B   AMANDA       DAVALOS                      AZ     90014748874
2B26289899184B   KYLE         BEMORE                       OK     90010008989
2B26322312B892   LAURA        LUNA                         ID     90013612231
2B26322552B892   REYES        BARAJAS                      ID     90013592255
2B263343391241   VIRGINIA     LANIER                       GA     14573513433
2B26345282B27B   JOYCE        SWAILES                      DC     90013414528
2B263471791541   SARA         REYES                        TX     90012154717
2B26357739136B   LOURDES      GUIZAR MENDOZA               KS     90013115773
2B263841171948   RANDY        RODRIGUEZ                    CO     90007328411
2B26388424795B   DEBRA        JOHNSON                      AR     25078848842
2B26392265B571   BERNICE      JARAMILLO                    NM     90004719226
2B26394369189B   ANGELA       JONES                        OK     90005189436
2B263A24A61877   ROBERT       WATKINS                      IL     90014420240
2B26419294B261   SAMUEL       COSTANZO                     NE     90011411929
2B2644A165715B   SOMPRATHAY   THAMMAWNG                    VA     90009204016
2B264624491522   JORGE        GARCIA                       TX     90011876244
2B264A64991241   TRINA        THOMAS                       GA     90008360649
2B264A85974B79   RONNIE       DICKEY                       OH     90014580859
2B26531AA4795B   CHARLES      HOPKINS                      AR     90010413100
2B2654A7487B21   ANJELIQUE    MOORE                        AR     90015244074
2B26565A25B531   JOSE         VARGAS                       NM     90005916502
2B265676A57157   THERESA      GAITHER                      VA     90012766760
2B26594289189B   DANIELLE     BRUNER                       OK     90014669428
2B26598578B334   CARLOS       MORALES                      SC     90013929857
2B266582672B42   MARTHA       CUARA                        CO     90012765826
2B266675781637   SHONNESHA    MORGAN                       MO     90007596757
2B266832A87B59   YASHICA      MARTIN                       AR     23023928320
2B267163781661   DEMETRIUS    WILLIAMS                     MO     90014911637
2B2672A9691241   MELISSA      KELLY                        GA     90011222096
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2B26786933B185   TUAN         NGUYEN                       VA     90014238693
2B267A41555957   DWAYNE       WILSON                       CA     90011320415
2B267A64831453   SHANTE       CRISFIN                      MO     27589040648
2B267AA8557121   NERIS        RAMIREZ                      VA     90001620085
2B268165291522   ADOLFO       CASTOR                       TX     75039691652
2B2681A774B245   ROSA         GONSALEZ                     NE     27027581077
2B268391A8B17B   DAVE         REEVES                       UT     31083743910
2B2683A832B892   LUIS         GONZALEZ                     ID     90007523083
2B26854435715B   JOSE         HERNANDEZ                    VA     81032855443
2B26858892B892   LUIS         GONZALEZ                     ID     90012405889
2B2685A9872B98   MICHEAL      HAYS                         CO     90014185098
2B268857991828   CHALISHA     JOHNSON                      OK     90010608579
2B268972A5B161   DWAYNE       ELLIOTT                      AR     23012289720
2B268A6AA4B588   ANATASIA     JEZREAL                      OK     90005690600
2B2693A319794B   QUEENA       LINGJUN                      TX     90010783031
2B269539972B42   MISTY        LAMBERT                      CO     33044415399
2B26961934B588   INGRID       JONES                        OK     21559186193
2B26986335715B   FRANSICO     HERNANDEZ                    VA     90010198633
2B269863891828   KATHERINE    KINTER                       OK     21073078638
2B269944984364   MISTY        GREEN                        SC     90012309449
2B269956A87B59   TAMEA        HARRIS                       AR     90013259560
2B26B567A51343   QUINCY       ROBISON JR                   OH     90013085670
2B26B759671948   SERGIO       GOMEZ                        CO     32060747596
2B271114A55957   RONALD       SPANKE                       CA     48090811140
2B2715A4A72B98   CHARLES      VALDEZ                       CO     33083005040
2B271724972B42   KIMBERLY     ANDERSON                     CO     33083597249
2B27172765B167   AZURDEE      ANTRADE                      AR     23064697276
2B27194377B358   HERBER       HERRERA                      VA     90002779437
2B271A3815B531   VICKEY       JONES                        NM     35069240381
2B272598687B87   TIFFANY      MAYS                         AR     23090805986
2B27277A131433   GWENDOLYN    PENDLETON                    MO     90003837701
2B27323989794B   JOSE ANGEL   MENDEZ                       TX     90013042398
2B273341285938   MAURICE      CAMPBELL                     KY     90008543412
2B2734A2991522   LINDA        JASSO                        TX     90013574029
2B27363A372B98   ASHLEY       FLANAGAN                     CO     90011726303
2B27364A184364   BERNARD      MOSLEY                       SC     90015066401
2B273A63231453   BERNICE      MCCRENDON                    MO     27536860632
2B274237572421   ASHLEY       BOOHER                       PA     90005132375
2B274387991241   AISHA        MOBLEY                       GA     90010573879
2B274596257157   CLAUDIA      MENDOZA                      VA     90012465962
2B2745A5A9794B   CARLOS       PEREZ                        TX     90013085050
2B274686657157   BEATRIZ      GUEVARA                      VA     90012446866
2B27472457B449   CRYSTAL      JONES                        NC     90014817245
2B274914751336   MICHELLE     MCCAIN                       OH     66055399147
2B27514714B245   MUHAMMAD     FARHAN                       NE     90010131471
2B27524935B271   DONALD       BEARDEN                      KY     90013652493
2B2755A879189B   THOMAS       FLAVIN                       OK     90011225087
2B275695A91541   KARINA       FRASER                       TX     75077256950
2B275726291522   ERICA        OCHOA                        TX     90013557262
2B275AA517B471   CAMILLE      MORROW                       NC     90011130051
2B27616534B588   LATASHA      ELAINE                       OK     90010351653
2B2762A4571948   SHARON L     MUSE                         CO     90000492045
2B276336191241   TERRENACE    GRANT                        GA     90014833361
2B276387891828   JUAN         LUEVANO                      OK     90002793878
2B276788755941   ANGELICA     AMADA                        CA     90014617887
2B27687377B449   JAMES        DAVIS                        NC     90014868737
2B276897397B58   JASON        WATT                         CO     90014738973
2B276998785938   MELISSA      DIALLO                       KY     90011319987
2B2769AA772B98   JENNA        GONZALES                     CO     90010569007
2B276A55384364   ERNESTO      LOPEZ                        SC     90012650553
2B27724877B362   NIXSO        CASTELLANOS                  VA     90003212487
2B2774A7355957   FRANCISCA    CALLEROS                     CA     48081184073
2B277511872B98   DAVID        COLIN                        CO     90014185118
2B2777AA147952   THERESA      NOGAAR                       AR     90008897001
2B277935891227   NATASHA      BURROUGH                     GA     90004959358
2B277A61431631   PAULA        KNAP                         KS     22076880614
2B278336331453   LIL JOHN     ROBERTSON                    MO     27540273363
2B278415A93767   JAMES        TOBER                        OH     90001264150
2B27849545B167   PHILIP       WILSON                       AR     23013914954
2B2787A8447952   JACOB        JOHNSON                      OK     90015127084
2B278846571948   LINDA        PRESSLEY                     CO     90011118465
2B278989431453   DENNIS       SAAL                         MO     90014889894
2B278A9865715B   OSCAR        PONCE                        VA     90013720986
2B279112585938   SIERRA       ROMERO                       KY     90013481125
2B279492A85938   RODRIQUEZ    WASHINGTON                   KY     90015534920
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2B2797A1884364   ASHLEY       GATHERS                      SC     90011497018
2B27989452B892   NICOLE       BORES                        ID     90009678945
2B27B286471948   LEONARD      JAMES                        CO     32063232864
2B27B563955957   JORGE        ALVAREZ                      CA     90008305639
2B27B7A2591522   RENEE        GOMEZ                        TX     90009957025
2B27BA5122B892   AMANDA       BLAIR                        ID     90000300512
2B28199827B471   KELVIN       LESANE                       NC     90011939982
2B282427991528   DIANA        JACQUEZ                      TX     90003344279
2B28257918B334   KENDRICK     PERRY                        SC     90010745791
2B2825A5872B42   JORGE        MADERA                       CO     90010035058
2B282836884364   KRISTEN      HUCKS                        SC     90007998368
2B282A2A791522   PAOLA        ALONZO                       TX     90013340207
2B283111547952   JAJ          JHAH                         AR     90011901115
2B283336385965   MARGIE       NUNN                         KY     66059923363
2B283645891592   PRISCILLA    LEMUS                        TX     90012866458
2B283824893753   ABSALOM      HULL                         OH     90001298248
2B28418525B571   ISABEL       GARCIA-HERNANDEZ             NM     90005431852
2B28426945B531   BELEN        BULLOCK                      NM     35069242694
2B28442155B167   FREDRICK     NORWOOD                      AR     90011414215
2B28511722B232   IRIS         GARCIA                       DC     90005701172
2B285173791828   KIM          ALLISON                      OK     90008731737
2B28517855B167   DAVIN        ALLEN                        AR     23018401785
2B28519552B892   CYNTHIA      TRIPLET                      ID     42031971955
2B285281781652   SHAWN        LOTHAMER                     MO     29091262817
2B285927251336   ANTHONY      KESSLER                      OH     90007849272
2B28593769794B   ALMA         MARCELA                      TX     90005169376
2B28625A99794B   JUSTIN       KINGH                        TX     90014542509
2B286281781652   SHAWN        LOTHAMER                     MO     29091262817
2B28645625715B   JAZMIN       GOMEZ                        VA     90013654562
2B28646439132B   PEDRO        RUIZ                         KS     90012694643
2B286475A4B281   KATY         PAKENHAM                     NE     90013574750
2B2867A532B892   TANIA        CARRENO                      ID     90013067053
2B286893681661   KAMEELAH     PORTER                       MO     29033628936
2B28712915B571   MELANIE      COTTER                       NM     35039371291
2B287475351343   ALLEN        SPARKS                       OH     90013354753
2B2878A495B161   DARWIN       TORREZ                       AR     23063128049
2B288147891522   DANIEL       GARCIA                       TX     90014531478
2B288273351343   BELINDA      WYCHE                        OH     90011552733
2B28856A587B21   CHARLES      TAYLOR                       AR     28009225605
2B288844691528   HECTOR       ALARCON                      TX     90005918446
2B28889A431453   MICHELE      THOMPSON                     MO     90012998904
2B288A9249189B   LAKESHE      HERNDON                      OK     21005740924
2B289484284353   JACINDA      FRAISER                      SC     90014814842
2B28983829189B   LASHON       ANDERSON                     OK     90011448382
2B28B339A91522   FELIX        RODRIGUEZ                    TX     90012423390
2B28B35A384364   TONY         WARD JR                      SC     19016563503
2B28B513751336   MULUBERHAN   ADAMO                        OH     90013995137
2B28B59525B167   BRITTNEY     BLUE                         AR     90007985952
2B28B85A94B261   DOLORES      HENANDEZ                     NE     90014108509
2B28BA66531448   TODD         RENO                         MO     90001120665
2B29133114B245   MAURICE      SEYMOUR                      NE     26096113311
2B29139718B334   GERALDINE    PORTER                       SC     11023703971
2B29151A12B892   JAMISON      COBB                         ID     42067405101
2B29175239184B   MARIA        RODRIGUEZ                    OK     90002067523
2B291754291522   JESUS        GUERRERO                     TX     90013967542
2B29185882B839   LISA         MACKLEY                      ID     90010178588
2B2918A8A9189B   RICK         NEDOM                        OK     21081278080
2B2923A3372421   CHRISTIN     LECOCQ                       PA     90013863033
2B2923A9431453   GREGORY      RUTHERFORD                   MO     90013513094
2B292417172B42   MONIQUE      GONZALES                     CO     90012584171
2B29253287B471   DOMINGO      SALINAS                      NC     90003185328
2B292788155941   VINCENT      WALSH                        CA     90014027881
2B292964855957   LEANN        STEVENS                      CA     90013279648
2B292A44185988   BRITTANY     SHINDLEBOWER                 KY     90015310441
2B293482361982   ELAINE       FRANCES                      CA     90011344823
2B29369125B167   ABRAHAM      MORENO                       AR     23032616912
2B293A8614B281   JEAN BAPTI   MAWAWA                       NE     90014170861
2B29419668B334   IVAN         QUEVEDO                      NC     90013921966
2B294276A4B588   MICHAEL      GUNSALLIS                    OK     90015292760
2B294284971948   EDITH        CONSAVAGE                    CO     32023162849
2B29479529189B   KALESHA      GORDEN                       OK     90014687952
2B294A2162B27B   KERRY        PRICE                        DC     90001880216
2B29511762B232   RAPHAEL S    WEST                         DC     90003151176
2B295151193773   KEVIN        WASHINGTON                   OH     64530861511
2B295177471948   BECKY        HAGER                        CO     90009251774
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2B295379291592   CHRISTOPHER   KVINTUS                     TX     90011203792
2B29539814795B   JUSTIN        THOMAS                      AR     90006243981
2B29542359794B   CARLA         SALAZAR                     TX     90009994235
2B29552545B161   PATRICIA      BAKER                       AR     23024655254
2B29556A131631   MARIA         CROWE                       KS     22084165601
2B29558A585938   RUSSELL       FLORENCE                    KY     90015555805
2B295679531453   NOREEN        CLARK                       MO     90012826795
2B29569454B281   BRASAD        RAI                         NE     90011986945
2B29596225B167   MARY ANN      FISCHER                     AR     90013829622
2B295A21A5715B   PABLO         FLORES                      VA     90012200210
2B295A53151336   JEFFREY       RILEY                       OH     90010880531
2B296A6844B261   PRESTIN       HORNE                       NE     90010410684
2B297139A81637   ALLYSUN       OTT                         MO     29079511390
2B29722474B588   AMBER         TAFT                        OK     90008992247
2B2975AA34B521   THOMAS        COOK                        OK     90011025003
2B29787355B161   JONIE         BLOCK                       AR     90011808735
2B2978A3672B98   KRISTINA      BUNCH                       CO     33077638036
2B29792A42B892   ROSA          GUERRERO                    ID     90013059204
2B29869715B271   HOLLY         BRYANT                      KY     90002306971
2B298763372B42   ANTHONY       VIGIL                       CO     90008767633
2B299156191582   CEJA          KARLOS                      TX     90001541561
2B299256A72B42   MIRANDA       STEWART                     CO     90010772560
2B2994A695B161   MILTON        WATSON                      AR     23078084069
2B29957A691589   WILLIAM       CUETO                       TX     90010615706
2B2997A9784364   BRITTANY      COULSTON                    SC     90008137097
2B299894557157   MOVIN         MINOR                       VA     90011048945
2B29B19865B167   MARY E        WILLIAMS                    AR     90014851986
2B29B47515B271   QUENTON       MULLINS                     KY     68071654751
2B29B485991241   DOMINICK      FUTCH                       GA     90013224859
2B29B54828B17B   ANTHONY       FREESTONE                   UT     90010415482
2B29B783857157   JENNIFER      DITH                        VA     90013127838
2B29B97A79189B   PRENTICE      SELLS                       OK     90014669707
2B29BA9A272B42   ANGELA        CORDOVAL                    CO     33043940902
2B2B119832B892   TERESA        WINKLER                     ID     42023731983
2B2B121A38B334   NIESHA        TOMAS                       NC     90009282103
2B2B159A64B588   MONIQUE       SADLER                      OK     21552515906
2B2B19AA955941   ROBERT        COTA                        CA     90003899009
2B2B1A86381637   VICKIE        BLATT                       MO     29074210863
2B2B2131591528   SERGIO        GIJON                       TX     75091911315
2B2B236627B666   DEBORAH       TALLEY                      GA     90013183662
2B2B2384351343   LATRICIA      LEWIS                       OH     90004903843
2B2B239164B588   MARIA         ESCALERA                    OK     90012963916
2B2B242145B571   JUAN          CARRASCO                    NM     35012594214
2B2B25A4372421   TRACY         FREEDLINE                   PA     51010125043
2B2B27A712B892   ROBERT        BURTON                      ID     90004047071
2B2B287272B27B   AIDA          OLKKONEN                    VA     81026248727
2B2B293337B386   PATRICK       WARREN                      VA     90008839333
2B2B296467B449   ERICKA        MILLER                      NC     90003119646
2B2B3197231631   BOBBY         SANDERS JR                  KS     22046201972
2B2B3236A8B334   BRANDON       HUNTER                      SC     90010352360
2B2B335755B161   ANGELA        LEWIS                       AR     23034493575
2B2B3394674B79   JASON         MONIGOLD                    OH     90013973946
2B2B341262B892   RANDI         COWAN-DALTON                ID     90013034126
2B2B3635485988   ANDRE         LAROQUE                     KY     90002366354
2B2B3646191828   CORY          CRENSHAW                    OK     90008376461
2B2B365377B633   TRAVIS        STEELE                      GA     90002866537
2B2B3678572B98   JORGE         HERNANDEZ                   CO     90011866785
2B2B3776985938   CORITTA       ROBERTS                     KY     90013377769
2B2B3812331453   LADONNA       GILMORE                     MO     90014838123
2B2B387665B167   LUCY          RIOS                        AR     90008908766
2B2B413712B892   MARIO         ROJAS                       ID     42010811371
2B2B44A7831453   MELISSA       VILLARS                     MO     27536884078
2B2B46A4987B21   ADAM          JOHNSTON                    AR     90013926049
2B2B4731755957   RAFAEL        ZARAGOZA                    CA     90000657317
2B2B483715B271   JOANN         STOBER                      KY     68089668371
2B2B4916272B98   GUILLERMO     CASTRO                      CO     90000889162
2B2B491835B271   VONTASIA      LYN                         KY     90013829183
2B2B4973685938   BRITTANY      RAMIREZ                     KY     90015019736
2B2B524AA87B87   JAMESE        SWYGERT                     AR     90014582400
2B2B5257691828   SANDRA        GUERRA                      OK     21087702576
2B2B5324791241   MITHCELL      LAND CORP                   GA     14536513247
2B2B5345191541   JORGE         VASQUEZ                     TX     75034233451
2B2B5658751343   FEDERICO      TORRES                      OH     90009896587
2B2B5781376B56   MAYRA         BRAVO                       CA     90014067813
2B2B5891951337   KEESHA        JACKSON                     OH     90011608919
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2B2B595A672421   DAKOTA       PATRICK                      PA     90014549506
2B2B627599184B   GARY         MCKINNEY                     OK     90007362759
2B2B6328451336   JAVIER       TORRES                       OH     90014113284
2B2B6397191592   FERNANDO     URIAS                        TX     75092283971
2B2B6576171948   DANIELLE     BUCKNER                      CO     90014415761
2B2B66A9291251   RICHARD      DUNSTON                      GA     90004696092
2B2B6711491241   TILWONER     WILLIAMS                     GA     90013127114
2B2B686A39794B   PEDRO        GARCIA                       TX     90006948603
2B2B731832B839   COREY        THOMAS                       ID     90013943183
2B2B7321451336   JOSEPHINE    STRINGER                     OH     66092123214
2B2B73A775B271   BETHANY      TAYLOR                       KY     68085083077
2B2B7456891541   JAVIER       RAMIREZ                      TX     75089844568
2B2B7482991528   PAYAN        E ELENA                      TX     75008124829
2B2B755A391241   FRANK        STINEY                       GA     90015325503
2B2B75A292B892   ROXANA       NAVARRO                      ID     90013935029
2B2B7638491592   OLIVIA       HERMOSILLO                   TX     90010966384
2B2B771A85715B   VINCENT      MILLER                       VA     90013047108
2B2B7743387B21   SAMANTHA     WHITE                        AR     90009087433
2B2B7832681661   TANISHA      HENDRICKS-BELL               MO     90009998326
2B2B784A64B281   LUIS         ARAGON                       NE     90014168406
2B2B831522B892   JON          EVERITT                      ID     90007953152
2B2B847994B588   SHARON       KURTZ                        OK     21591574799
2B2B8567291522   ELVA         HERNANDEZ                    TX     90014405672
2B2B8979655941   JAZMIN       IRENE SOTO                   CA     49049729796
2B2B9111847952   ZACKARY      STEINMETZ                    AR     90013901118
2B2B92A965B167   ADRIAN       GRAY                         AR     90009862096
2B2B9384587B21   CONNOR       FRAZIER                      AR     90015243845
2B2B9994647952   MISTY        WALTERS                      AR     24089179946
2B2B9995951343   MAYRA        RODRIGUEZ                    OH     90011579959
2B2BB312891592   PATRICIA     SUTTON                       TX     90014993128
2B2BB34384B281   LORI         MERRILL                      IA     90014553438
2B2BB58293B131   JONATAN      HERRERA                      VA     81017855829
2B311152A81637   MATEO        POLING                       MO     29025531520
2B31128135B271   TRAVONE      MARSHALL                     KY     90015152813
2B31178452B931   ANA          HERNANDEZ                    CA     45035317845
2B311AA137B471   CHRISTINE    CALDWELL                     NC     11075050013
2B312143291522   ALBERTO      HERNANDEZ                    TX     90013261432
2B31225514B245   LISA         MARTIN                       IA     27030142551
2B31249312B892   DONNA        TELDESCHI                    ID     42002144931
2B3125A7372B98   SOCORRO      GAYOSSO                      CO     33013845073
2B31267A231631   TRINA        CAREY                        KS     22039026702
2B3126A3485988   ASHLEY       ENGLE                        KY     90013156034
2B31271314B281   SANDRA       MAYS                         NE     90001097131
2B312927291241   CHALON       BENTON                       GA     90002679272
2B313246731631   JENNIFER     MONTANEZ                     KS     22061872467
2B3132AA38B334   DANIEL       VILLALVAZO                   NC     90013932003
2B313426831433   MONICA       BAILEY                       MO     90008994268
2B313435891828   MENHYON      TAYLOR                       OK     90014354358
2B313934A4B245   ROLANDO      HERNANDEZ                    NE     27004609340
2B31419685715B   CARLOS       ESCOBAR                      VA     90011691968
2B3142A154B245   JAMES        LEWIS-HYTREK                 IA     90011012015
2B31512932B839   MISTY        MAYO                         ID     90001341293
2B315164761877   DANIEL       MEYER                        IL     90015371647
2B315251157157   JESUS        ARREGUIN                     VA     90014972511
2B315297291241   TASHERA      ROBINSON                     SC     90014752972
2B315398384364   BRIAN        DUNN                         SC     19045583983
2B315441A4B588   MISAEL       CRUZ                         OK     90013794410
2B31546115B167   MARIA        PLANT                        AR     90014564611
2B315486685946   GLENN        DALSANTO                     KY     66098324866
2B31555187B449   VANDANA      AHMED                        NC     90001145518
2B31576812B892   ALLISON      CONLEY                       ID     90013067681
2B3157A516147B   FERNADO      PABLO                        OH     90014247051
2B3158AA69189B   APRIL        PHILLIPS                     OK     90014688006
2B315A78772B42   CHARLES      ROBERTS                      CO     90012730787
2B316592155957   ALICIA       BURTON                       CA     48004455921
2B31659A99376B   JAZZIE       PIGGIE                       OH     90005155909
2B31682964B588   ZANDRA       SMITH                        OK     90009648296
2B316935972B42   SHANE        GEYER                        CO     90002409359
2B317217191541   ROGELIO      SOTO                         TX     75037802171
2B3172A754B245   BOBBIE       FRAZIER                      NE     27047722075
2B31737A891828   TERESA       MENDOZA                      OK     90012913708
2B3173A312B839   MARIBEL      NEVAREZ                      ID     90010883031
2B31779475B167   CAMERON      MCGEE                        AR     90013797947
2B317943957157   GLORISMEL    PENA                         VA     90000879439
2B317A23991592   MARTHA       MANRIQUEZ                    TX     90006150239
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2B317A8A184364   TAJAVIOUS    WILLSON                      SC     90011090801
2B318247791885   GEORGINA     FLOREZ                       OK     90009972477
2B318435457157   ROXANA       LOPEZ                        VA     90010684354
2B31845492B839   PRISCILLA    BARRIENTES                   ID     42005764549
2B31847414B261   WAZARIATOU   OURO-BERE                    NE     27070274741
2B31868337B449   DONALD       WOOLARD                      NC     90014886833
2B318992A31631   BARBARA      ADAMS                        KS     22096399920
2B318A1515B167   JASON        RODRIGUEZ                    AR     90014800151
2B318A45291592   MANUEL       ALVAREZ                      TX     90010220452
2B31919155715B   JOSE         HERNANDEZ                    VA     90007131915
2B31934555B167   TABITHA      MCCAULEY                     AR     90013833455
2B319383951343   TARA         TELINDA                      OH     90007323839
2B31939AA71948   GARY         MARTINEZ                     CO     32078783900
2B31966A591251   ANGELA       BRUTTON                      GA     14515666605
2B319767A4B588   ELMER        CARRETO                      OK     90013477670
2B31983848B334   BETZY        MORCILLO                     SC     11054828384
2B319849A54B89   CHASE        PHILLIPS                     VA     90015068490
2B319913272B98   JACOBO       VAZQUEZ                      CO     90014349132
2B319918441245   KATHRYN      SIMS                         PA     51037669184
2B31B124881661   LEONARD      CRUCES                       MO     90013831248
2B31B29895B161   ANDREW       FARMER                       AR     90007262989
2B31B463587B59   ANDREW       MCCLUSKY                     AR     23007854635
2B31B689A7B449   JESSICA      DRAYTON                      NC     90013176890
2B31B84285B167   WHILLIAM     HENDERSON                    AR     90014288428
2B31B84A272421   HEATHER      LOUGHLIN                     PA     90013828402
2B31B89477B471   PAUL         MAY                          NC     11097058947
2B31B9A6A91528   MARTINEZ     JOANN                        TX     90010299060
2B32178618B334   JESSICA      HALL                         SC     90000527861
2B321863A51343   ARNITA       JENKINS                      OH     66038958630
2B322159476B62   EZAU         MARTINEZ                     CA     90001251594
2B32225A45715B   ALFREDO      MENDOZA                      VA     90011692504
2B322279172421   DESIREREA    SERENA                       PA     90001982791
2B322753351343   DARRON       GRAHAM                       OH     90005117533
2B32319749794B   JEROME       BALDWIN                      TX     90000501974
2B323551A7B471   RONALD       WILLIAMS                     NC     90013875510
2B32364A891592   ROLANDO      RUBIO                        TX     90014196408
2B32368542B839   SAMUEL       BACA                         ID     90014156854
2B323816691241   MARY         NAVA                         GA     90014388166
2B32381939189B   MARLA        ROYAL                        OK     90011228193
2B32391974B588   NATHAN       COTNER                       OK     90000739197
2B323985584364   SHONTA       JONES                        SC     90014059855
2B324251A47952   TIK          MANITHONG                    AR     90000972510
2B32428A351336   MICHEAL      MCMILLEN                     OH     90013802803
2B324899581637   D            JAMES                        MO     29066868995
2B32524229184B   SHANNON      MORIN                        OK     90004002422
2B32535435B271   RHONDA       SWOPE                        KY     90013893543
2B325489A7B449   ANGELICA     DOVENMUEHLE                  NC     90013914890
2B32571564B588   NIKKI        CRUMPTON                     OK     90008627156
2B32577917B449   ANGELICA     DOVENMUEHLE                  NC     90011127791
2B3258AA74B281   LETITIA      CHANEY                       NE     27047638007
2B325921297B58   JULIETTE     WATT                         CO     90014739212
2B326765557157   JULIO        CAMACHO                      VA     90013047655
2B326873A4B588   SUSANA       ROSALES                      OK     90007848730
2B326972471948   DORI         BROWN                        CO     32045979724
2B3269A879189B   DIANA        SANTIBANES                   OK     21079599087
2B326A47281637   MARIA        PEREZ                        MO     90009600472
2B327321691828   SANTELL      SPEARS                       OK     90010653216
2B32761975B531   ALMA         ROCHA                        NM     35016316197
2B327783A87B21   KRISTOPHER   FLYNDER                      AR     90015557830
2B327815172B38   MINDY        VALDEZ                       CO     90006888151
2B327A1A351343   DAVINA       STACY                        OH     66034180103
2B327A6515B161   TAWANNA      WILSON                       AR     23002490651
2B32829785B167   BRANDON      PATTERSON                    AR     90011432978
2B328437974B79   ELIZABETH    HIGHLAND                     PA     90011574379
2B328439284364   KEYONDRA     LEE                          SC     90009684392
2B32845A391522   ANDREA       LICON                        TX     90014674503
2B328A35791828   JASAM        MIRANDA                      OK     90013310357
2B328A8944B281   LARRY        GASTON                       NE     27017290894
2B329435A57157   HEREMIAS     BARRIOS                      VA     90014884350
2B329651485965   CAITLANDT    BILL                         KY     90011516514
2B329698491522   WREN         LEANNE                       TX     75065586984
2B329921691592   SERGIO       VALLES                       NM     90002839216
2B329978657157   DE ANA       COX                          VA     90007559786
2B329A94491541   MERY         DEWANE                       TX     75036370944
2B32B152A81446   DAKOTA       LINDSTROM                    PA     90014081520
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2B32B49872B839   JOSE            VAZQUEZ                   ID     90006374987
2B32B54912B892   SOPHIA          GUAJARDO                  ID     42000765491
2B32B64919189B   NANCY           ARZOLA                    OK     90011226491
2B32B923287B87   MOSO            FOSTER                    AR     90011789232
2B32B962A9184B   JESSICA         MACIAS                    OK     90009859620
2B33116A171948   MARGARET        FERGUSON                  CO     90008811601
2B33118674B281   AMANDA          WAKEFIELD                 NE     27011241867
2B33166717B323   MATTHEW         ALVERY                    VA     90005026671
2B331961181446   JON             SLYE                      PA     90015089611
2B331A9569189B   SABRINA         SPENCER                   OK     90013580956
2B3323A3671948   MARIA           HERNANDEZ                 CO     90010413036
2B33262462B839   JOSE            CHI CORDERO               ID     90015216246
2B332918681668   MATTHEW         RAMIREZ                   MO     90012509186
2B33314849184B   NATISHA         HALL                      OK     21003591484
2B333174584364   AMBER           JAMES                     SC     19009651745
2B33326632B892   JAME LARRY JR   SNELL                     ID     90004572663
2B333426485965   TONYA           DEITZ                     KY     66041784264
2B33352A672B98   FIDENCIO        HERNANDEZ                 CO     90014185206
2B333838685938   QUENESHA        MCADOO                    KY     90014548386
2B334451347952   BEATRIZ         ROQUE                     AR     90014944513
2B3344AA39184B   TRIKEISHA       CALLOWAY                  OK     90014034003
2B3348A184B281   SAMUEL          BELTRAN                   NE     90012528018
2B335131A84364   SHAVON          HEYWARD                   SC     90011091310
2B33516A98B334   EMMA            GARY                      SC     90010031609
2B3353A1791522   CRISTINA        DIAZ                      TX     75024783017
2B335738987B21   KELLY           MITCHEL                   AR     90015567389
2B335819487B59   CARL            JACKSON                   AR     90010998194
2B335898A71923   JASON           PARRY                     CO     90012818980
2B33599179184B   COURTNEY        JAMES                     OK     90014299917
2B336169772421   ANTHONY K       KANKOSKI                  PA     90005441697
2B3361A769794B   DESTINY         DIAZ                      TX     90014911076
2B33636972B839   ROBERTO         ARAIZA                    ID     90013943697
2B33662A82B27B   OCTAVIUS        BOLER                     DC     90014756208
2B336829977355   NANCY           ROBLES                    IL     20589258299
2B336893985938   CHARLOTTE       BUTLER                    KY     67000488939
2B336A3734B588   DUSTIN          LEWIS                     OK     21579280373
2B337154147952   CHARLES         SHIRLEY                   AR     24034881541
2B337381191522   LESLIE          MUNOZ                     TX     90011813811
2B337411191541   JUAN            ESTRADA                   TX     90015134111
2B337456A5B161   RHONDA          ALARIAN                   AR     90011814560
2B33771A72B892   JORDAN          REYES                     ID     90011827107
2B337847572B42   JORGE           SOTO-CHAVEZ               CO     90012088475
2B33791227B449   KENDLE          MCGILL                    NC     90014819122
2B337A81591541   RICARDO         RUIZ                      TX     90013800815
2B338333631453   BOB             ARNSPERGER                MO     90014973336
2B33834552B839   SKY             COSTEN                    ID     90014773455
2B33844A191592   STEPHANIE       DELGADO                   TX     90010274401
2B338644855931   ADELA           FREGOSE                   CA     90001346448
2B33875A82B892   YVETTE          MUJAWAYUHI                ID     90012447508
2B33891319794B   DARRICK         HENDERSON                 TX     90013829131
2B339167261995   MARIA           TREJO                     CA     90005361672
2B339281651343   MICHAEL         WALLACE                   OH     90004932816
2B339AA599184B   JOSHUA          YOUNG                     OK     90010220059
2B339AA775B167   ROBERT          WEBB                      AR     23016390077
2B33B3A8A9794B   GRACIELA        RODRIGUEZ                 TX     90012853080
2B33B435784364   SHALEKA         GATHERS                   SC     90007004357
2B33B855887B59   JO              GREER                     AR     23039478558
2B33B876272421   MELISSA         JUKES                     PA     90014138762
2B341356785988   MARBELLA        GONZALES                  KY     90013233567
2B34191227B449   KENDLE          MCGILL                    NC     90014819122
2B341925141365   MICHELLE        JOHNSON                   MA     90010879251
2B341992581637   JULIE           ELLISON                   MO     90014189925
2B341A41591592   ESTER           CHAVEZ                    TX     90011150415
2B34227674B588   KARKEN          MCCUTCHEN                 OK     90001862767
2B342339191522   JO ANNE         GOMEZ                     TX     75085263391
2B34238A981637   BRITTANY        NUNEZ                     MO     90007693809
2B342772455957   JOSE CARLOS     CUERLLA                   CA     90011877724
2B3427A2891592   FLORENCE        MYRA                      TX     75053407028
2B343423951365   JOEY            PORTER                    OH     66053984239
2B343626531631   AUSTEN          WRIGHT                    KS     22008726265
2B34372174B588   DOUG            RICHEY                    OK     90015487217
2B34372217B449   MARIA           SAAVERDRA                 NC     11065357221
2B343749391592   AUDON           ROSALES                   TX     75065607493
2B34376114B261   ANGELA          VASQUEZ                   IA     90011257611
2B3439A775B167   KELLY           MCCULLOCH                 AR     90012909077
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2B343A41657157   ALHAJL         CONTEH                     VA     90014360416
2B34455528B334   NOEOMI         MORRISON                   NC     90002505552
2B34512A64B261   WILLIAM        HENDERSON                  NE     27015841206
2B34538138B334   QUA            RICHARDSON                 SC     90003623813
2B34576479794B   EBONY          RAY                        TX     90014277647
2B345792787B21   TAMMIE         KEELING                    AR     90015567927
2B34598164795B   JOSHUA         WILSON                     AR     25066229816
2B346289971948   KIMBERLY       MONGE                      CO     32067792899
2B346336455941   CRYSTAL        MOBLEY                     CA     90012823364
2B34651864B261   RILINDA        HELDART                    IA     90014765186
2B346665A84364   YANETH         PAZ                        SC     90003176650
2B346789172421   NICOLE         WARSING                    PA     90015137891
2B3468A7531453   TAYONDA        GARRETT                    MO     27561598075
2B347131A84364   SHAVON         HEYWARD                    SC     90011091310
2B347141585938   MICHAEL        CARTER                     KY     90011321415
2B3471A6651255   VENICIA        VELASQUEZ                  KS     90014071066
2B3476A1491541   JOANNE         MUNOZ                      TX     90000146014
2B3477A2972B98   PRISILLA       FERRER                     CO     90011727029
2B34792774B281   ROSA ISELA     BENITEZ AVILA              NE     90014179277
2B34795485715B   EDELMIRA       SALAZAR                    VA     90012319548
2B34812AA5B167   EDNA           PEEL                       AR     90007221200
2B34848225B356   SHARON         DIETER                     OR     44531294822
2B348528577568   MONIQUE        CRUZ                       NV     90014925285
2B348637A72B98   EDWARD         ROJAS                      CO     33041566370
2B348723455941   RIP            WASHINGTON                 CA     90010037234
2B3487A8491592   CLAUDIA        LANDEROS                   TX     90010627084
2B348982A47952   DAVID          ARENA                      AR     90013839820
2B348A99541245   ANNE           BEIBER                     PA     51039540995
2B34913159189B   CLARISSA       SCHMECKPEPER               OK     90014671315
2B34916262B931   DENNIS         LOVEALL                    CA     90006451626
2B349232285988   APRIL          EXUM                       KY     90013242322
2B34928672B892   TERRY          STEELE                     ID     42048232867
2B3494A755B167   SHATIA         WARFIELD                   AR     90005884075
2B349654155957   TINA           GARNICA                    CA     90006046541
2B349736971948   ALEXANDER      TENNISON                   CO     90014167369
2B349971755941   DEBBIE         WEST                       CA     90012129717
2B34B8A479184B   DIEMIEN        SHOPLICK                   OK     90009368047
2B34BAA822B892   SHEILA         PRIVETT                    ID     90014980082
2B351121185965   OLIVIA         DONEGAN CRROK              KY     90011091211
2B351152772B98   SUT            E                          CO     90012791527
2B351219872B98   BRIZA          MARTINEZ                   CO     90014762198
2B3512A649794B   ALEJANDRO      MEDRANO                    TX     90014172064
2B351418985988   NEVIL          BOND                       KY     67087824189
2B35143A591828   MARY           STUBBS                     OK     90009544305
2B35189165B271   T              DIRTY                      KY     68024988916
2B352159A91828   ERICA          DEMPSEY                    OK     90010241590
2B3528A6A5B271   JOHN           DOEL                       KY     90014098060
2B352965891592   CLEOTILDE      CASAS                      TX     75094069658
2B353266191241   CHARLES        ROBERTS                    GA     90012912661
2B353337585938   JOSE           NINO                       KY     90015153375
2B353742471948   ELIVIS         CALEDERON                  CO     90014167424
2B35375685B167   LAMOND         JACKSON                    AR     23084317568
2B35412A52B27B   ROSA           BARRERA                    VA     90004521205
2B35427695B161   NICOLE         RELEFORD                   AR     90009362769
2B354339881661   TIM            CLIFTON                    KS     90015243398
2B3545A1855994   PINKIE         PIRTLE                     CA     90013375018
2B354851A4B281   JOSEPH         CONDE                      NE     90014188510
2B355232A84364   MARQUIS        JUDGE                      SC     19009622320
2B355414931631   RONALD         TWEED                      KS     90009654149
2B355617787B87   OSCAR          LEFLORE                    AR     23051326177
2B355749471948   ELIZABETH      PORRAS                     CO     32040657494
2B355A83172B25   DEMETRIUS      STRONG                     CO     90010100831
2B356154272B98   NATALIO        ROMO                       CO     90013131542
2B35623635715B   JEANNETTE      OBANDO                     VA     90008282363
2B356376197B58   ANTHONY        LEYBA                      CO     90014843761
2B35646A351343   DAWN           SHORT                      OH     90013954603
2B3568AA147952   LETICIA        MARTINEZ                   AR     24073588001
2B3568AA191592   SAWYER ELSA    ELSA                       NM     90007518001
2B35718684B592   CARNELIUS      SIMON                      OK     90014761868
2B357257291828   GUSTAVO        MORALES                    OK     90003562572
2B3573A9991522   DANIEL         ALEMAN                     TX     75015353099
2B357854631453   CAROLYN        LOLLIS                     MO     90010288546
2B357864572B98   MA DEL ROCIO   GUTIERREZ-DAMIAN           CO     90012668645
2B357A3442B892   SAMUEL         COOPER                     ID     90013410344
2B357A37761982   ROBERT         BOLDEN                     CA     46041510377
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1494 of 2350


2B358161555941   SANDRA       MARQUEZ                      CA     49002371615
2B3582A264B261   MICHAEL      NOUN                         NE     90008182026
2B358416591828   KIMBERLY     POPE                         OK     90013704165
2B358456393754   ALISHA       WILLIAMSON                   OH     90006694563
2B358947351561   MISTY        CARICO                       IA     90014629473
2B358A23191828   KIMBERLY     HOPE                         OK     90012050231
2B35913159189B   CLARISSA     SCHMECKPEPER                 OK     90014671315
2B35935534B261   BILLY JOE    PINALES                      NE     27008483553
2B359452772B98   JACKIE       HERRERA                      CO     90004794527
2B359584157157   VALENTIN     CASTANEDA                    VA     81093375841
2B3595A9172B42   FELISHA      MALINOSKY                    CO     33085195091
2B359654584359   EZETTA       GIBBS                        SC     90007766545
2B35981A55B167   TYRONE       HAYNES                       AR     90014378105
2B359A64985938   CALEB        GRIMES                       KY     90013190649
2B35B31665B271   EDWARD       MILLET                       KY     90001093166
2B35B559272B42   GABRIEL      ARELLANO                     CO     33024295592
2B35B61129189B   GRACIE       PARSON                       OK     21035376112
2B35B624831631   ALAN         MEYER                        KS     22003886248
2B35B88625B531   SHELIKY      SANCHEZ                      NM     90010748862
2B35BAA7A2B892   LAMBERTO     OVIEDO                       ID     90013320070
2B3612A162B27B   SHANNON      WALLACE                      DC     90004792016
2B36133A572B42   HEATHER      BANEULOS                     CO     90014623305
2B3613A615B259   MONICA       CARTER                       KY     68085583061
2B361486751343   EDGAR        ORTIS                        OH     90013954867
2B3617A7A7B471   WENDY        STEVENSON                    NC     11048387070
2B36193934B281   MICHEL       PAYNE JR                     NE     90014179393
2B36197A44B261   IMELDA       BECERRIL                     NE     27015539704
2B361A85274B79   TARA         THOMAS                       PA     90010920852
2B362197172B42   KACY         MCMILLIN                     CO     90014841971
2B36226857B471   PEARLINE     HARRIS                       NC     90011702685
2B362362A7B449   MARIA        RODRIGUEZ                    NC     11074473620
2B362647591592   JUAN         CASTILLO                     TX     90012866475
2B36285694B588   MARIA        AGUAYO                       OK     90011138569
2B36293665B167   CHRISTIE     RICHARDSON                   AR     23062379366
2B36334A991582   RUBEN        ALMANZAR                     TX     90011183409
2B3633AA64B588   MARTHA       BORJAS                       OK     90009403006
2B36369525715B   AURELIO      ARIM                         VA     90012046952
2B36389249794B   MARGARITA    BARRIOS                      TX     74051028924
2B3645AA74B281   TINA         RIEHLE                       NE     90002785007
2B364698151343   COURTNEY     FELDHAUS                     OH     90013086981
2B364779871948   BRENDA       CASTRO                       CO     90014167798
2B36511314B581   CALISTA      HULLETT                      OK     90011211131
2B36517544B521   JOSE         CASTILLO                     OK     90011221754
2B365364391828   MICHAEL      BENNETT                      OK     90013163643
2B365376372B98   TAMARA       MYERS                        CO     90001183763
2B36545954B281   JANO         AHMED JAMA                   NE     90011644595
2B3657A9281637   SAMUEL       ARELLANO                     MO     90013247092
2B36582219189B   KELLY        DENNISON                     OK     21000298221
2B36588A74B245   ROSENNE      OLSON                        NE     90010218807
2B36589535715B   ANTONIETTE   JONES                        VA     90010058953
2B3659A167B639   GEREMIAS     HERNANDEZ                    GA     90006429016
2B36616262B931   DENNIS       LOVEALL                      CA     90006451626
2B36627695B167   JOSEPH       HOLLIS                       AR     23098002769
2B366296A4B261   RICHARD      PHILLIPS                     NE     90011032960
2B3662A6772421   ANGELA       LAMBERSON                    PA     90005542067
2B36639A172488   EMILIE       GREINER                      PA     90011413901
2B36646649184B   LUIS         SOLIS                        OK     90009964664
2B366A44185988   BRITTANY     SHINDLEBOWER                 KY     90015310441
2B36716433B275   LAMIKA       DOBSON                       DE     90009881643
2B36746454B261   JUAN         GUEVARA                      NE     27035134645
2B367569584344   CORDERRIO    WILLIAMS                     SC     90014155695
2B3675A949184B   GAIL         WRIGHT                       OK     90000695094
2B367829387B21   VALARIE      CLIFTON                      AR     90014308293
2B367A42871948   IVAN         ARMENTA                      CO     90013070428
2B368169191528   MARCOS       GONZALEZ                     TX     75014781691
2B368324185965   MARLENE      GARCIA                       KY     66000863241
2B36834355B167   RICKEY       BOWDEN                       AR     90014873435
2B368792787B59   SHASHANA     WARFIELD                     AR     23028747927
2B36885687B449   MARTAYZA     BARNES                       NC     90006168568
2B368A9359189B   DAVID        BICKLE                       OK     21070230935
2B36922135593B   GABRIEL      MARTINEZ                     CA     90004732213
2B3693A125B255   KELLY        STITH                        KY     90013693012
2B36965375B167   JIMMY        LAMERE                       AR     90011426537
2B36969754B281   TANEA        HOLT                         NE     90008106975
2B369845181637   ROGER        MCCLAIN                      MO     90011538451
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2B3698A3A91525   COUNTS        ROBERT                      TX     90004118030
2B36B22968B137   JENNIFER      BARNES                      UT     31033122296
2B36B68362B839   AGUSTIN       OLVERA                      ID     90012326836
2B36B732491541   TANYA         KENNEBREW                   TX     90009887324
2B371A21593773   ZACHERY       KILBY                       OH     90009070215
2B372153A93773   JESSICA       JOHNSON                     OH     64515641530
2B372462271948   CHERIE        CLARK                       CO     90006794622
2B372669A2B892   JULIE         WALLACE                     ID     90013076690
2B373143A51343   LACRESA       THOMPSON                    OH     90005241430
2B3732A3341245   SHARON        KNIGHT                      PA     90000382033
2B37341859794B   MARIO         CAMACHO                     TX     90006524185
2B373852187B59   BARBARA       BESS                        AR     23069898521
2B373888491528   VICK          ZEPEDA                      TX     90005918884
2B374122157157   ROLANDO       HIPOL                       VA     81027921221
2B3741A8191522   VALERIE       ALVARA                      TX     75008801081
2B37431884B588   MICHAEL       GUTIERREZ                   OK     21551753188
2B37449A891522   HAGCO         REYES                       TX     90004954908
2B374672672B98   JUDY          MORGAN                      CO     33070646726
2B3747A1991B35   REYMUNDO      LOPEZ                       NC     90015417019
2B3748AA191592   SAWYER ELSA   ELSA                        NM     90007518001
2B374948147952   ELIZABETH     LINCKS                      AR     24000149481
2B374984587B21   HEATHER       THOMPSOM                    AR     28006079845
2B374989785988   RIGOBERTO     LOPEZ                       KY     90005579897
2B37499862B839   NEVA          NOE                         ID     90012409986
2B374A35A2B839   NEVA          NOE                         ID     90014000350
2B37559298B17B   STEFFEN       SOLLER                      UT     90010415929
2B375598791592   MIKE          MARTINEZ                    TX     75006075987
2B37569314B281   JOHNARIA      ELLINTON                    NE     27089066931
2B37591329184B   MARISSA       MILES                       OK     90005439132
2B375989871948   MICHAEL       ZAPATA                      CO     32042869898
2B375A11193767   SHANIECE      EVANS                       OH     90004970111
2B375A86885988   JENNIFER      ISAACS                      KY     67032310868
2B376144181661   ASHLEY        INGELS                      MO     90002641441
2B376441487B59   TRUMORROW     RAINY                       AR     23005134414
2B376669A2B892   JULIE         WALLACE                     ID     90013076690
2B37667164B588   STORMY        WALKER                      OK     90013786716
2B3766AA35B161   ASHLEY        HARRIS                      AR     90011816003
2B37681779184B   EDDIS         FRAIRE                      OK     90010368177
2B376A76A31453   SHANICE       GRANT                       MO     27581970760
2B377137771948   DAVID         HARRIS                      CO     90012471377
2B37733469184B   BARBARA       ARTHUR                      OK     90014263346
2B377339685988   CHARLES       VANCLEVE                    KY     90013413396
2B3775A8257157   RICHY         SMITH                       VA     90015035082
2B377669A2B892   JULIE         WALLACE                     ID     90013076690
2B377AA665B271   CHONNA        MASON                       KY     68013250066
2B378198255957   GABRIEL       AYALA                       CA     90007611982
2B378218431631   SHEILA        MORENO                      KS     22014442184
2B37826417B699   TAWANA        RAGLAND                     GA     15055142641
2B378475A87B21   THOMAS        ANDERSON                    AR     90013874750
2B378673681637   KIM           MARTIN                      MO     29013796736
2B378727355957   GABRIEL       AYALA                       CA     90012157273
2B37875865715B   OMAR          CANALES                     VA     90012797586
2B3792A855B271   MICHELLE      WARR                        KY     68013252085
2B379327171948   MAGALI        DIAZ                        CO     90006803271
2B37936669794B   THERINA       TAYLOR                      TX     90007653666
2B3793A2855941   ERIBERTO      GUZMAN                      ID     49024653028
2B3793A7291522   JORGE         COBIAN                      TX     75017853072
2B37941195B571   ESCAMILLA     ALEJANDRA                   NM     90007194119
2B379729774B79   BYRON         SEGLE                       OH     51083797297
2B37995139189B   OTILIA        BAUTISTA                    OK     21015669513
2B37B33957B471   EBONIE        MOODY                       NC     90007053395
2B37B41744B267   PAUL          FISCHER                     NE     90004004174
2B37B53A987B59   SYLVIA        JONES                       AR     90014315309
2B37B862451361   AMANDA        WORKMAN                     OH     90010568624
2B38116284B588   LEEMARCUS     GROVE                       OK     90012721628
2B381388191592   LUIS          DIAZ                        TX     90012833881
2B38151317195B   ANTHONY       WARFIELD                    CO     90010265131
2B3817A994B281   JAYMIE        FOYNN                       NE     90009967099
2B381889887B59   ANGEL         PREE                        AR     90010108898
2B38194A74B245   JERRET        POINTS                      IA     90009679407
2B381A43241245   ELIZABETH     SIWO                        PA     51087900432
2B382117731694   ELEUTERIO     MEDEROS                     KS     22051491177
2B3821A915B271   JULIE         PETERSON                    KY     68084071091
2B38224514B261   RICHARD       ROGERS                      NE     27016072451
2B382356691592   CRISTINA      BUSTAMANTE                  TX     90014813566
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2B3826AAA4B281   MARIA          BOJORQUEZ                  NE     27085896000
2B382A59651343   LISA           ROSS                       OH     90012970596
2B382A79A85938   HEATHER        HILTON                     KY     67056850790
2B383157A9189B   MARIA          LUCENA                     OK     90014671570
2B383264381661   CHRISTOPHER    YOUNG                      MO     90012092643
2B383316191592   JOSE           LOPEZ                      TX     75095623161
2B383429A72421   DONNA          JACK                       PA     51067854290
2B383745431453   MONICA         LEGGETTE                   MO     27564637454
2B383885791828   SHAWNA         BRIDGES                    OK     21094278857
2B38397A24B245   MANUEL         BRAVO                      NE     27023929702
2B3842A3A7B449   JOANA          ESCOBAR                    NC     90005382030
2B3844A8881637   STEPHEN        JOHNSON                    MO     90013634088
2B384647387B59   DANTRIONE      MIXON                      AR     90012266473
2B38526A72B892   SEAN           ROSADO                     ID     90013452607
2B38542785B167   CASEY          THOMAS                     AR     90014364278
2B385772174B79   TERRI          SHRIVER                    OH     90011997721
2B38584827B471   JUAN           ANDRADE                    NC     90010818482
2B385868591522   GILBERT        CANALES                    TX     75065918685
2B386197891522   OSCAR          GUERRERO                   TX     90010111978
2B386533872B98   PAUL           WILLIAMS                   CO     90014185338
2B386766931453   KAREN          MCKINNEY                   MO     90014957669
2B38696534B588   CATHALEEN      BOWEN                      OK     90009769653
2B386A1A39184B   MARK           CUSTER                     OK     90009150103
2B38715449184B   BROOKE         WASHINGTON                 OK     90014741544
2B387573172421   JEFFREY        STEIN                      PA     90014165731
2B3875A4A9184B   RITCHIE        GRIFFIN                    OK     90014715040
2B387A18191592   ELIZABETH      GUTIERREZ                  NM     90014650181
2B387A76A76B67   DAVID          PASTRANA                   CA     90014110760
2B388217A47952   ERIC           MOORE                      AR     90012242170
2B3882A517B425   MARIA          BOL                        NC     90013872051
2B3882A6872421   ROBERT         HOLT                       PA     90006832068
2B388745651343   ANTHONY        SHARP                      KY     66040237456
2B388A67491592   FRANK          TONCHE                     TX     90014560674
2B388A88972421   MISTY          JOHNS                      PA     90015200889
2B389576571925   MONICA         ROMERO                     CO     90008915765
2B389824887B59   MARCUS         DAVIS                      AR     90010998248
2B389A19972421   KENYOTTA       HEADEN                     PA     90014100199
2B389A31491522   DAVID          ACEVEDO                    TX     90012650314
2B389A76781637   SANDRA         CAMPOS                     MO     90005630767
2B38B533872B98   PAUL           WILLIAMS                   CO     90014185338
2B38BA39787B59   LATORYA        JACKSON                    AR     90010380397
2B39124A877523   CODY           GALLEGOS                   NV     90006442408
2B39142892B892   DAVID          BANKS                      ID     42041054289
2B391469A4B261   JUAN           GURROLA                    NE     27091064690
2B391631271221   LETICIA        RAMIREZ                    IA     90013946312
2B391778172B98   PAULA          FLORES                     CO     33071767781
2B3917AA72B827   ANTONIO        MENDOZA                    ID     90011117007
2B391826554191   TIM            LASBY                      OR     90014758265
2B391A33691828   TIMOTHY        HAMILTON                   OK     90013650336
2B39233A84B588   LINDAKAY       HOWELL                     OK     90008053308
2B39299915B161   JENN           JOHNSON                    AR     23068919991
2B393157A72421   MICHAEL        MILLS                      PA     90014181570
2B39353528B334   MIGUEL ANGEL   ROJAS ROJAS                SC     90013175352
2B393736551343   JORDAN         BALDRICK                   OH     90013307365
2B393A92187B21   DEMETRIUS      LONG                       AR     90015610921
2B39411964B588   JOHNNY         HILL                       OK     90013061196
2B394192A7B449   CHARLENE       HOWIE                      NC     11090911920
2B3943A1591582   ERNESTO        SALAS                      TX     90000383015
2B39461577B699   GABRION K      MYERS                      GA     90011086157
2B39461965715B   ANTULIO        LOPEZ                      VA     81010526196
2B394741481661   ALEJANDRA      GUERRERO                   MO     90012727414
2B39525A381637   RICHARD        BETTS                      MO     90011322503
2B395299255957   MARIA          SEGURA                     CA     90010542992
2B395858397173   JUANA          ALVARADO                   OR     90012668583
2B395932691525   CARLOS         ALVARADO                   TX     90003359326
2B395AA685715B   VENUS          BATTLES                    VA     90012320068
2B39613987B699   TIMOTHY        ALEXANDER                  GA     15010311398
2B39638A79189B   JEREMIAH       NORTON                     OK     90005363807
2B397271591592   JOAN           CLARY                      TX     90005642715
2B397343381661   FRANCES        PICKINS                    MO     29058663433
2B397534991541   JAIME          ERNANDES                   TX     90012145349
2B39769175715B   RUSSELL        JOHNSON                    VA     90012086917
2B397726685938   CESSIE         COFFEY                     KY     90003327266
2B39788A987B21   JOCELYN        WATHERFORD                 AR     90015248809
2B398756584364   ROBERTO        GONGORA                    SC     90015037565
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2B398761171948   MARTIN       LOPEZ                        CO     90012777611
2B398852172B42   MICHAEL      GOLDMAN                      CO     33076418521
2B3989A959794B   ERAIZA       ROJAS                        TX     90015179095
2B39912794B261   ASHLEY       CRADDOCK                     NE     27063821279
2B399295755941   MARVIN       DAVIS                        CA     90011982957
2B399362A85988   ARMONTY      ENGLISH                      KY     90014773620
2B39956512B892   CORI         HANSEN                       ID     90007965651
2B39964238B17B   JONATHAN     LUTTRELL                     UT     31087266423
2B399829791592   CARLOS       VALADEZ                      TX     90002068297
2B399A99972421   STEPHEN      ROBERTS                      PA     90010570999
2B39B5A6557157   JOSE         PALACIOS                     VA     81039065065
2B39B67628B137   SHELLY       PAY                          UT     90015116762
2B3B1272A5B167   NORA         CHAVEZ                       AR     23055012720
2B3B1496274B79   COREY        SMITH                        OH     51082614962
2B3B234555B167   TABITHA      MCCAULEY                     AR     90013833455
2B3B238A981637   BRITTANY     NUNEZ                        MO     90007693809
2B3B2412671948   ABRAHAM      AVILA                        CO     32049264126
2B3B2962172B98   ROSA         GUARDADO                     CO     90012859621
2B3B315884B588   VICENTE      IBARRA                       OK     21502061588
2B3B3239484364   LETICIA      TENORIO-REYES                SC     90015022394
2B3B3424672B42   BRIAN        BILEK                        CO     33037934246
2B3B363126147B   JOSEPH       MILLER                       OH     90014236312
2B3B3A8724B281   CALEB        LONG                         NE     90014170872
2B3B4177A4795B   COLBI        LASITER                      AR     25080971770
2B3B47A2791541   ELIZABETH    FALLON                       TX     90008787027
2B3B4895A87B59   BRITTANY     GATEWOOD                     AR     23068438950
2B3B4983672B42   ANGELO       MARTINEZ                     CO     90014799836
2B3B5539184364   ANDREW       JOSEPH                       SC     90008335391
2B3B5639655957   YESNIA       ESPINOZA                     CA     90012666396
2B3B5844191828   ELOISA       GARCIA                       OK     21063688441
2B3B5861987B87   LARRY        TATE                         AR     23052288619
2B3B5A7195715B   PATRICIA     LOPEZ                        VA     81011390719
2B3B6178291528   JORGE        GONZALEZ                     TX     75009171782
2B3B6237655941   FEDERICO     RODRIGUEZ                    CA     90014262376
2B3B6256991592   LEONARDO     POGGIO                       TX     75053812569
2B3B6665391828   NOEL         LEMBKE                       OK     90003616653
2B3B69A659189B   NICOLE       STANFORD                     OK     21065639065
2B3B7142971948   SANDRA       CAULEY                       CO     32037811429
2B3B71A2885938   CRYSTAL      SPILLMAN                     KY     67019301028
2B3B72A9187B59   SCHERRIE     PARKER                       AR     90014522091
2B3B7947785965   THOMAS       MCGOY                        KY     90009059477
2B3B81A9193773   JOHN         SCROGGINS                    OH     64596811091
2B3B825A94B588   SHERRY       WEBSTER                      OK     90014582509
2B3B8AA9172B42   JESSIE       CRAWFORD                     CO     33045560091
2B3B921555B271   ANDREA       SMITH                        KY     90011392155
2B3B9228155957   EMC          MINOR                        CA     90001492281
2B3B9468893773   ALYSA        PRICE                        OH     90011004688
2B3B9692191522   YOLANDA      ESTRADA                      NM     90010576921
2B3B983784B281   JON          ORDUNA                       NE     90014868378
2B3BB116591541   ELSA         MACIAS                       TX     90011261165
2B3BB4A734B588   KEVIN        CHANDLER                     OK     90010704073
2B3BB764384364   CAROLINE     HUTCHINSON-REID              SC     19006617643
2B3BB88A38B334   KAREN        RAMOS                        NC     11016428803
2B3BB946891522   JESUSQ       RUIZ                         TX     90012909468
2B3BB983251336   KAYLA        FLETCHER                     OH     90011389832
2B41134565B271   IZAIAH       MASK                         KY     90009193456
2B4116A387B429   TAMMY        MEDLIN                       NC     90011376038
2B411781451343   TONY         SUTTON                       OH     66015717814
2B411877972B42   TRACY        BOYCE                        CO     33081708779
2B411A35A91997   JOEL         LAZALDE                      NC     90005160350
2B411A56A85965   ROGER        KEENEY                       KY     90012190560
2B411A81A91828   KEISHONNA    JACKSON                      OK     90009740810
2B412125391541   MELIZA       GUYE                         TX     75088801253
2B412249184364   LATHRONA     JOHNSON                      SC     90011092491
2B412325493773   JASON        REED                         OH     90004043254
2B412878355957   GILBERT      RAMIREZ                      CA     90010138783
2B412954787B59   ERICA        LEMONS                       AR     90014569547
2B4129A4681661   MARCIA       VANDERGRIFF                  MO     29066999046
2B412A21491828   SHANNON      MACE                         OK     90013540214
2B41341145B271   TINA         HUNT                         KY     90010814114
2B41344A372B98   CHRISTIANA   BUTLER                       CO     90010484403
2B41347957B699   MICHAEL      BIEBER                       GA     15002414795
2B413762A9184B   MARIO        RIOS                         OK     90004157620
2B413873391241   MITRIA       MOBLEY                       GA     14514718733
2B413956787B59   CYNTHIA      JOHNSON                      AR     23090279567
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2B413A26872471   GERALD            CRISPIN                 PA     90007970268
2B414118791241   JOHN              PATRICK                 GA     90013441187
2B41412A52B892   JOSE              VALDIVIA                ID     42064481205
2B4141A5593753   LUCIEN            WRIGHT                  OH     90013931055
2B41441A99794B   DEMETRIA          GRAY                    TX     90008344109
2B414539455941   CORINA            VERCHER                 CA     90004545394
2B41453974B281   ROXANA            MARITZA                 NE     90011645397
2B414A3954B281   CRISTIAN          DE LA CRUZ              NE     90014180395
2B4153A3257157   ANTHONY           RAMIREZ                 VA     90005813032
2B415467571948   BRENDA            BOND                    CO     90009654675
2B415589A72B42   WILLIE            HAGER                   CO     33053645890
2B4156AA691522   MONICA            BELTRAN                 TX     90010636006
2B41659985B161   DERRON            KING                    AR     23072625998
2B41664A385988   CHRISTIAN         GLOVER                  KY     90014986403
2B41671435B167   JENNIFER          ROBIN-SETTLE            AR     90010807143
2B41672448B17B   LORI              WHITE                   UT     90003067244
2B416728851343   LASHAUNA          CONYERS                 OH     90013097288
2B41718768B17B   JENNIFER          CHRISTEN                UT     31057871876
2B41719154B261   WILLIAM           RAMSEY                  NE     27075041915
2B41728252B892   MARIA             LOPEZ                   ID     90004002825
2B417343955957   TRACY             MCWILLIAMS              CA     48050123439
2B41755548B168   CATHY             HARRIS                  UT     90006775554
2B417764872B42   ANTONIO           HILL                    CO     90014757648
2B41779349794B   MOHAMMADMEIHDI    SHAFIEE                 NC     90008647934
2B41781565715B   EMILIO            HERNANADEZ              VA     90011698156
2B417A46251336   SHANE             COLWELL                 OH     90012330462
2B419143785988   CASSANDRA         BLAIR                   KY     67091061437
2B41949A647952   GERARDO           GONZALEZ                AR     24002984906
2B419762A9184B   MARIO             RIOS                    OK     90004157620
2B419772557157   PAYGO             IVR ACTIVATION          VA     90015537725
2B419835771948   AMANDA            MEYER                   CO     90012788357
2B419935272421   JASON             RUTAN                   PA     90010579352
2B419A3565B232   BRITTNI           SMALLWOOD               KY     90012650356
2B41B434271948   TIA               LEVY                    CO     90011264342
2B41B794287B87   ERIC              PATTON                  AR     90011837942
2B42127325B271   MICHAEL           SMITH                   KY     90011862732
2B4215A647B449   JANICE            JONES                   NC     90013315064
2B421821271925   NATALIE           LUJAN                   CO     90007398212
2B42194A54B588   JEREMY            BUTLER                  OK     90015139405
2B422634752B27   KYRA              NIETO                   AZ     90012716347
2B42265369184B   JUAN              CERDA                   OK     90014886536
2B42269AA51343   NICK              REED                    OH     90003036900
2B422723131631   ANGEL             MAIN                    KS     22010087231
2B42275329794B   NADIA             GALVAN                  TX     90014957532
2B423144391592   MELENDEZ MARTHA   O                       NM     90003711443
2B423228985938   SHAVANNA          FAULKNER                KY     90014562289
2B423714881637   HILDA             GOMEZ-MARTINEZ          KS     90013697148
2B423836A87B21   FRANCES           BASS                    AR     28058958360
2B423864271948   RAUDEL            CORONADO                CO     90013458642
2B42411555B161   PT                LA QUE BUENA            AR     90007131155
2B4246A834B245   JESAMARI          HERNANDEZ               NE     27082986083
2B424752284364   NAOMI             WYNN                    SC     90005137522
2B42478148B17B   TOBIAS            WALDEMAR                UT     90005027814
2B42498A29184B   ALONZO            SHEPHARD                OK     21092439802
2B424A75491828   JESSICA           ROGERS                  OK     21085040754
2B425267551336   NEIL              ISRAEL                  KY     90015542675
2B425373487B21   CHALEA            TINER                   AR     28050973734
2B426271872B98   DAVID             GUERRERO                CO     90005032718
2B42644A991592   JUANA             MARTINEZ                TX     90012424409
2B42646A257157   JAMES             JHONSON JR              VA     90014014602
2B426A3A691541   HECTOR            DE LA CRUZ              TX     75002060306
2B426A59571948   FABIAN            WOODS-ALANIZ            CO     90006270595
2B42736368B334   DENNIS            JEFFERIES               SC     90011193636
2B427634391541   VICTOR            ARANDA                  TX     75062946343
2B42778A891592   HIGINO            CEDILLO                 TX     90012037808
2B427A1AA5B271   EDITH             NDIAYE                  KY     90013710100
2B428151157157   SHONDA            WILLIAMS                VA     90014721511
2B428492A84364   SELENA            WILLIAMS                SC     90014004920
2B42849639189B   DAWN              HELTON                  OK     21087674963
2B428497491592   CHRISTOPHER       MEZA                    TX     90015304974
2B42899954B281   CASEY             CADDELL                 IA     90009249995
2B429154A2B839   JERRY             COOKSON                 ID     90004831540
2B42936139794B   MELENDEZ          GEORGE D                TX     74029023613
2B429462771221   DANIELLE          BLISS                   IA     90013954627
2B429785551343   OSCAR             MEJIA                   OH     90013087855
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1499 of 2350


2B42B161531453   MODESTA       PERALES                     MO     90003291615
2B42B168A2B892   AUGUST        MOSER                       ID     90009251680
2B42B1A7972B98   CELESTE       BALDERRAMA                  CO     90014231079
2B42B27959189B   ERIKA         HERNANDEZ                   OK     90014882795
2B42B39A551561   MERICA        ROBBINS                     IA     90014633905
2B42B79895B167   FRANCINE      BILLINGS                    AR     90008307989
2B42B84138B17B   JARED         ANDERSON                    UT     90009868413
2B42B85577B699   TARA          PATTERSON                   GA     90006008557
2B42BA4634B281   KRISTOPHER    KNIGHT                      NE     90014180463
2B43149A89379B   LATONYA       JONES                       OH     64575164908
2B431A4877B449   MICHAEL       PROWELL                     NC     90014870487
2B432457291828   ELIZABETH     CHALAKEE                    OK     90011144572
2B43271A351388   MARIA         MARTINEZ                    OH     90010137103
2B432727A84364   MAURO         CRUISINBERRY                SC     90015287270
2B432868691241   TORRIS        SMITH                       GA     90005738686
2B43351144B588   PERLA         SALAZAR                     OK     90008785114
2B433939684364   CHARLES       WASHINGTON                  SC     90015119396
2B43414352B839   RICK          STEFFENS                    ID     42097301435
2B434387655957   SHEILA        COX                         CA     48075163876
2B43439485715B   LINDSAY       POINELLI                    VA     90013553948
2B434588472B42   MANUEL        VILLANUEVA BUSTILLOS        CO     90013045884
2B434764281661   ANESHA        SIMMONS                     MO     29023387642
2B43494A74B588   MARIA         SANROMAN                    OK     90015139407
2B43498485B531   JOSE          CASTILLO                    NM     35085459848
2B43531617B471   NORMA         MENA                        NC     90011313161
2B435563555941   AMANDA        NAYELI                      CA     90011085635
2B435586191592   VICTOR        GRAJIOLA                    TX     90004765861
2B43578892B892   JOSHUA        KILLEBREW                   ID     90013077889
2B435893751336   LAVONDA       MILON                       OH     90013878937
2B43615425B167   TINA          TOWNSEND                    AR     90014961542
2B436494855957   MARIA         CARDENAS                    CA     90004684948
2B436533885938   PORSCHE       CARTER                      KY     67037665338
2B43658827B471   JAMES         HARRIS                      NC     90014095882
2B43682472B892   PAYGO         IVR ACTIVATION              ID     90013078247
2B43684665715B   NANCY         TALBERT                     VA     90011698466
2B43697392B931   LYNN          TAYLOR                      CA     45031119739
2B437173A72B42   MICHELLE      VELASQUEZ                   CO     33050041730
2B437532787B21   ANTHONY       WRIGHT                      AR     90015425327
2B437771831453   LESLIE        WHITE                       MO     90009157718
2B43785238B17B   KASIA         COLUNGA                     UT     90010028523
2B438445A61986   JUDITH        MARTINEZ                    CA     46073424450
2B43849214B281   ANGELA        DANIELS                     IA     90013114921
2B438568172B98   MARIBEL       VILLA                       CO     90014185681
2B439168A2B892   AUGUST        MOSER                       ID     90009251680
2B439246471948   BRIAN         MACKES                      CO     90013402464
2B4392A3987B21   KATRINA       LAWSON                      AR     90007682039
2B43971785B344   TONY          RODRIGUEZ                   OR     90008367178
2B43B14478B334   TONYA         THAMAS                      SC     90012831447
2B43B515291541   AMANDA        OLIVAREZ                    TX     90014075152
2B43B65695715B   NESTOR        HERNANDEZ                   VA     90005516569
2B43B657491828   SARAH         MICCO                       OK     90009666574
2B441324187B21   JIMMY         STALLCUP                    AR     90014913241
2B441517257157   JUAN CARLOS   DE LEON                     VA     90013265172
2B44155934B281   RANDY         OTTESEN                     IA     27074485593
2B44163317B449   LAURA         SALGADO                     NC     11032246331
2B441886191541   VIVIANA       ALVIDREZ                    TX     75017908861
2B4418A6772B42   REBECCA       HERNANDEZ                   CO     90009238067
2B442387755941   MONIQUE       MARTINEZ                    CA     90014793877
2B442419284364   PAMELA        GRAHAM                      SC     90012934192
2B4425A663B388   IAN           CANDELARIA                  CO     90006365066
2B443622851343   LINDA         DIXON                       OH     66098666228
2B4437AA687B59   LISA          HIGGINS                     AR     23068087006
2B443815955957   KELLY         BROWN                       CA     48086098159
2B443834591828   CONNIE        EVANS                       OK     90011068345
2B44393227B471   LUIS          CAMPUZANO                   NC     90002049322
2B44426A951343   RONALD        DUNCAN                      OH     90004892609
2B44475449794B   LUCIANO       OLALDE                      TX     90015267544
2B444814851336   SAMANTHA      DUFFUS                      OH     66005968148
2B444A31791592   RAUL          GARCIA                      TX     90013220317
2B44514478B334   TONYA         THAMAS                      SC     90012831447
2B445617584364   LEE           POWERS                      SC     90012626175
2B44564978B334   ALISHA        WEATHERS                    SC     90013376497
2B44587184B28B   DEREK         WILLEFORD                   NE     90010908718
2B445952257157   JOSE          TORRES                      VA     90011049522
2B44599AA5B271   DESIREE       INGRAM                      KY     90013609900
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2B445A2112B892   JAMES            HIXON                    ID     90013090211
2B445A2957B393   PEDRO            LINARES                  VA     90008870295
2B446429141286   STEPHEN          GALASKI                  PA     90013314291
2B44656694B588   EBONY            SAMPLE                   OK     21548765669
2B44657622B892   BLADIMIR         MASCORO                  ID     90015035762
2B446611991952   GERTRUDE         MERRITT                  NC     90011166119
2B446668331433   WANDA            DONALD                   MO     27587746683
2B446685291522   SYLVIA           AGUIRRE                  TX     75090696852
2B44686999794B   JUAN FRANCISCO   CXAJ                     TX     90014038699
2B4469A5181637   SALVADOR         RAMOS                    MO     90004969051
2B446A5554B261   JOSE             CHICAS                   NE     90000450555
2B447256472B42   MELANIE          HICKMAN                  CO     90010012564
2B4472A3987B21   KATRINA          LAWSON                   AR     90007682039
2B44733A16195B   MARGARET         SMITH                    CA     46057233301
2B44778594B588   FORREST          REDDING                  OK     90002767859
2B44782195B167   JOHSUA           HAMMOCK                  AR     90014578219
2B447922A5B271   DOROTHY          PEOPLES                  KY     90013079220
2B447925671948   CHRIS            MANN                     CO     90012419256
2B448675847952   EVELIA           KING                     AR     24000656758
2B448A9374B281   EVER             GONZALE                  NE     90009810937
2B449136A2B839   CHARLES          WILSON                   ID     90011661360
2B44937914B281   RICHARD          MCGEORGE                 IA     27093363791
2B44976547B449   JOSE             SAVEDRA                  NC     90009047654
2B44984359189B   CHRIS            MAXWELL                  OK     21002508435
2B449858247952   DARYL            BIGELOW                  AR     90013118582
2B44B36368B334   DENNIS           JEFFERIES                SC     90011193636
2B44B39A657157   ANA              DIAZ                     VA     90003163906
2B44B69992B839   BRENDA           LAGUNAS                  ID     90007796999
2B44B7A6755957   PATRICIA         HILL                     CA     48066737067
2B44B8A4591592   ELIZABETH        ROMERO                   TX     90010748045
2B451521371948   GIORGIO          LAVIGNE                  CO     90015125213
2B45215A391541   CECILIA          MARTINEZ-AMAYA           TX     90014281503
2B452187991528   FRANSISCO        SAPIEN                   TX     90001761879
2B452372991828   JANI             BLAKESLEY                OK     90012833729
2B45241A291522   WRIGHT           CLAY                     TX     90010944102
2B45244565B531   LILENY           RODRIGUEZ                NM     90005924456
2B45269884B261   MARSHAL          SMITH                    NE     90008306988
2B452997281661   JORDAN           COBIAN                   MO     90012379972
2B4529A818B334   ATENOGENES       LEON                     SC     90012799081
2B452A97987B87   BREONNNA         JOHNSON                  AR     90012570979
2B453186531453   LAKRESHA         MOZEE                    MO     90014301865
2B453261657157   MELODY           PARKER                   VA     90008042616
2B4532A134B588   LARRY            BOXFORD                  OK     90013812013
2B45333184B261   DANIEL           POLAN                    NE     90014643318
2B45361355B571   DENIELLE         GALLEGOS                 NM     90013456135
2B45382747B33B   MIGUEL           GUEVARA                  VA     90011578274
2B453964A2B839   JESSICA          GOMEZ                    ID     90012349640
2B4539A3685965   BILLY            MCMILLIAN                KY     90007959036
2B454684381637   DANNY            HOOD                     MO     29094276843
2B454687181661   JASMINE          PRECIADO                 MO     90014816871
2B454724347952   MERLIN           DURAN                    AR     90013687243
2B455284231453   LASHONDA         THURMAN                  MO     90005012842
2B455411651336   ASHLEIGH         SCHWARM                  OH     90012834116
2B455449A91522   BRIDGET          OLARIBATA                TX     90010344490
2B45548274B588   DYNITA           LUKE                     OK     90011704827
2B455586287B59   EMMA             MCBRIDE                  AR     23073465862
2B455694455957   PEGGY            OLEA                     CA     48084326944
2B455A6848B17B   CARROLL          MUSSECH                  UT     90006890684
2B456258484364   JALEESA          YOUNG                    SC     90010212584
2B45632967B471   PABLO            VARELA                   NC     90013963296
2B456929287B59   DOMINIQUE        SHORTER-FOOTS            AR     90005429292
2B45716414B281   MARIA            LOPEZ                    NE     90011821641
2B457232381637   ANTHONY          JAMES                    MO     90008692323
2B457343584364   JORGE            LOPEZ                    SC     90009593435
2B45746925B167   DEANNA           NUNLEY                   AR     90013074692
2B457627724B55   TIFFIANY         SUMTER                   VA     90013496277
2B45775738B17B   DELFINA          LOPEZ                    UT     90009237573
2B45855318B334   ANTONIO          SORCIA                   SC     11073385531
2B458637481661   JOSE             RAMIREZ                  MO     90013556374
2B45885962B839   MATT             FORSBERG                 ID     90014428596
2B4589A8291541   JESSICA          GUERRERO                 TX     90010029082
2B458A29A51561   TIRHAS           GEBREJENSAI              IA     90015140290
2B459158697949   JULIE            GONZALES                 TX     90013601586
2B45972359794B   DIANE            DAVIS                    TX     90000107235
2B459936291528   SERGIO           BLANCO                   TX     90003539362
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2B45B26843B39B   TRAVIS       JOHNSON                      CO     33064532684
2B45B28695B571   ROSA         REYES                        NM     35057562869
2B45B46862B839   ANNIE        NICKEL                       ID     42082684686
2B45B475887B21   ALLEN        GIVENS                       AR     90015424758
2B45B652671945   ANA          VIDAL-GOMEZ                  CO     90008046526
2B461177741252   SHAQUESE     KELLEY                       PA     90014851777
2B461219A5B167   CHRISTOLYN   BROWN                        AR     90007822190
2B461518A9189B   TAMMY        REATHER                      OK     90014715180
2B461555291592   JOSE         ORONA                        TX     90014715552
2B46218AA4B281   LUIS         MARTINEZ MONTELONGO          NE     90014181800
2B462755891997   KARINA       SANTILLAN                    NC     90007747558
2B462888171948   TJ           TURNER                       CO     90012798881
2B462A42457157   KENNETH      TIMMONS                      VA     90014360424
2B463285251336   CARLA        BROWN                        OH     66069472852
2B463382781661   BROOKE       ROSS                         MO     90011513827
2B46345648B334   LILIANA      ROMERO                       SC     90014064564
2B463515884364   HERMELINDA   RODRIGUEZ                    SC     90015165158
2B46358969189B   ASHLEY       HAMILTON                     OK     90014695896
2B46376637B449   GUADALUPE    MATA                         NC     90014877663
2B463928A8B17B   RONALD       LAMAR                        UT     90010579280
2B46412584B521   MARICELA     HERRARA                      OK     90001571258
2B464164384364   JENA         BROWN                        SC     90014271643
2B464237A61921   ROJ          ALI                          CA     90006832370
2B46425962B839   JASON        LOPEZ                        ID     90011612596
2B464566472B42   JOSEPH       SAMPSON                      CO     90002755664
2B46551315B161   JERRY        BOSWELL                      AR     90010325131
2B46656149189B   APRIL        SNELL                        OK     21059415614
2B46658979189B   VIANEY       NIETO                        OK     90014695897
2B4665A155B167   REGINA       REAVES                       AR     90011895015
2B4665A373145B   DANA         YOUNGBLOOD                   MO     90013085037
2B4666A1185988   BILL         UNSELD                       KY     67037326011
2B466969271958   OTIS         WILLIAMS                     CO     90000959692
2B466A97591541   MARIA        MARIN                        TX     90011540975
2B467557A31631   JAMELE       HILL                         KS     90012525570
2B46759A29189B   KAILEY       GUEST                        OK     90014695902
2B467724461877   ORIELLE      MORRISON                     IL     90015357244
2B4678A1651336   LAKEIYA      JENNINGS                     OH     90009468016
2B4679A5385988   TARA         BEATTY                       KY     90010899053
2B468194A4B261   BOB          BULLER                       NE     27000861940
2B468224991592   DAVID        OLIVER                       TX     90015102249
2B46845224795B   JENNIFER     DUNN                         AR     25008024522
2B469135141295   KEVIN        BROWN                        PA     51018001351
2B469315685938   LISA         HUTCHINSON                   KY     90013003156
2B46957519184B   JUAN         SANCHEZ                      OK     90012745751
2B469836591241   GWENDOLYN    LLOYD                        SC     90014598365
2B469A72255957   GINA         RAMOS                        CA     90014790722
2B46B193772421   JUSTIN       CRISSMAN                     PA     51057241937
2B46B1A1971948   ELIZABETH    BOYD                         CO     90002031019
2B46B678A3B35B   GINIA        GUTIERREZ                    CO     90001316780
2B46B6A1A85965   SYLVIA       GIBSON                       KY     90007646010
2B47169A347952   RICHARD      PALMER                       OK     24024146903
2B47177514B245   MICHAEL      BARNES                       NE     27039167751
2B4717A675715B   MIRIAM       HODGKINS                     VA     90012807067
2B471823885965   GARRETT      WALLAC                       KY     66068828238
2B47187A32B892   MIKA         RAMIREZ                      ID     90008308703
2B471921957157   TYRONE       WILLIAMS                     VA     90005089219
2B472259247952   STEPHANIE    HUGHES                       AR     90012702592
2B47249714795B   MARTIN       FINCH                        AR     25052734971
2B472575191592   LAURA        BASURTO                      TX     90014855751
2B47312584B261   ALBERTO      AVINA                        NE     90011771258
2B4735A4785965   JESSE        WOOD                         KY     90011095047
2B473635791522   MARTIN       ROSALES                      TX     90012166357
2B47379137B449   KATHERINE    MILLNER                      NC     90014877913
2B47389249794B   MARGARITA    BARRIOS                      TX     74051028924
2B473933481637   DIONNE       BEACH                        MO     29073179334
2B474158351561   RAY          GARCIA                       IA     90014641583
2B474498987B59   JAMAL        THOMPSON                     AR     90015164989
2B474A33931699   HEATHER      SCHOOLEY                     KS     90007760339
2B475267A5B167   YVETTE       GARCIA                       AR     90014012670
2B47536A99794B   CHARLOTTE    HELM                         TX     90013563609
2B47549685B271   KRYSTA       HARPER                       KY     90014044968
2B475586687B21   KEELY        HENSON                       AR     90013915866
2B47578422B892   PEARLA       VEGA                         ID     42007997842
2B47587915715B   EVELYN       PINEDA                       VA     90010268791
2B475993A93753   NATE         JAQUES                       OH     90000989930
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2B476226455941   CAROLINA          GALEANO                 CA     90003782264
2B476347291541   NORMA C           SANCHEZ                 TX     90004773472
2B476477172B98   PATRICIA          GUITIERREZ              CO     33050134771
2B47691287B471   RACHEL            ORANGE                  NC     11078409128
2B476A99557157   JUANITA MARIANN   WILLIAMS                VA     90004010995
2B477239272B42   MARGARITA         IBARRA                  CO     90014002392
2B477379381661   MELQUIADES        AVILA                   MO     90012273793
2B47767762B839   ROGER             MCGOUGH                 ID     90013946776
2B47781715B271   LAQUITA           THOMAS                  KY     90013498171
2B477A5665B167   JENNIFER          RODGERS                 AR     90001820566
2B477A73491541   JOCELYN           RAMOS                   TX     75050020734
2B478258293773   JOYCE             FUGATE                  OH     90004382582
2B47825855B271   MERLAINE          BALENGOLA               KY     90014782585
2B478422A5B369   JACOBO            ZARATE VALERIANO        OR     90007514220
2B47843828B831   SHANNON           ROBBINS                 HI     90015374382
2B47916995B271   TYVA              SOWELL                  KY     90009711699
2B4793A279189B   AUBREE            HAMBY                   OK     90013403027
2B4796A8955941   LEE               XIONG                   CA     49010766089
2B47B24245715B   SARINA            CLEMENTS                VA     81013482424
2B47B391A85988   JESSICA           JNES                    KY     90004233910
2B47B624397B3B   JULIE             DERAAD                  CO     90005776243
2B47B677591541   HERIBERTO         SANTOYO                 TX     90010666775
2B47B993A93753   NATE              JAQUES                  OH     90000989930
2B48149914B588   LINDA             DEPEW                   OK     90003654991
2B481A85991828   CIARRA            HICKS                   OK     90010880859
2B482127572B98   RANDLE            ROMERO                  CO     90012791275
2B48212A271933   JUAN              CASTRO                  CO     90012431202
2B482883A91828   KARISSA           ALGER-ROOT              OK     90014258830
2B482A71685988   FRED              BOGGS                   KY     90012030716
2B483254887B59   TONYA             MONK                    AR     23005672548
2B48326599794B   BATTISTA          JONES                   TX     74033642659
2B483472185988   TERRY             MEYER                   KY     67049074721
2B48356737B471   ASHLEY NICOLE     GRIER                   NC     90013875673
2B483575A5B167   NIKKI             DEAN                    AR     23062995750
2B483814981661   ANTHOTNY          ROBERTSON               MO     90014628149
2B483A2A42B931   WILSEN            GORGES                  CA     90009820204
2B483A55485938   MELINDA           FLORENCE                KY     90013930554
2B484743255941   MICHAEL           GONZALEZ                CA     90015007432
2B48524159189B   WILL              RHODES                  OK     90000512415
2B485498A91383   GUSTAVO           ROBLES                  KS     90004194980
2B48557674B261   SANTIAGO          LOPEZ                   NE     90014655767
2B485646472B98   JOSE              MUNOZ                   CO     90002716464
2B485646A87B21   JACK              COOGUSE                 AR     90015396460
2B4856A377B471   MIGUEL            GARCIA-ENRIQUEZ         NC     90014566037
2B4858A4987B87   KENISHA           HOWARD                  AR     90007698049
2B485983191582   ANA               ROSALEZ                 TX     90012209831
2B486115A74B79   VANESSA           ROSE                    OH     51014161150
2B486381151343   JAMIE             SOUTHERLAND             OH     66005173811
2B4864A5657157   PAYGO             IVR ACTIVATION          VA     90012034056
2B486623455941   CESAR             ALTAMIRANO              CA     90008206234
2B48671419184B   CHRISTOPHR        MILES                   OK     21089247141
2B4867A494B245   JOSHUA            HINTON                  NE     90012367049
2B486A6725B167   KAYLA             HEMPHILL                AR     90011900672
2B487122A81661   MARGRETTE         COLLINS                 MO     90010871220
2B487171491522   RACHEL            GUSMAN                  TX     90013481714
2B487528685938   ROBIN             BRADLEY                 KY     90006815286
2B488252685938   CHRISTOPHER       GRIFFIN                 KY     90014372526
2B488547384364   KAYLA             MIZZELL                 SC     90014865473
2B488555291592   JOSE              ORONA                   TX     90014715552
2B488868371948   MAXIMINO          CUEVAS                  CO     90006388683
2B488984A85938   CHRISTOPHER       GRIFFIN                 KY     90011199840
2B488A8A15B531   GERALDINE         BRYANT                  NM     35069530801
2B48913464B588   ERNESTO           VAZQUEZ                 OK     90009441346
2B48917184B245   EDDIE             JOHNSON                 NE     90003381718
2B48933939184B   LINDA             WYNNE                   OK     90009873393
2B489455487B59   MARY              MORTON                  AR     90012774554
2B489498685965   AMY               WILLEN                  KY     90013724986
2B4895A6A2B892   KACEY             FULKERSON               ID     90008575060
2B48981617B449   RAMAON            DEANDA                  NC     90014878161
2B48B136391241   BRADLEY           FLANDERS                GA     90014091363
2B48B28A48B179   AROHA             BRUMFIELD               UT     90006712804
2B48B48717B471   STARLA            THOMAS                  NC     90004254871
2B48B57712B839   EDENIA            ANGULOO                 ID     42033115771
2B48BA62272B42   JORGE             RUEDA                   CO     90012210622
2B491132471948   TIFFANY           HITER                   CO     90003981324
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2B49132559794B   EDWIN           MCGOWEN                   TX     90015283255
2B49151735B161   TYRON           SMITH                     AR     90011825173
2B49167A572B42   JOSEPH          GIACINTO                  CO     33051586705
2B49178247B471   PAYGO           IVR ACTIVATION            NC     90009527824
2B491789481637   DONNIE          KING                      MO     90003537894
2B4924AA672B42   ROBERT          PEASLEY                   CO     90007404006
2B49264A39794B   BATES           DESMOND                   TX     90012726403
2B4927A3172B98   SUGEY           CHAVEZ                    CO     90014187031
2B49366274B231   MATTHEW         MCKEE                     NE     90010046627
2B49373839184B   RANDY           MORAN                     OK     90013877383
2B49383A585988   DOROTHY         WATKINS                   KY     90003238305
2B494247587B87   EVELYN          ACREE                     AR     90011732475
2B495286651343   SERENITY        HILL                      OH     90012552866
2B49535953B32B   LORENA          GONZALEZ-SAUCEDO          CO     90009843595
2B4953A335B271   LA BOBBIE       BARLOW                    KY     90006223033
2B495659191592   MARCELA         GALICIA                   TX     75070116591
2B495969A7B471   SHAWNA          HANSEN                    NC     90001089690
2B495A2385B531   MICHELLE        GUTIERREZ                 NM     35006610238
2B495A51191541   MANUEL          CHACON                    TX     75013310511
2B49621425B271   JOSE            AMAYA                     KY     68039042142
2B49625A684364   CARLOS          MOURA                     SC     90011172506
2B49641532B839   NESTOR          INGA                      ID     90012714153
2B49667932B839   JODI            DEERFIELD                 ID     90014696793
2B497279172B42   EDWARD          KIEFER                    CO     90011352791
2B49734899189B   LACONIA         DANIELS                   OK     90011233489
2B497447651336   ANNETTE         JACOBS                    OH     66013344476
2B497564631453   MARILYN         LINDSEY                   MO     90011205646
2B49774825B271   ERNEST          DUCKWALL                  KY     90012387482
2B497777551343   BRIAN           BLALOCK                   OH     90014147775
2B49778738B334   FRAZIER         HOYLES                    SC     11019827873
2B497828272B42   BRENDA          BROWN                     CO     33016218282
2B497834531631   PHONSAY         VILAYCHITH                KS     90013428345
2B49796939184B   ANDREA          KING                      OK     21068399693
2B498125951343   SAVANNAH        LUSK                      OH     90002381259
2B4982A9985965   AMBER           RICE                      KY     90013692099
2B498353255957   JUAN            ALBA                      CA     48082583532
2B49854595B161   DENIESE         MILLS                     AR     90011825459
2B498671755941   LILLIAN         WARREN                    CA     90008926717
2B498828481637   ELIZABETH       SERRANO                   MO     90014008284
2B499442A43586   JACQUELYNE      BIRK                      UT     90015554420
2B499584385965   SAMANTHA        HOLLINGSWORTH             KY     90011095843
2B499898172421   JACK            VENTRICE                  PA     90001418981
2B49993A191582   RICHARD         ARELLANO                  TX     75003589301
2B49B38879184B   JAMES           LEWIS                     OK     21035383887
2B49B537584364   MARCUS JEROME   GALLASHAW                 SC     90012115375
2B4B131553368B   BARRY           OHAM                      NC     90001673155
2B4B1382291528   MOISES          GUERRERO                  TX     90004463822
2B4B139A655957   LOLA            VALDEZ                    CA     90002963906
2B4B163892B892   CODY            LEE                       ID     90006336389
2B4B271312B839   KATHY           SEGURA                    ID     42031247131
2B4B297489189B   TANYA E         VITALE                    OK     90011229748
2B4B2A21931453   PAMELA          HUNTER                    MO     90014690219
2B4B3113891828   ALLEN           LOCIST                    OK     90008381138
2B4B3181581661   CHRISTAL        HARISS                    MO     90011401815
2B4B37AA993773   ARLENE          CRAIN                     OH     64512267009
2B4B4474987B21   DAWN            QUINN                     AR     90014824749
2B4B4674285965   MARK            BAUDENDISTEL              KY     90014626742
2B4B4762A9184B   MARIO           RIOS                      OK     90004157620
2B4B4979951343   RUBEN           ALONZO                    OH     90014109799
2B4B4A6534B548   DANIA           PETTIT                    OK     90011210653
2B4B531515715B   JORGE           VASQUEZ                   VA     81012833151
2B4B5352255957   EDITH           MARTINEZ                  CA     90007333522
2B4B53A9431453   GREGORY         RUTHERFORD                MO     90013513094
2B4B5684A5B271   LORETTA         CASON                     KY     90012166840
2B4B5883991541   EDGAR           VALDIVIA                  TX     90012948839
2B4B613987B699   TIMOTHY         ALEXANDER                 GA     15010311398
2B4B6231191828   MICHELLE        HOPKINS                   OK     21063772311
2B4B6323855957   DULCE           GARCIA                    CA     90007573238
2B4B6448385938   SAMANTHA        CONWAY                    KY     90008374483
2B4B672A92B931   TENNILLE        LANE                      CA     45066717209
2B4B67A699189B   ALEXANDER       PAZ                       OK     21070457069
2B4B681444B245   CALVIN          ALLEN                     NE     27022108144
2B4B686592B892   MARIA           RUIZ                      ID     42003908659
2B4B6895572B42   DAVID           BUSCH                     CO     90007718955
2B4B6A72687B59   JEREEL          JONES                     AR     90001120726
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2B4B726592B839   VANESSA      SIERRA                       ID     90008572659
2B4B812A79794B   CELIA        ORTIZ                        TX     90012281207
2B4B814A457157   XIOMARA      AREVALO                      VA     90012581404
2B4B8191A2B931   LISSETT      SUSTAITA                     CA     45038401910
2B4B8255584364   KENNETCH     FERGUSON                     SC     90014172555
2B4B8267785988   YVETTE       BYRD                         KY     90014692677
2B4B8344972B98   ASUCENA      PARRILLA                     CO     33092303449
2B4B83A219184B   FRANKIE      DELATORRE                    OK     21057453021
2B4B857AA91828   GILBERTO     HERNANDEZ                    OK     90000625700
2B4B863627B699   WINIFRED     WILLIAMS                     GA     15031716362
2B4B8A2342B839   SCOTT        STEVENS                      ID     90010240234
2B4B931144B245   JOSE         CONTREDAS                    NE     90002223114
2B4B9A58557157   ROBERO       RIVAS                        VA     90012390585
2B4BB17274B527   BRAD         TANKERSLEY                   OK     90002171727
2B4BB397457157   MONIQUE      STOKES                       VA     90013053974
2B4BB76125715B   RAQUEL       BARBER                       DC     90012837612
2B4BBA98687B59   MARIO        BROWN                        AR     90002950986
2B511331191828   CATHERINE    SWIFT                        OK     21060213311
2B511434591541   ANA          AVILA                        TX     75019674345
2B511476671948   MARIANA      ZAVALETA                     CO     32099264766
2B511767A5715B   LY           LONG                         VA     90009587670
2B512197291592   ALEJANDRA    MUNOZ                        TX     90009441972
2B512726231631   LUPE         HERNANDEZ                    KS     90001137262
2B512739738524   ALVA         AMADOR-OLVERA                UT     90011437397
2B512849184364   BOBBY        WASHINGTON                   SC     90014798491
2B512924187B59   DEELEGANCE   PRITCHETT                    AR     90014499241
2B51332319189B   CORY         SAMPLES                      OK     90014723231
2B51344894B588   JELMY        MONTERROSO                   OK     90014824489
2B51349344B281   JONH         GRANT                        NE     90013114934
2B51374194B588   MONTRELL     SMITH                        OK     90012867419
2B51376872B839   ALISHA       CAWAGDAN                     ID     90009387687
2B514832971948   STORMIE      DAWN                         CO     32074988329
2B51495A791241   JONATHAN     OJEDA                        GA     90015349507
2B514973A9184B   MARKUS       STEPHENSON                   OK     90008709730
2B515444687B59   JOSEPH       SANCHEZ                      AR     90014314446
2B5154A4291251   JENNIFER     SAULS                        GA     14593584042
2B515615485965   BONITA       JACKSON                      KY     90013986154
2B516166291522   EDNA         HERNANDEZ                    TX     90012831662
2B5163A5572B42   PATRICIA     BELILES                      CO     33065183055
2B51643A24795B   ALMA         SOLTERO                      AR     90012464302
2B516727A5715B   WANERGES     HERNANDES                    VA     90013807270
2B516822381637   BETTY        QUIRINO                      MO     90013378223
2B516932A2B892   RYAN         BURHAM                       ID     90012359320
2B516A89655994   TEODORO      MARTINEZ                     CA     90004030896
2B5175A5A51336   LINDA J      MILLER                       OH     90010285050
2B517A55347952   VICTORIA     TURNER                       AR     90013290553
2B51862732B892   CHRISTINE    GUTIERREZ                    ID     90014086273
2B5187A1272B42   MIRANDA      GOMEZ                        CO     33005097012
2B518814A2B839   AUTUMN       NELSON                       ID     90014728140
2B51891AA8B17B   KEVIN        BEARDALL                     UT     31040749100
2B519133191967   MARISOL      ARMAS                        NC     90003381331
2B519431187B21   ASHLEY       JOHNSON                      AR     90015034311
2B51956A35B167   KRYSTINA     RHODES                       AR     90011545603
2B519581387B59   JANICE       REED                         AR     23008525813
2B5197A2947952   JOHN         KING                         AR     90013187029
2B519A7622B931   RUBY         BEHRENS                      CA     45090410762
2B51B24645B161   DORIS        CURRENT                      AR     23053252464
2B51B996287B87   JASMINE      NATION                       AR     23004199962
2B51BA26781661   RAFAEL       DOMINGUEZ                    MO     90001160267
2B521165231453   CHAROLETTE   WILLIAMS                     MO     90009161652
2B521182855957   BRIGITTE     REED                         CA     90009791828
2B52127274B588   AHLEY        GRAVES                       OK     90014982727
2B521365671948   JENNIFER     CANTRELL                     CO     90013403656
2B521643193773   GREG         KARJALA                      OH     64526536431
2B52174244B261   SAWNSURAE    MARION-PHELPS                NE     90014177424
2B522138381661   WILLIAM      DANNAHOWER                   MO     90015041383
2B52235879794B   MICHELLE     FOX                          TX     90011383587
2B5223A4191541   ELIDIA       GONZALEZ                     TX     75067963041
2B522859957188   REDA         OUAMRANE                     VA     90006068599
2B5228A5951336   AMBER        SCALF                        OH     66080998059
2B522961977534   RICHARD      JAMES                        NV     43040699619
2B52299762B27B   DEANTHRA     STANLEY                      DC     90005159976
2B52319574B281   CRYSTAL      MCCRACKEN                    NE     27023701957
2B523519531631   PATRICIA     ANDERSON                     KS     22083075195
2B5238A4355936   THERESA      VARO                         CA     90003618043
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2B5244A1385938   RAHYSOLINN   SWEN-PETERS                  KY     67031044013
2B5244A3691541   SERGIO       CABRAL                       NM     75034424036
2B52458A75B271   LAWANDA      WHITE                        KY     68006185807
2B52475479189B   MEGAN        BROOKS                       OK     90003957547
2B52493499189B   MEGAN        BROOKS                       OK     90013189349
2B524981371948   STEVEN       SCOTT                        CO     32071679813
2B524A14481637   KIMBERLY     NICHOLS                      MO     90010010144
2B525316274B79   STEVEN       CAMPBELL                     PA     90009543162
2B52533A39184B   NOAH         KINSEY                       OK     90013163303
2B5253A894B281   MELQUIADES   FRAGA-CISNEROS               NE     90014183089
2B5254A5791828   JENNIFER     FOSTER                       OK     90008384057
2B52565A15715B   FOZIYA       HASAN                        VA     90004246501
2B52569739189B   SHARLENE     ROBLEDO DESIREE              OK     90005636973
2B52569985B249   BENNY        MCCLURE                      KY     90014316998
2B525897872B42   JOSE LUIS    LOPEZ                        CO     90009658978
2B525996284364   JUSTIN       HOTCHKISS                    SC     90012969962
2B52621675B167   TIMOTHY      PAULMQUIST                   AR     90013282167
2B526267272421   JENNIFER     MELE                         PA     90012622672
2B52646A257157   JAMES        JHONSON JR                   VA     90014014602
2B52661867B699   ALISSA       BROWN                        GA     15040776186
2B52693332B27B   ZUBAIDAA     SUBAH                        DC     90002129333
2B52726414B245   JON          MANJARREZ                    NE     90008182641
2B528134157157   SHAUN        PETTWAY                      VA     90015401341
2B5284A3291828   DEANZA       MIMS                         OK     90010694032
2B52856742B892   RINA         RAI                          ID     90015035674
2B528576557157   CEDRIC       SMITH                        VA     90012965765
2B528716A2B892   RINA         RAI                          ID     90005947160
2B528746672B98   KATHLEEN     VILLEGAS                     CO     90007507466
2B52878A75B161   DARRY        SMITH                        AR     90011827807
2B52937539184B   JOSEPH       MCDAVID                      OK     90014763753
2B529447455941   STEPHANIE    LUERA                        CA     90013084474
2B529635191592   MARIA        BACA                         TX     90013776351
2B529636872B42   MARIA        DE JESUS SANDOVAL            CO     90012856368
2B529748691541   JUAN         AREVALO                      TX     90012967486
2B529A9A891522   DANIELA      VAZQUEZ                      TX     90014510908
2B52B477491541   KRITZIA      PEREZ                        TX     90002094774
2B52B593784364   FIMONE       HINES                        SC     90005465937
2B52B811755941   WENDY        VALDEZ                       CA     90011328117
2B52B82A272B98   PEDRO        CHAVEZ                       CO     33020428202
2B52B86514B588   TIM          CURRAN                       OK     21506108651
2B52B96745B167   TRAVIS       DAVIS                        AR     90015309674
2B52BA6A74B281   HENRY        STEVENS                      IA     90001180607
2B531A2935B167   DEVIN        HALLADAY                     AR     90015010293
2B5327A6791541   NATALY       RODRIGUEZ                    TX     90013527067
2B53292927B449   LATOSHA      MILLER                       NC     90014879292
2B533151681637   JERRY        NAAS                         MO     90006831516
2B533212755957   VIRGINIA     ALONZO                       CA     48066892127
2B533542871948   KELLY        MURPHY                       CO     90007985428
2B533584472421   SHEENA       ARBUCKLE                     PA     90013335844
2B5345A1455931   VICTOR       RODRIGUEZ                    CA     90011595014
2B53461687B449   OMAR         MAURICIO-SULVARAN            NC     90014166168
2B534715161877   RICHARD      BOWLING                      IL     90015377151
2B53481275593B   SOCORRO      LUPIAN                       CA     90006958127
2B534A78131453   NATALIE      FAIR                         MO     90009860781
2B53533959184B   DEBRA        FISHER                       OK     21025143395
2B535416891241   SHARON       PETREA                       GA     90014714168
2B53566A47B471   MALIK        ATKINSON                     NC     90014176604
2B53578538B334   ALEXANDER    STORMER                      SC     90014697853
2B535791472B98   BRIAN        BRONSON                      CO     90009237914
2B535A4AA8B334   JESSICA      GARCIA                       NC     90014750400
2B53613712B839   DERECK       CARRELL                      ID     42077421371
2B536396991828   LISA         ROBERTS                      OK     90012283969
2B5363A4891541   ADAM         BRANTNER                     TX     90011883048
2B53664999794B   CHARLES      JOHNSON                      TX     74008566499
2B53667259189B   JACKIE       RAELYNN                      OK     90014696725
2B536688272B98   DONALD       MARTIN JR.                   CO     90011866882
2B537217797121   SOBIA        PHARR                        OR     90004182177
2B53753469794B   YOLANDA      WORKMAN                      TX     74006435346
2B538199191592   CHRISTINA    PENA                         TX     90015081991
2B53852447B449   SCOTT        WILLIAMS                     NC     90012965244
2B538A27A91541   JESUS        OCHOA                        TX     75015280270
2B539146455941   AMERICA      CRUZ                         CA     90012131464
2B53928654B261   DWAYNE       TRIPLETT                     NE     90010482865
2B53932922B839   ANITA        BROYLES                      ID     42026583292
2B539593572B98   SILVIA       HERNANDEZ                    CO     90014185935
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2B539A2699794B   JOSE MARCOS    LOPEZ MONTOYA              TX     90015290269
2B53B153771948   JR             WRIGHT                     CO     32066991537
2B53B3A8387B59   PAUL           OBASADE                    AR     90013443083
2B53B43A44B261   EDILIN         RODRIGUEZ                  NE     27077474304
2B53B542771948   JR             WRIGHT                     CO     90014115427
2B53BA11A4B245   ERIC           WOMOCHIL-TORREZ            NE     27010010110
2B541242891528   MARIA ELENA    GARCIA                     TX     90006042428
2B541416891241   SHARON         PETREA                     GA     90014714168
2B541A59393767   LAWRENCE       PURDOM                     OH     90004600593
2B542149585965   JOSHUA         LYNCH                      KY     90011481495
2B5421A755B271   LISA           MICHELLE                   KY     90011051075
2B542321191828   SANJUANITA     BARBOZA                    OK     90014843211
2B542344455941   MATEO ANDRES   URIBES                     CA     90014463444
2B54241485B162   KHADIJAH       SAFEEULLAH                 AR     90013564148
2B542A84991241   KEVIN          ORR                        GA     14584970849
2B54341634B588   ROCIO          GARCIA                     OK     90012694163
2B5437A955715B   CLAUDIA        SORTO MENBRENO             VA     90010987095
2B543866591528   ISIDRO         MEDRANO                    TX     75092018665
2B544594472B98   JENNIFER       CALDERON                   CO     90014185944
2B54464738B334   MICHELLE       WATERS                     SC     90014766473
2B544654657157   TANYA          AREVALO                    VA     90012866546
2B544767751336   CONSUELLA      MENDOZA                    OH     66013837677
2B544822131453   KATHY          HUBBARD                    MO     27538278221
2B545A3A972B98   EDWARD         LOVATO                     CO     33077110309
2B546154991522   JUANITA        GALLARZO                   TX     90005361549
2B546517547952   MARISELA       MACIEL                     AR     90010305175
2B546783985938   KITTRANE       RICHARDSON                 KY     90014127839
2B5467AA65715B   CHANTEL        HUTCHINSON                 VA     90012047006
2B5469A5A61996   MILDRED        BARRON                     CA     90004509050
2B54718954B588   AMY            PIERSON                    OK     90011681895
2B547357681637   JENNIFER       REDE                       MO     90013853576
2B54773A581661   RODNEY         WILEY                      KS     90001847305
2B547815347952   JHON           JONES                      AR     90015488153
2B54796A831631   ALMA           MARTINEZ                   KS     22033699608
2B547A22891592   CARMEN         RAMIREZ                    TX     90013310228
2B547A8527B449   VOM            LIAN                       NC     11098970852
2B54828362B892   JESSICA        AMADOR                     ID     90001312836
2B548419A31631   LYNN           CLARK                      KS     90014664190
2B548985181661   JOESEPH        WING                       MO     90014639851
2B54946688B334   STANLEY        KING                       SC     11040954668
2B549749991541   DAVID          CHAVEZ                     TX     90015127499
2B549771951343   DEBRA          PARKER                     OH     90006467719
2B549891A71221   DOWAYNE        ANDERSON                   IA     90015518910
2B549966472421   RACHEL         RAVETTO                    PA     90012019664
2B549967191251   NATARSHA       KIZER                      GA     14533049671
2B549A5862B232   JUNIOR         KARGBO                     VA     90006330586
2B54B27484B261   MADELINE       RADCLIFF                   NE     90014632748
2B54B96A69189B   RANDY          FRANKS                     OK     21025139606
2B54BA5324B261   YESENIA        HERNANDEZ                  NE     90011260532
2B55116687B471   OLGA           MATHUR                     NC     90013281668
2B551417491251   ANTONEAL       MOODY                      GA     90002934174
2B551627A72B42   RICARDO        ACOSTA                     CO     33041176270
2B5517A8585965   RAYMOND        GRAHAM                     KY     90014307085
2B55182A55B333   KYM            WHITTEN                    OR     90010018205
2B551847A84364   MANUEL         ZAVALA                     SC     19035298470
2B5518A1372B98   ADAM           JAMES                      CO     90011038013
2B551945791828   JUAN           HERNANDEZ                  OK     90005839457
2B552121391592   DANIEL         ACOSTA                     TX     90014511213
2B5521A2591541   ELSA           SANCHEZ                    TX     90004571025
2B552519591522   JEANETTE       OFILI                      TX     90002745195
2B55268829189B   COURTNEY       MITCHELL                   OK     90014696882
2B552776772B42   LUIS           JUAREZ                     CO     90011187767
2B55286554B588   KENNETTA       WASHINGTON                 OK     90007718655
2B55328877B471   CONDARIUS      MASON                      NC     90006472887
2B553517285938   SAMANTHA       MOONEY                     KY     90015475172
2B5536AA972B98   MATTHEW        DAVIS                      CO     90014186009
2B55384629794B   JENA           BYBEE                      TX     74010828462
2B553858941245   AGATHA         REED                       PA     51067308589
2B55412425B271   LAMONT         WALTON                     KY     68009201242
2B5542A769794B   JOSEPH         CHOKA                      TX     90004752076
2B554441972421   CHERYL         JOHNSON                    PA     90011824419
2B554522824B6B   AN THONY       HARRIS                     DC     90004315228
2B554546772421   JOSHUA         MOSLEY                     PA     90014625467
2B554711631453   WILLIAM        BETHKE                     MO     27593017116
2B55489A487B59   ANNETE         RICHARDSON                 AR     90011978904
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2B555129172B98   CORY         KING                         CO     33035401291
2B55518399189B   ANTONIO      ESPARZA                      OK     21018601839
2B555191584364   DANIEL       WILSON                       SC     90006811915
2B55529669189B   ANTONIO      ESPARZA                      OK     90014852966
2B555446451343   WINSTON      SCARLETT                     OH     90006414464
2B55579218B17B   JOHN         LANGI                        UT     90012947921
2B5561A5285965   WILLIAM      TURNBULL                     KY     90007701052
2B556367A47952   MARY         TYLER                        AR     24083963670
2B556628971948   JOSEPH       MONTOYA                      CO     90007636289
2B55697122B892   BELINDA      GUARDADO                     ID     90012239712
2B556989A91522   ANA          MEZA                         TX     75023889890
2B557451A91828   JUAN         BAUTISTA                     OK     90008384510
2B557464A8B17B   ERIC         ANDRADE                      UT     90006894640
2B55748345B271   KAREN        MOSER                        KY     68053324834
2B557627155957   GUADALUPE    MOSQUEDA                     CA     48027066271
2B557854585965   MERRY        RUSS                         KY     90014868545
2B55786452B839   MORGAN       HILEMAN                      ID     90012338645
2B55832A651336   ROBIN        SPEED                        OH     90013903206
2B55866A844B62   MICHELLE     LANSE                        OH     90014156608
2B558683972B98   JOANN        COULSON                      CO     33020886839
2B558797687B21   NECOLE       MOSBY                        AR     28049077976
2B558888987B59   ADRIANA      MOORE                        AR     90011328889
2B559262A91541   CLAUDIA      CHAVEZ                       TX     90006732620
2B559263881637   SUMMER       HIPPLE                       MO     90013762638
2B55945474B261   JOSE         ELIZONDO                     NE     90006784547
2B55B2A6651336   KEVIN        BOLIN                        OH     90014922066
2B55B41A651336   LAREAN       HEDGES                       OH     90007134106
2B55B444991592   BERNADETTE   BLACK                        TX     90013984449
2B55B75994B245   JAMES        SCOTT                        NE     27002027599
2B55B931693773   LEAH         TOLLEY                       OH     90006689316
2B561121541231   TONYA        CARSWELL                     PA     90008841215
2B561165847952   KRESHA       CRISP                        AR     90002121658
2B56153AA72B98   MELISSA      DOMINGUEZ                    CO     90005735300
2B5616AA972B98   MATTHEW      DAVIS                        CO     90014186009
2B561A54A91592   BRYAN        DOLLZ                        TX     90013080540
2B56225572B839   JESSICA      HERRERA                      ID     90009582557
2B56259A68B334   CYNTHIA      BROWN                        SC     11042225906
2B56289249794B   MARGARITA    BARRIOS                      TX     74051028924
2B5628A579189B   PAUL         BUSER                        OK     21088308057
2B56311265B271   RANDALL      LEWIS                        KY     90012671126
2B563419257157   SAVILEE      BLACKMON                     VA     81072314192
2B56361A59794B   JUAN         GARCIA                       TX     90012136105
2B56433245B167   WINETTE      BYRD                         AR     23075493324
2B56452247B471   KATINA       DIXION                       NC     90007335224
2B564627A72B98   DUBALE       SHIBESHI                     CO     33056926270
2B56497754B25B   TIMOTHY      MAHER                        NE     90006309775
2B565168987B59   CHARLIE      ROGERS                       AR     90011411689
2B56525814B245   BERTA        JIMENEZ                      NE     27080312581
2B565269991241   JAY          NOBILI                       GA     90013302699
2B56547654B261   TRISHA       CHLEBINSKI                   NE     90014884765
2B565662841255   NANCY        POELLOT                      PA     90006026628
2B565976572B42   FELIX        MESTAS                       CO     33004249765
2B56618432B892   JIMMY        CHRISTY                      ID     90000791843
2B56635A584364   IRENE        HOLBACK                      SC     90013263505
2B566643831453   LAKISHA      WILLIAMS                     MO     90014846438
2B566665455957   HORTENCIA    GARCIA                       CA     90009176654
2B566762685938   LONIE        MALECOTE                     KY     90015557626
2B566823555941   JOSE LUIS    GONZALES                     CA     49033408235
2B566997A7B449   KATHERINE    GARCIA                       NC     90014879970
2B56753774B281   ROSARIO      CASTILLO                     NE     27005045377
2B56786972B892   ARTHUR       DOMINGUEZ                    ID     42041948697
2B56822352B892   YVONNE       ZAVALA CASTELLANOS           ID     90011392235
2B568329731453   MARLON       BROWN                        MO     90012723297
2B5685A7585938   MAGALI       QUIROZ                       KY     90012835075
2B5685AA377977   JAVARIUS     BASS                         IL     90014275003
2B568773331554   ASIA         JACKSON                      NY     90015477733
2B56879374B588   FOXY         STARNES                      OK     90015097937
2B568834791541   MELISSA      MARQUEZ                      TX     75015368347
2B568A7A14B261   RHODWELL     YOWANO                       NE     27090090701
2B56911A75715B   GRACE        MINUS                        VA     90004451107
2B569151572B35   INSEOK       LEE                          CO     90008351515
2B569164491541   ROSA         LOPEZ                        TX     75016831644
2B569173471948   DIANE        TAPSCOTT                     CO     90002471734
2B56957AA87B59   PATRIC       DAVIS                        AR     90012995700
2B56959834B261   ALEXANDRIA   WILLIAMS                     NE     90000255983
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2B56B122A2B27B   MARIA         CERQUERA                    DC     81011781220
2B56B76A35715B   WENDY         MIRANDA                     VA     90015237603
2B56B995887B21   VIRGIL        YARBROUGH                   AR     90013709958
2B57115679794B   MICHEAL       HOWELL                      TX     90014811567
2B571716972421   GARY          LOUGHNER                    PA     90006527169
2B5717A239184B   LISA          MENELEY                     OK     21046977023
2B571878291592   PRECILLA      GUERRERO                    TX     75083188782
2B571998A7B449   DONNETA       GRAHAM                      NC     90014879980
2B57236415B167   NICK          YARBERY                     AR     90015563641
2B57269565715B   PEDRO         LOPEZ                       VA     81012906956
2B57281818B133   ADOLPH        MESSADO                     UT     90012128181
2B57292784B281   WILLIAMS      LEAH SUE                    NE     27073289278
2B5729A4991828   JUANITA       DIES                        OK     90006129049
2B572A27171948   BRANDI        BACHECHI                    CO     32033400271
2B573147591828   RICHARD       MICHELL                     OK     21013511475
2B573148172421   CHRISTINA     WOLBERT                     PA     90014641481
2B573295891241   MATEO         GARCIA                      GA     90012162958
2B57332859184B   DONNELL       THIERRY                     OK     90004943285
2B573473287B59   DAQUARON      DALE                        AR     90014084732
2B57364727B471   NICOLE        DIXON                       NC     11027806472
2B57368115B167   RICARDO       MENDEZ                      AR     90015616811
2B5736A3272B98   ANGELICA      MILERO                      CO     90014186032
2B573A83451336   MIGUEL        SANCHEZ                     OH     90010250834
2B57431654B281   RUTILLO       SARAGOZA                    NE     27000853165
2B5746A3672B98   NIGUEL        VIGIL                       CO     90014186036
2B574712A91241   SHANIECE      RIELY                       GA     90011237120
2B574824981637   ANTONIO       PPEREZ                      MO     90013378249
2B574967431453   KARINA        ROSAS                       MO     90013169674
2B575331491522   JOAQUINE      GALACHE                     TX     90008093314
2B575651A91828   RENEE         PATRICK                     OK     90006916510
2B57572679189B   ESMERALDA     LOPEZ                       OK     90014697267
2B57574812B839   ROBERT        AHLEFELD                    ID     90011567481
2B576138131631   JASON         CATRON                      KS     90012581381
2B576216185938   KEITH         BROWN                       KY     90011892161
2B576238872421   LEON          PATTON                      PA     90014642388
2B57627984B261   KELSEY        SCOVILL                     NE     90014632798
2B57628518B17B   KAMILL        CORRY                       UT     31008442851
2B57649195715B   MIKE          BENNETT                     VA     90011854919
2B57669364B261   RACHEL        MALLORY                     NE     90014676936
2B577282384364   TONY          BROWN                       SC     90015152823
2B577513485938   TREENIA       NUTTER                      KY     67098575134
2B577753991522   MARIA         GUERRERO                    TX     90013577539
2B57796419794B   SANDRA        NOLASCO                     TX     90006089641
2B577997587B59   TINA          ROSS                        AR     23012729975
2B577A87891592   IGNACIO       LUNA                        TX     90014720878
2B57859A14B588   JMICHAEL      FORD                        OK     90015015901
2B578633A71948   ARACELY       GUILLEN                     CO     90012646330
2B578696433122   ANA           CRUZ                        IL     90014746964
2B5786A8491522   LAURA         SOTO                        TX     75009856084
2B578A86885938   HARLOD        WIGLESWORTH                 KY     90014130868
2B57935387B471   JEESE         VEGA                        NC     90013123538
2B57935389184B   BLANCHE       SCYFFORE                    OK     21033293538
2B579723351336   CLINT         LOVINS                      OH     66003857233
2B5797A7A5B161   LOUIS         MILLER                      AR     23075187070
2B57B12884B588   JAMES         SHAW                        OK     90001441288
2B57B467387B59   SHEILA        CURRY                       AR     90014084673
2B57B684151356   CHRISTOPHER   OLINGER                     OH     90002246841
2B57B716972421   GARY          LOUGHNER                    PA     90006527169
2B57B716A91828   NICOLE        BANNING                     OK     90010707160
2B57B793155941   LARRY         WAY                         CA     90010847931
2B57BAA7691522   IRMA          VILLAGRAN                   TX     75018390076
2B58158219794B   JUAN          TAJIBOY                     TX     90013045821
2B581863A51343   JOSEPH        FOSTER                      OH     66095728630
2B581A54547952   SHAWN         PALMER                      AR     90011310545
2B582512255941   JESSICA       QUINONES                    CA     90012315122
2B5826A4172B98   ELIER         BENITEZ                     CO     90014186041
2B583179384364   JAMARIA       MYERS                       SC     90011171793
2B583458491541   RAMONA        RUIZ                        TX     90015174584
2B58384354B281   JOHN          KENNA                       NE     90015028435
2B583885571948   LEONARDO      GARCIA                      CO     90014178855
2B58391A12B892   STEPHEN       SLATER                      ID     90010459101
2B58416A44B261   AUDREY        KOWSKIE                     NE     90013621604
2B585136787B21   MISTY         DRENNEN                     AR     90013601367
2B5851A2A4B261   LORENA        GONSALEZ                    NE     90015121020
2B585357551343   KIMBERLY      KELLY                       OH     90008893575
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2B58572272B892   SOPHIA         GARZA                      ID     90008807227
2B58573699794B   JOSE FELIPE    SANCHEZ                    TX     90013167369
2B585787A5B271   REGINALD       FRAZIER                    KY     90011757870
2B585956955941   LEDUC          STEVEN                     CA     49067589569
2B58596A57B373   JOSEPH         TYLER                      VA     81088619605
2B58651A391241   ROBBIN         MERVIN                     GA     90008755103
2B586597A9189B   CHRISTOPHER    CRADDOCK                   OK     90011235970
2B58711612B839   TRACEY         WERNER                     ID     90013391161
2B58713614B261   CARLA S        EVANS JR                   NE     90011261361
2B58719A931453   DEBRA          WOLFF                      MO     90010021909
2B58748419794B   LUIS ALBERTO   RODRIGUEZ                  TX     90015224841
2B5874A255715B   PATRICIA       FULLER                     VA     90012774025
2B58753A35B167   JACK           HUNTER                     AR     90015535303
2B58769234B281   RANDY          NORTHHORN                  NE     90011406923
2B58782627B471   CHINO          BURCH                      NC     11048058262
2B587A73691541   GRACIELA       ARELLANO                   TX     90008840736
2B587A86791251   DAVID          ALLEN                      GA     90003790867
2B58826139184B   ELIZABETH      ALLEN                      OK     21021422613
2B588419381661   EDDIE          CHRISTIAN                  MO     90010424193
2B58858425B167   GASTON         COLEMAN                    AR     90015605842
2B588713791541   ROSA           GONZALEZ                   NM     90004267137
2B588975387B59   RAYSHONE       HOLLOWAY                   AR     90004889753
2B589129A55997   MANUEL         VELAZQUEZ                  CA     48093061290
2B5892A875B271   CARLOS         ADAM                       KY     90009992087
2B589531A91828   EUSEBIO        VASQUEZ                    OK     21064915310
2B589733555941   JOSE           GARCIA                     CA     90014027335
2B5898A419794B   TIM            SHERROUSE                  TX     74015528041
2B589A1147B449   ALESHIA        ANDERSON                   NC     90014880114
2B58B19925715B   ABEL           RODRIGUEZ                  VA     90009551992
2B58B364491592   JESSICA        VILLARREAL                 TX     75014273644
2B58B4A294B281   BONEY          PATEL                      NE     27091504029
2B591236524B83   ELMER          CABRERA                    DC     90008822365
2B59128375715B   JAMES          DOWDY                      VA     90000662837
2B591342951343   SHADAKA        MONGHAN                    OH     90008283429
2B591515991828   ROTHENIA       NEWTON                     OK     90005795159
2B59259615715B   JOSE           HENRY BONILLA              VA     90014215961
2B592754A9189B   JENNIFER       MADISON                    OK     90014697540
2B59289A593767   TIFFANY        DAVENPORT                  OH     90011928905
2B592929685938   ROMAN          BHUJEL                     KY     90007529296
2B593157A9794B   RAUL           HERNANDEZ                  TX     90014821570
2B593491A72B42   WILLIS         ALEXANDER BLAND            CO     90010134910
2B5936A642B892   CRYSTAL        ODREN                      ID     90013226064
2B59377A95B271   DONNA          AMON                       KY     90014917709
2B59393599136B   KEANNA         SCATLIFFE                  KS     90011319359
2B594199472B42   JENNIFER       GONZALEZ                   CO     33089921994
2B59476457B449   PARTY          SUPPLY                     NC     90014887645
2B595229671948   TAYLOR         JAMES ROBERT               CO     32065422296
2B59546314B281   BENITO         LEONIDES                   NE     90014184631
2B59556644B261   CRISTINA       NURRY                      NE     90007645664
2B59571188B831   K              GNECHTEN                   HI     90014787118
2B595843A91241   TONY           SANDERS                    GA     14570638430
2B59595955B167   CRYSTAL        FRALIN                     AR     23037489595
2B595A8877B449   LEONEL         CERRITOS                   NC     90014880887
2B59615575B271   LARRY          CORNETT                    KY     90015171557
2B596258984364   NOLA           GRAHAM                     SC     90013762589
2B59647514B588   TAKEITA        JACKSON                    OK     90008504751
2B596682491522   CLAUDIA        LEAL                       TX     90005276824
2B596787291541   BRIANDA        BAILON                     TX     75071897872
2B5967A4957157   MARLON         GUZMAN                     VA     90009197049
2B596A97A5B531   ARNOLDO        ARVIZO                     NM     90005930970
2B597189155941   BARBARA        ARANDA                     CA     90010571891
2B597212A81661   JAMES          SANTIAGO                   MO     29060422120
2B5974A7991251   SABRINA        DELOACH                    GA     14551474079
2B597774581661   MARCOT         ROBLES                     KS     90004577745
2B597859431448   CLIFFORD T     MORRIS                     MO     27576278594
2B598238251343   LEOPOLDO       GARCIA                     OH     66020152382
2B598746261558   MAKE           SIRITHASACK                TN     90003897462
2B598A97A5B531   ARNOLDO        ARVIZO                     NM     90005930970
2B599279681637   MARCELL        SMITH                      MO     90013332796
2B599618672B98   MELANIE        HEATH                      CO     90002706186
2B599634147952   SABRINA        BEVARD                     AR     24071946341
2B599659855941   ELEANOR        GALAVIZ                    CA     90012926598
2B599799871948   KEVIN          URRUTIA                    CO     90014637998
2B59B213791541   HECTOR         GARCIA                     TX     75005772137
2B59B326472B98   AUDREY         BARTOE                     CO     33077433264
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2B59B71425715B   JOSE         AGUILAR                      VA     90013127142
2B59B715691592   ALMA         MACIAS                       TX     75050347156
2B59B71725B271   PAULISHA     JORDAN                       KY     68068907172
2B59B726757157   ISAAC        SALGADO                      VA     90015127267
2B59B96197B471   DONMARIO     JEAN-BAPTISTE                NC     90014769619
2B59BA7795B531   MICHELLE     BOND                         NM     90005930779
2B59BA8138B17B   ANTHONY      WARREN                       UT     90002730813
2B5B123A68B17B   THOMAS       ALDER                        UT     90006892306
2B5B1319685938   LEE          COLEMAN                      KY     67040643196
2B5B1421685965   JUDY         RAY                          KY     90001664216
2B5B146A22B839   RICKY        GALLEGOS                     ID     90014464602
2B5B1488372B98   DAVID        SCHLOTE                      CO     90012874883
2B5B18A2991528   CLAUDIA      ARTALEJO                     TX     75010988029
2B5B1989387B87   MICHEAL      WILLIAMS                     AR     23019149893
2B5B1A66157157   JOSE         RIVAS                        VA     90010420661
2B5B2578772B98   NOHEMI       RAMIREZ                      CO     90014185787
2B5B25A9972B23   JOSEPH       DADDI                        CO     33043645099
2B5B3137A91541   GEROMINO     LUEVANOS                     TX     75051501370
2B5B324234B261   RENAULD      FOX                          NE     90014632423
2B5B328814B281   HIROFUMI     BAGSIC                       NE     90014182881
2B5B3644591592   ANA          DAVILA                       TX     75061026445
2B5B367885B531   MICHAEL      DIAZ                         NM     90005926788
2B5B3925972B98   LORRAINE     APODACA                      CO     90012139259
2B5B4191761921   MIGUEL       DUARTE                       CA     90012211917
2B5B4521691828   KATIE        BUTLER                       OK     90009785216
2B5B4583284364   ANGEL        PEREZ                        SC     90010575832
2B5B461799189B   HEATHER      RICHARDSON                   OK     90014696179
2B5B4957491241   JOSE         REYES                        GA     90012209574
2B5B4A4A191541   ANNA         OLIVAS                       TX     75034430401
2B5B4A91A87B59   ALVIN        SHELTON                      AR     23029890910
2B5B5331172B98   VALENTINA    TALAVERA                     CO     33077653311
2B5B56A174B245   ADALBERTO    RIVERA                       IA     27022816017
2B5B5897455957   MATTEW       DELGADO                      CA     90013828974
2B5B5988A87B59   PATRICIA     WILLIAMS                     AR     90002239880
2B5B614A381637   MARCUS       JACKSON                      KS     90014841403
2B5B679275B167   RANAE        BALLARD                      AR     90009157927
2B5B697995B271   KEVIN        EUGENE                       KY     90014899799
2B5B7271641252   JOHN         ARCA                         PA     90014092716
2B5B734277B449   LADY         FOSTER                       NC     90007653427
2B5B7581872B98   ABRAHAM      MARTINEZ                     CO     90014185818
2B5B758292B839   THOMAS       NEWELL                       ID     90001785829
2B5B78A1451343   REGENIA      JONES                        OH     90012008014
2B5B8232A4B588   ELOISA       SALGADO                      OK     21558912320
2B5B8257A2B892   KHALIL       SHARRAD                      ID     42004272570
2B5B865177B471   TABITHA      BUSH                         NC     90015236517
2B5B8756357157   JOSE         GARCIA                       VA     90010657563
2B5B8A69181661   ZACHARY      RICHARDSON                   MO     90013780691
2B5B8A73785988   KATHY        BRADLY                       KY     90011850737
2B5B9238551336   ELISHA       CALHOUN                      OH     90001292385
2B5B9311731631   SHANNON      GILBERT                      KS     90014663117
2B5B945112B892   AURELIA      DUENAS                       ID     90001004511
2B5B9583672B98   HECTOR       MURGUIA                      CO     90014185836
2B5BB122287B59   PAMELA       SUMEY                        AR     90007661222
2B5BB17437B449   MONTY        BORCHARDT                    NC     90014901743
2B5BB26565B167   KHADEJA      PAYNE                        AR     90002482656
2B5BB68A95715B   JORGE        MARTINEZ                     VA     90009696809
2B5BB92824B553   STEPHANIE    RANGEL                       OK     90014859282
2B5BB9A312B27B   NELSON       GOMEZ                        DC     81085519031
2B6111A235B271   CHRYSTAL     LYMES                        KY     90013351023
2B61163175B161   DINA         HENDERSON                    AR     23090376317
2B61164452B839   KARISA       HUSSINYAR                    ID     90012586445
2B611A9222B242   GILBERTO     PEREZ LOPEZ                  DC     90001600922
2B612342285636   HELADIO      CRUZ                         NJ     90002373422
2B6123A859184B   WILLIAM      SHULL                        OK     21094683085
2B61252112B892   JERRY        COOK                         ID     90013245211
2B612584657157   BESSY        VILLALOBOS                   VA     90011425846
2B6125AA172421   DEVON        CARTER                       PA     90014715001
2B612648891541   ELSA         HERNANDEZ                    TX     90011986488
2B61285555B161   ALMA         GAYTAN-PINA                  AR     90011838555
2B61285945B271   LUSHES       BENSON                       KY     68068248594
2B612A13351336   JAMIE        SEIFER                       OH     90015410133
2B612A87157157   BESSY        VILLALOBOS                   VA     90014690871
2B613749555941   CRYSTAL      GUTIERREZ                    CA     49089567495
2B61398999184B   TARYN        MORGAN                       OK     90014299899
2B61413915715B   GRISELDA     SARAVIA                      VA     90014621391
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2B614275784364   LYNETTE      NELSON                       SC     19026712757
2B614446985965   PATRICK      RIGGS                        KY     66028014469
2B614727772B42   CAROL        GUSTAFSON                    CO     90013067277
2B61518445B167   MEGAN        STANTON                      AR     23090771844
2B615365485965   NICOLE       FERGUSON                     KY     66017053654
2B615426A91541   BRENDA       RUBIO                        TX     90012024260
2B615881791592   HORTENCIA    ORDONEZ                      NM     75032778817
2B615A8674795B   MICHAEL      SAMPLES                      AR     90014060867
2B61661A984364   DWAYNE       JENKINS                      SC     90005026109
2B61678825715B   SANDRA       CUVARRUBIAS                  VA     81018047882
2B61692379794B   KESHIA       CHAMBERS                     TX     90010719237
2B61738564B588   SHARYCA      TURNER                       OK     90003693856
2B6174A5291592   FLOR         ESPEJO                       TX     90010714052
2B61766499794B   CHARLES      LOCKETT                      TX     90014576649
2B61775A872B98   GREGORY      ZWART                        CO     90000537508
2B617792181661   SAMANTHA     PAPPAS                       KS     29001637921
2B617862A55941   VERONICA     BASURTO                      CA     90001378620
2B617A9314B261   JULIE        WITCOFSKI                    NE     27043190931
2B618197491241   BRYANT       BIGHAM                       GA     90015351974
2B61897592B839   BRANDON      BECKER                       ID     90013949759
2B619541587B21   GABBY        HYDE                         AR     90014585415
2B61979279189B   ALISHA       OWEN                         OK     90014697927
2B61983A781661   BRIANNA      PROCTOR                      MO     90014568307
2B61991A67B471   JOSE         PEREZ                        NC     90013249106
2B61B83545B161   PAUL         KUSTURN                      AR     90011838354
2B61B862184364   ANGEL        PRIOLEAU                     SC     90004358621
2B61B96594B588   TA-MYRA      ADAMS                        OK     90013599659
2B621141676B82   ELIZABETHE   RIVERA                       CA     90006331416
2B621147181637   TERI         OWNES                        MO     90005151471
2B621372491828   JACQUELINE   BARONE                       OK     90013253724
2B621692185965   SHANA        TURNER                       KY     90012396921
2B6216A3431453   DESTANEE     EARVIN                       MO     90009856034
2B621917872421   TINA         REITER                       PA     90013079178
2B622313872421   ANTHONY      TRIANO                       PA     90014763138
2B62233A57B471   FELICIA      WRIGHT                       NC     90013963305
2B62244114B588   CONNIE       HALL                         OK     90009784411
2B62249AA5B531   MARISELA     VASQUEZ                      NM     35002714900
2B622698A91541   RAMON        PONCE                        TX     90006046980
2B62279279189B   ALISHA       OWEN                         OK     90014697927
2B622929372B98   ANDREW       CHAVEZ                       CO     90014999293
2B622A1749794B   RIGOBERTO    ROSAS                        TX     90010690174
2B623141281637   ERIC         PARRISH                      MO     90014811412
2B623269291528   JOSEPH       VILLAGOMEZ                   TX     75092032692
2B623291147952   CORLISS      BUTLER                       AR     24015352911
2B623659685938   RONALD       HOWARD                       KY     90015296596
2B62377839184B   WINIFRED     BRAGGS                       OK     21007257783
2B62379749189B   SYDNEY       LEWIS                        OK     90014697974
2B623A25551336   JADE         DARKS                        OH     90012740255
2B62442A57B471   GEORGE       MATHIS                       NC     90013124205
2B62481969189B   VERONICA     HERNANDEZ                    OK     90014698196
2B62483459184B   JAMES        STONE                        OK     90014448345
2B624A25685965   JULIA        STARNES                      KY     90014780256
2B62529A14B281   CONNIE       POFF                         NE     90008072901
2B6252A739376B   DEVONNE      JORDAN                       OH     90004292073
2B625314671948   JAZMINE      ROWE                         CO     90009253146
2B625348285938   ELEANOR      COOPER                       KY     90009583482
2B625458455941   SANDRA       PARRA                        CA     90002084584
2B626293185965   ADALBERTO    HERNANDEZ                    KY     90015052931
2B626788972421   RICHARD      WASHINGTON                   PA     51012447889
2B6268A639189B   GINA         GREEN                        OK     90014698063
2B6269A8A91592   ARLENE       BARRAZA                      TX     90008819080
2B62737457B471   AMARIS       CHELLE                       NC     90014373745
2B627583691828   SHARON       CRAWFORD                     OK     90013455836
2B627796491243   MARY         VILLWOK                      GA     90008847964
2B627957991589   DANIEL       GARDEA                       TX     90009519579
2B627964281637   GERMAIN      RIVERA                       KS     90005379642
2B62797592B839   BRANDON      BECKER                       ID     90013949759
2B628238451343   DEMETRIUS    DAVIS                        OH     66098012384
2B62828444B261   JULIE        LEONARD                      NE     90014632844
2B62831615B167   CAIYLYN      WHITFIELD                    AR     90014163161
2B62855778B17B   BLANCA       GARCIA                       UT     31077145577
2B6295A169794B   DIANA        NORTHUP                      TX     90010415016
2B629753A97121   SILVIO       ALVAREZ                      OR     44549957530
2B6297A542B27B   JAMES        NUNEZ                        VA     81084267054
2B62999AA5B161   WESLEY       SHULER                       AR     90011839900
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2B629A67185938   JESSICA E     HINKLE                      KY     90010840671
2B629A8925B531   MARIA         MCMULLEN                    NM     35069820892
2B62B1A7187B21   BRITTNEY      HALFMAN                     AR     90014591071
2B62B34AA7B471   CLAUDIA       CATAPANO                    NC     90009213400
2B62B3A7591241   GEORGE        MALONE                      GA     90015123075
2B62B5A814B521   LAKEESHA      GIVENS                      OK     21504115081
2B62B79279189B   ALISHA        OWEN                        OK     90014697927
2B62BA44A5B271   DERRICK       SHORT                       KY     90013030440
2B631433191828   JOHN          BRADLEY                     OK     90010794331
2B63143932B892   JAMES         DAVIS                       ID     90009824393
2B631577574B79   DANYELLE      MITCHELL                    PA     51066585775
2B63158AA9794B   MICHEAL       GREEN                       TX     74020795800
2B63162A285938   CARLA         ALCORN                      KY     67042346202
2B631741A91522   AMANDA        WALL                        TX     90008287410
2B6317A542B27B   JAMES         NUNEZ                       VA     81084267054
2B63191A371923   DAWN          WIESNER                     CO     90007799103
2B632322991541   EDWARD        NASH                        TX     90014173229
2B6326A112B892   TERESA        THORNE                      ID     42033856011
2B63281A28B334   KIMBERLY      MAYFIELD                    NC     90004498102
2B63285373B384   DION          GOUNTANIS                   CO     90011558537
2B63328444B261   JULIE         LEONARD                     NE     90014632844
2B63372755715B   NORMA         SERRANO                     VA     81069977275
2B63374619189B   LATESSA       WALLACE                     OK     90011237461
2B633A6182B839   JESUS         BALDERAS                    ID     90011280618
2B633A86A5B271   JACK          GILES                       KY     68016350860
2B633A96591828   TIM           OWENS                       OK     90001720965
2B63416722B839   TIFFANY       BENJAMIN                    ID     42047491672
2B6343A755715B   JOSE          ALEMAN                      VA     90001153075
2B634496647952   SHELLY        BAILY                       AR     90006984966
2B63469415B531   TIMOTHY       LANDRY                      NM     90005946941
2B634A43155957   CHERRI        WOOMMAVOVAH                 CA     48006420431
2B634A98372421   TIMOTHY       POWELL                      PA     90014780983
2B63556968B334   CHESICA       SINCLAIR                    NC     90001045696
2B635573685965   KEVIN         LEEK                        KY     90014035736
2B63589977B471   EMELIA        WUREN                       NC     90012378997
2B636197772B98   FERNADO       TORRES                      CO     90012921977
2B6361A3387B59   SAMIR         SALAAM                      AR     90012771033
2B636212555957   ROSIO         ALDACO                      CA     90006262125
2B63637875B271   LINDSAY       MAHONEY                     KY     68066913787
2B63677A55B167   JERRY         FULMER                      AR     90012387705
2B6368A4387B21   PAYGO         IVR ACTIVATION              AR     90014658043
2B63692825715B   PAYGO         IVR ACTIVATION              VA     90011709282
2B636A11A3B352   JANET         PINK                        CO     90009600110
2B63716992B892   ZARAGOZA      ANGELICA                    ID     42092371699
2B63748A951321   DONALD        THOMPSON                    OH     90012324809
2B6378A2593773   VICKIE L      CORBETT                     OH     90003268025
2B638455672B98   A             A                           CO     90012124556
2B638969851336   DAVID         MACINNIS                    OH     90014519698
2B63916769794B   LEONADRO      ZARATE                      TX     90013131676
2B63984465B167   AMBERLY       BURNLEY                     AR     90014168446
2B639A55991828   ANGEL         TACKETT                     OK     90013650559
2B63B33A181446   REBECCA       WAID                        PA     90014793301
2B63B485891828   TROY          ESTES                       OK     90013384858
2B63B824791592   ARTURO        SAPIEN                      TX     90013238247
2B641253155957   XAVIER        TELLEZ                      CA     90008092531
2B64125959189B   ELIZABETH     AVANDA                      OK     21067112595
2B64128712B839   KIERA         STONE                       ID     90011992871
2B641637547952   JAMIE         IRABURO                     AR     24007426375
2B641A94A31631   PAMALA        FLORENTIN                   KS     22092950940
2B64246465715B   ISMELADA      OCHOA                       VA     90011194646
2B642527661982   KABURIA       JEACQUE                     CA     90007445276
2B642749A9184B   PAYGO         IVR ACTIVATION              OK     90013107490
2B642886684364   ERIN          MOTHERSHED                  SC     90012678866
2B64297282B839   SANJA         BABIC                       ID     90012339728
2B64324344B261   SHANNA        SELPH                       NE     27085812434
2B643386A71948   RONALD        MCKIM                       CO     90015273860
2B643563987B59   DELONTAE      LOVE                        AR     90013595639
2B64357789794B   ERICK         VELEZ                       TX     90012935778
2B6437A595715B   GUILLERMINA   BAUTISTA                    VA     90006177059
2B643A74555941   JOHN          HILLENBURG                  CA     90000680745
2B64476112B931   ALEJANDRO     PATINO                      CA     90000747611
2B64477A84B281   DONTAVIS      JOHNSON                     NE     90013017708
2B644857A9189B   JULIO         CASTANEDA                   OK     90014698570
2B6448A7771948   ROY           MORIN                       CO     90012828077
2B6449A112B23B   CLARENCE      WILLIAMS                    DC     81014959011
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2B6451A2891522   ZULEMA         SOLORIO                    TX     90013761028
2B645343A31453   ALEXIS         JOHNSON                    MO     90013723430
2B645483785988   ALECIA         MEANS                      KY     90005574837
2B64639A89184B   ROSA           PINON                      OK     90007593908
2B64654642B839   MANUEL         CORONA-ORTIZ               ID     42031245464
2B646744751336   JASON          WILKINS                    OH     66034947447
2B646976A3B368   ANDRES         SAENZ CHAPARRO             CO     90014999760
2B647264487B87   GLORIA         PHILLIPS                   AR     90012682644
2B647339291522   LLOANA         VIRRUETA                   TX     90011823392
2B647595577371   PAYGO          IVR ACTIVATION             IL     90014425955
2B647795581637   SHANNON        MARTIN                     MO     90007697955
2B64779A451336   EVELYN         ANDERSON                   OH     66000097904
2B6477A6672421   JENNIFER       SCHWEIZER                  PA     90014807066
2B647A51931453   ALICE          BUTLER                     MO     27558910519
2B647A91972B42   CECILIA        RODRIGUEZ                  CO     33014230919
2B648141A93773   LARUKO         WOODS                      OH     64557101410
2B64818442B839   JENNIE         OZUNA                      ID     42091051844
2B648393485938   REBECCA        FLINCHUM                   KY     90014843934
2B648518577568   RODRIGO        ESTRADA-SALAZAR            NV     43008975185
2B64854965B167   JESSIKA        VINCIL                     AR     90014205496
2B64899A991592   BRIAN          BORGES                     TX     90012409909
2B64917429184B   RANFERI        PAXTOR                     OK     21040021742
2B64955132B892   MIKE           LISBY                      ID     90007975513
2B649553A4B588   BETTINA        BOWENS                     OK     90009645530
2B649615287B59   SABRINA        RAYA                       AR     90012996152
2B6496AA63B32B   PATRICK        MARSHALL                   CO     90001496006
2B649892557157   JORGE          GRANADOS                   VA     90004228925
2B64B3A8A87B59   STEPHAINE      JAMES                      AR     23051783080
2B64B552247952   KELSEY         CLAYTON                    AR     24048545522
2B64B582155939   RACHEL         CISMEROS                   CA     90014235821
2B64B5AA381661   MECHIA         TAYLOR                     MO     29070325003
2B64B86A181637   EDWARD         ADAMS                      MO     29074348601
2B64BA7A172B98   ROSALBA        ORTEGA                     CO     33050630701
2B651353981661   TEQUILA        PARKER                     MO     90014573539
2B651542291541   MELISA         ARRIAGA                    TX     90008715422
2B65222534B588   COLBY          PARKS                      OK     21564762253
2B652365A71948   JOSH           FREEMAN                    CO     32029913650
2B65245964B245   RUSHEENA       KIRK                       NE     90005194596
2B65253414B281   REYNA TERESA   GUZMAN GARCIA              NE     90014185341
2B652847961877   ZARIA          THOMPSON                   IL     90015498479
2B65294519189B   WILLIAM        KOZIK                      OK     90006239451
2B652A11291241   MICHEAL        JOHNSON                    GA     90011240112
2B652A9469794B   TIARA          HILL                       TX     90003640946
2B653247255957   JESUS          BUSTAMANTE                 CA     90011262472
2B653328172B42   JANET MARIE    VALERO                     CO     90013343281
2B653453A91241   PRISCILLA      WILLIAMS                   GA     90013754530
2B654619997B68   SILVIA         HERNANDEZ                  CO     90007906199
2B6546A925B271   EDUARDO        LOPEZ                      KY     90012636092
2B654948847952   SHANTE         WAUGH                      AR     90001409488
2B65496869794B   DEMETRIS       MCGREW                     TX     90013109686
2B654982184364   DAVID          GODLEY                     SC     19042089821
2B655142471948   OSCAR          GALLEGOS RIOS              CO     90010451424
2B655177385636   JANINE         ROAMES                     NJ     90009341773
2B655178857157   SALVADOR       CAMAD                      VA     90013231788
2B6553A7131453   SILLAH         FATOU                      MO     90009943071
2B65551625B167   MISTY          DOUGHERTY                  AR     90014185162
2B65559249184B   STEPHEN        REMINGTON                  OK     21074475924
2B65587372B839   GENARO         RODRIGUEZ                  ID     90013948737
2B655999755957   JACINTO        SANCHEZ                    CA     90001669997
2B656433A2B839   ESTEBAN        ORNELAS                    ID     42084664330
2B656A2A77B449   RAYMOND        KIRKPATRIC JR              NC     11083310207
2B657382185965   TIM            CALDWELL                   KY     66045613821
2B657516184364   WILLIAM        GRAHAM                     SC     90005665161
2B657781A2B892   BRAD           MCGEE                      ID     90013967810
2B657878A4B588   GUMARO         DELOERA                    OK     90015148780
2B65794754B261   DECHELLE       STARKS                     NE     90008179475
2B65822165715B   YISHAK         BEKELE                     VA     90015252216
2B658229655957   ALEXANDRIA     PETERSON                   CA     90008302296
2B65832417B471   CHRIS          BROWN                      NC     11086443241
2B658581672B98   JAVIER         ARCHAGO                    CO     33075625816
2B658665131453   THOMAS         LONG                       MO     90010366651
2B658781787B87   MAL            WHITE                      AR     23085197817
2B65886559189B   SAMANTHA       RIDDLE                     OK     90014698655
2B659614781661   AVILA          BARBARO                    MO     90002746147
2B65B22382B892   KATRINDA       GONZALEZ                   ID     90013612238
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2B65B24A672B98   TIFFANY      HICKS                        CO     90014752406
2B65B524457157   JOHN         ROSS                         VA     90014425244
2B65B76457B449   PARTY        SUPPLY                       NC     90014887645
2B661174671948   MARTINA      BENITEZ                      CO     90014201746
2B661732691528   MYRA         LUNA                         TX     75092057326
2B662317455941   KAO          THAO                         CA     90012123174
2B662468791528   NORMA        DIAZ JIMENEZ                 TX     90003354687
2B66259455715B   SHUKRI       IBRAHIM                      VA     90011855945
2B662A1137B449   ANTHONY      GRAY                         NC     11016280113
2B662A3A491828   ALEJANDRO    REYES                        OK     90012070304
2B663112172B98   JOSE         MARTINEZ                     CO     33005661121
2B66324454795B   MARIA        HERNANDEZ                    AR     90013092445
2B663273584364   JOHNNIE      HOLMES                       SC     90009172735
2B663333231631   ARACELI      MARTINEZ                     KS     90004823332
2B663435255941   REBECCA      CANSLER                      CA     90013214352
2B66378184795B   MARIA        HERNANDEZ                    AR     90008187818
2B663986155957   KEVIN        KNOTT                        CA     48078819861
2B66427918B17B   DONALD       DEAN                         UT     90009252791
2B664456871948   JOSE         VIALPANDO                    CO     90011154568
2B665173681637   ADRIANA      HERNANDEZ                    MO     90011201736
2B66558895715B   NARCISA      GOMEZ                        VA     90011955889
2B665667272421   DARLENE      BOOHER                       PA     90007086672
2B665797855941   MARIA        HERNANDEZ                    CA     90010917978
2B665A35957157   MAYBELL      NAUARRETE                    VA     90001800359
2B665A68847952   MARIE        NONNEMACHER                  AR     90007940688
2B665A69591541   MARISELA     RIOS                         TX     75072380695
2B6661A6A91828   SHANNON      ARNOLD                       OK     90013841060
2B6661A794B588   ALICIA       SMITH                        OK     90010011079
2B666379591522   MARISELA     VARGAS                       TX     90008103795
2B666A91681661   THERESA      TAYLOR                       MO     90013780916
2B667252191541   RAMON        MENDOZA                      NM     75032362521
2B667384957157   GRICELDA     BERRIOS                      VA     81090633849
2B667448861999   SAMUEL       STEWART                      CA     90010384488
2B667794651343   LUTHER       LITTLE                       OH     90009957946
2B6677A7A7B471   HOUSTON      GEORGE                       NC     90009157070
2B667853781637   SHANE        SELF                         MO     90015008537
2B66833552B839   MCDOWELL     RICH                         ID     90010283355
2B6686A8831453   JAMES        SCHRAMM                      MO     90013836088
2B668841191592   KRISTEN      CORDOVA                      TX     75039938411
2B668998181661   SABRINA      MALONE                       MO     90014629981
2B668A31491828   MIGUEL       GUERRERO                     OK     90007670314
2B668A6595B161   JACQUELINE   LANGFORD                     AR     23069060659
2B669332384359   PATRICIA     MOORE                        SC     90003683323
2B66939A681661   JOANN        EWING                        MO     29026473906
2B66945988B17B   MARICELLA    VENSURA                      UT     90009124598
2B66946252B892   ROSE         KNIGHT                       ID     90013364625
2B669623555941   JULIETA      LUPERCIO                     CA     49069686235
2B66968815B271   DENISE       VAUGHN                       KY     68013736881
2B669978391592   DANIEL       RAMOS                        TX     75010289783
2B669A7A14B281   BRE          CROSBY                       NE     90013390701
2B66B199791522   EDUARDO      CALLEROS                     TX     90010671997
2B66B3A767B471   JENNIFR      NELSON                       NC     90008673076
2B66B48882B839   MAYRA        LEON                         ID     90012444888
2B66B67645B167   ETHAN        HENDRICKS                    AR     90014186764
2B66B78825715B   SANDRA       CUVARRUBIAS                  VA     81018047882
2B671166384364   HAROLD       MORRISON                     SC     90014101663
2B67171AA57157   DARWIN       CABRORA                      VA     90014577100
2B67181244B588   JAMES        MCNEELEY                     OK     90009798124
2B671A21771948   JULIAN       JIMENEZ                      CO     90011270217
2B672246385988   STACY        ROBERTSON                    KY     90005132463
2B67239A431631   ADRIANE      RADER                        KS     22081943904
2B67249745B161   MARILYN      SMITH                        AR     23037334974
2B672637972B98   ISELA        GANDARA                      CO     90014186379
2B672824887B59   MARCUS       DAVIS                        AR     90010998248
2B672A25A71948   EULALIO      GARCIA                       CO     32024390250
2B672A8A684364   JULIE        GODWIN                       SC     90013720806
2B67343642B27B   HAKEEM       BILAL                        DC     90006334364
2B673776987B21   PAYGO        IVR ACTIVATION               AR     90014797769
2B67378A471948   MELISSA      HAWTHORNE                    CO     32021797804
2B674145591528   DANIEL       GONZALES                     TX     75092061455
2B674213372B98   KARLIE       MORALEZ                      CO     90011242133
2B67441389794B   TELMA        VASQUEZ                      TX     90001994138
2B674534585965   KEVIN        LINNEMANN                    KY     90003185345
2B674548181661   TOMMIE       BELKE                        MO     29061385481
2B674674755957   DAVID        NUNES                        CA     90014736747
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2B6756A839184B   FRANCHESKA       WILLIS                   OK     90004886083
2B67574A691522   MARIBEL          GONZALEZ                 TX     90004077406
2B676356291522   GUSTAVO          CHAVEZ                   NM     75062443562
2B676387855957   JUAN             RODRIGUEZ                CA     48007133878
2B676391A71948   PAYGO            IVR ACTIVATION           CO     90013403910
2B676494A5B161   SHEILA           COX                      AR     90013644940
2B6764AA79189B   CALYA            BUTLER                   OK     21095294007
2B676588584364   RHODA            WHITE                    SC     90010255885
2B676648851343   EMI              PARROTT                  OH     90013596488
2B677177A9189B   ANGELICA         PINA                     OK     90008481770
2B677318284364   ASHLYN           BURCH                    SC     90013973182
2B677926291541   JUAN             ALVAREZ                  TX     75087009262
2B678359597992   DANNY            OWENS                    TX     90014683595
2B67855784B281   RHONDA           FREEMAN                  NE     90001385578
2B678747671948   G                JONES                    CO     32077097476
2B67922382B892   KATRINDA         GONZALEZ                 ID     90013612238
2B679714971948   DOMINICK         BARTLONE                 CO     90014947149
2B67989879189B   BRANDY           SHWARTZ                  OK     90011238987
2B679A1514B245   MICHAEL          GILLENWATER              NE     27012800151
2B679A21771948   JULIAN           JIMENEZ                  CO     90011270217
2B67B311857157   WILFREDO DERAS   SONIA DERAS              VA     90014863118
2B67B839431631   TERANCE          WHITE                    KS     90011988394
2B67B987671948   LUZ              GONZALEZ GOMEZ           CO     90014179876
2B681132585938   SHANNON          WILLIAM                  KY     90014051325
2B68145A52B892   MARIA            GARCIA                   ID     90001564505
2B681471197183   JACKY            CHAN                     OR     90010824711
2B681661331453   ASIA             THOMPSON                 MO     27561296613
2B68194A272B98   BARRON           LAURA                    CO     90005399402
2B68212A891522   EFREN            MARTINEZ                 TX     90011521208
2B68225429189B   CAROLYN          PARTSCH                  OK     90014942542
2B682421385965   ANGEA            TAYLOR                   KY     66024004213
2B682642472B98   NATHAN           FORTENBERRY              CO     90014186424
2B68286337B471   RHONDA           TINDAL                   NC     90000868633
2B6829A2191828   DUSTA            CROMIS                   OK     90015189021
2B682A6182B839   JESUS            BALDERAS                 ID     90011280618
2B683672787B59   MAJOR            CALLOWAY                 AR     23073756727
2B68369885B167   JUAN             TAMBRIZ                  AR     90014216988
2B683889793773   THERESA          GOLLIHUGH                OH     64596898897
2B683945A87B87   FLORENA          WRIGHT                   AR     23003099450
2B684233A2B839   GUADALUPE        JUAREZ                   ID     90014642330
2B684251A9189B   ANNIE            CAITLIN                  OK     21044802510
2B684639A87B87   LASHONDA         BRAZELL                  AR     90009736390
2B68487A47B449   ARIMISHER        GLENN                    NC     90014888704
2B685357557157   JOSEPH           ADJALOKO                 VA     90012783575
2B68556399136B   TINA             CAMPBELL                 KS     90005825639
2B685644A72B98   SANDRA           CHAVEZ                   CO     90014186440
2B68594174B281   ESVEIDY          MALDONADO                NE     27074839417
2B685A6194B245   THOMAS           KUBILA                   NE     90008430619
2B685A94A93742   ANGELA           RODGERS                  OH     90005720940
2B68622372B839   TONYA            BAGLEY                   ID     90001322237
2B686469785965   DORIS            OOTEN                    KY     90012054697
2B68688124B261   JESSICA          WOODARD                  NE     27017028812
2B6869A8347952   CHARLES          MILOR                    AR     90015119083
2B686A27431453   REBECCA          JACKSON                  MO     90010730274
2B687485A55941   SANDY            SISAKDA                  CA     90014184850
2B687825572B42   JULIAN           NAVARRO                  CO     90003588255
2B68786868B17B   KEITH            KENDALL                  UT     90010028686
2B68838675B161   JOHN             SANDERS                  AR     90004583867
2B688443291828   TOMIOTHY         HATCHER                  OK     90006564432
2B688611A9189B   HARLAN           USSREY                   OK     90008456110
2B688937391241   JOHN             WILLIAM                  GA     90011899373
2B68919339794B   MARIA            LOPEZ                    TX     90013731933
2B689318A31631   ANGELA           ALEXANDER                KS     90012013180
2B689531371948   PATRICIA         LEAVITT                  CO     32017595313
2B68974392B27B   TAYNON           HILL                     DC     90007187439
2B68B328822477   CONNIE           REDSTRONG                IL     90011183288
2B68B418541261   MELISSA          BRADLEY                  PA     90004944185
2B68B58919189B   CHRISTIE         RAYMOND                  OK     21015035891
2B68B8A169794B   JUAN PABLO       TINOCO                   TX     90012548016
2B691122391881   CHARLES          OATES                    OK     90010971223
2B69124495715B   NATALIE          BRISENO                  VA     90006492449
2B69124A185988   RENEE            SEALS                    KY     90011092401
2B691291251343   ANDREW           COOK                     OH     90011272912
2B69131A691541   BELINDA          MORENO                   TX     90003403106
2B691882131433   KEYANNA          LATHON                   MO     90014298821
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2B691994372B98   ARTHUR       AGUIRRE                      CO     33068779943
2B692531185938   NICOLE       BRADLEY                      KY     90011185311
2B69284815B167   LESILE       MORALES                      AR     90014478481
2B69287357B449   ADIN         OROZCO                       NC     90014888735
2B692A79972B98   JOHNNY       ROYBAL                       CO     33069610799
2B6934A2191828   WAYNE        CRANE                        OK     90007564021
2B69352194B588   CHRISTIAN    DASHUN                       OK     90015245219
2B693666257157   TYRONE       DAVIS                        VA     90007006662
2B693741591522   EDGAR        PEREZ                        TX     75068747415
2B693928374B79   MACOMICO     SLAYTON                      PA     51047649283
2B694179587B21   JAMES        HOOLEY                       AR     90014871795
2B69463679189B   BRANDY       COX                          OK     21070296367
2B69468215715B   WENDY        MORALES                      VA     90007086821
2B69471739794B   MARSHAL      WORTHAM                      TX     90015037173
2B694977772B98   ROBERT       NAVARRO                      CO     90012889777
2B695111991828   MICHAEL E    MYERS                        OK     21011441119
2B695248572B98   MARIA        ESCOBAR                      CO     33063072485
2B69533AA57157   DONALD       RICHMOND                     VA     90012753300
2B695524491522   SOLIS        MARISELA                     TX     90006015244
2B69562484B261   TIANNA       WATKINS                      NE     90003636248
2B69613824B245   TENETHA      COLLINS                      NE     90006941382
2B69616982B892   KRISTINA     FITTS                        ID     42032051698
2B6961A4A91522   ALEJANDRO    RIVERA                       TX     90012631040
2B696456585938   TEREKA       GUIN                         KY     90011164565
2B696A18471948   VANTASIA     JOHNSON                      CO     90014180184
2B69722355B167   ARLESHIA     MORGAN                       AR     90004062235
2B69753472B839   HEATHER      HOLM                         ID     90014575347
2B697566672B42   IRVIN        GARCIA                       CO     33038815666
2B697596491592   MONICA       CANO                         TX     90011575964
2B697663981637   NIKOLAS      DJIKO                        KS     90013666639
2B69771474B588   JOSE         HERNANDEZ                    OK     21578107147
2B697994291241   IRVING       NICHOLS                      GA     14573549942
2B697A17131453   JERWANDA     MASSEY                       MO     27546750171
2B698393847952   AMANDA       HALL                         AR     90014703938
2B698589891522   AMBER        LARA                         TX     75065895898
2B698816261979   ERIC         MIRELES                      CA     90007478162
2B69881A54B521   KRISTINA     ROMERO                       OK     90011728105
2B6988AA94B588   ANDRES       MONTES                       OK     90010518009
2B69915319189B   TAYOUR       WILSON                       OK     21002671531
2B699197881637   SHARON       LINDSAY                      MO     90014111978
2B6991AA54B281   JAMIE        PLATER                       NE     27034221005
2B699648672B98   JAMES        THOMAS                       CO     90014186486
2B69999A45B161   MATEO        REYES                        AR     90001999904
2B69B474685965   VINCENT      CRUPPER                      KY     90014694746
2B69B661331453   ASIA         THOMPSON                     MO     27561296613
2B69B826647952   ANDREA       RODIRGUEZ                    AR     90014918266
2B69B92384B261   JON          SUTTON                       NE     90011569238
2B69BA16341245   RICKI        PHILLIP                      PA     90011550163
2B6B122184B281   CHRISTINA    NEGRETE                      NE     27066842218
2B6B12A8372B36   SEAN         DUNWOODY                     CO     90001112083
2B6B12A999794B   MARIAH       CHILDS                       TX     90011462099
2B6B162412B249   EBONY        TATE                         DC     90001896241
2B6B1768A91522   MARTIN       SOLTERO                      TX     75012377680
2B6B1A5A884364   DAMARIS      LARA                         SC     90000720508
2B6B2224972B98   EDGAR        RAMIREZ                      CO     33078292249
2B6B2285A72421   LAUREN       RUPERT                       PA     90013942850
2B6B23A3257157   ANTHONY      RAMIREZ                      VA     90005813032
2B6B283369794B   ALEJANDRO    HUINAC                       TX     74052878336
2B6B2A5434B281   ELIZABETH    BRITO                        NE     90012040543
2B6B3126155957   JUDITH       ALVIRA                       CA     90014331261
2B6B314532B839   ROSENDO      RIVAS                        ID     42090571453
2B6B3668584364   ROBBIE       BURRIS                       SC     90014416685
2B6B3713533122   BEVERLY      PETERSEN                     IL     90011027135
2B6B376984B245   JEANIE       HALL                         IA     90009887698
2B6B3A3985B161   LAKISHIA     FISHER                       AR     23023300398
2B6B422339189B   DARLENE      MCDUGLE                      OK     90011002233
2B6B428A831453   TINISHA      WATSON                       MO     90011902808
2B6B4396451343   SHAWN        ROBINSON                     OH     90009943964
2B6B45AA172421   DEVON        CARTER                       PA     90014715001
2B6B5386785938   CIPRIANO     SANTIANGO                    KY     90002153867
2B6B555577B471   LATICIA      COOKE                        NC     90011115557
2B6B576A19189B   TINA         OBERST                       OK     90014697601
2B6B592219794B   VELT         WALLACE                      TX     90014129221
2B6B5A56555923   MARY         BRAMBILA                     CA     90007850565
2B6B6312981661   RACHEL       ALLISON                      MO     90007703129
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2B6B676465715B   REYNALDO      CHAVEZ                      VA     90011867646
2B6B6A58784364   RASHIED       WHILDER                     SC     19065280587
2B6B7616972B98   ADRIAN        GONZALEZ                    CO     90014186169
2B6B782254B521   PATRICIA      RODRIGUEZ                   OK     90010778225
2B6B78A252B839   ERICK         JIMENEZ                     ID     90013948025
2B6B78A325715B   JOSE          GUEVARA GARCIA              VA     81057828032
2B6B7A59591522   JOHNY         SAPIEN                      TX     75010730595
2B6B8672185938   VICTOR        FERNANDEZ                   KY     67017576721
2B6B8679581637   CATHERINE     BARTOW                      MO     29080726795
2B6B913A291522   OSCAR         ESTRADA                     TX     90014931302
2B6B9488291541   LILY          ESTRADA                     TX     90001214882
2B6B94AA872B98   MARK          JAIME                       CO     33096634008
2B6B9537872421   ROSE          MORRISS                     PA     90014725378
2B6B9665331453   JULIE         RIDGELL                     MO     90015126653
2B6B9668687B59   SHEILA        CURRY                       AR     90014086686
2B6B994879184B   MAGYN         PASSMORE                    OK     90010379487
2B6B9982A4795B   WALTER        AGUILAR                     AR     90002479820
2B6BB274991828   LEMONT        JACKSON                     OK     90015322749
2B6BB648A81637   KRYSTAL       NASHONDRA                   KS     90011736480
2B6BB854991592   BALDOMAR      SALAZAR                     TX     90000708549
2B6BB915181661   MAGDALENA     CHAPA                       MO     90014629151
2B6BBA85A5B271   ROBERT        TIPTON                      KY     90000980850
2B711577A91241   CIERRA        CRONK                       GA     90013755770
2B71175269189B   ALYNE         BEAVER                      OK     90014707526
2B7117A474B553   JOHNESHA      HINES                       OK     90013577047
2B71215A291592   SAMUEL        WINTERS                     TX     90013181502
2B71216927B471   MARIA         CERECEDA                    NC     90013131692
2B7122A455B356   NUNO          VILLA JERINO                OR     90003722045
2B712512831453   CEDRIC        LIBENGO                     MO     90013255128
2B71312277B666   TERRELL       DAVIS                       GA     90005951227
2B71322939794B   SHACQUELINE   REED                        TX     90008952293
2B71342A172B98   EVELYN        ARCHULETA                   CO     90004434201
2B713651972B98   ROBERT        PATERSON                    CO     90014186519
2B71374A287B59   TIERRE        HAWKINS                     AR     90014247402
2B713771171948   THOMAS        RUSSELL                     CO     90014477711
2B71438389189B   STUART        COTTRILL                    OK     90015153838
2B714424A31699   MARTIN        HEFLEY                      KS     90011544240
2B714616291522   ALMA          DE GONZALEZ                 TX     75085856162
2B714A8497B471   MI NENA       BELLA                       NC     90007110849
2B715129A5B167   EVANGELINA    RODRIGUEZ                   AR     23073281290
2B715551157157   EVELYN        HERRERA                     VA     90010045511
2B71578594B588   BENNIE        HOUSTON III                 OK     90011457859
2B715A31551343   BRANDON       BACK                        OH     90014520315
2B71655AA81637   KWEC          REH                         MO     29027945500
2B71664484B281   SAMUEL J      SIMPSON                     NE     90014186448
2B716793341245   THOMAS        PRYOR                       PA     51033207933
2B716939991541   LEVI          REYES                       TX     75020699399
2B716AA387B449   LATICIA       BEATTY                      NC     90011430038
2B716AA389189B   CINDI         BENNETT                     OK     90011240038
2B717131691541   MARTHA        REYES                       TX     90000721316
2B71718934B261   KATIE         KELLY                       IA     90015161893
2B717299951343   TENERINA      SEARLES                     OH     90011272999
2B71764512B892   JOSHUA        MEADOWS                     ID     90011496451
2B71835A29189B   EVELYN        ANDREWS                     OK     90008043502
2B718375287B21   KAYLA         FRAZIER                     AR     90015253752
2B718389472B98   RUBEN         DELGADO                     CO     90001713894
2B718669787B59   TONDRA        TAGGART                     AR     90014916697
2B71898772B27B   FOLASADE      OGUNWUMIJU                  DC     90010569877
2B71932A191541   RUBEN         MENCHACA                    TX     90013203201
2B71934392B892   NELLA         THURMAN                     ID     90014973439
2B719422557157   JUAREZ        FAUSTO                      VA     81067694225
2B719562661877   DONALD        OBRIAN                      IL     90015555626
2B71974634B543   KIMBERLY      PRINCE                      OK     90010897463
2B71999652B839   MARIA         ELENGA                      ID     90013949965
2B719A47785938   ANA           ROSALES                     KY     90012120477
2B71B445857157   NORMA         LEDON                       VA     81013184458
2B71B448171948   CATHERINE     BOGLE                       CO     32083164481
2B71B858A4B553   TAMMY         SNIPES                      OK     90007298580
2B721486A7B471   MARINA        PEREZ RAMIREZ               NC     90013634860
2B721615191592   IVONNE        RAYGOZA                     TX     75096196151
2B721994772B98   LEEANNA       OVIEDO                      CO     90011729947
2B721AA5587B59   TRACIE        JACKSON                     AR     90012270055
2B72242185B536   AGNES         GARCIA                      NM     35056554218
2B722486A9794B   JENNIFER      LORDEN                      TX     90009774860
2B722615191592   IVONNE        RAYGOZA                     TX     75096196151
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2B72299652B839   MARIA         ELENGA                      ID     90013949965
2B7229A225B167   WILLIAM       SMITH                       AR     90014239022
2B722A62A5715B   CESAR         AGUSTIN                     VA     90000100620
2B72338162B94B   LAURIE        BRADSHAW                    CA     90011333816
2B723549257157   PAULA         ARCHIE                      VA     90011045492
2B723817A57B85   JOSE          GUZMAN                      PA     90013998170
2B723A46A84364   EDWINA        GRANT                       SC     90009860460
2B723A53571948   HERMEN        FAUSON                      CO     90014330535
2B7241A775715B   YURIDIA       BENITE                      VA     90013521077
2B724492185965   ED            LANGDON                     OH     66082004921
2B72478299189B   IYISHA        ROBINSON                    OK     90014707829
2B7247A9987B59   JARDENA       SWANN                       AR     90015187099
2B724966587B59   DESTINY       PARKS                       AR     90012729665
2B724A7A571948   KRISTY        MOCK                        CO     90014180705
2B725133891522   MANZANO       ADRRIANA                    TX     75000241338
2B725184A57157   CARMEN        SANCHEZ                     VA     90015301840
2B72569387B699   DAWN          ELCOMBE                     GA     90004596938
2B725783972B98   JOHNETTE      HARRIS                      CO     33001127839
2B72598769184B   DENNIS        TATE                        OK     90009549876
2B725A34791547   GUSTAVO       VASQUEZ                     TX     90012640347
2B725A77451561   LORI          COKER                       IA     90015140774
2B726356381661   MIA           MONROE                      MO     90012373563
2B726615691528   JOVANNA       ECHEVARRIA                  TX     90003356156
2B72661964B588   LISA          BROOKS                      OK     90011106196
2B726675272B98   KAREN A       CRAIN                       CO     33001916752
2B726755691541   DAVID         JIMENEZ                     TX     90015127556
2B727339255941   LUIS          MANZO                       CA     90011983392
2B7279A8891592   VALERIA       MARTINEZ                    TX     75041809088
2B727A8635B167   JARROD        WARE                        AR     90014240863
2B72842112B892   CHRIS         TAYLOR                      ID     90010654211
2B728488A81661   CHRISTINA     HEDBERG                     MO     90010344880
2B72897812B839   KIMBELY       ROSE                        ID     90013949781
2B728A79931631   JOE           RICHARD                     KS     90003650799
2B728A9295B161   ELVIS         ABSTON                      AR     23068860929
2B729241447952   CHRISTINA     ADAMS                       AR     24088882414
2B729266555941   ERIKA         BLANCO                      CA     90009572665
2B72978299189B   IYISHA        ROBINSON                    OK     90014707829
2B7298A9A2B892   SHANE         GREVER                      ID     90002158090
2B72B373887B59   JOANA         TAYLOR                      AR     90012183738
2B731111955957   CALISTRO      CARRILLO                    CA     90010051119
2B731184391933   DAISY         FERNANDEZ                   NC     90013031843
2B73119144B261   JULIE         BIERANOWSKI                 NE     90005201914
2B73145A647952   KIZZIE        LEWIS                       AR     90010884506
2B731634241245   CHADD         SIMPSON                     PA     51088296342
2B73182858B334   JESSICA       MCCAIN                      SC     90008648285
2B7318A3A9189B   ANTHONY       STODDARD                    OK     90014708030
2B7323A162B27B   TIJUANA       SILVERS                     DC     90008103016
2B732469791592   KARINA        ALVAREZ                     TX     90011864697
2B732564451343   DONALD        WILSON                      OH     90006815644
2B73256A87B449   TARQUITA      BARNETTE                    NC     90011055608
2B73281325B167   LISETTA       DUKE                        AR     23078538132
2B73281A47B471   LUIS          MUNOS                       NC     90014248104
2B733289347952   VILMA         LOPEZ                       AR     90005592893
2B73341A955957   JULIE         HILL                        CA     90009264109
2B7337A5672421   DANA          LOZANO                      PA     90015107056
2B734165561877   DANE          CHASTAIN                    IL     90015371655
2B7341A6547952   MARIA         JARAMILLO                   AR     90015011065
2B7341AA671948   KATHY         LARRISON                    CO     90014181006
2B73425A685988   CHESTER       MILLER                      KY     90006402506
2B734399331631   WENDY         YATES                       KS     90014433993
2B7347A5672421   DANA          LOZANO                      PA     90015107056
2B734871285639   ROSAURA       OLARTE                      NJ     90013928712
2B734995993773   JAMAR         BLUE                        OH     90001809959
2B735145651336   LESLIE        ADAMS                       OH     90007501456
2B73536947B471   FELIPA        LUNA                        NC     90012843694
2B73537125B167   CHRISTOPHER   FLYNN                       AR     90011603712
2B7357A5672421   DANA          LOZANO                      PA     90015107056
2B735836181637   KENITH        MOZEE                       MO     90012928361
2B735974931453   ANTWONET      DAVIS                       MO     27534449749
2B735A2494B281   GERSON        KAPI                        NE     27064760249
2B735A5177B449   KAROL         IGLECIAS                    NC     90014890517
2B735A5344B588   TAKEYLA       ELLISON                     OK     90007370534
2B73625684B261   CHRIS         ARMBRUST                    IA     90009042568
2B7364A5181661   TONY          BARBOUR                     MO     90010644051
2B73654354B261   SANTOS        SAENZ                       NE     27097855435
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1519 of 2350


2B736A53885965   WILLIAM         MCMURRAY                  KY     90009880538
2B736A7A485938   JEREMY          BOGGS                     KY     90013740704
2B737148791541   ALEJANDRO       ARRIELO                   TX     90015231487
2B73765969794B   CORIE           ANDERSON                  TX     90009856596
2B738616A2B839   ANGELA          DITTIMUS                  ID     90011896160
2B7391AA48B334   KRISTEN         DAWKINS                   SC     90003641004
2B73925A751331   JESSE           GREER                     OH     90009992507
2B73962664B261   SARAH           TRIPP                     NE     90006086266
2B739787155957   ROBERTO         RAMOS                     CA     90014947871
2B739891491828   PATRICIA        EVANS                     OK     21072508914
2B73B17872B839   LARISSA         SLAGEL                    ID     42070301787
2B73B53329189B   BRITTANY        ASHWOOD                   OK     90014715332
2B73B576451343   GUADALUPE       FRANCO                    OH     90002095764
2B741142581637   ANTHONY         ADAM                      MO     90014811425
2B74144829794B   PAYGO           IVR ACTIVATION            TX     90014054482
2B741518185938   ECOSHIA         JONES                     KY     67063615181
2B741591661986   RUTH            GONZALEZ-LOZANO           CA     90014005916
2B74238175B167   CHRISTOPHER     WHITFIELD                 AR     90014253817
2B7424A8485965   ANNA            SKEEN                     KY     66056724084
2B74297445B167   CHRISTOPHER     WHITFIELD                 AR     90014569744
2B742A52A9189B   DENNIS          SUITOR                    OK     21001500520
2B742A5829794B   JAIME           GOMEZ CONTRERAS           TX     90012930582
2B743541647952   JESSICA         FLEMONS                   AR     90012255416
2B7438A829189B   BRIAN           SELLERS                   OK     90014708082
2B743915455957   MIREYA          VAQUEZ CASTRO             CA     90011729154
2B744824791592   ARTURO          SAPIEN                    TX     90013238247
2B744A32A72B42   CHAPMAN         SHAYLENE                  CO     90012500320
2B74542419189B   KENT            FECHNER                   OK     90015104241
2B745657372B98   CHRIS           CRINGLE                   CO     90014186573
2B74566A25B271   RODRICA         ANDERSON                  KY     90010636602
2B745953691522   FILOMENA        SAINZ                     TX     90004749536
2B746145287B87   LINDA           WOODARD                   AR     23030781452
2B746168657157   DORIAN          TORRES                    VA     90013401686
2B7462A3651343   QUNEISHA        BURNS                     OH     90013112036
2B74672175715B   JOSE NORBERTO   MACHADO                   VA     90006267217
2B746818471948   BRIAN           JOHNSON                   CO     90012528184
2B7468A5491828   VINA            MOORE                     OK     90013988054
2B746A1A79794B   ELIZABETH       MCFALL                    TX     90012470107
2B746A3832B839   TONIA           BARROSO                   ID     90010490383
2B746A8689794B   OLIVIA          DANIEL                    TX     74017640868
2B747537772B42   OSCAR           SOLTERO                   CO     33001225377
2B74756962B892   REBBECA         RIVERA                    ID     90013475696
2B747868947952   MELINDA         GALL                      AR     90007788689
2B74792457B42B   GODEY           MOREIDA                   NC     90012429245
2B74798632B839   MOHAMMED        ABED                      ID     90013949863
2B747A29185965   KELLI           MARTIN                    KY     90013650291
2B747A8277B377   DAVID           NAUHEIMER                 VA     90012650827
2B7481A7791522   CARMEN          ERICKSON                  TX     75079381077
2B748825155957   SIRENE          CERVANTES                 CA     48079588251
2B748876847952   KOSCHA          WASHINGTON                AR     24098338768
2B749172987B59   WAYMON          JACKSON                   AR     90013071729
2B74962A92B839   TERESSA         STEPHENS                  ID     90001916209
2B749751172B42   ANTHONY         HENDRICKS                 CO     33003537511
2B74B292384364   ALEXIS          SHELTRAW                  SC     90013492923
2B74B36524B59B   TRESA           WIMMS                     OK     90014103652
2B74B4A8591522   ALEJANDRO       ESCOBEDO                  TX     90002384085
2B74B691547952   JAMES           JONES                     AR     90007606915
2B74B956391528   ISRAEL          DURAN                     TX     90004429563
2B75141615B271   TRACY           BLUE                      KY     90013734161
2B751987391522   ANTONIO         RIVERA                    TX     90004789873
2B751A2754B588   LEONEL          ABELINO                   OK     90012680275
2B7525A852B839   JOSHUA          FEJERAN                   ID     90011755085
2B752633131453   ANA             VEGA                      MO     90014606331
2B753285231631   DEBORAH         JAGGER                    KS     22004762852
2B754136781637   JOSHUA          MILLER                    MO     90006131367
2B754A85472B98   OMAR            VALLE                     CO     33035250854
2B755831185988   JOSHUA          GARRARD                   KY     90001718311
2B75626625B243   HAL             BRACKNEY                  KY     68014282662
2B75648582B839   TOM             DEARDEN                   ID     90014464858
2B7565A844B245   FERMANDO        LOPEZ                     NE     90010115084
2B756659172B98   CHRISTOPHER     JOHNSON                   CO     90014186591
2B756724A5B167   ABIGAIL         RESENDIZ                  AR     90014257240
2B75684269189B   MARTHA          BOLADO                    OK     90014708426
2B756957391592   MARICARMEN      CRUZ                      TX     90015119573
2B757238457157   GERMAN          CRUZ                      VA     90002542384
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2B757388A4B281   BOBBY        LUSTER                       NE     90010393880
2B75744449184B   ROSETTA      STILL                        OK     90012844444
2B757731384364   JESSIE       CARSON                       SC     90014087313
2B757844131453   RASHIKA      BRANTLEY                     MO     90012688441
2B7578AAA4B245   ISKANDAR     JALILOV                      NE     90004178000
2B7579AA857157   CARLOS       AVALOS                       VA     90014209008
2B75813274B588   LARISSA      VOSS                         OK     90015211327
2B758215261985   MARICELA     MURRIETA                     CA     90011542152
2B758236881637   WESLEY       RANDOLPH                     MO     90015022368
2B758939291592   ANGEL        MONTEZ                       TX     90004729392
2B75928582B839   LUIS         JUAREZ                       ID     90005612858
2B7593A8791528   ANA          VALADEZ                      NM     90008703087
2B759613491522   HUGO         CARRANZA                     TX     90010196134
2B75961457B449   JERONE       HOEY                         NC     11051976145
2B7599A6585965   NICOLE       GIBBS                        KY     66025999065
2B759A45672B98   PETRA        MUNOZ                        CO     90008760456
2B75B13824B261   TENETHA      COLLINS                      NE     90006941382
2B75B535791592   ADAN         FAVELA                       TX     90014095357
2B75B72767B699   BRENDA       JORDAN                       GA     90012117276
2B75BA36955941   JUAN         ROSAS                        CA     90009800369
2B76112A751336   RONALD LEE   LONG                         OH     66038961207
2B761811A4B261   MYRTLE       FAIRCHILD                    NE     27043788110
2B761861671948   HASTIN       MOORE                        CO     90010908616
2B761A55972B42   CABRERA      ERICK                        CO     33050890559
2B76229214B261   GIL          LAGUNAS-PEREZ                NE     27092092921
2B7626AA99184B   HARDEN       SUSAN                        OK     90014936009
2B7629A8585965   ADOLFINO     GUERRERO                     KY     66013199085
2B763141A5715B   DEBORA       CANALES                      VA     81076651410
2B763414A2B892   ADELA        ROMAN                        ID     90009624140
2B76347169189B   GARY         BURAS                        OK     90003144716
2B76359429184B   FARHANNA     NASIR                        OK     90010285942
2B763939691541   GERARDO      GARCIA                       TX     75037789396
2B76414379794B   PATRICIA     AUSTIN                       TX     90005361437
2B764548951343   JOSE         SANCHEZ-REBOLLO              OH     90009965489
2B764711A91828   JENNIFER L   WALKER                       OK     90015287110
2B76473A472B42   DAN          PARKER                       CO     33074817304
2B764829257157   TONY         TUNER                        VA     90008838292
2B764A5627B449   RAUL         SALINAS                      NC     90014890562
2B765443A21683   ANNE         TYSON-SABIR                  OH     90015044430
2B765451181637   JOCELYN      ALLEN                        MO     90007344511
2B76594365715B   MARIO        CASTRO                       VA     90012209436
2B766281A31433   SERENA       HARRINGTON                   MO     27549262810
2B766475655941   VICTORIA     CARMONA VALLEJO              CA     49039004756
2B766AA5A7B449   ANDREA       OLIVER                       NC     90010160050
2B766AA6187B59   KIMBERLY     COLE                         AR     23085970061
2B76733339794B   JUAN         MEJIA                        TX     90015273333
2B76743285B167   AMBER        MAPLES                       AR     90014644328
2B767655A9189B   HAYLEY       ELIZABETH                    OK     90002786550
2B76778652B892   ANGELA       REED                         ID     42016277865
2B76784484B261   DULCE        VARGAS                       NE     27011288448
2B76785684B543   JOSE         RAMIEREZ                     OK     90010868568
2B767989A5715B   IRMA         MARQUEZ                      VA     90005539890
2B767A56781661   SHANIES      NEAL                         MO     90014630567
2B76838A385965   ANDREW       MCKINNEY                     KY     90014513803
2B76852A557157   JESSENIA     GOMEZ                        VA     90007825205
2B768578691541   RAMON        ZUBIA                        TX     75034355786
2B768662791251   ELIZABTH     BELLE                        GA     90004516627
2B768748672B98   MELANIE      VASTARDIS                    CO     33039307486
2B7691A6381637   RUTH         GRAY                         MO     90014751063
2B769585471948   CHRISTINE    SEBER                        CO     32087985854
2B769637781661   ZELPHA       RODGERS                      MO     29062186377
2B76B214485965   TIM          MCCULLOUTH                   KY     90012762144
2B76B384631631   GAIL         PETTI                        KS     90009633846
2B76B5A859794B   KEYONE       JOHNSON                      TX     90014675085
2B76B652191828   NANCY        LOPEZ                        OK     90011066521
2B76BA51772B98   ALFONZO      HERNANDEZ                    CO     33081870517
2B771117A5715B   SALVADOR     MORENO                       VA     90009751170
2B771241351343   STEVE        BREUNIG                      OH     90013112413
2B771326157157   NICOLE       PALMER                       VA     81028963261
2B77134685B531   DOMINIQUE    SUMMERVILLE                  NM     90003733468
2B77149695B271   KEYTHEN      GANT                         KY     90011384969
2B771695372B42   RAUL         DURON                        CO     90011426953
2B77183225B356   JOSE LUIS    ARAIZA                       OR     90001508322
2B77191A37B471   AMANDA       YOUNGBLOOD                   NC     90008219103
2B772262951343   JASON        BAIN                         OH     66090252629
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2B77232828B147   CHAD         HANSEN                       UT     31092683282
2B77268929794B   NORA         SALDANA                      TX     90013046892
2B772A5384B588   BECKY ROSE   JOSLIN                       OK     90006510538
2B772A85351336   DARNESHA     CHANDLER                     OH     90014090853
2B773363A71948   PAT          HARTNETT                     CO     32000243630
2B773381291241   KASIYA       MCINTOSH                     GA     90015083812
2B773677A55941   FABIAN       SAMANIEGO                    CA     90010436770
2B773783A47952   SANDRA       VASQUEZ                      AR     90014747830
2B773828751343   MICHAEL      SHAVER                       OH     90014158287
2B7739A8A72B98   VERONICA     GONZALES                     CO     33036109080
2B774291191528   OMAR         DEL TORO                     TX     75092092911
2B77483945B271   STEPHANIE    FORD                         KY     90009598394
2B774A1252B839   DESERAY      VIENOLA                      ID     90013950125
2B774A33931699   HEATHER      SCHOOLEY                     KS     90007760339
2B775154857157   MARIA        FLORES                       VA     90012771548
2B77516735715B   MARINA       MONTERROSA                   VA     90007931673
2B775488691592   KEMMETT      CHILDERS                     TX     90013864886
2B775871884364   NADARA       HOFFMANN                     SC     90013878718
2B776188781661   DARIENNYS    DOMINGUEZ                    MO     90015011887
2B776322972B98   JAVIER       AYALA                        CO     33009743229
2B776412691522   MICHAEL      HAINER                       TX     90012444126
2B77667444B261   BRENDA       DREW                         NE     90013356744
2B77679A17B449   SALUD        SIERRA                       NC     90007627901
2B77684A891592   MELISSA      GAMBOA                       TX     75020298408
2B77717839189B   TIFFANY      HOLDMAN                      OK     90011241783
2B777841491592   ULYSSES      GRAJEDA JR                   TX     75088578414
2B7781A8533651   MARLA        AREVALO                      NC     90007531085
2B778274987B59   JACQUELINE   GRIGFTY                      AR     90015092749
2B778562A85938   MATILDE      AGUSTIN                      KY     67018885620
2B77859A755957   ROD          FITIAUSI                     CA     48093385907
2B77867864B588   LUCIANO      SMITH                        OK     90006846786
2B7787A749189B   MATTHEW      CLARK                        OK     21050187074
2B7791A2351336   TERESE       CHIALASTRI                   OH     90012901023
2B779283A91522   JAZMELLY     AMAYA                        TX     90013142830
2B77933A24B281   CONSTANCE    HOUTZ                        NE     90011493302
2B77971A94B261   RYAN         WOLF                         NE     90012697109
2B77974244B261   SAWNSURAE    MARION-PHELPS                NE     90014177424
2B77B199457157   MARIBEL      OROZCO                       VA     90008191994
2B77B329971948   BYRON        HARDAWAY                     CO     90007423299
2B77B385772B42   JOCELYNN     YORK                         CO     90012693857
2B77B42547B471   LINDA        WALTON                       NC     90003764254
2B77B61438B17B   IVAN         RIVERA                       UT     90011696143
2B77B88415B167   JESSICA      GARRETT                      AR     90014288841
2B77B889872B98   RYAN         ROBERTS                      CO     33022228898
2B77BA68485965   JASON        SIMS                         KY     66007210684
2B781148451336   ANGELA       GLANCY                       OH     90011201484
2B781597285938   KAREN        TREJO                        KY     90011065972
2B781642191541   CORINA       VASQUEZ                      TX     90012166421
2B78187915B167   CAROL        BARNETT                      AR     23058998791
2B78216865B167   MARY         DANIELS                      AR     90013451686
2B782329631453   TEREATHA     WILLIAMS                     MO     90010773296
2B782A8794B588   CINDY        FLORES                       OK     90014300879
2B78311482B27B   EVON         MUSGROVE                     DC     81039771148
2B78321539189B   LAURA        STRONG                       OK     90004442153
2B783249587B21   MARGARITA    BRYANT                       AR     90011052495
2B7832A162B839   MARIYA       BAY                          ID     90014492016
2B7832A419794B   VERA         AYERS                        TX     90002692041
2B7832A4872B98   FELICIA      SUAZO                        CO     33045792048
2B783336691592   MARIA        ESPINO                       TX     75033393366
2B783745751343   RACHELLE M   POWERS                       OH     90000847457
2B7837A862B892   RODNEY       BURKHEAD                     ID     90014497086
2B78388584B261   JUNE         CURTIS                       NE     27016828858
2B784323A41245   TONI         ADAMS                        PA     51072103230
2B784335755957   LUIS         GONZALES                     CA     90011853357
2B784386357157   ADARA        SULUESTER                    VA     90013583863
2B78444584B261   ROBERT       GALVAN                       IA     90001914458
2B784542885938   VAQUERA      CRUZ                         KY     67052745428
2B784911A31453   CRYSTAL      YOUNG                        MO     90010939110
2B7851A1791522   SAHID        HOLGUIN                      TX     90014471017
2B78523562B931   GARY         MAYLE                        CA     90000342356
2B785365385938   LAURISSA     VARGAS                       KY     67002033653
2B78568124B261   BICH         LE                           CO     27003136812
2B78571AA8B334   ROBIN        CLIFTON                      SC     90009157100
2B786119491828   LISA         REED                         OK     90009621194
2B786433855941   OSAMA        FATTAH                       CA     49074544338
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2B78686434B261   DONTA            WRIGHT                   NE     90013608643
2B787368572B42   ROBERTO          SORIA                    CO     33038163685
2B7874A4391528   EDUARDO ALONSO   SALINAS                  TX     90005924043
2B787924781661   LARRY            LEEK                     MO     90014109247
2B78817748B17B   CHARLES          SHEPARD                  UT     90006951774
2B788322481661   DEBORAH          L ELLIS                  MO     90010353224
2B788373151356   PAM              ROBERTSON                OH     90013773731
2B788711671925   CHAD             LADUKE                   CO     90009547116
2B788A12291541   JAIME            PARRA                    TX     90013780122
2B78935A75715B   THOMAS           HOLMES                   VA     90012483507
2B78954A357157   LORENA           COLINDRIS                VA     90012185403
2B789662784364   CARRIE           BROWN                    SC     90010246627
2B7896A9981661   MICHAEL          ROBERTSON                MO     90013276099
2B789762A9189B   MARIO            RIOS                     OK     90004157620
2B78981697B471   VELASQUEZ        WIELMAN                  NC     90009438169
2B78986A34B281   SALAT            MUSA                     NE     90014858603
2B789872571948   KARL             MANN                     CO     90013508725
2B78988AA72B98   NANCY            FLORES                   CO     33084818800
2B78B194451343   MELLANIE         BEGLEY                   OH     90005611944
2B78B251451336   ERIC             MADDEN                   OH     90012272514
2B78B3A9961999   ISIDRO           MORENO                   CA     90009133099
2B78B621491541   RAMON            VALLES                   TX     90014886214
2B78B62777B471   EDWARD           GRIER                    NC     90010066277
2B78B7A835B271   MIGUEL           FRIAS-OLGUIN             KY     90015137083
2B78B818A9184B   JOHNA            BENDELE                  OK     90001668180
2B78B944A9794B   ERNEST           PACKARD                  TX     90014739440
2B791194881661   MICHAEL          MILLER                   MO     90011521948
2B791242693757   JOSEPH           PETITTO                  OH     90010592426
2B791666231277   CHRISTIAN        BARRIGA                  IL     90010216662
2B791737591528   JULIE            MORENO                   TX     90003357375
2B791898691952   LORRAINE         RIVERA                   NC     90006528986
2B791A25341245   RONALD           THOMPSON                 PA     51061600253
2B791A88691828   GWENDY           QUINTERO                 OK     90002090886
2B79225615B167   DARREN           ORTIZ                    AR     90001782561
2B79237A19794B   JENNIFER         SCHUBACH                 TX     74065413701
2B792554472B42   DAISY            VALLEZ                   CO     33095515544
2B792592A81637   JEANNA           LANDERS                  MO     90010205920
2B792698984364   ANTHONY          BUSCH                    SC     90009856989
2B792946591541   LORRAINE         ORTIZ                    TX     75007339465
2B792A13351346   DEMETRIUS        FIAMAWLE                 OH     90006780133
2B792A31787B59   MARQUITA         WILLARD                  AR     90015230317
2B793147485938   JERRY            MARSHALL                 KY     90013991474
2B793239291541   VIRGINIA         SAUCEDO                  TX     75075392392
2B79327875715B   CLAUDUIA         GONZALEZ                 VA     90012352787
2B79339934B281   DEE              DAVIS                    NE     90014763993
2B793644951336   LATOYA           PRICE                    OH     66013996449
2B793A49184364   TERRELL          OWENS                    SC     90014540491
2B793AA9433126   GALVINO          FERNANDEZ                IL     90014360094
2B79414A591541   MICAELA          MOTTU                    TX     75027981405
2B79437913B386   ATHENA           PEREA                    CO     90000433791
2B794488891522   MATA             JHON                     TX     90009214888
2B7949A2285988   EUSEBIO          LIZARDO                  KY     90006519022
2B794A95A87B59   JARESHA          BATTLES                  AR     90013940950
2B79525AA55957   VICTORIA         RAMIREZ                  CA     90014192500
2B7953A854B588   AIMEE            SANCHEZ                  OK     90006773085
2B7957A7491541   ROBERTO          CHACON                   NM     75034347074
2B79598665715B   SHEUMAR          SONGW                    VA     81017179866
2B7961A8A7B449   FRANK            LUCAS                    NC     90014891080
2B796211455957   ESTEBAN          ALVAREZ                  CA     90011982114
2B796489131433   RICKIE           SMART                    MO     27599134891
2B7965A2581681   ROBERT           NITSCH                   MO     90012515025
2B796696985938   RON              FOSNAUGHT                KY     90011846969
2B7966A3131631   MARY             BOOKOUT                  KS     22063666031
2B79675392B839   ZACHARY          FULGHAM                  ID     90015207539
2B797221855941   JAMES            MCDOWELL                 CA     90004602218
2B797669272B98   JOHN             MCAFEE                   CO     90014186692
2B797897A4B281   MARIA            ORTIZ                    NE     90014448970
2B79794988B17B   STEVEN           WILDE                    UT     90012699498
2B79835865B356   MARTHA           VALLADARES               OR     90005253586
2B798669472B98   JOSE             MARTINEZ                 CO     90014186694
2B79882175B531   ROBERTO          DUVERGER                 NM     35083368217
2B79891539189B   JESSICA          FIARRIS                  OK     90014709153
2B798941291528   ANAHI            PEREZ                    TX     90002919412
2B798997755941   ROY              TOBAR                    CA     49000759977
2B798A47771948   LALANA           WEIMER                   CO     90012510477
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2B798A9A59794B   PAULINO       THEODORO                    TX     74068900905
2B799286491592   TRAVIS EVAN   FITTA                       TX     90007772864
2B79941A257157   DAVID         CASTILLO                    VA     90009004102
2B799669872B98   MARIA         HIDALGO                     CO     90014186698
2B79984815B167   LESILE        MORALES                     AR     90014478481
2B79B598355941   URIEL         ESTRADA                     CA     49044825983
2B7B1279851343   SONYA         SIMS                        OH     90014452798
2B7B144613B324   EDDER         HERNANDEZ                   CO     90010314461
2B7B1864391828   ADAM          THOMAS                      OK     90015308643
2B7B1874355957   DORIA         AMADOR                      CA     48010978743
2B7B227A831453   CRYSTAL       BERNAD                      MO     90013772708
2B7B24AA47B471   OOIR          HERNANDEZ                   NC     90014684004
2B7B2639A87B59   MICKEEL       WILLIAMS                    AR     90015146390
2B7B276515B161   THERESA       JOHNSON                     AR     90001437651
2B7B276559184B   ADA           CLARK                       OK     90012047655
2B7B3367A57157   TARIQ         MAHMOOD                     VA     81065653670
2B7B3432A71945   MYRA          FULLER                      CO     90012254320
2B7B363784B281   JOSE          MIRANDA                     NE     90014186378
2B7B375A991592   ELSA          VIRAMONTES                  NM     75043047509
2B7B389467B449   KAJAUN        ARCHER                      NC     90014888946
2B7B39A6772B98   RAM           BHANDARI                    CO     33092369067
2B7B4273A85938   SHEMETRIA     SIMPSON                     KY     90012742730
2B7B445A361558   CRISTOPHER    CHEATAHM                    TN     90015534503
2B7B457A772B42   NANCY         ALLEN                       CO     33013515707
2B7B51A4785965   BRANDON       HAYNES                      KY     66017211047
2B7B563784B281   JOSE          MIRANDA                     NE     90014186378
2B7B577837B471   JOYCE         ALEXANDER                   NC     11073817783
2B7B5A4A387B21   JERRY         BUSDY                       AR     90014930403
2B7B6169457157   TAMMY         GONZALEZ                    VA     90014271694
2B7B623977B449   TAIDE         ALMEIDA                     NC     11016962397
2B7B634975B167   KAY           WOOD                        AR     90009133497
2B7B6A44957157   JOHNSON       BROWN                       VA     90013360449
2B7B6A96751336   HAROLD        SAPP                        OH     90012650967
2B7B7195A2B892   KRYSTA        HOADLEY                     ID     42004351950
2B7B7531A93773   ANTHONY       AIELLO                      OH     64557805310
2B7B755549184B   ROSA          CANTERO                     OK     90013885554
2B7B7661131453   YVONNE        CLAMOT                      MO     90007336611
2B7B774679189B   STEPHANIE     PARKER                      OK     90014707467
2B7B781124B281   PAYGO         IVR ACTIVATION              NE     90014258112
2B7B783349184B   KYM           LAWRENCE                    OK     21094278334
2B7B8154291522   SUZANNE       HUERTA                      TX     75089731542
2B7B8246791828   DANIEL        SHERIDAN                    OK     90014962467
2B7B853415715B   JAVIER        ATAPORA                     VA     90009875341
2B7B869AA57565   ENRIQUE       HERNANDEZ                   NM     35505986900
2B7B86A1872B42   MARIA         ELIAS                       CO     33090876018
2B7B91A3457157   CLARENA       ARIAS                       VA     90001781034
2B7B9366191592   ANA           MENDOZA                     TX     90012913661
2B7B93A974B588   ADRIANA       NEVAREZ                     OK     90011053097
2B7B944968B17B   DON           MITCHELL                    UT     31029644496
2B7B98A2171948   HEATHER       HUGHES                      CO     32024838021
2B7BB159972B98   EDNA          LOVE                        CO     33093321599
2B7BB396291592   ISAAC         OTERO                       TX     90005033962
2B7BB56A271948   ASHLEY        GREENE                      CO     90013345602
2B7BB89A15B28B   KIMBERLY      WEEDMAN                     KY     68012738901
2B7BB934191592   YADIRA        MORA                        TX     75060849341
2B7BBA21771948   JULIAN        JIMENEZ                     CO     90011270217
2B7BBA83687B21   CRYSTAL       EATON                       AR     28087860836
2B811634A81637   VINCENT       BURGESS                     MO     90014776340
2B811692631631   PATIENCE      THOMAS                      KS     90012496926
2B811799272B98   MELANIE       DARCEY                      CO     90014607992
2B81217545B167   JUDITH        GONZALES                    AR     23026911754
2B812451271948   CARLOS        FERRAIRA                    CO     90005524512
2B81264922B249   AVIS          ALLEN                       DC     90001256492
2B812692A91967   MICCA         PACE                        NC     90007106920
2B81283439184B   ELLIA         DE LA ROSA                  OK     90014478343
2B812861291828   BROOKE        BRADSHAW                    OK     90014368612
2B81289A891528   CHARLENE      WALKER                      TX     75089948908
2B8128A1451336   JASON         CARMICHAEL                  OH     66014288014
2B813372871948   ANGELICA      MEDINA                      CO     32075723728
2B81341665715B   KARLA         BETANCO                     VA     90006234166
2B81355A172B98   MANUEL        DIAZ                        CO     33061665501
2B81364435B167   MICHELE       LIGHT                       AR     90014606443
2B81367264B245   JOSEPH        HAMILTON                    NE     27005036726
2B81383379794B   LINDA         HAMMETT                     TX     74053048337
2B814177972B42   JUAN          CASTANEDA                   CO     90012031779
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2B81421545B271   MELODIE      DURHAM                       KY     90011392154
2B81467499794B   CARMELLO     CASTORIA                     TX     90015066749
2B81468124B245   BICH         LE                           CO     27003136812
2B81478652B892   ANGELA       REED                         ID     42016277865
2B8147A7A51336   FRANCES      GARR                         OH     90008177070
2B81511819189B   LYNN         SILKEY                       OK     21002541181
2B8151A392B232   CARYNN       GRAY                         DC     90001151039
2B81547675715B   JOSEPH       BADWE                        VA     90011724767
2B815754772B42   SETH         ANTILL                       CO     33004587547
2B81579878B17B   KHALID       MOHAMAD-SINDY                UT     90013487987
2B815A2228B171   DAVE         CRUZ                         UT     90006530222
2B81653247B471   XAVIERA      SHERRIL                      NC     90013375324
2B816539372B98   MICHELLE     MCMULLIN                     CO     33046795393
2B81661914B588   HENRY        VAR                          OK     90008826191
2B81689A75B167   CLINT        EDWARDS                      AR     90005298907
2B816A33791582   LUIS         MORENO                       TX     90012210337
2B817141A87B59   NICHOLAS     SWINEY                       AR     90005831410
2B817192691541   MARIZA       JIMENEZ                      TX     75043261926
2B81721885715B   ROSA         RIVERA                       VA     90000462188
2B817318281661   FELIPA       NAVARRETE                    MO     29090293182
2B817437687B21   JESSICA      SIMMONS                      AR     28047514376
2B817879151343   RENEE        WYNN                         OH     66025278791
2B817A9752B839   KEVIN        SHOECRAFT                    ID     42081780975
2B818534772B98   GUADALUPE    RODRUIGUEZ                   CO     90007485347
2B81858A35B271   ROBERT       ONEIL                        KY     90013015803
2B81862974B245   NIQUISHA     TAYLOR                       NE     27005036297
2B81865169794B   SANTOS       VELAZQUEZ-                   TX     90010346516
2B818673787B87   DEMETRIUS    DUBOIS                       AR     90012266737
2B818864A9189B   JESUS        RUBALCABA                    OK     90010098640
2B818944551343   TARA         GIBSON                       OH     66089149445
2B819552491828   MICHAEL      ELIZONDO                     OK     90013975524
2B819627257157   MAMIE        FURAHA                       VA     90010716272
2B819751672B42   FRANCISCO    CORREA                       CO     90006717516
2B819817587B59   DANIALLE     EASON                        AR     90014098175
2B819A69181661   APRIL        VANZANDT                     MO     90014880691
2B81B27462B892   DESIREE      ALANIZ                       ID     90013592746
2B81B64257B471   ALVIN        MERRTT                       NC     90015026425
2B81B79454795B   NEIL         RAGLAND                      AR     25073407945
2B81B93155B271   MARIA        GONSALES                     KY     90013919315
2B81B995891828   SARA         LYLE                         OK     90011199958
2B81BA55687B59   BRITTANY     BRADLEY                      AR     23098390556
2B81BA69431453   EDJUAN       ELBERT                       MO     90002000694
2B82134659189B   SHAVONNE     WHITEHEAD                    OK     90011143465
2B8213A194B588   JANAY        LONG                         OK     90009173019
2B8215A2757157   TOMMY        HOLIDAY                      VA     81048625027
2B82194874B588   KARISA       GLEASON                      OK     90014169487
2B82218967B449   KAMBIZ       GAROUSSI                     NC     90014891896
2B822358191522   ROSA         MARQUEZ                      TX     75005843581
2B82241A15B167   DESMOND      MAULDIN                      AR     90009654101
2B822787785965   ALICE        BAKER                        KY     66092337877
2B823131461877   CHRISTINE    HEARD                        MO     90009151314
2B82324335B271   LAUREN       PHELAN                       KY     90015112433
2B823442391592   JOHANA       MOYA                         TX     75047594423
2B823673472B98   KOOLAIDRA    JACKSON                      CO     90014186734
2B823686147952   OAKES        JASON                        OK     90014446861
2B823716684364   LAKISHA      SMALLS                       SC     90004647166
2B82431649184B   MITCHELL     RAY                          OK     21085073164
2B82434655B271   JUAN         CHAVEZ                       KY     90013603465
2B824375A91241   JACQUELINE   BAILEY                       GA     90015363750
2B824548491997   CARLOS       ERAZO                        NC     90004455484
2B82483214B281   JAMES        REED                         NE     90001198321
2B824844955941   ARCADIO      TORRES                       CA     90007868449
2B824A95751336   JENNIFER     THOMPSON                     OH     90012680957
2B825298191541   SANDRA       ROSALES                      TX     75055702981
2B825348A9794B   CELENDA      YOUNG                        TX     90008413480
2B82548A584364   ALICIA       GREENE                       SC     90013334805
2B82556932B892   BRIDGET      MUSSAW                       ID     90009575693
2B825624772B42   ANGELA       BROWN                        CO     90012476247
2B825673772B98   ADRIAN       NEWBERN                      CO     90014186737
2B8257A2355941   CASELENA     YANG                         CA     90011487023
2B82587A931453   DAVID        SMITH                        MO     90010288709
2B825915851336   TOMARKUS     JONES                        OH     90012959158
2B82621387B471   BARBARA      SONKO                        NC     11094962138
2B82623838B17B   GABRIEL      MARTINEZ                     UT     90008692383
2B826325587B59   ANTONIO      BRAZELL                      AR     90014463255
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2B826394A7B449   MARBEL       SANTOS                       NC     90009623940
2B826535531453   ERIKA        MARTINEZ                     MO     90013675355
2B826843491522   SARAH        MEGLIORINO                   TX     90014768434
2B826943A55941   AMIRTPAL     SRAN                         CA     90014039430
2B82712458B133   TARA         INGRAM                       UT     90008401245
2B82713189184B   ALEXIS       SCOTT                        OK     90014801318
2B827388991933   SHELBY       WALKK                        NC     90001933889
2B8273A4372B42   MORGAN       MCBRIDE                      CO     90011093043
2B827924972421   JENNIFER     GALORE                       PA     90015229249
2B82884945B167   MICHELLE     BARNETTE                     AR     90014618494
2B829198851356   ANITA        WRIGHT                       OH     90012391988
2B829327371948   JERMAINE     WILLIAMS                     CO     32011433273
2B829348291541   KRISSTIAN    ALVAREZ                      TX     90007953482
2B829385451336   JUSTIN       KITCHEN                      OH     66073243854
2B82963578B165   ANA          PENA                         UT     90013886357
2B82B571251343   PAULINE      SPARKS                       OH     90001525712
2B82B621A91522   JAVIER       CAMACHO                      TX     90005596210
2B82B66885715B   JESUS        CARDOZO                      VA     90010016688
2B83127439184B   ERIC         CORDOVA                      OK     21065702743
2B83155215B375   JEFF         VANGORDER                    OR     44515635521
2B83157354B261   SANDRA       MEDRANO                      NE     90012255735
2B83158529794B   GLORIA       WALTON                       TX     74052935852
2B83175A45B271   HEATHER      ALDOSARI                     KY     90005007504
2B83191957B449   MARIA        ROBLES                       NC     11014429195
2B831A7377B699   CASSIE       JONES                        GA     90008480737
2B832237772B42   PAULETTE     TOPPIN                       CO     33089732377
2B832564891522   LUIS         QUINTANILLA                  TX     75049485648
2B832844471948   DWAIN        DAILY                        CO     90015268444
2B83286765B167   MICHELLE     BARNETTE                     AR     90014618676
2B83297235B271   ANDREW       BROXSON                      KY     90014879723
2B83328445B167   JAN          ADKINS                       AR     23058232844
2B833419691522   JAMES        MUNOZ                        TX     90004204196
2B83356699189B   PATRICIA     HANDLEY                      OK     90014715669
2B83376175755B   ROBERT       LAMBE                        NM     90014807617
2B833842277576   ERIKA        REYES-GARCIA                 NV     90002768422
2B833913193773   BRENDA       WILSON                       OH     90012439131
2B8339A1251343   REGINALD     TILLER                       OH     90014019012
2B83421377B43B   MARCELINO    ENAMORADO                    NC     90001722137
2B8343A717B449   PATRICIA     ROBINSON                     NC     90014903071
2B834674372B98   PEYTON       MANNING                      CO     90014186743
2B834766681661   GREGG        GRAY                         MO     90013627666
2B835193731631   KIMBERLY     CARLYLE                      KS     22046141937
2B83524665715B   SAUL         CORTEZ                       VA     81013572466
2B83562A355941   AURIEL       RAMIREZ                      CA     90011416203
2B83563A39184B   ILIANA       ROMERO                       OK     90015196303
2B83568A657157   MIGUEL       UMANA                        VA     90013636806
2B835746A2B839   MARIA        CONTRERAS                    ID     90014657460
2B836289357157   ROBERT       HARPER                       VA     90014332893
2B836358A2B892   BRIAN        THORELL                      ID     90002253580
2B83657949189B   KELLY        THOMPSON                     OK     90014715794
2B83712A885965   TIM          FULLER                       KY     90010481208
2B837155187B21   DEBBIE       BROWN                        AR     28042941551
2B8371A7987B87   PATRICIA     SMITH-WEATHERLY              AR     23009551079
2B837214A2B892   JANICE       GALLEGOS                     ID     90006372140
2B83747194B261   MARY         SWEDENSKY                    IA     90010824719
2B83819549189B   ANTHONY      YOUNG                        OK     90009171954
2B838251A91528   GILBERTO     FLORES                       TX     75055912510
2B838317884364   LEIGH        BELL                         SC     90001693178
2B838611585965   JACQUELYN    HOWARD                       KY     90014706115
2B83887A891522   MONICA       JARA                         TX     90013868708
2B83896275B161   LOYCE        BLAIR                        AR     23051449627
2B839448591592   JOSE         HINOJOSA                     TX     90014154485
2B839818471948   BRIAN        JOHNSON                      CO     90012528184
2B83B349555957   LUCIA        FERNANDEZ                    CA     90011843495
2B83B359584364   MORGAN       CULBREATH                    SC     90014853595
2B83B383A7B449   DAVID        LUNA RIOS                    NC     90012073830
2B83B386247952   AMBER        WESTBOOK                     AR     90015613862
2B83B43339794B   ASHLYNN      ROBERTS                      TX     90013084333
2B83B91755B167   VERONICA     HOLLY                        AR     90014659175
2B83BA2969184B   LISA         HILL                         OK     90014300296
2B83BA83187B59   ZAIRE        CARPENTER                    AR     90010380831
2B841142A5B167   ALBERT       ESPINOZA                     AR     90015331420
2B84118A485965   SHANE        COLLIER                      KY     90012721804
2B84134849189B   LEKESHA      SIMMONS                      OK     90008353484
2B841879251336   BRIAN        GANS                         OH     90007148792
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2B842128881661   LESLIE       KERN                         MO     90004401288
2B842369A9189B   RAUL         BAUTISTA                     OK     90011243690
2B842A8985B161   INGMER       ZELAYA                       AR     23054670898
2B843269881637   DIANNA       BARBOUR                      MO     90011422698
2B84337754B261   MARISOL      CASTILLO                     NE     27005853775
2B84344992B839   JENNIFER     GRAY                         ID     90011284499
2B84398319189B   KIMBERLY     WORLEY                       OK     90005269831
2B84428315715B   DARRYL       WYRE                         VA     81030912831
2B84438549794B   IRMA         GARCIA                       TX     90013053854
2B84443287B699   JASMINE      HAYES                        GA     15043954328
2B844615A51343   NICOLE       OWENS                        OH     90010106150
2B84467364795B   JESSICA      LEMKE                        AR     90000226736
2B845111787B59   ISRAEL       JEFFREY                      AR     90014991117
2B84526515B271   MISHA        MOSS                         KY     90012842651
2B84547542B892   NATALIE      THOMAS                       ID     90012934754
2B845583A4B245   STEVEN       HECKER                       IA     90003735830
2B845632291592   ROBERTO      HERRERA                      TX     75096346322
2B845655281661   ROSEANN      JACKSON                      MO     29001236552
2B845A41A91241   CHARLES      MCCOY                        GA     90014930410
2B845A6519794B   NICOLAS      DIAZ                         TX     90015100651
2B846323991522   DANIEL       MARTINEZ                     NM     75065593239
2B84638A672421   JUDITH       JONES                        PA     90015243806
2B846441487B87   TRUMORROW    RAINY                        AR     23005134414
2B84644194B281   DARREL       HARRY                        NE     27061774419
2B846639957157   DANIEL       FISSEHA                      VA     90013386399
2B8467A6731453   JAMES        SWYERS                       MO     90015127067
2B846869681637   ARTURO       MARTINEZ                     MO     90012758696
2B846A3865B271   OMAR         CRUZ REYES                   KY     90008670386
2B84735A451343   ERICA        FERGUSON                     OH     90013113504
2B8473A534B261   ALICIA       ESPARZA                      NE     90013833053
2B84751122B839   SEAN         HUBJAR                       ID     90013415112
2B84774349184B   AUDREY       TOOMBS                       OK     21001927434
2B84792767B471   ANTHONY      HERRIOT                      NC     90014779276
2B847A7867B866   SAMMIE       JOHNSON                      IL     90000430786
2B84813A871948   LORI         WARNER                       CO     90011551308
2B84816992B892   ZARAGOZA     ANGELICA                     ID     42092371699
2B848526185988   AMANDA       GONZALES                     KY     90005475261
2B84853A284364   PASCUAL      RAMOS                        SC     90012655302
2B848622831453   LATECIA      HILL                         MO     27513886228
2B848848457157   FLOR         DIAZ                         VA     90012448484
2B8488A4555957   DANIEL       JACUINDE                     CA     90012608045
2B8492A927B471   SHAITA       MILLER                       NC     90008732092
2B849513791828   JOLESHA      BARBER                       OK     90010305137
2B84958592B27B   ZENAIDA      GRANGENO                     DC     90003155859
2B849833555941   LAURIE       AINSWORTH                    CA     90010298335
2B849844471948   HEIDIE       LOPEZ                        CO     90015258444
2B849973A5B271   BRANDON      WRIGHT                       KY     90014879730
2B849A38181637   MARCELINO    GARCIA                       MO     29077700381
2B849A4533B384   RANDY        PATRICK                      CO     33091060453
2B849A45A71948   HEIDIE       LOPEZ                        CO     90015240450
2B84B149384364   ARMON        SESSOMS                      SC     90014711493
2B84B7A6241245   JOHN         TATE                         PA     51095237062
2B84BA69181661   APRIL        VANZANDT                     MO     90014880691
2B85118122B931   PATRICK      BRYANT                       CA     90000861812
2B85135A451343   ERICA        FERGUSON                     OH     90013113504
2B851436151336   RYAN         BRUNER                       OH     90011504361
2B85153999184B   GULIER       LIBRADO                      OK     90007595399
2B85163929189B   JUSTIN       ELLIS                        OK     90014716392
2B85173325B167   KEVIN        EVANS                        AR     90014677332
2B85176AA2B892   LILLEY       TRACEY                       ID     90010027600
2B852373891522   NICOLE       PENA                         TX     90011763738
2B85239187B471   MARISELA     HERNANDEZ                    NC     90013253918
2B852471372421   SANDIE       GREENE                       PA     51065964713
2B8525A865B531   JOSEPH       VIOLA                        NM     35055065086
2B85339A885938   SHIRLEY      GILLIAM                      KY     90015113908
2B853669872B98   MARIA        HIDALGO                      CO     90014186698
2B85385A39794B   MATTEW       BUTLER                       TX     90014708503
2B85397A47B449   MICHELLE     MCINNIS                      NC     90011559704
2B853A8A32B892   RON          HORTON                       ID     90013140803
2B85462272B839   VESPERA      ARAGON                       ID     90002716227
2B8549A2251343   JASIA        MAYS                         OH     90014159022
2B855411381637   MICHAEL      ARNOLD                       MO     29063494113
2B855644491592   GUILLERMO    GOMEZ                        TX     90013776444
2B856242831631   BETH         COOPER                       KS     22004522428
2B856281693773   EARL         ELWORTH                      OH     64540962816
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2B856648A5B271   MATTHEW      MCKNIGHT                     KY     68015976480
2B85732334B281   OSCAR        GARCIA-PELAYO                NE     27076843233
2B85746A347952   VICTOR       ORTEGA                       AR     90013674603
2B857812A31631   JARA         SHOEMAKER                    KS     90014118120
2B85825927B471   DOUGLAS      STEADWELL                    NC     90014582592
2B8584A729189B   JODY         CARLTON                      OK     90011244072
2B85881149184B   SUMMER       MURPHY                       OK     90013188114
2B859143581637   FLORA        GONZALES                     MO     90005951435
2B8591A884795B   ALEXIS       RODRIGUEZ                    AR     90014811088
2B859613861558   STEVEN       ADAMS                        TN     90015536138
2B859843671221   KEITH        GRAY                         IA     90014088436
2B85992199189B   BOBBIE       SELF                         OK     90012959219
2B859969631453   ALISHA       ROBINSON                     MO     27545829696
2B859A78391828   DOROTHY      NORTON                       OK     21065920783
2B85B111872B98   DANA         BAIN                         CO     33004641118
2B85B32252B892   CHRISTINE    BENNETT                      ID     90000673225
2B85B6A8831631   AARIKA       ALBER                        KS     90013506088
2B85BA1252B839   DESERAY      VIENOLA                      ID     90013950125
2B86163317B449   LUIS         REYES                        NC     11044776331
2B861675A72B98   ANTONIO      CASTILLO                     CO     33030976750
2B86186565B343   PERCY        WHITING                      OR     90008908656
2B862197331631   GEOVANY      ORTIZ                        KS     90010031973
2B86276294B588   QUINTIN      DAVIS                        OK     90015107629
2B862889231453   MICHAEL      WILLIAMS                     MO     90014188892
2B86294112B839   KALI         WOODALL                      ID     42072189411
2B862A68193773   NICHOLAS     STRINGER                     OH     90014580681
2B862A7599184B   JEFF         LAWSON                       OK     90012100759
2B86316114B588   AMBER        BRAWDY                       OK     90010711611
2B86375149794B   CRYSTAL      ENNELL                       TX     90013587514
2B863965372B36   GAYLE        JORDON                       CO     90011349653
2B863A38A2B892   STEVEN       BLANCHARD                    ID     90013410380
2B864686272B98   FRANCISCO    CAMPOS                       CO     90014186862
2B864955287B21   JOHN         BARNES                       AR     28011109552
2B8649A425B167   DANIEL       FETTERMAN                    AR     90014699042
2B865349572B98   SHARON       MATA                         CO     90004373495
2B865A69A85965   JOHN         AUTON                        KY     90015090690
2B86667235715B   JOSE         CACERES                      VA     90008716723
2B866687372B98   LUIS         ESTRELLA                     CO     90014186873
2B866884591522   ANTONIO      HERNANDEZ                    NM     90006538845
2B8668A259189B   COCOA        PRATT                        OK     21070958025
2B866951687B59   PAYGO        IVR ACTIVATION               AR     90014139516
2B866A71772B42   VICTOR       MANUEL VASQUEZ PERDOMO       CO     90012620717
2B86737615B161   NEIL         DILLARD                      AR     23085553761
2B86759AA81637   STEVEN       WEED                         MO     90007885900
2B867633531453   LONNIESE     PERKINS                      MO     90013446335
2B867687372B98   LUIS         ESTRELLA                     CO     90014186873
2B867A8197B471   MICHAEL      HULME                        NC     90013290819
2B86843673B329   BARBARA      TRUJILLO                     CO     90008084367
2B868642947952   SANDRA       DUNCAN                       AR     24079556429
2B868653591828   HUE          VANG                         OK     90013756535
2B86868519189B   MERCEDE      GUNTER                       OK     90014716851
2B86871A655957   EDWARD       CORDEIRO JR                  CA     48089397106
2B86887A891528   JOSE         MUNOZ                        TX     75092118708
2B869489471948   SHONEL       EVANS                        CO     90012504894
2B86972AA55941   RICHARD      JUAREZ                       CA     90010797200
2B869792251336   WILLIAM      WHITTAKER                    OH     66039997922
2B869853391592   CORNELIUS    SHULER                       TX     90006678533
2B869983985988   SHELBY       DILEO                        KY     67015049839
2B869A38485938   TYRIQUE      WITE                         KY     90015130384
2B86B63497B362   SEUNG        HONG                         VA     90014476349
2B86B64A54B261   MARIA        ARROYO                       NE     90014696405
2B871464991541   GABRIEL      RODRIGUEZ                    TX     75001974649
2B87182A871948   MICHAEL      HINER                        CO     90012828208
2B872196372B98   NICOLE       HENDRICKS                    CO     90014601963
2B872491585965   ALLEN        THORPE                       KY     90012474915
2B872749791522   ALICE        CARRASCO                     TX     90009837497
2B87283A37B328   MARIA        CULPEPER                     VA     12054028303
2B872A35881661   AMBER        TAYLOR                       MO     90012940358
2B872AA285B531   LEE          WALKER                       NM     35069730028
2B87324524B588   CASSANDRA    WORTHY                       OK     21545132452
2B873411757157   CARLOS       CHIRINOS                     VA     81033364117
2B873457987B59   SHANIQUE     IVERSON                      AR     90008254579
2B873591A55957   ALBERTO      MENDOZA                      CA     48043565910
2B873698A51336   WALTER       DEES                         OH     90010676980
2B87384A747952   JORGE        GARCIA                       AR     90014758407
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2B873A3882B27B   MARION       BRAY                         DC     90006760388
2B873A42474B79   CARRIE       DUNN                         OH     51009010424
2B87425734B588   MELISSA      NAVE                         OK     90007862573
2B87446269184B   TERRENCE     JOHNSON                      OK     90014694626
2B87461A83125B   SHERMAINE    OLIPHANT                     IL     90013026108
2B87481265B271   SHERMAN      WILSON                       KY     90012628126
2B874A96591828   TIM          OWENS                        OK     90001720965
2B87512964B261   SAMANTHA     MARTINEZ                     NE     90012181296
2B87533179794B   CHERMECE     WHITE                        TX     90014943317
2B875596491592   MONICA       CANO                         TX     90011575964
2B875659772B42   ISRAEL       GONZALEZ                     CO     90007146597
2B875785691522   VALERIA      PALMA                        TX     75014357856
2B876489385938   STEVEN       WALKINS                      KY     90010884893
2B8764A6351343   ARIANNA      RANDLE                       OH     90012234063
2B87656A261939   MARIA        MONTOYA                      CA     90007735602
2B876675A72B98   ANTONIO      CASTILLO                     CO     33030976750
2B876739431631   RAQUEL       VILLESCAS                    KS     90013297394
2B876956351336   BRENEVA      GRIFFIN                      OH     66033369563
2B877437884364   GLORIA       BOLEN                        SC     90007104378
2B877491757157   DON          MENEZ                        VA     81082624917
2B877A87671948   THOMPSON     MICHAEL                      CO     32038370876
2B87824765B167   DALE         PRIVETT                      AR     23094672476
2B878624787B59   BIANCA       CLARK                        AR     23019966247
2B878A84231453   OMARR        JONES                        MO     90013800842
2B87922279794B   WILLAIMS     COLLINS                      TX     74017152227
2B87941417B449   DARIUS       PATTERSON                    NC     11012544141
2B879593671948   WILLIAM      ALGREEN                      CO     32007825936
2B87962448598B   DENNIS       JONES                        KY     66058356244
2B879A47A93754   ERWIN        CHAPPEL                      OH     90010010470
2B87B129791251   BOBBIE       DENNIS                       GA     90012331297
2B87B167751336   ALISHA       PHELPS                       OH     90012181677
2B87B1A1257157   REBECCA      LOPEZ                        VA     90015051012
2B87B246247952   KEVIN        WILLIS                       AR     24098432462
2B87B272A91933   LATOYA       BETHEA                       NC     90010332720
2B87B357491374   CHANTE       DEAN                         KS     90014603574
2B87B69179189B   EARL         HASLEY                       OK     90014716917
2B87BA81491828   LAURA        CIROCCO                      OK     21003690814
2B88115749794B   NIKOLAS      HAVENS                       TX     90014811574
2B8813A2957157   MARIA        GONZALES                     VA     81006353029
2B881518491522   BETTY        VARGAS                       TX     90011435184
2B881648341245   FOSTER       JOHNSON                      PA     90006266483
2B881858793773   MICKEY       BERAN                        OH     64515798587
2B881976891541   NELIA        NAVARRETE                    TX     90014469768
2B881A4A99189B   TIA          TATE                         OK     21049780409
2B88252A885938   LATOYA       DAVIS                        KY     90010015208
2B883155A72B98   ALISHA       HERNANDEZ                    CO     90005421550
2B883258A71948   MARIA        STOGSDILL                    CO     90014182580
2B88326764B245   CORA         BEERY                        NE     90005582676
2B88327259794B   ANTONIO      OOTSEY                       TX     90015312725
2B883439787B59   KANDIS       BRIGGS                       AR     23036744397
2B883595491828   JAMES        KENNEDY                      OK     90012435954
2B88371499189B   BRANDI       DAVIS                        OK     90014717149
2B883A69A4B588   SANDI        MURRY                        OK     21564590690
2B884515681637   JESSICA      BOUDROW                      MO     90013835156
2B884637391528   MARIA        CARDOZA                      TX     75072896373
2B885238A91522   MARTHA       MALDONADO                    TX     75018632380
2B88536374B261   ISLIA        SALLES                       NE     90012353637
2B885795591547   OLIVER       CABALLERO                    NM     75021137955
2B885882485938   KRISTIN      HELENBURG                    KY     67091658824
2B886424A4B588   LENA         STONE                        OK     90014894240
2B88654915715B   ANGEL        SANTOS                       VA     81013615491
2B886827733678   AIDA         NOYOLA                       NC     90013948277
2B8872A352B839   JANET        HOLST                        ID     90013022035
2B887317741245   DAVID        ZECHENDER                    PA     51015153177
2B887484772B42   MATHURIN     INNOCENT                     CO     33052604847
2B8876A6355957   MARIA        MENDOZA                      CA     90012726063
2B88779692B892   AUBREA       PATTERSON                    ID     42009567969
2B88825359794B   JOSE         TUMAX                        TX     90014992535
2B888371A55957   FRANCESCA    PICCININO-GOLEMAN            CA     90013443710
2B8884A7251343   DAVID        HILLARD                      OH     90011534072
2B888773631631   MARIA        GOCHENOUR                    KS     90010137736
2B888865285938   AMELIA       GONZALES                     KY     90012398652
2B888912751343   DAVID        HILLARD                      OH     90012179127
2B888A9892B86B   CYNTHIA      STEWART                      ID     90014290989
2B889471691528   BUNTHOFF     STEPHEN                      TX     90003604716
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2B88949634B261   ELIZABETH    DAVIS                        IA     90013654963
2B88B12197B277   MARK         HANVEY                       AZ     90005671219
2B88B6A4691541   FUENSANTA    HERNANDEZ                    TX     75047766046
2B88B797851343   MARLENE      KELLY                        OH     90006277978
2B88B813A4B588   ROBERTA      FRANKLIN                     OK     90014898130
2B88B81A891592   ISRAEL       AVILA                        TX     75090908108
2B891577887B59   WILLIE       JACKSON                      AR     90014065778
2B891682272B42   MICHEAL      AMBROSEN                     CO     33017646822
2B891736491541   HERNANDEZ    JOSE                         TX     90006617364
2B892226281661   LIZETH       OROZCO                       MO     90006382262
2B892255285B32   DOMINIC      ROLLINS                      FL     90012082552
2B892353672B98   CRUZ         OROZCO                       CO     33041313536
2B892566691241   TAMMY        STONE                        GA     14586565666
2B892637271948   JESUS        CASTRO                       CO     32085196372
2B89288889184B   BRENDA       LERMA                        OK     90009538888
2B89364A17B471   LEANA        BONNER-HUNTER                NC     90014846401
2B893728451336   AMY          RAWLINGS                     OH     66099057284
2B8937A4697B67   FAHIMA       AHMAD                        CO     39007237046
2B894272672B36   JAMES        MCSWANE                      CO     90012082726
2B8946A9285965   JASON        SHATZER                      KY     90014516092
2B894A82A84364   BETTY        FERGUSON                     SC     90014380820
2B8954A9772B98   CHRISTY      IVORY                        CO     90006724097
2B895511591241   ANDRE        WARREN                       GA     90015565115
2B89567474B245   NINA         LUICILLE                     NE     90008906747
2B895849387B59   DARRELL      JORDAN                       AR     90012088493
2B895883872B42   GUILLERMO    BEJARANO-MIRANDA             CO     33055008838
2B896222491522   CELIA        ORTIZ                        TX     90012332224
2B896398755957   ANTONIO      JIMENEZ                      CA     48090343987
2B896821285965   SYMEISHA     MASON                        KY     66079048212
2B897162281637   MIMI         DAVIS                        MO     90013821622
2B897196372B98   NICOLE       HENDRICKS                    CO     90014601963
2B89735579189B   WYNETTE      JONES                        OK     90013583557
2B897955355941   KAREN        COTE                         CA     90007869553
2B89797495715B   MARISOL      PALASIO                      VA     90013309749
2B89832865B531   JASON        HOWELL                       NM     90005973286
2B89849969794B   DEVONTE      WEST                         TX     90015074996
2B898631351343   AMY          NASCIMENTO                   OH     66032326313
2B89869964B588   CASSIDY      PATTERSON                    OK     90015536996
2B89876AA2B892   LILLEY       TRACEY                       ID     90010027600
2B89879A157157   EUGENE       MARTIN                       VA     90014777901
2B898915693773   ANGEL        DILLON                       OH     64585959156
2B898952281637   BYAMUNGU     DANY                         MO     90012869522
2B899339985965   SHARON       BROAD                        KY     66026373399
2B899569457157   LESLIE       HINTZ                        VA     90014015694
2B8995A647B699   DAVID        KING                         GA     15041435064
2B89961917B471   MANUEL       ZUNIGA                       NC     90013606191
2B89998685B161   ARMANDA      PARKER                       AR     23031869868
2B89B136185938   KENA         GREENLEE                     KY     90000161361
2B89B182481637   CHE          JEFFERSON                    KS     90013641824
2B89B1A652B892   KAY          CLARK                        ID     90002141065
2B89B332A91522   JOSHUA       COLLINS                      TX     90011023320
2B89B385387B87   CHARLES      ROUSE                        AR     23019163853
2B89B681155957   JUAN         NAREZ-DUARTE                 CA     48052406811
2B89B781691241   BRENDA       RODRIGUEZ                    GA     90013477816
2B89BA93893773   MICHELLE     PERRY                        OH     64592520938
2B8B1457784364   ARIAL        MURRAY                       SC     90008474577
2B8B156144B245   JUAN         ROMERO                       NE     90015445614
2B8B187645B271   SALANICA     BROWN                        KY     90009168764
2B8B191567B471   MARIO        AGUILAR                      NC     90008219156
2B8B2336484364   COURTNEY     KING                         SC     90003243364
2B8B241712B892   DAWN         HOLBERT                      ID     90007924171
2B8B2867347952   JOESPH       HIGGINS                      AR     90014748673
2B8B2957591828   OLENE        CRAVEN                       OK     21073309575
2B8B3257941245   DAVID        PAXON                        PA     51061922579
2B8B32A7A91541   MARY         ATILANO                      TX     75012342070
2B8B3332787B59   WENESH       MOKUA                        AR     23072573327
2B8B339242B96B   AGUSTIN      RAYGOZA                      CA     90008833924
2B8B351149794B   JUAN         AGUIRRE                      TX     74053535114
2B8B368837B471   MICHAEL      ONYEGBULEM                   NC     11022516883
2B8B3A7272B892   GORRINGE     DESAREE                      ID     90011470727
2B8B465115715B   PALWASHA     ABDI                         VA     81067696511
2B8B4731391828   CODY         BARCLAY                      OK     90010327313
2B8B5523591592   JUAN         ACOSTA                       TX     75087505235
2B8B569294B261   LATINA       DEVOL                        IA     90013816929
2B8B569864795B   DEANNA       WYATT                        AR     90006036986
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2B8B5972585965   NATOSHA      LEWIS                        KY     90009159725
2B8B5A35171948   PAULA        BUMGARDNER                   CO     90002370351
2B8B6162791541   CARLOS       HERNANDEZ                    TX     90012051627
2B8B616422B232   BILLY        JOHNSON                      DC     90006331642
2B8B638464B588   JUAN         MARTINEZ                     OK     90014593846
2B8B658435B247   SHEILA       SHONTZ                       KY     68051145843
2B8B667A472B98   DEENA        LEWIS                        CO     90007476704
2B8B69A534B261   LALIA        HART                         NE     27087159053
2B8B712537B699   JENNIFER     LOZANO                       GA     90013251253
2B8B7132151343   SHEILA       WHITE                        OH     66003551321
2B8B7137A61877   DANILLE      CORT                         IL     90015381370
2B8B7214A9794B   MICHELLE     STORRS                       TX     90014842140
2B8B7364147952   ROBERT       HENRIQUEZ                    AR     90010953641
2B8B74A5557157   ALEX         ESTRADA                      VA     90012374055
2B8B751979184B   KAYLA        JENSEN                       OK     90009195197
2B8B7563481637   RYAN         MCCAULEY                     MO     29011005634
2B8B7641972B42   ALONSO       AGUILAR                      CO     33032236419
2B8B7938A4B261   GUADALUPE    MARTINEZ                     NE     90014789380
2B8B7947785965   GREGORY      GRIFFITH                     KY     90012599477
2B8B828242B839   CHELSEA      JOHNSON                      ID     42087842824
2B8B858499184B   OMAR         MEJIA                        OK     90013885849
2B8B8619972B42   SERGIY       ZHURBA                       CO     90012516199
2B8B879199794B   ADEN         BECERRA                      TX     74088257919
2B8B897757B449   TIANDRA      REID                         NC     11091139775
2B8B8A1892B261   SHASHIKA     WASHINGTON                   DC     81012890189
2B8B913717B471   LORIE        MOORE                        NC     11009831371
2B8B926A24B281   GODINEZ      JUAN MARTIN                  NE     27013252602
2B8B9283157157   STEFANI      MASON                        VA     90014152831
2B8B9672372B98   KELLY        JOHNSON                      CO     90014186723
2B8BB17239189B   JUAN         OROZCO                       OK     90005891723
2B8BB26859713B   MAVIS        JACOB                        OR     90014612685
2B8BB368691541   SANDRA       ABEYTIA                      TX     90013343686
2B8BB494191592   BRENDA       RENTERIA                     TX     90015344941
2B8BB9A9785938   GREGORY      CONN                         KY     90011149097
2B8BBA19251346   DEMETRIUS    FIAMAWLE                     OH     90006780192
2B8BBA7362B839   HAWA         SEITUAH                      ID     42047170736
2B911298355941   JAMIE        PRICE                        CA     49002542983
2B91255242B892   MICHAEL      DE VAUL                      ID     90010595524
2B91259469189B   VERONICA     SMITH                        OK     90002535946
2B913178971948   JESSICA      WILMOT                       CO     32091471789
2B9134A5585938   MAYRA        LEYVA                        KY     90011324055
2B913831651343   KATE         IVENSO                       OH     90003188316
2B9138A599184B   MELVON       WHITE                        OK     21002868059
2B913952655957   DEISY        MARTINEZ                     CA     90004889526
2B9139A212B892   MURAGIZI     SEBASTUTSI                   ID     42001819021
2B91412444B245   AMANDA       JANE KING                    NE     90009681244
2B914149A81637   CARMESHA     CRAIG                        MO     90014841490
2B914272587B59   NEKETHIA     FRENCH                       AR     90008772725
2B91452459184B   ROSA         MIRANDA PANDO                OK     21020445245
2B914A89391592   VENY         RAMOS                        TX     75096240893
2B9156A3384364   SHANEQUE     STEVENSON                    SC     90012066033
2B91611A12B261   TIAWANA      WALKER                       DC     81016391101
2B916265791528   MILAGROS     RAMIREZ                      TX     75057692657
2B91662655B271   GRETCHEN     CUTRER                       KY     68048366265
2B9166A9285965   JASON        SHATZER                      KY     90014516092
2B916A87281637   KARI         STANBERRY                    KS     90014540872
2B917146657157   AMBER        HOLLAND                      VA     90010401466
2B91714854B588   FARHIYO      GULD                         OK     90014861485
2B9173A717B471   ROSA         BILLER                       NC     90014613071
2B917423991828   MICHAEL      BAILEY                       OK     90013774239
2B91748572B839   CRYSTAL      ROBINSON                     ID     42011434857
2B917854172B73   KATHRYN      ROSE                         CO     90009808541
2B917A54A47952   JANICE       PRICE                        AR     90010410540
2B918366651343   RICK         FRANKENFIELD                 OH     90013413666
2B91941A485869   JULIANA      JORGENSEN                    CA     90010674104
2B9196A187B449   COLOMBE      OSSIHOU                      NC     90000276018
2B91988452B839   AMANDA       CASPER                       ID     90003578845
2B91989154795B   NICKI        JONES                        AR     90010688915
2B919986585965   LISA         MOORE                        KY     90014759865
2B919A62574B79   JOCELYN      JONES                        OH     51055610625
2B91B211591541   RICHARD      VELASQUEZ                    TX     90010242115
2B91B272455957   LINK         ROBINSON                     CA     48084132724
2B91B8A487B471   TRACY        MCCLURE                      SC     90013138048
2B91BA8824B588   ASHLEY       AYERS                        OK     90015310882
2B9211A614B588   DONALD       KELLEY                       OK     90007361061
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2B921224531453   ERIKA         HAMMOND                     MO     27507322245
2B921417551336   BRADLEY       MORRIS                      OH     90015314175
2B9217A9457157   CURTIS        THOMAS                      VA     90015207094
2B921888672B98   CYNTHIA       SHAFER                      CO     90006128886
2B92189359189B   SHANICE       DEW                         OK     90011258935
2B9218A2847952   BLAKE         WRIGHT                      AR     90014048028
2B921A93841245   DEBORAH       CALDWELL                    PA     90005290938
2B92228762B892   RACHE         GARCIA                      ID     90006942876
2B922567A85965   DEBBIE        COMBS                       KY     90004865670
2B922573781661   SHANTA        MURRELL                     MO     90010925737
2B9225A2185965   DEBBIE        COMBS                       KY     90011545021
2B922957691541   GUSTAVO       MEZA                        TX     90014569576
2B92296835B525   JEROME        VALDEZ                      NM     90004939683
2B923595231456   JAMES         TOWNS                       MO     90008795952
2B92434AA85988   SARAH         WILLOUGHBY                  KY     90009483400
2B92479764B281   TELINA        MICKLES                     NE     90004577976
2B92486489184B   JOSEPH        COUTURIER                   OK     90007978648
2B924872A55957   CHRISTOPHER   MUNDELL                     CA     90011518720
2B92519A64B588   BETTY ANNE    BECKER                      OK     90002721906
2B92549A34B261   LARRY         NICHOLSON                   NE     90013394903
2B925558771948   ANNJERI       BASS                        CO     90015095587
2B925673447952   JOY           ALLARD                      AR     90011856734
2B926277584364   PAUL          WELLS                       SC     90014462775
2B926379A51336   LORI          CARR                        OH     90011093790
2B92643374B592   ANDREW        POWERS                      OK     90014264337
2B926653A5B167   BRITNEY       STUART                      AR     90014796530
2B92714A27B471   JARVIS        BYERS                       NC     90014801402
2B927394371948   JOSEPH        LUCERO                      CO     90014183943
2B9276A452B987   ROBERT        FOSS                        CA     45070576045
2B927725547952   HECTOR        HERRERA TORRES              AR     90001707255
2B92773438B17B   JERRY         MILLS                       UT     90007007343
2B927744A4B588   DIANA         BASTANI                     OK     90012497440
2B92782665B271   ANTWON        EARSERY                     KY     90012508266
2B927963224B55   P             COLLINS                     DC     81028159632
2B928A67691592   MARIA         MONJE                       TX     75040110676
2B928AAA585988   CARL          COLES                       KY     90006260005
2B928AAA66194B   TRAVIS        PAVAO                       CA     46080420006
2B92917392B892   KATIE         LINZE                       ID     42094251739
2B92917A881637   KYLIN         ROBINSON                    MO     90014571708
2B929219391592   ERIC          MUNOZ                       TX     75089682193
2B92938665B167   ISHYA         STEWART                     AR     90008673866
2B929414655957   BRITTANY      WEDDERBURN                  CA     48020954146
2B929472185988   TERRY         MEYER                       KY     67049074721
2B929478A5715B   GLADIS        MOLINA                      VA     90007934780
2B92968A67B449   DENIS         BAQUEDANO                   NC     90003846806
2B929A8A291828   SRAH          MCGRATH                     OK     90008390802
2B92B466531631   DAVID         GARCIA                      KS     90014874665
2B92B993A55941   OSCAR         MENDOZA                     CA     90014039930
2B92B9A424B281   JAVIER        GARIVO                      NE     90009589042
2B92BA19887B59   VICTOR        BRISENO                     AR     90014120198
2B9311A9791528   MILAGROS      GONZALEZ                    TX     75092131097
2B931476285938   JAHCOBBIE     JONES                       KY     90007884762
2B931681931453   ARTICHER      THOMAS                      MO     90009316819
2B931854291522   JAMES         TSOSIE                      TX     90014088542
2B93196432B839   MARTHA        ESPINOZA                    ID     90000279643
2B93234584B281   TOM           JOHNSON                     NE     27013643458
2B93247824B261   MICHAEL       BECKA                       NE     27015084782
2B93248854B588   JOSHUA        BARRERA                     OK     90009834885
2B932531A2B839   MICHAEL       LABELLE                     ID     90013385310
2B93321778B17B   LAURIE        LEE                         UT     31089762177
2B933531A2B839   MICHAEL       LABELLE                     ID     90013385310
2B93378699189B   JESSICA       GALLAWAY                    OK     90014717869
2B933A72A7B471   ERVIN         GONZALEZ                    NC     90011130720
2B93434492B931   JACQUELYN     GENOVA                      CA     45049223449
2B934633955941   WA            LOR                         CA     49098836339
2B934A13155957   REFUGIO       PADILLA                     CA     90003440131
2B935697272B98   CAMILA        LOPEZ                       CO     90014186972
2B936373691592   PAUL          GUZMAN                      TX     90014983736
2B93645875B271   DAVID         ALCORN                      KY     90012974587
2B936621A93773   WILLIE        LINDSEY                     OH     90011746210
2B936649472B98   NANCY         GONZALEZ                    CO     33002196494
2B93696232B839   ALEX          HINOJOSA                    ID     90011569623
2B936A63855941   LAURA         SHOAFFNER                   CA     90011190638
2B93729952B931   CYNTHIA       RODRIGUEZ EGBAIYETO         CA     90004352995
2B93753894795B   BLANCA        HERNANDEZ                   AR     90005605389
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2B937697672B98   ANGELITA       CANTU                      CO     90014186976
2B93779689189B   TYRONE         THOMAS                     OK     90014717968
2B93783264B245   JESSICA        LYNN BOWERS                IA     90011028326
2B937856A5715B   JORGE          VENTURA                    VA     90011738560
2B937861331631   JACOB          SHOCKLEY                   KS     90013648613
2B93786317B699   TYESIA         OESTRICHER                 GA     15052718631
2B937A84787B87   TREY           AUSTIN                     AR     90001690847
2B9383A339189B   RACHEL         ADAMS                      OK     21093083033
2B93855565B167   MARK           WRIGHT                     AR     90013965556
2B93872519794B   CASTILLO       RAMON                      TX     74012187251
2B93876A551336   CHRISTY        CLANCY                     OH     90009477605
2B938819161994   RUBEN          ESTUDILLO                  CA     90005348191
2B93927AA9184B   CORIE          MELLAND                    OK     90011182700
2B939472491522   MARIA O        ATKINS                     TX     90013714724
2B93959724B281   BRAD           WEBER                      NE     90013115972
2B93994934B245   LINDA          NEWKIRK                    IA     90002229493
2B93B17432B839   LETIA          ANDERSON                   ID     90012691743
2B93B19734B261   ROD            DELEZENE                   NE     27055031973
2B93B22365B167   JESSE          BLASINGAME                 AR     90014822236
2B93B478931453   MARY           STONE                      MO     90005114789
2B93B61949189B   ELIZABETH      SOLIS                      OK     90011246194
2B93B696972B98   PETER          SMITH                      CO     90014186969
2B93B83A993754   KENITHA        HORTON                     OH     90004348309
2B9413A8455941   JESUS ACOSTA   FARIAS                     CA     90014043084
2B941788191541   MARTIN         MALDONADO                  TX     75019177881
2B94183524B245   ASHLLEY        DUARTE                     NE     90007918352
2B941873287B59   JUSTIN         DUNN                       AR     90013658732
2B941991985938   KENYAL         ROBINSON                   KY     90013709919
2B941AA4351343   DARRIS         BATES                      OH     90014160043
2B942359A71948   ANGELA         MARTINEZ                   CO     32098123590
2B942493572B98   CORA           GARCIA                     CO     90014774935
2B94252AA93773   SHAUNNA        SULLIVAN                   OH     64536575200
2B942537A7B471   ISAI           JUAREZ                     NC     90001135370
2B942615391522   EDITH          SOTO                       TX     75075786153
2B9427A532B892   TANIA          CARRENO                    ID     90013067053
2B942889951336   JODI           QUICK                      OH     90011528899
2B94317559184B   IYNA           GRAHAM                     OK     90009481755
2B943342747952   JOEY           KIRKSEY                    AR     90013783427
2B943435A9189B   BILL           DAVIS                      OK     21054394350
2B9434A4971948   CHESTER        KENDRICK                   CO     90014184049
2B9436A962B839   SOLOMON        PETROS                     ID     90012786096
2B943862793773   ELIZABETH      VALERIO                    OH     64597418627
2B944139455957   ELIHUT         BERNABE                    CA     90006701394
2B944632285965   DEBRA          MURDOCH                    KY     90007866322
2B944A89891241   DANIEL         MEDINA                     GA     90013730898
2B9454A1691541   NANCY          SCHAAR                     TX     75040714016
2B9456AA391828   LAKERESHA      DAVIS                      OK     90010886003
2B94592525B167   EVA            PRADO                      AR     23067679252
2B94594A181637   RANDY          JOHNSON                    MO     29044709401
2B946115881637   DOUGLAS        MARTIN                     MO     90012401158
2B946532155957   GARNETT        CLAYWELL                   CA     48090535321
2B94672299189B   HORTENSE       ANDERSON                   OK     90011247229
2B946A4355B167   LINDA          DEAN                       AR     90012310435
2B94749A37B435   LENANDO        SPRINGS                    NC     90011244903
2B9478A119189B   ITZEL          VILLALOBOS                 OK     90014718011
2B948342A7B471   GUSTABO        ORTIZ                      NC     90010513420
2B948433451343   LISA           SWAIN                      OH     90013114334
2B94861538B17B   BRAD           DAVIS                      UT     31004486153
2B948A93291541   CARMEN         VELAZQUEZ                  TX     90013800932
2B949126341365   TOM            SUPERNEAU                  MA     90014941263
2B949333785965   NIKKI          NICKELL                    KY     90011133337
2B94952522B931   PHILBERT       MARTINEZ                   CA     45058295252
2B94B18572B839   SEAN           GIAMBO                     ID     90013951857
2B94B385491828   RONALD         GARRETT                    OK     21060423854
2B94B74814B281   TINA           CREIGHTON                  NE     90013857481
2B951151357157   PEDRO          HERNANDEZ                  VA     90002501513
2B95187A755957   MARY           AGUIRRE                    CA     90013628707
2B95237A355957   RODNEY         IRVEN                      CA     48034083703
2B95253214B245   JAYSON         FERRIN                     NE     27033235321
2B952774381637   RONADNC        FORD                       MO     90004347743
2B953269787B59   JORDAN         TILLMON                    AR     90014132697
2B95327325B271   YVONNE         FERRELL                    KY     68006782732
2B9538A1357157   JOSUE          MUNDO                      VA     90006628013
2B953A1844795B   JUAN           GARCIA                     AR     90011870184
2B954262951343   JASON          BAIN                       OH     66090252629
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2B954866693773   JASON        JACKSON                      OH     90009758666
2B954941585965   CARL         CARTER                       KY     90008889415
2B955115131453   PAMELA       NASH                         MO     90012461151
2B955257887B59   MADLYN       JONES                        AR     23091682578
2B95528783B332   ROBERTA      FARLEY                       CO     33045952878
2B955529191241   EBONY        HILLS                        GA     90005045291
2B95582639794B   LETICIA      ARMENTA                      TX     90008768263
2B955A44A51343   JAMES        LYKINS                       OH     66040370440
2B956147191528   JOSE         BONILLA                      TX     75006391471
2B9568AA185949   TIMOTHY      NEWSOME                      KY     90000718001
2B957372A31453   CONNIE       HAYES                        MO     27576383720
2B957497947952   HECTOR       GUZMAN                       AR     24019044979
2B95756114B281   DON          ANDERSON                     IA     27088245611
2B957643391528   MARIO        SANCHEZ                      NM     75079676433
2B957789A51336   LUTRICIA     LUMAINE                      OH     90011917890
2B9578A2671948   PHILLIP      PRIESTER                     CO     32048058026
2B957A6766194B   THOMAS       DEL MONTE                    CA     90000390676
2B958329491528   ANABEL       RIVERA                       TX     75092133294
2B958684785938   JULIO        HERRERA                      KY     90013796847
2B9586A914B281   MAYRA        AVALOS                       NE     27076726091
2B958929191828   STACY        QUEEN                        OK     90013899291
2B95926169184B   WHEATINA     BONNER                       OK     90013882616
2B95959615715B   PEDRO        ARMANDEZ                     VA     90009775961
2B95971564B588   RASHEDA      EHOBO                        OK     90006667156
2B9597A3172B98   SUGEY        CHAVEZ                       CO     90014187031
2B95B198351336   HYDER        ZUERN                        OH     90013771983
2B95B34245B271   STEPHANIE    POLLARD                      KY     90012703424
2B95B61A84B261   ANDREW       FRY                          NE     90014656108
2B95B763155957   CONCEPCION   CASTANEDA                    CA     90004927631
2B95BA53757157   DARIOUS      THOMAS                       VA     90004230537
2B96142175715B   RAFAEL       VARGAS                       VA     90013204217
2B961545871948   MIGUEL       HERNANDEZ                    CO     90012315458
2B961882A93773   BEN          VONDERHEIDE                  OH     64565058820
2B962741971948   MORGAN       WILL                         CO     90010637419
2B962848451343   KYANA        WHITE                        OH     90008428484
2B962965381637   DEVIN        HUTTON                       MO     29007299653
2B962A26491541   IDCEE        ROSALES                      TX     90004790264
2B963435951343   KELLY        WILSON                       OH     90013114359
2B963796285965   MARIA        STIENE                       KY     90003187962
2B9643A9791241   DEMETRIE     HALL                         GA     90013703097
2B964547A87B21   JOSEPH       BUCKLEY                      AR     28039525470
2B96455854B261   TEARA        SWEET                        NE     90009195585
2B964621A91522   JAVIER       CAMACHO                      TX     90005596210
2B964624861925   LOVELYN      ALBANO                       CA     46095216248
2B965324A33646   KAYLA        DELAMADRID                   NC     90004223240
2B965418772B98   APOLINAR     PENA GALLEGOS                CO     33094054187
2B96569534B261   JEFF         DAMGAARD                     NE     27001096953
2B9657A3172B98   SUGEY        CHAVEZ                       CO     90014187031
2B966288655957   PEGGY        LEWIS                        CA     90003752886
2B9663A329184B   BRIANNA      KREBSBACH                    OK     90013593032
2B96655787B471   ULISES       MORTERA AGUEROS              NC     11092665578
2B96666957B449   ELISA        MATA                         NC     90014906695
2B96669A25715B   FITSUM       FASIL                        VA     81013876902
2B966714772B98   MIGUEL       FUENTES                      CO     90002067147
2B967184781637   MIGUEL       LESTAPIER                    MO     90005691847
2B9675A4451343   TAMIKA       FLUELLEN                     OH     66034485044
2B967729951336   SARAH        HOUSTON                      OH     90008177299
2B96775914B261   ROJEAN       MARSHALEK                    NE     27002837591
2B96779734B588   DEAUNTRE     GAINES                       OK     90014117973
2B96862275B531   CATHERINE    SANCHEZ                      NM     35069766227
2B968737461995   RICHARD      SMITH                        CA     90007937374
2B968799355941   PATRICIA     MURILLO                      CA     90010847993
2B969131691522   MARTHA       REYES                        TX     90000721316
2B969325957157   JOSE         DIAZ                         VA     90012313259
2B96941A491881   SILVIA       SALAS                        OK     90011244104
2B969679555957   BETTY        STOKES                       CA     48030496795
2B969728891828   MONICA       VELA                         OK     21052707288
2B96983A69189B   MARISELA     GONZALEZ                     OK     90014718306
2B969966351336   MONICA       SLAUGHTER                    OH     90012079663
2B96B116A55957   EDGAR        ROMERO                       CA     48013141160
2B96B156A5B271   TIMOTHY      CASPER                       KY     90012861560
2B96B534131453   PAMELA       JORDAN                       MO     27563705341
2B96B57784795B   BRITTANY     MITCHELL                     AR     90004025778
2B97113849189B   WAYNE        EALICK                       OK     21088311384
2B9713AA587B87   GARY         NEAL                         AR     23002143005
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2B97157444B245   MODESTO      DEL CID MORALES              NE     27000175744
2B971832A91522   CARLOS       SALAS                        NM     75021718320
2B971963747952   AKUA         CARTER                       AR     24086659637
2B972493591541   PEDRO        LOYA                         TX     75057474935
2B97256662B839   GREGORY      JOHNSON                      ID     90011895666
2B9726A2171948   ERIKA        MARSHALL                     CO     90012696021
2B972774485938   CHARLES      WHITLOCK                     KY     90008117744
2B97293739184B   PHYLLIS      MILLER                       OK     21090599373
2B972A8317B278   DAWYNE       SANCHEZ                      OK     90012460831
2B973176A55957   ROSEMARY     TORREZ                       CA     48038311760
2B9732A585B271   DAVID        HINES                        KY     90014612058
2B97343824B245   CARLOS       VASQUEZ                      NE     90008964382
2B97394842B892   SCOTT        SLATER                       ID     90010459484
2B97412A151343   TARREN       BLAND                        OH     66004131201
2B974297651336   CHRIS        ABEL                         OH     66016462976
2B974439572B42   JERRY        BURTON                       CO     90003634395
2B9746A7331453   LATOYA       WILLIAMS                     MO     90003156073
2B97484189189B   VIRGINIA     BLANKS                       OK     90014718418
2B97488498B17B   TIFFINI      DENHAM                       UT     90011698849
2B974A8715B393   ANABEL       ESQUIVEL                     OR     90004080871
2B975845291541   JAVIER       RODRIGUEZ                    TX     90012808452
2B97596419794B   JAYDEN       PATTON                       TX     90014949641
2B97624815B167   CHARDELL     COOPER                       AR     23007802481
2B97651A14B588   BONNIE       RICHESIN                     OK     21569175101
2B97669957B449   DEISY        PEREZ                        NC     90014906995
2B97685629189B   TYLER        DAVIS                        OK     90014718562
2B977133391528   VANESSA      SARINANA                     TX     90014011333
2B9771A8385938   KEITH        SMITH                        KY     90015301083
2B97755265B271   SHARON       SIMMS                        KY     68017255526
2B977889651343   TYANN        HARRIS                       OH     90009508896
2B97824662B892   JOY          BURNIGHT                     ID     90010812466
2B978273672B98   SARITA       GALLEGOS                     CO     33061672736
2B978283957531   YVONNE       REYES                        NM     35509272839
2B978782285965   DIANE        MULLINS                      KY     66043587822
2B978968A9794B   JOSE ANGEL   GAMEZ                        TX     90012429680
2B979117357157   JOSE         SANCHEZ                      VA     90015041173
2B97915A59189B   ZACHARY      DUTY                         OK     90010401505
2B9796A455715B   QUINCY       JONES                        VA     90003056045
2B979775A55941   DAISY        ROMERO                       CA     90013397750
2B97986784B588   KENT         MCGRATH                      OK     21551978678
2B97B1A834B281   ERIN         BULANDA                      NE     90000871083
2B97B543491541   MIKE         TUMMOLO                      TX     90010635434
2B97B72245715B   CRISTIAN     ESCOBAR                      VA     90011927224
2B98138639184B   LINDSEY      REEL                         OK     90014503863
2B981849887B87   LAKIESHA     REED                         AR     90003118498
2B981A58987B59   PEARLENE     DAVIS                        AR     23061320589
2B982186984364   MARI         POWELL                       SC     90012441869
2B982569855957   RAUL         NUNEZ                        CA     90014435698
2B98268445B167   JORGE        ALVARADO                     AR     90014846844
2B98286679189B   CHARLES      BLACKWELL                    OK     90014718667
2B98333194B592   RAY          TYLER                        OK     21584963319
2B98334A872B98   YESICA       CHAVEZ                       CO     90004263408
2B983691791528   MANUELA      CALZADIAS                    TX     90010376917
2B9839A3391541   NORMA        SAUCEDO                      TX     90006409033
2B98425975B167   ROGER        JOHNSON                      AR     90012082597
2B98433332B892   TERRY        EMMETT                       ID     90013143333
2B98445875B271   HALEY        NEWTON                       KY     90002134587
2B98449322B839   NIGEL        CLEMENTS                     ID     90002504932
2B9847A469794B   RICARDO      ORTIZ                        TX     90012917046
2B984981191522   RICHARD      CISNEROS                     TX     75034469811
2B985234347952   BARBARA      THOMPSON                     AR     90009872343
2B98526594B588   KIMBERLY     LAM                          OK     90012672659
2B9853A4791589   MIRIAM       HERNANDEZ                    TX     75019563047
2B98586A75B167   NORA         SOTO                         AR     23054048607
2B985A2864B245   KIYANA       PERRY                        NE     90008540286
2B986162431631   LISA         IROMANTU                     KS     22031541624
2B98625975B167   ROGER        JOHNSON                      AR     90012082597
2B98627695715B   DANIEL       MUNOZ                        VA     90011742769
2B986343155957   MARIA        OCHOA                        CA     90009393431
2B98658352B892   MARIA        JIMENEZ                      ID     90015035835
2B98673A14B245   HILDA        ZAMORA                       IA     27089967301
2B9877A9972B98   SILVIA       CARRASCO                     CO     90014187099
2B987A13A51343   SARA         FUHRMAN                      OH     90014160130
2B98838754B281   OSCAR        CUADRA                       NE     90013403875
2B988645931453   NICKI        ARMAN                        MO     27581776459
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2B98868559184B   DAVID          MOLL                       OK     90013886855
2B98888135715B   RENE ARCIDES   GONZALES                   VA     90004268813
2B98934342B839   KEVIN          DAVIS                      ID     42007103434
2B9895A465715B   XID            FAGGIONI                   VA     90011875046
2B98B666391592   SUSANA         JUAREZ                     TX     75000186663
2B98B71AA47952   TAVEN          MORRIS                     OK     90015447100
2B98B778255994   LURAY          SCHUSTER                   CA     90013667782
2B98B89822B232   LUCIA          CASTILLO                   DC     90007078982
2B98B92AA85938   COURTNEY       GREENWELL                  KY     90014639200
2B98B99A157157   DONNA          GRANADOS                   VA     90006019901
2B99157894B281   ALFONSO        MARTINEZ                   NE     90015175789
2B991677691383   RUTH           MUTINDA                    KS     90004536776
2B991719385938   BRITTANY       COOPER                     KY     90012947193
2B991771A91251   SOPHIA         EARLY                      GA     14509907710
2B991795A91241   KENNETH        HAYNES                     GA     90012077950
2B991A68741269   NICHOL         JACKSON                    PA     90015180687
2B992141291592   LUBIA          VALDEZ                     TX     90009831412
2B992218481661   STEPHANIE      COKER                      MO     90011672184
2B992317891528   VICTOR H       VALENCIA                   TX     90006523178
2B992377A71948   MARIA          HONEYCUTT                  CO     90014713770
2B99239372B27B   ALVIN          VOWEL                      DC     90000873937
2B99241A77B471   MERCEDEZ       CROCKETT                   NC     90014374107
2B99294A391241   MIKE           THOMPSON                   GA     90004259403
2B992989191522   ELIZABETH      DEL TORO                   TX     75009769891
2B992A53357157   ABIBATU        KAMARA                     VA     90012530533
2B99327148B17B   CAMILLE        CLARDY                     UT     90001872714
2B993285187B87   BRITT          MURRAY                     AR     23031982851
2B99368872B892   SHAYNE         WEST                       ID     90012756887
2B993712772B98   ASHLEY         GARCIA                     CO     90014187127
2B99379537B471   DAVID          HAWTHORNE                  NC     90011167953
2B99386274B261   TROY           LAWRENCE                   NE     27045138627
2B99391372B27B   NESDON         HARRIS                     VA     81050419137
2B994144591592   ALICE          PORTILLO                   TX     75007381445
2B994998A91241   JOHN           GREEN                      GA     90011199980
2B995397A85938   NIKKI          CAUDILL                    KY     90014193970
2B99633449794B   MIGUEL         SAJCHE                     TX     90015093344
2B996372591241   ANDRE          WALKER                     GA     14571743725
2B996728872B98   MARIO          CASTRO                     CO     90014187288
2B996AAA59189B   GENIENE        HERNDON                    OK     90011250005
2B997127A7B471   NORMAN         ACOSTA JACKSON             NC     11081891270
2B99714A455941   PAUL           CORTEZ                     CA     49085021404
2B9971A374B588   BRIDGET        PRESTON                    OK     90011851037
2B997488871948   JENNIFER       TURNER                     CO     90014184888
2B998167257157   MIRA           ARNAOUT                    VA     90013931672
2B99827A185938   CHARMMISHA     WEATHERS                   KY     90011052701
2B998746472B98   GREG           LOPEZ                      CO     90006057464
2B99887465B271   DONASHEA       TAYLOR                     KY     90014298746
2B998894672B98   CESAR          GARCIA-AGUIRRE             CO     33061548946
2B998A78855957   SALVADOR       DELGADO                    CA     48000540788
2B9993A952B839   EDGAR          VARGAS                     ID     90013953095
2B9995A7291241   WANDA          HORNE                      GA     90003035072
2B9999A697B471   DANA           ANDERSON                   NC     90008229069
2B99B4A5433678   PABLO          DELGADO JR                 NC     90009954054
2B99B79AA2B839   MIGUEL         VALDIVA                    ID     90002877900
2B99B871355941   MISAEL         CHOLULA                    CA     90010758713
2B99BA37581661   AMBER          SERGENT                    MO     29002790375
2B9B1295285965   ASHLEY         CENTERS                    KY     90011132952
2B9B137465B167   MEGAN          ANDERSON                   AR     23091283746
2B9B1529457157   IVETTE         ALACHE                     VA     90010625294
2B9B2313572B42   JAMES          MARSHALL                   CO     33094613135
2B9B2724A9189B   BRITTANY       CARTER                     OK     90014717240
2B9B279117B471   ANDRZEJ        LABINOWICZ                 NC     90013137911
2B9B311792B892   JAVIER         CARMONA                    ID     90006051179
2B9B3326791541   ESTELA         VASQUEZ                    TX     90013753267
2B9B3362391522   KIMBERLY       LAWLESS                    TX     90013933623
2B9B3447787B59   KATRENA        ALEXANDER                  AR     90014834477
2B9B4162255941   THAO PAO       LEE                        CA     90001591622
2B9B434A191522   CECILIA        MONA                       TX     75019743401
2B9B445A147952   MEGAN          HAND                       AR     24015564501
2B9B457824B245   CHARLES        GARCIA                     NE     90005345782
2B9B4657971948   COSME          GOMEZ                      CO     90004156579
2B9B51A4572B98   DION           COWDEN                     CO     90002841045
2B9B555344B245   REBECCA        JACKSON                    NE     90007835534
2B9B57A1291522   ANGELICA       BANUELOS                   TX     75018637012
2B9B663594795B   GERARDO        BARBOZA-HERNANDEZ          AR     25097966359
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1536 of 2350


2B9B6724A9189B   BRITTANY         CARTER                   OK     90014717240
2B9B6848887B87   AUGUSTUS         LEE                      AR     23004128488
2B9B6953951343   IWANA            SMITH                    OH     90014159539
2B9B7215772B98   LAN              LI                       CO     33079812157
2B9B7297891541   FRANCISCO        JUAREZ                   TX     90013662978
2B9B7398384364   CHRISTINA        MCABEE                   SC     90013093983
2B9B7427291241   RACHEL           BRANNEN                  GA     90015084272
2B9B7464872B42   LUIS             SANDOVAL                 CO     90004184648
2B9B7612455941   LESA             BELL                     CA     90013956124
2B9B7655A8B17B   SANTIAGE         LOPEZ                    UT     90007006550
2B9B7719A84364   ARTURO           MENDONES                 SC     90011647190
2B9B778612B892   TRAVIS           HYDE                     ID     42040497861
2B9B782922B839   JENESSA          SHOECRAFT                ID     90010788292
2B9B787A947952   FAYE             JOHNSON                  AR     90003558709
2B9B8364A71948   WILLIAM          LAKE                     CO     90009813640
2B9B8467A72B42   SABINA           MENDEZ                   CO     33081234670
2B9B8646572B98   FERNANDO         SAN MIGUEL               CO     33072006465
2B9B868A52B892   JEFF             HOLMS                    ID     90013296805
2B9B884A141365   BRANDON          BOLTE                    MA     90014718401
2B9B8889157157   KANIRAN          MIRZA                    VA     90014548891
2B9B9269591828   JORDAN-MELISSA   HENDERSON                OK     90010332695
2B9B9293A55957   ADRIANA          GONZALES                 CA     48065232930
2B9B956189189B   ERIKA            BANDA                    OK     90011245618
2B9B9714187B59   MIGUEL           GARCIA-DE LOS            AR     90014597141
2B9BB11612B839   TRACEY           WERNER                   ID     90013391161
2B9BB132281637   KRISTINA         GESSLER                  MO     90002951322
2B9BB23842242B   DEBBIE           ARTUS                    IL     20564212384
2B9BB29A59794B   JUAN             GALVAN                   TX     90015192905
2B9BB863887B59   DONNA            JACKSON                  AR     23077048638
2BB111A834B261   KARISSA          SPAULDING                NE     90006681083
2BB1123AA91522   SCOTT            LOPEZ                    TX     90006432300
2BB11465557157   VIRGINIA         PAUCCAR                  VA     90014854655
2BB11519371948   MOSES            VARGAS                   CO     90000495193
2BB1153635B571   SHARON           DAVIS                    NM     35082715363
2BB11627974B79   TOMEKO           MCCALL                   PA     90015566279
2BB1167285715B   JOSE             LAINES                   VA     90015156728
2BB1225434B588   HENRY            HICKS                    OK     90015512543
2BB12257A72B42   MICAH            YOUNG                    CO     90014822570
2BB12272891522   ALLTECH          AUTO CENTER              TX     75048962728
2BB12392493753   JESSICA          BAKER                    OH     90002233924
2BB1275225B271   GEORGE           HILL                     KY     68006917522
2BB13286371948   HANNAH           HERNANDEZ                CO     90009812863
2BB1341454B281   AARON            VALDEZ                   NE     27060494145
2BB13585372B98   FIRST            CHRISTOPHER              CO     90010615853
2BB1392692B931   MARGRET          BARNETT                  CA     90014939269
2BB14119741269   BRANDY           SCHNEIDER                PA     90013291197
2BB14189572421   SHAMMI           SINGH                    PA     90007911895
2BB14354A7B449   REGINALD         ALEXANDER                NC     90014803540
2BB14357157B85   RICHARD          YEFKO                    PA     90014863571
2BB14359357161   CANDIDA          IRAHETA                  VA     90010953593
2BB14454387B59   NICKEY           BRIGGS                   AR     23066624543
2BB144A3672B98   RENE             GUTIEREZ                 CO     90014184036
2BB15439681637   JAABRON          BALL                     MO     90011864396
2BB1553A261877   KIM              MURPHY                   IL     90014125302
2BB1575269184B   MARIA            RUIZ                     OK     21067587526
2BB1578629189B   KIMBERLY         DANIELS                  OK     90003637862
2BB15AA4A2B892   ORA              WINSTON                  ID     42041570040
2BB1614A391528   SONIA            MEDINA                   TX     90003331403
2BB162A6572421   SCOTT            KNAPP                    PA     90007052065
2BB163A652B931   DUSTIN           KENT                     CA     45097393065
2BB16537247952   GLADYS M         GREEN                    AR     90007365372
2BB16576A87B59   DEBORAH          THOMAS                   AR     23040435760
2BB17195355941   PETE             REYNOSA                  CA     90010071953
2BB17236284364   ANDREA           GATHERS                  SC     90007972362
2BB17287491522   IVE              MUNOZ                    TX     90011322874
2BB174A9172B98   ENRIQUE          SANCHEZ                  CO     90011264091
2BB1753215B271   BOBBY            BLACKFORD                KY     90009255321
2BB17994736165   VERONICA         TUDOR                    TX     90009849947
2BB17A7A14B281   SARAH            GONZALEZ                 NE     90002460701
2BB18112385938   SHEENA           PUCKETT                  KY     90011121123
2BB18476987B59   SHANNA           YOUNG                    AR     23056344769
2BB1884835B167   HIGINIA          LOPEZ                    AR     90005188483
2BB1885AA81661   SHERRI           BYERS                    MO     90014518500
2BB19192A5B167   NATUREL          BROWN                    AR     90010591920
2BB1934538B334   CRYSTAL          WEEKS                    SC     90015573453
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2BB1968235B271   NIKKI         GORMAN                      KY     90002746823
2BB19936572421   TAMIKA        HUGHLEY                     PA     90011109365
2BB1B133887B59   SARAH         JONES                       AR     90013121338
2BB1B37987B449   CHARIST       BAKER                       NC     90008453798
2BB1B53338B159   ALEXANDREA    COOK                        UT     31006505333
2BB1B53635B571   SHARON        DAVIS                       NM     35082715363
2BB1B56997B449   LUZBI         AGUILAR                     NC     90014815699
2BB1B573724B6B   RAKECO        ANDERSON                    MD     90011865737
2BB1B698881661   PAYGO         IVR ACTIVATION              MO     90010276988
2BB1B6AA791251   DUSTIN        CAVNAH                      GA     90011866007
2BB1B775991592   TERESA        PACHECO                     TX     90009117759
2BB1B92692B931   MARGRET       BARNETT                     CA     90014939269
2BB1B978231433   LANEZE        DOOM                        MO     27594879782
2BB21577491541   JOSE          PACHECO                     TX     75067845774
2BB21897185938   DAVID         BANN                        KY     90011048971
2BB22424197121   SACANNA       RUSH                        OR     90004214241
2BB2343A231453   LANDER        CRAYTON                     MO     90011434302
2BB23651651336   DARREN        FRIDLEY                     OH     90010636516
2BB23681485938   DARREN        RUSIN                       KY     90014406814
2BB23A5398B334   DARRELL       SMITH                       NC     90010600539
2BB24175455957   MARY          BROWN                       CA     48002591754
2BB2425555B531   MELISSA       YANNI                       NM     35087962555
2BB2432A15753B   DILLON        WHITAKER                    NM     90014113201
2BB2437679184B   SAMATHA       CORBET                      OK     90011073767
2BB2439177B449   MARY          EVANS                       NC     90014803917
2BB24576555941   ENRIQUE       PACHECO                     CA     90012065765
2BB24692663621   WHITNEY       QUICK                       MO     27578616926
2BB246A5251336   MONIQUE       SAVAGE                      OH     90015066052
2BB24918687B59   JALISA        GARNER                      AR     90014569186
2BB24967191241   KYLE          JOHNSON                     GA     14577349671
2BB24A62A4B261   JOSH          RICHARDSON                  NE     27013330620
2BB25298484364   RODREGUIS     BUTLER                      SC     90013572984
2BB25367891241   ADAM          WEBB                        GA     90010383678
2BB253A777B699   ALONZO        PIETT                       GA     90007473077
2BB25422885965   LARRY         SEBASTIAN                   KY     66007134228
2BB2594A54B281   RICHARD       WILSON                      NE     27054989405
2BB2654315B167   LAWRENCE      TAYLOR                      AR     23087585431
2BB2654975B271   MARLON        ELLIS                       KY     68011425497
2BB26784972B98   ANGELA        BAKER                       CO     90009767849
2BB26894651343   TERELL        HYTCHYE                     OH     90011258946
2BB27688785938   RYAN          CASEY                       KY     90015376887
2BB27915691522   JUANA         MIRAMONTES                  TX     90009989156
2BB27A4678B334   ALTON         HARVEY                      SC     90014180467
2BB2811878B17B   ROBER6        CROWTHER                    UT     90014291187
2BB28228A55941   JOHNATHAN     DOMINGUEZ                   CA     90013972280
2BB28395391592   JAIME         RATLIFF                     TX     75041203953
2BB28582385965   DAN           GRIDLER                     KY     66001735823
2BB28827172B98   DAVID         MEDINA                      CO     90001268271
2BB29184691592   GEORGE        ORDONEZ                     TX     90015081846
2BB292A9131631   MARCYLLA      FINLEY                      KS     22052282091
2BB2B163591592   NORMA         LOPEZ                       TX     75063641635
2BB2B1AA42B839   JOHN          GUNTER                      ID     90013941004
2BB2B36117B449   ANGELO        ELLIS                       NC     90014803611
2BB2B36A45B531   JAMES         CASTILLO                    NM     90006863604
2BB2BA16693773   BRANDY        BAYES                       OH     64584130166
2BB31114147952   MICHAEL       KNAULS                      OK     24013621141
2BB3114145B271   DARLENE       DONIGAN                     KY     68036301414
2BB31143772B98   JULIANNE      VAROS                       CO     90010921437
2BB311A1831631   DAN           MICHAELS                    KS     90012071018
2BB31226472B42   JORDAN        FINLEY                      CO     33000892264
2BB31243681637   MARISA        REEDER                      MO     29050842436
2BB314A2655957   CHARLES       STOUT                       CA     48096024026
2BB31561287B59   CLEASHONDRA   OWENS                       AR     90013615612
2BB3168592242B   ADOLFO        MARTINEZ                    IL     90008886859
2BB31942231453   ANNIE         BASSETT                     MO     27561769422
2BB3196A17B471   NANCY         CARTER                      NC     90014139601
2BB31A5985715B   HEIDI         JANET BONILLA               VA     81077500598
2BB321A8587B59   PAYGO         IVR ACTIVATION              AR     90012971085
2BB32236291592   GLORIA        PACHECO                     TX     90005252362
2BB32299A9184B   SUSAN         CALLOWAY                    OK     90007132990
2BB32518755941   CHRISTINA     ACOSTA                      CA     90013195187
2BB32743387B21   SAMANTHA      WHITE                       AR     90009087433
2BB32778191522   GABRIEL       ROSAS                       TX     90013967781
2BB32848555957   JOSE          ZENDEJAS                    CA     90012468485
2BB32A87691828   ERMELINDA     THOMAS                      OK     21043400876
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2BB3341A272B98   TASHEYLA      PARHAM                      CO     90014184102
2BB3368364B281   MARILYN       RODINE                      IA     27031056836
2BB339A3581637   ANDRES        MALDONADO                   MO     90013679035
2BB33A5A951343   AMBER         DANIELS                     OH     90013950509
2BB33A6687B471   LYNZEE        ROBINSON                    NC     90008190668
2BB33A86285988   CHRIS         KEVER                       KY     90013900862
2BB34181674B79   KRISTY        JACKSON                     OH     90001231816
2BB34283831453   HAEDAR        FARES                       MO     90011522838
2BB3432A981661   NAUD          JAIMEZ                      MO     90005033209
2BB3433A987B59   ALISHA        GOODLOE                     AR     90013953309
2BB344A3A91541   MARIA         LOPEZ                       TX     90014574030
2BB34543433691   TAMAR         COFER                       NC     90007945434
2BB34652651336   CATRINA       SHEEHY                      OH     90014536526
2BB348A7133686   GREGORY       HORNE                       NC     90011328071
2BB3492619184B   ODIS          NUTT                        OK     90009729261
2BB3494A59189B   LLIM          MANIQUEZ                    OK     90014659405
2BB35143691592   SANDRA        GARCIA                      NM     90012901436
2BB35171255957   VICTOR        SRENES                      CA     90013361712
2BB3517218B334   CALVIN        BOATWRIGHT                  SC     11096111721
2BB35181671948   VIRGENMINA    LABOY                       CO     90006251816
2BB3534AA51336   CHRISTOPHER   TODD                        OH     90012343400
2BB35359172B98   DARLENE       VALDEZ                      CO     90015133591
2BB3555629794B   KELSIA        MCDADE                      TX     90015015562
2BB35861184364   ERVIN         BROWN                       SC     19069708611
2BB35AA8171948   KELLY         NEECE                       CO     90014650081
2BB3623987B699   NEATRA        HUFF                        GA     90011032398
2BB36541531631   DARYEL        NELOMS                      KS     90009735415
2BB3692479189B   TIMOTHY       HUNTER                      OK     90011219247
2BB37517984331   GLENDA        MARSHALL                    SC     19070125179
2BB3765945B167   HEIDI         ADDIE                       AR     90010986594
2BB3772462B931   CECILIA       SOLORIO                     CA     90014967246
2BB37787572B42   JOHN          MONTOYA                     CO     33064487875
2BB37A41281637   MICHAEL       SCOTT                       MO     90004040412
2BB38159185988   ALICIA        WILLIAMS                    KY     90010991591
2BB38618741245   BENJAMIN      BRAZELL                     PA     90003926187
2BB387A5987B87   MIGUEL        GARCIA                      AR     90014967059
2BB38A41991828   JESUS         SIERRA                      OK     90009570419
2BB3934565B167   DESTINEE      AVERY                       AR     23030693456
2BB39593587B59   MELODY        CRAIE                       AR     90013955935
2BB39694951343   JULIAN        ROBINSON                    OH     90013306949
2BB3972462B931   CECILIA       SOLORIO                     CA     90014967246
2BB39814431631   OYNAELA       PAYNE                       KS     90007578144
2BB39926A55957   MARCOS        CASTILLO                    CA     90014379260
2BB3994729189B   MICHAEL       SMITH                       OK     90014659472
2BB3B189491541   IRMA          PATRICIA                    TX     75088241894
2BB3B31647B496   CHARLES       DWIGHT                      NC     11041963164
2BB3B332981637   LEANN         PERRINE                     MO     90002523329
2BB3B69A791522   ARMIDA        PUGA                        TX     75088296907
2BB3B78114B261   CODY          STICKNEY                    NE     90014107811
2BB3BA17391592   RAYMUNDO      JACOBO                      TX     90012110173
2BB4112A48B17B   SKYLER        THOMAS                      UT     90011681204
2BB41267A7B471   ESAYAS        DENEBERU                    NC     90004772670
2BB41399585988   LUKE          WATTS                       KY     90013273995
2BB41462171948   EILENE        MPHILLIPS                   CO     32012194621
2BB41741187B59   MASHESHA      CLARK                       AR     90013967411
2BB4175355B271   LESLIE        EDWARDS                     KY     90006757535
2BB41868A91251   ROSELLA       THOMAS                      GA     90011648680
2BB4193919189B   SANDRA        MORRIS                      OK     90011219391
2BB4194514B281   MARICRUZ      MOLINA                      NE     90009169451
2BB4198415B167   TONIA         BURRUS                      AR     90012659841
2BB4221175B167   RIDGE         LONG                        AR     90008972117
2BB42596672421   MICHAEL       HAYDEN                      PA     90013825966
2BB4267529184B   LAQUITA       MORELAND                    OK     90012086752
2BB4291A32B892   REYNA         QUINTERO                    ID     90011079103
2BB43449585988   MEGAN         ARREGUN                     KY     90011964495
2BB4345692B892   CARLOS        SIGMOND                     ID     90011944569
2BB4367899189B   CHRIS         ANDERSON                    OK     90014666789
2BB4372755B167   DANIEL        RAY                         AR     90013837275
2BB43893771221   JESSE         RODRIGUEZ                   IA     90015498937
2BB443A8671948   BELINDA       GUZMAN                      CO     90014163086
2BB448AA572B98   JOSE          MONTANEZ                    CO     33031338005
2BB44928391893   NOEL          AUSTIN                      OK     90006669283
2BB4523A755941   YAZMIN        BELTRAN                     CA     90013972307
2BB45A65451336   TANIA         CHALA                       OH     90014700654
2BB46175251343   TONY          PADGETT                     OH     66073531752
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2BB46352487B87   DROXINE      BARRON                       AR     90001733524
2BB46751A5B571   FRANK        GARCIA                       NM     35035887510
2BB46918276B53   CAROLINA     SANTOYO                      CA     90010509182
2BB46A91257157   OSCAR        VASQUEZ                      VA     90003590912
2BB472A8587B59   TINA         BEARD                        AR     90012842085
2BB473A7181661   SAMANTHA     DICKINSON                    MO     29014313071
2BB47882691522   BRIANNA      RONQUILLO                    TX     90015048826
2BB47981674B79   TOM          SOBOTA                       OH     90012319816
2BB4799A772B42   LORENZO      CHAVEZ                       CO     33044589907
2BB47A7A191522   MARIA        MORALES                      TX     90012270701
2BB4854A141245   AMBER        JONES                        PA     90002505401
2BB48868631631   NIKKI        LOVE                         KS     90010798686
2BB48964A2B839   JESSICA      GOMEZ                        ID     90012349640
2BB48A96685988   CHERYL       WILLS                        KY     90011500966
2BB49243251336   ASHLEY       SAWYER                       OH     90003812432
2BB49277191241   DEMON        WEICKERSON                   GA     90011362771
2BB4969542B892   DALE         SLAGEL                       ID     90014356954
2BB49A52351343   VICTORIA     WOOFTER                      OH     66046390523
2BB4B17238B334   TISSAN       SIMPSON                      SC     90015281723
2BB4B28799794B   XOCHITL      DE LA TORRE                  TX     90001502879
2BB4B424172B98   ANGEL        RODRIGUEZ                    CO     90014184241
2BB4B426355941   HEATHER      WILLIAMS                     CA     90013474263
2BB4B472185988   TERRY        MEYER                        KY     67049074721
2BB4B671591522   AIDE         SAENZ                        TX     90007216715
2BB4B6A112B892   CHEYENNE     AGUIRRE                      ID     90014836011
2BB4B6AA247952   GABRIELA     REYES                        AR     90011396002
2BB5146144B588   CANDACE      BARRY                        OK     90014674614
2BB5178879184B   NICOLE       LANDRUM                      OK     21072377887
2BB51935371948   CHRISTIAN    MARIN                        CO     90012469353
2BB52131355941   ALEX         CUEVAS                       CA     49015951313
2BB52453457157   ROSA         CARDOZA                      VA     90009104534
2BB52598772B98   ROCIO        MARTINON                     CO     90010615987
2BB52818A9189B   JOHNA        BENDELE                      OK     90001668180
2BB5328664B588   STEVA        BOWERS                       OK     90012242866
2BB53291855957   ADRIANA      ALVARADO                     CA     90015162918
2BB532A9731433   SHARMEL      MYER                         MO     27584752097
2BB53314851336   KELLI        MACK                         OH     66085413148
2BB53535172B42   HARDIN       ANDRE                        CO     33036195351
2BB53581751343   DALE         DINGLE                       OH     90009315817
2BB5365A891592   JORGE        ARMENDARIZ                   TX     90007746508
2BB53A26671948   TEMESGEN     BAYABLE                      CO     32012130266
2BB54119874B79   VICTOR       RUIZ PEREZ                   PA     90014901198
2BB5425A88B17B   CLAUDIA      CASAGRANDE                   UT     90010082508
2BB54368247952   TAMARA       NEAL                         AR     24088773682
2BB5445189794B   MICHAEL      MARTINEZ                     TX     90010364518
2BB54636885965   CARRIE       BAKER                        KY     90005766368
2BB5464189184B   EDEN         ANDRADES                     OK     90009586418
2BB54A8972B839   MARLENA      RANGEL                       ID     90002180897
2BB55141787B21   DANNY        BAITMAN                      AR     90015161417
2BB552A542B839   MARCY        WEST                         ID     42083252054
2BB55656985988   JESSICA      BURDEN                       KY     90008556569
2BB55834A7B328   SHIRLEY      HUFFMAN                      VA     90013648340
2BB558A3636146   CYNTHIA      PEREZ                        TX     90011908036
2BB55A1399189B   BILLIE       REID                         OK     90013210139
2BB55A84771948   JESSICA      RAMIREZ                      CO     90008750847
2BB56143287B21   VICTORIA     KENRICK                      AR     90015451432
2BB5634A691893   JESSICA      NEY                          OK     90015113406
2BB56389731631   MIRANDA      COSTILLA                     KS     90014723897
2BB5646A64B588   ANTHONNY     DOAN                         OK     90013254606
2BB5653A291828   COURTNEY     RICHARDSON                   OK     90012185302
2BB5656394B261   KAILEY       EDELMAN                      NE     90012225639
2BB57143155957   KYLE         HORN                         CA     90013731431
2BB5719AA47952   JULIO        ABRAJAN                      AR     90013651900
2BB5738412B892   ALLEN        HUNTER                       ID     42072283841
2BB5746447B449   BREEAHNAH    WILLIAMS                     NC     90014804644
2BB57471191592   RENE         LOPEZ                        TX     75047584711
2BB57474172421   AUTUMN MAR   CAPPELLI                     PA     51005524741
2BB5788894B281   KISHA        FLOWERS-JANES                NE     90000138889
2BB5789654B261   DAVID        LEDESMA                      NE     90014628965
2BB57A6A95715B   OSCAR        OSBALDO                      VA     81090440609
2BB5812A72B892   RALPH        ROBERTS                      ID     42080171207
2BB5821448B334   MICHELLE     PARKER                       SC     90014812144
2BB5839745B167   KELLY        GLYMP                        AR     90011823974
2BB5853115B161   ROMAN JR.    LITTLE                       AR     23070735311
2BB58566431699   CECILIA      BAILON                       KS     22012185664
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1540 of 2350


2BB58792687B59   JAMIKA        SINGLETON                   AR     90014817926
2BB58A84287B21   VALERIE       DERINGER                    AR     90015180842
2BB59269431453   TAWANNA       SIMMS                       MO     90013642694
2BB59686397B22   DIRK          MILLARD                     CO     90007026863
2BB5986AA31453   KEVIN         JONES                       MO     90010818600
2BB5B141855957   JEREMY        KOELEWYN                    CA     90013091418
2BB5B337A47952   MARIA         VEGA-MARTINEZ               AR     90007533370
2BB5B33999184B   JASON         MACGILLIVRAY                OK     90009563399
2BB5B411571948   YAIMARAR      LIMA                        CO     32098314115
2BB5B53247B471   XAVIERA       SHERRIL                     NC     90013375324
2BB5B533285988   ALICIA        OVERHOLSER                  KY     90008785332
2BB5B91884B281   JAMILLE       CLIFTON                     NE     90013779188
2BB5B945353983   ETHAN         REDRICKS                    OK     90012959453
2BB5B97229189B   ROBIN         WILLIAMS                    OK     90014659722
2BB6113A491828   DUSTIN        HAMILTON                    OK     90011121304
2BB6131215B167   ALEJANDRO     MEDINA                      AR     23065243121
2BB61373791592   DAVID         HARVIN                      TX     90012133737
2BB61432731631   JUDY          SMITH                       KS     90012284327
2BB61589471948   MICHAEL       SINSABAUGH                  CO     90009185894
2BB6198759794B   JUAN          GUZMAN                      TX     90004829875
2BB619A2491241   CHAVANNA      DUNN                        GA     90013859024
2BB61A33791541   RAMRIEZ       MYRNA                       TX     75078400337
2BB61A99772421   JAMES         LIBENGOOD                   PA     90007930997
2BB62327371948   KE ALI        GOODWIN                     CO     90014163273
2BB62456A9794B   FRANCISCO     LEYVA QUIDADA               TX     90012054560
2BB62799593727   CHRISTY       R LAWLESS                   OH     90008757995
2BB62814591522   BLANCA        OLAGUE                      TX     90012568145
2BB629A3638524   MARIA         GARCIA                      UT     31036089036
2BB63417491541   CHRISTOPHER   QUINTERO                    TX     90010264174
2BB63451947952   BRENDA        MARROQUIN                   AR     24038404519
2BB635A265715B   JONATHAN      MCELVY                      VA     90009625026
2BB63771487B59   EDDIE         JOHNSON                     AR     90000447714
2BB6377174B245   B             COBB                        NE     90005597717
2BB63A34391241   ELIXIS        HARRIS                      GA     90014560343
2BB63A57A91828   SHARONDA      FOSTER                      OK     21090790570
2BB64167755957   CHARLIE       MACOMB                      CA     90013331677
2BB64239172B98   MELODY        MCALLISTER                  CO     33008702391
2BB64329887B59   EDNA          PRICE                       AR     90007483298
2BB6438629184B   RICHARD       OSTRANDER                   OK     90014993862
2BB64883391541   ISABEL        LIRA                        TX     90008938833
2BB64927351331   PRISCILLA     FRANKLIN                    OH     90004189273
2BB64A72751343   CHARLES       GLASS                       OH     90003140727
2BB6517878B17B   JESSE         SANCHEZ                     UT     90011681787
2BB65353591592   ERIKA         RUIZ                        TX     75085683535
2BB65691691323   NATHANIEL     HAYES                       KS     90014266916
2BB6572522B892   SHAUNTA       AMANDA                      ID     90003007252
2BB6593919189B   SANDRA        MORRIS                      OK     90011219391
2BB6622589794B   PEDRO         VASQUEZ                     TX     90014192258
2BB6685459189B   ROBERT        KROBOTH                     OK     21086688545
2BB66A73151343   MARK          FANTETTI                    OH     90013950731
2BB6793A651336   JONATHAN      SUGGS                       OH     90009949306
2BB6796815715B   ANA           MONJARAS                    VA     90013309681
2BB6799864B281   ROBERTO       GUTIERREZ                   NE     90001139986
2BB68133185965   JULIE         BROOKS                      KY     66003371331
2BB68566A5B271   EFREN         JIMENEZ                     KY     90013635660
2BB68577955957   MERLE         HICKS                       CA     90009585779
2BB68699A5B167   TERRA         MURRY                       AR     23070246990
2BB6891A391541   JAVIER        CAMACHO                     TX     90012499103
2BB68927187B21   PAMELA        NEEL                        AR     90015439271
2BB69121891592   MANUEL        HARAMILLO                   TX     90002031218
2BB69615131453   ROBERT        BROWN                       MO     90014056151
2BB69738855941   DIXIE         TRISTAN                     CA     49076497388
2BB6B12682B839   EMILY         DAVIS                       ID     90010411268
2BB6B422684364   KALA          SEABROOK                    SC     19042634226
2BB6B462791592   CRUZ          ACOSTA                      TX     90015154627
2BB6B63397B471   MILTON        ESCOBAR                     NC     90012536339
2BB6B741172B98   RODRIGO       LOPEZ                       CO     90013067411
2BB6B754681661   MICHAEL       HILL                        MO     90014627546
2BB6B77599794B   WILLIAM       OLYSLAGER                   TX     90014377759
2BB6B88752B232   ANDRE         CLANVILLE                   DC     90006328875
2BB7121414B588   GARY          DEJEAR                      OK     90010702141
2BB71292985965   DUSTIN        MEECE                       KY     66001892929
2BB71512A51336   HEATHER       KREIDENWES                  OH     90015175120
2BB71821754191   RYAN          DUNLAP                      OR     90007398217
2BB7195622B839   MARK          KING                        ID     90012909562
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1541 of 2350


2BB71A2A287B59   VERNITA         GANT                      AR     90011590202
2BB71A8A17B449   STEVE           DREHER                    NC     11035340801
2BB721A9372421   FALLON          KIGER                     PA     90014941093
2BB72543231453   ASHA            PERRYMAN                  MO     90015305432
2BB725A912B229   RANDY           SMITH                     DC     90006605091
2BB7275617B449   SHIRLEY         BLACKWELL                 NC     11073247561
2BB72764957157   PAYGO           IVR ACTIVATION            VA     90015537649
2BB72789151343   GREGORY         GARDNER                   OH     90011677891
2BB7297657B699   WILLEKA         RUTLEDGE                  GA     15005569765
2BB72A92874B79   DAVID           MONIGOLD                  OH     90014620928
2BB73116A2B892   DELIA           GUTIERREZ                 ID     42060971160
2BB73185547952   BRANDON         CABE                      AR     90013911855
2BB732A9891828   DANY            RODRIGUEZ                 OK     90002862098
2BB73417A8B849   SHIKERA         WILHELM                   HI     90013674170
2BB73435672B98   ROBEN           DIEKMANN                  CO     90014184356
2BB73453A87B87   BRANDY          FREEMAN                   AR     90014984530
2BB73471857157   TUESDAY         LITTLE                    VA     90015034718
2BB73798271948   ALEXIS          KYLE                      CO     90010587982
2BB73A1648B17B   JAKE            SAMORA                    UT     90010470164
2BB74411847952   DEIDRA          THOMAS                    AR     90005604118
2BB7444245B171   SONYA           DAVIS                     AR     90007264424
2BB7493A17B449   KEISHA          HUTCHINSON                NC     90014859301
2BB74984191592   MARIA           SEGURA                    TX     90000279841
2BB749A3A71948   ADAM            WIK                       CO     90010679030
2BB75141987B59   KANDIC          CUNNINGHAM                AR     90014351419
2BB75188971948   JUAN            LOPEZ                     CO     90010301889
2BB75435672B98   ROBEN           DIEKMANN                  CO     90014184356
2BB75845A7B471   DIEGO           DE LEON                   NC     90010358450
2BB7643519794B   RICARDO         ORTIZ                     TX     90010694351
2BB76A2527B471   LANITIA         WESTBROOK                 NC     90011160252
2BB76A4234B588   RACHEL          ENDRESS                   OK     90014690423
2BB77116981637   AVERY           WILLIAMS                  MO     90004201169
2BB7715939794B   RAMIRO          JUAREZ                    TX     74039501593
2BB77311472B42   MARIA           DE LEON                   CO     90007263114
2BB7732312B892   AMPARO          DIAZ                      ID     90013173231
2BB7733A34B588   LINDA           MAISCH                    OK     21586093303
2BB7741A89184B   DAMIN           RILEY                     OK     90014034108
2BB77427685988   JACOB           CANTRELL                  KY     90013974276
2BB78162585988   JEROD           MORTON                    KY     90009841625
2BB78244591522   JUAN            GONZALEZ                  TX     75023772445
2BB78536931453   SAM             GIARDINA                  MO     90003045369
2BB78862181637   LETANGDRA       HAGGINS                   MO     90014008621
2BB79296171948   NELSON          GARCIA                    CO     90015082961
2BB7953567B449   JAMES           WALTON                    NC     90014805356
2BB7956525715B   ALEX            TORRES                    VA     90005795652
2BB79812157157   CARLA           JOHNSON                   VA     90013848121
2BB79945181637   JACQUELINE      BIRCH                     MO     29004689451
2BB79A85251343   CARLA           MATOS                     OH     66003160852
2BB7B179191592   ALEJANDRO       CANALES                   TX     75068241791
2BB7B463674B79   CHAMPAYNE       BRAY                      PA     90006844636
2BB7B591387B87   KAREN           WALLS                     AR     90014105913
2BB7B98234B588   MELISSA         GUM                       OK     90011609823
2BB8122255B571   CHERIE          QUINONES                  NM     35035902225
2BB8123837B278   MARIA A         TANNER                    NV     90014282383
2BB81516A61877   CEIRRA          LYNN                      IL     90015455160
2BB816A9A87B87   CHRISTOPHER     MAYZES                    AR     90014996090
2BB82145581661   JESSICA         BEARS                     MO     90011991455
2BB82381731433   ALMA PATRICIA   TORRES ROJO               MO     90003833817
2BB82686855941   KEYIA           MAYWEATHER                CA     49080946868
2BB827AA59184B   KARNETHA        JORDAN                    OK     90008947005
2BB83362547952   DARELL          WILKINS                   AR     24004843625
2BB8347A631433   TERRIE          PARCHMON                  MO     27572074706
2BB8388488B334   BRIAN           SAVAGE                    SC     90014288848
2BB84218185938   FRAN            ROBLIN                    KY     67065542181
2BB8434A881637   ERIC            PRENTICE                  MO     90014273408
2BB84446985965   LOVELESS        JAMIE                     KY     90013724469
2BB84454A8B17B   PINE            BRENDA                    UT     90010414540
2BB8447662B839   THIS            THAT                      ID     90007834766
2BB84727993773   KRISTY          POCAIGUE                  OH     90006687279
2BB8484945B171   ANNETTE         HERRON                    AR     23041968494
2BB8528A672B38   ILIANA          CORONADO                  CO     33082632806
2BB85493391828   QUATRILLA       BARNETT                   OK     90013224933
2BB8553579794B   MARTIN          AMAYA                     TX     74015405357
2BB85539772B98   NICKI           RAYMONDE                  CO     90013315397
2BB8563844B281   SANDRA          BRAHATCEK                 IA     90014166384
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1542 of 2350


2BB85A39471948   KAREN        HOFFMAN                      CO     90001990394
2BB861A7987B59   PATRICIA     SMITH-WEATHERLY              AR     23009551079
2BB86941155957   ROBERT       LAMBERT                      CA     90011309411
2BB86A96A91541   MARCELA      CUELLAR                      TX     90007570960
2BB87282691828   JESUS        HERRERA                      OK     90013812826
2BB8741618B17B   SHAUNA       BLUNDELL                     UT     31093724161
2BB87448993773   TANDACE      RICHARDSON                   OH     90005314489
2BB87526872B42   RYLEIGH      OBRIEN                       CO     90014345268
2BB87528785938   CHRIS        RAVEN                        KY     90014715287
2BB87546891592   ALFONSO      MADRID                       TX     90011695468
2BB8767895B167   RACHEL       ERWIN                        AR     90013596789
2BB88452A72B35   HECTOR       JUAREZ                       CO     90003544520
2BB88472872B47   JASON        SMITH                        CO     90009044728
2BB88478272B98   OSIRIS       SANDOVAL                     CO     90011724782
2BB88542384364   YATIAA       PRICE                        SC     90015415423
2BB88582374B79   JESSE        JAMES                        PA     90013695823
2BB886A8471948   CLYDE        RICHARDSON                   CO     32062566084
2BB8894A341245   HENRY        CARPENTER                    PA     90001299403
2BB88A27A2B839   SPENCER      HARMER                       ID     42026200270
2BB89134191534   MARLENA      CEBALLOS                     TX     90003621341
2BB8954289794B   AL           STEW                         TX     90015055428
2BB8B12844B588   EMILY        BONILLA                      OK     90009501284
2BB8B245757157   BLANCA       CARABANTES                   VA     90014392457
2BB8B284247952   RICHARD      SCHAEFFER                    AR     90004882842
2BB8B45972B839   MARIA        HOWARD                       ID     42085444597
2BB8B595A74B79   LAWAN        LIVINGSTON                   OH     90012565950
2BB8B63794B281   KARLA        MEJIA                        NE     90014166379
2BB8B66762B892   SAUL         CUEVAS                       ID     90004826676
2BB8BA11291541   CONCEPCION   VILLALVA                     TX     90012770112
2BB91114A91522   AMELIA       RODRIGUEZ                    TX     90008531140
2BB91164985938   MISTER       DAWSON                       KY     90002601649
2BB9142914B261   CHEYENNE     PECHA                        IA     27072014291
2BB9155A141245   JEWELL       LEDBETTER                    PA     51061705501
2BB9164A555941   ALISHA       GARRISON                     CA     49098916405
2BB91A76284364   NANCY        BOWENS                       SC     90012710762
2BB922A7A74B79   ASHLEY       HIGHLEY                      PA     51067272070
2BB923A6391541   KARLA        JACOB                        TX     75079973063
2BB9286555B271   DAWN         RALEY                        KY     68012728655
2BB9287382B229   ANDRE        BECTOR                       DC     90010758738
2BB92A41A2B839   SHUKRIA      AKRAM                        ID     90012720410
2BB9355A59794B   MARIO        CUC                          TX     90012975505
2BB93626191564   ANNET        CASTILLO                     TX     90007896261
2BB93821171948   MUSAAB       AL HAMDANI                   CO     90007278211
2BB9386994B588   HERIBERTO    DAVILA                       OK     90011438699
2BB9392A785938   GUADALUPE    BARBERENA                    KY     90010809207
2BB9425999794B   LUIS         TORRES                       TX     74011142599
2BB943A3391828   RACHEL       ADAMS                        OK     21093083033
2BB9467225715B   CLAUDIA      SANTIAGO                     VA     90015176722
2BB94A63655957   JOEL         SILIVA                       CA     90013720636
2BB95333284364   BENJAMIN     LEE                          SC     90003433332
2BB95413731631   MARILYN      MURPHY                       KS     22054224137
2BB9612A651343   JEREMY       SCOTT                        KY     90013951206
2BB96131184364   TWANNA L.    DAVIS                        SC     90011121311
2BB96426155941   RAYMOND      MEDINA                       CA     90012884261
2BB9663844B281   SANDRA       BRAHATCEK                    IA     90014166384
2BB967AA19189B   ALEJANDRO    DIAZ-ORTIZ                   OK     21077907001
2BB9711854B261   PRISCILLA    WANGUI                       NE     27036441185
2BB9738567166B   RICHARD      BROWN                        NY     90005573856
2BB97737587B59   FRANCHESKA   HUNTER                       AR     23024757375
2BB97928887B21   LOLA         MITCHELL                     AR     90015439288
2BB97A18181637   QUYLA        SIMPSON                      MO     90014090181
2BB98119572B42   DENNIS       STACEY                       CO     33019331195
2BB9817A57B471   JOHNNIE      SANDS                        NC     90014741705
2BB981A255B161   CARLETTE     EAGLES                       AR     23089781025
2BB9837429794B   SALVADOR     GONZALEZ                     TX     90014463742
2BB98522387B59   SHIRLYNN     CLEMONS                      AR     23025325223
2BB98A5834B543   ROBERT       KING                         OK     90011050583
2BB98A99371948   ZURI         TORIBIO                      CO     90010620993
2BB9923729189B   JORDAN       MESTAS                       OK     21013362372
2BB993A7284364   JANICE       MARCELINO                    SC     19085403072
2BB9975827B449   STEPHANIE    ROBINSON                     NC     11007667582
2BB9998665B271   MARIA        SOLIS                        KY     90008669866
2BB9B19289794B   KADESHA      BLACKSHEAR                   TX     90014601928
2BB9B338A87B87   TANISHA      LANGEL                       AR     23079863380
2BB9B612491528   LEYLA        ZEIDAN                       TX     75002576124
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1543 of 2350


2BB9B9A948B334   JONATHAN     GARCIA                       NC     90014829094
2BBB1667491554   JORGE        NORZAGARAY                   TX     75064666674
2BBB1731572B42   MARKAYZHA    GUTIERREZ                    CO     90013867315
2BBB2253191241   ANTONIECE    EDWARDS                      GA     90014152531
2BBB262729184B   ANTHONY      COX                          OK     90014686272
2BBB2824957157   GILMA        SARAVIA                      VA     81060418249
2BBB299A551343   TERRY        JONES                        OH     90013949905
2BBB317A85715B   NORBEL       MENDEZ                       VA     81076091708
2BBB3437861963   CESAR        LOPEZ                        CA     90013794378
2BBB3452A4B281   NIKOLE       MYNSTER                      NE     27088874520
2BBB3497255957   PAYGO        IVR ACTIVATION               CA     90013604972
2BBB3678755941   ALFONSO      CASILLAS                     CA     49098686787
2BBB399A551343   TERRY        JONES                        OH     90013949905
2BBB3A89291522   ERICA        ROOK                         TX     90008090892
2BBB4113987B87   LESLIE       MONTGOMERY                   AR     23063791139
2BBB43A155B167   DAMIEN       MITCHELL                     AR     90012903015
2BBB453139794B   MARIA        VILLANUEVA                   TX     90013965313
2BBB4A8969189B   KRISTEN      REID                         OK     90008860896
2BBB5164291541   MONICA       MORALES                      TX     90013151642
2BBB519289794B   KADESHA      BLACKSHEAR                   TX     90014601928
2BBB531682B931   LEVI         LOGSDON                      CA     90011253168
2BBB53A1681637   SCOTT        SMITH                        MO     90010873016
2BBB583284795B   RUSTON       PERRY                        AR     25060958328
2BBB5843287B59   ROSETTA      GIDDENS                      AR     90013238432
2BBB6259147952   FIDEL        CASTRO                       AR     24069472591
2BBB6286384364   AUSHAULAY    SMITH                        SC     90013102863
2BBB6482655957   MARY         PALOMERA                     CA     90015174826
2BBB6695887B59   CRYSTAL      FREEMAN                      AR     90015226958
2BBB6832692886   GAVIN        STANLEY                      AZ     90015268326
2BBB6A1584B588   AMANDA       THOMPSON                     OK     90015480158
2BBB6AA5A2B839   JESSICA      HALLQUIST                    ID     90014320050
2BBB74A9172B98   ENRIQUE      SANCHEZ                      CO     90011264091
2BBB814712B839   ROSA         ORTEGA                       ID     42035221471
2BBB824722B229   TERRI LYNE   BRISCOE                      DC     90013252472
2BBB8346955941   JOSE         PENA                         CA     90013263469
2BBB8589291541   ERNESTO      RAMIREZ                      TX     90015115892
2BBB891A78B17B   JODI         SMITH                        UT     31065939107
2BBB8965572B42   JAMES        CONTRERAS                    CO     90013439655
2BBB9133484364   AL           RAVENELL                     SC     19022791334
2BBB9273787B87   EMMA         HILL                         AR     90001732737
2BBB9A38655957   JANET        GRANA                        CA     90013750386
3111167955B281   SHANNA       KENT                         KY     90007316795
311122A4A55949   TATIANA      JAMISON                      CA     90010662040
3111247722B93B   MARIE        RIOS                         CA     90009224772
3111346617B471   DALLAS       MURRY                        NC     90004614661
3111376338B162   LETA         KULA                         UT     90013747633
31113A8345B52B   ROGELIO      ORTIZ                        NM     90013900834
3111419572B871   JESSICA      JOHNSTON                     ID     90003231957
3111448555B393   TYLER        PORTNOY                      OR     90010684855
3111522235B393   AMY          WOOD                         OR     90002722223
31115A1844B943   SERGIO       CABELO                       TX     90014870184
3111624532B93B   KATHY        HERRERA                      CA     45004922453
31116867A8B162   MELISSA      PEDERSEN                     UT     31085718670
3111694555B393   EILEEN       LIHPAI                       OR     90014169455
3111725912B871   MAUREEN      O DONNELL                    ID     42026642591
3111847567B639   TEKEEMA      COLEMAN                      GA     90014214756
3111874A491232   COBY         GAINES                       GA     90014897404
3111882712B93B   ALEXANDER    MADERA                       CA     90015078271
31118958872B76   MARIA        HERNANDEZ                    CO     33002209588
3111922417B449   MARIA        ROJAS                        NC     90013942241
3111924182B835   TONIA        BENBROOKS                    ID     42075642418
3111953428B16B   RUBEN        ARREDONDO                    UT     90007625342
3111959A57B449   ESTET        ROJAS                        NC     11007595905
311198A1791893   ROCHELLE     WALTON                       OK     90010658017
3111B281951339   JUSTIN       SEELYE                       OH     90014492819
3111B35857B639   YOLANDRA     SMITH                        GA     90007153585
3111B426136143   MARIBEL      LOPEZ                        TX     90015084261
3111B59997B449   MICHAEL      LANDERS                      NC     90013255999
3111B657831424   BILL         MIDOWELL                     MO     27561796578
3111B91957B471   ANTHONY      SLOAN                        NC     90014369195
3111B91A34B943   HYNECIA      SIMPSON                      TX     76576529103
3112111687B471   SAMERIA      GILLESPIE                    NC     90005161168
3112153227753B   JUSTIN       HEMPHILL                     NV     90013885322
311215A6A71954   MICHAEL      FOURTNER                     CO     38089275060
31121A32554165   TRACEY       SMITH                        OR     90012260325
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3112283175B161   TAMARA        SOLEE                       AR     90009608317
3112288A241258   SUSAN         SNYDER                      PA     51096588802
3112294355B393   FRANCISCO     MENCHU                      OR     90008859435
31123A3396B397   JOSEPHINE     RUNGE                       NH     90014330339
31123AAA591584   MIGUEL        AGUILAR                     TX     90011540005
3112419168B14B   VICTOR        DIAZ                        UT     90008691916
3112472235B393   LAUREN        FIFIELD                     OR     44550047223
3112475487B492   DEANNA        PARKS                       NC     11008107548
311258A265B393   NERY          CHAVIRA                     OR     90009858026
3112622328B162   KELIEANN      VAN LEUVEN                  UT     90009002232
3112658765B156   TENAHIA       BROWN                       AR     90010325876
31126746A91584   GLORIA        CARRILLO                    TX     90011227460
31127111A41285   MONAE         BARNETT                     PA     51048491110
3112723637B492   MONA          JENKINS                     NC     90013252363
311273A875B393   GILBERTO      PICHARDO-PALACIOS           OR     44586033087
3112791827B471   ERNESTO       RAMOS                       NC     11010209182
31127984A72B76   JOSE          HERRERA                     CO     33047729840
3112799962B835   ALONSO        BALLESTEROS                 ID     90003739996
3112863A67B43B   ALLISHIA      WIGGINS                     NC     90004616306
3112871257B449   VICKEY        FLETCHER                    NC     90011407125
31128A56431424   ASHLEY        DENTON                      MO     90010910564
311299A7491232   LAKIA         FOUST                       GA     90015089074
3112B4A7841258   CLARISSA      DREWERY                     PA     51041554078
3113177724124B   GENEVIEVE     FREEMAN                     PA     90011737772
3113183A785943   TERRY         SNOW                        KY     90012368307
31131A34355949   JESUS         AGUILAR                     CA     49081670343
3113212A151369   LAWANDRA      NEWELL                      OH     90006471201
31132747A8B16B   CANDY         FREDRICKSON                 UT     90014167470
31132857A91371   MARCUS        CHAMPION                    MO     29034878570
311328AA977544   URIEL         ROJAS                       NV     90012688009
3113326A836143   ANITA         RAMIREZ                     TX     90003422608
3113355385598B   REED          SIMPSON                     CA     49039805538
3113357727B471   PACO          GAVARRELE                   NC     90015045772
31133A1198B16B   RON           YERAGE                      UT     31005210119
3113411662B871   CHRISTINE     MAY                         ID     90005161166
3113425352B93B   MARISOL       VERGARA                     CA     90014752535
311347A1655949   ANGELA        GONZALEZ                    CA     90014517016
31134A9194B943   JUAN          GARCIA                      TX     90001790919
31135687A2B93B   MARGARITA     LEDEZMA                     CA     90012996870
31136911A2B835   BA            TUN                         ID     90012519110
31136A1A55B23B   MARELYS       SILVA                       KY     90006390105
3113818227753B   MARIA         GARCIA                      NV     90009971822
3113825862B87B   ROCHELLE      BRAMLETTE                   ID     90004812586
31138583A84368   PABLO         NAVA BARRAGAN               SC     90012615830
3113988416B981   FRANCISCO     BAUTISTA                    NJ     90012678841
3113999938B16B   CRISTA        DAVIS                       UT     90010809993
31139A23255949   AURELIO       GUNZALES                    CA     90011520232
3113B222255972   MARIA         VELASQUEZ                   CA     90003752222
3113B54A75B52B   JULIETA       SAUCEDO                     NM     90011485407
3113BA2112B871   JACQUELINE    MINIZ                       ID     90010240211
31141A66141285   TINA          LAPP                        PA     90014430661
3114237778B162   SABRINA       MALAN                       UT     31012093777
3114296557B471   TANGY         REID                        NC     90012289655
311437A6241285   BRANDEE       RABINEK                     PA     90013507062
3114385442B559   LOIS          JAIMES                      AL     90014138544
3114426477B639   DOMINIQUE     PERDUE                      GA     90014622647
3114442AA41285   TARELL        ADDISON                     PA     90014774200
31144618A5B281   SAMANTHA      GREEN                       KY     90008566180
31144643472B76   DONALD        DINGWALL                    CO     33082796434
3114475117B492   GLADYS        HERNANDEZ                   NC     11033377511
3114519A851369   POPLO         SANSHEZ                     OH     90004201908
311454A8991831   CHRISTOPHER   JOHNSON                     OK     90012994089
3114631238B162   MONICA        JUDD                        UT     90011913123
3114642A55B393   KAYLA         BOWELS                      OR     90014704205
3114672777B639   JESSICA       JOHNSON                     GA     15085037277
311467A2672B76   BEATRIZ       CASTANEDA                   CO     90007177026
3114699232B87B   JAVIER        CORONA                      ID     90015549923
3114713A141277   AUSTIN        LANE                        PA     90013311301
3114717145B393   ELIZA         WARRICK                     OR     90013191714
3114725897B639   TINISHA       BOLDEN                      GA     90006702589
3114734282B87B   AUSTIN        TILLER                      ID     90014843428
311473AA377544   KORTNEY       SLATON                      NV     90015593003
3114792A97B43B   CLARA         JUAREZ                      NC     11014649209
31148374A36143   PAUL          GARCIA                      TX     90014143740
3114856285598B   SUSAN         ARCHER                      CA     90014325628
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311485A277B639   JACKQUELINE   WIMBERLY                    GA     90011945027
31149329A91371   SILVIA        HERNANDEZ-SANCHEZ           KS     90014983290
3114936A431424   SHEILA        KIRKLAND                    MO     90014983604
3114977317B449   YUK           RAHLAN                      NC     90013857731
3114981565B393   CRYSTAL       HETTERLY                    OR     44566808156
31149A15A36143   EUNICE        GARCIA                      TX     90010650150
3114B278391371   MARIA         BUSTILLOS                   KS     90009242783
3114B71957B492   ANTHONY       RENDLEMAN                   NC     90006857195
3114B741A2B835   MELISSA       BELL                        ID     90014077410
3114B8A3141277   EDWARD        WHITE                       PA     90014648031
3115117915B281   DEBBIE        WEIDAUER                    KY     90009391791
3115141915B393   JESSICA       STAHL                       OR     90012274191
3115183167753B   MONICA P      CORDOVA                     NV     90005388316
3115187865B52B   BERNICE       CORIZ                       NM     35053778786
311519A278B16B   LEWIS         KEYES                       UT     90010769027
3115247915598B   MIGEL         FARIAS                      CA     90006904791
31152715A77544   LEOPOLDO      ARCE                        NV     90013977150
3115369727B639   TRAYVOND      ROBERTS                     GA     90014216972
311537A5555949   STEVIE        PETERS                      CA     90014517055
3115421397B492   CHRIS         WALLACE                     NC     11015392139
3115488272B586   JAMES         RENEMAN                     AL     90015098827
31154A59791371   MARTHA        LONGORIA - ORTIZ            KS     90012080597
3115524772B835   E             PEARSON                     ID     42066952477
3115544392B87B   DONALD        LEITERMAN                   ID     90013964439
3115573425B281   PATRICK       CRADY                       KY     90002887342
3115599834B943   CHRISTINA     SHELTON                     TX     90011729983
31156846A7B492   ORLANDO       GARCIA                      NC     90002778460
31156934A36143   MANDY         MARTINEZ                    TX     73535009340
31156966A7737B   HAROLD        SOUTHERN                    IL     90013999660
3115713545598B   MANUEL        MARAVILLA                   CA     90012681354
3115737A697126   BENJAMIN      HUERTA                      OR     90012073706
3115779AA36143   JOSE          RAMIREZ                     TX     90012697900
31158A2632B87B   LILIANA       MALDONADO                   ID     90014780263
3115986785B52B   JENNIFER      AGUIMATANG                  NM     90014308678
31159A4117753B   CYNTHIA       PRICE                       NV     90009250411
3115B51714B943   MARISSA       CANTU                       TX     90014945171
3115B646191893   DAVID         STONEBARGER                 OK     21066126461
3115B677455949   SANDRA        VARGAS                      CA     90012636774
3115B757454165   KARRIE        STONE                       OR     47023637574
3115B842991584   FLOR          LOPEZ-RAMOS                 NM     90012638429
3115B864191232   MICAH         LEVEL                       GA     90015228641
3116141A17B449   OCTAVIO       CARDENAS                    NC     11009234101
3116157122B87B   CHRISTIE      ARMSTRONG                   ID     90009685712
3116189252B93B   CASSANDRA     NELSON                      CA     90004978925
31162435948B23   JESSICA       BAUGHMAN                    UT     37020864359
3116279A48B16B   DRENA         MORALES                     UT     90001047904
31162A18431424   MISAEL        LOPEZ                       MO     90009350184
31162A1A647931   CHARLENE      WHITE                       AR     90007760106
31163127372B76   JOSE          REYES                       CO     33047471273
3116328A784368   JARBAS        OLIVEIRA                    SC     90014892807
3116348625B156   MAVIS         PRYOR                       AR     23083654862
3116351567B492   MARIA         CARDONA                     NC     90014825156
311636AAA7B429   EDMOND        BROWN                       NC     11017616000
3116372237B639   FELICIA       BUCKNER                     GA     90006547223
31163981872B88   NATASHA       PERRY                       CO     90001019818
3116429542B93B   MARICELA      VERVER                      CA     90012362954
311644A3391584   CLAUDIA       IVETTE FAVELA               TX     90005014033
3116453428B16B   RUBEN         ARREDONDO                   UT     90007625342
3116474945B52B   MARY          GARLEY-MOORE                NM     35024507494
3116488A22B87B   CASSANDRA     OGDEN                       ID     90014718802
3116544875B393   CHRISTINA     WHITE                       OR     90011884487
3116589415B281   JUANITA       ELLIOT                      KY     68078478941
311662A5191371   KEVIN         SOLECKI                     KS     29015952051
3116642A155972   RAMON         VELIZ                       CA     90012214201
31166887A2B93B   EMILENA       CASTRO                      CA     90014728870
31167A6438B16B   ALEX          GURRERO                     UT     31091180643
3116822A251369   MELANIE       MAYE                        OH     66000882202
311682A9721631   JARRED        BARKLEY                     OH     90015302097
3116863562B93B   SANDRA        SCARLETT                    CA     90011026356
3116887437B449   DENISE        BOSWELL                     NC     90011878743
3116986858B162   CHELSEY       WILLIAMS                    UT     31046818685
3116987265598B   DANNY         SALAS                       CA     90013528726
3116B226441258   TERRELL       CHAPMAN                     PA     90014582264
3116B58742B87B   HELEN         PEARMAN                     ID     42034945874
3116B818291371   VANESSA       MCGEE                       KS     90000628182
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3116B867A41285   DAN           MOSSO                       PA     90011658670
3116B97A87B639   TERESA        WILLIAMS                    GA     90010539708
3116BA8514B943   GASPER        HERRERA                     TX     90014920851
3117139427B492   SHANNA        WHITE                       NC     90010243942
31171A3422B835   KERRY         NELSON                      ID     42091180342
3117267A67B492   SALLY         BARNEYCASTLE                NC     90000906706
3117361A84124B   MATTHEW       RANDOUR                     PA     90000256108
31173A1694B943   NICHOLE       JACKSON                     TX     76534230169
3117542637B492   LAPORCHE      BROWN                       NC     90014714263
3117548652B559   ANNIE MAE     PRIDE                       AL     90015064865
3117563898B16B   MARVIN        LEGER                       UT     90013496389
31175911A36143   MICHAEL       FEWTHER                     TX     90014279110
3117593A52B93B   MARSHA        DAVIS                       CA     90013919305
3117663412B835   LYDIA         OLVERA                      ID     42034546341
3117721135B58B   BARABARA      SIERRA                      NM     90009412113
3117721A17B639   VERONICA      CARNES                      GA     90010782101
311776A2397B44   KATRINA       DIEHL                       CO     39015556023
3117771927B449   LINDA         KANE                        NC     90009747192
3117775615B393   DANIEL MARK   DINNEEN                     OR     90005617561
3117868A47B639   DEMETRICA     JACKSON                     GA     90008106804
31178774A5B281   CANDICE       TWYMAN                      KY     90002887740
3117948445B52B   IRENE         CASTILLO                    NM     90002584844
3117997582B87B   JOSEFINA      CORTEZ                      ID     90009019758
3117B733A98B33   JUAN          AGUSTINIANO                 NC     90007727330
3117B93652B586   MONICA        WADE                        AL     90014639365
3117BA2875B281   VICTORIA      TWYMAN                      KY     90011650287
3118134A82B835   JAKE          FOX FARRELL                 ID     90006813408
3118211192B87B   SHAWNA        HATCH                       ID     42062591119
31182131672B76   DIANE         CECILIA YANKTON             CO     33048491316
31183125A2B93B   MONICA        AMBRIZ                      CA     90010611250
31183155A4B967   ERIC          GALLIER                     TX     90013581550
311831A572B871   KIMBERLY      LOBACH                      ID     42064491057
3118323995B52B   ELIZABETH     ROMERO                      NM     90002722399
31183924A41285   ROSEMARY      IRONS                       PA     51074469240
31183A6422B835   BARBARA       WOODS                       ID     42063820642
3118452585B393   MERITIDE      BONAMI                      OR     90008585258
31184547A7B492   CHARITA       VALENTINE                   NC     90011065470
3118469147B639   VICTORIA      CLARK                       GA     15096486914
3118533A67B471   FREEDY        G                           NC     90013663306
3118554517B492   MITCH         KOTLINSKI                   NC     90012745451
31185A18541258   JOYCE         BECK                        PA     90006330185
311866A2397B44   KATRINA       DIEHL                       CO     39015556023
3118699118B16B   CYNTHIA       BROWN                       UT     31079849911
31187297A72496   MICHAEL       HICKS                       PA     90010402970
3118778A94B943   SAUL          BATELLO                     TX     90015017809
31187825A55972   NANCY         MENDOZA                     CA     90012248250
3118791427B471   MURIEL        WILSON                      NC     90014639142
3118872945598B   JACKILINE     FEQUEROA                    CA     90012887294
31189263A7B639   JIMMY         COBB                        GA     15056532630
3118962414124B   STACEY        EVANS                       PA     51052416241
31189A4757B471   TATTIANA      JACKSON                     NC     90014580475
3118B31335B393   SAMUEL        JONES                       OR     90010423133
3118B3A2571996   NIGEL         KERR                        CO     32036183025
3118B519691371   SARA          LAXTON                      KS     90011155196
3118BA79391831   JANET         SHORT                       OK     90009190793
3119135847753B   RICARDO       COLMENARES                  NV     90013893584
31191761A77544   ASHLEY        PARKERSON                   NV     43009297610
3119245A62B93B   TOM           HONG                        CA     90014984506
3119269774B281   PATRICIA      ADAMS                       NE     90008416977
311927A6141277   MELVINA       STRONG                      PA     51029977061
311927AA37753B   CARLOS        SANCHEZ                     NV     90013427003
3119296287753B   KATRINA       ESPARZA                     NV     90003679628
3119315645598B   CRISTINA      BARAJAS                     CA     49087821564
3119324A691584   MARIA         LOZANO                      TX     75053782406
3119453772B93B   ANGELA        TOSTA                       CA     90001005377
3119453855B156   KENYATTA      CONNORS                     AR     90005725385
3119455312B87B   CELIA         ESPINOZA                    ID     42018345531
3119633662B871   BENNETT       BRAY                        ID     90010883366
3119653247B453   EDWARD        LITTLE                      SC     90014095324
31196A4865B393   BEVERLY       SEYMORE                     OR     44587040486
31197212A8B162   ANNA          DOUGAL                      UT     31092352120
3119725A451339   MELISSA       COOK                        OH     90011362504
3119737A136143   ANGELA        PENA                        TX     90001323701
3119746A991371   KYLE          WRIAHTSMAN                  KS     90012824609
3119757785B393   NICK          BARNES                      OR     90015165778
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31197A1592B835   AUTUMN        ROBINSON                    ID     42010250159
31197A24491232   RAY           HARRIS                      GA     90011600244
3119842987B639   TIFFANY       PARKER                      GA     90011644298
31198742972B76   CARLOS        ALVARADO                    CO     33040347429
31198A77947931   JAMIE         BOWEN                       AR     90011000779
3119914172B871   MEGAN         LINSENMANN                  ID     42096671417
31199918A5598B   CHRISTINA     GIBSON                      CA     90010209180
3119B647336143   SAVANNA       LOPEZ                       TX     73550416473
311B1234281642   CHRISTOPHER   CASSIDY                     MO     90007882342
311B1242191232   TERRENCE      MASON                       GA     90014382421
311B2A23941277   THAUNG        SHWE                        PA     90015120239
311B2AA642B87B   KURTIS        KNIGHT                      ID     42048080064
311B33A417B471   TANDRALA      HOOD                        NC     90011033041
311B3493372496   TARA          BROWN                       PA     90014834933
311B363777B639   TYRONE        SAUNDERS                    GA     90009686377
311B36A577B449   IRIS          BOJORQUEZ                   NC     90012086057
311B4861191232   LAURA         BULLOCH                     GA     90014728611
311B498A391371   JOSHUA        WISE                        KS     90014319803
311B4A95255949   RODNEY        GARDENER                    CA     49006580952
311B5154151369   MATT          LOONEY                      OH     66092641541
311B517A861925   IRENE         CASTRO                      CA     90006521708
311B558695B393   JOE           LUKER                       OR     90014035869
311B5824A7B492   SAUL          QUIROZ                      NC     90013838240
311B59A2191537   CRUS          MONTOYA                     TX     90013759021
311B5A7268B16B   JEREMY        OLIVA                       UT     90015080726
311B61A837753B   TAMARA        HESS                        NV     43066461083
311B6697491584   LUIS          LOM                         TX     90012176974
311B692114B943   DELON         BLEDSOE                     TX     90014849211
311B7586431424   MICHELLE      ASHLEY                      MO     90014885864
311B77A8191584   GERARDO       RAMIREZ                     TX     75001747081
311B8341391584   BLANCA        PERALES                     TX     90012753413
311B83A4685951   PAUL          RHODES                      KY     90012903046
311B85A457753B   LACEY         DAVIS                       NV     90015025045
311B8717972496   NICKIE        WHIPKEY                     PA     90010057179
311B878262B93B   CRESCENCIO    TORREZ                      CA     90009267826
311B885352B87B   KACY          REYNOLDS                    ID     42084788535
311B887615B52B   GABRIELE      ARAGON                      NM     35037598761
311B894715B93B   LISA          MADSON                      WA     90014039471
311B939A45B156   BARBARA       NELSON                      AR     23067893904
311B9967455949   ABEL          AVILA                       CA     49016309674
311BB183877544   KARI          CLEMENTS                    NV     90000661838
3121182657B639   MICHAEL       MAGANA                      GA     90014238265
31212432A8B16B   MARK          BAPTISTE                    UT     90009624320
3121248342B93B   KODY          MCNAIL                      CA     90015554834
3121373A772496   ROBERT        MILLER                      PA     90013697307
3121447514B225   JOYCE         MILLER                      NE     90001594751
312146A3155921   ROBERT        LOPEZ                       CA     90002686031
3121497114124B   ASHLEY        MESSINA                     PA     90011839711
3121598264B943   REYNA         BAUTISTA                    TX     90014449826
3121611412B87B   RUSSEL        MASSEY                      ID     90012231141
3121628282B87B   THOMAS        PENA                        ID     90014462828
3121651562B93B   LUIS          GARCIA                      CA     90009305156
3121696557B471   TANGY         REID                        NC     90012289655
3121735575598B   GLADIS        TAPIA                       CA     90007903557
31217462636B77   ASHLEY        BEDDOE                      OR     90006774626
3121752A981642   LAURA         CRABTREE                    KS     90004025209
3121785845598B   LEONEL        HERNANDEZ                   CA     90012348584
312188A845B156   AURORA        BLAKE                       AR     23083838084
31218958A7B43B   PHAT          HAWKINS                     NC     90005779580
31218A84491584   ALFONSO       RODRIGUEZ                   TX     75092490844
3121B18A655972   ALAN          PACHECO                     CA     90013511806
3121B196785835   COLBY         MICHAEL                     CA     46046401967
3121B2A584B943   LANCE         GANS                        TX     90013032058
3121B2A8731424   PAYGO         IVR ACTIVATION              MO     90013422087
3121B38515B393   RICHARD       MINNICK                     OR     90011503851
312211A217B449   AMANDA        SMITH                       NC     90014271021
3122127712B87B   JONI          FISHER                      ID     42090432771
3122146917B492   TIA           JONES                       NC     11043564691
31221A13493744   MICHAEL       ABNEY                       OH     64500880134
3122328524B943   CHRISTA       BALEY                       TX     90015052852
3122335955B52B   SARAH         MOORE                       NM     90015153595
3122496A34B943   PEGGY         JONES                       TX     76572599603
3122514A65B393   MELINDA       BAKER                       OR     44543471406
3122544817B449   BRENDA        VAZQUEZ                     NC     90012874481
31225A82391371   CANDY         WILLIAMS                    KS     90000850823
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3122761145B281   TARA         DAVIS                        KY     68096496114
3122833485B156   IDA          MURPHY                       AR     23000483348
3122838987B449   CASSANDRA    LEACH                        NC     11047443898
31228AA552B87B   DELEON       TERESA                       ID     90010120055
312296A243B352   RUBEN        GARCIA                       CO     90007646024
312297AA67B639   VANIA        MOORE                        GA     90003437006
31229A37141285   JAMES        WOODSON                      PA     51029080371
31229AA854124B   JAMEY        WAUGH                        PA     90002390085
3122B12225B393   MARCELL      GARCIA                       OR     90014831222
3122B576936143   TOMAS        GARCIA                       TX     90014285769
3122B91A97B639   MERCEHELL    CUNNINGHAM                   GA     90014239109
3122BA78951339   WHITNEY      PRITCHARD                    OH     90009180789
3123117754B954   MELISSA      DIXON                        TX     90005971775
3123128332B835   GABRIELLE    PEREZ                        ID     90005752833
3123212A791584   MIRANDA      MANUEL                       TX     75084121207
31232663A5B393   AGUSTIN      VAZQUEZ                      OR     90010016630
31232731848B55   NIKKI        SMITH                        AZ     90014017318
3123354457B492   LINDA        WHITEMAN                     NC     90014455445
3123356632B87B   ISRAEL       REYES                        ID     90015105663
3123391314B281   ANNETTE      BROWN                        NE     27062399131
3123472174B943   WILFRED      LEDAY                        TX     90011567217
3123485285B393   YADIRA       DIAZ                         OR     44511128528
31234928472B76   JENNIFER     KOPPHANSON                   CO     90002059284
312353A887753B   GLENNA       WEST                         NV     43080093088
31235677A2B93B   NICHOLAS     ENERO                        CA     45088956770
312356A4784368   CESAR        CANALES                      SC     90014836047
3123587448B16B   DANIEL       CADENA                       UT     90010458744
3123641794B281   LAXMAN       DAHAL                        NE     90008644179
31236A9589125B   JERON        CONYERS                      GA     90012740958
31237356572B76   ACTS         RESOURCE CENTER              CO     90013903565
3123737345135B   CELESTINE    FRIERSON                     OH     90005433734
3123746882B835   AMANDA       SMIT                         ID     90001614688
3123764A95598B   AIOTEST1     DONOTTOUCH                   CA     90015116409
3123797AA41277   LEANDREW     MULDROW                      PA     51034079700
3123841635598B   CRYSTAL      GOMEZ                        CA     90012954163
312384A152B87B   KIMBERLY     ARCHABAL                     ID     90003374015
3123864A95598B   AIOTEST1     DONOTTOUCH                   CA     90015116409
312386A1641277   MANDY        SAVAGE                       PA     90007586016
31238779A7753B   RICARDO      HERRERA                      NV     43030997790
3123912946B241   GEORGE       WICK                         AZ     90013151294
31239399A7B639   RODRIGO      LOPEZ                        GA     90011653990
3123992647B43B   TERRENCE     JAREMKO                      SC     11026129264
3123B627191371   MIKE         MORGAN                       KS     90011156271
3124247797B471   SUSANA       SAUCEDO                      NC     90014434779
31242A4455B593   RENEE        SHERFY                       NM     90001010445
31243115A5B281   CONNIE       RUSSELL                      KY     90011651150
31243A8997B639   TRAKETA      MOSES                        GA     90014240899
31244A61184594   JESSICA      PALMATIER                    NY     90014540611
31245183A5B529   JOE          GARCIA                       NM     90012601830
3124521368B162   ERIC         TAYLOR                       UT     31048352136
31245583A72496   SHERISE      COLLINS                      PA     51002715830
3124558667B432   CHRISTY      MARROQUIN                    NC     90013355866
31245A35636143   JOE          TIJERINA                     TX     90014650356
31245A81291584   ESMERALDA    LOZANO                       TX     90012400812
31245A81654165   CAITLIN      CANTER                       OR     90014070816
31246119A7B471   HAWANII      FUNDERBURKE                  NC     90013401190
312461A155B393   ANN          MURRELL                      OR     44514241015
31246214A84368   SAMANTHA     DUPONT                       SC     90003592140
3124689A491232   KEVIN        FALLIN                       GA     90000488904
3124698247B492   WILLIAM      BREST                        NC     90013859824
31246A57431458   SONYA        WILLIAMS                     MO     90009090574
312471A5972B76   MARTHA       PACHECO                      CO     33098231059
3124764A47B639   SHERITA      THOMAS                       GA     15075456404
3124779217B471   AMY          HONEYCUTT                    NC     90013757921
31247893A91232   NICOLE       SHARP                        SC     90003968930
3124835897B43B   TRESCHA      MCILWAINE                    NC     90004623589
3124877152B871   CHARLENE     HOWARD                       ID     42009167715
312489A2A91959   BEATRICE     BOWMAN                       NC     18005139020
3124915757B639   CHARMIENE    CARR                         GA     90015221575
31249871998B23   MICHAEL      GARDNER                      NC     90009658719
3124988A377544   EMMA         FOUVALE                      NV     90015338803
3124B17A641277   JHON         ROCK                         PA     90014131706
3124B26727B471   DAMION       DAVIS                        NC     11019832672
3124B429936143   ROSIE        QUINTANILLA                  TX     90004674299
3124B822991232   RASHEEDA     HUNTER                       GA     90014578229
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3124B934391584   SYLVIA       GALLEGOS                     TX     90008609343
3125127927B639   JOAN         MOORE                        GA     15088992792
312515A2A84368   JONATHAN     SANCHEZ                      SC     90014855020
3125199978B16B   ROBERTO      CASANOVA                     UT     90014179997
3125288385B52B   SANDRA       CASTILLO                     NM     90003188838
312528A3884368   DENA         RAULERSON                    SC     90014858038
31252A2657753B   ERIC         WINCHESTER                   NV     90010270265
31252A56241277   MELODY       VESCIO                       PA     51072330562
31252A63A41258   DARLENE      MELLOTT                      PA     51087080630
312532A1454165   FRANK        UHL                          OR     90014442014
3125336A57B639   CRYSTAL      DOZIER                       GA     90014473605
3125346A65B281   NORMA        MARTIN                       KY     90010474606
3125429772B93B   SHERIKA      THOMAS                       CA     90015512977
3125448268B16B   ALYSON       PETERSEN                     UT     31039324826
31255436A7B449   BECKY        CEPHAS                       NC     90010954360
312555A944B281   RICHARD      HENNINGS                     NE     90000295094
3125565592B87B   JAZMINE      HOWARD                       ID     90011186559
3125574315B52B   ESTELA       DELGADO                      NM     35080037431
31256449A7B449   JOAQUIN      ORTEGA-CANELA                NC     90012874490
3125649538B16B   SUNNY        TLVAR                        UT     90014414953
3125688A48B162   DANNY        GRAFF                        UT     31034818804
31256A43354165   JOHN         KNOWLES                      OR     90013990433
3125771A584368   MARCOS       HERNANDEZ MORALES            SC     90003317105
3125815342B835   BRENT        WALLER                       ID     90013931534
312589A4672496   ANDREA       OHLER                        PA     90013699046
3125921698B16B   TRACY        HARDY                        UT     90007602169
312597A8641285   ANTHONEY     HARTMAN                      PA     90015187086
31259A5212B835   CHERI        HELMICK                      ID     42003450521
3125B2A1551339   DANNY        CRONAN                       OH     66029902015
3125B337A72455   ALEXIS       KUHN                         PA     51029503370
3125B718641285   JEREMY       SONNER                       PA     90014777186
3125B898754165   MELISSA      MARINEZ                      OR     90011438987
3125B96665B393   ALEX         HAINES                       OR     90013459666
3126142134B943   EDRICK       HARRISON                     TX     90010954213
3126149414B281   JOSE         MORALES                      NE     90014664941
3126169717B449   SHANNON      YOUNG                        NC     90013836971
3126216A83B352   JOHN         ZAYAC                        CO     33046721608
3126239377B449   JANINE       MERAZ                        NC     90014173937
3126319A491584   JANETH G     RIVERA                       TX     90008251904
3126359124B943   ALEXIA       NED                          TX     90011775912
31264475172B76   MULUMEBET    GEBREMESKEL                  CO     33002214751
31264A33947931   THOMAS       BROWN                        AR     90010750339
3126542952B835   KODET        SIBEIYANDE                   ID     90006924295
312656A8877544   ELDA         DELAPUENTE                   NV     43080996088
3126579132B271   CHARLENE     GHEE                         DC     90004987913
3126643247753B   STEVEN       KISS                         NV     43014244324
312669A765B393   JACOB        ROSALES                      OR     90013939076
31267826A8B16B   CHAYO        REMO                         UT     90002918260
31268449A7B449   JOAQUIN      ORTEGA-CANELA                NC     90012874490
3126864982B871   JOHN V       BELVEAL                      ID     42062156498
3126943972B87B   TERESA       LIZBY                        ID     90013724397
3126945845B393   RAEMI        CARTER                       OR     90013544584
31269643A31639   MICHELLE     DEHAVEN                      KS     90008616430
3126B63892B871   ERICA        MORENO                       ID     42008396389
3126B897557B79   ALEXIS       MCCLURE                      PA     90013888975
3126B8A634B544   ELIZABETH    LUSTER                       OK     90010888063
3126B941691371   JULIO        OLGAZA                       KS     90013579416
3127114822B93B   DANIELLE     EVANS                        CA     90003041482
312711A7954165   JONATHON     BAILEY                       OR     90007431079
3127145315B281   REGINALD     PETTY                        KY     68095764531
3127186922B871   SERGIO       CHAVEZ-TORRES                ID     42057858692
31271A8557B639   ERICA        JOHNSON                      GA     90011660855
3127212322B87B   TOBY         BROWN                        ID     42046941232
3127225572B835   NATE         MARTIN                       ID     90014012557
31272A6627753B   JASON        SELPH                        NV     90010960662
31272A81272496   MICHAEL      FIRESTONE                    PA     90009430812
3127319832B271   PAUL         FLIPPIN                      DC     90004091983
3127343364B281   ALICIA       SEXTON                       NE     27056944336
3127357152B871   JULIANA      TOLVES                       ID     42097395715
31273843A77544   PAUL V       HINOJOSA                     NV     90000668430
3127397442B835   LAURA        RODRIGUEZ                    ID     42025629744
3127422A37753B   ANGEL        ZAVALA                       NV     90013732203
31274724A77544   DANIEL       ELLIOTT                      NV     43042717240
31274813A91232   GENEVA       PATTERSON                    GA     90009728130
3127538764124B   JULIUS       BURCH                        PA     51072543876
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3127556367B471   LUIS         VASQUEZ                      NC     90012475636
3127561117B639   MARKIS       JOHNSON SR                   GA     90014306111
31276145A2B835   NICOLE       PATTEN                       ID     90015391450
31276A89191831   LUCRETIA     VERNER                       OK     90003460891
3127789A755972   CARLOS       GONZALEZ                     CA     90014998907
3127796A777544   PENNY        FULLER                       NV     90015269607
3127813244B943   JAY ALLEN    VIDRINE                      TX     76527101324
3127843542B835   REHANA       MOHAMMAD                     ID     90006444354
3127915377B492   KALA         PATTON                       NC     90013551537
31279372A61931   JESUS        MATEO                        CA     90000293720
3127941945B393   ALICIA       MORALES                      OR     44591494194
312794A637B43B   JIM          HORN                         NC     90006034063
3127966A277544   JOSE         FLORES                       NV     90004246602
3127B19387B492   ABERLARDO    PENALOZA                     NC     90006631938
3127B294A91831   LINDA        FRANKS                       OK     90010402940
3127B352855972   DAMARIS      HERNANDEZ                    CA     90014843528
3127B574172496   RUSSELL      MILLER                       PA     90012505741
3127B668284368   CLEIDE       LONG                         SC     90003336682
3127B86935B52B   JIMMY        MOLINA                       NM     90010038693
3127B893547931   KAREN        SANCHEZ                      AR     90013188935
31281715A7B471   MARA         MARTINEZ                     NC     90013577150
31281A2AA31657   ELVIN        ALVAREZ                      KS     90009060200
3128257AA7B639   TAWANA       WELLS                        GA     90014255700
3128346365B156   SADIE        CLOOS                        AR     90000254636
31283494957B79   MARIA        SCRUGGS                      PA     90014974949
312834AA82B835   CARL         BAILEY                       ID     90012914008
3128448512B93B   DEBORAH      JONESCOATES                  CA     90013274851
3128487142B835   JENNIE       TIMMONS                      ID     90000628714
3128554458B16B   ANNE         BAMBROUGH                    UT     90012705445
312856A2191831   CLAUDIA      MORALES-SALINAS              OK     90012776021
3128645A955949   GEORANNY     MONTONO                      CA     90015144509
3128672567B43B   PERRY        PRICE                        NC     11011757256
31286A1714B943   DUANE        GOBERT                       TX     76504400171
31286AA5791232   LINDA        JOHNSON                      GA     14556070057
3128766684124B   AMENAH       MOSES                        PA     90004966668
3128769A791584   AMY          PILLOW                       TX     90013946907
31287AA765598B   JULIAN       FLORES                       CA     49017720076
3128919727B639   ANJINETTE    WILLIAMS                     GA     90014251972
312893AA151339   MISTI        CARTER                       OH     90014923001
312899A7354165   ASHLEY       HARPER                       OR     90009409073
3128B358184368   PHIL         JONES                        SC     14594843581
3128B495691232   SHENICE      JENKIS                       SC     90013934956
3128B85285B281   JOANNA       LANGLEY                      KY     68040698528
3128BAA5A4B281   ANGEL        GARCIA VARGAS                NE     90012760050
3129124917B449   CASANDRA     SMITH                        NC     90013172491
3129136247B471   RENE         ORELLANA                     NC     90014003624
3129164335B52B   MICHAEL      GONZALES                     NM     90013466433
3129174732B93B   SANTOS       NIEVES                       CA     90014057473
31291A2972B835   KARLA        GARCIA                       ID     90000610297
3129226197B639   BENJAMIN     GARCIA                       GA     90014252619
31292A21177544   DANIELLE     REWIS                        NV     90014760211
31293917872B76   CACEY        ROBINSON                     CO     90002879178
31293A9A551339   CASSADY      MOORE                        OH     90014930905
3129425815B393   MARIA        HUIZAR                       OR     44560382581
3129466A95B385   SHANNON      WHITLOCK                     OR     90007756609
3129498495598B   JASON        TREVINO                      CA     90014069849
3129554387B43B   ROBENSON     CHRISTOPHER                  NC     11017965438
3129559595137B   CASSANDRA    PETERSON                     OH     90012525959
3129617367B449   KRYSTINA     HAIRSTON                     NC     90011461736
3129618348B166   JOSHUA       LAMBSON                      UT     90001491834
312961A7291831   SANDRA       QUIROZ                       OK     90008011072
3129639A82B835   LIZBETH      REYNOSO                      ID     42046643908
3129699657B43B   ANSLEM       NWABUISI                     NC     11014239965
31296A68461993   JENNIE       AYERSMAN                     CA     90002830684
3129743295598B   KEYLAN       GALLOWAY                     CA     49087994329
3129743765B52B   MARNIE       DERDEN                       NM     90012114376
31297619A7B492   DARYAN       CHILDERS                     NC     90013846190
31297824A2B871   MCURDY       COLIN                        ID     90008938240
3129792722B835   CORTNEY      ANDREWS                      ID     90013579272
3129797838B16B   SHALLE       SIMMONS                      UT     90013119783
31297A6A151339   FRANK        BOTOS                        OH     90013910601
31298A6952B835   MELODY       LANE                         ID     90012490695
312998A6A55972   KARRI        MERRITE                      CA     90011798060
31299A94A9375B   EBONY        FARMER                       OH     90009870940
3129B449372B63   DEBRA        MENDOZA                      CO     90001144493
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3129B896191584   ROSARIO        AGUIRRE                    TX     90006798961
3129BA9A955962   JORGE          NINO                       CA     90003090909
312B1125441285   SHAWNA         FULTON                     PA     51096121254
312B1662491584   HERMILA        DELGADO                    TX     90013946624
312B1857651578   MABEL          ZIATY                      IA     90015398576
312B18A9351339   STEVE          GEBHARDT                   OH     66040508093
312B1947431424   LINETH         ARAUZ                      MO     90005229474
312B19A554B281   TAMI           WRAY                       NE     90006259055
312B1A6475598B   CHERICE        ASHMORE                    CA     90013110647
312B236117B449   PHYLLIS        BRADLEY                    NC     11036223611
312B2373491232   MEGAN          BUCHANAN                   GA     90014873734
312B241A34124B   JACOB          GILLON                     PA     51047744103
312B2462791584   JULIA          MORA                       TX     75044484627
312B259A131424   JOHN           NEELY                      MO     90012775901
312B2616447931   TREVOR         LEMMOND                    AR     90011906164
312B327A498B25   STARLA         SPRY                       NC     90012442704
312B345395598B   CATY           HOEUNGPASEUTH              CA     90014304539
312B4452A72496   EILEEN         HERBERT                    PA     90006494520
312B464834B943   LUZ            FIGUEROA                   TX     90008766483
312B492988B16B   CRAIG          SIMPSON                    UT     31001849298
312B52A8654165   CASSANDRA      BIRDSELL                   OR     90001012086
312B5487A91232   ALICIA         ANTHONY                    GA     90011354870
312B5527551339   DAVID          TIBBS                      OH     90004055275
312B585217B492   ERIC           BERRYHILL                  NC     11054958521
312B6673A72496   NICOLE         STOKES                     PA     51021476730
312B698A147931   MARIA          RICHARD                    AR     25083429801
312B733815598B   ESTHER         OCHOA                      CA     90013653381
312B7512591371   JOHNNA         NIMMO                      KS     90006785125
312B7593384368   ANICETO        LOEZA DELGADO              SC     90014835933
312B775112B835   DAISY          ALVAREZ                    ID     42025387511
312B7886691831   TONYA          BAUGH                      OK     90013188866
312B7A1767753B   SILVIA         MORALES-CHAVEZ             NV     90015150176
312B81AA65598B   MACLOVIO       BONILLA                    CA     90013311006
312B8299951339   SHAUNA         MONK                       OH     90014922999
312B866A17B449   TROY           CAMBELL                    NC     11079056601
312B8671691584   ALEJANDRA      MACHUCA                    TX     90011246716
312B867A236143   ROBERT         DECKARD                    TX     90012026702
312B915127B639   MELISA         MACKEY                     GA     90012151512
312B9264491232   LENA           RUTH                       GA     90013072644
312B9317257B79   RACHEL         HESS                       PA     90014593172
312B974637B639   TONY           GRIFFIN                    GA     90011647463
312B9761741285   BRENDA         STAR                       PA     51082247617
312B976674B943   EDUARDO        CEDILLO                    TX     90015027667
312B98AA391525   FRANCIS        BLUMENTHAL                 TX     90004008003
312BB265836143   ABILENE        LONG                       TX     90013782658
312BB2A415B393   JESSICA        BROOKSHER                  OR     90001872041
31311421A2B87B   SAIED          ALZHAIRI                   ID     42062144210
3131194825B393   DAVID          JAMES                      OR     90013939482
31311A82141277   ADAM           CINNA                      PA     51094820821
3131224922B87B   PAYGO          IVR ACTIVATION             ID     90012592492
3131246747B471   HEATHER        CULLINGFORD                NC     11047134674
3131267612B87B   CESAR          CHAVEZ                     ID     90013986761
3131329515598B   JAY            BLAKE                      CA     49022262951
31313759136B77   JENISE         BRAULT                     OR     44537447591
3131439815B281   KELSEY         WRIGHT                     KY     68050903981
313144AA67B471   EMILY          DIXOM                      NC     90011034006
3131453347B492   MARANDA        THOMPSON                   NC     90014975334
31314726776B21   GASPAR         RAMIREZ                    CA     90005507267
3131497617B471   SHANNON        HARRIS                     NC     90014609761
3131559387B492   KELLE          TALLMAN                    NC     90015085938
3131596A836143   BELINDA        BARTAY                     TX     90014269608
3131598A841277   DONNA          WILSON                     PA     51080779808
31315A84891584   JUAN ENRIQUE   SILLAS                     TX     90014090848
3131614677B639   KARRIS         FRAZIER                    GA     90008731467
313162A1941251   DENISE         MORRISON                   PA     90005942019
31316311A2B835   JOSE           AVILA                      ID     90002833110
313167A8A77544   RUBICELLA      VALDES                     NV     90001507080
3131695115B393   CHARITY        WILLIAMS                   OR     90013939511
31316A39591584   LEO            MANRIQUEZ                  TX     90011540395
31317292A4B281   CHRISTOPHER    HEMBERTT                   NE     90014012920
31317351572B76   PAMELA         SCRIVEN                    CO     90002003515
3131823632B87B   ENRIQUE        ZARATE                     ID     90012152363
3131943122B87B   TERI           RHODES                     ID     90013584312
31319AA8976B45   KENNETH        JOSEPH                     CA     46055030089
3131B65935598B   JERRY          MARTIN                     CA     90013966593
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3131B677184378   LUIS         ZARAZAU                      SC     90007296771
3132128A255949   WILLIAM      CARTER                       CA     49030232802
3132165A991831   CRISTINA     GUFFEY                       OK     21079486509
31321678A2B93B   MANUEL       PADILLA                      CA     90013056780
3132177997B471   APRIL        COFFEY                       NC     90014767799
3132193A651369   MIKAYLA      OLDHAM                       OH     90013229306
31321A36272496   PAMELA       JOHNSON                      PA     90006880362
31321A93491232   WILLIE       REYNOLDS                     GA     14590160934
31321AA5A51369   CINDERALLA   TOLEDO                       OH     90013210050
31322621A91584   JAVIER       CAMACHO                      TX     90005596210
3132323232B93B   CLAUDIA      MIRANDA                      CA     45075792323
3132369862B835   STEVE        DAVID                        ID     90001996986
3132392A791232   CLIATON      DANIELS                      GA     90010479207
31324346A4B281   JOANNE       CHIWENGO                     NE     27033163460
313251A777B384   YANETH       ALVARADO                     VA     81017211077
313258A868B16B   GAIL         FORTE                        UT     31085318086
3132637155B393   DAN          WATSON                       OR     44556863715
3132736272B93B   RICK         MARSHALL                     CA     90015303627
3132786348B16B   MARINO       LOPEZ                        UT     90009818634
3132789427B639   RANDY        CARLSON                      GA     90015028942
3132836268B16B   JULEE        HOKE                         UT     90008573626
3132838224B943   MICHAEL      MAYFIELD                     TX     90002213822
3132887A441285   JOHN         MCGRATH                      PA     51047348704
31328A4422B281   SIERRA       CUNNINGHAM                   DC     90008290442
3132942A547931   CARLOS       UMANA                        AR     90006824205
3132969554124B   RANDIE       TRUMP                        PA     90012216955
3132B35145598B   VANESSA      OSEGUEDA                     CA     90013653514
3132B3A6591371   DAVID        BERKLEY                      KS     90015533065
3133258237B471   MYISHA       BURKETT                      NC     90013485823
3133275747B639   NANCY        SANKS                        GA     90014307574
3133299218B16B   LASHELL      GANDARA                      UT     31001279921
3133329988B16B   DEIDRE       FERNANDEZ                    UT     90011132998
3133346755B393   NEHIMA       CHAKISSO                     OR     44505734675
31334313A8B16B   JULIE        BACCA                        UT     90012873130
31334639A31625   TOMARA       TREGO                        KS     90006606390
31335267698B21   DAVID        REYES                        NC     90006892676
313352A3777544   ANGEL        MEZA                         NV     43095652037
3133644898B162   RYAN         FORD                         UT     90010584489
3133683817B471   RENE         DIAZ                         NC     11009998381
3133786592B871   MARIA        RUIZ                         ID     42003908659
31337A62141258   DEANNA       HUNT                         PA     90013740621
31338263A84368   DARWIL       PRADA                        SC     90014182630
3133882158B16B   JUDE         CARUSO                       UT     31076228215
31338852572B76   CHRIS        STRATTON                     CO     90000448525
31339215A41258   BETH         TERRANOVA                    PA     51008092150
3133963292B93B   CECILIA      LOPEZ                        CA     45092146329
3133B116277544   CARMEN       HERNANDEZ                    NV     90009481162
3133B31162B871   NIYER        ACOSTA DIAZ                  ID     42038833116
3133B67485B281   TASHA        WHITE                        KY     90011566748
3133B67648B16B   AUSTYN       MILLER                       UT     90012756764
3133B693551369   JOSH         SMITH                        OH     90014846935
3133BA69572496   RUTH         MURPHY                       PA     90014030695
3134129718B162   HECTOR       BELTRAN                      UT     31014842971
3134188327B471   JESSICA      JOHNSON                      NC     11090638832
31341A98636143   ALEXANDRA    HALL                         TX     90013880986
3134283A191232   YVETTE       THOMAS                       GA     90010278301
3134299747737B   CHEILIA      EVANS                        IL     90012959974
313434A497B492   MARICA       MOSS                         NC     90013424049
31345367A36143   DESIREE      VALENZUELA                   TX     90014853670
313462A5777338   TIFFANY      EDWARDS                      IL     90011602057
313463A367B471   MECHUL       YELDELL                      NC     11051983036
3134665592B835   TAMILYNN     GARLOCK                      ID     90001056559
3134666492B93B   BRIAN        LONG                         CA     90001366649
3134699A385944   PATRICK      BESSLER                      OH     66042279903
3134739778B16B   WENDY        SMITH                        UT     90008673977
3134761577753B   OZZIE        VERNON                       NV     90012556157
31347A84351339   ANDREINA     ARIAS                        OH     90012390843
3134831287B639   RICHARD      WAGES                        GA     15074383128
3134844147B471   LATRINA      ANTLEY                       NC     90011034414
3134954997B471   CHRISTIAN    MENDEZ LOPEZ                 NC     90014865499
3134967768B16B   DELORES      BITTON                       UT     90013436776
313496A477B492   SHAQUEA      WHITE                        NC     90014526047
31349844A91831   KELLEY       KOHLER                       OK     90013638440
31349AA2254165   TAWSHA       MCKINNEY                     OR     47052530022
3134B198191831   JOIAN        CRAWFORD                     OK     90001311981
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31351313A8B16B   JULIE           BACCA                     UT     90012873130
31351A7457B851   AUBREY          GRAY                      IL     90015410745
3135253498B821   MATTHEW         PRESILLAS                 HI     90015055349
313528A447B639   ANNETTE         THOMAS                    GA     90014308044
313532A835B52B   ANTONIO         CHAVEZ AMAYA              NM     35037602083
3135342672B281   CORNELIUS       WORLEY                    DC     90010554267
313535A652B835   WALTER          WESLEY                    ID     90014115065
313538A727B471   TIERRA          CAMP                      NC     90011268072
3135469688B16B   SERENA          RODRIGUEZ                 UT     90013346968
3135491A672B76   TINIKA          ROBERTS                   CO     90004269106
31354A9A191232   ANN             SELERS                    GA     90014830901
3135561544B281   GLORIA          HERNANDEZ                 NE     90008896154
3135596332B835   KAREN           ALLEN                     ID     42095749633
3135684515B281   MARTIN          GUTIERREZ                 KY     90009258451
31356956A2B835   JEAN            HOGLE                     ID     42030499560
313573A5455972   VIRGINIA        MONTOYA                   CA     48075883054
3135787A991584   IVONNE          DE LUNA                   TX     90010968709
31357A5725B393   ANDRES JOVAN    CASTRO GOMEZ              OR     90007030572
31357A6852B871   BONNIE          LITTLW                    ID     90007640685
3135818185B393   IRON            JONES                     OR     90007691818
3135859A54B281   JANARD          LEWIS                     NE     27031995905
3135874A754165   ANTHONY         CIOTTI                    OR     90011427407
3135879842B93B   JAMAL           FORD                      CA     90013447984
313589A855B52B   RICHARD         CANDELARIA                NM     90001499085
313593A2A91584   ISELA           INIGUEZ                   TX     75020983020
313593A8484368   DAVIDA          WILLIAMS                  SC     90011213084
3135969255B393   JODY            LEDOUX                    OR     90010016925
3135B549691359   ANTONIO         LOVE                      KS     90002485496
3135B635141277   AIMEE           WINKLER                   PA     90013606351
3135B749281653   ROBERT          WILLIAMS                  MO     29002777492
3135B97974124B   WALTER          RAMOS                     PA     90009789797
3136151615B393   REBECCA         GILBERTSON                OR     44515205161
3136169A336143   JULIO           BALADEZ                   TX     90011146903
3136185137B471   SHEENA          BEACH                     NC     11003588513
3136191784B943   HANNAH          BODDEN                    TX     76527799178
31361986372B76   ARIZBETH        TELLES                    CO     33091519863
313619A955B52B   TONY            USHER                     NM     35001589095
3136212452B871   MANUEL          GARCIA                    ID     90015481245
31362216A4B281   MARK            BAKER                     IA     27057892160
3136278638B16B   HANNON          STEVE                     UT     90008157863
3136331A75598B   AUDRE           LEWIS                     CA     90014793107
31363A11A7B471   ASHLEY          HARRIS                    NC     90008850110
3136419A25B281   JOSEPH          THOMAS                    KY     68090311902
31364218672B72   YADIRA          JUAREZ                    CO     90013662186
3136513A14B943   LUIS            GARNICA                   TX     90011831301
31365182A36B77   DAVID           ALMAZAN                   WA     90014071820
313661A367B639   LATASHA         QUARTERMAN                GA     90014311036
3136719635B52B   PATRICIA        DELATRINIDA               NM     35017661963
3136723698B16B   ELVIS           DUPREE                    UT     90011992369
31367468957B79   JAMES           KEARNS                    PA     90014274689
313675AA784368   JULIO           HERNANDEZ                 SC     90014355007
31367A4117753B   CYNTHIA         PRICE                     NV     90009250411
3136857417753B   MARCELA         DE LA TORRE               NV     90014005741
31368A2197B43B   JESSICA R       HEATH                     NC     11013370219
31369165A7B492   MASHONDE        FOX                       NC     90009821650
3136925725B281   WILLIAM         FUGATE                    KY     68051042572
3136932557B639   TRINNEY         FLAKES                    GA     90014613255
31369A79741277   CHRIS           GEISLER                   PA     90007560797
3136B12354124B   LEA             EDMONDS                   PA     90010521235
3136B135136143   ROMERO          JUAREZ                    TX     90013591351
3136B394541285   ERICK           CHISOM                    PA     90011923945
3136B547591831   LILLIE          FAULK                     OK     21005845475
3136B872A91371   MARIBEL         RODRIGUEZ                 KS     90001768720
313712A3291831   ROBERT          WALKER                    OK     90002992032
3137139A891232   JAMELLE         JACKSON                   GA     90008313908
31371459A72496   KRIS            YOUNKIN                   PA     51036964590
3137171122B87B   MOLLIE          ANTONNACCHI               ID     42064777112
31371943A91543   DENISE          GOMEZ                     TX     90008629430
313724A1A55972   ANTONIO         PARRA                     CA     90014774010
313729A3191371   ARMANDO         GUITIERREZ                KS     90008499031
313732A2936143   JOE             AGUAYO                    TX     90008202029
313734A594B281   JULIO TEXIDOR   RAMOS                     NE     90013564059
31373775A55949   ALEJANDRO       REYES                     CA     90014717750
3137392295598B   ROBERTO         DE LEON                   CA     90013119229
3137397745B52B   KARLA           TALAMANTES MARTINEZ       NM     90013319774
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31373A86941285   SELENA       EANNETTE                     PA     90012140869
3137425682B835   MIGUEL       LUNA                         ID     90012182568
313742A547753B   ROBERTS      LEE                          NV     43051132054
31375A22154165   DONAL        STOLL                        OR     47081840221
313792A8972B76   CALVIN       CUNNINGHAM                   CO     33013762089
3137965137B43B   TIA          HORTON                       NC     90004656513
3137B193155949   EVELYN       QUIROZ                       CA     49004061931
3137B279754165   LISA         SOSA                         OR     47004532797
3137B2A7577544   JUAN         LOPEZ                        NV     90010442075
3137BA35491584   MARIA        ROCHA                        TX     90006590354
3138182615B546   RICHARD      POUNDERS                     NM     90004308261
3138247A82B835   ZOILA        LUNA                         ID     90012934708
31382AA4141285   NANCY        NOYOLA                       PA     51093390041
313833A814124B   MILDRED      TYLER                        PA     51068573081
31383432A2B835   STEPHANIE    BENAO                        ID     90013984320
3138376568B16B   GABRIELA     SPIVEY                       UT     31052347656
31384941A8B16B   KARILYN      TAYLOR                       UT     90015259410
31384997A7B449   KING         DOOM                         NC     90013639970
3138568515B52B   JESSICA      TRUJILLO                     NM     35063616851
3138742A241277   DAWN         TAYLOR                       PA     90001914202
3138827495598B   VERONICA     V GARCIA                     CA     49091252749
313888A778B16B   EDDIE        GALLEGOS                     UT     31041528077
3138933257B471   CARLOS       OCHOA                        NC     90001033325
3138B233336143   DOMONIQUE    DAVENPORT                    TX     90013582333
3138B774155949   STEPHANIE    TABALDO                      CA     90014677741
3138B991591831   PAYGO        IVR ACTIVATION               OK     90014279915
3139116764B281   SONIA        MUNOZ-IRAHETA                NE     90010871676
31391AA735B52B   AMANDA       GARCIA                       NM     90009160073
313924A7791584   BEATRIZ      GARCIA                       TX     90012534077
3139258474B281   PATRICK      SHANNON                      NE     27034675847
3139317172B835   CHRISTINE    BARRIETUA                    ID     90002811717
3139317894B281   ANDREW       SMITH                        NE     27051061789
3139329765B52B   ANASTACIA    BARELA                       NM     90012832976
3139339932B835   TAMMY        ROBISON                      ID     90007843993
3139432362B835   REBECCA      MARTINEZ                     ID     90010273236
313945A583B35B   ANDREW       WAYNE TRIGG                  CO     33049755058
3139463A691371   MAYRA        JURADO                       KS     90010256306
31394A9972B871   JOHN P       AGUIRRE                      ID     90010870997
313951A5454165   AMIE         PATTISON                     OR     90012271054
3139551487B639   CHASTANEES   WARE                         GA     15089275148
31397A3255598B   BEATRICE     RAMOS                        CA     90007400325
31398274A51339   JAMES        BLACKFORD                    OH     90007522740
3139841984B943   ELIZABETH    RUIZ                         TX     90011844198
31398944A8B16B   DUSTIN       MILLER                       UT     90013959440
313989A525598B   ROSELY       ARREOLA                      CA     90001229052
3139913275598B   DAISY        ARELLANO                     CA     90010751327
3139927638B16B   WILLIAM      COOK                         UT     90002282763
313992A7854165   DAVID        FLEHARTY                     OR     90014832078
313992A9A5B52B   ANNE         STEPANOVIC                   NM     90012882090
31399686A7B492   TANAI        NIXON                        NC     90013506860
313997A8A55972   DAVID        GONZALEZ                     CA     48028407080
3139B667141285   GARY         BROWN                        PA     51048486671
3139B82A136143   RANDALL      WARD                         TX     90013698201
313B1453A2B93B   SAL          TAMKAL                       CA     90003414530
313B1457855949   REGINA       MIRELES                      CA     49037714578
313B1637591232   MARTELL      ROBINSON                     GA     90002116375
313B1A34A4B943   ISHIA        IRVINE                       TX     90009630340
313B2343684368   ERNESTINA    REYES                        SC     90004503436
313B235A961999   JESUS        GONZAZLEZ                    CA     90011043509
313B2863255972   GUADALUPE    PAZ                          CA     90011418632
313B354A291584   VERONICA     MIRAMONTES                   TX     75036605402
313B356A447931   RAQUEL       MORENO                       AR     25027855604
313B3817A72426   KELLEY       SHANNON                      PA     51098888170
313B397127B449   TRANSITO     SAVALA                       NC     90011909712
313B3A65891538   FELIZA D     GALINDO-INSURRIAGA           TX     75036200658
313B457874B943   KEITH        ZENO                         TX     90008825787
313B4659255972   ELIZABETH    MARTINEZ                     CA     90015266592
313B495658B16B   REBECCA      BITTON                       UT     90008129565
313B4A2667B449   LAURA        DOMINGUEZ ABRAHAM            NC     90013960266
313B59A1A7B449   ALEXXUS      CARR                         NC     90000209010
313B5A9394B943   RICKY        BAILEY                       TX     90005000939
313B6698791584   GERARDO      CHAVEZ                       TX     90013946987
313B6721251369   IMELDA       VELSQUEZ                     OH     90011367212
313B678A141258   LAMONT       JOHNS                        PA     90008207801
313B681222B871   THOMAS       FREINWALD                    ID     90014738122
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313B694212B93B   NAOMI           PULIDO                    CA     45003199421
313B7178792886   GVISEL          MARTINEZ                  AZ     90014721787
313B7218581653   TINA            FANTROY                   MO     29080332185
313B77A162B835   KELLI           GEATES                    ID     42041937016
313B7879291584   SASHA ANN       ANSELMAN                  TX     90015018792
313B811932B87B   STANLEY         COURVILLE                 ID     90010641193
313B8459972496   ROY             BLACK                     PA     51096034599
313B8723A9125B   TRENIA          BROWN                     GA     90010807230
313B8939877544   JOSE            PACHECO                   NV     90002749398
313B8A4154B281   PRICILA         FERGUSON                  NE     90006310415
313B9252651578   RANDALL         INGRAM                    IA     90014452526
313B959A197B21   JOSE            HERNANDEZ                 CO     90005425901
313B972A88B16B   SHARRON B       FOWLER                    UT     31008317208
313B9949284368   EDRA            ORTIZ                     SC     90010419492
313B9989191584   MAYELA          ANGEL                     TX     90007639891
313BB17A484368   ALISON          HAYNES                    SC     90004501704
313BB198A5B393   ANDRES          GOMEZ                     OR     44501031980
313BB297891881   NESTORE         LOPEZ                     OK     90011472978
313BB486136143   DEIDRA          WILLIAMS                  TX     90008794861
313BB4A7544B62   RICK            RUSH                      OH     90014394075
313BB572272B76   JOSE            GARCIA                    CO     90001665722
313BB871541285   MARK            NEMETH                    PA     51007648715
3141111834B281   TRACEY          MARSHALL                  NE     27030441183
3141117595B156   JORDAN          HAAS                      AR     23017221759
31411745A3B339   ANNETTE         MAXWELL                   CO     90008717450
3141185677B639   EZEQUIEL        CRUZ                      GA     90003848567
3141195488B162   MORTA           BORRELO                   UT     90006349548
31411A7745598B   ISAAC           YBARRA                    CA     90013030774
3141223942B93B   VIVIANA         AGUILERA                  CA     90015202394
31412591357B79   BARRY           SMITH                     PA     90015055913
3141262A84B281   NICOLE          INCONTRO                  NE     27049786208
3141283592B871   WHITNEY         SHAUGHNESSY               ID     90001428359
31412A7435B393   REY             MENDEZ REYES              OR     44515580743
3141338334B281   IRENE           ROSALES-SOTELO            NE     27095063833
31413A1A991584   EDUARDO         HERNANDEZ                 TX     75095870109
3141412A472B76   PABLO           MARTINEZ                  CO     33060871204
31414493A41285   CHARLES         COLLIER                   PA     51013994930
31414529A77544   JUAN            CASTENEDA                 NV     43072135290
3141459918B16B   ROBERT          BARNEY                    UT     31091135991
3141465828B162   TERENCE         NIELSEN                   UT     90014126582
314147A555598B   ANDREA          RICH                      CA     90011437055
3141514277B449   TWYLLA          MCHAIR                    NC     90010871427
31415323A31424   MICHAEL         WELCH                     MO     90014843230
3141548185B281   BUMARO          ROBLES                    KY     68084394818
3141552794B544   EDWIN           GONZALEZ                  OK     90013365279
3141572168B162   CARLOS          TORRES                    UT     90001787216
3141596655B393   JUSTINE         THIBEAU                   OR     44510999665
3141627497B492   SUSSY           RODRIGUEZ                 NC     90010762749
314167A3791584   MELISSA         CHAVEZ                    TX     90014687037
3141689AA84368   LUIS            ALMENDAREZ                SC     90005268900
3141693167B449   ANTHONY         GORDON                    NC     11073739316
3141777882B871   MARGARITA       GONZALEZ                  ID     90015497788
314188A9854165   PHIL            KUZNETOSV                 OR     90014928098
3141922524B943   TINA            BENTON                    TX     76569352252
3141925127B449   CARLOS          REMBENT                   NC     90012692512
314193A1151339   NATASHA         MOLSTAD                   OH     90014873011
3141959885B393   MICHAEL         CLARIZIO                  OR     90004075988
314198A235598B   SERGIO TINOCO   ALBINO                    CA     90004798023
31419A3232B835   SHEILA          SCHOFIELD                 ID     42088060323
3141B741591371   ARTHUR          EASERWOOD                 KS     90012397415
3141BA3245B156   CHRISSYE        ESKEW                     AR     23069870324
3141BA63A7B471   TAROD           RATLIFF                   NC     90014750630
3142199632B93B   MATHEW          GOSLING                   CA     45096689963
31421A12A8B162   JESSICA         SMITH                     UT     90012770120
314222A387B471   LONNIE          MITCHELL                  NC     90013192038
31423613A7B639   JESUS           RUIZ                      GA     90002466130
3142376242B93B   SERGIO          TORREZ                    CA     45039437624
3142386735598B   SABRINA         SERVANTES                 CA     90001278673
31423974A5B393   CHARLES         NANCE                     OR     90012389740
31423AA627753B   NATALIE         AQUINO                    NV     90013680062
3142432747753B   MARYLANDER      TALLEY                    NV     90011393274
31424738A8B162   MARIA           RODRIGUEZ                 UT     31049417380
3142483852B871   PU              AH                        ID     90011928385
3142521435B156   DOILE           BRADLEY                   AR     23043802143
3142571762B835   JORGE           RUIZ                      ID     90014707176
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3142623315598B   AIOTEST1     DONOTTOUCH                   CA     90015122331
31426668A91831   KATRINA      JOHNSON                      OK     90010466680
31426A12A72496   LARRY        SCOTT                        PA     90011190120
31426A35761559   FRANKITA     DAVIS                        TN     90008300357
314273A377B471   DANIEL       SALGADO                      NC     11076813037
31427456A41258   JESSICA      MORRIS                       PA     90011414560
314276A5977544   DANIEL       JULIAN                       NV     90014136059
3142899455B393   MARGARET     COOK                         OR     90013939945
3142992A141285   CARRIE       KADUCK                       PA     51074129201
3142B467677544   MIGUEL       CHAVEZ                       NV     90013854676
3142B68A17B359   ADAMA        KANU                         VA     81010686801
3143166A785933   LUCIA        PARKS                        KY     90006346607
31431A81691584   IRMA         CABRERA                      TX     90002560816
314333A427B492   BRANDY       WORLEY                       NC     90010333042
3143367365B281   JUAN         GOMES                        KY     68005716736
31433A44855972   SIRDEY       ISNA                         CA     48007960448
3143446997B449   MARCELLA     STEELE                       NC     90012874699
31434734A7B639   CAROLYN      WILLIAMS                     GA     90008387340
314351A345B281   LAURA        RIKER                        KY     90014631034
31435883A51339   AARON        WILDER                       OH     90013278830
31435928172B76   TOMI         WRIGHT                       CO     90002879281
31435A8A45B281   LAURA        RIKER                        KY     90010250804
3143619175B393   MEGAN        HANNER                       OR     90012081917
314362A875598B   JORGE        MORENO                       CA     90009692087
3143632222B93B   SARA         RODRIQUEZ                    CA     90014993222
3143729765B52B   ANASTACIA    BARELA                       NM     90012832976
3143744A12B93B   CHRISTOPHE   MCCOY                        CA     45053384401
3143754327B471   VINCENT      JONES                        NC     90011535432
3143786A754165   DONNA        GILLILAND                    OR     90011358607
31437A3978B16B   LORNA        CAZARES                      UT     90014600397
31437AA8277544   JESSE        OLIVERES                     NV     90015390082
3143815755B52B   JOLIE        SIMMONS                      NM     90014531575
3143833165598B   ANDREW       BOS                          CA     90014373316
314389A165B156   JAMEEL       AKBAR                        AR     23064939016
3143963512B87B   GUSTAVO      MELENDEZ-RIVERA              ID     90014436351
314398A4555949   ANA          CARDONA                      CA     90004468045
31439A8945B52B   PATRICIA     ESTRADA                      NM     35010670894
3143B29414B281   ROBERT       GARCIA                       NE     27078342941
3143B71A151339   BOBBY        LEE                          OH     66074557101
3143B96A47B449   YVONNE       CAMPBELL                     NC     90009539604
3143BA52A72496   JENNIFER     COBIN                        PA     90011390520
3144119977B639   ANTHONY      COOLEY                       GA     90005051997
31441424A5B52B   MAGDALENA    VERGARA                      NM     90010934240
3144166562B87B   TINA         MEREDITH                     ID     42084126656
31441A39577544   SUSANA       ORTIZ-RAMIREZ                NV     90002110395
31441A92941277   TIFFANI      MILLER                       PA     90010430929
3144235A551347   DANETRA      WILLIAMS                     OH     90008553505
3144242627753B   VICTORIA     GARY                         NV     43082814262
3144268129125B   PATRICK      JACKSON                      GA     90006646812
3144274187B639   ANITA        LOTT                         GA     90014617418
3144343697B471   SHAGAREAN    BAKER                        NC     90011204369
31443AA675B393   SANDRA       COLBERT                      OR     90012840067
3144432987753B   TAMMY        MONTERO                      NV     43091113298
3144446537B639   JANIYA       BORSEY                       GA     90012524653
31445216972B2B   PEDRO        GUTIERREZ                    CO     33090612169
3144551942B87B   DIEGO        SOTELO                       ID     90006225194
3144646595B52B   MARIO        RAMIREZ                      NM     90009844659
31447914A5B281   MARK         WILLIAMS                     KY     90013749140
31447A33455972   ENANG        SEE                          CA     90012580334
3144912655B52B   BERNADETTE   ZAMORA                       NM     90004991265
3144917837B492   SELENA       HENSLEY                      NC     90004891783
3144977944B943   SERENA       RUBIN                        TX     90010887794
3144989A651339   KRISTY       MARCUM                       OH     90014768906
31449992A3B161   SHEDRICK     BECKS                        DC     90013459920
3144B2A9791584   JUAN         MOLINA                       TX     90006922097
3144B68A87B471   FERDINAND    JOHNSON                      NC     90001096808
3144B861A5B393   DAN          DRASBEK                      OR     90007698610
3144B991547931   AMANDA       CARSTEN                      AR     90012239915
3144BA15941258   ANDREW       DICKEY                       PA     90012370159
3145164342B87B   CHEYENNE     GRENINGER                    ID     90011406434
3145184A67B639   LACEY        JOHNSON                      GA     90014618406
31451A17A2B93B   JERAME       FUNK                         CA     90009640170
3145211882B93B   RACHEL       MAZZARIELLO                  CA     90013671188
31452518A4B281   GUY          BROWN                        NE     27091905180
3145271137753B   AUNU         ROBINSON                     NV     90011867113
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3145279848B162   ANDREW       THOMPSON                     UT     31017447984
3145313468B16B   MARIA        CASTANON                     UT     90014721346
3145324365B156   MIGUEL       MARTINEZ                     AR     23060792436
31453353A5B591   ANNA         CHACON                       NM     90013253530
3145344372B93B   CARLOS       MARTINEZ                     CA     90015324437
31453478A7B492   NAHUM        URIBE                        NC     90011494780
31454649A2B87B   CLOYD        KASPER                       ID     42011576490
314554A278B16B   TARA         WENTLAND                     UT     90012084027
3145595727B639   TAYLOR       WILLIE                       GA     15035689572
3145611845B393   ANGELA       BEAUDOIN                     OR     90010511184
31456223A2B93B   TY           CUMMINS                      CA     90013352230
3145684645B52B   HUGO         GONZALEZ                     NM     35092758464
314574A427B449   ARACELI      CASTRO-ESPINOZA              NC     11073964042
3145757A272B76   JESUS        RIVAS                        CO     33047795702
314577A6777544   JUAN         CACHO-HERNANDEZ              NV     90014787067
314579A5151339   WILLIAM      SILVA                        OH     90013559051
3145813325B281   MONTEZ       MCCRARY                      KY     90001101332
314581AA747931   DANNY        MCGARRAH                     AR     25040341007
3145829677B492   SILVIA       MORGAN                       NC     90014942967
3145848317B851   MONIQUE      MYLES                        IL     90008204831
3145B33A47B492   FANT         MENDEZ                       NC     90006843304
3145B65445B52B   RAFAEL       NIETO                        NM     90008156544
3145B75A891831   FOSTER       KATELYN                      OK     90008247508
3146138A154165   ANGLIA       ESTAGIN                      OR     47036733801
314622AA931424   ANGELA       NELSON                       MO     90014542009
3146233317B471   LINDA        HASKINS                      NC     11092063331
3146252512B871   LAURA        CRUZ                         ID     42021415251
3146262427B449   JWAN         ROBINSON                     NC     90009986242
3146328292B93B   CYNTHIA      WILLIAMS                     CA     90013282829
31463A2137B471   KRISTEN      LOVE                         NC     90014800213
3146431497B639   DAVID        FRANKLIN                     GA     15078823149
3146485425598B   PORSHA       SMITH                        CA     90007348542
31464856A2B93B   TOMMY        LANTZ                        CA     90015118560
31464A3492B87B   JOHN         JANKOWSKI                    ID     90015060349
31464A3A67B492   HUGO         LOPEZ                        NC     90009530306
31465A1917B449   TOMMY        HEAVNER                      NC     90013750191
31465A39691831   JUILIA       ACHMETOV                     OK     90008640396
3146669A38598B   JAMES        RISTER                       KY     90013236903
3146694485B52B   DEVIN        ROGAN                        NM     90012659448
31466A64891584   DESTINTY     CEJA                         TX     90013000648
31466A7712B93B   TANYA        CARTER                       CA     90014560771
3146733515598B   ADRINA       VARGAS                       CA     90013023351
3146743694B281   DEWANNA      SMITH                        NE     90014374369
3146764A75B557   JUAN         GRIJALVA                     NM     90002646407
3146796755B52B   KIPP         MOORE                        NM     90009809675
3146822172B93B   MARTHA       ROCHA                        CA     90003942217
3146855938B16B   EDDIE        MARTINEZ                     UT     90014375593
3146863618B162   JOSE         FERNANDEZ                    UT     90014016361
3146893A48B157   LEWIS        CLEAVELAND                   UT     31069349304
314692A885B365   RAINER       WILD                         OR     90009472088
3146935617B471   ANGELA       MCHAM                        NC     90011493561
3146935854B943   LUCY         PEACOCK                      TX     90005983585
314696A568B16B   EUGENNE      SMILEY                       UT     31045826056
3146B23315598B   AIOTEST1     DONOTTOUCH                   CA     90015122331
3146B525655949   BRUCE        ANDERSON                     CA     49081785256
3146B612272496   MATTHEW      CIAMPANELLI                  PA     51060856122
3146B697651369   TAMARA       SCRATCH                      OH     90012796976
3147117A291371   ROSENDO      VASQUEZ                      KS     90012401702
314711AA77B449   GLORIA       GALLARDO                     NC     90013031007
3147171777B434   MARIA        INIGUEZ                      NC     90014507177
3147181415598B   ASHLEY       JONES                        CA     49091418141
3147253428B16B   RUBEN        ARREDONDO                    UT     90007625342
3147274637B639   TONY         GRIFFIN                      GA     90011647463
31472A25536B77   ARMANDO      HERNANDEZ RELLES             OR     44542090255
3147433412B835   DAVID        SANTOS                       ID     42029493341
3147439132B871   ANN          MCLAUGHLIN                   ID     90014953913
3147476447B449   TONY         WALKER                       NC     90013207644
31475345A55949   CELESTE      HERRERA                      CA     49052483450
3147575294124B   MALLORY      BOGGESS                      PA     90000257529
31475752A54165   JAMES        COX                          OR     90012817520
3147699532B835   STEVEN       MOCABY                       ID     90015289953
31476A23991584   GONZALEZ     VALERIA                      TX     90011680239
3147756595598B   MARIA        JAURIQUI                     CA     90013915659
314776A327B492   ALMA         CASTRO                       NC     11068306032
3147785652B87B   JIM          JOHNSON                      ID     90012298565
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31477A62491584   NORMA               CONTRERAS             TX     90011540624
31477A85541277   BRITTNEY            CHRISTIAN             PA     90013390855
3147885347B471   LSUNNIA             WOODLEY               NC     11033068534
314791AA172B76   RON                 NETTLES               CO     33050421001
3147B33392B835   JANE                VAN DOREN             ID     90012383339
3147B658336B77   SANDY               MEZA                  OR     90004106583
3147B865172B37   HEATHER             FRANK                 CO     90010828651
314813AAA36143   RAMIRO              DELEON                TX     73580823000
3148151A37B639   CHEVETTE            MARSHALL              GA     90014625103
3148186687753B   BIANCA              MARTINEZ              NV     90011388668
31481A59591584   ABIGAIL             LOPEZ                 TX     90013840595
3148287552B93B   BEATRIZ             FUENTES               CA     45094208755
3148323A98B16B   SANDRA              BARRAZA               UT     90010382309
3148341988B162   MITCH               STODDARD              UT     90014024198
31483A22891952   ISHAWN              SHOULDERS             NC     90009750228
3148498187B639   BRITANNY            STURGIS               GA     90014319818
31484A63891584   SAMBULA             RICARDO               TX     90011540638
3148639725B52B   CHELSEA             CANFIELD              NM     35003673972
314866A9A41285   DENNIS              CARINI                PA     90014756090
3148699592B871   RUBEN               ESTRADA               ID     90014079959
3148776A391831   WILISA              STOKES                OK     90011137603
31487A8572B835   AMANDA              MARTINEZ              ID     90003150857
31488542A77544   LAURA               ROSENBURG             NV     43083715420
3148868665B393   GAI                 HUGHES                OR     90014996866
3148894457B471   ALVARO              PEDROZA               NC     90008639445
31488A78961962   ALMA                MONTES                CA     90008340789
3148938127753B   ANTONIO             DIAZ                  NV     90010773812
3148951A377544   TIMOTHY             MARTIN                NV     90015385103
3148997185B52B   PAULA               JACKSON               NM     35082079718
3148B775491584   MANNY               RUBIO                 TX     90013947754
3149131662B221   MARLENE             JOHNSON               DC     81000993166
31491323A31424   MICHAEL             WELCH                 MO     90014843230
31491469A36143   BRANDON             PEEL                  TX     90013124690
3149171298B162   AGUSTIN             ESTRADA               UT     90014867129
31492748A91531   GABRIEL             TERRAZAS              TX     90001107480
31492754A54165   SARA                POWELL BUTRICK        OR     47055187540
31492932372B2B   JUSTIN HAREL        MACK                  CO     90005599323
3149315314B281   KHALID              MEHMOOD               NE     90011831531
3149331622B835   DANIEL              GONZALES              ID     90011403162
3149364185B281   LEEDRA              DICKERSON             KY     90008316418
3149426795B52B   CARLOS              LOPEZ                 NM     90009752679
3149434587B471   DESEANTE            THOMPSON              NC     11073733458
3149446542B93B   JESSE               IBARRA                CA     90015444654
314957A5191363   SARAY               OSORIO                KS     90008777051
314959A417B449   KENNETH             JONES                 NC     90012889041
3149669367B449   ISABEL DEL CARMEN   AMAYA                 NC     90014196936
31497357A7B471   ANELY               VELASQUEZ             NC     90014103570
31497A78141277   WALESKA             TORRES                PA     51095260781
3149815A42B87B   JUAQUIN             CHAVEZ                ID     90013431504
3149841A284368   BLANCA              PEREA                 SC     90006494102
3149843265598B   YOLANDA             GALINDO               CA     90000374326
3149858237B471   MYISHA              BURKETT               NC     90013485823
3149874272B871   BRANDON             BJORNN                ID     90015117427
3149983A391371   VICENTE             SANDOVAL              KS     29061948303
3149993A45B281   MARY                RIOS                  KY     68050769304
3149B114455972   CHRISTOPHE          MAESTAS JR            CA     48001161144
3149B15A141285   ROBIN               HATTEN                PA     90008861501
3149B879151339   TIERRA              MARSHALL              OH     66007018791
3149BA6A24124B   JANICE              MCCLUNG               PA     51093940602
314B139585B52B   RUBEN               JAIME                 NM     35052603958
314B144887B471   PANSY               SMITH                 NC     90014064488
314B147127B471   BRITHNEY            BROOKS                NC     90011034712
314B1A43891831   ELIZABETH           ROJAS                 OK     90014120438
314B218147B449   JUAN                BARRERA               NC     90015321814
314B246472B87B   BRENDA              WILLIAMS              ID     90013964647
314B3276491549   JAVIER              ALFARO                TX     90011992764
314B3417A77544   RICHARD             PERRONE               NV     90015424170
314B364815598B   BRANDY              WASHINGTON            CA     90010926481
314B3991872496   LOIS                JACOBS                PA     51051649918
314B4216972B2B   PEDRO               GUTIERREZ             CO     33090612169
314B486939156B   PADILLA             JORGE                 TX     90009548693
314B4892172496   VICKIE              FISHER                PA     51093178921
314B532258B15B   JENNIFER            CORSI                 UT     31016773225
314B5368691371   LESLIE              SOTO                  KS     90003703686
314B5437157173   KENNY               ANDRADE               VA     90011654371
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314B5589593761   KAMNY        PAYNE                        OH     90013345895
314B577662B835   JAVIER       MATA                         ID     90013427766
314B618915B281   PATRICIA     CONAWAY                      KY     90008571891
314B625512B93B   LAURA        SANDOVAL                     CA     90011402551
314B6323941277   JACOB        JONATHAN                     PA     90001473239
314B651615B52B   DAYNA        BACA                         NM     90012585161
314B6526155972   PRECIOUS     HAMPTON                      CA     90012885261
314B665138B16B   ADDISON T    REES                         UT     90012296513
314B6919151369   ALBERTO      ENIESTA                      OH     90012869191
314B6983A2B835   KEN          CLARK                        ID     42079369830
314B76A8691584   ALEJANDRO    PAGES                        TX     90008676086
314B7865241277   JOHN         THOMA                        PA     90013958652
314B854935B52B   NICOLE       ROACH                        NM     90013775493
314B8627672496   VANESSA      PARSONS                      PA     51001376276
314B8924491881   PAMELA       DE LA BRUERE                 OK     90007639244
314B8A9435B393   JON SCOTT    CARMICHAEL                   OR     90010480943
314B9236291831   JESUS        MOLINA                       OK     21065302362
314B9313977544   HEATHER      BLANTON                      NV     90015013139
314B9586591584   ORALIA       RAMOS                        TX     75054195865
314BB567236143   JESSICA      ALEGRIA                      TX     90014725672
314BB672391232   JAVON        BUSBY                        GA     90011926723
314BB8A7441258   DON          HOWELL                       PA     90013528074
314BBA23855972   SAMANTHA     CASTRO                       CA     90002300238
314BBA7697753B   RANDY        BARTEL                       NV     43050390769
315116A442B93B   AYAD         ZAIYA                        CA     90003236044
315124AA951369   ED           COMBS                        OH     66086544009
3151262144B989   TERRENZE     CANTUE                       TX     90001326214
3151276A12B871   JASON        LINDQUIST                    ID     90002827601
31512A4AA93744   DUSTY        IRVIN                        OH     90012520400
31512AA7498B25   RODNEY       REDFEARN                     NC     90002150074
3151316A155949   JESSE        LOPEZ                        CA     49091451601
3151319A491537   VERONICA     FLORES                       TX     75094421904
31513A6765B52B   MARISOL      GUTIERREZ                    NM     35085680676
3151425525B52B   KIMBERLY     CHIWEWE                      NM     35028522552
3151452362B835   DAVID        SUMMERS                      ID     42009355236
31514937A41258   TIMOTHY      THOMAS                       PA     90014599370
31514986A31424   LESLIE       PHILLPS                      MO     90015149860
315149A3991554   RUBEN        URANGA                       TX     90003509039
3151519A68B162   NICOLE       ROBISON                      UT     31003721906
31515618176B7B   KAREN        WINN                         CA     90000966181
31515741A47931   CHAROL       KELLY                        AR     90013607410
3151587625B281   DOMINGO      ROJAS-GOMEZ                  KY     90010938762
315159A1591371   ANGELA       BARKLEY                      KS     29015139015
31515A34872455   GINNY        FRAZIER                      PA     51031900348
31515A75577544   MARIA R      PADILLA                      NV     90010770755
31516231A8B494   LORETTA      SCOTT                        NC     90011852310
3151625445598B   JORGE        GARCIA                       CA     90009812544
3151658A35B393   DENNIS       TURNER                       OR     90012325803
3151734385B281   RONDA        TAYLOR                       KY     68050763438
31517A77191584   RICARDO      QUINTANA                     TX     90014400771
3151816A551339   CHRIS        MCINTOSH                     OH     90009671605
3151824657B639   ANGELICA     SMITH                        GA     90007222465
315187AA236B77   MARCO        MARIN                        OR     90010457002
3151947875598B   LILIA        REYES MARTINEZ               CA     90007554787
3151961A731424   FRED         REED                         MO     27579876107
3151967AA4B544   TERESA       SAMS                         OK     90008946700
315199A4572496   WARREN       SISCO                        PA     90009759045
31519A68541277   ASHLEY       STOKES                       PA     51069910685
3151B15543B35B   DANIEL       CHAVEZ                       CO     90012991554
3151BA3735B59B   FELECIA      VALDEZ                       NM     90014070373
3152117424B943   KEASHUN      WALKER                       TX     90002551742
31521A2232B93B   VALERIE      ZAMORA                       CA     90013740223
31521A7272B835   THOMAS       FREINWALD                    ID     90014710727
3152223322B835   CRYSTAL      VAZQUEZ                      ID     90014272332
3152294344124B   MATTHEW      MEERDO                       PA     90010999434
3152311452B93B   WILLIAM      PAIONI                       CA     90012561145
3152356365B281   BRITTANY     BROWN                        KY     68095805636
3152371147B639   TONIA        FRYNE                        GA     90014627114
3152426357B471   TONYA        WHITE                        NC     90002062635
315246A3141277   HARRY I      BECHTOL                      PA     51069076031
3152475397753B   LUIS         VALENZUELA                   NV     90013367539
3152486998B162   LAUREANO     ARELLANO                     UT     31046058699
3152532819379B   SHANNA       GILLIAM                      OH     90003673281
3152628447B639   MELANIE      BROWN                        GA     90005482844
3152658A17B471   EDWIN        RUIZ                         NC     90011535801
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3152699997B492   TONY         SMITH                        NC     90002529999
31526A83272496   MELISSA      HILL                         PA     90014700832
3152733165598B   MARIE        MACIAS                       CA     90006783316
3152748185B393   ROSAMARIA    ESPINO ABURTO                OR     90012264818
315281A885B393   MONICA       ALLOTEY                      OR     44508211088
31529687A5598B   FRANK        HERNANDEZ                    CA     49012296870
3152988982B87B   MAEGAN       WILSON                       ID     90014398898
31529A5132B871   ISREAL       MONTIEL                      ID     90013930513
3152B737791584   CESAR        HERNANDEZ                    TX     90014887377
31531581A2B93B   ERNESTO      GARCIA                       CA     90011385810
3153171A455949   LETICIA      SALINAS                      CA     90009097104
3153185AA7B639   NAOMI        WEBB                         GA     90014628500
3153188694123B   DIANE        LUNIESKI                     PA     90013938869
315322AA42B871   STEPHANIE    GUARDIOLA                    ID     90013852004
3153252317753B   PEDRO        AGUAS                        NV     43006805231
3153357975B281   DONNA        BONDS                        KY     90009685797
31533A4337B471   RAVEN        HARPER                       NC     90014510433
3153428657B639   JAMES        THOMAS                       GA     15074272865
315357AA891584   REECE        CRUSOE                       TX     90013967008
31535A53284368   JORGE        RAMIREZ                      SC     90006480532
3153621548B16B   SHEA         BREHM                        UT     90012142154
3153656A15598B   DIANE        GOMEZ                        CA     49093505601
3153717A191831   GERAD        THOMPSON                     OK     90010731701
3153735162B87B   MARLEE       KELDOW                       ID     42017063516
3153748314B281   MARIEA       MEIER                        NE     90012294831
3153827A87753B   ALEJANDRO    VALENCIA                     NV     90010372708
3153918414B943   AARON        SAM                          TX     76563921841
31539A5A572B76   JUAN         SILVA-SOTO                   CO     33076670505
31539A78431621   BRANDON      LABARGE                      KS     90004360784
3153B37422B835   JAMES        COPELAND                     ID     90001783742
3153B41387753B   SALESH       JATAN                        NV     90007664138
3153B64972B871   LYNDA        COLLINS                      ID     90013976497
3153B67578B16B   AUSTIN       RICHARDS                     UT     31045386757
3153B862891232   CHRIS        WILLIAMS                     GA     90012308628
3153B881177544   DANIELLE     HON                          NV     43053278811
3153BA5842B871   ALEJANDRO    MARTINEZ                     ID     90013930584
3154111282B835   JAVIER       BALADEZ                      ID     90013431128
3154155A755949   EFREN        SOTELO VALDOVINOS            CA     90001685507
3154179314B943   SARAH        FURTAW                       TX     76509207931
3154188668B16B   GUSTAVO      REGUS                        UT     90014778866
3154285812B835   ALFREDO      LOPEZ                        ID     42006328581
3154314945B398   SHANE        PRYCHUN                      OR     90009851494
3154414945B398   SHANE        PRYCHUN                      OR     90009851494
3154432152B835   JOHN         CONTE                        ID     90004253215
3154458734B281   JEREMY       PASCALE                      NE     90012205873
315451A127B449   Q            DOUGLES                      NC     90013721012
3154523572B93B   STEPHEN      MANDLER                      CA     90013752357
3154632918B16B   RODOLFO      TREJO                        UT     31018463291
3154678917B471   LOUVENIA     BRANT                        NC     90013237891
31546A2365B393   BREANNA      MARSHALL                     OR     90012950236
3154714577B639   RODNEY       PETERSON                     GA     90009861457
31548651A55949   ANDREA       FERNANDEZ                    CA     90009176510
3154865624B281   BRYAN        RUIZ                         NE     90012716562
3154876772B242   JOSEPH       SMITH                        DC     90012777677
3154923762B835   MEGAN        GALLIVAN                     ID     90009842376
3154999A291371   NANCY Y      ESQUIVEL                     KS     90004819902
315499A678B16B   DUANE        SIMMONS                      UT     90013289067
3154B19555B156   EDWARD       GREEN                        AR     23011411955
3154B362255972   HELIA        ALEXANDRE                    CA     90009443622
3154B518391232   BRANDY       WATTS                        GA     14571525183
3154B7A2881642   BRADLEY      WRIGHT                       MO     29001787028
3155115527B639   SONYA        RANSOM                       GA     90014631552
3155139955B393   JESSICA      OLIVER                       OR     90003193995
31551426A91831   RANEE        MCCAUSE                      OK     21020874260
31551723A72B76   GREGORIO     BENAVIDES                    CO     90002527230
3155221982B93B   DASY         BOUTDY                       CA     90011442198
3155224335598B   HANBERTO     BERDUGO                      CA     90014242433
3155236977B471   MERIDA       MERIDA                       NC     90008193697
3155279582B835   CLINT        WHITE                        ID     42042827958
3155289A65B393   CARLA        VAIDA                        OR     90011958906
3155542A185688   SHAWN        BARNES                       NJ     90001524201
3155584724B281   JORDAN       WICHERT                      NE     90014228472
3155649234B943   ADAM         DUCOTE                       TX     90005014923
3155776A82B835   MARIA        ESCOBAR                      ID     42073627608
31557AA4754165   KEVIN        LENHART                      OR     47076710047
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315583A8431424   ANGELA       DAVIS                        MO     90007733084
3155885AA5B52B   DANIEL       ESTRADA                      NM     90005388500
3155932167B449   YOFINES      AGUILAR                      NC     90015093216
31559447A41277   CODIE        ELKIS                        PA     90014234470
3155944AA77544   APRIL        WILSON                       NV     90015564400
3155948795B393   LEEANNE      CHAVEZ                       OR     44552764879
3155973A15598B   MARK         MONTAYA                      CA     49000477301
31559987A7B639   DEBRA        ALLEN                        GA     15085949870
3155B733941258   MATT         TRAPUZZANO                   PA     90000017339
3155B97564124B   KRIS         MYDEN                        PA     90010029756
3155BA99631424   DOMANAQUE    WALKER                       MO     90010780996
3156115835598B   CRISTINA     VAZQUEZ                      CA     90013851583
315614A245B52B   KARENNINA    RAFAEL                       NM     90009094024
3156326AA7B449   ARCHIE       JACKSON                      NC     11065732600
3156338742B835   FRANCISCO    VALENCIA CHAVEZ              ID     42052933874
31563A3A993772   GEORGE       ROEBUCK                      OH     64514820309
3156483187B471   JOESATTER    SMITH                        NC     90013278318
315648A3855972   JUNIE        RIVAS                        CA     90012938038
31565469A5B393   CORY         SCHOFIELD                    OR     90013554690
3156587672B93B   FRANCISCO    AGUILAR                      CA     90015208767
3156625A37753B   ROBERT       NIELSEN                      NV     43092222503
315663AA331432   ASHELY       BARSH                        MO     90006983003
31566514A8B162   DEBRA        CUSTOMER                     UT     90015025140
31566A77A55949   ROSA         RAMIREZ                      CA     90014770770
31566A94331424   JANICE       FOWLER                       MO     27578370943
3156726512B93B   AMANDA       DESOUZA                      CA     90012572651
3156742822B87B   DAYNA        SLUDER                       ID     90010664282
31567922A7B471   ULISES       GONZALEZ                     SC     90013689220
3156875795B52B   JUDITH       LOZANO                       NM     35055657579
3156879117B471   ASHLEE       CADOGAN                      NC     90015107911
31568A36272496   PAMELA       JOHNSON                      PA     90006880362
31568A65991584   ANTONIO      RUBIO                        TX     90012780659
3156943162B835   NICOLE       NIETO                        ID     90009464316
3156967755B393   JESSICA      GUFFEE                       OR     90011906775
31569A33A57599   REYES        CRISTEL                      NM     90007880330
3156B297491584   RAYMUNDO     SIMENTAL                     TX     90012962974
3156B37365598B   RACHEL       VALDIVIA                     CA     90014823736
3156B4A298B16B   JAMES        WHEELER                      UT     90007334029
3156B86312B835   RAFAEL       GARCIA-GONZALEZ              ID     42069028631
3156B983554165   REBECCA      MACHADO                      OR     90012839835
3156BA96257569   EDDIE        DELOSSANTOS                  NM     90014590962
3157133A62B871   SANDY        ROBISON                      ID     42075253306
31571716236B77   FRED         QUALLS                       OR     90014357162
3157213A27B471   SA JARTON    CAMP                         NC     11098991302
3157261138B162   TINA         THOMAS                       UT     90012916113
3157298475B393   VIRGINIA     BRIGGS                       OR     90009809847
315741A8791831   RESHONDA     DAY                          OK     90014411087
315746AA65B393   AMY          STROM                        OR     90002566006
3157551518B162   CLAUDIA      TACHIQUIN                    UT     31041145151
31576555A41285   SHAQIUAN     TYLER                        PA     90002095550
3157668514B943   DEWEY        VAUGHAN                      TX     76564846851
3157689718B162   JASON        BULLOCK                      UT     90005218971
3157753288B162   LAKIN        YANEZ                        UT     90015195328
3157761978B16B   JOHN         DE ANDA                      UT     31072466197
315776A425598B   CHRISTINA    MORALES                      CA     90015306042
3157811425B52B   ESTHER       QUEZADA                      NM     90014161142
31578869A4B943   CAROL        LEEN                         TX     76527808690
315789AAA72496   ROB          MINCIN                       PA     90013589000
3157B69285B393   CARMEN       LEMUS-MARTINEZ               OR     90014856928
3157B738241285   LORNA        BROOKS                       PA     90003887382
31581142A5598B   LIZETTE      RODRIGUEZ                    CA     49078481420
3158155748165B   KEVIN        MITCHELL                     MO     90009155574
315819A4251369   ROBERT       FARRELL                      OH     90007999042
31581A32191831   HELEM        AGUILAR                      OK     90011900321
31581A7458433B   MICHEAL      PECK                         SC     90003500745
315824A2141277   KEYA         WARREN                       PA     90012944021
3158257647753B   ROBERTO      VAZQUEZ-NAVARRO              NV     90011385764
3158319762B87B   DANIEL       AFLETT                       ID     90014531976
3158386915598B   DOMENICA     BARRIOS                      CA     49019558691
3158414737753B   JOHN         JOHNSON                      NV     90009321473
3158422174124B   JAMES        SILER                        PA     51016252217
3158441A136B77   NICOLE       MC BRIDE                     OR     90010904101
315849A825132B   RACHEL       SMITH                        OH     90011999082
3158528552B871   KEITH        WHEELER                      ID     42006332855
3158529AA7B429   CARLA        YOUNG                        NC     90006432900
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3158541A136B77   NICOLE       MC BRIDE                     OR     90010904101
31585AA264B954   MELANIE      NED                          TX     90009530026
31586121A4B281   STACY        CARABANTES                   NE     90002881210
3158621692B93B   REMI         KERN                         CA     45059092169
31586A9177753B   DOUGLAS      ESTRADA                      NV     90013680917
3158749A12B93B   RYAN         SAWYER                       CA     90012464901
31587A79191584   RAMONA       COREA                        TX     90007190791
3158812535B393   TINO         FARNUM                       OR     90014831253
3158877AA4B559   MANUEL       MORFIN                       OK     90012557700
315892A4991232   DARLEEN      RUGER                        GA     14575632049
3158B91A57753B   MERCEDEZ     CARILLO-GONZALEZ             NV     43050879105
3158BA72141285   LOUISE       SMITH                        PA     90011840721
315916A5791584   ROSA         GURRA                        TX     75091126057
3159172275B393   WENDY        WEST                         OR     44579717227
31591A4195B52B   MARIO        RIOS                         NM     35059350419
315922A879125B   GRACE        ROBINSON                     GA     90004242087
3159284248B16B   SOFIA        CAMPOS                       UT     90012638424
3159288362B93B   SUSIE        MOJICA                       CA     45006808836
3159297A77B639   SOPHIA       MADISON                      GA     90014639707
31592A4135B281   LIZ          HAZARIAN                     KY     90008780413
3159413A45B393   RICKY        HEAGLE                       OR     90011311304
31594281A72496   DARLENE      POUNDS                       PA     90014702810
3159438572B93B   NELSON       GUTIERREZ                    CA     90012833857
3159446712B93B   NELSON       GUTIERREZ                    CA     90013264671
315944A6951339   ELIZABETH    FRANZ                        OH     90008184069
3159463A291584   MELISSA      VERDUZCO                     TX     90009166302
3159464232B93B   NELSON       GUTIERREZ                    CA     90013476423
3159495665B52B   AMY          SERRANO                      NM     35088629566
31594A2332B93B   NELSON       GUTIERREZ                    CA     90010390233
3159542657B449   CYNTHIA      HAUENSTEIN                   NC     90014584265
3159568637B471   JASON        HOSLEY                       NC     90015206863
3159632318B16B   ADRIANA      PEREZ                        UT     90004743231
31596A21591831   PAULETTE     FOSTER                       OK     90007630215
31596AA6555972   BILLY'S      DRYWALL                      CA     90007950065
315973AA151339   MISTI        CARTER                       OH     90014923001
3159794965B52B   ALEJANDRA    MARQUEZ                      NM     90006419496
3159795287753B   SHAUNA       ISRAEL                       NV     90006769528
3159879A391584   ERICA        HERNANDEZ                    TX     90014847903
3159891825B281   ERIKA        GLENN                        KY     90012619182
31598A17377544   MARIA        HERRERA                      NV     43079210173
3159922155B52B   MARIA        ANGEL                        NM     35048452215
31599438536B77   HERLINA      MOLENS                       OR     90012724385
31599A64451369   DANYALE      MARSHALL                     OH     90006590644
31599A92291371   JUAN         PEREZ                        KS     90013930922
3159B27732B871   DEBORAH      OBRIEN                       ID     90006002773
3159B839491584   SULEMA       LOPEZ                        TX     90012918394
3159B93577B639   LAVON        PRIDGETT                     GA     90014639357
3159B9A2A91831   ADELA        CASTANEDA                    OK     90014769020
315B116447753B   EFRAIN       HERNANDEZ                    NV     90015151644
315B1256841285   MARIA        LOURDES                      PA     51050342568
315B1293691831   BARNETT      CONNER                       OK     90004952936
315B13A768B16B   MARIA        CERVANTES                    UT     90012753076
315B1499A72B76   IGNACIO      DELGADO                      CO     33089404990
315B1741572B88   MOLLY        CUEVAS-RAMOS                 CO     33092757415
315B2229A72496   DEONTA       DAVIS                        PA     90003592290
315B24A252B871   WAYNE        RISNER                       ID     42042964025
315B2745191831   JUAN LUIS    NOGUERA                      OK     90010287451
315B288527753B   MARIA        CHAVEZ                       NV     43017708852
315B3146755949   ALI          SALEH                        CA     90014151467
315B3A5947753B   NICOLAS      JIMENEZ                      NV     90007440594
315B418514B281   BRIAN        GONZALEZ                     NE     27032081851
315B4431A4124B   THOMAS       SCHMEL                       PA     51032404310
315B444227B639   JALEESA      DIXON                        GA     90011714422
315B463955B281   KATHY        FOLEY                        KY     90010506395
315B48A742B93B   PANCHOVIA    GG                           CA     90009058074
315B59A694B943   SHONDA       EDMONDSON                    TX     76507839069
315B612A885944   TIM          FULLER                       KY     90010481208
315B618228B16B   SUZIE        VILLAREAL                    UT     90000981822
315B635A65598B   DULCE        PEREZ                        CA     90000743506
315B64AA291232   LACY         COLLINS                      GA     90013544002
315B658918B162   CHRISTINE    LARSON                       UT     31040035891
315B673577B449   CLARENCE     JONES                        NC     90014127357
315B6841977544   EDITH        HOWARD                       NV     43023598419
315B728A82B93B   ALEJANDRA    CAZARES                      CA     90013592808
315B7317751369   CHRISTIAN    WRIGHT                       OH     90013283177
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315B744828B162   ANGIE         SORENSEN                    UT     90010474482
315B8575993767   SHAWN         THIGPEM                     OH     90009625759
315B8629A91831   JAY           BENSON                      OK     90010646290
315B8694A8B16B   ROBERT        MOWBRAY                     UT     90013606940
315B885535B52B   BRYANT        JONES                       NM     90013348553
315B9173577544   DESIREE       AGUSTINE                    NV     90015211735
315B959A37B449   RONALD        MOORE                       NC     90011085903
315BB131741258   STACY         KELLY                       PA     90012611317
315BB616955935   DANIELLE      ZAPATA                      CA     90011656169
315BB773236143   HERLINDA      AGUIRRE                     TX     90012977732
315BB881A72496   ASHLEY        AKERS                       PA     90012568810
31611739372B76   JOSE          FLORES                      CO     90010627393
3161246875B52B   CLARA         FONSECA                     NM     90012774687
3161386775598B   BRANDY        LOPEZ                       CA     49016178677
3161397555B393   LAURA         RITCHIE                     OR     90014769755
3161417297B639   THOMAS        MABRY                       GA     90014641729
3161561875B393   SEAN          DOODY                       OR     90007706187
3161595488B16B   TROY          BRADFORD                    UT     90010479548
31615A93547931   LILIANA       SILVA                       AR     25083620935
31616897A2B93B   KEVIN         NUNEZ                       CA     90013058970
31616A88A51339   MARLIEN       BRANDONBURG                 OH     90015370880
3161743815B52B   GUADALUPE     GONZALES                    NM     90013014381
3161768562B87B   MIRSAD        EKIC                        ID     90009486856
3161844A177544   ELSA          CAMACHO                     NV     90000264401
3161854A42B871   RON           BASSETT                     ID     42092995404
3161877177B471   BILLY         RAY JR                      NC     11090077717
31618A82141285   ADAM          CINNA                       PA     51094820821
3161954886B981   ANN           SCHNEIDER                   NJ     90014555488
3161969282B871   SHARA         BELKHEIRI                   ID     42092546928
3161989212B93B   JUSTIN        CASE                        CA     90015498921
31619A3872B87B   PATRICIA      ERICKSON                    ID     42040380387
3161B32295B52B   PHILLIP       AVILA                       NM     35086353229
3161B739A91831   LINDA         JOYCE                       OK     90002777390
3161B757491584   ANDY          ESCOBAR                     TX     90012067574
3161B82495B393   SARA          STONE                       OR     90004678249
3161B825655972   FRANCISCA     TORRES                      CA     48061068256
3161B936431424   DEMETRIUS     BIGGS                       MO     90012079364
3162246797B471   MICHAEL       NEW                         NC     90013344679
31622A9A35B52B   MIRIAM        PALOMINO                    NM     35065530903
3162339614B943   LEITH         DEJEAN                      TX     90004723961
3162378375B398   JOSE          BARAJAS-CRUZ-               OR     90004107837
3162399195B393   MICKI         BRITAIN                     OR     90013989919
3162519A57B432   ALEJANDRO     HERNANDEZ                   NC     90001951905
31625916572B76   SHLEY         MARTINEZ                    CO     90013229165
3162664787753B   COREY         CORREA                      NV     90010336478
3162677227B449   BRIGGET       GRAHAM                      NC     90007287722
31626AA5A91831   LUZ           SUAREZ                      OK     90009970050
3162716455598B   JORGE         MORENO                      CA     90012991645
316272A875598B   JORGE         MORENO                      CA     90009692087
3162758915B52B   CARMEN        LOZANO                      NM     90013695891
316276A522B93B   IVY           HICKS                       CA     90007906052
3162797865B393   LISA          FUENTES                     OR     90005669786
316281A7493772   DELLA         FASSETT                     OH     90006601074
3162863A491584   AMANDA        ARENIVAR                    TX     90014356304
3162921383B35B   RACHAEL       JOHNSON                     CO     90008492138
3162935568B16B   BRITTNEY      WEAVER                      UT     90014283556
31629627A4B281   SH-SHAWNA     GILL                        NE     90012566270
3162995435B156   ANGELA        SCHOEN                      AR     90010879543
3162B281A7753B   SUSANA        CORTES                      NV     90014132810
3162B41577B492   FANIELLE      ROBINSON                    NC     11077624157
3162B536191232   JEFFREY       HILL                        GA     90014475361
3162B629184334   RICHARD       POWELL                      SC     90007736291
3162B937555972   ANGEL         VILLANUEVA                  CA     90015219375
3162BA4375B393   SATIVA LYNN   DUNHAM                      OR     90011650437
3162BA79891232   JEFFREY       HILL                        GA     90014910798
3163132678B162   DELLA         WARD                        UT     90014983267
31631643A8B166   DAWN          CARTER                      UT     31057516430
3163168A255949   CHUE          VANG                        CA     90015196802
31631958A41277   JEANNETTE     QUINONES-GARCIA             PA     90015229580
3163198A42B871   SARAH         TOMKO                       ID     42032929804
3163255917753B   ROBERT        MORANDI                     NV     90011925591
3163261424B281   BERTHA        SIMIANO                     NE     27031146142
3163284459125B   SHAUNTA       JONES                       GA     90001688445
3163338A731424   DYARA         WILLIAMS                    MO     90014983807
3163344732B835   TONI          BARNS                       ID     90013214473
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3163347A88B16B   MANDY        CLEMENT                      UT     90011054708
316337A6341277   HUNTER       SPARKS                       PA     90014917063
3163383797B471   ENRICCO      BOOKER                       NC     11048738379
3163412942B93B   ROLANDO      BELLO                        CA     90001481294
316343A478B162   JAMES        BURNINGHAM                   UT     31040853047
316353A7893761   ALONZO       LATTIMORE                    OH     90001003078
3163547397B449   CHANICE      SMITH                        NC     90014974739
316355A8731433   FLANESA      CLEMON                       MO     27501135087
31635685A7753B   MELISSA      KERSEY                       NV     90008376850
3163595A931424   CAROLYN      MCCRAY                       MO     90014339509
316364A8891831   CARL         FISHER                       OK     90013524088
3163665434B281   CHE          STUBBLEFIELD                 NE     27064426543
31637261A61931   CYNTHIA      MARTINEZ                     CA     90010602610
3163764774124B   PHILLIP      TINKER                       PA     51061816477
3163773754B281   HUNTER       PETERSON                     NE     90012337375
31637A66154165   SHIRLEY      DORGAN                       OR     90008890661
316385A4755949   SUZY         SAGHERIAN                    CA     90015065047
3163951A58B162   BEN          WALL                         UT     90012635105
316398A3191584   TORI-RAE     MCLELLAN                     TX     90013948031
3163B287951369   SARINA       JACKSON                      OH     90013152879
3163BA22A5B52B   CRYSTAL      PONCE                        NM     90014570220
3164116A631424   QUEENS       COLLINS                      MO     90002321606
3164163874B943   CLARENCE     LETROY                       TX     76591866387
316418A3691584   JENNIFER     CALLEROS                     TX     90013948036
316423A775598B   TERRY        PLATA                        CA     90012803077
316426A547B492   CORNELIA     GORDON                       NC     90014826054
3164284197B471   VALENTA      RODRIGUEZ                    NC     90010408419
31642A88236143   ELIZABETH    BALDADEZ                     TX     73515800882
316431A125B393   LENORA       OBAK                         OR     90013941012
3164375118B16B   NANCY        LAW                          UT     90012587511
3164387427753B   JENES        CARTER                       NV     43042278742
31644A6985B52B   MARYANN      CHAVEZ                       NM     90001400698
31644A7A391584   FELICIA      BALDERRAMA                   TX     90011540703
3164514747B639   VALENTINA    MANRIQUE                     GA     90011741474
31645191A2B871   LOURDES      CARBALLADO                   ID     90013261910
3164567292B87B   ALMA         ESCOBAR                      ID     42082286729
3164594778B162   CHRISTIAN    BOJORQUEZ                    UT     90014839477
31645A6447B449   MARIO        GRANDE                       NC     90012020644
31645A96136143   ROBERT       GRIMALDO                     TX     90012190961
3164633AA5B156   PRISCILLA    MCVAY                        AR     23086503300
3164729382B835   LUIS         GRANILLO                     ID     42058572938
3164764378B574   JOSE         VELASQUEZ                    CA     90013906437
3164787985598B   CAROLLANN    COLEMAN                      CA     90015378798
316484A5431424   SCOTTIC      PEBBLES                      MO     90012524054
3164897442B87B   MARIA        GONZALEZ                     ID     90014069744
3164912767B43B   SOCORRO      CRUZ                         NC     90005341276
3164913652B871   SHYANN       FERRIS                       ID     90015371365
3164919485B156   CHARLES      FOSTER                       AR     23087521948
3164949592B835   SETH         HARPER                       ID     42022834959
3164B38512B835   AMIE         SUMSION                      ID     42022093851
3164B437791371   ESPERANZA    GARCIA                       KS     90013334377
3164B46A27B639   BRIANA       COOP                         GA     90014644602
3164B63452B87B   TIMOTHY      WOODS                        ID     90015186345
3164B7A4A7B492   MALLORY      BRICE                        NC     11053057040
3164B86972B93B   ALFRED       VALDEZ                       CA     45088198697
3164B881A5598B   NA           THAO                         CA     90015068810
316511A655B393   JOSE         CARRETO                      OR     90013941065
3165143A551369   KRAIG        MILLER                       OH     90009854305
31651A1317B449   CHARLES      SCRIVEN                      NC     90000220131
3165212897B449   MIGUEL       TORRES                       NC     90014431289
316521A9455949   ANTHONY      BOGGS                        CA     90008121094
31652377A7B471   LUCIA        MARQUEZ                      NC     90014273770
316525A152B93B   SONG         YANG                         CA     90013365015
31652634A91831   CHELSEY      MARSHALL                     OK     90013626340
3165267794B281   MARLENE      GARCIA                       NE     27032026779
316528A874B943   KERRI        RAAB                         TX     76553048087
3165298A94124B   BERNARD      RYCE                         PA     90006349809
3165366157B471   NATHANIEL    BROWN                        NC     90011536615
3165386195B281   ABDULSAKOR   ASADULLHA                    KY     68041658619
316538A8554165   GRACIELA     CHINO-AVILEZ                 OR     90009788085
3165415842B87B   DARREN       FRANKLIN                     ID     90002091584
3165416AA7B639   LEON         DAVID                        GA     90014651600
3165476438B162   ROBERT       ROJAS                        UT     31006997643
316553A7377544   CHRIS        BOWERS                       NV     90013993073
3165564854B281   MS           SMITH                        NE     90012316485
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1565 of 2350


31655AA8191831   AMANDA       MULANAX                      OK     90004110081
3165625587B492   OMAR         HARDY                        NC     90002072558
3165629992B93B   MAIRA        GUZMAN                       CA     90014332999
3165698A591584   JAMES        MILLER                       TX     90013329805
31656A1A577544   MARTHA       SANCHEZ                      NV     90008870105
31656AA6541285   DANTE        WILLIAMS                     PA     51026290065
316573A5A77544   LORENA       PRADO                        NV     90000173050
3165779275B393   TARA         ELLIOTT                      OR     44522237927
31657A13491232   LOUVISA      LOVEWINE                     GA     90009110134
3165813887B471   MADELINE     CASIANO                      NC     90015011388
3165897372B93B   GUADALUPE    GUDINO                       CA     90009259737
31658A6317B492   JESUS        GUTIERREZ                    NC     90005470631
3165932918B16B   RODOLFO      TREJO                        UT     31018463291
31659614A36143   BREANNA      GARCIA                       TX     90014756140
31659925A8B16B   MICHELLE     OLIVARES                     UT     90003619250
31659AA265598B   JOSE         VAZQUEZ                      CA     90010960026
31659AAA155949   JAVIER       RAMIREZ                      CA     90015250001
3165B46527B492   MELODY       REINHARDT                    NC     90012394652
3165B546641277   MELVIN       BRANDON                      PA     51007115466
3166154A841258   ELIZABETH    EHRHART                      PA     90011665408
31661858A51369   BRIDGETTE    MORRIS                       OH     90009958580
3166283A955972   ELIZABETH    RUTH                         CA     48057778309
3166294785B393   PENG         WANG                         OR     44572459478
31662A5957753B   HELEN        WONG                         NV     90006470595
3166353287B471   CHRISTIAN    GUERRERO                     NC     90014725328
31663628A72496   EARNEST      BURNSWORTH                   PA     90010526280
3166421827B449   ROSE         HARRIS                       NC     90011362182
3166433365598B   CHRIS        JAMES                        CA     49042983336
3166435257B471   KIERRA       LANEY                        NC     90001293525
3166466AA72496   TAMIKA       BURKE                        PA     51048936600
31664A8165B52B   JUAN         MAGANA                       NM     90015210816
316651AA291232   CICELY       TRAPPIO                      GA     90013081002
3166562375B393   BRANDON      DIXON                        OR     90012026237
3166599894B55B   ALTUNE       ULMER                        OK     90008339989
3166623647B639   RAVEN        BREWER                       GA     90013772364
31669259A91831   JANET        SMITH                        OK     90014282590
31669A6742B93B   LINDA        SALGADO                      CA     90012080674
3166B17218B16B   STEVEN       EDWARDS                      UT     31005071721
3166B378257128   ANA          GONZALES                     VA     81095963782
3166B53928B349   STEVEN       MOORE                        SC     90005375392
3166B581855972   JOSE         REYES NUNEZ                  CA     90014855818
3166B71314B281   GILBERT      HARTMAN                      NE     27091577131
3166B783341277   NED          TRBOVICH                     PA     51044997833
3166B87524124B   JAQUAN       LEECH                        PA     90003008752
3166B966191584   ISSAC        MARQUEZ                      TX     75030759661
3167133A77B639   TONISHA      ARCHIBALD                    GA     90014653307
31672229A72496   DEONTA       DAVIS                        PA     90003592290
3167324617B359   OSCAR        FLORES                       VA     81011502461
3167358127B471   MARIA        GAYTAN                       NC     11061195812
3167393924B281   BENJAMIN     VALDEZ                       NE     90014859392
3167593912B93B   RAMON        RAMIREZ                      CA     90013789391
3167598793B391   TIMOTHY      SANDROWSKI                   CO     33091129879
3167612474B281   CHIRSTPHER   COPELAND                     IA     90011111247
31676662836B43   DAMARIS      VAZQUEZ                      WA     90015206628
3167738AA91584   LIVELY       CASTRO                       TX     75000623800
3167759552B93B   DALE         ZIMMERMAN                    CA     90012935955
3167762275598B   HILDA        GUERRERO                     CA     90010846227
3167766898B162   ANNA         BARNEY                       UT     31004146689
3167817215598B   MARIANO      DIAZ                         CA     49081211721
316784A3351369   NORA         BRENES-ACOSTA                OH     90011464033
316784A4151339   CINDY        BALLINGER                    OH     66027364041
316787A554B52B   RYAN         LLOYD                        OK     90001277055
316787A6491584   ELIAH        SALAZAR                      TX     90014357064
31678A78372496   ANNA         MURPHY                       PA     90013700783
31678A83636143   TEJEDA       CIPRIANO                     TX     90015170836
3167918278B162   KATHY        RAMIREZ                      UT     90014291827
3167968972B93B   EDGAR        SANDOVAL                     CA     90010566897
3167999639125B   MATTHEW      OLSON                        GA     90014559963
31679A8837B449   JUNIOR       ORTIZ                        NC     90014530883
3167B41217B449   ALISA        BOYCE-WALLACE                NC     11095534121
3167B586431424   MICHELLE     ASHLEY                       MO     90014885864
3167B746172496   CARL         CHILDS JR                    PA     90012977461
3167B78712B93B   KARA         MALDONADO                    CA     90009867871
3167B91152B87B   STEVEN       RAWLINS                      ID     90008599115
3168115A92B93B   CHRISTINA    MARTINEZ                     CA     45004821509
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316814A4151339   CINDY           BALLINGER                 OH     66027364041
3168174994B281   JOSE            SANCHEZ                   NE     90004787499
31681865172B37   HEATHER         FRANK                     CO     90010828651
31681A78372496   ANNA            MURPHY                    PA     90013700783
3168229417B639   SHRANDA         WATKINS                   AL     90001562941
316826A792B835   HILLIARY        MILLER                    ID     90013516079
3168273542B559   LATOSHIA        BRAZILL                   AL     90014147354
3168273A27B471   EMMA            SANDERS                   NC     11072207302
316832A762B87B   AMY             BATCHELOR                 ID     90015572076
31683A6554B281   SANTIAGO        VALADEZ                   IA     27090770655
31683A9A391584   BLANCA          LOZANO                    TX     75030450903
3168417768B162   DAVID           LINDSEY                   UT     90014061776
316843A928B162   MARIA           ZAMORA                    UT     90011263092
3168443285B393   JOSE            MARTINEZ CUIRIZ           OR     90011584328
3168454582B93B   RAMON           PEREZ                     CA     90015305458
31684818A72471   MICHAEL         DOWNS                     PA     90008638180
3168522615598B   ANDRES          CARRASCO                  CA     90012082261
3168547A141258   NIKINA          KIEFER                    PA     90013044701
316865A717B639   RUBY            WILLIAMS                  GA     90009255071
31686A2465B393   ANGELIC         WATERMAN                  OR     90006970246
3168751245132B   DEBRACCA        WORTHY                    OH     90009645124
3168754855B393   MATTHEW         DAVID                     OR     44553375485
3168785A82B93B   ALLISON         MCCLAIN                   CA     90014108508
3168923177753B   AMIR            HOWARD                    NV     90013542317
3168956467B471   SHIRTOIA        HUNTER                    NC     11001855646
3168979A391584   ERICA           HERNANDEZ                 TX     90014847903
3168B38652B871   SAVANAH         BROWN                     ID     90011103865
3168B415A54165   KAY             VIRGILIO                  OR     47092184150
3168B447172496   BONNIE          UPTONGAYE                 PA     90010984471
3168B788A36143   JACOB           FLORES                    TX     90014587880
3168B928881685   VICTORIA        KIMMEL                    MO     90013859288
3169126A95B52B   IVAN            ROMERO                    NM     90010812609
31691A5A77B639   CAROLINE        FARRAD                    GA     90014680507
3169234144B534   FERMIN          CARRANCO                  OK     90014943414
3169268282B871   DOUG            GARLOCK                   ID     42093626828
3169317615B393   POMPOSO         MALDONADO                 OR     44523231761
3169341317753B   FRANCISCO       GOMEZ                     NV     43016714131
3169355157B449   DAVID           CALDWELL                  NC     90013225515
3169381552B871   MOIRA           KELLY                     ID     42085108155
31694571A36143   ARNOLD          MARTINEZ                  TX     90002895710
3169491588B16B   REBECCA         SINGLER                   UT     31017199158
31694A5A291371   HALEY           EISENHOWER                KS     90004170502
3169566898B162   ANNA            BARNEY                    UT     31004146689
3169569232B871   JESUS           RUIZ                      ID     90014816923
3169638A97753B   MECHILLE        ALLAIN                    NV     90014893809
3169641AA41258   AMY             SINGLETARY                PA     51036584100
3169669472B871   CARRIE          RODRIGUEZ                 ID     42073426947
31696A1122B871   CARRIE          RODRIGUEZ                 ID     90011150112
31696A38791371   MICHAEL         SMITH                     KS     90014730387
3169729965598B   JOSEPH G        GARCIA                    CA     90007902996
3169735492B87B   ADAM            FREDRICK                  ID     42014263549
3169853215B281   XAVIER          SHISHOLM                  KY     90009685321
3169857765B393   DANNY           OLSON                     OR     90010945776
31698A13672496   TIFFANY         SWANEY                    PA     90014350136
31698A2857B639   AGUSTIN         RUIZ HERNANDEZ            GA     90014700285
3169937112B835   LONNY           SHEPHERD                  ID     42020583711
3169B253741277   JAMELLE         DUNCAN                    PA     90014712537
3169B59A131683   RICHARD         WOODWARD                  KS     90003655901
3169B882577544   KEVIN           DALESSANDRO               NV     90012758825
316B116127B449   CHANTELL        CHILES                    NC     11067261612
316B129292B87B   LISA            LEWIS                     ID     90010252929
316B131465B269   ROBERT          CALDWELL                  KY     68096083146
316B1371651339   MICHAEL         EBNER                     OH     90010933716
316B1619955949   ZACHARY         MARSHALL                  CA     90011046199
316B1736641285   JAMES           GLOVER                    PA     90011667366
316B1852291831   CATHERINE       NORMAN                    OK     90010108522
316B1A5838B16B   DANA            CARTWRIGHT                UT     90009650583
316B1A6A52B93B   CRUZ            GARCIA                    CA     45028500605
316B2133191584   SANDRA          CARO                      NM     75062241331
316B21A7491531   HAROLD MELVIN   LILLEBO                   TX     90011721074
316B259312B871   MARTIN          MUNOZ                     ID     42049875931
316B281A736143   CYNTHIA         CANTU                     TX     73513088107
316B317587B639   SHAWNTHA        DUNLAP                    GA     90014601758
316B3175884368   CHRISTOPHER     CRANK                     SC     90011891758
316B3473491537   LORRAINE        PEREZ                     TX     90015054734
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316B3594291584   RAQUEL       ARRAMBIDE                    TX     90005595942
316B3A49A97131   JENNIFER     SHOEMAKE                     OR     90012320490
316B3AA2351339   TRAVIS       CAUDILL                      OH     66000590023
316B451177B639   SIDNEY       CHILDS                       GA     90010485117
316B456135B393   KENIA        ESPINO                       OR     90011865613
316B4949391232   SARAH        BYNES                        GA     90012099493
316B517A491232   KEIONNA      CLAY                         GA     90014831704
316B531952B93B   MARICRUZ     FLORES                       CA     45071733195
316B533337B449   AUCAS        DAVIS                        NC     90011643333
316B534314124B   TISHAWN      DENT                         PA     51087003431
316B596345598B   KAMI         SHORT                        CA     90004749634
316B6115A31424   BRENDA       BARNES                       MO     90013931150
316B6126155972   OSCAR        HERNANDEZ                    CA     90012301261
316B6454577544   FRANCISCA    MARTINEZ-DE CADENA           NV     90012354545
316B65A595598B   PABLO        MARTINEZ                     CA     90014905059
316B662A37B471   GASPAR       HERNANDEZ                    NC     90008386203
316B673554B281   DENISE       LEWIS                        NE     90004067355
316B687858B162   MANUEL       VEGA                         UT     90015198785
316B71A3577544   KELLY        BERGSTROM                    NV     90013221035
316B71A512B871   KRISTIN      CONTRERAS                    ID     42034331051
316B731954B547   CHERYL       TODD                         OK     90011843195
316B7422141258   CINDY        SMITH                        PA     90009044221
316B82A7651369   NATASHA      PARKS                        OH     66028582076
316B873412B87B   BRIAN        CHANCE                       ID     90014517341
316B87AA12B871   SANTOS       REYES                        ID     42009047001
316B88A765B52B   MARISELA     BERNAL MARTINEZ              NM     90013638076
316B8A8615598B   SHAO         LIN                          CA     90011940861
316B943762B871   EMMANUEL     ZAVALA                       ID     90006374376
316B9476641277   JASON        BELL                         PA     90009534766
316B9494277544   SAMANTHA     MORGAN                       NV     90014244942
316B94A517B471   LENISE       BROWN                        NC     90002684051
316B977225B156   MARSHA       JOHNSON                      AR     90013517722
316B97A5255972   SHONDA       FOLEY                        CA     48035857052
316B986897B445   GOVELLA      TOWNSEND                     NC     90001678689
316BB11617B639   ALVIS        FRANK                        GA     15021541161
316BB458191952   AKIN T       SEZENOL                      NC     90010854581
316BB4A5554165   DANIEL       PROVANSAL                    OR     90013274055
316BB78562B871   KENNY        LANHAM                       ID     42073027856
316BB95872B93B   LANCE        PECK                         CA     90010929587
31711323A31424   MICHAEL      WELCH                        MO     90014843230
3171146532B835   BONNEY       CODR                         ID     90002504653
3171194627B492   ANNA         BESS                         NC     90012179462
3171212734B281   AKU          ITEGI                        NE     90001961273
3171227A57B471   BRANDON      BISSOON                      NC     90012662705
317123A3855949   ISIDRO       BAEZ                         CA     90011483038
317124A5741258   ASHLEY       BALDAUF                      PA     51081654057
3171287882B93B   JESUS        FIGUERA                      CA     90005138788
31713418A8B162   DANIEL       PERRY                        UT     90007864180
3171367937B492   JOGE         PEREZ                        NC     90012506793
317142A7854165   DAVID        FLEHARTY                     OR     90014832078
3171434774124B   ARSEAN       HUMPHREY                     PA     51009953477
3171463215B393   MICHAEL      RUTHERFORD                   OR     44592336321
3171545232B835   KAILEA       GOFF                         ID     90007594523
3171552619125B   TANIKA       BELL                         GA     90004255261
3171554937B639   LAWRENCE     HARRIS                       GA     15034485493
3171563537B449   REGGIE       HENDERSON                    NC     90002116353
3171565AA2B871   GINA         HALLMAN                      ID     42073196500
3171592912B93B   IGNACIO      RODRIGUEZ                    CA     45035439291
3171652A67753B   BRETT        NELSON                       NV     90005945206
3171661762B93B   SUMMER       MARINESE                     CA     90013016176
3171671575B52B   ZALLEY       MUNOZ                        NM     90000127157
31716A62177584   JENNIFER     RICHARDSON                   NV     90008960621
3171816517B43B   YESENIA      HERNANDEZ                    NC     11026371651
3171978618B16B   LYNN         WELCHMAN                     UT     31096927861
3171B241191831   FRANK        SCHUETTE                     OK     21062252411
3171B446836143   JASMINE      BELMARES                     TX     90014714468
3171B53A37B492   CHRISTINA    ROBERTS                      NC     90012905303
3171B817551339   CURTIS       NEAL                         OH     90010218175
3172135437B471   HENRY        RAMOS                        NC     11001023543
31721421A7B43B   SABRINA      SHEALEY                      NC     90005344210
31721878A91967   KEYANNA      HICKS                        NC     90011938780
3172193455B281   ROBYN        SANDERS                      KY     90011659345
31722357A91584   OSVALDO      FELIX                        TX     90005253570
3172278665B52B   LAYLA        SALAZAR                      NM     90005577866
3172292514124B   ROBIN        KRALIK                       PA     90000339251
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3172321378B16B   MARIA         HINOJO                      UT     90014162137
3172377982B93B   BAUDELIA      MACIAS                      CA     90011917798
31723A82491371   ADAM          GRAVES                      KS     90004290824
31723A99241285   GELLINDA      GRIFFEY                     PA     90012400992
31724848763B27   JOSE          GARNICA                     IL     90006358487
31724AA227B449   MUNOZ         BRIZEDA                     NC     11063180022
31725292872B37   JOSE CRUZ     MEDINA                      CO     33093232928
317254AAA91831   ANGELA        RODRIGUEZ                   OK     90009614000
3172581A231424   LARRY         JACKSON                     MO     90009668102
31726776A4B943   GEORGE        ATCHISON                    TX     90001827760
317268A7847931   ELIZABETH     ROCHA RUIZ                  AR     90012398078
31726A1238B162   ENRIQUE       BARRERA                     UT     90003480123
3172736A851369   JOSHUA        BIBB                        OH     90014703608
3172821888B162   NISHA         PARMLEY                     UT     90014062188
317288A3441285   JAMES         MURPHY                      PA     90014318034
31728A5667B449   ANTHONY       MCILWAINE                   NC     11017370566
3172932A431424   SENOBIA       CROSS                       MO     90013053204
3172945785B52B   LACHELLE      FARIAS                      NM     90013444578
3172965792B835   ARTURO        DUARTE                      ID     42020666579
3172974A936143   TOM           RENDON                      TX     90012387409
317297A6251339   PAMELA        WENDLING                    OH     66065207062
3172B73792B87B   BRETT         RAINEY                      ID     90014347379
3172BA7315598B   THERESA       ALEXANDER                   CA     90003340731
3172BA78372496   ANNA          MURPHY                      PA     90013700783
3173113244B943   JAY ALLEN     VIDRINE                     TX     76527101324
31731A27936143   TAMMY         RICHTER                     TX     90006460279
3173218A25B385   ALMA          ADAME                       OR     90011661802
3173241425B156   KIM           COX                         AR     23069564142
3173364275598B   BRANDI        ZIMMERER                    CA     90005406427
3173369A35B393   ROLANDO       BARRERA                     OR     44520926903
3173387298B16B   NICOLE        MARTINEZ                    UT     31015758729
3173478A251339   WILLIAM       MCCOY                       OH     90001217802
3173539A67B492   ERICA         BURRIS                      NC     11093673906
3173547515B393   MICHAEL       DINAN                       OR     44511324751
3173559977B43B   SHALLAH       JUSTICE                     NC     90014445997
3173572A67B639   LACARA        JONES                       GA     90012827206
3173579614B281   AMANDA        TAYLOR                      NE     90013487961
317357A585598B   JOSEPH        ACUNA                       CA     49023297058
3173687752B871   TAYLOR        DAVIS                       ID     90011308775
31736A23181642   LADONNA       GRAVES                      MO     29079940231
31736A68736143   STARR         SAVOY                       TX     90014010687
3173711245598B   CATANA        TEODULA                     CA     90013681124
317374A315B393   RUBY          PEREZ                       OR     44590854031
31737A64655949   ERNESTO       ESTRADA                     CA     90015120646
3173976A191831   JOSE          RAMOS                       OK     90002437601
31739781A8B16B   CAROL         CHEATWOOD                   UT     90010647810
31739853472B76   JUANITA       TINAJERO                    CO     33094028534
3173987897B471   MIGUEL        MARTINEZ                    NC     90010408789
3173B51568B16B   DUSTY         PORTER                      UT     31042605156
3173B588141277   DARLENE       BRUDER                      PA     51045035881
3173B813591584   RENE          QUINONEZ                    TX     90011248135
3174159717B639   DIANNE        FORD                        AL     90014665971
31742111A55972   HILDA         TORRES                      CA     48058401110
3174218887B471   DENITA        PERRY                       NC     90014061888
3174239914124B   FELECIA       TOCA-MORAN                  PA     51083313991
317429A1591584   ELVA          VERA                        TX     90006019015
31742A96141258   JOHN          MITCHELL                    PA     90012370961
3174358688B16B   SARA          BAGGETT                     UT     31058455868
317436A4591831   JULIO CESAR   MIRANDA                     OK     90013686045
31743A4284B281   KIM           MATHEWS                     NE     27025610428
3174415823B352   JOSE          CARDENAS                    CO     90007181582
31744A2364B592   CINTHYA       ARIAS                       OK     90012660236
31746138A31424   MIEASHIA      JONES                       MO     90014701380
31746A1377B471   CARLOS        LOPEZ                       NC     11027520137
31746A82691584   MARIA         GREER                       TX     90011540826
317478A5641277   DALE          CROWELL                     PA     90014368056
3174792478B162   TRENT         OSWALD                      UT     90011969247
31747A16891584   SYLVIA        VACIO                       TX     90006230168
317481A775B536   MARYLYNN      CARRASCO                    NM     90002241077
31748411A91584   CLAUDIA       BERNAL                      TX     75090884110
31748A5377B471   PETER         HLAING                      NC     90013470537
3174B19454B281   GUY           HOLMQUEST                   NE     90014041945
3174B241A91371   THOMAS        CERON                       KS     90015342410
3174B47515B393   MICHAEL       DINAN                       OR     44511324751
3174B531336B77   WILLIAM       LUDAHL                      OR     90005865313
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3174B59717B639   DIANNE                FORD                AL     90014665971
3174B62197B386   FRANTZ                BASTIEN             VA     90002586219
3174BA8392B93B   MARY                  BURGESS             CA     45040350839
31751A7662B835   ERIC                  VENABLE             ID     42094780766
31752867A8B162   ROSEMARIE             ALDRICH             UT     90010698670
3175334915B52B   JAVIER                ARAUJO              NM     35040193491
317539A1131657   SHAMEKA               HARRINGTON          KS     90014639011
3175488647B449   MICHAEL               GIBSON              NC     90014508864
31754AA6251369   KELSEY                DUFFY               KY     90005800062
3175568A351369   STEVEN                DELOACH             OH     90013916803
317556A467B471   MARCUS                BOLICK              NC     90014156046
31755AA5597126   FRANK                 STONE               OR     90012480055
3175636295B52B   RACHEL                BLANCO              NM     90012913629
31756A81536143   NORMA PARRY BRUSCHA   GIBSON              TX     90008000815
3175772127B449   ANTHONY               CLYBURN             NC     90009107212
3175781242B871   THOMAS                FREINWALD           ID     90014738124
3175814557B492   BELINDA               BESS                NC     90002471455
3175829228B162   JASON                 TISDALE             UT     31084242922
317588A582B93B   SONIA                 VALENZUELA          CA     45066308058
31758A47641277   CHRISTINE             RUSSO               PA     90007220476
3175942382B871   SHELBY                YORK                ID     90013514238
3175969135B281   MARGIE                ADCOCK              KY     68093646913
3175B286777544   KERRY                 GEHLKEN             NV     90007842867
3175B367855972   ESTHER                FLORES              CA     90008563678
3175B57152B87B   JULIANA               TOLVES              ID     42097395715
3175B959691584   ALEJANDRO             ARREOLA             TX     90013209596
3175BA79141258   ROBERT                MEDVED              PA     90013610791
3175BA83191584   VICTOR                GONZALEZ            TX     90011540831
3176153345B393   MONICA                TAPIA               OR     90013355334
31761559A7B471   KEVLA                 GADDY               NC     90014455590
3176168444B281   TINA                  GRAY                NE     90013976844
3176177327B639   JERRENA               HILL                GA     90014667732
3176272432B835   ANDREW                MAIN                ID     90006507243
3176446932B835   NATHAN                HOBBS               ID     90011914693
3176458867753B   JORGE                 VARGAS-NAVA         NV     90011925886
3176477757B449   MARIO                 AMAYA               NC     90012237775
3176583925137B   EDGAR                 LOPEZ               OH     90012248392
317662A885B393   ELIJAH                FISHER              OR     90010632088
317662AA154165   MAYGN                 PATTON              OR     90007582001
317673A7291371   ANTONIO               NAPE                KS     90012243072
31767517672B76   SHANNON               HIGGINBOTHAM        CO     33052035176
31767771A91232   JANETT                JOHNSON             GA     90013607710
3176788847B471   ALISSIA               REED                NC     11004548884
3176817332B87B   JON                   SCHIRIPA            ID     90008511733
31768265A41285   STACEY                HEMINGWAY           PA     51033722650
3176844565598B   WILLIAM               DISNEY              CA     90012954456
31768536A5B156   ANDREW                STORY               AR     90014175360
3176918677753B   CLAUDIA LIZETH        CORTEZ              NV     90010521867
31769512A55949   ELVIS                 GILLIES             CA     49011665120
31769991A7753B   JAIRO                 AREVALO             NV     90012619910
31769A29277544   LENA                  MURPHY              NV     90005950292
3176B474177544   AMANDA                GAVIN               NV     43059194741
3176B67922B835   JUAN                  DELAGADO            ID     90013866792
3176B78787B639   TATIANA               THOMAS              GA     90011337878
3176B9A4491831   RAMIRO                MORIN               OK     90014769044
3177122944124B   EDWARD                JONES               PA     90012702294
3177142862B835   ROBERT                JOHNSON             ID     90014264286
317721A484B281   CHRISTINA             DAVENPORT           NE     90005421048
3177221A791831   MARIA                 GRAY                OK     90009342107
3177253A841277   MARKIA                PURDOM              PA     90014725308
3177293487B449   ALVARO                RAMIREZ             NC     90007329348
31774A29A91893   MARQUIS               JONES               OK     21051630290
3177523648B162   KEN                   TEMPLE              UT     31041232364
31775248A71996   KRISTEN               FELCH               CO     90009772480
3177577932B835   ANTHONY               CASTLE              ID     90014067793
31776232A51339   LINDSEY               JENKINS             OH     90013552320
3177675884B281   SHARI                 GRAHAM              NE     90014887588
3177697997B449   CRAIG                 DAVIS               NC     90014469799
31776A4615598B   CRYSTAL               TREJO               CA     90010960461
3177763987753B   YUMA                  MCGINTY             NV     90008256398
3177797654124B   RONALD                ESSER               PA     51031349765
31777A35A91584   MARTINEZ              CHRISTIAN           TX     90011970350
317786A817B449   ERNESTINA             CORTEZ              NC     90015336081
3177891877B471   ISRAEL                SHANKLE             NC     90011249187
3177897924124B   PAUL                  KOHLER              PA     51087509792
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3177929345B555   ROSEANNA J   GARCIA                       NM     90003222934
317797A7972496   ELDEN        HARPER                       PA     51079877079
31779A2148B162   CHRISTIAN    LOZA                         UT     90012190214
31779A6145B156   SHANIKA      DOZIER                       AR     23043950614
31779A77A55949   ROSA         RAMIREZ                      CA     90014770770
3177B38392B93B   JASMINE      OVIEDO                       CA     90014893839
3177B7A3174B97   CHRISTINA    CROUSE                       OH     90015077031
3177B837431424   CHRISTINA    MILLER                       MO     90011958374
3177B838984368   CLAUDIO      NAVA-NAVA                    SC     90007368389
3177BA4752B87B   NICHOLAS     SCOYNI                       ID     90015390475
31781258772B31   MARIA        DIOSDADO                     CO     90008802587
31781575172B76   STEFANIE     FLOREZ                       CO     90004825751
317819A5572496   AMY          MICKENS                      PA     90002499055
31781A16341277   SATERA       SMALLS                       PA     90014090163
31782A62291979   EDWIN        GUZMAN                       NC     90002030622
3178323A941285   STEPHANIE    HAGOOD                       PA     90013912309
3178377A57B492   LAURA        HERZING                      NC     90014597705
3178389472B93B   FRANCISCO    GARIBAY                      CA     90009978947
317838A3131424   LAKESHA      JOHNSON                      MO     90010808031
31783996872B36   KIRSTEN      DAVIES                       CO     90002409968
3178475577B639   TONYA        WILLIAMS                     AL     15005177557
31785349A4B281   EDDIE        KELLOGG                      NE     90013393490
3178536A672B76   DONNA        RYAN                         CO     90005423606
3178538127B471   KEVIN        BROWN                        NC     11001283812
3178547235598B   JASON        BETANCOURT                   CA     90013194723
3178584457B449   CHRISTINE    JONES                        NC     90008648445
3178619135B393   JASON        DE PAZ                       OR     44584101913
3178625997B449   MARIA        HERNANDEZ                    NC     11034832599
3178641A677544   FIDEL        DELAROSA MONTES              NV     43085574106
3178661132B871   GERRY        LOWE                         ID     90008286113
3178667397B639   NITESHA      ADAMS                        GA     15010186739
31786A33331424   BOBBY        WASHINGTON                   MO     90009910333
317876A492B93B   RAYMOND      MULDER                       CA     90002956049
31787A36655972   JENNIFER     FINDLEY                      CA     48073180366
31787A6A377544   CRISTIAN     CHAVEZ                       NV     43071650603
3178874188B162   LESLEY       LAFFERTY                     UT     90003107418
31788958A7B43B   ERICA        BLACK                        NC     11022719580
3178958A791232   TYRE         SMITH                        GA     90015195807
31789852A72496   LISA         COLE                         PA     51015438520
3179129375B156   WILLIE       MAY                          AR     23058092937
3179178917B471   LOUVENIA     BRANT                        NC     90013237891
3179227315B52B   VALERIE      LEYBA                        NM     90014842731
3179233237B449   MICHELLE     MASSIE                       NC     11058063323
3179287665598B   XIONG        LEE                          CA     90015588766
3179288412B93B   CYNDI        KOPECKI                      CA     45051628841
31792961A4B281   ROBERT       FAUST                        NE     90014859610
3179323315598B   AIOTEST1     DONOTTOUCH                   CA     90015122331
3179323A572B76   ANGEL        ORTIZ                        CO     90009332305
3179355432B93B   JUSTIN       JEWETT                       CA     90009995543
317935A4855972   JASON        PETTY                        CA     48090485048
3179393767B471   LYNDIA       CORTES                       NC     90010409376
3179399417B449   ANGELA       WILLOUGHBY                   NC     11080529941
3179416775B52B   AARON        DOMINGUEZ                    NM     90006501677
3179446A255972   ROGELIO      ORTIZ                        CA     90006784602
31794A52391587   MARIA        MATA                         TX     90011180523
317951A4491584   RAQUEL       FAVELA                       TX     90011251044
3179657432B87B   ALBERT       ELLIS                        ID     90008275743
3179746315598B   MARIA        PIMENTEL                     CA     90013204631
317974A547753B   CONNIE       NELSON                       NV     90006734054
3179777257B639   ALFREDO      AYALA                        GA     90011777725
31797A4625B281   JEFF         CLARK                        KY     68002220462
31797A75631424   LAMARCUS     PRUIETT                      MO     90015130756
3179866712B835   MATTHEW      ELLIS                        ID     90012866671
3179882A741285   BRIAN        SCOTT                        PA     90010088207
3179978657753B   LONA ANN     FULLER                       NV     90013297865
31799A51647931   TREVOR       HUTTON                       AR     90013940516
3179B31382B871   DANA         MCPHEETERS                   ID     90010623138
3179B75885B52B   JOSE         LUCERO VALENZUELA            NM     90009247588
3179B974A91371   NAKIA        EZELL                        KS     90005749740
3179BA44972B76   RODOLFO      LOPEZ                        CO     33047840449
317B127897753B   ERNESTO      TRUJILLO                     NV     90013912789
317B12AA272496   LETITIA      FRYE                         PA     51035392002
317B1868572B76   JASON        BEAUMONT                     CO     33048508685
317B21A8141277   DYAN         JONES                        PA     51009231081
317B2891772B76   NANCY        LOPEZ                        CO     33020438917
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317B395A191232   KEANDRA      JENKINS                      SC     90011999501
317B3A3884B281   MARIA        PINEDA                       NE     90011110388
317B4627951339   BRYAN        JARBEAU                      OH     90012326279
317B542838586B   JAMES        CARLSON                      CA     46034554283
317B544538B162   MARCELA      BANUELOS                     UT     90014444453
317B5497625632   JOEL         LOPEZ                        AL     90013954976
317B572167B43B   JACKIE       MILLINGTON                   NC     11093947216
317B5946551339   ASHLEY       MESSER                       OH     90001819465
317B5A7A651339   DENNIS       DUNBAR                       OH     90010840706
317B7A27472496   KIERRA       GIBSON                       PA     90014690274
317B823715B52B   C            COFFIELD                     NM     35054472371
317B8499572496   CHERYL       WIDERNER                     PA     90014284995
317B853764124B   BRAD         WRIGHT                       PA     90008855376
317B8697A7B449   BRIAN        HILLMAN                      NC     90003586970
317B8732651339   DONNA        WAGES                        OH     90006067326
317B874183147B   MARK         HOUSTON                      MO     90012947418
317B888338B162   ADRIANNA     TERRIQUEZ                    UT     90011778833
317B8895833626   TAVIRO       ROYSTER                      NC     90000318958
317B9181477544   ADAN         GUZMAN-GONZALEZ              NV     90014861814
317B927615B393   STACY        CHRISTENSON                  OR     44595192761
317B98A9572496   KAREN        STEWART                      PA     90013468095
317BB17768B162   DAVID        LINDSEY                      UT     90014061776
317BB31998B16B   TULIO        GONZALEZ                     UT     90013793199
317BB428672496   KAYLENA      HARREL                       PA     90014654286
317BB479291831   HUGO         LOPEZ                        OK     90009884792
317BB87395B281   PHYLLIS      JANHA                        KY     68067968739
3181259984B281   JACOB        LEWIS                        NE     90014705998
318126A937B639   ERIKA        BELL                         GA     90014676093
3181354852B93B   PLAY         BOY                          CA     45093095485
318144A2541258   VALERIE      RAMAGE                       PA     51063124025
31814A3652B835   ASHLEY       FINCH                        ID     90013540365
3181523A42B87B   DAVID        BRYENTON                     ID     90012872304
3181524A65B156   TANYA        FITZGERALD                   AR     23050182406
31815336A7753B   JUAN         DIAZ                         NV     90005613360
31815416A91584   ARMANDO      ROGELIO MANZO                TX     90009234160
3181555A12B835   JESSE        STARKEY                      ID     42086185501
3181574242B93B   MIGUEL       CARRERA                      CA     90013167424
3181611157B639   GABRIEL      DENT                         GA     90014681115
3181677385B393   BIN          YANG                         OR     44533697738
31817221172B83   ESTHER       LEAKS                        CO     90003952211
3181822462B93B   BRITANIE     HALLMON                      CA     90010002246
318187A987753B   JAVIER       MARTINEZ                     NV     90015177098
3181916697B639   JEANETTE     STONEBACK                    GA     90014681669
31819444A2B93B   JUAN         LOMELI                       CA     90012494440
31819626A2B93B   KARLA        GONZALEZ                     CA     90012456260
318196A9831424   OPAR         DIXON                        MO     90014886098
3181972284B281   ROBERT       MEYERS                       IA     90012637228
31819962A4124B   JIM          WENGER                       PA     90004939620
3181B57954B534   ELMER        AREVALO                      OK     90011625795
3181B58667B639   MURAISHA     HILL                         GA     90014675866
3181B635972496   BRANDON      FRANKS                       PA     90014136359
31821188598B61   ESSENCE      WATSON                       NC     90003831885
318213A162B87B   MICHELLE     ACKERMAN                     ID     90006473016
318215A4451369   TAMIKA       FLUELLEN                     OH     66034485044
318216A3236143   JESSICA      HERNANDEZ                    TX     90007816032
318218A317B471   SHAWN        MILLER                       NC     11014958031
318218A4855972   JESS         AHUMADA                      CA     48015478048
31821A3745598B   REGINE       ALONZO                       CA     90013710374
31822196A51339   JULIE        MELTON                       OH     90009061960
3182227477B639   KINGSLEY     JONES                        GA     90009912747
3182319138B16B   KAMI         SVENDSEN                     UT     90004721913
31823461A7B449   LASSHANDA    CHAMBERS                     NC     90013144610
3182352324B281   JOSE         CHAVARRIA                    NE     27091165232
31823A48176B45   NATHANNAEL   WREN                         CA     90008720481
3182417317B639   SYMMONE      WILLIAMS                     GA     90014681731
3182479262B93B   NIKKI        MICHENER                     CA     90011947926
318247A9341258   RJ           MCGINNIS                     PA     90003477093
318247AAA41285   LEN          YANCEY                       PA     51049797000
3182538A154165   TINA         MERCURIO                     OR     90014563801
31825A3815B281   TRINA        CARTHEN                      KY     90003700381
31826A37757B79   MARK         TOMCHAK                      PA     90013870377
318275A1A91584   LORENA       GUTIERREZ                    TX     90004295010
318282AA541277   MARGARET     KULKOWSKI                    PA     90009762005
318284A7172B76   JARED        ROBERTS                      CO     33008494071
3182869987B639   TAMEKIA      JACKSON                      GA     90001716998
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3182B52238B162   DANIEL          PERRY                     UT     90007865223
3182B661331424   JAYLA           JOHNSON                   MO     90013466613
3182B698441258   CHRISTOPHE      BARTON                    PA     51082236984
3182B7A215598B   FRANCISCO       VASQUEZ                   CA     49001207021
3182B87124B943   GARY            YOUNG                     TX     90004378712
3182B957351339   TIMOTHY         ESTES                     OH     90014199573
3182B99655B52B   RAMONA          BARAY                     NM     35033229965
3182B9A4391881   CLAYTON         COLEMAN                   OK     90010629043
3183116697B639   JEANETTE        STONEBACK                 GA     90014681669
31831341A51369   SCOTT           MEADOWS                   OH     66046893410
3183135958433B   CYNTHIA         SAMUEL                    SC     90004113595
3183188412B93B   CYNDI           KOPECKI                   CA     45051628841
3183233985B156   CARMELITA       JACKSON                   AR     23046183398
3183269354124B   JAMES           MAMULA                    PA     90013636935
3183276A131424   JOHNESE         OWENS                     MO     27505757601
31832A9815B393   NICKESHA        BRYAN                     OR     90007260981
3183312817B43B   PATRICE         MCGRIFFIN                 NC     11014801281
31833151A36B77   BLAYNE          EDWARDS                   OR     90014451510
31833159A55972   VALERIE         SANCHEZ                   CA     90003991590
3183316825B393   ARMANDO         SANTOYA                   OR     90013941682
31833A5A77B639   CLEOPATRA       HARRISON                  GA     90014700507
318348A525B52B   MARK            MARTINEZ                  NM     90001318052
3183525797B639   MELVIN          PENDLETON                 GA     90014682579
318353AA32B93B   PAULINA         CASTILLO                  CA     90010843003
318354A8141285   MEGAN           DANIEL                    PA     90012674081
3183663762B835   CRYSTAL         OSBORN                    ID     42098966376
3183668252B871   ALEIA           RIVERA                    ID     90013296825
318368A2672496   SHANE           BURKHOLDER                PA     90013508026
318368A654B943   CHARLES         JOHNSON                   TX     90006488065
3183B23964B931   CHARITY         BRANAM                    TX     76581072396
3183B559991371   PETRINA         EDWARDS                   NE     90014705599
3183B659291232   TRESA           SMITH                     GA     90014586592
3183B85725B161   RONALD          MARTIN                    AR     90008738572
3183B9A437753B   KADYBETH        THOMPSON                  NV     90003509043
3184123284B943   STACEY          GUIDRY                    TX     90006352328
31841298A41285   DANA            CHEDWICK                  PA     90008032980
3184134317B492   AMICKE          ADAMS                     NC     90001423431
3184238367B639   SHELLEY         MILLS                     GA     90014913836
31842429A7753B   DAVID           BARAJAS                   NV     90010914290
31842533A55972   SERGIO          SAUCEDO                   CA     48029585330
318426A692B93B   DAVID           CESENA                    CA     90013676069
3184298442B87B   DAWNA           KETTER                    ID     90011609844
3184433668B16B   FRANCISCO       URBINA                    UT     90014993366
3184461594B559   CHRISTINE       QUINN                     OK     90012596159
3184476955B393   PATRIK          MARTIN                    OR     90015267695
3184478A891584   CRYSTAL         CONNER                    TX     90000497808
3184487954124B   JEFF            CHIEFFO                   PA     51035618795
318464A6981642   MATTHEW         AINSWORTH                 MO     90005024069
318465A7391831   WALTER          LOPEZ                     OK     90012825073
3184683558B16B   ADRIANNE        MURRAY                    UT     90004848355
3184814A736143   APRIL           VELA                      TX     90011301407
3184876817B449   DEBORAH         YOUNG                     NC     11079677681
31848A2684124B   HAROLD          GOOLSBY                   PA     90010490268
31848A31971923   MARIO ANTONIO   CRUZ                      CO     90002130319
3184999917B653   KIMBERLY        WALDEN                    GA     90014319991
31849A58655972   ERENDIRA        ALCANTAR                  CA     90013470586
3184B21267B449   JOSE            MENDOZA-MAJANO            NC     11018162126
3184B34377B492   TERRY           BREEDLOVE                 NC     90009933437
3184B345551339   KIMBERLEY       YOUNGBLOOD                OH     90012863455
3184B369336143   JOSE            GUTIERREZ                 TX     90014333693
3184B3A7855949   JOHNNY          NAVARRO                   CA     90013343078
3184B662951369   RANJIT          PILLAI                    OH     90013926629
3184B713377544   ORLANDO         FUENTES                   NV     90009967133
3184B76A15598B   DION            BRAWLEY                   CA     49034267601
3184B79417753B   VICTOR          GUEVARA                   NV     43018987941
3185122487B492   BERT            SCOTT                     NC     90013282248
3185147235B253   ISMER           RAMIREZ                   KY     68091014723
31851A25847931   MAKWAN          SCROGGINS                 AR     90013580258
318536A7324B42   GLENDA          RAMOS                     DC     90008026073
31854242A55949   ANDRE           BLEDSAW                   CA     90009432420
31854A46A91371   CHRIS           KIRBY                     KS     29020290460
31854A87841277   DANIEL          BELL                      PA     90012460878
3185552232B93B   ROGELIO         GALAN                     CA     45001395223
318559A1491831   CRISTINA        DUARTE                    OK     90013639014
3185656662B93B   JAMES           GARNER                    CA     90013065666
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3185662747B639   RORY          ROGERS                      GA     90014686274
318567A637B449   TESHELLE      SANDWICK                    NC     11082227063
31857491A77544   INEZ          ANDRIUS                     NV     90010954910
3185789139125B   DONALD        LAMBERT                     GA     90010148913
3185828142B87B   GABRIELA      GOMEZ                       ID     90001032814
3185864377B639   JOHNATHAN     EVANS                       GA     90014686437
31858643A7B639   COLBY         PEEBLES                     GA     90011796430
31859A3527B492   QUITINA       FOSTER                      NC     90013310352
31859A6A47753B   SHAUN         HEIKKINEN                   NV     90010760604
3185B626571947   PHILIP        BISHARA                     CO     32091636265
3185B7A5A5598B   DELIA         PALMA                       CA     90009987050
3186121494124B   JENNIFER      PESTOK                      PA     51069912149
3186172934B943   YASMIN        MONTGOMERY                  TX     90004907293
318618A7A4B281   JEFF          GIBLER                      IA     90013488070
3186242194B542   JAMES         MAXEY                       OK     90014384219
3186257882B87B   JENNA         KER                         ID     42000405788
318638AA95B281   APRIL         GRIGSBY                     KY     90002898009
3186444517B639   GREGORIO      CORRILLO                    GA     90011924451
3186573187B639   SHELTAVIA     MILES                       GA     90014687318
3186574562B93B   JULIO         PACHECO                     CA     90014747456
318663A4291831   DENISE        BUNNER                      OK     21044543042
3186643A141258   JALEESA       HOWARD                      PA     90013304301
3186644A347931   OSCAR         SANCHEZ                     AR     90013804403
318667A3841258   JAKE          GRAY                        PA     90005837038
31866A3928B162   MIGUEL        VEGA                        UT     31085910392
3186718425B393   TRACEY        BURBANK                     OR     90013941842
3186862217753B   KIMBERLY      WISEMAN                     NV     43086696221
3186958242B835   THOMAS        FREINWALD                   ID     90014765824
3186963688B16B   KITTIE        PEACOCK                     UT     31098656368
3186979773B325   BACA          REBA                        CO     33015147977
3186987892B87B   DEREK         BOWMAN                      ID     90013478789
3186993792B87B   MARIA         AVALOS                      ID     90010419379
31869A95A7B639   WANDA         LEE                         GA     15057550950
3186B38A772B76   JOSEPH        SINK HORN                   CO     33016723807
3186B942436143   RAFAEL        CORDOVA                     TX     90014149424
3187165827B471   MARINA        TUESTA                      NC     11025516582
318717AA491584   HECTOR        MORENO                      TX     75067087004
318718A117B449   MIRNA         TRUJILLO                    SC     11088668011
3187234187B449   SEVERIANO     GONZALEZ                    NC     90014173418
318723A9351369   KRINA         GRIFFIN                     OH     90010103093
31872827772B76   ERICA         SILVA                       CO     90000668277
3187295292B871   JANET         BRIGGS                      ID     42012719529
318731A6936143   YESENIA       CRUCES                      TX     90014801069
3187361122B835   CHRISTOPHER   GOODIN                      ID     90010036112
31873A5355B281   CAZELLA       WATKINS                     KY     68002220535
3187412425598B   ANSEL         HENDRICKSON JR              CA     49090141242
3187452712B93B   REYNA         LUCERO                      CA     90015115271
318745A252B87B   BRET          MARVIN                      ID     90010075025
3187485A47B471   ANTONIA       WILLIAMS                    NC     90009588504
3187518425B393   TRACEY        BURBANK                     OR     90013941842
3187576372B87B   SOPHIA        HERNANDEZ                   ID     90015597637
31875A98A36143   DEONTA        CHITTY                      TX     90015170980
31876141A5B281   TYRIESHA      DOUL                        KY     90011661410
3187616755593B   ROSHANDA      SMITH                       CA     90007781675
3187626A536143   ANN           THOMAS                      TX     90013612605
3187661544124B   LADEA         TERRELL                     PA     51012056154
31876899A54165   SHAYLA        LANDEROS                    OR     47096058990
31876968A8B16B   TRINA         RAMIREZ                     UT     90009849680
31876A5A95B393   BARBARA       MARTINEZ                    OR     44515420509
3187725458B16B   DALE          TORONTO                     UT     31064372545
318781A487753B   MARIA         GONZALES                    NV     43054291048
318788A6441285   DESIREE C.    HALL                        PA     90004878064
3187926A841277   SCOTT         PENNY                       PA     90014102608
3187B13572B87B   MEGAN         AGNEW                       ID     90013411357
3187B151A31494   JOSEPH        ROSS                        MO     90010751510
3187B2A2A91232   ROBYN         JONES                       GA     90013942020
3187B574451369   EVETTA        COLEMAN                     OH     66050335744
3187B963755972   ALEJANDRO     RODRIGUEZ                   CA     48098139637
31881192A5B281   SHAWMECA      GRAVES                      KY     68089221920
3188129658B16B   TAMI          SMITH                       UT     31023352965
318823A427B492   PAUL          ROKICKI                     NC     90014663042
3188256175B52B   JANE          SEELE                       NM     35049785617
318825A8991584   MONICA        SELLS                       NM     90007255089
3188271527B43B   YEINA         WALLACE                     NC     11014817152
318827A585598B   REBECCA       BARHAM                      CA     90000387058
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318827A8155972   JOSEPHINE               HUERTA            CA     48013357081
3188346768B162   STEPHEN                 WING              UT     31066574676
31883A5277B471   BRYAN                   SHAW              NC     90014580527
3188427635B393   BRAD                    ROTHENBERGER      OR     44558672763
31884311A41277   APRIL                   TURNER            PA     90014073110
3188447165B52B   MARGARITA               PEREZ             NM     35046434716
3188475145B398   AMBER                   RHOADS            OR     90010767514
3188532417B492   RAQUEL                  ANDRADE           NC     11015503241
3188549A691584   JOHN                    HAYNES            TX     75021044906
3188575447B471   EMILY                   RUSSELL           NC     11094027544
3188585535B281   CRYSTAL                 KILGORE           KY     68050438553
3188612327B471   KEVIN                   KESSLER           NC     90013051232
3188657A67B639   LAMEL                   JORDAN            GA     90002835706
3188674662B835   JACOB                   ANACKER           ID     90011107466
3188716749152B   FERNANDO                LARA              TX     90014891674
3188758A95598B   CATHERINE               HILL              CA     90012305809
3188772447B495   KARLA                   CORTEZ            NC     90008997244
31887778A51369   ANTHONY                 HEART             OH     90004347780
3188813314B989   ALTHEA                  BROWN             TX     76508121331
31888511A7B471   ELLA                    ROBINSON          NC     11070835110
318887A184123B   RAYCO                   PROPERTIES LLC    PA     51093757018
3188883A236143   LAURIE                  BURTON            TX     73597518302
3188896818B162   SANDRA                  JOHNSTON          UT     90003919681
3188958762B871   NAPHTALI AND ADRIANNA   CORTEZ            ID     90014705876
318897A742B93B   RAFAEL                  CRUZ              CA     90009207074
3188B57AA7B492   VERONICA                CANEAL            NC     90010665700
3188B89A97B639   SADARIA                 JACOBS            GA     90014688909
3188B979972496   HOLLY                   GUTHRIE           PA     51095859799
3189143915B52B   ROSA                    ORTEGA            NM     90013364391
31891A84955949   ALEJANDRA               ESPINOZA          CA     49081870849
3189217262B93B   SANDRA                  BLAIR             CA     90014271726
318927A5747931   BRADLEY                 MCINTYRE          AR     25003147057
3189296978B16B   LONDON                  PORTER            UT     90013129697
3189349385B156   VANESSA                 DUNN              AR     23053674938
3189366972B93B   SUZIE                   VIDALES           CA     90010696697
318939A278B16B   LEWIS                   KEYES             UT     90010769027
31893A8AA72B76   JESUS                   CORREA            CO     33035610800
3189463968B179   CHRISTOPHER             NESTMAN           UT     90011876396
31894A9348B162   MAIRA                   ROBERTSON         UT     31079150934
3189522384B943   AMANDA                  BLACKWELL         TX     76508392238
318955A9391371   NIKKI                   SHARP             KS     90011895093
3189568A22B93B   MAIS                    YOUSIF            CA     90013376802
318956A7955972   LARRY                   MARQUEZ           CA     48043766079
3189578555B52B   ROSARIO                 SILVA             NM     35074637855
318961A867B639   SHONTA                  CLARK             GA     15086581086
3189718337B639   PATRYCE                 LIGON             GA     90014691833
31898764A91232   MATTHEW                 OLLIFF            GA     14583747640
31899187772B76   GERARDO                 BANUELOS          CO     90002161877
3189936A191371   SANDRA                  RODRIGUEZ         KS     29067643601
3189955592B87B   JENIFER                 SANFORD           ID     42092915559
3189976614124B   MARTHA                  LAWRENCE          PA     90010437661
3189B284472B76   CARLOS                  MORENO            CO     90013962844
3189B375A61925   JUAN                    RUIZ              CA     46077643750
3189B572391232   TIFFANY                 EDWARDS           GA     90014055723
3189B6A6836B71   RAFAEL                  PINEDA            OR     44560156068
3189B752381642   DENISE                  COX               MO     90006917523
3189B764A7B492   JOVAN                   SEWELL            NC     90004917640
3189B814854165   JESSE                   YOAKUM            OR     90010688148
318B1131291932   ANA                     TICAS MORENO      NC     90014961312
318B1261851339   VICTOR                  THOMASE           OH     90015322618
318B2187377544   SHANNON                 GEIST             NV     90000401873
318B22A847B639   KRISTEN                 LEGEAR            AL     90014672084
318B3671591371   MECHELLE                HIBPSHMAN         KS     90009096715
318B3916855972   SHEENA                  PENSOTTI          CA     90010459168
318B3A6217753B   JACOB                   BENDER            NV     43073090621
318B415798B162   PAYGO                   IVR ACTIVATION    UT     90012811579
318B4179891831   JUAN                    LEAL              OK     21050171798
318B449495B253   SHEREKA                 FIRMAN            KY     90011534949
318B44A565B52B   CALEN                   BOGUSKI           NM     90009404056
318B4714955949   JOE                     VALENCIA          CA     49098727149
318B477275B281   VICTOR                  HILLERICH         KY     68081177727
318B4A7147B639   QUINTERA                KING              GA     90014680714
318B627755B52B   VERONICA                SOLANO            NM     90014812775
318B645262B871   SARAH                   SUTTON            ID     42013724526
318B653157B639   TRISTAN                 THOMPSON          GA     90014675315
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318B6947831663   SHEILA       ANDERSON                     KS     22093059478
318B7846881642   JEANNEAN     GRIFFIN                      MO     90004998468
318B813215B393   OLIVA        CUEVAS                       OR     44598901321
318B846A241285   LACY         DANIELS                      PA     90008904602
318B86A837B449   DELIO        MORA MARTINEZ                NC     11078356083
318B874715598B   TENNEILLE    KNIGHT                       CA     49006027471
318B8AA6177544   LIDIA        BARAJAS                      NV     43044650061
318B9362355972   DARWIN       AUBREY                       CA     48019263623
318B93A2A5B393   ROBERT       HAMILTON                     OR     44521943020
318B9537941258   JOSEPH       MAZZA                        PA     90013395379
318B96AA131433   STEPHANIE    CLAY                         MO     90011866001
318BB485791831   LUIS         ZURITA                       OK     90010384857
318BB53754124B   RAY          MORROW                       PA     90010935375
318BB642472496   SHALAN       THOMAS                       PA     51004346424
3191166848B16B   JAIME        RUIZ                         UT     90008676684
3191179525B52B   CHELSEA      STARKS                       NM     90013457952
3191198334124B   SARAH        HETRICK                      PA     90003889833
31911A1AA5B393   AMY          HEINRICHS                    OR     44575830100
31912152A51369   PAMELA       TEKULVE                      OH     90012601520
319121A3A51339   TIAH         ADAMS                        OH     90014621030
3191264265B52B   TERESA       LICON                        NM     35083236426
3191331637B639   MARTAVIOUS   HILL                         GA     90014693163
3191335557B639   ROSA         JONES                        GA     90011813555
3191335785B393   SHERITA      GLASS                        OR     90013583578
3191343845B161   LATRESE      LYONS                        AR     90001614384
3191357262B871   TERESA       PORTER                       ID     90013575726
3191399968B16B   CRISELDA     CASTRO                       UT     90013849996
3191436A451323   RON          DENICOLA                     OH     90004993604
3191445487B492   RENE         LAUREANO                     NC     90010394548
31914A4412B871   ELIZABETH    TERRILL                      ID     42083100441
3191534667B639   SHANEA       BUIE                         GA     90014693466
3191685294124B   FRANCINE     SHAPERA                      PA     51047408529
319169A318B162   WESLEY       HEPPLERS                     UT     31002489031
3191744712B871   KAY          PETERSON                     ID     42042224471
319174A4647931   ANGELA       RITTER                       AR     90014154046
3191813612B835   HUNTER       JOHNSON                      ID     90012751361
3191836567B639   STEPANIE     MCDOWELL                     GA     90014693656
31918647A51339   SHERRI       SMYTHE                       OH     90014436470
3191B714636143   ROBERT       HERNANDEZ                    TX     90012537146
3191B815841258   MONIKA       HILLS                        PA     90007628158
3191BA7755B52B   FLAVIO       PRADO-AVALOS                 NM     90012710775
3192121328B16B   HAZEL        GUMBS                        UT     90014232132
31921391672B83   ROBERT       HERNE                        CO     33065913916
31921545297B57   JASON        COOVER                       CO     90010075452
3192225312B871   SEBASTIAN    MORFINES                     ID     42089572531
3192273655598B   RICKY        ARENIVAZ                     CA     90013767365
319229A5A5B281   JEREMY       BALLARD                      KY     90003409050
3192313AA2B835   DAKOTA       CLEVERLY                     ID     90014341300
3192339697753B   ALICIA       BRAUSEY                      NV     90003723969
3192356A551339   JUSTIN       MCGLOSSON                    OH     90013025605
3192359672B835   AMANDA       ALEXANDER                    ID     90004075967
3192388A972B76   CHISTOPHER   OSWALT                       CO     90006838809
31924157572B76   JAMES        MULLINS                      CO     90000581575
3192444867B639   VALENCIA     COLVIN                       GA     90014694486
31924467A72496   EARL         BURNWORTH                    PA     51079464670
3192573A67B639   JEYVIN       SMITH                        GA     90014127306
31925AA6677544   GINA         SIDLE                        NV     90014720066
3192645672B559   DAVIDA       GUNN                         AL     90014144567
3192663599125B   CHARLES      PRIESTER                     GA     90007466359
319279A5A5B281   JEREMY       BALLARD                      KY     90003409050
319285A667B449   CRYSTAL      WEEKLY                       NC     90012875066
31928A9775B393   BOBBIE       MARSHAL                      OR     90014720977
3192953192B93B   CARLA        DE LANCY                     CA     90012495319
3192968124B281   BICH         LE                           CO     27003136812
3192968455B545   ANTHONY      RIVERA                       NM     90013786845
3192B11487B492   AUDREY       JETER                        NC     90011421148
3192B46115598B   JORGE        EVANGELISTA                  CA     49000914611
3192B63A95B52B   ANDREA       SALAZAR                      NM     90010346309
3192B747A8B16B   CANDY        FREDRICKSON                  UT     90014167470
3192B886A47828   CARON        GOLDEN                       GA     90010428860
3192B92188B157   GORDON       PUTNAM                       UT     90010519218
3192B986241285   BRIAN        YOTS                         PA     90007129862
3193178582B93B   LUIS         ALFARO                       CA     90013087858
31931A41A77544   COLLEEN      DYKMAN                       NV     90014370410
3193274942B835   ANASTACIA    CALAMACO                     ID     90006247494
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31932927A7B639   DANIELLE      SAVAGE                      AL     90001079270
3193373A27B471   SANDRA        POTTS                       NC     90006367302
3193395485B393   DENAE         STITES                      OR     44531169548
3193455287B449   GWEN          HOLDEN                      NC     90013225528
31934927A7B639   DANIELLE      SAVAGE                      AL     90001079270
31934A8837753B   JUAN          MUNOZ                       NV     90015150883
3193527A555949   ANISSA        AGUIRRE                     CA     90010812705
3193559747B639   CATHERINE     POWELL                      GA     90014695974
3193571A447931   SAUL          RIVERIA                     AR     25071017104
31935844A5B52B   JARRED        GAUNA                       NM     90011498440
3193662372B93B   MICHELLE      BRATTON                     CA     90008206237
31936A1A42B87B   GLORIA        AMADOR                      ID     90013450104
3193893A12B87B   MARTIN        WILLIAMS                    ID     90009759301
3193936648B162   RONDA         THORNTON                    UT     90010543664
3193995A691584   VERONICA      BELTRAN                     TX     90013949506
31939A7848B16B   TAMMIE        NICHOLS                     UT     90013470784
3193B54257B639   TAMMI         WALKER                      GA     90014695425
3193B6A2772496   JAMIE         GRAHAM                      PA     90014956027
3193B8A8A31424   DIANA         MALONE                      MO     90013628080
3193B95A691584   VERONICA      BELTRAN                     TX     90013949506
3194258A391584   PATRICIA      CANGAS                      TX     90014015803
3194268198B16B   DONALD        OWENS                       UT     31036636819
31942887A2B93B   EMILENA       CASTRO                      CA     90014728870
3194293264123B   GREGORY       MAYO                        PA     90006329326
3194294342B871   STEPHANIE     WARNER                      ID     90011309434
3194351342B835   BRETT         MARSHALL                    ID     42053105134
3194361882B871   HEATHER       WALLACE                     ID     42012236188
3194376545B393   AMBER         PATRAW                      OR     90000357654
31944171A51369   SEAN          MITCHELL                    OH     90014331710
3194454645B393   LATRINA       MADISON                     OR     90014085464
31944981A8B16B   NANCY         ISAACS                      UT     31073349810
319456A3191371   TONYA         HOPKINS                     KS     90009266031
319458A552B93B   GABRIEL       URBINA                      CA     90011618055
3194649967753B   ANDREW        SNYDER                      NV     43016324996
31946A26691831   CATHERINE     LANHAM                      OK     90014260266
319473A8391584   ANA           CASTILLO                    TX     75094563083
3194789A47B492   ANSORN        TUTTANON                    NC     90011788904
31948239176B44   LUSA          DE LA CRUZ                  CA     90014122391
31948457A47931   JEFF          BOLDRA                      AR     90003514570
3194872785598B   GEORGE        PARKER                      CA     49086997278
3194875997753B   SAMANTHA      AGUILAR                     NV     90014377599
3194887475B281   DEBORAH       BOSTON                      KY     68098598747
3194B317261435   MICHAEL       MCKNABB                     OH     90013803172
3194B373891584   ALMA          MAGERS                      TX     75092273738
3194B425951369   KEN           PATRICK                     OH     90004624259
3194B85872B93B   MIGUEL        CERDA                       CA     90013368587
3195116A891232   ANTONIO       KELLY                       GA     14594031608
3195136635B393   ARMANDO       SANCHEZ                     OR     44511173663
319513A6155972   SIERRA        KARLA                       CA     90004183061
3195158928B16B   SHARI         L AVERY                     UT     90008705892
3195169154B281   MICHAEL       CURPHEY                     NE     90013976915
3195247857753B   JOSEPH        VILLALVA                    NV     90010214785
3195292482B871   ROGER         FAULL                       ID     90004719248
3195317494124B   JOSEPH        CORSO                       PA     90003861749
3195323337753B   LYDIA         DOWDY                       NV     90014992333
3195434212B87B   TERRENCE      BOLES                       ID     90012863421
3195531587753B   IRA           KIMBALL                     NV     90006133158
319555A9655949   NORMA         MACIAS                      CA     90012905096
319567AA751337   T             THOMAS                      OH     90009557007
319575A795B393   MEGAN         BROWN                       OR     90011895079
3195783377B639   FREDRICK      BOWSER                      GA     90014698337
31957A72891584   GABRIELA      LUNA                        TX     90013000728
319585A2951339   DESTINY       MCDANIEL                    OH     90015605029
3195896534B281   FRED          BRUCE                       NE     90011209653
3195944822B835   RUBY          MIER                        ID     90014554482
3195958425B52B   IGNACIO       HERNANDEZ                   NM     35006745842
3195B47617B639   ANGELA        MASON                       GA     90011824761
3195B958772496   CHRISTOPHER   CROMO                       PA     90014739587
31961342A91232   TIFFANY       PRETTY                      GA     90013943420
31961538A36B77   MARISA        MELINA                      OR     90015175380
31961945A5598B   RAFAEL        DIAZ                        CA     49052969450
31961A92891952   CANDACE       SUTTLES                     NC     90002660928
3196228A991371   KARIA         MYERS                       KS     90010342809
3196246435B393   ROBERT        SCHNEIDER                   OR     90013754643
3196257645598B   VANESSA       PLACENCIA                   CA     90015155764
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3196285A17B639   CHERWANDA      JONES                      GA     15073228501
3196378785B393   CULVER         KRISTI                     OR     90011807878
31964143A51369   ABDALLAH       MUSA                       OH     66066581430
3196428622B871   MARIA          GUTIRREZ                   ID     90001452862
3196443845B52B   EMILIO         ACOSTA                     NM     90002294384
3196443A62B871   FABIO          SOLANO                     OR     90013164306
31964858A4B943   DARLENE        ROSE                       TX     90000768580
3196515884124B   ALBERT         MASSUCCI JR                PA     51043491588
31965281A7753B   SUSANA         CORTES                     NV     90014132810
3196563777B471   KAREN          BRANCH                     NC     11084506377
31965A8A457128   HUGO           BERNAL                     VA     90010210804
31965AA512B93B   CYNTHIA        HINOJOSA                   CA     90011670051
3196646647B639   SUSAN          DRISCOLL                   GA     90012514664
319665A397B492   ROBERTA        GIVENS                     NC     90012935039
3196698954B281   JESUS          SANCHEZ                    NE     90011079895
3196712397B639   OCTAVIA        WYATT                      GA     90014701239
3196776A977544   BREANNA        SAMANIEGO                  NV     90010467609
3196813137B639   JOSHUA         ZUVER                      GA     90014701313
3196817365B393   MARIA          AYALA                      OR     90001731736
319682A6547931   BILLY          DAVIS                      AR     90014812065
3196848162B93B   ALEXIS         OCHOA                      CA     90015324816
3196848925B393   FLOR OLVERA    MIRIAM SANCHEZ             OR     90013274892
3196895122B871   MICHAEL        CAWRSE                     ID     90000909512
31968AA548B179   CHRISTA        BAILEY                     UT     90014530054
3196943867B639   CORENTHIA      FERGUSON                   GA     90014914386
319694A3755972   RUBEN          GARCIA                     CA     48003314037
3196986342B93B   REBECCA        ESPHRZA                    CA     90014878634
3196B231A41258   DANA           YEARMOSKI                  PA     90005502310
3196B268855972   GONZALO        GARCIA                     CA     90012962688
3196B399731424   BRAIN          KASKO                      MO     90012213997
3196B45517B471   GERALD         GIVENS                     NC     11079674551
3197164144B281   VALENTINE      RED                        NE     27081936414
3197321737B639   HOLLY          GUTJRIE                    GA     90014702173
31973291A91243   TISIA          BOYLES                     GA     90013382910
31973662A31424   LATEACE        GRAY                       MO     27508716620
3197412767B471   JOSE           CONTRERAS                  NC     90002161276
3197425887B639   SONY           RIVERS                     AL     90014702588
319745A185B281   JONETTA        GIRTON                     KY     90001255018
3197552A94B943   ANNA           HERNANDEZ                  TX     90010885209
3197553A291232   THYLLIS        MCKOY                      GA     90012385302
3197556839372B   MORRE          ASHLEY                     OH     90014975683
3197596185B281   JESSICA        HADSELL                    KY     68062849618
31975A71681642   LETICIA        MARTINEZ                   MO     29040400716
31976A34A47931   THOMAS         STEVENS                    AR     90012140340
31976AA3991343   REY DAVID      MARQUEZ-VALENZUELA         KS     29090480039
3197723112B871   AMIE           MOFFETT                    ID     42062172311
3197724A27B492   DANA           LITSCOMB                   NC     90010562402
3197732567B639   CAROLYN        COPELAND                   GA     90011043256
3197737337B471   MARIA          PEREZ                      NC     90014003733
3197765A651339   SOMMWR         SIMS                       OH     90014076506
3197839315B393   DWAYNE         NASH                       OR     90011123931
319792A5331424   STACEY         LOESING                    MO     90006102053
319797A842B835   CHANTELLE      KATES                      ID     42034557084
3197B11212B93B   BREANN         SALAS                      CA     90012471121
3197B157591371   CESMINA        DELA PENA                  MO     90011191575
3197B19A67B639   ANNA           DYKE                       GA     90014701906
3197B775254165   DAVID          HEADLEY                    OR     90015137752
3198139228B16B   MANUEL         ALVAREZ                    UT     31034403922
319819A185B393   MARIA          ZACARIAS                   OR     90008309018
3198351A261982   RYAN           TRISTANAUX                 CA     90003265102
319835A5491932   JOSE           RIVERA                     NC     90012715054
3198412875132B   KAREN          PERRY                      OH     66020221287
3198426193B391   JAMES          MCCLOSKEY                  CO     90009282619
3198489597B449   ALVARO         HERRERA                    NC     90013818959
319848A5155972   DENA           GONZALEZ                   CA     48024378051
31984A2772B871   ISABEL         CARRASCO                   ID     42061960277
31984A91991831   PORSCHA        DANIELS                    OK     90013150919
3198538324B531   MICHELLE ANN   RIDENOUR                   OK     90009993832
3198547984B989   STEPHANIE      GRANT                      TX     90001624798
31985919A55972   SUSANA         RODRIGUEZ                  CA     90001869190
319862A227B471   JONIKA         TIMS                       NC     11006902022
3198644427B639   ZACHARY        ECKELMANN                  GA     90014704442
31986444A36143   ANDY           MOLINA                     TX     90013424440
3198645748B162   JERRY          HOUSEKEEPER                UT     31089554574
3198711A78B162   MANUEL         SANTILLAN                  UT     90012921107
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3198753618B162   MANUEL              SANTILLAN             UT     90005305361
3198833668B162   ANGELICA            HERNANDEZ             UT     90013353366
3198956877B492   PATTY               BRADSHAW              NC     90014455687
31989793A91232   AMAKA               EBOKA                 GA     90013607930
3198B12514B943   MARTHA              SANCHEZ               TX     76587951251
3198B1A5A7B449   JOSE                GONZALEZ              NC     90012231050
3198B1A972B93B   ALEX                SERRATO               CA     90000621097
3198B43318B162   MANUEL              HERNANDEZ             UT     90014164331
3198B518291831   KIARHA              GALBRAITH             OK     21021845182
3198B845261972   GLORIA              ZIMMERMAN             CA     90014118452
3198B84618B162   MICHAEL             R MILLEN              UT     31034628461
3198B86628B162   IVONNE              HERNANDEZ             UT     90014108662
31991521A77544   REBECAH             CARRARA               NV     90013295210
319918A5A2B93B   JAMES               RUIZ                  CA     90012808050
3199258935B241   LINDA               GAMBLE                KY     68057305893
3199261A48B162   SAM                 EDWARDS               UT     90012786104
3199288247B639   SHANIQUA            ALDRIDGE              GA     90014668824
31993586A77544   STEVEN              HOLTEN                NV     90013815860
3199453A87B639   SHAQWONA            SIMMONS               GA     90014705308
3199491758B162   MANUEL              SIBRIAN               UT     90014109175
31994918A36143   ELIZABETH           CANTU                 TX     90013509180
3199527595B52B   FRANK               MCMURTREY             NM     90014842759
319959A118B16B   MARIA               ENCINAS               UT     90014459011
31995A47772496   FRANK               TUNSTILL III          PA     51065780477
3199619917753B   GERALD              ECKART                NV     90015091991
3199639885B52B   PAULA               MARQUEZ               NM     90014073988
3199654357B639   SHARON              WESTBERRY             GA     90014705435
31996AAA251339   ELLERED             WILLIAMS              OH     90014830002
3199754937B639   CHARVETRIA          VANN                  AL     90014705493
3199793632B93B   PEDRO               MARTINEZ              CA     90013909363
3199854987B639   DRENTA              JONES                 GA     90014705498
3199865594B943   ALFRED              BERRY                 TX     76537786559
31999556A7B639   DANA                CAMPBELL              GA     90014705560
3199959812B835   JOAN                SAMPLES               ID     42091845981
3199B159872B23   WILLIAM             MANSFIELD             CO     90000981598
3199B239A7B449   RUBEN               PALACCIOS             NC     90002502390
3199B815572B76   RICHARD             HRICKO                CO     33047498155
3199B86985B281   BRANDON             TRAVIS                KY     90010488698
3199B91915B593   CARLOSJUAN          COCA                  NM     35095019191
3199BA59691584   DANIEL              RAMIREZ               TX     90006510596
319B121277B639   JASMINE             ANDERSON              GA     90014692127
319B138928B162   TALISHA AND CASEY   FORBUSH               UT     90009143892
319B14A3455972   SUHEY               CASTANEDA             CA     90013964034
319B1673155949   JON                 MARTINEZ              CA     90011036731
319B223622B835   AMURI               KASOMO                ID     90009042362
319B2511151369   KAITLIN             BUTTERY               OH     90014885111
319B261967753B   MANUEL              DOMINGUEZ             NV     90014176196
319B292927B449   JHON                PETERSON              NC     90014099292
319B299745B281   CLAYTON             EDIE                  KY     90010209974
319B2A93536143   DEE                 MARTINEZ              TX     90003490935
319B331267B492   MATHEW              KHAMSANHLONG          NC     90014483126
319B3393451341   TAMMIE              CARTER                OH     66094023934
319B363228B162   EFRAIN              SAIZ                  UT     90014106322
319B3823591584   BLANCA              ORTIZ                 TX     90000448235
319B389A791537   ADAN                SIERRA                TX     90013148907
319B38A325B52B   DAWNMARIE           MAGANA                NM     35069968032
319B3A88491537   ADAN                SIERRA                TX     90008820884
319B41A554B281   ROLAND              BUSBY                 NE     90012861055
319B459615598B   OMAR                SEGURA                CA     90000335961
319B45AA255964   MARIA               CHAVEZ                CA     90007995002
319B481A777544   MONAE               SMITH                 NV     90009798107
319B4A56255936   CARMEN              FIGUEROA              CA     90008180562
319B534357B492   FREHIWET            TEWELDEBRHAN          NC     11094613435
319B583198B162   BILL                BAUMER                UT     90009398319
319B5A79A7B471   JOSE                ANTONIO               NC     90013630790
319B5AAA251339   ELLERED             WILLIAMS              OH     90014830002
319B625197B639   RONGELA             DANIEL                GA     90014692519
319B637625B393   RANDALL             SPRAGUE               OR     90000623762
319B654365598B   ABBEY               HER                   CA     90014795436
319B65A538B162   MICHELLE            PALMENO               UT     90006195053
319B672814B943   PAULA               WILIAMS               TX     76592247281
319B6919147931   PATRICIA            HUGGINS               AR     25022259191
319B69A822B93B   PAUL                STALLARD              CA     90014619082
319B7134854165   MICHAEL             SPEAKLANDER           OR     90013801348
319B7255A91371   YOLONDA             KILENZA               KS     29094942550
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319B752662B871   JULIENE      ORLOB                        ID     42066685266
319B782AA7B471   RAY          DINH                         NC     90005638200
319B7962891584   PRISCILLA    BARRON                       TX     90013209628
319B7A78741285   DANA         HILL                         PA     90004740787
319B8186736143   JAMES        SALAZAR                      TX     90014461867
319B824217B449   ARMANDO      SALDANA                      NC     90014812421
319B849687753B   ANA          NUNO                         NV     90013104968
319B868624B281   WAYNE        DAILEY SR                    NE     27005616862
319B918287B43B   REGINA       CROSSON                      NC     11015011828
319B986967B492   IMAREE       BURRIS                       NC     90011318696
319BB49667B449   KAREN        MCNEELY                      NC     90009584966
319BB4A817753B   GABBY        BARRY                        NV     43054554081
319BB92855598B   ASHLEY       KRIKORIAN                    CA     90013749285
31B1113627B492   SARAH        INGRAM                       NC     90011341362
31B1123368B162   ASHTON       WHEELER                      UT     90007752336
31B1124A951369   EBANY        FOSTER                       OH     90011252409
31B1132A64B943   CHARLES      PICKERING                    TX     90011693206
31B1168A35B393   GREENLINE    DELIVERY                     OR     90013956803
31B116A5941285   KRISTY       DOMOSTOY                     PA     90013396059
31B11893691893   BARBARA      BARRON                       OK     21036658936
31B1189675B52B   KANDIS       HERNANDEZ                    NM     35076368967
31B12119791537   CRYSTAL      TAFOYA                       TX     75095941197
31B12155554165   AUSTIN       MOST                         OR     90014221555
31B1279285598B   LUZ          CHAVARIN                     CA     90012617928
31B12AA912B871   WILLIAM      LAABS                        ID     42082250091
31B1338825B52B   KELLY        ISAAC                        NM     90000433882
31B1364A484368   SANDRA       QUIROS                       SC     90011726404
31B1374345B393   CHEZARAY     SAMPSON                      OR     90008897434
31B14331793761   KAITLIN      JUSKAE                       OH     90008463317
31B14786477544   EDWARD       SNOOKS                       NV     90015347864
31B14949451369   BRITTANY     MOORE                        OH     66087489494
31B15687355972   JOY          FRAUSTO                      CA     48025536873
31B1576737B639   SHONDREA     GIBSON                       GA     15054457673
31B15899191232   JAMES        BULLOCH                      GA     14570888991
31B163A334B281   AGHA         HARPER                       NE     90012003033
31B1697A55B52B   ANABEL       VELEZ                        NM     35050979705
31B17599391371   DAWN MARIE   BALION GARCIA                KS     90012835993
31B17813791584   GRISSEL      TOVAR                        TX     90012438137
31B1783475B393   LISA MARIE   HSU                          OR     90013938347
31B17A72157599   DAVID        PROTEXTOR                    NM     90004940721
31B18157184378   BRIAN        ROBINSON                     SC     14586211571
31B1824A991584   ISIDRO       CARRASCO                     TX     75004512409
31B18765191831   NICHOLAS     SWINDELL                     OK     21002767651
31B18998491584   CESAR        GONZALEZ                     TX     90011679984
31B1927862B87B   SHERRY       HORTON                       ID     90013932786
31B1984984B943   SALVADOR     CARDENAS                     TX     90006898498
31B19A16184378   IVAN         ALTAMIRA                     SC     90005820161
31B1B17528B162   TOM          WAKOLEE                      UT     31066891752
31B1B389155972   KAYLA        BAILEY                       CA     90014123891
31B1B42492B87B   JOSE         HERNANDEZ                    ID     90013724249
31B1B516455972   ALEJANDRA    SUAREZ                       CA     90009275164
31B1B712651339   STEPHEN      KISER                        OH     90009367126
31B1B759536143   AMANDA       PONCE                        TX     90011397595
31B21148491371   GARY         FELDER                       KS     90014281484
31B2116A991584   NICOLAS      RODRIGUEZ                    TX     90014471609
31B21269484368   JONATHAN     SOTO                         SC     90012142694
31B2167A685866   MARK         WASHINGTON                   CA     90010726706
31B21785384368   BRETT        MCCOMAS                      SC     90013947853
31B21966A91831   DEWAYNE      NEWTON                       OK     90007879660
31B21A45354165   MARIE        MILLER                       OR     47089500453
31B222A8254165   WHISPER      WEST                         OR     90014902082
31B22456991232   MICHELE      ERVIN                        GA     90011284569
31B229A8155972   JOHNNY       RIVERA                       CA     90011619081
31B23157472496   JOSH         MONOSKY                      PA     51072381574
31B23512A36143   KIMBERLE     GAITAN                       TX     90011925120
31B2365165598B   LUIS         JIMENEZ                      CA     90012876516
31B2417315B393   JOSH         DAVIS                        OR     90010071731
31B2444852B871   ANGEL        PETRAGALO                    ID     42027614485
31B2463487B492   ANDREA       LESLIE                       NC     90013856348
31B247A1954165   CYNTHIA      LITTLE NATION                OR     47046057019
31B24984931424   AIRIKKA      CORRIGAN                     MO     90012749849
31B2546397B639   AMIE         COLLINS                      GA     15053364639
31B25495172496   THOMAS       PETTY                        PA     90012764951
31B25624398B23   EMILY        WOODS                        NC     90006406243
31B25643A41258   AMY          LOCKHART                     PA     90005076430
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31B25668547931   ANGELICA       CARRILLO                   AR     25045546685
31B25784655949   SONYA          MCCRANE                    CA     90012697846
31B26A4A384368   ADALID         TORRES ARTEAGA             SC     90013950403
31B26A6797B43B   AMANDA         GIBBS                      NC     90013180679
31B27575951369   VANESSA        ANN SMITH                  OH     90006025759
31B27635251339   JESSICA        FULTZ                      OH     90008936352
31B2765657B449   OLIN           THOMPSON                   NC     11093456565
31B27A63472B33   MICHAEL        LEVENSON                   CO     33012080634
31B28353251369   REGINA         PERRY                      OH     90004943532
31B28396255949   PATSY          AUGUSTUS                   CA     90008863962
31B28433436143   ASHELY         SALAS                      TX     90012374334
31B287AA731424   AMY            CONAWAY                    MO     27546107007
31B2912777B471   TONYA          HALL                       NC     90009411277
31B29168A55972   DANIEL         GARCIA                     CA     90010831680
31B292A1451369   TAMARA         JOHNSON                    OH     90012092014
31B29396691584   DEYANIRA       HERNANDEZ                  TX     90011283966
31B2954462B93B   BEATRIZ        RUIZ                       CA     45073845446
31B29732A7B492   FREDDIE        WATSON JR                  NC     11025837320
31B2982927B492   RODNEY         RANKIN                     NC     90010148292
31B29999655939   JERRY          NEVES                      CA     48065629996
31B2B41352B225   NICOLE         BROADUS                    DC     90014884135
31B2B859936143   NICOLE         RODRIGUEZ                  TX     90012788599
31B2B8A4A91584   OLGA           SOTO                       TX     75064028040
31B2B91127B476   MICHELLE       DARBY                      NC     11008889112
31B2B97218B16B   JENNIFER       MONTOYA                    UT     90010769721
31B2BA6A584378   RHONDA         BENTLEY                    SC     90004410605
31B2BA7512B93B   ERIC           DURAN                      CA     45074590751
31B31245451331   ERICA          LUNCAN                     OH     66017182454
31B3142A541285   AMANDA         WESTON                     PA     90011654205
31B3154497B32B   RICARDO        GONZALES                   VA     90013305449
31B3198852B871   SANDRA         PETERSON                   ID     90002579885
31B31A57841258   BRANDON        LAY                        PA     51065310578
31B3229897B471   WILLAIMS       FITSPATRICK                NC     90002622989
31B3248534B281   LINDA          BURTON                     NE     27076814853
31B3249245598B   JENNEQUA       GREEN                      CA     49075814924
31B32856191584   MARIA          GUILLEN                    TX     90008608561
31B3288359156B   OMAR           RAMIREZ                    NM     90013938835
31B3359A55598B   REY            FLORES                     CA     49005595905
31B3396765B393   CRYSTAL        NEWMAN                     OR     90005989676
31B33A24384368   CARLA          QUITERIO                   SC     90013340243
31B33A3A12B93B   JAMIE          WARREN                     CA     90012980301
31B34361547931   BRANDY         ARMSTRONG                  AR     25017153615
31B34495772B32   MUNKHTSETSEG   CHADRAABAL                 CO     90007824957
31B345AA68B16B   MARTIKA        VIGIL                      UT     90008305006
31B34787891371   OSWALDO        MARTINEZ-GARCIA            KS     90015217878
31B34915172496   CHARLES        RANKIN                     PA     90010809151
31B34A5585598B   ZIAD           ALEXANDER SHAMMA           CA     49006680558
31B34AA6681642   DERRICK        JOHNSON                    MO     29068520066
31B35522291584   ISELA          DIEGO                      TX     90009165222
31B3573645598B   LUZ MARIA      MONTOYA                    CA     90014537364
31B3631215598B   NORA           SANCHEZ                    CA     90014053121
31B3636792B871   DON            CATALANO                   ID     90007523679
31B368A4677544   CRISTIAN       GONZALEZ                   NV     90013338046
31B37365977544   ROSA           MORENO                     NV     90002603659
31B37418591584   LUCY           GARCIA                     TX     75039484185
31B37436691831   HORTENCIA      DELGADO                    OK     90001554366
31B381A8A7B476   LAKECHIC       HEARN                      NC     90013391080
31B382AA941285   TINA           GLOBIS                     PA     90001692009
31B3872A18B162   CHRISTINE      SPARR                      UT     31090257201
31B38A5585598B   ZIAD           ALEXANDER SHAMMA           CA     49006680558
31B3923335B393   PAMELA         TRAUM                      OR     44500262333
31B3967485598B   KENNY          GERAD                      CA     90012076748
31B39677A5B52B   JULIA          MENDEZ                     NM     90011146770
31B397A267B639   IKEA           CARTER                     GA     90014557026
31B3986817B639   IKEA           CARTER                     GA     90014208681
31B39972951369   SHARNELL       HIGGINS                    OH     90013929729
31B3B24598B16B   SHERRICK       TROY                       UT     90012072459
31B41349172496   JOHN           THOMAS JR                  PA     51075133491
31B42311431424   JASAHN         WARD                       MO     90015173114
31B42384472496   MICHELE        MILLER                     PA     51083133844
31B4312328B16B   SHERYL         BIGELOW                    UT     31000801232
31B43153791232   CYNTHIA        WILLIAMS                   GA     90014451537
31B4346417B492   LAWANDA        LATHAM                     NC     90010214641
31B4351195B393   TANISHA        MARTIN                     OR     90001455119
31B43585247931   CARMEN         SANABRIA                   AR     90014665852
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31B43A4397753B   DAVID        PERRY                        NV     90014830439
31B4442248B162   BROOKE       HEMSATH                      UT     90013954224
31B44563991584   EMMANUEL     SILVA                        NM     75053775639
31B44622636143   KACEY        MENCILLAS                    TX     90014086226
31B4474A251339   KIARA        WALKER                       OH     90013287402
31B44862647931   NOE          PACHECO                      AR     25084328626
31B45581936143   JESSICA      EDDLEMON                     TX     90015515819
31B45662A91831   ALISUN       RICKENBAH                    OK     90013636620
31B45748A54165   AMANDA       CULVER                       OR     90014917480
31B45A9714124B   KIRK         GONZALES                     PA     90012710971
31B4624A691967   RASHAUD      DAYE                         NC     90013602406
31B46491291584   MARIA        MADRID                       TX     75011284912
31B4673497B471   GLENDY       VILLEDA                      NC     90012697349
31B4684987B434   SANDRA       FORNELL                      NC     90012538498
31B46866151339   DANA         PRUITT                       OH     90014308661
31B47313791584   ALBERTO      ORTIZ                        TX     90014803137
31B473A5441277   STEPHEN      JOHNSON                      PA     51000743054
31B47525A7753B   MARTIN       GRACIANO                     NV     90013885250
31B4768AA5B281   CORDELIA     PORTER                       KY     68002976800
31B47733751578   UINICIO      CEVALLOS                     IA     90015237337
31B47787491831   MABEL        TAFOYA LICEA                 OK     90010037874
31B47AAA341285   LAMAR        RUSSELL                      PA     90012050003
31B48247284368   HORACIO      HERNANDEZ                    SC     90011902472
31B48389977544   ELSA         ZAMORA CAMPOS                NV     90014333899
31B4885328B162   KAMIE        YOUNG                        UT     90012268532
31B49338257B79   KELLY        LUNGER                       PA     90012823382
31B49351191831   NANCY        CORDOVA                      OK     90011443511
31B4942198B162   ROBERT       FAIRCLOTH                    UT     90010544219
31B4954937B639   AYANA        THREATT                      AL     90014605493
31B49829A5598B   ROCIO        MARRUFO                      CA     49035918290
31B49A96941258   CARMELO      WINTER                       PA     90014520969
31B4B39217B449   HOUSTON      VERMILLIAN                   NC     90014883921
31B4B723A2B87B   RAMON        HERNANDEZ                    ID     90002057230
31B5115542B87B   JEFFREY      KASPER                       ID     42082221554
31B51175447931   LUIS         GALLARDO                     AR     90011721754
31B51566972B76   GILBERTO     CASTANON                     CO     90001005669
31B5158A691584   JOSE         GONZALEZ                     TX     90002815806
31B5196932B835   PILY         JAIMES-MARIN                 ID     90012629693
31B52A5A491371   CITY WIDE    AUTO BUFF                    KS     90011870504
31B53586431424   MICHELLE     ASHLEY                       MO     90014885864
31B5469295B156   CHERYL       HODGES                       AR     23012146929
31B5496648B16B   MINDY        OSTBERG                      UT     31098779664
31B5515414124B   KIMBERLY     ROMANO                       PA     51098811541
31B55664941285   THOMAS       SORICE                       PA     90014316649
31B5581897B449   KENNETH      FULLER                       NC     90013478189
31B5582A47B492   CALEB        PASTULA                      NC     90015018204
31B55A17291537   CARLOS       MIRANDA                      TX     90003600172
31B5616784B943   LAQUINTA     HALL                         TX     90014781678
31B56281951339   JUSTIN       SEELYE                       OH     90014492819
31B56A46455972   MARIA        BELTRAN                      CA     48092490464
31B585A2391371   ANGEL        GARCIA                       KS     29009435023
31B58848841277   MICHAEL      ELIOU                        PA     51023018488
31B58A4125B52B   JORGE        PUENTES                      NM     90010580412
31B59131731424   TRACY        GORDON                       MO     90013081317
31B5932632B93B   TONI         REDDITT-HORN                 CA     90014193263
31B59724792853   TOM          SCHMIDT                      AZ     90014477247
31B59776791371   JESUS        ROSALES                      KS     90006287767
31B59826251339   KAYLA        PENNINGTON                   OH     90015328262
31B599AA941258   JOHN         ROZELL                       PA     51025059009
31B59A71A47931   HECTOR       MARQUEZ                      AR     90008620710
31B5B637492886   SANDRA       BORJON                       AZ     90015396374
31B5B711531424   SARAH        TIEFENBRUN                   MO     90014587115
31B5B99562B871   CHRYSTAL     MENDOZA                      ID     90013649956
31B5BA65891371   ROBERT       CONSTANT                     KS     90010730658
31B6117744B943   DUSTIN       DEVILLIER                    TX     76505051774
31B6129A177544   VALARIE      WINTERS                      NV     90010252901
31B61784A31424   DENECIA      ROBINSON                     MO     90014717840
31B61892891831   ANNA         MONTOYA                      OK     90011408928
31B61A96891584   MARY         ALEMAN                       TX     75035170968
31B6224373B352   YENI         GUEVARA                      CO     90005742437
31B62591A7B43B   REGINALD     PARKER                       NC     11081625910
31B6292357B639   WILLIAMS     LEE                          GA     90011599235
31B62997351339   KIMBERLY     KING                         OH     66057209973
31B6312715B52B   CHYANN       GARCIA                       NM     90009371271
31B63567A8B147   DANIEL       CHAPPELL                     UT     90012655670
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31B64144536143   MARCUS       MUELLER                      TX     90014711445
31B64147691883   CORTNEY      MCKERRELL                    OK     90014801476
31B64339A5B281   ANTHONY      SIMS                         KY     90003183390
31B6444392B835   DONALD       LEITERMAN                    ID     90013964439
31B64497872B2B   CHRISTINA    BAXMAN                       CO     90010814978
31B6496A377544   MARIA        DECAMARENA                   NV     43006409603
31B64A32755949   RANDI        SKARET                       CA     49081120327
31B65111236B77   CONTESSA     ROBERTS                      OR     90003621112
31B651A1355972   BENJAMIN     SWONGER                      CA     48033391013
31B65219777544   HEATHER      WRIGHT                       NV     43020232197
31B6524282B93B   KATRINA      STANCELL                     CA     45099402428
31B655A4655949   NOELIA       PEREZ                        CA     90001325046
31B66132891831   CLEOTIS      DEAN                         OK     21025751328
31B66217751369   MARAH        WITHERS                      OH     90014562177
31B66526731424   ELIZABETH    REINERS                      MO     27526425267
31B6661948B162   CHEYENNE     MARQUEZ                      UT     90013956194
31B6714A155949   ALEJANDRO    VAZQUES                      CA     49018121401
31B6726318B162   RICHARD      HANSEN                       UT     31058052631
31B67659A2B871   DUSTIN       DEPUE                        ID     90012226590
31B683A1377544   JOSE         MELCHOR                      NV     43018703013
31B6843A97753B   ELIZABETH    OLVERA                       NV     43098674309
31B68522A41285   FELICIA      LEE                          PA     90011655220
31B69338551369   CHRISTINA    PROST                        OH     90013403385
31B6956365B52B   JOSE         PUENTES-SANCHEZ              NM     90012245636
31B6998924B281   LOURIA       DEVERS                       NE     90011059892
31B69A42191371   ERIKA        BARRON                       KS     90011540421
31B6B335891371   REBECCA      SCRIVER                      KS     90015373358
31B6B4A784124B   MICHELLE     LUCAS                        PA     90012394078
31B6B523336143   THERESA      TOLDERT                      TX     90006955233
31B6B622151369   JOSEPH       ROBINSON                     OH     66063316221
31B6B64827B639   NELSON       QUEZADA                      GA     90003826482
31B6B67455B156   JACQELIYN    ESTES                        AR     23000906745
31B6B88787B471   GEORGE       RODRIGUEZ                    NC     90013828878
31B71128191851   EMMA-LEE     SAXTON                       OK     90012791281
31B71232A72496   JAMIE        FOSTER                       PA     51043362320
31B71294155972   EMILY        DOMINGUEZ                    CA     90010922941
31B7134167B492   PAYGO        IVR ACTIVATION               NC     90009593416
31B713A9741285   JEAN         GRAVES                       PA     90009583097
31B7177A55598B   TIFFANY      DELANCEY                     CA     90011317705
31B71976472B76   ISAIAH       NANCE                        CO     90000579764
31B721A7355949   CHRISTINA    FLOREZ                       CA     49032031073
31B72695655972   PAULINE      DOMINGUEZ                    CA     90009776956
31B7316452B835   RAYMOND      WONG                         ID     90010161645
31B7331A72B93B   ANA          DANIELS                      CA     90014683107
31B7352362B835   LYUBOV       ANRIYCHUK                    ID     90014985236
31B7359922B871   LARRY        FRY                          ID     42088205992
31B73648851339   THOMAS       SMITH                        OH     66070466488
31B73717472496   LINDA        RICHARDSON                   PA     90000487174
31B73892A41258   RICHARD      STUTZZ                       PA     90012368920
31B74444A51339   KENNETH      MUGRAGE                      OH     90011964440
31B746A9377544   FRANCHESCA   ESQUER                       NV     90014076093
31B7478152B87B   TONY         AMARO                        ID     90012347815
31B74A19241277   JOHN         BEREKSAZI                    PA     90012380192
31B74A2A88B16B   DEBBIE       THACKERAY                    UT     31031130208
31B756A8A91549   FREDA        HUDSON                       TX     90008086080
31B75816191543   CARMEN       CARDOZA                      TX     90011328161
31B75832254165   ANGELA       GARCIA                       OR     90009908322
31B7589857B639   CALAIE       SMITH                        AL     15084398985
31B7616687B471   TASHA        BELL                         NC     11078551668
31B7693547B639   PEGGY        DAVIS                        GA     90015219354
31B77422191371   RAYMONDO     VALDEZ                       KS     90012444221
31B77647991584   SUSANA       MONREAL                      TX     90011246479
31B7768377B471   STEPHEN      BELTON                       NC     90013546837
31B78161955949   MARIA        NUNEZ                        CA     49081711619
31B78172551369   RYAN         GERSHON                      OH     90014811725
31B7819168B14B   VICTOR       DIAZ                         UT     90008691916
31B78629991232   BETTY        COLE                         GA     14524446299
31B786A688B162   GARY         MORGAN                       UT     90014456068
31B7B23382B87B   JESSICA      FUNKE                        NV     90006962338
31B7B356455972   PEDRO        CRUZ                         CA     90012553564
31B7B532A7753B   FRED         NORTH                        NV     90013905320
31B7B577391543   MARIA        PUENTES                      TX     75062125773
31B7B59992B93B   ALFREDO      MARTIN                       CA     90009225999
31B7BA68184368   GREGORIO     SIFUENTES                    SC     90011020681
31B81455972496   VICKIE       BOWERS                       PA     90010074559
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31B8152174B943   KEANA        GIRON                        TX     90014795217
31B815A3551369   AMY          MCINTOSH                     OH     90015305035
31B8167A25B391   TENESHA      REESE                        OR     90014626702
31B8173645598B   LUZ MARIA    MONTOYA                      CA     90014537364
31B8195757B471   ALEJANDRO    RIOS                         NC     11027069575
31B81A62791371   ROXANA       ORELLANA                     KS     90009070627
31B82228291232   TIFFANY      MCBICKER                     GA     90004542282
31B8237727753B   DANIEL       CRUZ-RIOS                    NV     90011973772
31B8243645B52B   LAURA        MARTINEZ                     NM     90014864364
31B82484A4B281   MITCHELL     TYLER                        NE     90000124840
31B8279462B87B   ERICA        KOGER                        ID     42079887946
31B8281A654165   SARAH        BLALOCK                      OR     47093478106
31B82884A72496   ANGELA       HLATKY                       PA     51086748840
31B82951491584   CESAR        MARTINEZ                     TX     75020619514
31B82962531424   JOHNSON      LARRY LEE                    MO     90007479625
31B8314137B492   SHATIMA      SHARPE                       NC     90005981413
31B8381635B156   REV DON      AKINS                        AR     23066348163
31B83824A2B871   MCURDY       COLIN                        ID     90008938240
31B84493385965   ANGIE        LEE                          KY     66096584933
31B84529791584   FRANCISCO    VALLES                       TX     90014685297
31B847A575B52B   GUADALUPE    DEJESUS                      NM     35048827057
31B848A4A55949   GUSTAVO      RAMOS                        CA     49074988040
31B84964991831   BONNIE       PAUL                         OK     90007559649
31B85241891232   LAKISHA      PASSMORE                     GA     90008822418
31B8564965B52B   VERONICA     SAIZ                         NM     35088336496
31B8587A636143   ANNA         GUAJARDO                     TX     90014738706
31B85A51A77544   JANNA        SWARTZLANDER                 NV     90007590510
31B85AA1491584   ESTELA       REZA                         TX     75040130014
31B8612A572B76   ALEX         VUCASOVICH                   CO     90003151205
31B86333555972   ALFORD       OVERACKER                    CA     48049203335
31B8658862B87B   HELEN        EASELY                       ID     90015515886
31B865A3841277   SALVATORE    ANTHONY                      PA     90012835038
31B86773655949   IRMA         SANCHEZ                      CA     90013037736
31B868A925B156   C EUGENE     JOHNSON                      AR     23005388092
31B87446954165   BRANDON      GROVES                       OR     47031934469
31B8761292B835   ALEX         AQUINO                       ID     90014176129
31B8773317B449   LINDA        SIMMONS                      NC     90002097331
31B87A3264B531   KATHERINE    MARTIN                       OK     90012430326
31B87A51A77544   JANNA        SWARTZLANDER                 NV     90007590510
31B8816982B93B   CARLOS       ARRIAGA                      CA     45017701698
31B8848588B162   ROB          GOGONI                       UT     90010264858
31B88488A72496   ALEX         RICHTER                      PA     90014694880
31B88652651369   ROSE         WILSON                       OH     66087506526
31B8875177B449   DANIELA      DIAZ                         NC     11076477517
31B88845631424   SHELDON      BROCKELBANK                  MO     90012228456
31B88AA514124B   NIKITA       WENSEL                       PA     90003760051
31B8928AA7B639   VALERIC      DOMINGO                      GA     90012492800
31B89368154165   STEPHANY     LINTS                        OR     90004333681
31B8963124B943   ALEXIS       GIRON                        TX     90014796312
31B89863641285   GERALD       PARKER                       PA     90014398636
31B8992758B16B   LYNN         MARKOS                       UT     31090799275
31B8B147655972   JUAN         LOPEZ                        CA     90012011476
31B8B218191371   JORGE        GARCIA                       KS     29071212181
31B8B39842B93B   JESSICA      KNIGHT                       CA     45016673984
31B8B3A1377544   JOSE         MELCHOR                      NV     43018703013
31B912AA82B835   MEGAN        SAVAGE                       ID     90000112008
31B9135794124B   KATHERINE    JAMERSON                     PA     51055303579
31B91919436B77   MARISOL      SANCHEZ FFR14391             OR     90008999194
31B91969A7753B   ROBERTO      PEREZ                        NV     43078879690
31B9213128B162   MELISSA      JUAREZ                       UT     90014521312
31B92635491584   RAYMOND      HERNANDEZ                    TX     90013946354
31B93339836143   VICTOR       TORRES                       TX     90014913398
31B9339135B393   RUDY         M LEAN                       OR     90012593913
31B93812741258   HOPE         GAMRET                       PA     90014538127
31B93A9A57753B   MARY         JENSEN                       NV     43075110905
31B9459952B871   LAURA        SCHNEIDER                    ID     90009515995
31B9462927753B   LORRIANE     RUSCELLI                     NV     90013726292
31B9463198B162   DAN          MARTINDALE                   UT     31008466319
31B94A7812B87B   CASEY        PHARIS                       ID     90004040781
31B95261841277   ERIC         SIMPSON                      PA     51001202618
31B95641A7B471   PAMELA       PHILLIPS                     NC     90009366410
31B95A76474B97   JOSE         MARTINEZ                     OH     90014050764
31B962A815B52B   LEROY        CANDELARIA                   NM     90012022081
31B96388A31626   SUELLEN      PARCEL-AMSLER                KS     90013883880
31B96539131424   VANITYE      BRADFORD                     MO     90011425391
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31B9759387B492   KELLE          TALLMAN                    NC     90015085938
31B97943A9125B   MAREASIA       JOHNSON                    GA     90005209430
31B97A6A851339   RUBY           JOHNSON                    OH     66009470608
31B98223A41291   STEVIE         ROBERTS                    PA     90008572230
31B98239791584   ESTHER         RODARTE                    TX     90009942397
31B98635691232   ARIANNA        MOUNDS                     GA     90012996356
31B99342991371   NEISA          HERNANDEZ                  KS     90012623429
31B99A27472496   KIERRA         GIBSON                     PA     90014690274
31B9B174681642   CARLA          SANDERS                    MO     29001871746
31BB1452855949   JIMMY          ESQUEDA                    CA     90014404528
31BB154925B393   MEGAN          UPMEYER                    OR     44508475492
31BB1861191232   LAURA          BULLOCH                    GA     90014728611
31BB1873761999   JENNIFER       MCINTOSH                   CA     90010698737
31BB199315598B   WENDY          OHM                        CA     90002119931
31BB243622B835   SHEILA         CLAIRMONT                  ID     90009954362
31BB277A44B943   RAMIRO         SANCHEZ                    TX     90014687704
31BB2A77351339   CAROL          GWIN                       OH     90007450773
31BB3264941258   MALLORY        CHESTER                    PA     90015102649
31BB3321172B76   CATHERINE      TRUJILLO                   CO     33038883211
31BB3776541231   BRIAN          BIGLEY                     PA     90008547765
31BB388438B162   ALEJANDRA      SANTOS                     UT     90007268843
31BB3962791831   VERLINE        CHERRY                     OK     21076189627
31BB3A84891584   JUAN ENRIQUE   SILLAS                     TX     90014090848
31BB42A5A91232   SAKINAH        BROWN                      GA     90013582050
31BB42AA355949   JASUS          RUIZ                       CA     49069852003
31BB479844B943   KANISHA        HALL                       TX     90014687984
31BB5671931849   TAMERA         FLETCHER                   LA     90014576719
31BB5812891831   NATASHA        NEWTON                     OK     90010948128
31BB6261277544   CARISSA        COX                        NV     43050372612
31BB6A2A355949   KATELAND       JIMENEZ                    CA     90012270203
31BB8213377544   TEXEIRA        KELLY                      NV     90010752133
31BB848878B162   ANDRES         MALDONADO                  UT     31091314887
31BB8632591584   JENNIFER       BURLESON                   TX     90006026325
31BB88A5631424   AMY            CANNON                     MO     90006428056
31BB899217753B   MANUELA        CHAVEZ                     NV     43003629921
31BB9123A91584   RICARDO        MORALES                    TX     75081981230
31BB921A641258   FELICIA        THOMPSON                   PA     90013472106
31BB9267891371   JIM            INMAN                      KS     90010932678
31BB9347872496   DANNY          OPENBRIER                  PA     51092993478
31BB9482472B76   MACKENSIE      BACCADORA                  CO     90013744824
31BB977A141285   WILLIAM        FILLER                     PA     51079617701
31BB9893691893   BARBARA        BARRON                     OK     21036658936
31BBB36272B87B   JOSE           NUNEZ                      ID     42015563627
31BBB52562B29B   DARIUS         JENNINGS                   DC     90013595256
31BBB919254165   CALDWELL       BEN                        OR     90011979192
31BBBA11661982   GOUGLAS        WILLIAMS                   CA     90001850116
31BBBA91877544   HORTENCIA      CASTANEDA                  NV     90002200918
3211117528B162   SHERYL         WEATHERFORD                UT     31091891752
3211146197B471   DONALD         THOMAS                     NC     90003904619
3211177584124B   MICHAEL        BETZ                       PA     90010307758
32111A56355972   EDWARD         DURAN JR                   CA     48015990563
3211343A98B166   DALTON         POIKE                      UT     90010394309
3211418284B943   ALICE          WILLIAMS                   TX     90013871828
32114A9782B93B   AMANDA         HUFFMAN                    CA     90012790978
321157A9655972   PEDRO          HERRERA                    CA     90006967096
3211583A591531   ALMA           GEPHART                    TX     90012118305
3211591A55598B   TINA           LOPEZ                      CA     49064709105
3211598645B156   LATISHA        FRANKLIN                   AR     90007869864
3211667122B87B   JASON          WHITE                      ID     42036306712
3211749A32B93B   MARY           NUNES                      CA     90002604903
32117A3A572452   DAVID          A PARSON                   PA     90005690305
32118872A7B639   JUAN           RUIZ                       GA     15091978720
3211892967B449   DENISE         ARCHIBALD                  NC     90010629296
321191A822B93B   JAVIER         GOMEZ                      CA     90012791082
3211952A38B16B   KACY           UKENA                      UT     31060445203
3211996A291831   SHERRY         PAYTON                     OK     90008549602
32119A6154124B   CHEMERS        STANLEY                    PA     90012650615
3211B11745B156   QUEEN          HARDEN                     AR     23031421174
3211B127A5B156   ARTENCE        DEAN                       AR     90005101270
3211B48964B943   MARIA          MEGIO                      TX     90014864896
3211B547377544   KARLA          CORNEJO                    NV     43082745473
3211B78512B871   VINCE          LEFFLER                    ID     90013157851
3211B817176B61   ABEL           GONZALEZ                   CA     90004148171
3212161332B871   DIANNA         DUGGER                     ID     90014726133
32121A56247931   CHRISTINE      WEST                       AR     90014740562
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3212243A75B52B   DIANA              MARQUEZ                NM     90013164307
321231A6147931   ISMAEL             MARTINEZ               AR     25001401061
3212333635B398   DEBORA             GUTIERREZ-             OR     90006533363
3212368A641277   NAKIA              GIST                   PA     90010666806
3212373114B281   KAROLINE           MARTINEZ               NE     90013857311
32123A9935B156   ROSALBA            MONTOYA-TORRES         AR     90012490993
3212474557B639   CRYSTAL            GREEN                  GA     90014767455
321248A365B52B   JACOB              DELONG                 NM     90012128036
3212737467B639   DANYEL             SUMBRY                 GA     15077433746
3212748462B87B   JACOB              DIAZ                   ID     90014844846
321277AA947931   CHRISTIAN          DE LA ROSA             AR     90014177009
32127A8617B43B   CALANDRA           ROWLAND                NC     11012520861
3212811767B492   THELMA             GLENN                  NC     90003201176
3212863887B471   MEIDY              HERNANDEZ              NC     90010646388
3212886146B397   TONYA              SPENCER                NH     90014768614
3212933784B943   ALEX               OSEGUERA               TX     90015123378
3212976A654165   THORNTON           TANYA                  OR     90010807606
3212982A172B76   ANTONIA            PEREZ                  CO     90002948201
3212B26AA51369   AMY                OWENS                  OH     90012062600
3212B315491831   RODNEY             LEDDINS                OK     90014023154
3212B562254165   RICHARD            LYON                   OR     90015445622
3212B736751369   AMY                OWENS                  OH     90013897367
321319A837B492   MARIA              GOMEZ                  NC     11011309083
3213229587B449   MIYA               HARMON                 NC     90013352958
3213234437B492   TRACY              PEARSON                NC     90014453443
3213234812B835   LAURA              GOUWENS                ID     90010853481
3213377844B943   JK                 GRIFFIN                TX     90013237784
3213428A572496   SCOTT              HOLLOWAY               PA     90015132805
32134489A72B33   PAMELA             FISHER                 CO     33005484890
3213452878B162   GUILLERMO          SILVA                  UT     31091365287
3213522A22B871   JESSICA            MARTINEZ               ID     90013272202
3213577427B639   ORLANDO            HARVILEY               GA     90010857742
3213587828B16B   COURTNEY N         BUXTON                 UT     90010658782
3213673295B52B   JULIA              AVILA                  NM     35027687329
3213674A291563   KROP               JESSICA                TX     75045897402
3213695335598B   JOSE               CINTORA                CA     90003269533
3213698247B449   DANIEL             MASSEY                 NC     90011199824
32137251A41258   SUZANNE            MORGAN                 PA     51067222510
32138335A5B393   JESSICA            DAWKINS                OR     90014793350
321389A9977544   GREGORY            LARA                   NV     90010989099
321392AA14B943   TRAMEIKA           HOLMES                 TX     76580372001
32139531A77544   DAVID              SALAZAR                NV     90008075310
3213954734124B   LYDIA              REDMAN                 PA     90003185473
3213958317B639   QUINTIN            SNOW                   GA     90007185831
3213959357B492   MONTREAD           MANNING                NC     90013975935
3213962A891831   JOSE               SORIANO                OK     21092066208
3213963288B179   MERY               HERRERA                UT     90011246328
32139AA3255972   JENE               FEDERICO               CA     90010670032
3213B128141277   TANAEYA            ANDERSON               PA     90014991281
3213B13792B87B   HOLLY              HUETHER                ID     42062731379
3213BA6595598B   JOHNNY             CLEARY                 CA     49005950659
3214248A791563   GLADYS             BUSTAMANTE             TX     75095804807
32142914A3B391   CHARLES            ENSLOW                 CO     90009989140
3214355438165B   CRYSTAL            CLARK                  MO     29058595543
321436AA32B93B   RENEE              FRAZIER                CA     90013236003
321438A5193767   RICHARD            WALTERS                OH     90004958051
32144255A41277   RYAN               PATALSKY               PA     51091462550
3214425815B269   LARRY AND SHARON   RENFRO                 KY     90007402581
3214485255B156   ANNETTE            FIELDS                 AR     23027628525
32144AA722B93B   BRIAN              REDDEN                 CA     90012990072
3214521A141258   JENNIFER           MIHELCIC               PA     90010552101
321454A4836143   JEREMIAH           FOX                    TX     90014624048
3214557625B393   EMMANUEL           HENREID                OR     90007425762
3214597945B59B   LUIS               FERNANDO AGUILERA      NM     90004219794
321464A832B87B   STEPHEN            GLAZE                  ID     90009184083
3214719672B93B   ALBERTO            GUZMAN                 CA     90013781967
321473A685B156   JERMEY             MURRAY                 AR     90013893068
32147624A31424   CULLEY             WELLS                  IL     90015516240
32148687472B76   VIRGINIA           GONZALEZ               CO     33062546874
3214957134B943   FRANCISCO          SANCHEZ                TX     90002835713
3214977687B639   RAVEN              TRIPP                  GA     90014987768
32149835524B88   MONIQUE            HILL                   MD     90014618355
3214B16757B43B   ERIK               RAMIREZ                NC     90003581675
3214B271377544   JAMIE              EYERLY                 NV     90011882713
3214B386772B76   AARON              ESCOBEDO               CO     90005713867
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3214B471291531   LUISA           LEYVA                     TX     90010354712
3214B49A28B166   DALLAS          CHRISTENSEN               UT     31004804902
3214B558191563   PATRICIA        GUTIERREZ                 TX     90013715581
3214B68A254165   JASMINE         ALTMAN                    OR     47017706802
3215147A62B93B   TERESA          MOJICA                    CA     90014414706
32151593A84368   WILLIAM         BLAKE                     SC     14595505930
32151A7184124B   TIMIKA          NOEL                      PA     90011280718
32151AA582B871   CRYSTAL         POWERS                    ID     42079960058
3215284332B835   MARIA           CRUZ                      ID     42042868433
3215286634B281   AMBER           BAKER                     NE     90013738663
321528A4631424   MONTRELL        NASH                      MO     90010398046
321531A6877544   EFRAIN          CUENDIS                   NV     43025141068
321538A615598B   LORENA          ALVAREZ                   CA     49007628061
3215514525B393   SAMUEL          HERNANDEZ                 OR     90014871452
3215516742B87B   CHELSEA         MCKEOWN                   ID     90011521674
3215532564124B   BRIDGET         MALONE                    PA     90014323256
3215573A47B492   REBECCA         BADGER                    NC     11093927304
3215575148B162   REED            HASSON                    UT     31091147514
3215589435B393   PAVEL           NICKOLAYCHUK              OR     90013498943
3215612695B156   TASWANN         POUNCY                    AR     90008301269
3215642552B87B   MARY            MAY                       ID     42009994255
3215684845B52B   DAVID           GLOVER                    NM     90013958484
3215746977B425   PEDRO           GARCIA                    NC     90008644697
3215758295B156   SANDRA          GARLAND                   AR     23039535829
32157861A31424   ANNETTE         SLOAN                     MO     90014918610
3215839458B162   AUDREYCELESTE   SEXTON                    UT     90004093945
3215841A62B871   MANUEL          FLORES DELHOYO            ID     90012874106
32159466A31424   MILTON          ISAIAH                    MO     90013894660
3215947417B492   JENNIFER        BRUCE                     NC     90013564741
3215951494124B   BRIAN           ORDEAN                    PA     90011565149
3215985634B586   DANA            ANDERSON                  OK     90011168563
3215992628B162   SCOTT           ROBINSON                  UT     90007549262
3215B14197B471   STEPHANIE       HUNT                      NC     90013331419
3215B212455951   GERARDO         VELAZCO                   CA     90005802124
3215B282351339   VALENCIA        GRAY                      OH     90008342823
3215B69325B156   CLARICE         GRIFFIN                   AR     23078086932
3215B694431424   TAMMY           GOWER                     MO     90015556944
3215B8A1A7B639   MELLISA         CREASMAN                  GA     90013928010
3215B993351369   MARCUS          LEE                       OH     90011339933
3215BA27651369   JEREMY          MILLER                    OH     90012850276
3216113265B393   HECTOR          MERAZ                     OR     44582111326
3216123A947931   HEATHER         PATTERSON                 AR     90009452309
321613A1463639   STACEY          MCGOWAN                   MO     90014973014
32162931372B76   RIGOBERTO       PONCE                     CO     90008949313
32162A4925B393   TROY            KIRK                      OR     90011370492
321631A4991531   MARCO           GONZALEZ                  TX     90012131049
321633A1463639   STACEY          MCGOWAN                   MO     90014973014
3216388342B87B   MARVIN          CASTANEDA                 ID     90013038834
32163A9442B93B   MELINDA         OREJEL                    CA     45055550944
3216411817B471   WALTER          WINGO                     NC     11092091181
3216412967B43B   TIFFANY         ATKINSON                  NC     11054501296
32164A1468B162   JACOB           LEVI                      UT     90005490146
3216511374B943   JESUS           ENRIQUEZ                  TX     90012061137
32165A53291356   ANDREA          BROOKS                    KS     90010740532
3216628A85B393   ERIKA           RUSSUM                    OR     90006432808
3216635985B156   ESHE            MUSTAFA                   AR     90015203598
3216636152B93B   MARCOS          CHAVEZ                    CA     90011503615
321663A475B52B   CHRIS           LISTER                    NM     35040663047
32166726272B76   DESIREE         ROMERO                    CO     90001207262
3216676998B16B   SHARON          WILKINSON                 UT     31059887699
32166841A72496   JAKE            LEE                       PA     90014668410
3216687732B871   SHAUNA          EMARA                     ID     90011798773
3216866757B425   JOHNNY          ARGTA                     NC     90013296675
32168A3615B156   BOBBIE          CARRANZA                  AR     23057860361
3216983628B16B   BEATRIZ E       HARO                      UT     31006188362
3216B13522B871   MARIBEL         CORTEZ                    ID     90013521352
3216B568757153   ROXANA          GUEVARA                   VA     90001495687
3216B788454165   YELDEZ          ASMUS                     OR     90008127884
3216B883791831   EDWIN           WEBB                      OK     21070638837
3216B96A451339   BRANDY          BOLDEN                    OH     90009879604
3216BA5388B162   JESSE           CURTIS                    UT     31043650538
3217164747B471   KRISTE          SMITH                     NC     90010646474
32171789A5B52B   GEORGE          DARBY                     NM     35016547890
32171AA9547931   JAIME           RODRIGUEZ                 AR     25007150095
3217246684B281   MARIANA         GOMEZ                     NE     90013784668
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3217259192B871   GUADALUPE    CASAS PUEBLA                 ID     42059235919
32172842A51339   MELISSA      LAWSON                       OH     90010888420
32173A42191563   SAUL         MARTINEZ                     TX     90013250421
321741A4455972   MARISELA     CHAVEZ                       CA     90014311044
3217451962B871   CHRISTY      KIRK                         ID     42009205196
32174A74371996   MARY         GONZALEZ                     CO     90015100743
3217617134B943   JUAN         COLINDRES                    TX     90013131713
3217674A291356   YESENIA      LUNA                         KS     90005637402
32176922A2B87B   EVONNE       MOWDY                        ID     90009399220
32176927A7B425   LISA         HADLEY                       NC     90009639270
3217722944B281   MONA         JOHNSON                      NE     27029972294
3217746347B449   IESHA        VAZQUEZ                      NC     90013974634
3217794274124B   RALPH        OLIVERIO                     PA     51098119427
3217878957B449   TRINA        HOLLIS                       NC     90009677895
32179728A4B542   KRISTINE     PAOLO                        OK     90011037280
3217B27A17B492   RANDY        MCLEOUD                      NC     90014622701
3217B3A9791563   ADRIANA      AVALOS                       TX     90000243097
3217B527341258   CHRISTINE    JACKSON                      PA     90007905273
3217B73A157153   JAIME        PALMA                        DC     90006357301
3218138174B281   ROBYN        SCHMITZ                      NE     27061013817
3218146523B163   WIL          VARLACK                      VA     90007334652
321814A572B835   WILLIAM      SLAWSON                      ID     90008624057
3218165972B835   WILLIAM      SLAWSON                      ID     90013826597
3218181A98165B   MARCO        RAMIREZ                      MO     90004428109
3218222117B471   MARTHA       BARAHONA                     NC     90012742211
321826A4A91563   HECTOR       GARDEA                       TX     75090336040
32182A4238B162   RUBEN        CABALLERO                    UT     90013340423
3218346115B393   DANIEL       JOHNSON                      OR     90008484611
3218349242B835   WYATT        DAVIS                        ID     90014874924
3218439852B87B   SHAWNA       TALAMANTES                   ID     90012453985
3218535918B162   SHERRY       BROWN                        UT     31081013591
3218642374123B   NICOLE       GIVEN                        PA     90009854237
3218688449375B   SHANE        JONES                        OH     90011938844
32186981A4B943   JAMES        HOWARTH                      TX     90014659810
3218735A272B93   LEAH         SKIEWICS                     CO     90012603502
321874A655B393   LORI         WILLIAMS                     OR     90014794065
3218754294124B   DZHABBAR     ISLAMOV                      PA     51068565429
32187918A31424   NATASHA      NEWBURN                      MO     90011009180
3218831A15B536   DANIEL       SAMPSON                      NM     35083933101
3218841A391356   TOMAS        MOTA                         KS     90011874103
3218867662B835   JANINE       MORGAN                       ID     90008416766
32189166A91531   LORI         JOHNSON                      TX     90013591660
321896A1A4B943   TIARA        GARRICK                      TX     90014926010
32189AA6655951   JAVIER       GARCIA                       CA     49087370066
3218B118A91531   MARISOL      LARA                         TX     90012571180
3218B333A7B639   HENRY        RAMIREZ                      GA     90009093330
3218B35614B281   DAVID        MAYEN                        NE     90000433561
3218B5A7A5B52B   KELLY        MARTINEZ                     NM     90008045070
3218BA82891563   RODOLFO      TERRAZAS                     TX     90012610828
3219166945B52B   CARLA        BOSELLI                      NM     90001726694
3219182A291356   DEMETERIA    HENDRIX                      KS     90002828202
321922A4184368   YESSICA      ANHALT                       SC     90011532041
3219244942B835   GUY          ARBUCKLE                     ID     90007544494
3219279494B943   MARIA        CISNEROS                     TX     90015187949
32193431A7B43B   JAIRO        LOPEZ                        NC     90003744310
321941A652B93B   LAURIE       LASATER                      CA     45046831065
3219451257B471   MARCIA       PETERSON                     NC     90015335125
32194512A4124B   REBECCA      THOMPSON                     PA     90013315120
32194A74455939   SABINO       ROCHA MORALES                CA     90007780744
3219533144B943   VITA         RAYMOND                      TX     76596323314
32195A7632B835   MARY         SPEARWALKER                  ID     42091520763
3219614134124B   NATHIA       CAMARGO                      PA     51016651413
321965A6151369   MICHELLE     LEDBETTER                    OH     66083285061
3219694565598B   FELIPE       YERENA                       CA     90012639456
3219698568B162   GARY         LININGER                     UT     90013649856
32196A2544B943   MAXIMINO     AVILA                        TX     90010300254
3219769835B52B   RAMIREZ      MARICRUZ                     NM     90010826983
3219848758B16B   ALFREDO      VELAZQUEZ                    UT     90012174875
321986A492B871   RYAN         OLIVER                       ID     90009446049
3219938787B429   JORGE        NATIVI                       NC     90010813878
3219973985B52B   KELLY        MCFARLANE                    NM     35031157398
321998A818B162   VALENTE      HUERAMO                      UT     90006958081
32199AA6A5132B   PAUL         LOCKARD                      OH     90006960060
3219B443472496   AMMANUEL     CASSA                        PA     90002064434
3219B55465B156   DUSTIN       KRAPF                        AR     90015455546
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3219B796551339   DAVID            COLTER                   OH     66012357965
321B147A95B393   DEBRA            GRIGGS                   OR     90003924709
321B148A65B156   BERNARD          MAZUREK                  AR     23083824806
321B176984B281   JEANIE           HALL                     IA     90009887698
321B1A82455936   VICTORIA         MACIEL                   CA     90010710824
321B273442B871   THOMAS           AUSTIN                   ID     90013537344
321B28A2747931   YAMILET          LOPEZ                    AR     25027878027
321B3113555951   CELIA            AMESQUITA                CA     90007371135
321B31A155B141   VANQUESHA        GRANT                    AR     90001541015
321B3229851369   AUNDREA          GRUBB                    OH     90005052298
321B3983A9375B   TOM              WITTEN                   OH     90009819830
321B3A6247B639   BRENDA           WILLIAMS                 GA     90013810624
321B424495B52B   JOSE             BETANCO                  NM     90013872449
321B447745B52B   SHERI            HARKINS                  NM     90011134774
321B574762B871   CAROLE           HAMMACK                  ID     42061747476
321B5836972496   AMANDA           MILLER                   PA     51069498369
321B594AA2B835   AMY              PERDIG                   ID     90014999400
321B599297B43B   LASHANDA         CUTHBERTON               NC     90003279929
321B5A65555951   FREDRICK         MITCHELL                 CA     49093380655
321B5A78A4124B   WILFRED          KASTROLL                 PA     90013580780
321B6115354165   YOLAND           DAVIS                    OR     90015251153
321B612484B943   ALEJANDRO        CIBRIAN                  TX     90010271248
321B6172291831   MINDY            ELLIS                    OK     90000471722
321B6764947931   JOSE MANUEL      HERNANDEZ                AR     90012627649
321B6A6964B943   AMY AND IBANEZ   ABDIEL                   TX     90010070696
321B769A75598B   ANDREA           VASQUEZ                  CA     90010236907
321B81A667B425   ERIK             RUIZ SILVA               NC     90013141066
321B834618B162   STEVEN           DEEMS                    UT     90014093461
321B835415B52B   JOSE             GUSTAVO                  NM     35007633541
321B899384B943   RACHEL           BONNETTE                 TX     90013409938
321B8A6964B943   AMY AND IBANEZ   ABDIEL                   TX     90010070696
321B99A694B943   SHONDA           EDMONDSON                TX     76507839069
321BB31775598B   NELLIE           RODRIGUAZ                CA     90009183177
321BB491155972   OCTAVIO          BURCIAGA                 CA     48016134911
321BB51415598B   PEDRO            PORRAS                   CA     90006905141
321BB8A4757126   JANET            NYARKO                   VA     90014788047
321BB95254124B   JOSH             MARTIN                   PA     90015429525
321BBA6237B492   SHELIA           MOORE                    NC     90010870623
3221122A72B87B   VINCENT          PELCH                    ID     90014832207
3221123842B871   RIAM             TALIB                    ID     42001312384
3221126217B639   ALEXANDRO        VELAZQUEZ                GA     90004262621
322115A9991356   LAURA            GALAVEZ                  KS     90011035099
32211A3915B393   KUKENA           BUZEYI                   OR     90011540391
32211A77951369   MAGHAN           CREECH                   OH     90004910779
322123A2151369   HEATHER          SHELTON                  OH     90014693021
32212545876B47   STEVEN J         HADAR                    CA     90003985458
3221257235598B   ANGELIQUE        CHAVEZ                   CA     90006145723
3221377527B639   INEZ             THETFORD                 GA     90014757752
32213829A4B943   LACRETIA         HOLMES                   TX     90012778290
3221391AA2B87B   LISSA            NELSON                   ID     42033219100
3221451697B492   JESSICA          MILLER                   NC     90013995169
3221496262B835   ROBERT           DYAS                     ID     42042869626
32214A7417B639   GALISA           HENDERSON                GA     90012040741
32214AA324124B   DAVID            ALSTON                   PA     51077610032
3221538A972496   CHRISTOPHER      RAFFLE                   PA     90008333809
3221576957B43B   ANTOINE          ORR                      NC     11065297695
32215AA4291543   ADRIANA          CASTRO                   TX     75016240042
3221663719797B   CHRIS            JACOBE                   TX     90008096371
3221665822B835   JOLENE           WESTMORELAND             ID     42097906582
3221791525598B   CLARA            CELANI                   CA     49002599152
32217AA927B449   ALEN             ALEN                     NC     90008710092
3221826835598B   AMBER            HULSEY                   CA     90009092683
3221834A572B76   LEVI             ABEYTA                   CO     33016223405
3221855128B162   LESLI            MARTINEZ                 UT     31086485512
3221885518B162   DAVID            MARTINEZ                 UT     90012388551
32218A39251369   NAW              WIN                      OH     90012850392
32218A44976B44   JORGE            GIMENO                   CA     90012790449
3221929775B393   NATASHA          COY                      OR     90009602977
32219528A7B492   ROBERT           KNIGHT                   NC     90013535280
3221B22518B162   CLARK            BETHERS                  UT     90013572251
3221B981A5598B   SUNNY            CASTRO                   CA     90001239810
3221BA57291831   MISTY            MOORE                    OK     90014600572
3222111614B943   WAYNE            DRAKE                    TX     90001621161
3222151A831639   HEATHER          ARREDONDO                KS     22076805108
32221A48484368   JAIRO            HERNANDEZ                SC     90011570484
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322222A974B281   SHIRLEY        SOPCICH                    NE     27013242097
322223A387B471   ERIC           JONES                      NC     90011893038
3222279167B43B   DEYSI          CARDENAS                   NC     11003917916
32222989A7B492   TAMIA          HAYES                      NC     90013579890
32222A9585B156   LASTER JR      NOWDEN                     AR     90013750958
3222332445B52B   ANNA           MARTINEZ                   NM     35098553244
3222339295B393   VICTOR         CASTILLO                   OR     90014213929
3222397898165B   LUIS           RAGGOZA                    MO     90001259789
3222472225B52B   EMILY          GUTIERREZ                  NM     35079797222
32225626A2B871   ANGEL          BOYD                       ID     90008486260
32225A3888B162   EARL           ROOT                       UT     90011290388
32226181372B76   LUZ MARIA      HERNANDEZ                  CO     33087351813
3222619924124B   SUSAN          EICHLER                    PA     51001281992
3222693155B156   OSCAR          RAMIREZ                    AR     23025379315
3222742A17B449   RENEE          CARTER                     NC     90000144201
32227A3A53163B   CHARLES        KEPFORD                    KS     90009170305
3222827534B929   BARBARA        FREGIA                     TX     90006862753
3222833364B281   JEANETTE       DAVIS                      NE     90008303336
32228A62A5B156   RYNETTA        GRANT                      AR     90012030620
3222912222B87B   MARIAN         JIMENEZ                    ID     90011141222
3222946285B52B   JENNIFERDAWN   WIDENER                    NM     90008744628
322297A7A5B156   JASMINE        BROWN                      AR     90014467070
3222B343591531   MONICA         RODRIGUEZ                  TX     90011553435
3222B546355972   STEVEN         GOMEZ                      CA     90007815463
3222B779391531   ROSA           DEMERCADO                  TX     75094357793
3222B845741277   ROBERTO        SCAMPONE                   PA     90008928457
3223114565B156   CHANDLER       KEIAIRA                    AR     90014421456
3223144817B492   CHRISTOPHER    BURCH                      NC     90014154481
3223159374B281   SHEENA         SNYDER                     NE     90013765937
3223177535598B   ALFONZO        REGINO                     CA     90012587753
32231A86951339   ZAKIRIA        CONYAR                     OH     90013510869
32232184A7B639   SHAMIKA        BEASLEY                    GA     90014281840
3223245665B393   SIERRA         GOLDEN                     OR     90014794566
322337A934B281   DON            GLYNN                      NE     90014777093
3223387418B14B   ROLANDO        CHAVEZ SOTO                UT     90012068741
3223397A791531   CARLA          PEREZ                      TX     90005259707
32234A2622B871   CHRISTINA      FAGUNDES                   ID     90013690262
3223666554B943   CALVIN         HARRISON                   TX     90014426655
3223666A191531   DAVID          ANAYA                      TX     75030276601
32236AA365598B   JOSHUA         YANG                       CA     90014560036
3223713645598B   RICHARD        HERNANDEZ                  CA     49083031364
3223728712B835   RICKI          RADFORD                    ID     42034972871
3223752954B281   CHRISTOPHER    BROWN                      NE     90014865295
3223785887B449   ZANDRA         RICHARDSON                 NC     90014228588
3223929385B393   KRISTIN        FINSTAD                    OR     44511582938
3223932372B871   MARK           CHANDLER JR                ID     42054313237
3223939145B156   STEVEN         BOBO                       AR     23092493914
3223B717184368   ENRIQUE        GARCIA                     SC     90012107171
3223B941291356   JESUS          MEJIA                      KS     90008549412
3223BA4967B449   OSCAR          SANCHEZ                    NC     90007150496
3224158A65B52B   JOSE           BETANCO                    NM     90014155806
32241725A2B835   ERIC JASON     MACFARLANE                 ID     90014887250
3224234632B87B   SALVADOR       RODRIGUEZ                  ID     90015313463
3224259688B16B   MAILE          KYNASTON                   UT     90013675968
32242A8352B93B   MARIA          GUERRERO                   CA     90011830835
3224327A52B835   EBOR           BRUNO                      ID     90004792705
3224383A531424   CALEB          JOHNSON                    MO     90001038305
3224422855B393   DELBERT        STONE                      OR     90010872285
32244516A51339   TALENA         ROBERTS                    OH     66008385160
3224499375B156   JOSE           ANCA-CHAN                  AR     90014799937
32244A6415B393   MARY           RAAB                       OR     90010770641
322452AA784368   JOSE LUIS      CERDA HERNANDEZ            SC     90007562007
3224535A941277   ROBERT         CIORA                      PA     51064813509
3224557368B162   CASTRO         IVAN                       UT     90014155736
3224638577B639   WENDY          PIERCE                     GA     15034263857
3224649295B393   AISHA          BROWN                      OR     90014794929
3224658184B281   RAYFORD        HAYNES                     NE     90012395818
32246667272B76   JESSE          RENDON                     CO     90012926672
3224666912B871   JACOB          WILCOX                     ID     42042806691
322468A2A7B471   LISA           BUCKALOO                   NC     11082178020
3224792937B492   GEORGIA        M LIPSCOMB                 NC     90010089293
322481A2991531   CARMEN         ADAME                      TX     90013381029
3224851673B352   ANDREW         SMITH                      CO     90001655167
3224881248165B   ARLETHA        CAL                        MO     29048268124
3224896242B87B   ATHENA         SANDERS                    ID     42096539624
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3224B288841258   GERALDINE       HAINES                    PA     90009782888
3224B488654165   VITA            FUGATE BROWNLEE           OR     47056014886
3224BA95131424   MARURICE        GARBRY                    MO     27561660951
32251142A4B281   KERRI           FREEMAN                   NE     90005751420
3225138A691563   ELIZABETH       AMADOR                    TX     75096513806
3225229812B87B   SALVADOR JR     LOPEZ                     ID     90012562981
322525A4891831   RANDY           CURRY                     OK     90010275048
32252AA722B93B   BRIAN           REDDEN                    CA     90012990072
3225381712B93B   TIM             LEWIS                     CA     90014068171
32253856372B37   MARIA           LUZ MENDOZA               CO     90011578563
3225423A172B76   ROBERT          MATTHEWS                  CO     33062552301
32254432A2B93B   SANDRA          ARAMBULA                  CA     90011834320
3225453615598B   MARIANNE        FAIR                      CA     49000445361
32254867A7B492   FREDA LAVERNE   TYSON WILLIAMS            NC     90007448670
32254941A72496   LUCAS           VICTOR                    PA     90005439410
322552A3254165   ARMANDO         ALVAREZ                   OR     90014092032
322553A9A7B639   OCTAVIUS        PULTEPPER                 GA     90012343090
3225549768B16B   CRYSTAL         NELSON                    UT     31083324976
3225563755B393   BRIAN           OAS                       OR     90001616375
3225635745B156   JACOB           NOWLIN                    AR     90013903574
3225645A551369   MARILYN         JONES                     OH     90014364505
322569A5977544   MICHAEL         MENDEZ                    NV     43006919059
32257A4995B52B   EMALINA         RODRIGUEZ                 NM     90010660499
3225866997B639   REYEZ           OLMAN                     GA     90013006699
322595A9677544   KELLY           HAMON                     NV     90014905096
3225978372B835   BRETT           PINSON                    ID     42090307837
3225B57847B639   RAYMOND         WILLIS                    GA     90013005784
3225B5A4557367   LISA            MEYERS                    MO     90014185045
3225B629791831   CORY            FIELDS                    OK     90012906297
3225B91817B492   KARLA           AVILA                     NC     90014269181
3226184332B835   JULIUS          ROMERO                    ID     90012038433
322618A5836143   KENNETH         JEFFORIES                 TX     90014698058
32261A7745598B   MATTHEW         ESCOTO                    CA     90002690774
3226258995B156   MICHAEL         MCDANIEL                  AR     90006165899
3226314284B281   LEVETTE         HALL                      NE     90006811428
3226315475B52B   JUDITH          RASCON                    NM     90015081547
3226351652B835   MILLER          TINA                      ID     90004735165
3226386692B87B   JOHN            HOADLEY                   ID     90002558669
322642A4831424   LANEE           MERRIDITH                 MO     90013152048
3226476535B393   JESUS           SAN MARTIN                OR     44504717653
3226534A12B871   TAMARA          WELCH                     ID     42091503401
32267A6765B52B   DENISE          SENA                      NM     35047980676
3226838712B871   FAIRY           HITCHCOCK                 ID     42046283871
3226854468B16B   JACKIE          REEVES                    UT     31031005446
3226867A961925   MIKE            MURPHY                    CA     90010916709
32268693A36143   LORETTA         NAVARRO                   TX     73589786930
3226875885598B   NANCY           ROJAS                     CA     90013427588
3226878287B639   SHAI            WILLIAMS                  GA     90010907828
3226884A55B393   TRACEY          LAMANCE                   OR     44511588405
322693A395B393   JOHN            WALTERICH                 OR     44514233039
3226953667B471   VALERIE         MASON                     NC     11066765366
3226983495598B   STEVE           BENAVIDEZ                 CA     90014488349
3226999A74B943   LINDA           BAYARD                    TX     90005529907
3226B44875B52B   CHRISTINE       CALLOWAY                  CA     35087014487
3226B79424B281   SERGIO          AGUSTIN                   NE     90011017942
3227155384B943   EPITACIO        CASTILLO                  TX     90012835538
3227192522B835   LUCAS           ROBLEDO                   ID     42074659252
32271A56591563   RODRIGUEZ       BLANCA                    TX     90008760565
3227261962B87B   NATALIE         MCAFFEE                   ID     42033806196
32272A1A977544   JOSE            GUTIERREZ                 NV     43056960109
3227312A277544   DANIEL          DAVIDSON                  NV     90014921202
3227315345B156   SARALENE        MCFADDEN                  AR     90014051534
322731A345733B   LAURA           LAURA RODRIGUEZ           MO     90011091034
3227321174124B   CAROLINE        SCHMIDT                   PA     51005002117
3227326A72B835   SEAN            ROSADO                    ID     90013452607
32273769972B76   TABITHA         FAZZIO                    CO     33016227699
32273913A36143   THERESA         CANO                      TX     90009479130
3227412A977544   PASCUAL         SEGURA                    NV     90014921209
3227416A736143   MARY            GARZA                     TX     90005191607
3227423462B871   HECTOR          CORVERA                   ID     90013402346
3227435774124B   KIMBERLY        CORDELL                   PA     51089863577
322744A3A3B351   SARAH           MORGAN                    CO     33071984030
3227454254B943   RAMON           REYES                     TX     90013195425
3227469795598B   BRENDA          MALDONADO                 CA     90012816979
32274A3822B93B   ROB             DOGG                      CA     90013000382
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3227517942B871   BRANDEE        SLAGEL                     ID     42079001794
3227542617B471   GABRIEL        MERCADO                    NC     90008894261
32275562A2B871   TULLEN         TARVER                     ID     90015395620
322756A514B943   RODOLFO        TINOCO                     TX     90011136051
3227652A97B422   KEISHA         FAGGART                    NC     90009325209
3227657472B835   TONYA          CARTER                     ID     90007545747
3227717498B147   GLORIA         BOBADILLA                  UT     90010151749
3227747614B943   BRIGIDA        SORIANO                    TX     90006084761
32277729A91831   TORENCE        WOODS                      OK     90013157290
3227836A28B16B   PATRICIA       MENDOZA                    UT     90013053602
3227866772B93B   MARIA          CALDERON                   CA     90006436677
322789A335B156   ERICA          WILLIAMS                   AR     90015449033
3227957595B52B   JESUS          CARRERA                    NM     90011135759
3227964492B93B   MATT           GRAYSON                    CA     90015016449
322796A455B393   DYLAN          ANTONS                     OR     90014796045
3227994562B87B   KEITH          WINDER                     ID     90001519456
3227B225351339   DAVID          CHEWNING                   OH     90013802253
3227B254A91831   TAMMY          G PEGG                     OK     21041392540
3227B9A8931424   LARRY          GREY                       MO     90011349089
3227BAA2A54165   PETTYJOHN      ANITA                      OR     90006030020
322813A5572455   SHERRY         BRAGANO                    PA     51007093055
3228151467B449   MISTY          SHINE                      NC     90005925146
3228164352B87B   CHRISTINE      LAWSON                     ID     90010436435
322816A5A84368   QUANEISHA      MYERS                      SC     90015126050
3228214782B835   EDDIE          BOSWELL                    ID     90014711478
3228283A791531   MAYRA          CAMPOS                     TX     90012908307
322828A955598B   ISABEL         NUNEZ                      CA     90003628095
32282A82A8B16B   TOBY           CARPENTER                  UT     90005210820
32283AA5191356   JUANA          DERAS                      KS     90000440051
3228428167B425   JENNIFER       EDWARDS                    NC     90008252816
322844A138B16B   TONI           PEREA                      UT     90014664013
3228462642B93B   AUSTREVERDO    ESQUIVEL                   CA     90015216264
32284A2738B166   HENRY          LOPEZ                      UT     31037050273
3228621765B156   SHARON         SHEPHARD                   AR     90013362176
3228662945B393   NICOLE RENEE   TLUSTY                     OR     90014796294
3228679545B393   SEAN           VORACHAK                   OR     90014817954
32286A6667B639   PHILLIP        STOREY                     GA     90012530666
3228734418B162   MARIA          GARCIA                     UT     31061003441
32287926A41258   KEVIN          JOHNSTON                   PA     51016859260
32287A5872B835   LAWRENCE       ARCHULETA                  ID     90006500587
3228814A94124B   SERETTA        CAMPBELL                   PA     51012611409
3228815424B943   TIMOTEO        VAZQUEZ                    TX     90015091542
3228915312B871   SHANNON        BOEPPLE                    ID     42021501531
3228956724B583   BRENDA         MYERS                      OK     90002055672
3228957272B87B   SCOTT          WARNER                     ID     42011665727
3228B44675598B   DRYDEN         MANNON                     CA     49033584467
3228B55187B449   JAMES          FREEMAN                    NC     11049825518
3228B619872496   RICHARD        BAER                       PA     90013196198
3228B634691356   MONYAL         FRANKLIN                   KS     29012676346
322919A774B943   KELLY          BLANCO                     TX     76542339077
32291A72654165   AUSTIN         DUPRE                      OR     90015190726
3229255A291531   CAROLINA       CHAVEZ                     TX     90006305502
32292A57955972   ADELINA        MARTIN                     CA     90006270579
322934A6741277   JUSTIN         CHARMO                     PA     90014024067
322935A1191563   LUIS           DOMINGUEZ                  TX     75071105011
3229363A65B393   EDWARD         SANTOYA                    OR     90014796306
3229372182B93B   JOSE           GUZMAN                     CA     90011907218
3229455995598B   FRED           WALKER                     CA     49050565599
3229484354B943   ANTHONY        ROSENTRETER                TX     90015258435
3229492977B639   SHELDON        PARKER                     AL     90013679297
322949A787B449   HOLOEGARIO     LOPEZ                      NC     90012159078
32295A7A591563   HERMINIO       TAFOYA                     TX     90001870705
3229663615B52B   AZUSENA        ORTIZ                      NM     35017866361
322967A4984368   ALFRED         YOUNG                      SC     90008437049
322968A545598B   CARLOS         MONTANO                    CA     90014898054
32296A65876B7B   JESUS          GUILLERMO                  CA     46005330658
3229719142B87B   AMANDA         GRAY                       ID     90014571914
32297322A4B281   TYRESHA        TEMBERLAKE                 NE     90005433220
322973A727B492   JIMMY          CARTER                     NC     11095393072
32297A89654165   THOMAS         PETERSON                   OR     90014240896
3229839888B147   ELSI           BOBADILLA                  UT     90009303988
3229866145B393   SARA           CATT                       OR     90014796614
32298AA9972B76   MADISON        CARLENO                    CO     33058440099
32299288A2B871   KYLE           GUSTAFSON                  ID     90011152880
3229966145B393   SARA           CATT                       OR     90014796614
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3229B395291831   DAVID         VALDEZ                      OK     90013963952
3229B675151339   DUSTIN        SANDERS                     OH     90010896751
3229B739191563   ARACELI       DELGADO                     TX     75041267391
322B1118A31424   KAREN         TAYLOR                      MO     90012441180
322B142532B93B   JOHN          DOE                         CA     90014554253
322B1979441285   ALINA         BIVINS                      PA     51096789794
322B223357B471   KARLA         MILLER                      NC     11064652335
322B25A668B166   RUTH          MINNIS                      UT     31086465066
322B279417B492   GYAGUS        WALLACE                     NC     90012747941
322B33A582B93B   BIANCA        GONZALEZ                    CA     90013123058
322B349342B871   THADEUS       GRAHAM                      ID     42058434934
322B34A7841258   JOSE          IBARRA SANCHEZ              PA     51066034078
322B392A72B87B   AMELIA        BANOS                       ID     90001119207
322B419AA5B156   BRANDI        BROADWAY                    AR     90014621900
322B42A6541277   RAYMOND       COOK                        PA     90011402065
322B4311754165   KARRIN        RADCLIFFE                   OR     47075863117
322B4432272496   RONALD        MARTRAY                     PA     51097734322
322B4766191563   SHANNON       GORHAM                      TX     75014157661
322B497637B43B   ALEJANDRO     MONTANO                     NC     90003869763
322B5177A54165   ASHLEY        BAIRD                       OR     90013751770
322B5339657153   BASHIRU       KANU                        VA     90006403396
322B551754B943   RUTHIE        MILLER                      TX     90014645175
322B5A1465593B   HELEN         PEABODY                     CA     48059610146
322B618892B835   LINDA         KEENA                       ID     90014061889
322B626214B943   ROUSHAUNDA    GIRON                       TX     90001042621
322B6336391531   STACY         ZAVALA                      TX     90014843363
322B6719531424   CHARKENA      JONES                       MO     90011567195
322B691265B156   ROBERT        DANIELS                     AR     90002219126
322B715727B639   CHRISTOPHER   HULING                      GA     90014901572
322B7346A91563   CINDY         HUERTA                      TX     90012583460
322B76A1836143   LAURA         JACKSON                     TX     90015006018
322B7751477544   AMBER         LUCAS                       NV     90011137514
322B78AA341277   NAIM          NURIDDIN                    PA     90013848003
322B7A3252B871   JAMES         DAVIS                       ID     42010390325
322B833914B52B   LEON          WALLACE                     OK     21521073391
322B8537141277   JEFFREY       DZIAK                       PA     51066705371
322B8559A7B43B   SHEMEKA       SCALES                      NC     90009525590
322B878A936143   ROSENDO       VELA                        TX     90013857809
322B8794191831   KYRA          RIOS                        OK     90003067941
322B8965A2162B   CHELLI        TYE                         OH     90014399650
322B922AA24B54   ROBERT        WOODS                       DC     90001382200
322B9869191531   MERCEDES      IBARRA                      TX     75004308691
322B996A231424   CORY          BRASFIELD                   MO     90011009602
322B9AA4291563   ADRIANA       CASTRO                      TX     75016240042
322BB34345598B   DANIEL        MONTEZ                      CA     90009183434
322BB54A151369   PAPA          NDIAYE                      OH     66032425401
322BB627291356   LEONARD       ABRAM                       MO     90012996272
322BB655877544   RACHEL        DIMENCO                     NV     43010056558
322BB81568B16B   FLORENCIO     GARCIA                      UT     90006838156
322BB82142B87B   ALEX          SERDYUKOV                   ID     90015118214
322BBAAA172496   ALBERT        DEVITO                      PA     51090470001
3231158AA91831   CRYSTAL       ROBINSON                    OK     90013935800
32311A2334B943   MARIA         VILLA                       TX     76569570233
3231233187B471   GUADALUPE     MATTA                       NC     90004923318
3231262342B93B   KARIMA        PIMENTE                     CA     90008066234
32312A8514124B   NATHAN        YOCKEY                      PA     90014470851
3231387AA84368   GORGONIO      SOTELO                      SC     14591278700
3231439182B87B   MARIYA        PESINA                      ID     90014923918
3231448AA51369   EDWIN         STURGILL                    OH     90001984800
3231456716192B   JOSE          BARRAZA                     CA     90003835671
3231484448B162   AMORETTE      SIGHTS                      UT     90013438444
3231493442B871   THOMAS        DUDLEY                      ID     90003789344
3231533A147931   RAMON         VILLA                       AR     25096313301
3231566832B93B   MARITZEL      MONTERO                     CA     90000546683
3231574494B943   ELGIN         JENKINS                     TX     76500847449
3231641397B43B   TINA          STEWART                     NC     11083404139
3231641452B87B   DAWN          TIMMONS                     ID     42096484145
3231649895B156   VINCENT       GRAGG                       AR     90007724989
3231684332B871   JULIUS        ROMERO                      ID     90012038433
32316A1AA54165   DENISE        RANIREZ                     OR     90013510100
3231797582B87B   JOSEFINA      CORTEZ                      ID     90009019758
323197A565B393   KYLE          GABLE                       OR     90014797056
3231B373197939   LATRICIA      NELMS                       TX     74029453731
3231B5A5791531   JADIRA        LUNA                        TX     90014865057
3231B6A992B871   ANDREW        PIPER                       ID     90012166099
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3231B872791356   JOSEPH       MANIS                        KS     29011548727
3232114585598B   ELOINA       ALVAREZ                      CA     90007791458
3232149218B166   JEFF         NORMINE                      UT     90002054921
323219AA647931   JONATHAN     KILLEN                       AR     90007879006
3232215998B162   BRITTNY      RODRIGUEZ                    UT     90015581599
3232313377B471   PATRICK      NEFF                         NC     11068181337
3232422344124B   PATRICK      SMITH                        PA     51051102234
3232474515B52B   AUDI         BALDONADO                    NM     90014097451
32324A3147B471   KHAGENDRA    DARGEE                       NC     90010340314
3232514358165B   SALOMON      GODINEZ                      MO     90005821435
3232549577B492   ALICE        CHAMBERS                     NC     90014814957
3232573265598B   MARIA        VEGA-VASQUEZ                 CA     49040987326
32325A84336143   SILVIA       VALENCIA                     TX     90012240843
3232648842B871   MARK         MARTINEZ                     ID     90010684884
32326A24172496   KISA         CROPP                        PA     90013940241
32326AA145B546   GEORGETTE    PADILLA                      NM     90005850014
32327159A36143   EDGAR        MONJARAS                     TX     90008941590
323271A765598B   KELLY        UNGARO                       CA     90014311076
32327A16547931   AMANDA       COMBS                        AR     25084950165
32328A2535598B   ROBERT       GONZALEZ                     CA     90005970253
32328A7168165B   LETICIA      MARTINEZ                     MO     29040400716
3232B557A5598B   ROSALINDA    GOMEZ                        CA     90013385570
3232B55A647931   STEVEN       HENSLEY                      AR     25072935506
3232B7A615B393   JOHN         HINDS                        OR     90014797061
3232B9A122B93B   DANIELLE     MACHADO                      CA     90014839012
323312A732B93B   MARILISA     GARCIA                       CA     90013712073
3233164868B162   CONSUELO     SANDOBAL                     UT     31011146486
323318A8555972   ANITA        GARCIA                       CA     90014588085
32331A4875599B   MARIA        SANTOS                       CA     90006680487
3233254315B393   PAUL         LAZARUS                      OR     44564395431
3233261795B52B   TONY         CHAVEZ                       NM     90011136179
3233283137B453   JOSHUA       LOVE                         NC     11064798313
32332A4A32B835   RAYMOND      MAGEE                        ID     90008500403
3233357377B639   PAYGO        IVR ACTIVATION               GA     90012305737
3233373A777544   BILL         DALLMAN                      NV     43037327307
3233438887B492   JACQUEI      GREENE                       NC     90014353888
3233439854B943   ROBERT       MORGAN                       TX     90003673985
32334A77936143   MARIA        PERALTA                      TX     90012180779
3233551812B87B   CHRIS        YOUNG                        ID     42067175181
3233555AA8B586   JOSE         AGUSTIN                      CA     90014995500
3233568717B43B   SUSAN        CANNON                       NC     90003286871
32335A3144B943   JOSE         DE LA CRUZ                   TX     90013930314
3233619A977544   JOSE         FERRER                       NV     90006161909
3233688315B156   TERRA        HORTON                       AR     90014778831
32337636A4124B   SARAH        BURROWS                      PA     90012626360
323385A7A7B492   PATRICIA     VILLEGAS                     NC     90003795070
3233885A547931   JASON        CRABB                        AR     90012238505
3233887714124B   TARA         VINCENT                      PA     51031868771
3233929854B943   AMBER        BOLAND                       TX     90014282985
32339412372B76   JIMMY        DOUANGPHACHANH               CO     90005714123
3233995A37B639   TREY         JETT                         GA     90013019503
3233997A75B156   CRYSTAL      WILLIAMS                     AR     90014709707
32339A25891563   RICARDO      ARELLANO                     TX     90015310258
3233B142691563   HAYDE        ARANA                        TX     90010291426
3233B2A845B393   MORGAN       SCOTT                        OR     44562992084
3233B464251369   JACKIE       RICE                         OH     90014484642
3233BAA2984368   MICHELLE     MORALL                       SC     14574360029
3234123633363B   LISA         BROOKS                       NC     90014162363
32341378A2B93B   RUSS         ALCORN                       CA     90005883780
3234223135B156   WILLIE       STARR                        AR     90014142313
323422A3947931   ANABEL       PEREZ                        AR     25062302039
32342326A7B471   LEROY        EDOUARZIN                    NC     90009933260
3234237232B87B   JOEY         HANSEN                       ID     90013283723
3234237317B492   MISTY        BRYSON                       NC     90010633731
32342AA2841298   MATT         DEMITRAS                     PA     90000110028
3234338415B52B   TENERIO      ELIZABETH                    NM     90007763841
323436A2341277   RACHEL       WRIGHT                       PA     90001966023
3234457782B835   KELLY        STROUD                       ID     90011955778
3234466475B393   FAATOIA      LAULU                        OR     90014806647
323447A2251369   IVAN         ORTEGA                       OH     90015597022
3234481672B871   JAYME        SACKETT                      ID     90013828167
32345278A8B162   BRIAN        BUCKNER                      UT     31034162780
3234556A92B835   VICTORIA     FLORES                       ID     90010895609
3234582142B87B   ALEX         SERDYUKOV                    ID     90015118214
32345A28147931   MICHELLE     CHAVEZ                       AR     25006890281
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3234773435B393   BETTY          PAZ                        OR     90014797343
32348454A41285   SHANICA        VAUGHN                     PA     51046814540
323484A1472B27   ELLEN          BOELKE                     CO     33076934014
3234876657B471   PAUL           KABER                      NC     90015217665
32348A64691831   FELICIA        CHASE                      OK     90014810646
3234944567B471   TORIANO        GRAYBILL                   NC     90007744456
3234997A277544   AMALIA         VEGA DE NIEBLA             NV     90012469702
32349A64454165   HOWARD         SKELTON                    OR     90011900644
3234B16AA4B281   JEFF           HUFF                       IA     90013961600
3234B47768B162   IRVING         ACEVEDO                    UT     90010764776
3234B48537B639   MARTHA         COLBERT                    AL     90011924853
3234BA53551369   JASMINE        JETER                      OH     66015510535
3235132A647931   RUDY           YONAMINE                   AR     90011243206
3235211A75B156   ERICA          LILIANA-JUAREZ             AR     90012491107
3235219515B52B   ADRIAN         MARTINEZFIERRO             NM     90010371951
3235256438B162   ANTONIA        MORELOS                    UT     90010645643
3235385137B471   SHEENA         BEACH                      NC     11003588513
3235391865B253   MELLISSA       COBLE                      KY     90008099186
3235417617B449   NATASHA        SPRINGS                    NC     90010981761
3235573758B16B   JERRY          TUTTLE JR                  UT     31046187375
3235596A547931   PAYGO          IVR ACTIVATION             AR     90014999605
32355995A63625   CHARLES        SILVER                     MO     90001699950
32356446872B76   NICHOLAS       CABAZOS                    CO     90003174468
3235647192B87B   DAMIAN         MANJARREZ                  ID     42082634719
3235739972B835   ALICIA         MARTS                      ID     90011103997
323576A5891831   JEREMIAH       WARD                       OK     90014176058
3235814528B166   CR             ORTIZ                      UT     90010481452
3235831662B93B   SALVADOR       AVILA                      CA     90013653166
3235893657B471   JENNIFER       GRIFFIN                    SC     90003729365
3235B3AA991356   EMILIANO       BARGAS                     MO     90009873009
3235B58A347931   FERNANDO       PENA                       AR     90014495803
3235B91A23B365   KYLE           MENUEZ                     CO     33049709102
3235B98995B52B   SHARON         MADRID                     NM     35011649899
3235BA15A51369   MIRANDA        BROWN                      OH     90014560150
3236144528B162   ANTONIO        CERVANTES                  UT     90009474452
3236152A42B871   SHARON         LACKAFF                    ID     42033385204
323626A265B393   GLORIA         HUTCHINSON                 OR     44511836026
32362942424B53   MIRIAN         PALACIOS                   DC     90004379424
32362A33231424   CHRIS          PRETZ                      MO     90013990332
3236337518B16B   SHELLEY        COX                        UT     90013803751
3236363A15B52B   ANDRES         MARTINEZ                   NM     90015096301
3236424885B52B   MARCOS         MARES                      NM     90013872488
323643A4357153   MIRIAM         PORTILLO                   VA     90001563043
3236498957B492   JEMYRAN'EE     WEAVER                     NC     11073239895
32364A77891831   BILLY          RUSSELL                    OK     90006920778
3236529964B943   THOMAS         DUNCAN                     TX     90014812996
32365331A5B393   EARL           MATTHEWS                   OR     44513653310
3236555858B162   ANTONIO        CORONA                     UT     90015305585
3236558362B87B   BILLY          SMITH                      ID     90008065836
32365899A4B281   CATHI          GARABRANDT                 NE     27063148990
3236591494B943   MADALYN        VAZQUEZ                    TX     90014839149
3236655537B639   ROBIN          HOWARD                     GA     90015005553
3236667567B471   BRANDON        PARTAIN                    NC     90000626756
323677AA68B162   SANDRA         DIAZ                       UT     90013627006
32367A9645B52B   JAN            SCHROEDER                  NM     35069690964
3236875245B393   CHRISTINA      SAFSTROM                   OR     90014797524
3236994775B156   PAYGO          IVR ACTIVATION             AR     90008349477
3236B288A7B492   NIDIA          WILLIAMS                   NC     90014622880
3236B86934B943   NAZIRA         MEJA                       TX     90014618693
3237153635598B   KELLY          METZ                       CA     49081935363
3237166475B393   FAATOIA        LAULU                      OR     90014806647
3237313192B835   EBERARDO       BANOS                      ID     42038081319
323733AA42B871   HEIDI          WALSH                      ID     90013623004
323734A632B93B   OSCAR          JIMENEZ                    CA     90013924063
3237353754B943   EBONY DENISE   LAVAN                      TX     90011905375
3237361332B871   MARY           BITNER                     ID     90013636133
32373A2877B449   CALUDIA        HERNANDEZ                  NC     90014880287
32373A65131424   PATTI          IVES                       MO     90008710651
3237426945B156   G AND H        JANITORIL SERVICE          AR     23052462694
3237433252B87B   DYLAN          LANE                       ID     90013963325
32374589A91587   ADRIANA        CHACON                     TX     75012155890
3237497647B639   CHIQUITA       HAWKINS                    GA     15038569764
32374A2477B43B   AUSEDCIA       OVALLE                     NC     11027290247
3237565A62B835   MIRANDA        EADS                       ID     90009576506
3237569135B393   CHIO           SAECHAO                    OR     90014806913
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3237591A22B87B   YVONNE        VALENZUELA                  ID     42044799102
32375A87991563   LIDIA         CAMPOS                      TX     90008890879
323761A3547931   ALFREDO       FLORES                      AR     90012211035
3237634867B471   DAMION        PEARSON                     NC     11084343486
3237657A92B835   MCKENZIE      PERRIN                      ID     90005185709
3237663524B943   IRASEMA       SABAIZ                      TX     90004366352
3237672595B393   BASUKUMBI     WAMULUMBA                   OR     90014807259
323773A1391356   DERRICK       DUNN                        KS     90014923013
3237748922B871   SARA          ALONSO                      ID     90009954892
32377A4427B639   MICHELLE      MCLESTER                    GA     90014750442
3237825837B471   JUDY          HOUSE                       NC     90014822583
3237859752B871   PATTY         CARRIILLO                   ID     90009725975
323788A9572496   KAREN         STEWART                     PA     90013468095
3237916575B393   MIGUEL        MEJIA                       OR     90010581657
3237922978B162   TONY          RICARDES                    UT     31092742297
323794A5347931   PREACHER JR   BALOS                       AR     90014934053
323795A437B449   ANDREA        HOLT                        NC     11065965043
32379A9952B87B   JOSE MANUEL   RUIZ SANDOVAL               ID     90005800995
3237B23417B471   LOMAMI        OTEKA                       NC     90014592341
3237B58995B156   DANIEL        GOFF                        AR     90014455899
3237B66242B87B   JASON         UHLENHOPP                   ID     42043836624
32381552A77544   RACHELLE      MILLER                      NV     43090075520
3238161472B93B   JONAS         DOMINGUEZ                   CA     45071596147
3238183632B871   TRAVIS        ELLIS                       ID     90014128363
3238191564B281   AMOS          LACKORE                     NE     90005379156
323824A268B162   CARMA         WILLIAMS                    UT     31086224026
3238346135B393   FRANCISCO     BOTTELLO                    OR     90010424613
32383627A2B871   MISTY         SPOOR                       ID     90013046270
32383818A54165   SHERRY        JOHNSTON                    OR     90012938180
32383957A4B281   BEVERLY       WILLIAMS                    NE     27011039570
3238399A191531   ERNESTO       AMEZAGA                     TX     90015129901
32383A8415598B   EVELYN        ALVAREZ                     CA     90014130841
3238461762B93B   SUMMER        MARINESE                    CA     90013016176
3238466142B835   KRISTEENA     MIDDLEBROOK                 ID     90012606614
32384A64A2B871   CHRISTINA     DUNBAR                      ID     90014780640
32385A1518B162   GREGORY       WARNER                      UT     31071750151
32386A7A65598B   MANUEL        ROCHA                       CA     49053720706
323873A322B93B   SAUEL         RUBEN                       CA     90013153032
3238742474B281   JOSE LUIS     GUERRERO                    NE     90010464247
3238755212B87B   COLLEEN       CONDON                      ID     42001485521
3238758892B93B   PATRICIA      SORIA                       CA     90014525889
3238779965B393   IONELA        BENTEA                      OR     90014807996
3238796294124B   MARISA        DUSETZINA                   PA     90012489629
3238993A77B492   STEPHANIE     RICE                        NC     90012469307
3238B415451339   ERIC          CALHOUN                     OH     66081334154
3238B41695598B   ART           ALARCON                     CA     90011384169
3238B732A2B87B   DAVID         ESPARZA                     ID     90010667320
3239123857B639   ARIN          ADAMS                       GA     90008272385
3239157642B835   FAE           TORRES                      ID     90009805764
3239231532B93B   BIANCA        GONZALEZ                    CA     90013123153
3239231AA54165   KRISTIN       STUCKRATH                   OR     47093483100
3239241A25B393   KAREN         FRANCO                      OR     90005804102
323924A868B16B   CHRIS         SLY                         UT     31047844086
32392833A77544   JONATHAN      RAMIREZ                     NV     90013088330
3239284A42B871   CAMRON        BRISTOW                     ID     42050868404
32392981A55931   MARIO         GUERRA                      CA     90009559810
32393978A4B281   CRYSTELL      ORENT                       NE     27076979780
32393AA4A5B375   GREGORIA      CUALIO                      OR     90009720040
3239448675598B   ARMANDO       LOPEZ                       CA     49064344867
3239478415B52B   ANTHONY       SANCHEZ                     NM     90014637841
3239493A35B393   RON           LIEB                        OR     90014819303
32394AA394B943   IRIS          OLIVA                       TX     90013770039
3239681A691531   MARIBEL       GOMEZ                       TX     75020628106
32396AA1351369   KATHERINA     COX                         OH     90013460013
3239743212B87B   CLAUDIA       PEREZ                       ID     90013584321
3239756854124B   DARLA         POPE                        PA     51050115685
3239768375B156   DIANNE        WILLIAMS                    AR     23012966837
32397A96336143   KEVIN         WILLIAMS                    TX     90014620963
3239846A641285   CASIE         WOODS                       PA     90002584606
3239848894B281   JINORA        GARCIA                      NE     90014114889
3239916A15B156   TERRI         GAINES                      AR     90013701601
323991AAA2B871   DAWN          SKANK                       ID     90001191000
32399A5A855972   PAULINE       ZAMUDIO                     CA     48027520508
3239B16418B16B   CRYSTAL       ARENDTSEN                   UT     31058651641
3239B3A5661993   GLEN          HAVENS                      CA     90011183056
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3239B5AA68B162   ANDRES            CORDOBA                 UT     90010225006
323B125682B87B   MARY              ROBINSON                ID     42066332568
323B12A4291531   ALFREDO           RAMIREZ                 TX     90013592042
323B1413577544   CORRINE           TOLMAN                  NV     90009574135
323B182888165B   IRENE             GARCIA                  MO     90012288288
323B197932B835   GRAYSON           STODDARD                ID     90013659793
323B223927B471   YOLANDA           HALL                    NC     90001812392
323B2662447931   SCOTTY            CASSIDAY                AR     90002286624
323B274955598B   MARIA             JACINTO                 CA     90013167495
323B27A4677544   MIRNA             RUIZ-RICO               NV     90014967046
323B36A3747931   SOSA              MARTINEZ                AR     25050476037
323B3826436143   RACHEL            SALAZAR                 TX     90010268264
323B4374691356   MARIBEL           WILLIAMS                KS     90008343746
323B4417851339   MELISSA           WILSON                  OH     90008644178
323B44A1A7B492   JASON             LUCAS                   NC     90011464010
323B45A8991531   LISA              LOPEZ                   TX     90006075089
323B48AA491831   WILLIE            ROBERSON                OK     90014478004
323B4911A5B393   MIKE              JONES                   OR     90014819110
323B513547B449   MARIO FRANCISCO   MORALES ORTEGA          NC     90012741354
323B5561391531   MICHELLE          HOLGUIN                 TX     90014435613
323B5A3A52B93B   JESUS             LOPEZ                   CA     45016760305
323B5A9A551369   TESA              PETTWAY                 OH     66095040905
323B5AA8972496   EBONY             KELLAM                  PA     90013940089
323B618697B471   MICHAEL           LASSITER                NC     90013921869
323B61A2455972   FELICIA           MORENO                  CA     90012271024
323B6243A36143   MARAVILLA         GARCIA                  TX     90003722430
323B6479A4B281   CRYSTAL           DIMAS                   NE     90013534790
323B693A57B639   JAZMON            BURTON                  GA     90014909305
323B7118247931   JESUS             ESCOBAR-PADILLA         AR     90013051182
323B7341384368   GUZMAN            SANTIAGO                SC     90009763413
323B761712B87B   RACHEL            TEWS                    ID     42018786171
323B7868191831   JOSHUA            LOCKRIDGE               OK     90000808681
323B8224341258   GARY              HARRISON                PA     51038672243
323B8787A72B76   LAWRENCE          PRICE                   CO     90002947870
323B881254B943   FAYA              WILLIAMS                TX     90013318125
323B9254972496   LORI              GRIFFITH                PA     90014992549
323B929932B93B   TRUDY             NORTHERN                CA     45034102993
323B973415598B   MARGARITA         ARREDONDO               CA     49084297341
323B9A58491525   OSCAR             GONSALEZ                TX     90012870584
323BB15824B943   ALEXANDER         ZAMORA                  TX     90015091582
323BB36637B449   MARIA             ROJAS                   NC     90015173663
323BB625A36143   MARK              TORRES                  TX     90014176250
323BB868A8B166   JASON             GROVER                  UT     90002608680
323BBA3715B52B   MAXIMILIAN        MARTINEZ                NM     35027380371
3241114AA31424   BROOKE            STRODE                  MO     90011011400
32411242A4124B   DENISE            KENNEDY                 PA     51059652420
32411924A55972   EVA               ZAVALA                  CA     48057649240
32411A2215B156   GIDEON            TRIF                    AR     90013930221
3241238178B162   JORDAN            BAYINGTON               UT     90014343817
3241241224B943   KAYLON            FIELD                   TX     90012754122
3241253812B87B   MARIA             HERNANDEZ               ID     90013705381
3241256295B52B   FIDEL             AVILA-LOZANO            NM     35007055629
32414472A4124B   FELIPE            ALONSO BARTOLO          PA     90006954720
3241456547B449   EARL              WHITE                   NC     90001085654
324149A3A91831   BRADLEY           CUNNINGHAM              OK     21004619030
3241514417B471   ERIBERTO          CASTRO                  NC     90013891441
3241583AA4B943   ANTHONY           GOUDEAU                 TX     76510228300
324158A7184368   AURORA            BARRIENTOS              SC     14503228071
3241688262B87B   JACOB             MONTGOMERY              ID     42085098826
3241841475B393   CELINE            ANDEREGG                OR     44532964147
3241879577B492   CRYSTAL           WEATHERS                NC     90011307957
324191A358B18B   ROXANN            AUSTIN                  UT     90012481035
3241B14872B87B   DEBBIE            DAVIS                   ID     42056971487
3241B218572B35   LEROY             GURULE                  CO     90013582185
3241B256A55972   PRESTON           FOLEY                   CA     90010322560
3241B28788165B   PHILLIP           JOHNSON                 MO     29010752878
3241B35497B639   CARLISA           COPELAND                GA     90013343549
3241B398554165   MARIAH            RILEY                   OR     90013603985
3242155287B639   DORAZE            MURRAY                  GA     90009585528
324217A317B471   XIOMARA           SARAVIA                 NC     90013937031
32421A8868B16B   WALKER            MCBRIDE                 UT     31021720886
3242225A35B393   JAMES             WATT                    OR     90014382503
324224A512B87B   RUSS              HAM                     ID     42055244051
3242276437B447   TASHYKKA L        SLADE                   NC     90011027643
32422776A91831   CHELSEA           JORDAN                  OK     90009397760
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32422A25631424   ARNETHA       WHITE                       MO     90013020256
32422AA545B52B   KIM           HINE                        NM     90015140054
324231A384B943   ROXIE         GUILBEAUX                   TX     90013931038
324231A694124B   WALTER        CLINE                       PA     90008051069
3242339A855972   BRIAN         VIERA                       CA     48047993908
3242347782B87B   JENNIFER      HILLHOUSE                   ID     90014694778
3242371675B393   MARIA         NEGRETE                     OR     90005347167
3242372457B471   VILMA         REYES                       NC     11046997245
324237A5791531   LUDIVINA      RODRIGUEZ                   NM     90003227057
32423A76936143   ALISON        MIDKIFF                     TX     90010940769
324248A9291831   ALICE         KINMON                      OK     90013458092
3242517A78B162   ASHLEY        SUTTON                      UT     31091461707
32425964A55972   CAMISHA       CHATMAN                     CA     90011439640
3242598838B166   ADAM          STEPHENS                    UT     90010799883
32425A77691232   BRANDI        TOODLE                      GA     90002170776
3242619257B471   ANORE         HOWARD                      NC     90006631925
3242638545B52B   NIKKI         MORGAN                      NM     90010953854
3242737A777544   MARCOS        QUINTANILLA                 NV     90015183707
3242782382B835   NOEL          QUILANTAN                   ID     90014778238
32427897936B77   DANIEL        MORFIN                      OR     90013058979
3242811527166B   KEVIN         JOHNSON                     GA     90010071152
3242858648B162   ARMANDO       BARBOSA                     UT     31002715864
3242858A755951   MARCELINO     FRANCO                      CA     90002435807
3242885345B52B   ZONIA         GONZALES                    NM     35033098534
324288A6A91831   JONATHON      ARCHAMBEAU                  OK     90000868060
3242925462B93B   DAVID         ORTEZ                       CA     90014532546
32429498A51369   DIAMOND       G                           OH     90013964980
324294A4954165   VERSINIA      WALKER                      OR     90014104049
3242966162B835   JEFF          MAYER                       ID     90013536616
324297A6251339   PAMELA        WENDLING                    OH     66065207062
3242982985B393   JIMIS         ALEXANDER BETANCO           OR     90014808298
3242B32415B393   BRIAN         GRUSKIN                     OR     90011273241
3242B51575B52B   SAMUEL        HICKS                       NM     90014625157
3242B62642B93B   AUSTREVERDO   ESQUIVEL                    CA     90015216264
3242B68A654165   CHRIS         FAIN                        OR     47060056806
3242B93A82B87B   ALEXYS        YOUNG                       ID     90003599308
3242B968451339   DAVID         REYNOLDS                    OH     66004079684
3242BAA7955972   EDWARD        LEMUS                       CA     90009800079
3243136392B835   TIA           SATECHER                    ID     90007673639
32432151A47931   BETTY         HARRY                       AR     90011231510
3243296994B281   TROY          CHASE                       NE     27002579699
3243316618165B   JUAN          ZARAGCZA                    MO     29068421661
32433946A4B943   ANGELICA      VANEGAS                     TX     90014839460
3243416732B93B   TONY          ORTIZ                       CA     45076681673
3243432644B22B   PRISCILLA     DEBRO                       NE     90008013264
32434349A2B255   INDIA         CARTER                      DC     90000943490
3243488575B156   AERIAL        SCOTT                       AR     90010948857
324353A4451369   JUSTINE       BURNS                       OH     90010993044
32435A9245B393   TEISA         FUKOFUKA                    OR     44548550924
3243617684124B   KARISSA       PETRUZZI                    PA     51000241768
324361A7355972   NOEL          LOZANO                      CA     90012851073
3243657157B492   GARY          MOSS                        NC     11005015715
32436663A51369   JEFFRY        FLINT                       OH     90010456630
32436A25631424   ARNETHA       WHITE                       MO     90013020256
32436A3778B16B   AMBER         NEWELL                      UT     90008960377
3243729327B492   ALLEN         BILLY                       NC     90013222932
3243746647B449   MARIA         PERIC                       NC     11096534664
3243847142B255   SHELLEY       RHODES                      DC     81058694714
3243892387B471   REMONICA      EARL                        NC     90009399238
32438A28831424   MACHAEL       REGNA                       MO     90009010288
3243988255598B   JESUS         ROMERO                      CA     90011168825
32439969872B76   DONAVAN       GARCIA                      CO     90001869698
3243B47994124B   IONA          LOFTON                      PA     51046014799
3243B66A22B87B   MARIA         ESPINOZA                    ID     90014156602
3244138235598B   ROBERTO       PIZAN                       CA     90012483823
3244173812B87B   MEGAN         GUMPP                       ID     42083347381
3244254A291563   MARIA         CANO                        TX     90011035402
324427A6151339   JARED         COLLINS                     OH     90013627061
32442859A55972   DANIEL        ALAMILLA                    CA     90014158590
32442A1292B835   RACHEL        COOK                        ID     42083570129
3244383475B393   NATASHA       ROTH                        OR     90014808347
3244421794B281   CRYSTAL       LEIBER                      NE     90013812179
3244448275B393   KEARA         HAGER                       OR     44549024827
3244464782B835   ERIC          KASTEN                      ID     42009866478
3244481A557128   VICTOR        VASQUEZ                     VA     90002338105
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3244544362B93B   SACHINJEE    SIMUGH                       CA     90013664436
32445458636B77   JUAN         LOPEZ                        OR     44512914586
3244555612B871   JANET        CRAVENS                      ID     42006885561
3244581532B835   AMADELIA     VARGAS                       ID     42003268153
3244622494B943   KEESHA       JONES                        TX     90013542249
3244651445B393   ALEJANDRO    DIAZ                         OR     44582575144
3244713185598B   DARLENE      HAWKE                        CA     90014391318
32447169A91531   JACOB        CRUZATA                      TX     90012211690
3244777734B281   DAVID        MANKAMYER                    NE     27096077773
3244967832B835   JOSE         OLMUS                        ID     90014546783
3244979A65B52B   ASA          RUTH                         NM     90014637906
324498A9121929   JOYCE        HEROUX                       IN     20535688091
32449A2417B471   ROBIN        TEAHL                        NC     11006020241
3244B24314B281   MAURTICE     BAUGH                        NE     27094312431
3244B33118B162   KINA         FANGUPO                      UT     31084873311
3244B398255951   FREDDY       ZEPEDA                       CA     49057233982
3244B91A55B156   STEPHANIE    OLVERA                       AR     90014779105
3245132884B281   LUCIA        SIMON                        NE     90009543288
3245166977B471   TONY         SIMPSON                      NC     11003666697
32451684472B76   STEVE        LUCIANO                      CO     90003176844
3245197A17B639   BREONNA      MCGHEE                       GA     90012209701
3245258494B281   JAMES        LARAVIE                      NE     90011395849
3245279927B471   WILLIAM      STEWART                      NC     90013167992
3245337892B871   CHRISTIAN    HOLBROOK                     ID     90013393789
3245338827B639   EDWARD       SILVAS                       GA     90011693882
3245381137B492   JUANITA      BROWN                        NC     90006498113
3245384965598B   ELENA        GRISHANINA                   CA     90009978496
324538AA691563   BLANCA       TRUJILLO                     TX     75089148006
32453A39491232   JOHN         SIMMONS                      GA     90013520394
32453A64941285   JASON        NEWMAN                       PA     90008830649
32454621A2B871   KIM          SMITH                        ID     90013636210
32454A33354165   VIDAL        MARTINEZ                     OR     90006770333
3245538274B281   JULIA        BREKEL                       NE     27068373827
3245741467B639   NATASHA      WASHINGTON                   AL     90008314146
3245753314B281   RONALD       POLKINGHARN                  NE     27048605331
3245783955B393   JESSE        MILLER                       OR     90014808395
32457A8A885933   MARVIN       ROBERTSON                    KY     67075470808
3245828933B38B   KENSI        NOZIME                       CO     90001142893
3245838377B471   JAMES        TONETTI                      NC     90000653837
324585A9151339   RAMENIA      CHISHOLM                     OH     66069575091
3245894625B393   IGOR         KASHUL                       OR     90014819462
3245942165B393   LINDA        WESLEY                       OR     44564434216
3245958A441277   LINDA        LUTTON                       PA     90014505804
3245B12515B156   YULANDA      SPEED                        AR     90007731251
3245B1AA27B471   HARI         BASMENT                      NC     90004291002
3245B29A18B162   DON          RILEY                        UT     90007552901
3245B838854165   MERCEDES     SALINAS GUSMAN               OR     90009268388
3245BA2928B166   LONGMIRE     RICHARD                      UT     90004530292
3246172275128B   MARIA        DELTORO                      CO     90012107227
32461A68891831   MARK         WHITED                       OK     90008070688
3246291A255933   MARTHA       TAPIA                        CA     90007719102
3246334568B18B   NICK         GOSDIS                       UT     31032353456
32463972A91356   JUAN         CONTRERAS                    KS     90014899720
32464177A2B835   SHANNON      STONE                        ID     90014501770
32464271372B33   DAVID        RADKE JR                     CO     90008052713
3246439188B166   JINNY        BRIMLEY                      UT     90010103918
3246439232B871   SONDES       AHMED                        ID     90008383923
3246474732B87B   ELISEO       DURAN                        ID     90010437473
3246483AA51339   LUIS         SEGURA                       OH     90014958300
324649A7791544   ESTHER       MEYERS                       TX     90013119077
3246511717B639   SAMUEL       GOMEZ                        GA     90007991171
324652A434124B   MARRY        STEICHER                     PA     90014312043
3246534812B871   CHRISTY      THOMAS                       ID     90015333481
3246552472B835   KAREN        FORREY                       ID     90010455247
3246554412B87B   TIM          TALLEY                       ID     42008165441
3246584155B393   JUANITA      GLASS                        OR     90014808415
3246594295B52B   FRANCISCA    FILETO                       NM     35035349429
32465A63591563   JOSE         MIRANDARIVERA                TX     75098750635
3246631848B16B   JOSE         ESPINOSA                     UT     31017743184
3246687684124B   JON          ARGRO                        PA     90013118768
3246724142B87B   ELIZABETH    STEELEI                      ID     90012452414
3246739AA7B471   TYQUANE      CHANDLER                     NC     90014533900
3246777732B87B   BRODY        VOLKERS                      ID     90013197773
3246857272B87B   SCOTT        WARNER                       ID     42011665727
3246915628B16B   JOSH         JAMISON                      UT     90013381562
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32469AA574B943   HEIDI           TORRES                    TX     90013570057
3246B263941285   JERMORE         GATEWOOD                  PA     90010562639
3246B27A257367   TWANESHA        GRANT                     MO     90014212702
3246B47438B166   RICH            HERBON                    UT     31094104743
3246B549436143   DESIREE         GARCIA                    TX     90003375494
32471662A77544   ANA             GARZA                     NV     90004946620
32471A5184B281   MARK            NUNEZ                     NE     90006880518
3247284A27B471   ROBERT          SCHLALINE                 NC     90014828402
3247593324B221   RIKKI           FREEMAN                   IA     90001419332
32475A6775B156   JOSE            WINDER                    AR     90013420677
3247619A73B399   GONZALEZ        GABRIEL                   CO     90011151907
3247812315598B   DIANNA          ORTEGA                    CA     49025101231
3247817897B471   ALEXANDER       ONOH                      NC     11033031789
3247947235B253   ISMER           RAMIREZ                   KY     68091014723
324795A477B449   JOYCE           JONES                     NC     90000165047
3247985A391531   VALENTINA       ISAAC                     TX     75028718503
32479AA5591563   ADRIANA         SOTELO                    TX     75049800055
3247B1A1991883   ELIZABETH       GARLAND                   OK     90012731019
3247B25824124B   LYNN            TATE                      PA     51059462582
3247B864384368   VIRGINIA        GLEN                      SC     90012388643
3247B885447931   DALE            NICHOLS                   AR     25096748854
3247B92144B943   DARLENE         KUNZE                     TX     90014119214
3248114374B943   EILIANA         REYES                     TX     90014941437
3248121A22B835   DONNIE          CHAVEZ                    ID     90000442102
3248131794B943   ROBERTO         HERNANDEZ                 TX     90011443179
3248148712B93B   JEFF            VALDEZ                    CA     90006794871
32481712A8165B   ANTONIO         OLFIELD                   MO     90002237120
3248215275B156   MACEO           KING                      AR     90014981527
32482153A2B87B   KELLY           NIELSON                   ID     90012361530
32482376A91563   AVERY           MACK                      TX     90012033760
3248247214B943   JACOB           HARRELL                   TX     90014464721
32482745A55972   LOPEZ           GUADALUPE                 CA     90005017450
32482A57891356   WONSHET         BESHAH                    KS     90003750578
32482A98A31424   JUSTIN          CRUTCHER                  MO     90013020980
32482A9AA8B162   CATHLEEN        METTEN                    UT     90010490900
32483231A91531   JOSE            SOSA                      NM     90014672310
3248364A584368   MARTA           MESA                      SC     90004346405
3248449614B943   FRANK           SHELVIN JR                TX     90007694961
3248452595B52B   PAMELA          SARABIA                   NM     90014625259
3248456442B93B   NAOMI           ORTEGA                    CA     90012805644
3248472A457153   ABEL            CARRNAZA                  VA     90006497204
3248474375598B   TIFFANY         RODRIGUEZ                 CA     90012897437
3248474854B943   CARROLL         ARNOLD                    TX     90008457485
3248499697B449   STEVEN          PADGETT                   NC     11019909969
32484A74291563   YVONNE          DOVENBARGEN               TX     75010920742
3248535222B87B   JENNIFER        VERNON                    ID     42099263522
324853A238B16B   THOMAS          NEVAREZ                   UT     90014083023
3248573A355972   MAYRA           MARITNEZ                  CA     90014217303
3248597237B449   EDIMAR ALEXIS   CANO BENITEZ              NC     90015019723
3248598373B365   KEVIN           DEVER                     CO     90013599837
32485A42131424   OREAIL          MCWILLIAMS                MO     90002270421
3248666A52B835   TITO            REYES                     ID     90011316605
32487827272B47   MARIA           ANTUNEZ                   CO     90003848272
32487848A91563   OLGA            NAVARRO                   TX     90005418480
3248867AA2B93B   GRISELDA        RABAGO                    CA     90012526700
3248878454B943   LAWRENCE        GRAFF                     TX     76597237845
32489177A2B835   SHANNON         STONE                     ID     90014501770
32489372472B76   LITONYA         PARKER                    CO     33016243724
3248967364B281   JOHN            OLSUFKA JR                IA     90012106736
3248B4A938144B   BEVERLY         KEY                       PA     90013674093
3248BA7625B23B   ARLESIA         SANDERS                   KY     90008850762
3248BA89141258   SEAN            WAGNER                    PA     51010910891
3249112734B281   AKU             ITEGI                     NE     90001961273
3249158572B87B   CINDY           FERGUSON                  ID     90007795857
32491962A8B166   WILLIAM         LEWIS                     UT     31049739620
3249227A75B156   ACE             COLINS                    AR     90013202707
3249258527B471   LUIS            MORA                      NC     11089695852
3249281A97B639   RATHALNAL       DANIELS                   GA     90012748109
3249284757B639   TAMEKA          MORALES                   GA     90014518475
324928A495B52B   ALBERT          OCHOA                     NM     90011088049
3249315625B393   GLORIA          HERNANDEZ                 OR     90002251562
324931A597B471   YADIRA          ROSALES                   NC     90013111059
3249325A691563   ROBERT          MORALES                   TX     90013642506
3249355472B87B   CONSTANCE       GABIOLA                   ID     42009045547
3249363875B546   THERESA         VIGIL                     NM     90014746387
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3249433457B449   SHAWNA        HEATH                       NC     90009723345
3249446667B471   HUMBERTO      OROSCO                      NC     11090834666
3249479545B156   JOHN          ROBINSON                    AR     90013287954
3249481192B835   JANA          GOODWIN                     ID     42016918119
32495962A8B166   WILLIAM       LEWIS                       UT     31049739620
3249787758B16B   KELLI         MILLER                      UT     90013488775
3249844598B162   ANDREA        MORTENSEN                   UT     90012704459
3249865188B16B   GODINA        ABRAHAM                     UT     90008266518
3249868334124B   JOYCE         JACKSON                     PA     90006766833
32498696A2B871   TAYLOR        HOFF                        ID     90001126960
32498A3AA7B449   BRITTANY      BARKER                      NC     90013600300
3249926674B943   MONIQUE       GALLIGOS                    TX     76509212667
3249951567B449   ANGELA        MCNEILL                     NC     11072205156
32499A1A42B871   GINA          MASTERS                     ID     42082690104
32499A77177544   FUSTINO       SALAS                       NV     43077120771
3249B439851339   AMANDA        COPHER                      OH     66046974398
3249B48862B835   DARREN        RALLS                       ID     90015144886
3249B559151354   ROSA          CRUZ                        OH     66088855591
3249B665651369   LADONNA       GRAY                        OH     90002146656
3249B96745B393   CHRIS         GREEN                       OR     90014819674
3249BA51A4B943   JENNIFER      CASTILLO                    TX     90011280510
324B1459977584   FRANCISCA     DE SILVERIO                 NV     90001224599
324B189224B281   NORMAN        HARMS                       NE     90014648922
324B1994451339   CHASSIDY      ROBINSON                    OH     90006699944
324B24AAA31424   HECTOR        REYES                       MO     90014154000
324B25AA84124B   ROMY          THOMPSON                    PA     90011575008
324B2722391831   FA RANA       HOMAS                       OK     90014317223
324B2742A91563   MARIA         OJEDA                       TX     90011397420
324B285562B871   ALFREDO       MORALES                     ID     42079438556
324B314A44B281   DARRELL       WIGHTMAN                    NE     90012861404
324B31A657B449   MCKENZIE      WARD                        NC     90014191065
324B335848B16B   STACEY        PULLEN                      UT     31071113584
324B362642B93B   AUSTREVERDO   ESQUIVEL                    CA     90015216264
324B5452141277   ELIZABETH     TADDEO                      PA     90006794521
324B5738477544   YOLANDA       ACOSTA                      NV     90010537384
324B576137B471   OSCAR         HARO                        NC     90015447613
324B5A71A2B835   DANIELLE      MITCHELL                    ID     90010170710
324B6754761559   TAMON         CARTER                      TN     90015567547
324B6779891563   YVETTE        SANCHEZ                     TX     90010967798
324B719527B639   KENYATTA      AUSTIN                      AL     90010471952
324B72A8491831   MARTHA        RUIZ                        OK     90013882084
324B731634B943   DERRICK       GREEN                       TX     90012753163
324B739882B835   JAMIE         DEWITT                      ID     42089593988
324B7975491356   AMALIA        TERRONES-HIPOLITO           KS     90000149754
324B7AA4A36143   JAMIE         OLGUIN                      TX     90013820040
324B818628B16B   DONNA         JOHNSON-CLOSE               UT     90014841862
324B81A382B835   TIANA         DOVEL                       ID     90013171038
324B827822B871   MEICHELL      DALE                        ID     90013822782
324B914264B943   MONIQUE       MAYSIELD                    TX     90002411426
324B9142936143   WALTER        RUIZ LOPEZ                  TX     90003881429
324B937197B449   K SHUN        GUILLIAM                    NC     90012633719
324B9982A8B162   SHAWN         PIERCE                      UT     90013479820
324BB159755951   VANESSA       REYES                       CA     90003641597
324BB3A9A84368   TIM           BORDERS                     SC     14574353090
324BB43275B393   ESPERANZA     GALINDO                     OR     90000544327
324BB58284B281   TYREE         FANNING                     NE     27091165828
324BB682541285   CINDY         SIRCELY                     PA     51006666825
3251142165B393   JULLIANA      CASTRO                      OR     90000134216
32511A2457B639   JOHN          BROUSSARD                   AL     15065640245
325123A915B393   TODD          STILES                      OR     90000933091
325123A918165B   GENEVA        MURPHY                      MO     29023763091
32512659A91952   YADIRA        PENALOZA                    NC     90012156590
32512A68954165   JOIY          JOHNSON                     OR     47055480689
3251325538B162   MARTIN        MARTINEZ                    UT     90013572553
3251339144B52B   ANGELA        JOHNSTON                    OK     90011693914
3251367972B835   JASON         ANDERSON                    ID     90014546797
3251428872B93B   JENNY         SANDOVAL                    CA     90015242887
325149AA641277   TYLER         GRAFF                       PA     90007619006
32514A55151339   AMY           PAGE                        OH     90015430551
32514A8745B52B   MARIA         SAENZ                       NM     35098240874
3251514997B492   SEFRINO       CRUZ                        NC     11090211499
3251634622B93B   MARY          PHATCHER                    CA     45014193462
3251652278165B   LEVAR         HUDSON                      MO     90010145227
32517225472B76   FRANCISCA     MAJALCA                     CO     33061742254
3251754A85B393   JACK          ANGUS                       OR     90008485408
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3251792A22B871   STEVE            LEAVITT                  ID     42076849202
3251896AA4B943   SOTORO           VAZQUEZ                  TX     90011459600
3251897955B393   NANCY            ROSAS                    OR     90014819795
325193AA951339   MICHELLE         GEISLER                  OH     90012823009
3251B159572496   CHRYSTIAN        STONE                    PA     90011391595
3251B257547931   MELVIN           MELENDEZ                 AR     90007922575
3251B64274B281   ESTELA           ORELLANA                 NE     27063776427
3251B652641277   DEBORAH          DRAPER                   PA     51066586526
3251BA1344B24B   LUIS             PLASENCIA                NE     27007790134
3252154A891831   VAHNEIMON        HAOKIP                   OK     90014805408
3252163497B43B   SANDRA           MARQUEZ                  NC     90000676349
3252164724B281   ALEJANDRO        GARCIA                   NE     90012546472
3252177332B871   MARIA            HERNANDEZ                ID     90013707733
3252254355B52B   BLANCA           BUGARIN                  NM     90011385435
32523321A51369   ELIZABETH        BACK                     OH     90010403210
3252332844B943   ALVIN            JONES                    TX     76581783284
32523378A7B471   MUANA            MUKUAMU                  NC     11074553780
3252363352B93B   JEREMY           TIDWELL                  CA     90012876335
325243A5691531   NIDIA            FELILX                   TX     75085043056
325244A714B943   IRIS             OLIVA                    TX     90003924071
3252461652B93B   AMEL             ARCHULETA                CA     90001446165
3252488975B52B   BENJAMIN         PALMER                   NM     90011538897
3252547AA91831   ROSAURA          PALOMINO                 OK     21023034700
32525797A85873   BICHLIEN         TRAN                     CA     90007797970
3252663768B16B   LUKE             ADAMS                    UT     31033426376
32526A4932B835   MARVIN           LAWRENCE                 ID     90011490493
32526A86731424   PAYGO            IVR ACTIVATION           MO     90015320867
32527338A91356   BRANDON          SANDERS                  KS     90014323380
325274AA17B492   TANSEY           HENDERSON                NC     90010634001
32527AA8A4124B   JHON             JOHNSON                  PA     90011870080
32527AA918B162   LAURA            FERNANDEZ                UT     31074830091
325283AA791356   JAVIER           CAMARGO                  KS     90012733007
3252847A655951   KHUNTHY          RUN                      CA     90013194706
3252869632B93B   ROLAND           BERNARD                  CA     90012876963
3252883427B471   DORIS            VALLADARES               NC     90003388342
32528A68531451   ASHLEY           DONEGAN                  MO     90014790685
32529265A84368   LORENA           VEGA                     SC     90004132650
325296A5936143   ALAX             SALAS                    TX     90010966059
325297A422B835   MARLIN           LANDERS                  ID     90012607042
3252B11534B281   REBECCA          GONZALEZ                 NE     27068051153
3252B59332B93B   HORTENSIA        VILLA                    CA     90012875933
3252B689354165   JOHN             BRUEHL                   OR     90014466893
32531463A2B87B   ROSITA           JARAMILLO                ID     42007534630
32531481136B77   SABIN            AHMIC                    OR     90012204811
3253199435B393   TEQUILA          LEDAY                    OR     90014819943
3253219A277544   MARCELINA        TORRES                   NV     90012931902
3253237154B943   MARTHA           GONZALEZ                 TX     90014043715
3253256925598B   MARGARITO        CONTRERAS                CA     49092855692
3253363615598B   AIOTEST1         DONOTTOUCH               CA     90015116361
3253367594B281   JULIO            AVILA                    NE     90015136759
325346A6691531   DIANA            FLORES                   NM     90015076066
32534789A4124B   KEVIN            CLEVENGER                PA     51002457890
32534A8A87B449   AMINAH           SHAKUR                   NC     11046250808
3253581424124B   MALIK            HATCHIN                  PA     90013958142
3253622384B943   AMANDA           BLACKWELL                TX     76508392238
3253627A177544   JOSE             MENDOZA                  NV     43089572701
3253632325598B   CARLYN           RICHBURG                 CA     49015673232
3253659A24124B   STEVEN           GONSAR                   PA     90012015902
32536A8A42B93B   GAYLA            MCLAIN                   CA     90005340804
32537524572B76   ELVIRA           RUELAS                   CO     33094545245
3253767195B156   REGINA           WATSON                   AR     90003566719
3253774882B835   MACHAEL DWAYNE   KUHN                     ID     90013317488
3253789378B162   JANILEE          HUTCHINGS                UT     90008928937
3253836495598B   VANESSA          PENA                     CA     90013073649
32539253872B76   LATASHA          FULKS                    CO     33044142538
32539953A36143   NINA             GOMEZ                    TX     90008709530
325399A885598B   SAUL             PEREZ                    CA     90011169088
3253B479A8B15B   STACEE           ORAWIEC                  UT     90008524790
3253B56412B87B   ALISSA           DUNLAP                   ID     90012845641
3253B5A5254165   CHARLES          PRICE                    OR     90012665052
3253B86765134B   ERON             HORSLEY                  OH     90001418676
3254143175B156   JACQUELYN        BUCHANAN                 AR     23054794317
3254173344B281   PATRICK          STARR                    IA     27083657334
3254199895B393   NICOLE           KRANER                   OR     90014819989
32541A82836143   GLORIA           DAVIS                    TX     90001120828
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3254226963B39B   HALE          SOYSTER                     CO     90004092696
32542557A7B639   CANDACE       BILLUPS                     AL     90012535570
32542889A91563   ADRIANA       CHAVIRA                     TX     75005438890
3254311617B639   ALVIS         FRANK                       GA     15021541161
3254314385B156   CYNTHIA       GUILLEN-RUIZ                AR     90000761438
3254363692B835   DIMBIL        MUGOLO                      ID     90009376369
3254368AA47931   VALARIE       WILKERSON                   AR     90013166800
3254375845598B   JANET         AHUMADA                     CA     49036007584
32543839A91563   JOSE          ESCARCEGA                   TX     75083258390
3254477A15598B   ROSA          FRANCO                      CA     90011777701
3254495337B639   KEITH         CAMPBELL                    GA     90013879533
325449A638165B   TRAVIS        JONES                       MO     90002509063
32544A3617B471   JUAN          GARCIA                      NC     90012100361
3254545214B281   MICHELLE      MORENO                      NE     90000714521
32545A3645B393   THOMAS        WALKER                      OR     90010320364
3254677A747931   ROLLA         WONNE                       AR     90015137707
32546A1515B393   ADRIANNA      BENNETT                     OR     90014820151
325483AAA36143   RAMIRO        DELEON                      TX     73580823000
3254845682B835   JOSIAH        REYES                       ID     90014374568
3254881187B425   TRACY         PEELE                       NC     90006588118
32548A56272B41   BARBARA       AMES                        CO     90010440562
3254952988B16B   NATALIE       MEROLA                      UT     90015125298
3254B44344124B   JONATHAN      ARDELEAN                    PA     51096184434
3254B781697126   NICOLE        MAJEWSKI                    OR     44511587816
3254B86112B93B   LUIS          ALFARO                      CA     90012878611
3254B943491531   MARTHA        MALDONADO                   TX     75016989434
3255154398B183   CORI A        BAKER                       UT     90010005439
3255174572B93B   MEMO          DIMAS                       CA     45097517457
325519A5847931   DONALD        SAMSON                      AR     90014589058
3255273945B393   STACY         SLOTKIN                     OR     44547787394
32552746A91531   JESSICA       MELENDEZ                    TX     90006297460
3255276185B156   ASHTON        HOLDEN                      AR     90013017618
32553149536B77   ANA           GONZALEZ                    OR     90014481495
3255345842B835   BILLIJO       BROWN                       ID     42042494584
3255417142B93B   MARIBEL       RIO                         CA     90012891714
3255447744B943   ALICE         ADAMS                       TX     76511114774
3255532632566B   JUDY          SHINE                       AL     90010953263
32556364A5B393   VALERIO       GONGORA                     OR     90014813640
32556A45436143   MARIA         MENDOZA                     TX     90012300454
32556A68241258   MANI          BHATTARAI                   PA     90011370682
3255712A12B857   ROSA          DURAN                       ID     90015131201
3255738598B162   ELIZAH        GIFFORD                     UT     90014083859
32557AAA451339   ISSA          SHIELDS                     OH     90010940004
325582A3651339   CARRIE        FRYE                        OH     90013302036
3255889358B16B   WILL          RANEY                       UT     31098888935
32558A4985B156   KAMERON       FINNEY                      AR     90001630498
3255916587B639   JACQUASHA     HOWARD                      GA     90011901658
32559437A36143   LEO           ALANIZ                      TX     90010494370
3255B14898B16B   CARRIE LYNN   KISEL                       UT     90011601489
3255B39625598B   PEDRO         RANGLE                      CA     90012763962
3255B53194124B   BRITNEY       JONES                       PA     90011285319
3255B691347931   JIMMY         SCALES                      AR     90010286913
3256174364B943   ANTONIO       MEJIA                       TX     90014567436
325617A277B471   ADJOKE        BELLO                       NC     90013977027
3256232844B943   ALBERTO       MORALES                     TX     90011303284
32562A69572496   RUTH          MURPHY                      PA     90014030695
3256333324B281   ANGEL         SHOMAKER                    IA     90012013332
3256363132B87B   CHRISTY       PAYNE                       ID     90012696313
3256387417B492   JERRY         UNDERWOOD                   NC     90009368741
32563A23A91531   EMERALD       AGOSTO                      TX     90006280230
3256438194124B   ROBERT        BARNA                       PA     90011913819
32564A73436B55   BRET          MCCARTY                     OR     90011750734
3256517A15B52B   MIA           DIMAS                       NM     90013281701
32565821572B76   ELSA          ORTEGA                      CO     90006978215
3256584544B586   STAR          STEPHENS                    OK     90001768454
3256642147B425   JESUS         LOPEZ                       NC     11077354214
3256645568B16B   ASHLEY ANN    BLUEMEL                     UT     90014584556
3256663715598B   AIOTEST1      DONOTTOUCH                  CA     90015116371
3256664455B52B   ROBIN         DUPREE                      NM     90003026445
3256716A391587   KRISTY        MARTINEZ                    TX     90013981603
3256747639374B   MELISSA       TYLER                       OH     90001934763
3256754A85B393   JACK          ANGUS                       OR     90008485408
325685A9A61559   RANDY         ROMENAS                     TN     90015565090
3256865677B639   DRASHAWN      DENSON                      GA     90006596567
32568A1A55B52B   DAVID         KRUCHOSKI                   NM     90012690105
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32568A2635B393   SARAH           WILSON                    OR     90014820263
32569223A72496   GREGORY         HENRY                     PA     90013952230
325698AA82B871   TARAH           MAUGHAN                   ID     42018088008
32569A2635B393   SARAH           WILSON                    OR     90014820263
3256B124791563   HECTOR          PINEDA                    TX     90012271247
3256B219655921   CHE             KING                      CA     90000562196
3256B31378165B   SANDRA L        GARRETT                   MO     90006083137
3257113A641258   TONENE          PALMER                    PA     51092231306
3257224115598B   SERGIO          MENDOZA                   CA     90012802411
325724A7A91531   LOYA            GARCIA                    TX     75085724070
3257351575B557   IVAN            PARAMO                    NM     35035255157
325737A3693761   HEATHER         MOORE                     OH     90007097036
32573A2577B492   CANDANCE        RUFF                      NC     90009320257
3257445A436143   NAMOMI          MONROY                    TX     90010974504
3257447772B835   SHEILA          BEDARD                    ID     90010884777
32574483A2B93B   MARIO           TAPIA                     CA     90013744830
3257491912B87B   OCATIVIO        GARCIA                    OR     90014409191
3257588432B871   PETER           WILSON                    ID     90002318843
3257616648B16B   BETTY           GOMEZ                     UT     90013031664
32576456772B76   JUAN            ARIAS                     CO     33023054567
3257682678B16B   KEONI           P RUNNELS                 UT     90010358267
3257759277B425   KENNETH         WALLACE                   NC     90007685927
325775A282B93B   ALEJANDRO       TAPIA                     CA     90013745028
32577921A5B393   JAMES           NEIL                      OR     90011509210
3257812A22B835   ANGELINA        TAPIA                     ID     90015161202
3257813668B16B   PEEL            BRADY                     UT     90009451366
3257839995B156   ANDREA          WHITE                     AR     90014103999
325792AA172496   JENNIFER        KENNEY                    PA     90010082001
3257B436136143   DESAREA         CASTILLO                  TX     90010974361
3257B47972B93B   PATRICK         RENTERIA                  CA     90013744797
3257B6A917B386   CYRIL           ONYEMEZIKEYA              VA     81081506091
3257B822484368   MIGUEL          CRUZ ROSALES              SC     90011958224
32581246A5B156   SHAVETA         MCKAY                     AR     23084002460
3258251475598B   DORA PATRICIA   AGUILAR                   CA     90008425147
3258257A354165   SAMANTHA        LEDGETT                   OR     90011295703
3258285425B156   SHANE           DAUGHTERY                 AR     90008348542
3258318497B449   MARIANA         ARGUELLES                 NC     90009951849
3258328A247931   BRIAN           TARDE                     AR     25043892802
32583871A41285   SHAKIRA         ONEIL                     PA     90011528710
32583948A5B393   OSCAR           GONZALES                  OR     90007829480
32583A45291356   RACHEL          WILSON                    KS     90013940452
3258434825B52B   ALAN            FRANKLIN                  NM     35046043482
325843A7451369   LISA            BRUNER                    OH     66032933074
3258458538B166   ASHLEY          COOK                      UT     90007795853
3258471AA91531   FERNIE          RUELAS                    TX     75014367100
32585A17284368   MARIE           DAWKINS                   SC     90007470172
32585A6392B835   MARICELA        LOPEZ                     ID     90015270639
325871AA24B534   AISHA           SAWYER                    OK     90008011002
3258721144124B   MICHAEL         MCCUNE                    PA     90013922114
3258732238B162   STEVE           HUGEL                     UT     90002423223
3258817932B87B   NATHALYA        WARD                      ID     90015351793
3258821954B281   CHRISTINA       GALAVIZO                  NE     27037702195
3258827A751339   EVAN            BESS                      OH     90009982707
3258855232B395   NECO            PARMLEE                   CT     90014145523
3258878188165B   JUSTIN          CORNWELL                  MO     90002527818
325887A5754165   MYESHIA         DICKINSON                 OR     47072977057
3258922A784368   JUANA           GUERRERO                  SC     14507262207
3258933278B166   ALICIA          JIMENEZ                   UT     31001563327
3258946235B156   BERNADETTE      HUMBERT                   AR     90007984623
3258966428B162   TIMOTHY SCOTT   DAVIS                     UT     90014786642
3258B199A61925   ROSA            NAVARRO                   CA     90006051990
3258B45A85598B   MERCEDES        HERNANDEZ                 CA     90003414508
3258B618891563   MARIA           GONZALEZ                  TX     90005846188
3258BA2462B835   SARAH           GARZA                     ID     90000690246
3259174474124B   DENNIS          CIRRINCIONE               PA     51065787447
3259258382B395   NECO            PARMLEE                   CT     90014145838
3259276975598B   ANGELA          JUAREZ PEREZ              CA     90015047697
3259337417B492   PAYGO           IVR ACTIVATION            NC     90014283741
32593524A5B393   FRANCISCO       ROMERO QUINTERO           OR     90002235240
3259379725B156   ALORA           FLOWER                    AR     90015117972
32594223A72496   GREGORY         HENRY                     PA     90013952230
325942A728B16B   LUZ             TABARES                   UT     90011512072
3259444262B93B   ROBERTO         ACOSTA                    CA     90012954426
3259454127B492   LARRY           BURNS                     NC     90014945412
325948AAA5B156   PATRICIA        LEE                       AR     23096118000
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3259539237B471   SADIE        EDMOND                       NC     90014533923
325958AA38B16B   JOSE         SANTOS                       UT     31082288003
3259712182B835   KENNETH      DRUMMOND                     ID     90015061218
3259744262B93B   ROBERTO      ACOSTA                       CA     90012954426
3259816352B871   DALLAS       BATES                        ID     90014781635
32598925A4B281   JOUSH        VARRA                        NE     27059879250
325989A255598B   MERCEDES     MORALES                      CA     49091239025
32598AA1461557   SAMANTHA     ROBINSON                     TN     90015430014
3259939855B52B   GORDON       LAWERENCE                    NM     90013723985
3259B16954B943   ADRIENE      BERNARD                      TX     90012661695
3259B356A91356   JESSE        MORGAN                       KS     90010123560
3259B99574B281   EMMA         MARTINEZ                     NE     90008669957
3259BA5847B639   LATRINA      WALKER                       GA     90002800584
325B117A241285   MCCAL        REDMAN                       PA     90005561702
325B1838891356   DONALD       LUDEMANN                     KS     29011568388
325B1A94784368   ELVIA        SALDIDOA                     SC     90015220947
325B2723291531   MYRIAM       MENDEZ                       TX     75091147232
325B27A8872B76   CARMEN       AGUILERA                     CO     33072207088
325B2A92641258   LISA         BECK                         PA     51069980926
325B389912B93B   ALEJANDRA    AGUIRRE                      CA     90012858991
325B3966891232   JACQUELINE   SMALL                        GA     90014609668
325B4729A8B162   CLINTON      COLLINS                      UT     90014277290
325B475387B639   SHANICE      CLOWERS                      GA     90014687538
325B517454124B   BELINDA      JEFFERSON                    PA     51013681745
325B5228584368   KENT         WATKINS                      SC     90012912285
325B564944B943   KATHERINE    ISLAS                        TX     90013126494
325B5881351339   WILLIE       HUNTER                       OH     90004638813
325B596915B393   LILIANA      TORRES-GONZALEZ              OR     90014819691
325B618AA2B835   ANNA         VALLARD                      ID     90009331800
325B649127B449   LA           LARICETT                     NC     90012124912
325B663AA5B52B   VERONICA     SANCHEZ                      NM     35011536300
325B694758B162   DAYSHA       DAVIS                        UT     90011229475
325B7168755951   GABRIEL      MANZANO                      CA     90012211687
325B7199977544   JONATHAN     GLAB                         NV     90002921999
325B7251A4124B   PAMELA       SMITH                        PA     51031662510
325B7426755927   ROSSANO      MARTINEZ                     CA     49019874267
325B7748251322   BRUCE        HABLUTZEL                    OH     90001707482
325B776924B943   JOSE         BARRON                       TX     76514207692
325B783848B162   JUNG         CH0                          UT     90011998384
325B796915B393   LILIANA      TORRES-GONZALEZ              OR     90014819691
325B811582B835   AARON        LONG                         ID     90002691158
325B86A484B943   DEANNA       BRICKEY                      TX     90014566048
325B8942991531   NORMA        PEREZ DE CAMPO               TX     75063549429
325B897148165B   JACKIE       HINOTE                       MO     29003869714
325B8A26636143   NORMA        OLIVARES                     TX     90012740266
325B9573436143   ISRAEL       MORENO                       TX     73506085734
325BB11885B393   GREG         PIERE                        OR     90008021188
325BB46972B93B   JENA         HIGGINS                      CA     90012794697
325BBA5827B639   ALVIN        BROOKS                       GA     90011020582
325BBA6624B943   KATINA       BROWN                        TX     90010390662
3261129262B835   JACKIE       KENNEDY                      ID     42091812926
326118AA191243   CAROL        BERNARD                      GA     90012388001
3261199962B87B   ALONSO       BALLESTEROS                  ID     90003739996
326119A3A84368   YVONNE       GIDDEN                       SC     90011489030
32611A2947B639   CONNIE       PETERSON                     GA     90013710294
32612183A36143   JONATHAN     PEREZ                        TX     90014201830
3261283387B471   SARA         VASQUEZ                      NC     90008208338
32612997A54165   RACHELL      BENNETT                      OR     47070659970
326132A7591563   CAROLINA     SOLANO                       TX     75039222075
3261342785B393   FERNANDO     AYALA                        OR     44511484278
3261367537B429   SHELLEY      PERRY                        NC     90004066753
3261388A636B77   JACK         ROUSE                        WA     90012168806
32613A11957153   ANTONIO      MUDGE                        VA     90006510119
32613AA8936143   ROMINA       OLALDE                       TX     90011970089
3261454685598B   CLARICE      WASHINGTON                   CA     90015085468
3261458467B492   LAKOYA       MCLEAN                       NC     11086425846
3261498987B449   RAFAEL       TORREZ                       NC     11096599898
32614A6A831424   KATRINA      WILLIAMS                     MO     90014760608
3261526665598B   CURTIS       ORTEGA JR                    CA     90014952666
3261546A42B835   NATHAN       HOPFENBECK                   ID     90003284604
326156A715B52B   KIMBERLY     FERNANDEZ                    NM     90009566071
3261594134B943   DERRICK      BOUTTE                       TX     90012629413
326168A1341277   SHANDELL     QUINLAN                      PA     51036418013
3261691784B943   HANNAH       BODDEN                       TX     76527799178
32616A2593B391   BARRY        BAXTER                       CO     33087190259
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32616A52791831   SHERYL       WATTS                        OK     90014740527
3261787727B449   ELIZABETH    POTTER                       NC     11016188772
326188A6241258   TOMAR        HAYES                        PA     51028608062
32619438A51369   ALEX         MITCHELL                     OH     90012314380
3261971322B835   JOSEPH       MARTINEZ                     ID     90011147132
3261B17444B943   KEVIN        ORTIZ                        TX     90008391744
3261B29777B449   AVERY        COVINGTON                    NC     90013152977
3262126687B449   RIGOBERTO    GUTIERREZ                    NC     90012482668
3262131354B943   LISA         STARK                        TX     76590233135
326216A7955972   AMANDA       MARTINEZ                     CA     90013376079
326219A3A84368   YVONNE       GIDDEN                       SC     90011489030
32621A4315B393   JOSE         MARTINEZ                     OR     90014820431
326221A7855951   KATIE        WHALA                        CA     49043101078
326222A172B93B   PETER        MEIN                         CA     90012952017
326239A427B449   TWEE         TWEE                         NC     90009969042
3262431952B87B   LILLIAN      BAKER                        ID     90009283195
32624A9854B943   MERY         GARCIA                       TX     90015110985
3262598712B87B   MICHELLE     HORNER                       ID     90015059871
32625A98654165   KEENAN       HUBBARD                      OR     90013630986
32626949A41232   GLORIA       HARTAGE                      PA     51089549490
3262872318B166   SEAN         BUIST                        UT     90006837231
3262928352B835   VANESSA      GUERRERO                     ID     90013452835
32629594A4B943   MONICA       NUNEZ                        TX     90012845940
3262971A691232   ALBERTO      FLORES                       GA     14500707106
3262992785B393   BINOD        SUWBBA                       OR     90011509278
3262B17535B52B   MATTHEW      VIGIL                        NM     90013291753
3262B19564B943   JESSE        FORD                         TX     90011221956
3262B528272496   DEJAUN       GRAHAM                       PA     90013555282
3263183985B393   MIRANDA      CAMPBELL                     OR     44598348398
3263225917B471   PORCHA       FRAZIER                      NC     90008042591
32633212A71232   SHIRLEY      OBREIN                       IA     90006982120
3263326848B166   SUSAN        HUDSON                       UT     90004182684
326334A7A5598B   GLORIA       GUTIERREZ                    CA     90014164070
32633629372B76   LETICIA      NAVARRETE                    CO     33053006293
3263443772B87B   TERRY        SHIPTON                      ID     90011074377
3263457232B871   RACHELL      FALAPPINGEAGLE               ID     42006795723
3263471228B166   KAREN        ROWE                         UT     31058027122
32635344A7B449   MARKISHIA    HENDERSON                    NC     90012993440
32635A54251338   HOLLY        SCHLOSS                      OH     66041520542
32635A77141258   JUSTINA      DAVID                        PA     51093470771
3263749A741277   URSULA       CORDIAL                      PA     51083504907
32638A68591531   OSCAR        SOLIS                        TX     75071310685
3263B168547931   RALPH        CASSIDY                      AR     90012451685
3263B326284368   LAKIASHA     WHITE                        GA     90013433262
3263B751555959   SHEILA       HUDGENS                      CA     90006907515
326419A257B425   JOHN         HOWELL                       NC     11079759025
32641A74A61982   MATIAS       RODRIGUEZ                    CA     90012340740
326423A2177544   LUCILA       RIVERA                       NV     90014383021
3264262865598B   PAULA        BANDA                        CA     49031626286
3264284945B393   GABRIELA     CHAVEZ                       OR     44592148494
32642A3A52B93B   JESUS        LOPEZ                        CA     45016760305
32643698A91831   JAMES        FOOTE                        OK     90007796980
326439AA472496   ADI          BUWAWA                       PA     90012479004
3264428567B471   LISA         WINKLER                      NC     90004982856
3264441582B871   CASSANDRA    MCKIERNAN                    ID     90007714158
32644599A41285   STACEY       SUMMERVILLE                  PA     90005575990
326453A6891356   DAWN         VAN FLEET                    KS     29008723068
32645A6A555972   TED          TERRY                        CA     48064410605
3264629A272496   MICHAEL      STONE                        PA     90006352902
3264642827B449   RONLENE      BROWN                        NC     11035554282
326477A422B835   MARLIN       LANDERS                      ID     90012607042
3264785A577544   ANGEL        ANDRACA-GARCIA               NV     90004428505
3264798614124B   HEATHER      RIZZO                        PA     51008279861
32647A25951339   LYNN         REEDY                        OH     66003050259
32647A56491232   JOSEFINA     REYES                        GA     90004490564
32647AA365598B   JOSHUA       YANG                         CA     90014560036
3264833333B351   PAUL         LIPSCOMB                     CO     90006683333
3264873294124B   DONNA        DIVITO                       PA     51008477329
3264883212B87B   DUSTIN       BARBER                       ID     90013608321
32648A6265B52B   JOSHUA       TERRONES                     NM     90010080626
32648AA2155951   ANGEL        PERALES                      CA     49085490021
326494A535B393   FOLA         ARIGBON                      OR     44507644053
3264971197B449   NINA         EADDY                        NC     90011587119
3264992712B961   COLETTE      ZAVALA                       CA     90001709271
32649AAA772496   AMANDA       KEEFER                       PA     90014600007
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3264B43665598B   PABLO        GONZALES                     CA     49050184366
3264B48597B471   PATRICIA     LEONE                        NC     11067594859
3264B864691356   CINTHYA      CLEMENTE HERNANDEZ           KS     90008118646
3265114AA5B52B   LEEANN       ROBINSON                     NM     90006161400
326515A1791531   MARLENE      MELENDEZ                     TX     90013395017
3265182A94B281   JORDAN       WALLAR                       NE     90005788209
3265191627B492   MARTE        EDWARDS                      NC     90013879162
3265211254124B   RAYNELL      BARNETT                      PA     51086791125
3265247557B471   ZACH         TOTH                         NC     90015544755
3265255575B52B   ALEXANDER    GRAHAM                       NM     35098445557
3265264122B93B   EDGAR        OCHOA                        CA     90012966412
32652A6855B393   DORTHY       UHRICH                       OR     44511490685
326532A6A5B52B   HONORIO      MENDOZA                      NM     90012182060
32654221A41285   KEDRA-LYNN   TUCKER                       PA     51020842210
326542A3777544   ANGEL        MEZA                         NV     43095652037
32654376A84368   DARENE       SHAW                         SC     14542443760
3265492147B639   DANIEL       BOYZO                        GA     90006959214
32654A2155B156   KEITH        JONES                        AR     90010640215
3265545A47B639   WILLIE       CHANEY                       GA     90013714504
3265564A855972   KIM          SIMS                         CA     90011946408
326562A9841258   SHERIELL     BEY                          PA     51088662098
32656367A84368   MIGUEL       HERNANDEZ                    SC     90008723670
3265645842B835   REBECCA      HOSFORD                      ID     90013484584
3265669342B87B   JASON        HUTCHINSON                   ID     90012886934
3265677672B93B   KENNY        LLOYD                        CA     90012967767
3265687124B943   RUTH         ZAPATA                       TX     90008358712
3265747A487B41   TAMEKA       HOPKINS                      AR     90015024704
3265755787B639   TACEY        THOMPSON                     GA     90014635578
3265849738B162   GARRETT      ROWLAND                      UT     90013304973
32658A16A54191   MICHAEL      PHILPOT                      OR     47030090160
32658A5AA2B871   SHEILA LEI   BARBOUR                      ID     90006630500
326594A4291531   LAURA        ACOSTA                       TX     90011414042
32659793A54165   DIANE        JENKINS                      OR     90012877930
32659A33A41285   RICKY        MOODY                        PA     51022440330
3265B211251369   ANGILEE      SMITH                        OH     90001202112
3265B68444B943   STEPHANY     GARZA                        TX     90014866844
3265B771691356   YESHI        DEFERSHA                     KS     90006247716
3266145615137B   JAMES        HEMMERLY                     OH     90000864561
32661594A4B943   MONICA       NUNEZ                        TX     90012845940
3266236454B943   SIERRA       LAMBERT                      TX     90011953645
3266269387B449   SAMANTHA     HOOEY                        NC     90012086938
326629A6141258   LAUREN       LIKOVICH                     PA     90010949061
32662A41877544   JAMIE        DALE                         NV     90013260418
32662A4444124B   RONALD       GILL                         PA     90013080444
32663714672B2B   GLEN         WILSON                       CO     33022697146
3266423718B16B   TYRONE       LAVINE                       UT     31084942371
32664243A2B871   ISABEL       HERNANDEZ                    ID     90007652430
3266439545B156   BRANDY       LOPEZ                        AR     90015143954
3266611A991356   DEBORAH      WILMOTH                      MO     90004241109
32667786272B76   DEANDRA      JAUREQUI                     CO     90009367862
3266789387B449   SHARON       HALLEY                       NC     90015118938
3266831375B181   ASPEN        GILL                         AR     90009243137
3266848915598B   NAOMI        HAGERDON                     CA     90011194891
3266858494124B   DEWANDA      BANKS                        PA     51034835849
3266865978B16B   FERNANDO     MENDOZA                      UT     90009936597
326687A5254165   KARMA        BEACHEM                      OR     90009327052
3266954728B166   RICHAR       ANGELES                      UT     90007165472
3266959557B471   AUSENCIA     OVALLE                       NC     90015505955
3266964177B639   SHEAD        BOOKER                       GA     15043126417
3266B59A791831   REBECCA      DAWES                        OK     90012665907
3266B8A428B162   KEVIN        SULLENBERGER                 UT     90010668042
32671741136B77   JAMES        LAMAR                        OR     90012007411
3267213218B16B   SAM          MARTINEZ                     UT     31086151321
3267215897B471   HISELA       DUNLAP                       NC     90014051589
3267219645B393   KELLY        MOORE                        OR     90014881964
3267261AA36143   YURI         SANCHEZ                      TX     90010376100
3267389684B943   JENNY        BYRD                         TX     90014578968
3267425337B659   TINA         ROBINSON                     GA     90012252533
3267436237B449   LUZ          RUIZ                         NC     90014913623
3267497125B557   ELISA        MARTINEZ                     NM     90006369712
3267618358B162   PAUL         BARTH                        UT     31089571835
32676693A91831   KEILA        MILLER                       OK     21042726930
32676A5667B495   MARILYN      LATTER                       NC     11004340566
3267713295B393   LORI ANN     GIGEAR                       OR     44571751329
3267755A64B943   RAYMOND      WASHINGTON                   TX     90001065506
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32677A7A32B87B   PAYGO        IVR ACTIVATION               ID     90015400703
3267889352B87B   AMANDA       ROBERTS                      ID     42056938935
32678AA2484368   MIGUEL       HERNANDEZ                    SC     90011580024
3267911147B492   MARQUISE     LEDBETTER                    NC     90011311114
32679131A61981   MARY         PRUDEN                       CA     90009771310
326792A675B156   DEBORAH      TROTTER                      AR     90012602067
3267B31652B93B   MARCOS       CAP                          CA     90013823165
3268112454B943   FERNANDEZ    CHAVEZ                       TX     90013551245
3268143A82B87B   JESUS        MEJIA                        ID     42085644308
3268181918B162   ADAM         PALMER                       UT     90003798191
32681A1572B93B   BETTY        BRAMBILA                     CA     90013020157
32681A84336143   SILVIA       VALENCIA                     TX     90012240843
32681A96A47931   AARON        HELMS                        AR     90014170960
32682337436B77   KARIY        EMMETT                       OR     90005033374
32682A1572B93B   BETTY        BRAMBILA                     CA     90013020157
3268353514124B   JENNIFER     PASINSKI                     PA     51081905351
32683644A4B281   DAUN         LINDSAY                      NE     27044846440
326836A275B52B   BIANCA       MARTINEZ                     NM     90009166027
32684562A41277   ERIN         CROSBY                       PA     51077395620
3268544525B52B   SANTOS       TRUJILLO                     NM     90015554452
3268594315B393   GLICERIO     SORIANO                      OR     44566759431
3268618248B16B   JAYMIE       QUINTANA                     UT     31061501824
3268641517B639   NATHANIEL    JENKINS                      GA     90004634151
3268652875B393   JOSE         GALINDO                      OR     44535695287
3268733237B471   MICHELLE     MASSIE                       NC     11058063323
3268766227B639   DANIELLE     COMBS                        GA     90011396622
3268785777B449   JOSE         NAVARRO                      NC     11089278577
326879A9855951   SANTOS       ARTIAGA                      CA     49053219098
3268814435B393   MARIA        SANDOVAL                     OR     90012691443
3268871552B835   LEONEL       GARCIA                       ID     90013537155
3268925A655972   STEWAR       DWAYNE                       CA     90013052506
3268953A954165   JAMES        WAGNER                       OR     90013205309
3268982AA5598B   ABRAN        HERNANDEZ                    CA     90013598200
3268996124B943   BENITO       VARGAS                       TX     76547619612
3268B137884368   PIERINA      JAEN                         SC     90013481378
3268B177A7B449   FABIAN       DIRCIO                       NC     11018501770
3268B2A325B393   TRINA        MCCURTY                      OR     90014882032
3268B91655B52B   CARLOS       MARQUEZ                      NM     35096029165
3268BA4367B471   MELVIN       JONES                        NC     90010720436
3269152544124B   ANDRE        JOHNSON                      PA     51069275254
326915A625598B   MARIO        IXMATLAHUA                   CA     90004735062
326919A942B93B   ROBERT       VERGARA                      CA     90000139094
3269236A82B93B   SHARON       TRIBBLE                      CA     45070593608
3269268763B335   KELLEY       STOCKTON                     CO     33023746876
32692916A4B943   LAURA        CAMPOS                       TX     90003799160
32692929A41258   JUDITH       BOBEL                        PA     51055819290
3269346882B87B   DAVID        BRYENTON                     ID     90007384688
3269366712B93B   NICHOLAS     GALLEGOS                     CA     90012146671
3269392A554165   KERRY        HOOGSTAD                     OR     90008509205
32693A1332B871   KABRISHA     PEARSON                      ID     90005410133
3269427A55B23B   DAVID        HUFFMAN                      KY     90012352705
3269459552B835   NICHOLAS     ALPHIN                       ID     90008675955
32694A53477544   CLAUDE       NORRIS                       NV     90004000534
32695799A7B471   DORIS        LARA                         NC     90010167990
32695875A2B871   DOROTHY      RASE                         ID     90014248750
3269622A42B93B   GARRY        MONTANO                      CA     90013022204
3269637412B835   JOSH         FINCH                        ID     42052893741
3269641737B471   JAIRO        PEREZ                        NC     90010044173
3269664834B943   LUZ          FIGUEROA                     TX     90008766483
3269669A272496   BARBARA      ROADMAN                      PA     90013156902
3269677838B162   LISA         OLANDER                      UT     31013187783
3269746352B87B   GALEMORE     RAE                          ID     90004754635
3269763735B52B   ANGIE        ROMERO                       NM     90014336373
3269774377B43B   SANDY        DIAZ                         NC     90005837437
3269776418B16B   ROSALVA      BRENNAN                      UT     90014917641
3269897275598B   MARIO        MENDOZA                      CA     90009609727
3269B169555972   ESTER        REYES                        CA     90009301695
3269B44328B16B   HELEN        VILLARRUEL                   UT     31028954432
3269B592136143   LACEY        GARCIA                       TX     90014885921
3269B66A98B162   BRUCE        OLSEN                        UT     90014126609
3269B837A2B87B   ALICIA       JONES                        ID     90014458370
3269BA2928B166   LONGMIRE     RICHARD                      UT     90004530292
326B1398641277   ALLISON      BRIDGETT                     PA     51015323986
326B144187B492   CHARLES      BROWNING                     NC     90013634418
326B2257547931   MELVIN       MELENDEZ                     AR     90007922575
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326B267415B52B   AYME         SOLIS                        NM     90014866741
326B334452B835   CONNIE       SULLIVAN                     ID     42088593445
326B343518B162   SHONDELL     DESHILLIE                    UT     90014854351
326B385314B281   JASON        FOWLER                       NE     27086868531
326B4294A91563   DANIEL       LOPEZ                        TX     90009042940
326B4413431424   JONATHAN     COPPAGE                      MO     90014154134
326B4622754165   LORIE        RICHARDSON                   OR     90006136227
326B4A65A57599   CHARLES      WILLIAMS                     NM     90001340650
326B4A8492B93B   ERICKA       MUNOZ                        CA     90012920849
326B5128391831   ANDREW       SEAY                         OK     90009111283
326B526A991356   ANGELICA     ESPARZA                      KS     90014392609
326B538435B156   ERIC         RAGLIN                       AR     23044123843
326B544365B395   NAOMI        MAYHEW                       OR     90005744436
326B555615B393   MIGUEL       FIGUEROA                     OR     90004305561
326B5962157153   FERNANDO     RAMIREZ                      VA     90006509621
326B6159277544   ANTONIO      AGUILAR-HERNANDEZ            NV     90005591592
326B624655B52B   HECTOR       LOYA                         NM     35051722465
326B6349A8B16B   TAHLIA       GOCHEZ                       UT     90013743490
326B6565836143   ANGELICA     AYALA                        TX     90002645658
326B69A5631487   BRITTANY     MYERS                        MO     90011359056
326B6A52651339   ORVILLE      GRIFFIN                      OH     66075570526
326B7117572B27   SE           AUTO                         CO     33016601175
326B7963A51339   DANIEL       SNYDER                       OH     90009869630
326B7A7612B87B   KAILAMI      TURTON                       ID     90015450761
326B8283131424   CORI U       WINFIELD                     MO     27561572831
326B854577B492   SIERRA       MUCKELVENE                   NC     90014805457
326B8828491831   DAMEYOME     HOLLAND                      OK     90012938284
326B888A55B52B   ABRAHAM      RUIZ                         NM     90013188805
326B92A9A7B449   TEIGNESH     NURA                         NC     90010052090
326B92AA341258   ANGELA       DOURLAIN                     PA     90010942003
326B944988165B   ORLANDRA     BROWN                        MO     90001264498
326B9651554165   JESUS        ECHEVERIA DELGADO            OR     47085806515
326B9A88191531   JESUS        DAVILA                       TX     90014580881
326BB181241277   DANA         CUTLER                       PA     51087481812
326BB26357B471   TONYA        WHITE                        NC     90002062635
326BB596333634   LADONNA      WARDLOW                      NC     90011565963
326BB934972496   CHANTEL      ISBELL                       PA     90013519349
3271174135B156   JUANITA      HOLMES                       AR     90010267413
32713A87377544   CHARLES      MCINTOSH                     NV     90011570873
3271422A184368   CONSTANCE    SIMMONS                      SC     90014142201
32715969724B35   JAMILA       JEFFERSON                    MD     90014809697
3271599222B93B   ROMALDO      LASARO                       CA     45017249922
32715A5384B281   SAMANTHA     HOPWOOD                      NE     90000250538
32715A88455972   CESAR        SALAZAR-ANGULO               CA     90008140884
32715A9155B393   JEFFERY      BENA                         OR     90014890915
3271624964B281   AMANDA       NEVE                         IA     90015472496
3271629A35598B   ALEX         JIMENEZ                      CA     90014332903
3271843875B52B   ANDREA       WATCHMAN                     NM     90014964387
32718671A77544   CALISTA      SNYDER                       NV     43081436710
3271883A791531   MAYRA        CAMPOS                       TX     90012908307
32719491A2B93B   GEORGE       RAMOS                        CA     90013024910
3271B31122B93B   MARIA        ARACELI                      CA     90006443112
3271B62525B156   TANGELA      LEAK                         AR     90014126252
3271B69688B16B   SERENA       RODRIGUEZ                    UT     90013346968
3271B825647931   LUZ          DURAN                        AR     25036238256
3271B89312B87B   JAIMITO      VELAZQUEZ                    ID     90007988931
327212A357B43B   BRITTANY     FLOYD                        NC     90003912035
3272149335B393   JACKLIN      PAUL                         OR     90014764933
3272174477B385   EVELYN W     GRANT                        VA     90003767447
32721A7617B639   LEKESHIA     POWELL                       GA     15091200761
3272291995B393   TARA         SCHWEIZER                    OR     44533539199
3272343424B943   WILLIAM      PEREZ                        TX     90014174342
32723A6712B835   MARY         PIERCE                       ID     42019170671
3272458945B156   JANICE       JONES                        AR     23095235894
32724895936B77   LACROY       BRANDON                      OR     44557998959
32724993A7B43B   CARMEN       A. GOODMAN                   NC     90007359930
32724A3855B393   BHIM         KHATIWADA                    OR     90000370385
3272533315B393   COLUMBA      GALLEGOS                     OR     44538233331
3272592135B52B   CARMEL       CARTER                       NM     35007969213
327267A9191831   MARIA        MAMAH                        OK     21055247091
3272687538B162   BRANDON      ROBERTSON                    UT     90007558753
32726A97836B77   MARTINEZ     JUNIOR                       OR     90010090978
3272774764B943   MARIA        FLORES                       TX     90012137476
3272864248B162   MEGAN        RUST                         UT     90011506424
3272873117B449   HUMBERTO     GOMEZ                        NC     90010147311
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3272942767B639   DUANTA          CARROLL                   GA     15051494276
3272943A15B156   JOHN            TOMASSINI- GIETZEN        AR     90014114301
3272975953B324   ERNEST          WALKER                    CO     90013557595
327297AA751339   CHARLES         BENTON                    OH     66084357007
3272984557B43B   PEACHES         GRISSETT                  NC     11042348455
32729A98391563   YAZMIN          CORDERO                   TX     90010790983
3272B24925598B   GERARDO         GARCIA                    CA     90012802492
3272B382657367   BOB             BROWN                     MO     90015613826
3272B41495132B   DANIELL         GATEWOOD                  OH     90007724149
3272B476991563   CAMERON         BARRAGAN                  TX     90006734769
3272B5A6391356   MATTHEW         TANNER                    MO     90015185063
3272B86A691952   TIRFE           NEGASH                    NC     90008988606
3272B871A24B54   JAMES           JONES                     DC     90006178710
3273191775B52B   RYAN            CANDELARIA                NM     90006749177
327319A6991531   PERLA           GARCIA                    TX     90013629069
32732215A84334   NATASHA         VALENCIA                  SC     90000562150
3273281A891893   BOBBI           WARRINGTON                OK     21039408108
3273297757B449   TIANDRA         REID                      NC     11091139775
3273454937B639   COURTNEY        TARVER                    AL     90006725493
3273482A931424   SIOBHANN        SMITH                     MO     90009868209
3273484118B166   VIVIAN          TABAHA                    UT     90003438411
327353A1347931   MORNAN          BEZ                       AR     90014163013
3273542A97B639   LUIS            OSORIO                    GA     90003594209
3273559447B492   CHRISTINA       PRYOR                     NC     90014805944
3273561374B281   MARQWISHA       BROOKS                    NE     90013776137
3273575A185866   SUSAN           WYATT                     CA     46089687501
3273714565598B   ANTONIO         GOMEZ                     CA     90014941456
32737427A72B93   MICHELLE        PHILLIPS                  CO     90010584270
3273787457B449   RENA            CRAWFORD                  NC     90015048745
32737A2A12B93B   ALFREDO         MARTINEZ                  CA     90013090201
3273815825B393   KENNETH SCOTT   BANNICK                   OR     90014891582
32738478A91563   RAQUEL DUE      NES MURPHY                TX     75058354780
3273862662B871   IGNACIO         LIMON                     ID     90014076266
327386AA65598B   NANCY           NAVA                      CA     90009356006
3273934718B166   MELISSA         NEIMOYER                  UT     90009943471
3273961542B87B   AMANDA          DIAZBRARRIGA              ID     90011236154
32739785336B77   JOSE            GUTIERREZ                 OR     90009287853
3273B961A7B492   HELEN           MCKISSICK                 NC     11037589610
3273BA7194B281   ROI             HANG                      NE     27074880719
3274111A336143   TOMMY           PODILLA                   TX     90004841103
3274173535B156   GEORGE          WASHINTON                 AR     90012127353
3274184312B87B   LAURI           THURSTON                  ID     42030038431
3274185177B492   AMANDA          GRIFFIN                   NC     11011988517
32741A59A8B162   MARIA           RUELAS                    UT     90010210590
32741A9A136B77   SHARON          MYLES                     OR     44522790901
3274231A14B281   CASANDRA        BENJAMIN                  NE     90008453101
3274245A741277   JOHN            CONRAD                    PA     90013274507
3274275337B471   EUGENIO         MORALES                   NC     90012847533
32742A4345B393   TIFFANY         SPRINDSTED                OR     90007370434
327431A3577544   GUADALUPE       ULLOA                     NV     43098511035
32743427A72B93   MICHELLE        PHILLIPS                  CO     90010584270
3274391465B156   CYNTHIA         CREWS                     AR     23084889146
32744348A4B943   GRISELDA        GALLEGOS                  TX     90014773480
327464A112B87B   MICHAEL         DENNIS                    ID     90015124011
3274666465598B   JOHN            GALVAN                    CA     49043376646
32746676A91831   JOSE-LUIS       RAMIREZ                   OK     90004316760
3274723262B87B   CAROL           CONSER                    ID     42002362326
32747643A2B871   MOHSEN          MOHAMMADI                 ID     42090706430
3274782634B943   GENELLE         BOUDREAUX                 TX     76559518263
32748281A72496   JESSICA         SEISAY                    PA     90013622810
327482A5151339   APRIL           HELVEY                    OH     90013462051
3274923A57B639   CYRIL           GORONGAYIN                GA     90015132305
3274981922B871   JOSHUA          DAVIS                     ID     42031058192
3274B691591531   KARLA           MORALES                   TX     90007666915
3274BAA728B162   JORGE           ALVAREZ                   UT     90002780072
3275146A24B954   TROY            HOPKINS                   TX     90005504602
32751893772B76   TREVOR JAMES    PASHA                     CO     90003178937
3275199112B871   RHONDA          ASHCRAFT                  ID     42006609911
32751A84747931   JESUS           BARRON                    AR     90014780847
3275286775B52B   ROBERTO         ESPINOZA                  NM     90013628677
32752951A8B166   MARIA           ANGUIANO                  UT     31046549510
3275298867B639   ROBIN           DIXON                     GA     15007789886
3275325A136143   AUNISHA         KITCHENS                  TX     90010992501
3275394487B639   MYEKA           WILLIS                    GA     90004879448
327539A977B421   CHAD            STEELE                    NC     90009119097
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3275475352B835   CARLY          MAIURO                     ID     42098327535
3275494998165B   JOANNA         MARTIN                     MO     29075639499
3275531A15598B   MARIA A        DIAZ MARTINEZ              CA     49001613101
32755615A5B393   CAROL          BUERKLE                    OR     44555976150
3275563427B639   MARLENE        VAZQUEZ                    GA     90008046342
3275573584B943   ROGER          THOMAS                     TX     90009497358
32755A84A41258   LINDA          BRACKEN                    PA     90003700840
3275628927B492   ANNESSHA       BROWN                      NC     90012202892
3275659297B33B   JUAN           CLAROS                     VA     81018175929
3275675A42B835   JACK           WATSON                     ID     42083427504
32756AA695598B   YOLANDA        SERNA                      CA     90006450069
3275714A736143   MCDADE         ZHANE                      TX     90012721407
3275721482B87B   MAC            GUY                        ID     90005812148
32757352A91531   PEDRO          BUENTELLO                  TX     90012273520
32757A5447B471   PEACOX         CHAKUANNA                  NC     11069010544
3275864597B492   ANA            ABARCA                     NC     90005606459
32758A1562B871   NINA           ROJAS                      ID     42040780156
32758A78547931   JUSTIN         MOORE                      AR     90003210785
327592A6954165   EDGAR          PEREZ                      OR     90013752069
3275956862B871   JESSICA        PARTON                     ID     90014605686
32759A28791563   HANK           CORTEZ                     TX     90013690287
3275B155A5598B   LENORA         GARCIA                     CA     49020941550
3275B543736143   RIETTA         VASQUEZ                    TX     90014925437
3275B795A4B22B   MIRANDA        MORROW                     NE     90014747950
3275B7A834124B   DAVID          DUTKA                      PA     90011217083
3276123A74B281   JOSE           RODRIGUEZ                  NE     90013292307
3276196618B16B   BETTY          GOMEZ                      UT     90013019661
327621A8741258   BRANDY         GARY                       PA     90009601087
3276262547B492   TAMMY          SANDERS                    NC     90014806254
32762A8865598B   MICHELLE       BENGE                      CA     90002020886
3276395A97B639   MICHELLE       NELSON                     GA     90012009509
32764234A91531   HECTOR         REYES                      TX     90013592340
3276438152B835   SUZIE          BELL                       ID     90004323815
32764385572B76   SHEENA         DAEBELLIEHN                CO     33099273855
3276458A98B162   OWEN           MAGALOTO                   UT     90002245809
327653A3136143   PETER          MACIAS                     TX     90013653031
3276542197B639   DOMINGO        PUCKETT                    GA     90010804219
32765A6887B449   MICHAEL        MATTHEWS                   NC     90013790688
32766136A5598B   PEGGY          MAGALLANES                 CA     90013281360
32766363A8B162   TAYLOR         ZILLIG                     UT     90014863630
3276675778B166   BRADY          MAYCOCK                    UT     90007197577
32766A8237B449   LYNNE HOWARD   WHITE                      NC     90014810823
32766A96791531   YVES           TSHIMANGA                  TX     90014510967
32766AA4A91531   LORENA         TORRES                     TX     75016290040
32767398472B24   JOSHUA         CORDERO                    CO     90013513984
3276758138B162   TYLER          MANN                       UT     90005695813
3276773788B16B   DANIEL         JOHNS                      UT     90015517378
327678A2A5B156   COREY          FORD                       AR     90009408020
3276799434B943   DARWIN         DEJEAN                     TX     90003419943
327686A3236143   JESSICA        HERNANDEZ                  TX     90007816032
327687A5851369   KISHA          SMITH                      OH     90008597058
327687AA354165   JUSTIN         SPELLMAN                   OR     90013877003
3276912137B43B   JONATHAN       FISHER                     NC     11011821213
3276961494B531   SONYA          ANDERSON                   OK     90012916149
327696A9277544   ARACELI        ACOSTA                     NV     90003526092
3276B18627B449   RICHARD        GAST                       NC     90014211862
3276B273191531   DORA           GALLARDO                   TX     90011312731
3276B465691531   DANIEL         BECERRA SUSTAITA           TX     90014224656
3276BA35955972   WILLIAM        EQQLESTON                  CA     90014530359
3276BAA782B87B   NATHAN         PICKERING                  ID     90009440078
32772234A91531   HECTOR         REYES                      TX     90013592340
3277226734124B   SHEILA         ANDERSON                   PA     51016102673
3277233854B281   WHITNEY        WADE                       NE     90014813385
3277332172B871   DAROLD         MARTIN                     ID     42057103217
327735A214B281   KELLY          HAMELL PEREZ               NE     27042075021
3277374953363B   ANGEL          WILSON                     NC     90004837495
3277433174124B   KRISTY         DEFELICE                   PA     51015033317
327748A6741277   KELLY          WORSHAM                    PA     90015328067
32775296A5B393   YOSELIN        JIMENEZ                    OR     44513582960
3277588715B156   LATESHIA       COOPER                     AR     90010998871
3277634943B326   GARY           JOHNSON                    CO     90001293494
32776754A54165   DANILO         AGUILERA                   OR     47094137540
3277679745B156   RENEE          POE                        AR     90014907974
3277755927B471   SHANE          WHEELER                    NC     90014675592
3277791934B943   JASMINE        WILLIAMS                   TX     90012509193
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3277899A361559   BRANDON       DOWLEN                      TN     90015369903
32779298136B77   JEFF          HESS                        OR     44564522981
3277953867B492   JEFF          MANNING                     NC     90007735386
3277B147224B35   GREG          SAYER                       DC     90010001472
3277B196341258   DANNY         SPENN                       PA     90010561963
3277B199685655   YUNIOR        BRAVO                       NJ     90013931996
3277B257A8B183   EVER          SANCHEZ                     UT     90011902570
3277B438855972   JOHN          PARKER                      CA     48054994388
3277B578851347   PATRICE       WOODFOLK                    OH     66010705788
3277B6A8A8165B   LACIE         LOCHIANO                    MO     29039276080
3277B9A4891356   ALFREDO       SOLIS                       KS     29013589048
3277BA99151339   ADRIENNE      BURKS                       OH     90014710991
327811A7655972   MIGEL         RAMIRES                     CA     48087401076
3278147238B162   KRISTINA      PYLE                        UT     90013374723
3278168345598B   EDUARDO       SANTOS                      CA     90000256834
3278263244B281   TERESA        MINARD                      NE     90011426324
3278263642B871   MICHAEL       WILSON                      ID     42072496364
3278282237B639   ANA           TORRES                      GA     90015238223
3278292915598B   ELVIRA        CISNEROS                    CA     90013789291
3278347572B93B   HARLIN        HARRIS                      CA     45005054757
3278359498B16B   ANGELINA      LINGELBACH                  UT     90011415949
3278478958B162   JARED         NELSON                      UT     31091887895
3278499AA8165B   TIMOTHY       DEFOOR                      MO     90010569900
3278531A84B562   JEROME        RAPLEY                      OK     90014783108
3278594125B156   CYNTHIA       BELL                        AR     90014569412
3278616954B943   ROUSY         WATKINS                     TX     76522871695
3278648564124B   VICTOR        ALSTON                      PA     51057594856
3278651452B835   ANTHONY       MARSH                       ID     90013545145
3278749385598B   MIRIAM        MENDOZA                     CA     90013234938
32788149A36143   DANIEL        PADIERNA                    TX     90008891490
3278857A641285   SHACARRA      RUSSELL                     PA     90010785706
32789183A36143   JONATHAN      PEREZ                       TX     90014201830
3278B196341258   DANNY         SPENN                       PA     90010561963
3278B969491356   RODRIGO       PEREZ                       KS     90002839694
3278BA65291356   PEDRO         HERNANDEZ                   KS     90001880652
3279154412B87B   CHARMAINE F   SKAGGS                      ID     90010345441
32792232A91356   JAMES         STEWART                     MO     90013332320
32792722A36143   FRANCES       RODRIGUEZ                   TX     90002487220
32792928A55972   JERRY         LITTLE                      CA     90000309280
327931A432B93B   FRANCISCO     IBARRA                      CA     45057681043
32793A75A4B281   MARIO         GRADY                       NE     90012830750
3279424A45598B   BRENDA        GOMEZ                       CA     49071262404
32794438A91893   KIM           JAMISON                     OK     21066624380
3279446228B162   MALENA        MANCHEGO                    UT     90011874622
3279493287B492   BREANNA       ELLIS                       NC     90014419328
3279515A74B561   MICHAEL       WALDEN                      OK     90008441507
3279628472B871   GREGORY       MILLER                      ID     42065602847
3279727174B943   ASIA          BENNETTE                    TX     90008692717
3279754A836143   YVONNE        CARDENAS                    TX     73517055408
3279855A84B943   BETTIANA      CHARLOT                     TX     90013115508
32799329A77544   ROSA          FLORES                      NV     90011623290
3279954962B87B   AMANDA        FUHRIMAN                    ID     90012615496
3279B13917B873   SHARI         LOVE                        IL     90011321391
3279B17925B393   KORYEON       JENKINS                     OR     90014891792
3279B1A4784368   JESSICA       GARCIA                      SC     90011091047
3279B855591531   MARLENE       RIVERA                      TX     90009238555
3279B912691232   MICHELLE      ROBINSON                    GA     90004009126
3279BA52731424   CANDICE       WATSON                      MO     90013860527
327B1A6144B943   TASHLA        LAWRENCE                    TX     90014160614
327B211A98B16B   DAVID         BROOKS                      UT     31062901109
327B245A15598B   ROBERTA       BRACAMONTE                  CA     49047104501
327B246767B492   SAMUEL        PEREZ                       NC     90013094676
327B2523336143   MANUEL        BALADEZ                     TX     90014645233
327B255A35B156   DESHAWN       BRADLEY                     AR     23076815503
327B25A5136B77   PRESTON       SCHLEICHARDT                OR     90011885051
327B287A684368   LATASHA       MILLER                      SC     90013678706
327B2938891531   VIANNEY       AVILA                       TX     75099269388
327B3223791563   CARLOS        NEVAREZ                     TX     75020232237
327B335534B943   MICHAEL       THIBEAUX                    TX     90014733553
327B3455854165   GODINEZ       APOLINAR                    OR     90011594558
327B3658977544   GUADALUPE     CONTRERAS-RODRIGUEZ         NV     43013396589
327B3A4444124B   RONALD        GILL                        PA     90013080444
327B456285B393   WALID         SALLOUT                     OR     90008965628
327B47A6151339   JEREMY        MYERS                       OH     66057967061
327B486582B93B   GABRIELLA     DIAZ                        CA     90002138658
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327B4A67555972   SERINA        BORQUEZ                     CA     90013220675
327B4AA594B943   DULCE         ARELLANO                    TX     90012850059
327B531A991831   CHRISTINA     BOTTOMS                     OK     90013663109
327B54A9351339   KENNETH       BLANKENSHIP                 OH     90014934093
327B572775B52B   NICHOLAS      GALLEGOS                    NM     90013517277
327B5874136143   MARC          LIRA                        TX     73501908741
327B5A34254165   NERI          LUNA                        OR     90000970342
327B5A5A82B87B   JULIAS        MTAMBALA                    ID     90008300508
327B627595B156   SHAMON        LEE                         AR     90012592759
327B6572651339   PAMELA        SHORT                       OH     66068475726
327B6885941277   MELVA         MCKNIGHT                    PA     90013958859
327B6A9527B449   REDYN         SLAVADOR                    NC     90013320952
327B7235691531   SYLVIA        SERNA                       TX     90014692356
327B7455391356   JACKIE        HOYLE                       KS     90015084553
327B7824641258   VANESSA       NAZAREK                     PA     51076258246
327B7934754165   ALEXIS        COPELAND                    OR     90013759347
327B7A45855972   TERESA        MADRIGAL                    CA     90014990458
327B8142851369   PHYLLIS       HOSKINS                     OH     66077471428
327B824957B429   JONDA         CALDWELL                    NC     90008882495
327B8298951369   DONNA         RUDD                        OH     90015002989
327B8323A51339   TODD          CARPENTER                   OH     90003983230
327B8A12141277   MICHAEL       VETRECIN                    PA     51051880121
327B912714B281   MICHELLE      MORRIS                      NE     27027361271
327B9382791563   MARIA         LUPERCIO                    TX     90009923827
327B994A95B52B   CHRISTOPHER   GRIEGO                      NM     90013819409
327BB191451339   KATHERINE     PATRICK                     OH     66066571914
327BB353591563   LAURA         AMAYA                       TX     90002333535
327BB45387B639   LAKEVIA       HILL                        GA     90007924538
327BB837451369   MARCOS        ESPINOZA                    OH     90014318374
327BBA4662B871   KEVIN         MCGINLEY                    ID     42032130466
3281135987B449   PATRICIA      JUAREZ                      NC     11066883598
3281141287B492   NIKKI         CERNA                       NC     90011754128
3281159612B93B   MELCHOR       CAZARES                     CA     90012405961
3281213A85B156   REBEKAH       WILLIAMS                    AR     90014691308
3281223A947931   HEATHER       PATTERSON                   AR     90009452309
3281235572B835   SUSAN         ARNOLD                      ID     42025783557
3281327614B943   JESIE         SMITH                       TX     90015242761
3281343772B87B   SANDRA        SCHWARTZ                    ID     90010954377
3281354A35B52B   CHARLENE      VALLEJOS                    NM     90011855403
3281396935B393   MICHELLE      BOOTH                       OR     44524039693
32814596A7B471   JENNIE        HOLMES                      NC     11062315960
32814762A4B281   CHRISTOPHE    SMITH                       IA     27051597620
328152A7236143   JOSE          CANO                        TX     90010312072
32815A9137B639   CANDY         JONES                       GA     90015330913
3281639533B391   FLOYD         JAMES                       CO     90002183953
328165A175B52B   ENRIQUE       BAYLON-HERNANDEZ            NM     90012645017
32816857A7B492   JOSE          REYES                       NC     11067178570
328168A718B183   BRIGHT        ANDREW KEITH                UT     90009628071
32816A8617B449   JILLIAN       GROSSKOPF                   NC     11007510861
3281737454124B   ANTHONY       WILLOE                      PA     51034203745
3281815464124B   PATRICE       FITZPATRICK                 PA     90012101546
3281858745B393   ROBERTO       SALAS                       OR     90014895874
32818A3A936143   ALEJANDRO     SANCHEZ                     TX     90015090309
3281918A94B943   CESAR         NOE ALANIS                  TX     90014961809
3281B59628B16B   SANDRA        BANUELOS                    UT     90011415962
3281B69A791544   STEPHANIE     VALERIO                     TX     90009676907
3281B886A2B871   RACHEL        EDWARDS                     ID     90011148860
3281B97767B425   BALBINO       ESPINOA                     NC     90008979776
328211A382B93B   KELLY         KING                        CA     90013911038
3282151785598B   JODYANN       OSBOURNE                    CA     90009355178
3282153194B281   SUSAN         LOVSTAD                     NE     90011915319
32821A92291831   MARIA         ARMENDARIZ                  OK     90008640922
32822458A54165   NICOLE        REINWALD                    OR     47016704580
3282261515B393   MICHAEL       STICKLE                     OR     90014896151
3282278652B835   AMBER         STANLEY                     ID     90014637865
3282283828B16B   RACHEL        BARNETT                     UT     31089538382
3282339778B16B   WENDY         SMITH                       UT     90008673977
3282346894124B   ELEANORE      DAVIS                       PA     90011954689
32823761A8B162   JEFF          ROUSE                       UT     31040707610
3282415122B835   SHEILA        GRIMES                      ID     42084961512
3282529298B162   DANICA        NELSON                      UT     90004302929
3282531437B449   EVARISTO      GARDUNO                     NC     90008743143
32826539A2B835   JENNIFER      BENGER                      ID     42051525390
3282656792B93B   YVETTE        MORD                        CA     90011605679
3282697212B87B   EDITH         TOVAR                       ID     90014729721
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32826A82855972   JAMES              ROWLEY                 CA     90013030828
32827244372B76   SERGIO             RODRIGUEZ              CO     33048362443
32827864276B21   DAVID              GORMICAN               CA     46073448642
32827A8657B492   DANA               JACKSON                NC     90013460865
3282811472B871   JOHN               ORELUS                 ID     90012491147
32828122A2B87B   LAMAR              WEST                   ID     90009891220
3282823457B492   SONIA              ESPINOZA               NC     11056922345
3282945322B93B   OSCAR              GONZALEZ               CA     90013134532
3282998455B156   THERESA            CATES                  AR     23065999845
3282B263257153   ALBERTO            VILLANUEVA             VA     81082482632
3282B76997B639   JANICE             DAVIS                  GA     15098207699
3282B892A5B393   JOSHUA             MILLER                 OR     44575828920
3282BA3A18B162   TOMOYA             ITO                    UT     90000210301
328312A794124B   TELAN              JONES                  PA     90014082079
32831553276B58   MARGARITA          OROZCO                 CA     90013385532
328317A264B943   SHANTE             SMITH                  TX     90013777026
3283195A155951   LIESWA             CHEA                   CA     90002879501
328319A3A5B52B   CHRISTINE          VELARDE                NM     90011139030
32831A98651369   RAY                CRAIN                  OH     90011930986
3283248427B471   BETHSAIDA          FALCON                 NC     11045474842
32832761672B76   RONALD             HEISER                 CO     90006527616
3283356992B871   MATTEW             MILLER                 ID     90012065699
3283395372B835   JENIFER            DAVISON                ID     42000169537
3283396284B943   ASHLEY             WALDON                 TX     90012479628
32833A45291356   RACHEL             WILSON                 KS     90013940452
328341A342B93B   JULIO              HERNANDEZ              CA     90013141034
328342A5131424   SHANNON            FLYNN                  MO     27510092051
3283453AA84368   ELLESTON           DONALD                 SC     90004305300
32834741A5598B   JILL JANELLE       LOWER                  CA     90008507410
32834A7618B16B   FRANCISCO          PANTOJA                UT     90012980761
3283515475B52B   JUDITH             RASCON                 NM     90015081547
3283571297B492   FAUSTINO           RAMOS                  NC     90013177129
3283616982B835   KRISTINA           FITTS                  ID     42032051698
32836843772B76   FEDERICO           SANDOVAL               CO     33041788437
32836A5244B943   MARIA              ZAMORA                 TX     90012860524
32836A86554165   KENDA              SWADER                 OR     47059120865
3283728587B449   ANTOINETTE         BARNETT                NC     90012842858
328374AA391831   DUSTIN             GADDY                  OK     90014104003
32837686A9152B   CASTILLO           MONICA                 TX     75051286860
3283775337B471   EUGENIO            MORALES                NC     90012847533
32838A23855972   OLIVIA             MEDINA                 CA     90006420238
3283952454B943   MANUEL             GARCIA                 TX     90011625245
3283B166831424   CURTIS             BALDWIN                MO     90008751668
3283B747391531   DIANA              GONZALEZ               TX     90009327473
3283B912333626   KARISA             TURNER                 NC     90015089123
3284116167B471   NOLVIA             MORAN                  NC     90006211616
328413A322B93B   SAUEL              RUBEN                  CA     90013153032
328419A585B181   LATONNA            MCDONNELL              AR     90007789058
3284242552B87B   MARY               MAY                    ID     42009994255
3284333795B156   ELUNDRIA           SMITH                  AR     90010883379
32845A7988598B   ELIZABETH          SAMS                   KY     90014480798
3284616464B943   JOSUE              GUERRA IGLESIAS        TX     90003601646
3284638955B385   PATRICK            BENNETTE               OR     90013733895
3284643695598B   VERA               GAITAN                 CA     90013894369
32846658124B6B   MISAELOMAR         ALFRARO LAINEZ         DC     90001066581
328467A1941285   TAMMY              DIETRICH               PA     90009087019
3284734327B851   JORGE              AZPEITIS               IL     90003423432
3284738434B52B   MARIO              AMBROCIO               OK     90001633843
3284772165598B   RICHARD            RAYA                   CA     90012907216
328483A2A36143   FELLICIANO         CERVANTEZ              TX     90013893020
3284951634124B   JEFFREY            EATON                  PA     51007095163
3284988A72B87B   MARCUS             MONTONGRY              ID     42089378807
3284B228947931   EMMA               RIOSDEGARCIA           AR     90014992289
3284B368791831   ANDRES             PUERTA                 OK     90013663687
3284B63712B93B   ANSELMA CARDENAS   CARDENAS               CA     90013926371
3284BA4718B166   BRYAN              THOMPSON               UT     31017140471
32851883A8B16B   MARCUS             KING                   UT     90013328830
32852A85A41258   JOE                KOSSARTH               PA     51032210850
3285549485B393   JAYNE              YOUTSEY                OR     90007754948
3285642364B943   MARIO              CEJA                   TX     90009374236
3285664197B471   MIGUEL             JUAREZ                 NC     11081496419
3285672712B87B   GANGA              SARKI                  ID     90012247271
3285716515B156   MARY               MACK-PETERSON          AR     23089281651
32857265A31424   MIGUEL             DUENAS                 MO     90006892650
3285738A38B162   REES               RASMUSSEN              UT     31022283803
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3285816257B639   ERICA        ELDER                        GA     90001701625
32858357A2B93B   SANDRA       BLAIR                        CA     90006983570
3285851192B87B   SAMANTHA     SPINAZZOLA                   ID     42093875119
3285862A336B77   KYLE         MCBRIDE                      OR     44512736203
3285948894B281   JINORA       GARCIA                       NE     90014114889
3285B11A247931   BRYONY       STEPHENS                     AR     90005511102
3285B176351339   ANGELA       EVANS                        OH     66008391763
3285B18144124B   JANIECE      GRUSGEWSKI                   PA     51095401814
3285B785655972   HUGO         TORRES                       CA     90012127856
3285B7A264B943   SHANTE       SMITH                        TX     90013777026
3285BA86591893   JAIME        LIRA                         OK     21066310865
3285BAA5A77367   ANTHONY      NASH                         IL     90008510050
3286134912B871   MELISSA      CARVER                       ID     42051463491
32861987A2B87B   JULIE        SPENCE                       ID     42020669870
32861A52731424   CANDICE      WATSON                       MO     90013860527
32861A99151339   ADRIENNE     BURKS                        OH     90014710991
3286214934B943   ALEXIS       KENNERSON                    TX     90013451493
32862328A91356   DEBRA        CORDERO                      KS     90013983280
328627A1A91356   JEANETTE     MARTIN                       KS     90014067010
32862829372B76   JOSLYNN      MERCADO                      CO     33088358293
32863A57A44365   TAMARA       MINTER                       MD     90012380570
32863A64191563   FERNANDO     CABRERA                      TX     90014440641
32863AA218B162   MARIA        GALLEGOS                     UT     90014490021
328642A5591356   AUTUMN       GREEN                        KS     90014092055
32864562A36143   JEREMY       LOPEZ                        TX     90004265620
3286465777B471   MARIO        CONDE                        NC     90012936577
328646A192B93B   MICHAEL      JIMINEZ                      CA     90013156019
3286491137B449   CASSANDRA    STACEY                       NC     90013239113
3286543514B281   DARREN       JOHNSON                      NE     90000494351
3286548A64B534   JANELLE      MARTINEZ                     OK     90010914806
32865513A4124B   SERENA       COPENACE                     PA     90011695130
32865A3A936143   ALEJANDRO    SANCHEZ                      TX     90015090309
3286669672B871   BRUCE        MITCHELL                     ID     90009576967
3286676155B52B   ADRIANA      PEREZ                        NM     90014437615
3286683717B449   PRESLIN      CARDOZA                      NC     90012958371
3286712148B166   CHADWICK     RICHELLE LYNN                UT     90004601214
3286725495B393   RACHEL       HOLCOMB                      OR     90014912549
32867A89251354   JASON        SHOWELL                      KY     90012100892
3286834568B166   ELIZABETH    KEILMAN                      UT     31017403456
3286863398B162   PAYGO        IVR ACTIVATION               UT     90012696339
32869635636B77   CAROLINE     HALLCRAFT                    OR     44570306356
3286969282B93B   JAMES        LEE                          CA     90013156928
32869792A7B449   ADONIS       LOPEZ                        NC     90004697920
3286B462472B76   RACHEAL      MAES                         CO     33062944624
3286B95628B162   JEFFERY      NELSON                       UT     90013719562
3287119984B943   ERICA        BANDY                        TX     90015201998
32871367A5598B   MIKE         HENDERSON                    CA     49072233670
3287194872B87B   SHAYNE       WOOD                         ID     42058029487
328724A218B16B   MELANIE      WOODS                        UT     90005944021
3287312245B52B   FERNANDO     MENDOZA                      NM     35083771224
32873629A8B162   CINDI        RUELAS                       UT     90014886290
3287385934B943   ESMERALDA    GONZALEZ                     TX     90006858593
3287422728B162   SHELLY       REID                         UT     90003472272
3287447737B449   VUM          GO LIAN                      NC     90010834773
3287492625598B   ARTURO       ZAMORA                       CA     90003709262
3287539A172496   MARY         TAYLOR                       PA     90005403901
3287611A52B835   ANTHONEE     STEPHENSON                   ID     42000331105
32876156A4124B   DONNA        ADAIR                        PA     90011421560
3287621747B471   MARIE        FENELON                      NC     90008532174
3287626498B166   NICOLE       WEBB                         UT     90010292649
328763A3155951   SARAH        FICKLE                       CA     49016873031
3287644535B156   CHRIS        DOBBINS                      AR     90010914453
3287676338B162   LETA         KULA                         UT     90013747633
3287687717B639   ELSA         REYES                        GA     90014848771
3287694585B393   RANDALL      ROBBINS                      OR     90014899458
3287744754B943   JEFFERY      DUBON                        TX     90010844475
328778A4291531   ZANDRA       GARCIA                       TX     75082128042
3287946132B93B   CYNTHIA      GOMEZ                        CA     45049184613
3288142644B943   ROLANDO      MORALES                      TX     90013304264
3288174157B471   JOSHULA      CRANK                        NC     90010947415
328823A6591831   KEVIN        SANDERS                      OK     21043653065
3288261375B393   FERNANDO     BRAVOE                       OR     90005776137
3288294338B162   JANET        MAYA                         UT     90012329433
32883AA8A55972   AGUSTINE     MONTIEL                      CA     90010230080
328842A1551339   KRISTA       FUESTON                      OH     90014612015
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3288448862B835   KIMBER           GRANT                    ID     90012074886
328846A7772B24   GLORIA           ESSIG                    CO     90008156077
328851A3851369   RUDY             GARCIA                   OH     90015131038
3288523717B639   LEAKESHA         MILLER                   AL     15014162371
3288556A97B639   DASHA            HAMILTON                 GA     90012285609
3288623135598B   AIOTEST1         DONOTTOUCH               CA     90015122313
3288735185598B   JOSE             CISNEROS                 CA     49052673518
3288794862B93B   ROBERT           MAXIM                    CA     90013159486
32887AA915B393   JESSICA          OHALLORAN                OR     90014900091
3288827225B385   ESTELA           NOVA                     OR     90006052722
3288886672B871   CASSIE           COLEMAN                  ID     90013208667
32889655A54165   RYAN             CAMPBELL                 OR     90009896550
3289122215B52B   JOSE             QUIROZ                   NM     35077512221
3289156792B93B   RICARDO          TORRES                   CA     90014115679
3289191187B471   ELLEN            RATLIFT                  NC     11091699118
3289239157B471   PEDRO            PORTILLO                 NC     90013253915
3289243144B943   GUILLERMO        ROCHA                    TX     90011644314
328927A9654165   KATRINA          CHAUDOIR                 OR     90007267096
3289298527B492   SHAQIA           SIMSON                   NC     90010999852
32892A5842B93B   ROSE             BELL                     CA     45072260584
3289318212B871   KRISTINA         GARCIA                   ID     42044501821
3289349495B393   PEDRO            LOPEZ                    OR     90010424949
3289368A691563   DEMITRI          MARTINEZ                 TX     90006136806
3289382264124B   CANDICE          IARRUSSO                 PA     90013428226
3289417875B52B   YALUANY          CHAN                     NM     90013291787
3289443144B943   GUILLERMO        ROCHA                    TX     90011644314
3289485912B835   MATT             SMITH                    ID     42097428591
32894A7A53B352   FLOYD            FLETCHER                 CO     33090490705
32895256A36143   MARIO HERBERTO   VASQUEZ                  TX     90013962560
32895438A5B52B   MICHELLE         CARO                     NM     90009604380
3289588588B162   CHRISTINA        MARRUFO                  UT     90011158858
328959A244B943   MICHAEL          HENDERSON                TX     90008209024
3289625495B393   RACHEL           HOLCOMB                  OR     90014912549
3289656789375B   JOSH             MILLER                   OH     90010645678
32897272A5598B   ANTONIO          MORALES                  CA     90014182720
3289734A62B87B   KAYLA            FLINK                    ID     90014123406
32897585A51339   CHARLES          SOUDERS                  OH     90015205850
3289788A75B156   CONNIE           DUCKETT                  AR     90000218807
3289796124B943   BENITO           VARGAS                   TX     76547619612
3289854324B943   EFRAIN           CASTANEDA                TX     90011645432
32898979A91563   ALEJANDRA        DE LA PENA               TX     90007509790
3289911868165B   CHRIS            ELLIOTT                  MO     29023281186
3289924A42B871   CECILIO          FERNANDEZ                ID     90013542404
3289B54588B162   BEATRIZ          GARCIA                   UT     90011315458
3289B5A115B156   KRISTI           HOWARD                   AR     90003655011
3289B85747B449   PEDRO            ROJAS                    NC     90004488574
3289B92A12B835   PATRICK          MCDONNELL                ID     90012299201
328B1139A5598B   ANTHONY          CURRILLO                 CA     90013171390
328B14AA391831   DUSTIN           GADDY                    OK     90014104003
328B154118B162   LEEANN           LEE                      UT     90014695411
328B1653691563   APRIL            VASQUEZ                  TX     90001556536
328B1A5A136143   LORENA           ZUNIGA                   TX     90012740501
328B217925B393   KORYEON          JENKINS                  OR     90014891792
328B2214672496   KYLAH            RICHARDSON               PA     90014042146
328B2376251339   LARRY            WAGERS                   OH     90013003762
328B2667791232   CHARLES          MOBLEY                   GA     14523206677
328B27A664B943   DASHARI          OWENS                    TX     90013877066
328B284632B395   ANTONIO          GILBERTH                 CT     90014478463
328B317585B393   I                M                        OR     90012921758
328B3258836143   ANTONIO          PATINO-ROJAS             TX     90003192588
328B398647B471   VERONICA         FRANKLIN                 NC     90015559864
328B419244B943   TRACIE           HANKS                    TX     90012831924
328B468157B639   TIFFANY          JONES                    GA     15006766815
328B4A3963B325   ERICA            DIAZ                     CO     90010500396
328B5262951369   BEVERLY          DUNN                     OH     66033702629
328B546917B449   SHAQUINTA        MCCAIN                   NC     11044724691
328B54A9436143   CADEJA           DEMBO                    TX     90010994094
328B63A3991563   ROCIO            ACOSTA                   TX     90001633039
328B652712B87B   MICK             WARE                     ID     90006845271
328B6559541277   TIFFANY          SMITH                    PA     51079355595
328B693895598B   ROXI             MONJE                    CA     90012039389
328B6A8592B93B   LUIS             GARCIA                   CA     90013090859
328B752655B555   TERRI            TORRES                   NM     90010815265
328B7584151369   KAREN            BROWN                    OH     66057965841
328B7912755972   SAVANNAH         OSEGUERA                 CA     48011179127
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328B7A8918B162   WILSON         COBB                       UT     90014000891
328B8826A2B835   GAUDENCIA      MENDOZA                    ID     90008438260
328B8A44672496   LORI           RANKIN                     PA     90014180446
328B929A557153   PRIMO          BUSTOS                     VA     90004012905
328B9332791531   ANA            DOMINGUEZ                  TX     90014933327
328B9396536143   PEDRO          MARTINEZ                   TX     90014553965
328B948137B492   RODNEY         RICHARDSON                 NC     90005854813
328B9631631424   PANDORA        SHEPARD                    MO     90011376316
328B974A94124B   CHRIS          CORTAZZO                   PA     90006467409
328B9A21A7B639   PATRICE        JACKSON                    GA     90013780210
328B9AAA891356   NICOLE         RUCKER-MARTIN              MO     29087060008
328BB11378B16B   ANGELA         LUCERO                     UT     31072481137
328BB24872B87B   DAVID          POSTON                     ID     42059372487
328BB422391531   ALICIA         CISNEROS                   TX     75010224223
328BB474991531   OSCAR JR       CORPUS                     TX     90012654749
328BB523751369   MELISSA        LYONS                      OH     66055205237
328BB952951339   JESSICA        ROWLAND                    OH     90014539529
328BB9A2A91356   VICTOR         CHAVEZ                     KS     90012909020
3291152432B835   CHRISTINA      KNIGHT                     ID     42089405243
32911A3543B39B   ROBERT         ARNOLD                     CO     33075370354
3291267375598B   AUSTIN         LAGROTTA                   CA     90009996737
3291269332B871   CHAZ           VARGASON                   ID     90014906933
329128AA35B177   BOBBY          CARTER                     AR     90011988003
3291315574B281   AMBER          SMITH                      NE     90013481557
329136A7691959   ANTONYA        LADSON                     NC     90015056076
32913A15372496   ANNA           LUCAS                      PA     90014240153
3291486862B87B   CARLOS         GOMEZ-RIVERA               ID     90012978686
3291569378B16B   ROBERT         CONLON                     UT     90014626937
3291598598165B   SAMUEL         VARGAS JR.                 MO     29024659859
3291667174B943   PATRICK        DAVIS                      TX     76510836717
32916A42847931   MARGARITA      MARTINEZ                   AR     90014180428
3291732387B492   LUIS           MINIER                     NC     90013103238
329176AA95B52B   FELIPE         LANDEROS                   NM     35062176009
32917A4A555972   MISTY          FENSTERMAKER               CA     48035940405
3291922135598B   GUAFALUPE      DICKERSON                  CA     49094022213
329192A3336143   MELISSA        CORTEZ                     TX     90014142033
32919515772B41   LUIS           PINEDA                     CO     90013875157
3291B28262B87B   JASON          ALEXSANDER                 ID     90013482826
3291B365141277   KIMBERLY       STILTS                     PA     90012823651
3291B479681681   JOSH           KURTZ                      MO     90010914796
3291B67385B156   JUNE           BAILEY                     AR     90006666738
3291B97A136143   ROSALINDA      LEOS                       TX     73503449701
329215A8A91831   CHRISTOPHER    BUTTS                      OK     90011885080
3292188178B16B   MARK           WEAVER                     UT     31070118817
3292198A472496   CYNDI          ONELL                      PA     90009759804
32921A95531424   FAYE           COOPER                     MO     90011330955
3292265962B93B   DANIEL         ALBRIGHT                   CA     45012526596
32922928A91356   LENKA          BROWN                      KS     29088089280
329245A8755972   CHUCK          MEEKS                      CA     48051455087
32925A42991531   JESUS          HERNANDEZ                  TX     90006040429
3292617134B943   JUAN           COLINDRES                  TX     90013131713
3292626687B43B   DARNELL        BARBER                     NC     90009002668
32926A3372B87B   GEORGE         STEWART                    ID     42020520337
32927451924B42   ANA            QUINTEROS                  DC     81025104519
3292788742B395   MALISHA        ALCHELUS                   CT     90014158874
32927894472B76   LUIS           GOMEZ                      CO     33031798944
32927A13191531   JOSE LUIS      VAZQUEZ                    TX     75074370131
3292813192B93B   PATRICK        HANNA                      CA     90012511319
3292817855B199   RICKY          ENGLAND                    AR     23011411785
3292836AA4B281   MARY A         BICE                       NE     90013923600
329286A9291831   FELECIA        GIBSON                     OK     90014626092
3292954672B87B   DUSTIN         GUINN                      ID     90004755467
3292B19248B16B   CHAD           ANDERSON                   UT     31077351924
3292B294A7B492   GARFIELD       SAUNDERS                   NC     90013292940
3292B611172B76   JOSE           LARA                       CO     33096096111
3292B91664B281   BRANDON        ORNAT                      NE     90014369166
3293125635B52B   ARACELI        ESPINOZA                   NM     90015202563
3293159725598B   LUIS ANTONIO   GOMEZ                      CA     90003995972
32932A1A825655   RASHUN         CROOK                      AL     90014080108
32932A44A8B162   RYAN           ROTELA                     UT     90012570440
32932A85A5B393   PAUL           WARDE                      OR     90014900850
3293322815B156   WEALEY         SMITH                      AR     90006252281
3293355782B835   EMILY          MCKNIGHT                   ID     90013155578
32933A85A5B393   PAUL           WARDE                      OR     90014900850
32934642A8165B   DAVID          CHAMBERS                   MO     29023816420
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32934A7924B943   DONALD            RENFROW                 TX     90013080792
32935373A91356   JESUS             GUILLEN                 KS     90012303730
3293542532B87B   GINA              CHAPA                   ID     90012854253
3293573744B943   VANESSA           MUNGUIA                 TX     90015097374
3293662A336143   ANGELA            REMIREZ                 TX     90011006203
32936A88984368   TINA              LOPEZ                   SC     90006370889
3293722314B281   JAMIE             TALLANT                 IA     90003612231
3293722515B393   KATIA             PROPHETE                OR     90011992251
32937695872B76   COMETTO           LUIS MARIE              CO     33029616958
32937A8A191831   OCTAVIO           HERNANDEZ               OK     90008630801
3293822384B221   TERESA            ASHLER                  NE     90011942238
329382AAA55972   MARCEL            URANGA                  CA     90013362000
32938792A91831   CHERYLLN          GEISER                  OK     90003127920
3293938A72B93B   SUNNY             DHILLON                 CA     90014993807
329395A548165B   FRED              MOORE                   MO     29053535054
3293B119741277   TIFFANY           COX                     PA     90014941197
3293B515526759   JAMAL             ELLIS                   VA     90007925155
3293B82927B471   THEODORE          WHITE                   NC     11005878292
3294178494B943   LAVINIA           ANTOINE                 TX     90007827849
3294191382B93B   JOHN              BLAZE                   CA     90013179138
32942126A72496   NELLIE            MEADOWS                 PA     90012701260
329424A977B639   SHICOLA           HAND                    GA     90002654097
329425A519152B   ALEJANDRA         VELSAZCO                TX     90002685051
32943462A31424   DAPHYNE           GARROTT                 MO     27581964620
3294468972B871   SHERRY            SHATTO                  ID     42097346897
3294472984124B   CHARLES           RANDALL                 PA     90012057298
32944768A5B156   DWIGHT            RAY                     AR     90005057680
32944847A5B52B   ANGELA            LUCERO                  NM     35008428470
3294512537B492   LEO               MORALES CASAS           NC     11093231253
3294584682B835   ZACARIAS          SALAZAR                 ID     42034658468
32945A53A8B16B   BRENT             BLANCH                  UT     31011920530
329461AA354165   SARA              TODD                    OR     90014541003
3294672A34B943   SAM               HENDERSON               TX     76566707203
3294715754B943   LASAUNDRA         YOUMAN                  TX     90003971575
3294717932B886   SHAWN             ALLEN                   ID     90013491793
3294781825598B   BERNADETTE        ROCHA                   CA     90010248182
32947A23884332   VERONICA          FABERS                  SC     90013450238
32947A4175B393   GLENDA            WANN                    OR     44560020417
32947A86584368   FERNANDO          RIVERA                  SC     14549040865
3294854227B639   OLA               MCMILLIAN               GA     15009515422
3294872465B52B   CECILIA YOLANDA   RIVERA ROBLES           NM     90013507246
32949179A91531   JOEL              REYES                   TX     90013951790
3294948495B393   LAKISHA           HENDERSON               OR     90008864849
32949652A5B52B   EFRAIN            VASQUEZ                 NM     90012226520
3294997577B639   VALARRIN          DENISE                  GA     90014979757
3294B21657B492   VERONICA          GUTIERREZ               NC     90010422165
3294B25A591563   JAZMIN            RODRIUEZ                TX     90013302505
3294B989136143   ROSEMARY          CABALLERO               TX     90011999891
3295138632B87B   JANET             FIOKOUNA                ID     90010053863
32951693A31424   LORI              MCDONALD                MO     90014856930
329521A5636143   JAMES             TRAEGER                 TX     90009541056
3295258A891563   MIRIAM            RODRIGUEZ               TX     90011525808
32952A96955972   MARIO             GARCIA                  CA     90012610969
3295321898B16B   ROUECHE           NOEL                    UT     90013232189
329534A234B943   JOSE GUADA        ROCHA ACOSTA            TX     90000244023
3295356744124B   ZELLETTIA         BRANTLEY                PA     90014275674
329541A855B393   UNDREA            EUBANKS                 OR     90014901085
32954A15391831   RENEESHA          JACKSON                 OK     90014450153
3295545357B449   CRISTIAN          CABUTO                  NC     90013304535
3295576A38B16B   CHERYL            BAGGS                   UT     90000837603
32955955472B24   ANDREW            METSALA                 CO     90001539554
3295697185B52B   JENNIFER          MARTINEZ                NM     90011139718
32956A43254165   AMANDA            PLOUGH                  OR     90012510432
3295757238B16B   JASON             HESLOP                  UT     90015345723
32957A47457153   ELODIA            ALVAREZ                 VA     90006900474
32957A5684B943   DAMON             JAMES`                  TX     76557530568
329587A5472496   CHARLES           NUTT                    PA     90014177054
3295993787B43B   WILLIAM           MILLER                  NC     11027119378
3295B351187B64   DERICE            ROBY                    AR     23011293511
3295B747755972   DARLENE           HOOKS                   CA     90012567477
3295B856A91531   ROSI              NAZARIO                 TX     75090218560
3296111165B393   BRENDA            JIMENEZ                 OR     90014901116
3296111495B156   DERRICK           WRIGHT                  AR     90013061149
32961A88772496   DANIEL            MILLER                  PA     90010560887
32961A9242B93B   ROSA              CONTRERAS               CA     45010340924
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3296211425B393   TRACEE       BARBER                       OR     90014901142
3296229774B281   AMBER        THORTON                      NE     90014592977
3296249438B162   SHANNON      SEARLE                       UT     90005644943
3296273232B87B   DEREK        PLATT                        ID     90009377323
32962792772B24   MAGDALENO    ALANIS                       CO     90014087927
3296345642B871   ALEX         GILES                        ID     90011454564
3296384832B871   IRMA         ENRIQUEZ                     ID     42044358483
329638A3951339   AMY          KING                         OH     90011398039
32964A57291831   MISTY        MOORE                        OK     90014600572
32965A1A85B393   LINDSAY      PIRTHALL                     OR     44581170108
3296645A161993   VEN          GUERRERO                     CA     46007644501
3296649835B156   TALISHA      HENDERSON                    AR     90011154983
3296763A291232   AMANDA       SAPP                         GA     90007986302
32967A3785B52B   GRACE        GUTIERREZ                    NM     90012950378
329693A3251339   NINA         HIGHLEY                      OH     90011133032
32969476A31424   MARIANE      FORTENBERRY                  MO     27573204760
3296983A891544   JAZMINE      UNDERWOOD                    TX     90011418308
32969AAA441277   RONALD       ROSE                         PA     51013990004
3296B238972496   ALAN         DOROGI                       PA     90007822389
3296B28A484368   VICTORIA     BRAVO                        SC     90014512804
3296B838847931   MARIA        HERNANDEZ                    AR     90004958388
32971134A5B161   CHIQUITA     ANDREWS                      AR     90013481340
3297154987B639   KEVIN        WHITE                        GA     90014875498
3297179215598B   MRIA         LOMELI                       CA     49025967921
3297182815B52B   JOSAL        OVIDA                        NM     90009658281
3297189598B162   ABRAHAM      VEGA                         UT     90010868959
3297197697B449   TOYA         DAMON                        NC     90012179769
329719A125B52B   JOE          THWEATT                      NM     90013569012
3297239355B393   IRIS         RAMOS                        OR     90013193935
3297269115B393   BRISA        ORTEGA                       OR     90010106911
32972A2697B471   NATASHA      TAYLOR                       NC     90014360269
32973263A2B835   KIEFER       CAFFERTY                     ID     90013852630
329732A9891885   NICOL        TALAMANTES                   OK     90014112098
3297332765B393   YIAN         VEY SAETERN                  OR     44583113276
329735AA32B871   NATALIA      VASQUEZ                      ID     90010345003
3297383575598B   AREO         BERMEJO                      CA     90014778357
3297389494B281   JESSE        SCHAEFER                     NE     90015128949
3297426837B639   JOSE         GONZALES                     GA     90005602683
32975A3137B639   ALEXIS       MOORE                        GA     90014980313
3297611425B393   TRACEE       BARBER                       OR     90014901142
3297612655B253   TANIA        CANADAY                      KY     90006151265
329762A767B471   ELISEO       SANCHES                      NC     90007052076
3297645A441258   RHODA        RILEY                        PA     51051654504
32976557A8B162   VERNON       BENNETT                      UT     31047715570
329766A3772B76   MARIA        RAMIREZ                      CO     33091416037
3297693632B87B   NICK         DAVIS                        ID     90014349363
3297735A28B16B   KELVIN       STEWARD                      UT     31002863502
3297741228B166   BRYAN        MURPHY                       UT     31033854122
32978492A8B162   PATRICIA     KEELE                        UT     31083314920
3297872595598B   CHAUNTREAS   WALKER                       CA     49012797259
32978A3785B393   THERESA      STEVENS                      OR     90004340378
3297935A751369   CELESTINE    BARROW                       OH     90015113507
329793AA45B52B   RUBEN        CASTILLO                     NM     90007803004
32979461A5598B   YESENIA      RUIZ                         CA     90014164610
329796A347B43B   TIFFANY      ROBERTS                      NC     11080646034
32979A73191356   TIMOTHY      JONES                        KS     90010360731
32979AA942B835   PAUL         KEISER                       ID     42041650094
3297B24655B156   JOSE         MODICA                       AR     90012502465
3297B27A751339   EVAN         BESS                         OH     90009982707
3297B2A817B449   CATHY        STACEY                       NC     90014172081
3297B34327B639   CHINA        BROWN                        GA     90013253432
3297B911977544   ANGEL        ALTAMIRANO                   NV     43074559119
3297B973A4B281   MARCUS       MITCHELL                     NE     90013419730
3298111A172496   CAROL        SANDERS                      PA     51089941101
3298113397B471   JAMAL        GATES                        NC     90013071339
3298149177B449   GELSOMINA    CAMPOS                       NC     90014634917
3298268835B393   DEVIN        APPELO                       OR     90008166883
329831A2991563   CARMEN       ORTEGA                       TX     90006011029
32983A55854165   WILLIAM      MONSOOR                      OR     47063930558
32984332A7B471   DIANA        ORTEGA                       NC     90014863320
3298446762B835   AMANDA       HEADY                        ID     90002164676
3298468A42B871   JASON        LOPEZ                        ID     90014886804
32985A77891356   SANDRA       ARROYO                       KS     90001460778
329878A6551369   MARCOS       OCAPMO                       OH     66006078065
32987A8958165B   TAMIKA       ASH                          MO     90013720895
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329885A5391356   LYTIA         ERNST                       KS     90007745053
3298B313672B63   BETTINA       ELDER                       CO     90009553136
3298B3AA45B52B   RUBEN         CASTILLO                    NM     90007803004
3298B553972B36   SERGIO        MIRANDA                     CO     33083465539
3298B629A8B16B   TARA          HALVERSON                   UT     31063676290
3298B938291831   CRYSTAL       HAMILTON                    OK     21083109382
3298B94597B639   ERICA         JONES                       GA     90010879459
3299161573B326   JASMIN        GOEBEL                      CO     90007556157
32991696236B95   BULMARO       CANALES                     WA     90014036962
3299171632B835   MICHELLE      GROW                        ID     42033377163
3299286497B639   GENARD        JOHNSON                     GA     90008808649
3299316648B16B   BETTY         GOMEZ                       UT     90013031664
3299331945B52B   MARK          SANCHEZ                     NM     35051723194
32993418A4124B   CHRISTIAN     LOWE                        PA     90014264180
3299451248B162   KEVIN         WILCOX                      UT     90014385124
3299457365B156   SALLY         HINKLE                      AR     90013925736
3299491425B58B   LORETTA       MONTOYA                     NM     90007149142
3299546492B87B   WILLIAM       ALTON                       ID     90012954649
32995498A2B87B   JOSE          MADRIGAL                    ID     90009364980
329968A122B871   SONJA         HOOEERMUNOZ                 ID     90003558012
32996A2735B52B   ROBERT        GONZALES                    NM     35062850273
3299744A655972   ERIKA         GONZALEZ                    CA     90009084406
32997585A7B471   JASON         FELIX                       NC     11083125850
3299772385B536   CLAYTON       BLANK                       NM     90012497238
3299782145B156   REGINALD      WAYNE                       AR     90015218214
329979A4736143   GARY          FLOOD                       TX     90007949047
3299821418B16B   JAY           SWIFT                       UT     90012112141
3299825A65B156   CHRISTOPHER   GREENWOOD                   AR     90013712506
32998565A41277   TAMARA        JONES                       PA     51099565650
329991A567B471   CHINEMYE      MBA                         NC     11065961056
32999A6282B87B   MALINA        ACEVEDO                     ID     42046080628
3299B211431424   ANDRE         ARMSTRONG                   MO     27510512114
3299B54918B166   MELANIE       JONES                       UT     90002075491
3299B764A51369   PAMELA        MARTINEZ                    OH     90009637640
3299BA24A6B397   KEVIN         NEAL                        NH     90009510240
329B125A751339   MEGAN         CROMER                      OH     90011312507
329B1658131424   BALITA        HEARN                       MO     90013636581
329B171348B16B   ELISA         LOZANO                      UT     31013307134
329B1992355972   MONICA        OVIEDO                      CA     48001639923
329B2439677544   VICTOR        HURTADO                     NV     90000334396
329B324658B16B   ALYSIA        VARBLE                      UT     90013602465
329B374913B351   MIKE          HWA-LEE                     CO     33091947491
329B37A215B52B   JEREMY        POTER                       NM     35059447021
329B4211972496   WALTER        RICHARDSON                  PA     90014232119
329B431355B393   HUBERT        BERRY                       OR     90013813135
329B4359172B24   ABEL          GUADARRAMA                  CO     90001123591
329B4382551369   MARK          ECKSTEIN                    OH     90013053825
329B439A491563   BLANCA        PEREZ                       TX     90008333904
329B45A237B639   LASHAUNA      JONES                       AL     90014935023
329B479247B471   TEMPEST       PROPST                      NC     90008347924
329B4792A5598B   JOSE          HERNANDEZ                   CA     90013367920
329B4796377523   JERALD        GILLEM                      NV     90002997963
329B48A2972B76   CAROLINA      RODRIGUEZ                   CO     33081858029
329B498665598B   ALICIA        URBIETA                     CA     90012089866
329B498867B492   CHRISTI       SENTER                      NC     90009859886
329B5311284368   LEON ALVIN    HUDSON SR                   SC     90011213112
329B5337141277   COLIN         CRAIG                       PA     51063013371
329B564952B93B   MELINDA       MAUPIN                      CA     45012336495
329B569648B16B   JACOB         GEORGE                      UT     90011766964
329B631925B52B   MELISA        FERMAINT                    NM     35020503192
329B634995B393   NANCY         TYRRELL                     OR     44544093499
329B6656A5B156   JAMIE         BEAM                        AR     90011066560
329B697624B281   TONYA         FLETCHER                    NE     90002989762
329B71A738B162   JD            GIBBONS                     UT     90009011073
329B7823A2B871   KRISTINA      MARION                      ID     90013778230
329B8387891831   CRYSTAL       DAVIS                       OK     90011043878
329B8456251369   ALEJANDRO     SANCHEZ                     OH     90010304562
329B8513954165   MALIKKHIA     MCRITCHIE                   OR     90009405139
329B8617172B76   DON           MILLER                      CO     33082476171
329B8759491531   JONARTHAN     DURAN                       TX     90014737594
329B8873972496   BOBBIE        PACE                        PA     90001698739
329B8885755972   CHARLES       WHITE                       CA     90013228857
329B9739936143   CONNIE        CHADWELL                    TX     90014807399
329B9A26547931   DAWN          HORTON                      AR     90014180265
329BB117236143   REBECCA       MARTINEZ                    TX     90004561172
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329BB344554165   SHERI           GRANT                     OR     90011623445
329BB468831424   DALTON          FANGER                    MO     90015194688
329BB599191356   CRISTOBAL       GONZALEZ                  KS     29066415991
329BBA17755951   ANDREA          SERRANO                   CA     90002880177
32B11156636143   FRANCISCO       CORTEZ                    TX     90014041566
32B1124197B639   LEYCHA          IGLESIAS                  GA     90010782419
32B1154817B43B   WILLIAM         DURHAM                    NC     11056315481
32B11642151369   DAVID           WOLFE                     OH     90012686421
32B1223A391563   MARIA           VALDEZ                    TX     90015322303
32B1243428B162   ESITA           KINIKINI                  UT     90013324342
32B12689347931   JOSUE           AYALA                     AR     90007836893
32B1274A191356   CHRISTINA       HARRIS FRAZIER            KS     29029597401
32B1291282B93B   GUADALUPE       GARZA                     CA     45050649128
32B1292435598B   ISAAC           ALFARO                    CA     90011159243
32B129A5655951   JACKIE          BRASWELL                  CA     90008669056
32B12A65141277   GREGORY         MUNDY                     PA     51027760651
32B1334522B93B   JOSE            JACOBO                    CA     90014833452
32B1339153B324   CHRISTINA       MULLINS                   CO     90010113915
32B135A315598B   NICOLE          MOORE                     CA     90008505031
32B139A654124B   RICHARD         WRIGHT                    PA     51051029065
32B13A8775B52B   JESSICA         PHILLIPS                  NM     35056370877
32B1427867B23B   DAVID P         PONZI                     CO     33065442786
32B145A9391531   JESSICA         ORTIZ                     TX     90011095093
32B1491284B281   TOBY T          SCOBEE                    NE     90012379128
32B149A915B52B   ANNA            MARTINEZ                  NM     35006199091
32B1525487B639   TIFFANY         FREEMAN                   GA     90011382548
32B1525635B52B   ARACELI         ESPINOZA                  NM     90015202563
32B15256672B76   ROBIN           MANLEY                    CO     90005102566
32B15287A7B429   WILFIDO         AGUILAR                   NC     11081562870
32B15296141277   LAURA           FRANZ                     PA     90001022961
32B15A7817B449   EUGENE          GREEN                     NC     90014840781
32B16168384368   ALBERTO         OMANA                     SC     90012721683
32B1616852B93B   RUTH            PRIETO                    CA     90012781685
32B1644387B359   ALBA            RODRIGUEZ                 VA     90005914438
32B1644765B393   HIRAM           LIZARRAGA                 OR     44537844476
32B1651A487B27   TYLER           BOLTON                    AR     90014865104
32B1667124124B   MARK            PATTERSON                 OH     90000226712
32B1669832B87B   DERIK           STANDLEY                  ID     42014126983
32B16A23972496   SARA            SHALLENBERGER             PA     90014060239
32B17543291563   JESUS           CORIA                     TX     90002395432
32B1769847B449   MIKAELA         VANCE                     NC     90014596984
32B177A6336143   LISA            PEREZ                     TX     90014697063
32B17814672496   KEITH           MILLER                    PA     90004378146
32B17934A91831   LASHAN          COX                       OK     90008819340
32B17985531424   BRANDI          FOOT                      MO     90002399855
32B18467A7B639   RAYSHAWNDA      HICKS                     GA     90013494670
32B18658572496   TRACY           SCHOMER                   PA     90012866585
32B18839955972   JUSTIN          GONZALES                  CA     90013028399
32B19212591356   VALENTINE       URBARO                    KS     90014042125
32B1939295B393   VICTOR          CASTILLO                  OR     90014213929
32B19865572496   CARL            TREMBA                    PA     51030358655
32B1B36AA4B943   JESSE           MARTINEZ                  TX     90012833600
32B1B842A8B162   MANUEL          LOPEZ                     UT     31087678420
32B1BA9289375B   LINDA           NEWSOME                   OH     90010190928
32B2114115B52B   TRAVIS          SIPERKO                   NM     90013671411
32B2114525B393   SAMUEL          HERNANDEZ                 OR     90014871452
32B2164547B449   TYQUAN          WARD                      NC     90013816454
32B219A9A41258   EUGENE          BANKS                     PA     90005109090
32B21A2A35B156   LESLEY          WILLBANKS                 AR     90011050203
32B21A51191831   STEPHEN         TWEEDY                    OK     90003950511
32B2222885598B   JOSE            REYES                     CA     90010462288
32B22462291531   GEORGE          TORRES                    TX     90012304622
32B2252997B471   AUSTIN          TOURTT                    NC     90015475299
32B2256792B871   MELODY          NEWMAN                    ID     42076855679
32B22856655972   RAMONA          SAUCEDO                   CA     48035368566
32B2344784B943   LINDA           LEVINE                    TX     90013714478
32B23575941277   DANIELLE        MANKER                    PA     90013825759
32B2368AA47931   VALARIE         WILKERSON                 AR     90013166800
32B2435122B93B   YESENIA         VALENCIA                  CA     45069123512
32B24533831424   MAKEESHA        WILLINGHAM                MO     90000815338
32B2493944B281   FELIX           AYIKA                     NE     27004469394
32B2515837B639   RONNIS          TOLBERT                   GA     90014621583
32B25265791531   VERONICA        HAMBRICK                  TX     75012232657
32B25283854165   KATHERINE0810   MILLER                    OR     90015082838
32B255A647B425   SHARI           WOUD                      NC     90011145064
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32B25883331663   MAHOGANIE    JACKSON                      KS     90012688833
32B26224372496   TIA          FRYER                        PA     90000942243
32B2644452B93B   MONICA       TALAMANTE                    CA     45085854445
32B26576172B76   ROSA         TAPIA                        CO     33016155761
32B2698237B449   DAMONN       GRAHAM                       NC     11053259823
32B2748AA2B93B   COLTON       HUMPHREY                     CA     90011774800
32B27575155972   KRISTIE      HAMILTON                     CA     48021155751
32B27589491531   MAGNOLIA     GONZALEZ                     TX     75009415894
32B27724955951   EDUARDO      MARTINEZ                     CA     49006497249
32B279A9A8B16B   JASMIN       BRACERO                      UT     90011949090
32B2829464B281   MICHAEL      ROGERS                       NE     90012682946
32B2839295B393   VICTOR       CASTILLO                     OR     90014213929
32B28561854165   TRACY        JONK                         OR     90014575618
32B289AA24B943   KENNETH      CROCHET                      TX     90013879002
32B2949278165B   ANNA         ARREGUI                      MO     29029524927
32B29A87276B53   RUBI         RAMIREZ                      CA     90011350872
32B2B34817B449   JOHN         SWEENEY                      NC     90013053481
32B2B368291563   RAMON        MACIAS                       TX     90013963682
32B2B36918B162   EDUARDO      VAZQUEZ                      UT     31046703691
32B2B371941285   CHRISTIAN    IVORY                        PA     51038943719
32B2B983347931   SHANNAN      BRINK                        AR     25025349833
32B3112492B835   PURNI        ADHIKARI                     ID     90008891249
32B3196A97B495   VERNELL      MILLS                        NC     11004619609
32B32267747931   ALICIA       ALLEN                        AR     90013062677
32B32514741285   WILLIAM      THOMAS                       PA     51095045147
32B32824855972   VANECIA      MORENO                       CA     90014468248
32B32A43555951   SHAWN        MCDUFFEE                     CA     49016530435
32B33243641285   HAROLD       BOLIN                        PA     90010102436
32B33669831424   KEVIN        CORLEONE                     MO     90015556698
32B3369935B393   JASON        FRAINEY                      OR     90014786993
32B33754147931   OFELIA       GALDAMEZ                     AR     90013137541
32B3388655B52B   ZALOMON      SANTIAGO-SANTIAGO            NM     90010358865
32B3421547B492   ALISHIA      ROGERS                       NC     90014682154
32B3438275B156   MAY          THOMAS                       AR     23091943827
32B34498157153   SADIA        ELYAS                        VA     90003514981
32B3499312B87B   DANNY        JANES                        ID     42041389931
32B3528497B425   TRINA        JERRY                        NC     11081312849
32B3536832B87B   LANCE        BARG                         ID     90002213683
32B3556665B393   HOLLIE       KUNZ                         OR     90014785666
32B3577AA51369   TIM          BROERMAN                     OH     90004497700
32B35898541277   EDUARDO      CISNEROS                     PA     90014398985
32B3591A336143   JOSE         LOPEZ                        TX     90014819103
32B35A5658B16B   ZACHARY      BRANDLEY                     UT     90015090565
32B3626217B639   ALEXANDRO    VELAZQUEZ                    GA     90004262621
32B36548455972   SUZANNE      CANDELL                      CA     48074165484
32B36668891563   BERENICE     MENDOZA                      TX     90012896688
32B36899191543   DAVID        ALBA                         TX     90012798991
32B3736485B52B   STEVEN       ZIMMERMAN                    NM     35068063648
32B3742A491831   ASHELEY      YANG                         OK     90009004204
32B37468691881   MARK         BUSENBURG                    OK     21013054686
32B37487672496   SABRINA      YEALEY                       PA     90014724876
32B37722A5B156   CHARLES      THOMAS                       AR     90013297220
32B3783954B281   TYREE        STOVALL                      NE     90015178395
32B3797437B639   LUZ          SUAREZ                       GA     90010689743
32B38464251369   JACKIE       RICE                         OH     90014484642
32B3853715B393   ADRIAN       ROSAS                        OR     44563115371
32B3863132B871   CHRISTY      PAYNE                        ID     90012696313
32B3868748B162   DANIEL       ROBISON                      UT     90012366874
32B38735261945   MARIA        VASQUEZ                      CA     90002627352
32B3958934B943   ANITAL       LEWIS                        TX     76588985893
32B3971457B471   CHARLOTTE    KNOTTS                       NC     90014767145
32B3985324B562   DONNA        GAFFNEY                      OK     90008508532
32B3B11337B449   TANYA        ABRAMS                       NC     11097761133
32B3B399A7B471   MICHAEL      MILES                        NC     90013373990
32B3B94552B87B   YOLANDA      CUEVAS                       ID     90011909455
32B3B9A115B156   GWEN         OSLER                        AR     90003199011
32B411A834B943   HOWARD       PRICE                        TX     90007671083
32B41863951339   MIKE         COLLINS                      OH     90013228639
32B4198738B162   KELLY        HORTON                       UT     90007789873
32B41A3A54124B   LESLIE       BROWN                        PA     90007420305
32B422A897B492   PAMELA       MITCHELL                     NC     11030262089
32B4252A651363   JOSE         DIAZ-JIMENEZ                 OH     90014685206
32B42633184368   SHANNON      NALLEY                       SC     90013226331
32B4287877B471   LATONYA      TYSON                        NC     11013898787
32B428A285B393   CAMERON      FAULHABER                    OR     90014898028
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32B43126472496   ROBERT       RANKIN                       PA     90015131264
32B43293955972   CARRENO      LORENZO                      CA     90014372939
32B43364A73221   PEDRO        SANTIAGO                     NJ     90015403640
32B4338914B943   TARA         MAY                          TX     90010853891
32B4356AA4B281   LAURIE       BAYLY                        NE     27098325600
32B43724A2B87B   JEFFERY      ALLEN                        ID     90014457240
32B43774431424   RYAN         EDDINS                       MO     90005497744
32B44225691356   CHRISSY      DAVIS                        KS     90013072256
32B44558897939   NICHOLE      WILSON                       TX     74013275588
32B44674191563   JESUS        PALACIOS                     TX     75089136741
32B4476134124B   ALFONZO      STROZIER                     PA     90013647613
32B4513154B281   MARTIN       WALKER                       IA     90014771315
32B4523675B52B   RACHEL       ZAMORA                       NM     90015222367
32B4553615598B   PATRICIA     GAMEZ                        CA     90011405361
32B455A772B87B   BRANDEE      BRIGGS                       ID     42093795077
32B4563534124B   EDMUND       DOLBY                        PA     90002846353
32B46173163663   ANTHONY      GEILER                       MO     27507971731
32B46276651369   LASHELLE     CARTER                       OH     66035042766
32B46418155951   LUCIANO      SILVA                        CA     49051074181
32B46459991531   PATRICIA     VIDALES                      TX     75011614599
32B4732917B639   MICHAEL      VESPUCCI                     GA     90004263291
32B47441251339   CAMERON      DAY                          OH     90013324412
32B4796618479B   MARTINA      HERRERA                      IL     90014629661
32B47A79A5B156   STEVE        TAYLOR                       AR     90010050790
32B4829632B835   MONICA       MAGANA                       ID     90014092963
32B491A144B943   LAZARO       RODRIGUEZ ESCALONA           TX     90012061014
32B4924A47B471   TSHILANDA    KABEYA                       NC     11051102404
32B49344547931   SHELLY       MAYFIELD                     AR     25073993445
32B4949475B375   NICOLE       PRECIADO                     OR     90014764947
32B49627472B76   DULCEPAOLA   SANCHEZ-HUERTA               CO     90006306274
32B4969552B93B   ADRIEANA     LOZANO                       CA     90014816955
32B49712555972   EUFRACA      CAMPOS                       CA     90008167125
32B4994AA7B639   JERMIL       ESHUN                        AL     90013679400
32B49A41851369   KIMBERLY     ROGERS                       OH     90013070418
32B4B32718B16B   JOLENE       TRESEDER                     UT     90013553271
32B4B679841277   VINCENT      TALOTTA                      PA     90003106798
32B4B94AA8B166   TRACY        EGGELSTON                    UT     90007909400
32B4BAA945B156   MARK         CROSS                        AR     90013750094
32B51299255972   BALTAZAR     BACA                         CA     90003222992
32B51354647931   THELMA       SNODGRASS                    AR     25026473546
32B51373157153   JOSE         ALVAREZ                      VA     90011373731
32B518A915B52B   MARIALUISA   REYES                        NM     35054198091
32B5214925598B   PHAKDY       SRIRI                        CA     90014431492
32B5243A75B393   ROBERTH      MORRIS                       OR     90000584307
32B5334A691356   YOLANDA      RAMIREZ                      KS     90012023406
32B53477672496   DESIREE      MCKINNEY                     PA     90013384776
32B53828136143   CHRISTINA    CASTILLO                     TX     90009648281
32B54491841277   LORI         TAUTKUS                      PA     51055694918
32B5457498B16B   QUETZALLI    BALLESTEROS                  UT     90009565749
32B54584757153   STEPHANIE    ARMEANU                      VA     90000945847
32B5482877B425   SHAMIKA      PARKS                        NC     90015088287
32B5556642B961   JUAN         GUERRERO                     CA     90012715664
32B55783A5B557   MARGARITO    CORRAL                       NM     90013357830
32B56153193762   WILLIAM W    MORGAN                       OH     64508061531
32B56626A5B393   DAVID        HART                         OR     90003556260
32B5667255598B   ONECHAN      LOUANGPHOM                   CA     49053496725
32B568A7291356   CORYEON      GASKIN                       KS     90014128072
32B57315A31439   PATRICIA     JONES                        MO     90013963150
32B57A1877B425   JAZMINE      BANKS                        NC     90015090187
32B58333A71923   LA DONNA     BEARDIN                      CO     32016733330
32B58673331424   DINH         RAHLEN                       MO     90015556733
32B59286791531   CORONELL     ROBERT                       TX     90008492867
32B5B526691531   JOHNATHAN    JASSO                        TX     90010255266
32B5B893751369   DARRYL       ERBY                         OH     90015178937
32B5BA9655598B   JULEE        ROGERS                       CA     90007520965
32B61222741285   G            FRAZIER                      PA     90010392227
32B6127748B183   SERGIO       HIGUERA                      UT     31082522774
32B61654A61993   JAIME        ROMAN                        CA     46014886540
32B622A224B281   SCOTT        KEMP                         NE     90012952022
32B62531336143   EVA          GONE                         TX     73596525313
32B6255248165B   BRIAN        MALTBIA                      MO     29053495524
32B6277A35598B   ABELARDO     HERRERA                      CA     90013037703
32B6283A791563   ALEJANDRO    MORALES                      TX     90009608307
32B6288465B255   CHRISTA      LAWS                         KY     90009668846
32B62949284368   EDRA         ORTIZ                        SC     90010419492
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32B6343A82B93B   MARIA        QUINTERO                     CA     90011784308
32B6371365B393   CASSANDRA    CAVE                         OR     90002617136
32B6379857B471   THOMAS       WHITE                        NC     11072397985
32B63869141277   TERRI        CLAPPERTON                   PA     90008958691
32B63A38351339   HANNAH       STRANGARITY                  OH     90015530383
32B6429568B162   HERNAN       SANCHEZ-ANGULO               UT     31063972956
32B64672472B76   SAID         ZOUITINE                     CO     33016156724
32B6478267B471   BRYAN        STANE                        NC     90015357826
32B647A5191531   ANTONIO      OJEDA                        TX     75096457051
32B6484464B943   LIZABETH     PAREDES                      TX     90001458446
32B6513368B16B   SUBRINA      BOEHLENDORF                  UT     31006461336
32B65219491563   ALEXIS       ORTIZ                        TX     75077042194
32B6565A591531   JENNIFER     CARBAJAL                     TX     90012936505
32B65678154165   NICHOLAS     JOHNSON                      OR     90012826781
32B6575412B871   KYLE         SALWEI                       ID     90005187541
32B65773991232   SOFIA        GARCIA                       GA     90004857739
32B65A73851339   CODY         MILLER                       OH     90011010738
32B6612695598B   MIGUEL       PENA                         CA     90014131269
32B67131877544   MARTA        VIRGEN                       NV     43090761318
32B6713798B16B   DIANA        ROBLES                       UT     31058661379
32B67234141277   KENNY        REDD                         PA     90009092341
32B67823291563   ANGEL        FLORES-ROMAN                 TX     90012748232
32B67916491831   CHRISTINE    BARKER                       OK     21084859164
32B67A2A87B639   JOSE         DOMINGUEZ                    GA     90012670208
32B67A3477B471   LONNIE       ONEAL                        NC     90012710347
32B67A61451339   LEE          CARTER                       OH     90012330614
32B6823442B871   ROSE MARIE   BRAVEHEART                   ID     90013512344
32B68528941285   REGGIE       LAWRENCE                     PA     51038315289
32B685A1291356   LORENZO      MARQUEZ                      KS     29008345012
32B68753591831   RAFAEL       ROSALES                      OK     90010457535
32B6899264124B   LAKEY        BROWNLEE                     PA     90011279926
32B69153157123   LUIS         CENTENO                      VA     90013061531
32B6922767B471   RUTH         STURDIVANT                   NC     11068342276
32B6944544B281   LEVI         LANDROM                      NE     90013874454
32B6961142B871   ESTHER       SALDIVAR                     ID     90015096114
32B69931691356   JORGE        SANCHEZ                      KS     90011599316
32B6B11A14B929   ERIC         MINGO                        TX     90014881101
32B6B631472496   LIVIA        COCHRANE                     PA     90010556314
32B6BA11591531   IVETTE       MONTANA                      TX     75082250115
32B7123758B16B   NANETTE      PHILLIPS                     UT     31067242375
32B71354451369   THOMAS       KIDD                         OH     90014563544
32B71635191563   JOE          OZAETA                       TX     90007396351
32B72138677544   STEVEN       ROARK                        NV     90014141386
32B72225136143   TOM          BROWN                        TX     90010892251
32B7222957B425   JAKAYLA      RUSSELL                      NC     90011672295
32B724A5191563   JUAN         SALAS                        TX     75050804051
32B7283944124B   DJ           AMP                          PA     90009758394
32B73118551369   REBECCA      SCHIERLOH                    OH     66062711185
32B7314775B156   HUMBERTO     RUIZ                         AR     90013881477
32B7348517B639   LATOYA       LOCKHART                     GA     90010704851
32B73623977544   MORIAH       COPELAND                     NV     90006456239
32B73784757153   GERALDINE    MADRID                       VA     81058737847
32B7396A841277   CANEGIE      COMPUTER SVC                 PA     51004489608
32B739A155B393   BINJA        BALOLA                       OR     90004799015
32B7423577B43B   LATASHA      CLYBURN                      NC     90007152357
32B743A2151369   HEATHER      SHELTON                      OH     90014693021
32B7495857B425   JAMES        CROON                        NC     90013099585
32B74A18931424   DIANA        STOKES                       MO     90000530189
32B75353791356   RUBEN        ESCAMILLA                    KS     90007873537
32B75365355972   JEFF         LOVETT                       CA     90014463653
32B7553795B141   BRENDA       STRONG                       AR     90014015379
32B7558448165B   CRYSTAL      NERY                         MO     90001735844
32B75A5A85B141   BRENDA       STRONG                       AR     90014260508
32B7685AA91531   JESICCA      GALINDO                      TX     90013468500
32B7718897B471   HOPE         R WOODY                      SC     90006141889
32B77881591531   MARITZA      MUNOZ                        TX     90006378815
32B7793852B93B   DAISY        AGUILAR                      CA     90011789385
32B78181791587   JEANETTE     GAYTAN                       TX     75065011817
32B78193891356   SANTOS       LINO                         KS     90013341938
32B79315655972   JAIME        RODRIGUEZ                    CA     48029963156
32B79413991959   DIANAH       ALSTON                       NC     17039104139
32B79573291356   ADRIAUNNA    COKES                        KS     90011305732
32B795A1247931   BRENDA       SALDIERNA                    AR     25060045012
32B7963612B871   DAVID        ROSE                         ID     90011106361
32B79935491831   ALBERT       MAST                         OK     21083249354
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32B79A5515B52B   FRED            PADILLA                   NM     35044080551
32B7B112855972   MASOU           SEE                       CA     48008261128
32B7B16122B835   ARNOLDO         ROSAS                     ID     90011121612
32B7B736691538   DANIEL          MARTINEZ                  TX     75094607366
32B7B85927B471   JAMES           SHEAR                     NC     90012098592
32B7B9A8572496   KORY            LANGLEY                   PA     51066309085
32B7BA91591356   JOSE G          RIVERA                    KS     29010020915
32B81229191893   STEPHEN         PFOHL                     OK     90001082291
32B81243841258   EARL            COLUNALE                  PA     90002602438
32B813A7891831   CHAD            FRISK                     OK     90014583078
32B8215348B166   SONJA           LOKEN                     UT     90007061534
32B8236257B449   LAURA           SEWELL                    NC     11031743625
32B8268A291531   ADRIAN          GOMEZ                     TX     75017526802
32B826A817B639   ERIN            POINDEXTER                GA     90014106081
32B827A942B835   LARRY           SEVERNS                   ID     90013047094
32B8296A62B871   SERGIO          BLANCO                    ID     90014739606
32B8326474B943   BRADLEY         DUMMITT                   TX     90005942647
32B8327118B16B   MARTINEZ        LARRY                     UT     31093502711
32B83496991563   MICHEAL         BARRER                    TX     90006004969
32B83647691531   SYLVIA          CARRANZA                  TX     90008426476
32B83666A54165   JESSICA         WILLIAMS                  OR     90013976660
32B839A897B639   MELTON          BATTLE                    GA     90015179089
32B85425A5B156   RALP            DOVE                      AR     90013044250
32B8575467B471   JEAN            WALLE                     NC     90013017546
32B857A288B166   MELODY          LASER                     UT     90004287028
32B85A97355972   DON             LAXSON                    CA     90012840973
32B86233331424   SAEED           SAEED                     MO     90009832333
32B86438A5B393   CHRIS           MORELAND                  OR     44555944380
32B8646395B52B   ANNA            ORTIZ                     NM     35034074639
32B8668828B162   DAVID           ANDERSON                  UT     90003396882
32B86986672496   SCOTT           VANSICKLE                 PA     90000319866
32B8712A17B639   CORNELIUS       FORTSON                   GA     90014581201
32B87287351369   KAYLA           MEYER                     OH     90008942873
32B8748888165B   JAY             GLADNEY                   MO     29011104888
32B8752358B16B   ANTONIO         VELAZQUEZ                 UT     90011915235
32B87777677544   SAMUEL          DIXON                     NV     43074497776
32B87A47191232   TELISA          CRECTH                    GA     90014740471
32B87A6417B495   JUSTICE         BAEH                      NC     90003710641
32B8827325B52B   BRIAN           SEAMAN                    NM     35007652732
32B88278772496   HENRY           SWOPE                     PA     90013932787
32B8879178B16B   BALBINO         PAVON-CASTRO              UT     90010657917
32B88A75A47931   JOSE            CARDENAS                  AR     90014810750
32B8922A94124B   DOROTHY         JORDEN                    PA     90011282209
32B8934645598B   MIGUEL          RAMOS                     CA     49085863464
32B8974A631424   LACRESHIA       EDWARDS                   MO     90004247406
32B8B54418B162   RICHARD         MCEWAN                    UT     31000035441
32B8B5A6A36143   PEARL           CANTU                     TX     90012145060
32B8B657247931   BONNIE          JORDAN                    AR     90012566572
32B8BA96191563   OSCAR           ROSALES                   TX     75068930961
32B91173836B77   FIDEL           NAPUTI                    OR     90008701738
32B91328272B76   GRACE           BUSTILLOS                 CO     33014523282
32B91635251339   JOSEPH          MULLINS JR                OH     66031546352
32B91A24447931   ADALY           BARRIENTOS                AR     90006900244
32B9225237B639   MICHAEL         BIRKS                     GA     90013412523
32B9238838B16B   DANIEL          CAFOUREK                  UT     90014353883
32B92411872B76   SERVANDO        ARTEAGA                   CO     33082454118
32B92419141285   JUSTIN          SMIDA                     PA     90006624191
32B92422A91531   MABEL           SANCHEZ SAENZ PARDO       TX     75066354220
32B9269712B871   PAUL            THOMAS                    ID     42073076971
32B9274665598B   TAMARAH         JONES                     CA     90013457466
32B92889291563   REBECA          MARTINEZ                  TX     90014258892
32B93137284368   EVA             LOPEZ                     SC     90013791372
32B9334632B871   SALVADOR        RODRIGUEZ                 ID     90015313463
32B9334A57B639   MONIQUE         NAPPER                    GA     90010633405
32B9379895B393   PEDRO           MENDEZ                    OR     90005187989
32B9384372B87B   TIM             JOHNSON                   ID     90009088437
32B93844A51369   MIRANDA         JUNG                      OH     66024048440
32B9391A441277   NICOLE          BOSCIA                    PA     51007969104
32B93952791356   JOSE            HERRERA                   KS     90002759527
32B93AA3255972   JENE            FEDERICO                  CA     90010670032
32B94461A2B87B   MICHAEL         MCBRIDE                   ID     90012054610
32B944A744B281   MISSTEY MARIE   ALBERT                    IA     90009854074
32B9457417B471   WADE D          BENDER JR                 NC     90001435741
32B9485987B425   DAVID           LEE                       NC     90013678598
32B94A16155972   ALASSAI         CASTILLO                  CA     48076580161
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32B9536737B471   DOLORES      JALEMUELA                    NC     90011193673
32B9539AA2B93B   PIRSCILLA    LOPEZ                        CO     90011793900
32B9563A25B156   DIAMOND      WRIGHT                       AR     90013536302
32B95866855972   IRMA         CUEVAS                       CA     90009378668
32B95A3AA91831   VIANEY       BUSTOS                       OK     90010690300
32B95A6594124B   THOMAS       MCCALLISTER                  PA     51002250659
32B9615348B166   SONJA        LOKEN                        UT     90007061534
32B9644447B449   CIRELY       MICHARY                      NC     90012914444
32B96475891831   TARA         HAVLICK                      OK     90015004758
32B96893872496   ALYSSA       SCHROYER                     PA     90012888938
32B97356472496   TEANN        WINGROVE                     PA     90013933564
32B97544484368   KAROL        PRADO                        SC     14522015444
32B97857A55955   TONY         WILDEY                       CA     90009868570
32B9796A761925   ARACELI      GONZALEZ                     CA     90002099607
32B98114A9152B   AMELIA       RODRIGUEZ                    TX     90008531140
32B98149A91356   MARIA        SANCHEZ                      KS     29043131490
32B98268254165   ANGELA       LISKEY                       OR     90009502682
32B982A4641258   DARCEL       ZIGLER                       PA     51024882046
32B98584651339   HEATHER      KERBY                        OH     66086655846
32B9879827B639   ARNULFO      SERANO                       AL     15056607982
32B98979372496   BRIAN        CLARK                        PA     90010019793
32B9931137B43B   MERCY        MOREIRA                      NC     11012513113
32B9965677B471   ROSIO        ROJAS                        NC     90000626567
32B99935354165   JUSTIN       SPRIGGS                      OR     90004579353
32B99A1595B156   PHILLIP      BANKSTON                     AR     90013750159
32B9B6A9154165   ETET         SPOTSWOOD                    OR     90012356091
32B9BA6A65598B   DEBBIE       YOUNG                        CA     90014710606
32BB133687B449   BRIANA       THREATT                      NC     90010383368
32BB1344691537   DAHINE       OLAGUIVEL                    TX     90011783446
32BB1464A77534   LYNN         KUKUK                        NV     90009924640
32BB191A87B425   JEROME       ELLIS                        NC     90014789108
32BB246994B954   ALLEN        ROSEMORE                     TX     90012244699
32BB266717B639   TEANNA       SMITH                        GA     90013296671
32BB289383B325   IRENE        GOODELL                      CO     90003188938
32BB295A576B61   JOSE         RODRIGUEZ                    CA     90013329505
32BB325732B93B   JOHN         CHITTIM                      CA     45096802573
32BB3368654165   SAMUEL       LINVILLE                     OR     90010263686
32BB364742B871   MARIA        LOPEZ                        ID     90013776474
32BB3838847931   BERLY        CARDONA-BATRES               AR     90013348388
32BB3A38741258   JAMES        MCKINITH                     PA     90010550387
32BB3A7487B425   JABAR        DAYE                         NC     90013640748
32BB4167A7B492   MICHAEL      RAMSEY                       NC     11070611670
32BB4211A91356   LINDA        ISRAEL                       KS     90012852110
32BB423594B943   EFRAIN       HERNANDEZ                    TX     90002752359
32BB4294831424   MARQUIS      RICHARDSON                   MO     90014272948
32BB4584636143   NICOLE       TUMLINSON                    TX     90013455846
32BB4791231424   SIMONE       BROWN                        MO     90012727912
32BB489978B16B   DYLAN        MCQUIRK                      UT     90013508997
32BB513797B492   AMANDA       ATKINS                       NC     90013661379
32BB5268491356   CRICKET      WIRELESS                     KS     90009982684
32BB5288291831   LATOYA       LITTLEJOHN                   OK     90012722882
32BB532712B93B   ALFREDO      TORRES                       CA     90014393271
32BB6445155951   JOE          HERNANDEZ                    CA     49016524451
32BB6496A91356   DEMARCUS     MEDLOCK                      KS     90009904960
32BB68A2272496   RUTH         KEFFER                       PA     51049578022
32BB691527B449   VICTOR       MANRIQUE                     NC     11021059152
32BB6926236143   CAROL        VILLARREAL                   TX     90012139262
32BB6939491531   ROCIO        OYERVIDEZ                    TX     90015159394
32BB6A97355972   DON          LAXSON                       CA     90012840973
32BB7174391232   ALFONSO      JUAREZ                       GA     14503881743
32BB7661A4124B   MICHAEL      CORR                         PA     51018936610
32BB799525B52B   ZULMA        LEYVA-RIOS                   NM     35005259952
32BB8265836143   ABILENE      LONG                         TX     90013782658
32BB839132B871   JEREMY       SMITH                        ID     90010163913
32BB858A92B835   JOSUE        CAMACHO                      ID     42055125809
32BB875595B557   MARTHA       CERVANTES                    NM     90011517559
32BB8A2A951347   SHARON       WORKMAN                      OH     90003710209
32BB938444B943   REAGAN       JONES                        TX     76579733844
32BB952A157153   INGRID       FLORES                       VA     90006475201
32BB996765B52B   GLORIA       CARBAJAL-SAUCEDO             NM     35071029676
32BB9972851369   TOMMY        WITT                         OH     90011339728
32BB999352B93B   SANDRA       FOSTER                       CA     90012859935
32BB9A24391356   MARINA       MIRANDA                      KS     29015600243
32BB9A47591831   NAQUISHA     JORDAN                       OK     90014600475
32BBB477291531   ANA          RODRIGUEZ                    TX     75067834772
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32BBB531241277   TERRI         DERKAS                      PA     90003925312
32BBB789151369   PATRICIA      CRAWFORD                    OH     90004077891
32BBB9A597B43B   ISMAEL        REYES                       NC     11012999059
3311157435598B   JENNA         URENA                       CA     90013915743
3311222354124B   MICHAEL       FERITA                      PA     90014382235
3311259A451339   TIFFANY       MILLER                      OH     90013925904
3311263A74B54B   NAKISHA       RICH                        OK     90012666307
3311296197B471   CHRIS         BYRUN                       NC     90009969619
33112A57291831   RICKY         WILLIAMS                    OK     21046340572
33113A8914B943   STEPHANIE     MONTGOMERY                  TX     90002200891
3311432274124B   DORRAINE      GREEN                       PA     90002873227
3311471494B281   SUI ZA        LEN                         NE     27021537149
3311526938B162   BREANNA       DAVIS                       UT     31048502693
3311548828B14B   FRANCISCA     MORALES                     UT     90012774882
3311564812B871   NOE           HENSON                      ID     90011196481
331157A9655972   PEDRO         HERRERA                     CA     90006967096
3311612247B639   KELSIE        FAINE                       GA     90011351224
3311617767B492   ANTHONY       LATHAN                      NC     90015111776
3311637918B162   BRIAN         SIMPSON                     UT     90004303791
33116415A4B943   LINDA         HAILEY                      TX     76553604150
3311646235598B   DAVID         GOMEZ                       CA     90001754623
3311739A38B162   ANGELA        JENKINS                     UT     90012533903
3311798673B39B   CLARK         DUNCAN                      CO     90001339867
33117A36451369   ALICE         DESTEFANO                   OH     90013120364
33117A63572B37   KATTYA        CUBAS                       CO     90012150635
3311994757B471   LE TASHIA     STEPHENS                    NC     11017399475
33119A98341277   JOANNE        PERHOSKY                    PA     51096010983
3311B766977544   JESSICA       BROWN                       NV     90012617669
3311B82627B639   VALENCIA      WILSON                      GA     90001918262
3311BA44147931   JUAN          HERNANDEZ                   AR     25042030441
3312191718B162   MARUCIO       PELAGE                      UT     90015109171
3312281478B162   TYLER         WEBB                        UT     31020338147
3312335588B16B   RON           MEDEIROS                    UT     31031973558
331235A4461986   DAVID         MARTELL                     CA     90013445044
3312593867B492   RONNIE        NIX                         NC     11006099386
33125A58A77544   ESTHER        REYNAGA                     NV     90005410580
3312613135132B   ANDREA        DUBOSE                      OH     90006071313
33126A51972B2B   ARICA         BRAKE                       CO     90011530519
3312722144B943   DEBBIE        GARZA                       TX     90012862214
3312846568B16B   JUAN PABLO    ORTEGA                      UT     90011854656
3312934965B52B   ADELAIDA      ORNELAS                     NM     90015123496
33129728A91831   LARRY         BARNES                      OK     21097437280
33129A1855B393   KRISTINA      LOUISE                      OR     90010690185
3312B146491893   JOHN          HANNA                       OK     21017241464
3312B21175B156   PEDRO         SANTIAGO                    AR     23033052117
33131235A91584   MARIA         CARRERA                     TX     75059302350
3313141A391371   SANDRA        SALAZAR                     KS     90014814103
3313171714B281   DALILA        GUTIERREZ                   NE     27089707171
33131A1294B943   YURI          CARDENAS                    TX     90008980129
331321A6451369   LAWONDER      ALLEN                       OH     66048521064
3313224288B16B   CURTIS        KISH                        UT     90013982428
3313259755B393   PHOEBE        JANIS                       OR     90014445975
3313298734124B   CHARNITA      COGDELL                     PA     51072639873
3313359A17B471   VANICCA       YOUNG                       NC     11091675901
3313429658B16B   TAMI          SMITH                       UT     31023352965
3313435A47B43B   WILT          CHAMBERLIN                  NC     11065523504
3313467215B156   ARACELY       GARCIA                      AR     90015436721
3313586662B835   NATOSHA       BURROLA                     ID     90005948666
3313592127B43B   VAUGHN        BUCHANAN                    NC     90003779212
3313624832B87B   SUNNIE        FREEMAN                     ID     90014862483
3313652354B586   LAUREN        PEREZ                       OK     90012015235
3313654928B162   JD            CRUSER                      UT     90010075492
3313666897B471   CHRIS         KIRKLAND                    NC     11086826689
3313756335B52B   MATTHEW       JIMERSON                    NM     90004205633
3313832A24124B   DAVE          YELICH                      PA     90009613202
331383AA754165   ZACH          BIGGS                       OR     90011673007
3313855817B449   ANNE          WADE                        NC     90011765581
3313887A98B16B   KAREN         JENSEN                      UT     90010178709
3313894186B397   FIDEL         GARCIA                      NH     90015239418
33139176A7B449   WENDY         VANEGAS                     NC     90011671760
3313B17A55B52B   JUDY          MARCUS                      NM     90012271705
3313B19814B943   EVA           TORRES                      TX     90012341981
3313B49A491563   SAM           CASTILLO                    TX     75089324904
3313B57A355972   TERRI         WOLFE                       CA     90006685703
3314122A741258   KHRISTOPHER   HARDY                       PA     90012962207
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3314215115598B   TAMI           BEVINS                     CA     49059141511
3314343865598B   MIRNA          GARCIA                     CA     90013934386
3314348877B492   REGAN          SUMMEY                     NC     90013354887
33143768A4B281   LOLLA          TAYLOR                     NE     90001617680
33143A2975B52B   HERACLIO       ATENCIO                    NM     90012310297
3314467A391371   GLEN           STRECKER                   KS     90007786703
331449A855B52B   RICHARD        CANDELARIA                 NM     90001499085
3314552115B156   CAREVIA        FLOWERS                    AR     23030455211
3314568115B393   JOSHUA         BLAND                      OR     90007256811
3314628554B943   ROBERT         MCADAMS                    TX     90004092855
3314637158B162   CARY           WOODFIELD                  UT     90014933715
3314651652B87B   DAVID          TORRES                     ID     90009375165
3314683488B16B   MICHELLE LEE   STONE                      UT     90004058348
33146AA247B492   DEBORAH        WALL                       NC     90013700024
3314813775B52B   GRANT          RAINA                      NM     90008351377
3314835374B281   VALERIE        MEISINGER                  NE     27088663537
331483A1936143   MARY           GUERRA                     TX     90008193019
3314857AA8B16B   SOFIA          ESTRADA                    UT     90015415700
3314866628B16B   RYAN           VEGA                       UT     90013836662
3314871715598B   RICKIE         WYLE                       CA     90015077171
331487A1791563   ANA            MUNOZ                      TX     90005467017
3314895723B348   INES           MOLINA                     CO     90000139572
3314921A55598B   JUAN           GONZALEZ                   CA     90010442105
3314B74987B43B   TAYLEN         HARP                       NC     11011197498
3314B9A945598B   JOHNINIETA     MCCALEB                    CA     49033919094
3314BA47351369   JOSE           GUERRERO                   OH     90004590473
3314BA7695B393   TAMEKA         KENT                       OR     90015340769
3315144944B541   HENRY          HUTCHINSON                 OK     21555434494
3315163164B592   JAMES          MCDONALD                   OK     90009916316
3315189665B393   AMANDA         DOWNING                    OR     90007968966
33152115172B35   PATRICIA       TAYLOR                     CO     90007751151
3315242195B393   RUSTY          SHAVER                     OR     90013724219
3315245842B87B   BILLIJO        BROWN                      ID     42042494584
33152833A5B52B   ROSARITA       ABEYTA                     NM     90014108330
331531A444124B   BRIANNA        GRAHAM                     PA     90014781044
33153448872B27   MARK           SEARCY                     CO     90006384488
3315349474B943   STEVEN         STELLY                     TX     90014554947
33153599A4124B   NALYNN         HOWARD                     PA     90013425990
33154467A5137B   JULIE          ROBINETTE                  OH     90007784670
3315447984B943   RONALD         BABINO                     TX     90012744798
331545AA784378   STEPHINE       KNOX                       SC     90004535007
331553A9351339   SHAVONNE       SINGLETARY                 OH     66002623093
3315571485B52B   HARRY          MORRIS                     NM     90011927148
33156A46355972   MARIA          MEDINA                     CA     90007440463
3315786592B242   MARK           LOVE                       DC     90001618659
3315795A55B545   ELIZABETH      HOLGUIN                    NM     90006899505
3315838792B87B   JUANITA        DEVALLE                    ID     90010643879
3315851857B471   LAURIE         GREENE                     NC     90006885185
3315882335B156   MONIQUE        OAKLEY                     AR     23025058233
33158A43536143   JUSTIN         CLIFFORD                   TX     90010010435
3315996725B52B   JOEL           TREJO                      NM     90013829672
3315B81988B16B   MASON          MILLER                     UT     90012058198
3315B961554165   CARRIE         LOCKHART                   OR     47007549615
3316176A32B87B   NANCY          FAUVER                     ID     90014447603
33161A3997B449   TIMOTHY        GRAVES                     NC     90009980399
3316217A451369   DOMINIQUE      ADKINS                     OH     90002521704
3316267215598B   HELEN          SKIPWORTH                  CA     49002996721
3316291A255972   MICHAEL        LEWIS                      CA     48043759102
3316389A18B162   ALEX           SANTOS                     UT     90013488901
3316425412B87B   KENDRA         WILLIAMS                   ID     90014382541
3316488428B16B   MIKE           ZUPAN                      UT     90006018842
33164AA5391563   MARIA T        OCHOA                      TX     75066990053
3316551942B835   DANIEL         SPORTIIELLO                ID     90013695194
3316552642B835   JAMI           PICKREL                    ID     90015275264
3316775312B93B   PATRICIA       HEYDEN                     CA     90004297531
3316985557B471   RICARDO        MARTINEZ                   NC     11046528555
3316B118741277   MICHELLE       KILLER                     PA     90002351187
3316B15848B16B   LARRY ARTHUR   RUBEN                      UT     90012611584
3316B22247B639   ASHLEY         BARNES                     GA     15085032224
3316B3AA841258   MARK           JHON                       PA     90013963008
3316B548551339   TEDDI          VEATCH                     OH     90014575485
3316B599A4124B   NALYNN         HOWARD                     PA     90013425990
3316BA5234B281   SAMANTHA       MARTINEZ                   NE     90014780523
3317117935598B   GABRIEL        DE LA PENA                 CA     90014801793
331721AA655972   ILIANNA        CARRASCO                   CA     90012751006
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3317286924B281   TERRELL        ROOKS                      NE     90004748692
33172A91891941   LOIS           COCKBURN                   NC     90014380918
3317344A32B835   JODY           CROZIER                    ID     42016394403
33173651A55936   FRANCISCO      ARELLANO                   CA     90013316510
33173A1812B87B   NATOYA         OLMEDA                     ID     90012600181
3317471538B16B   DAVID          UHREY                      UT     31090677153
3317477252B242   SHANIKA        HORTON                     NC     90001407725
3317536365B393   TROY           BRAZEAL                    OR     90011243636
33175A71391563   RUBEN          RAMIREZ                    TX     75038500713
3317649727B471   JUAN           URBINA                     NC     11052064972
33176A3858B16B   LUIS ENRIQUE   HERNANDEZ                  UT     90013890385
3317743142B835   MELANIE        CRUTCHER                   ID     90008834314
33177472A51339   NIKKI          WORISCHECK                 OH     90013234720
331776A1A4B281   ANTON          MCNAIR                     NE     27073936010
3317856295B52B   YUMILKA        SALGADO                    NM     90010145629
3317894122B871   JESSICA        LANDIN                     ID     90011359412
331792A437B43B   SHAKIRA        ANDERSON                   NC     90014382043
3317987152B835   ELISA          LARSON                     ID     42018928715
3317B442741258   JAMES          LEWIS                      PA     90002154427
3317B644891893   SILVIA         ROMANO                     OK     90013206448
3317B914347931   JACQUILINE     LEWIS                      AR     90013479143
33181136A7B34B   LEON           TWYMAN                     VA     90011021360
3318181848B16B   JOSHUA         BOYD                       UT     90010698184
33181911A5B52B   ANGEL          MONTOYA                    NM     90013699110
3318227688B162   KAREN          VARNER                     UT     90003552768
3318328352B871   VANESSA        GUERRERO                   ID     90013452835
3318347315598B   YOLANDA        LOPEZ                      CA     90008584731
3318353285B52B   MATTHEW        ORNELAS                    NM     35009575328
3318425322B871   RACHEL         RODRIGUEZ                  ID     90012872532
3318457147B32B   JOSE           LEMUZ                      VA     81012395714
3318574234124B   WILLIAM        STROTHERS                  PA     51059147423
3318651692B87B   NOICOLE        MARIE                      ID     90015205169
3318687614B943   CHALSEY        JOSEPH                     TX     90009088761
33186A52247931   JUAN           GUERRERO-REYES             AR     90013860522
33187311A2B871   JOSE           AVILA                      ID     90002833110
33187A21691831   MELISSA        ESTES                      OK     90008170216
3318825A94124B   RICHARD        THOMA                      PA     90010822509
33188373A41285   ELIZABETH      HALE                       PA     90011913730
3318879325598B   ALFREDO        MORENO                     CA     90011227932
33189433A2B835   KRISTIN        THOMPSON                   ID     90014724330
3318972754124B   CRYSTAL        GLOVER                     PA     51031477275
3318999998B16B   JANET          ROGERS                     UT     90007679999
33189A92257599   RUTH           MEDINA                     NM     35595210922
3318B465955972   MARIA          HERNANDEZ                  CA     90015144659
3318B4A645B393   JIMMY          ANDERSON                   OR     90013444064
3318B62315B156   ELIZABETH      ALSTON                     AR     90013776231
3318B67A591371   MICHAEL        CRESPI                     KS     90015126705
3318B6A2A91371   YULIANA        PAEZ                       MO     90010966020
3318BA58491371   SHAWN          WILLAIMS                   MO     90011460584
3319162752B835   RIGOBERTO      BAUTISTA                   ID     90014176275
33192A61854165   DENA           FERGUSON                   OR     47089780618
33192AA4577544   MAURICIO       TORRES                     NV     90006000045
3319351757B492   RODDY          ORR                        NC     90009245175
331937A1655972   VALERIE        AVITIA                     CA     90011297016
3319393287B449   TIFFANY        MUNGO                      NC     11064799328
3319398685B393   TOMAS          SAQUIC LARES               OR     90012119868
3319447855B156   STUART         BROWN                      AR     90015534785
3319462844124B   JOSHUA         PHILIPS                    PA     90014176284
33195152A2B835   RENEE          MILLER                     ID     42088731520
3319529922B559   ROBBIE         RANSOM                     AL     90014172992
3319529A15B156   JAMES          LOCKHART JR                AR     90015122901
33195A2795B393   RODRIGUEZ      JESSICA                    OR     44549020279
3319619575B347   WILLIAM        THACKER                    WA     44591851957
33196262A5B52B   ANTOINETTE     LYNN                       NM     90014382620
3319669AA8B162   WILLARD        WHITAKER                   UT     31052986900
331968AA631424   ROBERT         SCHAFER                    MO     27561998006
33196A17751369   JUAN           DIAZ                       OH     90007550177
3319718464B281   JENNIFER       ODONNELL                   IA     90007631846
3319779284B943   PRISCILA       CIBRIAN                    TX     90012747928
3319793718B19B   DERRICK        NIELSON                    UT     90013269371
3319849428B16B   NICHOLAS       SHAFFER                    UT     90012644942
33199318A55921   CAROLINE       DAVIS                      CA     49007983180
3319B949791525   ZOILA          HIGAREDA                   TX     75029109497
331B1443691831   RASHAYA        PEOPLE                     OK     90012684436
331B1758454165   MICHELLE       SOLTERO                    OR     90010697584
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331B1924841251   DAWN         MORRISON                     PA     90011089248
331B33A982B835   CALVIN       FRATES                       ID     90014343098
331B3445251339   JAREL        TILLIS                       OH     90006334452
331B3642A41225   TONI         LONG                         PA     51026296420
331B383A191371   WILLIAM      DIETZMAN                     KS     29060328301
331B438255B156   ROCHELLE     ROCKINS                      AR     90010783825
331B43AAA7B639   JACQUELINE   FLOYD                        GA     90012383000
331B4567A5B156   JASMINE      STOCKER                      AR     90015085670
331B462348B162   DEBORAH      STEED                        UT     90010346234
331B481988B16B   MASON        MILLER                       UT     90012058198
331B4A53484378   SARAH        ADKINS                       SC     90013910534
331B5396491893   ALECIA       BYAS                         OK     90002163964
331B5517351339   JAMES        SHUMAKER                     OH     90012985173
331B577218B162   ABRAHAM      LARA                         UT     90015097721
331B591257B492   JAVA         KRAY                         NC     90014259125
331B671175B156   AMBER        REAGAN                       AR     90015557117
331B781133B132   ROSA         NERIO MIRANDA                VA     90013618113
331B7A67472B38   ERIC         FLING                        CO     90007910674
331B8423447931   SHANICA      REDDEN                       AR     90013314234
331B848565B156   YOLANDA      RADCLIFF                     AR     90014414856
331B8A61691563   GRISEL       JIMENEZ                      TX     90012910616
331B92A9251369   SOLETHA      BERRY                        OH     90003982092
331B936668B162   ERIC         PASTERNAK                    UT     90012533666
331B957A32B87B   TRISHA       BARNETT                      ID     90011985703
331BB684A2B871   TODD         ALAN                         ID     42051376840
331BB9A8651369   SCOTT        MICHEL                       OH     90013939086
3321256355598B   AMANDA       NAYELI                       CA     90011085635
3321283168B162   ANDREW       SMITH                        UT     31079068316
3321349885B156   VIRGINIA     SMITH                        AR     90012844988
332135A5A8B14B   LUIS         TORRES                       UT     31001615050
33213784A4124B   ALLYSON      KLEIN                        PA     90013857840
33213913633B57   JOANN        JACOBSON                     OH     90014019136
3321392715B393   JOHN         AUSTIN                       OR     44522039271
3321411752B87B   STACEY       ROSS                         ID     90014571175
3321429957B471   DESHANNON    SANDERS                      NC     11067242995
3321519675B156   LAFE         JOHNSON                      AR     90008551967
3321553854B943   BRIGIDO      ANGELES                      TX     90000325385
33215A7734124B   SENETTE      HARRISON                     PA     90005430773
3321623772B835   MARIA        ROBLES                       ID     90014942377
33216638A31424   DANIEL       NANEY                        MO     27581086380
3321757A44B922   JOSHUA       DOURESSEAU                   TX     76508405704
3321786827B492   WILLIAM M    HOLMES                       NC     90008018682
33217A6164B943   VIRGINIA     IZQUIERDO                    TX     90014740616
3321831612B871   RICHARD      ROUYAS                       ID     90000643161
3321885517B471   DARRYL       STEWARD                      NC     90003548551
33219242A5598B   ADAN         AYALA                        CA     90010852420
33219A62891371   SHERRY       MARTIN                       KS     90014540628
3321B14255598B   ALEJANDRO    GARCIA                       CA     90004981425
3321B1A1141258   SHELDON      CLARK                        PA     90013081011
3321B2AA355972   BRIAN        ROBINSON                     CA     90014992003
3321B462A51369   CESAR        OPEZ                         OH     90014464620
3321B514A5B52B   DAVE         BERMAN                       NM     90009875140
33222A9857B449   WINSTON      DEHART                       NC     11073630985
3322315384124B   SUSAN        CASE                         PA     90014311538
3322338484B943   JARVIS       BENTON 1ST                   TX     76586883848
332242A479125B   JESSICA      BLAIR                        GA     90001692047
3322467782B871   LUCUS        PERSONS                      ID     90008486778
3322626617B492   CARLA        ARMSTRONG                    NC     11017252661
3322641A15B557   LOPEZ        RICKI                        NM     90010684101
33226649A91563   ELVIRA       DE LA ROSA HERNANDEZ         TX     90013166490
3322732824124B   QUANTRILLO   EPPS                         PA     51088703282
3322784584B281   DUKHAN       MUMIN                        NE     90004568458
332285A6672B63   BRITTANY     HEACOCK                      CO     90010215066
33228A25847931   MAKWAN       SCROGGINS                    AR     90013580258
3322959365B393   KELLY        BASTOS                       OR     90007925936
3322989A64124B   JOSEPH       DIETZ                        PA     51070118906
332299A278B16B   MARTIN       JAMES                        UT     90010699027
332299A672B87B   SCOTT        RUCH                         ID     90014129067
3322B2A155B156   JERRY        PRYOR                        AR     90008552015
3322B3A9351339   SHAVONNE     SINGLETARY                   OH     66002623093
3322B7A112B871   CHRIS        KNUTSON                      ID     42000277011
3322B973141277   FAITH        QUARLES                      PA     51097389731
3323126213B348   ROBERT       SEACHRIST                    CO     33097142621
3323126958B162   KAREN        TORRES                       UT     31044422695
33231A1715B52B   ROSE         OTERO                        NM     90002100171
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33231A25655927   MARIBEL           ESQUIBEL                CA     90005710256
3323278465B156   DAIGAN            CROSBY                  AR     90011437846
3323285155B393   HENRY             JONES                   OR     44506018515
33232895A54165   JEAN              MILLER                  OR     90000428950
3323293915B393   JENNIFER          LOMAGO                  OR     90014769391
33232A3145B156   MONTAGO           MARTIN                  AR     90015440314
3323341257B492   ROSALYN           CURRY                   NC     11050704125
3323341435598B   ARTHUR            LOZANO                  CA     90012964143
3323365635B52B   LUZ ELVA          JUAREZ MORALES          NM     35075186563
33233685A4124B   KEITH             WALLACE                 PA     90011416850
3323437532B871   JEFFREY           KEMP                    ID     42004693753
33234423A55972   LUISANA A         PERAZA                  CA     90012984230
3323518885B393   SHELLY            THOMAS                  OR     44556441888
332352A692B87B   ROGER             SAUVAGEAU               ID     42064652069
3323642A247931   JILBER HUMBERTO   ORIAN                   AR     90014874202
3323665A35B156   QUINCY            HOLLISTER               AR     90009156503
33236A95647931   CHRISTIAN         ALVARENGA               AR     25080520956
3323715115598B   ALEJANDRA         SAHAGUN                 CA     90012711511
3323724562B871   DONNY             TORRES                  ID     90008372456
3323749885B156   VIRGINIA          SMITH                   AR     90012844988
3323761497B639   PETER             MCBROOM                 GA     15046636149
33237874A5B52B   JULIE-ANN         CORTEZ                  NM     90014278740
3323816867B639   BRIDGET           DOWNS                   GA     90011091686
33238A17854165   MARILYN           MAGILL                  OR     47014220178
3323946762B871   AMANDA            HEADY                   ID     90002164676
3323947697B492   MELANIE           HOVIS                   NC     11053954769
3323B27734B281   GINA              POOL                    NE     90014782773
3323B33154124B   LANEI             PETERSON                PA     90008603315
3323B51A351369   JUAN              RYES                    OH     90007065103
3323B691441285   JESSY             SENCHES                 PA     90014056914
3323B737251339   MICAELA           PEEBLES                 OH     90011267372
3323B94217B492   HEATHER           GONTER                  NC     11041949421
3324318322B87B   MIKE              ADAMS                   ID     42070391832
3324383144B943   TANIQUA           BANKS                   TX     90004048314
3324398A551339   DEBORAH           ISAACS                  OH     90013979805
3324539444B943   TYLER             JOHNSON                 TX     90012683944
3324584658B162   TUG               TODD                    UT     90012428465
3324595562B871   REBECCA           JONES                   ID     90012999556
3324677765B545   DARLENE           ARMIJO                  NM     90014147776
3324693962B835   IZABEL            GARZA                   ID     90014339396
3324695535B393   CORY              ELIA                    OR     90015069553
3324772657B492   KEISHA            SHERER                  NC     90007907265
3324796634B943   LESLY             GUZMAN                  TX     90013659663
3324867192B87B   KANDICE           SANTO                   ID     42005376719
3324886464B943   KAYLA             DAVIS                   TX     90014888646
3324B15194B943   MOISES            GARZA                   TX     90012831519
3324B3A6A2B835   DAWN              SHANK                   ID     90013983060
3324B552651339   IMRAN             IQBAL                   OH     90014165526
332519A3551369   DIANA             TARLEY                  OH     90014849035
33251A93241285   MICHELLE          PARR                    PA     90013770932
3325221244124B   PETRICE           TAYLOR                  PA     90001612124
3325222692B871   NABOR             DIAS                    ID     90009172269
3325336767B492   HELLEN            GILLIAN                 NC     90014453676
33253A1645598B   TORN              CHEK                    CA     49014500164
3325424618B162   LUIS              CERRITENO               UT     90011152461
332549A452B871   MUSSA             SHIHIM                  ID     90013629045
3325532A24124B   DAVE              YELICH                  PA     90009613202
3325668523B348   FERNANDO          GONZALES                CO     90010626852
33257639A4124B   DEANDA            LOKELANI                PA     90014176390
3325829717B492   VENITA            YOUNG                   NC     11078032971
3325922A55B393   EUGENE            TANEWASHA               OR     44575842205
3325937187B492   BRIAN             LITTLEJOHN              NC     90006803718
3325957677B639   NATANAEL          GARCIA                  GA     90009155767
332595A714124B   ARIANA            ADKINS                  PA     90015235071
332596A4391563   ROSA              CORREA                  TX     75054116043
3325B888551594   KAREN             VEAL                    IA     90015368885
3326197AA91831   HEATHER           WILKERSONS              OK     90008739700
33261A12651369   JOSEPH            MULLINS                 OH     90014800126
3326237912B871   MICHAEL           WILSON                  ID     90015383791
3326244845598B   JOSE              SEPULVEDA               CA     49048364484
332633A397B639   PAMELA            WILLIAMS                GA     15073793039
332635A4551339   ALICIA            DEATON                  OH     66043525045
3326479455B339   VICENTE           MARTINEZ                OR     44057227945
3326534812B871   CHRISTY           THOMAS                  ID     90015333481
3326545984B943   NATONAEL          SANCHEZ                 TX     90006174598
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3326574A657126   PINNEY       JAMES                        VA     90008967406
332657A4284378   DONNA        WILSON                       SC     14547697042
33267354A8B494   RITA         WASHINGTON                   VA     90012433540
3326832492B87B   FLO          MARTINEZ                     ID     42014413249
3326869984124B   MAXINE       TAN                          PA     90011416998
3326917384B943   STEVE        SANCHEZ                      TX     90015101738
3326929187B471   LA RISSA     LOVE                         NC     90006612918
33269918A51339   TOYA         CALHOUN                      OH     66014169180
33269A2215B156   GIDEON       TRIF                         AR     90013930221
3326B24AA51328   COURTNEY     BOWSBY                       OH     66086202400
3326B34664124B   ERIC         ROBINSON                     PA     90008123466
332717A3891371   MIRIAM       TLAXCALTECA-ROMERO           KS     90013537038
33272266A55972   MARTIN       RAMIREZ                      CA     90000362660
3327282562B835   RENEE        WEST                         ID     42069538256
33272A13741285   PAIGE        SHONWILER                    PA     90003560137
332736A4944394   LAKEISHA     SPEARMAN                     MD     82022856049
3327377888B162   ROBERTO      VALENCIA                     UT     90012977788
3327452324B943   TONIA        SCOTT                        TX     90003565232
33274914A4124B   JOHN         SWENCKI SR                   PA     51011239140
3327544837B471   TONI         WILLIAMS                     NC     11054654483
3327582614B943   TANIA        COLEMAN                      TX     76591418261
3327634712B871   NINA         LOGAN                        ID     42092373471
33276AA579125B   LINDA        JOHNSON                      GA     14556070057
3327753385B52B   MAXINE       ARAGON                       NM     35089135338
3327754274124B   LEASER       SLOAN                        PA     90010245427
3327793757B492   AMANDA       ATKINS                       NC     90013659375
33277A2227B492   KEITH        SEIGLE                       NC     90011320222
3327936864B534   STEPHANIE    DRENNAN                      OK     90008843686
3327962A95598B   JOSE         CASILLAS                     CA     90010316209
3327B26A15598B   JOHNNY       GONZALEZ                     CA     90014022601
3327B859561557   LOUIE        WALTERS                      TN     90015398595
3327B98955B52B   MARIA        BARRON                       NM     90009679895
3328147562B871   VINCENT      TRYON                        ID     90010814756
33282189A2B835   HEATHER      WILCOMB                      ID     42015861890
3328298645B156   BRENDA       FRIERSON                     AR     90014339864
3328332938B162   ANTONIO      AGUILAR                      UT     90014213293
332834AA677544   DELGADO      NOELIO                       NV     90007234006
33283A3522B835   MISTY        BOYNTON                      ID     90013590352
3328416897B492   CARMEN       DANIELS                      NC     90015601689
33284221A84378   WONDA        CHATMAN                      SC     90014172210
3328431874B943   EDGER        LUA                          TX     90013253187
33284713A91563   BLANCA       RAMIREZ                      TX     90011307130
3328495288B16B   TRISHA       BROOKS                       UT     90006469528
33284A86551369   JOSEPH       FANNING                      OH     90013130865
3328588427B639   ROBERT       HAMMOND                      GA     15016708842
3328636574B281   CARLOS       LARA                         NE     90007753657
3328636615598B   MARIBEL      SAENZ                        CA     49079443661
3328657577B471   GLADIS       TRIMINIO                     NC     11004075757
33287259A5B52B   ELENA        PULIDO                       NM     35083112590
332872A1941285   ALEICA       CLEMM                        PA     51002992019
3328769744B943   LILIA        FIGUEROA                     TX     90014866974
3328899315598B   FABIAN       AVILA                        CA     90006289931
3328981717B492   PARIS        ADAMS                        NC     90011108171
33289A36241258   ANDREA       BAUER                        PA     51038190362
3328B584741277   CYNTHIA      CEPHAS                       PA     51033105847
3328B918336143   ASALIA       MARTINEZ                     TX     90009569183
3328BA17854165   MARILYN      MAGILL                       OR     47014220178
3329117A784378   KATLIN       BRISTOL                      SC     14568591707
33291541A91831   KAYLA        WATSON                       OK     90013075410
3329178475B156   VELRITA      CAMPBELL                     AR     23082007847
3329194A791563   ANGELA       GUARDADO                     NM     90006939407
332924A342B871   DAVID        KIRBY                        ID     90011874034
3329263562B835   SARAH        VAY                          ID     42078456356
3329292937B492   GEORGIA      M LIPSCOMB                   NC     90010089293
3329318432B87B   JIMMY        CHRISTY                      ID     90000791843
33293661297B67   CHARLES      GROSS                        CO     90002796612
3329417813147B   BRADLEY      THOMURE                      MO     90014281781
3329444928B16B   ANTONIO      AGULIAR                      UT     90013044492
3329527567B492   CURTIS       WALKER                       NC     11094152756
33295A62891371   SHERRY       MARTIN                       KS     90014540628
3329673822B87B   RANDY        DOBRSKY                      ID     90013237382
3329723AA5137B   KRISTINA     HALL                         OH     66053012300
3329769A72B835   BEMA         NOWELL                       ID     90013826907
3329779374B561   CAROL        CASS                         OK     90001177937
33297AA442B87B   JESUS        RAMIREZ                      ID     90006650044
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332988A2351369   DORIAN       MCGLOTHIN                    OH     66012028023
33298A5997B639   NAKITA       FLUELLEN                     GA     15019420599
3329964565B52B   LIZZETH      GUTIERREZ                    NM     35038036456
332997A2391371   KAMILAH      JACKSON                      KS     29061217023
33299AA962B87B   CORBIN       BROWN                        ID     90013650096
3329B63615598B   AIOTEST1     DONOTTOUCH                   CA     90015116361
3329B73988B16B   SARAH        TOMNEY                       UT     31069187398
332B12A825B156   BONNIE       POTTS                        AR     90010982082
332B153377B639   WILLIE       PIETT                        GA     90010935337
332B1817791831   JOSH         CARROLL                      OK     90011918177
332B1AA8691563   LIZ          HERNANDEZ                    TX     90009770086
332B2365291563   LILIEL       RIOS                         TX     75058153652
332B2889254165   DOMINIC      CORBIN                       OR     47082328892
332B295749125B   DORIS        EZELL                        GA     90014109574
332B311AA7B449   REINA        LOPEZ                        NC     90011401100
332B323245598B   JOSEPH       GONZALEZ                     CA     90013122324
332B329912B828   PIEPKORN     LORI                         ID     42096152991
332B3437877581   DONALD       LAWVER                       NV     90007454378
332B347572B93B   HARLIN       HARRIS                       CA     45005054757
332B355425B593   JEREMIAH     WEIL                         NM     90011625542
332B3968151339   GEORGE       MIKE                         OH     90004589681
332B4356191371   LAQUINTA     COLLINS                      KS     90013093561
332B493288B16B   JOSE         HERNANDEZ                    UT     90009629328
332B497898B162   ALEJANDRA    ARRISCORRETA                 UT     90005889789
332B4A1927B883   SANDRA       CHAVEZ                       IL     90013630192
332B5265254165   CHARLES      BURKE                        OR     90010102652
332B54A664B943   BEANY        MILLA                        TX     90014734066
332B581247B471   PATRICIA     HERNANDEZ                    NC     11077108124
332B588745598B   KRISTINA     PERALES                      CA     49097118874
332B5914255972   LUISA        PATGHER                      CA     48028419142
332B6152961474   JAMIE        HIGGINBOTHAM                 OH     90014761529
332B63A6136143   RICHARD      ALLEN                        TX     73513163061
332B6A27A41277   PAMELA       SAAL                         PA     90014610270
332B7359291563   ROLANDO      SALAS                        TX     90003883592
332B73A8154165   COURTNEY     SLAVEN                       OR     90010733081
332B7428155939   CECILIA      LOPEZ                        CA     90009364281
332B7925491371   ALONSO       MORALES PEREZ                KS     90013469254
332B9189A5B58B   DAVID        ROCHA                        NM     90004381890
332B9523751369   CANDUS       WILLENBRINK                  OH     90013045237
332B952975598B   JIMMY        AVILA                        CA     49007085297
332B9578354165   WILL         MORAN                        OR     90012365783
332B96A222B835   LORI         STON                         ID     90006866022
332B9A72291831   KEVIN        SPIVEY                       OK     90012730722
332BB447291893   EMILLIO      SHANNON                      OK     90014364472
332BB63574B943   ALEJANDRO    GONZALEZ                     TX     90012566357
332BB948A55933   ISAURA       VASQUEZ                      CA     90001529480
3331155275B393   JACKIE       KELLEY                       OR     44579185527
33311AA595B52B   STEPHANIE    BAUTISTA                     NM     35098440059
333126A265B156   LAKESIA      EDWARDS                      AR     90013596026
3331397A951369   STEVEN       RANSOM                       OH     90014119709
3331469544B281   MINDY        MANNING                      NE     27072166954
3331493992B835   DAVE         ASLETT                       ID     90014369399
3331538862B87B   FRANCISCO    ALVARADO                     ID     90014273886
33315A9A18B162   JON          ISAACSON                     UT     90013650901
3331631A184378   LUIS         NERI                         SC     90015233101
333167A5471937   SONYA        NAYLLI                       CO     90010637054
3331746937B492   IVONNE       LOPEZ                        NC     90011944693
3331751325598B   MIGUEL       CORDOVA                      CA     90014895132
3331877415598B   AMYLOIS      WEST                         CA     90015137741
3331B31255B156   LATORA       BURNETT                      AR     90011523125
3331B588736143   GUSTABO      TREVINO                      TX     90008615887
3331B62662B871   EMILY JANE   DANIEL                       ID     90004446266
3331B731291563   VERONICA G   RAMIREZ                      TX     90005437312
3332147534B281   MAKAELA      CONKLIN                      NE     90014784753
333216A7336143   MALLORY      PEREZ                        TX     90002366073
33322221A7B43B   YVONNE       DAVIS                        NC     11009792210
3332271A65B393   WILBERTH     PINTO VAZQUEZ                OR     90000637106
3332299A98B162   DONALD       PASCAL                       UT     31001489909
33323191A4B955   CAMILLA      DORSEY                       TX     90001461910
33323A37155972   MARGARITA    VASQUEZ                      CA     90014340371
3332423912B87B   ARTURO       MUNOZ-CHAVOYA                ID     90008792391
33324329A91371   SEMERIA      HALL                         KS     29014383290
33324577A8B162   WILL         FRANCIS                      UT     90013495770
3332465377B492   STEVEN       WEST                         NC     90011186537
33324972A4B943   VICTOR       GAMBOA                       TX     90007649720
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3332511924B281   BRENNA           HOFFMAN                  NE     27059611192
3332572614124B   ANTHONY          CARTER                   PA     90014177261
3332623A32B87B   LANCE            WALKER                   ID     42098302303
333271A543B132   DEMARCO          AVENT                    DC     90012571054
3332725537B639   GEORGETTE        JONES                    GA     90011352553
33327744A4B943   JASMYNE          WILLIAMS                 TX     90013187440
33327A95347931   SUSAN            TYREE                    AR     90013140953
333283A319125B   MAURICIO         LOPEZ                    GA     90002063031
33328A3372B87B   JASON            WILLIAMS                 ID     90007290337
33329577A8B162   WILL             FRANCIS                  UT     90013495770
33329A19591831   JAVID            FALCON                   OK     90012970195
3332B177754165   MICHAEL          TRATHEN                  OR     90012471777
3333218237B43B   MARJORIE         PIERCE                   NC     11027351823
3333316A554165   ANGEL            ARAMBULA LARA            OR     90001761605
33333533372B47   ANA ABEL         DIAZ                     CO     90014895333
33333651A91371   FRANCISCA        HERNANDEZ                KS     90013226510
3333515568B16B   JACOB            BOSWELL                  UT     90013401556
3333559199125B   SONIA            SCOTT                    GA     14556125919
33337229A5B393   EDVIN            MACHIC                   OR     90015312290
3333746524B943   MONICE           THOMAS                   TX     90012634652
3333886537B492   LONNIE           HILDERBRAND              NC     90004288653
33338A4A85B52B   JONES            JENNIFER                 NM     90013290408
333391AA851339   TONY             HEATON                   OH     90011781008
3333942A271937   CHRISTINA        PERRY                    CO     90008364202
33339A4395B393   EVETTE           BONNER                   OR     90001520439
3333B172551339   KENDRICK C       DAVIDSON                 OH     66043871725
3333B24A23146B   DEBORAH          STEVENS                  MO     90000492402
3333B329151369   SALLY            HAMILTON                 OH     66081063291
3333B46A97B449   ZACHARY          SMITH                    NC     11008994609
3334224495B393   OMAR             GLOMEZ                   OR     90014992449
3334319464B943   URSULA           GEORGE                   TX     90010631946
33343471A47931   JAMES            FRENCH                   AR     90012074710
3334388893B132   CHRISTOPER       RICHARDSON               DC     90004868889
3334515354B281   MITCH            CARTER                   IA     27004711535
3334621974B521   ELIZABETH        BROWN                    OK     21506592197
3334665348B162   JACQUES          PEGUY                    UT     31090226534
3334671155598B   SEILA            AYALA                    CA     49081157115
3334718A55B393   ANNA             SHAPIRO                  OR     44582421805
3334859243B39B   MOHAMED          LAKOUAS                  CO     90013385924
3334893217B449   JOSE             GONZALEZ                 NC     90015229321
3334895847B449   JOSE             GONZALEZ                 NC     90011899584
333496A1191831   JUMAL            HARRIGAN                 OK     90008696011
3334997724B943   JONATHAN         GILLIAM                  TX     90014599772
3334B16885B156   DIANE            JACKSON                  AR     90012251688
3334B3AA981621   JAMES            RANDALL                  MO     90004173009
3334B64232B87B   LANCE            FESLER                   ID     42024406423
3334B8A3A5598B   EDUARDO          GODINEZ                  CA     90014688030
3335158617B449   CARLOS           LONG                     NC     11086605861
3335293194124B   DAMITRA          PENNY                    PA     90010969319
33353A83455972   MARIBEL          RAMIREZ                  CA     48060620834
3335411815B393   BRANDI           RAYMOND                  OR     44594681181
333552A5347931   DONALD           REDDEN                   AR     25038292053
3335551775132B   CHASIE           ROBINSON                 OH     90012885177
3335554745B156   NELLIE           STEPHENS                 AR     23080815474
333555A2A55972   JENNY            PENA                     CA     90014865020
333555A6341258   LISA             MCGOUGH                  PA     51064465063
3335681232B835   BERNICE          GARCIA                   ID     90011978123
333568A3247931   KIM              JORDAN                   AR     90013208032
3335712228B162   MICHALE          GALLAGHER                UT     90001821222
3335712252B87B   DIETRICH         JOHNSON                  ID     42044681225
33357479A54165   HEATHER          HOLLOWAY                 OR     90000844790
3335793A647931   MABEL            LECHUGA                  AR     90015219306
3335822817B43B   MARCELINA        HERNANDEZ                NC     11027362281
3335834932B835   RAYMOND          CORDEN                   ID     42073553493
333587A8554165   LEVI             TERREL                   OR     90011707085
3335921362B87B   DUSTIN           SURBROOK                 ID     42077232136
333593A7654165   SHARON           QUEST                    OR     90012313076
333594A1891584   AMBER            FUENTES                  TX     90011174018
33359666636B77   CRYSTAL          WILLIAMS                 OR     90003166666
3335973667B471   RHONDA           DAVIS                    NC     11074697366
3335B419741285   JAMES            GEORGE                   PA     51006514197
3335B738136143   MARISELA         YBARRA                   TX     90011047381
3335B942291563   NIDIA GABRIELA   LIMOS                    TX     90008709422
3336155832B835   MAGEN            NIELSEN                  ID     42024075583
3336186485B156   LEROY            MCBRIDE                  AR     90011048648
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3336231815B52B   LINDA        MONTOYA                      NM     35006853181
333632A6791563   MARGARITA    OROZCO                       TX     90004952067
3336334582B87B   TYLER        STEWART                      ID     42027913458
333636A7251369   ELLAINE      BROWN                        OH     66039356072
3336425145B393   SEAN         HOWARD                       OR     90009042514
3336442A22B871   ANDREW       DAVIS                        ID     90012114202
33364438A5598B   CHARLES      STRICKLAND                   CA     49052404380
33364686224B35   GERALD       BUTLER                       DC     81008936862
3336499227B471   CHARLES      CHAMBERS                     NC     11095009922
33365219A47931   ALMA         VIGIL                        AR     25010642190
3336548344124B   MARILYN      MAURO                        PA     51016354834
333656A2591831   MELISSA      SHELL                        OK     90013236025
3336614754124B   BEN          UMPHRIES                     PA     90003001475
3336645885B393   MELISSA      ALLEN                        OR     90015324588
33366613472B47   EMIL         TAHERI                       CO     90004896134
33366A3392B871   PAYGO        IVR ACTIVATION               ID     90014900339
3336728AA5B393   JUAN         CORTEZ                       OR     90010672800
3336774A841258   STEVE        ALI                          PA     90014417408
333677A928433B   JULIE        MYERS                        SC     90012087092
33368519A2B87B   TIFFANY      BARREIRO                     ID     42059755190
333695A838433B   DEBRA        BERENS                       SC     90004855083
33369A73341285   ANTOINETTE   PINNICK                      PA     51014440733
3336B62763B161   DENNIS       FERNANDEZ                    VA     81093006276
3336B686A41291   BERNADETTE   KNICELY                      PA     90003556860
3336B8A3247931   KIM          JORDAN                       AR     90013208032
3336B8AA38B16B   JOSE         SANTOS                       UT     31082288003
3336BA2257B471   BERENICE     ESPINOZA                     NC     11012080225
333711A244B943   ROSE         PAPIZAN                      TX     90007071024
3337124884124B   GAIL         FELTON                       PA     90001122488
3337142375B393   ANAHI        SANDOVAL                     OR     90013724237
3337154772B871   DON          GALLION                      ID     90010065477
333728A128B16B   TINA         ORRIS                        UT     90001178012
3337325882B871   AUSTIN       WHITE                        ID     90015382588
333733A317B639   FELECIA      EDWARDS                      GA     15058443031
33373A3244124B   MARGO        DOSS                         PA     51053570324
33373A42141285   ANTIONETTE   HAWKES                       PA     51008030421
3337452722B93B   JUVENTINO    PENA JR                      CA     45055725272
33374847472B47   CONNIE       COBB                         CO     90011418474
3337538A291893   BEATRICE     LEE                          OK     21089113802
3337579164124B   RAM          SHAH                         PA     90014177916
3337626A791525   MARIA        GUTIERREZ                    TX     90001502607
33376564A7B492   PORFIRIO     PENA                         NC     11014085640
33376573A41258   COLIN        DAVIS                        PA     51008835730
3337657934B943   ELOISA       LOPEZ                        TX     90009615793
3337658745B393   RICARDO      BARRERA                      OR     44517145874
33376A13A91232   LINDA        BLANTON                      GA     14591270130
3337735352B87B   DAWN         THOMAS                       ID     90010463535
3337763615598B   AIOTEST1     DONOTTOUCH                   CA     90015116361
3337764472B835   ABEL         GARCIA                       ID     90013796447
3337772A64B943   STONY        MILLER                       TX     76517767206
3337797567B43B   TAMARIA      TURNER                       NC     11049509756
3337812444124B   ERIC         PERDUE                       PA     51064311244
3337B414751339   MARSHALL     HUNT                         OH     90011734147
3337B54885B52B   STEPHANIE    GONZALES                     NM     90010275488
3337BA7A45598B   CARLOS       HUERTA-GONZALEZ              CA     90008610704
33381347A4B281   ELIZABETH    BENNETT                      NE     90007293470
3338134965B393   PHILIIP      DIGREGORIO                   OR     90008763496
3338199184B943   MARIA        INFANTE                      TX     90012439918
3338256912B87B   ALANA        BRADEN                       ID     42092975691
3338327289125B   JOSEPH       COCHRAN                      GA     14570692728
3338344235B557   MARIO        GARCIA                       NM     90001354423
3338347985B52B   BELVA        STAMPS                       NM     90007524798
3338367A455933   MARINA       CHAVEZ                       CA     90009946704
33383A1894B281   TERA         FORD                         NE     90015230189
3338447A15B52B   JAMES        CORN                         NM     35081344701
333848A922B871   SHANNON      PAUL                         ID     42059118092
33385372A4B943   DESTINY      YATES                        TX     90012053720
3338542A241285   ROBERT       MCMASTER                     PA     51033834202
3338649585598B   TAYLOR       CHAFFIN                      CA     90008924958
3338666564B281   ANDREA       TALBOT                       NE     90014786656
3338685723B132   MARIA        HAUSAUER                     VA     90011468572
33386A8774124B   LISA         VIETMEIER                    PA     51095620877
333871A9255972   JEREMY       KECHLOIN                     CA     90010911092
3338726564B943   PHYLLIS      MAY                          TX     90005232656
33387438A5B393   TIMOTHY      RUSH                         OR     90010984380
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333879A672B835   JOEL           READER                     ID     90013119067
33387A2517B639   SHAREN         KING                       GA     15084100251
33387A77777367   ROBERT         DINSMORE                   IL     90015480777
33387A84151339   PAYGO          IVR ACTIVATION             OH     90014590841
3338866564B281   ANDREA         TALBOT                     NE     90014786656
3338874165B52B   ROSALVA        RINCON                     NM     90006987416
333891A3151339   KRISTI         PAYNE                      OH     90014591031
3338929234124B   JACKIE         JONES                      PA     90009682923
3338988594124B   EARL           GARDNER                    PA     90014178859
3338B44382B835   ALEJANDRO      CORTAZAR                   ID     90014954438
3339146467B471   JOSE           FLORES                     NC     90010464646
33391731A54165   DARLA          BROWN                      OR     90010207310
3339173948B16B   ALYSON         GOULD                      UT     90014487394
3339239587B492   LAKEISHA       MORRIS                     NC     90013843958
3339276145B156   BETTY          FOLEY                      AR     90009397614
3339288594124B   EARL           GARDNER                    PA     90014178859
3339345A15B156   SAMANTHA       WATSON                     AR     23007154501
33393A92A47931   QUAN           CARR                       AR     25056730920
3339444395B393   DUSTIN         HUSEMANN                   OR     90014324439
3339455844124B   ROSS           WATSON                     PA     51006295584
3339485627B492   MELISSA        THOMPSON                   NC     11087518562
33395227772B27   ROXANNA        HICKS                      CO     90013082277
3339533732B835   ANDRES         DIAZ                       ID     42059383373
3339742A791371   CHRISTOPHER    ANDERSON                   KS     90011304207
3339747985B52B   BELVA          STAMPS                     NM     90007524798
33397494A2B87B   MELISSA        CASEY                      ID     90001764940
3339816242B87B   NATHANIEL      CONWAY                     ID     90008301624
33398599372B2B   ANDREA         MADRIGAL                   CO     33084305993
3339938322B835   MAE            FERGEL                     ID     90001963832
33399635A51339   TAMMY          FLETCHER                   OH     90012176350
3339B61815B52B   ADRIANA        ROMERO                     NM     90010886181
3339B76122B87B   JULIE          STARKEY                    ID     90010307612
3339B995A2B828   RICHARD        PAYNE                      ID     90008679950
333B119958B16B   JAKE           A CAWLEY                   UT     90009301995
333B187575B59B   PAIGE          LOVATO                     NM     90005868757
333B277444B943   OSMIN          CRESPO                     TX     90012187744
333B282585B52B   CLAUDIA        AVILA                      NM     35015478258
333B291A951369   TAMMI          KELLY                      OH     90009769109
333B3165491584   PATRICIA       LOYA                       TX     90003581654
333B3456955927   STEPHANIE      FLORES                     CA     90013884569
333B347953B326   THEODORE       KRUGLET                    CO     90002464795
333B372814B943   PAULA          WILIAMS                    TX     76592247281
333B3A86451369   NAKEBA         BARNES-PORTER              OH     66098510864
333B41A3291975   BRENDA         PEREZ                      NC     90011761032
333B4493547931   MIKALE         POSEY                      AR     25001814935
333B4A6A72B835   GREG           MORRIS                     ID     90007440607
333B5298254165   TRACEY         BAY                        OR     47042102982
333B5347436B77   KRISTIE        CLARK                      OR     90009083474
333B558534124B   JEFF           IVORY                      PA     90006335853
333B585A75B393   DONJRAYE       WHITE                      OR     90015108507
333B6497755972   JORGE          PATLAN                     CA     90013364977
333B68A6151369   MARK           HESS                       OH     66089248061
333B696A35B52B   LUIS           VILLA                      NM     90011949603
333B7216A7B492   ANASION        GOOD                       NC     90010122160
333B7493547931   MIKALE         POSEY                      AR     25001814935
333B781254B943   FAYA           WILLIAMS                   TX     90013318125
333B7A36554165   CAROL          CANTER                     OR     90010270365
333B821978B162   MARQEL         LINO                       UT     90012872197
333B831A65B156   T              WMS                        AR     23091203106
333B8367591563   MARTINEZ       JOSEPHINE                  TX     90009993675
333B884367B471   PILAR          ALVAREZ                    NC     90004378436
333B8A79147931   ATLENTA        MORELIK                    AR     90004990791
333B981619125B   SHANTEL        BUNTHOFF                   GA     14513498161
333B9A7A591371   DEBORAH        WILLIS                     KS     90014540705
333BB13185B393   MARIA INELDA   SALAZAR HERRERA            OR     90012471318
333BB27952B871   RUSSELL        BUFFINGTON                 ID     42089812795
333BB419A91831   WILLIAM        GOERISCH                   OK     90008694190
333BB46774124B   CHRISTOPHER    AVIGANIO                   PA     90002524677
333BBA54551339   RYAN           CLICK                      OH     90005160545
333BBA6634B281   KRISTEENA      SCARPINO                   NE     90011680663
3341112745B156   DANA           PEARSON                    AR     23017011274
3341166458B16B   FRANSISCA      LOZANO                     UT     31072856645
3341185885B393   SALOME         HIDALGO                    OR     44562758588
334125A868B16B   BRODY          S JACOBSEN                 UT     90009095086
334133A2751369   MARIO          LARKIN                     OH     66039343027
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3341383A54124B   ALICE        SELLU                        PA     90013238305
33413AA477B639   TWILLA       BOOKER                       GA     15015310047
33414112A91584   KAREN        VIRAMONTES                   TX     75021251120
33414854A4B586   NATHAN       MURDOCK                      OK     21592188540
33414A8345598B   DEDE         LOERA                        CA     49059270834
3341511557B639   LATASHIA     FITZPATRICK                  GA     15082821155
3341598964B943   ROSALBA      DE HOYOS                     TX     76534449896
3341627748B16B   GABRIEL      RAMIREZ                      UT     90012082774
3341642384124B   MECCA        BEY                          PA     90013914238
3341675542B835   MARIA        SANCHEZ-SQUIRE               ID     42058297554
33417A2956B397   FIDEL        GARCIA                       NH     90015240295
33418784976B44   ALBERTO      GONZALEZ                     CA     90000597849
33418A3858B19B   CARLO        BURGOS                       UT     90001390385
3341921765B156   RAYMUNDO     TAPIA                        AR     90014412176
3341967A991549   MARTHA       RIOS                         TX     75065026709
3341B314A91831   DEANNA       THOMPSON                     OK     21012773140
3341B48545B52B   ELFIDO       RIO-CASTILLO                 NM     90013814854
3341B637591371   IRVING       BUSTAMANTE                   KS     90014176375
3341B66114B281   JENIFFER     BESCH                        NE     90014396611
3341BAA672B87B   DAWN         BROWN                        ID     90006650067
33421AA344124B   JJ           SIRLIN                       PA     51091460034
33422622A7B492   LISA         MELTON                       NC     11086916220
334231A1A5B156   DAVID        ANCA-CHAN                    AR     90014941010
3342394344B943   FORREST      PITRE                        TX     90002629434
3342398A721631   KIM          WEB                          OH     90015069807
3342419525B52B   JOSEPH       LANE                         NM     90010651952
3342454114B943   JANEI        YOUNG                        TX     90014075411
3342464217B449   CONSTANCE    LIVINGSTON                   NC     11082186421
334252A535B52B   LAURA        LOPEZ                        NM     90008642053
3342565945B393   CORY         GABER                        OR     90012026594
33425A95324B25   LAPRE        HOLMES                       DC     90006970953
33426123A4B281   AMI          BELT                         IA     90014791230
3342616994124B   REBECCA      ROBERTS-MCPHERSON            PA     51032751699
3342649355B156   RODNEY       COLEMAN                      AR     23021734935
33426A5375B52B   LUCERO       BENTIA                       NM     35026210537
3342792387B471   BRANDON      COLLINS                      NC     90011169238
33427935A4124B   ERIC         FABEC                        PA     90014179350
3342836545B393   ABDI         AHMED                        OR     90001083654
3342847A841258   BAYLON       SLOAN                        PA     51027884708
3342849762B835   JOANNA       HAIRES                       ID     90011604976
33428857A5598B   ANA          BERBER                       CA     49014558570
3342888268B16B   MICHEAL      SIMPSON                      UT     90014978826
3342919838B14B   JUAN         PEREZ                        UT     90014881983
3342943995B52B   KARIMA       DOMINGUEZ                    NM     90012184399
3342B6A3685621   MARIA        CHEVEZ                       NJ     90012466036
3342B93184124B   PANGAL       NGAL                         PA     90014179318
3342BA65A4B281   KYLEIGH      WALKER                       IA     90014790650
3343193654124B   JILL         IRVIN                        PA     90014179365
33431A4172B87B   SABRINA      CARVER                       ID     90013540417
3343275135B393   ALEX         TOWNSEND                     OR     44538217513
3343325855598B   JOHNNY       GUERRERO                     CA     90006102585
3343358358B16B   HAWKES       RUSSELL                      UT     90008615835
3343398837B471   ELDA         VELASQUEZ                    NC     90001769883
3343417494B281   ANNIE        MCKENNA                      NE     90014791749
33434329636B77   DANIEL       RYBAK                        OR     90008443296
33434377A41258   JOSHUA       JOHNSON                      PA     90010963770
334351A268B16B   RYAN         QUINN                        UT     90015571026
33435AA3441258   VERNIECE     WANNAMAKER                   PA     51086670034
3343649782B93B   CAPONE       GIRONDA                      CA     90003994978
334365A1851339   PAM          FIELDS                       OH     90014625018
33436737272B36   SHEILA       DONAHUE                      CO     33041047372
334368A9547931   JULIANN      LAISO                        AR     90015188095
33436A5925598B   MARGARITA    SAMPEDRO-TRINIDAD            CA     49053550592
3343725855598B   JOHNNY       GUERRERO                     CA     90006102585
3343772792B87B   SANDRA       ACKERMAN                     ID     90007637279
3343848A48B16B   DAVID        GOODA                        UT     31081214804
3343875769125B   LONNIE       BEASLEY                      GA     90005507576
3343896297B492   MICHAEL      PACZKOWSKI                   NC     90008089629
3343B16234B281   TROY         THUNDERSDADT                 NE     90014791623
3343B25877B32B   JOSE LUIS    JIMENEZ                      VA     90012122587
3343B69A37B471   QUINTA       DUNLAP                       NC     11024536903
3343B7A3791831   LELA         ABRAHAM                      OK     90015167037
3343BA2245B156   CARRIE       SUMMONS                      AR     90001630224
3344142937B471   BRANDY       SMITH                        NC     90009534293
3344151555598B   KARLA        VALENZUELA                   CA     90014895155
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334422A417B492   VIRGINIA            GUZMAN                NC     11077552041
3344272A85B393   HAILEMICHAEL        TESFAMARIAM           OR     90005207208
33442742A91563   VIOLETA             MARQUEZ               TX     90015107420
33442A6A631424   YOLANDRA            SMITH                 MO     90001040606
33443A18A91371   MARYJANE            SAALE                 KS     90014770180
33444192A51369   NATHAN              EALY                  OH     90014541920
3344467548B162   DAVID               ANDERSON              UT     90013496754
334448A342B87B   WILLIAM             WRIGHT                ID     42029318034
3344498162B871   MARK                SANDER                ID     42063749816
3344559196192B   CARMELTIA           MADRIGAL              CA     90006235919
33446634A55972   RAYMOND             CASTELLANOZ           CA     48096856340
3344733328B16B   ANTHONY             BURSON                UT     90013063332
334484A857B492   ANGEL               VALDEZ                NC     90002914085
334497A3941258   AMBER               PHILLIPS              PA     51077327039
3344B47952B87B   KATHY               LITTLE                ID     42088504795
3345184544B943   DELWYN              KIEL                  TX     90012918454
3345185672B87B   DANIELLE            WRIGHT                ID     42073868567
3345185855598B   SONYA               GONZALES              CA     49082788585
334519A445B156   OTIS                SMITH                 AR     23006449044
3345244418B16B   RENE                GARCIA                UT     90001664441
3345249494124B   CHERELL             PARKER-COLLINS        PA     90011824949
3345286932B93B   PATRICIA            TAFOYA                CA     45081458693
33452A29591371   MARYJANE            SALE                  KS     90014770295
33453198A5B156   MARIE               FLOWERS               AR     23072961980
3345326AA7B492   MICHAEL             BURTON                NC     90015052600
334543A914B281   LISA                BARANISHYN            NE     90014793091
3345463524B943   IRASEMA             SABAIZ                TX     90004366352
3345491437B492   MARIA               REQUEND               NC     90012599143
3345497157B386   FRANCOIS S          HARRIS                VA     90003469715
3345543799125B   ANTOINETTE          SMITH                 GA     14556364379
3345577952B835   LUCINDA             CERVANTES             ID     90000807795
33455A9375B156   TAMARA              COLEY                 AR     23058260937
3345627535B59B   MARGARITA           LOPEZ-PONCE           NM     90012672753
3345659AA5598B   MARIA               RUANO                 CA     90001965900
33456A32551339   TIFFANY             SWAN                  OH     90014630325
33457154972B23   BRAD                EATON                 CO     33088551549
3345715A87B492   MEOSHA              CALDWELL              NC     90014811508
3345829A34124B   LIANA               DUDEK                 PA     51003852903
334593A352B87B   WILLIAM             SCHANZ                ID     90006443035
3345996264124B   JON                 HANSON                PA     90014179626
33459A56251339   AJHEA               PRUDEN                OH     90011600562
3345B235851339   ADAM                TAYLOR                OH     90011782358
3345B285855972   DENICE              LUDDEN                CA     90014812858
3345B426284378   HERMAN              LARA                  SC     90012734262
3345B487547931   MARY                MARRIOTT              AR     90012814875
3345B5A455B156   JARRELL             DAMIEN                AR     90013545045
3345B73A84B281   RYAN                STEINSPRING           IA     90012887308
3345B884A36B77   ANTONIO             ROMERO                OR     44504248840
3345B92928B162   ANTHONY             KNAPP                 UT     90007449292
3345BA17A41258   NATE                THOMAS                PA     90013950170
33461A1167B449   MILTON              JACKSON               NC     90011780116
33461A86191831   LETICIA             BERNAL-GRANADOS       OK     90001760861
3346212754B943   TIFFANY             ENGLISH               TX     90014781275
3346242964B281   CARLOS              NIEVES                NE     90007804296
3346338AA5B52B   CHRIS               FARIS                 NM     90014623800
3346379424B943   AMANDA              MOCK                  TX     90013837942
33463A76136143   ROXANNA             GAMBOA                TX     90010910761
334641A2991584   NATALIE             MYERS                 TX     90007211029
33464579772B93   MICHAEL             DELMONICO             CO     90008405797
3346469147B639   VICTORIA            CLARK                 GA     15096486914
33464AA1151369   PAUL                HALL                  OH     90010900011
33465163A57544   JOIE                FLORES                NM     90012511630
334652AA64124B   DENA                STEELE                PA     51070082006
3346598265B52B   GEORGE              GALLEGOS              NM     90013769826
33466365A4B281   JASMINE             DOUGLAS               NE     90014793650
334664A5291831   MICHAEL             BRYDIE                OK     90013374052
33467165A5B52B   VICTORIA            MARTINEZ              NM     90001881650
3346748154124B   JENNIFER            GREEN                 PA     90015124815
3346912292B87B   LORRIE              STEPHENS              ID     42091151229
3346B49A22B871   GRACE               HERRERA               ID     42094024902
3346B69117B471   JAVIER              NUNEZ                 NC     11047066911
3346B91415B23B   MIA                 TONEY                 KY     68081139141
3346B99715B393   FRANK               WATERHOUSE            OR     44510259971
33471A5725598B   MARIA DEL ROSARIO   GODINEZ               CA     90003880572
3347217988B16B   ANNA                RAMIREZ               UT     90015541798
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3347311A85B52B   ROSIO        NAVARRO                      NM     35057131108
3347473517B492   JESUS        PALMEROS                     NC     11084477351
33474A26941285   SHARMEL      WASHINGTON                   PA     90013080269
3347577522B871   IZAMARY      OLIVAS                       ID     90013097752
33475A7567B471   ELISA        GARCIA                       NC     90010820756
3347685975B52B   JOHN         MONTANO                      NM     90014828597
3347788738B16B   CATHERINE    SCHOOLY                      UT     90003178873
3347793562B87B   JAMES        WHITMORE                     ID     90009819356
3347868514B943   JOSHUA       CURTIS                       TX     76524446851
3347936838B16B   CONNER       VON ALMEN                    UT     90007513683
3347941A985824   JADEN        ROSS                         CA     46048024109
3347944492B87B   EMMANUEL     SOLANO-LEMUS                 OR     90010194449
334798A2571932   MELISSA      CASILLAS                     CO     90007828025
3347992737737B   CATINIA      WEST                         IL     90011759273
33479A6A691371   NENA         HAWKINS                      KS     90013990606
33479A9A85B393   MONNA        EARD                         OR     44500440908
3347B178641258   LAURA        ZRALKO                       PA     90013261786
3347B217547931   ANITA        SANDLIN                      AR     90013432175
3347B25672B87B   NICHOLAS     KNUDSON                      ID     42000162567
3347B673641285   QUINCY       LOAN                         PA     90012916736
3348123962B87B   REGINALD     STATES                       ID     42083412396
334812A4851369   JOHNY        JACKSON                      OH     90014752048
3348242722B871   JONELLE      BLACKER                      ID     90011534272
3348273978B16B   AMAYA        GREGORY                      UT     90012777397
33482A3A291266   ABRAHAM      BOWEN                        GA     90001500302
3348315122B871   MANUEL       GARCIA                       ID     90015501512
334835A645598B   HECTOR       URIAS                        CA     90014855064
3348433872B828   MARIYA       SHAPOSHNIK                   ID     42050123387
334854A4541258   DEANNE       FULMORE                      PA     90007844045
3348561137B43B   TABATHA      COLE                         NC     90002266113
3348639944B281   STEVEN       GARCIA                       NE     90014793994
3348639974B943   LILIAN       PILLOW                       TX     90012773997
3348641225B156   TIFFANY      HOWARD                       AR     90013054122
33486587A51339   CATHY        WALTES                       OH     90014665870
3348727282B241   JOHNNY       BROCKMAN                     DC     90006612728
3348798985B156   RODERICK     HOPSON                       AR     90012679898
3348819482B871   RUSSELL      GOLDSMITH                    ID     42024591948
3348853844B943   AUSTIN       SPENCER                      TX     90007695384
3348871397B471   JOSE         HERNANDEZ                    NC     90013367139
334888A4691563   BONILLA      MARTA                        TX     90005408046
33488A2A354165   JANICE       LANGIS                       OR     90008950203
3348937414124B   AALIYAH      KING                         PA     90010493741
3348956A63B132   TONYA        THORNTON                     DC     90012665606
3348B416351578   TOMEKA       WALKER                       IA     90014144163
3348B74865B156   LASSANDRA    GREEN                        AR     90009157486
3348B9A813B132   JOYCE        SAWYER                       DC     90008879081
334916AA42B871   BRITTANY     LAROCCO                      ID     90013996004
33491A68651383   BETHANY      LINDER                       KY     66091630686
3349257352B871   RON          ZECHMANN                     ID     42011665735
3349286227B471   MAURICE      MCKENZIE                     NC     11051308622
33493158A91831   TOU          VUE                          OK     90008711580
334933A525B393   RAFAELA      CERECER                      OR     44542043052
3349378A85598B   FLOR         MARTINEZ                     CA     90000767808
3349585942B87B   SABRINA      STAMPER                      ID     90013998594
33495A91A71939   TRUMAN       VAN AUKEN                    CO     90012420910
3349667185B393   CHRIS        DODGE                        OR     90004916718
3349864894124B   TYLER        DOLANCH                      PA     90004986489
334994A9651369   RASHEDA      MURPHY                       OH     90008744096
3349B43937B471   JOSHUA       HARVELL                      NC     90009534393
3349B44818B16B   LIBERDY      VALDEZ                       UT     31047324481
334B1159A5B393   JORDAN       DELA CRUZ                    OR     90014511590
334B1171A54165   VICKI        MAYNARD                      OR     90006621710
334B157A941258   WENDY        SACCO                        PA     90000375709
334B161763B392   MARISA       GEORGE                       CO     33023546176
334B236917B492   JOSEPH       KHUPPI                       NC     90011903691
334B266A85B156   JIMMARICA    JONES                        AR     90010956608
334B281254124B   ROBERT       GEIGER                       PA     90014818125
334B336478B162   NATALIE      TANNER                       UT     31092643647
334B341AA31424   CHANTE       BANKS                        MO     27586954100
334B6516351339   BRANDI       CRIHFIELD                    OH     90014605163
334B6614336143   AUDREY       GARZA                        TX     90010276143
334B734142B87B   TONYA        CRONISTER                    ID     90002263414
334B753569152B   PABLO        AVILA                        TX     90009335356
334B77A934B943   NICOLE       REID                         TX     90007647093
334B7831554165   SAMUEL       FARRIS                       OR     47098548315
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334B899465598B   DEEANN       TARANGO                      CA     90014639946
334B9478155972   RAMOS        RAYMOND                      CA     48014324781
334B9667757B79   HEATHER      PETROSINO                    PA     90013856677
334B9793141277   MELISSA      CSOKULTY                     PA     90001007931
334BB71264B531   SPANISH      COVE LTZ LLC                 OK     90006127126
3351148667B449   VERTINA      OLEARY                       NC     11083774866
3351194147B639   KENNETH      HOLLIS                       GA     90009339414
3351212588B16B   AARON        RANDALL                      UT     31016571258
33512326576B53   SERGIO       MONTIEL                      CA     90003133265
3351234362B871   NICOLAS      DIAZ                         ID     90009663436
3351243824B281   GABRIELA     SANDOVAL                     NE     90014794382
33513451824B46   MICHELLE     BAILEY                       DC     90006414518
33513A4419125B   ANTHONY      BEST                         GA     14516390441
3351455252B871   MELISSA      COON                         ID     90006075525
33514A22541258   JUSTIN       MEYERS                       PA     90013950225
33514A8534124B   KEN          SCHWARTZER                   PA     90009870853
3351598794124B   ALBERT       JOHNSON                      PA     51048679879
3351646A62B871   CAROLINE     MUNOZ                        ID     42083834606
33518439A7B639   RENISHA      HINTON                       GA     15088964390
3351846935598B   JESUS        PENA                         CA     90011384693
3351847425B393   MARIE        RAMBUL                       OR     90011904742
335186A417B471   SEBRENA      CHAMBERS                     NC     11042356041
3351943362B871   MACHOZI      SUMAILI                      ID     90013394336
3351971767B449   ELSA         MORALES                      NC     11091407176
3351B22635B156   PATRICIA     HOLMES                       AR     90014252263
3351B44944B943   JACOB        RICHARD                      TX     90002034494
3351B79287B639   KAYLA        WILSON                       GA     15075227928
3352136377B492   TONY         RAINEY                       NC     90015603637
3352142A391831   MICHAEL      OVERACK                      OK     90002964203
33521A9188B162   MICHAEL      ATCHLEY                      UT     90011800918
3352246A191563   VIVIS        GARCIA                       TX     90009164601
3352263995B393   MATTHEW      GOLLYHORN                    OR     44505986399
3352427954124B   JESSICA      KISTNER                      PA     90015012795
3352438977B492   MYCAL        SELF                         NC     90014963897
335246A975B52B   BEVERLY      KIMBRELL                     NM     90013906097
3352541897B492   BADER        ALRFOOH                      NC     90008064189
3352557A941285   RHONIKA      JOHNSON                      PA     51017495709
335262A9851369   JACLYN       BURT                         OH     66054952098
3352652482B871   ESTELA       SALAZAR                      ID     90005625248
3352713482B87B   RENEA        FEARN                        ID     90008441348
3352731A88B162   BRENDON      CRAPO                        UT     90013063108
3352789888B16B   DEBBIE       DRAPER                       UT     31081118988
33527A3664B943   GUSTAVO      VAZQUEZ                      TX     90012890366
335288A1941258   JENNIFER     DEPIETRO                     PA     90012908019
335292A3351339   JESSICA      COMBS                        OH     90014672033
3352931925598B   ANDREA       GONZALES                     CA     90010993192
33529366A7B471   FRANCINE     SMITH                        NC     11046873660
3352B356941285   FELECIA      BURT                         PA     90014413569
3352B5A3291831   JAMAEL       RICHARD                      OK     90008725032
3352B781291537   JUAN         FRANCO                       TX     90008997812
3352B81A555972   MARIO        CHAVEZ                       CA     90013748105
3352B917391563   HECTOR       GOMEZ                        TX     75026449173
3353173268B162   MANUEL       TERRONES                     UT     90008067326
335317A4631491   MONICA       HARRIS                       MO     90000177046
3353221978B162   MARQEL       LINO                         UT     90012872197
3353235945B156   ANNETTE      SHEAD                        AR     23072033594
3353246284B281   AARON        TRAYNHAM                     NE     90014794628
3353349A15598B   JESSIE       CHA                          CA     90013234901
3353369254B281   TERRI        CARLSON                      NE     90013226925
3353446414B281   ADISLADO     CRUZ BELLO                   NE     90014794641
3353558188B16B   RYAN         HOLLAND                      UT     90014885818
3353649782B93B   CAPONE       GIRONDA                      CA     90003994978
3353668634124B   SHAYLA       HAMILTON                     PA     90010636863
3353721134B943   JUAN         ORTIZ                        TX     90002402113
3353722A155972   MARCENE      FEENSTRA                     CA     48076672201
3353766738B16B   DOREEN       C STONE                      UT     90008926673
335381A455B393   MARILEE      KLEIN-WELCH                  OR     90007721045
3353892454B943   TAMIKA       LOCKWOOD                     TX     90009809245
3353961A78B162   LACARO       DE JESUS                     UT     31035766107
3353973A67B639   SUSAN        ARMSTRONG                    AL     90003147306
3353B161755972   SAUL         CAMACHO                      CA     90005641617
3353B229751339   NICHOLAS     MILLER                       OH     90014502297
3353BA3225B52B   MARGARET     MATRTINEZ                    NM     90010630322
3354169A44124B   PATRICE      HAMPTON                      PA     51038836904
335417A6154165   ANTHONY      BAXTER                       OR     47025497061
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33541A12936143   STEPHANIE    MARTINEZ                     TX     90012530129
3354213917B639   SYRINA       STOKES                       GA     90011111391
3354257364B943   JOSH         BOUDREAUX                    TX     90014705736
3354271745598B   SONIA        NAVARRETE                    CA     90014667174
33542A7622B87B   JOSHUA       PAULSEN                      ID     42068010762
3354348767B492   LAURA        MARTINEZ                     NC     11049684876
3354349352B871   ABIGAIL      LEACHMAN                     ID     90010814935
3354365882B835   ADEN         ALI APT E103                 ID     90015066588
3354383695B52B   GABRIEL      SANCHEZ                      NM     90012878369
3354447734124B   DAWN         BROCK                        PA     90012934773
3354451365B52B   DAVID        LARRANAGA                    NM     90009765136
3354475189125B   BRIAN        PRIESTER                     GA     90000427518
3354483418B162   RAUL         ALFARO                       UT     31000988341
3354525A454165   JEANIE       MACKAY                       OR     47001562504
3354582314124B   NICHELLE     RAGIN                        PA     90013918231
3354612264124B   JAMES        BOTHA                        PA     90014181226
33546726A91243   SHAKIARA     COOPER                       GA     90014617260
3354689695B393   MICHAEL      COFFMAN                      OR     44539888969
33546947A36143   ALBERTO      ALVARADO                     TX     73520649470
3354699A454165   KERRY        RAVERT                       OR     47041139904
335478A9541258   PAT          TAYLOR                       PA     90013408095
33547943676B44   HILARION     LEON                         CA     46003319436
3354825134124B   MARTINA      PRICE                        PA     90011082513
3354849184B943   CLARESSA     CUNNINGHAM                   TX     90006074918
3354855285598B   PAUL         MORALES                      CA     90000235528
33548A4267B449   DWAYNE       GANTT                        NC     11094350426
3354914352B835   RICK         STEFFENS                     ID     42097301435
3354942695B536   JANICE       LUCERO                       NM     90001474269
3354958882B87B   JARED        BARKER                       ID     42020125888
3354986792B871   JESSICA      LLOYD                        ID     90003748679
3354B33337B43B   KHADIJAH     CRAWFORD                     NC     90002253333
3354B44125598B   DAVID        AGUIRRE                      CA     90010904412
3355136764B943   JUAN         VENTURA                      TX     90004223676
3355195287B492   PRADEL       THOMPSON                     NC     90010969528
33552446972B2B   BRETT        ALLEN                        CO     90001644469
335524A6184369   KYMBERLY     MOSELY                       SC     90002144061
3355269A391831   CHARLOTTE    HENSON                       OK     21081526903
3355331164B532   FRANCINE     ELLIS                        OK     90012083116
33554932A2B87B   RYAN         BURHAM                       ID     90012359320
3355588318B16B   SANDRA       GOMEZ                        UT     31060248831
3355632498B162   SHYANN       BRYANT                       UT     90014103249
335565A1941285   THEODORE     PARKER                       PA     51026245019
3355679544124B   TONY         YANKOSKI                     PA     51000617954
3355748A84B943   VONN         SOSTAND                      TX     90005724808
3355753585B52B   GARY         BROWN                        NM     35039075358
3355764972B835   LYNDA        COLLINS                      ID     90013976497
3355771895598B   CHRISTINA    FLORES                       CA     90009877189
33557914972B37   CINDY        HAUKE                        CO     90008609149
33557A1377B43B   CARLOS       LOPEZ                        NC     11027520137
3355846887B492   EUGENE       FIELDS                       NC     90011124688
335584A4751369   TAMMY        KRUG                         OH     90000174047
3355938A32B87B   ROXANNA      RAMIREZ                      ID     90015453803
3355965464B943   MARTIN       GUTIERREZ                    TX     90012536546
3355B2A2141258   MICHAEL      DANGELO                      PA     90000362021
3356273722B87B   BIERNAT      ALEX CODI                    ID     90009727372
3356373448B162   JEFFRIN      SANCHEZ                      UT     90010827344
3356386155598B   STEPHANIE    CASTILLO                     CA     90013058615
3356416A62B871   NICHOLE      MAGER                        ID     42092501606
3356422982B835   AUBREY       CHAPMAN                      ID     90006092298
335644A498B162   STEPHEN      SPARKS                       UT     90005424049
33565884A36B77   ANTONIO      ROMERO                       OR     44504248840
335662A724124B   BARINDER     SINGH                        PA     90000502072
33566734A7B639   CAROLYN      WILLIAMS                     GA     90008387340
33566987A3B393   BERLINDA     ROMERO                       CO     33076529870
3356718598B16B   SELENA       VILLANUEVA                   UT     90012911859
3356836838B162   HARLEY       ADAMSON                      UT     90014703683
3356912945B52B   KAREN        METELITS                     NM     90000791294
3356979432B87B   SCOTT        COLBURN                      ID     90015447943
3356B51268B162   SAMANTHA     BREITMEYER                   UT     90008085126
33571346736B77   ANGEL        MARIO                        OR     90014963467
3357142435B393   MIRNA        ALVILA                       OR     90014754243
33571AA2255972   SAMUEL       CANAS                        CA     48071580022
33571AA8141285   NICHOLAS     PARAS                        PA     51068550081
33572179A4124B   SOYOUNG      CHOW                         PA     90014181790
335722AAA47931   STEPHANIE    MARTIN                       AR     90011462000
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33572328A51339   LETICIA        KELLER                     OH     90013833280
33572331272B25   PATRICIA       SCURLES                    CO     90000943312
335742A635B393   JOSE           VALDEZ                     OR     90015212063
3357445445B156   KATHLEEN       MCBRIDE                    AR     90006214544
3357448572B835   CRYSTAL        ROBINSON                   ID     42011434857
33574A48A4B943   JUNE           MOLENDA                    TX     90013060480
3357586248B162   MAECIE         ILL                        UT     90015098624
3357618814124B   MANNY          SILVA                      PA     90014181881
3357677512B835   DAVID          SHORT                      ID     90010667751
335772AA251369   MARY           HIGNITE                    OH     90007472002
3357783485B156   ADOLFO         GOMEZ                      AR     23001478348
3357911279125B   LISA           ECCLES                     GA     90005631127
3357919A74124B   TYQUAN         DAVIS                      PA     90014181907
3357961697B471   JERCLL         ROBINSON                   NC     90011156169
3357B23492B87B   SHARON         WHISENHUNT                 ID     42058052349
3357BAA868B16B   HEIDI          HADLEY                     UT     31006180086
33581A2632B87B   JEREMY         GRIGGS                     ID     42079580263
3358226547B639   THEODORA       DREW                       GA     90006792654
3358258775B52B   JENNIFER       CARDENAS                   NM     90007525877
3358378335B52B   ANA LAURA      MOREIRA                    NM     35086517833
3358461334B943   MARTIN         LOPEZ                      TX     90003596133
3358481A355972   MIGUEL         MORALES                    CA     90010288103
3358489A35598B   STEVE          CHAMP                      CA     90012728903
3358511837B471   WILLIAM        MILLER II                  NC     11009901183
3358595252B255   BARBARA        MCCRARY                    DC     81035519525
3358596915B393   CHARITY        KELLEY                     OR     44562469691
33585A41441285   CHARLENE       WRIGHT                     PA     51023330414
3358654A25B393   BRUCE          BOWER                      OR     90009325402
33587AA8A51339   CLAYTON        LACY                       OH     90014730080
335882A4351369   SHARAINE       HUFF                       OH     90008452043
3358898A291584   RIGOBERTO      QUIROZ                     NM     75057309802
33588AA8A51339   CLAYTON        LACY                       OH     90014730080
3358976715B393   SHAVONA        WILLIAMS                   OR     90013527671
3358B22384B943   AMANDA         BLACKWELL                  TX     76508392238
3358B58A92B87B   RON            HOOKER                     ID     42074525809
3358B634591563   ALEJANDRA      CASTRO                     TX     90008476345
33591682A91831   JEFFERSON      GORMAN                     OK     90012746820
335921A5776B44   CHRIS          HERNANDEZ                  CA     90001771057
3359242195B393   JAMES          BRUCE                      OR     90009764219
33592A7775B156   SAGRARIO       JAMIE                      AR     90009110777
33595194476B7B   ELDA           GALINDO                    CA     90000781944
3359573968B162   SHELEM         COLA                       UT     90012707396
3359626A25B52B   SANDRA         DIAZ                       NM     35041822602
33596AA717B43B   MARGARET       MARTIN                     NC     11073610071
3359821A94124B   ADAM           PHILIPS                    PA     90014182109
3359883488B16B   MICHELLE LEE   STONE                      UT     90004058348
3359981932B871   BIANCA         ARREDONDO                  ID     90013088193
33599A19161972   CHAVA          GENDELMAN                  CA     46042930191
3359B3A2A5B393   ROBERT         HAMILTON                   OR     44521943020
3359B55A947931   KYLE           MYERS                      AR     90013675509
3359B681272B35   IRIS           GUZMAN                     CO     90009636812
335B1293441285   SHAWN          RANALLO                    PA     90012482934
335B15A7455972   ALBERTO        BARRAZA                    CA     90010235074
335B168634124B   SHAYLA         HAMILTON                   PA     90010636863
335B1914491371   ALAN           HERANDEZ                   KS     90014159144
335B259315B52B   NARCISO        NEVAREZ                    NM     90014545931
335B3346291563   ANGELA         ERICKSON                   TX     90012853462
335B37A864124B   DAVID          HANEY                      PA     90014027086
335B459565B393   BRANDI         BLACKFORD                  OR     90015175956
335B4821851339   DAVID          LYKINS                     OH     90014668218
335B486735598B   DIAMOND        DIAMOND                    CA     90012668673
335B4937491563   RUBEN          MONDRAGON                  TX     90013379374
335B5366451339   KIMBERLY       AKERS                      OH     90014693664
335B541395B393   ROBERT H       SUITOR                     OR     90012464139
335B5428755972   LUPITA         RICO                       CA     90011074287
335B568587B43B   QIANA          HINTON                     NC     90000146858
335B6157A41285   JENNIFER       GREENWALT                  PA     90014801570
335B6358951369   DANIEL         LOUISE                     OH     90012183589
335B6A52A4124B   MONICA         GRIFFIN                    PA     90014180520
335B726819125B   ALEXANDER      DOMENECH                   GA     90008862681
335B7A8235B393   JARED          BIRCHFIELD                 OR     90007430823
335B8177655939   ISABEL         HERNANDEZ                  CA     90001171776
335B81A584124B   MAUNJALEIC     HOWARD                     PA     90013551058
335B882142B87B   ALEX           SERDYUKOV                  ID     90015118214
335B9273551369   CARRIE         CARR                       OH     90013132735
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335B9661836143   ADELIT          BALADEZ                   TX     90011326618
335B98AA191563   LETICIA         ACOSTA                    TX     75050398001
335BB518A5B52B   TRACY           LINDSEY                   NM     90003145180
33611373A41258   DAVE            BROWN                     PA     90013963730
336114AA491584   JESSICA         OROZCO                    TX     75054584004
33611A2777B449   JONELL          SUTTON                    NC     90005090277
3361221254124B   JAMES           BAZZANO                   PA     90014182125
336127A6154165   ANTHONY         BAXTER                    OR     47025497061
3361288A384378   NAIMA           RIVERS                    SC     90000328803
33613396A8B16B   JOSHUA          COON                      UT     90014453960
3361352472B871   KRISTIN         ENDERS                    ID     90007525247
3361396A551339   WHITNEY         RUFFIN                    OH     90014749605
3361476527166B   ZANE            SPENCER                   NY     90015477652
33614924A54165   ANNA            MURRAY                    OR     90013319240
336149A7A4B281   ISABEL          CRISTINA                  NE     90006549070
336153AA981621   JAMES           RANDALL                   MO     90004173009
33615A39155972   VICTORIA        FONSECA                   CA     48012070391
3361659595598B   MARIA           DOMINGUEZ                 CA     90013885959
3361672A191563   GREGORY         CARPENTER                 TX     90014647201
33616861A5B393   KELSEY          TAYLOR                    OR     90014248610
336172A3491831   RUSSELL         BLAN                      OK     90011892034
3361748A78B16B   CHANDRA         HENNESSY                  UT     90011324807
33618A6752B871   BARBARA         KIRK                      ID     90013960675
33618AA477B492   BRITTANY        FARRIS                    NC     11057320047
3361956A57B492   JOSE ARTURO     MENDOZA                   NC     90002215605
3361987532B835   PATRICIA        PETET                     ID     42003518753
33619A19991893   DAWN            DEBOSE                    OK     21034100199
33619A64291831   WHITNEY         PERKEY                    OK     90013670642
33619A8543B132   KAREN           JOSEPH                    DC     81088850854
3361B26125B52B   BOBBIE          VANBERG                   NM     90005722612
3361B523784378   ANTHONY         BOLDEN                    SC     90014905237
3361B75334B943   LORIE           GUILLORY                  TX     90012517533
336215A228B162   BRYAN           BRAILSFORD                UT     90004075022
3362161895B52B   ROBERT          WILLIS                    NM     90007526189
3362187315598B   SANDRA          VENTURA                   CA     90008628731
3362286A851339   JENNY           SANDLIN                   OH     90013408608
33622A65591831   SCOTT           SENF                      OK     90014730655
3362349355B156   ROSEMARIE       RIVERS                    AR     23008954935
3362422464B281   DANIEL          METHER                    IA     90013962246
3362451692B87B   SERGIO          ESPINOZA                  ID     90010625169
3362584615598B   MARBELLA        OREGON                    CA     49018398461
3362594274124B   RALPH           OLIVERIO                  PA     51098119427
33625A38A31424   ASHLEIGH        PILLA                     MO     27570180380
3362626318B162   RICHARD         HANSEN                    UT     31058052631
3362685A15598B   MARY            ARTHUR                    CA     90012898501
3362689815598B   MEAGAN          ALONSO                    CA     90005818981
3362766725598B   JEVON           WALDROP                   CA     90011326672
3362796344B943   LESTER          LOUISE                    TX     90015309634
336289A7A4B281   ISABEL          CRISTINA                  NE     90006549070
33628A8927B471   VANESSA         MCINTOSH                  NC     11017150892
3362B178436143   PEDRO           OLALDE                    TX     90009251784
3362B245441258   HOLLY           SENNETT                   PA     51081782454
3362B7A9447931   NICOLE          MCLENDON                  AR     90014337094
3362B929591371   DANA            OGEDA                     KS     90015139295
3362B948351369   PAUL            BUSCH                     OH     90013139483
3362BA91391371   DANIEL          ALVARADO                  KS     29014430913
33631247A2B835   THOMAS          ARAGON                    ID     42050232470
3363178297B471   MARIA           KONYAKHINA                NC     11046807829
33631A2875B393   MELISSA         FISHER                    OR     44596730287
33631A3A68B16B   MISTY DAWN      KESLER                    UT     90006510306
33631A6317B43B   RUBEN           JARAMILLO                 NC     11027590631
33632A7515B393   TAYLOR          HOLMES                    OR     90011090751
3363311318B16B   EVELYN          BUENROSTRO                UT     31013181131
3363316718B162   VIRGINIA        VILLA                     UT     31062441671
3363349A37B639   LASHERRY        BROWN                     GA     90014804903
3363486244B943   JOSE DE JESUS   GUDINO VILLANUEVA         TX     90009658624
33634A4784B592   JOEL            MORALES                   OK     90006300478
336354A2491371   ALEJANDRA       GUZMAN                    KS     90015174024
3363558A155972   RAUL            RODRIGUEZ                 CA     48027195801
3363678742B871   JOE             LEYBA                     ID     42054877874
33637A2285B52B   NIURVE          LEONPRIETO                NM     90014760228
33637A3175598B   BARBARA         REYA                      CA     90004730317
336382AAA8B16B   JOHSUA          NERIA                     UT     90010912000
3363918275598B   DEBORAH         RAY                       CA     90014801827
3363934288B16B   ROBERT          PAINTER                   UT     90013623428
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3363954512B871   JIM           WALLACE                     ID     90011885451
3363967755598B   ASHAUNTE      PHELPS                      CA     90012336775
3363B34158B494   PAYGO         IVR ACTIVATION              VA     90015363415
3363B485A7B43B   SHONTAVIA     BUCHANAN                    NC     90009074850
3363B52877B492   SANTEL        COSHAY                      NC     90013835287
3364151852B835   THOMAS        STEWART                     ID     42077105185
336415A9241285   JEFF          HAZEL                       PA     90013885092
33642A11A5B156   KIMBERLY      BONES                       AR     23009200110
3364372255B393   MICHELLE      MARLOWE                     OR     44521297225
33643A1895594B   MARY          WOODWARD                    CA     90014840189
33643A89384378   MANUEL        SANTOS                      SC     90013840893
3364487A82B87B   SHELLY        MATHISON                    ID     42057788708
3364543388B16B   JOSEY         ABBOTT                      UT     90012934338
33645578A47931   LINDA         ALMARD                      AR     90014445780
33645A6398B16B   ERIC          HARNS                       UT     90015300639
33645A91A4124B   SHEARLIE      BRITT                       PA     51045030910
3364614444B281   SHEILA        WARNER                      NE     90011641444
3364632894124B   DONNELL       PEARL                       PA     90014183289
3364656865598B   KATHY         GONZALEZ                    CA     49047025686
3364692317B639   KAMADI        MCCANTS                     GA     90001379231
33646A33A5B156   LAKEISHA      MONTGOMERY                  AR     90009330330
33647A1472B835   JAMES         SULLIVAN                    ID     42005930147
3364813192B93B   SIMON         SALAS                       CA     45091331319
3364813468B16B   SHAWN         DURAN                       UT     31018721346
3364828122B87B   COURTNEY      KRAUSE                      ID     90006662812
3364949474B943   STEVEN        STELLY                      TX     90014554947
3364B1A4141285   JOHN          BRUSH                       PA     51093011041
336518A185B156   TAMEKA        ROBERSON                    AR     90015278018
33651A12591831   SERENA        HEATH                       OK     90003090125
33651A47791563   TANYA         BACA                        TX     75087970477
33651A79541285   NICK          BROWN                       PA     90015450795
33651A8458B16B   STACY         CARYTON                     UT     31043920845
3365219845B52B   DULCE         ANGELES-FLORES              NM     35077401984
3365264372B87B   JENNIFER      MARTINEZ                    ID     42045876437
336554A254B943   ERIKA         LUA                         TX     90007874025
3365581A15B52B   JOELYN        BOYD                        NM     90013858101
3365655A67B492   LEIGHANNE     FLEMING                     NC     90013135506
3365656A691563   MANUEL        OROZCO                      TX     90013225606
3365679948B162   ADAM          WHIPPLE                     UT     90010007994
33657933A5B393   SARAH         CROWLEY                     OR     44549449330
3365793A391563   ALBERT        BARBA                       TX     75086259303
3365836685598B   ROSALIE       GAYLAN                      CA     90001713668
3365939324B281   DIANA         LATIN                       NE     90014803932
3365978527B492   REBECCA       SPRINGER                    NC     90002777852
3366284585B52B   NICOLE        OWENS                       NM     35007828458
3366285775B393   GLENN         CHARLESTON                  OR     90010918577
33662A39A51339   JOANNA        WOFFRD                      OH     90014870390
336636A6572B41   PAULINE       ROMERO                      CO     90013446065
3366429637B471   DEANA         BOYD                        NC     11080742963
336645A6191371   MARIO         OSORIO                      KS     29014215061
3366493684B281   LUIS          MARTINEZ                    NE     27072609368
3366632494124B   CORTNEY       STEINER                     PA     90014183249
3366691832B87B   ZEMY          DHWARA                      ID     90012699183
33666A2A284378   CARMELO       OROPAZ                      SC     90013240202
3366753154124B   LAKEYA        THORNHILL                   PA     90013835315
3366864682B87B   ALI           FATHI                       ID     90014346468
3366874525598B   JANICE        CLEM                        CA     90012737452
33668A16984378   HARRY         WRIGHT                      SC     90014000169
33668A8698B16B   JOHN          SMITH                       UT     90014680869
3366935344B281   CHASITY       RHODES                      NE     90003993534
336697A264B943   SHANTE        SMITH                       TX     90013777026
3366B59217B449   CARLOS        AGULAR                      NC     90011845921
3366B645436B77   CHRISTOPHER   HOLMQUIST                   OR     90014766454
3366B794547931   NEIL          RAGLAND                     AR     25073407945
3367272A641285   NIKEYA        EACKLES                     PA     90013987206
33673A57291831   RICKY         WILLIAMS                    OK     21046340572
336742A2357367   PAYGO         IVR ACTIVATION              MO     90009202023
336751A5A8B162   PAUL          THOMSON                     UT     90013731050
3367534384124B   ERNEST        HARRIS-STEWARD              PA     90014183438
3367549395598B   ALBERTO       ORTIZ                       CA     90012054939
336758A5581579   CYNTHIA       PANIAGUA                    IL     90010658055
3367599967B471   FOWLER        LATONYA                     NC     90002319996
3367646457B492   IVZ VELA      CUETO                       NC     90009574645
336771AA85598B   JOHN          PARKER                      CA     90012431008
33677683A54165   KATHLEEN      LILLY                       OR     47080246830
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33677A73991563   MARIO        NUNEZ                        TX     90011540739
336784A455B52B   ARTHUR       WILLIAM                      NM     90005224045
336784A4941285   LORI         GIGANTE                      PA     51068654049
3367854888B162   DAVENPORT    DAVID                        UT     90009775488
3367948725B156   ALEJANDRA    SEGOVIA                      AR     23077104872
3367B117A91563   CHRISTINE    AGUILAR                      TX     90013311170
3367B412947931   KRISTIN      KEMP                         AR     90013464129
3367BA1A25B393   PANIKI       MASUDI                       OR     44569960102
3368135658B162   AMELIA       PRICE                        UT     31017923565
336814A2591563   MARIBEL      GOMEZ                        TX     75089214025
3368159A48B16B   RECHELL      GOMEZ                        UT     90007275904
3368232978B16B   MARIA        CERVANTES                    UT     90015343297
3368318858B16B   LELAND       LLOYD                        UT     90013881885
3368345152B871   ISABEL       LOPEZ                        ID     90011874515
3368365355B277   VERNON       FAWBUSH                      KY     90008956535
33683977A91371   CHIAN        WATSON                       MO     90014179770
3368412A25B156   CHAERELLE    BROWN                        AR     90013271202
3368425344B943   JAKAYLA      HOLLOWAY                     TX     90012652534
336851AA747931   DANNY        MCGARRAH                     AR     25040341007
3368634664124B   NENA         HARRELL                      PA     90014183466
3368667425B52B   BUSH         ARSENIO                      NM     35059226742
3368791135B555   TAMANI       ORTIZ                        NM     90014109113
3368946A936143   SHONTEL      JONES                        TX     90013064609
3368996A741285   KATTIE       SUMLER                       PA     90013279607
3368B495891371   BRIDGET      EAGAN                        KS     29078334958
3368B841941285   WILLIE       WILLIAMS                     PA     51092078419
3368B89192B871   MICHELLE     BERRY                        ID     90015568919
3369145684B281   MARICRUZ     ROQUE                        NE     27062494568
3369145945598B   PEDRO        RODRIGUEZ                    CA     49023874594
3369183A551339   STEPHANIE    VANDENBURGH                  OH     90014888305
3369185A48B16B   NAOMI        ANSONE                       UT     31079768504
3369333742B87B   MATILDA      ROMAN                        ID     42077443374
33693511376B45   VICTOR       NUNEZ                        CA     90010985113
3369464AA4B281   SHANE        KNEIFEL                      IA     90014246400
336949A588B162   MATTHEW      WARREN                       UT     90015109058
3369625732B871   HEIDI        BOYMAN                       ID     90007882573
336965A8991831   KIARA        MACK                         OK     90014835089
3369666595B156   PRISCILLA    SINGLETON                    AR     90008526659
3369732415B253   BORIS        MONTALVO-SOCARRAS            KY     90010733241
3369778288B16B   JAMES        LALONDE                      UT     31061297828
3369811765B52B   ROSA         VALDEZ-ECOBER                NM     35087961176
33698A1754B542   ERIC         HARRIS                       OK     90009310175
33698A65872B31   WENDY        LEAR                         CO     90008200658
3369939945598B   BEVERLY      CUNNINGHAM                   CA     90009173994
33699A76491371   STEVE        THORNTON                     MO     90009130764
3369B299591831   TRECIA       MCKNIGHT                     OK     90005612995
3369B572A2B871   REED         KERR                         ID     90009535720
3369B631284378   RAMEL        HUNTER                       SC     90010996312
3369B72877B492   CHELSEA      CHILDERS                     NC     90009677287
3369B73A27B449   THOMAS       TEDDER                       NC     11071947302
336B117654B281   CURTIS       BEDFORD                      NE     90014891765
336B133947B492   CALEB        PASTULA                      NC     90015013394
336B1659491584   VICKY        SANCHEZ                      TX     75051986594
336B18A232B87B   KIMBERLY     ALDERSON                     ID     90015118023
336B218534B281   GANESH       KAMI                         NE     90014891853
336B231994B281   TIFFANY G    ANDERSON                     NE     90014803199
336B253815B156   NARA         SMITH                        AR     90011225381
336B2625A8B162   BRENTA       EHL                          UT     90013776250
336B2825455972   PAYGO        IVR ACTIVATION               CA     90013278254
336B2894991563   FRANK        NUNEZ                        TX     90012588949
336B28A6351369   CHARLES      SIZEMORE                     OH     90004358063
336B3432291831   ALFONSO      COBOS                        OK     90015304322
336B365354124B   LESLIE       ANGER                        PA     90011046535
336B3794A5598B   RYAN         EHRLICH                      CA     49069557940
336B423745B52B   VIRGINIA     CHAVIRA-FIERRO               NM     90010402374
336B4523784378   ANTHONY      BOLDEN                       SC     90014905237
336B4623491831   CANISHA      GIBBS                        OK     90013926234
336B4836491563   MARTHA       BARRON                       TX     90012948364
336B4982151339   NOEMI        PEREZ                        OH     66036749821
336B5178A91831   DANIEL       VERGARA                      OK     90009011780
336B599334124B   JAMES        WILLIAMS                     PA     51061569933
336B638334B943   JOSE         HERRERA                      TX     90004703833
336B662544B281   RAFAEL       RAMIREZ                      NE     90014796254
336B6824141285   ANITA        BROWN                        PA     90010478241
336B694915B393   LERAY        RADKEY                       OR     44579279491
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336B6A2918B16B   TRAVIS         MCCUBBIN                   UT     90008970291
336B732972B835   DEZERAE        PHILLIPS                   ID     90010653297
336B7877397B31   MAGGIE         PARRA                      CO     90011158773
336B798594B281   LATASHA        JONES                      NE     90000369859
336B9485391371   LETHEL         DAVIS                      KS     90008404853
336B959932B87B   MIKE           WOODWORD                   ID     90011145993
336BB226A5B398   LEONEL         MARTINEZ GONZALEZ          OR     90003492260
336BB368A41258   GLORIA         COWHERD                    PA     51049163680
3371124645598B   SANDY          PHAKORNKHAM                CA     90013032464
3371142532B87B   RACHEL         LUNA                       ID     90013124253
3371223734B281   NICHOLS        LYNNE                      IA     90012212373
3371274432B255   TURNESE        WILKINS                    DC     90012787443
3371312897B492   JOZEPH         SHALASH                    NC     11043441289
3371371825B156   ROY            HAMMONS                    AR     23026127182
3371381424B943   SHARON         CORVILLE                   TX     90015168142
3371412712B87B   JENNIFER       TENEYCK                    ID     42089691271
3371426347B449   AUTUMN         PAWLICK                    NC     90002812634
337145A5136143   CRUZ           AGUILAR                    TX     90011205051
337145A6791371   JEFF           BRENNEMAN                  KS     29090745067
3371513688B16B   CHRISTOPHER    GOMES                      UT     90005771368
3371633292B87B   FRANSISCO      CHAVEZ                     ID     90013953329
33716A48141285   JOSEPH         KREBS                      PA     90009850481
3371746617B449   RACHEL         ROBINSON                   NC     11097174661
33717598A91831   ASHANTI        COULTER                    OK     90008725980
33718264191B44   TODD           LEBER                      NC     90015192641
337184A2851369   KAREN          HYTCHYE                    OH     66039554028
3371883488B16B   MICHELLE LEE   STONE                      UT     90004058348
3371938814B281   JOSETTE        PENN                       NE     27043793881
3371947135B156   ROBERT         CROOS                      AR     90014104713
33719A55691371   MIGUEL         ESPARZA                    KS     90015100556
3371B152547931   MARVIN         MAGANA                     AR     25078741525
3371B32494124B   CORTNEY        STEINER                    PA     90014183249
3371BA63531424   MICHEAL        DAVISON                    MO     27583310635
3372121174B943   MELVIA         BRADLEX                    TX     90015012117
3372122257B471   CRISTIAN       HERNANDEZ                  NC     11029502225
3372147A34124B   ROSSLYN        FREEMAN                    PA     51022634703
33721A4352B835   HARRY          KISTER                     ID     90009830435
337222A3584378   NATASHA        JOHNSON                    SC     14502292035
3372242325B52B   FLOR           ARBALLO                    NM     90002644232
33723296A5B156   TONYA          COURTNEY-NICHOLS           AR     23019432960
337234A582B835   GLEN           KISER                      ID     90004144058
33723541A4B281   MARIA          RIVAS                      NE     90014805410
33723A7232B871   KAREN          RASMUSSEN                  ID     42098790723
337245A467B639   SHONDA         RANSOM                     GA     90009685046
33725375A91831   JENIFER        BARRETT                    OK     90012783750
3372561357B639   DWIGHT         PHILLIPS                   GA     90011356135
3372631498B16B   KEVIN          DOMINGUEZ                  UT     90013883149
337263A352B87B   AARON          BOYER                      ID     90015533035
3372648462B835   JACOB          DIAZ                       ID     90014844846
33726995A51369   JOE            HARRINGTON                 OH     90009869950
3372748252B835   STEVE          GUERRERO                   ID     42091344825
33727A8137B43B   KEISHA         LUNDY                      NC     90007070813
3372811152B835   MICHAEL        BURKE                      ID     90014811115
33728422A4124B   HENRY          CAVIL                      PA     90014184220
3372859982B871   SAMANTHA       GARCIA                     ID     90009565998
33728A28681642   MARIE          CARTER                     MO     90012260286
33728A31455972   STEFANI        BUTLER                     CA     90006960314
33728A4A791584   SANDRA         ARTALEJO                   TX     90007280407
33728A55791563   JOSE           HERRERA                    TX     90012640557
3372978165598B   JOSE           DELGADO                    CA     49085607816
3372B739191893   ALISON         ROSE                       OK     21035527391
33731528A4124B   EDWIN          LOVE                       PA     51027915280
33731A59354165   DARREN         CHMELA                     OR     47070510593
3373218252B93B   CRYSTAL        HOLLIS                     CA     45060191825
337325A557B449   APRIL          REDMOND                    NC     11069835055
3373261A62B835   FLOYD          LAY                        ID     90013326106
3373296454B943   LASANDRA       HAMILTON                   TX     90005659645
337335AAA55959   MINDY          MCINTYRE                   CA     90004385000
33733A1A75598B   NADIA          ZARAGOZA                   CA     90006220107
33733A43951369   TASHA          SHAZIER                    OH     90013140439
3373472273B132   CARLOS         QUEZADA                    MD     90013047227
3373512955B393   KETCHER        ERIC                       OR     44556171295
3373596A451339   BRANDY         BOLDEN                     OH     90009879604
3373652A44124B   GALE           ZILKO                      PA     90014185204
33737267A41285   RYAN           LIVINGSTON                 PA     90010392670
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337373A6191563   ANA          HERRERA                      TX     75096153061
3373755514124B   VINCENT      SYLVESTER                    PA     51049185551
33737AA1761945   DAVID        WEISBROD                     CA     90008810017
3373818A17B449   EDWARD       HALL                         NC     11059861801
3373889A14B943   DWIGHT       PITTS                        TX     76593348901
3373892994124B   FABIEN       MOREAU                       PA     51096259299
3373997467B639   CHEVELLE     INGERSOLL                    AL     90003709746
33739A9862B871   ELESHA       PACE                         ID     42045760986
3373B158941258   KARL         JOHNSON                      PA     51007431589
3373B45884124B   STEVEN       GONSAR                       PA     90014184588
3373B98964B943   ROSALBA      DE HOYOS                     TX     76534449896
3374135A63B352   MICHAEL      CONKLIN                      CO     90004963506
33741552A55972   MICHELLE     PEREZ                        CA     48061735520
33741858A54165   WILLIAM      FLETCHER                     OR     47045268580
3374319244B943   TRACIE       HANKS                        TX     90012831924
337442A5651339   TOBIAS       ROGRIGUEZ                    OH     90007292056
33744443A2B87B   PU           AH                           ID     90012074430
33744481A91563   SANCHEZ      ALMA                         TX     90004824810
3374475782B871   LORI         HALL                         ID     42042887578
337451A152B87B   ALBERTO      SOTELO                       ID     90012621015
3374523685B156   RONNIE       THOMAS                       AR     90001472368
3374545A691831   NIGEL        WITHERSPOON                  OK     90010464506
33746225A33634   MELODY       ATKINS                       NC     90011552250
3374658987B873   YAMINAH      SMITH                        IL     90014145898
3374682634124B   MAANDEEP     SHARMA                       PA     90013968263
3374763974B281   KEVIN        JONE                         NE     90014806397
33747785A8B162   MAINETTE     BARNES                       UT     90006397850
3374869542B93B   CURTIS       CRISP                        CA     45093226954
3374B715641285   DANIEL       ROWE                         PA     90015167156
3374BA6A53B391   MICHAEL      KUMMET                       CO     33047500605
33752471A36143   JESUS        GARCIA                       TX     90007864710
3375254474124B   JUDITH       ONDECHEK                     PA     90003965447
3375279414438B   KIZZY        CORBITT                      MD     90014627941
3375311A647931   STEPHANIE    OAKLEY                       AR     90014581106
337534A445598B   NAOMI        ALVARADO                     CA     90013674044
33753553A3B132   SANTOS       HERNANDEZ                    DC     90015145530
3375357672B871   RUBY         ZARAGOZA                     ID     90013545767
3375371538B16B   DAWN         CASTILLO                     UT     90006027153
3375436277B492   MARKEVIOUS   DURHAM                       NC     90011323627
3375485188B162   PAHL         BENCH                        UT     31000928518
33755952A47931   VIENGMANY    POUNTHAHEANGSY               AR     90013479520
3375619177B471   LAURA        CLOWERS                      NC     90008171917
3375653144B534   MARCUS       SMITH                        OK     90008125314
33756933A5B393   SARAH        CROWLEY                      OR     44549449330
3375748254B281   CHRIS        NICHOLS                      NE     90006284825
3375767174B943   PATRICK      DAVIS                        TX     76510836717
33757A1665598B   JAVIER       MOLINA                       CA     90015310166
337582A4331472   DEBRA        STUKENBROCK                  MO     90001662043
3375842652B87B   AARON        MUCK                         ID     90015364265
3375867A841285   SHARON       BROWN                        PA     90012746708
33758731A5B156   ASHLEY       HOLLIS                       AR     90013787310
3375979284B943   PRISCILA     CIBRIAN                      TX     90012747928
3375985A52B871   ROBIN        SALINAS                      ID     90009978505
33759884A36B77   ANTONIO      ROMERO                       OR     44504248840
3375B23155598B   ELIZABETH    FLORES                       CA     90012772315
3375B39957B471   MARIO        ASHBY                        NC     11045053995
3375B86572B835   MARGARITA    URRUTIA                      ID     90014208657
3375B96212B835   ZULEICA      ALCANTAR                     ID     90011349621
3375BA87831683   SHAWN        WHITE                        KS     22038300878
337611A8731683   WILLIAM      ROBEY                        KS     22021431087
3376126A391831   VICTOR       POWERS                       OK     21029952603
337613AA95598B   PALAFOX      ANTONIA                      CA     90007673009
3376226272B835   TYRA         SMART                        ID     90006652627
3376231A871932   LAMONT       SPEARS                       CO     90007013108
3376244467B43B   TONI         MOODY                        NC     11056724446
33762628636B21   MARK         HALLER                       OR     90010056286
33762918A5598B   ELOISA       LOPEZ                        CA     49060569180
337636A792B871   THERESA      KELLY                        ID     42027576079
33763A85391831   KATIOYA      TURNER                       OK     90009730853
33764577A2B871   MARCOS       HOWARD                       ID     90013775770
3376486347B449   LESTER       CASTELLANOS                  NC     11039638634
3376488345598B   JESSE        RAMIREZ                      CA     90011398834
3376565924124B   JOHN         CONKLIN                      PA     90014186592
3376566362B835   RON          ZECHMANN                     ID     90001996636
33765A33551369   TINA         FITZWATER                    OH     90013590335
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3376642235598B   ALICIA       CARBAJAL                     CA     90009184223
3376674645B156   ORLANDO      WASHINGTON                   AR     90014207464
33766A1397B449   JANET        LANGLEY                      NC     90005580139
33766A8A455972   GINA         MUNOZ                        CA     90009390804
3376731354B943   LISA         STARK                        TX     76590233135
337675A2991584   DANIEL       CASTILLO                     TX     75054845029
3376828875B156   WILLIAM      CAMPBELL                     AR     23002352887
337686A315B52B   PAYGO        IVR ACTIVATION               NM     90012516031
337688AA14B281   TYLER        WESTFALL                     NE     90007848001
33768A2262B871   JEANIFER     BIGLER                       ID     90010100226
337694A794B943   REGINA       BRANTLEY                     TX     90014714079
3376973578B162   GUADALUPE    ALCANTAR                     UT     90012737357
33769A74854165   VICTOR       ELVIS                        OR     90005380748
3376B55314B954   MONICA       ROMAN                        TX     90014465531
3376B568891831   ALICIA       VALVERDI                     OK     21058525688
3376B6A145B393   ROGERS       MITCHELL                     OR     90015176014
3376B744557128   FLOR         GARCIA                       VA     81026137445
3376B83A12B871   JUSTIN       LEFEVRE                      ID     90007568301
3376B918191371   FRANCISCO    CACIQUE                      KS     29054789181
3376B98644B943   KAYLA        HERON                        TX     90015019864
3376BA29741258   LASHAY       GALMER                       PA     90013400297
3377181344B281   JAMES        SINNETT                      NE     90006658134
33771971336B77   CABRERRA     RAUL                         OR     90004229713
3377299715B156   BEVAN        STREET                       AR     90008619971
33772A14491831   SAMANTHA     REMICK                       OK     21063030144
3377377398B162   MARIA        VILLASENOR                   UT     31017007739
33773836A47931   BECKY        SUMMER                       AR     90013768360
3377384A44124B   ASHLEY       KRAMER                       PA     51074228404
3377428AA31424   APRIL        CHAMBERS                     MO     27577752800
3377445798B16B   RICARDO      LOPEZ                        UT     90000674579
33774A9414B524   JULIUS       DILLAHAUNTY                  OK     21577090941
33774AA9151369   MICHAEL      HARGIS                       OH     90014510091
3377522644124B   MARY         DIMAGGIO                     PA     51079562264
3377561A24B943   MARCUS       DAVIS                        TX     76524396102
33775A58991563   ALDOLFO      IBARRA                       TX     75089180589
3377615A59152B   AIDA         SALCEDO                      TX     90001711505
3377698774B281   BOGDAN       GOLOGAN                      NE     90014719877
337775A447B471   RICHARD      BACCICHETI                   NC     11084835044
3377767757B43B   DANIEL       MARTEN                       NC     11058346775
3377789955598B   DANIEL       RODRIGUEZ                    CA     90011038995
33777A18691831   KRYSTAL      DEVORE                       OK     90008980186
3377897865B156   TROY         SIMS                         AR     23056769786
33778A9184B281   FLOR         BRAVO                        NE     90000230918
3377945577B43B   CELSO        FLORES                       NC     11011604557
33779762A7B492   KATRINA      BOYD                         NC     90008197620
3377976932B835   CHALET       PRIETO                       ID     90005237693
33779A6545B393   ELISABETH    MARTIN                       OR     90010660654
33779A99154165   ELI          MILES                        OR     90013340991
3377B46854B967   DARLENE      WOODWARD                     TX     76588124685
3377B6A9791537   LEONORA      PRESS                        TX     90010216097
3377B84A45598B   SHERRI       HESTER                       CA     90010188404
3377B934241285   GINGER       WAUGH                        PA     90015229342
3377BA3312B87B   RANDY        COX                          ID     42082520331
3378178874B281   TYREESES     WALTON                       NE     90014807887
33781836A7B492   DANO         CRAWFORD                     NC     90013518360
3378188314B943   STEVEN       LEBLANC                      TX     90005108831
337818A4491584   CYNTHIA      HERNANDEZ                    TX     75054848044
33781A18A51369   JASON        HUGHES                       OH     90009860180
3378295266B397   KRISTY       LAMBERT                      NH     90014769526
3378333893144B   DONNA        PERRY                        MO     90003983389
3378343142B93B   FAHMI        ALSUMERI                     CA     45026054314
3378363475B52B   TAMARA       SOPIWNIK                     NM     90014266347
3378379754B281   TYREESES     WALTON                       NE     90014807975
3378419942B871   KENNETH      MUDD                         ID     90010291994
3378449922B835   JONA         COCHERN                      ID     42031324992
3378458637B471   ARDERRICK    FANT                         NC     90000145863
33784AA3491371   MONICA       GAULT                        KS     90012950034
33785143A3B38B   AMANADA      VANMATRE                     CO     90011221430
337851A7941285   NICK         CARPENTER                    PA     90011021079
3378533A95B156   EDDIE        LEONARD                      AR     23069033309
337853A365598B   PATRICIA     PATTERSON                    CA     90012223036
3378569A62B87B   THOMAS       MCCORKLE                     ID     90005036906
337857A515B393   DEANDRE      MORTA                        OR     90014027051
337862A9191563   MARIA        MOLINAR                      TX     90009022091
3378674717B492   SIERRA       HALL                         NC     90013697471
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3378741A141277   AGUILAR         MORENO                    PA     51028284101
3378754A784378   EARNEST         BOZEMAN                   SC     90009735407
3378779A455972   ANGEL           CALDERON                  CA     48085827904
3378794742B835   VERONICA        MARTINEZ                  ID     90010889474
33788371A7B492   ELBIA           HERNANDEZ                 NC     90015113710
337883A212B871   ZANDEL          MCDONALD                  ID     42014583021
3378842712B835   TIFFANY         SPARGO                    ID     42025094271
3378844678B162   FELIP           GABRIEL                   UT     90008474467
33788951A5B156   CARMELLA        CHAMBERS                  AR     90011949510
3378939A654165   JAMES           GILL                      OR     90007703906
3378B132A51369   FOREST          MANSON                    OH     90013831320
3378B42345B52B   JOSE            RODRIGUEZ MARTINEZ        NM     35090134234
3379116645B52B   LORENZO         MORALES HERNANDEZ         NM     90012231664
3379164372B871   JENNIFER        MARTINEZ                  ID     42045876437
33791AA2855972   ANGELICA        REINA                     CA     90004850028
33793666A5B52B   VALERIE         MONTOYA                   NM     90014036660
33794331357B79   KENDELL         SMITH                     PA     90015273313
3379479A65B52B   RICHARD         WALKER                    NM     35007587906
33795126A5598B   SAMANTHA        BURCIAGA                  CA     90013471260
337962A8641277   TNAI            WILLS                     PA     51022652086
3379695845B393   KEVIN           YORK                      OR     44563349584
33796A78541258   JACQUELYNN      SMITH                     PA     90012000785
3379772518B16B   BENJAMIN        MAISEY                    UT     90015327251
33797815A55939   IRAI            OREGON                    CA     90012998150
3379817A77B449   TSAHI           HARRIS                    NC     11070441707
3379825938B162   BRITNEY         BIRD                      UT     90007262593
3379829837B471   IVERY           POTLOW                    NC     11068962983
3379865684B943   JAVIER          BALDOMERO                 TX     90011526568
33798A14541277   WALTER          GADZALA JR                PA     51056530145
33799256A47931   JONATHAN        HERNANDEZ                 AR     90013282560
337994A2141258   JOAN            MORENA                    PA     51052514021
337994A448154B   JULIA           GARCIA                    IL     20528064044
337996A465B393   MICHAEL         BRAVIO                    OR     90013656046
33799A8897B639   ALICIA          GLENN                     GA     15033150889
3379B17197B492   JANOVIA         BROOKS                    NC     11072471719
3379B39365B156   SHEQUITA        DOTSTRY                   AR     90015203936
3379B41A72B87B   ERICA           FRONTERAS                 ID     90007314107
3379B773636B77   EVANISTO        MONTES                    OR     90011967736
3379B877391831   JESSE           MARTINEZ                  OK     90013898773
3379B88154B281   MATTHEW         SCHULZE                   NE     90014808815
337B1423124B25   GAIL            HART                      DC     90003374231
337B17A584B281   SUSAN           ZAHN                      NE     27061807058
337B219482B835   RUSSELL         GOLDSMITH                 ID     42024591948
337B2245436143   VALENTINE       GARCIA                    TX     90011452454
337B388927B492   DEMETRIA        MILLS                     NC     90010988892
337B4AA695B393   LAURIE          SIMMS                     OR     90010270069
337B595A58B16B   RHONDA          GUTIERREZ                 UT     90011069505
337B6179A5B156   ADAM            BURDESS                   AR     90014871790
337B6313891563   RAUL            CASTRO                    TX     75036943138
337B6318836B77   BRIAN           LAVEN                     OR     90004353188
337B6499555972   JULIA           MARTINEZ                  CA     90009324995
337B7114551339   MELINDA         MCGEE                     OH     90011791145
337B731874B943   EDGER           LUA                       TX     90013253187
337B735124124B   TADEVOSYAN      LILYA                     PA     90014183512
337B741647B639   APRIL           BARDGE                    GA     90004764164
337B749735B52B   MARIANO         MARTINEZ                  NM     90008884973
337B7718791563   MANUEL          PORTILLO                  TX     90002827187
337B78A5291831   TAD             SAMPSEL                   OK     90009398052
337B795945B393   TALIAH          FRANKLIN                  OR     90014689594
337B7A3A155972   CECILIA         CHAIREZ                   CA     48049090301
337B818585B58B   MARIA ROSARIO   LUJAN                     NM     90011751858
337B818935B156   KMBERLY         DOEBELE                   AR     23003811893
337B9169251369   JONATHON        CHARLES                   OH     90001211692
337BB217484378   RICARDO         LOPEZ                     SC     90010172174
337BB377A91371   NAYELI          CARRILLO                  KS     90011253770
337BB39165B156   MICHELLE        PEARSON                   AR     90010963916
3381129767B492   LATOSHA         HANEY                     NC     90011952976
3381175834124B   KEVIN           SINGLETON                 PA     51017297583
33811A34591563   CELIA           CAMBEROS                  TX     90000410345
3381282134B943   FREDA           DAILEY                    TX     76598598213
3381533A87B471   SANDRA          MYRICK                    NC     11074173308
33815AA218B16B   LONNIE          SUTTON                    UT     90002960021
33816319A4B281   JONATHAN        THOMAS                    NE     90014903190
3381717A951369   GLORIA          WALKER                    OH     90013141709
3381738877B449   JOSEPH V        ZOLTAK                    NC     90011793887
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3381788744124B   ERLENE              CLANCY                PA     90015038874
338179AA65B156   AUDREY              HERVEY                AR     90015319006
338185AA741285   ALICE               GREEN                 PA     51067945007
33818A2527B471   LANITIA             WESTBROOK             NC     90011160252
3381962294B943   DEMARUS             CUELLAR               TX     90014196229
3381981715599B   ALEJANDRO           RIVAS                 CA     49082758171
3381B328791831   TERRI               FINNIGAN              OK     21058213287
3381B43248B16B   REBECCA             ARCHULETA             UT     31015314324
3381B44182B871   MICHAEL             AUSTIN                ID     90014664418
3381B516391371   ASHLEY              PECINA                KS     90011265163
3381B65A25B393   BRIAN               SCHMIDT               OR     90003186502
33821571A36143   ARNOLD              MARTINEZ              TX     90002895710
3382159774B943   WONDA               LEWIS                 TX     90014785977
33821A39247931   EDUVINA             VERA                  AR     90014830392
3382244262B835   DANIELLE            RASMUSSEN             ID     90012444426
33822897A2B871   LININGER            ROSE                  ID     90007568970
3382323715598B   JASMINE             WILLIAMS              CA     90013422371
33823357A8B167   KEVIN               CHRISTIANSEN          UT     31039123570
3382395967B471   RAVEN               PRIDGE                NC     90008399596
33823A3A551339   CECILLIA            KEMPF                 OH     90011840305
3382464877B449   CARA                KENNEY                NC     11095026487
3382482812B87B   TABITHA             HECKATHORN            ID     90010248281
3382532474B281   GABRIELLE LUCILLE   HORTON                IA     90014903247
33826924A4B281   LAFAYETTE           NELSON                NE     90011559240
33827156A5B156   KEITH               HARPER JR.            AR     23077351560
3382731A891893   DONNA               BOWERS                OK     21098603108
3382733934B281   JENNIFER            FURNISS               NE     90014903393
33827A26A5598B   JAZZMINE            APODACA               CA     90013010260
33828291A8B16B   APRIL               APPLEBY               UT     90013072910
33828619A8B16B   MARIA               VELAZQUEZ             UT     90011326190
3382928874B943   VICTOR              ESCAMILLA             TX     76562942887
338296A7891563   MICHELLE            OLIVAS                TX     90005976078
3382B253355972   MARCO               BECERRA               CA     90009622533
3382B423341285   RAY                 SECOLI                PA     51077634233
3382B56A57B492   JOSE ARTURO         MENDOZA               NC     90002215605
3382B799354165   DEBRA               VILLA                 OR     90013747993
3382B96558B162   CHRISTINE           MILLER                UT     90007619655
3382BA4788B16B   JOSEPH              VANDRIMMELEN          UT     31086160478
3383147175B156   JASON               PYLE                  AR     90013804717
338319A237B449   VALERIE             PERKINS               NC     90007109023
33832455A4B943   PAOLA               RODRIGUEZ             TX     90010854550
33833377A91371   NAYELI              CARRILLO              KS     90011253770
33833485A5598B   VERONICA            CASTRO                CA     90010904850
3383389A44124B   KAREN               NEAL                  PA     51041398904
3383471815B156   ANITA               POPE                  AR     23036267181
338353A475B52B   CHRIS               LISTER                NM     35040663047
33835661A9379B   TISHE               NELSON                OH     90010216610
338362A467B492   JASHAD              BARNETT               NC     90011412046
338368A229155B   LIUS                RAMIREZ               TX     90008458022
3383721177B43B   KENNETH             HUEY                  NC     11081722117
3383737815B393   MICHELLE            DE LA CRUZ            OR     90003633781
33837A7665B156   MARQUIS             DAVIS                 AR     90014890766
33838323A7B639   ROSA                HILL                  GA     90011753230
3383866997B492   MARIA MARLENE       CASTILLO              NC     90015376699
338389A834B943   JOSE                PEREZ                 TX     90013169083
33838A89A5598B   BRANDI              WILLIAMS              CA     90011110890
3383963162B87B   JOEY                SABATINO              ID     90015616316
338396A3751329   LAKEISHA            RODGERS               OH     90008566037
3383B1A1155972   RENEE               HUPP                  CA     48029701011
3383B357991584   JULIAN              CORRAL                TX     90007283579
3384133A141258   JAMAL               BLAIR                 PA     90013953301
3384284AA5B156   JAMES               BRADFORD              AR     23072578400
338428A285B59B   ROSA                TORRES                NM     90012768028
338431A675B156   DEVANTE             WARE                  AR     90012191067
3384442728B162   MARTHA              LEMUS                 UT     90004364272
3384469978B162   HYRUM               RAWLINSON             UT     90014106997
33846A69A72B36   SANDRA              ROBINSON              CO     33080180690
33847131A41258   DANYELL             MOORE                 PA     90012641310
33848214A51339   COLLETTA            DAY                   OH     66060562140
3384827AA41258   SAM                 SMITH                 PA     90013952700
338493A7A47931   TIFFANY             LOVEALL               AR     90013443070
338498A264B943   VICTOR              SANDOVAL              TX     90010958026
33849A2567B639   PATRICIA            BANKS                 GA     90005080256
3384B215A51369   DELORES             DICKEY                OH     90013142150
3384B4A2855972   DAVID               RODRIGUEZ             CA     90010984028
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3385175695B52B   FRANCINE      GONZALES                    NM     90014837569
3385194374B943   JUAN          VEGA                        TX     90007739437
33851A1512B93B   BEN           DANIEL                      CA     90006650151
3385462874124B   CRISEENA      JOHNSON                     PA     51096266287
3385476592B87B   KATHY         HOBBS                       ID     42094647659
33854788A41285   SAMUEL        MAKIESE                     PA     90013527880
3385499545B391   ANTONIO       LOPEZ-GONZALEZ              OR     90014659954
3385517118B179   OFA           TAIESE                      UT     90014961711
3385589685598B   ABEL          CRUZ                        CA     49002718968
33856A4788B16B   JOSEPH        VANDRIMMELEN                UT     31086160478
3385852252B87B   LORI          GREEN                       ID     90009345225
3385926117B471   LUIS          MEJIA                       NC     90008682611
3385965738B162   MENDEZ        GRACIELA                    UT     90009776573
3385973A755972   JOANN         KEENEY                      CA     90011437307
33859A1323B132   OLVIN OMAR    CHIRINOS MENDEZ             DC     90000960132
33859A94A7B43B   KIMONA        THOMAS                      NC     11011650940
3385B56232B835   JAMES         KENT                        ID     90009165623
3385B949A5B393   LARRY         TOOLEY                      OR     90010709490
3386167662B93B   ELIZABETH     RODRIGUEZ                   CA     90000406766
3386248575B393   GLADYS        GUTIERRES                   OR     44533024857
3386273977B471   ESMERALDA     QUESADA                     NC     11016377397
3386294118B16B   LUIS          BRIONES                     UT     31090249411
3386343A991371   PATRICIA      NOON                        KS     90013364309
3386385A67B449   KENDALL       MAYS                        NC     90011018506
3386467338B16B   TREVER        WHITE                       UT     90015196733
3386542A92B835   VERONICA      KINNEY                      ID     90013954209
338662A265B59B   AUDRIA        BILLER                      NM     35091212026
3386669127B639   ALLISTER      MARSHALL                    GA     15012806912
33867242A55972   TAMARA        RAMEY                       CA     48056422420
33868984A4B943   FREDERICK     GREEN                       TX     90014639840
33868A1A88598B   JUDY          SPENCER                     KY     90010330108
33868AA832B871   TETA          MULISA                      ID     90015430083
3386942528B162   JASON         HARPER                      UT     90010004252
33869454A7B492   JAMES         EUBANKS                     NC     90009584540
3386B46312B871   MOHAMMAD      MOHAMMADI                   ID     42081444631
3386B644751369   JOHNITA       DUKES                       OH     66090166447
3387226435B52B   ANGELA        FRANCO                      NM     35059852643
33872422A2B835   DUSTIN        HOOPER                      ID     90015094220
3387283144B943   TANIQUA       BANKS                       TX     90004048314
3387289878B16B   CHRISTOPHER   GALVIN                      UT     90011068987
3387327183B132   HERU          WALMSLEY                    VA     90012762718
338735AA45B393   JONATHON      TICHROB                     OR     90015345004
3387391495B52B   MATTHEW       GOMEZ                       NM     35092459149
33873AA5941258   ROBERT        GOBCIO                      PA     51008400059
3387434795B393   ADAM          LAZENBY                     OR     90005103479
3387519787B492   ANDERSON      JORDAN                      NC     90009731978
3387665AA2B835   GINA          HALLMAN                     ID     42073196500
3387667447B639   DOMOUIQUE     RALEIGH                     GA     15011486744
33877141A8B162   FREDY         GARCIA                      UT     90013661410
3387725A472B23   SONIA         GARCIA                      CO     33095442504
3387742957B492   ANGELICA      JIMENEZ                     NC     90003454295
33877855A54165   MARY          MILLER                      OR     47021258550
338784A385598B   OVONDA        WILLIAMS                    CA     49069904038
338785AA75598B   ROSALINDA     PEREZ                       CA     90010905007
3387969A554191   IAN           STRAUSS                     OR     47066716905
3387B433791371   JOHN          BRASWELL                    KS     90009814337
338817A6655972   RICHARD       MCHALEY                     CA     48017057066
3388273452B871   SARAH         ESHELMAN                    ID     42010157345
33882AAA655972   JAMAR         JONES                       CA     90015340006
33883524A91831   ANTHONY       CLARK                       OK     90005695240
3388427687B492   GUADALUPE     LOPEZ                       NC     90011412768
33884524A91543   MIREILLE      GUITERREZ                   TX     90014615240
338854A822B835   REBECCA       CALLIER                     ID     90004124082
33885652A7B492   EBONY         SHARPE                      NC     90012556520
3388581584124B   PAULA         VOLKMAN                     PA     90002458158
3388634695B393   ANNA          DOYLE                       OR     90014873469
338863A412B835   KABONGO       MAKULATA                    ID     90014523041
33886792A4124B   BARBIE        BECKLEY                     PA     51038127920
3388757AA4B281   RICHARD       LARA                        NE     90007465700
3388787297166B   RONALD        DIEBEL                      NY     52018168729
338878A128B16B   TINA          ORRIS                       UT     90001178012
33888A31254165   LORENA        SEDANO-ROBLEDO              OR     90002280312
338892A7A5B393   KARI          MILER                       OR     90014992070
3388931468B16B   NICOLE        JAMIESON                    UT     31037723146
3388997A454165   ED            FORD                        OR     90011489704
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3388B257641258   STEPHANIE    STEEB                        PA     90014802576
3388B439536143   ERIC         CUELLAR                      TX     90014574395
3388B67A141277   KAHN         WILLIAMS                     PA     51070066701
3389244358B162   SHELLY       CAMARA                       UT     90005994435
33892A4555598B   SANDY        THAO                         CA     90002570455
3389318384B943   TANYA        LEWIS                        TX     76596951838
3389331395B393   SHERESE S    WILLIAMS                     OR     90003903139
338934A1344B5B   ANTONIO      TOBIAS                       OH     90014324013
33893A7552B871   J.           ALLEN                        ID     42011450755
3389454845B156   MARK         SMITH                        AR     23044445484
33894A74A2B871   JAUN         PAZ                          ID     90010660740
3389551445598B   KIM          NEWTON                       CA     90013675144
33896758A91563   MARK         CHAVIRA                      TX     75076627580
33897479872B36   QUINCY       WILKINS III                  CO     90007824798
338974A655598B   MARIA        GARCIA                       CA     49035694065
3389854184B531   ASHLEY       RICHARDSON                   OK     21587705418
3389917794B943   ANTONIO      BARAJAS                      TX     90005211779
3389949188B162   MARK         STIMSON                      UT     31081944918
3389B386941277   EVELYN       WASHINGTON                   PA     51065823869
3389B7A1954165   CYNTHIA      LITTLE NATION                OR     47046057019
338B117214B547   BRENDA       BAKER                        OK     90010831721
338B122825B156   GWENDOLYN    FORD                         AR     90010102282
338B155297B43B   SHERIKA A    JAMESON                      NC     11056735529
338B1665355972   ELIZABETH    RUTH MOSS                    CA     48028536653
338B1A87A2B871   CLEMENTINE   NZAMURERA                    ID     90013960870
338B337982B87B   JENNIFER     STINSON                      ID     90014553798
338B529262B835   JACKIE       KENNEDY                      ID     42091812926
338B5389531475   JOHN         JOHNSON                      MO     90003143895
338B5549251369   TRACEY       RICHMOND                     OH     66002455492
338B5A49991371   ROBERTO      ESPARZA                      KS     90012470499
338B618A15598B   MARIA        NAVARRO                      CA     49060501801
338B667485B52B   TRAVIS       HARDY                        NM     90012246748
338B7283A91584   ILEEN        BARRERAS                     TX     90007282830
338B73A757B449   JONATHAN     ESPARZA                      NC     90011793075
338B857875B156   DANIELLE     HEDRICK                      AR     90014785787
338B8736791563   ROLANDO      RIVERA                       TX     90006607367
338B8776741258   DANIEL       HANCOCK                      PA     90014727767
338B932A955972   DALIA        MARTINEZ                     CA     48092253209
338B991828B162   JOSE         GARCIA                       UT     90015139182
338B999855598B   SABAS        GARCIA                       CA     49049129985
338BB2A4541258   JOHN         HARRIS                       PA     90013952045
338BB3A4554165   RHIANNON     PELROY                       OR     47070513045
338BB78A87B384   KATHERINE    HERNANDEZ                    VA     90004627808
338BB79924B943   FRANCISCO    GUTIERREZ                    TX     90014207992
338BB925755955   MARC         DE LA CRUZ                   CA     90010269257
338BBAA245B393   DESIREE      CANTU                        OR     44576980024
3391147665B379   ROBERT       SPENCER                      OR     44507614766
33912559136B77   JEFFREY      PETERSON                     OR     44548255591
33912839A51369   DENISE       BRANDENBURG                  OH     90013018390
3391298864B943   JOAQUIN      VENEGAS                      TX     76541369886
33913286933B55   RUTH         JAHRIG                       OH     90014222869
33913A3332B87B   ANTHONY      DOUGHERTY                    ID     90015540333
33913A8673B132   JAVON        GILBERT                      DC     90011960867
3391435857B639   YOLANDRA     SMITH                        GA     90007153585
339146A1A2B871   DENNIS       ALLOWAY                      ID     42019366010
339153A825598B   JACK         PASQUALE                     CA     49096963082
3391552382B87B   TABITHA      JOHNSON                      ID     90014095238
33916427A7B492   ROSE         MCCOY                        NC     90003934270
3391756412B835   ALISSA       DUNLAP                       ID     90012845641
3391763495B52B   NATALIE      FAJARDO                      NM     35097486349
3391784867B492   KEROY        FARR                         NC     90011008486
3391814A254165   MYCHAL       BOOTH                        OR     90014371402
3391968568B162   NAOMI        ORTEGA                       UT     90014606856
33919A48A5598B   LOU          VANG                         CA     49018120480
3391B139A36B77   BLANCA       ARROYO                       OR     90002831390
3391B59A955972   MONICA       ROLDAN                       CA     90001685909
3392161244B943   ALBERTO      CARDENAS                     TX     90015126124
3392164412B835   BARBARA      MORRISON                     ID     90012456441
33921812A2B87B   MEGAN        EDWARDS                      ID     42008328120
339222A8A5B358   NICK         CARATTINI                    OR     90012682080
33922A42441258   DEBRA        PRUCHNITZKY                  PA     51022560424
3392436A57B492   VINCENT      CARTER                       NC     11065053605
3392455562B835   SCOTT        MEDLIN                       ID     90015455556
3392471128B16B   TYREN        BROWN                        UT     90013697112
3392495A772B23   CHARLES      REED                         CO     90008669507
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3392748A641258   RONALD             LOCKWICH               PA     51024594806
33927A7222B87B   JUSTIN             RAY                    ID     90014800722
33928249272B2B   JAMIE              HOLUB                  CO     90001792492
3392849A82B87B   WENDY              WEST                   ID     90014404908
3392867828B162   DONALD             KIMBLE                 UT     90009626782
33928A11841258   TYRONE             BROWN                  PA     90013060118
3392928372B87B   AARON              CONWAY                 ID     90015332837
3392B227A2B87B   STEPHEN            SMITH                  ID     90013132270
3392B25A85598B   ROSIE              GARCIA                 CA     90012742508
3392B55175B156   SHERRELL           POLITE                 AR     90009555517
3392B87967B449   MICHELLE           MOORE                  NC     90002368796
3392B951791563   JAIME              CERVANTES              TX     90008689517
3392BA5252B87B   STEPHEN            SMITH                  ID     90013980525
3393184145598B   JENNIFER           MARTIN                 CA     49084268414
3393237785B52B   SAMANTHA           MIERA                  NM     90014303778
339324A2A41258   NICOLE             PORTERFIELD            PA     90013954020
3393263672B87B   BELIN              ALIAS                  ID     90011626367
3393578792B871   SANDEE             SMITH                  ID     42038337879
33937A9662B87B   CARLOS             FARIAS                 ID     90002200966
33937AA415B52B   LAURIE             TORRES                 NM     35031040041
33938393357B79   GARCIA             FELIZ                  PA     90015023933
3393855717B449   TALEENA            ASHLEY                 NC     11084535571
3393926A45598B   OLIVER             GODINEZ                CA     49008572604
3393955654B281   GLORIA             SCOTT                  NE     27077935565
3393956A42B871   SHANNON            TEAGLE                 ID     42092345604
3393B59997B43B   TIMOTHY            NEAL                   NC     90009655999
3393B64A94B943   ADRIANA            NAVA                   TX     90015126409
3393B6A4991831   NORRIS             BRANDON                OK     21051666049
339414A2951369   ANGELE             BLACKSHEAR-BROWN       OH     90001004029
3394191478B162   NEFI               GOMEZ                  UT     90001319147
33943A2362B835   CRAIG              HENKE                  ID     42073560236
3394442362B87B   TESA               WELDEN                 ID     90009624236
3394529655B52B   OSCAR              MONTE-REYES            NM     90010822965
33945A63941285   PATTY              MOREAU                 PA     90000720639
3394683A38B16B   KILI               NAU                    UT     90009338303
3394686A251369   SHILO              BURCH                  OH     90009868602
33946A61791831   SAMANTHA           JONES                  OK     90014190617
3394715348B162   MARIA              VICENTE                UT     90008581534
3394719595598B   AUNJELI            KINGSBURY              CA     90015011959
3394856A991371   SONYA              RHODES                 MO     29078715609
339495A3451369   ASHLEY             WAHL                   OH     90013155034
3394B18122B871   RICHARD            DILLON                 ID     42016631812
3394B1A7954165   LAWRENCE           SARGENT                OR     47092381079
3394B23425598B   MARINA             TORRES                 CA     90009542342
3394B279684368   NAIL SALON         SHE AND HE HAIR        SC     14522522796
3394B51664B943   DAZARAE            NOEL                   TX     90005185166
3394B87A15B264   BRENDA             BENDER                 KY     90014918701
3395119448B16B   KIMBERLEE          PILARCZYK              UT     90002691944
3395232117B639   JESSICA            TALLEY                 GA     90007923211
3395286142B871   DARREN             RODRIGUES              ID     90002498614
339532A5655933   CRISTOBAL          ESTRELLA               CA     90009182056
3395342275B398   RAFAEL             OROZCO                 OR     90011334227
3395396A191563   NIDIA C            MARTINEZ ROMO          TX     75049049601
3395534222B87B   NATHAN             RIJNIAK                ID     90013983422
3395635863B132   FLORENCE JUANITA   STUBBS                 MD     90014993586
33956A6894B281   DAVID              BIVENS                 NE     90014910689
33957452572B23   ALICIA             ORTIZ                  CO     90011984525
33957614A54165   ROMAN              HARRIS                 OR     90013916140
33957A4125B393   CASEY              BLACK                  OR     90011310412
3395892344B943   RUTH               HERNANDEZ              TX     90011809234
3395926755598B   DANITA             GEARY                  CA     90011152675
3395946A841277   CHRISTA            HALL                   PA     51088274608
3395965112B871   JUAN ALBERTO       CASTILLO               ID     90012546511
3395972414B943   MELISSA            DAVIS                  TX     90002787241
3395976225598B   DANITA             GEARY                  CA     90014707622
3395B435491371   HARMS              NICHOLAS               KS     90002144354
3395B613241285   TIMOTHY            HALSEL                 PA     51093586132
3396113257B492   ERICA              NUNEZ                  NC     90011011325
3396146278B162   NORMA              RODRIGUEZ              UT     90015194627
3396212182B87B   CHARLES            COOK                   ID     42027581218
3396215938B162   ANDRES             PRADO                  UT     90013671593
3396264492B871   SID                ROSE                   ID     42065176449
3396321752B87B   ROMAN              FERNANDEZ              ID     42003672175
339632A924B943   CHAKEERA           BROOKS                 TX     90011052092
3396334AA7B492   ISAM               HAJIBANA               NC     90000683400
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33964237A8B16B   KRISTA       BRYCE                        UT     90010172370
3396436185B156   KIM          JOHNSON                      AR     90000473618
33964AA9654165   LUKE         NOVAK                        OR     90013600096
3396526818B162   DAWN         MURDOCK                      UT     31034582681
3396583552B87B   CHRISTOPHE   DESMARAIS                    ID     90003058355
3396633172B87B   RODNEY       PENDLETON                    ID     90014823317
3396666645B156   ROBERT       SALAZAR                      AR     23062716664
33967A7775B393   PHEPEE       GRUDE                        OR     90010800777
3396864217B471   BRITTANY     NASH                         NC     90014156421
3396868AA31424   JESSICA      PERRY                        MO     90007266800
33968A5A455972   CATHERINE    LEIVA                        CA     90008700504
3396B495891371   BRIDGET      EAGAN                        KS     29078334958
3397155A431424   DANA         BEATY                        MO     27573245504
3397193967B449   PERDO        ALONSO                       NC     90011799396
3397332193B161   JENNIFER     BURNEY                       DC     90001633219
3397446418B16B   KRISTEN      OWENS                        UT     90007164641
3397472377B639   BETH         FUENTES                      GA     90011067237
33975687A5B52B   LEMUEL       JONHSON                      NM     90006466870
339758A824B943   THOMAS       CHAPMAN                      TX     90008928082
3397634795B393   ADAM         LAZENBY                      OR     90005103479
3397641475598B   VANESSA      MOBLEY                       CA     90008634147
3397655947B471   EDWIN        CHINCILLA                    NC     90006855594
33976762797B31   LETICIA      AGUILERA                     CO     90002777627
3397737164B532   DAVID        COLEMAN                      OK     90004083716
3397891675B345   RENE         OCHOA                        OR     90011009167
3397B568291538   FRANK        RUBIO                        TX     75033185682
3398131372B835   GABRIEL      MONTERO                      ID     42008343137
3398138357B639   AYANA        THREATT                      GA     90011133835
3398149934B943   HOLLIE       BARRAS                       TX     90004044993
33981A6A55B156   DARREL       BRILEY                       AR     23088400605
3398292345B536   LUIS         GUTIERREZ                    NM     90011299234
3398338937B492   MARIA        VERATOLENTINO                NC     90012803893
33983A69A5B156   DAVID        HIGGINS                      AR     90008630690
3398414AA7B449   NIKELAH      GAINES                       NC     11042891400
3398446624124B   CATRINA      HERRING                      PA     51026034662
3398446994B943   ALLEN        ROSEMORE                     TX     90012244699
3398471685B156   RONALD       WILLIAMS                     AR     23091587168
3398493617B639   EDWARD       MOORE                        GA     90006489361
339853A3755951   JESUS        ESCALERA                     CA     90009123037
33985735A55951   JOANA        BERNARDINO                   CA     90012447350
33985AA324B943   ELIAB        CIBRIAN                      TX     90012380032
3398622282B835   JOSEPHINE    PATTEE                       ID     42073062228
3398652432B871   GREEN        BEN                          ID     42094085243
339876A4691371   ADRIANA      DOMINGUEZ                    KS     29086966046
3398821735B52B   KIMBERLY     BLEA                         NM     90013652173
33988A1815598B   ARTHURO      REYES                        CA     90013840181
3398911525B52B   ERIC         TELLES                       NM     90014071152
3398972292B87B   OLIVIA       FERGUSON                     ID     90010037229
3398B17278B16B   TRICIA       MAYO                         UT     90010971727
3399179332B835   JACOB        BREWER                       ID     90013027933
3399217534124B   OYBEK        BAVAJANOV                    PA     90010881753
3399242298B16B   TONY         FAUSTO                       UT     90010014229
33992545A91371   DAKOTA       FOX                          KS     90013075450
3399272A25B156   TARSHA       JOHNSON                      AR     90006787202
339927A275B52B   ARLIEGH      JOHNSON                      NM     35024047027
33992A25441285   JAY          BELL                         PA     90014360254
3399322965B393   JENNIFER     HARP                         OR     90014282296
3399327138B16B   KIMBERLEE    BENAVIDES                    UT     31093452713
3399347122B835   SHASTA       RUIZ                         ID     90006224712
339937A5441285   TACHARA      HAWTORNE                     PA     90015417054
3399386527B471   LATISHA      DIXON                        NC     90004308652
33993A64391371   GERARDO      CASTOR                       KS     90011260643
33993AA118B162   RICARDO      MARTINEZ GUTIERREZ           UT     90015170011
3399433997B43B   SHELIA       NICK                         NC     11011933399
3399448814B554   CAMILA       ANDRADE                      OK     90011454881
33994675A32573   MICHELLE     DENNIS                       TX     90012126750
3399545422B87B   DANIEL       BARREIRO                     ID     90015594542
3399583655B358   TRACY        GARD                         OR     90009938365
33995A4535598B   EVANGELINA   GONZALEZ                     CA     49017380453
33996688A5B393   DAVID        THONGSY                      OR     90014616880
3399688257B492   SHAMIA       BUSH                         NC     90009728825
3399718965B156   SARAH        GRULKE                       AR     90011101896
3399725245B52B   ALLISON      SHAW                         NM     90012212524
3399773A14B943   DAVIS        TRAVOR                       TX     90014957301
3399887474B943   DESTINY      TAYLOR                       TX     90014408747
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3399911152B87B   MICHAEL      BURKE                        ID     90014811115
3399947375B557   NAOMI        BETANCOURT                   NM     90011564737
3399996955B393   TAMI         DESHIELDS                    OR     44555699695
3399B1A3A5B156   CHROMA       SAWYER                       AR     90013591030
339B121615B52B   CAREN        D'ORNELLAS                   NM     35052362161
339B166652B871   AMANDA       OLSEN                        ID     90007236665
339B1883754165   MAIRA        URENDA                       OR     90014928837
339B1A83291563   CINTHIA      CRUZ                         TX     75051510832
339B228552B87B   KEITH        WHEELER                      ID     42006332855
339B24A2155972   LAURIE       GONZALEZ                     CA     90008724021
339B312465B393   JIMMY        DRENNAN                      OR     90011541246
339B367517B449   ZAKIYYAH     MUHHAMMAD                    NC     90011796751
339B3797991371   EDGAR        RAMIREZ                      KS     90012217979
339B389464124B   ANDREW       STOKAN                       PA     90003408946
339B499755B156   QUINTHIA     THOMAS                       AR     90015529975
339B5A22255972   ANNA         AVALOS                       CA     90000660222
339B622472B835   ADRIANA      GARCIA                       ID     90010732247
339B686142B871   DARREN       RODRIGUES                    ID     90002498614
339B698767B449   WINNIE       CHEUNG                       NC     90011869876
339B952277B449   YOLANDA      RUIZ                         NC     90005365227
339B962155598B   JAMES        JOHNSON                      CA     90012156215
339B9689591893   LESLIE       MAXWELL                      OK     21089336895
339B987895598B   CATOLINA     VELASQUEZ                    CA     90002588789
339BB483591525   LUIS         PONCE                        TX     90008074835
33B1143644B943   ALEJANDRO    IGESIAS                      TX     76556954364
33B1169895B393   ELIZABETH    BEADLE                       OR     44569626989
33B1261782B835   COLT         SHANKS                       ID     90013046178
33B12731A5B156   ASHLEY       HOLLIS                       AR     90013787310
33B12784354165   KURTIS       DANIEL                       OR     90012187843
33B12883141258   HYSHEIA      SCOTT                        PA     51009878831
33B12A68491563   JERRY        DOMINGUEZ                    TX     90012720684
33B13758A91831   CHRISTOPHE   PFLUEGER                     OK     21083887580
33B1432854B943   JOSHUA       GUNNER                       TX     90012823285
33B1433122B87B   CARLOS       CAMACHO                      ID     42033283312
33B1534A151369   MARRY        TUNING                       OH     90012023401
33B1579466B392   ANGELA       DION                         NH     90011957946
33B15942591831   MICHELLA     WOODS                        OK     90010949425
33B1597A141277   SHELLY       CINKAN                       PA     51090609701
33B15A42177523   EDWARD       AGUILERA                     NV     90008750421
33B1633523B39B   JAMES        EBERLY                       CO     90007073352
33B169A615B156   L            CROSS                        AR     23024709061
33B17166254165   SHANNON      WIKOFF                       OR     90006701662
33B17371391371   LYN          DOYAL                        KS     29033073713
33B17432591831   YOLANDA      SANTIAGO                     OK     21061574325
33B1832544B281   DEON         FISHER                       NE     90014773254
33B18424591584   JUAN         CASTANEDA                    TX     75032394245
33B18462891831   CHASIDY      EDENS                        OK     90013274628
33B18926651369   BURMARO      GUMAZ                        OH     90009719266
33B18A44336143   RAUL         GARCIA                       TX     90011010443
33B19318A51339   SONYA        MCCULLER                     OH     90010613180
33B19775A5598B   MARJORIE     SILVA                        CA     49025707750
33B1B382772B23   CECIL        CARTER                       CO     33052663827
33B1BA3A585835   EDGAR        SALDIVAR                     CA     90006620305
33B1BA9245B393   TEISA        FUKOFUKA                     OR     44548550924
33B22776551369   TREVON       WHITE                        OH     90013937765
33B22994155972   PAULA        BREITMEYER                   CA     48045229941
33B23523336143   THERESA      TOLDERT                      TX     90006955233
33B23547231424   DIONNE       NELSON                       MO     90006195472
33B23587291831   CHRISTY      SPENCER                      OK     90015085872
33B2425379125B   MIKE         GREEN                        GA     90014102537
33B2447875B393   STACEY       WILLS                        OR     44562314787
33B2451962B835   CASSANDRA    TRAPP                        ID     90008805196
33B2473758B16B   ELDON        LOGHRY                       UT     90013807375
33B24AA9A91831   BRENDA       BOYD                         OK     90002530090
33B2513A936143   ANTONIO      ROMERO                       TX     90002001309
33B25614791563   ANGEL        ALMEIDA                      TX     90014346147
33B265A184B943   JAIME        SAUCEDA                      TX     76581845018
33B2662327B492   RONALD       TREMAIN II                   NC     90014716232
33B26888491563   YVETTE       ROSALES                      TX     75009288884
33B268AA255972   MONICA       GPNSALEZ                     CA     90012708002
33B2716662B87B   GINA         DENNIS                       ID     42092411666
33B27284751339   GARY         GILPIN                       OH     90011132847
33B2738825598B   SIYAH        PARKER                       CA     90010903882
33B2846798B162   CONCEPCION   SEGURA                       UT     90013494679
33B2862744B943   JEMMIAH      MCGREW                       TX     90014406274
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1655 of 2350


33B2919815598B   ROXANNE       VASQUEZ                     CA     90010301981
33B297A869375B   JARED         ROBERTS                     OH     90010127086
33B29956155936   DORA          GARCIA                      CA     90009329561
33B29A4495B52B   CARLOS        ROBLES                      NM     90013210449
33B2B27267B639   ANTONIO       HITCHCOCK                   GA     90014842726
33B2B343584378   FRANCISCO     ALEGRIA                     SC     90014993435
33B31341791371   RYAN          KRUSKAMP                    KS     90006353417
33B3146465598B   MARIA         GONSALEZ                    CA     49060444646
33B314A7841285   MARQUISE      MONTGOMERY                  PA     90013884078
33B31633447931   CARLOS        LEMUS                       AR     90006726334
33B3177A87B474   ALEXIS        RODRIGUEZ BLANCO            NC     90014807708
33B3199316194B   GILBERT       RODRIGUEZ                   CA     46076849931
33B32448293761   ANGI          ENNIS                       OH     90008284482
33B33512431424   SHORTY        MILTON                      MO     27518815124
33B33517751339   MARCUS        CASH                        OH     90014575177
33B33671198B25   WILLIAM       MCPHATTER                   NC     90014656711
33B3371425B393   PAOLA         CUEVAS                      OR     90011617142
33B3391528B162   AMANDA        KINDER                      UT     90014309152
33B33928341285   LAURA         FRONCZAK                    PA     90015199283
33B33A77441258   DAVID         DIXON                       PA     51082140774
33B34177A47931   MARY          SALAS                       AR     25028691770
33B3428964B943   KASANDRA      GARZA                       TX     90012612896
33B34738155972   ALFREDO       FARIAS                      CA     90010937381
33B34A5358B16B   HEIDY         STUFFLEBEAM                 UT     90004700535
33B3593A87B471   NANCY         DIAZ                        SC     90001889308
33B35968941258   ALBERT        PETERSON                    PA     51007699689
33B3598532B87B   RICK          HANCOCK                     ID     90013109853
33B35A3998B162   CYNTHIA       RIGBY                       UT     31027370399
33B36126447931   DINA          PERLERA                     AR     90003391264
33B3616A291371   YURI          VICHIS                      KS     90002691602
33B3621315B156   DAISY         GOMEZ                       AR     90013302131
33B36238784378   FERNANDO      MONTANO                     SC     90013752387
33B37126377367   JESSICA       STINSON                     IL     90013471263
33B37286391584   CESAR         PRIETO                      TX     75054682863
33B3743228B16B   JOEL          BRAEGGER                    UT     90007324322
33B3743335598B   MANUEL        GARCIA                      CA     49092264333
33B3759874B221   CARMELITA     ROGERS                      NE     90013145987
33B37742491563   LUIS          RIVERA                      TX     90015097424
33B3815945B156   ANDREA        HENRICHS                    AR     90002421594
33B385A5A55972   MOISES        FLORES                      CA     90014085050
33B39442141285   JAZZEE        JONES                       PA     90014464421
33B395A4A61437   RONALD        PARKER                      OH     90013935040
33B3964815B156   SHAWN         HALEY                       AR     23006766481
33B3982597B471   FELICE        MCGRILL                     NC     90009028259
33B3B12818B16B   VALEERO       ENRIGUE                     UT     90001441281
33B3B349391831   APRIL         MITCHEL                     OK     21054723493
33B3B384741285   CORTORRA      BROWNFIELD                  PA     90014743847
33B3B462591584   ESTHER        RUEDA                       TX     90000964625
33B3B61842B87B   JESSICA       CORNING                     ID     90003416184
33B3B81797B492   RANDI         BRIDGES                     NC     90005468179
33B4131185B524   ANA           LEDEZMA                     NM     90010563118
33B4147AA91563   ANTONIO       ALVAREZ                     TX     75059504700
33B41656991371   LETICIA       AGUIRRE                     KS     29081266569
33B41918655972   VERONICA      ACOSTA                      CA     90011099186
33B42237591563   AMPARO        WOO                         TX     90013602375
33B4275855B52B   ANNA          TRUJILLO                    NM     35043287585
33B4284475B226   TYRONE        ACKLIN                      KY     68049418447
33B42897684378   LEANDREA      MIKELL                      SC     14591928976
33B4317525598B   FELIX         LOPEZ                       CA     90001951752
33B4357694124B   ROSALIND      JOHNSON                     PA     90010275769
33B43648991563   OMAR          HERNANDEZ                   TX     90013286489
33B43742757164   ERICK         SMITH                       VA     90001327427
33B4432854B281   KALISHA       KING                        NE     90014773285
33B44395A8B162   APRIL         MELLOR                      UT     31043153950
33B44397854165   KIRK          WILSON                      OR     47062913978
33B4474644124B   DENNIS ROXY   SCULLION                    PA     90013597464
33B44749355972   OLGA          GODINEZ                     CA     48030687493
33B4519A644B26   MICHALE       MARASCH                     OH     90014551906
33B45878491525   JULIAN        VEGA                        TX     90010388784
33B46223A4124B   THOMAS        SPARJCAR                    PA     90013422230
33B4655385598B   EDUARDO       FELIX                       CA     49033625538
33B4722A74B943   ALEXI         RAMOS                       TX     76513482207
33B47374841258   DINAH         BROWN                       PA     90010763748
33B47397791831   ARMARDINA     GAYTAN                      OK     21039523977
33B4742892B835   MARISELDA     MEDINA                      ID     90013174289
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33B4772445B393   MITCHELL     MILLER                       OR     44592517244
33B4788195B393   MARK         BENTHIMER                    OR     90000798819
33B47933251369   JESSICA      WELLS                        OH     66099039332
33B47A4455B52B   DORA         MARTINEZ                     NM     35003620445
33B48223A4124B   THOMAS       SPARJCAR                     PA     90013422230
33B48237291584   ADRIANA      RAMIREZ                      TX     75082492372
33B48262291371   DENNIS       PARKER                       KS     90012752622
33B4829494B281   RUBICELA     CORTES                       NE     90014772949
33B4844A591831   CALEB        HUNTER                       OK     90014414405
33B48589347821   COURTNEY     WOOD                         GA     90001385893
33B48A55836B77   EDUARDO      RODRIGUEZ                    OR     90005060558
33B48A7558B162   LUZ          NUNEZ                        UT     31071660755
33B491A8791371   ALFONSO      HERNANDEZ                    KS     29029421087
33B4B32415B156   ERNEST       PORTER                       AR     90011483241
33B4B39424B943   JORGE        GUZMAN                       TX     90015313942
33B4B44A955972   DANIEL       CABRAL                       CA     48091974409
33B4B51935B546   PEBBLES      JEAN-PAUL                    NM     90012245193
33B4B52592B93B   MICHELLE     SIZELOVE                     CA     90005305259
33B4B76832B87B   DONNY        SCHDMIT                      ID     90009247683
33B4B77727B492   CHARLENE     COSTNER                      NC     90011317772
33B51182984378   SANTOS       TECUM                        SC     90014961829
33B511A522B871   DAWN         LEWIS                        ID     90004681052
33B52439384378   ANTHONY      GRANT                        SC     90014774393
33B52656751369   FRANK        GARBER                       OH     90009746567
33B5316547B492   NASHEIKA     HAMILTON                     NC     90012831654
33B5415747B495   SAMANTHA     ROSEBORO                     NC     90011321574
33B5435734B281   TAMAR        KNIGHT                       NE     90014773573
33B54618A91563   JUANITA      BALANDRAN                    TX     75089336180
33B5526818B162   FERNANDO     CARROLL                      UT     31038482681
33B5558524B943   NICOLE       GUILBEAU                     TX     90010365852
33B572A624B943   TIFFANY      JONES                        TX     90013432062
33B574A3891371   LESLIE       TOMITA                       KS     29088094038
33B5772A185991   ELMA         PEREZ                        KY     90012817201
33B5783368B16B   MARTHA       DOMINGUEZ                    UT     90012848336
33B57998384378   ISMAEL       LOPEZ                        SC     90014519983
33B57A39191831   RONALD       BAKER                        OK     21083700391
33B5867425598B   RAMON        RAMIRES                      CA     49096366742
33B587A3A91563   ASHLEY       RODRIGUEZ                    TX     90011307030
33B588A654B936   CHARLES      JOHNSON                      TX     90006488065
33B58A77691831   RHUSHONDA    MCINTOSH                     OK     90014440776
33B596A1A7B639   ADRIAN       SMITH                        GA     90011086010
33B5978A472441   CAROL        COLLINS                      PA     90010747804
33B59973741285   MEAGAN       ACRIE                        PA     51031269737
33B5B227A91831   ROBIN        LUELLEN                      OK     21003632270
33B5B24954124B   CARLOS       GOMEZ                        PA     90012412495
33B5B89A941285   TERRA        MONROE                       PA     51023018909
33B61231241258   MELANIE      CANCILLA                     PA     90009422312
33B61397854165   KIRK         WILSON                       OR     47062913978
33B6154585B536   AURELIO      CORRAL                       NM     90005335458
33B61858547931   SARA         LIJANLIK                     AR     90015178585
33B6222645B52B   JESS LUIS    GALLEGOS                     NM     90014232264
33B62261551338   NICHOLAS     ALEXANDER                    OH     90012502615
33B622A414B943   ALANA        MORGAN                       TX     76564902041
33B62398591563   MARCELO      RAMIREZ                      TX     90008453985
33B6258367B492   MERCEDES     ACOSTA                       NC     90015325836
33B62829231444   TEANNA       SMITH                        MO     90004098292
33B6346595B52B   MARIO        RAMIREZ                      NM     90009844659
33B64349491831   DAUNTREL     MOORE                        OK     90012843494
33B64367591563   MARTINEZ     JOSEPHINE                    TX     90009993675
33B643A3991371   REYNALDO     LUNA                         KS     90014943039
33B64682441285   ERIK         HARGRAVES                    PA     90011406824
33B6496354B943   PATRICK      KENNERSON                    TX     90014469635
33B65171855972   JACQUELINE   MAGOON                       CA     90004891718
33B6524487B471   KELLY A      WAGNER                       NC     90006412448
33B65957191563   CATALINA     GRAY                         TX     75020889571
33B67193641285   ALAINA       DEMUS                        PA     90010261936
33B67421555972   DERIC        MCCLELLAN                    CA     90012394215
33B6837267B492   AUDREY       GLAZE                        NC     90013473726
33B68A5544B943   CHRISTIE     APLON                        TX     90012710554
33B692A632B835   CATIE        SUTHERLAND                   ID     42073222063
33B69757A3B132   EBONY        PAIGE                        MD     90011067570
33B6998785B52B   ROBERT       LEIJA                        NM     90011049878
33B69993755972   BRIAN        AVERY                        CA     90000719937
33B6B25225B393   ALFREDO      ALVES                        OR     44526382522
33B6B599255972   ANA          ESTRADA                      CA     90013095992
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33B6B674151369   JENNIFER      DONNELLON                   OH     66030366741
33B7251325598B   MIGUEL        CORDOVA                     CA     90014895132
33B7255648B16B   LOREEN        NARIARI                     UT     90006085564
33B72A6222B87B   PAYGO         IVR ACTIVATION              ID     90012460622
33B7325225B393   ALFREDO       ALVES                       OR     44526382522
33B7376A58B16B   AUSTIN        PULVER                      UT     31015347605
33B73866284378   EDGAR         PIOQUINTO                   SC     90015218662
33B74544355972   ANA           SANCHEZ                     CA     90010685443
33B74822761921   CLAY          PHELPS                      CA     90013748227
33B74974461921   CLAY          PHILPS                      CA     46000519744
33B7546435B52B   NAOMI         BLACK                       NM     35011244643
33B7614417B449   ENRIQUE       GONZALEZ                    NC     90011861441
33B761A4954165   PAYGO         IVR ACTIVATION              OR     90012911049
33B76389A2B87B   ANGELA        AVILA                       ID     90004733890
33B7639A15598B   VERONICA      GUERRA                      CA     49060173901
33B7671732B559   ADDIAN        LOPEZ                       AL     90014157173
33B77525384378   MANDY         SUTTON                      SC     90014045253
33B78A6725B52B   VICTOR        VILLALOBOS                  NM     90008920672
33B78AA8161993   MICHAEL       COLON                       CA     90001990081
33B7B137584378   PAYGO         IVR ACTIVATION              SC     90014661375
33B7B22144B943   DEBBIE        GARZA                       TX     90012862214
33B7B53784B943   RAMONA        WILSON                      TX     90013995378
33B7B726955972   ARAZELI       SILVA                       CA     90012777269
33B7B79715B52B   MAYA          MADERA                      NM     35026817971
33B8121335598B   ERIC          MARTINEZ                    CA     90014452133
33B8169647B639   TRACEY        PERKINS                     GA     90011086964
33B81751A2B871   TONY          HAN                         ID     42034367510
33B81816741258   NICOLE        RIPLEY                      PA     90012368167
33B8235645B52B   HANNAH        GIST                        NM     90013833564
33B8239697B445   TONIA         PENDLETON-JENKINS           NC     90012923969
33B823A275B52B   REBECCA       GIST                        NM     35084573027
33B8285395598B   ERICA         PHELPS                      CA     90010248539
33B8337765B156   WILLIE        CALVIN                      AR     23027453776
33B84452877544   ROMAN         OROZCO                      NV     90013714528
33B84614791563   ANGEL         ALMEIDA                     TX     90014346147
33B86398591831   JOSE          RAMIREZ                     OK     90013313985
33B8647475B52B   LINDSEY       WORK                        NM     90003474747
33B87283A7B449   WILLIAM       KIRKPATRICK                 NC     11054452830
33B87717651339   JAMILY        BUSH                        OH     90014497176
33B8788818B162   LEOPOLDO      LOPEZ                       UT     31059338881
33B88113941277   MICHAEL       ANDREWS                     PA     90005141139
33B88534391831   MARY          HERNANDEZ                   OK     90011105343
33B8857AA7B492   MIRANDA       BLACK                       NC     90007995700
33B8896285B393   LYNDA         WILSON                      OR     90013409628
33B8976968B162   LUCIA         REAL                        UT     90006157696
33B8993A155972   JEFFREY       GOULD                       CA     48013269301
33B8B38195B156   BRIAN         COSBY                       AR     90015033819
33B8B651154165   CHRISTOPHER   KURZ                        OR     90002436511
33B8B823151369   LIONEL        BROWN                       OH     90013938231
33B91186484378   SEBASTIAN     NUNGARAY                    SC     14506251864
33B91A18477544   ROBERTO       CASTANEDA GONZALES          NV     90005520184
33B91A2512B871   FRANK         YADON                       ID     90014900251
33B91AA9551339   JAVIER        RIVERA                      OH     90011180095
33B9211647B384   ELVIS         DIAZ                        VA     90002921164
33B9228695B52B   ROSA          REYES                       NM     35057562869
33B9267866192B   YENINE        GARCIA                      CA     90012176786
33B9273A25B156   MELISA        MANIRATH                    AR     90010257302
33B93246191831   ELAINE        WILLIAMS                    OK     21088862461
33B93727691232   SHARI         CECIL                       GA     14504727276
33B944A562B87B   AMY           MARSHALL                    ID     90011954056
33B95173A4124B   ELECTA        RAWLS                       PA     90002781730
33B9547824B281   ASHLEA MAY    WIGHT                       NE     90014774782
33B9563622B87B   VICKY         KOWALSKI                    ID     42015136362
33B9574A18B16B   AMBER         STODDARD                    UT     31042427401
33B95A9A491563   LAURA         GONZALEZ                    TX     75089330904
33B96999151369   DOUGLAS       COOLEY                      OH     66077109991
33B9714635B393   RHONDA        BOLDS                       OR     44513611463
33B9748384B281   JAMAR         BLACKBURN                   NE     90014774838
33B97854951369   BEJAMIN       HAMBRICK                    KY     90013938549
33B9833337B449   DJO           HH                          NC     90000763333
33B9849144B943   DYLAN         PREJEAN                     TX     90012824914
33B989A388B162   FILIPE        FONSECA                     UT     90014139038
33B9975517B639   SHAMOAN       TOOMBS                      GA     90011087551
33B9991725B52B   RUFINO        VARELA                      NM     90009159172
33B9B11257B471   BEVERLY       GODFREY                     NC     11076741125
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33B9B113951339   TIFFANY            FAUL                   OH     90013621139
33B9B2A4554165   ANDREW             PERTON                 OR     90013932045
33B9B43424B943   WENDY              MELONSON               TX     90005544342
33B9B45647B43B   HECTOR             MEDRANO                NC     11051564564
33B9B571491371   DA FINEST          LIL MAMA               KS     29064985714
33B9B83A991563   MANUEL             GARCIA                 TX     75006778309
33BB138272B835   ALFREDO            RODRIGUEZ              ID     90013253827
33BB2265A77544   DAISY              VARGAS                 NV     90009152650
33BB2296851369   DESIREE            SAMS                   OH     90010752968
33BB269955B393   JOHNNY             PARKER JR.             OR     44595066995
33BB2858984378   MARIA              JUAN                   SC     90009688589
33BB33A2241285   GLENN              HARVEY                 PA     90014563022
33BB3694551369   RICHARD            BODLEY                 OH     90014876945
33BB3783672B35   CHARLES            MONROE                 CO     90004767836
33BB3839791524   JOHANNA            LASCANO                TX     90011088397
33BB3923A8B162   JOHN               MCKAY                  UT     31004629230
33BB3A91836143   RONNIE             BARNES                 TX     90009350918
33BB4182A8B16B   CURTIS             KISH                   UT     90013981820
33BB4488654165   VITA               FUGATE BROWNLEE        OR     47056014886
33BB5231641258   CATHY              MORROW                 PA     90008372316
33BB53A112B871   JARED              BLICKENSTAFF           ID     90014773011
33BB5474255933   CARLOS             SOLIS                  CA     90010454742
33BB5532655972   RICHARD            PICANSO                CA     90014435326
33BB5A3A13B132   ERIC               HYDE                   DC     90010310301
33BB6516391371   GABRIELA DANIELA   MARTINEZ               KS     90012405163
33BB6963841252   DIANA              MICHELUCCI             PA     51080119638
33BB69A625B393   MICHAEL            WILLIAMS               OR     90001349062
33BB6A6A97B657   VERONICA           KEYS                   GA     90013380609
33BB6A7515B52B   TANYA              SEDILLO                NM     90010770751
33BB764914B943   KARINA             DEHOYOS                TX     90013606491
33BB7744991371   ALEJANDRO          VILLALOBOS             KS     90011357449
33BB7AA365598B   ROSIE              BARRAGAN               CA     90010090036
33BB812A15B393   KIANOOSH           DANESHJO               OR     90014031201
33BB81A318B162   OMAR               PEREZ                  UT     90012531031
33BB8298577367   SUE ANN            THOMPSON               IL     90012102985
33BB8398154165   SUSAN              GRAVES                 OR     47015543981
33BB8419291831   PATRICK            MCALEVEY               OK     90014934192
33BB8911891893   HEATHER            WARD                   OK     90010659118
33BB89A1954165   JENA               MOORE                  OR     90012519019
33BB92A312B87B   DOTTIE             CHAVEZ                 ID     42014672031
33BB9387654165   SHELBY             BERRY                  OR     47053353876
33BB962319125B   TIA                FISK                   GA     14546406231
33BB9775951369   DAVID              WILKS                  OH     90013937759
33BB985A284378   SHAKIA             SAXON                  SC     90011088502
33BB9868191563   AUDREY             LATHROM                TX     90014338681
33BBB32654B943   MONDAI             RUBIN                  TX     90012843265
33BBB665191563   BRENDA             CASTILO                TX     90007856651
33BBB69962B835   ERIN               HALL                   ID     42017756996
3411141A92B87B   BIANCA             GROTH                  ID     90006454109
3411175A34124B   TAMARA             PUGH                   PA     90013947503
3411184247B639   JANICE             TRICE                  GA     90014258424
3411292237B639   TRAB               LOWSKEE                GA     90014609223
3411326A154165   CHRISTIAN          WILLIAMSON             OR     90009862601
3411368857B639   LASHUNDA           CUNNINGHAM             GA     15085976885
3411398A791831   STEPHANIE          TAYLOR                 OK     90012649807
34113A1A97B449   JULIO CESAR        HERNANDEZ              NC     90013990109
3411445455B156   FELISIA            MONTGOMERY             AR     23084154545
341152A597B449   EBONI              DAVIS                  NC     90013922059
3411543912B93B   VANESSA            SANCHEZ                CA     45006214391
3411569172B871   ANTHONY            RAMIREZ                ID     90014016917
3411583425B393   CHRISTINA          KNATT                  OR     90009738342
3411686A27B639   ANTHONY            MCMILLIAN              GA     90001018602
3411724A77B395   PIERRE             TONDJE                 VA     81074352407
3411772325598B   MICHAEL            FITZPATRICK            CA     49068677232
3411843555B156   KARISSA            VEASEY                 AR     90013894355
341185A7941285   MARK               GODFREY                PA     51013785079
34118629A5598B   CARMEN             PEREZ                  CA     90013966290
34118866A51383   COREY              SAYLOR                 OH     90009078660
34118A53A8B16B   BRENT              BLANCH                 UT     31011920530
3411939455B156   FELICIA            BRASS                  AR     90008563945
341193A5691563   DANIEL             LOPEZ                  TX     75019693056
3411957664B547   KHALID             ALOTHMAN               OK     90010685766
34119623A4B281   ANNETTE            AMATO                  NE     90002156230
3411974A64B542   JOEY               KHALIQ                 OK     90014577406
3411B49347B639   MARLA              MITCHELL               GA     90010484934
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3411B96724124B   DAVID        HANSEN                       PA     90001489672
3412128A151339   BOBBIE       CLIFFORD                     OH     66096532801
34121A8385B52B   ZACHARY      JACKSON                      NM     90010690838
34122A4654124B   JASON        BELL                         PA     90012720465
34122A5664B281   MARIA        SEBASTIAN                    NE     90012580566
34122A67931424   PETER        ANDERSON                     MO     27587450679
34123311272B76   MIGUEL       CERON                        CO     90000373112
3412342242B871   ARMANDO      VILLALBA                     ID     42044684224
3412364492B87B   SID          ROSE                         ID     42065176449
3412388AA21821   BOBBY        BECKER                       MN     90015568800
341238A458B16B   DERRICK      MELLISSA                     UT     90010068045
341239A745598B   DARIO        ALGABA                       CA     90007539074
341245A332B835   TIFFANI      PAGE                         ID     90012445033
34124A89455972   JESSICA      GOAD                         CA     90013890894
3412539915B156   CHARLES      BROWN                        AR     90014173991
3412568924124B   JEFFREY      PARKER                       PA     51055776892
341256AAA41285   KATIE        SMERECKY                     PA     90012866000
3412627185598B   LUIS         RIVAS                        CA     49000842718
3412665574B943   KENNETH      BARLOW                       TX     90009736557
341268A557B449   DAMONTA      ALEXANDER                    NC     90015258055
34126A7919152B   RICARDO      ONTIVEROS                    TX     90008410791
3412717778B16B   LAURA        ROE                          UT     90013991777
3412744257B639   DAVID        ANDERSON                     GA     90013374425
3412757A155951   EUGENIA      PEREZ                        CA     49042705701
34127787A5B156   KIMBERLY     BLANKS                       AR     90012617870
3412785817B429   TERRY        BOWSER                       NC     90013928581
3412862757B639   EDGAR        GOMEZ                        GA     90012236275
34129114A91563   AMELIA       RODRIGUEZ                    TX     90008531140
3412929A591831   CRYSTAL      GILL                         OK     90009832905
3412B12345B156   STEPHANIE    BOONE                        AR     90010991234
3412B633391563   BENJAMIN     GALVEZ                       TX     90009696333
3412B647431424   LORENZO      OWENS                        MO     90010406474
3412B799641277   DEANNA       PLETCHY                      PA     51087217996
341311A832B835   BRENT        MASSEY                       ID     90012211083
3413143877B449   ONIQUA       CHISOLM                      NC     90013384387
34131749A91831   SHANE        KENNEDY                      OK     90007977490
341319A654124B   ROBERT       FURGIUELE                    PA     90009559065
34131A92491831   SHANE        KENNEDY                      OK     90015220924
3413222535B52B   TANISHA      MARQUEZ                      NM     90013912253
3413252278B16B   NATHAN       RICHARD                      UT     90013715227
3413265187B492   DANIEL       MORENO SILVA                 NC     90011466518
3413289672B835   JULIA        MORSE                        ID     90009958967
3413354A45B393   JOSE         GUTIERREZ                    OR     90012275404
34133635124B72   LASHAWNNA    LEWIS                        DC     90002676351
34133773A54165   ROBERT       PERRY                        OR     90014687730
34133A59872B76   JESSE        ANDRESON                     CO     33016130598
34133A75761963   TOMAS        SILVA                        CA     90011300757
34134175A41285   DENISE       CONLEY                       PA     51007671750
34134A9527B492   ESTER        HERNANDEZ VAZQUEZ            NC     11013040952
3413548877B639   DEMETRICA    JAMES                        GA     90013114887
3413569485598B   GINA         SOLIS                        CA     49064396948
3413579454B281   SCOTT        KLEMMENSEN                   NE     27098507945
34135A26454165   TANEESHA     GRAHAM                       OR     90011750264
34135A28255972   DIANELA      OCHOA                        CA     90015010282
3413626217B492   DENNIS       ADAMS                        NC     90001652621
34136AA997B449   MAURICE      BROOKS                       NC     11088520099
34138127A7B492   TAWNYA       BRADLEY                      NC     11020561270
341394A6554165   BRITNEY      SEIDERS                      OR     90013644065
3413982212B835   THOMAS       FREINWALD                    ID     90014738221
341398A8861963   RHEA         HUNTER                       CA     90009678088
34139A4697B492   MONSHKA      BOYD                         NC     90011000469
3413B111A55951   ANNE         CLARK                        CA     49097111110
3413B19887B471   MARIA        GOMEZ                        NC     11045241988
3413B3AA94B943   JULIA        GLOSTON                      TX     90010203009
34141AA712B835   CELIA        BELTRAN                      ID     42017870071
3414217185B52B   ALONSO       CARAVEO                      NM     35095231718
3414244AA41258   MICHAEL      WASHINGTON                   PA     90013044400
3414293425B156   ADRINA       JENNINGS                     AR     90012769342
3414319157B492   SHARON       CARR                         NC     90014001915
3414345514124B   ANTOINETTE   JAKSON                       PA     51077414551
3414392235B393   LARISA       ZALOZH                       OR     90001589223
3414536687B449   TARYN        WILLIAMS                     NC     90001393668
3414537467B639   DANYEL       SUMBRY                       GA     15077433746
34145A5662B93B   ANDREA       PRADO                        CA     90014660566
34146755A2B835   SANTANA      CANTU                        ID     90014277550
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3414741592B835   DANIEL       BARRETT                      ID     90015004159
3414825A84B943   ENRIQUE      ZARAGOSA                     TX     76550242508
3414837737B449   NINA         LESLIE                       NC     90005563773
3414843128B16B   WILLIAM      CARTER                       UT     90015094312
3414851222B835   MARIBEL      VARGAS                       ID     90012445122
3414921837B43B   AURELIO      OSORNIO                      NC     90003352183
34149959A91831   BRITTNEY     MONTGOMERY                   OK     90014519590
34149A87161963   IOLA         DOTTS                        CA     90011300871
34149A95A7B639   WANDA        LEE                          GA     15057550950
3414B46635B393   MARIE        THOMPSON                     OR     90014834663
3414B946691563   MARISOL      ZAMUDIO                      TX     90011929466
3415356437B449   CHRISTINA    CANNIE                       NC     90012925643
34154199A55972   YESENIA      CISNEROS-ESPINOZA            CA     90013621990
3415462545B393   DEANDRE      MENDOZA                      OR     90013476254
3415489825598B   CARLOS       TREJO                        CA     49068718982
34156323A91563   EZEQUIEL     SOSA                         TX     90014823230
34156A52291831   CURTIS       SEMLER                       OK     90012380522
3415725A261982   PAUL         TIMLIN                       CA     90012962502
3415742654B943   TENISSHA     ALBERT                       TX     90002264265
3415819757B639   MICHELLE     STOKES                       GA     90013951975
3415877332B87B   JORDAN       SMITH                        ID     90013437733
34158868A51594   BIEL         DENG                         IA     90014978680
34158A7768B16B   LINSAY       HAWTHORNE                    UT     90013770776
3415934AA55951   VICKI        WEBSTER                      CA     49095573400
341593A1191232   OLIVIA       RAY                          GA     14595533011
3415957637B639   NEFERETTI    DAVIS                        GA     15024605763
3415B55557B639   GEORGE       GUICHET                      GA     90008585555
3415B95657B639   LAKISHA      GIFFORD                      GA     90014379565
3415B99815B52B   BEAU         SALAS                        NM     35064609981
3415BA83141285   CURTIS       BRADLEY                      PA     51041410831
341615A535B52B   JASON        BOHANNON                     NM     90014155053
34161A6717B449   SANTOS       MARTINEZ DE ANDRADE          NC     11083910671
3416222147B492   ANNETTE      RATCHFORD                    NC     11003932214
34162A24A41258   TEMIYA       PARKER                       PA     90009080240
3416327214B281   JUDY         BUDKA                        NE     27054492721
34163424572B76   MARIA        TOVAR                        CO     33067074245
34163921A7B449   MATTHEW      EDWARDS                      NC     90013189210
341643A453145B   GERNICE      GAYFIELD                     MO     90011463045
3416458595B52B   ROGELIO      MASIAS                       NM     90012905859
34165517672B76   TIMOTHY      SULLIVAN                     CO     33080015176
3416633172B87B   RODNEY       PENDLETON                    ID     90014823317
3416655625B347   JULIE        NORBY                        OR     90010615562
34166A2A251339   RYAN         WALDEAR                      OH     90015540202
3416845462B93B   GEORGE       ALMEIDA                      CA     45050744546
34168652A4B281   BOYD         AMBERSON                     NE     27085176520
3416876764B281   STEVEN       JONES                        IA     27048327676
34168A94261963   LAKISAH      WILLIAMS                     CA     90001880942
3416939467B471   NICOLIA      MCCREE                       NC     11039823946
341697A352B871   LENDIS       HERNANDEZ                    ID     90013987035
34169A49A41258   JENNELL      LEWIS                        PA     51009630490
3417116144B281   NIJAH        TYLER                        NE     90011071614
3417162692B835   CRYSTAL      INGERSON                     ID     90010186269
3417292742B93B   JOSE         RUIZ                         CA     90015349274
341732A5955972   VIRGINIA     ACEVEDO                      CA     48045642059
3417346512B87B   NANCY        JUAREZ                       ID     90015394651
341737A797B43B   JOEL         FLORES RODRIGUEZ             NC     90003607079
3417451728B16B   SAM          HERRERA                      UT     90010015172
3417464224B281   SHEILA       CHANDLER                     NE     27098426422
3417491422B871   JON          WRIGHT                       ID     90008219142
34175582A4B989   ELLA         HILL                         TX     76513455820
3417566A597994   ASAREL       PATINO                       TX     73510536605
34176178472B76   VINCENT      VEGA                         CO     90000801784
3417888665B52B   MARGARITO    AMAYA                        NM     35055598866
3417931995B52B   ERIKA        WINNIEKOFF                   NM     90002023199
3417934A361984   MARTIN       GARCIA                       CA     90010073403
3417B62932B871   SUZANNE      CARRASCO                     ID     90013556293
34182A9567B492   KATHY        ROYAL                        NC     90013370956
3418335842B835   HEATHER      GARDNER                      ID     90007263584
3418342487B492   ZENAIDA      CERROS                       NC     90001694248
3418377A35B52B   ERIKA        SALAZAR                      NM     90007037703
3418446232B871   OLGA         ZAVALA                       ID     90012064623
3418461725B393   ELVIA        ZUNIGA                       OR     90013946172
3418596127B639   GENE         SAVAGE                       GA     90003339612
3418772652B87B   ROSA         AYALA                        ID     90009887265
34187A4515B156   CHRIS        ROBERTSON                    AR     90013080451
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34188131A2B835   JACOB           BALCERZAK                 ID     90014131310
3418922622B835   TAMMY           WELLS                     ID     90000822262
3418957A65B156   LORRAINE        FALAZAR                   AR     90005695706
3418979432B93B   DEEP            SOUTH                     CA     90013697943
3418999554B281   HEATHER         ROWAN                     NE     27013929955
34189A4915B393   JUAN            ANGELES                   OR     44512120491
34189A8792B835   TAMMY           WELLS                     ID     90013750879
3418B31562B93B   CHARLENE        BUCK                      CA     90011393156
3418B475954165   SORCCIA         FORRESTER                 OR     47091714759
3418B81724B54B   MIRACLE         SIMMONS                   OK     90012448172
3419134572B871   STEVE           BURTON                    ID     90008793457
34191633A2B871   ALISA           ALDRICH                   ID     90013906330
34191A5577B492   ANGELA          MCCONNEAUGHEY             NC     90008120557
34192524A55951   RICHARD         TROYN                     CA     49093605240
3419299755B393   LYUBOV          AGAYEVA                   OR     90001649975
3419395684B569   CURTIS          COURSEY                   OK     90010059568
34194A3717B43B   VANESSA         SMITH                     NC     11048370371
3419518174B281   AMBER           STANISLAUS                NE     90001661817
3419536577B639   MARY            NAIK                      GA     90008893657
3419685345B52B   ALEX            LOPEZ                     NM     90011918534
34196A5567B639   JANIE           ERIN                      GA     90014280556
3419717142B93B   ANGELICA        AGUINAGA                  CA     90005611714
3419772985B52B   MANUEL          BUSTILLOS                 NM     90012867298
3419795A851339   LEAH            SEBRIGHT                  OH     66004879508
3419817142B93B   ANGELICA        AGUINAGA                  CA     90005611714
3419858115598B   RAFAEL          ESPINOZA                  CA     90010505811
3419882947B639   CRYSTAL         BUTLER                    GA     90013968294
3419913325598B   KRISTOL         RAMOS                     CA     90011491332
3419BA31241285   DURGA           RIZAL                     PA     90001630312
3419BAA974B281   ANNETTE         HUERTA                    NE     27006120097
341B12A2A7B639   BRENELLA        STREETER                  GA     15008712020
341B133AA5B199   MICHEAL         ASHCRAFT                  AR     23084553300
341B154585B393   RUTHII          COMPTON                   OR     90014415458
341B163995B393   MATTHEW         GOLLYHORN                 OR     44505986399
341B2289855972   CARLOS          FELIX                     CA     48087202898
341B22A987B639   FRANCES         COFER                     GA     90014742098
341B275455B52B   MARK            JARAMILLO                 NM     90014087545
341B283428B16B   DIANNA          ROMAAY                    UT     90002208342
341B2A1295B156   BRADLEY         GUTHREY                   AR     90008150129
341B2AA9161963   DIANE           MOSES                     CA     46090510091
341B4132454165   JORDAN          VALADEZ                   OR     90012431324
341B42A8855972   LUIS            LARIOS                    CA     90013812088
341B464432B835   RANDY           GREER                     ID     90004746443
341B499715598B   TARA            WASHBURN                  CA     90002359971
341B528512B93B   JESSICA         ABBEY                     CA     90012092851
341B548422B87B   WAYNE GARDNER   BENJAMIN                  ID     90007874842
341B55A275B52B   MARIA           CLIFFORD                  NM     90014155027
341B568722B871   JYNI            TOWNSEND                  ID     42002996872
341B5999654165   KODI            MASON                     OR     47093959996
341B693815B52B   EMILIO          ESQUIVEL                  NM     90014169381
341B6A5472B871   TEDDY           LEYBA                     ID     42046520547
341B6A7A254165   STACY           WEST                      OR     47014950702
341B7271A2B87B   JUSTIN          ARTHUR                    ID     90002772710
341B788594124B   EARL            GARDNER                   PA     90014178859
341B7972291831   MIGUEL          GARCIA                    OK     90013249722
341B8841644B45   JONATHAN        SHABAZZ                   OH     90011108416
341B9437497126   TRACY           BLOOM                     OR     90011034374
341B978855B393   SANDRA          GOMEZ HERNANDEZ           OR     44554477885
341B986482B835   YVETTE          NORMAN                    ID     90014038648
341BB16417B449   ANTONIO         CONTRERA                  NC     90013961641
341BB4A7661963   TRINA J         GARNER                    CA     90004994076
341BB514454165   CHARLENE        WILSON                    OR     47037285144
341BB71197B639   HELEICE         HARVILEY                  GA     90013947119
341BBA2347B471   MICHAEL         EARLY                     AL     11028660234
3421167652B93B   ESMERALDA       ALBERTO                   CA     90012866765
3421188A95598B   ELENA           REYES                     CA     90012788809
3421226A92B871   LORENZO         MEDINA                    ID     90013832609
34212362A54165   JOEL            SILVA                     OR     90000233620
3421327657B386   EDWAR           MENDOZA                   VA     90004052765
3421334AA41285   CACHET          HALLOWAY                  PA     90015203400
3421342555B393   DAVE            BROWN                     OR     90006394255
3421395425598B   BENJAMIN        BETITA                    CA     49034019542
3421411752B87B   STACEY          ROSS                      ID     90014571175
342145A7241258   JOSH            KENNERLY                  PA     51005215072
3421536928B16B   SHELLY          SHEPHARD                  UT     90008453692
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34215489285B54   COLT                SHINDLE               FL     90012924892
3421552884B281   COURTNEY            PORTER                NE     90013865288
3421684515598B   JESSICA             LOPEZ                 CA     90005678451
34216A6442B871   MARY                WINTER                ID     42090480644
342178A452B87B   TANIA               TORRES                ID     90014178045
34217A58A91831   JOSHUA              DRY                   OK     90013940580
3421816847B639   XAVIER              BILLINGSLEY           GA     90011011684
3421859A65598B   ALFONSO             SERVINZAMUDIO         CA     90011445906
3421975162B87B   WILLIAM             HOWELL                ID     90014127516
3421987177B639   AJOULONDAY          MATHIS                GA     90010068717
3421B12A44124B   RASHAUN             HUMPHREY              PA     90013901204
3421B915A93762   KAFUI               AVOTRI                OH     90013719150
3421BA61655972   MICAELA             ALLES                 CA     90009670616
3422114494B281   FREDY               RAMOS                 NE     90010321449
34221392A7B639   LEONEL              LOPEZ                 GA     90013963920
3422152865598B   VANESSA             VILLAGRANA            CA     90010685286
3422262A15B393   JOSE                ABARCA                OR     90013676201
3422311447B639   LEONIE              MORGAN                AL     90011011144
3422347697B492   MELANIE             HOVIS                 NC     11053954769
3422368395B156   JAVIA               WILKINS               AR     90012376839
342236A1531424   STACIA              HUGHLEY               MO     90010206015
34223A59761963   CHRIS               OBERT                 CA     46065710597
34223AA1136B77   KRISSY              DUBOIS                OR     44571510011
3422467A372441   BRIAN               HAWKINS               PA     90009026703
34224A4662B87B   JOSH                ROSSI                 ID     90014360466
34225522A72468   ROBERT              NETTING               PA     90008735220
3422613215598B   GUSTAVO             GAYTON                CA     49056411321
3422615922B835   TJ                  WALBRIDGE             ID     42089991592
3422666A491563   NILSA               LEON                  NM     75044396604
3422711125B393   LAURA               GALLEGOS              OR     90003101112
3422739552B835   JOHN                KELLY                 ID     90013643955
3422767584B281   THOMAS PATRICK      GOONAN                NE     90005706758
3422931762B835   JACOB               BRUNTON               ID     42096763176
342293A127B639   SONYA               SEALS                 GA     15021483012
3422976242B93B   SERGIO              TORREZ                CA     45039437624
3422B575A61963   VINCENT             TOWNES                CA     90000665750
34231A1342B93B   CHRISTY             PROCTOR               CA     90010900134
342324A537B449   BRANDON             TAYLOR                NC     90013284053
3423338617B492   CHERYL              MCDONALD              NC     90014873861
34234322972B76   HARRISON            CHARLESWORTH          CO     33088343229
3423438915B52B   JOYLYNN             RHINEHART             NM     90007683891
3423484814B281   BRENDA              LOPEZ                 NE     27051928481
34234A5612B93B   MARIA               TOVAR                 CA     90014540561
3423681157B639   CLARENCE            POLLARD               GA     90013978115
34236A7372B93B   JOSE                ACATITLA-DIAZ         CA     90005580737
3423723564B281   BRITTNEY            DAVIS                 IA     90012702356
3423753458B16B   ROSENDO             MELENDREZ             UT     90011175345
3423781157B639   CLARENCE            POLLARD               GA     90013978115
342381A6131424   CONSTANCE           SMARR                 MO     27562361061
3423841824B281   PAUL                HAWS                  NE     27052824182
3423968485B52B   CARLOS              DURAN                 NM     90014946848
3423B275231424   WILLIE              PARTRIDGE-WALSH       MO     90011122752
3423B6A7261963   CHRISTINA           CALIXTRO              CA     90013896072
3424128362B835   JESSICA             AMADOR                ID     90001312836
3424194632B93B   DIANA               PELAYO                CA     90010559463
34242435672B76   ANGELICA            RAMIREZ               CO     33002844356
3424296792B87B   JEREMY              ORM                   ID     42012649679
342431A714124B   JEFF                LOGAN                 PA     51039691071
3424371995B393   CYNTHIA             ALLEN                 OR     44508047199
3424456715B156   APRIL               HAYES                 AR     90013925671
342447A4741258   ERIN                AITON                 PA     51073537047
34246243272B76   ANNALISA            ORTIZ                 CO     33082432432
3424687525B393   PEDRO               XIAP                  OR     90014378752
3424694655598B   EDDIE               MARTINEZ              CA     90015269465
34246A65191563   FRANCISCO           LOPEZ                 TX     90012200651
342476A1A41285   TENICIA             MCLEAN                PA     51047586010
3424779985B393   COLLIN              AUE                   OR     90015337998
3424849832B871   BILLIE              BARNES                ID     42080854983
34248A1777B492   TERRENCE            DURANT                NC     90014740177
34249169A5B393   MICHAEL             BAIRD                 OR     90006691690
3424926524124B   MARCY               DEMITRAS              PA     90003592652
3424937948B16B   GUSTAVO             BALCAZAR              UT     90010903794
3424962A455972   SILVERIO-LEONIDES   ORLANDO               CA     90012886204
3424969635B156   SHERRELL            LAYTON                AR     90013166963
3424B986351339   BRITTANY            FUGATE                OH     90003789863
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3425192972B871   DEANNA       BENTON                       ID     90004709297
3425196148B16B   ANGELO       ESCOBEDO                     UT     90013949614
34251A3A772B76   ERMINIA      CANDELANIE                   CO     33078100307
3425212612B87B   TONYA        ALDERMAN                     ID     90009171261
34252828A91563   RICHARD      KERN                         TX     75045568280
3425284945B156   CHALUKANA    JONES                        AR     90003238494
3425316167B449   J ARMANDO    ZAPATA                       NC     90012591616
3425318912B835   RAUL         ARAIZA                       ID     90007441891
3425415252B93B   EVERETT      JOHNSTON                     CA     90012241525
34254671172B88   LISA         LYNN-HOLLOWAY                CO     90001336711
34255173A5598B   MICHAEL      PEREDA                       CA     90013461730
3425576224124B   DAVID        HOLLISTER                    PA     51042977622
34255A92155951   GEORGINA     SALAZAR                      CA     49070700921
3425625995B52B   SUSAN        DARLING                      NM     90012552599
34256A85A55951   MONICA       DELTORO                      CA     49089620850
3425721822B87B   ASHLEY       HART                         ID     90007882182
34257512436B77   CORY         CALDWELL                     OR     44541155124
3425765195B156   SHERIKA      LAMB                         AR     90013756519
34257A1112B93B   MIGUEL       GUTIERREZ                    CA     45038760111
34257AA9791563   EYDEL        RICO                         TX     75090100097
34258183172B23   MARISSA      BUSTAMANTE                   CO     90010871831
3425819842B871   JOSE         RODRIGUEZ                    ID     42097781984
342581AAA51339   CHAD         WILLIAMS                     OH     90005191000
3425945AA61963   LUCIA        RUFFIN                       CA     90014044500
34259A3A64B281   BRIAN        CHMURA                       NE     90012160306
3425B174791831   LAINEY       BLADES                       OK     90008841747
3425B29425598B   ALICIA       LOPEZ                        CA     90014822942
3425B35722B871   MINERVA      VILLEGAS                     ID     42079253572
3425B3A5355972   MARIA        RUIZ                         CA     48034853053
3425B659672B88   AMANDA       KASPER                       CO     90013386596
3425B9A394124B   MICHELLEL    JOHNSON                      PA     90013889039
342614A2741285   JONY         GABBER                       PA     90013964027
342621A952B871   JOSUE        ORTEGA                       ID     90005151095
3426266A191831   PHILLIP      LUSTER                       OK     21095916601
3426279422B93B   ERIK         ROMO                         CA     90013137942
34262818A5B52B   SHANNON      CLEMANS                      NM     90007568180
34262A2AA72B76   APRIL        PAUL                         CO     90005890200
34263674A2B835   VICKIE       MCCUISTION                   ID     42025946740
342641A8391963   ALEJANDRO    CAMACHO                      NC     90013131083
34264343A91563   MARTHA       HERNANDEZ                    TX     75024503430
34264727A5B52B   MAX          MULLEN                       NM     90014097270
3426515992B871   MICHAEL      CARR                         ID     42022841599
34266758172B25   ANDREW       JAY STEVENS                  CO     33084257581
34267A2988B16B   ANGELINE     MUNGUIA                      UT     90013950298
34268233A41258   SHARLANAE    COOK                         PA     90014622330
3426924914124B   JOY          CORBIN                       PA     51088412491
342694A8A61963   WILLIAM      CLARK                        CA     90006684080
3426957245B393   MIKE         GRITMAN                      OR     90012695724
3426957637B492   JOSHUA       MILLER                       NC     90010735763
3426974732B871   ELISEO       DURAN                        ID     90010437473
3426987397B639   CARLOS       LOPEZ                        GA     90014888739
3426B142955972   JAMES        TIIDWELL                     CA     90010801429
3426B715191831   ANGELICA     AGUIRRE                      OK     21002467151
3426BA81291563   JEZIKA       ROMAN                        TX     90014680812
34271341A72455   RENEE        EILER                        PA     51007603410
34271856A7B639   JUANITA      RILEY                        GA     90014778560
34271981A2B87B   IRENE        LAGUNAS                      ID     90011359810
3427235842B835   HEATHER      GARDNER                      ID     90007263584
342727A7591563   ADELA        LOZANO                       TX     90008017075
3427297782B237   TOPAZ        MCCOY                        DC     90008399778
34273945436B77   STEVEN       SCHMITT                      OR     90013659454
3427395892B871   CRYSTAL      BLY                          ID     42005009589
34273A9A72B87B   DONNA        PRUETT                       ID     90014030907
34274351A55951   LELA         ELISALDE                     CA     90003323510
342751A587B639   TONYA        MCNEIL                       GA     90011651058
3427525824B281   GOPAL        BISWA                        NE     90011982582
3427536324124B   JAMAAL       NIXON                        PA     51012433632
3427618212B871   KRISTINA     GARCIA                       ID     42044501821
3427761754B281   NOE          VARGAS                       NE     27079876175
342782A1181557   NICHOLAS     HUNTINGTON                   IL     90013642011
342792A3451339   SARAH        FOSTER                       OH     90009972034
3427983215598B   NORMA        LOPEZ                        CA     90012108321
3427B651561963   MARIA        CASTILLO                     CA     90013246515
342812A7941258   TELAN        JONES                        PA     90014082079
3428139887B639   RUBY         CALHOUN                      GA     90014873988
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3428179688B16B   DALTON       GEARY                        UT     90014957968
3428236A455972   SELMA        LOPEZ                        CA     90010183604
34282A25A41258   JAMES        PAOLINO                      PA     90010380250
34283286A4124B   LINDA        POREMBA                      PA     90008612860
3428366635598B   ELIZABETH    PROVOST                      CA     90004526663
3428387929125B   JAMES        BROWN                        GA     90000158792
3428414A772B76   CHRIS        MARTINEZ                     CO     33063041407
3428468A55B393   JAMES        ROACH                        OR     90013866805
342846A1151339   AARON        PYLE                         OH     66095256011
3428485147B449   AMANDO       CHAVEZ                       NC     90013218514
34284A7695B156   KRASHONNA    WILLIAMS                     AR     23035660769
3428538354124B   MARC         BEVIER                       PA     90005573835
34285513A91831   TANIKA       JOHNSON                      OK     90010985130
342859A467B449   THAO         PUIH                         NC     90012159046
3428628915B393   LATOYA       GILBERT                      OR     90014722891
3428662975598B   EMILY        ALVAREZ                      CA     90012186297
342867A4861963   ROBERTO      NAVARRO                      CA     90012157048
34287175272B76   ANGELA       HERNANDEZ                    CO     33062731752
3428733395B52B   CORINA       ROSALES                      NM     35017903339
3428737294B281   PHYLLIS      SANDERS                      NE     90008603729
3428774422B87B   JESSICA      HOWINGTON                    ID     90013157442
3428787315598B   YENI         RIVAS                        CA     90002118731
3428828A15B545   TANYA        ESTRADA                      NM     90005732801
3428833865598B   BEE          VANG                         CA     90013043386
3428837534124B   SEAN         NESBITT                      PA     90010163753
3428841577B492   AMY          HAWKINS                      NC     11009994157
342888A474B281   BRIAN        FREESE                       NE     90013378047
3428925A82B835   JASON        KELSO                        ID     42049522508
3428985644B943   ISAIAS       MORN                         TX     90003708564
3428B12414124B   SHANA        REYNOLDS                     PA     90002741241
3428B753691831   NICOLE       HAWKINS                      OK     21073997536
3429116288B346   MAYELY       VELASCO                      SC     90014941628
342916A5661963   DANICA       AIKEN                        CA     90012486056
3429175877B639   BRUCE        KEITH                        GA     90008857587
34292721A61963   EDWIN A      LOPEZ                        CA     90009617210
3429325A891563   ROSA         CINTRON                      TX     75066362508
3429331267B492   MATHEW       KHAMSANHLONG                 NC     90014483126
34293372A5B52B   CAROLYN      STEELE-GRANT                 NM     35051923720
3429337925598B   ELVA         DE CHAVEZ                    CA     90011253792
34293A7382B87B   PATRICK      HEINTZ                       ID     90012790738
3429469A151339   DONALD       TURNER                       OH     90015126901
3429551652B835   ROSA         BERNABE                      ID     90013485165
3429575A341285   BETTY        BYRNE                        PA     51094507503
3429581744124B   KORRIN       ALFORD                       PA     90008538174
34295A9245B393   OLLIE        MARISCAL                     OR     90011950924
3429698497B639   PATRICIA     ADAMS                        GA     15078849849
34297164A41285   STACY        REIS                         PA     90013681640
3429794277B639   CARLOS       HINTON                       GA     90002639427
34297979A2B87B   ROBERT       HILDEBRANDT                  ID     90013169790
34297982A51594   JHON         MILLER                       IA     90014399820
34298497672B76   JOSE         MEDINA                       CO     33016134976
3429853AA55972   SHAWNTEL     PAREDES                      CA     90013825300
3429862357B43B   VIRGINIA     LEWIS                        NC     11020486235
3429975846194B   SEGIO        CARMONA                      CA     90007997584
3429B16575B393   MIGUEL       MEJIA                        OR     90010581657
342B119217B449   SYMONE       STEWART                      NC     90003731921
342B2523651339   TRACY        CARTER                       OH     66096085236
342B2524961963   CHARLES      LONG                         CA     90007695249
342B2813447931   SHANNON      GOBER                        AR     25014998134
342B294A385688   THOMAS       BECHTEL                      NJ     90008199403
342B2A5715B52B   KAREN        LAVINE                       NM     35042540571
342B2A8797B492   KEESHA       ADAMS                        NC     90003060879
342B2A9515598B   CRISTINA     GARZON                       CA     49077150951
342B341962B87B   WAYNE        JOSLEYN                      ID     42082644196
342B3A18491232   TRAVIS       ALDRIDGE                     GA     90002180184
342B3A55151339   CASANDRA     MORRIS                       OH     90011810551
342B4475491831   DONYETTA     DYSART                       OK     90014074754
342B456765B393   DAN          KING                         OR     90013865676
342B572755132B   SAMUEL       CAMPBELL                     OH     90005327275
342B672654B281   MARIBEL      MEJIA-GENCHI                 NE     90014037265
342B736162B87B   CARRISA      SENNER                       ID     90014713616
342B7436341258   REBECCA      POLLICE                      PA     51083084363
342B7883A5B156   THEODIS      TIDWELL                      AR     90009588830
342B841174B281   MURIEL       MARY                         NE     27052864117
342B8517172B76   ROGER        BACA                         CO     90002905171
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342B856948B16B   MICHAEL       HARBAUGH                    UT     31052525694
342B867877B449   SAUL          JIJON                       NC     90013866787
342B8712191831   GEOVANY       TORRES                      OK     90012797121
342B87A8A91563   CYNTHIA       HERNANDEZ                   TX     90009467080
342B885547B639   JUAN          OLVERA                      GA     90013968554
342B9258851339   MARY          WATSON                      OH     90013922588
342B9393891563   LORETO        ARRIETA                     TX     90010123938
342B96AAA7B492   JANNEKE       WARD                        NC     90010776000
342B9861285824   DAVID         GENZLER                     CA     46089118612
342BB296791563   ROSA ESTHER   MANRIQUEZ                   NM     90013962967
342BB85142B835   JENNY         TRULL                       ID     42082298514
342BB944A84381   TANIKA        THOMPSON                    SC     90010869440
343112A3551339   KANDI         SUMPTER                     OH     66050532035
3431213264124B   DALENA        DAMA                        PA     51085571326
343121A7491831   BRETTNEY      LOWE                        OK     90013941074
3431279247B639   ANDREA        MARTIN                      AL     90012237924
3431332517B639   JACQUELINE    POSEY                       GA     90011013251
34313346A2B87B   JEFFREY       SATTER                      ID     90006793460
34313551A72B76   JOSE          PADILLA RODRIGUEZ           CO     33091835510
343137A648B16B   COREY         ATKINSON                    UT     90012197064
3431427448B16B   EILEEN        USCANGA                     UT     90003002744
3431447255598B   MARIE         BERNAL                      CA     90010634725
3431629662B87B   LUCILA        WALTHAL                     ID     90013232966
343172A7991831   TAMIKA        JONES                       OK     90008892079
3431759A38B16B   JORDAN        WRIGHT                      UT     90014665903
3431949565B52B   ANTONIA       MARTINEZ                    NM     90012044956
3431951875598B   CLAUDIA       SANTOS                      CA     90015455187
3431975364B281   JENNIE        JONES                       NE     90010107536
3432197AA4124B   RAY           MILLER                      PA     90009909700
34321A49451339   SHAWN         REECE                       OH     90011010494
34322A8378598B   JONATHAN      PANELINAN                   KY     66025670837
3432431372B871   KEN           HODGES                      ID     42082673137
34324459A61924   TRACY         BENNETT                     CA     90013944590
343254A712B871   PATRICIA      FORD                        ID     42060224071
3432551765B393   FLOR          SIBAJA MARTINEZ             OR     90004255176
3432561738B16B   CESAR         ONTON                       UT     90013276173
34325A7669125B   ASHLEY        DRIGGERS                    GA     90003110766
343269A635B156   FIDEL         PILA                        AR     23079729063
3432735737B449   TAMARA        RANSOM                      NC     11025913573
34327371174B46   PAYGO         IVR ACTIVATION              OH     90014543711
3432766662B93B   SHANNELL      GREEN                       CA     90012886666
3432964518B16B   CINDY         JENSEN                      UT     31094616451
3432B132855972   LORRI         REQUEJO                     CA     90014321328
3432B534172B76   MICHAEL       SINGLETON                   CO     33078655341
3432B54594B943   DIEGO         SANCHEZ                     TX     90004175459
3432B58A42B93B   CATHERINE     VILLA                       CA     90015135804
3432B738341285   JOSHUA        KRESS                       PA     90000877383
3433128125B393   ANDY          MAES                        OR     90001002812
34331852585B31   NATHAN        BAYS                        FL     90012038525
3433221627B639   CAROL ANN     WIMBERLY                    GA     90010352162
3433225697B492   DONZELL       WILLIAMS                    NC     90013012569
3433228387B639   GREG          JACKSON                     GA     90011122838
3433269A151339   DONALD        TURNER                      OH     90015126901
3433346494B281   JASON         CAWTHON                     NE     27034624649
343335A5A41285   GLENN         WEATHERS                    PA     51031215050
3433429732B87B   VICTORIA      GARCIA                      ID     90014032973
3433463547B492   JAVIER        ARCE                        NC     90011206354
3433477A472B32   REBECCA       ROMERO                      CO     90002647704
343354A9591831   PATRICIA      CLINE                       OK     90012974095
3433599227B492   ALFONSO       CRESTONIO                   NC     11071779922
34335A3A64B281   JENNIFER      BREWER                      IA     90009250306
34335A6A871656   AJUAYE        MUFUNGIZI                   NY     90015440608
34335AA4641285   KIRK          PETRULLI                    PA     51014120046
34336816A41258   SUSAN         MCCOY                       PA     90014648160
343368AA491563   MARIA         DURON GALVEZ                TX     75085978004
3433697385B156   VANTRICE      LITSEY                      AR     90007859738
343373AA847976   PHILIP        WITCHER                     AR     90011563008
34337A3A57B639   CHREE         CUNNINGHAM                  GA     15090100305
3433B13952B87B   PATRICK       WEST                        ID     42081471395
3433B17818B16B   TAMARA        ADAMS                       UT     90009171781
3433B856A91831   ADAM          THOMAS                      OK     90009988560
343416A972B93B   SABRINA       CAMACHO                     CA     90006426097
3434186594124B   MARQUISE      SHEPHERD                    PA     90013958659
3434199662B87B   BRAD          ELUMBAUGH                   ID     90015129966
34341A1212B87B   SANTIAGO      GOMEZ                       ID     90010130121
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343423A7141285   KIMBERLY       HOLZER                     PA     90006333071
3434267A34B281   RICHARD        IFEKANDU                   NE     27074436703
3434364964B281   CHARLES        STEIN                      NE     90002206496
3434483544B943   KATHLEEN       BAILEY                     TX     76596998354
3434624398B16B   ARMANDO        ALEJO                      UT     31042412439
3434638917B639   FRANCISCO      OLMOS                      GA     90013483891
3434779A155972   DEBRA          CALVO                      CA     48069217901
3434795592B93B   DONNA          STEELY                     CA     45079849559
34347A67431447   LATASHA        PEARSON                    MO     90012610674
3434858A68B16B   JEREMY         HARDIE                     UT     90007075806
3434912897B43B   WENDY          FUENTES                    NC     90007371289
3434978597B395   JEANNE         TONDJE                     VA     81074357859
3434B23782B835   JASMINE        SMITH                      ID     90007682378
3434B79845B156   ANTWON         STATON                     AR     90012507984
3434B835A55972   EVA            LICON                      CA     90013138350
3434B8AA88B16B   SHELLY MARIE   MORRIS                     UT     90014458008
34351763A91543   RONALD         FISHER                     TX     90011987630
34351A4814124B   MILISSA        GARRIS                     PA     51033820481
3435218797B639   DONALD         HUNTER                     GA     90014031879
3435315582B835   CLAUDIA        CERON                      ID     90012661558
3435353712B835   REW            PETERS                     ID     90011655371
3435389A25598B   FRANCISCO      BENTALPUK                  CA     90012488902
3435418795B393   BOB            MARTIN                     OR     90013501879
34354799A41285   ERNESTINE      THOMAS                     PA     90014067990
34355A8882B871   TOBI           BURNS                      ID     42025970888
343561A392B93B   MARIA          ZACARIAS                   CA     90005381039
343562A2991232   ERNESTO        HERNANDEZ                  GA     90005202029
3435653792B871   CHERYL         MOLONEY                    ID     42039345379
34357756A55972   RUBEN          ROGEL                      CA     90008997560
3435791275B156   MARKESHA       JONES                      AR     90011879127
34357A1367B492   WILLIAM        SPRINKLE                   NC     11032840136
3435826967B492   IVAN           WRAY                       NC     90010382696
3435875A15598B   JANE           THAO                       CA     49097507501
3435995365B393   BREANNA        DEEWHICT                   OR     90014129536
3435B461A4B281   ALEXIS         WATT                       IA     90014914610
3435B82A24124B   RHONDA         ACKLES                     PA     90014768202
3436181172B93B   JUNE           MEDEIROS                   CA     45029298117
34363622A91831   DEONTE         LOWE                       OK     90014876220
3436396127B639   GENE           SAVAGE                     GA     90003339612
34363A99A2B195   ADA            SANCHEZ                    NJ     90014400990
3436435382B93B   TRISTAN        AVIS                       CA     90012883538
3436489145B393   MELANIE        HICKS                      OR     90006108914
3436521823B152   YVONNE         NSONG                      DC     90013922182
34365335672B76   NICHOLAS       YORK                       CO     33088133356
3436736697B639   TAMIKA         CRAWFORD                   GA     90014033669
34367498A91563   JUDY           MARQUEZ                    TX     75082334980
343685A168B16B   STEPHANIE      WADE                       UT     90011105016
3436878215598B   CHEE           MOUA                       CA     90005097821
3436943397B43B   ADAIA          CALEBRO                    NC     90008594339
3436952A17B639   BRITTANY       SALAZAR                    GA     15001695201
343696AA15B52B   CHEVELL        HOUSTON                    NM     90015306001
3436B139A7B449   ERIKA          ORTEGA                     NC     90005221390
3436B4A8951339   KARLY          PENNINGTON                 OH     90011014089
3436B627A2B87B   FERNANDO       ALVAREZ                    ID     90002526270
3436B73915B156   TASHUNYA       PORTER                     AR     90015127391
3436B835741258   DMONEY         EXIT                       PA     90012378357
3436B9A3951339   JAE            RIVERA                     OH     90015139039
3437145967B395   MARIE          TONDJE                     VA     81074364596
343714A695B156   LOUISE         GARRETT                    AR     90010994069
3437161335598B   JUSTIN         ROBINSON                   CA     90011456133
3437184657B449   LAMARCUS       DAVIDSON                   NC     90013418465
3437186A191359   PABLO          SANTOS                     KS     29028638601
3437267174124B   JUSTIN         GRIFFIN                    PA     90010276717
3437269322B87B   DENA           GRENICKO                   ID     90010956932
343741A145B156   SESLIE         JONES                      AR     90012071014
34374585A9125B   ANN            HUNTER                     GA     14557715850
3437493222B93B   SUMMER         ROBINSON                   CA     90013469322
3437524142B835   TRACE          MARTIN                     ID     90010632414
3437537822B93B   JENNA          REYES                      CA     45086973782
3437538192B871   JOSE           RODRIGUEZ                  ID     90014753819
3437633935598B   YVONNE         SANCHEZ                    CA     90012883393
34376A24561963   PAUL           RUPP                       CA     90012190245
34376A5747B639   ANITRA         SIMS                       GA     15053700574
3437711622B835   JONATHON       BRANDEMIHL                 ID     90009601162
343777A2141258   ROSANNA        LA CAVA                    PA     51037237021
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34378137A7B449   CHIRIS            HOUSTON                 NC     90013041370
343781A1691543   ANA               HERRERA                 TX     90009011016
3437877417B639   ANTOINE           SMITH                   GA     15083257741
3437898426194B   MARIZOL           ULLOA                   CA     90009239842
3437925697B492   BRIAN             DAVIS                   NC     90012252569
34379938A5B393   SHELLY            WATTS                   OR     44541739380
34381141172B76   ISAAC             JARAMILLO               CO     33083371411
3438183992B93B   JOSE              MADRIGAL                CA     90012268399
3438246A541285   MARK              SOSTER                  PA     90013964605
3438249318B16B   MARIA             ROSAS                   UT     90012374931
3438275846194B   SEGIO             CARMONA                 CA     90007997584
34382848A91563   JENNY             LOERA                   TX     90014778480
3438365A67B492   CHARLES           GRAHAM                  NC     90014796506
3438384345B52B   RAMIRO            HERNANDEZ               NM     35059758434
34384A7865B252   CSAM              WHEATLEY                KY     90000790786
3438541852B835   REGINA            ANDREE                  ID     90012174185
3438573762B87B   DELIA             LERI                    ID     90015117376
3438676258B16B   DAMON             CONROW                  UT     90014467625
34386A9735B52B   JASON ALEJANDRO   RODRIGUEZ               NM     90010280973
34388518A61437   REZA              ATASHKHOOEI             OH     90013955180
3438857795B393   KUMAR             RAI                     OR     90003405779
3438B42212B93B   FRED              ESTRADA                 CA     45076444221
3438B73287B449   SEVERIANO         NAVARRO                 NC     90014137328
3438B83142B835   HOLLY             KIMBRELL                ID     90012138314
3438BA4564124B   CHERYL            ROLAND                  PA     90014600456
343913A298B147   BENJAMIN          AMEGASHIE               UT     90011503029
3439169254B943   ATANASIO          RAMIREZ ZAVALA          TX     76597026925
343921A3532573   PATRICIA          BROWN                   TX     90015361035
3439235A785955   JOSEPH            SPRINGFIELD             KY     67020993507
343935A265B52B   KAY               HESS                    NM     90008555026
3439369A151339   DONALD            TURNER                  OH     90015126901
3439471327B449   VIVIAN            LOVE                    NC     90011577132
34394775436B77   BLANCA            PAT                     OR     90009997754
3439488317B639   DARIUS            PRATHER                 GA     90008628831
3439581874124B   DANIELLE          TAYLOR                  PA     51074648187
3439582588B16B   JANICA            MCCLOUD                 UT     90010348258
3439636815B393   JAIRO             CORDOVA                 OR     44552993681
3439693685598B   MANG              MOUA                    CA     49000269368
34398268A4124B   JASMINE           LITTLE                  PA     90011132680
3439868857B639   LASHUNDA          CUNNINGHAM              GA     15085976885
34398A4885B393   TERRI             LINN WELDON             OR     90013880488
3439993A34B281   MELISSA           HARDNETT                NE     27092259303
34399AA9851339   DEBBIE            SMITH                   OH     66038700098
3439B6A5151339   JENNIFER          COOK                    OH     90011016051
3439B8A378B16B   JAY               SHURTLIFF               UT     31040668037
3439B919155972   HOANG VAN THI     TRAN                    CA     90012369191
343B146835B393   RICARDO           HALL                    OR     90012104683
343B277A52B835   RON               RODRIGUES               ID     42087357705
343B295774123B   DONALD            LARGENT                 PA     51062159577
343B295782B871   ALLISON           RIBORDY                 ID     42095839578
343B374AA5598B   FRANCISCA         VALDEZ                  CA     49087577400
343B3939491563   IVANA             ROCHA                   TX     90003529394
343B3A6664124B   JESICA            KHASKIN                 PA     90012710666
343B535A654165   RICHARD           ROEBUCK                 OR     90011763506
343B578A82B87B   CRAIG             OLIVER                  ID     90006877808
343B664422B87B   DEBRA             CLARK                   ID     90001336442
343B6685755972   JOSE              FLORES                  CA     90013936857
343B72AAA61945   CEDRIC            MC GOWIN                CA     90001842000
343B7753951339   TERRY             NOLDER                  OH     66030777539
343B77A817B471   TERRY             GRIER                   NC     90012157081
343B86A6491563   GAYLYNN           DURAN                   TX     90011676064
343B8929955972   VANESSA           WOODS                   CA     90007199299
343B9362A7B449   EVELYN            MANAIZA                 NC     90004263620
343B9A4785B393   OSCAR             MUNOS                   OR     44525780478
343BB166361963   DUSTIN            IVY                     CA     90014951663
343BB3A3541285   DENETTA           JOHNSON                 PA     51086163035
3441146545B156   LASHA             JACKSON                 AR     90010994654
34411719A91831   JAVIER            ESTEBAN                 OK     90014587190
3441225917B449   BERENICE          MONTERA                 NC     11067472591
3441341A541285   MITZI             HAMPE-BROOKS            PA     51087984105
3441348172B93B   ESMERALDA         PANIAGUA                CA     90014504817
3441352635B393   JOSE              SANTOS                  OR     90003345263
3441479157B639   LATOYA            CROWDER                 GA     90014037915
34415A71591563   MARIBEL           ALBA                    TX     75012810715
3441646A24B954   TROY              HOPKINS                 TX     90005504602
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3441696185B52B   PETER        RAPSTINE                     NM     90014429618
34417A16355933   JAVIER       BERNABE                      CA     90005860163
3441834A42B871   MELINDA      CAMPBELL                     ID     90009643404
3441871A72B87B   JEREMY       BALLOU                       ID     90009157107
3441879112B835   ALLISON      HUDDLESTON DA 3RD            ID     42039997911
3441946AA2B87B   ERIC         BROCKBANK                    ID     90013274600
3441965968B16B   DUSTIN       KAY                          UT     90011346596
344197A9554165   SELINA       DEAL                         OR     90005977095
3441B395932573   ALLEN        PRYOR                        TX     90012793959
3442135A47B43B   SHAWNTEL     HOBSON                       NC     11014903504
3442196A37B449   LAUREN       COOPER                       NC     11049519603
344223A722B87B   KAY          ANDERSON-PETERSON            ID     90006963072
3442373135B156   ERIC         BARNETT                      AR     90013017313
3442427A15B393   JARED        MOORE                        OR     90008762701
34424321A47931   KATI         ELMORE                       AR     90005383210
3442555182B93B   SONIA        DORADO                       CA     90013945518
34426174772B76   BRENDA       LOCKHART                     CO     33002711747
3442664375B156   BRITTANY     ROSE                         AR     90015236437
3442746974B943   MARCUS       YOUNGER                      TX     76565674697
34427717A4124B   RONALD       PRICE                        PA     90015117170
344277A9154165   SUSAN        SIEN                         OR     47008077091
34427A33161945   LORI         WILLIAMS                     CA     90006570331
3442839A44B943   VANESSA      SWAN                         TX     90004493904
344284A6255951   AMBER        TAYLOR                       CA     90007104062
3442923A55B393   MICKI        KING                         OR     44570422305
3442B63327B492   SHANTINEYA   HOWELL                       NC     90015126332
3442B77487B639   RUSSELL      PEARCE                       GA     15012017748
3442B963754165   DEBBIE       MAZUREK                      OR     90015119637
3443142A87B639   BRANDI       COPENNY                      AL     90011144208
3443155492B871   SALLY        JOHNSON                      ID     90003845549
34432124A31424   SHUNICE      MITCHELL                     MO     90006901240
3443254464B281   LEAH         BROWNING                     NE     27074725446
3443275245B156   TONIA        ROCHELL                      AR     23089667524
3443279822B93B   DERRICK      BARNETT                      CA     90014157982
34433288A41277   BOBBI        ROGOSZ                       PA     51046992880
3443334274B943   MARIA        GOMEZ                        TX     76573183427
3443377295B393   RUBIE        RODRIGUEZ                    OR     90012837729
3443541872B93B   MICHELLE L   KLAMM                        CA     45006284187
3443611A15598B   CLUDIA       VALTAZAR                     CA     49010051101
34437949572B76   DOUGLAS      LOPEZ                        CO     90002839495
3443848A22B87B   JOHN         BITTICK                      ID     90008464802
34438828A4B281   EVETTE       DORSEY                       NE     90002848280
3443B983155972   BAUDELIA     ARAMBURO                     CA     48013119831
3444155355B52B   SERGIO       CIGARROA                     NM     90011925535
344417A1355972   PAMELA       ZAMORA                       CA     48004647013
3444271327B449   VIVIAN       LOVE                         NC     90011577132
3444274387B639   ASHLEY       RAMSEY                       GA     90013027438
3444391277B639   JOSE         PACHECO                      GA     90014889127
3444546835598B   REY          FEREYRA                      CA     90011204683
3444649837B639   T            SMITH                        GA     15047254983
3444716418B16B   CRYSTAL      ARENDTSEN                    UT     31058651641
344478A8755972   JOSE         PALAMAREZ                    CA     48027178087
3444886468B16B   WESLEY       MELTON                       UT     90011448646
344493A682B87B   DENISA       TAHIROVIC                    ID     90003533068
3444B18462B93B   ANTONIO      ROBLES                       CA     90011281846
3445145565B545   RENEE        OLAVE                        NM     90011524556
3445161155B393   JAMES        STOCKWELL                    OR     90012826115
3445228312B87B   DEBBIE       RIVERA                       ID     42020072831
344522AA733B88   GARY         WEEKLEY                      OH     90015212007
34452A94254165   CASONDRA     ANDERSON                     OR     90006960942
3445323322B87B   ROSALINDA    ESPARZA                      ID     42092882332
3445377285B52B   TIFFANY      BURTE                        NM     90014327728
344547A268B147   ANGEL F      NUNOZ                        UT     90000917026
3445491935598B   JAMES        LYNDAY                       CA     90008179193
3445563275B393   ANTOINE      HALL                         OR     90014886327
34455823772B76   EDWIN        ISRRAEL                      CO     90003798237
34455A16751339   STEVEN       WEBER                        OH     90014570167
3445882945598B   DAYJANIQUE   BROWN                        CA     90011858294
3445981832B871   RICARDO      SANCHEZ                      ID     90008598183
3445982868B16B   MIYA         WOODLING                     UT     90015288286
3445B27A891563   NANCY        HARRIS                       TX     90006062708
3445B36155598B   SERGIO       ALVAREZ                      CA     90013983615
3445B54774124B   CENTORRIA    SPELLS                       PA     90012395477
3445B61A661963   DENISE       GARRETT                      CA     46077136106
3445B85778B16B   ENRIQUE      DOMINGUEZ                    UT     90014958577
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3445BAA1172B76   ROSALINA         CIBRIAN                  CO     90008000011
34461639A91831   ANGELA           TUNNELL                  OK     90013336390
34462A5885598B   JOHNNY           FLORES                   CA     49053410588
344634A644124B   JOHN             RAY                      PA     90014144064
3446385255B156   LEONEL           OROZCO                   AR     90011888525
34463A37473221   KEVIN            FITZ                     NJ     90014370374
34463A6967B492   POOH             COLLINS                  NC     90012200696
3446433358B16B   JACQUELYN        PIERCE                   UT     90013953335
3446443554B943   CHARLOTTE        HARRIS                   TX     90010764355
344656A725B393   TRAVIS           LOWERY                   OR     44536106072
3446613A461963   CHRISTIAN        REYES                    CA     90015251304
3446713528B16B   LISA             STRONG                   UT     90010431352
34467A2515B52B   RAFAEL           ORNELAS                  NM     35051760251
3446824824B281   FORTENBERR       SAKIA                    NE     27066462482
3446833358B16B   JACQUELYN        PIERCE                   UT     90013953335
3446927985B56B   RAQUEL           CANTERO                  NM     36008582798
3446983587B639   LORY             CAMPBELL                 GA     90010118358
3446B173891831   PATRICK          CUNINGKIN                OK     90013941738
3446B315A55972   VANESSA          MORFIN                   CA     90013933150
3446B438361557   LAKEIYA          LOCKWOOD                 TN     90015384383
3446B43A87B639   CHINIKACHATMAN   CHATMAN                  GA     90011034308
34471131A51339   JAMES            ELDRIDGE                 OH     90011321310
3447283187B471   KESSHIA          BISHOP                   NC     11076568318
3447324325B156   ANGEL            TELFORT                  AR     90013252432
3447428922B93B   MICHALE          YATES                    CA     90012532892
3447697762B93B   MARIA            CARRILLO                 CA     90010249776
3447724724B943   JOSE             GONZALEZ                 TX     90000412472
3447775727B449   MARIO            ELLIOT                   NC     90013767572
3447795A52B87B   ANTHONY          ROTONDO                  ID     90013479505
3447829712B871   HAILEE           MOALA                    ID     90009912971
3447853147B471   MARY             BROOKS                   NC     90002795314
3447916A551339   CHRIS            MCINTOSH                 OH     90009671605
34479514A91563   LETY             GARCIA                   TX     90012135140
34479583A4124B   JACQUELYN        BAUER                    PA     90012105830
344798A315B393   GLEN             HOLLAND JR               OR     90010068031
3447B28928B16B   TRACY            STANISLAWSKI             UT     90008622892
3447B91A541297   TAMEKA           ADAMS                    PA     90010699105
3447B967457123   CLAUDIA          MENENDEZ                 VA     90001929674
3447BA8A12B871   JOESPH           COLLINS                  ID     90011210801
3448137A35B393   CARRIE           TODD                     OR     90014603703
34481472672B76   CARLOS           NAVA                     CO     33016144726
3448147A92B87B   ROCHELLE         GRANDEY                  ID     90010224709
3448243335B156   BRITTNEY         SEBASTIAN                AR     90013524333
3448247562B87B   BILLY            NEAL                     ID     90013294756
34483219A5598B   FREDDIE          DELGADO                  CA     90011502190
3448376884B563   PAMELA           CASTLE                   OK     90001067688
34483897A54165   ANDERSON         NICOLE                   OR     90004688970
3448399A591232   WILLIE           JONES                    GA     14515649905
34483A1145B156   LATOYA           ROBERTSON                AR     90013660114
3448578327B449   MARK             JOHNAON                  NC     90015327832
34486167272B41   ELSA             SWAHN                    CO     90011661672
3448656A22B871   TAMARA           ALLEN                    ID     42052435602
3448669475B156   LAKEISHA         IRBY                     AR     23092476947
3448797787B449   FELICIA          CATHEY                   NC     11025629778
3448812675B393   SILVER           PHIL                     OR     90010391267
3448828165593B   ANTONIA          RAMOS                    CA     48076862816
3448835572B835   SUSAN            ARNOLD                   ID     42025783557
344884A2241285   THOMAS           MILIAUCKAS               PA     51037034022
34488A76431424   MEKA             GILLIAM                  MO     27562450764
3448917158B16B   ROBERTA          LOMELI                   UT     90014471715
3448B35765B156   SHAWN            RATLIFF                  AR     23028363576
3449182877B449   KAYLA            MOISE                    NC     90014728287
3449183995B52B   LAUREN           SMITH                    NM     90000178399
34491A8873B152   MAYA             WARREN                   DC     90008100887
3449246124B281   HEIDI            PARSONS                  NE     90015084612
3449266182B871   BRITTANY         ARBUCKLE                 ID     90014556618
3449291A62B87B   NICHOLAS         NELSON                   ID     90011429106
3449459A857124   STEVE            BAKER                    VA     90006955908
3449489318B16B   LACIE            ATMORE                   UT     31034808931
3449518735598B   TRACY            GONZALEZ                 CA     49062661873
3449561962B93B   FRANCES          ROBERTS                  CA     90009056196
3449616862B87B   SHAWNA           HATFIELD                 ID     42047611686
34496A13491831   WILLIAM          KEIFER                   OK     90010170134
344972A354124B   MAXWELL          POULOS                   PA     90014382035
34498945A7B449   PATRICA          LEAK                     NC     90012299450
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34498949A41285   LARA         LAMPENFIELD                  PA     51032199490
34498A8628B16B   MONICA       ZAMRA                        UT     90010920862
3449945359125B   GABRIEL      JIMENEZ                      GA     90013964535
3449978A441277   LUANN        JEFFREY                      PA     51012797804
3449B39847B449   CHRIS        SCOTT                        NC     90001393984
344B116967B639   NAOMI        DAVENPORT                    GA     90012581696
344B134A361963   PAULINE      MARTINEZ                     CA     46053343403
344B13A7661963   TAYLOR       NEAO                         CA     90014543076
344B1657751339   JASON        LOVILL                       OH     90010666577
344B2292351347   MIKE         BRIGGINS                     OH     90003762923
344B252767B471   LAWRENCE     LINDSAY                      NC     90002795276
344B3623341258   WENDELL      BRADSHAW                     PA     90003186233
344B3A16461963   TASHEEN      DAVENPORT                    CA     90013000164
344B441165B52B   ROSA         ANCHONDO                     NM     90012174116
344B4983155972   BAUDELIA     ARAMBURO                     CA     48013119831
344B4A24341285   MICHEAL      STAPINSKY                    PA     90002990243
344B4A8278B273   ANGELA       DARLING                      VT     90014220827
344B4A89754165   MICHAEL      CORBIN                       OR     90010090897
344B528415598B   MARICELA     OLIVO                        CA     90014702841
344B5986141277   SHIRLEY      EDWELL                       PA     90014199861
344B6712554165   DAKOTA       SKYE                         OR     90013847125
344B6924555951   ALAN         PENA                         CA     49014679245
344B69A485B156   SANDRA       CURTIS                       AR     90013829048
344B7442641258   JAMAR        BOXLEY                       PA     51006834426
344B7917A8B16B   OCTAVIO      HERNANDEZ                    UT     90011359170
344B7A41991538   JERRY        CHAPARRO                     TX     75083980419
344B825A94124B   DENIECEA     WYNN                         PA     90009702509
344B9573472B76   CHRISTOPHE   WEBER                        CO     33068205734
344B9A6125B156   HARRY        PILGRIM                      AR     90009470612
344BB23617B492   RACHEL       TORRES                       NC     90004022361
344BB416A61927   HAYDEE       VAZQUEZ                      CA     90012564160
344BB776754165   JANELL       BROWN                        OR     47093027767
344BB9A368B16B   MARIA        GARCIA                       UT     31036089036
3451176568B16B   ANGELA       ECKLER                       UT     90014047656
34511817A2B834   THOMAS       CURL                         ID     42019718170
3451185867B449   LINDA        SALAZAR                      NC     90013458586
34511A65261963   ALAN         FIELD                        CA     90013000652
3451237515B52B   YOLANDA      ARAANDA                      NM     90004643751
3451259997B449   KAMYA        CHAMEY                       NC     90003525999
34512654A91563   CURTIS       DAVIS                        TX     90014066540
3451265852B87B   PAUL         PETERSEN                     ID     90005106585
34512964A51339   TRACY        MACK                         OH     90012769640
3451341552B835   TERESA       CENISEROS                    ID     90013544155
3451344134B281   BRIAN        NIGHSWONGER                  NE     27090444413
3451373177B639   NINA         COPPER                       AL     90014727317
3451479892B87B   SANTIAGO     SARMIENTO                    ID     90000657989
3451485524B943   GERALD       HATCH                        TX     90006348552
34514A1155B156   LAMAR        LAGRANT                      AR     23081480115
34514A25361963   LASHEA       FULTON                       CA     90007430253
3451568474B281   CRAIG        BOUKAL                       NE     90011086847
3451583A961963   MICHEALE     EDWARDS                      CA     90008318309
34515AA6A7B384   ERICK        LOPEZ                        VA     81030700060
34517411A7B449   TASHIA       WILSON                       NC     90011104110
3451819A92B871   ANDREZ       DIAZ                         ID     90013471909
3451854817B639   BUCK BUCK    ALSTON                       AL     15024445481
3451886A94B927   ROCIO        GUILLEN                      TX     90002658609
345188A237B471   MARGARET     DAVIS                        NC     11069918023
345192A332B87B   JON          LARSEN                       ID     42087602033
345193A5255972   ARLENE       MATNEY                       CA     48015873052
3451945543B324   LEOPOLDO     MARTINEZ                     CO     33095364554
345198A614124B   KYLE N       WILSON                       PA     90012188061
3451B362361963   ARMANDO      QUINTERO                     CA     90000483623
3451B82437B622   SHARON       LEWIS                        GA     90011888243
3451BA18A2B835   STEVEN       SNOW                         ID     90009330180
3452136464B944   KRSNA        FONTENET                     TX     71005703646
345217AA92B835   MARIA        QUIJANO                      ID     90013137009
3452215994B281   LIDDICK      MICHELLE                     IA     90013441599
3452228A161963   DANIEL       BISHOP                       CA     90002742801
3452235835598B   ERICA        GARCIA                       CA     90014613583
345238A4891831   DALE         WERTS                        OK     90011168048
34524337A2B87B   SHAMSULL     SAFI                         ID     90010343370
345246A118B16B   GUTIERREZ    JENNIFER                     UT     90000676011
34524832A7B639   AUCTAVIA     MORGAN                       GA     90012388320
3452591247B347   SANDRA       CABANA                       VA     90000649124
3452763412B87B   HECTOR       RAMIREZ                      ID     42081466341
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3452867315B52B   COURTNEY       CRITES                     NM     90014106731
345291A875B393   KYLE           BENEDICT                   OR     90011951087
34529721572B93   NAM            NGUYEN                     CO     90011917215
3452B595991837   CHARLES        ZIPP                       OK     90011085959
3452B918831432   JAMES          STIDHAM                    MO     27515269188
345318A8241285   DELONTE        HAYNES                     PA     90014788082
34531A69291563   ANA            MC MANUS                   TX     90011450692
3453252A84B597   CHRISTINE      MASON                      OK     90009855208
3453273567B43B   ARMANDO        LOPEZ                      NC     90003367356
3453334815B277   JOSPH          WATSON                     KY     90007033481
3453383574B569   AARON          MOREHEAD                   OK     90009418357
3453558492B93B   DESIREE        REYMUNDO                   CA     90015005849
345361AA75B52B   MORGAN         HIBBERD                    NM     90014261007
345363A9A7735B   GLEN           LONGSTREET                 IL     90012633090
3453666885B393   SUMMER         WESLEY                     OR     44506146688
3453742724B281   TODD           DAVIS                      NE     27031164272
34537A1647B449   ANGELA         PRUITT                     NC     90008890164
3453833488B16B   TAMMY          STAPLES                    UT     90013673348
34539639A91831   ANGELA         TUNNELL                    OK     90013336390
3453B163A7B639   ELKI           VAZQOEZ                    GA     90012411630
3453B394755972   RICHARD        ST CLAIR                   CA     90011453947
3453B48A455972   REYNA          HERNANDEZ                  CA     90014404804
3453B4A372B87B   ANJANETE       GALLEGOS                   ID     90011324037
345419A3841285   STACIE         WILLIAMS                   PA     51069479038
3454255547B639   PORTIA         MAYE                       GA     90012505554
3454351467B639   TAVARA         LOWE                       GA     90013155146
3454361517B449   SERGE          ARNAUD                     NC     11003506151
34543A51141285   GEORGE         BADEAU                     PA     90014100511
34543AA9441285   JASON          HANN                       PA     90012680094
3454439482B93B   LAN            DINH                       CA     90012603948
345445A882B871   TONY           RITCHIE                    ID     42096835088
34544937A2B835   BLANCA         BENAVIDES                  ID     42087109370
34544A5337B471   KEISHA         MCNEIL                     NC     11083310533
3454512587B449   MATTHEW        HENRY                      NC     90013651258
3454532894B281   CHRISTINE      BATISTE                    NE     27003613289
3454563A455972   CINTHYA        MORALES                    CA     90013696304
3454588A585943   ANTWON         LEWIS                      KY     90011938805
34546A66255972   LUIS           ALVAREZ                    CA     90015500662
3454843A27B639   MONIQUE        MCMURRAY                   GA     90014114302
345486A1941258   ANTONIO        RENE                       PA     90012476019
3454915628B16B   JOSH           JAMISON                    UT     90013381562
3454958375598B   CHLOE          VALENCIA                   CA     90012445837
34549A4877B492   BERNARDO       MONTOYA                    NC     11077490487
3454B63195B333   DAVID          HARTLEY                    OR     90003616319
345513A9841277   STEPHANIE      WESTFALL                   PA     90005413098
3455155A62B871   MIGUEL ANGEL   AGUIRRE                    ID     90011825506
34553A54191563   ALFONSO        PACHECO                    NM     75039030541
34554A67291563   MARIA          VILLALOBOS                 TX     75089500672
34554A71854165   JOY            BEST                       OR     90013920718
3455556417B449   TONY           MONTGOMERY                 NC     90013195641
3455595154B943   PAULA          DAIGLE                     TX     90008379515
3455599272B392   MADELYNE       TRUJILLO                   CT     90014859927
34555A14A5B52B   ANNA           MARTINEZ                   NM     90004750140
34555A68A4B281   RAQUEL         SERRANO                    NE     27043170680
345576A455B52B   TRAVIS         COLLINS                    NM     90012806045
3455864919125B   MARCUS         LUCKY                      GA     90001456491
3455917A941455   KATE           HART                       WI     90015511709
34559811A4124B   ABDALLA        OSMAN                      PA     90013228110
3455B36112B835   IAN            LANE                       ID     90014003611
3455B77948B124   STACEY         TEIXEIRA                   UT     90001197794
3455B881331424   MONTY          LACKEY                     MO     90007688813
3456121169125B   BLAINE         SWANSON                    GA     90003682116
3456167595B52B   JAMES          SANCHEZ                    NM     90014846759
3456177997B639   DEDRA          SCHULTZ                    GA     90014507799
34561A66655972   MONIQUE        HERNANDEZ                  CA     48052230666
34561AA8941258   HOPE           FLETHER                    PA     90012230089
3456247785598B   GISSEL         CALDERON                   CA     90012934778
34562A2975B393   SCOTT          NOEL                       OR     90014320297
3456317158B16B   ROBERTA        LOMELI                     UT     90014471715
3456318147B492   TONYA          HERRING                    NC     90010711814
3456327765B393   DEBRA          POWERS                     OR     90013392776
3456386A87B492   ERIC           HANG                       NC     90010748608
34564178A2B87B   CHARLYNN       GOLLER                     ID     90004991780
3456518525B52B   SHAVON         WILLSON                    NM     35090841852
34565384A4124B   RANDOLPH       HICKMAN                    PA     90011133840
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1672 of 2350


3456614862B835   ROBYN        RINGKAMP                     ID     42063471486
3456616A85B156   ARTELLIA     LITTLE                       AR     23085781608
3456755312B93B   DANIEL       COBB                         CA     90009375531
34567786A31424   BYUNGHEE     PARK                         MO     90007687860
3456862A48B536   JESUS        REYES                        CA     90015226204
34568A2A54B532   CHARRON      HARDING                      OK     90013470205
34569137572B76   JOSE         DE JESUS RAMOS               CO     90001851375
3456934927B639   CHARLES      CROWELL                      GA     15096883492
3456B737554165   KIMBERLY     CRACOLICE                    OR     90013537375
3456BA96831424   CAROLYN      TYSON                        MO     27594640968
34571253A8B16B   ALISHA       EVANS                        UT     90004572530
3457192242B87B   LISA         TOVAR                        ID     90011429224
34575287A91831   ZAM          NUAM                         OK     90011382870
3457591427B492   MARK         VERNON                       NC     90014369142
3457725942B835   MARICRUZ     MATA                         ID     42096852594
3457892237B639   VICTOR       MONTOYA                      GA     90012679223
34578A8854124B   DARREN       MOORE                        PA     51014300885
34579483A43524   TAHNEEE      HOOLEY                       UT     90009274830
3457B211591831   ROBERT       MORRISON                     OK     90013942115
3457B233491563   NICOLAS      PLACENCIA                    TX     75081672334
3457B28928B18B   BELLAMY      NENTWICH                     UT     90011802892
3457B39812B835   ANTHONY      JOHNS                        ID     90014863981
3457B46245598B   GILBERT      GARCIA                       CA     49089034624
3458234587B43B   MARCIA       CALDERN                      NC     90003443458
345824A932B93B   SHAUN        WRIGHT                       CA     90014644093
3458377425B156   KIMBERLY     BLANKTON                     AR     23053717742
3458428215B393   SAMANTHA     BINNS                        OR     90013892821
3458458452B93B   MELISSA      RUIZ                         CA     90010975845
34585424272B25   JUSTINA      NAY                          CO     90003824242
34585A5742B221   GREGORY      MIMS                         DC     90001140574
3458622172B87B   ESTELLA      VERA                         ID     42072192217
3458688435B52B   ROBERTO      NUNEZ                        NM     35087888843
3458727532B93B   CAROLINA     SALGADO                      CA     90012102753
345883A5651339   BRIAN        ALCORN                       OH     90008833056
345885A884B281   KATTY        ARIAS                        NE     90007095088
34589244A91543   ELIZABETH    GENOVA                       TX     75067862440
34589362A8B16B   JEFFREY      SCHMITT                      UT     90014473620
3458974252B87B   SANDRA       MEDINA                       ID     90012697425
3458983247B639   TIFFANY      KIMBROUGH                    GA     15041148324
34589A23461963   TERRY        JOHNSON                      CA     90008630234
3458B188691831   NICHOLAS     CORLEY                       OK     90010981886
3458B213391831   ABEL         TORRES                       OK     90013942133
3458B272A41258   FRED         DALVERNY                     PA     51021992720
34591462676B8B   MICHELE      C HERINGTON                  CA     46080194626
3459172154B281   TOMAS        DOROTEO                      NE     27007037215
3459182325598B   PATTY        DELEON                       CA     90008828232
3459185738B16B   ELIZABETH    CASTANEDA                    UT     31064718573
34592464A7B449   TINA         GEER                         NC     90010954640
3459294732B93B   JOSE         FIERRO                       CA     90010979473
3459376A531424   MARK         SEYMORE                      MO     90010857605
345938A6755951   DIANA        SOLANO                       CA     49071808067
3459392445B156   LAKESSESA    SHAVERS                      AR     90013709244
3459412212B87B   DENISE       HYLTON                       ID     90014021221
34594522A55939   NOE          FRAUSTO                      CA     90006085220
3459489327B639   JOSE         MATEO                        GA     90010508932
34594A31754165   MADELINE     PACKARD                      OR     90007090317
3459563169125B   PETE         MCCOY                        GA     90007396316
34596775898B26   MIASHA       MCDOWELL                     NC     90010807758
345977A569125B   PATRICK      ELLISON                      GA     14557757056
3459835687B492   JERRY        ADAMS                        NC     90013903568
34599211A41277   NICOLE       FEDELL                       PA     51042722110
3459B455A41285   LINDA        LEWIS                        PA     51096994550
3459B51427B449   JOCELYN      JOHNSON                      NC     90012235142
3459B722141277   RICKI        STEWART                      PA     51087497221
3459B755351339   TRAVIS       JONES                        OH     90012587553
345B11A252B871   MEAGAN       HAYES                        ID     90013381025
345B1915761963   YORYET       RODRIGUEZ                    CA     90001129157
345B247645B393   SEAN         ISON                         OR     90014834764
345B311517B492   JOHNNETTA    LOWERY                       NC     90014581151
345B3413541285   SHERRY       NORKEVICUS                   PA     90001124135
345B3838254165   CRAIG        EVANS                        OR     90011868382
345B4145776B7B   GRISELDA     HERNANDEZ                    CA     90009771457
345B41A572B835   ERIC         JUAREZ                       ID     90004001057
345B459748B16B   ERIC         CHAVEZ                       UT     90010015974
345B4A3577B639   TAMEKA       DAVIS                        GA     15089120357
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345B5663841258   RICHARD      PSUTY JR                     PA     51074826638
345B5877A41285   LYNN         CHIESA                       PA     90013148770
345B5945861963   MAYRA        SANCHEZ                      CA     90008389458
345B61A6772B76   ROSA         JIMENEZ                      CO     90010271067
345B647425B393   KAREN        LOWE                         OR     90012074742
345B651848B273   MERRY        JAN                          VT     90014845184
345B683874124B   LARONZO      WADE                         PA     90003188387
345B6874655972   PEDA         SANCHEZ                      CA     90011928746
345B711A461963   CHAD         ALVAREZ                      CA     90004761104
345B841214B524   RACHEL       YATES                        OK     21583664121
345B8A89541285   KRISTY       BUCKHOLTZ                    PA     90014060895
345B922114B561   ELVIS        SOLIS                        OK     90008582211
345B942112B871   HOWARD       MCDANIEL                     ID     42062384211
345B94A7A41285   DAVE         DROSSART                     PA     90006364070
345B9813A51341   BRIAN        COFFMAN                      OH     90014248130
345B993365B393   CHRISTINA    HENRY                        OR     90013799336
345BB3A4991563   NORMA        CASTANEDA                    TX     90013963049
345BB44197B397   SALLU        FULLAH                       VA     90013964419
345BB56232B835   MARIA        URBINA                       ID     42081545623
345BB75864B547   JIMENEZ      RUIZ                         OK     90010607586
345BB771955951   JOANNA       LOMELI                       CA     90005627719
345BB86317B639   TYESIA       OESTRICHER                   GA     15052718631
345BBA5264124B   MELISSA      HACKENBERG                   PA     51063450526
3461152525B393   RONALD       ULERY                        OR     90014475252
3461225297B639   MARCIA       WILLIAMS                     GA     90014122529
34612475A31424   KIMBERLY     DUCKWORTH                    MO     90013334750
3461254A72B87B   ANNA         WINTER                       ID     90012475407
3461366887B492   MARCO        ACOSTA                       NC     90012146688
34614A9417B43B   BRYNETTE     PARKS                        NC     11015240941
3461545352B835   BAL          MAGAR                        ID     90002454535
3461624968B16B   ANGEL        FLORES                       UT     90004352496
3461695A47B639   BRITTNEY     CALDWELL                     GA     15029409504
34616A12A91563   DORIS        SHELDON                      TX     75005300120
34617211A41277   NICOLE       FEDELL                       PA     51042722110
3461728547B639   MARCELLA     JOSEPH                       AL     90011042854
3461773A12B835   TED          ROMERO                       ID     90006777301
3461817834124B   DONALD       MOSS                         PA     90007751783
34618387A55951   SAMULE       HOOKER                       CA     90005653870
34618532A5B52B   JAZMAIN      MONIQUE                      NM     90005705320
34618A4718B16B   BRYAN        THOMPSON                     UT     31017140471
3461925297B639   MARCIA       WILLIAMS                     GA     90014122529
34619932A5B277   JOHN         KUCHENBROD II                KY     68039919320
3461997542B93B   MICHELLE     YEAGER                       CA     90010919754
3461B25297B639   MARCIA       WILLIAMS                     GA     90014122529
3461B56AA41258   JASON        PUNIAK                       PA     90008855600
3461B6A554B943   ANTHONY      BRANCH                       TX     90004586055
3461BA3A95B156   BLAND        CORY                         AR     90000480309
3462131698B183   GALDINA      PADILLA                      UT     90007963169
34621512476B58   LUVIA        PONCE                        CA     90006055124
3462185667B43B   KEN          SLAGLE                       NC     11027958566
346218A6755972   KATY         SEIRANO                      CA     90008188067
3462333A37B449   IVAN         SANCHEZ TORRES               NC     90012923303
3462367512B871   RAY          ARES                         ID     90014516751
3462412762B87B   HOLLY        RICHIE                       ID     90014211276
3462418622B871   JENNIFER     HENDERSON                    ID     42042641862
3462459638B16B   APRIL        SIMMONS                      UT     90013335963
3462514635B156   CAROLINA     TORRES                       AR     90014941463
34625A34747931   JONATHAN     CORTELLACCI                  AR     90009390347
3462645A67B449   TIEASH       DANTZLER                     NC     90014574506
3462742938B16B   DANIEL       HERNANDEZ                    UT     90014474293
3462789947B43B   FELICIA      COLEMAN                      NC     11016098994
34627A24A84374   RHONDA       SCOTT                        SC     90014890240
3462917672B87B   SAMUEL       MALAMA                       ID     42009251767
3462996712B93B   JERRI        CANDELARIA                   CA     90011009671
34629987776B8B   JAIRO        SANCHEZ                      CA     90014339877
34629A2A851339   RICHARD      RILEY                        OH     90014780208
34629A4865B393   JACOB        LANG                         OR     44538260486
3462BA6517B639   LANITA       PASSMORE                     GA     90013700651
346321A767B492   ARSENIO      HAMILTON                     NC     90011001076
34633A66191563   RICARDO      MENDEZ                       NM     75082340661
3463464512B835   JOSHUA       MEADOWS                      ID     90011496451
3463471164124B   TERRENCE     OGLETREE                     PA     90011337116
3463481242B87B   RICHARD      DRENNON                      ID     90002678124
34635791A5132B   SHARONDA     BATES                        OH     90011937910
34635937A2B871   NINA         HUTTON                       ID     42059239370
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34635943A5B52B   ENRIQUE      CABRERA                      NM     90004219430
3463641A491563   CARLOS       JONES                        TX     90013934104
34636464676B44   VALENTIN     MUNOZ                        CA     90008424646
34636673A5598B   MAY          GOREE                        CA     90009046730
3463669312B87B   ANGELA       CHARLTON                     ID     90014026931
3463683A351339   JESSICA      WALLEN                       OH     66019998303
3463717834124B   DONALD       MOSS                         PA     90007751783
346374A714B281   AMY          MOLLOY                       NE     90004774071
3463825444B281   GERALD       GEHR                         NE     90006312544
3463846795B156   RONNIE       JOHNSON                      AR     90014864679
3463861267B492   RACHEL       ADAMS                        NC     90009916126
3463888298B16B   JEFF         ANDERSON                     UT     90011408829
346396A565B52B   YVETTE       SANCHEZ                      NM     35052926056
3463B329491831   SARAH        BURK                         OK     21031323294
3463BA2452B835   ALI          OGO                          ID     90010950245
3464126527B639   TIMOTHY      PATTON                       GA     15086822652
3464169455B52B   ERICA        VANARSDALE                   NM     90014106945
3464184732B93B   JAHAZIEL     GARCIA                       CA     45069838473
34641935A41455   RYAN         KEIZER                       WI     90003299350
3464197717B492   KIMBERLI     GRIMES                       NC     90014509771
346419A485598B   DAVID        MARTINEZ                     CA     90012769048
346426A4254165   AMBER        WARTENBEE                    OR     47057366042
34645A74255972   DAVID        GONZALEZ                     CA     90015240742
3464612922B871   ALEX         GOLDSTON                     ID     90009501292
34646181A7B639   ZANDRA       JACKSON                      GA     90012001810
3464626A92B871   LORENZO      MEDINA                       ID     90013832609
3464675815B393   JR           KEENE                        OR     44589827581
34646A43391563   ROCIO        FLORES                       TX     90013070433
3464723272B835   DAWN         PORTUGAIS                    ID     42064522327
346475A1141285   KRISTEN      DELO                         PA     90013675011
3464768397753B   MELISSA      COLEMAN                      NV     90004986839
3464813595B52B   JESUS        DOMINGUEZ                    NM     90010291359
3464816454124B   ANDREA       CARPENTER                    PA     90000671645
3464B78915B52B   SARAH        RUIZ                         NM     35021047891
3465152417B639   TERRANCE     MAXWELL                      GA     90003155241
3465185A461963   MYCHAQUELL   SHIELDS                      CA     90012358504
34651A61591538   MARIA        GONZALES                     TX     90007980615
3465363584B561   LADONNA      SANTANA                      OK     21551666358
34653A2215B393   DONNIE       HINES                        OR     90009840221
3465411762B87B   VINCENT      LAYTON                       ID     90013821176
3465474278B16B   JOSEPH       OLIVE                        UT     90014627427
34654A2A14124B   SAMANTHA     GRIMM                        PA     90012710201
3465538934B281   TANIA        GONZALEZ                     NE     90013923893
3465645595B338   DEREK        FURROW                       OR     90007704559
3465718375B52B   PIECHER      ESTRADA                      NM     35013991837
3465729968B183   DAVID        STANDING                     UT     90000182996
3465857714B281   ALCIA        MCINTOSH                     NE     90010325771
3465869572B835   JOHN         URQUIDI                      ID     42086166957
3465941914B281   PATRICIA     VANHORNE                     NE     90012174191
3465B117751339   ANTONIO      MATON                        OH     90015551177
3465B19735B253   TUNYA        WILLIAMSON                   KY     68041501973
3465B881761963   FARIDA       BEDAHI                       CA     46075828817
3465B976941285   ROBIN        MILLER                       PA     90013309769
34661455172B27   DESIREE      MIRANDA                      CO     33087094551
3466272252B835   IRVING       ALEMAN                       ID     90001457225
34663154A2B87B   COREY        JACOBS                       ID     42009771540
3466395518B16B   ESTEBAN      PEREZ                        UT     31086929551
34663A75972B76   JORGE        OROZCO                       CO     90005870759
3466469672B835   BRUCE        MITCHELL                     ID     90009576967
3466526215B393   CARBONELL    RIAZANOV                     OR     90013662621
3466572A77B43B   KEOSHA       MISNHEIMER                   NC     11017317207
3466629658B16B   TAMI         SMITH                        UT     31023352965
346664A2131424   MARIA        PINTOR                       MO     27562224021
3466669917B639   MARCUS       BROOKS                       GA     90014246991
3466734552B87B   JAMES        ZIES                         ID     90005723455
3466762322B93B   ALMA         GARCIA                       CA     45048576232
3466781A955972   ANTONIO      CARDENAS-CHAVEZ              CA     90012628109
3466794734124B   JOHAN        CALLIBER                     PA     90010309473
3466861965B156   ANGEL        BARNOM                       AR     90011006196
3466866112B87B   SUSANA       BARBOSA                      ID     42011086611
34668A4752B93B   DIANA        GOMAR                        CA     90013240475
3466951972B835   CHAD         CROSBY                       ID     42046775197
3466969375B393   ANN          LAW                          OR     90009026937
3466969528B16B   JEFFREY      CHARLESWORTH                 UT     90012676952
3466992625598B   ARTURO       ZAMORA                       CA     90003709262
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34669A31791563   SONIA        HERNANDEZ                    TX     90003060317
34669A63751339   DONALD       ENAMORADO                    OH     66012630637
3466B7A467B492   JANIE        CALDWELL                     NC     11090637046
3467154625B393   ROBERT       SMITH                        OR     90000915462
34671A5538B16B   ANDREW       MYERS                        UT     90012520553
34671A6277B492   ROBERT       MAYER                        NC     90012030627
3467223192B93B   CRYSTAL      CEMBRAN                      CA     90013662319
34673185A5B52B   ALICIA       BERNAL                       NM     35018621850
3467333362B871   MICHELLE     THIEL                        ID     42092713336
346743A6454165   SHERRIL      FAULKNER                     OR     90012003064
3467448937B492   LINDSAY      TILLEY                       NC     90014834893
3467492665B393   JESSICA      SUMANO                       OR     90006419266
3467533AA5B199   MICHEAL      ASHCRAFT                     AR     23084553300
3467566884B547   BRIAN        PLUMMER                      OK     21557816688
34675936A5B52B   MONIQUE      SALAS                        NM     90012619360
34675A5217B449   SHARRINA     SINCLAIR                     NC     90005900521
346764A2755939   CHRIS        HERNANDEZ                    CA     90001044027
3467665388B16B   CAROLINA     BARRIOS                      UT     90009276538
34676A4212B871   ERIKA        JIMENEZ JARAMILLO            ID     90014200421
3467821815B393   SHAWNTAE     JOHNSON                      OR     44510662181
3467B189755972   LEONARDO     CANO                         CA     90013731897
3468143988B16B   MICKAEL      DUNKLEY                      UT     31015894398
3468182475B156   CASSANDRA    SMITH                        AR     23093578247
34682278333B88   ADA          ROBERTS                      OH     90011802783
346824A547B639   LATOSHA      MUFF                         GA     90011054054
3468335588B16B   RON          MEDEIROS                     UT     31031973558
34683A19291831   JOEL         SEWELL                       OK     90007990192
34684434A5598B   BOUALAY      INTHAVONG                    CA     90013014340
3468624714B281   DIANA        HAFERMANN                    NE     27084862471
34686AAA161963   CRYSTAL      SMITH                        CA     90012270001
346871A4681557   JOSE         CRUZ                         IL     90001121046
3468728555B393   REMUNDO      CAMPOS                       OR     44573902855
34688982A7B359   OCDULIO      CASTANEDA                    VA     90009139820
34688A6334B281   IRAIDA       HERNANDEZ                    NE     90014690633
34689434A5B156   PEGGY        WATSON                       AR     90012494340
3468944838B16B   STEVEN       MORITZ                       UT     90010884483
3468967827B449   SHIVON       JOLLY                        NC     90014846782
3468997492B871   NATALIE      REITAN                       ID     90008469749
34689A7927B639   PHILOMENA    OGUCHI                       GA     90006610792
3468B142961963   HUMBERTO     ZEPEDA                       CA     90012991429
3468B286A2B835   CHERYL       MCDONALD                     ID     90004022860
3469186252B87B   KRISTINA     DELAGARZA                    ID     90013588625
3469211465B156   ANICIA       BUTLER                       AR     23057181146
3469324A67B492   JAMES        HARRIS                       NC     11067812406
3469334975B156   KAY          WOOD                         AR     90009133497
34693A1587B639   JOSUE        RIVERA                       GA     90009710158
34693A31355972   ERICA        BANUELOS                     CA     90014330313
34694347436B77   KRISTIE      CLARK                        OR     90009083474
3469477535B156   MARKUS       PERRY                        AR     23078257753
3469499225B393   CARLA        NAVARRETE                    OR     90007639922
3469575677B449   MELAINE      JOSEPH                       NC     90014247567
3469615264B281   LATRINA      ABERNATHY                    NE     90008711526
3469824A62B93B   NATASHA      VARGAS                       CA     90013282406
34698477998B25   JARISA       SIMON                        NC     90011524779
34698A67755972   TERRY        WILDERMUTH                   CA     90010810677
3469952198B16B   VALERIE      LARKINS                      UT     90014765219
34699743A4B281   SHAWN        EGGING                       IA     90013407430
3469B244791831   SAQUIDA      THOMAS                       OK     90014052447
3469B261555972   ERIKA        LLAMAS                       CA     90013922615
3469B84515598B   JESSICA      LOPEZ                        CA     90005678451
346B11A9455972   ALMA         CASTRO                       CA     90012561094
346B163557B449   ROSA         MORALES                      NC     90014306355
346B178A88433B   FELICIA      GRAHAM                       SC     90007337808
346B1A59291831   JONATHAN     SMITH                        OK     90004730592
346B256858B16B   IRVING       GARNICA                      UT     90014965685
346B261254B943   RODNEY       SHIELDS                      TX     76517686125
346B3364755951   EUSEBIO      VELASQUEZ                    CA     90005653647
346B3572A91563   CESAR        QUINONES                     TX     90012815720
346B388668B16B   GUSTAVO      REGUS                        UT     90014778866
346B39A645132B   LORA         WATTS                        OH     90005109064
346B439462B93B   STEVEN       MENDEZ                       CA     90011713946
346B4513191563   ANGELINA     VILLARREAL                   TX     75011475131
346B571A531424   SHAELYNN     HARPER                       MO     90011417105
346B6467541277   SARAH        MEISING                      PA     90002144675
346B6892472B76   VICTOR       RODRIGUES                    CO     90008618924
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346B789254B281   LISA                    NICE              IA     27070828925
346B8419A8B16B   THERESA                 OQUENDO           UT     90010164190
346B8815241285   ERNESTINE               THOMAS            PA     90014068152
346B886974B281   AMY                     MILBOURN          NE     90015128697
346B898697B639   TERRILL                 HICKEY            GA     15001369869
346B8A4264124B   LAMAR                   BATIE             PA     51050800426
346B8AA1A7B449   JUAN                    VELASQUEZ         NC     90015090010
346BB27578B16B   COLBY                   KAP               UT     90007732757
346BB335672B76   SYLVIA                  JAIME             CO     90003173356
346BB71145B359   CHARLES                 CLONTZ            OR     90003637114
3471129968B183   DAVID                   STANDING          UT     90000182996
3471158762B835   NAPHTALI AND ADRIANNA   CORTEZ            ID     90014705876
34712A8518B16B   MICHAEL                 SEEGMILLER        UT     31053910851
34713624536B77   FELIPE                  VICTORIANO        OR     90004656245
3471379955B52B   KEVIN                   CAHALO            NM     90014097995
3471432832B87B   TAELOR                  HILLER            ID     90014043283
3471523782B835   JASMINE                 SMITH             ID     90007682378
3471627AA7B639   TANISHA                 RICHMOND          GA     90002132700
3471734524B562   KEEGAN                  EISENHARDT        OK     90011603452
3471768484124B   MONIQUE                 PETERSON          PA     51093946848
3471785897B492   PAYGO                   IVR ACTIVATION    NC     90013808589
3471793665598B   CARLA                   LEIJA             CA     90015329366
3471822392B93B   KIMBERLY                COPUS             CA     45017102239
3471889157B43B   ALFREDO                 CRUZATA           NC     11028018915
3471989157B43B   ALFREDO                 CRUZATA           NC     11028018915
34719AA9831424   TRACEY                  THINGPEN          MO     90008550098
3471B517991563   MARISELA                TORRES            TX     90014455179
3472111135B393   CHERYL                  CLARK             OR     90011181113
3472132615B156   KALEB                   TAYLOR            AR     90013503261
34722537A7B639   WESLEY W                SMITH             GA     15000215370
3472335244124B   JENNIFER                MROZ-TOMER        PA     51080113524
3472366435B52B   DONNA                   MORE              NM     90001866643
3472378845B393   SHELBY                  NORSTORM          OR     90012437884
347242A224B281   SCOTT                   KEMP              NE     90012952022
3472491694B943   THOMAS                  RODRIGUEZ         TX     76507019169
3472523417B639   MILLICENT               MOORE             GA     15088402341
3472634554B281   TAMMIE                  ARMSTRONG         IA     27042593455
3472649322B871   BAILEY                  BARNETT           ID     90002204932
3472683585B393   LATRISHA                RICE              OR     90009748358
34727732A2B87B   DAVID                   ESPARZA           ID     90010667320
347289A5898B26   TRENA                   WOODLAND          NC     90008869058
3472B68662B835   TAPYTHA                 STEWART           ID     90015346866
3472B9A4A5598B   DEBRA                   WOOD CAROLE       CA     49029199040
3473131537B639   DONALD                  TOLBERT           GA     90014153153
3473132547B449   TANQUILA                FOSTER            NC     90012543254
3473242632B835   BRUCE                   BALDWIN           ID     90015564263
347328A8291831   MARICELA                GONZALEZ          OK     21015438082
3473328947B639   LORRAINE                WALKER            GA     15019442894
347333A7341455   LAUREN                  RICK              WI     23528243073
3473342A74124B   WALTER                  STEVENS           PA     51074944207
3473343472B93B   KATHY                   ELLIS             CA     90015324347
3473426914124B   CINDY                   WANG              PA     51090032691
3473478848B16B   LINDI                   GLOVER            UT     90000427884
3473494472B835   ERIC                    COOK              ID     90010799447
347349A825B156   TRAVIS                  WALTON            AR     90013479082
34734A91591831   MARIA                   RODRIGUEZ         OK     90006590915
347351A8972B76   ROBERT                  HAYNIE            CO     90005871089
34735A3264B943   JOHN                    WILSON            TX     90011900326
3473614754B281   MELISSA                 MOLCZYK           IA     90006151475
3473616454124B   ANDREA                  CARPENTER         PA     90000671645
34736757A7B639   CLYDE                   STREETER          GA     90009087570
34737997A2B871   MON                     MAGAR             ID     90002449970
3473813827B492   TIA                     SIHABOT           NC     90013541382
347382A1591831   KATHRYN                 GELSINGER         OK     21083242015
34738955136B77   RYAN                    GILBERT           OR     90013799551
3473916665B393   JUSTIN                  HITE              OR     90012321666
3473B32542B871   ALICIA                  BARAJAS           ID     90015013254
3473B41179125B   RUTH                    AMES              GA     90005574117
3473B64275B156   KIMBERLY                SMITH             AR     90013436427
3473B82678B16B   KEONI                   P RUNNELS         UT     90010358267
3473B914891232   TIFFANY                 BAILEY            GA     14578229148
3474161287B449   SABINA                  MENDOZA           NC     90003666128
34741A35754165   ROB                     COOPER            OR     47037430357
3474237A74B281   JOHN                    BALDWIN           IA     90013223707
3474242AA72B76   PAUL                    PRYOR             CO     33063004200
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34742A5A661963   JUAN         HERNANDEZ                    CA     90014900506
347438A644B943   EDGAR        MORONES                      TX     76515648064
347441A424124B   JUNE         LEY                          PA     51090511042
34744662972B76   JERICA       BURRIS                       CO     90010026629
3474475A155972   ABEE         ALVAREZ                      CA     90012997501
3474491255B52B   BRENDA       TAYLOR                       NM     35095499125
3474538A73B127   CARMELO      PALACIOS FLORES              DC     90006913807
34745586A51339   BRITTANY     COOPER                       OH     90013635860
3474667437B492   ANTHONY      SANDERS                      NC     11087416743
34746916A91831   PETRA        GAIMBOA                      OK     21066719160
3474868757B639   JAMAL        GREER                        AL     90014156875
3474898787B449   DAVID        RATLIFF JR                   NC     90013819878
3474984592B93B   CARMEN       RECIO                        CA     90014638459
3474B18977B449   MARCELLUS    JONES                        NC     90007861897
3474B197A7B492   BRANDY       ROSS                         NC     90013061970
3474B492497B33   OFELIA       MIGUEL MARTINEZ              CO     90002324924
3474B89A491563   VERONICA     HERNANDEZ                    TX     90012848904
3474B963691831   DESTINI      ULRICH                       OK     21010279636
3474B9A2841258   ZIPPORAH     BALDRIDGE                    PA     51078239028
3475123972B93B   VEDA         MALONE                       CA     90014702397
3475149A491563   SUSAN        GOMEZ                        TX     75069004904
3475167212B87B   TRACY        BULLOCK                      ID     90014546721
3475173538B16B   HITANDEWI    CRUZ                         UT     90014587353
3475193795B52B   JACQUELINE   MARQUEZ                      NM     90014729379
3475362475B156   BOB          MICKISICK                    AR     90014936247
3475481757B471   DEBRA        JOHNSON                      NC     11020968175
3475492315B52B   CYPRIANO     LEYBA                        NM     35051749231
3475549674124B   NICOLE       WOODON                       PA     90011134967
3475553232B87B   TAMARA       NARAD                        ID     90004795323
3475561A461963   MICHAEL      FORDHAND                     CA     90011946104
3475564415B37B   LISA         HUBBARD                      OR     90008196441
3475627694B281   JOSE         JUAREZ                       NE     90004092769
3475634435598B   ALEXANDER    DELA GARZA                   CA     90015313443
3475682382B835   NOEL         QUILANTAN                    ID     90014778238
3475742414B943   RAY          BRICKEY                      TX     90006234241
34757AA365598B   JOSHUA       YANG                         CA     90014560036
34758254A2B835   ROCKY        YORK                         ID     90008592540
34758518A54195   THOMAS       HOLSER                       OR     90013235180
34758A9388B16B   JAMES        BYBEE                        UT     31001190938
3475B7A5A7B639   MARTY        EPPS                         GA     90013157050
34761124A5B156   ROSALIA      FLOWERS                      AR     90004021240
34761497A8B16B   SHUNDRA      THOMAS                       UT     31034404970
347615A575598B   ADRIANA      SEPULVEDA                    CA     90003875057
34761A1A94B281   VALARIE      PENIX                        NE     90013790109
34762A5635B156   BENJAMIN     HILL                         AR     90015120563
347637A5A7B639   MARTY        EPPS                         GA     90013157050
3476385924B281   HOLLY        NELSON                       NE     90014898592
34763A3395B393   NELSON       MORALES-VIERA                OR     44593320339
3476462125B393   TEVIS        WILSON                       OR     90012526212
3476493162B871   CHARLES      KIRKPATRICK                  ID     90012259316
3476521985598B   MARCELINO    GONZALEZ                     CA     90010512198
347652AA35598B   ALBERTO      HERNANDEZ                    CA     90015482003
34765427A7B492   MANOLO       AMBROCIO                     NC     90012574270
3476585A751339   NICELY       SCOTT                        OH     90007668507
34765881A91563   AILEEN       AGUILAR                      TX     90009678810
34765A2237B471   STACEY       WALKER                       NC     11016380223
3476625742B93B   OWAYSHA      BROWN                        CA     90014542574
34766275772B76   ROSSI        GOMEZ                        CO     33080622757
34766654A7B492   SHARON       DAWKINS                      NC     90007036540
3476753A42B87B   STEPHANE     GONZALEZ                     ID     90012145304
34767A2217B657   MAURICE      WILLIAMS                     GA     90010540221
3476833A62B871   JESSICA      WRIGHT                       ID     42007733306
347687A974B281   KELLY        FLINK                        IA     90011327097
3476911762B87B   VINCENT      LAYTON                       ID     90013821176
3476B16914124B   STACEY       GREEN                        PA     90005261691
3476B62545B253   JOHN         WINFIELD                     KY     68005016254
3477193925B393   JUANA        HERNANDEZ                    OR     44532049392
3477258322B93B   JUAN         CASTRO                       CA     45076505832
34772A3812B871   CLARA        STEVENS                      ID     90002400381
34774437A2B87B   YOSELIN      SORIANO                      ID     90013534370
3477482A131424   ARNEL        ALLEN                        MO     90010588201
3477524A85B156   SHAWNTEESA   NASH                         AR     23076392408
3477572495598B   EDUARDO      MARTINEZ                     CA     49006497249
3477592A37B639   DERIDRA      UPSHAW                       GA     90011059203
347764A7291537   ESTHER       GREY                         TX     90012484072
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3477664972B87B   ALISHA        BAKER                       ID     90002766497
3477725232B93B   DORA          TAFOYA                      CA     45097742523
3477754925B52B   MARK          ENCINIAS                    NM     35084495492
3477821134B943   JUAN          ORTIZ                       TX     90002402113
3477892A44B281   SHARON        HERRERA                     NE     27098179204
3477897317B639   EMMA          TATE                        GA     90014159731
347798AA52B93B   GUILLERMO     GARCIA                      CA     90011138005
34779A5422B871   ALIREZA       ZABIHI-GILVAN               ID     90015150542
3477B74135598B   LEOBARDO      SANTIAGO                    CA     90001897413
3477B844897B21   DANIEL        KING                        CO     90002518448
3477B86354B943   TIFFANY       SPEARS                      TX     76568038635
3478156192B93B   MELTRON       CLAXTON                     CA     45092865619
3478192632B871   KYLE          HARTWIG                     ID     90014849263
347822A9791563   JOANNE        RODRIGUEZ                   TX     90014012097
3478282284B54B   RANFERI       CARRILLO                    OK     90012888228
3478342532B93B   ISABEL        IBARRA                      CA     90014114253
3478396114B281   CHRISTOPHER   BROWN                       IA     90014969611
3478422955B331   MARGARITA     CERON SILVA                 OR     90004332295
3478494754B281   MYLA          SHEPPARD                    NE     90013599475
347857A638B16B   DARCEY        ZIMMERMAN                   UT     90007357063
34785A6217B43B   CHAQUISE      SIMELTON                    NC     90012750621
3478642A62B871   ANA           REYES                       ID     90011764206
3478658A25B393   RICARDO       RAMIREZ                     OR     90010955802
3478668A67B449   MARIE         BROWN                       NC     11033776806
34787A24554165   DAWN          WEST                        OR     47077380245
3478828629152B   JOE           SAUCEDO                     TX     75005002862
3478863715598B   AIOTEST1      DONOTTOUCH                  CA     90015116371
347893A3755951   JESUS         ESCALERA                    CA     90009123037
3478962465B393   ADAM          TORRES                      OR     90011466246
3478B69998B163   JEREMIAH      PETERSON                    UT     31037716999
3478B8A7691831   PEDRO         LOPEZ                       OK     21066758076
3478B99692B87B   MONIQUE       SHAKLEE                     ID     90013879969
3478BA9A941277   GERALD        TIMMERMAN                   PA     51084470909
3479135222B835   SAVANNAH      PETERSEN                    ID     90013623522
34791645A8B16B   CORBAN        SUMMERS                     UT     90009626450
3479228A25B156   MANUEL        ORTIZ-GONZALEZ              AR     90013382802
34792316A41258   ALLEN         LYONS                       PA     51008323160
3479327445B393   WINTER        ROSE                        OR     90012212744
34793A9549152B   JOSE          LUNA RESENDIZ               TX     90010770954
3479413AA7B639   ARNEL         TATE                        GA     90014161300
3479417A12B87B   DEBORAH       SEARLES                     ID     90015271701
3479521557B492   PANCHO        RODRIGUEZ                   NC     90004232155
3479533642B835   ABEL          CASTILLO                    ID     90010673364
3479566692B835   TYREE         OSRANA                      ID     90015556669
3479569987B639   ANDY          BROWN                       GA     90014386998
3479618577B492   APRIL         JENKINS                     NC     11003771857
3479628315598B   JOSE          ALEZANDO                    CA     49090412831
3479641555B52B   CHRISTINE     GARZA                       NM     35013414155
3479744675598B   MARCO         GARCIA                      CA     90010524467
3479773655B393   JAVON         PURIFOY                     OR     90014157365
3479779522B835   SHANNON       BURTON                      ID     90009627952
3479797215B52B   JOEL          PEREZ                       NM     90014099721
34797A1A891831   OLINDA        SALDIVAR                    OK     90011980108
347987A6251339   RICARDO       FOENTES                     OH     90014947062
34798A41741258   DAVID         OPFAR                       PA     90014090417
3479923972B93B   VEDA          MALONE                      CA     90014702397
3479951174124B   JOHN          HALL                        PA     90011135117
34799A61755972   ERMENIA       RODRIGUEZ                   CA     48086430617
3479B188155972   JOSE          MARTINEZ                    CA     48024431881
3479B93534124B   CHRISTOPHE    STARLING                    PA     51076489353
347B177A354165   RONALD        KOPE                        OR     90012627703
347B217497B492   TEVIN         MACCASKILL                  NC     90013651749
347B233A841277   NICOLE        UYSAL                       PA     51062613308
347B2591291831   CHRISTIE      WILLIAMS                    OK     90012305912
347B25A6451339   JAMES         SIMPSON JR                  OH     90007955064
347B275458B16B   CODY          VINING                      UT     90013447545
347B3774941285   MICHELLE      THOMAS                      PA     51064757749
347B386765B156   ROGER         THOMAS                      AR     90000368676
347B398257B639   TYTIANA       CHERRY                      GA     90014469825
347B415585B52B   ANNIE         GRIEGO                      NM     35063281558
347B418495598B   LEWIS         LARRY                       CA     90010511849
347B431722B87B   MARTINA       CAMILLO                     ID     42076473172
347B438427B492   FELICIA       MASON                       NC     11064243842
347B4628336B77   TRAVIS        WOODS                       OR     90011716283
347B484252B871   NICLOETTE     PEED                        ID     90011748425
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347B5822191831   KELLY        DENNISON                     OK     21000298221
347B583A251339   EDDIE        PRITCHARD                    OH     90014908302
347B6644631424   LASHALL      RUFFIN                       MO     90001726446
347B675A15B393   TINA         HAZEL                        OR     44501087501
347B711495598B   MARIA        REYS                         CA     49029581149
347B7399551339   JIMMY        CUMMINGS                     OH     90015583995
347B8342855951   MARIA        GARCIA-PESINA                CA     49014953428
347B8655641258   FREDRICK     JACKSON                      PA     51067736556
347BB2A647B449   COREY        DURHAM                       NC     90014482064
347BB33817B639   LAQUITA      WHITAKER                     GA     90012733381
3481137584B281   ANTHONY      WARE                         NE     90010983758
3481154217B43B   GIDGET       BELL                         NC     90003375421
3481165525598B   KATRINA      BERLANGA                     CA     90007256552
3481257862B93B   DAVID        GOMEZ                        CA     90012725786
3481358348B164   JONI L       GOODMAN                      UT     31015515834
3481451A37B449   DIMAS        SALDIVA                      NC     90013405103
3481585A161984   EDGAR        CARREPO                      CA     46010238501
3481719357B43B   ANTONIO      HOLLIS                       NC     90002771935
348174A257B492   JASON        CARAWAY                      NC     90014844025
3481797472B87B   RICK         JIMERSON                     ID     42089889747
3481894485B156   TEMESHA      MCCRAY                       AR     90013519448
3481B412263623   JENNIFER     CLIFTON                      MO     27518144122
3481B81A77B492   GLENN        BREWER                       NC     90012828107
3481B941A8B16B   PAYTON       GILMORE                      UT     90010389410
3482124162B835   KRISTINA     ADCOCK                       ID     90013832416
34821328A54165   JEREMY       MARK                         OR     90007603280
3482134A24B281   JENNIFER     MINSHALL                     NE     90010513402
34821832772B76   MINERVA      MARES                        CO     90006888327
3482332345B545   PAUL         MARQUEZ                      NM     90014683234
3482416225B393   SEAN         PICHARDO                     OR     44566011622
3482421387B471   JOHN         SIMMONS                      NC     11074972138
34824433A2B835   KRISTIN      THOMPSON                     ID     90014724330
3482452A75132B   T.           WILLIAMS                     OH     66016355207
3482576747B639   CORTNEY      BELL                         GA     90004987674
3482584997B449   DANIEL       SALGADO                      NC     11076748499
3482797717B492   KIMBERLI     GRIMES                       NC     90014509771
34827A53363629   SHAWN        CURTNER                      MO     90004010533
3482923A741285   SHAWN        MOODY                        PA     51020802307
3482998AA36B77   ESCEBELL     CAROLINA                     OR     90003039800
348311A6161963   RICHARD      HEDGPETH                     CA     90014451061
34831458A7B639   DELMAR       PEREZ                        GA     90014164580
3483228565B52B   SERGIO       TORREZ                       NM     35053452856
3483275265598B   FIGUEROA     ERIC                         CA     90004117526
3483298AA4B281   ERIC         WASHINGTON-MCKINNEY          NE     90003089800
34833248A91563   MANUEL       ESTRADA                      TX     90015152480
348338A9161963   RICHARD      HEATH                        CA     90014078091
34833A69836B77   DALE         RENTZ                        OR     90012230698
3483494737B436   MARIA        RUIZ                         NC     90007949473
3483568957B639   MITCHELL     MILLER                       GA     90011346895
3483652277B449   DWIGHT       GERALD                       NC     90012915227
3483663875598B   AIOTEST1     DONOTTOUCH                   CA     90015116387
348383A3691831   RAMONA       BOONE                        OK     90010793036
3483842615B393   JAMES        MILLER                       OR     44562474261
3483979315B52B   MICHELLE     LENTE                        NM     90008557931
3483B41A62B871   RECHELLE     MIRANDA                      OR     90014934106
3483B76A391563   LORENZO      GARCIA                       TX     75089367603
3483B9A117B639   RASHARD      MONIGAN                      GA     15059019011
3484166525743B   FRED         MORGAN                       IN     90011326652
34841A7417B449   TALIA        MASSEY                       NC     90014950741
348427A855B52B   MARTIN       CHAVEZ                       NM     90008337085
3484286482B835   YVETTE       NORMAN                       ID     90014038648
3484316A12B87B   ALEJANDRO    VIDRIO                       ID     90007891601
3484377997B639   DEDRA        SCHULTZ                      GA     90014507799
34844556A55972   JOSE         RODRIGUEZ                    CA     90012165560
34844678A5B156   JOSHUA       HERNANDEZ                    AR     90001876780
3484518777B492   FEDERICO     ROJAS                        NC     90002871877
3484562832B87B   LOGAN        BARSANTI                     ID     90006706283
3484572674B943   DWIGHT       LEBLANC                      TX     90001087267
34845A55241258   DERRICK      ESTES                        PA     90014460552
3484655837B639   AQUILLES     AGUILAR PEREZ                GA     90014165583
3484663437B449   TIARA        MOBLEY                       NC     90014686343
34846749A4124B   TYREE        BROWN                        PA     90011787490
34847185A4124B   WILLIAM      VELEZ                        PA     90013271850
34847865A61984   ADRANA       MACIAS                       CA     90007638650
3484819475B52B   DIANE        ESQUIVEL                     NM     35071781947
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348482A1341277   SONYA        JOHNSON                      PA     90006842013
3484842912B835   LIZ          JARAILLO                     ID     90015564291
34848A1285B156   ROLLY        COVET                        AR     90010120128
348491A347B639   CHARLES      JOSEPH                       GA     15092051034
348491A644124B   COLLEEN      MONAGHAN                     PA     90012581064
34849922A4B281   SYLVESTER    RHODES                       NE     27066169220
3484B64A35132B   TRISH        LANDERS                      OH     90004536403
3484B852241285   TANIA        TAYLOR                       PA     90004838522
34851A82191831   THOMAS       WILBANKS                     OK     90008880821
34851A99351339   KEVIN        STEVENS                      OH     66027180993
3485263875598B   AIOTEST1     DONOTTOUCH                   CA     90015116387
3485366845598B   PIAYENE      MOUA                         CA     90011456684
348538A5791563   CARLOS       GRIMES                       TX     90004628057
348538A9291563   ELIZABETH    LOPEZ                        NM     90006608092
3485419735B156   LAVONICA     MCGEE                        AR     90014711973
34854863A91563   VANESSA      ACEBES                       TX     90012138630
3485558174124B   THOMAS       BITTNER                      PA     90011335817
348565A377B449   MICHELLE     WILLIAMS                     NC     11082795037
3485664875B52B   CELCILIA     STRADER                      NM     35037916487
34856AA5891563   ERNIE        AGUIRRE                      TX     90009120058
348574A257B492   JASON        CARAWAY                      NC     90014844025
3485848295B393   BRYAN        DOWLING                      OR     90009594829
3485993897B492   THOMASINA    MCLEAN                       NC     90014599389
3485B45954124B   TIM          WHITTINGTON                  PA     90001354595
3486123837B492   JEANETTE     DAVIS                        NC     11087782383
34861819772B76   ASHLEY       MOORE                        CO     33075898197
3486219122B87B   SARA         QUIMBY                       ID     42073241912
3486232747B449   MIKE         LONG                         NC     11006463274
34862A3238B16B   KRISTA       WHITELEY                     UT     31037240323
3486319A82B835   ROWDY        ROBLING                      ID     90013681908
3486357652B871   RANDOLPH     SNOWBALL                     ID     90011875765
348643A967B492   DERIUS       MILLS                        NC     90010813096
34865A3974B281   ERICA        LEYTHAM                      IA     90012260397
34865A5A77B449   LONNIE       BROWN                        NC     90011980507
34865A87A7B639   JUAN         SANCHEZ HERNANDEZ            GA     90010090870
34866228974B7B   MICHELLE     PRICE                        OH     90014872289
348667A954B281   MARIA        GARCIA                       IA     90013807095
3486749135B52B   MARYBEL      RUIZ                         NM     90015124913
34867626A2B93B   KARLA        GONZALEZ                     CA     90012456260
3486794857B639   MARY         REEVES                       GA     15095369485
3486835915B393   JOSE         CHAN RISCAJCHE               OR     90014803591
3486862287B492   DANIELLE     REID                         NC     90012426228
3486897A82B871   ROSY         GONSALEZ                     ID     90013329708
34868A99241285   DANYELLE     COLEMAN                      PA     51016510992
3486924294124B   RICHARD      TUITE                        PA     90014652429
3486979A44B281   JOEL         ORTIZ                        NE     90007517904
34869A89191563   CLAUDIA      SERRANO                      TX     75010280891
3486B12992B835   AMBER        HOFFER                       ID     42055241299
3486B257941258   BETHANY      DERBY                        PA     90012182579
3487144732B87B   VIRGIL       TURNER                       ID     90002004473
3487214452B93B   THOMAS       GALAN                        CA     90012761445
3487237167B492   EVELENE      BROWN                        NC     90010893716
34873344A7B429   JOSE         ALFARO                       NC     90014823440
3487459385B156   JENNIFER     OBARR                        AR     90012915938
3487492413B365   SUSAN        CORBIN                       CO     33050689241
3487497377B639   JASMEKEA     FITZPATRICK                  GA     90010129737
3487515884124B   ALBERT       MASSUCCI JR                  PA     51043491588
3487565587B639   LYNETTE      POWELL                       GA     90006116558
34875693A9125B   VERNARD      JONES                        GA     90002726930
3487614257B449   DIANA        ASKEW                        NC     11002781425
3487645237B395   CAROLYN      JOHNSON                      VA     90012394523
3487659167B639   LAMARA       JOHNSON                      GA     90014175916
34876A33191563   JASMINE      LARA                         TX     90013110331
3487733985B393   BLANCA ERI   FIGEROA                      OR     90014903398
3487753392B835   TICHELLE     BERG                         ID     42082445339
3487831747B639   KATHLEEN     WHITEHEAD                    GA     15029073174
3487888A35B393   JAMES        PARKER                       OR     90003128803
3487988795598B   ESTHER       VASQUEZ                      CA     90007808879
34879A6922B871   FRANK        GOMEZ                        ID     90008970692
3487B12662B871   TAMMY        SNOW                         ID     90012361266
3487B237A5B52B   NATHANIEL    HOEFER                       NM     90013072370
3487B73517B471   LINIAH       HAND                         NC     11068847351
3487B76887B449   MARCOS       LIMA                         NC     90010257688
3487B82718B16B   SHANE        FURNISS                      UT     31019948271
348813A475B156   ROBERT       JUSTICE                      AR     90012903047
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34881A28A2B93B   MARIA         PAYNE                       CA     90013910280
34881A5427B639   DWANTAVIOUS   DAVIS                       GA     90014390542
34881A66751339   STEVEN        GREGGER                     OH     90015370667
3488274849152B   CELIA         SAPIEN                      TX     75077257484
3488293852B93B   NANCY         TIDMARSH                    CA     90014929385
3488295AA5B156   TERESA        GRIFFIN                     AR     90003059500
34882A2237B471   STACEY        WALKER                      NC     11016380223
348837A3241285   MATT          QUINCE                      PA     51046337032
3488444952B271   ISHA          EDWARDS                     DC     90009154495
3488537675598B   MIGUEL        ALMAQUER                    CA     90011513767
3488549857B492   NARENI        SILVD                       NC     90007334985
3488569377B639   MARCUS        SCOTT                       AL     15006726937
348857A2355972   JORGE         ACEVES                      CA     90012137023
348858A942B835   LANA          STEPHENS                    ID     42015058094
34885995A61963   DARIO         GRANADOS FLORES             CA     90013989950
34886639A41258   LARAI         JOYNER                      PA     90013596390
3488689252B93B   DAVID         MOORE                       CA     90007408925
3488695162B871   JEFF          WALKER                      ID     90014849516
34886A27954165   ASHLEY        PYLE                        OR     90013570279
3488915AA55951   NINFA         ZAMORA                      CA     90005711500
3488952965B393   JULIA         OLSON                       OR     90012645296
3488976582B835   LACEY         BALDWIN                     ID     90002737658
3488B29A741258   CHANTELLE     MILLER                      PA     51078002907
3488B33312B87B   GLORIA        MUNOZ                       ID     42035823331
3488B36AA91563   JUAN          VERDUGO                     TX     90013833600
3488B494591563   JUAN          VERDUGO                     TX     90015034945
3489115AA55951   NINFA         ZAMORA                      CA     90005711500
3489221455B156   LADEIDRA      MOORE                       AR     90013622145
3489262397B32B   WILLIAN       PEREZ                       VA     90010766239
34893A35951339   BRIDGETTE     ADAMS                       OH     90007760359
3489482718B16B   SHANE         FURNISS                     UT     31019948271
3489683257B639   ANDRES        RUIZ NUNEZ                  GA     90014178325
3489691A441258   MIKE          VITOVICH                    PA     90004849104
34896A23531424   MICHAEL D.    NORRIS                      MO     27574820235
34898683A7B449   CRYSTAL       BROADIE                     NC     90014846830
34899556457B79   TIA           SPEARS                      PA     90014835564
34899747A2B857   MICHAEL       COLEMAN                     ID     42093267470
3489982A42B29B   MONTANETTE    MILLER                      DC     90012428204
3489B162941285   LENORA        CORNICK                     PA     90013961629
3489B191491232   GILBERTO      HERNANDEZ                   GA     90007411914
3489B316255972   AMY           JUAREZ                      CA     48094023162
3489B59185B52B   GERALDINE     DURAN                       NM     90012905918
3489BA31A51339   LANCE         WELLS                       OH     66040960310
348B1386A4B281   HILARIO       SMITH                       NE     90013223860
348B1443491538   STEPHANIE     ARMENDARIZ                  TX     90013154434
348B147662B835   ROGER         HANCE                       ID     90014344766
348B1613241285   TIMOTHY       HALSEL                      PA     51093586132
348B184A491885   LORRAINE      PEREZ                       OK     90001378404
348B26A5A61963   YESENIA       HERNANDEZ                   CA     90012486050
348B326344124B   SAMANTHA      COTTRELL                    PA     90007752634
348B3263661963   MICHAEL       COLORUNDO                   CA     90014122636
348B3476A36B77   MICHAEL       POLEN                       OR     90000144760
348B359A92B93B   JAMIL         TALIB                       CA     90012615909
348B3A1A355972   JAYMIE        MCCLAIN                     CA     90010940103
348B3A2137B639   CHELSEA       CONWAY                      GA     90006440213
348B416575598B   VICTOR        LOPEZ                       CA     90012281657
348B421942B87B   MARIA         GARCIA                      ID     90011482194
348B4544631424   DONNELLA      BUFORD-LOVE                 MO     90010435446
348B486762B93B   ROSA          ORANDAY                     CA     90014638676
348B54A454B943   VALERIE       WHITE                       TX     76509884045
348B568927B639   FARMONTA      BROWN                       GA     15080366892
348B577745B52B   KIMBERLY      CASTILLO                    NM     90012977774
348B5888455972   KAYCEE        SMITH                       CA     90013158884
348B5927A55972   BRITTANY      SERPA                       CA     90014429270
348B59A5361963   MIKE          HAWK                        CA     90012239053
348B5A92A4B281   RAFAELA       CRUZ                        NE     90009570920
348B6388191831   RINA          RESENDIZ                    OK     90014913881
348B6A3417B449   ZONOBIA       WHITE                       NC     11075840341
348B75A9151325   MARVIN        HATCHER                     OH     66060765091
348B767862B87B   TODD          MYERS                       ID     90010316786
348B78A644B281   EBONY         HILL                        NE     90010468064
348B8586455972   LUIS          BOLELLO                     CA     48049435864
348B8A2214B943   OLEAN         HABORS                      TX     90012330221
348B9115A7B639   YVETTE        DANIELS                     GA     90007501150
348B9131477368   SHARON        RAMSEUR                     IL     90015171314
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348B923294B281   AMBER             PRICE                   NE     27005522329
348B94AA85B393   LACY              TURLEY                  OR     90012734008
348BB377331424   KATHY             WILLIAMS                MO     27562163773
348BB79A25B156   DEMETRIUS         THOMPSON                AR     90011007902
348BB883441277   CHARLENE          CARROLL                 PA     90005958834
348BB95A472B32   TREIVA-MARIA      JOHNSON                 CO     90004919504
3491133A155972   NICOLETTE         QUIRAPAS                CA     48079703301
3491136A754165   STURMAN           STEVEN                  OR     90012553607
34911683A8B16B   ANDREW            ADAMS                   UT     90014736830
3491261414B281   PAULA             PEAK                    NE     27089266141
3491321225B156   SCOTT             BELMAREZ                AR     23096492122
3491333532B871   URIEL             CASTILLO                ID     90013833353
3491351A191232   VERONICA          FIELDS                  GA     90009645101
3491397754B281   DANIEL            SULLIVAN                NE     27079599775
34913A8845B52B   ADRIAN            MARTINEZ                NM     90010950884
3491412A98B16B   PARKER            AMY                     UT     90009011209
3491532232B871   PAYGO             ACTIVATION              ID     90014993223
34915347572B88   MOISES            SALAS                   CO     33089173475
3491551755B393   PATRICIA          CRUZ MOLINA             OR     90015125175
3491616314B281   LISA              MCALPINE                IA     27099061631
3491628445B52B   LUIS              PALMA                   NM     35097692844
3491663875598B   AIOTEST1          DONOTTOUCH              CA     90015116387
3491666255B58B   JERRY             ESPINO                  NM     90007866625
3491674A95B393   JOSEPH            DOSS                    OR     90014367409
3491758A27B492   JAMES             OATES                   NC     90015035802
3491885548B16B   RYAN              CAMERON                 UT     90004218554
34918A57891563   ANGELICA          GURROLA                 TX     90010100578
3491992152B835   JOEL              HOCH                    ID     90004079215
3491B556741258   MARY E            SHIPERS                 PA     90002485567
3491B579A4B943   ALEXIA            NED                     TX     90001145790
3491B642991563   FELICIA           MEDRANO                 TX     90013296429
3492133864B281   NATHAN            CLIFTON                 NE     27054013386
3492167535598B   MARCOS            GARCIA                  CA     90010516753
3492193232B93B   PATRICIA          DORAN                   CA     45074009323
34921A8882B923   CESAR             DOMINGUEZ               CA     90011140888
3492266415B375   ROBERT            GARCIA                  OR     90004436641
3492421318B16B   CASSAUNDRA        LUCERO                  UT     31024582131
3492438832B93B   BILLY             PEREZ                   CA     90012743883
34924A59351339   JESSICA           ALLEN                   OH     90001780593
3492511497B471   ARECELI           ARETEAGA                NC     11038101149
3492529335598B   MACLAVIO          MALDONADO               CA     90012902933
34925A12A54165   GREGORY           CASTANEDEZ              OR     90012780120
3492614887B639   LEONEL            MORALES                 GA     90014891488
349263A225B345   JORGE             MIRANDA                 OR     90006443022
3492675162B87B   MALLISSA          MORRIS                  ID     42043967516
3492735712B871   TESSA             TOWNSEND                ID     42093703571
3492741197B449   TADELE            MARYEA                  NC     90012944119
3492744A451339   HECTOR            ESCOBALES               OH     66013354404
3492882A62B871   HAROLD            BROTHERS                ID     90009968206
34928897A91563   MARIANA           SOLIS                   TX     90011298970
34928A34561963   GEORGE BARRAGAN   ROBLES                  CA     90011460345
349293A612B835   SIOBHANN          MARRON                  ID     42034403061
349294AA97B449   MODESTO           NAVARRO MARTINEZ        NC     90013194009
34929895A8B16B   ANDREA            PETERSON                UT     31087878950
3492B137155972   MICHEAL           MARTINEZ                CA     90000681371
3492B871954165   SHAWN             STEELE                  OR     90003608719
3492B97757B639   CATRINA           WILLIS                  GA     90010519775
3493148A37B639   ARMANDO           LOPEZ                   GA     90014184803
3493258477B471   ADA               KANTE                   NC     90002285847
34932AA5951339   AMANDA            DEATON                  OH     66069300059
3493321A141285   THOMASINA         HELMS                   PA     51012902101
3493364762B871   CLARISA           NITU                    ID     90008596476
3493372795598B   GUADALUPE         GAMEZ                   CA     90012337279
3493412737B639   SHANTAVIA         HERBERT                 GA     90012121273
3493416A341285   LISA              GREEN                   PA     90014811603
34934635A51339   JENNIFER          FRAZIER                 OH     90002536350
3493548A37B639   ARMANDO           LOPEZ                   GA     90014184803
34935892A91831   DENISE            MEADOWS                 OK     90012718920
349371AA75B52B   ALINA             CARDOZA                 NM     90014571007
34937A2237B471   STACEY            WALKER                  NC     11016380223
34937AA234B281   JAHANA            GRACE                   NE     27091720023
349382A747B43B   STEPHANIE         RICE                    NC     11017342074
349392A2591831   DENNY             PALACIOS                OK     90012332025
3493935765B52B   ALEJANDRO         PEREZ                   NM     90014783576
3493B46A341277   TONI              GIGLIOTTI               PA     90002124603
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3493B53155B393   JEFF         WESSON                       OR     90005585315
3493B64597B492   ANA          ABARCA                       NC     90005606459
3493BA64251339   ANTHONY      HENDERSON                    OH     90007030642
3493BA82955972   MAX          GRACIA                       CA     90014200829
3494328584B281   ALEXIS       BACH                         NE     90015542858
3494359772B87B   ALICIA       PURDY                        ID     42012575977
349443A548B16B   ANDRE        A NAVA                       UT     90009553054
349448A597B449   JOSE         CHAVEZ                       NC     90009928059
349451A584B281   AMADOU       DIOP                         NE     27061761058
3494545895B156   ELLA         HUMPHREY                     AR     23071694589
3494577A72B87B   KRISTA       BRANDER                      ID     90014237707
34945A65391831   MD MAHBUB    ALAM                         OK     90008970653
3494676455598B   MAURO        HERNANDEZ                    CA     90011987645
3494762457B639   TYANNA       TAYLOR                       GA     90014186245
349482A957B492   BRENT        QUICK                        NC     90010792095
3494851682B835   SHAUNA       BUTTARS                      ID     90011085168
3494971A95B156   ELIZABETH    MAGSSY                       AR     90013757109
3494B379241258   KATHLEEN     BOVA                         PA     51043693792
3494B51A15598B   DEANNA       FRECH                        CA     49001995101
3494B779561963   PEGAY        PAYNE                        CA     90011297795
349512A717B449   KAYLAH       GORDON                       NC     90005702071
3495167692B871   KIMBERLY     FREEMAN                      ID     90003396769
3495238634124B   DAMERA       PITTS                        PA     90012683863
349525A814B281   WANDA        KRAMER                       IA     27047375081
3495271664B542   TAMICCA      JONES                        OK     90014727166
34952A1272B871   MARISOL      ARELLANO                     ID     90012230127
34952A4262B87B   IZABELLA     MARTINEZ                     ID     90014830426
3495318352B871   JOSE         MORA                         ID     90006031835
349535A237B639   LASHAUNA     JONES                        AL     90014935023
3495477A751339   RODNEY       ISBELL                       OH     90008527707
3495533A72B87B   JOSE         MILANEZ                      ID     90010823307
3495636835B393   ROSMERI      G                            OR     90015213683
3495689A961963   TRINIDAD     JACINTO                      CA     90011578909
34956A3775B393   ROSMERI      GUSMAN                       OR     90006850377
3495766A95B58B   JUAN         BARRAZA                      NM     90010826609
34957A91941277   JAMES        OBRYAN                       PA     90012940919
3495B22522B93B   DANA         SUMPTER                      CA     45071052252
3495B34AA91967   DIONNE       WILLIAMSON                   NC     17043523400
34961A1894B281   OMAR         OROZCO                       NE     90013620189
34962674A41285   KOLB         DEB L                        PA     51099006740
34962A13851339   KAITLYN      SKIDMORE                     OH     66089250138
3496451285B52B   FRANCISCO    GUERRERO-SIFUNETES           NM     35065415128
3496523715B52B   GREG         FLORES                       NM     35005712371
3496544A572B76   STEPHANIE    FAVRO                        CO     33063024405
3496558559125B   MOKINA       POLITE                       GA     90013625855
3496559199125B   MONIKA       POLITE                       GA     90001115919
34965A53991563   KASSANDRA    LUCERO                       TX     90003610539
34966493A5B593   JOHNATHAN    AKE                          NM     90008874930
3496651A141258   SAVANNAH     KEIBLER                      PA     90013615101
3496653435598B   JAMES        MOORE                        CA     49088075343
3496668A67B449   MARIE        BROWN                        NC     11033776806
3496674812B835   THOMAS       BROWN                        ID     90011067481
3496697542B93B   MICHELLE     YEAGER                       CA     90010919754
34966A39741258   WAYNE        HEGERTY                      PA     51050050397
349671A578B179   JASON        WRIGHT                       UT     90013321057
3496785898B179   JASON        WRIGHT                       UT     90011138589
349678A5891563   ROCIO        GOMEZ                        TX     90007788058
349679A512B835   DIANA        GAMMEL                       ID     90013209051
34967A6893B324   GHIDE        ASGODOM                      CO     90006380689
3496815567B471   ROBERT       SMITH                        NC     11006221556
349682A447B449   CINDY        MEZA                         NC     90013922044
3496881A32B87B   DANA         SNEBOLD                      ID     90000608103
34968AA3861963   JON          CORBISEZ                     CA     90013990038
3496B383A8B16B   EDDIE        GONZALES                     UT     90014513830
3496B454541277   RICHARD      MILLER                       PA     90006634545
3496B68A491831   MELISSA      BOESE                        OK     21050966804
34971274A91831   DEVLIN       RAMEY                        OK     21037972740
3497146845598B   MICHAEL      GARCIA                       CA     49011344684
34971A5537B639   ALECIA       UPSHAW                       GA     90012360553
349729A452B93B   JENNY        SANDOVAL                     CA     90011259045
349739A642B835   SABIT        BEKTIC                       ID     42017189064
34973A3925B52B   PAT          LEROY                        NM     90014650392
3497535987B449   LARRY        HUNTLEY                      NC     90014653598
3497574882B93B   PATRICIA     QUINTERO                     CA     90011467488
3497812625B393   IGNACIO      RUIZ                         OR     90002821262
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3497833734B281   DEANNA        BUCKINGHAM                  NE     90005403373
3497985924B281   HOLLY         NELSON                      NE     90014898592
3497B22522B93B   TIFFANY       ALVAREZ                     CA     90012762252
3497B2A8451339   ZACHARY       SKIDMORE                    OH     66089252084
3497B454891563   RAUL          CRUZ                        TX     75014484548
3497B4A7641277   MICHAEL       MARRON                      PA     51034554076
3497B54A941285   ROBERT        ROJTAS                      PA     90004675409
3497B6A3991831   CHELSEA       DUNCAN                      OK     90012596039
349816A634B562   JAMIE         PALERINO                    OK     90006246063
3498222522B93B   TIFFANY       ALVAREZ                     CA     90012762252
3498252A655951   JESSICA       MORENO                      CA     90005715206
3498269727B492   JACGUELINE    MS DOWELL                   NC     11055756972
3498374A95598B   GERARDO       HUERTA                      CA     90000767409
3498435685598B   MARK          BROOKS                      CA     90013043568
3498454858B195   ERIC THOMAS   EMILLEE THOMAS              UT     90005715485
3498487322B835   WILLIAM       WALTERS                     ID     90013188732
34985A24161474   ANTONYA       ALLEN                       OH     90014290241
34986457A2B93B   NIKKI         VAUGHN                      CA     90013324570
3498671342B835   GUY           NASH                        ID     42041267134
3498697A761963   VICKY         JACKSON                     CA     90013919707
349873A7161963   JOHN          ROWLAND                     CA     90013033071
3498771395598B   CHRISTI       CECIL                       CA     90001387139
349889A574B285   DYLAN         WARREN                      NE     90004169057
3498991787B471   KEVIN         FAIR                        NC     11093669178
3498B132341277   RASHAWNDA     THOMPSON                    PA     51038571323
3498B72155B393   DOUGLAS       PACHNIK                     OR     90015077215
3499123132B93B   ROSAMARIA     PUEBLA                      CA     45053152313
3499228355598B   ANTONIO       MAGANA                      CA     90013922835
349922A558B124   LISA          SCOTT                       UT     90001182055
34992362972B76   JOSEPH        LOPEZ                       CO     33026223629
3499236527B492   JAMES         OATES                       NC     90014973652
349924A427B449   HUGO          RAMIREZ                     NC     90012174042
3499364528B16B   RICKY         GENTA                       UT     31007186452
3499364852B835   FRANCINE      ALBRECHT                    ID     90012256485
3499392367B449   SHATARA       DEAS                        NC     90013399236
3499442A85B393   SAMUEL        ORTIZ                       OR     90013054208
3499473742B835   MAKENNA       SCHULER                     ID     90013967374
3499486584B597   MATTHEW       BELLAH                      OK     90010718658
3499561A161974   MICHAEL       MUSE                        CA     46092406101
34996457A5598B   NORMA         TORRECILLAS                 CA     90000934570
3499659547B43B   ROBBIE        IZZI                        NC     90006675954
3499684427B639   LAMAR         SLAUGHTER                   GA     90014768442
349991A495B156   PATRICIA      CASTELLANO                  AR     23088031049
3499944322B93B   ANDREA        COLLINS                     CA     90011264432
3499961A354165   SERAFIN       PEREZ OLIVERA               OR     90013646103
3499B25322B87B   JOHNNY        TOVAR                       ID     90014912532
3499B897A91563   MARIANA       SOLIS                       TX     90011298970
3499BA88A91563   ALEJANDRA     ARMENDARIZ                  TX     90010620880
349B1451555972   MARIA         GONZALEZ                    CA     48090304515
349B158147B449   OSCAR         ANDRADE                     NC     90010375814
349B2234655951   AMALIA        HERNANDEZ                   CA     90005712346
349B24A139152B   ROSA MARIA    ESCORZA                     TX     90005164013
349B264834124B   DEBRA         BAILEY                      PA     90012786483
349B3157751339   EVELYN        HATFIELD                    OH     90014171577
349B318725B156   ERIC          COLEMAN                     AR     90015181872
349B3666255951   IVAN          PATINO                      CA     49070986662
349B369255598B   CASEY         GREGGIANS                   CA     49025636925
349B411A484748   SANDRA        RODRIGUEZ                   IL     20513951104
349B423A651339   CHINA         PHILLIPS                    OH     90013982306
349B521545B375   JULIO         TORRES                      OR     90008142154
349B5526231424   BRENDA        ROBERTS                     MO     90010965262
349B566417B639   CHRISTINA     TORRES                      GA     90010516641
349B599985B156   KIMBERLY      POWELL                      AR     90014019998
349B5A8444124B   ALEXANDER     LEEHR                       PA     90013940844
349B689A82B871   DEANN         KOCHMEIER                   ID     42087068908
349B7135251339   CARA          HENRY                       OH     66030111352
349B71A8841277   HECTOR        GAONA-AVILES                PA     90007971088
349B7566772B32   EDWARD        GOODWIN                     CO     90010195667
349B759635598B   RACHEL        SEAGRAVE                    CA     90010515963
349B8598A5B156   JENNIFER      WALKER                      AR     90013165980
349B938612B93B   CHRIS         STONE                       CA     90014663861
349B9395691831   JUAN PABLO    LUNA                        OK     90010863956
349BB565791831   ANIESHA       ALEXANDER                   OK     90002555657
34B11528861963   WILLIAM       MCCASTLE                    CA     90012065288
34B11848491563   LORENZA       RAMIREZ                     NM     75043398484
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34B118A8631424   TERRANA        LYNN                       MO     90004838086
34B1192245B52B   NANETTE        LOPEZ                      NM     90014729224
34B1199527B639   PAMELA         JOHNSON                    GA     90013939952
34B12122691831   CHRISTY        CARTWRIGHT                 OK     90012051226
34B1239835B393   YESENIA        AGUILERA                   OR     90005753983
34B1292A741277   MICHELLE       SINGER                     PA     51028449207
34B13125531424   JEWEL          HUNTER                     MO     90011001255
34B1314684124B   DONALD         KESTNER                    PA     51016841468
34B132A1472B76   IVIS           DONAIRE                    CO     90004332014
34B1351532B87B   JENNIFER       SHARP                      ID     90011685153
34B13691255951   GONZALO        PERALES                    CA     90001026912
34B1373AA41277   TWANDA         JOHNSON                    PA     51037867300
34B14A44561963   SCOTT          JACKSON                    CA     90012920445
34B1566692B87B   WENDY          KIDDER                     ID     42089376669
34B1567652B93B   ESMERALDA      ALBERTO                    CA     90012866765
34B1587814124B   SUSAN E        GIVNER                     PA     90011198781
34B16714791563   EBENEZER       ANOM                       TX     90012867147
34B1682A351339   KELSEY         STOCKUM                    OH     90013658203
34B1683162B93B   MARIA          LUGO                       CA     90014248316
34B1686537B639   MICHAEL        WOODLAND                   GA     90014078653
34B17112331424   MARCUS         DAVIS                      MO     90013541123
34B1746A12B835   CHRISTINE      RIDGWAY                    ID     42036464601
34B17832191831   BRIAN          HINSHAW                    OK     90013678321
34B1787AA55972   ISAAC          SANDOVAL                   CA     90011468700
34B17A38857B79   BELINDA        WILLIAMS                   PA     90015050388
34B183A5A41258   JAMES          BROWN                      PA     90006503050
34B1864858B16B   BREANN         CHAPPEL                    UT     90013646485
34B1998897B639   RACHEL         SANTOS                     GA     90009279889
34B1B61167B639   DANICA         SAXTON                     GA     90014726116
34B21A38391563   MELISSA        HERNANDEZ                  TX     90001710383
34B22172161963   JUAN           CARBAJAL                   CA     46016071721
34B22274761963   JUAN           CARRVAJAL                  CA     46099072747
34B22354A2B87B   STEVEN         PIPKIN                     ID     90013543540
34B22499841258   LUCKY          LUCIANO                    PA     90014554998
34B2259A441277   JASON          WYANT                      PA     90011435904
34B2345257B492   JUAN           VILLARREAL                 NC     90012804525
34B23894961963   RAYMOND        BEYTO                      CA     46081758949
34B248A757B492   EMILY          MOSS                       NC     90009758075
34B25314954165   NICHOLE        COSNER                     OR     90009453149
34B2568992B93B   AUTUMN         ROSE                       CA     90012866899
34B25A1883B39B   WILLIAM        FOSTER                     CO     33079900188
34B26222255972   FRANCISCO      MENDOZA                    CA     90012482222
34B2662152B871   JENNIFER       HOLFORD                    ID     42016626215
34B26774A41277   ANTHONY        AYERS                      PA     90013197740
34B2694295B156   ANESHA         GONER                      AR     90013349429
34B26A2455598B   LUIS           JOHNSON CORTEZ             CA     90011310245
34B2756534B281   TROY           SMITH                      NE     27043315653
34B277A6391563   HECTOR         MAGALLANES                 TX     90009387063
34B27894851321   CHRISTINE      YOUNGER                    OH     90000818948
34B27983355972   MISTI          GONZALES                   CA     90011029833
34B279A765598B   KA             XIONG                      CA     49056739076
34B28877954165   MICHELL        SCHULTZ                    OR     47007188779
34B2911682B871   MICHAEL        SEWARD                     ID     42091011168
34B2919258B16B   BRITTANY       PEATS                      UT     90010721925
34B2926547B639   THEODORA       DREW                       GA     90006792654
34B2977588B16B   JOSEPH         BURTON                     UT     90015167758
34B2977885B393   TYRIN          HARRIS                     OR     90013467788
34B29A4274124B   STEPHON        COOPER                     PA     90011130427
34B31347541258   MICHAEL        MURPHY                     PA     90012433475
34B316A317B639   SHANTOVIA      KING                       GA     90014726031
34B31925A5B52B   MONICK         SALAZAR                    NM     35055029250
34B3246A97B43B   ZACHARY        SMITH                      NC     11008994609
34B33425372B76   NANCY          VARGAS                     CO     33074474253
34B33617155972   TERRY          SILLS                      CA     90012156171
34B33856341258   BENJAMINIA     SMITH                      PA     51008608563
34B33914A91232   ALTON          BRANNEN                    GA     90012089140
34B3438315B52B   JUDY           ZORDEL                     NM     35095833831
34B3445314B52B   GRICELDA       GOMEZ                      OK     90010594531
34B3568A47B639   DEMETRICA      JACKSON                    GA     90008106804
34B356A838B16B   TRACEY         ARCHIBALD                  UT     31078686083
34B359A424124B   CAITLIN        CULLEN                     PA     51075329042
34B3615957B449   KONSTANTINOS   AMVRAZIS                   NC     90013961595
34B3673267B492   VICTOR         SLIVA                      NC     90010757326
34B3677152B87B   STEVE          COKER                      ID     90013467715
34B36994761963   JAMEEL         ZILLO                      CA     90014889947
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34B3717848433B   CRETA         MIDDLETON                   SC     90000721784
34B37617891831   IRENE         MCCOURT                     OK     90014906178
34B3765572B835   TAMMY         VALUET                      ID     42076646557
34B37757855972   ROXANNE       WILLIAMS                    CA     48010667578
34B37895291831   DAULTON       DAY                         OK     90013778952
34B38523931424   TERRIE D      GREENE                      MO     90002275239
34B3873987B639   HILL          EUGEINA                     GA     15095137398
34B3896A72B87B   RODNEY        AKERS                       ID     90014739607
34B39398454165   ORIVA         LUNA                        OR     90015263984
34B3942512B93B   KIMBERLEE     BLOYED                      CA     90006864251
34B39A4684124B   CHRIS         ROBINSON                    PA     90011070468
34B3B815A7B639   BRITTNI       SEARCY                      GA     90014888150
34B3BA3645B393   THOMAS        WALKER                      OR     90010320364
34B4134695598B   STEPHANIE     SANCHEZ                     CA     49065203469
34B42691391563   DENISE        FRIAS                       TX     90013196913
34B42A31254165   DAVID         ISAACSON                    OR     47090370312
34B43871672B32   WHITNEY       DEGROOT                     CO     90001878716
34B43877A4124B   JOSHUA        RIVERA                      PA     90014018770
34B43A5718B16B   MARIO         TOLENTINO                   UT     90015340571
34B4434615B393   SHERRI        HUTCHISON                   OR     44538633461
34B44A5397B639   DARRELL       PETERSON                    GA     90015250539
34B4547294124B   CENTERRIEA    CARPENTER                   PA     90002194729
34B45918A61963   DENISE        VALENCE                     CA     46016119180
34B46148A7B639   TIFFANY       DIXON                       GA     90013941480
34B461A487B43B   LEYDI         ALVAREZ                     SC     11071341048
34B4893A741258   CHARLES       KANNERLY                    PA     90007069307
34B48959755972   ALFREDO       ALARCON                     CA     90010939597
34B4922375B393   TANISHA       SANDERS                     OR     44509112237
34B49242A5B393   ERIC          RAMEY                       OR     90010942420
34B49358841285   ALEXZANDRA    FISHER                      PA     51011443588
34B4961117B43B   KELLI         GRAY                        NC     11018126111
34B4B15165B393   MAURICIO      ORTIZ                       OR     90011211516
34B4B373155951   MARTHA        BERROS                      CA     49028653731
34B4B619A7B449   SHONTELLE     WILSON                      NC     90014686190
34B513A265598B   HEAVENLY      JOHNSON                     CA     90015573026
34B519A3951339   JAE           RIVERA                      OH     90015139039
34B5228512B93B   JESSICA       ABBEY                       CA     90012092851
34B5254144B221   EDDIE         HILLIARD                    NE     90001035414
34B528A5941285   JASON         BLACK                       PA     90005788059
34B52A39791831   HAROLD        EARL                        OK     90013940397
34B5312632B87B   JOSE ZAPATA   ZAVALA                      ID     90004291263
34B53784141277   ANNIE         SLIVKA                      PA     51056317841
34B53918661963   RICKY         JOHNSON JR                  CA     90011299186
34B544A6661963   LONDELL       KINSEY                      CA     90014484066
34B54514A91831   ANTONIO       JASSO                       OK     90013045140
34B553A6461963   MICHELLE      SCHREIBER                   CA     46016143064
34B5558535B156   CHARLES       STEWART                     AR     90015125853
34B55713A4B281   DONNA         GARLUE                      NE     90006937130
34B55812636B77   ENGRACIA      ESCOBAR                     OR     90002238126
34B5628242B87B   SHELLIE       AYRES                       ID     42007552824
34B5648912B871   NICHOLE       GONZALES                    ID     42038214891
34B5839812B871   SAMUEL        LONGSTREET                  ID     42037803981
34B58984991563   JUDITH        LEANOS                      TX     75045499849
34B5949A855951   JORGE         NAVARO                      CA     90003314908
34B5961442B871   PEDRO         PEREZ                       ID     90002116144
34B61254A2B87B   SHIRLEY       GERNES                      ID     42098722540
34B61779791549   DARIO         RODRIGUEZ                   TX     90002817797
34B61AA2551339   JASON         WILLIAMS                    OH     90004880025
34B62621241258   DEAN          MILKO                       PA     90013846212
34B6285722B87B   FRANCO        MEDINA                      ID     90010768572
34B632A7741285   DORA          SCHWARZ                     PA     90003702077
34B63332655972   KELSEY        FERNANDES                   CA     48038763326
34B6345955B393   ANDREW        SCHAFFER                    OR     90009174595
34B64711991831   BRONSON       BROWN                       OK     21071567119
34B65295A5B393   ANNE MARIE    ETUNDY                      OR     90003792950
34B65875455972   ISARAEL       ACERO                       CA     90004988754
34B66635251339   JESSICA       FULTZ                       OH     90008936352
34B66951955972   JENNIFER      RYAN                        CA     48000339519
34B66AA1A7B492   JIMMY         WHETSTINE JR                NC     11002740010
34B67274554165   OSCAR         CALDERON                    OR     47019602745
34B6756825B177   KEVIN         LEE                         AR     23007745682
34B6835384124B   STEPHANIE     JARZYNKA                    PA     51039363538
34B68558A7B639   TANISHA       BOSWELL                     GA     90011005580
34B68579A31424   NATHAN        MORGAN                      MO     90008995790
34B6865AA2B87B   GINA          HALLMAN                     ID     42073196500
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34B68747454165   SHANNON           LINGERFELT              OR     47089837474
34B6932477B639   TURONICA          RANEY                   GA     90014053247
34B69362455972   EDUARDO           RUEALCAVA               CA     90012463624
34B69512631424   STACEY            MOSMAN                  MO     27593775126
34B69658851339   PEGGY             BROWN                   OH     90006606588
34B6993217B449   ORLANDO           ARTEAGA                 NC     90013629321
34B69A5592B87B   AMBER             WALTERS                 ID     90009890559
34B6B759741258   RICHARD           FAZIOO                  PA     90006767597
34B6BA18591563   MARIE             MORENO                  TX     90007840185
34B7135812B835   ALISON            CROW                    ID     90001763581
34B71435A8B16B   HARDEN            BURGIN                  UT     90008604350
34B71469241285   TONY              LITTLE                  PA     90014024692
34B7165985598B   TERESA            NEGRETE                 CA     90001836598
34B719A838B16B   DARREN            CURTIS                  UT     90013949083
34B7228244124B   DAEQUALE          PLOWDEN                 PA     90015122824
34B7299A65B393   TAMMY             OLIVERIA                OR     44584219906
34B7321785B156   ISAIA             PEREZ                   AR     90012762178
34B733A465B393   ANDRES            JIMENEZ                 OR     44564133046
34B736A9A41258   ALESCHIA          WATKINS                 PA     90014886090
34B7385495B52B   CARLOS            HERNANDEZ               NM     90011058549
34B74864A91563   CESAR             CORDERO                 TX     90003008640
34B75373791831   KRYSTLE           MARQUEZ                 OK     90014133737
34B7546935598B   ALFREDO           ALCAZAR                 CA     49094964693
34B756A318B16B   DAVID             WELLS                   UT     31087356031
34B7663A72B835   ANTHONY           CUMMINGS                ID     90013536307
34B76727281686   RICHARD           JOHNSON                 MO     29002357272
34B7759328B16B   LUTHER            ROWELL                  UT     90012415932
34B7765582B87B   ARNE              PIETZ                   ID     90007296558
34B77833155972   ARGENIS           TORRES                  CA     90001978331
34B782A3741258   DERRICK           THOMPSON                PA     90014112037
34B7851614124B   ROBERT            MADINE                  PA     90014605161
34B78858655972   MARLENE           CORONA                  CA     90013038586
34B7933429152B   BONNIE            MARIN                   TX     90009553342
34B79A29557B79   MALAYJAH          MITCHELL                PA     90015140295
34B7B48972B87B   HANNA             BRITTON                 ID     90009214897
34B7B64315B156   GONZALO           GONZALES                AR     23015696431
34B7B95457B639   HELEN             PIERSON                 GA     15001469545
34B81179A3B152   EMMANUEL          ALLOTEY                 DC     90004381790
34B81212A5B52B   BENITO            HERNANDEZ JR.           NM     35051592120
34B81395A41455   CARMEN            BERRY                   WI     90014043950
34B8269587B639   NORMAN            HALL                    GA     90005816958
34B828A922B87B   SHANNON           PAUL                    ID     42059118092
34B839A4241258   LISA              KROWCHAK                PA     90008119042
34B8414354B281   DENIS FRANCISCO   NAVAS                   NE     90013931435
34B84334587B64   ROBERT            GREENE                  AR     90013483345
34B8455372B93B   BARBARA           ASHWORTH                CA     45025145537
34B84618355951   LAURA             VALENCIA                CA     90002906183
34B8481A37B639   MYCREATISHA       DAVIS                   GA     90013088103
34B8515957B449   KONSTANTINOS      AMVRAZIS                NC     90013961595
34B851A817B449   URSULA            THOMPSON                NC     90010501081
34B85869551339   SARAH             PROFFITT                OH     90010998695
34B861A9491563   BERNICE           QUEZADA                 TX     75081871094
34B8624A95B156   ANGELA D          MCFADDEN                AR     23002052409
34B8646175B393   JUSTIN            HASTY                   OR     90008624617
34B866AA88B16B   ELIZABETH         DAVIS                   UT     90013676008
34B8694A141277   OLIVER            ALLAN                   PA     51062559401
34B86972791831   PANKAJ            KHANAL                  OK     90013939727
34B871A972B93B   ALEX              SERRATO                 CA     90000621097
34B87611141285   VANESSA           JOHNS                   PA     51077046111
34B8843285B156   TANYA             BROWN                   AR     90013874328
34B8864634B281   DOROTHY           DROSZ                   NE     90003786463
34B8878255B393   REGINA            PERTON                  OR     44506927825
34B8969614B281   MURIEL            YOUNG                   NE     27093586961
34B8987325598B   MARCO             MORALES                 CA     90012788732
34B8996635B156   DEMETRIA          WINSTON                 AR     90003709663
34B8B1A5291831   APRIL             MARTINEZ                OK     90013321052
34B8B21377B492   ANTHONY           WATSON                  NC     90013922137
34B91375591563   DOZAL             RAUL                    TX     90012423755
34B9145527B639   TIARA             HARDNETT                GA     90013944552
34B92521191232   TONYA             HAZEL                   GA     14572825211
34B92797954165   ASHLEY            SANCHES-MORALES         OR     90014137979
34B9352447B639   DAVID             SMITH                   GA     90013965244
34B935A612B93B   GILDARDO          GONZALEZ                CA     45089795061
34B9453295B393   LYNNETTE          BRYCE                   OR     90014615329
34B94617154165   TONY              ROCKWELL                OR     47033086171
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34B9467568B16B   FRANKIE         SPACKMAN                  UT     90015066756
34B94A7252B871   EVELYN          TRUJILLO                  ID     90014980725
34B94AAA561474   KALI            POULSON                   OH     90015230005
34B9577195598B   DANIEL          KNOX                      CA     90014067719
34B9583AA2B93B   JAIME           SAMUELS                   CA     90014938300
34B9613545B943   RYAN            WEAVER                    WA     90015081354
34B9623A47B449   FLINN           RAY JR                    NC     11063042304
34B96862555972   RAY             PEREZ                     CA     90004498625
34B9694A454165   MARISOL         BECERRA                   OR     90003669404
34B9718458B16B   ROBERT          BUCKLEY                   UT     90013641845
34B97546155972   JUAN            DELGADO                   CA     90013405461
34B975A5436B77   ALEJANDRO       MEZA                      OR     90000115054
34B975A7272B76   MANUELA         DE LACRUZ                 CO     90006775072
34B9799429125B   EVONNE          MARTIN                    GA     14554809942
34B983A847B492   WILLIAM         SPRINKLE                  NC     11055053084
34B9968152B87B   JENNIFER        ROBERTSON                 ID     42051596815
34B99A91261963   JESUS           HERMOSILLO                CA     90012990912
34B9B339241285   GEOFFREY        KAECHER                   PA     90015203392
34B9B678A7B471   ABEL            RAMIREZ                   NC     90014216780
34B9B961941277   DONTAE          HOLLOWAY                  PA     90014829619
34BB145A13B239   WALTER          ALEXANDER                 DE     90015394501
34BB1871861963   MARGARET        DEASON                    CA     46068718718
34BB1A55855972   TRISTAN         EVANS                     CA     48045430558
34BB3253755972   ILIANA          GARCIA                    CA     90014682537
34BB3371A2B835   ZACHARY WAYNE   ISON                      ID     90008403710
34BB338717B639   JADA            THOMAS                    GA     15086293871
34BB3439655972   RICK            SORRIA                    CA     90013344396
34BB424567B639   ALYSIS          MOSES                     GA     90013202456
34BB452432B871   CHRISTINA       KNIGHT                    ID     42089405243
34BB4878655972   HECTOR          ANGUIANO                  CA     90014468786
34BB497562B835   SHARON          BOLTZ                     ID     42037599756
34BB521544B943   STEVEN          CHATAIN                   TX     90006102154
34BB555477B639   APRIL           GLOVER                    GA     90009975547
34BB6527991563   ALEXIS          DELGADO                   TX     90007775279
34BB6934951339   ASHLEY          HOBBS                     OH     90006129349
34BB695832B93B   NANCY           LANE                      CA     90011609583
34BB7A11A31424   LOUISE          STUART                    MO     90004940110
34BB8316151339   MICHELLE        SODDERS                   OH     90013393161
34BB8735691563   ILSE            BRITO                     TX     90012927356
34BB8769741258   BRANDI          ANDERSON                  PA     90000417697
34BB9831591831   EDWIN           FIGUEROA                  OK     90002108315
34BBB149536B77   STEVE           JOHNSON                   OR     44585081495
34BBB2AA331424   JESSICA         WARE                      MO     27556552003
34BBB455761437   FREDERICK       LAMARR                    OH     90013944557
34BBB53A691945   DIAMOND         SPIVEY                    NC     90008975306
3511138967B492   JANET           PAGAN                     NC     11091913896
3511166952B871   SHEILAH         SARMIENTO                 ID     90014586695
3511186A75B156   TARA            JOHNSON                   AR     23067628607
35112A44572B76   ADAN            CARDOZA                   CO     33088330445
3511374487B471   LISA            AUSTIN                    NC     90009047448
3511475A141258   FLORENCE        KAMARA                    PA     51053787501
3511495185B52B   SHAWN           LEONARD                   NM     35054639518
3511499198B166   ALAN J          PORTER                    UT     90004079919
3511512357B492   JENOHN          LEWIS                     NC     11087591235
35115A4924B281   EDWIN           OLIVEROS                  NE     90012160492
35115A8795B344   THOMAS          HARRISON                  OR     90006580879
3511628922B87B   CAROLYN         RUBY                      ID     42060112892
3511638842B87B   ALLICEN         MARTINEZ                  ID     90015213884
35116A1AA7B384   JOSE            VILLANUEVA                VA     81096560100
3511762855B325   MARIA           GRACIANO                  OR     44544316285
3511775857B492   SHATEAMA        FRIDAY                    NC     90008967585
35118226872B76   GREGORIO        VALLES                    CO     33061862268
3511852975598B   TREVOR          ROBINSON                  CA     90013215297
3511869792B835   YAEL            MORENO                    ID     42042406979
351187A5A91831   DAVIS           LANE                      OK     21040067050
351189A3991371   MIKE            AUTEN                     KS     90011029039
3511961215B52B   CHRITINE        GRIEGO                    NM     35000876121
3511995222B835   JOHN            HOADLEY                   ID     42074499522
3511B74754B275   HEIDY           HERNANDEZ                 NE     90010667475
35123547A5B393   HOWARD          FELIX                     OR     90011675470
3512461497B492   FRANKIE         LOWERY                    NC     90009016149
3512528335B52B   RAMONA          CRUZ                      NM     90009712833
3512576965B526   CHANCE          WARD                      NM     90010847696
3512599198B166   ALAN J          PORTER                    UT     90004079919
3512655655B52B   LELA            DIMAS                     NM     35060495565
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35126A11847931   MARSHA           WALKER                   AR     90013630118
3512762A97B639   JACQUELINE       STROTHER                 GA     90002816209
3512942568B16B   TYLOR            INGERSOLL                UT     90014704256
3512B29235598B   JEFFREY          RAMIREZ                  CA     49004252923
3512B2A1641258   SIMONE           CALDWELL                 PA     90013282016
3512B626531424   JULIO            VARA-DIAZ                MO     90010016265
3512B724391891   LATANA           GONZALES                 OK     90015187243
3512BA7695B52B   ARMON            LUNA                     NM     35005470769
3513164667B492   MARIA            LOPEZ                    NC     90004096466
35131828A91584   JOSELYN          GOMEZ                    TX     75057458280
35131A38191831   RUTH             HERNANDEZ                OK     90014180381
351331A6A57138   ANANIAS          RICE                     VA     90007671060
35133A65491371   SKYLINA          TERRYCAVE                KS     90009760654
35133A98791563   CAROLYNE         ORDONEZ                  TX     90011490987
3513494857B639   MARY             REEVES                   GA     15095369485
3513543735B52B   YVETTE           CHAVEZ                   NM     90012214373
3513591428B16B   NICOLE           STREBEL                  UT     90011479142
35136A68131424   JOHN             DAMES                    MO     90004040681
3513748874B275   JENNIE           SELLERS                  NE     90014724887
3513749618B16B   ALANA            HOWES                    UT     31092074961
3513749A355936   NORMA            ANZALDUA                 CA     90014894903
3513799577B425   CHRIS            HARRISON                 NC     90009259957
3513869312B87B   BILLIE           KILLIAN                  ID     42017506931
3513951314B54B   LORETTA          CARSON                   OK     90010435131
3513B372A7B425   PRISCILLA        BOWMAN                   NC     90011163720
3513B46994B275   LESA             HALL                     NE     27097774699
3513B74737B639   LLOYD            CULTON                   GA     90005767473
3513B83852B871   ANGELA           HOLTON                   ID     42010948385
3513BAA8754165   TIFFANY          MC CAIN                  OR     47034940087
3514111382B835   HEIDEE           ROSS                     ID     42061511138
3514139398B16B   RICHARD          DEAN                     UT     90000783939
3514167515B52B   MICHAEL          MARTINEZ                 NM     35088896751
3514184152B871   TIFFINY          MOORE                    ID     90008558415
35142181A91891   DYLAN            NUTT                     OK     21077811810
3514232394B54B   FAYE             THOMAS                   OK     90010233239
351435A2172B76   ANGIE            BORUNDA                  CO     33052115021
3514373452B835   GRANTANDASHLEY   WILSON                   ID     90014437345
35144138A41258   BRITTANY         DIAMOND                  PA     51045141380
3514417222B871   JAMES            FIVECOAT                 ID     42006671722
3514459A591563   JOHN             BOWLER                   TX     90013845905
351446A1791371   GABINO           CARRERA                  KS     90012176017
3514484262B835   NATHAN           TOVAR                    ID     90013438426
35144A3A15598B   LISETTA          BELL                     CA     49094720301
3514541128B16B   AMIE             MBEWAS                   UT     90015464112
35145A44591831   DEEANNA          EDENS                    OK     21000280445
3514748A641277   CANDACE          FOSTER                   PA     90009394806
3514764937B639   JESSICA          WILLIAMS                 GA     90015146493
351476A2291584   DESIREE          REYES                    TX     90013116022
3514827295598B   BEATRIZ          LIZAMA                   CA     90010272729
35148832A61963   HUGO             LOPEZ                    CA     90005118320
3514928418B16B   MAYRA            RAMIREZ                  UT     90010752841
35149458A91371   MAYRO            GUERRA                   MO     29070454580
3514B387771937   ALEXCIA          GARCIA                   CO     90014973877
3514B44485B344   MABELI           SANTIAGO                 OR     90015064448
3514B495891831   KEENA            THOMPSON                 OK     90009804958
35151281A51339   MICHAEL          MCCANDLESS               OH     90007192810
35151A6A94124B   TERRI            MORGAN                   PA     51002270609
351522A695B52B   KRYSTAL          ROMERO                   NM     35068272069
35152521A41258   HELEN            BURGESS                  PA     51023955210
3515283814B275   CASEY            LANE                     NE     90011258381
35152A66155972   ROCHA            ALEJANDRA                CA     48014540661
3515311278565B   RAFAEL           SEIJO                    NJ     85007271127
3515327137B639   NAKEBA           RUTHERFORD               AL     90014872713
3515398355B52B   EDITH            CHAIDEZ                  NM     90010319835
3515416535B52B   JOHN             OLES                     NM     90014931653
3515422214B275   MARISA           UTTERBACK                NE     27067972221
35154A43491831   SHANNON          DAVIS                    OK     90014180434
3515534427B425   PRISCILLA        BOWMAN                   NC     90014143442
3515559178B16B   ISMAEL           GARCIA                   UT     90013895917
3515623365B52B   SONIA            TORRES                   NM     90005132336
3515676A391371   GIOVANI          VALDEZ                   KS     90007797603
35156A43A4124B   ESSENCE          WRIGHT                   PA     90011200430
3515739565B181   PRECIOUS         JONES                    AR     90008303956
35157A32541277   ROB              PURVIS                   PA     51031760325
3515816724B275   LISA             AUSTIN                   NE     27060501672
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3515876762B835   SHAWN        COLLINS                      ID     42000757676
3515883364124B   KIMIAO       SAKAI                        PA     90010848336
35159A71A41285   ROBERT       BLACKWELL                    PA     90011250710
3515B224A61963   KINGSTON     MORGAN                       CA     90005952240
3515B32455B52B   ADRIANA      ESPINOZA-ESPINOZA            NM     90008003245
3515B696731424   LAKESHA      MOORE                        MO     90010036967
3515B72185B344   ALVARO       FLORES                       OR     90008697218
3515BAA6641258   JACKIE       BENNETT                      PA     51007460066
351618A4141285   JON          SKALOS                       PA     90010288041
35162288A55936   MARIA        GARCIA                       CA     90012492880
3516239824124B   JOHN         DAERR                        PA     90007373982
3516256812B871   MARK         BAIRD                        ID     90010255681
3516317347B425   VIOLA        JOHNSON                      NC     90008921734
3516356A491563   ERICA        ROCHA                        TX     75056755604
35164838A61963   PAUL         STEPHENS                     CA     90009268380
3516492762B87B   CHRISTINA    EVENSON                      ID     90013349276
3516599A141258   JESSCIA      NAGEL                        PA     90007079901
3516615997B492   VERONICA     GARVIN                       NC     90015301599
3516697764B275   BAKHODUR     SAITOV                       NE     90014829776
35167897A54165   ANDERSON     NICOLE                       OR     90004688970
351686A3261963   DAVID        CORCOLES                     CA     90010476032
351692AA74B542   TARA         TOMISKA                      OK     90014772007
35169AA5891563   RAMON        ELIAS                        TX     90003300058
3516B163491584   BEATRIZ      HOLGUIN                      TX     90013911634
3516B326A51328   EMMET        WINSLOW                      OH     66016933260
3516B357991891   JOHN         AKLES                        OK     90015613579
3516B57642B835   DAWN         STRYD                        ID     90006605764
3517119335598B   VICTOR       MENDEZ                       CA     90008541933
3517187625B52B   RICHARD      DEAGUERO                     NM     90011438762
35171A9134B275   LEROY        RIED                         NE     27058350913
3517235527B639   JEFFERY      WHITE                        GA     90014863552
351733A1661963   MARICELA     OCHOA                        CA     90011503016
351734A525598B   MIGUEL       NEGRETE                      CA     90010384052
35173599A61945   DULCE        MOTA                         CA     90007875990
35173689A7B492   NICHOLE      TOUVELL                      NC     90014576890
3517484344B275   GASPAR       LARIOS                       NE     90015568434
351748A237B639   BRANDON      JONES                        GA     90008078023
3517514A25B393   WILFREDO     BRUNES                       OR     90013111402
3517627755B393   SARA         REEVES                       OR     90012492775
3517632282B835   FORREST      RAWLS                        ID     90010243228
3517664A291371   JOSE         VARGAS                       KS     90014726402
3517723555592B   ISSA         KHABRA                       CA     90008012355
35177447A2B835   HOWARD       POLLOCK                      ID     90012684470
3517817439152B   SHARELY      PEREZ                        TX     90011311743
3517828934B281   AMANCIO      RODRIGUEZ                    NE     90014892893
351783A288B166   CRYSTA       STANFIELD                    UT     31061043028
3517865894124B   AMANDA       MELLINGER                    PA     51097626589
35178A64454165   MELISSA      GRIEVE                       OR     47030960644
351795A7141258   DUSTY        COCHRAN                      PA     51090935071
3517B67235598B   NIKI         NGONKHAMBY                   CA     90008586723
3517B689A7B492   NICHOLE      TOUVELL                      NC     90014576890
3517B83795598B   ANDREW       MOLINA                       CA     90011778379
3518218A351382   AMANDA       ARMONTROUT                   OH     90005701803
3518232754B275   ANDREW       JUDE                         NE     90010693275
3518249A57B425   PAULA        MAINE                        NC     90014074905
3518264387B359   ANGELA       RIANO                        VA     90011476438
35182944A55972   VICTORIA     LOPES                        CA     90011799440
35182A35141285   CONNIE       REED                         PA     51056150351
3518433415B393   MAZIN        DAWOOD                       OR     44591473341
35184A53591371   JUSTIN       HARRIS                       KS     90014530535
35185328A54165   AUGUST       WERNICKE                     OR     47093753280
35185AA4891563   DESSARAY     GONZALES                     TX     90013850048
3518617935B344   JOSEPH       CODDINGTON                   OR     44578811793
351862A688598B   SAMUEL       MCCORD                       KY     66013272068
3518646482B87B   KATHRYN      ACKERLAND                    ID     42042914648
35186648A7B639   KIERA        WILLIAMS                     GA     90011306480
3518676164B281   KIM          GALLOWAY                     NE     27061637616
3518765524124B   MIRIYA       VERGOT                       PA     90008946552
35187791298B25   ELMER        RIOS                         NC     90012927912
3518879948B166   HUSS         C RYAN                       UT     90006037994
3518882627B492   AMANDA       FORD                         NC     90011898262
3518887145B344   JOY          FASBENDER                    OR     90014918714
3518B187661925   FRANCISCO    OLVERA                       CA     90006341876
3518B79792B87B   MIKKI        HICKMAN                      ID     90012057979
3518B83214124B   ASIA         KNIGHT                       PA     90013448321
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3518B849A51321   HOPE             REHN                     OH     90008938490
3519163A35598B   YALEMZER         SHIFERAW                 CA     90010736303
3519182654B275   MARCIA           MANHART                  NE     27033348265
351919A6291232   VALERIE          VIRGIL                   GA     14575479062
35191A2692B871   BRYAN            ALEXANDER                ID     42066340269
3519227525B52B   JESUS            HERNANDEZ-DIEZ           NM     90012952752
35192634A54165   ISIDRO           TAJONAL                  OR     90014026340
3519315A741258   SCOTT            GUTHRIE                  PA     90015111507
35193434A2B835   LEDY             MUNOZ                    ID     42028414340
3519348882B871   MAGDALENA        YADO                     ID     42061824888
3519363A861943   RICHARD          BECERRA                  CA     90010766308
351943A6272B76   STEVEN           LOWELL FROID             CO     90002903062
3519524A12B87B   COURTNEY         DERR                     ID     90012332401
3519537AA4124B   DANYELLE         RUMP                     PA     90004443700
3519572142B871   MAKAMBO          MAMBOLEO                 ID     90012857214
3519573452B835   GRANTANDASHLEY   WILSON                   ID     90014437345
3519587128B166   KRISTY           SASSER                   UT     31088468712
351958A6861963   SERGIO           CELAYA                   CA     90009408068
3519629A34124B   LIANA            DUDEK                    PA     51003852903
351962AA97B449   TIARA            HARRIS                   NC     90011692009
35196387A91891   JOSE             LOPEZ                    OK     21017583870
35196841372B76   ASHLEY           AGUILAR                  CO     90004388413
3519698A34B541   KALA             DOZIER                   OK     21599249803
3519772924B281   CHRISTINA        THORNLEY                 NE     90014237292
35197874A2B871   JACKIE           BOLES                    ID     42096498740
3519791545B393   JESSE            VOETBERG                 OR     90012859154
3519865717B639   OLLIE            MAHONE                   GA     15028006571
35198A15491584   TREJO            MONICAA                  TX     90014660154
35198A7168B16B   ANDREW           ABNER                    UT     90015310716
35198A71A41285   ROBERT           BLACKWELL                PA     90011250710
3519948542B871   MARYSSA          VALENCIA                 ID     42006364854
3519955A27B425   CLARISA          GOMEZ MEZA               NC     90013485502
3519997332B835   ELZA             MADERO                   ID     90014159733
3519B166A2B871   JOSEPH           GALLEGOS                 ID     90013271660
3519B17A355972   XOCHITLE         ZAVALETA                 CA     90013171703
3519B35848B16B   ROSE             GALLEGOS                 UT     31077073584
3519B743731424   SHARON           JONES                    MO     90014687437
351B149A85B393   KENNETH          HAGEN                    OR     90011674908
351B1698761963   SUZAN            BUTRUS                   CA     90003276987
351B181664124B   WILLIAM          PHILLIPS                 PA     51003168166
351B2259461963   PEDRO            MURILLO                  CA     90008532594
351B25A8241285   LAURA            FARMER                   PA     90015045082
351B2623141258   DAVID            MICHALEK                 PA     51041756231
351B282667166B   DENNIS           ROBINSON                 NY     90015348266
351B3415354165   MICHAEL          LOCKBAUM                 OR     90014744153
351B3449255972   RUSSELL          CORTEZ                   CA     48037854492
351B389524124B   CHANDRA          RAI                      PA     90010938952
351B3948A7B492   YONHY            ARRIAGA                  NC     90011689480
351B4173255972   SARA             GAONA                    CA     90014721732
351B41A384B281   EVERARDO         GOMEZ                    NE     90013501038
351B4616491371   MARIA            CASTULO                  KS     90006366164
351B4712191232   MARIA            CHATMAN                  GA     14584417121
351B4874555972   OMAR             ARELLANO                 CA     90012858745
351B4A2112B87B   ASHTON           TURNER                   ID     90013800211
351B53AAA5B557   CHRISTINA        PEREZ                    NM     35073913000
351B578452B835   FELIX            ARGUETA                  ID     90011637845
351B5919555972   GONZALO          CHAVEZ                   CA     90011089195
351B5A64241285   DOREEN           LEWKOWICZ                PA     90014250642
351B67A617B449   YOLANDA          SMITH                    NC     11023467061
351B713498B179   SHEENU           BURTIS                   UT     90012101349
351B745245B156   JERMAINE         MORRIS                   AR     23094764524
351B7472155972   CARMEN           LOPEZ                    CA     48078944721
351B7793A61962   MAYRA            PIMENTEL                 CA     46084527930
351B836132B87B   DUSTIN           HOWELL                   ID     90011203613
351B8393661957   HEATHER          MACK                     CA     90010003936
351B913A95B344   VANESSA          GONZALEZ                 OR     90000631309
351B9439191563   JENNIFER         WILLIAMS                 TX     75097364391
351B9567A7B639   CHRISTOPHER      CLEMONS                  GA     90013475670
351B9A1997B425   GEORGE           SANTIAGO                 NC     90012070199
351BB31288B16B   LARRY            LEE                      UT     90007223128
3521111A77B471   BRYAN            LIRA                     NC     90010071107
3521121115B52B   CANDY            CASTRO                   NM     35013102111
3521149454B275   EDWARD           CONDON                   NE     90010014945
35211A43A4B275   JACEN            ROBINSON                 NE     90015580430
35211AA8231424   SCHANEL          MILTON                   MO     90011110082
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352126A764124B   JOVECA        LEONARD                     PA     51035526076
3521365942B871   RACHEL        STINER                      ID     90014056594
3521496954124B   EBONEE        HILL                        PA     51019549695
3521523267B449   SARAH         POSEY                       NC     90011692326
3521595988B329   SHATIRI       MOORE                       SC     90014649598
352168A379125B   INEZ          BOONE                       GA     14558478037
35216A1AA5B393   AMY           HEINRICHS                   OR     44575830100
35217242272B32   ESMAIL        MOMANDI                     CO     90011772422
3521737A45B393   TERI          LOVIG                       OR     90006203704
35218A71461963   ALICE         SMITH                       UT     90005120714
3521964865B156   ROWENA        HAMPTON                     AR     23074496486
3521971A32B871   LAURA         KELSO                       ID     42033687103
35219A2964B52B   DEZMON        PARKER                      OK     90010970296
3521B22144124B   JAMES         LUNN                        PA     90014402214
3521B5A6457B79   ALISHA        LOEFFLER                    PA     90014975064
3521B84625598B   RAFAELA       ARIAS                       CA     90009198462
3521BA33591371   CRISTY        MILINA                      KS     90015550335
3522137325B181   TONI          REAVIS                      AR     90001723732
3522291698B166   MARY          CHRISTENSEN                 UT     31039529169
3522293155B156   LAKIM         GORDON                      AR     23093339315
3522334335B52B   RICKY         HORTON                      NM     90013003433
3522424574B275   SHERRY        VIETH                       NE     27093282457
3522482A141285   ARYLECIA      WILLIS                      PA     90012318201
352248A965B344   TIFFANY       CLEARY                      OR     44584288096
35225578A91972   SALBADOR      AMADO                       NC     90006585780
3522581295B52B   AYMARA        NIEVES                      NM     90003198129
3522582874B275   KATIE         KROM                        NE     27075398287
3522634112B87B   TREASURE      DAVIS                       ID     90011973411
3522667735B52B   ANGELA        ULIBARRI                    NM     90006096773
3522714977B639   GAY           CLAY                        GA     90014971497
35227A45291371   FELICIANO     ZAMORA                      KS     90003760452
35228482A7B43B   GERTRUDE      JOHNSON                     NC     90001724820
352284A6A91891   LARITA        DUNN                        OK     90012974060
3522914467B639   ESTELA        MORALES                     GA     90006911446
3522916582B871   ROCIO         RODRIGUEZ                   ID     90013731658
3522944862B835   STEVEN        KENNEDY                     ID     90012174486
3522B957554165   MARCI         WOODY                       OR     90007819575
352317A772B87B   DAVID         DERRICK                     ID     90006557077
3523184925B52B   PAT           GONZALEZ                    NM     35029588492
3523229A15B52B   MICHAEL       SANCHEZ                     NM     35002352901
3523235217B425   SHERA         LYONS                       NC     90014653521
3523247192B835   DAMIAN        MANJARREZ                   ID     42082634719
3523273A38B166   STEVEN        LAUB                        UT     90006147303
352329A6591891   CRYSTAL       SMITH                       OK     90014779065
3523322494B275   CARRIE        SHALLBERG                   NE     90013882249
35233277A7B449   TASHA         MCCULLOUGH                  NC     90011692770
3523349159152B   RICHARD       CHAPARRO                    TX     90008524915
3523375A45598B   CHRISTOPHER   SMITH                       CA     90015127504
35235A34891563   JULIE         OZONE                       TX     75043820348
35235A4254B275   MARLA         UTTERBACK                   NE     90001730425
35236278A51339   ROGER         TAULBEE                     OH     90007362780
3523664567B492   SHANIKA       BURRIS                      NC     90011056456
3523744434124B   DOLORES       GRIFFIN                     PA     90007744443
3523769153B352   ASHLEY        PARKER                      CO     90010776915
3523769445B344   THOMAS        DIAZ                        OR     90015126944
35238A41791371   KAYFRANCES    JONES                       KS     90011120417
35239258A91891   JEANIA        WEST                        OK     90012502580
352392A5347931   DONALD        REDDEN                      AR     25038292053
3523931125B393   BRIAN         HUGH                        OR     90012503112
3523995615598B   VANESSA       MARTINEZ                    CA     90013459561
3523B64567B492   SHANIKA       BURRIS                      NC     90011056456
3523B917961963   STEVEN        BINGHAM                     CA     90001329179
3523BA61231424   ANJELIQUE     LEVENBERRY                  MO     27562590612
3524119A841258   WILLIAM       YOUNG                       PA     90013541908
352411A4191584   RAISA         MCINTYRE                    TX     90009071041
3524159564B281   MARIA         MOLINA                      NE     27056695956
35241A67591891   AMBER         WICKER                      OK     90005980675
35241AA535B344   CIRENIA       GARCIA                      OR     90008140053
3524278345B344   SHAWN         REID                        OR     90015167834
35243A11847931   MARSHA        WALKER                      AR     90013630118
35243A7458B273   LESLIE        AIKEN                       VT     90014300745
35243AA5655936   DANIEL        LOPEZ                       CA     90009310056
35243AA767B639   TASHEEMA      JERNIGAN                    GA     90013590076
352442A5347931   DONALD        REDDEN                      AR     25038292053
352445AA972B76   ALFRED        GRIEGO                      CO     33096295009
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35244696172B27   JOSE               ALBERTO                CO     33062596961
3524482885598B   MARY               KEENE                  CA     90013448288
35244939A51382   JEFFREY            HOLMES                 OH     90006499390
35244AA482B871   JONAS              HERNANDEZ              ID     90012050048
3524525458B16B   DALE               TORONTO                UT     31064372545
3524551834124B   VICTOR             HANKINSON              PA     90010045183
3524664422B87B   THOMAS             VILLANUEVA             ID     90013966442
3524676985B344   CORINA             HINOJOSA               OR     90010197698
35247A1614124B   DUSTIN             KIEFER                 PA     51080810161
35247A5568B16B   TONYA              LEVEY                  UT     90003460556
3524844612B871   NICOLE             BENNETT                ID     42022174461
352484A232B835   KIM                GROSS                  ID     90011004023
35248AA2741277   RICH               FETTE                  PA     90014480027
35249A27841277   EARL               SIMMS                  PA     51078710278
3524B1A8291371   JAMES              DAY                    KS     90015461082
3525115927B492   EVELYN             POPLIN                 NC     90012181592
352514A514124B   BRANDON            KEIFFER                PA     51084294051
3525166995B52B   ANTONIO            TORRES                 NM     90011426699
3525232574B281   JENNIFER           KOMOR                  IA     27051533257
3525264612B835   KAYLA              MILLER                 ID     90006126461
3525312AA3B365   NEIL               NEUDORFF               CO     90003491200
352534A9841285   MARVELL            SCROGGINS              PA     90010014098
3525351254124B   ERICA              THORNTON               PA     90013555125
3525364318B166   LYNNE              HARKNESS               UT     31018936431
3525399A891584   DIANA              HUIZAR                 TX     90002489908
352544A8291584   MICHAEL            ESPARZA                TX     75082624082
3525471444124B   MELANIE            COX                    PA     51023507144
3525527515598B   FERNANDO RAMIREZ   SANCHEZ                CA     90005572751
3525539A48B16B   JULIE              MONTGOMERY             UT     31086123904
3525545795B344   JULIA              GALAZ                  OR     90009704579
352554A955B344   NANCY              BLANCAS                OR     90014814095
35255754A4B281   UBALDO             LOPEZ                  NE     90014547540
3525584717B449   ARISTA             LIPSCOMB               NC     90001028471
3525586562B87B   LINDA              PYPER                  ID     90010888656
3525626A42B871   DENIS              LETELIER               ID     42058852604
3525628A27B492   MINNIE             WORLEY                 NC     90012042802
3525734877B471   REINA              RIVERA REYES           NC     11041293487
3525755352B87B   JULIE              LAUB                   ID     90010305535
3525776165598B   RAMIRO             GONZALES               CA     90015127616
35257AAA34124B   NATIKA             PROCTOR                PA     51074750003
35258179A4B281   MARIO              GRADY                  NE     90014651790
3525898278B166   VENIECESHA         WOODALL                UT     31000109827
35258AA177B425   VICTOR HUGO        BERMUDEZ               NC     90012570017
35259129A55972   DARREN             DAVIS                  CA     90003691290
3525954262B835   JOHN               WAGNON                 ID     90014495426
3525992857B425   CANDICE            STUB                   NC     90013399285
3525996232B835   JOHN               WAGNON                 ID     90013719623
352599A2A7B639   TAMINIKA           MARTIN                 GA     90013719020
3525B358291584   ANTONIO            WONG-ROMERO            TX     90011653582
3526114142B871   MELISSA            HAMMER                 ID     42065211414
3526171917B449   MARY BETH          NADEAU                 NC     11069237191
3526197987B471   LATASHA            JANT                   NC     11085569798
3526235228B16B   JUSTIN             GARNER                 UT     90009493522
352628A2555936   MAURICE            MCCLAIN                CA     90001508025
352635A5431424   MICHAEL            MARION                 MO     90009625054
3526377818B16B   ANIESA             GONZALES               UT     31041787781
3526421562B241   DANA               CARROLL                DC     90013052156
3526449A57B425   PAULA              MAINE                  NC     90014074905
352645A8972B76   JUAN               ALANIZ                 CO     33012205089
3526472322B835   MORAIMA            NUNEZ                  ID     42017207232
3526483A691371   DANIELA            HERNANDEZ              KS     90007108306
35264A62791584   JORGE              REYES                  TX     90014660627
352655A1791563   JESICA             BUENROSTRO             TX     90014435017
3526589575B344   MEAGAN             JUDKINS                OR     44566758957
352661A919376B   CHRISTOPHER        ERB                    OH     90005661091
3526692675B156   DAZARAY            LEWIS                  AR     90002739267
3526764A354165   AUBREE             QUEZADA                OR     90009506403
35267A47355936   CARIMEN            VALERIANO              CA     49053650473
3526821145598B   JHON               PEYTON                 CA     49092912114
352686A414B281   DONNA              CROSBY                 NE     27078016041
3526943A82B835   RAY                CAMPADONIA             ID     42010914308
3526979658B16B   MICHAEL            BURNES                 UT     90013447965
3526B36112B87B   JUDY               BRUMMETT               ID     42028543611
3526B379691584   MARIA              CHANEZ                 TX     90011653796
3526B548891584   MARIA              CHANEZ                 TX     90012635488
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3527134427B425   PRISCILLA    BOWMAN                       NC     90014143442
3527196688B16B   HUGO         RESENDIZ                     UT     90015299668
352737A869125B   MICHELLE     CALDWELL                     GA     14510687086
35273A82A5B393   JOSE         BARRETO                      OR     90014860820
3527437377B639   APRIL        SCHADERS                     GA     90014863737
3527494595B393   ELIZABETH    HIRATA                       OR     90002189459
35274A26A76B45   ADELA        VENEGAS                      CA     90010680260
35274A98172B76   MARIO        ALVEAR                       CO     33087130981
35275289A61963   SELENA       ZWARTJES                     CA     90009172890
3527569412B87B   BRENDA       SISCO                        ID     90012236941
3527591845B393   ABDIFATAH    MAILEH                       OR     90011579184
3527594835B359   ALISHA       PAGE                         OR     90012199483
352762A4A5B156   STRAWBERRY   ADAMS                        AR     23002872040
3527633735B156   STRAWBERRY   ADAMS                        AR     90014643373
35276611276B75   DARRYL       KING                         CA     46090316112
3527697573B161   MIRTHA       MORENO                       VA     90004549757
352781A9191563   LEROY        HYDER                        TX     90010731091
3527859532B87B   ROBERT       CRISSMAN                     ID     42095135953
35279722A5B156   JUAN         CRUZ                         AR     23090827220
3527B146647931   OVIDIO       ORTIZ                        AR     90012731466
3527B696641297   TERRANCE     JOHNSON                      PA     90000996966
3527B96458B163   BRIAN        WILLIAMS                     UT     90010079645
3527BA39A3B132   ELSA         LOPEZ REYES                  DC     90003170390
3528145634B281   MEG          LARSEN                       NE     90014914563
3528157545598B   LUIS         BERNABE                      CA     90014415754
3528288415B52B   ELISHA       MAES                         NM     90009748841
3528299514B281   TRACY        ERWIN                        NE     27085049951
35283563A5B393   MOHAMED      BESHIR                       OR     90011965630
35283574A91831   REBECCA      TENPLETON                    OK     21082105740
35283A52272B25   VICTOR       FLORES                       CO     90014290522
3528444335B344   JESUS        RICO SILVA                   OR     90014814433
3528451A34124B   DANIEL       BILBY                        PA     90011425103
35285234A91563   ANTONIA      MORRISON                     TX     90009722340
3528571494B275   WILLAMAE     GAMBLE                       NE     27066227149
35285A2A991584   JASMINE      ARANDA                       TX     90013950209
35285A7473B35B   BARBARA      READY                        CO     90004600747
35286358A2B835   KALI         MCLANE                       ID     90010613580
35286A2A941277   CHRISTINE    TECK                         PA     51006260209
35286A37151382   STEVE        BARNES                       OH     66096880371
3528751544124B   DANIAL       KELLER                       PA     90006345154
3528755A391543   ISREAL       HERNANDEZ                    TX     90005065503
3528774925B393   ALICIA       RIOS                         OR     44572697492
3528837497B425   CHRISTINE    LAM                          NC     90001913749
35288A4774B275   ELIZABETH    ZASTERA                      NE     90014610477
3528932272B835   CODY         MCCLURE                      ID     90010343227
352896A2A5B52B   ROBERT       NICHOLS                      NM     35061136020
3528B719A41277   BERNARR      TUCKER                       PA     51006047190
3528B965361557   REBECCA      KING                         TN     90015449653
3529121352B87B   MARY         KNIGHT                       ID     90014612135
3529139685B52B   MIRNA        LASCAN                       NM     90005033968
3529167142B835   KELLY        IRVING                       ID     90000906714
3529215425B393   ALINA        OTTERSBERG                   OR     90013111542
35292263676B47   JOHN         PATTERSON                    CA     90012722636
3529235A691831   PATRICK      THOMPSON                     OK     21069463506
3529262762B87B   BRADLEY      WOODS                        ID     90006316276
35292875A5598B   CHRIS        LINDBERG                     CA     90007118750
3529374177B449   LUIS         HERNANDEZ                    NC     90013177417
3529378282B871   TARA         HILL                         ID     42031677828
35293A53A91584   FERNANDA     RAMIREZ                      TX     90006450530
3529418A591584   GILBERTO     BERDEJA                      TX     90013371805
3529514645598B   ABOBAKER     ALAMRANI                     CA     90014151464
3529548915B52B   DAVID        FAVA                         NM     90013094891
3529578175B344   ROBERT       WHITFIELD                    OR     44581847817
3529621165B344   ISABEL       RASAS                        OR     90013182116
3529641942B871   SCOTT        SELBY                        ID     90013324194
3529861135B344   REBECCA      GLYNN                        OR     44562306113
3529893A15B393   TIMOTHY R    BYINGTON                     OR     90012999301
35298A89291584   JOSE         FLORES                       TX     90014660892
3529912624124B   ERICA        ROWE                         PA     90005001262
352995A445B344   MAGDALENA    SALAZAR                      OR     44513305044
3529969948B16B   APRILEE      HUNT                         UT     31030186994
3529B2A617B639   ERNESTO      VASURTO                      GA     90006302061
3529B55324124B   MEGAN        BETTS                        PA     90013495532
3529B671357B79   SHAKEENA     WHITMORE                     PA     90013816713
3529B731951382   VONDALE      ELLERY                       OH     90005707319
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352B122982B835   VICTOR           CURETON                  ID     90005842298
352B165517B639   ELAINE           HORNE                    GA     15086606551
352B1716291891   AMBER            LOWERANCE                OK     90013737162
352B17A8954165   CESAR            GARCIA                   OR     90005267089
352B21A9541285   JOHN             LEGRANDE                 PA     90011251095
352B253A92B871   ASIA             JUAREZ-BELTRAN           ID     42010025309
352B3357591891   CHRISTA          SMITH                    OK     90013963575
352B3425455972   MARIA            VILLA                    CA     48043324254
352B4274891831   CATHY            CROW                     OK     21068452748
352B4613354165   VOLESKY          KRISTY                   OR     90013956133
352B5471641285   ZAKEEYIA         JEMISON                  PA     51048904716
352B575868B16B   ADRIANA          ANGUIANO                 UT     90013827586
352B5A32231439   ALICIA           HUDSON                   MO     27542240322
352B6172191831   TENAJ            JONES                    OK     90014181721
352B689483B351   CANDYCE          DARDANO                  CO     90012848948
352B718587B639   CRYSTAL          MOSS                     AL     90011101858
352B723987B449   TONY             WILLSON                  NC     90005362398
352B7333741277   STACEY           EUBANKS                  PA     51093563337
352B734682B835   JOAQUIN          ESQUIVAEL-VARGAS         ID     42013233468
352B7788847931   BLANCA           LEAL                     AR     90011517888
352B8346891371   JUAN             SALAZ                    KS     90012253468
352B8361955936   RAUL             LEON                     CA     90013453619
352B8489A7B425   TIM              GRAHAM                   NC     90013964890
352B93A9591891   CHASIDY          WICKS                    OK     90011023095
352B964727B639   TASHA            SANDERS                  GA     90014906472
352B981A77B492   GLENN            BREWER                   NC     90012828107
352BB133955936   ERIKA            AGUILAR                  CA     49076711339
352BB15887B449   MARQUIS          HILL                     SC     11084281588
352BB29485B338   TYLER            JAMES - HENSLEY          OR     90001412948
352BB788651339   JAMES            LITTLE                   OH     90007097886
3531263A72B871   MELISSA          MARKS                    UT     90001326307
3531277667B639   JAMES            DOWELL                   GA     90004257766
3531287585B393   MARGARET         TIGNER                   OR     90015068758
35312976A61963   ELDRED           SEPHUS                   CA     90001429760
35312A2558B16B   MARIA            LOPEZ                    UT     90002620255
353131A3991584   JUAN LUIS        REYES                    TX     90014661039
3531356494B281   BRADLEY          NOWEL                    NE     27075055649
35313A19691584   WENDY            MONREAL                  TX     90014740196
353144A6941285   VALERIE          VAN HOLT                 PA     51055044069
3531575162B87B   MALLISSA         MORRIS                   ID     42043967516
35315817A54165   SONDRA           VARGAS                   OR     47012298170
35315A2644124B   ELAINE           LAWSON                   PA     90004760264
3531713528B16B   LISA             STRONG                   UT     90010431352
353174A8A91371   SHAWN            YARBERY                  KS     90012894080
35317949A7B639   JOEL             STEPHENS                 GA     90014609490
3531887367B492   EVELENA          DAWKINS                  NC     11049238736
35318A6325B156   FREDA            GAY                      AR     23093140632
35318A9537B639   STEPHANIE        FEGGINS                  GA     90013330953
3531926A891584   MAYRA            GONZALES                 NM     75044372608
3531951A141277   RANDI            ROMINE                   PA     51063195101
3531954287B425   JEREMY           MIDDLETON                SC     90015515428
35319663A51337   JAQUANNA         MOSES                    OH     90007956630
3531B11848B16B   CARILYN          BUNPAI                   UT     31065551184
3531B136791891   EBONY            SHERMAN                  OK     90014701367
3531B14715B393   JACKIE           SHANKLE                  OR     44533271471
3531B381A4B275   BETSY            MEDINA                   NE     90011483810
3531B459655936   CHRIS            LOPEZ                    CA     90015334596
3531B94AA8B16B   CARILYN          BUNPAI                   UT     90012789400
3531B95975B393   GHUFRAN          AMER HAMMOOD             OR     90010259597
3532125A191584   VANESSA          VELEZ                    TX     90008942501
35321A11454165   AMY              UNDERWOOD                OR     90002630114
35321A3288B137   JOHN             ANDREASEN                UT     31068080328
3532265555598B   SVAY             SCOTT                    CA     90010786555
3532371294124B   DIANNNA          PATTERSON                PA     90005207129
3532386757B639   HAYWARD          BANKS                    GA     15014928675
3532396A551382   JASON            TYNER                    OH     90006499605
3532397698B16B   JODIE            MONTES                   UT     31004039769
3532591577B425   MICHELLE         BENNELT                  NC     11086829157
35326385A5B344   ALEBERTO         MENDOZA                  OR     90012763850
3532656542B871   CESAR            RODRIGUEZ                ID     42097145654
353267A7647931   DANIEL           HOLSTON                  AR     25019877076
35326AA464B521   LYDELL           CALHOUN                  OK     90010990046
3532725575B52B   PATRICICA LEAN   ALBERT                   NM     90006792557
3532945374124B   MICHAEL          HIPKISS                  PA     90014684537
3532B393455972   GERARDO          GONZALEZ                 CA     90013253934
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3532BA55A41277   DANA           CONTI                      PA     51081360550
35331281A41258   BEN            WARE                       PA     90012722810
35331A26961963   VIRGINIA       LOPEZ                      CA     90010110269
3533224678B16B   KEVIN          LEE                        UT     31026182467
35332AA127B639   FELECIA        JONES                      GA     15051610012
3533318728B16B   ANTHONY        SINE-DAMATO                UT     90002101872
3533364284B281   LYNDA          WRIGHT                     NE     90012076428
35333879172B76   VERONICA       DOMINGUEZ                  CO     33056188791
3533482A141277   DAMITRA        PENNY                      PA     51009488201
35334A32791584   STEPHANIE      RAMOS                      TX     90010780327
3533517934B275   DEBORAH        ABRAM                      NE     90009151793
3533527385598B   SAMUEL         SALAZAR                    CA     90014102738
3533582AA91584   ROBERT         GARCIA                     TX     90014668200
35335847654B9B   ROSA           EUBANK                     VA     90005888476
35335A4677B639   LAKISHA        BEASLEY                    GA     15009920467
35335A47254165   ANTONIO        GONZALEZ                   OR     47066150472
35336138A5B393   MITCHELL       ROGERS OBRIN               OR     90010271380
3533624885B344   JASON          LUCZAK                     OR     90009102488
3533659725598B   LUIS ANTONIO   GOMEZ                      CA     90003995972
35336A21A2B871   KATHRYN        WURTZ                      ID     42012340210
353373A5A91371   BELLA          ROE                        KS     90009993050
3533842845B344   CESAR          GARCIA                     OR     90013124284
3533857442B835   SHAYLA         HUFMAN                     ID     90005675744
3533913875B344   AMELIA         CHAVEZ                     OR     90006541387
3533B838791584   CARLOS         FIERRO                     TX     90004368387
35341A5794B275   DAVID          ADAMS                      NE     27056410579
35342A42154165   DWANNA         TAPIO                      OR     90002630421
3534324387B492   MARK           PRATT                      NC     11015112438
3534325947B639   KAMISHER       SUMBRY                     GA     90005602594
353437A825598B   JERILYN        YOUNG                      CA     90012917082
353437A9A41285   MATTHEW        CINDRICH                   PA     90014497090
3534382514B275   RICHARD        ROSAS                      NE     90015358251
35343A9A541258   STEPHANOS      MAVROIDES                  PA     90003250905
35344144A4B544   EMILY          MARTINEZ                   OK     90002991440
3534555495B52B   CHRISTOPHER    WILLIAMS                   NM     90011125549
3534571452B87B   CLAUDE         BAHATI                     ID     90015087145
353458AAA8B166   ERNESTO        VAZQUEZ                    UT     31086658000
3534629478B273   TRISHA         ODELL                      VT     90015352947
3534674342B871   JONATHAN       SNYDER                     ID     90001867434
35346A9194124B   JAMES          OBRYAN                     PA     90012940919
353475A3547931   PATRICIA       STOUT                      AR     90008705035
3534763612B87B   PATRICK        O BRIEN                    ID     42075306361
3534781487B449   TINA           JARRETT                    NC     90013918148
3534873217B639   MARISSA        KNOWLES                    AL     90015107321
35348778A5598B   MARGARITO      RIVAS                      CA     90015127780
353493A9A47931   FELICIA        BROWN                      AR     90004643090
35349A1125B344   SALVADOR       HERNANDEZ                  OR     90011730112
3534B956755972   DANIEL         AGUILAR                    CA     48032709567
3534B958341258   MICHAEL        COYLE                      PA     90010689583
3535152467B471   IRMA           DEJUAN                     NC     90010285246
353516A8291891   HEATH          HALL                       OK     90012726082
3535174364B275   JEANETTE       FENNER                     NE     90004777436
3535297684B281   MARIA          ANTONIO-MATEO              NE     27007209768
353534A5461963   CARMEN         RAMIREZ                    CA     90009254054
3535389A72B923   STEPHANIE      CERVANTES                  CA     90012488907
35354592A55972   RUBEN          HERNANDEZ                  CA     48084285920
3535544A77B639   JAKEITHA       MCCRAY                     GA     90014824407
3535648264B275   CHRISTINA      TOUCHSTONE                 NE     90015244826
3535661565B52B   ALEJANDRA      QUEZADA                    NM     35082916156
3535714255B344   MIGUEL         ARROYO                     OR     90013221425
35357194883B74   MICHAEL        WOODS                      NM     90012781948
3535769A94B281   LYNETTE        BROWN                      NE     90011446909
3535824377B492   JARRET         LIPSCOMB                   NC     11039092437
3535833615B393   GONZALO        CRUZ-GUTIERREZ             OR     44562453361
3535925695B344   HUQUI          ALVARADO                   OR     44500182569
3535B414455972   EVELYN         RIVERA                     CA     90014964144
3535B749947931   NATASHA        WESTENDORF                 AR     25085827499
3535B96722B87B   FRANCES        JOINER                     ID     90010679672
3535BA41A2B871   CINDY          FORRESTER                  ID     90013290410
3536172A47B449   ISIDOR         OLEA-MOCTEZUMA             NC     90011697204
3536182137B425   SALVADOR       ZAVALA                     NC     90015308213
353618A8841258   THOMAS         MATELA                     PA     90013098088
35361A6248B16B   GEORGE         JONES                      UT     90013460624
3536284982B871   LEE            YATES                      ID     90007448498
35363A1527B639   CONNIE         MATSHALL                   GA     90004750152
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35363A88191371   SCHONTELL    DONNELL                      KS     29085880881
3536497425B52B   MARY         JAQUEZ                       NM     35074749742
35364AA232B871   TRENTON      BOWNE                        ID     90015280023
3536575118B147   MARIA        LOPEZ                        UT     31054397511
3536777322B87B   ROSANNE      SAIZ                         ID     42005507732
3536818AA2B268   TRACI        NOLEN                        DC     90002401800
3536B64A291371   JOSE         VARGAS                       KS     90014726402
35371A85261963   FREDRICK     BURBANK                      CA     90006620852
35372583A4B281   BRIANNA      GATUS                        NE     90007635830
3537383714124B   MARGUERITE   FLEMING                      PA     51092648371
3537383964B275   JENNIFER     NUDING                       NE     90013478396
35373A8345598B   DIANA        SANCHEZ                      CA     90005540834
3537457A931424   GUADALUPE    DELACRUZ                     MO     90009875709
353746A2641277   JENEE        OLIVER                       PA     90011136026
3537473168B166   CARL         TUKE                         UT     31023987316
353747A1991831   JUNE         RIVERA                       OK     90008857019
353754A924B281   SHANNON      PEEBLES                      NE     90010234092
35375697A47931   NERA         JIBAS                        AR     90014866970
3537576457B639   QADEVA       FRYE                         GA     15050587645
3537597237B492   DAN          GAUSE                        NC     90013319723
35375A8178B16B   TIFFANY      QUIBELL                      UT     90013290817
35376296A55972   ANTHONY      TRUJILLO                     CA     90010992960
3537676A38B164   CHERYL       BAGGS                        UT     90000837603
353767A7631424   ROMEO        MONTEZ                       MO     90014627076
35376A63154151   EMILEE       ELLIOTT                      OR     47025060631
3537711175B344   TONY         RIVERA                       OR     90005601117
35378339A2B87B   JAKE         COTTRELL                     ID     90009963390
3537853458B16B   ROSENDO      MELENDREZ                    UT     90011175345
3537881385B344   GERALD       HAGMAN                       OR     44521418138
3537897295598B   JOHN         XIONG                        CA     90012419729
3537B33972B835   CHARLES      FERDIG                       ID     90012253397
3537B455291232   JESSICA      PATTERSON                    GA     90006024552
3537B49362B871   STEPHANIE    HOLMES                       ID     42079604936
3537B526591891   SHAWNTA      VENSON                       OK     90011865265
3537B78425599B   TORRES       MONDOZA                      CA     90012657842
35381325672B76   MERILYNN     WALDMAN                      CO     90002983256
3538142A785943   LISA         CROWE                        KY     90014624207
3538148267B449   EJUP         MYSTAFA                      NC     90006834826
3538177735B344   CHRISTINE    JUPP                         OR     90014687773
353819A3555972   HECTOR       VALLEJO                      CA     90011109035
3538249A55B393   PALOMA       VALEZUELA                    OR     44546424905
35382733972B36   BRYAN        COOK                         CO     33074267339
3538293A35B344   MUSTAFA      HASSAN                       OR     44590939303
35382AA915B52B   MARIAELENA   SANCHEZ DE MARRUFO           NM     35019290091
3538312827B425   JAMES        SHRURONE                     NC     11078161282
353832A525598B   CARLOS       BLANCO                       CA     49076002052
3538331A44B569   NAILA        GARCIA                       OK     90010663104
3538351A85B393   DAYNA        SANDERS                      OR     90012575108
35383A3824124B   SHARIECE     SCOTT                        PA     90011980382
35383A96891371   ALONZO       WILLIAMS                     KS     90010820968
3538423854B281   CHERI        SNELL                        NE     90014692385
3538466897B471   CHRIS        KIRKLAND                     NC     11086826689
35384A4685B52B   ROSARIO      BARRAZA                      NM     90005820468
353851A2491891   JESSICA      BENEFIEL                     OK     90007051024
3538577395B52B   MATTHEW      REID                         NM     90014197739
35385A1637B639   LENN         WASHINGTON                   GA     90006010163
353868A125B156   JASMINE      THOMAS                       AR     23013718012
35386A49454165   HEIDI        CHESSELET                    OR     47082140494
35387277A4B281   REX          JONES                        IA     90014852770
35387626A7B449   BRITTANY     ACKER                        NC     90006766260
3538815655B52B   CRISTINA     MISKOWIZZ                    NM     90010461565
3538834A791563   LIDIA        POBLANO                      TX     90000143407
3538877665B52B   CRISTINA     MISKOWIZZ                    NM     90010467766
3538894594124B   DANA         WILLIAM                      PA     90014729459
35388A18554165   NONA         CAMACHO                      OR     90014820185
3538951174B275   TERRY        LARSON                       NE     90005695117
3538953669125B   ALLISON      MCCORD                       GA     14509075366
353897A2491831   RICKY        BLEDSAW                      OK     90011577024
3538B63725B393   JAMES        JACKSON                      OR     90012486372
35391599A91563   YAZHID       MONTEJANO                    TX     90013175990
3539167597B639   TAKIA        WATSON                       AL     90012286759
3539214655598B   OMAR         ALGHAZALI                    CA     90014151465
3539325A67B436   MANUEL       PLASCENCIA                   NC     90009522506
353946A935B393   ZAHID        ORTEGA                       OR     44579386093
3539565745B52B   STEVE        SANCHEZ                      NM     90007406574
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3539566115B156   ELBERT       DAVIS                        AR     90002046611
35395A76391371   ADAM         GROSS                        KS     90015550763
3539621378B16B   MARIA        HINOJO                       UT     90014162137
35396246A91563   MARIA        MOJICA                       TX     75065112460
3539738564124B   DOLORES      COSOL                        PA     90014323856
3539769875B344   GEORGE       SPELMAN                      OR     90013216987
353981A148B16B   ROSA         LOPEZ                        UT     31085861014
35398227A54165   LEVI         URTON                        OR     90012962270
3539868468B166   RACHEL       POWELL                       UT     31062286846
3539876167B492   KRISTEN      DAGLEY                       NC     90014147616
3539878415B393   KENYATTA     KINNEY                       OR     44560807841
353987A4141258   JOSEPH       YORK                         PA     51001977041
35399625A31424   ANICSSA      LOWERY                       MO     90010896250
3539B4A6491371   ANDREA       RANDLE                       KS     90014714064
3539B55882B871   ESTELLA      RASS                         ID     90002475588
353B1161151594   PANCHO       PANTORA                      IA     90015121611
353B11A5391831   PATRICIA     OTOMEWO                      OK     21072091053
353B128A15B545   TANYA        ESTRADA                      NM     90005732801
353B1682591563   CLARIZA      JIMENEZ GARCIA               TX     90013236825
353B176615B393   MICHELLE     DEWEY                        OR     44513187661
353B1893647931   CATHERINE    CARLOCK                      AR     90015118936
353B19A1791831   BETO         CHAVERO                      OK     90012479017
353B2232391831   ROGELIO      DE LIRA                      OK     90014182323
353B267A15598B   MICAELA      GARCIA                       CA     90002066701
353B2717584326   NAYELI       CRUZ                         SC     90014447175
353B275687B492   MARCO        AGUILERA                     NC     90013187568
353B276A455972   DEREK        CARTER                       CA     90012527604
353B2968A2B835   JOURDAN      SALINAS                      ID     90010229680
353B3133191563   VERONICA     WATKINS                      TX     90006261331
353B324624B281   MARTHA       GUZMAN                       NE     27098152462
353B342697B449   BEATRIZ      RAMOS                        NC     90011694269
353B3798A5B156   CLEO         PORTER                       AR     23084897980
353B4666193782   ANGEL        HUNT                         OH     90011426661
353B468817B492   SATORIA      GARCIA                       NC     90001216881
353B483944124B   LISA         CLARK                        PA     90010888394
353B5A38A7B492   NASHUA       CRISE                        NC     90011060380
353B6265255936   JESSYCA      PINEDO                       CA     90015202652
353B651467B639   TAVARA       LOWE                         GA     90013155146
353B655765B338   SARA         SANCHEZ                      OR     90009455576
353B669412B871   JEANNIE      MORSE                        ID     90000806941
353B683955B344   MYCHAL       AMELL                        OR     90014558395
353B6961791831   JORGE        MONTELONGO                   OK     90008649617
353B7476691563   CHARLENE     MARTINEZ                     TX     75001724766
353B754915B344   LAURA        MULLER                       OR     90013115491
353B772237B639   ARNESIA      SMITH                        GA     90014767223
353B8233955972   RAYMOND      ARMDRUSTER                   CA     90009832339
353B94A4361963   SAMANTHA     PEREZ                        CA     90011994043
353B95A9391584   JESSICA      ORTIZ                        TX     90011095093
353B964765B344   AMBER        BRANCH                       OR     90013336476
353B9924355936   MARIA        RAMOS                        CA     49067099243
353B9947691371   JASE         HERNANDES                    KS     90003539476
353BB82865B344   YOLANDA      CHAVEZ                       OR     90014558286
353BBA65776B47   RACHEL       SMITH                        CA     90008610657
3541115884B275   JESSE        SMITH                        NE     90010331588
35411461A91563   NORMA        PACHECO                      TX     90014424610
35411A79447931   FELICIA      REED                         AR     25000340794
3541262985B393   RONAL        SCHAFFNER                    OR     90014986298
3541275718B16B   CHRISTINA    BARRERA                      UT     31029107571
35412A7812B221   VANESSA      THOMAS                       DC     90008700781
3541354A65B393   CAROLIN      CHAMBER                      OR     90013085406
3541386155B393   FELIP        CRUZ                         OR     90002728615
3541422272B87B   APRIL        HAMMONS                      ID     42045062227
3541429A176B47   OFELIA       JAMBEAU                      CA     90001212901
354145A3233649   CHRISTIAN    GARVIN                       NC     90014705032
3541467842B871   OSHEA        ABNEY                        ID     90015006784
354147A3951594   JIM          BURK                         IA     90014117039
3541491848B16B   CODY         CHRISTIANSON                 UT     90012359184
35414AA715B156   REBECCA      JOHNSON                      AR     23077270071
35414AA987B471   TISA         RORIE                        NC     90010050098
3541823717B639   LATASHA      MCCRAY                       GA     90010352371
3541825A941258   DONALD       LEISTNER                     PA     90006492509
3541856864B547   SHELLY       WATKINS                      OK     90012445686
3541946A55B344   KEISHANNA    BRICKLEY                     OR     90007634605
3541991662B87B   SARA         SERRATO                      ID     90001809166
3541B41215B52B   RANAE        FORD                         NM     35064364121
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3541B71A272B76   FERNANDO      GONZALEZ                    CO     33089747102
3541B99923B132   DESHANTA      LINDSAY                     DC     90003279992
35422A31291584   EDWARD        ANTUNEZ                     TX     90013010312
3542334A441285   WILLIAM       VINCZE                      PA     51056333404
3542343128B16B   WILLIAM       CARTER                      UT     90015094312
354237A635598B   STEVEN        VALENCIA                    CA     90015007063
3542392397B639   BRIANA        WILLIAMS                    GA     90014919239
3542448275598B   ALEXIS        MARTINEZ                    CA     90013004827
3542483169125B   KEVON         FUTCH                       GA     14559258316
3542522315598B   WENDY         LEMUS                       CA     90009082231
3542567232B87B   NICK          SEFEROS                     ID     90010966723
35425713A2B871   MALERIE       SMITH                       ID     90009097130
3542596372B87B   KATHRYN       EAVENSON                    ID     90014319637
35426335A3B38B   PORSHA        DANIEL                      CO     90008793350
3542651A172B76   JOANNE        STRANG                      CO     33092385101
3542672924B281   JAVIER        FLORES                      NE     90013207292
35426939A91831   LAKESHA       HUNT                        OK     90014759390
3542754767B425   ANTHONY       SHEPHERD                    NC     90001025476
35427A37141258   MICHELLE      UNGLAUB                     PA     51035430371
3542875232B87B   ADIDJA        MULENDELA                   ID     90012437523
3542885A17B639   CHERWANDA     JONES                       GA     15073228501
35428A2295B344   NASIRDUDDIN   SHAIK                       OR     90012590229
3542928575B545   JOHN          PEREZ                       NM     90008382857
3542951915B393   MATTHEW       INGRAHAM                    OR     44577595191
35429868A91891   TAMARA        WILSON                      OK     90011048680
3542B21A37B449   AL            MORA                        NC     11058442103
3542B432291891   KEVIN         GENN                        OK     90005334322
3542B5A182B871   BOBBY         TRICE                       ID     90014715018
3542B94297B436   CHRISTINA     KNOX                        NC     90007769429
3542BA1547B425   STEFANIE      KEEVER                      NC     90007710154
3542BA1A44B534   JEFFREY       HYDEN                       OK     90004390104
3542BA9A35B344   JEFFREY       JACKS                       OR     90014000903
3542BA9A68B16B   DEVONA        COVEY                       UT     90002090906
3543122A154165   LINDA         BENNETT                     OR     47081152201
3543126527B639   TIMOTHY       PATTON                      GA     15086822652
3543168465B344   RAYMOND       BOEN                        OR     44548656846
35432541A7B639   ERICA         BELL                        GA     90014715410
35432A63991371   JOSE          HERNANDEZ                   KS     29051890639
35433112A4124B   ERIC          COOK                        PA     90014081120
3543346992B835   KEVIN         BECKER                      ID     90002364699
3543599787B449   ANTHONY       FULWILEY                    NC     11059249978
35436A4484B592   CRYSTAL       FOWLER                      OK     21513940448
3543753A255972   ROBERTO       SANCHEZ                     CA     90014265302
35437885A4124B   MICHELLE      PARAS                       PA     90005028850
354379A2431424   LAURA         HOTCHKISS                   MO     90012519024
3543832885B393   JAMIE         MENDEZ                      OR     90001103288
354397A828B16B   RICARDO       RIOS                        UT     90015117082
3543B89975598B   BRYAN         EVANS                       CA     49088958997
3543BA32447931   JASON         PETERSON                    AR     25077820324
3544144A95598B   ALEX          SALMERON                    CA     90007304409
354415A152B871   FABIO         CORONADO                    ID     90014715015
354421A182B871   AARON         CHAMBERS                    ID     90015351018
3544321227B492   JAMES         DAVIS                       NC     90014852122
354435A5891584   MICHAEL       TORRES                      TX     90010675058
35443A9912B835   STACY         WARD                        ID     90011190991
35444A33891584   LUCIA         CARREON                     TX     75035790338
354451A614B54B   QUINTON       PRINCE                      OK     90010461061
3544547317B492   JOHN          SHIPTON                     NC     90014604731
3544574927B639   MARIO         RUSSELL                     GA     90011307492
3544591812B835   SALVADOR      MAURICIO RAMIREZ            ID     90012159181
35445A28691584   ROCIO JOE     HUEREQUE                    TX     90004530286
3544634675B393   BOBBY         TITUS                       OR     90002953467
3544644218B16B   DENNIS        WIEGMANN                    UT     31011174421
354474AA941258   MARILYN       MANNING                     PA     51088264009
3544859AA2B871   ZACHARY       CROOKS                      ID     90002045900
3544893995B393   SAMUEL        SALMERON                    OR     90015299399
3544969445B344   THOMAS        DIAZ                        OR     90015126944
3544B11152B87B   MICHAEL       BURKE                       ID     90014811115
3544B28995B393   RYAN          HASKINS                     OR     44512702899
3544BA33891584   LUCIA         CARREON                     TX     75035790338
3544BAA3A41258   TIMOTHY       SMITH                       PA     90007080030
35451A3364B275   DIEGO         LARES                       NE     90014990336
3545213212B835   GERALD        HODGES                      ID     42025351321
3545213A98B16B   DIANE         HARLEY                      UT     90004811309
354525A955B344   EMMANUEL      GARCIA BARAJAS              OR     90010855095
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3545291482B87B   MARIA        VILLALOBOS                   ID     90012829148
3545298926B264   JOHN L       EADIE                        AZ     90014039892
3545326114124B   MYRA         WILCOX                       PA     51080962611
354532AA641285   DENA         STEELE                       PA     51070082006
35453A84172B36   LUANN        DAY                          CO     33016960841
3545629382B871   LUIS         GRANILLO                     ID     42058572938
3545629AA5B52B   MARK         OWENSBY                      NM     35051222900
3545677657B639   ELIZABETH    CAMACHO                      GA     90003797765
35456A13191891   TRICIA       PARKER                       OK     90013630131
35457662A61963   RAQUEL       PEREZ                        CA     90010486620
35457A55391831   METRIA       SMITH                        OK     90011180553
3545848924B281   MARY         DAVENPORT                    NE     27056854892
35459A1565B344   JOSE         NAVA                         OR     90013690156
3545B1AA141258   DONNA        CROSBY                       PA     51038271001
3545B328A4124B   VINCENT      KELLY                        PA     90011493280
3545B611191584   ARIEL        CARMONA                      TX     90011656111
3546126974B281   ANTONIO      GUERRERO                     NE     90008382697
3546147A355936   SERGIO       RIVERA                       CA     49047284703
3546173625B393   SEAN         KEARNEY                      OR     44530257362
354629A4331424   JOHNNY       THOMAS                       MO     90011989043
35463252476B58   RUBEN        RODRIGUEZ                    CA     90000802524
3546357665B545   MILTON       CORODVA                      NM     90013175766
354644AA37B492   ANGELA       NEESE                        NC     90014584003
3546556414124B   DAWN         BUNDY                        PA     51000175641
3546566667B471   DARNELL      SIMPSON                      NC     90010656666
3546613A641285   CHRIS        GATTO                        PA     90003971306
3546694915B52B   CHAMRON      MARTIN                       NM     35046549491
3546739324B281   JEREMIAH     WALL                         NE     90010423932
35467439A91831   LATOYA       GOUDEAU                      OK     90014184390
3546851985B156   N            KING                         AR     23029985198
3546916535B52B   JOHN         OLES                         NM     90014931653
354697A1961963   MUSTAFA      AHAMADAZET                   CA     90010487019
3546B15387B639   MONICA       CULPEPPER                    GA     90010381538
3546B723891563   ARMANDO      MONTEZ                       TX     90002107238
3546B77398B16B   ISAAC        TIRADO                       UT     90012587739
35471297A91371   SALLY        ELROD                        KS     29011772970
3547173675B52B   ERIC         JARAMILLO                    NM     90008287367
3547198AA91891   PAYGO        IVR ACTIVATION               OK     90006159800
35471A26891563   DOMINIC      BRICENO                      TX     75027310268
35471A44A5598B   GRISELDA     CERVANTES                    CA     90011520440
354742A7A8B16B   GUILLE       GONZALEZ                     UT     90009362070
3547441547B449   BRANDY       CATES                        NC     90010474154
3547538237B639   TASHA        EVANS                        GA     90012173823
35475547A5B344   SAMANTHA     GAFFKE                       OR     90009485470
3547564998B16B   JENNIFER     MEJIA                        UT     90015316499
3547615517B395   HILDA        MENSAH SABLA                 VA     90000181551
3547633A14124B   ROBERT       FONNER JR                    PA     51014153301
35476489A5B156   CLARESSA     DAVIS                        AR     23008244890
354766A524B275   JENNIFER     ROUSEAU                      NE     90014226052
35476A48541285   MAURICE      GLASS                        PA     90005630485
3547778A161972   MICHAEL      ROCCO                        CA     90005037801
3547797115B393   ANDRES       AYALA-GALVAN                 OR     44560369711
3547819685598B   EBONY        LAWSON                       CA     90003981968
35478286A7B471   WAHTIKA      SMITH                        NC     11017792860
35478A44654165   MARIA        FARNSWORTH                   OR     90011090446
3547928595B344   MELODY       HERLOFSON                    OR     90013672859
3547B17947B492   JERRY        REID                         NC     11019931794
3547B454641285   CAROLYN      VAVRO                        PA     90014514546
3547B455691371   KEVIN        MOORE                        KS     90014814556
3547B85134B281   IRMA         NUNEZ                        NE     27013078513
35481531A8B166   MICHELLE     JENSEN                       UT     31062305310
3548258428B16B   LINDSEY      NEVILLE                      OR     31074895842
3548259182B835   ANNMARIE     BELLEZZI                     ID     90003505918
35483812A5B344   ISABELL      OPEZ                         OR     90007888120
3548414525598B   LUIS         BARRIEL                      CA     90004331452
3548488364B275   ANGELA       CUNNINGHAM                   NE     90013488836
354871A595B393   FNAN         FASSIL                       OR     90010081059
3548769315B52B   ABRAHAM      ORTIZ                        NM     35082206931
35487A6315598B   DIANE        WESTERBERG                   CA     49089130631
3548821657B492   TINA         HUFFSTICKLER                 NC     90013872165
35488A74672426   MARY         GROOMES                      PA     51083640746
35489175A5B52B   JESUS        ANGUIANO                     NM     90014431750
354892A7641258   DORIAN       GRAY                         PA     90013812076
3548966354B275   EVA          HOUCK                        NE     90011206635
35489A6A241277   STAISEY      ZUZAK                        PA     51084480602
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3548B244A41258   JOSEPH        CONSOLO                     PA     51095152440
3548B26717B425   KYXANA        LEACH-CRAWFORD              NC     90013282671
3548B479A91831   RALF          SPRENG                      OK     21089984790
3548B695161963   KYZAYA        MITCHELL                    CA     90010916951
35491689A8B16B   DEDE          FLORES                      UT     90004066890
35492626A7B449   DEMONICA      MEALER                      NC     11007816260
3549288138B16B   JOHN          WISNER                      UT     90014518813
35492A87991544   LIZETH        GARCIA                      TX     75091570879
3549337157B492   BRANDON       MAGNESS                     NC     90013273715
3549362272B835   TIMOTHY       HEAD                        ID     90013526227
3549382887B639   ENRIQUE       CAMACHO                     GA     90003798288
3549448658B166   JAMAL         GOODE                       UT     90004194865
3549465A791563   ADAM          REYES                       TX     90012286507
354948A7154165   KIMBERLY      PARDEE                      OR     90010518071
35494A5785B393   SEAN          JORDAN                      OR     90009860578
354954A425598B   RAUL          ORTEGA                      CA     90013094042
3549564162B835   JANA          HUMPHERYS                   ID     42048646416
354956A2854165   DANIEL        HANSON                      OR     90010686028
3549583A941277   GEORGIA       REILLY                      PA     51042718309
3549593277B492   KATHRYN       KIRKLAND                    NC     90012129327
3549612A22B87B   ANGELINA      TAPIA                       ID     90015161202
3549639297B429   THRUMOND      THOMAS JR                   NC     90003143929
35496531A8B166   MICHELLE      JENSEN                      UT     31062305310
3549689255B52B   CHRISTOPHE    GARCIA                      NM     35009678925
3549725357B425   YANA          CARDONA                     NC     90012142535
3549747A761987   WILLIAM       DUPONT                      CA     90009564707
354975A3A5598B   JULIA         ENRIQUEZ                    CA     90001985030
3549825688433B   GERALDINE     CONNOR                      SC     90008602568
3549862954124B   JAMES         BROWN                       PA     90013916295
3549B52122B257   MAYNOR        ROMERO                      DC     90003285212
3549B811651347   JOSE          GARCIA                      OH     90010888116
3549B967A72B63   MARTHA        DIAZ MARTINEZ               CO     90013519670
354B133535B344   DALIA         ESPINOSA                    OR     90011993353
354B1514191584   MARTIN        ZAMARRIPA                   TX     75081535141
354B229549155B   MIGUEL        ARELLANO                    TX     90006562954
354B2582855972   ERICA         DE LIRA                     CA     90015105828
354B265A38B16B   TRAE          CHAPPELL                    UT     90007816503
354B2785955936   ANALEE        GONZALEZ                    CA     90013827859
354B332874B281   ECTOR         MARTINEZ                    NE     27070173287
354B333468B16B   TIMOTHY       MCCONNELL                   UT     90007943346
354B372962B871   KIM           MACHADO                     ID     42071867296
354B39A244124B   LORI          STOKES                      PA     51090679024
354B417732B87B   VICTOR        GANIAIEANY                  ID     90012721773
354B4273355972   PAUL          ZUNIGA                      CA     48027052733
354B433468B16B   TIMOTHY       MCCONNELL                   UT     90007943346
354B4989954165   VALARIE       HOBAN                       OR     47012309899
354B4A83155936   RUBEN         ROMERO                      CA     49033920831
354B5231261945   MERRILEE      HODGES                      CA     90002682312
354B5345291232   SADE          VENSON                      GA     14510623452
354B53A5154165   SAM           WOODRUFF                    OR     90012363051
354B549552B871   RICHARD       MATA                        ID     90014824955
354B55A8754165   CHRISTINA A   CLARK                       OR     90010785087
354B623762B835   MEGAN         GALLIVAN                    ID     90009842376
354B7541841285   RENEE         COPE                        PA     51084595418
354B79A9791584   ANTONIO       CORTEZ                      TX     90014669097
354B845A591831   NICHOLAS      ESTES                       OK     90013044505
354B846325B393   ROSALVA       MELCHOR                     OR     44559554632
354B8814A2B87B   THOMAS        FREINWALD                   ID     90014738140
354B916A355936   LUCIA         FREITAS                     CA     49039101603
354B9227A54165   LEVI          URTON                       OR     90012962270
354B9551461963   RAQUEL        PEREZ                       CA     90010485514
354B964895598B   DENISE        AKBAR                       CA     49078996489
354B967148B16B   ESTHER        ROBERTSON                   UT     90014496714
354BB74645B58B   MARK          BALDUCCI                    NM     90010467464
354BB81A855921   ARMANDO       TORRES                      CA     90011388108
354BB94A991584   EDUARDO       DELGADO                     TX     90002569409
354BB982447931   CHASE         HORTON                      AR     90009569824
3551169255B52B   WALTER        SOLIS                       NM     90008606925
3551244AA91563   SYLVIA        RUIZ                        TX     75004804400
3551269384B275   JANET         GARCIA                      NE     90012316938
3551331254B281   DYNESHA       JOHNSON                     NE     90013753125
3551377662B871   MIGUEL        NUNO                        ID     90010967766
3551414157B425   ERICK         HERNANDEZ                   NC     90015231415
35514AA498B166   ANDREW        CLARK                       UT     90006250049
3551537822B871   TRAVIS        NIELSON                     ID     90013383782
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355154A884B275   LEKISHIA      WILLIAMS                    NE     27059874088
3551568615B393   ALEIS         WRIGHT                      OR     90012006861
3551594482B87B   CHRISTOPHER   KREMER                      ID     90014409448
35515A4848B16B   NICOLE        ROBERTS                     UT     90000120484
35516391A61963   IGNACIA       RODRIGUEZ                   CA     46027353910
35516538A7B492   TONI          CHURCH                      NC     90001105380
35516A5A791831   ELIZABETH     LOPEZ                       OK     90011580507
35517315A4B281   MARSHA        PITTMAN                     NE     90010203150
355177A865B344   TANGAZUAN     TELLEZ                      OR     90015127086
35517A9117B425   DOUGLAS       SILER                       NC     90013170911
3551815784B281   ERIK          PALAFOX                     NE     27061041578
3551882512B87B   ALFRED        ARAGON                      ID     42027838251
3551935615B393   KAYLEN        BRIEN                       OR     90005483561
3551B415A8B16B   LIZBETH       CASTANEDA                   UT     90013404150
3552158A87B639   JAMES         JONES JR                    GA     90012245808
35521A6415B393   DAVIER        TORRES                      OR     90011640641
3552239824B275   SAMUEL        GUTIERREZ                   NE     90012723982
35522637A4124B   KAREN         WARMAN                      PA     90014096370
355227A322B835   JONI          MORRIS                      ID     42005307032
3552282A97B471   TASHA         MILLER                      NC     90001088209
3552333885B393   ANTHONY       MACCARIO                    OR     44591133388
3552415665B156   RICKY         BURNETT                     AR     90010511566
3552459917B471   SHUNTA        DANIELS                     NC     90005565991
3552512455B393   CARRIE        GREEN                       OR     90015181245
3552514332B871   KARRIE        BAKER                       ID     42013181433
3552629955B344   GUSTAVO       CANCHOLA VAZQUEZ            OR     90012392995
3552629A725632   GEORGE        CHAVEZ                      AL     90015342907
355267A7631424   ROMEO         MONTEZ                      MO     90014627076
355275AA25598B   SALVADOR      VENTURA                     CA     90010115002
35527994A47931   ERICA         MURPHY                      AR     25003099940
3552878A155936   JOSE L        ZAMORA                      CA     90011877801
3552945947B449   ERIKA         GARCIA                      NC     11057094594
3552B339791371   EARLENE       EDDY                        KS     90009513397
3552B744491232   TERRI         LOVE                        GA     14504357444
3552B76A14124B   MICHAEL       DOWDEN                      PA     51032167601
3552B84417B449   ANASTASAIA    RYSKAMP                     NC     11087688441
3552BA3422B87B   KERRY         NELSON                      ID     42091180342
3553113914B281   JEFF          COOPER                      NE     27035031391
355313A6391371   JUAN          GONZALEZ                    KS     90000113063
355314A8155936   FRANK         LOPEZ                       CA     49076024081
355324AA241258   STACI         PARKER                      PA     90009994002
3553342428B329   PAYGO         IVR ACTIVATION              SC     90012854242
35533A41391584   CLAUDIA       GARDEA                      TX     75067220413
35534687A47931   LACRECIA      SAMUELS                     AR     90014176870
35534A4118B16B   CHAD          MCCLOY                      UT     90014750411
35535799A61963   JACQUELINE    BOWLING                     CA     90001737990
3553579A37B639   NICHOLE       SLAUGHTER                   GA     90013347903
35535A8425B344   SEMISI        FONUA                       OR     90006160842
355367A422B871   MARK          JACKSON                     ID     90005077042
3553719735B344   JOHN          MACCORKINGDALE              OR     44587541973
3553738555598B   DOMIRA        JACINTO                     CA     49018383855
3553742977B639   LESLIE        WALKER                      GA     90013974297
355377A9247931   ELMBER        MAGANA                      AR     90008987092
3553831145B393   BYRON         HARRIS                      OR     90014783114
3553847717B471   DELMAR        VASQUEZ                     NC     90009944771
35538739A5B156   KINA          BURTON                      AR     23026777390
3553893388B16B   LEON          SHUMWAY                     UT     90012309338
3553B371355936   ROSE          REYNOSO                     CA     49011133713
3553B411247931   RICHARD       SIMON                       AR     90014074112
3553B6A9631424   RACHELLE      LEONARD                     MO     90004446096
3553B746455972   NATALIE       VALDIVIA                    CA     48044427464
3553B862491584   ELIDA         MARTINEZ                    TX     75005578624
355413A934B281   DEBORAH       WILSON                      NE     90007553093
3554177A52B87B   MARIAH        CASTRO                      ID     90013457705
35541A9A83B343   ROBERT        DREILING                    CO     33040420908
35542125A91891   JOE           FORD                        OK     90013451250
35543828A61963   BLANCA        GARDINI                     CA     90001788280
35543A44347931   LINDA         PROCTOR                     AR     90003390443
3554411622B87B   MOUSSA        FANGAMOU                    ID     90010961162
3554435595B344   JESUS         TRUJILLO                    OR     90011993559
35544378A2B871   PENNY         MCCALL                      ID     42074533780
35544A1A991584   EDGAR         LOPEZ                       TX     90014670109
3554554467B425   JACK          EYRICH                      NC     90008935446
3554566582B87B   JULIE         JONES                       ID     42054896658
3554569874B22B   MARIBEL       MINIZ                       NE     90002566987
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3554658A291891   RIP           OHLEY                       OK     90011985802
3554678A97B639   TIFFANY       GARY                        GA     90005967809
3554698522B835   JULIE         JACKMAN                     ID     42092289852
355489A3147931   COLLISTA      SHOELEN                     AR     25084429031
35549183A91831   REYNALDO      SANTOS                      OK     90011581830
3554958444124B   SUSAN         MARTELLI                    PA     51031425844
3554B72632B835   WAYNE         WALLIS                      ID     90014177263
3554B728A8B166   DAVE          DAHLBERG                    UT     90009137280
3554B73552B87B   JESSICA       JIMENEZ                     ID     42046087355
3554B78175B344   RICHARD       CANICH                      OR     90004257817
3555173135598B   LORENA        ROJAS                       CA     90014077313
355522AA32B87B   BARRY         BALLEW                      ID     42053872003
3555268984B281   MIGUEL        BARILLAS                    NE     90012126898
35553135A8565B   ANGELICA      MERCADO                     NJ     90011161350
3555364278B166   TINA          RAYLEY                      UT     90007116427
3555411AA43575   TIANDRA       SAZAMA                      UT     31070471100
355546A5791371   JULIO         AAME                        MO     90004166057
355549A4691584   BRANDY        GONZALEZ                    TX     90002699046
35554A5944B275   ROBYN         GILLIGAN                    NE     90012130594
3555529145598B   JENNY         LEOS                        CA     90005062914
3555558777B471   NANCY         GALIMI                      NC     11017795877
35555A51141277   JENNY         PINEDA                      PA     51047420511
35556118A31424   KAREN         TAYLOR                      MO     90012441180
3555683567B639   PATSY         MORRIS                      GA     90005178356
3555685755B393   DANYELLE      KNAPPER                     OR     44512628575
3555828772B834   JANET         WILLIAMS                    ID     42032812877
3555831354B261   CLINTON       PRESNELL                    NE     90012093135
3555859564124B   ZAKIA         JONES                       PA     90010175956
3555883817B639   SANDRA        HICKS                       GA     15041988381
3555B28A35B269   ERICA         ROBISON                     KY     90005832803
3555B51812B835   CHRIS         YOUNG                       ID     42067175181
3555B677654165   GRACIE        QUATIER                     OR     90014936776
3555B91A64B281   CLAUDIA       AGUERO                      NE     27009509106
3556116825B344   CINDY         DITTMER                     OR     44508341682
3556122694B281   EDITH         TELULE                      NE     27020792269
35561689A7B425   KRISTA J      BILLINGSLEY                 NC     90010626890
355618AA55598B   BRIGETT       RODRIGUEZ                   CA     49086068005
355624A2491563   JOANNA        SILVA                       TX     75048954024
35562A52254165   PRISCILLA     BURKHART                    OR     90000400522
35562A8437B471   PAUL          GLENN                       SC     90007600843
3556319AA91831   JAMES         RYON                        OK     90011581900
3556326A87B449   BRIGETTE      MASSEY                      NC     11037492608
355632A117B492   LATOYA        ORMSBY                      NC     90014932011
3556335815B393   ELLA          RUTH BURTON                 OR     44586323581
35564A92A7B449   ARLENE        ANGELES                     NC     90014710920
3556513464B559   ERNESTO       VAZQUEZ                     OK     90009441346
35565453A4B281   JOSE          SOLORIO                     IA     90014824530
3556548565B344   CRESENCIO     JIMENEZ M                   OR     44534254856
355657A342B87B   MELLISSA      CARR                        ID     90010327034
35567629A4B281   CARRI         NELSON                      NE     27020706290
3556775AA55972   VALERIE       ANALLA                      CA     90014317500
3556776415598B   JUAN          CHOVEZ                      CA     49073727641
3556776687B639   JASON         ZEIGLER                     GA     90013507668
3556782474124B   DANA          MAY                         PA     90000588247
3556789967B471   CARLOS        ESTRADA                     NC     90010118996
35567A5535B393   SAUL          MENDOZA                     OR     90014970553
35568AA752B835   CYRUS         CASE                        ID     90008430075
3557118728B16B   ANTHONY       SINE-DAMATO                 UT     90002101872
35571217A72B25   DIAMOND       PORTER                      CO     90003062170
3557171832B871   COURTNEY      RICHTER                     ID     90012917183
3557224144B275   DAVID         ABEL                        IA     90013962414
3557317424B281   LAROYCE       WESLEY                      NE     27005181742
3557323455598B   SHERRA        VALDEZ                      CA     49074802345
355735A9351382   ELIZABETH     REIFF                       OH     66093055093
3557425184124B   KAYLA         SMITH                       PA     90012112518
3557437A597B67   SARAH         DELANGE                     CO     90001283705
3557472275B344   ROY           CALDWELL                    OR     90011567227
3557549644B275   MICHELLE      BAKER                       NE     90014654964
3557568857B639   KATRINA       LEWIS                       GA     90011216885
35575A6182B871   ARON          HOLM                        ID     90009500618
3557639594124B   DAVID         LAW                         PA     90013963959
3557665955598B   ANAYELI       ARRIAGA                     CA     90014816595
3557682527B639   CHRISTOPHER   JOHNSON                     GA     90014018252
355773A994B275   CINDY         ANTHONY                     NE     27032983099
3557765245B344   GASPAR        QUINTANA                    OR     44546626524
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3557839827B436   JOSE          FUNES                       NC     90001523982
355794A394124B   MARCELLUS     HAMPTON                     PA     90014324039
3557951665B393   SAMAD         HINTON                      OR     90011685166
3557B524A91584   SANDRA        REYES                       TX     90004695240
3557B78817B425   BRIA          BENNETT                     NC     90011217881
3558133968598B   VANESSA       HUMBERT                     KY     90010403396
3558138AA4124B   WILLIAM       MOORE                       PA     90002633800
35582A19691584   WENDY         MONREAL                     TX     90014740196
35582A23791891   JENNIFER      GARRETT                     OK     90011000237
35582A2A451339   JASON         BUKER                       OH     66057010204
355832A1854165   BONNIE        GOLLIHER                    OR     47021482018
3558435864124B   EDWARD        GRAHAM                      PA     90014833586
3558485A155972   CANDELARIA    ROMERO                      CA     90014878501
35584A1637B639   LENN          WASHINGTON                  GA     90006010163
35584A49591942   MERCY         NDAMBIRI                    NC     17084220495
3558516635B52B   ANTHONY       CRAWFORD                    NM     90014441663
35585748A91563   FELIX         ESTRADA                     TX     90014257480
355862A7591891   NICHOLAS      HOBBS                       OK     90010552075
3558633458B166   GUILLERMO     SALAZAR                     UT     31002523345
3558686A52B87B   RAQUEL        OLDERA                      ID     90014558605
35586A45347931   ALAN          MORALES                     AR     90012850453
3558724617B639   CODY          HARDING                     GA     90009992461
3558743A497126   ALBERTO       MORALES MILLAN              OR     90006804304
3558757477B492   ALEXIS        HATTEN                      NC     90014605747
35587A44555936   NANCY         SANTATE                     CA     49011750445
3558915A354165   LINDA         BENNETT                     OR     90015021503
3558938A391891   CHRISTINE     HANKINS                     OK     21050593803
35589A2665B52B   GUILLERMO B   CHAVEZ                      NM     90005560266
3558B19A747931   ROBIN         GUYLL                       AR     90013231907
3558B22A591831   CHRISHANA     LOTTIE                      OK     90011582205
3558B993372B33   CARMENZA      UNGER                       CO     33016539933
3559142A955936   KAETA         BROWN                       CA     49053144209
355915A8741285   MICHELLE      SIMS                        PA     90004025087
3559226727B425   ELIJAH        KEELS                       NC     90012342672
3559371838B16B   APRIL         HAMBY                       UT     90014577183
35593A6917B449   ROMINA        ONOFRE                      NC     11036300691
3559435217B471   KEEONA        HEDRICK                     NC     11019303521
3559442522B835   MARIAH        THELEN                      ID     42000224252
3559475AA55972   VALERIE       ANALLA                      CA     90014317500
3559476175598B   REYANN        JIMENEZ                     CA     90012017617
35594A6955598B   CHRISHA       CHRISPENS                   CA     90013770695
35594A73391563   RICK          CUELLAR                     TX     90010210733
3559556253B132   BRANDON       NEWELL                      MD     90015365625
35595A57791371   JESUS         GONZALEZ                    KS     90007980577
3559616527B639   OKEVIA        MCKELVEY                    GA     90013311652
355965A8991584   STEPHANIE     GUTIERREZ                   TX     90013495089
3559676775B344   BENJAMIN      HOBBS                       OR     90014607677
3559724144B275   DAVID         ABEL                        IA     90013962414
3559737265B393   REGINA        KINAS                       OR     90006113726
355977A172B835   NICHOLE       HUGHES                      ID     90003517017
355983A464B275   ANGELIA       PATINO                      NE     90012253046
35599433A41258   RICHARD       CASH                        PA     51096024330
3559992988B16B   YVONNE        BEGAY                       UT     90010329298
35599A7148B17B   MATTHEW       ANDERSON                    UT     90007210714
3559B14947B492   CHARLES       HAYNES                      NC     90013041494
3559BA6A87B449   DONTARIOUS    BAKER                       NC     90014160608
355B1189A7B449   MARIA         GARCIA                      NC     11033481890
355B1A8A731424   JONELL        JONES                       MO     90014880807
355B2131854165   JARED         ANDERSON                    OR     90010521318
355B24A127B492   CHARLES       BREWINGTON III              NC     90006284012
355B2AA877B425   DANNY         RIVERA                      NC     90012770087
355B3363985835   GABRIEL       AZOULAY                     CA     46074173639
355B3987891563   ANABEL        PENA                        TX     90003429878
355B4157491563   PATRICIA      VALDERRABANO                TX     90013891574
355B439477B425   ANNDRIA       CHAMBERS                    NC     90008743947
355B43A1555936   ANA           MATAMBU                     CA     90012823015
355B4665791371   SHASHANA      OBERIE                      KS     90012256657
355B46A7591563   KC            DUTCHOVER                   TX     90012426075
355B483914B281   TED           GEHLING                     NE     27012848391
355B4979691584   ALBERTO       FALCON                      TX     90011659796
355B5177391831   ISHA          WHITE                       OK     21029331773
355B551194B275   JUAN          MERCADO                     NE     90011955119
355B578955B52B   DAVID         SUTTON III                  NM     90013617895
355B5986231424   SEPTEMBER     MILES                       MO     90001359862
355B6124455936   SOFIA         HERNADEZ                    CA     49008301244
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355B634A554165   CHERI        BLACK                        OR     90003643405
355B6367872B76   SERGIO       ESPARZA                      CO     90006713678
355B698A45B344   DECHEN       DOLKAR                       OR     90014839804
355B6A6897B492   CHARISSA     RECKERS                      NC     90014450689
355B711152B87B   MICHAEL      BURKE                        ID     90014811115
355B747562B87B   VINCENT      TRYON                        ID     90010814756
355B7A63441285   KAREN        DREWERY                      PA     51088980634
355B8131854165   JARED        ANDERSON                     OR     90010521318
355B842815598B   JOHN         PAREDES                      CA     90011064281
355B85A564124B   MELISSA      RICHARDS                     PA     90010465056
355B8696391891   JIMMY        DALE                         OK     90014396963
355B899845B52B   ELIZABETH    LUNA                         NM     35033289984
355B8A34591831   VANESSA      SWAINSTON                    OK     90011580345
355B8A7375B344   KENNETH      WISEGARVER                   OR     90013470737
355B9299841258   WALTER       DOTHARD                      PA     51007442998
355B935522B871   VERLETTA     ANDERSON                     ID     42089663552
355B9368872B76   BIANCA       NAJERA                       CO     90006713688
355B937A77B851   MARIELA      RODRIGUEZ                    IL     90011263707
355B959954B559   JOHN         PASCHAL                      OK     90008555995
355BB46A84B281   PAULA        MARQUEZ                      NE     90002224608
355BB538291584   RUTHIE       HERNANDEZ                    TX     90011805382
355BB56942B871   JD           LEWIS                        ID     90010255694
355BB59445B398   SILVIA       RAMOS-CRUZ-                  OR     90004365944
355BB982141258   VICKIE       ANDERSON                     PA     51039409821
35611632A4B954   ISAIAS       BROWN                        TX     90011916320
3561215747B639   LAQUASHA     WILSON                       GA     90015201574
3561248A591831   CRISANTEMA   RODRIGUEZ                    OK     90014184805
3561273487B471   GABRIELLE    JACKSON                      NC     11003277348
3561285915B52B   ARACELI      TORRES-CHAVEZ                NM     35057168591
35612A59191584   AMBER        MCJUNKIN                     TX     90014670591
35613A7AA4B275   JOSE         TORRES                       NE     90014620700
356141A9491831   AMANDA       TAYLOR                       OK     90014741094
35614A61391563   MAGDALENA    RIVAS                        TX     90000670613
3561538275598B   CARMEN       ROCHA                        CA     49040763827
356158A682B871   PHILIP       RODRIGUEZ                    ID     90010828068
356158A857B449   LASHARI      MANN                         NC     11005668085
35615AA227B492   MUNOZ        BRIZEDA                      NC     11063180022
3561638755B344   YAIR         OCHOA                        OR     44550873875
3561787522B835   JAMES        JOHNSON                      ID     90015228752
3561837464B281   STEFANI      SAMUELS                      NE     90012173746
3561965A391584   TRILLO       MITL                         TX     75035846503
3561B465891831   BENJAMIN     PAREDES                      OK     90014184658
3562212578B16B   OYUKI        HERNADEZ                     UT     90002711257
35622487A5B344   MAPENZI      TEMBO                        OR     90008584870
35622661A2B835   DARREN       BORCHARDT                    ID     90014366610
3562285115B393   ANA          ACOSTA MORA                  OR     44589078511
3562288984B281   ASYRIA       REECE                        NE     90014078898
3562312772B871   MICHAEL      MCCARVER                     ID     90011951277
35624A7562B871   KRISTINA     ALBERSON                     ID     42080460756
3562529334124B   MICHELLE     GRIEGO                       PA     51086032933
356252A5291584   MICHELLE     CARDONA                      TX     90011662052
3562577365B344   JONATHAN     ROWELL                       OR     90014607736
3562592862B87B   SANDRA       BANKS                        ID     42006459286
3562596AA2B871   KEITH        HARNEY                       ID     90014509600
35625A7445B52B   PERMA        SAAVEDRA                     NM     35053370744
356263A145B344   SANTIAGO     SOLISE                       OR     90008023014
3562678865598B   ROBERT       WEATHERS                     CA     49076097886
35626A83672B76   LUIS         MENDOZA PLASCENCIA           CO     90008440836
3562741615B38B   MARGARITA    ARCEO                        OR     90008384161
3562784214B559   MARISSA      SEVILLA                      OK     90010208421
3562786145B52B   MARIAH       SANCHEZ                      NM     90014398614
356278A2755972   PAUL         NEVAREZ                      CA     90011168027
3562839A15B52B   ANGELA       PERRY                        NM     90012283901
3562852977B449   MICHAEL      SMITH                        NC     90011705297
35628585A91371   TRISTA       KENNEDY                      KS     90014535850
3562987515598B   DENNIS       RABENA                       CA     90011468751
3562B49925B52B   MIGUEL       ORDONEZ                      NM     90010184992
356313AA24124B   JOHN         SHAFFER                      PA     51035473002
35631411A41285   CLAIR        SIBBLE                       PA     90014574110
35631413A61963   PRISCILLA    ROMERO                       CA     90010504130
3563147862B871   ANDREA       COX                          ID     90013374786
3563184745B344   MARIA ROSA   RAMIREZ                      OR     90013388474
356325A4554165   BEATRIZ      CRUZ                         OR     90003585045
3563347585B52B   MISSEY       DURAN                        NM     90013374758
356337A1A31424   GERALD       HEBRON                       MO     90015027010
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1706 of 2350


3563385722B29B   ERLINDA       MARQUINA                    DC     90008698572
3563398912B871   KANDIE        HART                        ID     42094689891
356339A2291891   ERICA         REED                        OK     21055699022
35633AA365B393   LENDY         SANCHEZ                     OR     44512640036
35633AA628B16B   ARINA         VALLANUEVA                  UT     90011460062
3563473859125B   KIMBERLY      WILSON                      GA     90003037385
35634977A5598B   HERIBERTO     VASQUEZ                     CA     90012419770
3563573547B449   PABLO         SALAZAR                     NC     90012347354
3563591464B275   HEISTAND      GAMBLE                      NE     90002419146
35636289A5B344   DANIEL        VASQUEZ                     OR     90015082890
3563767817B639   ANGELA        THOMPSON                    AL     90013386781
35638558A2B828   ANGIE         PRESCOTT                    ID     90001205580
3563917215B52B   DAWN          MOLISEE                     NM     35096161721
356399A2291891   ERICA         REED                        OK     21055699022
35639A37355936   ROSALINA      MENDEZ                      CA     90012800373
3563B488555972   J             MURRILLO                    CA     90010714885
3563B56737B639   ALICIA        MORRIS                      GA     90012065673
3563B984231424   CATRINA       QUARELLS                    MO     90014629842
3563BA3A491563   JOSE          ROSALES                     TX     90006240304
35641969972B25   DARIAN        DURAN                       CO     90010869699
356422A119125B   JACK          INY                         GA     14558982011
35642AA534B52B   HEATHER       WILLIAMS                    OK     90010290053
3564316A82B87B   JARED         JONES                       ID     42087861608
3564346518B16B   JACKIE        GOODE                       UT     31079864651
3564355A25B344   RICARDO       LOPEZ                       OR     90013125502
3564359A28B16B   VALERIE       HERNANDEZ                   UT     90014725902
3564476952B871   CHRISTINA     WILLIAMS                    ID     90002367695
3564525A97B492   JOSEPH        SERVIDIO                    NC     90013552509
3564545912B871   RODERICK      SHEIRBON                    ID     90014464591
356467A787B386   MARIA         FLORES                      VA     90013727078
3564691312B87B   TONY          CONNER JASON                ID     90003809131
35646A3A85B393   STEPHANIE     YOST                        OR     90009750308
35646A7527B492   STEPHEN       FERGUSON                    NC     90013330752
3564729162B87B   ALEXANDER     PEEL                        ID     42085732916
35647A6685B393   DAVID         BEST                        OR     44529100668
35648233A54165   ANTONIA       ANRADE-GARCIA               OR     90010662330
3564839512B87B   DALE          GOWIN                       ID     42071593951
3564844955B393   MARYANN       FROGGE                      OR     90013974495
356484A915B52B   JOSHUA        SANCHEZ                     NM     90014354091
356496AA62B871   JOSE          CARDENAS                    ID     90004206006
3564992525B52B   JOSIE         DIAZ                        NM     90011089252
3564B13612B871   JULIE         COWGER                      ID     90013151361
3564B466741285   JANELLA       PARKER                      PA     90014294667
3564B64725B344   MARIA         TERESA SANCHEZ LOPEZ        OR     44512676472
3564BAA898B16B   JESSICA       MCINTIRE                    UT     90014740089
3565131567B639   ANTHONIO      WILLIAMS                    GA     90010263156
3565133455598B   SANTOS        HERNADEZ                    CA     90005443345
3565136647B449   MARIA         CARBAJAL                    NC     90012363664
35651414A2B87B   ADELA         ROMAN                       ID     90009624140
35651A3977B492   STEPHANIE     STEFFES                     NC     90008230397
35651A5299125B   CHRISTOPHER   DICKENSON                   GA     90012400529
35652A71691831   CONETHA       GERMANY                     OK     90012770716
3565318482B871   SANTOS        CHAPA                       ID     42045001848
3565326417B639   TAWANA        RAGLAND                     GA     15055142641
3565329334124B   MICHELLE      GRIEGO                      PA     51086032933
3565359A28B16B   VALERIE       HERNANDEZ                   UT     90014725902
356536A4841258   LAVONNE       PITTS                       PA     90010746048
3565375A191563   CRUZ          VILLANUEVA                  TX     75042077501
35654237A91891   STEPHEN       MOSCHAK                     OK     90010022370
356542A4941285   CHARMAYNE     TURNER                      PA     90012142049
3565489177B639   COURTNEY      TARVER                      AL     90011308917
3565513457B639   RALFAUEL      CRENSAW                     GA     90011001345
35655A39631424   DAVID         PATTERSON                   MO     90014630396
3565627394124B   TANEISHA      REDMAN                      PA     51066152739
3565763A391563   LORENZO       RUBIO                       TX     75092606303
356576A353B35B   PATRICIA      TALAMANTES                  CO     90002236035
35657959A7B425   MICHAEL       MILLER                      NC     11081039590
3565831574B275   EVELIN        MEDRANO                     NE     90004913157
35658466572B76   RIGOBERTO     CABANAS                     CO     33058594665
356584A4454165   AUTUMN        MOSLEY                      OR     47017484044
3565854895B344   KIRIN         STRUNK                      OR     44576205489
35658661654B99   GORDON        TOEVS                       VA     90008306616
35659661654B99   GORDON        TOEVS                       VA     90008306616
356599A717B639   LARETHA       JOHNSON                     GA     15002219071
3565B61A241258   DAWN          EMERY                       PA     90010966102
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3565B77587B639   TREMELL      JACKSON                      GA     90011997758
3565B96594B275   ROBERT       HENRICKSON                   NE     90003249659
3566151835B52B   MELISSA      GARCIA MARTINEZ              NM     90006355183
3566162415B358   MARIA        LAGUNAS                      OR     90007826241
3566171A572B76   POWELL       TASHEKA                      CO     33016147105
3566179425B344   JOSHUA       JOHNSON                      OR     90014577942
3566188698B16B   JUSTINA      AGIULAR                      UT     90014578869
35661A7A17B425   AMBER        DAVILA                       NC     90015190701
35662497972B76   JULIUS       HINTON                       CO     90006714979
3566318798144B   LASHAUNDRA   HOUSE                        PA     90015411879
3566341465B393   MELLISSA     HEREFORD                     OR     90012324146
35663A86191891   CALVIN       MCALLISTER                   OK     90013050861
35663A8AA7B449   MARIBEL      AVILA                        NC     90011850800
35664769798B61   ROSA         IGLESIAS                     NC     90002447697
3566528474B281   DAVID        ROSS                         IA     90014892847
3566589A691563   DAISY        TORRES                       TX     75010618906
3566658965B52B   STEVEN       CARTER                       NM     35076275896
3566759A591563   JOHN         BOWLER                       TX     90013845905
35668161A91563   KRYSTEN      CARDENAS                     TX     90010271610
3566842532B871   GINA         CHAPA                        ID     90012854253
35668585A91371   TRISTA       KENNEDY                      KS     90014535850
35668A56891584   BRENDA       LUCERO                       NM     90011340568
3566917A591584   MICHAEL      ORTEGA                       TX     90004531705
3566937AA7B639   CURTIS       YOUNG                        GA     15068773700
35669A37A7B492   ULISES       CHEGUE                       NC     90008460370
35669AA515B52B   JOHN         ORTIZ                        NM     90004250051
3566B347991891   DARRELL      TERRELL                      OK     90007363479
3566B52632B871   MAKAYLA      CAREY                        ID     90005665263
3566B52915B393   CYNTHIA      KELLEY                       OR     90011185291
3566B66664B281   NICK         STOM JR                      IA     27035066666
3566B9A2431424   LAURA        HOTCHKISS                    MO     90012519024
356711A3A91584   CARLOS       DAVILA                       TX     90014671030
3567185714B561   JOSH         AYERS                        OK     90008648571
3567191A77B639   JESSICA      PERRY                        GA     90014789107
3567248245B344   SILVIA       RODRIGUEZ                    OR     44572454824
3567349414B281   GLENDA       SMITH                        NE     27059784941
3567365164124B   JENNIFER     KARADEEMA                    PA     90014236516
3567477178B16B   GINO         ARELLANO                     UT     90013757717
35674A62781685   LUZ          NUNEZ                        MO     90002360627
35674A72541277   KATELYN      EVANS                        PA     51058870725
35675877A4124B   LYNN         CHIESA                       PA     90013148770
35675884872B76   SERGIO       GARCIA                       CO     33063698848
35675A5A391371   JULIA        PROBY                        KS     90011410503
3567646674B275   MATTHEW      HANDERSON                    NE     90012604667
356772AA541285   MARGARET     KULKOWSKI                    PA     90009762005
3567761515B393   CORY         THOMPSON                     OR     90011686151
3567793A347931   LILIANA      ALDACO                       AR     25084419303
3567812A654165   RACHAEL      BARRAZA                      OR     90010541206
356792A1491563   MICHAEL      CALLAGHAN                    TX     90007482014
356798A9141277   MELANIE      PRATLEY                      PA     90005278091
3567B1A3455972   VANESSA      MEDEL                        CA     90014061034
3567B47A451382   JOSHUA       DURBIN                       OH     90011414704
3567B652391584   APRIL        MORENO                       TX     90013116523
3567B6A9A4124B   ALESCHIA     WATKINS                      PA     90014886090
3568134625B52B   DANIEL       MAY                          NM     90002813462
3568181744B281   WINNE        PERRY-CHAWIRA                NE     90009408174
35681A8794B281   JENNIFER     DELGER                       NE     90013240879
3568256422B871   STACY        RITTER                       ID     90006905642
3568264745B557   ALEGANDRA    BERNAL                       NM     90012586474
356832A3672B32   ANTONIO      LANDA                        CO     33095192036
3568334737B453   DARLENE      HARDING                      NC     90011193473
35683451A5B393   CAROL        PARKER                       OR     44589724510
3568399652B87B   CAMDEN       MALDONADO                    ID     90007709965
35683A55A5B52B   JULIAN       SANDOVAL                     NM     90012020550
3568456759372B   OMAR         MENDEZ                       OH     90001555675
3568481415B52B   LUIS         PAREDES                      NM     35093908141
35686377A8B329   CHRIS        MCTIER                       SC     90015413770
3568656655B52B   JUAN         GARCIA                       NM     90014785665
3568658785B344   PETER        MUI                          OR     44500845878
3568725335598B   ERICA        CRUZ                         CA     90011312533
3568742A391563   MIKE         ENCISO                       TX     75048644203
3568856837B425   JEROME       IKARD                        NC     90010465683
3568873592B835   GLENN        MILLER                       ID     90010807359
3568931612B835   RODNEY       WHITE                        ID     42019203161
3568947812B87B   ADWAR        ABU ZAHRA                    ID     42009674781
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3568948314124B   DANIELLE     WRIGHT                       PA     51012284831
3568975A191831   JESSICA      BOWEN                        OK     90011587501
3568998737B639   ALEX         BOYKIN                       GA     90005219873
35689A64A61963   SUSANA       GASCON                       CA     90002940640
3568B896855943   DENISE       QUIROZ                       CA     90011618968
3569144692B871   EMILY        RAY                          ID     42011824469
3569164398B16B   LORENZO      ZAZUETA                      UT     90010536439
3569175567B639   ARTESIA      BRYANT                       GA     90013597556
3569188162B87B   MANDY        WHITEHEAD                    ID     42083438816
356932A3A4B275   GLENNETT     GRANT                        NE     27060882030
35693A65591563   SHAIMA       AZABY                        TX     90010690655
3569482494B281   ROBERT       RYAN JR                      NE     27035078249
35694A3315B344   LUCINDA      HILT                         OR     90013260331
35695772A47931   MIKO         BOTLA                        AR     90015017720
35696A31555972   NOVA         KRSTIC                       CA     48033860315
35696A8A951382   KELLY        MCKINNEY                     OH     90006720809
3569729168B16B   JAXSON       FARR                         UT     90012452916
3569729257B471   CHADWICK     LEE                          NC     11090452925
356977A5455972   JOSE         LARA                         CA     48017307054
3569784567B639   LEONOR       MORALES                      GA     90010758456
35697A85891891   MARLON       YOUNGER                      OK     90008920858
3569877148B16B   LETICIA      CASTANON                     UT     31085667714
3569971715B344   JOSE         RUANO                        OR     44557227171
3569973657B492   SUSAN        PETERSON                     NC     90011677365
3569B124655936   GRICELDA     PACHECO                      CA     90011521246
3569B31794B275   DEANNE       OFLAHERTY                    NE     27083583179
3569B4A4441258   ERICKA       SMITH                        PA     90009634044
3569B71452B871   CLAUDE       BAHATI                       ID     90015087145
356B1332841285   DESSIE       FERGUSON                     PA     90011253328
356B1617654165   JOHN         BULLARD                      OR     90015036176
356B195639125B   RODNEY       HAMILTON                     GA     14525329563
356B2236361963   ANTONIO      MONTEJO                      CA     90010492363
356B25A375B393   CARL         BURNS                        OR     90015525037
356B267578B166   SERGIO       PENA                         UT     31015676757
356B277387B639   ISAIAH       LESTER                       GA     90014107738
356B3272A91831   RAY          COMBS                        OK     21017132720
356B333117B449   KAREN        SHERRILL                     NC     90002483311
356B3383241285   ANDRES       PEREZ-SDEEN                  PA     90014573832
356B342995598B   STEPHEN      JOHNSON                      CA     90010724299
356B399628B16B   BROOKE       LEANNE                       UT     90013509962
356B5484331424   JOSEPH       HOLT                         MO     90007974843
356B5585A91371   TRISTA       KENNEDY                      KS     90014535850
356B571A18B16B   KARINA       RUIZ                         UT     90012057101
356B5863855936   JOSEPH       GALVAN                       CA     90002088638
356B5A41A91584   LOURDES      PEREZ                        TX     90014670410
356B6257561963   NAMUUN       NARANAMGALAN                 CA     90010492575
356B62A6641258   TROY         FREEMAN                      PA     90005442066
356B6481855972   TINA         PENA                         CA     90004964818
356B6A8428B16B   MICHAEL      MERRIL                       UT     90001850842
356B7122354165   JEFF         NICKELSON                    OR     47097111223
356B819814124B   BRIDGET      BOYD                         PA     90015241981
356B83A745B393   FERNANDO     PAEZ                         OR     90013843074
356B929334124B   MICHELLE     GRIEGO                       PA     51086032933
356B9A41A91584   LOURDES      PEREZ                        TX     90014670410
356BB26212B828   JENNY        MOORE                        ID     90012652621
356BB61A154165   ANYSHIA      GOMES-BROOKSHIRE             OR     90015036101
3571133212B87B   JAIMA        CLINGE                       ID     42042433321
3571157A841285   TERESA       MINOR                        PA     90014585708
3571192785B52B   MARLAINE     CALLAHAN                     NM     90014499278
3571197935B344   ALEJANDRO    MANCERA                      OR     90010259793
35711A9A754165   SIERRA       PETERS                       OR     90000330907
3571264A24124B   ROBERT       MORTON                       PA     90014096402
3571297585B52B   AMANDA       CHAVEZ                       NM     90011879758
3571326A17B471   GARY         MCADAMS                      NC     11034572601
3571343365598B   MARCCELA     MARTINEZ                     CA     90013604336
3571396A941252   TIMOTHY      DEY                          PA     90014969609
35713A78441285   CALVINA      TERRELL                      PA     51033400784
35713A8737B639   BYRON        BRASSELL                     GA     15092480873
35713A92154165   DONALD       JOHNSTON JR                  OR     47048740921
35714337A5B393   JENNIFER     DIETL                        OR     90007863370
3571444677B449   CHRIS        SCOTT                        NC     11082744467
3571462187B425   CARLOS       ALFARO                       NC     90001066218
3571462838B16B   JAMIE        MARSHALL                     UT     90013566283
35714A43A54165   MARIA        GUZMAN                       OR     90014630430
3571555815B393   DANIAN       TOWNER                       OR     44577795581
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357157A4191232   LAVANN        WIGGINS                     GA     90003687041
35715AA9851339   DEBBIE        SMITH                       OH     66038700098
3571625997B425   KAMERON       RUCKER                      NC     90013082599
3571627745B344   STEPHANIE     HORRELL                     OR     90010902774
3571648198B16B   PATRICK       SPENCER                     UT     90012434819
357164A8891831   LAQUITA       WARTAN                      OK     90001234088
35716564A41285   LANAYA        BERRY                       PA     90014575640
3571662757B471   ANGELA        SPRINGS IVEY                NC     11079726275
3571692588B16B   PATRICK       SPENCER                     UT     90013869258
3571796537B471   HAZEL         ESPINOZA                    NC     90010039653
357182A834B275   COLBY         LOCKWOOD                    NE     90013542083
357184A5141258   MICHAEL       FAUST                       PA     51078454051
3571862749155B   JESUS         GRAJEDA                     TX     90007536274
35718935657B79   DAVID         NICHOLAS                    PA     90011249356
3571922972B871   MICHAEL       SCHWARTZ                    ID     90010842297
3571B214A8B16B   ANN           KELSO                       UT     90008112140
3571BA1357B639   ANGELA        WILSON                      GA     90012310135
357213A644B281   ASHLEY        BUSH                        NE     90013963064
35721655A31424   MISTY         SANVITO                     MO     27562456550
3572219455598B   SANTOS        CORTES                      CA     90006461945
357228AA631424   ALISHA        PAIGE                       MO     27566268006
3572325717B639   TRINITY       MILLER                      GA     90013772571
357238AA55598B   BRIGETT       RODRIGUEZ                   CA     49086068005
3572432937B639   ALBERET       ROSSER                      GA     15080113293
3572443A25B38B   BETHANY       BROOKS                      OR     90008084302
3572495A151382   ANITA         CHAPMAM                     OH     66021069501
3572496557B492   EYORSALEM     KASAYE                      NC     11091109655
35724A2665B52B   GUILLERMO B   CHAVEZ                      NM     90005560266
3572545975B344   MARTIN        VIRGEN CASTREJON            OR     90011794597
3572558355598B   RUTH          BERNAL                      CA     90009805835
35725A25981672   ELOIS         WALKER                      MO     90013760259
3572635247B639   CARLOS        GOMES                       GA     90012813524
357264A164B275   ROCIO         ROMERO                      NE     27089594016
3572659869125B   DONNALD       JACKSON                     GA     90002795986
35726A31191543   GERARDO       RODRIGUEZ                   TX     75085250311
3572762384B275   TERI          CADY                        NE     90002866238
35727A7887B639   ANNA          CASTIGLIA                   GA     90013560788
3572842837B492   BOBBY         WILLIAMS                    NC     11084024283
3572843797B449   SHONTANICA    HOWARD                      NC     11085304379
3572899115B269   YVONNE        HARROD                      KY     90006199911
35728A22A91543   ERNESTO       PEREA                       TX     75006390220
3572926965B536   TROY          GRIMES                      NM     35088902696
3572BA27641258   TINISHA       WYATT                       PA     90011000276
3573126A891831   MAHANNAD      AL CHAMAT                   OK     90002792608
3573146994B275   LESA          HALL                        NE     27097774699
3573154767B425   ANTHONY       SHEPHERD                    NC     90001025476
357318A242B87B   IRMA          YBARRA                      ID     90012228024
3573338518B166   ZACHARY       ALLEN                       UT     31068033851
35733A33741285   SHAMARYA      BURTON                      PA     90010640337
3573414A555972   VERONICA      NUNEZ                       CA     90013311405
3573428644B281   GLENN         SEMIN                       NE     27051792864
3573452344124B   ADAM          RYAN                        PA     51018025234
3573495518B16B   ESTEBAN       PEREZ                       UT     31086929551
3573566788B16B   JUANA         GALLEGOS                    UT     31048956678
357369A6991831   AMANDA        WHITE                       OK     90011589069
35736A9837B449   GYAN          BISWA                       NC     90011850983
3573772115B393   RANDY         ROSE                        OR     44579557211
3573955625B52B   GLADYS        GRADO                       NM     90011125562
357398A774B275   PATRICIA      RENTERIA-AVALOS             NE     27089738077
35739A34991371   MISHA         CHAVEZ                      KS     90014090349
3573B213141285   AUTUMN        STEVENS                     PA     51004372131
3573B446355936   VIOLET        GUZMAN                      CA     90014974463
3573B66547B425   TYLOR         PERRY                       NC     90014546654
3573B6A477B471   TIERNEY       WILKES                      NC     11042386047
3573B853885965   TONYA         MANSER                      KY     90005208538
3574116412B835   RACHEL        JONES                       ID     90007611641
3574213912B87B   REMONA        HTOO                        ID     90009601391
3574432155598B   GILBERT       MENDOZA                     CA     90014753215
3574457935598B   ERICA         GONSALEZ                    CA     90011125793
3574486582B871   RODOLFO       BRAN CHAVIRA                ID     42012138658
35744A4556B264   STEPHEN       TORRES                      AZ     90014040455
3574643A65B393   WILLIAM       ALFONSO-HERNANDEZ           OR     90012614306
3574731372B871   GABRIEL       MONTERO                     ID     42008343137
3574811954B281   KRISTIN       LICHTENBERG                 NE     90012331195
35748396A7B639   RUBEN         LARA-LARA                   GA     90015133960
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35748A1A44124B   THOMAS       SCHAFFER                     PA     51034410104
35749429A91371   JASON        LADY                         KS     90013544290
3574947A591584   CARLA        CORRAL                       TX     90011664705
3574B19115B52B   DEVON        JOJOLA                       NM     90013491911
3574B374154165   JOSH         GAROUTTE                     OR     47084693741
3574B455A91891   EDWARD       ALLEN                        OK     90007224550
3574B641991563   ELVIRA       MELENDEZ                     TX     75075486419
3574B82687B425   ANGELA       BLAND                        NC     90012058268
3574B89227B639   JAQUAN       JONES                        AL     90015248922
3574B921791831   SHEILA       FARLEY                       OK     90011589217
3575161868B16B   MARIA        LLAMAS                       UT     31078586186
3575186775B344   GILBERTO     PENA                         OR     90014618677
35751A25841285   MARJORIE     MCALLISTER                   PA     90008500258
35751A4685B52B   KADEE        JARAMILLO1613 TWINBE         NM     90001010468
3575232342B87B   JON          LONG                         ID     90006203234
3575248572B835   JAMI         MURILLO                      ID     90009724857
3575294A491371   PHIL         BOLLINGER                    KS     90014579404
35752994A5598B   JEFFREY      CLEMENTS                     CA     90014709940
3575318678B16B   JULIA        HAMBERLIN                    UT     90012271867
3575333A154165   CHRISTY      JEVNE                        OR     47031723301
3575386A491563   JESUS        GAONA                        TX     90014788604
3575455964124B   FRANCES      VOELKER                      PA     90001825596
3575521415B344   TINA         WILSON                       OR     90012902141
35755268A2B87B   NOELANI      PRESCOTT                     ID     90011002680
35755479A91584   ARMANDO      SILVA                        TX     75012564790
3575562985B393   ROXANA       MILLER                       OR     90015096298
3575571452B871   CLAUDE       BAHATI                       ID     90015087145
35755A9113B132   SAMUEL       JACKSON                      VA     81010960911
3575715685B344   NICOLAS      TREJO LOPEZ                  OR     90013961568
3575861542B835   LAFON        SCOTT                        ID     90014696154
3575879AA7B639   DANIEL       GAINS                        GA     90010027900
35758A4556B264   STEPHEN      TORRES                       AZ     90014040455
3575929542B87B   ALFONSO      ALLEN                        ID     90014392954
3575B13585598B   SARAH        HUXLEY                       CA     90012291358
3575B225141258   RICK         SPEAKMAN                     PA     90009132251
3575B47842B87B   MITCHELL     JIMENEZ                      ID     90013574784
3575B616A91371   JONATHAN     KILANOSKI                    MO     29045626160
3576113135598B   ALEX         CUEVAS                       CA     49015951313
3576234745B393   KRISTIE      CLARK                        OR     90009083474
3576357684123B   GABRIEL      GARNER                       PA     90005585768
3576381845598B   LUIS         VERA                         CA     90006948184
35764A5525B344   ANDREW       WERNER                       OR     90005390552
35764A6843B357   GLORIA       LEANOS                       CO     33094740684
3576578429125B   DONALD       BILLEY                       GA     14559077842
3576584255B344   ADRIANA      ANDERSON                     OR     90004048425
35765866972B76   MERCED       ESPINOZA                     CO     90009208669
3576628612B87B   PORTIA       ELTON                        ID     42026042861
357663A975B393   CHRISTA      BOGGS                        OR     90012793097
35767648472B76   ALBA         PEREZ                        CO     33077326484
357688A595B52B   LISA         BACA                         NM     35060148059
3576893117B471   DASHONN      QUINN                        NC     11058139311
35768A37A31424   DEADRINNE    BANKS                        MO     90014640370
3576B47A561963   JESSICA      MARTINEZ                     CA     90014944705
3576B4A8991831   CORDELL      VY                           OK     90000244089
3576B61147B471   CARL         WILLIAMS                     NC     11036776114
3577184A85B52B   JOSEPH       CHAVEZ                       NM     90000628408
3577189528B16B   JOHNNY       PALACIOS                     UT     90011538952
357724A4241258   JOHN         MCCLENDON                    PA     90013494042
357725A174B275   SELENA       CHAVEZ                       NE     90002265017
3577262AA7B449   GENEVIEVE    ROBERTS                      NC     90014346200
3577268A841285   JENNIFER     CALIO                        PA     90014576808
3577295AA7B449   GENEVIEVE    ROBERTS                      NC     90012509500
35773684A41285   RICHARD      ROBERTS                      PA     90014576840
3577394A15B393   KELLY        SNYDER                       OR     44571429401
3577465AA31424   DECARLOS     MOORE                        MO     90011506500
3577484832B871   IRMA         ENRIQUEZ                     ID     42044358483
357753A115B344   CANDACE      SMILEY                       OR     90007203011
3577552728B167   JESSICA J    SHAW                         UT     31032725272
3577563515B393   STEPHANIE    POEHLER                      OR     90002016351
35775A89A5598B   BRANDI       WILLIAMS                     CA     90011110890
357763A3591891   CRYSTAL      ALEXANDER                    OK     90012873035
357764A513B132   REGINALD     MCMICKINS                    DC     90008404051
35777277A51337   JESSICA      GADBERRY                     OH     90002172770
35777A91731424   SHARRON      WESLEY                       MO     90014640917
3577847234B281   JESSICA      CARR                         NE     27085434723
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3577862592B871   LUISA        CERVANTES                    ID     90013226259
3577931447B492   OMAR         RAMIREZ                      NC     90007163144
3577B865A2B257   TANYA        HARRIS                       DC     90001318650
357815A284B281   SHANTEL      HORN                         NE     90014865028
3578195797B471   TONYA        SPRUILL                      NC     11019929579
35782A8537B492   LILIAN       IZAGUIRRE                    NC     90012160853
35783693A4124B   LARRY        LEGEZA                       PA     90013916930
35783A1437B639   LYDIA        MCCRRACKEN                   GA     90010630143
3578514238B16B   JULIO        BARRAGAN                     UT     90014591423
3578658777B492   DAWAN        MYERS                        NC     90013615877
3578746895B52B   ESMERALDA    GARCIA                       NM     90010154689
35787542A72B76   ROSA         VALENCIA                     CO     90012675420
3578767914124B   RACHAEL      CASKEY                       PA     51084266791
3578827664124B   WILLIAM      BRANCH                       PA     90014342766
357883A2861921   NORMA        RANGEL                       CA     90008753028
35788A35254165   RANDALL      WILLIAMS                     OR     47028640352
35788A45655936   ARACELLI     RODRIGUEZ                    CA     49058560456
35789535A55972   FGSFG        FGSFGS                       CA     90015095350
3578993392B835   MELANIE      MAGGARD                      ID     42010799339
3578B211A7B639   LOUIS        HILL                         GA     90001812110
3578B235961963   PENNEY       CRAWFORD                     CA     90006942359
3578B428255972   LEONARD      LUJANO                       CA     90013394282
3578B52475598B   GRACIELA     VALDEZ                       CA     90004855247
3578B58517B395   BELINDA      HOOVEN-FOSSIE                VA     90002735851
3579113A65B393   ALLAN        FRERIS                       OR     90012711306
3579133894124B   CYRA         NORTON                       PA     90000493389
3579183987B492   KENYATTE     CLEMMER                      NC     11012578398
3579211337B492   GENEVA       DAVIS                        NC     90009171133
35792732A5B344   SHAMRA       MONTOYA                      OR     90012717320
35792981A2B835   JUDY         RUSSELL                      ID     42016559810
3579327575B52B   MARIA        CERA                         NM     35070972757
3579337978B16B   CASSANDRA    CRESPIN                      UT     90014623797
3579349444124B   TAMIKA       JOHNSON                      PA     90002784944
3579537857B425   SAMANTHA     WILLIAMS                     NC     90002593785
3579562A48B166   JOHNSON      LUKE                         UT     90005456204
35795A6127B449   HANA         MAHMOUD                      NC     90011710612
3579694685B393   STEVIE       HOGGANS                      OR     90001769468
35797159A2B87B   CASSANDRA    YRBY                         ID     90013551590
3579732157B639   ANDREA       GRANT                        GA     90001903215
357973A2241285   KIMBERLY     OLIVER                       PA     90010193022
3579772A44124B   ROBERT       GRAY                         PA     90005207204
3579826372B871   PEDRO        ORELLANA                     ID     90013792637
3579878247B639   ROBERT       ALDERETE                     GA     90013867824
3579987655B393   JESSE        JOHNSON                      OR     44509208765
35799923176B45   ZORAYDA      VALENTIN                     CA     90010349231
35799A98491371   RICKIE       VAUGHN                       KS     90014830984
3579B53857B492   PATRICIA     SELLERS                      NC     90008905385
3579B576991371   TYLER        MULLANE                      KS     90014915769
3579B597A91831   ANISSA       WESLEY                       OK     90014185970
3579B78817B359   SEYDOU       KAMAGATE                     VA     81065277881
357B1133361963   TAMARA       LEHMAN                       CA     90013541333
357B1165341258   ALICIA       PURTER                       PA     90007461653
357B128735B52B   TASHA        SOUZA                        NM     90010912873
357B153224B275   DIANNA       JACKSON                      NE     27087755322
357B182A57B425   SHASTA       CHAMBERS                     NC     90012938205
357B212315598B   PRINCESA     LOPEZ                        CA     49086851231
357B3535A41285   JENNIFER     TAGG                         PA     90014575350
357B3638391563   GREGORY      MEJIA                        TX     75095796383
357B36A4291831   JAMIE        ODONNELL                     OK     21087086042
357B391754B281   TRACY        HANSEN                       NE     27044599175
357B3A3A75B52B   LAURIE       LEVINE                       NM     35059870307
357B4179433626   OSCAR        ZONABRIA                     NC     90002041794
357B4538391525   IRMA         COBIAN                       TX     90014705383
357B454762B835   GABRIELA     MARTINEZ-ROMERO              ID     90006875476
357B456945B52B   NOEL         GUZMAN-FAUDA                 NM     90011465694
357B51AA661963   VERENICE     VELAZQUEZ                    CA     46037461006
357B5685A7B449   JANICE       WILSON                       NC     11050626850
357B621A17B639   VERONICA     CARNES                       GA     90010782101
357B712487B449   LATORA       HOWARD                       NC     90014041248
357B716452B87B   ANTONIO      CAMACHO                      ID     90008861645
357B7611754165   JANE         WHEELER                      OR     90014646117
357B763718B166   ARNOLD       HEMPHILL                     UT     90012436371
357B7751555972   NOVIA        ROMO                         CA     90012927515
357B795824124B   LINDA        GREENE                       PA     90013129582
357B83A6A41258   JOE          FARNCISCUS                   PA     51066613060
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357B851989375B   REBECCA      MOORE                        OH     90010485198
357B8533655972   ELIZABETH    NAVARRETE                    CA     90009885336
357B8572691371   LEANNE       GRAY                         KS     29096505726
357B878A74B281   JACQUELINE   VILLEGAS                     NE     90013427807
357B87A7454165   KRISTE       LYONS                        OR     90015127074
357B883888B16B   TIMOTHY      NEAL                         UT     90010778388
357B8A69354165   ANDREW       DELORME                      OR     90000840693
357B919345598B   YESSENIA     SOTO                         CA     90013871934
357BB133361963   TAMARA       LEHMAN                       CA     90013541333
357BB29677166B   JACLYN       DOUCIMO                      NY     90015502967
3581118414124B   DUVALL       AIKEN                        PA     51047601841
358131A828B16B   MARTIN       MURO                         UT     31021901082
3581364A991891   DERRICK      BARNES                       OK     90012086409
3581469565B393   JESSE        CAAMAL RUIZ                  OR     90012126956
3581473615B52B   NANCY        GRAEBER                      NM     35066967361
3581478498B16B   ARIEL        VINE                         UT     90001847849
3581493712B835   MARISOL      LOPEZ                        ID     42027819371
3581549187B425   GILEVALDO    RUIZ                         NC     90006284918
358154A4191831   CLAUDIA      GARDEA                       OK     21000484041
3581589565B375   CHAD         HENSEL                       OR     90009498956
3581599215B344   SCOTT        RICE                         OR     90013739921
3581652542B835   AGUSTIN      GARCIA                       ID     90001285254
3581664A391563   JOHN         FREDERICK                    TX     75052796403
3581727225B393   JULIA        FLORES TORRES                OR     90011902722
3581782364B275   OMAR         VALDIVIA                     NE     90013838236
35818A1827B639   MELVIN       CARTER                       GA     90014470182
35819251A41285   CHRYSTYN     BALLARD                      PA     90014612510
35819863A41285   BRANDY       RATTENNI                     PA     90014578630
3581B84464124B   TOI          JOHNSON                      PA     51034448446
35821A79655972   LORENA       CARRILLO                     CA     90001930796
358221A3991821   AMANDA       SECONDINE                    OK     90008621039
3582234A78B16B   ALEXANDRIA   BUCKNER                      UT     90015493407
358224A8391563   JUAN         MUNOZ                        TX     90008994083
35822A72A4B929   ARTURO       VARGAS                       TX     90002280720
35822A81A5598B   SANTOS       SANTAGO                      CA     90010290810
3582336454124B   MARK         MICKMAN                      PA     90013963645
35823476A91563   EMILIO       MORENO                       TX     75031624760
358234A192B871   LORRAINE     CONLEY                       ID     42014254019
358235A152B835   FABIO        CORONADO                     ID     90014715015
358242A6491563   CONNIE       RAMIREZ                      NM     90013032064
35824587A8B16B   ROBERT       SWAIN                        UT     31070615870
3582587684B281   RICHARD      DRURY                        NE     90002138768
3582594A49375B   KAMMEY       WALKER                       OH     90010629404
35826956672B76   KARINA       MONARREZ                     CO     33081679566
3582762A95B52B   ALEXANDRIA   SHIELDS                      NM     90011026209
35827AA435B264   TERRON       DOTSON                       KY     90006330043
358283A1491371   MAURO        SANCHES                      KS     90014313014
358289A447B639   LAURA        SMITH                        GA     90000759044
3582934342B871   KEVIN        DAVIS                        ID     42007103434
358296A6254165   BAMBI        WALKER                       OR     90001736062
35829746A7B425   GELLE        ROBINSON                     NC     90009257460
35829A66547931   VELDA        ALANIS                       AR     90010330665
3582B54915B156   TRESA        RAGAN                        AR     23041755491
3582B85892B835   JOSEPH       HAMMETT                      ID     42090778589
3583126448B16B   BRIAN        DALLINGA                     UT     90015182644
358316A285B393   CECILIA      PINEDA                       OR     44563306028
3583211164B275   JESSICA      DUNN                         NE     90014471116
3583251635B52B   CYNTHIA      SANDOVAL                     NM     90013905163
35832A2287753B   JESSEE       FRYE                         NV     90004430228
3583325462B835   LEVI         PINES                        ID     90007612546
3583349187B449   CRYSTAL      LIOUMS                       NC     90005224918
358335AA25598B   ADOLINE      MARTINEZ                     CA     90010725002
3583421857B639   KRISTINA     COPRIDGE                     GA     90001322185
358346AA75B52B   ALMA         DELGADO                      NM     90011306007
3583487342B835   YOLANDA      MARTINEZ                     ID     90005378734
3583523587B449   IVAN         RODRIGUEZ                    NC     90011712358
3583561A941258   RAE          SMITH                        PA     90008736109
3583599318B16B   CHRISTINA    GARNER                       UT     31065629931
35835A27155921   JUAN         HERNANDEZ                    CA     49013820271
3583636654B281   CARLOS       CHAVOYA                      NE     27074083665
35836726A5B393   MARTHA       BENITEZ                      OR     90013517260
3583697752B835   CINDY        TILFORD                      ID     42076169775
35836A5248B16B   DARSI        SHEPHERD                     UT     31004360524
35836A78455936   FERNANDO     MARQUEZ                      CA     90015090784
3583745448B16B   JULIA        HERNANDEZ                    UT     90006064544
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3583766897B639   DERECK        MOTLEY                      GA     90012066689
358389A7791371   TERRELL       DAVIS                       KS     90014599077
35839484A2B87B   DAVID         PETERS                      ID     90014584840
3583974147B492   WILLIAMS      CREWS                       NC     90014347414
35839A6815B344   GENY          SANTIBANEZ                  OR     44550910681
3583B244A91831   MAYRA         MUNOZ                       OK     90011312440
3583B365141277   RONALD        SMITH                       PA     51089043651
3583B37147B492   TERESA        STARR                       NC     11023753714
3583B74767B639   MAE           THOMPSON                    AL     90015107476
35841A1465B344   NOE           NONOAL                      OR     90010200146
358421A8691891   TEMARKEYA     OLIVER                      OK     90012641086
35842661A91831   CORY          ERNST                       OK     90014186610
358428A3331424   JAMES         WHITE                       MO     90011368033
3584294614124B   TODD          HURST                       PA     51046379461
35842A6A491563   TURY          CONTRERAS                   TX     90012670604
3584323A16B264   BENJAMIN      HELEN                       NV     37085992301
35843946A7B639   CHRIS         GILYARD                     GA     90008789460
3584442785B52B   PAUL          ARELLANO                    NM     90013984278
358447A4161963   YVETTE        MAGANA                      CA     90010547041
3584481142B871   JANE          TRINH                       ID     90000808114
3584652437753B   JOSHUA        BATEMAN                     NV     90000825243
35846A86141258   JAMES         DALEY                       PA     90010650861
35847191A5B345   PEARL         BOSWELL                     OR     90005381910
3584739A95598B   HUGO          DIAZ                        CA     49048143909
3584752437753B   JOSHUA        BATEMAN                     NV     90000825243
3584816415B52B   ERIK          PIZARRO                     NM     90010871641
3584837675B393   RICARDO       AMBRIZ                      OR     90000223767
3584841525B344   DANELLE       XICARA                      OR     90013184152
35849533772B23   JOSE          TREVIZO                     CO     90012415337
3584998A161963   TRAVIS        THOMAS                      CA     46085689801
35849A86891891   KELLY         PROCTOR                     OK     90003700868
3584B239955972   JOE           ENGLE                       CA     48086662399
3584B33458B166   CABALLERO     RUBEN                       UT     31013273345
3584B47A77B492   ALEJANDRA     NUNEZ                       NC     90014884707
3584B589791584   KEITH         JORDAN                      TX     90011665897
3585115725B344   LINN          FORNSHELL                   OR     90005351572
3585119A88B166   DENA          BRADY                       UT     31007221908
3585155835B52B   JUAN          OERA                        NM     90003055583
3585167635B359   DEREK         JACKSON                     OR     90002476763
3585346A25B52B   DESIREE       SOSA                        NM     90013184602
35853A25A91563   SANTIAGO      VALDEZ                      TX     75085660250
358542A5991584   JANETH        ANGUIANO                    TX     90014672059
3585456515B344   DESIREE       SWEARINGEN                  OR     44589735651
3585517513B132   DARNELL       COOPER                      DC     90013891751
3585593685B393   NABY          SOP                         OR     44513309368
3585667635B359   DEREK         JACKSON                     OR     90002476763
358568A6255972   JUAN          ALCANTAR                    CA     48012238062
3585711A141258   LINN          KEITH                       PA     51039471101
3585774385B393   RONNY         GOWAN                       OR     90014917438
3585846522B835   ALLEN         BAUER                       ID     42058514652
3585B335155936   GUADALUPE     SUAREZ JR                   CA     49037403351
3585B81885B52B   SILVIA        RIVERA                      NM     90009638188
3585BA28361963   JUANA         ESTRADA                     CA     90005840283
35861284A55972   NUBIA         GUTIERREZ                   CA     90012402840
3586265827B639   ANTHONY       POLLAND                     GA     15010896582
358636A3A2B835   KAREN         ROBLES                      ID     90013096030
3586381234124B   DESSENSE      JOSEY                       PA     90012848123
35863928272B76   PATRICK       MARQUEZ                     CO     90009689282
3586525122B586   ASIA          KING                        AL     90014132512
3586578A755936   SETH          BISCAGLIO                   CA     90014987807
3586585462B87B   DAWN          PIXLER                      ID     90014898546
3586658548B16B   ANTHONY       HOLMES                      UT     90013205854
3586812777B639   VASU          DESAI                       GA     90010051277
358682AAA8B16B   ESCOBEDO      RITA                        UT     90012842000
3586884812B871   MICHELLE      GUDGEL                      ID     42014918481
35868A1774124B   NANCY         DARLINGTON                  PA     90006260177
3586931AA5B393   THEO GERARD   SWEETING                    OR     90015113100
358694A415B52B   LORA          TAYLOR                      NM     90007584041
3586B314451594   ROSE          SMITH                       IA     90015263144
3586B58215B344   GABINO        ESPINDOLA                   OR     44572455821
3586B69A755972   NOEMI         MOTA                        CA     90014496907
3586BA54291584   ROSA          GONZALEZ                    TX     90013030542
3587153329125B   JEQUETTA      BROWN                       GA     14513515332
35871732A2B87B   DAVID         ESPARZA                     ID     90010667320
358731A394B281   CHRISTIAN     CAMPOS                      NE     90013241039
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3587325144124B   DANTE         WILLIAMS                    PA     90010952514
35873289A7245B   STEALA        KRISTON                     PA     90011022890
35873582A7B471   ELVIRA        PEREZ                       NC     11064925820
3587455A691831   DANIEL        GANN                        OK     90014275506
3587546544B275   MICHAEL       GOODWIN JR                  IA     90004814654
3587556A355972   RAMONA        CARLOSSERRANO               CA     48005725603
358765A9A31424   BRITTANY      OATS                        MO     90014645090
358766AA131657   STEVEN        MYER                        KS     90006846001
3587784237B639   ROSALYN       POWELL                      GA     90009358423
3587885952B87B   AARON         CHAFFER                     ID     90015228595
3587886468B16B   WESLEY        MELTON                      UT     90011448646
3587927957B639   KIARA         JACKSON                     GA     90015262795
3587982627B449   CHINO         BURCH                       NC     11048058262
3587B443341277   MATT          WRIGHT                      PA     51076284433
3587B48A841258   CARLA         WILSON                      PA     90008524808
3587B93A151382   DANIEL        RICHARDS                    OH     66051649301
3587BA69A91371   RYAN          OMALLEY                     KS     90003670690
3587BA7982B87B   CARISSA       CANTU                       ID     90012870798
3588139238B166   KELLEY        SHAUNE                      UT     90006803923
3588153A731424   FELICA        ADAMS                       MO     90014645307
3588212314B281   ROLANDO       CHI-XOOC                    NE     27079291231
3588236A59152B   MYRNA         SOTO                        TX     75082423605
3588344772B87B   IBRAHIM       ABDIRAHMAN                  ID     90013044477
35883645A41285   JAMAL         JACKSON                     PA     90014586450
3588392935B52B   ASHLEY        SCHNEIDER                   NM     90014569293
3588443982B87B   HAZEN         SVEDERUS-DAY                ID     42000894398
358845A718B16B   MICHAEL       GARCIA                      UT     31018115071
35885A83854165   ROBIN         HITCHOCK                    OR     47092930838
3588696747B492   DANIEL        SMITH                       NC     90001069674
35886A1A88B16B   JUSTIN        COTY                        UT     90010780108
35887A69A91371   RYAN          OMALLEY                     KS     90003670690
3588815785B344   MARIA         CASTILLO                    OR     44586701578
3588897195598B   STEVE         ACUNA                       CA     90014009719
3588958452B87B   ALEJANDRINA   FLORES                      ID     90013635845
358897AA431424   JACOB         CLARK                       MO     90013087004
3588B1A6491537   ADRIAN        SANTOS                      TX     90009991064
3588B236831657   CURTIS        KITCHEN                     KS     90008632368
3588B31112B87B   VANESSA       VARGAS                      ID     42004333111
3588B46762B871   RUTH          CRISSMAN                    ID     90006634676
3588B47485B393   JESUS         PALMO                       OR     90009614748
3588B515A91891   STEPHANIE     BAUGHMAN                    OK     90008435150
3588B76924124B   QUINTIN       HOOPER                      PA     90011427692
3588B996491831   MISTY         ACEVEDO                     OK     90008999964
3588BAA838B16B   EDGAR         DIAZ                        UT     90010780083
3589198817B492   ROY           PETERSON                    NC     90015119881
35892127A8B166   JASON         WISER                       UT     90013381270
3589232185B555   FRANK         MORALEZ                     NM     90007843218
3589253554B275   LASHUNDA      BLACK                       NE     90008425355
358925A658B16B   COLTON        OWEN                        UT     90013575065
35892A33355951   PEDRO         SERRANO                     CA     90000540333
35892A3975598B   DOMONIQUE     NOELLE                      CA     90013650397
3589314772B87B   RODOLFO       NUNEZ                       ID     90006401477
35893225A91584   JOVITA        QUINONES                    TX     90014672250
35893637A31424   TIERA         SIMMONS                     MO     90002136370
3589643A391891   CHRISTINA     FAULCONER                   OK     90009464303
3589658412B87B   THOMAS        FREINWALD                   ID     90014765841
35896A77141285   WILLIAM       TORNABENE                   PA     90015240771
3589877525B344   LORRAINE      SUNDERMAN                   OR     44528207752
358988A342B835   WILLIAM       WRIGHT                      ID     42029318034
35898981A55972   JODAN         PECK                        CA     90012719810
3589986737B425   JALESSA       REDMOND                     NC     90007978673
3589B36345598B   JOSE          ESCOBAR                     CA     90008693634
3589B6A655B52B   CAROLYN       ROMERO                      NM     90003536065
3589BAA9791584   ANN           DOUMA                       TX     90011670097
358B199972B871   LIDUVINA      PINEDA CRUZ                 ID     90006099997
358B236392B835   TIA           SATECHER                    ID     90007673639
358B273592B835   GLENN         MILLER                      ID     90010807359
358B2A6188B166   SAMUEL        WATERBURY                   UT     31029820618
358B339797B359   MANFREDY      CENTENO-LOPEZ               VA     90001683979
358B33A2A54165   CRISTOPHER    WILLUWEIT                   OR     90015133020
358B35A1691584   HEZDEL        PILLADO                     TX     90010435016
358B3838591891   MICHAEL       WARREN                      OK     90015198385
358B4774891584   MYRIAM        FERNANDEZ                   TX     90008777748
358B47A735B52B   NAOMI         SENA                        NM     90003857073
358B499595B52B   MAGDALENE     SENA                        NM     90014199959
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358B517552B835   JOY            BURNIGHT                   ID     90013291755
358B51A987B639   TAQUINTIN      HODO                       GA     90011051098
358B5642833634   RODERICK       STINSON                    NC     90001696428
358B5692491563   JUANNA         LARA                       TX     75089566924
358B5926741285   RICHARD        CONTI JR                   PA     90001879267
358B624812B87B   BRODY          STATES                     ID     42067902481
358B6514291587   NYDIA          ESTRADA                    TX     90001225142
358B664985B52B   ESTEFANA       LAZALDE                    NM     90004786498
358B665942B871   RACHEL         STINER                     ID     90014056594
358B677837B449   ARIANNA        MOULTRY                    NC     90010647783
358B692335598B   MARLON         STUBBLEFIELD               CA     90010889233
358B6984861945   ROBERTO        LEON                       CA     90006419848
358B6A18291371   ROSA           FERNANDEZ                  KS     90010340182
358B714A454165   KRISTI         MERCER                     OR     90004671404
358B7285341258   KAREN          GABLE                      PA     51074382853
358B7591A76B61   NOE            VELASQUEZ                  CA     46010145910
358B84A6741258   KIA            BROWN                      PA     90013474067
358B879452B871   RAI            RAI                        ID     90007987945
358B9186491831   BARRY          UZZEL                      OK     90013241864
358B9849891891   SKYLAR         BROWN                      OK     90010288498
358BB269A54165   CHRISTINA      MCMILLAN                   OR     90015132690
358BB55985B52B   JESUS          MONCLOVA                   NM     90013455598
358BB8A6A5B344   BEN            HUFFMAN                    OR     44575228060
358BB94455B156   ANTWIN         LACY                       AR     23042789445
358BB989A91563   ANA            MEZA                       TX     75023889890
3591169A691831   KIMBERLY       HOPKINS                    OK     90014186906
3591171864124B   JENNIFER       CASTOR                     PA     90013917186
3591177727B492   NICHOLE        BROWN                      NC     90014907772
3591263592B835   JOSE           RICO                       ID     90010016359
35912858A2B87B   ROXANNE        RODRIGUEZ                  ID     42047208580
3591339447B639   MECHELE        VIRGIN                     GA     15033303944
359137A177B449   MICHELLE       JONES                      NC     90008357017
3591387812B835   DELMA          FLORES                     ID     90012718781
359142A697B492   LEIGHANNA      MGILL                      NC     90014662069
3591446598B166   FERNANDO       CURIEL                     UT     31071894659
3591466557B639   TRAMAINE       DAVISON                    GA     90015086655
35915182A91538   GEORGINA       MARTEL                     TX     75064521820
3591525A577531   JOSE           NAJERA                     NV     90015012505
3591761965B52B   ELVIA          OCHOA-RAMIREZ              NM     90011136196
3591779715B393   THOMAS         CLAYTON                    OR     90012037971
3591789662B871   KRYSTANJA      GLENN                      ID     90010578966
35918796A7B449   ANNIE          RICHARD                    NC     11081327960
35918A12154151   DELILAH        HILL                       OR     90009610121
35918A65691584   EDUARDO        ESPINOZA                   TX     90011670656
35919112A2B835   AGIM           SELACI                     ID     42005331120
3591945545B344   EDUARDO        MAYO                       OR     44592384554
35919818A54165   MICHAEL        DUNPHY                     OR     90006118180
3591983627B425   RAVEN          WHITE                      NC     90012548362
3591998625B52B   JESSE          PURCELLA                   NM     90009489862
3591B143755936   LUPITA         HERNANDEZ                  CA     49017791437
3591B183991584   ALEJANDRA      PONCE                      TX     90009701839
3591B712941285   TAMICA         SMITH                      PA     90014587129
3591B73155B393   YIEN           SAECHAO                    OR     90013517315
359214AA17B639   AARON          LUCKEY                     GA     15044894001
3592217735B344   TERRY          DOTY                       OR     44597251773
3592227A847931   PAM            BAKER                      AR     90011982708
3592237222B87B   JIMMIE         LANE                       ID     42012983722
35922A1A15B393   MADLEEN        REYES                      OR     90013850101
3592372722B871   NANCY          EAKIN                      ID     42006507272
3592485938B16B   ASHLEY         DUKE                       UT     90001078593
3592485A72B871   LUIS           SANDOVAL                   ID     90009588507
3592525A52B835   CAMI           TURGURNO                   ID     90013072505
3592527A555936   SERGIO         FRANCO                     CA     90014752705
3592534515B344   LILIAN         ESTRADA                    OR     90013133451
3592578247B639   ROBERT         ALDERETE                   GA     90013867824
359262A1591563   MERCEDES       YANEZ                      TX     90007952015
35927247A2B835   WILLIAM        SWAPP                      ID     90011532470
35927539A91371   TOBIAS ALLEN   DARNIELLE                  KS     90014395390
35927648A5B52B   MARICELA       ANDAZOLA                   NM     35018136480
35927A86885943   HARLOD         WIGLESWORTH                KY     90014130868
3592838A85B52B   JAMES          DIAZ                       NM     35007023808
3592883694B275   MARISA         MIRAMONTS                  NE     90012168369
35929A6A191584   MARIA          ARROYO                     TX     75077950601
3592B47875B344   BECKY          ANN                        OR     90007674787
3593113614B281   NICOLE         COTTEN                     NE     27087111361
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3593113A661963   DESTENY        MATHENY                    CA     46014011306
3593114345B344   ROBERT         MEDLEY                     OR     90013451434
35931238A91584   ELVIA          AGUILAR                    TX     90014672380
359312A167B492   THERESA        WATKINS                    NC     90011152016
3593155955B156   JOHN           WARD                       AR     90000665595
359315AA55598B   MANUEL         IZQUIERDO                  CA     90014095005
35931853A4B275   LOU            BUCK                       NE     27040688530
35931A74A91563   RICHARD        DOMINGUEZ                  TX     75084120740
3593213315598B   OLGA           VALDEZ                     CA     49071601331
3593234265B393   ASHLEY         ARCIGA                     OR     90014543426
3593289118B273   JOSE           PEREZ                      VT     90015478911
35932A28547931   FREDERICK      BARKER                     AR     90014760285
359332A3591232   JAMES          SIMS                       GA     14588652035
3593359234B275   SHAUN          PASEWAOK                   NE     90010485923
3593399A191563   ERNESTO        AMEZAGA                    TX     90015129901
35934333A7B492   CRYSTAL        GARRISON                   NC     90014653330
3593447389379B   RENEE          MILLER                     OH     90008734738
3593469462B871   TIM            ARNETT                     ID     90015006946
3593473475B344   BETH           COLE WOODRUFF              OR     44545147347
3593477797B425   YVONNE         SHARPE                     NC     90014867779
3593527785B52B   VINCENT        ALDERSON                   NM     90010662778
3593549355B393   NORA           MAKIN                      OR     90015404935
359355A3291584   CYNDIL MARIE   APODACA                    TX     90011815032
359362A962B871   CANDICE        SIMPSON                    ID     42088052096
35936A2487B639   KIANA          RAMOS                      GA     90014610248
3593732422B835   MICHAEL        MAIN                       ID     90013773242
3593735425B52B   CARLSO         CHEVEZ                     NM     90002873542
35937466A55972   YVONNE         CARRASCO                   CA     48035734660
35937795A91584   ROBERT         KYLE                       TX     90010767950
35937A4694B281   LEDENE         PEARSON                    NE     90013740469
35937A63855936   GEREMIA        ALEJANDRO                  CA     90015470638
3593811395B393   RAGINA         GRAY                       OR     90012301139
35938411A5B344   MIGUEL         GARCIA                     OR     90012374110
3593975357B471   CHRISTOPHER    STORM                      NC     90013287535
3593983954B281   SANDRA         GUILFOYLE                  NE     27056938395
3593991615B23B   TIM            PRINCE                     KY     90006049161
35939AA9447931   KATHERINE      SMITH                      AR     90010990094
3593B85635B393   ALEX           DAVIS                      OR     90011688563
359424A922B835   JEFF           WESTBROOK                  ID     42033394092
3594254594B281   BRIAN          ALLEN                      NE     27032785459
3594523334B275   MEAGAN         GUBSER                     NE     90008002333
3594586297B639   EVA            SANAGUSTIN MORENO          GA     90013508629
3594612435B344   DARLA          DUNHAM                     OR     90005601243
3594643182B871   GINA           MALONEY                    ID     90010844318
35946543A54165   DAVID          HAWK JR                    OR     90012915430
3594665394124B   DEBRALYNN      FERRARO                    PA     51029026539
3594743445B393   HOM            NEPAL                      OR     90001864344
3594759A391563   PETER          NERIA                      TX     90010885903
3594791112B835   YOLANDA        CUEVAS                     ID     42053949111
35947A87991584   MARIA          ALVIDREZ                   TX     90011670879
3594868192B87B   ZACHARIAS      HERNANDEZ                  ID     90004786819
3594911824124B   SHERVA         WOODS                      PA     90012651182
35949451A72441   RONALD         CAMPBELL                   PA     90001564510
3594B258947931   TIMOTHY        ROBERTS                    AR     25061772589
3594B41797753B   ROBERTO        TORAL-RODRIGUEZ            NV     90012624179
3594B66784B275   DOMINGO        RALIOS                     NE     90014856678
3594BA97591584   WILLIAM        ALEMAN                     TX     90011670975
3595155212B87B   KC             FARRAR                     ID     42081885521
359517A5941258   AMY            SCHMIDT                    PA     90011187059
359518A558B16B   ROBERTO        VILLARREAL                 UT     90004648055
3595227765B393   DEBRA          POWERS                     OR     90013392776
3595325827B492   MARIA          MONZON                     NC     90001792582
35953463672B76   DAVID          PADILLA                    CO     90002904636
3595366534124B   SHANNON        GRUBER                     PA     90014286653
3595424894B281   JEREMIAS       MENDOZA                    NE     27005712489
35954525A4B275   KATY           PAFFORD                    NE     90003505250
35954612972B76   LEONEL         FLORES                     CO     33063276129
35954A89261973   JESUS          FIGUEROA                   CA     90009640892
35955431A91891   MARIA          CALVILLO                   OK     90015174310
3595544397B639   ASHLEY         DOZIER                     GA     90014864439
3595545915B393   DARRAN         WESTFALL                   OR     44534664591
359554AA64B281   CHRISTINA      FOOTE                      IA     27091914006
3595586A67B425   SHERJUARA      BAXTER                     NC     90014868606
359559A1391891   AMANDA         CAMPBELL                   OK     90012029013
35955A3877B425   PAYGO          IVR ACTIVATION             NC     90010190387
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35955A85154165   JOSHUA         BUCKLEY                    OR     90010580851
3595631313B352   DAVID          GALLEGOS                   CO     90013293131
3595732335B52B   PAUL           VANDECAR                   NM     35057593233
3595783117B639   ANDREW         PARIS                      GA     90013518311
35957899A5598B   JOSEPH         LANEY                      CA     90014848990
3595799772B87B   TENNILLE       MURPHY                     ID     42089689977
35957A2113B325   CARLOS         VILLALOBOS                 CO     90009640211
3595846958B16B   RANDY          RUPE                       UT     90003464695
3595851617B639   TAWONDA        MATHIS                     GA     90014635161
35958A92757121   MIGUEL         LAZO                       VA     90012730927
3595912852B871   NOOR           ARABZADA                   ID     42086961285
3595943315B393   HEATHER        SIMERSON                   OR     90010304331
3595977A131424   KEVANTE        BOYD                       MO     27517507701
35959981A2B87B   JUDY           RUSSELL                    ID     42016559810
3595B38292B871   JOSE           REYES                      ID     90012243829
3595B539741258   JEFFERY        THERMOND                   PA     90013755397
35961369A5B393   EDWARD         MITCHELL                   OR     90014333690
35961536A2B871   FRANCISCO      CONTRERAS                  ID     90014865360
3596229255B393   JENNIFER       BLAYCLOCK                  OR     44588492925
3596262A18B191   SHAWANA        BENTLEY                    UT     90006656201
3596363812B871   YURI           FRENEITES                  ID     90007816381
3596422A361557   RICARDO        PENA                       TN     90015432203
3596447747B386   DAVID          CRUZ                       VA     90011624774
359644AA591891   KELLEY         JACKSON                    OK     21052844005
3596516255B393   REX            PAYNE                      OR     90013301625
3596518224B281   KACETTA        ONEFEATHER                 NE     90007871822
359652A9A7B639   ELKI           VAZQOEZ                    GA     90012412090
35965A5794B275   DAVID          ADAMS                      NE     27056410579
35965AA9772B76   DOLORES        BERUMEN                    CO     33068340097
35966628A7B657   ZAVIER         CAREY                      GA     90010226280
3596671875B393   CHRIS          OMOLETSKI                  OR     90007017187
3596685915B344   LULIT          HAILE                      OR     90011868591
3596693117B492   LUIS           MIGUEL MEDEL PIZA          NC     11063239311
35966A36291584   FRANCISCA      DURAN                      TX     90013010362
3596714189375B   EMEKA          NIFFA                      OH     90014041418
3596754145B344   MIKE           RAND                       OR     90004175414
3596774425B393   PEDRO          CHAVEZ GOMEZ               OR     44516097442
3596792828B166   TAMI           HOLLY                      UT     31057459282
3596846195B52B   JOE            PACHECO                    NM     90014414619
35968471A31424   WENONA         BAKER                      MO     90014654710
3596894642B87B   JOHN           WAGNON                     ID     90012079464
3596B454A61963   KENNETH        DUKES                      CA     90010564540
3596B77397B425   ROKESHA        DANIELS                    NC     90013087739
3596B91165B52B   LANCE          CARDONE                    NM     90000799116
3596BA85355936   KAREN          VELASQUEZ                  CA     49011550853
3597138652B835   DANIJEL        TRAVAR                     ID     42059023865
3597195A98B16B   JENNIFER       GUTIERREZ                  UT     90012979509
3597198324B954   ODEL           FORBES                     TX     90009069832
3597419A99125B   GLORIA         JOHNSON                    GA     90006071909
35974352A8B166   CLAY           KOURBELAS                  UT     90004283520
3597475782B835   CHRISTINA      SPROAT                     ID     42017557578
359755A6541258   MICHAEL RORY   BENN                       PA     90012705065
3597625298B16B   VANESA         RAMOS                      UT     31017102529
3597633685B344   HUMBERTO       RAYA                       OR     90014633368
3597656195598B   DIANNA         RODRIGUEZ                  CA     90010725619
3597689312B87B   PATRICIA       STIMSON                    ID     42015058931
3597723364B281   ADAM           GALLAGHER                  IA     90010562336
3597832125B52B   WESLEY         WINKLEPLECK                NM     35068133212
3597859495B344   SEVERO         BRANO                      OR     90013295949
3597867137B639   TAMARA         STARK                      GA     90010466713
35978A74A7B639   WALTER         BRIDGES JR                 GA     15063430740
35978A9935B52B   DEANNA         HERRERA                    NM     90006060993
35979437A3B332   LYNN           BROWN                      CO     90010104370
3597986424124B   WILLIAM        SNOOKS                     PA     90010118642
3597B13277B471   OUSMANE        KONE                       NC     11061261327
3597B136955931   RAUL           DELATORRE                  CA     90013011369
3597B413A93761   DETASHA        LOWE                       OH     90012204130
3597B429191563   JAZMIN         PARRA GUILLEN              TX     90014374291
3598263317B639   MARCY          WALKER                     GA     15004076331
35982A98541258   DAVE           WOOD                       PA     90013900985
3598311135B344   IGNACIO        PENA                       OR     90011571113
3598319667B492   DIANA          CROMER                     NC     11049791966
3598345427B639   JOEDAVE        ROBERSON                   GA     15012964542
3598349552B871   RICHARD        MATA                       ID     90014824955
3598377A22B871   CHARI          SMITH                      ID     90011977702
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3598384A42B87B   JOSHUA       LUNDQUIST                    ID     90004428404
3598418173B352   KATHRYN      MARES                        CO     90008241817
35986281144B45   GILBERT      GLASS                        OH     90014112811
3598655528B179   VICTORIA     SANCHEZ                      UT     90013955552
3598677842B87B   KRYSTAL      ESTERLINE                    ID     42083977784
35986A45691869   MANDIE       CRAWFORD                     OK     21070910456
3598715182B835   DANIEL       EVANS                        ID     90014781518
3598825665B141   ELIZABETH    GRAVES                       AR     90013702566
3598826A45B344   AMY          DEROSSO                      OR     90002252604
3598973384B281   JESSICA      PITT                         IA     90007207338
3598B259391584   JASMINE      LICON                        TX     90014672593
3598B613761963   COURTNEY     ALTMAN                       CA     90011296137
3598B7A3291563   RAMON        ARREOLA                      TX     75058917032
35991A93631424   CURTISTEAN   DOSS                         MO     90011330936
3599227725598B   ESMERALDA    RECENDEZ                     CA     90005692772
359926A567B492   JOHANNA      JOHNSON                      NC     90013566056
35992A23855972   DENNIS       KINCAID                      CA     90007990238
35992A59691371   FAUSTO       CASTANEDA                    KS     90007060596
3599313575B393   LOLA         SANCHEZ                      OR     44556551357
359931A964124B   LISA         IRWIN                        PA     51093991096
3599413575B393   LOLA         SANCHEZ                      OR     44556551357
3599434722B835   BROOKE       RAST                         ID     90012133472
3599461345B344   NARCISO      CRUZ RODAS                   OR     90013696134
35994A96591563   CELINA       RODRIGUEZ                    TX     90002230965
35995A76355972   ESPERANZA    REYES                        CA     48059770763
3599617552B871   JOY          BURNIGHT                     ID     90013291755
3599645545598B   JAMIE        VASQUEZ                      CA     90013604554
3599668A57B639   STEPHANIE    RENA LUKE                    AL     90012626805
3599678922B87B   ELLEN        RILEY                        ID     42091367892
3599771A484345   PATRESA      POMPEY                       SC     90014707104
35997A76691831   TEVIN        ROBERSON                     OK     90011600766
3599929A391584   STEPHANY     HERNANDEZ                    TX     90001722903
35999A58597153   DEBBIE       HYNEMAN                      OR     90008680585
3599B67A191831   THEO         MCCULRE                      OK     21065386701
359B122263B152   JAMES        FLOYD                        DC     81015572226
359B154A531424   CHRIS        STRATE                       MO     90009045405
359B1A1472B871   JAMES        SULLIVAN                     ID     42005930147
359B2379441258   TIARA        JOHNSON                      PA     90013013794
359B294754B281   DECHELLE     STARKS                       NE     90008179475
359B296142B87B   ROBERTA      GROTH                        ID     90013769614
359B299272B26B   YIETA        JOHNSON                      VA     90014849927
359B2A4774B275   ELIZABETH    ZASTERA                      NE     90014610477
359B324817B492   SODONIA      LEDET                        NC     90014652481
359B359A95598B   AUGUSTA      MAXWELL                      CA     90014825909
359B4283133681   VIRIDIANA    GUTIERREZ                    NC     90012492831
359B4A3934B275   JUSTIN       BAKER                        NE     27003020393
359B526165B375   BRANDON      PUGH                         OR     90013592616
359B543A15B52B   KATHLEN      DYER                         CA     35056854301
359B597115B344   ARACELI      TORRES JAIMES                OR     44528959711
359B5A5A791538   ALBERTO      GONZALEZ                     TX     75093570507
359B69A3491584   ANASTASIO    BUASTAMANTE                  TX     90012159034
359B6A82591563   MERCEDEZ     GUTIERREZ                    TX     75010630825
359B7177691371   GRECIA       ARROYO                       KS     90005681776
359B7289391891   MARTA        STARR                        OK     90010182893
359B745A14B281   STEPHANIE    POPE                         NE     27033634501
359B77A372B871   KELSEY       NELSON                       ID     90013767037
359B786912B835   EMELY        JEFFREYS                     ID     90015088691
359B7946155972   CRYSTAL      ARRIAGA                      CA     90011109461
359B7A7754B275   JUAN         AXUME                        NE     90014480775
359B852A132573   AGUSTIN      PEREZ                        TX     90015025201
359B8554355972   CRYSTAL      QUINTANA                     CA     90003985543
359B878754124B   SYLVIA       MATHEWS                      PA     90014887875
359B881785B344   MISTER       MEANER                       OR     90015128178
359B8866491563   FRANK        MARTINEZZ                    TX     75056468664
359B8A5A82B835   JEFF         PALAGI                       ID     90003010508
359B936A261963   PEDRO        LOPEZ                        CA     46082783602
359B94A165B52B   KAYLA        RASMUSSEN                    NM     90013944016
359B985594B275   MARIA        GONZALEZ                     NE     90006078559
359B9862172B25   VERONICA     HART-TAYLOR                  CO     90012748621
359B9A36391584   NORAH        QUIZ                         TX     75035920363
359BB15294B281   MICKI        CARR                         NE     90014931529
359BB667255972   JOSEFINA     CAVALLERO                    CA     90013046672
359BB691155936   HERMELINDA   ZENDEJAS                     CA     49067206911
35B11122855936   BARBARA      GIL                          CA     90011931228
35B11235A55947   GUSTAVO      JORGE                        CA     90008272350
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35B1124347B425   RODNEY       LIVINGSTON                   NC     11093152434
35B11359955972   ERIKA        RODRIGUEZ                    CA     48052483599
35B1198914B281   KELLY        COX                          NE     27074929891
35B12375A8B16B   JEFF         JOHNSON                      UT     90008303750
35B1243845B393   MICHEAL      STOY                         OR     90001044384
35B12711191563   RODRIGUEZ    VIRGINIA                     TX     90008657111
35B12A1137B639   TONIKA       MURPHY                       GA     90010380113
35B12A4115B252   SINDA        BISACKY                      KY     68014770411
35B1337175B52B   HECTOR       GUTIERREZ                    NM     35066363717
35B13438341258   VIRGINIA     PETERS                       PA     51041674383
35B13746291584   ATELIANA     SELESITINA                   TX     90011787462
35B1375335B344   JACQUELYN    SMITH                        OR     44596977533
35B13878651382   JORGE        DOMINGUEZ                    OH     66046138786
35B14432291563   ARTURO       ASTRORGA                     TX     75004774322
35B14633447931   CARLOS       LEMUS                        AR     90006726334
35B1474684124B   NICOLE       JAMES                        PA     90014327468
35B14772791891   WILLIAM      DIDWAY                       OK     90013287727
35B14A87A7B471   TAMMY        PETTYJOHN                    NC     90004230870
35B15245755972   MIA          MEEKS                        CA     90013392457
35B1539767B449   ANGEL        DOMINGUEZ                    NC     90012413976
35B1543395B52B   CAMARENA     ISELA                        NM     90006594339
35B1559A18B16B   WENDY        GROW                         UT     31007605901
35B15768341277   BONNIE       THOMPSON                     PA     51085097683
35B15927554165   DAVID        MAISH                        OR     47075509275
35B1623115B344   ALLEN        COONS                        OR     44591072311
35B1637464B281   STEFANI      SAMUELS                      NE     90012173746
35B16617191584   KATIA        GARDEA                       TX     90011646171
35B16948691232   TIESHA       RHANEY                       GA     90004539486
35B17175291891   JERRY        SMITH                        OK     90013551752
35B17343531424   CHELSEA      THOMAS                       MO     90003913435
35B1735AA61925   MELVA        CASTRO                       CA     90012193500
35B1762962B871   JASON        BLANKENSHIP                  ID     42078556296
35B18422291831   KYISHA       LENTZ                        OK     90009544222
35B18613891563   BELEN        LOPEZ                        TX     90011086138
35B18628491891   JOANNA       GALLEGOS                     OK     90014336284
35B1883535B52B   DOLORES      VASQUEZ                      NM     90011808353
35B188AA24124B   CONNIE       WIMBUSH                      PA     51095408002
35B189A6754165   TALAYKA      SZILLAT                      OR     90014689067
35B18A71271996   BARBARA      LOWERY                       CO     32011340712
35B1B131A4B281   SHANA        HAZEN                        NE     90013301310
35B1B96263B352   JACOB        RUFF                         CO     33018659626
35B1B977A55936   RIANNA       MARTINEZ                     CA     90015339770
35B21197731424   RYAN         BLANCHARD                    MO     90010381977
35B217A565B156   DONATO       TORRES                       AR     23091447056
35B21A53141431   VALESIA      RODGERS                      WI     90003880531
35B21A56891831   KASSI        SHIELDS                      OK     21039900568
35B2219156192B   DOLORES      PALOMINO                     CA     90007491915
35B22237A9155B   ANALU        SOLIZ                        TX     90007892370
35B2256862B835   JESSICA      PARTON                       ID     90014605686
35B22599331424   CHERYL       SHUMATE                      MO     90014515993
35B2266775B233   NICOLE       BOYD                         KY     90013136677
35B22A7425B156   CESAR        LINARRES-MARTINEZ            AR     23081020742
35B2335738B166   ARMANDO      MABIL                        UT     90008993573
35B23865991831   DESTINY      THOMAS                       OK     90011558659
35B23943791563   LUIS         MELENDEZ                     TX     75089719437
35B2453834124B   CHARLENE     WEBB                         PA     90012595383
35B27415572B76   GAYLE        HANN                         CO     33082334155
35B27653651339   BRET         LAND                         OH     90006896536
35B27685891831   BILLY        HARJO                        OK     90015166858
35B278A415B385   KIMBERLY     SCHIEWE                      OR     90000498041
35B27A9292B835   MANE         VERA                         ID     90014160929
35B2857A32B835   MAISARA      MATATA                       ID     90013305703
35B2859664B275   TYLER        SPRACKLIN                    NE     90015435966
35B2867474B281   NINA         LUICILLE                     NE     90008906747
35B286A2141258   MIKE         WOODSON                      PA     90005496021
35B28846441285   MATIKA       BROWN                        PA     90014018464
35B28927651382   BELCI        ORTIZ                        OH     66050739276
35B28A26A7B425   MINOR        TRISTAN                      NC     90012390260
35B2B16597B425   JAMES        SHUFORD                      NC     90001011659
35B2B329155936   MILDRED      LAMATTINA                    CA     49080963291
35B2B35315B23B   BRANDI       MACK                         KY     90012363531
35B2B381555972   JOEY         PERRY                        CA     90009583815
35B2B824791563   NORA         LOPEZ                        TX     90013968247
35B2BA1385B156   DANTE        MILES                        AR     23078120138
35B31385961963   JEAN         ANGAYEN                      CA     46076323859
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35B3141577B492   FANIELLE     ROBINSON                     NC     11077624157
35B31585791831   DERRICK      FARLEY                       OK     90014885857
35B3161A68B16B   ISABEL       BASSETT                      UT     31089896106
35B31966991584   THIAGO       FIALA                        TX     90011599669
35B3221615B393   MIGUEL       DAVILA LOVERA                OR     44574892161
35B32571491525   DAVID        GONZALEZ                     TX     75053765714
35B3338A991371   DIDIER       HERRERA                      KS     90011313809
35B33592972B76   GREGORIO     GOMEZ                        CO     33069965929
35B3392262B87B   ALEXIS       BEARD                        ID     90014149226
35B3449625598B   VICTORIA     BALERO                       CA     49044754962
35B3498557B639   PAULETTE     HOWELL                       AL     90014739855
35B34A99654165   DONNA        STUCKY                       OR     90015230996
35B3514697B425   CHAD         WHITE                        NC     90013921469
35B35635A5B344   CHRISTIAN    VAZQUEZ-RAMOS                OR     90012366350
35B35731241285   JOSEPH       FLORIOLLI                    PA     90006237312
35B35931691584   LORRAINE     ESTRADA                      TX     90014659316
35B35A2354B281   KELVIN       CULLINS                      NE     27085440235
35B35A93363629   LINDA        MCKINNEY                     MO     90011890933
35B3622795B393   ATLANTIDA    LANE HOWE                    OR     90013932279
35B3623565B344   JACOB        REAM                         OR     90012002356
35B37132291584   LORENZO      CASTILLO                     TX     90008761322
35B37481191891   CHARLES      GAYE                         OK     21021004811
35B3762837B425   TOBE         ONWENN                       NC     90008826283
35B37928555972   DAVID        RAMIREZ J.R                  CA     48076779285
35B37A5824B563   RAUL         TORRES                       OK     90010780582
35B3837A555972   ADA          COTA                         CA     90009743705
35B3865272B835   ALMA         ORTIZ                        ID     90003406527
35B38832891584   ALFONSO      CHAVARRIA                    TX     75035628328
35B3889A331424   SEJI         EDWARDS                      MO     90012148903
35B3896172B871   ANDREA       GRIGGS                       ID     42071529617
35B3912674B275   DUSHUAN      HOGAN                        NE     90015031267
35B3B598933682   PEDRO        MORAN                        NC     90006035989
35B3B5A174B275   ICEL         CASTELLANO                   NE     90015555017
35B3B68824124B   ANDREA       BELLAVANCE                   PA     51082026882
35B4113192B87B   BRYAN        SOMERVILLE                   ID     90013301319
35B4136675598B   JORGE        PARKKERR                     CA     90005963667
35B41372772B76   BRITTANY     SENA                         CO     90006003727
35B4187942B835   GERARDO      SAMANO                       ID     42015918794
35B418A8755936   LIZBETH      MARQUEZ                      CA     90007538087
35B4195454B281   FREDDY       ALCORN                       NE     27059589545
35B41968141285   NICOLE       DIX                          PA     51044319681
35B42285261963   KEVIN        GALLAGHER                    CA     90000612852
35B4237917B639   RENAE        HOMAS                        GA     90002643791
35B4258834B281   MARKELL      PARKS                        NE     90014155883
35B4282729125B   MELODY       ROWE                         GA     90005578272
35B4311944B275   CRYSTAL      ROBERTS                      NE     90001421194
35B4354145B344   MIKE         RAND                         OR     90004175414
35B435A9461963   KEVIN        GALLAGHER                    CA     90012445094
35B4395A391891   DORETHA      LEE                          OK     90011319503
35B4443678B16B   JARED        EMPIE                        UT     90010324367
35B4461117B639   LATASHA      CRAWFORD                     GA     15051126111
35B4477894B281   JOSHUA       OJOMO                        NE     90012727789
35B4537A35B393   CARRIE       TODD                         OR     90014603703
35B4545495B156   BRENDA       REED                         AR     23089384549
35B4547934124B   ZIAIRE       JONES                        PA     90013194793
35B454A2A47931   OSCAR        MONSEVAIS                    AR     90013624020
35B4614A761963   HECTOR       HERNANDEZ                    CA     90009721407
35B46885191563   VICTOR       MORALES                      TX     90009938851
35B4743697B471   LAMONT       TONSUL                       NC     11004824369
35B478A922B835   TONY         EAGANS                       ID     90015308092
35B47952141258   ZACHARY      BRENNER                      PA     51077479521
35B47A79584351   CAROLINE     BROWN                        SC     90001610795
35B4815857B449   CARMEN       MALDONADO                    NC     11025391585
35B482A5354165   DEENA        HOGAN                        OR     47023602053
35B48341991563   DELFINA      FLORES                       TX     90004843419
35B48458931424   TIMOTHY      LOEHR                        MO     90007994589
35B48533654B27   CYNTHIA      CRAIN                        VA     90006305336
35B487A774B281   KAREN        OCHOA                        NE     90015117077
35B48A75755936   JENNIFER     MONTGOMERY                   CA     90015500757
35B48AA7741258   PAMELA       BROWN                        PA     51086670077
35B4984515B344   LEMUS        DE RODAS                     OR     90013218451
35B49A5685B546   ARFAEL       VARELA                       NM     90010220568
35B4B787447931   LYDIA        UPTON                        AR     90009987874
35B51221341258   DOROTHY      MARANO                       PA     51007812213
35B51737151382   JOHN         CANNON                       OH     66051787371
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35B5182AA91584   ROBERT          GARCIA                    TX     90014668200
35B5188635B393   LINDA           HOLEVAS                   OR     90015318863
35B52384A91371   WILLIAM         BROWN                     MO     90014873840
35B52398961963   MICHELLE        MCDONALD                  CA     90011263989
35B52613551382   DAWN            TUCKER                    OH     90005696135
35B5285365B52B   AMANDA          CORDERO                   NM     35082908536
35B5352552B871   DAWN            MONTANO                   ID     42050945255
35B5371942B87B   ROCIO           REYES                     ID     90012417194
35B5376397B425   CHARLOTTE       STEELE                    NC     90002497639
35B53787255936   EDELIA          CORTES                    CA     90015317872
35B5421617B43B   FELCIA          GARNER                    NC     11028142161
35B542A395B393   CHARITY         KEYES                     OR     44592382039
35B54952791891   VIVIAN          PAGE                      OK     90008969527
35B54A24A2B87B   JESSE           SWAIN                     ID     42017500240
35B5544897B639   DEANNA          SMITH                     GA     90014854489
35B5565494B275   ZACHARY         HADDEN                    NE     90012266549
35B56117A54165   JEFFERY         FINSTER                   OR     90010571170
35B5612985B156   JANEA           THOMAS                    AR     90014661298
35B56199554165   BRITTANY        BABB                      OR     90014721995
35B56918541258   SHANNON         REIGHERT                  PA     90010149185
35B569A8491891   ZACH            STEVENS                   OK     90010319084
35B5761A37B449   DAVID           LITTLE                    NC     11062416103
35B57723291371   JOSE            ORDAZ-MOTA                KS     29019457232
35B582A7947931   CHRISTINA       CROSSLAND                 AR     25033122079
35B5858447B471   RAMONE          FOMBY                     NC     90000505844
35B5876335B393   PHILLIP         SIMS                      OR     90004987633
35B58A95755936   MARIBEL         GARCIA                    CA     90012800957
35B5934574B275   ALANNA          GIBSON                    NE     27042523457
35B59393A91891   LISA            SPRADLIN                  OK     90010813930
35B5945565B344   JADE            FREUND                    OR     44550054556
35B598A4357B79   TATIANA         ROMAN                     PA     90014388043
35B5B42357B449   PHILLIP         ANABEL                    NC     90011824235
35B5B94118B16B   DAVE            KING                      UT     90014829411
35B61116A5B393   ROBERTO         LOPEZ                     OR     44550351160
35B61445254165   GLENN           JAMES                     OR     90010764452
35B6165115B344   EIZER ENRIQUE   CHAVARREA CHIM            OR     90015126511
35B6277517B639   LAKETHIA        FORD                      GA     90011427751
35B6291A555972   RICHARD         HAMILTON                  CA     90010919105
35B6295652B835   GABINA          MENDEZ JIMENEZ            ID     90014549565
35B62A51391891   ELIZABETH       GROSS                     OK     90002830513
35B63428547931   MASON           DELUCCI                   AR     90011364285
35B6359615B156   COURTNEY        BOOTH                     AR     90012565961
35B6363A72B835   ANTHONY         CUMMINGS                  ID     90013536307
35B6382729125B   MELODY          ROWE                      GA     90005578272
35B6398434124B   JENNIFER        ORTIZ                     PA     90014909843
35B6398922B871   EULID           HENRY                     ID     90012629892
35B6432345B545   PAUL            MARQUEZ                   NM     90014683234
35B6453672B871   MICHELLE        PRUITT                    ID     90012435367
35B64A11661963   TORIBIO         GUERRERO CALOCA           CA     90005600116
35B65117855972   LINDA           LEDBETTER                 CA     48038061178
35B65267841285   WILLIAM         CROWELL                   PA     90014512678
35B65517A4B275   DALTON          PERRY                     NE     90014105170
35B6564588B166   HURLEY          ASHAVETT                  UT     90003506458
35B65811741258   MAHAWA          SHERIFF                   PA     90010718117
35B65A45951594   BRANDI          MCFADDEN                  IA     90014510459
35B65AA4851369   SAJAH           WOODS                     OH     90008490048
35B6624A554165   CHAVEZ          CHAVEZ                    OR     90014722405
35B6643614B281   CRHISTIAN       ROJAS-ROSETE              NE     90013814361
35B66743861963   KELLY           BRIGEFORTH                CA     90008517438
35B67139994997   KELLY           WARD                      CA     90014241399
35B67447857B79   THOMAS          HOGAN                     PA     90014874478
35B674A8233B57   NATHANIEL       MCDONALD                  OH     90014134082
35B67743861963   KELLY           BRIGEFORTH                CA     90008517438
35B6841854B559   OLGA            CARREON                   OK     90010024185
35B6B327A55936   LEYDI           DAZA                      CA     90008423270
35B6B986655972   TANAJA          ANDREWS                   CA     48059189866
35B6BA89272B32   RYAN            MCPEAK                    CO     90012060892
35B713A837B639   TYECHA          ERIGHT                    GA     90013973083
35B7153847B492   TAMMIE          HELMS                     NC     90000365384
35B7194A12B835   ALEX            PERCOLLA                  ID     90009969401
35B72342291371   JAYMUS          SMITH                     MO     29034163422
35B72372A5598B   ELIZABETH       YANEZ                     CA     90014743720
35B7278175B52B   GABRIEL         SANCHEZ                   NM     35006007817
35B72A5427B639   DAQUANE         WILLIAMS                  GA     90011250542
35B7311484B541   MARTY           DE-LEON                   OK     21587321148
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35B7426A854165   THOMAS       MILLER                       OR     90015262608
35B7447417B449   STEPHEN      PERKINS                      NC     90007284741
35B74681691525   TABATHA      VALDES                       TX     90010346816
35B75137891563   CARMEN       DURAN                        TX     75062871378
35B75A9A833682   BRIANNA      BRASWELL                     NC     90001620908
35B7678862B871   CHARLOTTE    KNAPP                        ID     90010077886
35B7685628B166   NORMINE      B JON                        UT     90005448562
35B7693617B449   RHONDA       SHIPP                        NC     90003009361
35B771A922B871   STEVE        COLEMAN                      ID     42090251092
35B77327A4124B   JAMES        FRANKLIN                     PA     90013473270
35B78172291891   KAREN        SWENSON                      OK     90010891722
35B78196891563   ZULEMA       BERNAL                       TX     90007841968
35B7822A14B281   MAURICES     SCOTT                        NE     90014832201
35B7828A561963   FILIMON      BUSTOS                       CA     90011502805
35B7847222B835   RAYMOND      RANSON                       ID     90009644722
35B7854A75B344   DOUGLAS      DENBOLE                      OR     90008085407
35B78694855936   GINA         SOLIS                        CA     49064396948
35B78962955972   NORA         ALVARADO                     CA     90011399629
35B78A53941285   BRITNEY      BARNES                       PA     90014250539
35B7B163191831   TAMMY        ROGERS                       OK     90003461631
35B7B16818B147   MARCO        ALMONTE                      UT     31082911681
35B7B463147931   SAM          ROBINSON                     AR     25034244631
35B7B656591831   CHELSEA      ALLRED                       OK     90013366565
35B7B88685B156   TABITHA      RICKS                        AR     23056598868
35B7BAA1191584   RACHEL       RIOS                         TX     90008340011
35B8156825598B   BOBBY        GONZALES                     CA     49046355682
35B81579254165   MISTY        SHNEIDER                     OR     47089235792
35B8173864B275   JOSH         COBERLY                      NE     90015577386
35B8184A15B156   AMANDA       DAVIDSON                     AR     90010508401
35B81A1A85B393   LISKA        BATES                        OR     44514680108
35B82254841258   JOHN         NOCINE JR                    PA     90013572548
35B822A1A55936   MORRIS       DAVIS                        CA     90015332010
35B82A2622B835   MARLEN       SANCHEZ                      ID     42025300262
35B82A27A4B281   GARY         MILLER                       NE     90009390270
35B8353182B87B   JUDITH       OSBORNE                      ID     90009725318
35B84272191563   ALMA         RUIZ                         TX     75031232721
35B84331791371   JUAN         MARTINEZ                     KS     90014813317
35B8462119125B   JANDALIRA    HAWKINS                      GA     90009386211
35B8491638B166   MILTON R     BOWCUTT                      UT     90004079163
35B84A77155972   KIMBERLY     SEPEDE                       CA     48031320771
35B8588597B492   ASHLEY       STROTHER                     NC     11001218859
35B8619465B536   ELVIS        RODRIGUEZ                    NM     90002011946
35B862A5691371   TAMALA       HENDERSON                    KS     90013352056
35B86479485943   CANDI        GREEN                        KY     90005574794
35B86579A91891   NEANDREA     HARRIS                       OK     90011065790
35B86A92433688   DEMETRIUS    WHITE                        NC     90005180924
35B87114931424   MADELINE     CUTTS                        MO     90013861149
35B8741234124B   KENNETH      MINTON                       PA     51014914123
35B87527355972   JULIAN       SALINAS                      CA     48048835273
35B8761825598B   JOSEPH       FERRARO                      CA     90000126182
35B87AA498B166   ANDREW       CLARK                        UT     90006250049
35B883A917B471   SURAJ        BHUJEL                       NC     90011563091
35B89242255936   ANTHONY      SOLIS                        CA     90015572422
35B8951265598B   LOPEZ        ADRIANA                      CA     90005785126
35B8985A461963   MYCHAQUELL   SHIELDS                      CA     90012358504
35B8B773631424   VAN          THANG                        MO     90014517736
35B91985981667   BRANDON      REED                         MO     90014689859
35B92465757B79   JUSTIN       YOURGLIVCH                   PA     90014874657
35B9248912B835   NICHOLE      GONZALES                     ID     42038214891
35B9259A65B344   LANDY        PINON-GONZALEZ               OR     44559775906
35B92961755972   GRACIELA     GARCIA                       CA     90011029617
35B93743A91831   JEANNINE     COKER                        OK     21032127430
35B93A3A791563   NOEMI        REAZOLA                      TX     75069150307
35B93A64241285   DOREEN       LEWKOWICZ                    PA     90014250642
35B9433A991831   RODRICK      WHITESIDE                    OK     90014703309
35B9464792B835   PORFIRIO     CERDA                        ID     90014876479
35B94656591831   CHELSEA      ALLRED                       OK     90013366565
35B9493384124B   SALIM        BAMIRA                       PA     90014769338
35B9539A891831   KIMBERLIE    PENDERGRASS                  OK     90014813908
35B953A832B835   ANDY         SCHANZ                       ID     42060573083
35B96136291371   ALUDA        WANA                         KS     90015001362
35B9625A65B52B   MICHAEL      PINO-FERNANDEZ               NM     90013332506
35B96A46891584   JESSICA      HERNANDEZ                    TX     90011650468
35B97159991371   FELIX        VIDARTE                      KS     90013891599
35B97168776B8B   GUADALUPE    TORRES                       CA     90001031687
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35B971A614124B   CHRISTINE     MCANDREWS                   PA     51033251061
35B97286191563   JONATHAN      RIOS                        TX     90013532861
35B9732627B639   RICARDO       RIVERA                      GA     90012293262
35B97741391232   JONAH         BRYANT                      GA     14580387413
35B97929654165   JAMES         KASHUBA                     OR     90014989296
35B98293891371   BRAINNA       NOEL                        KS     90010822938
35B98321A4124B   DAVID         MARUSCAK                    PA     51018013210
35B9861883B132   WILMER        JUAREZ                      MD     90006786188
35B9869312B87B   BILLIE        KILLIAN                     ID     42017506931
35B98A6887B639   KRISTINA      JORDAN                      GA     90014580688
35B9918368B166   JAMES         ALEXANDER                   UT     31024801836
35B9997245B177   JAVIER        PAREDES                     AR     90013909724
35B9BA35355972   MIKE          BOLEY                       CA     48033980353
35BB1247654165   ESSA          GANDY                       OR     90014672476
35BB12A384124B   RANDY         JOHNSON                     PA     90014122038
35BB142362B871   TESA          WELDEN                      ID     90009624236
35BB151445B52B   ALAN          DRIGGERS                    NM     90005965144
35BB162198B16B   VALENTINE     DOMIGUEZ                    UT     90014486219
35BB18AAA7B639   OLLIE         THOMPSON                    GA     15036988000
35BB283757B639   KATRINA       JONESS                      GA     90014828375
35BB395A691563   CONCEPCION    CARDONA                     TX     90010479506
35BB39A1691584   RICARDO       DOMINGUEZ                   TX     90014659016
35BB4223991563   STEPHANIE     MADRID                      TX     75003482239
35BB437657B639   JADA          BILLINGGSLEY                GA     90014823765
35BB4457A91891   JOHN          ASHWOOD                     OK     90009944570
35BB4663A47931   JAMES ALLEN   FISHER                      AR     90010836630
35BB4844747931   JAMES ALLEN   FISHER                      AR     90008428447
35BB49A1691584   RICARDO       DOMINGUEZ                   TX     90014659016
35BB4A77541277   LORI          KUHN                        PA     90002910775
35BB5138331424   ERIC          JOSEPH                      MO     27563821383
35BB546697B449   CHAKELA       BROWN                       NC     90012874669
35BB5711441258   JOSEPH        POGANY III                  PA     51072717114
35BB6134641252   GAIL          MITCHELL                    PA     51020861346
35BB6783291584   CECILIA       DEL REAL                    TX     75016807832
35BB7147955936   HERNANDEZ     PATRICIA                    CA     49015271479
35BB73A4491359   ANGELINA      SANTOS                      KS     90013033044
35BB7493547931   CHANTHA       PHORIMAVONG                 AR     90011174935
35BB756797B639   TYP           PATTERSON                   GA     90014005679
35BB786985B344   JACOB         JUDKINS                     OR     44566758698
35BB861757B639   APRIL         DAVIS                       GA     90010366175
35BB87A7631424   ROMEO         MONTEZ                      MO     90014627076
35BB89A2647931   AVELINA       PEREZ                       AR     90014599026
35BB954145598B   LUIS          RENTERIA                    CA     90008935414
35BB95A152B835   FABIO         CORONADO                    ID     90014715015
35BB9691A7B492   ELMER         RODRIGUEZ                   NC     90012866910
35BBB33692B87B   TERESA        VERMEULEN                   ID     90007163369
35BBB46744123B   MURTAZA       ALI                         PA     90012234674
35BBB984191831   JAIRO         MEDINA                      OK     21076359841
36111528A7B492   CURTIS        GIBBS                       NC     90015185280
36111564176B89   JULIAN        ASTORGA                     CA     46088035641
36111A3252B871   RUDY          ORTIZ                       ID     90012500325
3611224112B835   DIANNE        HOBBS                       ID     42053012411
36112A5844B281   AMANDA        MYNSTER                     NE     90015080584
3611337962B871   MICHAEL       ROGERS                      ID     90007663796
361137A8361963   AIMEE         JUANITAS                    CA     90013077083
3611494795B52B   ADAN          ACOSTA                      NM     35095079479
3611626844124B   AGNES         WHITE                       PA     90013392684
3611775237B471   DAVID         FERGUSON                    NC     11008477523
3611786697B492   CELIA         TOLENTINO                   NC     90007708669
36117A6914124B   BRENDEL       BRUSKAL                     PA     90014540691
36118A68671955   JENNIFER      CRUZ                        CO     38005810686
3611951572B871   JESSICA       KREBS                       ID     42007775157
361197A9361963   JACOB         ROZANSKI                    CA     90013077093
3611B16212B87B   NOEL          LEYVA                       ID     90013661621
3611B21A531424   KIMBERLY      HAYNES                      MO     90014762105
3611B72632B835   WAYNE         WALLIS                      ID     90014177263
3611B858776B89   YOLANDA       OROPEZA                     CA     90013728587
3611BA99241258   DANIEL        EGER                        PA     90003730992
3612113832B835   CASSANDRA     COOK                        ID     90006421383
3612119987B346   BRYCE         GAITHER                     VA     90012391998
3612169A561963   MARTHA        TASSI                       CA     90013926905
3612224795B52B   MICHAEL       P GILKISON                  NM     35071612479
3612239642B87B   MELISSA       CARRINGER                   ID     90000173964
36122641672B76   KENNETH       WILLSON                     CO     33016086416
361227A322B835   JONI          MORRIS                      ID     42005307032
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36123766776B89   GRISELDA     RODRIGUEZ                    CA     46019647667
3612378A79125B   DANIEL       BARBOT                       GA     90009467807
36123A16761963   STACY        ALBERTSON                    CA     90002790167
36124853772B76   GERARDO      CASTRO                       CO     90000168537
361252A6155951   MAYRA        CERNA                        CA     90007182061
3612653842B87B   CHRISTINA    WARREN                       ID     90013395384
361265A627B639   ROSA         ROBLES                       GA     90001825062
3612662664B281   JENNIFER     MYRE                         IA     27028856266
3612694645B52B   FRANK        SANCHEZ                      NM     90015139464
361276A758B16B   TYRILL       MOORE                        UT     90002986075
361277A182B559   CARL         BITTNER                      AL     90010627018
3612887134124B   JANELLE      HINES                        PA     51076048713
3612931628B16B   JUAN         RAMON                        UT     90015463162
3612933714B576   ABIGAIL      MALLONEE                     OK     90010393371
361299AA44B281   KELSEY       SCOTT                        NE     27008929004
3612B442451339   NICHOLAS     ZIMMERMAN                    OH     90015374424
3612B91AA91891   DNICCKO      CUBIT                        OK     90013719100
3612BA24157138   ROBERTO      QUINTEROS                    VA     90012130241
3613123135B52B   EDWORD       DELFIN                       NM     90009872313
36131454776B44   MARIA        ALFARO                       CA     90007294547
36133167374B7B   TIMOTHY      CLAYTOR                      OH     90013931673
36133225276B89   SEVERO       MUNOZ                        CA     90011822252
36133495476B61   SILVIA       LORES                        CA     90013924954
361336AA361963   JEFF         BOLES                        CA     90002856003
36133795A91891   COREY        COATS                        OK     90002157950
3613429112B871   ED           MCDORNELL                    ID     90007052911
3613437772B93B   MINDA        SAXTON                       CA     90014523777
3613439887B639   RUBY         CALHOUN                      GA     90014873988
3613447942B87B   AMANDA       WOODS                        ID     42058334794
36134637776B89   PABLO        DOMINGUEZ                    CA     90012996377
36134A9A68B16B   DEVONA       COVEY                        UT     90002090906
3613519748B16B   HOLLIE       DAYTON                       UT     90002231974
361352A765B52B   GABRIEL      HERNADEZ                     NM     35038432076
3613623382B93B   CHREIA       JACKSON                      CA     90013152338
3613623714B281   JESSICA      NAVARRETE                    IA     27082432371
36136265A8B16B   MARSHALL     WHITE                        UT     90013912650
3613627A251382   BRIAN        GANNAWAY                     OH     66025882702
3613666522B87B   BRITTANY     GRAHAM                       ID     90010686652
3613692838B124   UBALDO       PINEDO                       UT     90013739283
3613721367B492   PEGGY        BYNUM                        NC     90008602136
36137292876B89   CARIEL       QUINLY                       CA     90010182928
36137A2725B38B   MELANIE      CHURILLA                     OR     90012420272
36139683A2B87B   TONYA        SANTENS                      ID     90011916830
3613B52637B639   BILL         ROBINETTE                    AL     90004385263
3613B785791831   JESUS        RUIZ                         OK     90002647857
3613BAA295B161   CALVIN       WHITE                        AR     90008630029
3613BAA782B871   CESAR        AYLLON                       ID     90012800078
3614128672B87B   TERRY        STEELE                       ID     42048232867
36142797672B76   BERTHA       CORDERO LEZAMA               CO     33069277976
3614396A476B89   LUIS         MIGUEL                       CA     90011019604
36144736A91942   DAVID        ROADMAN                      NC     90009807360
3614563292B93B   SALVADOR     JIMENEZ                      CA     90010706329
361464A215B253   JASON        JOHNSON                      KY     90014114021
3614663485B535   ADAN         HERNANDEZ                    NM     90001306348
3614785872B93B   MIGUEL       CERDA                        CA     90013368587
3614915382B871   DAVE         KILBURN                      ID     42032631538
3614983982B93B   CHANNY       KHIN                         CA     90008388398
3614994577B639   JAIKEIA      CHATMAN                      GA     15019229457
3614B614936143   CLAIRESSA    MENDOZA                      TX     90008896149
3614B625284368   JEFFREY      KING                         SC     14591076252
3614B636991584   TOAY         RIOS                         TX     90010536369
361516A554B281   HILARIO      NAJARRO                      NE     90004246055
36151786A91891   GLYNDA       SHIELDS                      OK     90010267860
361523A7231424   BRANDI       GAY                          MO     90010073072
3615299A941285   ALANA        LOWMILLER                    PA     51079089909
361529A5155972   GUILE        LEMUS                        CA     48087409051
3615356878B16B   RANDY        ARCHULETA                    UT     90014835687
3615426245593B   DEREK        BROWN                        CA     90009912624
3615488482B93B   MARIA        CHAVEZ                       CA     45051878848
3615512819156B   ERIKA        HERNANDEZ                    TX     90011011281
3615633275B156   ANTHONY      AMAKWE                       AR     23092453327
3615661644124B   MICHAEL      WITTMANN                     PA     90014546164
3615663A355972   MARISELA     GUTIERREZ                    CA     48062506303
3615673278598B   SONYA        SUTTON                       KY     90014167327
3615687782B871   EMMA         HUMPHREYS                    ID     42030318778
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361573A1A31424   CHRIS        CHATMAN                      MO     27581483010
3615783A161963   AMANDA       DONAVIN                      CA     90013078301
3615854212B93B   BRUCE        WALKER                       CA     90011415421
3615877467B639   SHANIQUA     BURKS                        GA     90004267746
361598AA854154   MICHELLE     LEMON                        OR     90006388008
36159A8412B93B   MARIA        GONZALEZ                     CA     90014920841
3615B25642B871   TIFFANY      JOHNSON                      ID     90010942564
3615B791591584   MARIA        VILLA                        TX     90010207915
3615BA2225B393   MARCUS       EWING                        OR     90015140222
3616163835B52B   RANDY        NELSON                       NM     35058026383
36162134753B95   JESUS        GOMEZ                        CA     90013911347
3616213A555972   RIGOBERTO    MEDINA                       CA     90010821305
3616217657B639   MATTHEW      WILSON                       GA     90013691765
361629AA97B449   EDELMIA      LOPEZ                        NC     90010229009
36162A2644B521   JERRY        CLARK                        OK     90000910264
3616312A161963   MARCIA       VAZQUEZ-GUILLEN              CA     90011881201
3616462664B281   JENNIFER     MYRE                         IA     27028856266
36165417A91584   GUERRERO     PRIMERO                      TX     75036014170
3616588487B639   SANDRA       BRODERICK                    GA     90013648848
36167173A4B531   ANDY III     BOYD                         OK     21537431730
3616755A176B89   JORDAN       VAN TONGEREN                 CA     90011195501
3616798375B52B   CRYSTAL      PENA                         NM     90014569837
361684A7891891   EDNA         BRYANT                       OK     90014494078
361686A1431424   JOHNNY       MITCHELL                     MO     90014746014
36168A1895B156   DADRIAN      SHELLS                       AR     23006920189
3616922982B871   AUBREY       CHAPMAN                      ID     90006092298
361692A6361921   JOSEPH       RUBALCABA                    CA     90008302063
3616966897B471   CHRIS        KIRKLAND                     NC     11086826689
3616BAA4391891   JOHN         HARE                         OK     90013190043
36171788A2B241   JEANETTE     RUSSELL                      DC     90007227880
36174421876B89   MATHEW       MCDONNA                      CA     90014844218
3617546512B835   TYLER        QUINN                        ID     42089014651
3617562A97B449   RAYMAND      SESS                         NC     90000606209
3617578965B52B   JOEL         MARTINEZ                     NM     35019777896
36175A93991544   SERGIO       CABRAL                       TX     75068970939
3617661AA2B871   ALEXIS       AVILES                       OR     90013476100
3617712A52B835   CRYSTAL      MCQUISTON                    ID     90014521205
3617779415B393   TAILEE       MATHIS                       OR     90006327941
36177AA1A91584   VICTOR H     GARCIA                       TX     90011810010
36178588A41285   BARBARA      PACHECO                      PA     90008855880
3617889A651339   KRISTY       MARCUM                       OH     90014768906
36178A11651339   JOSEPH       DOWNEY                       OH     90013860116
36178A4217B449   KAREN        HOLMAN                       NC     11032990421
361795A4191563   PETE         JURADO                       TX     90007865041
36179823A2B835   KRISTINA     MARION                       ID     90013778230
3617985872B93B   MIGUEL       CERDA                        CA     90013368587
3617B23A151339   ISAIAS A     RIVERA                       OH     90009622301
3618122885B52B   PATRICK      CORDERO                      NM     35050932288
3618129A231424   STEVEN       JOHNSON                      MO     90014762902
3618136915B393   CASE         ARAM PATRICK                 OR     90000223691
36182162A8B273   VICTOR       PEREZ                        VT     90013931620
36182181A2B93B   RAFAEL       GALVAN                       CA     90014441810
36182A11591584   EDGAR        RUIZ                         TX     90011810115
3618413774B281   PAUL         HOWARD                       NE     90012681377
36184325A91831   LATESHA      COWANS                       OK     90014373250
36184395672B32   MARY         TRUJILLO                     CO     90014813956
36184591797B31   ERICA        DELGADO MENDIAS              CO     90014715917
3618512665B52B   MARIA        SANCHEZ                      NM     35029521266
36185A6612B871   CHRISTI      HILL                         ID     90013380661
3618739364124B   MIKE         RITTLE                       PA     90002333936
3618744A12B93B   ARTURO       TAPIA                        CA     90013874401
3618765174124B   LINDA        MCCLUNG                      PA     90006036517
36188A7797B639   SHILON       WILLIAMSON                   GA     90003450779
3618953167B639   VIRAL        PATEL                        GA     90015185316
36189A67591891   AMBER        WICKER                       OK     90005980675
3618B2A692B871   ROGER        SAUVAGEAU                    ID     42064652069
3618B554181621   CASSANDRA    MARTIN                       MO     90005145541
3618B558A31424   LANA         WATSON                       MO     90006855580
3618B732361963   MARIA        GONZALEZ                     CA     90004197323
3619248477B362   JOSE         MEJIA                        VA     90012644847
361927A1976B89   CHUD         FUKUDA                       CA     90012077019
3619283487B32B   SANTAS       BONILLA                      VA     90006558348
3619294A891831   ELMER        MANTZ                        OK     90006219408
36192A37136B95   ROSA         SANCHEZ                      OR     90006850371
361932A6136143   MARIEL       LICERIO                      TX     90001222061
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3619341374B281   SHAYLINN           COLEMAN                NE     90013114137
3619363987B492   KEYONIA            BARNETTE               NC     90013276398
3619432494B281   ROBERT             BUMGARDNER             NE     27062173249
3619436714124B   THOMAS             HALEY JR               PA     51087853671
3619451A37B639   IESHA              JOHNSON                GA     90013685103
36194696776B89   MICHELLE           AARON                  CA     90014166967
36194A5385B52B   TANYA              MARTINEZ               NM     35004620538
3619566452B871   LIVIA              FRY                    ID     90006436645
36195687A7B639   MICHAEL            JACKSON                GA     90013376870
36196572A51382   MICHEAL            COLDIRON               OH     90015035720
3619732A32B835   JACOB              FRYE                   ID     90009073203
3619746948B16B   KEITH              JOSLYN                 UT     90014944694
3619777992B29B   EDWINA             LLOYD                  DC     90002157799
36197A17155972   EVANGELINA         HERNANDEZ              CA     48090890171
36197A8717B471   SARA               CHANEY                 NC     11092960871
36198794A31424   STARLETA           SCOTT                  MO     90014747940
3619882314B281   MELISSA            SCHRAEDER              NE     90012398231
36199A9577B449   MILAGROS           CRUZ                   NC     90013040957
3619B392391891   KELI               LILES                  OK     21086183923
3619B937672B9B   JOSE               VALENTIN               CO     90013959376
3619B96158B16B   DARREL             MARTINEZ               UT     90012719615
361B113735B52B   SAMUEL             CASTILLO-MENDOZA       NM     35021541373
361B125642B871   TIFFANY            JOHNSON                ID     90010942564
361B132625B156   SHANITRA           WILLIAMS               AR     23073713262
361B249A57B449   PAMELA             BARNES                 NC     11072714905
361B264385B393   ERICA              TRUJILLO               OR     44512856438
361B2649176B89   BRENDA             CORDERO                CA     46087276491
361B272564B281   JOSEPH             FITZGERALD             NE     90013357256
361B27A5547931   BARRY              FENSTAMAKER            AR     25022397055
361B28AA57B639   STANFORD           GREEN                  GA     90012598005
361B297557B639   TERRY              WILLIAMS               CO     90010599755
361B3232385866   ALEX               GOMEZ                  CA     90012872323
361B4157576B89   DARELYN            CESAR                  CA     90011091575
361B5572655972   PEDRO              SUN                    CA     90012835726
361B565527B639   SHIRLEY            HARMON                 GA     90009466552
361B573257B471   RAFAEL             DUARTE                 NC     11069287325
361B5A16891584   SYLVIA             VACIO                  TX     90006230168
361B5A73297B44   JOSE               ALDANA                 CO     90011930732
361B6311841285   ROBERT             NICKELSON              PA     90012993118
361B6758576B89   CLAUDIA            SANCHEZ                CA     90011867585
361B6A29161924   RYAN               WIEST                  CA     90003660291
361B7786A91891   GLYNDA             SHIELDS                OK     90010267860
361B798837B471   ELDA               VELASQUEZ              NC     90001769883
361B9614731424   MELISSA            WILKES                 MO     90011326147
361B973764B281   TODD               EADEN                  NE     27018767376
361BB258951339   KARA               DEATON                 OH     90014792589
361BB388855951   MARIO              GARCIA                 CA     49053943888
361BB55312B87B   JIM                DAVIDSON               ID     90014625531
361BB716455972   MARTHA             ALATORRE               CA     48086727164
361BB82892B871   APRIL              ROBINSON               ID     42046638289
361BBA6297B492   MYEISHA            LIPSCOMB               NC     90014840629
36211483A5134B   JASON              RILEY                  OH     66069274830
3621151AA3B352   JOYCE A            TUCKER                 CO     33003935100
3621239947B492   OSHANDIA           HALL                   NC     90014643994
3621257652B93B   RUBEN              ALVARADO               CA     90013365765
3621344914124B   ALBERT             SIMON                  PA     51028294491
36213A78791584   JERON              ALMEIDA                TX     90011810787
36214513672B76   BERNIE             GIBSON                 CO     33002835136
36214573476B89   RODSDALE SHERWIN   WILSON                 CA     90009875734
3621465992B835   DAVID              RICHARDS               ID     42060616599
362147A347B639   TRINKA             WELLS                  GA     90010917034
3621485555B52B   ZACHARY            FOSTER                 NM     90012198555
36214A85891543   VANESSA            ORTIZ                  TX     90013290858
3621516A45B393   ALEJANDRA          CORTES                 OR     90013291604
36215647772B76   MARIA              RODRIGUEZ              CO     90001836477
36215925A41258   JENNIFER           SEARS                  PA     90006739250
36217176376B89   DANIELLA           CALDERON               CA     90013501763
36217237376B89   GERMAN             NICHOLAS               CA     90014062373
36217A87A91584   HERNESTO           GALINDO                TX     90011810870
3621869A761963   LIAM               FITZGERALD             CA     90011716907
3621887897B639   CHANEL             PARKER                 GA     90014738789
3621928A776B89   JANICE             COGLIANESE             CA     90007622807
3621B355291831   ALICIA             PIMENTEL               OK     90014373552
3621B72568B16B   YOSIBEC            ARGUETA                UT     90013027256
3622153157B471   DORIS              MALDONADO              NC     90005365315
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36221915A5B393   JORDON       ROSE                         OR     90010169150
362229A112B835   JOE          GAUDLIP                      ID     42008789011
3622366AA41258   MICHAEL      DAVIS                        PA     51088586600
36225A43736143   JOE          GARCIA                       TX     90001090437
362262A192B871   CHRIS        FARR                         ID     42087422019
3622733155B161   DOMINIQUE    PERKINS                      AR     90001563315
362276A812B93B   CRISTINA     MORFIN                       CA     90014076081
36227845597B44   FABIAN       GRANADOS                     CO     90008088455
36227A34451382   BLAIR        HOLLOWAY                     OH     66020530344
3622884237B639   ROSALYN      POWELL                       GA     90009358423
3622898865B545   ALEX         KOTA                         NM     35076339886
3622B131761963   ADRIANNA     MADRIGAL                     CA     90014861317
3622B293991831   SAUNDRA      MILLER                       OK     90009452939
3622B32732B835   ANITA        LINARES                      ID     90006663273
36231A3514124B   MARLON       LINDROS                      PA     90013680351
3623266772B835   SHELLEY      COREY                        ID     90014446677
3623318488B16B   ERICA        MENDOZA                      UT     90014531848
362342A4841258   TIMOTHY      GRUBJESIC                    PA     90007542048
36234745A4124B   KEISHA       JETTER                       PA     90009667450
3623478282B835   TARA         HILL                         ID     42031677828
3623543892B871   CODY         PAYNE                        ID     90010654389
3623554257B492   ANGELA       PRATT                        NC     90014755425
36235637576B89   DAMON        ARMELIN                      CA     90015156375
3623679A24B943   DAVID        VELEZ                        TX     90003947902
362373AA541258   KEARA        SMITH                        PA     90014213005
36237965A41285   ANGELO       KAULE                        PA     90002009650
3623824382B93B   CHOUA        VUE                          CA     90011192438
3623897237B639   JEREMY       JOHNSON                      AL     15003089723
3623928318B16B   KAYSHA A     CUNNINGHAM                   UT     90010522831
36239447776B89   LUIS         GONZALEZ                     CA     90013074477
3623B134955972   BENITO       MORALES                      CA     90013881349
3623B287961963   MOYAD        YOSEF                        CA     90002922879
3623B3A7676B45   PEDRO        URIBE                        CA     90009853076
3623B54532B87B   STACEY       SANDERS                      ID     90003835453
3623B569891584   JESSIE       OLIVA                        TX     90013645698
3623B66A17B492   SHAUNA       MONTGOMERY                   NC     90009396601
3624141727B639   WILLIE       INGRAM                       GA     90012894172
36241A51555921   JEFF         MALSKI                       CA     90012680515
36241A72851339   JILL         BLACK                        OH     90014180728
36241A85991891   DEVONTE      JORDAN                       OK     90014800859
3624217AA7B449   BRIAN        LOWERY                       NC     11084781700
3624243312B828   GLENN        MCPHAIL                      ID     90004574331
362425A2A91584   FELIPE       JARAMILLO ROMERO             TX     75099335020
3624359637B639   YOLANDA      MALAVE                       GA     90013505963
3624359A65B52B   JESSICA      CASILLAS                     NM     35070455906
36243A2A661963   KYLE         HUGHES                       CA     90013090206
362441A682B871   SHERRY       BOLES                        ID     42019891068
36244663A4B597   TRINA        WEST                         OK     90002346630
3624613A161963   EHSAN        AL SABAHI                    CA     46045311301
3624633434124B   MARDIS       ETHRIDGE                     PA     51040293343
3624644215B52B   JOSE         SANTOS                       NM     35014864421
36246A15576B89   NORBERTO     AGUILAR                      CA     90014920155
36246A82751382   BRAFORD      HOGUE                        OH     90008570827
3624715312B93B   ARTIKA       LAL                          CA     90012671531
3624732937B639   ALBERET      ROSSER                       GA     15080113293
3624761397B471   EMMA         ALVAREZ                      NC     90006716139
36249223A51339   JONATHAN     PATRICK                      OH     90009282230
3624937682B93B   YVONNE       GARZA                        CA     45015743768
3624947955B393   ELISEO       TREJO                        OR     90013934795
36249AA4391538   RENE         PALMA                        TX     90011140043
3624B61A461963   TINA         DAVIS                        CA     90010616104
3624B796191891   JERRY        OLSOM                        OK     21046957961
3625115AA51382   ALYSHA       HOOVER                       OH     90011731500
362514AA94B281   SAMUEL       GORDILLO                     NE     27057954009
3625221444124B   MICHELLE     SCHUELKE                     PA     51079532144
362525A857B639   TINISHA      DOWELL                       GA     90010985085
362543A544124B   HOPE         TOOMEY                       PA     90005443054
362543AA651339   KLARENCE     BAKER                        OH     90014823006
3625497722B87B   ZAINA        UMUHIRE                      ID     90002389772
36254A42391584   CHRIS        CARTER                       TX     90013010423
36255444672B23   ARAPAHOE     HOUSE                        CO     90012324446
3625563982B835   KYLA         TOOMBS                       ID     90014016398
3625637787B639   CHANCES      GOMEN                        GA     90014723778
362566A4841285   MELISSA      DALE                         PA     90012026048
3625738918B16B   SHAUNA       JUDKINS                      UT     31031383891
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3625781A92B87B   GUILLERMO    RODRIGUEZ                    ID     90012888109
3625783144124B   THOMAS       HENNIQUAN                    PA     51083888314
362578A477B471   LUCANA       JIMENEZ                      NC     90011048047
3625847397B639   KIMBERLY     BARRETT                      GA     90008594739
362584A9491831   JASMINE      SHERRILL                     OK     90014374094
3625889A52B242   NIKKIA       MOORE                        DC     90014848905
3625957347B639   CRAIG        BEAVER                       GA     15094965734
3625979362B835   TERA         DIPPI                        ID     90013587936
3625996934B281   DEREK        VANWYNGARDEN                 NE     90014869693
3625B822191584   OLIVIA       ANDRADE                      NM     75069018221
3625BA86A2B871   DIANA        JOHNSON                      ID     42087300860
3626239A261963   LAKEYSHA     BOWLES                       CA     90012873902
362631A4831441   KATIE        MALDONADO                    MO     90006201048
3626378384B54B   DOLORES      THUMEL                       OK     90012777838
36264A86936143   MONICA       GARCIA                       TX     90000250869
362659A838B16B   BRIANNA      RODRIGUEZ                    UT     90010939083
3626727277B639   LAMIKA       SHONTEA                      GA     90012832727
36267619A91891   BILLY        CLAUNTS                      OK     90008956190
3626782965599B   PAMALA       HAMILTON                     CA     90007838296
3626834215B52B   CHRISTIAN    GAUCIN                       NM     90001143421
3626981922B835   JOSHUA       DAVIS                        ID     42031058192
3626B334691584   IVETTE       VASQUEZ                      TX     90009223346
3627111265B156   MONA         DAVENPORT                    AR     23059161126
3627111667B639   RETA         MURPHY                       GA     90014091166
3627196445B52B   GLORIA       COVARRUBIAS                  NM     35081469644
3627229A941431   CLAUDE       EDWARDS                      WI     90010382909
3627295877B492   VICTORIA     ISAAC                        NC     90002619587
36272A94A36143   MANUEL       VARGAS                       TX     90011690940
3627337534B281   DANIEL       DE LA CRUZ                   NE     90011323753
36274574A91891   YARDEKA      HOGSHOOTER                   OK     90014725740
3627467A67B492   SALLY        BARNEYCASTLE                 NC     90000906706
3627485317B639   BRITNEY      FORD                         GA     90013248531
3627498A631424   JOHN         STRECKER                     MO     90005409806
36274A3562B87B   BRADY        MCKENZIE                     ID     90004970356
3627563922B871   LISA         HOWELL                       ID     42078206392
362764A468B16B   DESIREE      TEUSCHER                     UT     90014974046
362766A1576B89   SERGIO       FLORES                       CA     90012866015
3627679622B87B   DOROTHY      GUTIERREZ                    ID     42017637962
36277115A4124B   NATE         ESTES                        PA     90011871150
3627764217B492   JOY          BARDGE                       NC     90012846421
3627799487B492   HENRY        CURRY                        NC     90012009948
3627826625B52B   ISABEL       PRICE                        NM     90002992662
3627963A861963   ADBI         ADBILLAHI                    CA     46068166308
362797A114124B   THERESA      SPEZZANO                     PA     90008457011
3627B651961963   FRANCISCO    BERNAL                       CA     90014826519
3627B6A112B871   SHAWN        CARR                         ID     90014166011
3627B94529125B   MARLO        PHILLIPS                     GA     14515709452
3628119149155B   JESSICA      TORRES                       NM     75086911914
3628193288B16B   JOSE         HERNANDEZ                    UT     90009629328
36281A8A372B76   MAGDALENA    VILLALOBOS                   CO     90006040803
3628241817B639   GERALDRINE   ROBERTS                      GA     90011024181
3628292184124B   AMBER        WILLIAMS                     PA     90011589218
3628349A191831   LEEANN       WOODRUFF                     OK     90014814901
3628374315B156   TAJUANA      HAMPTON                      AR     23086387431
3628422A531424   LYNESHA      EDMONDSON                    MO     90014772205
36284646A5B52B   CLAUDIA      PEREZ                        NM     90002256460
36284A29491584   MICHAEL      DUMOULIN                     TX     75027460294
36284A72555951   SIKANDER     SINGH                        CA     90006340725
3628535A255964   ROSALVA      VILLAGAS                     CA     90007673502
36286125A2B93B   MONICA       AMBRIZ                       CA     90010611250
3628663935B156   GARRY        CHENAULT                     AR     23076586393
3628757477B639   SELENTHIA    BLACKSHEAR                   GA     90015055747
36287749A91584   SILVIA       CALLES                       TX     90014747490
36287855A5B398   MARIA        SEELIG                       OR     90007948550
36288182776B89   SAUL         SUARES                       CA     90004501827
36288A5A351382   THOMAS       JOHNSON                      OH     90015040503
3628914567B639   JUDY         WINSTON                      GA     15006961456
362895A3A7B492   ERASMO       ROBLES                       NC     11051235030
36289A8467B639   JOMEKIA      DAVIS                        GA     90013900846
3628B14264124B   JEFF         FEDELE                       PA     90009861426
3628B212661963   SOCORRO      RODRIGUEZ                    CA     46062352126
3628B8A1376B89   CHRIS        WENZEL                       CA     90010938013
3629185422B871   RUBY         SCOFIELD                     ID     90014008542
362922A1155972   MARIBEL      ARCHER                       CA     90010912011
3629256797B492   TESSICA      BYERS                        NC     11086265679
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36292758576B89   CLAUDIA       SANCHEZ                     CA     90011867585
362928A9A5B393   RAYMOND       MOSLEY                      OR     44560478090
36292A73A4124B   A RATHBUN     WILLIAM                     PA     51028640730
3629315447B639   AARON         BELL                        GA     90014501544
3629319992B871   REBBECCA      CASTILLO                    ID     90014631999
362934A1391831   RUTANYA       SIMON                       OK     90012984013
3629369368B16B   LEONARD       CHILES                      UT     90011576936
362938A8461963   HEATHER       ALLAN                       CA     90004998084
36293A9152B93B   RIM           TOUN                        CA     90015310915
3629415258B16B   LYDIA         REYES                       UT     90010441525
36294323876B89   JASON         ARBIZU                      CA     90003323238
36294A82141285   LOUIS         LEON JR                     PA     51025390821
3629528A261963   MARCELINA     NUNEZ                       CA     90014792802
3629576297B639   DOROTHEA      BRYANT                      GA     90012297629
3629627672B586   MARGARET      WILSON                      AL     90014712767
3629632452B835   JAKE          WERLE                       ID     42084353245
3629679A23B388   JESUS         GONZALEZ                    CO     90011387902
362968A7291891   LEWIS         LEE                         OK     90013408072
3629698454B281   ANTON         GOODWIN                     NE     90012719845
36296997876B89   YADIRA        ESTRADA                     CA     90011629978
3629721894124B   ANNA          FILOTEI                     PA     51001532189
3629799542B871   SCOTT         SUDOL                       ID     90001339954
36298211A61963   JOSE          GONZALES                    CA     90003222110
3629843277B492   QUINTAVIUS    COLEMAN                     NC     90012134327
36298655172B76   JOSHUA        TORRES                      CO     33016096551
3629889284124B   PIYUSH        ANGRA                       PA     51053558928
36299765A8B163   IETI          MAGEO                       UT     31088757650
3629B13252B93B   CARMEN        SOTO                        CA     90012731325
3629B756A72B76   MARY          HEREIDIA                    CO     90002327560
3629B976161963   MIGUEL        MORENO                      CA     90003299761
3629BA5532B871   CODY          WEEKS                       ID     42032310553
362B1633391891   MALINDA       HALLIBURTON                 OK     90008856333
362B165A651339   SOMMWR        SIMS                        OH     90014076506
362B218487B639   DEMETRIUES    HARMON                      GA     90013431848
362B3772891584   ALEJANDRA     GARCIA                      TX     90009377728
362B3A83491831   BRYAN         PLAMER                      OK     21013050834
362B4818676B89   JOHN          MC CLURE                    CA     90012988186
362B549934124B   TANNI         HERRING                     PA     90013644993
362B631435B156   DOLORES       OLVERAA                     AR     23076133143
362B655442B871   HEATHER       WINSTON                     ID     90012875544
362B6576372B76   LIZDE         CASTANEDA                   CO     90005955763
362B694A54B281   EDNA          CONTRERAS AGUILAR           NE     90012619405
362B716A87B492   RAMON         RODRIGUEZ                   NC     90014511608
362B7864A55951   NANCY         TEREJANO                    CA     90010588640
362B791292B361   EDGARDO       VICTORINO                   CT     90012119129
362B839A241258   MICHELE       CALABRESE                   PA     51025963902
362B931564124B   RITA          OLIVER                      PA     90009513156
362B952592B835   GERRY         MORRIS                      ID     42029485259
362BB135776B89   OFELIA        VENEGAS                     CA     90014971357
362BB362376B58   LEODELGARIO   HERNANDEZ                   CA     90006063623
362BB65652B871   JOHN          MOSQUEDA                    ID     90005526565
362BBA72761986   JOSUE         DIAZ                        CA     90010790727
3631345865B393   CAAMAL        GUMERCINDO                  OR     90009124586
3631351A355972   JULIE         ALAFA                       CA     48029865103
363139AA77B639   JUDY          HORNE                       GA     90011979007
3631419637B492   IVY           WITHERS                     NC     11043881963
3631427522B835   JUAN          HERRERA                     ID     90014552752
36314779A2B93B   BATISHWA      BARCHEM                     CA     45005847790
363155AA291831   JON           KRAMER                      OK     21045355002
3631688857B639   EARNESTINE    PERRY                       GA     90001838885
363168A755B393   CASEY         WEIGEL                      OR     90011438075
36317265A84326   ALICCA        EVANS                       SC     90013482650
3631856778B16B   KATIE         GALLEGOS                    UT     90010985677
3631877A87B492   DRANDON       LUNA                        NC     90015117708
3631931172B871   JOSHUA        WARREN                      ID     90001843117
3631962AA55972   ANALILIA      PAREDES                     CA     90012026200
3631984A261963   SALEM         SULAIMAN                    CA     46051778402
3631996865B393   ROBERT        STEELE                      OR     90006679686
3631B58695B52B   ANDREW        PEREA                       NM     35011535869
3631B75A82B835   SARAH         GIBBSON                     ID     90008747508
3631B84512B871   STEVE         LILES                       ID     42017448451
36321492A61963   JOHNNY        MORONES                     CA     90013944920
3632162184B541   KATHY         HUNT                        OK     90013296218
36323622A91584   FRANCISCO     GARAY                       TX     75088566220
36323793872B63   CHRISTINA     ESPINOZA                    CO     90011437938
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3632575A65B393   LAWRENCE      VAN BRUNT                   OR     90013027506
36325795A91891   COREY         COATS                       OK     90002157950
3632587832B93B   ROLANDO       RODRIGUEZ                   CA     45005858783
36325A8644124B   KEVIN         MIKULAN                     PA     90014540864
36326124A5B393   SCOTT         HAGGERTY                    OR     44512961240
36326227A31424   KAYLA         FREEMAN                     MO     27545572270
363266AA64B281   WILLIAM       JOHNSON                     NE     27076136006
363269A5355951   MARIA         OROZCO                      CA     90011079053
36327416176B89   LARRY         SMITH                       CA     90002404161
363276A8A8B16B   MARK          AHLSTROM                    UT     90010986080
3632835369125B   MIKE          CEDAR                       GA     90005963536
36328463A4124B   KEITH         ARNOLD                      PA     90003664630
3632871777B449   AURELIA       MARTINEZ                    NC     90000607177
36328A86591891   LEAH          RUSSEL                      OK     21062850865
3632924867B449   GENEVIEVE     MAYELA                      NC     11047482486
36329424272B25   JUSTINA       NAY                         CO     90003824242
3632996934B281   DEREK         VANWYNGARDEN                NE     90014869693
36329A32755972   JESSICA       URIARTE                     CA     48012480327
36329A8467B639   JOMEKIA       DAVIS                       GA     90013900846
3632B282A5B52B   ONRAE         HAYES                       NM     90013742820
3632B439731424   DELORES       VALENTIN                    MO     90014774397
3633145A12B871   GARY          ALLOWAY                     ID     42066424501
3633214A95B52B   JOLYNE        LUJAN                       NM     90007251409
3633244418B16B   CYNTHIA       JOHNS                       UT     90015514441
3633292A24124B   JOSHUA        GRAYSON                     PA     90013409202
36332A8932B871   JARREA        TYNEZ                       ID     90009330893
3633314587B492   PATRICIA      HILTON                      NC     90005171458
3633324AA5B393   NATHAN        RONSPIESS                   OR     44583392400
3633365827B367   SUSAN         CLARK                       VA     90001856582
36333A95A8B16B   SCOTT         SENN                        UT     31046880950
363347A228B16B   MICHAEL       MORLEY                      UT     90010367022
363351A5451382   JACOBO        OLIVQRES                    OH     90015041054
36335A4922B835   BECKY         JENSON                      ID     42016520492
3633731982B835   CINDY         PALOMARES                   ID     90012553198
3633735532B87B   BRANDON       HARRINGTON                  ID     90012203553
3633779425B52B   MORIAH        TORRES                      NM     35006527942
36337893A91831   AMIE          CLARK                       OK     90003208930
36337922A7B492   JACK          EARLEY                      NC     90014129220
3633833155B161   DOMINIQUE     PERKINS                     AR     90001563315
363392A177B492   DOUGLAS       NEWMAN                      NC     11075622017
3633964174B281   GARY          CONYERS                     NE     27087186417
3633B4A6541258   CHRISTOPHER   KATCHUR                     PA     90014214065
3633B531231424   SAM           BOWMAN                      MO     90004635312
36341188A72B34   ADRIANA       BARRAZA                     CO     90008421880
363419AA451382   LASHANA       GARCIA                      OH     90009009004
36341A41A51382   ALEX          SAYAS                       OH     90009670410
3634228A791831   STEPHANIE     CARTER                      OK     90010822807
3634356677B639   SONDRA        PHILLIPS                    GA     15034125667
3634389192B87B   FERNANDO      GARCIA                      ID     42012288919
36343A1944B943   DARRELL       ORTEGO                      TX     76588840194
3634418A87B851   ANGEL         PADILLA                     IL     90010421808
3634434A87B492   SHANNON       HILL                        NC     90010343408
3634494625B536   LUIS          LEDEZMA                     NM     90005729462
3634532925B52B   LUZ           AGUILAR                     NM     90009023292
3634618765B52B   MICAELA       CARDOZA                     NM     35016891876
363463A352B93B   KENNETH       RUSSELL                     CA     90008973035
36346A38A7B639   VERONICA      EPPS                        GA     15036290380
363471A8841285   SHANTE        MOORE                       PA     90013911088
3634722467B639   BUDDY         KIDD                        GA     90013762246
36347288A7B639   BUDDY         KIDD                        GA     90014182880
3634729445B393   KATHERIN      GARRETTE                    OR     90010752944
3634766162B835   PAT           O SHEA                      ID     42041336616
36348616A5B393   CHIVARA       DAUGHERTY                   OR     90011956160
36349176276B89   LYNN          OSUNA                       CA     90012081762
36349A9374B281   MARA          MARTINEZ                    NE     90012670937
3634B172736143   ANDREA        FLORES                      TX     90008301727
3634B46672B87B   ANITA         STAPLETON                   ID     90014614667
3634B68747B492   SANDRA        ADAMS                       NC     11006186874
3634B711955951   DEBORAH       DELGADO                     CA     90010597119
3635146417B639   ESTHER        HOOD                        GA     90004004641
36353556A61963   TERESA        LAWRENCE                    CA     90004385560
36354647876B89   FABRICIO      GALAN                       CA     90014016478
3635473592B87B   AGEDA         ANDRADE                     ID     90014987359
3635475962B835   ANTONIETA     SEDANO                      ID     42088867596
36355477A2B93B   HANNAH        PARKER                      CA     90014714770
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3635574A155972   JUAN             MARQUEZ                  CA     48068127401
3635637675B393   RICARDO          AMBRIZ                   OR     90000223767
36356722A91584   JAMIE            THOMAS                   TX     90014167220
3635722242B835   CHRIS            SCHAEFER                 ID     90014372224
3635787A697B44   ASHLAN           STANTON                  CO     90012788706
36357A77341258   SENETTE          HARRISON                 PA     90005430773
36358473657B79   KAHSEEM          CROOK                    PA     90013934736
3635961477B492   HELM             MARY                     NC     11094646147
3635B79317B492   JEFFREY          BRADLEY                  NC     11087317931
3636117985B52B   PASCUAL          CAMARILLO                NM     90015081798
36361253A2B87B   CATHERINE        PLUM                     ID     42051272530
363616AA591891   JENNIFER         GRAVES                   OK     90010886005
36362545A76B89   RICHARD          MAGANA                   CA     90014965450
3636287195B546   ROSEANN          GUTIERREZ                NM     90013148719
3636341165B393   DAVID            RASH                     OR     90014074116
3636369832B93B   CARLOS           VALENCIA                 CA     45092296983
36363A87A61963   JACOB            SCHOENLEBER              CA     90011440870
3636498687B492   DENISHA          WILSON                   NC     90009899868
363649A9A7B639   BARSHAL          WILLIAMS                 GA     90013229090
36364AA912B871   CINDY            COLF                     ID     42072970091
3636522257B436   ANGEL ANGELES    AGUILAR                  NC     90009492225
3636686475B52B   JOESIHA          HAYNES                   NM     90010688647
36366A26631424   CHANDRE          DILLARD                  MO     90009410266
3636799412B871   WADE             NELSEN                   ID     42054129941
3636857364B281   LEVI             WIELER                   NE     90012905736
36368636676B89   MYRNA EDITH      CALCANEO                 CA     90014876366
36368A94731424   WHITNEY          SCOTT                    MO     90014780947
36368AA267B639   WHITNEY          SWANSON                  GA     90012900026
3636912527B376   ANDREW           HELEAN                   VA     90001731252
3636978897B639   KELLI            WASHINGTON               GA     90013707889
3636981342B93B   VICTORIA         MEYER                    CA     45066208134
3636B57A841258   SAMMYAH          TURNER                   PA     90014215708
3637144A17B492   DENISE           BINGHAM                  NC     11001154401
3637223312B87B   JOSE             RAMIREZ                  ID     90007112331
363726A9341258   LINVARD          BARBER                   PA     51095626093
36372953A61963   VERONICA MARIA   CHAVEZ GARCIA            CA     90009649530
36373457A91584   LIDIA            RUIZ                     TX     90011564570
36373A73676B21   CASEY            TROTTER                  CA     46027980736
36374226176B89   ELOY             VASQUEZ                  CA     46061002261
363742A432B871   REBECCA          CARTER                   ID     90015162043
36374457A91584   LIDIA            RUIZ                     TX     90011564570
3637494A855951   KAROL            RIOS                     CA     49056189408
3637523262B871   BLANCAMONICA     FARIAS                   ID     90014632326
36375543A61963   CAROLYN          REGO                     CA     90005895430
3637564272B93B   JILL             SMITH                    CA     45083146427
3637598977B639   NATARSHA         ARMOUR-JOHNSON           GA     15029899897
3637725295B393   FERNANDO         MENDEZ HERNANDEZ         OR     90005382529
3637743977B639   KIM              JENNINGS                 GA     90011024397
3637793562B835   JAMES            WHITMORE                 ID     90009819356
36379A94876B89   WALTER           COLON                    CA     90013770948
3637B266131424   ANNETTE          BOYKINS                  MO     90011062661
3637B422591584   YOLANDA          HERNANDEZ                TX     90006584225
3637B694655951   OSVALDO          REYES                    CA     49030526946
36381429754B62   DEREK            HICKS                    VA     90006404297
363819A2491891   VANIA            ESSERT                   OK     21073669024
3638223424124B   JULIE            CARLISLE                 PA     51093312342
3638257154B281   KEVIN            ARMSTRONG                NE     27021645715
36382673372B76   JOHN             GOOD                     CO     33046216733
36382A18A51382   CAMILLE          NORTON                   OH     90009120180
36382AA997B639   HELENA           JAMES                    GA     90013300099
3638378644B281   TINA             SCHOVILLE                NE     90010947864
3638393667B639   OCTOVIA          RIVERA                   GA     90013229366
36384A2888B16B   SENAIDA          MORADO                   UT     31086300288
3638576532B835   JUAQUIN          CHAVEZ                   ID     90013467653
3638731422B871   WILBER           MARTINEZ                 ID     42094283142
3638738927B639   VANESSA          BRYAN                    GA     90012963892
3638883A991891   CHARLOTTE        STALLINGS                OK     90010978309
3638925642B871   TIFFANY          JOHNSON                  ID     90010942564
36389AA7431424   YVONNE           TAYLOR                   MO     90001800074
3638B177531424   ZEKE             DOUGLAS                  MO     90014781775
3638B33A351339   KYLE             LARISON                  OH     66013633303
3638B49767B471   TERESA           FARMER                   NC     11049524976
3639284535B393   MIKE             KIDWILER                 OR     44512998453
36393139A55972   JUANA            COBOS                    CA     90014331390
3639335187B639   BRITNEY          WILSON                   GA     90009643518
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36393785A7B492   ARMANDO      GONZALEZ                     NC     11072207850
3639383535B393   TODD         POKORNY                      OR     44552038353
36393A38461963   JOHNNY       QUEMUEL                      CA     90013950384
36393A82455951   GONZALO      SANCHEZ                      CA     90006450824
36393AA3A51392   ANGERINE     LANE                         OH     90002690030
3639432254124B   KATHRYN      SICKELS                      PA     90001533225
3639455997B639   ANTOINETTE   HOLLOWAY                     GA     90003005599
3639483644B281   KARLA        SKOW                         IA     90012898364
363952A697B492   TILA         CRUZ                         NC     90014472069
3639535622B871   JOE          STEARNS                      ID     42085033562
3639618164124B   PADAM        GURUNG                       PA     51015151816
3639626987B395   REDAR        MTUGOBA                      VA     90010412698
3639632332B871   TAWNI        WENDLAND                     ID     90007203233
363963A5372B76   ULISES       RUEZ                         CO     33077473053
36396574A91891   YARDEKA      HOGSHOOTER                   OK     90014725740
3639664475B393   JOSE         DAVILA                       OR     90009136447
36396A4982B835   WALLACE      BOLSTRIDGE                   ID     90012570498
36396A9252B871   TAWNI        WENDLAND                     ID     90014760925
36396AA782B87B   CESAR        AYLLON                       ID     90012800078
3639865322B87B   MIKE         DAVIS                        ID     42092446532
363986A2941285   EDWARD       BLACKMON                     PA     51069436029
36399131A91831   TERRANI      DOUGLAS                      OK     90014611310
3639B118255951   FIDEL        VASQUEZ                      CA     90010591182
3639B491591831   GEROGIA      NINO                         OK     90014814915
3639B735991891   DOUGLAS      WHITTENBERG                  OK     90011387359
363B1129391584   VERONICA     SANCHEZ                      TX     90000281293
363B1367A8B16B   TIFFANY      BUTTARS                      UT     31031933670
363B1A5882B87B   OZZY         PEREZ                        ID     90015040588
363B234155B52B   JEREMY       JONES                        NM     90006113415
363B293734124B   TIFFANI      COUSAR                       PA     90011589373
363B297762B835   JENNIFER     MURPHY                       ID     90000819776
363B29A673B352   ROBERT       OUIMETTE                     CO     90008769067
363B353894B281   ROBERT       RAYMEND                      NE     27046135389
363B355897B449   ERICK        GONZALEZ                     NC     11061105589
363B3588A5B393   ANALILIA     CHAVEZ                       OR     90010455880
363B378A38B16B   WINTERS      MICHELLE                     UT     90003087803
363B3852191831   PENNY        WATSON                       OK     21001838521
363B3A21541285   TAMECA       DUMAS                        PA     90012040215
363B4131761963   ADRIANNA     MADRIGAL                     CA     90014861317
363B4264A61963   KATIE        GARCIA                       CA     90013942640
363B456778B16B   KATIE        GALLEGOS                     UT     90010985677
363B5495355972   JAIME        CRUZ                         CA     48073104953
363B599A591891   KIMBERLY     GLASS                        OK     90010719905
363B6428751321   TAMATHA      JONES                        OH     90006134287
363B681788B16B   SHELLY       MCGILL                       UT     90012118178
363B6A7312B93B   PERLA        GARCIA                       CA     90012810731
363B714977B639   GAY          CLAY                         GA     90014971497
363B7463A31424   THELMA       WHITE                        MO     90005694630
363B8412531424   ROSETTA      JOHNSON                      MO     90014774125
363B8A56955951   ALEJANDRO    GONSALEZ                     CA     90010680569
363B9132691584   VANESSA      GONZALES                     TX     90014461326
363B9297341285   ROD          SANDERS                      PA     90014752973
363B9568561963   EVAN         EDGAR                        CA     90014185685
363B9648431424   MEGHAN       THOMAS                       MO     90007546484
363BB492151339   STEVE        MABE                         OH     90007994921
363BB558391584   LOURDES      VALENZUELA                   TX     75061895583
3641115797B492   CANDI        USSERY                       NC     90008641579
3641126192B835   IAN          ARMSTRONG                    ID     42024612619
36411372A36143   TIFFANY      ALANIZ                       TX     90002873720
36411A77391831   MAUREEN      BUNCH                        OK     90014400773
36413211A31444   SADIA        MOHAMED                      MO     27579872110
364136A7A7B492   JOCOBUS      VERMEULEN                    NC     90011336070
36413717A91886   SIERRA       COUNTS                       OK     90014937170
3641395A572B76   HUGO         ORDAZ                        CO     90005969505
3641454388B16B   MAI          YANG                         UT     90013715438
3641458885B52B   JEANNIE      AUSTIN                       NM     90010535888
36414A77761963   LEONDRA      WHITAKER                     CA     90014770777
3641618447B639   KEVIN        MOSEY                        GA     90007461844
364166A8751339   TRACY        PHILLIPS                     OH     66076606087
3641748257B639   ALFONZO      CHARRIEZ                     GA     90014674825
36417793A76B89   GUADALUPE    DOMINGUEZ                    CA     46017157930
36418152A2B87B   RENEE        MILLER                       ID     42088731520
3641991537B492   LINDA        HARRIS                       NC     90011199153
36419A79A91891   LINDA        SCOTT                        OK     90011420790
3641B117331424   VINCENT      BREYFOGLE                    MO     90010441173
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3641B549436143   DESIREE              GARCIA               TX     90003375494
36421255A51382   MARLO                SINGH                OH     90015052550
364214A1A55972   ANTONIO              PARRA                CA     90014774010
36421A97991891   RICHARD              DUTRA                OK     90014380979
364225A5355951   MARIA                VACA                 CA     90001055053
3642313882B93B   GERALDINE            LOUISE               CA     90013821388
364232A799156B   STEPHANIE            ARENAS               TX     90012542079
3642361917B639   JULIE                BLEDSOE              GA     15001966191
3642533282B87B   SASHA                HOUGHTALING          ID     90010873328
3642575962B87B   ANTONIETA            SEDANO               ID     42088867596
3642598965B52B   BLANCA               GRANILLO             NM     90006259896
36425A7537B639   TYRONE               CODY                 GA     90014470753
364263AA941285   DONALD               PARKER               PA     51032193009
3642688452B87B   VIRGINIA ANN-MARIE   ANSAH                ID     90008768845
36427399376B89   LUIS EDUARDO         MEDINA               CA     90013923993
36427431A31424   MALCOLM              JOHNSON              MO     90014784310
364278A1355972   CALEB                OWENS                CA     90003488013
3642821424B281   JENNIFER             REEDER               NE     90009832142
36429636276B89   GILBERTO             VIGIL                CA     90007856362
3642B415A8B16B   LIZBETH              CASTANEDA            UT     90013404150
3642B421551339   RUSSELL K            MABERY               OH     66045724215
3642B846491584   PHIL                 BROWN                TX     90014748464
3642BA28761963   RAYMOND              SHARP                CA     90006520287
3643174275B52B   ORTIZ                ROSA                 NM     90007497427
36431A5A191584   RUBY                 RAMIREZ              TX     90012930501
36432354976B89   MARC                 WIDEMAN              CA     90013103549
3643353132B871   ALLEN                HANSCOM              ID     42050255313
364338A934B597   KHRISTIAN            SUDBROCK             OK     90001988093
36433A28184381   MYRNA                JIMENEZ              SC     90004000281
36433AA6384368   MIGUEL               MARTINEZ             SC     14506990063
36434156576B89   ALFONCE              LOPEZ                CA     46001651565
36434784124B89   ROY                  ARNOLD               DC     81015657841
36434A7A485921   JEREMY               BOGGS                KY     90013740704
3643657552B871   FLORENTINO           DELAFUENTE           ID     90002965755
36436A31A41285   ANGELA               PEARSON              PA     90014890310
3643754A68B268   TANYA                LAPORTE              VT     90014965406
3643755127B639   VICTORIA             URPANO               GA     90012595512
3643854432B93B   JUANITA              CASTILLO             CA     90012785443
3643933595B52B   MARY                 TORREZ               NM     90003583359
3643B475336143   ARLEEN               WEISE                TX     90006524753
3643B716376B89   ARMANDO              HERNANDEZ            CA     90012087163
3643B86845B393   JONATHAN             VINZANT              OR     90014718684
3643BAAA24B281   JEANNETTE            EVANS                NE     90014100002
3644191A491831   DONALD               ARMSTRONG            OK     90014409104
3644289AA55951   BRESHIA              ROBINSON             CA     90011078900
36442AA7755972   MARIA                ESPINOZA DE MORENO   CA     48039700077
3644326577B471   DONTE                MOBLEY               NC     11042792657
3644344845B52B   GILBERT              LOPEZ                NM     35058384484
3644436982B87B   ADRIANA              HERNANDEZ-ALVARDO    ID     90008033698
364446A734B531   JESSICA              EDDINGS              OK     90010956073
3644499875B52B   NILA                 LOPEZ                NM     90006799987
3644665A64B943   MARY                 KEYES                TX     90005586506
3644673544B281   MABLE                TOSTENSON            NE     27012907354
3644691A94B554   KIELA                HOWARD               OK     90004709109
36447349A36143   EDGAR                TINAJERO             TX     73556903490
364483A3251382   TROY                 SLI                  OH     90015053032
3644851767B639   RENARDO              PAGGETT              GA     90012925176
3644854698B16B   CATHY                ROSENBAUM            UT     31036625469
3644B33147B492   CHINETTA             SPENCER              NC     90014863314
3644B431761963   JUSTIN               KNOPS                CA     90013124317
3644B73675B156   LUCILLE              BELL                 AR     90013667367
3644B783A5B393   MARINA               LEYTNER              OR     90009397830
3644B853455972   AIDA                 CORONA               CA     90011408534
36451168A41285   DEATRICE             MENA                 PA     90007521680
3645177A751382   RODNEY               ISBELL               OH     90008527707
3645244592B835   MISTY                WARNER               ID     90008164459
3645293A64124B   LUANA                LILLO                PA     90011979306
3645312537B639   THADDEUS             WILLIAMS             GA     90013231253
3645332947B492   TELA                 SIMS                 NC     11090373294
3645376427B639   TIM                  HEDGECOCK            GA     90013347642
36454498A2B871   JOSE                 MADRIGAL             ID     90009364980
3645473272B835   MELISSA              ALLEN                ID     90014177327
3645537774124B   LAWRENCE W.          HANLEY               PA     90004293777
36456472A2B93B   BRADFORD             SANTIAGO SR          CA     45093274720
36456848A7B492   SHERRY               FIESTAS              NC     11038478480
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3645686217B449   SHERRI           WLEFFORD                 NC     11097098621
36457147A91584   FLAVIO           GARCIA                   TX     90013011470
3645748AA91831   ELSA             NUNEZ                    OK     90011714800
36457A8514B943   NELSON           BODDEN                   TX     76565060851
3645818212B87B   GLORIA           MILLS                    ID     42038261821
3645854994B569   JENNIFER         MODESTO                  OK     90010385499
364594A7261963   WALEED           ISSA                     CA     90011634072
3645976322B871   ANYA             RODRIGUEZ                ID     90012177632
3645B544831424   EPIPHANI         DALE                     MO     90014785448
3645B849741251   URBAN            HOUSING                  PA     90011508497
3645B861791584   EZEQUIEL         DELARIVA                 TX     90014748617
3645B91192B93B   ROYCE            BERNAL                   CA     90007189119
3646271A54B281   DEANNE           MATHEWS                  NE     90015137105
36462A39A76B89   SIERA            OWENS                    CA     90014670390
3646338434B544   MARIA            LUCERO                   OK     90008013843
36463A5818B16B   HEATHER          KAP                      UT     90015010581
36465A19151382   DERRICK          REAL                     OH     90008810191
3646617A691831   YADIRA           ROMERO                   OK     90006681706
3646631777B639   KATE             KIMBER                   AL     90015023177
3646671775B393   APOLINAR         GONZALEZ                 OR     90012347177
3646756115B156   WILLIAM          SMITH                    AR     23092945611
3646756685B52B   BETTINA          SANCHEZ                  NM     90000655668
3646786AA61981   ERNESTO          RODRIGUEZ                CA     90003138600
36467A14755972   HELEN            HOEL                     CA     90010690147
3646834615B393   SHERRI           HUTCHISON                OR     44538633461
36468777176B89   MARTHA           RODRIGUEZ                CA     90011197771
3646883447B639   DARRELLL         LITTLE                   GA     15090338344
3646886582B835   RODOLFO          BRAN CHAVIRA             ID     42012138658
3646934797B492   MILES            CORTEN                   NC     90013353479
364695A4291831   ROSA             CALVERT                  OK     90011715042
3646B535155972   DANIEL           SANCHEZ                  CA     90012555351
3646B946591584   RICARDO          RODRIGUEZ                TX     75061899465
3646BA21A7B492   SEAN             JARRETT                  NC     90012870210
3646BA97651339   BEVERLY          SUDDUTH                  OH     66048070976
3647137372B93B   RIETA            BRAMER                   CA     90012483737
36471473776B89   JON              ABRIL                    CA     90000724737
364716A835B52B   COLLEN           MEEK                     NM     90015126083
3647179A161963   CESAR            GOMEZ                    CA     46097697901
3647198254B281   HEATHER          WALMER                   NE     90014449825
36472A1494124B   JONATHAN         BARCLAY                  PA     90014060149
36472A64455972   MARY             JANE                     CA     48033260644
3647423717B639   ANTONIO          STURGILL                 GA     90011462371
36474266376B89   DIANA            ARACELY                  CA     90015282663
3647486884B294   TIM              BOLLINGER                NE     90009528688
36475175772B76   TERESA           WISSEH                   CO     90014631757
36475178A72B76   TERESA           WISSEH                   CO     90009561780
3647529715B52B   YURIANA          OROZCO                   NM     90011482971
3647536684B943   DARIA            WILLIAMS                 TX     90011153668
3647563327B639   JOEL             CAMPOS                   GA     90004786332
3647589699155B   MONICA           LOPEZ-URIBE              TX     90013088969
36475997276B89   CARLOS           CERVANTES                CA     46097609972
3647646538B16B   JASON            CARRIERE                 UT     90014814653
3647824297B639   ASHLEY           BROOKS                   GA     90015302429
36478389276B89   CERGIA           BUENO                    CA     90010373892
3647839694B281   DEBRA            PETRY                    NE     90013163969
3647915A591537   ANGELICA         CAZARES                  TX     90012411505
3647952894B281   ISAAS            GARSIA                   NE     90010015289
364797A4951363   HEIDI            GASTON                   OH     66081797049
36479A2342B87B   SCOTT            STEVENS                  ID     90010240234
3647B332A2B87B   ALEXANDRIA       MULANIX                  ID     42085793320
3647B4A797B639   AMBER            GOODSON                  GA     90004644079
36481A32476B89   NATALIA NICOLE   HUSZCZ                   CA     90002930324
36482A23391891   MELINDA          WOLTERS                  OK     90014610233
36482A96655972   SLVIA            CONTRERAS                CA     48082450966
3648312537B639   THADDEUS         WILLIAMS                 GA     90013231253
36483199A76B89   JADA             JACKSON                  CA     90015101990
3648389467B471   SHIRLEY          JAMISON                  NC     11094938946
364845A142B87B   SADDAM           NASSER                   ID     90005235014
3648569362B835   REBECCA          SUAREZ                   ID     90009526936
3648638834B281   CHARLES          NEWSON                   NE     90012813883
3648744242B835   DAVID            JACKSON                  ID     42028274424
3648776248B16B   ERICA            LOPEZ                    UT     90010987624
364883A6461963   LAKIESHA         JACQUETT                 CA     46041033064
3648B117A7B639   JEREMIAH         NIXON                    GA     90013261170
3648B7A3355972   GLRNDA           PATINO                   CA     90004867033
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3648B8A9A2B835   SHANE         GREVER                      ID     90002158090
364933A6461963   LAKIESHA      JACQUETT                    CA     46041033064
3649373A57B639   SHERITA       JONES                       GA     90013477305
36493AA652B871   APRIL         STEVENSON                   ID     42085870065
3649424525B393   ERNESTO       VALDIVIA                    OR     44532042452
3649431497B639   ASHLEY        MRAZIK                      AL     90013633149
3649499A34124B   JYNIENE       HUNT                        PA     90004989903
3649539948B16B   CARLOS        GONZALEZ                    UT     90015553994
3649578962B87B   BRITTNEY      RICHARDS                    ID     42025657896
36495A96391891   SASHA         HOUSTON                     OK     90013450963
36495AA965B52B   JAIME         IBARRA                      NM     90012800096
364964A8572B76   BARBARA       SHEARER                     CO     33063104085
3649689717B639   PINTO         GARZON                      GA     90010268971
364969A3177366   RAFAEL        AYALA JR.                   IL     20511769031
364977A413B365   ESTRADA       FERNANDO                    CO     90006887041
36497853A8B16B   TERRY         GREEN                       UT     90012138530
3649787665B52B   TINA          LOPEZ                       NM     90010688766
3649799384124B   BRANDA        BURRELL                     PA     90006769938
36498538776B89   FREDI         NUNEZ                       CA     90014625387
3649855A87B449   TAMARA        GILLESPIE                   NC     11064955508
36498A4554124B   PAUL          MCCARTAN                    PA     90013930455
36499373A51339   DERRICK       DAVIS                       OH     90014773730
3649948352B835   TINA          FLORES                      ID     90004054835
3649951A991232   NIKIA         HOLCOMBE                    GA     14578755109
3649955139379B   ANGELA        EBBING                      OH     64531065513
3649B46294B576   TONY          HARRISON                    OK     90007874629
3649B493191584   LAURA         DUARTE                      TX     75028274931
3649B4A972B871   GEORGE        SNIDER                      ID     90013344097
3649B753361963   JUAN          RODRIGUEZ                   CA     90011787533
3649B8A467B492   ELIEL         CULLES                      NC     90013008046
364B2394351359   MIKITA        SMILEY                      OH     90010703943
364B3262A3B352   CECILIA       MERAZ                       CO     90004712620
364B3639361963   DAVID         LIBERATO                    CA     90003066393
364B3848751382   MITCHELL      MILLER                      OH     66031548487
364B3865141285   THERESA       CIPICCHIO                   PA     51065248651
364B38AA94124B   SONNI         MCKINNEY                    PA     51093708009
364B3A5947B471   MEOSHA        TANNER                      NC     11061740594
364B431692B871   KIM           VOLM                        ID     90013673169
364B4332841258   ANVIL         WALLACE                     PA     51091923328
364B5377491831   JOSE          BENITO-VAZQUEZ              OK     90013023774
364B549724B281   MIKE          WOODRUFF                    NE     90010834972
364B5531A7B639   JOHN          WAYNE                       GA     90013605310
364B5754991831   LACY          KYSAR                       OK     90002777549
364B626852B87B   SULEMA        MARTINEZ                    ID     42013622685
364B648855B393   MICKAYLA      BRIDGER                     OR     90014414885
364B715582B87B   TEDD          GUSHARD                     ID     42091541558
364B723398B16B   MELISSA       REYES                       UT     90010372339
364B7285763625   KIM           KELLER                      MO     90010022857
364B771574B281   BRANDON       SHIRLEY                     NE     27090637157
364B789124124B   ALEX          IRWIN                       PA     90015118912
364B81A7676B89   AMANDA        BIGGS                       CA     90014591076
364B82A444124B   SHAWN         NALLEY                      PA     90011292044
364B85A725B58B   MELISSA       JACOBSEN                    NM     90007135072
364B8742161963   CYNTHIA       GONZALEZ                    CA     90009657421
364B883844B576   MARK          HART                        OK     90010768384
364B9587A91584   JESSICA       PENA                        TX     75040605870
364B986152B871   KAREN         OWENS                       ID     42022738615
364BB494276B89   HILDA         MENCIAS                     CA     90014714942
364BB741A86436   CHALVIALIER   MCCULLOUGH                  SC     90011167410
364BB98415B52B   CHRIS         RODRIGUZ                    NM     35088939841
36511A68531424   ASHLEY        DONEGAN                     MO     90014790685
3651218117B471   HAROLD        ACKER                       NC     90005751811
3651231617B639   SELESTINE     JACKSON                     GA     15048373161
36512A38791584   LAURA         ZAMARRIPA                   TX     90013950387
3651313A861927   ROSY          LOMASENG                    CA     90015191308
3651313A92B93B   MARQUES       EMMA                        CA     45077811309
3651366A755972   MARY          SEE                         CA     48066336607
3651451A15B393   LANITA        CROSS                       OR     90014825101
36514961A91584   MARIBEL       AYABAR                      TX     90010499610
36514A75276B89   MARIA         BRIZUELA                    CA     90007780752
3651551264B943   SHARMAINE     TAYLOR                      TX     76515895126
3651669595B386   JENNIFER      POAT                        OR     90008826959
3651926482B835   CASSIE        WALLACE                     ID     90006112648
3651931857B471   VETRA         LYNCH                       NC     11092133185
365196A267B449   CHRISTINA     HELMS                       NC     11082486026
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1736 of 2350


36519A92731424   JACQUELINE    HARRIS                      MO     90014790927
3651B369151382   TIANA         ABERNATHY                   OH     90015063691
3651B38842B87B   BONNIE        SCOTT                       ID     42061773884
3651B43625B555   ADAM          STOCKTON                    NM     90014494362
3651B61668B16B   STEVEN        FROSTAD                     UT     31090036166
3651B724861963   DANIEL        ELLIOTT                     CA     90014187248
3651B832471955   DANA          BIGAM                       CO     90014878324
36522A97576B89   ALEJANDRINO   PRADO                       CA     90014310975
3652343535B52B   DEBRA         SIMPSON                     NM     90002174353
3652363842B871   WILLIAM       WALTERS                     ID     90013046384
365237A8861963   SOLEMIA       DANTONI                     CA     90014797088
3652392715B393   ROBERTO       VARGAS                      OR     44583149271
3652426A276B89   GRISELDA      HILARIO                     CA     90012302602
3652513712B871   MARIO         ROJAS                       ID     42010811371
36525A7327B639   VICTOR        SEALS                       GA     90001440732
365261A5A91584   DANIEL        MORENO                      TX     90005801050
3652644782B835   JOSEPH        WEATHERBY                   ID     42009704478
3652651917B639   APRIL         LEWIS-HARRIS                GA     90013565191
3652657434124B   JULIE         ADAMS                       PA     90010535743
3652772765B52B   ETTA          TSOSIE                      NM     90010767276
365277A7476B89   ALIN          MEDINA                      CA     46015367074
3652783917B492   MARIO         SILVA                       NC     90013988391
3652784455B393   JENNIFER      FRANKLIN                    OR     44584198445
3652874462B93B   OTIS          RODRIGUEZ                   CA     45035647446
36528A45A91891   KATHRYN       ALDRIDGE                    OK     90009300450
36529782A41285   AMY           RATHBURN                    PA     90011517820
3652B823A2B835   THOMAS        FREINWALD                   ID     90014738230
3652B8A2961963   MARTHA        BALENCIA                    CA     46054408029
365311A6A31424   SHARON        BRADFORD                    MO     90014791060
36531756827B96   JULIO         GARCIA                      KY     90015497568
3653185375B52B   SAMANTHA      SCHWARTZ                    NM     90012708537
36532196576B89   DIANA         MENDEZ                      CA     46098341965
3653385575B52B   CARLOS        MAX                         NM     90013598557
3653452959152B   GEORGE        MCGUIRE                     TX     75010075295
36534661A76B89   ALAA          ESSA                        CA     90006326610
3653495532B871   MICHAEL       MAHANEY                     ID     90015089553
36535A16A4B943   TRACY         DERUTTE                     TX     90005940160
365362A874B281   NOE           HERNANDEZ                   NE     90000292087
3653697937B471   MISAEL        ALMONTE                     NC     90004149793
3653795447B639   EBONY         COCHRAN                     GA     90010919544
36537991787B41   ARIANNA       WHITAKER                    AR     90013339917
3653976564B943   CURLEY        MCZEAL                      TX     76588377656
3653B255251339   BRIAN         RIDDELL                     OH     90014512552
3653B564336143   JENNIFER      RODRIGUEZ                   TX     90013535643
3653B624441258   CASSANDRA     DUTRIEUILLE                 PA     51076056244
3653B85934B943   CRYSTAL       DIAZ                        TX     90006848593
3653BA6787B376   PAUL          AZUMAH                      VA     90001480678
3653BA86976B89   RACHAEL       CHAPMAN                     CA     46048470869
3654112537B639   THADDEUS      WILLIAMS                    GA     90013231253
36541154A2B87B   COREY         JACOBS                      ID     42009771540
365416A992B835   ANDREW        PIPER                       ID     90012166099
36541A1975B52B   MARY          MULLER                      NM     90011940197
36541A64A31424   RON           DRAKE                       MO     90011410640
365421AA991525   MELISSA       AVITIA                      TX     90013021009
36542272A31441   SHEILA        SMITH                       MO     90012702720
3654258915594B   GUADALUPE     MIRANDA                     CA     90014345891
36543171A7B492   CHER          DRAWDY                      NC     11094761710
3654326157B639   ASHLEY        HARRISON                    GA     90010972615
3654397924124B   PAUL          KOHLER                      PA     51087509792
3654416392B871   JD            EMLER                       ID     42005211639
36544483A91584   LAURA         FLORES                      TX     90014764830
3654454715B393   VALENTIN      PONCE                       OR     44574365471
3654472337B639   DAVID         DENSON                      GA     90009247233
36544739A2B835   RACHEL        NASH                        ID     42028857390
3654511424124B   ALISA         GRACE                       PA     51086481142
365456A7141285   JAQUON        JENNINGS                    PA     90013766071
3654637244B563   ROSARIO       MARIN                       OK     90012273724
36546487472B76   CATHERINE     PUMPHREY                    CO     90000984874
365464A1391525   CORDOVA       MARIA                       TX     90005584013
3654658765B393   ARMANDO       GONZALEZ                    OR     90014215876
36546822A55951   JESSE         XIONG                       CA     90009288220
3654731667B492   LAURIE        IM                          NC     90014043166
365473A568B16B   JUSTIN        HALSTED                     UT     90011983056
36547736976B89   RAMA          ANTONIO                     CA     90000327369
36547942A91972   GARRETT       GRAY                        NC     90013349420
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3654837517B449   RANDY        LOGAN                        NC     11068543751
3654848A48B16B   RIDDLER      LAW                          UT     90014434804
3654B14415B393   DONALD       ALLEN JR                     OR     44575741441
3654B283791584   MARGARITA    VILLANEDA                    TX     75015802837
3655168535B52B   OMAR         TALAMANTES                   NM     90008556853
36552A63691584   ERICKA       CAMPOS JONES                 TX     75036190636
3655312174B281   NEREYDA      YNZUNKA                      NE     90004301217
3655314115B52B   JENNIE       ROMERO                       NM     35047821411
3655496535B52B   DUSTIN       DANIEL                       NM     90012719653
36554A73651339   EDITH        SARABIA                      OH     90015060736
3655512537B639   THADDEUS     WILLIAMS                     GA     90013231253
3655597A84B569   KAMACITA     MANUEL                       OK     90011329708
3655642A35B393   SYLVIA       SMITH                        OR     90013114203
3655653824B281   VIRGIL       KNIGHT                       NE     90014235382
3655676162B835   OCTVIO       MALDONADO                    ID     90010647616
36556793276B89   PATRICIA     GUTIERREZ                    CA     90007647932
36558A41472B76   DANIEL       REYES                        CO     33016110414
3655982137B43B   TAWANNA      AYALA                        NC     11028548213
36559889A41285   KIMBERLY     KENNEDY                      PA     90001858890
3655B38567B376   BRASILIANO   OZUNA                        VA     81054863856
3655B88454B281   MATRINA      GREER                        NE     90014878845
3655B96194124B   SHAWN        BOYD                         PA     90013599619
36561A3132B87B   KENDRA       TORES                        ID     42022420313
3656214564124B   CARA         MCCLURE                      PA     90014621456
36564A4A74B281   MOORE        MIRANDA                      IA     90007850407
36564A98951339   LONNIE       GAYHART                      OH     90014280989
3656597924124B   ALLEN        METZ                         PA     90013689792
365663A7755972   ELISABETH    FLORES                       CA     90015193077
3656659928B16B   OLGA         GONZALEZ                     UT     90014835992
36566611676B89   LINDA        BACA-MAGANA                  CA     90014266116
3656692754B285   MICHELLE     JACKSON                      NE     90010429275
36566A1334124B   REBECCA      NAMAN                        PA     90008510133
3656727722B871   CHRISTIAN    NASH                         ID     90014232772
3656757642B87B   DAWN         STRYD                        ID     90006605764
36568537A81622   RENEE        TOLEFREE                     MO     29012795370
3656929A22B835   JOSHUA       DANIEL                       ID     90013742902
3656936455B393   LISA         ASCURA                       OR     90010313645
3656B3A6691584   JUAN         CASILLAS                     TX     90012583066
3656B75757B639   VENICER      SURLES                       GA     15090297575
3656B96197B492   OTONIEL      GARCIA                       NC     90014809619
3657188112B87B   KENNETH      MONTGOMERY                   ID     42096368811
36572623972B25   KATHERINE    OCHSNER                      CO     33079056239
36572921A91584   ESTHER       RASCON                       TX     75086269210
36573A6334B281   OMAYRA       RIVERA                       NE     90003610633
3657453A94124B   ANGALIQUE    VISCINTI                     PA     90012255309
3657462294124B   ANGALIQUE    VISCINTI                     PA     90001696229
3657544255B52B   NORBERTA     RODRIGUEZ                    NM     90014854425
36575783A91831   WAKEL        BURKS                        OK     90014417830
36575AA912B87B   CINDY        COLF                         ID     42072970091
3657967958B16B   IRIS         CHAMAGUA                     UT     90014446795
36579783A91831   WAKEL        BURKS                        OK     90014417830
3657B616761963   FERNANDO     ROCHA                        CA     90013956167
3657B71317B449   CORY         WESTBROOK                    NC     11039837131
36581259572B24   MICHELLE     STROY                        CO     90009092595
3658129952B93B   EBONIC       BATCHELOR                    CA     90013072995
3658146952B871   ELENA        MARTINEZ-RODRIGEZ            ID     90001364695
36582335A4124B   JENNIFER     BLACK BURN                   PA     51096463350
36582688A2B871   DAVID        RUSSELL                      ID     90013396880
3658386967B443   MILLIE       MILLER                       NC     90010338696
3658474199125B   CANDICE      HYMON                        GA     90005967419
3658477495B393   MARIA        NEWELL                       OR     44573847749
3658552858B16B   ROBERT       GARDER                       UT     90007935285
365868A5576B89   JESSICA      JIMENEZ                      CA     90008788055
36586A6862B93B   JACK         JILL                         CA     90010280686
3658766A536143   ASAREL       PATINO                       TX     73510536605
3658791717B639   TIFFANY      HUNT                         GA     90011319171
3658832252B835   CHRISTINE    BENNETT                      ID     90000673225
365885A6176B89   ROGELIO      SANCHEZ                      CA     90003925061
36589A2132B871   LYNARD       OLIN                         ID     90011930213
3658B242A61963   MARTHA       JUAREZ                       CA     90005032420
3658B248A31424   ASHLEY       BROWN                        MO     90014792480
3658B33A193757   AMANDA       MOSHENKO                     OH     90007923301
3658B653655951   VICTOR       PUEBLA                       CA     90003266536
3658B656276B89   JUAN         DE LA CRUZ                   CA     46069216562
3658B6AA37B492   PAYGO        IVR ACTIVATION               NC     90009156003
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3658BA4652B87B   WILLIAM      MAUGHAN                      ID     90013910465
3659148274B281   ERNESTINE    ALSIDEZ                      NE     27082374827
3659161835B52B   NORA         COOPER                       NM     90005926183
3659196117B639   ANTHONY      WALKER                       GA     15011689611
3659197525B393   MEGAN        PEIRCE                       OR     44513059752
36592157A54154   ERIC         SESSIONS                     OR     90002461570
3659223857B639   ARIN         ADAMS                        GA     90008272385
3659247132B871   JUAN         MORALES                      ID     90014634713
3659292914B943   WILMA        YOUNGER                      TX     76553809291
3659411892B87B   CHRIS        SCHMIDTZ                     ID     90003381189
36594124A5B393   CHERELL      CALKINS                      OR     90003901240
3659441A27B639   KAYLA        RORER                        AL     90015334102
36594834144B62   ADAM         MAYNARD                      OH     90015378341
36594A41991232   ANGEL        BALDERRAMA                   GA     14500970419
36594A4834124B   ANN          SMITH                        PA     90004760483
3659576835B156   JACQUELYN    MCMILLLAN                    AR     90004087683
365972A432B871   REBECCA      CARTER                       ID     90015162043
36598877A91891   TRACY        ARMSTRONG                    OK     90014158770
36599397476B89   ALIDA        RIVERA                       CA     46001193974
36599A5662B93B   ANDREA       PRADO                        CA     90014660566
3659B224176B89   PEYTON       COOPER                       CA     46027652241
3659B267891891   LEANDRA      SMITH                        OK     90014602678
3659B755A4B943   NAKETHIA     JOHNSON                      TX     90005187550
3659B79735B345   LARRY R      HOLLER                       OR     46082267973
3659B94678B16B   BRIAN        LEATHEROW                    UT     31027779467
365B1265191831   JOHNSON      THURMECIA                    OK     21086882651
365B1672555964   AMANDA       SEGURA                       CA     90001926725
365B1698731424   DARRYL       HARRIS                       MO     27534886987
365B1945891395   LATONYA      LAVERNE                      KS     90013849458
365B2484A61963   MITCHELL     MAASCH                       CA     90006434840
365B2776A76B89   RAMON        AVILES                       CA     90005837760
365B2935355951   SHIDAY       JORDAN                       CA     90011079353
365B315915B393   LARRY        HARRELL                      OR     90003511591
365B3353591891   SKYLOR       PIERCE                       OK     90015003535
365B3921855972   MIGUEL       ORTIZ                        CA     48097469218
365B3928341285   NADIR        CHANOUNE                     PA     90013959283
365B4795151382   CHAD         REINHARD                     OH     66098157951
365B4994791891   SCOTT        COOK                         OK     90008879947
365B5587661963   TRINIDAD     AVILES                       CA     90005925876
365B5612351339   KATY         HOLTHAUS                     OH     90014676123
365B572584B521   ANDRIA       CHANEY                       OK     90008497258
365B6419A5B555   REVEILLE     BALLINGER                    NM     90000884190
365B664594B943   MEKA         MORRIS                       TX     90005476459
365B6916291584   THANIA       SIERRA                       TX     90014749162
365B7263655972   TRACEY       WOOD                         CA     90014542636
365B741152B93B   CRISO        REYES                        CA     45000994115
365B7A6115B393   MICHAEL      HIDALGO                      OR     90015200611
365B827572B835   RHONDA       BUSHONG                      ID     90015112757
365B833585B393   KARIN        KEITA                        OR     44509903358
365B8578691891   DARIAN       WOLTERS                      OK     90009265786
365B8A6A891831   JAMES        COSPER                       OK     90015060608
365B943A64B521   HILDA        OLVERA                       OK     90010784306
365B9556551339   TONYA        MCCULLOUGH                   OH     90014175565
365B9748741258   MICHELLE     DRAGICEVICH                  PA     51025087487
365B988935B58B   MANUEL F     GARCIA                       NM     35060668893
365BB46195B393   JEANNE       BAILEY                       OR     44507414619
3661113465158B   VICTOR       MOLINA                       IA     90013891346
36611882676B89   CHRISTINE    MICHAEL                      CA     90014528826
3661213332B835   MARIA        VEGA                         ID     90014691333
36612182A55972   EVANGELINA   LOPEZ                        CA     48008061820
36613818476B89   DEBORAH      IRISH                        CA     46032668184
3661415518B14B   JIMMY        LAKE                         UT     31092121551
3661425877B449   DAJUAN       RICKS                        NC     11046972587
3661515518B14B   JIMMY        LAKE                         UT     31092121551
366156A3355972   MIKE         BLANKS                       CA     48003836033
3661633A75B393   JUSTIN       DODSON                       OR     44517673307
3661638A52B93B   DAVID        ZEPEDA                       CA     90010333805
3661642442B871   MARIA        SALAZAR                      ID     90010954244
366176A755B181   DARNETTA     SLAUGHTER                    AR     23089396075
36617A5195B52B   JOEL         ROMO                         NM     35006730519
366193A1455972   JOSE         MURILLO                      CA     90001163014
3661B262741285   JUDITH       KENNEDY                      PA     51059712627
3661B886351339   ARTHUR       CARPENTER II                 OH     90013598863
3661B99892B871   ANTHONY      LOPEZ                        ID     90013029989
366214A9351339   KENNETH      BLANKENSHIP                  OH     90014934093
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36621527676B89   LEHNBREG       JANEL                      CA     90013315276
3662168517B492   EBONY          LOVE                       NC     90014556851
3662195A231493   CHRISTINA      PIERCE                     MO     90015129502
36622362A2B871   CHRISTIAN      ANDERSON                   ID     90013673620
3662258768B16B   EVANGLINA      SALAZAR                    UT     90015095876
3662266962B93B   NATALIE        SNYDER                     CA     45085366696
36623415A61963   RAYAN          OZBIRN                     CA     90014904150
36623553276B89   MARGARITA      OROZCO                     CA     90013385532
3662473822B835   BILL           BROWN                      ID     42095257382
3662598847B471   BARBARA        WEST                       NC     11042439884
3662646175B393   JUSTIN         HASTY                      OR     90008624617
36626575A51339   SHIRESE        PARKER - GARRISON          OH     90011805750
3662667882B871   GUDALUPE       JIMENEZ                    ID     42094066788
36626A27261963   CJ             WORTH                      CA     90013970272
36628476457B79   TERESA         TLATENCHI                  PA     90013804764
36628A83A61963   YADIRA         OCHOA AVILA                CA     90013970830
3662915447B639   AARON          BELL                       GA     90014501544
3662925572B871   JESSICA        HERRERA                    ID     90009582557
3662934157B471   EDWING         LOPEZ                      NC     11009013415
36629458A4124B   RAFAEL         GARCIA                     PA     90004254580
3662B346141285   DANIELLE       BUTTON                     PA     51025533461
3662B838631424   ARTHUR         JACKSON                    MO     90014768386
3662B91A17B449   KENDALL        REYNOLDS                   NC     11077269101
3662B9A4A2B871   ELLEN          SPARKS                     ID     42055699040
3663121362B857   DUSTIN         SURBROOK                   ID     42077232136
36632653A2B871   KEVIN          LABRONTE                   ID     42078466530
3663446185B393   MARK           PALITY                     OR     90006784618
3663478692B871   PAUL           JOHNSON                    ID     42030827869
3663638138B16B   DILLAN         HESTER                     UT     90014873813
3663718585B52B   JULIO          CHACON                     NM     90015081858
36637221A51382   DARYL D        BUCKNER                    OH     90011592210
3663724882B871   FERNANDO       PERALTA                    ID     90000462488
3663775964B281   PAYGO          IVR ACTIVATION             NE     90015387596
36637761A55964   JUAN           VARGAS                     CA     90001907610
3663889857B639   GLORIA         BENSON                     AL     90009418985
36638A7A941285   ANTHONY        CLARK                      PA     51001080709
36638A8944B281   JAVIER         ALFERES                    NE     90007900894
3663986545B156   NICHOLE        FLORES                     AR     90001438654
366399AA78B16B   WILLAIM        MASSIE                     UT     90011509007
36639AA722B835   CRYSTAL        DOMBECK                    ID     90014570072
3664162795B358   MARGARITA      MARTINEZ ESTRADA           OR     90012206279
366423A4791584   DIANA          MARTINEZ                   TX     90003683047
366426A949379B   ALAN           COPE                       OH     90004406094
3664273A12B835   SARAH          RODRIGUEZ                  ID     90008277301
3664312689152B   FRED           APODACA                    TX     75062441268
3664324224124B   DAWN           HENCHELL                   PA     90011592422
3664414A855972   BRANDON        MONROY                     CA     90010691408
36644191A51339   JOSHUA         ROBERTS                    OH     90011201910
3664513162B835   LUCILLE        PERRENOUD                  ID     42029111316
3664549175B156   ERIC           DAVIS                      AR     90004854917
3664553118B16B   ELADIA         LOPEZ                      UT     90014625311
3664577898B16B   ANTONIO        BRAMBILA                   UT     90013487789
3664634852B871   CHRISTINA      MONTERROSO                 ID     90014613485
3664634A241285   LEHRMAN        DAVID                      PA     51090423402
36646653327B96   ISRAREL        SANCHEZ OROZCO             KY     90015536533
3664684A391891   LORENZO        RUCKER                     OK     90013468403
36646A2128B16B   MASON          HARDMAN                    UT     90014360212
3664727824B281   ADAM           PENRY                      NE     27097162782
36647A71776B89   CARACHURE JR   ADAN                       CA     90012190717
3664976545B52B   GLENDA         KIEFER                     NM     90003847654
3664B2A237B495   LAQUEENA       HOWARD                     NC     11011602023
3664B35622B835   JOE            STEARNS                    ID     42085033562
3664B4A1A7B639   KENYADA        CRAWFORD                   GA     90010974010
3664B57555B52B   WILL           TABET                      NM     90011955755
3665145427752B   HUGO           VASQUEZ                    NV     90010084542
3665277924B281   RICO           VIPALES                    NE     90011507792
366536A835B52B   COLLEN         MEEK                       NM     90015126083
36653876A4124B   EDDIE          LOCKE                      PA     90014508760
36654417A61963   DAVID          KING                       CA     90002394170
36654418972B76   ABDUL          MAALIK                     CO     33065524189
36654A17141258   JOHN           DENHAM                     PA     51070270171
3665571894124B   MARQUIA        CHARAE                     PA     90009087189
3665574482B87B   ALEJANDRA      ESTRADA                    ID     90014917448
36656947A51339   KATIE          CROY                       OH     90013349470
36656A3775B393   ADRIANNA       BAUTISTA                   OR     90010870377
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3665737A42B685   GLORIA       MCGEE                        WA     90015513704
36657466536B95   RUBEN        LEMUS                        OR     44507094665
3665762838B16B   JAMIE        MARSHALL                     UT     90013566283
3665765A85B52B   EDGAR        RODRIGUEZ                    NM     90012286508
366576A3461963   SALAM        MANSOOR                      CA     90011666034
3665925337B639   MARK         SOLOGUB                      GA     90008912533
3665987A851382   DOROTHY      THOMAS                       OH     90011288708
3665B53184B281   JOSE         HERNANDEZ                    NE     90011365318
3665B584676B89   MALLORY      STEVENS                      CA     90010355846
3665B6A287B639   WHITNEY      SWANSON                      GA     90015316028
3665B73672B87B   STEPHANIE    FAIR                         ID     90000177367
3665B83587B639   LORY         CAMPBELL                     GA     90010118358
3665B96675B52B   TANITA       DUNCAN                       NM     90014829667
3666152724124B   DARRELL      BIGRIGG                      PA     90013545272
36661662A5B52B   FORO         MARTINEZ                     NM     90013936620
3666171372B871   DALLAS       JORDAN                       ID     90014527137
3666224A97B639   MICHEAL      JONES                        GA     90009482409
3666253845B393   MARLANA      GREEN                        OR     90014705384
3666368A772B34   MICHELLE     MOE                          CO     90007216807
3666374757B492   GREG         COXUM                        NC     90014157475
3666491642B93B   EVELIN       GONZALEZ                     CA     90014779164
36664AA415B393   SCOTT        GARRISON                     OR     90012760041
36665536A7B449   CRISTIAN     JUAN                         NC     90004305360
366657A4791891   CHARLES      ADAMS                        OK     90014307047
3666595A972B32   CHRIS        QUINTANA                     CO     90006179509
366661A3591891   SHIRLEY      HOLMES                       OK     90015311035
366669A4555972   MARTIKA      VASQUEZ                      CA     90014729045
36669469A7B492   DEMETRIO     REYES                        NC     90013924690
36669565A2B835   CHRIS        THOMPSON                     ID     90012845650
36669A5677B639   ALFONZO      WILLIS                       GA     90013150567
3666B742955927   GUADALUPE    REYES                        CA     90010647429
366718A6572B76   JOSE LUIS    CASTANDA                     CO     33087788065
3667211955B393   LESLIE       TORRES                       OR     90009101195
36672294576B89   ELI          MIRANDA                      CA     90013832945
366728A652B87B   KATELYNN     HELGET                       ID     90011298065
366734A1355972   MARK         SANCHEZ                      CA     90012664013
366738A6872B76   LUIS         HERNANDEZ                    CO     33062048068
3667428A92B93B   SHAMON       LIWI                         CA     90015392809
36675478A7B471   JOSE         MORENO-CRUZ                  NC     11039694780
36675532A7B492   FRANKIE      BRAZIL                       NC     11044085320
3667592885B52B   STEPHANIE    LUERAS                       NM     90011439288
36675A13A76B89   SUSAN        BRADFORD                     CA     90000740130
3667631A191584   MARIA        DE JESUS LOPEZ               TX     75095823101
3667775A427B96   ROMEO        ORTIZ                        KY     90013967504
3667787372B835   MARY         STOCKTON                     ID     90006288737
3667825297B359   EMILIO       AGUILERA                     VA     90010142529
3667831A191584   MARIA        DE JESUS LOPEZ               TX     75095823101
36678596A76B89   STEVEN       RUOPOLI                      CA     90014835960
36678646A72B76   JESUS        FLORES                       CO     90013436460
3667949868B16B   BRUNO        SCHLUETER                    UT     90015184986
3667951278B16B   STEPHANIE    MCRAE                        UT     90012695127
3667994155B23B   BRIA         RAYFORD                      KY     90006899415
3667B223741258   DAVID        NEAL JR                      PA     51000212237
3667B516957121   RAMONA       HARRIS                       DC     90010805169
3667BAA7A51382   COURTNEY     VAUGHN                       OH     90011280070
3668213A52B871   JOANNE       TURNER                       ID     42096641305
36682244976B89   CRYSTAL      GARCIA                       CA     90012282449
36682429A76B89   YANET        GONZALEZ                     CA     90013304290
36682569872B76   ABRAHAM      MEDELLIN                     CO     33082495698
3668341975B393   HEIDI        ANDERSON                     OR     44513214197
3668367955B156   STEPHANIE    THOMAS                       AR     23040096795
36683A8A94B281   BILLY        BROWN                        NE     27016770809
36684146A2B835   JACK         BLACK                        ID     90003381460
3668417464B55B   WILLIAM      MITCHELL                     OK     21580541746
366843A8531424   EARNESTINE   BRANON                       MO     90011073085
36685194A4B943   TONI         EVANS                        TX     90009571940
3668544872B871   MELISSA      KRAMER                       ID     90013084487
3668548728B16B   WILLIAM      SMITH                        UT     31014744872
3668551537B449   BRANDON      BELL                         NC     11016295153
3668557A831424   FATIMA       MCFARLAND                    MO     90014795708
36685622A7B492   LISA         MELTON                       NC     11086916220
3668658725B393   BARBARA      SWAFFORD                     OR     44569305872
3668778394124B   EMILY        SPANGENBERG                  PA     51004037839
366879A653B38B   MARIO        BLANCO                       CO     90011169065
3668838227B639   KIZZY        JOHNSON                      GA     15086243822
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3668878754B281   SAMANTHA     HERNANDEZ                    NE     90014727875
36688A5517B384   RODRIGO      SOTO                         VA     90009160551
36688A6382B87B   JOSE         GUERRERO                     ID     90001640638
3668998942B87B   BREANNA      ACHOLS                       ID     90014959894
3668B475591537   SALLY        NEVAREZ                      TX     90012734755
3668B64884B281   REBECCA      HARRIS                       NE     90002406488
3668B75378B16B   ANGEL        IBARRA                       UT     90013297537
36691273A7B449   JAMES        WELLS                        NC     11007012730
3669131564124B   RITA         OLIVER                       PA     90009513156
3669162218B16B   RONDA        ALEXANDER                    UT     90013716221
3669193737B471   JADA         HARDING                      NC     90008179373
36691A59741285   YASMEEN      SOUTHERS                     PA     51027450597
36692429976B89   MARIA        VARGAS                       CA     46054374299
36692837A4124B   JACQUELINE   GREEN                        PA     90008788370
36692A86591891   LEAH         RUSSEL                       OK     21062850865
36692AA4825123   SILVIA       RAMOS                        AL     90015440048
36693318A31424   NORMAN       BOYD                         MO     90011073180
3669333444B281   ERICA        HEARD                        NE     90012313344
3669371124B281   ERICA        HEARD                        NE     27088677112
36693A57691584   RAUL         RUYGAZA                      TX     75098650576
36693A6A771921   MARK A       HENDERSON                    CO     32098180607
3669453784124B   DANIEL       SNYDER                       PA     90002595378
3669544AA5B52B   ANDRES       ANDREW                       NM     90008614400
3669583198B16B   PAYGO        IVR ACTIVATION               UT     90014478319
3669594522B871   BRINA        NEWBERRY                     ID     42018159452
3669625372B522   ASHLEY       WINSTON                      AL     90012022537
36696615A41258   CINDY        GORDON                       PA     90010206150
366978AA331424   KELLY        KRUEGER                      MO     27562968003
36698318A31424   NORMAN       BOYD                         MO     90011073180
36698A73976B89   NORA         PACHECO                      CA     90012620739
3669927444B281   TIMOTHY      TAMBE                        NE     90012642744
3669942168154B   KARRE        GITZINGER                    IL     90007654216
3669B2A6991831   REANNA       BARNES                       OK     21087532069
366B1279171931   JOE          NICCOLI                      CO     90001962791
366B13A2851339   RICHARD      SLAGLE                       OH     90012503028
366B172912B871   SHERYLL      WILSON                       ID     90014717291
366B1752224B27   PAULO        SALOMAO                      DC     81087717522
366B1886191543   ELEAZAR      CARDOZA                      TX     90011328861
366B1A6534124B   CHARLES      WILSON                       PA     90010110653
366B227884B281   KENNETH      ROBINSON                     NE     90014352788
366B2343176B89   NORA         MOLINA                       CA     46005233431
366B2392655972   JACOB        ORTIZ                        CA     48001433926
366B28A9561963   ALLISON      KEYS                         CA     90014188095
366B356385B52B   DAVID        ROMERO                       NM     35007185638
366B3726572B2B   PATRICIA     MANZANARES                   CO     33096297265
366B399727B471   TIAH         HUBBARD                      NC     90003159972
366B42A4761963   ZELLASTEIN   MITCHELL                     CA     90013492047
366B432988B16B   NELDA        POTTER                       UT     90014173298
366B4644655972   GUS          ARISTA                       CA     90013016446
366B489667B384   JOSE ANGEL   MEMBRENO CAMPOS              VA     90006448966
366B4A29272B76   VALLEJO      ELIZABETH                    CO     90010030292
366B5818931424   SAMIYA       BASS                         MO     90014858189
366B6495261963   DALTON       OGDEN                        CA     90011754952
366B6842355951   DONNIKA      MCCRAY                       CA     90011128423
366B7335231424   STEPHANIE    MYERS                        MO     90014793352
366B753A47B492   JONI         HAMRICK                      NC     90005815304
366B7745A7B639   LAKEISHA     EUBANKS                      GA     90014777450
366B7765755951   JANELLE      HAMILTON                     CA     49062697657
366B784A131424   LARRY        HODGE                        MO     90014858401
366B785112B871   JAIME        CASTRO                       ID     90007848511
366B785A257126   LESLI        PEREZ                        VA     90012448502
366B797885B52B   ANGELA       SOTO                         NM     35086809788
366B829A55B52B   LUIS         TRISTAN                      NM     90002342905
366B8759491831   RAMONE       MALONE                       OK     90009627594
366B89A7387B64   ARNIKA       MURRAY                       AR     90009439073
366B942815B52B   ROSE         MYERS                        NM     35072784281
366B9469691584   LUIS         GALLEGOS                     TX     90006724696
366B975585B391   BRAD         BROWNING                     OR     44554677558
366B991215B393   KRISTINE     JONES                        OR     90000979121
366B99A222B871   RODICA       GHIBASANU                    ID     90007849022
366BB26437B639   GERALDINE    PORTER                       GA     90013432643
366BB319731424   JAMILLAH     SYMONE                       MO     90014793197
366BB3A6136143   TIPHANE      TIPPIN                       TX     73516273061
366BB453891543   FRANCISCO    DURAN                        TX     90001004538
36711A12951382   CHRIS        GRAHAM                       OH     90011280129
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36712249A91584   CLAUDIA        MAZANAREZ                  TX     75092072490
36714249A91584   CLAUDIA        MAZANAREZ                  TX     75092072490
3671519787B492   KEVIN          CATHCART                   NC     11032281978
367153A3991831   ISAIAH         BARNETTE                   OK     90015293039
3671541562B93B   BRAD           BORBOA                     CA     45059264156
3671571627B639   JOANN          JOHNSON                    GA     90009457162
36715A28A61963   MARIA          CARRILLO                   CA     90014820280
36715A8A25B52B   YVETTE         GONZALES                   NM     90013710802
36716348776B89   RUDY           SAARHEIM                   CA     90015213487
3671713A92B93B   MARQUES        EMMA                       CA     45077811309
3671774573B38B   SARAH          MANN                       CO     90006477457
3671839A84B52B   SUMMER         HEARON                     OK     90011053908
36718473A41258   DEEPAK KUMAR   PASUPULA                   PA     90011214730
367184A2951382   MYRON          FENDERSON                  OH     90013164029
36718A3754124B   MATTHEW        HART                       PA     90012850375
36718A78257335   ELAINE         BROOKSHAW                  MO     90015300782
36718A94455951   MARTHA         LOPEZ                      CA     90011500944
3671919A92B93B   RANDI          FISHER                     CA     90000801909
3671923917B639   JOSEPH         PORTER                     GA     90010502391
3671B2A4631493   RICHELLE       STILES                     MO     90013252046
3671B335831424   KIMBERLY       GOLATT                     MO     90011073358
3671B451641258   WILLIAM        CLIFFORD                   PA     51082804516
3671B6A643B352   KEVIN          DWYER                      CO     90000536064
3671B78448B16B   TRUJILLO       DAVID                      UT     90009427844
3671B84754B597   TIMOTHY        SAATHOFF                   OK     90005448475
3672187A24B281   SARA           ORTEGA                     NE     27060408702
3672278288168B   DENNISE        BASS                       KS     90008337828
36722A9462B87B   JORGE          HERNANDEZ                  ID     90013590946
3672352122B871   JEN            GUEVARA                    ID     90007195212
3672352AA61927   JORGE          LOPEZ                      CA     90012375200
367243A487B471   CORTNEY        JENKINS                    NC     11093663048
3672512242B87B   EMILY          CLEGG                      ID     90010961224
3672555914B281   CONNIE         MCGHEE                     NE     90009615591
36725823A91831   BRIAN          BOYLES                     OK     21030028230
3672585292B871   CYNTHIA        STEWART                    ID     90014168529
36725A45861963   BRYAN          MANUEL                     CA     90014820458
3672662155B546   TERESA         ARMENDARIZ                 NM     90013396215
3672688584B281   JUNE           CURTIS                     NE     27016828858
3672719112B87B   AMANDA         TEMPLETON                  ID     90010971911
3672864198B16B   CHERYL         CASEBOLT                   UT     90013716419
3672881637B449   NARAYAN        DHAURALI                   NC     90004638163
3672918A12B87B   VICTORIA       NSABIMANA                  ID     90011211801
3672927A841258   PAUL           THOMPSON                   PA     51009462708
3672935455B393   JESAEL         FAJARDO                    OR     44522703545
36729569872B76   ABRAHAM        MEDELLIN                   CO     33082495698
36729934A2B871   PAT            CLARY                      ID     90008199340
3672B129561999   KELLY          ALPERS                     CA     46081221295
3672B632851339   JYASMINE       WILSON                     OH     90014716328
3673118835B156   NORMA          THOMAS                     AR     23097461883
367314A822B871   REBECCA        CALLIER                    ID     90004124082
36731739976B89   PORFIRIO       MARTINEZ                   CA     46002807399
3673217827B639   SHARON         NURSE                      GA     90014521782
3673235582B93B   NANCY          MEDINA                     CA     90010363558
3673235895B393   PAULA          WILSON                     OR     90002643589
36732795A91891   COREY          COATS                      OK     90002157950
3673317415B52B   PEGGY          FAHRENHORST                NM     35094071741
3673327482B87B   ATTILA         REKTOR                     ID     90015212748
367338A994B281   SHARITA        TOLBERT                    NE     90011188099
3673448A32B87B   BARBARA        BURNS                      ID     90009824803
3673465847B449   BENITO         GAMBOA                     NC     11086006584
3673565368B16B   BRIAN          GREENFIELD                 UT     31074066536
36735874A91831   JOYCE          BOTKINS                    OK     90009388740
36736496A55972   JUENCIO        GARCIA                     CA     90005954960
3673695845B393   JON            BOLICH                     OR     44584919584
36736A72761963   MARCELLO       DIGIOVANNI                 CA     90014820727
367372A125B156   TANYA          WASHINGTON                 AR     23065872012
3673961867B639   ALISSA         BROWN                      GA     15040776186
3673B384455951   RENE           BETANCOUA                  CA     90005903844
3673B81542B835   LINDA          GARZA                      ID     90014178154
3673BA3355B52B   ARTHUR         TELLES                     NM     35035950335
3674165372B93B   SCOTT          ARNEBECK                   CA     90015296537
36742794A55972   JOSETA         GARCIA                     CA     48092297940
36742A13191963   WILLIAMENA     TAYLOR                     NC     90012110131
3674375572B93B   ADELINA        DURAN                      CA     90013027557
3674428294124B   LAMAR          CHILDS                     PA     51093012829
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3674493987B449   KEAIRA        CHAFFIN                     NC     90000439398
3674529447B492   JESSICA       HILDERBRAND                 NC     90005192944
367456A2541258   ANGEL         CASTAPHENY                  PA     51036556025
3674661265B296   CIARA         MORRIS                      KY     90014156126
3674749A291584   LAURA         CHAVEZ                      TX     90003194902
3674815685B156   MONICA        WILLIAMS                    AR     90006621568
36748381476B89   NOE           SANCHEZ                     CA     90009693814
3674876957B492   BROOKLYN      ROBERTS                     NC     90012117695
36748A54555951   TERESA        MADRON                      CA     90003270545
3674B1A892B835   JOSHUA        LOCKNER                     ID     90013581089
3674BA2A551339   MICHAELA      PEEBLES                     OH     90010480205
367519A3261963   ALICIA        BURNETT                     CA     90003879032
367526A2191584   GRACIELA      ESCOBAR                     TX     90014766021
36752776A76B89   RAMON         AVILES                      CA     90005837760
36752A7134124B   CHRISTOPHER   HILL                        PA     90010110713
3675321887B376   EDUARDO       MAJANO                      VA     90005912188
3675372A25B156   TARSHA        JOHNSON                     AR     90006787202
3675478762B93B   KEVIN         GARCIA                      CA     90011417876
36754A38791975   ANGELA        WHITE                       NC     17083570387
367566A2191584   GRACIELA      ESCOBAR                     TX     90014766021
3675772882153B   MICHAEL       DRENNEN                     CO     90011847288
3675781A12B93B   DANIEL        CISNEROS                    CA     90011418101
36757887697B31   DWAIN         ALLEN                       CO     90011438876
3675793612B87B   RICARDO       ALANIS                      ID     42088029361
36757A6715B156   MYRNA         WHITEHEAD                   AR     23096260671
36757A86561981   RANDALL       PRUDEN                      CA     90009770865
36757AA722B835   CRYSTAL       DOMBECK                     ID     90014570072
3675856737B492   MARBIN        DOMINGUEZ                   NC     90002845673
3675872595B393   JAMES         WINFIELD                    OR     44585917259
3675884332B87B   MARIA         CRUZ                        ID     42042868433
36759674787B41   YELENA        PETROUKHINA                 AR     23094526747
367599A3261963   ALICIA        BURNETT                     CA     90003879032
3675B3A137B639   MARQUITA      WEST                        GA     90008353013
36761A58A8B16B   ANNA P        HERNANDEZ                   UT     90004080580
36761A9657B639   WALTER        BARKER                      GA     90003050965
367636A5391584   ELVIA         RIOS                        TX     90014766053
36763AA122B871   TOD           SODERBLOM                   ID     90012320012
36764464A41285   ADAM          LONG                        PA     51024384640
3676463A561963   MARCO         LOPEZ                       CA     90005366305
36764A68391544   HERLINDA      ALVARADO                    TX     75020210683
3676567415B393   HEIDI         EATON                       OR     90012616741
3676578587752B   DIEGO         RIOS-REYES                  NV     90013037858
36766442A8B16B   RACHEL        BOYD                        UT     90012524420
36766623A61963   JULIA         SMITH                       CA     46080786230
367674A6151339   ORHAN         KUP                         OH     90014354061
367676A6A91584   ARMANDO       LUNA                        TX     90014766060
36768243172B76   DAWN          IBARRA                      CO     33088462431
36769218476B89   VERONICA      MARTINEZ                    CA     90012192184
3676934A42B835   CHANEE        GRANT                       ID     90009343404
3676951934124B   KIMBERLY      BOYD                        PA     90013705193
3676971952B87B   BRANDA        WILTON                      ID     90013547195
36769A51941285   MELISSA       HUFFMAN                     PA     51077860519
36769A9552B93B   FELECIA       QUIALES                     CA     90008680955
3676B1A8491891   JACQUELINE    WILLIAMS                    OK     90014361084
3676B477861963   RODRIGO       OCAPMO                      CA     90002324778
3676B48A65B393   JASON         ANDERSON                    OR     90013214806
3676B57793B121   FELIX         SALAZAR                     VA     90002755779
3676B818157138   DIANA         LUGO                        VA     90008688181
36771219A2B93B   ANTONIA       MELGOSA                     CA     90014442190
3677218A576B89   SIGIFREDO     VARGAS                      CA     90002801805
367726A6A91584   ARMANDO       LUNA                        TX     90014766060
36775A54361963   REBEKAH       WILLIAMS                    CA     90014870543
36776951A9125B   JENA          HILL                        GA     14567419510
36777435576B89   ABEL          AYALA                       CA     46012264355
3677748755B393   MELISSA       MCKENZIE                    OR     90001594875
3677817747B492   CARLOS        BECTON                      NC     90014621774
3677B94447B639   CAMEISH       MARTIN                      GA     90012309444
3677B999591891   BETTY         MCDONALD                    OK     90010569995
3677BA28341285   ANDREW        KRIVOSH                     PA     90014020283
36781634A4124B   DANIELLE      ZURAWSKY                    PA     90013926340
36781972A7B639   THERESA       BROWN                       GA     90012679720
3678359874B522   KIMBERLY      GABEL                       OK     90012645987
3678359983143B   DARRYL        BIGGS                       MO     90013635998
36784273672B76   ELIODORA      CABRERA                     CO     90002892736
36784862A55972   JEFFERY       MEGRARGEE                   CA     90014158620
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36784A32491584   RUTH              GARCIA                  TX     75040020324
3678524A461963   CASEY             BANEGAS                 CA     90006462404
3678574712B835   CATHERINE         BURBANK                 ID     90009107471
36785A26A55951   YURIANA           MENCHACA                CA     90011080260
3678618A65B156   SHANITRA          WHITFIELD               AR     23085751806
3678619635B52B   JOHNSON           GENEVIEVE               NM     35091771963
36786331572B76   DONI              MARSELIES               CO     33063143315
367866A8361963   DYLAN             AGUAYO                  CA     90011696083
36786A92141258   MARTHA            HARSHAW                 PA     51081850921
367874A475B156   MARGARET          FLOYD-CAMBELL           AR     90012464047
36787959576B89   JAVIER            PEREZ                   CA     90001569595
3678797352B835   WILLE             JAMA                    ID     90006949735
3678879A751339   MATTHEW           LANDERS                 OH     90012537907
3678927232B871   CLARISA           LEON                    ID     90013892723
367894A8985933   FRANKIE L         GIBSON                  KY     67075874089
3678B125A5B156   CHERYL            HARRIS                  AR     23057691250
3678B355772B32   JUAN              REYES                   CO     90006173557
3678B85244B281   STACI             MILLER                  IA     90012218524
367917A317B492   KIMBERLY          LAWHON                  NC     11046737031
3679186537B471   JULIA             SANCHEZ                 NC     90006628653
3679235614B281   CHAD              BOYER                   NE     27072853561
36792A8342B871   MARCOS            PLASCENCIA              ID     90003220834
367943A814124B   CANIE             LUTTRELL                PA     90008103081
36794594A2B93B   ANTHONY           MILTON                  CA     90012045940
36795416A31424   DOROTHY           OWENS                   MO     90011074160
36795595A41258   CHANTAL           WILLIAMS                PA     51091615950
3679688A24124B   CANDESS           WARD                    PA     90004818802
36797347272B76   KARLA             GUZMAN                  CO     33009043472
3679741952B87B   THERESA           BURCHAM                 ID     42081264195
36797A21431424   TAMECA            WALKER                  MO     90011340214
36797A2982B835   ALEC              WRAY                    ID     90008080298
367985A982B871   ESAI              SALSIDO                 ID     90014705098
36799A2562B835   MICHELLE          SANTOS                  ID     42007630256
367B1651891584   AIDA              PARDO                   TX     90010556518
367B1759357B79   DAVID             NESBITT                 PA     90015357593
367B18AA87B449   KAITY             CAMMOCK                 NC     11076568008
367B223718B16B   MARGIE A          SOWERS                  UT     90004262371
367B267315B393   VIVIAN            LIHPAI                  OR     90014666731
367B3567691584   DELFINA           MARTINEZ                TX     90014765676
367B3712376B89   JACKIE            ESCOBAR                 CA     90013087123
367B37A618B16B   KIMBERLY          LARKIN                  UT     31068797061
367B38A7976B89   ALFREDO           QUINONES                CA     90011438079
367B4179A91891   AMBER             MCDONALD                OK     90014791790
367B441944124B   JOSEPH            BROWN                   PA     90011294194
367B4591976B89   ABEL              HERNANDEZ               CA     46009785919
367B463335B156   DAANDREAL         ROBINSON                AR     23071856333
367B4A5364124B   JOSEPH            BROWN                   PA     90013910536
367B5238576B89   JUAN              SANCHEZ                 CA     90013512385
367B5398891891   ELIJAH            MAYES                   OK     90013473988
367B5636231424   NICK              STADLER                 MO     90014796362
367B579957B471   OLGA              MARTHE                  NC     11094157995
367B6378351382   JAMIE             TAYLOR                  OH     90008663783
367B685114B943   JASMINE           CUNINGHAM               TX     90005918511
367B6896651341   DERRICK           SARVER                  OH     90009248966
367B6935A51339   MELISSA           ROBINSON                OH     90004989350
367B752687B639   KAWANNA           THOMAS                  GA     15081285268
367B7717651594   TARA              MAGAR                   IA     90013787176
367B7796A8B16B   NATALIE           FLEMING                 UT     31081767960
367B8258141285   ROBERT            GORE                    PA     51093002581
367B8352731424   JESSICA           BAILEY                  MO     90011073527
367B859274124B   KENNEDY           PARRISH                 PA     90012525927
367B8642A76B89   JUANA             OLIVARES                CA     90014746420
367B9383884755   WILBER            MENA                    VA     90000173838
367B9494191584   BRENDA            RENTERIA                TX     90015344941
367B9681193762   DEEZIGNERS        EDGE                    OH     90010016811
367B973538B16B   HITANDEWI         CRUZ                    UT     90014587353
367BB172541258   DESTINEY          OSTERRITTER             PA     90014241725
3681196A372B76   MARYLU            DURAN                   CO     33030819603
36811994A51382   ROGER             BREWER                  OH     90009499940
3681212A955972   RIVAS             RENE                    CA     48038301209
3681261417B449   BRYNETTE          PARKS                   NC     11064136141
368145A5441258   DARON             KENNEY                  PA     51002855054
3681477265B52B   MARIA GUADALUPE   ORNELAS                 NM     90014887726
368149A8855951   JACKIE            OLIVAREZ                CA     90011479088
36815512791B82   MAURICE           CRAFT                   NC     90015155127
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3681593712B871   AMY          ROBINSON                     ID     90012139371
36816776A41258   DANIEL       DONAHUE                      PA     90011217760
36816A14661963   AMEER        SHAMMO                       CA     90014860146
36816AA2598B61   LISA         STRICKLAND                   NC     90010570025
3681732A572B76   RENE         TERRAZAS                     CO     33038263205
3681B22832B93B   YURIPSE      CUEVAS                       CA     90008092283
3681B59A991891   DESHUN       SUTTON                       OK     21070265909
3681B8A757B492   EMILY        MOSS                         NC     90009758075
3682151A55B52B   ANTONIO      MARTINEZ                     NM     90014155105
3682175127B639   CHARNISE     ELIAS                        GA     90013377512
36822155A5B52B   ROBERT       RAMIREZ                      NM     90012571550
3682261692B835   SHANNON      NARTE                        ID     90006876169
3682267827B328   HECTOR       ESCOBAR                      VA     81069516782
36822A62A55972   JOSE         SALTOS                       CA     90010040620
3682337817B449   TECORA       WILSON                       NC     11025133781
368257A6391584   MARIO        GONZALES                     TX     90011827063
36825A2394B281   FRIEDA       ROGERS                       NE     90003690239
36826273A5B156   LILLIE       TUCKER                       AR     23031052730
3682652534B281   SARAH        SEWELL                       NE     27091375253
3682696895B52B   JOSE         CONTRERAS                    NM     35086329689
36826A2A96B241   GEORGE       WICK                         AZ     90013170209
3682757662B87B   MAIA         BARRAGAN                     ID     90008085766
3682782922B871   JENESSA      SHOECRAFT                    ID     90010788292
36829863576B89   ARLIN        VERDUZCO                     CA     46092098635
3682B19A92B93B   RANDI        FISHER                       CA     90000801909
3682B81A57B639   UNKNOWN      CALLER                       GA     90011518105
3682B9AA355921   BETTY        ARCHULETA                    CA     49058349003
3683132864124B   MNIQUE       STAPEL                       PA     90013293286
3683324445B393   JAZMINE      PEREZ                        OR     90013632444
368333A6A2B87B   RUBEN        MARQUEZ                      ID     42071933060
36833A3237B639   KENNETH      WORD                         GA     15087410323
36834215A61963   ANA          SANTOS                       CA     90008092150
3683434A455951   THOMAS       GRADY                        CA     90003273404
3683494424124B   PARRISH      CAMPBELL                     PA     90014299442
3683538892B93B   VANESSA      CEJA                         CA     90014973889
36835A45661963   MARIA        CRUZ                         CA     46076550456
36837A75984326   DELL MARIA   VILLEMAIRE                   SC     90013670759
36838211A7B492   RUBY         STYLES                       NC     11015992110
36838674A4B554   SANDRA       ELIX                         OK     90010886740
368389AA34124B   DANIELLE     CZAJKOWSKI                   PA     90013219003
36839153A61963   JOE          BARRAZA                      CA     90012471530
3683974457B639   TIFFANY      THOMAS                       GA     15028337445
3683974997B492   BELINDA      KINGSTON                     NC     90013497499
36839767A76B89   ARTHUR       LUJAN                        CA     90014837670
3683B153261963   CELESTINO    HERNANDEZ                    CA     90014891532
3683B61322B93B   KATHY        CRAWFORD                     CA     90010576132
3683B831A51339   JON          ROUTZAN                      OH     90009808310
3684191AA4B524   BRIANDA      CHAVEZ                       OK     90005909100
36841A44441285   SCOTT        STEVENS                      PA     90014810444
36841A7266194B   OMAR         ABUDEH                       CA     90011940726
3684214A355951   ANNETTE      FERNANDEZ                    CA     49088751403
368424A9391584   ANA          HERNADEZ                     TX     90014774093
36842A96451339   DONNA        BELTZ                        OH     90004210964
368433A4541258   ALAN         HASKINS                      PA     90014243045
368436A9572426   STEPHEN      CHUPINKA                     PA     51083996095
36843898476B89   BENJAMIN     MONTEZ CRUZ                  CA     90014658984
36843A4192B871   ABIGAIL      EURESTE                      ID     90013220419
3684418262B871   ESMERALDO    VIVERO                       ID     90013781826
3684442442B871   MARIA        SALAZAR                      ID     90010954244
3684454674124B   TAALOR       MACKENZIE EVANS              PA     90011295467
3684477552B87B   YVONNE       ZAVALA                       ID     90014687755
36845461A5B52B   EDUARDO      ALEMAN                       NM     90012154610
3684555592B871   JENIFER      SANFORD                      ID     42092915559
36846656A51339   BRANDY       WAHL                         OH     90013096560
368468A682B871   BRITTNIE     COONROD                      ID     90013538068
36846A1732B93B   RODRIGO      MEDRANO                      CA     90012890173
3684745295B393   ROBERT       ARELLANO                     OR     90014694529
3684931252B871   SHAWNA       LYNNE                        ID     90000653125
368494A225B393   SONYA        RASH                         OR     44508094022
3684951142B87B   JOEL         ROSALES                      ID     42003985114
3684999875B52B   FRANKIE      MARTINEZ                     NM     90012469987
3684B211651392   BEVERLY      ROWE                         OH     90002152116
3684B759A31424   DONNA        GEORGEVICH                   MO     90004317590
3684B83518B16B   KILEY        SORENSEN                     UT     31089948351
3684BA4674124B   MARTIN       ALI                          PA     90014060467
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3685165A88B16B   RAFAEL       RIOS                         UT     90004196508
368523A752B835   JUANITA      KASUMU                       ID     90013033075
36852472A91323   VIRGIL       CRUMPTON                     KS     90010344720
3685272697B639   ZAKIYYA      ROYAL                        GA     90010987269
3685296757B471   ANDREW       MCLENDON                     NC     90004169675
36852A45991891   BETH         LAWSON                       OK     90005530459
36853213A41258   KIMBERLY     BRANCH                       PA     90003132130
3685384417B449   BERTHA       GOMEZ                        NC     11082628441
3685417A561963   LILIANA      VALDEZ                       CA     90011711705
3685556584124B   ALYSSA       WELSH                        PA     90011295658
3685566392B93B   JOSEPHEEN    KAWAR                        CA     90013966639
3685585575B52B   CARLOS       MAX                          NM     90013598557
368562AA24B281   GULOGIO      CARMONA                      NE     90015112002
36856A48671923   RACHEL       WILSON                       CO     90009680486
3685765222B87B   DONNA        KRAMER                       ID     42092736522
3685855352B871   CASSANDRA    SPARKS                       ID     90015305535
3685861852B871   JAMIE        MICHEAL                      ID     90013936185
3685914255B535   ARTURO       ZAMBRANO                     NM     90012121425
3685986617B639   CHRIS        ANDERSON                     GA     15031158661
3685989694B281   SHANNON      WEBER                        NE     27071218969
3685B416891584   JOVANNA      REY                          TX     90014774168
3685B95934B943   MICHAEL      REDD                         TX     90007089593
3686339A84B52B   SUMMER       HEARON                       OK     90011053908
3686377815B52B   KAITLYN      HOLT                         NM     90009047781
368644A2391584   RICARDO      AGUILAR                      TX     75061934023
3686547735B393   EDDIE        MILLER                       OR     44597714773
36865675776B89   SANTIAGO     JAIME                        CA     90011546757
3686642925B393   KEN          ATWATER                      OR     44547334292
36866659297B37   KIMBERLY     PONCE                        CO     39027896592
3686719687B639   BRENDAN      DENUEH                       GA     15008741968
3686842A97B639   JACQUELINE   GRANT                        GA     15085104209
3686B328681628   DIANE        HAYES                        MO     90011253286
3686B3A937B639   QUEENETTA    RICHARDSON                   GA     15048033093
3686B94817B492   TINA         PATTON                       NC     11065549481
3686BA26651339   KELLY        YOUNG                        OH     90010540266
36871176A8B16B   STEVEN       PEREA                        UT     90005431760
3687199AA5B52B   ZACHARIAH    GUTTERIEZ                    NM     90010689900
3687235455B156   EDWARD       SANDERS JR                   AR     23002493545
368723AA791831   STEPHANIE    L SHEPHERD                   OK     90014473007
3687264478B16B   CARLOS       FONTANEL                     UT     90013716447
3687337482B835   LISA         THOMETZ                      ID     42076283748
3687356145B393   LAURA        MENDOZA T                    OR     90007255614
36873A9A955972   ALICIA       DELGADO                      CA     90008940909
36874123A8B16B   JUDITH       RUBALCAVA                    UT     90003081230
3687415172B241   NORMA        LAZO                         DC     81067631517
36874364A2B87B   CESAR        GUADARRAMA                   ID     42083883640
36874585A7B449   TIFFANY      PLESS                        NC     90008285850
3687466637B471   NADIA        PONCE                        NC     11006886663
368756A898B16B   WOOLSEY      GRANT                        UT     90011426089
36876519A2B871   TIFFANY      BARREIRO                     ID     42059755190
36876572976B89   ROBERTO      LARA                         CA     90014355729
3687845447B639   TRENEYZA     KING                         AL     90014714544
36878A37191891   SCOTT        SWAN                         OK     90013550371
368792A182B835   J            MENDOZA                      ID     90010062018
36879A64231424   CODY         WISHOM                       MO     90014870642
3687B7A7A2B93B   ELISIA       MUZQUIZ                      CA     90013717070
3687B868491891   AMANDA       GRAY                         OK     90010988684
36881736176B89   MORGAN       COPELAND                     CA     90002967361
36881A37A51339   KIMBERLY     SILAS                        OH     90004230370
36881A63741258   MALORI       SATARIANO                    PA     90004760637
3688259A44124B   KATIE        BYRNE                        PA     51074395904
3688284AA91584   RABEL        GUIJARRO                     TX     90011828400
368828A577B639   DORTHENIA    THOMAS                       GA     90011048057
3688291394B281   ALVARO       MOLINAR                      NE     90008449139
3688368664124B   MELINDA      GICONI                       PA     90014926866
3688489934124B   JENNIFER     MATLAS                       PA     90014778993
3688524887B492   JEANNA       PEOPLES                      NC     90014702488
36885337A7B639   MARTHA       DIXON                        GA     90011123370
3688622824B281   TRAVIS       BINGER                       NE     27096602282
368862A854124B   MICHEAL      WEIBLINGER                   PA     90003622085
368865A4991831   DENISSE      BENGOCHEA                    OK     21027945049
3688666342B871   ROSITA       GOMEZ                        ID     42087206634
36886A3137B495   JAMES        CARTER                       NC     90011590313
3688712897B492   JOZEPH       SHALASH                      NC     11043441289
36888212372B76   TESSA        WILLIAMS                     CO     33063162123
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368883A555B393   ELAINE       PHARR                        OR     90014583055
36888923876B89   FRED         TOLENTINO                    CA     90010229238
368889A395B536   GABRIEL      SANDOVAL                     NM     90002439039
3688915745B161   KENNETH      COOK                         AR     90008501574
36889718A55972   SEAN         MCGILL                       NV     48097787180
3688B11347B639   KENESHA      GRIFFIN                      GA     90014561134
3688B314461963   FARLEY       RONNA                        CA     90003413144
3688B827391584   DESSERAY     GONZALEZ                     TX     90014778273
3689175554B281   ARETHA       FOYE                         NE     90005357555
36892876A31639   MICHELLE     RICKLEFS                     KS     90013138760
3689295AA8B16B   MADELEINE    WESTBROOK                    UT     90002699500
36892A33141285   RENEE        ROPER                        PA     90001980331
36893A38161963   JOVANY       VARGAS                       CA     90014960381
3689419165B156   CHRISTINE    MARTIN                       AR     90002511916
36894A61331424   ELLSWORTH    BROWN                        MO     90011460613
368952A2991525   YVETTE       VARGAS                       TX     75076102029
3689556684B559   JOSE         REYES                        OK     90010575668
36895623341B49   HENRY        CABRERA                      VA     81069366233
3689596372B87B   KASAUNDRA    LAKIC                        ID     42076429637
3689623A14B55B   ANGELINA     GOMEZ                        OK     90001282301
368968A8A61927   LOURDES      MENDOZA                      CA     90013458080
36898A38161963   JOVANY       VARGAS                       CA     90014960381
36898A7917B334   ESALE        UMANYUNDU                    VA     81014620791
3689936237B639   KEFRIN       FEARSON                      GA     90009743623
368996A364B563   MARIA        CAMACHO                      OK     90010286036
3689B236136143   IRIS         ZUNIGA                       TX     90008182361
3689B51385B52B   JUDITH       ARZOLA                       NM     35080845138
368B126449125B   MONICK       SMITH                        GA     90007642644
368B1265A7B639   KASHY        PATEL                        GA     90012572650
368B183994124B   LORI         RUPINSKI                     PA     51034868399
368B215125B52B   ALEX         CASTILLO                     NM     90009911512
368B2533555972   JOSE         MURILLO                      CA     90014515335
368B315387B639   MONICA       CULPEPPER                    GA     90010381538
368B349512B87B   ROBBIN       HANKINS                      ID     42068264951
368B35A8455972   YOLANDA      STOCKTON                     CA     48036995084
368B3675991584   LAURA        GONZALES                     TX     90011826759
368B397A12B93B   SYLVIA       ALEJO                        CA     90006139701
368B3A79631424   MARY         IRVING                       MO     90011840796
368B4221955972   KEVIN        FOSTER                       CA     90009412219
368B4676491831   JULIAN       BECKWITH                     OK     90014466764
368B478232B93B   JAMAIL       ABUZIADA                     CA     90014187823
368B4AA738B16B   AMANDA       WHEELWRITGHT                 UT     31000890073
368B5369476B89   OSCAR        PEREZ                        CA     46022773694
368B5A46761963   BRANDON      RYF                          CA     90011700467
368B6412876B89   SANDRA       CHOLULA                      CA     90014814128
368B6445191891   COLLIN       SWANAGAN                     OK     90013234451
368B695197B639   AISHA        MOSES                        GA     15059369519
368B7422155972   HELEN        MARTINEZ                     CA     48086874221
368B787A54B544   BROOKE       GRIFFITH                     OK     90010858705
368B7A5574B281   BLAKE        WEBSTER                      NE     27054010557
368B811967B277   LUIS         ACOSTA                       CO     40552421196
368B9366A41258   GINA         OVESNEY                      PA     51051003660
368B9723491891   DEBRA        RICHERSON                    OK     90013487234
368BB453631424   GLYNIS       COLLINS                      MO     90009134536
368BB47255B52B   LIDIA        ROMERO                       NM     90009854725
368BB565541258   ALICIA       DEFRANCES                    PA     90004845655
368BB76A355972   JESUS        TURNER                       CA     90014467603
3691137484B281   MARLA        MERGER                       NE     27085753748
3691217937B639   MECHELLE     JOHNSON                      GA     90014551793
3691219452B835   JUSTINA      SANTERO                      ID     90012611945
3691395912B871   GARY         HAMBY                        ID     42075019591
3691447334B281   JENNIFER     POPE                         NE     27071194733
369149A9A7B32B   IRMA         CABRERA HERNANDEZ            VA     90002909090
3691534A65B393   BEVERLY      DANIEL                       OR     90005363406
3691651655B557   ALBERT       MADRID                       NM     90002205165
3691687557B639   GERENY       FORD                         GA     90014418755
3691799A155962   KODY         MARTIN                       CA     90001539901
3691832A38B16B   DALYCE       LAFLEUR                      UT     31000973203
3691834654B281   MARIA        CASTRO                       NE     90008403465
369187A764124B   MITCHELL     BELEY                        PA     51010907076
3691886A59125B   JAMAL        WALKER                       GA     14518038605
3691926474B943   BRADLEY      DUMMITT                      TX     90005942647
3691B123351382   KIMBERLY     KAZEE                        OH     90009501233
3691B191451339   KATHERINE    PATRICK                      OH     66066571914
3691B49598B16B   KYLE         WATSON                       UT     31028044959
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3691B878972B4B   OSCAR          RUBIO                      CO     33091908789
3692111867B449   REGINALD       KNOX                       NC     11036911186
369226A5531424   LISA           STAPLETON                  MO     90011076055
3692283247B639   BENJAMIN       BARROW                     GA     90011238324
3692463A525621   SUSIE          CARROLL                    AL     90015176305
3692481988B195   HEIDI          DAY                        UT     31086928198
36924A55891831   MONA           MINTON                     OK     90014450558
3692526825B52B   SUZETTE        HULSE                      NM     35043762682
3692555A36B241   DAMARI         OROZCO-RUIZ                CO     90012155503
36925584472B76   DONNA          RUBIL                      CO     33002705844
36925759A61557   LEONARD        ADAMS                      TN     90010307590
3692672964124B   KAYLIA         SMITH                      PA     51013097296
36926A5917B471   ANDREA         NUNEZ                      NC     90001620591
36927A2462B835   SARAH          GARZA                      ID     90000690246
369284A6831424   LYNN           GRAYBILL                   MO     90011904068
3692881197B471   RICHARD        TAYLOR III                 NC     11082508119
36929261A91584   LETICIA        NAPOLES                    TX     90014212610
3692944945B52B   MYRNA          FERNANDEZ                  NM     90008954494
3692B583555972   LILIANA        BANUELOS                   CA     90013965835
3692B83164B531   AMY            BRADSHAW                   OK     90008978316
3692B887176B89   JUSTIN         ANTONIO                    CA     90013038871
3693112A18B16B   SIERRA         DALTON                     UT     90014331201
36931142A3B169   JULIA          EDWARDS                    MD     90010541420
36931556A7B449   RAVEN          JANT                       NC     11024705560
3693194182B93B   SHELLY         ANDRE                      CA     45098019418
369321AA261963   MILO           SOLANO                     CA     90007291002
36932891A5B52B   THEODORE       SEDDON                     NM     90012228910
36932AAA12B835   LINDA          SPRINGER                   ID     90000840001
3693422797B639   MARGARITE      LAMB                       GA     90001412279
3693564393B38B   NICOLE         FARROW                     CO     90009926439
369357A997B471   ANTONIO        ROLLINS                    NC     11049587099
36935A5587B639   CINDY          GILYARD                    GA     90012060558
36936A84991584   JERRY          MENOZA                     TX     90010920849
3693748A361963   DANIEL         OCONNER                    CA     90011724803
3693885A731424   TAMMY          BAKER                      MO     27581758507
3693937967B492   ASHLEY         FLOYD                      NC     11080993796
3693962428433B   CHRISTINA      COFFIELD                   SC     90008496242
3694153594B281   LORI           WOOSLEY                    NE     27058235359
369415A3A91584   FERNANDO       LOPEZ                      TX     90014775030
36941767A76B89   ARTHUR         LUJAN                      CA     90014837670
3694183AA7B492   KAYLA NICOLE   SMITH                      NC     90007638300
36941A29341285   TRACY          KOPP                       PA     51001680293
3694227A431424   BRITTNEY       MOORE                      MO     90014872704
3694313367B492   STEVE          RAYMON                     NC     11073501336
36943A2282B871   JEFFREY        MCCALLUM                   ID     90013160228
36943A24341285   ADRIENNE       FLORA                      PA     90003590243
369446A935B393   ZAHID          ORTEGA                     OR     44579386093
36944A89751339   SHELBY         MURPHY                     OH     66011080897
3694533A22B835   CRISTIAN       CONTRERAS                  ID     90013433302
3694543267B492   STACY          ROBINSON                   NC     90014724326
3694547742B93B   JENNIFER       DWITT                      CA     45049394774
3694557552B871   FLORENTINO     DELAFUENTE                 ID     90002965755
3694582635132B   TONIA          SMITH                      OH     90005608263
36946117676B89   MINA           SANDOVAL                   CA     90015181176
3694617688B16B   AMANDA         AUSTIN                     UT     90015301768
36947754A31424   BRANDY         MCCADNEY                   MO     90010027540
3694817A32B87B   JEFF           HOARD                      ID     42034041703
3694846264B281   TIA            BECKER                     NE     90007904626
3694881718B16B   MATTHEW        EDDINGTON                  UT     31023188171
36949584676B89   MALLORY        STEVENS                    CA     90010355846
3694966882B93B   KARLA          VALENCIA                   CA     90012226688
3694B5A2691584   SERGIO         LORENZANA                  TX     90014775026
3695126A68B16B   NANCY          BANDA                      UT     90012902606
3695134275B393   CARLOS         RODRIGUEZ                  OR     44594243427
3695178735B181   YALANDA        COTLAGE                    AR     90010517873
36951A99331424   DORIS          MILES                      MO     90004640993
369521A277B639   PATRICIA       KEEFOVER-FLEMING           GA     90008791027
36952A81655972   PRISCILLA      BROOKS                     CA     90003580816
36952A93631424   JEREMY         WATKINS                    MO     90006680936
369541A2631424   KEITH          LAWRENCE                   MO     90001441026
3695427497B492   ASHLEY         DALTON                     NC     90009762749
3695564138B16B   TINA           MCCLAIN                    UT     90015106413
3695669AA51339   MELISSA        JANDLE                     OH     90014046900
36956979A41258   NETTE          SOWELL                     PA     90008799790
3695752248B191   LINSEY         SARGENT                    UT     90009945224
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3695764248B16B   DEBORAH          TERKELSON                UT     31079736424
3695799514B281   PABLO            HERNANDEZ                NE     27002749951
36958A22785939   CANDACE          KEEN                     KY     90014190227
36959535A5B386   PETER            PERALTA                  OR     90005795350
3695954A241258   JAMES            COACH                    PA     51090035402
3695B898191584   ALFREDO          CERECERES                TX     75017918981
36961254A51339   PAT              MEYER                    OH     90006792540
369618A942B871   LANA             STEPHENS                 ID     42015058094
36962163276B89   SALGADO          HUMBERTO                 CA     90001771632
36964248376B89   MIGUEL           RAMIREZ                  CA     90014672483
3696463A691891   CINNAMON         HUGHES                   OK     90005736306
3696474A67B639   DEANDRA          HEYWARD                  GA     90013807406
3696531337B449   FRED             PATTERSON                NC     90014493133
3696563A555951   JOANNA           GONZALEZ                 CA     49080566305
3696568877B449   FRED             PATTERSON                NC     90002636887
36965A88A2B871   TODD             WESTON                   ID     90003540880
369661A3991584   RAUL             LOPEZ                    TX     75091231039
3696657A42B871   ANTHONY          BALDWIN                  ID     90014645704
3696757A42B871   ANTHONY          BALDWIN                  ID     90014645704
369678A8A31424   DIANA            MALONE                   MO     90013628080
3696874432B835   DANIEL           DISMUKE                  ID     90012947443
36968AA4991891   EMILY            FRIX                     OK     90014160049
3696926648B16B   SHAY             CHAVEZE                  UT     90011522664
3696941712B93B   ELSIE            SARGENT                  CA     90014524171
3696975275B52B   GRETCHEN         SCHMIDT                  NM     35035317527
3696987382B835   JACOB            MARSHALL                 ID     90007808738
3696B139555972   JAVIER           CHAVEZ                   CA     90014831395
3697152962B87B   JESSIE           MONAHAN                  ID     90014835296
36972312572B76   OSCAR            FIERRO                   CO     33063173125
36972485676B89   SANDRA           GONZALEZ GUZMAN          CA     90010984856
3697267374B943   CHRISTOPHER      WIKIFFE                  TX     90007296737
36972A4A555951   EUGENE           WOODS                    CA     49016300405
3697412384B576   SHAYNA           PALMER                   OK     90010851238
3697435A98B16B   TONI             SALONIS                  UT     90002373509
3697483352B93B   NANCY            SENA                     CA     90012398335
3697483784B281   PETER            YIECH                    NE     90009158378
36974AA612B93B   DULCE            MARIA                    CA     90010460061
36975514576B89   JESSICA NICOLE   ARENAS                   CA     90003815145
36975A77A5B393   KAILASH          GAJMER                   OR     90010000770
3697628927B492   FIDEL            LOPEZ                    NC     90011172892
3697641659374B   SENNIE           KEYSER                   OH     90009484165
3697677A481672   CARLA            CRUZ                     MO     90012457704
36976AA9461963   ELSA             MARTIN                   CA     90000450094
369772A5A24B54   RIGO             ESCOBAR PEREZ            VA     90011382050
3697855312B835   TEDDY            BOSTICK                  ID     90009725531
369789A355B264   CRAIG            GREENWELL                KY     90006149035
36979A36391584   PEDRO            CARILLO                  TX     90011830363
3697B19147B639   TIFFANI          WHITE                    GA     90010991914
3697B28692B87B   PRASERT          KLINGKLA                 ID     90009332869
3697B294391584   DORA             ROBLES                   TX     90005392943
3697B587355972   BIANCA           SANCHEZ                  CA     90006065873
3697B746455951   ALEJANDRO        ESTRADA                  CA     90014717464
3697B75A376B89   ISRAEL CRUZ      MARTINEZ                 CA     90004387503
3697B8A9855951   ALEJANDRO        ESTRADA                  CA     90012498098
3697B926A4124B   URSULA           WRIGHT                   PA     51076279260
3698147267B471   VILMA            MUNGUIA                  NC     90006814726
3698183752B871   BRIANNA          TRIMBLE                  ID     90015118375
36982A54555972   SILVIA           SANCHEZ                  CA     90013560545
3698314A22B93B   JOSE             AVALOS                   CA     90014891402
3698448834124B   CHARLSE          COPPINGER                PA     90011364883
36984A3457B639   COURTNEY         HARRIS                   GA     90011610345
36984A87A61986   ALBERTO          BARRAZA                  CA     90012170870
3698517A62B871   CHANDRA          ADHIKARI                 ID     90007471706
3698561772B871   JASMINE          LOMAX                    ID     90014646177
36985A41685996   ARTHUR           HAYDEN                   KY     67058660416
3698651652B87B   ROSA             BERNABE                  ID     90013485165
3698779622B835   EDU              LOZANO                   ID     90012807962
36988473576B89   TELESNIKOV       JULIAN                   CA     90001504735
3698874A491891   DEBRA            KOVAR                    OK     90015127404
36989997876B89   YADIRA           ESTRADA                  CA     90011629978
36989AA2A5B393   CARLOS           BURGOS                   OR     90012260020
3698B177A2B93B   JERONIMO         DELGADO                  CA     90012971770
3698B41312B87B   AUDRIANA         DURAN                    ID     42002214131
3698B528991543   ROQUE            DAVILA                   TX     90009805289
3698B679655951   FRANSISCO        VELAZQUEZ                CA     49091496796
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3698B985851339   ROBIN         THAXTON                     OH     90012389858
3699136192B87B   MIKE          VILLARREAL                  ID     42001943619
3699252775B393   JUSTIN        KUNTZ                       OR     90014915277
36993187A91831   GREG          ALLEN                       OK     90015081870
369933A297B639   KISHANA       FISHER                      GA     90010993029
36993593A91891   GUILLERMINA   PRADO-BARBOSA               OK     90013885930
3699371A891584   HECTOR        HERRERA                     TX     90000187108
36993A7845B52B   CASSIE        HERNANDEZ                   NM     35031590784
36994137776B89   VICTORIA      HUNT                        CA     90014901377
36994661A31424   CARLA         IANKE                       MO     90011076610
369948AA22B87B   JAMES         COLLINS                     ID     42077458002
3699512445B156   LAWONDA       TURNER                      AR     23077961244
3699538662B871   SANDRA        WHITE                       ID     42054773866
36995849A55972   JOSEPH        HERNANDEZ                   CA     90012988490
3699611577B639   LEVON         NOID                        GA     15094091157
3699622A12B87B   KAYLEIGH      RAMOS                       ID     90009172201
36996539972B76   MARYEN        CABANAS                     CO     90004535399
369967A185B393   BETTY         ANDERSON                    OR     90012287018
3699786812B559   LAMETRIA      HENDERSON                   AL     90014658681
3699922497B449   EDITH         BOYD                        NC     90004942249
36999575A5B393   KENNETH       WALBERG                     OR     44513775750
3699B345131424   KEISHA        HAZE                        MO     90008723451
3699B44595B393   RANDY         BENJAMIN                    OR     90012754459
3699B94354124B   MELISA        PERKINS                     PA     90008169435
369B124A87B639   RONY          PEREZ CIFUENTES             GA     15085702408
369B1444691831   IVAN          EASILEY                     OK     90004924446
369B164972B87B   LYNDA         COLLINS                     ID     90013976497
369B219192B835   ALEJANDRO     JIMENEZ                     ID     42017971919
369B2316541285   HEATHER       MILLER                      PA     51045993165
369B2468A91584   LETICIA       VARELA                      TX     90014774680
369B286834124B   CHRISTINE     MARINO                      PA     51065518683
369B299732B87B   LAVAUN        JAUREGUI                    ID     42091969973
369B2A3335B393   MARTIN        CUTLER                      OR     90008890333
369B3A6135B131   WILLIE        GILMORE                     AR     90011070613
369B45A197B639   JHOAN         ANTONIO SANTIAGO            GA     90001475019
369B464364124B   REGINA        SMITH                       PA     51061086436
369B4994276B8B   KASEY         CRITZ                       CA     90009349942
369B5722791891   SHANE         THOMPSON                    OK     90015127227
369B5874191584   MICAH Q       ALLEN                       TX     90011828741
369B6288991891   ROBIN         LARSEN                      OK     90005412889
369B749217B639   TOMAS         VALDEZ                      GA     90014254921
369B7658A7B639   BERNICE       GARY                        GA     90014226580
369B8388A61963   ERICA         OLEA                        CA     90014383880
369B8634851382   DALE          THOMAS                      OH     66064316348
369B872155B52B   MARIA         AVALOS                      NM     35040617215
369B876A42B87B   MARK          MCCOY                       ID     90006847604
369B918427B639   MELISSA       MICKENS                     GA     90013241842
369B948A48B16B   DAVID         GOODA                       UT     31081214804
369B9697151382   RENEE         CHRISTON                    OH     66010156971
369B9A19791544   ELI           TOTO                        TX     75098620197
369B9A7A361963   ALBERTO       ROMERO                      CA     90012400703
369BB79782B847   KAREN         GARRUTO                     ID     90014057978
369BBA48576B89   GABRIELA      MULATA                      CA     46005160485
36B1123642B835   KEITH         BESHEARS                    ID     90006802364
36B11825991831   MICHAEL       BYRNE                       OK     21085378259
36B1291362B871   RHONDA        BECK                        ID     90006789136
36B12947661963   FIRAS         ADAM                        CA     90000919476
36B13347A7B639   JILLIAN       PRICE                       GA     90013703470
36B13426A51339   PHILL         NORMAN                      OH     66034504260
36B135A3361963   LAURA         ALVARADO                    CA     46059455033
36B13A1647B492   JOSE ISREAL   JIMENEZ                     NC     90009300164
36B1431A32B835   PARSHU        ADHIKANI                    ID     42007443103
36B1524A341285   DAVID         JEFFERIES                   PA     90012642403
36B15581591831   SANDRA        RATLIFF                     OK     21095745815
36B15711641258   EUGENA        ALEXANDER                   PA     90011207116
36B16157876B89   CHARLES       YARBROUGH                   CA     90012171578
36B1665162B87B   JAREIDI       LOPEZ                       ID     90010596516
36B16A9312B871   JESUS         PEREYRA                     ID     42084830931
36B1726985B156   ANGELA        CAULDWELL                   AR     23088652698
36B17451491891   DESTINY       POTTER                      OK     90013914514
36B17539791831   JONATHAN      BRISTOW                     OK     90014365397
36B17776941285   AMONDAI       ALEXANDER                   PA     90006227769
36B17798951382   TIFFANY       WHITMIRE                    OH     90014537989
36B17A65351339   RUSSELL       MABRY                       OH     90013000653
36B185A9941258   VINCENT       BROOKS                      PA     90007795099
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36B1866A961963   LENORA       FLOWERS                      CA     90012116609
36B1873677B449   NTEE         STEERE                       NC     11068457367
36B19127831424   SHATINA      LONGMEYER                    MO     90014741278
36B19213576B89   RYAN         THOMAS                       CA     90013292135
36B19723761963   MIGUEL       CERVANTES                    CA     90015217237
36B1B368676B89   NICOLE       OTTONALLBEE                  CA     90013873686
36B1B48567B384   JEFFREY      TRUAX                        VA     90013324856
36B1B796851339   KAREN        COLDIRON                     OH     90013107968
36B1B97532B87B   CHASE        MC CUBBINS                   ID     90015119753
36B1B99217B384   JEFFREY      TRUAX                        VA     90012289921
36B2126972B835   JOEL         VERDUZCO                     ID     42084752697
36B21396693762   INC          FRE FLO DISTRIBUTION         OH     64573993966
36B2149695B135   PATTY        BRADFORD                     AR     90012134969
36B2174137B471   LOUISE       BARRINO                      NC     90010947413
36B21937A4B547   ALTA         LITTLECALF                   OK     90014079370
36B22118831424   KELTON       BRYANT                       MO     90014761188
36B23A1A991584   EDUARDO      HERNANDEZ                    TX     75095870109
36B2455917B639   ELLIS        HOLLINHEAD                   GA     90015075591
36B24655455972   CARLOS       HERNENDEZ                    CA     48067116554
36B24846351339   JOSH         DEATON                       OH     90013988463
36B25332A41285   SUSAN        BOULIERS                     PA     90010233320
36B25494A2B835   MELISSA      CASEY                        ID     90001764940
36B25622191584   JOHN         COWGILL                      TX     75042776221
36B2575567B492   ROMAN        RAMIREZ                      NC     90013787556
36B2664592B87B   MINDY        MCGREW                       ID     42011286459
36B2736915B393   TIFFANY      WOODARD                      OR     44520803691
36B27974655972   AARON        RAY                          CA     90012979746
36B28242984368   MAGDALENA    DELLE VALLE                  SC     90002122429
36B28499461963   RUBEN        MARTINEZ                     CA     90013034994
36B28716A2B835   CAROL        ARNOLD                       ID     90011307160
36B29352776B89   CRUZ         FERNANDEZ                    CA     46086143527
36B29426351382   ANTHONY      HARRIS                       OH     90014994263
36B295A582B93B   DONA         SHEAR                        CA     45013935058
36B296A6791891   LADONNA      PICKUP                       OK     90014636067
36B29775333625   JAMIL        MORAVIAN                     NC     12090907753
36B29826751339   MICHAEL      DORN                         OH     90014928267
36B2B4A8351382   ANDREW       GRAY                         OH     90014994083
36B2B816191891   AMANDA       KIMBRELL                     OK     90011938161
36B2BA6252B93B   BRANDY       BRYANT                       CA     90013190625
36B31266272B76   JOSE         ALVARADO                     CO     90009422662
36B3133792B93B   LASHANTI     MOLLETT                      CA     90012083379
36B3136137B639   KARISMA      SMITH                        GA     90011213613
36B31548991584   FREDERICK    VOGLEWEDE                    TX     90014745489
36B32335A4B929   MISAEL       FLORES                       TX     90010873350
36B32448572B76   PAIGE        BRIANZA                      CO     90005954485
36B32725251347   JENNIFER     SAPP                         OH     66077947252
36B32884691831   ANGELES      LAZARIN                      OK     90011698846
36B33156576B89   ROQUE        GALAN                        CA     90012191565
36B33329291584   JAIME        PENA                         TX     90014043292
36B3334A231493   NED          HORRELL                      MO     90014093402
36B34158151339   KELLY        GROSS                        OH     66034541581
36B3437A531424   MARSHELLE    WOODLAND                     MO     27531403705
36B3442848B16B   FELICIA      NOVOA                        UT     90010814284
36B34567536143   JOSE         LOZANO                       TX     90004405675
36B3529618B16B   FRANCISCO    AVALOS                       UT     90009082961
36B3537628B16B   PHILLIP      DYKEMAN                      UT     90011293762
36B35464761963   LUCIA        HERNANDEZ                    CA     90013604647
36B355A827B639   ROBYNN       FIELDS                       GA     15041365082
36B36256441285   KEYONA       BROCTOR                      PA     90012642564
36B3626187B384   COELHO       JOAO                         VA     90011982618
36B3626552B87B   DERRICK      DOTY                         ID     90010252655
36B36442876B89   CLEMENTE     MENDOZA                      CA     90003984428
36B3652A951339   HEATHER      SMITH                        OH     90006305209
36B3666A52B871   TITO         REYES                        ID     90011316605
36B3679A955972   JESUS        ALBERTO                      CA     90011317909
36B36938455972   MARK         SANCHEZ                      CA     90003189384
36B36A8642B87B   DERRICK      DOTY                         ID     42045690864
36B36A9977B492   JOSE         HERNANDEZ                    NC     90015580997
36B3734994B261   DINAH        TONG                         NE     90004293499
36B38A7594124B   ROBERT       SPENCE                       PA     90012850759
36B39351961963   FREDERICK    YOUNG                        CA     90013023519
36B3951355B52B   HOLGA        CARRILLO                     NM     90013915135
36B39723391584   GILBETO      MONASTERIO                   TX     90014897233
36B39744291831   ACE          WEST                         OK     90013067442
36B3988767B639   TURQUOISE    LILLY                        GA     15081008876
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36B3B747A51321   TIMEKA       YOUNG                        OH     90001757470
36B41217131424   CHELSEA      MCDERMOTT                    MO     90014742171
36B4122A841285   LINDA        ELLIS                        PA     51039092208
36B41441651382   ERICA        DUMAS                        OH     90014994416
36B41831551339   JOSE         GASPAR                       OH     90010688315
36B42122A51339   TIARA        SHACKELFORD                  OH     90001121220
36B4256478B16B   SHAWNTAYE    ELAM                         UT     90015285647
36B42A54391584   SANDRA       GARCIA                       TX     75073440543
36B4311667B639   RETA         MURPHY                       GA     90014091166
36B43482741258   TANYA        MILLS                        PA     90014284827
36B435A5555951   ROSARIO      GALLEGOS                     CA     90003245055
36B4414512B835   CLAUDIA      SAENZ                        ID     90012121451
36B44327991891   KATHY        ONEAL                        OK     90010883279
36B4449914B281   BRYANNA      ALLEN                        NE     90006564991
36B4455497B449   TERESA       WATKINS                      NC     11050415549
36B4546A376B89   LEONOR       POZOS                        CA     46004544603
36B4648655B52B   MARYLU       ROYBAL                       NM     35043364865
36B4659AA51339   BRITTANI     CUMMINGS                     OH     90014585900
36B46713191587   MARTHA       SANCHEZ                      TX     90004567131
36B467A9161963   LOGOVAE      MAPUSUA                      CA     90012727091
36B46833691561   ALBERTO      PENA                         TX     75035738336
36B47184661963   ALONDRA      VILLANUEVA                   CA     90011581846
36B47277676B89   VICKY        CANSECO                      CA     46086582776
36B4766798B16B   ANGELA       ANDERSON                     UT     90012566679
36B48243851382   CYNTHIA      GILL                         OH     90011692438
36B4824824B281   REINA        GIRON                        NE     27035612482
36B48456A91584   ARMANDO      MEZA                         TX     90001004560
36B48751A2B87B   TONY         HAN                          ID     42034367510
36B49349391587   SAMUEL       HERNANDEZ                    TX     75073383493
36B4985127B639   TONY         PALMER                       GA     15081388512
36B4B24414124B   FRANCES      KINNER                       PA     51087862441
36B4B8A5936B95   ALFREDO      MARTINEZ GUERERRO            OR     90005978059
36B51489455972   ROSIE        ALVAREZ                      CA     48088204894
36B5151187B471   AMANDA       CROWELL                      NC     11089675118
36B51597461963   ALEX         MONTES                       CA     90012025974
36B517A4763625   BRANDON      BIRLEW                       MO     90002287047
36B51974955951   HERIBERTO    GARCIA                       CA     90005399749
36B5212515594B   KARLA        KESTING                      CA     90012691251
36B5256145B545   CECILIA      CARLDERWOOD                  NM     35077265614
36B52932836143   JESSICA      MARES                        TX     73518319328
36B53556172B76   JEREMY       GREEN                        CO     33063215561
36B5375958B16B   DAVID        SAWYER                       UT     31030157595
36B53A8467B449   LESLIE       CHOATE                       NC     90011840846
36B5413A48157B   BEVERLY      ADAMS                        IL     90001621304
36B54344871963   SHAWN H      CRAWFORD                     CO     90007233448
36B54836761963   VIOLETA      COURTER                      CA     90006668367
36B55224A76B89   ROBERTO      LOPEZ                        CA     90013072240
36B55282A31424   KENNETH      BROWN                        MO     90014742820
36B5529AA51339   IMRAN        IQBAL                        OH     90008622900
36B55755561963   JOANN        PALADO                       CA     90015237555
36B561A9154122   GREGORY      L DEWAR                      OR     90006621091
36B56245555951   GUADALUPE    LOZA                         CA     90011332455
36B5626454124B   BRANDEN      KUCICH                       PA     51039652645
36B56693A36143   LORETTA      NAVARRO                      TX     73589786930
36B57467472B76   BRANDON      COLE                         CO     90005954674
36B58115851321   CHASSIDY     BONER                        OH     90009261158
36B5875112B871   DAISY        ALVAREZ                      ID     42025387511
36B59439851339   AMANDA       COPHER                       OH     66046974398
36B5979384124B   TOSISHA      AVERYTT                      PA     90014597938
36B5992487B639   SHERMAN      MORRISON                     GA     90013809248
36B5B17783B391   PENELOPE     PAMMANT                      CO     33000021778
36B5B287385927   CHARLES      CHAMPLIN                     KY     90013552873
36B5B598A55972   PATRICIA     CASTRO                       CA     48053235980
36B5B71412B871   CANDY        GENTRY                       ID     90011347141
36B613A8691537   JOSE         DE SANTIAGO                  TX     90009083086
36B61823A2B835   KRISTINA     MARION                       ID     90013778230
36B6183672B93B   LUIS         QUIROZ                       CA     90012098367
36B61AA6991831   JAVIER       CRUZ                         OK     90011700069
36B62599476B89   ENRIQUE      REYES                        CA     90011165994
36B62749891584   JOEL         LOPEZ                        TX     90011807498
36B63365444398   DOLORES      BROWN                        MD     82008553654
36B63527255951   CRYSTAL      SIERRA                       CA     90010585272
36B64235791979   EVRIN        FLETCHER                     NC     11085462357
36B6426125B52B   BOBBIE       VANBERG                      NM     90005722612
36B64479391891   CYNTHIA      HERNANDEZ                    OK     90012874793
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36B6451AA55951   BIANCA            MARTINEZ                CA     49016075100
36B6456292B87B   KORI              BATT                    ID     90002355629
36B6528412B93B   J                 C                       CA     90008832841
36B6531537B471   SHERTANA          MILLEN                  NC     90006043153
36B65619691891   ANDREA            CRAWFORD                OK     90003826196
36B6577A391967   MARIA             CAMACHO                 NC     90011597703
36B66329451339   JAMES             AKERS                   OH     90014083294
36B6638477B492   DWIGHT            KIMBLE                  NC     11055433847
36B66459561963   ALLAN             VASQUEZ                 CA     90013024595
36B67344376B89   JOSE LUIS         ARRIETA                 CA     46026993443
36B67472131424   SHONTAE           DOWLEN                  MO     90008614721
36B67721655951   MICHAEL           RANGEL                  CA     90011077216
36B6799A57B639   JOSUE             VALLEJO                 GA     90006599905
36B6847212B93B   MARIA OR SANDRA   LOPEZ                   CA     90014414721
36B68562561963   TERRY             HOLSTEIN                CA     90014765625
36B68571891584   QUNONEZ           OCTAVIO                 TX     90004145718
36B6858A441285   LINDA             LUTTON                  PA     90014505804
36B68783172B76   P                 ARCH                    CO     33063217831
36B68995A73221   ALEJANDRINA       GONZALES                NJ     90014779950
36B69725355972   MARIA             SANCHEZ                 CA     90010597253
36B6976A331424   TASKA             BOYD                    MO     27547527603
36B69859A4B281   JESSICA           PAYNE                   NE     90003498590
36B69A3592B871   DIANE             HANSEN                  ID     90011310359
36B69A53191831   DAISY             ACOSTA NUNEZ            OK     90011700531
36B6B33562B871   SARA              JANE                    ID     90014783356
36B6B339591891   CLAYTON           JOHNSON                 OK     90011003395
36B6B51AA5B52B   CHANTAL           TORRES                  NM     90012425100
36B7122972B835   CHRIS             WISHNEY                 ID     90013902297
36B71331676B89   MARIA             RAMIREZ                 CA     90014743316
36B7171947B639   RAYMOND           MATTEO                  GA     90008847194
36B72472A2B93B   BRADFORD          SANTIAGO SR             CA     45093274720
36B7419A14B943   TRINA             JOHNSON                 TX     76568551901
36B74342391584   JESSICA           FUENTES                 TX     90014403423
36B74669581672   MARCO             PARADA                  MO     90012676695
36B74772355972   YANIRA            VISCAWA                 CA     90003737723
36B7488472B835   STONY             FLETCHER                ID     42071578847
36B7493922B87B   ANDREA            FRANCE                  ID     90010949392
36B75147191537   FRANK             HISA                    TX     90014321471
36B75533A55972   JOSE              RIOS                    CA     90010995330
36B7571834124B   BORIS             TAFKOV                  PA     51055747183
36B7617A131424   CORTEZ            CLARK                   MO     90014761701
36B76224497B67   THERESA           WARD                    CO     90012382244
36B7624A861962   MARCO             GUTIERREZ               CA     90011922408
36B7631144124B   MATT              KASTLE                  PA     90012683114
36B7639875B393   DAVID             BARNS                   OR     90010983987
36B7685487B639   TEMPIEST          WILLIAMS                GA     90014738548
36B76999A76B89   BRIANDA           PADILLA                 CA     90002879990
36B776A532B87B   CLINT             FITCH                   ID     42058226053
36B7792984B569   ANGELA            KING                    OK     90012239298
36B77972551339   JUSTIN            CARTER                  OH     90014379725
36B78488691891   FAWN              CLAUNTS                 OK     90011534886
36B7874294124B   RICHARD           PHILLIPS                PA     90006517429
36B7885872B93B   MIGUEL            CERDA                   CA     90013368587
36B7926A47B639   ALFREDO           STERLING                AL     90005112604
36B7937822B871   GENEVIEVE         GARTHNER                ID     42097343782
36B7959A551339   RENEE             TAGGART                 OH     90014155905
36B7983395B393   MARIA             NAVARRO                 OR     44512098339
36B79AA2861963   COLTON            HUTCHERSON              CA     46048250028
36B7B24197B639   LEYCHA            IGLESIAS                GA     90010782419
36B7B59884124B   ROBERT            FREEMAN                 PA     90014545988
36B81886255972   JESSICA           KEARNEY                 CA     90007528862
36B8229545B393   ANJEANETTE        BROWN                   OR     90005162954
36B82411A61963   LANE              THOMPSON                CA     46007294110
36B8258AA51382   KATHLEEN          WHITE                   OH     90006815800
36B82768941258   BRUCE             KRAUS                   PA     51069567689
36B83281391584   GISSELLE          PAGAN                   TX     90014772813
36B8347442B93B   LUIS              ALVAREZ                 CA     90012734744
36B835A6A61963   ERICA             ERICKSON                CA     90010585060
36B8391A77B639   JESSICA           PERRY                   GA     90014789107
36B8392915B393   MESHA             CAUSEY                  OR     44545639291
36B8463744B592   PORFIRIO          CARRENO                 OK     90006126374
36B849A2372B76   LENA              RAIBON                  CO     33058219023
36B84A48A5B393   MICHAEL           WATSON                  OR     90001020480
36B8584222B871   DANEL             BREWER                  ID     90013968422
36B85993151339   DAVID             WINWARD                 OH     90012089931
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36B86282761963   BARBARA      HOLT                         CA     90003292827
36B8634238B16B   FAWN         BRADSHAW                     UT     90007653423
36B86A61951382   GERMAN       VELASQUEZ                    OH     66077270619
36B8716387B449   GRADIE       RAY                          NC     90011841638
36B87271A51776   ELAZARAL     PADRON                       OH     90014052710
36B87411A2B87B   DAVID        OLSON                        ID     42057404110
36B8771364B943   ASHLEY       COLLINS                      TX     90004277136
36B87994451339   CHASSIDY     ROBINSON                     OH     90006699944
36B88158361963   ADRIENNE     MCFEDDEN                     CA     46047301583
36B8816578B16B   THAYNE       HANSEN                       UT     90007121657
36B88351931424   SARAH        DAVIS                        MO     90014743519
36B8859A951339   NICK         RUDDER                       OH     90015445909
36B8918257B471   CHRIS        HILL                         NC     90001991825
36B8B242336143   MELINDA      GARCIA                       TX     90000512423
36B8B35862B871   CASSIE       ROBERTS                      ID     42027833586
36B8B84677B639   BRANDY       KUYKENDALL                   GA     90014308467
36B8B98695B393   CHRISTINE    CANNON                       OR     90015119869
36B9163A55B393   CANDICE      MARTINEZ                     OR     90015196305
36B91766993762   TIFFANY      RICHTER                      OH     90006897669
36B91782451382   DONNA        HOWARD                       OH     90003067824
36B91944493782   NICOLE       WHEATON                      OH     90006499444
36B91A34741258   DARON        ROBINSON                     PA     90014210347
36B92142941285   BARBARA      MOORE                        PA     90013251429
36B9243985B52B   NICHOLAS     MANCHA-MILLER                NM     90012074398
36B928A5493761   JAKELIA      JONES                        OH     90009438054
36B93181A76B89   RACHEL       ALBERTON                     CA     90004771810
36B93863255951   OLGA         CHAIDEZ                      CA     49037818632
36B9418A77B449   PORTIA       LUELCH                       NC     90011841807
36B94333A7B639   AARON        JONES                        GA     15006953330
36B94A1742B93B   CHAROIN      SANDERS                      CA     90014510174
36B95175491831   FELIPE       HERNANDEZ                    OK     21034721754
36B95424591584   MARTHA       GUERERRO DE GARCIA           TX     75058674245
36B9573465B156   LISA         MCGUIRE                      AR     23095487346
36B96827A5B52B   ANNA         GUTIERREZ                    NM     90012828270
36B96989854122   LUIS         TORRES                       OR     47088819898
36B96A2467B639   LOUISE       DIXON                        GA     90012030246
36B97469891831   STEVE        DOBSON                       OK     90015174698
36B97499655972   RICHARD      REYNOSO                      CA     90011954996
36B9788385B52B   TRACY        BLAND                        NM     35044988838
36B9788957B449   EDWARD       GLOBAL PROJECTS              NC     11010098895
36B98297951382   MANOLO       VENTURA                      OH     90015012979
36B9848992B93B   ETHEL        AUSTIN                       CA     90013184899
36B98567461963   ALEXANDER    MARROW                       CA     90013925674
36B99343451382   LETICIA      HAWKINS                      OH     90014263434
36B9954172B87B   DELIA        PIMENTEL                     ID     42078515417
36B9974477B492   JADA         MCKINNEY                     NC     11032767447
36B99917855951   MICHAEL      PARKER                       CA     49052169178
36B99988A41258   JAYMIE       LICKEL                       PA     90001619880
36B9B689691831   ANDRAE       MORRIS                       OK     90014366896
36B9B766993762   TIFFANY      RICHTER                      OH     90006897669
36B9B836A55972   ANA          GUERRA                       CA     90000358360
36B9BA58376B89   MIRIAM       RODRIGUEZ                    CA     90000290583
36BB129314B989   MONIQUE      GREGORY                      TX     76585632931
36BB1296855951   MADINE       WILLIAMS                     CA     90005842968
36BB137922B93B   MARINA       JUAREZ                       CA     45058043792
36BB158352B835   WILLIAM      WILLIAMS                     ID     90014225835
36BB1626551339   SONIA        MORALES-ALANIZ               OH     66016856265
36BB2173A91891   KARENA       RICHARDSON                   OK     90001091730
36BB225785B393   GREGORY      DUPRE                        OR     90014202578
36BB239235B52B   DEBRA        SATARAIN                     NM     35086983923
36BB337137B639   JESSICA      BURTIN                       GA     90011313713
36BB35A6841258   WILLIAM      WAS                          PA     90014205068
36BB4316855972   MATT         GONZALEZ                     CA     90014923168
36BB442667B639   DONIS        MEDLEY                       GA     90012254266
36BB4641251382   KRISTY       EHRHARDT                     OH     90009296412
36BB4729A51339   WILLIAM      BOND                         OH     90014887290
36BB4886161963   ANGELA       FARMER                       CA     90002118861
36BB54A732B835   BRETT        RICE                         ID     90012954073
36BB5562561963   TERRY        HOLSTEIN                     CA     90014765625
36BB565917B639   SHANICE      PARKER                       GA     90015066591
36BB578262B835   WILLIAM      BRETT                        ID     90010147826
36BB5786851382   JOSUE        COLON                        OH     90014987868
36BB587165B52B   DENISE       ROMERO                       NM     35050078716
36BB5A31151339   EMMA         NEW                          OH     90012410311
36BB636724124B   JACLYN       LOUDERMILK                   PA     90000633672
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36BB6558291584   MARIA        MENESES                      TX     90014745582
36BB6A62261963   JUAN         BAEZA                        CA     90013920622
36BB715242B87B   IVETTE       VIERNES                      ID     90004261524
36BB7257341285   RANDALL      PETERSON                     PA     90013542573
36BB7257991831   CHRISTY      DEMERY                       OK     21001072579
36BB743738B16B   RONALD       WOOLINGTON                   UT     90015514373
36BB8937641285   FRANCIS      MASON                        PA     90007519376
36BB8A47372B76   MANSUR       LOOM                         CO     90006420473
36BB921715B24B   MICHAEL      RIORDAN                      KY     68014992171
36BB9296384368   JOHN         OUTING                       SC     14570652963
36BB9298236143   APRIL        CASTILLO                     TX     90005272982
36BBB44442B835   REBECCA      FARRO                        ID     90007284444
37111137A4B281   TIM          WILCOX                       NE     90009241370
3711137894B583   HILDA        BRIONES                      OK     90001663789
37111A6A92B87B   PENNEY       SUSAN                        ID     90013150609
371151AA271923   DESHAUNA     DRUMMOND                     CO     90014921002
3711556482B87B   ETHEL        MASSEY                       ID     42067255648
3711576837B639   TAAENA       JACKSON                      GA     15081777683
3711612294124B   GREG         MORAN                        PA     51029611229
3711734185B371   CHRIS        WIDENHOFER                   OR     90002983418
3711775187B492   JAIME        SADLER                       NC     11029337518
37119A6A791893   ILSE         LOPEZ-GONZALEZ               OK     90015150607
3711B37894B583   HILDA        BRIONES                      OK     90001663789
3711B83315132B   JC           DALHOVER                     OH     90009068331
3711BA7235B393   TUL          BASNET                       OR     90012890723
3711BA74391831   SIERRA       HOWELL                       OK     90010990743
371211A652B835   MICHAEL      CROSSLEY                     ID     90014241065
3712122187737B   SHAVON       GIBSON                       IL     90015442218
3712132752B87B   BETH         MENCHACA                     ID     90010783275
3712139227B639   MICHAEL      VESPUCCI                     GA     90004263922
3712232355B393   MARIA        GRAYSON                      OR     90006253235
3712233757B639   DOMINIQUE    FLAGG                        GA     90014873375
3712234624B275   SUSAN        MYRES                        NE     90007043462
37122357A4124B   SHAWN        KICZAN                       PA     90009463570
37122A26A7B422   MINOR        TRISTAN                      NC     90012390260
3712389A191584   PERUSQUIA    ESMERALDA                    TX     90009228901
37123A91341285   CRYSTAL      MANKER                       PA     51025780913
3712443A35598B   OMAR         MARTINEZ                     CA     90008244303
3712452963B365   JOSE LUIS    ONOFREE                      CO     90005645296
3712697A82B871   CHRISTINA    ADAMS                        ID     90011009708
371269AA191584   LINA         MONTOYA                      TX     90007209001
3712766135B52B   GEORGE       GALLEGOS                     NM     90012286613
3712775215B156   KASEY        BURNAM                       AR     23082267521
37127A4427B639   MICHELLE     MCLESTER                     GA     90014750442
37129248A4B281   JORDAN       JONES                        NE     90010982480
3712944862B87B   CRYSTAL      GROVER                       ID     90004814486
3712B45582B87B   SHAWN        SENSIBAUGH                   ID     90013984558
3712B46377B639   PENNY        WILSON                       GA     90008924637
3712B589A91543   RODRIGUEZ    TERESA                       TX     90003775890
3712B65A37B492   NICOLAS      VENTURA                      NC     90014086503
3712B691A4124B   THAJEE       REDDIX                       PA     90014656910
37132169A91831   TRISHA       RAMIREZ                      OK     90010991690
3713255537B492   TYALISHA     SHEPPARD                     NC     90000375553
3713328735B52B   TASHA        SOUZA                        NM     90010912873
3713365644B281   SAID         WARDHEERE                    NE     90015276564
3713482714B275   TERESA       GRAJEDA                      TX     27000378271
37135211A55972   ALICIA       GARCIA                       CA     48014052110
3713589595B52B   SETH         SANTOS                       NM     90014338959
37135A28531424   FONDA        WALTON                       MO     90014940285
3713736447B639   KEYONA       WELL                         GA     90014593644
3713782A72B835   JAMES        BROWN                        ID     42009278207
3713786A141285   PATRICIA     BICKERTON                    PA     51090138601
3713852327B492   CRISTINA     CARO                         NC     90012255232
371387A7431586   MARIA        SUNSHINE                     NY     90015587074
3713B3A175598B   MICHAEL      ALTAMIRANO                   CA     90012653017
3713B8A4741285   JESSICA      CRAWSHAW                     PA     90010968047
3714181A42B835   TONI         VANCE                        ID     90014548104
3714193185B52B   ROBIN        LARGE                        NM     90008959318
3714237A141258   CHRISTINA    NOYES                        PA     90009103701
371423A223147B   STACY        STUBITS                      MO     90007813022
371424A278B16B   JOSE         MARTINEZ                     UT     90006134027
3714326A58B16B   RENATA       THURGOOD                     UT     90005122605
37144268A41258   AMIE         HUGHES                       PA     90012882680
3714439362B871   PAULINA      MARTINEZ                     ID     42012893936
3714457892B835   JESSE        MARTINEZ                     ID     42037675789
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3714472A32B871   JUAN         LOPEZ                        ID     90015087203
37145315172B41   ETHAN        JONES                        CO     90014473151
37148A27191893   NATALIE      ALVARADO                     OK     90015140271
37149A45497B31   MANUEL       GARCIA                       CO     90006310454
3714B23877B639   ANGELA       BREWER                       GA     90014152387
3714B33A47B492   FANT         MENDEZ                       NC     90006843304
3714B442391893   NYESHI       CHRISTEL                     OK     90013554423
3714B49A67B639   GERALD       BENSON                       GA     90001804906
3714B81862B835   THOMAS       FREINWALD                    ID     90014708186
3714BA36155972   LUIS         SANTIZO                      CA     90015090361
37151924572B76   ERICK        HERNANDEZ                    CO     33011599245
3715352A841285   JENNIFER     BATTEN                       PA     90004305208
37153A3155B52B   RUBEN        MAESTAS                      NM     90002860315
3715491644B281   JENNIFER     MASON                        NE     27002059164
3715574292B871   ATOSHA       NGOYI                        ID     90005517429
37156218257B79   JAKE         SCHAFFER                     PA     90014112182
3715663694B531   SHELA        RUNNER                       OK     90008276369
371579A882B871   AUBREY       ELLIOTT                      ID     90005079088
3715821437B639   ANGEL        GONZALEZ                     GA     90014392143
3715879462B871   ERICA        KOGER                        ID     42079887946
37158A5244B275   STEVEN       FISCUS                       NE     90003790524
3715935527B492   ADALBERTO    CAZARES                      NC     90011563552
3715951975B393   WHITNEY      RUSSEL                       OR     90008335197
3715984225598B   VERONICA     RUSSELL                      CA     90009748422
3716134564124B   MICHELLE     MARTINDALE                   PA     51041923456
371632A4991232   DARLEEN      RUGER                        GA     14575632049
3716378A48B16B   DANIEL       BAGFORD                      UT     90007317804
3716411244B281   TREKO        MCINTOSH                     NE     27093501124
3716428112B871   VERITY       SELF                         ID     42020782811
3716443675598B   PAULA        LANDIN                       CA     90014854367
3716474617B492   CANDICE      EARLY                        NC     90014097461
371652A5641258   RON          STETTNER                     PA     90010992056
371661A644124B   APRIL        GAINES                       PA     51095781064
371662A8641258   JALEM        TURNER                       PA     51083652086
37167641A55972   GUSTAVO      MORALES                      CA     48092346410
3716768324B275   SHELBY       MILLER                       NE     27029276832
37167836A55933   ANA          GUERRA                       CA     90000358360
3716783764B281   RONI         ORTIZ                        NE     27024998376
37168A18191584   NORMA        TORRES                       TX     90014820181
37168A4A697B31   JOSE         PASILLAS                     CO     90008020406
3716911287B639   DANIELLE     WINDOVER                     GA     90011481128
371696A774B281   VICKI        BRESSMAN                     IA     27095176077
37169A18191584   NORMA        TORRES                       TX     90014820181
3716B369A2B871   ROSALBA      VILLA                        ID     42039133690
3717126762B87B   CORALEE      HELLICKSON                   ID     90010582676
3717151652B835   CLAYTON      DUNN                         ID     90009705165
37171766A5B393   TAMI         SHANNON                      OR     90013467660
37171A95191584   ANTHONY      NAVARRO                      TX     90009160951
37174A22891584   JESUS        ALONSO                       TX     90014820228
37174A8425598B   LARRY        KELLEY                       CA     90013970842
37175A8535B393   SHAWNA       SWANSON                      OR     90012430853
37176148A91893   CHANTEL      DEAN                         OK     90010111480
3717655654B944   JUAN         MOTA MARTINEZ                NC     90009465565
3717683412B835   ALFONSO      NAVARRO                      ID     90007488341
37176AAAA36143   IDELLA       BARNES                       TX     90014780000
3717713A52B871   JOANNE       TURNER                       ID     42096641305
371772A6341285   JAMES        BAILEY JR                    PA     51041252063
37178339A91942   MILLY        CARMENATY                    NC     90009653390
3717844352B871   ALBERT       HINOJOSA                     ID     90013624435
37178468A4B281   PRENTISS     SIMMONS                      NE     90014714680
37178532A41258   A1           BROKERS                      PA     90012315320
3717917987B639   JANICE       LOWE                         GA     90014741798
37179364633B95   MICHELLE     SHELLOW                      OH     90015063646
37179A9144B576   MANDY        MILLER                       OK     90010500914
3717B26644B281   CATRINA      FILKIN                       NE     27079132664
3717B52345B52B   RUDOLFO      MCMANN                       NM     90013265234
3717B715833B57   SHARON       CROSS                        OH     90014047158
3718125115B52B   LILIA        ORTIZ                        NM     35058162511
37183A89191831   PIERCE       GREGORY                      OK     90008370891
37184914A2B871   RICHARD      CARTER                       ID     90015269140
3718526574124B   LEONA        CABBAGESTALK                 PA     90010932657
3718591437B395   DONALD       SALGADO                      VA     90010769143
3718613155B393   DONNA        ARRIOLA                      OR     44538421315
3718635564B954   KEISHA       PREVOST                      TX     90014653556
3718636155B52B   JENISE       DEUTSAWE                     NM     90007613615
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3718641952B835   RANDI        BUEHRING                     ID     42020704195
37186823A4B281   THIDARAT     HEMSATH                      NE     90010278230
37186A8999156B   MIRIAM       ROBLEDO                      TX     90008500899
37187269A41285   LEONARD      BUTLER                       PA     90011122690
3718793A257569   REBECA       JONES                        NM     90014409302
3718877965B393   LAWRENCE     SCHRADER                     OR     90013257796
3718B121A2B87B   ANDREW       PALOWMERA                    ID     42033441210
3718B28545B393   TAWSHA       TIMBERMAN                    OR     44554262854
3718B466591831   SUSAN        BROWN                        OK     90002914665
3718B919A7B449   CARLOS       GARCIA                       NC     11045379190
3718B93634B275   JOSEPH       WOLF                         NE     27093199363
3718BA2375598B   SHENIECE     HOPKINS                      CA     90014830237
3719113237B639   MICHELLE     COVEN                        GA     90015261323
3719118894B563   TABITHA      MCCARTHY                     OK     90012271889
371911A585B393   AARON        WELCH                        OR     90011211058
37191585A5B393   MICHAEL      HENGELMANN                   OR     90014705850
3719171772B871   JOE          VOLM                         ID     42037507177
3719185A64B275   DARIN        SIEVERS                      NE     90002748506
3719254767B639   TRACY        RICH                         GA     90004905476
3719287A481678   AMY          JACKSON                      MO     90010728704
3719359A791831   REBECCA      DAWES                        OK     90012665907
3719496535598B   SUZANNE      CASTIILO                     CA     90015079653
37195A6835B52B   BLANCA       VALDEZ MORA                  NM     90013630683
3719692532B87B   LISA         MICK                         ID     42014819253
3719771A691831   JOSE         MURILLO                      OK     90010257106
37197A58891584   ALBERT       AVALOS                       TX     90014820588
3719879967B639   TAMARA       RIGGINS                      AL     15075027996
37198A58891584   ALBERT       AVALOS                       TX     90014820588
37199A5592B871   AMANDA       CLINK                        ID     90013580559
3719B265491831   MARCINE      CADDY                        OK     21059662654
3719B422472B76   ADAM         GRIFFITH                     CO     90014424224
371B2356941285   BOBBY        LOGSDON                      PA     90011303569
371B237444B221   MICHAELA     MININNI                      NE     27040763744
371B285572B87B   ROBERT       MEDLEY                       ID     90007658557
371B3176157B79   RITA         SHULESKI                     PA     90015081761
371B332412B87B   JUDY         WILLIAMS                     ID     90010433241
371B3452791893   OFELIA       ENRIQUEZ                     OK     90007794527
371B395747B471   JOHN         SAXON                        NC     90008789574
371B465715B52B   ELONA        UNALE                        NM     90009956571
371B4A1A355951   SHADY        CASTRO                       CA     49062870103
371B4A47872B76   TOMEKA       MUHAMMAD                     CO     33030020478
371B54A547B639   CANDACE      BRYANT                       GA     15086884054
371B6861373221   ALEJANDRO    BARRAGAN                     NJ     90015358613
371B725822B87B   DEBBIE       MUNOZ                        ID     90000482582
371B818894124B   DAVID        HOLMES                       PA     51090741889
371B8864A7B492   KRISTEN      ORR                          NC     90014668640
371B9691191831   GABRIELA     CASTRO                       OK     21076056911
371B979818B16B   JOSE LUIS    PEREZ                        UT     90000607981
371B9833741285   JOHN         BOBERG                       PA     51078578337
371BB37A391893   AMANDA       BROWN                        OK     90014613703
371BB3AA484368   PAMELA       DOMINGUEZ                    SC     90011553004
371BB62789B164   LORI         KNOX-BROOKS                  GA     90007466278
3721224864124B   DALLAS       STINE                        PA     90011342486
3721242892B871   YOLANDA      AVENDANO                     ID     90012104289
3721256845598B   MARIAMA      HEDERT                       CA     49062815684
37212A6195B52B   ANTONETTE    FRAIRE                       NM     35066320619
37214367A5598B   EZEQUIEL     HERNANDEZ                    CA     90011583670
3721441627B639   JENNIFER     BROWN                        GA     90010484162
3721479422B835   LEAH         FORD                         ID     90003077942
3721537432B87B   KIRSTIN      DILWORTH                     ID     42006823743
372173A3141285   TIA          BAKER                        PA     51012053031
3721743215B156   ALEJANDRO    LOPEZ                        AR     23021454321
37217987A55951   FAITH        ORTIZ                        CA     90015159870
37217A71354151   HEATHER      MCKENNA                      OR     90013970713
3721833859152B   MIRNA        PIMENTEL                     TX     90005973385
3721866112B835   MANDY        CARRILLO                     ID     42048886611
372194A1A81685   NZALA        CHONGO                       MO     29009344010
37219A16291831   JESSICA      HUDSON                       OK     90006290162
3721B418591584   LUCY         GARCIA                       TX     75039484185
3721BA67451338   AL           THOMPSON                     OH     90000840674
3722191577B639   MIKITA       GRIFFIN                      GA     90001019157
37221A4592B87B   ANDREW       BRADSHAW                     ID     90009440459
3722229664B281   STEVEN       STELLA                       NE     27066432966
37222623A41769   DYLAN        ROYSTON                      MO     90014256230
37222A7145B52B   GUADALUPE    LEDEZMA                      NM     35065140714
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3722384325B52B   FRANCES         RAMOS                     NM     35044958432
3722447174B275   JACQUELINE      CLANTON                   AZ     27060224717
3722452222B871   RACHEL          URE                       ID     90014075222
3722641787B639   RUBYNELL        JORDAN                    GA     15039064178
3722739152B871   CLARISA         KNEPPRATH                 ID     42019563915
3722786215598B   VANTAZA         DENNIS                    CA     90014638621
372278A2772B76   DENISE          KIDDER                    CO     90004228027
37228A9627B492   TAMMY           TAYLOR                    NC     11069620962
3722912247B492   APRILL          TICKLE                    NC     90014161224
3722965244124B   NICK            PUSKARICH                 PA     51034996524
3722977645B393   LYUDMILA        MALIMON                   OR     90015127764
3722985862B871   ISIDRO          GARCIA                    ID     90011378586
3722B159291893   ALISHA          HATCHER                   OK     90000791592
3722B891541258   MICHAEL         JONES                     PA     51013588915
3722B89A12B835   DEVEN           KNIGHT                    ID     90014418901
3723128215598B   CHRISTINA       GARCIA                    CA     90013872821
37231AA175B52B   KELLY           BENT                      NM     90005480017
3723254A57B639   LICHELLE        BROOKE                    GA     90012225405
37232618A7B471   MARIO           DOMINGUEZ                 NC     11050876180
37232686A4B281   WENDY           MOROZ                     NE     27094096860
372339A558B183   BRANDI          HARMON                    UT     90009049055
3723426A95B52B   ROBERTO         RODRIGUEZ                 NM     35035482609
3723455537B492   TYALISHA        SHEPPARD                  NC     90000375553
3723534A351325   ABEBA           DESALEW                   OH     66089233403
3723562612B835   ALEJANDRA       PEREZ                     ID     90010786261
3723635835B393   REYES           BONILLA                   OR     90015123583
37238213A7B639   ADRIAN          JOHNSON                   GA     90013262130
3723862958B162   JUAN            PADILLA                   UT     90012736295
37239389A7B639   AYANAH          SIMMONS                   GA     15013463890
3723B18585B52B   MARIA ROSARIO   LUJAN                     NM     90011751858
3723B34948B268   ROBBIE          ZULLO                     VT     90014343494
3723B725941258   SHAWN           REINERTSON                PA     90009437259
3723B93582B871   DEAN            FARMER                    ID     90010169358
3724188315B156   LATONIAH        LEEKS                     AR     23075168831
3724236A191893   JOSHUA          DEARING                   OK     90013563601
3724456677B639   JEROME          LIVAS                     GA     90014665667
37246669A4B281   MARITTA         COLEY                     NE     90014916690
3724729852B835   CAITLIN         BALMER                    ID     42062912985
37247A61755972   ERMENIA         RODRIGUEZ                 CA     48086430617
372487A714B54B   MELANIE         AHDOKOBO                  OK     90010527071
3724895444B275   CHRISTOPHER     BURBACH                   NE     90010599544
37248955A4B544   MONICA          JAMES                     OK     90008069550
3724896212B871   VICTOR          ORTIZ                     ID     42052489621
37248A3455B393   GUILLERMO       BLAS NICOLAS              OR     44507500345
37249749A91584   MUNOZ           DAVID                     TX     90003127490
3724B899453B95   REBEKAH         JAGGARS                   CA     90014398994
3725138322B871   MAE             FERGEL                    ID     90001963832
372513A7A91831   CESAR           CRUZ                      OK     90013963070
3725251874124B   VEERAN          MAKAIL                    PA     90014405187
37253435A91893   BRITTANY        DARNELL                   OK     90013564350
37253615472B31   LORENA          MEJIA                     CO     33080746154
37253A81491831   ROBERT          POHL                      OK     90013830814
37253A8872B871   SARA            PINZ                      ID     90014330887
3725425928B16B   LANDON          DUANE                     UT     31056082592
3725455172B87B   PABI            BHATTARAI                 ID     90014425517
3725576137B639   JUANILDA        DIOLOSA                   GA     90004017613
3725585925B393   EUGENE          RYAN                      OR     90013988592
3725639125B52B   CHRISTIAN       CASTILLO                  NM     35078823912
37257368A55972   MARIA           QUINTANILLA               CA     90013923680
37257968772B93   CECILIA         CHAVEZ                    CO     33019839687
3725881155B393   KENNETH         BONHAM                    OR     90010788115
372588A4741285   JESSICA         CRAWSHAW                  PA     90010968047
3725947962B87B   ALEJANDRO       LORENZANA                 ID     42041774796
37259959A4B559   JIMMY           KLAUS                     OK     90010919590
3725B21467B639   DYLETHA         PEARCE                    GA     15019082146
3725B69AA8B16B   ALYSSA          DIXON                     UT     90004566900
3725B82635B52B   JONATHAN        SILVA                     NM     90014328263
3726136395B393   ANGELA          CERVANTES                 OR     44523503639
37261A92631424   ANGELA          SLEDGE                    MO     90003760926
3726385734124B   MICHAEL         FERGUSON                  PA     90012328573
37263A75247827   ANDREA          SCOTT                     GA     90011330752
3726488875B52B   AZIA            MARTIN                    NM     90012438887
3726537A455972   DEBBIE          HERNANDEZ                 CA     90015133704
3726625A191831   DELORES         ADAIR                     OK     21042742501
372663A955B155   JOANNIE         IRWIN                     AR     90000843095
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372665A2541258   DEE DEE       GRETT                       PA     90011955025
372666A5261921   FLORA         DE GOTT                     CA     90008576052
372668A9A91893   TANVIR        KHAN                        OK     90006108090
3726729372B835   JESSE         STARKEY                     ID     90012712937
3726864447B492   ITZEL         RODRIGUEZ                   NC     90014166444
372686A995B52B   CIDNEY        CHRISTIANSEN                NM     90010166099
37269353572B76   CHRIS         JAMES-INMAN                 CO     90003193535
3726939A755972   CAMILA        GUSMAN                      CA     48093883907
3726963672B835   ADELAIDA      VAZQUEZ                     ID     42059996367
3726975395B393   ROBERT        MACLEOD                     OR     90011377539
3726981244B275   JAMIE         SNOVER                      IA     27026588124
3726B85955B52B   URIEL         MARTINEZ                    NM     90011368595
3726BAA515B393   JOSE          BOJORQUEZ                   OR     90006100051
3727114A65598B   JAVIER        AGUADO                      CA     90014241406
37271548A91893   NATALIE       GOUDEAU                     OK     90013565480
3727155787B639   TACEY         THOMPSON                    GA     90014635578
372718A1755951   MARIA         ORROSTIETA                  CA     90012668017
3727375962B835   MUHAMMAD      AZIZ                        ID     42052977596
3727394A441285   CHARITY       SCHMIDT                     PA     51052809404
37275A7555B393   ERIC          TATE                        OR     90000960755
3727667647B492   DEEDIE        HOLLAND                     NC     90014166764
3727748174B281   TAMMIE        LARSEN                      NE     27056414817
3727876644124B   SALVATORE     GUIDO                       PA     51094827664
3727877695B393   WILLIAM       SWANSON                     OR     90006937769
37278A63791893   DANIEL        STANBERRY                   OK     90015150637
3727973287B346   TESETE        ABEBE                       VA     90001017328
37279AA422B835   AMBER         RIDING                      ID     90007080042
3727B13495B52B   REINA         GONZALES                    NM     35017781349
3727B34414124B   CHRISTINNE    SERETTI                     PA     51049693441
372819A3591584   CHANTAL       VALADEZ                     TX     90014839035
3728247947B492   JULIE         MERRILL                     NC     90015144794
3728311617B639   JONITA        CANNON                      GA     90013621161
3728343219156B   MELVIN        LERMA                       TX     90014454321
372835A174B275   SELENA        CHAVEZ                      NE     90002265017
3728391754B281   MAGALY        FAVILA                      NE     27008629175
3728451197B639   SYLVESTOR     BROWN                       GA     90015095119
3728537917B639   RENAE         HOMAS                       GA     90002643791
3728589895B393   JESSICA       BOGGS                       OR     90010768989
3728652258B183   DEE           WIMMER                      UT     90011895225
3728694535B393   JULIE         DUNLAPP                     OR     44574119453
37286A8564124B   TRISHA        SCHNEINDER                  PA     90014630856
37287221A7B492   JONAS         QUIROZ                      NC     90012492210
3728755AA7B422   SHANAE        WEBB                        NC     90001025500
3728816A97B492   KIERRA        SMITH                       NC     11090081609
3728995285B393   MATTHEW       WYNN                        OR     90012319528
372899A5491584   RICARDO       MARQUEZ                     TX     90014839054
37289A82191893   THOMAS        WILBANKS                    OK     90008880821
3728B53777B471   TAMMY         CURRY                       NC     11007995377
3728B77554124B   RICHARD       DERZIC                      PA     51085627755
372913A467B639   GREGORY       DAVIS                       GA     90011953046
3729245682B871   JOSIAH        REYES                       ID     90014374568
37292469A55972   LAURA         CHAVEZ                      CA     90012854690
3729259185B391   MIRTLE        BEA                         OR     90001565918
3729269938B19B   CHARLES       CASITY                      UT     90012736993
37296A5952B835   STEVEN        AUCK                        ID     90013600595
3729924322B835   CHRISTINA     HERNANDEZ                   ID     42000872432
3729B218655972   LUIS          TORRES                      CA     90013862186
3729B58484124B   KIMBERLY      ANNE                        PA     90014425848
3729B72357B471   MIKE          MCCRAY                      NC     90009247235
3729B899691584   JUAN          SANDATE                     TX     75034978996
3729BA73941258   MELISHA       ROBINSON                    PA     90007440739
372B1377191893   ZENIAAH       NANAETO                     OK     21080683771
372B1424141285   NERRISSA      WHITLING                    PA     90002284241
372B16A725B277   STEVEN        CLAYPOOL                    KY     68002066072
372B2196341258   DIANE         JORDAN                      PA     90005261963
372B3166A4B281   TYLER         PEARSON                     NE     90014801660
372B344A355972   ASHLEY        VEGA                        CA     90013834403
372B3638955951   PA            LEE                         CA     90011816389
372B3713872471   SHIRLEY       MCMANUS                     PA     90010107138
372B37AA833681   JOSE MANUEL   BAUTISTA                    NC     90013747008
372B394519155B   ANGELITA      DELATORRE                   TX     90010959451
372B417A45598B   BILLIE        PACE                        CA     90013471704
372B43A3161981   ERIKA         MARQUEZ                     CA     90015223031
372B4931331424   ALAISHA       TROTTER                     MO     27590039313
372B4A67A91543   LORENZA       ESTRADA                     TX     90001520670
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372B4A88997126   BOBBIE       HERNANDEZ                    OR     90008680889
372B5831A55972   MAIRIA       CAMPOS                       CA     48041278310
372B6685291967   FREDY        ALVAREZ                      NC     90008526852
372B733497B639   ARTAVIOUS    WHITE                        GA     90013443349
372B756962B835   MICHAEL      REZA                         ID     42062925696
372B7733691584   HECTOR       CARACHURE                    TX     90015147336
372B8469A55972   LAURA        CHAVEZ                       CA     90012854690
372B9198741258   LINDA        POWELL                       PA     90012901987
372B942542B835   SAN JUANA    RAMIREZ                      ID     90001764254
372BB982691893   YEISON       VAZQUEZ                      OK     90013559826
3731185497B436   DAVID        TRULL                        NC     90007538549
3731231232B871   LARRY        MILLER                       ID     42000753123
3731546945B393   MISTY        RHODES                       OR     90014814694
3731571274124B   PAUL         MORGAN                       PA     90014387127
3731588197B492   JONATHAN     WILSON                       NC     90015128819
3731666984B281   TANYA        JAIME                        NE     90014656698
3731696212B87B   VICTOR       ORTIZ                        ID     42052489621
3731727269125B   CURTIS       SINGLETON                    GA     14515612726
3731747517B639   JACQUELINE   MCGILBERRY                   GA     15029154751
3731757642B87B   DAWN         STRYD                        ID     90006605764
3731852987B477   MAYBELLINE   PORTILLO                     NC     90008045298
3731896377B492   KIMBERLY     JACKSON                      NC     90014179637
373197AA62B871   MANUEL       JUAREZ                       ID     90004007006
373198A712B87B   THOMAS       FREINWALD                    ID     90014758071
3731B51747B492   KENNETH      MCLENDUN                     NC     90014705174
3731B98739156B   ALONSO       DELGADO                      TX     75016269873
3731BAA4991584   MARIA        ORDAZ                        TX     90006160049
3732145895B52B   KENNETH      MESSLER                      NM     90014594589
3732217172B834   CHRISTINE    BARRIETUA                    ID     90002811717
373231A3791831   JILLIAN      DUVAL                        OK     21038621037
37324532A31424   CORSANDER    THOMPSON                     MO     27570235320
37325269772B76   JUSTIN       RUSSELL                      CO     33082122697
37325394A7B639   MARTHA       DIXTON                       GA     90014593940
3732696147B639   ERICA        WILLIAMS                     GA     90013029614
3732696A54124B   JOHN         BETTOR                       PA     90014669605
3732731A62B835   KIENNETH     TRAN                         ID     90011183106
37327629A4B281   PEGGY        GONZALEZ                     NE     27054426290
3732869548B16B   ALEXIS       KAP                          UT     31024756954
37328717A31424   AMARIS       SUMPTER                      MO     90012557170
3732896452B835   SUMMER       JONES                        ID     90013279645
37328A29841258   LATONNA      GENTRY                       PA     90010480298
3732926847B449   ERNESTINE    EDDINGTONG                   NC     90002322684
3732934615B52B   MARIO        MAESTAS                      NM     90012093461
3732943A172B76   GENETTE      TURNER                       CO     33006664301
37329479A5B393   SHILOH       ENDRES                       OR     90013404790
3732B83432B835   SAUL         SALAZAR                      ID     42089268343
3733161267B492   VANESSA      PENLEY                       NC     90002176126
37331989A92853   RENE         ALVAREZ                      AZ     90015479890
373339A3991893   LINDA        TOMPKINS                     OK     21051429039
3733491652B871   MIGUEL       AVALOS                       ID     90015269165
3733625547B471   NICKI        KELLS                        NC     90002692554
373369A222B87B   RANDY        BRIGHT                       ID     90010639022
3733786A291893   KIMBLEY      PATRICK                      OK     90013568602
3733817734B929   ALEXANDRE    ANDERSON                     TX     90013221773
373391A512B87B   JUANITA      SIBERT                       ID     42058441051
3734257152B835   JULIANA      TOLVES                       ID     42097395715
373428AA155921   VERONICA     ARMIENTO                     CA     49026128001
37342933A91232   ANTIONETTE   ROBERSON                     GA     90010999330
37343516A91584   ANTONIO      ROMERO GARCIA                TX     90013165160
37344168A41285   LEE          SEKELIK                      PA     51098661680
3734441535B52B   ELIZABETH    MONTOYA                      NM     35014734153
3734444849156B   ORALIA       QUEZADA                      NM     90007554484
3734556972B835   RAYMOND      SANCHEZ                      ID     42009745697
3734568179125B   DIANDRA      BOSTICK                      GA     14595056817
3734662384B281   TINA         HENDERSON                    NE     90005196238
3734712672B835   NOE          HERRERA                      ID     90011061267
37347614A57537   MANUEL       DOMINGUEZ                    NM     90004506140
3734772945598B   TERESA       RODRIGUEZ                    CA     90012877294
3734816855598B   MARIBEL      CORNEJO                      CA     90011681685
373482A7691893   MICHEAL      CRISS                        OK     90013572076
3734867595B52B   ALJANET      WALTON                       NM     90007386759
37348947A91525   SANDRA       AULTMAN                      TX     90014169470
3734942A691584   REBECCA      RAMIREZ                      TX     90014514206
3734B9A545B393   JOHNNY       WALKER                       OR     90010679054
3735211412B87B   RUSSEL       MASSEY                       ID     90012231141
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37352A94591967   ANTONIO       TERRELL                     NC     90007280945
3735349247B639   MARQUELL      BOYD                        GA     15083224924
3735529474B275   EDWIN         GARCIA                      NE     27007652947
3735632227B639   EVON          COPPINS                     GA     90007773222
37356AA394124B   JACQUETTA     HAYS                        PA     90014670039
37357AA5755951   FILMON        ALTA                        CA     90011820057
3735813485598B   ALICE         BARRETO                     CA     90006541348
37358934A91584   ARIEL         DELGADO                     TX     90014839340
3735955562B871   MIKE          MCBETH                      ID     90013395556
3735B414291942   PATRICIA      BUTLER                      NC     90012944142
3735B96265B52B   GLADIS        GRANADOS                    NM     90013909626
37361415A5598B   VICENTE       RODRIGUEZ                   CA     90014144150
37361A79A91869   DWIGHT        ALLEN                       OK     90005150790
3736285485B52B   JESUS         SAENZ                       NM     35057108548
3736397A391893   CHEYENNE      HURT                        OK     90013569703
3736779112B871   ALLISON       HUDDLESTON DA 3RD           ID     42039997911
3736826AA55951   VERONICA      HERNANDEZ                   CA     90007572600
37368A95591232   RASHONE       MORSE                       GA     90005670955
3736937792B835   SAMUEL        CONTRERAS                   ID     90012053779
3736938A731424   MICHAEL       STEWART                     MO     90005023807
373694A4972B76   ANTHONY       DAMIAN                      CO     33068394049
3736974955B393   SUZI          WORDEN                      OR     44564327495
3736B18225B393   J GUADALUPE   RAMIREZ                     OR     90015171822
3736B18649152B   RICARDO       SOTO                        TX     90012561864
3736B1A614B554   ROBERT        BURNS                       OK     90004381061
3736B96A291893   SEDRICK       WHITE                       OK     90013569602
3737161928B17B   ABRAHAM       SULEMAN                     ID     90014046192
37371727A5598B   KATHY         NACAROFF                    CA     90014367270
373725A5A4124B   KIMBERLY      LOWE                        PA     90009715050
37372965A7B639   THYRA         BROWN                       GA     90010839650
3737327897B492   HEYDI         MORALES VAZQUEZ             NC     90014182789
3737374292B835   ATOSHA        NGOYI                       ID     90005517429
37374277672B27   BARBARA       STONE                       CO     90002442776
3737451552B87B   JUSTIN        JONES                       ID     90012865155
3737485294B281   MESFER        ALFATAIH                    NE     90013728529
37374A3A22B871   KATHERINE     STEWART                     ID     90009410302
37374A3A92B835   JILL          GOFF                        ID     42052980309
3737513885B135   BRIDGETT      PETTUS                      AR     90005221388
3737528312B871   TRACY         BEAN                        ID     42084492831
3737572945B52B   MARYANN       NAJERA                      NM     90010747294
37375A46191831   JANITA        DUMLER                      OK     90015270461
3737624747B492   TINA          SIMONDS                     NC     11087492474
3737779132B871   THOMAS        FREINWALD                   ID     90014757913
3737785212B87B   LEE           PATTERSON                   ID     90013408521
3737823A755928   DEBBIE        JASSO                       CA     49081972307
3737824582B87B   COREY         GUCKER                      ID     90007432458
3737867A55598B   SABRINA       OCHOA                       CA     90012276705
373788A6551347   HUGO          ROMERO                      OH     90007508065
37379184A91831   MARIA         GUTIERREZ                   OK     90010641840
3737959882B84B   MARIANO       VAZQUEZ                     ID     90014045988
3737985992B871   DEAN          HOFFER                      ID     42032468599
3737B26827B422   FRANCINE      MOTT                        NC     90012402682
3737B87387B449   ELENA         COLLAZO                     NC     11010738738
3737BA5994B281   JEFF          LAKEY                       NE     90011690599
373819A9891893   ANDY          ALVARADO                    OK     90013579098
3738256614B281   DANELLE       SUNDQUIST                   IA     90013845661
3738257392B871   FRANK JOHN    KOHLMAIER                   ID     90015095739
373825A3761925   MARIA LUZ     SERRANO                     CA     90001975037
37384379A2B87B   MARILYN G     KRUEGER                     ID     42041773790
37385768A5B393   TIFFANY       MONTGOMERY                  OR     90013517680
373869A187B492   ROSETTA       FLEMING                     NC     90011009018
37386A2565137B   CASSANDRA     MORGAN                      OH     90007970256
3738739827B436   LASHONDA      FORD                        NC     11093143982
373879A765B393   CHRISTINE     FINLEY                      OR     90009269076
3738813998B273   SARA          KELLEY                      VT     90014771399
3738818A12B871   AARON         CARLSON                     ID     42033361801
3738846775B52B   CAROL         LEATON                      NM     35065924677
3738964695598B   JOSCELINE     ONTIVEROS                   CA     90014886469
3738B56357B492   NATALIA       SANTANA                     NC     90014185635
3738B5A3491584   ALMA          GARCIA                      TX     90011405034
3738B61A65B393   HORACE        JENKINS                     OR     44540386106
3738B851191831   SHAMIKA       SIMPSON                     OK     21011738511
3739147A931424   YVONNE        LANG                        MO     27516284709
373918A965598B   ALEX          FRENCH                      CA     90013058096
37391A84241258   CHRISTINA     BOYLE                       PA     51067200842
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3739253577B639   KIANA        GARCIA                       GA     90014855357
3739258352B87B   GARY         ZIMMERMAN                    ID     90011875835
373927A3191584   MARGIE       RODRIGUEZ                    TX     75085077031
3739291A75B52B   DAVID        MONTOYA                      NM     35089859107
37393A6312B871   CONNIE       SANCHEZ                      ID     42009510631
3739418774124B   KEVIN        MYLES                        PA     90014501877
3739434892B835   JOHN         SULLIVAN                     ID     42083903489
37394528772B76   KARA         ZIMMERMAN                    CO     90007285287
3739515413B39B   LASZLO       NEMES                        CO     33068071541
37395318A4B281   CHRIS        PATTERSON                    NE     27065713180
3739557147B492   JAMES        GOSS                         NC     11075565714
3739573A48B195   GALEN        HOOPER                       UT     90010027304
373957A3191584   MARGIE       RODRIGUEZ                    TX     75085077031
3739596528B16B   SKIP         PAPPAS                       UT     90007319652
3739647227B476   JORGE        CLAUDIO                      NC     90013944722
3739665635B52B   RAQUEL       GARNAND                      NM     90014526563
373974A814124B   MEGAN        DANIEL                       PA     90012674081
37397A2877B639   JOSEPH       PITTS                        GA     90013700287
3739817285B38B   LADELL       S HANSON                     OR     90005901728
3739972132B87B   JULIE        MCKINLEY                     ID     42068867213
3739B359555951   DEBRA        STAY                         CA     49078883595
3739B36374B281   CARL         POST                         NE     90015093637
373B1572161559   PAMELA       HAMILTON                     TN     90014305721
373B161A651594   GAIL         EATON                        IA     90014846106
373B194575B393   RACHEDIA     ROSS                         OR     90012859457
373B2196755972   TINA         SYKES                        CA     90011081967
373B21A9391538   MARINA       ORTEGA                       TX     75069881093
373B261192B87B   ASHLEY       BUHLER                       ID     90009136119
373B299A85B342   KIMBERLEY    LONG                         OR     44513319908
373B311614B281   WANDA        LEWIS                        NE     27054741161
373B3392891893   ZAMUEL       BIRRUETA                     OK     90010973928
373B3444991544   JOSE         SANCHEZ                      TX     90010844449
373B3466931424   JULIE        WATSON                       MO     27543194669
373B379665598B   MARTHIN      GARCIA                       CA     90013057966
373B3918691584   JESSE        VELASCO                      NM     90014839186
373B4858191893   SUAN         DAL                          OK     90013298581
373B499A85B342   KIMBERLEY    LONG                         OR     44513319908
373B526544B275   DANIELLE     BRINSON                      NE     90011552654
373B537625B393   RANDALL      SPRAGUE                      OR     90000623762
373B57A626192B   BRANDONN     JAUREGUIN                    CA     90013267062
373B5A2A72B835   WHITNEY      JOHNSON                      ID     42095730207
373B632AA91831   WINDY        HUMPHREY                     OK     21061013200
373B6347A7B639   JILLIAN      PRICE                        GA     90013703470
373B6651391584   JOHANNA      LEAL                         TX     90007486513
373B678545B393   DONALD       COMWAY                       OR     90013447854
373B7274A2B559   LAKESHA      PLAYER                       AL     90014672740
373B7A7135B156   BRENDA       YOUNG                        AR     23003900713
373B844592B871   MISTY        WARNER                       ID     90008164459
373B8567341285   DERRICK      VIRE                         PA     51060305673
373B856844124B   ROBERT       BECKER                       PA     90012505684
373B924322B87B   JULIE        CHAPMAN                      ID     42088192432
373B992465B393   CARMEN       MEDINA                       OR     90007549246
373BB849172B23   JOSEPH       SATURINO                     CO     90010328491
374115AA25598B   LUIS         RICO                         CA     90014875002
37411AA2291584   ANDREA       PROCTOR                      TX     90006550022
3741292382B87B   ANTHONY      CRITCHLOW                    ID     90014729238
3741316512B87B   AMBER        WHITAKER                     ID     42083581651
3741387215B52B   FRANCISCO    RUIZ                         NM     35096158721
374146A452B93B   ROBERT       FOSS                         CA     45070576045
3741498A17B639   REBECCA      ANDERSON                     GA     15004259801
374154A585B156   DAWN         SPEARS                       AR     23084504058
3741595284124B   KEESHA       COLEMAN                      PA     90002579528
3741676A631424   PAULETTE     ROEBUCK                      MO     90013017606
37416818836B71   JOSH         HARRINGTON                   OR     44526988188
37417248733B88   JEFFERY      WHITE                        OH     90015172487
3741774694B281   SHEA         RYAN THOMAS                  NE     90015307469
374186AA44124B   LARRY        ARBOGAST                     PA     90014696004
37418A6115B393   TEDDY        HOSKINS                      OR     44576340611
374197A2572B76   CAROLE       GUY                          CO     33093477025
374198A975B52B   HOMER        PEREZ JAQUEZ                 NM     90013438097
3741B14A22B87B   SHAWN        IHRIG                        ID     90013191402
3741B22385135B   TONYA        FRANZ                        OH     90001612238
3741B355884351   DIANE        NUSE                         SC     90001653558
3741BA45591584   CHRISTOPHE   RUEDAS                       TX     75087410455
3742131254124B   LOREN        FORD                         PA     90005333125
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3742168217B639   OKEVIA         MCKELVEY                   GA     15081206821
3742263284B275   QUEENIE        HAYNES                     NE     27048676328
37423289A7B492   CYNTHIA        GARSKA                     NC     90012662890
3742334852B835   CHRISTINA      MONTERROSO                 ID     90014613485
374233A147B639   ROBIN          FARLEY                     GA     15025533014
3742377985B156   LINDSEY        SADLER                     AR     23085477798
3742434179125B   CATHERINE      MILLER                     GA     14512183417
3742667342B871   GIOVANI        CRUZ                       ID     90011906734
3742753788B16B   SIMMONS        ROBERT D                   UT     90004015378
37427761753B95   GERARDO        MENDOZA                    CA     90014457617
3742776212B87B   MARIA          PEREZ-CASTANEDA            ID     42085107621
374277AA791893   JESSE          JACOBS                     OK     90013577007
3742785A75B393   WILLIAM        GRAY                       OR     90011858507
3742896624B275   GARRY          ODDO                       NE     27045609662
37428A7172B871   SARAH          KNIGHTE                    ID     90008080717
3742989552B87B   JOSH           JOHNSON                    ID     42080548955
3742B541991893   BRITTANY       SULLIVAN                   OK     90013575419
3743193617B449   REYNA          FAJARDO                    NC     11089719361
37431A72631424   PAYGO          IVR ACTIVATION             MO     90009450726
3743323149199B   LOUVENIA       JOHNSON                    NC     90014752314
3743392855B52B   DANIEL         CANO                       NM     35021549285
3743525A62B835   BRAD           DAVIS                      ID     90002572506
37436286A91584   ART            SALDANA                    TX     90009582860
3743632572B871   THERESA        TOBIAS                     ID     90010953257
3743661495B52B   TIFFANY        PADILLA                    NM     90001296149
37436736A71921   TESSA          CAREY                      CO     90013067360
3743695837B639   WILLEAN        FOUNTAINE                  GA     90006069583
3743772155B393   DOUGLAS        PACHNIK                    OR     90015077215
37437A23655972   JESUS          ARENIVAS                   CA     90011760236
3743882775B393   JOSE           HERNANDEZ                  OR     44582178277
3743942885B52B   DAVID          MURRAY                     NM     90013254288
3743964722B835   DONNA          OROZCO                     ID     90013996472
3743B74522B87B   DAWNE          KUNCE                      ID     90012947452
3744116817B639   ANTONIA        JAMERSON                   GA     90008071681
374413A845B52B   AARRON         SHORTY                     NM     90014143084
3744222985B52B   HERMENEGILDO   VILLALOBOS                 NM     90003302298
3744244472B87B   BILLY          ELIS                       ID     90014264447
3744278527B639   JARVIS         WILLIAMS                   GA     90001527852
3744377734124B   MOLLY          SWORDS                     PA     90013507773
3744387187B492   MONTANA        SMITH                      NC     90011048718
374442A147B639   ANTHONY        POLLARD                    GA     15090652014
3744442A241285   DEONNA         HICKS                      PA     51044144202
3744478712B835   JULIE          WARWICK                    ID     42029377871
37445215A4B281   LORRI          MYERS                      NE     27046112150
3744576215598B   CINDY          LYLES                      CA     90011597621
3744612A455972   JORGE          ROMO                       CA     90010461204
3744643A231441   REBECCA        TESSMES                    MO     90009894302
3744645875B393   CARLOS         PEREZ                      OR     90013904587
3744755AA2B87B   BRENDAN        GREENE                     ID     90013635500
3744774134124B   LORREECE       FULTZ                      PA     90005407413
374477A612B835   FRANK          HENDRY                     ID     90014047061
37447852376B7B   LINDA          HOUSE                      CA     46039638523
3744787115598B   JOSEPH         STUCKEY                    CA     90004458711
37447A3A48B147   COREY          PHANTHALANGSY              UT     90013160304
3744847174B559   LASHAE         WILLIAMSON                 OK     90006444717
37449A19391584   ALAM           PEREZ                      TX     75035040193
37449A7777B639   JOHN           SAMS                       GA     15015850777
3744B13157B471   FLOR           CASTILLO                   NC     90013371315
3744B227A91543   YOLANDA        BARRAZA                    TX     75029832270
3744B255A91538   SANDRA         COOMBE                     TX     90009982550
3744B358341258   ANDREW         CHECQUE                    PA     51038213583
3744B58338B163   TRAVIS         TANNER                     UT     31000185833
3744B66A72B835   THEDFORD       MARION                     ID     42078786607
3744BA5272B871   GLADYS         OBESO                      ID     90000790527
3745152A12B87B   PHILLIP        MCKAY                      ID     42059035201
3745191889152B   JESUS          DAVILA                     TX     90011709188
374529A2731424   DEMETRIA       JOHNSON                    MO     90012319027
3745324A355972   ALEJANDRO      SILVA                      CA     90015312403
3745377117B492   CHARLA         JOHNSON                    NC     11028947711
374538A685598B   GENA           VENEGAS                    CA     90003708068
3745424747B639   DAWN           ANDERSON                   GA     15055092474
3745486854124B   TANIESHA       YOUNGBLOOD                 PA     90012078685
3745588942B87B   TIMOTHY        BLACK                      ID     90006768894
37455A35541285   MARCUS         GANS                       PA     90014940355
37455A4782B835   KYLE           CROSBY                     ID     90014540478
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3745632664B275   CHAD          GLEASON                     NE     90002003266
3745641317B639   DESHAUN       MILLER                      GA     90014834131
3745651AA51321   DEBRA         PEAKE                       OH     90014745100
374566A365B393   LORI          TALAVERA                    OR     90010156036
3745697252B835   PEPPER        MOORE                       ID     90010309725
37458538172B76   ANTONIO       GARSA                       CO     90007285381
3745857325B393   BRUCE         WOLF                        OR     90014175732
3745866514B275   JOHN          BOUQUET                     IA     27054436651
3745876832B87B   PAUL          TENEYCK                     ID     90014527683
3745893155B156   OSCAR         RAMIREZ                     AR     23025379315
37458A44A5B393   KERRY         CENTER                      OR     90006310440
3745947465B52B   FRANCISCO     ARAGON                      NM     35025314746
3745962252B871   LA NAE        CHERRY                      ID     90014876225
3745B4A584B534   BRITTNEY      CAMPBELL                    OK     90001664058
3745B63824124B   PATRICIA      BOOTH                       PA     51011776382
3746197934124B   CHARLES       AVERY                       PA     51022739793
3746254525598B   MACISH        1HUNDID                     CA     90007685452
374629A2A72B32   CONSWELLA     GIBSON                      CO     90004719020
3746313552B87B   JASON         AKINS                       ID     90014501355
3746483765B52B   PATRICK       LOGAN                       NM     90006258376
3746535934B221   TERRY         MACKEOGH                    NE     90006823593
3746568A141455   JUAN CARLOS   TORRES                      WI     90014876801
3746641A45B52B   THOMAS        AGUILAR                     NM     90006994104
3746714717B471   MAYNOR        LOPEZ                       NC     90007011471
3746813492B87B   TARA          WILSON                      ID     90012381349
3746826A97B492   ASIA          BENTON                      NC     11052682609
37469A3744B275   HOWARD        WILCONEX                    NE     27092270374
3746B251741258   STEPHANIE     MCCOY                       PA     51002592517
3746B37A691831   CHAD          WARREN                      OK     90004903706
3746B47324B281   LUIS          GARCIA                      NE     27065024732
3746B731855951   WALTER        FONSECA                     CA     90004437318
3746B8A547B471   ABELARDO      AREVALO                     NC     11075438054
3746BA47891584   BARBIE        QUEEN                       TX     90006160478
3747249848B494   TRAVIS        SAUNDERS                    VA     90014764984
37472A9772B871   STEVE         SMITH                       ID     90011800977
3747344149156B   MARICRUZ      HOLGUIN                     TX     90009684414
374738A5181672   TONY          MAGGARD                     MO     90012668051
3747524617B492   JENNIFER      HYDE                        NC     11061112461
3747582717B471   JENNIFER      TORRES                      NC     90014758271
37476729A91584   MARGARITA     DE LA PENA                  TX     75011367290
3747712664B547   CONNIE        WILLIAMSON                  OK     90000211266
3747811717B639   JAIMSHA       RIGGINS                     GA     90004761171
3747812645598B   ALEJANDRA     SAHAGUN                     CA     90015181264
374787A5155951   MARGIE        CASARES                     CA     49071987051
3747916914B275   ANNABEL       LIMON                       NE     27096231691
3747956A855972   DANIEL        LUJANO                      CA     90014625608
3747B75A731424   FELICIA       SMITH                       MO     90014827507
37481A97641285   EDUARDO       GALLEGOS                    PA     90015460976
3748337717B449   WENDY         CARR                        NC     11085833771
3748344A391584   VANESSA       MATELLE                     TX     90013764403
37483997A5598B   SHAWN         KNIGHT                      CA     49016609970
3748548857B471   VALENTIN      GARCIA                      NC     11078934885
3748554845B393   VERONICA      CORONA ORTIZ                OR     90014895484
3748599934B275   JOYCE         MORENO                      NE     27088889993
3748637437B639   LORRANE       FISH                        GA     90014873743
3748741468433B   MONIQUE       SIMMONS                     SC     90010304146
3748758722B87B   FRANK         ZANDER                      ID     90005965872
3748759A472441   JUNELL        GARBER                      PA     90012525904
37487AA8691584   STEPHANIE     TRISTE                      TX     90014850086
3748854A77B639   GREG          WALTON                      AL     90011995407
3748928975B52B   NICOLE        BLOCK                       NM     90013282897
3748953357B492   BRENNA        AMBER                       NC     90011355335
37489914172B76   LUIS          ARRIAGA                     CO     33044789141
3748B11927B492   DAVEN         DURHAM                      NC     90002041192
3748B21162B871   LILIA         PRADO                       ID     90013932116
3749247A755972   JOSEPH        PACHECO                     CA     48023934707
37492A16791584   GUSTAVO       VALENZUELA                  TX     90014850167
3749312532B871   JOSAFAT       VALDEZ                      ID     90011211253
3749337A54B281   TIMOTHY       ANDERSON                    NE     27051483705
3749349482B87B   HEATHER       LOTT                        ID     42058224948
3749391277B492   BETH          MAYFIELD                    NC     90002719127
3749468362B87B   UODONE        KINGMIXAY                   ID     90010666836
3749489924124B   ROBIN         FISHER                      PA     90014188992
3749569857B492   OTTONIEL      HERNANDEZ                   NC     90015196985
37495753A2B871   DONALD        PARADIS                     ID     42015817530
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374957A6A4B554   TIFFANY       BURNS                       OK     90008037060
374958A6A2B835   ALISSA        CRESSY                      ID     42053088060
3749638244124B   BEVERLY       PORCH                       PA     51072633824
3749691192B871   BRENDA        ANDERSON                    ID     90012929119
37496A42191831   TIMOTHY       COBB                        OK     90009740421
3749789415B52B   KAREN         ESQUIBEL                    NM     35065948941
37498A21A91584   BRIAN         LOPRZ                       TX     90014850210
37498AA3591B27   DUSTIN        KORBISUH                    NC     90013510035
3749943A961432   TYLER         RUTHERFORD                  OH     90014064309
3749964635B393   MOISES        LOPEZ                       OR     90014026463
3749994294B281   MARISSA       OLGUIN                      NE     90006909429
3749B27767B639   AUDREY        EPPS                        GA     90014802776
3749BA1925B393   CHRISTOPHER   BLACK                       OR     90014720192
374B134122B255   SALVADOR      AGUILAR                     DC     90014953412
374B1389A2B255   SALVADOR      AGUILAR                     DC     90010933890
374B3415231424   YOLANDA       BARKSDALE                   MO     27540614152
374B3579A91584   JAVIER        SALINAS                     TX     90010485790
374B3641791831   ADRIAN        DEVILLE                     OK     90010126417
374B386494124B   CHRISTINA     SCHMIELDIN                  PA     90001808649
374B398178B16B   PHILLIP       OUELLETTE                   UT     90007319817
374B4874591584   ROSARIO       LUJAN                       TX     90010128745
374B491974B221   HELENA        NEWSON                      NE     27088929197
374B495662B835   MINDI         RICHARDSON                  ID     90003899566
374B539A94124B   MELANIE       DENSON                      PA     90011273909
374B61AA45598B   FERMIN        SALAS                       CA     90015131004
374B6663655972   VICTORIA      RAMIREZ                     CA     90014196636
374B6A61585858   MARILI        COCA                        CA     46013100615
374B72A315B393   CRAIG         BURT                        OR     90014262031
374B75AA32B87B   NATALIA       VASQUEZ                     ID     90010345003
374B762395598B   YOLANDA       OCHOA                       CA     90002686239
374B819622B586   APRIL         WALKER                      AL     90015501962
374B8A1352B835   TIM           GREEN                       ID     42087980135
374B912853B39B   KURT          CONRARDY                    CO     33081241285
374B9137341285   RICO          MONTGOMERY                  PA     90014711373
374B9166291584   YELVANI       AVILA                       TX     90009651662
374B9449871955   RODNEY        WELDON                      CO     38045194498
374B972A35598B   TRACY         HEATH                       CA     49018987203
374B9978A4B281   JEANNE        HOUNMENOU                   NE     90010899780
374B9A35355972   VICTOR        MEDRANO                     CA     90011310353
374B9A51491831   LORI          MUNGAVEN                    OK     90008000514
374BB455491893   JOSE          JIMENEZ                     OK     90013574554
374BB81545B393   ELISHA        WESLEY                      OR     90009518154
3751142AA8B16B   ROSALINDA     MORALES                     UT     31031054200
37512236836B9B   DONALD        DELONEY                     OR     44573152368
3751234167B492   RACHEL        LINDSAY                     NC     11033883416
375126AA82B871   VICTORIA      LEE                         ID     90012606008
37513722A91893   NATASHA       MURRAY                      OK     90013527220
3751427855598B   BETTY         LEE                         CA     49065522785
37515729A91584   MARGARITA     DE LA PENA                  TX     75011367290
3751596412B835   ROBERT        MERRITHEW                   ID     42058509641
3751631AA5B52B   SHANTILL      MCKENNA                     NM     35032633100
37516381A91538   RUBEN         VASQUEZ                     TX     90010433810
3751725A691584   ROBERT        MORALES                     TX     90013642506
375172A922B835   FRANCISCO     DELTORO                     ID     42029472092
3751732665B393   LORRELL       CLARK                       OR     44501603266
3751889527B639   JERMAINE      AUSTIN                      GA     90010528952
3751955822B871   JANA          HATTON                      ID     90011015582
37519686A5B52B   DAVID         ROMERO                      NM     90012706860
3751978954124B   DANIELLE      PETRELLI                    PA     90005467895
3752137317B471   FREDERICK     ROSE III                    NC     11093133731
3752143875598B   CARLOS        JACKSON                     CA     90014854387
3752158415B526   EDWARD        LYBA                        NM     90001125841
3752179A472443   KEVIN         COOPER                      PA     90000937904
3752195988B183   BROOKE        ZEMAN                       UT     31095279598
3752199222B835   JUAN PABLO    RUIZ                        ID     90012109922
375221A965598B   PEDRO         ALLEMO                      CA     90015481096
3752299845598B   DESAREE       SALAS                       CA     90011379984
3752374A791584   BRYAN         GUARDADO                    TX     75035067407
3752424495598B   TRAVIS        RIOS                        CA     90013722449
3752453A591831   DANNY         DENTON                      OK     90013995305
3752483922B87B   STEVE         JORDAN                      ID     42088968392
3752513A99155B   LEONEL        SIGALA                      TX     90002371309
37526251398B21   PREVIS        SUVILLAGA                   SC     90007752513
3752746436192B   JAZMINE       VICKERS                     CA     46046964643
3752791842B87B   KERRIE        MOORHEAD                    ID     90005769184
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375279A7341285   NICHOLE      CONNER                       PA     51090639073
375282A6A8B16B   STORMY       WHETHERS                     UT     90003362060
3752831194B275   TASHA        LEWIS                        IA     90005013119
3752893815598B   JACQUELINE   BAEZ                         CA     90013039381
375294A867B492   LISA         KENNEDY                      NC     90014244086
3752988442B87B   ALEXIS       SCOTT                        ID     90011398844
37529A8A741285   THERION      NELSON                       PA     90013720807
3753127972B871   BENTLY       PERRY                        ID     90010562797
3753231832B835   COREY        THOMAS                       ID     90013943183
3753298542B871   MATTHEW      GILBERTSON                   ID     42019579854
3753369472B835   SYLVIA       DENNIS                       ID     90013256947
37533A28141258   LINDA        LYNN                         PA     90004640281
3753442982B29B   LEE          MURRAY                       DC     81011054298
3753541117B639   CATHERINE    DIXON                        GA     90014594111
3753541A92B87B   DEJA         BROWN                        ID     90014514109
3753627435598B   LOUISE       SALCIDO                      CA     90013642743
3753644545B52B   MARTIN       TENORO                       NM     90011344454
3753661134B275   MELISSA      PETERSEN                     NE     27023716113
37536A5664B281   EMMA         COY                          NE     90013410566
3753749734124B   SHAWN        RAVE                         PA     90014704973
3753815837B639   RONNIS       TOLBERT                      GA     90014621583
375381A322B87B   STEPHEN      SHELL                        ID     42091041032
3753855592B871   JENIFER      SANFORD                      ID     42092915559
37538A79791831   GAIL         GODNIEZ                      OK     90014340797
37539192A41285   THERESA      EVINS                        PA     90011751920
375391AA37B492   KIMBERLY     LEMMONS                      NC     90010021003
3753984777B639   ALEXIS       CAPERS                       AL     15087078477
3753B17162B835   VANESSA      CHAVEZ                       ID     90008501716
3753B364955951   SOFIA        MEZA                         CA     49097673649
3753B734141285   DARCEL       BARCHANOWICZ                 PA     51080997341
3753BA34291584   DAVID        SOLANO                       TX     90014850342
3754142A591831   QRELL        JOHNSON                      OK     90013184205
3754382619125B   JO           SCHINDLER                    GA     90004588261
3754394625B52B   LUCIA        BARRERA                      KS     35080799462
3754475997B449   RODNEY       ALEXANDER                    NC     90005997599
375456A2391831   ZELA         WALKER                       OK     21085846023
3754586915B56B   MATHEW       ROMERO                       NM     90008608691
3754594747B639   MADGE        GRUBB                        GA     15085589474
3754749217B639   TOMAS        VALDEZ                       GA     90014254921
37547898A91584   JOSE         GONZALEZ                     TX     75061858980
3754861675B391   EVERARDO     JAIME ROMERO                 OR     90014486167
3754947447B639   ERIC         WILLIS                       GA     90014394744
3754979555B393   SHELLEY      ROBERTSON                    OR     90012907955
37549A43541285   DREON        MOULTRIE                     PA     51096100435
3754B41A841258   AMANDA       JACKSON                      PA     90011544108
3754B51A64124B   ERIKA        MASSIMO                      PA     90014705106
375514A9191893   AMY          SOSA                         OK     90013584091
3755169A491584   ISABEL       ALDERETE                     TX     90015106904
3755369342B835   JASON        HUTCHINSON                   ID     90012886934
3755393A891537   ENRIQUE      ARMENDARIZ                   TX     75017479308
3755614735598B   RALPH        JACKSON                      CA     49016181473
37556391A7B471   MARIA        SANCHEZ                      NC     11007133910
375565A922B87B   JAKE         SCOTT                        ID     90015125092
3755799118B16B   CYNTHIA      BROWN                        UT     31079849911
37557A4A57B639   JIMMY        WESTBROOKS                   GA     90015240405
375584A7155972   MICHAEL      ESPINOZA                     CA     90012334071
3755853758433B   SABRINA      GREEN                        SC     90014705375
37559A1545B52B   LINDSY       SMITH                        NM     90009020154
3755B34652B87B   NOEL         RODRIGUEZ                    ID     90013903465
37561214A7B492   KORI         LIPSCOMB                     NC     90012602140
3756172447B449   LILIAN       MEJIA                        NC     11039027244
37561A11691893   DALE         DEARINWATER                  OK     21071710116
3756322955B393   KAREN        HAVRAN                       OR     90002772295
3756333535598B   ELIZABETH    HERNANDEZ                    CA     90015293353
37563725A4B281   BRIAUNA      MUHAIMIN                     NE     90014627250
37563A44891584   MARIA        RUVALCABA                    TX     90014850448
375649A734124B   DAWN         BOEHM                        PA     90013469073
3756521667B639   SHANICE      PARKER                       GA     90010362166
3756558415B526   EDWARD       LYBA                         NM     90001125841
37565586A2B835   JUAN         ESPINOSA-MONTANO             ID     42012315860
3756652494124B   LEANORD      DIXON                        PA     90014705249
3756658358598B   PAMELA       JUDGE                        KY     90012445835
3756699395B52B   LETICIA      ORTIZ                        NM     35083989939
3756719452B835   ALISHA       FORREST                      ID     90002651945
3756743885B375   CORD         MARTINEZ                     OR     90009364388
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3756757245598B   VALERIE      MARTINEZ                     CA     49091975724
3756884467B492   JAMIE        CRAWFORD                     NC     90009298446
37569563A91232   JOSEPH       SHEAHAN                      GA     90007635630
375697A4991584   ADRIANA      SIERRA                       TX     90010027049
3756B9A7391584   MAYRA        NEVAREZ                      TX     75035079073
37571421A91831   KELSIE       ROWLETT                      OK     90012134210
3757176517B492   BRIDGET      HATTEN                       NC     11005747651
3757271574B281   TIM          BROWN                        NE     90009257157
37573997A7B449   KIMBERLY     TRIBBLE                      NC     11092719970
3757454854124B   DARLENE      DANIEL                       PA     90014705485
3757476265B393   JESSICA      BROWN                        OR     44563487626
37574A3934B275   JUSTIN       BAKER                        NE     27003020393
37575459A5B52B   TERINA       SANCHEZ                      NM     35066484590
3757665355B393   DILIA        CARBALLO                     OR     44552616535
3757793542B835   ANGELA       BEAN                         ID     42026349354
3757834344B275   JENNIFER     PARKS                        NE     27027873434
3757867967B492   KEIA JAVON   GARNETT                      NC     90014686796
375796AA441285   KENNETH      LIPPOLD                      PA     90014046004
3757976327B639   MANUEL       ZAMORANO                     GA     90012537632
3757986764124B   LATOYA       JONES                        PA     51009908676
3757B6A124B281   KELVIN       HAWKINS                      NE     90011916012
3757B85922B87B   MAIDE        MAGALLON                     ID     90005798592
3757B8A3791232   ALEXIS       ROBERT                       GA     90012408037
3758126A19125B   ANGELA       GEORGE                       GA     14573372601
375812A874B55B   CHARLENE     POWELL                       OK     90012772087
37581338172B76   LISA         CORDOVA                      CO     90005653381
37582342172B76   GLORIA       RAMIREZ                      CO     90014763421
3758267885B52B   JORGE        CASTRELLON                   NM     90012346788
37582A8797B639   MARK         COLLINS                      GA     15070220879
37583147A25123   CHAD         CAYLOR                       AL     90014751470
3758331915B359   HEATHER      CRAWN                        OR     90006033191
37584251A91831   KERRIE       ROBERTSON                    OK     90015482510
3758473417B639   JALEN        THOMAS                       GA     90009397341
375849A9591584   EVA          TAME                         TX     75057579095
3758549642B871   ELIZABETH    GREEN                        ID     90011524964
3758569373B365   STEPHANIE    PAOLELLA                     CO     90000776937
3758641A372B76   CAMESHIA     ROBINSON                     CO     90001044103
3758928114B281   DAVID        BOSILJEVAC                   NE     27064322811
37589AA735B52B   MARIA ROSA   CISNEROS                     NM     90015330073
3758B819291584   CATALINA     RAMIREZ                      TX     90014338192
3759157544124B   ALEXIS       KNUCKLES                     PA     90014705754
3759337A891831   JAMIE        BENNETT                      OK     90014503708
3759412272B87B   JENNIFER     SNOW                         ID     90005641227
37594A4117B421   SHANNON      WORTHAM                      NC     11089420411
37595A51825655   KRYSTAL      WOOD                         AL     90014660518
37595AA8A55972   ANDREA       RAMIREZ                      CA     90008610080
3759637437B639   WILLIAM      THAXTON                      GA     15056353743
375969AA44124B   WILLIAM      TIMBERS                      PA     51053599004
3759957A68B19B   TERES        KIMBALL                      CA     90013475706
375B1836141285   MARK         KUNF                         PA     90012078361
375B2298191584   MARIA        GOMEZ                        TX     90014782981
375B2424691584   MARIA        LOZANO                       TX     90009524246
375B2445391525   FERMIN       CHAVEZ                       TX     90005724453
375B3136A2B255   ANTONIO      SAUNDERS                     DC     90012451360
375B3AA7155951   ISABEL       SANCHEZ                      CA     49014290071
375B46A287B449   CARINE       JOLINE                       NC     90002596028
375B484245B52B   ANTONIA      DELEIN                       NM     90013048424
375B4898A4B281   BRANDON      HUDSON                       NE     27017968980
375B528155598B   VANESSA      GARCIA                       CA     90014812815
375B552AA7B639   JESSICA      MARCEAUX                     GA     15083585200
375B588924B281   LISA         GERDES                       NE     90007678892
375B6967791584   SAUL         CORONADO                     TX     90008409677
375B727337B492   WENDY        BROADWAY                     NC     90014232733
375B769854124B   MATTHEW      HUBERT                       PA     51090136985
375B782515B393   DARTGNAN     GEORGIADES                   OR     44513978251
375B8826472B76   CATY         PLATT                        CO     33091538264
375B886334124B   ADRIENNE     WILLIAMS                     PA     90010718633
375B921497B639   SHAMBREKA    PUGH                         GA     90014932149
375BB13357B492   YON          DEE                          NC     90006441335
375BB685A4B281   ANA          MEDINA                       NE     90011966850
376116A152B871   STACY        MARTIN                       ID     42015916015
3761265125599B   JOSE         HERNANDEZ                    CA     48052596512
3761276A955972   EDGAR        ADAME                        CA     90010147609
3761325157B639   JARON        PRIOR                        GA     90014852515
3761341AA4B954   VIRGINIA     ESPINOLA                     TX     90006744100
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376136AA884381   DEBORAH          ISAACS                   SC     19001956008
376149A585B52B   JOSEPHINE        SANCHEZ                  NM     90001959058
3761528814124B   REBEKAH          MURPHY                   PA     90000572881
37615612897B31   CAMILO           AGUILAR                  CO     90012996128
3761713115B393   JANETH           GARCIA                   OR     90013161311
3761792642B835   KEVIN            MCKINSTRY                ID     90003889264
37617948A41285   ABLYNN           HARBEY                   PA     90009949480
3761852A82B87B   CODY             JOHNSON                  ID     90014015208
376191A155B52B   KLEANTONY        SMITH                    NM     35096111015
3761937245598B   ALMA             AMARAL                   CA     90013943724
37619A6824B281   DALAN            URQUHART                 NE     27075880682
3761B55732B87B   JOHN             LEMOINE                  ID     42052675573
3761B72548144B   ROSE             WILLIAMS                 PA     90013037254
3761B83652B835   HECTOR           SIUCE                    ID     90009098365
3762129A28B167   MARK             DAVIS                    UT     90007942902
37621A2A67B639   JORGE            TELLO                    GA     90003960206
3762335352B835   DAWN             THOMAS                   ID     90010463535
3762363542B87B   CORRENA          KESSLER                  ID     90009956354
3762432245B526   THOMAS           SMITH                    NM     90008853224
37624424772B76   MIGUEL           ONOFRE                   CO     33060454247
3762498732B835   CHARLENE         MARROW                   ID     90012409873
3762521825B52B   MARIA            NEVAREZ QUINONEZ         NM     90001492182
3762522952B871   PEDRO            VILLARREAL               ID     90011922295
376252A315B393   CRAIG            BURT                     OR     90014262031
3762634345598B   MARIA            GARZA                    CA     90013143434
3762642312B87B   SHERI            BANDELEAN                ID     90012094231
3762688635B52B   CONSTANTI        ZAFRA                    NM     35063638863
3762722825598B   AVILENE          BARROSO                  CA     90014962282
3762764227B639   KARNESHIHA       LEONARD                  GA     90010886422
376277A997B492   JEFF             POOL                     NC     90012787099
37627A28491584   CYNTHIA          CARRILLO                 TX     90011130284
3762864984124B   CRYSTAL          LOWTHER                  PA     90014706498
37628992A91893   ROY              LAGORE                   OK     90013589920
3762949734124B   ERIC             ISLES                    PA     90014714973
3762962837B639   JABRIA           THOMAS                   GA     90014866283
3762975717B492   BRITNEY          BROWN                    NC     90014687571
3762983122B835   PHIL             SLAATHAUG                ID     42029598312
3762984965B545   JOHNNY           BACA                     NM     90010388496
3762B121155972   PAMELA           LOPEZ                    CA     48004441211
3762B31297B492   APRIL            HARMAN                   NC     90013223129
37631A19A31424   LEEMER           OLIVER-BEY               MO     90004000190
37632A8684B281   CORY             CARLENTINE               NE     90012500868
3763385163B351   ERIC             BURGER                   CO     33059268516
37633A75861945   CAROLINA         GONZALEZ                 CA     90001530758
3763419994B281   CHRIS            COLLIER                  NE     90009951999
3763441342B835   PAUL             FRITZER                  ID     90000284134
3763441882B871   KRYSTLE          CABALTERA                ID     90012094188
3763448514124B   HANON            SACHS                    PA     90011524851
3763473795B393   MAGGIE           LORENZ                   OR     90011287379
3763511534B281   JOSHUAD          CAUDILL                  NE     90013201153
3763634322B87B   ERIN             RUIZ                     ID     90003973432
3763652164124B   CHRISTOPHER      STOCKLEY                 PA     90014715216
3763667494B275   JORDAN           STEWART                  NE     90008346749
37636A6975598B   MICHAEL SHEILA   BENNER                   CA     90011010697
37637863A7B492   SHARIKA          JOHNSON                  NC     90014968630
3763797247B851   CASIE            GRIFFIN                  IL     90014509724
3763B2A832B87B   LYLE             JOHANEK                  ID     42046022083
3763B8A795598B   ROBERT           SALINAS                  CA     90014298079
3764164325598B   AIOTEST1         DONOTTOUCH               CA     90015116432
37641A2312B871   FRANCISCO        GALLEGOS                 ID     90013760231
37642474A91831   JYME             GIBBS                    OK     90003944740
3764268444124B   EMERALD          JONES                    PA     90014706844
3764341885B393   JENNIFER         NUNEZ                    OR     44576034188
376435AA67B639   CASH             MONEY                    GA     90014615006
37643978A5598B   NICOLAS          ZAVALA                   CA     90012909780
37643AA8191584   JESUS            SANCHEZ                  TX     90007490081
3764426825B393   TIANA            DANIEL                   OR     44513432682
376442A245B52B   MARIA            DELGADO-LOPEZ            NM     90014372024
3764446869125B   KEOSHA           HOSKINS                  GA     90005384686
3764548A27B471   CAROLYN          WILLIAMS                 NC     11044394802
3764631165B393   RONNIE           JONES                    OR     44546033116
37646847A3B35B   RYAN             ROBINSON                 CO     33080408470
3764712645598B   ALEJANDRA        SAHAGUN                  CA     90015181264
3764747447B639   ERIC             WILLIS                   GA     90014394744
3764793115598B   ALIBRA           CARTER                   CA     90011589311
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37648A39155972   VICTORIA      FONSECA                     CA     48012070391
37648A5482B871   WILE          VILCAPOMA                   ID     90003650548
376492A9A7B639   JACQUELINE    STEWART                     GA     15053102090
376497A224B281   MICHAEL       COY                         NE     27059427022
3764B22A72B835   VINCENT       PELCH                       ID     90014832207
3764B35A37B492   COOK          DENISE                      NC     90012583503
3764B41872B871   JOSHUA        LAROCQUE                    ID     42030314187
37651642A91584   FRANCISCO     HANKINS                     NM     90014146420
3765241865598B   EZEQUIEL      REEVES                      CA     90012514186
376527A6155972   VIVIANA       HUERTA                      CA     48020017061
376531A3191893   LYNDSEY       VICKERS                     OK     90013591031
3765459AA91831   TIFFANY       GAINES                      OK     21004495900
3765473214124B   ALISHA        SMITH                       PA     90014587321
3765597522B87B   SCOTT         RIGGS                       ID     90011929752
3765639A855972   BRIAN         VIERA                       CA     48047993908
3765642A24124B   KIMBERLY      SMITH                       PA     90014514202
3765655617B639   VANGREEKA     HUNTER                      GA     90010295561
3765698412B835   VENTURA       CAMPOS                      ID     42031889841
3765759737B492   TRAPP         DIEGO                       NC     90015205973
3765924747B639   DAWN          ANDERSON                    GA     15055092474
37659328448B59   JIMMIE        BAKER                       AZ     90013963284
3765959132B87B   JUAN          MARTINEZ                    ID     42079545913
376619A394B55B   RUBY          ROBERTSON                   OK     21501419039
37662561A5B393   KRISTONIA     BARNER                      OR     44585415610
3766298977B639   NATARSHA      ARMOUR-JOHNSON              GA     15029899897
37663997A91584   FRANSISCO     ROMERO                      TX     90014859970
37664261A41285   JUDI          YURKO                       PA     51011732610
3766426235B393   MA DE JESUS   HERRERA HERRERA             OR     90010832623
3766479A97B639   TERELL        GLOVER                      GA     90014247909
376649A1672B76   LASARO        SAENZ                       CO     33052059016
3766534394B281   CORAZON       MEJIA                       NE     90005413439
3766596127B639   SAYDA         XILOJ                       GA     90012039612
3766718347B492   KEVIN         LIPSCOMB                    NC     90015221834
3766756164B281   CARLTON       WILLIAMS                    NE     27010085616
3766781892B87B   DEREK         TREFREN                     ID     90009398189
3766797815B393   JULIO         BAEZ                        OR     90011979781
3766843542B871   REHANA        MOHAMMAD                    ID     90006444354
37668518A4B275   JOSEPH        COMPTON                     NE     27015405180
3766926272B87B   TYRA          SMART                       ID     90006652627
376695A345598B   VALERIE       PEREZ                       CA     90014175034
3766972368B16B   VALERIE       TRUJILLO                    UT     90008997236
37669725A4124B   SHARITA       WYATT                       PA     90014707250
3766981545B393   ELISHA        WESLEY                      OR     90009518154
3766B37788B16B   HUGO          LUEANOS                     CO     31088753778
3766B47932B87B   MANUELA       TAPIA                       UT     90000574793
3766B4A525598B   JACKIE        DAVIS                       CA     90011454052
3766B888155943   DULCE         DIAZ                        CA     90014528881
3767124A691893   DEBORAH       GIST                        OK     90013592406
3767135687B639   CARMEN        DOMINGUEZ                   GA     90015023568
3767224A691893   DEBORAH       GIST                        OK     90013592406
376724A112B87B   RANDAL        HALLENBERGER                ID     42094604011
37672586A55951   CYNTHIA       ROBINSON                    CA     90000335860
376726A2957537   HERMINIA      GUSMAN                      NM     35507896029
376729A394B281   GUADALUPE     BENITEZ                     NE     90013089039
3767356582B871   HEATHER       BRUCE                       ID     90014915658
3767394287B449   JOHNNIE       BARRETT                     NC     11052749428
3767468235B52B   YOLANDA       PARKER                      NM     90009046823
37674A65A5B393   MARIA         SALAS                       OR     90012770650
3767538462B835   JACKIE        VARGAS                      ID     90001803846
37676286472B76   ANDREW        CANNON                      CO     90008832864
376767A195B545   JACOB         GARCIA                      NM     90010957019
3767698612B871   ISMAIL        ABDI                        ID     90012929861
37679845A41285   WOODROW       TAYLOR                      PA     90009808450
3767B5A9641258   SANGAB        HUSSEIN                     PA     90014845096
3767B82154B281   JOSEPH        DILLOW                      NE     27078388215
3767BA3317B639   KARIAN        WHITE                       GA     90014040331
376816A567B492   JOHANNA       JOHNSON                     NC     90013566056
37681AA8955972   LES           LEDBETTER                   CA     48010740089
3768235868B16B   RAMONA        BECKSTROM                   UT     31091693586
3768298824124B   MONTE         BANKS                       PA     90013809882
3768367422B871   ERIC          MARTINEZ                    ID     42016106742
37684A4774B576   MICHELE       TAYLOR                      OK     90010990477
3768633535B52B   BRITTNEY      ABEITA                      NM     90014033353
376865A225B156   KANDICE       CLEVENGER                   AR     90001355022
3768672857B471   YANETH        MENJIVAR                    NC     11043297285
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3768733A54124B   RAN          GURUNG                       PA     90009973305
37687395A91584   MARTHA       CERECERES                    TX     90010503950
3768745A85B393   MIRANDA      WARDROPPER                   OR     90005284508
3768841154B281   MEGAN        PALMA                        NE     27071234115
3768938A65598B   MARTIN       MATA                         CA     90012243806
37689395A91584   MARTHA       CERECERES                    TX     90010503950
3768946672B87B   BRANDY       MCEWEN                       ID     90014714667
3768962859156B   OCTAVIO      GUTIERREZ                    TX     75057416285
3768964325598B   AIOTEST1     DONOTTOUCH                   CA     90015116432
3768985392B871   ANN          FORTIN                       ID     42036348539
3768B175141285   TAMMY        CARTIERI                     PA     90014841751
3768B34484124B   NATHAN       ALLEN                        PA     90015173448
3768B4A1833634   RONNIE       STATON JR                    NC     90009174018
3769176A42B871   CARMEN       MARTINEZ                     ID     90013577604
37692A8197B639   NATIKA       MARSHALL                     GA     90008210819
37693395A91584   MARTHA       CERECERES                    TX     90010503950
3769381274124B   MICHAEL      ALCUTT                       PA     51034318127
3769391695B52B   ALEJANDRIN   BARRON                       NM     35005509169
3769462A531424   KAMILAH      ARTHUR                       MO     90011196205
3769466357B639   TOYEE        BRITTON                      GA     90014866635
3769573687B449   LYNETTE      DIXON                        NC     11047237368
3769615A35598B   VICTORIA     BENNETT                      CA     90011581503
3769714485B52B   GUADALUPE    MOLINAR                      NM     90013631448
376974AA655972   CAROL        ISKNDERIAN                   CA     90014154006
3769776984124B   GARY         BROWN                        PA     51002407698
3769779AA7B639   JASMINE      THOMAS                       GA     90014717900
37697983672B76   CARLOS       PEREZ                        CO     33079709836
3769818414B275   MARTH        ACEVEDO                      NE     90002361841
3769894777B449   FORTUNATO    GARCIA                       NC     11076599477
37699131A4B281   DAVID        LUIKENS                      IA     90010471310
3769942312B871   SHERI        BANDELEAN                    ID     90012094231
3769947525B593   LUIS         TRUJILLO                     NM     90012084752
3769962712B835   SONNY        REGES                        ID     90010836271
3769B381843521   ROSS         MATHEWS                      UT     31004163818
3769B388231424   MAGDALENA    POSAS                        MO     27535293882
3769B64214124B   LAJUANDA     SHERWOOD                     PA     51043106421
3769B877781482   JOHN         GREISHAW                     PA     90014238777
376B127727B429   WINIFRED     STEVENS                      NC     11065802772
376B131A331424   ASHLEY       PURVEY                       MO     90012523103
376B1423755972   CARRIE       OLDHAM                       CA     90013924237
376B1735341291   NICOLE       RISHEL                       PA     51086817353
376B17A915B393   ROBERT       MCCLAREN                     OR     44569927091
376B197595B52B   JAEL         CHAVEZ                       NM     90002029759
376B243362B871   AURELIO      FRAUSTO                      ID     90014604336
376B243A45B156   CARL         BROCK                        AR     23091914304
376B2792691584   CRYSTAL      HUMPHRESS                    TX     75019447926
376B299A92B87B   SONYA        SANKEY                       ID     42044869909
376B3851191831   SHAMIKA      SIMPSON                      OK     21011738511
376B4777355972   PEREZ        MIGUEL                       CA     90005387773
376B543542B871   REHANA       MOHAMMAD                     ID     90006444354
376B545865B156   LEATHA       CREDIT                       AR     23020354586
376B6224651382   SHERESE      WASHINGTON                   OH     90011842246
376B659774124B   MARIAH       CRAIG                        PA     90014705977
376B6A5665598B   MANUEL       JASSO                        CA     49014670566
376B7971191584   ROBERT       GARCIA                       TX     90014859711
376B841A157123   OCTAVIO      GANDARILLAS                  VA     81080364101
376B894954123B   JAMIE        BINGHAM                      PA     90012519495
376BB97A78B16B   DEREK        HENDRICKS                    UT     31026029707
376BBA5794B275   DAVID        ADAMS                        NE     27056410579
377123A277B639   MARY         BEAVER                       GA     15066093027
3771277A34B281   LATAYNA      THOMAS                       NE     90011917703
3771343A17B492   SHIRLEY      MACKINS                      NC     90014614301
37713854A41258   SAMUEL       RIGGI                        PA     90014128540
377138AA72B871   TRINITY      BOUNDS                       ID     42083158007
377147AA14124B   ALYSE        BAKER                        PA     51024477001
3771489A291584   VIANNEY      VARGAS                       TX     90014768902
3771576A771932   JOSE         SANCHEZ                      CO     90011227607
37715824A4124B   BETTY        MALONE                       PA     90006428240
37715A6612B87B   ROBERT       MONROE                       ID     42003560661
3771643527B492   GENA         RICE                         NC     11049444352
3771658975B393   RACHEL       JENNINGS                     OR     90013305897
37716951998B61   TRACY        BREWINGTON                   NC     90014119519
37716A21591584   MARIA D      SANDOVAL-MARRUFO             TX     90014860215
377181A7784332   KIRI         JANNEY                       SC     90001771077
3771848445B393   MIKHAIL      YASINSKIY                    OR     44560974844
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37718A12691869   JUAN          RUBIO JR                    OK     90008710126
3771979745B52B   MARY          ARAGON                      NM     35024507974
3771B27237B449   RICK          ALLEN                       NC     11009882723
37721A68231424   BRENDA        BARNES                      MO     90005920682
37723699A7B639   ALEX          WILLIAMS                    GA     90013406990
3772372517B492   RAVEN         ARTHUR                      NC     90014697251
3772374364B275   JEANETTE      FENNER                      NE     90004777436
37723A1295598B   JOSE          SOSA                        CA     49090500129
3772415575B393   KANEWAI       AHINA                       OR     44520231557
37724A1257B639   GUDRUN        FROST                       GA     90012020125
3772548685B52B   RICARDO       SALCIDE RIVERA              NM     35014524868
37725496A2B87B   CONDOLA       KELLY                       ID     90010184960
3772585565B52B   RICARDO       SALCIDO RIVERA              NM     90012698556
3772749734124B   ERIC          ISLES                       PA     90014714973
3772758162B871   KAYLA         LAWS                        ID     90009195816
3772767515B156   JASMINE       WIGGINS                     AR     23028746751
3772863615B52B   PATRICIA      GURROLA                     NM     35002886361
3772896962B241   ASHLEY        MCNELL                      DC     90013979696
37728A8865B393   LINDSEY       WARREN                      OR     90014730886
3772917498167B   AMBER         BARNES                      MO     90013141749
3772989827B471   JERRY         SIMPSON                     SC     90005278982
37729A6A57B639   JUANITA       PITE                        GA     90003610605
3772B51872B871   AMY           SNYDER                      ID     42093235187
3772B738631424   GLORIA        WELLS                       MO     90003067386
3773131927B639   CHRIS         ELLISON                     GA     90002323192
3773162817B471   RICH          CHRISTIE                    NC     90009216281
37731A8487B422   JAMES         BOWMAN                      NC     90012540848
377326A622B87B   SHYRA         TAMEZ                       ID     42093186062
3773281197B639   RISHA         STEPNEY                     GA     90014718119
3773286435B52B   ALEJANDRIN    AVALOS SANCHEZ              NM     35009208643
3773322A941258   GUILLERMINA   HERNANDEZ                   PA     90012412209
3773347718B17B   MARY ANN      SNYDER                      UT     90005024771
3773364634B583   DORCINE       REDO                        OK     90006456463
3773387422B828   MARK          STEVENS                     ID     42072118742
37734688A4B281   DIEGO         HERNANDEZ                   NE     90015066880
3773469A191893   TREASE        MELTON                      OK     90013596901
3773515825B52B   SHAQUILLE     MEADE                       NM     90001971582
3773537717B639   ALEXIA        JACKSON                     GA     15060633771
377355A9255951   MANUEL        OCHOA                       CA     90011835092
377382A3341258   TIERENY       GREGRORY                    PA     51044992033
3773919842B271   LASHONTA      WARD                        DC     90014701984
37739298136B43   JAMES         MARSH                       OR     90004272981
37739A52A91831   VICTORIA      GARCIA                      OK     90011870520
3773B55484124B   GENEVA        CASH                        PA     90014715548
3773B73742B871   DAVID         VARIE                       ID     90011017374
3774158954124B   MICHEAL       SMITH                       PA     90014715895
377417A825B393   BRENNAN       BALDWIN                     OR     90010457082
3774183764B281   CARLESHA      MCCULLOUGH                  NE     90013898376
3774365815B393   GLENNA E      RABADON                     OR     90015256581
3774384A691232   WILLIAM       JOHNSON                     GA     90007638406
3774388222B835   JACINTO       VILLICANA                   ID     90014998822
3774498A75B393   DORA          MONTES                      OR     44556199807
37744A44591525   VIRGILIO      DOMINGUEZ                   TX     90003860445
37745149A41258   CHRISTOPHE    LIVSEY                      PA     51072851490
3774585287B471   ANTONIO       SANDERS                     NC     90004268528
3774612244B281   TYLER         GUSTAFSON                   NE     90013401224
377462AA155964   BIBIANA       PALMA                       CA     90012002001
37746398A91831   ANGELA        PLUMMER                     OK     21093853980
377463A187B639   WASH          TYLER                       GA     90012903018
3774656935598B   MARIO         MENDOZA                     CA     90011965693
3774781274124B   MEL           WILSON                      PA     51082398127
3774916A741258   YVONNE        MURRAY                      PA     51094161607
377493AA751383   BRIAN         CONNER                      OH     90001003007
3774952432B871   CHRISTINA     KNIGHT                      ID     42089405243
377497A565598B   PHIA          XIONG                       CA     90004197056
37749A5574B281   BLAKE         WEBSTER                     NE     27054010557
3774B593351325   LYDIA         WOSSEN                      OH     90010145933
3774B893A72441   SUSAN         GERHARDT                    PA     90010708930
3774BA6A572B76   KIMBERLY      BUCHER                      CO     33066790605
3775263434124B   RON           MAYFIELD                    PA     90014716343
3775297955B393   AJA           STACY                       OR     90008949795
3775331574B275   EVELIN        MEDRANO                     NE     90004913157
3775383677B639   DARNISHA      COBB                        GA     90010888367
37753965A91232   MICHAEL       WINN                        GA     90007859650
3775427A54124B   VADYM         MARCHENKO                   PA     90006132705
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37754967A72B76   AZUCENA      MARTINEZ                     CO     33077329670
3775511188B16B   LARSON       DAVID                        UT     31062151118
3775514857B492   LETICIA      SILVA                        NC     11060381485
377564AA47B492   SEAN         MORTON                       NC     90000594004
37757539772B36   MANUEL       ROBLES PEREZ                 CO     90005045397
377587A9191584   ELIZABETH    SANDOVAL                     TX     75035487091
3775894884B281   FERNANDEZ    MANUEL                       NE     27043739488
3775934852B871   CHERYL       GOLDSTON                     ID     42026613485
3775B57292B871   JOSE         MALDEONADO                   ID     42039495729
3775B611641251   ALBERT       POZZUTO                      PA     90001956116
3775B7A945B52B   JENNIFER     DUNN                         NM     90010967094
3776113655B52B   UNALE        PATRICK                      NM     90011261365
3776231987B639   QUENTIN      CANTIDATE                    AL     90012163198
37762649A5598B   JENNIFER     BACKER                       CA     90005996490
3776433442B87B   ESCOBAR      RAMIREZ                      ID     90010243344
3776441728B16B   GUY          HADLEY                       UT     90003414172
37764A2A941258   DENICE       GRAY                         PA     51055590209
37764A8235598B   EARL         SPARKS                       CA     90011590823
3776518714B281   JOE          ROCHA                        IA     27039501871
37766A46191584   GLORIA       TORRES                       TX     90014860461
37769437A72B76   STEFANIE     EYMAR                        CO     33066324370
3776977164B281   RYAN         STUTZMAN                     NE     90014337716
37769A89976B64   CARLOS       MEDINA                       CA     90010170899
3776B16A181557   JOSE         VILLAFURTE                   IL     90015461601
3776B53A65B52B   MARIADEL     RANGEL SANTILLAN             NM     90013815306
3776B722141285   DAUNE        DAVIS                        PA     90014777221
377713A1491893   JANICE       HARVEY                       OK     90012003014
3777341668B273   RUTILO       PEREZ ROMAN                  VT     90015324166
37773A3A991893   CHARLES      WHITE                        OK     90013580309
37773A5352B835   SHELLEY      CARTER                       ID     42068160535
377744A1372B76   GAYLE        ELKINS                       CO     33067564013
3777717947B492   JERRY        REID                         NC     11019931794
3777733687B639   DAVID        BEST                         AL     90012163368
3777791787B449   KEVIN        FAIR                         NC     11093669178
3777851587B449   FLOYD        DAVIS                        NC     90002925158
37778A46191584   GLORIA       TORRES                       TX     90014860461
3777952A55598B   BRAD         WOODARD                      CA     90014675205
3777B4A732B871   PAUL         STAMP                        ID     90006194073
3777B98314B275   CHERYL       HOFFMAN                      NE     27007759831
377815A147B471   LEN          JACKSON                      NC     11067375014
3778169615B393   MICHELLE     HUSTON                       OR     44547536961
3778234497B492   JAMARICA     LOTT                         NC     90011963449
377823A5241285   JESSICA      STANLEY                      PA     90014503052
3778243A65B52B   DIANNA       MACLELLAN                    NM     90013254306
37782A36476B69   ASHLEY       RODRIGUEZ                    CA     90014850364
3778353A191893   LESLIE       HAMILTON                     OK     90013495301
3778361A191584   VERONICA     MORENO                       TX     75036046101
3778385A772B76   ALEJANDRA    HERNANDEZ                    CO     33016068507
3778424AA41258   LESLIE       COLE                         PA     51014992400
37784515A41258   ADAM         GISSIN                       PA     90013915150
37784A73998B61   RUTH         LAKE                         NC     90010080739
377865A575598B   ADRIANA      SEPULVEDA                    CA     90003875057
37786AA9855951   JESUS        HERNANDEZ                    CA     49075090098
3778712543B239   DELINE       REED                         DE     90012531254
3778772932B87B   CONNER       HOY                          ID     90010067293
3778825849125B   TERESA       DUTCHER                      GA     90011982584
3778844342B835   AHMAD        ASLAMI                       ID     42084274434
3778889485B156   TONYA        COLLINS                      AR     90000648948
377888A992B871   MELISSA      SEARLE                       ID     90002448099
3778949294B281   SHIRLEY      THOMAS-BASS                  NE     90002934929
3778B133A5B393   VIVIAN       MORAN                        OR     90013161330
3778B332357123   DEBORAH      AHENKA                       VA     90004893323
3778B3A535598B   JOSEPHINE    GARIBAI                      CA     90012803053
3778B7A4861945   JOEL         SANTIZ                       CA     90011377048
37791411A91525   CLAUDIA      BERNAL                       TX     75090884110
3779151454B281   AMY          ELSASSER                     NE     90010425145
3779153834B275   AARON        YECK                         NE     90008385383
37791AA1591893   LINDSAY      LANDRUM-NAATZ                OK     90013600015
3779229424B281   KA MITA      SMITH                        NE     90013602942
37792684A5B393   SONIA        IEHUSER                      OR     90012696840
377927A3A2B835   ANTONIO      VIBANCO                      ID     90010197030
37793A7115B52B   MARY         ALDERETE                     NM     35088140711
3779458677B449   AYO          ROANE                        NC     90005495867
37794637A9152B   MARIEL       SALDANA                      TX     90012716370
37794A26691893   JAMMY        OLGUIN                       OK     90013600266
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37795149944B45   LAURIE        MUNTEAN                     OH     90014311499
37795341272B36   ARNOLDO       MARTINEZ                    CO     90001433412
3779617947B492   JERRY         REID                        NC     11019931794
3779624567B471   DIANE         RABOUIN                     NC     11078872456
3779645912B871   STEVE         LUTGARDE                    ID     42073764591
37796A2A95B393   LINDA         GUTIERREZ                   OR     90014640209
3779731155598B   CHENG         VANG                        CA     90011233115
37797A5272B87B   GLADYS        OBESO                       ID     90000790527
377984A234B281   CHRISTOPHER   RYAN                        NE     90012344023
3779853834B275   AARON         YECK                        NE     90008385383
3779935AA4B281   HESTER        EUGENE                      IA     90014963500
3779974558B16B   RICKY         WARREN                      UT     90003417455
37799A7544124B   JOANN         MELZER                      PA     90010430754
3779B22272B835   APRIL         HAMMONS                     ID     42045062227
3779B643541258   DOROTHY       KUKS                        PA     51081496435
3779B68324124B   EBONY         POINDEXTER                  PA     90014716832
3779B96A791831   CHARLOTTE     CARTER                      OK     90002469607
377B159495B52B   ANTONIO       LOPEZ                       NM     35091915949
377B18A412B835   ADAM          SISNEROZ                    ID     90010058041
377B379AA7B639   JASMINE       THOMAS                      GA     90014717900
377B445995B393   CYNTHIA       WASHINGTON                  OR     44545484599
377B5625732573   CHRISTOPHER   BARNES                      TX     90013956257
377B612475598B   FABIAN        RODRIGUEZ                   CA     49061011247
377B6442A2B871   RONNI         TAYLOR                      ID     42066864420
377B7624355972   YOALI         RAMIREZ                     CA     90013896243
377B851512B87B   JOHN          SAFFORD                     ID     90013675151
377B926A27B639   ANTONIO       JOHNSON                     GA     15068032602
377B9599A41258   LEOVARDO      POLANCO                     PA     51023265990
377B9624791584   MARIBEL       HERNANDEZ                   TX     75091426247
377B979454124B   JENNIFER      IHRIG                       PA     51087657945
377BB132555972   DELMY         ROSALES                     CA     90008641325
378113AA82B835   ED            BRYAN                       ID     42015803008
3781187764B281   BLANCA        ERAZO                       NE     90013778776
3781195595598B   JUAN JOSE     GONZALEZ-CRUZ               CA     90009409559
37811A19491584   ALEX          DE LA ROSA                  TX     90005710194
3781265322B835   MIKE          DAVIS                       ID     42092446532
3781296A87B492   STERLING      HOLLAND                     NC     90014729608
37813281972B76   MONICA        HERNANDEZ                   CO     33062302819
37813476A5598B   JUANITA       RAMIREZ                     CA     49061474760
37813A3637B384   BLANCA        MELGAR                      VA     90001050363
3781416A255951   ERIC          JIMENEZ                     CA     90013351602
3781522424124B   KELLY         HILSON                      PA     90007972242
3781532737B639   SERENA        BAKER                       GA     90010523273
378162A4A7B359   ERNESTO       TELLERIA                    VA     90001602040
3781644922B871   CHRISTINA     CRADDICK                    ID     90008454492
37816786372B76   JOSH          DAVIS                       CO     33065657863
3781694677B449   WALTER        HOPKINS                     NC     11042069467
378179A567B639   LYDELL        BAKER                       GA     15053319056
37817A23291232   LAKISHA       HOLMES                      GA     90001240232
3781913AA41285   AMY           DAVIS                       PA     90010051300
3781964A685921   JETIA         WEATHERFORD                 KY     90014856406
3781998967B492   FRANCES       GODWIN                      NC     11028049896
3781B529291243   HOPE          STEWART FORD                GA     90001445292
3781B596A31424   SHANNON       SCURLOCK                    MO     90014275960
3781B934A5B52B   PAOLA         GARCIA                      NM     35040069340
3782139792B835   DANIELLE      VIALET                      ID     90012923979
378215A162B835   LIZZETH       SERRAN                      ID     90002535016
3782173784124B   YAKESIA       GREEN                       PA     90014717378
3782185985598B   MARIBLE       REYES                       CA     90006338598
37821A36891584   ANDRES        MARQUEZ                     TX     90014340368
378233A9A5B393   BRIAN         TIMGLEY                     OR     90013343090
3782373374124B   CAROL         ANDERSON                    PA     51018857337
37824277872B76   FROYLAN       PEREZ                       CO     33083372778
37824281A9152B   RAUL          GARCIA                      TX     90010042810
3782626244B281   LARRY         BOWERS                      NE     90007172624
3782673117B492   KATHLEEN      STARR                       NC     90005377311
3782739925B393   GUADALUPE     FARIAS                      OR     90014613992
37827428324B41   MARCELUS      BROOKS                      DC     90010534283
3782761A191893   SHURON        DAVIS                       OK     90014566101
378283A235B52B   AMBER         COGDILL                     NM     90011883023
3782851862B835   ED            WARD                        ID     42061115186
3782882294124B   PATRICIA      TALLON                      PA     51085808229
3782886728B16B   RUTH          RAMOS                       UT     90010478672
3782935742B87B   MIKE          CAMARIO                     ID     42020323574
3782B11852B835   SUZANNE       BRADY                       ID     90012941185
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3782B23724B275   KENNETH      NELSON                       NE     90003702372
3782B751641258   TAWNEE       JACKSON                      PA     90011967516
3783195632162B   JOSE         RAMIREZ                      OH     90014109563
3783223185598B   JULIA        RODRIGUEZ                    CA     90010742318
378325A7A91538   JESUS        MORENO                       TX     75088125070
378335A8172B76   LORI         STEVENSON                    CO     33084675081
37833AAA555951   JULIO        JIMENEZ                      CA     90011840005
3783421345B146   DONNA        ACAR                         AR     90006272134
3783449AA2B871   REGINA       GALLION                      ID     90011074900
378353AA27B639   CAROLYN      JONES                        GA     15047173002
378354A8472B76   ATHENA       RAGAN                        CO     90005654084
37836692597B31   ROBERTO      FLORES                       CO     90010936925
37837454A5B393   TAMMY        HOBBS                        OR     44531464540
3783774842B87B   CINTHIA      CEJA                         ID     90011857484
37837A89591584   MICHELLER    MEDINA                       TX     90014860895
3783881925598B   THOMAS       CORONADO                     CA     90008268192
3783937327B639   BETH         DENUEX                       GA     90014423732
37839A91A91584   BRANDIE      BERGE                        TX     90014860910
3783BA8245B52B   MARCO        PLATA                        NM     90006250824
378425A8655985   JOAQUIN      ZAVALA                       CA     90007935086
3784269417B639   DOMINIQUE    MOORE                        GA     15093216941
3784382A22B871   KAREN        SARJEANT                     ID     90002088202
3784398585B393   CHRISTIE     RICE                         OR     90010319858
37844392A5598B   WILLIAM      STONE                        CA     49075523920
37845A82491584   SONNY        MENDOZA                      TX     90005710824
3784645632B871   TIM          CRAWFORD                     ID     42091614563
3784736514B276   APRIL        WADLEIGH                     NE     90002433651
37847A3132B87B   KENDRA       TORES                        ID     42022420313
37848916A2B835   KAREN        BULGER                       ID     90012579160
3784921675598B   JOSEPHINE    HINOJOSA                     CA     90011592167
3784B26862B87B   SERGIO       CISNEROS                     ID     90009872686
3784B41855B52B   JOHN         THOMPSON                     NM     35073284185
3784BA7882B835   JOSE         RODRIGUEZ                    ID     90006220788
3785116533B334   HECTOR       DELAVEGA                     CO     33026501653
3785144A32B87B   BERTO        GONZALEZ                     ID     90011734403
3785165112B871   BEN          MADSEN                       ID     90010486511
3785174684B281   EDEM         KEGEY                        NE     90015367468
378521A3891584   RAUL         NEVAREZ                      TX     90014861038
3785225485B52B   ROQUE        ACOSTA                       NM     90014572548
3785327214124B   JORGE        DE LA CRUZ                   PA     51048442721
37854123A91584   JOSE         CASTRO                       TX     75071161230
378547AA151347   CATRINA      JACKSON                      OH     90014207001
37855746A91584   GLORIA       CARRILLO                     TX     90011227460
37856799772B76   PAULA        FAHILGA                      CO     33065257997
37856A4755B393   MATQUETTA    OSBORNE                      OR     90015060475
3785799A74B275   CARLOS       FUENTES                      IA     27081069907
378581A6291584   CESII        HARRIS                       TX     90014861062
3785852442B871   ANNE         WILSON                       ID     90005995244
3785856435B156   ADRIANA      GIGLI                        AR     90013075643
37858594397B21   ERIC         LAUGHLIN                     CO     90009405943
378589A392B835   MARISA       GARZA                        ID     42092859039
37858A77191831   CASSIE       BRYAN                        OK     90009070771
3785919A75B37B   DOUG         OLINGER                      OR     44586311907
378591A1155972   JAIME        FLORES                       CA     48088201011
3785931287B639   RICHARD      WAGES                        GA     15074383128
3785B148891584   SONIA        LOPEZ                        TX     75095771488
3786191112B835   SHAWN        JONES                        ID     90014639111
378619A133B39B   ELLEN        KANOZA                       CO     90001169013
378625A314124B   PHILLIP      ALMENDAREZ                   PA     51069545031
3786344757B492   CHRISTIE     SENTER                       NC     90014754475
3786444A391893   JUSTIN       NAUGLE                       OK     90001274403
3786454174B281   RODNEY       JONES                        NE     27069945417
3786454247B492   KAREN        BRIDGES                      NC     90014745424
3786524434B554   TONYA        CAMREN                       OK     90010812443
3786563985B393   YOJAINER     OLANO                        OR     90015296398
3786565517B639   ELAINE       HORNE                        GA     15086606551
3786589672B871   JULIA        MORSE                        ID     90009958967
378661A8855951   CYNTHIA      MONTEZ                       CA     49090411088
37866866372B32   MATTHEW      SAILAS                       CO     90012628663
3786727237B473   CRYSTAL      TADLOCK                      NC     90006892723
378674A5691584   TRINA        SANDOVAL                     TX     90009664056
3786761A191893   SHURON       DAVIS                        OK     90014566101
37867AA9A72B76   KORODAJ      STEPHANIE                    CO     33017780090
378684A9A2B871   ADRIAN       ARREDONDO                    ID     42097754090
3786985394124B   HEATHER      PETRO                        PA     90014718539
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37869863A5B393   ZAKKARY         FIELDS                    OR     90013698630
3786B82715598B   AGUSTIN         ABECERRA                  CA     90013668271
3786BA18672B76   MICHAEL         MAES                      CO     33041580186
37871A11A2B835   RAYMUNDO        HERNANDEZ                 ID     90013890110
37872518176B58   CATHERINE       BRADEN                    CA     90014815181
378729A525B393   DAVIS           TURNER                    OR     90013639052
3787331835598B   CLARISSA        RIVERA                    CA     90002623183
3787389A85B156   INGRAM          MURPHY                    AR     90014358908
3787635215B393   ROSA            AVENDANO LOPEZ            OR     90011833521
37876A83755972   ANDY            LIMA                      CA     90011130837
3787741197B449   BECKY           HART                      NC     90001704119
3787889355132B   MARANDA         KINKADE                   OH     90010658935
37878954376B64   JESSICA         PLIEGO                    CA     90010349543
378789A4A7B449   TRULISA         COBB                      NC     11046369040
3787919A941285   MELINA          SETTLES                   PA     90015391909
37879596A5B255   GRORGE          SKAER                     KY     90012335960
3787982942B871   RACHELLE        DIETRICH                  ID     42093518294
3787B85512B87B   GREISY          COTA                      ID     90011168551
3787BA2275B52B   STEVE           MILLER                    NM     90012400227
37881159A91584   ELIZABETH       ESPERZA                   TX     90008441590
3788179237B492   MARINA          MALDONADO                 NC     90014747923
37881A3A22B87B   KATHERINE       STEWART                   ID     90009410302
37882454A41258   SHANICA         VAUGHN                    PA     51046814540
3788379237B492   MARINA          MALDONADO                 NC     90014747923
37884311A2B87B   JOSE            AVILA                     ID     90002833110
37884A64A55951   WILLIAM         HARRIS                    CA     90010130640
3788529525B52B   JOSLYNN         GERBER                    NM     90014542952
3788585167B492   TRIMIA          DAVIS                     NC     90007348516
378868A9455951   JENNIFER        GOMES                     CA     90009278094
3788695A15598B   EUGENIA         DIAZ                      CA     90013039501
3788793292B221   MEHERET         ALEMSEGED                 DC     90013509329
37887A95541285   BETTY           MURPHY                    PA     90010970955
37888219A91831   AMARE           EWNETU                    OK     90009782190
3788889917B639   SHERRY          PACHECO                   GA     15046328991
3788B631561945   MARCO           SALGADO                   CA     90002666315
37891199A41258   MILTON          ELDER                     PA     51082431990
3789212677B277   NICOLE          GENTILE                   NV     40566221267
3789254262B871   DIANA           PERRY                     ID     42044265426
3789265537B639   VERDELL         WHARTON JR.               GA     15099806553
3789324712B835   CAROL           HUMPHERYS                 ID     42012462471
37894A4932B87B   MYREE           BLANKENSHIP               ID     90014000493
3789552944B281   KALILA          GORDON                    NE     27052495294
3789554727B492   TANYA           WATSON                    NC     90010105472
37895758A31472   JENNIE          JOHNSON                   MO     90001787580
3789614425598B   JEANNA          PEREZ                     CA     90009791442
3789675175B345   NORMA           LOPEZ                     OR     90010437517
3789751275B52B   KAMIYA          YOUNG                     NM     90012715127
3789828835598B   SHELLY          AMEY                      CA     90014812883
3789921675598B   JOSEPHINE       HINOJOSA                  CA     90011592167
37899761A55972   ISABELA         RENNE                     CA     90013937610
37899A7872B87B   PURNA           ADHIKARI                  ID     90013620787
3789B757A2B835   KRIISTEN        RYBA                      ID     90013377570
3789B872A5B359   CELESTE         PEACOCK                   OR     44579828720
3789B87AA5B156   MARTHA ANDREA   SAAREDRA                  AR     90006518700
378B1111591B33   GONZALO         CAMACHO                   NC     90014451115
378B117392B87B   MATTHEW         BOMAN                     ID     90013521739
378B1A49741285   LINDA           DUFF                      PA     51093070497
378B3442141285   DENNIS          WIK                       PA     90013384421
378B368664124B   DAKOTA          GOODWIN                   PA     90014716866
378B3728731424   KATHALEEN       SHAW                      MO     90005587287
378B3855455972   MARIA           MARISCAL                  CA     90014818554
378B4366355951   AZUCENA         DIAZ                      CA     49017893663
378B469564124B   WADE            KIRK                      PA     90014716956
378B512AA7B639   BRITNEY         DAISE                     GA     90010471200
378B5335391584   ROMAN           CARRILLO                  TX     75035463353
378B6769855951   HANA            SADEDDEEN                 CA     49083347698
378B6816A5B393   MATHEW          FUJIYOSHI                 OR     44594358160
378B6973191584   BARCLAY         PEOPLES                   TX     90009309731
378B6A6674B281   CYNTHIA         POMMELLS                  NE     27071560667
378B733972B871   HORACIO         FIERROS                   ID     90013663397
378B7376A55972   YESENIA         CORTES                    CA     48004313760
378B737837B384   NELSON          CASTELLON                 VA     90001703783
378B763A831988   ADAM            SPEICHER                  IA     90013966308
378B786827B492   LAYTON          SANDERSON                 NC     90014728682
378B8488A5B393   MICHAEL         RYAN                      OR     90013854880
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378B937252B835   DEVIN        FLETCHER                     ID     90012913725
378B9AAA857B79   SHANELL      WINGO                        PA     90011310008
378BB567831424   TERESSA      HENRY                        MO     90014275678
378BB729A2B87B   ANDRES       VALDEPENA                    ID     90011857290
378BB848255951   ANGELA       LOPEZ                        CA     90011838482
37911521A7B639   SAMANTHA     HOOD                         GA     90013195210
3791156555598B   AMBER        RETANA                       CA     90012955655
3791156A141285   KHALIL       VENNIE                       PA     90013455601
3791163492B835   BRUCE        BOLANDER                     ID     42030476349
3791277659125B   DEBORAH      BOWSER                       GA     14576167765
37912A53755972   BENITA       TAPIA                        CA     48004430537
3791313952B87B   PATRICK      WEST                         ID     42081471395
3791326A25B58B   AMADOR       PRIETO                       NM     35087652602
3791397972B871   CHRISTINE    LAWSON                       ID     90006499797
37913A6A15B393   BARRY        BURDETT                      OR     44595390601
379147A6655972   JAKE         PARNELL                      CA     90013957066
3791486712B871   STEVEN       PFEIFFER                     ID     90011018671
3791671912B835   NATALY       RAMIREZ                      ID     90012007191
3791679555598B   LUIS         TOPETE-LANDIN                CA     90013217955
37918361A2B835   KAYLI        CORBIN                       ID     90010633610
3791924418B19B   JOSEPH       WALLS                        UT     90010592441
3791968772B87B   LUIS         SANDOVAL                     ID     90014036877
3791B92444124B   BETTY        QUINN                        PA     90014719244
3792318A791584   MEDINA       ALICE                        TX     90008631807
3792359182B835   ANNMARIE     BELLEZZI                     ID     90003505918
3792467862B835   KRISTEN      VENABLE                      ID     42075836786
3792477567B639   ERENDIRA     MARTINEZ                     GA     90009707756
37925437A5598B   ENRIQUETTA   MILCHOR                      CA     90013024370
3792578A576B7B   ALBERTO      ZARATE                       CA     90007267805
37925A5345598B   MARIA        CORTEZ                       CA     90014650534
3792624747B639   DAWN         ANDERSON                     GA     15055092474
379262A1691831   TAMARA       WALTERS                      OK     90015212016
3792661222B835   ALEJANDRO    HERNANDEZ                    ID     90001856122
3792664717B449   SARA         FLORES                       NC     11007466471
3792684A255972   JOHNNY       BLAZE                        CA     90013938402
3792698445B393   ROSALINDA    HERNANDEZ                    OR     44588399844
37928723972B76   DEATRA       DUKES                        CO     90004337239
3792913367B492   MARSHELL     WILLIAMS                     NC     90014761336
3792B148755972   CARLOS       SANTACRUZ                    CA     48013891487
3792B357541285   CLINTON      ENSWORTH                     PA     51074513575
3792B45895B52B   KENNETH      MESSLER                      NM     90014594589
3792B4A3891831   DALTON       SIRMON                       OK     90014704038
379317A2151382   JUAN         WILLIAMS                     OH     66060077021
3793247174124B   DAVID        WALZER                       PA     51057834717
3793294485B393   CHRISTINE    WOODRICH                     OR     44513839448
37932A48955972   ALBERT       VILLARREAL                   CA     90013160489
3793321855B52B   ELAINE       HERRERA                      NM     90002982185
37933471A2B87B   GILBERTO     ROMAN                        ID     42069544710
3793365954124B   CHRIS        RUDD                         PA     51014316595
3793385317B639   BRITNEY      FORD                         GA     90013248531
37934543A2B835   SHANE        BOWERMAN                     ID     90010765430
3793534AA2B87B   KENDRA       HOLOMSHEK                    ID     90006443400
3793573665B52B   CHAVIRA      HECTOR                       NM     35019797366
37936311A7B639   WILDER       DIAZ                         GA     90013983110
3793769359155B   RAQUEL       MCGHEE                       TX     90002506935
3793781452B835   DELECIA      DENNIS                       ID     90010158145
3793846627B639   AKEVEYA      SEARCY                       GA     90014514662
3793886712B871   STEVEN       PFEIFFER                     ID     90011018671
3793922855B393   DELBERT      STONE                        OR     90010872285
3793B237155972   ANGELA       BOCANEGRA                    CA     48095332371
3793BA66241258   WILLIAM      SEATON                       PA     90007820662
3794162573B388   GRISELDA     ORTEGA                       CO     90014796257
3794163A955972   GARRETT      SIMON                        CA     90007906309
37941A4932B87B   MYREE        BLANKENSHIP                  ID     90014000493
379425A7A9125B   LONNIE       LOVE                         GA     14512845070
37942A59591893   FERNANDO     RAMIREZ                      OK     90013610595
379432A964B275   VELLITA      BROWN                        NE     27091232096
3794441725B52B   ANTHONY      MCCAUSE                      NM     90010434172
3794452842B835   IAN          RHODES                       ID     90012235284
379449A874B275   JACKI        SPRINGER                     NE     27021429087
3794562762B835   SALVADOR     VENTURA                      ID     90007956276
3794633418B16B   JESSICA      HANRION                      UT     31061163341
3794658615598B   CARLOS       DONNADIEU FARRET             CA     49015305861
3794658784B281   RAMON        GONZALEZ                     NE     90014085878
3794738827B639   DAVINA       JAMES                        GA     15066053882
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37947428A55951   JAMES        ALTAMIRANO                   CA     49065154280
37948A65591861   EVANGELINA   ESPARZA                      OK     90013950655
3794B49955598B   ALICE        MCCRAW                       CA     90004354995
379522A3841258   VICKI        BRANSFEILD                   PA     90003192038
3795285382B87B   NATHAN       HOPPER                       ID     90009398538
3795332642B835   WALERY       GORETOY                      ID     42038393264
3795372132B871   JULIE        MCKINLEY                     ID     42068867213
3795416A17B639   ALEXANDER    MEADE                        GA     90015241601
37954224A41258   TRENT        GERBI                        PA     90001612240
3795482AA51331   CHARLES      GREER                        OH     90013958200
3795625337B639   DAPHNE       GILMORE                      AL     15028132533
3795769332B835   CHAZ         VARGASON                     ID     90014906933
3795835312B87B   DANIEL       ABEDI                        ID     90013743531
3795B397751325   KYLE         SOUDER                       OH     90001543977
3795BA88491893   DAVID        SHINN                        OK     90013610884
3795BAA115B393   JEFFREY      SPEAKE                       OR     90011070011
3796123695B393   DAVID        FAGERBERG                    OR     44575892369
3796153964124B   COURTNEY     DAWKINS                      PA     51079585396
379616A2A31424   DENNY        ROEDEL                       MO     27550366020
3796238AA44B5B   BARBARA      KAUSHAKIS                    OH     90014103800
379629A142B871   JILL         BURCH                        ID     90009839014
3796564395598B   AIOTEST1     DONOTTOUCH                   CA     90015116439
3796687A34B281   LEATRICE     BROWN                        NE     90012278703
379684A2361945   MARTHA       MORALES                      CA     46055104023
3796898355B52B   ALMA         ALVAREZ                      NM     90002029835
3796946555598B   LORENA       PEREZ                        CA     49017974655
3796966A655951   YOLANDA      GUZMAN                       CA     90012966606
3796994237B492   AMANDA       MCCLAIN                      NC     90014769423
3796B7AA291232   PAMELA       KARABATSOS                   GA     90010227002
3797182382B835   JASON        HAGAN                        ID     90012148238
3797219725598B   ISMAEL       PARRAL                       CA     90001041972
3797228984B275   JOE          BARRIER                      IA     90006262898
37973596A7B639   YOULANDA     SHORT                        GA     90013865960
37974157472B76   TANA         HAMILTON                     CO     90013111574
3797482A15598B   GREGORIA     BERMUDEZ                     CA     49081598201
37974935A91584   LIDIA        MORADO                       TX     75072099350
37974A55555972   PATRICIA     DE LA CRUZ                   CA     90011410555
3797676757B492   ADRIAN       REID                         NC     90014787675
37978211776B8B   PATRICIA     GUITIERREZ                   CA     90005072117
3797826622B87B   TYLER        MYRICK                       ID     90008392662
379786A9A5B393   PAMELA       SUE-MAXON                    OR     90012026090
379789AA72B835   JESS         FREEMAN                      ID     90011729007
37979A92841285   SACH         MO                           PA     90013960928
3797B149691584   LUIS         ESCAJEDA                     TX     90014861496
3797B81A17B449   EDGAR        PERSAD                       NC     11050538101
379811A957B639   LAMIKA       LEWIS                        GA     90014231095
379816AA531424   LASHONDA     JONES                        MO     90014286005
37982238A91831   ASHLEY       DULAN                        OK     90015012380
37982A5AA7B492   JOSEPH       JOHNSON                      NC     90013520500
37983446A91584   JUAN         GUERRA                       TX     75088354460
37983A41255972   JULIA        EDMONDS                      CA     48012730412
37983A5AA7B492   JOSEPH       JOHNSON                      NC     90013520500
3798414A85B52B   ENEDINA      HUERTA                       NM     90015101408
3798438495598B   MELISSA      RAZO                         CA     49084983849
3798454599152B   ESTELLA      QUINONES                     TX     75090735459
3798482582B871   TRAVIS       HAMEL                        ID     42085558258
37984A79651321   SONDRA       DYE                          OH     90011130796
3798636325B52B   KAREN        BENALLY                      NM     90014613632
3798686834124B   NEAL         WILLIAMS                     PA     51062428683
3798757A391893   HILBERTO     MIRALES                      OK     90013615703
3798838212B835   SARAH        BARAJAS                      ID     90014713821
3798B68135B393   DANNY        MARTIN                       OR     90013866813
3799131A251347   JOHN         NIANG                        OH     90008203102
37991355A4B576   JUSTIN       MADDEN                       OK     90010723550
3799196634B275   JEFF         CHRISTIAN                    NE     27081819663
3799214A47B639   SALISHA      HOWE                         GA     90005121404
3799313A72B871   CODI         GIBBONS                      ID     90013801307
3799376A44B275   CONNIE       SHIELDS                      NE     27039757604
37993AA6255972   FELICIA      REYNA                        CA     90013940062
379947A977B639   JENILLE      HUNTER                       GA     15015637097
379956AAA2B835   NZABONIMPA   STANISLAS                    ID     90006146000
379958A467B492   BRITTANY     DURHAM                       NC     90014778046
379962A5641258   RADMILA      DAKIC                        PA     51008282056
3799683167B492   MARKEVIOUS   DURHAM                       NC     90014778316
37996A8855598B   SHANNON      DONOVAN                      CA     49094760885
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3799715998B16B   ALLISON         NORRIS                    UT     31055551599
3799721297B639   CLIFFORD        DREW                      GA     90009432129
3799724678B878   MICHELE         MCKEE                     HI     90015452467
3799782185598B   ERVIN JR        EUJEAN                    CA     49045498218
3799799AA2B871   WARD            MIKE                      ID     90012029900
379981A167B639   ANNIE           DUFFY                     GA     90009581016
3799946374B281   MARIE           ROMANO                    NE     27066314637
3799B446A91584   JUAN            GUERRA                    TX     75088354460
379B125134B281   TARRAH          SCHMECKPEPER              NE     90006982513
379B128675598B   LARRY           BULGARA                   CA     90013112867
379B1374A7B639   PABLO           GARCIA                    AL     90014513740
379B1521541246   DIANA           ADAMS                     PA     90011995215
379B167315B393   NICOLE          LUTHER                    OR     90007866731
379B1692972B76   TIM             CHAVEZ                    CO     33065266929
379B188545B52B   DIANNA          KALISCH                   NM     90008208854
379B1AA552B87B   CORY            WEEKS                     ID     90009760055
379B2434A57B79   JAVI            COLORINA                  PA     90014864340
379B2595791885   AMANDA          PARRISH                   OK     90003535957
379B298892B871   TYLER           VINCENT                   ID     90014249889
379B3129791584   ASHLEY          GONZALES                  TX     90014861297
379B359637B471   SONYA           SPRINGS                   NC     11011335963
379B362384B281   TERI            CADY                      NE     90002866238
379B415235598B   OCATVIANO       RODRIGUEZ                 CA     49083631523
379B441414124B   CARRIE          EMERSON BOWMAN            PA     51076304141
379B4537991831   AMANDA          RASH                      OK     90012645379
379B543A37B639   PANDORA         WHITE                     GA     90008274303
379B554418B16B   JESUS           CARUAJAL                  UT     31078865441
379B576857B639   SABRINA         GIBBONS                   GA     90015207685
379B5929191525   NANCY           NELUMS                    TX     90012389291
379B638A891831   KEYONNA         HUNTLEY                   OK     90011343808
379B691844124B   TRAVIS          IRONS                     PA     90014719184
379B716A455985   BEN             GONZALEZ                  CA     90009761604
379B7939972B76   CELSO AGUILAR   LARA                      CO     90003199399
379B827347B449   MARSHANTELUS    CROWDER                   NC     90013392734
379B846732B871   ELVA            GARZA                     ID     90002504673
379B899764B281   IHSAN           ABDULHADI                 NE     90014169976
379B946375B393   TIYONNA         BARNETT                   OR     44561794637
379B984465598B   EDITH           HERNANDEZ                 CA     90014898446
379B9891A7B436   BERNARD         BLACKMON                  NC     90001018910
379BB26265598B   TONY            DE LA TORRE               CA     90011592626
379BB45295B52B   APRIL           ROMERO                    NM     35090154529
379BB94884B275   TRISHAJOY       STADT                     NE     90001619488
37B12258141285   TYLER           EMERICK                   PA     51051422581
37B1255228B16B   SABRINA         CANTU                     UT     90003105522
37B12A72791893   DEAN            HARRISON                  OK     21077540727
37B12A81953B95   BIANCA          WILLIAMS                  CA     90013780819
37B13859291584   ANTHONY         HERNANDEZ                 TX     90014838592
37B1521437B639   ANGEL           GONZALEZ                  GA     90014392143
37B1556A24124B   STORM           COMLY                     PA     90014655602
37B16121991584   JESUS           HERNANDEZ                 TX     75009061219
37B17275891893   CARLA           LUNA                      OK     90004722758
37B1735655598B   JESUS           MORENO                    CA     90008243565
37B17936255972   JOANNA          RUBIO                     CA     90009319362
37B1852247B639   TIARI           PERY                      GA     90013635224
37B19573A6B198   JESUS           HERRERA                   MS     90014595730
37B19787441258   DANIELLE        BRUNO                     PA     90013227874
37B1B44597B471   DERICK          HITE                      NC     11048944459
37B1B486191584   LETICIA         CASTILLO                  TX     75004664861
37B2119434124B   EDDIE           PIELIN                    PA     90013421943
37B2365735B52B   MARIA           WELCH                     NM     35088366573
37B2367375598B   ADAM            ALVAREZ                   CA     90006226737
37B2391957B492   EVET            ALLEN                     NC     90013949195
37B2444294B275   JONATHAN        WHITE                     NE     90005764429
37B24A42891831   TONI            LANGWORTHY                OK     90013810428
37B2542777B492   KIMBERLY        SMITH                     NC     90013424277
37B25541891537   JEREMY          TREMKO                    TX     90012835418
37B2596415598B   CHEYENE         TORRES                    CA     49093309641
37B2651567B449   ANGELA          MCNEILL                   NC     11072205156
37B2732412B255   BARBARA         BOYD                      DC     81083903241
37B27717255972   MIGUEL          DUARTE                    CA     90014577172
37B28331541258   SHANE           SPIEGEL                   PA     90013703315
37B28358991831   SHELBY          SHIVERS                   OK     90005473589
37B2839565B393   JESSICA         DE CROW                   OR     90009323956
37B28959772B76   YVONNE          ARCHULETA                 CO     33075669597
37B289A397B639   FANTHNECIA      HUBBARD                   GA     90013559039
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37B292A6491584   ANABEL          VELAZCO                   TX     90005682064
37B2952A241285   CLAUDE          KING                      PA     51000675202
37B29972791831   MORGAN          PETERSON                  OK     90015069727
37B2B198191831   COURTNEY        CHERMACK                  OK     90012611981
37B3215472B87B   KATHY           GILLOGLY                  ID     42046491547
37B323AA25B52B   ANGELIC         JARAMILLO                 NM     90005793002
37B3254384B275   ANA             COLLSTON                  NE     90014995438
37B3394685B52B   JENNIFER        MONTOYA                   NM     90013909468
37B3426852B835   MARY            SEITZ                     ID     42055222685
37B3427928433B   SELENE          HERRERA                   SC     90012732792
37B3429478B273   TRISHA          ODELL                     VT     90015352947
37B34756991893   ANGELA          GEORGE                    OK     90013547569
37B3477775598B   MARISELA        CASILLAS                  CA     90013747777
37B34937791584   MARIA           ENRIQUEZ                  TX     90014819377
37B3531585B393   JULIA           BOSWORTH                  OR     44513103158
37B36218191584   PERLA           TORRES                    TX     75086162181
37B3663685B52B   ANDREA          DURAN                     NM     35001026368
37B3669654B294   TRUNG           PHAM                      NE     90013556965
37B3671525137B   JURELL          SMITH                     OH     90014227152
37B37195291584   ARMANDO         CORONA                    TX     90011221952
37B37523A41258   CHESTER         THROWER                   PA     51006805230
37B3821A55598B   MANG            YANG                      CA     90014682105
37B38331172B2B   THOMAS C        KAPAUN                    CO     33003643311
37B38771391893   JESSICA         ASH                       OK     90013547713
37B3891534B943   MIRIAM          ACEVEDO                   TX     76507079153
37B3974A77B639   ALBERTO         VAZQUEZ                   GA     90015167407
37B3B295861981   ISMAEL          AGUIAR                    CA     46084272958
37B3B64452B87B   KARISA          HUSSINYAR                 ID     90012586445
37B3BA36331424   ANGELA          KELLY                     MO     90013160363
37B41169841455   GLORIA          MORENO                    WI     90013191698
37B4139729379B   RHIANN          GESTRICH                  OH     90006923972
37B41568891584   GARCIA          SUSANA                    NM     90000135688
37B4359867B471   JUAN            MOSQUERA                  NC     11053075986
37B443A397B639   PAMELA          WILLIAMS                  GA     15073793039
37B44624855951   ROBERTO         CORRALEJO                 CA     90011346248
37B44761A4B275   SABRINA         FLOWERS                   NE     90014777610
37B4479A491893   KEITH           TAYLOR                    OK     90014247904
37B4569A157537   LUISA           PINEDO                    NM     90005116901
37B458AA92B87B   CASSANDRA       TIDMARSH                  ID     90015108009
37B46276941285   SHAWN           TOWNSEND                  PA     90015142769
37B465A395B546   JESSICA         RISINGER                  NM     35006585039
37B47436155972   SHAUN           STEPHENSON                CA     90010494361
37B47999531424   MARKKEL         HENDRIX                   MO     27563149995
37B4989782B871   MALLORIE        WRIGHT                    ID     42018028978
37B49A3A65B156   SHANNON         HALL                      AR     90004970306
37B4B334472B44   BEVERLY         CISNEROS                  CO     33051683344
37B51598641285   RODEA ENRIQUS   ELEAZOR                   PA     90009125986
37B5172392B835   PAULA           HSER                      ID     90008597239
37B517A6A7B639   RAJAEE          DUNCAN                    GA     90014977060
37B519A5491893   LEE             WALLACE                   OK     90014669054
37B5214782B871   EDDIE           BOSWELL                   ID     90014711478
37B523A467B639   GREGORY         DAVIS                     GA     90011953046
37B5288A44B544   ANISSA          REYES                     OK     90009388804
37B5296255598B   WANDA           MILLS                     CA     90001949625
37B53796941258   SEAN            BECCKWITH                 PA     90014407969
37B5425392B29B   TANJIER         BELTON                    DC     90011812539
37B552A7A41258   BRANDON         OGG                       PA     90013292070
37B55A87291544   ANA             ARRUNADA                  TX     90001140872
37B56131591893   DEBRA           MCHENRY                   OK     90008311315
37B56893755951   VERLENDRA       RUFF                      CA     90011808937
37B56A9633B127   EDWIN           DE LEON                   VA     81027820963
37B5729A37B449   MARHSALL        P LITTLE                  NC     11071702903
37B5737417B639   REBECCA         PRICE                     GA     90012993741
37B5762944124B   SEAN            BOYD                      PA     90014656294
37B5768915B52B   KIMBERLY        MULLEN                    NM     90012886891
37B5816388B16B   CHAD            MCCLOY                    UT     31048721638
37B58746A31424   COREY           SPELLMAN                  MO     90004677460
37B58861541285   FLOYD           GARDNER LUCAS             PA     90010948615
37B59868885B54   RACHEL          DUNN                      FL     90014948688
37B5B61717B639   MADGE           REED                      GA     90014526171
37B5B85425B52B   EDWIN           ITUARTE                   NM     90014118542
37B6154332B835   KRISTINE        BANEY                     ID     90010375433
37B62659377367   DARRELL         MILLER                    IL     90015256593
37B62661231424   RONALD          TURNER                    MO     90011566612
37B62668691584   MATILDE         RODRIGUEZ                 TX     75057346686
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37B6276935B52B   MORGAN          PEREA                     NM     35091757693
37B62983191243   LAMAR           OWENS                     GA     90009569831
37B63252541285   SHANNON         LABANS                    PA     51079162525
37B63592141251   SANDRA          GRGURAS                   PA     51011025921
37B63646A5B393   ANNIE           CARNES                    OR     90012196460
37B64298A4B275   TIARA           HARRIS                    NE     90009082980
37B6437797B492   HOLLY           JENKINS                   NC     90013953779
37B64491191831   BRANDY          CHAPLIN                   OK     90011164911
37B64A24641285   SANDRA          SCHMITTLE                 PA     90014990246
37B66452155972   KIMBERLY        MUNN                      CA     90014954521
37B66781641258   CANDI           PARROTTE                  PA     90007207816
37B66914484332   PAMELA          LEGARE                    SC     90011089144
37B67463A41258   LARISSA         LEE                       PA     90004604630
37B67641791232   KIMBERLY        BATTISE                   GA     90013946417
37B67A53891893   JOSEPH          COZAD                     OK     90012850538
37B6836352B87B   MARIAH          HARDING                   ID     90011443635
37B6929A891232   AGUSTIN         MORA                      GA     14591532908
37B6937135598B   JACKIE          RAMIREZ                   CA     90012243713
37B6969367B639   MARLETTE        WILBER                    GA     90008676936
37B6B349655951   CAITLIN         HOOD                      CA     49072333496
37B71397141285   STEPHANIE       LITTLEJOHN                PA     51021423971
37B7199934B275   JOYCE           MORENO                    NE     27088889993
37B72324655972   MARITZA         BARERRA                   CA     90010543246
37B72959591584   JOSE            CORONZA                   TX     90014819595
37B72A5695598B   RODOLFO         DUARTE                    CA     90011540569
37B7318125B393   CAROL           DEMARIS                   OR     44523901812
37B73578991831   KIMBERLY        LUCAS                     OK     90009995789
37B73879A5B352   LILI            SOTO                      OR     90006448790
37B7396A491584   ZULEMA          ESTRADA                   TX     90014819604
37B74578255951   GABBY           MENDOZA                   CA     49079325782
37B7463625B52B   RNAY            VALDEZ                    NM     90014686362
37B75272141258   TARA            LANE                      PA     51091482721
37B754A965598B   LORENA          CUEVAS                    CA     90010474096
37B75767691232   SHAUN           POTTS                     GA     90008427676
37B75825A8B16B   SUELYNN         PEARCE                    UT     31043138250
37B7649642B87B   ALEXANDRIA      DAVIS                     ID     90012844964
37B76556431424   JAMIE           GORDORN                   MO     90012075564
37B7659667B639   ROHANA          HARDNETT                  AL     90013625966
37B76841A91831   ISAIAH ARMAND   THOMPSON                  OK     90010148410
37B7689732B835   PAYGO           IVR ACTIVATION            ID     90013538973
37B77A16A91893   DAQUARI         DAVIS                     OK     90015140160
37B7839794B929   ROBERT          THOMAS                    TX     76572363979
37B78985655951   ALVARO          PALAFOX                   CA     90011809856
37B79299555972   SISSIE          TALLANT                   CA     90013822995
37B7B79984B281   JENNIFER        MICHELL                   NE     90010287998
37B8114452B871   KENNETH         NUNES                     ID     90008291445
37B8128999156B   CARLOS          ARAUJO                    TX     90001002899
37B8138745598B   PAO             LEE                       CA     49089493874
37B81389241258   JAMEE           EUBANKS                   PA     90014713892
37B8161294B281   MIGUEL          ARROYO                    IA     90006746129
37B81838A4124B   GRECIA          GARCIA                    PA     51030728380
37B82A9A741285   YVETE           PRITCHET                  PA     90010650907
37B8319A681557   CRISTIAN        TERLEP                    IL     90007611906
37B83A4272B835   MARTIN          SHIPP                     ID     90013340427
37B8447754B275   KARLA           KROM                      NE     27048564775
37B8466514124B   SHAWN           SALISBURY                 PA     51006346651
37B85446755972   HECTOR          VALDEZ                    CA     90009364467
37B8544A48B16B   MARIA           CONROW                    UT     90003234404
37B8571817B471   CAMEO           KOROMA                    NC     11091987181
37B85888391831   ANA             GARCIA                    OK     90009208883
37B86335191831   GINETTE         OVERALL                   OK     21072593351
37B8637677B639   VANESSA         WOODS                     GA     15038363767
37B863A9985933   GEORGE          CARMACK                   KY     90012933099
37B87276485943   BRENT           FRIEDMAN                  KY     90004722764
37B8744182B87B   JOSEPH          STALFORD                  ID     90000334418
37B8769A64B275   TEANA           LEWIS                     NE     90014996906
37B87765381557   TODD            STEPHANY                  IL     90015377653
37B87A42455972   LORENZO         SANCHEZ                   CA     48070940424
37B87A54961927   MARITZA         RODRIGUEZ                 CA     90008610549
37B87A9134124B   JIM             MCCARTAN                  PA     51057550913
37B883A2691893   ROCIO           MATOS                     OK     21041563026
37B883A4572B76   NORMA           IRENE                     CO     90003433045
37B8898114B281   JEREMY          HENEMAN                   NE     90009509811
37B88A73641285   JONAS           GILLESPIE                 PA     90005000736
37B8B54357B639   RAYMEK          FERGUSON                  GA     90014505435
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37B8B968791537   CATRINA      MARCELLUS                    TX     90000409687
37B91344155972   DORENE       MCAFEE                       CA     90000103441
37B9166AA4B275   LATRICIA     SANCHEZ                      NE     90004606600
37B91772191584   IGNACIO      GIRARD                       TX     90009947721
37B9185475598B   ANITA        CARRILLO                     CA     90012598547
37B9291842B87B   KERRIE       MOORHEAD                     ID     90005769184
37B92A17955951   JONATHAN     CERVANTES                    CA     90011810179
37B931A5355972   JAVIR        GONZALEZ                     CA     90005781053
37B938A612B87B   PATRICIA     VALDEZ                       ID     42024868061
37B9492725598B   MARIA        MORALES                      CA     49005389272
37B9576572B871   RICHELLE     WILLIAMS                     ID     90009587657
37B95975391831   MATTHEW      ENNIS                        OK     90014769753
37B96192591893   VIRIDIANA    IBARRA                       OK     90013551925
37B96279131424   KRIS         DENNIS                       MO     90014212791
37B97199991893   ANTHONY      YEARGAIN                     OK     90013551999
37B9785A855951   ANDREA       BALCAZAR                     CA     49062868508
37B97A6865B393   WILFRED      BOLOWAISEI                   OR     90013000686
37B97AA524B281   TUAN         NGUYEN                       NE     90010320052
37B98128351382   TEONNA       BRADFORD                     OH     66059341283
37B98171A91584   JESSIE       HUERTA                       TX     90011211710
37B9862595B393   EMILY        PLATES                       OR     90006266259
37B9887A691584   THRASHER     HEATHER                      TX     90009688706
37B99214A72B76   LUPE         GONZALES                     CO     90005652140
37B99426A55972   GREGORY      SPARANO                      CA     90007384260
37B999A835598B   DEREK        VINCENT                      CA     90011359083
37B9B75A591831   ASHLEY       JEFFCOAT                     OK     90015067505
37BB157162B29B   SASHAY       COLLINS                      DC     90015025716
37BB193965598B   MICHAEL      ECHEVESTE                    CA     49012679396
37BB194467B492   LUIS         VASQUEZ                      NC     90015029446
37BB1A92191831   RACHEL       RANDALL                      OK     90015280921
37BB2942491831   VANCE        TONY                         OK     90000229424
37BB295218433B   ANDREA       GARVIN                       SC     90000269521
37BB338115B52B   MICAELA      WASHINGTON                   NM     35062953811
37BB485594B281   MARIA        GONZALEZ                     NE     90006078559
37BB5545A91831   KEISHA       ROLAND-NAWA                  OK     90014835450
37BB636A691584   ADRIANA      AGUILAR                      TX     90014203606
37BB687164B281   LAURA        MONEN                        NE     90010208716
37BB736A691584   ADRIANA      AGUILAR                      TX     90014203606
37BB7A21755972   YVONNE       PADILLA                      CA     90015480217
37BB836A691584   ADRIANA      AGUILAR                      TX     90014203606
37BB8824255972   MINERVA      LOPEZ                        CA     90006188242
37BB9369591831   SHAKERA      SIMMONS                      OK     90002453695
37BB9972841258   BARBARA      SMEYRES                      PA     90014779728
37BB9A1145B393   KATHERINE    SCHMIDT                      OR     90007630114
37BBB5A9431424   BRENDA       FEELER                       MO     90004225094
3811115A933B91   JENNIFER     AYERS                        OH     90014801509
38111A93541285   RUSSELL      STRUB                        PA     90013440935
3811419A67B639   TALITHA      SUMRALL                      AL     90012841906
38114233A41285   SADIE        HATCHIN                      PA     90010792330
3811476A155972   WESLEY       WILKINS                      CA     90011067601
3811626842B871   NATE         MALLOY                       ID     90007962684
3811628885B52B   THEODORE     MARTINEZ                     NM     90013362888
3811697637B449   MILLICENT    JACKSON                      NC     11084759763
3811723744124B   DAMICA       REID                         PA     90014612374
38118182533B91   JENNIFER L   AYERS                        OH     90014801825
3811841A591356   ROLANDO      RESENDIZ                     KS     90003484105
3811847794124B   ANGELO       PANICHELLA                   PA     90011854779
38119A18487B41   SHATAN       HOLEY                        AR     90015130184
3811BAA6336143   YOLANDA      DAVILA                       TX     73555900063
38122677A5B344   RAMON        MOTHERSON                    OR     90009166770
3812269675B393   YAZMIN       RAMOS                        OR     90013526967
3812272148B16B   SHAE         RACKER                       UT     90001317214
3812295667B471   TERESA       HARRIS                       NC     90005169566
3812328415B156   SHARLAN      ELLIS                        AR     23087182841
3812333515598B   BRENDA       LOPEZ                        CA     90015133351
3812392A955972   JOEL         REYES                        CA     48034499209
3812393187B471   ANDREA       EMANUAL                      NC     90009489318
3812474A77B471   LATAMELA     POTTS                        NC     90005097407
3812499345598B   ANGEL        JONES                        CA     90011979934
38124A7257B639   DEWAMMACA    FRAZIER                      GA     90007330725
3812522437B449   WILLIAM      JOHNSON                      NC     90005882243
3812544335B393   HEIDI        PIERCY                       OR     90008914433
38125A67A2B87B   LETICIA      JIMENEZ                      ID     90015190670
3812626382B835   SANDRA       MOALAEUA                     ID     90007812638
3812677375B52B   ABRAN        BARELA                       NM     90012237737
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3812789588B16B   MYNOR         ROBINSON                    UT     90011758958
38128859A55972   JOSIE         MORA                        CA     48008398590
3812971A17B639   LIPONZAL      HUNLAY                      GA     15058047101
3812B27587B639   ELSHARANI     ELHAG                       GA     90014692758
3812B3A227B639   ELSHARANI     ELHAG                       GA     15004733022
3812B59A291356   JOY           GREENHALGH                  KS     29001525902
3812B6AA45598B   BETTY         LOUIS                       CA     90009596004
3812BA4517B495   VANEGAS       GILLIAM                     NC     90007500451
3813138852162B   ANDRE         STOWER                      OH     90011123885
3813282582B87B   MARLIN        SMITH-SHOECRAFT             ID     90004278258
3813346A833681   CHUQUITA      LEGRANDE                    NC     90011694608
3813382372B87B   ROMANA        SOTO                        ID     90013358237
38133A4394124B   JULIE         REYNOLDS                    PA     90012660439
3813468135B52B   MARIA         ANDREW                      NM     35026166813
3813517415598B   ERICA         CASTRO                      CA     90014451741
38136295348B23   SARADA        JAMES                       AZ     90013932953
3813636685B52B   LILIA         MUNOZ                       NM     90014743668
3813647237B639   NICOLE        TATUM                       GA     15090264723
38136992276B7B   MARTA         COLIN                       CA     90004389922
3813751A64B281   ERIC          TYLER                       NE     90014385106
3813948127B471   KENNETH       AMOAKO                      NC     11004014812
3813954642B871   CECILIA       HERNANDEZ                   ID     90012605464
3813985A94B281   MARLYN        MARTINEZ                    NE     90003998509
3813B14872B87B   DEBBIE        DAVIS                       ID     42056971487
38142A1A731639   CANDACE       JOCKERS                     KS     22083890107
3814334695598B   STEPHANIE     SANCHEZ                     CA     49065203469
3814395835B344   CHRISTOPHER   ELLIOT                      OR     90008269583
3814442A15598B   LARRY         AVELLAR                     CA     49088064201
3814453395B156   JESSICA       TAYLOR                      AR     90002935339
3814458A22B871   KRICKET       EICHELBERGER                ID     90013975802
3814511188B16B   LARSON        DAVID                       UT     31062151118
3814568872B871   SHAYNE        WEST                        ID     90012756887
3814779782B871   JOSE          CAMARILLO                   ID     90007717978
3814841645B393   ROBINA        SHAHEEN                     OR     44533024164
3814B27A32B87B   FLORE         BALUNGUILA                  ID     90006212703
3814B85275B393   SHAWN         GUERRERO                    OR     90014168527
3815146574124B   LEE           MICHAEL                     PA     90011464657
3815177785B24B   ROBERT        SEADLER                     KY     90012987778
38152A3695598B   MAI           YER                         CA     90013030369
3815317534B281   MICHELLE      BRYEN                       NE     27084721753
381532A237B449   ERIC          STEVENSON                   NC     11078232023
3815374715B156   ASHLEY        WESTON                      AR     23035707471
3815382697B639   JAMES         WILLIAMS                    GA     90014918269
38153AA284124B   GLOVER        ANDRE                       PA     90003790028
38156429A55939   JOSE          TAMAYO                      CA     90005174290
3815666265B344   DARLA         ROBERTS                     OR     44583176626
3815712A34B281   JENNIFER      FOGELBERG                   NE     90014031203
3815889432B87B   BU            DAH                         ID     90012688943
381593A7191371   PERLA         SANCHEZ                     KS     29043213071
381595A864B532   STACY         TRICE                       OK     90011505086
3815964652B87B   JESSICA       SMITH                       ID     90000476465
381596AA141251   ALVIN         MULDROW                     PA     90010556001
3815B196355972   VICTOR        SANCHEZ                     CA     90013961963
3815B634891356   VICTORIA      THOMAS                      KS     90006036348
3816236322B835   STEPHANY      ELLIOTT                     ID     90001213632
3816247575B52B   PETE          MONTOYA                     NM     35041024757
3816279567B639   ALEXIS        BASS                        GA     90008107956
3816421515598B   JAMIE         SAM                         CA     49017412151
38164A1362B87B   SCOTT         BLACKBURN                   ID     90014900136
3816567A62B871   ELIZABETH     PERRY                       ID     90008526706
3816576315B52B   B             TREVIS                      NM     35077667631
3816678185598B   JOSE          APOLINAR                    CA     90012877818
38167A21991952   CURTIS        MANGUM                      NC     90002550219
38167A4695598B   JUDY          MELIKIAN                    CA     49090400469
38167A4A14B542   CAMERON       PRINCE                      OK     90015120401
3816875568B151   DANIEL T      DECOU                       UT     90008877556
381687AA67B639   VANIA         MOORE                       GA     90003437006
3816892387B471   WENDY         BOLES                       NC     11013499238
3816B712841258   FRANCES       KOHNFELDER                  PA     90009257128
381713A235B393   DENENA        REAMY                       OR     44501703023
38172764A5B393   JOSE          JUAN-JOSE                   OR     90013487640
381741A733B395   INGRID        GONZALES                    CO     33064911073
381753A1A36143   GUNNER        SUMMERVILLE                 TX     90011213010
3817551714124B   TINA          KREIL                       PA     51096495171
3817622254124B   TIMOTHY       BUTLER                      PA     90001472225
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3817652A88B16B   JUAN          DIAZ                        UT     31095295208
3817667892B886   JEREMY        ADAMS                       ID     42014456789
38176A85391831   MARIA         PORTILLO0                   OK     21061190853
381775A152B871   SHAY          MARCOTTE                    ID     42095795015
3817782A15598B   GREGORIA      BERMUDEZ                    CA     49081598201
3817858A431424   PAMELA        BERRY                       MO     27571585804
3817861A936143   JUAN          MALDONADO                   TX     90003776109
3817864528B16B   HOWARD        TYLENDA                     UT     90011766452
3817993365B52B   NATALIE       NIETO-CHATTERTON            NM     35055589336
3817B879491371   ANABELLA      CAMPOS                      KS     90008648794
3818155A891933   JERRY         HOCKADAY                    NC     90006035508
381825A6641258   MARION        PARKER                      PA     90010485066
3818273872B871   DONNA         WILCKEN                     ID     90014887387
381842A5A72424   CHRISTOPHER   MATAVA                      PA     90009442050
381842A9941285   RAJA          BARBOUR JR                  PA     51089382099
381846A2A41258   SONDREA       BANKS                       PA     90014886020
3818555477B639   APRIL         GLOVER                      GA     90009975547
3818597384B281   JENEANNE      PETTIS                      NE     90011289738
38186693A36143   LORETTA       NAVARRO                     TX     73589786930
38187A94391371   DAVID         HUERTA                      KS     29052690943
3818838935B52B   J             T                           NM     35060813893
3818876255B393   WANDA         DYKE                        OR     90003207625
3818928585B344   SEAN          GAINES                      OR     90002832858
3818961564B281   MICHEAL       SPANGLER                    IA     90003056156
3818975568B151   DANIEL T      DECOU                       UT     90008877556
381899A8841285   TINA          PRIOLEAU                    PA     90007679088
3818B111191371   ALFREDO       HERNANDEZ                   KS     29082171111
3818B147731424   KISHA         COLE                        MO     90013441477
3818B27872B87B   JAKE          VANMETER                    ID     90012292787
3818B6A315B557   ARTHURR       ROMERO                      NM     90007056031
3818B94A331699   CONNIE        STONE                       KS     90007219403
3819318AA55972   ANDREW        KELLERHALS                  CA     90003131800
3819326555B52B   CLYDE         RATLIFF                     NM     90013612655
3819418A97B471   MARIO         PUJOL                       NC     11065861809
3819421114B281   BRANDON       FLANNING                    NE     90007812111
3819439825B393   SUSANNE       BENSON                      OR     44513913982
3819561715B344   MARCELLINO    CEDILLO                     OR     90000246171
3819592215B156   KEVIN         GLASON                      AR     90003289221
3819696455158B   AMANUEL       GOGNE                       IA     90013579645
3819817A25B393   SEAN          BATSON                      OR     44516071702
3819834127B449   ENRIQUE       MARTINEZ                    SC     11061563412
3819853662B871   BETTY         RAINE                       ID     42079445366
3819951318B16B   DANIEL        DIAZ                        UT     90007255131
3819B6A575B52B   EDWIN         PEREZ                       NM     90013376057
3819B872A2B835   FRANCISCO     MADERO                      ID     90015598720
3819B9AA136143   DESIREE       MARTINEZ                    TX     90014159001
381B133515598B   BRENDA        LOPEZ                       CA     90015133351
381B1532251369   DERRIANA      JAMES                       OH     90003955322
381B1826391232   JASMINE       REDDICK                     GA     90009958263
381B184538B273   RUTILO        PEREZ ROMAN                 VT     90015418453
381B1A41A2B87B   SHUKRIA       AKRAM                       ID     90012720410
381B253712B87B   BRANDON       HERNANDEZ                   ID     90007895371
381B2719741258   WILLIAM       VETTER JR                   PA     51088227197
381B2729136143   BRANDI        CARRERA                     TX     90014707291
381B2A12422463   JUANA         ALVARANEZ                   IL     90014530124
381B3233131424   ANTHONY       GARAVIGLIA                  MO     90010422331
381B369927B471   VALERIE       SALAZAR                     NC     90007506992
381B3873755972   SYLVIA        RIOS                        CA     90008978737
381B3982536143   JESUS         ZAVALA                      TX     90014099825
381B4274341258   ANTHONY       CLIFFORD                    PA     90005182743
381B4553A5B393   HOLLY         COURTRIGHT                  OR     90009015530
381B52AA64124B   DENA          STEELE                      PA     51070082006
381B5323155972   ANGELINA      CORDERO                     CA     90014023231
381B563745B393   ALICE         PRESTON                     OR     90003376374
381B5874731439   CHANTEL       ANDERSON                    MO     90004038747
381B631122B87B   BRADLEY       POTTS                       ID     90014663112
381B636AA72424   GEORGE        CHAMBERS                    PA     51057823600
381B648AA7B449   MARTIN        RAMOS LIBORO                NC     90001804800
381B6576651369   TAMMY         GRIFFITTS                   OH     90001955766
381B668745598B   MARIA         HERNANDEZ                   CA     49008196874
381B7729861971   STACY         GORDON                      CA     46016897298
381B7A6952B87B   KATE          VIANO                       ID     42089370695
381B8433531424   RICHARD       CODY                        MO     27577524335
381B8927655972   CARMEN        LEON                        CA     90014119276
381B8A82251369   JAMES         SPAULDING                   OH     66082410822
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381B941228B16B   GLENDA           TRAYAH                   UT     90011754122
381B9442191232   JENIKA           JOYNER                   GA     90014684421
381B975568B151   DANIEL T         DECOU                    UT     90008877556
381BB3A995598B   MARIA            FLORES                   CA     49002463099
38212218A2B871   KATHERINE        BROWNING                 ID     90010172180
3821225218B16B   LANCE            ROGERS                   UT     31062022521
382125A194B281   CLAIRE           HANCOX                   NE     27090075019
3821261218B151   ISRAEL           CUEVA                    UT     31042226121
3821323695B393   BIANCA           MEDINA                   OR     90012382369
3821367537B639   JOANN            BODY                     GA     90004516753
3821375655B52B   YARIBETH         CHAVEZ                   NM     90010367565
3821417A15B52B   MIA              DIMAS                    NM     90013281701
38214961A77528   CELIA            JACINTO                  NV     90005099610
3821515464B281   DESHANN          JOHNSON                  NE     90012851546
3821578192B871   NATHAN           BOARD                    ID     90012177819
382169A7591831   SAUL             GOMEZ JUAREZ             OK     90012239075
3821736A35B52B   DANIEL           WILLIAMS                 NM     90014373603
3821792195B557   JOSE             SOT MEZA                 NM     90009989219
38219491A5B393   WESLEE           REINHARDT                OR     90014814910
3821B25545B393   WENDY            MARTIN                   OR     90013512554
3821B424836143   GERALD           FRANKLIN                 TX     90014614248
3821B773931424   JAMES            DECLUE                   MO     90007867739
3821BA9795598B   TOMAS            ROMERO                   CA     90008270979
38221864A91525   ANGIE            FLORES                   TX     90004358640
3822192A34124B   DANIELLE         CAIN                     PA     90010339203
38221A5755B393   STACY            BRISACK                  OR     90013220575
38222569A36143   VANESSA          GARCIA                   TX     90009615690
3822276862B835   JESUS            JIMENEZ-HERRERA          ID     90010777686
3822364937B639   JESSICA          WILLIAMS                 GA     90015146493
3822564937B639   JESSICA          WILLIAMS                 GA     90015146493
3822569555B93B   EUGENIA          RIVERA                   WA     90015346955
3822732772B87B   JENNIFER         HAMMOND                  ID     90013863277
38229664A91831   TIMOTHY          STANLEY                  OK     90011216640
3822978A291543   VERONICA         CORTEZ                   TX     90013327802
3822979958B16B   GEORGE           WINSOR II                UT     90002907995
3822B35912B835   JUAN             CERVANTES                ID     42055643591
3822B3A8184326   CASSIE           WILSON                   SC     90007863081
3822B46617B639   DOSHELL          JOHNSON                  GA     90014574661
3822B89A75598B   ELIZABETH        VEGA                     CA     90015328907
3823125A933665   SHERIMI          RAYNOR                   NC     90003452509
3823144497B449   CORAL            FICKHESEN                NC     11016804449
3823158585598B   JESUS            ANGUIANO                 CA     90005895858
3823211A441258   ANNAMARIE        LORENZ                   PA     51039421104
3823248757B639   BRITTANY         JOHNSON                  GA     90014574875
3823573452B871   GRANTANDASHLEY   WILSON                   ID     90014437345
3823596A65B52B   TODD             LESLIE                   NM     35078069606
382359A187B449   BRENDA           SEVERT                   NC     11010209018
38236A6442B87B   MARY             WINTER                   ID     42090480644
382371A1A36B77   TENNILLE         JOHNSON                  OR     90011091010
382382A2336143   JOSE             PEREZ                    TX     73504842023
3823925935B393   BARBARA          SANTOS                   OR     90001832593
3823B1A3641258   JAMIE            CRAFT                    PA     51007861036
3823B56232B87B   NELLY            RODRIGUEZ                ID     90012365623
3823B931A2B559   BRITTANY         BROWN                    AL     90014709310
382413A7331451   MORGAN           VANDESSA                 MO     90008303073
3824148914B281   JAMES            BACON JR.                NE     27087464891
3824168554124B   IAN              PAREDES                  PA     90010326855
382433A2636143   RUBEN            TREVINO                  TX     90009943026
3824394428B16B   JOSIE            ROSS                     UT     90001249442
38243A47176B45   ANA              HERRERA                  CA     90008160471
3824414775B393   ANN              BAILEY                   OR     90014181477
3824498114B281   TONYA            GOODWIN                  NE     90003909811
38244A65636143   HOUSTON          PENA                     TX     90013100656
3824544685B52B   ALEX             TORREZ ACOSTA            NM     90004674468
3824595A18B16B   BORTOLUZI        MARIANO                  UT     90001249501
38246A79536143   GEORGE           PRENTICE                 TX     90013100795
3824761795B344   FILIGONIO        RODRIGUEZ SANCHEZ        OR     90011726179
3824766752B835   MAURICE          QUINN                    ID     90000706675
38248A1385B393   SHERZAD          KHOSHNAW                 OR     90015190138
3824958446194B   BRANDON          CRUZ                     CA     90010625844
38249A65636143   HOUSTON          PENA                     TX     90013100656
3824B6AA231424   FRED             BONNETT                  MO     90011526002
3824BAAA84124B   LESLIE           COLLIER                  PA     51062410008
3825122835B393   MICHELLE         JOHN                     OR     90012752283
3825183392B835   KATHLEEN         MCWATERS                 ID     90007188339
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38251A85555972   SARA         ANDERSON                     CA     48019960855
3825238A951341   VIRNESHIA    LACKEY                       OH     90009643809
38253AA2755972   GARCIA       PHILLIP                      CA     48094210027
382541A6741285   KEENWAIN     BRAGG                        PA     90012851067
3825465752B871   NEVIN        LABRONTE                     ID     42051546575
3825592A991232   TAMARA       MINCEY                       GA     90003999209
38256447472B23   MARCIAL      MUNOZ                        CO     90013034474
38256758A84368   ADRIAN       GOMEZ                        SC     14570597580
382569AAA5B296   ARIANNE      PEAK                         KY     90010719000
3825731158B273   CATHY        RICHARDS                     VT     90014623115
38257591497B37   JONATHAN     HIESTAND                     CO     90002585914
38257A8518B16B   MICHAEL      SEEGMILLER                   UT     31053910851
3825844727B639   DEBRA        RUSSELL                      GA     15048474472
3825922168B16B   KAYLIE       GUTHRIE                      UT     90011002216
3825B524541285   ALEXA        NICHOLAS                     PA     90002545245
3825B94174B281   CHUDIER      GUIN                         NE     90012979417
3826158797B639   BRIANNE      JONES                        GA     90014575879
3826237995598B   ROSHELLE     MALDONADO                    CA     90013593799
382623A7691831   SHEPHANIE    KUSMIERSKI                   OK     90001113076
3826318935B393   REBECCA      CAMPBELL                     OR     90003501893
3826321756192B   JAVIER       MENDOZA                      CA     90009822175
382633A152B871   MIGUEL       LOPEZ                        ID     90013293015
3826494755B393   ARELI        ABREU                        OR     90015019475
38264A9135B52B   MONICA       MARTINEZ                     NM     35065900913
3826589334B24B   CASSEY       TRUJILLO                     NE     90012998933
3826649127B639   BLYTHE       KLINE                        GA     90015134912
3826651275B393   JUSTIN       STRODE                       OR     90011195127
3826973387B449   SHEENA       ANTHONY                      NC     11022857338
3826B444851382   MARION       SIZEMORE                     OH     66006414448
3826B742931424   TIMOTHY      WIDEMAN                      MO     90013837429
38272448397B31   GUADALUPE    GUZMAN                       CO     90013284483
3827392745B52B   STEPHANIE    CRUZ                         NM     35098829274
3827414352B871   RICK         STEFFENS                     ID     42097301435
3827455972B835   BARBARA      ALSIP                        ID     42044075597
38274A31951369   ROCIO        FLORES                       OH     90001120319
3827521AA2B87B   CLARK        ROBERT                       ID     90012802100
3827528AA7B471   HATTIE       BROOKS                       NC     11040932800
38275A6A82B871   WENDY        GRIEVE                       ID     90002070608
3827777945B52B   L            PEREZ                        NM     35007017794
3827792AA61925   DAVID        MEDRANO                      CA     90003929200
382791A8A36143   ELIZABETH    MIRELES                      TX     90014061080
3827998347B639   PATRICK      REYNOLDS                     GA     90013289834
3827B21115598B   BETTY        BRANTLEY                     CA     49052212111
3827B691784381   LEROY        GODFREY                      SC     90012436917
3827BA21A2B87B   DEBRA        PURKEY                       ID     90003990210
3828115517B471   SHAYLITA     LEACH                        NC     90006481551
38281A52A8167B   TRACY        SAUNDERS                     MO     90001010520
3828238568B162   GLADE        CHIDESTER                    UT     90013683856
3828243242B87B   JOANNA       GARCIA                       ID     90005304324
38282454A55972   SCOTT        WHITE                        CA     90005774540
3828252685B344   KRYSTINA     DAWN                         OR     90008805268
38286A46825621   MONIQUE      CLEMMONS                     AL     90014570468
3828786A191831   CRYSTAL      FARLEY                       OK     21038428601
3828843785B344   NATHAN       SANTOYO                      OR     44583514378
3828934554124B   TAMIA        WEST                         PA     90010963455
3828962138B16B   CRYSTAL      VANPELT                      UT     31028386213
3828964255598B   SHENG        VUE                          CA     90012446425
38289A85391831   MARIA        PORTILLO0                    OK     21061190853
3828B374531424   JESSICA      WELCH                        MO     90010103745
3828B668A2B87B   GLEN         WAGONER                      ID     42082926680
3828B74282B87B   SONIA        PATRICK                      ID     90015207428
3828B7A6351382   AMBER        BRYANT                       OH     90005947063
3828B97445598B   RENEE        GRIFFITH                     CA     49064439744
3828BA1525B52B   NICK         ABEYTA                       NM     90001550152
3829183A15B393   ELSA         GUARNEROS                    OR     44528268301
3829186294B281   IVETH        GARCIA                       IA     90011458629
3829231A25B52B   RUTH         CARDENAS                     NM     90014513102
3829288167B639   DEBBIE       HATCHER                      GA     15079288816
3829462167B639   ROSHANDA     DORSEY                       GA     90014576216
3829624934B281   SYLVESTER    DZELAMBONG                   NE     90004182493
3829672792B87B   SANDRA       ACKERMAN                     ID     90007637279
38297542A5598B   CHRISTINA    MCARN                        CA     90011355420
3829856254124B   MARGARET     BLUMLING                     PA     51065955625
3829899A536143   EDGAR        DUENEZ                       TX     90014889905
38299227A41258   JOHN         BOWERS                       PA     51047512270
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3829948997B639   ROSLYNN      MCKOY                        GA     90010284899
3829952615B344   CHRISTINA    KING                         OR     44572365261
3829998565B393   ROBERT       KONDOS                       OR     90014169856
3829B13145B393   PENNY        WILSON                       OR     90010711314
382B146936B242   LISA         CARROLL                      AZ     90012564693
382B1712841258   FRANCES      KOHNFELDER                   PA     90009257128
382B179395598B   MIGUEL       ALVAREZ                      CA     90012127939
382B26A3133638   JAYCEE       CLAPP                        NC     90000246031
382B2AA625B393   VANESSA      NOVELO                       OR     44583840062
382B2AA757B449   ROY          LOWERY                       NC     11042750075
382B3A32A55972   ALONSO       PEREZ                        CA     90014130320
382B424335B52B   ALEC         VIGIL                        NM     90013922433
382B475A491356   ALEJANDRO    CASILLAS                     KS     90008387504
382B6249891356   PHILLIP      HYATTE                       KS     90014712498
382B635944124B   JOHN         HILL                         PA     90000713594
382B6815191356   PHILLIP      HYATTE                       KS     90013748151
382B7366572424   BECKY        MATHERS                      PA     51004183665
382B736A97B639   BRENDA       JACKSON                      GA     90014573609
382B7466941285   REBECCA      DAVIS                        PA     90013454669
382B753795B52B   DALE         BERTOLA                      NM     90007135379
382B771562B87B   STACY        BIRD                         ID     42048267156
382B7A87993757   NATHANIEL    SLOAN                        OH     64507120879
382B838232B835   TALITHA      NEHER                        ID     42007503823
382B846295B393   LEAH         KIGHTLINGER                  OR     90008514629
382B914682B87B   GLEN         HUTCHINSON                   ID     90012231468
382B955A14124B   BRIAN        JUSTICE                      PA     90010365501
382B9A67241258   SHAUN        SMITH                        PA     51092310672
382BB336533625   HEATHER      DENSON                       NC     90010753365
382BB49234B281   ALASIA       CLARK                        NE     90014164923
382BB533133625   HEATHER      DENSON                       NC     90013935331
38312131A31424   ALANNA       HARDWICK                     MO     90014681310
38313358872B32   FRANSICO     PARRAL                       CO     90001663588
3831337542B871   CHRISTOPHE   PERRIN                       ID     42018333754
38313A32A7B639   RHONDA       ARMSTRONG                    GA     15043890320
3831427377B449   DAVID        LOVE JR                      NC     90012402737
3831516788B16B   BRETT        NELSON                       UT     90007061678
3831582215598B   KHON         KHANN                        CA     90014838221
3831639A47B471   VANESSA      MARTIN                       NC     11043163904
3831667692B871   KIMBERLY     FREEMAN                      ID     90003396769
3831667975598B   ANTHONY      SANCHEZ                      CA     90002316797
38316A3518B147   BRIAN        BROOKS                       UT     90010410351
383176A9555972   MARINA       ZALVN                        CA     90009406095
3831825675B52B   SHARON       LUKASAVAGE                   NM     90012232567
3831867324124B   REBECCA      BAKER                        PA     51026796732
383186A8A8B16B   MARK         AHLSTROM                     UT     90010986080
3831894265B393   JOSEFA       DAMIAN                       OR     90011569426
38318A44451369   OLUFEMI      BEWAJI                       OH     90010370444
3831979A55598B   RYAN         VELARDE                      CA     90012907905
3831B24965598B   JOSE         ARREOLA                      CA     49051562496
38321A2672B87B   MICHELLE     ELLINGER                     ID     90013620267
3832258274B281   MARLON       JUAREZ                       NE     27010925827
3832266815B52B   JEANNETH     TORRES-GUITIERREZ            NM     90013386681
38323294A3B348   JONH RAY     MURPHY                       CO     33052672940
3832372837B449   JEFF         SMITH                        NC     11051467283
3832434554124B   TAMIA        WEST                         PA     90010963455
3832435682B87B   MATTHEW      SHAW                         ID     90012083568
38324368A31424   FAITH        OLIVER                       MO     90010103680
38324A61191831   DANA         BARNETT                      OK     21000620611
3832594382B835   MARIA        MARISCAL                     ID     42070259438
38325A81931424   KESHA        HOFF                         MO     90008970819
3832656975598B   ELVA         CHAIDEZ                      CA     49074255697
3832694A291356   ELISA        OVIEDO                       MO     90002689402
3832878854124B   KRISTIN      KENNEDY                      PA     51082167885
3832B23692B87B   JAKE         TALLY                        ID     90014712369
3832B36755598B   KENNETH      BRABBIN                      CA     90012703675
3832B542691371   RONALD       BOGUS                        KS     29069375426
3832BA4867B639   JAMIE        FRAZIER                      GA     90006860486
3833112A851369   TANYA        LEE                          OH     66010091208
3833143152B835   ELIJAH       MEYER                        ID     90013514315
3833145714124B   JEFFREY      TARR                         PA     51022314571
383315A192B871   AMANDA       ENNIST                       ID     42076695019
38332872A4B281   KERINA       ARCHER                       NE     90005248720
383337A694124B   JAMES        FRIERSON                     PA     51086137069
3833431552B835   SERGIO       REZA                         ID     42077593155
38334494A5B393   CONTRINA     MILLER                       OR     90008604940
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3833521335B52B   LEAH         MARTINEZ                     NM     35051382133
3833564152B871   TRAVIS       LOBB                         ID     90013536415
38335948A55972   MATIAS       GONZALEZ                     CA     90012119480
38335A82831424   LANIYA       FRENCHIE                     MO     27559040828
3833718674B281   SANTANA      RODRIGUEZ                    NE     90004211867
38337624A55972   KAO          SAETEURN                     CA     48063006240
38337A4A57B639   NANCY        MARSHALL                     GA     90012880405
3833883495B52B   JOHN         HAISLER                      NM     90015098349
3833915487B396   ELENA        WILSON                       VA     81004051548
3833933495B393   EDWARD       STROM                        OR     90012103349
3833935295B156   HELEN        BRADLEY                      AR     90009013529
3833939742B835   KATHRYN      SHELTON                      ID     42066723974
3833975577B639   TONYA        WILLIAMS                     AL     15005177557
3834143792B87B   PAULA        SALAS                        ID     90006674379
3834321857B639   KRISTINA     COPRIDGE                     GA     90001322185
3834483274B281   YESENIA      VALDEZ                       NE     90014958327
383449A532B835   KATIE        MARTINDALE                   ID     42063699053
38345231A5B344   ABBIGAYLE    JONES                        OR     90004032310
383455A9991831   DEANGELA     PAYTON                       OK     90002305099
3834614595B52B   TYSON        PATTERSON                    NM     35032171459
3834643A891232   TIM          WINEMILLER                   GA     90014164308
38346467A5B344   DAGOBERTO    VELASCO                      OR     44583734670
3834789865598B   JOHNSON      LIONEL                       CA     49080768986
38347A6A48B16B   RIKKIE       COLEY                        UT     90014760604
38348312187B41   SHARNISE     WHITIKER                     AR     90010013121
3834844212B871   THOMAS       VERNON                       ID     90014824421
3834891682B835   NATHAN       PELTON                       ID     90011409168
3834915274124B   LISA         HARSHEY                      PA     51024381527
3834923945598B   KATHLEEN     ORTIZ                        CA     49010782394
3834971A75B393   CINDY        LONG                         OR     44513647107
3834B115291356   RAMONE       SMITH                        KS     29017371152
3835112247B471   ALICIA       CAULEY                       NC     11066181224
3835141A87B639   SHACOYA      COAR                         GA     90013014108
3835265434B281   CHE          STUBBLEFIELD                 NE     27064426543
38352A9987B639   DEXTER       RENDER                       GA     90002710998
38352AA6641258   JACKIE       BENNETT                      PA     51007460066
38352AA8724B41   LAKIESHA     BROWN                        DC     81001600087
383532A118B143   MICHELLE     OREM                         UT     90008472011
3835343844B281   JOYCE        KEARNS                       NE     27053574384
3835597324124B   WILLIAM      ABRAMOVITZ                   PA     90003679732
3835597552B835   COREY        CHAMBLISS                    ID     42067289755
38356232A6192B   WILLIAM      PINCKNEY                     CA     90011842320
3835653223142B   KENNETH      BROWN                        MO     90012285322
38357461A7B449   APRIL        MCCLELLAN                    NC     90000974610
383584A414B281   TRAVIS       CLAYTON                      NE     90000784041
3835944817B449   MARYCRUZ     RODRIGUEZ                    NC     11011744481
3835997312B87B   SPENCER      BROWN                        ID     90011949731
38359A7392B835   CHELSEY      LAY                          ID     90013150739
3836149A991538   ISABEL       LOPEZ                        TX     90011764909
383614A3A7B471   VINCENT      ABLE                         NC     11069444030
38361585A91356   MICHAEL      VEGA                         KS     90009175850
3836284A82B871   GLORIA       FERNANDEZ                    ID     42045058408
3836292384B281   JAMES        MURRY                        NE     90014239238
38364355A55972   BOBBY        PRESTON                      CA     90007733550
3836489612B93B   CHERI        HARPER                       CA     90012568961
38366A2192B835   WILLY        TSHIANYI                     ID     90008430219
38366A7144124B   DONALD       JONES                        PA     90003590714
3836838A74B542   MESHA        NICOLE                       OK     90011113807
3836898135598B   VICTORIO     EAM                          CA     90013169813
3836925645B52B   JESUS        LOYA                         NM     90011502564
3836931612B835   RODNEY       WHITE                        ID     42019203161
3836B23587B639   RONALD       TUBBS                        GA     15056502358
3836B24995598B   NACY         LUNA                         CA     90011922499
3836B67782B871   ANNA         LEAL                         ID     90013446778
3836B823273269   JAMES        ZELLER                       NJ     90014208232
383715A7124B41   SAMUEL       NDI                          DC     90001125071
3837185525B344   AMANDA       FALSETTO                     OR     44509098552
38372A29231424   LATERRACE    HARVEY                       MO     90011870292
38372A4277B639   ANDRE        JACKSON                      GA     90015100427
38372A8882B871   VIRGINIA     HERNANDEZ                    ID     42052700888
3837332448B124   NATHAN       OAKLEY                       UT     31057953244
383739A452B835   MUSSA        SHIHIM                       ID     90013629045
3837534542B835   SUSIE        LEEPER                       ID     90003263454
3837583147B639   DAMIONIYAN   FRANKLIN                     GA     90014128314
38375AA615B393   GERTRUDES    MYERS                        OR     90014170061
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3837687A855972   ROSIE R      PANDO                        CA     90005238708
38377AA795B393   JAMES        FISHER                       OR     90014170079
3837878722B87B   GARRET       DAVIS                        ID     90012827872
3837887192B87B   ERNIQUE      GALLEGOS-ZAPATA              ID     90014548719
3837895374B281   ADRIAN       FUENTES SANCHEZ              NE     27017769537
383792A697B639   BRYAN        GILLIAN                      AL     90014992069
383793A9541285   SAMANTHA     J PATTEN                     PA     90011093095
3837981384124B   LISA         ROBINSON                     PA     51048548138
3837B927941285   SHELLY       SNYDER                       PA     90010019279
3837BA2195598B   VERICK       PHEANG                       CA     90011860219
3838124337B639   OTIS         MCCLENDON                    GA     90010882433
3838145424B281   FILEMON      MARQUEZ                      IA     27069174542
3838179827B639   PARIS        HACKETT                      GA     90015057982
3838225295598B   REY          GAMINO                       CA     90011922529
3838255AA5B344   MARVIN       KREPS                        OR     90010025500
3838276944B281   SHERRY       ANDERSON                     NE     27091957694
383828A5691831   MURRIEL      CARTWRIGHT                   OK     90009938056
38382A1A591371   MINIQUE      LEE                          KS     90001000105
38382A22331424   BRANDY       KRAEMER                      MO     90013830223
383832A9833625   TYLANCE      CANTY                        NC     90003572098
3838332517B639   WILLIE       LINSDEY                      AL     90009573251
383842A5A91356   ELIZABETH    PIEDRAHITA                   KS     29009232050
3838432A191831   BRITTANY     MORA                         OK     90014503201
383844A8555972   JORGE        CRESPO                       CA     90010604085
383847A9344B5B   DENISE       FULLER                       OH     90014177093
38384A2395B344   DONNA        GREER                        OR     44568810239
3838511165B344   ANGELICA     PIZANO                       OR     44529191116
3838644765B393   HANNAH       ROE                          OR     90012194476
38386A5147B639   LISA         CAMPBELL                     GA     90014970514
38388886787B41   MARY         BREWER                       AR     90014448867
38388A1795B393   IGNACIO      ESPINOSA                     OR     90014170179
38388A5972B835   TRICIA       ELLIS                        ID     42066600597
383899A6A91371   MONTY        MORRIS                       KS     90011869060
3838B5A9641285   JESSICA      YANNOTTI                     PA     51000885096
3839211122B87B   BEN          PURSLEY                      ID     42002151112
38392128A8B16B   YOLANDA      MARTINEZ                     UT     90001851280
3839312614B281   JULIO        RODRIGUEZ                    NE     90011291261
38393234A5B393   ALILY        LISUA                        OR     90008252340
3839432917B449   JAMIE        HOFFMAN                      NC     11015943291
3839444A257135   WILLIAM      GOMEZ                        VA     90008304402
38395436A72424   KRISTINA     CALDWELL                     PA     51015264360
3839616418B16B   CRYSTAL      ARENDTSEN                    UT     31058651641
3839684882B87B   LEVI         HALL                         ID     90002098488
38396A3135B52B   AMANDA       STILLWELL                    NM     90001960313
38397AA3676B7B   EUGENIO      SANDOVAL                     CA     90013750036
383981A1A2B835   JAMIE        BRIDWELL                     ID     90011651010
3839887192B87B   ERNIQUE      GALLEGOS-ZAPATA              ID     90014548719
3839949434124B   RUTHA        CUTLER                       PA     90011464943
38399A6A62B871   JASON        HASSEL                       ID     42096870606
3839B57A772B36   JACQUELINE   URBAN                        CO     90006045707
3839B937731424   TABITHA      DAVIS                        MO     90005239377
383B122272B871   JANICE       HOTCHKISS                    ID     90001832227
383B2629A5B52B   SUSANA       NUNEZ                        NM     90010696290
383B265675B393   YUDEL        LABARCA                      OR     90007076567
383B2765741258   TRACY        YELLIG                       PA     51060247657
383B2A5A95B393   PAULA        KEYTH                        OR     90012340509
383B3317897B33   LUIS         SALAZAR                      CO     33009643178
383B3A9A741258   BERNARD      MILKO                        PA     51051740907
383B4355A55972   BOBBY        PRESTON                      CA     90007733550
383B5172791371   STARDATA     SOLUTIONS LLC                KS     29081551727
383B532945B52B   ELIZABETH    PEREZ                        NM     35055793294
383B6121A5B393   ERIK         MCCANNA                      OR     44597181210
383B613575598B   JOHN         RUBY                         CA     90011541357
383B7261A5B52B   MARASANDRA   GUERRERO                     NM     35049822610
383B751327B639   CANDICE      RENEE                        GA     90011525132
383B863588B16B   THOMAS       MUIRHEAD                     UT     90009686358
383B8745A55972   TESIA        MEDINA                       CA     90010057450
383B9468A2B87B   TYAN         HARDEY                       ID     90013194680
383B9612755936   ELENA        JAIMES                       CA     90010826127
383B9A88271955   MARCO        ALANIZ                       CO     38065820882
383BB18725B264   NICK         JACOBS                       KY     68005561872
383BB265955972   ALFONSO      VELAZQUEZ                    CA     90014722659
383BB289231424   GUAN         HEAD                         MO     90013962892
383BB49845132B   DONNISE      ELLINGTON                    OH     66072914984
383BB537155972   ALFONSO      VELAZQUEZ                    CA     90014175371
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383BB645141285   ELMER        LOPEZ                        PA     90015236451
3841231285598B   GABRIELA     DELGADO                      CA     49021073128
3841246454124B   MAURICE      JONES                        PA     51086204645
3841275A755972   JUAN         RAMOS                        CA     90011187507
3841372677B471   EMILIA       ROBLES                       NC     11078227267
38414567A55972   CYNTHIA      MUNOZ                        CA     48083275670
3841464155598B   CHAD         ELLIS                        CA     90013296415
3841545162B87B   GENASEE      TWITCHELL                    ID     90013904516
384168A732B871   CHRIS        BECKHAM                      ID     90011158073
384169AA455972   TRACY        HINTON                       CA     90006999004
3841742122B871   GUADALUPE    TERRAZAS                     ID     90010024212
384185A212B835   NORMAN       MARTIN                       ID     42049165021
3841936462B835   MISHAEL      GREEN                        ID     90006353646
3841B153641285   SCOTT        BERESFORD                    PA     51055361536
3841B753655921   ANDREA       ZEPEDA                       CA     90013107536
3841B95857B639   MONIQUE      GOSHA                        GA     90014579585
3842253715B393   CRYSTAL      MOORE                        OR     90014395371
38422A84A72B25   GENET        LEONA                        CO     90015010840
3842314294124B   LISA         BAKALARCZYK                  PA     90014541429
384244A8372469   JOANNE       HOSKINS                      PA     90004974083
384252AAA2B871   BAILEY       REYNODS                      ID     42080082000
3842539A24124B   MICHELE      CALABRESE                    PA     51025963902
38426A9192B87B   GABRIELA     MARIN-CORTEZ                 ID     90010600919
3842762564B281   KIMBERLY     BROWN                        NE     90009516256
3842844277B471   CHA          VANG                         NC     90010704427
3842885474124B   ASHLEY       PASINSKI                     PA     90009398547
3842893687B397   JOSE         AYALA                        VA     90008119368
384292A832B242   LUIS         GARCIA                       VA     90013452083
3842941735B344   BASANT       CHHETRI                      OR     90003054173
384294AA841285   DANA         STANTON                      PA     51023344008
3842981674124B   WALTER       GARNER                       PA     90010868167
3842B195591232   PAYGO        IVR ACTIVATION               GA     90009271955
3842B67897B639   SAVITRIA     GREEN                        GA     15044656789
3842B87152B835   ELISA        LARSON                       ID     42018928715
3843282874B281   KATIE        KROM                         NE     27075398287
38433477A36143   ELIZABETH    RAMOS                        TX     90010314770
3843349484B281   OSIRIS       ZUNIGA                       NE     27069974948
3843392257B639   IYECISHA     HARWIG                       GA     90009669225
3843492915598B   MARGARITA    VASQUEZ                      CA     90014459291
3843567782B835   ANNA         LEAL                         ID     90013446778
3843683597B362   MAGDI        MOUSA                        VA     81056758359
3843692684B281   MICHAEL      RAUMAKER                     NE     90009409268
38438167124B39   MARIO        ROBLES                       VA     90001491671
3843879115B393   MARIA        GODINEZ                      OR     90011557911
3843916967B639   QUANTAZA     GAY                          GA     90012271696
3843938525598B   BOUNTHAVY    CHANTHAVONG                  CA     90013383852
3843946234B281   FRANCISCA    LOPEZ GOMEZ                  NE     90014034623
38439735A4B281   JOSE LUIS    SOLORIO LEDESMA              IA     90013097350
3843B245191831   ANABELI      MARTINEZ                     OK     90009812451
3843B9A1855972   MYRONEE      DIAZ                         CA     90013689018
38441422A7B639   LATASHA      THOMAS                       GA     15051154220
3844279A191831   CHEYENNE     HILL                         OK     90015477901
3844316A272B88   AYMEE        CARSON                       CO     90005301602
3844358A85B52B   GABRIELLE    TORRES                       NM     90013495808
384435A4936143   FELIX        HERNANDEZ                    TX     90013665049
384436A4A2B835   CARMEN       ADAMS                        ID     42059246040
3844553878B16B   KAREN        CHACON                       UT     90013375387
38445962A55972   AMELIA       LUNA                         CA     48029939620
38445A6215B393   VICTORIA     BROWN                        OR     90000710621
384462A4A4B281   DEBRA        PERKINS                      NE     27047482040
3844666394B261   SHERI        BAUCKE                       NE     26046766639
3844775277B449   CHRIS        MAHONE                       NC     90012077527
38447A64341258   JOHN         ALTMEYER                     PA     90012390643
38448286A2B871   JONATHAN     TELLO                        ID     90000212860
38448A66655931   BEN          LOPEZ LUCERO                 CA     90010790666
3844911712B87B   SAEDEE       COWDREY                      ID     90004601171
3844946825B393   CHARLIE      HAMEL                        OR     44539764682
3844B519155972   VERONICA     FINO                         CA     90002345191
3845144675B393   PHILIP       COMER                        OR     90010234467
3845144835593B   ALBERT       KIMBLE                       CA     90013254483
3845166537B639   LATOYA       CLARK                        GA     90009936653
3845178A47B449   ASHLEY       WALLACE                      NC     90010477804
3845191992B871   BRUCE        PENDLETON                    ID     42077989199
3845257885B393   BECKY        CAMPANA                      OR     90012655788
3845266485598B   ANGIE        GARCIA                       CA     49087516648
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384528A575B52B   MARCELIA      LEE                         NM     90009608057
3845374744124B   JOSEPH        LIEBLING                    PA     90013557474
3845415755B393   RAYMOND       ZASTE                       OR     90015241575
3845431A331424   JACKIE        THOMAS                      MO     90008733103
384543A7631424   FULTON        JAMES II                    MO     90015203076
3845446394124B   SHERICE       MORANT                      PA     90010414639
38454543897B57   PATRICIA      BENNETT                     CO     90012795438
3845496A751335   SHAWNA        WARDLOW                     OH     90014909607
3845532A857367   RUSSELL       LOGAN                       MO     90015223208
3845556AA91B39   ESTABAN       JUAREZ                      NC     90014785600
384557A6A41285   TARA          MASULLO                     PA     51087627060
3845621942B87B   SILVANO       CERPAS                      ID     90014542194
3845665325B344   KALLA         NICHOLAS                    OR     90005486532
3845684598B16B   CHRIS         SIMMONS                     UT     90006448459
3845693352B87B   DALE          HOUST                       ID     90006579335
38457618A4B281   GWENDOLYN     KRUTZ                       NE     90002526180
384576A1A2B871   DENNIS        ALLOWAY                     ID     42019366010
38457A67291831   STEPHANIE     COLEMAN                     OK     21045150672
38458A31936143   CYNTHIA       SANCHEZ                     TX     90006680319
3845B25295598B   REY           GAMINO                      CA     90011922529
3845B81554B281   PRISCILIANO   MORALES                     NE     90011948155
38461862A91831   JOSEPH        EDWARDS                     OK     90012348620
38461896672B37   ERNESTO       VALENZUELA                  CO     33018588966
3846197855B52B   LUCIA         ROSENDO                     NM     35052919785
3846238628B16B   SHANDI        JARVIS                      UT     31051293862
3846434145B52B   ALEJANDRA     ALDERETE                    NM     90010663414
3846454735598B   BRYAN         MERRELL                     CA     90014375473
3846471798B273   DAVID         MURPHY                      VT     90014537179
38464A2327B639   SHARRMAINE    CURTIS                      GA     90015210232
38464AA1191371   LAURA         TERRAZAS                    KS     29059310011
3846523587B639   JACQUELINE    WILLIAMS                    GA     90012692358
384661A987B639   SHAUN         LINDER                      GA     15003501098
3846669317B422   BECKY         BLANKENSHIP                 NC     90010276931
38466A4A491396   TEQUISHA      MARTINEZ                    KS     29015470404
3846753225598B   RAUL          HERNANDEZ                   CA     90012075322
3846847515B52B   MHELLANI      MANZANARES                  NM     90007454751
38468A24A2B835   JANEL         STEWART                     ID     42060870240
3847117175598B   JUAN          REYES                       CA     90010741717
3847283145137B   NETHERLY      CONSTRUCTION                OH     66098988314
3847284A755972   PETE          HERNANDEZ                   CA     90008028407
3847677587B659   ANTONIO       FOSTER                      GA     90008007758
384773A9741285   JOI           TEASLEY                     PA     90014923097
3847847515B52B   MHELLANI      MANZANARES                  NM     90007454751
3847878647B639   JUANA         MARTIN                      GA     90013567864
3847974557B471   STEPHANIE     WARDLAW                     NC     11067737455
3847B559691356   REYNA         VAZQUEZ                     KS     90007135596
3847B689891885   DIANE         DAVIS                       OK     90008946898
3847B726A4B281   JANET         WULFF                       IA     90014177260
38481574A5B344   SILVIA        OLIVARES                    OR     44569285740
3848194715598B   PHONG         XIONG                       CA     90007149471
3848225952B87B   BRENNA        STRYKER                     ID     90012082595
3848249217B639   VIKERRIA      WILLAMS                     GA     90015134921
3848344AA5B52B   RUBY          GARCIA                      NM     90010234400
384835A892B871   GLORIA        VASQUEZ-LINCOLN             ID     42006955089
3848453565B52B   DARLENE       CHAVEZ                      NM     35009215356
384847A834124B   DAVID         DUTKA                       PA     90011217083
3848493614B281   CHERELLE      QUARLES                     NE     27073169361
3848495967B449   AKEVIA        MCCULLOUGH                  NC     11030889596
3848581785B344   GLORIA        GARCIA                      OR     44550258178
3848686385598B   FRANKIE       PEDROZA                     CA     90010178638
3848728624B281   BRIAN         FARNSWORTH                  NE     90011292862
3848794A55B52B   ESTHELA       GARCIA                      NM     90002629405
38487A46493761   YISHERA       ERWIN                       OH     90005830464
384889A442B87B   JAY           WESTFALL                    ID     90004719044
3848924122B871   TAMMY         BRADDOCK                    ID     90012372412
3848927864B281   NIKKI         HOLLOWAY                    NE     90014242786
3848941845B52B   LAURA ELENA   CERVANTES FELIX             NM     90005454184
3848968782B835   CHADWELL      BREANA                      ID     90012346878
3848B143A55972   ANDREA        CLEAVER                     CA     48017101430
3848B264151382   FRED          WALKER                      OH     90005972641
3848B66485598B   ANGIE         GARCIA                      CA     49087516648
3849125762B871   SCOTT         KAWAHARA                    ID     42020612576
38491654A7B639   PENNY         DANIELS                     GA     90011166540
38491A23A4124B   ABIGAIL J     PORTER                      PA     90011410230
3849284A38B16B   LORI          CARTER                      UT     90011818403
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38493118A36143   ESTER         CORTEZ                      TX     90013941180
3849351478B16B   TRACY         SHERI LYNN                  UT     90004175147
3849367415B393   HEIDI         EATON                       OR     90012616741
38493862A31424   SHERRICE      BEALS                       MO     90007658620
3849394A82B835   EDNA          NEWTON                      ID     90012299408
38493A77191893   SANDRA        CRAWFORD                    OK     21018110771
38494852A5B393   JASON         WISNER                      OR     44549778520
3849584A38B16B   LORI          CARTER                      UT     90011818403
38495A7685132B   MASSIACH      HOWARD                      OH     90012740768
38497285672B35   CHRISTOPHER   PATTERSON                   CO     90013022856
3849771A831431   CORY          SCHAFER                     MO     90001677108
384982A1436143   CARMELITA     MARTINEZ                    TX     90013942014
3849861392B87B   JUSTIN        LOCKWOOD                    ID     90012886139
38499A5592B871   KIM           CULLIN                      ID     42075940559
3849B94542B871   GUALALUPE     GARCIA-ANGELES              ID     42070919454
384B3844A91945   ANTWONIKA     MOORE                       NC     90012288440
384B389257B639   JESSICA       PERKINS                     GA     15072158925
384B6655472B33   SHANEAH       DULIN                       CO     90006886554
384B673955B52B   ANTONETTE     MARTINEZ                    NM     90011487395
384B6825941285   JAMES         PHILLIPS                    PA     90014488259
384B7839241258   JADA          ROBERTS                     PA     51080198392
384B835724124B   JOSEPH        HUNGERMAN                   PA     90014663572
384B83A8636143   FANTASIA      BALLI                       TX     90013833086
384B8717131586   GREGORY       KUHN                        NY     90013507171
384B874348B16B   TASSIA        SCOTT                       UT     90011807434
384B88A412B87B   TYSON         HOELZLE                     ID     90010498041
384B8968291232   DAIMER        GABRIEL                     GA     14515839682
384B989457B639   TANECIA       JACKSON                     GA     90005938945
384B9A6865B393   WILFRED       BOLOWAISEI                  OR     90013000686
384BB17777B471   LILLIE        RANN                        NC     11090711777
384BB69277B449   VALENTINE     BONNER                      NC     90000836927
384BB91327B639   BARBARA       JOHNSON                     GA     90000759132
384BB93AA41285   TROY          GRAY                        PA     51084749300
384BB98955598B   ANTHONY       REQUEJO                     CA     90007869895
384BBA2965B393   SUNNIE        PETERSON                    OR     90014170296
3851116A85B52B   JAMIE         NANEZ                       NM     90012081608
3851185287B639   CYNTHIA       JOHNSON                     GA     90008158528
3851221575B52B   FABIOLA       SANCHEZ                     NM     90010952157
38512671A41285   JASON         YORK                        PA     90010136710
38512AA213B365   EDWIN         ADAMS                       CO     90001470021
3851311499152B   MORAYMA       SOLIS                       TX     90013951149
3851336242B87B   SUZETTE       LEDWARD                     ID     42085303624
38513A4548B16B   SLOAN         BATON                       UT     90007930454
38514846272B44   JAMIE         BERNAL                      CO     90006678462
3851536A73B18B   ROBERT        HARRISON                    DC     90014883607
38515A28A5B52B   ALIVIA        BUSTINZA                    NM     90012210280
38515A5558B16B   NIKI          BOYD                        UT     90007320555
38516499576B64   BRISET        CASTRO                      CA     90011514995
3851655235B344   CORAL         ASHLOCK                     OR     44539785523
3851674915598B   XUE           MOUA                        CA     49091827491
38516865772B23   SHONETTA      COOPER                      CO     90014848657
3851689214B281   SHANIECE      BARNES                      NE     90008018921
38516A95185966   LORI          CAMPBELL                    KY     90012290951
38518A77757135   JUAN          DE LAS CUEVAS               VA     81009120777
38519446A57139   STEPFANY      GOMEZ                       VA     90006674460
3851B124A5598B   ADRIAN        HERNANDEZ                   CA     90011971240
38521AA2A7B639   MIRANDA       COX                         GA     90006090020
3852252882B871   SEAN          CHAPMAN                     ID     90000675288
385227A9A55972   JEANNETTE     GUEVARA                     CA     90012427090
3852294A936143   MARIEL        LICERIO                     TX     90011129409
385231A587B639   TONYA         MCNEIL                      GA     90011651058
3852338A95B52B   VALENCIA      CECILIA                     NM     35081703809
385235A3836143   JOSE          LOPEZ                       TX     73515975038
3852435194B281   JAMIE         MATTAN                      NE     90005273519
38524627A2B835   FERNANDO      ALVAREZ                     ID     90002526270
3852671915598B   CARMEN        CASTELLANO                  CA     90013177191
385267AA82B835   ADRIENNE      AYALA                       ID     42065387008
38527146A5B253   GREGORY       HENDERSON                   KY     90002971460
3852721814124B   ESSIE         MCDANIEL                    PA     51065242181
3852766847B471   MARIA         GONZALEZ-LOPEZ              NC     11068246684
385282A3531439   ALFONSO       LOWARY                      MO     90011452035
3852B518257B79   CADE          ELSWORTH                    PA     90014005182
3853269812B871   RYIN          CROFUTT                     ID     90003686981
38532A5377B639   CHRIS         LAWRENCE                    GA     90013740537
3853331477B639   LARRY         COOPER                      AL     90014203147
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3853338A651369   REGINALD       BELL JR.                   OH     90001573806
385339AAA41258   JOSE           ORIA-ROMUALDO              PA     90010949000
38533A2A172424   LISA           SHERWOOD                   PA     51094050201
38534498A41258   MAGGIE         PHILLIPS                   PA     90014874980
38535872A7B639   JALEN          TOLBERT                    GA     90012618720
3853678787B657   LUIS ALBERTO   PEREZ                      GA     90005127878
3853752144B281   DENNIS         DIEMER                     NE     27029455214
38537A99636143   HENRY          MARTINEZ                   TX     90013950996
3853854652B835   HONEY          HUNTER                     ID     90010985465
385386A7A51382   MIRACLE        CURTIS                     OH     90003946070
3853961757B436   SANDRA         ORTEGA                     NC     90001336175
3853962782B87B   VIOLETA        GAONA                      ID     90005766278
3853992854124B   ROSE ANN       TIERNO                     PA     51004069285
38539AA5891371   KELLEY         JACKSON                    KS     29095360058
3854115212B835   ADAN           MARTINEZ                   ID     90014741521
385413A1A2B871   JOYCE          VASQUEZ                    ID     90009443010
3854251144B281   JAMIE          SCOTT                      NE     90013065114
3854266242B871   JASON          UHLENHOPP                  ID     42043836624
3854299AA5B393   ERIC R         LYNGHEIM                   OR     90002419900
3854311888B16B   OSCAR          BUGARIN                    UT     31002681188
3854411277B471   LAKEISHA       OFAIR                      NC     90000761127
3854444A95416B   MISTY          DUBORD                     OR     90009364409
38544A92155949   JESUS          AMEZOLA                    CA     90006160921
3854571292B835   KRISTIN        RAINEY                     ID     90014847129
3854619735B52B   ANA            BORGES                     NM     35097881973
3854744395B393   LISA           HUBNER                     OR     90014664439
3854746515598B   BRADY          PATTERSON                  CA     90012014651
3854754484124B   GEORGE         EABORN                     PA     90012295448
3854778A141285   ROBERT         WELLER III                 PA     90013907801
385482A222B87B   ELISHIA        RICKY                      ID     42093692022
3854B49254124B   AUTUMN         HUDSON                     PA     51008074925
3854B594841285   SHERI          YARRIS                     PA     90014725948
3854BA1277B384   BRISEIDA       GARCIA                     VA     90003050127
3854BAA482B835   TATYANA        BONDAR                     ID     90010280048
3855139612B871   RICARDO        BENAVIDES                  ID     90012083961
3855155855598B   BRENDA         GUERRERO                   CA     90014845585
3855228715B156   CARMELLA       MARTIN                     AR     23004562871
3855311188B16B   LARSON         DAVID                      UT     31062151118
3855324325B52B   JIMENEZ        NOELIA                     NM     90006232432
3855354564B281   JOSE           SANCHEZ                    NE     27053965456
3855558328B16B   RYAN           DUNHAM                     UT     31049525832
38555777A5598B   LUZ            LARIOS                     CA     49096177770
38556A44336143   RAUL           GARCIA                     TX     90011010443
385578A2872495   ED             VODOPIVEC                  PA     90001288028
3855967485598B   DAVID          GARFIAS                    CA     90013486748
3855B29A951382   JONATHAN       HAMBLIN                    OH     66013922909
3855B57424B281   SALVINO        NAMBO-FULGENCIO            NE     90012005742
3855BA14831424   SHANNON        SHELBY                     MO     27566650148
3855BA2894B541   REGINA         MACK                       OK     90009570289
3856111455598B   MARIA          MARTINEZ                   CA     49082811145
385613A1141285   CHRIS          SMITH                      PA     51071793011
3856223884B281   DEANDREIA      BOGGESS                    NE     90011472388
3856253992B871   CINDY          OJEDA                      ID     90015125399
3856263A251382   CARMEN         BAKER                      OH     90008716302
3856287732B87B   SHAUNA         EMARA                      ID     90011798773
3856343879155B   MARTA          ACOSTA                     TX     90001214387
3856395815B393   SAMANTHA       REVIERE                    OR     44534609581
38564152A2B93B   JOEY           CAPUTI                     CA     90012071520
3856446639152B   JAMES          VALDEZ                     TX     75091614663
385649A7451347   CHRISTINE      SIMS                       OH     90013129074
3856538617B471   NANCY          SUTTON                     NC     11013113861
3856561772B871   JESSICA        YOW                        ID     90015206177
3856799945B344   KRIS           VON KRENNER                OR     44560869994
38568A72151369   RANDY          BALDRICK                   OH     90004450721
3856933118B16B   PLEDGER        WILLIAM                    UT     90004193311
38569A33A57599   REYES          CRISTEL                    NM     90007880330
3856B379691525   BRISSA         ZUBIATE                    NM     75086543796
3856B63255B52B   MARITZA        HERNADEZ PEREA             NM     35056096325
3857177565B52B   LAURA          CHAVEZ                     NM     35035317756
38572366A5B156   TERRY          JACKSON                    AR     23029053660
3857258264B281   GRACIELA       RIVAS                      NE     90013355826
38573481A7B449   APRIL          MONROE                     NC     90011124810
3857387652B87B   DAVID          DEMEMBER                   ID     90014548765
3857426392B835   NEIL           WASSMUTH                   ID     42009192639
3857449215598B   ANTONIO        SILVA                      CA     90001624921
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3857458892B87B   STEVEN       MORGAN                       ID     90002725889
3857538437B449   GARFIELD     DYER                         NC     11096583843
3857576963B348   FRANK        RODRIGUEZ                    CO     33031557696
3857582227B471   JON          WALLACE                      NC     90002838222
3857639414B52B   REMONA       HOPKINS                      OK     90008033941
3857712857B449   ROXANA       PONCE                        NC     11021641285
3857764415B331   WAYNE        RIVARD                       OR     44562986441
3857778633B326   BRIAN        LEIDEL                       CO     90011557863
3857796A872B38   JACKLYN      DEALL                        CO     90013149608
3857897254B261   BRIAN        BOTSFORD                     NE     90012179725
3857B175891994   NICHOLAS     SYDOW                        NC     90000881758
3857B84175B393   LOZANO       ZEPEDA                       OR     90003808417
385814A8336143   DEBBIE       HERRERA                      TX     90014014083
3858155658B16B   JEFFREY      SPEER                        UT     90012185565
3858213674B281   SHERRY       MCCLARTY                     NE     90014211367
3858273914124B   HAROLD       NEAL                         PA     90013347391
38582A82891356   BRANDI       MORRIS                       KS     29061120828
3858378A341285   PAIGE        SMITH                        PA     90014897803
3858383442B26B   MATHEW       MASSOTH                      DC     90008628344
3858421885B344   DAVID        HANEY                        OR     44517922188
3858462753B326   ANNA         HANSTROM                     CO     33051346275
3858463175B52B   LUIS         BOJORQUEZ                    NM     90012566317
3858486665B393   STEVEN       MCCALMONT                    OR     90014388666
38587832A57599   ALEXANDRA    MENDIVIL                     NM     90004158320
3858788882B871   SAVANNAH     ANDERSON                     ID     90013858888
38589525A5B52B   FRANCISCA    FONSECA-DEBATRES             NM     35030885250
3858996272B87B   SANDY        GARZA                        ID     42066449627
3858B27A691537   BARBARA      PORTILLO                     TX     90012702706
3858B72795B393   ENRIGUE      MARTINEZ                     OR     90012007279
385911A5A41258   VICKIE       WHANGER                      PA     90012391050
3859126435B52B   DAYANNA      ROBLEDO-ALVAREZ              NM     90014352643
3859136888B329   CHRIS        MCTIER                       SC     90015413688
3859247175B52B   LIZA         CHAVEZ                       NM     90007454717
3859261A15B393   ANDREA       LUZAK                        OR     90008786101
3859384182B835   MICHAEL      SNOW                         ID     90014758418
3859574315598B   AIOTEST1     DONOTTOUCH                   CA     90015117431
385958A5651382   DIEGO        SEYOURANO                    OH     66053988056
3859636865B393   CHELSEA      BROWN                        OR     90002733686
3859671939156B   IRMA         SALAIS                       TX     90003437193
38596A94941285   RAYNARD      JACKSON JR                   PA     90005430949
3859735A84124B   GARY         FETH                         PA     90006903508
3859856135B393   KENIA        ESPINO                       OR     90011865613
3859876A791371   CATHY        MERINO                       KS     90003447607
3859B318255972   ANGEL        PUGA                         CA     90009273182
3859B46A82B871   JENIFER      EVEN                         ID     90010674608
3859B489A55927   HECTOR       HERNANDEZ                    CA     49098684890
3859B4A212B87B   ROBERTO      JASSO                        ID     42054204021
385B1228491831   WAYLON       SMITH                        OK     90009702284
385B136984124B   KELLY        JOHNSON                      PA     90007943698
385B1634991554   MARTHA       AGUAYO                       TX     90010166349
385B2259A2B242   THOMAS       BEASLEY                      DC     90004992590
385B2291641258   FELICIA      WRIGHT                       PA     51030572916
385B231A131424   NUSRET       FEJZIC                       MO     27577653101
385B265145B393   MARWIN       HEBDON                       OR     90001376514
385B27A2491371   ESME         RODRIGUEZ                    KS     90009577024
385B2A38155972   BRIANNA      DIAZ                         CA     90011080381
385B3529772471   RYAN         TUMPA                        PA     90012555297
385B4142A5B156   HERNANDEZ    DOUGLAS                      AR     90001341420
385B423584B281   SERGIO       RODRIEGUEZ                   NE     90007242358
385B4323436143   NORMA        PENA                         TX     90013943234
385B5523971656   ELIZABETH    PSOHL                        NY     90014905239
385B5762755972   VIRGINIA     WALKER                       CA     90014057627
385B5888561945   CRISTINA     MENDOZA                      CA     90008468885
385B62A7936143   JEFFERY      MCDANIEL                     TX     90007942079
385B714465137B   YOLANDA      ROBINSON                     KY     90008381446
385B872275598B   RAMIRO       MIRELES                      CA     49047827227
385B8738155972   JOSE         PRECIADO                     CA     90011847381
385B918964B281   JEFFRY       BATES                        NE     90012931896
3861192282B835   ROBERT       ALDRIDGE                     ID     90010779228
3861242A255972   MARY JANE    FARIAS                       CA     90014344202
38612972A71955   SHERRY       MARTINEZ                     CO     90011529720
38612A96191356   JOSE         VALENCIA                     KS     29061970961
3861442432B26B   ERIK         WRIGHT                       DC     90012614243
3861445A755939   ALICE        DIAZ                         CA     49003034507
3861619255B52B   KIMBERLY     RAPSTINE                     NM     35033741925
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38617566857B79   ANGELA       HAGAN                        PA     90015395668
3861831767B639   CHRIS        GILBERT                      GA     90009233176
3861B3A8536143   MARYLYNN     MUNOZ                        TX     73595803085
3861B41685B393   JIMMY        HOFFA                        OR     90014184168
3861B53262B835   MALLORY      SAVANNAH                     ID     90011915326
3861B586491B39   RAUL         RUIZ                         NC     90014785864
3861B67A12B871   JOHN         MARTIN                       ID     42070136701
3861BA8258B16B   MARIA        JUAREZ                       UT     90001000825
386215A555592B   DELIA        POSADA                       CA     90014785055
38622A6838B16B   TEASA        LEFFINGWELL                  UT     90011840683
38622A8245B52B   ANGELICA     PEREZ                        NM     90006310824
38624866A72441   BRENT        DUBINA                       PA     90011838660
3862521A74124B   ROBIN        LITTLE                       PA     90013012107
3862534992B871   PO           LO                           ID     90012733499
3862646945B393   MISTY        RHODES                       OR     90014814694
3862687A15B156   RYAN         MCCAA                        AR     23060138701
3862823684B281   JOSEPH       CHAVEZ                       NE     90007242368
3862844915B393   UBALDO       RODRIGUEZ                    OR     90014184491
3862851528B16B   MARCELA      E ALICEA                     UT     90006275152
3862966192B835   JUAN         RAMIREZ                      ID     90000446619
386298A5A7B639   ADARRELL     BRANSCOMB                    GA     90013898050
38629A64A2B871   CHRISTINA    DUNBAR                       ID     90014780640
3862B297391831   APRIL        LEWIS                        OK     90013542973
3862B819677367   ANTHONY      LLOYD                        IL     90013418196
38631358A2B835   BROOKE       AMYX                         ID     42057293580
38632A41A91831   ALICIA       CAMPOS                       OK     90009060410
38633122A2B835   JOHN         KENNEDY                      ID     90012071220
386334A7A5598B   MARIE        FRITZLER                     CA     90014434070
3863469542B87B   STAN         FARMER                       ID     90014726954
3863483967B639   BIANCA       FREEMAN                      GA     90014588396
38637669572B37   ROBERT       LOBATO                       CO     90001976695
38637A54272B2B   GRACIELA     CABRAL                       CO     90011800542
38637AA7131424   SABRINA      BREWER                       MO     90001430071
38638A46455972   MIGUEL       SERRATO                      CA     48084280464
38638A66972B35   BRIANNA      CARTER                       CO     33090530669
3863B64A155972   FRANCISCO    CENDEJIS                     CA     90014996401
3864254518B16B   BRYAN        STEPHENSEN                   UT     90012605451
386432A9A57B79   JOHN         FULGINITI                    PA     90015042090
3864341917B481   LEWIS        MCALLISTER                   NC     90006984191
3864489142B87B   KATHLEEN     TESSMAN                      ID     90010438914
3864532457B639   CHERYL       WILLIAMS                     GA     90007323245
3864532732B871   ANITA        LINARES                      ID     90006663273
3864545298B147   VICTOR       RODRIGUEZ                    UT     31025364529
3864587A74124B   DORENDA      BLAKE                        PA     51045128707
3864716667B639   THASEEM      MATTA                        GA     90011531666
3864765A391831   TEARA        RUSHING                      OK     90011016503
38648726A91831   JOSEPH       FELTON                       OK     90009817260
3864877384124B   WIRELESS     CALLER                       PA     90014867738
386487A194124B   MELISSA      CINKAN                       PA     90010537019
38648A2444124B   MELISSA      CINKAN                       PA     90013270244
38648A48851369   JOHN         SCHEHR                       OH     90001050488
3864B474A97B31   AARON        MEZA                         CO     90001454740
38651A7A391831   ROSARIO      CUCUL                        OK     90010440703
3865243A941258   EDWINA       JOHNSON                      PA     51013494309
3865281162B835   KELLY        WOODARD                      ID     90012748116
38652AAA42B835   ANTONIO      INIQUEZ                      ID     90014180004
3865339962B87B   DANIEL       OULE                         ID     90013923996
3865385184124B   JATOWYA      GUY                          PA     90012348518
38653A8737B639   BYRON        BRASSELL                     GA     15092480873
3865426442B835   LISA         LEE                          ID     42096822644
3865457574B927   MARY         MONTGOMERY                   TX     76510035757
38654A2315B393   ZACH         NEEPER                       OR     90013530231
3865527482B871   VERONICA     NEES                         ID     42001692748
3865539327B639   KELITA       GRANT                        GA     90008173932
38655991A41258   THOMAS       BENCHO                       PA     90013759910
386559AA741285   CHRIS        CICCANTI                     PA     51030029007
38656A6935598B   MARTIN       JIMENEZ                      CA     90009800693
386571A337B639   HERMAN       POLLAND                      GA     15001651033
3865865A176B61   PHILIP       MENDOZA                      CA     90012406501
3865875465B52B   PAULA        MONTOYA                      NM     90012287546
3865984227B639   LUIS         OSARIO                       GA     90012478422
3865B222941285   SHANNON      EVANS                        PA     51089662229
3865B82315B393   MICHELLE     ESTEBAR                      OR     90011528231
3865B86945B52B   JOLENE       RAY                          NM     90013748694
3865B86A551369   DAWN         BAUR                         OH     90003218605
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3865B896136143   JAMES         BOGGAN                      TX     90014078961
3865B8A724B281   HUMBERTO      CASTRO                      NE     90006518072
386613AA336143   STACY         PEREZ                       TX     90012923003
3866517575598B   EDNA          LOPEZ                       CA     90012971757
3866592525B52B   JUAN          MONTALVO                    NM     90014919252
3866748642B87B   MICHAEL       SCHAFFER                    ID     90013654864
38668444A8B16B   CODY          VAN BUREN                   UT     90011844440
3866938117B639   LAKRISSA      VAUGHN                      AL     90012943811
3866976755B393   DAVE          HUBBARD                     OR     44560907675
3866999217B639   DARLENE       JOHNSON                     GA     90015189921
3866B14457B471   MARIA         ANDERSON                    NC     90014901445
3866B39422B871   KAREN         REYNOLDS                    ID     90003573942
3867217165B52B   RENEE         ATENCIO                     NM     35090371716
3867253555B393   CHRISTINE     LEDRED                      OR     90014185355
38672915A5B393   LISA          PRADO                       OR     90011559150
3867371727B639   ANDREA        GARDNER                     GA     90014757172
38675619276B45   JUAN GARCIA   MARTINEZ                    CA     90008296192
3867581835B264   MARCIA        THORNTON                    KY     68026788183
3867684862B87B   SONIA         MARISCAL                    ID     90010568486
3867711952B847   LYNETTE       MENG                        ID     90014721195
386791A3391371   REGINA        MCCLANAHAN                  KS     90005291033
386795A955B344   NANCY         HUNT                        OR     90005585095
3867B183A4B281   JUANA         ANDRES                      NE     90012261830
3867B52125B393   JACOB         BINDER                      OR     90014185212
3867B81285B52B   MICHAEL       GUTIERREZ                   NM     35042688128
3867B813191356   GLENDA        RANDOLPH                    KS     29001258131
3867B87727B639   LORANZO       HOLMES                      GA     90014588772
3867B891241258   ALEX          IRWIN                       PA     90015118912
38682A79A7B639   JAQUETTA      NICHOLS                     GA     90012830790
3868443977B639   ROSLYN        ALLEN                       GA     15010094397
3868553365B156   SHUNTE        RANSOM                      AR     90006615336
38685A31A8B16B   RUSSELL       ROSS                        UT     31096170310
3868628595B52B   JUAN          MENDOZA                     NM     90014562859
3868661594124B   MICKEY        GIOKAS                      PA     90006396159
3868664367B471   LATASHA       SHARPE                      NC     11010356436
3868712A741285   MICHELE       SPOLTER                     PA     51057141207
386875A9655972   AMPARRA       BARAJAS-CISNEROS            CA     48011605096
3868811152B835   SAHA          SARKI                       ID     90015581115
386883A1931424   LEONIA        COATS                       MO     90006153019
3868957A64B281   FELICIA       SMITH                       NE     90011295706
3868B43167B639   MIESHA        STEWART                     GA     90013694316
3868B49A831424   RICHARD       MANESS                      MO     90002034908
3868B79282B835   ALIZE         MAES                        ID     90014317928
3868B83285598B   SCOTT         CASEY                       CA     90013018328
3868B95354B532   VICKY         ENDSLEY                     OK     90001009535
38692613A31621   TANIA         LEAL                        KS     22007396130
3869271452B871   CLAUDE        BAHATI                      ID     90015087145
3869344A25B379   JENNIFER      MCINVAILLE                  OR     44516134402
38694A5287B449   TERRANCE      HARLEE                      NC     90011750528
3869563865598B   ROSALINDA     MORENO                      CA     90015506386
3869564345598B   ROSALINDA     MORENO                      CA     90014566434
3869661295713B   YOFTAHE       BULCHA                      VA     90011756129
3869722615B52B   CHRISTOPHE    MOYA                        NM     35089032261
3869791992B871   BRUCE         PENDLETON                   ID     42077989199
38697AAA37B639   ASHLEY        HUDGINS                     GA     90013730003
3869826A836143   SUSANA        A                           TX     90014202608
38698311A2B87B   JOSE          AVILA                       ID     90002833110
3869839A955972   CHARITY       PALLANES                    CA     48008843909
3869983817B639   ETHEL         HAYES                       GA     90004448381
3869999A331424   CHRISTOPHER   YOUNG                       MO     90011959903
3869B221841258   MICHAEL       SUEHR                       PA     51006992218
3869B228251382   ANTOINETTE    WILLS                       OH     66057232282
3869B492736143   JOSE          LOPEZ                       TX     90013094927
3869BA8717B639   SHATORIA      OUSLEY                      GA     90002620871
386B1688631424   NASSUMA       JABATEH                     MO     27565986886
386B2369A91831   REGINA        CHATKEHOOTLE                OK     90010473690
386B3199697B31   VANESSA       SAINZ                       CO     39011361996
386B3332A36143   SARA          BABLOA                      TX     90014033320
386B359867B471   MIRNA         CHACON                      NC     90005455986
386B3947271955   RACHAEL       MAESTAL                     CO     90007749472
386B414824B281   THOMAS        FELIPE                      NE     90011501482
386B496282B871   SANDRA        MARTINEZ                    ID     90011159628
386B5A2418B16B   FELIPE        MONTES DE OCA               UT     31018130241
386B5AA727B471   JAMES         WILLIAMS JR                 NC     90003080072
386B657847B639   RAYMOND       WILLIS                      GA     90013005784
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386B76A314B281   DABORA          BIOR                      NE     90014936031
386B7741191831   GLENDA          WOOD                      OK     90011587411
386B7943736143   DEONA           AGUINAGA                  TX     90002449437
386B8647736143   ALEXANDER       CASTILLO                  TX     90011266477
386B8721251382   LAURKITA        MATHEWS                   OH     66028237212
386B8957A3B391   ANGEL           RUIZ                      CO     90013009570
386B914767B639   KIANA           ADAMS                     GA     90015001476
386B924645B52B   RITA            ACOSTA                    NM     35080052464
386B9374291232   TIWANDREA       CAPERS                    GA     90001333742
386B9616791831   BRUSILA         MATEO                     OK     90011016167
386BB5AA25598B   SALVADOR        VENTURA                   CA     90010115002
3871138236B198   BEAYOUNCA       HILL                      MS     90014593823
38711867A6B625   CANDRA          STANLEY                   KY     90015598670
38711A2664B586   ANTHONY         MONCKTON                  OK     21512830266
3871255255B393   TATYANA         LETOV                     OR     90014185525
3871265954B281   ADA             RUIZ                      IA     90004936595
3871275444124B   CARTRELA        TATE                      PA     51092847544
387128A185598B   CHEREE          MIRANDA                   CA     90012288018
38712A35355972   MIKE            BOLEY                     CA     48033980353
3871368124124B   FASHAWNA        PEOPLES                   PA     51048936812
387145A152B87B   FABIO           CORONADO                  ID     90014715015
387146A6A55972   LINDA           GOLDMAN                   CA     90015076060
3871769644B22B   ELIZABETH       PATTERSON                 NE     90012356964
387179A6A4B281   RUBY            BROWN                     NE     27094079060
38718221A8B16B   MAGDALENA       ZUNIGA                    UT     90005252210
3871844AA7B639   RICHARD         HILLIPS                   GA     90014844400
3871858145B52B   AMANDA          ATENCIO                   NM     90010575814
3871859944124B   SANDRA          NOVAK                     PA     90010765994
387192A6141285   KIM             DAVIS                     PA     51007392061
3871968875598B   MERCEDES        SANDOVAL                  CA     90015166887
3871997442B835   LAURA           RODRIGUEZ                 ID     42025629744
3871B17537B639   HARRY           SHORT                     GA     90008951753
3871BA3677B449   JARVIS          FOXX                      NC     90001020367
3872119652B871   CHRISTOPHER A   PITZER                    ID     90013381965
3872227682B871   BLATAZAR        CASTILLO CONTRERAS        ID     90012362768
3872317A62B835   RAFE            BARRETT                   ID     90015281706
3872325795B156   ANDRE           PATRICK                   AR     23090892579
38724277A7B639   CALVIN          HENDRIX                   GA     90013532770
3872452662B835   MOISES          RAMIREZ                   ID     90013865266
3872478398598B   HOLLY           SHAKYA                    KY     90001497839
38724A5345598B   ERMA            GALAVIZ                   CA     90010320534
3872574455B393   ARTURO          MARIN                     OR     90013397445
3872597315B161   MARTHA          FRANKLIN                  AR     90001959731
3872647942B87B   JOHN            ROSCH                     ID     90008364794
38727596A5B393   ESMERALDA       CUEVAS                    OR     90014185960
38728A97655972   ARIEL           VILLARREAL                CA     48005730976
3872955897B639   SUNKELA         GRIFFITH                  GA     90005315589
3872B2A994B954   PAYGO           IVR ACTIVATION            TX     90014132099
3872B742831497   OGERITA         BAKER                     MO     90012457428
3873198A691356   ROLANDO         FERNANDEZ                 KS     90006549806
38731A31241258   DURGA           RIZAL                     PA     90001630312
38731A74941285   JACQUELINE      GALLIMORE                 PA     51009480749
38733568A51369   JUANITA         BULLOCK                   OH     90014495680
387335A4851369   JUANITA         BULLOCK                   OH     90001125048
38733A2A541285   DANIEL          STREETE                   PA     90013480205
38736346372B38   MARISA          SCHMIDT                   CO     90011333463
3873639895B344   MICAH           SIMMONS                   OR     90007243989
3873724495598B   JOSE            MENDEZ                    CA     49053812449
3873784945B393   PAUL            LARSON                    OR     90010458494
3873795987B471   STEVEN          SPARKS                    NC     90006779598
3873811A291831   PAYGO           IVR ACTIVATION            OK     90006591102
387384AA355972   MARY            LEBUS                     CA     48075084003
38738A79541258   TROY            CYPHERT                   PA     90004760795
3873924435B393   TRINA           WARREN                    OR     44515232443
3873949565B52B   JESSICA         AVILA                     NM     90003434956
3873994A15598B   JESSE           LOPEZ                     CA     90014049401
3873B47135B393   MICTHEL         THOMPSON                  OR     90011014713
38741AA422B835   SHARI           WIDAMAN                   ID     90008000042
3874212257B429   JENNIFER        BOVAIN                    NC     90008871225
3874226A25B393   APRIL           MAYO                      OR     90008532602
38742A44236143   VALERIE         ELIZARDO                  TX     90001970442
3874481922B87B   MICHAEL         CHRISTENSEN               ID     90013808192
38744A2974B281   ROBERT          KACZMAREK                 NE     27048060297
38746686A91371   DASHNE          SAEED                     KS     90000606860
38746854A2B871   ARTURO          MARTINEZ                  ID     42026138540
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38747A8244124B   ROBERT       WORK                         PA     90009470824
3874861625B393   SANTOS       ORTIZ                        OR     90014186162
387495A2336143   KRYSTAL      LOZANO                       TX     73550555023
3874B63644B281   SHAVONTE     COOPER                       NE     27052956364
3875188579283B   JESSICA      LINTEL                       AZ     90015148857
3875239A941258   JAMIE        TAYLOR                       PA     90013883909
3875242A941252   RUTH         STAYDUHAR                    PA     90009634209
3875268697B471   RENITA       DESTEFANO                    NC     11041956869
38752A4845B52B   VALERIE      GRIEGO                       NM     35013480484
38752A4A491355   TEQUISHA     MARTINEZ                     KS     29015470404
3875365424B281   NHIEM        TRAN                         NE     90012426542
38753A1195B344   JASON        BOYKIN                       OR     90000980119
38753A24A2B835   NORMA        AGUAYO                       ID     90009480240
3875667975598B   ANTHONY      SANCHEZ                      CA     90002316797
3875731A155972   D&M          REYNOSO APPLIANCES           CA     48083453101
38757A9A172B27   SHANE        MILLER                       CO     90001140901
3875878277B639   NICOLE       MULDROW                      GA     90012567827
387587A5691371   ROSE         JACKSON                      KS     90008767056
387588AA25B52B   ROBERT       PADILLA                      NM     90015138002
387589A1155972   YVONNE       HERMOSILLO                   CA     90007359011
3875915792B87B   CODY         LOVELACE                     ID     42004171579
3875917168167B   JEFFREY      JONES                        MO     90011021716
387592A777B639   SADE         WHITEHEAD                    GA     90014172077
3875B559A51335   TIFFANY      RICHARDSON                   OH     90013795590
3875B73235B52B   GRISELDA     VARGAS                       NM     35031217323
387613A6691831   MIKE         MARTIDLE                     OK     90013543066
3876211AA2B87B   JOSE         RIOS                         ID     90012201100
3876255222B395   KENDU        NEWKIRK                      CT     90013935522
38762643A5B393   MARIA        GARCIA                       OR     90014186430
3876362624B281   JONATHAN     EBERLY                       NE     90013356262
3876386675B537   MARIO        TRUJILLO                     NM     90013298667
3876469455598B   MELINDA      FRIAS                        CA     49006756945
38765442A2B87B   SARAH        PRESTON                      ID     90007924420
38765A72A5598B   KARINA       SALDANA                      CA     90007450720
3876734355B393   LINDZI       HELGESON                     OR     90005863435
38767555A5598B   LORINZO      ACEEES                       CA     90014375550
3876773398B273   JOHN         SMITH                        VT     90014247339
3876847647B639   SHERLITA     DANIEL                       GA     90014924764
38768672A2B87B   TYLER        GILBERTSON                   ID     90012676720
3876883922B871   STEVE        JORDAN                       ID     42088968392
387688A915B393   APRIL        GANAWAY                      OR     44523828091
3876898A33B365   JUSTIN       TAYLOR                       CO     90003739803
3876972634B281   KERWIN       HORNE                        NE     90015127263
3876B23345B52B   HENRY        ROMERO                       NM     90006212334
3876B73A17B471   PAMELA       BREWER                       NC     11002917301
3877192415B546   EDWARD       QUINTANA                     NM     35012949241
387731A995B393   DANIEL       MYERS                        OR     90014381099
3877411244124B   TRACY        MCKIVITZ                     PA     51019621124
3877477735598B   JESSICA      MACIAS                       CA     90013697773
3877615235B52B   YAHAYRA      CAMPOS                       NM     90014761523
3877753395B555   ALLEN        TRUJILLO                     NM     35089815339
38777A54531424   LATONYA      SANDFORD                     MO     90007880545
38778974476B44   ENAYAT       SHAIKH                       CA     90010369744
3877B651136143   MONA         ANZUALDA                     TX     90010396511
3877B894691881   KELLI        MASCARIN                     OK     90001688946
38781469A81667   TERIA        INSKEEP                      MO     90014124690
3878176265B393   JESSICA      BROWN                        OR     44563487626
38782A21A41258   WENDI        DUFFILL                      PA     51061360210
387832A127B449   MANUEL       SOTELO                       NC     11063522012
387855A322B87B   JOEL         BOLDGRIEN                    ID     90010945032
3878563644B281   SHAVONTE     COOPER                       NE     27052956364
3878586887B639   DILMA        RAMIREZ                      GA     90008238688
3878634357B471   FREHIWET     TEWELDEBRHAN                 NC     11094613435
3878671715B52B   NORMA        GARCIA-MARQUEZ               NM     90013187171
3878673752B835   ARIEL        LAW                          ID     90012087375
3878689322B835   RICHARD      DEERFIELD                    ID     90013668932
38786A64751369   ERNIE        SIZEMORE                     OH     90004870647
3878759367B639   QUINYETA     SELDON                       GA     90014725936
387876A872B87B   AH           PUH                          ID     90012156087
3878777A391371   KISHA        CHATMON                      KS     90008767703
38788A92336143   DORA         RODRIGUEZ                    TX     90014670923
3878B85715598B   GRACE        DURAN                        CA     49027058571
3878B958336143   BRENTON      GIRDY                        TX     90014669583
3879117552B871   JOY          BURNIGHT                     ID     90013291755
3879132677B639   MALENA       JOHNSON                      GA     90014873267
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3879149315B344   JUAN          NAVARRETE                   OR     90008344931
3879196388B16B   JONATHAN      STARK                       UT     31032259638
3879272487B639   ROBIN         LAYFIELD                    GA     15055997248
3879325237B449   NILA          EUSEBIO                     NC     90009402523
3879339344124B   DAWNETTE      BARLOW                      PA     51073653934
3879365A25B393   MARIA         AVALOS                      OR     90014186502
387944A1536143   VIRGINIA      CAMPUZANO                   TX     73570354015
38794A35191371   ROSEMARIE     ARREDONDO                   KS     90007030351
387951A9A2B835   KADENE        CAMPOPIANO                  ID     42066551090
387952A9891371   IGNACIA       MENDOZA                     KS     29065092098
3879769487B477   JUAN          CENTENO                     NC     90007496948
3879839217B639   SONYA         JOHNSON                     GA     90015203921
3879851815B156   LISA          LEE                         AR     23094015181
38798852398B33   SHIRLEY       REDFEARN                    NC     90012658523
3879919552B871   CYNTHIA       TRIPLET                     ID     42031971955
3879977985B393   THOMAS        WILLIS                      OR     90009937798
3879B219391893   ANGELA        FITZGERALE                  OK     90014622193
3879B46132B835   TINA          GOMEZ                       ID     90014574613
3879B71A84124B   TERRY         POLLARD                     PA     90007447108
387B1155641258   MICHAEL       GLOVER                      PA     51053051556
387B151A94B281   PARIS         HOFFMANN                    NE     90014365109
387B153995B52B   GUSTAVO       LUCERO ORTIZ                NM     35043785399
387B173115598B   RALPH         TOPALIAN                    CA     90012817311
387B2382A55927   ELENA         RAMIREZ                     CA     90014813820
387B253975598B   ALYSSIA       MORENO                      CA     90014985397
387B38A9536143   MARIA         AVILA                       TX     73539628095
387B465A12B87B   AMANDA        RODRIGUEZ                   ID     90012006501
387B469485B52B   JACK          BRUNACINI                   NM     90003706948
387B496747B639   CHARITY       PEREZ                       GA     15003359674
387B553542B87B   DANIELLE      GUINN                       ID     90013655354
387B587357B449   TAWANNA       JACKSON                     NC     90012158735
387B642585B393   KEYONA        DAVIS-VANN                  OR     90006944258
387B6647736143   ALEXANDER     CASTILLO                    TX     90011266477
387B7282A4124B   CHRISTOPHER   HETRICK                     PA     90014152820
387B818237B471   EUGENIO       ROCHA                       NC     90000881823
387B8539841244   NICK          SLOBODNYAK                  PA     90003845398
387B8893684381   MARGARET      MCLENNAN                    SC     90007818936
387B9356941285   BOBBY         LOGSDON                     PA     90011303569
387B9422A51382   CARMEN        ALVAREZ                     OH     66098544220
387B954665B393   CORINNE       LAMONTAGNE                  OR     90014185466
387B9573641258   CHRISTINE     SHEDRICK                    PA     90001735736
387B989A67B639   SHEMETA       MOSES                       GA     90014588906
387BB24254124B   RACHEL        SERBIN                      PA     51054952425
387BB2A195598B   JEFFERY       HOOD                        CA     90010742019
387BB34765B264   ACCURATE      LAWN                        KY     68005563476
387BB562836143   ERNESTO       BUSTOS                      TX     73500985628
387BB92222B871   JAYLENE       PATIT                       ID     90011219222
387BB9A7191537   GUILLERMO     RAMIREZ                     TX     75016079071
38812485A41258   IRMA          RAMIREZ                     PA     90012904850
38812A1672B241   TWANNA        GREEN                       DC     90002240167
388132A395598B   ALEJANDRO     LOPEZ                       CA     90011542039
3881434997B449   CHRIS         SAPP                        NC     90004123499
3881467625B52B   JUAN          VALDEZ                      NM     90014126762
38814778A91356   EDWIN         HARRIS                      KS     90002397780
3881685114124B   LINDA         HOHN                        PA     51014938511
3881757495182B   DONALD        SWAIN                       NY     90015495749
3881816749152B   FERNANDO      LARA                        TX     90014891674
388181A1151335   CRYSTAL       MATSHALL                    OH     90005581011
3881B113341285   LARITA        TURNER                      PA     51010921133
3881B259841261   GLORIA        LACH                        PA     90001702598
3882134A92B835   KYLEA         DARRAH                      ID     42043603409
38822A18151382   DUKE          MILLS                       OH     66074640181
38822A4A636143   ISABEL        GARZA                       TX     90014720406
3882398494124B   NATHAN        STANLEY                     PA     90013019849
3882399657B639   SIRETHA       MOODY                       GA     90013059965
38823AA765B52B   CINDY         MARTINEZ                    NM     90003350076
3882421A291831   CANDICE       JORDAN                      OK     90009062102
38824338A36143   RUBEN         GAMEZ                       TX     90009073380
3882448777B449   RENITA        MOSELY                      NC     11038954877
3882674362B871   FEYSAL        DIRIR                       ID     90014887436
38826A5975598B   KATIE         PURSELL                     CA     90014630597
38827296A91831   ELIZABETH     HARBIN                      OK     90009762960
388273A2A36143   FELLICIANO    CERVANTEZ                   TX     90013893020
3882777932B871   STEVEN        ALWORTH                     ID     90007577793
3882874232B87B   TONIA         PEARMAN                     ID     90010017423
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3882944945B52B   KELLI             LEYBA                   NM     90000944494
3882951245B393   RACHEL            GURO                    OR     90006175124
3882952A47B639   WILLIAM           SEABROOK                GA     90010805204
3883113894124B   LINDA             SMITH                   PA     51008341389
3883128935B156   ROBERT            ALLEN                   AR     23037832893
3883136877B639   LATISHA           HARVEY                  GA     90008503687
388324A869152B   JUSTIN            BENEDIT                 TX     90009054086
388324A935B393   TIMOTHY           TIPTON                  OR     90010944093
3883335385B155   JIANA             MORSE                   AR     90011873538
3883382795598B   DAVID             SMOTHERS                CA     90014688279
38833982276B44   ANNA              CASTRO                  CA     90012479822
3883444524124B   DEBAR             GREEN                   PA     90000254452
3883465137B639   DAVEENA           HIPP                    GA     90013026513
3883495794B281   ARMANDO           MUNOS                   NE     90011549579
3883496934B281   DEREK             VANWYNGARDEN            NE     90014869693
3883524965B52B   NICOLE            VALDEZ HERNANDEZ        NM     90013922496
388353A8291587   NANCY             LIMAS                   TX     90008053082
38835824A51382   ANTONIO           DARDEN                  OH     90012718240
38835A46A2B871   DAISY             HILARIO                 ID     90011220460
3883654A431424   NIESHA            PITTMAN                 MO     90014135404
38836668A5B393   MARQUITA          JEFFERSON               OR     90006786680
388369A724B281   THERESA           COHRS                   IA     27074409072
3883715527B639   SONYA             RANSOM                  GA     90014631552
3883728952B835   LARRY             KOSS                    ID     90009362895
3883881784124B   JENNIFER          KOSTELNIK               PA     51096018178
3883989757B471   ANGE              MORRISON                NC     11059438975
3883B33188B322   JAIME             PEDRIN-ESPINOSA         SC     90015513318
3883B492736143   JOSE              LOPEZ                   TX     90013094927
3883B64335B135   ERIC              MITCHELL                AR     90014346433
3884142AA31424   LAWONDA           HENDERSON               MO     90010864200
3884155285598B   CARLITA           PERALTA                 CA     90008415528
3884187544B281   CYDNEY            DVORAK                  NE     90015018754
38841A47336143   MANUEL            NORMAN                  TX     90013340473
388425A9A77523   LEOBARDO          SEGOVIANO- AZPEITIA     NV     90014205090
3884319652B871   CHRISTOPHER A     PITZER                  ID     90013381965
38843945A55972   MONICA            ROSAS                   CA     48072759450
38843A7645B156   EFFRAIN           GONZALES-GUZMAN         AR     90001360764
38843AAA641285   SHEENAL           BELO                    PA     90013640006
3884481697B639   DEVONTE           MCRAE                   GA     90013748169
3884491762B835   SAUL              TACZA                   ID     90014129176
38844A9894B281   JESSICA           DIGGINS                 NE     27043220989
3884516795598B   WILLIAM           MCDONALD                CA     90015101679
3884568595B393   MIGUEL            CHI-DZUL                OR     90014186859
3884633925B52B   PHILLIP           GONZALEZ                NM     90009343392
38846497176B64   CLAUDIA           GARCIA                  CA     90001734971
3884715374124B   KID               WADE                    PA     90005801537
3884789485B344   MARIA             AGUIRRE                 OR     44505188948
3884854A25598B   ARMEN             MKHITARYAN              CA     90004885402
3884884134B281   DONTERIAY         BRYE                    NE     90014878413
3884959655598B   CARLOS            MA                      CA     90013315965
38849A67661925   SANDRA            HERNANDEZ               CA     90010320676
3884B511141285   CULLEN            FROST                   PA     90011225111
3884B574A2B835   JAIME             RIOS                    ID     90015505740
3885268162B87B   AARON             THOMAS                  ID     90009216816
3885383565B333   MILISSA           WILLIN                  OR     90011088356
388538A785B156   JEANNETTE         WILLIAM                 AR     23097498078
3885619A15598B   HEIDI             HERRERA                 CA     90014641901
3885684275B52B   TIFFANY           ARUNDALE                NM     35055768427
38857279A55972   JUVENAL           GOMEZ                   CA     48090352790
3885731762B871   PATRICIA          ENGLETT                 ID     42010403176
3885824484B55B   ELODIA            SOSA                    OK     90012272448
3885855184124B   CHARLES           BENNINGTON              PA     90008035518
3885875515B344   MICHAEL           CAPPOEN                 OR     44595637551
3885889145B52B   PAUL              GREIGO                  NM     35094698914
3885958848B151   MICAH             PICKERING               UT     90001795884
3886113122B87B   JEANNIE           NEWSOM                  ID     90008361312
3886147437B639   JALISHA           CALLOWAY                GA     90006264743
3886367A65598B   ENRIQUE           CASILLAS                CA     49027516706
3886419957B386   ELMER             ESCAMILLA               VA     90011661995
3886422695B24B   YOLANDA N LLOYD   WEATHERS                KY     90008852269
3886474A333647   KENNETH           HALIK                   NC     90004567403
3886499A931424   EMECIA            WASHINGTON              MO     90014369909
38864A32A55972   ROBERTO           TORRES                  CA     90011590320
3886538388B16B   KENT              DAVIS                   UT     90005953838
3886596835B393   PERRY             GHOLSTON                OR     90014169683
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1800 of 2350


3886615755B156   CHRISTINE     TREECE                      AR     90009951575
38866A84991525   ROSIE         MADRID                      TX     90003330849
3886747779376B   DAVID         STORER                      OH     90013914777
388677A642B871   KRISTAN       NELSON                      ID     42094777064
38867855272B23   ROSALBA       GARCIA                      CO     90008658552
3886788325132B   TRACI         ALLEN                       OH     90009158832
3886B8A7651369   TIFFANY       WAGNER                      OH     66005108076
3886B987A7B639   DEBRA         ALLEN                       GA     15085949870
3887229685B52B   JOCELYN       GARCIA                      NM     90014102968
38873AA1A2B835   CODY          ZUWALA                      ID     90014180010
388746A9A4B281   CRYSTAL       SNOWDEN                     NE     27002876090
3887532324B281   DEMARKUS      FONTAIN                     NE     90014563232
3887895455B52B   FRANCO        MARIA                       NM     90003969545
3887896512B93B   TOCILE        SANDOVAL                    CA     90013869651
388795A1391371   TIFFANY       ESHNAUR                     KS     29063625013
3887B15477B449   JERRY         COOK JR                     NC     90002041547
3887B38A95B52B   WALLACE       NEZ                         NM     90010353809
3887B53A12B835   PAMELA        HUFF                        ID     90014865301
3887B939655972   BRANDON       MONROY                      CA     90013639396
388816AA43148B   JOHN          SPATZ                       MO     90010576004
38882171A2162B   DEZTINY       MYRICKS                     OH     90013951710
3888276335598B   AMEENAH       MUHAMMAD                    CA     49066547633
3888358475598B   ISMELDA       GARCIA VILLELA              CA     90012975847
3888648355B52B   JESSICA       BARELA                      NM     90014554835
3888663464B281   JAMES         GORDON                      NE     90013356346
3888734AA4B281   BEATRICE      DAVIS                       NE     90002913400
3888779247B639   MERCEDES      JAMES                       AL     90014777924
388877A264124B   KEONA         SUPPLES                     PA     90013187026
38889AA878B16B   MARTIN        HYMAS                       UT     31006200087
3888B71685B393   DOROTHY       SHERECK                     OR     90014237168
388935AA97B639   WILLIE        BUTLER                      GA     15062975009
38893A2522B87B   TIMOTHY       MARROW                      ID     42039540252
3889446894124B   JOSE MANUEL   CERVANTES SANCHEZ           PA     90014264689
38894A91141285   ALAN          WEIBLINGER                  PA     90011520911
3889644535B156   PAULA         JONES                       AR     23054824453
38896A1462B87B   RICHARD       BRICENO                     ID     90012530146
38896A95241258   TAJIA         HAWKINS                     PA     90014930952
3889763617B639   NATHANIEL     POLLARD                     GA     15042536361
3889B23877B639   DEONNA        FRANKS                      GA     90011532387
3889B622855972   MONIQUE       RIVERA                      CA     90012476228
3889B646491587   VITELA        KARLA                       TX     75014036464
388B132515B344   JESSICA       ROBINSON                    OR     44572953251
388B163692B87B   MARIA         GONZALEZ                    ID     90012706369
388B1653336143   ROXANA        MENEFEE                     TX     90014676533
388B217685B52B   KRISTI        SAMUELSON                   NM     35004941768
388B222965598B   ANTHONY       RAMIREZ                     CA     90010902296
388B234544B281   VELVET        CURTIS                      NE     90007983454
388B2653336143   ROXANA        MENEFEE                     TX     90014676533
388B281697B639   DEVONTE       MCRAE                       GA     90013748169
388B37A762B871   ANGEL A       OCAMPO VAZQUEZ              ID     90003267076
388B3837191831   BRANDY        PETTIE                      OK     90011018371
388B564754124B   ANTHONYY      STAARR                      PA     90007946475
388B5848241244   JENNIE        JORDAN                      PA     90009438482
388B622965598B   ANTHONY       RAMIREZ                     CA     90010902296
388B7A54491371   MICHELE       ABRAHAM                     KS     90003920544
388B837332B87B   RICHARD       HARRIS                      ID     42005863733
388B853755598B   JAVIER        SOLIS                       CA     90014945375
388B8672A2B87B   TYLER         GILBERTSON                  ID     90012676720
388B871755B393   JAWAN         MULLEN                      OR     44598557175
388B92A948B16B   SCOTT         JEFFERY                     UT     90009392094
388BB838184368   KATHRYN       DAVIS                       SC     14501478381
388BBAA772B871   BEVERLY       PETERSON                    ID     42021090077
3891135225B344   RYAN          FISCHER                     OR     90014133522
3891279817B449   OLIVIA        CUNNINGHAM                  NC     90011757981
3891352485B52B   SANDRA        SANDOVAL                    NM     90006325248
3891354AA91356   PERNELLA      GARCIA                      KS     29027225400
3891356554124B   FRANKLYN      HIGGS                       PA     90011065655
3891364AA32573   LOUVENIA      BURNS                       TX     90014626400
3891429717B639   DONALD        TOLBERT                     GA     90014152971
3891444215B52B   JOSE          SANTOS                      NM     35014864421
3891489725598B   GEORGE        HOBBS                       CA     90000638972
3891538435598B   MICHAEL       PERRY                       CA     90014803843
389159A697B449   SHASTHA       SMITH                       NC     90007689069
3891698424124B   SCOTT         WARMAN                      PA     90010219842
389176A812B835   HEATHER       CHAVEZ                      ID     42015566081
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389186A964124B   DENISE                 EDMONDSON          PA     51013886096
38918844A7B32B   AMILCAR                SALGADO            VA     90007638440
3891898465B393   NEAL                   FRANZER            OR     44565029846
3891923175B156   ROBERTO                RAMIRES            AR     90001362317
3891984284B281   TISHA                  POINTER            NE     90008588428
3891994232B871   MARISOL                REYNA              ID     90000209423
3891B7A2591356   WILLIE                 GARNER             KS     29088457025
3891B931584351   HECTOR                 BLANCO             SC     90011819315
3892117634124B   JOSE                   RIBERA             PA     90015191763
3892121712B871   MELENE                 JAMES              ID     90005262171
3892181887B449   NATHANIEL              CARTER             NC     90011758188
38921A3134B281   VICTOR                 HAYNES             NE     90001500313
3892253435B344   JENNIFER               GARRISON           OR     44542255343
3892289854124B   EDUARDO                CISNEROS           PA     90014398985
38922A45A7B477   ELIETTE                VIRGINA            NC     90008250450
3892355155B52B   YARESE                 CONTRERAS          NM     90007805515
3892373419184B   RAQUEL                 MARTIN             OK     21005527341
38923A8912B871   JOSE                   MORONES            ID     90014970891
389252A647B639   JEFFEREY               NEWSOME            GA     90014602064
3892621A14B281   LAURA                  YOUNG              NE     27071592101
3892625417B639   ANGELA                 SELLERS            GA     90014602541
38926785A5B52B   JASON                  GALLEGOS           NM     90011417850
3892717425598B   TERIKA                 HENDRIX            CA     90012521742
38927A41741285   ERIKA                  RUTHERFORD         PA     90011940417
3892828895B333   HEATHER                NEWPORT            OR     90003622889
3892877367B449   L KEISHA               SCOTT              NC     90011887736
3892925324B534   JOSH                   CRAWFORD           OK     90011342532
3893141A74124B   GEORGE                 JENKINS            PA     90014004107
38931A8A58433B   JAMES                  SMITH              SC     90011170805
38933A3684B281   PABLO                  CHACON             NE     90009150368
3893491365598B   JADIA                  RUIZ               CA     90014379136
38934A89755972   GLORIA                 PEREZ              CA     48051900897
38934A9114B281   MILTON                 CURRINGTON         NE     27072210911
3893562364B597   QUAYSEAN               WILLIAMS           OK     90009976236
3893814845B344   ALEJANDRO              GUZMAN             OR     44568231484
38938AA4641258   KIRK                   PETRULLI           PA     51014120046
3893918375B52B   MARRISA                VIGIL              NM     90013761837
3893919552B87B   CYNTHIA                TRIPLET            ID     42031971955
389392A222B871   ELISHIA                RICKY              ID     42093692022
38939741A93761   SIERA                  DANCE              OH     90008317410
38939AA654124B   RACHAEL                DUNN               PA     90012500065
389412A495598B   ESTEVEN                PINEDA             CA     90008502049
3894195245598B   CASANDRA               MENDOZA            CA     90010919524
38941A22755972   RENATO                 SANCHEZ            CA     90013840227
38942261457B79   ALDRIN                 GRATTS             PA     90014412614
3894265164124B   JENNIFER               KARADEEMA          PA     90014236516
3894286A191356   PABLO                  SANTOS             KS     29028638601
3894444352B871   ALBERT                 HINOJOSA           ID     90013624435
3894483678B16B   JAYSON                 HUFFMAN            UT     90001008367
38945222A84345   WENDY                  MCGEE              SC     90012602220
38946249A7B639   LAVONDRA               THOMPKINS          GA     15082792490
3894635274124B   PAULA                  BOYD               PA     90012933527
3894654155B287   KANDLYN BOWLING        COREY BOHANNON     KY     90014685415
3894789A77B449   ANTRON                 BOYER              NC     90011758907
3894978394B522   SHAQUESTA              FIELDS             OK     90009737839
38949A7A52B87B   LORENZO                MORENO             ID     90009330705
3894B82AA41285   TONY                   SIEGWORTH          PA     90008008200
3895125A75B393   NAZAREO                PENA               OR     44509942507
3895147A82B87B   CHERIE                 MONTGOMERY         ID     90011484708
38951546172B36   NOEMA                  MERCADO            CO     90013675461
38951A35191831   MATTHEW                COTTRELL           OK     21022760351
3895228A954191   KRISLYN                DILLARD            OR     90009572809
389525A185B393   CARA                   HAMILTON           OR     44518305018
3895339874B562   TAQIYA                 MELVIN             OK     90009193987
38953A83991831   DONALD                 THOMAS             OK     90014290839
38953AA684B522   KATLIN                 BAKER              OK     90010020068
38954A51477531   MARIA DE LOS ANGELES   AYALA              NV     90011860514
3895727424124B   LAKEISHA               GAIARD             PA     51074372742
389576A332B871   SHANNON                KILDOW             ID     90011576033
38957AA7A7B639   OMESHIA                GRAY               GA     90012490070
3895832615B156   CAROLYN                BINNS-HOOVER       AR     90004943261
3895844175B156   CAROLYN                BINNS-HOOVER       AR     90014724417
3895855AA41258   JOHN                   DAVIS              PA     90003035500
3895885A572441   MALLORY                STARKEY            PA     90015268505
38958AAA891831   IVON                   DURAN              OK     90011030008
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3895937385598B   NANCY        CORTEZ                       CA     90007413738
3895977235B393   CASSIDY      TOMI                         OR     90012007723
3895B54842B395   CARLA        CHAVEZ                       CT     90013955484
3896215485B52B   DENNIS       ROYBAL                       NM     90014031548
3896215A85B393   TERESA       KNIGHT                       OR     90001391508
389623A2591232   ANTONIO      LOPEZ                        GA     90002313025
3896268232B87B   DEBBIE       PAULSEN                      ID     90014036823
3896339522B835   SUSAN        YOUNG                        ID     42092633952
3896486A38433B   SHANDOLYN    MCBRIDE                      SC     90011468603
38964A71141285   VIRGINA      NICOLL-HERNANDEZ             PA     51083070711
3896634445598B   ROSEMARIE    MARTINEZ                     CA     49047753444
3896658637B471   LETIA        WASHINGTON                   NC     11073855863
389668A5993762   ASHLEY       SAYLOR                       OH     64516778059
389669AA741285   MARK         SMITH                        PA     51098789007
3896844315B156   KRISTINA     MARTINEZ                     AR     90003634431
38968726A72496   CHRISTINE    SOMMERS                      PA     90006187260
38968A1457B473   EVA          VANEGAS                      NC     90014910145
3896925845598B   BOONIE       LOKZ                         CA     90014452584
38969A31A5B52B   DESIREE      CHAVEZ                       NM     90009760310
3896B313655972   JOSHUA       BERBEREIA                    CA     48002793136
3896BA5162B835   MISTY        SYKES                        ID     90014390516
3897185A181622   PAMELA       PITNICK                      KS     29067108501
3897234392B87B   KYLE         LEYDEN                       ID     90013743439
3897262932B87B   KYLE         LEYDEN                       ID     90013656293
3897291262B87B   KYLE         LEYDEN                       ID     90013789126
38972A25454164   REBEKKAH     BEUCKWICH                    OR     90014200254
3897363642B87B   MICHAEL      WILSON                       ID     42072496364
38974111A2B87B   NOEL         BURKOVSKY                    ID     90000711110
3897524225B344   DULCE        LOPEZ                        OR     44540242422
3897557112B835   C            QUINTERIO                    ID     42009895711
38976A5417B639   SONIA        BARBER                       GA     15022540541
3897755287B639   DORAZE       MURRAY                       GA     90009585528
3897778A15B52B   CANDICE      MOLINA                       NM     90012907801
3897978795B393   CHRIS        LEE                          OR     90014187879
3897B38272B87B   FELPIE       BRIONES                      ID     90013663827
3897B52485B52B   SANDRA       SANDOVAL                     NM     90006325248
3897B931951377   JUSTIN       HAFNER                       OH     90014829319
38981A94991831   SILVA        CASTILLO                     OK     90010300949
3898295255B393   CARLOS       RIVERA                       OR     44577629525
38982AA6631424   NIKIA        TAYLOR                       MO     90013930066
38983344A51369   WILLIAM      HILLMAN                      OH     66066013440
3898383782B871   MARIA        VALDOVINOS                   ID     42016378378
3898387235598B   EDGAR        RUIZ-RIOS                    CA     90012528723
3898424A55B255   ORLANDO      BROWN                        KY     90007822405
3898663812B87B   YURI         FRENEITES                    ID     90007816381
3898672847B639   NAKIA        SMITH                        GA     90010087284
38986A68255936   JOEL         GARCIA BERNABE               CA     90008130682
3898727837B449   SHELLY       ROBINSON                     NC     90004982783
3898742782B871   TIFFANY      JONES                        ID     42004214278
38987581A4B281   WALTER       LOVE                         NE     90014165810
3898855547B639   SHAQUANA     COCHRAN                      GA     90013015554
389892A172B87B   FLOYD        SMITH                        ID     42077882017
389893A9391831   SAMAY        YVONGSA                      OK     90013103093
3898985425B156   WILLIE       DAVIS                        AR     23092298542
3898B354941285   KAREN        WILT                         PA     51087063549
3898B45977B639   TYP          PATTERSON                    GA     90011754597
389917A7455972   MARTHA       GONZALES                     CA     90010797074
3899192825B52B   CELESTA      BLACK                        NM     90014329282
3899217442B835   PEGGY        COLLINGS                     ID     90010361744
38992A2555B393   JOSHUA       SEMLER                       OR     90003750255
38992AA3191831   ASHLEY       MOODY                        OK     90011030031
3899391A77B639   JESSICA      PERRY                        GA     90014789107
3899513895B135   VERONICA     WEBSTER                      AR     90014711389
3899584945B393   JOSE         SILVA                        OR     90012058494
3899641A27B639   MARIA        RODRIGUEZ                    GA     90015144102
3899695457B359   ROSA         ORDONEZ                      VA     90001619545
38996A8524124B   RANDOLPH     MCKENNA                      PA     90005000852
38996A9725B555   MATTHEW      GONZALES                     NM     90009790972
3899862355B131   RODNEY       BEASLEY                      AR     90013456235
38998A73436143   CRISTINA     PUENTE                       TX     90007740734
3899954137B639   MONIQUE      SUTTON                       GA     90013975413
3899B44A355972   GUADALUPE    NAVA                         CA     90008964403
389B126327B449   SHEKITA      DIGGS                        NC     11013712632
389B16A8955972   JOSEPH       GOMEZ                        CA     48064716089
389B1941A7B471   SHILETTE     HOOVER                       NC     11040969410
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389B1A9512B87B   DENISE       SANDER                       ID     42029870951
389B335395B344   ROBERTO      RETEQUIN                     OR     90009673539
389B395625B52B   MICHAEL      CHAVEZ                       NM     35098489562
389B399A87192B   KIMBERLY     ARGO                         CO     32010249908
389B445797B639   ASHANTAE     WILLIAMS                     AL     90006944579
389B512552B835   EVELYN       LINDLEN                      ID     42012591255
389B5553361993   STEVE        COLES                        CA     90003815533
389B5782641285   TOM          JOSAPAK                      PA     90007057826
389B6646191831   MICHAELANN   MOSS                         OK     90014686461
389B698372B871   TIARA        KEENER                       ID     90014709837
389B758855B52B   SANDRA       GURROLA                      NM     90003035885
389B7959841285   BARBARA      HARRIS                       PA     51070909598
389B8452A2B835   MATTHEW      KNAPP                        ID     90012244520
389B887127B449   NAFEESA      RAMADAN                      NC     11088688712
389B9872833647   YARELI       SANCHEZ                      NC     90007468728
38B1174592B835   ASHA         MWAJABU                      ID     90014887459
38B11749441258   JAMES        WAITHIRA                     PA     51091187494
38B1217472B87B   ABLE         GARZA                        ID     90010131747
38B1247954124B   JIM          HALPERT                      PA     90012844795
38B12A9A15B52B   HERMELINDA   PEREA                        NM     35086730901
38B1336914124B   SHAITISHA    CAMPBELL                     PA     51029473691
38B1337A85598B   ALEXA        MARTINEZ                     CA     90011183708
38B1349542B871   SEAN         STODDARD                     ID     90004254954
38B1424985B344   MICHIE       GUYTON                       OR     90002102498
38B14277561962   FLORINDA     NAVA                         CA     90012102775
38B14A38491371   EMILY        RICHARDSON                   KS     90011710384
38B14AA935B156   MARCUS       COOPER                       AR     23084130093
38B1527AA8B16B   EUGENE       DOMINGUEZ                    UT     90012582700
38B15A85936143   ROBERT       ARANGUA                      TX     90002050859
38B15A9712B835   REYES        ROMERO                       ID     90013930971
38B1675588B536   CARLOS       GUERRERA                     CA     90014357558
38B1682427B477   ARRENDONDO   GUADALUPE                    NC     90001218242
38B16843455972   NICHOLE      MARTINEZ                     CA     90009878434
38B175A138598B   WILLIAM      RUGG                         KY     90011315013
38B1811634B281   LAVERN       CRUMP                        NE     27001681163
38B182A6951382   SHYESHA      SMITH                        OH     90011062069
38B1852512B87B   JILL         SCHERER                      ID     90013265251
38B1891A831424   DARRYL       WHITTED                      MO     90014119108
38B18979A5B344   GARRICK      FIELD                        OR     90005949790
38B19257636143   GEORGIA      TOLBERT                      TX     90014262576
38B19715172424   MIKE         WILTON                       PA     90012847151
38B1989977B471   ANDREA       EMANUAL                      NC     90007678997
38B1995A92B871   MEMORI       LUJAN                        ID     90011139509
38B1B564985621   MARTIN       GREEN                        NJ     90005765649
38B1B74955598B   ISMAEL       HERRERA                      CA     90014117495
38B2154914124B   GLADYS       EABORN                       PA     51089815491
38B2167564B281   MARIA        DIEGO HERNANDEZ              NE     90014526756
38B218A682B871   MANDI        SIMMONS                      ID     90007818068
38B2193757B639   SIMONE       CROWELL                      GA     90014719375
38B21A9692B835   JESSI        GILPIN                       ID     90014030969
38B22242441285   GEORGANNE    TOMANIO                      PA     90014172424
38B2284142B871   ERENDITA     GONZALES                     ID     90006528414
38B22923251369   STEVE        ADAMS                        OH     66083959232
38B2341582B871   CASSANDRA    MCKIERNAN                    ID     90007714158
38B237A615B344   LINDSEY      BAKER                        OR     90008267061
38B23882891831   MISSY        JONES                        OK     90004268828
38B2423337B639   AZIVE        ARMOUR                       GA     90013272333
38B24A25785996   JESSICA      MCGUIRE                      KY     67041130257
38B24A9292B871   ALEX         STILES                       ID     90013750929
38B2528432B871   AUNDREA      DRAGGETT                     ID     42090852843
38B25749741285   ANGELA       KEENER                       PA     90007677497
38B2624797B639   UMIKA        MILES                        GA     15010062479
38B26291936143   ASHLEY       BROWN                        TX     90011152919
38B2699575B52B   GENEA        OLIVER                       NM     90001769957
38B2712798B16B   SYNDI        MONTOYA-MILLER               UT     31011851279
38B2737185B52B   OLIVIA       MUNOZ                        NM     90009773718
38B2741582B871   CASSANDRA    MCKIERNAN                    ID     90007714158
38B27894691831   MICHELE      WHITSON                      OK     90011518946
38B28636151382   MARGARET     VARIN                        OH     66042426361
38B28A1875598B   GEORGIA      HARNEY                       CA     90012320187
38B2913925598B   ROSANNA      DIAZ                         CA     90010211392
38B29152155972   NATALIE      MENDIVIL                     CA     90012071521
38B2923358B162   MARCIE       KRASNIUK                     UT     90011722335
38B29474631424   JAY          GRANT                        MO     90004144746
38B2959332B87B   RICO         DAVILA                       ID     42076315933
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38B29653336143   JAIME         OLIVAS                      TX     90014746533
38B2972669156B   EMMA          PROVENCIO                   TX     90011717266
38B2B162A36143   ANTONIO       FLORES                      TX     90002951620
38B3157A65B52B   CRAIG         HOLTER                      NM     35047065706
38B31779455972   ROSA          HERNANDEZ                   CA     48070207794
38B3192135598B   ANGELICA      VASQUEZ                     CA     90007429213
38B32543872B25   ESMERALDA     RUVALCABA                   CO     90010745438
38B32912831424   OPHELIA       BOONE                       MO     27506779128
38B3315A42B968   VERNON        JONES                       CA     90010781504
38B33179855972   LUIS          SERANO                      CA     48095491798
38B3337775598B   GABRIELA      ARRIAGA                     CA     49064903777
38B34412941258   COLLEEN       OTOOLE                      PA     51086014129
38B3532827B639   ERICA         REYES                       GA     90012463282
38B3575A15B52B   GABRIEL       JURADO ESQUIVEL             NM     35097347501
38B362A4544345   TEAWANN       POLK                        MD     90014762045
38B3658238B139   FRANK         FRANCIS                     UT     90003155823
38B3698325598B   CHRISTI       VILLEGAS                    CA     90011539832
38B37571A55972   MIKE          ALCANTAR                    CA     90014265710
38B3787943B38B   ELVIRA        ESPINOZA                    CO     90010868794
38B37A6655598B   MARIA         SAENZ                       CA     49043830665
38B38579131424   DANIELLE      BOWE                        MO     90011525791
38B3896242B871   MAX           HADLEY                      ID     90011139624
38B3B73515B52B   LORETTA       GROS-VENTRE                 NM     35062037351
38B4128365B386   CRISTOPHER    PHILLIPS                    OR     90001142836
38B41355451367   DAN           FRITZ                       OH     66096803554
38B41366341258   SHAWNTIA      DURRETT                     PA     90011143663
38B41423724B39   SILVERIO      BENITZ                      VA     90007254237
38B4148267B639   RENETTA       WASHINGTON                  GA     90012994826
38B4242512B87B   SARAH         CELLERS                     ID     42095234251
38B43233384376   ALTON         SILVER                      SC     19069712333
38B43339A41285   NIKKI         TROY                        PA     51012983390
38B4354262B835   DIANA         PERRY                       ID     42044265426
38B4384865B52B   JEMIMIA       HOLYFIELD                   NM     35081578486
38B4393484B532   ASHLEY        UPSHAW                      OK     90010929348
38B44228151382   JUAN          GALAN                       OH     66098112281
38B4433744B281   KIM           THOMSON                     NE     90008613374
38B4499A355972   JESUS         GALAVIZ JR                  CA     48060279903
38B45599A4124B   LEOVARDO      POLANCO                     PA     51023265990
38B4595175B52B   VALDEZ        SHELDON                     NM     35090809517
38B4653145598B   JOANN         MADRIGAL                    CA     90011975314
38B4674442B835   DAMIAN        SANCHEZ                     ID     90014337444
38B4677155B393   RAH-HEIM      NED                         OR     90014167715
38B4788834B281   MAX           JACOBS                      NE     27003488883
38B47A7635B52B   ILIANNA       GOMEZ                       NM     35087260763
38B4833242B835   LENDY         ROMAN                       ID     90012903324
38B4836A184345   DIANE         WOODBERRY                   SC     90014943601
38B48722855927   ADRIANA       DELGADILLO                  CA     49099717228
38B4923975B393   CHRISTOPHER   LEAR                        OR     90014262397
38B49796A8B16B   MEGAN         WALLACE                     UT     90010917960
38B4B42AA31424   CIERRA        WASHINGTON                  MO     90014884200
38B4B72665B393   STEPHEN       SUNNES                      OR     44572427266
38B4BA8865B52B   ROJERIO       SANCHEZ                     NM     35095890886
38B5111324124B   GARCIA        MARIO                       PA     90010821132
38B51379241258   SHARLENE      RICKETTS                    PA     51052163792
38B5179735598B   NICOLE        HODGES                      CA     90013817973
38B51837631424   STEPHANIE     RAY                         MO     90012958376
38B51933951362   TONI          CROSS                       OH     90010359339
38B52227433B57   JORDAN        HUSK                        OH     90012292274
38B5224788B166   EDDY          WILLIAMS                    UT     90000722478
38B5225842B87B   SHERYL        PHILLIPS                    ID     42050322584
38B53636991831   JOLAUNDA      LUPER                       OK     90007406369
38B5498112B871   TASHA         LUDQUIST                    ID     42005189811
38B5529734B563   FERNANDO      CASTELAN                    OK     90008582973
38B55723541258   KAYLA         MCCASKEY                    PA     90015167235
38B55933A7B449   SHEILA        CALDWELL                    NC     90012299330
38B56963241285   TINA          RUSSO                       PA     90014599632
38B5753535598B   CHRISTINE     REYES                       CA     90014985353
38B5814532B835   PATTI         URY                         ID     90011311453
38B58563672496   DOROTHY       PREMUS                      PA     51001045636
38B5875263B388   LISA          MARKEY                      CO     33087867526
38B5913A572424   JOSEPH        SLOAN                       PA     51017181305
38B592A6136143   MARIEL        LICERIO                     TX     90001222061
38B59433974B7B   RONNELLE      WOLFORD                     OH     90015404339
38B5969358B16B   VICKY         SANCHEZ                     UT     90013466935
38B5989414B281   GIOVANI       CORBINO                     NE     90011288941
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38B5B238173221   FERNANDO     MATEO                        NJ     90014442381
38B5B3A3193754   VICKI        JOHNSON                      OH     90015063031
38B5B531891356   ANGELA       ABARCA                       KS     29008975318
38B5B576991232   ASHLEY       MCFARLIN                     GA     14587825769
38B5B91A831424   DARRYL       WHITTED                      MO     90014119108
38B5BA2A85598B   THERESA      GARLAND                      CA     49087840208
38B6319527B639   LATONYA      HALSTON                      GA     90014991952
38B6327835B393   LEWIS        ZIEGLER                      OR     90008742783
38B63931436143   NICK         VARGAS                       TX     90011159314
38B6412948B16B   PATTY        MARK                         UT     31002591294
38B6547723B388   SOCRATES     SALDARRIAGA                  CO     33085584772
38B65573431424   TIANNA       CRAFT                        MO     90009955734
38B658A4A5B52B   KARRIERAE    MONTE                        NM     90011328040
38B66222231424   ANNETTE      STEVENSON                    MO     27568732222
38B66424391232   KAREN        MALLORY                      GA     90008164243
38B67385A55972   LEONCIO      FLORES                       CA     48004003850
38B67945591891   CHRISTY      GRAY                         OK     90009969455
38B68A7A231949   JOHN         DELAROSA                     IA     90015490702
38B68A8795B56B   LEONARDO     ACEVES                       NM     90011900879
38B6934295B386   ABDULKADIR   BUHO                         OR     90013453429
38B69511955936   MARIA        RENTERIA                     CA     90001405119
38B6956215B56B   FLOR         ORDONEZ                      NM     36088945621
38B696A944B291   ADELA        ARCOS PEREZ                  NE     90007966094
38B6B35512B87B   MEGHAN       BISSET                       ID     42051693551
38B6B83742B87B   JOEY         HALL                         ID     90013138374
38B7178742B871   MEGAN        HERRING                      UT     42041737874
38B717A337B471   RAY          MORGAN                       NC     90013567033
38B7194752B87B   LARRY        MOORE                        ID     42082249475
38B7425457B622   GERICA       WILLIAMS                     GA     90013282545
38B7466992B87B   KRYSTAL      ESPINOZA                     ID     90014136699
38B74AA782B871   CESAR        AYLLON                       ID     90012800078
38B75132472B25   MONICA       YOUNG                        CO     90004561324
38B77A47691831   TAUREAN      HUNTER                       OK     90012030476
38B781A517B471   ALISHA       OATES                        NC     11095441051
38B78AAA191232   NEISHA       LAW                          GA     90008740001
38B7934932B87B   EDWARD       KILDOW                       UT     90010903493
38B79489476B64   BRISNET      CASTRO                       CA     90011514894
38B79912A57123   MARIA        MIRTALA MARTINEZ             VA     81014359120
38B7B94917B639   LATERRIA     SELLERS                      GA     90013959491
38B8139882B871   JAMIE        DEWITT                       ID     42089593988
38B81649736143   MICHAEL      STEWART                      TX     90013746497
38B81A6267B639   KAREN        ROSER                        GA     90012860626
38B8223625B52B   MAYTE        RIVERA                       NM     90013922362
38B8232145B52B   ELIZABETH    CARRASCO                     NM     90014803214
38B8261764B221   LISA         BILLMAN                      NE     27043016176
38B83185A41258   KIMBERLY     MALLOY                       PA     51008431850
38B8387A655972   GLORIA       FAJARO                       CA     90004028706
38B83882584326   ASHLEY       WILSON                       SC     90012488825
38B84665636143   MARVIN       WILLIAMS                     TX     90012766656
38B84743A2B871   MARK         CICCARELLO                   ID     42071937430
38B84936254122   SHEILA       SCOTT                        OR     90013329362
38B85121691561   DORA         ROE                          TX     75063561216
38B856A4191538   LILIANA      ALVARADO                     TX     75041156041
38B856A762B886   JEFF         JARDINE                      ID     90010646076
38B8621555B52B   CARLA        PALACIOS-TORRES              NM     90013892155
38B8623848B16B   SUMMER       RUPLE                        UT     31077972384
38B86261191934   REGINALD     BUTLER                       NC     90008282611
38B8626212B828   JENNY        MOORE                        ID     90012652621
38B8683587B639   LORY         CAMPBELL                     GA     90010118358
38B8687475598B   OLGA         CHAIDEZ                      CA     90009918747
38B8737115598B   FRANK        SANCHEZ                      CA     90011183711
38B88428841258   RONALD       BEASLEY JR.                  PA     51081694288
38B8848692B871   RICHARD      PRADO                        ID     42001244869
38B884A333B134   MICHAEL      LUCAS                        DC     90001564033
38B89A1765B52B   MELISSA      CARROLL                      NM     90014600176
38B8B68977B639   MIKITA       GRIIFFIN                     GA     90013626897
38B8B882A2B835   JOSE         VAZQUEZ                      ID     90011848820
38B91593161923   VINCENT      PALACIOS                     CA     46035605931
38B9216A72B835   LOVETTA      CARR                         ID     90012011607
38B9245725B52B   AMELIA       SAUCEDO                      NM     35097424572
38B9273558B16B   JESUS        HERNANDEZ                    UT     31065947355
38B93412341285   GUY LARUNT   JEAN NOEL                    PA     90012184123
38B936A3631424   TIMA         ALIHOEZIC                    MO     90013626036
38B937A8991831   REBEKA       WARRENT                      OK     21081067089
38B94214791356   ALMA         GOMEZ                        KS     90006072147
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38B9426252B871   ADINA        THOMPSON                     ID     90014442625
38B95693A36143   LORETTA      NAVARRO                      TX     73589786930
38B9572767B639   BRENDA       JORDAN                       GA     90012117276
38B9644597B471   JOSE         HERNANDEZ                    NC     11075674459
38B96488741258   DAMIEN       HODGES                       PA     51093594887
38B9677427B639   ORLANDO      HARVILEY                     GA     90010857742
38B9758749379B   JACK         VINCENT                      OH     90010815874
38B97642191232   JAN          RHETT                        GA     90000326421
38B97817A55972   JOSE         VICENCIO                     CA     48026448170
38B97A21436143   SONIA        SANCHEZ                      TX     90011370214
38B98119247829   AMY          LANCASTER                    GA     90008361192
38B98A21841285   DEWAYNE      SMITH                        PA     51072070218
38B99649855972   YARDLEY      DUSTIN                       CA     90005336498
38B9968A92B87B   CODY         GONZALES                     ID     90012616809
38B9999414B281   SARAYA       VOGEL                        NE     90003549941
38BB113257B639   TRYSHEEMA    WILLIAMS                     GA     90010121325
38BB1274741258   LORI         GUSTETIC                     PA     90012372747
38BB147145B156   REGINA       RHODES                       AR     90005124714
38BB1657972B44   JASON        BUTLER                       CO     90007766579
38BB2495231424   SHAYLA       BUCKLEY                      MO     90002614952
38BB2A22755972   RENATO       SANCHEZ                      CA     90013840227
38BB2A3592B835   DIANE        HANSEN                       ID     90011310359
38BB3875241285   JESSICA      RICHARD                      PA     90013738752
38BB4412831424   DEBRA        STARWOOD                     MO     90006634128
38BB4A1615598B   DOROTHY      SMITH                        CA     49032790161
38BB57A8993762   SHEKENNA     GUYTON                       OH     90002667089
38BB6119991952   MARTHA       BARILLAS                     NC     90009951199
38BB6656744B62   DANIELLE     STEELE                       OH     90014406567
38BB822658B179   MISTE        VANIEPEREN                   UT     90005952265
38BB867162B87B   WILLIE       OUTLAND                      ID     90013826716
38BB8835731424   REVELL       SHERMAN                      MO     90012958357
38BBB4A525598B   JACKIE       DAVIS                        CA     90011454052
38BBB676A4124B   DENISE       BRENNER                      PA     51071626760
38BBB727391232   TERRY        MITCHELL                     GA     14580617273
3911169555B344   KIMBERLY     THOMAS                       OR     90007276955
39111AA687753B   JAMES        HALL                         NV     90012700068
3911237644124B   DENNIS       OPFER                        PA     51076303764
39112A46576B89   ERICA        LARSON                       CA     90014100465
391147A6991584   JAFET        URIBE                        TX     90013457069
391154AA17753B   MADONNA      LENDON                       NV     90012134001
3911613A476B89   CHRISTIAN    RAMERO                       CA     90013011304
3911641198B162   HOLLY        MITCHELL                     UT     31097714119
3911656A85B52B   ERICA        VIVAS                        NM     90005285608
3911665A591371   SHAE         OKTAY                        KS     90015286505
39117131776B89   IRIDIAN      TEJADA                       CA     90012891317
3911786A755949   DAVID        ANDERSON                     CA     90015198607
39118133A41277   DAVID        CUKRZYNSKI                   PA     51008491330
3911827252B87B   BERNTSEN     GLORIA                       ID     90007932725
391182A577B449   FAYE         MCCLENNINGHAM                NC     11068822057
3911843797B492   ALICE        CHAMBERS                     NC     90013874379
3911952A72B241   TIKIA        NICKS                        DC     90009645207
3911B32A15B358   MARIA        GOMEZ                        OR     44587403201
3911B47A841285   LATORIA      BAILEY                       PA     90010734708
3911B662A7B492   JOCOBUS      VERMEULEN                    NC     90014296620
3911B6A765598B   ROMAN        RIVERA                       CA     90012856076
3912196372B87B   KASAUNDRA    LAKIC                        ID     42076429637
39121A3995B344   JOSHUA       GUERRA                       OR     90011790399
3912236A676B89   PERLA        MENDEZ                       CA     90011843606
3912357864B281   SANGBO       OSMAN                        NE     90014925786
3912392545B344   MARCOS       SALGADO RAMIREZ              OR     90002879254
391241A7A91371   VICTOR       TORRES-MURRILLO              KS     90012391070
3912452912B87B   DENISE       SPORTILLO                    ID     42074125291
39125527A7753B   MARY         HANDLEY                      NV     90003765270
39125A33355972   ARIANA       GARIRO                       CA     90012590333
3912611435B393   ANGEL        LEE                          OR     90013341143
3912645388B162   HEBER        SARMIENTO                    UT     90010854538
3912656945598B   CHEREE       WEAR                         CA     90012915694
39127122872B39   ERIC         BAILEY                       CO     33049761228
3912769A47B492   LAWANDA      HUGHES                       NC     90008966904
3912773A591831   REBECCA      HICKS                        OK     90014907305
3912826392B871   NEIL         WASSMUTH                     ID     42009192639
391282A2191831   COZELL       DONALD                       OK     90009472021
3912891845B358   JORGE        JIMENEZ                      OR     44500379184
3912946797B492   ROBIN        CHAMBERS                     NC     90013874679
3912B286841258   SILVANA      ASTURI-LAMP                  PA     90010372868
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3912B552A51329   NADINE       EMAHA                        OH     90002155520
3913231684124B   PAYGO        IVR ACTIVATION               PA     90013683168
391323A4591371   LINDSEY      SILVEY                       MO     29035203045
3913333165B52B   VERONICA     SALAZAR                      NM     35093603316
3913452596193B   TOM          DIAMOND                      CA     90003275259
3913492252B24B   MAMO         GERBA                        VA     90010319225
3913515922B871   DAVE         BIRKINBINE                   ID     42022811592
3913533414B281   BONNIE       CAULDER                      NE     27089033341
3913552787B471   JULIE        MOORE                        NC     90013465278
3913555273B399   RICARDO      DEJESUS                      CO     90003595527
39135947A7B492   SANTINA      SANDERS                      NC     90012979470
391365A7A7B495   SHEQUITA     WILSON                       NC     90011085070
3913797385B358   LORI         FRAZIER                      OR     90013429738
3913819757B376   DANIELLE     LEYLA                        VA     90013061975
3913835198B178   KATIE        JEFFS                        UT     90006073519
3913874145B52B   FRANCES      SERNA                        NM     35080807414
3913926417B639   TAWANA       RAGLAND                      GA     15055142641
391396A7291371   MEGAN        MCMBRIDE                     KS     90011966072
3913987375B393   FAITHANN     KING                         OR     90011428737
3913B47998B162   BOGDANSKI    MONA                         UT     90010114799
3913B619391831   PATTY        REED                         OK     90007826193
3913B63532B871   CRISTINA     TELLEZ                       ID     42046076353
3914134915B52B   VIVIANA      CHORA-CANALES                NM     35096313491
39141446A77544   ALBERT       BITETTO                      NV     90011784460
391418AA555949   BRIGETT      RODRIGUEZ                    CA     49086068005
3914245935598B   ESTHER       ALCANTARA                    CA     90007554593
3914318415B386   DENZEL       MCNASH                       OR     44564991841
39143671A76B89   LISA         WALLMAN                      CA     90015046710
3914445AA5B393   RACHEL       MARSDEN                      OR     90003624500
3914455412B87B   JACQULINE    KIESTER                      ID     90013485541
3914465A55B344   JODY         HERNANDEZ                    OR     90008906505
391453A4155949   MARTIN       SANCHEZ                      CA     90012093041
3914563815598B   TENISHA      WALKER                       CA     90000466381
391458A124B281   MARIA        RAMIREZ                      NE     90014388012
3914688A857122   KELEIGH      MANION                       VA     90007838808
3914716465598B   ASHLEY       SALAZAR                      CA     90012271646
391472A3931424   JAMIE        LUMPKIN                      MO     90014622039
3914867662B835   JANINE       MORGAN                       ID     90008416766
39149291A85943   MARTHA       MUNGUIA                      KY     90014112910
3914929A691321   BOBBIE       AKINS                        KS     90009292906
3914964394124B   ADDY         KOROTKO                      PA     90013966439
3915127835B358   DEREK        ANGEL                        OR     90011762783
3915145975B344   MARTIN       VIRGEN CASTREJON             OR     90011794597
391518A774124B   LEAH         CHARLES                      PA     51046348077
391521A3376B89   DANIEL       PRINZEN                      CA     90012071033
3915243A191584   AMANDA       BURCIAGA                     TX     75036444301
3915261A191371   GISELE       BARTON                       MO     29081616101
3915295157B449   EUGENE       STOWE                        NC     11038239515
3915318395B56B   DANIEL RAY   EVANS                        NM     90014581839
3915426584B281   MONIQUE      TATE                         NE     90002802658
3915544882B828   LISA         VANDENBERG                   ID     42083084488
39155517A5B358   RONALD       SIMMONS                      OR     44509955170
3915599557B492   JOSE         GARCIA                       NC     90014439955
3915617275B52B   DONALD       THOMAS                       NM     90015251727
3915688565B156   BRITTNIE     COOKSEY                      AR     23081078856
3915689977B471   JUAN         ACOSTA                       NC     90013778997
3915698372B835   CURTIS       LINDSEY                      ID     90013339837
3915739367B449   PAMELA       WILSON                       NC     90012943936
3915757A561984   HERIBERTO    VARGAS                       CA     46004065705
3915815214124B   PAUL         BARKCO                       PA     51059561521
3915852775B52B   TRACEY       NEUHAUS                      NM     35012865277
3915959185B344   SHEENA       BILLS                        OR     90001685918
391598A3A91232   GEORGE       JOHNSON                      GA     14541278030
39159A9A74124B   JAMEY        WAUGH                        PA     51016030907
3915B29A691321   BOBBIE       AKINS                        KS     90009292906
3915B99895B264   KAREN        FLANIGAN                     KY     90003309989
3916181117B492   FERNANDO     SANCHES                      NC     90003718111
3916313735B52B   SAMUEL       CASTILLO-MENDOZA             NM     35021541373
39163A73A55949   MARY         CORRILLO                     CA     90012770730
39164624A4124B   VICTORIA     PETERMAN                     PA     51089096240
3916463238B162   BRANDON      PETERSON                     UT     90006206323
39165463A55949   ANITRIA      SELLERS                      CA     90015204630
3916593A82B87B   ANGEL        PEREZ                        ID     90010259308
39165A16441258   MONE         PARKER                       PA     51074080164
3916631194124B   CARLA        ROUSE                        PA     51000633119
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39166A1872B87B   BENJIMEN      LEARNED                     ID     90005340187
391674A3855949   GUALDALUPE    RODRIGUEZ                   CA     49026174038
3916848257753B   AMY           FREELS                      NV     90005834825
39168A2744124B   GINA          IGERSHEIM                   PA     90002150274
3916951615B358   ERICK         HERNANDEZ                   OR     90015135161
39169524A91371   GRACIELA      LOPEZ                       KS     90012515240
3917122984B954   BRIANNA       SHIELD                      TX     90012722298
3917169264124B   VERONICA      BRADBURY                    PA     51061786926
39171A67A7753B   MARTHA        PEREZ                       NV     90011140670
39172766A5598B   VALENCIA      REINA                       CA     90001227660
3917381817753B   JOHN          WHITTAKER                   NV     90014108181
3917486A191232   ROBERT        SCOTT                       GA     14512418601
391748A427753B   ROSA          SILVA                       NV     90012018042
3917514745B52B   JAMIE         RAEL                        NM     90010561474
3917522635B393   JOHN          BARKER                      OR     90010312263
3917528A25B393   JENNIFER      FERGUSON                    OR     90004102802
391752A8731424   COBIE         SHINAULD                    MO     90010662087
3917545215B344   OLIVIA        TORRES-BEJAR                OR     90010084521
391758A1A5598B   ULISES        CALVILLO                    CA     90011268010
3917615A55B52B   ALURA         MONTANO SAIZ                NM     90010561505
3917685565B358   JUAN J        JOVEL                       OR     44564438556
3917734335B52B   WILLIAMKOLE   JOHNSTON                    NM     90004233433
391774A6576B89   KAREN         VURIK                       CA     90010164065
3917751115B393   BRYCE         WASHINGTON                  OR     90014345111
39178378476B89   OSCAR         MAURICIO                    CA     90010943784
39178A28391371   EZEKIEL       MOORE                       KS     90014190283
3917923A12B87B   JESSENIA      PADILLA                     ID     90009012301
3917932474B281   LORENA        SAAVEDRA                    NE     27072953247
391798A9631424   NEKITA        DAVIS                       MO     90012458096
3917B51615B358   ERICK         HERNANDEZ                   OR     90015135161
3917B52972B871   VIRGINIA      NIETO                       ID     42005275297
3917B634A2B835   DANA          CARTER                      ID     90010606340
3917B77477B492   PAULETTE      LATTIMORE                   NC     11064937747
3917BA32284334   MARCUS        RICHARDSON                  SC     90012000322
3918156388B16B   ATKNSON       ELENIOR                     UT     90003655638
39181625A5B358   ARMANDO       TELLO SR                    OR     90014486250
39181A1787B492   SWIMMY        JOHNSON                     NC     90014520178
391826A727B492   LINDA         MASON                       NC     90008156072
39183246476B89   BRITTANY      JOBE                        CA     90008022464
391837A3933B2B   GERALD        HOWLEY                      OH     90014247039
3918459847753B   LUCIANA       LEMOS                       NV     90001375984
39185276A4124B   JAMICA        ZIEGLER                     PA     90013142760
3918556375B393   BONITA        HOWARD                      OR     90012485637
39186338A7753B   DENISE        MARTIN                      NV     90004223380
3918666A691584   MARCELA       CARDENAS                    TX     75075616606
391875A2A2B835   SUSAN         PETTIT                      ID     42029925020
3918859795B344   HELI          ANDRADE                     OR     44589055979
3918873497B492   CATHY         ROSS                        NC     11043167349
3918982755B344   TKIT          BARNER                      OR     44582578275
3918B51172B871   KEVIN         SCHAFER                     ID     42037105117
3918B512436B77   CORY          CALDWELL                    OR     44541155124
3918B97267B471   BRIANNA       BRANTLEY                    NC     90014559726
3919151987B492   MARY          BYERS                       NC     90013875198
3919186A461435   JORJE         LOPEZ                       OH     90013898604
3919191138B164   ROBERT        ZANONE                      UT     90004039113
391919A815B281   BRANDIA       TODD                        KY     90013879081
3919242A141285   AMBER         BILL                        PA     51026394201
3919265A891538   ENRIQUE       HERNANDEZ                   TX     90007496508
39192768776B89   LIZBETH       PEREZ                       CA     90013277687
3919319A857569   HANK          LOPES                       NM     90014611908
39193A3A444B62   MARIA         TAYLOR                      OH     90013890304
3919455717B492   TAMIA         HAYES                       NC     90014135571
3919499612B835   JASON         DECHAMBEAU                  ID     42051559961
3919585317753B   WILLIAM       BARRINGER                   NV     43087668531
3919598585B358   FRANCIS       GAMEZ                       OR     90005829858
39195A1242B835   CHRISTINA     LUBACKY                     ID     90010720124
3919643145B344   JAMES         COLLINS                     OR     90006214314
3919666A691584   MARCELA       CARDENAS                    TX     75075616606
3919693A37753B   JAVIER        SEPULVEDA                   NV     90014909303
391977A9A5B59B   JOE           RIVERA                      NM     90009567090
39198657576B89   JOSE          MAURICIO PINEDA             CA     46015166575
39199127A5594B   CRISTINA      RANGEL                      CA     90012991270
3919922475598B   PAULA         GOMEZ                       CA     90013392247
3919B92A776B89   MARIA         CUEVAS                      CA     90002069207
3919BA32936B77   SARA          ROBERTS                     OR     44582200329
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391B1559355972   SAMANTHA     PONCE                        CA     90013125593
391B2132576B89   DIOSMELDA    MORENO                       CA     46054161325
391B2324731424   DANNIE       KINDLE                       MO     90014703247
391B26A125598B   OMAR         HERRERA                      CA     90012526012
391B312995B393   REBECCA      BROWN                        OR     90003041299
391B3443576B89   LUIS         RINCON                       CA     90012114435
391B347935B281   JASMINE      STARLING                     KY     68075204793
391B359728B162   EFREN        ORTIZ                        UT     90011195972
391B3A3515598B   KATE         ZELLER                       CA     90014650351
391B446744B576   SHIRLEY      SMITH                        OK     90011094674
391B495115B156   CHRISTOPHE   ESTRADA                      AR     23003809511
391B5727751331   JANISE       TIPTON                       OH     90011437277
391B62A8491371   JOEL         GUZMAN                       KS     29067032084
391B677437B492   S            ROBINSON                     NC     11042477743
391B8821276B89   OSCAR        SALAZAR                      CA     90014188212
391B899662B87B   DEONNA       CARLSON                      ID     42083449966
391B9255498B25   FRANSICO     GRIMALDE                     NC     90009632554
391B9397176B89   ERIKA        LUIS                         CA     46013663971
391B988735598B   HEATH        SUMMERS                      CA     90011938873
391BB53694B922   TAMMY        SIMPSON                      TX     90013355369
3921141A155972   RAELA        SCHLAICH                     CA     90013004101
3921165984124B   PATRICIA     LAUGHLIN                     PA     90013966598
3921236452B857   FRANCISCO    RAMIREZ                      ID     90007913645
3921239885598B   DAMETRIC     GREEN                        CA     90015023988
39212532576B89   SILVIA       CRUZ                         CA     90006515325
3921333814124B   DAWN         LOOP                         PA     51042343381
3921363115B393   ANNE         ELIZABETH MARTIN             OR     44517926311
39214A9384B281   KHAMBA       GURUNG                       NE     27013180938
39215A49991584   JOSE         MANRIQUEZ                    TX     90003230499
392164A7A91371   ROSALINDA    CEDILLO                      KS     90010094070
3921656127B471   EBONEE       JOHNSON                      NC     11003055612
392165A497B492   KIMBERLY     LLOYD                        NC     90013965049
39217295376B89   ANNEKE       SCHIEBERL                    CA     46015622953
3921753725B52B   PHILLUP      LOPEZ                        NM     35036715372
3921773132B871   DONYA        WHITMER                      ID     42093047313
3921783277753B   ELISA        RUELAS                       NV     90000218327
3921785592B835   PAYGO        IVR ACTIVATION               ID     90015028559
39217A38691371   JESSICA      WHITCANACK                   KS     90014520386
392182A1941285   CHARLES      THOMA                        PA     90014312019
3921895A231424   CHRISTINA    PIERCE                       MO     90015129502
3921896A67B432   CARLOS       GUZMAN                       NC     90008709606
3921965A67753B   JOSE         LOPEZ-GONZALEZ               NV     90013356506
39219A19685965   JAPHTER      TETTEH                       KY     90011960196
3921B16422B87B   ALMENDRA     RODRIGUEZ-HOLGUIN            ID     90009391642
3921B65114124B   BREANNA      WANK                         PA     90010706511
3921B821A4B281   JOCELYN      BELL                         NE     90014928210
3922123135598B   AIOTEST1     DONOTTOUCH                   CA     90015122313
3922181437B492   KELVIN       GONZALEZ                     NC     11064688143
39221877A5B393   AHMED        ABU                          OR     90013688770
3922199362B871   BECKY        MOAQUEDA                     ID     90011759936
3922223577753B   YURI         MANZO                        NV     90011902357
392224A665B393   MARK         DORMIER                      OR     44566464066
3922381897B471   KENNETH      BERRY                        NC     90010568189
3922482897B471   DEBRA        DAYE                         NC     90014768289
3922494A755972   YUNI         VALENCIA                     CA     48094109407
3922522252B871   DOUGLAS      BOYCE                        ID     42032432225
3922544A741258   EMMANUEL     MENDOZA                      PA     90007474407
39226335A55972   APOLINAR     PACHECO                      CA     90010703350
3922673915598B   ALEX         NAVARRETTE                   CA     90014477391
392269A2A7B639   ISHMEL       PLOWDEN                      GA     90009859020
39227192A76B89   CARL         CUMMINGS                     CA     90010751920
3922763275B156   SCOTT        MICHAEL                      AR     23091226327
3922877417B471   CARLOS       SANCHEZ                      NC     90012597741
39229295476B89   MARY         PEREZ                        CA     90011962954
3922983617753B   ROBERT       MEEKINS                      NV     43018458361
3923125575B156   JOSIE        POMPA                        AR     23053442557
39231462A4124B   EDWARD       COLLINS                      PA     51086004620
3923179567753B   SHELL        COOKS                        NV     90011437956
39231A4695598B   JUDY         MELIKIAN                     CA     49090400469
3923233175B344   BRANDON      NULL                         OR     90001793317
3923316A576B89   NORMA        MARTINEZ                     CA     90008311605
3923324215B344   SARAH        PETERS                       OR     90011802421
3923472557B471   CHRIS        MOODY                        NC     90010557255
3923487954B281   CLAUDIA      SALES                        NE     90014928795
3923568115B393   ALAMA        HERNANDEZ                    OR     90005626811
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3923578575B358   JOSE         MENDOZA                      OR     90014607857
3923643912B871   ALAN         SEID                         ID     90011614391
3923659125B344   AMERICA      BENITO                       OR     44587385912
3923694272B24B   HEATHER      MCNAIR                       DC     90002739427
3923697AA41258   BRUCE        MORROW                       PA     90003099700
3923735A65B358   JERRY        BUCKNER                      OR     90014243506
3923775352B871   GUSTAVO      GUEVARA                      ID     42089307535
3923778575B358   JOSE         MENDOZA                      OR     90014607857
3923816348B16B   CLYDE        RHODES                       UT     31079051634
39238595A91584   ALEJANDRA    HERNANDEZ                    NM     75051555950
3923946635B344   MODHAFER     ALMAHE                       OR     90009194663
392399A895598B   FILIBERTO    HERNANDEZ                    CA     90004919089
39239A2958B16B   BLANCA       GALLAGA                      UT     90007180295
3923B26757B471   ELIZABETH    SIMPSON                      NC     90003912675
3923B277476B89   NAZARIO      GONZALEZ                     CA     90010692774
3923B29777B492   AMY          LOFGREN                      NC     90014012977
3923B623855949   CAMILA       VERDUZCO                     CA     90011146238
3923B646155949   PATRICIA     TORRES                       CA     90013306461
3923B6A518B16B   ATHLEEN      RICE                         UT     31092536051
3924177A12B835   DONALD       ANDERSON                     ID     42030347701
392418A5791959   EDUARDO      AVENDANO                     NC     90010488057
39241925976B89   LILIA        HERNANDEZ                    CA     90012899259
392419A785B281   CHRISTOPHE   BISHOP                       KY     68011119078
39241A17131424   TRANADA      FINLEY                       MO     27563760171
39241AA385B358   JESUS        OCHOA                        OR     90012360038
3924258544124B   NADIR        DERADO                       PA     90012995854
39243224A55949   MOISES       MAGALLANES                   CA     90013172240
3924367235598B   RALPH        MARTINEZ                     CA     90013936723
39243A8895B358   NICHOLAS     STONE                        OR     90014820889
39243AA725B344   ISIDRO       FINO ACATITLAN               OR     90008610072
3924457152B87B   JULIANA      TOLVES                       ID     42097395715
3924489935B393   ZAKIYA       HARRIS                       OR     44514198993
3924513577753B   MARIO        VALLE                        NV     90009691357
3924563375B281   DERRICK      JAMES                        KY     90007786337
39245A95991831   GEORGENE     WHITE                        OK     90010890959
3924616195B393   JAMES        THORSEN                      OR     90009811619
3924616562B835   AARON        ALFARO                       ID     90015041656
39246254972B24   CYNTHIA      COMPEAN                      CO     90011612549
3924626914B281   NORMA        CARDENEZ                     NE     90009252691
3924667344124B   TIMOTHY      KOERBEL                      PA     90013966734
392473AA561982   RAUL         TELLO                        CA     46092753005
392478A9231424   JOSEPH       MOWRY                        MO     90012408092
3924B253685833   SANTIAGO     ALVARADO                     CA     46058762536
3925178A47B492   ROBERT       ROGERS                       NC     90015617804
3925187655598B   JAIME        LEON                         CA     90012838765
3925229674124B   LONIKA       MOSES                        PA     51031382967
3925262325598B   CHRISTINE    QUINTANA                     CA     90003556232
3925265455B52B   WALDREIA     CLARK                        NM     90005286545
39253369776B89   RAUL         BERMUDEZ                     CA     90010703697
39254483A41285   TIAWAN       HARPER                       PA     90015294830
392556A425B393   MARCELLA     KETCHERSID                   OR     90011086042
3925572195B358   SILVIA       JACOB                        OR     90007907219
39255A4382B835   ANNA         PAYNE                        ID     90010610438
39255A6832B87B   SCOTT        ZIMMERMAN                    ID     42098200683
3925693A791525   GILBERT      TAPIA                        TX     90002449307
3925757485B344   JASON        JOHNSON                      OR     44510055748
3925828725B358   STEVN        SMELSER                      OR     90015182872
3925833752B87B   EVELYN       ADAMS                        ID     90001343375
39258878A31424   HARRY        TUTHILL                      MO     90012968780
39259791A5B281   DEYSI        VIVAS                        KY     68066917910
3925B24775B344   MIGUEL       CASTILLO                     OR     90005892477
3925B531155949   NEREIDA      ALVARADO                     CA     90007845311
3926117355B393   LUIZ         HERNANDEZ                    OR     90012191735
3926123192B871   SUZIE        NUNEZ                        ID     42038052319
392613A585598B   ESMERALDO    ESPINOZA                     CA     90008143058
3926258AA7B639   BRETON       JONES                        GA     90005385800
3926319647753B   GERARDO      GAVILAN                      NV     90010061964
39263526A4124B   MELODY       TURNER-KONAN                 PA     51016095260
3926384535598B   JENNIFER     LANEY                        CA     90001468453
3926432372B87B   ALEX         VOTA                         ID     42088253237
3926453285B52B   JONATHAN     ROOT                         NM     90014415328
3926471438B162   MARIA        RUIZ                         UT     90013097143
392656A3191232   ROBERT       BROWN                        GA     90010766031
3926677A572B33   JARYD        WHITE                        CO     90007297705
39267A9752B87B   KEVIN        SHOECRAFT                    ID     42081780975
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3926816995B393   ASHLEY        ENGLISH                     OR     90014231699
3926837367B436   GLENDA        SOTOIZANO                   NC     90001593736
3926864975B52B   JESSICA       PINEDA                      NM     90009816497
39268696A5B281   BLAINE        SPAULDING`                  KY     68086366960
3926B82634124B   JUANDA        SMITH                       PA     90010518263
3926BA1215B52B   KYLE          BLACKWELL                   NM     90013740121
3927183838B162   MARILYN       KOBYLANSKI                  UT     90011738383
392718A3391831   KHARA         TAYLOR                      OK     90003958033
3927195885B344   THAD          MACMILLAN                   OR     44568359588
392724A465B344   VALERIE       WICKHAM                     OR     44558944046
3927275AA71924   CAROLYN       OUTLAW                      CO     90010587500
3927288937B449   BRANDON       SUNDEEN                     NC     11096968893
3927352814B281   KATRINA       CHISM                       NE     90014935281
3927364A62B871   ANGIE         AMOR                        ID     42010216406
39273A24476B89   JUAN          DIAZ DE LEON-PEREZ          CA     90004330244
3927413575B393   LOLA          SANCHEZ                     OR     44556551357
3927558332B87B   SHANARRA      VALLETTE                    ID     90013075833
3927689127B471   EBONY         COVINGTON                   NC     90010608912
3927849372B871   TERRAN        FINLEY                      ID     90008014937
3927857717B471   ROSARIO       ESTRADA                     NC     11064775771
392795A4A5598B   CITLALIC      QUIROZ                      CA     90012885040
3927972662B87B   ALFREDO       LOPEZ                       ID     42006327266
3927B212285833   CARMEN        CEDILLO                     CA     46073132122
3927B298241285   APRIL         MAE                         PA     90007192982
3927B364155972   CRYSTAL       CEBALLOS                    CA     90013753641
3927B415A5B344   SKYLER        FEVIG                       OR     90011804150
392815A5297B57   MICHAEL       SANTANA                     CO     90011855052
39283938A7753B   RACHEL        MILLS                       NV     43020389380
3928428AA91831   JACQUELYNE    WILLIAMS                    OK     90013702800
3928436945B156   GUILLERMO     CASTANEDA                   AR     23024453694
3928459617B449   AQUILLA       MADDOX                      NC     11093625961
3928593125598B   MAI           YANG                        CA     49010549312
39285A42841285   KISHA         GARDER                      PA     90009920428
3928667512B87B   ISAAC         FERGUSON                    ID     90012466751
392868A4941277   BRITTANY      LYNNSMITH                   PA     90007248049
39286A43897198   STEPHEN       ESTRADA                     OR     90014180438
39286A96576B89   PEDRO         ANGON JR                    CA     46016130965
39287A43897198   STEPHEN       ESTRADA                     OR     90014180438
3928918825598B   LAURA         MARTINEZ                    CA     90014181882
3928922882B871   MARIA         DELA CRUZ                   ID     90005332288
3928924122162B   LETA          GRAY                        OH     90013952412
39289338376B89   ROBERTO       RAMIREZ                     CA     90010313383
3928973227B471   ALMA          ZAMORA                      NC     90006457322
3928B215971942   KIMBERLY      VALLE                       CO     90012102159
3928B447631424   CRIS          WILSON                      MO     90013064476
3928B83AA7753B   ALEJANDRA     SOTO                        NV     90010168300
3928BA3314B281   BONNIE        PETERSEN                    NE     27077740331
39291955176B89   SANDY         SIXTO                       CA     46015689551
39291A78541285   KATHLEEN      DITTMAR                     PA     51008420785
39292312A5B393   MIRANDA       RODELO                      OR     44591033120
392926A385B385   MICHAEL       J DREW II                   OR     44540596038
3929338932B87B   PAULA         GAXIOLA                     ID     90007553893
3929347947B492   JULIE         MERRILL                     NC     90015144794
3929397158B16B   CHRISTOPHER   LUCERO                      UT     90011349715
39293A8487B471   KEOKI         FULWILEY                    NC     11078180848
39294A96576B89   PEDRO         ANGON JR                    CA     46016130965
3929569237B449   TAHIESHA      HAMILTON                    NC     90005886923
39295895A5598B   JUVENAL       ZARAGOZA                    CA     90014348950
39296A1645B358   LILIANA       ALVARADO                    OR     90014660164
3929722155B358   NICHOLAS      PROCTOR                     OR     44564692215
392973A9831424   MIYELL        BOYD                        MO     90014083098
3929844182B871   MICHAEL       AUSTIN                      ID     90014664418
39298A1645B358   LILIANA       ALVARADO                    OR     90014660164
3929963965598B   AIOTEST1      DONOTTOUCH                  CA     90015116396
39299A36736B77   PEREZ         MAYRA                       OR     90008730367
3929B66775B358   SCOTT         RICE                        OR     90014656677
3929B86298B16B   KARA          MILNER                      UT     90001708629
3929B881176B89   ARTURO        MORALES                     CA     46070978811
392B148388B162   SHAWN         CONDRON                     UT     90005784838
392B1554A2B835   MARY          KANE                        ID     42011465540
392B174232B87B   JUDITH        CALDERON                    ID     90003737423
392B224227B471   RICKIE        BREWER                      NC     90006062422
392B2598141277   JACLYNN       MCGAW                       PA     51095875981
392B271A376B89   JASON         MCMILLEN                    CA     90013937103
392B3244685833   LYNNETTE L    BUTTON                      CA     90011782446
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392B3247991584   RUTH         GOMEZ                        TX     90013132479
392B332915B344   DENISE       OBREGON                      OR     44506113291
392B336A34B281   ELI          VALENZUELA                   NE     27007313603
392B371748B162   JOSE         DELGADO                      UT     90010127174
392B413335598B   ALEJANDRO    MARTINEZ                     CA     49081491333
392B4925976B89   LILIA        HERNANDEZ                    CA     90012899259
392B537865B344   LUKE         BUCHMANN                     OR     90000873786
392B541325B281   TIFFANY      EUBANKS                      KY     68079144132
392B672517753B   TARA         FLORES                       NV     90014467251
392B7416976B89   MIKE         ROBBLES                      CA     90013834169
392B7499785833   CLADIA       CHAPA                        CA     90003354997
392B7976997126   ROGER        DRENNEN                      OR     90005159769
392B7A6915B281   ALLEN        CURRY                        KY     90004570691
392B817175B52B   RAMONA       RIMORIN                      NM     90010561717
392B8599A41258   BRYAN        FLYNN                        PA     90000795990
392B8691472B33   IRMA         HENRIQUEZ                    CO     90012886914
392B8723455972   ALEXIS       STEWART                      CA     48088507234
392B8825672B33   IRMA         ENRIQUEZ                     CO     90006368256
392B8A51855949   PATRICK      HERNANDEZ                    CA     49081880518
392B9678741258   ANTHONY      FICARRI                      PA     51064246787
392B9927876B89   VICTOR       OROZCO                       CA     90012899278
392BB134455972   GUILBERT     FRIAS                        CA     90013861344
392BB51615B358   ERICK        HERNANDEZ                    OR     90015135161
39311545A7753B   PABLO        PEREZ                        NV     43005275450
3931163292B87B   BLANCA       CORTES                       ID     90010226329
393126A895B281   JONNIE       STEWART                      KY     68000626089
39312A49A7B471   HEATHER      MASSEY                       NC     90011970490
39312AA4A7B639   ANTHONY      WHITE                        GA     90013150040
3931336A95132B   LATISSHA     HOLLOWAY                     OH     90004643609
39315652636B77   GERMAN       VILLALOBOS                   OR     90008876526
3931584272B87B   JAMES        SULLIVAN                     ID     90004008427
3931644772B835   JAMIE        LOVELL                       ID     42016754477
39316486A5B358   SABINA       BEUSCH                       OR     90014704860
3931674767753B   MARTHA       SORIANO-DETRUJILLO           NV     43012947476
3931743158B16B   JUAN         SANCHEZ                      UT     31028764315
393177A7555972   WILLIAM      CASTLEMAN                    CA     48048697075
3931835257753B   ERIC         NUNEZ                        NV     90000313525
3931857887B471   DONNA        SHARPE                       NC     90012845788
3931B28535B52B   FRANCESCA    TRANGO                       NM     35040032853
3931B348441258   CHANEL       SEATON                       PA     90013813484
3931B783A7753B   RODRIGO      RUIZ                         NV     43093547830
3931B946655949   ALEXANDRA    GARZA                        CA     90012829466
3931B99614B281   DESTINY      LINCOLN                      NE     90010969961
3932147542B87B   COREY        SEELY                        ID     90004144754
39321A4922B871   BECKY        JENSON                       ID     42016520492
3932289645B358   JUANA        GOMEZ                        OR     90014718964
3932314695B52B   EMILIA       CARRASCO                     NM     90011291469
3932344855B344   YAMILKA      VELAZQUEZ BASTISTA           OR     90008934485
3932348537753B   IGNACIO      SOLORIO                      NV     90015044853
393235A995B358   ALEX         MELGOZA                      OR     90006005099
3932473582B87B   TODD         CZAPLICKI                    ID     90008707358
3932489A35B344   ANTONIO      MORAN                        OR     44526828903
3932528265B344   MEDINA       REYES                        OR     44532352826
3932596625598B   DEBORAH      WEAVER                       CA     90001559662
3932648447753B   ANA          MEDINA                       NV     43072424844
3932692692B871   PAUL         MARTINEZ                     ID     42023889269
39326A6732B871   PAUL         MARTINEZ                     ID     90013010673
39326A92555949   JUAN         PABLO                        CA     90011980925
3932764244B281   NATALIE      HORVATH                      NE     90014936424
39327726A7B449   GLORIA       MICKLE                       NC     90006937260
39327857376B89   BERTA        ESCOBAR ALFARO               CA     90012478573
39327A28291232   LORI         COLLINS                      GA     14578370282
3932815242B968   HEATHER      HUNT                         CA     90011521524
3932823135598B   AIOTEST1     DONOTTOUCH                   CA     90015122313
3932838A45B358   RICHELE      SCHULTZ                      OR     90000993804
3932978455598B   ROSA         SALINAS                      CA     49089057845
3932992A32B87B   LEE          GARNER                       ID     90014919203
39329A95755972   RACHEL       MARTINEZ                     CA     48058680957
3932B813141277   SHANNA       PITTS                        PA     51044928131
3932B95485B393   WILLIAM      GONZALEZ-PEREZ               OR     90011399548
3933138A45B358   RICHELE      SCHULTZ                      OR     90000993804
39331A6294124B   ANGELA       BLACKMON                     PA     90005470629
3933287725B393   JOSE         ALVARADO                     OR     90013508772
393335A932B87B   RICHARD      CHAMPERLAIN                  ID     42094605093
3933362A85B24B   BRIANA       THOMPSON                     KY     90004956208
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393346A1441285   JOHN          WEISBROD                    PA     51085056014
393348A1191232   MECHELLE      HILL                        GA     14538268011
3933517222B87B   JAMES         FIVECOAT                    ID     42006671722
3933536345B344   MICHELLE      JONES                       OR     44518173634
3933662914124B   LISA          WAYORSKI                    PA     90014946291
3933668254124B   JULIAN        SHAW                        PA     90013966825
39336AA6A81642   AMY           SCHLOTTERER                 MO     90010300060
3933717392B87B   MATTHEW       BOMAN                       ID     90013521739
3933761292B835   TIMOTHY       CASTANEDA MARTINEZ          ID     90010616129
3933775745B358   JENNIFER      SHULER                      OR     90009237574
3933941724124B   LISA          BELFIORE                    PA     90013964172
3933964875B344   ROBERT        SPRING                      OR     44559126487
39339A9197B471   STACY         EDMOND                      NC     90008810919
3933B977855949   JOSE          ESPINOZA                    CA     90013099778
3934178575B358   JOSE          MENDOZA                     OR     90014607857
393419A2855972   MARISA        EDDINES                     CA     90005299028
393425AA591543   ROSA          GALINDO                     TX     75039405005
3934262272B871   ROBERT        CROFT                       ID     42017956227
3934313572B835   REBECCA       GAMMEL                      ID     90008801357
3934341585598B   RAFAEL        MOJICA                      CA     90012434158
3934525757B471   RANDO         WALES                       NC     90014172575
3934555327B492   TAMIKA        GLORER                      NC     90007885532
3934712265B156   ERIC          GRAVELY                     AR     90002561226
3934743724B542   DARRYL        JENKINS                     OK     90012554372
3934745A155949   ROBERTA       BRACAMONTE                  CA     49047104501
3934785562B871   ALFREDO       MORALES                     ID     42079438556
39347A82657172   JOSE          QUINTANILLA                 VA     81051630826
39348628944B62   JUAN          PALAYOT                     OH     90015156289
39349274376B89   RACHAEL S     BERBER                      CA     90008622743
3934B19382B835   JULIAN        MCCREATH                    ID     90015071938
3934B511172B34   STEVE         VULLO                       CO     90000195111
3934B5A444124B   MARK          NELSON                      PA     90011945044
3934B78575B358   JOSE          MENDOZA                     OR     90014607857
3935131472B871   LONNIE        WHITE                       ID     90004213147
3935159645B344   JEREMY        BAUGHMAN                    OR     44559975964
3935166115598B   PATRICIA      ORONA                       CA     49006466611
3935173894B281   CAMERON       COX                         NE     90014937389
393517A7777544   CRYSTAL       AGUIAR                      NV     43018357077
3935183645B393   BILL          STRADLEY                    OR     44551398364
3935195467B639   NASTASSIA     GARY                        GA     15087079546
393524A857753B   MONICA        MARQUEZ                     NV     90013694085
3935257434B281   KAVION        EVANS                       NE     90007885743
3935278277B492   APRIL         ATKINS                      NC     90015617827
3935295225B255   HUBERT        FARMER                      KY     90011329522
3935321A176B44   CEFERINO      SOTO-CASTANEDA              CA     90011492101
3935331952B871   LILLIAN       BAKER                       ID     90009283195
3935391195B393   MCKENCY       NYONG                       OR     44512969119
39353A82657172   JOSE          QUINTANILLA                 VA     81051630826
3935464997B492   CAROL C       GRAHAM                      NC     90015076499
39354A6314B281   KARRIE        HENDERSON                   IA     90000610631
3935512267B471   CHRISTOPHER   LOGAN                       NC     90010561226
39356373376B89   ELENA         ELENA                       CA     90010313733
3935659625598B   IVAN          GUERRERO                    CA     90007555962
39356886A85833   ROBERTO       GONSALEZ                    CA     90011788860
393577A722B87B   GRACIE        ATKINSON                    ID     42004877072
3935821947B639   RAVI          UPSHAW                      GA     15054952194
3935836A15B58B   YESENIA       RAMOS                       NM     90009083601
39359795176B89   BRI           BANKS                       CA     90013227951
39359A22255972   ANNA          AVALOS                      CA     90000660222
3935B22764B281   DUVEE         KABORE                      NE     90005582276
3935B25782B87B   BRITTANY      REICHEL                     ID     42080072578
3935B2AA75B393   BRETT         BROWN                       OR     44515792007
3935B83625B52B   JESSICA       MCGINTY-LANAE               NM     35062288362
3935B95178167B   JOSE          MAGANA                      MO     90005159517
3936196524124B   BRITTANY      TAYLOR                      PA     90012159652
3936216285B344   ANTONIO       NAVARRO GONZALEZ            OR     90011811628
39364118A8B162   JULIO         RIVAS                       UT     31005811180
3936424955598B   CATHERINE     GONZALES                    CA     90011482495
3936527A25B358   RONALD        COOLIDGE                    OR     90014792702
3936595688B162   ROGELIO       REYES                       UT     31006729568
3936615975B393   SHARON        DICKMAN                     OR     90010831597
393677A356B242   AALIYAH       GARCIA                      AZ     90014007035
39367862A41244   STEPHEN       WEIS                        PA     90002108620
39367AA5191831   ULISES        MAZARIEGOS                  OK     21092730051
3936838474B281   TOMAS         GARICA                      NE     90013493847
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3936849565598B   JORGE         LAZO                        CA     90000664956
3936947379156B   ARCELA        LOZANO                      TX     90011594737
3936968A45B393   ESTUARDO      PINEDA                      OR     44514406804
3937143218B162   LORI          HAGSTROM                    UT     31030184321
3937163632B871   ANGELA        HERNANDEZ                   ID     90007386363
3937336A17753B   KENDRA        RUDDELL                     NV     90012953601
3937343242B835   ELVIRA        ALVAREZ                     ID     42084174324
3937363515B358   KELLY         MALLON                      OR     90000296351
3937468235598B   BRITTANY      DIAZ                        CA     90012546823
39374821976B89   ANDREAS       PLEIL                       CA     90010458219
39374AA837B492   WINONA        DAVIS                       NC     11071540083
39375A5717753B   ANGELICA      BERNAL                      NV     90011890571
393762A545B264   FATIHA        ZAHAF                       KY     68056842054
3937655772B87B   LEWIS         FLOWER                      ID     90011055577
3937656965598B   MANUEL        MARTINEZ                    CA     90011065696
39376667176B89   NORMA         SANCHEZ                     CA     46071416671
393769A888B162   SOFIA         HERNANDEZ                   UT     31095819088
3937716AA91831   JESSE         NOBLE                       OK     21082551600
3937737278B16B   NICOLE        NAVARRO                     UT     31000883727
393773A3754154   BARBARA       SNYDER                      OR     90011853037
39377A62A5598B   EVELYN        MCBREEN                     CA     49067550620
3937876AA5B393   DANIEL        GONZALES                    OR     90007897600
3937913525135B   WHITNEY       BENNETT                     OH     66067031352
3937952972B87B   VIRGINIA      NIETO                       ID     42005275297
3937959635B395   ARACELI       ENRIQUEZ                    OR     90004455963
3937B167341285   DWIGHT        LENZER                      PA     90006321673
3937B6A732B871   MICHAEL       BARR                        ID     42065046073
3937B75894B281   D ANDRE       MURRAY                      NE     90014937589
39381A8145B344   MIGUEL        JIMENEZ                     OR     44561560814
3938214A67B471   FERMAN        PATTERSON                   NC     90013431406
39382719676B89   VIRIDIANA     CANSECO                     CA     90013047196
393827A1641258   ADAM          JONES                       PA     51089847016
3938286432B835   HEIDI         TUCKER                      ID     90004348643
3938332487B492   DENNIS        OTTINGER                    NC     90014533248
3938369274124B   KIM           SMITH                       PA     51090486927
39383A9695B358   CHRISTIAN     MONTIEL                     OR     90014880969
39384811A41258   SUSAN         CERNY                       PA     90015088110
39384A1452B835   LAURIE        WHITTEN                     ID     90006850145
39384A22841285   DANYELL       BULL                        PA     51023770228
3938579334B281   INES          LOPEZ-ZENIL                 NE     27060147933
3938621822B87B   KAROLYN       MCCREARY                    ID     42070032182
3938634925B344   JUAN          CARLOS                      OR     90011813492
39386A98757131   NANA          ASAMAO                      VA     90002800987
3938755887B471   ELEYDA        MARTINEZ                    NC     90015335588
393876A645B259   JOHN          REICHLE                     KY     90012856064
39387836A55972   FLOV          COAES                       CA     90012928360
3938783874B281   NOLAN         ANDREWS                     NE     90014938387
3938784495B393   LINDA         JOHNSON                     OR     90011868449
3938813267B471   RONALD        MCKNIGHT                    NC     11037491326
39388178976B45   CHRISTOPHER   BURGESS                     CA     90013781789
3938822327753B   TOMAS         ESCOBAR                     NV     90011942232
3938B2AA961945   JUAN          CASTELO                     CA     90007492009
3938B564291371   JOSE          ESCALANTE                   MO     90015045642
3938B88832B242   NANCY         HOLGAN                      DC     81082318883
393922A7655972   PEDRO         SUN                         CA     90005932076
3939281452B835   DELECIA       DENNIS                      ID     90010158145
3939356757753B   CRISTINA      CALLEROS                    NV     43087725675
39393A7AA5B393   MINERVA       GARCIA                      OR     44591180700
3939473378B183   GLENDA        SARCENO                     UT     90005707337
39394A4A961474   CANDACE       JOHNSON                     OH     90014090409
3939592437B471   CESAR         CONTRERAS                   NC     90012749243
39397A3995B156   CHRISTIE      COLE                        AR     90013640399
39398123736B77   BETTIJO       TONDER                      OR     90003011237
39398841A76B89   GINA          KEYES                       CA     90014168410
3939952A52B835   ABDIWAHAB     SALAHALI                    ID     90015135205
39399A1854124B   JOYCE         BECK                        PA     90006330185
3939B23217753B   MARIA         GONZALEZ                    NV     43083122321
3939B36A131424   VIVIAN        BECKER                      MO     90012023601
3939B48547B449   SANDRA        WOODS                       NC     11096064854
3939B676176B89   ROGELIO       VERGARA                     CA     90005426761
3939B768791371   ADAN          GALLEGOS                    KS     90013387687
3939B88888B16B   COZETTE       CLARK - MISNER              UT     90003278888
393B1296955949   OLGA          JUMBO SANCHEZ               CA     90008642969
393B1374841285   JEREMY        SKANES                      PA     90015403748
393B1435476B89   APRIL         GASTELUM                    CA     90002184354
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393B151244124B   SONYA           SMITH                     PA     90013485124
393B181245B344   TIMOTHY         PERRY                     OR     90011808124
393B1A12A91371   DANELL          DANIELS                   KS     90013590120
393B2335371921   JUAN            SANTOYO                   CO     90005363353
393B246745B358   ELISE           FERNANDEZ                 OR     90014704674
393B26A3531424   KOSTA           LONGMIRE                  MO     90011556035
393B367A185833   ANDREW          SHEAR                     CA     90010986701
393B3817655949   BRANDY          LEE LASATER               CA     49004848176
393B3A9245598B   MIGUEL          CASTANEDA                 CA     90014140924
393B419842B835   JOSE            RODRIGUEZ                 ID     42097781984
393B4347541285   LAVERNE         WEIGAND                   PA     51070113475
393B446745B358   ELISE           FERNANDEZ                 OR     90014704674
393B4469491544   ARIANNA         MARTINEZ                  TX     90015304694
393B447927B471   SEANJATEEA      HOLMAN                    NC     11039684792
393B5711A7B376   EVELYN          HERRERA                   VA     90006047110
393B573825B52B   JENNIFER        SEAWRIGHT                 NM     35007467382
393B5776377544   MARIA           CHAVEZ                    NV     90001367763
393B6122257B79   ALEX            DAIZ                      PA     90015231222
393B6247191371   GREGORY         NICKLIN                   KS     90010322471
393B658487753B   LEOVIGILDA      BETANCOURT                NV     43072915848
393B6654255972   DENISE          SEMINARIO                 CA     48090746542
393B6A36A91831   ELIZA           CASTO                     OK     90013020360
393B8337691371   GARRET          WILBOURN                  KS     90013853376
393B8547477544   MARIE           SAXON                     NV     43083355474
393B883385B358   NICOLE          MARTINEZ                  OR     90014698338
393B921A37753B   AUDRA           HOBBS                     NV     90013452103
393B98A112B87B   CESAR           RODRIGUEZ                 ID     90013298011
393BB23965B281   YAMILA          GUERCA                    KY     90004572396
39411912A5B393   RICKEY          CAMPBELL                  OR     90007369120
39412186476B89   CARLSON         SKYLER                    CA     46016131864
3941232834124B   ALFREDA         GOBER                     PA     90008853283
3941267182B87B   MICKEY          NUWCOMB                   ID     90015176718
3941374717B492   DANANDA         PINKNEY                   NC     90015337471
3941481864B281   REBECCA         MURRAY                    NE     27013618186
3941491238B162   MARIO           LOPEZ                     UT     31086739123
39415677A55972   MARSHALL        OLIVER                    CA     90012886770
3941618988B162   GREG            HARLEY                    UT     90007211898
39416282A5B156   SELESTE         DEWITT                    AR     23078262820
39416A8A355949   DAVID           ALCORN                    CA     90011400803
3941724344B521   SANDRA          CRUZ                      OK     90005802434
39417675836B82   CHRISTOPHER     SWIFT                     WA     90015206758
3941832614B281   JOSE            RIVERA                    NE     90009793261
39419791A7B471   CANDACE         GIVES                     NC     90014597910
394199A847B471   PAY             GO                        NC     90011879084
3941B22A941285   TAMMY           ALLEN                     PA     90012242209
3941B258872B23   LUIS            RODRIGUEZ                 CO     90007232588
3941B32224B281   MADAI           MARIN REYES               NE     90009793222
3941B539891831   STACEY          ELAM                      OK     21052865398
3941B61737753B   ABNER ALBERTO   LUCERO-ALARCON            NV     90007836173
3941B71347B639   SHAMEICA        JACKSON                   GA     15034027134
3941B832476B89   GUILLERMIN      NUNEZ                     CA     46016128324
3942138352B87B   MARIA           GONZALEZ                  ID     42034973835
3942159A97753B   CODY            PURDUM                    NV     90010225909
39421A9A755972   ANDRES          MEDRANO                   CA     90013770907
39422125A5B393   TERRY           HIGGINS                   OR     90015281250
3942218795B393   BOB             MARTIN                    OR     90013501879
39422396A41258   TENESHA         GILLESPIE                 PA     90013273960
3942261667B471   DALIA           CASTRO                    NC     90013566166
3942467397B471   TONDREA         STITT                     NC     11011736739
39424925676B89   KEVIN           HEADLEY                   CA     90003969256
39424AA5A2B871   ANDREW          COHEN                     ID     42050850050
394251A8161945   DIANA           HENDERSON                 CA     90008301081
3942614935B52B   CARMEN          VILLALBA RAMIREZ          NM     35062141493
3942639427B492   SHANNA          WHITE                     NC     90010243942
3942841287B492   SANDRA          WARD                      NC     90015444128
394289AAA7B492   LORNITA         BRASWELL                  NC     90013149000
39429682A5B393   ELAURA          RENIE                     OR     90011326820
394298A1A71942   DONALD          COGLEY                    CO     38013118010
39429A9555B358   ANDORENI        LUNA HERNANDEZ            OR     90015020955
3942B65244124B   KIMBERLY        JONES                     PA     90013966524
3942B745231683   AAMER           SHAH                      OK     90003737452
3942B794355949   ANGELA          ALVAREZ                   CA     49008637943
394311A425B358   ABRAHAM         RUBIO JIMENEZ             OR     90015021042
394329A1476B89   GABRIELA        ANGUIANO                  CA     90014689014
3943416355B344   HOLLY           PARK                      OR     44559921635
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394347A865B393   JOSE         GOMEZ CRUZ                   OR     44584277086
39435789A4124B   KEVIN        CLEVENGER                    PA     51002457890
39436A82831424   ANGELA       PURNELL                      MO     90014690828
3943722327753B   TOMAS        ESCOBAR                      NV     90011942232
3943723295B358   FELIX        CEJA                         OR     44556442329
3943744652B87B   JESSICA      LAMBERT                      ID     90010744465
3943749667B492   TARQUITA     BARNETTE                     NC     90013884966
39437AA6855949   JORGE        MARTINEZ                     CA     49073020068
3943892A34124B   CLARENCE     PORCH                        PA     51090369203
3943911737B471   EBONY        CROCKTON                     NC     90014031173
3943988615B393   MICHAEL      OADES                        OR     90003858861
39439A73285833   JESUS        BOHORQUEZ                    CA     90006930732
39439A83955949   ESEQUIEL     ARIAS                        CA     49024400839
3943B479185833   ANTONIO      CASTANEDA                    CA     46066384791
3943B4A5A31424   LA'QUITA     TENNER                       MO     27503384050
3943B5A2555949   CRYSTAL      BARRERA                      CA     90015065025
394411AA25598B   ALEXIS       LOPEZ                        CA     90012741002
3944127652B87B   BRYAN        MCKEE                        ID     90013442765
3944148947753B   JASON        BURK                         NV     43044204894
39441799A31629   JAMIE        NAQUIN                       KS     22053227990
3944239594124B   DAVID        LAW                          PA     90013963959
3944273197B449   KANDRA       JOHNSON                      NC     90002107319
394429A124B281   RENEE        WALKER MOSER                 NE     90011939012
3944333118B162   GIL          ZAPATA                       UT     31055773311
39443A8535B358   LEONEL       FERREYRA                     OR     44544470853
3944419387B471   ALEXANDER    SANCHEZ                      NC     90013731938
39444A1927753B   DANA         HARING                       NV     90012210192
3944628624124B   MELISSA      KETTER                       PA     51005412862
3944681985B344   PEDAR        BERG                         OR     44514808198
394468A5A7B639   MARIA        ALVARADO                     GA     15097088050
3944763137B639   JULIET       HUBBARD                      GA     15035436313
39447868A31424   TENISHA      JENAY                        MO     90015108680
39447999776B89   ALICIA       AQUINO                       CA     90010929997
39448467A41258   MICHELLE     CHRISTNER                    PA     51034554670
3944895688B162   ROGELIO      REYES                        UT     31006729568
39449A1138B141   TERESA       HOBBS                        UT     31006450113
3944B194376B89   JAVIER       PEREZ                        CA     90014881943
3944B28387B449   HOPE         SOTILLO                      NC     90007162838
3944B423855972   DIANA        CASTRO                       CA     90007674238
3944B526955949   KIMBERLY     LANE SEE                     CA     49033805269
39451879A36B77   MARIA        MATIAS MATIAS                OR     90013108790
3945244115B393   ANTONIO      PALMA                        OR     90011444411
39454A77551363   TAQUISHA     KENDRICK                     OH     90014840775
39455263576B89   ALISA        MAE                          CA     90012232635
394554A947B471   ERIC         POWELL                       NC     90014174094
3945662992B835   ARIAH        STREET                       ID     90004126299
39456757674B46   GERARDO      HERNANDEZ                    OH     90013997576
394574A6491371   ANDREA       RANDLE                       KS     90014714064
3945775885598B   MELISA       VIIAREAL                     CA     90003467588
3945776825B156   LANOARD      MCCARTER                     AR     23001947682
394591A9A8B191   IVAN         TAYLOR                       UT     31036311090
39459358476B45   RAMIRO       PINA                         CA     46002903584
39459A6832B871   SCOTT        ZIMMERMAN                    ID     42098200683
39459A9575B393   KATHLEEN     BORDEAUX                     OR     90013690957
3945B2A525B393   RUKIYA       TYLER                        OR     90009142052
3945B736A55972   CATHERINE    SERRATO                      CA     48010437360
3945BA37491538   ILDA         RIOS                         TX     90002350374
3945BA68A2B835   KELLY        EDENS                        ID     42076950680
3946136648B162   RONDA        THORNTON                     UT     90010543664
39461368A55972   MARIA        QUINTANILLA                  CA     90013923680
3946162647B471   URIEL        GALVAN                       NC     90014336264
3946196835598B   CARMEN       SOTO                         CA     49083809683
39463157576B89   DARELYN      CESAR                        CA     90011091575
3946341755B393   ALAN         SALAZAR                      OR     44514234175
394642A332B87B   SUSAN        SYNDER                       ID     90011942033
3946474AA31424   MICHELE      JOHNSON                      MO     90010547400
39465151A55949   FATIMA       KELLY                        CA     90006351510
3946545A131424   DARWIN       GRAY                         MO     90014154501
3946594342B87B   LEONARDO     FLORES                       ID     90012639434
394669A228B162   JOAQUIN      VAZQUEZ                      UT     90011549022
3946718234B592   SHERRI       DEARING                      OK     90008381823
3946778492B87B   FRANK        KLEIN                        ID     90007887849
3946829575B344   YOMARA       PEREZ GUZMAN                 OR     44573892957
39469A61455949   LINDA        GAYTAN                       CA     90014650614
3946B55A176B89   JORDAN       VAN TONGEREN                 CA     90011195501
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1817 of 2350


3946B67187753B   ENRIQUE        ARELLANO                   NV     90013526718
394717A4391584   MONICA         GARCIA                     TX     75077607043
3947391A78B162   RICHELLE       STEVENSON                  UT     31066859107
394749A354B544   MISTY          SMITH                      OK     90010459035
3947567875B393   PHILLIP        STATON                     OR     90013786787
394761A7754154   NICHOLAS       HUTH                       OR     90010871077
3947686695B393   THOMAS         SIMMONS                    OR     90015298669
3947699662B871   DEONNA         CARLSON                    ID     42083449966
39478194476B89   KAM            FOO                        CA     90013841944
3947833A841258   ROBERT         MANDEL                     PA     90015193308
3947863A65B358   MARIA          ARREOLA                    OR     90011176306
39478A43A5598B   REGAN          GUZMAN                     CA     49072920430
39479384A7753B   TRACI          SAMPSON                    NV     90014373840
3947B64432B87B   RANDY          GREER                      ID     90004746443
3947B72835B358   LUDIVINA       VILLANUEVA                 OR     90010387283
3948241295598B   CYNTHIA        GOMEZ                      CA     90003444129
3948265A691831   LISA           GARRETT                    OK     90008196506
3948318117B492   RUBY           PEREZ                      NC     90009061811
3948387A17B492   RUBY           PEREZ                      NC     90012688701
39483A62991831   RHONDA         KEPNER                     OK     90015280629
3948525942B835   MARICRUZ       MATA                       ID     42096852594
3948541765B52B   NEREO          RUIZ-RASCON                NM     90010844176
3948642417B471   MARTHA         BEISER                     NC     11082844241
3948732115B52B   HEATHER        FULLER                     NM     35075053211
39487A94791831   MICHAEL        BEHRENS                    OK     90011450947
3948848AA91371   MICHAEL        BRANTLEY                   MO     29013764800
3948927A42B87B   DERRICK        CHAVEZ                     ID     90013022704
3948963965598B   AIOTEST1       DONOTTOUCH                 CA     90015116396
3948B22915B393   MASON          BUDD                       OR     44571102291
3948BA5432B87B   LORNA          HERNANDEZ                  ID     42082410543
3949128958B16B   KEVIN          ANDRUS                     UT     31035852895
3949172427B639   JIMMY          FOSTER                     AL     90005447242
3949289538B18B   MATHEW         THOMSON                    UT     90009918953
3949387938B162   TERESA         WHITLOCK                   UT     90010418793
3949417327B396   MARCIA         MORALES                    VA     81026501732
3949425A776B89   MARIO CHAVEZ   SANCHEZ                    CA     90012942507
39494332A5B394   LYNDA          HIBNER                     OR     90001133320
3949471315B358   DAVID          JONES                      OR     90015217131
3949563897B449   CARLA          LANE                       NC     11001756389
394961A6691549   PATRICIA       GARCIA CRUZ                TX     90008131066
3949645A74124B   JOHN           CONRAD                     PA     90013274507
3949899327B492   DEANNA         HARRISON                   NC     90014459932
39498AAA55B156   PLEAS          GRAY                       AR     23094520005
3949953375B393   DANIEL         CANCHE                     OR     44561475337
3949957A791584   JESUS          DIAZ                       TX     75036225707
3949B1A1176B89   CARLOS         SARABIA                    CA     46091831011
3949B28A95B355   ERIN           KATHLEEN DAVIS             OR     90011852809
3949B2AA15B281   MICHEAL        HOLT                       KY     68005742001
3949B57AA5598B   EDWARD         SANCHEZ                    CA     90012515700
3949B728A77544   KYLE           ROCK                       NV     90001677280
394B126614124B   DIANE          KINCAID                    PA     90013032661
394B128495B52B   MARY           WAITE                      NM     90008712849
394B1334A5B344   GILBERTO       ALCARAZ CAMPOS             OR     90005923340
394B13A8791831   ROXANNE        GIBBS                      OK     90014853087
394B1429431424   SHONDA         FIELDS                     MO     90011994294
394B1A7892B871   DERICK         HODGINS                    ID     90013520789
394B227A47736B   LLOYD          REID                       IL     90013982704
394B339514B522   MONICA         REYES                      OK     90012663951
394B3461591371   GEORGIA        CALE                       KS     90004644615
394B3469961962   ANGEL          JAREGUI                    CA     90011714699
394B3759157131   IGOR           MILOSEVIC                  VA     81016467591
394B3A4182B835   ALIA           KISIMBA                    ID     90011710418
394B4253441258   DOMINICK       EDWARDS                    PA     51080072534
394B441918B16B   DYLAN          DEVROOM                    UT     31035604191
394B4712377544   BLANCA R.      LOPEZ                      NV     43003047123
394B5145A76B89   MAURICIO       MORALES                    CA     90013841450
394B5284655972   LIDIA          MARTINEZ                   CA     90013052846
394B557385B344   JOSE           LOPEZ                      OR     44584265738
394B739498B162   SUANNE         GARDNER                    UT     31071733949
394B756467753B   OLIVIA         RUSSELL                    NV     90013555646
394B8178755972   ROBERTO        SALCEDO                    CA     48017861787
394B865445B393   PATRICK        GALEN                      OR     90014836544
394B8995455949   MARIA          GALLARDO                   CA     49036069954
394BB87A57753B   SAUL           BECERRA                    NV     90013328705
3951148984124B   WILLIAM        WATSON                     PA     90001094898
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3951187AA5B545   MIGUEL            PRIETO                  NM     90003628700
39512A17641258   KESHA             EPPS                    PA     51061680176
3951348212B87B   THOMAS            FORRESTER               ID     42081964821
39513512476B89   GABRIELA          SANCHEZ                 CA     90014375124
3951431794B281   DEANNE            OFLAHERTY               NE     27083583179
3951483A35B52B   JAGA              CHAPAGAI                NM     90011598303
3951558358B16B   MIGUEL            HERNANDEZ               UT     31075505835
39515727276B89   CARLOS            ERNESTO APARICIO        CA     90013937272
3951576512B87B   FELECIA           FOX                     ID     90014437651
3951589577B471   CLAUDIA           FLORES                  NC     90010568957
3951618382B87B   BHAKTA            SARKI                   ID     42092121838
39516AA7A72B33   RUBEN             DIAS                    CO     90005280070
39517368776B89   RONALD            DENENEA                 CA     90011573687
39517717A4124B   JIM               NASH                    PA     90013967170
3951839195B393   CHERI             MERRYIWEATHER           OR     90011293919
3951882495B347   SARA              STONE                   OR     90004678249
39518A1857B639   JASMANE           SANDIFOR                GA     90005450185
3951912162B871   MARIBEL           ALVARADO                ID     42085671216
3951964444B281   MARIA             SINECIO                 NE     90014966444
39519661976B89   PABLO             GOMEZ                   CA     46016536619
3951B73932B835   GABRIEL           GUTIERREZ               ID     42096567393
3952155537B471   ELPIDIO           ACOSTA                  NC     11054565553
395224A8731424   LATANYA           HOWARD                  MO     27574164087
3952441592B87B   JORDAN            STEVENS                 ID     90013814159
3952483517753B   GONZALO ALBERTO   GOMEZ ORTIZ             NV     90014518351
39524911A8B164   LANCE             JENSEN                  UT     90012129110
395251A3231424   FRANK             TIEFENBRUCH             MO     90013541032
3952529814124B   JANET             LYLES-JOHNSON           PA     90010552981
3952529842B87B   TREVOR            HITCHIN                 ID     90013852984
3952559289156B   JODYE             MORALES                 TX     90007795928
39525821976B89   ANDREAS           PLEIL                   CA     90010458219
395262A387B449   ERIC              LOVE                    NC     11014172038
3952636617753B   JENNIFER          BARAJAS                 NV     90014573661
39527428A5B393   LARRY             BEVAN                   OR     44548484280
3952828693145B   SIERRA            MILLER                  MO     90012832869
3952838734124B   LISA              GRAM                    PA     90013963873
3952919525B344   FRANCISCO         PAT                     OR     44571211952
3952936A191371   SANDRA            RODRIGUEZ               KS     29067643601
3952958792B835   JUSTIN            MALANG                  ID     90001185879
3952B815241244   NICHOLAS          CLEARY                  PA     90007578152
3952B95285B393   JAIME             MARTINEZ                OR     90014349528
3952B9A734124B   LARDE             BILLUPS                 PA     90014509073
3952BA8132B871   RENZAHO           SYMPHOROSE              ID     90012240813
3953138214124B   ANTONIO           BROWN                   PA     90013963821
39532169453B95   RICHARD           SUMMERHILL              CA     90015351694
3953273314124B   RACHEL            JOSE                    PA     90013967331
3953334267753B   HECTOR            MONTES                  NV     43020193426
3953346684B281   MARIANA           GOMEZ                   NE     90013784668
395335AA45B393   MACQUEEN          SAM                     OR     44563615004
39533829572B37   RICHARD           GALLEGOS                CO     33049888295
39534A6515598B   SONYA             ROCHCHA                 CA     90013220651
39535741533B57   KENNETH           HARMEL                  OH     90015517415
3953759255B344   CECEILIA          LOPEZ-SOSA              OR     90004725925
3953B163891831   KAYTI             SPEARS                  OK     21025971638
3953B17754B954   MELISSA           DIXON                   TX     90005971775
39541A34355949   KENG              MOUA                    CA     90015250343
3954284945B394   GABRIELA          CHAVEZ                  OR     44592148494
3954329A87753B   ARMANDO           BECERRA-RAMOS           NV     90015112908
3954345897B492   ROBBIE            DALTON                  NC     90002624589
3954376844124B   JESSE             AUSTON                  PA     90012027684
3954415612B87B   TINA              BELL                    ID     90009671561
3954425932B835   JANELL            OZUNA                   ID     42008112593
3954489815B156   SHAWANNA          GOTSON                  AR     23072668981
39545637536B77   DENNIS            POTTER                  OR     90005186375
3954571882B871   MELANIE           CRAFT                   ID     90010597188
3954684364B281   VICTOR            VILLARREAL              NE     90014148436
39546A64455972   MARY              JANE                    CA     48033260644
3954717755B393   EDDIE             ROBERTSON               OR     44514241775
3954856457B471   DELMITRI          JONES                   NC     90010045645
3954922152B871   MAXWELL           MWAMBA                  ID     42083452215
39549373A4124B   DAVE              BROWN                   PA     90013963730
3954942365B52B   JESUS             SANCHEZ                 NM     90001834236
395498AAA66B35   THOMAS            MILLER                  MO     90015358000
3954B425141277   DONNA             KEARNS                  PA     51053124251
3954B69227B492   TOMASA            SIMON                   NC     90002086922
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3954B824341285   BRANDI            ZIMMERMAN               PA     90005638243
3954BA17A8B162   CARLOS            MARTINEZ                UT     90011550170
3955126A891584   SARA              RODRIGUEZ               TX     75059352608
39551695176B89   ANTONIO           ORTIZ                   CA     90003736951
395516A7455972   PEDRO             ZUNIGA                  CA     90008836074
3955179245B156   DASIY             GARY                    AR     23078827924
3955344345B156   DADRIANE          WASHINTON               AR     90012774434
39553893A91538   LIZETTE           LUNA                    TX     90011058930
3955422A976B44   CRISTINA          SANCHEZ                 CA     90012132209
3955457A27753B   KRISTINA          WELLMAN                 NV     43064035702
395563A262B87B   CHRIS             HUGON                   ID     42091793026
3955651782B87B   CHRIS             HUGON                   ID     90011915178
39556587A91371   ALI               MARVEL                  KS     90007505870
39556A64972B47   BILLY             TYLER                   CO     90008600649
39557A6978586B   ALASIA            SIMPSON                 CA     90011070697
3955849947B492   DESRICE           ADAMS                   NC     90009684994
395588A1A71942   DONALD            COGLEY                  CO     38013118010
39559154A85833   RHODA             MARIE                   CA     90011801540
3955916672B835   JAMIE             HUNT                    ID     90015251667
39559175A91271   HEATHER           ROGERS                  GA     90008461750
3955952397B471   FATMATA           TURAY                   NC     90012425239
3955991562B241   YARED             GOSSA                   DC     90012259156
39559A16155972   TAMBA             MORSAY                  CA     90004380161
39559A9967B492   BRITTANY          DAVIS                   NC     90014500996
3955B27622B87B   YBARRA            RENE                    ID     90007942762
3955B41737753B   STEPHANI          SIFUENTES               NV     90002604173
3956138A27B376   MILTON            CASTELLON               VA     81097323802
39561585A5598B   LETICIA           FRIAS                   CA     90015545850
395616A3A55972   APOLO             BARILLAS-RIVERA         CA     48055406030
39562243A76B89   LUPE              CARATACHEA              CA     90014752430
395625A113B35B   TERRI             SNOOK                   CO     90010915011
395633A477B492   WILLIAM           HEFFNER                 NC     90010033047
39563A4A17753B   ANTONIO           RODRIGUEZ               NV     90009100401
3956559257B471   MARTHA            MUNOZ                   NC     11005615925
395661AA531424   ROOSEVELT         HOLLINS                 MO     90014301005
3956634747753B   SILVIA            PONCE                   NV     43083193474
39566A35A41258   DANA              ELLMAN                  PA     90005240350
3956743382B87B   LINDA             DIAL                    ID     90008184338
395695A9755927   JOSEPH            FLORES                  CA     49035605097
3956965785B393   AIMAN             AL KHACHI               OR     44587146578
3956977775128B   KEILA             ROMAN                   VA     72017767777
39569A9425598B   TAMARA            BIDDLE                  CA     90010910942
3956B85A941258   MARGARETT         MONTE                   PA     90008108509
3957117735B344   TERRY             DOTY                    OR     44597251773
39571286A7753B   MITCHELL          COWARD                  NV     43061162860
395716A3591584   JOHN              LOPEZ                   TX     90011756035
3957174744124B   JACK              SMITH                   PA     90013967474
3957267A18B19B   TERESA            MCGRAIN                 UT     90009746701
39572728A77544   KYLE              ROCK                    NV     90001677280
3957374365B52B   MANUEL            MENDEZ                  NM     35024197436
3957375234124B   JOSH              MATHEWS                 PA     90013967523
3957499787B471   PAMELA            WILLIAMS                NC     90010569978
395753A9231444   MARIE             HARRIS                  MO     90004563092
3957574A631424   AMIA              COOPER-WALLACE          MO     27513747406
395758A834124B   TAMIA             HALL                    PA     51059008083
3957683A684374   NAYELI            CRUZ                    SC     90011558306
39577654676B89   CAROL             SMITH                   CA     90010316546
39577912A91831   IRACEMA           VARGAS                  OK     90011349120
3957794225B393   MR DWYNNE         HARRIS                  OR     90007909422
3957818A955972   MARISSA           ALVAREZ                 CA     48046211809
3957839774124B   WILLIAM           HARRIS                  PA     90013903977
39578A2175B52B   IRMA              MORENO                  NM     35036110217
39579454276B45   ANDRES            RODRIGUEZ               CA     90010914542
3957969724124B   THOMAS            HANLEY                  PA     90014506972
3957B12947753B   PAYGO             IVR ACTIVATION          NV     90009801294
3957B543193731   NATHANIEL         BAILEY                  OH     90001895431
3958117378B162   WILLIAM           BAUMER                  UT     90010491737
3958125935598B   XIMENA            REYES                   CA     90015172593
39581A8215598B   JAY               NELSON                  CA     90010760821
3958252817B471   SUSAN LOUI        SMITH                   NC     11080495281
39583634376B89   LISETTE           SUMANO                  CA     90013716343
3958367818B16B   ROGER             MADSEN                  UT     31094056781
3958383552B87B   CHRISTOPHE        DESMARAIS               ID     90003058355
3958414142B87B   MELISSA           HAMMER                  ID     42065211414
39584932776B89   MARIA DE LA LUZ   AGUERO                  CA     90012459327
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39584A8865B281   TONYA        WOODFORD                     KY     90014840886
3958566AA55972   PEDRO        CONTRERAS                    CA     48006316600
3958618A876B89   JORGE        ROSILES                      CA     90011391808
3958643394124B   ASHELY       GOLD                         PA     90013964339
3958657A15B52B   LISA         BERRY                        NM     35095595701
39587814A41277   REBECCA      CALE                         PA     90000428140
39588946124B54   MARIA        PIRES                        DC     81079969461
39588A8665598B   VICTORIA     CORTEZ                       CA     49011430866
39588AA7141285   JOSEPH       NICHOLAS                     PA     51039610071
3958971325B281   DANIEL       AGUILAR BAREA                KY     68095917132
3958B14787B449   LISA         HEAVNER                      NC     11013241478
3959128A18B162   MARGARET     BRAILSFORD                   UT     90004702801
3959154717B449   JASON        SAUNDERS                     NC     11096585471
3959168198B16B   DONALD       OWENS                        UT     31036636819
39591A78772B33   JENNIFER     WALKER                       CO     90003060787
39592277A41285   CONNIE       JUDY                         PA     90006742770
3959296473B399   RACHEL       STRENGE                      CO     90009919647
39592A52355949   DOMINGO      OLIVERA                      CA     90007030523
39592A5A591371   BELINDA      PLEDGER                      KS     90014620505
3959466185B52B   GREG         LONG                         NM     35007846618
39595779576B89   IRINEO       TORRES VAZQUEZ               CA     90004947795
39596493676B89   JANE         AUSAGE                       CA     90010374936
39596561776B7B   DANIEL       PERALTA                      CA     46006145617
3959748725B156   JAMIE        MORRIS                       AR     23009474872
39597599A41285   STACEY       SUMMERVILLE                  PA     90005575990
3959794194B531   TANGIE       TYNES                        OK     90012709419
3959845A84124B   GERALD       NEILSEN                      PA     90013274508
39598A36591232   FREDDIE      COLLINS                      GA     14517080365
3959911537B471   SERGIO       ARIZAGA-TORRES               NC     90010571153
3959931522B87B   JON          EVERITT                      ID     90007953152
3959935522B871   VERLETTA     ANDERSON                     ID     42089663552
39599814A41277   REBECCA      CALE                         PA     90000428140
3959B27227B471   GREG         HUMPHRIES                    NC     90002052722
3959B47527753B   RAMON        CHAVEZ-AVILA                 NV     43010554752
3959B495755985   JUAN         MIRANDA                      CA     90015134957
3959B942755972   GRACIELA     LOPEZ                        CA     90015099427
395B173965B344   SHAE         BENNETT                      OR     90005927396
395B199338B16B   JOHN         MARTINEZ                     UT     31035869933
395B2144355949   HECTOR       LAINEZ                       CA     90012421443
395B225194124B   PHROZEN      MOMENTS                      PA     90011302519
395B2626677544   BRANDEE      GOUVEIA                      NV     90006626266
395B3327741258   TYLIA        JONES                        PA     90013963277
395B3AA734124B   CRAIG        SWANN                        PA     51090570073
395B42A7441258   CRYSTAL      GRICUS                       PA     90013282074
395B4666776B89   FORTINO      REYES                        CA     90014746667
395B476845B393   AGNES        NAGATA                       OR     90008337684
395B4A48591371   CLAUDIA      CRUZ                         KS     90008600485
395B4A8385B156   LEONARD      MARSHALL                     AR     23001970838
395B52A5491831   JUSTIN       PAYNE                        OK     90008822054
395B6475841258   TAMMY        ADAMS                        PA     51072744758
395B72A745B344   LORENZO      VARGAS                       OR     90011832074
395B783A35B52B   JAGA         CHAPAGAI                     NM     90011598303
395B7A8217B639   ROSA         WRIGHT                       GA     90012320821
395B85A2791371   KRYSTAL      MAGEE                        KS     29046405027
395B8652177544   PATRICIA     STANGER                      NV     43031696521
395B89A1455972   MELANIE      ELLIS                        CA     90010739014
395B9199391584   LORENA       ESTUPINAN                    TX     75075801993
395B9384491831   ROXANNE      CHIPPEWA                     OK     21025993844
395B959772B871   MICHELLE     PHILLIPS                     ID     90010245977
395B9645181681   KRYSTEA      CASTRO                       MO     29003196451
395B978677B492   SHANITA      WILLIAMS                     NC     90010917867
395BB45878B162   HARDING      KIARA                        UT     90010484587
395BB47172B26B   TENEA        HARRIS                       DC     90011944717
395BBA13A2B237   STEFPHON     SANTANNA                     DC     90002650130
395BBA2775B393   DANIEL       SNOW                         OR     90014790277
396131A8491371   SUSANA       ALFARO                       KS     90013381084
3961332565B52B   TANIA        POLM                         NM     35067563256
3961342997753B   MARIA        CAREY                        NV     90006904299
3961434AA36B77   ANGELICA     LLAMAS                       OR     90001103400
39614629A41277   JABIR        GREEN                        PA     90010486290
3961551135B393   VANESSA      BOJORQUEZ                    OR     44559605113
396166A752B871   PABLO        CORTODA                      ID     90012606075
39616AA1991371   CHET         MURRY                        KS     29030430019
3961741A52B871   AGUSTIN      ORTIZ                        ID     42075634105
3961924455B344   ROBERT       VINCE                        OR     90011842445
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3961952237B492   YARELI        BUSTOS                      NC     90013655223
39619549A55949   CRECENCIANO   JIMENEZ                     CA     90015495490
396196A5341285   CHRISTINE     BLALOCK                     PA     90003506053
39619A71A8B162   CHRIS         PARK                        UT     31056760710
39619A9145B52B   VERONICA      CARMONA MENDEZ              NM     90006800914
3961B891991831   KEITH         SIMPSON                     OK     90006398919
3961B949641277   MICHAEL       HATFIELD                    PA     51072209496
3962153975B52B   BETTY         RODRIGUEZ                   NM     90007035397
39621779876B89   RUBEN         DE LA ROSA                  CA     90005427798
3962264667753B   DANIEL        ROEHL                       NV     90011236466
39622A3985B393   RUSSELL       HALL                        OR     44531070398
3962317715B52B   EMILA         QUIROZ                      NM     90004771771
3962471134B929   BLANCA        RAMIREZ                     TX     90011207113
396249A787B492   JALAAH        CROSBY                      NC     90009469078
3962543734124B   DEIRDRA       NORMAN                      PA     90014154373
3962627865B344   NATE          HASKELL                     OR     90006572786
3962728887B471   JOSE          VELAZCO                     NC     90010572888
396277A465B52B   PAMELA        PHILLIPS                    NM     90002417046
3962838214B281   DESIREE       WELL                        NE     90002963821
39629794936B77   SHADE         OWEN                        OR     90002907949
39629A6947B471   TONY          PATTON                      NC     11055980694
396313A2431424   CHAD          VENABLE                     MO     90014593024
39632344A31424   YOLANDA       ENLOW                       MO     90012793440
396324AA75B281   KAYLA         MANFIELD                    KY     90005964007
3963322A555972   IRAIS         ZAMORA                      CA     48016142205
39633AA487B471   ANGEL         LITTLE                      NC     90014000048
3963436175598B   JOANNE        NOWLAN                      CA     90010673617
3963454885B393   EDWIN         PHILLIPS                    OR     44517905488
3963487358B162   JO            EDDY                        UT     90006528735
396357A2755972   SEAN          KIRBY                       CA     90012307027
39635874A7B873   LOVIE C       THOMPSON                    IL     90010178740
3963619A35B557   CHARLES       GARCIA                      NM     35086081903
3963636AA2B871   EVELYN        WISE                        ID     90003813600
3963721412B835   KATHY         MORRALL                     ID     42015672141
3963739165B344   SAMUEL        SMITH                       OR     44546403916
3963755995B546   MARIA         JAURIGUI                    NM     90008275599
3963836648B162   PAUL          BINGHAM                     UT     90011183664
3963872985B393   PENNY         FINK                        OR     90013277298
39638A96555949   GEORGINA      VALENCIA                    CA     49090180965
3963B294A7B471   STEVE         GADDY                       NC     90010572940
3963B378776B89   CARLA         FAY                         CA     90014733787
3963B47655B393   REIGN         SCHUSTER                    OR     90013254765
3964182395B393   THOMAS        DUGAN                       OR     44546968239
39642261A91587   BRENDA        AGUIRRE                     TX     75015662610
3964269865B393   AUGUSTO       CASTILLO POOL               OR     90010036986
39643576A76B89   ADRIANA       PESQUEIRA                   CA     90014735760
39644396276B89   MARIA         REYES                       CA     46017123962
39644533A7B492   VERLIVIA      AQUINO                      NC     90014235330
396445A1A7B471   KANISHA       LAWRENCE                    NC     90015005010
3964518812B87B   VALERIE       GUTIERREZ                   ID     90012391881
3964583587753B   YESENIA       RIOS                        NV     90011548358
3964586884124B   SEAN          BROOKS                      PA     51054868688
3964638924124B   NATHON        TAYLOR                      PA     90011863892
3964665244124B   KIMBERLY      JONES                       PA     90013966524
3964673A155972   LARRY         CRAIG                       CA     48083767301
3964732713B356   AMPARO        RODRIGUEZ                   CO     90011373271
3964734775598B   ALEX          MIRAMONTEZ                  CA     90008973477
39647359A41277   EDWARD        HORM                        PA     51085553590
3964886A441285   CHAZ          WHITE                       PA     90012008604
3964922A561973   JAMES         AGUAYO                      CA     90010512205
3964944342B871   MARTIN        VALDIVIA                    ID     90000544434
39649915776B89   JENNIFER      VASQUEZ                     CA     90013729157
3965167A52B871   CHRISTIN      MARISCAL                    ID     90007726705
3965249245598B   ELIVIA        TORRES                      CA     49028654924
39652A1712B87B   PAULINA       MARTINEZ                    ID     90009620171
3965353517B471   ROSETTE       SINGLETON                   NC     11077685351
39654A5597B471   CHRISTOPHE    MILLER                      NC     11022840559
39655649A4B281   ISIDORO       ARELLANO                    NE     90006746490
3965586365B393   DONNY         HIGGINS                     OR     44510708636
3965615585B393   RICHARD       GALLAGHER                   OR     44513291558
3965837427753B   JAKE          LECHLER                     NV     43071763742
3965867928598B   MOLLY         RIPBERGER                   KY     66016556792
3965928788B162   ANJULA        HOLMES                      UT     90010942878
3965B28A37B492   TINA          RATHBONE                    NC     90012422803
3965B334A55972   LORENA        MEDINA                      CA     48010143340
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3965B35177753B   DIANE           LAWRENCE                  NV     90012573517
3965B46227753B   DIANE           LAWRENCE                  NV     43006174622
3965B83192B871   JUSTIN          GOSLIN                    ID     90003818319
39661958685B54   DARNELL         LINCOLN                   FL     90015589586
3966326A57B639   CHAROLOTTE      MCCELOS                   GA     90011222605
3966369A191831   JOHNNY          TITTLE                    OK     21053706901
39665211A36B77   ROBERT          ESPERTO                   OR     44501232110
39665761753B95   GERARDO         MENDOZA                   CA     90014457617
396659A5A7753B   LES             TENINTY                   NV     90006449050
3966642617753B   ANNE MARIE      DRAGON                    NV     43035194261
396671A4A57367   STEPHANIE       KING                      MO     90010511040
3966754367753B   DEANDRE         YARBROUGH                 NV     90007545436
39668A1A124B48   NELSON          GARCIA FERNANDEZ          VA     90003600101
3966B4A9791584   MARIO           VELA JR.                  TX     75036634097
3966B55125B393   CARY            MORGAN                    OR     44518925512
3966B753641277   DANA            WHITE                     PA     90013697536
3967163965598B   AIOTEST1        DONOTTOUCH                CA     90015116396
396722A815B393   SUEANNA         POST                      OR     90013162081
3967279477B492   TIMOTHY         CATHEY                    NC     90005477947
3967312297753B   ALONSO          LINN                      NV     43055271229
3967363677B449   ERIC            REID                      NC     90009266367
3967435625B344   SERENA          GARCIA                    OR     90004103562
3967469827B495   BRELINDA        LOCKE                     NC     90012526982
39674A13872B33   DAVID           RODRIGUEZ                 CO     33047270138
3967665322B87B   JOSIE           TIJERINA                  ID     90015176532
3967755924124B   ZIARA           STATON                    PA     90014315592
39677681A41277   MICHAEL         HUGHES                    PA     51072846810
3967777995599B   CHARLES         SCOTT                     CA     90002947799
3967845594124B   BLANCHE         GASTON                    PA     51025264559
3967B1A2831424   SELINA          QUARELLS                  MO     27531621028
3967B5A477B492   DEIDRE          GRAY                      NC     90013925047
3967B756255949   MARC            CORDOVA                   CA     49095267562
3968293964B294   BRIAN           KOONCE                    NE     27017649396
39682A5125B344   BRANDON         THOMSEN                   OR     90002260512
3968372924124B   CLAUDE          CRAIG                     PA     51075597292
39683775436B77   BLANCA          PAT                       OR     90009997754
3968382A391524   ROSA            LARA                      TX     90014348203
39683A2147753B   JOSE            SEPULVEDA                 NV     90013880214
3968475A82B87B   SARAH           GIBBSON                   ID     90008747508
39684812A2B835   CORRINNE        KESSLER                   ID     42040838120
39684942A36B77   DAMASO          GONZALEZ                  OR     44568869420
39684AA8A55972   JOHN            HICKS                     CA     48084570080
3968524982B586   JERRY           CHAMBERS                  AL     90014452498
3968655277753B   CAROLYN         EMERSON                   NV     43037365527
3968688372B871   JAKE            WALKER                    ID     90014848837
39686A17855949   DARREN          LANEY                     CA     90013010178
39686A6165B393   JULIE           EAKIN                     OR     90010140616
3968716294124B   LENORA          CORNICK                   PA     90013961629
3968747A491831   JACQUELINE      WALKER                    OK     90013674704
396883AAA91831   JOSE MANUEL     CASTRO                    OK     90012833000
39688443976B89   JESUS           COUTYNO                   CA     46091254439
39688A9512B87B   DENISE          SANDER                    ID     42029870951
39689A1A52B871   MONA            MICHAELS                  ID     90011790105
3968B15396B397   ASHLEY          LAVALLY                   NH     90014231539
3968B194141285   SHAWN           REED                      PA     90015191941
3968B736A76B89   BURTON          WANN                      CA     90015127360
39691282776B89   JOHNNY ERNEST   LEAL                      CA     90013842827
3969171A477544   KAITLYN         VERA                      NV     90005597104
396921A387B471   TONYA           HAMMOND                   NC     90001941038
39692A27291538   ALEJANDRO       RODRIGUEZ                 TX     90012500272
39694528A4124B   DAVID           GRECCO                    PA     90014345280
3969468295B52B   JAMES CLINT     SAWVEL                    NM     90006386829
396948A676B625   BRIANA          HUNTER                    KY     90015578067
3969518294B281   DELORES         HOPPER                    NE     90007411829
396954A9522922   RICKY           NELOMS                    GA     90014184095
3969686995598B   ROCHELLE        HOGAN                     CA     90008368699
39696A2277753B   GREG            CLURMAN                   NV     43013440227
39697A87385833   BAO             NGUYEN                    CA     90011840873
3969861A536B77   SERGIO          ROJAS                     OR     90014766105
3969987459372B   TWILA           SMITH                     OH     90009248745
39699A52A91584   DEVON           VELAZQUEZ                 TX     90003240520
396B1165391584   PABLO           HOLGUIN                   TX     90002111653
396B1311976B89   ANAHI           GAYTAN                    CA     90009523119
396B13A1291371   SKYLA           GIBSON                    KS     90006653012
396B1843672B56   JOSE            CARRERA-CUEVAS            CO     90010928436
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396B193A631424   TERESA         EDWARDS                    MO     90014559306
396B2259841261   GLORIA         LACH                       PA     90001702598
396B234225B394   WILLEBALDO     LOPEZ CHAVEZ               OR     90001033422
396B314977B471   IKEA           ROBINSON                   NC     90010571497
396B352237B492   YARELI         BUSTOS                     NC     90013655223
396B358985B393   STEPHANNIE     CHRISTENSEN                OR     90006365898
396B3746171942   BRIDGITTE      LAVALLEE                   CO     38096547461
396B423535B177   LAQUALLA       PLAIR                      AR     90015042353
396B464A57B449   MIKE           JONES                      NC     11001966405
396B47A1255972   JOSEFINA       GONZALEZ                   CA     90013807012
396B562985598B   CARMEN         RICO                       CA     49042566298
396B568137753B   SONNY          COOPER                     NV     43026756813
396B56A5233625   KAMEEKA        BROWN                      NC     90010296052
396B719277753B   ALBA           GALLARDO                   NV     90009511927
396B744298B151   KAREN          VOORHIES                   UT     90009134429
396B769A885833   LINA           MARQUEZ                    CA     46094116908
396B7831141258   MARCUS         MOORE                      PA     90013748311
396B8441491584   BERENICE       CAMACHO                    TX     75017424414
396B89A3376B89   PEDRO          CHAVEZ                     CA     46017079033
396B91A614B281   DIANE          HERNANDEZ                  IA     27086891061
396B95A8A2B87B   RASHIDY        HUSSEIN                    ID     42061135080
396B964115B52B   LORETTA        MASCARENAS                 NM     90010246411
396B975884124B   LISA           FEARBY                     PA     90013967588
396B979125598B   MICHAEL        BRIDGES                    CA     90013967912
396BB65415B393   JOHANN         MENZEL                     OR     44583516541
396BB81765598B   CHERE          PERRY                      CA     49080138176
396BB877685833   JOSE           CORDOVA                    CA     90011038776
397112A3985833   BRANDON        PASS                       CA     90008292039
39711723276B89   JOHN           PLIEGO                     CA     90013617232
3971252828B162   SPENCER        JOHNSON                    UT     90010525282
3971284675B52B   JUAN           CHAVEZ                     NM     35018598467
39712A64A4B281   MARTINE        MINOR                      NE     90011090640
3971339545598B   AURORA         NAVA                       CA     90010673954
39713A37355972   ZEFERINO       BONIFACIO SALVADOR         CA     90014160373
3971417745B393   DAVID          GONZALEZ                   OR     90014721774
3971479594124B   BABY           BABY                       PA     90013967959
39715287A5B543   JAMES          DEETS                      NM     90008022870
39716791576B89   SUSAN          WOLFF                      CA     90014747915
3971933AA7B432   MEAZA          GEBREHIWOT                 NC     90006143300
3971963857B449   ELIZABETH      PITKIN                     NC     11072286385
3971B623391371   RICHARD        GREGG                      KS     29082426233
3971BA1567B471   ROSA           LOPEZ                      NC     90013460156
39721468876B89   PENA           LORENA                     CA     46078884688
397214A188B16B   RICK JAMES     RYDALCH                    UT     90012654018
3972185697B471   SEDRICKA       MANCE                      NC     90012578569
397219A1885833   STEVEN         GARCIA                     CA     90011849018
39721A8828B162   AUTUMN         FOOTE                      UT     31090850882
39721A91A5B156   DEMECIA        ALLEN                      AR     23040720910
39722168236B77   MARTIN         GONZALEZ                   OR     90008451682
397221A555B135   GLENDA         EDWARDS                    AR     90006491055
3972232642B87B   PATRICIA       CEJA                       ID     42082243264
39723457472B44   PAUL           HAAS                       CO     90011024574
3972347662B835   RAUL           VALADEZ                    ID     90011734766
39725163276B89   LIONA          LAIE                       CA     90014781632
397252A544124B   STEVE          BURCHICK                   PA     90002122054
3972546282B871   DAVE           MORRISON                   ID     42039884628
3972563985598B   AIOTEST1       DONOTTOUCH                 CA     90015116398
3972588767753B   KENNETH        PHRAMPUS                   NV     90014728876
3972712514B929   MARTHA         SANCHEZ                    TX     76587951251
397272A9131424   TIFFANY        WESLEY                     MO     27505242091
3972739374B929   VANESSA        SANCHEZ                    TX     90013903937
3972766835B281   TERRI          JOHNSON                    KY     90003506683
3972798854124B   LYNETTA        MILLER                     PA     51060609885
39728256276B89   ALBERT         CARATACHEA                 CA     90014752562
3972B396255949   GABRIEL        RAMIREZ                    CA     90013023962
3972B619425632   JESSIE         LACY                       AL     90014186194
3972B72A85B386   HAILEMICHAEL   TESFAMARIAM                OR     90005207208
3972B888957B79   JESSE          HONEYWELL                  PA     90015398889
397317A994124B   ARLO           GELETKO                    PA     90012467099
3973225289198B   ANDREW         PEARCE                     NC     90012502528
3973247662B835   RAUL           VALADEZ                    ID     90011734766
39732A1517B471   TRAVIS         EDMISTON                   NC     90005810151
397331A6755949   JOAQUIN        MONTES MENDOZA             CA     90015391067
3973487AA7B639   KARON          SELLERS                    GA     15094438700
39734889172B33   JASON          WARNER                     CO     90012598891
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39735348A7B492   CARMEN         LAWRENCE                   NC     90014893480
3973548765B555   DANIEL         RASCON                     NM     90011294876
39735496A4124B   L              J                          PA     90014154960
3973552A75B156   AMALIA         RODRIGUEZ                  AR     90008775207
3973632357753B   JUAN J         DE LOZA - INIGUEZ          NV     43016333235
3973718442B835   JULIE          STEPHENS                   ID     42020221844
3973749594124B   JANEEN         ASQUE                      PA     90014154959
39737863A7B471   JUNE           MINCEY                     NC     90001488630
39738179A2B255   VANESSA        BROWN                      DC     90010571790
3973821677753B   VICTORINO      AGUILAR                    NV     90013312167
3973892A37B449   CAROL          CORLEY                     NC     90004989203
397398A164124B   ANTHONEY       MONTGOMERY                 PA     90013968016
3973B15627B492   GERY           HERNANDEZ                  NC     90013931562
3973B182141258   DIANE          DINNING                    PA     51002371821
3973B26764124B   JANE           LAWRENCE                   PA     90013922676
3973B74A65B344   AMPARO         NUNEZ MENDOZA              OR     90005977406
3973B94474B281   CHRISTIAN      WILSON                     NE     90012289447
3974167A45598B   AMINA          ABOULISAYEN                CA     90012346704
3974171765B156   MARTHA         LEYVA-SILA                 AR     90002257176
39742316833B2B   JEREMY         JONES                      OH     90014253168
3974244427B492   MARY           JANE                       NC     90014264442
39742A96A31424   MELVIN         HENRY                      MO     90002960960
3974327A47753B   AMANDA         DAVIS                      NV     90015172704
3974498247B492   WILLIAM        BREST                      NC     90013859824
3974531468B16B   NICOLE         JAMIESON                   UT     31037723146
39745864A7753B   THERESA        STEVENS                    NV     90011238640
397472A8572B2B   BILLINGS       TODD                       CO     33026052085
39747342276B89   HAVIER         MARTINEZ                   CA     90013493422
3974763A641258   HEATHER        LAVIA                      PA     51088106306
3974845367B492   KENYA          WRIGHT                     NC     90013114536
397491A5441285   MIGUEL ANGEL   GALVAN                     PA     90015431054
3974927984B281   KHURSHED       MARAYIMOV                  NE     90014922798
3974938178B162   JONNY          MILLHOLLON                 UT     90012673817
397497A137B492   FRANCESCA      SMITH                      NC     90003907013
3974B79227B492   ANTHONY        ERWIN                      NC     90015307922
3975134234B281   KAYLA          HATFIELD                   NE     90014983423
3975181734124B   MELISSA        BRYAN                      PA     90013968173
39751873276B89   CRISTIAN       MARTINEZ                   CA     90014748732
39751972176B89   DANIEL         ARDEN                      CA     90013169721
3975219287753B   MARTHA         MARTINEZ                   NV     90005571928
3975324295B393   NECOLA         HENDERSON                  OR     90014812429
3975354755598B   ROSALBA        BARRIGA                    CA     49020415475
3975432A391831   KARINA         GASPAR                     OK     90009463203
3975511875B52B   AUDREE         HUNT                       NM     90012811187
3975564A891831   ROLAND         KENDALL                    OK     21052756408
3975579535B393   KLIKA          HEAR                       OR     90012247953
397565A517753B   KAZUMA         KATSURAGI                  NV     43039545051
3975661A47B492   DELORES        WATSON                     NC     90011996104
3975718117B449   GARY           ORVIS                      NC     11003491811
39757362236B77   SANTOS         UZ DZUL                    OR     90003093622
3975882968B18B   HOLLY          ROBLES                     UT     90009718296
3975891697B471   TRESA          THORNTON                   NC     11037359169
3975892287753B   LOREN          NICHOLS                    NV     90011239228
39759236A41285   BRENDA         1204RICHMOND               PA     90014082360
39759A1655598B   MAC            FOSTER                     CA     49027770165
3975B291941285   CHRISTINE      KOETT                      PA     90008482919
3975B33552B871   SANDRA         DELAFUENTE                 ID     42067333355
3975B33AA91584   BURGNER        STEVEN                     TX     75047623300
3975B53242B255   MARCHSHELL     DAVIS                      DC     90000925324
3975B597891831   DENNIS         RAMEY                      OK     21036945978
3975B873276B89   CRISTIAN       MARTINEZ                   CA     90014748732
3976139AA5B52B   MAZNUELA       RUEDA TAPIA                NM     90005913900
397619A8541285   JUAN           GONZALES                   PA     90014999085
39761A2175B156   SHAWNICE       JOYNER                     AR     23008170217
39762157A41258   JENNIFER       GREENWALT                  PA     90014801570
3976313AA85833   JARED          QUIRKE                     CA     90011871300
3976323135598B   AIOTEST1       DONOTTOUCH                 CA     90015122313
3976387A331424   JOSH           GIBBS                      MO     90012218703
39764AA1141285   DANA           BARANOWSKI                 PA     51031440011
3976536584B281   KEYADA         GALES                      NE     90014983658
3976564647753B   JARED          HYER                       NV     90013116464
3976582142B87B   ROCIO          ANGUIANO                   ID     90008128214
3976769237B492   GENA           LYNN MOORE                 NC     90007136923
39767916A76B89   OMAR           QUIROZ                     CA     90009799160
39768473A91371   LAJUWON        ASHLEY                     KS     90015114730
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397684A2741258   ASHLEY            MADER                   PA     90013394027
3976889567B492   DARRELL           TUCKER                  NC     90014358956
39768A1468B162   JACOB             LEVI                    UT     90005490146
39768A9415598B   TISHA             BRADEN                  CA     49023530941
3976919277753B   ALBA              GALLARDO                NV     90009511927
39769787A7B492   ODESSIE           MARTIN                  NC     11081527870
3976979227B471   JUAN              HERNANDEZ               NC     90011507922
397697AA88B16B   ELIZABETH MARIE   HUNZEKER                UT     90005487008
3976B23997B492   VICTOR            ARDON                   NC     90013932399
3976B283676B89   JUAN              CASTILLO                CA     90003282836
3976BA1122B87B   DAWNETTE          AMES                    ID     42043960112
39771AA9153B95   LINDA             SCHAMBERGER             CA     90013680091
3977459738B162   LESLIE            DAVIS                   UT     90005595973
3977498922B835   MEGAN             EVANS                   ID     90010709892
39776919276B53   JUAN              FLORENTINO              CA     46079499192
3977741327B492   PAYGO             IVR ACTIVATION          NC     90013934132
3977836997753B   CHRISTINE         BOYD                    NV     90011243699
3977964175B156   DWIGHT            PRIDGEON                AR     90008606417
3977982547753B   ALEX              LARGENT                 NV     90013088254
397799A895B344   CIERRA            DOMINGUEZ               OR     90010919089
397815A7A72B93   JAMES             MACIAS                  CO     33014135070
3978167545B281   DANIEL            CROSBY                  KY     90011146754
3978171225B52B   MARIA             PLATA                   NM     90004237122
39782976276B89   EMMA              EMMA                    CA     90015159762
3978386777B492   LASHONDA          BROWN                   NC     90010938677
3978479594124B   BABY              BABY                    PA     90013967959
39785A29155949   LAURA             SOZA                    CA     49088850291
397861A3441258   AMBER             HALL                    PA     90011711034
3978648942B87B   YVONNE            VALENZUELLA             ID     42003544894
39786A9A25B344   JON               SMITH                   OR     90008680902
3978717745B393   DAVID             GONZALEZ                OR     90014721774
3978764A891831   ROLAND            KENDALL                 OK     21052756408
397888A7431424   KENNETRA          SYMS                    MO     90009558074
39789592576B89   MARIA             GUZMAN                  CA     90010945925
3978B498A91371   GENE              CARTER                  KS     90013554980
3978B89962B87B   RUSSELL           PEUGH                   ID     90007388996
3978B9A4176B89   OSCAR             CASTANEDA               CA     90014749041
3979142557B471   DEMICK            SMITH                   NC     90014924255
397916A8855972   LUIS              LEYVA                   CA     48006236088
3979197492B87B   NATALIE           REITAN                  ID     90008469749
39792355A55949   ANESSA            LEYDIG                  CA     49079303550
39793842776B89   JUAN CARLOS       RAYO                    CA     90013078427
3979436385B393   KRISTINA          CATOIRE                 OR     90015213638
39794A48591371   CLAUDIA           CRUZ                    KS     90008600485
39795724676B89   JENNIFER          WHITE                   CA     90010837246
397958AAA41277   TINA              JABLONSKI               PA     90013568000
3979593547B471   GABINO            SANCHEZ                 NC     90010579354
3979633447753B   YUNUEN            CORTES                  NV     90011243344
3979812238B162   KYLE              SARGENT                 UT     31018081223
397982A2A76B89   MARIA             CISNEROS                CA     46013592020
39798521A4124B   JENNIFER          BAKER                   PA     90014155210
3979891495B393   JENNY             DAVILA                  OR     90015109149
39798984976B89   FREDDY            MENDEZ                  CA     90014959849
3979917635B393   BRANDY            BORDER RODRIGUEZ        OR     90013401763
39799511A84326   ELISHA            FRIPP                   SC     90010035110
397B1251A76B89   MARIO             GARCIA                  CA     90010322510
397B183654124B   BRIAN             FRAZIER                 PA     90003258365
397B1A7137B471   SHRUNDE           SAORT                   NC     11078780713
397B2138A5B156   ANTOINETTE        WOODS                   AR     23066671380
397B284615598B   MONCHI TOMMY      VANG                    CA     90003608461
397B2A2926192B   MICHAEL           GURCHIEK                CA     90004030292
397B383967B449   CHEAM             HP                      NC     90006498396
397B3A8442B22B   MAURICE           GORDON                  VA     81035800844
397B4121776B89   DENNIS            FEENEY                  CA     90005021217
397B4557841285   JOHN              BANSON                  PA     90003125578
397B4A75A7B492   MOISES            HERNANDEZ               NC     90013930750
397B5124255928   ANSEL             HENDRICKSON JR          CA     49090141242
397B55A7591371   YANETT            CHRIST                  KS     29000625075
397B6343255972   LENG              VANG                    CA     48098863432
397B671A15B345   RANDOLFO          MARROQUIN               OR     90009617101
397B679A34124B   KEVIN             KNESTRICK               PA     90013967903
397B718818B191   MARION            KING                    UT     31060321881
397B732A67B471   LIND              HOVEER                  NC     90010583206
397B7772A4B281   SHAWN             COOPER                  NE     27095537720
397B853145B393   LORI              WALSH                   OR     44583825314
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397B8777531439   ARMANDO       REYES                       MO     27534767775
397B8952191371   LATROYA       MCKINLEY                    KS     90001559521
397B8A26261559   ROBIN         WATKINS                     TN     90004670262
397B9145691831   TAYLOR        MITCHELL                    OK     90013531456
397B91A9491371   DERRICK       RUCKER                      KS     90015061094
397B92A8A5598B   BRENDA        CARDENAS                    CA     90010742080
397B939867B492   CHRISTOPHER   HOPE                        NC     90007943986
397BB21762B87B   SADEJA        VALENZUELA                  ID     90013882176
397BBA5568B162   MIKE          ROGERS                      UT     31096920556
39812961A5B393   CLIFFORD      CHANEY                      OR     44550769610
39813A8115B393   JEWELEAN      BROWN                       OR     90012330811
3981418A155972   DAVID         CARRANZA                    CA     48022051801
3981464A15B393   HECTOR        BUCIO                       OR     44510406401
3981474245B281   LUCAS         DE LA CRUZ                  KY     68068597424
39815246A5598B   CORINA        ROMERO                      CA     90006272460
398154A3591831   LISA          WILLIAMS                    OK     90008644035
3981586225B344   DAVID         SMITH                       OR     44512538622
39817665A5135B   KENYA         SHAKIR                      OH     90012616650
3981811444B281   DOUGLAS       SULLIVAN                    NE     90007891144
3981854468B162   KACY          MCCAULEY                    UT     90010945446
3981865474124B   CETIDON       MIKOUNGUI BARRY             PA     90014306547
3981876497B471   DONNA         GUARDADO                    NC     90012867649
3981B124641285   JEROME        MCGUINESS                   PA     90013821246
3981B61574B522   ALMA          ZAMARRON                    OK     90013956157
3981B6A6341258   LACHICA       STEVENSON                   PA     90013066063
3981B85154124B   JOHN          DOE                         PA     90013968515
3981BA8322B87B   JOSE          CAMARILLO                   ID     90015270832
3982363327B471   ALTON         BELL                        NC     90002386332
3982414535B52B   SAUL          PACHECO                     NM     35067571453
3982482A14B281   KAYLIE        BURNS                       IA     90012378201
39824911976B89   ELIZABETH     LOPEZ                       CA     90012689119
3982522788B149   VIRGINIA      COE                         UT     90013812278
39826177A91831   ANGELICA      PINA                        OK     90008481770
39826247A85833   OMID          JOHANNIGMANN                CA     90011922470
3982674A131458   NICOLE        WEBB                        MO     90003617401
39826A4A94124B   SHANELL       MERIDETH                    PA     51007740409
398272A997753B   BARRY         PULEO                       NV     90008542099
39827838A24B39   SHIRLEY       KINNEY                      VA     90002018380
3982789175B52B   MONICA        GUILLEN                     NM     35066998917
3982927A25B156   BRENDA        DAUGHERTY                   AR     23043102702
39829294A91831   LYNN          NILL                        OK     90009712940
3982B65817753B   GERARDO       ALVARADO                    NV     90011916581
3982B998A3B345   JUJUAN        PETERSON                    CO     90008559980
3983123738B162   JOSE          ESPINOSA                    UT     31060762373
3983175A54B554   EMELDA        ROSALES                     OK     90008527505
398322A8491232   HOLLIE        ROSE                        GA     14572052084
39832893676B89   DANA          HAMERDINGER                 CA     90012978936
3983312717B471   AUSTIN LANE   LANE                        NC     90010581271
3983314A176B89   TIBURCIO      JUAREZ                      CA     90014951401
3983322832B835   JEREMIAH      MASSEY                      ID     42082332283
3983455237B471   RAUL          PALACIOS                    NC     90000445523
39834A46355972   JESSICA       CRUZ                        CA     90012470463
3983554924B281   ADAU          AROK                        NE     90014985492
3983561414B225   OLUYINKA      JAKEREDOLU                  NE     90004926141
3983574345598B   AUTUMN        AUTRY                       CA     90010197434
3983659A22B87B   ARACELI       ELEDESMA                    ID     90010645902
3983684344B281   TRACIE        ROBERTSON                   NE     90005648434
39837A2918B16B   ALVARO        AGUAYO                      UT     31023360291
3983946915598B   ROCKY         JOE                         CA     49018864691
3983B146255972   MANUEL        CASTENADA                   CA     90010781462
3983B374791584   LUIS          VIDAL                       TX     75017593747
3983B399791371   GARAY         BONIFACIA                   KS     29004363997
3983B758831424   ANTANIA       BREWSTER                    MO     90008457588
3983B79587B471   TAMEIKA       DAVIS                       NC     90014597958
3983BA72761962   BRONCE        MAXWELL                     CA     90004080727
3984112382B87B   PEPPER        HERNANDEZ                   ID     90010241238
3984226665B393   ROBERT        THOMAS                      OR     44575902666
398424A457753B   KRISTINE      WISE                        NV     43000874045
39842A7425598B   MARIA         VALENCIA                    CA     49006310742
39843226576B89   GRISELL       LEON                        CA     90012982265
3984363A55B156   PATTIANN      SMITH-MAYABB                AR     23093276305
3984413A155972   ANGELICA      DIAZ                        CA     90012901301
3984424862B835   RENEE         GLANZMAN                    ID     90009402486
398442A5A76B89   GENESIS       JIMENEZ                     CA     90013032050
3984581417B471   SHAREE        MORALES                     NC     90012928141
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3984598545B52B   VICTOR       CHAVEZ                       NM     90006279854
39846162976B89   VERONICA     RAMIREZ                      CA     90014951629
3984661A65B393   LORY         DEVON                        OR     90009626106
39846A39A91371   BRENDA       RHODES                       MO     90002870390
39846A7AA41277   PATTI        JOHNSTON                     PA     90008520700
3984756355B156   JOHN         MILLS                        AR     23056385635
3984759435B156   JOHN         MILLS                        AR     90015505943
39848167276B89   EDGAR        MEJIA                        CA     90014951672
39848268572B72   ABRAHAM      REYES                        CO     33045262685
39848796372B56   RYAN         LA BRECHE                    CO     33057067963
3984892AA41258   JOEY         GARNET                       PA     90013859200
39848A4575B281   TREMAINE     SHEPARD1736 PAYTON           KY     90003360457
3984926787B471   JASMINE      MCMANVS                      NC     90014172678
398492A5A76B89   GENESIS      JIMENEZ                      CA     90013032050
3984962AA91371   KEYVEON      HARRIS                       KS     90011426200
3984B26435B393   MARIO        RAMOS                        OR     44586072643
3984B876355972   VICTOR       GAMEZ                        CA     90006338763
3984B942576B89   ANDREW       BARTON                       CA     90014749425
3985132A15B52B   ALICIA       SANCHEZ                      NM     90005303201
3985153485B393   CAROL        VON BERGEN                   OR     44577105348
39851A43461925   ARGELIA      MARTINEZ                     CA     46002070434
39852186A4B929   TANIA        ZAMORA                       TX     90007831860
3985241328B16B   DENISE       JIMENEZ                      UT     90006254132
3985429525B52B   RANDY        SANCHEZ                      NM     35026042952
39854415876B89   LANCE        MAGIN                        CA     90013034158
3985442144124B   MIKE         KOZIAK                       PA     51072754214
3985529777B492   AMY          LOFGREN                      NC     90014012977
398552A7976B44   ESTEBAN      APARICIO                     CA     90008132079
3985648A131424   CHRISSY      APRIL                        MO     90001314801
39856AA455B393   RUTH         HERNANDEZ                    OR     90001130045
3985735A385866   STEPHEN      OLLIER                       CA     46021083503
39857472176B89   JOSEFINA     BELTRAN                      CA     90013034721
39858383A5598B   GERMAN       GARRIDO MARQUEZ              CA     90014393830
3985848357B492   ASUNCION     SALINAS                      NC     90014864835
3985BA3A791831   GUILLERMO    LOPEZ                        OK     90001180307
398612A4491584   DAVID        GRIEGO                       TX     75075052044
3986195212B871   MARISOL      SANDOVAL                     ID     90011799521
398624A395B393   SERGIO E     ARCHUNDIA                    OR     90012444039
3986252957B471   VANNALY      SAYAVONG                     NC     11054585295
3986255A85598B   JUANCARLOS   VALDEZ                       CA     90008365508
3986332484B281   MARY         MATHES                       IA     27082363248
398633A674124B   LATEEF       BAKARE                       PA     51051683067
3986415388B162   ELISA        GIMBATTI                     UT     31098801538
39865223A8B162   JOSE         GUTIERREZ                    UT     31005092230
398668A5855959   ALFARO       NUNEZ                        CA     90011478058
39866A4472B255   ROSA         CHICAS                       DC     90012740447
3986773337753B   DEREK        HENRY                        NV     43085007333
39867A57461924   ILIANA       VIRA                         CA     90006220574
3986814995B344   YOLANDA      CEJA                         OR     44538441499
3986882237B471   SAMANTHA     HOLLOWAY                     NC     90010728223
398694A745B393   STEPHANIE    SANDHAGEN                    OR     90014734074
3986B3A194B281   GRANT        CONLEY                       NE     27049043019
3986B79434124B   JONATHAN     SHULTZ                       PA     90010027943
3986B94652B871   HELENA       MARTINEZ                     ID     90011799465
3986BAAA78B167   DUSTIN       REID                         UT     90010200007
3987328425B393   KIMBERLY     MARTINEZ                     OR     90003172842
39873815372B32   MARY         FELIX                        CO     90012418153
398738A535598B   COURTNEY     MCCLELLAN                    CA     49097308053
3987394477753B   DESIREE      TINSLEY                      NV     90014889447
398739A9155949   JANET        GOMEZ                        CA     90015409091
39873A3835B52B   JAMES        BARRETT                      NM     35026320383
39874186A5B281   LASHANDA     LEACH                        KY     68038701860
3987441A191371   ARELY        DOMINGUEZ                    KS     90008744101
3987528784124B   MARTIN       WARHOLA                      PA     90014972878
3987575295B344   GARRETT      CROSSMAN                     OR     90006837529
39876656A55949   WOOD         TABITHA                      CA     49080586560
3987671134B281   DANA         EDWARDS                      NE     90014987113
39876A85A55972   GLORIA       GUTIERREZ                    CA     90007690850
39877795876B89   RAMIRO       CASTELLANOS                  CA     90001757958
3987812775B393   WAYNE        WOODRUFF                     OR     90011401277
39878437976B89   LARISSA      MENDEVIL                     CA     90014754379
39878A1395B344   MARGARITO    MARTINEZ                     OR     44588080139
398797AA191584   CRUZ         OLVERA                       TX     75036707001
3987B739291371   BRYCE        MORLANG                      KS     29095487392
3987B891855949   CONNIE       CORDERO                      CA     49066608918
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39881267A55985   YENNILI       TORRES                      CA     90009912670
3988294335B393   RICADO        WRAY                        OR     90010179433
3988356162B835   DARLA         HARRIS                      ID     42078395616
398841AA37B492   KIMBERLY      LEMMONS                     NC     90010021003
3988432A75B393   CARLOS        BELTRAN                     OR     90010363207
3988435155598B   JAMES         GUTIERREZ                   CA     49080483515
39884AA3541258   MARY          MORANT                      PA     90009660035
3988538792B87B   JUANITA       DEVALLE                     ID     90010643879
3988556272B835   STEPHANIE     HARP                        ID     42084605627
3988625515B52B   DIANE         MUNIZ                       NM     35015582551
3988632792B871   JAVIER        PATLAN                      ID     90013263279
3988647675598B   HARVEY        BENITEY                     CA     49050994767
3988659128B16B   REBECCA       MADISON                     UT     31011775912
39887A79931424   MARVIN        POWELL                      MO     90013480799
3988823622B835   AMURI         KASOMO                      ID     90009042362
39888323A31424   MICHAEL       WELCH                       MO     90014843230
3988887679375B   JENNIFER L.   CASHIN                      OH     90010978767
39889A12657B79   KEISHLA       FIGUEROA                    PA     90015370126
39889A93855972   CRYSTAL       LOPEZ                       CA     90010540938
3988B117255949   CHARLES       MARISCAL                    CA     90006841172
3988B58987753B   VANESSA       GRANADOS                    NV     43072345898
3988B74635B255   CAMERON       JONES                       KY     90007277463
3988B81A597B37   JOSEPH        REYNOLDS                    CO     90007918105
3988BA3194124B   LISA          JONES                       PA     90012510319
39891243876B89   VICTOR        PEREZ                       CA     90010802438
39892583A5B344   JOSEPH        HOLLAND                     OR     90003585830
3989324378B162   CHEYENNE      HANSEN                      UT     90013482437
398938A7331424   CANDICE       WARD                        MO     90013708073
3989418292B87B   AMANDA        BENITES                     ID     90002201829
3989433378B16B   JEREMY        YARRINGTON                  UT     31082153337
39895288876B89   BEN           CLEVELAND                   CA     90013052888
3989655282B87B   GUADALUPE     CALLEJAS                    ID     90014985528
39896A9958B16B   CARLOS        ZAMORA                      UT     31001370995
398972A6355972   FERNANDO      VILLEGAS                    CA     48055392063
3989796525B393   MAGDIEL       MARTINEZ                    OR     90001289652
39897A9772B871   STEVE         SMITH                       ID     90011800977
3989826A25B56B   SANDRA        MONTOYA                     NM     90012502602
3989837315B156   KILO          DOSS                        AR     90007003731
3989858489156B   JESSICA       BELMONTE                    TX     90008375848
39899157876B89   CHARLES       YARBROUGH                   CA     90012171578
39899336A5B545   JENNIFER      LOPEZ                       NM     90009173360
3989954642B871   MATTHEW       PERKINS                     ID     42009885464
39899A48455949   JOANN         TESNEAR                     CA     90013910484
3989B48137753B   JOSE          AGRAMON                     NV     90001244813
3989B677291371   MARTHA        DAY                         KS     29014796772
3989BA31A55972   JOSE LUIS     RIVERA                      CA     90008230310
398B2A9888B162   DIEGO         FLORES                      UT     90013770988
398B385712162B   DAVID         PRIMOZIC                    OH     90014398571
398B387838B149   DANETTE       STARK                       UT     90007928783
398B3A85176B89   DARDEN        INGLIS                      CA     90014950851
398B4151A2B87B   CARLOS        CISNEROS                    ID     90000251510
398B514135B393   TABITA        SIMEDRU                     OR     44562301413
398B5323572B32   FAITH         MCGINN                      CO     33079613235
398B588332B835   SARAH         PEREZ                       ID     90011738833
398B597737B471   JAMES         SIMMONS                     NC     90010579773
398B657A72B87B   CHARLETTE     CHLARSON                    ID     90003095707
398B745824B281   SANDRA        BALTAZAR                    NE     90014984582
398B7633841258   KAMAL         NAGI                        PA     90013026338
398B7758276B89   DANIEL        MONTESINOS                  CA     90011777582
398B77A265B52B   CHARLIE       JESSICA                     NM     35074497026
398B7A3A455972   NORA          ALVARADO                    CA     90013510304
398B8342891584   LETICIA       FLORES                      TX     75067493428
398B8657191537   YVETTE        LOPEZ                       TX     90008876571
398B8835885833   SEWAR         ARABO                       CA     90011898358
398B9196176B89   DON           HALLOCK                     CA     90004821961
398B9A8417B492   SHAMIKA       MCCLINTON                   NC     90014090841
398BB1A972B87B   CARREN        MATTSON                     ID     42020771097
398BB328731628   SOUVENANCE    JOSEPH                      KS     90008413287
398BB538A76B89   EDITH         VAZQUEZ                     CA     90010215380
398BB82724124B   KENNETH       ROBINSON                    PA     90013968272
399122A9691831   EDUARDO       DAVILA                      OK     21014262096
3991284685B281   THELMA        HURT                        KY     68022208468
39913356A2B87B   FRANK         BLACK                       ID     90015063560
3991363867B491   ROBERT        ELLISON                     NC     90005526386
3991397735B393   CATALINA      VELASCO                     OR     44557699773
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3991518812B87B   VALERIE      GUTIERREZ                    ID     90012391881
39915211A7B492   RUBY         STYLES                       NC     11015992110
3991564678B16B   RON          PETERSEN                     UT     90013226467
3991617937B471   JOHN         FARMER                       NC     90012321793
399164A1955972   JENNIFER     GONZALEZ                     CA     48017224019
3991753524124B   F            O                            PA     90014155352
39918149A7B471   CHELSIE      CHAMBERS                     NC     90014621490
39918283676B89   JUAN         CASTILLO                     CA     90003282836
3991B72882B87B   BEAU         HURLEY                       ID     90012627288
3992149137B492   MEDEL        QUITERIO                     NC     90013944913
3992254145B156   FABIAN       MONTGOMERY                   AR     90009135414
3992287894B281   OSCAR        ARAQUE                       IA     90010928789
3992369A891584   DELFINA      CARRASCO                     TX     75017486908
3992419815598B   MARVIN       HARRIS                       CA     90014511981
39924538A4124B   HANNAH       PAUL                         PA     90014155380
3992534367B492   HAROLD       WILLIAMSON                   NC     90007323436
3992591645B344   DANIELLE     BURNETT                      OR     44568069164
39926355176B89   RAFAEL       BARAHONA                     CA     90013683551
3992786937B449   ENRIQUE      QUINTEROS                    NC     90004118693
399284A2241285   ROSA         KUSSEROW                     PA     90012164022
3992948A52B87B   NATHAN       NARTE                        ID     42083274805
3992979A77753B   CASILDO      RUIZ                         NV     90013607907
3992984887B386   MILTON       HERNANDEZ                    VA     90002608488
3992B33917B492   BRITTNEY     MCLEAN                       NC     11080103391
3992B47812B87B   MARIA        MADRIGAL                     ID     42098084781
3993137565598B   FILIBERTO    TORRES                       CA     90006863756
3993171484124B   ALANA        HAYES                        PA     51018137148
3993183887B659   KIMBERLY     BASS                         GA     90014408388
3993319135B393   LATAEVON     SPENCER                      OR     44584321913
3993331347B492   KAREN        THRASHER                     NC     90014403134
3993332747753B   MARYLANDER   TALLEY                       NV     90011393274
39934353A8B162   CARMEN       ASAY                         UT     31099043530
399349A385B344   TERESA       GARCIA                       OR     44586669038
3993538867B449   MARGARITA    CARDENAS                     NC     11002013886
3993538964B281   THOMAS       KERNS                        NE     90000333896
3993553934124B   ALAYNA       TOLBERT                      PA     90014155393
3993654744124B   TAKIYAH      BULLOCK                      PA     90014155474
3993699627B471   JONATAN      CASTRO                       NC     90013369962
39937127A41285   TIFFANY      LOWE                         PA     51007671270
3993767382B847   LAVON        DODDS                        ID     42066876738
39938656A41285   JAMIE        MITCHELL                     PA     90012086560
39938783A63629   BRITTANY     GRIVETT                      MO     90008817830
39938A11155972   FEDERICO     DE LA PAZ                    CA     90009960111
3993968A941277   VERONICA     ANDERSON                     PA     51093916809
3993B22412B87B   MEGAN        JOHNSON                      ID     42086122241
39941128676B45   JOSE         BERNAL                       CA     90014891286
3994163418B16B   KIDS         ZONE                         UT     90005836341
3994171155B393   MICHELE      ELLIS                        OR     90015127115
3994236A32B87B   DUSTIN       WASSOM                       ID     42013563603
3994274335B555   MARIA        VALENZUELA                   NM     90000467433
39944499576B89   JONAS        PHILIPPE                     CA     90013054995
399452A2441277   LISA         CHIORAZZO                    PA     51010922024
3994642294B922   JENNIFER     JOHNSON                      TX     76503714229
3994646424B281   SHAUNA       CALDWELL                     NE     90013054642
39946A2675B55B   SHERRI       BARNETT                      NM     90010130267
3994712415598B   ANDRES       YERMAN                       CA     90001671241
3994742A755964   RAUL         LOPEZ                        CA     90009164207
399475A7831424   JAMES        JOHNSON                      MO     90010205078
3994972797B471   MILAGROS     MEJIA                        NC     90010587279
39949A7265B393   KARISA       SMITH                        OR     44511330726
3994B154691831   TIMOTHY      VANARSDEL                    OK     90014811546
3994B3A2A55949   ALBERT       AGUIRREQ                     CA     49055543020
3994B42975B281   ALICE        GRAVES                       KY     68008164297
3994B452572496   CHRIS        NICHOLSON                    PA     90008434525
3994B593176B89   CASANDRA     ORTEGA                       CA     90014765931
3995143332B87B   SHAWNA       MAYS                         ID     90013414333
3995164487B492   SYLVIA       MOORE                        NC     90009736448
3995171197B449   CHRISTIAN    ARADILLAS                    NC     90005117119
39951A55276B89   JOLLENTINO   GUERRERO CASTILLO            CA     46039200552
3995246995B344   SOCORRO      AMARO ROMAN                  OR     44583354699
3995253AA76B89   SUZANNA      BARAJAS                      CA     90014825300
3995286394B281   GERAL        POTTER                       NE     27086008639
3995313924B281   MILA         RUETH                        IA     27084071392
39953AA127B639   DENISE       MOORE                        GA     90012900012
3995457122B87B   CHRISTIE     ARMSTRONG                    ID     90009685712
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39954AA127B639   DENISE       MOORE                        GA     90012900012
3995514AA55972   MEGAN        MARTINEZ                     CA     90013801400
3995666127753B   ROBERT       OWENS                        NV     90003676612
39956A7535B393   SHAUN        MARTIN                       OR     90006540753
3995716637753B   MICHAEL      PALMER                       NV     90012421663
3995817A191831   GERAD        THOMPSON                     OK     90010731701
39958A47924B35   IBEN         ENO                          MD     90015170479
3995931625B393   DEE          KILLIAN                      OR     90010823162
3995987734B281   MICHELLE     MOERKE                       NE     90002588773
3995B12747B471   VENESSA      TORRES                       NC     90013201274
3996114937B492   NICHOLAS     DURHAM                       NC     90001211493
39964722A4B541   MARIA        RODRIGUEZ                    OK     90010777220
3996532398B162   ABRAM        KENTER                       UT     90001713239
39965785A2B87B   JENNY        CLIFFORD                     ID     42092507850
3996647155598B   ESTHER       LUNA                         CA     49037534715
39966AA5576B89   PEREZ        JAVIER                       CA     90003150055
3996838655B393   RUTILIA      MARTINEZ                     OR     90012183865
3996844247B449   FELICIA      MAYES                        NC     11063454424
3996B15927B471   NAUTICA      BURNER                       NC     90014711592
3996B5A9131424   ZERNETHIA    KING                         MO     90014155091
3996B683A4124B   MONICA       ROTONIDO                     PA     90004536830
3997137A92B87B   MARIA        TORRES                       ID     90013593709
39971631976B89   ELIAS        CRUZ                         CA     90014776319
39972682A76B89   OLIVER       NICDAS                       CA     90013056820
39974276A55972   KAREN        SCOTT                        CA     90013172760
39975287372B37   TRISHA       RAUPP                        CO     90009512873
3997646815B393   TYREE        MONTGOMERY                   OR     44546794681
3997742A291584   MARIA        DIAZ                         TX     90003244202
3997748964B936   YVETTA       JOUBERT                      TX     90011684896
3997846815B393   TYREE        MONTGOMERY                   OR     44546794681
39978A67641258   DANNIE       WHITE                        PA     90014250676
399813A245B281   JOSHUA       CUTLIP                       KY     68022533024
39981A9485B156   XAVIERY      HUDSON                       AR     90011750948
39982338A7753B   DENISE       MARTIN                       NV     90004223380
3998291A255972   MICHAEL      LEWIS                        CA     48043759102
3998341445B156   LATASHA      GARRETT                      AR     90000794144
3998346844124B   RAFIQAH      FORD                         PA     90012614684
3998386898B16B   RONNIE       THOMAS                       UT     90010368689
39983A15776B89   VICTOR       DONEZ                        CA     90014960157
39983A16161924   CRESCENCIA   SERRANO                      CA     46007190161
3998437184124B   MALORY       MORRISEY                     PA     90014463718
399844A2241258   CONSTANCE    JONES                        PA     51061774022
39984595A5598B   ALICIA       GONZALEZ                     CA     90008385950
39984982698B22   NATHANIEL    ELLER                        NC     90011529826
39984A2A876B89   MARILIO      DOMINGUEZ                    CA     90014960208
3998534325B393   KYLE         GOLLEHER                     OR     44517973432
399858A555B23B   DULMAN       NIEVES LOPEZ                 KY     90002788055
3998683384124B   CHRISTOPHE   KURTA                        PA     51048228338
3998722362B87B   NECCIA       WELTY                        ID     90011072236
3998858163B356   CHRISTINE    PFEIFER                      CO     90011755816
3998862345B344   WAYNE        BACKLUND                     OR     90005996234
39988774A72B34   WILHELMINA   WRIGHT                       CO     90000457740
39988A68A91232   BRANDON      BROWN                        GA     90007820680
3998952542B87B   TONY         DILL                         ID     90005695254
3998966935B393   KARISSA      KNETZGER                     OR     44503436693
399899A627B471   ZYONNA       WILLIAMS                     NC     90014669062
3998B43515B156   LILIA        ESCALANTE-ROBLERO            AR     23077694351
3998B78644B281   ROMARO       NELSON                       NE     27011997864
3998B917A7B471   BRANDON      WHITE                        NC     90013019170
3998BAA1931424   ALISA        LOVAN                        MO     90014430019
39993A74198B25   OCTAVIO      ROMERO                       NC     90006370741
39993A7765598B   MILL         SHANTELL                     CA     49071600776
39994883A7753B   CHRISTINA    PUCCI                        NV     90014408830
3999578577B492   TAMMY JO     TAYLOR                       NC     90012817857
3999646718B162   DAVID        RAY                          UT     90012464671
3999691695B156   SHANNON      NELSON                       AR     23089409169
39996A3118B162   DAVID        RAY                          UT     31030060311
39997292A41258   KELLY        MURRAY                       PA     90012012920
39998956A76B89   IRMA         ALEJANDRE                    CA     90014169560
3999921327753B   SALVADOR     BARAJAS                      NV     90011912132
3999969526B121   JERMICK      BUNLEY                       MS     90011396952
3999B17415598B   JOEL         OCHOA                        CA     49011031741
3999B25AA51578   DEVIN        CHAMPLIN                     IA     90013952500
3999B528141258   WILLIAM      BRONSON                      PA     90014665281
3999B716491371   JASON        CARNES                       KS     90002937164
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3999B74A34124B   ARRON           ALLEN                     PA     51074457403
399B13A962B87B   EMILY           BROWN                     ID     90009163096
399B214115B393   STEVEN          HUYCK                     OR     90013271411
399B2559841258   CARLOS          SANCHEZ                   PA     51071945598
399B271475B393   ANJERIE         POWERS                    OR     90005587147
399B3517A55949   MONICA          SOLANO                    CA     90014325170
399B368347B449   DANNY           GONZALEZ                  NC     90006336834
399B417128B162   JOSE            HERNANDEZ                 UT     31095961712
399B4632691371   EUGENO          DESICO                    KS     90012436326
399B465A17B471   AUDREY          WILLIAMS                  NC     90015166501
399B475414B281   LEA             JONES                     NE     27095187541
399B496215598B   GUADALUPE       SALAZAR                   CA     90010149621
399B531325B546   JENNIFER        CHAMBERS                  NM     90008423132
399B5314891584   JAVIER          HUERTA                    TX     90003243148
399B542485598B   ANGLE           STOVALL                   CA     90013874248
399B5583A4B281   FABIOLA         VAZQUEZ                   NE     27022805830
399B576855B393   BRENDA          MARUGG                    OR     90012157685
399B6476455972   ALYSSA          CRUZ                      CA     90011654764
399B653217753B   MARISOL         AGUIRRE                   NV     90011245321
399B711567B492   MIKE            CRISPY                    NC     90013421156
399B714394124B   DEBORAH         CHANGERI                  PA     90006021439
399B743118B162   BRYCE           SELEEY                    UT     31069344311
399B776597B449   TASHA           RODGERS                   NC     11007417659
399B7A17A72B35   MELANIE         MCHALE                    CO     90001320170
399B819755598B   CARINA          CONTRERAS                 CA     90014201975
399B835452B87B   CAMBRON C       CABRERA                   ID     90009163545
399B85A465B536   ADAM            ALAOUIEH                  NM     35039365046
399B926114124B   MICHELLE        IVORY                     PA     51039322611
399B975A941258   THOMAS          FLETCHER                  PA     51095547509
399BB22565B34B   UZZIEL          MARTINEZ                  OR     90001472256
399BB243876B89   VICTOR          PEREZ                     CA     90010802438
399BB57924124B   CAROL           KLEIN                     PA     51027215792
399BB612572495   MISTY           GEORGE                    PA     51075126125
399BB65757B492   ROANALD         MORRISON                  NC     90000836575
399BB6A5891371   CHESNEY         GONZALEZ                  KS     90013146058
39B1177245B344   OMAR            RUIZ                      OR     90011777724
39B11AA282B87B   LIBEE           ROD-HENSON                ID     90013100028
39B1322635B393   JOHN            BARKER                    OR     90010312263
39B1471777753B   TED             WHITE                     NV     90004787177
39B148A674B547   TRACY           MAGNESS                   OK     90005498067
39B14A1774B281   KARLA           DOMINGUEZ                 NE     90014920177
39B1526345B358   BAILARD         ERIC                      OR     90009762634
39B1556447753B   ESMERALDA       PARTIDA                   NV     43054345644
39B15947791831   ISELA           CASTRO                    OK     90009759477
39B16192931657   ROY             DARNALL                   KS     90000981929
39B165A3155972   OLLIE           JONES                     CA     90014555031
39B1723275B358   YEMATEEMAS      OSBORNE                   OR     90015062327
39B1742515B156   KAREN           JEFFERSON                 AR     23074084251
39B17472876B89   JOSE LUIS       MONTIEL                   CA     90013604728
39B1751475B393   TANISHA         BERGHOLM                  OR     90004165147
39B1753518B162   MICHAEL         ASTON                     UT     31027655351
39B1775328B195   PATRICK         SMITH                     UT     90002937532
39B1827767B492   ANTHONY         WINSTEAD                  NC     11075382776
39B18317155949   ALLISON         KLEIN                     CA     49002393171
39B18441355972   FRANKIE         BEJARANO                  CA     48067044413
39B18467976B7B   PEDRO           FRANCISCO                 CA     46093484679
39B1892226B397   KATHY           KENNY                     NH     90015129222
39B1948168B166   MARIA           PEREZ                     UT     90015214816
39B1948747753B   BRENA           BALDWIN                   NV     43013934874
39B1956772B87B   MARIA JUANITA   JUAREZ                    ID     90013875677
39B19919491371   ANGELA          CORDOVA                   KS     90013499194
39B1B48775B52B   KELLY           TENORIO                   NM     90015064877
39B1BAA164B281   KOUTODJO        FIDEGNON                  NE     90014920016
39B21123985833   GILBERTO        CEBREROS                  CA     90008771239
39B216A6555972   PATRICIA        FLORES                    CA     90014516065
39B21A78361962   ARIDAY          NIETO                     CA     90007240783
39B21A97941285   JAMES           MATT                      PA     90013960979
39B22215124B59   DENISE          ROBINSON                  DC     81021222151
39B22419855972   LUIS            ARROYO                    CA     48006944198
39B235AA48B16B   REBECCA         CURTIS                    UT     90003255004
39B24433455949   JOE             THRAILKILL                CA     90015264334
39B2454278B16B   TANNER          JAMES                     UT     90003255427
39B2466A47B492   SHERE           LINEBERGER                NC     90002566604
39B2495467B471   FABIA           MADINA                    NC     90011219546
39B2576634124B   BRENDALE        BOWLES                    PA     51089467663
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39B2627125598B   KA XUA          YANG                      CA     90013812712
39B26385191584   SHANIQUA        SHAW                      TX     75036403851
39B2655685B52B   MARSHA          REYNOLDS                  NM     35036365568
39B27124576B89   LUCAS           SHACKELFORD               CA     90013671245
39B2728415598B   PRISCILLA       HINOJOSA                  CA     90013492841
39B27582331424   JAZMINE         WILLIAMS                  MO     90013525823
39B2763AA57599   NOEL            JACQUEZ                   NM     90009056300
39B2845292B871   JULIE           MCNETT                    ID     42082334529
39B2862A17753B   RODOLFO         CHAVEZ                    NV     90014406201
39B29386293761   AMANDA          MCLAIN                    OH     90003263862
39B2947A131424   MARTINA         MOSBY                     MO     27512314701
39B2B17987753B   LORENA          HERNANDEZ MUNOZ           NV     90012621798
39B2B42792B835   CRAIG           SPENCER                   ID     90015024279
39B2B483791371   RICARDO         MONROY                    KS     90011894837
39B2B498A5B52B   BRENDA          MOTT                      NM     90015064980
39B2B6A585B358   ALYSSA          GALIANO                   OR     90011716058
39B2BA34576B89   MARGARITA       CENDEJAS                  CA     90007830345
39B3119235B52B   JENNIFER        MARTINEZ                  NM     90004231923
39B3126A491371   JAMES           NELSON                    MO     90014092604
39B3147594124B   TONI            MIELE                     PA     51032124759
39B3168155B386   JOY             ALLEN                     OR     44513656815
39B31856431424   BREANNA         COLE                      MO     90013188564
39B3212A37B639   TAMARAH         BENFORD                   GA     90011011203
39B32191755972   INA             JENNOE                    CA     90015121917
39B32288141277   SARAH           COOLEY                    PA     90002412881
39B3233219152B   MARIA           CANALES                   TX     90005923321
39B3244954124B   DANIELLE        CZAJKOWSKI                PA     90011404495
39B32695276B89   MICHELLE        AGUILAR                   CA     90014826952
39B33466757569   JANET           RASCON                    NM     90014134667
39B3369575598B   PATRICIA        REYES                     CA     90000796957
39B34247885833   JANET           MATEO                     CA     90003272478
39B3441962B87B   WAYNE           JOSLEYN                   ID     42082644196
39B3549295B38B   CYNTHIA         PETERSEN                  OR     90004704929
39B35AAAA41285   BRIAN           MCGRUBER                  PA     90013960000
39B3612537B471   RANDY           KING                      NC     90014811253
39B3627745B344   AMMAR           MAHDI                     OR     90013672774
39B36499791538   CHRIS           AGUILERA                  TX     75032944997
39B3672835B344   AMMAR           MAHDI                     OR     44501177283
39B36A54991371   RANDY           DOTY                      KS     90012660549
39B37237A5B156   NORMA           PHILLIPS                  AR     90004952370
39B3755A491831   JESSIE          MITCHELL                  OK     90006965504
39B37842A2B87B   JOHNATHON       MATHENY                   ID     42022098420
39B3853575B393   MICHELLE        MEISTER                   OR     90013055357
39B3888437B449   FERNANDA        LORETO                    NC     90004028843
39B39191755972   INA             JENNOE                    CA     90015121917
39B39419685833   KIMANI          FELTON                    CA     90012154196
39B3953125B52B   MARCELO         HERNANDEZ                 NM     90015065312
39B3B17784124B   DANA            DILLEY                    PA     51051781778
39B3B39355B344   JOSE            MARTINEZ                  OR     44573303935
39B3B4A255B52B   RICARDO         HOLGUIN                   NM     90006014025
39B41474341277   VINCENT         CZACHOWSKI                PA     90010724743
39B4171114124B   COLLEEN         CURLEY                    PA     51033687111
39B4191525598B   CLARA           CELANI                    CA     49002599152
39B4221917B492   SHAWN           MC MILLER                 NC     90008622191
39B42225A7753B   CYNTHIA         LEGG                      NV     90002862250
39B4329277B639   CHARLES         MCCOWAN                   GA     15050982927
39B432A3391371   MARIA           NEGRETE                   KS     90012032033
39B4372527753B   EVANGELINA      JIMENEZ                   NV     43039647252
39B44424531424   JOE             MERCURIO                  MO     90000664245
39B4445155598B   WILLIAM         GARCIA                    CA     90011974515
39B45176531249   ADAMMA          MUODEME                   IL     90014421765
39B4526632B87B   JAME LARRY JR   SNELL                     ID     90004572663
39B4535A15598B   JENNY           LIZANA                    CA     49076823501
39B45989657122   NATASHA         MOSLEY                    VA     90008269896
39B46477A5B358   CATALINA        LOPEZ                     OR     90002854770
39B46675585833   TRAVIS          MICHALSKI                 CA     90010596755
39B47591255949   ANTHONY         RAMIREZ                   CA     90013325912
39B478A6355949   ROSALINDA       MENDOZA                   CA     90009578063
39B47919A76B89   NICK            RIOS                      CA     90012879190
39B4835944124B   SERENA          WOODS                     PA     51025683594
39B48373951347   SCHERISE        HINTON                    OH     90013673739
39B48438876B89   PATRICIA        DIGUEZ                    CA     90005064388
39B49157A41258   JENNIFER        GREENWALT                 PA     90014801570
39B49327191881   OSCAR           BUSTOS                    OK     90013293271
39B4962575B156   JEREMY          RODGER                    AR     90006306257
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39B49722855972   MONICA        GARCIA                      CA     90001237228
39B4B18A97753B   MATTHEW       GAW                         NV     43093801809
39B4B389691831   JENE          STAKE                       OK     90011723896
39B4B61A298B83   LUIS          MARTINEZ                    NC     90003476102
39B51396176B89   ADRIANA       GONZALEZ                    CA     90003493961
39B5197748B162   HECTOR        FLORES                      UT     90005689774
39B51A25185833   GARY          TOWERS                      CA     46054390251
39B52237241258   MARQUITTA     WHARTON                     PA     90001492372
39B52417A41285   DAVID         CHRISTMAN                   PA     90011824170
39B52A2815B52B   SILVIA        GARCIA                      NM     35036710281
39B5335835598B   ERICA         GARCIA                      CA     90014613583
39B53829731621   CHRISTOPHER   COTTON                      KS     90003358297
39B53A1545B52B   ALEXANDER     MUSKETT                     NM     90010560154
39B5429A25B52B   BERTHA        ACOSTA                      NM     35022822902
39B5494772B87B   JOEL          LOPEZ                       ID     90012919477
39B5526192B871   ALEXIS        BIRD                        ID     42050752619
39B5547755B52B   JESSICA       LOPEZ                       NM     35050634775
39B55724A91371   JENNIFER      WEB                         KS     90013147240
39B5594838B162   ERIN          BARTON                      UT     90003879483
39B56217A91959   TRINA         STEPHENSON                  NC     90014712170
39B56553991584   SERGIO        TOBIAS                      TX     75073705539
39B56A82376B89   MARIA         REED                        CA     46056730823
39B5723A87753B   REYNA         VALLADARES                  NV     90008712308
39B573A2971962   CHARLES       SMAGALA                     CO     90003493029
39B577A647B449   JULIUS        WILLIAMS                    NC     11007987064
39B5793AA5B393   LINDA         WIGREN                      OR     90015049300
39B5794A441285   CHARITY       SCHMIDT                     PA     51052809404
39B57A3A45598B   ROBERTA       RIOJAS                      CA     49010480304
39B5948A27B492   MARIO         ROBBS                       NC     90001784802
39B59678A5B93B   MARCO         GOMEZ                       WA     90015486780
39B5B46325598B   ARMANDO       SALAZAR                     CA     90014114632
39B5B693991584   ROSA          ESPINOZA                    NM     75017846939
39B5B928A76B89   ASHLEY        HAWORTH                     CA     90012879280
39B61255772B44   ELISEO        TAPIA                       CO     90010462557
39B6178112B835   ROSA LINDA    DELAFUENTE                  OR     42095147811
39B621A9A2B87B   KATIE         GARCIA                      ID     90014491090
39B6256894124B   LEIGH         HILL                        PA     90008635689
39B6352835B358   MARIA         NAMBO                       OR     90014185283
39B6386385B156   TONY          PORTER                      AR     23085368638
39B64221A97122   ERNESTO       LEMUS                       OR     90003222210
39B642A6641258   LATANYA       ROSSER                      PA     90013152066
39B6488447B492   STEPHANIE     GANTT                       NC     90008178844
39B656A515B58B   TISHA A       RAMIREZ                     NM     90005036051
39B65935931424   ANITA         SMITH                       MO     90014889359
39B6663965598B   AIOTEST1      DONOTTOUCH                  CA     90015116396
39B6665245B393   GASPAR        QUINTANA                    OR     44546626524
39B66757655949   INA           ERNST                       CA     90011877576
39B6686218B162   MICHAEL       SHEEDY                      UT     90010898621
39B66977691371   JAZZ          BROWN                       KS     29037869776
39B66A7182B871   LACI          SHERWOOD                    ID     42000050718
39B67443791831   BRITTANY      LOGAN                       OK     90012234437
39B67469777544   DEBORAH       NAVARRO-GARCIA              NV     90011734697
39B67822A76B89   LAURA         VASQUEZ                     CA     90014168220
39B6869A157126   MARIA         SANCHEZ                     VA     90010916901
39B68757891584   CARLOS        NAVARRO                     TX     90005597578
39B6896915B344   LORENZO       LECHUGA CRUZ                OR     44565229691
39B689A4155972   ROGER         ANDREWS                     CA     90009989041
39B69383676B89   SERGIO        HERNANDEZ                   CA     90008743836
39B693A757B471   ANGEL         LITTLE                      NC     90013763075
39B69442891371   NAYEI         BLANCO                      KS     90012324428
39B69A77A5B344   DOLORES       RAYMUNDO GUTIERREZ          OR     90003270770
39B6B32227B492   NICHELLE      KELLY                       NC     11010203222
39B6B429476B89   CAMERON       MITCHELL                    CA     90008304294
39B6B49487753B   MARIA         ARELLANO                    NV     90010024948
39B6B62A65598B   WILEBALDO     ESPINOZA                    CA     49097126206
39B6B6A8297122   ALLISON       FORKES                      OR     90006816082
39B71888791831   LAMOINE       HUTTON                      OK     90004168887
39B71A9AA41258   ESAN          BRAY                        PA     90012020900
39B7246195B52B   JUAN          ATAYDE                      NM     90000194619
39B7246834B296   TAMRA         WILLIAMS                    NE     27094524683
39B7265845B281   TANA          HILLMAN                     KY     68007376584
39B7294429155B   AHMED         MEZA                        TX     90010759442
39B74627455972   FRANCISCO     PADILLA                     CA     90013686274
39B746A9777544   ROBERT        CHARLES                     NV     90012656097
39B75945691371   ARMANDO       VASQUEZ                     KS     90015229456
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39B75A41941258   EBONY        RAGIN                        PA     51001490419
39B75AA695B393   AUDUM        BELL                         OR     90001800069
39B7632764124B   TIMOTHY      PEIRCE                       PA     90011673276
39B76336A77544   JUAN         DIAZ                         NV     90005613360
39B7647A24B281   SABRINA      BROWN                        NE     90014924702
39B77278374B7B   MICHELLE     PRICE                        OH     90014872783
39B77473855972   JEANEANE     YTURRALDE                    CA     48082464738
39B77496241285   SARA         DILLARD                      PA     90012944962
39B77665891371   DIANA        SANTELLAN                    KS     90010846658
39B77A67191584   PRISCILA     ACOSTA                       TX     75078600671
39B78634585833   ERIC         HARDWICK                     CA     90009106345
39B7863965598B   AIOTEST1     DONOTTOUCH                   CA     90015116396
39B793A6376B89   DAVID        MORENO                       CA     90015083063
39B796A9576B89   REGINA       TAYLOR                       CA     90010566095
39B7B68A477544   TRICIA       WARREN                       NV     90009136804
39B7B97167B471   JERRY        HERRON                       NC     90013459716
39B8121755598B   ELIDA        VALDES HUERTA                CA     90008142175
39B8186495B156   SHYLEE       HAGLER                       AR     23074128649
39B821A1241285   JERRY        FROEMAN                      PA     90002741012
39B8259A47B471   ALEXANDRA    VELEZ                        NC     90010715904
39B83171941285   PAUL         CALIGIURI                    PA     51059471719
39B83849431424   ANDREA       JONES                        MO     90014958494
39B83873393753   JASON        CHASTEEN                     OH     90003048733
39B8426A97B639   GARRETT      MARSH                        GA     15091112609
39B85315931424   RACHEL       WILLIAMS                     MO     90014843159
39B8536A131424   VIVIAN       BECKER                       MO     90012023601
39B8588822B835   NICHOLAS     MCDONALD                     ID     42005958882
39B85A41491584   ISHMAEL      MARTINEZ                     TX     90004360414
39B85A8282B87B   ROSA         FELIX                        ID     90010790828
39B8632535B156   JESSICA      EVERSON                      AR     23028923253
39B86596876B89   JUANA        FELIX DE LOPEZ               CA     90009585968
39B86638A91371   CHONG        WALKER                       KS     90003576380
39B86639255972   VICTORIA     ELLIS                        CA     48031996392
39B86973231424   MORRIS       RASBERRY                     MO     90010869732
39B8766912B871   JACOB        WILCOX                       ID     42042806691
39B8799824124B   JAMES        FORSYTHE                     PA     90014789982
39B8825898B16B   VICTOR       HERNANDEZ                    UT     90001012589
39B89197776B89   YESENIA      REFUGIO                      CA     46014781977
39B8938275598B   CARMEN       ROCHA                        CA     49040763827
39B89933391831   JENNIFER     MANGUM                       OK     21038379333
39B8B85117B449   PAMELA       JONES                        NC     11011538511
39B8B999A97B21   ROBERT       MICEK                        CO     90006759990
39B9116A891371   HILDA        GONZALEZ                     KS     90006731608
39B91516A5B52B   DESIREE      GONZALES                     NM     90010255160
39B91A9192B835   GABRIELA     MARIN-CORTEZ                 ID     90010600919
39B9219275B344   IGNACIO      CARDENAS                     OR     90009041927
39B92641377544   VANESSA      LITTRELL                     NV     90011756413
39B9274245B52B   JESSIE       MASCARENAS                   NM     90008697424
39B931A947753B   ANGELO       COOPER                       NV     43078081094
39B9362354124B   TAMIL        ENOCH                        PA     90013966235
39B937A5191584   ANTONIO      OJEDA                        TX     75096457051
39B9396785B156   DEE          CALHOUN                      AR     23088479678
39B9433595B393   CAITLIN      BEBERNESS                    OR     90015013359
39B9479755B358   LINDA        SPELL                        OR     90009497975
39B94821276B89   OSCAR        SALAZAR                      CA     90014188212
39B9638568B162   JOREL        DE LA CRUZ                   UT     31052693856
39B969A4691371   LILLIAN      KINDRED                      KS     29087029046
39B97361A41277   TRACY        FERRY                        PA     51013873610
39B9743435B156   SIDNEY       WARD                         AR     90012634343
39B97568191371   JESSICA      HTKANSON                     KS     90006045681
39B97759A31433   DONNA        GEORGEVICH                   MO     90004317590
39B97815355949   JAVIER       ZENDEJAS                     CA     90010668153
39B98115897122   ELOISA       LOPEZ MENDEZ                 OR     90001571158
39B98293341258   TAMMY        JEAN CARROLL                 PA     90012872933
39B98374541285   CHARLES      WEBB                         PA     90014953745
39B9852478B332   LINDA        WHITE                        SC     11028835247
39B9899718B141   JONELLE      KUMPIN                       UT     90012369971
39B98A7185B393   DEBBIE       HOUSTON                      OR     90009330718
39B9936285598B   CLAUDIA      HURTADO                      CA     49012023628
39B99647361962   GUILLERMO    TORRES                       CA     90003846473
39B9996595B393   JACK         BECKWITH                     OR     90007809659
39B9B47178B162   WALTER       RUALES                       UT     90014434717
39B9B571341258   MELVIN       PAYNE                        PA     90011505713
39B9B66125598B   GERARDO      BENITEZ                      CA     90015356612
39B9B7A6331424   DEWANDA      HIGHTOWERS                   MO     90009907063
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1835 of 2350


39B9B84A37B639   NATASHKA      MILLER                      GA     90005338403
39B9B914155972   GUSTAVO       BANUELOS                    CA     90005029141
39B9BA74625655   ANDRIA        GUYTON                      AL     90014140746
39BB144972B871   HUGH          GEORGE                      ID     90011744497
39BB181442B835   MELISSA       MOWERY                      ID     90004208144
39BB192345B281   JAMLEILA      EVANS                       KY     90000949234
39BB1966651362   DEBORAH       GARDNER                     OH     90010869666
39BB19A842B87B   TERESA        HERRERA                     ID     90002029084
39BB2362376B8B   RYLIE         TALAVEGA                    CA     90011573623
39BB258784B52B   VIOLET        GUINN                       OK     90001355878
39BB258A55B536   SANDY         JAURIGUI                    NM     90001325805
39BB279398B16B   JUSTIN        RICHARDS                    UT     31000637939
39BB3552941285   TARAJEE       WILLIAMS                    PA     90015355529
39BB369A15B52B   ELISA         APONTE                      NM     35093496901
39BB3876222922   FELIN         RODRIQUEZ                   GA     90014278762
39BB3A66731424   TORRIE        WELCH                       MO     90011860667
39BB479A855949   ADRIANA       LOPEZ                       CA     90012907908
39BB4A9695B156   JAMEKA        ESTER                       AR     23032250969
39BB527915B52B   CAROL         SALAZAR                     NM     35048112791
39BB5AA164B281   KOUTODJO      FIDEGNON                    NE     90014920016
39BB6221191831   LEANDRA       DEMERY                      OK     90013272211
39BB6281455972   JOE           RODRIGUEZ                   CA     90010592814
39BB62AA755949   JONATHAN      SANCHEZ                     CA     49085362007
39BB642327B639   TRONDA        CARNEGIE                    GA     15015834232
39BB698568B162   ESTEBAN       FLORES                      UT     90010739856
39BB6A4722B835   ASHLEY        GARRARD                     ID     90013960472
39BB739282B87B   AMBER         SMITH                       ID     90012503928
39BB7572631424   APRIL         HOLLINS                     MO     90009405726
39BB8849A7753B   JOSEPH        CANNON                      NV     90012808490
39BB8886471932   JOSEPH        BERNARDONI                  CO     90002598864
39BB88A347B471   EARL          VALENTINE                   NC     90000518034
39BB932315B281   AMBER         CRUSE                       KY     90006983231
39BB934975B358   DANIELLE      SOC LOPEZ                   OR     44505103497
39BB9495A5598B   STEVEN        ZOFFKA                      CA     90000474950
39BB961682B87B   ROMAN         NUNEZ                       ID     90010876168
39BBB361555972   EVA           CARNERO                     CA     48033733615
39BBB38835B156   PORCIA        PEARSON                     AR     90002853883
39BBB47A172B28   JOHN          KINNEY                      CO     90004644701
39BBB58A391587   OSCAR         VEGA                        TX     90013475803
39BBB691477544   RONALD        NORRIS                      NV     43086696914
39BBBA2A485688   CARMELO       DIAZ                        NJ     85016460204
3B11122699713B   TAYLOR        LAUX                        OR     44552642269
3B111358151339   GEORGE        MOONEY                      OH     90010193581
3B111531847931   CHRISTOPHER   PRATT                       AR     90014995318
3B111565851369   KOURTNEY      PORTER                      OH     90006335658
3B111591151339   CYNTHIA       ADKINS                      OH     90012255911
3B11191A255927   JENNIFER      ELDRIDGE                    CA     49081439102
3B111A48A54165   STEVE         BERRIE                      OR     47080820480
3B112645931424   NICKI         ARMAN                       MO     27581776459
3B11319415B281   GALE          MERRIWEATHER                KY     90010401941
3B11346915B52B   KENDRA        RODEBUSH                    NM     35070014691
3B11358855B592   GINA          PEARSON                     NM     90006825885
3B11358888B162   MAURICETTE    ROBINSON                    UT     90013895888
3B114171355949   AIDA          ELENES                      CA     90007951713
3B114189391831   DEVENA        CRAFFORD                    OK     90010831893
3B1141A574124B   DONNA         LEE WILLKOMM                PA     90009331057
3B114295A5B156   ASHLEY        LITTLE                      AR     90011302950
3B114358151339   CHINA         PHILLIPS                    OH     66085103581
3B114443241277   DANIEL        JONES                       PA     90011564432
3B114557191356   LIZABETH      VEGA                        KS     29038995571
3B1146A166B198   DEWAN         JEFFERSON                   MS     90014946016
3B11472632B93B   BRANDY        CLAUSSEN                    CA     90008947263
3B114862991232   TYRESE        DAUGHTRY                    GA     14506968629
3B11491862B871   TINA          GARZA                       ID     42084849186
3B1159A695B344   TERENCE       BAILEY                      OR     90014929069
3B115A7198B162   ARTURO        OCHOA SOTO                  UT     90014160719
3B115A7375B555   EMILY         DENTON                      NM     90005310737
3B115A89872496   WAYNE         EUPSEY                      PA     90015520898
3B11614417B639   ESTELLE       JOHNSON                     GA     90008101441
3B11626868B162   LYLE          KINIKINI                    UT     90006622686
3B116294577544   SERGIO        ROJAS NUNGARAY              NV     90015072945
3B11653158B166   MARIA         RAMIREZ                     UT     90008725315
3B116622A54165   BRENNA        JOHNSON                     OR     90014286220
3B117159A2B28B   VANESSA       GALANI                      DC     90010581590
3B11727752B871   REX           TEDESKI                     ID     90013512775
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3B117458954165   CESAR         VASQUEZ GARCIA              OR     47094254589
3B11751614124B   GARY          SADAR                       PA     51041275161
3B11756347B449   JOHN          HOWARD                      NC     11046025634
3B1178A2155951   JOLENE        ESTRADA                     CA     90014748021
3B118126555949   GOILLERMINA   LOPEZ                       CA     90006591265
3B11813612B93B   RICHARD       GUDINO                      CA     90010661361
3B11817A85B141   LEZLI         DUKE                        AR     90011711708
3B11827755B393   KATO          KAVAPALU                    OR     44538102775
3B11883872B87B   THOMAS        FREINWALD                   ID     90014738387
3B119381372496   WENDY         GUZIK                       PA     90011963813
3B119395155972   JULISSA       CHAVEZ                      CA     48015953951
3B119523851369   SHEMIKA       REESE                       OH     90014705238
3B11954185B24B   VALANTINE     GOMEZ                       KY     90014605418
3B119598A91584   VERONICA      ALARCON                     TX     75035475980
3B11992525B156   EVA           PRADO                       AR     23067679252
3B11997725B52B   JOSE          NAJERA-CANO                 NM     90003589772
3B11B464761963   LUCIA         HERNANDEZ                   CA     90013604647
3B11B5AA79713B   COCO          SUMMERS                     OR     90013555007
3B11B612155951   JESUS         MANUEL MORENO               CA     49034516121
3B11B68258433B   JOVANI        CRUZ                        SC     90010736825
3B11B811877544   JOSEPH        BIRCHILL                    NV     43050128118
3B11BAA868B166   STACIE        CONNELLY                    UT     31011410086
3B121891A77539   GERARDO       ECHEVESTE                   NV     90014178910
3B122346261963   RICK          JAMES                       CA     90000873462
3B12237898B166   AARON         BROWN                       UT     90015223789
3B12242A754165   NICOLE        MILLER                      OR     90015184207
3B1225A275B52B   ARIEL         ROMERO                      NM     90012775027
3B1229A8A8B16B   VANEGAS       POMPILIO                    UT     90006619080
3B12363245B344   MICHELLE      SMITH                       OR     90012486324
3B12396814B943   TANJANIKA     SIMPSON                     TX     90011529681
3B124281751339   CURTIS        SWORD                       OH     90003132817
3B124449572496   THOMAS        DUGGER                      PA     51014314495
3B124526493768   AMANDA        HAMBLIN                     OH     90013215264
3B12465A197127   FLAVIA        RODRIGUEZ AGUILAR           OR     44045306501
3B124718977544   JESSICA       ADAIR                       NV     90006937189
3B124778231424   RHONDA        ROBINSON                    MO     90014777782
3B12479152B87B   ESIQUIO       PALACIOS                    ID     90003037915
3B124A19447931   ANNA          BARRERA                     AR     90008890194
3B12582195B269   DONALD        LEE                         KY     68062548219
3B125946377544   SANTIAGO      CANALES MONTES              NV     90007169463
3B126116954165   CARLOS        CERVANTES                   OR     90013151169
3B126237331424   QUINTIN       WINDHAM                     MO     90012502373
3B12693925B344   ALYSSA        FILAN                       OR     44511469392
3B12748A751369   LACEY         HUDSON                      OH     90013544807
3B12777A357153   CONSQULIA     DELEON                      VA     90000527703
3B127799791584   ELIZABETH     BERNAL                      TX     90010977997
3B12786715B156   CAROLYN       JARRET                      AR     90013348671
3B12822675598B   ABRAHAM       URIBE                       CA     90013982267
3B128688761963   MATTHEW       DAVIS                       CA     90003246887
3B128698341285   ERIN          KLUGH                       PA     90012456983
3B12875599713B   MAIRA         CASTILLO                    OR     90010047559
3B12897985B592   LUIS          CHAVEZ                      NM     90010439798
3B129396391584   CONCEPCION    TABOADA                     TX     90010503963
3B12945262B87B   SARAH         SUTTON                      ID     42013724526
3B12961539713B   JOSE          RAMIREZ                     OR     90013556153
3B129633A7B639   APRIL         SAVAGE                      GA     90013226330
3B129645441285   STEVEN        RETHAGE                     PA     51077686454
3B12964A54B943   MARIA         RODRIGUEZ                   TX     90013006405
3B1298A262B93B   DENNIS        BOYLES                      CA     90012388026
3B129937A8B162   JOSE          GRANDA                      UT     90014179370
3B12B45632B87B   TIM           CRAWFORD                    ID     42091614563
3B12B794191368   MELISSA       WILD                        KS     90002667941
3B12B868291831   JAMES         MOORE                       OK     90007518682
3B12B911441285   MAYADA        AYOUB                       PA     51085579114
3B12B999441258   ARTURO        APONTE                      PA     90015149994
3B12BA73177539   BERNARDITA    GONZALEZ-CAMARGO            NV     90010610731
3B12BA7414B943   ALEXUS        RUFFIN                      TX     90014020741
3B13121332B93B   RYAN          LAL                         CA     90010662133
3B131259641277   MICHAEL       SMART                       PA     90014832596
3B1314AA836B77   TAMYRA        HOOPE                       UT     90013884008
3B131A99291356   MISTI         BRUCE                       KS     90014710992
3B132395255972   RAYMOND       ZAYAS                       CA     90013073952
3B1323AA391831   LISA          TUTER                       OK     90013683003
3B132511251369   AMBER         VICKERS                     OH     66031515112
3B132517372496   JENNIFER      CARRIGAN                    PA     90013685173
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3B1332A8472455   SUE          WARD                         PA     51096862084
3B133339555951   JORGE        SANTOYO                      CA     90012443395
3B13333965B156   JENNIFER     HARKENREADER                 AR     90015193396
3B133622684368   WINSTON      FORRESTER                    SC     90010776226
3B134187355951   TRACY        GONZALEZ                     CA     49062661873
3B13466732B835   SERGIO       LOPEZ                        ID     90012596673
3B13475988B166   Y            CUNAHAN                      UT     31076817598
3B134AA445B52B   MARIA        HOLGUIN                      NM     90008160044
3B135565741258   DAVID        VENTO                        PA     51021245657
3B135671691356   PATRICK      MOORE                        KS     29060546716
3B135968155972   DOMNIC       HARRIS                       CA     48004729681
3B135A67931424   PETER        ANDERSON                     MO     27587450679
3B135A86255949   KARLAMARIN   GALVAN                       CA     90013290862
3B136222541258   KAREN        THOMAS                       PA     51040882225
3B13633614124B   B            AMY / GILCHRIST              PA     51029173361
3B13637662B87B   MARK         OVERMAN                      ID     90010213766
3B136533A5B385   JEFFREY      FULPS                        OR     44598785330
3B13666629713B   ASHLEY       SMITH                        OR     90013556662
3B137112172B76   LUCIA        MARTINEZ                     CO     33080161121
3B137527451339   GINA         CONLEY                       OH     66053245274
3B13757AA4B943   THOMAS       FUTCH                        TX     90012475700
3B13795555B281   CYNTHIA      BRITTON                      KY     90013959555
3B137A33572B24   MIRIAM       ARAGON                       CO     33057930335
3B1381A2391831   WILMA        RIGGS                        OK     21041231023
3B138361A2B871   CLEVE        CHALCRAFT                    ID     90010453610
3B138387576B89   DELFINO      CUELLAR                      CA     90014443875
3B1385A9A7B449   LURENDA      CHAPMAN                      NC     11068955090
3B138862454165   HEIDI        BALL                         OR     47086528624
3B13893A47B639   TAKESIA      CUNNUNGHAM                   GA     90013409304
3B13918315B52B   KYLE         CRAVENS                      NM     35063661831
3B13936A591584   MYRNA        SOTO                         TX     75082423605
3B139557A7B639   LATEVIA      SCOTT                        GA     90012385570
3B1397A6477522   RONALD       PEVNY                        NV     90007647064
3B139915377539   HITESH       PATEL                        NV     43004249153
3B139991992859   FABIOLA      LOPEZ                        AZ     90014169919
3B139A51751339   CHRISTINA    BOWLING                      OH     90005800517
3B139AA8191356   OLIMPO       JUAREZ ALAVAREZ              MO     90013240081
3B13B31668B166   GUSTAVO      CONTRERAS RIVAS              UT     90010253166
3B13B32A52B93B   TIFFANY      WILLIAMS                     CA     90014513205
3B13B34258B167   MICHAEL      VALENZUELA                   UT     90001823425
3B13B3A2951339   ALIYAH       MONTGOMERY                   OH     90012683029
3B13B69275598B   ALBERT       HARVEY                       CA     90005626927
3B13B6A938B16B   KAREN        RIVERA                       UT     90015036093
3B13B876577539   MARIA        ROMERO                       NV     90014718765
3B141267291232   DAMION       MATADIN                      GA     90010102672
3B14127742B87B   NIKO         TRINADAD                     ID     90014812774
3B14148334124B   KELLY        HOLMES                       PA     90013064833
3B14148A355972   LUPE         ESTRADA                      CA     90011794803
3B141627672B76   JENNIFER     HERNANDEZ                    CO     33095136276
3B1418A165B281   WILLIAM      SMITH                        KY     68050588016
3B141918231424   DARYL        PEEBLES                      MO     90008499182
3B14233A841258   DIAMOND      WATTS                        PA     90012903308
3B143213141285   ROBERT       REIBER                       PA     51089352131
3B143455461963   PABLO        RUBALCABA                    CA     90013084554
3B14355A391584   ISREAL       HERNANDEZ                    TX     90005065503
3B14356787B471   JOHN         ACOSTA                       NC     90013305678
3B143669584368   BELLAMY      JERMAINE                     SC     90011106695
3B14369279713B   CHRIS        COLEMAN                      OR     90013556927
3B143A1518B16B   ANDREA       SORENSEN                     UT     31001400151
3B14432637B639   BRIANA       ADAMS                        GA     90013953263
3B14486A231424   MARLEN       JACKSON                      MO     90013118602
3B144884177539   ASHLEY       HAGAN                        NV     43097038841
3B144895661963   TONY         BENDER                       CA     90003248956
3B144A81A5B281   LETICIA      MARTINEZ                     KY     90012710810
3B145184741277   MARSHA       UMSTEAD                      PA     90014621847
3B14569279713B   CHRIS        COLEMAN                      OR     90013556927
3B14585359713B   TOI          POLK                         OR     90009318535
3B145863A72496   KIMBERLY     MILLER                       PA     51091708630
3B145874577539   JUAN         TAPIA-SANTIAGO               NV     90014378745
3B14588625598B   ESMERALDA    LOPEZ                        CA     90012288862
3B145A7362B835   DANIAL       GANGUL                       ID     90012210736
3B145A91A31424   AMBER        STEGALL                      MO     90012850910
3B14657635B252   MARCUS       CARNEY                       KY     90014545763
3B14666425B344   GILBERTO     ALVAREZ                      OR     90014986642
3B146685154165   BRANDI       AUSTIN                       OR     47027916851
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3B146884177539   ASHLEY       HAGAN                        NV     43097038841
3B146A89957153   OK HYUN      YANG                         VA     90007020899
3B14711324124B   JOHNNY       BRAVO                        PA     90009261132
3B147244733665   ANGELA       STERLING                     NC     90008472447
3B14746445B344   GINO         ALFORD                       OR     90009664644
3B14754295B393   STEVEN       FAIRFIELD                    OR     90014815429
3B147635191831   MYSHIA       KELLY                        OK     90008956351
3B1477A974B943   ADRIANA      SOTO                         TX     90008557097
3B1477AA44B281   JERL         FORD                         NE     27046137004
3B14835A151369   DANIEL       O'BRIEN                      OH     90012323501
3B14861165B393   MATILDE      PEREZ                        OR     90013546116
3B1487A934B943   NICOLE       REID                         TX     90007647093
3B148AAA32B871   RACHAEL      ROSS                         ID     42036590003
3B149115476B89   DIEGO        ORTEGA                       CA     90012961154
3B14912492B93B   KARLA        ARDINES                      CA     90012421249
3B14917538B162   ARTURO       OCHOA SOTO                   UT     90014161753
3B149241741277   MEREDITH     FRANCHER                     PA     90002002417
3B14936187B449   FRANKIE      HAZELWOOD                    NC     90014313618
3B1495A574B943   RACHEL       DAY                          TX     90012875057
3B149732331424   PAMELA       BRADY                        MO     90013927323
3B14981467753B   TERRI        HARRIS                       NV     90012728146
3B149826555951   JUAN         ROMO                         CA     90014748265
3B14985745B52B   DAMIEN       SAAVENDRA                    NM     35035208574
3B149878973269   DAVID        WITT                         NJ     90014318789
3B149926A2B835   HAFSA        HARVARD                      ID     90001799260
3B14993A94B943   JUAN         OSEGUERA                     TX     90011969309
3B14B85117753B   TERREAN      MOORE                        NV     90012728511
3B151732A31424   MARIA        PINTOR                       MO     90013927320
3B151846141258   KAYLA        BASSETT                      PA     90013328461
3B152174272455   MICHAEL      EBERT                        PA     51098181742
3B1522A914124B   MICHELLE     JOHNSON                      PA     90012302091
3B152355376B89   DOMINIC      DURAN                        CA     46090603553
3B152433891537   LOENIDES     GONZALEZ                     NM     75014104338
3B152852655972   ZAIRA        CEJA                         CA     48073458526
3B152883155949   JOSE         HERNANDEZ                    CA     49086458831
3B1529A6191893   DEBORA       LIPFORD                      OK     21073659061
3B152A51741277   CYNTHIA      WOLFEE                       PA     51048370517
3B15318165598B   GLORIA       ORTIZ                        CA     49052981816
3B15324A154165   SUZANNE      LOPEZ                        OR     90015282401
3B15325525598B   BLANCA       LINARES                      CA     90013992552
3B153462747931   LONNIE       COPP                         AR     90014074627
3B15438112B835   NATE         SUEKEL                       ID     42042473811
3B154399391584   PATRICIA     HERNANDEZ                    TX     90010503993
3B154478776B89   STEVE        JUSTICE                      CA     90013934787
3B15462777B449   DIANE        FAULKNER                     NC     11029406277
3B154684972B76   JUAN         URIOSTEGUI                   CO     33066426849
3B15484212B28B   LEONARD      JOHNSON                      DC     90011748421
3B154853A55949   ANGELINA     CHAPPARO                     CA     90010158530
3B155125155981   KARLA        KESTING                      CA     90012691251
3B155368784368   OFELIO       HERNANDEZ                    SC     90004853687
3B1553A8461963   STEPHANIE    POTTS                        CA     90008643084
3B155615A41285   THOMAS       SCHEIRER                     PA     90011496150
3B155AA9391831   MISTY        MARTIN                       OK     90007970093
3B15636618B162   ALEJANDRA    TORIN                        UT     31088933661
3B15644A97753B   CATHRON      PAST                         NV     43090054409
3B156454241285   JOHN         JAMES                        PA     90013044542
3B156A49291831   LIDDIE       DAVIS                        OK     90009180492
3B15712378B162   VAN          CELAYA                       UT     90000491237
3B157427455945   KATRINA      BOOS                         CA     90006464274
3B157457651339   ALTON        WYMBS                        OH     90007644576
3B15748A755951   ANA          JERICOFF                     CA     90011594807
3B157561255972   AERIEL       ABBOTT                       CA     48098185612
3B15756475B52B   JAYME        YAZZIE                       NM     35043615647
3B15757A773221   JENNY        SANCHEZ                      NJ     90015015707
3B157674A72455   REBECCA      DAVIS                        PA     90013176740
3B1576A3154165   TRAVIS       BRENNAN                      OR     47027136031
3B157743791831   CHARLOTTE    MAHON                        OK     90012377437
3B15778775598B   ARISTEO      VASQUEZ                      CA     90012047877
3B157AA6441258   JASON        KALB                         PA     90012200064
3B158126A72496   NELLIE       MEADOWS                      PA     90012701260
3B15824A577539   JORGE        ESCALERA                     NV     90002822405
3B15843478B178   CARL         LARRACUENTE                  UT     90010894347
3B15846412B87B   SAUL         PONCE                        ID     90012734641
3B158629451369   THEO         WINT                         OH     90014066294
3B15898289713B   SEAN         ANDERSON                     OR     90015049828
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3B158A76791831   PAULA         BRIGGS                      OK     21029840767
3B159216A61963   ROLAND        PUNO                        CA     90011142160
3B15979895B156   PATRICIA      HOLLAND                     AR     90014157989
3B159973584368   EVA           AGUADO                      SC     90013419735
3B15B24A577539   JORGE         ESCALERA                    NV     90002822405
3B15B55A631424   PATSY         SINGLETON                   MO     27576485506
3B15B575251339   MICHAEL       SMALL WOOD                  OH     90005985752
3B15BA4482B835   ROBERTO       HERNANDEZ-MARTINEZ          ID     42091580448
3B16149515B281   EDWARD        BOLIN                       KY     90014724951
3B161682341285   SHARON        BEYERLEIN                   PA     90013596823
3B161876176B89   GERMAN        GUZMAN                      CA     90008418761
3B1627A545B393   TAYLOR        FIEGI                       OR     90014277054
3B162913655972   LETICIA       LUPERCIO                    CA     48092959136
3B16326274124B   JUDITH        KENNEDY                     PA     51059712627
3B16334845B393   FRED          VOOS                        OR     90013673484
3B163396455951   CARLOS        SALSIDO GOMEZ               CA     90012023964
3B163929131424   AMANDA        PAYNE                       MO     27579429291
3B16395977753B   JAMIE         LAMBDIN                     NV     90012579597
3B163986861963   WILLIAM       JEFFERSON                   CA     90002539868
3B164118431424   JUDY          KENNEY                      MO     90015561184
3B16421425B393   CARMEN        CORTEZ                      OR     90000992142
3B164224451321   CRYSTAL       HOSKINS                     OH     90003102244
3B16429793B352   CRYSTALLE     OVERSTREET                  CO     90011552979
3B164366951369   DEVICA        SELLERS                     OH     90014653669
3B16442882B93B   STEFAN        LAMPREDA                    CA     90012024288
3B164491397B39   CONSTANCIA    CORRAL                      CO     33028934913
3B1645A955B281   LOIS          SPRINKLES                   KY     90011915095
3B164821841258   STEVE         KREMER                      PA     90011058218
3B164829655951   XIA           VANG                        CA     90014748296
3B164A8492B87B   JONI          HATTOY                      ID     42069050849
3B16522A984368   JOSE LIUS     MARTINEZ                    SC     90014122209
3B16532235598B   JAZ           BROWNELL                    CA     90015073223
3B165487A61474   JOSE          VENTURA                     OH     90009464870
3B1654A9492886   MICAEALA      VALDEZ                      AZ     90015494094
3B16594543B388   RITA          WILLIAMS                    CO     33081539454
3B166597A4B943   LORRAINE      HERNANDEZ                   TX     90013275970
3B16676869713B   RICHARD       KELLEY                      OR     90013557686
3B166A5195B344   WILLIAM       ETEAKI                      OR     90011410519
3B167127661963   JOANNA        GATELEY                     CA     90003771276
3B167143655957   LETICIA       ESPINDOLLA                  CA     90009431436
3B16753112B93B   ADOLFO        SENA                        CA     90012705311
3B1677A1972496   VANESSA       VIDRO                       PA     90013587019
3B1677A8791356   ROSA          ROSAS                       KS     29056197087
3B16831185B359   FERN          WALKER                      OR     90007533118
3B168464761963   LUCIA         HERNANDEZ                   CA     90013604647
3B16872225598B   ROBERT        GONZALES                    CA     90006737222
3B16893475B281   VANESSA       GOLEMAN                     KY     90013929347
3B169144261963   LUCY          ALVARADO                    CA     90012781442
3B169147454165   ROBERT        WRIGHT                      OR     90012331474
3B169554241277   KATE          WILLOUGHBY                  PA     90010325542
3B169575976B89   ESPERANZA     NUNEZ                       CA     90014715759
3B169818672B24   JUAN          FLORES                      CO     90008608186
3B169A6AA72496   SHARON        ELLIS                       PA     90010220600
3B16B168477539   DION          STANLEY                     NV     90012691684
3B16B279951339   ERIN          MELTON                      OH     90013782799
3B16B47752B835   JUAN CARLOS   RUBIO GARCIA                ID     90007854775
3B16B498736B77   JIM           KERNS                       OR     90008604987
3B16BA4765598B   RIDGE         FLAUNTZ                     CA     49081800476
3B171266891356   CHARMAINE     LEWIS                       KS     90011372668
3B17127672B586   MARGARET      WILSON                      AL     90014712767
3B171385772B23   CRYSTAL       HASS                        CO     33030073857
3B17141372B871   ANA           BENAVIDES                   ID     42072594137
3B171764476B89   RIGOBERTO     LICEA                       CA     90015157644
3B172155591232   SHANNON       BRUCE                       GA     14593521555
3B17234782B271   CATHERINE     JONES                       DC     90014363478
3B172676841285   ANGELITTA     FLOYD                       PA     90015166768
3B17297695B156   MONIQE        JOHSON                      AR     90005549769
3B172A8785B344   CURTIS        SMITH                       OR     44506180878
3B173236161963   ROBERT        EDGERTON                    CA     90011142361
3B17336A851369   PHILIP        BOAKYE                      OH     90014943608
3B17357A957126   EMELIA        QUARM                       VA     81045585709
3B173965A77544   ABUNDIO       AVILA                       NV     90001759650
3B173A27A84368   JOSE          ARIAS                       SC     90012720270
3B174313851339   ALEX          WATERS                      OH     90003113138
3B17433645598B   CRYSTAL       MOBLEY                      CA     90012823364
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3B17453538B16B   MALISA            HANEY                   UT     90013385353
3B174613755972   GREG              GUERRERO                CA     48025806137
3B17475885B281   CHARLES           ENSMINGER               KY     90012427588
3B17494A155972   HUGO              PONCE                   CA     90015109401
3B174A5635B393   SARAH             GNEITHNG                OR     90008160563
3B175497A47931   OSCAR             CENTENO                 AR     90012414970
3B175568477544   JOYCE             STROM                   NV     90008515684
3B175695554165   BENJAMIN          WILCOX                  OR     47001796955
3B175764A41258   DANIEL            AYERS                   PA     90013197640
3B175A6234B281   NORMA             BOECK                   NE     90013630623
3B17623874B54B   ESTHER            RICHTER                 OK     90015072387
3B17649815B156   FRANCISCO         QUINTANA                AR     23066984981
3B176822276B89   VANESSA           GARCIA                  CA     90014158222
3B176882A2B87B   JENNIFER          WATSON                  ID     42008088820
3B176A41351594   MOUK              RASAVONG                IA     90013940413
3B176A72176B61   GABRIELA          CONTRERAS               CA     90012690721
3B1771A327B449   VERNIA            BANKS                   NC     11005611032
3B177345991883   KRISTINA          BRAZELL                 OK     90014273459
3B17772874124B   BRITT             GREEN                   PA     90002337287
3B177731472496   ROBERT            DEAVER JR.              PA     51095917314
3B17779568B16B   KIEL              WHITNEY                 UT     90013377956
3B17792425B281   VALONDA           TYSON                   KY     90012719242
3B177A8912B255   KEVIN             HESTER                  DC     90003410891
3B17811A951369   YOLANDA           BANKS                   OH     90012091109
3B17816A65B52B   JEANETTE          RUIZ                    NM     35014431606
3B17822557B471   EDDY              FERNANDO                NC     11074502255
3B17833688B162   EDGAR             CONTRERAS               UT     90011053368
3B178853297153   ALVINA            SINGH                   OR     90014928532
3B17897A27753B   ENRIQUE           NUNEZ                   NV     43058209702
3B179158551369   JOSHUA            MCDANIELS               OH     90015061585
3B17937758B162   NANCY             ESPINOZA                UT     90014163775
3B179976441258   TAMMY             PAYNE                   PA     90013939764
3B17B1A942B871   ROBERT            SMITH                   ID     42003371094
3B17B544477544   RAFAEL            GONZALEZ                NV     43044945444
3B17B71615B156   LASHUANDA         MOORE                   AR     23020067161
3B17B8A5491831   VINA              MOORE                   OK     90013988054
3B17BAA2351339   TRAVIS            CAUDILL                 OH     66000590023
3B181164231424   CASSIDY           LEWIS                   MO     90013831642
3B181338372455   JOSEPH            HOFFMAN                 PA     90013343383
3B181388261963   ROCIO             DOLORES GUZMAN          CA     90013413882
3B18172752B28B   DIONNE            LEWIS                   DC     90011737275
3B181853A55951   BRITTANY CHAPLE   CHATMON                 CA     90014748530
3B181A8255598B   JACKIE            HERNANDEZ               CA     90011470825
3B18216875B344   FERNANDO          CABRERA                 OR     44577871687
3B182289176B89   ANGELICA          GONZALES                CA     46071292891
3B182A79854165   ANDRADE           GARCIA                  OR     90010040798
3B182A8A651594   RHONDA            KELLY                   IA     90013940806
3B18339912B87B   DIANA             BUTLER                  ID     42077603991
3B1833A947B43B   MONIQUE           ROBINSON                NC     11049493094
3B18351A35B344   FERNANDO          AGUIRRE                 OR     44519475103
3B184537984368   SALVADOR          JUAREZ SANCHEZ          SC     90009195379
3B184564731424   PAMELA            BUTLER                  MO     90015015647
3B184623741285   LEON              LINDA                   PA     90014036237
3B1848A755598B   LYDIA             CASTILLO                CA     90013338075
3B18513327B639   MICHELLLE         BREWSTER                AL     90009511332
3B18556972B871   RAYMOND           SANCHEZ                 ID     42009745697
3B185839155949   LYSA              HART                    CA     49005408391
3B18588175B591   DANIEL            RYAN                    NM     90013138817
3B1859A8A41285   JENNIFER          THOMAS                  PA     90002869080
3B18611A172B24   TERESA            ALAS                    CO     33016001101
3B186159151369   JEFF              JOURNELL                OH     90011001591
3B186A6912B28B   CHRISTINA         BYRD                    DC     81017210691
3B18719915B281   CASEY             STEWART                 KY     90014711991
3B18719A831424   CINDY             SCHLERETH               MO     90013931908
3B187346672496   DONNA             REDD                    PA     51025543466
3B18797532B835   DAVID             STACY                   ID     90014559753
3B188677797127   RAMIRO            VASQUEZ                 OR     90007476777
3B189249455959   FRANK             MAZZEI                  CA     90010522494
3B189488131424   NICOLE            STAYTON                 MO     27559994881
3B18983A68B16B   TIMOTHY           BIRCH                   UT     90010228306
3B18994A755972   TYLER             LINTZ                   CA     90013099407
3B18B146791356   DAN               KIRK                    KS     90010981467
3B18B32355B393   GARARDO           GUTIERRAZ               OR     44556423235
3B18B74788B162   SHERRY            WILLSON                 UT     90006477478
3B18B77AA57124   EDGAR             CRUZ HIDLAGO            VA     90006627700
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3B18B98A454165   CRYSTAL        SCHMIDT                    OR     90014859804
3B19127527753B   CHRISTIAN      ACUNA                      NV     90010722752
3B19133555598B   ANDREA         MARTINEZ                   CA     90006263355
3B19143318B162   MANUEL         HERNANDEZ                  UT     90014164331
3B19159687B471   HABTU          RESOM                      NC     90012505968
3B191884491831   DUSTIN         MCANALLY                   OK     90008128844
3B19214257B471   JAMAR          GOODWIN                    NC     90013701425
3B19225237B471   NILA           EUSEBIO                    NC     90009402523
3B19243734B562   CHRISTOPHER    COZENS                     OK     90012574373
3B1926A4955951   MIGUEL         NUNEZ                      CA     90006876049
3B19275825B52B   BOBBETTE       TRUJILLIO                  NM     90013137582
3B19397432B28B   LARON          EBERHARDT                  DC     90011749743
3B1939A477753B   PATRICIA       NGATA                      NV     43089449047
3B194162A5598B   ANA            CORTEZ                     CA     49094361620
3B194727141285   TRINITY        HARRISON                   PA     51065537271
3B194752353B92   JANIS          RUGGIERO                   CA     90014247523
3B194791241258   SHANNON        LEE                        PA     51061307912
3B194A18493768   JANEEN         GENSON                     OH     90009040184
3B194A76355949   MARK           HOWARD                     CA     49083610763
3B195212955951   PIEDAD         MALDONADO                  CA     90012892129
3B195294251339   PAMELA         TYE                        OH     66089482942
3B195757954165   MICHAEL        NORRIS                     OR     90014787579
3B195953A76B89   ROMAN          CHAIDEZ PDILLA             CA     90014999530
3B195A29A93768   AMY            SHELEY                     OH     90009890290
3B195A5217B639   LAKENDRA       MENEFIELD                  GA     90013930521
3B196432A55972   CHRISTIAN      MARTINEZ                   CA     90008764320
3B196753A8B16B   DARIN          CAIN                       UT     90002427530
3B196871791584   ANGEL          ACUNA                      TX     90007208717
3B196876A2B871   DENESSA        NARTE                      ID     90013048760
3B1971A239713B   VICTOR         COLLI                      OR     90013561023
3B197213355921   ULYSSES        SEPULVEDA                  CA     90010132133
3B197414884368   TAYLOR         COOPER                     SC     90010224148
3B197615777539   SALVADOR       JIMENEZ-HERNANDEZ          NV     90012956157
3B19771825B344   JASON          KLINE                      OR     44541297182
3B19782272B871   JOSE           LAGUNAS                    ID     42086338227
3B198138A5B281   SHAWNA         VAUGHN                     KY     90014271380
3B198229A5598B   JESUS          MESINAS                    CA     90012592290
3B1984A638B16B   MICHELLE       DUNHAM                     UT     90014244063
3B198795A8B162   KENNETH        WARREN                     UT     31045207950
3B1987A3872B76   NICOLE         RODCAY                     CO     90006947038
3B19893995B344   SENG           TURNG                      OR     90007749399
3B19898A14124B   BOBBI          SHOWALTER                  PA     51064439801
3B199134833647   TONYA          ARNETTE                    NC     90010631348
3B199146591356   MARISA         MORGAN                     KS     29031131465
3B19954152B835   CYNTHIA        STEWART                    ID     90014625415
3B199589761963   NAZARET        MARTINEZ                   CA     90014165897
3B199598155957   ADDISON        ARMWORTHY                  CA     90009425981
3B19965832B835   CYNTHIA        STEWART                    ID     42009976583
3B19B353841277   SARAYA         TURNER                     PA     90005543538
3B19B362A8B166   LATASHA        WHITAKER                   UT     90015263620
3B19B45862B28B   BERHANU        TEKLU                      DC     90007854586
3B19B474A91831   BRYON S        FOX                        OK     90009124740
3B19B636784368   ORLANDO        ARIAS                      SC     14513706367
3B19B71AA5B344   RODNEY         WRIGHT                     OR     90013937100
3B19B733555949   CARMELA        VASQUEZ                    CA     49058087335
3B19B749761963   JEFFREY        COOK                       CA     90012317497
3B19B864991584   LAURA          SANTOS                     TX     75034548649
3B19B9A378B162   JOSHUA         ALLRED                     UT     31042589037
3B1B1282654165   PAMELA         CURTIS                     OR     47051122826
3B1B183992B93B   JOSE           MADRIGAL                   CA     90012268399
3B1B1AA288B162   RYAN           HAMILTON                   UT     90014160028
3B1B21A2A51321   TIFFANY        DANIELLE                   OH     90011411020
3B1B3341872496   BROCK          VASBINDER                  PA     90002293418
3B1B349A855972   ANGELINA       BOOKER                     CA     90014904908
3B1B34A2391584   RICARDO        AGUILAR                    TX     75061934023
3B1B3552872B76   ARTURO         VALDEZ                     CO     33013385528
3B1B3597A8B16B   DAN            ELLIOTT                    UT     31003305970
3B1B374784B281   KELLIE         HIGGINSON                  NE     90007997478
3B1B3A68991831   MICHEL         DUDLEY                     OK     21084280689
3B1B4543A5B281   LATONYA        COLBERT                    KY     90011105430
3B1B46A385B393   SCOTT          MALONE                     OR     44516736038
3B1B49A3777539   ERIC-ALBERTO   CASTRO                     NV     90013949037
3B1B5165155939   ELDA           ALVARADO                   CA     90001461651
3B1B584375598B   CLARENCE       SMITH                      CA     90014668437
3B1B59AAA57126   CANDIDO        FUENTES                    VA     90001009000
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3B1B6222493768   ASHLEY            COKER                   OH     90015492224
3B1B6688255949   SAMMY             RAMIREZ                 CA     90013486882
3B1B669A57B471   SHAYE             GOMILLION               NC     90015426905
3B1B6818447931   MELISSA           OCHOA                   AR     90013598184
3B1B686757B449   IVAN              HERNANDEZ               NC     90010498675
3B1B6A4928B162   SAMANTHA          SMITH                   UT     90014160492
3B1B726655B52B   CESAR             GRAJEDA                 NM     90008712665
3B1B74A2941258   GLENN             FORD                    PA     90010464029
3B1B7658251339   CHRIS             MURRAY                  OH     90014906582
3B1B7A6AA5598B   DANA MARIE        HENSON                  CA     90014290600
3B1B8546671937   TODD              OWENS                   CO     90010355466
3B1B857A55B52B   JOSEPHINE         VALENCIA                NM     90014235705
3B1B8641891584   CECILLIA          FLORES                  TX     90011156418
3B1B8657472496   DEBRA             STEPANIK                PA     90013976574
3B1B8698954165   FRANK             HEMENWAY                OR     90012036989
3B1B8724777523   JOSE              VEJAR-BUSTOS            NV     90008127247
3B1B8A23155972   JOHN              WATSON                  CA     48084620231
3B1B913A655972   ERNIE             VALDEZ                  CA     90012771306
3B1B9259672B76   ELIZABETH         CABRAL                  CO     90002852596
3B1BB261172496   ASHLEY            LEE                     PA     51066052611
3B1BB26177B476   LINA S            RODRIGUEZ               NC     11096672617
3B1BB76845B156   TANIESHA          WALKER                  AR     23057647684
3B211139672496   MISTY             HUFFINE                 PA     51098111396
3B21125315B393   ROQUE             VAZQUEZ                 OR     90013902531
3B211332784368   PATRICIA          TOMLINSON               SC     90010103327
3B21137362B87B   GUILLERMO         ORTEGA-ROMAS            ID     90013963736
3B211751A51339   APRIL             MAHONE                  OH     90010907510
3B211767191356   MICHAEL           BEDFORD                 KS     29007837671
3B2117A7136B77   CLAUD             MCMILLANN               OR     90015297071
3B21227A95B156   LUIS              GONZALEZ                AR     90014392709
3B21256385B277   CHRIS             MCLENNAN                KY     68078615638
3B212735176B89   LAURA             JACKSON                 CA     90011957351
3B21279444B943   TIMOTHY           BUTTS                   TX     76584137944
3B21288414B943   MARION            PITRE                   TX     90015378841
3B2128A5991831   TIAUNA            CARNES                  OK     21082608059
3B213147161963   LUMA              TOMI                    CA     90011161471
3B21325A172455   JESSICA           FUIZZOTTI               PA     51034312501
3B2134A855B344   KATHERINE MARIE   ELLIOTT                 OR     90010664085
3B213566A5B393   SETH              RYLER                   OR     90013285660
3B21377855B156   FRED              MARTIN                  AR     23078747785
3B213869155949   ALDO              HERRERA                 CA     90003138691
3B21391277753B   ITZEL             LOZANO                  NV     90011909127
3B213A33641285   DEVON             POELLNITZ               PA     90014780336
3B213A9415B281   AMANDA            STARR                   KY     68074830941
3B215243684368   PAYGO             IVR ACTIVATION          SC     90012552436
3B215542576B69   ANDRES            CORREA                  CA     90015405425
3B21569654B943   DAVID             DE JESUS VELEZ          TX     90014086965
3B215A2A28B166   TERESA            ESQUIVEL                UT     90008330202
3B216219791584   MARICELA          MARROQUIN               TX     90014652197
3B21625A35136B   DARLENE           STEPHENS                OH     90012492503
3B2166AA97B639   ERNEST            POWELL                  GA     90014446009
3B216841191584   MARICELA          MARROQUIN               TX     90007118411
3B21713A272496   COLBY             WATSON                  PA     90014711302
3B21739778B16B   WILLIAM           SIMPSON                 UT     90010813977
3B21752294B281   JUDE              KANGNOH                 NE     90003745229
3B21752812B281   BERTA             MARTINEZ                DC     90007295281
3B217819A4B943   ANDREA            HARRISON                TX     90010248190
3B217894777544   TONYA             RUSSELL                 NV     90001588947
3B21886A75B156   TARA              JOHNSON                 AR     23067628607
3B21887A791356   JOSE              GUERRERO                KS     90011858707
3B2188AA88B16B   STEVEN            MORITZ                  UT     90013588008
3B218934625632   PAYGO             IVR ACTIVATION          AL     90013999346
3B218972377544   JASON             FULLER                  NV     90002829723
3B218981855972   KRISTINA          MARRUFFO                CA     90005049818
3B218A62A77539   SAM               BONNET                  NV     90014320620
3B21913368B166   SUBRINA           BOEHLENDORF             UT     31006461336
3B219181355963   CONSUELO          FLORES                  CA     90013801813
3B21927682B93B   VICTOR            GONSALEZ                CA     90014992768
3B219475472B24   ZABRINA           RODRIGUEZ               CO     33072734754
3B21948354124B   BASSAM            ALAAMARAH               PA     90013364835
3B219679955951   STACY             WARD                    CA     49074216799
3B21B16969713B   ALEJANDRO         SILVA                   OR     90013561696
3B21B748A5B344   JANET             STEFFEN                 OR     90008127480
3B221238A2B93B   SHAWN             SEHMALTZ                CA     90013272380
3B221A25351369   SHAWN             KNOTTS                  OH     90013230253
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3B22211518B162   ANTHONY        SUMNER                     UT     90015111151
3B22257772B93B   CASON          YAGER                      CA     90015105777
3B22275125B281   VICTORIA       COLE                       KY     90014007512
3B22275647B639   LYNETRIA       CARNES                     GA     90015127564
3B222794A5B156   TIMOTHY        MIXON                      AR     23015967940
3B22288475598B   NATALIE        VARGAS                     CA     90014208847
3B222A19991232   JOSEPH         PINKNEY                    GA     14584860199
3B2231A5593768   TYLER          LEHR                       OH     90014571055
3B22338A572B24   CONSUELO       GARCIA                     CO     90006463805
3B2235A535B344   SARAH          REARDON                    OR     90011225053
3B223662177544   LILIA          HERNANDEZ                  NV     43034826621
3B223749255972   MIGUEL         HERNANDEZ                  CA     90013077492
3B224251957153   JUAN           HERRERA                    VA     90008842519
3B224262177544   ERICA          RIBAS                      NV     43071942621
3B224343572496   DIANE          PLETCHER                   PA     90012923435
3B224789984368   DELFINO        CHAVEZ                     SC     90007627899
3B224988331969   JALLY          GRAND                      IA     90014669883
3B22514957B471   SHANITA        WILLIAMS                   NC     90008101495
3B22545894B943   RUBEN          TINOCO                     TX     90014444589
3B2254AA291356   TAYLOR MARIE   KUDRON                     KS     90014224002
3B225645155972   MONICA         LEGASPI                    CA     48008386451
3B22567344B943   FAY            HINES                      TX     90012876734
3B226197555949   STANLEY        LOPES                      CA     49083451975
3B226466261962   JOANN          MATLOCK                    CA     90001494662
3B22649537B639   GORDON         DAVENPORT                  GA     90014804953
3B226795451578   ROBERT         FREEMAN                    IA     90011347954
3B22735912B871   ERICA          PURCELL                    ID     90014873591
3B227359451326   BRANDI         SANDERS                    OH     66002723594
3B22774217B639   KATHRINE       HARRIS                     GA     15030737421
3B227756451369   PATRICIA       WALTON                     OH     90013337564
3B227814293768   SHEILA         BECK                       OH     64574678142
3B22784A522422   HORACIO        REYES                      IL     90015428405
3B227881855951   CRYSTAL        VILDOSOLA                  CA     90014748818
3B22818192B93B   JAMIE          HANKERSON                  CA     90014141819
3B228214231424   SHINITA        KING                       MO     90013932142
3B228455291587   ESDENIA        MARTINEZ                   TX     75040324552
3B228514354165   ROGER          POLLICK                    OR     47011315143
3B228844651339   JONATHAN       BROWN                      OH     66041418446
3B22885155B393   VICTOR         EAGLE                      OR     90011098515
3B2289A774B943   KELLY          BLANCO                     TX     76542339077
3B229735A77539   JOSE           AYALA                      NV     43086917350
3B229737A4B943   ZAIRA          HERNANDEZ                  TX     90014177370
3B229855672B24   FEDERICO       CONCHA                     CO     33004358556
3B229A8118B162   SARAH          NOVOTNE                    UT     90015040811
3B22B674154165   ANNETTE        COLLINS                    OR     90009746741
3B22B721184368   DENISE         MILLER                     SC     90014227211
3B22B83385B264   WILLIAM F      ROCHESTER                  KY     68093078338
3B231941224B41   NICOLE         FITZHUGH                   DC     90002529412
3B232191155949   PEDRO          MARTINEZ                   CA     90009151911
3B23241AA7B449   VALERIE        HOLLINS                    NC     11038864100
3B2326A1731424   TAILEBAH       MCCRAY                     MO     90002276017
3B2327A735B156   MARY           WEBSTER                    AR     90014327073
3B23293968B16B   KASEY RONNIE   ARELLANO                   UT     90005729396
3B232A4677753B   KIMBERLY       WILSON                     NV     43089700467
3B2331A2593768   KELLIE         LAWSON                     OH     90009591025
3B23367A17B449   STACEY         ENOCH                      NC     11024246701
3B233986531424   ANDREA         KAISER                     MO     90013119865
3B233A53A72B35   LISA           FLICKINGER                 CO     33009300530
3B23422442B87B   HEIDI          LANDA                      ID     90012752244
3B234495172496   JASON          SHAFFER                    PA     51039294951
3B234741576B89   LAUREANA       JIJON                      CA     46093507415
3B23528538B178   MICHELLE       PEREZ                      UT     90002982853
3B235442876B89   LAUREN         FIELSTRE                   CA     46071534428
3B235482377544   JACQUELINE     PARISI                     NV     43017394823
3B23599A37737B   JAMES          BAITY                      IL     90015489903
3B23617915B393   JENNAH         FAWVER                     OR     90011961791
3B236461455972   MIGUEL         MORENO                     CA     90013414614
3B236869851369   MIESHA         MOORE                      OH     90006118698
3B23725A25B389   CHAD           DALY                       OR     90005142502
3B23727733B352   LORIE          AUSTIN                     CO     90005592773
3B237284191537   LETICIA        SALDIVAR                   NM     90010952841
3B237439291584   OSCAR E        MADRID                     TX     90010504392
3B23788112B871   EMILY          MATTHEWS                   ID     90013408811
3B2381A9155951   JOSE           GOMEZ                      CA     49007381091
3B23823275B52B   ARLENE         OTERO                      NM     90011492327
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3B23825852B87B   CLINT           WALBURN                   ID     90012962585
3B238512551339   MANUEL          BERROA                    OH     90012655125
3B23866627B449   YOLANDA         MCMILLAN                  NC     90006556662
3B23892368B16B   PETER           COOK                      UT     31050129236
3B239399747931   MICHELLE        LOPEZ                     AR     90012113997
3B23955725598B   FRANCISCO       VENEGAS                   CA     90012745572
3B239839784368   JANNYFER        BENITES                   SC     90015218397
3B239A43591584   PRNNA           ROSA                      TX     90009880435
3B23B27828B162   KEVIN           COOK                      UT     31019052782
3B23B357A41258   RYAN            PLATT                     PA     90011783570
3B23B568577539   SCOTT           KROYER                    NV     90012805685
3B23B6A838B16B   APRIL           SPRUILL                   UT     90006286083
3B23B93595B281   DRESEAN         JOHNSON                   KY     90013929359
3B23B99A45B393   AMIR            SADOOLI                   OR     90000579904
3B241376593768   YULIA           WARE                      OH     90003853765
3B24148A89713B   MARIA           GARCIA                    OR     90013564808
3B24173435B393   GINAI           LOCKHART                  OR     90014287343
3B241A67891356   LAURI           SPURLOCK                  MO     90012670678
3B24213445B52B   RUBEN           CDEBACA                   NM     90012251344
3B242147A55972   GRACIELA        GARZA                     CA     90011471470
3B242638231424   CANO            MARTIN                    MO     90000246382
3B242644955951   JOSE HUMBERTO   GORDILLO                  CA     90008776449
3B242715A4B943   MARIA           RAMIREZ                   TX     90012877150
3B24274A95598B   RUBY            HOLGUIN                   CA     90014927409
3B24279572B835   JOHN            HEWITT                    ID     90014387957
3B24283A78B16B   TOSHIA          NICCOLLE                  UT     90011148307
3B242997155951   JANET           RENTERIA                  CA     90011849971
3B242A3534B281   BRANDY          GUARINO                   NE     27054250353
3B242A9687B471   ISELA           V GUVMAN                  NC     11047690968
3B24378585B592   JON             BOULDIN                   NM     90012837858
3B243846A84368   ANSELMO         CALLEJAS                  SC     90013348460
3B24387A851369   KATELYN         KALLICK                   OH     90014908708
3B243997155951   JANET           RENTERIA                  CA     90011849971
3B243AAA44B943   TIMOTHY         PEAKE                     TX     76505920004
3B24478282B87B   TARA            HILL                      ID     42031677828
3B244A26176B89   JEROMINO        CARRILLO                  CA     46055330261
3B244A5149155B   SABINA          ESPARZA                   TX     90013780514
3B245326A51339   SABAH           IQBAL                     OH     90012493260
3B24535139713B   BRIE            MOORE                     OR     90013043513
3B245457755949   OMAR            LOPEZ                     CA     90012824577
3B245669A76B89   JIM             PROBST                    CA     90014586690
3B24596A25B393   AARON           SELHORST                  OR     90009209602
3B246125476B89   SAN AGUSTIN     JACOBO                    CA     90003021254
3B246165691869   LEE             ASHLOCK                   OK     21034591656
3B2462A635B52B   RENITA          NOLAN                     NM     35086082063
3B246438791587   MARTA           ACOSTA                    TX     90001214387
3B24683185B281   MICHELLE        MATTINGLY                 KY     90012958318
3B246A4592B93B   CARLOS          VARGAS                    CA     90013110459
3B247213451369   JAMES           LAIDLAW                   OH     90012132134
3B247372457153   DAYBY           GUARDADO                  VA     90007103724
3B24739478B162   ZACHARY         MARSH                     UT     90001333947
3B24768357B639   BRANDI          LOVEGROVE                 GA     90014596835
3B24788292B87B   BRANDON         TABER                     ID     90006398829
3B248732741277   EMELDA          JARRETT                   PA     51047827327
3B248961561963   MARIA           ESPINOZA                  CA     90009869615
3B248965155951   ALFRED          MEJIA                     CA     49061489651
3B2489A217B639   FREDDY          NUFF                      GA     90005109021
3B249699A77544   JUAN CARLOS     LOPEZ                     NV     90011776990
3B24989917B639   SHERRY          PACHECO                   GA     15046328991
3B249A41755949   ANTONIO         LARA                      CA     90012590417
3B24B144161963   YENIFER         GARCIA                    CA     90006161441
3B24B31355B344   KITANA          HAWKINS                   OR     90012113135
3B24B3A514124B   JACKIE          STEWART                   PA     51092533051
3B24B421755972   JOSEPH          CORBIN                    CA     90013974217
3B24B55114B943   TAMEKA          HOOD                      TX     90011495511
3B24B656672B24   CRISTINA        JIMENEZ                   CO     33082906566
3B24B997155951   JANET           RENTERIA                  CA     90011849971
3B24B9A477B471   OSCAR           LARA                      NC     90010279047
3B25188A651339   CALVIN          DAVIS                     OH     90007618806
3B252654891831   DAPHNEY         BENTON                    OK     90013786548
3B252931A77539   SONJIA          MACK                      NV     90007489310
3B252AA6947931   LORI            COLLINS                   AR     90014800069
3B25343947753B   JEANNE          SAUCEDO                   NV     90013774394
3B254129155949   DAVID           GOMEZ                     CA     90007711291
3B254413155951   RUBY            ESCAMILLA                 CA     49067854131
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3B25442255B156   MONICA        ANDREWS                     AR     90005984225
3B25486442B93B   PEDRO         VALDOVINOS                  CA     90014898644
3B254982872496   THEODORE L    FARRIER JR                  PA     90010679828
3B25536329713B   CECILIA       VALDIVIA                    OR     90004213632
3B2554A214B281   TINA          WILLIAMS                    NE     90012014021
3B25557A155972   LUIS F        TORRES                      CA     90002445701
3B256255777539   LUKE          HARVEY                      NV     90000872557
3B256339A5B344   LISA          LARGENT                     OR     90010993390
3B256556741285   DONALD        CINKAN                      PA     90013395567
3B257167451339   ROBERT        HULLIS                      OH     90014091674
3B257189955972   MARIA         PINEDA                      CA     90009541899
3B25769744B281   JAMES         FICKE                       NE     90013926974
3B25783864B943   BIANA         CASTRO                      TX     90014968386
3B258315155994   ALEJANDRO     ROJAS                       CA     90002193151
3B258762691584   JUAN          VELA                        TX     90001847626
3B25881137B449   LATARA        BOLDEN                      NC     11063538113
3B259218891356   ERICA         GOODWIN                     KS     29007862188
3B259316931424   ALLEN         DOWDY                       MO     90014933169
3B259431191893   WILLIAM       MENDOZA                     OK     21001704311
3B259489651339   KENNETH       MILLER                      OH     66070214896
3B25951865B281   SHANNON       SUTTON                      KY     90010125186
3B25991167B471   SINDIA        ORTIZ                       NC     90007379116
3B259997A8B162   CHANCE        STEVENSON                   UT     90002369970
3B25B337A72455   ALEXIS        KUHN                        PA     51029503370
3B25B446541277   REGIS         WALLACE                     PA     51035764465
3B25B494861963   RACHEL        QUILLIN                     CA     46057664948
3B25B91A44B943   JOSE          DELUNA                      TX     90012889104
3B25B9A179713B   MICHELLE      FOLEY                       OR     90009429017
3B25BA62341285   BILL          COCHRAN                     PA     51027260623
3B261546431424   PRECIOUS      MACKLIN                     MO     90014015464
3B261698192859   PAIGE         REA                         AZ     90013786981
3B26169877B639   TYNESHA       ZIMON                       GA     90011436987
3B261951555951   JANELY        GONZALEZ                    CA     90010929515
3B26219972B871   SARAHI        IBARRA                      ID     90015061997
3B262376891584   PERLA         HERNANDEZ                   TX     90011623768
3B26248778B16B   CANDACE       MORALES                     UT     90011074877
3B262861376B89   MATGARITA     CONTRERAS                   CA     90012888613
3B262936131424   CIARA         BROOKS                      MO     90011769361
3B26293AA55951   ADELAIDA      CRUZ                        CA     90014749300
3B26314672B28B   NIYA          ROGERS                      DC     90004751467
3B263176976B89   ANTONIO       MANRIQUEZ                   CA     90014901769
3B26357698B166   CHRISTOPHER   MENGE                       UT     90012875769
3B263788A4B281   SHYNIRA       BELL                        NE     90013837880
3B263882761963   LEEANN        MILLER                      CA     90009898827
3B26388432B87B   PETER         WILSON                      ID     90002318843
3B263931455951   TATIANA       MOISEYCHIK                  CA     90013049314
3B263A45147931   JUSTIN        LANGE                       AR     25010870451
3B263A8A74124B   AIMEE         HERNANDEZ                   PA     90014260807
3B26452123B352   JENNIFER      SANCHEZ                     CO     90003475212
3B264758A7B43B   YOUSEPH       IDRISS                      NC     90007137580
3B26482264124B   JOSE          MARTINEZ                    PA     51081848226
3B264931A77539   SONJIA        MACK                        NV     90007489310
3B264A75331424   MARLO         JOHNSON                     MO     90008200753
3B26526232B871   JASON         KENNETH                     ID     90013262623
3B26552A691831   UNKNOWN       UNKNOWN                     OK     21014705206
3B265593451369   SKIP          MURRAY                      OH     66076915934
3B265628257153   MAXI          ORDONEZ                     VA     90007106282
3B26564124124B   TONY          RILEY                       PA     90013936412
3B265873A5B156   RODNEY        RICE                        AR     23002748730
3B26623227B639   KENYETTA      HODGES                      AL     90011372322
3B2665A3155949   HOSEIN        SALA                        CA     49013965031
3B26678138B162   CHRISTOPHER   SCHOW                       UT     90014167813
3B266864291356   LISA          KILGLRE                     KS     90015308642
3B2668AAA5B156   TAMARA        NATION                      AR     90014548000
3B266A5355B393   JAIME         LOPEZ                       OR     90001800535
3B26718292B835   AMANDA        BENITES                     ID     90002201829
3B267314A7B366   JOSE          CASTRO                      VA     81015753140
3B26742795B52B   JANETH        BAEZA AVILA                 NM     90013004279
3B26745A751369   TAMMY         DAY                         OH     90000414507
3B267A13772496   JUSTIN        AHLBORN                     PA     90013360137
3B268251155957   RICHARD       AGUIRRE                     CA     49003762511
3B268399391584   PATRICIA      HERNANDEZ                   TX     90010503993
3B26897158B16B   BRICE         CHISHOLM                    UT     90013959715
3B269759A8B16B   BEN           FULTON                      UT     90012247590
3B26B25185B156   LINDA         ROLLINS                     AR     90009632518
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3B26B572672455   JOSEPH              HEIDKAMP              PA     90014865726
3B271274655951   MARTHA              ARREOLA               CA     49002542746
3B27174445B281   TRACY               COTTLE                KY     90011877444
3B271871951339   BRAD                ROBINSON              OH     90007388719
3B27192715B52B   ANGELA              HERRERA               NM     90012899271
3B2721A5A4B281   CHRIS               HIKE                  NE     27078291050
3B272492151339   MELINDA             SEARS                 OH     90009604921
3B272785231424   ATHONY              MILLS                 MO     90009407852
3B272A2525B393   JAMES               CLARK JR.             OR     44549240252
3B272A5762B93B   ADRIANA             LOPEZ                 CA     90004700576
3B272AA5254165   MARISSA             LYNNE NELSEN          OR     47051180052
3B27334524B943   ADRIAN              CHARLOT               TX     90014413452
3B27382215B93B   LUCIZ               GUZMAN                WA     90014288221
3B27412457B43B   ATILLO              JARQUIN               NC     90003571245
3B27478138B162   CHRISTOPHER         SCHOW                 UT     90014167813
3B274A65955972   ESTEVAN             GOMEZ                 CA     90015220659
3B27518844B281   RICH                PEARCE                IA     90010481884
3B275238A4B943   CATHY               FONTENETTE            TX     90005242380
3B275329972496   COURTNEY            FRANCIS               PA     51003993299
3B275337641277   JANE                ZAGAL                 PA     51007043376
3B275387377539   GREG                PRUDHOM               NV     90002833873
3B275424A61963   SILVIA              FIGUEROA              CA     90009894240
3B27556935B393   BILL                DARBY                 OR     90011115693
3B27566652B871   SHAUNA              FACKLER               ID     90012126665
3B276491261963   MICHELLE            TOMLINSON             CA     90002534912
3B27652768B16B   DOLORES             MITCHELL              UT     31032805276
3B276778155951   VANESSA             BARNETT               CA     90010957781
3B2767A2855972   MARY                GWINN                 CA     90014947028
3B276864255921   CHRISTINE           LAPLACA               CA     90010138642
3B27727697B449   GREGORY             MARIN                 NC     11030712769
3B27753295B281   KATHY               CAREY                 KY     90012585329
3B27759818B16B   JASON               GOODRUM               UT     31024185981
3B2776A217B471   SHAUNA              COPELAND              NC     90014756021
3B27776632B871   ELI                 TORRES                ID     90015047663
3B277952372B24   MATTHEW             HAWARTH HALL          CO     33088559523
3B278633391584   MARIBEL             VASQUEZ               TX     90004916333
3B278716291831   TIMOTHY             SMITH                 OK     90009487162
3B2787A772B835   AMBER               KEEN                  ID     90011947077
3B27882354B943   LUKE ANTHONY        ROY                   TX     90011188235
3B278899A2B93B   RAYMOND             HOLGUIN               CA     90008438990
3B278AA6172B76   NESTOR              AGUILLON              CO     33047190061
3B27918959156B   ALEXANDRIA          HERNANDEZ             TX     90008741895
3B279427447931   LEILA               GREENLEE              AR     90014774274
3B27944394B943   ASJAH               BOYD                  TX     90013034439
3B279722A8B166   JOHN                MEZA                  UT     90010307220
3B279849261963   JAMES               PARKINSON             CA     90015018492
3B279A78751369   ANN                 TIEMEYER              OH     90013230787
3B279A83A55972   YADIRA              MEDINA                CA     90012940830
3B27B218141277   CARLEY              SANTA                 PA     51053902181
3B27B26AA5B393   JUSTA DEL ROSARIO   MEJA LOPEZ            OR     90013312600
3B27B289351339   ALISSA              WILSON                OH     90014662893
3B27B491A2B93B   MERCEDES            TENORIO               CA     90013094910
3B27B559972B76   KAILA               DYE                   CO     33015965599
3B27B72558B166   BROOKE              ELDER                 UT     90010917255
3B27B962877544   ARTEMIO             FELIX                 NV     90001269628
3B281117131424   TIN                 JONES                 MO     90013121171
3B281298655972   TREASA              TREDWELL              CA     90013452986
3B28131598B16B   ANTHONY             JONES                 UT     90002663159
3B28155262B871   CURTIS              KOVICK                ID     42018185526
3B281558893768   CONSUELLA           CLARK                 OH     90015085588
3B28169352B87B   JAMIE               GASSETT               ID     90012696935
3B28259AA5B52B   ALEXANDRIA          CHAVEZ                NM     90011315900
3B28285238B162   CARLOS              URESTI                UT     90014168523
3B283368A5B156   TARA                HORNES                AR     23066463680
3B283427447931   LEILA               GREENLEE              AR     90014774274
3B28373A755972   JEFF                RABE                  CA     90014827307
3B284184355957   ALVARO              MARTINEZ              CA     90009431843
3B284265255951   DELORES             GUZMAN                CA     90010042652
3B284374A9713B   MEGAN               MURPHY                OR     90009433740
3B28446137753B   JUNIOR              WALKER                NV     43009904613
3B284482A5B593   PETE                SANDOVAL              NM     35064104820
3B284498491831   DANIELLE            FARRIS                OK     90013814984
3B284547491356   MARIA               GOMEZ                 KS     90004185474
3B28492445B281   DOMINIQUE           CASARES               KY     90012719244
3B284947672B24   SHEMEKIA            JONES                 CO     90007269476
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3B28531612B87B   RICHARD      ROUYAS                       ID     90000643161
3B2854A2A61963   MITCHELL     FLORES                       CA     90011184020
3B285A93777544   KENDRA       ROLOFSON                     NV     43063820937
3B286541654165   APRIL        WILLIAMS                     OR     90007825416
3B286774177539   TIMOTHY J.   MCDONALD                     NV     43091047741
3B286899351339   CHARLES      MARTIN                       OH     90014738993
3B286A23341258   TAMMY        RAINEY                       PA     51044840233
3B287281A7B43B   TARIE        WHITE                        NC     11049142810
3B28753217B449   SHANOIQUE    MCCORMICK                    NC     90011355321
3B287611A5B344   EDITHA       ALBERTO                      OR     44536196110
3B287629777544   JELISA       KNIGHT                       NV     43000076297
3B28785414B943   KENNETH      TRAHAN                       TX     90000968541
3B288147961963   CHARLES      MCCARRELL                    CA     90014721479
3B288593736B77   VERA         MINKO                        OR     90008555937
3B28867598B162   HUGO         LOPEZ                        UT     90008756759
3B288AAA541258   MICHEAL      GRANDE                       PA     90013940005
3B2893A5451369   HANNAH       PUCKETT                      OH     90014583054
3B28942A25B344   JAMIE        TRACY                        OR     44558934202
3B289627641285   NIWAS        KATEL                        PA     90012696276
3B289996477539   JEFFREY      J HEALION                    NV     90009129964
3B28B1A1A91356   TAMIKA       AKINS                        KS     90010971010
3B28B3A952B871   EDGAR        VARGAS                       ID     90013953095
3B28B63195B393   NATHAN       DUNLOP                       OR     90015156319
3B28B78438B162   PAUL         CEDENO                       UT     90014167843
3B28B81447753B   CRUZ         CISNEROS                     NV     90013428144
3B28B964151369   CINDY        PENNINGTON                   OH     90008299641
3B28B974351339   STEVE        MONK JR                      OH     66009329743
3B29129158B16B   ILIANA       CENDEJAS                     UT     90003582915
3B29131A376B89   JOSEPHINE    LEAANA                       CA     90014203103
3B291455291544   LESLIE       NUNEZ                        TX     90009174552
3B291781854165   KELSIE       ANDERSON                     OR     90013857818
3B291969251369   TIARA        JACKSON                      OH     90011289692
3B292462747931   LONNIE       COPP                         AR     90014074627
3B29271A377544   MARIA        COLATO                       NV     43097647103
3B292831172B24   BELINDA      JARAMILLO                    CO     33043258311
3B292AA738B16B   AMANDA       WHEELWRITGHT                 UT     31000890073
3B293181654165   FLOCK        MICHAEL                      OR     90008151816
3B29332535B344   MANUEL       ROJAS RODRIGUEZ              OR     90011503253
3B293564355951   MARTIN       GONZALEZ                     CA     90011595643
3B29397912B835   MARIA        CORTES                       ID     42075029791
3B293A73177539   MIGUEL       NAVA                         NV     90011700731
3B294263A91356   GREG         SMITH                        KS     90015022630
3B29439797B639   ANDREW       CULP                         GA     90011103979
3B2944A2177544   NICOLAS      GIL                          NV     90014694021
3B294759136B77   JENISE       BRAULT                       OR     44537447591
3B29488815B281   ELLIS        INEZ                         KY     90008618881
3B294895131639   MIGUEL       ACOSTA                       KS     22017108951
3B2949A4355949   OSCAR        ZINTZUN                      CA     90011909043
3B29513438B162   JEFFERY      WOOD                         UT     90004281343
3B29539A441285   JACOB        ELLISOR                      PA     90014613904
3B29546128B16B   SUSANNE      SCOTT                        UT     90012254612
3B29558A891584   ALFONSO      VALDEZ                       TX     75095025808
3B295A47677539   JOHN         WEST                         NV     90013950476
3B2963A439713B   CARLOS       PEREZ                        OR     44566463043
3B296417A41277   CARMINE      BELLINI III                  PA     51093744170
3B297471691831   GAYLE        RUIZ                         OK     90014104716
3B29792465B52B   MOISES       ABARCA                       NM     90012629246
3B297966541258   CHADIERA     HOLYFIELD                    PA     90009149665
3B298115472B24   URSULA       ARAGON                       CO     90007041154
3B2981AAA77539   IVETTE       MOLINA                       NV     90005051000
3B29848778B16B   CANDACE      MORALES                      UT     90011074877
3B29858995598B   PHILLIP      MARTINEZ                     CA     49008405899
3B298645976B89   CLARE        ORTEGA                       CA     90010256459
3B298A12393768   DANIEL       BROWN                        OH     90015120123
3B299577241285   MARTIN       VILLEGAS                     PA     90015155772
3B29B33A25B344   RONDI        HOLLOWAY                     OR     90010423302
3B29B37174B281   JESSE        RICKARD                      NE     90014713717
3B29B853A54165   BLAINE       SOUTHERN                     OR     90011838530
3B29BA42855949   MARGARITA    JAMESON                      CA     90007310428
3B2B125797B639   JULIO        HERNANDEZ                    GA     90010702579
3B2B1295A91356   JOSE         SANCHEZ                      KS     90007632950
3B2B1335247931   JOBY         MATAUTO                      AR     90011053352
3B2B174764B943   SHIRLEY      HARRISON                     TX     90013307476
3B2B189255B393   MICHAEL      BARLOCKER                    OR     44571718925
3B2B1994261963   ALFREDO      CORRAL                       CA     46064139942
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3B2B226495B281   ALBERTO      MAZALLEGOS                   KY     90006912649
3B2B229365B156   SADE         RAINEY                       AR     90013202936
3B2B279A84124B   STEPHANIE    QUIQGLEY                     PA     51054427908
3B2B28A844B281   ANNETTE      MACE                         IA     27080228084
3B2B2999191232   MICHAEL      COBB                         GA     14594969991
3B2B318868B166   ALEJANDRO    BRITO                        UT     90007491886
3B2B3214591356   EVANS        JAMEL                        KS     90012552145
3B2B3464772B31   BEVERLY      SUAZO                        CO     33016184647
3B2B34A4372B76   JUANPABLO    MUNOZ                        CO     33073284043
3B2B3597141285   TRACEY       SOBECK                       PA     51095305971
3B2B3762361963   LISA         HOWELL                       CA     90013537623
3B2B3A1515B156   HOMER        LANE                         AR     23003530151
3B2B414A377544   MIGUEL       GONZALEZ                     NV     90014451403
3B2B4415A93768   MARCIA       COOK                         OH     90014244150
3B2B4554891881   RUBEN        HURTADO                      OK     90012965548
3B2B464328B16B   AMANDA       GARDINER                     UT     90010126432
3B2B466A177539   JULIANNE     MCBRIDE                      NV     43076146601
3B2B4684191356   FLORA        RODRIGUEZ                    KS     90012136841
3B2B4689772B34   JESSICA      SCHROEDER                    CO     90008026897
3B2B5192154165   ANN          STORY                        OR     90015231921
3B2B5477684368   LUCITA       VELASQUEZ                    SC     14535194776
3B2B579872B28B   ERIKA        EVANS                        DC     90001047987
3B2B586754124B   WAYNE        JORDAN                       PA     51016628675
3B2B5A51977544   PENNY        FULLER                       NV     90005070519
3B2B611565B393   CARMEN       YOUNG                        OR     90001061156
3B2B623148B162   HEIDI        SNOW                         UT     31095182314
3B2B6255777544   MA ANGELIC   VARGAS MURILLO               NV     43089772557
3B2B6684A5B344   DANIELLE     MATTHEWS                     OR     90014886840
3B2B676998B166   SHARON       WILKINSON                    UT     31059887699
3B2B696175598B   ASHLEY       SMITH                        CA     90002029617
3B2B6A89261963   JESUS        FIGUEROA                     CA     90009640892
3B2B728465B156   ANTHONY      PHILLIPS                     AR     23031952846
3B2B751828B162   ETHAN        DALEY                        UT     90014165182
3B2B7579681667   CARLOS       CORONEL                      KS     29071205796
3B2B7585991831   MELISSA      NEAL                         OK     21023575859
3B2B7714731424   TANISHA      PARIS                        MO     90015337147
3B2B78AA92B87B   MARK         WINTERSELD                   ID     90013458009
3B2B796747753B   FABIOLA      ARREOLA                      NV     90013279674
3B2B7973A5598B   MIGUEL       CARDENAS                     CA     49067939730
3B2B8166791831   LEWANDA      AMOS                         OK     90005591667
3B2B838A372B24   MARIA        DOLORES CHAVEZ               CO     90006463803
3B2B8558651369   KAMESHA      TALLEY                       OH     66025855586
3B2B8563793633   MARVIN       YATES                        TX     71093795637
3B2B867555B52B   BERNADETTE   VIGIL                        NM     90012406755
3B2B86A9772496   MEGAN        HIXSON                       PA     90014466097
3B2B8A76177539   AURA         JIMENEZ                      NV     43076380761
3B2B911364124B   TERRANCE     HOLZWARTH                    PA     90006331136
3B2B9117655972   ARTURO       GOMEZ                        CA     48003601176
3B2B923247B639   TAMIKA       DRAKE                        GA     90013002324
3B2B9324991584   DANIEL       FLORES                       TX     75083453249
3B2B9777254165   JOHN         HARANGOZO                    OR     90010017772
3B2B996167B449   JILL         PARRIS                       NC     90010529616
3B2B9AA912B835   CINDY        COLF                         ID     42072970091
3B2BB27A52B87B   JACOBI       POOR                         ID     90013932705
3B2BB288155972   MARIO        DIAZ                         CA     90015592881
3B2BB39797B639   GREGORY      WILLIS                       GA     15066873979
3B2BB65AA4B943   MYUNIQUE     COLLINS                      TX     90012876500
3B2BB755455951   DANNA        LEE                          CA     90009427554
3B2BB845A77544   JONATHAN     PADILLA-SAUCEDO              NV     90013938450
3B2BB967591356   STEVEY       RAMSAY                       MO     29006389675
3B311138947931   DALTON       STOUT                        AR     25094151389
3B311366991356   MARIA        GUERRA                       KS     90012583669
3B31136875B393   BILL         BABCOCK                      OR     44515013687
3B31178346194B   ANIBAL       PEREZ-ZUNUN                  CA     90001627834
3B31196315B156   JORDAN       HARRIS                       AR     90012019631
3B31211975B393   PATRICIA     BASS                         OR     44568371197
3B31221375B281   EMILY        BURKS                        KY     90013772137
3B3126A1291831   ESTHER       LUNSFORD                     OK     90002836012
3B31287875B592   ROMERO       ILBERT                       NM     90013798787
3B312AA8241277   RONALD       BERRY                        PA     90013080082
3B313157541258   OLIVER       SHERWOOD JR                  PA     51026381575
3B313211993768   CHRIS        JONES                        OH     90014632119
3B31331855B281   GAIL         NELSON                       KY     68006653185
3B313328191356   ROGER        WILCOXEN                     KS     90008833281
3B31342365598B   TARINA       RODRIGUEZ                    CA     90013504236
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3B31383144B943   TANIQUA       BANKS                       TX     90004048314
3B313895576B89   JOEL          RODRIGUEZ                   CA     90012758955
3B314975455949   RUBEN         PALOMO                      CA     90014099754
3B314A2925B281   SHAWN         COLE                        KY     90003420292
3B315179391356   JOSE-DANILO   NUNES-MENJIVAR              KS     90009491793
3B315358951369   JOHN          SMITH                       OH     90010613589
3B3162A4572455   NANCY         BARON                       PA     90015202045
3B316354155949   LETICIA       ESTRADA                     CA     90012963541
3B31672888B162   TROY          GIFFORD                     UT     90012707288
3B316A6154124B   CHLOE         TRENT                       PA     90013220615
3B3172A5777539   FELIX         SOTO                        NV     90012892057
3B317A9958B16B   CARLOS        ZAMORA                      UT     31001370995
3B31818915B281   MARK          WATKINS                     KY     90003351891
3B3184A642B668   CARLOS        ROMAN-SANTOS                WA     90015404064
3B31862A42B93B   RAMIRO        PEREZ                       CA     90013216204
3B318668455972   ARTURO        VIVEROS                     CA     48003976684
3B3187AA97B471   TATIANA       GOMEZ                       NC     11005457009
3B31914A641277   DENNIS        COOPER                      PA     90010191406
3B319349161963   GABRIEL       CORTEZ                      CA     46067503491
3B319492791869   TAWANA        AMEY                        OK     90006444927
3B31998839713B   ANDRE         BROOKS                      OR     90013569883
3B31B114655951   LEANN         GONZALES                    CA     90014821146
3B31B14A891356   BRIAN         SCHULTZ                     KS     29002161408
3B31B347591356   PATRICIA      RAMIREZ                     KS     90014403475
3B31B81128B162   MARTIN        CRUZ                        UT     31058948112
3B321436A7753B   BRENTON       LAENO                       NV     90005504360
3B321633793768   ROBERT        KELLEY IV                   OH     64553456337
3B32182638B166   COBIA         GARY L                      UT     90005698263
3B32186975B52B   ERIC          MEYER                       NM     90012048697
3B321A3155B344   ANDREA        HEATH                       OR     44523030315
3B321A56891587   BRENDA        LUCERO                      NM     90011340568
3B32217735B344   TERRY         DOTY                        OR     44597251773
3B322423591584   SALOMON       HIDALGO                     TX     90010504235
3B32244418B16B   RENE          GARCIA                      UT     90001664441
3B32247664B281   ALAINA        VASQUEZ                     IA     90014424766
3B32269A172496   DAVON         WHITE                       PA     90003776901
3B32272657B449   YVETTE        MASSEY                      NC     90014327265
3B323167172496   GEORGETTE     MORGAN                      PA     90014691671
3B323239691584   ANGELICA      ORTIZ                       TX     90011472396
3B323265661963   ARMANDO       RUIZ                        CA     46062882656
3B32367374B281   ROSHAWNDRA    HARMON                      IA     90013446737
3B324241154165   MARIBEL       SOTELO                      OR     47036012411
3B32473742B835   BRYAN         BATT                        ID     90012867374
3B324793372B24   DANIELLE      HUERTA                      CO     33096117933
3B324793872B76   JOEL          LOPEZ                       CO     33027117938
3B32531A55598B   SANDRA        GOPAR                       CA     90013873105
3B325454947931   RICHARD       JEFFRIES                    AR     25013034549
3B325473431485   ANGELA        NORMAN                      MO     27557314734
3B325549472496   RICHARD       COLEMAN                     PA     51017905494
3B32567362B835   KRISTEN       HORN                        ID     42068016736
3B325773755972   AMBER         MERRIOTT                    CA     90005297737
3B325856441258   TAMMY         ESLAMI                      PA     51058658564
3B325978655972   KIMBERLY      OLIVER                      CA     90014849786
3B325AA839713B   TED           MINTON                      OR     90013570083
3B32646A45B281   LEIGH         WILLIS                      KY     90010334604
3B326A6822B87B   RANDY         SHEPARD                     ID     90005700682
3B32748A493768   SETH          CLARK                       OH     90009574804
3B32763612B87B   PATRICK       O BRIEN                     ID     42075306361
3B32773412B93B   NOEL          GRIBAY                      CA     45052367341
3B32777782B28B   MONIQUE       DICKEY                      DC     90010587778
3B32817928B16B   MELISSA       MOORE                       UT     90014261792
3B328537154165   VANESSA       RAMBECK                     OR     47088085371
3B328637177539   VIVIAN        SAENZ                       NV     43048246371
3B32866498B16B   DUAINE        MOORE                       UT     90011686649
3B328681476B89   FLORENCIO     GARCIA                      CA     90001826814
3B32869263B325   JUAN          AREVALO                     CO     33017676926
3B32883627B449   CRISTHIAN     ALVAREZ                     NC     11071388362
3B32896265B393   JOE           LASSLEY                     OR     90008589626
3B328996861963   HONEY         MCDONALD                    CA     46010519968
3B328AA582B93B   JOSE          MARTINEZ                    CA     45032820058
3B32918A191831   CHARLOTTE     SISSON                      OK     21049151801
3B329285791356   REGINA        RANGEL                      KS     29078862857
3B32962647B471   BERTIN        ALMARAZ                     NC     90015136264
3B329A87277544   MOORE         JOHN                        NV     43017910872
3B32B396891356   MIGUEL        MIRANDA                     KS     90001183968
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3B32B855472B2B   ENRIQUE       ARANDA                      CO     90006548554
3B32B869777539   ELIZEBETH     RODRIGUEZ                   NV     90002778697
3B33115887B43B   MARQUIS       HILL                        SC     11084281588
3B33137A87B639   LINDA         JACKSON                     GA     15081623708
3B3313AA991356   CANDICE       JOHNSON                     KS     90014343009
3B33168648B162   JEFFERY       IUND                        UT     90013276864
3B3318A925B393   THERESE       SCHMIDT                     OR     44537708092
3B331985477544   CARRIE        DUNLAP                      NV     90011889854
3B331A66547931   TEILOR        LYBRAND                     AR     90014800665
3B33221127B471   MONIUQE       JENKINS                     NC     90014152112
3B332479572496   CHARLES       WEST                        PA     51026164795
3B332674A5B281   KEISHA        CARTER                      KY     68006976740
3B33294AA5B345   HAGAR         BAAH                        OR     90015069400
3B3332AA95B52B   JASON         BUNT                        NM     35031222009
3B33347155598B   GER           VUE                         CA     90012554715
3B33349347B471   GABRIEL       VASQUEZ                     NC     90015444934
3B333521141258   PAYGO         IVR ACTIVATION              PA     90014325211
3B3338A992B28B   CHARLES       LEWIS                       DC     90003378099
3B333A7957753B   REGANOLD      DAVIS                       NV     90015380795
3B334549955972   JASINTA       PACE                        CA     90007895499
3B33484328B162   HOLLIE        WHITNEY                     UT     90000658432
3B334A63A7B639   LOIS          HALL                        GA     90009340630
3B33524922B871   DENVER        HENDRIX                     ID     90013062492
3B33536354B281   PAMELA        HEREDIA                     NE     90006363635
3B335392547931   EVA           KIRK                        AR     25049583925
3B335412A55957   SEIDI         MENDOZA                     CA     90009434120
3B33569144B943   TAMMY         CHAMPAGNE                   TX     90011826914
3B335A4839713B   YOAN          FERNANDEZ                   OR     90013570483
3B335A99991356   BISHNU        REGMI                       KS     90011470999
3B336595777539   LISA MARIE    WYNNE                       NV     90001665957
3B336617291356   MARSELO       SIFUENTES                   KS     90015296172
3B336667555949   DESIREE       VARELA                      CA     90012046675
3B33695852B871   ROXAN         MIRANDA                     ID     90003249585
3B336A18791831   NEVILLE       RAMIREZ                     OK     90010240187
3B33716A44B281   TRELON        ROSS                        NE     27009671604
3B33754848B16B   JOSE MANUEL   GARCIA RENDON               UT     90013355484
3B337774141277   WARREN        PIRRING                     PA     51081937741
3B33794319713B   ROBERT        GIBSON                      OR     90009439431
3B337972A7B639   DAMINESHA     MARSHALL                    GA     90012509720
3B338338A61963   ISIAS         MOSCERA                     CA     90012393380
3B338792741285   T             R                           PA     90014147927
3B338824931424   ROBERT        FORTUNE                     MO     27574268249
3B338843172B24   KEN           RASCON HERNANDEZ            CO     33080598431
3B338861184368   MATIAS        MOLINA                      SC     90010778611
3B3388A925598B   DARCI         RICHARDSON                  CA     49056878092
3B33895927B471   BRIDGET       HOWARD                      NC     11086139592
3B339226341285   JUSTIN        MAY                         PA     90009412263
3B339311776B89   BRITAN        DOVENDARGER                 CA     90015103117
3B339432A7B471   SHIQUITA      MOORE                       NC     11072204320
3B339984651369   PORSCHE       JONES                       OH     90011599846
3B339A2A75B13B   DALLAS        ROBERTSON                   AR     90009780207
3B339A86391356   MARTHA        CALDERON                    KS     90013710863
3B33B63222B871   SOMMER        LYNCH                       ID     90011766322
3B33B69565B281   JAMES         HUGHES                      KY     90015116956
3B33B71AA7B639   MARIA         GUTHRIE                     GA     90006377100
3B33B7A2551339   LONNIE        FREYMUTH                    OH     66050237025
3B33BA1837B471   KIMBERLY      ALEXANDER                   NC     90012560183
3B3411A897B471   KARLA         CHAVEZ                      NC     90014421089
3B34143468B16B   COURTNEY      KILLON                      UT     31066714346
3B34177785B156   ZAPATA        IGNACIO                     AR     90011817778
3B342142841277   DENISE        BOEHM                       PA     51041461428
3B342222531424   FATIMA        BALDWIN                     MO     90013932225
3B34248A77753B   DANIEL        JACOBSON                    NV     90009504807
3B34256542B835   ALEXANDER     ARNDT                       ID     42064235654
3B34313855135B   LATINO        OUTREACH MINI               OH     90008911385
3B34341412B871   TRACY         KOON                        ID     90001974141
3B3434A7A5B156   FARRAH        HENSLEY                     AR     90013964070
3B3435A184B943   JAIME         SAUCEDA                     TX     76581845018
3B343822893768   REBECCA       BEZICH                      OH     64501228228
3B343828A55951   TANYA         ORTIZ                       CA     49083188280
3B344293451339   ROBERT        INGRAM                      OH     90009932934
3B34429399713B   HERIBERTO     CRUZ                        OR     90013572939
3B344343572B24   BRITTNAY      REYES                       CO     90004623435
3B34435A855972   JAMES         WILLIAMS                    CA     48058283508
3B3445A588B16B   DEBRA P       ANGLEN                      UT     90012085058
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1851 of 2350


3B34496827B449   LILJANA      WALKER                       NC     90010489682
3B34526392B871   NEIL         WASSMUTH                     ID     42009192639
3B34549518B16B   BENSON       CONKLE                       UT     90014464951
3B3456A874124B   SUZANNE      NAWROCKI                     PA     90011436087
3B34577855B52B   YESICA       CASTRO                       NM     90012797785
3B34599369713B   THOMAS       DE LEON                      OR     90009439936
3B345A16784368   DILMA        VALLE                        SC     90014430167
3B34628942B871   RICHARD      HARRIS                       ID     42001102894
3B346542855972   MARCO        GARCIA                       CA     90014685428
3B34696827B449   LILJANA      WALKER                       NC     90010489682
3B347311651339   BRADLEY      CARPENTER                    OH     90006133116
3B347317A76B58   MARY         NOBLE                        CA     46079313170
3B34738277B639   VICTOR       SANTIAGO                     GA     90009103827
3B347514155951   PEDRO        PORRAS                       CA     90006905141
3B347A81454165   SHIRLEY      POLLICK                      OR     90013470814
3B34835648B162   ROBERT       THORNE                       UT     90000643564
3B348949244B62   THOMAS       CHILDERS                     OH     90014599492
3B348A62261963   JUAN         BAEZA                        CA     90013920622
3B34923955B393   CHARLES      DOTY                         OR     44589772395
3B349467455931   RAY          WALLER                       CA     90010484674
3B34955512B835   JON          TAGGART                      ID     90014075551
3B34983887B639   TONYA        CARTER                       GA     90014798388
3B349997351339   ED           HILL                         OH     66097959973
3B34B269554165   KAILEY       LEWIS                        OR     90013442695
3B34BA1332B87B   KABRISHA     PEARSON                      ID     90005410133
3B351489155949   MIRNA        OCAMPO                       CA     90010424891
3B35153435598B   ROSA         CRUZ                         CA     90007175343
3B35228627753B   MARIA        LOPEZ                        NV     90013362862
3B35233A45B52B   GABRIELLA    HINOJOSA                     NM     90014693304
3B35238835B393   ALYSSA       JOHNSON                      OR     90014613883
3B352498A55957   MIGULE       DELGADILLO                   CA     90009434980
3B35261128B162   LUIS         HERRERA                      UT     31058896112
3B352666A51339   MARY         SMITH                        OH     66008106660
3B35278A941258   KATHLEEN     SIMPSON                      PA     51027877809
3B3527A2591831   LAMETRA      RECESS                       OK     90009517025
3B35295485598B   MARCIAL      LOPEZ                        CA     90010649548
3B352A3499713B   CHRISTINA    KROPF                        OR     90013580349
3B35312217B639   RAMUNDO      ORTEGA                       GA     90013931221
3B35321262B828   ALEXANDRIA   BARKER                       ID     90008392126
3B35332552B93B   SINAY        PEOU                         CA     90014503255
3B3533A2693768   BOBBIE       SMITH                        OH     90012873026
3B353445A2B835   LIAM         HINDE                        ID     42006134450
3B353584391356   RICHARD      KERR                         KS     90010925843
3B353A48A72499   MICHAEL      LESNESKI                     PA     90010800480
3B354652661963   ALONSO       CARDENAS                     CA     90008206526
3B354664976B89   COURTESY     PHONE                        CA     90009116649
3B35472772B87B   JACK         BASSHAM                      ID     42079387277
3B354A3685B393   WAYNE        SABALA                       OR     90011370368
3B354A67284368   LLASMIN      SANCHEZ                      SC     90014430672
3B355337593768   JAMES        DAVIS                        OH     90014753375
3B35563785B393   RYAN         GRAY                         OR     44524846378
3B355977A8B162   KANDIE       ROBINSON                     UT     31066569770
3B35614167B639   ADOLPHUS     MATTHEWS                     GA     90013931416
3B35644114B943   NAZIRA       MEJIA                        TX     76575584411
3B35644455B545   KRISTIN      STEVENS                      NM     90007654445
3B356478772499   JONATHAN     GERHARDT                     PA     90010804787
3B356576561963   PRICILLA     SMITH                        CA     90013415765
3B357128355951   ALEJANDRO    PEREZ                        CA     90012991283
3B35731327B639   KARLA        ADDALLAH                     GA     90014893132
3B35733212B835   JAIMA        CLINGE                       ID     42042433321
3B35756A37753B   RAMON        ARIAS                        NV     43082805603
3B357638461963   YARELI       MARTINEZ                     CA     90013116384
3B357719155972   CLARISSA     YANTIS                       CA     90013757191
3B357A16872496   CALLI        MICKEY                       PA     90014270168
3B358337593768   JAMES        DAVIS                        OH     90014753375
3B358615651369   KAREN        LOVELESS                     OH     66001796156
3B358628A2B93B   FRANCISCO    GUERRERRA                    CA     90010776280
3B358A1728B162   MARIBEL      SANTANA                      UT     90014170172
3B359437255951   DAVID        RENDON                       CA     49036774372
3B359852741258   SIERRA       BROWN                        PA     90015038527
3B35B296484368   JENNIFER     SMART                        SC     90014702964
3B35B36962B93B   JUAN         IRAHETA                      CA     90013753696
3B35B46375B555   JESSE        GRADO                        NM     90004494637
3B35B53538B16B   MALISA       HANEY                        UT     90013385353
3B35B93288B162   YAZMIN       ESCOBAR                      UT     90014169328
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3B361237377539   MARCELO         TANZI                     NV     90012892373
3B361777972455   ANN             BEERHALTER                PA     90011477779
3B36228995B156   JAMILIA         PORCHAY                   AR     90013262899
3B36234A331424   MADEELYN        STARKS                    MO     90013123403
3B3623A5451369   HANNAH          PUCKETT                   OH     90014583054
3B362715A76B89   CYNTHIA         AQUINO                    CA     90015007150
3B362881A8B162   TROY            SULLENBERGER              UT     90010968810
3B363285972B24   MICHELLE        VERSEMANN                 CO     33016002859
3B36349A855972   ANGELINA        BOOKER                    CA     90014904908
3B36413377B471   NICOLE          YOUNG                     NC     90015141337
3B36423972B93B   VEDA            MALONE                    CA     90014702397
3B3646A6A72B76   ELEASAR         VERA                      CO     90009656060
3B364948A41285   GEORGE          BAILEY                    PA     90014139480
3B364952984368   KATHERYN L      GREGGO                    SC     14504599529
3B36495AA2B87B   SHIRLEY         ADAMS                     ID     90013049500
3B36547745B393   BRITTANY        YODER                     OR     90012084774
3B36581342B93B   VICTORIA        MEYER                     CA     45066208134
3B365813677544   JESSICA         COOTS                     NV     43043758136
3B365A2857753B   ADRIAN          REYES                     NV     43022000285
3B366435755972   BRIAN           GONZALEZ                  CA     90013974357
3B366634276B89   ELIAS           HERNANDEZ                 CA     90013016342
3B36672977B471   MARTIN          REYES                     NC     90012047297
3B366799198B23   ERIKA           GONZALEZ                  NC     90006207991
3B36721337B471   MARY            AVIS                      NC     90008782133
3B367442355951   CLAUDIA         GARCIA                    CA     90014764423
3B367465851339   DANIELLE        CALHOUN                   OH     90012694658
3B3676A389155B   LAURA           HERNANDEZ                 TX     90011276038
3B367917955951   RAUL            VALDEZ                    CA     90011599179
3B367A4A15598B   JUAN            GONZALEZ VENTURA          CA     90012650401
3B368151A2B835   NICK            ZACCHEO                   ID     90014201510
3B368492193768   MARK            PFEIFFER                  OH     90004234921
3B368A67291232   ROSSI           DANIELS                   GA     90012860672
3B369211172496   SUSAN           LEIGHLITER                PA     90015032111
3B369249761963   DEBBIE          ENGLISH                   CA     90010022497
3B36956A94B943   MAUREEN         ROBERTS                   TX     76597535609
3B3695A5154165   NICOLE          LINKENBICK                OR     90011595051
3B369877172B76   MICHAEL         JUAREZ                    CO     90009838771
3B36987882B93B   FRANCISCO       RAMIREZ                   CA     45056028788
3B369989155972   MARK            DIETER                    CA     90014279891
3B3699A857B43B   YOLANDA         ABRAHAM                   NC     11013079085
3B36B14167B639   ADOLPHUS        MATTHEWS                  GA     90013931416
3B36B341977544   STEPHEN         JOHNSON                   NV     90014333419
3B36B5A227B471   PATRICIA        MEEKS-LAMB                NC     11046135022
3B36B738891584   CARLOS          LOPEZ                     TX     75031997388
3B36BAA5936B77   SHADI           BATROUKH                  OR     44549920059
3B371172A84368   MARLENE         TRUJILLO                  SC     14560931720
3B37145668B162   MAGDALENA       CARPI                     UT     90014854566
3B371A1125B344   SALVADOR        HERNANDEZ                 OR     90011730112
3B371A1715B277   KURTARIQ        MUHAMMAD                  KY     68081650171
3B37285547B639   JASMINE         HORNE                     GA     90002638554
3B372A6764124B   BERNICE         WALLACE                   PA     51017250676
3B37331AA5B393   PAM             BROWN                     OR     44598163100
3B37333698B166   SARAH           WILLIAMS                  UT     90010813369
3B37337147B639   ROSEMARY        HOPKINS                   AL     15097043714
3B37346A155951   JADLYN          MONTES                    CA     90014764601
3B3735A7831424   MONTRELL        HOWELL                    MO     90015025078
3B373964593768   MIMA            WALTERS                   OH     90010539645
3B373A1666194B   PATRICIA        UELAND                    CA     90010350166
3B373A52591584   ALFREDO         MARTINEZ                  TX     90010990525
3B373A58677539   DIANNE          BAKER                     NV     90015260586
3B374125A7B639   NATASHA         WALKER                    GA     90004891250
3B374571751339   CHRISTINE       FORMAN                    OH     90013935717
3B374826A76B89   MICHELLE        ULLOA                     CA     90000178260
3B374A8752B871   BRANDY          HUBBLE                    ID     90014020875
3B37555485B52B   CHRISTINE       MARTINEZ                  NM     35095995548
3B37558475598B   CHRISTINE       YANG                      CA     90013245847
3B375832476B89   RAFAEL          SUAREZ                    CA     90012108324
3B375956A5B281   AMESHIA         JOHNSON                   KY     90008619560
3B376313676B89   ROBERT          MAILLY                    CA     90015103136
3B376551891893   CRISTY          DIES                      OK     21070265518
3B376552A5B344   SHADOW JORDAN   LIZ                       OR     90014205520
3B376576954165   NOEL            HAVENS                    OR     47089035769
3B376625477544   MICHELLE        COX                       NV     90002076254
3B376A48351594   MANUEL          RAMIREZ                   IA     90013950483
3B37711A455972   ALEJANDRO       BARRAGAN                  CA     90010061104
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3B377498572496   DAVID             HIXSON                  PA     90000904985
3B377A71972455   CORRINNA          BISCEGLIA               PA     51086340719
3B377A9514B943   JHANI             HAYES                   TX     90015330951
3B378221872496   WALTER            LITTLE                  PA     90011102218
3B378263447931   BRITTENY          FREEMAN                 AR     90011002634
3B37831218B191   STEPHANIE HYLER   EVAN HYLER              UT     90004223121
3B378828851339   MANDY             VARELA                  OH     90013958288
3B378837555972   PAUL              MORENO                  CA     48022678375
3B378A81581681   MELISA            PADILLA                 MO     29016800815
3B379584685873   MALLORY           STEVENS                 CA     90010355846
3B379655977539   KARLA             RODRIGUEZ               NV     90012956559
3B37993A455951   JOSEPHINA         SANCHEZ                 CA     90011599304
3B37B114172B24   DONNA             BLACK                   CO     33010641141
3B37B21937B639   APRIL             EPPS                    GA     15012562193
3B37B319977539   MIRIAM            SIERRA                  NV     90015073199
3B37B64124124B   TONY              RILEY                   PA     90013936412
3B37B94A82B93B   GREGORY           GRAHAM                  CA     90014899408
3B38118178B162   VINICIO           ARMIENTA                UT     90014181817
3B381558354165   SHALENA           CROW                    OR     90006675583
3B381645355949   MARTHA            MENDOZA                 CA     90010996453
3B38185782B835   TRICHELLE         STARK                   ID     90013518578
3B382337177544   MARTA             SICAN                   NV     90009983371
3B382448391831   BRIAN             CLEMENT                 OK     90004364483
3B382477955949   ROBINETTER        MORALES                 CA     90013134779
3B382598236B77   NANCY             MUNOZ                   OR     90015005982
3B38268867B639   DEMETRICA         JAMES                   GA     90014596886
3B38271785B281   LINDA             MENTER                  KY     68081587178
3B38327635B52B   LAURA             VILLALOBOS              NM     35063972763
3B383713872496   PAUL              BUNGARD                 PA     90013227138
3B38384665B156   JOSLYN            NEWBURN                 AR     23002278466
3B38388AA55972   IMELDA            OLIVARES                CA     90014438800
3B384121472496   NIKKALA           FITZGERALD              PA     90014841214
3B38445515B281   DEQUITTA          JAMESON                 KY     90002694551
3B384544A5B393   EDDIE             BERTELSON               OR     44545985440
3B38471A755957   MARIA             MEDINA                  CA     90007827107
3B38491998B16B   MICHELLE          GARIBAY                 UT     31007329199
3B38495517B471   RICHARD           LANE                    NC     90014439551
3B385398A5598B   JERRY             HALL                    CA     90002803980
3B38546A155951   JADLYN            MONTES                  CA     90014764601
3B385687655972   CHRISTIAN         GUZMAN                  CA     90006556876
3B38587A58B16B   DANIEL            ZAMORA                  UT     90012458705
3B385A4845B52B   SERENA            BEATTY                  NM     35097120484
3B38643A67753B   TINA              VAIL                    NV     90014694306
3B386445151369   JASON             ANDREWS                 OH     90014624451
3B38646A155951   JADLYN            MONTES                  CA     90014764601
3B3866A2184368   KEVIN             FROST                   SC     90014916021
3B3866A655593B   JOSE              PEREZ                   CA     90005116065
3B38689A28B191   ELDON             TALLEY                  UT     31061678902
3B3872A7755972   ELIZABETH         RAYA                    CA     48011302077
3B38794527B449   JUAN              POZOS-FRANCO            NC     90010499452
3B38829789713B   AHMED             MOHAMED                 OR     90009442978
3B388332791584   VALERIE           ARRIETA                 TX     75006963327
3B388517155972   MARIBELL          DELGADILLO              CA     48092455171
3B388682851339   ANDREW            ZIMMERMAN               OH     90010306828
3B388A26547931   DAWN              HORTON                  AR     90014180265
3B38921124124B   SOPHIA            DAVID                   PA     51046572112
3B389489741277   JOHN              TEDESCO                 PA     51098014897
3B38973187B471   SAINT             WILSON                  NC     11007057318
3B3897A2854165   MICHELLE          BRIDGE                  OR     90003527028
3B3897A9A55951   ADELAIDA          CASTRO                  CA     90008907090
3B38B141847931   RANDY             ROGERS                  AR     25049251418
3B38B2A9954165   BEVERLY           BROOKS                  OR     90000662099
3B38B317391356   SANDRA            PINELA                  KS     90008763173
3B38B497577544   CHRISTOPER        MATZKIN-RINETTI         NV     90010384975
3B38B684A91543   LUIS              PEREA                   TX     90009876840
3B38B6A9341277   KELLEE            GRAY                    PA     90002296093
3B38B92545598B   ALBERTO           CASTILLO                CA     49086119254
3B38B96A341285   ROME              HILTON                  PA     90014139603
3B38BA9535B393   MIGUEL            CHAVEZ                  OR     90000200953
3B39117A32B871   JEFF              HOARD                   ID     42034041703
3B391483741285   REGINA            BEAIR                   PA     90013464837
3B3914A7631424   SHARRON           JONES                   MO     90009864076
3B39151987753B   RICKEY            FULTZ                   NV     90014155198
3B391924151339   TERRI             MCCOY                   OH     66064249241
3B391A2445598B   MELINDA           LAWSON                  CA     90013800244
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3B39223315B156   TRACEY         CLAY                       AR     90010912331
3B39229789713B   AHMED          MOHAMED                    OR     90009442978
3B392525661982   LUIS           RANGEL                     CA     90005555256
3B39253A976B89   SAMMUEL        GOODWIN                    CA     90011315309
3B39279857B471   JULISHA        MASSEY                     NC     90011607985
3B392A4858B162   DEANN          GEHRING                    UT     90014170485
3B39317428B16B   ANTHONY        HOLDREN                    UT     90011961742
3B39317632B871   NICHOLAS       DAY                        ID     90012571763
3B39319757B471   CHRISTINA      ROMERO                     NC     90010001975
3B39323584124B   DIEGO          NASISI                     PA     90013982358
3B393411551369   VERNIE         MASSEY                     KY     90013644115
3B39372414B943   MELISSA        DAVIS                      TX     90002787241
3B39422124B943   TAMMY          CHILOT                     TX     76574642212
3B394668141258   ANDRE          WILLIAMS                   PA     51073306681
3B39494AA84368   FILIBERTO      HERNADEZ                   SC     90013919400
3B394A72955951   ALISA          JOHNSON                    CA     49078890729
3B394A8A593768   CHRISTOPHER    REED                       OH     90013080805
3B395148755972   CARLOS         SANTACRUZ                  CA     48013891487
3B395497261963   RICHARD        SOLIS                      CA     90014734972
3B39553828B16B   LESLYE         MALDONADO                  UT     31047695382
3B395587391525   CYNTHIA        YOUNG                      TX     75093585873
3B39593228B162   HEIDI          MAHANA                     UT     90001049322
3B39594A447897   TIWANDA        HAMPTON                    GA     90001479404
3B39598935B281   ADAM           NICHOLAS                   KY     68002009893
3B39636758B16B   KIMBERLY       HARAMES                    UT     90012963675
3B397155291356   CAROLINE       SILLA                      KS     90013051552
3B39785A751339   NICELY         SCOTT                      OH     90007668507
3B397988A51347   VERNISA        WINBUSH                    OH     90008109880
3B398145591831   FILIBERTO      SALINAS                    OK     90012001455
3B39818918B162   AGUSTINA       NARCISO                    UT     90014181891
3B39856A89713B   SAMUEL         THOMAS                     OR     90013575608
3B398A7888B166   LAURIE         MALOY                      UT     90011710788
3B399156A41285   DONNA          ADAIR                      PA     90011421560
3B39936AA61963   JARED          EDRADA                     CA     90009413600
3B399781793768   MICHELLE       ROBERTS                    OH     90011607817
3B399A8247753B   DAVID          FERGUSON                   NV     43080890824
3B39B25764B943   ERIC           IZAVIERDO                  TX     90013612576
3B39B9A3A84368   EFRAIN         MORALES                    SC     14515219030
3B39BA4595B344   EDGAR          LOPEZ                      OR     90014370459
3B3B1122377539   CINDI          CHAVARRIA                  NV     90011701223
3B3B1214577544   AIA            SEVE                       NV     43080952145
3B3B188159156B   ERIC           WEITMAN                    TX     90013378815
3B3B1A49272B93   JAMES          ELLIOTT                    CO     33096900492
3B3B2153A41455   CRYSTAL        PANEPINTO                  WI     90015571530
3B3B2422841455   DANA           DAMICO                     WI     90015574228
3B3B2748672B24   MELANIE        VASTARDIS                  CO     33039307486
3B3B3418661963   CECILIA        SALAS                      CA     90011184186
3B3B39A645B393   CHELSEA        HALE                       OR     90014909064
3B3B4358951369   JOHN           SMITH                      OH     90010613589
3B3B4564693768   RYAN           JOHNSON                    OH     90014095646
3B3B4593751339   NOHELY         ALAPISCO                   OH     90014845937
3B3B4959A41277   P              SCHELLINGER                PA     51042309590
3B3B4AA9A72496   CHET           MILLER                     PA     90012550090
3B3B5182577544   SABINA         CRUZ                       NV     90013451825
3B3B528488B16B   MIKE D         QUINLAN JR                 UT     90010072848
3B3B556442B93B   NAOMI          ORTEGA                     CA     90012805644
3B3B564954B943   SAKINAH        THOMAS                     TX     90009546495
3B3B5914655949   JUANITA        MIRANDA                    CA     90011469146
3B3B5A58741455   THUE           XIONG                      WI     90015510587
3B3B5A59147931   ANA            AGUILAR                    AR     90014800591
3B3B615475B52B   ARLO           ABBOTT                     NM     35060461547
3B3B634759125B   JOHNAE         COLLINS                    GA     90014163475
3B3B6464855951   ZAIDA          RODRIGUEZ                  CA     90011074648
3B3B6543454165   MALCOLM        SWAYNE                     OR     90009815434
3B3B6637772496   EVA            ZERECHECK                  PA     51081636377
3B3B664612B93B   BILL           KELLEY                     CA     90007766461
3B3B6695755949   KENDRICK       STOKES                     CA     90012426957
3B3B693968B16B   KASEY RONNIE   ARELLANO                   UT     90005729396
3B3B6A49241285   KELLY          AYERS                      PA     51098230492
3B3B7898255951   OLIVIA         ABRAHAM                    CA     49004848982
3B3B7957347931   PATRICIA       JERIONG                    AR     25022569573
3B3B8137551369   CHERYL         WRIGHT                     OH     66098571375
3B3B8544377544   ROY            RAMIREZ                    NV     90012655443
3B3B8664361963   SAMANTHA       SALAS                      CA     46013666643
3B3B961382B835   ROSA           VENEGAS                    ID     90007886138
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3B3B962A85598B   TARA         HAUNER                       CA     90001936208
3B3B99A835B393   HEATHER      UPTON                        OR     90010389083
3B3BB19A647931   LAURA        AYALA                        AR     25093761906
3B3BB495661963   CARLOS       NAJERA                       CA     90012264956
3B3BB5A3454165   MIKE         FORBES                       OR     90013015034
3B3BB61532B93B   FRANKLIN     SMITH                        CA     90012176153
3B3BB633161963   CARLOS       NAJERA                       CA     90010816331
3B41147474B943   JOSE         IZQUIERDO                    TX     90012364747
3B411A75691584   STEPHANIE    CASTRO                       TX     90010990756
3B412735851369   ANA          MOLINA                       OH     90013387358
3B41286515598B   ISRAEL       ESPINOSA                     CA     90013488651
3B412914355949   KUE          XIONG                        CA     90007429143
3B412946484368   MAIRA        LOPEZ                        SC     90005659464
3B412995255949   RAYMOND      AGUILAR                      CA     90010329952
3B413143A77539   VIRGINIA     OROZCO                       NV     43054751430
3B413154531424   JASON        EYER                         MO     90011301545
3B4132A1A5B281   DEBORAH      RAISOR                       KY     90008412010
3B4134A212B93B   JAMES        ROBINSON                     CA     90012274021
3B413535591525   ANA          ALVIDREZ                     TX     90008875355
3B413666877539   RICHARD      REWIS                        NV     90012956668
3B41416794124B   JHON         MICKMAN                      PA     90014131679
3B414472551339   DON          BECKLEY                      OH     90014154725
3B41449462B871   BRIDGET      SULLIVAN                     ID     42042174946
3B415131972B24   DARRELL      GLASPER                      CO     90006011319
3B415226A8B162   AGUSTINA     NARCISO                      UT     90014182260
3B41561918B16B   ANGELIQUE    LARA                         UT     90014456191
3B41575A34B281   STAN         MARCISZONEK                  NE     90006067503
3B41614557B639   FIDEL        ZAMORANO                     GA     90004891455
3B416382931424   RICK         PEARIA                       MO     90006263829
3B417193597B33   MARIA        RUIZ                         CO     90005391935
3B4172A198B162   KATERINA     MARCELIN                     UT     90013822019
3B417391A91544   ANTONIETA    RIBERA                       TX     90011553910
3B417A4477B449   NHON         SIU                          NC     90010500447
3B41817677B471   DESMOND      KISER                        NC     90001281767
3B41817938B162   SAIRA        CORDOVA                      UT     90012091793
3B418297A31424   LORENZO      BARNETT                      MO     27580492970
3B418382355972   RODOLPHO     VELASQUEZ                    CA     90005713823
3B41849415B281   ROSARIO      GUARDADO                     KY     68043424941
3B418786361921   MARIA        NIEVES                       CA     90010487863
3B418944891831   THANG        PAU                          OK     90012959448
3B418A16354165   TONYA        PANKO                        OR     90013350163
3B418A66A7B639   HECTOR       LOPEZ                        GA     90012450660
3B419171972455   JENNIFER     HERMAN                       PA     90005641719
3B4191A395B52B   MARIBEL      ESPINOZ                      NM     90007781039
3B419286893768   EARLENE      SIDIBE                       OH     90011912868
3B41932515B281   LINDA        HAZELWOOD                    KY     68052953251
3B419419951339   ALISON       KROGER                       OH     90008674199
3B419539577544   AMALIA       VEGA DE NIEBLA               NV     90014445395
3B41964494B281   ASHLEY       GLAZE                        NE     90002006449
3B4199A342B87B   AMANDA       STINER                       ID     90014129034
3B41B1A645598B   MANUEL       PONCE                        CA     90015221064
3B41B22389713B   TIMOTHY      CORBETT                      OR     90014802238
3B41B26962B871   ELIZABETH    RIVAS                        ID     90012492696
3B41B276691543   BRIANNA      AGUILAR                      TX     90010342766
3B41B33328B16B   CARMEN       NAVA                         UT     90008793332
3B41B48239125B   ELSA         GARCIA                       GA     90013634823
3B41B517951369   IVAN         SANCHEZ                      OH     90013405179
3B42143187B639   MELISSA      PRINCE                       AL     15098214318
3B42151425B281   JENNIFER     WRIGHT                       KY     90009045142
3B421527755951   AIMEE        MEDINA                       CA     90014765277
3B42155322B835   LAURISSA     EKART                        ID     90008925532
3B42186488B14B   DANIEL       BATES                        UT     90011298648
3B4218A8655949   RAQUEL       TINOCO                       CA     49043558086
3B42213135598B   ALEX         CUEVAS                       CA     49015951313
3B42222465B393   MANUEL       ZUNIGA                       OR     90014732246
3B42231645B393   DIANA        TODD                         OR     90014753164
3B422688676B89   CONNIE       YBARRA                       CA     90014946886
3B42271615B545   JASON        FOWLER                       NM     90012617161
3B42285532B93B   MARIA        VALENCIA                     CA     90012978553
3B42296122B28B   COLLEEN      WILLIAMS                     DC     90010589612
3B422A58755972   ANGELA       VASQUEZ                      CA     90009770587
3B42313348B162   ANGIE        RICHARDS                     UT     90011401334
3B42348A751339   LACEY        HUDSON                       OH     90013544807
3B42367A45B344   RICK         MATHIESEN                    OR     90014356704
3B423786A41285   WILLIAM      WELLS                        PA     90000237860
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3B42386562B857   MARIA          GARCIA                     ID     90003028656
3B423938877539   ENRIQUE        MARRON                     NV     90002839388
3B42441822B835   SHARRY         HARRIS                     ID     90014154182
3B42443A38B16B   TOUA           VANG                       UT     90001524303
3B42449517753B   GILBERTO       REYES                      NV     43073804951
3B424868141285   NASHANA        HICKMAN                    PA     51044678681
3B42492615598B   RAUL           HERNANDEZ                  CA     90012569261
3B42532426B198   ARMIN          JIMINEZ                    MS     90013833242
3B4259A1855951   GREGORY        MENDOZA                    CA     90009369018
3B425A77847931   TINA           MASSEY                     AR     90014800778
3B426162384368   BEATRICE       BROWN                      SC     90002331623
3B42666965B281   SHELBY         COOGLE                     KY     68016976696
3B426813261963   ROBERT         MANCINI                    CA     90014168132
3B426A26755949   RUDY ENRIQ     MARTINEZ                   CA     49045140267
3B42731915B281   LISA           SIDIABCELLAH               KY     90013003191
3B427372261963   SLEWA          RONE                       CA     46025493722
3B427539691831   BELINDA        SILVA                      OK     90013925396
3B42822A131424   SHEREE         LEWIS                      MO     27589102201
3B428236541258   JESSICA        CRAWFORD                   PA     51089252365
3B428492584368   DIEGO          HERNANDEZ                  SC     90012734925
3B429412261963   GRACIELA       GONZALEZ                   CA     90012764122
3B42955175B281   DAVID          GREGORIO                   KY     90012775517
3B42957338B157   MARY           KNUTSON                    UT     90003345733
3B429A2838B16B   ANGELINA       GARCIA                     UT     90009760283
3B42B96194B281   JUANITA        GLOVER                     NE     90000559619
3B42BA98576B89   LUIS           POCE                       CA     90007690985
3B43121685B156   ROBERT         RIVEIRA                    AR     90014842168
3B431242231424   DIANE          ETIM                       MO     90013932422
3B431328672499   FELICIA        HADDIX                     PA     90012833286
3B431714991356   CAITLIN        ATZENI                     KS     90015517149
3B432152691356   ROSAURA        ROSALES                    KS     90014081526
3B432328141258   MICHAEL        MOREFIELD SR               PA     51096013281
3B432384491831   ROBERT         AMOS JR                    OK     90014263844
3B432711141285   STEPHANIE      ROGERS                     PA     90010437111
3B432885976B89   LORENZO        SANTOS                     CA     46050778859
3B43389A557173   NORBIS         GONZALEZ                   VA     90002638905
3B43416874B281   NORMA          CORDERO                    NE     90004831687
3B43462342B871   ZULEYKA        ALCANTAR                   ID     90012056234
3B43466112B835   SUSANA         BARBOSA                    ID     42011086611
3B43489A557173   NORBIS         GONZALEZ                   VA     90002638905
3B434A3A398B23   ENCHANTIS      ANDERSON                   NC     90011290303
3B43524964124B   MATTHEW        PARKER                     PA     90008482496
3B43555942B835   ALEXIS         TOVAR                      ID     90013675594
3B43579A851339   PHYLLIS        VENTERS                    OH     90013317908
3B435A8955B281   YOLANDA        ARROYO                     KY     90012080895
3B435A8A95B281   JAMIE          STINSON                    KY     90014570809
3B436171836B77   VICTOR         HERNANDEZ                  OR     90005121718
3B436476576B89   GABRIEL LUIS   SANTOS                     CA     90012434765
3B436589984368   SALVADOR       HERNANDEZ                  SC     90009445899
3B436754157153   DANILO         CISNEROS                   VA     90007167541
3B43686437753B   PAYGO          IVR ACTIVATION             NV     90015448643
3B436A1224B943   MARIA          BARAJAS                    TX     90015280122
3B437114876B89   FRANCISCO      SILVA                      CA     90013311148
3B437313255972   SHELLIE        NICHOLS                    CA     90013503132
3B437952584368   JUAN           AGUIURRE                   SC     90013339525
3B43811455598B   SAUL           CRUZ                       CA     49028801145
3B43875757B639   VENICER        SURLES                     GA     15090297575
3B43917447B449   ORENE          DICXSON                    NC     90014171744
3B439349A55972   EPIO           SAESEE                     CA     48092313490
3B43974375598B   ROBERT         LESTER                     CA     49097797437
3B439947476B8B   GILBERTO       GONZALEZ                   CA     90004799474
3B4399A115B52B   BRYAN          SCHALIPP                   NM     90012329011
3B439A7AA77539   JOVONDA        JAMES                      NV     90013950700
3B43B47AA72B24   DANIEL         ENGER                      CO     90004624700
3B43B69535B52B   JOE            VIGIL                      NM     90013466953
3B43B884254165   CODY           ALLEN                      OR     90015518842
3B43BA38776B89   HERNANDEZ      PATRICIA                   CA     46079940387
3B43BA3995B344   MIGUEL         ZARATE                     OR     90001050399
3B44134777B639   PAYGO          IVR ACTIVATION             GA     90015503477
3B441A71A5B344   JENNIFER       LYTLE                      OR     44597290710
3B441A8129713B   VICTORIA       MORGAN                     OR     90013580812
3B442144551369   ANTOINETTE     WILLIAMS                   OH     66086401445
3B44241225B281   STEPHANIE      BURNS                      KY     90014424122
3B442444231424   TIARA          BELL-BLACKMON              MO     90013124442
3B442464341258   JONATHAN       KAURIC                     PA     90014174643
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3B442995361557   JESSICA      GUEDEA                       TN     90015429953
3B442A85991584   CORINA       MARTINEZ                     TX     90010990859
3B44315642B835   JOSEPH       EVANESKI                     ID     90000941564
3B443241A4B532   ANDREA       STAMPUL                      OK     90007672410
3B44335778B162   RICARDO      VERA                         UT     90014183577
3B4435A937B449   KELIN        MADRID                       NC     90013965093
3B443663577539   MARTIN       RODRIGUEZ                    NV     90011876635
3B443682955949   JOHNY        CASTENDA                     CA     90013266829
3B443876231424   DAMON        BOOTH                        MO     27576678762
3B444888247931   GUSTAVO      LONGORIA                     AR     25062888882
3B444897A5B393   MICHAEL      DOYLE                        OR     44508438970
3B444A42451339   MICHAEL      LAINHART                     OH     90009550424
3B445161876B89   HUGO         REYES                        CA     90009541618
3B445281755972   FRANK        PEDRO                        CA     48022732817
3B44562137B639   JENKINS      HENRY                        GA     90014506213
3B44616648B16B   DEBRA        MARTENS                      UT     31055831664
3B446295A55972   RYAN         THOMPSON                     CA     48073082950
3B446428A51339   KILEY        SHAW                         OH     90014414280
3B446439A2B871   KEVIN        COIL                         ID     90004254390
3B44678987B471   MIYA         WALLACE                      NC     90014327898
3B44728348B16B   CLAUDIA      SIERRA                       UT     90009262834
3B44743724B281   ALAN         FIESTER                      NE     27094614372
3B447575531424   AMY          JOHNSON                      MO     90015105755
3B44795835598B   MARICELA     RAMIREZ                      CA     49021939583
3B44843725B156   KIMBERLY     TALBOY                       AR     90013984372
3B44866392B871   BRYAN        SAYLES                       ID     90013686639
3B44866A961963   JOSEPH       BERNAL                       CA     90005146609
3B4488A215B281   TAMMY        ARNOLD                       KY     68064678021
3B44894914B943   LAURA        GUZMA                        TX     90015509491
3B449112447931   ANN          GUY                          AR     25014611124
3B449248631424   GARY         GRAY                         MO     90013932486
3B449267A2B93B   AMAIRANI     TOLEDO                       CA     90013272670
3B44952124B281   GABRIAL      OLSON                        NE     90008785212
3B44989725B156   CHRISTINA    BOSLEY                       AR     90013598972
3B44998A63B326   JEFFREY      AUDI                         CO     90000569806
3B44B245431424   HOLLAND      PARRAN                       MO     90013392454
3B44B31967753B   HOLLY        QUIRING                      NV     90012053196
3B44B5A1854165   KARLENE      MARCUS                       OR     90002785018
3B44B741977539   SAMANTHA     BERNARDY                     NV     90011717419
3B44B776161963   ANA          GONZALEZ                     CA     90009507761
3B45123117B449   TONY         SMALL                        NC     11004942311
3B451352A4B281   KRYSTAL      WHITE                        NE     90014153520
3B451424561963   WALAA        ELIA                         CA     90012044245
3B45148A591356   TYNISHA      FRAZIER                      KS     90015204805
3B451559141277   DUNCAN       ERVENA                       PA     90010705591
3B451731751339   CHRISTINA    CAWTHON                      OH     90014847317
3B451884477539   BRENDA       OCAMPO                       NV     43090678844
3B45223784B943   ALEXIA       COLE                         TX     76589272378
3B45266327B639   JUAN         HERNANDEZ                    GA     15064466632
3B452895661963   TONY         BENDER                       CA     90003248956
3B453486172B76   PAIGE        MUNOZ                        CO     33047224861
3B45352925B393   TRISHA       REED                         OR     90004985292
3B45352A155972   DENNIS       WASHINGTON                   CA     90007445201
3B453557151339   DAVID        INGRAM                       OH     90010495571
3B45397615B281   SANDRA       HUSBAND                      KY     90013959761
3B453A6144B943   RUBI         ALVAREZ                      TX     90008710614
3B45415485598B   BERENICE     ZUNO                         CA     90012971548
3B454155591831   JUSTIN       JOHNSON                      OK     90010671555
3B45416432B93B   SANDRA       GARCIA                       CA     90014571643
3B45426255B281   TIMOTHY      STEIER                       KY     90008852625
3B45437175B344   OCTAVIO      GARCIA                       OR     90000413717
3B4543A597753B   RICK         SEYFARTH                     NV     90013623059
3B4545A212B835   NORMAN       MARTIN                       ID     42049165021
3B45465A64B943   BARBARA      KENNERLY                     TX     90000496506
3B454823351339   ANGELA       LAWSON                       OH     90002898233
3B455158291356   DYLAN        SWAFFORD                     KS     90015541582
3B45542235B52B   BRANDON      STONE                        NM     90010994223
3B45543128B162   ANTONIO      ROMERO                       UT     31074064312
3B455886761963   SABRINA      HOUSEBERG                    CA     46059608867
3B455A92454165   SALLY        SCHMITT                      OR     90008010924
3B4562AAA2B28B   SHEKERA      STENNETT                     DC     90006782000
3B45635825B281   JAMES        GORDON                       KY     90015103582
3B456669891584   MYRNA        MEDRANO                      TX     75023486698
3B45696165B156   SHANNON      JOHNSON                      AR     23028889616
3B456A78251339   JOHN         MURPHY                       OH     90012660782
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3B457215A8B16B   CHRISTOPER      THOMAS                    UT     31005552150
3B4572A627753B   TRAVIS          BROWN                     NV     90011002062
3B457322384347   LUCIA           ROMERO                    SC     90011203223
3B457337255951   URBANO          CANDELAS                  CA     90008803372
3B457457A61963   OMAR            GARCIA                    CA     90012194570
3B45756818598B   ADDIE           BALLOU                    KY     66065005681
3B457A83455949   DIANA           SANCHEZ                   CA     90005540834
3B45883678B16B   JAYSON          HUFFMAN                   UT     90001008367
3B45899475B393   TYLER           MYROW                     OR     90011099947
3B45928A961963   BATOOL          HANNA                     CA     46015372809
3B459376A2B835   RUSSELL         HUFFMAN                   ID     42070443760
3B459536777539   CHONA           ROSCOM                    NV     43067225367
3B45958262B93B   LAURA           LOPEZ                     CA     90012885826
3B45974A354165   JUAN            OSORIO                    OR     90012567403
3B45B152241285   JESSICA         MARSH                     PA     90013661522
3B45B232263625   MICHEAL         SWARTZ                    MO     90010712322
3B45B529872496   AMELIA          COSTELLA                  PA     90008195298
3B45B58115B156   KNOX            TONDELIA                  AR     90010965811
3B45B87397B639   DAVID           BOND                      AL     90014898739
3B45B8A277166B   TIARA           PEOPLES                   NY     90009448027
3B45BA67954165   SUE             BAXTER                    OR     47039460679
3B461113955972   JOSAFAT         DIAS                      CA     90010291139
3B461263A6B198   ROSA            PONCE                     MS     90013842630
3B46135122B93B   YESENIA         VALENCIA                  CA     45069123512
3B46135A855972   CHRISTINA       GOMEZ                     CA     90011093508
3B46147248B16B   LUCY            WASHAKIE                  UT     90005644724
3B46175414B943   ERICA           PITRE                     TX     76576947541
3B46189852B87B   JAMES           MOODY                     ID     90012438985
3B461947641285   MORALIS         SOLOMAN                   PA     90008369476
3B46214172B87B   MEGAN           LINSENMANN                ID     42096671417
3B462491491356   BRANDON         CONCHOLA                  KS     90015464914
3B462545255949   BRIAN           ROADENBAUGH               CA     90012785452
3B46284717B449   BIANCHA         BROWN                     NC     90005648471
3B462914355951   ROXANNE         AVILA                     CA     90013159143
3B46297827B471   FABIAN          COLLINS                   NC     11090859782
3B462A28961963   AIDEE           MANCILLAS                 CA     90013530289
3B462A39631424   ANTONIO         WELLS                     MO     90012240396
3B462AA5754165   RONDA           HUDDLESTON                OR     90010150057
3B463257A5B52B   JARVIS          MOYA                      NM     90002982570
3B46326577B639   EDUARDO         BASTIDA                   GA     90013962657
3B46331832B87B   COREY           THOMAS                    ID     90013943183
3B464837341258   NICOLE          HINTERLANG                PA     51025538373
3B464861276B61   JORDEN          BERGER                    CA     90011718612
3B465154531424   JOSHUA          HESTON                    MO     90015221545
3B465212854165   MICHAEL         BRADLEY                   OR     90009762128
3B46532682B93B   SUGEIRE         VILLALOVOS                CA     90007983268
3B4655A7877539   ROCIO           BACA                      NV     90002585078
3B465634A81686   RO              REED                      MO     90001376340
3B46572824124B   JANETTE         HARRISON                  PA     90013937282
3B465872591831   SHAWN           DUNCANT                   OK     90013518725
3B466328376B89   MARIO           VELASO                    CA     90001873283
3B46648272B835   JOHN            RADA                      ID     90012284827
3B466522A51369   KRISTINA        JACKSON                   OH     90012305220
3B46685A68B166   CONNIE          TREVINO                   UT     90009098506
3B466942157153   SOFAINE         ELHANNAOVI                VA     81090399421
3B467156A8B16B   DAN             COATES                    UT     90014211560
3B46725A841285   MARK            BROWN                     PA     51094862508
3B467377A51339   MIKE            HENCY                     OH     66060133770
3B467624251339   DEANNA          SAYLOR                    OH     90015016242
3B467852A51369   RONDA           TUGGLE                    OH     66052998520
3B46792417753B   DUANE           DONRE                     NV     90009019241
3B467A45931424   ALLY            TURNER                    MO     90014400459
3B468182991584   MARY            ANN RODRIGUEZ             TX     90004511829
3B46832682B93B   SUGEIRE         VILLALOVOS                CA     90007983268
3B46835789713B   SHERITA         GLASS                     OR     90013583578
3B468442977539   JOSE IGANICIO   LEON                      NV     90013684429
3B468986231472   ANTHONY         TILLMAN                   MO     90007749862
3B468A72155951   ROSALINDA       HERRERA                   CA     49020660721
3B468A79941258   SAMANTHA        EASTGATE                  PA     90014580799
3B468AA7441285   AMY             VAHALY                    PA     51007790074
3B46913485B281   DANIEL          HILL                      KY     90006781348
3B469145877544   REGINA          BUSTAMANTE                NV     90014131458
3B469214277539   SAELEE          PANON                     NV     90003052142
3B46922955B393   ALBERTO         SALAZARES                 OR     90010022295
3B46935A461963   RAHEEL          DAKOO                     CA     90012393504
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3B46938745598B   PAO           LEE                         CA     49089493874
3B469554455949   SANDRO        ROLON                       CA     90009795544
3B469728A76B89   RODNEY        SCOTT                       CA     90014437280
3B4699A475B344   CHRIS         GATLIN                      OR     90010839047
3B46B11835B281   DEBORAH       GREENE                      KY     68015031183
3B46B4A715B344   GUSTAVO       SANCHEZ                     OR     44546634071
3B46B831431424   KELSEY        ROSE                        MO     90015318314
3B46B897A91584   MARIANA       SOLIS                       TX     90011298970
3B46B97475B393   RENEE         COX                         OR     44557659747
3B471271154165   DAVID         LABAT                       OR     90014172711
3B47171554124B   EMILY         THIRY                       PA     90012437155
3B471938291831   MARIA         HERNANDEZ                   OK     21063229382
3B47196354B943   PATRICK       KENNERSON                   TX     90014469635
3B47217A261963   MARIA         VILLEGAS                    CA     90012581702
3B4725A914B943   BRANDY        ROMERO                      TX     90013665091
3B472695151369   MELISSA       COMBS                       OH     66039356951
3B472888136B77   ROSA          ARGUELLO                    OR     90003208881
3B472AA9561963   KARINA        ACOSTA                      CA     46041260095
3B47321714B943   JOHN          CALHOUN                     TX     76570132171
3B473257191831   ALEJANDRA     BEJARANO                    OK     90011192571
3B473847877544   YVETTE        PAINTER                     NV     90011378478
3B473A64377539   TRISHA        MOCK                        NV     43048320643
3B47429754124B   HAZEL         MAYO                        PA     51089872975
3B47438832B93B   BILLY         PEREZ                       CA     90012743883
3B4744A492B835   CATHLEEN      TOOLANEN                    ID     42012094049
3B47478617B639   MAURICE       AARON                       AL     90013207861
3B47489165B344   GUSTAVO       NAVARRO                     OR     90009978916
3B474932277544   DANIELLE      YOUNG                       NV     43025909322
3B474959276B89   JENNIFER      MCCANN                      CA     90007559592
3B474A29141258   LATITIA       DAVISON                     PA     90013940291
3B474A3595B393   MATTHEW       COLLINS                     OR     90006350359
3B47524A347931   BREANNA       MEEKS                       AR     90014802403
3B47528972B835   OSO           HUERO                       ID     42051412897
3B4752AA85B393   GASPAR        LOPEZ                       OR     44552592008
3B475973A55951   RUSTY         HOWELL                      CA     90006979730
3B476257651339   BRIAN         GEISLER                     OH     90011892576
3B4762A6277544   TRAVIS        BROWN                       NV     90011002062
3B47655495598B   YUVIMA        ROMO                        CA     90004025549
3B476743676B89   ESTEFANIA     DIEGUEZ                     CA     90003457436
3B476813277539   JOSE          AGUILAR                     NV     90003848132
3B47731372B87B   GABRIEL       MONTERO                     ID     42008343137
3B47756394B281   CAROLE        APOVO                       NE     90011685639
3B477717754165   LUCAS         TANNER                      OR     90015147177
3B477867355972   MIRNA         JIMENEZ                     CA     48013138673
3B47828994B943   VALENTIN      BRISENO                     TX     90014662899
3B47843AA97126   FRANCI        MEDINA                      OR     90009984300
3B47859877B471   TIFFANY       HOUSTON                     NC     90013735987
3B47863175B321   AMY           HILL                        OR     90010946317
3B47885448B162   ANAIS         SLIFER                      UT     90014198544
3B478938855951   AREF          QASJIM                      CA     90013049388
3B47896AA2B93B   RAMON         VILLALOBOS                  CA     45018179600
3B47918625598B   GENARO        ESCALANTE                   CA     49002301862
3B47938388B162   CONNIE        GASCAS                      UT     90005543838
3B47969A35B52B   OMAR          CANALES                     NM     90001896903
3B479779754165   TESSA         LABAT                       OR     47076577797
3B47995788B162   CHRISTOPHE    BURTON                      UT     31040019578
3B479983738522   NANCY         SPENCER                     UT     90014059837
3B47B129941285   TERRY         DUNNING                     PA     90004301299
3B47B62115B52B   ANGELIQUE     BACA                        NM     90011316211
3B47B912241258   CARLY         WILLIAMS                    PA     90014609122
3B47BA79577539   ARIANA        CHAVEZ GUILLEN              NV     90013950795
3B481189A2B835   SHERRI        POTTS                       ID     42086801890
3B481311491831   NICHOLAS      RARDIN                      OK     90009083114
3B48142247B471   JAKARTRA      MORROW                      NC     90008104224
3B48149988B166   JAMES LAIRD   HILTON                      UT     90011444998
3B48162A547931   MICHAEL       MCGARRAH                    AR     25033096205
3B481865672B24   SHAWN         VITT                        CO     90012788656
3B481887947828   NADIA         FORD                        GA     90013758879
3B48226977B639   AMY           THOMPSON                    GA     90013962697
3B48238815B344   ROBERT        GARDNER                     OR     90009423881
3B48251694B281   MARK          OFSANIK                     NE     90000175169
3B482871572496   RAYMOND       RUSH                        PA     90013938715
3B48338A27B471   MISAEL        ROBLES                      NC     11098243802
3B484258572B76   MECHELLE      ROSS                        CO     90009792585
3B48437A35B344   CODI          SEHACHT                     OR     90009893703
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3B48443362B871   MARIO         ARRIAGA                     ID     90013764336
3B484575491537   JAZMIN        MADERO                      TX     90012185754
3B485187272496   CLARENCE      NICHOLSON                   PA     51048001872
3B48519A24B943   HAVEN         ABRAHAM                     TX     90013681902
3B485292984368   MARTHADELI    COREA                       SC     14524152929
3B485311491831   NICHOLAS      RARDIN                      OK     90009083114
3B48543285B52B   NORMA         CAMPOS                      NM     90014834328
3B4855A958B162   KAREN         MOSCOSO                     UT     90014185095
3B48594454124B   KELLY         DIGGINS                     PA     51034619445
3B48598A172B76   BRADLEY       LUNDY                       CO     33027729801
3B486352A55957   ELIDIA        SALINAS                     CA     90004393520
3B486534572B35   DAVID         REYES                       CO     90015135345
3B486552672B34   MARIA         LUCERO                      CO     90011755526
3B486A4697B471   MARGARITA     REBELLAR                    NC     90015300469
3B48764A22B28B   BRANDY        FITZGERALD                  DC     90009276402
3B487714255951   AMALIA        GRADY                       CA     90014717142
3B487717255972   LISA          SANCHEZ                     CA     90012737172
3B487778155949   NICHOLE       STEIN                       CA     49038657781
3B488264555951   BRYAN         RODRIGUEZ                   CA     90007182645
3B48834A772496   RICHARD       STEPANIK                    PA     51007393407
3B48876975598B   BRENDA        ALONSO                      CA     49029647697
3B48933162B871   JOEY          BERNAL                      ID     90013513316
3B489472576B89   NORMA         PEREZ                       CA     90007414725
3B489549977544   CHARLIN       EWEN                        NV     90009075499
3B48962592B871   GLORIA        RAMIREZ                     ID     90012986259
3B48971888B162   EMILY         THOMSON                     UT     31001147188
3B489736555972   MARIBEL       SUAREZ                      CA     90010737365
3B489842991831   CHRIS         JONES                       OK     90001288429
3B48B323A8B166   NANCY         CRANE                       UT     31090693230
3B48B658891356   LORI          GOEBEL                      KS     90014436588
3B49114A87B33B   MARIA         ALCAZAR                     VA     90005711408
3B491522547931   LUIS          MOLINA                      AR     90000625225
3B49153A28B162   ANA           RODRIGUEZ                   UT     90014185302
3B49157177B471   JOSE LA PAZ   SANTOS                      NC     90015125717
3B49177882B586   JAMES         RENEMAN                     AL     90014177788
3B491A13A7B453   JEFFERY       BOLES                       NC     11005750130
3B491A9474124B   ELIZABETH     JOHNSON                     PA     51006470947
3B49211892B268   ISABEL        EASTMAN                     DC     90012961189
3B492241841258   CASSIE        THOMAS                      PA     90010182418
3B492427155951   JESUS         CALDERON QUEZADA            CA     90010024271
3B492592341277   GARY          STEIMER                     PA     51012535923
3B49263A391831   DOUG          MOORE                       OK     90009586303
3B49274A57B385   JOHN          NEWMAN                      VA     90011747405
3B492862141277   GARY          STEIMER                     PA     90010718621
3B493367172B76   LAUREN        MARTINEZ                    CO     33072613671
3B49341585B393   DECEMBER      WATSON                      OR     90013674158
3B49341765B344   IRMA          VALENCIA                    OR     90009894176
3B49357169379B   MOHAMMAD      SHALASH                     OH     90013295716
3B49421717B449   JESSICA       RUSHING                     NC     11093622171
3B494261751339   KRISTI        SCHOOLCRAFT                 OH     90007742617
3B494323147931   ROSALINDA     FIERRO                      AR     90014803231
3B4944A4236B77   HECTOR        GONGORA                     OR     90013954042
3B49456A951369   GARY          BEMMES                      OH     66003055609
3B49469238B16B   JOSE          SAAVEDRA                    UT     90013356923
3B494721455972   DOREEN        JARAMILLO                   CA     90011367214
3B495336972496   JODIE         DOWDEN                      PA     51080363369
3B4954A3155972   EDUARDO       MARQUEZ                     CA     90009144031
3B49611847B639   JOSH          WILLINGHAM                  GA     90014421184
3B49637752B25B   TAISHA        GRANT                       DC     90001663775
3B496452291831   EDGAR         GONZALEZ                    OK     90008194522
3B496473491584   RAUL          CHAVIRA                     TX     90004414734
3B49724225137B   MARIA         WALKER                      OH     90006832422
3B49734585B393   LISA          DALMAN                      OR     90010553458
3B49762A291893   MARTHA        HERNADEZ                    OK     21008666202
3B4976A884B534   SAMELY        MAZARIEGOS                  OK     90011496088
3B4977A2361963   HEATHER       SCHWARTZ                    CA     90004187023
3B4978A8941285   MICHAEL       YANKEE                      PA     90012188089
3B497965241277   BRITTANY      TAYLOR                      PA     90012159652
3B4981A7751339   NICK          JACKSON                     OH     90012211077
3B498272451369   CHARLOTTE     SMITH                       OH     90002732724
3B498354791831   GLENDA        CHOC                        OK     90006153547
3B49839712B871   ASHLEY        MENDEZ                      ID     90014873971
3B498682955949   JOHNY         CASTENDA                    CA     90013266829
3B49896A191232   THURLTON      LAWRENCE                    GA     14574199601
3B498A92255972   AMANDA        LUTRICK                     CA     90010130922
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3B499583272496   MICHAEL        TEETS                      PA     90013325832
3B4B1159772B24   PHILLIP        HUNTINGTON                 CO     90011501597
3B4B155528B16B   YURI           LOZANO                     UT     90013355552
3B4B1653A61963   NATIVIDAD      CORTEZ                     CA     90009226530
3B4B16A8A54165   STEPHEN        ANDREW                     OR     90006086080
3B4B18A8172496   LISA           RITENOUR                   PA     51067158081
3B4B1A69277544   DANIELLE       BURROW                     NV     90007040692
3B4B1A6A44B943   PASSION        BROOKS                     TX     90014140604
3B4B2167736B77   DESTINY        ORTIZ                      OR     90012521677
3B4B2195151369   ERORIDALMA     JUARES                     OH     90012291951
3B4B22A6191232   LEKICHA        REED                       GA     90014682061
3B4B2497261963   RICHARD        SOLIS                      CA     90014734972
3B4B252974B943   BLANCA         RAMIREZ                    TX     90014445297
3B4B266465B156   ROQYA          ALALSHAIKH                 AR     90012566646
3B4B269167B639   MARTINA        WILLIAMS                   GA     15011306916
3B4B2A8364B943   CANDICE        PLAMER                     TX     90013090836
3B4B363822B87B   GUADALUPE      QUIROZ                     ID     90014906382
3B4B38A812B835   CHRS           PALMER                     ID     90011078081
3B4B397734B281   LLONDEL        RICHARD                    NE     90014089773
3B4B3A8824124B   DELL           VANN                       PA     51035700882
3B4B435859713B   LAVIOLET       BROWN                      OR     90013463585
3B4B443A38B16B   TOUA           VANG                       UT     90001524303
3B4B469A861925   THOMAS         SORRELL                    CA     46010036908
3B4B47A9841285   TROY           WAZNY                      PA     90011737098
3B4B4895354165   CRYSTAL        ESCOBEDO                   OR     90013428953
3B4B4A26691831   JULIANNA M     MONNEOT                    OK     21006330266
3B4B5379731424   DAVIDSON       MERRIWEATHER               MO     90013123797
3B4B54A4491356   FILIBERTO      MORA                       KS     90009334044
3B4B591135B281   KATHERINE      CAMPBELL                   KY     90000759113
3B4B6288647931   JUSTIN         POUNDS                     AR     25056552886
3B4B64A5661963   SUNGHUI        KIM                        CA     90006044056
3B4B661945B59B   DEMONE         CURRY                      NM     35057486194
3B4B6721181686   ANGEL          NUNEZ                      MO     90006617211
3B4B6874155951   PILLIP         SALAS                      CA     90014178741
3B4B6A45376B89   LILI           MONTIEL                    CA     90011920453
3B4B7341951339   CARMELA        DELIA                      OH     90014943419
3B4B757AA77539   WILLIAM        LARDIZABAL                 NV     90014815700
3B4B758154124B   DAVION         DONALD                     PA     51089155815
3B4B772119125B   JACQUELYN      BRYANT                     GA     90007217211
3B4B7997155951   JANET          RENTERIA                   CA     90011849971
3B4B79A937B639   JOSEPH         BELL                       GA     15075469093
3B4B835A841258   JOSEPH         OLASIN JR                  PA     51084233508
3B4B8A76A2B871   CATHY          ORTEGA                     ID     42069750760
3B4B9347A7B639   JILLIAN        PRICE                      GA     90013703470
3B4B956338B16B   MICHELLE       OLSEN                      UT     90001875633
3B4BBA38972496   CHARLIEANN     VANORSDALE                 PA     90002440389
3B51143949713B   DARCIE         MCMURRY                    OR     90013604394
3B51147942B871   ANTONIO        QUINTERO                   ID     90009174794
3B51167AA51369   STEVEN         LYNN                       OH     90014986700
3B5116A1598B23   TIFFANY        TUCKER                     NC     11066666015
3B5117A5777539   JAVIER         ESPANA-BARAJAS             NV     90011727057
3B511897A55951   ANGELINA       DELEON                     CA     90009708970
3B511929791584   ROSA           MELVIN                     TX     75052149297
3B511AA368B166   MIGUEL ANGEL   PEREZ SERRANO              UT     90008720036
3B512175777539   MARIA          RODRIGUEZ                  NV     90013951757
3B5123A282B835   ATANASIO       ORTIZ                      ID     90008573028
3B51251A551339   JIMENEZ        JUAN                       OH     66069265105
3B51278475B281   BRETT          ROGERS                     KY     90014907847
3B51283728B16B   MANUEL         MARTINEZ                   UT     90013268372
3B513167954165   CHERYL         RATTENBORG                 OR     90002621679
3B51321722B835   ROSE           PETERSON                   ID     90010692172
3B51362768B166   JARED V        THACKER                    UT     90004386276
3B5142A5441285   JEVONNE        SCOTT                      PA     90013942054
3B514758677539   JESSE          ROBINSON                   NV     43094957586
3B51478555B344   MYLA           RECHIREI                   OR     90003177855
3B51489519713B   JULIO          TAPIA                      OR     90013588951
3B51489675B52B   FERENNENA      GOMEZ                      NM     35063888967
3B51489952B835   DEBORAH        GARCIA                     ID     42009028995
3B514916251339   LEIGHA         MCINTOSH                   OH     90002339162
3B514A4592B93B   CARLOS         VARGAS                     CA     90013110459
3B514A82691831   DONOVAN        OSSMAN                     OK     90012750826
3B51523587B639   RONALD         TUBBS                      GA     15056502358
3B51532838B166   BRENT          WARREN                     UT     31049113283
3B515472772441   CHRISTOPHER    LOPEZ                      PA     90011774727
3B5159A739713B   LORENA         TORRES                     OR     90013589073
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3B515A72861963   ERIC             RIVERA SALAZAR           CA     90011460728
3B51628A451369   TERRANCE         POWELL                   OH     90014612804
3B516816A91831   GILVERTO         RODRIGUEZ                OK     90013988160
3B51686885B281   LAUREN           BAKER                    KY     90007348688
3B516917876B89   ROGELIO          CRUZ                     CA     90010229178
3B51699955B393   RANDY            TAUFFER                  OR     44506989995
3B5171AA97B639   SYLVESTER        PATTON                   GA     90012031009
3B51723525B281   BETTY            BRANNON                  KY     90013692352
3B517433341277   JENNIFER         BRUCE                    PA     51014524333
3B51749922B871   JONA             COCHERN                  ID     42031324992
3B517556991831   ROBIN            BARNETT                  OK     90015455569
3B517654847931   MARINA           GUEVARA                  AR     90014806548
3B517821A91356   SHAWN            WEISHAUBT                KS     90015178210
3B518189651369   THOMAS MATTHEW   KIRKLIN                  OH     90011601896
3B518239254165   KAREN            LOVELL                   OR     90003392392
3B51832A691584   SANDRA           SIDES                    TX     75052163206
3B51863837B495   PAMELA           BRADFORD                 NC     90002056383
3B51864585B281   ANITA            SIMPSON                  KY     68053626458
3B51937762B28B   RONDELL          SILVERS                  DC     90010313776
3B519493491584   ALEJANDRA        DE HARO                  TX     90010504934
3B519693772496   VIRGINIA         LAYTON                   PA     51068506937
3B519823491356   SARA             CHEYNEY                  KS     29053598234
3B51B18358B162   VICTORHUGO       CORDERO                  UT     90008241835
3B51B279A76B89   DAYSY            TOLEDO                   CA     90010702790
3B51B55148B162   LUIS             MOSCOSO                  UT     90014185514
3B51B591772496   FLORENDA         CAVALIER                 PA     51079535917
3B51B631555951   MARTIN           CERVANTES                CA     90010126315
3B52159A95B393   JEFFREY          ADAMS                    OR     44512975909
3B52173135B52B   DOMINIC          OTERO                    NM     35005697313
3B522158661963   CHELSEA          GRIGSBY                  CA     90014501586
3B522492572496   TRAVELLE         STONE                    PA     90009584925
3B52282A58B162   JODI             RAULSTON                 UT     90002848205
3B5229A5672B33   AMADO            GAONA-DIAZ               CO     90012619056
3B52333294B943   DEAN             LEWIS                    TX     90013693329
3B523459A72496   JENNIFER         THOMAS                   PA     51050554590
3B523623455949   ALVARO           DAVALOS                  CA     49001016234
3B52362664B943   JOSE             GUTIERREZ                TX     90003166266
3B523852641258   ASHLEY           SIMON                    PA     51078638526
3B523A76547931   JAMES            RILEY                    AR     90006140765
3B52432215B156   TANYA            PATTON                   AR     23098013221
3B524459A72496   JENNIFER         THOMAS                   PA     51050554590
3B52452534B281   SARAH            SEWELL                   NE     27091375253
3B524873891356   TARAH            SCOTT                    MO     90014888738
3B52539697B449   NICOLE           BARKSDALE                NC     90010503969
3B5255A1691584   MAYELA           DE JESUS                 TX     90010505016
3B52567312B559   ROB              MCCLENDON                AL     90014096731
3B52569775B52B   ISABEL           ALVARADO                 NM     90014726977
3B52573114124B   KELLIE           POLLITT                  PA     90013867311
3B526126A91831   OLLINKA          GREEN                    OK     90007851260
3B526531A8B16B   MICHELLE         JENSEN                   UT     31062305310
3B52666284124B   NANCY            POELLOT                  PA     90006026628
3B526A25855951   CRAIG            CLEIM                    CA     90006290258
3B526A5475B344   JANIO            PIKE                     OR     90009370547
3B5271A378B166   JASON            MIKESELL                 UT     90011001037
3B527586141277   GINA             LLOYD                    PA     51000265861
3B527592A2B871   EVA              PEREZ                    ID     90013225920
3B527A3A555963   CHANOA           LYNN                     CA     90009330305
3B528459651369   LEONARDO         HERNANDEZ                OH     90011294596
3B52864218B16B   SUSAN            MASON                    UT     31001196421
3B528671155949   TROY             MCCRAW                   CA     90014976711
3B528A21A47931   KENNETH          KNOTTS                   AR     25046770210
3B528A79955949   TROY             MCCRAW                   CA     90014100799
3B529142254165   ERIK             VESSEY                   OR     90012191422
3B529365677544   MARIA            MORA                     NV     43012553656
3B52942A35B593   DAN              FRIAS                    NM     90015034203
3B52949552B87B   NORHTWEST        SECURITY                 ID     90012674955
3B52954478B162   JOSEF            HARDESTY                 UT     90014725447
3B52956632B871   CHRIS            MONRO                    ID     90010555663
3B5295A6341285   BRITNEY          BERRY                    PA     90003045063
3B52971867B639   OTAVIA           THOMAS                   GA     90013697186
3B52972A255951   ROSA             ESPINOZA                 CA     90012137202
3B52988315B156   PATRICIA         ADAMS                    AR     23073658831
3B52B33A841285   DIAMOND          WATTS                    PA     90012903308
3B52B46725598B   SANGALOUN        KEOPHALY                 CA     90014034672
3B52B5A955B156   MICHAEL          SCROGGINS                AR     23025635095
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1863 of 2350


3B52B94A12B93B   ALICIA          CHANEY                    CA     90002879401
3B52B97782B835   MARK            DAVIS                     ID     90009099778
3B52BA21A47931   KENNETH         KNOTTS                    AR     25046770210
3B52BA72391831   NORMA           MUNOZ                     OK     21021140723
3B531133872B27   ALONDRA         MACHORRO                  CO     90014721338
3B531271A72496   DEBI            FRETTS                    PA     90011872710
3B53146A655972   FREDDY          CALEDERON                 CA     90015134606
3B531524647931   SALOME          KIBIN                     AR     90014815246
3B53153617753B   ARMANDO         CARDENAS                  NV     43098155361
3B53157492B835   SHEILA          REYNOSO                   ID     90008105749
3B531912291831   MELISSA         WILLIAMS                  OK     90013169122
3B53244614124B   DAVID           ROBERT ARLOTTA            PA     90010204461
3B532776555951   RODULFO         DONATE                    CA     90011617765
3B53284132B28B   CONNIE          MUSHETTA                  DC     81092618413
3B53291747753B   PABLO           ANDRADE                   NV     43056549174
3B533164372B33   LES             KUMFERMAN                 CO     90006401643
3B533921954165   STEVEN          SZIBER                    OR     90010799219
3B533A4232B87B   RAYMOND         PEREZ                     ID     90014270423
3B534142177544   CYNTHIA         HERNANDEZ                 NV     90014701421
3B534749591831   DEBORAH         DAVIS                     OK     90015167495
3B53511424124B   YOLONDA         GREENE                    PA     90010851142
3B53512969713B   NICK            WITTER                    OR     90013591296
3B535193591356   STACI           WOODEN                    KS     29037381935
3B535264431424   AMANDA          SMITH                     MO     90015342644
3B535684355972   MARTIN          RODRIGUEZ                 CA     90009686843
3B535943251865   ASHLEY          HOSIER                    NY     90015399432
3B536127591538   LUIS            MONTOYA                   TX     90001941275
3B53622AA33625   CHRISTOPHE      OMOTI                     NC     17084332200
3B53655784B281   FAUD            BURALE                    NE     90012055578
3B536626972B24   AMIN MOHAMMAD   ALTWIL                    CO     90004626269
3B536647A47931   MARK            OGIELA                    AR     25020126470
3B536712855951   AMANDA          PALOMARES                 CA     49038547128
3B536755731424   MICHAEL         LANG                      MO     90013967557
3B53693815B156   LAMONTE         YOUNG                     AR     90015279381
3B537144A77539   SHAWNA          JONES                     NV     90012801440
3B537181A4B943   JOANNA          LOPEZ                     TX     90014811810
3B537265355949   DAHNASHA        LAVENDER                  CA     90007412653
3B53756435B156   JOSE            LOPEZ                     AR     90011885643
3B537683151339   SHERRY          SPICER                    OH     66011426831
3B53826195B277   REBECCA         FULTZ                     KY     90008572619
3B538351661963   JOSUE           GARCIA                    CA     90011793516
3B53867867B449   ANDY            ADDAI                     NC     90010526786
3B53881AA77539   MARIA           TORRES PENA               NV     43048428100
3B53888752B93B   SURESH          DIYAL                     CA     90012898875
3B538964191356   NICOLE          HILL                      KS     90012279641
3B5392A915B156   LATOYA          WARD                      AR     23045612091
3B539579257153   ALMA            ALVAREZ                   VA     81025045792
3B539686131424   CASONYA         THOMPSON                  MO     27561116861
3B53973664B943   MARENA          CRUZ                      TX     90013697366
3B53979765598B   DE VANYE        DAVIS                     CA     90010707976
3B539815455972   JONATHON        WECKWORTH                 CA     90009928154
3B53985918B162   COLTON          PETERSON                  UT     90012538591
3B539A22741258   KACEY           STREBA                    PA     51088100227
3B53B83547B449   JOSEFA          FAJARDO                   NC     90007018354
3B53B87684B281   JOSE            ORTIZ                     NE     27012908768
3B541396477544   VERNON          HEATER                    NV     43035813964
3B541435491584   HALL            ARLIS                     TX     75061814354
3B5414A254B943   LASHONDA        BROWN                     TX     90011994025
3B54157675B52B   MIRINDA         GERBER                    NM     90001775767
3B541726476B89   ANAHI           DAMACIO                   CA     90013927264
3B54185617753B   RAY             FORD                      NV     43037428561
3B54195725B344   ICELA           HUESCA                    OR     44533779572
3B541A8277B395   MARINA          SANCHEZ                   VA     90009430827
3B54225845B156   TIMOTHY         DARVILLE SR               AR     23044702584
3B542878A5B393   STEVE           NELSON                    OR     90004998780
3B542937957153   CHRISTOPHER     WASHINGTON                VA     90007209379
3B54315A85B393   MELISSA         TURNER                    OR     90006131508
3B543A2552B93B   CARLOS          IBARRA                    CA     90012870255
3B54412439713B   DARLA           DUNHAM                    OR     90005601243
3B54427AA5B156   SHALEE          KIMES                     AR     90011002700
3B54438A77B43B   DELORIS         HERBIN                    NC     11008773807
3B54449555B156   SHALEE          KIMES                     AR     90012124955
3B54451297166B   MACARIO         FRANCO                    NY     90015475129
3B54479A851339   PHYLLIS         VENTERS                   OH     90013317908
3B5452A5347931   DONALD          REDDEN                    AR     25038292053
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3B54572814B943   PAULA        WILIAMS                      TX     76592247281
3B545A8567B639   CANDACE      WILLIAMS                     GA     90005170856
3B546241154165   MARIBEL      SOTELO                       OR     47036012411
3B54662878B162   OSCAR        CABALLERO                    UT     90002586287
3B546832461963   MENDOZA      RAMOS                        CA     90000278324
3B54684785B156   SARAH        ANDERSON                     AR     90014898478
3B546847947931   EDUARDO      MEDINA                       AR     90013318479
3B54691295B281   LISA         WINGATE                      KY     90013399129
3B54724235B393   MELANIE      CREEL                        OR     44579682423
3B5477A218B162   TERESA       CHAZEV                       UT     90013097021
3B548383A7B471   DAVID        LUNA RIOS                    NC     90012073830
3B54841A78B16B   IRMA         SUSTIATA                     UT     90006054107
3B5485A597B473   RASHIDA      REDIC                        SC     90001915059
3B548852641258   MISTY        CASTNER                      PA     90014108526
3B54896528B162   AARON        SINKS                        UT     90011669652
3B54917625B344   RACHELLE     FLINT                        OR     44593621762
3B549357891831   EDEL         PITTS                        OK     90009083578
3B54B11665B156   WALTER       MACK                         AR     90014711166
3B54B139391831   DENELL       ARNOLD                       OK     90010241393
3B54B1A4172B76   LEO          GUTIEREZ                     CO     33091241041
3B54B492A77539   LINDA        DELVALLE                     NV     90014164920
3B54B8A6751578   MARY         ALLOBA                       IA     90012048067
3B54B986476B89   KATHRYN      ROCHAMBEAU                   CA     90012879864
3B551117155949   GE           YANG                         CA     49004731171
3B55115A94B954   LAKEISHA     BUSH-PRICE                   TX     90008431509
3B55192498B162   KAREN        HOWE                         UT     90010799249
3B55242177753B   KANIESHA     MOORE                        NV     90013404217
3B55243514B281   DARREN       JOHNSON                      NE     90000494351
3B55267362B835   KRISTEN      HORN                         ID     42068016736
3B55332A331424   LINDSAY      LOHAGEN                      MO     90011593203
3B553423891356   MISTY        STEWARD                      KS     90011854238
3B55349A976B89   MARINA       ROSAS                        CA     90012084909
3B55357744B943   ARMESHA      PALMER                       TX     90014765774
3B55473227B639   NASHAWN      HARRIS                       GA     90011267322
3B55478179156B   JORGE        TORRES                       TX     90013487817
3B554A3447753B   KARINA       LOPEZ                        NV     90012330344
3B554A5A557153   ELVIS        JOYA                         VA     90007210505
3B555548141258   SHAWNCIE     HENDERSON                    PA     90013255481
3B555575772B2B   JEANETTE     BROUSSARD                    CO     90006795757
3B555618372B76   ELENA        VASQUEZ                      CO     33047966183
3B555797A5B344   SALVADOR     SANTELLAN                    OR     44572967970
3B55628714B943   JESSIE       GARICA                       TX     90014932871
3B556328677544   ZAKIA        KNIGHT                       NV     90012823286
3B556586555951   JOSE         CONTRERAS                    CA     90014765865
3B556915261957   TODD         GOSLIN                       CA     90013319152
3B55692488B166   DEE          DANEL-ONEAL                  UT     90009339248
3B556956784368   MIREYA       HERNANDEZ                    SC     90004699567
3B55718278B162   RACHEL       PICKETT                      UT     90011401827
3B557232455951   ALIANA       COVARRUBIAS                  CA     90011602324
3B55743615B52B   SHILOH       HUDDLESTON                   NM     90011974361
3B557888197137   FERNANDO     HERNANDEZ                    OR     90012668881
3B5578A3172B24   GERALD       LYNCH                        CO     90013518031
3B557912291831   MELISSA      WILLIAMS                     OK     90013169122
3B557A3618B16B   MARK         JOHNSON                      UT     31068540361
3B55815348B166   SONJA        LOKEN                        UT     90007061534
3B558281254165   ERIC         RAMEY                        OR     90015172812
3B558647351339   DESHANNON    SHEARER                      OH     90014856473
3B55873517B425   LINIAH       HAND                         NC     11068847351
3B558848A8B162   BECKY        JENSEN                       UT     90012508480
3B55918A87B639   AKAVIA       JOHNSON                      GA     15000201808
3B55953AA51369   AMBER        JAMES                        OH     90011295300
3B55959497753B   VANESSA      VIRGEN                       NV     90013175949
3B559781691831   TENECIA      COCHRAN                      OK     90008327816
3B559899876B89   SERGIO       RIVAS                        CA     46092578998
3B55B115741285   RANDY        TRORTTER                     PA     90013231157
3B55B22195B52B   REGINA       FIGUEROA                     NM     35034362219
3B55B8A7741258   LEAH         CHARLES                      PA     51046348077
3B55BA4577B471   TARA         HOPKINS                      NC     90013480457
3B561499833B81   ROSETTA      CIANO                        OH     90013844998
3B5615AA755972   KORINA       GALAVIZ                      CA     90013125007
3B561762491831   REBEKAH      HOLLOWELL                    OK     21048097624
3B561A6A741258   JHERIA       BLACK                        PA     90013940607
3B56212A95132B   JUSTIN       SCHULTIAN                    OH     66090181209
3B56234992B835   KANDIS       HOYT                         ID     90001163499
3B5623A158B162   EDDIN        MEDRANO                      UT     90012393015
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3B563365A55951   MARTHA         SILVA                      CA     49083343650
3B56435299713B   TONY           STOTTLER                   OR     90013593529
3B56441585B344   VICKI          SANDERSON                  OR     90014744158
3B564748672496   ALICEON        STRICKLER                  PA     90001667486
3B564871355949   JAVIER         CONTRERAS                  CA     90011168713
3B564986A4B281   LITTLE LAMBS   DAYCARE                    NE     90011509860
3B564A24384368   CARLA          QUITERIO                   SC     90013340243
3B5652AA98B16B   ANDREA         RENE CLIPPINGER            UT     90007712009
3B56573A977539   JUAN           ZUNIGA                     NV     90015177309
3B56628944124B   THOMAS         LOLLO                      PA     51030572894
3B5663AAA84368   MARIA          ROQUE                      SC     90002663000
3B56641114B943   MARGARITA      GUERRERO                   TX     90009954111
3B567411777544   WALTER         JACKSON                    NV     90014834117
3B56748268B16B   ALYSON         PETERSEN                   UT     31039324826
3B56762157B471   RHONIQE        MISSOURI                   NC     90007556215
3B56798875B281   DAKOTA         GIBSON                     KY     90014089887
3B5679A7451369   AMANDA         VEST                       OH     90006119074
3B568119A2B93B   DIANA          LIZARRAGA                  CA     90012811190
3B56816225B156   MELICIA        MOSSON                     AR     23092591622
3B568215941277   TIARA          SAUNDERS                   PA     90014842159
3B5684A9561963   HEATHER        WILLIAMS                   CA     90011884095
3B56859924124B   DAPHNE         KWOLEK                     PA     51091615992
3B5685A192B835   AMANDA         ENNIST                     ID     42076695019
3B568684A55949   LIZ            ROGAS                      CA     90013976840
3B5687A9191584   ELIZABETH      SANDOVAL                   TX     75035487091
3B568838677539   ALEXANDER      MOORE                      NV     43008588386
3B568A22141277   MARVIN         HERREN                     PA     90009410221
3B56929964B943   THOMAS         DUNCAN                     TX     90014812996
3B569338351339   ARYN           SHEPHERD                   OH     90013773383
3B56959574B943   AVIS           LAMOTTE                    TX     90013715957
3B569918893768   CHRIS          MONTGOMERY                 OH     90003319188
3B56B21718B162   SHANE          SAMANIEGO                  UT     90006662171
3B56B285A5B393   SKIP           MCROBERT                   OR     90006992850
3B56B681A55949   ROBBIE         THARPE                     CA     90014826810
3B56B721961963   JOYCE          HAWKINS                    CA     90014737219
3B56BA36991831   ROBIN          ESTES                      OK     90014000369
3B571357876B89   JOSE           VERDUGO ROBLERO            CA     46072853578
3B571559284368   JORGE          DOMINGUEZ                  SC     90005645592
3B57159547166B   JOHN           GETMAN                     NY     90015395954
3B571852891356   NICOLAS        CAMACHO                    KS     90013988528
3B572336184368   DONAVON        SCHMIDT                    SC     90002313361
3B572385377544   SONIA          LEMUS-MONZON               NV     90014683853
3B57271565B281   JAMES          KENNELL                    KY     68040897156
3B572755961963   MARGARITA      OROPEZA                    CA     90014737559
3B572957872B24   ARACELY        ANCHONDO                   CO     33016009578
3B572A4552B93B   NAYELI         MAGADAN                    CA     90012090455
3B572A55651369   AIMEELEIGH     MULLINS                    OH     66035490556
3B573252391584   SILVIA         HERNANDEZ                  TX     75017122523
3B57368814B943   LOUIS          COLE                       TX     90013716881
3B573849757153   GUILLERMO      AMAYA                      VA     90007218497
3B573A4242B87B   PAYGO          IVR ACTIVATION             ID     90013200424
3B573A8A961963   TERRANCE       CROW                       CA     90014860809
3B57468947753B   MAGDALENA      ZEPEDO                     NV     43088796894
3B574693A2B835   VICTORIA       MEDRANO                    ID     90012656930
3B57613662B93B   JESUS          ESPINOZA                   CA     90013111366
3B57651785B156   YOLANDA        BELL                       AR     90005095178
3B576556631424   DAVID          TOWNSEND                   MO     90011665566
3B576A4A341455   FELICIA        MCCOATS                    WI     90010290403
3B577395991831   MICHAEL        MILLS                      OK     90014263959
3B577AA5191356   KATHLEEN       MCCREADY                   KS     29084450051
3B57843AA72455   BEN            BEIGE                      PA     90012394300
3B579174A55951   ADRIANA        ZAVALA                     CA     90010181740
3B579417933B88   LAKEA          CLARKE                     OH     90009904179
3B579526172B76   CSTILLO        MANUUELA                   CO     33084475261
3B579548A2B93B   JENNIFER       GUITERREZ                  CA     90014245480
3B579662A61963   JONATHAN       MUSSMAN                    CA     90013286620
3B579A72872B24   BRANDY         SAILAS                     CO     33003820728
3B579A9264124B   JOSIE          CARROLL                    PA     90005960926
3B57B34AA7B639   DIANE          MCCOY                      GA     90013933400
3B57B394951339   ASHLEIGH       FORBES                     OH     90014563949
3B57B71395598B   CHRISTI        CECIL                      CA     90001387139
3B57BA1A977539   JOSE           GUTIERREZ                  NV     43056960109
3B581662691831   KYLE           WILLIAMS                   OK     90014956626
3B582376161557   OSCAR          LUNA VERA                  TN     90015363761
3B58262648B162   NATHAN         KINSEY                     UT     31013076264
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3B58285A741285   ANITA        MITCHELL                     PA     90015088507
3B582912191831   SHAWN        WILLIFORD                    OK     90011819121
3B583145A47931   LARRY        CLAY                         AR     90011071450
3B583148791584   EVELYN       RODRIGUEZ                    TX     90010991487
3B583623255972   ROBERT       VASQUEZ                      CA     90010066232
3B58452564B943   AARON        AUZENNE                      TX     90009225256
3B584754A8B16B   DIANA        ZARATE                       UT     90014557540
3B584866447931   CHAROL       KELLEY                       AR     90015038664
3B584887176B89   JUSTIN       ANTONIO                      CA     90013038871
3B58554A755949   ANTONIA      BENITEZ                      CA     90011105407
3B58576117753B   CHELSEA      HUBERT                       NV     43078437611
3B586174A55951   ADRIANA      ZAVALA                       CA     90010181740
3B58647354124B   DENISE       BEAM                         PA     51075034735
3B586546547931   ARTHURO      ROMERO-HERNANDEZ             AR     25094155465
3B586558277544   MARIA        MENDEZ                       NV     90010595582
3B58671867B639   OTAVIA       THOMAS                       GA     90013697186
3B5869A482B871   KATY         BENSON                       ID     42044249048
3B587169741277   ROGER        MILLER                       PA     90014511697
3B587243491584   MARIA        DOMINGUEZ                    TX     75035492434
3B5872A662B87B   DERECK       PERRY                        ID     90009972066
3B58731435B546   JESSICA      SANCHEZ                      NM     90003573143
3B58746372B93B   KARIN        MENDOZA                      CA     90013204637
3B58785698B162   MARCK        BONIFACIO                    UT     90014188569
3B587A58277539   SAMANTHA     PENMAN                       NV     43059150582
3B588493971943   MARIA        DOMINGUEZ                    CO     90001234939
3B58854A48B16B   DOLORES      RAMIREZ                      UT     31015595404
3B588663885995   MICHELE      JACKSON                      KY     67082916638
3B588712172496   DEANNA       SHOWMAN                      PA     51072347121
3B588741841258   DALE         MOORE                        PA     51086707418
3B58912162B87B   ESPERANZA    MARTINEZ                     ID     90010821216
3B58919A977544   JOSE         FERRER                       NV     90006161909
3B589292551339   ALAN         RICHMOND                     OH     90014302925
3B589632972B76   KRISTI       COLLIER                      CO     33087506329
3B5896A6255951   ASAEL        AGUILAR                      CA     90014766062
3B58975487753B   CURT         TORVICK                      NV     43023127548
3B589763A76B89   ESTHER       LEAL                         CA     90014437630
3B58B243672B34   LYNN         HAWKINS                      CO     90011942436
3B58B515547931   JARVIS       SMITH                        AR     90007795155
3B58B73512B87B   ESPERANZA    TERAN                        ID     42083337351
3B58B79898B162   YACQUELIN    PASCUAL                      UT     90014187989
3B58B936273221   JAVIER       KIROS                        NJ     90014379362
3B58B95685B52B   MARK         GLERUP                       NM     35081679568
3B59129994B281   LEKIA        WILLNER                      NE     90012242999
3B59149928B16B   MICHAEL      FERGUSON                     UT     90014254992
3B591842551339   ROBYN        FOX                          OH     90004938425
3B591A9215B344   KARLIE       SETNIKER                     OR     44546410921
3B59245885B393   BRIAN        BONNER                       OR     44515054588
3B59284515B344   LEMUS        DE RODAS                     OR     90013218451
3B59284A57B471   TENIKA       SIMPSON                      NC     11052528405
3B59285988B162   NANCY        MINER                        UT     90014188598
3B59293A472496   ELIZABETH    SWOPE                        PA     51014609304
3B59298617753B   ANITRA       WILSON                       NV     90005129861
3B59312364124B   WALTER       BENJAMIN                     PA     90011201236
3B59313213B152   TOWANDA      COATES                       DC     90013031321
3B59318687753B   JAMES        BETTIS                       NV     43070831868
3B593225676B89   MIRIAN       HALE                         CA     90007932256
3B5935A6491356   HELEN        OBI                          KS     29066165064
3B593661351369   KASEY        DROTAR                       OH     90003016613
3B593684472496   GERALD       THORPE                       PA     51009816844
3B59391764B544   JOY          DAVIS                        OK     90004529176
3B59445365598B   MELANIA      VARGAS                       CA     90014764536
3B594597191356   JOHN         BLACKETT                     KS     29001325971
3B594616155949   ALEJANDRO    LOPEZ                        CA     90010036161
3B59479465598B   LAKRISHA     DARKS                        CA     90013787946
3B59482272B93B   DEBBIE       CRUZ                         CA     90007368227
3B594951771921   KRISTA       KELLY                        CO     32099479517
3B594A44A5B393   CHAZ         CHANCEY                      OR     90014640440
3B59544A372496   ROXANN       FRONIUS                      PA     90014814403
3B595697355972   ROCIO        DURAN                        CA     90007696973
3B5956A8461963   ROSA         MITCHEL                      CA     90006276084
3B595761A4B943   NICOLE       LUZINSKI                     TX     90013917610
3B59583A79713B   ALEJANDRO    SILVA                        OR     90013598307
3B59638989713B   DAWN         KERSHAW                      OR     90008453898
3B59653A42B93B   MIKE         HOBART                       CA     90008565304
3B596598941285   LORI         CALHOUN                      PA     90001105989
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3B5969A737B43B   SHAWN        GRADY                        NC     90003329073
3B59712758B162   MARIA        ROSAS                        UT     90001451275
3B59721A741285   CHRISTOPHE   DAVIS                        PA     90001282107
3B5972A667B471   PEGGY        BITTLE                       NC     90013812066
3B59755585B393   DANIELLE     LANEY                        OR     90003095558
3B59778592B93B   HECTOR       CONTRERAS                    CA     90015487859
3B59795234124B   GEORGE       LANTZY                       PA     90003069523
3B597A88772B24   ARLYN        GONZALEZ                     CO     33033810887
3B598513661963   MARIA        OROZCO                       CA     90011895136
3B59857445593B   SEASON       ELLIS                        CA     90006705744
3B598653455949   FLOR         ANGUIANO                     CA     90009776534
3B598929354165   JAMIE        MARTINEAU                    OR     47038989293
3B599235447931   SERGIO       PEREZ                        AR     90015042354
3B59947437B639   PEDRO        RAMIREZ                      GA     90013934743
3B599485241258   LEILANI      MICHELL                      PA     51063664852
3B5994A454B943   VALERIE      WHITE                        TX     76509884045
3B599611655951   ARTHUR       ESCARSEGA                    CA     90014766116
3B59978857B639   DARRIAN      WRIGHT                       GA     90010657885
3B59996572B93B   MATT         RUBIO                        CA     90008039657
3B599A72484368   WAYNE        MCKNIGHT                     GA     14570340724
3B59B4AA351339   IZERIA       MCCULLER                     OH     90014714003
3B59B52528B16B   BRITTANY     HEGERHORT                    UT     90004215252
3B59B62A877539   MAX          PROVINO                      NV     90012356208
3B5B112965B393   MARGARITA    GONZALEZ                     OR     90004091296
3B5B11A4751369   JOSE         SANTIAGO-PEREZ               OH     90013031047
3B5B125A64B943   HERMAN       CABALLEROS                   TX     76572692506
3B5B1394136B77   LEVI         EGGERT                       OR     44590163941
3B5B14A2541258   VALERIE      RAMAGE                       PA     51063124025
3B5B156835B393   SHAWN        GRAIFF                       OR     90013965683
3B5B1934977539   LYDIA        GOMEZ                        NV     43010379349
3B5B223994124B   HELENA       COTTON                       PA     51013472399
3B5B288924B281   ASHLEY       WHEELER                      NE     90006798892
3B5B2A66172B76   GREGORIO     MIRANDA                      CO     33048560661
3B5B345345B52B   NATASHA      STEPHENS                     NM     90012824534
3B5B39A4977544   RAFAEL       BELTRAN                      NV     90004679049
3B5B41A135B156   VEXTER       MADISON                      AR     23069161013
3B5B433A861963   AREK         TAYLOR                       CA     90011413308
3B5B46A489713B   MARISSA      TETER                        OR     90013586048
3B5B4A7118B16B   KATHERINE    TREE                         UT     31092660711
3B5B5586251369   NICKI        BROWNING                     OH     90014175862
3B5B5653155951   PAULA        STAFFORD                     CA     90006866531
3B5B5788A7B471   MINDY        MACON                        NC     90012427880
3B5B592A231424   DOUGLAS      WAMBU                        MO     90013789202
3B5B6246855951   VANG         YENG                         CA     49013012468
3B5B6328677544   ZAKIA        KNIGHT                       NV     90012823286
3B5B6533161963   TOM          HAYES                        CA     46099025331
3B5B65A6677544   ZAKIA        KNIGHT                       NV     90013945066
3B5B6763355972   NIKKI        CREE                         CA     48027837633
3B5B715955B393   LUISA        MARTINEZ                     OR     90003121595
3B5B7439A55949   SANDRA       GARCIA                       CA     90001634390
3B5B7912A41285   EDWARD       STARR                        PA     51031149120
3B5B7A4785B52B   JULIE        JACOB                        NM     90013450478
3B5B8175777539   MARIA        RODRIGUEZ                    NV     90013951757
3B5B8A51751339   CHRISTINA    BOWLING                      OH     90005800517
3B5B918438B16B   REBECCA      PRICE                        UT     31006631843
3B5B948A531424   TERRY        JONES                        MO     90011664805
3B5B957535B393   JESUS        RAMIREZ                      OR     44590725753
3B5B9845155972   ERNIE        FARIAS                       CA     90014548451
3B5BB17168B16B   STANLEY      ROBINSON                     UT     31007211716
3B5BB275455972   ELEAZAR      CASTRO                       CA     90010482754
3B5BB49312B87B   DENNIS       PONCELET                     ID     90015014931
3B5BB53359713B   JONICA       DODSON                       OR     90008915335
3B5BB832677544   JAYME        DRUMM                        NV     90010938326
3B5BB949672B76   MANUEL       AGUIRRE                      CO     33058359496
3B6111A184B943   BRIGIDA      SORIANO ZAMORA               TX     90013921018
3B611266255921   BLANCA       LERMA                        CA     49001562662
3B6112A544124B   JEVONNE      SCOTT                        PA     90013942054
3B611884A76B89   ROBERT       COSBY                        CA     90005438840
3B61195717753B   COLE         RICHARDSON                   NV     43085849571
3B612585A5B393   ELISHA       MITCHELL                     OR     44576455850
3B612692155972   HOPE         URIAS                        CA     90013996921
3B612856572496   GEORGE       WINGROVE                     PA     51089748565
3B61297AA7753B   STEVEN       CURIEL                       NV     43042689700
3B612A5275B52B   MICHELLE     CANDELARIA                   NM     90003290527
3B613397A2B93B   SUSANA       CONTRERAS                    CA     90014783970
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1868 of 2350


3B613439A54165   STEVEN         AMSA                       OR     47024614390
3B6136A135B393   DANIEL         COHN                       OR     90014856013
3B613724841455   ESTEBAN        LABOY                      WI     90015487248
3B61421168B166   LUPE           QUEBEC                     UT     31082402116
3B61452662B93B   ARAM           MUSHIEKH                   CA     90007875266
3B6147A2991952   TAMMYE         COTTON                     NC     90000767029
3B614A5648B162   WENDY          KELLY                      UT     31013210564
3B61517337B639   JOSEPH         RISER                      GA     90012051733
3B61536567753B   ANA            RAMIREZ                    NV     43026833656
3B615459254165   LAURA          CIEPLINSKI                 OR     47028694592
3B6159A658B166   MEISHA         VANDERTOOLEN               UT     31085079065
3B615A8397B639   ANNE           PEZOLD                     GA     90014960839
3B616197A76B89   HERMES         GARCIA RAMIREZ             CA     90010421970
3B616593347931   WENDY          WARREN                     AR     90007795933
3B61678814124B   SHAYLA         SMITH                      PA     90013937881
3B617198172B24   ANDREA         JESSEN                     CO     33034071981
3B617224531424   NAKESHIA       EDWARDS                    MO     90008972245
3B617365191543   ALICIA         COLTRANE                   TX     75097503651
3B617452355972   ANITA          PACHECO                    CA     48000404523
3B61759347B639   ALISA          TARVER                     GA     90011175934
3B617A1678B16B   AMANDA ELIZA   BUNN                       UT     90009680167
3B617A9237B43B   OLEGARIO       CARDONA                    NC     11004910923
3B61838A872B76   NICK           GREER                      CO     90010973808
3B61848287B639   YOMECA         BORDERS                    GA     15013884828
3B61851582B835   PAOLA          PONCE                      ID     90015345158
3B6189A9831424   RICHARD        JONES                      MO     90014799098
3B618A92841258   IKUMA          OJOK                       PA     90006860928
3B61917797753B   RICARDO        ZARGOZA                    NV     90014391779
3B6192A477B639   NADIA          JENKINS                    GA     90005212047
3B61959978B162   TRACIE         BRANDOW                    UT     31011425997
3B61969587753B   ANTONIA        BAUTISTA                   NV     90015596958
3B61B73AA7B639   PAULNE         BATTLE                     GA     15085097300
3B621229A61963   LARRY          FAWCETT                    CA     46008542290
3B621396655972   KATHERINE      SALAZAR                    CA     90012543966
3B621414472496   ASHLEY         DILLS                      PA     90015104144
3B62195425B156   KRISTAL        COLLINS                    AR     90010889542
3B622228151339   CHRISTINA      CHARLES                    OH     90012452281
3B622413372B24   VELOY          SANDOVAL                   CO     33065094133
3B622579561963   DAVID          ISREAL                     CA     90012405795
3B622911441277   JEFF           MEEHAN                     PA     51090699114
3B62294732B835   JACKI          CARLSON                    ID     90013529473
3B622956472496   SHERRY         WILKES                     PA     90003689564
3B62296128B16B   JORGE          FERREIRA                   UT     90012439612
3B623162925632   WILLIAM        SMITH                      AL     90015291629
3B623185977539   JUSTIN         WILLIAMS                   NV     43082151859
3B62318A872496   MELISSA        DULEY                      PA     90014151808
3B623262777539   DALE           MCCOY                      NV     43078962627
3B624269857153   PETER          SANTIAGO                   VA     90007242698
3B624364951339   MATT           HATTON                     OH     90014933649
3B624A87841285   MACK           HAWTHORNE                  PA     90014480878
3B625213341285   PEARL          WALCH                      PA     90015112133
3B625356855951   MARILU         FRAUSTO                    CA     90005063568
3B62552322B87B   VILLAFANA      RODRIGUEZ                  ID     90001785232
3B625846391831   TERESA         WILSON                     OK     21056958463
3B62589255B281   MICAHEL        HARDY                      KY     90013288925
3B625A34541258   TAMMY          BOOTH                      PA     51081540345
3B626111755972   REYES          SALADA                     CA     90003661117
3B62617749713B   JOSEPH         LINGLE                     OR     90013601774
3B62627947B639   KEMIRA         WILSON                     GA     90013962794
3B6264A222B87B   SHAWNA         MCMULLEN                   ID     90012564022
3B62664742B835   MARIA          LOPEZ                      ID     90013776474
3B6266A7691959   ANTONYA        LADSON                     NC     90015056076
3B626773991356   HAKEM          SOFIANE                    KS     90010837739
3B626875576B89   AUDULIA        GARCIA SILVA               CA     90000168755
3B62729697B43B   MAKEAH         GLENN                      NC     90003332969
3B62744984B943   SIMONE         BELL                       TX     90015464498
3B627555551369   SARAH          GODBY                      OH     90013095555
3B627635155951   CHHIEANG       SAM                        CA     90014766351
3B62796A547931   MARTHA         GRANADOS-ZUNIGA            AR     25041019605
3B62798975598B   DEANNA         ALVAREZ                    CA     90009839897
3B627A52A7B449   COREY          COLLINS                    NC     11064340520
3B62825A361963   JAMES          BLACK                      CA     90011492503
3B62848952B87B   PATRICIA       BAIR                       ID     42057384895
3B6286A642B871   CRYSTAL        ODREN                      ID     90013226064
3B62878362B87B   PATRICK        SMITH                      ID     90010797836
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3B628A7345B281   MARCUS       BENTLEY                      KY     68040900734
3B62935415B344   ALICE        CALDWELL                     OR     44597793541
3B62977A355949   GLENN        BURKE                        CA     49058277703
3B62B134792859   HARLEY       KIPENA                       AZ     90015121347
3B62B296641285   ERIKA        BERES                        PA     90014842966
3B62B57A454165   TRAVIS       BEASON                       OR     47088765704
3B62B744A91584   ALBERTO      AGUIRRE                      TX     90009867440
3B63111355B156   ZACKERY      PRATER                       AR     90013461135
3B631255591893   RENEE        CORNWELL                     OK     21076522555
3B63128795B52B   PATSY        GURREA                       NM     90013812879
3B63139374B943   VANESSA      SANCHEZ                      TX     90013903937
3B6313A8941285   KRYSTAL      SILK                         PA     90014843089
3B63166868B151   NATALYA      MCGEE                        UT     90001276686
3B631A7392B87B   CHELSEY      LAY                          ID     90013150739
3B63246194124B   LLOYD        JONES                        PA     51045814619
3B632479691831   JOHN         BANKSTON                     OK     90013224796
3B632991861963   NATHAN       BENSON                       CA     90008239918
3B633656551339   HARRY        DOUGLAS                      OH     90013026565
3B63417515598B   LORRAINE     SETTLE                       CA     49065111751
3B6341AA391831   SARAH        BASTYR                       OK     90015441003
3B634924155949   NICOLE       WALTERS                      CA     49027849241
3B634A82677539   DAPHNIE      CHANDLER                     NV     90008740826
3B6351AA277539   MARIA        ALCARADO                     NV     43014801002
3B635585161963   FILIBERTO    ROJAS                        CA     46014385851
3B635845A77544   JONATHAN     PADILLA-SAUCEDO              NV     90013938450
3B6359A715B591   MARIAH       MIERA                        NM     90010889071
3B635A54931424   DANIELLE     BENSON                       MO     90005590549
3B636153A5B281   DEVANTE      URBINA                       KY     90013131530
3B63622327753B   TOMAS        ESCOBAR                      NV     90011942232
3B636249672B76   JASON        HACKBARTH                    CO     33047262496
3B636A4544B943   CARLOS       AGUILERA                     TX     90013950454
3B6372A695B52B   VICTORIA     GOLD                         NM     90011522069
3B63747227753B   MIGUEL       RODRIGUEZ                    NV     90013534722
3B6375AA876B89   ALFREDO      CARRETO                      CA     90012365008
3B637632272496   THOMPSON     MINOR                        PA     90011576322
3B63776694B943   JAVIER       MARTINEZ                     TX     90002527669
3B637984155972   WAI          SEE                          CA     90012779841
3B63888814B592   BRENDA       PEREZ                        OK     90010398881
3B638A68977539   VANESSA      GARCIA                       NV     43069400689
3B638AAAA2B93B   KATHY        STAHL                        CA     45087180000
3B639518341277   CRAIG        BROOKS                       PA     90014675183
3B639738977539   ROSA         BARBOZA                      NV     90012967389
3B63975675B281   MIKE         WISON                        KY     90011437567
3B63B158A91584   JULIA        PONCE                        TX     90010991580
3B63B56799713B   PEDRO        SANTOS                       OR     90011385679
3B641216577539   KATY         CLONTZ                       NV     90009192165
3B641448491933   RICHICO      HARTSFIELD                   NC     90011674484
3B64192337B639   AMBER        JACKSON                      GA     90014029233
3B6421A744B922   MARIE        GUSTAFSON                    TX     90013511074
3B64253415B52B   SELENA       OROZZCOC                     NM     90014825341
3B642792A55951   MARIA        MARTINEZ CARLOS              CA     90001827920
3B642921831424   KIM          SCHNEIDER                    MO     90015519218
3B64316797753B   SUSAN        A DAVIS                      NV     90007741679
3B64317A12B93B   MANUEL       HERNANDEZ JR                 CA     45025691701
3B643182391831   TAMMY        WILSON                       OK     21056031823
3B64332A29125B   SHERRI       WILLIAMS                     GA     90000433202
3B6433A1377544   JOSE         MELCHOR                      NV     43018703013
3B643648141277   DOROTHY      HIGGS                        PA     51086746481
3B64394328B16B   MARTINEZ     JOSEPH                       UT     31019899432
3B643A7222B835   JUSTIN       RAY                          ID     90014800722
3B644246531424   KWAME        THOMAS                       MO     90013132465
3B644434151339   BARRY        LOYD                         OH     90012894341
3B644879A5B393   JOANNE       HEADRICK                     OR     90013258790
3B64546A655972   SALVADOR     COBARRUVIAS                  CA     48064644606
3B64549744B547   ANTONIO      SAUCEDO                      OK     21587204974
3B645519155951   SONYA        MORALES                      CA     90008575191
3B645529891893   TERRY        CORNWELL                     OK     90009765298
3B6455AA172496   WILLIAM      DESHIELDS                    PA     51041965001
3B64563762B835   EDUARDO      NUNEZ SANCHEZ                ID     90011086376
3B645652947931   TAMARA       GUICE                        AR     25002036529
3B64573A541258   TALEN        SIMMONS                      PA     51018477305
3B645937277539   YADIRA       LOPEZ                        NV     90014419372
3B64611482B87B   SHANE        LAMBERT                      ID     42091261148
3B64623A551339   ELIZABETH    SHULZ                        OH     90014812305
3B64636195B52B   DEBORAH      KATZ                         NM     35059823619
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3B64677965598B   BRENDA        LOPEZ                       CA     90010677796
3B646877A72B76   GUILLERMO     ULLOA                       CO     33096268770
3B646995472B23   ANTHONY       LUEVANO                     CO     33004859954
3B64711775B344   KRIS          FREED                       OR     90015011177
3B647234177544   LUIS          CALAMATEOS                  NV     90011112341
3B648154A5B393   TOM           KEO                         OR     90014781540
3B6482A768B16B   LUIS          GAXIOLA                     UT     90013132076
3B6482A935B52B   CHRISTOPHER   TAFOYA                      NM     90013622093
3B648434777539   MATTHEW       LEAVITT                     NV     90013854347
3B6484AA57753B   VIVIAN        CAMACHO                     NV     90009634005
3B648526954165   JONATHAN      JOHNSON                     OR     47082185269
3B648612391831   RENEE         HEINERIKSON                 OK     90007486123
3B6486A915B344   MARIA         HERNANDEZ                   OR     44588146091
3B648815A5598B   IRAI          OREGON                      CA     90012998150
3B649145855949   ISABEL        CONTREAS                    CA     90007611458
3B649225761963   ARCY          ALCANTARA                   CA     90010212257
3B64949928B16B   MICHAEL       FERGUSON                    UT     90014254992
3B649587377539   SANDRA        BARAJAS                     NV     90013955873
3B649A13772496   JUSTIN        AHLBORN                     PA     90013360137
3B64B319872B76   APRIL         MOCK                        CO     90005893198
3B64B322155951   MARIA         SANTOS                      CA     49060273221
3B64B81A25B156   TOMMY         LONG                        AR     90009058102
3B64B877191893   TONYA         PARTIN                      OK     21040028771
3B651186254165   NICOLE        DOHERTY                     OR     90005061862
3B651332372496   TALYSSA       KINLEY                      PA     90014173323
3B651744955949   CHRIS         GUZMAN                      CA     90010787449
3B652276991584   TANYA         DENSON-MOORE                TX     75063542769
3B652279877544   BRIAN         DASTILLO                    NV     90015222798
3B652749425655   NATHAN        RIDDLESBURG                 AL     90015307494
3B652772255949   ROMUALDO      RODRIGUEZ                   CA     90014677722
3B65279268B162   JESSIE        QUINTERO                    UT     90008447926
3B65313264B943   CAROLYN       WILSON                      TX     76580011326
3B653344776B89   JOEL          VILLANUEVA                  CA     46067753447
3B65361968B16B   CARINA        ZENTENO                     UT     90014816196
3B6541AA172496   JOHN          WILTROUT                    PA     51046241001
3B654261657139   MELODY        PARKER                      VA     90008042616
3B654378754165   MICHAEL       ROYBAL                      OR     90013523787
3B654853A4B943   JENNIFER      BROUSSARD                   TX     90006598530
3B654975161963   NANCY         PINTOR                      CA     90009099751
3B654A83341258   NORRIS        KELLEY                      PA     90013940833
3B654A94591356   NORMA         BOWREN                      KS     29059170945
3B655221155951   TYLER         PRYOR                       CA     90012892211
3B655355577539   GREGORY       CHATMAN                     NV     90011743555
3B655419577544   ELIZABETH     ANDREWS                     NV     43031104195
3B655684151369   ROSETTA       MCDOWELL                    OH     90014606841
3B655A65291356   PEDRO         HERNANDEZ                   KS     90001880652
3B65614512B87B   CARL          HOLMSTROM                   ID     90013651451
3B65672347B639   KENYA         BARRON                      GA     90013697234
3B656A44177544   JAIME         CORONA                      NV     43026660441
3B656A8922B93B   LETY          FULTON                      CA     90011940892
3B65729385B393   STEVE         BLACK                       OR     90014832938
3B65761968B16B   CARINA        ZENTENO                     UT     90014816196
3B657642291831   DEMON         BOLT                        OK     90012136422
3B65789925B344   DIXIE         YAGLE                       OR     44571058992
3B65793369713B   DEANNA        CRICHTON                    OR     90014169336
3B657A33576B89   ERIKA         RAMOS                       CA     90012740335
3B658387672496   APRIL         RICHTER                     PA     90014073876
3B65839988B162   SCOTT         TYLER                       UT     90010823998
3B658572147931   RYAN          MERSMAN                     AR     25071785721
3B659218371937   JUANITA       MEIROSE                     CO     90010842183
3B65938538B16B   KELSEY        KIMBALL                     UT     90012703853
3B659A72A4B943   ARTURO        VARGAS                      TX     90002280720
3B65B1A9861963   ALAN          CHERRY                      CA     46015371098
3B65BA8519713B   CHRIS         HINTZ                       OR     44567180851
3B661397572496   WESLEY        MATTHEWS                    PA     90014913975
3B661757655972   ALBERTO       CHAVEZ                      CA     90014897576
3B66185737B449   DARLENE       WATSON                      NC     11069978573
3B66187745B344   CHRISTOPHER   PHILLABUM                   OR     90012478774
3B661992841285   DIANNE        MOFFITT                     PA     90005729928
3B661A8974B943   RAUL          LARA CRUZ                   TX     90013970897
3B662342A77539   ROBERT        GODFREY                     NV     90012553420
3B662471451369   SHAWN         RUTHERFORD                  OH     66090114714
3B66273767753B   JAMES         LAMISON                     NV     90012947376
3B662A77177539   FUSTINO       SALAS                       NV     43077120771
3B662A81955972   SHUBHANGI     FAZALBHOY                   CA     90015190819
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3B66329A18B162   DON           RILEY                       UT     90007552901
3B663418755951   JENNIE        DIAZ                        CA     90014774187
3B66378A661963   ESTEFANI      QUIROZ                      CA     90012787806
3B663877376B58   MARTHA        AZPEITIA                    CA     90013638773
3B663888255972   CAROLYN       LONG                        CA     90009848882
3B663A5345B393   ISABEL        HARTSHORN                   OR     90014230534
3B66413A891356   IRMA          CARERA                      KS     29089491308
3B664266431424   NATHAN        PORTER                      MO     90013132664
3B66481632B87B   VANESSA       BAILEY                      ID     90011408163
3B665228941277   LEZLEE        HUNTER                      PA     51044442289
3B66544842B87B   IRENE         ACEVES                      ID     90011304484
3B665515831699   PAMELA        FORD                        KS     90005405158
3B665517A7753B   ERNEST        OTTOWA                      NV     90014985170
3B665668751339   BRITTANY      CAMPBELL                    OH     90014916687
3B665A5A277544   TRACY         ROUND                       NV     43037220502
3B66612775B393   JON           WILKINSON                   OR     90015191277
3B666224191893   RYAN          DENTON                      OK     21014612241
3B666956891543   GRACIELA      SANCHEZ                     TX     90011679568
3B666A22955972   DONIQUE       LOUIS                       CA     90001160229
3B66725A67168B   SANDRA        WINANS                      NY     52031632506
3B667299361963   TANIS         JONES                       CA     90014502993
3B66747317B639   JESSE         WORNEY                      GA     15021164731
3B667619472496   ROBIN         GEORGIANA                   PA     51090886194
3B667878955951   CATOLINA      VELASQUEZ                   CA     90002588789
3B66819A54B943   CHRISTOPHER   NAPIER                      TX     90013991905
3B6681A7955951   EDUARDO       MONTEJANO                   CA     90004511079
3B66821725B52B   DANNY         MILLANO                     NM     90008582172
3B668574451339   DANIEL        BOWENS                      OH     90014365744
3B668852A91831   DUSTIN        RHEARD                      OK     90008868520
3B668884572496   SARAH         HIXSON                      PA     51009008845
3B668A91877544   HORTENCIA     CASTANEDA                   NV     90002200918
3B669122A2B871   KAYLEIGH      WESCHE                      ID     90014791220
3B669156491356   NANCY         GATEWOOD                    KS     29057451564
3B669254A8B166   LORIANN       JENSEN                      UT     31013082540
3B669384351578   GREG          LEWIS                       IA     90014013843
3B669531161963   DANNY         STERLING                    CA     90014745311
3B66988A391584   BLANCA        TERRAZAS                    TX     90011108803
3B66B352455951   ADRIANA       CRUZ                        CA     90011603524
3B66B364A5B344   ALFREDO       GONZALEZ                    OR     44518113640
3B66B425657153   CHARLOTTE     GHANSAH                     VA     90002524256
3B66B555691584   BRIANA        RAMOS                       TX     90010505556
3B66B579851369   THERESA       PADILLA                     OH     90001865798
3B66B61A991356   MIGUEL        TRUJILLO                    KS     90011196109
3B66B836751321   STEPHEN       HARVEY                      OH     90004728367
3B671483291543   VANESSA       GONZALEZ                    TX     90004894832
3B671564691537   BEN           BASS                        TX     90007505646
3B67212658B166   DENNY         ANDERSON                    UT     31047291265
3B672344884326   PHILICIA      WING                        SC     90009173448
3B672414A2B871   MARY          GUTIERREZ                   ID     90010114140
3B672464455972   MANUEL        COELHO                      CA     48072534644
3B672512551339   MANUEL        BERROA                      OH     90012655125
3B672668191831   SHEONTEL      SCOTT                       OK     90014176681
3B672699A77544   JUAN CARLOS   LOPEZ                       NV     90011776990
3B6727A9151369   BENJAMIN      COMER                       OH     66055367091
3B672865676B89   JUANA         CARDENAS                    CA     90014088656
3B673114661963   NAU           FLORES                      CA     90000481146
3B673115255951   LAURA         LEON                        CA     90014821152
3B673161231424   CARL          BROWN                       MO     90008501612
3B67348319713B   LAZARO        LOPEZ                       OR     90012374831
3B67364218B16B   SUSAN         MASON                       UT     31001196421
3B673685455949   LETICIA       SHAMMA                      CA     90013006854
3B67375342B871   BRIAN         HAGERTY                     ID     90014547534
3B673823855951   CRISTIAN      ARREDONDO                   CA     90012818238
3B673846891356   CHRISTENSEN   MAXINE                      KS     90007638468
3B674258891893   VERONICA      DELEON                      OK     21082302588
3B674313241285   JOAN          MCGIVERN                    PA     90013483132
3B674346877539   ANDRES        HENRIQUEZ                   NV     43079803468
3B674378791356   ANGELA        VERDICT                     KS     90008953787
3B674483451339   ANDREW        AUGSPURGER                  OH     90010784834
3B674689476B89   ANGELICA      ELIZALDA                    CA     46071806894
3B674973431424   EDGAR         MATA                        MO     27533059734
3B674A3197B639   QUEEN         ALEXANDER                   GA     90009340319
3B67534825B592   CHAVEZ        VANESSA                     NM     90004423482
3B67556285B281   MICHAEL       GAGEL                       KY     90014955628
3B675A99A41258   KEN           WEBBER                      PA     90013710990
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3B676386161963   DENISE       RIVERA                       CA     46014943861
3B67673555B281   ADIANEZ      SOLER                        KY     90013847355
3B676773A61963   JEFF         BUFFKIN                      CA     90013797730
3B676A2685B156   LACHER       BAKER                        AR     90005420268
3B67726364B943   TANISHA      WRIGHT                       TX     90003862636
3B67743115B393   ZACHARY      HOOPER                       OR     90008404311
3B67755A531632   DONNA        GILLESPIE                    KS     90006265505
3B677A4815B156   KINA         MALONE                       AR     90010890481
3B677A9A155949   FERNANDO     GOMEZ                        CA     49073400901
3B678452593768   MARY         HILL                         OH     90007264525
3B678643555972   NICOLASA     MENDEZ                       CA     90015076435
3B67864A477539   EDUARDO      MELENDEZ                     NV     90005366404
3B678738585681   JUAN         MENDEZ                       NJ     90001887385
3B678744477544   HILDA        MIRELES                      NV     90011727444
3B67889835B52B   BEATRIZ      VALENCIA-RIANO               NM     90015038983
3B679212961963   JOEY         RODRIGUEZ                    CA     90004192129
3B679647A5B393   OLYVIA       BATSON                       OR     90012276470
3B679695777544   ROSALBA      CUADRA                       NV     90013846957
3B679941431424   JASMIN       COLLIN                       MO     90015519414
3B67B198272B76   ROBERT       HUGHES                       CO     33029321982
3B67B24624B943   JAVIN        WALKER                       TX     90008962462
3B67B32187B639   DEMETRIA     CURRY                        GA     15084343218
3B67B452572496   JACKNUEL     SANTOS                       PA     90013694525
3B67BA57984368   BEATRIZ      LAGUNAS                      SC     90008040579
3B68118142B93B   BRANDI       COSTA                        CA     90011661814
3B68169662B93B   GRACIE       SALAZAR                      CA     90013136966
3B681744861963   RONI         MAROOKI                      CA     46088787448
3B68178919713B   WILLIAM      KRAMER                       OR     90013607891
3B68185762B255   KEDDITH      BELL                         DC     90007798576
3B6824A9741258   MATTHEW      PALKA                        PA     90010194097
3B682632177539   JAMES        LYONS                        NV     90013956321
3B682689673221   JOSE         PINEDA                       NJ     90014376896
3B683228351339   WALDSEE      WEBBER                       OH     90010932283
3B683262A5B281   ISRAEL       RIZ                          KY     90014262620
3B683856151339   CHRIS        BAILEY                       OH     90012868561
3B684253A51329   NICOLE       FREEMAN                      OH     90013402530
3B68435AA51339   CARMEN       WATSON-STUCKEY               OH     90013923500
3B68475868B16B   ADRIANA      ANGUIANO                     UT     90013827586
3B68477772B87B   KRISTINE     BANEY                        ID     90014257777
3B685551155951   REYNA        GARCIA                       CA     90008575511
3B685647991893   ANGIE        HOOVER                       OK     21089316479
3B68577267B43B   CHRISTOPHE   PEOPLES                      NC     11057327726
3B685879772496   MICHAEL      HABINA                       PA     90001438797
3B6859A572B28B   STEPHANIE    HENRY                        DC     90010599057
3B685A4152B871   MICAH        GRAY                         ID     42092540415
3B686191951326   LINDA        NSOMBI                       OH     66074991919
3B68685712B835   LEANDREA     TRIPP                        ID     42018398571
3B68686A85B393   ELSA         JUAREZ                       OR     90010658608
3B6868A4791831   JENNIFER     LANNING                      OK     90001288047
3B6868AA29125B   SIMONE       ALKOFER                      GA     90004838002
3B68695922B93B   JESSICA      PULIDO                       CA     45094709592
3B686975984368   MOISES       MORALES                      SC     90012799759
3B687168951339   SHIRLEY      WRIGHT                       OH     90004231689
3B6875A5741285   LESLIE       MARTINEZ                     PA     90015445057
3B687731672B24   NANETTE      MENDOZA                      CO     33008997316
3B68784594B943   CELEST       CLABON                       TX     90003468459
3B687968477539   CARINA       PEREZ                        NV     90015169684
3B6881A3392853   MICKIE       BALDERRAMA                   AZ     90014651033
3B68822124B943   TAMMY        CHILOT                       TX     76574642212
3B688266591356   SANDRA       RIVAS                        KS     90003812665
3B6883AA136B77   RICARDO      ALONSO                       OR     44570023001
3B68847345598B   JESSICA      TORRES                       CA     90009434734
3B688676551369   TYRUS        BEACH                        OH     66066086765
3B68899785B344   BILL         SALLADAY                     OR     44544669978
3B689283977544   BILLY        GORDON                       NV     90001512839
3B689412755951   YESENIA      MARTINEZ                     CA     49010384127
3B68946417B639   ESTHER       HOOD                         GA     90004004641
3B68973A57753B   KRISTI       MEEDER                       NV     43055327305
3B689A49877539   STANLEY      GUTIERREZ-AREVALO            NV     43016620498
3B68B21638B162   MARIA        CRUZ                         UT     90006722163
3B68B323A72B76   JORGE        GONZALEZ                     CO     90001803230
3B68B462841258   LASHAUNA     BROWN                        PA     90014414628
3B68B69955B281   KAREN        MAGUIRE                      KY     68039556995
3B68B6A7455972   ROSIE        FONSECA                      CA     48013846074
3B68B71A37753B   MARIA        COLATO                       NV     43097647103
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3B68B7A934B943   DEMIQUA       SINGLETON                   TX     90014757093
3B69125A851369   DENISE        HUNTER                      OH     90004742508
3B691521151369   KADISHA       MEIDNA                      OH     90014705211
3B69155915598B   TANELY        SANCHEZ                     CA     90002135591
3B69218554B943   JAMIE         LADAY                       TX     90014021855
3B6923A3277544   BRUCE         WALTZ                       NV     90014483032
3B692565561963   MIGUEL        RODRIGUEZ                   CA     90014745655
3B692858A9713B   ANGELA        WITTER                      OR     90013608580
3B69299567B449   RACHEL        CARTER                      NC     11014989956
3B692A19651369   JORDAN        PFLUEGER                    OH     90014160196
3B692A31976B89   LILIANA       BASH                        CA     90000680319
3B693113A51369   AMANDA        JONES                       OH     90013231130
3B69354467753B   DELANA        THOMAS                      NV     90007585446
3B693668333625   ANITA         THORPE                      NC     90007116683
3B69378625B393   SHILOH        HOISINGTON                  OR     44562547862
3B693882691831   LONNIE        HOPE                        OK     90005838826
3B693988372B36   PHILLIP       AKIN                        CO     90009089883
3B694125A51369   DERICK        ALLEN                       OH     90013391250
3B694253255951   GUADALUPE     HERRERA                     CA     90000822532
3B69425A851369   DENISE        HUNTER                      OH     90004742508
3B69436577753B   ROBERT        RICHTER                     NV     90010983657
3B694561755949   VERONICA      RAMIREZ                     CA     90003525617
3B69479A561963   JOHN          JOHNSON                     CA     90011217905
3B695317172455   STEVE         SCOTT                       PA     51022523171
3B69657657753B   ERIBERTO      BARRERA                     NV     43094595765
3B69662365598B   LEILANI       BURTON                      CA     90013706236
3B69685AA5B344   CLAUDIA       SOLANO ESTRADA              OR     90010938500
3B69686989713B   TINA          PILLIAS                     OR     90013608698
3B696A1265598B   LEILAIN       BURTON                      CA     49077220126
3B69728A28B162   JANET         RAMIREZ                     UT     90004772802
3B697568641258   DAWNE         WORKMAN                     PA     90009545686
3B697916A51339   DAVID         SALYER                      OH     66039999160
3B698299391232   LAKISTA       TUKES                       GA     90014452993
3B69832A17B639   PAULA         CHAMBLISS                   GA     15000833201
3B698523A5B344   JENNIFER      RABELLIZSA                  OR     90011325230
3B69874A461984   LELAND        SCHUMACHER                  CA     90005997404
3B698A93991232   LAKISTA       TUKES                       GA     90012190939
3B699281455972   JOSE          ESPARZA                     CA     90010132814
3B6992AA576B89   LAURA         RIOS-GARCIA                 CA     90001122005
3B69933285B52B   MICHAEL       SESSION                     NM     90004283328
3B699483751321   RAY           MARTIN                      OH     90010984837
3B69949812B835   TIMOTHY       PURYEAR                     ID     42029454981
3B699698361963   CHRISTINA     LEMIRE                      CA     90003476983
3B699A69972496   JOAL          BARTHOLOW                   PA     90005720699
3B69B362A2B87B   SAMUEL        ROBISON JR                  ID     42097973620
3B69B444155951   JONATHAN      TORREZ                      CA     49002204441
3B69B46412B871   SABINA        SELIMOVIC                   ID     42012954641
3B69B52A541277   LARRY         HARKINS                     PA     90015155205
3B69B874861963   LINUS         OSUJI                       CA     90007428748
3B69BA12A91356   DEWAYNE       BRAKE                       KS     90013240120
3B6B1269172B47   RAUL          BALTIERRA                   CO     90014912691
3B6B12A475B281   WILLIAM       RADFORD                     KY     90010402047
3B6B12AA941297   ALLISON       L SADLOWSKI                 PA     90005942009
3B6B1324551339   PAMELA        SHORT                       OH     90012843245
3B6B17AA52B87B   WILLIAM       RUESSLL                     ID     90012677005
3B6B187A472B76   ROBERT        MONTGOMERY                  CO     33047968704
3B6B1983331424   CYNTHIA       ZOUMAN                      MO     90008499833
3B6B23AA291356   SANDRA        MARLAR                      KS     90003483002
3B6B24AA172B76   HOLLY         DEBORSTEIN                  CO     33008194001
3B6B2A61941258   SAVIA         HUMPHREYS                   PA     90013940619
3B6B32A1584326   VERNESSA      FRAZIER                     SC     90004442015
3B6B3715276B89   JOANNE        CHRISTMAS                   CA     90012727152
3B6B3881477544   MARIA         HERNANDEZ                   NV     90015018814
3B6B396A755951   KOU           YANG                        CA     90012449607
3B6B3A4298B162   KELLY UNGER   RICHARDS                    UT     90006280429
3B6B428125B393   ANDY          MAES                        OR     90001002812
3B6B454255B281   SHEILA        HARTMAN                     KY     68015665425
3B6B49A2184368   ROLANDO       RICO                        SC     90005209021
3B6B523A151369   ANDREA        JACKSON                     OH     66065252301
3B6B5285655949   MARIA         PASILLAS                    CA     90010342856
3B6B55A2551339   ELLIE         SCHENCK                     OH     90012675025
3B6B567A14B281   JUSTIN        COLE HAVERSON               NE     90014846701
3B6B5881154165   SUE           AUSTIN                      OR     47034108811
3B6B5A8897B639   ALICIA        GLENN                       GA     15033150889
3B6B6276791831   RENEE         JONES                       OK     90008622767
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3B6B647537B639   DARREN             CLIATT                 GA     90013934753
3B6B6593A7753B   NANCY              TEDDER                 NV     90003505930
3B6B6844A47931   CESAR              CORTEZ                 AR     90010328440
3B6B7533177539   BRENDA K           KROTSMER               NV     90011475331
3B6B7547377544   KARLA              CORNEJO                NV     43082745473
3B6B768682B871   CARRRY             AVALOS                 ID     90001506868
3B6B7A8A155972   MANUEL             GOMEZ                  CA     90014250801
3B6B8293154165   GERALD             RODRIGUEZ              OR     90014082931
3B6B835A28B166   KELVIN             STEWARD                UT     31002863502
3B6B8493791356   JEREMY             BLUMBERG               KS     90010934937
3B6B849655B156   TAMMIE             MOZINGO                AR     90014224965
3B6B8497741285   KARWAN             JABARR                 PA     90013254977
3B6B857324B943   JESE               DAVIS                  TX     90013965732
3B6B864825B393   BARBARA            TEATRO                 OR     90014086482
3B6B8898A43551   TIANA              HILTON                 UT     90010378980
3B6B918865B281   MARY               CLIFFORD               KY     90011661886
3B6B942345B555   KENT               MCKNIGHT               NM     90012684234
3B6B9677955972   LINDA              FIELDS                 CA     90013416779
3B6B9779591584   ARACELI            SANDOVAL               TX     75079447795
3B6B98AAA77539   MIGUEL             REYES                  NV     43048808000
3B6B9946A5B393   KRISTIE            KUSCH                  OR     44534099460
3B6B9A4444B281   DEJA               LEVERING               NE     90014070444
3B6B9A6422B93B   DAVID              VILLARIAL              CA     90012680642
3B6BB129755949   RAY                QUAID                  CA     90008141297
3B6BB18718B16B   JOSE               SANCHEZ                UT     31014481871
3B6BB69AA5B156   MICHELLE           MATHIS                 AR     90011046900
3B6BB81672B871   JACKSON            BROWER                 ID     90007508167
3B7112A4341244   DANIEL             MCCULLOUGH             PA     90005482043
3B711362684368   CINDY              GILLING                SC     14514053626
3B71157AA61963   LORENA             LARA                   CA     90014745700
3B71159A141277   ALISHA             WALKER                 PA     90000155901
3B7125A6391356   ELIZABETH          WEAH                   MO     90011615063
3B71291165B156   CANDICE            SMITH                  VA     90012459116
3B71295365598B   BARBARA            VELASQUEZ              CA     90012409536
3B712A2177B449   DAVID              JACKSON                NC     90008740217
3B71326898B16B   CHERISH            CRAWFORD               UT     90011552689
3B7136A887B639   SUK                GURUNG                 GA     90014336088
3B71398134B943   KURISMA            JONES                  TX     90014069813
3B7139A785B393   MYRENE             MWANGIN                OR     90010299078
3B713A2A777539   ELIZETH            CUELLAR                NV     90012520207
3B71418495B393   CARLOS             PONCE SOTO             OR     90014191849
3B714491854165   VANESSA            REED                   OR     90010174918
3B71459772B871   ALICIA             PURDY                  ID     42012575977
3B7146AA457153   WILSON             RAMIREZ                DC     90007296004
3B71473A477539   CAREN              MALDONADO              NV     90013957304
3B714758451369   VICTORIA           LITTLE                 OH     90001437584
3B7148A7755972   BURNEY             QUINTON                CA     90014838077
3B715132272496   DEBBIE             HIXSON                 PA     90013471322
3B71519A58B16B   JOANN              RODRIGUEZ              UT     31009331905
3B71528967B639   KIMBERLY           TYSON                  GA     90002362896
3B716428A51339   KILEY              SHAW                   OH     90014414280
3B7165AA48B162   NICK               LINARTE                UT     90014205004
3B716668972496   CHARLES            STEVEN                 PA     90013226689
3B716778191831   LISA               HAMMANS                OK     21086237781
3B716838255951   TODD               GOODMON                CA     90007438382
3B71689645598B   REBECA             CABRERA                CA     90014858964
3B716A1265598B   WILLIAM DEAWAYNE   SCHILLING              CA     90014880126
3B71711A49155B   KARLA              CERVANTES              TX     90000361104
3B717255A5B156   ROSA               HERNANDEZ              AR     90013242550
3B71762637B639   PATRICIA           RAMIREZ                GA     90015196263
3B71763A391831   DOUG               MOORE                  OK     90009586303
3B717716193768   SONIA              DANCY                  OH     64578867161
3B717763636B77   JESUS              LOPEZ                  OR     90012447636
3B717A3595B393   MATTHEW            COLLINS                OR     90006350359
3B718336541285   DOROTHY            DAVIS                  PA     90010763365
3B71882854124B   DEASIA             DAVIDSON               PA     90009438285
3B718882991584   VERONICA           CORONA                 TX     90009578829
3B718A48441277   RODOLFO            FRAZIER                PA     90014910484
3B719492555949   JOSE JAVIE         MONDRAGON              CA     49005814925
3B71958A761963   SAMARA             AFARAM                 CA     90006095807
3B71973262B87B   AMANDA             HAMMACK                ID     42036487326
3B719A25877539   MONICA             CORDOVA                NV     90014180258
3B719A31A55951   ERIKA              AVALOS                 CA     90009610310
3B71B34A141285   PINA               STRIGHT                PA     90014503401
3B71B49177B471   CAROLINA           NASH                   NC     90007974917
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3B71B4A9541285   DAQUAY       SNOW                         PA     90012854095
3B71B627A54165   LAURA        DOWNEY                       OR     90001296270
3B71B88865B156   DELIA        REED                         AR     23050898886
3B7211A6A77539   BRAULIO      LOPEZ                        NV     90013971060
3B721452572496   CHRIS        NICHOLSON                    PA     90008434525
3B721585772B24   JOSE         IBARRA                       CO     33095135857
3B72161163B154   ERNEST       WILLIAMS                     DC     90004606116
3B721722891967   ANTHONY      BOYD                         NC     90013407228
3B721889284368   LYNN         PERDUE                       SC     90007128892
3B72191588B16B   REBECCA      SINGLER                      UT     31017199158
3B7219A5855972   KEVIN        JACKSON                      CA     90010989058
3B722244461963   JOHN         WELCH                        CA     90010472444
3B723486355972   GRACIELA     RENTERIA                     CA     90011154863
3B723581741455   KENNETH      ROBINSON                     WI     90012985817
3B72381932B835   BIANCA       ARREDONDO                    ID     90013088193
3B7238A2876B89   MOEIANTELE   FIATALATIA                   CA     90006968028
3B72395352B87B   ROBERTO      RODRIGUEZ GUZMAN             ID     90001239535
3B72414635B281   TONY         HUGHES                       KY     68002981463
3B724561961963   YADIRA       MARTINEZ                     CA     90000935619
3B724563672496   DOROTHY      PREMUS                       PA     51001045636
3B724598755922   EVER         KELLY                        CA     90014815987
3B72476212B87B   TRISTIN      WOLFE                        ID     90015547621
3B724A1A88B162   MILLER       TIFFANY                      UT     90008700108
3B72521722B87B   ANDREA       LUDLOW                       ID     42072602172
3B7252A298B16B   LISA         HART                         UT     90010162029
3B725728791963   GLORIA       MARTINEZ                     NC     90008907287
3B725876872496   JOHN         GRIMM                        PA     90012008768
3B725A7277B639   MONTINE      MCCOY                        GA     15083500727
3B726577A91584   MARINA       ORTIZ                        TX     90004415770
3B72669635B156   SHERRELL     LAYTON                       AR     90013166963
3B726862655951   ARACELI      LARA                         CA     49091648626
3B727323651339   NIKO         SCOTT                        OH     90010963236
3B72758A48B162   JACK         JACKSON                      UT     90014205804
3B727773372496   TABITHA      ADER                         PA     90010907733
3B72779498B166   VEDUGA       LEE J                        UT     90009487949
3B728566551339   KRISTEN      MC ARTHUR                    OH     90013825665
3B728827691831   DAVID        STEINBERG                    OK     90009158276
3B728884172B76   FLORES       DARRELL                      CO     33080128841
3B729271A61921   OLGA         DELTORO                      CA     90013572710
3B7294A4872496   DOUGLAS      JAMES                        PA     90014564048
3B729A48A55949   STELLA       SANCHEZ                      CA     90000650480
3B72B779851339   RYAN         LOVELY                       OH     90006937798
3B72B919261963   ALEXANDROS   KAPETANIOS                   CA     46015189192
3B73115794B281   ARMANDO      FLORES                       NE     90013301579
3B73131874B943   SHALONDA     SIMMONS                      TX     90015413187
3B73145956B198   ROGER        PACE                         MS     90010884595
3B731462784368   SOFIA        HERNANDEZ                    SC     90007734627
3B731836777544   GILDARDO     TRUJILLO                     NV     90014098367
3B731856855936   MARTHA       VAZQUEZ                      CA     49077868568
3B731859384368   RYAN         MALEY                        SC     90008688593
3B732124A77539   MARIA        GARCIA                       NV     90013971240
3B73254A82B93B   SPENCER      SMITH                        CA     90008195408
3B7326A3631424   GAINELL      ROBINSON                     MO     90014956036
3B732911577584   JOSE         PONCE-CONTRERAS              NV     43016019115
3B732A15876B89   THOMAS       WEBER                        CA     90012850158
3B732A48791883   MARISOL      CRUZ ESCOBAR                 OK     90012360487
3B732A88872496   AMY          ROCKHILL                     PA     51004970888
3B73343298B166   JUSTIN       MCMAHON                      UT     90014564329
3B73349475B156   LARONCE      BURKS                        AR     23049384947
3B73355917753B   DAWN         JOHANSEN                     NV     90010385591
3B734175555949   JENNIFER     CARLIN                       CA     90006921755
3B73432947B471   RODRICK      ROBERTSON                    NC     11072553294
3B734471A4124B   RAVINDER     SINGH                        PA     90013084710
3B734661977539   CHRISTINA    BOTELHO                      NV     43092326619
3B73483157753B   SHEILA       EDELEN                       NV     90013978315
3B73484418B16B   FELIX        SOTO                         UT     90001258441
3B734936993761   YONIKA       PEOPLES                      OH     90011659369
3B735184854165   SALLY        DAVIS                        OR     47072511848
3B73519592B835   FERNANDO     MARTINEZ                     ID     90008911959
3B735321A44333   SHAUNICE     CRAMPTON                     DC     90003403210
3B73546955B344   RYAN         DAILEY                       OR     90000964695
3B735741977539   SAMANTHA     BERNARDY                     NV     90011717419
3B736265241285   LAMAR        CLARK                        PA     90013942652
3B736317377367   DIANA        DAVIS                        IL     90013333173
3B7365A7291232   WANDA        HORNE                        GA     90003035072
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3B736934891893   VANDEN         HANSHAW                    OK     21030939348
3B737187A5B156   SHARONICA      BENSON                     AR     90011861870
3B73727385B52B   CHARLES        COUNCE                     NM     90011892738
3B737477341258   LAMONT         COVINGTON                  PA     90012824773
3B73775442B87B   MARY           FULGHUM                    ID     42003957544
3B7377A9131424   GARBRIELLE     RHODES                     MO     27561077091
3B73792742B93B   JAMES          HATTEN                     CA     90015199274
3B7382A3841295   VICKI          BRANSFEILD                 PA     90003192038
3B738348854165   JACK           JENNINGS                   OR     90014083488
3B73844755B52B   SILVIA         SIERRA                     NM     90014884475
3B738631351369   AMY            NASCIMENTO                 OH     66032326313
3B7386A4441285   MICHELLE       MESSINA                    PA     51046226044
3B738A1678B16B   AMANDA ELIZA   BUNN                       UT     90009680167
3B739226255951   RAYMOND        SONORA                     CA     90012892262
3B73934335B52B   JAIME          DURAN                      NM     90015453433
3B739624851369   LUIS           CRUZ                       OH     66039476248
3B739691655972   VANESSA        LOPEZ                      CA     90013696916
3B73B21A85B545   ALEC           MCNEILL                    NM     90006852108
3B73B33995B52B   MICHELLE       THOMPSON                   NM     90004443399
3B73B729561972   TEIL           ASTORGA                    CA     90011997295
3B73B94472B28B   SARETA         DAVIS                      DC     90009279447
3B73B991972496   KAREN          MILLER                     PA     90013839919
3B74128A155949   FRANCINE       GUERRERA                   CA     90014772801
3B74135334124B   EBONY          DAVENPORT                  PA     51016513533
3B74144468B166   KELLYN         BORST                      UT     31061734446
3B741935355951   SHIDAY         JORDAN                     CA     90011079353
3B741971A7B639   KIMBERLY       WOODS                      GA     90012549710
3B742116491831   MICHAEL        CLARK                      OK     90007621164
3B742575955949   ANGELICA       RIVERA                     CA     90010785759
3B742A1288B162   SERGIO         FERRON                     UT     90014780128
3B742A28647931   JASMINTA       LAIJO                      AR     90010710286
3B742A7A75B281   MIRIAM         SOTO                       KY     90008920707
3B74312515B344   JORGE          SOLARES                    OR     44533071251
3B743411777544   WALTER         JACKSON                    NV     90014834117
3B743495A4B281   CANDICE        PETERS                     NE     90012514950
3B743656254165   MICHELLE       FIELDS                     OR     90014196562
3B744343977539   HAYLEY         MACGRAW                    NV     90014743439
3B7444A185B393   THERESA        HOLLOWAY                   OR     90009224018
3B744543951369   TRECIA         ORTIZ                      OH     66003825439
3B744687741277   BERNARD        JOHNSON                    PA     90013176877
3B744786791232   JOSEPH         BEAUDOIN                   GA     14541957867
3B74483727B43B   CHARLENE       DOWNCEREAUX                NC     11003248372
3B744858A4B281   MARIBEL        TRUJILLO-GUECHE            NE     27078068580
3B744958172496   SELENA         SIMON                      PA     51005399581
3B745178A7B639   TERRY          BURKE                      GA     90012141780
3B745518791831   LUPE           BLANCO                     OK     21095205187
3B745667A3B154   CHERYL         CATER                      DC     90001316670
3B74594847B471   LE ANDERA      WILSON                     NC     90011199484
3B746395951339   ANDREW         KING                       OH     90012653959
3B74643347B639   MILTON         PINEDA                     GA     90010774334
3B7468A837B639   GORDON         DAVENPORT                  AL     90013938083
3B746A49991831   JEFFREY        WAKEFIELD                  OK     90015100499
3B74765997B639   ELIU           CRUZ                       GA     90014046599
3B747668791232   LAQUAN         POLITE                     GA     90013516687
3B7479A4977544   RAFAEL         BELTRAN                    NV     90004679049
3B74835A561963   KATHERINE      TORRANCE                   CA     90004193505
3B74837562B87B   DENNIS         ROURKE                     ID     90009333756
3B74884624B281   NEHEMIAH       SMITH                      NE     90015138462
3B74976565134B   JEFFREY        MOLDENHAUER                OH     66074517656
3B749892891356   ANGELICA       MARTINEZ                   KS     90015218928
3B74B133877539   ROSEMARY       TIJERINA                   NV     90013971338
3B74B38318B162   JULIE          MORGAN                     UT     90015093831
3B74B47682B87B   AHMED          SAAD                       ID     90012584768
3B74B831791831   ELIZABETH      DOTSON                     OK     90015598317
3B74B929255972   KRISTIE        MCCALL                     CA     90005699292
3B751592291543   MAYCA          JIMENEZ                    TX     90010015922
3B75186A157153   DOMINIQUE      SMITH                      VA     90007308601
3B752341441258   BRIAN          DAVIS                      PA     90013403414
3B752568555951   ANGELA         CHAVEZ                     CA     90014775685
3B75263182B93B   CARLOS         BORBON                     CA     90010306318
3B7526A395B344   KAYLA          MATTHEWS                   OR     90007686039
3B752886591584   DAVID          CARRILLO                   TX     90003848865
3B753315655972   JAIME          RODRIGUEZ                  CA     48029963156
3B753427751339   CHRISTIANA     RIEMANN                    OH     90011944277
3B7535A382B87B   CHRISTOPHE     FLEISCHMAN                 ID     90010765038
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3B7535AA647931   ANGELA       AYALA                        AR     25014505006
3B75368565B156   TAMMIE       HARRIS                       AR     90008556856
3B75371585B344   JOSEPH       MILAN                        OR     90013227158
3B75388248B16B   SHELLY       TOVEY                        UT     31085518824
3B754857255972   ANGELITA     LOPEZ                        CA     48023218572
3B755354131424   NESHA        JONES                        MO     90013933541
3B755498431424   NESHA        JONES                        MO     90014554984
3B7557A7691831   DUAN         SMITH                        OK     90005377076
3B755817A55949   SHIRLEY      HOGANS                       CA     49075538170
3B75615354B281   MITCH        CARTER                       IA     27004711535
3B756211A5B344   AMY          STOTLER                      OR     90014902110
3B75657A52B835   CLIFTON      BAYLEY                       ID     90015275705
3B75679A75B393   MIGUEL       BLAS MENDEZ                  OR     90003217907
3B756874892853   UNIQUE       COMENO                       AZ     90015428748
3B75694215B344   JOSE         PRIETO                       OR     90014049421
3B756A9958B16B   CARLOS       ZAMORA                       UT     31001370995
3B757141847931   RANDY        ROGERS                       AR     25049251418
3B757198A5B52B   ANGELITA     RAMOS                        NM     90001031980
3B7572A255B281   SHAY         POWELL                       KY     90014712025
3B75732A35B281   LEESHA       MOHL                         KY     90012863203
3B75741642B28B   MANUEL       GONZALEZ                     DC     90006804164
3B757496972496   MELISSA      WINFREY                      PA     90004034969
3B757947991356   FLOR         MONTERO                      KS     90002599479
3B758289A71937   SHERYL       MCGEARY                      CO     90012222890
3B758295A91356   GABRIELA     MERA                         KS     90014842950
3B75849214B943   FELIPE       ESTRADA                      TX     90014114921
3B758789A61963   VIBIANA      SERVIN                       CA     90012767890
3B758821872496   BRYAN        GUTHRIE                      PA     90012788218
3B75891452B93B   DANIELLE     NICHELSON                    CA     90001329145
3B758958354165   LILLIAN      PEREZ                        OR     47064279583
3B758968255951   ROSA         HERNANDEZ                    CA     90012259682
3B758982351339   KIM          BURKS                        OH     90008429823
3B758A3745B38B   SAMANTHA     KRAGERUD                     OR     90013970374
3B75916164B943   CARLTON      JAMES                        TX     90014161616
3B7591A7441258   SHADE        PITTS                        PA     90015061074
3B759293A2B87B   PAYGO        IVR ACTIVATION               ID     90014812930
3B7595A527B639   LAKESHIA     HARRIS                       GA     90015175052
3B7597AA25B281   EDNA         POTTER                       KY     90013827002
3B759A87841285   DANIEL       BELL                         PA     90012460878
3B75B313255951   ANJELA       MARTINEZ                     CA     90009333132
3B75B727251339   MICHAEL      HALE                         OH     90006157272
3B75B9A1276B89   KELVIN       EKEKEUGBOR                   CA     90013729012
3B75BA2292B871   BRENNA       ZERR                         ID     90013350229
3B76128825B52B   JOSEPH       RIVERA                       NM     90011892882
3B7618A495B281   ARIEL        MARSHALL                     KY     90010918049
3B76191657B449   SUSAN        EVANS                        NC     90008359165
3B761A1687B471   YVONNIE      MITCHELL                     NC     90010150168
3B761A38851369   GLIDA        CASTILLO                     OH     90013710388
3B762189771943   SHAW         MATTHEW                      CO     90013931897
3B7623A555B344   KATHRYN      SMITH                        OR     44542653055
3B76246485B393   KENNETH      COOMBS                       OR     90010954648
3B762559176B89   JIM          PETERS                       CA     90011525591
3B76265145B344   KATHRYN      SMITH                        OR     90011156514
3B763948677539   JACLYN       COOK                         NV     43079009486
3B764244597B57   ANDY         PAPINI                       CO     90009662445
3B76437455B393   SULAIMAN     ZAINEL                       OR     44552423745
3B76456A154165   JUAN         RODRIGUEZ                    OR     90013015601
3B76462518B166   KEVIN G      OWEN                         UT     31050946251
3B76586A27B639   ANTHONY      MCMILLIAN                    GA     90001018602
3B766194176B89   VERONICA     PEREZ                        CA     90000201941
3B766541255972   NATHAN       SABALA                       CA     48012915412
3B766571555951   KAO          MOUA                         CA     90014775715
3B766731A7753B   DAISY        GONZALEZ                     NV     43028517310
3B76673585B393   DANIEL       SIMPSON                      OR     90015017358
3B766988451369   BENJAMIN     SHEPHERD                     OH     90014229884
3B76698877B639   WAYNE        MICHAUX                      GA     15074409887
3B767636A5B393   JANIE        HASEOWANDER                  OR     90013546360
3B76768358B162   BENNY        ALLEN                        UT     90013526835
3B76787168B16B   MARJORIE     REARDON                      UT     90014838716
3B767955876B89   CARLOS       CORONA                       CA     90003499558
3B767A35161972   PABLO        CORTEZ                       CA     90004470351
3B768133877539   ROSEMARY     TIJERINA                     NV     90013971338
3B76814282B835   ADRIAN       BRITT                        ID     90002241428
3B768232191584   VERONICA     HINOJOS                      TX     75064652321
3B768472251339   STEVEN       SCHWIER                      OH     66039414722
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3B76891354B943   JOSE         MARTINEZ                     TX     90012719135
3B7692A584124B   DONALD       COX                          PA     51037882058
3B76931814B943   SUNIEL       INSUA                        TX     90014163181
3B769558672496   LANSCE       KESSLER                      PA     51085155586
3B769577591356   JEFFREY      CUNNINGHAM                   KS     90013865775
3B76977245B556   AUBRY        CHISSOLM                     NM     90011867724
3B76977332B835   ANGELA       SEYMOUR                      ID     90014717733
3B769A25476B89   SONIA        SEVILLA                      CA     90010410254
3B769A66472B76   ANTEINETTE   ATENCIO                      CO     33095140664
3B76B12637B471   JEANNIE      DAVILA                       NC     90010661263
3B76B67494B943   GEORGE       MONTALVO                     TX     90012836749
3B76B713176B89   ELSA         MALDONADO                    CA     46078137131
3B76B77555B52B   JOSEPH       BACA                         NM     90009117755
3B771135172B76   ARACELI      GONZALEZ                     CO     33064401351
3B772425A55972   CECILLIA     SHEARER                      CA     48023234250
3B77258922B28B   TYISHA       BELTON                       DC     90007085892
3B772641891831   EDEN         ANDRADES                     OK     90009586418
3B772693691831   HENRY        FIGIOA                       OK     90012936936
3B77288524B281   KRISTA       ROBISON                      NE     27039348852
3B773246A51369   CYNTHIA      PATTON                       OH     90011622460
3B77328A15B281   ALTA         WALLACE                      KY     68004842801
3B7733A982B835   CALVIN       FRATES                       ID     90014343098
3B77349672B87B   MICHELLE     SIMMONS                      ID     42023974967
3B77383892B93B   ELODIA       AVALOS                       CA     90010358389
3B773839377539   JULIANNA     MEDINA                       NV     43002388393
3B774266976B89   SCOTT        PETERS                       CA     90007942669
3B7751A647B639   DEBRA        MCLESTER                     GA     90012641064
3B77554447753B   RAFAEL       GONZALEZ                     NV     43044945444
3B775782191893   ELENA        K ECHEVERRIA                 OK     21073797821
3B77638982B93B   SUSAN        LOPEZ                        CA     90010073898
3B7763A8541261   STEVEN       PIES                         PA     51083273085
3B77652242B871   MICHAEL      YOUNG                        ID     90012695224
3B77652694B281   TRICIA       BARBER                       NE     27010215269
3B77653645B393   JOHNNA       FRAVEZZI                     OR     44508555364
3B77685512B871   GREISY       COTA                         ID     90011168551
3B776968255951   ROSA         HERNANDEZ                    CA     90012259682
3B776A42691356   GABRIELA     BASURTO                      KS     29002780426
3B777321131424   JANAY        PARKS                        MO     90011953211
3B777517784368   DENNIS       RAMIREZ                      SC     90011345177
3B777787731424   GINGER       TRAVIS                       MO     90013967877
3B77784A57B471   TENIKA       SIMPSON                      NC     11052528405
3B777A32447931   JASON        PETERSON                     AR     25077820324
3B777A34641285   ROMIE        YATES JR                     PA     51097460346
3B777A78624B89   TYJUAN       GOULD                        DC     90000880786
3B77828127B43B   MUHAMMAD     ROXSANNA                     NC     11025862812
3B77881752B871   LYLE         NOE                          ID     90004208175
3B778876751339   THOMAS       SANTOS                       OH     90013468767
3B778968A2B87B   JOURDAN      SALINAS                      ID     90010229680
3B779446461963   MICHELLE     EAVES                        CA     90013424464
3B779718855972   JAMES        RESENDEZ                     CA     90012157188
3B77B248741277   JUSTINE      BELL                         PA     90012722487
3B77B73434B943   SHERRY       ESTES                        TX     76503097343
3B77B79185598B   ANGEL        ZAPATA                       CA     49051547918
3B77B948391831   AARON        WILLIAMS                     OK     90008539483
3B77B98892B835   KENNETH      BLAKE                        ID     90002839889
3B78126417B471   MATTHEW      BEATY                        NC     11019692641
3B781528A4124B   DANIELE      JONES                        PA     90014915280
3B78154189713B   KALA         REED                         OR     90013615418
3B78162A941277   TAMUELA      HAYES                        PA     51053136209
3B781984755949   BEE          VUE                          CA     90004939847
3B781AA9291584   GLORIA       PALACIOS                     TX     75045230092
3B78211A92B28B   NICOLE       MATTHEWS                     DC     90007161109
3B782249751339   PAULINE      ELDRIDGE                     OH     90014812497
3B782557855972   APRIL        LUSK                         CA     48098485578
3B78273A591232   OTONIEL      DELCID                       GA     14572007305
3B78287644B281   MARIA        MEDINA                       IA     90012758764
3B782973741277   JOAN         BURRELL                      PA     51057989737
3B782A33576B89   ERIKA        RAMOS                        CA     90012740335
3B783146855951   JULIA        DUDLEY                       CA     90011841468
3B7833A3191831   WILBERT      WYNES                        OK     90014923031
3B783472251339   STEVEN       SCHWIER                      OH     66039414722
3B78369782B87B   ANGELA       MIDDLETON                    ID     90015566978
3B783788151369   RICKS        CVETANKA                     OH     66061277881
3B78395AA4B943   TANIA        TORRES                       TX     90015509500
3B78423A141277   DONNA        MORRIS                       PA     90013542301
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3B78445122B871   EASTON        CORBIDGE                    ID     42060874512
3B784618A41277   SHERBI        DAVIS                       PA     90002466180
3B784634291963   BRADY         PRICE                       NC     90006046342
3B784864251339   JENNIFER      OSCAR                       OH     90012518642
3B785149672B38   ALMA          BERUMEN                     CO     90007321496
3B785686131424   VIOLET        HARDY                       MO     90004996861
3B786411755951   DAVID         HERRERA                     CA     90013194117
3B78679422B961   ERIK          ROMO                        CA     90013137942
3B787231351369   SHANDA        MODESTIN                    OH     90011382313
3B787254A5B344   MONICE        HOLLAND                     OR     44528572540
3B787444A55951   CHRIS         POWELL                      CA     90010184440
3B787968477539   CARINA        PEREZ                       NV     90015169684
3B7879A472B835   SHANE         LATHAM                      ID     90012959047
3B788222761963   DEREK         KNAPP                       CA     90012872227
3B78822327753B   TOMAS         ESCOBAR                     NV     90011942232
3B788744172496   JESSICA       PRINKEY                     PA     90003047441
3B788922541258   RAVEN         JONES                       PA     90006479225
3B7896A8751339   TRACY         PHILLIPS                    OH     66076606087
3B789769277539   KYLE          WILKINSON                   NV     90014667692
3B789812291356   KRISTINA      ECKARD                      KS     29098478122
3B78993834124B   HEATHER       WOOD                        PA     90007629383
3B78997A861963   JESSE         TAYLOR                      CA     90014169708
3B789A2442B87B   TINA          HARRIS                      ID     42010610244
3B789A41751369   NANCY         DAVIS                       OH     90013550417
3B78B11779125B   DOROTHY       LEE                         GA     90002651177
3B78B19667B639   TATIANA       STONE                       GA     90010881966
3B78B21A95B546   ROSA          COVINGTON                   NM     90001712109
3B78B227284368   RUPERTO       JILES                       SC     14587402272
3B78B552A41285   AARON         WEBB                        PA     90015205520
3B78B869872B33   SOILA         LOPEZ                       CO     90007398698
3B79123A561963   JOSHUA        POORE                       CA     46015652305
3B79143975B555   ELVIA         OCHOA-RAMIREZ               NM     90011134397
3B791A5297B639   JASMINE       LEE                         GA     90013350529
3B792596A41277   CURTIS        CHEBEN                      PA     90010285960
3B79271134B943   BLANCA        RAMIREZ                     TX     90011207113
3B79275317B33B   MIMI          HAILU                       VA     81033347531
3B792919977539   VALENTINA     SANCHEZ                     NV     90014169199
3B79352235B156   SHIRLYNN      CLEMONS                     AR     23025325223
3B79368417B639   JOJO          SAMPSON                     GA     90013936841
3B79369437B639   JOJO          SAMPSON                     GA     90014296943
3B7936AA69713B   CODY          DAMEN                       OR     90013616006
3B79434895B24B   PATRICE       MIDDLEBROOKS                KY     90002013489
3B79452A55B281   SHELIA        SCHILDKNECHT                KY     90008615205
3B794536155949   MARIANNE      FAIR                        CA     49000445361
3B7945AA38B162   JUAN          URIBE-GONZALEZ              UT     31013495003
3B794968477539   CARINA        PEREZ                       NV     90015169684
3B794A8292B871   FRANCISCA     HERRERA                     ID     42092900829
3B79512A84B943   AQUILLA       CIBRIAN                     TX     90014181208
3B795497361963   MIRIAM        PINEDA                      CA     90013084973
3B795652176B89   JACK          MCKRAO                      CA     90010496521
3B795654876B89   AUBREY        HARRIS                      CA     90013176548
3B79632689713B   GRACIELA      MARTINEZ                    OR     90009123268
3B79696274124B   TONI          CORINEALDI                  PA     90013939627
3B796977651339   DENNIS        WORKMAN                     OH     90013739776
3B796A7644B943   ASAEL         RAMIRO                      TX     90001040764
3B79712A84B943   AQUILLA       CIBRIAN                     TX     90014181208
3B797AA582B835   CRYSTAL       POWERS                      ID     42079960058
3B79855525598B   JOE           MELENDEZ                    CA     90002045552
3B7985AAA5B281   CYNTHIA       FROMM                       KY     68090915000
3B79896924B943   ARACELI       ESTUPINAN                   TX     90015179692
3B799281641285   SOLOMON       JOHNSON                     PA     90013942816
3B79947A155972   JOE           TREVIZO                     CA     48012824701
3B79952988B16B   KEVIN         DUNLAP                      UT     90013395298
3B79977724B281   JOHN          PLOG                        NE     27034137772
3B79995682B28B   CRAIG         ANDERSON                    VA     90006809568
3B79B127355972   ALYSSA        LEDESMA                     CA     90013421273
3B79B431384368   CESAR         ROJAS                       SC     90009914313
3B79B489477522   RAUL          CABRERA                     NV     90009504894
3B79B67255598B   STEPHANIE     RODRIGUEZ                   CA     49091746725
3B79B89975598B   MARIA         KING                        CA     90005188997
3B7B1344455951   ROSEMARIE     MARTINEZ                    CA     49047753444
3B7B137374124B   LONNIE        RUSSELL                     PA     90008983737
3B7B19A2141258   JEAN CARLOS   REYES                       PA     90014109021
3B7B21A385B393   ROBERT        OGDEN                       OR     90012751038
3B7B2554677539   DEANNA        SAUNDERS                    NV     90013425546
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3B7B264612B93B   BILL            KELLEY                    CA     90007766461
3B7B28A278B16B   LUIS JR         SANTOS                    UT     31010698027
3B7B291519713B   AMANDA          KISER                     OR     90013609151
3B7B31AA42B28B   KERRY           LEWIS                     DC     90006801004
3B7B325165B281   KEN             EVANS                     KY     90002732516
3B7B3759141285   DARNELL         CROSBY                    PA     90011657591
3B7B393145B52B   ROBERT          ZAMORA                    NM     90010319314
3B7B4121576B89   TROY            GRIFFIS                   CA     46013601215
3B7B436A155949   ADRIANA         GONZALEZ                  CA     49087523601
3B7B4572347931   JOANN           DEARING                   AR     25095495723
3B7B4646172B76   MIKELL          DURAN                     CO     90010216461
3B7B466315B156   SHARON          JOHNSON                   AR     23042636631
3B7B4679972B76   MIKELL          DURAN                     CO     90013776799
3B7B4A9579713B   FELICIA         ROBINSON                  OR     90010170957
3B7B51A485B344   MARCO ALBERTO   JACINTO SANTIAGO          OR     90012371048
3B7B5297891232   CRYSTAL         ROBERTS                   GA     14587832978
3B7B533667B471   ANNA            BUESO                     NC     90012633366
3B7B5412176B89   DANNY           ORTEGA                    CA     90010664121
3B7B5888891356   NINA            ANGELO                    KS     29091608888
3B7B5961155972   JESUS J         RODRIGUEZ                 CA     90012899611
3B7B6232A51339   LINDSEY         JENKINS                   OH     90013552320
3B7B6322A2B835   TAKIA           POORE                     ID     90013933220
3B7B639925B393   GUADALUPE       FARIAS                    OR     90014613992
3B7B654A68B16B   NATALIA         HERNANDEZ                 UT     90013535406
3B7B668744B943   JULIA           JONES                     TX     90014026874
3B7B6A57A5B344   JUAN            ALVAREZ VALADEZ           OR     44577090570
3B7B6A96A84347   TONISHA         JONES                     SC     90013270960
3B7B743324B281   MARGARETE       LETSON                    NE     27007204332
3B7B749542B87B   JAMES           ASHCRAFT                  ID     42001164954
3B7B76AA85B281   ASHLEY          WILSON                    KY     90013946008
3B7B784987B639   DJUNA           HUFF                      GA     90009468498
3B7B7A46254165   CHRISTIE        BROWER                    OR     47053080462
3B7B842185B281   LAVERNE         PIKE                      KY     90015094218
3B7B8664455972   JERI            CLEMENT                   CA     90009286644
3B7B866995B359   INESSA          CROWN                     OR     90012166699
3B7B8773872B24   BLAS            MORENO                    CO     33091497738
3B7B881884B943   NATASHA         MCCRAY                    TX     90000348188
3B7B8959541285   ERIC            BELIN                     PA     90015079595
3B7B897124124B   ERIK            KUMANCHIK                 PA     90003549712
3B7B8AA8955951   JESUS           ARMENTA                   CA     90010040089
3B7B9214351321   CRISTINA        ASBURY                    OH     90008992143
3B7B9269355951   GER             VANG                      CA     90013532693
3B7B9A48154165   KATHERINE       CRAWFORD                  OR     47003220481
3B7B9A57255949   ERENDIRA        HERRERA                   CA     49053690572
3B7BB322641285   RANELL          JACKSON                   PA     90012643226
3B7BB35117B471   ANTONIO         ROBERSON                  NC     90015083511
3B7BB46282B87B   DAVE            MORRISON                  ID     42039884628
3B811285A41285   LAUREN          RUPERT                    PA     90013942850
3B8121A794B989   SHEKEITHA       LEWIS                     TX     90005841079
3B81258418B166   NICHOLAS        JONES                     UT     31025305841
3B81259965B583   OFELIA          RASCON-BARRAZA            NM     90002265996
3B812999876B89   CIRO            BARTOLO                   CA     90014839998
3B813497977539   BONITA          MULLINS                   NV     90000884979
3B813638A2B28B   CLEVELAND       PADGETT                   DC     90012736380
3B813696261963   MARIA           MEDINA                    CA     90013656962
3B814318955949   MIRWAIS         RAHMANI                   CA     90010613189
3B814374631424   CRAIG           HENDERSON                 MO     90013933746
3B81487168B16B   MARJORIE        REARDON                   UT     90014838716
3B81494512B835   KRISTINA        ALLEN                     ID     42089959451
3B814A31472496   JOSEPH          ROBERTSON                 PA     90015590314
3B814AA542B93B   SHISIEDO        LANNI                     CA     90005900054
3B81522994B281   JESSICA         PETERSON                  NE     27013402299
3B815347791584   JESUS           MONSIVAIS                 NM     75061823477
3B81597258B162   KEVAN           JAKEMAN                   UT     31046609725
3B816356877539   TIMOTHY         WILDER                    NV     90013023568
3B816793184368   ALEX            SANCHEZ                   SC     90015117931
3B8172A545B344   VICTOR          GUTIERREZ                 OR     90014202054
3B81736644B943   TONGELA         NORMAN                    TX     90014203664
3B817373391356   CARL            POULSON                   KS     90011463733
3B817467861963   GARRETT         BOWEN                     CA     90009084678
3B817776777539   RACHEL          TAMS                      NV     90012467767
3B817A61691356   BEATRIZ         RIVERA                    KS     90015470616
3B81822155B52B   FERNANDO        CARRILLO                  NM     35097782215
3B818653891232   KODI            SKILLINGS                 GA     90000456538
3B8188A398B162   TYLER           CAZIER                    UT     90012058039
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3B818914591584   CHIANTE      JACKSONS                     TX     90009579145
3B81918718144B   CHRISTINE    DAVIS                        PA     90014581871
3B81931315B344   KELLY        BURSON                       OR     90014133131
3B819378855972   CARLOS       CASTRO                       CA     90011093788
3B81939A241277   GERALD       VAN                          PA     90002663902
3B819817A5B281   GABRIELLA    GIRGGS                       KY     68069518170
3B819835155949   DIANE        HOLLINS                      CA     49081088351
3B8198A335B156   MARK         WHITT                        AR     90013658033
3B8199A5751339   RONALD       CHURCH                       OH     90012099057
3B81B173651369   CHRIS        HARMON                       OH     90015221736
3B81B28994B281   ALFONSO      MONTOYA                      NE     90012182899
3B81B655141285   AMBER        NOCK                         PA     90012906551
3B81B982661963   HARRY        GOODMAN                      CA     90014169826
3B821235991356   MERLIN       NAJERA                       KS     90012092359
3B82142267753B   CHARLES      LARSEN                       NV     43044154226
3B82191534B943   MIRIAM       ACEVEDO                      TX     76507079153
3B821937155949   MERCEDES     REYES                        CA     90010269371
3B821A6658B162   MARITZA      MORENO                       UT     90007950665
3B82222348B166   FERNANDO     GONZALEZ                     UT     90000702234
3B82227137B639   NAKEBA       RUTHERFORD                   AL     90014872713
3B822673A9713B   BERTRAM      STEVENS                      OR     90013626730
3B822A63A41258   DARLENE      MELLOTT                      PA     51087080630
3B823547377544   KARLA        CORNEJO                      NV     43082745473
3B82363245B393   BRIANNA      TAYLOR                       OR     90013576324
3B8238A639379B   STACY        WOODS                        OH     90011798063
3B824249572B24   RONALD       PERKINS                      CO     90005722495
3B824564591356   MARIA        DOLORES                      KS     29080825645
3B82459542B871   JESSICA      MARTINEZ                     ID     90015355954
3B8245A842B28B   HAZEL        GREEN                        DC     90001395084
3B824669241285   KAREN        VOS                          PA     90000576692
3B82468AA55949   SONIA        SUSTAITA                     CA     90014826800
3B82515212B87B   TIFFANY      JONES                        ID     90002411521
3B826989377539   DANIEL       GOOD                         NV     43079009893
3B826A1A954165   MICHAEL      PETERSEN                     OR     90014860109
3B8272A2491356   MARVIN       THOMAS                       KS     29010872024
3B82757642B28B   TASHIA       HARRIS                       DC     90011765764
3B827656951339   AMBER        DAVIDSON                     OH     90012936569
3B827927A5B344   ANA LUCIA    ZUNIGA MARIN                 OR     90000609270
3B827A52A72B76   LEOPOLDO     ZUNIGA                       CO     33047290520
3B827AA3A77544   MARK         VIVIANI                      NV     90009800030
3B8281AA85B52B   JUDE         GARCIA                       NM     90013111008
3B82827218144B   JAIMIE       STEPP                        PA     90015422721
3B8283A867B639   STEVEN       THOMAS                       GA     90014823086
3B8284A267B449   MIKE         SMITH                        NC     90010514026
3B82859965B393   MARYELL      MARTINEZ                     OR     90013065996
3B8288A5255949   ROSA         CATANO                       CA     90007838052
3B828A3A55598B   VERONICA     LOPEZ                        CA     90002540305
3B828AA425B281   CASSANDRE    CLIFFORD                     KY     90003560042
3B82938917753B   CESAR        CASTILLO                     NV     90011333891
3B8293A5591831   KATIE        MORENO                       OK     90015023055
3B829678361963   DALE         JACOBS                       CA     90009466783
3B829715272496   JOHN         MARKS                        PA     90014827152
3B82B216472496   DAVID        WILSON                       PA     90014372164
3B82B361141258   TIMOTHY      ARNOLD                       PA     90014873611
3B82B96953B359   MARIBEL      AGUILAR                      CO     33062879695
3B82BA8932B28B   GLENN        WILLIAMS                     DC     81006970893
3B831132272496   KEVIN        OROS                         PA     90014091322
3B83134577B43B   TIFFANY      DENICE CAPLE                 NC     11056813457
3B831668A51369   DEEANN       HALL                         OH     90014986680
3B831753355949   DONNA        AYALA                        CA     49094687533
3B831873772496   DONNA        KRULL                        PA     90013288737
3B83273767B639   VIRGINIA     AVERETT                      GA     90013387376
3B833197855949   DIANA        SALAZAR                      CA     90000301978
3B83321249713B   ROSA         GUERRA                       OR     90013622124
3B83331428B162   SHAUNA       SAU                          UT     31065293142
3B833748376B89   RODRIGO      LOPEZ                        CA     90007417483
3B833A2418B16B   FELIPE       MONTES DE OCA                UT     31018130241
3B833A41677544   PAYGO        IVR ACTIVATION               NV     90013010416
3B83421249713B   ROSA         GUERRA                       OR     90013622124
3B834558172496   MINA         DONATO                       PA     51021405581
3B834723A8B14B   BETSY        BOLDT                        UT     90006997230
3B834A95331424   GWENDOLYN    NEAL                         MO     27561040953
3B83514175598B   HAN          SWIGGS                       CA     90013381417
3B83517A631424   TRINITY      MATHIAS                      MO     90013141706
3B83518A872496   MELISSA      DULEY                        PA     90014151808
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3B83533742B871   JOE              NEAL                     ID     42009043374
3B835361A2B835   DESIREE          DAVIS                    ID     90015353610
3B83591285B156   LAFARRAH         STRICKLIN                AR     90011149128
3B835A68641258   KERVIN           MADRID                   PA     90014140686
3B836316951339   DANNY            BANKS                    OH     90004763169
3B836481854165   JEFFERY          BANKER                   OR     90000204818
3B8367A117B427   ANGELENE         PERRY                    NC     11007817011
3B83744545B281   ANASTACIO        RUIZ                     KY     90014874454
3B83758614124B   GINA             LLOYD                    PA     51000265861
3B8376A177B471   CYNTHIA          MARTIN                   NC     90006496017
3B83771AA61925   IVAN             AGUILAR                  CA     90013117100
3B8378A342B93B   SHANNON          MC CLANAHAN              CA     90012518034
3B837AAA55598B   OLGA             TORRES                   CA     90012780005
3B8382A3977539   MIRANDA          BIRDSONG                 NV     90011492039
3B8386A815B344   AMANDA           QUIJANO ARENAS           OR     90014486081
3B8387A9A72496   SEAN             SHERIDAN                 PA     51091837090
3B839349993761   CHARLES          WALLACE                  OH     64513793499
3B839688A7B639   R                WOODS                    GA     90013936880
3B83974175B52B   UPSHAW           RANAELR                  NM     90008027417
3B839822191831   DONNIXON         ELEAM                    OK     90010798221
3B83988A78B16B   KENNETH          SWING                    UT     90003398807
3B839A42191831   DONNIXON         ELEAM                    OK     90012490421
3B83B443355951   DANIEL           BARNETTE                 CA     90001504433
3B83B999877539   STEPHANIE        ZARAGOZA-MARTINEZ        NV     90014169998
3B83BA68884368   NISHANT          PARMAR                   SC     90013980688
3B8412A8491232   HOLLIE           ROSE                     GA     14572052084
3B841428A5B344   ALILORE          KOVAC                    OR     90014604280
3B84155A155972   MARISELA         HARO                     CA     90011905501
3B84184732B93B   JAHAZIEL         GARCIA                   CA     45069838473
3B84192852B87B   WENDY            BLACKMER                 ID     90013999285
3B841991255949   CLARISSA         VIVAN                    CA     90003029912
3B8419A557B471   JOSEPH           JESSON                   NC     90014739055
3B84285298B162   CHANTEL          MASTIN                   UT     90012248529
3B84292475598B   BRIANNA          ORNELAS                  CA     90013799247
3B84294A52B87B   HILAIRE          PRINCE                   ID     90013129405
3B842A21A2B242   RICARDO          RODRIGUEZ                DC     90006520210
3B843347455949   PORSHA           SCOTT                    CA     90014563474
3B84353112B835   JERONIMO         OLVERA                   ID     42089415311
3B84389974124B   JENNIFER         BIRD                     PA     51081138997
3B8438A8A4B943   ADAN             LOPEZ                    TX     90014218080
3B84413315132B   SHERRI           BARBASH                  OH     90008341331
3B844647A91831   GILMER           LOPEZ                    OK     90012136470
3B844668876B89   PABLO            MEJIA                    CA     90000686688
3B8446A815B344   AMANDA           QUIJANO ARENAS           OR     90014486081
3B844796A55949   CARL             DREW                     CA     90002027960
3B844868491584   ALVARO           VEGA                     TX     90004378684
3B8449A167753B   MARIA ANGELICA   VARELA                   NV     90012879016
3B845165972B76   JONELLE          CASAREZ                  CO     33081441659
3B8454A8591584   OSCAR            HERNANDEZ                TX     90008574085
3B8456A6841285   JACOB            JENKINS                  PA     51063176068
3B845712172496   DEANNA           SHOWMAN                  PA     51072347121
3B84573592B835   GWENDOLYN        KENNEDY                  ID     90015267359
3B845774877539   DEVIN            PEARCH                   NV     43014667748
3B84669A48B14B   YOSHIKO          SMITH                    UT     90009166904
3B847344984368   MARIDOL          LAGUNAS                  SC     90010523449
3B84746195B52B   SAMANTHA         HAUN                     NM     35009874619
3B84752737B471   CARLOS           MARTINEZ                 NC     90013695273
3B84795192B835   ADDINGTON        DAVID                    ID     90010169519
3B848243A55951   DESIRE           MAGANA                   CA     90012042430
3B848253351339   KATHY            SPICER                   OH     66078692533
3B8482A148B16B   ANGELLA          HARDMAN                  UT     90010182014
3B8483A662B87B   DOUGLAS          STUART                   ID     90014933066
3B848695131424   TOMICKA          JOHNSON                  MO     27558536951
3B849285877539   DEVIN            FOSTER                   NV     90014542858
3B84934619713B   FRED             GOLDEN                   OR     90013623461
3B84938445B344   SUZI             ABERA                    OR     90012903844
3B849552951369   LINDSEY          LAINHART                 OH     90014625529
3B849864954165   ALLISON          WEYAND                   OR     90014518649
3B84B114791356   ERICA            TORRE                    KS     90011961147
3B84B154255951   MARIO            OSORNIO                  CA     90010111542
3B84B18572B93B   JEROME           BROOKS                   CA     90015171857
3B84B25528B162   JUSTIN           PETERSON                 UT     31003572552
3B84B3A4577539   LILIANA          AYALA                    NV     90015163045
3B84B546551369   MARTHA           TIRADO                   OH     90012965465
3B84B671A31424   IESHA            MITCHELL                 MO     27540476710
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3B851335A4B943   MISAEL           FLORES                   TX     90010873350
3B85141358B162   MARIA            RIVERA                   UT     90012374135
3B85144284124B   CHARLES          HOGAN                    PA     90015084428
3B851913163B3B   ZACHARY          ROMITO                   IL     90012939131
3B851935161963   HAITHAM          QASSRI                   CA     90013299351
3B851A19577539   LEONARDO         ALCANTARA                NV     90014170195
3B85279555B156   STELLA           MERRIWEATHER             AR     90014417955
3B85286954124B   TOMLIN           VALENTINE                PA     90013938695
3B853198455951   LUIS             CARRANZA                 CA     90011221984
3B85338A15B281   MS               MORRIS                   KY     90009733801
3B85352A876B89   HILLARIO GORGE   GUTIERREZ JR             CA     90012865208
3B853A26661963   ROSE             HERNANDEZ                CA     90013100266
3B85423A37B449   KIEL             MCKOY                    NC     11015602303
3B854368A41285   ROSS             NEARY                    PA     90014653680
3B85444A372496   ROXANN           FRONIUS                  PA     90014814403
3B85445324B943   GARY             STELLY                   TX     90009464532
3B85466982B28B   TAZ              DYSON                    DC     90011766698
3B854754784368   CELAURO          RAMIREZ                  SC     14596657547
3B854839254165   KINDI            PASCHALL                 OR     90012608392
3B8548A337B639   KIMBERLY         HAWK                     GA     90005208033
3B855123155949   CHANDRA          WARREN                   CA     90005511231
3B855278455972   JOSIAH           WALKER                   CA     90015212784
3B85533A14B943   JOSEPH           LAVERGNE                 TX     90011323301
3B85561A75598B   JOE              FLORES                   CA     49025336107
3B856246884326   PAULET           DOBINE                   SC     90007402468
3B856474384368   CARMEN           WASHINGTON               SC     90007734743
3B85678424B281   MIKE             JOHNSON                  NE     90012367842
3B856817141285   SAMANTHA         MITCHUM                  PA     51068558171
3B85683254B943   MARGARITA        IBARRA                   TX     90005508325
3B856922841277   LEIGH            HASLEY                   PA     90013959228
3B85722A672496   ROBERT           HONSE                    PA     90010622206
3B85733A85598B   DRUVEIL          WAKER                    CA     49086343308
3B857429391831   JAVIER           TREJO                    OK     90014274293
3B8578A6855949   JUDY             LUCAS                    CA     90009878068
3B858361891831   REA              BAKER                    OK     90012883618
3B85841A52B871   AGUSTIN          ORTIZ                    ID     42075634105
3B858435661963   SHON             STRONG                   CA     90010404356
3B858915A54165   ALLISON          CLANTON                  OR     90014829150
3B858982661925   MELISSA          CERVAR                   CA     46077659826
3B85958A591831   JENNIFER         HINES                    OK     90015215805
3B859997751354   ADRIAN           WALKER                   OH     90012389977
3B859A16191356   MARIA            CANELA                   KS     90013690161
3B85B24442B93B   LUIS             HOLGUIN                  CA     90000102444
3B85BA6197753B   JOHN             CORCORAN                 NV     90013580619
3B86114AA41277   JOE              MARTELL                  PA     51085411400
3B861842776B89   JUAN CARLOS      RAYO                     CA     90013078427
3B861985755949   FEDERICO         ALVAREZ                  CA     90000179857
3B86217847753B   TONY             DAVIDSON                 NV     43006601784
3B862688A7B639   R                WOODS                    GA     90013936880
3B86293A92B93B   REZA             LEKESTANI                CA     90015119309
3B862A37577539   MARIA            GONZALEZ                 NV     90014170375
3B863253576B89   CYNTHIA          PETERSEN                 CA     46087972535
3B863813154165   KIMBERLY         HAZLETON                 OR     47046318131
3B8638A875598B   ESMERALDA        CHAVEZ                   CA     49017548087
3B8641A239713B   CHAU             NGUYEN                   OR     90008951023
3B86429672B93B   BRENDA           RIOS                     CA     90011712967
3B86443828B166   STEPHEN          BRINK                    UT     90007574382
3B86471575B344   JANET            GREGORY                  OR     90003347157
3B864912A55949   TINA             HUE                      CA     90012209120
3B86545875B281   EDDIE            PEDRO                    KY     68083224587
3B86546AA77544   CHELSEA          PAREDES                  NV     90015014600
3B86595395B389   NICKOLAS         SAYLOR                   OR     90011379539
3B865973A3B38B   LEWIS            GASS                     CO     90006469730
3B86653334B943   KLYOE            SMITH                    TX     90015515333
3B8665A8847931   CLAUDY           LOKEIJAK                 AR     90009975088
3B866641991356   SCOTT            SAMPLE                   KS     90011786419
3B86683512B28B   HERNAN           UMANA-PINEDA             VA     81016398351
3B86687168B16B   MARJORIE         REARDON                  UT     90014838716
3B867398751339   ADRIANA          RAMIREZ                  OH     90014763987
3B86755A441285   RONNISHA         MASON                    PA     90012855504
3B86762A55B52B   TAMIKA           WAUFORD                  NM     90012126205
3B8679A4A5B393   KARLITA          TAYLOR                   OR     90011379040
3B86825915598B   ARLENE           GONZALES                 CA     49079972591
3B868364391893   IRIS             OROZCO                   OK     21072023643
3B86865132B871   DALE             DAVIS                    ID     90012056513
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3B86872555B344   MARTIN       LOPEZ                        OR     44567027255
3B868A17661963   TARA         GUZZETTA                     CA     90011060176
3B869412677539   RAUL         ABARCA                       NV     90006084126
3B869568876B89   KACEY        ROBERTS                      CA     90013695688
3B86B279A55972   LORI         WALTON                       CA     90007662790
3B86B363231424   ARDELL       COOPER                       MO     90009463632
3B86B74812B871   THOMAS       BROWN                        ID     90011067481
3B871347351369   TAMMY        SMITH                        OH     66032053473
3B8718A9577539   RICHARD      LEE                          NV     43024958095
3B8724AA391831   DIEGO        RAMIREZ                      OK     90014824003
3B872772431424   MYA          DAVIS                        MO     90014237724
3B873391876B89   MARCOS       PEREZ RIVERA                 CA     90006333918
3B873539851339   NATHALIE     LORIMER                      OH     66051405398
3B87392328B162   NATE         GODFREY                      UT     31062929232
3B873A97277539   JUAN         RIVAS                        NV     90014170972
3B8741A2541258   BENJIMAN     GENTILE                      PA     90013941025
3B874355951339   GEORGE       WALKER                       OH     90015083559
3B87443257753B   JESUS        MORENO                       NV     90012504325
3B874447377544   GODINEZ      JAVIER                       NV     90000144473
3B874565977539   JON          BRADFUTE                     NV     43050255659
3B874669A41285   SHAWN        BAKAJ                        PA     51083246690
3B874769955936   TINA         SHARP                        CA     90005887699
3B87481337753B   ENRIQUETA    ALVAREZ                      NV     90012218133
3B874866155972   GARY         HURRAY                       CA     90012118661
3B874A2418B16B   FELIPE       MONTES DE OCA                UT     31018130241
3B87545A776B89   NEYDA B      POSADAS                      CA     46083384507
3B87594484B281   ANTHONY      PERALES                      IA     90010039448
3B875A95155951   CRISTINA     GARZON                       CA     49077150951
3B87631135B156   CASEY        WALKER                       AR     23092873113
3B876348897126   JESSICA      MARTINEZ                     OR     90008073488
3B87663562B835   SARAH        VAY                          ID     42078456356
3B876758141277   DAVID        BICE                         PA     90012767581
3B87697225B393   ENRRI        GONZALEZ                     OR     90010299722
3B877345741258   BRETT        KENNEDY                      PA     90013673457
3B877414747931   BEVERLY      COURSEY                      AR     25024494147
3B87745315B281   AJAMU        ALI                          KY     90009994531
3B87765655B393   HEATHER      ENGSTROM                     OR     90011546565
3B87767447753B   TERRICITA    UNDERWOOD                    NV     90014836744
3B87767448B166   ALEXANDER    MILLER                       UT     31002546744
3B87824775B281   ERICA        COOLEY                       KY     90013692477
3B87824892B871   TRINA        DALE                         ID     90009632489
3B87857717B639   REGINA       CLAY                         GA     90015355771
3B8787A6576B89   ALLEN        GRAF                         CA     90014707065
3B878A5427B639   OLIVER       CARRILLO                     GA     90011890542
3B87919A977544   JOSE         FERRER                       NV     90006161909
3B879227291831   DEVANTE      LOVE                         OK     90007622272
3B87958714124B   TROY         STEVENS                      PA     51094875871
3B879818254165   IAN          MCKINNON                     OR     47090518182
3B87996178B162   KERI         BROWN                        UT     31069959617
3B879A2888B16B   BRITTANY     GALLEGOS                     UT     90009080288
3B87B19A35B156   TIFFANY      SIMPSON                      AR     90013151903
3B87B214A55972   JAIME        SOTO                         CA     48062032140
3B87B28A12B871   JORGE        VITALES                      ID     90005792801
3B87B2A777B639   SADE         WHITEHEAD                    GA     90014172077
3B87B69536194B   PHILLIP      HAYES                        CA     90009186953
3B87B86954124B   TOMLIN       VALENTINE                    PA     90013938695
3B87BA6225598B   KATRINA      OCHOA                        CA     90008560622
3B881612891538   SUSIE        MENDOZA                      TX     90006086128
3B881852655972   ZAIRA        CEJA                         CA     48073458526
3B881932172455   ANGELA       MIKLAVIC                     PA     51073789321
3B88197237B639   OSWALDO      VASQUEZ                      GA     90011189723
3B88214587753B   SALVADOR     ANGUIANO                     NV     43041321458
3B88243A47B449   CARMEN       RAGIN                        NC     11057934304
3B882886177544   BRANDON      FEDINIC                      NV     90014518861
3B88291338B166   TANYA        STENSLAND                    UT     90008059133
3B882A2197B397   GLOBAL       FOOD                         VA     81019220219
3B883A34677544   MARIA        ZAMBRANO-VEGA                NV     90015020346
3B883A8918B166   LATANYA      STEPHENS                     UT     90012120891
3B884269991584   NOEL         JIMENEZ                      TX     90010992699
3B88437138B162   JASLEE       HORE                         UT     90007263713
3B884413A5B281   KATHRYN      SMITH                        KY     90014864130
3B88442A87B639   PRISCILLA    MORGAN                       GA     90003694208
3B88458187753B   CAROLE       FLYNN                        NV     43013745818
3B88464592B871   MARIA        GODOY                        ID     42090106459
3B88466628B16B   RYAN         VEGA                         UT     90013836662
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3B884775391544   MARIA         VASQUEZ                     TX     90009447753
3B884921A61963   JAMES         DAVENPORT                   CA     46012879210
3B88517958B16B   BRIAN         HANSEN                      UT     90008931795
3B88568582B87B   ADEN ADDI     ALI                         ID     90015116858
3B88614255B393   RONALD        SEARS                       OR     44524021425
3B88618694B943   MINDY         WALTERS                     TX     90010941869
3B88675A355951   DANIEL        SANDOVAL                    CA     49002167503
3B886A1375598B   JOSEFINA      ZAPATA                      CA     49098850137
3B88719434124B   OLIVE         NAMYONGO                    PA     90015321943
3B887383131424   MARCO         BATTA                       MO     90002983831
3B887648355951   CAROLINA      ZAVALA                      CA     90014776483
3B88799532B835   STEVEN        MOCABY                      ID     90015289953
3B887A88655949   MANOLO        ZUNIGA                      CA     49081090886
3B888132272496   KEVIN         OROS                        PA     90014091322
3B88838A97B471   KHRISTINA     WALDROUP                    NC     90008043809
3B88861285B52B   CHANIN        KELLY                       NM     35095536128
3B88861535598B   BENJAMIN      MUNOZ                       CA     49095256153
3B88863928B16B   DANIEL        PETSCHE                     UT     90011856392
3B88888524B281   KRISTA        ROBISON                     NE     27039348852
3B888888161963   NERGIZ        ALI                         CA     90014748881
3B88922754B943   HULICES       NUNEZ                       TX     90010782275
3B88975A777544   CAURIE        KYLE                        NV     90010427507
3B88B162255951   CHRIS         ESCOBEDO                    CA     49029771622
3B88B439841285   JULIAN        VAUGHAN                     PA     90014174398
3B88B446931424   GORDON        WEBER                       MO     90008374469
3B88B87565598B   LESLIE        DANIELSEN                   CA     90002998756
3B88B979551369   DANIELLE      JACKSON                     OH     66037109795
3B88BA42A5B281   KEVIN         LUSH                        KY     68051330420
3B8915A4141277   BRADLEY       BERGAMASCO                  PA     51087405041
3B891648355951   CAROLINA      ZAVALA                      CA     90014776483
3B891872155949   TRUE          XIONG                       CA     90004638721
3B891888161963   NERGIZ        ALI                         CA     90014748881
3B89286A455972   MARISA        BAKER                       CA     90015258604
3B892974251339   NATHAN        FARQUER                     OH     90006329742
3B89315764124B   ALYSSA        FINKBEINER                  PA     90003761576
3B893216472496   DAVID         WILSON                      PA     90014372164
3B89338AA54165   TYLER         NOLAN                       OR     90014923800
3B89355A855951   BEATRIZ       CERVANTES                   CA     90001905508
3B89424A455972   JIMMY         SLATE                       CA     90012712404
3B89427574B281   LUISA         VALBUERA                    NE     27098722757
3B89497747B471   UNKNOWN       KENA BREWER                 NC     11010129774
3B894A5322B87B   MARY          REAMS                       ID     90000400532
3B894A58A2B871   CHRISTINA     VANZANDT                    ID     42073360580
3B895196831639   CARLOS        ARAIZA                      KS     90013491968
3B895757254165   JUSTIN        BAYLESS                     OR     90012357572
3B895A1A17753B   CHRISTOPHER   URQUILLA                    NV     90015070101
3B896163477539   AARON         KOLLER                      NV     90006471634
3B8961A3A55972   ALMA          SANCHEZ                     CA     90010741030
3B896648355951   CAROLINA      ZAVALA                      CA     90014776483
3B89669515B344   CRISTOBAL     GARCIA                      OR     90010276951
3B89673168B166   CARL          TUKE                        UT     31023987316
3B89714785B536   LISA          ORTEGA                      NM     90010191478
3B89723734B943   ANDREW        HOOSIER                     TX     90009912373
3B897493676B89   JANE          AUSAGE                      CA     90010374936
3B897846651369   VINCE         SANFORD                     OH     66011018466
3B89858A42B93B   CATHERINE     VILLA                       CA     90015135804
3B89869174B943   URIEL         BERMUDEZ                    TX     90014276917
3B899727191831   JANET         ONEAL                       OK     90009737271
3B8997A245B393   BECKY         HUNTER                      OR     90014177024
3B89B454947931   RICHARD       JEFFRIES                    AR     25013034549
3B89B637641258   WILLIAM       LLOYD                       PA     90014446376
3B89B641991356   SCOTT         SAMPLE                      KS     90011786419
3B89B89888B166   DEBBIE        DRAPER                      UT     31081118988
3B8B114187B639   DELORES       DUNLAP                      GA     90012661418
3B8B119334B943   MARTIN        RIVERA                      TX     90014181933
3B8B158935B592   PHYLLISHIA    SANCHEZ                     NM     90008735893
3B8B1613461963   TANIA         MEJIA                       CA     90004336134
3B8B1731A7753B   DAISY         GONZALEZ                    NV     43028517310
3B8B1863A55951   ROZENDO       TELLO                       CA     49015598630
3B8B191A331424   JOYCE         ALFRED                      MO     90014469103
3B8B1A96A54165   MERIDITH      LESLIE                      OR     90006520960
3B8B211848B16B   CARILYN       BUNPAI                      UT     31065551184
3B8B2125A51369   DERICK        ALLEN                       OH     90013391250
3B8B213875B393   AMELIA        CHAVEZ                      OR     90006541387
3B8B2672255949   ALEJANDRO     GARCIA                      CA     49033996722
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3B8B276465B52B   GABINA              GARCIA                NM     35063747646
3B8B292785598B   CORINA              HERRERA               CA     90014849278
3B8B293A17B449   SHAWANA             FRANCIS               NC     11010209301
3B8B2A1A531424   TAISHA              GALARZA               MO     90012580105
3B8B3146591584   PORFIRIO            RODRIGUEZ-RUCOBO      TX     75035551465
3B8B3233255972   LEAH                MARTINEZ              CA     90011232332
3B8B3563655951   VAZQUEZ-            PATRICIO              CA     90001665636
3B8B358A291356   DEREK               WATTS                 KS     90013525802
3B8B395634B281   TIKA                GURUNG                NE     90012099563
3B8B3A88377522   TIMOTHY             DOSS                  NV     90014440883
3B8B3A93641285   ASHLEY              WEDD                  PA     90014450936
3B8B4186172B93   TEENA               PHILLIPS              CO     90012771861
3B8B4232872496   FELICIA             SMITLEY               PA     90014852328
3B8B427347B639   CANTRELL            HOLT                  GA     90010982734
3B8B444617753B   EDWARD              SMITH                 NV     43084204461
3B8B451565B156   MELANIE             SEMISTON              AR     90005005156
3B8B453697B432   MYRA                JOHNSON               NC     90005245369
3B8B4676941277   ANDRA               MAMMARELLI            PA     90012676769
3B8B46A428B16B   CHRIS               SPARROW               UT     90004426042
3B8B4789A61963   VIBIANA             SERVIN                CA     90012767890
3B8B47A6577544   CORNELIUS           LONG                  NV     90013707065
3B8B4A4648B162   TOMI                ORTEGA                UT     90006720464
3B8B532A44B943   KHAMYREE            ALPOUGH               TX     90014183204
3B8B53A4291356   ISIDRA              MARTINEZ              KS     90014823042
3B8B5868A76B89   JULIAN              VENEGAS               CA     90004748680
3B8B5917672B24   SALVADOR            RAMOS                 CO     33033839176
3B8B5A55361963   AMANDA              ERCHUL                CA     90008280553
3B8B6212376B89   ANGELICA VICTORIA   JUAREZ                CA     90013062123
3B8B6393255972   JUNIOR              ALVARADO              CA     90007703932
3B8B6531231424   SAM                 BOWMAN                MO     90004635312
3B8B6618677539   MOHONNED            JOHNSON               NV     90009746186
3B8B666752B835   CHRISTINE           MARTINEZ              ID     42057566675
3B8B669335B393   BETSY               MARIN                 OR     90005096933
3B8B685494B281   DANZELLER           ECHITINAW             NE     27018908549
3B8B6912191831   TASHA               WILLIAMS              OK     90002989121
3B8B6A42684368   GUSTAVO             DIAZ ROJAS            SC     90008290426
3B8B7312351339   JOSHUA              BURNS                 OH     90007843123
3B8B738484B943   JARVIS              BENTON 1ST            TX     76586883848
3B8B7571441258   TIMOTHY             MILCIC                PA     90009455714
3B8B75A542B835   GUSTAVO             ESQUIVEL              ID     90001765054
3B8B7765891356   MARIA               HERNANDEZ             MO     90009537658
3B8B799434124B   GUY                 JOHNSON               PA     90013119943
3B8B8128561925   YULIED              MORALES               CA     90008681285
3B8B8164A2B93B   RUDY                VARELA                CA     90001781640
3B8B838484B943   JARVIS              BENTON 1ST            TX     76586883848
3B8B8569376B89   MONICA              VASQUEZ               CA     90013815693
3B8B878685B393   SALVADOR            GARCIA                OR     90012907868
3B8B925885B281   LEANDREA            LEE                   KY     90013902588
3B8B9293577539   CORY                PEER                  NV     90006252935
3B8B9331A51369   LIDIA               HERNANDEZ             OH     90011623310
3B8B93A2291356   LISA                WILKINSON             KS     90002513022
3B8B944A341285   CHRISTINE           SAYNE                 PA     90005004403
3B8B957484B943   JESSICA             JOHNSON               TX     90011215748
3B8B9861455951   MIGUEL              VIDALES               CA     49001228614
3B8BB19334B943   MARTIN              RIVERA                TX     90014181933
3B8BB347351339   DANNIE              THOMSPON              OH     90014943473
3B8BB373861963   MARINA              CASTRO                CA     90004193738
3B8BBA6A741258   JHERIA              BLACK                 PA     90013940607
3B8BBA7395B393   LETICIA             SANCHEZ               OR     44585570739
3B91135415B344   ALICE               CALDWELL              OR     44597793541
3B91181A17753B   MITCHELL            BERGSTROM             NV     90013328101
3B91192AA55972   JOHNNY              MARTINEZ              CA     48084769200
3B911A12372496   SUSAN               PRITTS                PA     90011130123
3B912619148B59   DEQUANA             MURPHY                NM     37079656191
3B912824691543   MARIO               MALDONADO             TX     90012928246
3B912871555949   JORGE               MORA                  CA     49013968715
3B91322517753B   HEATHER             ELLIS                 NV     90007382251
3B913426177539   NAYELY              SANCHEZ               NV     90002574261
3B91346734B989   TIFFANY             BOOKER                TX     90000924673
3B91373767B639   VIRGINIA            AVERETT               GA     90013387376
3B913837151339   STEVE               COLDIRON              OH     90012768371
3B91448A325655   AAPRI               BELLARD               AL     90014794803
3B9145A725B393   LAURA               BAUTISTA              OR     44546955072
3B91463127B471   REINALDO            BRUCA                 NC     90013036312
3B9146A774124B   ANGEL               BENZ                  PA     51021926077
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3B914888161963   NERGIZ       ALI                          CA     90014748881
3B9154A247B449   DWAYNE       ELMORE                       NC     90003844024
3B915678955972   JUSTINA      ALDANA                       CA     90007306789
3B91582617B639   MIKELL       LATOSHA                      GA     90008538261
3B915983A55949   FERNANDO     LUNA                         CA     90013789830
3B915A1844124B   MARCEE       MOSLEY                       PA     51084870184
3B915A68776B89   ANGEL        GARCIA                       CA     90004870687
3B916111855972   MARIA        GUADALUPE                    CA     90014251118
3B916338977539   ANA          MARTINEZ                     NV     90014183389
3B916378776B89   MICHAEL      MORALES                      CA     90012333787
3B91648999375B   JENNIFER     HAMMAN                       OH     90011044899
3B91662AA71656   WARREN       ADAMS                        NY     90015286200
3B91668934B281   JOSEPH       PEREZ                        NE     90013806893
3B916839872496   HIPOLITO     TOJIL SANCHEZ                PA     90011488398
3B916888161963   NERGIZ       ALI                          CA     90014748881
3B916A44A31424   TIFFANY      CAMPBELL                     MO     90001510440
3B916A59284368   SAYDI        ROBLERO MORALES              SC     90005470592
3B917373391831   JETT         VUE                          OK     90014363733
3B91781277B639   TAWANA       MCKELVEY                     GA     90013938127
3B917A2815B52B   PATRICIA     MARTINEZ                     NM     90013370281
3B91839A785824   CYNTHIA      HENRY                        CA     46010323907
3B918688131424   FREDRICK     ADAMS                        MO     90006766881
3B91893418B16B   TROY         HANSEN                       UT     90014139341
3B919444551339   JUDY         GIRZZLE                      OH     90015104445
3B919589155949   MIGUEL       RAMIREZ                      CA     90008895891
3B919624755951   MICHEAL      MCG                          CA     90009176247
3B91994A277544   JOHN         GIBBONS                      NV     90010769402
3B919972884368   KARSHA       LADSON                       SC     90010579728
3B91999625598B   THIAGO       NOVIS                        CA     90013249962
3B91B55375B393   ABRA         POLEDNA                      OR     90013675537
3B91BA5388B166   PHILLIP      WEST                         UT     90001670538
3B92118AA77544   TODD         SMITH                        NV     43029211800
3B92152498B162   WILLIS       LORAINE                      UT     31000865249
3B921542A2B87B   GATURUTURU   SHAKONDO                     ID     90000425420
3B92234947B471   BELTON       OATES                        NC     90012633494
3B92242545598B   JERRI        LEVY                         CA     90003774254
3B9225A4491831   BRITANY      HEDGES                       OK     90006705044
3B922697555972   SAMANTHA     BOCANEGRA                    CA     90015006975
3B922A18841277   LINDA        WENDY                        PA     90015060188
3B922A8875B344   LORENA       SANCHEZ                      OR     44579970887
3B92313745B344   JOSHUA       HUNTER                       OR     44524911374
3B92321A45B344   MONICA       BODLE                        OR     90013562104
3B92323942B835   KENNY        STENGER                      ID     90008502394
3B9234AA991831   CHRIS        SANCHEZ                      OK     90015104009
3B92381277B639   TAWANA       MCKELVEY                     GA     90013938127
3B924127655972   PEDRO        MACEDO                       CA     48046731276
3B92432575B281   TIMOTHY      JONES                        KY     90012643257
3B9244A327B471   MICHAEL      NEAL                         NC     90014224032
3B9246A398B16B   TRAVIS       MENDOZA                      UT     90008206039
3B924859577544   RICHARD      DUVALL                       NV     90013888595
3B924885855951   GAABRIEL     MORALEZ                      CA     90012668858
3B92517765598B   ISABEL       HERNANDEZ                    CA     90001171776
3B925181A5B344   DAVID        CAGLE                        OR     90005121810
3B92521665B156   ALBERTINA    MARTINEZ                     AR     23026822166
3B925411777544   WALTER       JACKSON                      NV     90014834117
3B92553445B52B   JOSEPH       MATNEY                       NM     35051695344
3B92588135B393   HEIDI        LEE                          OR     90015108813
3B925893761963   PENNY        POWERS                       CA     90014748937
3B926342255949   BRANDON      COATS                        CA     90007413422
3B926364977544   CAROLYN      DECKER                       NV     43074933649
3B926A3118B162   DAVID        RAY                          UT     31030060311
3B92712757B471   CORENITA     JONES                        NC     90010021275
3B92761A431424   LISA         GALBREATH                    MO     27586336104
3B92793AA41285   ALICIA       GRIFFIN                      PA     90014909300
3B92794525598B   JEANINE      ZIMMERMAN                    CA     49008519452
3B9281A8641285   LORETTA      MENOSKY                      PA     90014451086
3B928313677539   JUAN         BARRAZA PANIAGUA             NV     90000803136
3B92857418B166   CHRYSTAL     STOCK                        UT     90010215741
3B92885242B93B   KELLI        AMES                         CA     45068468524
3B929223461963   JORGE        TELLO                        CA     90011542234
3B92924685598B   JACQUELINE   TAPIA                        CA     49005462468
3B929378981681   MARION       MULLIKIN                     MO     29014183789
3B92985A52B87B   MARIO        MORA                         ID     90010798505
3B92B398191356   YADIRA       REYES                        KS     90011853981
3B92B417831424   LAZO         ORQUIDEA                     MO     90013934178
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3B92B49A931424   KEVIN        KIRKPATRICK                  MO     90011674909
3B92B514A84368   DARLEXI      AGUILAR                      SC     90012275140
3B92B524755949   TERRI        HAWKINS                      CA     90006485247
3B92B764591831   HELEN        ESPINOSA                     OK     21069217645
3B93129267B639   DENISE       KIRKLAND                     GA     90014382926
3B931796531424   JEWELENE     JEFFERSON                    MO     90014507965
3B931834741258   AURELIA      FRATINI                      PA     90014238347
3B93192854124B   ROSE ANN     TIERNO                       PA     51004069285
3B93233A25B156   GREGORY      LONG                         AR     90013553302
3B932399547931   KRISTINA     SIMS                         AR     90007803995
3B9323A754B559   CODY         THOMAS                       OK     90009993075
3B93242937B639   MELANIE      DENSON                       GA     15046394293
3B932835755951   AREO         BERMEJO                      CA     90014778357
3B93312445598B   FRANCISCO    MENDOZA                      CA     90006161244
3B93347A191554   NORMA        MORENO                       TX     90001234701
3B934336472B76   GEOVANY      JIMENEZ                      CO     90005033364
3B934518955951   ROSA         FLORES                       CA     90001035189
3B934851591584   MARTIN       ROSALES                      TX     90010508515
3B93485A52B87B   ROBIN        SALINAS                      ID     90009978505
3B93516565B281   ROSA         FRENANDEZ                    KY     90004501656
3B93624392B871   TYLER        CONN                         ID     42059102439
3B936966177539   STANLEY      MOUSER                       NV     43058569661
3B936966872496   EVETTE       WALKER                       PA     90001629668
3B936A18891232   QUADRIAH     HICK                         SC     14500280188
3B936A78855951   DELINAH      MARTINEZ                     CA     90014780788
3B936AA2172B24   FIDEL        VALADEZ                      CO     90008080021
3B937199A92886   FLOR         ROJAS                        AZ     90015491990
3B937234A72496   EVELYN       HARRIS                       PA     90014852340
3B937467784345   AARON        KIRVEN                       SC     90014834677
3B937535676B44   JAMES        TOWNE                        CA     46008055356
3B937697641285   ALYSSA       CUOMO                        PA     51063936976
3B937867151339   MONIQUE      HAWLEY                       OH     90014568671
3B938218144B5B   JERRY        SUTTON                       OH     90013332181
3B938284124B35   DELFINO      CHAVEZ                       DC     90013052841
3B938438231424   VERONICA     WOODSON                      MO     27582674382
3B939294584368   JENNIFER     WASHINGTON                   SC     90000212945
3B939531172B32   LAURA        GOMEZ                        CO     90012735311
3B939549A4B943   HECTOR       LAVOY                        TX     90015415490
3B939A5434124B   PREN         BATTARAI                     PA     90014570543
3B939A71672496   ROBERT       CONEWAY                      PA     90009390716
3B93B24967B43B   OMAR         CASTRO                       NC     11014612496
3B93B7A1755951   JOE          XIONG                        CA     49081577017
3B941183161963   JAMILA       HADI                         CA     90009901831
3B94131832B871   COREY        THOMAS                       ID     90013943183
3B941972341277   MICHELLE     MURRAY                       PA     51095459723
3B941A37897B34   WARREN       SCOTT                        CO     90014210378
3B942215347931   TARA         FARIAS                       AR     25073622153
3B942223461963   JORGE        TELLO                        CA     90011542234
3B94223695B344   BEATRIZ      MANDUJANO                    OR     44561062369
3B943292672B76   MICHAEL      FOX                          CO     33082332926
3B943338572496   AUDREY       SENTZ                        PA     51016853385
3B94344115B393   CYNTHIA      MURRAY                       OR     90001584411
3B943553A7B449   TIMOTHY      POOL                         NC     11076125530
3B94384484B943   MARIA        AYALLA                       TX     90014328448
3B944342976B89   ANGELICA     MILLAN BAHUMAN               CA     90012883429
3B944373672B24   MERCEDES     MORANO                       CO     33033993736
3B944631654165   RAUL         ITEHUA                       OR     90002536316
3B944637A7B449   RASHIDA      CURRY                        NC     90010516370
3B945129331432   LARON        IVY                          MO     90010911293
3B945159391831   ROGER        SURBER                       OK     21004371593
3B9456A532B28B   DONNELL      BROAD                        DC     90010606053
3B94574777B639   LAFAYETTE    BANKS                        GA     90012797477
3B94584484B943   MARIA        AYALLA                       TX     90014328448
3B9461AA172496   JOHN         WILTROUT                     PA     51046241001
3B94669792B87B   YAEL         MORENO                       ID     42042406979
3B94681635B344   NANCI        NAVARRO                      OR     90015338163
3B94687A65B344   TERUSA       BILLY                        OR     44509428706
3B946A43251339   MARANDA      ROMAN                        OH     90012770432
3B94714A872496   ROBERT       STEWART JR                   PA     90014841408
3B94727878B162   ZACHARY      CHATWIN                      UT     90000332787
3B94785917B471   DEANNA       WOODS                        NC     90013748591
3B947955677544   MICHAEL      CHILDS                       NV     90011519556
3B947993954165   MICHELLE     ROHR                         OR     90015269939
3B9487A6271485   ARANCA       FERARITA                     CA     90014007062
3B9491A9355951   KASARA       VELA                         CA     90014781093
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3B9491A975B344   ZOILA             GARCIA                  OR     90013781097
3B94954327753B   ERIC              FRANSLER                NV     90011165432
3B949621A4B943   BRYAN             ESTUPINAN               TX     76573326210
3B949858751339   KASSANDRA         LANDACRE                OH     90011668587
3B949A29286436   ANTHONY           GRADY                   SC     90015100292
3B949A44577539   NOHELIA           CASTELLANOS             NV     43050380445
3B94B19255B156   S                 ERVIN                   AR     23083261925
3B94B5A8261925   H                 SEARLES                 CA     90000475082
3B94B798777539   VICTORIA          CORNEJO-PENA            NV     90014667987
3B94B8A9976B89   DOLORES           DOMINGUEZ               CA     90009608099
3B94BA96955972   ANGELA            LOPEZ                   CA     90015570969
3B95175698B162   BRENDAN           OGORMAN                 UT     90014237569
3B95199615B344   APOLINAR          ALMONTE                 OR     44556359961
3B95217A65B156   LYNDA             FRIERSON                AR     90014331706
3B95248755B38B   DENNIS            OLSON                   OR     44509094875
3B952613A2B87B   BRANDI            FURSTENAU               ID     42063686130
3B952655A7B471   EBONY             HYDEN                   NC     11092486550
3B952979755972   TERESA            WILLIAMS                CA     90013259797
3B952A6955B155   ZETORIA           JOHNSON                 AR     90014500695
3B953724661963   IISHA             GRIFFIS                 CA     90011227246
3B953774251339   MARSHA            COLTER                  OH     66056417742
3B953792936B77   MARTHA            ESCOBEDO                OR     44567077929
3B953847241277   SOLOMAN           BEY-WILLIAMS            PA     90013288472
3B95399237B43B   OLIVIA            GOMEZ                   NC     90007039923
3B954176676B89   CRISTINA          ALVARADO                CA     90013301766
3B9541A864124B   TERESSA           FLAHERTY                PA     51030781086
3B9541A865B156   JOHNDLYNN         DEDMON                  AR     90010891086
3B954494372455   MARY              CLAYTON                 PA     51064844943
3B95458375B393   ADRIANA           HERNANDEZ               OR     90013675837
3B95494665B344   RAYME             LACEY                   OR     90014929466
3B954A5565B536   GEORGE            PEREZ                   NM     90010820556
3B954A6757B471   ROXANNE           DAVIS                   NC     11092040675
3B955166741244   KETURAH           MCCULLOUGH              PA     90001791667
3B95521658B162   LIER              SHERARD                 UT     90010452165
3B95535322B93B   ISAAC             MONTEZ                  CA     90011243532
3B955589972B24   DAVID             POLLACK                 CO     33051675899
3B95582775B344   STEFAN            ROSQVIST                OR     44559458277
3B955A9835B344   DONNA ELIZABETH   POSTEHER                OR     90010710983
3B956591436B77   CECILIA           CAMACHO                 OR     90011565914
3B956598672B76   ALEXIS            BUSTAMANTE              CO     33000685986
3B95667952B93B   SHELLIE           THEODORATOS             CA     90014876795
3B95671182B835   TAMMY             JINCKS                  ID     90001447118
3B95697314B281   ALLYCIN           HIOD                    NE     90015159731
3B95733162B835   HEATHER           MARTIN                  ID     90012893316
3B957718261993   MIKE              BERRIL                  CA     46063397182
3B957796976B44   NADINE            ROMERO                  CA     46088307969
3B9579A4285974   ADAM              MOEVES                  KY     90003389042
3B957A65855949   GABRIELE          DIAZ                    CA     90005240658
3B957A86855972   DAVID             DENNEY                  CA     48040060868
3B958488476B89   DAVID             HARVEY                  CA     90010674884
3B958A7142B835   JASON             MCCARTY                 ID     90009850714
3B95932A54B943   TYRA              S POWELL                TX     90000933205
3B959394972B76   BLANCA            DEVORA                  CO     33082333949
3B959965654165   NICOLE            DOHERTY                 OR     90014839656
3B95B494372455   MARY              CLAYTON                 PA     51064844943
3B95B528A4124B   DANIELE           JONES                   PA     90014915280
3B95B868A61963   CYRUS             BROOKS                  CA     90002728680
3B95B996741277   LONETTE           BARNES                  PA     51050469967
3B961131654165   DORA              MARTINEZ                OR     90014471316
3B961891177544   MARIA             VARGAS-MURILLO          NV     43012418911
3B962223851339   LATASHA           HOOKS                   OH     90013912238
3B962457551369   CHARLETTA         SCOTT                   OH     90013964575
3B96246568B16B   SANTIAGO          SILVA                   UT     31017054656
3B9629A3654165   LINDA             LEBOEUF                 OR     47025879036
3B963588791831   ANGELA            HALL-OTIS               OK     90013775887
3B963646491356   CRISTAL           SALAZAR                 KS     90011496464
3B96381A577539   THOMAS            HARVEY                  NV     43010378105
3B96393317B639   PAYGO             IVR ACTIVATION          GA     90012249331
3B96395757B471   MAYSHA            JAMES                   NC     90013719575
3B96395A74B281   NICKA             WALKER                  NE     90009149507
3B964174248B23   JENNIFER          CARRASCO                AR     37021161742
3B964175251369   RICK              EISENECKER              OH     90015221752
3B964337177544   ROMAN             GARCIA RODRIGUEZ        NV     90010663371
3B96478668B162   CLEVE             PEHRSON                 UT     31011717866
3B964816184368   KENRICK           CHAMBERS                SC     90011178161
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3B96543197B639   LARIKA       HALE                         GA     90013574319
3B965A2978B166   FIELDS       TOMMY                        UT     90008490297
3B965A96691356   JUAN         RUBIO                        KS     90002510966
3B96769467B639   MATALEAN     MOORE                        GA     90014286946
3B967952591356   TIMOTHY      CRUTCHER                     KS     29031899525
3B9684AA65B281   JERICKA      RUCKER                       KY     90013594006
3B968841754165   PHILLIP      WERNER                       OR     90014388417
3B968847441258   JOSHUA       SHEARER                      PA     90007278474
3B968879751339   BRIAN        TAULBEE                      OH     90014568797
3B9689AA14B281   ANGELIQUE    GRAY                         NE     27017209001
3B968A2538B16B   BRYCE        LABELLE                      UT     90010090253
3B969597A4B52B   BARBARA      MILLWEE                      OK     90011655970
3B969955641258   RICH         SIPKO                        PA     51024579556
3B969A31A91831   CHRISTINA    DACZEWITZ                    OK     21025670310
3B969A41551369   RODNEY       MOORE                        OH     66087450415
3B969AA378B16B   THOMAS       REED                         UT     31044800037
3B96B13875B393   VICTOR       SANCHEZ                      OR     90015151387
3B96B489777539   MARTINA      MARTINEZ                     NV     90014184897
3B96B581A55949   ELSA         RIVERA                       CA     90012785810
3B96B621A4B943   BRYAN        ESTUPINAN                    TX     76573326210
3B96B624391831   CARESSA      LEWIS                        OK     21090726243
3B96B758155951   KEVIN        ORMSBEE                      CA     90014787581
3B96B8A5361963   TERESA       ANDRADE                      CA     90010468053
3B96B962791356   SONYA        SANCHEZ                      KS     90014869627
3B97115525598B   CECILIA      GONAZLES                     CA     49039221552
3B97144157B471   JOSE         VASQUEZ                      NC     90004424415
3B97155934B281   ERIN         YOST                         NE     90014025593
3B971715751339   JENLYN       PAXSON                       OH     90009467157
3B971855861921   HUGO         JUAREZ                       CA     46083378558
3B971946691356   THATE        COLEMAN                      KS     90015379466
3B972234191356   HORESTINE    SINGLETON                    KS     29067762341
3B97224227753B   OMAR         ALVAREZ                      NV     90006532422
3B97252474B943   CORDELL      PEREZ                        TX     90010385247
3B972579177539   ROBERTO      GALAN                        NV     90012405791
3B972797A4B281   JOSE         ACEVEDO-LUCERO               NE     27016157970
3B972A1578B16B   WHITNEY      PENROD                       UT     31005550157
3B972A4244124B   DEBRA        PRUCHNITZKY                  PA     51022560424
3B97341348B162   BARB         JOHNSON                      UT     90000324134
3B973566551339   KRISTEN      MC ARTHUR                    OH     90013825665
3B973775241277   MICHAEL      ESASKY                       PA     51048897752
3B974241972496   JACOB        BREBRICH                     PA     51040492419
3B974328376B89   MARIO        VELASO                       CA     90001873283
3B97457184B943   MIKEKORY     SIMON                        TX     90015185718
3B974665191356   CRAZY        KAY                          KS     29006956651
3B9747AA72B87B   RICHARD      SISSON                       ID     90007647007
3B974834255949   LISA         RICHARDSON                   CA     90004028342
3B974895691584   CORINA       DIAZ                         TX     90010508956
3B97494975B389   VEENICE      LOPEZ AGUILAR                OR     90001519497
3B975222A41285   JOAN         ADAMS                        PA     51055302220
3B97524315B156   LASONYA      NELSON                       AR     23007162431
3B97555A772496   BILLY        JAMES                        PA     90003515507
3B97562857B639   LATOYA       WORTHEY                      GA     90010026285
3B97577515598B   COURTNEY     HAZELTON                     CA     90013067751
3B9757A8681427   EMIRE        ROSENDARY                    PA     90011827086
3B975915172496   DONNA        KRULL                        PA     90013289151
3B97591877B639   CORDARIUS    MITCHELL                     GA     90013119187
3B97597158B16B   BRICE        CHISHOLM                     UT     90013959715
3B975A4334B943   WALTER       HOLMAN                       TX     90005860433
3B97646A78B166   ANN          BRIDENSTINE                  UT     31069624607
3B97653244B281   IRENE        ALBERT                       NE     90010935324
3B97664127B449   MARCO        MACHUCA                      NC     90002486412
3B97669937753B   ESTUARDO     SANDOVAL                     NV     43075586993
3B977127877544   BRITTNEY     O'DAY                        NV     43056041278
3B977313691584   JEANNETTE    CORTEZ                       TX     90001963136
3B977516777539   KELLY        WESTBROOK                    NV     90013155167
3B9775A9472496   THOMAS       MONOSKY                      PA     51048625094
3B97763597B449   SHANEIKA     SINCLAIR                     NC     90013496359
3B97819777753B   CATALINA     SARABIA MARQUEZ              NV     43027981977
3B978587A33638   NYEASHA      PATRICK                      NC     90008435870
3B9792A262B93B   SALVADOR     PARRA                        CA     90013232026
3B97932234B943   STOKLEY      THOMAS                       TX     90010743223
3B979586954165   CESILIA      ALVERTO VARGAS               OR     47005455869
3B979611A5B393   NICHOLAS     PERGOLA                      OR     90014276110
3B979927951369   BRANDY       GOINES                       OH     90003119279
3B97995A37B639   AL           ROSSER                       GA     90013939503
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3B97B418655949   PAMELA           HARGROVE                 CA     90010874186
3B97B51362B871   TRUDY            GLOSTER                  ID     90014555136
3B97B665941285   JOHN             OLASZ                    PA     90013496659
3B97B827985974   CANDACE          FAULKNER                 KY     90003378279
3B97B84722B871   TRUDY            GLOSTER                  ID     90014398472
3B97BA69A47873   BUFFIE           COATS                    GA     90015170690
3B98118674124B   MONIQUE          PAYNE                    PA     90013961867
3B98175A572B76   FERNANDO         ESPINOZA GONZALEZ        CO     33021067505
3B982211341285   SHAWNA           MUDRON                   PA     90006192113
3B982A4665B52B   CELIA            RODRIGUEZ                NM     90010620466
3B982A56884326   JENNIFER         MIDDLETON                SC     90006610568
3B9834A2777367   JOSE             GARCIA                   IL     90015104027
3B983514651369   ANTONIO          UCHOA                    OH     66092055146
3B98358394124B   TRIQ             PRICE                    PA     90010935839
3B98445522B93B   MARLEN           RAMIREZ                  CA     45093664552
3B98469352B871   MARIA            MORALES                  ID     90011236935
3B98474A748B55   VICTORIA         VILLICANA                AZ     90011837407
3B984A25361963   ZACHARY          BERG                     CA     90013010253
3B984AA3141285   THOMAS           HANNAN                   PA     51030490031
3B98518818B16B   PAUL             SALAZAR                  UT     31000331881
3B98534925B156   EVELYN           HOOF                     AR     90003183492
3B98576137753B   KATHRYN          REGULI                   NV     43051717613
3B98582395B393   ANTHONY          BAEHR                    OR     90013308239
3B98588338598B   RODNEY           SLAVEN                   KY     90003448833
3B98588A25B281   RUBY             SWEENEY                  KY     90015068802
3B985A11591356   PATRICIA         BISHOP                   KS     90013720115
3B985A7875598B   ASHLEY           ROMO                     CA     49001310787
3B98629385B52B   CYNTHIA          LOPEZ                    NM     90015212938
3B98671A141285   TIA              VINSON                   PA     90014957101
3B98677835B344   LORI             FACKLER                  OR     44513697783
3B98689588B162   DAVID            ONEAL                    UT     90014238958
3B987145A4B943   HILLARY          SAMUELS                  TX     90014361450
3B987288872B24   LARRISSA         MARTIN                   CO     90001922888
3B98739382B87B   BROOKE           CURTIS                   ID     90004253938
3B98757A85B344   ARTURO           SALINAS                  OR     90012955708
3B987755776B89   JACOB            BARR                     CA     90014867557
3B987792155963   HERACLIO         VENTURA                  CA     90000917921
3B988181141285   STEPHENIE        STENGEL                  PA     51060681811
3B98818A791356   DEIONTE          JACKSON                  KS     90013711807
3B988519977539   GUADALUPE        SEVILLA                  NV     43096495199
3B988792155963   HERACLIO         VENTURA                  CA     90000917921
3B988A32476B89   NATALIA NICOLE   HUSZCZ                   CA     90002930324
3B988A44885866   MEHUL            MERCHANT                 CA     90012790448
3B989483155972   DAISY            LUVIANO                  CA     90011404831
3B98967617B639   LANEQUA          BORDERS                  GA     90008656761
3B98968A755949   ALFONSO          HERRERA                  CA     49078876807
3B989719931424   BRENDA           PEGG                     MO     90012097199
3B989767377544   HECTOR           CRUZ-FLORES              NV     90009467673
3B98983647B471   VICTORA SIMONA   KNOTTS                   NC     90012498364
3B98983A276B89   GREG             VIERA                    CA     90007188302
3B98989954B943   SHERRY           SEPULVEDA                TX     90009928995
3B98B35122B93B   YESENIA          VALENCIA                 CA     45069123512
3B98B54A177539   UBALDO           VALDEZ                   NV     43079035401
3B991116A5598B   ALFONSO          REYNOSO VIEYRA           CA     90013691160
3B991393861963   TONY             SCHRINER                 CA     90005783938
3B99187685B393   MIRLA            SEVILLA                  OR     90011118768
3B99191112B871   LANA             MARTINEZ                 ID     42029209111
3B99336495B156   ROBIN            VANNATTER                AR     90014863649
3B99353144124B   ROBERT           LENZ                     PA     51050185314
3B99357318B16B   KAREN            ADANS                    UT     90012645731
3B99362A82B93B   GRICLDA          PENA                     CA     90009676208
3B99369A15598B   SALVADOR         GARCIA                   CA     90000396901
3B993774377539   JESUS            SOLIS                    NV     90013367743
3B9937A4541285   JOSEPH           GREENER                  PA     90015017045
3B993A84773242   JOE              CARUSO                   NJ     90010220847
3B994127161963   JAZMINE          NAVARRO                  CA     90008551271
3B994238A41285   FREDERICK        WOODFORK                 PA     51091132380
3B9948A668B16B   JAIME            STEDMAN                  UT     90004788066
3B99531548B162   JULIE            BEMENT                   UT     31034193154
3B995889A91538   GUADALUPE        CONTRERAS                TX     90009918890
3B9958A2761982   ESTEFANA         VILLALPANDO              CA     46061218027
3B995957455951   ESTEBAN          AYALA                    CA     90011909574
3B996287141258   DARNELL          PINNICK                  PA     51050402871
3B99668A47B639   LARESE           HUGLEY                   GA     15023166804
3B996916A91883   CASEY            CRABTREE                 OK     90010309160
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1892 of 2350


3B997121A5598B   ALBERT             ALDANA                 CA     49064261210
3B997445272B76   JOHN               WURL                   CO     33094124452
3B997451577544   DOMINGA            GALLARDO               NV     90001974515
3B997611191831   DANA               TURLEY                 OK     21062086111
3B997751955972   LUZ                ROQUE                  CA     90013077519
3B99776137753B   KATHRYN            REGULI                 NV     43051717613
3B9978A135B281   MICHAEL            THOMSON                KY     90014788013
3B998121472496   NIKKALA            FITZGERALD             PA     90014841214
3B998585377539   CAROL              DISALVO                NV     90014185853
3B9985A8261925   H                  SEARLES                CA     90000475082
3B998845A77544   JONATHAN           PADILLA-SAUCEDO        NV     90013938450
3B999254291356   THOMAS             SENTERS                KS     90013272542
3B99928A22B871   MICHAEL            CANTERBERRY            ID     90002212802
3B9994A1A5B281   GEORGE             WASHINGTON             KY     90015174010
3B99958A65B156   JAMES              COLLIER                AR     23002475806
3B999591377539   VICKIE             TARLETON               NV     90014185913
3B9997A144B931   JOANN              DEWES                  TX     76594077014
3B999952A2B87B   RUTH               MORGAN                 ID     42076279520
3B999A8275B344   CARRIE             BEHEN                  OR     90011990827
3B99B199661963   FALLON             MCDERMOTT              CA     90014911996
3B99B88515B156   BRITTANY           DAVIS                  AR     90011218851
3B9B1486777539   HEYVIN             PINEDA CASTRO          NV     90011774867
3B9B148992B835   MARIAH             RIVERS                 ID     90014714899
3B9B155325B281   PAYGO              IVR ACTIVATION         KY     90008975532
3B9B194A372B76   JUAN               ALVARENGA              CO     33047299403
3B9B1AA9155951   BENIGNO            OROZCO                 CA     90013200091
3B9B224798B162   ANDREW             KELLER                 UT     90014232479
3B9B2373291356   DANIELLE           ADAMS                  KS     90011513732
3B9B247385B393   GERALD             MORTON                 OR     44502824738
3B9B28A1A55972   BARBARA            CAMPOS                 CA     90014518010
3B9B2937336B77   MELANIE            CUNNINGHAM             OR     44525909373
3B9B296584B943   SHANNON            SMITH                  TX     90014279658
3B9B32A2477539   FERNANDO           MURILLO                NV     90014182024
3B9B3463491831   GRACIELA           MAR                    OK     21025584634
3B9B4328677544   ZAKIA              KNIGHT                 NV     90012823286
3B9B4782191893   ELENA              K ECHEVERRIA           OK     21073797821
3B9B4A3515B52B   JOYCE              CHRISTIAN              NM     90014290351
3B9B5165855949   VICTORIA           BOX                    CA     90014951658
3B9B544162B87B   CARL               COOKSON                ID     90010654416
3B9B557537753B   LOSA               JAPOBO                 NV     90015515753
3B9B578298B16B   ANGELO             CHAVEZ                 UT     90013447829
3B9B5A85676B89   CANDIDA            RAMIREZ                CA     90013130856
3B9B6272884368   DAVID G            MILLS                  SC     90012432728
3B9B648A681685   ALBERTO            ZARAGOZA               MO     90000464806
3B9B6528A5B156   CECILIA            AYALA                  AR     90013695280
3B9B67A755B52B   ALEXIS             FERNANDEZ              NM     90009147075
3B9B736A72B87B   ANTONIIO           FONCE                  ID     90000883607
3B9B763867B491   ROBERT             ELLISON                NC     90005526386
3B9B7795455949   THOMA              ROCHA                  CA     90011997954
3B9B791377B471   BLANCA             MIRANDA                NC     90012229137
3B9B81A5691831   CHARLES            FARMER                 OK     90014481056
3B9B8359951369   LANAYE             PEEPLES                OH     66093313599
3B9B8415651339   ROBERT             LINDMAYER              OH     90009194156
3B9B889A14124B   CRICKET            ACCOUNT                PA     90013938901
3B9B918964B943   SOCORRO            BARRIENTOS             TX     90007581896
3B9B9198591584   GERARDO            SILVA                  TX     90008471985
3B9B9241141285   JAMAR              HERMITTAGE             PA     90015212411
3B9B94A222B871   RODRIGO            RODRIGUEZ              ID     90010244022
3B9B9671A77544   CALISTA            SNYDER                 NV     43081436710
3B9B9673461963   JOSE               AGUIRRE                CA     46088876734
3B9B968187B43B   TENOE              COOPER                 NC     90002206818
3B9B979A24B281   JOHN               DENGEL                 NE     27096447902
3B9BB12375598B   JOSUE              SANTIAGO               CA     90011971237
3B9BB337691584   MARY               GUZMAN                 TX     75069543376
3B9BB414661963   ANDRES             BAUTISTA               CA     46085784146
3B9BB6A653B169   MARLON FRANCISCO   PINEDA                 DC     90010126065
3B9BBA4114B281   JULIA              WEEKS                  NE     27054420411
3BB11265991831   JARED              PETERS                 OK     90003572659
3BB1146748B166   MARVIN             DEWEY                  UT     90007984674
3BB1151455B344   TODD               MAXSON                 OR     44594815145
3BB11518472455   ALYSSIA            THOMAS                 PA     90015435184
3BB11849531424   KAREN              SHIVERS                MO     27509198495
3BB12176155949   NINA               YOUNG                  CA     90013411761
3BB1266678B162   KEARNS             ASHLEI                 UT     90007906667
3BB1274524B943   CHASE              BRAQUET                TX     90013807452
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1893 of 2350


3BB12A9189713B   NATHAN         CIOBANU                    OR     90009410918
3BB13668191893   KAREN          PUCKETT                    OK     21059586681
3BB1381138B162   SAM            STEELE                     UT     31086178113
3BB1384332B87B   MARIA          CRUZ                       ID     42042868433
3BB1455AA72455   ALEX           HERNANDEZ                  PA     90013985500
3BB1477515B156   SARAH          HOGGATT                    AR     23060237751
3BB14A47251339   JONISHN        CARR                       OH     66059650472
3BB15446572496   TIM            LINHART                    PA     90010704465
3BB154A3A51339   MINDY          DURHAM                     OH     90011084030
3BB1579122B87B   SHERRY         WHITAKER                   ID     90002947912
3BB15973A91831   MARKUS         STEPHENSON                 OK     90008709730
3BB16248376B89   CARRIE MARIE   MADSON                     CA     90014912483
3BB1626322B93B   JOHN           MILHALIC                   CA     90011702632
3BB16441155957   EDIT           LOPEZ                      CA     49048004411
3BB16517372496   JENNIFER       CARRIGAN                   PA     90013685173
3BB16686544333   MATTHEW        MIDDLETON                  MD     90010256865
3BB16696677544   SEHELENE       HERNANDEZ                  NV     90014366966
3BB16925357126   CRSITIAN       TORRES                     VA     90008309253
3BB16A57193768   MARK           PONDER                     OH     90013700571
3BB16A96655972   MARIA          FARIAS                     CA     90003040966
3BB17133677539   MIGUEL         ARMENTA                    NV     90003291336
3BB17237491831   BO             WHEELER                    OK     90014412374
3BB17463547931   MARIA          RIOS                       AR     90002784635
3BB17653841277   HILLARY        SIEL                       PA     90012236538
3BB17673541277   JOSEPH         VIDNIC                     PA     90013126735
3BB1793475B281   VANESSA        GOLEMAN                    KY     90013929347
3BB17A8452B835   JOHN           MCGREW                     ID     90013860845
3BB1813445B52B   RUBEN          CDEBACA                    NM     90012251344
3BB1879864B943   CHRISTINE      PATXOT                     TX     90014447986
3BB1885A62B871   VERNON         DOUGAL                     ID     90007448506
3BB18A98A76B89   ALFRED         DARNELL GRIMMETT           CA     46046900980
3BB19364772B24   MYRA           GRANDE                     CO     33033553647
3BB19364791584   JESUS          GUEL                       TX     90010503647
3BB19744491831   BRENDA         STERLING                   OK     90013827444
3BB19857654165   CELESTE        HUBBLE                     OR     47063078576
3BB198A6591831   BRENDA         STERLING                   OK     90013958065
3BB1B757747931   DEBRA          MCCALISTER                 AR     25009157577
3BB1B911161963   JORGE          LOPEZ                      CA     90013309111
3BB21343A91356   NABILA         ATER                       KS     90010683430
3BB2158325B156   MARK           EATMON                     AR     23094915832
3BB2173598B16B   TRACY          KENDRICK                   UT     90010127359
3BB21738A4124B   DOUGLAS        SCHIRM                     PA     90002667380
3BB2195977753B   JAMIE          LAMBDIN                    NV     90012579597
3BB22334641455   EDWARD         GOPPING                    WI     90015363346
3BB2234162B871   ERIN           THEIMANN                   ID     90001053416
3BB2258255B156   JESSICA        MURDOCK                    AR     90013135825
3BB2279667B449   SANTARIO       GUERRIER                   NC     90005717966
3BB2296684B943   JUSTICE        VELL                       TX     90014179668
3BB2321778B162   STEVEN         CRAIG                      UT     31013342177
3BB2362834B943   KEIANA         BONHAM                     TX     90012856283
3BB2371828B16B   JOY            STARKS                     UT     90001327182
3BB2384877B639   FRANCO         DOMINGO                    GA     90015168487
3BB241A877753B   JOSE DANIEL    TORRES TORRES              NV     90013401087
3BB24365477544   GIOVANNA       ROJAS                      NV     90011573654
3BB2458862B87B   SERGIO         LARIOS                     ID     90001975886
3BB25375855972   LISA           JACOBO                     CA     48027313758
3BB2557432B93B   LUIS           HERRERA                    CA     90013215743
3BB25588A93768   JUSTIN         SULLIVAN                   OH     90011915880
3BB256A914B943   JACK           SMITH                      TX     90015196091
3BB258A5972496   TAMMY          TRILLOW                    PA     90011258059
3BB2623A761963   SALMA          RAND                       CA     90013992307
3BB2646198B18B   JENNIFER L     MECHAM                     UT     90012304619
3BB26467741298   ALISHA         HARSHEY                    PA     90004674677
3BB26517361489   ELENA          PIGOS                      OH     90013775173
3BB26686581621   BENNY          MCKENZIE                   MO     29088576865
3BB2669412B835   JEANNIE        MORSE                      ID     90000806941
3BB2681288B166   NATIVIDAD      ALONSO                     UT     90010838128
3BB26831951369   RON            HATFIELD                   OH     90004398319
3BB26952333696   DOROTHY        LITTLEJOHN                 NC     90005539523
3BB2743A184368   JORGE          DOMINGUEZ                  SC     14593344301
3BB277A8733133   JAMES          GIBBS                      IL     90010067087
3BB27A68151339   JENNIFER       WALKER                     OH     90012000681
3BB27A99291356   MISTI          BRUCE                      KS     90014710992
3BB28116141258   KEITH          GRAY                       PA     51008091161
3BB2814837B43B   SAMUEL         GOMEZ                      NC     90007291483
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1894 of 2350


3BB28159191356   MELISSA      EDWARDS                      KS     90012261591
3BB28549A72B76   LISA         GALLARDO                     CO     33082305490
3BB2859398B16B   LISA         BARNES                       UT     90013445939
3BB28A4877B471   ERNESTO      NUNEZ                        NC     90013730487
3BB2927167B471   JAQUESE      SIMS                         NC     90011122716
3BB2996495B344   SEAN         ANTHONY HOLUB                OR     44536949649
3BB29A6277B639   QUNNDERRIN   SMELLING                     GA     90013920627
3BB2B13435598B   AMY          KAZERIAN                     CA     90011071343
3BB2B53145B281   LATASHIA     BRIM                         KY     68076105314
3BB2B627455951   DIANA        LOPEZ                        CA     90014746274
3BB2B79849713B   BURTON       HOLLAND                      OR     90013547984
3BB2B892A2B871   BRYAN        SLATER                       ID     90010458920
3BB3198839125B   AURORA       SARINANA                     GA     14578709883
3BB31A8244124B   SELENA       BURRELL                      PA     90007380824
3BB32217355972   BENAVENTE    LYDIA                        CA     48009142173
3BB32727976B89   ROB          FRIEND                       CA     90011877279
3BB3317817B639   CHRISTINE    FLINTROY                     GA     15091581781
3BB33825477539   PAYGO        IVR ACTIVATION               NV     90013948254
3BB34916855949   PEDRO        SILVA                        CA     49082499168
3BB3518412B835   JUAN         MENDOZA                      ID     90000381841
3BB3524459713B   JOLENE       DESART                       OR     90009412445
3BB3584962B93B   REYNALDO     NUNEZ                        CA     45059378496
3BB35938A7753B   ANGELA       BENSON                       NV     43097729380
3BB36293141285   JOHNATHAN    DANIELS                      PA     90014842931
3BB36674355949   NADINE       REDMOND                      CA     90013286743
3BB3675314B532   JUWAN        TAYLOR                       OK     90008967531
3BB3741634B281   AMBER        SINGLETON                    NE     90013924163
3BB3756A931424   NICOLE       BARTON                       MO     90015375609
3BB37684476B89   PAUL         DAERR                        CA     90006536844
3BB37795641258   MUKESHA      JHA                          PA     90014147956
3BB38417155951   LEODEGARIO   SANCHEZ                      CA     90011594171
3BB3893535B393   WILSON       MALLA                        OR     90004909353
3BB3916478B166   WEIL         BLAZE MONTGOMERY             UT     90003421647
3BB3925354B547   MANUEL       GONZALEZ                     OK     90010712535
3BB39824391584   TERRIE       ROJAS                        TX     90010978243
3BB39853851369   DAWN         VOGEL                        OH     90013658538
3BB3B12815B393   DELICIA      NORMAN                       OR     44521521281
3BB3B2AA55B52B   HELEN        PAISANO                      NM     90007742005
3BB3B45A77B639   JENNIFER     PERSON                       GA     90012314507
3BB3B493257153   DIEGO        IBANEZ                       VA     90003504932
3BB3BAA162B835   SIERRA       CANTU                        ID     90007690016
3BB412AA95B52B   JASON        BUNT                         NM     35031222009
3BB41425455972   MARIA        VILLA                        CA     48043324254
3BB4161A223134   TANISHA      SNOWDEN                      MI     90015276102
3BB41651276B89   EDGAR        GERARDO                      CA     90009156512
3BB4167A65B393   WILBER       MORALES                      OR     90008276706
3BB41748177544   DEBRA        ECKERT                       NV     43071827481
3BB4178294124B   EARL         DUNHOFF                      PA     51026707829
3BB4182A741258   AARON        COLLIER                      PA     90004598207
3BB41872251369   SARAH        SIMPSON                      OH     90005898722
3BB41916322422   MONIQUE      YVETTE                       IL     90013199163
3BB41A1412B871   MIRIAN       WARANKE                      ID     42043070141
3BB42464A61963   KYLE         SMITH                        CA     90014244640
3BB42A77436B77   JAMES        COFFMAN                      OR     44571130774
3BB4319A98B166   AUBREY       CALL                         UT     90011961909
3BB43286984368   MARIA        CONSEPTION                   SC     90011022869
3BB43323355972   LORENA       RIVERA                       CA     90015363233
3BB43357772B76   JUAN         LOPEZ GOMEZ                  CO     90007463577
3BB4344564124B   GREGORIO     LEOBARDO                     PA     90012184456
3BB4413A457153   KATRINA      LEIGH                        DC     90007741304
3BB4415574B943   TIRANIE      DIXON                        TX     90014711557
3BB44356161963   DIANA        HERNANDEZ                    CA     90013173561
3BB443A4472455   TAMMY        GOODWIN                      PA     51085153044
3BB44427691232   KIERA        GREEN                        GA     14585584276
3BB4448A177539   JOSE         VILLA                        NV     90008674801
3BB44616591831   SHAUNTALL    GRIFFIN                      OK     90007616165
3BB44656293768   ANTHONY      ALLEN                        OH     90012196562
3BB44913972B24   ELIAS        TEDLA                        CO     33040149139
3BB44A18A4B281   MZINGHA      SIMMONS                      NE     90014070180
3BB45171972455   JENNIFER     HERMAN                       PA     90005641719
3BB4524945B156   VINCENT      HIGHTOWER                    AR     23059662494
3BB452A6591525   ROSA         SALCEDO                      TX     75095472065
3BB4531644124B   TOMAS        KEITNG                       PA     90014043164
3BB45415272496   KENETH       EUTSEY                       PA     90015524152
3BB456AA355949   JOSE         ACOSTA                       CA     49042756003
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1895 of 2350


3BB45A35755951   LORI         CASTELLO                     CA     49051310357
3BB4632A655927   MARIANN      VALENZUELA                   CA     90012093206
3BB46734831424   ADELINA      GINES                        MO     90013997348
3BB46A7152B835   THOMAS       FREINWALD                    ID     90014710715
3BB47367991584   MYRA         NUNEZ                        TX     90006203679
3BB4745A641285   SHANNON      C STOWERS                    PA     90012704506
3BB4759A251369   CARLOS       PEREZ                        OH     90015175902
3BB475A7A47931   MARTHA       MARTINEZ                     AR     90012165070
3BB4761565B52B   RAYMOND      LUSERO                       NM     90007976156
3BB47729731424   LARON        WILSON II                    MO     90014897297
3BB47912255951   CLIFFORD     EITZEN                       CA     90012519122
3BB4791A79713B   TAMARA       OATES                        OR     90013549107
3BB47977354195   BRADLEY      HICKS                        OR     90006269773
3BB48181747931   VINCENTE     CRUZ IBANEZ                  AR     90013971817
3BB4827347B639   CANTRELL     HOLT                         GA     90010982734
3BB4832694B281   YOLANDA      GREEN                        NE     90014263269
3BB48435841258   CHRISTINE    WESOLEK                      PA     51012864358
3BB491AA297B21   REBEKAH      RODRIGUEZ                    CO     39047261002
3BB49379277539   AMALIA       SANDOVAL                     NV     90001923792
3BB4953734B943   MIGUEL       TORRES                       TX     90002755373
3BB4976824B281   CODY         KACZMAREK                    NE     27040377682
3BB4987197B639   CHARLES      BUTLER                       GA     15010598719
3BB4B318A76B89   SUMMER       FOSTER                       CA     90013003180
3BB4B324361963   JOYCE        HARRIS                       CA     90011123243
3BB4B487972496   JALEESA      SHUFORD                      PA     90012124879
3BB4B758872455   TARA         BROWN                        PA     90013347588
3BB4B81879125B   BEBORAH      ROUSE                        GA     14576558187
3BB4BA18A41258   ALICIA       ALLEN                        PA     90008500180
3BB5127312B93B   BIANCA       NAVARRO                      CA     90012722731
3BB517A752B835   ANNIE        VARNES                       ID     42082947075
3BB51815861963   DANIEL       WIEBER                       CA     90013808158
3BB51998977544   JUAN         VAZQUEZ                      NV     43098109989
3BB51A44741246   BRENDEL      LEON                         PA     90012540447
3BB5229414B281   ROBERT       GARCIA                       NE     27078342941
3BB52775655951   CHRISTINE    ZANINOVICH                   CA     90014737756
3BB5287A88B16B   DONNA        GARCIA                       UT     90014858708
3BB5295473B35B   NICOLE       BURKE                        CO     90014369547
3BB53178A8B166   RAYMOND      LUJAN                        UT     90009181780
3BB53493855951   MIRIAM       MENDOZA                      CA     90013234938
3BB53775955951   REBECCA      YBARRA                       CA     90014737759
3BB537A755B393   VICTOR       MARTINEZ                     OR     90014277075
3BB538A3791356   WENDY        TENNISON                     KS     29007628037
3BB538A7A7B639   YOLANDA      WILLIAMS                     GA     15073058070
3BB5398644B281   ELYZ         AVILEZ-ONOFRE                NE     90015079864
3BB53A4332B871   DAWNNETTE    AMES                         ID     90000960433
3BB54141391356   VICTORIA     COBURN                       MO     29025951413
3BB54271A2B93B   WHITNEY      MOLLETT                      CA     90014032710
3BB54285172455   PAYGO        IVR ACTIVATION               PA     90007242851
3BB54444931424   MAKAYLA      JOHNSON                      MO     90015584449
3BB5511A755957   ELIAS        GONZALEZ                     CA     90009161107
3BB5576932B835   SOPHIA       BAUTISTA                     ID     90004797693
3BB5582A991584   ELIAS        REYES FLORES                 TX     90006788209
3BB55A3423B391   CHARITY      WALL                         CO     90003590342
3BB5617AA7B639   CURTIS       THOMAS                       GA     90012351700
3BB5646238B162   TERRY        SHELL                        UT     90012724623
3BB5647137B471   JOSHUA       PENNIGTON                    NC     90010794713
3BB56666155972   TONY         GUTIERREZ                    CA     48005126661
3BB56A8127B639   SIERRA       MOORE                        GA     15041270812
3BB572A1176B7B   SILVERLO     VELASQUEZ                    CA     46015522011
3BB57884172B24   ALMA         VAZQUEZ                      CO     33084908841
3BB5797142B93B   BECKY        LARSEN                       CA     90010889714
3BB5797185B344   ANA          ESTRADA                      OR     90013799718
3BB57A72891831   NIKIA        EDWARDS                      OK     21059740728
3BB57A7A861963   EDGAR        IBARRA                       CA     90014110708
3BB58244947931   MERYL        PETERSEN                     AR     90007702449
3BB5827A555972   JOSE         NUNEZ                        CA     90012962705
3BB5827AA91831   TESSA        ADAIR                        OK     90012722700
3BB5845862B28B   BERHANU      TEKLU                        DC     90007854586
3BB5846374B943   JUDY         JONES                        TX     90014884637
3BB587AA951369   CASSANDURA   NORTH                        OH     90013697009
3BB58846777539   CHRISTINA    NESS                         NV     90013948467
3BB591A232B93B   MIRAM        MARTINEZ                     CA     90012671023
3BB59335961963   DAVID        LEWIS                        CA     90011673359
3BB5952A372B76   OSCAR        MONTERO GRANADOS             CO     33017915203
3BB59712841285   FRANCES      KOHNFELDER                   PA     90009257128
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1896 of 2350


3BB59976493768   DEREK        LUCAS                        OH     90005499764
3BB59AA5855949   AMANDA       SMITH                        CA     90014080058
3BB5B173691893   BRIAN        CARLSON                      OK     21096271736
3BB5B545355981   VERONICA     CHAPA                        CA     90012005453
3BB5B76227753B   JAMIE        VANDERHOEF                   NV     43041247622
3BB5B78467B471   REYEZ        HERNADEZ                     NC     90000177846
3BB5B87A684368   LATASHA      MILLER                       SC     90013678706
3BB5B892647931   CARRIE       DENEASE                      AR     90014638926
3BB5B97AA72B76   DIEGO        VENZOR                       CO     33002159700
3BB61116355957   ANDREA       PEREZ                        CA     90011821163
3BB611A968B166   ASHLEY       KURTZ                        UT     90014401096
3BB61317285925   VIRGINIA     MOORE-MINDER                 KY     90002213172
3BB61433451369   DOUGLASS     STEPHENSON                   OH     90014604334
3BB6148713B336   FLORENCIO    MACIAS                       CO     33082624871
3BB61857A55949   ERIK         GUDINO                       CA     90010078570
3BB61892555951   JOHN         XIONG                        CA     49056208925
3BB619A557B449   PHILLIS      WILSON                       NC     90009599055
3BB61A26A91356   LINDA        MARTINEZ                     MO     90010790260
3BB62334577539   MAYTHE       RAMIREZ RIZO                 NV     90014163345
3BB6281437B639   IDELL        BELL                         GA     90010728143
3BB62892647931   CARRIE       DENEASE                      AR     90014638926
3BB6316949713B   KARRI        MILLER                       OR     90013551694
3BB6326937753B   PAULA        MULLINS                      NV     90015372693
3BB63351551322   JENNIFER     BURTON                       OH     90001563515
3BB6364315B281   ANGELA       ROBERTS                      KY     68050646431
3BB6394425B52B   CHARLES      ROMERO                       NM     90002929442
3BB63A26697127   DANNY        SARSS                        OR     90007200266
3BB64324191893   VERONICA     AGUILERA                     OK     90010743241
3BB6458652B835   JEANNIE      VALENZUELA                   ID     42065885865
3BB6523A684368   JUSTINO      MARQUEZ                      SC     90013842306
3BB6554A141277   DEBBRE       PAIGE                        PA     90012835401
3BB6592725B52B   DWAN         CHAVEZ                       NM     90006459272
3BB65982531441   TODD M       WHITEAKER                    MO     27513219825
3BB6611565B393   MICHAELA     SNYDER                       OR     44506051156
3BB66433851339   THOMAS       HESTER                       OH     90014364338
3BB6683258B166   COURTNEY     HARPER                       UT     31048348325
3BB6683544B943   ALMA         MALATY                       TX     90014248354
3BB67135A41277   MARVIS       SIMPSON                      PA     90007601350
3BB67AA752B835   TIFFANY      BLANCO                       ID     90001440075
3BB6861668B16B   JOANNA       ROSALES                      UT     90015176166
3BB68748151369   TRINA        HEARD                        OH     90011287481
3BB68825376B89   GERARDO      ROJAS                        CA     46053278253
3BB6955665B344   NICK         SWARTSFAGER                  OR     90012855566
3BB6959224B943   LUIS         VAZQUEZ                      TX     90015415922
3BB69819351347   ANDERA       CRUZ                         OH     90004388193
3BB6B289591232   LATONYA      FELDER                       GA     90005532895
3BB6B8AA176B89   RONALD       HOGUE                        CA     90013808001
3BB6BA6127B639   SOCORRC      GORDILLO                     GA     90012620612
3BB7134664B943   ESPERANZA    GUTIERREZ                    TX     90014773466
3BB71535855972   BEJERMIN     TORRES                       CA     90014685358
3BB71782191232   SHONDA       ORR                          GA     14570687821
3BB72525A47931   JOSE         MEDINA                       AR     90015215250
3BB726A3357153   CINDY        JEREZ                        VA     90006926033
3BB72884576B89   JUAN         GARCIA                       CA     90012018845
3BB72993972496   MATT         MCKENDRY                     PA     90006329939
3BB72A1382B871   JAMES        CHOATE                       ID     42043500138
3BB73186761557   PAYGO        IVR ACTIVATION               TN     90014951867
3BB731AA74B943   ALICE        HEBERT                       TX     90014011007
3BB73247681667   JOHN         VELAER                       MO     90007872476
3BB7329235B52B   ISMAEL       MONTAYACENTENO               NM     90012242923
3BB73318376B89   JOSE         TORES                        CA     46005403183
3BB73392A93768   MISHUTRA     OJESUA                       OH     64520353920
3BB73448A71996   MARIO        FLORES                       CO     32040604480
3BB73721577539   JESUS        GUERRERO-CHAVEZ              NV     90009607215
3BB7391398B16B   KATIE        GLASS                        UT     90003499139
3BB7399552B87B   SCOTT        STANDEFER                    ID     42098149955
3BB74351647931   HEATHER      SMITH                        AR     90013423516
3BB7446492B93B   DARIUS       CROSBY                       CA     45070524649
3BB74468531424   GEORGE       MORGAN                       MO     90012274685
3BB7448A48B166   MANUEL       GONZALEZ                     UT     90010184804
3BB7451552B28B   WILLIAM      HARPER                       DC     90002155155
3BB74567A55972   OSIEL        LAYUN                        CA     90010725670
3BB745A445598B   JESSICA      BUENROSTRO                   CA     90008875044
3BB7487492B871   HELENA       HOWELL                       ID     90002508749
3BB7523A284368   JOSE         ESCALANTE                    SC     90000122302
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1897 of 2350


3BB7535934B221   TERRY           MACKEOGH                  NE     90006823593
3BB75398355972   KRISTI          FRIAS                     CA     48033273983
3BB75491A91356   JAMES           FANNING                   KS     90000274910
3BB75677791584   ARMANDO         ALONSO                    TX     75043546777
3BB75A62241285   JASMINE         MOORE                     PA     90014800622
3BB76372A2B87B   SHARON          MCNEAL                    ID     42020033720
3BB7642182B22B   DAVID           WASHINGTON                DC     90011454218
3BB7644324B943   JUANA           VALENCIA                  TX     90014904432
3BB76672777539   ARMANDO         CHAVEZ                    NV     43006166727
3BB7714115B156   LORRAINE        ACKERSON                  AR     90011621411
3BB77287341258   JOHN            SEILER                    PA     90003732873
3BB778A935B52B   RICHARD         FONDY                     NM     90013798093
3BB7792278B16B   MARVIN          MOORE                     UT     90003979227
3BB78279851369   LENORA          KING                      OH     66054272798
3BB78631955972   SILVIAS         AMY                       CA     48015616319
3BB793AA82B93B   DORA            TRAPP                     CA     90007873008
3BB7945A177544   JOHN            HURT                      NV     43008054501
3BB7965868B16B   STACI           MUMFORD                   UT     90004776586
3BB79818651339   CHRISTINA       REEDY                     OH     90007818186
3BB7981888B162   VICTOR          JOE                       UT     90003578188
3BB79873855957   STEVEN          PARSONS                   CA     90009418738
3BB7992227B639   AMBER           TURNER                    GA     90011779222
3BB79964691584   AARON           LEE                       TX     75088829646
3BB7B24A431424   ANGIE           TAYLOR                    MO     90008582404
3BB7B32185B555   FRANK           MORALEZ                   NM     90007843218
3BB7B449391584   VELIA           FREDERICK                 TX     90003134493
3BB7B984957126   KAREN           PEREIRA                   VA     90005169849
3BB7B99748B166   ESTEBAN         CURLETTO                  UT     90006159974
3BB81247891584   ALEXIA          ESCAJEDA                  TX     90010082478
3BB8144A277522   JULIE           ESPALIN                   NV     90008114402
3BB81452A93768   RACHEL          DUNCAN                    OH     90014794520
3BB81472151339   BRIAN           COMPTON                   OH     90012254721
3BB81623991584   ALEXISIA        ESCAJEDA                  TX     90014646239
3BB81646A41277   JUDITH          HAMAR                     PA     90009496460
3BB81A9238B162   DANIEL          GARCIA                    UT     90014520923
3BB8235722B871   MINERVA         VILLEGAS                  ID     42079253572
3BB82588991831   JOSHUA          JUBY                      OK     90009485889
3BB8272735598B   JOHNNY          JACKSON                   CA     90014527273
3BB82736972B35   LANA            LILEY                     CO     33029177369
3BB8367278B162   YONATHAN        GARCIA                    UT     90004166727
3BB8374114B943   DANIEL          KINCHEN                   TX     76526297411
3BB83882972B24   TASIA           VITELA                    CO     90005648829
3BB8397965598B   JAZMIN          IRENE SOTO                CA     49049729796
3BB8416859713B   FRED            RAMIREZ                   OR     90010281685
3BB8425992B871   SUSANA          GUAJARDO                  ID     42031722599
3BB84459251339   TIMOTHY         BAILEY                    OH     66007914592
3BB84874577539   JUAN            TAPIA-SANTIAGO            NV     90014378745
3BB85215351339   PAULTTE         PECK                      OH     90011652153
3BB85291985951   ANTONIO         CAMPOSANA                 KY     90012472919
3BB85798784368   JOHN            TITUS                     SC     90009637987
3BB85A18177544   ESSIE           WASHINGTON                NV     43081680181
3BB85A6AA72496   SHARON          ELLIS                     PA     90010220600
3BB86351647931   HEATHER         SMITH                     AR     90013423516
3BB8654674B943   BRYAN           RICHARD                   TX     76506025467
3BB86556655972   BLANCA          BOTELLO                   CA     48007805566
3BB8698752B871   LINDA           HUCHES                    ID     90014509875
3BB8765299125B   DARRIS          WASHINGTON                GA     90006996529
3BB878AA55B156   ALEX            HOLLINS                   AR     90013468005
3BB87966577544   DJ              MORINA                    NV     90008579665
3BB881A255B156   BRENDA          JAMES                     AR     23078371025
3BB88275955963   ERICA           GACHUZ                    CA     90003222759
3BB8911584124B   JASON WILLIAM   WALLACE                   PA     90014431158
3BB8922668B162   URSULINO        SALAZAR                   UT     90013112266
3BB893A9331424   RACHELLE        HILLENBRAND               MO     90010293093
3BB89482A91356   BRANDI          BROWN                     KS     90003264820
3BB8984A461963   JOSE            PANELA                    CA     90013808404
3BB8B51585598B   FRANCISCO       PRIETO                    CA     49085115158
3BB8B73137B639   CHANEA          VAUGHN                    GA     90014887313
3BB8B876A31424   ANGELA          HAMILTON                  MO     90013608760
3BB8B979554165   AMY             MCKINNIS                  OR     90013599795
3BB8BA3A441258   PATRICIA        ALCUTT                    PA     51030630304
3BB8BA95691831   DERIC           PARKS                     OK     90010670956
3BB9124678B16B   KEVIN           LEE                       UT     31026182467
3BB9124A47B43B   SHANIKA         OLIVER                    NC     90003312404
3BB9161A54B943   SHELBY          SUAREZ                    TX     90015416105
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1898 of 2350


3BB91636355949   CASSANDRA           CASTANEDA             CA     90008056363
3BB9176848B166   MIGUEL              SABUCO                UT     90015147684
3BB91812A54165   RON                 GOERRES               OR     90015398120
3BB9197538B162   SAM                 KEEKE                 UT     90010269753
3BB91983891543   GERARDO             GALVEC                TX     90005509838
3BB92295891356   CARLOS              NAVA                  KS     90007652958
3BB92411397137   COREY               SMITH                 OR     90012584113
3BB9255465B393   JERRY               DUCKETT               OR     90014065546
3BB92776855951   GUSTAVO             RUIZ                  CA     49035317768
3BB9295537B639   GUSTAVO             HERNANDEZ             GA     90013929553
3BB92A31941277   JASPER              BIVINS-HUNTER         PA     90014910319
3BB9343854B943   PAYGO               IVR ACTIVATION        TX     90013834385
3BB9354A555972   JUSTIN              GREGG                 CA     90012875405
3BB9358A993768   JUAN PABLO          CACIQUE               OH     90009455809
3BB9384655B344   ANNIE               MOORE                 OR     44526588465
3BB9459A27B639   STEPHANIE           SHANKS                GA     90013535902
3BB9514847753B   THEODORE            BOLANDER              NV     90010961484
3BB953A1197127   ROBYN ADELE         PEARCE                OR     90007373011
3BB95562A91356   PHYLLIS             MORRISON              MO     90007295620
3BB95975A2B87B   NED                 VALDEZ                ID     90012429750
3BB9599374B281   NONA                LAWRENCE              IA     27041429937
3BB95A3835B344   SUZANNE             HANNAN                OR     44512190383
3BB95A5145B52B   LISA                VOORHIS               NM     90005750514
3BB95A71191831   CHRISTENE           WALDON                OK     90012560711
3BB96338776B89   JESSE               CORDES                CA     90009533387
3BB9637515B344   ANA                 VILLANUEVA            OR     44569953751
3BB963A1197127   ROBYN ADELE         PEARCE                OR     90007373011
3BB963A867B639   STEVEN              THOMAS                GA     90014823086
3BB9646442B835   LUIS                MARTINEZ              ID     42006094644
3BB969A244B943   MICHAEL             HENDERSON             TX     90008209024
3BB96A66744333   YESENIA MARGARITA   ARGUETA               MD     90011500667
3BB9711635B393   DAMON               FLENNAUGH             OR     90011081163
3BB97365555972   TAMI                ARAGON                CA     90008823655
3BB978A715B393   NICOLE              MACKAY                OR     90011378071
3BB97A56277539   ESTELLE             PEARCE                NV     90012340562
3BB97AAA75B344   SUSAN               HAYWOOD               OR     44515960007
3BB98268561963   AFRAH               BARWARI               CA     90006172685
3BB9828A95B52B   SHYLA               MCEWAN                NM     90013872809
3BB98472855951   DANIEL              RODRIGUEZ             CA     90014754728
3BB9848555B52B   SHYLA               MCEWAN                NM     90013164855
3BB9859824124B   CRYSTAL             MABIN                 PA     90001805982
3BB985A9193782   DIANNA              BARNHILL              OH     90011705091
3BB98624355972   JUAN                DELGADO               CA     90007346243
3BB98974541258   STEPHANIE           FOOTE                 PA     51070439745
3BB99328172496   AMBER               LEHMAN                PA     90007323281
3BB99938841258   DETTRA              FINN                  PA     90013939388
3BB99A24393768   MICHELLE            WASEM                 OH     90010980243
3BB99AA4484368   TAMI                PHILLIPS              SC     90013860044
3BB9B38964B943   QUENTIN             SHEPHERD              TX     90015423896
3BB9B39537B43B   JINBO               LU                    NC     11059243953
3BB9B44A855951   VERONICA            RAMIREZ               CA     90011594408
3BB9B5A7A5B281   LAWANDA             JONES                 KY     90009075070
3BB9B5A9891232   SHELTON             CROWDER               GA     90001495098
3BB9B726476B89   ANA                 RIVERA                CA     90010257264
3BB9BA1482B28B   BOZIE               ERVIN                 DC     90001170148
3BBB117768B166   CODY                HARPER                UT     90009511776
3BBB135197B639   BRENDA              TOLBERT               GA     90004583519
3BBB165A92B871   KYLE                MOSES                 ID     90013446509
3BBB1699672496   DORA                KEFFER                PA     90011706996
3BBB198AA2B93B   HEATHER             DESHAW                CA     45034169800
3BBB217712B835   HEATHER             YOUNG                 ID     42091931771
3BBB2541A41258   LETITIA             SHOFFNER              PA     51073555410
3BBB2941754165   BEDOLLA             GABRIELA              OR     90003659417
3BBB3122191356   ERICA               STEELE                KS     90004951221
3BBB373AA5B52B   ANN                 OLIVEIRA              NM     35086897300
3BBB3A29755972   ESTEBAN             VARGAS                CA     48095860297
3BBB4592241258   JOHN                NORMAN JR             PA     51084705922
3BBB4749476B89   SANCHEZ             WENDY                 CA     90010357494
3BBB476394124B   ANGELO              MAIORANO              PA     51066827639
3BBB487AA54165   LESLIE              NEWTON                OR     47018448700
3BBB494394B221   ADRIANA             RAMOS-LEDESMA         NE     27012929439
3BBB551A287B41   WHITTFIELD          HARRIS                AR     90012705102
3BBB5635547931   GERRI               RODRIGUEZ             AR     90007566355
3BBB5764461963   WAEL                AHAD                  CA     90015127644
3BBB5811A5B344   RACHEL              MILLER                OR     90000678110
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1899 of 2350


3BBB6776977539   DESIREE      ROGERS                       NV     90013947769
3BBB6938954165   SAMANTHA     LUNYOU                       OR     90014479389
3BBB719A561963   LIONESHA     FRAZER                       CA     90013351905
3BBB72AA655957   GRAY         MACGREGOR                    CA     90009412006
3BBB7327477544   SHYLENE      HODGE                        NV     90015423274
3BBB743A75B52B   CHARLES      ROMERO                       NM     90014834307
3BBB7836151339   DAVE         MCKINNEY                     OH     90014778361
3BBB7A82A8B166   EVA          MULTINE                      UT     90001770820
3BBB829935B344   EDUARDO      GUIJOSA                      OR     90014182993
3BBB839245B344   GISELDA      SHUREIH                      OR     90002813924
3BBB873A15598B   ANDREW       SANTILLANEZ                  CA     90013937301
3BBB89A5955972   SUJEY        MOLES                        CA     90010109059
3BBB9355155951   YADRIA       CERVANTES                    CA     49072003551
3BBB9441472455   MARY ANN     MULKERRINS                   PA     90014154414
3BBB9549A72B76   LISA         GALLARDO                     CO     33082305490
3BBB9639A76B89   EUNHEE       KIM                          CA     90014086390
3BBB9848241258   JENNIFER     REILLY                       PA     90011468482
3BBB984A191232   MARBSHA      NORMAN                       GA     90004738401
3BBBB313A5598B   JOSEPH P     GALINDO JR                   CA     49056233130
3BBBB35615B393   ASH          ZAHER                        OR     90006923561
3BBBBA53661963   MAYA         MELONE                       CA     90014860536
41111159272B4B   LENARD       HURST                        CO     33035491592
411118AA88B16B   JILL K.      THOMPSON                     UT     90011908008
41111A14A41258   TODD         JETER                        PA     51041320140
411129A854B271   ESTELLE      BOWMAN                       NE     90009589085
4111389645B53B   CESAR        CHAVEZ                       NM     90013798964
41113A14A41258   TODD         JETER                        PA     51041320140
41113A95861967   ESTNEFANY    VELASQUEZ                    CA     90009680958
4111464165B264   ASHLEY       HELM                         KY     90013686416
41114A3565B271   JESSICA      COOMER                       KY     90012510356
41115389872B23   TARA         EDWARDS                      CO     90010723898
4111551295B271   RONIESHA     JACKSON                      KY     90012845129
4111556945B271   TERRY        JONES                        KY     90010515694
41115657172B23   TARA         EDWARDS                      CO     90013776571
4111598437B347   DINA         CANCHO                       VA     90011399843
4111614975B53B   ASHLEY       PACHECO                      NM     90012941497
4111616995B53B   ASHLEY       PACHECO                      NM     35050821699
411164A295B271   CYNTHIA      JOHNSON                      KY     90001854029
41116989A55939   DEMETREAL    EDWARDS                      CA     90006029890
41117271A5B271   EUGENE       SHANKS                       KY     90012602710
4111768957B386   LEOCADIO     ROMERO                       VA     90010056895
4111779442B87B   LISA         BROADSWORD                   ID     90010077944
4111794422B27B   PEDRO        SIQUINA                      DC     81015599442
4111796729152B   MARIBEL      FELIZ                        TX     75023309672
41117A86241294   ANTHONY      BELLAND                      PA     90003140862
41118154A9313B   SHAYNE       NEILSON                      TN     90015431540
411186AA791988   AMOS         GARCIA                       NC     17081386007
4111876965597B   VICTOR       HERNANDEZ                    CA     90007397696
4111B3A2374B3B   CHARITY      SEYMOUR                      OH     90014703023
4111B587971999   DEBBIE       VALDEZ                       CO     90013705879
4111B75465B174   KRISTA       MCCMAIN                      AR     90011007546
4111B98297B475   DAWN         MORAN                        NC     90011249829
4111B99675597B   NATASHA      DIAZ                         CA     90010799967
4111BA97272B31   APRIL        GILES                        CO     90010820972
4112149135B58B   MARYBEL      RUIZ                         NM     90015124913
41122253A4B271   TANIA        RANKIN                       NE     27069242530
41122732972B4B   DEMI         RAMIREZ                      CO     90012777329
411231A5A2B87B   MICHELLE     TOTTENHAM                    ID     90010731050
41124237A5B58B   MARY         ARAGON                       NM     35068512370
411244A742B27B   DARNEL       MUSCHETTE                    VA     90005124074
41125555172B36   DAVID        EDGECOMB                     CO     33052315551
4112585722B935   SANDRA       SILVEIRA                     CA     90013498572
41125A62563673   TAY          WALKER                       MO     90009880625
4112654A257124   ANA          BLANCA                       VA     90006235402
4112669242B27B   JENNY        CORDONO                      DC     90008976924
41126A57A55939   SAMUEL       GONZALEZ                     CA     90013090570
4112757A65B222   BRANDON      PHILLIPS                     KY     90014755706
41129886772B4B   CHAD         BEHANNA                      CO     33027898867
411299A252B27B   CARLOS       SILVA                        DC     90010109025
4112B26814B271   JESSICA      AUTERA                       IA     27092262681
4112B313461963   JOSE         RAMIREZ                      CA     46057203134
4112B353A91569   GABRIELA     CORONEL                      TX     90012763530
4112B564593794   GWENDOLYN    RAY                          OH     90013075645
4112B63685B58B   ERICA        SAAVEDRA                     NM     90005476368
41131888372B43   VANESSA      PENA                         CO     33001068883
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4113244315597B   CAROL           PENDERGRASS               CA     90010954431
41132641A91988   MISSY           WEST                      NC     90014126410
41133195672B4B   ANDY            IDEK                      CO     33011541956
411336A795B271   JEREECE         COTTON                    KY     90005966079
4113463785597B   SIMON           VALDEZ                    CA     90009586378
4113476A95B242   DAVID           JOHNSON                   KY     90012197609
4113499862B27B   DEONNA          EVANS                     DC     90013959986
41134A4835B271   KRISTIN         LONGAKER                  KY     90012330483
41135A79455939   DEBRA           FLORES                    CA     49039130794
41136273A51334   GENEVIEVE       SOFRANEC                  OH     90013362730
4113777672B29B   SHARON          WRIGHT-MCNEIL             DC     90015197767
4113849A961963   DARLENE         RAMIREZ                   CA     90010734909
41138984572B36   DON             FOSTER                    CO     90009569845
4113955695B53B   SEAN            EAKIN                     NM     90008065569
4113969337B475   TIFFANY         BELL                      NC     90008966933
411398A1591394   JUSTIN          FOX                       KS     29030888015
4113B2A5591988   DEIRDRE         COZART                    NC     90014572055
4113B71218B165   ZACK            PACHECO                   UT     90011067121
4113B71A861963   KELTON          CHENAULT                  CA     90015207108
4113B82152B27B   CHRISTINA       LAND                      DC     90013148215
4113B865571933   ANDREA          GARCIA                    CO     90013938655
4113B889381639   RONDA           MOODY                     MO     29062208893
4113B95625B58B   KARLA ADRIANA   PEREZZ                    NM     90005039562
4114132915B222   JESSICA         JORDAN                    KY     68054073291
4114246AA93794   ANGEL           HENSON                    OH     90013304600
41142A15871999   ELIZBETH        BIBY                      CO     90003520158
41142A2185B58B   KARLA           GARCIA                    NM     35002190218
41143478272B36   DEBBORAH        HUSKE                     CO     33084814782
4114357625B58B   RAUL            APODACA-ANAYA             NM     90014185762
41143586A2B896   DAVID           TROUT                     ID     90001115860
41143A8A755939   SALVADOR        RIVAS                     CA     90013090807
4114452328B16B   MORGAN          TORRES                    UT     90002175232
4114469755B52B   EMILIO          MORALES-TOMAS             NM     36058146975
41144A7A491394   JACAB           BORTKA                    KS     90010580704
4114578319196B   RITA            OKUNSOKAN                 NC     90006517831
4114591675B271   SOFIA           RIVERA                    KY     68078409167
4114632987B475   BRITTANY        PITTMAN                   NC     90013773298
411476A295B58B   JACK            PINO                      NM     90014186029
41147AA735B271   VANESSA         WATSON                    KY     90015180073
41148A89361967   AIDE            VALLEJO                   CA     46063310893
4114B361251334   ANTWANE         SCOTT                     OH     66088233612
4114B4A152B87B   CHRISTOPHER     COOK                      ID     90010294015
4114BA51472B36   BRITTANEY       BROUSSARD                 CO     90013080514
4114BA73255939   TIFFANY         NASH                      CA     90013090732
41151499472B43   SETH            INGENTHRONE               CO     90004714994
41151854572B22   ELOHIM          BUSTOS                    CO     90013698545
41151A85155939   GRACIANO        BAUTISTA                  CA     90013090851
4115217695B271   DUSTIN          ROBEY                     KY     90005661769
411523A3593794   GLENDA          KEECH                     OH     90011003035
411523A6461963   LAKIESHA        JACQUETT                  CA     46041033064
4115281A371999   MICHAEL         CARRILLO                  CO     90012028103
41152A8885B58B   JOSHUA          HOLLOWAY                  NM     90000620888
4115362AA7B475   ELLA            ALSTON                    NC     11075866200
4115468665B174   ASEREA          CARTER                    AR     90014486866
4115471282B87B   RODNEY          GEIGER                    ID     90011877128
4115525825597B   DAVID           HAMPTON                   CA     90006912582
411552A136B145   JAMES           DOUGLAS                   MS     90015572013
41155716372B4B   MARLENE         DIMARCO                   CO     90003727163
4115592775B174   PRISCILLA       CRITTON                   AR     23092969277
41155A9A855939   JUANITA         PEREZ                     CA     90013090908
4115614A55B174   KALONDRA        NELSON                    AR     90012921405
41156316A71934   KAREN           HERNANDEZ                 CO     32022223160
4115671218B165   ZACK            PACHECO                   UT     90011067121
4115675255B52B   JESTIN          RUYBAL                    NM     36000177525
411578A9747954   ALMA            VAZQUEZ                   AR     25098438097
41157A59993794   BETHANY         GREHL                     OH     66064500599
41158667472B43   IRIS            ORTIZ                     CO     33039596674
41158728A91569   GLEN            IVY                       TX     75082817280
41158A21A5B58B   MATHEW          VARGAS                    NM     90006810210
4115B49A25B222   TARYNN          BUNDY                     KY     90004804902
4115B77495B174   JASMINE         WILLIAMS                  AR     90012007749
4116144432B27B   ANITA           HOSKINS                   DC     90013414443
4116241685B52B   KARINA          SAUCEDO                   NM     90013004168
4116257474B271   FRANK           MCKEE                     NE     90013045747
411631A665B52B   FELIX           MATZIR-XIA                NM     90007491066
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411633A7A24B42   MIRIAN       MALTEZ                       VA     90010753070
4116436552B87B   CHRISTINE    MAY                          ID     90014513655
411645A935B58B   JESUS        GAMBOA                       NM     90014265093
4116478A471999   RENA         MUTZ                         CO     38025907804
41164A85891988   CHARLENE     DOWDY                        NC     90014710858
4116513634B271   BRANDY       RICHARDS                     NE     90013491363
41165259A71934   PAUL         PARSONS                      CO     90007042590
4116527858B157   LINDA        DURAN                        UT     90012822785
41165669A91549   NALLIE       HERNANDEZ                    TX     75039756690
41165A8A171999   KIRK         CHILDRESS                    CO     90003520801
41166128972B43   LIN          KELLEY                       CO     90005631289
4116621457B475   TASHONNA     WITHERSPOON                  NC     90014392145
4116632A572B4B   ARMONDO      CAMPAS                       CO     90013143205
41166873672B47   MARIA        SIERRA BUSTAMANTE            CO     90008128736
41166A9745B58B   OLIVIA       LEON MUNOZ                   NM     90009600974
41167725972B43   MARIA        LUEVANO                      CO     90008437259
411687A3472B43   ROSALIE      VERDE                        CO     33013317034
4116882728B16B   GABE         CLARK                        UT     31059288272
4116883A65B174   TONILASHAW   WILBORN                      AR     23013058306
41168A96555939   AYANNA       HANES                        CA     90013090965
4116912A871999   DENNIS       FRANCIS                      CO     90013731208
4116971A95B222   DONALD       HALE                         KY     90014767109
41169A77555939   FELIPE       ELIAS                        CA     90014850775
4116B11932B87B   BRANDON      PURSE                        ID     41067081193
4116B2A9A2B27B   DARRRYL      DOWTIN                       DC     90012012090
4116B698972B4B   JUAN         FRANCISCO                    CO     90000656989
4116B739157127   DANILO       SALVADOR                     VA     90007697391
4116B916161967   CARLOS       YEPEZ                        CA     90013599161
4116BAAA141258   FRANCES      WOOD                         PA     90014090001
41171417A7B475   NICK         WILLIAMS                     NC     90014874170
4117149125B265   DANNY        NAPPER                       KY     90011344912
4117161125B174   ANTOINE      PENNIGTON                    AR     90014926112
411718A495B222   MARIA        ALVAREZ                      KY     90013688049
41171A19991873   DAWN         DEBOSE                       OK     21034100199
41172229172B36   LINDA        WILL                         CO     33097732291
4117241A14B271   ROSALIE      ANVARI                       NE     27043354101
41172A31591394   WILLAM       EISEN                        KS     29086300315
41173457972B4B   GORGE        GARSIS                       CO     90008704579
4117365498B165   ROSA         SALAZAR                      UT     31062386549
4117374375B53B   MAX          GALLEGOS                     NM     90012687437
4117511758B16B   MERETTA      ENGLAND                      UT     31011051175
41175A19971999   GABRELLE     SANDOVAL                     CO     38053140199
41176315A91873   CHRIS        WALKER                       OK     90005613150
4117667845B222   SAMANTHA     GILHAUS                      KY     90013986784
411767A1155939   PATTI        BIBB                         CA     90006737011
41177A3415B174   CHARVAI      GRAHAM                       AR     90013410341
4117988835B222   RANDY S      FORD                         KY     90010658883
4117997A971644   AMBER        BEMISH                       NY     90013489709
41179A4285B58B   SONIA        SABATINI                     NM     90014390428
4117BA12872B43   JACLYN       BELTRAN                      CO     90008370128
41181A23755939   HERIBERTO    CAPILLA-RAYON                CA     90013050237
4118214995B52B   ELIZABETH    GARDUNO                      NM     36054911499
4118496635B56B   SHIRLEYANN   VALDEZ                       NM     90014979663
41185119A61963   STEPHEN      BAXTER                       CA     46033181190
4118531A98B16B   MIKE         STAM                         UT     31045833109
4118591428B165   CHRIS        WIEDBUSCH                    UT     90007539142
4118611915B279   HOPE         MERRIT                       KY     90012701191
4118622363B125   SUZI         BRADFORD                     DC     90004612236
4118624A35B53B   ELOY         MORENO-LEOS                  NM     90013722403
41186498A5B271   DONNA        HOBSON                       KY     90009324980
41186886A72B4B   BRENDA       HERNANDEZ                    CO     90012978860
4118697325B52B   CARLOS       ALPIZAR                      NM     36013579732
4118726628B16B   LUANN        PRIETZEL                     UT     90011232662
41187859453B31   HUGO         PEREZ                        CA     90014188594
4118845568B16B   LIBAN        AHMED                        UT     90013474556
41188548772B36   LAURA        BECKETT                      CO     33039605487
4118858495B274   SHEILA       HAYES                        KY     90012515849
41189446A91873   JENNIFER     BRANNON                      OK     21056884460
4118B96935B174   EDWARD       JOSEPH                       AR     90015149693
4118BA8448145B   PANAGIOTIS   DIMITRIADIS                  PA     90014420844
41191617172B43   RONY         CRUZ                         CO     90009026171
4119166965B58B   JONATHAN     PASCO                        NM     90012416696
411916A825B58B   ERIC         MARES                        NM     90014186082
41192256972B43   GUADELUPE    MELERO                       CO     90013152569
4119239992B87B   SARAH        BLANKENBAKER                 ID     90004013999
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4119385512B87B   BERL         DOUGALL                      ID     90014588551
4119453755B271   PHILLIP      HICMAN                       KY     90000195375
4119463378B165   MATTHEW      DAVIS                        UT     31051216337
4119533795B174   JERMAINE     LOVE                         AR     23050543379
4119558265B52B   CESAR        MATURIN                      NM     90015075826
4119616584B271   MAURICIO     CANALES SANTIGO              NE     90014391658
4119694855B222   TIFFANY      PALACZ                       KY     90008209485
411969A2891988   LISA         MOSES                        NC     90009349028
41197718A72B36   STEVEN       JOLLY                        CO     90003117180
4119797A49373B   BRIAN        GRAY                         OH     90008699704
411979A932B27B   ANTOINETTE   WASHINGTON                   DC     90010939093
4119847528B16B   ANTONIO      LOPEZ                        UT     90007044752
4119867A955939   RONALD       DECANIO                      CA     49082836709
4119878744B541   FELIX        OLIVO                        OK     21511737874
4119886479152B   BRENDA       RAYOS                        TX     90007568647
4119936335B52B   KALEYN       PEREA                        NM     90012063633
4119B611593794   ASHLEY       KIBBEY                       OH     90002476115
4119B669671999   AUDRI        CHAVEZ                       CO     90012596696
4119B7A985B58B   DONOVAN      DUMAS                        NM     35053797098
411B111654B271   PETER        JOSHEPH                      NE     90010421165
411B131835B174   KIUANA       HARRISON                     AR     90014183183
411B195685B58B   LUCAS        HOWARD                       NM     90010659568
411B224A45B174   ILIZABETH    REYES                        AR     90012182404
411B236A261963   MARIBEL      CARDENAS                     CA     90010823602
411B2473A91873   FELICIA      BUCHANAN                     OK     90009894730
411B285499155B   MARIA        MERAZ                        TX     90007838549
411B2A7167122B   GEBREYESAS   GEBREMEDHIN                  IA     90015330716
411B3243861967   RUTH         NICKERSON                    CA     90007272438
411B348A951334   WALTER       DEMMITT                      OH     90009384809
411B3925755939   STEPHANIE    SIQUEIROS                    CA     90012449257
411B4566293794   VARGAS       COLON                        OH     90014635662
411B46A375B58B   SUJERY       ESPINOSA                     NM     90006816037
411B477795B222   GEORGE       ERVIN                        KY     90007137779
411B4A68671999   STEVEN       PARKER                       CO     38096850686
411B5159255939   YARRA        TORRES                       CA     90013101592
411B519778B16B   BRANDON      ALVORD                       UT     90005561977
411B538A29155B   ADELA        RICO                         TX     75015003802
411B543A471999   ROBERT       GRIFFIN                      CO     90013644304
411B547575B53B   QUOILA       ROFF                         NM     90001084757
411B5643433632   JOEY         LYNN                         NC     90004846434
411B58A4561963   JERRY        GOURDINE                     CA     90005208045
411B6489693794   CARINA       BENNER                       OH     90015004896
411B7625272B4B   ELVA         KEMP                         CO     90013016252
411B76A719313B   JOHONNA      HOSKIN                       KY     90006876071
411B7A3A955939   JESSIE       BEAVERS                      CA     90013090309
411B833748B16B   JOSE         GONZALEZ                     UT     90014063374
411B8411A93794   KEAUNA       STRICKLAND                   OH     90000534110
411B852385B271   ROBERT       RANDOLPH                     KY     90014195238
411B8762561967   NANCY        IBAÑEZ                       CA     46047097625
411B8927191873   ACACIA       PRUETT                       OK     90011529271
411B9536891569   REBECA       RASCON                       TX     90015025368
411B95A5491988   ANTHONY      MASON                        NC     90011255054
411B9851741294   JOSEPH       GRICAR                       PA     51033048517
411BB17A25B271   JUANITA      FALLER                       KY     90011021702
411BB198885949   KEITH        BEVERLY                      KY     90007541988
411BB214761967   CELIA        MUMPER                       CA     90011902147
411BB234255939   MARIA        SOTO                         CA     90014732342
4121116584B271   MAURICIO     CANALES SANTIGO              NE     90014391658
4121119617B475   WILMINGTON   STEELE                       NC     11005901961
4121146642B259   EMERSON      JIMENEZ                      DC     90004794664
4121181338B16B   MUNHAMMAD    SIAL                         UT     31082688133
41211889A91394   OMAR         ENRIQUEZ                     KS     29049458890
41212427A91988   MELISSA      MARSH                        NC     90014804270
41212A61A91988   SHANIQUA     COLE                         NC     90010570610
4121325415B174   TASHA        ESTER                        AR     90002352541
4121377222B828   JOSHUA       YOUNG                        ID     90004227722
4121449584B271   MICHELLE     MARIETTA                     NE     90002454958
4121531855B222   JACQUELINE   BIVEN                        KY     90014883185
4121543219185B   JOHN         STAFFORD                     OK     90014274321
4121565A872434   DIANE        SCUVOTTI                     PA     90009276508
4121588685B271   JAMES        HIGDON                       KY     90012868868
4121647528B182   ANTONIO      LOPEZ                        UT     90007044752
4121687565597B   JOSE         CEBALLOS                     CA     90012848756
41216A8598B16B   KEELY        CASAUS                       UT     31086560859
41216A9537B467   YADIRA       JUAREZ PEREZ                 NC     90010600953
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41217117A55939   JAIMI         POPE                        CA     90013091170
41217171672B4B   ADOLFO        BICARTE                     CO     90013931716
412195A1493794   ADAM          POTTS                       OH     90009645014
4121B24A455939   ROY           CHAVEZ                      CA     49073212404
4121B544172B36   ADRIENNE      UBAINYIR                    CO     90012785441
4121B57384B271   JUSTIN        UHL                         NE     90014635738
4121B718451334   TINA          WILLIAMS                    OH     66067777184
4121B924741258   MARGARET      ENGLERT                     PA     90010999247
4122119425B52B   GERI          LEYBA                       NM     90004811942
4122216328B157   THOMAS        JOHN                        UT     90004971632
4122218588B16B   FRANCES       TUAKALAU                    UT     31082611858
4122379745B174   ROSHADA       DAWSON                      AR     90012537974
4122391875B271   THOMAS        DODSON                      KY     90013239187
4122392A58B165   ALEXANDRIA    MARTINEZ                    UT     90015269205
412254A775B222   CHRISTINA     HOGAN                       KY     68093704077
4122564825B271   ALI           KHAN                        KY     90010246482
4122572775B52B   JOSE          BARRIOS                     NM     90015297277
4122594A591569   GEORGE        VILLALVA                    TX     90010029405
41226146A91569   DANIELA       RODRIGUEZ                   TX     75095951460
41226491A5597B   LATASHA       FORD                        CA     90012084910
4122668622B27B   JESSICA       WILSON                      DC     90014576862
41227223A55939   RUBEN         AVALOSVENTURA               CA     49082902230
4122778A681639   BYRON         ORANTES                     MO     29080197806
4122795875B53B   ANGELIC       SOTO                        NM     90005999587
4122798A45B271   DANA          BARRETT                     KY     68049079804
41227A8A951383   ESPERANSA     JERONIMO                    OH     90004620809
4122819864B271   ANA           MORALES                     NE     27061611986
41228348A91569   RASSCON       BRENDA L                    TX     75047673480
4122848855B174   ESUGINA       BAKER                       AR     90014724885
4122865417B475   MICHAEL       SWANN                       NC     90008426541
412328AA35B53B   JORGE         ZARATE                      NM     35098658003
41232A1A893794   SANDY         GODLOVE                     OH     90014430108
41232A7A955939   TRACY         MENDOZA                     CA     90008610709
41233A25433631   RACHANE       MCCOLL                      NC     90006440254
4123436175599B   SHADRIENNA    NASH                        CA     48023173617
4123483667B475   BREANA        HARGROVE                    NC     90014418366
4123488AA61963   FADI          SLEEMAN                     CA     46027658800
4123547342B27B   DOMINIQUE     FLOYD                       DC     90008554734
4123586645B58B   GRICEIDY      SOTELO                      NM     90015148664
412361A6391394   YESENIA       GUACHUZ-MIRANDA             KS     90012101063
4123664A62B87B   JILL          SMITH                       ID     90014526406
4123672622B896   DAVID         TORRES                      ID     41089317262
41236792A7B475   ADAM          BLACK                       NC     11047697920
412371A9A55928   LUIS          JOHNSON CORTEZ              CA     90007741090
4123777564B271   JEAN          LANPHIER                    NE     27032847756
41238489A91527   JENNY         SANCHEZ                     TX     90013314890
41238A59191569   JAIME         RUIZ                        TX     75009650591
41239359172B36   MICAELA       YOQUES                      CO     33089763591
4123948A231283   RONALD        HUNT                        IL     90008254802
4123B28A32B27B   YAHYA         GUVEN                       DC     90011662803
4124127A95B53B   CINDY         ARMIJO                      NM     90013542709
4124252364B271   GARFIELD      LOWE                        NE     90000615236
4124272845B271   DOUGLAS       ALLEN                       KY     68080357284
4124282965B58B   CHRISTOPHER   MORENO                      NM     90010108296
4124295825B53B   GREG          ARCHIBEQUE                  NM     90011029582
41243331772B43   CAMILLE       LEVESQUE                    CO     33006303317
41243558A72B4B   MARINA        ADAMS                       CO     90010145580
4124372192B27B   RAINNA        PARKS                       DC     90012787219
4124381755597B   STACIE        MARTIN                      CA     49055228175
4124432754B271   ANDREW        JUDE                        NE     90010693275
4124463948B16B   JANEY         YOUNG                       UT     90014356394
4124488615B174   TINA          SMITH                       AR     23069578861
41244A4675B53B   JARED         STARR                       NM     90011930467
412463A6555939   SALVADOR      ESPINO                      CA     49060613065
4124646632B27B   RHEUTHELIA    SIZER                       DC     90009404663
41247A64A5B222   EVONNA        DORSEY                      KY     90008290640
4124861915B58B   SERGIO        LOERA                       NM     90014186191
4124895145B52B   MANUELA       MARQUEZ RICO                NM     36013089514
4124B29A372B32   KARLA         ESTRADA                     CO     90012012903
4124B41952B953   MAX           RAMIREZ                     CA     90011754195
4124B441991988   ANTHONY       NELSON                      NC     90014274419
4124B963A71946   TIA           SCHAFERS                    CO     90013789630
4124B992193794   EARL          HENDRICKSON                 OH     66030409921
41251396272B43   ALEJANDRO     HERNANDEZ                   CO     33028483962
41251961172B4B   NOLBERTO      OJEDA                       CO     33076079611
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41252362672B43   LETISHA      FLORES                       CO     33022813626
41252A78172B33   LINA         PIZARRO                      CO     90012030781
4125353372B84B   WOLDEGABIR   YISAK                        ID     90012795337
412536A4555939   CLEO         STACY                        CA     90005146045
41253A7A14B271   EDWIN        VELASQUEZ                    NE     90012750701
4125438285B271   ANNA         ZAMBRZYCKI                   KY     68001633828
4125453362B87B   MARIA        MCNAMEE                      ID     41090835336
41254A4227B472   NORMA        WALKER                       NC     11091400422
4125541155B174   MARK         COLE                         AR     23084784115
4125563665B58B   SONIA        MONROY                       NM     90014186366
412561A7593794   ANDREW       GALE                         OH     90014761075
4125664A95B58B   MARIO        VALDIVIA                     NM     90014186409
41258174A91988   TONIEA       SLAUGHTER                    NC     90010521740
4125879395B271   NAOBIE       LEWIS                        KY     90014077939
4125917A671999   LEROY        PLANCENCIO                   CO     38051651706
4125939869155B   RAFAEL       VALENZUELA                   TX     90000933986
412595A9791988   JOSE         BERNAL                       NC     90010575097
4125977175B388   TERI         WINEGAR                      OR     90006927717
4125983725B53B   EDELSIO      MOJENA GARCIA                NM     90013048372
4125992A52B27B   ENO          AKA                          DC     90014719205
4125B49A491234   ELTON        SCHELY                       GA     90013154904
4125B511491988   WILLIAM      CRUDUP                       NC     90002145114
4125B76412B583   DEONTAE      SMOOT                        AL     90013827641
4125B99715597B   LATASHA      ALLEN                        CA     90012859971
4126124555B53B   MARCUS       TRUJEQUE                     NM     90007582455
4126139575B52B   IDANIA       GARDEA                       NM     90013863957
41261588A97134   TERESA       MILLER                       OR     44508945880
41261688A72B36   EPIFANIO     BUSTOS SANCHEZ               CO     90012946880
4126254545B271   CRYSTAL      EDWARDS                      KY     90014965454
41262AA363B359   JULIE        CLARK                        CO     90001380036
4126314815B56B   VIRGINIA     GALLEGOS                     NM     35031081481
4126341A45B174   MARTINA      GOODEN                       AR     23091904104
412636A8691873   CARMEN       TAPP                         OK     90007806086
41264A79A5B53B   DANIEL       FIGUERAS                     NM     90011060790
4126542855B53B   ERIC         MADDY                        NM     35035644285
41266A16593721   DEBORAH      WILLIAMS                     OH     90008750165
4126735588B165   JAMES        MOSLEY                       UT     90013083558
4126736365B58B   HUMBERTO     VALENCIA                     NM     90014933636
4126779348B16B   CHRIS        KERRIGAN                     UT     90014357934
41267966272B43   BEVERLY      SANDERS                      CO     90012449662
41268427372B43   LAVERNE      GARCIA                       CO     90012924273
41268469472B36   HONYET       PHU                          CO     33098014694
41268492872B4B   MARIA        MERCEDES CAMACHO             CO     90012434928
41268787A5B388   HUMBERTO     LUQUENO                      OR     90013797870
4126883A993794   DANIELLE     HOLLON                       OH     90014068309
412695A2171999   GINA         MARTINEZ                     CO     38064325021
4126975849155B   MIGUEL       ESQUIVEL                     TX     75076067584
4126B28A25B52B   DAILY        MUNOZ                        NM     90007662802
4126B524A4B271   KAITLYN      PIERCE                       IA     90013545240
4126B599A73264   ISIDRO       RIVERA                       NJ     90014555990
41272185672B43   CHRIS        MAESTAS                      CO     33047481856
41273196672B43   MIGUEL-ANG   VILLAGRAN-PEREZ              CO     90001821966
41273258A93794   BROOKE       MORRIS                       OH     90001692580
412733A9A47828   DEBORAH      BLASH                        GA     90007753090
4127363A461967   AIOTEST1     DONOTTOUCH                   CA     90015116304
4127388A18B165   RAQUEL       CORONA                       UT     90013688801
4127425295597B   CARLOS       CASTILLO                     CA     49070692529
41274AA3971999   NIGEL        MAVEN                        CO     90014380039
4127544284B543   KEETRA       KEARNS                       OK     90009894428
4127614265597B   FLOYD        GARDNER                      CA     90009601426
4127699A261967   ANGELA       BELLAMY                      CA     90014269902
41276A2445B271   JOHN         PARSLEY                      KY     90013020244
4127715252B87B   DENISE       SHEAR                        ID     90006901525
4127767265B222   KACEY        NEWTON                       KY     90011966726
4127818395597B   ROSEMARY     CAZARES                      CA     49023561839
412784A272B87B   CANDY        MARSH                        ID     90012384027
41278829A93794   JAMI         HELTERBRAN                   OH     90010188290
4127B55A891569   GRACIELA     MARTINEZ                     TX     90009945508
4127B79A241258   CHARLES      ARGYLE                       PA     51002987902
4127BA54872B4B   LUZ          PALMA                        CO     33017950548
4128134292B87B   DIANNA       ADAMS                        ID     90010503429
4128137A22B27B   ANA          CENTENO                      DC     90009893702
4128171362B87B   DIANNA       ADAMS                        ID     90012037136
41282264372B43   HUGO         HERRERA                      CO     33023232643
4128236214B271   BRIAN        BRAKE                        NE     27060003621
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4128292828B165   SHERRY         LONG                       UT     31058159282
4128298A691988   BRANDIJSA      MURPHY                     NC     90012179806
41282A22A93794   TINA           WILLIAMS                   OH     90012870220
4128355884B271   MELISSA        THOMPSON                   NE     90002215588
4128372438B16B   SALINA         SPIGNER                    UT     31036797243
41284519A91394   OLLIE          M CHEATOM                  KS     29044965190
412851A762B27B   LISA           BAKER                      DC     90013121076
4128596A35B52B   GLORIA         BARBERO MARTINEZ           NM     36030979603
4128634595B56B   RACHEL         MAESTAS                    NM     90006513459
4128755564B271   PRAMOTE        KHAMSANIT                  NE     27040665556
4128771385B222   MEKIA          PALMER                     KY     90014767138
4128775835B53B   ALCIDES        FERRAND-GOMEZ              NM     90013697583
4128783125B271   JORGE          REYES                      KY     90009858312
412882A8851334   TONY           COOK                       OH     90014732088
41289125A71934   AUGUSTINE      YANRUW                     CO     90001101250
412894A247B475   WILSON         HERNANDEZ                  NC     90012474024
412894A2571999   HOLLY          HERNANDEZ                  CO     90013874025
4128B38195B174   BRIAN          COSBY                      AR     90015033819
4129138252B87B   AMANDA         AGA                        ID     90014893825
412913A5A61963   JANIE          SENG                       CA     90014233050
4129214135B271   DWANE          GUESS                      KY     68014561413
4129282A591569   SAUL           MENDOZA                    TX     75091828205
4129289175B52B   AMANDA         ROMERO                     NM     36064588917
41294336472B43   EVONNE         GUERRA                     CO     90013443364
41294748A51383   DINAH          STUDT                      OH     66052327480
412949A775B174   DEBBIE         HUTCHINSON                 AR     90014469077
41295319472B36   DEJA           RILEY                      CO     33095533194
412962A3541258   TIFFANY        BOWIE                      PA     90010972035
4129721889313B   DONNA          ELLIOT                     TN     90014582188
4129736265B52B   SERGIO         FEGUROA                    NM     90012093626
4129766625B58B   MARIA          VARGAS                     NM     90014186662
4129775412B87B   ELIZABETH      BECKEMEYER                 ID     90013157541
41297A5572B27B   SUQKITHIA      ROBINSON                   DC     90015230557
41298496272B43   JOHN           PALFY                      CO     90002274962
4129927AA5B58B   MARYLOU        BACA                       NM     35046862700
412992AAA51334   MARIE          FRAZIER                    OH     90013932000
4129B142255939   LETICIA        RODRIGUEZ                  CA     90013091422
4129B37242B84B   TESFAMICHAEL   WELDAY                     ID     90013633724
4129B64725B58B   JESSICA        SAENZ                      NM     90014186472
4129B92AA71999   ANGEL          RAMOS                      CO     90001899200
4129BAA6A72B4B   DIANA          BRADFORD                   CO     33086210060
412B115A472B43   JUSTIN         MATSON                     CO     90009741504
412B178335B174   JONATHAN       FLORES                     AR     23068077833
412B379385B174   CATRICE        CHANDLER                   AR     23068017938
412B3817461967   KRYSTIE        URREA                      CA     90013358174
412B3921372B43   DWIGHT         ODEN                       CO     90002089213
412B3AA4584368   FERNANDO       DEL ANGEL                  SC     14517480045
412B463888B16B   ROSA           LEYVA                      UT     90011196388
412B5224341294   GARY           HARRISON                   PA     51038672243
412B52AAA2B27B   ANA            ESCOBAR-RAMIREZ            DC     90012372000
412B594784B271   REX            YOUNKIN                    NE     90013289478
412B6434193751   TAMARA         DAY                        OH     90002164341
412B652467B283   ROBERT         ZIMMERMAN                  AZ     90013175246
412B77A982B27B   SHALANDA       MYERS                      DC     90003907098
412B789465B58B   JOSEPH         SOTO                       NM     90010658946
412B826218B16B   JUSTIN         HANSON                     UT     90012872621
412B8545593794   KASIE M        KIRBY                      OH     66017005455
412B8594831959   SARINA         BROWNLEE                   IA     90015555948
412B8636A5597B   BENJAMIN       FALCON                     CA     90013756360
412B9383A2B828   KITTY          RICHARDS                   ID     90007603830
412B947872566B   CHARITY        WHITTED                    AL     90011344787
412B982558B165   CECI           CASTILLO                   UT     90009858255
412BB198661963   ANTHONY        OLIVER                     CA     46054341986
412BB47358B165   NATASHA        BUTCHER                    UT     90014624735
412BB63545B52B   TRAVIS         CHAVEZ                     NM     90009096354
412BB726A5B52B   BERNIE         ROYBAL                     NM     36022197260
412BB79685B271   ALICIA         PATTON                     KY     90011887968
412BB82688B16B   SHALESE        BLACKWELL                  UT     90014228268
412BB861A91569   MANUEL         JASSO                      TX     75026018610
412BB8A3241258   JAMIE          BIZZAK                     PA     90012468032
412BB95553146B   CHIKAKO        USUI                       MO     90011839555
412BBA8255B53B   MARIA          TRUJILLO                   NM     35074940825
413111A1691394   ALVIN          BROCKINGTON                KS     29031481016
4131241167B49B   TIFFANY        HOPKINS                    NC     90013334116
413133A865B271   KORRHEON       SMITH                      KY     90012583086
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4131347652B87B   BOBBIE        MICKELSON                   ID     90004304765
413143AA472B43   ROBERT        MOORE                       CO     90012863004
4131444788B165   SARAH         MADSEN                      UT     31035314478
4131587825597B   ANDREW        GONZALEZ                    CA     90001898782
4131619785B53B   PAYGO         IVR ACTIVATION              NM     90014951978
413169AA591569   LUIS          CARILLO                     TX     90015219005
4131714447B475   NELSON        DELGADO                     NC     90008971444
4131734114B271   FATUMA        OSMAN                       NE     90009423411
4131836A947954   RHONDA        ADAMS                       AR     90006183609
4131856552B87B   KHRISTINA     GARCIA                      ID     41023155655
41318969972B4B   PETE          MEDINA                      CO     90011339699
4131938875B174   MARY          JOHNSON                     AR     23018773887
4131969A793794   MELODY        SMITH                       OH     66039056907
4131986375B53B   SONYA         FLORES                      NM     90011588637
4131997412B87B   CHRISTY       MYERS                       ID     41080189741
4131B137293794   REDONDA       SMITH                       OH     66006331372
4131B236A51334   ERIKA         WARD                        OH     90011532360
4131B51112B87B   SCOTT         THORNBRUGH                  ID     41091545111
4131B56A891988   WILLIAM       REAMS                       NC     17022305608
4131B691272B43   GUILLERMO     RIVAS                       CO     33062436912
4131B835647954   MICHAEL       LEACH                       AR     90005468356
413212A687B475   DEMARQUES     ANDREWS                     NC     90010992068
4132133A45B271   CINDY         GRANT                       KY     90012963304
4132135815B52B   VALERIE       ALVARADO                    NM     90011183581
4132166625B58B   MARIA         VARGAS                      NM     90014186662
4132199625B271   KEELEY        INGRAM                      KY     90000759962
4132229162B27B   DONALD        DRAFFIN                     DC     90012812916
4132323132B87B   DEBBIE        WIGEN                       ID     90014242313
41324419A5B174   CHANCESOLER   PHILLIPS                    AR     90005264190
4132452A491394   MANDY         REDINGER-MARMOLEJO          KS     90006655204
41324A12371999   BRANDIE       BACA                        CO     90013910123
41325291A91394   LOWIS         VELEZ                       KS     90014372910
4132566625B58B   MARIA         VARGAS                      NM     90014186662
4132574585B58B   AUDRIANA      MASCARENAS                  NM     90009457458
4132677548B895   TALLY         LAJAR                       HI     90015157754
41326A6315B58B   FABIAN        WILLIAM                     NM     90008160631
41327285A5B174   KAREN         CARTER                      AR     23095062850
4132854995B52B   RAMONA        MARTINEZ                    NM     90007795499
4132867A684338   HANAN         MOUHAOUESS                  SC     90010466706
4132897915B58B   RITA J        GAYTAN                      NM     90010659791
41328A4195B222   VICKTORIA     MYERS                       KY     90010820419
4132952525B174   SHANNON       STEWART                     AR     90015205252
4132956A174B24   FRANKIE       JOHNSON                     OH     90013735601
4132B15557193B   WILLIAM       HILL                        CO     90001081555
4132B59A75B222   LAURA         MARTIN                      KY     68000175907
4132B6A182B27B   VALERIE       WILLIAMS                    DC     90008306018
413325A815B271   DEBORAH       ALLENDER                    KY     68007795081
41332AAA35B52B   CHULEE        CHOOWONG                    NM     90014410003
413347AA77B475   CHARLES       BROWN                       NC     11093917007
4133566795B58B   DEZMAND       LOWERY                      NM     90014186679
4133777378B165   MERCEDES      BRICENO-ALVAREZ             UT     31009967737
4133841195B53B   BRAD          GREEN                       NM     35086114119
4133864138B16B   CHRISTIAN     LOPEZ                       UT     90013966413
4133931A691569   URIEL         DUARTE                      TX     75086043106
4133944475B52B   ELFEGO        VARGAS                      NM     36044644447
41339A93951334   STEVEN        BOWDEN                      OH     66030560939
4133B718A8B169   KARLI         FAIT                        UT     90007687180
4134119AA61967   MARIA         DAVILA                      CA     90000241900
4134219124B271   RON           DIAZ                        NE     27053041912
41342468A47954   CLEMENTE      SOTO                        AR     90006184680
41342641772B43   JESSICA       CAYLER                      CO     90010136417
4134282538B16B   JEREMY        MAESTAS                     UT     90008628253
41342A3315B58B   JOSEPH        DOMINGUEZ                   NM     90014900331
41343229A5B222   LEONARD       BROWN                       KY     68010532290
4134334A571934   ERIKA         GOZALEZ                     CO     90002243405
41343A4345B52B   ERICK         TATAJ-LOPEZ                 NM     36068000434
41343A6675B174   CLAUDE        JOHNSON                     AR     23014320667
4134416235B174   KILA          BRASON                      AR     90012531623
413451A6491988   NAKIA         BLUE                        NC     90014621064
4134551885B271   CHRISTINA     ARRIETA                     KY     90013725188
41345614A61967   ROSA          MONDRAGON                   CA     90014156140
4134572615B58B   GLADIS        BARGAS                      NM     90010187261
413457A8355939   ALMA          FIGUEROA                    CA     90003207083
413468A9A72B36   VINCENT       VARGAS                      CO     33090738090
41347341572B4B   DORELY        HERRERA                     CO     90012883415
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4134811155B53B   JENNIFER           PARADA                 NM     90010311115
41348396872B4B   EULA IONE          WHITNEY                CO     33050953968
4134867328B16B   TYLER              JOHNSON                UT     90015306732
4134894635B52B   DENIS              OROZCO OLIVAS          NM     90012339463
41349A57861967   PATRICIA           ELIAS                  CA     90012990578
4134B45197B475   ANNEISSA           HYDE                   NC     90014094519
4134B552861963   NKUNZIMANA         DEO                    CA     90003285528
4134B581461967   ROSALBA            MONDRAGON              CA     90014155814
4134B675191569   NOEMI              GONZALEZ               TX     75009656751
4135171432B27B   MONE               HERNDON                DC     90012837143
41352293872B4B   WILLIAM            NELSON                 CO     90011012938
4135236A34B271   JASPER             KRMPOTIC               NE     90003493603
4135282325B58B   MARCOS             ORNELAS                NM     90010878232
41352968A91569   RICARDO            GOMEZ                  TX     90010359680
41353759772B43   ROSARIO            GARCIA                 CO     33076317597
4135442452B87B   JESSE              WARREN                 ID     41072124245
41354697A71999   AMY                ROSS                   CO     38045616970
4135477318B165   MANDY              WHEELER                UT     90011517731
4135488545B53B   ADAM               CARRILLO               NM     90013468854
41355435772B43   ERIN               FLOYD                  CO     33028484357
41355662233B55   JOVAWN             WHITTED                OH     90015476622
41355A4575B271   JOHN               HALL                   KY     90005330457
41356263A61967   KENNETH            CONFER                 CA     90005092630
4135647127B475   AJ                 TYLER                  NC     11007154712
4135653365B222   MIRELES            LOPEZ                  KY     90012425336
4135712538B16B   BEATRICE           FERNANDEZ GARCIA       UT     90012691253
4135754455B297   DAVID              SULLIVAN               KY     68061435445
4135769537B475   CHIQUITA           SMITH                  NC     11083126953
4135833852B87B   BRANDON            BEACH                  ID     90006363385
41358489985B26   RICARDO            THOMAS                 FL     90015464899
41358614172B36   MICHAEL            HOLDEN                 CO     90013596141
413586A3761963   BRADISON           JONES                  CA     90011656037
41358989A5B271   TYSHANA            HUDSON                 KY     90008869890
41358A3367B475   JOSE               SANTOS                 NC     90001760336
4135966A693751   JEROME             COSTELLO               OH     90014456606
4135B64675B52B   KAYLEEN            BARELA                 NM     90006216467
4135BA5598B165   JUAN               GALLEGOS               UT     31023870559
41361739A61963   DAVID              PIMENTEL               CA     90011797390
41362291172B4B   STEVEN             PELLETIER              CO     90012122911
41362682A86478   JOHN               WALTON                 SC     90015106820
413627AA751334   JOHN               MOEHLMAN               OH     66090507007
41363175A51334   DESHANNE           LEWIS                  OH     90013291750
41363773A93747   ELIZABETH          BAILEY                 OH     90012437730
4136416A75B271   FRANKIE            BIBB                   KY     90014591607
4136464A68163B   BRIDGET            WOODS                  MO     29004696406
41364837572B36   ANGEL              VALDEZ                 CO     90010768375
41364A9A855939   TONY               LOPEZ                  CA     90013760908
4136656638B16B   JENNIFER           SANFORD                UT     90011345663
4136676915B58B   AMANDA             CASTILLO               NM     90008337691
41367166A61963   DORIS              CHAPA-ALVAREZ          CA     90014761660
413672A7555939   SHANINE            DIAZ                   CA     90012382075
4136749232B27B   LAKISHA            SMITH                  DC     90011084923
41368A9574B271   VICTORIA           CRAWFORD               NE     90012350957
4136958945B53B   KAREN              MANJARREZ              NM     35007465894
4136964A861963   RICKEY             THOMAS                 CA     46078716408
4136B821857134   SAIRA              DIN                    VA     90002658218
4136B82935B53B   RODIMIRO           URIBE                  NM     35041568293
4137219777B694   KIESHA             THOMAS                 GA     90007831977
41372369A61963   BRIAN              MOODY                  CA     46016963690
413724A6291394   KATHERINE          MOHLER                 KS     90008854062
4137268A32B87B   KRISTYN            BEATTY                 ID     90009946803
4137324AA51383   SAMUEL             GARCIA                 OH     66055792400
413737A2671999   CRYSTAL            MCNEILL                CO     90010367026
4137411815597B   RYAN               LUCAS                  CA     49061741181
4137466134B271   CANDIE AND FRANK   SARMIENTO-JIMENEZ      NE     90013046613
41375276372B43   FELIPE             ARREDONDO              CO     90010252763
4137598975B53B   CHRIS              LINVILLE               NM     35015069897
41376281376B48   MARGARITA          AVENDANO               CA     46064292813
41376317172B36   MARIA              MAGDALENA              CO     33002843171
4137644395B52B   MARIA              SANDOVAL               NM     90006504439
41377177A71999   NIKI               GARCIA                 CO     90012561770
4137727364B271   DOMINGO            PERCERO                NE     90006822736
41377729A41294   ERIC               BUGGS                  PA     90013147290
413783A355B271   DONALD             DALTON                 KY     68064413035
4137841995597B   PERNELL            LONG                   CA     90009394199
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4137935858B654   CANDICE       HALL                        TX     90015253585
41379476472B43   ERIC          GALLEGOS                    CO     90005444764
41379A9268B16B   SERGIO        LOPEZ                       UT     90013990926
4137B16672B27B   ROBERT        OXLEY                       VA     90014781667
4137B172161963   HERIBERTO     PEREZ                       CA     46084911721
41381134A5B299   DEWEY         MEEKS                       KY     90008301340
4138245768B16B   MARIA         ESCALANTE                   UT     31039014576
4138261A191569   LUIS          ALBERTO                     TX     90002366101
4138278438B165   PATRICIA      JONES                       UT     90012567843
413833AA62B27B   CHARLISA      MARTIN                      DC     90014703006
4138373755597B   JOSEPH        GUADAGNO                    CA     90015177375
41383A35172B4B   JAMES         WALKER                      CO     90009970351
4138529165B52B   NERY          DIEGUEZ RODAS               NM     36085872916
41385A34755997   RICHARD       SCOTTI                      CA     49056310347
4138631785B53B   JOSE          JAQUEZ                      NM     90013093178
4138641634B271   PAYGO         IVR ACTIVATION              NE     90015294163
4138663825B174   DEVON         HATCHETT                    AR     90009416382
4138676A72B27B   VERONICA      DIAZ PEREZ                  DC     90011667607
41387265572B43   ROSA          MENJIVAR                    CO     90007332655
4138766525B52B   MIKE          SEDILLO                     NM     90000666652
4138769815B222   VAKEISHA      KNIGHT                      KY     90013986981
41387969572B36   CHRISTINA     NOYCE                       CO     90012269695
41389623A71999   ALICIA        FLORES                      CO     90013326230
4138968997B475   LAVETT        DAWKINS                     NC     90014626899
4138B17A35597B   LORENA        ROMERO                      CA     90012311703
4138B361491569   MIKE          MEDINA                      TX     75071033614
4138B769991394   ZACHARY       HARTKOPP                    KS     90012747699
4138B938171999   STEVE         SALAZAR                     CO     38084069381
41391553A5B52B   ROSALBA       GRADO                       NM     36062735530
4139181365597B   HER           BLIA                        CA     90007128136
413922A928B16B   LYLE          HENDERSON                   UT     90013822092
4139393452B268   MARIUM        JOHNSON                     DC     90003789345
41393A22A2B267   SHALONDA      FREEMAN                     DC     90010500220
41393A66971999   MANUEL        TORRES                      CO     38093300669
4139534A32B27B   CHRIS         EDWARDS                     DC     90013813403
4139542512B27B   PORTRINA      FRANKLIN                    DC     90002324251
41395792972B36   SHAUN         ZARATE                      CO     90014387929
4139686885B222   MICHAEL       EALY                        KY     90013688688
41396A83556355   ABAGAIL       PETERS                      IA     90015300835
4139737575B58B   NANCY         BEATRIZ MARTINEZ            NM     90014203757
413995A965B222   ANGELIA       BEAMS                       KY     68004975096
4139B4A8A3B394   KAMELA        HARMAN                      CO     33089814080
4139B88967B475   ALICIA        NAVARRO                     NC     90006528896
413B11A392B27B   SHIMERE       PAYNE                       DC     90001201039
413B13A985B174   PRINCESS      JACKSON                     AR     90014213098
413B155A35B271   RENEA         FORD                        KY     68033975503
413B163378B165   MATTHEW       DAVIS                       UT     31051216337
413B1984A91394   FELICIA       GRAHAM                      KS     90013169840
413B2278961963   HUGO          SANCHEZ                     CA     90013842789
413B314425B271   JACK          LEWIS                       KY     90012791442
413B322AA5B52B   RUTH          DUARTE                      NM     90014742200
413B3648491988   LISA          SUMPTER                     NC     90013736484
413B391528B16B   AMANDA        KINDER                      UT     90014309152
413B3AA3991569   DEBRA         LOPEZ                       TX     90010710039
413B5122961967   JOE           DIRT                        CA     90010791229
413B514195B222   JAMES         MORRIS                      KY     90014171419
413B551132B27B   CAROL         CHASE-JUDGE                 DC     90001855113
413B5598171934   ALVINO        SANCHEZ                     CO     32074505981
413B5942591394   ILDFOMSO      PEREZ                       KS     90011489425
413B6612851555   SHYREKA       TURNER                      IA     90014986128
413B6813A8B165   CECI          CASTILLO                    UT     90009858130
413B721565B58B   JEREMY        OSKIN                       NM     35075632156
413B816592B87B   DEEDEE        CROSBY-SMITH                ID     41086191659
413B8296A5B271   ROBERT        BURDEN                      KY     90013522960
413B9256191394   EDITH         GODINEZ                     KS     90013882561
413B9266172B4B   DEVON         LENTZNER                    CO     90014082661
413B926788B16B   ERIC          ANDERSON                    UT     90009862678
413B988515B52B   GABRIELA      LOPEZ                       NM     36050618851
413B9A57971999   JOE           GARCIA                      CO     90014740579
413B9A94981639   GERARDO       PAZ                         MO     90013940949
413BB21932B84B   OMAR          AVDUSSABUR                  ID     90012472193
413BB71A691873   TREY          CARDER                      OK     90008587106
413BB89A572B4B   RONALD        MILLER                      CO     90012868905
4141151215B222   DARNELL       MARTIN                      KY     68059285121
41411535472B36   CHRISTOPHER   WORRALL                     CO     90012925354
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4141331812B27B   TRACIONNA     MARABLE                     DC     90011233181
41413597A47964   STEVEN        STEVENS                     AR     90014635970
41414862A5B222   KENONTEZ      MALONE                      KY     90015158620
41414A29691971   ALEJANDRA     ISIDRO TOME                 NC     90007030296
4141548785B52B   KATHLEEN      COMPTON                     NM     90015274878
41416134A5B52B   CRYSTAL       MAEZ                        NM     36042781340
4141675975597B   ALVARO        MARAVILLA                   CA     49005587597
4141694268B165   MARNIE        FERNANDEZ                   UT     90011049426
4141714335597B   MIKE          GOMEZ                       CA     90009431433
41417A66691988   LINDA         JACKASON                    NC     90011260666
41418166A55939   GUILLERMINA   ORTEGA                      CA     90011211660
4141857515B53B   AMANDA        COX                         NM     35098775751
4141858595B52B   MARILYN       MONROE                      NM     90014705859
414186A7861995   FERNANDO      VALDEZ                      CA     90014326078
414186A8691569   EVERT         ROSALES                     TX     75037986086
41418A63226766   JARED         BEISWENGER                  VA     83005300632
4141955148B165   JERRY         BRADY                       UT     31020705514
4141B18A191873   KRISTINA      LOUDERMILK                  OK     21087311801
4141B386272B4B   SYDNI         MASDEN                      CO     90014873862
41421189A72B4B   KENDRA        HERNON                      CO     33010251890
414219A2861967   CATALINO      CRUZ                        CA     90012649028
41423176972B4B   JUAN          PICAZO                      CO     33005371769
41423A3392B27B   CRYSTAL       LEON                        DC     90015130339
414248A3361963   ALVARO        PRADO GARCIA                CA     90010708033
4142518668B355   FRANCINA      DANTLER                     SC     90008551866
4142521845B174   MARIA         ROBLEDO                     AR     90010082184
414253A2671999   ROSA          AREVALOS                    CO     38004643026
4142583215B174   JOSE          GUTIERREZ                   AR     90001238321
41425966A71934   DENNIS        WATSON                      CO     90002059660
41425A16351334   AMBER         GORDON                      OH     90011110163
414263A4872B4B   MEGAN         RAILEY                      CO     90012333048
414263A7272B36   LORRAINE      PERSINGER                   CO     90001853072
4142663965597B   MARISOL       AVILA                       CA     90009586396
4142673273B181   GIVSON        OBANG                       DC     81011277327
4142749A661963   DEBORAH       GARCIA                      CA     90012454906
4142781838B165   SALVADOR      URSUA                       UT     90014638183
4142851A95B271   KELLIE        ROGERS                      KY     68013095109
414285A485B53B   JAKOB         BUTTERFIELD                 NM     90013475048
4142918475597B   JOE           ACOSTA                      CA     49005851847
41429A51741258   CAROLINE      CARR                        PA     51012810517
4142B433A41258   DIANE         SCOTT                       PA     90011424330
4142B843555939   PRISCO        DIAZ                        CA     90010488435
4143237615B52B   MARY          RODRIGUEZ                   NM     36087313761
4143244215B271   SHAUN         HOOD                        KY     68093604421
4143258625B174   DIEDRA        LEVI                        AR     90014215862
4143288288B16B   VICTOR        GONZALES                    UT     90010698828
41432A7124B271   ERIC          FISHER                      IA     90015090712
4143339AA61963   BIANCA        WALL                        CA     46002503900
41433952872B36   BIANCA        LONG                        CO     90013719528
4143397732B27B   ESTHER        TURNER                      DC     81004289773
414347A4161963   JARON         MOORE                       CA     90013117041
4143545355B222   AMILCAR       MORALES                     KY     90003554535
4143546815B53B   SUSANA        CARRILLO-BRECEDA            NM     90014624681
4143557267B475   JASMINE       WEST                        NC     90013335726
4143649375B271   FELICIA       SIMMONS                     KY     90014174937
41436837472B43   EVA           MEDINA                      CO     33096348374
414368A234B271   CHAZ          HARLAN                      NE     90013778023
41436A32A93767   SUKHARI       WILLIAMS                    OH     90013590320
41437529272B43   ALEXIS        ARRELLANO                   CO     90013175292
41437725172B36   BALTAZAR      LEDEZMA                     CO     90002697251
414392A7491988   JAMES         WEST                        NC     90011262074
414395A745597B   JOSE          RAMIREZ                     CA     90014515074
4143973445B222   CARLOS        GREEN                       KY     90011337344
4143989294B271   KEVAN         SHELTON                     NE     27081878929
4143B19145597B   LUCILE        HOGAN                       CA     90005071914
4143B53355B53B   ELIZABET      JAQUEZ                      NM     90008345335
4143B733372B43   NATHAN        DUES                        CO     90014697333
4143B82A45B58B   VANESSA       SALAZ                       NM     90014188204
4144163418B165   MIRIAM        PALACIOS                    UT     90008886341
4144214875597B   MAURILIO      CRUZ                        CA     90007391487
41443261972B4B   JASON         STEVENS                     CO     33095092619
4144383445B58B   ROBERT        PADILLA                     NM     90014188344
4144413A191569   JOAQUIN       ALBINO                      NM     75040511301
4144441785B222   KAYLA         DAVIS                       KY     90014284178
4144482733B353   ANDREA        AMARO                       CO     90005238273
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4144572682B27B   EVER ERNESTO   PALMA ORDONEZ              DC     90012837268
4144577472B27B   AISHA          SHERMAN                    VA     90015107747
4144719A15597B   DAVID          MENDES                     CA     90013901901
4144761385B174   KISHA          BUCHANAN                   AR     90012036138
41447A8A75B38B   WENDY          SCHRODER                   OR     44536250807
41448112A8B16B   BAILI          MANZANZRES                 UT     90009821120
41448524A72B4B   ANNA           PRYER                      CO     33075575240
4144858999155B   ROSA           HIDALGO                    TX     75076225899
414489A3751332   DAVIDA         SNADER                     OH     90006079037
41448A65157159   VERONICA       LEMUS                      VA     81083500651
414496A8781656   JOSE           QUINONES                   MO     29041356087
4144B261491569   PAOLA          AMAYA                      TX     90011562614
4144B351172B36   LEONARD        ARCHIBEQUE                 CO     90007463511
4144B47515B53B   ERIN           ABEYTA                     NM     35059724751
4144B717241235   AMBER          TIRPAK                     PA     90013947172
4144B797A2B27B   TRHYVER        WOOD                       DC     90011667970
4144B952A4B568   JR             ARMSTRONG                  OK     90009659520
414517A245B52B   ANGELA         LOPEZ                      NM     90004677024
4145273345B58B   JANELLE        LEEWAY                     NM     90012477334
4145329785B53B   MARIA          RODRIGUEZ                  NM     90010722978
4145357998B16B   IUNISI         HAFOKA                     UT     90013485799
41453884772B43   VANESSA        HERNANDEZ                  CO     90012378847
414539A9A91394   ELIZABETH      HAYWOOD                    KS     29071849090
4145441745B271   ELISSA         CHEATHAM                   KY     90011294174
4145475A18B16B   LETICIA        PATRICIO                   UT     90014857501
41454A35193794   JEANINE        OFFOR                      OH     90010380351
41455147872B4B   PERRY          PHILLIPS                   CO     90007671478
4145524238B165   FREDRICO       REYES                      UT     90013342423
41455A6545B271   LINDA          SHARP                      KY     90015160654
41456595A55939   SOFIA          MADRID                     CA     90015215950
4145828445B52B   BRIAN          RYDER                      NM     90012712844
41458383172B36   CASIMIRO       ZAMORA                     CO     33095763831
4145856A174B24   FRANKIE        JOHNSON                    OH     90013735601
41458A8A99155B   JAIME          MARTINEZ                   TX     75076230809
4145917736B275   SAAD           FAHIYE                     CO     90011501773
414596A4A91394   CAMMY          HINES                      MO     29054286040
4145989138B165   JOSE           RAMOS                      UT     31007288913
414599AA45597B   REYNA          FLORES                     CA     90003539004
41459A7722B87B   ROBERT         FAULKNER                   ID     90014780772
4145B714261963   ELENA          SANDOVAL                   CA     90013117142
4145B743A61967   MAILE          MCGEE                      CA     90013097430
4145B7A765B52B   JOLENE         GURULE                     NM     90011667076
4146142A35B271   YOLANDA        THOMAS                     KY     90011294203
41461816672B36   BERNADETTE     VERA                       CO     33007358166
41461A22491394   ELVIRA         GONZALEZ                   KS     90001860224
414622A7A61963   GEORGINA       FLORES                     CA     90001972070
4146284595B58B   VALERIE        GUTIERREZ                  NM     90014188459
414632A5A2B87B   MICHAEL        BALDWIN                    ID     90009912050
4146376A28B16B   MARIA          ARELLANO                   UT     31071577602
41463A38172B32   MARIBEL        ACOSTA                     CO     33060780381
41464442A72B43   DELFINO        TRUJILLO                   CO     90014524420
414647A7971999   PHILLIP        BRAVO                      CO     90005027079
4146528855B53B   RUBEN          BUSTAMANYE                 NM     90013422885
4146644662B87B   JOSH           ALTERMOTT                  ID     90013434466
4146691668B16B   B              HAIR                       UT     31096569166
41467272672B36   EMEBET         GEBEREMARIYM               CO     90014082726
4146855628B16B   JENNIFER       GARDNER                    UT     90010155562
4146B525347954   ISABEL         LEMUS                      AR     25027905253
4147162675B58B   ZACHARY        MARTINEZ                   NM     90002826267
4147227815B58B   KEVIN          SOLOMON                    NM     90015222781
4147311385B58B   MICHELLE       BACA                       NM     35059971138
41473923A8B165   ALAN           ARCE                       UT     31098869230
41474463A61963   KENNETH M.     LYLES                      CA     90005304630
4147447792B27B   ELLEN          TAYLOR                     DC     90003744779
4147459485597B   DARLENE        BANDERAS                   CA     49013035948
4147511392B27B   SHEREBURA      BULLOCK                    DC     90004151139
41475243972B36   REBECCA        SALAZAR                    CO     33036772439
41475694A72B43   MONA           MONIQUE-GOGGINS            CO     33089036940
414757A665597B   ROGELIO        FERNANDEZ                  CA     49046487066
41476753772B36   DENISE         WHITE                      CO     90002757537
41476A7A661967   KAIDEN         MONTANA                    CA     46064970706
41477443672B43   AMBER          WARMUS                     CO     90010624436
41477618A2B27B   KIREE          HENDERSON                  DC     90015446180
41477954A93794   KEVIN          ALREDGE                    OH     90013739540
4147899172B87B   MONICA         SCOTT                      ID     41079749917
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41478A3675B222   MELISSA               VILLALOBOS          KY     68070330367
4147922828B165   PETER                 SMITH               UT     31052072282
4147B694284332   NATHANIAL             WASHINGTON          SC     90012036942
4147B73542B27B   MARKISHA              MOORE               DC     90012837354
4147B792751334   JESIKA                STILL               OH     90014907927
4148189A62B87B   TIFFANY               LIND                ID     90012238906
4148257245597B   SERGIO                MENDEZ              CA     90006545724
41482665A44B65   JAMES                 BACHMAN             OH     90014146650
41482A81161963   SALLY                 TRULSON             CA     46036090811
4148329A58B352   TAMEKA                SHORTER             SC     90005002905
41483379572B36   SHAUN                 HICKS               CO     90011163795
4148361762B87B   KORIE                 HATROCK             ID     90013906176
41483A71791988   DIEGO                 MARQUEZ             NC     90011770717
41483A7592B27B   TIFFANY               DELANEY             DC     90013850759
4148436815B222   LINAIDA               TEJEDA              KY     90013403681
4148464735B58B   RUSSELL               DAVIS               NM     90012036473
41484AA8155939   MICHELLE              CRIBBS              CA     49059900081
4148516614B271   YESENIA               TLATENCHI           NE     90012871661
41485A48591394   CLAUDIA               CRUZ                KS     90008600485
414861A8161967   SAL                   RAMIREZ             CA     90012421081
414868A5191873   MARTCHELLO            FILEDS              OK     90013348051
41486A29A93794   DENISH                TERRY               OH     90013980290
4148733868B14B   MARTIN                THOMPSON            UT     90001993386
4148742615B53B   ZAYRA                 FLORES              NM     90007294261
4148752295B242   ROGER                 MURPHY              KY     90011365229
4148782A941261   SAMANTHA              BRANDON             PA     90010278209
4148784168B16B   MARIO                 ARCHULETA           UT     90010068416
41488211A5B52B   HECTOR                MARIN               NM     90007682110
4148854872B87B   SUE                   WILLIAMS            ID     90014805487
41488924972B36   THERESA               BOFILL              CO     90013119249
4148B28315597B   CATALINA              AVILA               CA     49013852831
4148B985491988   MONSERRAT             LOPEZ               NC     90001679854
414912A365B52B   LISA                  CASTELLANO          NM     90005442036
41491933A5B53B   JOE                   JARAMILLO           NM     35028829330
41491A3252B87B   ERIC                  COCHRAN             ID     90014160325
414922A9A91549   SAMANTHA              CORDERO             TX     90010822090
41492715A8B16B   TONI                  ALLEN               UT     90009687150
41492A35255939   ANDREA                RUSBOLDT            CA     90012370352
4149347235B53B   LETICA                BERNAL              NM     35037284723
414935A9947954   CAITLYN               RAE                 AR     25054135099
414944A3655939   MARISA                AVINA               CA     90013124036
4149482465B52B   ELIAS                 VALENCIA            NM     36020608246
41494857372B43   MARIA DE LA LOURDES   MACIAS              CO     90015468573
4149568212B87B   MASON                 BROWN               ID     90007436821
414964A1355939   MAYRA                 ESPINOZA            CA     49085814013
41496868472B4B   BRADLEY               MCKINLEY            CO     90011908684
4149761A65B52B   ROXANN                ORTIZ               NM     36091826106
4149764272B87B   MARCUS                DEWOLF              ID     90015466427
41497666472B43   QUIANA                GAY                 CO     90011306664
41497769A5B53B   LUZ                   NORIS               NM     90001007690
41498A23372B36   DARREN                GUSS                CO     33068140233
41498A6518B16B   CHRISTINE             JONES               UT     90013830651
41499757372B4B   MICHAEL               CLANTON             CO     33032937573
4149B133224B7B   MELVIN                CALHOUN             DC     81067601332
4149B741693794   BARRY                 TODD                OH     90012467416
4149B814861967   YVONNE                CLARK               CA     90011218148
4149B88134B271   TYESHIA               SMITH               NE     90014508813
414B1391A5B174   SABRINA               GOODWIN             AR     23072953910
414B1736591988   LATESHA               STRUDWICK           NC     17008767365
414B1816572B4B   ENDIYA                CHEEKS              CO     90014328165
414B19A5A5B53B   JAVIER                VALDEZ              NM     90005659050
414B1A82961967   BEKKI                 MOREHOUSE           CA     46088070829
414B2595791873   SHAREENA              PLUSE               OK     90007215957
414B2A36172B4B   TEODULFO              CORREA              CO     33057090361
414B3217771999   MICHAEL               GREGG               CO     90012332177
414B3437651334   AUSTIN                ENGLER              OH     90012684376
414B3595A61963   JOSE ARTURO           SANCHEZ JR          CA     90014915950
414B428365B53B   TAMMY                 JORGENSON           NM     90013242836
414B43AAA91988   JANEE                 GONSALVES           NC     90011623000
414B4518771934   FELICIA               ORTEGA              CO     32045705187
414B462867B475   EDWIN                 BOMBO               NC     90008936286
414B519AA91394   TASHA                 PRUNEDA             KS     90014021900
414B5625761967   CHRISTOPHER           DIAZ DE LEON        CA     90010476257
414B615855B222   CHRIS                 SOTO                KY     90010101585
414B6854891873   SHELBY                SMITH               OK     90013158548
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414B6A24A9188B   THOMAS       ROACH                        OK     90011950240
414B7224172B36   ISSACK       MARFO                        CO     33009362241
414B7446991988   KRISTINA     MULAY                        NC     17080164469
414B7A9795B174   DEBBIE       DANIELS                      AR     23021320979
414B8249A41294   COLT         STEBLER                      PA     90003162490
414B844A155939   GEIDY        ARIAS                        CA     90007654401
414B935A771999   TANYA        CARRERO                      CO     90003543507
414B9439691569   ELSA         RENTERIA                     TX     75091834396
414B99A875B58B   ANALHI       DOMINGUEZ                    NM     90010029087
414BB176961967   WILFREDO     MACK                         CA     90008341769
414BB38172B87B   STEVE        HEBERER                      ID     41065033817
414BB5A8151334   CRYSTAL      THOMAS                       OH     66096815081
414BB898191988   KIMYETTA     LESINE                       NC     90005188981
41511A6575B52B   JORGE        LOPEZ-ALVARADO               NM     36017310657
4151217112B27B   ANA          RAMIREZ                      DC     90007531711
41512757A8B16B   JEREMIAH     STRATTON                     UT     90014857570
41512A47672B4B   MONICA       MENDEZ                       CO     90012820476
41512A56261547   TRAVIS       GREEN                        TN     90015360562
4151326835B272   TINA         DAVIS                        KY     68075052683
415135A855B52B   CHERYL       ARVISO                       NM     90014505085
415138A2155939   JEFFREY      CANNON                       CA     49000258021
41513AA3461925   ERIN         KAUWOH                       CA     90002530034
41514452572B36   RANDY        GARNER                       CO     33073104525
41514767972B4B   SERGIO       COSTA                        CO     90004337679
4151527195B52B   BAUDELIO     VALDEZ                       NM     90005532719
4151548997B646   OSCAR        GONZALEZ                     TX     90013964899
4151555295B53B   ALYSHA       FAULKNER                     NM     90012985529
4151562353B344   ANDREA       AMARI                        CO     33027986235
41515AA1761963   PATRICIA     MOORE                        CA     46030010017
41516113972B4B   MELISSA      FERGUSON                     CO     33062321139
4151618285B271   RENDAL       DARDEN                       KY     90003341828
4151764965B58B   RHONDA       CHAVEZ                       NM     35027116496
4151847925B58B   JESSICA      RUIZ                         NM     90012974792
4151875448B165   JHONATAN     HERNANDEZ                    UT     90013277544
4151B442691569   JOE          ESPINOZA                     TX     75028914426
41521879376B59   HUGO         PENITEZ                      CA     90014708793
41521A68181639   ALVA         BEASLEY                      KS     29037550681
4152247515B58B   ADELAIDA     PENA                         NM     90014204751
415226A688B157   MARIA DE R   MORA                         UT     90001236068
4152276915B53B   AMANDA       CASTILLO                     NM     90008337691
4152291438B16B   BOBBETTE     GOMES                        UT     90000679143
4152334644B271   KANOENANI    LO                           NE     27026083464
41523A9132B29B   TONYA        MITCHELL                     DC     90001220913
4152411695B222   DONNA        HALE                         KY     90015111169
4152443AA91873   JESSICA      DUFFY                        OK     90012134300
4152449A17B475   JENNIFER     LEWIS                        NC     11011194901
4152481847B497   FRANCISCO    VIVAR                        NC     90012078184
4152496858B165   MARK         SHAFFER                      UT     90014479685
4152565724B271   MARY         DREXEL                       NE     90003796572
41527185672B43   PHELISHA     WHEELER                      CO     90001161856
4152791828B849   JOLENE       COSTA                        HI     90014819182
4152833A561498   TIFFANY      JONES                        OH     90014103305
41528668A5597B   SELENA       ORTIZ                        CA     90000296680
4152869758B16B   ANJILYN      PINALOSA                     UT     90012206975
4152876A82B87B   SEAN         CHRISTIANSEN                 ID     90015187608
415289A8A5B174   MARCUS       COLE                         AR     90014559080
41529455672B36   KIMBERLY     SELBY                        CO     33015774556
415298A712B921   JUAN         PANTEJA                      CA     90012938071
4152B12585B58B   ROXANNE      HERRERA                      NM     35014981258
4152B476A72B36   JOHNNY       MIJARES                      CO     90015224760
4152B69618B16B   LORI         BURGETT                      UT     31004286961
4152BA99424B46   BILAL        AKBAR                        DC     90010600994
4153333A872B43   JONATHAN     HART                         CO     90012413308
41533953A5B222   AMANDA       NEWTON                       KY     90005529530
41533988172B4B   MADELYN      ALLEN                        CO     90009199881
4153492555597B   ROSA         GARCIA                       CA     49066479255
4153513665B52B   WENDY        SAMBRANO                     NM     90012731366
4153623575B53B   RITCHELL     KARISE                       NM     90001802357
4153642547B475   LASHONDA     EMANUAL                      NC     90014784254
4153673985B58B   NATALIE      NOMTGOMERY                   NM     35001997398
41536A32361967   JACKIE       GARCIA                       CA     90007870323
41537A23451383   COLE         HEISEY                       OH     90005620234
41537A28585981   ANTHONY      WALLACE                      KY     90001440285
41537A4762B87B   DAVID        GUZMAN                       ID     41052400476
41537A84872B36   LLOYD        EMERY                        CO     33013900848
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1913 of 2350


4153832145B58B   THOMAS       LUKASAVAGE                   NM     35035483214
41538974372B4B   ANA          VAZQUEZ                      CO     90009989743
41538A64851361   RONDI        SANDER                       OH     66067430648
41539257372B43   ANGELA       DIAZ-DIAZ                    CO     90014752573
41539414972B36   ELOY         MONOZ                        CO     90015274149
41539A35181639   MISS         HESS                         MO     29052440351
41539A5794B546   ELIZABETH    PHILLIPS                     OK     90006260579
4153B534372B36   MELISA       QUINTANILLE                  CO     90001845343
4154122358B166   BENITO       MENDOZA                      UT     90009312235
41541255A8B165   JAVIER       GARCIA                       UT     90012352550
4154135995B271   ERIC         HILLIRECH                    KY     90010333599
415414A378B16B   JENNY        MERCADO                      UT     90009984037
4154158945B222   CECE         MORRIS                       KY     90003395894
4154161A455924   JIM          KENNEDY                      CA     90012426104
41542731A51334   JIMMY        REAGAN                       OH     90013967310
41542819972B43   VALERIE      WOOD                         CO     90005298199
415428A1661963   GEORGE       TERRY                        CA     90015168016
41543167A71934   JACQUELINE   IRELAND                      CO     32088991670
4154415964B271   ANA          HERNANDEZ                    NE     90012641596
41544316172B43   TERRENCE     CULPEPPER                    CO     90009003161
415446A895B271   JONNIE       STEWART                      KY     68000626089
4154514A15B53B   NOEL         NAYARES                      NM     35082501401
4154563A961963   JODIE        DEERE                        CA     90011806309
4154666334B271   FATIMA       GARCIA                       IA     90014846633
4154697425B271   BRITTANY     SEARS                        KY     90013349742
4154764165597B   KARLA        ZEPEDA                       CA     90011206416
4154864AA5B52B   MARIA        HERNANDEZ-DE-CARRILL         NM     36053836400
415494A4272B4B   CORENE       TOLLETT                      CO     33091634042
4154B174461967   GRETCHEN     PEREYDA                      CA     90011071744
4154BA7735B53B   JOSE         AVITIA                       NM     90013590773
4154BA84791873   KRISTI       DAY                          OK     90009360847
41551413A41294   KIMBERLY     HEGGERTY                     PA     90008174130
41551473A2B27B   DERYCKA      HAZIEL                       DC     90012464730
4155182485597B   NALY         YANG                         CA     90012748248
4155219328B895   MERCEDES     PAGADUAN                     HI     90014401932
41552981A5B58B   CHRISTINA    CHAVEZ                       NM     90007409810
41553496A51354   DAVID        SCHMIDT                      OH     90011864960
4155361324B271   JOSHUA       ALFONSO                      NE     90010036132
4155435588B16B   MACEY        BECKSTROM                    UT     90012503558
41554425A4B271   PAULA        TRAVIS                       NE     90005954250
4155445267B475   ROSALYN      BURRIS                       NC     11076144526
415544A2671999   TOBIAS       ARCHULETA                    CO     90006744026
4155532A381639   MANUEL       ACOSTA                       MO     90004423203
41555A63941294   RICHARD      SNIDER                       PA     90003180639
4155635357B475   ZACH         ROGERS                       NC     90014703535
4155649655B174   TAMMIE       MOZINGO                      AR     90014224965
4155738738B165   KELLY        FLORA                        UT     31015493873
4155786A755939   CHARLIE      JUIJALVA                     CA     90014478607
41558142A5B271   COREY        EDLIN                        KY     90014601420
4155839418B124   JOAN         ONEIL                        UT     90011733941
41558763A91569   JOHN         DOZIER                       NM     75038237630
4155891A55B222   ANNA         CISSELL                      KY     68060499105
4155951612B27B   MARLON       ALEXIS MUNGUIA               DC     90010605161
4155B59892B899   SCOTT        PERRY                        ID     90001045989
4155B91A85B52B   VERONICA     SERRANO                      NM     36042669108
4155B947161963   CRYSTAL      JOHNSON                      CA     90013899471
4156113A25B53B   YESENIA      RUBIO                        NM     90013461302
4156185972B956   JIM          AVITIA                       CA     90009108597
4156238848B165   GERARDO      GUTIERREZ                    UT     90012553884
4156247755B271   PETER        EIDEN                        KY     90011294775
4156294855B222   TIFFANY      PALACZ                       KY     90008209485
41562A2775B271   JERAMY       BARNETT                      KY     90013020277
4156323765B271   VICTORIA     DRAKE                        KY     90005812376
4156326885B222   FELIPE       JESUS                        KY     90014152688
4156384115B174   SAMANTHA     ALLEN                        AR     23096438411
4156399314B271   MELISSA      TIETSORT                     IA     27040809931
41564181A2B27B   ARNETTA      GREENE                       DC     90011021810
41564973A5B222   PATRICIA     DAWSON                       KY     90014189730
41564A15655939   JULIE        HER                          CA     90013130156
41565986972B36   LILIANA      SAUCEDO                      CO     33080889869
41566214672B39   SAMUEL       VALENZUELA                   CO     90012552146
4156663758B16B   DANEE        SO                           UT     90008346375
415668A155B53B   GERRI        VIGIL                        NM     35093148015
4156754435B53B   BRUNO        KREKLAU                      NM     90011195443
4156859948B165   EDWARD       HAMILTON                     UT     31071115994
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4156864274B271   ROBERT          MORRIS                    NE     90013176427
4156874A191394   ESPERANZA       RAQUEL                    KS     90012937401
415687A9A71999   THOMAS          QUINTANA                  CO     38084077090
4156882855B271   CLAYTON         SELLER                    KY     90014868285
41568A58161967   AMINATA         JOHNNY                    CA     46070010581
41569344372B36   MEPHISTOPELES   FOETUSGRUBBER             CO     90014703443
4156991845B58B   KRYSTAL         ZEPEDA                    NM     90010329184
41569A96857159   LEAH            THOMPSON                  VA     90002340968
4156B6A2291569   MARIA           CONTRERAS                 TX     75065646022
4157113265597B   AUGUSTINE       ALVAREZ JR                CA     90015121326
41571167172B4B   PATRICK         ELKINS                    CO     33045061671
4157135284B543   CHARES          MAMBULA                   OK     90006503528
415713A5755982   RODRICK         RODRIGUEZ                 CA     49097973057
41571576924B7B   JOSUE           DANIEL CASTRO             VA     90006665769
4157185865597B   RUBEN           LOPEZ                     CA     90013818586
41571A36491881   LEZLIE          CHATMAN                   OK     90001870364
41571AA7461963   ENRIQUE         CASTRO                    CA     46050180074
4157257565B271   JOSE            VALDEZ                    KY     90006965756
415736A395B52B   PHILIP          HERRERA                   NM     90006656039
4157416955B174   LATOYA          GREENE                    AR     90015061695
4157419667B475   JAMERSON        MOSBY                     NC     90014191966
4157545A151383   LLENEE          POZO                      OH     66083814501
41576115974B97   STEVEN          MULLINS                   OH     90014471159
4157623218B165   BARBRA          HIGGINS                   UT     31032322321
4157632928B16B   LUIS ALBERTO    NAMUCHE                   UT     90012213292
4157816114B23B   JEREMY          BISSELL                   NE     26071101611
4157911188B16B   DEBRA           BARRETT                   UT     90006531118
4157933415B174   ADAMS           MURE                      AR     90012543341
4157959655B52B   VALERIE         LOPEZ                     NM     90014715965
4157B1A277B646   ALEXANDER       AGUILAR                   GA     90010941027
4157B9A1886478   RUSS            EVANS                     SC     90015229018
41581695785B26   JOHN            DOE                       FL     90015386957
41582741272B4B   ELIJAH          APODACA                   CO     90012547412
4158285188B165   RAFAEL          ROBLES                    UT     31008398518
41582A38951332   SCOTT           SMITH                     KY     90007160389
4158344465B53B   SMITH           MARIA                     NM     35077114446
4158357A291394   SAIL            ARITA                     KS     90009195702
4158367392B87B   RONALD          BOOTH                     ID     90008856739
415844A5471999   GERONIMO        JIRON                     CO     90013334054
4158676248B16B   JOHNATHAN       JAKE                      UT     90010787624
41586A5415597B   JOANNA          ZAMORA                    CA     49059600541
41586AA3991569   PATRICIA        RAMIREZ                   TX     90014900039
4158889788B16B   JASON           BAHNMILLER                UT     90010358978
4158956A24B271   STEWART         WEDERGREN                 NE     90011875602
4158979225B271   HINES           DEMITRIES                 KY     90010017922
4158B425572B4B   COLLEEN         CLARK                     CO     90013724255
4158B48618B567   DULCE           GARCIA                    CA     90014094861
4158B59435B52B   DAVID           MASCARENAS                NM     90013305943
4158B827272B43   CASSIE          TATE                      CO     90007268272
4158B993384393   MELANIE         NOLAND                    SC     90001579933
41591A5A293794   SIERRA          BROWN                     OH     90011130502
415934AA34B543   JOHN            SMITH                     OK     90006084003
41595173A71999   JERRY           GRANDY                    CO     90007861730
41595849A93794   CHRISTINA       DARNELL                   OH     90009198490
41595A98A91394   JUAND           HENDERSON                 KS     90014090980
41595AAA772B36   ARIANA          TORREZ                    CO     33050350007
4159623215B254   ALICIA          WARREN                    KY     68098202321
4159634925B58B   JOSH            SALAS                     NM     90004993492
41596471A55939   ANIBAL          REYES MELGAREJO           CA     90007944710
4159663545B264   TERRI           BURKS                     KY     90005886354
4159743537B475   PEGGY           HUDSON                    NC     90006964353
41597A78372B4B   NIA             ABIODUN                   CO     90014370783
41597A7A38B849   MAELANG         LUTAZR                    HI     90014820703
41598281A91547   MANUEL          GOMEZ                     TX     90013122810
4159935925B926   J APOLINAR      ARREOLA                   WA     90015463592
415993A3A2B27B   SAFWAN          WILSON                    DC     90008833030
4159979A38B165   JIM             LEMS                      UT     31011477903
4159B44722B87B   DANIEL          WILLIAMS                  ID     41095494472
4159B66285B271   JENNIFER        MULLIGAN                  KY     90011346628
4159BA17741294   CLINTON         BROWN                     PA     51037730177
415B1993591873   MAX             CUNNINGHAM                OK     90008289935
415B1A66A5597B   MARIA           CARLOS                    CA     90002770660
415B1A84461967   ANA             ANGEL                     CA     90014740844
415B39A5A5B53B   JAVIER          VALDEZ                    NM     90005659050
415B435125B53B   DOROTHY         RUIZ                      NM     90004493512
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415B4883141294   BEVERLY       HARDRICK                    PA     90006498831
415B4883A72B36   CARLOS        AYON                        CO     33026148830
415B5298761967   MARCIAL       KARINA                      CA     90006962987
415B5388671999   DANIEL        HAYWOOD                     CO     90003613886
415B54A695B222   HEATHER       WILCOX                      KY     90005234069
415B5512655939   LOPEZ         ADRIANA                     CA     90005785126
415B572A671946   SONJA         GARCIA                      CO     90006177206
415B5A8228B165   CRAIG         STEBBINS                    UT     31061820822
415B62A4872B43   FELICIA       SUAZO                       CO     33045792048
415B651428B16B   TEENA         JEPPSON                     UT     90007435142
415B6799591394   ELENA         HERNANDEZ                   KS     90013567995
415B6A65A51334   MICHAEL       FRITZ                       OH     90014600650
415B747515B58B   ADELAIDA      PENA                        NM     90014204751
415B7495A5597B   RICHARD       THONGKHAM                   CA     90011484950
415B74A6693794   JESSICA       DOYLE                       OH     90001924066
415B7562A72B43   EMMANUEL      CAMPOS GARCIA               CO     90011965620
415B7812161963   DIANA         TAPIA                       CA     46068368121
415B7951655939   DIONNE        MYERS                       CA     49034419516
415B7A42872B4B   TRENA         PERRIN                      CO     90013310428
415B8368291569   JOSE          COLLINS                     TX     90009353682
415B853738B141   CAROLIN       METZGER                     UT     31089825373
415B8741572B36   ALFREDO       FIGUEROA                    CO     33070377415
415B8773872B4B   TAE           BROCK                       CO     90009657738
415B88A1651336   QUINTON       CLAY                        OH     90010848016
415B912515B58B   CESAR         AVITIA                      NM     35060421251
415B9367171999   BYAN          MENDOZA                     CO     90010733671
415B959362B27B   JAMES         WILLIANS                    VA     90015095936
415B9652672B43   KYLE          SETBACKEN                   CO     33018026526
415B995418B165   LILIA         VIALLARREAL                 UT     90010899541
415B9982A5B174   PEARL         GRIFFIN                     AR     90011329820
415BB195672B36   SHERWIN       LAVELLE                     CO     33090471956
415BB81475B271   ANGELA        BRYANT                      KY     90014868147
415BBA28161963   DINO          NEWINT                      CA     90007830281
415BBA52941294   NICOLAS       BRAVO                       PA     90003170529
4161121755B174   FELISHA       MOORE                       AR     90010112175
4161232955B52B   ADELSO        CANTE                       NM     36086863295
41613495672B43   CHANTELLE     GIBSON                      CO     90011604956
41613668A91988   DEISHA        JOINES                      NC     90011276680
41613912872B4B   NADINE        SANDOVAL                    CO     33030369128
41614358A91569   DEL LA RIVA   CARLO                       TX     90013083580
41614817872B36   RICH          CASTRO                      CO     33008358178
4161572635B271   JACKIE        WOLFORD                     KY     90008757263
41615989A93794   JOHN          STANFORTH                   OH     66082809890
41615A77291873   SHANTEL       BARNES                      OK     90009970772
416167A5572B36   ROBERTA       FIERRO                      CO     90014807055
416175A485B222   MAIRA         JIMENEZ MOLINA              KY     90013365048
4161777A95B58B   MACHELLE      GRACIA                      NM     35031497709
4161818545B52B   ALICIA        LEYBA                       NM     90015401854
4161899642B27B   RAMON         THOMAS                      DC     90005949964
4161931A98B165   ALI           NELSON                      UT     31050843109
4161B138A71999   BETTY         SISNEROS                    CO     90012361380
4161B31855B52B   JORGE         QUEZADA                     NM     36016853185
4161B485161927   ZENEN         PONCIANO                    CA     90010864851
4161B489A4B271   MICHAEL       EISELE                      NE     27058084890
4161B593691569   LUCIANA       MONCLOA                     TX     90013295936
4161B9A667B475   WEDOLYN       JONES                       NC     90003319066
416211A272B27B   DARINDA       HOPKINS                     DC     90015281027
4162155543B356   HOPE          FREUND                      CO     90007975554
4162221528B125   JULIE         GARLICK                     UT     90009032152
4162241265B222   SHERA         FISHER                      KY     90013964126
4162352A672B36   JULIAN        PUENTE                      CO     90013225206
41623722A5B222   AMANDA        WOOD                        KY     68066867220
4162391275B58B   WILDA         TOLEDO                      NM     90010949127
416242A2872B4B   CESAR         IBARRA                      CO     90009142028
4162521962B27B   DAVID         NORWOOD                     DC     81016052196
41625429A91873   STEPHIN       BRYANT                      OK     90014724290
4162592655B222   RICQUITTA     JOHNSON                     KY     90014339265
41626AA955B53B   SHAUDALIN     POLLARD                     NM     90010920095
4162746548B165   CHELSEA       BAGULEY                     UT     90003634654
41627936972B4B   JORDAN        ROBINSON                    CO     90014829369
4162831215B271   TERANISHA     PERDUE                      KY     90012583121
41628628372B4B   LUIS          VASQUEZ                     CO     90005536283
41628A1A35B55B   MARIO         GOMEZ                       NM     90000900103
41628A2AA5B52B   CIPRIANA      JURADO                      NM     90012890200
41629332A2B27B   CHARLES       ANEKE                       DC     90001973320
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4162942A485944   JOSE         AGUILAR                      KY     90008974204
4162957822B87B   ROBERT       RIVERA                       ID     90012965782
4162986188B16B   PATIENCE     IRIBAGIZA                    UT     90002708618
41629A72851383   CARLA        BENSHOOF                     OH     90005640728
4162B27348B165   CARLOS       MARTINEZ                     UT     90013372734
4162B317291988   COURTINE     EUBANKS                      NC     90014613172
4162B58967B475   BRITTANY     PITTMAN                      NC     90013775896
4162B855A72B36   CHRIS        KING                         CO     33003518550
41631357572B35   RANDI        BRANTNER                     CO     90007583575
41632975A4B543   TEENA        LEWIS                        OK     90004549750
41632A92172B36   JOHN         ROMERO                       CO     33076690921
4163399195597B   VANESSA      AGUAYO                       CA     90014579919
4163418595B174   SOMARIE      ROSLON                       AR     90014241859
4163483A372B36   LEE          BAKER                        CO     90015338303
41634A8842B27B   TAQUAN       HOWIE                        DC     90014410884
4163626895B52B   IGNACIO      PINEDA                       NM     90007602689
4163629952B87B   DONNA        HOMER                        ID     41035142995
4163666A961963   ALAN         BROWN                        CA     46040796609
4163698494B52B   MARGARET     JACKSON                      OK     90007239849
4163783125B271   BRADLEY      DE LA TORRE                  KY     90014868312
4163845435B58B   DEANNA       JUAREZ                       NM     90000604543
4163847642B87B   RICHARD      FORNOF                       ID     41020174764
41638664272B43   RIGOBERTO    SANCHEZ                      CO     90002716642
4163941485B174   TANISHA      STRICKLAND                   AR     90011084148
41639946A71934   TANYA        ROBERTS                      CO     32029439460
4163996935B52B   EMMANUEL     MARTINEZ                     NM     90013319693
4163B927191988   JEMAR        BEULAH                       NC     90011279271
41641392A51336   GWEN         DELL                         OH     90010763920
41641A86593741   KEON         WORTHAM                      OH     90010550865
416422A2672B4B   LINO         MORA                         CO     90014102026
4164291175B52B   PEDRO LUIS   NAVARRO                      NM     36086789117
41642958A61963   RICK         REID                         CA     46046619580
416429A1631457   SHANN        WILLIAMS                     MO     90014739016
41642A58531457   SHANN        WILLIAMS                     MO     90000220585
416432A1855939   SARAH        WEAVER                       CA     90014162018
41643A6415B388   RANULFO      DELGADO                      OR     90008130641
416447A1191569   JULIA        RAMIREZ                      TX     75069237011
41645156A8B16B   MATTHEW      POLLOCK                      UT     90009131560
41645981A71999   MELINDA      BANUELOS                     CO     38086239810
4164672279155B   HILDA        VILLASANA                    TX     75036717227
416467A5871999   BRENDA       DURAN                        CO     90000737058
41646A52A5B271   AMANDA       HADLEY                       KY     90013590520
4164731388B165   ANNALISA     LEATHERWOOD                  UT     31044683138
41648A2295B929   NORMA        GOMEZ                        WA     90013000229
41648A5284B271   ROBERT       DOUGLAS                      NE     27040840528
4164923528B16B   MICHAEL      RADER                        UT     31060112352
4164924895B271   DANNY        HART                         KY     68006832489
4164981A47B475   JOSHUA       REID                         NC     90009218104
4164B18A891873   DEBRA        PATE                         OK     90014421808
4164B697172B43   KAYALA       AYALA                        CO     33045756971
4165137445B222   MELISSA      MEREDITH                     KY     90012353744
4165155254B569   BRITTANY     BONNER                       OK     90008875525
4165174925B52B   SONIA        MENDEZ                       NM     90002417492
416526A3661967   MICHAEL      RIOS                         CA     46019506036
416526A712B87B   ALYSSA       LANE                         ID     90014366071
4165314492B27B   ALICIA       JOHNSON                      DC     81047191449
4165342368B16B   MEGAN        FETZER                       UT     90007634236
41653662A5597B   RICHARD      LUCIO                        CA     49077866620
4165384885B222   LEIGH        CUMBEE                       KY     90007688488
4165429385B271   VALENCIA     TYSON                        KY     90003342938
41654A11971999   SARAH        CONWAY                       CO     90012530119
41655741A5B58B   RAUL         ALVAREZ                      NM     35054787410
416563A7571999   TIFFANIE     SHAIN                        CO     90009623075
41656425572B4B   COLLEEN      CLARK                        CO     90013724255
4165642574B271   SHANNON      PRICE                        NE     27037474257
4165692375597B   LAQUISHA     FREEMAN                      CA     90014839237
41658166A61963   MIREYA       ROJAS                        CA     90003981660
4165819655B174   EDDIE        GILLIAM                      AR     90014241965
4165883415B271   LESLIE       PERRY                        KY     90014848341
41659659872B4B   TOM          JONES                        CO     90009806598
41659A3265B271   MICHAEL      GAGEL                        KY     90013020326
4165B196391549   TED          STRETMOYER                   TX     75089741963
4165B224672B4B   MARIA        BLEA                         CO     90009782246
4165B335561967   PERLA        HERNANDEZ                    CA     46019063355
4165B38595B222   CREOLA       WASHINGTON                   KY     68094653859
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4165B423891569   JOEL         LOZANO                       TX     75016874238
4166115A15B174   R            JACKSON                      AR     23065241501
4166117A85B58B   FLOYD        VIGIL                        NM     90014701708
416624A425B271   VONTASIA     WOODS                        KY     90009074042
41662612A81639   VICTOR       SCHULTZE                     MO     90001846120
4166344715B271   MELISSA      DAVIS                        KY     68045854471
4166344745B174   CINDY        MAXWELL                      AR     23091154474
4166367125B52B   JAIME        MORALES                      NM     36091156712
41663A8625B222   TADD         MILLER                       KY     90013820862
4166453225B58B   OSCAR        SALAZAR                      NM     90014205322
4166492A371999   AUGUSTINE    TRUJILLO                     CO     90003179203
41664994A91394   LEDIS        MARTINEZ                     KS     90015309940
41665176272B43   ESCOBAR      MILTON                       CO     90012321762
4166519472B27B   KIMBERLY     CASTLEBERRY                  DC     90010881947
4166526112B27B   PORTIA       WILLAMS                      VA     90014902611
41665314A91569   OLGA         HERRERA                      NM     75081903140
4166616446198B   JUAN         ORTIZ                        CA     90008041644
41666359372B4B   DANIEL       SANCHEZ                      CO     90010383593
416665A7461963   RICARDO      ARREDONDO                    CA     90012205074
416667A6172B28   WILLIAM      JOHNSON                      CO     90001507061
41667323A93794   BJ           MCEVOY                       OH     90008703230
41668793A71999   PEARL        PACHECO                      CO     38016197930
4166894925B53B   MICHAEL      BEGAY                        NM     90003869492
41668A9268B16B   SERGIO       LOPEZ                        UT     90013990926
416692A318B186   MARIA        RODRIGUEZ                    UT     90011832031
4166966355B174   USEBIO       HERNANDEZ                    AR     90003646635
4166992218B16B   CAROLINE     NAU                          UT     90012959221
4166B119874B97   SHAWNA       MULLINS                      OH     90014471198
4166B125591569   NORMA        SANCHEZ                      TX     90006751255
4166B2A155B174   BRANDY       ROBINSON                     AR     90014242015
4166B437477554   SANDRA       FINELLI                      NV     90013894374
416716A1591569   GERARDO      CADENA                       TX     90014716015
4167182585B52B   FERNANDO     MUNOZ-GARCIA                 NM     36003018258
416718A6391888   ASHLEY       HALBERT                      OK     90014648063
4167246617B475   DEBBIE       STEELE                       NC     90002674661
41672869172B36   BRANDY       HARRISON                     CO     90010798691
4167365862B27B   FRANKLIN     ZELAYA                       VA     81038406586
416738A9472B36   JULIANE      GONZALES                     CO     90001288094
416739A934B271   CAROL        HERNANDEZ                    NE     27064569093
4167679A45B271   PAUL         EVANS                        KY     90014227904
4167782542B27B   WILLIAM      MANN                         DC     90014518254
41677A52622463   RAMON        SALINAS                      IL     90004820526
4167883A95B388   ARACELI      CONTRERAS                    OR     44003048309
4167959A75B53B   ANDREA       ORTIZ                        NM     90014675907
41679649572B36   COURTNEY     RICHO                        CO     90011926495
41679728172B4B   NACY         HERNADEZ                     CO     90011847281
4167B12338B165   UTAHNA       WYASKATTE                    UT     90012751233
4167B19215B53B   MATHEW       MCDERMOTT                    NM     90013811921
4167B272A72B36   ARACELY      AMAYA                        CO     33078862720
4167B53AA91569   PEDRO        SAUCEDO                      TX     90011355300
41681135A4B271   GABRIANNA    MARTIN                       NE     27082341350
4168125725B58B   ERICA        GABALDON                     NM     35023342572
4168172267B449   LISA         EDWARDS                      NC     11067187226
416822A8761967   LUCIA        MONTANO                      CA     46094872087
4168277195B53B   AMMANDA      CUNNINGHAM                   NM     35071847719
41682A97471999   JULIA        SANDOVAL                     CO     38002600974
4168316A872B36   JEFFERY      KENNEDY                      CO     33063731608
4168462744B271   DORIS        FOSTER                       IA     90010206274
4168497544B547   PEDRO        MARROQUIN                    OK     90012419754
41684A17472B43   MICHAEL      FARMER                       CO     33092450174
4168538675B174   JUAN         HERRERA                      AR     90014243867
4168546152B87B   NICK         CLEVELAND                    ID     90009324615
41685559A5B58B   PELE         COONSIS                      NM     90014205590
4168562A772B36   LORENA       CASTANEDA                    CO     33024156207
4168564555B271   SARA         SANDOBAL                     KY     90011296455
41685A93161963   LEAH         COOPER                       CA     46012120931
416876AA872B36   ADAM         CASEY                        CO     90014196008
41688488572B4B   FRANK        MARASA                       CO     33051364885
41688A52471999   MICHELLE     BOWMAN                       CO     90014480524
4168943A18B165   VELAINA      SHERWIN                      UT     31070874301
4168989935597B   MANUEL       MANCILL                      CA     49000568993
4168B539757549   ALEJANDRA    NUNEZ                        NM     90012135397
4168B59385597B   ANTONIO      RODRIGUEZ                    CA     90009615938
4168B73345B58B   JANELLE      LEEWAY                       NM     90012477334
4169147755597B   ALICE        DEPUE                        CA     90008674775
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4169181A47B475   JOSHUA        REID                        NC     90009218104
4169216612B87B   MICHAEL       HOBBS                       ID     90013841661
41692178172B36   MISAEL        LUEVANOS A                  CO     33048781781
4169242475B174   AKIMI         JOHNSON                     AR     90008724247
4169277388B16B   ALEX          MORENO                      UT     90012607738
4169459522B87B   KAYLEE        CIFUENTES                   ID     90008765952
41694618372B43   SARABIA       FERNANDEZ                   CO     33024666183
4169464355B388   MCCAIN        MOLLY                       OR     90010186435
4169536998B165   ALEXANDER     DAURELLE                    UT     90010623699
4169573825B58B   JENNIFER      SEAWRIGHT                   NM     35007467382
41696259372B4B   TERRENCE      OLDSON                      CO     33082972593
4169696165B271   CHRISTOPHER   PERKINS                     KY     90015139616
41696978672B43   BARAK         GLAUB                       CO     33093109786
41696A2124B271   RICARDO       LESSLEY                     NE     90007380212
4169782355B174   TAKIA         MARSHALL                    AR     23064928235
4169796725B222   TABITHA       GOODSON                     KY     90015199672
4169827A491394   DIANN         VICKERS                     KS     90005322704
41698A2198B16B   VALDOMERO     TORRES`                     UT     31053130219
4169B5AA95B174   JERRY         PRINCE                      AR     90010335009
416B153A261963   ADRIAN        AMERSON                     CA     90015135302
416B158755B271   LARRY         ROBINSON                    KY     90014685875
416B174925B52B   SONIA         MENDEZ                      NM     90002417492
416B19A8572B43   JASMINE       GUTIERREZ                   CO     90013419085
416B2587371924   CATHERINE     CURTIS                      CO     32041335873
416B2A98772B36   TECKLA        SWEETWINE                   CO     90010050987
416B348A791988   JERMY         GRENON                      NC     90011274807
416B34A6A5B222   SAMANTHA      WEST                        KY     90012784060
416B369515B53B   CATHERINE     JARAMILLO                   NM     35040906951
416B3916351334   RON           HARTLEY                     KY     90012529163
416B4114372B43   JOANNE        KENNEDY                     CO     90010221143
416B5274821622   AIDA          BRACERO                     OH     90015092748
416B534698B16B   ALEJANDRO     HERNANDEZ                   UT     31046953469
416B53A1691394   GLORIA        VIVEROS                     KS     90013283016
416B551AA91873   NIXON         LOPEZ                       OK     21094025100
416B554825B222   CORA          FORD                        KY     90011335482
416B5616361967   MILES         WATANABE                    CA     90015186163
416B5638A61963   SHARLENE      WALKER                      CA     90015306380
416B611A991988   LYDELL        GRIFFIN                     NC     90003701109
416B623355597B   ELIZABETH     PENA                        CA     90013602335
416B655547B262   JULIE         STEVENS                     NV     90014395554
416B72A3591873   JANELLE       JARCHOW                     OK     90011022035
416B7542455939   GERARDO       ALVAREZ                     CA     49019525424
416B7545A91988   SEMEKIA       TALYOR                      NC     90011275450
416B7AA447B475   TEVIN         REID                        NC     90012250044
416B851975B174   RONNIE        SUMMERVILLE                 AR     90010915197
416B8664271999   JOHN          DELAO                       CO     90002826642
416B8755872B4B   RANDY         MCCLELLAN                   CO     90011937558
416B885A493794   STACI         MCINTOSH                    OH     90013648504
416B914A85B271   ANGELITA      POINDEXTER                  KY     90008451408
416B93A2561967   JOSÉ          CUADROS                     CA     46004443025
416BB37117B475   JOSH          ALLISON                     NC     90013073711
416BB38A22B29B   ABRILLE       BYNUM                       DC     90014723802
416BB438A72B43   STEVEN        PAYNE                       CO     33052744380
416BB481561963   GINA          PEREZ                       CA     46077304815
416BB852641258   LINDSY        DODDS                       PA     90005648526
416BB964172B36   THERESA       GARNER                      CO     33041999641
416BBA1A55B222   MARELYS       SILVA                       KY     90006390105
41711183772B36   ALFREDO       FLOREZ                      CO     90002331837
4171137A391873   ANDREA        BROWN                       OK     90011673703
4171141555B53B   REFUGIO       MONTES                      NM     90013654155
41713315A71999   MICHELLE      ARGUELLO                    CO     90009503150
4171362738B165   KYLE          MARTIN                      UT     90011186273
4171367AA2B921   GRISELDA      RABAGO                      CA     90012526700
41714489A91873   ARIEL         DESMOND                     OK     90014634890
41716675A5597B   TRICHELLE     ELLIS                       CA     90014976750
417173A5A41294   JAMES         BROWN                       PA     90006503050
41717556A72B43   KEVINIA       PICKFORD                    CO     90014875560
4171855185B58B   MONICA        MIRANDA                     NM     90009595518
4171865145599B   CARLOS        RUBIO RAMIRES               CA     90011006514
4171873682B27B   CARLETHA      CHEEKS                      DC     90012837368
417194A115B52B   MARIA         MERCADO                     NM     90012574011
417194A165B58B   LILA          CASIAS                      NM     90008044016
417196A5691988   TRAYKIA       SLAYTON                     NC     90014616056
4171B227561967   MARIA         ULLOA                       CA     90013032275
4171B339591873   VELAZQUEZ     SOLO                        OK     90009473395
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4171B44892B87B   STEPHANIE        JOHNSTON                 ID     41015604489
4171B62283B394   AMANDA           VALVERDE                 CO     90015266228
4171B73922B27B   JEROME           COOPER                   DC     90010267392
4171B87494B271   ERIC             CHRISMAN                 NE     27005558749
4171BA5395B222   VICKIE           BRYANT                   KY     90011170539
417217A4991873   LACEY            ANTWINE                  OK     90009427049
417218A3A2B27B   ARICK            FOSTER                   DC     90012518030
4172249814B271   MEGAN            ROLLINS                  IA     27015294981
4172258635B58B   FRANCISCO        GARCIA                   NM     90001245863
4172386425597B   ANGEL            JAIMES                   CA     90002708642
4172413765B222   SEANTRICE        PERRY                    KY     90007061376
4172467518B16B   GARY             MARCOTTE                 UT     90012066751
4172494445B53B   PATRICIA         SILVA                    NM     35070819444
417249A472B87B   BRANDI           VANCLEAVE                ID     90002279047
4172559322B84B   HUGO             SALAZAR                  ID     90015365932
417263A1771921   CHERYL           VELDEZ                   CO     90013743017
4172641965B271   KEITH            SAVAGE                   KY     90011604196
4172682975B222   HANNAH           WILLIAMS                 KY     90014138297
41726A47672B43   TAMARA           WILSINSON                CO     90010120476
41726A7A891394   SARAH            KALIVODA                 KS     29084390708
41727A89A5B52B   C1979HRISTOPER   CARRILLO                 NM     90013880890
4172926897B475   REGINA           HUNTER                   NC     90004642689
4172969AA5B58B   DAPHNE           PADILLA                  NM     90007426900
4172B133A72B4B   SABRINA          RIVALI                   CO     90010621330
4172B53895B52B   ROBERTO          MONAREZ                  NM     90003565389
4172B57465B271   CYNTHIA          SANDERS                  KY     90013385746
4173136515B222   ELEXIS           JOHNSON                  KY     90010973651
4173139A291988   STEVIE           HAMBURGER                NC     90014273902
4173143215B271   GAYLE            SPENCE                   KY     68011764321
4173172155B52B   VICENT MECA      GARCIA                   NM     90005767215
41731868A5597B   MARIO            RAMIREZ                  CA     90014818680
41733A6728B16B   MERCEDES         HALSANA                  UT     90014730672
41734237272B36   KEVIN            MURRAY                   CO     90014062372
41734564872B32   STEPHANIE        MARTINEZ                 CO     90010275648
4173493685B58B   AUGIE            LUCERO                   NM     90009929368
41734A86271999   CANDISE          ROBINSON                 CO     90011340862
41734A9517B475   APRIL            LIPSCOMB                 NC     90014200951
4173589922B87B   ERICA            DEEN                     ID     41059128992
4173595784B271   NATASHA          PALMER                   NE     90010049578
4173727825B271   LINDA            FAULKNER                 KY     90012052782
4173789295B174   CARLA            YOUNG                    AR     90014188929
4173913275597B   DAISY            ARELLANO                 CA     90010751327
4173996A651334   JERRY            MCCARTY                  OH     90013999606
4173B616351383   ALISHIA          TORRES                   OH     66093186163
4174229397B475   MARGARET         PAYTON                   NC     90010142939
41742A93792825   MARA             MEZA                     AZ     90014480937
4174311372B27B   JACQUELINE       DOBIE                    DC     90015311137
4174374592B27B   CORTISHA         MOORE                    DC     90012837459
41743A5A85B58B   MILYSSA          CHINO                    NM     90012470508
417443A7881639   CHARLES          MCABEE                   MO     29089313078
41744A1798B165   NATASHA          ELANDER                  UT     31041420179
41744A6A441294   LARA             GANS                     PA     90004230604
4174558498B16B   ISIDRA           MARTINEZ                 UT     90012155849
41746A5A85B58B   MILYSSA          CHINO                    NM     90012470508
41747255172B36   OFELIA           FERNANDEZ                CO     33030242551
4174771878B165   BRITTANY         BAKER                    UT     90009427187
4174778794B271   RICHARD          WILLIAMS                 NE     90012937879
41747AA8241294   MARC             REED                     PA     90012060082
4174836665B222   DANIEL           FRAZIER                  KY     90015303666
417487A3591569   GUADALUPE        PEREZ                    NM     75077717035
41748A23A5B174   RICKY            DAVIS                    AR     90011880230
4174911662B27B   DREW             SHUMANN                  VA     90012141166
41749697172B43   KAYALA           AYALA                    CO     33045756971
4174B58745B53B   RUDY             GURULE                   NM     90013285874
4174B5A9231481   SONIA            OWENS                    MO     90006335092
4174B63A461967   AIOTEST1         DONOTTOUCH               CA     90015116304
4174BA1355B58B   CECILIA          SALDANA                  NM     35025780135
4175118AA61967   JUAN             HERNANDEZ                CA     46063611800
417512A1391394   THOMAS           NICOSKI                  KS     90015482013
417512A8372B36   PATRICIA         THOMPSON                 CO     90015332083
4175154365B222   SHERIAL          WHITE                    KY     90011365436
41753291772B43   JASMINE          RUSSELL                  CO     90000132917
4175349915B222   COREY            CONLEY                   KY     90009994991
41754356672B43   VICTORIA         MNUSHKIMA                CO     90014563566
4175477114B546   RACHEL           MANLEY                   OK     90011187711
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4175553582B84B   ALI          MUHMUD                       ID     90014515358
417555A4241258   SHARON       CRAWFORD                     PA     90011825042
4175562525B271   DAVID        HAYES                        KY     90013386252
4175683315597B   SERGIO       HEREDIA                      CA     49017188331
4175698A354151   NANELL       CLARK                        OR     90012479803
41756A29A71999   DENISE       RODRIGUEZ                    CO     90011800290
41756A58872B36   MARYANN      RYAN                         CO     90012090588
4175728A391988   RUDY         CASTRO                       NC     90013232803
41757481472B4B   ALEX         GARCIA                       CO     90010744814
4175758915B271   VERONNIE     GRAVEL                       KY     90013265891
4175761225597B   LAURA        ZAVALA                       CA     90014746122
417577A7591394   SARA         LIRA                         KS     90000897075
41757965A31664   APRIL        THOMPSON                     KS     90005449650
41758132772B43   APRIL        ANDERSON                     CO     90004001327
417589A498B16B   DAVID        BROWN                        UT     90014449049
41759541472B36   DAMION       TRUJILLO                     CO     90012295414
4175993215B53B   SILVIA       CORONADO                     NM     35041259321
41759A3454B271   LATASHA      JACKSON                      NE     27098570345
4175B177A71999   NIKI         GARCIA                       CO     90012561770
4175B36235B53B   ANAHI        MUNOZ                        NM     90010723623
4175B71575B53B   ZALLEY       MUNOZ                        NM     90000127157
4176126A85B222   BLUE         DEVIL                        KY     90014872608
4176263A75B53B   FLORENTINO   IBARRA-VELARDE               NM     90009716307
4176349A391988   GARRY        MARSHALL                     NC     90013374903
4176373415B53B   MONICA       PONCE'SEIDLLO                TX     35044817341
4176473365B52B   LUIS         ORTEGA                       NM     36090787336
4176588648B16B   TUUTAU       MALIA                        UT     31039548864
41766112972B4B   PILAR        JIMENEZ                      CO     33053261129
41766438A72B36   JAVIER       PADILLA                      CO     90013574380
4176652A54B271   MELINDA      CLAVELL                      NE     27025535205
4176661535B52B   BENITO       MARTINEZ                     NM     90006076153
417669A8891569   ARTURO       GONZALEZ                     NM     90009559088
41768A8267B399   JENAN        SAFI                         VA     90013150826
41769235A91394   JACKY        VARELA                       KS     90015132350
4176929355B926   VERONICA     CIBRIAN                      WA     90015452935
41769A8655B58B   MARIO        GONZALEZ                     NM     90010290865
4176B114A3B356   SUNEIBY      CASTILLO                     CO     90006571140
4176B78A95597B   TRINIDAD     RIVERA                       CA     49060597809
4177184A45597B   DONNELLE     FROST                        CA     49073478404
417719A5572B43   LUIS         CRUZ                         CO     90013419055
4177252815B271   JESSICA      SKAGGS                       KY     90011455281
4177255884B271   MELISSA      THOMPSON                     NE     90002215588
4177368778B181   VERONICA     RAMIREZ                      UT     90008356877
417742A235B174   ASHLEY       WILLIAMS                     AR     90011642023
41774458A8B16B   SUMMER       WILLIAMS                     UT     90008364580
4177552764B271   JOHN         WILLIAMS                     NE     27033275276
4177637265B52B   CAITLAN      SANCHEZ                      NM     90012743726
41776576572B4B   NORMA        MARTINEZ                     CO     33080755765
4177686258B165   ROSA         GONZALEZ                     UT     90014908625
417776A262B879   NATHON       BOUSQUET                     ID     90011666026
4177775125B222   VICTORIA     COLE                         KY     90014007512
41777927372B4B   ROCIO        REYES                        CO     33015579273
4177853575597B   KENNETH      GARCIA                       CA     90010005357
4177861925B271   JAMES        HAMILTON JR                  KY     90009076192
417788A997122B   PAYGO        IVR ACTIVATION               IA     90012728099
41779548272B36   EDWARD       GOODMAN                      CO     33035055482
4177996A361995   ALEJANDRO    ESQUIVEL                     CA     90011099603
4177B288471999   ALVINO       MAES                         CO     90014822884
4177B63498B165   GRANT        MCDONALD                     UT     31039436349
4177B842651334   THERESA      BROWN-LOCKETT                OH     90011638426
4177B95165B53B   ROY          PADILLA                      NM     90011489516
417814A9572462   ERIC         KEEFER                       PA     51001374095
41781682472B43   JEFFREY      VANVELKINSBURGH              CO     33069776824
4178177488B16B   ANGELA       HARVEY                       UT     31063047748
41781A2542B87B   KIM          VERNON                       ID     41007170254
41781A35272B36   DENVER       SMITH                        CO     33044920352
41782223272B43   JOSE         BERNARDO CORCHADO            CO     90010542232
417822A635B53B   STACEY       COREY                        NM     90013662063
4178288474B541   STEPHANIE    DEMEL                        OK     90015118847
41782A4855B52B   SABINA       PENA LUJAN                   NM     36096090485
4178311468B16B   JOSEPH       FRANK                        UT     90012271146
4178319672B87B   JEREMY       HASKINS                      ID     90015131967
4178374924B271   LORETTA      OWENS                        NE     90014767492
417839AA372B36   JOSEF        ORTEGA                       CO     90012679003
4178439575B52B   IDANIA       GARDEA                       NM     90013863957
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417844A6693794   JESSICA      DOYLE                        OH     90001924066
4178521585B271   KELLI        HAMPTON                      KY     90014602158
41785232772B43   NELSON       ROJAS                        CO     33004422327
41786A62191569   EDDIA        ENRIQUEZ                     TX     90013980621
4178759414B271   NIK          GEPFORD                      NE     27041225941
4178775442B87B   JACOB        CLARK                        ID     90014047544
4178776585B174   LISA         SHAW                         AR     90015157658
417881A515B174   JOSE         ARREDONDO                    AR     90013601051
4178878215B52B   YOLANDA      TENA                         NM     90011577821
417892AA15B174   JIMMY        JOHN                         AR     90007272001
4178997552B27B   ROSE         BYRD                         DC     90009319755
4178B57A991569   HAIDE        URDAIBAY FERNANDEZ           TX     90015285709
4178B64582B87B   JOSEPH       HOLLAND                      ID     90011916458
4178B714871999   SEAN         WAGERS                       CO     90005037148
4179142A65B58B   RICARDO      RUIZ                         NM     90014214206
4179187AA61967   ANITA        WARD                         CA     90009868700
41792375276B59   DIEGO        LUNA                         CA     46005953752
4179263394B271   OSHNAH       HARRIS                       NE     90010176339
4179268717B475   PHILLIP      BROWN                        NC     90008246871
41792A95A7B666   ALETA        JILCHRIST                    GA     90013910950
41793559972B4B   MARIA        CARRILLO                     CO     90013185599
4179359785B58B   JAMIE        MATTHEWS                     NM     90009595978
41793713172B4B   CAROL        MONDRAGON                    CO     33079577131
4179389897B362   ANA          MEJIA                        VA     81036588989
4179492912B27B   AKEELA       JONHSON                      DC     90014719291
41794993A5B58B   LILLIANA     RODRIGUEZ                    NM     35023049930
41795195A55939   DEVIN        CHERRY                       CA     90013131950
4179539A433662   DEVON        WILLIAMS                     NC     90005973904
4179568A271999   MARLENE      LOPEZ                        CO     90012676802
4179678695B58B   RAUL         CORTES                       NM     90005537869
41797358472B36   PAUL         MORALES                      CO     33051193584
4179787212B87B   ALYSSA       SCHULZ                       ID     90014088721
4179844555B53B   GUILLERMIN   VENEGAS                      NM     35079304455
4179878655B174   ZANQUISHA    FOLEY                        AR     90014887865
41798A27A71999   JOSH         MCDANIEL                     CO     90008390270
41798A5347B475   KATHERINE    CHRISTY                      NC     90010980534
417991A6991394   KANYCE       JORDAN                       KS     90008351069
417992A2555939   SYLVIA       GARCIA                       CA     90013132025
4179B576772B24   TINA         TOLEDO                       CO     90012435767
417B1494891394   DIANA        SILVA                        KS     90015034948
417B2459A5B174   ANITA        ADAMS                        AR     90012144590
417B2A46461963   GUADALUPE    MARTINEZ                     CA     90011670464
417B3258872B43   VIRGINIA     L CONNELL                    CO     90006982588
417B366515B271   DEBORAH      RANDALL                      KY     90011296651
417B3A51A5B174   ROOSEVELT    WILSON                       AR     90012670510
417B4155847954   BETTY        HERNANDEZ                    AR     25001141558
417B424A25B271   RENEE        SHERLEY                      KY     90014242402
417B459114B271   CECIL        WORKMAN                      NE     90013865911
417B471445B222   TONIA        ARMSTRONG                    KY     90014767144
417B486988B165   DAVID        COLEMAN                      UT     31067718698
417B5225181639   ELIAS        DIAS                         MO     90006832251
417B575724B271   LAURA        RODRIGUEZ                    NE     90009687572
417B6141972B4B   WENDY        LOPEZ                        CO     90001811419
417B6462391394   BRYIAN       ALEXANDER                    MO     29054814623
417B7577691569   CHRISTIAN    CAZARES                      TX     90013685776
417B768A25B52B   PATRICA      VILLEGAS                     NM     90013926802
417B777538B165   NOEMI        MARTINEZ                     UT     90004787753
417B8525A93794   ZACH         HANSFORD                     OH     90013165250
417B8983A55939   APRIL        HANDY                        CA     90014869830
417B941555B53B   REFUGIO      MONTES                       NM     90013654155
417B9594755939   ISRRAEL      SOTO                         CA     90013125947
417B986792B27B   URSULA       EDMONDS                      DC     90007058679
417BB44135597B   ERIKA        TORRES                       CA     90013094413
417BB53748B16B   JOSHUA       PORTER                       UT     90008435374
417BB842361956   MIGUEL       DELATORRE                    CA     90007688423
4181116A45B174   ABEL         MORALES                      AR     90013121604
41811325A2B87B   PAYGO        IVR ACTIVATION               ID     90011043250
41812281572B4B   BRANDON      CROPPER                      CO     90012482815
41812A41A5B271   CRYSTAL      RAINEY                       KY     90012110410
4181355798B16B   PASCUAL      GOMEZ                        UT     90009015579
4181412457B475   LOTTIE       CUNNINGHAM                   NC     90008251245
4181439715B52B   HENRY        LOVATO                       NM     90011243971
41814524172B28   JEREMIAH     STANFIELD                    CO     33028985241
41814598372B36   MCKAULY      MALONE                       CO     90011995983
4181589A75597B   CHET         ALCORN                       CA     90015068907
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4181623768B151   HERMELINDA      SAAVEDRA                  UT     31081292376
41816A13272B36   JOHN            ANDERSON                  CO     90015010132
41817826972B36   GINA            ORTIZ                     CO     33019698269
418179A9A8433B   NANCY           DAMIAN HERIDIA            SC     90012319090
41817A94255939   MONIQUE         VILLA                     CA     90010320942
4181822AA5B52B   RUTH            DUARTE                    NM     90014742200
4181941915B222   JUAN            ORTEZ                     KY     90007754191
4181966A25B271   WILLIAM         REECE                     KY     90012576602
4181B97298B165   KERRI           FRANCOM                   UT     31041979729
4181B9A6971934   VIOLA           GOBEA                     CO     32096989069
4182117125B271   DEWAYNE         TROTTER                   KY     90013341712
418219A4A91873   SILVIA          VILLA                     OK     21037679040
41821A9413B356   NATHANAEL       SOUTHARD                  CO     33065560941
4182324A35B271   RAMONA          SAMON GONZALEZ            KY     90013932403
41823A14461963   MIGUEL          HEREDIA                   CA     90013260144
4182417A291873   DENISE          GONZALZE                  OK     90010321702
4182453385B58B   SANDRA          BACA                      NM     35009835338
418245A9A8B165   BRUCE           MURDOCK                   UT     90004325090
4182542425B264   SHARRON         SALES                     KY     68077844242
4182593A75B58B   MIGUEL          HERNANDEZ                 NM     35018049307
41825A5138B165   MIKE            JENSEN                    UT     31038020513
4182612425B222   ANGELA          CARR                      KY     90013851242
41827521772B4B   VICTORIA        HINOJOS                   CO     90013435217
41827829A33626   MIGUEL          PATRICI                   NC     90012838290
4182785642B87B   JOHNNY          AUSTIN                    ID     41063558564
41827A6425593B   THOMAS          HARRIS                    CA     90013000642
4182831484B955   KIZZY           JONES                     TX     90014153148
4182838222B27B   BATBAATAR       TEGSHJOJOD                VA     90012723822
4182B456931457   JEFF            PUDLOWSKI                 MO     90005954569
41831185A71934   JAMES           JARAMILLO                 CO     32009331850
4183119955B53B   AMY             ANDERSON                  NM     90014971995
4183121727B475   VALERIE         JORDAN                    NC     90014722172
418314A975B271   KENNEITHIA      MILES                     KY     90012664097
4183172725B174   TONY            PHILLIPS                  AR     23046247272
4183173854B271   PAVLINA         CARRILOO                  NE     90009327385
4183197A261967   DANIEL          ROSS                      CA     90009869702
4183234648B165   RACHEL          NIEVES                    UT     90014743464
41832899A61963   CARLOS          ROJAS                     CA     46098028990
4183334525B52B   YOLANDA         MORENO                    NM     90012753452
418338A2591569   GABRIEL         HORTA                     TX     90014868025
4183393595597B   TY              ANDERSON                  CA     90014839359
41833AA2A91394   MICHAEL         NORTON                    KS     90015180020
418346AA15597B   ROSALINDA       OROZCO                    CA     90011346001
4183489638B16B   TRENT           PETERSON                  UT     31094298963
41835235772B36   MAURICE         JORDAN                    CO     90012212357
418352A1755939   LAURA           VAZQUEZ                   CA     90015052017
418371A3961967   VICTOR          GARCIA                    CA     90002531039
4183768864B546   DERRICK         MCKNIGHT                  OK     90013806886
4183B23395B52B   DINA            RAMIREZ                   NM     90005182339
4183B258A71999   BENJAMIN        ORTIZ                     CO     38022452580
4183B315891873   DAVONNA         TYSON                     OK     90014343158
4183B45682B87B   LARRY           YORK                      ID     90013394568
4183B51478B16B   LACEY           NIXON                     UT     31051385147
4183B699A47954   MEGAN           MORGANFLASH               AR     25029666990
4184186922B27B   VANESSA         WILSON                    DC     90009318692
41841A74572B43   JOSE            JUAREZ                    CO     90013410745
4184215A261967   ERIKA           AMEL                      CA     46067721502
41842495A55939   AMY             RICHARD                   CA     90014464950
41842621A91569   VIANEY          SAMANIEGO                 TX     90013646210
41842696972B4B   JOE             ENGELBRECHT               CO     33035496969
4184363A461967   AIOTEST1        DONOTTOUCH                CA     90015116304
4184393A291988   MARLON          CERON                     NC     90015149302
4184457A891394   GLADIS          MARTINEZ                  KS     90011945708
4184594732B828   CHRYSTAL        MEDRANO                   ID     90004089473
4184661387B475   ALICIA          CASELLI                   NC     90014736138
4184693A691873   THOMAS          HANSEN                    OK     90012149306
4184719955B52B   MANUEL          VILLANUEVA                NM     90003091995
41847362A51334   MICHELLE        SHAW                      OH     90011413620
418477A7551334   SUSAN           SCHORSCH                  OH     90011857075
41848535572B54   BILLY           GRAHAM                    CO     90004835355
418489A295B52B   ANDREW          VILLA                     NM     90004229029
418491A3671999   GUSTAVO         MARES                     CO     90012781036
4184936A851383   ADINA           KIMBLE                    OH     66004673608
4184984A55B271   MATTHEW         CAMPBELL                  KY     90011298405
418498A9A91374   MISS BRILLANT   SPECIAL                   KS     90009838090
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41849A1A191873   JERRICA      SMITH                        OK     90010110101
4184B419291988   TIERRA       MARSHALL                     NC     90014654192
4184B4A4971934   ABEL         DURAN                        CO     90014754049
4184B539A4B271   JENNIFER     GUARDADO                     IA     90014265390
4184B566271934   ABEL         DURAN                        CO     90004925662
4184B6A8451334   YONY         RAMIREZ                      OH     90007426084
4184B84A38B165   NEUPANE      GANGA                        UT     90012088403
4185169745B174   TAMMY        NORTON                       AR     90001106974
41851A47571999   BELDON       TINNEY                       CO     90012310475
41852214472B36   LUCKE        DRISCLL                      CO     90012362144
4185236284B271   ARIANA       SEALS                        NE     90011443628
4185257A18B16B   JAY          LUNA                         UT     31048605701
4185259315B271   LINDA        ELDER                        KY     90000145931
4185283255B174   CARLETAH     BUNTING                      AR     90012578325
41852A32291394   SIDNEE       WRIGHT                       KS     90012670322
4185387A255939   SILVIA       GONZALEZ                     CA     90014478702
4185459438B16B   AURA         MURALLES                     UT     31006465943
41854668172B36   WELLS        SYLVIA                       CO     33070946681
4185492A157549   JAMES        ONEIL                        NM     90008709201
41854A86391569   LIRIA        RUFFIER                      TX     90004020863
41855448A61963   ROSALINA     RODRIGUEZ                    CA     90012744480
4185571425B53B   GARCIA       ATILANO                      NM     35095137142
4185632358B16B   SAVANNAH     MAUGER                       UT     90008533235
4185669595B271   CECE         GORE                         KY     90007136959
4185681A593794   EDWIN        CRONE                        OH     90013238105
41857644572B4B   COLLEEN      ROTH                         CO     33064706445
41858A41861963   STANLEY      MORRIS                       CA     46070250418
418596A918B165   TIMOTHY      DYER                         UT     90013656091
41859A7564B271   LORRAINE     ANDERSON                     NE     90006040756
4185B414272B36   KARINA       RIVERA                       CO     90013794142
4185B533591394   VICENTE      MOLINA                       KS     90013295335
4185B81392B27B   ROBERTO      ESCOBAR                      DC     90011678139
41861113872B4B   MANUEL       TORRES                       CO     90012241138
41861984772B36   JUSTIN       BOM                          CO     90014769847
418628A5291992   DEEDEE       JACKSON                      NC     90002798052
4186314158B165   SARA         LOPEZ                        UT     31023871415
4186393165B53B   BARBARA      SURBEY                       NM     90001579316
41864239472B36   LISA         THOMSEN                      CO     90006102394
4186458455B53B   KEITH        MCGAVOCK                     NM     90009655845
41865A6712B87B   DEANNA       CAVIEZEL                     ID     41080820671
41866295472B36   MICHAEL      PLASENCIA                    CO     90012202954
4186783548B165   ANA          ROBLES                       UT     90011768354
41868263A91569   CHRIS        MELINIOTIS                   TX     75029802630
4186969885B52B   OSCAR        RUIZ CASAS                   NM     90013546988
41869786472B39   ANABEL       LARA                         CO     90009707864
41869A3868B16B   CRISTINA     SANTOS                       UT     90011500386
4186B47515597B   JESSICA      JIMENEZ                      CA     90013894751
4186B596A4B271   MICHELLE     MOORE                        NE     90005075960
4186B643193794   SCARLETT     HILTON                       OH     90013516431
4186B86284B271   GUILLERMO    FLORES TREJO                 NE     27023438628
41871A1175B58B   SHIRLEY      HIELO                        NM     35005970117
4187297778B16B   WHITNEY      JOHNSON                      UT     31012909777
41872A7795B58B   DEE          BANCROFT                     NM     90012470779
4187343897B694   THOMAS       NICOLSON                     GA     90010574389
41873924872B36   ERIKA        ORONA                        CO     33046409248
41874836272B36   LISBETH      RAMIREZ                      CO     33051578362
4187543A872B4B   OSCAR        ANGUIANO                     CO     90013094308
4187543A95B53B   JAKE         MCIVER                       NM     90013654309
418757A9141294   CYNTHIA      WARREN                       PA     51055907091
41876A3917B475   SHAVONDA     GREEN                        NC     11025680391
41877594872B43   ARCINIEGA    MARTIN                       CO     33097455948
4187844125B53B   VANESSA      BUSTILLOS                    NM     90003714412
4187852965B58B   YESSENIA     LOPEZ                        NM     90010695296
4187881117B475   CARLOS       MERCADO                      NC     11087828111
4187884A75B271   PICK         JONES                        KY     90009078407
4187888655597B   FRANCISCO    MORENO                       CA     90000298865
4187932865B271   LEQUITA      RODRIQUEZ                    KY     68059523286
41879656172B4B   SOFIA        CASTILLO                     CO     33036986561
4187B16A45B58B   MANUEL       LOGNA                        NM     90000621604
4187B434572B51   JASON        MONZON                       CO     90014754345
4187B542791988   KAYRA        COOPER                       NC     90014655427
4188122625597B   GUADALUPE    VARGAS                       CA     90014022262
41881399A93794   NATAASHA     CANNON                       OH     90010103990
4188223925B58B   DARLENE      CRITELLI                     NM     90003552392
418826A958B16B   BEVERLY      DURAN                        UT     90008366095
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418828A2493794   FRANK             THOMSON                 OH     66089168024
4188331155B271   DAVID             PARKER                  KY     90013853115
4188351667B475   MARLINA           WILKINS                 NC     90011605166
41883844872B43   ANGEL             DURAN                   CO     33087898448
41883A38671999   ANGELIQUA         CHAVEZ                  CO     38098730386
4188455798B16B   PASCUAL           GOMEZ                   UT     90009015579
4188475A95B53B   ERICA             REYNA                   NM     35001117509
418848A948B165   FREDY             MELCHOR                 UT     90013318094
4188688234B547   LUELLA            JOHNSON                 OK     90008988823
41888441A61963   ESTELA            DOMINQUEZ               CA     90014804410
41888629472B4B   YOLANDA           BARRIENTOS              CO     90012266294
4188863265B174   DANIELLE M        CARRINGTON              AR     90010356326
4188896344B271   DIOSDADA          GRAHAM                  IA     90012169634
41889433172B43   MARGARITA         CASTANEDA               CO     33057954331
4188973565B52B   BERTHA            CHANES                  NM     90013967356
4188B5A925B52B   JULIAN            MEDRANO                 NM     90013395092
4188B84A13162B   BRITTANY          HALL                    KS     90007518401
4188B891255939   ROSA              GUZAM                   CA     90014618912
4189248277B475   ALESIA            EUART                   NC     90008084827
4189342635597B   IVONNE            GARCIA                  CA     90011094263
41893536572B43   HAYLEY            FIGUEROA                CO     90012145365
418952A3172B22   OMAR              CASILLAS                CO     33038762031
4189545435B174   CHARNETTE         SMITH                   AR     90015054543
4189697124B271   A                 WILSON                  NE     90014279712
4189732428B14B   ISABEL            EGAS                    UT     90007273242
4189779725B222   PAYGO             IVR ACTIVATION          KY     90013367972
4189821AA5B174   MICHAEL           CANADA                  AR     90014252100
4189825A62B87B   KENRIC            KARNS                   ID     90012182506
41898631A91569   DANIELA           GONZALEZ                TX     90010816310
4189912915B58B   MELANIE           COTTER                  NM     35039371291
4189B38195B222   AMBER             HOLLAND                 KY     90004303819
4189B447291569   ROSA              GUTIERREZ               TX     90013294472
4189B472771999   SHAWNA            VIGIL                   CO     38056704727
418B127965B52B   ANDREA            ARCHULETA               NM     90010712796
418B1481251334   MARIE             BRANTLY                 OH     90007524812
418B157634B592   SHALETHA          GILBERT                 OK     90006855763
418B1A37155939   DAVID             HARVEY                  CA     49038050371
418B1A7275B58B   DIANA MARCELA     GARCIA                  NM     90012470727
418B2A3665B271   COLBERT           RALPH                   KY     90011200366
418B3324671999   GEORGE            YACCARINO               CO     90012263246
418B3364472B43   TAMMIE            FIELDS                  CO     90002283644
418B375615B52B   MERCEDES          LUEVANO                 NM     90013057561
418B381A591394   CLAUDIA           LEE                     KS     90000428105
418B436298B16B   VALARIE           WILLIAMS                UT     90012613629
418B5341991873   CHRISTINA         IVEY                    OK     21092993419
418B573485B222   LACIE             WARREN                  KY     68072677348
418B585382B27B   HENRY             DUDLEY                  DC     90008878538
418B6347371999   BOBBIE            HAVENS                  CO     90010853473
418B649A391873   SOLOMON           SMITH                   OK     21040574903
418B6515291569   AMANDA            OLIVAREZ                TX     90014075152
418B671A55B52B   ERNESTO           HOLGUIN MORALES         NM     36025987105
418B69A3161967   JOSE              CONTRERAS               CA     90009869031
418B6A22A2B87B   CHERYL            GOOD                    ID     90010900220
418B725415B271   RICHARD           FORREST                 KY     68060252541
418B747493B37B   THOMAS            MEE                     CO     33073604749
418B754AA72B43   DEBORAH           ROJAS                   CO     90006385400
418B7823791569   ADRIAN            CONTRERAS               TX     75086648237
418B796657B399   DIANA             KOYAMA                  VA     90000289665
418B8148861996   ROBERT            R REYES                 CA     46009641488
418B8319751334   FRANCISCO         CASTRO                  OH     66075873197
418B8429A55939   JOELINA           SOLIZ                   CA     90010214290
418B84A165B52B   DAVID             TAPIA                   NM     36090284016
418B8558A91873   LACEY             HILLHOUSE               OK     90005315580
418B9553A93752   JASON             FERRIS                  OH     90009295530
418B9894272B4B   NANCY             ILG                     CO     33078068942
418B9995A5B52B   JOSEPH            TRUJILLO                NM     90006719950
418B99A6591394   JULIO             IGLESIAS                KS     90015169065
418BB259291988   RICARDO ANTONIO   ARGUETA                 NC     90012492592
418BB435871999   RANDY             JONES                   CO     90006094358
418BBA22A2B87B   CHERYL            GOOD                    ID     90010900220
4191148335B53B   KARLA             ORNELAS                 NM     90015104833
4191157A75597B   MARY              HICKS                   CA     49076455707
4191178A58B16B   TONYA             BOYER                   UT     90014317805
4191195922B27B   CHRISTINE         NEWMAN                  DC     90003319592
4191213945597B   JESSICA           GOMEZ                   CA     90011951394
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419124A5A72B4B   CASEY        JABLONSKI                    CO     33011874050
4191292787B475   MICHELLE     FISHER                       NC     11007399278
41913A2542B87B   KIM          VERNON                       ID     41007170254
41913A6825B271   LESTER       WASHINGTON JR                KY     68024030682
41914438772B36   PEDRO        CASTANEDA                    CO     90010714387
419161A838B849   JASMINE      NAU                          HI     90014401083
4191649765B271   DON          FARRIS                       KY     68053034976
4191673235B53B   GRISELDA     VARGAS                       NM     35031217323
41916A14191394   ALEJANDRO    MARTINEZ                     KS     90012560141
41916A62191569   EDDIA        ENRIQUEZ                     TX     90013980621
41917278A72491   TRACY        LANE                         PA     90013402780
41917A2A62B87B   WALTER       NELSON                       ID     41000460206
41917AAA371934   KURTIS       SALENY                       CO     90006270003
41918689833B55   BRENT        JARZAB                       OH     90015396898
419192A9781639   SEAN         POSTPICHAL                   MO     90003102097
4191964348433B   MIGUEL       CERON                        SC     90012956434
41919686A55999   JUAN         RANGEL                       CA     90008746860
4191B198971999   ROBERTO      RAYA                         CO     38008341989
4191B251A41294   MICHELLE     BLAIR                        PA     90001052510
4191B318691569   JESUS        ARROLLO                      TX     90003953186
41921349A2B87B   GINGER       OSTROWSKI                    ID     90004733490
4192184145597B   MAYRA        COSSIO                       CA     90012838414
4192271422B27B   ALICE        JOHNSON                      DC     81056267142
41922A61A72B36   SONIA        VITAL                        CO     33083060610
4192344678B165   STEVEN       BUSHNELL                     UT     90014604467
41923911A91988   ANDREW       JONES                        NC     90014659110
41924131A91873   MORA         GERARDO                      OK     21034331310
419245A6861963   DANIEL       CELAYA                       CA     90015195068
4192478415B174   MARGARITA    MONTIEL                      AR     23093607841
4192533852B87B   BRANDON      BEACH                        ID     90006363385
419257A899373B   JEANETTE     MCCOWN                       OH     90012927089
4192582492B264   JAIME        SANCHEZ ESCOBAR              DC     90012468249
4192618588B16B   SKLYLER      CHIDESTER                    UT     90011711858
4192735863B351   VERONICA     DEJOIE                       CO     33044273586
41927557772B43   CASEY        D                            CO     90014875577
419275A512B27B   KEYONA       JOHNSON                      DC     90014965051
41927A39A91569   JOANA        VARELAS                      TX     90006860390
4192824725B174   ALEXANDRIA   COVINGTON                    AR     90014252472
4192915935597B   ASHLEY       XAYCHAREUN                   CA     49002921593
41929274776B48   PHILIP       JOHNSON JR.                  CA     46017492747
41929316A71999   BRIDGET      RAMIREZ                      CO     38096463160
4192B127391394   MICHAEL      STEWART                      KS     90015261273
4192B12A251334   DAVID        CAMPBELL                     KY     90008101202
4192B259172B36   MEAGAN       HERALD                       CO     90009582591
4192B31815B58B   SILVIA       GARCIA                       NM     90014423181
4192B75778B849   PABLO        AZEVEDO                      HI     90014437577
4193276945B53B   ARIEL        BRITO NOGUET                 NM     90010287694
4193331445B222   LISA         RHODES                       KY     90012273144
419333A6171934   ARTHUR       LUMSDON                      CO     32057923061
41934591672B43   FLORENCIA    SIGALA                       CO     33005225916
4193557A67B475   TAKISHA      SMITH                        NC     90011365706
4193571525597B   JESSE        HERNANDEZ                    CA     90011877152
4193654175B58B   DANNY        APODACA                      NM     90000105417
4193729292B27B   MARIA        MUSSLER                      DC     90013732929
41937791A5B222   NEISHA       CARDINE                      KY     90012527910
4193878915B52B   IVAN         VALDEZ                       NM     36035617891
4193951885B271   CHRISTINA    ARRIETA                      KY     90013725188
4193973A35B375   JACUELINE    DEAN                         OR     90012327303
41939A24271999   ROSE         ALATORRE                     CO     90007360242
4193B533861953   MICHELLE     BARBER                       CA     90014505338
4193BA1352B27B   MICHEAL      BOWDEN                       DC     90013220135
4193BA89691988   CRYSTAL      BARTOLOME                    NC     90011670896
419411A235B58B   CECILIA      BELL                         NM     90014821023
4194156512B87B   DEIDRE       RAMIREZ                      ID     41061105651
4194216648B16B   ELFEGO       ARDIANO OCHOA                UT     90008591664
41942298172B36   BRENDA       QUINTANA                     CO     33099052981
41942519A61963   BLANCA       PRECIADO                     CA     46011235190
4194279A341258   ASHLEY       WALKER                       PA     51041627903
4194319A991988   JAMAAL       SYMMONETT                    NC     90011681909
41943319A8B16B   AZUCENA      VASQUEZ                      UT     90013823190
4194397228B165   CRYSTAL      GUTIERREZ                    UT     31045629722
4194434972B27B   WALTER       FLOWERS                      DC     90010403497
4194515A491988   CRYSTAL      POE                          NC     90014661504
4194562485597B   ROBERTO      CORRALEJO                    CA     90011346248
4194563A98B16B   NESTOR       PEREZ                        UT     90001116309
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4194729885B174   JOYCE             BROWN                   AR     90014252988
41947969A61967   WILLIAM           HAYES BANEGAS           CA     90015129690
4194829885B174   JOYCE             BROWN                   AR     90014252988
4194869775B58B   SILVIA            BARRIENTOS              NM     35091636977
41948864872B43   CIPRIANA          LOUNNIVONGSA            CO     90011848648
41948A55751336   ALLIK             WILLIAMS                OH     90014030557
4194B193471999   MARIA             VELASQUEZ               CO     90013941934
4194B82538B165   CHRIS             ALLEN                   UT     90010968253
4194BA4175B52B   KRISTOPHER        VALENZUELA              NM     90012520417
4194BA8987B698   DESMOND           SAMS                    GA     15031880898
4195116865B222   BRITTANY          CAHILL                  KY     90000501686
4195124597B475   ANGEL             JEFFREY                 NC     90013142459
4195162575B53B   DANIEL LUJAN      TINA LUJAN              NM     90012166257
4195263378B165   MATTHEW           DAVIS                   UT     31051216337
41952925A5B53B   MONICK            SALAZAR                 NM     35055029250
4195371818B165   ONNA              FAITHA                  UT     90014867181
41953A68A5B174   REGINALD          RICKS                   AR     23066330680
4195518AA33145   MINERVA           LOPEZ                   IL     20517511800
41956319A72B4B   NANCY             MOYE                    CO     33068043190
41957271A91873   ALEAN             ALVAREZ                 OK     90013652710
4195737795597B   JOSE              OROZCO                  CA     90010703779
4195837985597B   MARISSA           SANDOVAL                CA     90010703798
41958651A71999   DEBBIE            CRESPO                  CO     38048996510
419591A9172B36   VERONICA          BLACKON                 CO     33084831091
4195927755B52B   JESUS             NAVA                    NM     90011252775
41959798A91569   MARIANNE          RODRIGUEZ               TX     90012597980
4195B327185949   OMAR              MERIDEN                 KY     90010773271
4195B71974B271   WILMER ESTUARDO   PEREZ AMBROCIO          NE     90004937197
4195BAA6861967   ALEJANDRO         AGUILAR MENDOZA         CA     90011550068
4196126AA5B271   ELENA             WILLIAMS                KY     90014602600
4196135195B58B   MACLOVIO          RUIZ                    NM     35042173519
419616A438B165   ERFRAIN           CORTEZ                  KY     90000476043
4196197956198B   JAMES             ALTAMIRANO              CA     90014039795
41961A26972B43   JEANIE            WILLIAMS                CO     90004720269
4196248865B271   BRENDA            DEACON                  KY     90012134886
4196324A95B52B   OMAR              VALERIO                 NM     90013602409
419638A3581639   TASHA             HILL                    MO     29015798035
4196445255597B   DANIELLE          GOODMON                 CA     90012824525
4196448358B165   KUKUDURFAN        FAKIALI HARIGA          UT     31097804835
41964791A51336   SHARONDA          BATES                   OH     90011937910
4196544458B165   JAMES             KEENAN                  UT     90002234445
419673A1131448   JESSICA           DEFRANCE                MO     90001703011
419676AA27B865   BENJAMIN          HERVEY                  IN     90015376002
4196788435597B   JAVIER            ESTRADA                 CA     49007518843
41967A37A63663   IRUM              YAQUB                   MO     27569030370
41968144A2B27B   ROBERT            FIELDS                  DC     90002481440
4196912895B174   MCMULLEN          RENAE                   AR     23054701289
4196B223972B4B   EVERARDO          ORTIZ RODRIGUEZ         CO     90012292239
4196B964271999   MICCAH            LEONARD                 CO     90009029642
4197197432B891   RONALD            ZUBER                   ID     90008059743
4197412755B222   WILLIAM           PUCKETT                 KY     90002971275
4197515635134B   DONALD            LAVOIE                  OH     66090151563
4197543252B87B   RAYLENE           VANCE                   ID     90013024325
419756A622B27B   ALBERTA           BRUNSON                 DC     90002336062
4197631362B87B   HOLLY             JOHNSTON                ID     41033673136
419766A4A5B354   JOHN              ALBERT                  OR     90008516040
41977129972B43   ELIZABETH         ORNELAS                 CO     33002541299
4197728568B165   JAIME             RANDALL                 UT     90014702856
4197777135B53B   ROSANNE           ARAGON                  NM     35096977713
4197837942B27B   DEBORAH           HICKSON                 DC     90009363794
41978735A5597B   DEBRA             RUFLES                  CA     90012317350
4197929865B53B   ROSE              MARTINEZ                NM     35093172986
4197B496A5B174   BRENT             BATTY                   AR     90008454960
4197B4A555B58B   LUZ               PARRA                   NM     35094014055
4197B535391569   ISAAC             ENCINA                  TX     75097215353
4198133518B165   RICKY             SMITH                   UT     31042793351
41981518A91394   JANETH            GONZALEZ                KS     90007995180
4198156725B222   JOSHUA            LONG                    KY     90007275672
41982727A5B222   MOLLY             FORD                    KY     90007037270
41982A37691394   LOUIS             CARR                    KS     90015310376
419831A582B27B   PHILLIP           HUMPHREY                DC     90011681058
4198374545597B   SIRR              PARKER                  CA     90012477454
41986364572B4B   SOLANGE           RIZIKI                  CO     90012663645
41986A61191394   JOYCE             ALEXANDER               KS     29033280611
4198728325B271   CHRIS             HAYS                    KY     90005222832
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4198745A191873   KATHRYN       NORRIS                      OK     90015204501
41987A9545B58B   THELMA        GILLIAM                     NM     90002190954
4198815485B271   LYNNITA       KESSLER                     KY     90011301548
4198839725B271   CHRISTINA     WOODCOCK                    KY     90011733972
41988757A8B16B   JEREMIAH      STRATTON                    UT     90014857570
41988878A91549   LUIS          LOPEZ                       TX     90007728780
4198934415B174   JERMECA       CAMBELL                     AR     90014253441
4198976762B84B   ASFAHA        TEWELDE                     ID     90015147676
4198B516781669   SONDRA        UPTON                       MO     90006535167
4198B77562B87B   DENNIS        WARD                        ID     41072287756
4198B8AA184368   GUILLERMO     LOPEZ                       SC     14550528001
4198B949691988   JABON         SINGLETARY                  NC     17078929496
4199116168B165   CONCEPCION    CAMACHO                     UT     90014651616
419914A6791556   HAROLD        KUTZ                        TX     90000994067
4199186415B271   BRADLEY       SANDERS                     KY     90014868641
41991986272B4B   JOSHUA        ROSS                        CO     90014529862
4199238248B16B   SANTA         SOLIS                       UT     31005153824
419923A4747954   ANN           JORDAN                      AR     25089473047
4199284754B271   DONNA         COLLEY                      NE     90006098475
41993899A51334   VICKI         SEITER                      OH     90002888990
41993AA295B174   MARTEZ        KELLEY                      AR     90014770029
419941A4351383   PAM           LUNSFORD                    OH     66065211043
4199434335B53B   DIANA         VEGA-HERRERA                NM     90014523433
41994389A5B222   NICOLAUS      WARICK                      KY     90005433890
41994856572B43   JULIO         TARANGO                     CO     33067548565
41994A6494B271   CHRISTINE     MASTERS                     NE     90008150649
4199541585597B   RAFAEL        MOJICA                      CA     90012434158
41995578A91873   BRENDA        RAYES                       OK     90009605780
4199622635B53B   BENJAMIN      LOHMANN                     NM     90010252263
4199635675B271   MELISSSA      DENNIS                      KY     68080083567
4199765872B27B   SYMRA         DUNBAR                      DC     90001426587
4199791182B87B   VALERIE       CROSS                       ID     90014869118
41998132A51334   FOREST        MANSON                      OH     90013831320
4199837AA5B52B   VAUGHN        NULL                        NM     90011643700
4199856725B53B   JUDITH        ROMERO                      NM     35009175672
4199934255B271   LYNN          FORREST                     KY     68092373425
4199958835B53B   ADAN          HERNANDEZ HERNANDEZ         NM     90001305883
4199B26335B52B   KARINA        VALVERDE                    NM     36085382633
419B1632991569   YANEL         RODRIGUEZ                   TX     90010816329
419B17A6671999   TAYLOR        BRIDWELL                    CO     90011687066
419B2347361963   AIDA          GARCIA                      CA     90006193473
419B3441872B4B   BETZALEL      GETZEL                      CO     33095004418
419B3696891988   NIQUNETTE     JOHNSON                     NC     90014656968
419B4445591569   MARTIN        FRANCO                      TX     75089574455
419B45A495B271   MYLISSA       SANDEFUR                    KY     90014175049
419B4672A5597B   LEE           YANG                        CA     90014826720
419B4682293794   ASHLEY        KNOX                        OH     90014856822
419B5539971999   KRISTINE      BOULIER                     CO     90013065399
419B59A822B92B   SAM           SOARES                      CA     90008279082
419B69A6561963   MARIA         MEDINA                      CA     46077429065
419B7285461967   LIO           SILVESTRE                   CA     90009882854
419B763767737B   ANN           WAGNER                      IL     90010406376
419B7929871999   VICTORIA      MCDANIEL                    CO     90007149298
419B7A5888B165   WETNEY        ZOBLL                       UT     90014740588
419B7A88791988   GLADYS        LOPEZ                       NC     90007720887
419B81A425597B   ELVIA         ESPENOZA                    CA     90015051042
419B8265A71999   LUCILLE       VIGIL                       CO     38036012650
419B8514A7B475   CHRISTOPHER   DENNISON                    NC     90009135140
419B88A2493794   FRANK         THOMSON                     OH     66089168024
419B8A8572B27B   MERCEDES      SERVANO                     DC     90006730857
419B917355598B   CARLOS        RIVERA                      CA     48054401735
419B9358961963   RENE          ANAYA                       CA     46058113589
419B9881491988   ALVERNON      LEE                         NC     90011668814
419B9912A2B27B   OSCAR         ANDRADE                     DC     90011679120
419B9A5A38B16B   GENEVIEVE     DURAN                       UT     90010130503
419BB14A191873   ARNETHA       FOWLKES                     OK     90004641401
419BB25495B174   CHRISSY       ESKEW                       AR     23041222549
419BB63834B271   BARBARA       VANVALKENBURG               NE     27088466383
41B11586861963   TARVA         JOANNE                      CA     90000185868
41B11624893794   RONDA         HOUSER                      OH     90015446248
41B11782372B36   TIMOTHY       THIBAULT                    CO     90011977823
41B11852655939   CATRINA       CARILLO                     CA     90013068526
41B12A19691569   ALBERTO       GUERRERO                    TX     75013710196
41B12A92891394   KARIN         GALINDO                     KS     29038790928
41B13111372B36   SOPHIA        MIETZ                       CO     90012371113
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41B13835755939   AMANDA        AGUILAR                     CA     49076218357
41B1437485B174   IDA           HARDIN                      AR     90010963748
41B1447259155B   CHRISTIAN     MEJIA                       TX     75076054725
41B1453555B58B   LUIS          HERNANDEZ                   NM     90005505355
41B14779A8B16B   DANIEL        FUENTES                     UT     90013807790
41B15473991988   SANDRA        SORTO-PORTILLO              NC     90009924739
41B1594593B37B   CLEMENCIA     EVARISTO                    CO     90007589459
41B1614668B165   MOISES        DUNON                       UT     90004271466
41B1685865B222   RONE          STEAGALL                    KY     90010518586
41B1773757B475   CEDRIC        SANDERS                     NC     90013827375
41B17758661963   AARON         WILLIAMS                    CA     90013067586
41B17A1A261963   CARLOS        SANTANA                     CA     90014710102
41B17A3788B16B   JAYLENE       STEWART                     UT     31090850378
41B18378361963   TERESA        RIVERA                      CA     90011643783
41B1858565B52B   LIZBETH       VILLA                       NM     90013695856
41B1866635B52B   BELINDA       AVILA                       NM     90014516663
41B191A6891569   ADAM          DELACUEVA                   TX     90007611068
41B19813493794   ANGELA        DIETRICK                    OH     90013218134
41B1B14659313B   JUAN CARLOS   BECERRA                     TN     90015361465
41B1B265191569   URIEL         GARCIA                      TX     75018072651
41B1B469161967   RIGOBERTO     MUNOZ                       CA     90012754691
41B1B71AA5B222   MARIAH        THOMAS                      KY     90014767100
41B1B74234B29B   JODI          JACKSON                     NE     90011427423
41B2127395B222   BIG E         SR                          KY     90007732739
41B21579141258   NORMA         BRYANT                      PA     51073545791
41B216A1161967   CHASTIDY      CLAAR                       CA     90010496011
41B2175A25B53B   NATACIA       SANCHEZ                     NM     90013827502
41B21A11447968   LISA          MCGEE                       AR     90007610114
41B22176947954   MARC          HOISINGTON                  AR     90011761769
41B22293791873   BERTHA        LUNA                        OK     21058902937
41B2231465B58B   KARLA         PADILLA                     NM     35084803146
41B2235458B183   MELISSA       BERNETT                     UT     90008803545
41B22694655939   BENANCIO      FIGUEROA                    CA     90014966946
41B23981351337   MARILYN       HELM                        OH     66095489813
41B2427745B58B   MACIAS        CRYSTAL                     NM     90010992774
41B247A575B222   COLLIN        LANDER                      KY     90011927057
41B25147861963   AYLIN         ALVARADO                    CA     90012921478
41B25258372B36   FLOR          TAPIA                       CO     33050172583
41B2562165B53B   ANGELICA      RODRIGUEZ AMAYA             NM     35091946216
41B256A115597B   VRIGINIA      MATINEZ                     CA     49081136011
41B25811A8B16B   MARISOL       ARIAS                       UT     90010698110
41B26725591988   KRISTEN       FULLER                      NC     90014577255
41B26A2A35B222   RICARDA       HERNANDEZ                   KY     90011820203
41B271A7591873   MARIA         ROJO                        OK     90013651075
41B2775528B165   NANETTE       HANSEN                      UT     31073777552
41B27913771934   ANTHONY       ROVEDO                      CO     32026429137
41B27A4348B16B   JORGE         MONTERROSA                  UT     90005170434
41B2865915B271   STEVIE        CORNETT                     KY     90015026591
41B28693491873   JAME          SALGADO                     OK     90013736934
41B28A62891394   JAHNON        CLARK                       KS     90013470628
41B28A82893794   VIRGINIA      MILLER                      OH     90008870828
41B2981979713B   MARIA         AGUIRRE GUTIERREZ           OR     90014748197
41B2B179572B4B   PRISCILLA     OSBOURNE                    CO     90013531795
41B2B317291569   ADRIANA       FLORES                      TX     90011023172
41B2B37949313B   IVAN          MARTINEZ                    TN     90015523794
41B2B382391988   TIMOTHY       EWING                       NC     90010533823
41B2B3A634B271   JANETH        GAMEZ                       NE     90011503063
41B2B66132B87B   JACQUELINE    ACKERMAN                    ID     41029436613
41B2BA19A5B266   MICKEY        PARKS                       KY     90001620190
41B3137A572B36   ERIK          BAKER                       CO     90013093705
41B31648871999   TRACY         FOWLER                      CO     90014276488
41B323A738B16B   DIANA         OSORIO                      UT     90011553073
41B3319159313B   JUAN          PADILLA                     TN     90015361915
41B33658572B43   LUIS          MORALES                     CO     33039596585
41B3381979713B   MARIA         AGUIRRE GUTIERREZ           OR     90014748197
41B3396955597B   MAI           YANG                        CA     49061729695
41B343A322B27B   CLAUDIA       GRANADOS                    DC     90015113032
41B34429572B43   CARMEN        TERAN                       CO     33050014295
41B34443A2B87B   SUZANNE       HARTZ                       ID     41021464430
41B34A53884368   MARJONE       RENTERIA                    SC     90010520538
41B3566967122B   PAYGO         IVR ACTIVATION              IA     90011916696
41B35A13271934   NELY          GONZALES                    CO     32080270132
41B3657274B271   ALFONSO       ROSALES                     NE     90015195727
41B36827993794   REGINALD      WILLIAMS                    OH     66052118279
41B3692196B945   MARITZA       ORTIZ                       NJ     90014179219
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41B36A4A572B4B   EMILIA       SAUCEDO                      CO     90007470405
41B3735765B53B   AMERICO      GONZALES                     NM     90013653576
41B3787282B27B   JOSE         MARTINEZ                     VA     90010758728
41B379A9772B36   IRMA         CASAS                        CO     90013189097
41B38232951334   GERSON       ROBLERO                      OH     90010402329
41B3843485B52B   VALENTIN     ESTRADA-GARDEA               NM     90009964348
41B38A4565B53B   JESUS        MALDONADO                    NM     90006870456
41B3917A972B4B   ANGELICA     GALLARDO                     CO     90001731709
41B3931285B53B   RAUL         VASQUEZ                      NM     90014813128
41B3B36A393794   MARGIE       TAYLOR                       OH     90012213603
41B3B48235B271   RAFAEL       AMAYA                        KY     90013384823
41B3B583591873   KATHRYN      SMITH                        OK     90013315835
41B3B58972B27B   FELICIA      THURSTON                     DC     81007605897
41B3B68A755999   ADAN         POLANCO                      CA     90007916807
41B3B697671999   TONI         HERNANDEZ                    CO     38026026976
41B3BA15151383   ROBERT       EVANS                        OH     90012020151
41B41179861963   ADRIANNA     PADILLA                      CA     46037951798
41B4137517B475   AHMED        ALY                          NC     90012213751
41B41485A91988   CHAUNESSEY   PIERCE                       NC     90014564850
41B4148735597B   ERIC         MONTIJO                      CA     49097544873
41B42123847954   JESSICA      SERAFIN                      AR     90005611238
41B4266635B52B   BELINDA      AVILA                        NM     90014516663
41B42A8262B92B   CESAR        PACHECO                      CA     90011650826
41B43413A4B541   CANDACE      SCOTT                        OK     90005164130
41B43584772B43   ESPERANZA    CRUZ                         CO     90014855847
41B436A832B27B   SHERRIE      ELLIS                        DC     81088846083
41B4392874B271   JEFFREY      GOODWIN                      NE     27062229287
41B4398678B165   MAKITAH      SUNDELL                      UT     90010439867
41B44143391569   ELIZABETH    MORENO                       TX     75014261433
41B4417797B475   DESHAWN      MOYE                         NC     90010851779
41B441A655B52B   RUBY         VIGIL                        NM     36020861065
41B4451988B165   JORDAN       SCHWEIKART                   UT     90013655198
41B4486538B16B   JEFFERY      NUTTALL                      UT     31060908653
41B454A5572B43   FRANK        DEHERRERA                    CO     33094714055
41B458A9572B4B   JEESE        ROFFERS                      CO     33049658095
41B4593A15B597   JUSTIN M     MURPHY                       NM     35032599301
41B45AA2761963   FRANK        STONE                        CA     90011820027
41B46A71655939   RATRY        VILAYSINH                    CA     90014490716
41B47853671999   NIKKI        JARAMILLO                    CO     38074748536
41B47895761963   ANNA         MUNOZ                        CA     90013088957
41B48284791988   JUSTIN       WILLIAMS                     NC     90014782847
41B48559691394   STACIE       DOWNTON                      KS     90006435596
41B4855A761963   CARLOS       ALARCON                      CA     90003185507
41B48739772B36   RICHARD      REYES                        CO     90011407397
41B48A2A191988   LULA         JEFFERS                      NC     90013220201
41B49266691873   MCBRAYER     LADONNA                      OK     90006482666
41B4948547B475   CASEY        MEASIMER                     NC     90013504854
41B4993818B165   TYLER        JACKSON                      UT     90009269381
41B49957A71933   FLORENCE     STEWART                      CO     90014549570
41B49A86861963   CHARLES      ADAMS                        CA     90007630868
41B4B499391873   DONNIEKA     THOMAS                       OK     90013694993
41B4B75752B27B   PHILIP       PROCTOR                      DC     81015567575
41B51384955939   KEN          WILKEROSON                   CA     49067973849
41B5143619313B   ADALBERTO    GONZALEZ                     TN     90015614361
41B51768793794   CAROL        NOREN                        OH     90006067687
41B5196484B543   JIM          PAULSEN                      OK     90008089648
41B5298945B58B   AMY          ALBERTUS                     NM     35026529894
41B52A83184336   UNEEK        CHATMAN                      SC     90012200831
41B53242A71999   JASON        RIDDOCK                      CO     90012102420
41B5339649313B   ABENAMAR     GOMEZ                        TN     90013953964
41B5395762B27B   SAUNDRA      RICHARDSON                   DC     81081539576
41B5411858B16B   MARCO        LOPEZ                        UT     31093111185
41B544A9191873   TAMICA       MORRISON                     OK     21004274091
41B5479325B58B   COREY        AMOS                         NM     90012467932
41B54986471999   MITHCHELL    SHARON                       CO     38066989864
41B55A2999313B   AVEL         ORDONEZ                      TN     90015550299
41B57997172B4B   SANDY        FOX                          CO     33020949971
41B57AAA35B222   NICHOLAS     WOOD                         KY     90012970003
41B58815761973   GUILLERMO    SANCHEZ                      CA     90012648157
41B59518761963   ULYSSES      WEBB                         CA     46070295187
41B59659A8B157   JOSE         LOPEZ                        UT     90005216590
41B59844991873   FRANCISCO    CABALLERO                    OK     90012848449
41B5B92164B271   AMBER        KING                         NE     27065349216
41B61283991569   JOSE         MENDOZA                      TX     90014812839
41B61322172B4B   RAUL         MIER                         CO     90014423221
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1930 of 2350


41B614A1391873   RUTANYA      SIMON                        OK     90012984013
41B62487872B4B   ROBERT       HEIKENS                      CO     90003684878
41B62514472B36   DANIEL       LUCKE                        CO     90003605144
41B62915A9313B   MERCEDES     CORONIA                      TN     90014809150
41B62AA745B58B   LAWRENCE     TAFOYA                       NM     35050310074
41B63154791394   ISIS         TORRES                       KS     90014541547
41B6373182B27B   LAKESHA      THOMAS                       DC     90013487318
41B64A7A18B165   SABRINA      HARDY                        UT     90009190701
41B6534238B165   NELSON       RODRIGO                      UT     90003043423
41B65522A5B58B   ALONZO       DALE                         NM     90014185220
41B6559A691873   JOCELYN      HOLMES                       OK     90010695906
41B65725972B4B   ALEX         MARTINEZ                     CO     90003397259
41B6614398B165   ASHLEY       MCVAY                        UT     90013931439
41B66325571999   SHEILA       CHAVEZ                       CO     90004413255
41B66451771934   MARTIN       PADILLA                      CO     32008144517
41B6649A57B475   JANEX        YOUNG                        NC     90002194905
41B6653148B16B   BRIAN        SANT                         UT     31014655314
41B66684151336   DIAMOND      HERBERT                      OH     90003836841
41B67189693794   KELSEY       PAINTER                      OH     90010731896
41B6747135B271   WENDY        HOLDER-HALE                  KY     90014534713
41B67626961963   MAYURI       LUCAS                        CA     46032586269
41B6771765597B   ANA          RODRIGUEZ                    CA     90008917176
41B67792491569   ISIDRO       PEREZ                        TX     90011967924
41B67812771644   DEIRDE       DANIEL                       NY     90009458127
41B6791154B23B   JEREMIAH     EUBANKS                      NE     90012139115
41B67925871999   MARIBEL      IBARRA                       CO     90013929258
41B6853485B52B   RYAN         LUJAN                        NM     90009615348
41B68739672B36   ERIC         HERZOG                       CO     90014237396
41B6891495B58B   BECKY        GONZALES                     NM     35002119149
41B68A15161967   SILVIA       CERVANTES                    CA     46066770151
41B68A1846195B   RAED         SAQAAH                       CA     90015220184
41B69116191873   DEBBIE       BILLINGSLEY                  OK     90010731161
41B6946585B53B   MARGIE       MUNIZ                        NM     35042894658
41B6959592B27B   SHANE        BLACKFOOT                    DC     90007435959
41B69A15471934   PEDRO        ROMERO                       CO     90010070154
41B69A9A95B222   JEREMY       WILBERT                      KY     90014730909
41B6BA4145B53B   SHANE RAUL   PEREZ                        NM     90009530414
41B7124345B52B   LEONARD      COPELAND                     NM     90012622434
41B71832693794   JOHN         MONDS                        OH     66051438326
41B7185365597B   DWAYNE       WILSON                       CA     90013818536
41B72299891394   MICHAEL      SANDATE                      KS     29053522998
41B7244435B222   TERRANCE     MINTER                       KY     68077324443
41B72735872B32   AARON        VONGESCHWIDNER               CO     90014667358
41B72873451361   CHRISTINA    WAVER                        OH     90013428734
41B731A5271999   RONNIE       JAQUEZ                       CO     90013911052
41B7391675597B   MICHELLE     KEMPFF                       CA     49007339167
41B74278961963   HUGO         SANCHEZ                      CA     90013842789
41B7434235B52B   LUIS         GUARDADO                     NM     36039503423
41B74358991988   ANTOINETTE   POWELL                       NC     90011023589
41B749A7961963   DAVID        ESPINOZA                     CA     90013899079
41B7573A58B165   AMBER        DAWN                         UT     90012747305
41B7581275B389   LAURI        EVANS                        OR     90001228127
41B758A6461967   ANTHONY      FLORES                       CA     90013298064
41B76932771934   DOMINIQUE    BASTIN                       CO     90007429327
41B76A5575B52B   ESMERALDA    LOPEZ                        NM     90013340557
41B77268A55939   OFIE         ARTEAGA                      CA     90010442680
41B77A1139313B   PJ           GRAY                         TN     90015500113
41B77A1A351334   DAVINA       STACY                        OH     66034180103
41B781A4A5597B   ESTHER       RICHEY                       CA     49090181040
41B78328591569   JORGE        GARCIA                       TX     90010383285
41B7836845B52B   KATHERINE    PEREZ                        NM     36039883684
41B7888315B58B   CRYSTLE      MONTANO                      NM     35011918831
41B7893918B165   NICK         MENDOZA                      UT     90013219391
41B78A1175B222   NHIEN        TON                          KY     90009530117
41B7926345B174   BLANCHE      ROBINSON                     AR     23015882634
41B795A8561963   ISMAEL       SOTELO                       CA     90015135085
41B79785361963   LIZBETH      HERNANDEZ                    CA     90012347853
41B7B145151383   YVONNE       THOMPSON                     OH     66083491451
41B7B22865B271   PRECIOUS     LOGGINS                      KY     90013282286
41B7B551261994   YOLANADA     GRIJAVLVA                    CA     90004435512
41B7B823591394   ROGELIO      CHACON                       KS     29001088235
41B7B896872B36   ARTHUR       MARTINEZ                     CO     90003368968
41B7BA4125B174   ALESSANDRA   HALE                         AR     90013410412
41B81381672B22   ABEL         ARROYO                       CO     33066003816
41B8147324B271   JOSE         GONZALES                     NE     90014174732
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41B81A21647954   VICKY            RELEFORD                 AR     25011280216
41B81A62333632   TERRY            COLE                     NC     90009200623
41B821A4A8B165   TIMOTHY          GIBBS                    UT     90001811040
41B82463191988   VICTOR           ARJONA                   NC     90006314631
41B83544791873   KEVIN            BURNETT                  OK     90007015447
41B8367235B52B   PATSY            JARAMILLO                NM     36012836723
41B83855191569   ADRIAN           SALINAS                  TX     90014818551
41B8417748B16B   VANESSA          SLABAUGH                 UT     90015291774
41B84336871999   FRANK            SANCHEZ                  CO     90013793368
41B8439A35B271   MICHAEL          WILLIAMS                 KY     90014933903
41B84874A24B35   SORAYA           DEL VALLE                DC     81005148740
41B84876693768   ALISHA           PITTS                    OH     90010698766
41B84A14751334   GUADALUPE        OLIVA                    OH     90008450147
41B85326251338   JAMES            HENDERSON                OH     90006193262
41B8535172B27B   ANTONIO          CISNEROS                 DC     90015153517
41B8564675B52B   KAYLEEN          BARELA                   NM     90006216467
41B8566A461963   JENIFER          VILLA                    CA     90014826604
41B8566A672B4B   THERESA          CARPENTER                CO     33057066606
41B8571A48B16B   BRITTANY         BUSTILLOS                UT     90012977104
41B858A1491569   HILDA            ORDUNO                   TX     90010878014
41B86179661967   JUAN CARLOS      NIX                      CA     90013521796
41B8634A82B87B   KELLY            STEWARD                  ID     90011133408
41B87121261963   CIRENIA          BIBIANO CABRERA          CA     90013011212
41B8771A761967   GAIL             PADILLA                  CA     46012447107
41B87724A5B58B   OMAR             HERNANDEZ                NM     35068737240
41B87963872B36   HASHEEM          JACKSON                  CO     33057469638
41B8835172B27B   ANTONIO          CISNEROS                 DC     90015153517
41B8863845B271   MICHAEL          MCGLYNN                  KY     68031886384
41B88651741235   LEROY            HINTON                   PA     90008846517
41B88A9A15597B   LETY             ORTEGA                   CA     49018120901
41B8917595B174   MONICA           HUMPHREY                 AR     23033421759
41B8962A471999   AMY              FLOOD                    CO     38091696204
41B89827791873   FRED             HILLIARD                 OK     21016648277
41B89A5225B58B   PATRICIA         GONZALES                 NM     90000160522
41B8B28A693794   LARRY            RUFFNER                  OH     90013692806
41B8B2A125B222   DAMON            BOLDRICK                 KY     90014822012
41B8B356891988   KEIONTA          WHITAKER                 NC     90001963568
41B8B55955B174   LYNNETTE         BROWN                    AR     90007595595
41B9121867B475   SHIRTOIA         HUNTER                   NC     90013932186
41B91226591569   ANAHI            IBARRA                   TX     75085102265
41B9138315B53B   HA               NGUYEN                   NM     35078693831
41B92212991873   JESSICA          SALDANA                  OK     90006172129
41B92543281639   CINDY            STRICKLAND               MO     29015295432
41B9288665B58B   MARGARITO        AMAYA                    NM     35055598866
41B92A3584B271   WENDY            HOSFORD                  NE     27088950358
41B931A3161967   DARRYL           LAFOUNTAINE              CA     46056421031
41B9331954B523   SALVADOR         MINJARES                 OK     90011093195
41B93344991873   LEYDIANA         GARCIA                   OK     90009923449
41B93448672B4B   WILLIAM          CARSON                   CO     90013264486
41B9438815B58B   SARAH            DADEY                    NM     90015153881
41B94417691394   IGNACIO          FRENANDEZ                KS     90013924176
41B9441A691873   TARA             HEARN                    OK     90014674106
41B94455972B4B   EXTREME ACTIVE   VENTURES                 CO     90009244559
41B9498132B27B   YAMILETH         GUTIERREZ                DC     90015019813
41B9533345B222   KATHY            PRICE                    KY     90013963334
41B9544815597B   JACQUI           WINN                     CA     49013314481
41B9547A593728   STEPHANY         VANHOOSE                 OH     90008734705
41B95614251334   RAMONA           CLIETT                   OH     66034916142
41B95624A7B475   MIA              STACKTON                 NC     90012706240
41B9592965B52B   KATRINA          SILER                    NM     90007649296
41B96275A72B4B   SADE             BARROW                   CO     90013732750
41B96352191394   FREDY            MARTINEZ                 KS     90012183521
41B9646A48B16B   CARLOS           RODRIGUEZ                UT     90012204604
41B96A7919155B   GORGE            BARRAZA                  TX     75040920791
41B96AA8A8B165   ALIPATE          TAPATOUTAI               UT     90007530080
41B9746955B222   DANYEL           SNEED                    KY     90014724695
41B9764845B174   MICHELLE         BLAKE                    AR     23046366484
41B977A5A72B36   JOSELINE         VELAZQUEZ                CO     90013137050
41B97893661967   GEORGE           SMITH                    CA     90001418936
41B98175A5B58B   CHIP             BAUMEISTER               NM     90014461750
41B982A115597B   MARCELINO        CRUZ                     CA     90002202011
41B98993855951   MIRIAM           ALVARADO                 CA     90014419938
41B99285393767   SPARKLE          WALKER                   OH     90012492853
41B9983775B271   SHEILA           DELORCH                  KY     68062368377
41B99A14A41258   TODD             JETER                    PA     51041320140
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41B9B3A6A72B4B   MELISSA      SMITH                        CO     33099483060
41B9B5A289313B   KAYLA        JACKSON                      TN     90015475028
41B9B69814B543   PAULINA      MARQUEZ                      OK     90010846981
41B9B75158B355   MALACHI      YON                          SC     90007587515
41B9B987A4B271   CANDIDA      RODRIGUEZ                    NE     90006399870
41BB1287193794   ASHLEE       CRAMTON                      OH     90012442871
41BB1487341294   AMBER        JONES                        PA     90004224873
41BB1514991394   DARLENE      ECKSTEIN                     KS     29077655149
41BB1597491988   JUAN         SALAZAR                      NC     90012755974
41BB1789961967   JULISSA      CORTEZ                       CA     90013357899
41BB18A935597B   JERRY        COLLINS                      CA     90012028093
41BB1912872B4B   NADINE       SANDOVAL                     CO     33030369128
41BB273848B165   JARRETT      CHRISTENSEN                  UT     90013827384
41BB2879461963   YAZMINE      BENITEZ                      CA     90013088794
41BB2A23755939   HERIBERTO    CAPILLA-RAYON                CA     90013050237
41BB329AA72B43   SONIA        CASILLAS                     CO     33008552900
41BB37A8A2B27B   JAY          SWEETZ                       DC     90012197080
41BB381235B271   PRETTYGRL    THRNTON                      KY     90007518123
41BB389668B16B   HOWARD       ROBERTS                      UT     31045248966
41BB392A274B97   AARON        FORD                         OH     90014999202
41BB397A197B53   CESAR        CAUDILLO                     CO     39098799701
41BB43A1947954   JUAN         MARQUEZ                      AR     25072133019
41BB487735B271   ANDREA       TYLER                        KY     90011288773
41BB511295B52B   GERALDINE    MARTINEZ                     NM     90009031129
41BB5229872B4B   MEDINA       SEAN                         CO     90009252298
41BB581A491569   ARIEL        HOLGUIN                      TX     75066638104
41BB5987691394   JOSH         BRUNT                        KS     90014909876
41BB59A1272B4B   EDUARDO      LOPEZ                        CO     90012209012
41BB6264471934   CELESTINE    SHARISSA                     CO     32025112644
41BB6472572B4B   MICHAEL      CHACON                       CO     90014074725
41BB653735B222   LAURA        EDWARDS                      KY     90009735373
41BB6723171999   STEVEN       STREET                       CO     90010327231
41BB715945B271   JONATHAN     GUENTHER                     KY     90014171594
41BB7256893794   DELFORD      JACKSON                      OH     90010262568
41BB736855B222   MERLIN       FUENTES ZELAYANDIA           KY     90003463685
41BB7765271934   ROSA         BUSTOS                       CO     32066857652
41BB7837491873   CRYSTAL      SWASHO                       OK     90012558374
41BB7A8815B52B   TIMOTHY      VALLEJO                      NM     90015260881
41BB8331991569   JAIME        DE LA ROSA                   TX     75046943319
41BB857788B16B   ANDREW       WALKER                       UT     31079455778
41BB8594171999   SHAWNAE      PALLERO                      CO     38098555941
41BB863745B58B   DAN          HILBORN                      NM     35068716374
41BB867A555939   ANITA        ALVAREZ                      CA     90013106705
41BB8A2775B271   ANNA         GREENWELL                    KY     90014780277
41BB9352341258   MARY         FRIEL                        PA     90005643523
41BB9893661967   GEORGE       SMITH                        CA     90001418936
41BBB36665B58B   DAWN         MCCOY                        NM     35064643666
41BBB61564B271   MICHEAL      SPANGLER                     IA     90003056156
41BBB71A147954   JORGE        BARRIENTOS                   AR     25060517101
4211134728B165   HILDA        MIJARES                      UT     31063753472
4211139555B58B   LESLIE       CAYADITTO                    NM     90014713955
421119A8891527   RUBEN        OCANA                        TX     75023329088
42112126A47954   NANCY        SELF                         AR     25009391260
421123A6355939   MARIO        PINA                         CA     49065393063
4211243685B222   JASMINE      RHODES                       KY     90012064368
4211256655B551   MARIA        VEGA                         NM     35017515665
4211323555B527   DENISE       MALDONADO                    NM     90006872355
42113272A51334   KIMBERLY     PORTER                       OH     90014662720
4211335175B52B   POLLY        SHATTUCK                     NM     90011893517
4211381795597B   GUSTAVO      RODRIGUEZ                    CA     90013088179
42113997A5597B   YTZEL        ESQUIVEL                     CA     90014999970
42114917A5B597   HECTOR       BAYLON                       NM     35010029170
421155AA82B87B   JAMIE        TEATER                       ID     41083945008
4211593315B222   NADIA        BANTA                        KY     68036139331
42115987172B4B   RAUL         MONTERO                      CO     33075209871
42116A6625B541   JOANNE       GARCIA                       NM     90004760662
4211753925597B   ANNA         COCHRAN                      CA     49054755392
4211766A25B271   RODRICA      ANDERSON                     KY     90010636602
4211821798B185   JENNIFER     WILCOCK                      UT     90005162179
4211826575B53B   ANA          HERNANDEZ                    NM     90008882657
4211885379152B   JACQUELINE   MILLER                       TX     90003668537
4211945898B836   WESTLEY      SLACK                        HI     90013174589
42119816A93794   DALE         SLAUGHTER                    OH     90014638160
4211B14285B271   EMILY        BOTTS                        KY     90009031428
4211B3A2172B4B   YOLANDA      ROMERO                       CO     90003253021
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4212211735B58B   KAREN         MARTINEZ                    NM     35052711173
4212216575B271   OLIVIA        DALE                        KY     68041651657
42122226A5B53B   MARTINA       GONZALES                    NM     35091792260
4212316275B174   ANGELICA      HESTER                      AR     90014691627
421236A2472B43   STACY         GREENWOOD                   CO     90014106024
421245A5461963   MARC          MARCELINO                   CA     90013045054
4212468985B523   MARISELA      PORRAS                      NM     90012826898
4212519665B52B   JUAN          RUEDA                       NM     90010541966
4212568985B523   MARISELA      PORRAS                      NM     90012826898
42125713A62B31   JUANA         BOLONAS                     KS     90011927130
4212589335B174   TINA          HALL                        AR     23075288933
42125974972B4B   SEAN          FLORES                      CO     90013519749
42127555872B36   MARIA         GARCIA                      CO     90012185558
4212783848B163   DAVID         MELEISEA                    UT     90008088384
4212797353162B   KIMBERLY      ADAMS                       KS     90010939735
42127A57961963   MICHELLE      SWENSEN                     CA     90015190579
4212882349155B   JOSE          SANCHEZ                     TX     90010918234
421288AA14B271   JEANNIE       JOHNSON                     NE     27005038001
4212914658B16B   NEOPOLO       URVAN-MORANO                UT     31077121465
4212935A84B271   NELSON        MARTINEZ                    NE     27093353508
4212967725B242   STEVEN        LANHAM                      KY     90009666772
4212B114272B36   ANNA          JOHNSON                     CO     33081071142
4212B195A5B174   RUDOLPH       EAGLE                       AR     90013271950
4212BA38993794   CARIE         MALOTT                      OH     90014640389
42131155672B36   KURTISS       BLOUNT                      CO     90006871556
4213232762B27B   AAMIRA        SUDAH                       DC     90008763276
42132339A3B32B   ANDREW        WILSON                      CO     90010413390
4213236495B53B   ANGELICA      TORRES                      NM     90014343649
4213262555B58B   BEVERLEY      ALLRED                      NM     35081376255
4213291874B25B   ROBERT        BROWN                       NE     90012749187
4213317A793794   TINA          CRAWFORD                    OH     90014661707
421343A2193794   TIMOTHY       DUSSEAU                     OH     90010223021
4213444894B271   EUSTACIA      MOSS                        NE     27083774489
4213521455B222   SHANNON       GOSS                        KY     90005002145
42135794A91569   MARIBEL       PALOMARES                   TX     75006797940
4213587AA4B934   VICTOR        GARCIA                      TX     90008178700
421364A9772B43   DONNA         LOBB                        CO     33008254097
4213667845B52B   LORENA        MENDEZ                      NM     36093316784
4213733552B259   LOLITA        PRENTICE                    DC     81011033355
4213742A472B36   SHAUNNA       O KEEFE                     CO     90013194204
42137684A71999   MERCEDES      MAES                        CO     90005026840
4213821238B16B   JESUS SILVA   HERNANDEZ                   UT     90011062123
4213853725B222   JUAN          ROSALES                     KY     90015215372
42138792172B36   BENITA        DE LUNA                     CO     33061377921
421389AA791351   BRANDON       ANFINSON                    KS     29005089007
42139459A91351   JENE          KING                        KS     90012664590
4213B252A2B27B   PASHAEL       TODMAN                      DC     90005182520
4213B847593767   LATISHA       CALDWELL                    OH     90010618475
4213BA5575597B   JOHN          DEANDA                      CA     90012630557
4214143A391351   COREY         JAMISON                     MO     90006424303
421415A815B53B   ELOISA        PERALES                     NM     35072395081
42141618772B4B   BRENDA        AVILA                       CO     90010236187
4214261688B16B   CAROLINA      MOLINA                      UT     31081826168
4214298A68B185   WYATT         HADLOCK                     UT     31038509806
42142A6285B58B   TRUJILLO      CYNTHIA                     NM     35068510628
4214342A991569   JAVIER        MENDEZ                      TX     90014804209
42143953A5B174   FRANKLIN      MCGUIRE                     AR     90006429530
42144679962B31   MARK          CHILDS                      KS     90012986799
42145752272B4B   BRITTANI      DEUTH                       CO     90011487522
42147676372B43   SALVADOR      ORTIZ                       CO     90008356763
42147738A62B31   DEENA         SEIFERT                     KS     90014707380
4214792565B271   LATISHA       MALONE                      KY     68012259256
4214862A95B174   JANICE        ANDREWS                     AR     90015266209
4214B9A335B52B   RUSTY         TAMBASCIO                   NM     36024699033
4214BA78472B43   BENJAMIN      VILLALBA                    CO     90013670784
4214BA79591569   DANILO        MURPHY                      TX     75097360795
4215117A15B52B   ARACELY       ENRIQUEZ                    NM     36024951701
4215239565597B   CLARA         MC DOWELL                   CA     49007933956
421526A8651383   RAMIRO        HERNANDEZ                   OH     66065286086
4215355A88B165   TASHA         HAWS                        UT     90011025508
4215435A15B222   DAVID         POINDEXTER                  KY     90009013501
42154541A61963   SELENA        HILL                        CA     90009425410
4215455A45B222   REEB          JOHN                        KY     90015185504
4215489835B53B   OSCAR         ROMERO                      NM     35091428983
4215512615597B   CARLOS        ALDERETE                    CA     90012911261
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4215552395B174   JULIO          ANGULO                     AR     90015465239
4215562575B58B   DANIEL LUJAN   TINA LUJAN                 NM     90012166257
4215576855B254   GILBERT        JUDD                       KY     90006447685
4215632465B523   LILLIAN        BACA                       NM     90001443246
42156581A2B27B   ARTURO         PERALTA                    DC     90012775810
4215719A35B174   TIFFANY        SIMPSON                    AR     90013151903
42158791372B36   JESUS          GONZALEZ                   CO     90013837913
4215918A95597B   PERCILLA       MILLER                     CA     90012921809
4215936862B27B   CHARLENE       MONROE                     DC     90012843686
4215958875B523   JONATHAN       GARCIA                     NM     90006795887
4215976465B52B   MARGARET       GUTIERREZ                  NM     90014127646
4215B369191873   SARAH          SOTELO                     OK     90014953691
4215B559172B36   IRENE          ROBERTS                    CO     33071415591
4215B595191873   JESUS          GONZALEZ                   OK     90013025951
4215B638A93794   AMBER          GEORGE                     OH     90014666380
4215B865A5597B   TAMMY          GAIL GARCIA                CA     49085918650
4216116718B16B   CARL           COLLINS                    UT     31093271671
42161249672B36   CECILIA        O'JOHN-HERNANDEZ           CO     33058562496
42161356172B4B   MATTHEW        SMITH                      CO     90014573561
42161A31781627   TRACY          BOOKER                     MO     90011830317
42162163A72B36   JOAQUIN        CHAVEZ                     CO     90012391630
42162656124B7B   DIANNA         HARVEY                     DC     81057936561
4216295995B52B   RUBEN          SILVA LAGUNA               NM     36015899599
42163A67691569   DANIEL         VEGA                       TX     90015140676
4216498945B271   KENNETH        BROWDER                    KY     90013649894
4216522275B58B   KEVIN          VALDEZ                     NM     35000972227
4216532398B165   ANDREW         MAWHINEY                   UT     90014483239
42165A3685B52B   STIEVERAE      BACA                       NM     90004840368
4216618275B58B   CESAR          AMIREZ                     NM     90007241827
4216618618145B   CATIA          CUSTODIO                   PA     90014661861
421673A6891873   DORGENA        HAWKINS                    OK     90010613068
4216743685B58B   MAXIMINO       AYALA                      NM     90013494368
42168155A55939   LENORA         GARCIA                     CA     49020941550
42168397A72B4B   RICARDO        CALDERON                   CO     90014173970
4216841315B53B   TERRY          EAST                       NM     35073444131
421686A5171999   DOLORES        HERNANDEZ                  CO     90010056051
421697A2961967   BRAD           KRIBBS                     CA     90015047029
42169919962B31   JOSE           GARCIA                     KS     90012369199
42169A8A15B53B   JUANITA        MARTINEZ                   NM     35080160801
4216B184425164   FABIAN         SANCHEZ                    AL     90015231844
4216B445A5B53B   FRANCISCO      GUTIERREZ                  NM     90013944450
4216B66395B52B   LEOBARDO       TORRES-ZAMBRANO            NM     90013436639
4216B672191351   IVAN           CRUZ                       KS     90010516721
4216B876161967   ANTHONY        BRITTINSHAM                CA     90003928761
4216B87A62B27B   ROMARIO        ROBINSON                   DC     90012228706
4217145465B53B   DOMINIQUE      GURULE                     NM     90013944546
4217154974B551   PAYGO          IVR ACTIVATION             OK     90012355497
4217199635B523   VERONICA       SOLIS                      NM     90005969963
421728A935B52B   VALERIE        ULIBARRI                   NM     90013588093
4217393A25B58B   NADINE         CRUZ                       NM     90011709302
4217397942B27B   PATRICK        AIKEN                      DC     90015209794
4217486615B174   TRAQUILLA      THOMAS                     AR     90008108661
4217494A572B43   MELISSA        WHITMIRE                   CO     90014619405
4217611415B53B   TRITINA        CHAVEZ                     NM     90009531141
4217619985B52B   PAULINE        GARCIA                     NM     90011391998
42176346272B43   OSCAR          ZAMORA                     CO     90012793462
421775A2171999   GINA           MARTINEZ                   CO     38064325021
4217767945597B   ERICA          MALDONADO                  CA     90014716794
42177797A2B27B   NAHUN          BLANCO                     DC     90014777970
421779A965B53B   GERARDO        SAENZE                     NM     35008049096
42178723A62B31   KENDRA         BRAUXSARD                  KS     90013607230
4217924732B27B   DELICIA        BRAXTON                    DC     90013922473
4217B579551334   CHERTANN       JENKINS                    OH     90013455795
4217B853A5B174   MARIA          PAREDES                    AR     90012238530
4217B857661967   LIZBETH        MORALES                    CA     90009978576
42181131A41258   KEIONA         MERIDETH                   PA     90004891310
42181489A61963   RODNEY         SANDERS                    CA     90010494890
4218157318B185   GUSTAVO        LAKATOS                    UT     90003265731
4218159745B52B   MOISES         TORRES                     NM     90013905974
421818A725B53B   MARELYN        VELASQUEZ                  NM     35093548072
4218265395B222   LILIANA        BREEDING                   KY     90013696539
4218282965B53B   CHRISTOPHER    MORENO                     NM     90010108296
4218296654B271   MICHEAL        CONNOR                     IA     90010999665
42182A88391569   ESMERALDA      ATIENZO                    TX     75053020883
4218359598B16B   JOEY           FLORREICH                  UT     90006435959
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4218415255B271   RAY             FOWLER                    KY     68069771525
4218496A951383   ROBERT          FOSTER                    OH     90008749609
42184A2638B352   MARIA           REYES MARQUEZ             SC     90013820263
4218555915B52B   IRENE           JARAMILLO                 NM     36026715591
42185726272B43   SERGIO          MARTINEZ                  CO     90015497262
42185A96772B36   NICHOLAS        ABEYTA                    CO     33078040967
42186142872B93   AMBER           WRIGHT                    CO     90007081428
4218639A14B271   CARLOS          VILLANUEVA                NE     90009653901
4218666394B23B   SHERI           BAUCKE                    NE     26046766639
4218667995B58B   ANDREW          SANCHEZ                   NM     90012286799
42186879A72B36   JEFFERY         ROSENGARTEN               CO     33000268790
4218689685597B   KIANNA          FARFAN                    CA     90013058968
42187338472B43   DAYSI           GARCIA                    CO     90007673384
42187A14172B36   ANTONIO         DE LA O                   CO     33083450141
42187A5A651334   ROBERT MANUEL   RODRIGUEZ MENDEZ          OH     90015110506
42188439A5B174   LARHONDA        SCOTT                     AR     90013674390
4218865415B523   MATILDE         ARIAS                     NM     90004246541
421897A255B58B   SYMONE          TSOSIE                    NM     90009677025
4218B263261967   LOURDES         VALLE                     CA     90009202632
4218B328971999   JESUS           DIZA                      CO     90012963289
4219199545B174   LUCILLE         PATILLO                   AR     23010899954
4219452455B271   WILLARD         SPLUNGE                   KY     68033995245
4219461A55B58B   JOHN            GALLEGOS                  NM     35009176105
42195394372B4B   GOTWALD         MISHA                     CO     90011353943
4219627365B271   TROY            BREWER                    KY     90012702736
4219678265B174   ANTHONY         SPENCER                   AR     90014327826
4219728664B566   MARIA           FRAIRE                    OK     90008602866
4219747AA5B222   MARCELLUS       LORRICK                   KY     90010064700
42197531A72B36   LAURA           MOORE                     CO     90014015310
4219785A75B53B   TOMASITA        GARCIA                    NM     35076218507
4219798A891569   BRENDA          CONTRERAS                 TX     75033869808
42197A51331566   CRAIG           RIPLEY                    CO     90002030513
421998A2671999   CAROL           LAIGO                     CO     90009448026
4219B148472B36   VINCENT         RIVERA                    CO     33051081484
4219B188361963   FREDDIE         P                         CA     46006801883
4219B36565B523   CATHERINE       WOOD                      NM     35084153656
421B2285572B43   MICHELLE        QUARLES                   CO     33073572855
421B2A74661967   ROMAN           AVILA                     CA     90006840746
421B366884B271   JENNY           ZELAYA                    NE     90014196688
421B433615B597   LUIS            GONZALES                  NM     35000693361
421B4574291569   MARLINA         CARRILLO                  TX     90003295742
421B4716961967   ARMAND          MOORE                     CA     90013947169
421B472475B52B   CARLOS          COY                       NM     90012627247
421B5586161963   CODY            BROWN                     CA     90013515861
421B5838293755   CHANDRA         SCOTT                     OH     90005868382
421B6642257564   OLGA C          MORENO                    NM     35508476422
421B677284B271   ROSIE           BANDA                     IA     90011607728
421B6897247954   LEE             SOURJOHN                  AR     90012718972
421B716965B222   QUINTON         WOODS                     KY     90013481696
421B7312991873   CHANTELLE       WALDON                    OK     21063953129
421B733A791569   LUIS            LOPEZ                     TX     90008363307
421B7474851334   FREDRICK        BALLARD                   OH     90014614748
421B7A24161963   JOSE            TORRES-PEREZ              CA     46014680241
421B836335B523   LIZZETTE        FERNANDEZ                 NM     35049183633
421B8433562B31   KERRI           SIMMONS                   KS     90013054335
421B8443491527   EVANGELINA      DIAZ                      TX     90003344434
421B8869971999   PAULINA         TORRES                    CO     90011078699
421B895225B53B   TERESA          BOYER                     NM     90013399522
421B8A13932586   DENAI           ANDERSON                  TX     90015160139
421B9A77962B31   EVA             DEAN                      KS     90013940779
421BB23615B52B   TIMOTHY         HIGGINS                   NM     90013672361
422119A7A62B31   DAN             HENDERSON                 KS     90009189070
42211A1375B174   LUCY            WASHINGTON                AR     90012030137
42211A8285B53B   DENNY           BAIR                      NM     35008440828
422124A5371999   GERROME         MARTINEZ                  CO     90008554053
4221265AA4B271   CHERAL          POWELL                    NE     90014076500
42212A46351383   LAKISHA         BEAMON                    OH     66008240463
4221364314B271   BRIAN           BALKOVEC                  NE     27041296431
4221461945B222   BRANDIE         HATTABAUGH                KY     90013226194
4221465845B58B   JAIME           MARRUFO                   NM     90006796584
42214776562B31   JOSEPHINE       MARLO                     KS     90011977765
42216567472B36   RONALD          BREWER                    CO     90012275674
42216A63391864   RESHONDA        LUSK                      OK     90013750633
4221784758B16B   FRANKLIN        ACEITUNO                  UT     90014478475
42217AA7772B4B   ALEXANDRA       FINK                      CO     90003550077
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4221882432B87B   FELICIA      RENEE                        ID     90011458243
42218A33651334   CYNTHIA      KNUCKLES                     OH     90013360336
4221911432B27B   ANTOINETTE   COLEY                        DC     90013871143
422192A555B222   DIANE        HICKMAN                      KY     90013292055
42219729872B43   DEE          RIVERA                       CO     90015497298
422197A354B945   RHONDA       OREBO                        TX     76513957035
4221984A791547   FERNANDO     YANEZ                        TX     75095558407
4221B141991569   OSCAR        PALACIOS                     TX     75010401419
4221B521661967   CORRINE      JONES                        CA     90013035216
4222242642B27B   TYRONE       CRAWFORD                     DC     81057124264
422228A8151339   DORVON       SWEETEN                      OH     90014638081
4222323725B53B   JEFFREY      LOVATO                       NM     90011842372
4222367A75B52B   ANTHONY      TAPIA                        NM     90013096707
4222499458B16B   KELLY        ZUECH                        UT     90014389945
422249A7A62B31   DAN          HENDERSON                    KS     90009189070
42225478872B36   RHONDA       ROACH                        CO     33032074788
4222862615B271   EARLENA      RICHARDS                     KY     90009246261
42228A15A42377   KENNETH      MOYER                        GA     90004100150
42229347172B4B   STEPHEN      WAYNE                        CO     90014043471
4222944422B87B   KIRK         GOODIN                       ID     41022704442
4222951232B27B   CARSON       ROBERTSON                    DC     90013505123
422299A772B27B   CARSON       ROBERTSON                    DC     90009369077
42229A5A54B271   DORIELEE     LIPPOLD                      NE     27091320505
42229AA425B52B   ALICIA       MARITNEZ-MACIEL              NM     36041110042
4222B497A5B53B   JEANETTE     TORRES                       NM     90013944970
4222B53558B165   ALBERT       WAYNE                        UT     90012095355
4222B63999185B   STEPHANIE    BOULWARE                     OK     21045786399
4222B73988B185   RONDELL      FARRELL                      UT     31062637398
4222B837A72B43   THERESA      GARCIA                       CO     33083108370
4223146835597B   ALEX         SANDOVAL                     CA     49056894683
4223193772B27B   FRANSICO     SANCHEZ                      DC     90015069377
4223281475B266   JEFFREY      MORSEY                       KY     90007988147
4223281979155B   ERIVK        RIVERA                       TX     90011518197
42232A41271999   LINDA RAE    STAMPS                       CO     90011080412
422333A1541235   DE LA CRUZ   HERNANDEZ                    PA     90010243015
422336A3991569   CONSUELO     SEPULVEDA                    TX     75014326039
42233A8A172B43   FELIX        ESPINO                       CO     33053670801
4223424112B27B   WENDEL       PRICE                        DC     90013692411
4223426195B52B   PERLA        MARRERO                      NM     36007522619
4223486495B174   KIMBERLY     HARVALL                      AR     90015598649
4223535A861967   JUAN         ACOSTA                       CA     90001343508
4223561A44B271   JEREMY       FRANKS                       NE     90014716104
422361A4A2B87B   NICHOLE      DOWNS                        ID     90010151040
422363AA793794   TRACY        HUSTON                       OH     90003003007
42236974672B36   KEVIN        THOUTT                       CO     33036729746
4223747A84B547   WILFREDO     MALAY                        OK     90006204708
42237538272B36   DOUGLAS      LESLIE                       CO     33040775382
42237A76471999   NICOLE       PADILLA                      CO     90013730764
4223822A147954   RENEE        KIMBROGH                     AR     25018272201
4223831832B828   COREY        THOMAS                       ID     90013943183
4223849A561963   BRITTANY     WELLS                        CA     90012614905
422384A9A72B4B   HANNAH       MICHAEL                      CO     90013974090
42238862A5597B   CINDY        BAL                          CA     49060108620
42238958A72B43   PATRICIA     GONZALES                     CO     33023709580
422393A8A72462   RICKI        HUGHES                       PA     90002163080
4223941985B271   DEANNA       DANIELS                      KY     90012834198
42239696A61967   SANDRA       BRIGMAN                      CA     90013416960
42239A21672B43   MORAZA       ROSALBA                      CO     90010720216
42239A51A91873   VRIGINIA     CRAWFORD                     OK     90010170510
4223B244972B4B   CORINA       SERRANO                      CO     90011352449
4223B399993794   ERIN         BACK                         OH     90014803999
4223B74855B58B   MARIA        MENDOZA                      NM     35021397485
4223BA57A91873   SHARONDA     FOSTER                       OK     21090790570
4224139385B58B   EDUARDO      ALVARADO                     NM     90012923938
4224171125B523   REYNALDO     ARELLANEZ                    NM     90004247112
4224176639152B   JOSE         SANCHEZ                      TX     90001007663
42241A25561967   GRANT        DA SILVA                     CA     90010660255
422426A9A72B35   DELIA        MARQUEZ                      CO     33063296090
422436A9172B4B   MARISOL      GOMEZ                        CO     90010016091
4224392352B87B   CHAD         LEE                          ID     90012359235
4224397225B597   LOURDES      HOFMAN                       NM     35080819722
42243A1A372B43   LUCIO        IACONETTI                    CO     90000680103
4224498455B58B   STEVE        SANCHEZ                      NM     35060149845
422457A5441258   CHERYL       FLANAGAN                     PA     51047597054
42245AA2791569   TERESA       JIMENEZ                      TX     90006350027
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422461A242B828   KEN          WOODS                        ID     42039091024
4224646895B222   ELIZABETH    WILLIAMS                     KY     90009544689
4224725525B271   DAVID        TINGLE                       KY     90012322552
4224732995B523   FELIPE       AMADO                        NM     35017313299
4224799672B87B   KATILLIA     SWANEY                       ID     90005209967
4224836A171999   SHAUDEA      GUTIERREZ                    CO     38088993601
42248A51851334   BRYAN        LARKIN                       OH     90015110518
42249A1755B53B   ELIZABETH    BUENROSTRO                   NM     35010630175
4224B162541258   PALMELA      MOORE                        PA     51043911625
4224B349272B43   CHARLOTTE    SHARP                        CO     33065413492
4224B37AA93794   VICKI        TORRES                       OH     90014813700
4224B427461967   SCHUPPERT    BRIAN                        CA     46065054274
4224B44815597B   JACQUI       WINN                         CA     49013314481
4224B68A25B52B   PATRICA      VILLEGAS                     NM     90013926802
4225135918B165   TAMARA       CALLAHAN                     UT     31071973591
42251A9848B16B   TAUSHA       DUFFIN                       UT     31028400984
4225252378B16B   GUSTAVO      CARRASCO                     UT     90011195237
4225376665B58B   DEBBIE       PADILLA                      NM     90006527666
4225395688B185   RINDA        CASTILLO                     UT     90006389568
42255439172B36   ROSALBA      MALTOS-CALDERON              CO     90005284391
42255566A2B87B   GRACE        BOLME                        ID     41003635660
4225571248B165   BRIGETTE     WHITEHEAD                    UT     90013447124
42256264772B36   JOSE         GARCIA                       CO     33013592647
4225652AA91351   GABRIELA     RODRIGUEZ                    KS     90011355200
4225815655B271   KENNETH      SQUIRES                      KY     90012711565
422591A3572B43   GERARD       CHACON                       CO     33035561035
4225968878B16B   LOREN        WILSON                       UT     31009046887
42259923A5B52B   JOHNY        NAVARRETE ESPERANZA          NM     36084929230
4225B287951334   ANTHONY      BROOKS                       OH     66032112879
4225B33162B27B   MELVIN       SHIRLEY                      DC     90012023316
4225B684151334   ANTHONY      BROOKS                       OH     90013586841
4225B829581691   CATHERINE    EDMONSON                     MO     90004068295
4225B8A834B271   CHARLES      BRONSON                      NE     90009838083
4226199A85B222   TRAYCE       JONES                        KY     90014459908
42261A5675597B   ANDRES       MADRA                        CA     90014450567
4226258415597B   SIDNEY       MEDINA                       CA     90014615841
4226298725B58B   PAUL         OLEARY                       NM     90013339872
4226327412B27B   IKEA         BANNISTER                    DC     90011342741
42263552A5B58B   LISSETTE     MELERO                       NM     90006795520
4226356225B597   PATRICIA     ALMANZA                      NM     35023995622
4226386135B52B   DONALD       GRIEGO                       NM     36045368613
422641A6191547   DANIEL       CORDERO                      TX     75097481061
4226457A161963   LEONARD      WILLIAMS                     CA     90013455701
42264A97351334   PABLO        HERNANDEZ                    KY     90000920973
422652A555B222   DIANE        HICKMAN                      KY     90013292055
42265455172B43   KATHERINE    KARY                         CO     33040874551
4226563172B27B   DEBRA        SEARLES                      DC     81097186317
42266A4A751383   DANIEL       MORALES                      OH     66074090407
42266A8335597B   ELIJAH       WILKINS                      CA     90005310833
4226775AA91351   VERONICA     COVE                         KS     90015197500
42268967A51334   MEGAN        STEINER                      OH     90008049670
42268A19972B43   KHANI        THOMAS                       CO     90006820199
4226929412B27B   JENNIFER     ESTREMERA                    DC     90011782941
42269A3433B352   AMBER        HEGG                         CO     33087860343
42269A8192B87B   CARLA        MORALES                      ID     41007140819
4226BA76951334   DOUGLAS      WALKER                       OH     90014990769
4227196216B275   ANTHONY      CAUCCI                       AZ     90011849621
42272622572B4B   RAUL         PULIDO                       CO     33083466225
4227339454B271   TERESA       RISKOWSKI                    NE     27093913945
422734A335B271   ADRIENNE     WINKFIEL                     KY     90012844033
422735AA95B53B   ALEXIS       THOMPSON                     NM     90013945009
42274456A5B52B   JOSE         CARRILLO                     NM     90005044560
42275316A51326   MARIA        FRANCISCO                    KY     90008033160
422755A6662B31   BRITTANY     SELF                         KS     90013875066
42275934172B4B   ERICKA       VIGIL                        CO     33085499341
42276222A91351   JOSE         NAVA                         KS     29001982220
4227631A67B865   JOSE         MARTINEZ                     IL     90015573106
4227697595B523   MARIA        DE JESUS PEDRAZA             NM     35052879759
4227758A94B271   MENUEL       MAREZ                        NE     90007195809
42277A1745B271   MICHEAL      JACKSON                      KY     90014460174
422787A9A61963   TANYA        PASTOR                       CA     90010677090
42279451272B4B   BENILDE      BUSTAMANTE                   CO     33027754512
4227955548B16B   MORGAN       BLATNICK                     UT     90012115554
4227972A261967   MARIA        FLORES                       CA     90012017202
4227B25A972B25   ROGELIO      BLANCO                       CO     90013932509
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4227B8A645B222   DANIELLE           JAGGERS                KY     90012958064
4227B996A5B271   SHANNON            WEATHERS               KY     90011169960
4227B999162B31   SHEEMA             WILKINS                KS     90010259991
4228115A191569   KRISTIAN           ACEVEDO                TX     90006021501
42281454772B43   CORINA             DONLEY                 CO     33036774547
422815A985B53B   RICARDO            GARCIA LUJAN           NM     90013945098
42281A6355B222   SHINICA            EDWARDS                KY     90015600635
4228266395597B   AMPHA              INTHAKUMANE            CA     90011756639
42282852A47954   LINDA              KUYKENDALL             AR     25045618520
42283446A61967   FRANCISCO          OCAMPO GALEANO         CA     46061354460
4228392215B271   KIMBERLY           SAUNDERS               KY     90010909221
42284217A5B52B   TANYA              POWELL                 NM     36026332170
4228437915B53B   RACHAEL            LUJAN                  NM     35069103791
422844A9261963   KARIANA            SALGADO                CA     90012354092
4228479625B222   BRANDY             FRENCH                 KY     90010477962
42284A1A872B4B   VICTOR             RIVERA                 CO     33070640108
4228515784B271   JOSE LUIS          LOMELI -VALLIN         NE     90000261578
4228524357B377   AKPALOU            KUDIO                  VA     90000692435
42285A2338B165   CARLOS             RAMIREZ                UT     90015030233
4228668795B271   PAYGO              IVR ACTIVATION         KY     90009966879
42286A7285B222   TEONDRA            MORRIS                 KY     68098660728
42286AA7A91873   BETHANY            MOORE                  OK     90011000070
42287223A5B52B   DESTINY            CHACON                 NM     90013372230
4228951994B271   RHONDA             MOSES                  NE     27044215199
4228977395B52B   JOEL               JARAMILLO              NM     90012237739
4228995185597B   CLAUDIA            EWSPINOZA              CA     49095349518
4228B478491527   ANA                OROZCO                 TX     90001504784
4228B52622B27B   RONESHA            THOMAS                 DC     81055325262
4228B5A785B53B   MATTHEW            CANGIALOSI             NM     90013945078
4228B68A25B52B   PATRICA            VILLEGAS               NM     90013926802
4228B73215B271   SHELLEY            BURRUS                 KY     68032477321
4228B823391873   HECTOR             GONZALEZ               OK     21094198233
4228B85725B58B   JESUS              BUSTILLOS              NM     90014058572
4229128A751334   WILLIAM            KEOWN                  OH     90014962807
4229151655B53B   MICAELA            MARTINEZ               NM     90013945165
42292A43862B31   MANUEL             ANDREWS                KS     90012720438
42292A78772B43   GARY               RICHARDSON             CO     33053960787
422931AA35B52B   SAMANTHA           GUTIERREZ              NM     90014741003
4229368455B52B   CYNTHIA            MONTOYA                NM     36017616845
4229379545B222   TERRY              CHAMBERS               KY     68008387954
42293837A5B174   TIFFANY            SHERRER                AR     90010718370
4229395415B271   RUDOLPH            LALLA                  KY     68051139541
422956A7A72B43   CRYSTAL            FOUGHT                 CO     90008656070
422962A555B222   DIANE              HICKMAN                KY     90013292055
4229719238B185   JOLANDA            BARAJAS                UT     31004661923
42297925972B36   ELIZABETH          LEER                   CO     33032079259
4229829378B16B   CHARLYNN           ARGYLE                 UT     31001222937
42298779972B36   ADRIANA            MARMIE                 CO     33060357799
42298789A61963   OMAR               UMAYAM                 CA     90013027890
4229988278B185   MARANDA            SMITH                  UT     31024688827
4229B534791569   GABRIELA           VEGA                   TX     90007645347
4229B721A51334   DAWN               REYNOLD                OH     90013087210
4229B77A75B53B   TERESA             MANQUEROS              NM     35034217707
4229B91335B271   AMY                WHITE                  KY     90004449133
4229B92262B27B   BARBARA            ROBINSON               DC     90012959226
4229B923572B43   MARIE              BELL                   CO     33079109235
4229BA1935B52B   ANNETTE            MEDINA                 NM     90008190193
4229BA3223B356   CYTHIA             CHEVARRIA              CO     33005960322
4229BA74A8B16B   GABRIEAL           BREWSTER               UT     90008590740
422B134235B597   BRENADINE          KUYKENDALL             NM     90005553423
422B1518272B22   JERRYME            MORALES                CO     90005245182
422B2166691873   REGINALD           PHELPS                 OK     90009071666
422B2248171999   DARRYL             JARAMILLO              CO     38093482481
422B2383A61967   NINA               KNOX                   CA     90012603830
422B3167561963   SUSANNA            SWAY                   CA     90003711675
422B357858B16B   MIKE               DELUNA                 UT     31005405785
422B35A9672B36   EDIE               VALDEZ                 CO     33090195096
422B363A95B597   ANGELA             MORALES                NM     90012156309
422B3754991873   LACY               KYSAR                  OK     90002777549
422B3787893794   JOSH               HUMPHRIES              OH     90014717878
422B397145B388   MARIA DE LOURDES   FLORES                 OR     90013219714
422B446215B53B   DONNIE             SMITH                  NM     90015004621
422B45A9561967   MONICA             AVILA                  CA     90013075095
422B487635B174   CHEYL              JONES                  AR     90014778763
422B5265341258   VICTORIA           HOGE                   PA     51090792653
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422B582495B58B   BERNARDINO   ZARRAZOLA                    NM     90012988249
422B5883271999   ROSALIE      JIMINEZ                      CO     38045068832
422B5954391569   MANUEL       AMAYA                        TX     90010409543
422B644735B174   MARIA        JONES                        AR     23074234473
422B648365B222   KIMBERLY     SCHAUS                       KY     90012714836
422B64AA151348   HENRY        SAMUEL                       OH     90013034001
422B728445B53B   BARBARA      WILTON                       NM     35089262844
422B76A745B271   EDWARD       MORRISON                     KY     90011106074
422B82A4472B4B   RAYMUNDO     RODRIGUEZ                    CO     90012642044
422B888722B27B   CALLER       UNKNOWN                      DC     90013608872
422B88A5A61967   ANDREA       GARCIA                       CA     90013948050
422B9287793794   ALLEN        GALLIHER                     OH     90013782877
422B9391172B4B   DENNIS       ETTER                        CO     33062043911
422B952A661967   RICHARD      LIPINSKI                     CA     90014405206
422BB11A655939   OCTAVIO      CALDERON                     CA     90012131106
422BB24388B141   AUBREY       RYDALCH                      UT     90010622438
422BB71454B551   MARQUETTA    FUNDERBURK                   OK     90009857145
423112A6672B43   JOSEPH       NUNEZ                        CO     90012722066
4231157338B165   ADAM         GAMAR                        UT     90007955733
42313738A62B31   DEENA        SEIFERT                      KS     90014707380
423139A358B16B   JACARANDA    DELGADO                      UT     90013969035
42313A8172B237   SAMUEL       MCFADDEN                     DC     81043290817
4231414A15B597   ELIZABETH    VEGA                         NM     35052441401
4231469895B52B   CRYSTAL      CANO                         NM     90013726989
4231523262B27B   RODNEY       WOOD                         DC     90009152326
42315548A55939   MADELYN      REYES                        CA     90011305480
423159A824B271   LATESE       THOMPSON                     NE     90001409082
4231644A591873   JESSICA      ALMADER                      OK     90012134405
4231715165597B   CHRISTA      HORN                         CA     90013621516
423174A215B271   PHYLLIS      PALMER                       KY     90012254021
42317A78A8B185   JASON        JONES                        UT     31030320780
423183A4261458   MICHAEL      WALDIER                      OH     90014483042
423184A6491569   GABRIELA     GONZALEZ                     TX     90002274064
423184A7471999   MARTIN       CHACON                       CO     90014494074
423191A275B523   GABE         GUTTMANN                     NM     35057901027
4231946A372B36   LESLIE       LEE ESPINOZA                 CO     33046424603
42319A16362B31   GREG         BONTRAGER                    KS     90014970163
42319A6825B58B   JAMES        ARMIJO                       NM     90012090682
4231B37288B185   BOYD         DAVIS                        UT     90011123728
4231B718A5B52B   ALICE        SENNOTT                      NM     90010687180
4231B74632B87B   BRET         MINZGHOR                     ID     41007327463
42321327472B43   DAVID        JOHNSON                      CO     33008263274
4232162142566B   TENESHIA     CLEMONS                      AL     90014586214
423217A7971999   LUPE         VALDEZ                       CO     90012087079
42321939372B4B   ANTHONY      POLLARD                      CO     90000659393
4232237618B165   DAVID        SATTERWHITE                  UT     90013283761
42322435872B43   QUEENIE      JOHNSON                      CO     90012884358
42322649A72B36   LIBNY        MARTINEZ                     CO     90009166490
423232A7991351   MARY         GARCIA                       KS     90015012079
423234A9872B36   LARON        YOUNGER                      CO     33090814098
4232383278B165   SUZANNE      CHRISTENSEN                  UT     31035578327
4232534415B271   CHRIS        JOHNSTON                     KY     68044183441
42325A24A61963   LUCINA       GUERRERA                     CA     90014340240
42325A45291569   MANUEL       ALVAREZ                      TX     90010220452
4232617635B52B   MORAIMA      ARAIZA-PEREZ                 NM     36078961763
4232657325B53B   JULIA        MARTINEZ                     NM     90013945732
4232676498B165   BRYON        BROWN                        UT     31047577649
4232698835B174   PHARANETTE   COLLINS                      AR     90015159883
42326A35961967   JONATHAN     RODRIGUEZ                    CA     90002710359
4232778735B597   JULIE        ESPINOSA                     NM     90012637873
42327A5245B222   CONNEH       MOSES                        KY     90009530524
42328A89672B43   WILLIAM      CANADA                       CO     90013080896
4232944A185825   ONIEDA       FAULKNER                     CA     90011654401
4232B146A5B271   PAOLA        HERNANDEZ                    KY     90012661460
4232B229A5B58B   JACK         GUTIERREZ                    NM     35027522290
4232B753A76B22   OSCAR        DELGADO                      CA     46069117530
4232BA5575597B   MACKENZI     BOLIN                        CA     90015060557
4233118A161963   GILDA        MATAU                        CA     90015081801
42331A43A8B165   JOHN         DURFEY                       UT     31001700430
4233242175B53B   GEORGE       SALAS                        NM     90009094217
4233246735B222   MARISOL      REYES                        KY     90013644673
42332679172B43   ELIZABETH    TREBILCOCK                   CO     33031636791
423343A465597B   FERNANDO     CORONADO                     CA     90010803046
423348A114B271   MICHAEL      COSTELLO                     NE     27091608011
4233524A55B271   STACYE       OWEN                         KY     90007882405
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4233593A472B4B   JORGE                VELAZCO              CO     33052599304
4233598198B16B   COURTNEY             BARNES               UT     31044649819
42336197772B36   SHARON               MESTAS               CO     33013591977
4233711285B222   ANITRA               GUNN                 KY     90013551128
423371A1172B43   MELISSA              GARCIA               CO     33038491011
42338673A5B52B   ANTONIO              RAMIREZ-CRUZ         NM     90000466730
42339183A61963   ESMERALDA            REYNAGA              CA     90011161830
42339216472B36   JUAN                 CORONEL              CO     33049202164
42339A22391569   ESTEBAN              MARQUEZ              TX     75086870223
4233B119472B36   MICHEAL              CARRILLO             CO     90011181194
4234112A79152B   GABRIELA             CABALLERO            TX     75092661207
423415A665597B   NICO                 URIAS                CA     90005395066
42341862272B36   DENISE               GANN                 CO     33091578622
423419A838B16B   GINA                 MIYAGISHIMA          UT     90013969083
4234246528B16B   CHRIS                DELTORA              UT     90011604652
42344673562B31   DENNIS               STEWART              KS     90013816735
4234475222B27B   JOHNNIE              MCCALVIN             DC     90015357522
4234528145B523   LYNELLE              ROBERT TRUJILLO      NM     35017062814
4234569895B58B   ALLAN                SISSON               NM     35042936989
42346151124B7B   DARELL               BANKS                DC     90012851511
4234625AA5B271   CHARLES              WHEATLEY             KY     68032512500
42346843A91351   DAUNTE               BENJAMIN             KS     90011098430
4234686324B271   MARIA                SUAREZ               NE     27000278632
4234723AA72B36   DEBARA               CHAVEZ               CO     90011842300
4234765595B271   P                    CARTER               KY     90007796559
42347894762B31   ASHELY ZOLMAN MATT   FRISBIE              KS     90005668947
4234816455B222   STACEY               CRABTREE             KY     90003451645
42348573924B6B   WILFREDO             ALDANA               VA     90002955739
42349287272B43   KAREL                NAVARRO              CO     90014652872
423492A5A5B259   ALICE                BRIDGES              KY     90013552050
4234992579152B   MANUEL               HERNANDEZ            TX     90010299257
4234992929152B   MANUEL               HERNANDEZ            TX     90011549292
4234B19665597B   AALIYAH              LANE                 CA     90014601966
4234B27A151383   RAMON                MILLER               OH     66065952701
4234B763161967   ALEX                 TELESFORD            CA     90010217631
4234B95735B222   CHRIS                SUMMERS              KY     90013929573
4234B98AA61967   DEBRA                LANGE                CA     90013949800
42351184A61967   LILIA                RAMIREZ              CA     90012891840
42351259472B43   VICTOR DANIEL        GARCIA               CO     90014842594
4235214328B185   ELISA                COONES               UT     90007241432
4235215165B58B   JESSICA              QUESADA              NM     90011501516
4235246545B271   CANDICE              CLEMENS              KY     90003604654
4235254832B27B   ARIEL                CLARKE               DC     90014665483
4235346535B58B   STELLA               CREEK                NM     35026044653
4235424A55B271   STACYE               OWEN                 KY     90007882405
4235434985597B   SAMANTHA             ZANUTO               CA     90009553498
42354537A51383   JEREMY               JOHNS                OH     90012695370
42355821A72B43   MANU                 NOLEN                CO     90014728210
4235698A78B16B   RICH                 WANNER               UT     90013969807
42358713A85964   DOUGLAS              BROWN                KY     90010577130
4235973452B27B   JESSICA              CREEK                DC     81002517345
4235995472B828   EFRAIN               CALVILLO             ID     90001529547
4235B381561986   GILBERTO             GARCIA               CA     90013043815
4235B836761967   OSEAS                SOTO VALENZUELA      CA     90010698367
42361239872B4B   MARIA                CASTILLO             CO     90002302398
423616A555597B   NORMA                ROMERO               CA     90008346055
4236198AA61967   DEBRA                LANGE                CA     90013949800
4236247727B49B   SHERRI               MCQUERY              NC     11096154772
42363A1225B396   ANDREA               GREEN                OR     90011230122
42364645A5597B   ALFADALIA            GARCIA               CA     90014976450
42364819A5B53B   DOREEN               ARCHULETO            NM     35015948190
42365173872B36   CROCKETT             WESLEY               CO     33085411738
4236522385B271   LASHAY               GAINES               KY     68021112238
42365425A62B31   BRANDON              HUDSON               KS     90013874250
42367181662B31   WILLIAM              SPIRES               KS     90014731816
4236732398B165   ANDREW               MAWHINEY             UT     90014483239
42367A79A8B181   CURTIS               DAYTON               UT     90012660790
4236827494B551   WILLMA               GIBSON               OK     90008042749
42368671A72B43   RENE                 LOVATO               CO     90010016710
4236892745B222   BARBARA              THOMAS               KY     68035489274
4236978535B271   ELIZABETH            SCHULTZ              KY     90000227853
423715AA491351   ROCIO                VASQUEZZ             KS     90012825004
4237165472B87B   ENHANCED             RECONDITIONING       ID     90009656547
423716A6447954   SHAUN                MILDE                AR     90001826064
423716A845B271   FERRELL              CASH                 KY     90012956084
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42371A2242B27B   JAMES            HARRISON                 DC     90010710224
42372A86A91569   GUSTAVO          REY                      TX     90013270860
42373422672B4B   VALENTINA        VALDEZ                   CO     90014494226
4237439695B222   JENNIFER         JONES                    KY     68048073969
423745AA761963   JOSE             GUERRERO                 CA     46095495007
42374781362B31   MARIE            DEL RIO                  KS     90012777813
4237531618B16B   KYLA             GRANT                    UT     90014603161
423755A124B271   EVELIN           CHAVEZ                   NE     90007585012
4237573815B523   MIRANDA          WILLIAMS                 NM     90003327381
423762A4461967   PATRICIA         GOMEZ                    CA     90012782044
4237677678B165   CHRISTOPHER      JOHN                     UT     90015307767
4237781115B58B   MANUELA          MUNOZ                    NM     90010808111
4237827578B165   SKYLA            CARLSON                  UT     90000832757
42378434172B36   MICAELA          MARTINEZ                 CO     90013984341
42378811872B43   MELISSA          ANTILLON                 CO     90008998118
4237883135B174   KEENAN           LYONS                    AR     90013988313
4237966835B271   TERRI            JOHNSON                  KY     90003506683
423796A442B87B   GAMALIEL         WILLIAMS                 ID     41078546044
4237B196961967   OLIVIA           HERNANDEZ                CA     90010061969
4237B656851334   RICARDO          CANDELA                  OH     66000096568
4237B74A45597B   AARON            VALLEJO                  CA     90004657404
4237B999272B36   DORA             VASQUEZ                  CO     33025229992
423813A415B52B   GRISELDA         CAMPOS                   NM     90005563041
42381667272B43   JESSE            RENDON                   CO     90012926672
423816A6A5B174   GAYNELL          MARSHALL                 AR     23039096060
4238246292B87B   FRANK            ROLLINS                  ID     41043794629
4238311195B271   MIRELA           OZEGOVIC                 KY     90015201119
4238377665B53B   ARTURO           MENDOZA                  NM     90015087766
4238538258B16B   THAMAR           ARAVE                    UT     90008703825
4238587A872B36   JOSE             ROCHA                    CO     33011718708
4238591515597B   GUMERCINDO       CORDOVA                  CA     90011639151
42386186272B39   LAURA            BAKER                    CO     90006371862
42386A35A91569   MARCO            CAMARILLO                TX     75086860350
4238722A351334   JULUIS           MADER                    OH     66070592203
42387781362B31   MARIE            DEL RIO                  KS     90012777813
4238857325B53B   JULIA            MARTINEZ                 NM     90013945732
4238916812B27B   JOANNE           GARLINGTON               DC     81058151681
4239121A291569   DANNY            GONZALEZ                 TX     90011602102
423935A6662B31   BRITTANY         SELF                     KS     90013875066
4239389A58B185   YULIO            MARTINEZ                 UT     90003288905
423938A828B165   ISMAIL           AHMED                    UT     90013688082
4239479552B27B   DAMIEN           DEMUS                    DC     90015087955
4239577398B185   MARIA            VILLASENOR               UT     31017007739
4239577445597B   AMANDA           JORGENSON                CA     90014527744
42395A16772B36   DELFINA          NIETO                    CO     33001870167
42396A3635B52B   VINCE            VIGIL                    NM     36010870363
42396A5945597B   CHELLA           MADRIGAL                 CA     90012910594
42397725372B4B   SALVADOL         SARINANA                 CO     90014897253
4239851AA72B36   MARIA            ACOSTA                   CO     90014825100
423989AA761963   ROBERT           LINDGREN                 CA     46034379007
4239932314B271   GABRIELA         MORENO                   NE     27077063231
4239996845B174   LAKEITHA         CLINGMON                 AR     23065029684
4239B26172B27B   TELMA            COREAS                   DC     90013922617
4239B37265B52B   JAMES            VALENCIA                 NM     36072733726
4239B848A91873   LAMONT           QILLIAMS                 OK     90012098480
423B1694191569   CARLOS           RETANA                   TX     90006316941
423B188278B185   MARANDA          SMITH                    UT     31024688827
423B1A5635B597   MAY              PEREA                    NM     35096930563
423B1AAA15B222   STACI            STOUT                    KY     68015390001
423B243335B222   LEE              PHOMMINH                 KY     90010354333
423B248635B271   SEQUOIA          BROWN                    KY     90012904863
423B2552561967   IRMA             WILLIAMS                 CA     46040985525
423B263315B174   SANDRA           ANDREWS                  AR     90015266331
423B3233693794   CINDY            DURR                     OH     90003342336
423B3342391873   JENNIFER         AUTEN                    OK     90013333423
423B425A14B271   SALVADOR         FRANCO                   NE     27016812501
423B4781362B31   MARIE            DEL RIO                  KS     90012777813
423B5124891569   RAMIREZ          JUAN OMAR                TX     90006571248
423B5A51862B31   MANUEL           ALVAREZ                  KS     90012370518
423B6873262B31   HECTOR           FLORES                   KS     90005338732
423B7235872B43   LAUREN DARLENE   CORDOVA                  CO     90013352358
423B745195B271   OSVALDO          GARCIA                   KY     90014884519
423B7942261967   ROSALIE          MONACO                   CA     90013949422
423B7984971999   KRISTERFER       HAWKINS                  CO     90011349849
423B7986591873   MEGAN            OLMSTEAD                 OK     90014799865
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423B8157461963   ELIZABETH     HERNANDEZ                   CA     46056631574
423B8836472B43   RENEE         CASIAS                      CO     33088208364
423B9141872B36   MARKELIA      BANKSTON                    CO     33009971418
423B953A75B52B   ERIKA         VALLES                      NM     90015085307
423B9644331487   GWEN          GORDON                      MO     90001206443
423BB824955947   JOSE          JIMENEZ                     CA     90010768249
4241127578B165   SKYLA         CARLSON                     UT     90000832757
4241131195B58B   KATHY         ULIBARRI                    NM     35066923119
4241146242B87B   MATT          GROSS                       ID     41010014624
4241194A45597B   VANESSA       SANTANA                     CA     90011639404
4241272585B52B   LISA          DOFFLEMYER                  NM     36082197258
42412795A8B185   KENNETH       WARREN                      UT     31045207950
424127A3971999   BRENDA        GALLEGOS                    CO     90014637039
42412A82361967   BLANCA        TRUJILLO                    CA     90013950823
42413527924B7B   KEITH         MANNING                     DC     90013675279
4241388295B597   VIVIAN        DENNARD                     NM     90003928829
42413A81551325   JESSICA       KELLY                       OH     90007370815
424141A7A5B58B   DORA          MARQUEZ                     NM     35015351070
424142A9562B31   ARMANDO       GUEDEA                      KS     90014002095
4241433628B16B   JEANIE        BIGHAM                      UT     31058203362
4241586538B16B   TANYA         TERESA                      UT     90010798653
4241586955B52B   RICARDO       HERNANDEZ                   NM     90013328695
42415A21255939   DALIA         ARENAS                      CA     90010510212
42415A65291569   GUADALUPE     OCHOA                       NM     75008100652
4241615124B271   VICTOR        CHAVES                      NE     90010811512
42416A9A95B222   VICTORIA      DILLY                       KY     90008480909
424172A9562B31   ARMANDO       GUEDEA                      KS     90014002095
42417344A61941   MANUEL        CASTRO                      CA     90012603440
42417561A91569   GILBERT       SOTO                        TX     75096455610
42417A34672B36   MAGDALENA     OLVERA                      CO     33074450346
42418A56941258   VICTORIA      WHITNEY                     PA     90006260569
4241953712B87B   JUSTIN        FLORES                      ID     90009945371
4241959512B27B   JOSE          FLORES                      VA     81044035951
42419878A72B43   KATALINA      VEGA                        CO     90012928780
4241B346133145   JUAN          BARRERA                     IL     90007203461
4241B376A8B165   MUSHTARI      NOORI                       UT     90009483760
4241B53455B58B   BENITA        GARCIA                      NM     90013825345
4241B955791351   KISHORKUMAR   GOHIL                       KS     90011099557
4241B99385B58B   ORLANDO       ROYAL                       NM     35012699938
4242255A15597B   ALICIA        HERNANDEZ                   CA     90002515501
42422667272B4B   JACOB         YOUNG                       CO     90012056672
4242288245B271   JOHN          MILES                       KY     90012398824
42422951572B36   DOMINICK      FLORES                      CO     90006049515
4242342232B87B   JULIA         MIDDLEMIST                  ID     41002424223
42423444672B4B   SARMIENTO     JAVIER                      CO     90013484446
4242354422B27B   LATRICE       MOORE                       DC     90012555442
4242549935B58B   PEDRO         ALONZO                      NM     90011354993
4242583324B52B   ALPHONS       EFIOM                       OK     21553798332
4242626198B185   STACY         IESE                        UT     31006482619
424262A822B27B   JACQUES       JERVEY                      DC     90010912082
4242633398B165   JEANNETTE     BROWN                       UT     90005153339
4242655895597B   RAMON         MEZA                        CA     90014805589
4242685A691351   RACQUEL       GONZALES                    KS     90006568506
4242689125B174   MARIO         EVANS                       AR     90014758912
4242713342B27B   LA ROYA       HUFF                        DC     81015991334
424277AA75B222   ARNOLDO       PEREZ CRUZ                  KY     90007377007
42428297172B43   JAVIER        TORRES                      CO     90010322971
4242837548B165   MONIQUE       SEARLE                      UT     90010393754
4242886A461963   JORGE         LOPEZ                       CA     90010398604
424295A918B165   LEILANI       ROSALEZ                     UT     31050465091
4242B3A952B27B   TIERRA        YOUNG                       DC     90013103095
4242B68565B271   WILLIAM       HILL                        KY     68028936856
4242B778255951   LURAY         SCHUSTER                    CA     90013667782
4243125434B577   WENDELL       WILLIAMS                    OK     90009172543
4243239234B23B   TRISHA        KOCK                        NE     90009193923
42432421872B36   MARIO         DEBONO                      CO     90013434218
4243315712B87B   LOIS          THOMAS                      ID     41092311571
42433246A51334   TANISHA       WARD                        OH     90013662460
42433593472B36   LORENA        ALVARADO                    CO     33023965934
42433A3475B597   SUGEY         SILVA-HERNANDEZ             NM     35055690347
42434227862B31   ROSALINDA     HERNANDEZ                   KS     90006312278
424344A655B222   TAKAYLA       SMITH                       KY     90013044065
424348A1851383   AMBER         BROWN                       OH     66011168018
4243514A272B4B   KATRINA       LASHELL                     CO     90014481402
424351A575597B   JONATHAN      ORTIGOZA                    CA     90012941057
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4243575655B271   BETHANY          PURYEAR                  KY     90004957565
4243591865B52B   JENNIE           TORRES                   NM     90009639186
424363A792B27B   DEANDRE          FLETCHER                 DC     81058973079
42436A67461963   SILVIA           CASTRO                   CA     46011480674
4243711265B174   ALICIA           PONCE                    AR     23078671126
4243751865B597   ANGELA           PINO                     NM     35086305186
4243757713B343   JUSTIN           HILL                     CO     33010675771
42437A1242B27B   DEBRA            PRESTON                  DC     81028340124
4243836A751334   MIRANDA          JONES                    OH     90013373607
424387A4891873   SUSIE            AL-TALL                  OK     90011457048
4243881468B165   TESSA            PRAWITT                  UT     31007098146
4243899945B52B   DEANA            ORTIZ                    NM     90013139994
42439335A3B234   MARIO            HERMELINDO               DE     90015513350
42439A3A151383   COURTNEY         LONG                     OH     66078140301
4243B335761963   AARON            RICO                     CA     90013333357
4243B395871946   CASSSIE          BERNARD                  CO     90013333958
4243B43A171999   DARICE           PORTER                   CO     90014704301
4243B774172B4B   AURORA           CAMPOS                   CO     33004587741
424419A3391569   IRMA             RADA                     TX     90012119033
4244343588B16B   PAT III          LAVINE                   UT     90014004358
424434AA35597B   ALEJANDRO        DIAZ                     CA     90012504003
42443A1A22B274   TUNA             MECIT                    DC     81061100102
42445319272B4B   MARLENE          ZAHN                     CO     33041233192
42445549672B43   ABEL             PEREZ                    CO     33028325496
4244635445B53B   ANASTACIA        GUINN                    NM     35064573544
4244653455B58B   BENITA           GARCIA                   NM     90013825345
4244746AA72B36   TAANI            AMMON                    CO     90010734600
4244787845B222   JAMES            KREITMAN                 KY     90007538784
42448492A2B87B   GARY             NEFF                     ID     90014504920
4244866825B52B   JOSE             GARCIA                   NM     90010596682
4244963744B271   MARTA PATRICIA   RUBALCABA                NE     90013176374
42449A17772B36   ANTHONY          NICKS                    CO     90012390177
4244B14938B185   CODY             BAKER                    UT     90006751493
4244B29A591569   GUIADIAN         NANCY                    TX     90006662905
4244B492672B43   BRIAN            POPE                     CO     33008274926
42451512624B7B   LESVIA           ALVARADO                 DC     81070245126
42452285A91569   JOSE             SAUCEDO                  TX     90008492850
424524A7781627   DENISE           NEWMAN                   MO     90007924077
4245264A872B36   ANA              MARBAN                   CO     90009836408
4245283932B87B   AUSTIN           LIMBERG                  ID     90011558393
42453517A5B58B   LADELLA          WILLIAMS                 NM     90011885170
4245358275B53B   EDGAR            RIGOBERTO CELIS          NM     35008935827
42453786472B47   MANUEL           TORRES                   CO     90008777864
4245378955B271   KATHERINE        RUIZ                     KY     90011107895
424542A915597B   MONIQUE          PETERS                   CA     49060222091
4245578364B543   DYON             FITZGERALD               OK     90006467836
4245599528B16B   CHARLENE         YUEN                     UT     90008569952
4245623835B271   COREY            TYNES                    KY     90013742383
42456497A91351   CRISTIE          SPORT                    KS     90000364970
4245676835B53B   JOSE             MOLINAR                  NM     90010757683
42457178A72B4B   ALFONSO          PERES                    CO     90008371780
4245731A951334   SANNIKA          WHITMIRE                 OH     90013523109
42457616672B36   JON              LACEY                    CO     90005216166
42457741572B39   BROOKE           SERECKY                  CO     90008557415
42457A32A55939   ANA              NAVARRO                  CA     90000770320
42457A7894B543   PETER            BAGGINS                  OK     90006460789
42458785672B4B   KALA             GIVAN                    CO     90014617856
4245925258B165   CINDY            LICEA                    UT     31042022525
4245955548B16B   MORGAN           BLATNICK                 UT     90012115554
4245978A55B58B   YESENIA          DIAZ                     NM     35081177805
4245BA68891873   BRISA            ORTEGA                   OK     90013840688
42461243A61967   MARTA            RODRIGUEZ                CA     46055802430
42461377A91927   KEISHIA          JUSTICE                  NC     90013813770
4246163215597B   JUANA            DOMENE                   CA     49004616321
4246199995B58B   ANGELITA         SALAS                    NM     35003499999
42462127262B31   HERACLIO         VAZQUEZ                  KS     90015151272
4246286675B597   RAZIEL           ACOSTA                   NM     35000538667
4246338475B53B   APOLINAR         RUEDA                    NM     90010023847
42463394A5B222   JESSICA          ROACH                    KY     90005763940
4246347238B16B   LATOYA           FOOTRACER                UT     90013674723
4246396628B16B   CRUZ             REYES VALLE              UT     90013969662
4246436A54B271   WENDY            HEISER                   IA     90012243605
42464659362B31   ZACHARY          DECKER                   KS     90012586593
424648A9255939   CHRITIAN         NOVELA                   CA     90010548092
4246573A15B58B   MARY             GURULE                   NM     35001057301
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4246694858B16B   JARED                 FOWLER              UT     90011179485
42467877872B4B   JOSE GABRIEL          ROSALES             CO     90013168778
4246825982B27B   JOSE                  HENRIQUEZ           DC     90002762598
42468292872B36   EMILY                 WAKE                CO     90004192928
42468421272B43   LAURA                 BANUELO             CO     90013924212
42468668172B4B   DOUGLAS               GALLAGHER           CO     90012056681
4246971365B53B   ANNE                  ECONOPULY           NM     90012707136
4246B256151334   RAYMOND               FITZJARRELL         OH     66039912561
4246B27A95133B   STEPHANIE             MALONEY             OH     90004512709
4246B59525B53B   ROSEMARY              ORTEGA              NM     90014875952
4246B883A5B52B   ELIZABETH             MONTES              NM     36054178830
4246B926372B43   JUAN                  GOMEZ               CO     33083829263
4247137958B16B   JIMMY                 DANIELS             UT     90014273795
4247141955B174   TAMEKA                CUNNINGHAM          AR     90014854195
4247158A43B343   ADAN                  ESPINOZA            CO     90001205804
424715A918B165   LEILANI               ROSALEZ             UT     31050465091
4247171155597B   ASHLEY                DIAS                CA     90014517115
424719A6961967   ENRIQUE               LEDESMA             CA     46078209069
4247226958B185   KAREN                 TORRES              UT     31044422695
4247238475B53B   APOLINAR              RUEDA               NM     90010023847
4247292575597B   BRENDA                QUIROZ              CA     49065379257
4247325282B27B   SHANISE               HAMILTON            DC     90014852528
424751AA35B52B   SAMANTHA              GUTIERREZ           NM     90014741003
42475278A5B58B   DONALD                DUTCHER             NM     35093022780
42475368862B31   MEGAN                 DAVIS               KS     90006383688
424753A2151334   DESIREE               EDMONDS             OH     90010263021
424754A2761967   MONICA                SALAS               CA     90014744027
42475A97791873   STACEY                RIVETT              OK     90002700977
4247696835B53B   BIANCA                CHAUNCEY            NM     90012469683
42476AAA972B43   JEREMY                BERG                CO     90010950009
4247723484B271   TERI                  WEAVER              NE     90010992348
4247753835B53B   HORACIO               BELANGER            NM     35033575383
4247845538B185   MANDY                 NELSON              UT     31072524553
4247878475B271   NOELBIS               RUIZ RAMIREZ        KY     68018507847
42479397A8B165   ANGELA                JOHNSON             UT     31090613970
4247948118B16B   JUSTIN                WHETSTONE           UT     90014154811
4247948735B58B   CHARLIE CHRISTOPHER   HACKET              NM     90007274873
4247997A561967   ISAMAR                AYALA               CA     90014839705
4247B243162B31   LORI                  THIELEN             KS     90012602431
4247B43A872B43   KAREN                 GREGORY             CO     33015714308
4247B95795B52B   KARA                  REESE               NM     90012319579
42482726672B36   COLTON                CAPPS               CO     90013507266
4248322915B52B   MELISSA               MARTINEZ            NM     90011112291
424835A9272B36   SHENA                 REAVES              CO     90012225092
4248391158B16B   DAVID                 HATCH               UT     90004519115
424842AA991873   MARAY                 NAJERA              OK     90007082009
4248475285B53B   ERIK                  BEACHAM             NM     90013947528
42484771A72B4B   SCOTT                 LUKINOVICH          CO     33054677710
42486A53A71999   BRANDY                MCNAMARA            CO     90014370530
42486AA248B16B   COREY                 STAM                UT     31091860024
4248833858B185   CAMELLE               JONES               UT     31063243385
4248833895B222   EDDIE                 BRINSON             KY     90015283389
4248846545597B   TXEEG                 XIONG               CA     90013494654
42488A41651332   PAT                   HUEBNER             OH     90000120416
42489189372B43   CINDY                 GARWOOD             CO     33088591893
4248946385B53B   LARRY                 LUCERO              NM     90012534638
4248B393A5B222   MELINA                RASGADO-JUAN        KY     90014793930
4248B497472B43   JAVIER                JUAREZ              CO     90012574974
4248B995672B4B   STACEY                AMBROSE             CO     90002979956
424912A265B222   KRISTIE               MCCLUNG             KY     90010222026
424914A6961986   JOSE                  ACOSTA              CA     90013684069
4249173A772B36   DAVID                 HERMANSON           CO     90009737307
4249187725B271   STEPHANIE             DAVIS               KY     68077488772
424918A248B185   ANGELA                RICHMOND            UT     90003298024
42492349A5B52B   SALVADOR              BALDERAS            NM     90013573490
4249264546182B   JOHN                  COPPERFIEL          IL     90015496454
4249346A45B52B   MARY                  CASAUS              NM     90011894604
42493619772B4B   DONNA                 WOODWARD            CO     90009846197
4249625914B271   NANCY                 WHITE               NE     27090932591
424968A5372B43   ADRIENNE              BARTLEY             CO     90012278053
42496AA6671999   FRANCES               ARANDA              CO     90012870066
4249725748B16B   SETHU                 MATHAN              UT     90010102574
4249762692B273   LAWENCE               JORDEN              DC     90008626269
42497787A21637   ANGEL                 CENTENO             OH     90008757870
424983A1351337   DAVID                 NEAL                OH     90004053013
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4249867854B271   LISA             MILLS                    NE     27095596785
4249868545B53B   SAMANTHA         PEREZ                    NM     90013946854
4249915A172B43   LIDIA            BRAVO                    CO     90010711501
4249917212B27B   GREGORY          TERRY                    DC     90010491721
4249976628B16B   KIM              GARSIDE                  UT     90007117662
4249B49285B222   ETSUKO           ELLIFRITS                KY     90015584928
4249B6A722B27B   KATERI           CLIFTON                  DC     81016816072
4249BA5662B87B   KATHERINE        COLOSIMO                 ID     41011410566
424B1314131673   PATTIE           SCHWAB                   KS     90008863141
424B1725461963   CYNTHIA          PEREZ                    CA     90007497254
424B217915B271   JAMES            PORTER                   KY     90006741791
424B21A594B271   CHRIS            GLADDEN                  NE     90014091059
424B226635B52B   SONYA            MONCAYO                  NM     36034662663
424B26A1493794   BRIAN            WALLACE                  OH     66048946014
424B2984A91569   MARAIANA         VASQUEZ                  TX     90013339840
424B3518A72B43   JONATHAN         MARTINEZ                 CO     90015275180
424B363832B87B   SARAH            LEE                      ID     41035466383
424B3882A91873   SHAMEKA          GILMER                   OK     90008518820
424B411595B174   RHONDA           CLARK                    AR     23067661159
424B431952B27B   CHRISTOPHE       REDING                   DC     81034153195
424B431A78B16B   IVY              DAVIS                    UT     31072963107
424B442755B222   MARTIN           GUZMAN                   KY     90012184275
424B466A472B33   RANDY            CASTILLO                 CO     90012856604
424B471525B271   MARIA            LUIS                     KY     90012897152
424B4986391873   JERRY            LUNSINGER                OK     90003069863
424B4A57961967   MIGUEL           RAMIREZ                  CA     90013950579
424B4A93171999   CONRAD           GUERRERO                 CO     38088390931
424B517715B271   MELISSA          FRAZIER                  KY     90013051771
424B687448B185   RIKI             HEILBUT                  UT     90005398744
424B718AA5597B   MOISES           NAVARRO                  CA     90003541800
424B7475972B4B   CHRISTOPHER      TILLMAN                  CO     90013094759
424B7698A61963   MANUEL           GARCIA                   CA     90014096980
424B7819A5B53B   DOREEN           ARCHULETO                NM     35015948190
424B7AA912B87B   CHRIS            WIMMER                   ID     41080230091
424B8262872B43   ROXANA           PERLERA                  CO     33065622628
424B8442861963   JOSHUA           LUNA                     CA     90014754428
424B8897191569   JOHNNY           LUNA                     TX     90012268971
424B893A65B222   LATRESCA         GREEN                    KY     68078269306
424B944735B174   MARIA            JONES                    AR     23074234473
424B968A161967   VERONICA         ZENON                    CA     46023966801
424B971A58B185   ARIEL            NORIEGA                  UT     31004737105
424BB37964B271   JEFFREY          WILLIAMS                 NE     90014723796
424BB42825B58B   SHANNON          ONEAL-BROWN              NM     90013304282
424BB483861967   MICHELE          FITZGERALG               CA     90013124838
424BB512791569   TIMOTHY          BRAGG                    TX     90010275127
424BB97258B185   JULIE            PULSIPHER                UT     31007219725
425115A3461963   TIA              FUQUA                    CA     90000165034
42513135572B36   MARIA            ALVARADO GALLEGOS        CO     90011431355
4251316685B222   MIKE             JOHNSON                  KY     90015461668
425135A9A72B36   CHRISTINA        HILTON                   CO     90010105090
4251384144B271   MANDY            BLACKBURN                NE     90003578414
4251411A291873   ROBIN            HALL                     OK     90009561102
42514148A8B16B   BRYAN            SIMMONS                  UT     90008571480
425147A9891569   VERONICA         HERRERA                  TX     90012647098
4251483A38B165   DISTAD           STEVEN                   UT     31004788303
4251531865B222   LANISHA          BANNOM                   KY     90006553186
4251574392B87B   DANIEL           SHEPPERD                 ID     90001577439
425164A188B16B   PAUL             DOUGLAS                  UT     90003464018
42516845A51555   ASHCEON          KLINE                    IA     90013888450
42516AA785597B   ANGELIC          LIGTFOOT                 CA     90005100078
42517155A91873   APRIL            HARGIS                   OK     90001251550
4251751A68B16B   DAVID            LOPEZ                    UT     31003895106
4251757385B377   KEELER           BICKNELL                 OR     90007725738
4251771226195B   BRENT            GILLESPIE                CA     90006907122
4251855A191569   RODRIGUEZ CANO   GIL                      TX     90014815501
42519462A9185B   MISTY            HAMILTON                 OK     90013904620
42519624A47954   MARION           WARNER                   AR     25092846240
4251B73965B271   ANTHONY          GARDNER                  KY     90008847396
4251B83254B271   JENNIFER         RIOS                     NE     90014968325
4251BA98972B36   ANGELA           FUENTES                  CO     33018410989
4252147255B222   JOHN             MOORE                    KY     90015074725
4252152364B271   KRISHNA          RAI                      NE     90008695236
4252167635B222   PRINCE           GAYE                     KY     90013696763
425232A7641455   LYDIA            LOPEZ                    WI     90011822076
4252342145B53B   RACHEAL          GONZALES                 NM     90012634214
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4252355548B16B   MORGAN        BLATNICK                    UT     90012115554
42523832A2B27B   JOSE          REYES                       DC     90015178320
4252468884B271   TYLER         STEFANSKI                   NE     90012776888
4252523212B27B   MAYRA         BLANCO                      DC     81057662321
42525A5635B271   GARY          LEE                         KY     90010050563
4252617AA5B52B   JOSE          SERNA-GUTIERREZ             NM     36063881700
4252621975B58B   AMY           GALLEGOS                    NM     90004212197
4252628458B165   JOSE          CORONA                      UT     90014862845
42526587472B4B   RANDY         GOMEZ                       CO     33089995874
4252677615B597   FRED          CHARETTE                    NM     35040817761
4252772555597B   FRANK         JACOBO                      CA     90014537255
4252817195B53B   CORNELIA      NORTEY                      NM     90010191719
425282A3272B4B   DANIEL        HOSKER                      CO     90010292032
4252B145772B4B   ALEXIS        ROMERO                      CO     90014811457
4252B338861963   BARRY         TOWNSEND                    CA     90012463388
4252B747872B43   TIM           DANIELS                     CO     90003047478
4252BA34372B43   TIM           DANIELS                     CO     90013030343
4253212A272B4B   MIGUEL        PICAZO                      CO     33007411202
4253336215B271   MICHAEL       PLIATT                      KY     90010323621
4253365A48B165   PHILLIP       GIBBONS                     UT     31085976504
42533692A55939   SARA          LYNN LEE                    CA     49094616920
42533883472B25   JAMIE         M CONNELL                   CO     90014508834
42533A5326182B   STEPHANY      DAVIS                       IL     90015370532
42534111A24B64   JUNE          GOODWYN                     DC     90013451110
4253431245B271   HELEN         PALMER                      KY     68051053124
4253438935B174   MARICELA      DIAZ                        AR     90013563893
4253457915B222   KANISHA       LOVE                        KY     90003405791
425355A2A5B597   ADRIANA       ANGEL-MAGANA                NM     90001685020
425357A345B53B   ARTHUR        ARCHELETTA                  NM     90013947034
42535A79355939   SUAAD         ALAWID                      CA     49077580793
425363A245B52B   ANTHONY       MARTINEZ                    NM     90011023024
425368A4472B36   CELENE        BARRAZA                     CO     90014808044
42536A2382B87B   TERRYN        BOVILLE                     ID     90010940238
42536A61961963   WANNETTA      DAVIS                       CA     46069500619
4253737985B52B   EVA           PONCE                       NM     90010023798
4253765472B87B   ENHANCED      RECONDITIONING              ID     90009656547
4253956A972B4B   ERIC          PHELAN                      CO     33002745609
425399AA151334   SHEILA        BUDNEK                      OH     90004489001
4253B97574B271   KENNETH       BAKER 2ND                   NE     27081479757
4253B98225599B   SUZANNA       MARTINEZ                    CA     90005009822
4254154526195B   LAURIE        DWILTITE                    CA     90012615452
4254168A72B27B   CYNTHIA       ATCHISON                    DC     90012566807
4254297335B53B   JOSE          GARCIA-MORENO               NM     90010199733
42542A39972B4B   EVANGELINA    BECERRA                     CO     90000980399
4254397A684322   DANIEL        BARRIOS                     SC     90013519706
425441A6A91873   SHANNON       ARNOLD                      OK     90013841060
42544372A41258   GAIL          FREEMAN                     PA     51089733720
425446A4861963   WASH          LAUANA                      CA     46060346048
42544747972B36   IRVING        URIBE                       CO     90012787479
4254487922B87B   ADAM          WESTRUM                     ID     90000678792
42544A61A55939   LUIS          JARAMILLO                   CA     49001580610
4254524AA91569   JAVIER        IPOLITO                     TX     90010712400
4254547882B27B   LYNETTE       ADKINSON-SMITH              DC     90014424788
4254573766B925   VICTOR        SANDERS                     DE     90015417376
42545A31451383   YOLANDA       WILLIAMS                    OH     66025340314
42545A53891569   GLORIA        MITCHELL                    TX     75059580538
4254631A85B53B   ANTHONY       SANDOVAL                    NM     35091423108
4254633958B165   DIANA         ALVARADO                    UT     31058933395
42547112872B4B   JOSE MANUEL   CLEMENTE                    CO     90010371128
4254824848B165   JAMES         NORTON                      UT     31062722484
425485A1671999   JEREMIAH      WHITE                       CO     90013305016
4254871395B53B   SAMUEL        HERNANDEZ                   NM     90013947139
4254B239A62B31   SUSAN         MANION                      KS     22015312390
4254B34A98B185   MILENE        MONTALVO                    UT     90010283409
4254B43733619B   MARIA         GREEN                       TX     73551664373
4255192265B58B   NORMA         GARZA                       NM     90015049226
4255336344B271   CHRISTINA     STOVER                      NE     90002303634
4255481A572B43   CHRIS         MBUGUA                      CO     33074798105
4255492434B271   MARIA         GOMEZ                       NE     27034229243
42554934572B4B   JUAN          PAIZ                        CO     33074389345
42555228472B36   CHALORA       BODY                        CO     33008002284
42556128A5B58B   YENISEY       ROCIO                       NM     90012431280
4255658A672B4B   STEVEN        IMHOF                       CO     90013015806
4255667AA5B174   GLORIA        SHELTON                     AR     90010256700
42557215676B64   ELIGIO        VALDEZ                      CA     90008742156
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4255774658B16B   JOSE          CANSTANEDA                  UT     90006147465
4255791812B27B   TEONNA        LOCKHART                    DC     90000459181
4255791972B27B   DOMINIQUE     WILLIAMS                    DC     90013839197
42557A3555597B   ALEJO         CALIHUA                     CA     90010030355
4255828145B52B   DIANA         SOTO                        NM     90001372814
4255841A45B58B   EMILIO        DOMINGUEZ                   NM     90013334104
42558A59591351   EMILIANO      ESPARZA                     KS     90002270595
42559815472B43   ARTURO        BONILLA                     CO     90002598154
42559874772B36   REBECCA       SAXON                       CO     90014908747
4256147354B271   BRITTNEY      DAVIS                       IA     90014224735
425631A5871999   STACY         MARTIN                      CO     90012231058
4256352588B165   STEVEN        SMITH                       UT     31091155258
4256389835B523   HOPIE         HUERTA                      NM     90004218983
4256393865B222   BETH          FIGUEROA                    KY     68097769386
425645A6A91569   GUILLERMO     PRIETO                      TX     90012945060
4256478785B551   JONATHAN      MOLINAR                     NM     90012347878
4256512788B125   JAN           ALLEN                       UT     31089541278
4256578145B58B   MARCOS        HERRERA                     NM     90012067814
425659A9241258   CLIFFORD      GREENE                      PA     90005529092
425664A9161967   ROSELYN       CRUZ                        CA     46077504091
42567114172B43   VERNON        HILL                        CO     33008281141
4256728112B27B   BERNARD       JACKSON                     DC     90005242811
42567492272B36   MARTINA       CHAVEZ                      CO     90012454922
42567A47272B35   BERENICE      ECHAVARRIA                  CO     90009460472
42567A66172B35   CHRISTOPHER   VALENCIA                    CO     90004100661
4256912785B52B   RIGOBERTO     ALFARO                      NM     36014381278
4256943A555939   ANTONIO       MENDEZ                      CA     49035304305
42569562972B43   DAMIAN        CLARK                       CO     90004085629
4256998187B362   JOSE          HERNANDEZ                   VA     90010779818
42569A3269152B   JOSE          TORRES                      TX     75058680326
4256B87985B52B   JENNIE        FIERRO                      NM     90014098798
4256B9AA151334   SHEILA        BUDNEK                      OH     90004489001
4257128325597B   JUAN          GUZMAN                      CA     90002182832
42571359572B36   AMERICA       ESPARZA                     CO     90000413595
4257211765B52B   HUMBERTO      MORENO                      NM     90013381176
4257231765B222   LEANDREA      JOHNS                       KY     68036233176
4257251325597B   MIGUEL        CORDOVA                     CA     90014895132
4257318175B53B   HARRISON      BEGAY                       NM     90015271817
4257455A88B16B   COREY         CHIDO                       UT     90013245508
4257458A361963   DAMIAN        VELASCO                     CA     90015195803
42575256A91869   KELLY         STOWE                       OK     90001222560
42575536272B4B   LUIS          ARROYO                      CO     90010405362
425783A4972B36   ANA           ARGUJO                      CO     90007713049
42579787A5B52B   HUGO          BALCORTA                    NM     36064967870
4257998955B53B   SHERI         CROXFORD                    NM     90012539895
4257B6A678B16B   JODI          STEFFENSEN                  UT     31001456067
4257B746A9152B   MARIA         LOPEZ                       TX     75008857460
4257B94564B979   VINCENT       JORDAN                      TX     90011169456
4258153595B53B   JUSTIN        HURST                       NM     90013965359
4258167194B271   BRET          HAUPTMAN                    IA     90013636719
4258167265B58B   TARASINA      WALLOWINGBULL               NM     35050616726
4258174176B275   DEBRA         ERICSON                     AZ     90014187417
42581918A5B58B   TARASINA      WALLOWINGBULL               NM     90013259180
425822A485B52B   ADONIAS       MENDEZ                      NM     90014682048
42582A1445597B   ERNNESTO      GUTIERREZ                   CA     49007240144
42582A87591351   MELVIN        AGUILAR                     KS     29018110875
4258316982B685   KEVIN         PERKINS                     WA     90015281698
4258356745B53B   RODRIGUEZ     DESIREE                     NM     90008035674
4258358625597B   HEYDY         BENITEZ                     CA     90001735862
4258416AA5B222   LUZ ESTELA    GONZALEZ                    KY     90007351600
42584424772B36   GILBERT       SANDOVAL                    CO     33027904247
4258469365B222   REBECCA       MCDANIEL                    KY     90014386936
42584A59372B4B   CESAR         QUEZADA                     CO     90008060593
4258526545B53B   ANTONIO       LUCERO                      NM     35015262654
425852A3291873   CHAMIKKA      SLOAN                       OK     90010482032
42585413172B36   MICHAEL       RICCI                       CO     33089934131
42585A5835597B   KRYSTIN       GAMINO                      CA     90005120583
4258649145B53B   DAYL          LARSEN                      NM     90011524914
4258679135B222   JESUS         FERIA                       KY     90012267913
425878A6A61963   JANETTE       CARILLO                     CA     90014628060
4258915A872B36   RACHEL        STUTT                       CO     33090291508
4258968A72B27B   CYNTHIA       ATCHISON                    DC     90012566807
4258998135B174   SIERRA        WELCH                       AR     90012789813
42589A9138B185   LANCE         WININGER                    UT     90005930913
4258B31635B58B   JOSEPH        BACA                        NM     90013533163
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4258B328691873   DAVID        CROSS                        OK     21054623286
4258B37918B16B   GUILLERMO    ROMERO                       UT     90003483791
4259175412B27B   ERIK         BOYD                         DC     81044927541
42591771172B43   YOSHVI       CELAYA ZAVALA                CO     90007227711
425919A2841258   KIMBERLY     MANGANARO                    PA     51047059028
42592626672B43   OTHONIER     GOMEZ                        CO     90004926266
4259299535B222   JAMAL        MILKI                        KY     90014559953
42592A8A18B165   CURTIES      ADY                          UT     31075210801
425934A2672B36   TIMOTHY      KELLEY                       CO     90012544026
4259365A761967   VANESSA      RIOS                         CA     46052036507
42593A7258B185   WENDY        SIFUENTES                    UT     31064030725
4259444475B222   ARIELL       ARIELL                       KY     90015534447
4259535A45B58B   DAVID        MOYA                         NM     90008973504
4259541375B53B   MARCO        ARROYO                       NM     90009194137
4259759795B254   JEFF         BOX                          KY     68047355979
4259812865B271   JENDRY       MOLINA                       KY     90015201286
4259813285B597   LEOPOLDO     OROZCO                       NM     35085641328
4259848A171999   NICICOL      SOTO                         CO     90013044801
4259932A85597B   NESTOR       GUERRERO                     CA     49027783208
42599762472B36   CAMELIA      DEEZ                         CO     90010157624
42599A7878B165   TAMI         SCHERWINSKI                  UT     90005180787
4259B18118B16B   JENNY        CLARK                        UT     90001521811
4259B2AA55B597   MARCELINO    LUCERO                       NM     90008532005
4259BA77991873   AKIA         WAGONER                      OK     90000540779
425B1148161967   DAVE         DELANEY                      CA     90013951481
425B1542491873   LORENA       SILVERIO                     OK     90003105424
425B2343191351   LYNNETTE     FOULK                        KS     29003663431
425B239AA55966   JOSE         LUIS YANEZ                   CA     90012043900
425B283575597B   MODESTA      REYES                        CA     49063848357
425B314AA5B53B   LEEANN       ROBINSON                     NM     90006161400
425B3495372B4B   ANITA        R CISNEROS                   CO     90013314953
425B3935371999   JOEL         CARPENTER                    CO     90009089353
425B41A9A72B4B   JAMES        BROWN                        CO     90000721090
425B41AA85B597   ASHLEY       SEITZ                        NM     35040911008
425B443639196B   LATIA        COFFIELD                     NC     90012324363
425B469774B52B   HAROLD       DEJEAR                       OK     90011466977
425B4A6275B58B   LARA         LAURA                        NM     90014210627
425B5657191351   NIKI         BEAL                         KS     29030396571
425B6581591873   PAUL         BROTHERTON                   OK     90010805815
425B6641884393   JESSICA      MOORE                        SC     90014486418
425B6733931497   ANN          MCLAUGHLIN                   MO     90006947339
425B684A461963   SANDRA       ZEIGLER                      CA     46070998404
425B74A9172B36   KEVIN        BELTON                       CO     33082354091
425B7596147954   RICHARD      STOUT                        AR     25076445961
425B75A575B271   YUSRA        HASHI                        KY     90012475057
425B7945361963   NICK         LOPEZ                        CA     90010359453
425B799995B58B   ANGELITA     SALAS                        NM     35003499999
425B82A435597B   GILDARDO     VARGAS                       CA     90010692043
425B9598391351   TABITHA      NORRIS                       KS     90013165983
425BB14565B271   BRUCE        DELRON                       KY     68006131456
425BB149761967   ANDREA       GRIFFIN                      CA     90011191497
425BB1A155B174   JAN          PARKER                       AR     90013331015
425BB482872B36   TEREZA       AGUILAR                      CO     33013594828
4261113232B87B   MATTHEW      COTTON                       ID     90014511323
4261134348B165   GLORIA       PRADO                        UT     90011063434
4261137918B16B   GUILLERMO    ROMERO                       UT     90003483791
42611583A91873   EDILZAR      CORONADO                     OK     90011995830
426116A834B271   DAVONCHE     SMITH                        NE     90015146083
4261187515B58B   UNEA         LOPEZ                        NM     35078678751
4261191868B16B   FRANCISCA    RIVAS DIMAS                  UT     90013599186
42611AA1361967   VENESSA      GONZALES                     CA     46092070013
4261261444B271   KEVIN        SMITH                        NE     90015146144
42614A35857127   OSCAR        BONILLA                      VA     81010260358
4261567575B174   ISRAEL       ORTIZ                        AR     90007326757
4261587A48B16B   LEVI         WILKS                        UT     90004328704
42615A8915B222   JUAN         WORDLOW                      KY     68006680891
4261625A95B174   FREDDIE      JOHNSON                      AR     23089062509
4261642A15B53B   DEANN        JONAS                        NM     90011664201
4261649A472B36   EDWARD       HARVEY                       CO     33027994904
4261675A755939   THERESA      SANDOVAL                     CA     90000857507
4261779295B53B   BLANCA       GUTIERREZ-VILLAREAL          NM     90004767929
426183A415B58B   DENNIS       GARCIA                       NM     90010873041
42618441A51334   MONIQUE      THOMAS                       OH     66002544410
4261857345B174   MARK         PARKER                       AR     90014905734
4261871158B165   CORY         MACKEY                       UT     90013167115
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426187A295B52B   JOANNA        ALVAREZ REYES               NM     36001097029
42618A3A98B166   MIKE          TROY                        UT     90005020309
4261937225B174   JERRI         BRADDIX                     AR     90008883722
42619533A61967   THOMAS        HITCHCOCK                   CA     90014405330
4261B42375B271   JASON         CLEMENS                     KY     90007884237
4261B597586453   FILADEL       ROSAS                       SC     90015355975
4261B624251334   JAMES         MAIDEN                      OH     66042416242
4261B647771999   EDIE          RODRIQUEZ                   CO     90000816477
4262129792B27B   LAKEISHA      HUBBARD                     DC     81016402979
4262175A891873   YESENIA       RODRIGUEZ                   OK     90009677508
4262222835B58B   LIZETH        CASTRO                      NM     90004242283
4262265495597B   CESAR         RAMIREZ                     CA     90004366549
4262328355B174   ANNETTE       HAMPTON                     AR     90000272835
42623A56155939   LISA          SILGUERO                    CA     49016410561
4262413745B526   ADRIANA       ESTRADA                     NM     35094231374
4262536828B16B   CHUCK         BERGSTROM                   UT     90012153682
4262582588B165   JONATHAN      MILLS                       UT     90008458258
42625894A72B43   SIERRA        ALCALA                      CO     90012868940
4262612195B58B   MARGARET      TORRES                      NM     90005331219
4262612842B87B   AMANDA        LAMOTHE                     ID     41057181284
4262647268B16B   KEVIN         MCARDLE                     UT     90011834726
426267A9572B43   CIRE          BROWN                       CO     90009347095
426279A827B463   ALEJANDRO     BONILLA                     NC     90008759082
4262817365B174   ELISHA        ROBINSON                    AR     23007141736
4262845835B52B   MARISSA       BACA                        NM     90012294583
4262858318B185   ROGELIO       SIERRA                      UT     31052455831
426287A5691351   MANUELA       MORALES                     KS     90012307056
4262921AA61963   ELIZABETH     WHITTINGTON                 CA     90013322100
426296A3A61963   ANN           WHITTINGTON                 CA     90008286030
42629A1692B27B   LATISSA       TATE                        DC     90014800169
426319A165B271   DENIEL        SHOW                        KY     90010319016
4263216732B921   TONY          ORTIZ                       CA     45076681673
4263235A85B174   LATASHA       BURKS                       AR     90010643508
4263266847B646   NICHOLE       BASKIN                      GA     90007356684
4263294495B53B   SHANNON       LEYVA                       NM     35040659449
42632A3838B185   TRISHA        BELL                        UT     31016350383
42633A7A34B543   PAM           SHORT                       OK     90007930703
42634528372B36   MALCOLM       WALKER                      CO     33086895283
4263464294B271   THERESA       MANGIAMELI                  NE     90007836429
4263481A371999   JOHN          BRIGHT                      CO     90013128103
4263584488B16B   KIM           SMITH                       UT     90013268448
42635993372B36   ERIKA         MAGDALENO-TORRES            CO     90012969933
426364A655B174   CHAD          JACKSON                     AR     23093504065
4263664775B271   KAYLYN RENE   KING                        KY     90006276477
4263695A771999   KEVIN         WASHINGTON                  CO     38026099507
4263856315B53B   RAY           MAESTAS                     NM     90014715631
4263995768B16B   SCOTT         BUTTARS                     UT     90011179576
4263B15995B174   CAYLUM        WILSON                      AR     90008131599
4263B778761967   NELLY         CANEDO                      CA     90013047787
4263BA5885B53B   SARA          CAMPOS                      NM     35073370588
4263BA61257148   FATIMA        LOPEZ                       VA     90014860612
4264145375B58B   THOMAS        MORROW                      NM     35080324537
4264154A972B36   ALEXANDRE     VINCENT                     CO     90011895409
426417AA791569   JONATHAN      MARTINEZ                    TX     90011477007
42641A65591873   FOUSTO        RANGEL                      OK     90013670655
42642358772B36   MAX           GARCIA                      CO     90011463587
4264238A261967   LISA          MOORE                       CA     90013953802
42643153172B43   HAYLEY        MONROY                      CO     90001441531
4264511448B16B   DONNA         ELLIOTT                     UT     90013971144
42645A1334B546   STELLA        THIERRY                     OK     90011450133
42645A16172B4B   ALEJANDRO     GUZMAN                      CO     33053620161
4264842865B174   NATHAN        WILMOTH                     AR     90014534286
4264882365597B   ADRIAN        ORTIZ-ESCOBAR               CA     90012218236
4264883995B271   JOHN          LOUCKS                      KY     68088108399
4264898875B222   PATRICIA      VAZQUEZ                     KY     90014689887
426489A115B52B   JOSEFINA      BARRAZA NAJERA              NM     90012379011
4264911448B16B   DONNA         ELLIOTT                     UT     90013971144
4264994695B222   NICOLE        HARRISON                    KY     90011339469
42649A35961945   DAVID         HERNANDEZ                   CA     90013530359
42649A8785B174   MOSOLENE      HANFT                       AR     23081540878
4264B1A5A8B16B   MARIA         OLVERA                      UT     90013971050
4264B34395B58B   MARI          ALEXANDER                   NM     90007473439
4264B624A8B165   ISIDRO        MIRAMONTES                  UT     31090976240
4264B84275B271   RHODA         HAWKINS                     KY     90007648427
4264B924191873   TIMOTHY       RIGSBY                      OK     21010949241
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4265242584B271   KENDRA       LOWERY                       NE     27020894258
426526A8172B36   LAURA        SHAPIRO                      CO     33032116081
4265289A25B58B   SHAUNA       PERALTA                      NM     90006648902
4265334668B165   CAROL ANN    LUNDEEN                      UT     90013003466
42653863A71999   TRACY        MADRID                       CO     90007388630
4265393A891351   KARLA        HERNANDEZ                    MO     29095739308
42653A5175B52B   JAIME        PENA                         NM     90012870517
4265444332B27B   JANAY        COPELAND                     DC     90014554433
42654861372B36   RODOLFO      HERRERA                      CO     33042558613
426557AA57B824   MARA         FLORES-APAEZ                 IL     20516167005
4265645872B27B   WILLIAM      CLARK                        DC     90009204587
4265698A761963   OLGA         FLORES                       CA     90010489807
42657426572B43   DEAN         WATTERS                      CO     90014884265
4265898195B52B   ALEJANDRO    GOMEZ                        NM     90011329819
42658AA715B222   DASMIN       SHAMELL                      KY     90014360071
4265995682B27B   JULISSA      DE LEON                      VA     90008079568
4265B485161967   ZENEN        PONCIANO                     CA     90010864851
4265B782691351   MANUELA      JAIMES                       KS     90008057826
4265B791272B36   MARIA        ROMAN                        CO     33025077912
4265BA6354B271   VICKY        CARLSON                      IA     27014300635
42662158A7B386   DIONETH      PARLAZA                      VA     90000801580
42662163A2B87B   LUKE         HALLS                        ID     90011571630
4266249462B27B   LENORA       HARDY                        DC     90014724946
426633A7891351   HEATHER      STAPLES                      KS     90006153078
426633A7A55939   ESTHER       ANGUIANO                     CA     49076763070
4266356532B87B   KYM          AVRIETT                      ID     41026095653
42663767A5B53B   KENDRA       BRADY                        NM     35053897670
4266385385B222   SHON         TALBOTT                      KY     90007468538
426639A145B52B   MICHELLE     LUCERO                       NM     90011119014
42663A15161963   SILVIA       MARTINEZ                     CA     46051460151
42664727772B36   AMANDA       DAVIS                        CO     90014367277
42664A2645597B   MARIA        JARAMILLO                    CA     90015600264
4266549672B87B   CHAUNTEL     ROLLINS                      ID     41079104967
42665523A8B16B   JORGE        PÉREZ                        UT     31081615230
426656A5851334   SANDRA       LONG                         OH     90012916058
4266613668B16B   CALVIN       CARLSON                      UT     90013971366
42666383A2B87B   LOPEZ        DIANA                        ID     41064033830
42666A52691873   REGINA       GEETER                       OK     90012370526
4266745175B174   INGRAM       MURPHY                       AR     90014654517
42667666A5B222   SAMUEL       ADAMS                        KY     90015276660
4266784645B58B   VICKIE       HERNANDEZ                    NM     35057928464
42667A84A5B523   GLORIA       BUSTILLOS                    NM     35057230840
42668432A61967   ARENDA       WILSON                       CA     90007904320
426684A155B52B   EDDIE        MEDRANO                      NM     90013814015
4266872545B222   LISA         PARSONS                      KY     90014767254
42668A58161963   MICHAEL      DELAGRAVE                    CA     46016750581
4266927592B27B   LAKENDRA     NELSON                       DC     90012862759
4266B317241258   JESSICA      HEILMAN                      PA     51015823172
4266B4A265B174   KASHRAYLA    FOLEY                        AR     90014914026
4266B673A5597B   ROBERT       MONTALOV                     CA     90014876730
426713A5A91569   JOSE         GONZALES                     TX     90009763050
4267165A35B52B   JESSICA H    HORTON                       NM     90014876503
4267216135B174   ANGLE        STANLEY                      AR     23086861613
42673432A61967   ARENDA       WILSON                       CA     90007904320
426746A2A5B523   MICHAEL      VARGAS                       NM     90003336020
42675879A91569   IRENE        MITCHEL                      TX     90012368790
42676AAA951336   LAURA        SIGUENZA                     OH     90014210009
4267841832B87B   DAVID        GIOVANELLI SR.               ID     41096734183
42678A55461967   FERNANDO     CASTRO                       CA     90014000554
42678A5555B271   LAMAR        BRUNSON                      KY     90013930555
4267982A75B53B   ADRIANA      REANO                        NM     90013948207
4267989885597B   VANESSA      ZAVALA                       CA     90013058988
42679977772B4B   MATT         WALL                         CO     90012369777
4267B1A778B16B   BRIAN        PARKER                       UT     90012951077
4267B3A5451334   DEONTE       WILLIAMS                     OH     90014483054
4267B45355B58B   NOEMI        GARCIA                       NM     90010094535
4267B45795B52B   SILVIA       DIAZ                         NM     90010434579
4267B49A85B53B   DARRYL       GEORGE                       NM     90014554908
4267B98A25B174   ANTHONY      FARISA                       AR     90013539802
42681122A91873   JOE          COOPER                       OK     90013841220
4268153955B222   BRITTNEY     CAUDILL                      KY     90015435395
42682286224B7B   LUIS         TREJO                        VA     90006292862
4268243AA91569   MARIA        RODRIGUEZ                    NM     75003384300
4268295995B523   MATILDE      CASILLAS-GARCIA              NM     35033189599
42683192A91873   ADOLFO       DAVILA                       OK     90015001920
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4268395795B52B   JOSEPH          MARTINEZ                  NM     90010899579
42683A47671999   ANASTASHIA      BUENO                     CO     90012600476
4268581A55B53B   BIANCA          CANO                      NM     90010108105
4268614488B185   SUSANA          BERNAL                    UT     31016101448
426861AA961967   ZENA            ELLA                      CA     90006951009
42686684A72B36   CELINA          MIPRIETO                  CO     90012916840
4268677A172B4B   BRENDA          JACODO                    CO     33054017701
4268756647B646   NATHANIEL       GOLDWIRE                  GA     15097895664
42687852772B43   ELI             AGUAYO                    CO     90007808527
42687AA1761967   CHRISTOPHER     OLIVER                    CA     90013970017
4268851A28B185   JUSTIN          ABBOTT                    UT     31046005102
426888A5691945   SHANIQUIA       DEGRAFFENREIDT            NC     90012398056
42689578172B43   ROSS            QUINTANA                  CO     90010465781
4268969925B58B   ASHLEY          GARZA                     NM     90014886992
42689AA2755939   RONALD          RUBY                      CA     49080240027
4268B44478B895   CHARLES         ODOM                      HI     90014114447
4268B49742B27B   VINCENT         DIXON                     DC     90014724974
4268B966691873   AMBERLY         ROGERS                    OK     21005499666
42691319A5597B   ERVEY           MANCILLAS                 CA     90009593190
42691763972B36   THOMAS          CLARK                     CO     33006707639
42691769A91351   BRIAN           CARMODY                   KS     90009297690
4269226935597B   DARRIN          THOMPSON                  CA     90011642693
42692A65272B4B   VICTORIA        QUINTAVALLE               CO     90012240652
42693514872B36   REBECCA         POPE                      CO     90011685148
42693719A91351   STEPHANIE       BUTLER                    KS     90012527190
4269391A951334   TAMMI           KELLY                     OH     90009769109
4269431A68B165   ENRIQUE         CORONA                    UT     90013893106
42694856672B36   RUBEN           PEREZ                     CO     33059688566
4269511725B53B   PAUL            MALTOS                    NM     90013381172
42695323A72B4B   UNKNOWN         STEVEN E WILLIAMS         CO     33013453230
426956A518B165   LOVELY          TUAKALAU                  UT     90014726051
426965A8173264   CAMILA          OLIVOS                    NJ     90015445081
42696A78A5B174   KEISHA          NEELY                     AR     90010980780
4269722965B53B   RAMON           PACHECO                   NM     35073792296
4269744144B547   JOHN            WELCH                     OK     90010224414
4269847765B271   KENYOTA         COLEMAN                   KY     90003114776
4269B31318B16B   MARIA           GARCIA                    UT     90008573131
4269B32954B271   MICHELLE        HAUGER                    NE     90014153295
4269B662471999   ROBIN           VAUGHN                    CO     90014096624
4269B6A2A5B523   MICHAEL         VARGAS                    NM     90003336020
426B1A12785968   BRANDY          BECKSTED                  KY     90014740127
426B2147272B36   YUREN           OLIVAS                    CO     33087441472
426B267324B271   ANGELA          COLLINS                   IA     27060806732
426B321585B222   D               FIELDS                    KY     90015192158
426B3316872B43   DIEGO           CARMONA                   CO     90012313168
426B3364972B36   MARCO           MUNETON                   CO     90014993649
426B3368424B7B   ALEXIS          WILLIAMS                  DC     81004573684
426B3398451334   REBECCA         HERNANDEZ                 OH     66093193984
426B4372471999   TRISH           MONTOYA                   CO     90007583724
426B4987172B43   JIM             GIBSON                    CO     33042829871
426B517315B58B   LUIS DAVID      PEREA                     NM     90015121731
426B73AA691873   JOEY            JACKSON                   OK     21014753006
426B777A471999   JUAN            SANCHEZ                   CO     38008067704
426B794A15597B   BILL            ROCHA                     CA     49004619401
426B7A33861999   MARIA           BORBONIO                  CA     46047880338
426B841675B174   GREGORIO        GONZALEZ                  AR     90005484167
426B8584991873   ZANE            TRISLER                   OK     21026295849
426B867618B165   NANCY           BETZING                   UT     31089826761
426B8695151383   MELISSA         COMBS                     OH     66039356951
426B9148661963   LETICIA         ARMENTA                   CA     46077341486
426B947825B58B   NAYELI DEVORA   BARRON                    NM     90007044782
426B986134B271   COAUDIE         LAIZURE                   NE     27092398613
426BB33835B174   RACHEL          MONROE                    AR     90014453383
426BB36537B463   JOHN            IAFRATE                   NC     90001553653
426BB42565B53B   PATRICIA        LOPEZ                     NM     90013694256
426BB68A791569   LOUIS`          THOMAS                    TX     75003786807
426BB928891873   MARISA          SAMUEL                    OK     90001689288
42711477172B4B   MICKEY          MARTINEZ                  CO     33045454771
427116A155B52B   JUAN            PENA-VEGA                 NM     36057986015
4271229A691569   LUZ             MOLINA                    TX     75061082906
4271252825B58B   FABIAN          HARTNELL                  NM     90004225282
4271253588B165   BEVERLY         JORGENSEN                 UT     90015165358
4271264615B523   ELEANOR         ARCHIBEQUE                NM     35049826461
4271269235B597   CHRISTINA       HIGGINS                   NM     90013746923
4271276195B174   ANDREW          LORD                      AR     23091817619
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42712A9885597B   CHERIE       CRUZ                         CA     90003920988
4271364A951354   KENDRA       JONES                        OH     90010666409
4271437252B87B   AYRIANNA     STAR                         ID     90014743725
4271455692B828   SHARI        WILSON                       ID     90009675569
427149A325597B   RONALD       NETTLES                      CA     90001299032
42715581A5B53B   ANGEL        JARAMILLO                    NM     90013955810
4271753455B58B   BENITA       GARCIA                       NM     90013825345
427176A4972B36   GREG         KAZMIERSKI                   CO     90010036049
42717AA2661963   ERIC         GRANT                        CA     90001770026
42718814372B47   THOMAS       ACCARDI                      CO     90013148143
4271881555B52B   EVER ARMAN   LEMUS                        NM     36066728155
4271894878B185   JEANNIE      YEITER                       UT     31088309487
42719687972B43   KARINA       LUCERO                       CO     90010666879
42719A5A372B4B   FRANK        MAESTAS                      CO     33041880503
42719AAA555927   LETICIA      LOPEZ                        CA     90010060005
4271B125672B36   LINDA        PADILLA                      CO     33034201256
4272121395B174   DNESHA       ELLIS                        AR     90012722139
427214A6371999   AMANDA       MONTOYA                      CO     90003594063
42721927172B43   ALADIA       LEDKINS                      CO     33072839271
4272246895B174   TYRONE       ALLISON                      AR     90011174689
4272259489126B   JESSICA      HODGES                       GA     90012035948
42722AA1451348   IRA          GANSLER                      KY     90012100014
42723A19361967   LONELL       BUTLER                       CA     90013970193
4272449132B879   ARLETHA      ROGERS                       ID     90009984913
4272546A441258   RHONDA       DAVID                        PA     90010574604
427254A3672B4B   NORMA        MENDEZ                       CO     90013774036
42725571572B43   MARISSA      ESPINOSA                     CO     33085265715
4272733685B222   IDOLQUIS     RODRIGUZ                     KY     90006963368
42727491272B43   MARQUS       DANDRIDGE                    CO     90012334912
4272841765B52B   KELLY        BYNON                        NM     90011454176
42728477A9373B   ROBERT       HYLAND                       OH     90011814770
42728A3685B52B   STIEVERAE    BACA                         NM     90004840368
42728A58471999   NATHAN       HOPE                         CO     90013760584
4272911575B174   HERMINIA     ORTIZ                        AR     23059851157
427295AA561963   ESPIRIDION   ORPILLA                      CA     90014425005
4272B15394B271   THERESA      LOVE                         NE     27038401539
4272B466272B33   JOSE         CASILLAS                     CO     33004494662
4272B46982B27B   TINA         PAIGE                        DC     81016114698
4272B64615B523   ELEANOR      ARCHIBEQUE                   NM     35049826461
4272B8A158B185   JAIRO        JUAREZ                       UT     90012238015
42731692472B4B   JENNIFER     TUCSON                       CO     90011146924
4273176335B52B   MITCHELL     MERLE                        NM     90006927633
4273277395B523   JOYCE        GARZA                        NM     90003337739
42732A21A91569   CLAUDIA      MENDEZ                       TX     90014830210
4273353554B271   LASHUNDA     BLACK                        NE     90008425355
42733866A91351   RAUL         PAREDES                      KS     90012438660
42733A9418B165   RICK         FOX                          UT     90012180941
4273439722B27B   ALONZO       LONG                         DC     90014113972
4273545675B58B   HUGO         CORRAL                       NM     35085264567
4273626515597B   VINCENT      GOMEZ                        CA     90014632651
4273629344B271   MARIA        CARRANZA                     NE     27083942934
42736859672B43   LINCE        PEREZ                        CO     90012928596
4273987345B58B   OLGA         SANTILLAN                    NM     35023938734
4273989135597B   ANGELICA     RAMOS                        CA     90010368913
4273B48A45B174   CANDIE       BEATTY                       AR     90003204804
4273B567691569   NEFERTITI    OJEDA DE ENRIQUEZ            TX     90015115676
4273B664891873   TOMMY        ANDERSON                     OK     90010086648
427426A4A4B271   ELIZABETH    MARTINEZ                     NE     90013456040
4274274945B52B   CANO         JOSE                         NM     90011717494
4274286255B52B   EDISON       BLANCO                       NM     36084508625
42742899A71999   DOMINIC      DIAZ                         CO     90004358990
42743117A61963   VICKI        CHARM                        CA     90010421170
4274356A38B16B   ALEX         TAYLOR                       UT     90013065603
4274362235B58B   CHRISTINA    QUIROZ                       NM     35001916223
4274378182B27B   JOYCE        DICKENS                      DC     90005607818
427438A5A5B53B   STEPHEN      SLUDER                       NM     90013988050
4274414685597B   JESUS        LOPEZ                        CA     49075511468
42744241A4B583   ANDREA       STAMPUL                      OK     90007672410
427443A585B174   ISIDRO       HERNANDEZ                    AR     90011643058
4274458A15B597   EVELYN       VENTURA                      NM     90005735801
42745647A97124   RACHELLE     HOWARD                       OR     90005796470
4274675A15597B   VIRGINIA     FLORES                       CA     49095227501
4274742865B52B   MIRNA        VALERIO                      NM     90013234286
4274878983B356   DEMBA        SACKO                        CO     33015297898
4274946125B52B   NAOMI        JAMES                        NM     36083934612
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42749631172B36   LAWRENCE     SOUTHALL                     CO     33055406311
4274B126161963   JOSE         RODRIGUEZ                    CA     90011011261
4274B1A485B52B   OLGA         RODRIGUEZ                    NM     90015111048
4274B51A461967   ERIKA        MURILLO                      CA     90013955104
4274B659661976   ALICIA       BLACKMAN                     CA     46015046596
4275119195B52B   JORDAN       JAQUEZ                       NM     90010311919
427513AA391351   ELVIRA       SIMPSON                      KS     29072773003
4275247285B597   SHAWNTAY     WIGGINS                      NM     35097904728
4275267788B165   REEDER       KIMBERLY JO                  UT     90007416778
42752693272B43   MARIA        MENJIUAR                     CO     90013966932
427527A275B58B   IVA          MEYER                        NM     90009427027
4275328385B174   JASMIN       HARRIS                       AR     90012082838
4275343598B16B   MACKAY       JOHN                         UT     90008574359
42753546A5B53B   MARINA       ARREEOLA                     NM     90014825460
42753A54991569   MELISSA      RODRIGUEZ                    TX     90007840549
4275442885B52B   WILMER       ALVARADO                     NM     90012884288
42754773A93768   BRYAN        MCCOWANE                     OH     90012527730
42755269272B4B   JASMINE      ALSARDI                      CO     90011002692
42755553A91569   JUAN         PRIETO                       TX     75019055530
4275559375B53B   KIMBERLEY    TODD                         NM     90012545937
4275577825B523   LINA         JAMES                        NM     35085497782
42755A2658B185   RILEY        BIGELOW                      UT     31016140265
42756274476B21   DANIEL       DENNIS                       CA     90007142744
427562A185597B   BRIAN        DIKEY                        CA     90005462018
4275636148B16B   APRIL        RYNOLDS                      UT     90012893614
4275669755B52B   EMILIO       MORALES-TOMAS                NM     36058146975
427568A6961967   VERONICA     DIEGO                        CA     90011638069
4275695432B27B   RAVEN        THOMAS                       DC     90011189543
4275715735B174   FREDA        BAKER                        AR     90014711573
4275753715B52B   ADRIANA      VELETA                       NM     36053685371
4275962A671999   STACEY       MANNING                      CO     90007616206
42759A5425B58B   MELINDA      VALDEZ                       NM     90014830542
4275B4A8472B36   MICHELLE     WOOD                         CO     33032124084
4275B87535B53B   HILARY       BACA                         NM     90013948753
4275B8AA85B174   BRITTNEY     GUNNELLS                     AR     90014778008
427611AA391569   LETICIA      HOLGUIN                      TX     90011291003
42761271472B4B   LIDIA        MARTINEZ                     CO     90008192714
4276224A58B16B   HECTOR       HERNANDEZ                    UT     90013972405
4276271365B222   JIMMY        JACKSON                      KY     90014777136
42762815A72B36   JAMIE        HENRY                        CO     90014668150
42763767224B7B   LATASHA      JONES                        DC     81007797672
4276377165B52B   MARIA        TAVAREZ ORNELAS              NM     90014107716
4276389218B165   DAN          CONLEY                       UT     31084928921
42764252A8B185   VANESSA      LOWNDES                      UT     90002012520
4276446445B58B   MICHAEL      LUCERO                       NM     35066774644
42765A13A72B43   MARIA        MUNOZ                        CO     90011470130
42767521A61967   REINIER      BRENES                       CA     90013955210
4276871415B52B   LUPE         MARQUEZ                      NM     36043117141
427696A967B497   KOLITA       WILLIAMS                     NC     90007466096
42769A2A25B271   SHAWN        FOREMAN                      KY     68042720202
42771474A93794   JOSE         ORTIZ                        OH     66049264740
4277177915B222   TONY         STILLWELL                    KY     90004347791
4277196618B165   SHELLIE      BARTON                       UT     90015129661
4277277A65B271   MEGAN        WILLIAMS                     KY     90014117706
42772782172B36   MARK         LAURIE                       CO     33048647821
42772953A62B31   MADELINE     BURNS                        KS     90008159530
42772A6787B394   PAUL         AZUMAH                       VA     90001480678
42773A4855B52B   SABINA       PENA LUJAN                   NM     36096090485
4277435735B53B   LULU         VALENCIA                     NM     35064343573
42774415172B4B   ALYSSA       VIPOND                       CO     33007864151
42774756A5597B   JUAN         PINEDA                       CA     90007417560
42774793A91569   ROBERTO      ORTEGA                       TX     90012357930
4277485244B592   NOEL         MIRELES                      OK     90011228524
4277539942B27B   DIAMOND      MITCHELL                     DC     90014923994
4277572655B52B   DAVID        TAPIA                        NM     36088797265
42776423A5B35B   JUDY         FISHER                       OR     44547034230
42776884472B47   ANTHONY      SAMPLE                       CO     90010508844
4277749422B27B   TONY         MORRIS                       DC     90013254942
427774A7991569   ANDREA       MATAMOROS                    TX     90009354079
42777A9A75B174   MELVIN       HARDING                      AR     90008460907
42778546572B43   RUTH         WHITE                        CO     33048725465
4277854A961967   CRUZ         TOMAS MONTEJO                CA     90013955409
4277887975B53B   ANGELITA     CARDENAS                     NM     90013948797
4277894925B597   MARIA        GARCIA                       NM     90004609492
42778A5535B174   SHIRLEY      BLAKLEY                      AR     90015040553
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427791A785B222   BOBBY        JONES                        KY     68090281078
4277985758B165   DIANA        MELO                         UT     90014428575
4277B159991569   SERGIO       JALIL                        TX     75088161599
4277B9A1951334   FRANCIS      LOPEZ                        OH     90007339019
42781283A5B523   DORINA       ORTIZ                        NM     90004272830
42781958A72B4B   SHARAE       HOBLEY                       CO     90011999580
42782289872B36   BRIANN       BANDIERA                     CO     90009762898
42782861172B36   SANDRA       EDWARDS                      CO     90014088611
4278341625B58B   ALBERTO      SILVA-LUA                    NM     90010774162
4278412995B271   TANYA        SNELLEN                      KY     90005841299
4278444A65B222   CHRISTINA    JOHNSON                      KY     90014224406
4278474985B52B   FLOR         DIAZ                         NM     36003437498
42784A92572B43   ROVERTO      RASCON                       CO     33046950925
4278525538B16B   ANGIE        NIELSEN                      UT     90000232553
4278664165B271   SHANE        BOWLES                       KY     90014506416
4278699177B347   SANTOS       SALMERON                     VA     81064439917
42786A5954B271   SHANE L      GRAHAM                       NE     90015000595
4278716995597B   AUDREY       ROSALES                      CA     90013311699
4278798248B165   TONY         AMIJO                        UT     90007609824
42788A5115B52B   SALMA        HUERTA                       NM     36045480511
42788AA5761967   TODD         FAIRRLEIGH                   CA     90012910057
4278969328B16B   GABRIELA     BASTIDAS                     UT     31002476932
42789893372B43   BETHANY      MUNOZ                        CO     90007998933
427898A6A5597B   ROSE         WILLIAMSON                   CA     90009238060
42789A62A5B174   SHACARA      LEWIS                        AR     90015170620
42789A9555B52B   GLENIN       SABILLON                     NM     90013220955
4278B24578B16B   BEATRIZ      RODRIGUEZ                    UT     90013972457
4278B694751334   KEVIN        MASON                        OH     90014906947
4278B71A861963   MARIA        ELVESTER                     CA     90003987108
4278B92992B87B   LAUCHARA     HUMBIRD                      ID     90003209299
427918A7441241   ROBYN        DIETERLE                     PA     90005308074
42792429A61963   MANUELRENE   AREVALO                      CA     46011654290
427927A845B52B   AZUBITH      VILA                         NM     90012177084
4279287AA4B271   THOMAS       KIMBERLY                     NE     90005118700
4279355968B16B   JOEY         DAVIDSON                     UT     90013015596
4279497322B27B   VINCENT      TYREE                        DC     81013679732
42794A55472B36   JOHN         CARTER                       CO     90007840554
4279528A172B43   REFUGIO      VILLANUEVA                   CO     33094422801
4279546672B961   CARMEN       ROJO                         CA     90015004667
4279546675597B   MARIBEL      MATA                         CA     49003994667
42795468276B48   LUIS         GUZMAN                       CA     90011834682
4279568815B222   JELMER       VASQUEZ                      KY     68054306881
4279626665B231   BRIONCA      GILL                         KY     90008392666
42796288172B36   STEVE        SANCHEZ                      CO     33042982881
4279715928B16B   WHITTNEY     SMITH                        UT     90006681592
4279743148B165   MIKEY        MONTANA                      UT     90006984314
4279812A933694   DOUGE        CALINS                       NC     90005561209
4279859975B52B   ERICA        RIVERAS                      NM     90014795997
427988AA891569   SALVADOR     CEDENO                       TX     90012108008
4279933785B174   KHELLI       GAINES                       AR     90010963378
42799A39591351   JOSE         MONROY                       KS     90015280395
4279B63645B271   MARIV        CALIMANO                     KY     90011386364
4279B819A72B4B   ALBERTO      DURAN                        CO     33085238190
4279B866891569   VICTOR       APODACA                      TX     90007718668
427B1114961967   KEVIN        ESTRADA                      CA     90011811149
427B14A9261963   VICTOR       AGUILAR                      CA     46064164092
427B27A285B53B   ADRIANA      MORILLO                      NM     90015007028
427B2A17A91569   ROBERT       GUTIERREZ                    TX     75014520170
427B3455172B36   FRANCISCO    PEDROZA                      CO     90013624551
427B3896572B36   CRYSTAL      PEREZ                        CO     90015188965
427B398465B52B   ANTHONY      FERNANDEZ                    NM     36016299846
427B3A72472B4B   LORI         SOKOLIK                      CO     33008010724
427B3AA9793768   ALBERT       BRIGHT III                   OH     64563850097
427B4458591569   CRISTINA     LOPEZ                        TX     75042564585
427B4714471924   SHAWNA       HAYWOOD                      CO     90010557144
427B583345B53B   MANUEL       MARQUEZ                      NM     35091438334
427B5A8342B27B   GERALD       LONG                         DC     90013890834
427B6335191873   LESILE       CROWE                        OK     21087683351
427B6AA6A5B174   LAKEITHIA    WILEY                        AR     23078330060
427B739885B58B   PAULA        MARQUEZ                      NM     90014073988
427B7477291569   MATEO        HERNANDEZ COSTILLA           TX     90015034772
427B7733555939   RUTH         ALAS                         CA     90010627335
427B782A75B53B   ADRIANA      REANO                        NM     90013948207
427B8569591873   CHANDRA      SICARDO                      OK     90007965695
427B8787955927   ROGER        BRANZUELA                    CA     49074497879
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427B977815B274   RICHARD      DECKER                       KY     68095467781
427BB44A55B174   MELANIE      GILREATH                     AR     23090524405
427BB454255939   TATIYANNA    VIDRIO                       CA     49017594542
427BB612251359   CRAIG        RUDD                         OH     66021916122
427BB68615B271   ERIC         HYDE                         KY     68050566861
427BB861272B43   JENNIFER     ECHEVERRIA                   CO     33052368612
427BB98255B222   TONIA        KENNEDY                      KY     90014519825
4281126142B27B   JANAY        WRIGHT                       DC     90010712614
4281131A22B87B   DEAN         SMITH                        ID     90010573102
4281166355B52B   MAURO        PEREZ                        NM     36077976635
428121A525597B   JOSE LUIS    PEREZ                        CA     90014911052
4281231615B52B   MARIA        AGUILAR AVALTIERRA           NM     36058733161
42812688172B36   GLORIA       RAMIREZ                      CO     90012916881
42812954A8B165   BREIANNA     WOLFGRAMM                    UT     90008979540
4281295A46198B   KENDAL       DAVIS                        CA     90000859504
4281299395B523   LETICIA      ORTIZ                        NM     35083989939
42812A9325B58B   HENRY        GONZALES                     NM     35053080932
42813676A8B165   JULIE        ULRICH                       UT     90008676760
4281495725B222   CINDY        SWEENEY                      KY     68000989572
42815A53271999   BRIANNA      GONZALES                     CO     90014370532
4281619A75B222   MICHELLE     BROWN                        KY     90012151907
428165A5561967   JULIUS       JOHNSON                      CA     90013125055
4281662688B185   HECTOR       CHAVEZ                       UT     90004316268
4281695645B271   CHRISTINE    BEATTY                       KY     90012719564
42816A9725597B   LISA         CARRISALEZ                   CA     90010770972
42818835A91873   SARA         BASFORD                      OK     90003338350
4281952415B222   ADREAN       KENDRICK                     KY     90014635241
42819624A5B52B   SONIA        PEREZ-LOPEZ                  NM     90012626240
4281982755B52B   LETICIA      PEREZ                        NM     36095328275
4281994A65B53B   TONY         ALTAMIRANO                   NM     35068999406
42819A2495597B   JENNIFER     SINOHUI                      CA     90011500249
42819A53271999   KENDRA       SOSA                         CO     90012570532
4281B16245597B   SERGIO       GARCIA                       CA     49088091624
4281B28925B53B   JULIO        AVILA                        NM     90010402892
4281B7A695B174   ANTONIO      WHITE                        AR     90015307069
4281B822272B36   MAGDALENA    ULIBARRI                     CO     90012428222
42821348472B43   RODRIGO      MENDOZA                      CO     90014853484
42821A95951325   LILIANA      REYES                        OH     90003150959
4282226495597B   LUISA        ROSAS                        CA     49068362649
42822647A8B16B   JOSE         MOYA                         UT     31081206470
4282371115597B   LIDIA        VEGA                         CA     49027947111
42824157A61963   EDDIE        KIM                          CA     46082231570
4282459A593768   ERIC         ELLINGTON                    OH     64521915905
4282466155B53B   ERIALETH     OBANDO                       NM     90006186615
428249AA961967   FLORA        CABRERA                      CA     46023229009
42825A84872B36   CEPHUS       BEAU                         CO     90012230848
4282668193B356   GABY         CAICEDO                      CO     90007946819
4282675515B274   ADRIAN       LANIER                       KY     90010707551
4282738455B523   CARLOS       GONZALEZ                     NM     90004273845
4282835968B16B   DEYOUNG      SMART MOBILE                 UT     90013913596
4282998714B271   ROBERT       HUSKINS                      NE     27092249871
4282B11545B271   HIRAM        GONZALEZ                     KY     90000741154
4282B289491873   CHRIS        COWELL                       OK     90013622894
4282B638272B43   MAURICIO     PEREZ-BADILLO                CO     33088636382
4282B66A772B36   KAREN        DELLINGER                    CO     33034556607
4282B765472B4B   ROGER        RANDOLPH                     CO     33016077654
4283144755B53B   ARMENDARIZ   THOMAS                       NM     90008184475
4283169A391351   MOHAMMED     DAIFALLAH                    MO     90012516903
4283184458B185   VILLARREAL   IRIS                         UT     90004248445
4283185962B27B   RONALD       KNIGHT                       DC     90014798596
4283228975B58B   FRED         ARMIJO                       NM     90013002897
4283418367B66B   TINESHA      MCGHEE                       GA     90012651836
428351A995B58B   HANNAH       VIGIL                        NM     90014371099
428352A625B52B   LEANNA       HOLLAND                      NM     90011072062
42835832972B43   CLAUDIA      PINEDA                       CO     33096798329
4283631778B165   JULIE        SARTORI                      UT     90013263177
4283676645B271   KEITH        MARTIN                       KY     68076207664
42837668A2B27B   DINORA       MARTINEZ                     DC     81078416680
4283791555B523   ALEX         GRANDOS                      NM     90002879155
4283825488B165   CODY         VURIK                        UT     90014242548
4283984645B52B   CLAUDIA      TRUJILLO                     NM     90014788464
4283B212672B43   LORENA       YEPEZ                        CO     90012852126
4283B238A5B271   ELOY         ALFARO                       KY     68070412380
4283B38972B27B   ALEXANDER    SHONTAY                      DC     90012843897
4283B4A115B222   JESSICA      HAWKINS                      KY     68004034011
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4283B528751334   DARYL         WELCH                       OH     66040755287
4283B8A6357124   KELLY         COYNE                       VA     90011218063
4284168344B271   BILLY         CATES                       IA     90013456834
4284226A52B27B   BROOK         GENET                       DC     90013282605
42844126172B36   WADE          BOUTS                       CO     90014381261
42844275797B42   CORY          RASMUSEN                    CO     90011392757
4284526595B271   FABIOLA       HERNANDEZ                   KY     90012562659
4284549685B52B   MARY          CASAUS                      NM     90011894968
4284639995B222   JOSEPH        CRAIN                       KY     90012673999
42846611572B4B   PAULA         AMAYA                       CO     90012776115
4284664715B53B   JOSE          ALAMOS                      NM     35082636471
42847241472B43   FRANCISCO     REYES                       CO     90004532414
4284839A95597B   MARIA         HERNANDEZ                   CA     49015013909
42848518A91569   LORENZA       CERVANTES                   TX     75012245180
4284852255B222   LLOYD         V COOPER                    KY     90014915225
4284881555B52B   EVER ARMAN    LEMUS                       NM     36066728155
4284987368B16B   ADAM          KUNZ                        UT     31017688736
4284B313A5B222   ZECHARIAH     BROWN                       KY     90004653130
4284B33A171999   DEANNA        CHAVEZ                      CO     90012563301
4284B99518B16B   KATHLEEN      REESOR                      UT     90012439951
4285192A172B4B   JOE           VIRGIL                      CO     33035999201
4285218382B27B   DARYL DEWIN   WILLIAMS                    VA     90013541838
428524A355597B   REY           BRISENO                     CA     90014824035
42852A81744356   NADINA        FUNK                        MD     90015380817
4285333685B174   VERNON        ALLEN                       AR     23026073368
428538A652B87B   CASSANDRA     RICHARDS                    ID     41072518065
42853A92A61963   JONATHAN      COMPEAN                     CA     90014310920
42854163972B43   JOEL          RODRIGUEZ                   CO     90002841639
42854A8A661963   ERICK         AVILA                       CA     90014160806
4285529975B58B   EDUARDO       BARRIENTOS                  NM     35054392997
4285633468B654   TERESA        DEAL                        TX     90014683346
4285641A347954   MAILAN        PINEDA                      AR     90011914103
42856A6935597B   JOHNNY        RENTERIA                    CA     90012410693
428581AA372B43   FRANCISCO     PADILLA                     CO     90010211003
4285833A75B53B   DAVID         CORNELL                     NM     90010633307
4285911465B52B   ANGELO        ROYBAL                      NM     90002571146
4285952848B16B   LINO          GRACE                       UT     90008575284
4285986298B165   JERRY         GARCIA                      UT     90014428629
42859A87755939   SALVADOR      SALCEDO                     CA     90001620877
4285B1AA18B16B   STACEE        PAYNE                       UT     90008481001
4286185898B16B   CHRISTOPHER   QUIRK                       UT     90012838589
42862214272B4B   RICH          BARRNETT                    CO     90008172142
4286252435B222   GARY          CLINARD                     KY     68083875243
4286262225B52B   MELISSA       ORTIZ                       NM     90003896222
428628A2571999   KENNETH       GARZA                       CO     90015188025
42863797172B4B   CESAR         VASQUEZ                     CO     90012557971
42863859A93794   LYNN          BLACKBURN                   OH     66073748590
4286454145B222   ELIZABETH     ABAD                        KY     90013005414
42864A35691873   LA            GOMEZ                       OK     21047800356
4286547435597B   CHRS          AVILES                      CA     90014364743
4286576987122B   OSWALDO       VALENZUELA                  IA     90012777698
4286635A85B58B   VINCENT       LERMA                       NM     90015093508
4286653835B222   MARIA         MCCRARY                     KY     68088915383
4286663614B271   MIRIAM        MONTES                      NE     90015296361
42866A9558B185   EVANGALINE    CENTURON                    UT     90003330955
4286795743B359   HEIDI         WATEURS                     CO     90012919574
4286813155B271   STEVE         SCOTT                       KY     90009291315
4286835575597B   GLADIS        TAPIA                       CA     90007903557
42868A58A55939   MARTIN        VALENCIA                    CA     90003490580
42869767972B36   EVA           ROBLES                      CO     33085247679
4286BA38872B43   WILLIAM       DANIO                       CO     90000680388
4286BA4815B271   FELICIA       MEIMAN                      KY     90013410481
4287136AA5B222   BOBBIE        MOHAMED                     KY     90010793600
4287175A961967   CHRISTIAN     VARGAS                      CA     90012707509
4287258274B271   AARON         RABLIN                      IA     90008855827
4287273369152B   GEORGE        MASIAS                      TX     90007387336
428736AA672B36   TIMOTHY       BRANIGAN                    CO     90013016006
4287383A871999   CODY          MARTINEZ                    CO     90011118308
4287457A761963   ERICA         HERNANDEZ                   CA     90012675707
42874664972B36   TIMOTHY       TURNER                      CO     33067666649
4287553615B174   JOHN          POWELL                      AR     90014045361
4287554318B16B   SORIYA        ROEUM                       UT     90013085431
4287618445B58B   AMANDA        SANCHEZ                     NM     35019161844
42876294A61925   FAREED        MANGISTO                    CA     46094652940
4287643255B271   WILLIAM       PRATT                       KY     68050574325
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42876673A55939   JUDY         KAJITANI                     CA     49074216730
4287816615B52B   ANDRES       LUJAN                        NM     90012921661
4287821885B52B   ANDRES       LUJAN                        NM     90011072188
42878223A5B53B   STEPHANIE    GALLEGOS                     NM     90015272230
4287873744B271   ANISA        STRONG                       NE     90013777374
42878867272B43   RAFAEL       RAMIREZ                      CO     33092588672
4287913275B523   LESLIE       GREENE                       NM     35060811327
42879A82376B3B   MARIA        GOMEZ                        CA     90013010823
4287B421872B36   GLORIA       GONZALEZ                     CO     33093924218
4287B875393794   JUSTIN       BAKER                        OH     90008178753
4287B9A563B351   KRISTINA     GIBSON                       CO     33097569056
4288167728B16B   LLOYD        WALKER                       UT     90002666772
42881684572B4B   ELIZABETH    WARD                         CO     33025886845
4288216915B58B   DANIEL       GUEREQUE                     NM     90014931691
4288257925B174   OSCAR        SORIANO                      AR     23068845792
4288263148B185   JESSICA      CARRILLO                     UT     31088326314
4288289165B52B   JOLENE       VIGIL                        NM     90006608916
4288357A28B16B   ORLINDA      MANN                         UT     90004115702
42883586472B43   MEGAN        THOMASAN                     CO     90013775864
42885A6185B271   GLORIA       ELLIOTT                      KY     90012600618
4288611698B16B   SIONE        MOUNGA                       UT     90015281169
42886517A61963   HUGO         PORFIRIO                     CA     46037985170
42887519172B43   MARIAH       PRIETO                       CO     90011965191
4288758274B271   AARON        RABLIN                       IA     90008855827
4288916A461967   ESTRELLA     CHACON                       CA     90004181604
4288934985B53B   PAUL         BARRERAS                     NM     90003353498
4288983A372B4B   PAULAJO      RODRIGUEZ                    CO     33001218303
4288B42445B58B   YOLANDA      GUTIERREZ                    NM     90009434244
4288B52122B27B   BETHLHAM     ARGAW                        DC     90012475212
42891174472B4B   SAMANTHA     ANGERMAN                     CO     33085921744
428912A175B52B   JEFF         APODACA                      NM     90010312017
428916A1A91351   ONDINA       CARDONA                      KS     29077906010
42891A1855597B   SUSAN        LAJAN                        CA     49077660185
42891A98861967   DANIEL       MARTINEZ                     CA     90013000988
4289221894B271   DEBRA        ANDREWS                      NE     90001602189
42892277A5B174   VICKI        STIMSON                      AR     90014702770
4289264825B222   GENE         STOKES                       KY     90010276482
4289292272B27B   MARIO        RECINOS                      DC     90014739227
4289368118B185   ANDREW       THOMAS                       UT     90005296811
4289414985B271   LOUIS        ABAPO                        KY     90013041498
42894356772B43   AURORA       CHACON                       CO     33055293567
4289528985B52B   VICTOR       CASTILLO                     NM     36049432898
4289552768B16B   MARQUISE     GARCIA                       UT     31014545276
42895A4968B165   RADAMES      JAIMES                       UT     90012960496
428963A415B272   JESSICA      BURK                         KY     90006623041
4289656455B174   KENNETH      HUNTER                       AR     23035075645
4289663298B16B   SHELLY       HARRIS                       UT     31051106329
4289664825B58B   ELIANA       CURL                         NM     90013976482
4289665585B523   RODNEY       PEOPLES                      NM     90010746558
4289676428B165   JUAN         BAUTISTA                     UT     90009617642
42897945272B43   ROSA         PITTMAN                      CO     90013709452
428979AA672B36   MARIAELENA   MARTINEZ                     CO     33077709006
42897A92561967   LUIS         HERNANDEZ                    CA     90011640925
4289813815B58B   VIOLETA      JIMENEZ                      NM     90011921381
4289852894B271   ASHLEY       NESBITT                      NE     90003775289
42898757172B43   OSCAR        RIVERA                       CO     33005617571
4289893695597B   LUCY         BANUELOS                     CA     49090189369
4289949215B222   TIFFANY      JACKSON                      KY     68094824921
42899A6375597B   ANECA        GONZALES                     CA     90012910637
4289B2A543B343   THUAN        MAI                          CO     90012512054
4289B35A85597B   RAUDEL       RUIZ                         CA     49073433508
4289B4A814B271   JOSE         LEMUS                        NE     90012484081
4289B73815B222   IAN          SANDERS                      KY     90013177381
4289B85364B271   VENITA       TURNER                       IA     90012498536
428B179958B165   JANSEN       NOEL                         UT     90012017995
428B2367461967   ROBERTO      AYALA                        CA     46089103674
428B244A97B347   ALEXANDER    OSEI                         VA     81093074409
428B2589261995   RICKY        RIOS                         CA     90010775892
428B35A8A5B174   TONYA        BURTON                       AR     23042485080
428B3A66A8B352   KENDRICK     HICKS                        SC     90004910660
428B487568B165   ALICIA       HERNANDEZ                    UT     90012058756
428B5174A8B165   KATELYN      SNOW                         UT     90013831740
428B525375B222   FIKRIYA      VEYSALOVA                    KY     90013052537
428B5347491569   LUIS         HERNANDEZ                    TX     75096623474
428B5711671999   CHAD         LADUKE                       CO     90009547116
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428B6169371999   BARBARA      DAVIS                        CO     90014031693
428B618125B222   ROBIN        COY                          KY     68098201812
428B655935B255   MARY C.      LEFFLER                      KY     68049135593
428B656935B174   ANGELA       DAVIS                        AR     90010085693
428B696385B597   IRMA         RUIZ                         NM     35061079638
428B722745B52B   ANNA         MORALEZ                      NM     90000312274
428B7887672B36   CHEYENNE     MOONDANCER                   CO     33012278876
428B8328341258   ANITRA       WILKES                       PA     51011603283
428B8846147954   ANTHONY      BEYER JR.                    AR     25093048461
428B889475B174   DEBRA        BEENE                        AR     23062818947
428B967725B354   BERHANE      TESFAI                       OR     90010626772
428B9925A72B4B   SHEREE       CHAVEZ                       CO     33045899250
428BB26845B271   AMANDA       CASTRO                       KY     90012052684
428BB86AA5B52B   BRANDON      SILVA                        NM     36018188600
428BBA33391569   BOBBY        BONE                         TX     90013070333
4291224715597B   DANA         SKIPPER                      CA     49010682471
42912863172B43   JENITTA      HARIS                        CO     33011858631
4291296384B271   ADRIAN       CORTEZ                       NE     90013149638
4291347225B53B   OMAR         ROJO-ESTRADA                 NM     35086154722
429136A1372B36   STEPHANIE    DOVALINA                     CO     90004826013
429141A7972B36   GLORIA       MORRIS                       CO     90013731079
4291491A272B43   MARIO        RODRIGUEZ                    CO     90012959102
4291683995B52B   FERNANDO     MEDINA                       NM     90013498399
42916A1765B53B   CRISTINA     MENDEZ RIOS                  NM     90000770176
42916A34A91873   LEONOR       MENDOZA                      OK     90005100340
42917582472B43   CHRISTINA    HILL                         CO     90007815824
42917797824B7B   ERICA        KELLY                        DC     90015267978
4291929225B53B   JUAN         ALVAREZ-VARELA               NM     90010402922
4291938422B87B   FRANK        SCHNABEL                     ID     41010313842
42921277972B4B   PATRICIA     BUSTAM                       CO     90009582779
4292193768B169   FRANK        LUGO                         UT     90004889376
42921A8718B185   ISMAEL       MEZA                         UT     90007990871
4292282915B593   PATRICK      JOSEPH                       NM     35061498291
4292295455B271   MS           SLAUGHTER                    KY     90003769545
4292344865B58B   ANNA         MONTANO                      NM     90011344486
42923569A71999   NICHOLAS     GARCIA                       CO     90011925690
42923A6AA8B16B   LATISHA      MONTOYA                      UT     90008090600
429244A418B16B   GABRIEL      HAMILTON                     UT     31025094041
429245A7A4B271   RENAY        AHERN                        NE     27011185070
4292474742B899   SVETLANA     BUCHINSKIY                   ID     90006887474
429253A2261967   PERRY        GUTIERIEZ                    CA     90009793022
4292567852B921   MARIA        GONZALEZ                     CA     45066736785
4292596A15B58B   PALMIRA      PALACIOS                     NM     35057609601
42925AA2761938   TIFFANIE     BRYANT                       CA     90012640027
4292672A28B16B   LORRIELEE    BRERETON                     UT     90011057202
4292749A891351   JUAN         NEVAREZ                      KS     90014094908
429281A1A72B43   DOROTHEA     MORENO-CORTEZ                CO     33008301010
429289AA88B16B   ANGELICA     NUNEZ                        UT     90009989008
4292964A991569   ERIKA        BARRANDEY                    TX     90004116409
42929A59472B4B   JASON        EASON                        CO     90014020594
4292B19282B87B   ZACHARY      BLACK                        ID     90010071928
4292B23A48B16B   CANDICE      DIXON-GOMEZ                  UT     90009592304
4292B519791351   ALYSHIA      SMITH                        MO     90013645197
4292B561791569   RAMON        ALBA                         TX     90014995617
4292B95855B53B   JUAN DIEGO   LOPEZ                        NM     90013949585
4292B973A61967   ANTONIO      CHAVEZ                       CA     90010519730
4293112425B53B   LUPITA       REYES                        NM     90008011242
4293267555B271   AMANDA       DONOHOO                      KY     90007266755
42932AA895B52B   CHRISTTI     LUEVANO                      NM     90009460089
4293332575B53B   BRANDI       TORIVIO                      NM     90003943257
42934197172B4B   JENNIFER     CUNNIGHAM                    CO     33089011971
42934619272B36   JAMIE        LAUGHLIN                     CO     33073246192
4293491957B497   EVET         ALLEN                        NC     90013949195
42934A8727B355   CLAUDIA      ZARATE                       VA     90010510872
429358AA993728   ZACHARY      FOWLER                       OH     90007188009
4293712435597B   NICOLE       BETANCOURT                   CA     49064241243
4293727A161963   LANE         KEEK                         CA     46081582701
4293729A491569   MARIA        GUTIERREZ                    TX     75092552904
4293752679B324   TRISHAE      BLACK-YOUNG                  TX     90014275267
4293794A28163B   NOC          MALDONADO                    MO     90008759402
4293854965B597   IVONNE       RASCON-MARRUFO               NM     90005415496
4293863A371999   REBECCA      MANN                         CO     90005456303
42939759A5B58B   HENRY        LUNA                         NM     90000737590
4293976495B271   ANDREA       DOCKERY                      KY     90009647649
42939862172B4B   CARL         WAYMAN                       CO     33009238621
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429399A3A9373B   IVAN          PATE                        OH     90009689030
4293B236A5B523   JOSE          BUSTILLOS                   NM     90006472360
4293B576A5B597   CHASE         SUTFIN                      NM     90005315760
4293B98124B271   JAMES         GOW                         NE     90002109812
4293B9A975597B   SHAWNTAE      GIPSON                      CA     49083459097
4294114A161967   YESENIA       OCHOA                       CA     90013971401
429422A9361988   DENISE        MCEWAN                      CA     90006622093
4294237A991873   BRITTANY      COX                         OK     90009833709
42942792972B43   SHANTIL       RODRIGUEZ                   CO     33060857929
4294298964B271   PHILLIP       ELLIS                       NE     27069709896
4294359A972B4B   JESSICA       HURTADO                     CO     90014525909
4294361355B58B   KELLY         CASTEEL                     NM     35033706135
42943616A5597B   ADELINA       MONTES                      CA     49006676160
42943652872B36   MARIA         PEREZ                       CO     90004956528
42943A1A85B52B   DAWN          JOHNSON                     NM     90003440108
4294434324B271   MARIA         RIVAS                       NE     90014433432
4294492875B53B   TIMOTHY       GNERICH                     NM     90014119287
4294516912B27B   ANTONELLE     CAROLINE                    DC     90013701691
4294553798B16B   CAROL         HUNSAKER                    UT     90009775379
4294559245B271   MARY          STINSON                     KY     68065975924
4294571AA71999   DAVIS         WARD                        CO     90013297100
42945A13591569   IRMA          DOMINGUEZ                   TX     90011310135
42945A95372B43   TONYA         GILFORD                     CO     33091800953
4294618165B53B   NICOLE        CRANDALL                    NM     35001561816
4294619138B165   KOVACIC       NIJAZ                       UT     90014451913
4294625145B174   CIAWONNA      GAYLE                       AR     90014462514
4294686725B174   DANIEL        VARGAS                      AR     90006868672
42946A8738B185   BRENDA        BOURGEOIS                   UT     31044150873
429472A374B271   SELBIN        MEJIA                       NE     90007282037
4294837AA61967   ABIMAEL       GUZMAN                      CA     90007993700
42948682372B36   JUAN          GONZALES                    CO     33079366823
429491A375B53B   ANGEL         ORTEGA                      NM     90012131037
4294B37472B27B   CAROLYN       COOKE                       DC     81015173747
4294B76145B53B   BELSON        CHARLEY                     NM     90015297614
4294B993561956   JACK          PETTY                       CA     90001549935
4295112812B27B   ANGELA        HILL                        DC     90013551281
4295157245B222   DANYELL       MUNFORD                     KY     68016415724
4295258275B53B   EDGAR         RIGOBERTO CELIS             NM     35008935827
4295289862B27B   DAWN          ALSTON                      VA     90009508986
42954A58571933   CHANTILLY     GONZALES                    CO     90014060585
42954A88872B4B   JOHNNY        LOPEZ                       CO     33036590888
4295537115B53B   SELENA        GABALDON                    NM     90004403711
42955476872B36   MARK          PADZIK                      CO     90011524768
42957178672B43   JOSE          PEREZ                       CO     33077581786
42958264172B43   SHAIRA        MARQUEZ                     CO     33018732641
429583A955B174   MELODY        FUENTES                     AR     90013093095
4295841A78B165   CANDACE       BLAKLEY                     UT     90012654107
4295866938B165   RALPH         VINCENT                     UT     90013706693
42958A93A8B16B   DALE          BRIDGEFROTH                 UT     90014610930
4295953298B16B   LUIS          ZAMUDIO                     UT     90014005329
4295959565B58B   MONTANO       ASHLEY                      NM     90012595956
4295B374A4B271   CRISTAL       CHAIREZ                     NE     90012343740
4295B47835B271   JOHN          HART                        KY     90013594783
4295B742493794   EDWIN         RODRIGUEZ                   OH     90011657424
4295B83795B58B   ERIKA         ARVIZU                      NM     35017478379
4295BA4215B174   CASSONDREA    LIVINGSTON                  AR     90013360421
42961489572B36   CHRISTOPHER   WEIMER                      CO     90009954895
4296172578B165   ROB           CARTER                      UT     90013967257
42963125A51383   DERICK        ALLEN                       OH     90013391250
4296331955B52B   ERMER         LOYA-DOMINGUEZ              NM     90014833195
4296389218B165   DAN           CONLEY                      UT     31084928921
4296429945B174   ERIC          COLEMAN                     AR     23035852994
4296473885597B   DIXIE         TRISTAN                     CA     49076497388
4296496122B27B   JOSE          VENTURA                     DC     90007409612
42965628324B37   DORCAS        VANDERPUIJE                 MD     81045566283
429662A6791873   KELLY         PRATT                       OK     21076742067
4296686225B174   CAPRESHA      DEADMON                     AR     90015148622
42967229A61963   ROBERTO       GARCIA                      CA     90013972290
42967562A71999   ABRAHAM       MAESTAS                     CO     90013765620
4296775125B52B   KAREN         VELAZQUEZ                   NM     90013057512
42967A58472B36   DESTINY       MARTINEZ                    CO     33092840584
4296844369373B   JOE           JOHNSON II                  OH     90008034436
4296848392B87B   DIANA         HOLLIS                      ID     41023304839
4296849765B174   LINDA         BUCK                        AR     23080194976
4296888A23B332   ANNE          RUDOLPH                     CO     90006758802
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1960 of 2350


4296917565B52B   JESUS              SALAS PAREDES          NM     36051341756
4296921755B222   NIGEL              OTTERBACH              KY     90006402175
42969533772B36   JOHN               CORRY                  CO     90011195337
4296986538B165   JEFFERY            NUTTALL                UT     31060908653
429698A9647954   AMANDA             COZZAGLIO              AR     25084798096
4296B8A455B523   ASHELY             MARTINEZ               NM     90005308045
4296B99887B694   DESIRE             BATTLE                 TN     90015209988
4296BA5687B262   KENDRA             CREAGER                ID     90014890568
42971365172B43   MARSHALL           COOPER                 CO     90014783651
4297222933128B   EDGAR              LOPEZ                  IL     20551362293
4297299345B52B   VITALIA            GARCIA                 NM     90013829934
4297327582B27B   ARMANDO            MENJIVAR-GALVEZ        DC     90010252758
4297332795B58B   PAYGO              IVR ACTIVATION         NM     90013793279
42973452A5597B   ROSA               ESCALANTE              CA     90012254520
42974331272B4B   ATAYA              ARREGUIN               CO     33074493312
42975457372B4B   LEANN              BUTLER                 CO     90013484573
429756A5172B36   BRIAN              STENSTROM              CO     90008616051
4297571718B16B   CHRIS              PATRICK                UT     31070487171
4297612865B52B   BETHANY            ROYBAL                 NM     90013741286
4297662535B53B   SERGIO             PENA                   NM     90012546253
42976AAA38B165   TERRIE             ERICKSON               UT     31057080003
42977129772B43   SUSAN              HESTER                 CO     90000961297
4297749775B58B   CHRISTOPHER        ALBERT                 NM     90014014977
4297778635B271   STELLA             ALLEN                  KY     90006087863
4297819198B16B   KASSIE             MATSON                 UT     90007151919
4297836375597B   POIDEXTER          HATTLEY                CA     90005713637
429783A118B165   BERTHA             OCAMPO                 UT     90013253011
42978A7793619B   PETER              HERMAN                 TX     90013030779
42979842A4B271   PATRICK            JONES SR               NE     27060138420
4297B19868B141   JONATHAN           LEAVITT                UT     31034231986
4297B326191569   WILLIE             POWERS                 TX     75077533261
4297B77815B58B   DANETT             VIGIL                  NM     90006527781
4297B86A171999   PATRICK            CANCINO                CO     38095588601
429813A5391569   PERSONA            VIVI                   TX     90014693053
4298159835B297   SHARITA            CARTER                 KY     90013175983
429823A435B52B   IVAN               CHACON                 NM     90012643043
4298341365598B   FELISIA            PEREZ                  CA     90012544136
4298444475B53B   XOCHITL            VALDEZ                 NM     90014154447
42984A1A371999   LISA               HEISTER                CO     90013280103
42985467A61963   WILLIAM            LOPEZ                  CA     46066554670
429854A6391351   JON                ANDERSON               KS     90013784063
4298582785B58B   ANTONIO            BARELA                 NM     35083298278
42986529A4B95B   AMANDA             HANKINS                TX     90001325290
4298673AA61967   OLIVER             ZAMUDIO                CA     90012447300
4298675278B594   JANIS              JACKSON                CA     90014747527
42986A41772B36   JOHN               SILVER                 CO     90003370417
42987829372B47   JAVIER             VALENZUELA             CO     90007338293
42987927A51383   GREGORIO           GONZALEZ               OH     66029059270
42988491772B4B   JEREMY             MCCRAY                 CO     33032224917
4298859585597B   DANNY              MAESTRE                CA     90011645958
42989124972B4B   SERGEY             FOUKS                  CO     90006621249
4298989678B165   NATHAN KINGSBURY   ALYSSA KINGSBURY       UT     90014548967
42989AA325B52B   LILIAN             ROSALES-MONGE          NM     90012190032
4299151952B87B   LYNETTE            ACEBEDO                ID     41008835195
42992157A51383   DAVID              MARQUEZ                OH     90012021570
429921A635B58B   RICHARDO           CHAVEZ                 NM     90009221063
4299269A551334   SHAKALAH           DAILEY                 OH     90009066905
42992847A51383   DAVID              MARQUEZ                OH     90014548470
42992A8214B271   JUANA              CAMARENA               NE     90011880821
4299311765B52B   HUMBERTO           MORENO                 NM     90013381176
4299319A961963   JUAN               PANTOJA                CA     90009261909
4299336655B271   PEDRO              PINA                   KY     68075753665
42993993872B4B   JAMES              RIDOUT                 CO     33098879938
4299521172B27B   SANTOS             GARCIA                 DC     90000462117
4299566A572B43   AVIANA             SPARKS                 CO     90013566605
429956A2661963   JOSEBIT            MOLINA                 CA     46032026026
4299591775B174   CANDACE            BURKHALTER             AR     90014739177
4299636684B271   KEVIN              ONDRACEC               NE     90015103668
42996A7A78B165   NORMA              OROZCO                 UT     90011500707
42997111A5B53B   LORENA             BENCOMO                NM     35099251110
4299739635B52B   ROBERTO            SERNA MENDEZ           NM     36098903963
4299748848B165   NANCY              BRADSHAW               UT     90012464884
4299765A94B271   SCOTT              DICKEY                 NE     90000266509
4299794485B222   WILLIAM            GREENWELL              KY     68094839448
42997A21172B4B   JASON              TOLER                  CO     33074920211
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4299896835B271   OODIE        TICHENOR                     KY     90005599683
4299921718B16B   GILBERTO     LOPEZ                        UT     31012192171
4299B37A95B271   EDWARD       WILLIAMS                     KY     68072673709
4299B768572B36   DAVID        SANCHEZ                      CO     90012687685
429B128295B523   APOLONIO     MARENTES                     NM     35081042829
429B175445B58B   HERIBERTO    LOPEZ                        NM     35011117544
429B1813872B36   NEELY        GREEN                        CO     90014578138
429B1A9415B271   JAZMEN       PRINCE                       KY     90014810941
429B247624B271   CURTIS       BEDFORD                      NE     90002064762
429B2545325164   JAMES        DAVIS                        AL     90014865453
429B32A3891351   ALEX         PENA                         KS     90004442038
429B371738B165   LUIS         LAGUNAS                      UT     90013577173
429B452168B165   GEORGINA     PERSON                       UT     31044455216
429B5A53551334   MARK         NEWTON                       OH     66047500535
429B6745372B43   ELENA        VEGA                         CO     33034637453
429B68A935597B   DALLAS       BENAVIDEZ                    CA     90010188093
429B6991872B36   GLORIA       MELENDEZ                     CO     90014339918
429B7457372445   PATTI        LOUGHNER                     PA     90010324573
429B7525591569   MIREYA       BARRIOS                      TX     90005845255
429B7978851325   JOSH         THATCHER                     OH     66016219788
429B8687172B36   NATALIE      REESE                        CO     90014686871
429B8898671999   TENISHA      SEGURA                       CO     90011118986
429B946A761963   SERGINA      HERNANDEZ                    CA     90012454607
42B1194A272B36   ALEJANDRO    SALAZAR                      CO     90013419402
42B12335693794   SHERRIE      CODY                         OH     90010023356
42B1239198B185   MOISES       LARA                         UT     90001683919
42B124A535B53B   RYAN         HIL                          NM     90013944053
42B13155251334   CHERYL       ILHARDT                      OH     90014831552
42B13268A5B174   SHIRLEY      MCCULLOUGH                   AR     90008102680
42B1329AA51334   CAMILLA      BUSH                         OH     90010882900
42B1381535B58B   ALLEN        RUIZ                         NM     90014378153
42B13832471999   DANA         BIGAM                        CO     90014878324
42B13A3955B53B   KATHERYN     RODRIGUEZ                    NM     90005090395
42B1418635B523   MONICA       HERNANDEZ                    NM     90004571863
42B14658A72B36   VICKIE       FOSTER                       CO     33074966580
42B14A6835B271   CHRISTY      MEADWAY                      KY     90009820683
42B15211993794   CRISTIAN     SHINKLE                      OH     90008102119
42B1528625B271   JERMAINE     CAMERON                      KY     90013382862
42B15497961925   ELIZABETH    ARIZA                        CA     90005744979
42B15547384342   RICARDO      HERNANDEZ                    SC     90014105473
42B1597542B87B   MELISSA      BINGHAM                      ID     41030369754
42B15A87361967   CLARENCE     MITCHELL                     CA     90007260873
42B16414272B4B   ALYCE L      CLARK                        CO     90013784142
42B16683993794   JASMINE      BELLE                        OH     90013206839
42B1679772B27B   BERNETTA     CEPHAS                       DC     81015847977
42B16A75451334   JOSH         GREEN                        OH     66016060754
42B1719345B58B   JEREMY       CANDELARIA                   NM     90014271934
42B17338861963   SHERRY       REID                         CA     46036363388
42B17449261963   REYNA        RUIZ                         CA     90000244492
42B1796295B53B   ERASMO       PRESIADO                     NM     35089839629
42B18467341258   ANDREW       BARONE                       PA     90000364673
42B1853635B174   TOMANIKA     WILLIAMS                     AR     90014065363
42B1853715599B   SASHA        SMITH                        CA     90011125371
42B18A77361967   DIANA        MENDEZ                       CA     90006820773
42B19317255939   JESSICA      FLORES                       CA     90010543172
42B1941985B271   DEANNA       DANIELS                      KY     90012834198
42B19514955999   CHRISTINA    CASTRO                       CA     49016875149
42B1B38878B165   CHRIS        BAKER                        UT     90009683887
42B1B81A593794   EDWIN        CRONE                        OH     90013238105
42B1B95A48163B   CYNTHIA      WILLIAMS                     MO     90002789504
42B1BAA5372B43   GERMAN       RAUDALES                     CO     33052860053
42B21339455939   TERRI        LINDER                       CA     90010543394
42B2143245B52B   AGUSTIN      VIGIL                        NM     90012904324
42B21795A5B271   DONALD       MATTINGLY                    KY     68010317950
42B22682A9373B   OJIEH        OHIEMBOR                     OH     90006386820
42B2436A193728   SHANNON      ASHLEY                       OH     90013493601
42B24956962B31   KENA         POTTORFF                     KS     22062799569
42B2544552B27B   SHADYIA      SIMMS                        DC     90004884455
42B25474191351   SHIANNA      SHAPRICE                     KS     90001554741
42B25558462B31   NICOLE       CHAVEZ                       KS     90015495584
42B2572115B174   DENECIA      BEENE                        AR     23097487211
42B26A9964B271   CORINN       COOK                         NE     90013490996
42B27314347954   MEGAN        SIFUNTES                     AR     25091153143
42B27526461963   LOURDES      HERNANDEZ                    CA     90012425264
42B2752975B523   CAROL        ARMIJO                       NM     35064155297
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42B27632572B43   JAMIE          PADDOCK                    CO     33055656325
42B27667371999   DOROTHY        HEPTIG                     CO     90013656673
42B2827A372B35   AMANDA         RISS                       CO     90008652703
42B28395A8B165   STEVE          KEITH                      UT     90010733950
42B28A21361967   ERICA          RAMOS                      CA     90014540213
42B28AA4955939   MARGARITA      REYES                      CA     90008570049
42B29126372B43   CHRISTIAN      JOHNSON                    CO     90015421263
42B2B52575B52B   JOHN           SERRANO                    NM     90013645257
42B31273191351   EFRAINN        DELGADO                    KS     90013932731
42B31471871999   ORLANDO        RIVERA                     CO     90006674718
42B31497872B43   COREY          ANDERSON                   CO     90001934978
42B31649171999   RACHEL         DEHERRERA                  CO     90010886491
42B32254A93794   CHRIS          FISHER                     OH     90010392540
42B3238725B523   HOWELL         NATASHA                    NM     90005303872
42B3261538B16B   JOSE BALMORA   DARAS                      UT     90015416153
42B32737761963   KIM            LOVE                       CA     46075687377
42B33272572B4B   NICOLE         RICE                       CO     90013292725
42B3463448B16B   CINDERELLA     KATOA                      UT     90013956344
42B35818371999   SYLLVIA        ARRONA                     CO     38016078183
42B3614A94B271   ABRAHAM        CABRERA-WROOMAN            NE     27046211409
42B36A48851383   TAMEKA         FOGGIE                     OH     90008700488
42B3745465B53B   DOMINIQUE      GURULE                     NM     90013944546
42B3752355B259   ROGER          CASH                       KY     90004335235
42B37627951334   LUIS           REYES                      OH     90010776279
42B37A96591873   SUMMER         PAYNE                      OK     90013360965
42B38639A5B597   JAMES          SHERMAN                    NM     35010756390
42B3887258B165   EDGAR          CASTRO                     UT     90013048725
42B3894678B186   MELISSA        MOSER                      UT     31004589467
42B3999755B53B   JAZMINE        SIGILA                     NM     90014499975
42B3B262171999   ANTHONY        MARTINEZ                   CO     90009622621
42B3B28425B222   CHRISTINE      ROBNETT                    KY     68006772842
42B4137465B52B   LYNETTE        RIVERA                     NM     90014443746
42B41768572B4B   ROSA           MONICA                     CO     90007567685
42B4247898B16B   MARCO          BRITO                      UT     90010864789
42B4249498B185   ANNALISA       JOHNSON                    UT     90013784949
42B424A5772B4B   TRICIA         CARRANZA                   CO     90015604057
42B424A715B174   SALENTHIA      HUBBERTS                   AR     90008104071
42B42662872B43   MARIA          BARELA                     CO     90012926628
42B42883493794   CONTESSA       GOODWIN                    OH     90015228834
42B42A7A45B523   MICHAEL        HERNANDEZ                  NM     35005790704
42B43415972B36   DARYL          EASON                      CO     90011624159
42B4359A961967   ELIEZER        CARDONA                    CA     90013945909
42B4386565597B   CECILIA        GARCIA                     CA     90013898656
42B43992461963   DYLAN          DAVID                      CA     90011599924
42B44127A5597B   JAMES          YOUNG                      CA     90013621270
42B44557191351   RODRIGO        MOSS                       KS     90009235571
42B4462948B532   HERMINIO       MACIAS                     CA     90015466294
42B45771691569   JORDAN         CASTANEDA                  TX     90010907716
42B46351891873   MICHELLE       PARKER                     OK     90014043518
42B46425A5B53B   DENELLE        GARCIA                     NM     90015034250
42B46955672B36   JOSHUA         STRATTON                   CO     90009849556
42B47149661963   HOLLY          PORTER                     CA     46048591496
42B47664672B43   MAJA           WILLIAMS                   CO     90012926646
42B47683371933   MARTHA         SILVA-MALDONADO            CO     90004096833
42B4821882B27B   PAULA          SWALES                     DC     90015152188
42B48998A71999   KIERRA         DURAN                      CO     90005769980
42B48A45821981   DEBRA          BROCKENSHIRE               IN     90011890458
42B492AA233655   CAROLYN        INGRAM                     NC     90002162002
42B49436A5B523   ERICA          ORTEGA                     NM     35061534360
42B4973892B27B   DEREK          KITTRELL                   DC     90012787389
42B4986155597B   JORGE          MALDONADO                  CA     90009888615
42B49A13655939   ANGEL          CARONES                    CA     90011380136
42B4BA34551383   TOMMIE         ROBERTSON                  OH     66065240345
42B513A3291569   JACKIE         ALMEIDA                    TX     75086903032
42B51453241258   MICHAEL        THOMAS                     PA     90003954532
42B51935193794   KELLEY         LOVIN                      OH     66087519351
42B52381972B25   TOYA           ROBY                       CO     90013413819
42B52619861967   MANUEL         LUNA                       CA     90014736198
42B53458191569   LISA           MAREZ                      TX     90013044581
42B5353AA8B594   ULISES         PEREZ                      CA     90012555300
42B54A2975B597   VALORITA       DOMINGO                    NM     35094340297
42B55318551334   MATTHEW        WILSON                     OH     90012933185
42B5538A261547   RODNEY         MOORE                      TN     90014113802
42B55655172B43   TAMMY          GOETZFRIED                 CO     90014556551
42B5569595B52B   ANDREW         GONZAELS                   NM     36048756959
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42B5631125B53B   RACHAEL         VALENZUELA                NM     35025003112
42B56687272B36   ANGELICA        RODRIGUEZ                 CO     33004486872
42B566A1462B31   STEPHEN         MOORE                     KS     90012346014
42B57165551334   SCOTT           GRUBBS                    OH     90013251655
42B57795172B43   RANDY           MARKLOWITZ                CO     90012047951
42B5839A98B16B   ALEJANDRO       PEREZ                     UT     90014813909
42B5873544B271   JANICE          BAUMGARTNER               NE     27036137354
42B589AA65B597   JOSHUA          O'HARA                    MO     90000799006
42B59136661963   LIDIA           ORTIZ                     CA     90003901366
42B59746391351   ASIA            BARNETT                   MO     90015227463
42B5B1A7A72B36   ASIALENE        ZAPATA                    CO     33017891070
42B5B32265B58B   ANNETTE         ELERBY                    NM     90006133226
42B5B3A5393794   ZACH            STURWOLD                  OH     90014183053
42B5B5A222B872   KERI            HETKE                     ID     90008515022
42B62231461963   PETER           SEMASKO                   CA     46036362314
42B62255691873   JOSE            TRINIDAD                  OK     90011902556
42B63227A5B222   JOSEPH          CASHMAN                   KY     68054992270
42B6327985B58B   SHELLY          THEILER-HUNTER            NM     90004712798
42B63393597B21   GREG            ROGERS                    CO     90010543935
42B63896251334   TAMMEKA         MOSLEY                    OH     90013718962
42B63988A8B16B   JAVIER          ALTAMIRANO                UT     90004979880
42B63AA3191873   APRIL           ECHEVARRIA                OK     90011000031
42B64491161963   CHLOE           GOODRUM                   CA     90014754911
42B64534871999   KAREN           GAY                       CO     38050355348
42B6459715B271   YOLANDA         WILKERSON                 KY     90011095971
42B66343472B36   MIRIAM          MARTINEZ                  CO     90012413434
42B66657891873   ROBIN           BLACKWELL                 OK     21046396578
42B66988A8B16B   JAVIER          ALTAMIRANO                UT     90004979880
42B6715346198B   KEITH           STEWART                   CA     90003661534
42B67213972B43   JOAQUINA        APARICIO                  CO     90007452139
42B67545993794   ADWOA           AKOTO                     OH     66031005459
42B67621372B4B   DULCE           MIER                      CO     33099506213
42B67698941258   LEILA           CLARK                     PA     51062786989
42B6842884B271   YOLANDA         JOHNSON                   NE     90011104288
42B68521871999   ARLENE          VASQUEZ                   CO     90013265218
42B6913A472B36   CARLOTA         BUSTOS                    CO     90012071304
42B69167191351   JAIME           VAZQUEZ                   KS     29073341671
42B69982891569   MELISSA         PEDROZA                   TX     90015109828
42B6B71735B52B   CRYSTAL         LOPEZ                     NM     90013937173
42B6B82295B271   DANIEL          GIBSON                    KY     90014288229
42B6BA1795B222   CARLA           GUEVARA                   KY     90010430179
42B7184535B58B   YOLANDA         RODRIGUEZ                 NM     90014778453
42B7276AA51334   MARIA           MARMO                     OH     66053047600
42B72A78751334   MARIA           MARMO                     OH     90013910787
42B73512872B4B   MELISSA         SAUL                      CO     90014525128
42B7354468B16B   LANIE           OLSE                      UT     90008535446
42B7458415597B   ESLY            OLVERA                    CA     49017175841
42B7474125B52B   ANTONIO         OROPEZA-PICHARDO          NM     36035977412
42B74A3815B58B   RODOLFO         AVILA                     NM     90014800381
42B7572155597B   FENG            MOVA                      CA     90001547215
42B7642222B27B   TONYA           WILSON                    DC     90007404222
42B76442172B36   DAVID           RAMIREZ                   CO     33074874421
42B7674A461963   APOLONIA        FLORES                    CA     46083397404
42B77338472B43   DAYSI           GARCIA                    CO     90007673384
42B77967A55939   FRANK           DUARTE                    CA     90008199670
42B781A485B52B   OLGA            RODRIGUEZ                 NM     90015111048
42B78428651334   CHRISTEL        BROOKS                    OH     66002514286
42B7849915B58B   DARLENE         MALDONADO                 NM     35097374991
42B78584693794   JOEY            MITCHELL                  OH     90011575846
42B7873792B264   JUSTIN          SCOTT                     DC     90008757379
42B78A37872B43   HEM             DHIMAL                    CO     33023220378
42B79734A71999   LISA            ROMERO                    CO     38056737340
42B79A78672B4B   KAILEE          BYE                       CO     90005770786
42B7B61A972B43   ANTWON          WRIGHT                    CO     90012896109
42B7B95A293734   JAMES           SMITH                     OH     90005979502
42B81287961963   IRMA            RAMIREZ                   CA     90009782879
42B8167365B597   MARTIN          FLISS                     NM     90001326736
42B8169592B27B   LUCRESIA        TYLER                     DC     90014756959
42B82112461963   ARACELI         OCHOA                     CA     46059721124
42B8223A151383   ANDREA          JACKSON                   OH     66065252301
42B8259785B271   NICOLASA        MUS                       KY     90011095978
42B83142872B4B   FELIX           CASTRO                    CO     90010321428
42B8322A82B27B   BERNARD         HINNANT                   DC     81075942208
42B8332472B87B   SHELAINE        WALLER                    ID     90009233247
42B84334653B43   MARCO ANTONIO   SOTO                      CA     90013793346
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42B84385991873   AMBER          SOUIRI                     OK     90014433859
42B84819572B43   ASHLEY         TRAVIS                     CO     33047218195
42B8493195B58B   NINCY          YANEZ                      NM     90012379319
42B85281471999   BARNEY         ROMERO                     CO     90010472814
42B85752962B31   BILLY          LAZENBY                    KS     90013237529
42B8575775597B   MARIA          CASILLAS                   CA     49096107577
42B86317A8B16B   JARVIS         LEANOARD                   UT     90014833170
42B8633955B271   KIMBERLY       TYLER                      KY     90012703395
42B8664A22B87B   BELINDA        CASTRO                     ID     41002056402
42B86A94362B31   ADRIANA        ESPINA                     KS     90014250943
42B8718A54B271   NICHOLAS       REYNOLDS                   IA     90015281805
42B87415155939   JESUS          TORRES                     CA     90005174151
42B8757855597B   DAVID          MAGNOLIA JR                CA     90009295785
42B8793A95B52B   CARLOS         RODRIQUEZ                  NM     36014609309
42B88A71672B36   VANESSA        SHUPE                      CO     90012760716
42B891AA98B185   STEVEN         SCOTT                      UT     90003251009
42B8974685B58B   ZULEMA         QUIROZ-TORRES              NM     35016147468
42B89A3638B594   NORA           MANRIQUEZ                  CA     90015440363
42B8B124861963   TIFFANY        HOLLAND                    CA     90002291248
42B8BA7254B271   VICTOR         SALAS-LOPEZ                NE     90005960725
42B91592A6198B   KELLY          HARMON                     CA     46085465920
42B9161755B271   JOHN           MINKS                      KY     90008316175
42B9179465597B   BERTA          AGUILERA                   CA     90013077946
42B9191838B16B   TERESA         BAUTISTA                   UT     90012349183
42B92292371999   LARRY          GRADE                      CO     90012602923
42B9324648B16B   CJ             BECKSTEAD                  UT     90015112464
42B9396855B222   GHIA           PORTER                     KY     90014499685
42B93A95671999   SHIRLEY        FETTY                      CO     90012850956
42B94441341258   CADIADRA       KENDRICK                   PA     51043844413
42B9483255B174   CARLETAH       BUNTING                    AR     90012578325
42B94932624B7B   FAZILA         MOHAMMAD ISMAIL            MD     90014959326
42B94A87755939   SALVADOR       SALCEDO                    CA     90001620877
42B954AA85B52B   FRANK          LOPEZ                      NM     36099004008
42B95715961967   MARIA          VILLARREAL                 CA     90013947159
42B9591673B399   ELGA           FLORES                     CO     33062279167
42B9626872B27B   KEVIN          BUCKMAN                    DC     90012332687
42B96889472B36   MIGUEL         ARIAS                      CO     90010768894
42B97243872B36   DAVID          FLOREZ                     CO     33095582438
42B9736A42B27B   JASPER         KENJI                      DC     90014923604
42B97591991569   JUAN           CARBAJAL                   TX     90012285919
42B9762754B271   AMANDA         LEARY                      NE     90008126275
42B97675A91569   JAMES          CARBAJAL                   TX     90010156750
42B97982993794   SANDRA         WILLIAMS                   OH     66081369829
42B979A542B27B   SHOLANDA       PETTAWAY                   DC     90010879054
42B9938A147954   ADDISON        MORRIS                     AR     25068413801
42B99785672B4B   KALA           GIVAN                      CO     90014617856
42B99845691873   LAVERA         GOODEN                     OK     21030808456
42B9B858171999   ANGELIC        MONTEZ                     CO     38098938581
42BB14A165B53B   KAYLA          RASMUSSEN                  NM     90013944016
42BB1547191869   MARISELA       LOZANO                     OK     21003905471
42BB1597461967   SELENE         SOSA                       CA     90011975974
42BB1628547954   ELIZABETH      HERRON                     AR     90003116285
42BB2322672B43   EMILIO         SALOMAN RODRIGUEZ          CO     90008893226
42BB2732661963   ADRIANA        PEREZ                      CA     90006677326
42BB315555B174   JAMES          PARKS JR                   AR     23079271555
42BB3731172B28   CONSTANCE      MANGIONE                   CO     90014707311
42BB3777371999   SHELLY         SANCHEZ                    CO     90003477773
42BB377A193769   ELOY           LARA                       OH     90003397701
42BB416A48B165   SALVADOR       DOMINGUEZ                  UT     90012121604
42BB4331547954   DANIEL         SANCHEZ                    AR     90006403315
42BB4446771999   LARRY          GIUS                       CO     38036034467
42BB4683261967   MARIA CARMEN   VARGAS                     CA     90013066832
42BB4AA3161963   FELIX          MORA                       CA     90004730031
42BB5128871999   DARREN         SARGENT                    CO     90013781288
42BB5313472B43   HERLANDA       DAVIS                      CO     90013933134
42BB5383872B43   HEATHER        LOMELI                     CO     33041423838
42BB544678B165   JEREMIAH       TOWE                       UT     90015324467
42BB5457551383   TONIA          WILLIAMS                   OH     66035324575
42BB5639A5B597   JAMES          SHERMAN                    NM     35010756390
42BB585465B174   ALMA           GONZALES                   AR     90009018546
42BB61AA591569   EMILIO         JIMENEZ                    TX     90011881005
42BB6A1715B222   GLENDON        ALCORN                     KY     90010880171
42BB771AA91569   BLANCA         MACIAS                     TX     90009097100
42BB7928871999   JOSIE          MAES                       CO     38071579288
42BB8248262B31   MARIA          BAEZ                       KS     90015432482
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42BB836675B222   LORETTA      BRITT                        KY     90012163667
42BB8711691961   SKIP         SWICEGOOD                    NC     90006247116
42BB8875791873   MAUREEN      SIMMS                        OK     90005608757
42BB969A961963   JEFF         PACE                         CA     90005006909
42BB9A9A18B16B   HILLARY      STENER                       UT     31038290901
42BBB388961963   SCOTTIE      STRONG                       CA     46042283889
42BBB693862B31   DEJUAN       LANDRUM                      KS     90014906938
4311135255B53B   PAYGO        IVR ACTIVATION               NM     90013693525
43111492A61967   REBECA       ALVARADO                     CA     90013054920
4311162765B271   JOHNNY       HAYNES                       KY     90014096276
43111887A91394   RONALD       SMITH                        KS     29076768870
431128A725B58B   SONIA        GARCIA MARTINEZ              NM     90012428072
43112AA562B87B   DALLAS       JOHNSON                      ID     90008670056
4311321A82B27B   CARLOS       SANCHEZ                      DC     81016502108
4311339938B165   ELIZABETH    BAEZA                        UT     90013123993
431136A722B87B   JENNY        MCLEOD                       ID     90010276072
43114A26891569   VANESSA      MEI                          TX     75012330268
43114A3A45B52B   LYISA        JIMENEZ                      NM     90013970304
4311667242B27B   WANDA        ALLEN                        DC     90000116724
4311777A15B541   CASSANDRA    GARCIA                       NM     90008557701
43118418A47954   SHERRY       DUNCAN                       AR     25007594180
431195A4377595   MIRIAM       ANGUIANO                     NV     90013125043
4311979A45B222   SHAUN        HAZELRIG                     KY     90012787904
431199A555B55B   ANGEL        WILLIAMS                     NM     90000509055
4311B44A461963   JENNIFER     DURAN                        CA     46004004404
4312111195B597   DAX          CUMBIE                       NM     90012791119
4312111875B174   CRYSTALYN    BELL                         AR     23018521187
431211A212B27B   KENNETH      ADAMS                        DC     90012861021
4312172655597B   RAFAEL       MARTINEZ                     CA     49004437265
43122638A91873   KRISTA       HANTCOCK                     OK     90011026380
4312265785B52B   MARISOL      MARTINEZ                     NM     90014996578
43122677A5B222   ALI-KASEY    EARKMAN                      KY     68010746770
43123179872B4B   MELAINE C    COTTON                       CO     90012671798
43124884A91569   VIRGINIA     HERRERA                      TX     75044628840
43124A15393741   MONICA       BLAKE                        OH     90013550153
43125639772B43   MARY         GUTIERREZ                    CO     90015326397
43126159872B43   CHISTOPHER   BACA                         CO     90011871598
4312642199199B   FRANK        SAXTON                       NC     90012734219
43126515272B36   ISIAH        BAILEY                       CO     33093655152
4312765158B165   RYAN         DELAHUERTA                   UT     31021946515
43127926472B4B   CRISTINA     PEREZ                        CO     33033489264
43127A87571934   JOSE         RUIZ                         CO     90005590875
4312859215B53B   ELIS         GUZMAN                       NM     35068605921
4312893A672B43   ELISS        LINDSEY                      CO     90010109306
43128A98361965   PILAR        DE SANTIAGO                  CA     90008140983
4312927A271999   REYANN       TAFOYA                       CO     90010102702
4312949165B174   JASMIN       FASSER                       AR     90013684916
431299A678B169   PAUL         VEHAR                        UT     90008719067
4312B192661967   ROSANA       RIOS                         CA     90012951926
4312B624172B4B   ROBERT       ANGELO                       CO     90015286241
4312B8A312B27B   MORRIS       RAY                          DC     81030368031
4312B941572B54   JANINE       PURDY                        CO     90007159415
4313122918B165   BUSHMAN      JENNIFER                     UT     90010112291
4313125325B53B   ALISA        GONZALEZS                    NM     90013602532
4313232318B165   RICK         MOORE                        UT     90014513231
43132589372B43   JOSE         RODRIGUEZ                    CO     33092895893
4313269875B53B   KRISTIE      ESSER                        NM     35090976987
4313271428B181   WADE         SCHOFIELD                    UT     90010577142
43132A4515B58B   KATERINA     MONTANO                      NM     90011010451
4313318415B52B   AVELINA      AVALOS                       NM     90013971841
431339A3277595   MALIA        TAUKITOKU                    NV     43040609032
4313473322B27B   REBECCA      POUGET                       DC     90011867332
4313499962B271   MICHAEL      FREEMAN                      DC     81014709996
43134A83A51383   DELANO       PERDUE                       OH     66008610830
4313531235B222   TAB          D                            KY     90012503123
43135A3735B52B   FELECIA      VALDEZ                       NM     90014070373
4313612A95B52B   ALFONSO      MORTES                       NM     36006241209
4313684565B597   IVETTE       ANO                          NM     90014168456
4313815A291523   GEORGINA     ORTEGA                       TX     90006961502
4313824788B16B   SCOTT        FRASLER                      UT     90011392478
43138622972B36   MARIO        VALLES                       CO     90012296229
4313879195597B   GARY         EDWARDS                      CA     90007367919
43138A84272B43   PARVANEH     ALIASGHARI                   CO     33034580842
43139814A61967   JULIAN       RUIZ                         CA     90014678140
4313B18415B52B   AVELINA      AVALOS                       NM     90013971841
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4313B21545B375   JULIO         TORRES                      OR     90008142154
4313B252A5B53B   ISAIAM        CHAVEZ                      NM     90012142520
4313BA45A72B43   JOSE          ALANIZ                      CO     90013070450
43141654676B64   HUGO          GUZMAN                      CA     90009546546
4314167385597B   JESSICA       CANTU                       CA     49083086738
4314179225B222   MARGARITA     CASTILLO                    KY     90012217922
4314256745B174   TELICA        JONES                       AR     90011175674
4314272385B58B   THOMAS        CAVALIER                    NM     35041457238
43142757972B43   STEVEN        BOLIN                       CO     33017997579
431428A544B271   LATASHA       ASHLEY                      NE     90009378054
4314414445B222   KESHIA        FUQUA                       KY     90014771444
43144273A61967   MARCO         MENDOZA                     CA     90010702730
431442A342B872   WILLIAM       MOCLAIRE                    ID     42009502034
4314436345B222   MICHELLE      LUCAS                       KY     90013053634
4314472645B52B   HEIDI         GOMEZ BLANCO                NM     90003957264
4314477A85597B   JOSE          JIMENEZ                     CA     90013357708
4314485165B597   NADINE        MARTINEZ                    NM     90014168516
4314573612B87B   MICHAEL       THOMAS                      ID     41097127361
43145A9A55B271   SHYNIK        COLLINS                     KY     68056270905
4314615392B87B   RUSSLE        TAFT                        ID     90015031539
4314648235B52B   ENRIQUE       MENDEZ                      NM     90008574823
4314753925B52B   ANITA         HOPKINS                     NM     90011125392
43147837A5B53B   PRESCILLA     VALDEZ                      NM     90011998370
4314924A171934   JAMELA        WESTFIELD                   CO     90000332401
43149345A5B53B   KIMBERLY      WHITE                       NM     90014813450
4314941734B547   NANCY         MARIGALES                   OK     90013554173
43149555672B36   TERESA LOVE   CHAVEZ                      CO     90013355556
4314B634855939   HENIETTA      MALDONADO                   CA     90009816348
4314B82525B58B   BENJAMIN      KOMAREK                     NM     90012048252
4314B85AA71999   CHISTINA      QUINTANA                    CO     90014448500
4315198255B52B   KARINA        GALLARDO                    NM     36029889825
43152828A91569   CYNTHIA       ROJAS                       TX     90011418280
43153358572B36   FOREVER       FOREVER                     CO     90009913585
4315344365B222   CHELSY        WILKERSON                   KY     90013644436
431534A5255939   CRYSTAL       BROWN                       CA     90009754052
431537A725B52B   CIRILO        PEREZ                       NM     90010987072
4315417768B165   LUNA          LUCAS                       UT     31077911776
431542A9851383   COREY         BENFORD                     OH     66014862098
4315447894B271   ROSS          STANFORD                    NE     90015164789
43154A4362B87B   BRIAN         PETERSON                    ID     90010320436
4315537625B174   REBECCA       COLEMAN                     AR     23052883762
431555AA28B16B   SYLVIA        OSORNIO                     UT     90012655002
4315566A572B4B   BECKY         SWANSON                     CO     33001716605
43155834A5B58B   ROSALYN       GARCIA                      NM     90012908340
4315584195B222   TINA          WALKER                      KY     90009058419
431558A365B58B   DONITA        JOHNSON                     NM     90013068036
43156333A5597B   BILL          WILLIAMS                    CA     90008443330
4315718855597B   VANNARA       KEO                         CA     90005731885
4315812625B52B   EVANILIA      MONRROY                     NM     90005601262
4315854662B87B   EDWARD        GILMORE                     ID     41014625466
43158833A5B597   GOYO          FLORES                      NM     90012668330
4315936145B52B   ORALIA        VALDEZ                      NM     36079473614
43159921672B43   PRESTON       SINGLETARY                  CO     90010989216
4315B1A585B52B   ENRIQUE       HENDER                      NM     90014071058
4315B489461963   MELLISA       BECK                        CA     90013984894
4315B492191873   ELLAWEDA      WATASHE                     OK     90014104921
4315B583A5B271   JASON         ENGLISH                     KY     90013155830
4316145895B174   ELLA          HUMPHREY                    AR     23071694589
43161694872B4B   BROWN         WANDA                       CO     90001326948
431617A465597B   ANDREA        MCCLELLAN                   CA     90014567046
431617A638B16B   TYLER         STEWART                     UT     90013737063
4316181565B58B   PHILLIP       SANGRE                      NM     35083778156
4316257519155B   ROSLY         GARCIA                      TX     75009575751
4316277A341287   JULIA         FFERREE                     PA     51006897703
4316321852B27B   WILLIS        YOUNG                       DC     81079272185
4316332425597B   TRACY         LARSON                      CA     90011983242
4316369AA91523   RICHARD       GILL                        TX     75086956900
4316377A341287   JULIA         FFERREE                     PA     51006897703
43163989A5B174   BRYAN         ELIASON                     AR     90010989890
43166613A55939   TRACY         GONZALEZ                    CA     90014176130
43166A32872B4B   MICHAEL       HARRIS JR                   CO     33015030328
43166A9594B271   HANSEL        MORROW                      NE     90011450959
43167143A61963   LETICIA       PEREZ                       CA     90009041430
4316745A391873   MARLA         BOND                        OK     90012454503
4316815885B52B   JAVIER        MOJICA                      NM     90010321588
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43168268272B36   KATHRYN       CLYMO                       CO     33013212682
4316861348B165   DAGAN         BOURP                       UT     90014936134
4316878A261955   OMAR          FRANCO                      CA     90013527802
431687A4361967   MACKENDY      GENEUS                      CA     90006177043
43168813A71999   CHRISTINA     CONTRERAS                   CO     90013258130
4316886A791569   DEBORAH       IBAVE                       TX     75032948607
4316954455B222   PATRICIA      LEWIS                       KY     90012065445
43169552572B25   LEYDI         GALDAMEZ                    CO     90013155525
4316963442B87B   SONIA         GUTIERREZ                   ID     41057046344
4316B4A8391569   SONIA         ESCOVEDO                    TX     90011614083
4316BA24772B36   TAPIA         JAIME                       CO     90005870247
43171253A91569   HERIBERTO     SILVA                       TX     75079002530
43171419A8B156   THERESA       OQUENDO                     UT     90010164190
4317192762B266   CHERYL        SMITH                       MD     90013519276
43171AA948B165   DAVID         KINNEY                      UT     31006180094
4317218817B66B   DESHAWN       PACE                        GA     15084221881
4317323185B222   VINCENT       MEANS                       KY     90011362318
431734A2361963   MAE           BISHOP                      CA     46005184023
4317477845B52B   ANJELEA       SANDLES                     NM     90014097784
4317583382B87B   JOSEPH        STRAUBE                     ID     90015508338
4317593245B597   DANIEL        ALMANZAR                    NM     90011869324
4317618615B58B   MATTHIAS      WYNKOOP                     NM     90012721861
4317637662B828   EDITH         BUSTAMANTE                  ID     42046283766
43176A8625B53B   RODRIGUEZ     NANCY                       NM     90005130862
4317781282B87B   CRYSTAL       BROWN                       ID     90013358128
431778A9A5B52B   RUTH          DEHERRERA                   NM     90014098090
4317798627B66B   KATRINA       ALEXANDER                   GA     15047389862
431784A7155939   DOMINIQUE     TORRES                      CA     49057924071
43178523572B36   PAULETTA      MASCARENAZ                  CO     33017525235
43178A6662B87B   MELLISA       MASON                       ID     90012160666
43179125672B4B   CAROL         KASANG                      CO     90015261256
431794A1193741   AGARRA        JARRA                       OH     90010724011
4317B44148B165   KAZUHIRO      NAGAI                       UT     90012134414
4317B69822B87B   CRYSTAL       MCCAFFREY                   ID     90012906982
4317B955691569   DEBORAH       CONNER                      NM     90008059556
4318119444B271   KRISTY        CARRUTH                     NE     90013411944
43181572272B43   SPENCER       GRIMES                      CO     90002315722
4318167AA55939   VALENTINA     REYES                       CA     90011846700
4318187915B58B   GERALD        MITCHELL                    NM     90013468791
43182984272B43   JUAN          CHAVEZ                      CO     90012679842
43183243972B43   WHITNEY       PARHAM                      CO     90009972439
4318354415B597   MANUEL        ESQUIBEL                    NM     35077405441
43183986A5B53B   CHRISTIE      LIGHTFOOT                   NM     90006989860
4318429A761967   MARIALENA     FLORES                      CA     46042562907
43184987A72B4B   TIMOTHY       KRAMER                      CO     90010209870
431852A542B87B   KRISTA        WORLEY                      ID     41098032054
4318628335597B   MARISELA      MIRANDA                     CA     90008712833
4318642A172B4B   JB            DOYAL                       CO     90000914201
4318689A18B165   JACQUELYNN    BEASON                      UT     31076968901
43187319A72B4B   JAMES         DECLUE                      CO     90012863190
431874A842B87B   ROBERT        FLORA                       ID     90007574084
4318762A672452   ZACK          MCLEMLUGH                   PA     90015266206
4318774A14B271   CHRIS         MARSHALL                    NE     90012597401
4318883825B53B   BARBARA       DOSS                        NM     35092298382
4318893793B343   JASON         SURBER                      CO     33057139379
43188A8AA71999   REX           THOMAS                      CO     90013380800
4318B26935597B   SHACOLLA      JACKSON                     CA     49004462693
4318B46492B27B   JOSE          VENTURA                     DC     90015074649
4318B87455B597   JOHN          HICKS                       NM     90014168745
431926A4621981   AMBER         PRICE                       IN     90009636046
4319359558B16B   MARIA         GONZALEZ                    UT     90007895955
4319434265B222   PAYGO         IVR ACTIVATION              KY     90009583426
4319516247B66B   RAQUEL        GRAYER                      GA     90006521624
431954AA15B271   ALYSA         MCWILLIAMS                  KY     68039714001
4319588948B16B   JEN           LAVINE                      UT     31063198894
431962A8172B43   VICKIE        SANTISTEVAN                 CO     33004582081
43196472624B64   OCTAVIA       BLACKMAN                    DC     90003624726
43196592A72488   JIM           SMITH                       PA     90010695920
43197154A72B4B   HAILEMARIAM   TUKANI                      CO     90013561540
4319733A161967   MARIANA       DOMINGUEZ                   CA     90015553301
4319764195597B   GRACE         SALINAS                     CA     90013076419
4319764514B271   DHAN          RAI                         NE     90014426451
4319821762B27B   SHARRON       JACKSON                     DC     90001282176
4319826855B58B   HERBERT       SMITH                       NM     35079162685
43198466A72B36   ROBERTO       ANTONIO                     CO     90009924660
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4319923454B271   OSBALDO      BANALES                      NE     90003972345
431998A665B174   APRIL        GILLIAM                      AR     23006598066
43199A32671999   CHRISTINE    GALLEGOS                     CO     90008230326
4319B164691873   CLIFFORD     RAGLIN                       OK     90005011646
4319B52185B58B   MELISSA      RASCON                       NM     90011895218
4319B821572452   DOUGLAS      SLAVIN                       PA     90011038215
431B153665597B   TAHESIA      LEE                          CA     90002815366
431B173565B52B   BERTHA       CHANES                       NM     90013967356
431B2339372B43   ANGELICA     TRUJILLO                     CO     33087863393
431B281328B165   JENNIFER     RUBIO                        UT     31066028132
431B284A35B174   BRIANNA      BRUNSON                      AR     90015088403
431B2957791873   DADRIEN      LOCKHARD                     OK     90015129577
431B318448B165   HINDMAN      NORA                         UT     31012581844
431B3186272B4B   MARTINEZ     TROY                         CO     90013351862
431B43A4561963   EDUARDO      RODIGUEZ                     CA     90012293045
431B486165B52B   DORA         TRETO                        NM     90015268616
431B4A4678B165   JUSTIN       JOYNER                       UT     90014850467
431B5389772452   GAIL         GREENE                       PA     51000013897
431B572A691394   ISAI         MARTINEZ                     KS     90008767206
431B62A195B58B   JONETTE      PADILLA                      NM     90009762019
431B6462661967   MARY         JACKSON                      CA     46063624626
431B6491541265   CHRISTYANN   NEWELL                       PA     90012554915
431B6A1325B222   VINETTE      GREEN                        KY     90002550132
431B763A491873   REESE        JOHNSON                      OK     90008016304
431B773565B52B   BERTHA       CHANES                       NM     90013967356
431B792632B87B   JOSHUA       TURNER                       ID     90007029263
431B79A7761963   SALLY        WOHLMACHER                   CA     46030539077
431B8296391569   RUBY         DE LA CERDA                  TX     90014002963
431B8429972B36   CECILIA      CARBAJAL                     CO     90012674299
431B8436131448   KENYA        HANDCOCK                     MO     90008884361
431B846325B597   JAMIE        FORNESS                      NM     90009284632
431B8767472B43   SERGIO       DELGADO                      CO     33016817674
431B913185B597   CARLA        NAVARRETTE                   NM     90003151318
431B961235597B   VICTOR       LAMAS                        CA     90011386123
431B9893272B39   TOMAS        GAMBOA                       CO     33098898932
431B9921661967   LORINA       MONTEJANO                    CA     46058519216
431BB313871999   JACQUELINE   PADILLA                      CO     38044983138
431BB461377595   DAVID        DADEY                        NV     90014704613
431BB74A68B16B   ALEX         TAYLOR                       UT     90014617406
431BB883572B4B   DOLORES      O'CONNOR                     CO     33084508835
43211527772B43   TRAVIS       RICKMAN                      CO     33015995277
4321251AA54155   JULIE        TRACY                        OR     47006285100
4321261A991873   BETTY        PRESSLAUER                   OK     21048176109
4321263185B53B   LEOBARDO     MARTINEZ-MERCADO             NM     90003316318
43212AA115B223   DEISI        CHAVARRIA                    KY     68061120011
4321316747B66B   JOHN         FLEMING                      GA     90014181674
4321333A955939   SAMUEL       ORTEGA                       CA     49090563309
4321341A12B87B   CHAD         HOFFMAN                      ID     90014624101
432153AAA5B52B   VALERIA      FERRER                       NM     90010223000
43215865A55939   SILVIA       HUERTA                       CA     90009868650
4321621376182B   MITCHELL     SHEHORN                      IL     90015422137
4321646415B222   LAVELLE      RICHARDS                     KY     68038894641
432167A648B16B   PHILLIP      MAN                          UT     90011057064
4321716615B523   LIZ          ALVARADO                     NM     90007491661
4321735A355939   PATRICIA     VARGAS                       CA     90013983503
43217429272B36   MARK         MARTIN                       CO     33070164292
432177A9772452   CASSIDY      PIERCE                       PA     90011257097
4321829197B66B   DEIDRA       ALEXANDER                    GA     90003322919
43218292A61967   JOVAN        LUZURIAGA                    CA     90010702920
43218A3255B53B   SURENDRA     SUBEDI                       NM     90012570325
43219345872B45   SHANE        MACDONALD                    CO     90014083458
4321995A172452   EUGENE       SOWERS                       PA     90014169501
4321997715B271   QUIE         MORE                         KY     90005359771
4321B39355B58B   JOSHUA       CANTU                        NM     90011193935
4321B67848B141   SHAUN        COLLEDGE                     UT     90014586784
43221634972B36   LILY         ORTEGA                       CO     90012296349
432216AA371999   RANDALL      TAYLOR                       CO     38001106003
4322193455B58B   CHAVEZ       MAGGIE                       NM     90009969345
43222428A7B66B   LEON         THOMAS                       GA     90003954280
43222475A61967   ALICIA       SARDINA                      CA     90001474750
432231A6171999   BOBBIE       OGAZ                         CO     90005811061
432235A2284349   DOMINIQUE    FARMER                       SC     90011225022
4322374285597B   STEPHANIE    ZARATE                       CA     90014567428
4322436955B222   TAYLOR       SMITH                        KY     90009033695
43224416A91873   TRACY        CAMPBELL                     OK     21022104160
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4322455A68B16B   JERYY        CARTER                       UT     90013075506
43224763472B4B   JOSE         ARAGON                       CO     33069887634
43224AA125B174   DARRELL      ROBINSON                     AR     90014020012
43225416272B4B   ROYBAL       LOURIE                       CO     33082204162
4322542A65B271   DOUGLAS      NICHOLS                      KY     68040954206
43226A6755B52B   ALICIA       MONTOYA                      NM     90000580675
43226AAA15B597   ALBERT       SANCHEZ                      NM     90009280001
4322728155B222   BEATRIX      THOMAS                       KY     90014712815
4322732A272B4B   ALEXANDER    CHAPMAN                      CO     90012863202
4322758A591569   OSCAR        MORALES                      TX     75047105805
4322822922B828   DUSTIN       WHITING                      ID     42085442292
4322882865B174   DANIELLE     ADAMS                        AR     90013218286
4322894745B174   DEANDRA      WOODARD                      AR     90011439474
43228A1598B16B   STACY        SILVERSMITH                  UT     90012510159
4322941A671644   DARREN       FRAYNE                       NY     90015594106
43229A57A91873   SHARONDA     FOSTER                       OK     21090790570
43229A64A5597B   WILLIAM      HARRIS                       CA     90010130640
4322B45475B52B   GUADALUPE    GOMEZ                        NM     36042864547
4322B891691569   RODOLFO      SOLANO                       TX     90012168916
43231315172B43   AMPARO       MARTINEZ-DE LA TORE          CO     90003563151
4323132355B222   CANDYCE      GUY                          KY     68051063235
43231549A77595   MICHAELA     RUIZ                         NV     90014205490
4323185715B52B   ZAJID        GARCIA                       NM     90014168571
4323188712B87B   JAMES        RIVERA                       ID     90009178871
43231936A2B27B   LADONYA      JENKINS                      VA     90014379360
432323A458B165   MARC         CHAPMAN                      UT     90011073045
432327A632B27B   ALICIA       MCCOLLUM                     DC     90001477063
4323289A24B271   MILAGROS     MCALEER                      NE     90011548902
43232A2468B16B   NICOLAS      HAUFFMAN                     UT     90001790246
43232AA4572452   BONNIE       MCADAMS                      PA     90011850045
4323374A15B523   LETICIA      CHAVEZ                       NM     35053737401
432338AA674B31   KAYLA        FESS                         PA     90005338006
43234193A91569   DAYNA        CORREA                       TX     90013791930
4323513835B223   ANGELA       JONES                        KY     90002581383
43235A5A25B52B   JOANNE       SANDOVAL                     NM     90014170502
4323631382B87B   ASHLEY       MUSSATTO                     ID     90008533138
43236356172B36   ARACELY      RODRIGUEZ                    CO     90011093561
4323738365B53B   DAVID        GURULE                       NM     90010163836
4323742155597B   TAMMY        JONES                        CA     90012834215
4323774972B249   NICOLE       GREEN                        DC     90013307497
4323788644B271   KAMERON      WASHINGTON                   NE     90014578864
4323792715B597   JOSE LUIS    ZARATE                       NM     35089859271
43237A2715B174   OTIS         KING                         AR     23002000271
4323827585B271   AMANDA       BLAIR                        KY     90014782758
43238596272B36   JAVIER       BERUMEN                      CO     33064725962
4323954455B222   BIANCA       ROTA                         KY     68013465445
4323B332871999   LIANE        PENA                         CO     90009593328
4323B5A675B222   JEFF         BONN                         KY     90014545067
4324124A672B43   BRYAN        KELLER                       CO     33089052406
43241399772B36   MELISSA      MARTINEZ                     CO     90014273997
4324174285597B   STEPHANIE    ZARATE                       CA     90014567428
432421A615B222   LIA          BISHOP                       KY     90010401061
4324264145B523   ERLINDA      GONZALEZ                     NM     90006986414
4324289AA72B4B   TONY         ENCINAS                      CO     90013648900
4324293358B16B   TOM          FRANKLIN                     UT     90005549335
43242A69861967   NETH         TRO                          CA     46043410698
4324331822B87B   IGNACIO      SANABRIA                     ID     41066043182
4324343638163B   LEAH         AVIEL                        MO     90014434363
4324346118B165   MILLICENT    WOFFORD                      UT     31059384611
43243729A55939   SALLY        SANCHEZ GALINDO              CA     90015167290
4324468315B58B   GUADALUPPE   MARQUEZ                      NM     90014556831
43244983A2B87B   ROBERTA      CHAFFINS                     ID     90013819830
43245152972B36   TARAY        HALL                         CO     33091861529
4324521554B271   MADELINE     STEADHAM                     NE     27028632155
4324542875B58B   OLIVIA       CASTILLO                     NM     90011854287
43245A65A5597B   NOEL         KUMATAKA                     CA     90003540650
4324628A45597B   FRANCISCO    JURADO                       CA     90015112804
4324676955B222   STEPHANIE    EVERTS                       KY     90010077695
432471A5591569   OBED         MIRAMONTES                   TX     90010741055
4324788485B223   JOHN         HARROD                       KY     90007018848
43247952774B31   ROBERT       ROSE                         PA     90006509527
43248A55A74B31   HILDA        THOMAS                       PA     90005340550
4324B14415597B   XOCHILT      RAMIREZ                      CA     90011901441
4324B59A55B597   MICHAEL      RENFRO                       NM     90014585905
4324BA82291569   GEORGINA     CORDOVA                      TX     90013740822
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4325177735B593   CECILA       RIVERA                       NM     90001097773
43251A24161967   AISHA        TATUM                        CA     46015820241
43252383372B22   KANEISHA     GILSON                       CO     90007593833
4325271A572B36   CHERYL       VOILES                       CO     33086937105
43252778572B45   DAVID        SMITH                        CO     90009587785
43252A71191873   GLENDA       ANDERSON                     OK     21005830711
4325318518B165   JOHANNA      KAIHE                        UT     31092301851
43253668272B36   STEPHANIE    ANN TAFOYA                   CO     33066986682
4325388644B271   KAMERON      WASHINGTON                   NE     90014578864
43253A56877595   THERESA      GREER                        NV     43005260568
4325553A75B52B   ERIKA        VALLES                       NM     90015085307
4325562AA72B43   DAVID        MARTIN                       CO     90012346200
4325624892B87B   BUNNY        BRINK                        ID     41078942489
4325681145B597   SERENA       AMBRIZ                       NM     90015028114
4325755485B53B   BLANCA       RAMOS                        NM     90007865548
4325833215B53B   ELSPERANZA   LAURENCE                     NM     90010093321
4325872355B58B   CRISTAL      BUSTILLOS                    NM     90003087235
4325898445B52B   YOLANDA      ESTRADA-DEBOJORQUEZ          NM     90014169844
43259313672B54   KELLI        BAKER                        CO     90007263136
4325947334B271   ROBERT       ANDERSON                     NE     27043544733
432597A435B271   KELLEY       WARE                         KY     68064077043
4325B41A772B93   ISMAEL       VILLALOBOS                   CO     90001164107
4325B74475B174   DAVID        CALVARIO                     AR     90001967447
4326136145B52B   ORALIA       VALDEZ                       NM     36079473614
43261526276B48   HERLINDA     ROBLES                       CA     90005455262
432626A4672B36   SANTOS       MONTELONGO                   CO     90011016046
4326274195597B   ALBERTA      HERNANDEZ                    CA     90014607419
43262796572B43   JOSHUA       ARAGON                       CO     90013817965
432637A1761941   MAYBE        SUNIGA                       CA     90009537017
432644A235597B   ANNTRELL     GARCIA                       CA     49026474023
4326586655B58B   LATONIA      MELCHOR                      NM     90005098665
43266A2A451334   SYRUSS       WILLIAMS                     OH     90015300204
43266A3645B222   KELLIE       TURNER                       KY     90010170364
4326769345B58B   JAMES        GONZALES                     NM     90014556934
432676A8877595   NICOLE       CRUZ                         NV     43065496088
4326844467B453   MARTHA       BROWN                        NC     90012354446
43268997972B43   WASHINGTON   LORI                         CO     33084779979
4326B159951383   JASON        VANDEPITTE                   OH     66033951599
4326B357872B36   JUSTIN       WALES                        CO     90003483578
4326B457972B43   GORGE        GARSIS                       CO     90008704579
4327115964B271   ALMA         DE LA CRUZ                   NE     27020731596
432715A8A5B597   MYRA         MAKAI                        NM     35040825080
4327177775B271   VALENTIN     MARTINEZ                     KY     90000277777
4327217835B53B   SARAYA       CASTILLO                     NM     90011321783
43272535972B4B   EBONIE       WALKER                       CO     90010505359
4327294315B52B   ALEJANDRO    SANTOS                       NM     90015199431
43273635772B36   SHARIKA      LEAKS                        CO     90013396357
4327374415B53B   AMANDA       VALDEZ                       NM     90013927441
4327417A971999   LETICIA      VIGIL                        CO     90011431709
432749A118B165   REBECCA      MORROW                       UT     90010229011
4327517675B597   BERNADINE    KINCHEN                      NM     90013021767
4327537985597B   MARISSA      SANDOVAL                     CA     90010703798
4327598798B165   IRMA         MARTINEZ                     UT     90012079879
43275A8625B222   NEJA         HURST                        KY     90015330862
4327618AA71999   SAVANNAH     DUREN                        CO     90003501800
43276795A51334   LEONEL       SALES                        OH     90014377950
4327798575B597   JONAS        RAY                          NM     90014169857
43277A8865B222   LATRESA      BROWN                        KY     90004740886
4327917675B597   BERNADINE    KINCHEN                      NM     90013021767
43279A2815B52B   VERNON       VILLA                        NM     90014180281
4327B188272B36   EVANGELINA   MARTIN                       CO     33088641882
4327B347991523   NOHEMI       NORATO                       TX     90011203479
4327B673941455   GUSTAVO      RAMIREZ                      WI     90012386739
4327B69852B87B   ALLEN        BEAGLE                       ID     41032446985
4327B747971999   EVELYNN      HARMES                       CO     90012687479
4327B93335B271   MANUEL       SANTOS                       KY     90009549333
432811A674B271   SHALISHA     THOMAS                       NE     90015131067
43281378172B36   ANTONIO      SARMIENTO                    CO     90013403781
432817A8277554   MAGALY       MORALES                      NV     90004367082
4328199478B165   WILLIAM      ARGYLE                       UT     31055979947
4328199555B597   SHAWNDA      BALL                         NM     90014169955
4328228415597B   PRISCILLA    HINOJOSA                     CA     90013492841
4328238514B271   DONTE        EDWARDS                      NE     90014203851
4328256715B523   D'YANIRA     PEREZ                        NM     35091675671
43282A7915B52B   ISMAEL       AVILA- CORRAL                NM     90014180791
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43283347954B42   SHEILA           TRITLE                   VA     90010263479
43283564572B36   CELESTE          CALDWELL                 CO     90010035645
4328382A55B597   CHARLOTTE        CORDOVA                  NM     90014888205
43283A6A441265   CANDACE          COOK                     PA     90013870604
4328412545B52B   PAT              BLATTI                   NM     90014181254
4328427115B271   ADA              DEVINE                   KY     68031682711
4328435A655939   ENRIQUE          RUIZ                     CA     90014583506
4328477225B58B   JOANN            MERCURE                  NM     35017407722
4328477838B165   TRAVIS           BLOOD                    UT     90013747783
43285642A55939   AVELINA          ORTEGA                   CA     90000696420
43285AA6A61963   JAVIER           NAVARRETE                CA     90012870060
43286669272B43   JOHN             DOCHTERMAN               CO     90013826692
43287755372B36   TIFFANIE         JOHNSON                  CO     90010137553
43287A9235B222   VANESSA          PATTERSON                KY     90014410923
4328827924B271   RIGOBERTO        FLORES                   NE     90013212792
4328828135B52B   GERARDO          TORRES-MURILLO           NM     36055162813
4328874165B523   ROSALVA          RINCON                   NM     90006987416
43289248772B36   OCTAVIO          GARCIA                   CO     90007672487
4328B118971999   KARL             GRASMICK                 CO     38083111189
4328B12A55B53B   ANTHONY          SAMORA                   NM     90012801205
4328B558321981   ALYSSA           LEVERMAN                 IN     90015565583
432911A125B222   SEAN             DUNN                     KY     68062161012
4329151812B87B   YVONNE           SILVA                    ID     41092985181
4329227985B52B   RUTH MARGARITA   LOPEZ                    NM     90014182798
43292444872B43   NICOLE           STUBBLEFIELD             CO     90008404448
43292467A86453   RACHEL           SEARLE                   SC     90014994670
43292724A2B27B   GERSON           LEMUS                    DC     90000337240
4329279A391569   ALEJANDRO        HERNANDEZ                TX     90009917903
4329334A35B58B   ANGELITA         CARRASCO                 NM     90013893403
4329358215B597   RENEE            SANCHEZ                  NM     90014575821
43293A57491549   ROSALINDA        MEDINA                   TX     90011450574
4329466255B53B   JERRY            ESPINO                   NM     90007866625
432946A125B597   BECKY            GAFFNEY                  NM     90013356012
432946A274B271   AUSTIN           SULLIVAN                 IA     90009176027
4329481235B222   PRETTYGRL        THRNTON                  KY     90007518123
43294A25191873   NATHAN           HARRIS                   OK     90013280251
43294A6545597B   FERNANDO         HERNANDEZ                CA     49072670654
4329539A62B27B   CALVIN           ROB                      DC     90015383906
4329549485B52B   KAROLINA         SANCHEZ                  NM     90014184948
4329591962B27B   TRAVONE          PERSON                   DC     81016949196
4329651414B271   EDRUN            BOYER                    NE     27029215141
43297124172B43   TERRANCE         SHAW                     CO     90012731241
4329743935B58B   RICHARD          SANCHEZ                  NM     35023484393
432974A955597B   ANEISHA          OCANAS                   CA     90010664095
4329813515B52B   CONSTANCE        LUJAN                    NM     90002721351
43299166A55939   GUILLERMINA      ORTEGA                   CA     90011211660
432993A9372B43   NATALIE          DAVIA                    CO     33019503093
4329952398B16B   ALFONSO          MONTES                   UT     31080565239
432996A8A5B597   MARIA            ARAGON                   NM     90010806080
4329972414B271   RICHARD          JOHNSON JR               NE     27011147241
4329B259172B43   MEAGAN           HERALD                   CO     90009582591
4329B529691569   MORENO           ISAAC                    TX     90007655296
4329B69155B58B   ASTRID           CAHUEX                   NM     90011116915
4329B73914B539   TRAICE           ROBINSON                 OK     90010957391
432B1413172B36   DANIEL           VARGAS                   CO     33077364131
432B178A12B27B   TONDALIERE       YOUNG                    DC     81051357801
432B1AA925B597   DELILAH          SCHOBEY                  NM     90012350092
432B25A355B222   JULIO            LOPEZ                    KY     68017965035
432B265785B58B   ALEXIS           AARON                    NM     90014416578
432B296475B597   LATISHA          ROMERO                   NM     90011109647
432B3152551383   ERON             JOHNSON                  OH     66079751525
432B338115B53B   DIANA            MOLINAR                  NM     35045923811
432B367255597B   ONECHAN          LOUANGPHOM               CA     49053496725
432B395455B174   BENJAMIN         CARBALLO- VARGAS         AR     90011759545
432B4344861967   RAQUEL           MENDOZA                  CA     90012093448
432B5146661967   NICOLE           HAIRGROVE                CA     90015231466
432B592295B53B   BRADFORD         BURKHOLDER               NM     90014339229
432B6128191873   AMBER            LANDA                    OK     90011071281
432B613845B52B   HECTOR           HUGO MARTINEZ            NM     36023421384
432B635117B49B   JANCE            MOSLEY                   NC     90004793511
432B6653577595   JEREMY           JOHNSON                  NV     90015116535
432B7136691394   VICTOR           ORTIZ                    KS     29057041366
432B7227893747   JOHN             DERHAM                   OH     90011262278
432B7251A7B453   CRYSTAL          MALLARD                  NC     90011592510
432B762775134B   MARY             HACKER                   OH     90001616277
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432B7848771999   PAMELA       GALLARDO                     CO     38078808487
432B9A5187B66B   AMANDA       COX                          GA     15011830518
432BB23663B356   HTT          REALTY                       CO     90003702366
432BB94675B174   COREY        SUMMINS                      AR     90014859467
433118A335B58B   KILL         CEDELLA                      NM     90014078033
4331263315B52B   LOUIS        SANCHEZ                      NM     90014186331
4331323315597B   JESUS        MALDONADO                    CA     90012102331
4331335825B174   IDA          STROCK                       AR     23037783582
43313AA7151383   HERBERT      AARON                        OH     90014640071
43314258A5B53B   MARY         SILVA                        NM     35056562580
4331483413619B   VERONICA     SENICEROS                    TX     73588858341
4331498715B597   LORENA       MARQUEZ                      NM     35091459871
43314A59172B43   MARGARITA    LOPEZ                        CO     33026590591
4331536155B222   TYREE        MITCHELL                     KY     90014923615
43315A9392B87B   ANTHONY      CADA                         ID     90000540939
4331641955B597   BARBARA      ARCHULETA                    NM     90012004195
4331671945B174   SERERA       GILLIAMS                     AR     90006027194
43316AA8861967   ADRIANA      MAXIMILIANO                  CA     90001680088
4331725378B16B   ANGELICA     ALONSO                       UT     90012972537
43317A9548B165   CAROLYN      HUNGER                       UT     90009880954
4331896565B52B   EDUARDO      SALGADO BARAJAS              NM     36068859656
4331925335597B   LOUISA       LOPEZ                        CA     49079992533
433197A525B52B   JOSE         GONZALEZ                     NM     90014187052
4331B117561967   RENEE        GARZA                        CA     90013451175
4331B52338168B   LAURIE       BODEN                        MO     90012765233
4331B5A555B271   ALICIA       MOLINA GARCIA                KY     90011545055
4331B63235597B   BRENDA       NUNEZ                        CA     49049896323
4331B63315B52B   LOUIS        SANCHEZ                      NM     90014186331
43322291857B97   ROBERT       HOPKINS                      PA     90014152918
4332233294B945   DEAN         LEWIS                        TX     90013693329
4332238A84B271   SIARA        MITCHELL                     NE     90010253808
4332263485B271   ANTHONY      AILIFF                       KY     90006676348
43322773772B4B   SHERRY       JAGIELLO                     CO     33067837737
43322A8593B336   ROSIMEIRE    MACEDO                       CO     90006240859
4332353315B52B   STEPHANIE    WOOD                         NM     36085405331
43323569672B36   TOBY         PADILLA                      CO     33072955696
43324387172B4B   DESIRAE      MENDOZA                      CO     33075913871
4332451A421981   OMYI         ARMSTRONG                    IN     90015365104
43324925672B36   GEORGE       CHENAULT                     CO     33084769256
43324A2835B271   TERRANCE     HOLT                         KY     90009110283
4332539328B16B   HONILYN      DARRINGTON                   UT     31026673932
43326432A77595   SAYRE        INURRIAGA                    NV     43062664320
43326898172B43   GREGORY      CASTRO                       CO     33042208981
4332749315B375   NICK         PORTER                       OR     44554544931
43327553A5B52B   ALEJANDRA    DIAZ-FIERRO                  NM     36025625530
4332835957B49B   TIFFANY      ELDER                        NC     90000143595
4332966995B58B   MICHAEL      MARQUEZ                      NM     90013256699
43329717A2B87B   CHRIS        MATSON                       ID     90002237170
4332B448472B43   FRANCISCO    MEDINA                       CO     33039684484
4332B559A91569   RANDY        RAULSTON                     TX     75017785590
4332B68732B27B   ELSY         MONTESINOS                   DC     90004166873
4332BA3454B271   OSCRA        STARKS                       NE     90009140345
4333258975597B   MARIA E      MARTINEZ                     CA     90009485897
4333271A12B87B   ELIZABETH    WEISENBACH                   ID     41098127101
4333359635B53B   KARLA        BONET                        NM     90007865963
4333362457B824   BRANDON      JONES                        CA     90013616245
4333362515B174   DESHONDA     ELLIS                        AR     90014196251
4333387852B87B   ROBYN        CORNING                      ID     90014438785
4333511A661963   DERRICK      HOWARD                       CA     90012361106
4333572435597B   MAIRA        NAVARETTE                    CA     90003177243
43335A42677595   JONATHAN     MORGAN                       NV     90012340426
4333632598163B   BYRON        TAYLOR                       MO     90007183259
4333637345B53B   RONALD       HYATT                        NM     90005923734
43336492172B4B   PEDRO        GARCIA                       CO     33007124921
4333753482B27B   JUANA        LAZO                         DC     90006615348
4333822A35B597   JUDITH       RENVILLE                     NM     90013022203
4333899395B58B   LETICIA      ORTIZ                        NM     35083989939
43338A33A5B52B   IRENE        MOX                          NM     90013930330
43339131972B4B   ARTURO       HERRERA                      CO     90010731319
4333928AA5B174   DASIA        DOLBERRY                     AR     90013352800
4333943295B52B   JUANA        LUNA-FLORES                  NM     90014204329
43339A2545B597   GABRIEL      CHAVEZ                       NM     35064300254
4333B499A77595   CHARLES      ERNST                        NV     90004164990
4333B86964B271   CAMILLE      MILLER                       NE     90010478696
4333BA67991873   JUANA        BELTRAN                      OK     90010310679
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4334174375B597   SABINO       MARTINEZ                     NM     90015127437
43343177672B4B   MARTHA       MEZA                         CO     90001731776
4334343934B271   KHRISTY      ADAMS                        NE     27025504393
4334362865B145   TIFFANY      CHAVIES                      AR     23046726286
43343636A5B222   PAUL         SESSIONS                     KY     90015326360
43343897A7B66B   LAKESHIA     ROBINSON                     GA     15012378970
433438AA73B394   PATRICK      TAFOYA                       CO     33002038007
43344A2455B222   LEANNE       MCCUTCHEN                    KY     90000170245
4334547A143576   ROBERT       NEART                        UT     90013264701
4334634A691569   CHRISTINE    CABRALES                     TX     90013463406
4334654342B27B   JUDY         ANDERSON                     DC     90011125434
43346783572B39   JEFFERSON    NALLEY                       CO     90010187835
433472A9A5B52B   KATHY        LUJAN                        NM     90012042090
4334764372B87B   JOSHUA       JOHNSON                      ID     90014826437
4334774975B53B   JOSE         JUAREZ                       NM     90013537497
43347894124B7B   BREYANNI     SAMUEL                       DC     90014938941
43347A6522B27B   KEVIN        DIAZ                         DC     90012110652
4334824975B52B   LEONIDES     LOYA-BOJORQUEZ               NM     90014232497
4334853935B52B   FABILOA      MARQUEZ                      NM     90014205393
4334858A54B568   CODY         WESTPHAL                     OK     90013265805
43348922A5B581   JESUS        MARQUEZ                      NM     90006149220
43349136A5B52B   YVONNE       JOHNSTON                     NM     90005651360
433491A4A77595   JUAN ANGEL   RAMIREZ                      NV     90013141040
433491A6961963   KYLE         MOORE                        CA     90009081069
4334942755B174   PORSHIA      WILLIAMS                     AR     90014704275
4334B459971999   ROGER        SELLS                        CO     90003984599
43351319372B4B   SHAUNTAE     ARRINGTON                    CO     90012653193
43352221272B36   JAKE         PHILLIPS                     CO     90002142212
4335269A45B52B   CARMEN       PENA GONZALES                NM     36027766904
4335296595B58B   ARIEL        GARCIA                       NM     90013319659
43352A5335597B   RICHARD      ANTHONY                      CA     90013140533
433535A7A91569   JESSICA      ARREDONDO                    TX     90010895070
4335447532B27B   TYMESIA      FITZ                         DC     90013754753
43354A6A78B165   SHANIE       VINCENT                      UT     90014850607
43354A7345597B   RACHEL       GARCIA                       CA     49078500734
4335579A391873   CAMBRYNN     DOBSON                       OK     90013817903
4335664714B271   REYNA        AMBROSIO                     NE     27060856471
43356933A51334   TYE          MIDDLEBROOK                  OH     90010609330
4335766215597B   ARACELI      LOPEZ                        CA     90010816621
43357785672B36   JOHANNA      SIERRA                       CO     90004027856
4335781215135B   ROBERT       THOMPSON                     OH     66052578121
43357A7935597B   MARTHA       LEGUIZAMO                    CA     90004000793
4335868975B223   BRITTANY     GOODMAN                      KY     90004096897
4335B436361967   JAIMEE       BANZER                       CA     90010374363
4335B4AA377595   TYRONE       SUSSMANN                     NV     90014244003
4335B56995B597   MAGALI       MERAZ-MOLINAR                NM     35013045699
4335B734471999   SHANE        VARGAS                       CO     90009177344
4335B91178B16B   BRITNEY      MANATAU                      UT     90013269117
4336196425597B   RUBY         YANEZ                        CA     90014579642
43363A86855997   RAYMOND      BIBB                         CA     49081820868
43363AA185B53B   JESSICA      PEREZ                        NM     90004690018
4336474665B597   SANTIAGO     SISNEROS                     NM     90014497466
43365155A51334   MALIK        KIRKSEY                      OH     90012971550
4336569128B165   ALEXUS       ROUSH                        UT     90013136912
4336641A68B165   EBRIMA       BAH                          UT     31062204106
4336676645B597   RAQUEL       TORRES-LEDEZMA               NM     90012797664
43367A86477595   MARISELA     JUAREZ                       NV     43009150864
4336827A45B52B   MANDY        SANCHEZ                      NM     90000592704
43368A2445B597   AARON OMAR   SANCHEZ MUNOZ                NM     90014850244
4336913144B271   YENIS        CARCAMOS-RAMOS               NE     90013271314
433691A7591394   RASLAD       FORTE                        KS     90012481075
4336923A43B37B   MARK         MCCASKEY                     CO     33069952304
4336941465597B   SUMMER       BECKER                       CA     90009414146
43369687272B43   MICHAEL      ZAMORA                       CO     90012876872
4336B644361967   CORETTA      BUCKLEY                      CA     90001156443
4336B936A5597B   MARIAH       MANCHA                       CA     49017679360
4336B9A8972B36   JUANA        GAMBOA                       CO     33084829089
43371A3955B597   OSCAR        BERNAL                       NM     90014170395
4337266786198B   LORENA       LOPEZ                        CA     90012686678
4337456712B27B   ALINA        JOHNSON                      DC     90014835671
43375A27A5B597   HEATHER      FLORES-ANTILLON              NM     35055920270
43375A3815B52B   WESLEY       CHAVEZ                       NM     90015010381
433771A3751383   CARMEN       RODRIGUEZ                    OH     90014631037
43377381A5B52B   JOSE         FLORES                       NM     36066463810
43377392572B4B   LEO          VILLELA                      CO     90013213925
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4337822A874B31   JESSICA      STANLEY                      PA     90014042208
4337847A251334   BRETT        LURIX                        OH     90012074702
43378824872B36   NATE         GONZALES                     CO     90014668248
4337969822B87B   CRYSTAL      MCCAFFREY                    ID     90012906982
43379A4A32B27B   RENEE        GRAY                         DC     90013700403
4337B99315B58B   TONIA        CHRISTIANSEN                 NM     35071499931
43381367972B36   STEFFAINE    BOOKHARDT                    CO     90015233679
43381A81491569   ADRIANA      TORRES                       TX     90012230814
433829A875597B   EZEKIEL      HERNANDEZ                    CA     90014589087
43382A48357134   JULIO        REYES                        VA     90000570483
43382A6A78B165   SHANIE       VINCENT                      UT     90014850607
4338334795B271   ALETIA       SMITH                        KY     90006183479
43383515272B36   MARIA        VASQUEZ                      CO     33080515152
4338482432B87B   GLORIA       ARROYO                       ID     90005028243
43384994A91569   CEASAR       ALBA                         TX     90002699940
4338637274B271   MARY         MITCHELL                     NE     27043613727
43386687374B31   ALICE        ROBERTS                      PA     90009756873
43386711A51383   JENIFER      RIDENOUR                     OH     66050797110
43386728272B36   ROBERT       JEFFERS                      CO     90001447282
43386A1278B165   JEQUALA      LASHA                        UT     90013710127
43387357872B4B   KIARA        BRICE                        CO     90012513578
4338751915B523   SION         ROMERO                       NM     35078475191
43387666672B36   REGINA       JEFFERSON                    CO     90014816666
4338788475B52B   VERONICA     DOMINGUEZ                    NM     36028788847
4338818635B58B   CHRIS        LAVATO                       NM     35095941863
4338858978B16B   RENEE        SEELY                        UT     31054985897
433889AA171999   ECHOE        ENDRESS                      CO     90006159001
43389239A5B271   CRISTIAN     VALIENTE                     KY     90008922390
4338992968B165   DUSTIN       NEELEY                       UT     90010439296
4338998145597B   VICKI        MATTHAI                      CA     90014579814
43389A78961963   ELIZABETH    MARTINEZ                     CA     90011930789
4338B47A377595   ROSENDO      TALANCON-URIBE               NV     90014244703
4338B69738B165   CLIFFORD     MOORE                        UT     90015016973
4338B842151383   LARION       BITEL                        OH     90009398421
4338B96682B87B   STARLA       DISMUKES                     ID     90010889668
43391A4565B53B   TOBY         OLDAKER                      NM     90013480456
4339251684B271   TERESA       DAILEY                       NE     27024965168
4339282432B87B   CRYSTAL      L ENGLISH                    ID     90009388243
4339349529155B   LUIS         QUINONES                     TX     90007364952
433934A5951555   MIKE         HUSS                         IA     90014074059
4339363885B53B   SHAUNTENAY   CAMPBELL                     NM     90010356388
4339392135B53B   JUAN         MORENO                       NM     90014079213
4339398145597B   VICKI        MATTHAI                      CA     90014579814
43393A57691569   RAUL         RUYGAZA                      TX     75098650576
43394A93831437   TED          COOKSEY                      MO     90004180938
433953A995B52B   JONATHAN     RAMIREZ                      NM     90014243099
4339552A472B4B   EVVIE        BAKER                        CO     90008915204
4339722925B53B   ARNOLDO      DOMINQUEZ                    NM     90014382292
4339789955B52B   JULIETA      RODRIGUEZ SOSA               NM     36041128995
43397A35471934   STACEY       MUNIZ                        CO     32022380354
43398A6665B55B   MARK         CERNA                        NM     90010690666
4339968115B53B   SOLIS        MONICA                       NM     90005846811
4339985265B53B   ISAAC        LUCERO                       NM     90014138526
4339B164691873   CLIFFORD     RAGLIN                       OK     90005011646
4339B179A5597B   ADAM         ROBINSON                     CA     90014621790
4339B71192B27B   MONIQUE      BLACK                        DC     90011147119
4339B97195B597   DANIEL       DELUNA                       NM     90011659719
433B127138B165   RAMON        LOPEZ                        UT     31042612713
433B1323461963   JONATHAN     CAMBEROS                     CA     90013923234
433B1A4575B271   JOHN         HALL                         KY     90005330457
433B2161A7B66B   ANGWLICA     OLIVER                       GA     15049961610
433B22A8361963   ANA          RODRIGUEZ                    CA     90014532083
433B2527571934   CHRISTINA    DEVEREAUX                    CO     90003285275
433B338345B53B   DESIREE      LOZANO                       NM     90013833834
433B3654191873   KELSEY       ANDERSON                     OK     21065756541
433B3682561967   ELIZABETH    VARGAS                       CA     90014866825
433B38A632B87B   MELLY        CASILLAS                     ID     90012218063
433B419335B523   DOMINIC      RIVERA                       NM     35017431933
433B4255A5B597   JENNIFER     ARAGON                       NM     90014572550
433B42A842B27B   BRITTANY     SCOTT                        DC     90014922084
433B443115597B   ANGELINA     DUARTENUNEZ                  CA     49075224311
433B4653661967   DANIEL       CARDENAS                     CA     46005086536
433B466562B27B   SMOOCH       JOHNSON                      DC     90010676656
433B4775372B4B   ROSE         REYNOSO                      CO     90007107753
433B4926A5B174   GLORIA       CHARLESTON                   AR     23087209260
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433B4A23451383   LATONIA       FOSTER                      OH     90014630234
433B5565255939   REGINA        LARA                        CA     90010545652
433B7165877595   LYNNETTE      THOMPSON                    NV     90013651658
433B7632891569   LYDIA         MAR                         TX     90008956328
433B8158A8B165   JONNY         SCHURING                    UT     90008491580
433B823A47B334   ROSA          REYES                       VA     90005082304
433B941145B551   VALERIE       OROPEZA                     NM     90014334114
433B947665B53B   MICHAEL       SANCHEZ                     NM     90014714766
433B949245B271   DONNIESE      BRADLEY                     KY     68038174924
433B954315B174   JAIME         REYES                       AR     23081735431
433B96AAA72B43   BILLY         HOLMES                      CO     33061536000
433B989952B87B   STEPHANIE     STEVENS                     ID     41023628995
433BB474A24B7B   AURA          HERNANDEZ                   DC     90004984740
433BB816291873   SHELLY        TUMMONS                     OK     90014728162
433BB817A8B165   ISRAEL        RODRIGUEZ                   UT     90001988170
433BB84585B597   PAUL          PEREA                       NM     90012668458
433BB89237B49B   TERESA        CROWDER                     NC     11078708923
43411A4798B183   KRISTY        MANGAHAS                    UT     90001360479
434121A142B27B   CHRIS         EASTWOOD                    DC     90013311014
4341253A35B55B   ELIZABETH     GAMBOA                      NM     90004215303
43412872972B22   JOE           TAYLOR JR                   CO     33033648729
4341289885B597   JOE           HERRERA                     NM     35057618988
43412A1438B165   MARIA         ECHEVERRIA                  UT     31095990143
434147A7A5B271   PRECIOUS      BARNETT                     KY     90013857070
4341638348B16B   MICHELLE      DYE                         UT     90005303834
434167A8461967   LEONOR        LOBRANO                     CA     90000657084
434174A1A51334   RICO          COX                         OH     90014084010
434176A7272B36   DANA          LEAKS                       CO     90010386072
4341816565B52B   MIGUEL        LOPEZ                       NM     36076861656
4341851A391873   DANIEL        ROBERTS                     OK     21011715103
4341872A45597B   DIANA         LOPEZ                       CA     49056927204
4341895292B274   BRIAN         JOAQUIN                     DC     90013819529
43418A7725B271   KARLA         MOARAN                      KY     90014130772
4341B373761967   CLAUDIA       AYALA                       CA     46027473737
4341B43785B174   SERIGO        ALVAERZ                     AR     90012614378
4341B4A3A72B36   ANSHENEA      DICKERSON                   CO     90013694030
4341BA5817B262   CLARISSA      LONG                        NV     90013140581
4341BA81A3B343   JAVIER        LUNA                        CO     90009420810
4341BAA715B58B   TRAVIS        BUDGETT                     NM     90015130071
43421389172B43   VANESSA       VELASQUEZ                   CO     33089963891
4342181858B165   KENNY         RICHARDSON                  UT     90014418185
4342199484B271   DANIEL        BABER                       NE     27086069948
4342266915B53B   KARREN        JIRON                       NM     90007866691
434232A495B597   DUSTY         SMITH                       NM     35056522049
4342337144B539   JONATHAN      RAMON                       OK     90010783714
4342351A95B58B   GEORG         YZQUIERDO                   NM     90002325109
43424177A71933   ELLEN         COONEY                      CO     90013301770
434246A978B165   JOHNNY        MAEN                        UT     90014706097
4342474A351334   DAVID         HUNTER                      OH     90005147403
4342658A872B43   CHRISTOPHER   HARRISON                    CO     90002585808
4342663445B58B   BLANCA        BRITO-SANDOVAL              NM     90011256344
43426A2317B66B   MORGAN        BARNWELL                    GA     15051440231
4342722285B222   SHAKEENAH     HUDSON                      KY     90013032228
43427A88657134   MARIA         MACGILLIVRAY                VA     90014380886
43427A93A51334   JASON         MORROW                      OH     90014560930
434281A465593B   KATIE         FUCHS                       CA     90010611046
434281A8191394   TRULI         MARION                      KS     90007161081
434282A865B52B   EDGAR         CASTRO                      NM     90010662086
4342844AA91873   SCOTT         PARKMAN                     OK     90014504400
43428459A2B87B   TERRY         OLSON                       ID     41001994590
43428A9655B271   CATHERINE     SMITH                       KY     90014130965
4342B17152B921   ROBERTO       SANTILLAN                   CA     90009321715
4342B434461963   EHRREN        POLLARD                     CA     46090544344
4342B66512B87B   KAMI          LEETCH                      ID     41065286651
4342B799284336   LAKEYA        STEWART                     SC     90014897992
43431541A91394   RICARDO       GUTIERREZ                   KS     90006365410
43431637472B4B   MARTIN        FIERRO GARCIA               CO     90008276374
4343176182B27B   PAUL          WARD                        DC     90013507618
43432292A2B87B   AURTHER       BROADSWORD                  ID     41001022920
4343385285B271   JOANNA        LANGLEY                     KY     68040698528
4343428778B16B   BUDDY         PHILLIPS                    UT     90013352877
434348A645597B   ALEXIS        GONZALES                    CA     90007918064
43435882172B43   MICHELLE      MEDINA                      CO     33008328821
4343648425B174   KAREN         COUNTS                      AR     23000524842
4343774A15B53B   LETICIA       CHAVEZ                      NM     35053737401
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43438151472B43   CHEEK          PATRICIA                   CO     33083401514
43438A4175B597   GUADALUPE      SANCHEZ                    NM     90003990417
43438A8365597B   ELIAS          HERNANDEZ SANCHEZ          CA     90015140836
43439346172B4B   ESMERALDA      FEDERICO                   CO     33053473461
4343937574B271   LUIS ALBERTO   HERNANDEZ                  NE     90014113757
4344114348B157   ANGELA         JOHNSON                    UT     90009951434
43443946672B4B   LAURA          TRUJILLO                   CO     90013189466
434447A2155939   CHIA           LAO                        CA     90007277021
4344483A471999   ROBERT         SIMMONS                    CO     90009248304
434455A7861963   ARIEL          IRIBE                      CA     90010675078
4344599615B597   CLARA          JOHNS                      NM     35089909961
4344618962B87B   ROBERT         LEWIS                      ID     90001661896
43447597A4B271   SHERYL         RUCKMAN                    IA     27052295970
434478A7A2B87B   ROLF           MEIER                      ID     41069048070
4344844755B58B   ARMENDARIZ     THOMAS                     NM     90008184475
434491A465B174   RANDALL        MORGAN                     AR     90007201046
4344929247B698   BRADFORD       MOORE                      GA     15010172924
4344B1A1372B36   JENNY          WEST                       CO     33012471013
4344B919872B47   CASSANDRA      TORREZ                     CO     90014399198
4344BA52261458   DANIEL         LAMBERT                    OH     90015080522
4345119195597B   ELIZABETH      RAMIREZ                    CA     90010171919
4345186465B174   LAKESHA        SMITH                      AR     23087538646
43452214A2B87B   JOSEPH         BODMAN                     ID     41049942140
4345237A372B36   MICHON         MELLENBERNDT               CO     90012783703
4345295184B271   GABRIELA       MATA SANCHEZ               NE     90013929518
4345352345B53B   BRETT          BEAUCHAMP                  NM     90011425234
43454A54355939   DAWAYNA        POWELL                     CA     90014770543
434552A9A5B58B   RICHARD        SISNEROS                   NM     90011062090
43455532372B4B   LISA           DAUNORA                    CO     33081125323
4345567662B872   JANINE         MORGAN                     ID     90008416766
4345584515B222   MARY           PETTY                      KY     68099568451
434562A5851334   DONNA          MCDANIEL                   OH     90010142058
4345674195597B   ALBERTA        HERNANDEZ                  CA     90014607419
4345688465B174   BOSWANA        CARTER                     AR     90014918846
4345741AA5B222   ADAM           BURT                       KY     68064864100
4345742A72B87B   REBECCA        HOLVERSON                  ID     41009304207
4345775925B174   LAKEISHA       GIRLEY                     AR     90012867592
43457873A91873   DAVID          BROOKS                     OK     90008718730
4345795225B271   SHARON         YENO                       KY     90011709522
43457A13961967   RENFERY        MARTINEZ BERUMEN           CA     90013120139
434581A7177595   SALLY          WELCH                      NV     43077571071
4345823775B597   ERICKA         CAMPA-LIRA                 NM     90014202377
43458474A72B36   OSCAR          SERRANO RUIZ               CO     90000994740
43459A73572B36   VERA           MEDINA                     CO     90009190735
4345B183172B43   ADDUL          KWIDER                     CO     33095031831
4345B526555939   ANTHONY        OLMOS                      CA     90007605265
43461126572B4B   RODNEY         YOUNG                      CO     33053731265
4346139684B271   DEMETRUIS      SPRIGHT                    NE     90014743968
43461477A5B53B   JOSE           SANCHEZ                    NM     90007094770
4346185365B58B   HENRY          LUCERO                     NM     90010778536
4346269932B27B   SHANEKA        HARRIS                     VA     90008306993
4346282844B271   ALEXANDRA      DEFORD                     NE     27060798284
434631A545B58B   JERRY          DETTER                     NM     35042541054
4346345555B52B   CHRISTIAN      CASTRO                     NM     90007164555
4346398595B271   MICHAEL        MULFORD                    KY     90007669859
43464452372B36   SANTOS         HERNANDEZ                  CO     90009224523
43465138172B36   JACQUELINE     WARNER                     CO     33063821381
4346519985B58B   LORENA         TRUJILLO                   NM     35082641998
4346532825B222   TRINITY        CAMPBELL                   KY     90012743282
4346534814B569   GAVIN          WEIMER                     OK     90010353481
43465A8155B52B   JESSICA        ARMIJO                     NM     36048080815
4346827692B87B   BRYAN          TURNER                     ID     90013662769
4346833845B271   MARY           MADDOX                     KY     90015073384
4346835178B165   NEILSON        MORGAN                     UT     90008493517
4346876815597B   JESENIA        BERNAL                     CA     49040737681
4346922665B597   MICHELLE       ETCITTY                    NM     90013022266
4346931A15B53B   CHARLES        JAMES                      NM     90010013101
434694A3A61963   LETICIA        GAMBOA                     CA     90013364030
43469553A5B52B   ALEJANDRA      DIAZ-FIERRO                NM     36025625530
4346959165B174   LATASHA        GRANTAHM                   AR     90014695916
4346968115B53B   CAROLINE       VALDEZ                     NM     90014716811
43469A4872B87B   CINDY          SCHUMANN                   ID     41078960487
4346B31375597B   ELOISA         SUAZO                      CA     90012353137
4346B79695B53B   ALDO           RODRIGUEZ                  NM     90010837969
4346BA35572B4B   LISA           TSCHOOP                    CO     90012030355
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4346BA6522B27B   KEVIN         DIAZ                        DC     90012110652
43471139A8B886   REALITY       CHONIONG                    HI     90015371390
4347148485B174   SHAKAWANNA    HADLEY                      AR     90012654848
43471561A5B52B   JOSE          RIVERA                      NM     90006415610
4347159965597B   ANTONIO       CAMACHO                     CA     90015195996
43471722172B4B   SHIRLEY       MARTINEZ                    CO     90015137221
4347178A12B27B   TONDALIERE    YOUNG                       DC     81051357801
43471A7A75B53B   MARIA         SANTANA                     NM     90011920707
4347229815B53B   LEROY         ULIBARRI                    NM     90014442981
4347363625B174   JON           MARTIN                      AR     23017286362
4347441A12B87B   CHAD          HOFFMAN                     ID     90014624101
43475A58455939   JUAN          MARTINEZ                    CA     90007610584
43476198A5B523   ANGELITA      RAMOS                       NM     90001031980
4347641A671934   ROBERT        MCKEE                       CO     90010394106
43476A8165B52B   ARMAS         MEDINA                      NM     90014730816
43477394A5B523   ANNA          ZUBIA                       NM     35059923940
4347799685B52B   SILVESTRE     NAVA                        NM     90013049968
4347878A25597B   ROSIO         VALLEGOS                    CA     90011427802
4347937785597B   GLORIA        DE LA PENA                  CA     90001123778
4347973348B16B   RIGOBERTO     ALFARO                      UT     90010667334
43479A27661967   JOSE          GARCIA                      CA     90010060276
4347B131A4B271   DAVID         LUIKENS                     IA     90010471310
4347B34815B53B   CHRIS         YAZZIE                      NM     35017213481
4348135775B597   ROSALBA       TORRESSOTO                  NM     35096303577
4348183A88168B   MICHAEL       SMITH                       KS     29071878308
4348187272B27B   CHRISTINE     ARMSTRONG                   DC     90000588727
434821A2872B4B   MARGARITO     TORRES                      CO     90014851028
434823A6777595   MIGUEL A      ROJAS                       NV     90010323067
43482443A5B52B   ESTEVAN       ALARCON                     NM     90010334430
4348284A68B16B   ANA MARIA     GONZALEZ-HERNANDEZ          UT     90010488406
43483285A5B52B   TOMMY         RAEL                        NM     90014732850
434835A8972B43   PORSHA        BLACK                       CO     33018605089
43484162472B4B   MARK          SLOSKY                      CO     33028131624
434841A525B389   TINA          MANTIA                      OR     90007321052
4348429815B597   ADRIANA       SUBIA                       NM     35013092981
4348438645B271   DABONDRE      GLENN                       KY     90006923864
43484A6935B58B   ERIKA         GUERECA-LARES               NM     90013770693
4348528925B52B   DENNIS        RIVERA                      NM     90012332892
434856A7391569   JUAN          RODRIGUEZ JR                TX     90013216073
4348575195597B   KASTIN        RODRIGUEZ                   CA     49050957519
4348588465B174   BOSWANA       CARTER                      AR     90014918846
43485A53972B36   SARA          PACHECO                     CO     90012530539
4348643482B87B   JANI          TUCKER                      ID     41018124348
434872A5A5B174   MADELYN       KLARK                       AR     90015112050
4348746235B597   DEREK         VICENTE                     NM     90012404623
434879A1698B25   SNIDER        MARIE                       NC     11039649016
4348833232B27B   DEMETRIUS     AGNEW                       DC     90014133323
434889A5977595   JESSICA       PINA GONZALEZ               NV     90008729059
434894A285B271   JARMIE        DILLARD                     KY     90010884028
4348977265597B   JOHN          AGWU                        CA     90012767726
4348B944161967   TYRONE        JOHNSON                     CA     90014699441
4349183A961967   LETICIA       ALVAREZ                     CA     90012178309
43492279A9189B   SAMANTHA      ESPINOZA                    OK     90003622790
434923A3171999   JAVIER        MENDOZA                     CO     90013463031
43492955A5B174   NICOLE        YOUNG                       AR     90010939550
4349311534B271   JOSHUAD       CAUDILL                     NE     90013201153
4349358418B16B   JESSICA       ESCARCEGA                   UT     31082075841
4349361A85B597   AMY           PENA                        NM     90004426108
43493A9682B27B   JASMINE       CREWS                       DC     90015110968
4349415382B27B   ANGELA        DAVIS                       DC     90013041538
4349537388B16B   TUAI          MISIMA                      UT     90008793738
43495386472B36   FRANCISCA     SALGAR                      CO     33018853864
4349573234B271   MARIA         PRADO                       NE     90014247323
434961A862B27B   DAVID         WILLIAMSON                  DC     90014841086
4349651195B52B   JESUS         MORALES                     NM     90014735119
4349675925B174   LAKEISHA      GIRLEY                      AR     90012867592
43496912A61967   BLANCA        VAZQUEZ                     CA     90013309120
4349696135597B   ABBY ASHLEY   PACHECO                     CA     90014589613
4349767248B16B   CAMEROM       COOPER                      UT     90010876724
4349833415B226   DENISE        EDDINGTON                   KY     90005393341
4349882A15B271   TORREONA      SEARCY                      KY     90006458201
4349889A861963   JAMES         PHYFIHER                    CA     90012808908
43498A9768B532   DAVID         CARLISLE                    CA     90015140976
4349985528B165   DAVID         JONES                       UT     90003638552
4349B215977595   ABELARDO      VILLEGAS                    NV     43070472159
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4349B41A68B165   EBRIMA       BAH                          UT     31062204106
4349B89154B271   TONY         STANTON                      NE     90008918915
434B1119377595   RACHEL       VOIT                         NV     43078781193
434B132885597B   VELMA        GRANT                        CA     49030393288
434B142AA5B597   TASHA        RICHARDS                     NM     90009224200
434B1442691523   JORGE        BENAVIDES                    TX     75055754426
434B1934A91523   JORGE        BENAVIDEZ                    TX     90014729340
434B1A32291569   MANUELA      ACOSTA                       TX     75041670322
434B1A53455999   RAMON        PALOMERA                     CA     90007570534
434B216732B87B   JENNIFER     WHITE                        ID     41005601673
434B2255371999   JEAN         WILLIAMS                     CO     90013122553
434B2673361963   MARGARITA    RUIZ                         CA     46072296733
434B273695B222   ROLANDO      ESPINOSA                     KY     68062947369
434B2874785834   MEGAN        MORIARTY                     CA     90001338747
434B3114A61967   TIMOTHY      LAFRANCE                     CA     90015271140
434B3444A91523   RENE         COLUNGA                      TX     75026024440
434B3889333B77   LISHA        ROBERTS                      OH     90015068893
434B3972A5597B   ALEJANDRA    CANDELARIO                   CA     49013969720
434B3AA575B174   TERRANCE     SHARP                        AR     90013980057
434B4442172B43   SHANE        STROUP                       CO     33081594421
434B455678B16B   SHABIR       BAHER                        UT     90002125567
434B499677B342   BRIGIDA      GALLEGUILLOS                 VA     90002849967
434B4A5A151383   YAKEERA      ISRAEL                       OH     90011800501
434B5139A8B165   TONY         REYES                        UT     31096241390
434B5835A8B16B   JONATHON     HOLMES                       UT     90011328350
434B691418B59B   RANDALL      BAKER                        CA     90014279141
434B6AA7961963   MARK         CALLICOAT                    CA     46018210079
434B7278291324   ANNA         SANDOVAL                     KS     29028022782
434B7457891569   OSCAR        ABREGO                       TX     75011514578
434B755767122B   CONSTANTIO   ALVAREZ                      NE     90015225576
434B766A94B271   DUSTY        MERRILL                      NE     90012846609
434B7771371934   SAMANTHA     LOPEZ                        CO     90008107713
434B7977277595   SHEM         FLOUREY                      NV     90011079772
434B8127872B4B   PAUL         SOLANO                       CO     90011041278
434B9873491982   JORGE        VEGA                         NC     90009548734
434BB237961833   AMY          LATHAM                       MO     90003872379
434BB258251334   DENNIS       MAYNE                        OH     90015222582
434BB42975B597   SANDRA       ARAGON                       NM     90013124297
434BB461A55939   DUSHAWN      JOHNSON                      CA     90014304610
434BB78325B271   CLIFFORD     EATON                        KY     90010207832
434BB785972B36   MICHELLE     HOWE                         CO     33092687859
4351148245B222   DAMON        FISHER                       KY     90012644824
4351166225B597   TAMMY        SUNATA                       NM     35002616622
43511A4A17B457   GIOVANNI     ORTIZ                        NC     90008070401
43512324A72B4B   MONICA       FRESQUEZ                     CO     90014943240
4351257445B52B   JEANA        AGUILAR                      NM     90014735744
435127A718B16B   CHARITY      HOPKINS                      UT     31044617071
435128A1161967   DAVID        NEWNAM                       CA     90013838011
4351355172B27B   MARVIN       ALVARADO                     DC     81051835517
43513866A41241   JHON         BAWERY                       PA     90015208660
4351472845B271   GALE         LOGSDON                      KY     90014937284
4351559488B165   YADIRA       AGUILAR                      UT     31033515948
435159A4171999   RUSSELL      CURNEW                       CO     90013509041
43516243A8B165   GUILLERMO    BARAJAS                      UT     90013932430
4351653638B165   SONIA        MARTINEZ                     UT     90009465363
4351765A95B52B   GABRIEL      CHACON                       NM     90014736509
435182A668B16B   SHERRY       DRAPER                       UT     90012022066
4351848A85B271   CRISTOPHER   BACHELOR                     KY     90013814808
4351918355597B   JOE          TORRES                       CA     49044171835
435191AAA8B16B   ROSA         LOPEZ                        UT     90014401000
43519489324B7B   JOSE         TICAS                        VA     90002844893
4351961435B58B   NACY-MARIE   LEAL                         NM     35010846143
4351986AA4B221   TAWNY        AYALA                        NE     90013658600
4351986AA72B43   ANTHONIO     GLADWELL                     CO     33014898600
4351B1A2771999   MARIA        BAMBER                       CO     90013471027
4351B428A55939   JAMES        ALTAMIRANO                   CA     49065154280
4351B558A5B58B   SYLVIA       PEREA                        NM     90013885580
4351B768A55939   VANESSA      JUAREZ                       CA     90004387680
4351B925191394   KEVIN        FORD                         KS     90014739251
4351BA8235B53B   GUADALUPE    AGUILERA                     NM     35080500823
43522525272B43   ALFREDO      ALVAREZ-MARTINEZ             CO     90012785252
4352315225B597   ELIZABETH    RAMIREZ                      NM     90014181522
4352381137122B   MARCUS       COUNTRIC                     IA     90015608113
4352462655B222   GRETCHEN     CUTRER                       KY     68048366265
43524655A61967   SHEREE       JONES                        CA     90012786550
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4352476635597B   ANDRES       GUITIRREZ                    CA     90012137663
4352486A15B523   LETISIA      SILVA                        NM     90007048601
43524A4AA61967   LEE          MAGAN                        CA     90010710400
43525217972B4B   ALBERT       VINNOLA                      CO     33052402179
43525393972B36   JOHNETTE     ROMERO                       CO     90013503939
4352579575B597   PERDO        ARRIOLA                      NM     90011667957
4352591475B58B   WILLIAM      SANCHEZ                      NM     90012089147
4352595265B52B   KARINA       PEREZ                        NM     36062059526
435266A254B271   AMANDA       SPRACKLIN                    NE     90011296025
4352716565B222   JOHNATHAN    KENEMORE                     KY     68054221656
43527214A71999   JASON        BERRIER                      CO     90012382140
4352741565B52B   ALMA         HERRERA                      NM     90013294156
4352741A62B94B   MARSHA       HARRIS                       CA     90010314106
4352841565B52B   ALMA         HERRERA                      NM     90013294156
4352841A251555   JEFFREY      LEWIS                        IA     90009434102
43528491572B36   JON          COX                          CO     90009724915
4352873328B165   ALBERTO      GUTIERREZ                    UT     90013257332
435291A3785939   CHRISTINA    DAVISON                      KY     90012401037
435291A535B53B   JUAN         MORENO                       NM     90002381053
435293A215B174   ANGEL        CARTER                       AR     23041403021
4352995773163B   MONTSERRAT   ALVARADO                     KS     90001059577
4352B335961963   SHAWN        ERICKSON                     CA     46030413359
4352B635772B36   SHARIKA      LEAKS                        CO     90013396357
4352B785861967   ROSA         CORONA                       CA     90014497858
4352B823361967   KATHLEEN     MONTGOMERY                   CA     90011898233
4352B874891569   SHEREE       HODGES                       TX     90012828748
4352BA4A876B81   RICHARD      HILL                         CA     90003530408
4353115425B597   LETICIA      DEMORALES                    NM     90014181542
4353161AA91569   MICHAEL      SEIFERT                      TX     90013916100
43531A6688B16B   CATHERINE    ANN HANES                    UT     31014380668
4353267295B52B   FRANCILLA    PEREZ                        NM     90014736729
4353299382B87B   LOWELL       PLUMLEE                      ID     90006789938
43532A25A5B597   ELEANOR      RODRIGUEZ                    NM     90014850250
4353378A872B36   MARIA        MATA                         CO     33020277808
435338A6191569   ANNA         DOMINGUEZ                    TX     90002268061
4353476835B53B   LAURENCE     PLEASANT                     NM     90010817683
4353485642B87B   JOHNNY       AUSTIN                       ID     41063558564
43536493A71999   EDNA         GOLDEN                       CO     38013524930
43536633A72B43   KATHERINE    GOTWALD                      CO     33088266330
4353683242B27B   CALVIN       HANCOCK                      DC     90012658324
4353694445B53B   NORBERTO     SANCHEZ                      NM     35008159444
4353732A972B36   ROBERT       PRICE                        CO     90006703209
4353769894B271   CURTIS       DE VOOGHT                    IA     90013236989
4353849935597B   SUE          THAO                         CA     90007224993
4353851575B58B   CLAUDIA      DOMINGUEZ                    NM     90014685157
43539748A8B165   JESSE        TEEPLES                      UT     90014157480
4353B19152B87B   JOSEPH       REESER                       ID     90014881915
4353B19645597B   BEATRICE     VALDIVIA                     CA     49097671964
4353B326251334   ANGELA       SHERMAN                      OH     90014453262
4353B99492B27B   MICHELE      GOFF                         DC     81080249949
4354146932B87B   DRAKE        SHUE                         ID     90014694693
435417A5671999   DESTINIE     PEREZ                        CO     90013757056
4354196425B271   MARJOREI     FLETCHER                     KY     68087989642
43541978A91394   ELEONIDAS    ANAVISCA                     KS     90003269780
43541A25361963   KIRK         ALEXANDER                    CA     90003170253
43542443A5B53B   MICHELLE     CRUZ                         NM     90003594430
4354278665597B   ELIZABETH    GARDEA                       CA     90011427866
43543423A61963   JAMES        MACALMA                      CA     90014614230
4354361525B222   ANN          MURPHY                       KY     68008556152
4354454745B527   ELISHA       CLEAVER                      NM     90012415474
43544887A72B43   RITA         BAPTISTE                     CO     90001408870
43545333824B99   AGUSTIN      SALMERON                     VA     81005083338
43545A28791523   ANAHIS       VALENZUELA                   TX     75055240287
43546A2945B52B   ALDO         ENRIQUEZ                     NM     36000900294
4354746A272B4B   SAUL         VILLA                        CO     90013254602
4354916345B271   DALE         WATSON                       KY     90014171634
4354955585B52B   NORMA        SALDANA TISTA                NM     36063035558
4354B262177595   NICHOLAS     HARDEN                       NV     43017842621
4354B828A8B165   DESIREE      MCQUEEN                      UT     31076828280
4354B928872B43   RICARDO      PENA                         CO     90011189288
4355133685B597   LUCIANO      REYES                        NM     35028093368
4355149245B271   DONNIESE     BRADLEY                      KY     68038174924
4355157A35B53B   OZKAR        BALTAZAR                     NM     90004985703
43551721572B43   BILLY        SMITH                        CO     90012397215
4355269728B16B   ALLYSON      DAVIS                        UT     31012576972
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43552722A55939   TRINETTA IRENE   JACKSON                  CA     90012817220
4355392845B52B   LESLEY           ADAMS                    NM     90007379284
43554526A61967   DEMETRIO         SUAREZ                   CA     90010955260
4355533525B523   DESTINY          TRUILLIO                 NM     90010353352
4355614558B165   ANNY             LINARES                  UT     31046011455
435575AA254132   TERA             CRANMER                  OR     90015215002
4355778575597B   TOD              ESPARZA                  CA     49006637857
4355837AA72B43   MARCO            MUNGUIA                  CO     90001313700
4355864A15B271   STUART           PARKS                    KY     90014156401
435586A3855939   BRYAN            BURT                     CA     90014606038
4355895175597B   SANDY            EARLY                    CA     49058549517
4355967988B16B   CARMEN           ROSA MENDOZA             UT     90010076798
43559A4762B87B   DAVID            GUZMAN                   ID     41052400476
4355B139371934   REBECCA          GABLE                    CO     90010481393
4355B27115B271   ADA              DEVINE                   KY     68031682711
4355B923291873   TINA             BRIDGEWATER              OK     21078939232
4356179764B575   ALLIA            WASHINGTON               OK     90011277976
43562442276B64   CHERYL           DOE                      CA     90000144422
4356291235B52B   CESAR            LOPEZ                    NM     36051229123
4356399125B597   DELIA            ARAMBULA                 NM     35062309912
43564361A76B81   LEOBARDO         LEYVA                    CA     90008423610
43564587A55939   GLORIA           CORTEZ                   CA     90014045870
4356479782B87B   JACQUELINE       KLOMP                    ID     41009497978
43564A68551334   BROOKE           ODONNELL                 OH     90014660685
43565196233B63   SHAWN            GUTHRIE                  OH     90014281962
43565325372B4B   RANDY            KING                     CO     33021933253
4356569594B95B   LUIS             GALVAN                   TX     76590456959
4356581778B127   ANTHONY          HARRIS                   UT     90013128177
43565A12924B6B   GREGORY          FOSTER                   DC     90006220129
43566639672B4B   MICHAEL          CHAVEZ                   CO     90013386396
43566749172B36   MAYELA           AGUILAR                  CO     33007677491
4356681A98B165   JENIFER          FIGUEROA                 UT     90013988109
43566A5665B271   WOODY            CARLILE                  KY     90007100566
4356742144B271   AMANDA           RAMOS                    IA     27046714214
43567AA185597B   ANA              GARCIA                   CA     90009750018
4356868A261967   CANDIDO          MARAGON                  CA     46065806802
4356869638B16B   JOSEPH           MOYA                     UT     90014716963
435689A484B955   SOPHIA           LEWIS                    TX     90001759048
43568A4185B597   CASILLAS         EDUARDO                  NM     90005100418
4356935715B58B   MANUEL           DELGADILLO               NM     90012013571
4356B135861963   RAQUEL           CASTELLANOS              CA     90012871358
4356B2A2591569   LOUIE            MORALES                  TX     90011152025
4356B59188B165   IAN              BILLINGS                 UT     90015005918
4356BA8615B174   BRIANNA          JOHNSON                  AR     90014860861
4357248772B92B   BENITA           DOMINGUEZ                CA     90007304877
435731A6A61967   REYNA            MIRANDA                  CA     46020301060
435734A7272B43   AU               MAL                      CO     90011404072
4357418385B52B   JESUS            HERNANDEZ                NM     90001671838
43574289A55939   SABRINA          GARCIA                   CA     90013122890
4357487627B334   MARCO            LEMUS                    VA     81052998762
43576378A55947   ARLEEN           ALVES                    CA     90012153780
435764A1951334   ANDRES           MENDOZA                  OH     90013924019
43576A9326198B   SHAUN            BAXSTRUM                 CA     90008450932
4357721215B52B   JAIME            CACERAS                  NM     90008812121
435776AA371999   JACQUELINE       ANGEL                    CO     90012416003
4357772417B66B   ARTHUR           STEWART                  GA     15017697241
4357789375B271   JERRY            SWARTZ JR                KY     90009668937
43577AA428B165   CARLOS           IRRA                     UT     90014790042
43578119372B4B   COSME            ARIAS                    CO     90003441193
4357817195B222   ROBERT           BALDWIN                  KY     68070601719
4357868365B271   JESSE            HILL                     KY     90014156836
43579122572B43   DAWN             OJEDA                    CO     33020331225
4357B55812B87B   BRYSON           FREELANDER               ID     90012405581
4357B7A938B144   AMY              ORTEGA                   UT     90003917093
4357B95A672B43   DEBORAH          ALLEN                    CO     90004269506
43581479A7B66B   SHAUNTE          HARRIS                   GA     15069254790
435817AA35B52B   DEBRA            VALLEJOS                 NM     90014747003
4358222292B87B   CHRISTOPHE       SPERRY                   ID     90001572229
4358239594B543   VICTORIA         ACOSTA                   OK     90010343959
435826A2593797   CARLA            PHILLIPS                 OH     90012896025
4358273A671999   JOLENE           OTERO                    CO     38042767306
4358311AA51383   EMILY            REDD                     OH     90011811100
43583156A61967   JOSE             MONTERO                  CA     90014681560
435834AA94B543   JUAN             BEDOYA                   OK     90010344009
4358376235B58B   NORMA            RODRIGUEZ                NM     35093647623
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1981 of 2350


43583998372B43   OLIVA        ROBLES                       CO     33073729983
43583A6862B27B   DONTAUE      COFFEE                       DC     90002770686
43584658372B36   FREDDY       ANTONIO                      CO     90012296583
4358565818B165   JENNIFER     PEARMAN                      UT     90008366581
43585A73251334   QUELINE      COLETTE                      OH     90014700732
435862AA261967   ZULMA        RAMIREZ                      CA     46079392002
43586433A71999   JERRY        GONZALES                     CO     38033374330
4358663314B543   MARIA        GARCIA                       OK     90010346331
435867AA35B52B   VICTOR       FRANCO                       NM     36007297003
43587844972B36   MARTHA       REDWILLOW                    CO     90015138449
4358864965B597   ROY          GOODMAN                      NM     90013706496
4358942225B523   BOBBY        HERNANDEZ                    NM     90005314222
4358988167B66B   DEBBIE       HATCHER                      GA     15079288816
4358B77A48B16B   SHAKIRA      NARANJO                      UT     90013637704
4359165178B165   JOHNNY       HERNANDEZ                    UT     90012746517
4359184285B174   SHELA        PRESLEY                      AR     90005878428
435918A4372B36   SHERA        HILDENBRAND                  CO     90006138043
4359266675B174   ORA          DAVIS                        AR     23051916667
43592667A41454   DONALD       MAURICE                      WI     90013016670
4359266A461967   PEDRO        VILLEGAS                     CA     90013846604
4359269155B58B   MARIA        DIAZ                         NM     35063706915
4359274865B52B   JIM          PATTERSON                    NM     90014747486
43592987A4B271   SONA         JAMES                        NE     27042399870
43592AA2A8B165   AARON        PACHECO                      UT     31098420020
4359345382B27B   SIRENA       MORSE                        DC     90015164538
4359392474B271   KRISMAS      GATDET                       NE     90014999247
4359434455B58B   PIPER        BRAY                         NM     90013933445
4359457358B165   JOSH         MORGAN                       UT     90008285735
4359482662B27B   RENEE        WILLIAMS                     DC     90014018266
4359615978B16B   TAMMY        MARRELLI                     UT     90012531597
4359738864B271   NORMAN       CARR                         NE     27093043886
43597512A8B16B   DANIEL       STINGER                      UT     90012455120
435984A645B174   KARA         BENNETTE                     AR     90014704064
4359861645B52B   ELIZABETH    HIGGINS                      NM     90012466164
435986A427B66B   VIRGINIA     BATTLE                       GA     90006576042
435987A885B222   KIA          KNOX                         KY     90015207088
43598875A5B271   PATRICK      SLOSS                        KY     68094908750
4359998352B891   RAQUEL       RIOS                         ID     90009159835
4359B128872B43   TERESA       BENAVIDES                    CO     90015031288
4359B25A551383   REGINA       MYERS                        OH     90014652505
4359B3A4A5B597   JUANA        COLOMO                       NM     90011663040
435B126A28B16B   ROBERT       JORGENSON                    UT     90014042602
435B179772B27B   BERNETTA     CEPHAS                       DC     81015847977
435B2167391394   RANDY        BURESS                       KS     90014141673
435B2377661967   DENITA       YOUNG                        CA     90015213776
435B262AA72B43   DAVID        MARTIN                       CO     90012346200
435B2696531432   SIERRA       COX                          MO     90013736965
435B2984A93794   ZACK         SMITH                        OH     90013129840
435B2A3A35B597   JANELLE      SANDOVAL                     NM     90005890303
435B334A82B87B   KELLY        STEWARD                      ID     90011133408
435B3442A5B597   LISA         SELLERS                      NM     90012004420
435B3486472B36   RENEE        RASMUSSEN                    CO     33037344864
435B3649772B4B   JAMES        DODDS                        CO     90013836497
435B37A3791569   KRISTINE     BIBY                         TX     75088507037
435B459A28B16B   CLAUDIA      BUENROSTRO                   UT     90014685902
435B4639177595   JENNIFER     KIMSEY                       NV     43004026391
435B4675872B4B   ROY          COX                          CO     90010786758
435B4884A61967   JEANINE      PINKMAN                      CA     90013438840
435B4916191569   IVONE        ALARCON                      TX     75013119161
435B4A46A5B222   ERIC         HALL                         KY     90012600460
435B5152561967   NATASHA      THURMAN                      CA     90013451525
435B51A9391569   YVONNE       HERNANDEZ                    TX     90014771093
435B532265B53B   ANNETTE      ELERBY                       NM     90006133226
435B5771572B43   BENEDICT     ADDO                         CO     90013457715
435B641112B27B   MARIE        EDIMO                        DC     81007084111
435B65A7A72B43   JALIL        SALAME                       CO     33012185070
435B695645B222   LISA         BRECKENRIDGE                 KY     68095159564
435B75A785B271   JAMES        ELLERY                       KY     90003965078
435B7735A71934   JONATHAN     BURKE                        CO     90005847350
435B775A472B43   ARMANDO      HERNANDEZ                    CO     90001367504
435B869835B597   RAMIREZ      MARICRUZ                     NM     90010826983
435B89A575B222   FLOYD        PITNEY                       KY     68078969057
435B9277573264   SAMATHA      SILSBY                       NJ     90014592775
435B9459A51337   DARRYL       NEWBERRY                     OH     90012604590
435BB4A2955939   RUDY         FRANCO                       CA     90013504029
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435BB77A95B174   KAYLA        BIGBY                        AR     90014557709
435BB79A68B16B   TAYIA        GROESBECK                    UT     90014127906
435BB7A545B271   LORI         CROSIER                      KY     90003187054
435BB99595B174   TEDRICK      CONWAY                       AR     90011429959
43611A6A65597B   RICHCHARD    LOWE                         CA     90014590606
43612228872B43   HEATHER      MCINTOSH                     CO     90013042288
4361225394B547   FRANCISCO    ELIAS                        OK     90008192539
4361236145B52B   ORALIA       VALDEZ                       NM     36079473614
4361328728B165   STEPHANIE    HINTZE                       UT     90008502872
4361381A571934   SOLOMON      MONTOYA                      CO     32046068105
43614271676B5B   ALONSO       DOMINGO ESTEBAN              CA     90009192716
4361497AA61967   DAVID        DIAZ                         CA     90009609700
43614A8248B16B   ANDREW       BARRETT                      UT     90009390824
43615351A5B597   MARLENE      SALAZAR                      NM     90003773510
4361624598B16B   JACKLIN      ROSAS                        UT     90010582459
4361636145B52B   ORALIA       VALDEZ                       NM     36079473614
4361723765B597   MARIE        RIVERA                       NM     90014182376
436175AA97B66B   JAMES        WHITEHEAD                    GA     90014055009
4361774215B55B   ETHAN        MAESE                        NM     90001387421
4361775A461963   AURELIA      GUZMAN                       CA     46012297504
43617825A41287   SCOTT        MCVICKER                     PA     51006578250
43617836972B36   RODNEY       MORTON                       CO     33033898369
4361821925B52B   AXEL         VASQUEZ                      NM     90014362192
4361842322B27B   LISA         VENUS                        DC     90009214232
4361845992B87B   RICHARD      JOHNSON                      ID     41018244599
436184A4685939   COURTNEY     BECKER                       KY     90008974046
436186A7272B36   MARIA        HERNANDEZ                    CO     90013096072
43619374A61963   JESSICA      GONZALES                     CA     90006713740
4361947295B597   CARLA        JARAMILLO                    NM     35067444729
43619874774B24   YLONDA       HOLMES                       OH     90014258747
4361997915B174   TONYA        EATMON                       AR     90013049791
43619A4928B16B   DEVIN        GILLEN                       UT     90013090492
4361B14945B52B   MARTHA       CALDERON                     NM     90014771494
4361B19A261963   MIRLA        VILLA                        CA     90015181902
4361B98688B16B   SAMSON       BERHE                        UT     90015089868
4362112125B271   MICHELLE     BEAMS                        KY     90009471212
4362166875B222   BRIAN        TYLER                        KY     90014726687
43622246372B4B   QUINTANA     JOEL                         CO     90011122463
43623674672B36   SAM          BACA                         CO     90014936746
4362376572B27B   ELIJAH       STWART                       VA     90012917657
4362391157B66B   PATRICE      OLIVER                       GA     15049989115
43623A14372B4B   TRINITY      BRIM                         CO     90014390143
4362465125B53B   LIDIA        GONZALEZ-DE JESUS            NM     90004786512
4362537335B271   JOHN         PACK                         KY     90009973733
436253A725B58B   HEATHER      SPINELLI                     NM     35004493072
43625824672B36   FIMBRES      ELMER                        CO     90007678246
4362594125B222   TIERA        THOMAS                       KY     90013559412
436261A6661967   HECTOR       TENORIO                      CA     90007001066
43626669A72B36   AMANDA       BORDWELL                     CO     90013176690
43627A64A4B271   MARTINE      MINOR                        NE     90011090640
436281A392B87B   MARIA        MCCONNELL                    ID     90013691039
4362857A45B174   LATASHA      HOLMES                       AR     90013485704
436293A8551383   NICOLE       VINCIGUERRA                  OH     90011813085
4362977755B271   ASHLEY       WHITE                        KY     90014157775
4362B125161963   GAUDENCIA    GUZMAN                       CA     46070321251
4362B689672B4B   CRISTOBAL    JIMENEZ                      CO     90012166896
4362B7A2393767   DIERRA       DONALDS                      OH     90004207023
4362B831172B36   SEAN         BURROWS                      CO     33098308311
4362BA6528B16B   CHELSEE      BENDTSEN                     UT     31093700652
436312A2761963   IVAN         RAMIREZ                      CA     90009792027
4363239AA5B52B   MARGARITA    PEREZ                        NM     90014773900
4363325335B597   CHAPO        CARRASCO TREVIZO             NM     90013732533
4363339AA5B52B   MARGARITA    PEREZ                        NM     90014773900
4363411575B271   MELINDA      STAFFORD                     KY     90008391157
4363442A25B58B   OSIAS        SILES                        NM     90000504202
4363456655B53B   BRETT        BENTLEY                      NM     35097805665
43634721272B4B   REBECCA      EDWARDS                      CO     90013087212
4363573368B165   MARIA        CANCHOLA                     UT     90011027336
43635A14A5B174   ERIC         WILLIAMS                     AR     23092780140
43635A79161967   MANUEL       GARCIA                       CA     46011230791
43635A8815B52B   TIMOTHY      VALLEJO                      NM     90015260881
43637261572B36   CARRIE       SNYDER                       CO     90013172615
43638214972B43   NICHOLAS     SMITH                        CO     90014512149
4363843395B52B   LILIA        URRUTIA                      NM     90014774339
4363862A38B165   MEAGON       REESE                        UT     90014926203
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43638A36855939   MARIA               MADRIGAL              CA     90014660368
43639929172B36   RICKY               NEWTON                CO     33043819291
4363B291255939   EFRAIN              CARDENAS              CA     90011442912
4363B62665B174   TREMAINE            WILLIAMS              AR     90015316266
4364118A44B271   BRADLEY             TOLLIVER              NE     27076721804
4364142735B174   WENDY               HERNANDEZ             AR     90015194273
43641AA6451334   ISSAC               DIGGS                 OH     66094790064
4364216614B271   GABRIEL             LEFLORE               NE     90012641661
4364325125B271   ELLIOTT             KELLY                 KY     68054552512
43643836A5B597   MARIA               LOPEZ                 NM     90015028360
4364446A161963   VIRGINIA            MORENO                CA     46006214601
4364456755B597   GARCIA              STEPHEN               NM     35025655675
4364519AA51383   AMIEE               TAYLOR                OH     90014641900
43645A9445597B   SALVINO             MOLARES               CA     90014590944
43646413374B31   GARY                LEECH                 PA     90008684133
4364641634B271   AMBER               SINGLETON             NE     90013924163
4364658615B597   LOUISE              POCOCK                NM     35015585861
4364659892B87B   ERNIE               PERALTA               ID     41013595989
4364662172B27B   DARRICK             JOHNSON               DC     90008646217
43646755572B4B   DIEGO               HERNANDEZ             CO     33066397555
43646927872B4B   SUZANNE             REED                  CO     90008549278
436472A695B52B   CLAIRE              MARTINEZ              NM     90005962069
436482A175B52B   SARA                HERNANDEZ             NM     90014912017
4364868685B52B   GABRIEL             VIGIL                 NM     90014786868
4364994175B58B   MARIA DEL ROSARIO   CURIEL                NM     90014159417
4364B33A157121   BLADIMIR            RUANO                 VA     90006183301
4364B43438B16B   JERRY               LOMAX                 UT     90015304343
4365174925B52B   JOSE                CASTANEDA-CARPIO      NM     36088867492
4365197155B58B   ULISSES             CABALLERO             NM     90012379715
4365198345B597   DORA                DUARTE                NM     35075399834
4365213162B27B   ERICKA              ROBINSON              DC     90013201316
4365243375B58B   NICOLE              BELTRAN               NM     90014564337
4365291857B865   TALLINA             EVANS                 IL     90002539185
4365332743163B   KIMBERLY            ROBINSON              KS     22045613274
4365389585B523   AMNTHONY            WOMACK                NM     35057828958
4365597665B597   CHRISTIAN           ANDREYCHICK           NM     90011599766
4365619AA51383   AMIEE               TAYLOR                OH     90014641900
43656493572B4B   LENA                TRUJILLIO             CO     90015094935
4365661A691873   MELISSA             SHARROW               OK     90014396106
436572A185B52B   IDALIA              GRANILLO-CHAVEZ       NM     36090602018
4365773645B271   AMANDA              EDLIN                 KY     90006267364
43658281A5B52B   ELIZABETH           MARTINEZ CHAVEZ       NM     36035092810
4365885A95B271   ERIKA               CHERRY                KY     90014158509
4365899A251383   LAUREN              SMIDDY                OH     90012789902
436595A8851383   CASSIE              KLINGELHOFFER         OH     90011175088
4365B737A55939   HEATHER             GERMAN                CA     49063027370
4366135228B16B   ELSA                REYES                 UT     90014903522
43661A18177595   BLANCA              GUDIEL                NV     90006450181
4366221752B27B   JAMILA              BROWN                 DC     90014192175
436623A455B271   RACHEL              OLVERA                KY     68008713045
436627A4761967   ROBERT              TUNSTALL              CA     90009777047
4366293227B467   BOBBY               WRIGHT                NC     90013129322
43662A88693767   LINDSEY             YOAKEM                OH     90011020886
4366341265597B   HENRY               ESQUEDA               CA     49082224126
43665A2A651334   COLLEEN             PELLER                OH     66090370206
43666539372B43   HALIL               HUSKIC                CO     33062555393
4366686A65B271   JONATHON            DUDECK                KY     90014158606
4366796975B52B   DEWAINETTE          MARTINEZ              NM     90014789697
43667AA4591569   HUMBERTO            DEBORA                TX     90009650045
4366835228B16B   ELSA                REYES                 UT     90014903522
436683A4661967   MICHAEL             HOSS                  CA     90007273046
436688A7672B4B   JANET               GARCIA                CO     33088658076
436689A9991549   HECTOR              MARQUEZ               TX     90006519099
43669149972B4B   GUADALUPE           BAUTISTA              CO     33035461499
436692A4A5B174   LUIS                RARALTA               AR     90012362040
4366956135B271   KATRICIA            THOMPSON              KY     90012425613
4366B116661967   LEILA               WILSON                CA     46061511166
4366B2A8893734   NICOLE              THOMPSON              OH     90010672088
4367179665B597   FREDA               THOMAS                NM     90006177966
4367243335B52B   ROSA                CASTILLO              NM     36025834333
4367316A35B174   FRANCO              REYES                 AR     90015411603
43674298472B25   LESLIE              GENERAL               CO     90012692984
436747A2A5B597   ALBERTO             THOMAS                NM     35092067020
4367511375B53B   PRISCILLA           OTERO                 NM     35043171137
4367518948B16B   ELIDA               MADRIGAL              UT     90013171894
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4367598745B52B   MONTOYA      CHRIS                        NM     36067659874
436759AA172B36   RAUL         LOPEZ                        CO     33092999001
43675A59961967   TESSA        CALVILLO                     CA     90013750599
4367712115B52B   YAMILEX      TERRAZAS-LOYA                NM     90014791211
4367859445B53B   FARRAH       COTHREN                      NM     90014225944
4367894638B16B   TANNY        JOHNSON                      UT     90010519463
436789A845B271   MATTHEW      WILLINGHURT                  KY     90014159084
43678A8A761963   JOSHUA       TRIVETTE                     CA     46051910807
43679271972B36   ESTER        DIAZ                         CO     90007242719
43679A4A15597B   KATHERINE    VALDES                       CA     90006580401
4367B24248B165   REMIGIO      BAUTISTA                     UT     90011372424
43681A23193767   KAYLA        THOMPSON                     OH     90014770231
43681A5888B16B   BRIAN        CLARK                        UT     31011420588
43681AA835B242   JEROME       BURBRIDGE                    KY     90005090083
436822AA791873   EFREN        GOMEZ ALVARADO               OK     90013842007
4368266558B16B   ANGELICA     RODRIGUEZ                    UT     31055886655
4368311615B597   MARTIN       GUTIERREZ                    NM     90005201161
4368333A472B43   RAYO         CORONEL                      CO     90011053304
4368368465B222   KRIS         DEPP                         KY     90012386846
4368386795B271   AARON        WALKER                       KY     90010698679
43683A3545B222   JUAN         ROJAS                        KY     90008170354
43684371676B49   AMAL         MORCOS                       CA     46015373716
4368471354B271   ALEXANDER    RIVERA                       NE     90014877135
43684765372B43   ROBIN        POE                          CO     90011107653
436849A728B165   BLANCA       SERNA                        UT     90010249072
43684A16455939   TORN         CHEK                         CA     49014500164
4368517235B174   RYAN         DENMON                       AR     90013201723
43685176A72B36   MARIA        ENRIQUEZ                     CO     33028361760
4368517A577595   LEILANI      AKIU                         NV     90005641705
436851A9284349   ANGEL        ANDARA                       SC     90011411092
4368625855B53B   LOUISE       MORALES                      NM     90008192585
4368689435B597   XOCHITL      GWIN                         NM     90002428943
43687615172B43   JACKSON      DANNEON                      CO     90010236151
43687A31591873   KEVIN        MERRITT                      OK     90013860315
4368852954B539   FLORA        HATCHER                      OK     90011195295
4368879225597B   STEPHANIE    LOPEZ                        CA     90012137922
436897A2471999   DERRICK      SANCHEZ                      CO     90014867024
43689914A51383   DARYL        JACKSON                      OH     90002849140
4368993465B271   STEPHEN      WILSON                       KY     90014159346
4368B11A45B53B   DOROTHY      MARTINEZ                     NM     90009181104
4368B35A15B52B   ELVIS        MANFREDES DIAZ               NM     90010483501
4368B97778433B   CESAR        VASQUEZ                      SC     90010919777
4368B9A114B271   MAUREEN      TOBIN                        NE     27026069011
43691314572B36   FISHER       WAYNE                        CO     33039063145
436926A8361963   KEN          VU                           CA     90001886083
436929A4791873   DAMI         ENIOLA                       OK     90014399047
43693353A61967   ANGELINA     TOMASELLO                    CA     46016443530
4369376145B523   EILEEN       WATERMAN                     NM     90007087614
43693782A5597B   PATRICIA     REYES                        CA     90008807820
43693841A5B271   PINKY        PORCELL                      KY     90006588410
436947AA85B53B   LETICIA      GARCIA                       NM     35092607008
436967A3351361   BRITTNEY     EARLS                        OH     90012517033
4369719A64B271   MICHAEL      CONLEY                       NE     27041521906
4369728285B523   ERICA        NIETO                        NM     90009832828
4369757A861967   MICHELLE     MOON                         CA     90014595708
4369861132B87B   STEVEN       FRANK                        ID     90009596113
43698646872B43   MISTI        MANNON                       CO     33063926468
4369874732B87B   ROBERT       STEBBINS                     ID     90013707473
43699713372B4B   KIM          CISNEROS                     CO     90013897133
4369B147172B36   WHITNEY      JONES                        CO     90015071471
4369B37865B222   MARY         BRYANT                       KY     68003063786
4369B891772B38   PORFIRIO     CALDERON                     CO     90014668917
4369BA46161967   ESTER        SANDAVOL                     CA     46079140461
4369BA93572B4B   SILVIA       SOTO                         CO     33047580935
436B1458761967   RODRIGO      AYALA                        CA     90005614587
436B1A94972B4B   DESIREE      HUFF                         CO     90010700949
436B2282772B36   TREY         MITCHELL                     CO     90013812827
436B2564591394   MARIA        DOLORES                      KS     29080825645
436B257294B271   TAMRA        MOFFETT                      NE     90011255729
436B263538B165   CANDICE      MARTINEZ                     UT     90014816353
436B2A72891873   NIKIA        EDWARDS                      OK     21059740728
436B3291872B43   RAYMUNDO     AVITIA                       CO     90010722918
436B3339571999   LISA         ROMERO                       CO     38076173395
436B36AAA8B16B   VIOLA        PETERSON                     UT     31055096000
436B3845691873   JAMES        MCCULLOUGH                   OK     90015458456
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436B399385B53B   DOLORES      MARTINEZ                     NM     35053929938
436B429355B222   BRUCE        WREN                         KY     90014162935
436B5167861963   MIRIAM       VARGAS                       CA     90004171678
436B57A385B58B   NICOLE       MARCHAND                     NM     90015457038
436B593425597B   BAMBI        CANTU                        CA     90007919342
436B64A2963654   MARSHA       ROBINETT                     MO     90002314029
436B656634B271   SUNSHYNE     MORRIS                       NE     90014585663
436B6573A5B52B   JESSICA      PEREZ                        NM     90014765730
436B6637872B36   JASON        FREEDMAN                     CO     90013396378
436B665395B58B   FREDDY       JACOB                        NM     90007056539
436B6858A72B4B   AURORA       PACHECO                      CO     33066038580
436B7136A5597B   ASHLEY       LEAL                         CA     90008891360
436B7233391873   BRIAN        CLEVELAND                    OK     90015432333
436B7236151383   AARON        RICE                         OH     90011812361
436B742798B165   ALAN         HARRIS                       UT     90009254279
436B7743A5B271   DEVRON       WILLIAMS                     KY     90014157430
436B7757777595   SALVADOR     GARCIA                       NV     43043217577
436B8386A2B27B   DOMINIQUE    GRAY                         DC     90009883860
436B83A7861967   BRANDI       LOHR                         CA     90009113078
436B878A872B36   MARIA        MATA                         CO     33020277808
436B8831771644   FRANCES      WALKER                       NY     52062468317
436B8986791873   CHRISTY      CROCKER                      OK     90014129867
436B914555B174   TANYA        JAMES                        AR     90015171455
436B9339861963   MARTHA       SNYDER                       CA     46012293398
436B9438877595   RICARDO      SAMANIEGO                    NV     90012544388
436B9622591569   PERLA        LUNA                         TX     90011346225
436B9959772B36   AMANDA       REIL                         CO     90013719597
436B996127B66B   GENE         SAVAGE                       GA     90003339612
436B9A11A5B597   CHEYENNE     FURRU                        NM     90012300110
436BB132351334   TEMEKA       JONES                        OH     66036191323
4371111259127B   QUOLETRICE   RUSHON                       GA     90013441125
43711263472B51   ANGELES      ALVAREZ CABRAL               CO     33092862634
437119A728B165   BLANCA       SERNA                        UT     90010249072
43711A59291569   RUDIE        ORTIZ                        TX     75023040592
43711A6A35B174   SONYA        JACOBS                       AR     90002770603
4371282315B53B   JOSEPH       FONTANEZ                     NM     90012498231
43713291872B43   RAYMUNDO     AVITIA                       CO     90010722918
43713A62155939   JOSE         MAGANIA                      CA     49052390621
43714713172B4B   MARIA        GUERECA                      CO     90007327131
437155A258B16B   RAY          BURNITE                      UT     90014375025
4371562595B541   MARVIN       ARREOLA                      NM     90002146259
4371626528B165   IAN          SHEPHERD                     UT     90012342652
4371663738B16B   MARIA        MUNIZ                        UT     90015016373
4371692115B271   ANDREA       STEWART                      KY     68097969211
43716A6745B523   MICHAEL      DAVIS                        NM     35039290674
43716AA724B271   DENISE       THOMAS                       NE     27060940072
4371729338B165   JOHN         EVAN                         UT     90015132933
43717351A5B597   MARLENE      SALAZAR                      NM     90003773510
43717519672B43   AZUCENA      JOCOBSEN                     CO     90006635196
4371917845B222   SURRILDA     HODGES                       KY     90014751784
4371944662B87B   JOSH         ALTERMOTT                    ID     90013434466
4371967A95B53B   CARLOS       HERNANDEZ                    NM     90013506709
437198A6972B36   BROOKE       KASPER                       CO     90000718069
4371995464B271   SARAH        WELLS                        NE     27092819546
4371997A95B174   AISHA        BRADFORD                     AR     90011439709
43719A35977595   DANIEL       ODNEAL                       NV     90011100359
4371B12514B543   ANDRE        COLBERT                      OK     90010011251
4371B36A991873   FLORENCE     WALKER                       OK     21060753609
4371B3A6955944   ANITAMARIE   ASHLEY                       CA     90001693069
4371B596251383   JACK         PARSONS                      OH     66065915962
4372234765B222   JEFF         REICHEL                      KY     90015553476
4372344665B398   JOSHUA       TIPTON                       OR     90001684466
437238AA561963   ALICIA       SMITH                        CA     46072068005
4372418638B165   YELIZ        YAKAR                        UT     90013891863
43724361972B4B   CHARLES      VALDEZ                       CO     90008673619
4372452315B174   AUSTIN       FRANKE                       AR     23067345231
437245A125B53B   TONY         GAMBOA                       NM     35000515012
4372479222B27B   GEORGE       BRANCH                       DC     90015177922
4372516A72B27B   JEFF         MAY                          DC     90013361607
4372526235B174   KATELYNN     BAXTER                       AR     90014972623
4372531635597B   ERIKA        OCHOA                        CA     90013023163
43726334A7B325   MULUGETA     FEYISSA                      VA     81018523340
43726751A8B165   SAMATHA      ENGLISH                      UT     90002477510
4372718145B597   MIREYA       URVINA                       NM     90013051814
4372762615597B   YESENIA      BENITEZ                      CA     49032806261
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43727A35977595   DANIEL       ODNEAL                       NV     90011100359
43728298A91569   NORMA        GARCIA                       TX     90015042980
43728589872B36   YAMILETH     TORRES                       CO     90014135898
4372896A672B36   JOHN         HIBBS                        CO     90013719606
43729397272B36   MARIA        HERNANDEZ                    CO     90012913972
4372943A551884   KATHY        WEIL                         NY     90015354305
4372B127651334   LORRAINE     BUTLER                       OH     90007601276
4372B353A5B272   BELINDA      MORRISON                     KY     90010983530
4372B448661963   MARIA        ESPARZA                      CA     46060544486
4372B771472B4B   ELVIRA       TORIBIO                      CO     33001327714
43731854A8B16B   TRINIDAD     ROMERO                       UT     90012428540
43732765472B43   DANA         NELSON                       CO     33001757654
4373287478B16B   MELODIE      MARTINEZ                     UT     90014858747
4373319A45B271   KIMBERLY     CONKLIN                      KY     90014171904
4373337825B174   STACEY       ANDERSON                     AR     90013563782
43733A9362B87B   PAMELA       BRIDGES                      ID     41061780936
43734AAA95B597   JESSICA      OJEDA                        NM     90009040009
4373511268B16B   PAULINE      HERRERA                      UT     31044661126
4373581968B165   RYAN         COOK                         UT     90015108196
43735AAA772B43   JOSH         PUGH                         CO     90005010007
4373629A171934   YOHANA       PINTO                        CO     32020782901
437378A3171999   GEORGE       LOPEZ                        CO     38030998031
4373841965B271   LISA         CUNDIFF                      KY     68057414196
43738987372B43   CARLOS       CASTRO                       CO     33053199873
43739519872B4B   JUAN         ESPARAZA                     CO     90012845198
43739A4942B264   STEPHEN      SMITH                        DC     90010790494
4373B269551383   HEATHER      SHOOK                        OH     90014642695
4373B356751383   COLBI        ERVIN                        OH     66045183567
4373B694461967   EDITH        SOHM                         CA     46091216944
4374179815597B   MICHELLE     MOORE                        CA     49084247981
43742636A51383   KERRIE       WALTERS                      OH     90015106360
4374271395B52B   PAULINE      VAZQUEZ                      NM     90014797139
4374288515597B   JONATHAN     CALVO                        CA     90012618851
43742A58955939   RAMONA       FLORES                       CA     49055380589
43743694672B43   OLGA         NOVITSKY                     CO     33049086946
4374455548B165   BHAVESH      SUTHAR                       UT     90012785554
4374482367B865   LEOTIS       RHODES                       IL     90001168236
4374498162B879   MARK         SANDER                       ID     42063749816
437449A895597B   JOEL         ANDRADE                      CA     90012279089
43745A53A72B4B   JANET        STANLEY                      CO     90009790530
4374684145B58B   MONICA       BECERRA                      NM     90014858414
4374727A62B27B   SHAYNA       MATTHEWS                     DC     90015122706
43747A4A75B271   DERRELL      ARTHUR                       KY     90014160407
4374824215B174   YOLANDA      WILLIAMS                     AR     90005542421
4374865668B16B   SHAWN        THOMPSON                     UT     31084126566
4374886AA5B52B   CARLOS       FLORES                       NM     90006098600
43748A5A45B271   JAMEY        STINSON                      KY     90014160504
4374995725B174   ERICA        FITZPATRICK                  AR     23069009572
4374B244161967   SILVIA       FLORES                       CA     46084762441
4374B72AA71999   EVA          FATTA                        CO     38001117200
4374B74712B87B   KARI         CENTERS                      ID     41045247471
4374B76155B222   SHAUN        HEITZ                        KY     68021397615
4375121938B165   BALFRE       ROMAN                        UT     90014912193
4375255325B53B   MARISOL      ROSALES-GALLEGOS             NM     90014955532
4375275825B523   FRANKIE      VIGIL                        NM     35012707582
437527A7171999   HELEN        SANCHEZ                      CO     38007037071
4375292588B165   SYLWESTER    RYNKIEWICZ                   UT     31017809258
43752947A5B597   MICHELLE     TORREZ                       NM     90013389470
43752A6175B271   DELNISHA     PORTER                       KY     90014160617
4375315645B58B   YESENIA      GUITIERREZ                   NM     90011821564
4375354A65B53B   AMAROS       MARTIN                       NM     35008375406
437536AA672B4B   LISA         VASQUEZ                      CO     33010836006
43753A9375B375   DANIEL       POWERS                       OR     44534370937
4375433435B174   HELEN        JOHNSON                      AR     90012693343
4375489435B53B   INDIA        SCHRANKEL                    NM     35021358943
43754A4925B58B   CESAR        VILLALOBOS                   NM     35054380492
4375548125B597   SI           KASSEMI                      NM     90014594812
43755485772B25   CARLA        MOLINELLI-CASTRO             CO     90010744857
43755555A61926   ROSE         COLBERT                      CA     90010875550
43756A11491873   KATHY        CARTER                       OK     21074540114
43756A57521981   ANDREW       JACKSON                      IN     90013890575
4375755675B597   BRENDA       HELMICK                      NM     35087075567
43757948972B36   PABLO        GOMEZ JR.                    CO     33087169489
43758464A61967   RENEE        HAYWOOD                      CA     90015204640
4375895718B16B   JUMMEY       BELTRAN                      UT     90015119571
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4375896265B222   AIRIKA       MUEX                         KY     90010229626
43759247A4B271   MARIA        VAZQUEZ                      NE     27066912470
43759592A55939   CINDY        OLIVA                        CA     90011945920
43759A8455B271   ROBERT       RIGDON                       KY     90014160845
4375B23495593B   JUANA        QUEZADA                      CA     90007652349
4375B72425B52B   MICHAEL      NIETO                        NM     90009287242
43761482172B36   TOM          RANGE                        CO     90015184821
4376186795B174   DONYEL       CULVERSON                    AR     90012478679
43761AA3772B43   PRISILIANO   HERNANDEZ                    CO     33062140037
4376231995B597   ELINA        ANGUIANO                     NM     90014183199
4376259217B66B   ASHLEY       PRITCHETT                    GA     15079705921
43762A34272B4B   FRANK        VARGAS                       CO     33046390342
43763918172B43   AMY          HERMAN                       CO     33011269181
43763976A5B52B   YVONNE       ENCINIAS                     NM     90014919760
43764758372B36   ALEXIA       DURON                        CO     90001447583
4376476948B165   ROBERTO      ROSAS                        UT     90005627694
43765648272B4B   LIANNA       ROSES                        CO     33047136482
4376575175597B   STEPHANIE    GARRISON                     CA     90014607517
437664A1133B63   TINA         COLE                         OH     90014554011
43766793A71999   PEARL        PACHECO                      CO     38016197930
43767A19A5B174   DANIEL       PETTUS                       AR     23053150190
43767A2515B52B   ALEX         RODRIGUEZ                    NM     90013400251
4376854A12B27B   SHAWANDA     JACKSON                      DC     81008685401
4376881195B271   JACK         BABER                        KY     90001498119
43768985172B36   DAMARYS      MORALES                      CO     33017529851
43769579272B4B   SALOME       FLORES                       CO     90005565792
437699A5977595   JESSICA      PINA GONZALEZ                NV     90008729059
43769A6865B174   ORDETTE      CARTER                       AR     90005950686
4376B44624B271   JANNET       SMOOT                        IA     90004694462
4376B994551383   JENNIFER     MARTIN                       OH     90012789945
4377157665B52B   SIMON        SANDOVAL                     NM     90010525766
4377185738B165   MICHAEL      GALKE                        UT     90013988573
4377228574B543   SCOTT        KAUFMAN                      OK     90011062857
4377279992B27B   LEROY        PROCTOR JR                   DC     81059627999
4377312A95B271   LUIS         ROMERO                       KY     90014161209
43773175772B4B   WESLEY       BRETTING                     CO     90006651757
4377329A371996   NICHOLAS     SMITH                        CO     90009142903
4377397A572B36   ERICK        PEREZ                        CO     90005239705
4377432935B597   VERONICA     CAMARENA                     NM     90010583293
437745A1251383   LORI         LEESEMANN                    OH     66011355012
4377482328B16B   KANETO       TELONA                       UT     90007488232
43774837A91394   JOSE         NAVAS                        KS     90001988370
43774A37451334   TYJUAN       CANTRELL                     OH     90010430374
4377522774B271   RAY          KYLES                        NE     90007452277
43775268472B36   JUAN         ORDOZ ROMERO                 CO     33051502684
4377555285B597   BRENNA       SCHMOLL                      NM     90001385528
43776276A72B4B   LAURA        DUVALL                       CO     90002732760
43777A59A51334   TERRI        WILLIAMS                     OH     90006080590
4377814868B156   BRIAN        SHUPE                        UT     90002181486
4377856975B271   TRACY        SANDERS                      KY     90014095697
4377889282B27B   ROSA         VILLEGAS                     DC     90013398928
43779A26972B4B   JEANIE       WILLIAMS                     CO     90004720269
4378145842B87B   NESHA        GREEN                        ID     90014454584
43781538A5B58B   OLGA         MUNIZ                        NM     35022855380
4378188195B597   NICOLAS      MADERA                       NM     35059248819
43781939876B29   MARIO        BORJA                        CA     90005979398
4378197785B223   PHILLIP      COOMER                       KY     90007179778
4378232255B597   SAUL         MONTES MUNOZ                 NM     90014183225
43782329A77595   ARTURO       CASTRO                       NV     43078043290
4378236637B472   ANDRE        MEANS                        NC     90010863663
437827A3A51383   ERIVAN       GALICIA                      KY     90002697030
43782AA9891873   JANICE       POPLIN                       OK     21050330098
437836A6171934   JOHN         THOMPSON                     CO     90003346061
43784112472B43   FRANCISCO    MAESTAS                      CO     90013481124
4378467435B222   ROCIO        PRESA                        KY     90015326743
437848A1561967   DONALD       ODOM                         CA     90003298015
4378495AA86453   XAVIER       MATHIS                       SC     90014209500
43785282A72B4B   ROMAN        ACOSTA                       CO     90015002820
4378537815B174   BOBBIE       PETERSON                     AR     23043353781
4378674712B87B   KARI         CENTERS                      ID     41045247471
4378712785B53B   DEBRA        YBARRA                       NM     90014931278
4378737815B53B   AMBER        BENAVIDEZ                    NM     90014043781
4378784855B174   JOSE         PEREZ                        AR     90008438485
4378784A372B43   JOSE         GONZALEZ                     CO     90006628403
4378798575B52B   ZELMA        MARTINEZ                     NM     90005799857
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43787A9975B222   CHRISTY       CONATSER                    KY     90013510997
437881A9977595   TALANOA       PANUVE                      NV     90014231099
4378988585B56B   PATRICIA      MONREAL                     NM     90009218858
4378B247177595   WESLEY        BOHANNON                    NV     90014722471
4378B9A1561963   DAVID         CORPUS                      CA     90012149015
4378B9A735B58B   MAXINE        SANDOVAL                    NM     35072409073
4379118835B271   KENYA         BIVENS                      KY     90014161883
4379144255B58B   MISTY         MONTANO                     NM     35046274425
4379186455B222   CHRISTOPHER   BRAUNER                     KY     90014648645
4379263735B58B   MARGARET      LAMAGNA                     NM     90008486373
437928A2291569   LIUS          RAMIREZ                     TX     90008458022
4379328A851383   ISAAC         BRANDON                     OH     90014652808
4379386812B27B   JENNIFER      MATTHEW                     DC     90013878681
43793A95A5B174   TIMOTHY       DAVIS                       AR     90015320950
4379416272B27B   BRIAN         HASKINS                     DC     90013041627
4379438845B52B   ARTHUR        PACHECO                     NM     36045163884
4379487855B222   KIMBERLY      MOORE                       KY     90013018785
43794A1548B165   LEE           CUPPLES                     UT     90013740154
4379518975B271   DARRELL       HANGER                      KY     90014161897
43795683772B36   LUCIA         ZUNIGA                      CO     90012296837
4379588655B174   ERICA         GRIFFIN                     AR     90000858865
4379637635B222   DAWSON        HOOD                        KY     90010653763
4379687895B597   IRMA          DIAZ                        NM     35067458789
437969A4261967   ALVARO        GONZALES                    CA     46058329042
4379723A45B174   MICHAEL       REDUS                       AR     90013792304
4379728778B16B   PATY          BENITEZ                     UT     90006292877
4379736128B165   MARIA         CONTRERAS                   UT     31035653612
437981AA672B43   ALFONS        BARALA                      CO     90013961006
4379825862B87B   JASON         BRAMALL                     ID     90012722586
4379877685B271   JOHN          HARROD                      KY     90014727768
4379897239152B   FELIPE        MARTINEZ                    TX     90012429723
437992A9151383   KARENA        SPILLER                     OH     66090542091
4379931A661967   SHANNON       SAULTER                     CA     46016443106
4379972128B16B   BENJAMIN      GARCIA                      UT     90010327212
4379B31298B165   DANYELLE      REYA                        UT     90013303129
4379B784855939   LAURA         ORROSTIET                   CA     90002967848
437B123495B52B   GUADALUPE     CASTILLO                    NM     90014792349
437B239865B52B   JENNIE        PARKER                      NM     90010933986
437B2663272B36   DUANE         FERRELL                     CO     90012296632
437B2742391873   BRITTANY      BAILEY                      OK     90014637423
437B296555B597   LETITIA       PALUMBO                     NM     35009919655
437B3368672B4B   JOAQUIN       LOPEZ                       CO     33035863686
437B3421751383   TONY          SIMMONS                     OH     90000254217
437B3857961963   ANGELINA      MARTINEZ                    CA     90010978579
437B393A35B174   SHANNA        WHITE                       AR     90015179303
437B3A9698B16B   TRAVIS        SCHNEIDER                   UT     90015130969
437B4199176B22   MARIO         TEJEDA                      CA     46031091991
437B463795B597   STEPHANIE     GALLEGOS                    NM     35014556379
437B4714171999   SANDRA        PADILLA                     CO     38016217141
437B498745B52B   MONTOYA       CHRIS                       NM     36067659874
437B518A75B222   PHILLIP       MELLICK                     KY     68016901807
437B5296861963   AUSTIN        CARTER                      CA     90013592968
437B5459151325   TONY          GRIFFIN                     OH     90004984591
437B561615B597   ANTHONY       ATWOOD                      NM     90007836161
437B575614B271   CATHERINE     COX                         NE     27054917561
437B5764321981   SHARLOTTE     FRIERSON                    IN     20570107643
437B628135B52B   DORIAN        MENDOZA                     NM     90014912813
437B636875B52B   DORIAN        LOPEZ                       NM     90014793687
437B6381171999   ALICIA        BARELA                      CO     90014473811
437B642125B378   JOANNE        STILLSON                    OR     90011424212
437B7547271999   JUNE          JACOBS                      CO     90014695472
437B7897A4B271   ROMELIA       LORENZO                     NE     90004678970
437B89A5761967   ANGELA        PERCY                       CA     90013509057
437B919415B53B   CHARLIE       CHAVEZ                      NM     90013071941
437B9541A8B165   DEVIN         BAGLEY                      UT     90003845410
437B9596251383   JACK          PARSONS                     OH     66065915962
437B964AA72B36   JOSE          MORALES                     CO     90012506400
437B96A2471999   JANIE         REYES                       CO     90010626024
437B984112B87B   NANCY         PARISI                      ID     90011078411
437BB671977595   DEREK         OWENS                       NV     90011116719
437BB71885B222   ZACHARY       FITZ                        KY     90014597188
437BB86455B222   CHRISTOPHER   BRAUNER                     KY     90014648645
437BBA4A95B174   BEVERLY       STACEY                      AR     90006330409
43811485572B43   MICHAEL       HUDSON                      CO     33009894855
4381149275B58B   HARRY         GENERO                      NM     35028904927
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43812524672B4B   MARGARITA    FLORES                       CO     90009095246
4381321295B271   TRINITIE     SMITH                        KY     90014162129
4381346118B155   OWENS        ANDERSON                     UT     31083794611
438139A745B52B   ALBERTO      FIGUERO                      NM     90010739074
43813A5265B58B   PEGGY        ESQUIBEL                     NM     35039620526
4381534AA5B58B   LUZ          PARRA                        NM     90011893400
43815726372B4B   KENNETH      MORSE                        CO     90014357263
438168A5855939   ROSA         POSADAS                      CA     49061848058
438171A3A33662   KELIA        BRIM                         NC     90013901030
4381764A62B87B   JILL         SMITH                        ID     90014526406
43817982A55939   MARIA        FLORES                       CA     90012589820
4381823765B271   FRANCISCO    RUIZ                         KY     90014162376
4381877375B597   EUGENE       TAPIA                        NM     90013387737
43818A61171934   NICOLE       LUIS                         CO     90007230611
43818A77672B36   OSCAR        ROJERO-SALDANA               CO     33075290776
4381916462B27B   REGINALD     BRYANT                       DC     90011511646
4381B247872B43   DEANNA       FAUSNAUGH                    CO     90007172478
4381B328791873   LATREASE     FRAZIER                      OK     90012253287
4381B385A72B4B   JASON        CROSS                        CO     90008053850
4381B391351334   TAMMY        BLEVINS                      OH     90014313913
4381B854533625   MARK         MORRIS                       NC     90014978545
438211A7472B43   CANDIE       SANCHEZ                      CO     90008211074
4382139682B27B   CHARLENE     GOLPHIN                      DC     90011443968
43821A83661967   MARTHA       MURILLO                      CA     90011440836
4382262355B53B   EDWARD       BRITO                        NM     35067266235
4382358875B58B   JONATHAN     GARCIA                       NM     90006795887
4382429A22B87B   ROGER        STEINMETZ                    ID     90014812902
4382487395B53B   LEOPOLDO     ORTEGA                       NM     90015228739
4382512425597B   ANSEL        HENDRICKSON JR               CA     49090141242
43825445372B43   JESSICA      FITZI                        CO     90014104453
4382566A577595   MANUEL       RANGEL                       NV     90014736605
4382676A391569   ANDREA       CAMPOS                       TX     75089147603
4382696315B174   MAYA         BROWN                        AR     90012749631
4382759944B271   TOMMY        STRICKLIN                    NE     27031675994
438282AA372B4B   MELVIN       PESQUERA                     CO     33094752003
43828417572B43   LYNNETTE     SWAFFORD                     CO     90012824175
4382897A371999   ALMA         RASCON                       CO     90012949703
43828A1863195B   TIMOTEA      JEMENEZ                      IA     90015420186
43828A8415B53B   MARTY        SANCHEZ                      NM     35099290841
4382928798B165   MARCELINO    HANWAY                       UT     90013272879
4382B12978B16B   DERIC        REEVES                       UT     31081691297
4382B1AA272B4B   MARIA        SILVA MARQUEZ                CO     33076281002
4382B363691873   TANIA        JUAREZ                       OK     21065413636
4383129795B53B   MARIA        PORTILLO                     NM     90011882979
43831513A77595   ALFREDO      GARCIA                       NV     90006985130
43831566672B36   CHRISTINE    OSBURN                       CO     33034365666
438322AAA61963   FLORENDA     FLORENZA                     CA     90006252000
4383259175B597   CHRISTINA    NELSON                       NM     35043675917
4383319292B27B   AUGUST       VALENTINE                    DC     90012841929
4383368815B271   DENISE       VAUGHN                       KY     68013736881
4383465655B271   TOBIAS       CLARK                        KY     90002876565
43834A29991569   ADRIEL       MANRIQUEZ                    TX     90012420299
4383522235B597   LUIS         CASALES-SORIANO              NM     35093222223
43835283772B4B   MONICA       MENDEZ                       CO     90013262837
4383728447122B   MARIA        CARRILLO                     IA     90014332844
43837461A72B4B   PAUL         CHAUSSART                    CO     90014814610
438375A292B87B   LEILA        SIEVEN                       ID     90014505029
4383768514B934   DEWEY        VAUGHAN                      TX     76564846851
4383929A85B53B   LEIGH        VANBUSKIRK                   NM     90001012908
4383B163477595   MICHAEL      ROBBINS                      NV     90014371634
4383B647551334   COLBI        ERVIN                        OH     90011746475
4383B75135597B   MELANIE      LEE                          CA     90010977513
4383B948A8B16B   ALEJANDRO    SANCHEZ                      UT     31072909480
4383B9A1372B36   KOLTTOE      BARNETT                      CO     90010519013
4384129A491873   ENIRQUE      LUNA                         OK     90012712904
4384163332B27B   JOE          SIMTH                        VA     90012756333
43841A15A84349   JOSE         ARMANDO                      SC     90011310150
43842A66855939   ANTHONY      BEASLEY                      CA     90014910668
4384316862B27B   JOSHUA       BROWN                        DC     90008641686
4384317A37B66B   EUGENE       MITCHELL                     GA     90013911703
438431A1772B4B   FRITZ        HOTRODZZ                     CO     90006701017
43843431A91873   JAIME        RAMIREZ                      OK     90004194310
4384368785B597   MELISSA      GARCIA                       NM     90014696878
43843A1A35B58B   EULALIO      ABEITA                       NM     90012680103
43844391A51383   MOLLY        NIEHAUS                      OH     90015213910
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438457A5972B36   NICOLED            SPENCER                CO     33011767059
4384635915B174   SONYA              WASHINGTON             AR     90003043591
43847132172B4B   KERRY              FOY                    CO     33091581321
4384797745B271   JASON              PERKINS                KY     68092779774
438487A965B58B   WALTER             WORBIS                 NM     90014867096
438488A3371999   ALYCIA             BORTON                 CO     90014868033
43848A1372B87B   MELISSA            KEANE                  ID     41003850137
4384B357751383   JUDY               HUGHES                 OH     90014643577
4384B752277595   TARYN              RUSSELL                NV     90014737522
4385128555B58B   LUZMARIA           DUARTE                 NM     90013962855
43852497A5597B   ZARATE             ELIZABETH              CA     90002084970
4385266A64B271   DANIEL             KOMOR                  NE     90013276606
4385343A161967   KENNETH            STEWARD                CA     90000874301
4385375985B271   JAIME              MOODY                  KY     90007677598
4385377368B16B   HECTOR             ARRAEZ                 UT     90012567736
43854A4375B174   NICHOLAS           WILLIAMS               AR     90015210437
4385537A651383   JASON              RATLIFF                OH     90014643706
4385546448B165   RAY                SCOOGAN                UT     90013344644
4385584145B58B   MONICA             BECERRA                NM     90014858414
4385591178163B   TAMIKA             BRADLEY                MO     90014089117
4385592828163B   TAMIKA             BRADLEY                MO     90014919282
43855A46891569   VIVIAN             VILLAMIL               TX     90013400468
43855A8A22B27B   RITA               SMITH                  DC     90014440802
43856181974B3B   LORENA             SCOTT                  OH     90015291819
43856236472B36   JUSTIN             TRUJILLO               CO     33054882364
4385634398B165   TY                 WORTHINGTON            UT     90011903439
438563AA75B58B   ARCHIE             VALENCIA               NM     90011133007
438566AAA61967   SCOTT              CARLSON                CA     46013836000
4385776558B16B   ARIANA             MAUGA                  UT     90012667655
438582A7147954   ANDRES             LOPEZ                  AR     25019792071
4385854245597B   KELLY              PUGLIESE               CA     49094445424
43858A48951383   PIERRE             LOCKETT                OH     90014700489
4385917A32B27B   TAHEERA            WALL                   DC     90009741703
4385966385B53B   ARTHUR             GAERLAN                NM     35021186638
43859731172B98   GEORGINA           BARBA                  CO     33066807311
4385B61A172B47   SEAN               MCENIRY                CO     90012056101
4386131A661967   SHANNON            SAULTER                CA     46016443106
4386163995B174   CHARLOTTE          KEISTER                AR     90015276399
43861A5588B16B   CHARLES            KANE                   UT     31007760558
4386218AA84381   EDGAR              RAMIREZ                SC     90014731800
4386289215B58B   SHEENA             BURNS                  NM     35064398921
4386359175B597   CHRISTINA          NELSON                 NM     35043675917
43863A15191569   RUBY               RILEY                  TX     90015020151
43863A9A24B271   WALTER             BARNETTE               NE     90005630902
43864A25861963   MARCIA CASSANDRA   HUNTER                 CA     90014880258
438651A5972B4B   OLIVIA             GONZALEZ               CO     90013671059
4386593478B156   ALBERT             COPPAGE                UT     90011149347
4386627262B27B   ALICE              SUMYATI                VA     81037482726
43866781A4B271   EDUARDO            DEL ANGEL              NE     90011367810
4386834535B222   LAKISHA            LAPRADD                KY     68038223453
4386856A64B531   HALEY              MOORE                  OK     90012725606
4386873658B165   ANTOINETTE         LEWIS                  UT     90014347365
4386947665B58B   KALEEN             KALAMA                 NM     90013964766
4386B269651334   CIARA              SONTAG                 OH     90012452696
4386B45992B87B   RICHARD            JOHNSON                ID     41018244599
4386B515272B4B   LIZBETH            MEDELLIN-HUESCA        CO     33046055152
4386B58598B165   BRANDON            ANDERTON               UT     90013875859
4386B76175B523   ROSEMARIA          BACA                   NM     90011017617
4386BA2695B597   LUIS               VALENZUELA             NM     35050160269
4387238338B165   WILLY              B STOWELL              UT     90011153833
4387276A555939   RATHA              CHAN                   CA     90012927605
438729A6361963   EBELIO             LOPEZ                  CA     90001639063
438753A312B87B   LEANNE             FRALEY                 ID     90004653031
438753A5561967   DENISE             MANGE                  CA     90004493055
4387552345597B   ARTEMIO            REYNOSO                CA     90009275234
43875AAA372B36   SEAN               KRULL                  CO     90012600003
43876249A5597B   MARIA              DE DIOS                CA     90011332490
4387715737168B   TAMMY              TOBER                  NY     52099541573
43877894972B4B   JENNIFER           MEDINA                 CO     90003488949
4387791585B52B   MICHAEL            SOLIS                  NM     90014989158
4387822143147B   SHENEA             GARY                   MO     90007572214
4387823845B597   JONAH              LITTLEHOOP             NM     90007222384
438783A215B174   LUIS               COCA                   AR     23061943021
4387899272B87B   MASON              WESSELMAN              ID     90014419927
4387946815B53B   SUSANA             CARRILLO-BRECEDA       NM     90014624681
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4387959724B271   COURTNEY      KINMAN                      NE     90012255972
4387B659A8B16B   JOSE          LOPEZ                       UT     90005216590
4387B69265B58B   STEPHAN       GOLDMAN                     NM     90011126926
4388129475B597   ALY           YANIMAYER                   NM     90008632947
4388182265597B   ELIZABETH     ONYEGASI                    CA     90008838226
43881A5714B271   ANTHONY       GARCIA                      IA     27097920571
4388213775B597   ARTHUR        BLEA                        NM     35049741377
4388229852B27B   PATRICIA      GAMBLE                      DC     90012562985
4388251A271999   ANTHONY       SOTO                        CO     90013085102
4388296158B165   GIOVANNI      SANCHEZ                     UT     31003219615
4388297935B53B   JASMINE       LOPEZ                       NM     90012769793
43883333444B71   AARON         LIPSCOMB                    OH     90015373334
43883429A72B4B   FREDDY        CONTRERAS                   CO     90008334290
43884463A77595   THERESA       COFFMAN                     NV     90011154630
4388454828B156   CHANTEL       MORA                        UT     90002215482
4388556488B16B   MICHELLE      BORG                        UT     90009115648
43885783972B36   TRUJILLO      APRIL                       CO     90010687839
4388611629187B   NICK          TORRES                      OK     21093741162
4388699498B165   PENOA         LILOMAIAVA                  UT     90012959949
4388758212B872   MIKE          WARREN                      ID     90002515821
4388782775B597   MARIO         MANZANARES                  NM     90010558277
4388B425272B39   ROBERT        MARTINEZ                    CO     90007674252
4388B87178B16B   NANETTE       GONZALEZ                    UT     90012248717
4389138A75B271   EDVENIA       DOWLEN                      KY     90014163807
4389239A377595   ALFREDO       MARTINEZ                    NV     90012493903
4389265A672B36   RICHARD       MARSCARENA                  CO     90009536506
4389338165B271   ZACK          NUSSER                      KY     90014163816
43893415A61967   VERONICA      TORRES                      CA     90004764150
438939A6472B36   FRANCISCA     BAHENA                      CO     33074379064
43893A45572B43   JULIANA       SAUCEDO                     CO     33045960455
4389455118B14B   LEROY         KINDER                      UT     90012315511
4389457945B174   WHITNEY       HICKS                       AR     90015005794
43894722172B4B   SHIRLEY       MARTINEZ                    CO     90015137221
43895212772B36   TIMOTHY       RICE                        CO     33075462127
4389539785B271   TIMA          ELMORE                      KY     90014163978
4389561372B27B   LAKISHA       THOMAS                      DC     90011146137
43895A36291873   LAUREN        TOSH                        OK     90014780362
43895AA5871999   EDWARDO       CORTEZ                      CO     90010990058
438979A4477595   RICARDO       AVINA                       NV     90010249044
43897A72371999   EUGENIA       ARZATE                      CO     90010490723
4389888338B16B   ADRIANNA      TERRIQUEZ                   UT     90011778833
4389898662B27B   REGINALD      REGINALD                    DC     90014809866
43898A48872B4B   AUBREYL       LAGUARDIA                   CO     90011050488
43898A7168B165   MATTHEW       JONES                       UT     90014970716
43898A7925B597   OLGA          CASTILLO                    NM     35049660792
43898A7A15B174   JESSICA       MARS                        AR     23069950701
4389948762B87B   RICHELE       ROOT                        ID     90006844876
4389986195597B   LUIS          RAMIREZ                     CA     90014608619
438B124715B52B   BRITTANY      GARCIA                      NM     90012982471
438B1797261967   WILLIAM       FORSYTHE                    CA     90014857972
438B182A15B597   LEANN         LOPEZ                       NM     35092778201
438B233745B271   LAWRENCE      JONES                       KY     68063483374
438B288A461967   NANCY         ANGUIANO                    CA     90013038804
438B297A561963   HEATHER       MAJOR                       CA     90010429705
438B356345B53B   CARRIE        GARSON                      NM     90009895634
438B359925597B   BRIAN         KING                        CA     49085525992
438B35A7391523   GISSEL        MEZA                        TX     75055295073
438B5192357134   JUANA         GONZALEZ                    VA     81013681923
438B523645B53B   CHRIS         POLACO                      NM     90004262364
438B5341981639   TIMOTHY       DELACY                      MO     90014863419
438B63A545B597   NICOLE        FEGER                       NM     90005083054
438B6436A61963   OVDIU         CRISAN                      CA     90010354360
438B678A791569   ALVAREZ       MARYANN                     TX     90007777807
438B6A9AA91924   MARIO LOPEZ   ALBERTO                     NC     90008390900
438B7661761963   CRYSTAL       VANDYKE                     CA     90012956617
438B826322B87B   JOSHUA        GARDNER                     ID     90005112632
438B862945597B   FERNANDO      MORA                        CA     90001366294
438B877328B16B   KELLY         THOMPSON                    UT     31063437732
438B8855191873   JENEEN        BAILEY                      OK     21085048551
438B9516191569   ROSWMARY      PADILLA                     TX     90011835161
438B986215B174   LA CRESHA     HARRIS                      AR     90002268621
438B9911172B43   JORGE         DIAZ-QUIROZ                 CO     90002539111
438BB285161967   FRANCISCO     GONZALEZ                    CA     90011352851
438BB93745B58B   VERONICA      GURULE                      NM     35094989374
438BBA7985B523   BEN           LUCERO                      NM     90007100798
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438BBAA655B53B   CHRIS               HOLLINGER             NM     90009850065
4391133965B222   CURTIS              MABRY                 KY     90015323396
4391134635B58B   ADRIAN              OBESO                 NM     35090933463
4391146765597B   LUE                 YANG                  CA     90013394676
43912474A5B53B   JAMIE               GARICA                NM     90013524740
439132A9361988   DENISE              MCEWAN                CA     90006622093
43913421A8B16B   SCOTT               FARRIMOND             UT     90010354210
4391389A991569   BIANCA              ORTIZ                 TX     90006178909
4391451922B27B   LAQURILA            FITZHUGH              DC     90013145192
43914A41A77595   RITA                LOPEZ                 NV     43028450410
4391587895B53B   JACQUALINE          CONNER                NM     90012358789
43917283A5B174   CAMEO               STOKES                AR     23067882830
439174AA25B52B   ARMANDO             MARIN                 NM     90010194002
4391758765B597   ARLENE              MELENCIANO            NM     35001245876
4391772477B347   ANA                 VASQUEZ               VA     90007737247
4391792125B58B   AL                  CASTIILLO             NM     35033979212
4391793385B222   GREG                MITCHELL              KY     68038339338
43917A49374B31   LAUREN              BAKER                 PA     90006730493
4391816648B165   MELISSA             ANN                   UT     31077991664
4391845435B271   JOSE                MARTINEZ              KY     90011614543
4391924822B87B   SHANAE              SPRINGER              ID     90007982482
43919337A72B4B   BENJAMIN            BERUMEN               CO     33028213370
43919528472B43   GUILLERMO           ACEVEDO               CO     33008355284
439196A382B27B   ASSLAN              SULAIMAN              VA     90005126038
43919A5825B222   STEPHANIE           GOGGINS               KY     90004710582
4392161A18B165   MONICA              MOLINA                UT     31014846101
4392176845B58B   KAREN               GARCIA                NM     35057827684
4392229818B16B   DAVID               PADGETT               UT     90006292981
43922A65861967   MIGUEL              QUINTERO              CA     46018030658
4392325715B597   BERTHA              VELASQUEZ             NM     35021922571
4392351365B526   GREGORIO            RIVERA                NM     90011465136
43923638172B4B   ASHLEY              BEARD                 CO     90013456381
4392381615B222   WILL                FEHRIBACH             KY     90010818161
4392387635137B   AMITY               WORLEY                OH     90009568763
4392393985B264   QUIESHA             CARTER                KY     90005029398
4392455AA55939   EDUARDO             RODRIGUEZ             CA     90009035500
4392527585B597   REBECCA             RENSHAW               NM     90009472758
439258A4A91569   LUZ                 SANDOVAL              TX     75003248040
43925A3885B222   SHAMEIKA            JEFFERYS              KY     90015260388
43926536A5B53B   DONNA               JONES                 NM     35014895360
439265A9776B5B   ARACELIA            MORALES               CA     90006235097
43926647A5B58B   SHIRLEY             MIRAMONTES            NM     90010056470
4392776A555939   RATHA               CHAN                  CA     90012927605
439295A1671999   JEREMIAH            WHITE                 CO     90013305016
439297A795B523   MEAGAN              BREY                  NM     90012397079
4392989455B597   KATHY               MONTOYA               NM     90009298945
4392B2A275B597   FELICIA             QUINTANA              NM     90004192027
4392B732272B36   JESUS               VASQUEZ               CO     33055897322
4392B749491873   JAYMZ               WILLIAMS              OK     90002147494
4393128755B52B   ROSA                SARCENO               NM     90015012875
4393176A855939   BOBBY               SCHWARTZ              CA     90011507608
4393195362B87B   LEVI                BUCKLES               ID     90015119536
439327A675B597   NICHOLAS            THOMPSON              NM     90012677067
43933562A61967   ANTWYON             JOHNSON               CA     90013545620
43933AA1176B59   ISRAEL              FLORES                CA     90012700011
4393419195B597   MICHAEL             GONZALES              NM     35076961919
4393488315B271   JACKIE              ROBINSON              KY     68037588831
43934A45251383   LAETITIA            MOORE                 OH     90014900452
4393591925B174   CHERYL              WILKINS               AR     90012919192
43935A77161967   CHRISTIAN           TRZCINSKI             CA     90014140771
43935A92571934   MICHAEL             CONNOR                CO     32087100925
43936541276B5B   KATHLEEN            MCINTYRE              CA     90004745412
43936868572B32   MARTHA              SOLIS                 CO     33075348685
4393686A84B541   DANIELA             AGUILAR               OK     90015018608
4393711A98B16B   MATTHEW             STONE                 UT     90013641109
4393739A15B597   THOMAS              GUTIERREZ             NM     35063433901
4393799A15597B   DANIEL              FLORES                CA     49005489901
4393857815B597   SOLOMAN             AUSTIN                NM     35049655781
4393857A45B271   L.D.                YEAGER                KY     68002715704
4393918A872B43   MARIA AIDE SUSANA   MARTINEZ MEDRANO      CO     90013631808
4393974985B52B   FLOR                DIAZ                  NM     36003437498
4393B271177595   DESTINY             HOLMBERG              NV     90014752711
4394127A672B43   ZACHARY             LANGE                 CO     33016562706
4394198694123B   JACQUELINE          GUADAMUZ              PA     51073969869
43941A1974B271   JAVON               WAFFORD               NE     90014070197
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4394334585B174   WAYMON         THOMAS                     AR     90014713458
4394429695B174   MARIA          URBINA                     AR     90014262969
43944863A91873   SYLVIA         LOSANO                     OK     21015428630
4394661132B87B   STEVEN         FRANK                      ID     90009596113
4394664518B165   SHANNAN        HARRIS                     UT     90000166451
439472A3191549   CINDY          MORALES                    TX     90006542031
4394793588B165   BAYLIE         SMITH                      UT     90006959358
4394919888B165   JENNIE         TAULA                      UT     90013711988
4394932A451383   YAZMINE        HARRIS                     OH     90011953204
4394948395B271   ANTINIO        GOMEZ                      KY     90014164839
4394B98872B26B   ROSENDO        TORRES                     VA     90008309887
4395182A691569   MARCO          GURRESRO                   TX     90012838206
43953189872B43   MA DEL ROCIO   OCAMPO                     CO     90013081898
439532A188B165   CHARLES        OBRIEN                     UT     90013112018
4395361477B66B   FRANKIE        WIGGINS                    GA     15015746147
4395379355B52B   ENRIQUE        BOJORQUEZ                  NM     36033367935
4395439568B186   RHEL           JARRAD                     UT     31055073956
439553A655B271   NICHOLAS       GENIALE                    KY     68062803065
4395589215B53B   JENNFER        TORREZ                     NM     35061438921
4395625478B165   WHITNEY        NESBITT                    UT     90014642547
4395689772B87B   EARL           PRICE                      ID     41013428977
4395784575B58B   IRIDIAN        CARRILLO                   NM     90013778457
439585AA65B597   REYANN         MENDOZA                    NM     90013125006
4395958955B222   LISDAY         BECERRA                    KY     90006335895
4395992245B52B   DAVID          ARELLANES                  NM     90009519224
4395B31865B58B   LIDIA          GARCIA                     NM     35015093186
4395B383291873   TAMECO         GAINS                      OK     90011033832
4395B425361963   ESTER          DE LOS SANTOS              CA     90014654253
4396256AA61967   ANTHONY        BROWN                      CA     90014915600
43962A2515B53B   FULISHA        ARMSTRONG                  NM     90010310251
4396376475B53B   REBECCA        REYES                      NM     35034977647
439639A2691873   DANIKA         DAVIS                      OK     90011549026
43964A4655B523   DIANE          LUCERO                     NM     90013710465
43965665472B4B   JUAN           GARCIA                     CO     90004936654
4396583AA2B27B   CASSANDRA      RUE                        DC     90013958300
43965941876B59   OSVALDO        ARPIO                      CA     90011909418
4396622925B597   ZYLFI          AGUSHI                     NM     90012202292
4396648755B174   VERA           FRANKLIN                   AR     23077054875
43967272972B43   MARISOL        RIVAS                      CO     90002832729
4396792182B27B   GWENDOLYN      MILLER                     DC     90009879218
4396815615B52B   SHANTELLE      TRUJILLO                   NM     36063051561
43968762A8B165   WILLY          STOWELL                    UT     31024437620
4396B1A7524B64   MONICA         RODRIGUEZ                  DC     90012751075
4396B77388B16B   ALEX           MORENO                     UT     90012607738
4396B785184321   TJ             SOUTHERS                   SC     90009177851
4396B989391873   CHRISTINE      BILLY                      OK     90010899893
4397124A14B271   EMELIA         RODRIGUEZ                  NE     90014752401
43971491572B4B   RICHARD JR     COLEMAN                    CO     33039064915
43971A3398B165   NICHOLE        CARLSON                    UT     31066740339
4397321395597B   ERICKA         GOODWIN                    CA     49034632139
439732A5491394   VERONICA       BERROA-CARRASCO            KS     90011502054
43974798372B43   FRANKLIN       SANDRA                     CO     90011367983
4397495565B58B   MARSHA         BROWN                      NM     90013459556
43974A3745B58B   MARSHA         BROWN                      NM     35068670374
4397668815B271   JELMER         VASQUEZ                    KY     68054306881
4397719338B16B   MAKAYLA        ROLLINS                    UT     90015231933
4397719642B27B   NADIA          JOHNSON                    DC     90002181964
439771A825B53B   ROBERT         PROA                       NM     35037281082
4397725558B16B   BELKA          SERVICES                   UT     90005812555
4397785715B58B   AARON          ROMERO                     NM     90013778571
43978A73A4B271   DONALD         JENNINGS                   NE     27089410730
4397952165B271   BILLY          SEARS                      KY     90014165216
43979598A51334   RANDALL        GLARDON                    OH     90012225980
4397B288891569   JORGE          IBANEZ                     TX     90000212888
4397B3A1561963   SHAWNN         PARKER                     CA     46072583015
4397B59A65B174   CLEDTRA        ALLEN                      AR     23053815906
4397B83365B271   RACHEL         COLEY                      KY     90010148336
4398158538B163   KEVIN          WORTHINGTON                UT     90012345853
439816A138B163   JOAN           WORTHINGTON                UT     90012346013
4398212125B271   MICHELLE       BEAMS                      KY     90009471212
43982335572B36   BRENT          BAILEY                     CO     90010863355
439831A775B597   ANA            ACOSTA                     NM     90014741077
43983377772B43   KENNETH        HARRISON                   CO     90012813777
4398383335B222   JOESPH         JONES                      KY     90014768333
439842A5591873   AMUNIQUE       COZART                     OK     90012562055
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439849A835B597   DOMINIQUE      MARCUS                     NM     90009299083
43984A56371934   LISA           ABITIA                     CO     90002400563
4398532A191569   ALICIA         ANGELICA LEZA              TX     90010503201
439858A1361995   PEDRO          VENEGAS                    CA     90003278013
439859A672B27B   JO             JO                         DC     90006429067
4398681473B32B   MANSOUR MIKE   MOHSENI                    CO     90011698147
43986A13172B36   RICHARD        TAYLOR                     CO     33040780131
4398722A551383   KENNETH        MUNDY                      OH     66068272205
439877A2171999   DANA           BIGAM                      CO     90012537021
4398798845B388   BRUCE          DEFOREST                   OR     44030599884
439881A114B271   GAIL           PETERS                     IA     90001161011
43989A2945B56B   IDALY          ARIAS-RIVERA               NM     90008110294
4398B346351334   DYASHA         DAVIS                      OH     90014173463
4398BA6125B52B   ANTONIO        DOMINGUEZ 3RD              NM     90009540612
4399133A54B271   TOMMIE         BLAN                       NE     90011253305
43991353A61963   JUAN           GARCIA                     CA     90012543530
4399135415597B   DUSTIN         BRADY                      CA     90010863541
43991A8115B174   ORETHA         BROWN                      AR     90014120811
4399224858B16B   REYNA          RIVAS                      UT     90007392485
43993415972B36   TIMOTHY        ROBINSON                   CO     90003474159
43993A39591873   NANCY          CARBAJAL                   OK     90013810395
43994884A72B36   CHRIS          MAZICH                     CO     33027658840
4399519995B271   VALERIE        BARLOW                     KY     90014171999
439953A3361963   JAIME          FLORES                     CA     46091253033
4399584225B174   JAMES          CRITTENDEN                 AR     90009438422
4399592975B222   KARLA          GRIFFITH                   KY     68039969297
4399662575B58B   THRESA         COY                        NM     90007176257
43996AA675B52B   SALMA          HUERTA                     NM     36001090067
439971A862B87B   SHEENA         FREEMAN                    ID     90014551086
4399748192B87B   CAMEY          SMITH                      ID     90013744819
4399765A971999   MARY           MARTINEZ                   CO     90012616509
439979A475B271   TINA           BRATCHER                   KY     90009569047
43998123772B36   CANDACE        POLK                       CO     90014731237
4399855965B271   KATHY          ONEAL                      KY     90014165596
43998999372B36   SELINA         MARTINEZ                   CO     90014849993
4399949195B222   AUSTIN         MCCLAINE                   KY     90012154919
4399B258491873   JACKLYN        ALVEREZ                    OK     90010952584
4399B34528B165   JESUS          UGAS                       UT     90009843452
4399B398A5B222   TRANG          LE                         KY     90013823980
4399B528272B43   ART            MARTINEZ                   CO     33007725282
439B1413461963   WILLIAM JR     GLOVER                     CA     46050404134
439B1539233694   KIMBERELY      WARDLAW                    NC     90009155392
439B182665B174   SHUNNA         TURNER                     AR     90009068266
439B34A1A7B698   CAROLING       MCCLINTON                  GA     90008604010
439B4592677595   ALEX           GARCIA                     NV     43063945926
439B486265597B   MARCO          FLORES                     CA     90011508626
439B5453672B43   AMY            VANDERKOOY                 CO     33000164536
439B5761171999   MICHELLE       BRADLEY                    CO     38033867611
439B6868391873   TERRELL        MILLER                     OK     90013958683
439B6898851383   TIFFANY        MARTIN                     OH     90013478988
439B7162472B36   MARIA          BUSTAMANTE                 CO     90009531624
439B8372691569   ERICKA         SALINAS                    TX     75082253726
439B958282B87B   MARY           DANDREA                    ID     90014825828
439B968348B165   CARLOS         CANAS                      UT     90013256834
439BB252861963   MIKE           C                          CA     90009152528
439BB527672B43   MABEL          CAMEZ ORTEGA               CO     90011505276
439BB58394B271   NICHOLAS       WALKER                     NE     90013685839
439BB78452B87B   LOGAN          YOUNG                      ID     41060727845
43B1148A793721   RITA M         SOMMER-NEVES               OH     90003744807
43B1218928B16B   EDWIN          SIMS                       UT     90012411892
43B12312791873   ADIL           MARTINEZ                   OK     90012253127
43B12372A72452   THOMAS         ZIMMERMAN                  PA     90014583720
43B1273535B222   MARSHAUN       WILLIAMS                   KY     90014287353
43B12897777595   ROBERT         JOHNSON                    NV     90002368977
43B12965272B4B   RAFAEL         GUTIERREZ                  CO     33052499652
43B1329595B223   SHERRY         CARANTO                    KY     90000912959
43B13332A3162B   ASHLEY         HUDLIN                     KS     90010733320
43B13AAAA77595   JOSEPH         MEDEIROS                   NV     43077940000
43B142A265B523   JIMMY          MATA                       NM     90006772026
43B14462A55939   BRYESHIA       YOUNG                      CA     90015304620
43B1456665B155   LINDA          LUCKEY                     AR     90013735666
43B1467414B271   JOSE           ADAME PUENTES              NE     27041756741
43B14A7945B222   ROY            MANSFIELD                  KY     90007660794
43B14AA115B174   JOSE           SIERRA                     AR     90014900011
43B159A6591873   KIMBERLY       BATEMAN                    OK     90013679065
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43B15A46372B43   ROBERT              BURGOYNE              CO     90001030463
43B16137A4B271   LINDA               COTTON                IA     90011421370
43B16614571968   CHRIS               SANDOUAL              CO     32017496145
43B17447572B43   BRENDA              CLAY                  CO     33070484475
43B175A785B174   KENDALL             SEWARD                AR     90012515078
43B17625471949   FRANCINE            GERNERT               CO     90004756254
43B17647A5B271   BRANDIE             WHEELER               KY     90014946470
43B18154151334   CHRISTINA           GODBEY                OH     90001121541
43B18166661967   RAY                 BROWN                 CA     90009951666
43B18242272B36   JAYSON              BARKER                CO     90001082422
43B1853175597B   MARIBEL             MELO-ROMERO           CA     90013055317
43B1994912B828   VICTOR              REYES                 ID     90008069491
43B19968872B4B   ANGEL               YANEZ                 CO     90012029688
43B19A5794B546   ELIZABETH           PHILLIPS              OK     90006260579
43B1B166774B97   FRANK               SEYMOUR               OH     90015111667
43B1B51625597B   RAMON               HERNANDEZ             CA     90011985162
43B1B58938B16B   GERARDO             CORTEZ                UT     90014815893
43B1BA17661963   SEULDIEU            PIERRE                CA     90008690176
43B2143485B58B   KEVIN               LINDSTROM             NM     90011034348
43B22718872B36   CRYSTAL             HOUSE                 CO     33069647188
43B22A48372B39   AMBER               MARTINEZ              CO     33098500483
43B233A3171999   THERESE             RAMIREZ               CO     38092973031
43B23545472B4B   JULIE               BARNES                CO     33013585454
43B23554A55939   ALEISHA             DEYOUNG               CA     90007445540
43B237A6172B36   CRISTINA            ORTEGA                CO     33065797061
43B239A635B52B   VICTOR AND SYLVIA   RODRIGUEZ             NM     90005549063
43B23A37572B43   SANTACRUZ           MORALES               CO     33057210375
43B24698361963   CAMARA              DOUGLAS               CA     90010446983
43B246AA155939   HAITHM              SHAALAN               CA     90008966001
43B24831677595   MONICA P            CORDOVA               NV     90005388316
43B25197372B43   CHARLES             EDWARDS               CO     90007511973
43B2581865B52B   BRIAN               HERRERA               NM     90013578186
43B26748A8B165   JESSE               TEEPLES               UT     90014157480
43B2678A351383   KATRINA             HENRY                 OH     90014007803
43B2682915B174   RONALD              JAMES                 AR     90012038291
43B2683935B271   MARTIN              PEREZ                 KY     68017158393
43B2759555B597   JOHN                ROMERO                NM     90013355955
43B27A75171934   JAN                 MONTOYA               CO     32067560751
43B28445851383   NICHELLE            FRAZIER               OH     90012874458
43B2872927B66B   AMANDA              STELMACK              GA     15011977292
43B28A26791873   PAUL                HERITAGE              OK     21064260267
43B2936A92B27B   LARRY               TEACHEY               DC     90010493609
43B2971565597B   PORCHEANA           WILLIAMS              CA     90010147156
43B2B277351334   ELDER               ALBETO                OH     90006382773
43B2B523391569   ALEJANDRA           ZEIJAS                TX     90008475233
43B3144815B271   KELLY               DALE                  KY     90014094481
43B31915A91873   SHANICE             WILSON                OK     90014789150
43B34264172B4B   LINCOLN             CARR                  CO     90010372641
43B34914571999   FRED                MARTINEZ              CO     90007179145
43B3522455B58B   LINNAE              WILLIS                NM     90015082245
43B35444733673   MONIQUE             HAIRSTON              NC     90013354447
43B354A268B165   GLADYSS             NUNEZ                 UT     90012694026
43B35785672B43   JOHANNA             SIERRA                CO     90004027856
43B3597745B52B   ANTHONY             LARRANAGA             NM     90014729774
43B36279777595   ERIKA               SALDIVAR              NV     90008152797
43B36426A9127B   KENDERICK           ROLLINS               GA     90012334260
43B36635991569   KEVIN               STRINGHAM             TX     75089206359
43B36832872B36   LUIS                MUNGUIA               CO     33067658328
43B3749233163B   JEANNIE             LOPEZ                 KS     90013484923
43B378A165B271   JAMIE BARMORE ND    JERRY MAGGARE         KY     90014638016
43B37923A55939   BRYANT              DEANE                 CA     90013029230
43B3877335B222   ALICIA              CONTRERAS             KY     90014167733
43B3896525B53B   JAMES               DIXON                 NM     35048809652
43B39192161925   EMILIA              ARREGUINO             CA     46060041921
43B39319172B4B   WALTER              PETERSON              CO     90012653191
43B3947915B52B   AMBRIEL             JARAMILLO             NM     90005324791
43B3983185B597   CATHLEEN            MONTOYA               NM     90012668318
43B39973861963   MARC                COTTOM                CA     90013109738
43B41174991873   PAYGO               IVR ACTIVATION        OK     90010461749
43B4162A95597B   JONATHAN            ORTIZ                 CA     90008326209
43B4178328B16B   JACOB               ARMFIELD              UT     90012327832
43B41955555939   FRANCISCO           SALAZAR               CA     90012589555
43B42127371999   WADE                BROADHEAD             CO     38001101273
43B4315338B165   ALJEJANDRO          MOORE                 UT     90014881533
43B4362A85B58B   MARTIN              ESPARZA               NM     35005396208
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43B43885355939   CLAUDIA      HERNANDEZ                    CA     90003528853
43B44227777595   SETH         RADHAWK                      NV     90012702277
43B4445378B165   MANDILYN     COLLINS                      UT     90008474537
43B44511291873   PEDRO        AMAYA                        OK     21004885112
43B44668855939   JANETTE      ETHERIDGE                    CA     90010596688
43B45954672B43   BARBARA      PRINARI                      CO     33079899546
43B4693878B16B   ROXANN       FRANKLIN                     UT     90010679387
43B46982991569   CYNTHIA      RAMIREZ                      TX     90014339829
43B46A13951383   DAN          GRIGGS                       OH     90014420139
43B48247772B43   PAMELA       ANN ASANSBURN                CO     90008752477
43B48814155939   MARIA        GARCIA                       CA     90009868141
43B4887695B222   TONI         BUCKHOLZ                     KY     90013898769
43B492A165B53B   JOHN         REYES                        NM     35067972016
43B49399A55939   ROBERT       PEREZ                        CA     49094543990
43B4964885B597   MICHELLE     HINES                        NM     90008716488
43B496A495B58B   JONATHON     TOFOYA                       NM     90011176049
43B49921191569   ARTURO       ALDERETE                     TX     75087119211
43B4B243251383   WILLIAM      SHARP                        OH     90011882432
43B4B382577595   ROLANDO      REYES DELGADO                NV     90004013825
43B4B48515597B   CANDY        ROSSE                        CA     90001694851
43B4B525855939   AMBER        MADRIGAL                     CA     49098315258
43B4B579172B43   SANDRA       GUERRA                       CO     33085045791
43B4B5A585B271   MANCILLA     MARCOS                       KY     90014095058
43B4B85695B597   JORGE        DEVORA                       NM     90014958569
43B4B91498B186   BENJAMIN     OWEN                         UT     31008049149
43B4B91A12B27B   BRENDA       GOMEZ                        DC     90012329101
43B51A3145B53B   COLETTE      BLACKWELL                    NM     90005200314
43B521A2272452   PAUL         SLUSAR                       PA     51004541022
43B5226A88B16B   BRYCE        GARDNER                      UT     90009922608
43B5258A577595   SERGIO       ALVARADO-MORALES             NV     90003115805
43B52697761967   JORGE        CABRIERA                     CA     90012136977
43B5292815B52B   ANGEL        LEE SMITH                    NM     36084819281
43B52953651334   ELISHA       ADAMS                        OH     90012039536
43B52A7135597B   LYDIA        DIAZ                         CA     49096550713
43B53234172B43   STACY        MERELLI                      CO     33061572341
43B53447461963   ADELAIDE     BORDEAUX                     CA     46011794474
43B53973391394   NATHALI      RODRIGUEZ                    KS     90006079733
43B5421284B23B   TRISHA       HABERMAN                     NE     90002012128
43B5425415597B   COURTNEY     LYNN BESS                    CA     90006512541
43B54856171934   JESSICA      DIAZ                         CO     32004518561
43B5514788B16B   CHRISTOPHE   PARKIN                       UT     31001461478
43B55172391873   JUAN         OROZCO                       OK     90005891723
43B5563595597B   GABRIELA     SANTANA                      CA     90015306359
43B56357172452   LASZLO       VESZTERGOM                   PA     51079033571
43B56364872B36   LAURA        CASTILLO                     CO     90010243648
43B565AA572B43   ANA          LOMU                         CO     90012245005
43B5687995B52B   DIANA        CHAVIRA                      NM     36006258799
43B56A2442B87B   ERIK         WALT                         ID     90011610244
43B571A595B523   JHONY        CHAVEZ                       NM     90006951059
43B57794651383   CODY         POWERS                       OH     90002157946
43B5823945B52B   SHIRLEY      SPENCER                      NM     90013952394
43B58273A5B174   LILLIE       TUCKER                       AR     23031052730
43B58A7875B52B   JORGE        LOPEZ                        NM     36050480787
43B59451A5B597   NATHAN       PECO                         NM     90011654510
43B59A89672B36   JOSEPH       GEORGE                       CO     90011990896
43B61271A61963   RAYMUNDO     LOPEZ                        CA     90014702710
43B614A1572B4B   SALICIA      BOOKER                       CO     90009384015
43B61573421981   BRANDI       FLOWERS                      IN     90015525734
43B6157465B53B   BRENDA       GRIEG                        NM     35004045746
43B61633191881   HARLAN       GRACE                        OK     90007686331
43B61A17472B4B   RODOLFO      HERNANDEZ                    CO     90009020174
43B623A275B597   ANDREW       SANCHEZ                      NM     90008633027
43B626A145B222   TIMOTHY      JOHNSON                      KY     90015546014
43B62962277595   JESSE        BANKHEAD                     NV     43058119622
43B629A315B174   SHELLA       ATLAS                        AR     90011429031
43B62A37761967   ROBERT       BOLDEN                       CA     46041510377
43B62A71885877   SONYA        GAMINO GARCIA                CA     90003740718
43B6319375B222   TAYLOR       MILLER                       KY     90011281937
43B63243172B4B   TREVOR       FLINT                        CO     33031222431
43B6422728B16B   BENJAMIN     GARCIA                       UT     90014052272
43B64554855939   FERNANDO     BOMBELA                      CA     49077655548
43B646AA161963   AURORA       LEE                          CA     46011796001
43B65511172452   BOBBY        STEWART                      PA     90014605111
43B6563555B271   NAKYA        CECIL                        KY     90012026355
43B6582A671934   ADERON       HELM                         CO     90001528206
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43B66359471999   SARAH         JOHNSON                     CO     90012733594
43B66436791873   ALEXANDRA     HOLLAND                     OK     90009284367
43B6678582B27B   SHARDE        ALLEN                       DC     81070657858
43B6693445B174   KALESHA       SWIFT                       AR     90014599344
43B6798565B52B   ANNA          ROMERO                      NM     36004339856
43B68124691881   PHILIP        OKWUM                       OK     90003001246
43B68531A77595   DAVID         SALAZAR                     NV     90008075310
43B68A4235B597   JOESPH        ROMERO                      NM     90014640423
43B6912625B52B   SAMARA        SANCHEZ                     NM     90004431262
43B6915948B165   MICHAEL R     HEINER                      UT     90012181594
43B6964385B597   ROSEMARY      ATENCIO                     NM     90014076438
43B6B24485B271   YESICA        COSTILLO                    KY     90000162448
43B6B575772B36   ANNETTE       CANALES                     CO     33011765757
43B6B727271999   SAMUEL        CORREL                      CO     38064517272
43B6B82A391873   JOHN          JORDAN                      OK     90014838203
43B715AA272B4B   APRIL         MISTER                      CO     90014835002
43B71768557127   CARLOS        MEJIA                       VA     90011987685
43B7192178B16B   JESSICA       MOPNTOYA                    UT     90013639217
43B7246985B52B   MAGALI        HERNANDEZ                   NM     90013954698
43B72718691569   ALONSO        ORTEGA                      TX     90013197186
43B7277A255939   HILDA         MUNGUIA                     CA     90005477702
43B7351A591873   DEVANTE       ZORSHEE                     OK     90014515105
43B74455472452   ROGER         FRANTZ                      PA     90013844554
43B74639147954   CLAUDIA       CASARES                     AR     90007296391
43B74723691873   SHALEENA      WILLIAMS                    OK     90013857236
43B7479365B174   JAMES         GILLESPIE                   AR     23086017936
43B77371572B4B   ANDRE         MAURICE LYONS               CO     90008513715
43B77445791394   IRMA          SALDIVAR                    KS     29076724457
43B7819387B865   MARILYN       WOFFORD                     IL     90014201938
43B7883A191569   JOSE          DELACRUZ                    TX     75086998301
43B79321861967   JAZMIN        ACOSTA                      CA     46015993218
43B79451797957   MARIA         SANTELLANO                  TX     90012154517
43B7951322B274   CHARLES       MUHAMMAD                    DC     90002305132
43B7B75614B271   MATTHEW       SAUB                        NE     90001717561
43B81134455939   KHAMSING      LOKEOMANIVONG               CA     90012051344
43B81772771999   RICHIE        SANCHEZ                     CO     90014237727
43B82143891569   DAVID         HUERTA                      TX     75065641438
43B8219585597B   AMANDA        RUTHERFORD                  CA     90012901958
43B82375991394   JUAN          ORTIZ                       KS     90003243759
43B83571291873   NEHEMIAS      SOLOZORAR                   OK     90008015712
43B836A115B58B   LORISA        PACHECO                     NM     90014826011
43B83815777595   SHAUNA        POURCHOT                    NV     90011038157
43B8463A672452   JASON         KELLY                       PA     90000446306
43B8485565B174   PAYGO         IVR ACTIVATION              AR     90015228556
43B85212261967   JOSE          RAFAEL                      CA     90009202122
43B8535775B597   ROSALBA       TORRESSOTO                  NM     35096303577
43B85725154151   SHERREE       GALLION                     OR     90005597251
43B85A2665597B   SHANNON       SHARP                       CA     49069010266
43B85A94372452   HUNG          BUI                         PA     90009330943
43B864A2471999   ROBERT        CORDOVA                     CO     38087734024
43B86635891873   SHONNA        WHITE                       OK     90012286358
43B8697849189B   JESSICA       CLARK                       OK     90009659784
43B86A2AA5B53B   GLADIS        ARMENTA MEDINA              NM     90013570200
43B87451491569   ROGELIO       VERDUGA                     TX     90006194514
43B8765565B58B   JOSEPH        LANE                        NM     90014416556
43B87A79772B4B   BERNADETTE    LUEVANO                     CO     90012710797
43B8811165B523   VEGA          FIDENCIO                    NM     35060191116
43B88215191394   ALBERTO       ZUNIGA                      KS     29009092151
43B8843472B27B   DERRICK       FERGUSON                    DC     90001914347
43B88639755939   ANGELICA      CRUZ                        CA     90014106397
43B88925272B43   SHAWNA        SUZYN                       CO     33029979252
43B8899725B271   JOSHUA        HEARN                       KY     68097899972
43B889A1A71999   SAMUEL        SALAZAR                     CO     90014339010
43B89492391523   JUAN          GONZALEZ                    TX     75056034923
43B896A6961967   JACKIE        REAVES                      CA     90010136069
43B8984565B597   IVETTE        ANO                         NM     90014168456
43B8985915B222   LINDSAY       BEAUMONT                    KY     90010278591
43B8B333161967   ELENA         MORA                        CA     46015993331
43B8B39815597B   CHRISTOPHER   TAPIA                       CA     90011373981
43B8B523572B36   PAULETTA      MASCARENAZ                  CO     33017525235
43B8B63375B58B   DIEGO         CASTILLO                    NM     90011826337
43B8B6A772B27B   SHAWN         MOOTR                       DC     90015176077
43B8B8A8191324   AZUCENA       RORONZO                     MO     90013938081
43B91743391873   SHELIA        LANE                        OK     90012377433
43B91746991547   ARNOLDO       ALBA                        TX     90001127469
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1998 of 2350


43B91947A91569   ELMER           CRUZ                      TX     90010599470
43B9237179152B   CHRISTIE        LOZANO                    TX     75004993717
43B9279135B52B   LETTI           GARCIA                    NM     90012797913
43B927A6672B43   RACHEL          ORTEGON                   CO     33023967066
43B92A26791873   PAUL            HERITAGE                  OK     21064260267
43B93338691569   OLGA            CANALES                   TX     75074923386
43B9359215B271   QUINCY          SKILLION                  KY     90014095921
43B9361212B87B   MELANNE         JOHNSON                   ID     41081836121
43B9396825597B   ROSA            HERNANDEZ                 CA     90012259682
43B9399A33163B   JEANNIE         AHRENS                    KS     90009229903
43B9426252B27B   MARK            DAIS                      DC     81069942625
43B9464AA5B174   DOMINIQUE       WILLIAMS                  AR     90012466400
43B94814251334   DUSTIN          TUCKER                    OH     66038208142
43B94A54151383   REGINALD        LOVETTE                   OH     90004190541
43B9569385B52B   ZANDRA KESLER   EDWARD JACOBE             NM     90013966938
43B9571285597B   KEVIN           WILLINGHAM                CA     49091637128
43B9573828B16B   AROMA           PAKISTANI                 UT     90015107382
43B9636965B174   DAVID           STEWART                   AR     90012883696
43B9655985B174   ANRAY           SCOTT                     AR     23006595598
43B96882672452   KEITH           DURST                     PA     90015128826
43B96AA2572B4B   HENRY           GONZALEZ                  CO     90013600025
43B973A7151383   ISMAEL          JAUREZ                    OH     90014883071
43B9745415B58B   BRAULIO         HERNANDEZ                 NM     90014694541
43B9832295B597   RICHARD         MONTGOMERY                NM     90007253229
43B98326677595   MICHAEL         HOGGATT                   NV     43082263266
43B9833215B222   CORNESHA        BARNETT                   KY     90013783321
43B983A8521981   JAMES           SOLLEY                    IN     90015553085
43B98997972462   LINDSEY         ESCARENO                  PA     90010879979
43B98998772452   LAURA           CARNEY                    PA     90011979987
43B9925325B58B   ALISA           GONZALEZS                 NM     90013602532
43B99447993767   CIMARIA         JONES                     OH     90009834479
43B99761961963   MARK            NAVARRETTE                CA     46065947619
43B9B383A61967   NINA            KNOX                      CA     90012603830
43B9B624A5B523   SILVIANA        ZAPATA                    NM     35017376240
43B9B9AA171999   ECHOE           ENDRESS                   CO     90006159001
43BB1287391569   GILBERTO        ORTIZ                     TX     75084102873
43BB143A44B271   TEANNA          GORUM                     NE     27019674304
43BB195A35B174   DAVID           SMITH                     AR     90007259503
43BB196465B52B   JESUS           MARTINEZ                  NM     90010279646
43BB1A34472B43   SAHBAA          IBRAHIM                   CO     90015210344
43BB1A8A15B222   NATHAN          JACKSON                   KY     68016680801
43BB2379A91569   SALVADOR        COLLAZO                   TX     90008763790
43BB256528B16B   MISTY           AVILES                    UT     31097785652
43BB267455B523   ROSE            SNOW                      NM     90008876745
43BB2911672B43   MANUEL          RIVAS                     CO     90004179116
43BB293A461963   JOSE            CASTRO                    CA     90014989304
43BB2A78472B22   LIDIA           AMAYA                     CO     90004980784
43BB2AA8272B25   IRMA            NUNEZ                     CO     33097540082
43BB3721591569   ALEJANDRO       MALDONADO                 TX     90002867215
43BB376695B271   LITITIA         WOODS                     KY     90014087669
43BB3848772452   LACY            MORRELL                   PA     90008578487
43BB3898154155   ELIZABETH       HARDARDT                  OR     90005108981
43BB392845B597   YOLANDA         PEREA                     NM     90006789284
43BB3A46A5B52B   ALEJANDRA       GONZALEZ RIVERA           NM     36014200460
43BB4482651383   DERRICK         HENDERSON                 OH     90011774826
43BB4749A61963   LAURA           ZUNIGA                    CA     46092897490
43BB49A2177595   CHARLES         PETERSON                  NV     43061679021
43BB5381772488   LEO             SCHOBER                   PA     51030613817
43BB5647A5B271   BRANDIE         WHEELER                   KY     90014946470
43BB5834971999   ERON            SWALLOW                   CO     90014238349
43BB5856A91569   SILVIA          LOPEZ                     NM     75095148560
43BB5A2328B16B   HUMBERTO        TORRES                    UT     90013870232
43BB733975B55B   EVADINE         TENEQUER                  NM     90002423397
43BB786A655939   REGGIE          UPSHAW                    CA     90011518606
43BB818535B222   BALDEMAR        BAHENA                    KY     90010861853
43BB8193391569   EVELYN          GONZALEZ                  TX     90011951933
43BB8389591569   DEMIAN          RIVERA                    TX     90012203895
43BB842337B66B   DONNA           TRIPP                     GA     15043284233
43BB8573272452   TODD            MOORE                     PA     90012595732
43BB9119672B36   JOSE            PAVON                     CO     90011471196
43BB912815B597   AVELINO         GIRON                     NM     90015261281
43BB962AA91873   KENDRA          UNDERWOOD                 OK     90012856200
43BB9AA1555939   TISHA           BOST                      CA     49077650015
43BBB188891569   DAVID           ACOSTA                    TX     75033321888
43BBB43439152B   ROSARIO         REYNOSO                   TX     90011344343
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 1999 of 2350


43BBB644A5B597   ARLENE         DEHERRERA                  NM     90012816440
43BBB942591873   SONYA          BOWENS                     OK     90014899425
4411124555B271   NOAH           PERKINS                    KY     90011592455
44113949A5B222   KENNETH        RECKTENWALD                KY     90009209490
4411416592B87B   DEEDEE         CROSBY-SMITH               ID     41086191659
4411461615B58B   CHRIS          BROWN                      NM     35017876161
44114629872B98   JEFFREY        CONKLIN                    CO     90014406298
4411542A32B87B   LEIF           ERICKSON                   ID     90013644203
4411574575B52B   BLOEDEL        RONALD                     NM     36054207457
4411638115B271   ROSIE          BLANSETT                   KY     68089983811
4411697534B271   ZACHARY        METZ                       NE     90013319753
4411727845B271   CINDY          ROLLER                     KY     90000822784
4411773A851334   TISHA          BATTLE                     OH     66058417308
44117885A5B53B   JENNIFER       LOPEZ                      NM     35052438850
4411869A372B36   MARLA          WRIGHT                     CO     90014236903
4411888967B422   ALICIA         NAVARRO                    NC     90006528896
4411895412B87B   VICTORIA       REED                       ID     90014669541
44118A1325B174   LEWIS          PETTUS                     AR     90015030132
44119134172B36   GRIMILDA       ENRIQUEZ                   CO     33029881341
4411B12112B87B   ABBY           LARSON                     ID     41028381211
4411B183671999   NANETTE        MONTANO                    CO     90008741836
4411B869551334   MARIO          ARREAGA                    OH     90008438695
4411B99932B27B   EBONI          WHEELER                    DC     90012289993
44121A6185B58B   CHRISTOPHE     PEREA                      NM     35072780618
44123112772B36   AMBER          MUNSON                     CO     33012871127
4412325A55B222   DOUGLAS        GRIFFIN                    KY     90010722505
44123A93A5B58B   MARK           EISENBEIS                  NM     90010250930
44124263A55939   ARIANA         CLAYTON                    CA     90011262630
4412449828B16B   CORY           RIGGS                      UT     31001814982
44124A5795B52B   LONNIE         VALDEZ                     NM     90012690579
44125747172B43   CARMEN         HERNANDEZ                  CO     33012077471
4412598255B52B   KARINA         GALLARDO                   NM     36029889825
4412665365597B   CINDY          GUERRERO                   CA     90011046536
44127443172B43   JOHNNY         GOMEZ                      CO     90010794431
44127811372B36   BEATRIZ        GONZALEZ                   CO     33042918113
4412829A791351   JOSE           BECERRA-ROMERO             MO     90014742907
44129341172B36   BRIANNA        QUINTANA                   CO     90014143411
4412B11764B271   REYES          HERNANDEZ                  NE     27058251176
4412B322A5B222   CYNTHIA        YATES                      KY     90014833220
441313AA25B597   ANGELIC        JARAMILLO                  NM     90005793002
4413172182B27B   DON            COTTEN                     DC     90007497218
4413185335B271   AMANDA         DRUMMOND                   KY     90014438533
441324A3455939   SATURINO       MARTINEZ                   CA     90013354034
44133A2155B53B   ROBERT         HAMMOND                    NM     90014730215
44134234A2B87B   STUART         TINA                       ID     41043222340
4413467565B174   BREHANA        NOID                       AR     90014856756
44134A3165597B   ROBERTO        MONTIEL                    CA     90014190316
4413736485B597   JOANNA         SALCIDO                    NM     90004413648
44137374372B36   FRANK          REYES                      CO     33059153743
4413744945B271   SAW HTUN BWA   TUN                        KY     90013554494
44137A53291569   DESTINEE       LEGARDA                    TX     90012040532
4413924495B271   JULIE          GARRITY                    KY     90014902449
4413947215B52B   ANDREA         MATA                       NM     36025094721
44139794A71999   MICHAEL        SALAZAR                    CO     38048667940
44139A3248B16B   JASON          HOWARD                     UT     90008500324
44139A7515597B   VANESSA        CALDERA                    CA     90002540751
4413B257261967   JOSE           BAHENA                     CA     46038852572
4413B74482B27B   DOROTHY        TUCKER                     DC     90001087448
44141132272B36   ANTONIO        FLORES                     CO     90010191322
4414139673B125   BRYAN          MATTHEWS                   DC     90000823967
4414184A272B4B   MARIA          CASILLAS MENDAREZ          CO     90003378402
4414211A172443   CAROL          SANDERS                    PA     51089941101
4414252535B53B   THERESA        SANCHEZ                    NM     90010565253
4414337865B58B   BERNADATTE     GARCIA                     NM     90009323786
4414382742B87B   KAMELLA        BERRY                      ID     41005728274
4414393A65597B   ANGELA         HERNANDEZ                  CA     90013099306
4414453915B597   ANDRE          WILLIAMS                   NM     90011825391
4414465295B174   VALANDRA       JACKSON                    AR     90005366529
44146414A91873   ROY            SHEPPARD                   OK     90008284140
4414763265597B   CHRISTINE      MAZA                       CA     90009866326
4414824715B597   JODY           BACA                       NM     90008422471
441483AA351334   CHERYL         LACHMANN                   OH     66011393003
44148A11193765   ED             ALKHATEEB                  OH     64527940111
4414931445B58B   BERTHA         PAVON                      NM     90012823144
4414962442B87B   TAKI           AHHEE                      ID     90015126244
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4414971A191523   SANDRA        MACIAS                      TX     75096207101
44149A7445B53B   ALBERTO       ALANIZ                      NM     35078070744
4414B638651361   JANELLE       WARD                        OH     90012966386
4414BAA4291873   CESAR         SANCHEZ                     OK     90002850042
44151698772B36   JOSHUA        DIXON                       CO     90000816987
4415196714B271   GUILLERMO     GONZALEZ                    NE     90013459671
4415247935B271   LESLIE        BIRD                        KY     68026644793
44152595A5B555   JEREMY        PEREA                       NM     90003535950
4415285235B52B   DINAH         TURRIETTA                   NM     90006378523
4415318A591873   PAULA         TODD                        OK     90003671805
441533A6647954   CASEY         MOORE                       AR     90006193066
4415347215B52B   ANDREA        MATA                        NM     36025094721
44153622A5B222   JENNIFER R    LUOMA                       KY     68009356220
44153789A51382   E             BUBBLE                      OH     90008627890
44153797672B36   JAMIE         GUADIAN                     CO     90011437976
44153A41971999   SHERRY        WILLIAMS                    CO     38077880419
44154756A5B271   MARGARET      LACHALMELLE                 KY     90005687560
4415527A491873   JOSEPH        PEYTON                      OK     21055952704
44155A8A272443   ISIS          LOVETT                      PA     90008930802
4415676225B58B   ROSALYN       SANCHEZ                     NM     90002767622
44156A8735B271   CHRISTOPHER   NYBERG                      KY     90014770873
44157866A5597B   TREVOR        MOSS                        CA     90014068660
44157A29555939   ELEVIER       FERNANDEZ                   CA     90008770295
441582A938B16B   SOLEMA        SAUILONE                    UT     90011132093
4415831385B271   ERIKA         FRANK                       KY     90011593138
441586A765597B   BENITO        GRACIDO                     CA     90013716076
441589A2177522   CRYSTAL       EBNER                       NV     90011749021
441589A2A3B234   LETICIA       JIMENEZ                     DE     90015509020
44158A86677535   RAUL          NUNO                        NV     90008890866
44158AA925B597   OSCAR         ROJO                        NM     90011820092
441596A615B53B   DANIELLE      RODRIGUEZ                   NM     35080386061
44159A74961963   VIRGINIA      RICOY                       CA     90013240749
44159AAA555939   ALFREDO       AMESCUA                     CA     90009280005
4415B48A82566B   JAQUAVIUS     ELLIOT                      AL     90010424808
4415B713971999   RUDOLPH       CRUZ                        CO     38088437139
4415BA45172B36   PATRICIA      WRIGHT                      CO     33075480451
44161643A61963   ROMEO         VALERANO                    CA     90011106430
4416168A22B87B   AMBER         MYERS                       ID     90010806802
4416192415B58B   SUSIE         MAEZ                        NM     35015359241
4416239588B166   MANDY         RAYMOND                     UT     90010733958
44162A3715B222   GUSTAVO       REYES                       KY     90010980371
4416327245B58B   CASIMIRA      ZARRASOLA                   NM     90014422724
4416461965B174   JAMES         ANDERSON                    AR     90010976196
4416496815B52B   ANTONIO       GUTIERREZ                   NM     90014889681
44164A54472B36   DEBORAH       RIDLEY                      CO     90013070544
44164A6AA5597B   FRANCES       MARTINEZ                    CA     49064270600
441659A2A5B271   RAYMOUNT      HARBIN                      KY     90008739020
4416638465B52B   FERNANDO      OLIVAS                      NM     90014893846
4416649855B222   BETH          WRIGHTDOWD                  KY     90014514985
441664A3947954   JASON         MEA                         AR     90014704039
4416725685597B   IRMA          CERVANTES                   CA     90009902568
4416734714B539   MITZI         MOORE                       OK     21566843471
4416736745B52B   MICHELLE      JACQUEZ                     NM     90014153674
44167442A61967   LUIS          MONTANTES ORTIZ             CA     90012764420
4416755685B271   STEPHANIE     BRANDON                     KY     90012735568
44167A11691523   ABRAHAM       SANCHEZ                     TX     90011950116
4416866845B279   KEVIN         BURT                        KY     90014866684
441694A7347954   CHRISTOPHE    EPPERSON                    AR     25080434073
44169837A72B36   ABEYTA        AMANDA                      CO     90011058370
4417141775B52B   CRYSTAL       MARTINEZ                    NM     90013834177
4417182455B53B   LUIS          GARCIA                      NM     90015108245
4417197495597B   HERIBERTO     GARCIA                      CA     90005399749
4417268315B271   TONETTE       ATKINS                      KY     68096366831
44173A52A5B52B   ESTEBAN       MAX                         NM     36094280520
4417496262B27B   WILLIE        JACKSON                     DC     90008739626
44174A25591351   ISMAEL        PINA                        KS     90015430255
44174A7615B53B   JASON         VIGIL                       NM     35064890761
44176165672B4B   DANIEL        SISSOM                      CO     90004561656
44176319A61967   GARY          LANE                        CA     46084843190
4417681425B53B   ELIZABETH     GANDARA                     NM     35065728142
44176835972B43   MAGDALENA     ALVARADO                    CO     90011638359
4417753A655939   ROBERT        ABINA                       CA     90013065306
44178291A71934   KRISTINA      CHAVARIA                    CO     90011842910
4417913859127B   SANDRA        EARLY                       GA     90001611385
44179826A5B58B   FRANCISCO     CORDOVA                     NM     35008928260
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4417995545B271   MITSUI               LOPEZ ESAU           KY     90008739554
4417B379A72443   ELZIE                ALLTON               PA     90014013790
4417B48425B53B   FRANCISCO            HERNANDEZ ORTIZ      NM     90013494842
4418172144B271   SKYLER               MCMORRIS             NE     90015297214
4418221152B27B   CHARLENE             BANKS                DC     90013302115
4418264685B174   DARRELL              MIXON                AR     90012866468
44183146A5B52B   IRENE                MEDINA               NM     90013011460
44183492172B43   DONALD               DRAKE                CO     33032254921
4418387A272443   SHARON               THOMAS               PA     90014028702
441838A8791351   JEREMIAS             TOLEN                KS     90014528087
44184135772B4B   NAU                  RAMIREZ              CO     33099071357
4418489465B52B   ENRIQUE              SARMIENTO            NM     36017528946
44184A44291351   ALEX                 ENRIQUEZ             KS     90000910442
4418544295B222   MICHAEL              HOLT                 KY     90005944429
4418554554B271   KATHLEEN             BURNS                NE     27037415455
44186A18691873   KRYSTAL              DEVORE               OK     90008980186
4418765495B53B   VERONICA             CASTLEBERRY          NM     35002336549
441879A3891569   JESUS                CARREON              TX     90014079038
4418873722B87B   TIM                  MITCHELL             ID     41090637372
4418885589152B   MAY                  BOLDEN               TX     90006258558
4418933625B271   JULIA                LEVESQUE             KY     90011593362
4418953A18B16B   PATIENT              BIZIYANDEM           UT     90014435301
44189698772B36   JOSHUA               DIXON                CO     90000816987
4418B864261967   ARACELI              PORRAS               CA     90011798642
4418B978691523   RAYMOND              HOLGUIN              TX     90011579786
441911A3372B4B   MARIA                VICTORIA             CO     33092181033
4419143255B597   JESUS                AMERNDIARIZ          NM     35094294325
4419222758B165   BRYAN                CHRISTIANSEN         UT     31040972275
4419235325B52B   IVER                 BURKE                NM     90012813532
4419267855B58B   MONICA               ATKINSON             NM     35009636785
44192A49A55939   JAIME                GUEVARA              CA     90015220490
4419311845B58B   ASHERAH              LUCAS                NM     35030281184
4419353A95B271   CHRISTINA            MARTINEK             KY     90013885309
44193A27991873   NOVIS                CULLOM               OK     90010940279
44194423672B4B   CHRIS                BEZILE               CO     90013044236
44194939A51334   DAVID                REED                 OH     66001519390
4419595A872443   WILLIAM              NICKLO               PA     90014649508
44195A9965B58B   KATHRYN              JOHNSON              NM     35096030996
44196221372B36   CONNIE               REBOLLAR             CO     90013812213
441964A6561963   JOSEPH               FALKNER              CA     90008914065
4419663135B58B   JEHAN MOHD MUSTAFA   SARRAR               NM     90013696313
4419678335597B   SE                   VANG                 CA     49012297833
4419774662B27B   DANTE                FOREMAN              DC     81079137466
441978A6747954   RAFAEL               DUEÑAS               AR     25016078067
4419859AA61967   TANAN                BRYANT               CA     90009175900
441994AA476B27   SUMMER               CAMPBELL             CA     90011184004
4419953295B58B   MARIA                VALDEZ               NM     90011605329
4419B433241454   JENIFER              KING                 WI     90015374332
4419B437847954   JUAN                 GARCIA               AR     25011944378
4419B72458B16B   HECTOR               GONZALEZ             UT     90011917245
441B141A85B174   DEVANA               DOBSON               AR     23002894108
441B1516591569   JOSE                 VARGAS               TX     90009405165
441B1781A8B16B   KENDRA               ESCH                 UT     90008777810
441B1981972B4B   RAFAEL               SANCHEZ-FERNANDEZ    CO     90001099819
441B198285597B   ANGELINA             SOTO                 CA     49018699828
441B217292B879   BILLIE               HENSLEY              ID     90011641729
441B24A5A5B52B   PAYGO                IVR ACTIVATION       NM     90011474050
441B31A768B165   ALYSSA               RICKS                UT     90006811076
441B3469661963   HARVEY               NIXON                CA     90013744696
441B3675572B4B   KRISTI               EDWARDS              CO     90000926755
441B3987391351   ANDREW               STEWART              KS     90005749873
441B4697771999   DESIREE              MORALES              CO     38048756977
441B471747B467   MARIO                AGUILAR              NC     90012567174
441B4A5134B271   MATTHEW              CITTA                NE     27054870513
441B547A772B43   ASHLEY               PEABODY              CO     33002024707
441B5A3355B58B   TUNICE               GREEN                NM     90007780335
441B5A41551334   CHARLES              COMBS                OH     90013930415
441B6276991873   JIM                  SIMMONS              OK     90009252769
441B6384851334   MICHELE              HODGE                OH     90014783848
441B667A65B52B   RUTH                 OROZCO               NM     90014366706
441B7712851334   JOSHUA               GRACE                OH     90013517128
441B77A385B222   KAYLA                CONOVER              KY     90010207038
441B782165B597   PABLOJR              CHAVIRA              NM     90011818216
441B797569127B   BILLY                BATEMAN              GA     14584079756
441B859A471921   JONATHAN             KREIDER              CO     90012185904
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441B8A29947954   VERONICA     SILVIANO                     AR     90013750299
441B9176261967   JOEL         CAMACENA                     CA     90006771762
441B9475572443   KELLY        HOLT                         PA     51001084755
441B997522B27B   LAKAHN       DOHERTY                      VA     90014799752
441BB191151334   DAVID        HURT                         OH     66098061911
441BB233291523   SERGIO       VILLALVA                     TX     90005912332
441BB3A792B27B   CHAMISHA     STROM                        DC     90008513079
441BB511541241   DIONNA       AUSTON                       PA     90012145115
441BB84465B271   MICHEAL      NORMAND                      KY     90012688446
441BBA6AA72B36   STEPHANIE    CONTRURAS                    CO     90008360600
44211588A91351   MIRNA        MORATAYA                     KS     90015315880
442115AA65B53B   MANUELA      GUTIERREZ                    NM     90013765006
44211659172B36   VALENCIA     MARTINN                      CO     33091596591
44212119A72443   ANGELA       KUSKO                        PA     90014621190
4421218A48B165   MEAGGIE      OLEARAIN                     UT     31053761804
4421334A491524   MARTHA       GALAN                        TX     90009193404
4421339A455939   JESUS        GARCIA                       CA     90007693904
4421436332B27B   DAVID        GILL                         DC     90012573633
4421537362B87B   CANDICE      PATTERSON                    ID     41056343736
442154A665B58B   JAIME        LOYA                         NM     35091534066
4421593A347954   LILIANA      ALDACO                       AR     25084419303
4421644582B921   CHACHY       DELGADO                      CA     90001734458
4421693A347954   LILIANA      ALDACO                       AR     25084419303
44216962172B36   ERIKA        CARRILLO                     CO     90011549621
4421725335B58B   JOSE         ORDONEZ                      NM     90011902533
44217456672B43   CODY         STEFFENS                     CO     90001534566
4421B9A568B16B   MIGUEL       CARMONA                      UT     90011059056
4422157615B222   ANGEL        STOVALL                      KY     68035695761
4422211644B271   SAUL         VALLE                        NE     90012601164
4422244428B163   MIKEHALL     ANNIEHALL                    UT     90012964442
4422252615B52B   KERRY        MITCHELL                     NM     90014485261
4422277425B222   SHIRLEY      MCCARTY                      KY     90011517742
44222996172B4B   DORA         ROMERO-ESTRELLA              CO     33083659961
4422343555B58B   GREG         HAMMOND                      NM     90014174355
4422346635B523   DESARAE      CASTILLO                     NM     90013564663
44223743A2B828   JUAN         MAGANA                       ID     42007437430
44223957172B4B   OLGA         MONTANER                     CO     33027059571
4422484778B16B   VERON        DEAN                         UT     90012498477
4422533A38B16B   GAVIN        JONES                        UT     90013833303
44225372572B36   MIKE         ENDERS                       CO     33092323725
4422541785B52B   CAROL        VALENCIA                     NM     90010974178
4422563895B222   JAMES        SEAY                         KY     90008486389
44226162272B4B   REBECCA      TRINIDAD                     CO     90013171622
44226942372B4B   STEVEN       HERNANDEZ                    CO     90011369423
4422717595B155   JORDAN       HAAS                         AR     23017221759
44227489372B43   HUMBERTO     VEGA                         CO     90015274893
4422825A88B16B   VICTOR       FONSECA                      UT     90014702508
4422843665B373   MICHAEL      RODRIGUEZ                    OR     44510984366
4422876485B53B   ALAIN        MISIARA                      NM     90013197648
44228A3144B271   CINDY        KRAFKA                       NE     27030550314
44228A88471934   KEN          GODFREY                      CO     32033550884
4422933935B58B   PRISCILLA    VALDEZ                       NM     35070673393
4422B214847954   JESSE        MURO                         AR     90014762148
4422B21A472B4B   BEAU         FILLS PIPE                   CO     90015172104
4422B67178B165   KATHY        COFFMAN                      UT     31096286717
4422B921A71999   JASON        RAMCKE                       CO     90002009210
4422B992161967   HEIDI        MIRELES                      CA     46066099921
44232121972B36   FLORY        CASCANTE                     CO     33094511219
44233538472B36   ANTONIO      GOMEZ                        CO     90006505384
44233913A5B52B   EDWARD       BRITT                        NM     90012819130
44233A6185B271   JESSICA      RATLIFF                      KY     68086120618
4423451815B52B   CRISTIAN     RAMOS-LINARES                NM     90014845181
44235316376B5B   GRISELDA     HERNANDEZ                    CA     90006343163
44235369A91569   JANET        GARCIA                       TX     90005563690
44235723A2B27B   RAINA        HARRIS                       DC     81080637230
4423584982B87B   JOSH         SMALLEY                      ID     90006528498
4423632225B58B   DEBRA        WALKER                       NM     90015123222
44236675A91523   EVA          GUAJARDO                     TX     90009936750
4423789182B87B   JORDAN       KRUPP                        ID     90001408918
4423813492B27B   SHIRLEY      JONES                        VA     81075551349
44238257A5B53B   KENNETH      MARTINEZ                     NM     90010942570
4423833254B271   ROXANNE      PANISKA                      IA     90015293325
44238A71372B23   SHAQUATTA    LEWIS                        CO     90012580713
442391A5761967   DEMETRIO     EUGENIO NAVA                 CA     90011801057
4423922758B165   BRYAN        CHRISTIANSEN                 UT     31040972275
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4423987345B222   REYNERIO     FROMETA                      KY     90012508734
44239987272B4B   RISHELLE     HALBERT                      CO     90012639872
4423B122861963   TYLER        OLUPITAN                     CA     90013181228
4423B527384336   AMEERAH      ANTHONY                      SC     90001075273
4423B54855B222   MARTHA       SILVA                        KY     68073155485
4423B865655939   KATHY        RICHARDSON                   CA     49090518656
4423BA44172B36   CODY         OCHIUZZO                     CO     90012170441
44241222A8B165   GLORIA       SELLS                        UT     90010992220
442413A5791569   MAURISIO     VENEGAS                      TX     90013353057
4424146815B597   STEVE        GOMEZ                        NM     35052684681
4424185172B27B   MAURESE      MACKEY                       DC     90014988517
44241A13891873   JOHNA        FLETCHER                     OK     90014380138
4424299455597B   GRACIE       BARAJAS                      CA     49059239945
44243A83547954   DARIO        GARCIA                       AR     90014790835
44244A4595B597   ROSALVA      BUSTILLOS                    NM     90002280459
442456A7351334   RONALD       WILLIAMS                     OH     66031026073
44245A6565B174   SHEILA       MILLER                       AR     23062010656
44246215172B43   CESAR        TORRES                       CO     33074632151
4424648545B174   HOPE         ASO                          AR     90010204854
44246AA292B87B   SHARON       MURRAY                       ID     90013140029
4424771A572B4B   CODY         COX                          CO     90013717105
4424784778B16B   VERON        DEAN                         UT     90012498477
4424789765B271   TRAE         THOMPSON                     KY     90008638976
4424875544B271   ILONDA       HULETT                       NE     90005467554
4424879A291351   LEWIS        HOLDEN                       KS     29005697902
44249632972B36   BIANCA       ROMERO                       CO     90009146329
4424B395851334   STACEY       BALDWIN                      OH     66058103958
4424B455791523   RAFA         RODRIGUEZ                    TX     90008874557
4424B51A45B174   TOSHA        HALL                         AR     23034335104
4424B987591351   FLOR         LOPEZ                        KS     29059849875
4424BA39491569   JAMES        SHANKS                       TX     90012280394
4425141735597B   JESSICA      VILLAGOMEZ                   CA     90014024173
44252168576B64   ROLANDO      MATEO PEDRO                  CA     90014861685
4425227A355939   ROSANNA      LINDA GARZA                  CA     90003972703
44252933872B4B   ISAIAH       CARTER                       CO     90012139338
4425299622B87B   RHONDA       PREVITI                      ID     41092519962
4425353825B52B   LAURA        RODRIGUEZ                    NM     90014845382
4425396345B58B   MIRANDA      TORRES                       NM     90013279634
442546A4591351   JASON        ESTEP                        KS     90011186045
4425485A37B63B   MIGUEL       VAZQUEZ                      GA     90013548503
44255528172B4B   CRYSTAL      VALDEZ                       CO     33003475281
4425576812B27B   TORRIEN      PLIGHT                       DC     90009737681
4425589578B124   DARREN       DIALS                        UT     90013758957
4425627AA8B16B   TIRHAS       HADISH                       UT     90014992700
44256322A5B222   CYNTHIA      YATES                        KY     90014833220
4425675125B52B   GABRIEL      GALDAMEZ                     NM     90014577512
44256A4235597B   BENJAMIN     NICOLAS                      CA     90015190423
44257297272B43   TAMERA       JORDAN                       CO     90013202972
4425733A461963   FERNANDO     ARELLANO                     CA     90014003304
4425797A247954   BRANDY       HOGAN                        AR     90014869702
44257A92A5B58B   FERNANDO     RANGEL                       NM     90000700920
44258A59171934   DANIEL       BRUNOW                       CO     90011690591
4425926298B16B   JARED        HOOD                         UT     90014062629
4425936975597B   SARAH        PHILLIPS                     CA     90010973697
4425938A991351   DIDIER       HERRERA                      KS     90011313809
4425B265355939   DAHNASHA     LAVENDER                     CA     90007412653
4425B69842B87B   KATHLEEN     KELLY                        ID     90005006984
4425B831584332   ALEXIS       FISH                         CO     90008328315
4425B97545597B   KENNETH      BAILEY                       CA     90013709754
44261989172B36   DETRICIA     GILLESPIE                    CO     33073649891
4426245495597B   MYTH LEEAN   MABRY                        CA     90001724549
44262547272B36   REBECCA      ZAMORA                       CO     33091415472
4426317915B271   LINDA        ORTIZ                        KY     68046001791
442633A8271934   JUDINE       SMALL                        CO     90012903082
4426371A591569   MARIA        QUINTERO                     TX     90014067105
4426436715B271   ANA          ABREGO                       KY     90003073671
4426517615597B   LUCIANO      RODRIGUEZ                    CA     90012161761
4426524965B58B   HARRIS       MEJIA                        NM     90014992496
44265586A5B52B   TABATHA      LOVATO                       NM     90014665860
44265869A71934   REINIER      BARCO                        CO     90012568690
44265A32A5B53B   KATRINO      FLORES                       NM     35028390320
4426642A75B222   VICKIE       HENDREN                      KY     68076864207
442664A5447954   MORENA       BARRIENTOS                   AR     25081184054
4426663825B174   DEVON        HATCHETT                     AR     90009416382
44266A2835B271   TERRANCE     HOLT                         KY     90009110283
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44266A8A872B43   MICHAEL      VERAN                        CO     90009280808
4426826184B582   RAENETTA     HAYWOOD                      OK     90008202618
4426837A491351   JOSE         RAMIREZ                      KS     90011443704
44268A57172B4B   JON          REDDELL                      CO     33090570571
4426986445B58B   GREGORY      BECK                         NM     90014908644
4426B684591569   BENJAMIN     JOHNSON                      TX     90012826845
4426B899471999   THOMAS       HAVENS                       CO     90005418994
4427153115B271   CARRIE       RANDALL                      KY     90014155311
44272126772B43   LUIS         OSCANOA                      CO     90011091267
4427235284B271   SHAUNTELL    GAINES                       NE     27060303528
4427291712566B   MARCUS       HAYGOOD                      AL     90014629171
4427294772B87B   DEANN        DIXON                        ID     41091219477
44272A3765B53B   BARBARA      CARTER                       NM     90013450376
44272AA955B52B   GABRIEL      GARCIA                       NM     36064340095
44274895772B36   EVER         ANALIS                       CO     90010498957
4427492794B271   CRYSTAL      CHAVEZ                       NE     90012389279
4427567A447954   JUAN         AYALA                        AR     90010746704
44275A87961967   SAMIR        CRUSH                        CA     90013010879
4427688A25B52B   CHANTELL     TENORIO                      NM     90014038802
4427745945B58B   PHILLIP      NORIEGA                      NM     90011954594
44277675A2B87B   NATASHA      BAUMGARTNER                  ID     90006786750
4427771855B53B   SAMUEL       ALVARADO                     NM     90014707185
4427796A472B43   ANDRE        CHEKAN                       CO     33008379604
44277A93591873   OLGA         PEREZ                        OK     90014070935
44278431A2B87B   JACQUELINE   MORIMOTO                     ID     90013264310
44278977472B43   ANDREW       MUSGRAVE                     CO     33056579774
4427899A85B58B   MAGALY       TORRES                       NM     35050499908
4427981535B222   GABRIELLE    BROWN WEIGER                 KY     90014328153
44279932272B4B   CARLOS       HERNANDEZ                    CO     90012349322
44279A55772443   GARRET       DALEY                        PA     90010150557
4427B25AA61967   JULIAN       ALMANZA                      CA     90011802500
4427B768755939   FRANCISCO    MUNOZ                        CA     90012157687
4427BA64347954   NOELY        MORALES                      AR     90012790643
4428122315B222   KIMBERLY     HEITZMAN                     KY     68035032231
4428143988B16B   ANDREA       HERNANDEZ                    UT     90011404398
442817AA15B52B   MARIO        MONNET                       NM     36071517001
4428242863B353   JORDAN       LYLES                        CO     33069754286
44282867A91222   HENRY        COBB                         GA     90003918670
4428331525597B   CUAHUTEMOC   HUERTA                       CA     49055343152
4428379438B16B   ROBERT       HUTTON                       UT     31094687943
44283A65872B36   SOCORRO      DETREJO                      CO     33074380658
4428469135B53B   MATTEW       GARCIA                       NM     90011906913
44284A3A55B271   TROY         NEARN                        KY     90002250305
442855A5991523   DAISY        DUARTE                       TX     75055555059
44286278372B36   RICK         ENGLE                        CO     90009522783
44286846A5B58B   IRMA         BARRAZA                      NM     35073588460
44286A2555B174   LAKESHA      ROBINSON                     AR     90012390255
442877A992B87B   DEBORAH      TOSH                         ID     41071167099
442885A7972B43   AMANDA       LOPEZ                        CO     90000485079
44288755372B4B   DESIREE      HONEKER-ROLLISON             CO     90010357553
44289342A72443   VICTORIA     PLETCHER                     PA     51079283420
44289825372B36   WARC         WALKER                       CO     90008668253
4428B169271992   MITCHELL     DELGADO                      CO     90001871692
4428B272272B36   JOVANI       TORRES                       CO     90014992722
4428B33855597B   STEPHANIE    BROWN                        CA     90002273385
4428B54662B27B   GERRI        CHERRY                       DC     90007065466
4428B75965B52B   ANTONIA      KHALSA                       NM     90009077596
4429124416195B   CHARMAGNE    JONES                        CA     46065602441
4429143415B222   DOMINIQUE    TIDWELL                      KY     90014644341
44292614A5B174   LAPORSHA     BURNETT                      AR     90014416140
442926A1291351   ALI          PARKER                       KS     90005576012
4429296955B58B   MARIA        RESENDIZ                     NM     90010599695
44292A66891873   RAMZAN       DAWOOD                       OK     90014270668
442937A4A91873   BEVERLY      LEGRIS                       OK     21045397040
44293A19655939   SANDRA       BICKEL                       CA     90001100196
44293A63247954   FRANK        KING                         AR     25096850632
4429456628B16B   LUCY         DALEY                        UT     90014505662
44294585691B55   FREDI        GARCIA                       NC     90015395856
4429487212B87B   JULIO        MARTIN                       ID     90011368721
4429556A64B531   HALEY        MOORE                        OK     90012725606
44295736A5B597   ANDY         WALDER                       NM     35071607360
4429593515B271   GWANDA       CHILDRESS                    KY     90005029351
44295A4128B16B   CATHY        TOWNSEND                     UT     90006740412
442969A365597B   JOHN         MANDURRAGO                   CA     49032249036
442973AA25B174   SONDRA       ELLIS                        AR     90014763002
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4429741545B53B   DENNIS         BLOCK                      NM     90014044154
4429763595B52B   GEOVANNI       RODRIGUEZ                  NM     90013846359
4429776435B526   LEAH           DEMAR                      NM     90014537643
442977A3861963   MAGDALENA      PAREDES                    CA     46094107038
44299AA164B271   JUSTIN         GILINSKY                   NE     27043000016
4429B166991569   JOSE           GOMEZ                      TX     90010671669
4429B856561967   SHAWN          COATS                      CA     90006408565
442B1573A4B928   BOBBIE         RUFFIN                     TX     90001595730
442B245212B87B   AMY            MULVANEY                   ID     41065824521
442B2636272B36   ABIGAIL        ALVARES                    CO     90014666362
442B327A57B426   GINO           DUDLEY                     NC     11082592705
442B3A4955597B   CHRIS          AGUIRRE                    CA     90012270495
442B415539152B   LILIANA        MELENDEZ                   TX     75099401553
442B4226961963   CLAUDIA        REYNOSO                    CA     46028502269
442B4382A72443   PAUL           KOFFLER                    PA     90014573820
442B4426A33625   SONYA          ROUSE                      NC     90002904260
442B469929152B   LILIANA        MELENDEZ                   TX     90012736992
442B4771872B36   EVELYN         TORRES                     CO     90013327718
442B484995B174   SUSAN          CROSSEN                    AR     23001648499
442B4A2514B271   MARILYN        BECKWITH                   NE     27024880251
442B5465A47954   BRIAN          HOUK                       AR     90014744650
442B55A4391873   CASSANDRA      BRIIT                      OK     90011025043
442B579935B58B   WALTER         MEANS                      NM     90007667993
442B5874772B33   JAHALA         TATRO                      CO     90007778747
442B617885B222   ANDREW         JACKSON                    KY     90015261788
442B6183251334   RYAN           WITT                       OH     90010651832
442B631688B165   JASWANT        KAUR                       UT     31070173168
442B657525B271   SHERICE        MADDOX                     KY     90012035752
442B6748891873   KRYSTAL        MARTIN                     OK     90009827488
442B676285B53B   DEEDRIC        LUECKE                     NM     90014717628
442B688515B52B   RACHELLE       BYNON                      NM     36007358851
442B717135B52B   MIGUEL         MERCADO                    NM     36075671713
442B7451172B36   EMILCAR        SANDOVAL                   CO     90010744511
442B7546247954   SARAH          KNIFF                      AR     90014745462
442B7AA7571999   DENA           SALAS                      CO     38026740075
442B8232391569   MIGUEL         PEREZ                      TX     90011332323
442B974625B58B   KELLIE         WADE                       NM     90008197462
442BB61419127B   MIKE           SMITH                      GA     90009026141
442BB763591351   JENNIFER       KIRKPATRICK                KS     90013827635
442BB794351336   ERIC           FOSTER                     OH     90001557943
442BB97584B271   BLANCA         INIGUEZ                    NE     27003599758
443112A995B52B   HUGO           CASILLAS                   NM     90015302099
4431164894B271   LUKE           HOULTON                    NE     90012286489
4431174745B52B   TAMERA         VALDEZ                     NM     90012937474
4431233475597B   SAMANTHA       CASTILLO                   CA     90015453347
4431235A98B16B   PAGE           JOHNSON                    UT     90013833509
44312A35261963   MARCUS         VARGAS                     CA     90006200352
443139A685597B   GLORIA         BENIDEZ                    CA     90012859068
44314463172B4B   PATRICIA       SALAIS                     CO     33016774631
4431496175B58B   ESTHER         GRIEGO                     NM     35070659617
44314A23391569   SYLVIA         RESENDEZ                   TX     90006760233
4431519A65B174   GINNY          WHITE                      AR     23061701906
44316799A2B27B   CARLOS         FUNTES                     DC     90013897990
443172AA571934   DARIN          HARPER                     CO     90008452005
44317A2AA5B53B   GLADIS         ARMENTA MEDINA             NM     90013570200
44318479724B7B   PRINCESS ANN   HAWKINS                    DC     90013074797
4431964695B174   DEREK          ALBRIGHT                   AR     90013556469
4431993A755939   CRYSTAL        BERMUDED                   CA     90012989307
44319A23491569   JESSICA        REYES                      TX     90005140234
4431B353891873   RACHEAL        PALMER                     OK     90006453538
4431B919247954   NELLY          ESCOBAR                    AR     90011539192
4431B93A271934   KIRTPATRICK    ABEYTA                     CO     90013469302
4432135338B16B   JAY            STODDARD                   UT     90013833533
44321A27547954   COURTNEY       HACKWITH                   AR     90005410275
4432229325B551   RODOLFO        RUIZ                       NM     90005322932
4432244984B271   DENISE         RYAN                       NE     27037004498
4432262935597B   CECILIA        TORRECIAS                  CA     90012926293
4432285954B271   BRITTANY       WATTS                      NE     90010678595
443234A8461967   CLARISSA       CIUFI                      CA     90010434084
4432398A491351   DORIS          BROWN                      KS     90013779804
44325A46461999   JUAN           SOTELO                     CA     46030500464
4432628195B597   ARTURO         ZAMBRANO                   NM     35077572819
4432652745597B   DEMETRIUS      HERSINGER                  CA     90014895274
4432685645B174   CHENITA        OWENS                      AR     23000348564
4432723595B174   RENALDA        JONES                      AR     90005162359
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443274A6331621   AMARE          YIMAM                      KS     90004254063
4432828675597B   CHRISELDA      RODRIGUEZ                  CA     90014982867
4432868565597B   VICTOR         CARRERA                    CA     90001946856
44328962572B36   JEFF           WHITE                      CO     90013469625
4432928A85B271   SHAQUITA       VICHERS                    KY     90014712808
443298A984B271   MICHAEL        SPELLMAN                   NE     90012508098
4432B114691569   GIANNA         AGUIRRE                    TX     90012101146
4432BA55572B4B   LORENA         MARISCAL                   CO     33058170555
44331216A5B52B   ALICIA         PALOS                      NM     36034722160
44331229A72443   DEVON          LAMANNA                    PA     90013802290
44331373A8B165   DALLAS         LYMAN                      UT     90009083730
4433145765B174   BENJAMIN       CARTER                     AR     90014274576
44331A47772B36   MARIA          SILVA GARCIA               CO     90015050477
4433215935B53B   SARA           OROZCODEORTEGA             NM     90015211593
443325A7591569   JUAN           GARCIA                     TX     90009165075
44332A38761965   DONNA          BECK                       CA     90011970387
44332A51472B43   VIRGINIA       CARRILLO                   CO     33012490514
443354A265B52B   RIGO           FLORES                     NM     90015314026
443367A962B27B   ANSELM         OJUAH                      VA     81017427096
44336A22191523   MONICA         MEZA                       TX     90006950221
44337A9255B58B   ANDY           TORRES                     NM     90010660925
44337A92772B43   ANTONIO        MARES VILLA                CO     90012650927
44338311272B36   ANABEL         ORTEGA                     CO     33042273112
4433971595597B   RAFAEL         AMEZCUA                    CA     90001997159
4433988A858528   MELISSA        SMITH                      NY     90015618808
4433B452A47954   SHERYL         ANTHONY                    AR     25043454520
4433B974455939   RENEE          GRIFFITH                   CA     49064439744
4434113435B53B   BOGAR          VALLES                     NM     90008821343
4434119392B29B   SYLVESTER      OKPALA                     DC     90003211939
4434188145137B   LYNDA          BOSKEN                     OH     66031008814
4434188565B58B   RAYMOND        GOMEZ                      NM     35003578856
44343738A2B87B   NEMO           DESOTO                     ID     90015237380
4434445654B271   JOHN           OCONNOR                    NE     90013524565
443447A2251354   GERALDINE      SMITH                      OH     90005037022
44346578772B4B   JULIO          MORENO                     CO     33052015787
4434688885B58B   AMANDA         GALLEGOS                   NM     90007668888
4434712A924B7B   HUGO           MUNOZ CORNELIO             DC     81098521209
44347569A2B27B   EUGENE         SMITH                      DC     90012905690
4434793765B53B   HERMINIA       BETELLA                    NM     35082039376
4434863265B52B   OLGA YOLAN     CANAC XICAY                NM     36013136326
44348A69A5B58B   ESPERANZA      TONANTZIN                  NM     90009830690
44349652972B43   CONNAN ELIOT   MOCK                       CO     90013206529
44349A3A672B36   JOSEPH         ROMERO                     CO     33059340306
4435139152B26B   CHAYIM         GABRIEL                    DC     90001503915
4435142814B566   JOSHUA         STEADMAN                   OK     90008604281
4435185392B27B   KARINA         FLORES                     DC     90006288539
4435195915B53B   RACHEL         VALERIO                    NM     90012849591
443526A5471999   MARGARET       EDWARDS                    CO     38000736054
44352A3815B58B   VICKIE         HARBOUR                    NM     35003530381
44352A88272B24   TIFANEE        MILLER                     CO     90001370882
4435317984B539   MANUELA        SOLDI                      OK     90015031798
443532A8A51382   JOSH           GUY                        OH     90003922080
4435337985B58B   ANTHONY        LUGONES                    NM     90010983798
4435361525B141   MICHEAL        BROWN                      AR     90002106152
4435375665B53B   ANGELEIDI      MORENO                     NM     90015307566
4435421885B174   KELLY          BRANDIE                    AR     23090232188
443546AA272B4B   DANIEL         ABUNDIO                    CO     90012276002
44354A2A597B21   BRENDA         NELSON                     CO     90014430205
4435545582B27B   WARREN         WELCOME                    DC     90014814558
443569A353B33B   JOEL           MALLORY                    CO     90000769035
44357511A2B27B   LOTORYA        LISENBY                    DC     90001805110
4435889172B27B   CHRIS          MOLINA                     VA     90011198917
443598A5191351   KELCEY         MANGNER                    MO     29074298051
44359A2885B53B   LORRAINE       BARELA                     NM     35071900288
4435B39195B58B   ROBERT         BEGAY                      NM     90012263919
4435B78565B597   CAROL          ROBERTS                    NM     90011827856
4436147A657134   GIRMAY         WOLDU                      VA     81013674706
44361A77191351   AIDED          MONROY                     KS     90007030771
44361A83472B36   AHNDREA        WILLIAMS SMITH             CO     90013150834
4436317793B326   FRANCISCO      ARTICA                     CO     90010531779
4436352288B16B   LIGIA          MORALES                    UT     90013295228
4436377A761435   NICOLE         CHATMAN                    OH     90014757707
44363A43672443   PRISCILLA      MILLER                     PA     90003880436
443642A765597B   OLIVER         ULLOA                      CA     90013782076
44365353A72B43   ANDREA         BRAVO                      CO     33056813530
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4436549A171999   ANTONIO             QUINTANA              CO     90005454901
4436566A761963   STEPHANIE           FIELDS                CA     90014216607
44365A38247954   REBECCA             BALOS                 AR     90008250382
44366217A71999   CHRIS               BOETTLER              CO     38076212170
44367228372B4B   KIMBERLY            MARIE - GOMEZ         CO     90000962283
44367244872B43   ALBERTO             VASQUEZ               CO     90010882448
4436733112B87B   MICHAEL             ALEXANDER             ID     41086513311
4436753755B174   TAMMY               GOODLOE               AR     90008375375
44368239A5B174   JOSE                PACHECO               AR     23045662390
443683AA351382   BRYAN               LEWIS                 OH     90011833003
4436878A947954   MARIA               SALAS                 AR     25073267809
44369498A72443   BILL                EVANS                 PA     90013294980
4436B361555939   CAROLINA            RODRIGUEZ             CA     90004483615
4436B542247954   AMANDA              POLLOCK               AR     25069595422
4436B8A9391351   KACI                BAGBY                 KS     90013918093
4436B958772443   CHRISTOPHER         CROMO                 PA     90014739587
4436BA92171934   IRENE               WILLIAMS              CO     32089280921
4437126965597B   SHAWN               THAO                  CA     90009122696
4437169225B271   JARED               YATES                 KY     90014856922
4437225822B27B   MIKE                JONES                 DC     90001672582
4437237725597B   ALAN                TORTOLEDO             CA     90013923772
443724A5371934   TAMMY               TAFOYA                CO     32077904053
44372896224B7B   FAUSTINO            ALARCON               DC     90006468962
4437388195B271   TAMESHA             JONES                 KY     90014738819
4437518A12B27B   EDNA                PAYNE                 DC     81092651801
443758A7891569   RICHARD             LOZANO                NM     75006748078
44375A97171996   DANNIELLE           FOX                   CO     90013690971
44375A99491351   MARIA DEL SOCORRO   JURADO                KS     90013620994
44376826972B4B   CATIAH              LEE                   CO     90001308269
44377592372B36   JOHN                LOWE                  CO     33095655923
44377642272B43   DEMETRI             JONES                 CO     33052896422
443777A5672B4B   CAMERON             KYLE                  CO     90014307056
44377A1795B52B   CECILIA             PENA                  NM     90009600179
4437813A47325B   RICHARD             APPLEGATE             NJ     90014091304
4437938938B16B   JAMES               WADLEY                UT     31003793893
44379621572B4B   KYLE                SHAFFER               CO     90012056215
4437974A52B87B   D. SHANENE          COPE                  ID     90002397405
44379A2A85B264   YANAY               PRADO                 KY     90010440208
4437B322A5B222   CYNTHIA             YATES                 KY     90014833220
4437B3AA25B174   SONDRA              ELLIS                 AR     90014763002
4438112AA5597B   DAVID               RAMOS                 CA     90014851200
4438185812B87B   ROBERT              MCINTIRE              ID     90010258581
443819A8491351   CHRISTOPHER         KIRBY                 KS     90011949084
44382182472B43   EDWARD              VILLALOBOS            CO     90014581824
44382A9275B597   ANNA                CHAVEZ                NM     35013050927
44383136272B36   REVECA              BARRAZA               CO     90013191362
4438417883B359   LAMBORGHINI         BORREGO               CO     90012741788
443846A414B271   TONIA               LARSEN                NE     27071686041
443848AA52B87B   TIM                 ARSENAULT             ID     90011918005
44385278824B7B   RIGOBERTO           TOJIN                 VA     90011832788
4438533715B597   JAVIER              CORDOVA               NM     35035283371
4438536975B53B   JOHN                KITE                  NM     90014173697
4438547185B174   TERRY               MCGEE                 AR     23022624718
44385A51651334   JESSE               GREEN                 OH     66020680516
4438697A491873   EDITH               SMITH                 OK     90012629704
4438784115B174   SAMANTHA            ALLEN                 AR     23096438411
4438826468B16B   JULIE               GAPPMAYER             UT     31099092646
4438B2AA272443   LETITIA             FRYE                  PA     51035392002
4438B671172B36   NANCY               FERRELL               CO     33023106711
44391513A8B16B   JUSTIN              DIFABIO               UT     90007625130
4439223685B53B   MARY                COLLINS               NM     35090672368
4439284A671999   JOSEPH              MONTES                CO     38019968406
4439297A191873   EDDIE               BISHOP                OK     21017089701
44392A4415B231   SHERITA             CLAY                  KY     90013550441
44393693772B4B   OMAR                CONTRERAS             CO     90013386937
4439448476198B   RAMON               BEY                   CA     90013854847
4439493865B222   BETH                FIGUEROA              KY     68097769386
4439532479126B   GARNETT             SCARVER               GA     90011133247
4439593745B271   PETER               VIERS                 KY     90012479374
4439654645597B   TERRI               MARTIN                CA     90014155464
44396699A5B271   EVON                BEST SR               KY     90014856990
4439763A14B531   JHONNY              BONILLA               OK     90009106301
4439797645B53B   LORAINE             AGUIRRE               NM     90000999764
44397A54A5B52B   MICHELLE            TRUJILLO              NM     90002590540
4439833595B58B   ADRIANNA            ARAGON                NM     90013363359
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4439846945B222   TASCHA          WEST                      KY     90014964694
44399164372B36   MARCOS          ROSAS                     CO     90012881643
4439918495597B   MAURICIO        MORENO                    CA     90003361849
44399448A91523   ADAM            LYNN                      TX     90008844480
4439B56A92B27B   DENINE          PRAILOW                   DC     90012855609
443B1287672B36   TRAVIS          SEARLES                   CO     90003452876
443B15A7391569   JAVIER          GUERRERO                  TX     90011115073
443B1612172443   KENNETH         NICKLOW                   PA     51013786121
443B175395B52B   RIGOBERTO       PEREZ                     NM     36065857539
443B1A7794B271   LAURIE          ANSLOVER                  NE     90010160779
443B2356391523   GARCIA          ANGELINA                  TX     90011253563
443B2413191569   RALPH           SELLERS                   TX     90013814131
443B2648897B58   LINDA           GEORGE                    CO     90009206488
443B268935B389   GARNET          BARR                      OR     44544126893
443B274335B53B   JOJOLA          CRUZ                      NM     35097907433
443B318A572B36   SUSAN           VASQUEZ                   CO     90001161805
443B369694B271   MARIA           MOSS                      NE     90012226969
443B394A62B87B   CHERI           HOGAN                     ID     90000899406
443B3954191351   ARIF            JOARDER                   KS     90010619541
443B399135B58B   ALEXIS          DURAN                     NM     90006619913
443B41A665B52B   FELIX           MATZIR-XIA                NM     90007491066
443B513728B165   LISA            JENSEN                    UT     31011221372
443B539765B174   GLORETHA        BROOKS                    AR     90008473976
443B5634A91569   SAMUEL          GARCIA                    TX     90015186340
443B568715B271   KYLA            SIMON                     KY     90014836871
443B5812572443   PAUL            LAWRENCE                  PA     51014948125
443B5997955939   FELIX           ERNESTO                   CA     90013029979
443B6255171999   JONI            ALBER                     CO     90012312551
443B671295597B   RIGOBERTO       ORTIZ                     CA     49024397129
443B688A772B36   ANABEL          CASTILLO                  CO     90013658807
443B766412B27B   ERICA           HOLLAND                   DC     90014226641
443B81A965597B   MARIA           CASTELLANOS               CA     90011351096
443B8496A5B523   AIDA            AGUIRRE-ROBLES            NM     90014024960
443B868792B27B   ROXANNE         LLOYD                     DC     90012786879
443B951527B865   SHEMONTE        SMITH                     IL     90002555152
443B963288B16B   STEVE           DARTNELO                  UT     90014836328
443BB83615B53B   GABE            MARTINEZ                  NM     90014998361
443BBA4925B597   CESAR           VILLALOBOS                NM     35054380492
444119A1261963   BEATRIZ         ESCOBAR                   CA     90014619012
44411A96251334   ALVIN           COSTNER                   OH     66083660962
4441238465B58B   SALVADOR        LAMELAS-ALDRETE           NM     90008983846
4441432215B581   AMANDA          ROMERO                    NM     90007823221
444143AA65B597   JERRI           DAVIS                     NM     35098753006
4441471AA5B222   CHRISTOPHER S   CLARK                     KY     90003507100
4441524145B271   ROGER           WARREN                    KY     90008722414
4441528984B271   BRAXTON         KIRKSEY                   NE     27043122898
4441533748B16B   CAMI            NAYLOR                    UT     90014333374
4441552A372B43   JAMIL           MATHIS                    CO     90007975203
44415665172B43   EDWIN           MEDINA' RODRIGUEZ         CO     33003676651
4441597383145B   JEREMY          BAILEY                    MO     27537149738
4441688865B174   PABLO           MENDOZA                   AR     90013508886
4441719A291547   GRACIE          GONZALEZ                  TX     75016701902
4441788A324B7B   CAIN            FARMER                    VA     81060278803
4441963A472B36   JENNIFER        ZOTTO                     CO     33053166304
44419719A5B597   STEPHANIE       GARZA                     NM     90011717190
44419A47971934   TASHAWNA        WOODSON                   CO     90007320479
4441B477155939   DANIELLE        TUCKET                    CA     90012834771
4441B54118B16B   DOUG            STANFILL                  UT     90009815411
4441B69324B271   SHAYLA          KERNELL                   NE     90010156932
4441B797491873   DUSTIN          LIVINGSTON                OK     90009097974
4442124624B271   JUAN            CORTEZ                    NE     90007142462
444212AA25B53B   SAMUEL          GILLARD                   NM     90015062002
44421A3455B174   EDWARD          NORWOOD                   AR     90013700345
44421A55491873   STARLA          HORN                      OK     90014460554
44422614472B36   GREGORY         HAMILTON                  CO     90002196144
44423216691B55   ANDREW J        GONEMAN                   NC     90012692166
4442361354B271   EBEN            RICHMOND                  IA     90015156135
44423866A61963   JANNETTE        AVINA                     CA     46011438660
4442392695B52B   PRISCILA        MARTINEZ DE ALVARADO      NM     90012779269
4442476345B52B   KENNETH         SANCHEZ                   NM     90013917634
444248A725B597   MARELYN         VELASQUEZ                 NM     35093548072
44425A99384371   MELISSA         BROOKS                    SC     90005930993
44426535272B36   SARA            HASS                      CO     33079085352
44426864A72B4B   ROGER           SANDRES                   CO     90010618640
4442688555B52B   LUZ             ALMEIDA HERNANDEZ         NM     90015308855
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44427189472B36   WILLARD      GALUSHA                      CO     33087251894
44427483A72443   KAMESHIA     FORD                         PA     51096654830
44427877A85697   WARDELL      WHITTAKER                    NJ     90006498770
44428377A5B53B   REBECCA      SMITH                        NM     35081173770
4442896A772B4B   BRITTNEY     KEMPER                       CO     33028429607
444289A575B222   TYESIA       THORNTON                     KY     90014899057
44428A71986545   JAMES        WHITTED                      TN     90014790719
4442B633272B4B   RAUL         CISNEROS                     CO     90011126332
4442B7AA85B271   TIFFANY      TAYLOR                       KY     90014857008
4442BA34372B43   CRESCENCIO   CORRAL                       CO     90015500343
4443119A291547   GRACIE       GONZALEZ                     TX     75016701902
4443122168B16B   DANCEL       AHQUIN                       UT     90014652216
44431758A55939   TIFFANY      HERNANDEZ                    CA     49027987580
4443214435B58B   GEORGE       GALLEGOS                     NM     90010431443
44433511572B43   ANNETTE      HERMAN                       CO     90013735115
4443369432B27B   CARLOS       PINEDA                       DC     90005876943
4443422612B87B   JAMES        ARCHER                       ID     90013292261
44434459A5B271   LYNETTE      DUKES HARRIS                 KY     90014304590
4443457448B16B   JENNFIER     JAVIER                       UT     90008975744
44435385A91569   BERTHA       BRAVO                        TX     90014923850
44436325572B4B   FELIPE       LEON CARMONA                 CO     33050983255
4443786592B87B   CHRISTIAN    LAPRATH                      ID     90010778659
4443829915134B   DEMETRIUS    HOWARD                       OH     90002522991
4443847A44B271   RACHEL       MOYERS                       NE     27016274704
4443874865B597   MARSHA       MARTINEZ                     NM     35088927486
4443926255B271   CHELSEA      WOOLFOLK                     KY     90015112625
44439464372B43   FELICIA      VIRCHIS GARCIA               CO     90012604643
444398A595B53B   ESPERANZA    REYES                        NM     90011388059
44439A45872B4B   DANIEL       ANGUIANO                     CO     33060750458
4443B8A2351354   ERICA        LUKE                         OH     90009598023
4444133A591569   LAURA        QUEZADA                      TX     75087063305
44441461472B4B   PALACIOS     PEDRO                        CO     90010864614
44441A6655B53B   LOURDES      IGUADO MORENO                NM     90009770665
4444245AA5597B   KATHRYN      CERONSKY                     CA     49063834500
4444332A48B16B   MIKE         FRANDSEN                     UT     31012443204
44443AA5972443   MATT         HIXON                        PA     51083320059
4444418177B426   ROXANA       BENDEZU                      NC     90004641817
4444422455B52B   MOISES       COLMENERO                    NM     90010222245
44444846A5B58B   JOHNNY       VALDEZ                       NM     90013118460
44444A97555939   DINORA       BATRES                       CA     90015020975
44444AA5972443   MATT         HIXON                        PA     51083320059
444451A725597B   RUDY         DIAZ                         CA     90014441072
4444572955B174   TIFFANY      HILL                         AR     23089677295
44446467A72443   REBECCA      LONGANECKER                  PA     90013394670
44446498472B4B   JOANN        DAVILA                       CO     33078384984
44447774A61963   ROXANA       CANELA                       CA     90010527740
4444881835B58B   AMANDA       ORRELLYS                     NM     90014708183
44449176372B36   TAMI         HUNT                         CO     33006501763
4444B75385B222   MARIA        SANCHEZ                      KY     90014977538
4444BA3A972B4B   MICHAEL      RAEL                         CO     33022920309
4445156948B163   KEVIN        PAREJA                       UT     90014075694
4445219565B597   JOSE         GONZALEZ                     NM     90011831956
4445267628B16B   BENNY        PENROD                       UT     90012396762
4445319715B58B   ANGELA       BALTAZAR PATRICIO            NM     35042421971
4445324715B53B   SANTANA      GARCIA                       NM     90012642471
44453645972B4B   SUSAN        MORRIS                       CO     90012646459
4445411335B174   TAYNA        MOORE                        AR     90010911133
444551A8561963   PEDRO        OCHOA                        CA     90012941085
4445522125B58B   CLEOTILDE    CHAVEZ                       NM     35066212212
44455796872B4B   MARY         VIGIL                        CO     90011547968
44456531272B43   MARIO        MANCHAME                     CO     33041305312
44456851A2B27B   DWIGHT       DENT                         DC     90013588510
44456964A61967   RAQUEL       RODRUIGUEZ                   CA     90011809640
44456A1445B271   DARYL        WATERMAN                     KY     90014130144
44457364572B4B   JOEL         CORREA                       CO     90011463645
4445778965B222   TONYA        CRUMP                        KY     90009497896
4445842165597B   MARTHA       MACILLA                      CA     90013044216
44459266A91523   BATTYS       DAYCARE                      TX     90006952660
4445B79975B52B   VINCENT      JARAMILLO                    NM     90015117997
4445B96184B271   JENNIFER     HOREJS                       NE     27081499618
4445B96425B53B   MICHAEL      BAROS                        NM     90015239642
44461377563B91   YESENIA      BALLINES                     IL     90008873775
444613AA572B4B   DARRELL      RICE                         CO     90014823005
4446156765B52B   JOANNA       JIMENEZ                      NM     90012955676
4446244383163B   EVERARDO     TRETO-ROBLES                 KS     90014384438
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44462845A91569   JOSE          CHAVEZ                      TX     90015328450
44463295672B43   NICOLAS       RAYMOND                     CO     90009902956
4446548A951334   IMAR          MARTINEZ                    OH     90011474809
4446552985B53B   VERONICA      PORTILLO                    NM     90010955298
44465A3A55B271   TROY          NEARN                       KY     90002250305
44466151172B43   ADELA         MONARREZ                    CO     33065631511
4446651868B16B   ALFRED        TAU                         UT     31098385186
4446757745B52B   CHRISTELLA    BACA                        NM     90012955774
444676A3371999   KEVIN         SHULTZ                      CO     90006806033
44468516A5B58B   DESIREE       GONZALES                    NM     90010255160
4446891A191569   KENNIA        LARA                        TX     90010479101
44468A34851382   DAVID         TIMMONS                     OH     90006330348
4446913728B16B   LISA          JENSEN                      UT     31011221372
4446926318B165   STEPHANIE     ROBBINS                     UT     90005972631
44469642572B43   MIKE          UPTON                       CO     33045116425
4446974A157136   OSCAR         BENITEZ                     VA     81082387401
4446B186A2B27B   ANGELA        JONES                       DC     81096421860
4446B499A5597B   MOHAMMAD      M                           CA     90005244990
4446B72235B52B   BERLY         LOPEZ-MORALES               NM     90007427223
4446BA26957564   ARMIDA        RODRIGUEZ                   NM     90007690269
4447157155B52B   JORGE         PORRAS FIGUEROA             NM     36091685715
4447217A191351   BEANN         ELROD                       KS     29094381701
4447226595B597   RAQUEL        HERNANDEZ                   NM     90011832659
4447227A24B271   KAREN         CORTESE                     NE     27096802702
44472573172B36   NANCY         CARRAZCO                    CO     33061575731
4447292A15B53B   MICHAEL       TRUJILLO                    NM     90015039201
444731AAA2B27B   BRUCE         BITNOFF                     DC     90012981000
444733A1255931   GINNIE        CARTER                      CA     90007753012
44474276972B36   RONALD        LAX                         CO     90013042769
444749A2461963   JUAN CARLOS   HORTA                       CA     90011479024
4447562A355939   MARGARET      MEDINA                      CA     90011356203
44476419572B43   KENNETH       JACOBSEN                    CO     90010824195
4447649622B27B   VIVIAN        LAZO                        DC     90002144962
444767AA274B97   MICHAEL       CROUSC                      OH     90015077002
4447741715597B   IMELDA        DIAZ                        CA     49058684171
4447744345B58B   ANDY          MARTINEZ                    NM     35080314434
44477725272B36   LENA          VIGIL                       CO     33011857252
44477A79691873   MICHAEL       MEGEATH                     OK     21067860796
4447867715B52B   LUCIA         JIMENEZ                     NM     36066356771
44479177472B36   KEVIN         BELL                        CO     90012491774
4447928695B597   DONALD        WALKER                      NM     90011832869
4447B21A661967   MERCEDES      MONDRAGON                   CA     90012782106
4447B847763623   TERESA        ALDRICH                     MO     90001818477
4448192A22B87B   CYNTHIA       BOGNER                      ID     41073119202
44482247A72B36   STEPHAN       COX                         CO     90003682470
44482398572B4B   MATIAS        SANCHEZ                     CO     90012883985
4448284815B222   MORAIMA       QUESADA                     KY     90014028481
444831A2A41454   KARDAR        NURR                        WI     90015481020
44483788A91523   ROZZY         GODINEZ                     TX     90012947880
44483A88591523   ROZZY         GODINEZ                     TX     90011580885
4448419175B58B   SHAWN         SCHNERCH                    NM     90011891917
44484359A55939   VERONICA      GALLARDO                    CA     90009573590
44484721572B36   MARIA         CORTEZ                      CO     33016247215
4448489494B271   VICTORINE     AKPO                        NE     27087148949
4448581654B271   COLLEEN       LESSER                      NE     90014598165
44485817486B98   PAM           WESTON                      CT     90011068174
4448647435B58B   ROY           HOWARD                      NM     90004254743
4448675215B174   JAMIE         RICE                        AR     90011067521
44486A1815597B   RODOLFO       MORALES                     CA     49012990181
44486A83472B36   AHNDREA       WILLIAMS SMITH              CO     90013150834
44487234A5B52B   IRENE         MONTANO                     NM     90007502340
4448739A891569   CELENE        CERVANTES                   TX     90014713908
4448763317B262   ROCKY L       FERRELL                     OR     40551796331
4448853785B58B   MARIA         CASAREZ                     NM     35028185378
44489719333B81   KIMBERLY      BAKER                       OH     90011767193
4448992925B271   ANGEL         MILLER                      KY     68019989292
4448B831572443   MILLICENT     HALL                        PA     90013348315
4449158125B174   MONICA        TUCKER                      AR     90012155812
4449244435B58B   LORENZO       HERNANDEZ                   NM     90014174443
4449293A95B52B   CARLOS        RODRIQUEZ                   NM     36014609309
44492984A72B43   SYLVIA        MARQUEZ                     CO     90011179840
4449345445B222   HELEN         BREEDEN                     KY     90006354544
4449553288B16B   MARIE         VASQUEZ                     UT     90001685328
444963A524B271   MARISOL       MARTINEZ                    NE     90014593052
4449683465B222   RETASHA       CHEATHAM                    KY     68010688346
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4449785315B58B   ANGELINA      BENAVIDEZ                   NM     35035538531
4449B31965B58B   LESLIE        ZAINTZ                      NM     90011903196
4449B3A6A61963   VERONICA      MENDOZA                     CA     46012473060
4449B774472B36   ATHENA        CHAMBERLIN                  CO     33085307744
4449BA89891351   OSCAR         CUX                         KS     90009930898
444B173295B373   DANIEL        ONUSKANICH                  OR     90001057329
444B182385B597   ERIK          CABRERA                     NM     90006838238
444B193715B53B   LEAH          LAWRNCE                     NM     90014889371
444B234AA91351   HENRY         MIRANDA                     KS     90013273400
444B23A565B597   ERIKA M       CASIQUITO                   NM     35009093056
444B295265B52B   ANDREA        FOWLER                      NM     90014759526
444B323A761963   JUAN          VALENCIA                    CA     90008172307
444B3312A51326   DEERIKA       RUSHER                      OH     90013123120
444B3352241265   SARAH         WESTFALL                    PA     90014113522
444B344A54B271   BRENDEN       PERRY                       NE     90008614405
444B449115B222   LATOYA        SCOTT                       KY     68095394911
444B5126685949   JAMES         KIRTLEY                     KY     90007251266
444B5235A5B271   JACK          DALEY                       KY     90012262350
444B5326172B43   OSCAR         HUERTA                      CO     33043743261
444B5658391569   MIGUEL        JUAREZ                      TX     90015176583
444B588485B222   SAUL          MIRANDA                     KY     90012678848
444B638524B271   TRAVIS        HALLETT                     NE     27039823852
444B642A45B222   SHIRLEY       WILLIAM                     KY     90010144204
444B655225597B   FELIPE        VILLAGOMEZ                  CA     49014065522
444B71A2361924   COSMAS        MUSYOKA                     CA     46072531023
444B7512572B36   AMANDA        FERNANDEZ                   CO     33070185125
444B7682172B43   FELICITAS     PELAYO                      CO     90012116821
444B7699191569   SERGIO        QUEZADA                     TX     75016346991
444B884379376B   LATASHA       DAVIS                       OH     90008868437
444B8A47A72B43   DELILAH       CATALAN                     CO     90013680470
444B9557691351   DUSTIN        CAMBELL                     KS     90010025576
444B9771951383   DEBRA         PARKER                      OH     90006467719
444BB247372443   JAMES         DOMAN                       PA     51076282473
444BBA2635B271   JASON         AUTRY                       KY     90008210263
4451119815B174   CHRISTOPHER   WEBB                        AR     90015171981
4451164A961963   MORGAN        CORDNER                     CA     90006216409
445125A3491569   JESUS         AGUILERA                    TX     90014595034
445126A6991873   BRANDY        SOUZA                       OK     90011496069
4451274394B546   RICKY         HALL                        OK     90012267439
44512884A91569   JESUS         AGUILERA                    TX     90011448840
4451298A291351   CONCEPCION    MORALES                     KS     29007199802
44513324272B43   FERNIE        GANDARA                     CO     33035493242
4451365418B16B   JOSE          ANDRES AVILA                UT     90000616541
4451374627325B   ED            ALLEN                       NJ     90014097462
44514233A51332   CARL          REIFF                       OH     90001052330
4451666A791569   SYLVIA        NUNEZ                       TX     75085906607
4451737A784369   TORRA         WAHINGTON                   SC     90012333707
44518621472B43   CARLOS        ROBLES                      CO     90009686214
44518762172B36   ARTURO        DOMINGUEZ                   CO     33032297621
4451926A972B36   PONCE         AGUSTINE                    CO     90010072609
445196A3371999   KEVIN         SHULTZ                      CO     90006806033
4451984A331449   TREY          DAVIS                       MO     90004888403
4451997735B52B   VENESSA       CDE-VACA                    NM     90013159773
4451B1A915B597   REBECCA       MARTINEZ                    NM     35094381091
4451B3A615B222   MONICA        CARTER                      KY     68085583061
4451B69825B531   ASHLEY        SINOWITZ                    NM     90010326982
4452131AA2B27B   ELISHA        KING                        DC     90013273100
44521338472B4B   KEMARI        STEELE                      CO     90011423384
44521811A72B98   GUSTAVO       VELA                        CO     33068568110
44521AA3591569   ROCIO         ARNEROS                     TX     90012600035
44522129A5599B   JESUS         SILVESTRE                   CA     90011911290
445223A4172443   TASHA         EVANS                       PA     51092933041
4452246385B58B   SUSIE         DOMINGUEZ                   NM     90008684638
4452253712B87B   JUSTIN        FLORES                      ID     90009945371
4452277262B27B   THERESA       BROWN                       DC     81085417726
4452321A45B222   GUADALUPE     ESPINOZA                    KY     90015262104
4452327245B58B   CASIMIRA      ZARRASOLA                   NM     90014422724
44523323A55999   MARIA         IBARRA                      CA     90014693230
4452427572B84B   BRITTANY      DENNIS                      ID     90014332757
44524A63247954   FRANK         KING                        AR     25096850632
4452533995B53B   JOYCE         GILMORE                     NM     35095053399
445253A5255939   HUGO          OCHOA                       CA     49089663052
44525A8125B271   DARRELL       ALLEN                       KY     68075260812
445275A3555939   SHAWNTOVIA    ELDRIGDE                    CA     90001155035
4452786915B174   MONICA        TAYLOR                      AR     90014008691
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4452839718B16B   DANA                ALDER                 UT     31033313971
4452935985B53B   GINA                PRIESKORN             NM     35075163598
44529A6645B222   MARIA               GONZALEZ              KY     90007220664
4453142785B58B   PAUL                ARELLANO              NM     90013984278
4453169A651334   CANDACE             ANDERSON              OH     90014716906
4453193A35B398   MUSTAFA             HASSAN                OR     44590939303
4453276182B27B   NELSON              ARIAS                 DC     90013097618
44532A1552B87B   ROBERT              DAHMS                 ID     90014850155
44533197872B36   LORNA               DOUGLAS               CO     90013051978
4453386775B222   CARLOS              FELICO                KY     90005158677
44533A4332B87B   BRANDON             HUGHES                ID     90011890433
4453458A35B222   DEBRA               GONAZALEZ             KY     90014875803
4453484442B27B   RAMON               MOTON                 DC     90013238444
4453498A861963   TRACY               RAY                   CA     46053839808
44534A7415B274   KAREN               LAWYER                KY     90007370741
4453576A761963   CALEB               SUTTON                CA     90014897607
4453579725597B   KAROL               CAMPBELL              CA     90014137972
44535AA3872443   BLAIR               LOWRY                 PA     90009590038
44536A5835597B   REYMUNDO            SIVA                  CA     90012620583
44537497172B4B   SARAH               REITENBAUGH           CO     33028474971
4453786975B271   MORGAN              DUNBAR                KY     90012688697
44538A71291569   JESUS               PORTILLO              TX     90007940712
44539A5482B27B   JOCELYN             SMITH                 DC     90014390548
44539A68A4B271   RAQUEL              SERRANO               NE     27043170680
4453B192355939   SEBASTIAN           GONZALES              CA     90011971923
4453B55164B271   ADRIAN              DIAZ                  NE     90012235516
4453B966661963   MICHAEL             DE LA CERVA           CA     90013779666
4453B998372B98   CONA                COMM                  CO     90012349983
4453BA88791873   MARIANA             GOMEZ                 OK     90010380887
445413A468B166   MARK                SHIRLEY               UT     31091343046
4454194215B597   ESMERALDA           SOLIS                 NM     35055729421
445425A365B271   FELICIA             BROGDON               KY     90014965036
4454348575B58B   GRISSEL             PARGAS                NM     35054774857
44543622272B4B   ROBERT              ADCOX                 CO     90010006222
445439A145B52B   MICHELLE            LUCERO                NM     90011119014
44543A38472B43   GREG                ORTIZ                 CO     90011410384
4454411A571992   TAMBRA              DURAN                 CO     90012611105
44544264172B36   EDGAR               CERVANTES             CO     90010802641
445444A6372B43   FRANCISCO           MENDEZ                CO     90012784063
4454462765B53B   SAVANNA             SANCHEZ               NM     90014926276
4454541135B53B   DANIEL              CRUZ                  NM     90003594113
44545A21A5B174   KRISTY              DOTSON                AR     90008340210
44545A3719155B   CECILIA             BORGES                TX     90014510371
4454635A12B27B   KEVIN               BURNEY                DC     90010683501
4454671155B597   REBECCA             JIMENEZ               NM     35022627115
44546866A61963   GIZETTE             DAVIS                 CA     90014608660
445473A142B87B   MARIAH              CHAVEZ                ID     90008633014
4454823188B16B   STEPHANIE           ARCHULETA             UT     90008062318
4454929665B53B   BETHANNE            BETHEL                NM     90002992966
4454934135B388   LEYDI               GONZALEZ              OR     90012503413
4454999665B52B   AMY                 ORTEGA                NM     90009849966
4454B125747954   AXEL                LESTER                AR     25096101257
4454B184276B27   DOMINGO             JUAN                  CA     90010701842
4454B242251332   MARIA               WALKER                OH     90006832422
4454B41168B16B   SEBRINA             PEREZ                 UT     90011854116
4454B595A5B58B   CRYSTAL             ACOSTA                NM     35045955950
4454B67982B27B   ROY                 JORDAN 111            DC     81017806798
4454B84795B271   GARY                HARRIS                KY     68078258479
4454BA2335B52B   ROBERTO             CARBAJAL              NM     36033770233
4455122155B58B   LESLIE              PREVATT               NM     90007602215
44551A63191873   CALVIN              TURNER                OK     21033080631
4455429A861967   JAIRO               HERNANDEZ             CA     90012772908
4455455655B52B   MARIBETH            VILLEGAS GARCIA       NM     90001835565
445556A2461988   DAVID               CANALES               CA     90010196024
44555A92661967   GUADALUPE           HERRERA               CA     46011940926
4455627445B53B   FLOR NOCHOLAS 3RD   GONZALEZ              NM     90014762744
4455641332B27B   DEREK               COBB                  DC     90000534133
44556535A72B4B   KATHERINE           RICHIE                CO     90010385350
44556738A91523   GRANT               WILLIAM               TX     90006987380
44556789972B4B   ROSA                HERNANDEZ             CO     90014157899
44556A12891569   JAIME               SANCHEZ               TX     75094570128
44556A46A72B36   KIMBERELY           BOYER                 CO     33032300460
4455765A191569   FELIPE              JUAREZ                TX     75087236501
4455788865B174   PABLO               MENDOZA               AR     90013508886
445589A6551334   JOHNNY              TURNER                OH     90012979065
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4455927445B53B   FLOR NOCHOLAS 3RD   GONZALEZ              NM     90014762744
4455978545B53B   STEPHANIE           LOGENEST              NM     90006027854
44559796872B4B   MARK                RODRIGUEZ             CO     90012637968
4455992295B174   MICHELLE            JOHNSON               AR     23015829229
4455B26852B87B   DEBRA               BERGEMAN CHITWOOD     ID     41001752685
4455B28A791569   CHRISTINA           AGUIRRE               TX     90000562807
4455B487A5597B   JOSHUA              HORNE                 CA     49083624870
4455B5A2251382   STEVEN              DAVIS                 OH     66086455022
4456167385597B   LEOPOLDO            SIQUEIROS             CA     90014936738
4456282265597B   CLAUDIA             LOZANO BERMUDEZ       CA     90012158226
44562A8842B27B   TAQUAN              HOWIE                 DC     90014410884
44563929A91873   WANDA               SMITH                 OK     90009989290
445639A385597B   OSCAR               VILLARTA              CA     49030229038
44564399A5597B   ROBERT              PEREZ                 CA     49094543990
4456478A691569   EDNA                NIEVES                TX     75087047806
445648A365B53B   DONITA              JOHNSON               NM     90013068036
445648A7172B39   HOLLY               WALKER                CO     90009108071
44564A4478B187   BRANDON             MONTAG                UT     31088190447
4456576114B271   DEBBY               RUGELEY               NE     27093747611
4456588622B87B   VINTON              MCFARLAND             ID     41093518862
4456633924B541   STEPHANIE           DOUGLAS               OK     90013883392
4456686798B165   SHARON L            HEIBEL                UT     90006978679
44566A55A72443   HILDA               THOMAS                PA     90005340550
4456726A647954   RYAN                SUNDAY                AR     25022282606
44567A5365B222   VERONICA            HURST                 KY     90003000536
4456897852B879   CINDY               GROSS                 ID     90010649785
4456976225597B   ROBERT              YNIGUEZ               CA     90012687622
44569A6675B174   CLAUDE              JOHNSON               AR     23014320667
44569A7885B271   JAMIA               BROOKS                KY     68077220788
4456B478161963   ALEX                LAZARO                CA     90003884781
4456B6A174B271   DIANA               KNIGHT                NE     27083266017
4457166915B174   PRISCILLA           DAVIS                 AR     23074446691
4457256A35B53B   AUREA               ORTIZ                 NM     35056295603
44573A38957133   SUSANA              ESPINOZA              VA     90001260389
44573A67872B4B   HANNAH              ROSENSCHEIN           CO     33001020678
4457449A754151   BRENDA              OSTROM                OR     90011844907
4457585415B523   DARRYL              PADILL                NM     90011298541
4457636955B174   KEVIN               GOLDEN                AR     90013483695
44576553A5B52B   ALEJANDRA           DIAZ-FIERRO           NM     36025625530
44576786A91569   ANTONIO             LUCERO                TX     90002057860
44577222A61963   MASHALLA            OWENS                 CA     46003442220
44577321A2B879   DAVE                ANDERSON              ID     90007013210
44577577672B36   JOSE                GUILLEN               CO     33081405776
4457829A951382   JONATHAN            HAMBLIN               OH     66013922909
44578411A91523   GARY                THORNTON              TX     90007184110
4457862752B87B   MIRANDA             SEIG                  ID     41043946275
44578753972B43   LIDIA               BRISENO               CO     33099087539
44578A22851334   PATRICIO            CHAVEZ                OH     90012280228
44579534472B43   CHRISTINE           KULAS-VENCES          CO     33051955344
4457999744B547   DARLENE             TESKE                 OK     90012119974
4457B169A5597B   LENITA              AGUILERA              CA     90006591690
4458116835599B   STACEY              BRAVO                 CA     90004071683
4458185465B52B   MARYCRUZ            PARRA                 NM     90008588546
44581A1424B271   ROBERT              HULTS                 NE     90015340142
44582385A71934   TANYA               JIMENEZ               CO     90011843850
4458262815B222   PAULA S             BRYANT                KY     90013186281
44583659A91351   KARINA              MARQUEZ               KS     90014846590
4458485565B555   MICHELLE            PETTUS                NM     90014248556
4458558A333631   KRISTOPHER          GARRETT               NC     90012735803
44585713A8B156   MARK                GOODSON               UT     90001737130
4458625A891872   ALANDA              COX                   OK     90012902508
4458737215B52B   REBECCA             VILLEZCAS             NM     36042923721
4458862192B895   CINDY               SHERIDAN              ID     90012136219
4458992189127B   JOSEPH              KENDRICK              GA     90010819218
4458999655B222   COREY               TRUSS                 KY     90010239965
4458B11A45B581   ROSEMARIA           YEPEZ                 NM     35018211104
4458B459A5B271   LYNETTE             DUKES HARRIS          KY     90014304590
4458B4A3933443   STEPHANIE           WALDEN                AL     90014634039
4458B711191523   ARCY                VELASCO               TX     90007197111
4458B914A91549   GRACIELA            CORTEZ                NM     75084379140
4458B988951382   TALITHIA            GREEN                 OH     66073069889
4458BA22991569   RAQUEL              MARQUEZ               TX     75005230229
44591498A4B271   SONDRA              BROWN                 NE     27035904980
445917A535597B   LAURA               CONTRERAS             CA     90015327053
44591944A72B4B   JOSEPH              DANIEL                CO     90010249440
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44592792872B36   JUAN          ROJAS-FLORES                CO     33091247928
4459337185B174   KAUWYANA      YANCY                       AR     90014703718
4459373652B828   JESSICA       SOHRAKOFF                   ID     42090967365
4459377A361963   LEA           RANGEL                      CA     46078107703
44593A8874B271   DAKIESHA      THOMAS                      NE     90010800887
445943A1461963   DANNY         VARGAS                      CA     90014133014
44594A35172443   CECELIA       BROWN                       PA     90000160351
4459577275B52B   DONNA         DELGADO                     NM     36075617727
4459628A25B174   KENISHA       TRAYLOR                     AR     90002482802
445968A4191873   SUSIE         ANDERSON                    OK     90008328041
4459718A22B27B   TEESHAUN      SAMUELS                     DC     81014001802
44597667A72B43   JORGE         VEGA                        CO     90009196670
44597A4485B58B   MARICELA      CALZADILLAS                 NM     90012280448
4459829242B27B   DEBORAH       TIMMS                       DC     90012372924
4459836642B896   ROBERT        YOUNG                       ID     90004573664
4459989555B271   VALARIE       BLAND                       KY     90011878955
4459B32215597B   RENEE         WOLFORD                     CA     90012943221
4459B378351382   SHEILIECE     ROUSE                       OH     90003923783
4459B74495B52B   JARED         LOVATO                      NM     36005097449
4459BA9688B16B   THOMAS        BERAZ                       UT     31022770968
4459BAA6261963   HILDA         IBARRA                      CA     46092250062
445B143325B551   ERIKA         IBARRA RUIZ                 NM     90005134332
445B1A9225B52B   ERNESTINE C   MARTINEZ                    NM     90010160922
445B31A4991569   RICARDO       JAQUEZ                      TX     75040211049
445B4694251334   CRYSTAL       YOUNG                       OH     66026966942
445B485A933443   MARY ANN      FLOWERS                     AL     90014508509
445B528535B52B   ALONDRA       ORNELAS                     NM     90010072853
445B5773572B36   DANIELA       HERNANDEZ                   CO     90013327735
445B588668B16B   MARION        KUNC                        UT     31038118866
445B595345B53B   SAMANTHA      HARTZOG                     NM     90006999534
445B649925B52B   ALICIA        PEREZ                       NM     90011514992
445B6592A72B36   MOSES         MICHAEL                     CO     90012185920
445B692835B52B   ANITA         MONTOYA                     NM     90012999283
445B716645B58B   MARIO         OTERO                       NM     35083841664
445B7327347954   IRMA          GONZALEZ                    AR     25069753273
445B828765B52B   ASENCION      GARCIA                      NM     90013832876
445B894378B165   MATTIE        MILLER                      UT     31046069437
445B926485B222   BRIANNA       BROWN                       KY     90013452648
445B9665661963   JADA          JACKSON                     CA     90006576656
445BB18985B597   LIZBETH       MEDINA                      NM     90002431898
445BB31815B53B   JENEVA        ESPINO                      NM     90008913181
445BB516961963   RONIKA        EURKS                       CA     90004405169
445BB712491351   BUBBS         BECERA                      KS     90004047124
445BB762872443   LINDSEY       WEIMER                      PA     90014857628
4461166614B271   SPENCER       GERARD                      NE     90014866661
44611673A72443   NICOLE        STOKES                      PA     51021476730
4461196A872B43   MICHAEL       ARCHULETA                   CO     33027859608
4461276524B271   TRACY         YOUNG                       NE     90006067652
446128A1472B36   SANDRA        CRAFT                       CO     90004708014
446129A495B174   STEPHANIE     ESTES                       AR     23047559049
4461372542B27B   SHEARICE      HOLTON                      DC     90014287254
44613766A61967   STEPHANIE     BEARSE                      CA     90011817660
4461466615B52B   LOURDES       SANCHES                     NM     36083596661
44614924A51326   JAMES         HENRY                       OH     90010239240
44615719872B4B   CURTIS        LOZANO                      CO     33066377198
44615849172B36   VERONICA      GOMEZ                       CO     33030478491
4461598495B398   GUSTAVO       CORIA                       OR     44083769849
44616532A5B174   CHRISTINA     CHAPPLE                     AR     90014745320
4461765424B271   CHIRAH        HENLEY                      NE     90001866542
44618251972B43   CAMERON       BENDNARK                    CO     33078572519
44619741A5B52B   BRIAN         TALACHY                     NM     36099017410
4461B966661963   MICHAEL       DE LA CERVA                 CA     90013779666
44621A36855939   JESUS         SANTOS                      CA     90012480368
4462229A961963   GLORIA        ENCISO                      CA     90012942909
44622413572B4B   BRIAN         STELMASZEK                  CO     90014614135
44622A5372B87B   AMANDA        RANSFORD                    ID     41092410537
44624462A51334   EFREN         MERINO                      OH     90014864620
44624918272B24   KACIE         RUSSELL                     CO     90015199182
44624A44772B36   FRED          PFANNER                     CO     33019160447
44625A7422B828   BRADLEY       BARNETT                     ID     90003220742
44625A76272443   LORETTA       HARRIS                      PA     51016050762
4462614929152B   ADRIANA       ORTIZ                       TX     75014701492
4462657A772B36   LORENZO       TREJO                       CO     90009225707
446268AA572443   ERIN          BURSWORTH                   PA     90015278005
4462694835B271   BRANDY        SMITH                       KY     90013759483
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4462727654B592   APRIL        CASTILE                      OK     90015032765
44627595572B36   SCOTT        SCRIBNER                     CO     33012875955
446284A9361963   YANET        ROQUE                        CA     90014164093
446288AA751334   LAURA        GARCIA                       OH     90014548007
4462B15A15B58B   MARY         NUANEZ                       NM     90014301501
4462B43172B27B   JONATHAN     HARGRAVES                    DC     90011494317
4462BA8515B222   ZINA         BETHAUNE                     KY     90013730851
44631A6125B52B   GABRIELITA   LUCERO                       NM     90005740612
446323A9272B43   TAMARA       CORDOVA-PEREZ                CO     33057183092
4463251AA5B58B   ROSALIA      MENDOZA                      NM     35089045100
4463254425B222   MARK         ECHOLS                       KY     90013515442
4463265355597B   DULCE        ZEPEDA                       CA     90005146535
4463288775B271   MALCOLM      CASON                        KY     90012508877
4463391865597B   MELISSA      RUIZ                         CA     90005799186
4463392195B53B   VIRGINIA     GARCIA                       NM     35051059219
44633A5915B52B   LUIS         DE LA ROSA ORTIZ             NM     90006370591
44634A8645B53B   PATRICIA     PAEZA                        NM     35085940864
4463644A891873   MICHELLE     MARTINEZ                     OK     21063454408
446368A2A31959   ROY          GORVIN                       IA     90014428020
44636A59A5B597   SCOTT        REID                         NM     90011840590
446388AA672B43   LARRY        WILSON                       CO     90004248006
44638A59A5B597   SCOTT        REID                         NM     90011840590
44639675472B4B   AESLEN       ROMAN-FLORES                 CO     90015086754
4463985AA2B27B   METRO        TEEN AIDS                    DC     90010268500
4463B22A672443   ROBERT       HONSE                        PA     90010622206
4463B258161963   DENISE       GOMEZ                        CA     90011332581
4463B623A5B597   PATRICIA     MADRID                       NM     35065086230
4464132225597B   JAVIER       BOLANOS                      CA     90008933222
4464193A191873   GABRIEL      BINGAMAN                     OK     90009989301
44641968A71949   JENNIFER     KUTHE                        CO     90010839680
446423A9291569   LILIA        DURON                        TX     75034613092
44642A55757B97   KELSEY       MCKISSICK                    PA     90015040557
44643414A5B58B   CHINO        DARRELL                      NM     90014864140
4464365765B52B   JOSEPH       ZAMORA                       NM     90015096576
44643782372B4B   BRIDGEETTE   ANGUIANO                     CO     33012927823
4464581A591569   NATHALY      INFANTE                      TX     90002158105
44646244433B97   RODNEY       FERGUSON                     OH     90014252444
4464658665B52B   DANIEL       ARZATE MENDOZA               NM     36099215866
4464672885B222   MICHAEL      CARRICO                      KY     90012407288
4464721372B27B   PATRICIA     OWENS                        DC     81017522137
4464731452B87B   AARON        MATTES                       ID     41092413145
4464735745B174   CARLA        BROWN                        AR     90014163574
446475A4761963   EARLINE      LAUDERDALE                   CA     46019155047
44648116372B36   NALLELY      CRUZ SANCHEZ                 CO     33020941163
4464892195B52B   ISABELLA     CARCAMO                      NM     90012429219
4464963A15B52B   KIMBERLY     HOLYFIELD                    NM     36074066301
44649752572B43   MANUAL       BUSTOS                       CO     33089467525
4464B16318B16B   JOSE         COREA                        UT     90012451631
446514A365B53B   PHILLIP      CRESPIN                      NM     35052464036
4465173465B52B   GRACIELA     RIVERA                       NM     90015197346
44651AA7272B4B   STACY        VALDEZ                       CO     90014740072
44652452372B36   ERIKA        REYES                        CO     33072254523
4465251535B222   RONISHA      MITCHEM                      KY     90003085153
4465333795B597   GIOVANNI     GARCIA                       NM     35037613379
4465358625B174   LASHANDRIA   WALTON                       AR     90009705862
44653932272B52   JASON        MAUCH                        CO     90000119322
4465393585B52B   CECILIA      ORTEGA                       NM     90007509358
4465493143B359   JESUS        PRIETO                       CO     90000259314
4465515775597B   JOSE         HERNANDEZ                    CA     49009911577
4465573782B87B   TAMITHA      MURPHY                       ID     90014077378
44656414A61967   JOEL         GRIMALDO                     CA     46016434140
446566AA872B4B   SUSY         CHOQUE                       CO     90011806008
4465671915B53B   PATRICK      PENNINGTON                   NM     90001537191
446568A3271934   AMY          DUTCHER                      CO     90009318032
44657A1A84B566   KENISHA      WOODEN                       OK     90008470108
4465848225B222   SHAY         SLOSS                        KY     90002614822
44659385A71934   TANYA        JIMENEZ                      CO     90011843850
4465977238B16B   MARCUS       WORRELL                      UT     90014887723
4465B24515B222   TOYA         JOHNSON                      KY     90015162451
4465B376451383   DIANA        POLLARD                      OH     66015753764
4465B73645B52B   LINDA        ALEJO                        NM     90010307364
4466114A251383   KIEYONNA     ELLISON                      OH     66007471402
446612A295B52B   GRACIELA     NATSEWEY                     NM     90014632029
4466136312B27B   AMADOU       DIALLO                       DC     90005913631
446619A248B16B   SARAH        MATHIAS                      UT     90005699024
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44661A9615597B   AARON            JONES                    CA     90015010961
44662354A5B52B   LORAINE          GIRON                    NM     90014633540
44662385A71934   TANYA            JIMENEZ                  CO     90011843850
44662951572B43   SERGIO           GUERRERO-JUAREZ          CO     33081129515
44663354A5B52B   LORAINE          GIRON                    NM     90014633540
446638AA572443   ERIN             BURSWORTH                PA     90015278005
4466466529155B   ESTELA           FLORES                   TX     90014076652
44664937A5B271   JAMI             ALCOCER                  KY     90013069370
44665725572B36   ALISHA           LEBLANC                  CO     33074317255
4466592784B271   WILLIAMS         LEAH SUE                 NE     27073289278
4466661724B271   ISSIS            TOME                     NE     90013256172
44667194A51334   DIANE            HAFFORD                  OH     90000881940
44667645572B36   RENEE            AMBROSEN                 CO     33032316455
44668275372B36   ISABEL           SARABIA                  CO     90011282753
4466858585B271   CHARLITA         JONHSON                  KY     68046825858
44668794A91873   JAMES            JORDAN                   OK     90010347940
44668838472B43   KATHERINE        GUERRERO                 CO     90014388384
4466922567B428   SANDRA           HECKSTALL                NC     90014302256
4466926765B259   MEGHANN          BOWMAN                   KY     90010662676
4466B86985B222   YVETTE           OWENS                    KY     90012788698
4466B98452B87B   LUIS             TOVAR                    ID     41094389845
4466BA13951334   CHERYL           NORED                    OH     90010120139
446714AA82B27B   KEARA            WEST                     DC     90013214008
4467174A35B597   PHIL             CATE                     NM     90010827403
4467218755B52B   RONNIE           ORTIZ                    NM     90013121875
4467249115B56B   BARBARA          SULLIVAN                 NM     35074854911
4467282A45B174   AMANDA           WILLIAMS                 AR     90007078204
44673385A71934   TANYA            JIMENEZ                  CO     90011843850
44673424672B43   EVERISTO         GUTIERREZ                CO     90014674246
44673A3A291569   MONICA           RUBIO                    TX     90013350302
44674345772B4B   MICHAEL          TRUJILLO                 CO     90001683457
4467446275B222   ILAIS            MENENDEZ                 KY     90008914627
4467464AA85981   GINGER           FOX                      KY     90001006400
4467545555B222   LATONYA          SMITH                    KY     90008494555
44675596572B4B   ALBERTO          AMARO                    CO     90005275965
4467569575B52B   SONIA            MONTOYA                  NM     90009916957
4467612715B271   MISTY            LORD-GENTRY              KY     90014701271
4467678372B87B   DANIEL           DIAZ                     ID     90015287837
44677152772B36   MARGARET MARIE   HUERTA                   CO     90014071527
4467722158B16B   WYATT            PETERSON                 UT     90015132215
4467845334B271   TRINIDAD         BARAJAS                  NE     90001534533
4467924558B654   THOMAS           TORRES                   TX     90015442455
4467954734B271   CAROLYN          PETERSON                 NE     27079935473
4467994555B271   JAZANA           LANIER                   KY     90008749455
44679AA1372B23   CHAVEZ           EDITH                    CO     33081050013
44681513572B43   KELVIN           AIRITA                   CO     90013575135
4468197755B58B   CYNTHIA          YOUNGER                  NM     90013309775
44683766A2B87B   MARCUS           HEIDENREICH              ID     90011217660
44683A6824B271   LEOBARDO         ALCANTARA MENDOZA        NE     27042970682
44683AA1872B43   RONNIE           MESSINGER                CO     33058430018
4468439A18B165   VICKY            STAKER                   UT     31086503901
4468495395599B   FRANK            BRIENO                   CA     48096279539
4468495625B52B   WYNONNA          ENDITO                   NM     36015529562
4468568615B58B   MARY GRACE       TRUJILLO                 NM     90001676861
44685752A5B597   ERIKA            FUENTES                  NM     90000987520
4468588334B271   LORETTA          DAVIS                    NE     27091458833
4468631345B52B   LETICIA          DELGADO GONZALES         NM     36005663134
4468641555B58B   MAURICIO         MIRANDA                  NM     90013934155
4468642A472443   AMBER            PAULSEN                  PA     90013574204
44687225A61963   VICTOR           BARRON                   CA     46029402250
4468765218B16B   DANIEL           TUCKER                   UT     31090106521
4468775215B58B   KASSANDRA        HERNANDEZ                NM     90012647521
44687AA6A4B271   SAMANTHA         LIEGL                    NE     90013510060
4468848A951334   TANYA            SMITH                    OH     90013224809
44688A21772B4B   RIGOBERTO        GONZALES                 CO     33020470217
4468B556A5B222   JAMILA           SCHULTZ                  KY     90011065560
4468B59A12B87B   KASEY            LEVIS                    ID     90014935901
4468B94972B27B   GABRIEL          MORALES                  VA     90000379497
4469168615597B   MARIE            BISEL                    CA     49021426861
44691988572B4B   MARIA            RIVERA                   CO     33096569885
446936A575597B   JASON            WILLIAMS                 CA     90013536057
44693735A2B87B   JENNIFER         COOK                     ID     90015157350
446943A4672443   TRESA            GRINDLE                  PA     51056293046
4469469444B271   SHERITA          MIX                      NE     27090606944
44694968A5597B   JANAE            HERNANDEZ                CA     90015239680
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44694A4A68B16B   ROBERT            STEPHENS                UT     90000470406
4469526862B27B   JERRY             BLACKSTON               DC     81019732686
446955A3672B23   JOHN              SLATER                  CO     33006345036
446955A495B52B   OCTAVIO           SAGREDO-RODRIGUEZ       NM     90013115049
44695868A5597B   TIANNA            COOPER                  CA     90013468680
446961A5172B4B   STEVIE            SHANNON                 CO     90005441051
44696246272B36   JOSHUA            CARRERAS                CO     90005692462
4469634875B222   MIKEQUESHIA       TYSON                   KY     90015033487
446976A125B271   SUSAN             DINGES                  KY     90012456012
4469771935B174   CHANELLE          SMITH                   AR     23008587193
44698163972B4B   ADINE             HASSLER                 CO     90012741639
4469846518B16B   JOHN              JOHNSON                 UT     90009234651
4469B15392B87B   PAULA             KING                    ID     41087741539
4469B628372B36   JOSE              CABRERA                 CO     90014836283
4469B749972B36   VIOLA             CORDOVA                 CO     90013927499
4469B813251325   MARY              VETTER                  OH     66060958132
4469B894A72443   VERONICA          MORNSON                 PA     90009168940
446B147755B174   GABRIEL           NEWTON                  AR     90014524775
446B1A67191569   CRYSTAL           MARQUEZ                 TX     90013190671
446B2A59561963   BRENDA            MORENO                  CA     46010710595
446B313745B174   JAKRISTREN        MARTIN                  AR     90015281374
446B33A245B52B   ANTHONY           MARTINEZ                NM     90011023024
446B34A875B597   IVANNA            MAESTAS                 NM     90006484087
446B3743172B36   SERINA            DURAN                   CO     90012557431
446B375494B271   SOCORO            LUNA                    IA     90012627549
446B385A672443   ASHLEY            ALLEN                   PA     51036848506
446B4A65871934   BECKY             DURHAM                  CO     90009790658
446B518A75B58B   GEORGE            YZQUIERDO               NM     90007051807
446B5335872B4B   PATRICK ANTHONY   GOMEZ                   CO     90013623358
446B5555171999   SAMANTHA          RHOADES                 CO     38070455551
446B555A191351   JACQUES           BARBER                  KS     29009285501
446B5717472B23   EDGAR             DE LA CRUZ              CO     90003417174
446B59A338B165   RAMONA            CHACON                  UT     31094599033
446B635335597B   ROSA              MORALES                 CA     90012503533
446B642525B58B   DARLENE           LEYBA                   NM     35080454252
446B6725877562   REBECCA           MARTINEZ                NV     90010787258
446B71A665B174   ROBIN             BOLTON                  AR     90015211066
446B773672B27B   JOHANNA           AGUIRRE                 VA     90012927367
446B7971A2B87B   SCOTT             CHARLES                 ID     90010809710
446B7A52355939   MIGUEL            RUIZ                    CA     90007810523
446B855562B87B   SAMANTHA          COOK                    ID     90013005556
446B957735B597   GABRIELLE         LOPEZ                   NM     35043165773
446BB2A6591873   JOHNETTE          SMITH                   OK     90015262065
446BB449891569   GRISELDA          GARCIA                  TX     75035974498
446BB653591992   PAMELA            HOLE                    NC     90008486535
446BBA86A55939   PATRICIA          DOMINGUEZ               CA     90012930860
44711962572B36   JEFF              WHITE                   CO     90013469625
44711A89A5B174   CANDIDO           DIAZ                    AR     90014900890
4471218465B271   JIMMY             JACKSON                 KY     90012501846
4471225895B174   DWIGHT            CAVENESS                AR     23005742589
4471237495B52B   SONRISA           GONZALES                NM     36003883749
4471283A551334   VANESSA           CLARK                   OH     66094518305
44712948A61963   RICHARD           GARCIA                  CA     90014619480
44713476572B36   JOSE              GUTIERREZ               CO     33083104765
44714398A61967   GABRIEL           SANCHEZ                 CA     46071923980
44714AA7961963   MARTHA            OLIVERA                 CA     46024470079
4471564512B87B   CLINT             CAMSTER                 ID     41032826451
44717126972B4B   RENEE             SMITH                   CO     33042291269
4471718AA91569   BERTA             PERU                    TX     75012131800
44717271A5597B   YVONNE L          MARTINEZ                CA     90007872710
4471939115B597   CLINTON           CHAVEZ                  NM     35098333911
447193A425B174   MAURICE           MCELROY                 AR     90013623042
44719537472B31   PATRICIA          ORLOWSKI                CO     90007215374
4471956A94B271   TANNER            GUIDO                   NE     90010195609
4471965292B87B   JOHANNA           MCRAE                   ID     90001696529
447197A435B58B   ALICA             KNEIP                   NM     35045287043
4471985AA72B4B   ROXANNE           RODRIGUEZ               CO     90012668500
4471B15938B352   PAM               SAUNDERS                SC     11012801593
4471B173655939   MYRA              SEPULVEDA               CA     49075971736
4471B45278B16B   GLORIA            GONZALES                UT     31089744527
4471B73342B27B   RASHAWN           ALEXANDER               DC     90014117334
4472112815B52B   FELICIA           MONTANO                 NM     36080161281
4472155535B58B   SERGIO            ARANDA                  NM     90009325553
44721AA652B27B   SYLVIA            JOHNSON                 DC     81028790065
4472215A261967   KENIA             HEREDIA                 CA     90011821502
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447222A9572B43   STEPHANIE    ARGUELLO                     CO     90005432095
44722A53151383   BRENDA       SERRATOS                     OH     66018740531
4472363562B27B   JONICE       ROBINSON                     DC     90012796356
4472415565B58B   KAREN        LUCERO                       NM     35074761556
44724929672B4B   SIDNEY       CORREY                       CO     90013319296
4472541555B53B   JOEL         ESQUIBEL                     NM     90008284155
4472551142B87B   JOSE         CONTRERAS                    ID     41061805114
44725976A72443   ELIZABETH    SHAFFER                      PA     90013349760
44726859A72B43   BIANCA       HERNANDEZ                    CO     33049838590
44726A39A61963   CHRISTNA     KIMBER                       CA     90013110390
4472724264B271   GABRIELA     CONDE                        NE     27014872426
4472746454B271   DOUGLAS      JOHNSON                      NE     90004534645
4472746A772B4B   LUPITA       MARTINEZ                     CO     33083284607
4472752565B271   THOMAS       BRANCH                       KY     68093805256
447275A1172B36   MICHAEL      ARLEDGE                      CO     33062985011
4472786365B271   MARKEISHA    WILLIAMS                     KY     90014918636
447284AA872B43   NICK         CARTER                       CO     90015524008
44728AA3491523   JESUS        RAMIREZ                      TX     90002060034
4472B442A5B52B   SERGIO       FIERRO                       NM     36096054420
4472B642491523   CHRISTINA    GUERRERO                     TX     90009286424
4472B717672B4B   JOSEPH       WOLF                         CO     90014307176
44733416A5B52B   GUILLERMO    GARCIA                       NM     36058444160
4473483914B271   ROBERTO      RIVERA                       NE     90007308391
4473557175B271   MARY         SEATON                       KY     68036645717
4473567322B27B   ULYSSES      WILLIAMS                     DC     90012786732
4473754495B174   ALYSON       JONES                        AR     90013575449
4473766A272443   JUSTIN       HART                         PA     90013776602
4473818755B52B   RONNIE       ORTIZ                        NM     90013121875
4473883A151334   MARK         HELLKAMP                     OH     66094528301
44738A24771934   FABIOLA      ALCALA                       CO     90002620247
4473912462B87B   RICHARD      WILLOUGHBY                   ID     90014731246
4473924755B271   TEDDY        GREEN                        KY     68033332475
44739A85172B36   ALVIN        AYERS                        CO     33064750851
4473B14355B53B   XAVIEAR      ARMIJO                       NM     90014341435
4473B336361967   MEGAN        LEWIS                        CA     46048843363
4473B882872443   TANYA        BROOKS                       PA     90011598828
4473B958A6197B   CLAUDIA      ZAVALA                       CA     46018309580
447416A5591527   MILLIAM N    MORALES                      TX     90001686055
447422A185B52B   IDALIA       GRANILLO-CHAVEZ              NM     36090602018
44742722A2B27B   MELANIE      L RICKS                      DC     90012487220
4474279A58B163   ALLEN        WEST                         UT     90010957905
4474284425B597   CHRISTINE    ALMARAZ                      NM     35034618442
4474291785597B   MICHAEL      PARKER                       CA     49052169178
44743619A72B36   ARIEL        AVILA                        CO     90011886190
447439A735597B   ANDRES       HERNANDEZ                    CA     49006539073
44743A86747954   MICHAEL      SAMPLES                      AR     90014060867
4474422135B52B   VICTOR       FRANCO                       NM     90013122213
4474426A32B27B   DIANE        DAVIS                        DC     81016372603
447443A5271934   MIGUEL       ANGEL                        CO     32068453052
4474456715B58B   D'YANIRA     PEREZ                        NM     35091675671
44744A1A155954   RACHEL       FACIO                        CA     90013420101
4474574A591523   ALEJANDRO    MUNOZ                        TX     75055677405
4474595A972B43   JOHNIE       CORDOVA                      CO     90015259509
44745A48861963   ROMERO       GLORIA                       CA     46038350488
4474615252B87B   CHRISTINA    TROWER                       ID     90014261525
44746468A85949   KATHY        BAKER                        KY     67012864680
44746A17157122   AHMED        HUSSIEN                      VA     81006740171
4474771942B27B   SASHA        LEI                          DC     90012787194
4474781835597B   BEATRIZ      HERNANDEZ                    CA     90014138183
44747A4915B58B   CARLOS       MEDRANO                      NM     90010770491
447484A135597B   JOVANY       GORDO                        CA     90014744013
44748821372B4B   MARTINEZ     SALVADORE                    CO     90010038213
4474986315B222   TERRY        SNORTON                      KY     68022268631
4474BA22561938   ALICIA       DONALD                       CA     46018380225
4475133725B52B   AYSSLIN      MARIN                        NM     90014163372
44751A68471999   JACK         MEDINA                       CO     38095450684
4475261725B52B   ELIZABETH    SANTIAGO                     NM     36028996172
44752A24272B4B   ADRIANA      CUEBAS                       CO     90004690242
4475344738B16B   CHEREE       MURRAY                       UT     31091284473
4475362785B53B   PAMELA       CHEROMIAH                    NM     90014836278
447543A6458528   TERRY        HALL                         NY     90015473064
4475466A15B222   NISHA        DAVIS                        KY     68000266601
4475511682B87B   RYAN         JEWELL                       ID     90011191168
4475576A972443   RONNIE       SUTTON                       PA     51083167609
44755A18A72B4B   TIYANA       LOPEZ                        CO     90008300180
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4475611A75B398   ELLISON      JAMES                        OR     90004281107
4475633485B271   JAQUITA      KIMBLEY                      KY     68015033348
4475641498B166   JAMES        HANKS                        UT     90006724149
4475672A891873   KAREN        COLE                         OK     21086217208
44756783372B36   RIGO         RODRIGUEZ                    CO     90011107833
44757125172B43   APRIL        MARQUEZ                      CO     90010121251
4475748248B16B   ROBIN        KREISSLER                    UT     90010524824
4475763292B87B   BROOKE       JOHNSTON                     ID     41053386329
447583A9155939   RACHEL       REQUEJO                      CA     49094243091
4475878115B174   JOSE         OJEDA                        AR     23013327811
4475942712B87B   ED           MAKI III                     ID     90008634271
44759629372B43   TRAVIS       ROTH                         CO     33008126293
4475B119432586   JANLYN       BEGGS                        TX     90015351194
4475B2A715B271   ANTOLIN      MARTINES                     KY     90012752071
4475B417961967   MICHELE      OKA                          CA     46025334179
4475B49488B16B   JAIME        RIVERA                       UT     90014484948
4475B659451334   AMY          STAMPER                      OH     66026636594
4475BAA9361963   JOSE         RAYA                         CA     46074460093
4476157854B271   MAXINE       MARTINEZ                     NE     90003865785
44761629372B43   TRAVIS       ROTH                         CO     33008126293
4476245A15B53B   LETICIA      MEJIA                        NM     90015154501
4476282A172B4B   ARMOND       MARON                        CO     33000858201
44762A14491351   ESPINOSA     WILBER                       KS     90003060144
4476344A172B4B   JAMES        LANG JR                      CO     90014114401
4476412365597B   ANNETTE      NICHOLES                     CA     90012131236
44764153972B36   CHRISTINA    JONES                        CO     90013651539
447648A195B53B   RODDY        HUGHTE                       NM     90013138019
447655A6172B43   DOMINIC      BARRIENTOS                   CO     33061955061
4476573494B541   LATISHA      PHIPPS                       OK     90011097349
447669A2772B4B   ELIZABETH    MENDEZ                       CO     33086609027
44767896272B36   JOSE         GONZALES                     CO     90001148962
4476983695B52B   ADRIANA      MONTOYA                      NM     36010978369
4476B19445B222   AUSTIN       KELLY                        KY     90014811944
4476B823191873   VALERIE      NASH                         OK     90010348231
4476B925884369   VANESSA      WALLACE                      SC     90004169258
4477136235B264   CHERYL       JAGGERS                      KY     90007643623
44771464372B4B   MARIIA       GONSALES                     CO     90013274643
44771876685B45   LAKISHA      DAVISON                      FL     90011858766
4477219962B87B   THERESA      THOMPSON                     ID     41067841996
4477239158B16B   EVANS        SAMUEL                       UT     90001283915
4477247915B53B   RUTH         ORDONEZ                      NM     35027784791
4477278A555939   GARY         LEE                          CA     49069347805
4477296545B52B   SALLY        TORRES                       NM     36054319654
4477316444B541   EDWIN        LOPEZ                        OK     90009691644
44773A8679155B   KRISTINE     MURDOCK                      TX     90008490867
4477438792B27B   XAVIER       WYNN                         DC     90014103879
447743AA451334   MARIELA      JUAREZ                       OH     90009943004
44774575772B43   ESPERANZA    CARRILLO                     CO     33013715757
44775795A72443   ALFRED       GRIMM                        PA     90013947950
44775A3645B174   LAJOY        WHITE                        AR     90000810364
4477672865B53B   JOSE         MERCADO                      NM     90013577286
4477713798B121   BRADLEY      DUFFIN                       UT     90009281379
4477729225B597   ROSENDO      MEDINA                       NM     35079262922
4477737A68B16B   LISA         GAFFNEY                      UT     31001373706
4477746445597B   YENG         YANG                         CA     90004044644
4477795A95B271   VINCENT      SALTSMAN                     KY     68033319509
4477819725597B   OCTAVIO      LARA                         CA     49017601972
447796AAA91943   MICHAEL      BOONE                        NC     90015096000
44779A31633443   TAWANNA      BEDGOOD                      AL     90014860316
4477B141891351   MOSES        TODD                         KS     90014121418
4477B524591873   CHEYENNE     HAMILTON                     OK     90013395245
4477B562655997   ELVIA        QUINTANILLA                  CA     90001475626
4477B63985B58B   MONICA       VALENZUELA                   NM     90007856398
4478113195597B   MERANDA      LUJAN                        CA     49068531319
4478131625B271   MICHELLE     ABERNATHY                    KY     90008103162
44781A38433443   TAWANNA      BEDGOOD                      AL     90014860384
4478218695B53B   PAULA        DEANE                        NM     35033811869
44782374A77535   MARIA        MEZA                         NV     90013483740
4478344559126B   SHALONDA     MAXWELL                      GA     14547464455
4478369A291351   MYNOR        DIAZ                         KS     90005206902
4478388438B16B   SALVADOR     GUERRERO                     UT     90010918843
4478525545B53B   DEBBIE       KLEM                         NM     90002662554
44785283A91569   ILEEN        BARRERAS                     TX     90007282830
4478651295B52B   JAZMIN       LARA                         NM     90014165129
44786825372B36   WARC         WALKER                       CO     90008668253
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44786851672B43   DIANA         PACHECO                     CO     90003188516
44786A56951382   DEBORAH       POLK                        OH     90008920569
44786A8A791569   SANTIAGO      GUTIERREZ                   NM     90012410807
447875A385B52B   IRENE         MEDINA                      NM     90013125038
44787A18391351   DAMON         LORD                        KS     90012580183
44788749372B4B   MICHAEL       RIGGS                       CO     33090427493
44788A9A372443   SHIELA        BECKNER                     PA     51056260903
44789471972B36   ALEXIS        FILIPPI                     CO     33097594719
44789A75591351   CLAUDIA       MOREIRA                     KS     29037590755
44789A9A641241   JULIA         ROCHE                       PA     90011770906
4478B325553966   BRANDON       VILLINES                    OK     90009493255
4478B562A8B14B   JEROMY        KEMP                        UT     31063005620
4478B662755939   ANN           BONIAS                      CA     90014956627
4478B712972B36   WANDA         ALVARADO                    CO     90014877129
4478B81865B53B   RHEALYNE      NAVARRO                     NM     90010058186
4479184335B52B   EVELIN        JAQUEZ                      NM     36070988433
44792436A61963   VICTOR        MEJIA                       CA     90014824360
44792A6125B52B   GABRIELITA    LUCERO                      NM     90005740612
447931A8971934   ROSA          FRANKO                      CO     90010431089
4479375195B58B   MARTHA        MUNOZ                       NM     90013487519
4479443225B222   MAILE         TURNER                      KY     68012814322
44794631172B36   LIMELDI       ARCHULETA                   CO     33000686311
4479497A75B58B   LISA          CHAVEV                      NM     90005289707
4479564A62B27B   LINDA         SMITH                       DC     90008556406
44795A5597B426   ALEXANDER     MACHADO                     NC     90007530559
44795A73491351   JESSE         WILLIAMS                    MO     90014320734
4479613118B165   BRICKELL      TAYLOR                      UT     31063601311
44796AA7191873   JOYCE         JEFFERSON                   OK     21037770071
4479831AA5B53B   NICOLE        MARTINEZ                    NM     35080493100
44798727572B4B   ROSA          HERNANDEZ                   CO     90004507275
447991A8291873   HUGO          HIDALGO                     OK     90013321082
4479955165B597   CHRISTENA     NUNOZ                       NM     90008685516
4479964634B539   DENISE        GRESHAM                     OK     90011036463
4479995275B588   JOSE          CAPRIO                      NM     90004429527
44799A3298B16B   RANDY         MARYBOY                     UT     90012950329
4479B133133443   QUANISHA      BAKER                       AL     90014861331
4479B274A5B58B   DESTYNI       PADILLA                     NM     90012072740
4479B4A5151334   TAMMY         DUPLER                      OH     66002704051
4479B845A72B4B   MICHAEL       CRANKFIELD                  CO     90014808450
447B1576155939   MELINDA       LOPEZ                       CA     49094285761
447B193535B52B   SANTIAGO      MELERO                      NM     36092039353
447B199A972443   PERRY         WELLING                     PA     90009949909
447B2A9582B87B   JOHN          MOORE                       ID     41047540958
447B381965B222   JOSHUA        BISHOP                      KY     90010708196
447B4378A8B16B   MARTINEZ      ANGELA                      UT     31016423780
447B4A1175B53B   SHIRLEY       HIELO                       NM     35005970117
447B5431593769   TINA          JACKSON                     OH     90003694315
447B5919A61967   GUERREO       RAUL                        CA     46073589190
447B592158B16B   SERENA        PETERSON                    UT     31096079215
447B6431791569   ALEJANDRA     PONCE                       TX     90015274317
447B64A8491523   JESSICA       GALLARDO                    TX     90008714084
447B6514361967   DEBRA         MILLER                      CA     46006655143
447B656118B165   TAMMY         LOERTSCHER                  UT     31049505611
447B6692691873   JAMES         CARTER                      OK     90012776926
447B77A6A71999   ANDRAYA       VIGIL                       CO     38063817060
447B8178251383   JEREMY        WILDER                      OH     90000981782
447B8597761963   DALE          JACKSON                     CA     90011135977
447B863214B271   PATRICIA      GONZALEZ OROZE              IA     90012026321
447B8779791351   SHAKIVA       SMITH                       KS     90014727797
447B889555B222   RACHEL        RAISOR                      KY     90000258955
447B9762A5B53B   CATALINA      MORENO                      NM     35083517620
447B985915B271   CHARLENE      PATTERSON                   KY     68000838591
447B9AA6555982   CHRISTOPHER   JOSLIN                      CA     90003730065
447BB164A2B259   MARIA         MARROQUIN                   DC     90011691640
447BB56395B271   SHAWMEKA      LESTER                      KY     68094835639
4481286778B165   LAYNE         HARTVIGSEN                  UT     31006728677
4481357715B58B   CLAUDIA       RODARTE                     NM     35063005771
4481393A347954   LILIANA       ALDACO                      AR     25084419303
4481414115B53B   RAQUEL        MUÑOS                       NM     35004861411
448144A7A91351   ROSALINDA     CEDILLO                     KS     90010094070
44815555872B4B   JUAN          PEREZ                       CO     90011965558
44815987A5138B   JOSHUA        FORQUER                     OH     90014409870
4481616965597B   CRYSTAL       SUAREZ                      CA     90007371696
44816A4528B16B   PAMELA        STRAIN                      UT     31098620452
4481753485B222   TYARAI        HARRIS                      KY     90014635348
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4481987895B58B   IRMA         DIAZ                         NM     35067458789
4481B37397B262   SIMONE       ZUNIGA                       CO     90011793739
448211A1772434   THOMAS P     RAVASIO                      PA     51090051017
4482124285B52B   JAVIER       MANRIQUEZ                    NM     36006392428
44822216A72443   DAVID        BURNSWORTH                   PA     51046162160
4482357582B87B   NICHOLE      FRANK                        ID     90014995758
44824361A5B259   TIMOTHY      LAIRD                        KY     90006443610
44824691272B4B   EDGAR        HERNANDEZ                    CO     90001096912
448255A9891569   ALDO         REGALADO                     TX     90014875098
44825862A93755   TRISHA       ADAMS                        OH     90010968620
44825A2946197B   ALBERTO      MARQUOZ                      CA     46018310294
4482637262B27B   FITIMIAH     DAVIS                        DC     90008893726
4482678125B222   SEAN         BERRY                        KY     90001517812
4482778375B174   VICTORIA     GREENLEE                     AR     90008417837
4482791A74B271   KRISTIAN     STEITZER                     NE     90015219107
4482815665B58B   DANIELA      WONG-MOTA                    NM     90009621566
4482865A45B53B   NATASHA      CHAVEZ                       NM     35011316504
44828776A72443   CHARLES      WISE                         PA     90011637760
4482B696791351   CARLOS       PEREZ                        KS     90014846967
4482B783772443   WENDY        REESE                        PA     90005437837
4482B7A5A5B52B   KELLEY       MORGAN                       NM     90013947050
4483114438B16B   JOSE         MEJIA MONTEMAYOR             UT     31086351443
44831812272B36   MICHELLE     BAILY                        CO     33097238122
4483191318B165   ANDREA       PLANTE                       UT     31016609131
44833669A8B16B   NANCY        BATRES                       UT     31020296690
4483444A372443   ROXANN       FRONIUS                      PA     90014814403
4483499A92B27B   ADRIA        VARGAS                       VA     90012229909
448349A8172B43   VANESSA      SALGADO                      CO     90013079081
4483666415B597   MARTIN       AGUIRRE                      NM     35095666641
44837119A8B165   FELIX        MORAN                        UT     31085811190
44837A59691569   RICARDO      LOPEZ                        TX     75001070596
448382A295B52B   GRACIELA     NATSEWEY                     NM     90014632029
4483852312B27B   TIMOTHY      MOOTEN                       DC     90015265231
4483859968B16B   JARED        PANTER                       UT     90010765996
4483878365B52B   JOSE         RODRIGUEZ                    NM     90005677836
4483896794B271   MARY         BUTLER                       NE     90007259679
4483973655B52B   JOHN         QUINTANA                     NM     90013947365
4483B13358B16B   KATHLEEN     THALMAN                      UT     90013841335
4483B7A3891873   GEORGETTE    JONES                        OK     90008977038
4484121A772B36   AXEL         OLIVAS                       CO     33016332107
4484191645B222   VALERIE      RUCKER                       KY     68095689164
44841A55891569   ROCIO        HERNANDEZ                    TX     90000510558
44841A8298B165   VIRGINIA     PEREZ                        UT     90009860829
4484279962B27B   JANSEN       VERA                         DC     90010267996
4484393A191873   GABRIEL      BINGAMAN                     OK     90009989301
44844147572B43   GABRIEL      MAES                         CO     90015441475
44844A81972443   GARY         BROOKS                       PA     90003390819
4484735335B174   PHILLIS      MANGRUM                      AR     90011613533
44849A77651382   SARA         GORFE                        OH     66086640776
4484B82565B58B   LUPITA       AVILA                        NM     90010668256
4484B842261967   JOE          CARRILLO                     CA     46044678422
4484B942191873   JAMES        LEE                          OK     90012139421
4484B97595B52B   CANDACE      DELGADO                      NM     90014729759
448517A2A72B43   OSCAR        MERCADO                      CO     33061257020
4485192A25B53B   DAX          CUMBIE                       NM     35052349202
44851A63472B43   ANA          MARTINEZ                     CO     90014770634
4485215558B165   FABIAN       ESPINOZA                     UT     90005711555
448521A9561963   ELFEGO       BECERRA                      CA     90013621095
4485413738B16B   OSMAR        HERNANDEZ                    UT     90013841373
44854756A5B271   BEVERLY      HARP                         KY     68089517560
44855975A5B271   ROBERTS      MARSH                        KY     90003069750
44856A3A65B597   MORGAN       TUMLINSON                    NM     35003200306
4485725725597B   MANUEL       GARCIA                       CA     90007782572
4485747274B271   VILMA        LORENA                       NE     90009844727
4485755135597B   LOGAN        GONZALEZ                     CA     90015415513
4485776A191873   MILTON       REYES                        OK     90004497601
44858179472B43   ANGELO       DEHERRERA                    CO     90010831794
4485858125B375   CAROLINE     FOSTER                       OR     90014655812
4485916795B58B   DAWN         HERNANDEZ                    NM     35097271679
4485932515597B   JERICA       SANCHEZ                      CA     49082663251
4485942935B53B   JEREMY       LEEWAY                       NM     35072864293
4485B165647954   RUBONIA      MCKIBBEN                     AR     25078831656
4485B511691569   RICHARD      BASS                         TX     90011895116
4485BA76891523   ANA          ALFARO                       NM     75000740768
4486123565B271   MELINDA      DATTILO                      KY     90007932356
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448612A242B27B   TIFFANY          COWSER                   DC     90011102024
44861358A51348   TONY             PRUITT                   OH     66092373580
44861816A91351   CAL              ANDERSON                 KS     90011948160
44861A4372B84B   ABDELKARIM       OMER                     ID     90014380437
44862941A72443   LUCAS            VICTOR                   PA     90005439410
4486335766197B   LORENA           ESTRADA                  CA     46098103576
44863552172B36   DOMINIC          MARTINEZ                 CO     90012315521
4486385752B27B   STORM            KILPATRICK               VA     90013618575
4486396874B271   JAYDEN           MERRILYN                 NE     90015499687
4486467184B271   SHANE            MEISINGER                NE     90013336718
4486468125B52B   CHARLES          MITCHELL                 NM     90007516812
44865218A5B271   CEDELL           FRANKLIN                 KY     90013712180
44865569A61963   VANESSA          CASTILLO                 CA     90012955690
44865AA345B53B   MICAH            LELUGAS                  NM     35006410034
4486631AA55939   EUGENE           BLUE                     CA     90014723100
4486724342B27B   KENNETH          MORROW                   DC     90014582434
448672A898B16B   STEVEN           PRICE                    UT     90013132089
4486744728B16B   STEVEN           PRICE                    UT     90009044472
4486766A461963   JESSICA          CASTRO                   CA     90010546604
4486852245B222   JEREMIAH         KIMBALL                  KY     90011185224
4486872665B52B   PAULA            COUCHMAN                 NM     90013987266
448687A1A91523   RICHARD          FRANCO                   TX     90011257010
4486936A95B52B   BRENDA           BELTRAN                  NM     90013143609
44869651472B4B   JONATHAN         BYRD                     CO     33091906514
4486B19A35597B   SOPHIA           PEREZ                    CA     49071351903
4486B67145B58B   EFREN            ARVISO                   NM     90012046714
44871331372B43   KIANA            YOKUM                    CO     90002623313
448717A898B165   JACOB            NEILSON                  UT     90006697089
44871A1568B16B   STEVEN           CONNER                   UT     90011310156
4487213185597B   ERIC             ESTRADA                  CA     90014641318
4487219255B271   MICHELLE         COOMER                   KY     68092511925
4487355395B53B   VICTORIA         BUSTAMANTE               NM     90012525539
4487393155B597   KRISTINA         BARRIOS                  NM     90004459315
44873A92A5B222   NIKITA           FREEMAN                  KY     90011170920
44874376A71934   DEANNE           BEATTIE                  CO     90007853760
4487472328B165   SMITH            RAYNOR GORDON            UT     90005977232
4487527965B52B   ANDREA           ARCHULETA                NM     90010712796
4487588385B53B   TIANA            SEDILLO                  NM     35041238838
448767A485B222   VAKEISHA         KNIGHT                   KY     90011497048
4487739365B174   SHEQUITA         DOTSTRY                  AR     90015203936
4487781215B271   PHYLLIS          BECHTLOFF                KY     90013778121
4487794A15B597   DANIEL           GONZALES                 NM     35029489401
44877974A91569   RUBY             CEDILLOS                 TX     90000889740
44878425572B4B   ERNESTINA        RODRIGUEZ-IBARRA         CO     90003444255
4487915415B271   TONY             WOODS                    KY     90011621541
44879563A55939   RAYMOND          ORTEGA                   CA     90014825630
4487964A172B4B   JENNIFER         SEYMOUR                  CO     90007526401
44879A5A22B87B   DEVIN            MCCONNELL                ID     41033690502
4487B138961967   MONIQUE          THOMAS-HICKSON           CA     46050801389
4487B49845B53B   NICOLAS          MARTINEZ                 NM     90014614984
4487B59815B222   BRYAN            LUTTRELL                 KY     90014875981
4488143564B592   KAKAWANA         GARRETT                  OK     90009674356
44882158A8B157   CASSANDRA        NAVARRO                  UT     90012631580
448822A1572443   MICHAEL          SHERWOOD JR              PA     90010162015
4488292245B52B   PEDRO            CUELLAR                  NM     36081789224
4488295784B271   YOUNAS           HERAVI                   NE     90010349578
4488353938B165   RYAN             KING                     UT     31036455393
448837A185597B   DOUA             THAO                     CA     90015157018
4488457818B836   JUANITO          TAN                      HI     90015135781
448847A185597B   DOUA             THAO                     CA     90015157018
448847A1A71934   NILDA            GONZALEZ                 CO     90012927010
44884828572B43   EZEKIEL          GARCIA                   CO     90006298285
44885223272B43   ANTJUAN          BOULDIN                  CO     90012832232
448858A985B174   WILLIE           GAINES                   AR     90005478098
4488595595B53B   JEANETTE         LOPEZ                    NM     35062809559
4488642525597B   MARY             ISRAEL                   CA     90013044252
4488751225B58B   BENJAMIN         CAMBRIDGE                NM     90011865122
448883A5961967   MONYETTE RENAY   JOHNSON                  CA     90012773059
4488877272B27B   CLINTON          CARROLL                  DC     90013407727
44888862672B4B   AMBER            SIMPSON                  CO     33010668626
4488928A85B271   SHAQUITA         VICHERS                  KY     90014712808
4488972A52B27B   ANNETTE          HAGENS                   DC     90012787205
44889A95191569   ANTHONY          NAVARRO                  TX     90009160951
4488B21988B165   JOSIE            HERRERA                  UT     31074332198
4488B346772443   JOHN             CAMPBELL                 PA     90011093467
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4488B777A61967   ESTELLA           RAMIREZ                 CA     90011857770
4488B84717B422   SAMANTHA          LOCKLEAAR               NC     90011818471
4488B86975B242   NINA              CRIDER                  KY     90012428697
4488B941751326   CAROLYN           JONES                   OH     90005679417
4488BA9765597B   VANESSA           MENDOZA                 CA     49060750976
44891143A4B271   DORIAN            ANDRADE                 NE     90014461430
4489141755B52B   STEPHANIE         PAYNE                   NM     90011534175
4489151337B48B   TRACEY            LUCAS                   NC     11017905133
44891616872B4B   TYSON             REED                    CO     90010986168
4489239525B174   FREDDY            GIBSON                  AR     90004833952
448932A645597B   ANA               MARTINEZ                CA     90008632064
448932A912B27B   ANNETTE           SPENCER                 DC     90002342091
4489338A65597B   GUADALUPE         LOZA                    CA     90015493806
44893532372B36   JOSE LUIS         JIMENEZ-MARITNEZ        CO     33043865323
448935A355B174   JERRY             ASHMORE                 AR     90014405035
44894335672B4B   MONICA            FLORES                  CO     90012403356
4489473618B16B   WESTLEY           YEE                     UT     90012907361
44894A1A191873   JERRICA           SMITH                   OK     90010110101
44895A94A5B222   JAMES             WILBERT                 KY     90011170940
44896335872B4B   PATRICK ANTHONY   GOMEZ                   CO     90013623358
4489678AA72B43   GERMAN            MEZA                    CO     90011187800
448969A5972B4B   SELINA            ARMENDARIZ              CO     33003059059
44896A78755939   LUIS              LOPEZ                   CA     90015120787
44897384572B43   CARMEN            GUILLEN                 CO     33040703845
44897732A71921   JUSTIN            CHARTER                 CO     38035307320
4489828455B52B   REGINA            VILLALOBOS              NM     36054842845
4489833828B16B   TANIA             ELDER                   UT     90008753382
448983A9672B4B   SEVERIANA         CHAVARIN                CO     90010903096
44899153A5B52B   ISAAC             GUTTIERREZ              NM     90013151530
44899815A61963   KEVIN             JONES                   CA     46007228150
4489B484791569   LINDA             CASTILLO                TX     90013214847
4489B7A4291523   JOSE              REYES                   TX     90009287042
448B1475A51334   SHANNON           PIKE                    OH     90002824750
448B1551991523   JOSUE             PENA                    TX     90012365519
448B17A5271934   ESTEBAN           SOLANO                  CO     90009487052
448B1856554151   LACEY             CANNON                  OR     47016518565
448B2732191873   NASHONTA          SAMUELS                 OK     21073627321
448B2914572443   TIM               WATT                    PA     90014299145
448B3581591873   RHONDA            HUFFMAN                 OK     90010945815
448B463492B27B   RAHEEM            MATTOX                  DC     81004466349
448B464638B165   JESSE             BROWN                   UT     31016596463
448B4739191873   ALISON            ROSE                    OK     21035527391
448B48A998B16B   ERIKA             WOODWARD                UT     90013008099
448B493225B249   RICHARD           ENYARD                  KY     90015239322
448B5781441258   RUSSELL           ESHMAN                  PA     90002857814
448B6647461927   ROSALEE           MEDINA                  CA     90013656474
448B6896171934   MIGUEL            MARTINEZ                CO     90014488961
448B7395855939   APRIL             FANE-HARDEN             CA     49061763958
448B7517561963   MIRTA             NORIEGA                 CA     90012955175
448B7528491569   MAYRA             RIVERA                  TX     90007855284
448B777442B27B   JUSNITA           DORSEY                  DC     81017607744
448B78A3691351   FRANCISCO         CHAVEZ                  KS     90013488036
448B8463991873   ZENOBA            MAXEY                   OK     21029364639
448B8835247954   KELLY             HANNERS                 AR     90009738352
448B91A145B222   JAQUICA           EDWARDS                 KY     90010831014
448B9284891569   HECTOR            PIEDRA                  TX     75099062848
448B9353472B4B   MICHON            ARAGON                  CO     90005923534
448B94A298B16B   TREYVON           ARCH                    UT     90010714029
448B96A625B174   KIMBERLY          MUSGROVE                AR     90009256062
448B9A72271934   ANDREW            CORRION                 CO     90011700722
448BB38465135B   SHERRILL          WALLACE                 OH     66071513846
448BB3A315B271   TIESHA            CALBERT                 KY     68031203031
448BB779A61967   SYDNEY            SWEAT                   CA     90001497790
4491115312B87B   DALLAS            FREDRICKSON             ID     90013421531
44911166672B4B   ISIDRO O          ROQUE                   CO     90013171666
4491136235B52B   BRENDA            SALMERON                NM     36007853623
4491284725B53B   HUMBERTO          MARQUEZ                 NM     35055428472
4491417255B222   CLARENCE          DICKERSON JR            KY     68095701725
4491438845B271   KATIE             GOSSER                  KY     90013653884
449149A1851334   STEPANY           TRIVINO                 OH     66068489018
44915618A72B36   LEANN             GARCIA                  CO     90004996180
4491574944B271   DOROTHY           DROZ                    NE     27098387494
449157A825B222   DYLAN             COOPER                  KY     90008507082
44915A3659372B   CHRISTINA         GREENE                  OH     90007370365
44916A44A5B222   DERRICK           SHORT                   KY     90013030440
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44916A87391569   SAMANTHA     VASQUEZ                      TX     90015100873
44917445372B36   JON          CARLSON                      CO     33027764453
4491831A14B271   CASANDRA     BENJAMIN                     NE     90008453101
4491B11A18B16B   ALEJANDRA    FRANCO-SALAZAR               UT     31002881101
4491B261672B43   CHERYL       JORGENSEN                    CO     90014072616
4491BA87361963   CLARENCE     MITCHELL                     CA     90007260873
44921547172B43   TODD         FERGUSON                     CO     33074385471
44921A6795B58B   VICENTE      CHIMENTO                     NM     90015140679
4492219348B16B   JASON        TORREZ                       UT     90006071934
4492242725B174   RHONDA       HOLMES                       AR     23083664272
4492254435B58B   LYNSEY       GRAVES                       NM     90012225443
44922A3A55B271   TROY         NEARN                        KY     90002250305
449238A925597B   CHRITIAN     NOVELA                       CA     90010548092
449247A9991523   JUAN         CARPIO                       TX     90009287099
449255A4672443   TARA         KIMMEL                       PA     90010205046
4492647915B58B   JUDY         SANTISTEVAN                  NM     35041484791
4492782714B271   JESSE        STUHR                        NE     90001978271
4492896265B597   MELISSA      BACA                         NM     90001829626
449289A164B271   KHAERY       AL-DOSARY                    NE     27069019016
4492935185B271   KEVIN        WHITEHOUSE                   KY     68062523518
4492988668B157   CHANTEL      GEURTS                       UT     31064038866
4492B447791569   DOLORES      MARTINEZ                     TX     90014004477
4492B665891351   JARROD       MORGAN                       KS     90009326658
4492BA23891523   KARLA L      REYNA                        TX     75055720238
44931171A41233   ANDREW       FILBERT                      PA     51082981710
4493148214B271   AMY          BERRY                        NE     27052304821
44931A15A61967   HYDEE        ALDAS                        CA     90011830150
44931A51791523   TERESA       VASQUEZ                      TX     90007020517
4493268A85B52B   RUBEN        DOMINGUEZ                    NM     90014646808
44933932776B22   SAUL         LORTIZ                       CA     90001309327
4493398852B27B   SHAUNTA      JACKSON                      DC     90000409885
44933A58391549   RAUL         HERRERA                      TX     90011840583
449341A218B16B   JENNIFFER    SANSLOW                      UT     90011091021
4493496485B53B   YVETTE       SANCHEZ                      NM     35062809648
44935349A8B16B   GERARDO      OCHOA                        UT     90010013490
44935A13372B36   MATIN        CROCKER                      CO     90014780133
4493618218B183   ANGELA       MCLEOD                       UT     90013551821
449385A5191569   LUCY         MENDOZA                      TX     75077755051
44938675A8B16B   MERCADI      CARLSON                      UT     90014846750
4493882815B222   SHERRY       HOLLOMAN                     KY     68004188281
44938927672B43   LIZBETH      RODRIGUEZ                    CO     33025139276
4493929A72B87B   DONALD       PETERSON                     ID     90009822907
4493988668B165   CHANTEL      GEURTS                       UT     31064038866
4493999145B271   JASMINE      EMBERS                       KY     90015009914
44939A13A72443   EDNA         BUSH                         PA     90013930130
4493B283272B43   TRACEY       GUTIERRES                    CO     90010882832
4493B32A191523   ALICIA       ANGELICA LEZA                TX     90010503201
4493B439951334   MICHAEL      WILLIAMS                     OH     66014564399
4493B46A571934   KAY          MARTIN                       CO     90005204605
4493B527172B36   REYES        LUJAN                        CO     33095395271
4493BA14272443   NIKKIA       KARPEL                       PA     90011840142
4494119432B27B   HOBER        MORENO                       DC     90009981943
449411AA471934   CECILEE      STEELE                       CO     90002801004
4494424535B58B   CARLOS       DE LIMA                      NM     35098832453
44944253172B4B   STAY         NATIVE                       CO     90013932531
44944889272B36   MARIO        ARROYO SOLIS                 CO     33041068892
4494514215B52B   SAMANTHA     ALCON                        NM     90013951421
4494642297122B   MANUEL       CHASINGHAWK                  IA     90014584229
4494692A351334   JAMES        HARRISON                     OH     90010319203
44947A15391873   EUSEBIO      VILLEGAS                     OK     90010020153
44947A8255B53B   DANIEL       PADILLA                      NM     90015180825
4494817A491569   ANAMARIA     NARCIZO                      NM     90001911704
4494887AA55939   HILBERTO     CRUZ                         CA     90003698700
4494891195B52B   DENISE       MARTINEZ                     NM     90007959119
44948A9838145B   JACKIE       JONES                        PA     90012140983
44949556A5B174   JACQULYN     HARRISON                     AR     90001045560
44949955A72B36   LISA         CEDILLO                      CO     33046229550
44949A78961967   KASH         BUTLER                       CA     90011830789
44949A86A91569   LUCCERO      COTRRRAS                     TX     90012040860
4494B243591569   IVAN         JURADO                       TX     90008892435
4494B561691873   HARMANDO     CHAVEZ                       OK     21061265616
449523A5491569   MARIA        DUNDORE                      TX     75059633054
44952559272B43   CHANTELLE    SCHOOLCRAFT                  CO     90013455592
44952799872B36   PAUL         LUCERO                       CO     90013377998
449532A752B87B   WARREN       TAINTER                      ID     90011442075
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449533A9371969   BETHALENA    YARGER                       CO     90014413093
4495488815B174   JOCKE        WILLIAMS                     AR     23055708881
4495488895B52B   GERMAN       ALDERETE-ESPINOZA            NM     90013158889
44954A7745138B   DEDRA        HERALD                       OH     90010600774
4495556142B27B   ROYCE        CAMP                         DC     90009635614
4495588825B58B   KIMBERLEE    ROGERS                       NM     90000608882
44955A54772443   WILLIAM      NICHOLSON                    PA     90013930547
44955A63872443   BRANDI       BROOKS                       PA     90015280638
44955A8935B174   SAMMIE       WHITE                        AR     90014900893
44956215872B4B   GENEVIEVE    PEREZ                        CO     33070892158
44956A3A272B22   DONATO       GRIECO                       CO     90011340302
44957722172B4B   JESSIE       CARROL                       CO     90014307221
4495827175B58B   YOLANDA      ESPINOSA                     NM     90011352717
449585A295B222   STEPHANIE    STARRETT                     KY     90015245029
4495915452B87B   JUSTINA      WAY                          ID     90014181545
4495BA8A155939   JUSTIN       MONTOYA                      CA     49097210801
44961257572B4B   JAIR         MARTINEZ                     CO     90013932575
4496185595B52B   ALEJANDRO    GUILBE                       NM     90013178559
4496372235B52B   HOWARD       GONZALES                     NM     90014657223
449637A9631655   JAMES        BRUCE                        KS     90005087096
4496388782B87B   PENNY        PUPO                         ID     90001578878
4496412542B84B   BIRHANE      TEKLE                        ID     90014591254
4496442515B58B   PAT          MITCHEL                      NM     35092874251
4496456115597B   SALVADOR     PAZ                          CA     49089015611
449645A1472B43   ARNOLD       KERFORD                      CO     90000255014
44964749972B36   VIOLA        CORDOVA                      CO     90013927499
449653A1191569   MINERVA      ESPINOZA                     TX     90013683011
4496545A772B47   RICKY        COTHRAN                      CO     90013764507
4496548635B597   CHAVEZ       GAIL                         NM     35014424863
4496611A95B52B   JONATHON     RODRIGUEZ                    NM     90013161109
4496685525597B   GERRY        VANG                         CA     49073148552
44966A63A93752   PAMELA       JENKINS                      OH     90001720630
44966A77A72443   CARLOS       BERRIOS                      PA     90013930770
4496727495B271   PEGGY        WILSON                       KY     68032332749
44967472972B4B   LAZARO       ARAUJO                       CO     90015074729
44967687A4B271   PAUL         WATSON                       NE     27065786870
4496785195B52B   RAYMOND      RAMIREZ                      NM     90011538519
4496836185B174   CARLO        GREEN                        AR     90004313618
4496878945B53B   VERONICA     BURCIAGA                     NM     35076727894
449696A6691569   YVETTE       RODRIGUEZ                    TX     90012516066
44969895424B7B   RAMONA       RODRIGUEZ                    VA     81018108954
4497156715B222   MEKA         B                            KY     90008505671
44971674A91873   JAMES        WALKER                       OK     90014446740
4497198242B27B   MARCUS       MCKNIGHT                     DC     90010039824
4497223854B271   ROBERT       GROVER                       NE     90014512385
44972297A5B58B   ADRIAN       ORTIZ-CARILLO                NM     35053562970
4497273545B222   JOSEPH       WHELAN                       KY     68021687354
4497368612B27B   URINA        BARNES                       DC     81013156861
4497399525B271   JASON        HAMMERS                      KY     90011959952
44973A4367B495   MELVIN       JONES                        NC     90010720436
44974474A91569   ISRAEL       APODACA                      TX     90003484740
449744A9372B4B   LUIS         RUIZ-ARROYO                  CO     33064684093
44975688A61967   TINIA        DAVIS                        CA     46096146880
4497615865B58B   EILEEN       BACA                         NM     35045981586
4497742285B174   THERESA      JOSLIN                       AR     23072724228
44978285A72B85   ROHEL        LEAH THOMPSON                CO     33094802850
4497858A52B87B   ELIZABETH    CROUT                        ID     41050465805
4497871A65597B   CRISTINA     CRUZ                         CA     90013847106
4497873A161963   LITA         HASTINGS                     CA     46055297301
44979289A8B16B   ROBERT       RAUER                        UT     31031392890
449792A9531621   LIMBER       REYES                        KS     22014222095
44979577672B4B   BRENDA       FIERRO                       CO     33083135776
4497999795B53B   SALVADOR     CONTRERAS                    NM     90014849979
4497B692691351   DANIELA      ROBLES                       KS     29010676926
4497B812755939   BLANCA       REYES                        CA     90011388127
4498148465B53B   RUDY         ARAGON                       NM     90013494846
4498157A876B27   LEEANNE      ARICSON                      CA     90001675708
4498199686197B   HONEY        MCDONALD                     CA     46010519968
44981A1893B351   EUSEBIO      CASTRUITA                    CO     39091440189
4498274315597B   MARIA        DOMINGUEZ                    CA     49071597431
4498313525B354   MIKHAIL      SMITYUKH                     OR     90008871352
4498324715B52B   BRITTANY     GARCIA                       NM     90012982471
44983575572B36   ALLYN        LEBLANC                      CO     90012635755
44983A2A52B87B   MELISSA      RE                           ID     41050470205
449841A9947954   MATT         RISENHOOVER                  AR     90001101099
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4498438785B271   JOSHUA       BURTON                       KY     90011623878
4498477915B53B   JAYME        TRUKILLO                     NM     90014717791
4498479595B597   FELIXFRANK   YAWAKIE-VIGIL                NM     35045877959
4498491782B87B   SHELDON      NELSON                       ID     90015089178
44984A7AA5B541   LAWRENCE     MONTOYA                      NM     90005440700
4498524995B222   LESLIE       MEANY                        KY     90013622499
4498594815B372   CHANDA       MCCLURE                      OR     44557939481
44985A62391569   BEATRIZ      RAMIREZ                      TX     90012370623
44986215772B36   STEVEN       UNEBERG                      CO     33003172157
4498675489155B   VENESSA      CAMPOS                       TX     90003627548
44986AA9A5B271   ELIZABETH    MONTGOMERY                   KY     68015620090
4498758595B53B   ROSA         ARCE                         NM     90011855859
44987775172B4B   JEREMIAH     WHEELER                      CO     33017967751
4498777682B27B   DIANE        WILLIAMS                     DC     90013447768
449895A895B58B   TOMMIE       BILLS                        NM     35061385089
4498B135861967   DEYNA        VILLAR                       CA     90008531358
4498B79765B53B   LINDA        AGUAYO                       NM     35091917976
4499116642B87B   OPAL         COLLINS                      ID     41089991664
44991175872B4B   VICENTE      CARBAJAL                     CO     33026001758
4499147565B58B   LINDA        PARRA                        NM     35043174756
44991525972B43   JUAN         GONZALES                     CO     33026485259
449938A998B16B   ERIKA        WOODWARD                     UT     90013008099
449947A735B597   CAMILLE      VALDEZ                       NM     35006567073
44995836872B4B   JOSEE        VASQUEZ                      CO     90013568368
4499624185B222   DENNIS       NEWKIRK                      KY     90013212418
44996861A2B87B   STEVE        MCGLATHERY                   ID     90011838610
449974A125597B   ANA ROSA     RAMOS GARCIA                 CA     90007514012
4499757665B174   MIQUEL       RIVERA                       AR     90014865766
44997A99572B43   SARA         VALDEZ                       CO     90011200995
44998228172B4B   EBONY        MARTINEZ-AGYEI               CO     33064762281
44998561A61967   KEVIN        ROBINSON                     CA     46050385610
44998759672B36   MELANE       SHANNON                      CO     33001787596
44999283A5B388   MARIA        AGUILAR                      OR     90012722830
4499943392B87B   STEPHANIE    FORIM                        ID     90007384339
4499951248B155   RON          PAGE                         UT     90008925124
4499B17115B222   BRIAN        LOGAN                        KY     90010101711
4499B67295B53B   CYNTHIA      PADILLA                      NM     90012866729
449B159445B222   DOLLIE       THOMPSON                     KY     90013505944
449B1686A5B53B   LORENA       DAVIS                        NM     90015266860
449B1A82672B43   MARY         SISNEROS                     CO     90014770826
449B223245B174   JASMINE      WILLIAMS                     AR     90011972324
449B237548B16B   MONIQUE      SEARLE                       UT     90010393754
449B2925461967   DEMARI       FOSTER                       CA     90011829254
449B297A35138B   KYLE         HERALD                       OH     90010749703
449B2A55A55939   MERCEDES     GUTTIERREZ                   CA     49093310550
449B321165B271   SUSIE        BERTRAM                      KY     90011082116
449B355738B16B   PELENATO     AH CHING                     UT     90014535573
449B358815B174   DEBRA        ANDERSON                     AR     23091785881
449B3683972B4B   LEO          FOLKS                        CO     33090576839
449B3797951334   ANGEL        TOMS                         OH     90014787979
449B3983891351   AMANDA       NICHOLS                      KS     29071499838
449B423A85B58B   JULIANA      ZAMBRANO                     NM     90014712308
449B4541572443   TASHA        EVANS                        PA     90014615415
449B464495B52B   CARLOS       GONZALEZ                     NM     36045876449
449B467115B926   JUAN         MORILLO                      WA     90015436711
449B47A242B27B   KADIJA A     WHITE                        DC     90013227024
449B4982651334   FELECIA      NAPIER                       OH     66004549826
449B5425972B4B   JIM          ANDERSON                     CO     90013304259
449B5665372B36   RITO         RUEDAS REYES                 CO     33084376653
449B5A9A48B16B   SHARON       GOODIN                       UT     31085400904
449B6158471934   AISHA        SAWYER                       CO     90013271584
449B6228691869   LESLIE       CARTER                       OK     90011372286
449B64A2361967   ADRIAN       TODD                         CA     46035774023
449B6527191523   LINDA        QUESADA                      TX     75016295271
449B699525B58B   JORGE        OREGON                       NM     90011729952
449B8611591351   MARIZA       GARNICA                      KS     90011666115
449B8647472443   TERRI        HANDLIN                      PA     90006096474
449B8713671934   RUBEN        JUAREZ                       CO     32080587136
449B938678B16B   DALLAS       CHIDESTER                    UT     90012873867
449B9565472B43   JOEL         MITCHELL                     CO     90013375654
449B961955B222   LETECIA      BROOKS                       KY     68050016195
449B9663191569   ROSA         SEPUVELDA                    TX     75099066631
449B98AA75B271   TREVIA       SPALDING                     KY     90011938007
449B9A72A91873   MONIQUCA     JAMISON                      OK     90010820720
449BB74145B58B   DOREEN       LOVATO                       NM     90008757414
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449BB74525B222   AMANDA        POWELL                      KY     90005577452
449BB83A35597B   LORENA        MARCIAL                     CA     49042108303
449BBA2A43B399   CATHY         DUNN                        CO     90009600204
449BBA61A72B36   ELOISA        MORALES                     CO     33046060610
44B11233A5B53B   CARLOS        LOPEZ                       NM     90014972330
44B1124A95B174   ANGELA D      MCFADDEN                    AR     23002052409
44B116A775B52B   SAMANTHA      WOOD                        NM     90002576077
44B11A56571934   ANOLA         HUBBARD                     CO     32094750565
44B12114A61963   GABRIELA      MEZA                        CA     46012071140
44B13167133443   TAMARA        MYHAND                      AL     90013971671
44B1331A291926   TINA          THORNTON                    NC     90008923102
44B13881A2B27B   KENDRA        JOHNSON                     DC     90013818810
44B143A865597B   ISRAEL        ARCEO                       CA     90013893086
44B1441892B87B   NANCY         GARDINER                    ID     90000844189
44B14825155939   ANA           CASTELLANO                  CA     49027808251
44B151A3891881   RAMONA        HERNANDEZ                   OK     90012731038
44B15627372B43   SARA          OLIVER                      CO     33023546273
44B1616665B58B   JAMES         HAYES                       NM     90013681666
44B1661792B27B   RAMONA        HARRELL                     DC     90010096179
44B16A88461967   MITCHELL      MUNGNIA                     CA     90012740884
44B16A91A71934   SASHA         FINAN                       CO     32067830910
44B17545172B4B   DIEGO         SANDAVAL                    CO     90006405451
44B17656361967   MARIA         HERNANDEZ                   CA     90014136563
44B17AA665B222   PERCELL       PETTY                       KY     90015080066
44B18437671934   JESSICA       JANECEK                     CO     90009184376
44B1878A655939   MARTIN        HERRERA                     CA     90013177806
44B187A6473267   JOHN          WOLTMANN                    NJ     90009347064
44B19238891873   GLENN         RICHARDSON                  OK     90013002388
44B19554551382   KELLY         CAIN                        OH     66086125545
44B19832691523   CARRILLO      RAFAEL                      TX     90004088326
44B1B136191351   DONALD        GRABOWSKI                   KS     90007521361
44B1B475A55939   JOHN          LOPEZ                       CA     49092504750
44B1B958A2B87B   ARLENA        EDDY                        ID     41089569580
44B2253A241269   CHRISTINA     BERRY                       PA     90012825302
44B22A38147954   MARYJANE      MOORE                       AR     25027310381
44B2325325B174   TRACY         AJAI                        AR     23048472532
44B23338A91873   JAMES         HILL                        OK     90014063380
44B2358564B231   DARREN        ROACH                       NE     90001935856
44B2364384B271   JACQUELINE    BARTLETT                    NE     90013686438
44B2378A255939   ROSIO         VALLEGOS                    CA     90011427802
44B23881172443   RAY           WHITE                       PA     51013338811
44B242A875B58B   ROSA          GONZALES                    NM     35033342087
44B24362791569   JAIME         TREJO                       TX     90013273627
44B24569272B4B   JOSE MANUEL   VALLE                       CO     90012295692
44B26137191523   ALEJANDRO     CARRANZA                    TX     75056011371
44B26198191857   COURTNEY      CHERMACK                    OK     90012611981
44B2659142B27B   DAMARCO       SALLEY                      DC     81027825914
44B26771891569   JENNIFFER     HOLGUIN                     TX     90010327718
44B27732891351   LINDSEY       LUCAS                       KS     90014417328
44B27883651383   ANDREW        MARCUM                      OH     90009328836
44B2795615597B   ALEJANDRA     VILLALOBOS                  CA     90009199561
44B2797275B52B   LUIS          VERDUGO                     NM     90014309727
44B28147691523   FRANK         QUINTANA                    TX     90010821476
44B28599171644   TRACI         BATTAGLIA                   NY     90001635991
44B2928A772B43   MARIA         HERNANDEZ                   CO     90008122807
44B2937918B16B   STEPHANIE     SORIANO                     UT     31026313791
44B2946575B53B   TREEVA        SYLVESTER                   NM     35059584657
44B29779A91523   TOMMY         HARRIS III                  TX     90009707790
44B2994275B266   SCOTT         ENSING                      KY     90013659427
44B2B33995B53B   JOYCE         GILMORE                     NM     35095053399
44B2B35A42B27B   YVONNE        HOLTZ                       DC     90010403504
44B2B783554151   IRENE         ARMAS                       OR     90014947835
44B2B95755137B   TRACEY        TONKOCICH                   OH     90012789575
44B3119125597B   DANNY         YNIGUEZ                     CA     90011241912
44B3123A35B222   JANET         PRICE                       KY     68010642303
44B3132348B16B   MONIQUE       CORNISH                     UT     31094583234
44B318A7691351   BRIAN         BANKS                       KS     90010728076
44B31918472B4B   AURORA        RAMIREZ                     CO     90014599184
44B31934172B4B   ERICKA        VIGIL                       CO     33085499341
44B31959972B4B   AURORA        RAMIREZ                     CO     90015139599
44B31986191569   LUZ           SANDATE                     TX     75040819861
44B32994372443   CHARLES       NUTT                        PA     90009499943
44B33178991569   BRENDA        HERRERA                     TX     75083421789
44B337A965B53B   WALTER        WORBIS                      NM     90014867096
44B34632755939   DENICE        LOZANO                      CA     49080576327
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44B3493434B271   ROBERT         BALDWIN                    NE     90013879343
44B34997391873   RODNEY         KENDRICK                   OK     21011039973
44B34A34A72B43   NANCY          GONZALEZ                   CO     33036500340
44B35431151382   JAMIE          WHITAKER                   OH     66012794311
44B3583A84B271   BRITTANY       HARRIS                     NE     90012418308
44B35994572B4B   TERESA         SOBERANIS                  CO     90013239945
44B36546351334   CLAUDIA        WALL                       OH     66040605463
44B36765A51383   CHERE          CARTER                     OH     66066937650
44B36944361941   CRAIG          HEWITT                     CA     46009039443
44B37759972B36   MARTHA         RICALDAY                   CO     90011127599
44B37826351334   ROMAN          CORBIN                     OH     90013478263
44B37887861967   CARLOS         PARRA                      CA     90014818878
44B38184161967   MARLENE        RODRIGUEZ                  CA     90012771841
44B38993951334   JOANN          HOPEWELL                   OH     90012959939
44B39431671999   SAM            REYES                      CO     38019624316
44B3943615B53B   MELODY         HERNANDEZ                  NM     35083184361
44B39627751334   MELINDA        MILLER                     OH     90014426277
44B39854985939   JOANNA         CORKWELL                   KY     66009688549
44B39881361999   MARIA          DE LA O                    CA     90011258813
44B3997134143B   RICKY          CURRY                      WI     90003889713
44B3998985B174   SHONDA         WOODS                      AR     90010429898
44B39AAA172B4B   CARLOS         RODRIGUEZ                  CO     33044630001
44B3B58412B87B   LETISHA        GALLAND                    ID     90008415841
44B3B746272B36   MARIA          MARIN AVILA                CO     90014617462
44B3B79625B58B   BERNADETTE     GABALDON                   NM     90005667962
44B3B835247954   KELLY          HANNERS                    AR     90009738352
44B4114292B27B   RICKEY         BUCHANAN                   DC     90007061429
44B41922672B36   BRAD           SIMS                       CO     33044559226
44B4222535B53B   JACOB          ZIMMERMAN                  NM     35038522253
44B4289A661963   SAMARY         VEGA LOPEZ                 CA     90010518906
44B43223972B36   MIGUEL         MEDINA                     CO     90012162239
44B43873491351   KEVIN          SMITH                      KS     90013608734
44B43A7244B271   ANDREA         DRANEY                     NE     90012790724
44B44226361963   JOSE           MANCILLA                   CA     46022752263
44B44434191527   JOSE           MACIAS                     TX     75092544341
44B45171A5B354   KRISTIN        ULTSCH                     OR     44562181710
44B45216833B77   VERLIN         MILLER                     OH     90011982168
44B45598333625   SHYELETTA      HURT                       NC     90005385983
44B4646A45B271   TAMIKA         HALL                       KY     90002934604
44B4733925B222   JENNIFER       BURKE                      KY     90011143392
44B47346991351   SARAH          THORNTON                   KS     90011833469
44B4774517B362   JOSE           RODRIGUEZ                  VA     81038207451
44B4814635B222   TONY           HUGHES                     KY     68002981463
44B48A33A5B58B   CHARLENE       CHAVEZ                     NM     90015130330
44B49536351383   MIKE           VANCE                      OH     90006495363
44B4991185B271   SHERRY         STAFFORD                   KY     90013249118
44B4B28765B52B   JESUS          GARCIA                     NM     90011252876
44B4B3A8761963   ANTONIO        HAGANS                     CA     90012893087
44B4B49A747954   JAMIE          HARMON                     AR     90011804907
44B4B63795B58B   STEPHANIE      GALLEGOS                   NM     35014556379
44B5117A45597B   BILLIE         PACE                       CA     90013471704
44B51943261967   NERY           GONZALEZ                   CA     90013059432
44B52768691351   ANGELIA        PARNEY                     MO     90012827686
44B532A3A4B271   ELICIA         MITCHELL                   NE     90011262030
44B53436791569   JOVITA         ARMENDARIZ                 TX     75047884367
44B53466172B43   MARIA ISABEL   MARQUEZ                    CO     90007854661
44B5377455B52B   ALI            SHAIK                      NM     90004957745
44B5425425B53B   GINGER         ESPINOZA                   NM     90015082542
44B54368991873   PATRICIA       LANDCASTER                 OK     90012303689
44B54627751334   MELINDA        MILLER                     OH     90014426277
44B54755372B36   KUMAR          PINKNEY                    CO     90012527553
44B55119A2B87B   HEATHER        WYNN                       ID     90014661190
44B552A7551334   JEAN           KINUANI                    OH     66032322075
44B5534A391569   LOURDES        TERAN                      TX     90013963403
44B559A2571934   KATRINA        MALDONADO                  CO     90009769025
44B5615A672B43   EUGENE         SCROGGINGS                 CO     90014461506
44B5711A991873   ANTHONY        DOWD                       OK     90001971109
44B57451251334   NICOLE         WYNN                       OH     90014864512
44B5774455B174   ANISHA         SAMS                       AR     90011137445
44B577A885B222   KIA            KNOX                       KY     90015207088
44B579A345B271   TONI           MITCHELL                   KY     68017169034
44B5833965B53B   DESIREE        MELENDEZ                   NM     35016173396
44B59119A5597B   VERONICA       ROMAN                      CA     90015231190
44B59745872443   DONNA          SHAFFER                    PA     90004677458
44B5B2A9691523   EDNA           CAZARES                    TX     90010492096
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44B5B815661963   DANIEL       MORALES                      CA     90014088156
44B6186A55B271   MARY         WILLIAMS                     KY     90013168605
44B61973A71999   DARLA        EWING                        CO     38083609730
44B6271527B426   SHAQUETTA    JACKSON                      NC     90005517152
44B62775847954   PHILLIS      BOLDRA                       AR     25069297758
44B6312315597B   CARMEN       LOPEZ                        CA     90012131231
44B63695855939   PA           VANG                         CA     90015176958
44B637A1291873   JOSE         SALAS                        OK     90013197012
44B64254772443   EVETTE       WEST                         PA     51025022547
44B64345155939   AMY          MOLINA                       CA     90011253451
44B6434735B52B   JOHNNY       GARZA                        NM     90012323473
44B64759347954   SANDRA       GAMEZ                        AR     90012837593
44B647A359373B   DANIELLA     FLUHART                      OH     90006477035
44B65391691351   PERFECTO     ARGUELLO                     KS     90015273916
44B66175A24B7B   CERVANDO     MOLINA                       VA     90001081750
44B6634485B597   JENNIFER     GONZALES                     NM     35088923448
44B66446A8B165   SHAWNDELL    SMITH                        UT     90003894460
44B67253A72443   CORNELIUS    HOFF                         PA     90009992530
44B67286191569   DANIELA      RAMOS                        TX     90012722861
44B6785392B27B   PHYLLIS      HARRIS                       DC     90012048539
44B683A195B174   TIMOTEO      FERNANDEZ                    AR     90008453019
44B68472784375   SHAWN        KAMINSKI                     SC     90008644727
44B6848245B597   JESUS        RIVAS                        NM     35046604824
44B687A185B222   DESHAUN      ALLMON                       KY     68091117018
44B6945A551336   EBONY        LASTER                       OH     90006814505
44B6979655B271   ERNESTO      CAMPERO                      KY     68092057965
44B6985965B52B   DESSIREY     CORDOVA                      NM     90012668596
44B69A2A12B27B   SHONTE       TATE                         DC     90008800201
44B6B234561963   PATRICK      FALLON                       CA     90013852345
44B6B414A5B52B   FREDDY       OSORIO                       NM     90009384140
44B71382181656   PHILL        ANCONA                       MO     29052953821
44B71533572B43   EDUARDO      RAMOS                        CO     33000875335
44B7159A55B526   CLAUDIA      TRUJILLO                     NM     90011285905
44B71984691569   MAGDALENA    MARRUFO                      TX     90008049846
44B7217AA2B27B   ZAHIRUDDIN   ASAD                         DC     81073701700
44B72417372B4B   SANTIAGO     BONILLA                      CO     90013434173
44B7252995597B   ADOLFO       MENDOZA                      CA     90013105299
44B7263775B53B   SHAWN        HICKS                        NM     90011916377
44B728A4191523   ALEJANDRO    OROPEZA                      TX     75055798041
44B73749372B36   BERNARDA     MIRAMONTES                   CO     33084277493
44B7389A572B43   GUSTAVO      MARTINEZ                     CO     90015478905
44B74158471231   MICHAEL      COULSTON                     IA     90006881584
44B74395672B43   JESUS        RIVERA NAVA                  CO     90008613956
44B7534782B87B   ASHLEY       DAILY                        ID     90009783478
44B75563672443   RHONDA       HATFIELD                     PA     51025595636
44B75941A7B386   ANTOINE      GARRETT                      VA     81026389410
44B76356791523   GILBERT      MENDOZA                      TX     75025873567
44B7671A341454   TOMMY        LABOY                        WI     90015617103
44B76926A5B526   ANGELA       LUNA                         NM     90013149260
44B7736385B375   LESLIE       ROBBINS                      OR     90007653638
44B77A2378B165   JAMES        HOFHEINS                     UT     90005710237
44B7821585B597   FELICIA      LOPEZ                        NM     35022552158
44B79171491873   ROBERT       PHILLIPS                     OK     21024731714
44B7983179152B   ARMANDO      ROSALES                      TX     75018118317
44B7993715B53B   LEAH         LAWRNCE                      NM     90014889371
44B79992855939   MARK         BARRON                       CA     90012759928
44B7B24115B597   DOLORES      VAZQUEZ                      NM     90013812411
44B7B412761967   PETER        INGRAM                       CA     90001894127
44B7B83535B597   DOLORES      VASQUEZ                      NM     90011808353
44B81183991569   HUMBERTO     ZAMBRANO                     TX     75092961839
44B8144595B222   BRITTANY     HARDY                        KY     90011604459
44B81A3795B58B   TERESA       LOPEZ                        NM     90013710379
44B82314A91873   DANIELLE     LEACH                        OK     21080733140
44B82716391569   NORMA        RODRIGUEZ                    TX     90012527163
44B82A49861967   MARK         DELACY                       CA     46016010498
44B82AAAA5B271   BOBBIE       CAHILL                       KY     90012220000
44B832AA35B174   MARK         MONK                         AR     90010652003
44B83A83972443   COLIBIA      PRINKEY                      PA     90009490839
44B84212255939   DANIEL       VALLEGAS                     CA     49001322122
44B84232791523   MARCO        ALVARADO                     TX     90010492327
44B85338991523   DALIA        CASTILLO                     TX     75055803389
44B855A185B271   NICOLAS      VASQUEZ GOMEZ                KY     90007605018
44B85A76861963   JOCELYN      RIVERA                       CA     90012910768
44B86261255939   STEPHEN      ARZOLA                       CA     90011262612
44B86267691523   LORRIE       ZEPEDA                       TX     75055802676
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44B86413851334   SOTHY        PRIM                         OH     90000614138
44B8655612B87B   ROD          ROBINS                       ID     41052265561
44B86651672443   SUZETTE      HOUGH                        PA     90014846516
44B86836191351   ROSA         GALLARDO                     KS     29088908361
44B872A4772B36   ANATOLIO     BAHENA                       CO     33056852047
44B8741465B271   JAMILYA      MILLER                       KY     68040724146
44B87588872B43   MISTY        CASILLAS                     CO     90010565888
44B8854A58B121   TJ           WOODD                        UT     90008915405
44B88762A7B453   ISMAEL       GUATEMALTECA                 NC     90011237620
44B88A3AA8B16B   CALVIN       MEAD                         UT     31061710300
44B89921691873   SERGIO       PULGARIN                     OK     90015089216
44B8BAA4155939   RAYMOND      FILLPOT                      CA     49028120041
44B9128952B27B   ABBY         RICHARDSON                   DC     90012372895
44B91743A91569   CECILIA      CASTRO                       TX     90010167430
44B91799255939   JOSHUA       AVILA                        CA     90014477992
44B92331A5B597   BARBARA      MONTOYA                      NM     35068793310
44B9284A75B271   JUDY         GOBER                        KY     90015118407
44B93131A51334   LASHELL      DAVIS                        OH     90010291310
44B9318A272443   CARL         SELINGER                     PA     51006011802
44B93852972B4B   STEPHEN      RONQUILLO                    CO     33046998529
44B93863371934   JEFF         MABRY                        CO     90007268633
44B93869761963   AMANDA       SOKIMI                       CA     90013968697
44B9391698B16B   SHELISE      MARTINEZ                     UT     31027089169
44B941AA972B36   DAVID        TOTH                         CO     33032761009
44B942A955B271   TIERICKA     CARNEY                       KY     90011592095
44B95399891569   JOSE         MORALES                      TX     75040873998
44B95539972443   SHAWN        WALSKEY                      PA     90008925399
44B95712491351   BUBBS        BECERA                       KS     90004047124
44B96248961963   MARIO        RAMIREZ                      CA     90014872489
44B96489561967   DANNY        HACELTON                     CA     90014314895
44B96581672443   ROBIN        TAYLOR                       PA     90012535816
44B96758955939   RODOLIO      OROZCO                       CA     49061767589
44B974A5855939   RODRIGO      RIOS                         CA     90013354058
44B97737991569   JORGE        ACOSTA                       TX     90013637379
44B9775669152B   SAMANTHA     TEJEDA                       TX     90009497566
44B9786865B174   LEOPOLDO     VAZQUEZ                      AR     23002038686
44B9823A28B16B   MILTON       NEFF                         UT     31004942302
44B99436A91523   CARMEN       VARELA                       TX     75096834360
44B9956652B87B   DAVID        SHEAHAN                      ID     90013395665
44B99755A2B87B   CASSANDRA    MONROE                       ID     90011087550
44B99844533625   JAMES        MULDOWNEY                    NC     90005988445
44B9995825597B   KATTY        GARCIA                       CA     49031199582
44B99961672B4B   CHARLENE     C ABEYTA                     CO     90014569616
44B9B783491523   ALEJANDRO    VASQUEZ                      TX     90007887834
44B9BA1455B58B   JOEL         CHAVEZ                       NM     35073790145
44BB1143672B47   SANDRA       VARGAS                       CO     90012721436
44BB1658947954   ANDRES       GONZALEZ                     AR     90002836589
44BB1975491523   ROBERT       MACIAS                       TX     90010059754
44BB2142672B43   CARLOS       HERNANDEZ                    CO     33077051426
44BB236585B222   OSCAR        PENA                         KY     90010223658
44BB265582B87B   JACK         MVOCK                        ID     90010686558
44BB323894B52B   TRACY        SIMMONS                      OK     90005172389
44BB32A884B271   CKYSTALENA   KAUT                         NE     90009402088
44BB3762191523   MIA          BARRERA                      TX     90009707621
44BB379825B271   DETRICK      HATCHER                      KY     90010807982
44BB454A693725   DUANE        TSCHANEN                     OH     64575125406
44BB458A391547   JESUS        GONZALES                     NM     75069885803
44BB47A242B27B   KADIJA A     WHITE                        DC     90013227024
44BB4A78751336   LEANNE       MOORE                        OH     90011050787
44BB516955B52B   OLIVIA       TORRES-MERAZ                 NM     36095741695
44BB5183A5B53B   INA          APACHE                       NM     90015041830
44BB615595B58B   KISHAN       RENNICK                      NM     90013681559
44BB6419A8B155   MARISOL      CARDENAS                     UT     90009454190
44BB691227B824   ALICIA M     JACKSON                      IL     90011339122
44BB716985B58B   ARNULFO      VILLALOBOS                   NM     90007371698
44BB7418572B43   STACEY       GONZALEZ                     CO     90010034185
44BB796A92B27B   JOSE         P0NCE                        DC     81060579609
44BB8155471934   JORGE        FIGUEROA                     CO     90011671554
44BB81A1972443   JOHNNY       WEAVERLING                   PA     90013081019
44BB8645461963   MAYRA        HERNANDEZ                    CA     90011886454
44BB899715B222   SARAH        WILLIAMSON                   KY     68045789971
44BB9564857124   JUAN         LOPEZ                        VA     90010045648
44BB9867593747   KEVIN        KEMPER                       OH     90009728675
44BBB56523B351   MIKE         DAGNER                       CO     33011935652
44BBB596572443   MARY         ISLER                        PA     90002765965
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44BBB717A4B271   CHELSIE      WRIGHT                       IA     90008657170
45112183A5597B   NATALIE      SANTOS                       CA     90010631830
451122A6172B4B   ARAMINTA     JOHNSON                      CO     33077612061
45112A68147954   DANIEL       SANCHEZ                      AR     90013800681
4511324235B53B   ERIKA        VALDEZ                       NM     90014052423
4511326934B271   REBECCA      KUHN                         NE     90009492693
45113381A91988   ERIKA        MOORE                        NC     90007183810
45113A3712B27B   ALEXUS       COLE                         DC     90000800371
4511429985B222   DOUGIE       HIBBS                        KY     90014842998
45115589672B36   JUAN         GONZALES                     CO     33004455896
45116382472B3B   MARGARET     ASCENCIO-PADILLA             CO     90013023824
4511691AA5597B   TARELL       JACKSON                      CA     90012489100
4511929AA5B52B   MARTHA       ARAUJO                       NM     90007722900
451194A5772B36   THOMAS       GORDON                       CO     90008764057
4511964855B222   JAMES        TENNYSON                     KY     90010146485
45119A3175B174   KIMBERLY     BRITT                        AR     90008840317
4511B439455939   HELRODORA    GUZ                          CA     49094364394
451217A178B165   TYLER        RIGGINS                      UT     90000597017
45122139872B4B   MARIE        LANG                         CO     90012901398
4512236A291523   BERNABE      GONZALEZ                     TX     75055853602
4512288915599B   LINDA R      LOPEZ                        CA     48005088891
4512298638B355   PAYGO        IVR ACTIVATION               SC     90006289863
451235A7861963   WONDA        TRAVIS                       CA     46012635078
4512415992B87B   KIMBERLY     DOWNEY                       ID     90008701599
4512482A55B53B   CRYSTAL      CAMPOS                       NM     90014758205
45125128772B43   AMBER        KELLY                        CO     90014521287
45125585A91872   BRYAN        KENDALL                      OK     90013685850
451256A2A72B3B   DESTONI      CHAVEZ                       CO     90014816020
4512571A68B355   LETICIA      VALENCIA                     SC     90002457106
4512576344B271   SHAWN        DELOA                        NE     27048017634
45126164772B3B   SHANICE      DAVIS                        CO     90013281647
45126175A5597B   BRYAN        MACQUARRIE                   CA     90009541750
45127288472B43   PHIKUN       TONGREW & SORAWET            CO     33096752884
4512754A55B222   MIKE         NAVERRETTE                   KY     90013225405
45127A27491569   GARY         PEARSON                      TX     90013800274
45127A8265B174   MAYA         NATION                       AR     90015060826
451281A9791569   DELIA        DUARTE                       TX     90015121097
4512868172B27B   VERONICA     GRAYVITT                     DC     81033286817
45128AA415599B   LEANNA       GONZALES                     CA     49003640041
4512962432B27B   RICK         INGRAM                       DC     90013996243
4513122114B271   CHARLES      GANNON                       NE     27014832211
4513174875B52B   DEREK        BROWN                        NM     90008777487
45131A6778B165   TONI         MORROW                       UT     90008960677
4513257A655939   SUSANA       HERNANDEZ                    CA     49050375706
4513313865597B   LILIANA      NAVARRO                      CA     90012911386
45133384A5B58B   JESSICA      NUNEZ                        NM     90014833840
45133496872B36   MICHAEL      SARNO                        CO     90014774968
45133691A72B4B   ANTONIO      MALDONADO                    CO     33016796910
4513453A855939   BERENICE     ESPARZA                      CA     90010865308
451351A7372B3B   ROBERT       ARMSTRONG                    CO     90001681073
4513521257B386   CESAR        MONTANO                      VA     81067032125
451352A475597B   MADISON      MANGRUM                      CA     90012782047
4513577745B52B   IDALIA       CHACON                       NM     90000627774
45135829A91873   DARIN        MCCLAIN                      OK     21074808290
4513599182B27B   BRIAN        HOLMES                       DC     90013979918
45137299A91873   SUSAN        CALLOWAY                     OK     90007132990
45137777572B36   RODNEY       MARTINEZ                     CO     33078817775
45138386A5B174   CORNELIUS    DANIELS                      AR     90010533860
4513846277122B   DANIELLE     BLISS                        IA     90013954627
45138A37855939   FRANCIS      MONNIS                       CA     90002280378
4513952A75597B   HOUA         YANG                         CA     49060585207
45139554972B4B   SHAWN        AGRESTO                      CO     33003545549
4513B124272B43   KIM          OLSON                        CO     90012311242
4513B143491523   CLAUDIA      PEREZ                        TX     90007061434
4513B846872B36   SUTTON       SEAN                         CO     33067108468
4514253134B271   DELANEY      VANLANGEN                    NE     27069805313
45142719172B43   ROBYN        DENZMORE                     CO     33078547191
45142A1925B222   JEROM        CRAWFORD                     KY     90007280192
45143132972B24   JOSIE        VONDRA SMITH                 CO     90010641329
45143387772B3B   BRYAN        WILLIAMS                     CO     90013023877
451439A918B355   MERCED       CONTRERAS                    SC     11033669091
45143AA332B27B   JOEL         TAYLOR                       DC     90011250033
4514562492B27B   DAVID        ORNELAS                      VA     90015166249
451456A265B58B   JESSE        SANCHEZ                      NM     35038336026
4514598715B53B   JOSE         HERNANDEZ                    NM     90010809871
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451461A7A91523   ALFONSO          SALINAS                  TX     75070611070
4514626277B262   ALEXUS           LAY                      NV     90012482627
45146615A5B174   ANGEL            HICKS                    AR     90013686150
451468A5372B25   ADRIENNE         BARTLEY                  CO     90012278053
45147285372B43   FELICE           FRANCO                   CO     33059502853
45147294A72B3B   VERONICA         MARTINEZ                 CO     90010542940
4514737818B355   YURINA           SANTOS                   SC     90012623781
4514738625B222   DODDA            DON                      KY     90012633862
4514784475B222   TYRONE           ACKLIN                   KY     68049418447
45147A57431456   IVORY            THOMAS                   MO     90009070574
4514817335597B   CHUE             THAO                     CA     90014881733
4514832845B53B   SEFERINO         JOJOLA                   NM     90015113284
451486A345597B   MARIA            ARROYO                   CA     49008876034
451487A8A5B174   MONIQUE          MAXWELL                  AR     90014727080
4514935415B222   WILLIE           BRADFORD                 KY     68095503541
45149876472B36   GABRIEL          MARTINEZ                 CO     33020568764
4514995A972B4B   TRACY            PHILLIPS                 CO     90012299509
45149A84483B48   RICHARD          LAUGHLIN                 TX     90011860844
4514B255772B36   BRITTANY MARIE   PACHECO                  CO     90013312557
4514B83378B16B   JUSTIN           HAMILTON                 UT     90004838337
4514B94838B165   CALLIE           PETERSON                 UT     90004129483
45151557A5B222   GARY             NALL                     KY     90014425570
4515162752B87B   MIRANDA          SEIG                     ID     41043946275
45151A2825B222   GARY             NALL                     KY     90011980282
45153365772B4B   EDWARD           JONES                    CO     33018863657
45153A2A691569   SEAN             SANCHEZ                  TX     90011550206
4515455315B174   GREGORY B        WALZ                     AR     23096425531
4515471A972B3B   AUDREY           TORREZ                   CO     33041667109
45155526372B43   ISRAEL           692MARTINEZ69            CO     33076435263
4515681885B58B   MICHAEL          BACA                     NM     35038068188
451569A1581639   DANA             OKELUE                   MO     29041279015
45156A5A372B43   JENNIFER         HAHN                     CO     33079610503
4515758775B52B   ROSA             LEON                     NM     36076415877
4515781974B271   LISA             MORENO                   NE     27059068197
4515816888B16B   SKYY             BALDERAZ                 UT     90014811688
4515819765B174   COREY            BAILEY                   AR     23092061976
4515852155B52B   HENERO           SANTOS                   NM     36013265215
45159951372B36   MARIE            TAFOYA                   CO     90011009513
4515B245772B43   ADELINA          HERMOSILLO               CO     33032252457
4516161A172B36   SUZANNA          MOTA                     CO     33034776101
45162A39372B3B   MARIA            SIBRIAN                  CO     33038180393
45163238A91873   TONY             MULLINS                  OK     21012642380
4516491185B58B   JOHN             SANDOVAL                 NM     90011309118
4516526845B222   OTIS             HENSLEY                  KY     90015152684
4516536795B551   JOSE             CAMPOS-CONTRERAS         NM     90012173679
4516587668B165   MADELYN          AUSTIN                   UT     31000658766
4516633325B174   AZUREE           COURTNEY                 AR     90014373332
4516634288B16B   ANDRES           PEREZ                    UT     90013673428
45166835372B36   SARA             MARU                     CO     90012918353
4516686745B53B   LINDA            CHAVEZ                   NM     35027718674
4516757A655939   SUSANA           HERNANDEZ                CA     49050375706
4516842A261963   MIKE             CABRERA                  CA     90008844202
45168898A3163B   TONYA            HERREN                   KS     22017188980
45169442472B36   BOBBY            BONNER                   CO     90013064424
4516969366195B   JOANNA           STRAUSS                  CA     90002556936
4516B158572B3B   CHRISTOPHER      BUSTOS                   CO     90013031585
4516B1A6191569   FORTUNATO        GUERRERO                 TX     75006331061
4516B36278B355   WAYNE            CARDONA DE LEON          SC     90015263627
4516B499572B36   JOSEPH           ELDER                    CO     90012524995
4517192A72B84B   ALONZO           MOLINA                   ID     90015349207
451722AA398B25   GIANCARLO        MORI                     NC     90004332003
45172537A72B36   ROBERTO          RODRIQUEZ                CO     90010245370
4517323855B222   CHRIS            CARPENTER                KY     90015132385
45173964A91569   ANTIONE          SMITH                    TX     90013819640
4517425568B16B   ROBERT           ANDERSON                 UT     31086152556
4517431898B355   ARTHUR           HOOD                     SC     90014943189
4517491725B58B   DAVID            ARCHULETA                NM     90011309172
45174AA1172B3B   PAUL             MARTINEZ                 CO     33063720011
45174AA257B463   ORLANDO          LOPEZ                    NC     90003750025
45175232272B38   ADOLFO           GRISANTI                 CO     90004342322
4517568A75B249   BRANDY           STANGE                   KY     90004686807
4517575552B27B   DENISE           DAVIS                    VA     81038787555
4517597795B222   KAYLEN           LEE                      KY     90009549779
4517615455B174   DONQUETTA        SUTTON                   AR     90010971545
451764A835597B   LINDA            MORALES                  CA     90013724083
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4517794985B174   SHANIKA L    SMITH                        AR     90014489498
45177A7315B222   JONATHAN     BROWDER                      KY     68046120731
451784A578B355   JONEISHA     BARBER                       SC     90012934057
45178818487B79   SHAJUANI     KENNEDY                      AR     90009298184
4517935485B58B   ERIC         PICKETT                      NM     90003013548
45179A44151334   TRAVIS       WILSON                       OH     66041770441
4517B584891988   RAQUEL       VILLEDA RESENDIZ             NC     90013615848
4517BA1245B58B   NATHAN       KROEKER                      NM     90013400124
4517BA24261963   GINESSA      REYES                        CA     90010850242
4518121544B569   JOSHUA       MARTIN                       OK     90011252154
4518124278B16B   SHERYL       CULSTEN                      UT     31044722427
45181846772B36   JOEL         ORTEGA                       CO     33021808467
4518243A74B95B   STEVEN       WILSON                       TX     76507554307
4518344747B824   ARTURO       SOSA                         IL     90015514474
45183597A72B36   SUBIA        SALVADOR                     CO     33094965970
4518386625B52B   ELIZABETH    RODRIGUEZ                    NM     90010438662
4518394915B53B   SASHA        BEGAY                        NM     90009669491
4518431AA93769   DAVID        BARNS                        OH     64563083100
4518437475B53B   DANIELLE     TRUJILLO                     NM     90002763747
4518482AA91394   ILDEFONSO    AMAYA                        KS     29019138200
4518576182B87B   AMY          HOWERTON                     ID     90014427618
45186789172B36   MICHAEL      LEE RICHARDS                 CO     33092557891
4518688A472B43   TIMOTHY      CURRY                        CO     90012098804
451873A7772B3B   CRAIG        CHAPMAN                      CO     90010543077
451875A9991328   LAURA        GALAVEZ                      KS     90011035099
45187A43261963   LOURDES      SOLIS                        CA     90002760432
45187A8245597B   GONZALO      SANCHEZ                      CA     90006450824
4518842A38B355   JELISHA      HYATT                        SC     90010274203
451884A9161963   IVAN         ZARATE                       CA     90005554091
4518885A572B3B   CHRISTINA    MENDOZA                      CO     33014738505
4518938578B16B   MONIQUE      HOWELL                       UT     90010313857
4518B13A191394   ELMA         FRANCO                       KS     90007121301
4518B859A72B43   REBECCA      ANDRADA                      CO     90013088590
4519277855597B   MIREYA       REYES                        CA     90013277785
4519348537B331   KAZZERINE    VARGAS                       VA     90014674853
45193657772B3B   ALMA         LOPEZ                        CO     33050096577
45193A44951334   BRIAN        COTTON                       OH     90012600449
4519421262B834   JEFFERY      ROSENDIN                     ID     42087242126
4519448625B174   DESHAWN      MURPHY                       AR     23050854862
45196419772B3B   MOISES       MIRAFLORES                   CO     33094644197
4519653A64B271   JAMES        CRUZ                         NE     90013215306
4519673A371999   MIGUEL       MEAS                         CO     90009497303
4519674265B58B   FRANK        SISNEROS                     NM     90013977426
4519677378B355   TYESHA       TRUESDALE                    SC     90012037737
4519695495B299   KENY         DIXON                        KY     90015179549
45197631372B3B   JOSEPH       MARES                        CO     33009886313
45199116572B36   MAYRA        IBETTE                       CO     33017371165
4519983A555939   ALFONSO      MACIAS MERCADO               CA     90001358305
4519997734B271   JULIA        RAMIREZ                      NE     90014479773
451999AA891988   SHALONDA     WARD                         NC     17084519008
4519B788531243   ARTURO       GARCIA                       IL     90013737885
4519B99478B165   WALTER       SAGUACHI                     UT     90006279947
451B136182B879   RENEE        PHILLIPS                     ID     90003683618
451B1643472B43   LEROY        GARCIA                       CO     33031186434
451B1657691569   DOLORES      VALDEZ                       TX     75019986576
451B217884B271   JOSEPH       PETERS                       IA     90013871788
451B2511155999   EDELMIRA     AMEZCUA                      CA     49040765111
451B2A43791873   BRETTAN      HOULDIN                      OK     90011610437
451B2A6615B52B   MIREYA       CASTILLO                     NM     90011520661
451B313858B355   YANET        LOPEZ                        SC     90014171385
451B4268A4B271   SEYDOU       COULIBALY                    NE     90012422680
451B4699491523   MARTHA       AYALA                        TX     75012176994
451B4738991569   CESAR        GONZALEZ                     TX     90010217389
451B4821672B4B   ANTHONY      MAGANA                       CO     90011188216
451B485515B55B   VERONICA     ARANDA-VASQUEZ               NM     90011158551
451B491212B87B   MELISSA      BROSSARD                     ID     41017909121
451B519A62B27B   AUZURE       BULLOCK                      DC     90013061906
451B538738B355   CAPRI        JHONSON                      SC     90014023873
451B5865991873   EBONY        SHAW                         OK     90012588659
451B5879272B4B   LEEZA        MARTINEZ                     CO     90015218792
451B5946772B43   NICHOLAS     GANN                         CO     90001039467
451B5A66477543   HANNAH       SITZE                        NV     90001320664
451B6222433B77   KARRIE       MALONE                       OH     90011982224
451B6684A5B174   ANGELA       MORENO                       AR     90013006840
451B6748A5597B   ERIC         RIGHTMEIER                   CA     49002567480
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451B691185B58B   JOHN         SANDOVAL                     NM     90011309118
451B7116972B36   ROSA         ROGEL                        CO     90008431169
451B749A761963   GRISELDA     CADENAS                      CA     46068124907
451B758AA72B3B   EDWARD       GONZALES                     CO     90013895800
451B838767325B   ALEXANDRIA   MORANO                       NJ     90014203876
451B848A781665   SHAD'E       HILL                         MO     29009504807
451B8951191992   MISAEL       TOBAR                        NC     90005289511
451B9382A72B3B   JENNIFER     ZUBIA                        CO     90013023820
451B9468872B3B   AMANDA       MENDOZA                      CO     90013934688
451B989484B271   MARYANN      AKERS                        IA     27043468948
451B9927691569   STEPHANIE    RAMOS                        TX     90002369276
451B993835B53B   ALEXANDRA    BLACKSTOCK                   NM     90009349383
451B996738B165   MENDEZ       RAUL                         UT     31065889673
451BB12A872B36   BRENDA       MCCLELLAN                    CO     33032641208
451BB31735B53B   CALANDRA     CONEY                        NM     90010943173
451BB374372B3B   NELDA        AGUIRRE                      CO     90013023743
451BB3A634B221   ODOMS        JOSEPH                       NE     27006823063
451BB74774B271   RAFAEL       GARCIA                       NE     90013567477
451BBA6288B355   MABEL        BAXTER                       SC     90012580628
45211171872B36   DAMON        REYNOLDS                     CO     90012741718
4521162728B183   KOREE        BERNAL                       UT     31039026272
4521223322B87B   JOHN         YEARSLEY                     ID     90004552332
45212A58472B3B   JENNIFER     ROUSH                        CO     90011940584
452131A1991569   CLAUDIA      VAZQUEZ                      TX     75087171019
45213A11561963   SHANNON      PORTER                       CA     90015070115
45214271372B3B   ARIANA       GOMEZ                        CO     90013842713
4521473345597B   NORMA        BARAJAS                      CA     90006137334
45214A46551334   NEAL         WRIGHT                       OH     90012490465
4521561668B16B   MCEWEN       JAMES                        UT     31003336166
45215A8965597B   MARY         JASSO                        CA     90014850896
4521665965B55B   AGUSTIN      VALADEZ                      NM     90009596596
45217314A71999   JOSEPHINE    ERAGON                       CO     90010973140
45217763972B3B   MICHELE      VIGIL                        CO     33072497639
45217835172B22   KEITH        DEMPSEY                      CO     33021588351
452181A415597B   ANDRES       FRAGA                        CA     90010781041
452183A6651334   IRENE        SHANK-EVANS                  OH     66028293066
4521917A57B394   RONALDO      MEDINA                       VA     81034321705
4521981278B16B   TRINA        WILLIAMS                     UT     90012148127
45219A58991988   JAMIE        SPRUILL                      NC     90014930589
4521B31A59152B   WILFREDO     TORRES                       TX     75084623105
4521B364991873   SARA         ARZU                         OK     21011363649
452216A895597B   DOLORES      SOLIS                        CA     49084026089
45221A16731491   MEGHANN      LAMPKIN                      MO     90001960167
452223A6247954   LEONIDAS     ALVARADO                     AR     25011963062
45224199872B36   MICHELLE     MORALAS                      CO     90008121998
45224422A5B58B   PAYGO        IVR ACTIVATION               NM     90010824220
4522461212B87B   MELANNE      JOHNSON                      ID     41081836121
45225419872B36   MARTIN       FLOREZ                       CO     90011654198
45226971572B36   JESSICA      URQUIDEZ                     CO     33006109715
45226A11561963   ELIZABETH    MONTES                       CA     90012890115
4522717335597B   CHUE         THAO                         CA     90014881733
45227464772B23   BEVERLY      SUAZO                        CO     33016184647
452274AAA47828   RODERICK     CORNELIUS                    GA     90013334000
4522765349155B   HUNTER       QUARTERMANE                  TX     90012056534
45227928A5B174   KENT         THOMAS                       AR     23041129280
4522797A75B53B   LOUISA       BURSON                       NM     90004169707
45227A53A72B43   ARON         STRODE                       CO     90011090530
4522818375B222   AMANDA N     DUDLEY                       KY     90003861837
4522854265B174   LADARA       WILLAMS                      AR     90011085426
4522862413B399   STEFHANIE    YBARRA                       CO     90007386241
4522893325B174   ROCHELLE     WHITLEY                      AR     90014619332
45229384A5B58B   JESSICA      NUNEZ                        NM     90014833840
452297AA76197B   EDUARDO      ANDRADE                      CA     46023247007
45229A1875B174   KELANDA      WILLIAMS                     AR     90012080187
4523112765597B   VALERIE      ESCOBEDO                     CA     90014871276
452313AA391394   GUADALUPE    SANCHEZ                      KS     90007153003
45231A15A91873   KIM          AGENT                        OK     21094700150
4523263A75597B   TINA         MURKOWSKI                    CA     49013676307
4523449568B355   CHRISTIAN    PORTER                       SC     90013334956
4523595A58B16B   CARLOS       MARTINEZ                     UT     31097799505
45236139472B4B   DAVID        MEDINA                       CO     90009451394
45236677772B43   CLAUDIA      GARCIA                       CO     90006326777
452371A6247954   LISA         SELF                         AR     90012191062
452378A3491873   TAWANA       ROQUE                        OK     90008898034
45238A41972B36   JON          BANNISTER                    CO     90013610419
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45238A89572B4B   JOSH          ALLDREDGE                   CO     33050930895
45238AA7961927   MANUEL        VARGAS                      CA     46079320079
45239481A91988   JEFFREY       PERRY                       NC     17066304810
45239517372B3B   RAMON         HERNANDEZ                   CO     33016445173
4523986475B222   CHIQUITA      SNEED                       KY     90006168647
4523989A22B87B   RICHARD       HULBERT                     ID     41049158902
45241913372B43   BECCA         DUDLEY                      CO     90014779133
4524299748B16B   BRITTNEY      TIDWELL                     UT     90010359974
4524323618B16B   MARK          LAFEBRE                     UT     90012702361
4524533AA8B16B   SHEIISA       MARTIN                      UT     90002473300
45245A16391569   CHRISTINA     VILLEGAS                    TX     90014910163
45246285A61967   JORGE         LOPEZ                       CA     90011842850
45246568972B3B   JUAN          CARLOS                      CO     33053795689
4524671A891569   ERIC          SAUCEDO                     TX     75038987108
4524694A62B87B   TYLER         WEHOLT                      ID     90012689406
45247349672B43   MARIA         HOLGUIN                     CO     90010433496
4524848145598B   JOSE          COVARRUBIAS                 CA     48009174814
45249395A4B271   JOHANN        JOHNSON                     NE     90013693950
4524B36795B53B   REBEKAH       CHAVEZ                      NM     90013983679
4524B474A2B27B   CHRISTINE     SIMMS                       DC     90009944740
4525123A472B36   LUCAS         FERNANDEZ                   CO     33048712304
4525153268B165   ROB           LAMBORS                     UT     31002075326
45251572172B43   NANETTE       DAWSON                      CO     33037695721
4525331765B222   WENDY         TIMBERLAKE                  KY     90005373176
4525396274B271   STEVEN        CISNEY                      NE     27094549627
45254863A47954   GEOGRIA       MCWILLAMS                   AR     90009148630
45254875A55999   GODOFREDO     AGUILAR                     CA     90001218750
45256188A5B174   NIKKI         NEELY                       AR     90014551880
4525626115597B   DEBRA         THOMSON                     CA     49092492611
45256A41191569   MARIO         YANEZ                       TX     90002460411
45257256272B3B   GRACIANO      PEÑA                        CO     33037952562
4525736329376B   ROBYN         PAULIN                      OH     90005383632
452575A555597B   ROSARIO       GALLEGOS                    CA     90003245055
4525826995B222   CHANDRA       GAINES                      KY     90008332699
4525839625597B   PEDRO         RANGLE                      CA     90012763962
45258468A5B52B   SHANTEL       VALDEZ                      NM     90012434680
45258474A5B58B   KATHRYN       DURANTE                     NM     90010684740
452596A1271999   VICTORIA      ALBO                        CO     90013176012
4525B141791873   CASSANDRA     CATES                       OK     90012941417
4525B15A591988   RAFAEL        VALDEZ                      NC     90009591505
4525B89275B58B   FERNANDO      TERRAZA                     NM     35029048927
4525B95528B16B   SHARELLE      PARKER                      UT     90009539552
4526115735B222   EARLE         WADLINGTON                  KY     90002901573
4526189238B165   STEVEN        CARRILLO                    UT     31016128923
45261A18772B3B   NICOLE        CAMPOS                      CO     33032030187
4526217513B12B   TIMOTHY       KING                        DC     90008301751
4526258A572B36   AMERICA       POZAS-MONTALVO              CO     33055025805
452626A958B16B   BEVERLY       DURAN                       UT     90008366095
4526275872B87B   JEREMY        NIESCHULZ                   ID     90014157587
452631A1347954   FRANCISCO     LULE                        AR     90015561013
45263255A5B174   ROSA          HERNANDEZ                   AR     90013242550
4526383972B27B   SHANDA        WASHINGTON                  DC     81008908397
4526415455597B   VICTOR        GARCIA                      CA     90014871545
45265791A5B174   JEFFERY       THOMPSON                    AR     23072617910
45265A25891569   HECTOR        CARRANZA                    TX     90014330258
45266355772B36   KIMBERLY      SCADDEN                     CO     33054773557
4526681542B87B   MARGARET      ANKNEY                      ID     90000688154
45266A2A855947   JOHN          MOREN                       CA     90005860208
45267114572B43   MIKE          BACA                        CO     90013481145
452673A7872B4B   JENNIFER      ROSE                        CO     90012043078
45267782772B4B   LARISSA       VILLARREAL                  CO     90015067827
4526825875B222   BIANCA        NORRIS                      KY     90012012587
4526884235B58B   JOSE          LARA-ESPINOZA               NM     90002138423
4526885255B52B   MARICELA      RIOS                        NM     90001658525
452688A1957122   LESLEY        BOURNE                      VA     90002188019
4526899445B254   BRITTANI      HART                        KY     68091859944
45268A4A25B58B   MARIA         FLORES                      NM     90015130402
4526B5A8355969   JOSE          MARTINEZ                    CA     90001305083
4526B996A5B222   TEJ           RAI                         KY     90015009960
4527199235B58B   MARYFRANCES   PONCE                       NM     90014409923
4527351A251334   KAREN         GRIMES                      OH     90000445102
45273761A61963   LORENA        SIGALA                      CA     90011347610
45273999A2B27B   CAROL         PORTER                      DC     90010019990
4527467895B53B   GILBERT       TORRES                      NM     35075176789
4527495998B16B   BOB           SANT                        UT     90010309599
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4527515755597B   DANNY         YARBROUGH                   CA     90014871575
4527561A89126B   TONIA         HURST                       GA     90001146108
45275A2A591873   MARIA         GILLISPIE                   OK     21012770205
45275A51272B43   JOHN          GWYNN                       CO     90015130512
45277111672B3B   CHAU          TRUONG                      CO     90014161116
4527728832B27B   STEPHANIE     JAMISON                     DC     90012022883
452772A9772B43   BRYON         ALBERTY                     CO     33005442097
4527844455B58B   RA            YUN                         NM     90012184445
45278761572B4B   THOMAS        SHIRLEY                     CO     90012947615
45278A96772B3B   HILLARY       ROHAN                       CO     33049800967
4527916642B27B   MOISES        BONILLA                     VA     90013961664
4527918555597B   CYNTHIA       VANG                        CA     90014881855
45279918A2B27B   JOSE          HERNANDEZ                   DC     90012269180
4527B11894B531   GUILLERMO     GOMEZ                       OK     90009791189
4527B48115B53B   BRENDA        LABRADO                     NM     90014134811
45281635772B3B   ALBERS        CHRISTOPHER                 CO     33059166357
45282146772B3B   CATHERINE     HOLGUIN                     CO     90014121467
4528215475B58B   LETICIA       MENDOZA-ORTEGA              NM     35092231547
45282A23A61963   MILA          BALACDAO                    CA     90015260230
45282A26155939   RHAE          CRAVINS                     CA     90008940261
45283296972B3B   HECTOR        LOPEZ                       CO     33024752969
45283574A5B52B   CRYSTAL       ROMERO                      NM     36072835740
452836A2171999   KRISTIN       LUJAN                       CO     90010976021
45284A69A33662   DONALD        LANE                        NC     90013960690
452856A2171999   KRISTIN       LUJAN                       CO     90010976021
4528611895B52B   CEFERINO      CARDONA                     NM     90009681189
4528639755B58B   ERIC          ROJANO                      NM     90014763975
4528643A354B31   ERIK          GREGORY                     VA     90007194303
4528655635B174   ERICA         RADFORD                     AR     90014065563
4528749698B16B   ROBERT        BOWERBANK                   UT     90006314969
4528831A372B3B   KRISTI        BISHOP                      CO     33022813103
4528853525B58B   STEPHANIE     SMITH                       NM     90011905352
45289377872B43   EVA           ARRIAGA                     CO     33013213778
4528963A271999   SANDRA        WHITE                       CO     90010976302
45289687172B4B   ABDI          MOHAMED                     CO     90009256871
452896A972B27B   MARTHA        VASQUEZ                     DC     90013926097
4529181762B27B   DAMOND        THOMAS                      DC     81019878176
45291957972B4B   RAMIRO        DE LA TORRE                 CO     90011979579
45291A2275B58B   CHRISTOPHER   GALLEGOS                    NM     90015310227
45292411272B3B   CRYSTAL       LOVATO                      CO     90013024112
4529368A141241   ALYSSA        MORROW                      PA     90000346801
45293A7312B27B   JHAD          AHMED                       DC     81094560731
45294924A51334   TYLER         GIDEON                      OH     90014059240
45294948272B3B   CHERRE        JOHNSON                     CO     90008609482
45295356A33B35   KATHERINE     BOYD                        OH     90011303560
4529672A674B8B   JUELIA        MOODY                       OH     90011897206
45296736672B3B   DWIGHT        DEEDS                       CO     90000777366
4529721578B355   WALTER        MEDINA                      SC     90013932157
45297689272B36   ANDREW        MARTINEZ                    CO     90013366892
45297A8A14B271   LA            YOUNG                       NE     27062190801
452982A9572B43   LONI          MAES                        CO     90014382095
4529916A751361   CHANTELL      RICE                        OH     90010941607
45299292572B36   MARGARITA     TERRAZAS                    CO     33078112925
4529948744B271   DANIEL        VILLAILBA                   NE     90013824874
45299A27491569   GARY          PEARSON                     TX     90013800274
4529B956972B36   MAGDALENA     LOPEZ                       CO     90013219569
452B1742231673   CHARLES       INGRAM                      KS     22086057422
452B21A755B53B   GABE          PEREA                       NM     90013431075
452B241A58B16B   LINO          GUERRERO                    UT     90008464105
452B2491391988   LORENA        BOYZO                       NC     90006824913
452B2739361963   JASMINE       JOHNSON                     CA     90013957393
452B35A554B271   D             WOODZ                       NE     90010895055
452B373A15B53B   MARY          GURULE                      NM     35001057301
452B3812572B36   ISAAC         HALVORSON                   CO     90012838125
452B38AA291569   JESSE         PAHMAN                      TX     75016508002
452B423A55597B   AIOTEST1      DONOTTOUCH                  CA     90015122305
452B4827655939   DESIREE       GONZALES                    CA     90013808276
452B518598B355   JASON         BRAZZELL                    SC     90013641859
452B5A41372B4B   RICARDO       BLANCO                      CO     33062770413
452B5A8A25B53B   MIGUEL        MIRANDA                     NM     35012110802
452B638A951361   LENA          WILLIAMS                    OH     90006503809
452B642735B174   MONIQUE       WILLIAMS                    AR     90014384273
452B6815491569   GLORIA        SANCHEZ                     TX     75014638154
452B6822891873   PATRICIA      BARTHOLOMEW                 OK     90011568228
452B719385598B   JESUS         SALDANA                     CA     90014751938
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452B777285B58B   JEFF         HERRERA                      NM     90008957728
452B7932591873   JESICA       CASTRO                       OK     90009499325
452B793A191523   EVA          MASCORR                      TX     90011109301
452B8262571999   MICHAEL      BEURMAN                      CO     90014822625
452B831555B53B   DAVID        GIRON                        NM     35009903155
452B9815355939   BUDDY        ELIAS                        CA     49046968153
452B9838A8B16B   SHEILA       ARRATS                       UT     90007578380
452BB27A851334   STEVE        NELSON                       OH     90015122708
452BB572472B43   SANTOS       FORTANEL                     CO     90014675724
4531129547B824   YESENIA      RAMOS                        IL     90015512954
45311317A72B36   LUPE         HERNANDEZ                    CO     90011743170
4531148562B27B   REGINALD     LOFTUS                       DC     90012994856
45311831A91988   WILLIAM      BRYANT                       NC     90001088310
4531185A171999   NATHANIEL    MONTEZ                       CO     90012388501
453119A655B222   TERRY        COULTER                      KY     68043449065
45311A2365B174   ALICIA       BREEDLOVE                    AR     90009410236
4531219585B222   CHANNEL      CALDWELL                     KY     90013991958
453121A1251334   CHARLES      MCGINNIS                     KY     90013191012
453123A6277354   STEPHANIE    WILLIS                       CO     20513923062
4531258125B53B   VIANEY       DOMINGUEZ                    NM     35066925812
4531263368B355   MAURICE      RHINEHART                    SC     90015046336
453128A6191523   LAURA        ZUBIA                        TX     75000388061
45312A67391569   ELIANA       GARCIA                       TX     90011550673
45313154A8B16B   UNKNOWN      UNKNOWN                      UT     31076171540
45313711272B36   OSCAR        MOLINA YANEZ                 CO     90010597112
4531519A35597B   HILDEBERTO   REYES                        CA     90014881903
4531545788B355   ROSEMARI     HEWAIJ                       SC     90003124578
4531626215B174   ANTONIO      WILLIAMS                     AR     90014102621
4531644475B52B   ELFEGO       VARGAS                       NM     36044644447
4531719A35597B   HILDEBERTO   REYES                        CA     90014881903
45317416A72B3B   ISRAEL       FUNEZ                        CO     90013024160
45317536772B36   LUIS         ROBLES                       CO     90004175367
4531764898B165   DALLAS       PENRY                        UT     31092856489
45317A1A951334   KYLE         WEIDNER                      OH     90011370109
45317A89461963   ARRIEN       DISMUKE                      CA     90011090894
4531891492B27B   CHERYL       BRITT                        DC     90006259149
4531892285B174   ANDREA       LEE                          AR     23054979228
453192A6151334   JENNY        COOK                         OH     90014292061
4531996315B174   MILLICENT    STEWART                      AR     23062759631
45319A79371999   CHARLES      BROWNE                       CO     38054190793
4531B13955B58B   HUGO         GUZMAN                       NM     90010731395
4531B14485B222   JOSHUA       KUSTES                       KY     90009981448
4531B639572B3B   CURTIS       WASHINGTON                   CO     33064076395
4531BA2367B386   XIMENA       ARCE PATTON                  VA     90012470236
4532158888B16B   MAURICETTE   ROBINSON                     UT     90013895888
453222A535597B   ALEIDA       LEON                         CA     90013822053
45322823A72B43   MICHAEL      MAYS                         CO     33089948230
45323328A61967   YOLANDA      MARSHALL                     CA     90005283280
45323A9228B16B   REBECCA      VERT                         UT     31086800922
4532417615B174   SUSANNA      BOSTIAN                      AR     90012811761
45324416272B3B   EDREES       EZZAT                        CO     90013024162
45324A8192B87B   CARLA        MORALES                      ID     41007140819
4532521855B53B   ELAINE       HERRERA                      NM     90002982185
4532576A361967   MARIA        ROMERO                       CA     90004757603
453265AA991569   MARISELA     NUNEZ RODRIGUEZ              TX     90011075009
4532696118B165   AFTON        JONES                        UT     31034539611
4532776578B16B   OLIVIA       MELENDEZ                     UT     31092237657
4532876A85B58B   CHRISTINA    CDEBACA                      NM     90009707608
45328888A8B16B   JOSE         CERVANTES                    UT     90013168880
45328A1275B174   KIMBERLY     SMITH                        AR     90015120127
45328AAA572B3B   JAMIE        MARTIN                       CO     90014670005
45329416272B3B   EDREES       EZZAT                        CO     90013024162
45329481672B36   JOSEFINA     SERRANO                      CO     90001324816
4532989435B58B   DANIEL       THILBURG                     NM     90013348943
45329925A5B222   JOHN         MAURUS                       KY     90005719250
45329A16122463   ISMAEL       DIAZ                         IL     90015390161
4532B191972B4B   YADIRA       GALLEGOS                     CO     33064011919
4532B553851334   LEONEL       LOPEZ                        OH     90011235538
4532B992791523   LUIS         ARROYO                       TX     90007089927
45331443A5B58B   MIGUEL       PACHECO                      NM     90011894430
4533149982B27B   DAMARCO      MORGAN                       DC     90012994998
45331969372B36   PAUL         MARTINEZ                     CO     90013899693
4533234545B52B   CLAUDIIO     CRISPIN MATA                 NM     36030483454
4533242948B165   AMALIA       GONZALEZ                     UT     31077674294
45333416372B3B   CYNTHIA      BLAKEY                       CO     90013024163
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4533343557B421   JOEL          HERNANDEZ                   NC     90006164355
4533441975B222   TRENTIN       WOODY                       KY     90015334197
4533527394B271   RAQUEL        DE LA CRUZ SOTO             NE     27033892739
4533562282B87B   MORGUNN       CALL                        ID     90014716228
45336899972B93   VALENTINA     CARRILLO                    CO     90015048999
45337264972B4B   GUY           ASHLEY                      CO     90007572649
4533787215B222   ANITA         DUFF                        KY     90009278721
45338328A72434   DEBRA         MERASHOFF                   PA     90006073280
4533835A18B355   IVAN          GARZA                       SC     11000783501
4533836695B52B   VANESSA       OLIN                        NM     90000333669
4533839615B174   CARLA         NELSON                      AR     90015533961
45338421172B3B   JOHN          HAY                         CO     90013024211
4533911AA91569   JACKIE        ACHONDO                     TX     90010461100
4533913338B167   YULIANA       AGUILERA                    UT     90006301333
45339747672B4B   MARY LU       GONZALEZ                    CO     90008107476
45339A5825B58B   ROSE          MARTINEZ SORIA              NM     90009310582
4533B942291988   JASMINE       WRIGHT                      NC     90012579422
4533BA11291988   LORLAINA      J FUNDERBURK                NC     90007000112
4534161A771999   MELISSA       WORMINTON                   CO     90014626107
4534224745597B   BEANT         KAUR                        CA     90011752474
4534274494B271   PATRISIA      J AITKENHEAD                NE     90002337449
453427AA272B3B   MARYSSA       WHITSIT                     CO     90015177002
45342AA5991569   MONICA        FAIVRE                      TX     90007980059
4534347525B58B   WILLAIM       VANZILE                     NM     90006264752
4534348145B53B   ANTONIO       GARCIA                      NM     90011924814
4534384262B27B   LUIS          AMAYA                       DC     90014888426
45344146872B43   KALEY         MUNDELL                     CO     90015021468
4534488344B271   TERRIL        BROWN                       NE     27091698834
4534497A831448   SHERRELL      PARNELL                     MO     90013419708
45344A25A72B4B   TALIA         HALE                        CO     90010660250
4534565A22B87B   ENISSA        WOOD                        ID     41078316502
4534642572B87B   KARI          BROUWER                     ID     41074704257
45346551672B4B   WALTER        A WIEGAND                   OK     90001765516
4534692863B356   GLADYS        HERNANDEZ                   CO     33057279286
45346A26671999   CHRISTINA     FIERRO                      CO     90014650266
45346A63271999   BRIAN         ROMERO                      CO     90012420632
4534721275597B   CASEY         HAMLIN                      CA     90014882127
4534723167B334   MOHAMMADD     SAHAKIL                     VA     90013552316
4534742745B58B   DAVID         ORTEGA                      NM     90005844274
45347776A5B52B   ELIO GALAV    EVA CAMPOS                  NM     36096087760
4534816A62B87B   CHRIS         TURNER                      ID     41032221606
4534872374B271   THOMAS        BENKIS                      NE     90007387237
4534935A58B16B   JESUS         ACOSTA                      UT     90010983505
4534939A391988   JENY          JUAREZ                      NC     90012603903
4534B286171999   CHRIS         STEWART                     CO     90013352861
4534B925391873   LADONNA       GOEBEL                      OK     90001689253
453512A2872B24   CRESCENCIO    GARCIA                      CO     90000322028
453513A435B53B   CHARMANE      GANTZ                       NM     90015593043
4535164545B58B   MARY          JACKSON                     NM     35066746454
45351A32672B4B   ANA           MOLINA                      CO     33031520326
45352165972B3B   JOSE          SOTO                        CO     90013031659
453527A6691873   DEBRA         DEAN                        OK     90014157066
45353353A8B355   CHRIS         MCCOY                       SC     90005393530
45353424972B3B   MEGAN         STEVENS                     CO     90013024249
453535A4972B36   LUZ ADRIANA   LARA                        CO     90013985049
4535391695B174   MACHELLE      BURNS                       AR     23095779169
45353A28776B22   CRISTIAN      RIVERA                      CA     90013960287
45354256372B3B   RAUL          ROBLES                      CO     90015162563
45354426A72B3B   BRANDON       BROOKS                      CO     90013024260
453545A3591988   CAPRISE       CHAMBERS                    NC     90011865035
45355529172B43   ANTANETTE     WATSON                      CO     90012665291
453559A465B58B   BARBARA       CANO                        NM     90004769046
45356A2358B355   ANNA          CAMERIRE                    SC     90007160235
453581A3572B4B   ROXANNE       MARQUEZ                     CO     33013731035
4535879642B27B   BOBBY         SINGH                       VA     90013147964
4535982A35B222   JOSHUA        DUNFORD                     KY     90008328203
45359A41851334   KIMBERLY      ROGERS                      OH     90013070418
4535B35435B222   ROBIN         MILLER                      KY     68092583543
4535B988691873   KRISTY        MILLER                      OK     90015189886
4536134745B53B   PATSY         JONES                       NM     35019973474
4536173418B355   LUZ MARIA     ALGARIN                     SC     90013827341
4536177315B58B   EVANGELINA    CHAVEZ                      NM     35077727731
45362255A8B16B   MANGALEY      RAI                         UT     90013272550
45362339472B36   SHARON        SUNDERLAND                  CO     90010183394
45363117472B3B   MOICES        GURROLA                     CO     90006501174
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4536325242B87B   MICHAEL      PANNELL                      ID     90013462524
4536349748B165   SEAN         GAUTSCHY                     UT     31015544974
453643A942B27B   JOHN         OLDEN III                    DC     90008923094
4536484A28B16B   YAJAIRA      SAMANIEGO                    UT     90013968402
4536493985B53B   DONNA        HARRISON                     NM     90009469398
4536553A45B222   WILLIAM      HARDY                        KY     90010365304
4536593578B165   LOIS         LEAVITT                      UT     90002629357
4536631A75597B   ALVARO       RODAS                        CA     90012773107
4536769685B174   NICOLE       YOUNG                        AR     90010976968
453684A6561963   JOSEPH       FALKNER                      CA     90008914065
4536893A82B27B   LONNETTA     OATES                        DC     90012749308
4536971735597B   NORA         ZAPATA                       CA     49063757173
4536B134172B36   DAVID        MICKLE                       CO     33041631341
4536B336681639   SARAH        CLAYTON                      MO     90008153366
4536B671A4B271   ANTWANE      CURTIS                       NE     90010916710
4536B6A248B16B   SCOTT        WEBB                         UT     90012776024
4536B899361963   CELINA       RIVERA                       CA     90011568993
4536B98973B352   MARIANNE     KIPHART                      CO     33036789897
4536BA49851334   TODD         MCCLINTON                    OH     66093210498
4537134175B52B   ELIAS        GARCIA                       NM     90007413417
45371AA5A72B36   NAOMI        MASTIN                       CO     90009800050
45372767A5B53B   VIRGINIA     MONTOYA                      NM     90008667670
45372876372B3B   RICARDO      DE LEON                      CO     33097118763
4537322A85597B   NICHOLAS     SALAZAR                      CA     90014882208
4537347445B222   TERRI        RIDGE                        KY     68033754744
4537374368325B   MICHAEL      DEWEES                       TX     71098527436
453738A8691569   RUDY         MEDINA                       TX     75038298086
4537395827B421   SHARON       THOMPSON                     NC     90012319582
4537422135597B   DAVID        GUERRERO                     CA     90014882213
4537467A23B343   EDGAR        VALVERDE                     CO     90003706702
4537476955B174   MAYRIS       FOX                          AR     23057707695
453747AA258528   SEBASTIAN    QUINTOS                      NY     90015617002
4537484A672B43   MIGUEL       ORTIZ                        CO     33049118406
45374A6545B348   JAKE         MARTIN                       OR     90005080654
45375391A91873   DENISE       CLARK                        OK     21032243910
4537577252B27B   JERMAINE     BOWENS                       DC     90014587725
4537632A68B124   GERALD       ROBERTS                      UT     90001313206
4537639695B58B   LORENA       BUSTOS                       NM     35009733969
4537669688B16B   ELIZABETH    DIAZ                         UT     90000446968
4537771715597B   AIOTEST1     DONOTTOUCH                   CA     90015117171
45377847A72B3B   RYAN         CASTRO                       CO     90005888470
45378381A47954   AMANDA       CROOK                        AR     90013013810
4537B141291569   VERONICA     SMITH                        TX     90012921412
4537B274672B4B   JAMES        PADILLA                      CO     33084132746
4537B78755B53B   KAITLYNN     KOS                          NM     90012097875
4537BA4345B52B   JOSE         OBDULIO                      NM     90010060434
453829A5955939   MIREYA       CUEVAS                       CA     90014539059
45383575A51361   KATRINA      HALL                         OH     90000495750
4538376A472B36   GRISEL       GARCIA RENOVA                CO     33090977604
4538483615B52B   VICTORIA     PADILLA                      NM     90000668361
45384895A5B58B   JOHN         BRUMMETT                     NM     90013178950
4538535A272B4B   KENNETH      TALMADGE                     CO     90014873502
45385632A91569   RUBY         ALVAREZ                      NM     75087156320
4538588175B222   BRITTNEY     THOMAS                       KY     90012798817
45385A4215B348   JEFFREY      HAMLING                      OR     44537640421
4538628743145B   SUZANNE      PHILIPS                      MO     90003412874
4538655884B271   MELISSA      THOMPSON                     NE     90002215588
45386742272B3B   DELTA        FLEMING                      CO     90005347422
45387965A61967   JAY          BURRUS                       CA     46068609650
45388274A72B3B   KHADIJA      RATCLIFF                     CO     90013832740
4538874265B58B   FRANK        SISNEROS                     NM     90013977426
4538983A15B174   MARKITA      ALEXANDER                    AR     90003548301
4538B533881639   ANGELA       HICKS                        MO     90008825338
4538B5A492B27B   DERRIKA      TIBBS                        DC     90012995049
4538B718171999   MARIA        CORTEZ                       CO     90008707181
4538B878272B3B   WRIGHT       ANTWON                       CO     90014838782
4539122A14B271   LARRY        BRITTELL                     NE     27034102201
45391432972B3B   TIMOTEO      SENA                         CO     90013024329
4539147865B222   JOHN         KENNELL                      KY     90010214786
4539169568B16B   MARIBEL      MOJARO                       UT     90008586956
453923A994B271   TERRY        THOMAS                       NE     27092073099
4539286345B222   JASON        FOX                          KY     90014598634
45392A99555939   ANGELA       HERNANDEZ                    CA     90015160995
45393146372B36   CARLOS       SALAZAR                      CO     33055321463
4539371415B52B   LUPE         MARQUEZ                      NM     36043117141
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45393715A5B222   LORIE         HAMILTON                    KY     90013777150
4539383A35B174   MELISSA       GARNER                      AR     90009788303
4539425722B27B   LACHELLE      WALKER                      DC     90010782572
4539455A65B222   CHRISTOPHER   SHINKLE                     KY     90012775506
45395118172B43   ERIN          REILLY                      CO     33017131181
4539632A25597B   NORA          CASTRO                      CA     49022843202
4539663112B87B   ZACHARY       KERSHNER                    ID     41073816311
45396673872B4B   JUSTIN        HUGHES                      CO     90014756738
4539675855B53B   LACHELLE      DANIELS                     NM     35026387585
45397522772B36   CORDOBA       REYES                       CO     33062405227
45397AA175B53B   KELLY         BENT                        NM     90005480017
4539812588B355   AMBER         JUDGE                       SC     90014001258
45398196972B36   MARCARIA      JUAREZ-GONZALEZ             CO     33029051969
45398655672B3B   LISA          NAVA                        CO     33047376556
453988A4672B4B   ANA           RODRIGUEZ                   CO     90014898046
453988A5391873   TYLER         PATRICK                     OK     21035328053
4539919265B376   QUINESHA      BUGGS                       OR     90012481926
45399247A91873   MICHAEL       MALONE                      OK     90013082470
45399254672B43   ANA LILIA     TOVAR                       CO     33093032546
453992A272B27B   MICHAEL       PARKER                      DC     90014862027
45399A76391873   DAVID         CASEBOLT                    OK     90015200763
45399A9315B174   PATRICIA      WILLIAMS                    AR     90006290931
4539B497371999   CONNIE        SHENEFELT                   CO     90006174973
4539BA52A5B52B   ESTEBAN       MAX                         NM     36094280520
4539BA56A72B4B   ARTHUR        HENDERSON                   CO     90005440560
453B1588672B4B   JUAN CARLOS   RAMIREZ                     CO     90010925886
453B216215B53B   MARIA         MALDONADO-DOMINGUEZ         NM     35087631621
453B263A191569   VICTOR        ROMERO                      TX     75037636301
453B2A5925B58B   ERNESTINA     SEGURA                      NM     90012760592
453B357188B355   JEFF          WILLMORE                    SC     90013335718
453B37A4297B21   TIRZAH        STREED                      CO     90007227042
453B396298B16B   FINAU         HEATHER MAREE               UT     90006549629
453B4366372B98   MARTIN        VARGAS                      CO     90007573663
453B462A34B271   IVAN          CABRERA                     NE     90012836203
453B4972155939   TRINA         DAVID                       CA     90012269721
453B518995597B   LARRY         TORREZ                      CA     90014881899
453B533AA55939   CESAR         ROSAS                       CA     49035983300
453B5549871999   KATHLEEN      HERRERA                     CO     38006105498
453B595A25B53B   JOHN          WATTERS                     NM     90013379502
453B654A54B271   FRANKLIN      NELSON                      NE     90011885405
453B671815B52B   WENDY         HAYES                       NM     36080147181
453B6766851334   BRIANNE       HINKLE                      OH     90008127668
453B6A34172B43   RENEE         FRANKLIN                    CO     90005990341
453B7248272B4B   DESIRAY       DUBALL                      CO     90015512482
453B7854472B43   CHRIS         TORRES                      CO     90006058544
453B827A95B222   COURTNIE      LOVE                        KY     90008562709
453B8818391569   AMPARO        GASPAR                      TX     90009788183
453B925998B355   BERNICE       LOVE                        SC     90000512599
453B9325391988   VICTORIA      SHELTON                     NC     90011293253
453BB376672B36   RUDY          GERINGER                    CO     90014053766
453BB42435B222   JAMES         WILBERT                     KY     90015244243
454141A6693751   JATAE         TISDALE                     OH     90005411066
4541429892B921   FRANCISCO     SANDOVAL                    CA     90009552989
4541472A491569   ALEX          MAESE                       TX     90011897204
454147A974B945   ALICIA        RAMSEY                      TX     90012647097
4541494225B58B   JESSICA       PARDO                       NM     90015239422
45415221772B43   SANDRA        LOPEZ                       CO     33050562217
4541557628B16B   ROCIO         PACHECO                     UT     31008135762
45415618172B4B   DEBRA         BALL                        CO     33079456181
4541582755B52B   LETICIA       PEREZ                       NM     36095328275
4541599A855939   JOSE          FLORES                      CA     49098749908
4541613114B271   CATHY         NICHOL                      NE     27019851311
45416716872B4B   CASAR         CASTANEDA                   CO     90013607168
45417247772B36   UNKNOWN       LEROY JOHNSON               CO     33029932477
4541757188B355   JEFF          WILLMORE                    SC     90013335718
45417A93A91988   GLORIA        YOUNG                       NC     90012860930
4541823485597B   JOSE          ZEPEDA                      CA     90014882348
454182AA891569   NICOLE        ARZATE                      TX     90014742008
45418356572B36   ACTS          RESOURCE CENTER             CO     90013903565
4541838458B355   MALIK         MCCULLOUGH                  SC     90014303845
4541899838B16B   TIM           LEFLER                      UT     90015569983
4541B217A5B53B   JULIAN        CHAVEZ                      NM     90003442170
4541B33956197B   GUADALUPE     VILLARREAL                  CA     46005383395
4541B364691394   TILISA        CRAWFORD                    MO     29091763646
4541B56A94B271   TERRI         THOMPSON                    NE     90014015609
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4541B63A357126   NOELLA           MOUNO                    VA     81016076303
4541B711672B4B   JEFFREY          SILVA                    CO     33044957116
4541B73295B222   PAYGO            IVR ACTIVATION           KY     90009057329
4541B753A71999   SCOTT            VALENCIA                 CO     90014897530
4541B914651334   JOHN             TOLLEFSON                OH     66093519146
4541B96615599B   CESAR            ORTIZ                    CA     90013259661
454223A7491873   RAFAEL           ALVARDO                  OK     21062853074
45422581672B43   KENNETH          DARE                     CO     90013015816
4542264395B375   DEBARA           WARREN                   OR     44527966439
454229A3133B98   SHANNON          BINION                   OH     90014209031
45422A99461963   ELIZABETH        CARPIO                   CA     90014310994
4542342885B174   RICHARD          HEDRICK                  AR     23068654288
4542363517122B   JORGE            MAEDA                    IA     90014736351
45423A13A61963   LISA             LUNSFORD                 CA     90007390130
4542418245B58B   JACQUELINE       MONLINAR                 NM     90010131824
4542423485597B   JOSE             ZEPEDA                   CA     90014882348
45424A36A5B52B   RUBEN            ARGUELLO                 NM     36066560360
4542511875B58B   JOSEPHINE        GRIEGO                   NM     35029011187
4542666825B231   GEORGE           EZZELL                   KY     90007946682
4542826935B222   JOHN             MINGUS                   KY     90013692693
4542874232B27B   THOMAS           CONLEY                   DC     90014727423
4542886988B165   DAVID            COLEMAN                  UT     31067718698
45428948872B36   FELICIA          SANCHEZ                  CO     33003949488
45429A14151334   EDDY             INGRAM                   OH     90013420141
45429A5617B421   MANDY            QUEVEDO                  NC     90013030561
4542B27725B52B   HEAVEN           NATSEWAY                 NM     90010112772
4543115A291569   JESSE            ROBLES                   TX     75037371502
454312A1991873   SANDI            WELCH                    OK     90011192019
4543136AA5B52B   GABY             LOZOYA                   NM     90005493600
45431598A72B3B   MANUEL           MARTINEZ                 CO     90007795980
4543185A731432   JOHN             JOHNSON                  MO     90011798507
4543211A391569   JESUS            PADILLA                  TX     75037371103
4543222525B222   JAMIE            LYNN                     KY     90010342252
45432443772B3B   JOSE HERIBERTO   LECHUGA                  CO     90013024437
45432764872B4B   TONOA            POWELL                   CO     90014127648
4543312925B222   MADISON          HENNINGER                KY     90011441292
4543344765B52B   JOANNA           RODRIGUEZ                NM     36066244476
4543421342B87B   JEFFREY          HOWELL                   ID     90013232134
45434AA6691873   ASHLEY           ROBERTSON                OK     90005510066
4543521132B84B   VALDAMAR         CISNEVOS                 ID     90015362113
45435377272B3B   JENNIFER         PRAEGER                  CO     90013093772
4543579812B27B   ERNEST           JOHNS                    DC     81044117981
45435A22991988   JATARAH          WHEELER                  NC     90014990229
4543618A891569   JACOBO           SIERRA                   TX     90013411808
454368A8872B3B   CARMELITA        FLOREZ                   CO     33063378088
4543764462B87B   HALEY            THOMSON                  ID     90014736446
4543929198B355   MARCO            GARCIA                   SC     90008992919
4543999648B16B   ANDREW           PHILLIPS                 UT     90010959964
4543B1A2A72B4B   JOSEPH           HAMPTON-FITZGERALD       CO     33065221020
4543B1A6691569   ALIDE            BEJARANO                 TX     75047661066
4543B439572B3B   KATIE            FARNEY                   CO     90013024395
4543B632291527   SANTA J          VILLANUEVA               TX     90003936322
4543B85285B222   JONATHAN         GUTIERREZ                KY     90014898528
4544121232B27B   TAKESHA          DAWSON                   DC     90014652123
4544154565B222   DESHAUN          WALKER                   KY     90007865456
45441A41691873   KHANDRAKER       ALAM                     OK     90009080416
4544258135B174   TIFFANY          ROLAND                   AR     90014875813
45442635A2B27B   NOE              CANALES                  DC     81009676350
45442A7A38B16B   DEBI             DAY                      UT     31003680703
45445217672B3B   LINDSEY          NIXON                    CO     90012882176
4544563244B271   TERESA           MINARD                   NE     90011426324
45445A4455B53B   OLLIE            COLINA                   NM     90014600445
4544796252B27B   JAMES            WOODARD                  DC     90012919625
4544836625B222   JAMES            SULLIVAN                 KY     90007833662
45448475A5597B   LISA             RODRIGUEZ                CA     90011654750
4544962745597B   ERNESTO          MARAVILLA                CA     90013336274
45449991972B3B   MARIA            DENNING                  CO     90011499919
4544B447972B3B   JORGE            BOTELLO                  CO     90013024479
4544BA3882B27B   MONIQUE          BANKS                    DC     90014970388
4545198235B53B   VINCENT          LOPEZ                    NM     90013679823
45451A11772B3B   LUIS             LOZANO                   CO     90013140117
4545238A671999   ANITA            GONZALES                 CO     90001423806
4545239325B53B   AVILA            MARK                     NM     35075483932
45452448572B3B   JUANITA          HERREARA                 CO     90013024485
4545372615597B   ANTHONY          STEWART                  CA     90001997261
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45453794972B43   LUTZ           AUSTIN                     CO     90009207949
45453A14791523   JESUS          DIAZ                       TX     90011260147
45453A34291569   MORAIMA        ALATORRE                   TX     90013740342
45453A87691873   ERMELINDA      THOMAS                     OK     21043400876
4545411A391569   JESUS          PADILLA                    TX     75037371103
4545632965B222   TIFFANY        PERKINS                    KY     90002903296
45456AA6972B4B   S              VAUGHN                     CO     33048160069
45457449672B3B   ALISIANA       MEDINA                     CO     90013024496
45458346672B3B   TABATHA        ATENCIO                    CO     90002693466
45458A11591569   IRMA           COVARRUBIAS                TX     90015040115
4545919A191873   SARAH          GREEN                      OK     90013931901
4545B157591394   ERIC           HAWTHORNE                  KS     90007211575
4545B451891873   SHAWNTAE       SLOAN                      OK     90010054518
4545B554A55939   LETICIA        GARCIA                     CA     49048025540
4545B625672B36   GREGORY        MERKLIN                    CO     33066156256
4546141554B271   CELESTE        KIRKLAND                   IA     27059864155
45461525A55939   ROBIN          GRIGGS                     CA     49030475250
4546167145B58B   EDWIN          DUARTE ROJAS               NM     90012446714
454616A7451334   URSLA          SIMMONS                    OH     90006786074
4546173288B16B   DANIELLE       SANDOVAL                   UT     31011077328
4546337A171999   DUSTIN         DAVISON                    CO     90012583701
45463A9728B355   WILLIAM        BROOM                      SC     90007560972
4546419755B53B   ABIGAIL        BUSTILLOS-ROSAS            NM     90002971975
45465269672B4B   JEREMY         GIBBS                      CO     90010832696
4546593AA5597B   MARGARITA      PEREZ                      CA     90009799300
45465A7718B16B   CALVIN         BURGESS                    UT     31085700771
4546661858B355   TONYA          DIARY                      SC     90001976185
4546674924B566   COMMIE         GILLEN                     OK     90013887492
45467A91172B36   EVANGELINA     RUIZ                       CO     33068220911
45468455672B3B   ANOTONIO       LINARES                    CO     90013024556
45468725172B4B   LAURA          GONZALEZ                   CO     33011597251
4546896AA8B355   STACY          WALDEN                     SC     11019179600
4546921A58B16B   JAMES          SATUALA                    UT     90013352105
4546957238B16B   GERALDO        TAPIA                      UT     90015425723
4546B365972B36   JOSE           NAVA                       CO     90004293659
4547156A572B43   JILL           GUERRERO                   CO     33086305605
454729A6872B36   MARIA          ESCAJEDA                   CO     90010799068
45473375272B3B   MICHAEL        RICHFIELD                  CO     90007563752
454754A455B58B   FABIAN         BARRAZA                    NM     35083004045
4547633845597B   TERESA         CHACON                     CA     90013263384
45476642A51334   RICKEY         MCNICHOLAS                 OH     90010716420
4547666514B271   MOLLY          GIER                       NE     27056166651
4547733845597B   TERESA         CHACON                     CA     90013263384
4547814A847954   CHARLES        GILLUM SR                  AR     25067691408
45478464372B36   FELICIA        VIRCHIS GARCIA             CO     90012604643
4547848A572B4B   DAMIAN         FERANANDEZ                 CO     90000444805
4547872125B222   YAKINA         CRAIS                      KY     68011377212
4547893618B355   LEKESHIA       REAVES                     SC     90005529361
4547898518B16B   ANASTASIA      SOLOMON                    UT     90012819851
454793A918B355   STEVEN         SHUGART                    SC     90014803091
4547986279373B   ROBERT         ROBBINS                    OH     90011528627
4547B15745597B   SOPHIA         TELLO                      CA     90014891574
4547B32455B53B   KENNETH        DRASHNER                   NM     90012593245
4547B87A791988   PATRICIA       CONNER                     NC     90011108707
45481669772B43   NGUYEN         TUAN                       CO     90008726697
45482524672B36   ALEJANDRO      FERNANDEZ                  CO     90003715246
45482A94972B3B   WILLIAM        HENDRIX                    CO     33005770949
4548335795B37B   CASEY          JONES                      OR     90007873579
45483853A93747   ERICA          PENCE                      OH     90011338530
45483A8744B271   CAPRICE        GREY                       NE     90012660874
4548417785597B   NELSON         AMADOR                     CA     90014891778
45485865A5B56B   ANDREA         SANFORD                    NM     90004338650
45487147A8B16B   BRIAN          JACOBSON                   UT     90006001470
4548751A147954   TRACY          STACY                      AR     90012775101
454877A622B27B   SALOME         NUNEZ                      DC     81018367062
45488A8285B174   DESTINY        GARRISON                   AR     90014480828
4548926665B53B   GARRETT        PEAK                       NM     90013962666
4548B423991523   VERONICA       AVILA                      TX     90007104239
4548B798661963   JOEL           NIMEZ                      CA     90006017986
4548B899A71999   JENNIFER       VELASQUEZ                  CO     38041078990
45491865A5B56B   ANDREA         SANFORD                    NM     90004338650
4549319535597B   JOANNA         VAZQUEZ                    CA     90014891953
4549342A271999   JULIE          BROUSSARD                  CO     90008734202
454942A8A7B824   CHRISTABELLE   VARGAS                     IL     90010042080
4549448935B555   FACIO          DOMINIQUE                  NM     90010394893
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45494594A5B174   MELANEY      POWELL                       AR     23076695940
454945A9561963   EDDIE        DIAZ                         CA     90005745095
4549466A68B654   ALDOFO       RAMRIEZ                      TX     90014606606
4549525242B87B   MICHAEL      PANNELL                      ID     90013462524
45495466A72B3B   ERNEST       SANTIAGO                     CO     90013224660
45495978472B25   ROBERTO      MARIN                        CO     90010819784
4549647968B355   KAREN        SEARGENT                     SC     90014304796
454969A6A91988   VIRGILENE    NESMITH                      NC     90012929060
45497275A5B53B   TANYA        VAISA                        NM     90010582750
45498485872B4B   DEBBI        COOPER                       CO     90004024858
45498AA782B84B   SAMUEL       GEBREEGZIABHER               ID     90011170078
4549973185B255   KELLY        AVRITT                       KY     90011967318
45499987172B36   ALFONSO      RODRIGUEZ                    CO     90013199871
4549B453491394   ROSA         DERAS                        KS     90007244534
4549B687851334   WILLY        CASTANEDA FRANCISCO          OH     90012176878
4549B773561963   JOSE         SALMERON                     CA     90012677735
4549BA84A2B27B   ANIKA        BANKS                        DC     90015060840
454B122635597B   ROSANGELA    QUEZADA                      CA     90014882263
454B222635597B   ROSANGELA    QUEZADA                      CA     90014882263
454B232987B421   ROLANDO      CARRILLO                     NC     90006193298
454B239375B53B   JOSE         CARRILLO-BARRAZA             NM     35039063937
454B2A18672B3B   GRACE        CHAVEZ-SOTO                  CO     90001530186
454B31A7191569   YING         ZHANG                        TX     90006961071
454B3395972B3B   GIOVANNI     GARCIA                       CO     90010983959
454B3578561963   CAROLINA     TORRES-GOMEZ                 CA     90012715785
454B358A82B27B   CATHERINE    MILLS                        DC     90006675808
454B3623161963   OSCAR        RODRIGUEZ                    CA     90014266231
454B3849772B4B   JOSH         GROVE                        CO     90008438497
454B462825B58B   PETE         GRAHAM                       NM     90010806282
454B5247A51334   EDDI         JUAREZ                       OH     90014872470
454B5454991873   ERIC         PEREZ                        OK     90010214549
454B5626391926   TYSHA        CARVER                       NC     90004166263
454B6134572B36   LUCINA       CASTRO                       CO     33050731345
454B61A9791569   DELIA        DUARTE                       TX     90015121097
454B667A991873   KEVIN        CROSS                        OK     90013266709
454B768265B222   DESTINY      BEASON                       KY     90005686826
454B776644B271   SHELLY       BENSCOTER                    NE     90006917664
454B8328A5B53B   DIANE        BOOK                         NM     90009983280
454B869A571999   ASHLEY       FRANCES                      CO     90010986905
454B9185A91873   MARLOW       THOMAS                       OK     21002031850
454B9272972B4B   MATTHEW      SCHUMACHER                   CO     90012352729
454B9662672B43   ADAN         BARRON                       CO     33003656626
454B9816691988   FLORENTINA   SALINAS                      NC     90014788166
454B989A155928   MAI          VUE                          CA     90014848901
454B9AA862B87B   BARBARA      ATWOOD                       ID     90013970086
45511643372B4B   LYNN         SHANGREAUX                   CO     90014536433
455127A7791873   NATALIE      PARKER                       OK     90009917077
45513133172B3B   JAZZMEN      CASIAS                       CO     90014161331
455131A1847954   ERIC         ALVARADO                     AR     25073751018
45513A5A572B43   AMADA        SAUCEDO                      CO     33080980505
4551453525B254   BRYAN        BARNETT                      KY     90009825352
4551458535B222   MAUREEN      HERNANDEZ                    KY     68007445853
45514865472B4B   DARCEY       MALOID                       CO     90014768654
45514A17191873   JESSICA      STUBBLEFIELD                 OK     90005340171
4551683875B58B   LARA         BRITT                        NM     35080618387
4551711215597B   MARTIN       SANCHEZ                      CA     90014361121
45517342A91873   CINDY        TERRY                        OK     90004953420
4551795385B58B   CHARLOTTE    GLASS                        NM     90015219538
45518269972B3B   CYNTHIA      SANDOVAL                     CO     33073142699
4551865755597B   RICARDO      ZACARIAS                     CA     90011756575
45518816572B3B   HUGO         SANDOVAL-SOLARES             CO     90013038165
4551883158B165   ANIBAL       LOPEZ                        UT     90007738315
455188A3461963   CARMELA      PEREZ                        CA     90008648034
4551923335B53B   HELEN        HERNANDEZ                    NM     90014432333
4551977125597B   JESSICA      SASTINI                      CA     90014107712
45519A1A861963   CHERYL       WATTS                        CA     90004180108
45521179172B3B   LARRY        JAMES                        CO     90006501791
4552131A931432   THOMAS       WELLER                       MO     27508623109
4552176A55B53B   PATRICIA     MOWRER                       NM     90001417605
45521A92591988   PAYGO        IVR ACTIVATION               NC     90013790925
45522216A4B271   CHRISTINA    PITMAN                       NE     90015172160
455237A2A8B16B   LUIS         LARA                         UT     90014907020
4552394662B87B   DAVID        SOSS                         ID     90014509466
4552479969714B   IONELA       BENTEA                       OR     90014807996
4552521412B87B   CHAD         MCKARCHER                    ID     90008592141
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4552558765B593   ERIKA             HOLGUIN-BARRAZA         NM     90003255876
4552576955B53B   CECILIA           FARFAN                  NM     35042797695
4552628835B222   JAMES             JONES                   KY     90007922883
4552677125597B   JESSICA           SASTINI                 CA     90014107712
4552736144B52B   SHARON            WINSTAD                 OK     90008683614
45527659A72B4B   EFREN             GOMEZ                   CO     90006156590
4552785828B355   TERRY             TERRY                   SC     11020308582
4552787368B165   CARLA             SIMS                    UT     31019198736
45527A5438B895   MAAFUATAI         FAOA                    HI     90014890543
45528737772B36   TIFFANY           NORRIS                  CO     33053587377
45529419572B43   MARIO             GUERRERO                CO     90013054195
45529A61A61963   NORISA ANNE       ZAMORA                  CA     90011960610
4552B128172B43   JARROD            ROWE                    CO     33055681281
4552B175661986   CYNTHIA           GONZALEZ                CA     90009201756
4552B22415B58B   JOSE              VILLARREAL              NM     90015002241
4553236A271644   PAYGO             IVR ACTIVATION          NY     90014183602
4553374885B58B   IVAN              HERRERA                 NM     90015267488
455338A875B174   FRANKIE           MITCHELL                AR     90007658087
4553414615B174   MARCOS            TEPOX                   AR     23003081461
45534A8575B53B   BRITT             NORMAN                  NM     35068620857
45534A96591523   ERICK             GONZALEZ                TX     90011720965
4553588918B16B   WILBER            LOPEZ                   UT     90014418891
45535A4615B174   MEYOSHI           GASTON                  AR     90012850461
4553637395B53B   KRISTA            MOJICA                  NM     90011333739
45536375772B3B   ALEJANDRA         AREVALO                 CO     90004413757
4553648355B174   RUTH              LANDERS                 AR     90008704835
45537168472B3B   SANMARTINA        MUNOZ                   CO     90013031684
4553768735B53B   ROBERTO           ROIG                    NM     90014546873
4553823748B355   OSKAR             TARRES                  SC     11022532374
45539765272B43   MARQUISE          HINS                    CO     90007187652
45539843872B36   SHAEDON           BRINKLEY                CO     90012978438
45539A2AA72B4B   MIKE              RAEL                    CO     33076590200
4553B122591873   NORMA             CUETO                   OK     90006661225
4553B222872B3B   BRADLEY           AERTS                   CO     90010702228
4553B54585597B   MARTIN            SALAZAR                 CA     90008395458
4553B7A3791873   TREYLOR           DREADFULWATER           OK     90014287037
4553B895A91873   TREYLOR           DREADFULWATER           OK     90014158950
45541156972B43   JOSE              RIVERA                  CO     33027741569
4554328522B87B   SYDNEY            BURCHELL                ID     90013842852
455432AA15B58B   PEDRO             VARGAS                  NM     90005772001
4554338738B16B   KELLY             FLORA                   UT     31015493873
455435A638B166   CHELCI            NUZMAN                  UT     31076905063
4554435A15B52B   ELVIS             MANFREDES DIAZ          NM     90010483501
45545A18572B4B   CHRIS             VIGIL                   CO     33097110185
45546187872B4B   MELIDA            VEGA                    CO     33037441878
4554691948582B   JACQUELINE        SEKELSKY                CA     46048029194
45546A4A65B222   MICHELLE          MASTERS                 KY     90009910406
45547578272B36   NATASHA FRANCIS   DOWDEN                  CO     90014365782
455484A4371999   BENJAMIN          RAYGOZA                 CO     90004304043
45549831A91988   WILLIAM           BRYANT                  NC     90001088310
45549A99972B43   TYLER             EMERSON                 CO     90013720999
4554B17A85B174   HUBERT            SALLIE                  AR     90014511708
4554B58765B52B   EDITH             OCANA- ESCALANTE        NM     90002995876
4554B671691988   AMERIKA           COZART                  NC     90001766716
4555113858B355   JULIO             DEGANTE                 SC     90014501385
4555119422B27B   PARADISE          MINGO                   DC     90004221942
45552714A72B43   DESTA             HAILEMICHAEL            CO     33077627140
4555279895B174   FRANCINE          BILLINGS                AR     90008307989
45552A34271999   JOE               ZAVALA                  CO     90010990342
45552A85A4B231   JASON             CARL                    NE     26012780850
45553552872B36   ARTURO            VALDEZ                  CO     33013385528
455538A9861963   PAUL              WASENAR                 CA     90005998098
455556A9485941   SULA              COOK                    KY     90006106094
455557A9355939   PEDRO             LLANGA                  CA     90010337093
45555A34271999   JOE               ZAVALA                  CO     90010990342
45556127172B4B   PATRICIA          BRAVO                   CO     33080291271
455568A9A3B33B   LUIS              PARRA                   CO     90001728090
455569A485B52B   HUGO              MARTINEZ                NM     90000349048
4555735465B222   JOSEPH            BROWN                   KY     90014263546
45557355172B4B   ROXANNE           ELEY                    CO     33091193551
4555761425B56B   CURTIS            BOWMAN                  NM     90014496142
4555828A55B222   BROKKE            BASHAM                  KY     90012742805
4555842345B53B   KENT              MCKNIGHT                NM     90012684234
4555857764B271   PHILLIP           JEMISON                 NE     90013755776
4555892675B53B   KENT              MCKNIGHT                NM     90010839267
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45559A45791988   JENNIFER     OWENS                        NC     90015130457
4555B86635B53B   CHRIS        TABOR                        NM     90014118663
45561232A55939   ANTONIO      SANCHEZ                      CA     90013232320
4556199625B372   CHRISTI      CRAYS                        OR     90011989962
45562769A61963   TIANTI       CROOK                        CA     90012557690
45563416472B36   ROSALIA      ARROYO                       CO     90004724164
4556341925B222   MAURICE      HUFF                         KY     90011104192
45563591972B3B   SHIRLEY      TUGGLE                       CO     90013895919
4556363352B84B   ARTUDO       GONZALES                     ID     90015396335
4556396357B421   CRYSTAL      HOWARD                       NC     90001289635
45563A89391569   THOMAS       HUBBARD                      TX     90007980893
4556461AA8145B   RICKY        PULLIUN                      PA     90015066100
4556496357B421   CRYSTAL      HOWARD                       NC     90001289635
4556568A97B837   ANGEL        ERINTES                      IL     90002396809
45565A5875B52B   DIONNA       BOWSER                       NM     90012360587
4556651832B27B   JEANETTE     MOSLEY                       DC     90015025183
4556731A172B4B   WENDY        MACHO                        CO     90002863101
4556841A35B58B   JUSTINE      VALDEZ                       NM     90006024103
4556863A891569   MIRIAM       CROSBY                       TX     90004186308
4556895315B174   LEVETRA      POOLE                        AR     23051949531
45568A6642B253   ROSILYN      BRATCHER                     DC     90001460664
4556942A95B53B   AUDREY       WILSON                       NM     35003744209
4556B493A61963   MARIANO      MAYORIAL                     CA     46038704930
4556B5A1773264   CHRISTINA    DARLING                      NJ     90014505017
4556B671361967   CHESTER      COPPERPOT                    CA     90010546713
4556B799691988   RAYMOND      ROBINSON                     NC     90010127996
4556B937991523   ALMA         TENA                         TX     90009709379
4556BA1A291988   RAY          ROBIN                        NC     90015130102
4557116165B279   MELANIE      PARKER                       KY     90011331616
4557136565B53B   WILLIS       FITS                         NM     90012613656
4557143195B52B   MARK JR.     WRAY                         NM     36095344319
45571959472B36   SAM          CASADOS                      CO     33072409594
45572699A47954   MEGAN        MORGANFLASH                  AR     25029666990
4557353725B53B   PHILLUP      LOPEZ                        NM     35036715372
455742A7472B36   REY          ERIVES                       CO     33051432074
4557434385B58B   LUZ          VALLES                       NM     90005443438
4557438397B377   AZHAR H      RAAN                         VA     90008623839
4557446A947954   ALABERTO     MAGANA                       AR     90013364609
4557457472B27B   TEMESGHEN    GHEBREMARIAM                 DC     90012775747
45574596572B4B   ALBERTO      AMARO                        CO     90005275965
455747A718B16B   DEANNA       JOY                          UT     31061647071
4557653A55597B   DARLENE      LOZANO                       CA     49094765305
45576572872B43   EVERETT      ROLEY                        CO     90013015728
45577A4262B87B   ELI          MCCORMACK                    ID     90011810426
4557853A55597B   DARLENE      LOZANO                       CA     49094765305
4557878944B271   JOSE         VARGAS                       NE     90012637894
45579A73172B36   LEXI         WRIGHT                       CO     90013010731
4557B984691873   MARK         ROSS                         OK     21040919846
455812A895B58B   BRITTNI      THOMAS                       NM     90002692089
4558238515B222   ROBIN        YAEGER                       KY     68096203851
4558258695597B   TIFFANY      KIRKSEY                      CA     90002295869
4558268775B222   ROBIN        YAEGER                       KY     90014086877
45582A32591873   PAUL         FROST                        OK     90015060325
45583198A5B58B   LUIS         CASTRO                       NM     35068941980
45583217872B3B   KARLA        GALLEGOS                     CO     90009292178
4558349478168B   SUNCERA      BOYD                         MO     29014954947
4558396725597B   JESUS        SANTOS                       CA     49007469672
4558421587B422   KEVIN L      MCDOWELL JR                  NC     90000772158
4558429355B174   ANDRAINA     GAYTON                       AR     23095492935
45584437272B3B   ANA          GONZALEZ                     CO     90012994372
45585A3118B355   LATORIA      BOYD                         SC     90006850311
4558755915B52B   IRENE        JARAMILLO                    NM     36026715591
45587684572B4B   ELIZABETH    WARD                         CO     33025886845
4558899355B52B   IRENE        MEDINA                       NM     90008189935
45589817A61963   SOFIA        GUZMAN                       CA     90010788170
45589937572B4B   ANDRES       RODELA                       CO     90000309375
45589A54272B36   MICHAEL      PANNELL                      CO     90004570542
4558B994161965   RAFAEL       LUNA                         CA     90008559941
4558BA38291873   MOUNA        FALOUL                       OK     90009440382
4559147A55B222   BRANDON      MCALPINE                     KY     90012974705
4559225618B355   GREG         ARMSTRONG                    SC     90012442561
45592819872B43   BRIAN        ECKHARDT                     CO     33028538198
45592A59A72B36   JUAN         TOVAR                        CO     90012380590
45593289A8B355   COREY        BARBER                       SC     90009712890
45593861172B3B   SANDRA       EDWARDS                      CO     90014088611
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4559424A991523   BRYAN        BARRON                       TX     75027262409
45594A9748B355   JACKIE       STATON                       SC     90014770974
4559647775B53B   ERIC         MADRID                       NM     90015594777
45596644572B4B   JOSH         MARQUEZ                      CO     90014536445
45596A19571999   LIZA         SOLIS                        CO     90004050195
45596A4A191569   VERONICA     CHAVEZ                       TX     90013740401
4559753A75B53B   SEANDREA     PETERS                       NM     90013565307
4559787978B16B   AMY          MYERS                        UT     90010168797
45598A56A61963   JUSTIN       STEVENSON                    CA     90014340560
455998A536195B   TERESA       ANDRADE                      CA     90010468053
4559994525B597   PAMELA       GARCIA                       NM     90006409452
45599A16A72B3B   LUZ          QUIROZ                       CO     90007430160
45599A7165B174   IDA          FAULKNER                     AR     23003630716
4559B219872B43   SMITH        JEREMY                       CO     33095422198
4559B225191569   AURORA       FLORES                       TX     75017572251
4559B26742B87B   CHARLYEANN   WRIGHT                       ID     90011012674
4559B457161963   LUIS         PABLO                        CA     46013064571
4559B68A141241   ALYSSA       MORROW                       PA     90000346801
4559B85712B848   JOHN         DONNELLY                     ID     90008308571
4559B873691523   JOSE         MONTES                       TX     75053248736
4559B8A114B271   MICHAEL      COSTELLO                     NE     27091608011
455B1199772B4B   VANESSA      ARCHER                       CO     33016211997
455B128A947954   JENNIFER     PEREZ                        AR     25066012809
455B1557257127   ANTHONY      BRYDA                        VA     90011665572
455B163134B271   ANDRE        PRICE                        NE     27026926313
455B185125B222   MELISSA      SWARTZ                       KY     90010888512
455B211972B87B   MARK         SZAFRANSKY                   ID     90013991197
455B2512472B3B   RITA         MARTINEZ                     CO     33056245124
455B2A6452B87B   MICHAEL      THOMAS                       ID     90014870645
455B366483B343   RAFAEL       ZUBIA                        CO     90011726648
455B397625B52B   RON          SCHNEIDER                    NM     90008219762
455B3A72855939   XOCHITL      MARIN                        CA     90010770728
455B4252872B43   RICHARD      ANTHONY                      CO     90014032528
455B4419491873   PAOLA        ALQUINO                      OK     21098524194
455B472AA72B25   SERGIO       AGUILAR                      CO     90001577200
455B4A31772B4B   MAUREEN      FULMER                       CO     90012400317
455B52AAA91873   SHAMECE      PHILLIPS                     OK     90014622000
455B629A65597B   CHRISTINA    UPSHAW                       CA     90012612906
455B639A63163B   DENNIS       DUTTON                       KS     90001783906
455B66A2691523   JOSE         SALAZAR                      TX     90008726026
455B6888772B3B   BETO         TORRES                       CO     90013968887
455B694A62B87B   TYLER        WEHOLT                       ID     90012689406
455B71A8561967   ROSSETTA     SIMPSON                      CA     90002491085
455B736A18B836   CALVIN       ILAOA                        HI     90010833601
455B7642A2B27B   DIAMOND      NEWMAN                       DC     90014816420
455B7699161963   ALFONSO      ASCEVES                      CA     90003886991
455B776995597B   WENDIE       GARCIA                       CA     49083367699
455B7816491569   CECILIA      LARA                         TX     90008038164
455B815816197B   DANIEL       GARCIA JR.                   CA     46098961581
455B844855B222   COREY        TALBERT                      KY     90010894485
455B8574581639   ANGELA       BEASLEY                      MO     90002905745
455B8758572B36   MICHAEL      LAVENDER                     CO     90013787585
455B8959172B4B   YESENIA      SALINAS                      CO     90014339591
455B9435751334   CHRISTINA    WITHERS                      OH     90014594357
455B9682472B36   JEFFREY      VANVELKINSBURGH              CO     33069776824
455B991235B53B   BRIDGETTE    OTERO                        NM     90010909123
455B996335B52B   CARLOS       DOMINGUEZ                    NM     36041629633
455B9A61172B36   MR           TONKA                        CO     90010130611
455B9A62691569   CLARA        BACA                         TX     90011110626
455BB143672B43   EXTASSY      JIRON                        CO     90013871436
455BB198A5597B   SHANE        WARD                         CA     90014891980
455BB41AA72B36   DALLAS       BURKE                        CO     90009164100
455BB447772B3B   SUZIE        ROSE                         CO     90007904477
455BB686371999   TINA         FRIEDELL                     CO     38087856863
455BB7A1472B47   AKUA         AMOAKO                       CO     90008567014
4561197615B52B   RUTHIE       HAWKINS                      NM     90010779761
4561228825597B   EVA          BARAJAS                      CA     90014912882
45612616A4B271   ODNER        JAIMES- CASTILLAS            NE     90013306160
4561278178433B   JUAN         CONTRARAS                    SC     90006797817
4561294AA72B22   IMMACULATE   CLEANING                     CO     90010599400
45612969172B4B   FATIMA       MERCADO                      CO     90014959691
45615A65A72B47   COURTNEY     STODDARD                     CO     90013320650
45616935A8B355   KATIE        GROSS                        SC     90014729350
4561714988B16B   JENNIFER     JENSEN                       UT     90013541498
4561721A92B87B   VALERIE      SWANSON                      ID     41063792109
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4561729235597B   JOSE LUIS    AVALOS                       CA     90014912923
4561871385B58B   ORTIZ        ESTEFFANY                    NM     90007737138
4561872482B27B   WANDA        ATCHISON                     DC     90003947248
456196AA491873   PAUL         HUGHES                       OK     90013116004
456197A5491569   FATIMA       RODRIGUEZ                    TX     90001507054
4561B26368B355   RUTEREO      FERNANDEZ                    SC     11082232636
4561B76182B87B   AMY          HOWERTON                     ID     90014427618
4561B893572B3B   MAXINA       QUINTANA                     CO     90005348935
4561BA27172B43   JESUS        CORDERO                      CO     33099640271
45621435A5B53B   DAVID        WILLIAMS                     NM     35002004350
45621478672B3B   TASHARRA     HENDERSON                    CO     90010544786
4562287915B174   CAROL        BARNETT                      AR     23058998791
4562349525B53B   FRANKLIN     CHACON                       NM     90012864952
4562352215B53B   FRANKLIN     CHACON                       NM     90013755221
4562374A272B43   MARIA        DEMORALES                    CO     33068577402
45623A34772B3B   MRINA        ROOF                         CO     33046270347
45624165372B4B   DAMON        BOLTON                       CO     90012651653
456241A918B16B   ALICIA       DUPREY                       UT     90015221091
4562551395597B   LATASHA      WILLIAMS                     CA     90010035139
4562598848B355   SANDRA       CACEREZ                      NC     11093389884
45625A3525B222   JEALI        ONTANEDA                     KY     90010830352
4562637A55B53B   VANESSA      LEYHAN                       NM     90012243705
4562695668B16B   BRITTANY     ATWOOD                       UT     90011309566
45626A61572B43   DARREN       HILL                         CO     33006750615
45627165472B3B   JOHN         SMITH                        CO     90013681654
4562723592B27B   CONNIE       ANDERSON                     DC     90007272359
456272A4A72B3B   JACK         MENDOZA                      CO     33052022040
45627A2615597B   OLGA         SALMERON                     CA     49005460261
4562813A991569   GUADALUPE    PONCE                        TX     75078181309
45628379A2B87B   DEANNA       MILLER                       ID     90013943790
4562857112B87B   KRYSTAL      FELLERS                      ID     90013975711
4562861622B27B   LISA         THOMAS                       DC     90014866162
4562993742B87B   LAURANCE     BLACK                        ID     90005389374
4562B117672B36   JORGE        DE LA CRUZ                   CO     33003261176
4563158247B472   GERMAN       HERNANDEZ                    NC     90008545824
4563179368B16B   TIFFANY      CHANCELLOR                   UT     90015337936
45631818A8B16B   KIMBERLY     PROKOPIS                     UT     90002938180
4563225478B355   DIXON        ROARK                        SC     90013362547
456324A7672B4B   DONTE        BIRDSONG                     CO     33041694076
45632539372B43   CHUMEL       MORALES                      CO     90012285393
4563329765597B   ALFREDO      AREVALO                      CA     90010172976
45634546A51334   DAWN         MILLER                       OH     66051935460
4563529765597B   ALFREDO      AREVALO                      CA     90010172976
4563573275B52B   AMANDA       MAES                         NM     90010967327
4563586655B174   TIMOTHY      BROWN                        AR     90006288665
4563588252B27B   ROBERT       JONES                        DC     90011878825
45636379A2B87B   DEANNA       MILLER                       ID     90013943790
45636A9A64B271   WILLIAM      VIGNERI                      NE     90006090906
4563721492B27B   TAIWO        OWOEYE                       VA     81077242149
4563727522B87B   ADRIENNE     APARICIO                     ID     90015162752
45637AA588B165   SENETI       KATOA                        UT     90012920058
4563851342B27B   JONATHAN     KIRKLAND                     DC     90013465134
456386AA65B53B   ANNA         MADRID                       NM     35005456006
45638768172B4B   JAMIANNE     ANDERSON                     CO     90015117681
45638A6444B271   STEPHANE     KONE                         NE     90004200644
4563932AA72B36   FERMIN       PERALES                      CO     33069543200
456393A587B467   ELDER        ROMERO                       NC     90003453058
456398A375B58B   JOHN         BENTON                       NM     35017538037
4563B22577B431   JAMES        FLEMING                      NC     90009782257
4563BA19371999   ADAM         WILLMERT                     CO     90012910193
4563BAA974B271   MATTHEW      SNYDER                       NE     90014510097
4564129635597B   FELIX        MARTINEZ                     CA     90011762963
45641A41891569   LEOPOLDO     DE LA ROSA                   TX     90008050418
45641A67361963   JANETT       CORTES                       CA     90012510673
45642843A51361   SHTEQUINA    RAY                          OH     66064318430
4564375698B151   MICHAEL P    CLOUGH                       UT     90000767569
45643A2515B58B   ANGELICA     TENA                         NM     35044140251
45644639872B36   MARIA        GABALDON                     CO     33025406398
4564555AA2B87B   ANNABELLE    JONES                        ID     41067315500
4564648962B87B   MALISSA      WATTS                        ID     41095234896
4564675275B58B   MEGHAN       ARCARO                       NM     35037707527
45646A16247954   MEGAN        HICKS                        AR     90012660162
4564734885B222   KIMBERLY     MEREDITH                     KY     90012163488
4564855815B53B   CORRINA      BARRY                        NM     35056515581
4564894115B222   DEMETRIUS    COHEN                        KY     90006499411
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45648993872B43   TERENCE      EDLOS LYLES                  CO     33066119938
4564931A171999   NICOLE       MCGRATH                      CO     90008053101
4564965A484336   RICHARD      ALFANO                       SC     19051436504
4564975822B87B   JAMES        REYNOLDS                     ID     41003107582
4564B2A9191569   ROCIO        HINOJOSA                     TX     75066922091
4564B83654B531   PHILLIP      BAKER                        OK     90008488365
4564B87A28B16B   ANDY         NAVARRO                      UT     90013358702
4564BAA1451348   IRA          GANSLER                      KY     90012100014
45651319498B25   TANGELA      WHITE                        NC     11060603194
45651744A51334   JENNY        DEES                         OH     90011967440
4565232666197B   EFIGENIA     FERNANDO                     CA     46073073266
45652379A2B87B   DEANNA       MILLER                       ID     90013943790
45652674A91873   KIM          FEIOCK                       OK     21088036740
45653486272B3B   CECILIA      LOPEZ                        CO     90010544862
4565367925B58B   VINCENT      MEDURE                       NM     90010926792
45653A98671999   MARY         MARTINEZ                     CO     90014430986
4565475A854121   ROSELYN      PUCKETT                      OR     90012337508
45654883572B36   BERTIN       BARRON-PAREDES               CO     90014348835
4565518A55B52B   ALEXANDRIA   RITCH                        NM     36091601805
45655479A5B145   WINNIE       GIVENS                       AR     90010594790
4565572955B376   CASSANDRA    SCROGGINS                    OR     90001237295
45655948A4B271   CHRISTINE    LAVERA                       NE     90011279480
4565695545B551   JESSICA      SEDER                        NM     35098709554
45657742A2B27B   ELVA         TURCIOS                      DC     90013037420
45658862A91523   MAYRA        MORALES                      TX     90007288620
4565898725B58B   JESSICA      LEYBA                        NM     90010949872
45659777172B3B   DANE         INGLIS                       CO     33093557771
45659868572B4B   MARTHA       SOLIS                        CO     33075348685
4565B244561963   MARY JANE    LOPEZ                        CA     90013822445
4565B532355939   CHRISTINE    HOUSER                       CA     90011205323
4565B613172B36   CORI         SMITH                        CO     90012786131
4565B867691873   JOMEKIA      PORTER                       OK     90010658676
4565B99A491988   IVY          WORLEY                       NC     90007949904
4566147785B53B   ANGELA       BENAVIDEZ                    NM     35041014778
4566185785B222   ELAINE       RICE                         KY     68013838578
4566261948B355   PEGGY        FOSTER                       SC     90000586194
45663256A47954   JONATHAN     HERNANDEZ                    AR     90013282560
4566434398B355   NORMA        ROJAS                        SC     90002603439
456649A8172B43   LUIS         CASTRUITA                    CO     33009859081
4566532A47B46B   WILLIAM      MASON                        NC     90002043204
4566541285597B   ERIC         DE LA CRUZ                   CA     90011764128
45666493472B43   MITCH        KELLER                       CO     90014224934
4566685685B222   CHANDRA      SMITH                        KY     90010848568
45667A89871999   ANDREW       AGUIRRE                      CO     90013320898
45669A6AA2B87B   SEAN         OAKLEY                       ID     90015080600
4566B582A5B174   TERRANCE     STEWART                      AR     90013075820
4566B63833B33B   MIGUEL       MENDOZA                      CO     90000506383
4566B945755939   CONNIE       PASHAL                       CA     90005089457
4566BA48354195   CAROL        HARRIS                       OR     90013740483
4567112415B53B   JAMES        WHITE                        NM     35096271241
45671552972B3B   KRISTI       SMITH                        CO     33012925529
456716A395B52B   PHILIP       HERRERA                      NM     90006656039
4567172834B271   JUAN         TORRES                       NE     90014847283
4567246715B58B   TABITHA      DIFFIE                       NM     90015104671
45672856272B3B   CHIRLEY      MCMANAMAN                    CO     90013038562
4567294945597B   DANIELLE     FONSECA                      CA     90014919494
4567337A484368   JOSE         RENTERIA                     SC     14507143704
4567356135B222   FREEDA       NADDOX                       KY     90014385613
4567364615B52B   CATHERINE    MARTINEZ                     NM     90006116461
45673A87951334   JEFF         COLEMAN                      OH     90015320879
4567488A82B87B   JENNIFER     WOODMAN                      ID     90009578808
4567518675B53B   TOMOYOSHI    STEWARD                      NM     90010421867
45676229872B43   JESUS        CHAVEZ                       CO     90003522298
4567625248B16B   TRISTIN      GORRET                       UT     90007582524
4567638A872B4B   ALEXANDRA    ROBINSON                     CO     90015443808
456777A9A8B355   JESSENIA     CHINCHILLA                   NC     90011327090
4567838A172B43   ALVERTIS     SIMMONS                      CO     90008633801
4567849A972B36   MESMIN       HAZOUME                      CO     33045584909
4567924682B87B   JAMES        ANUNDSON                     ID     41076672468
4567927A447954   RONALD       PRYOR                        AR     90012702704
4567934338B16B   ROBERT       JEPSON                       UT     31034713433
456794A9772B4B   BILLY        SMITH                        CO     90011084097
456796A395B222   JUAN         HUNTER                       KY     90014726039
4567972A251334   HALEY        FAULKNER                     OH     90014347202
4567B357361963   WALEED       ISHAQ                        CA     90009903573
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4567B816372B43   JULIO        ESTRADA                      CO     90010748163
4567B85885597B   RITA         PEREZ                        CA     49005098588
45681425772B43   JESUS        ESQUEDA                      CO     90009564257
4568154555B58B   JASMAINE     VALDEZ                       NM     90014705455
4568181A471999   LEO          TAPIA                        CO     90012398104
45682484772B38   DELON        RADEBAUGH                    CO     90007534847
456828A742B921   PANCHOVIA    GG                           CA     90009058074
4568344A571999   HOLLY        RIEKE                        CO     38096824405
4568389798B165   LANCE        MONTIE                       UT     90006198979
45683AA888B355   QUANTIS      ANTHONY                      SC     90010810088
45686262A5B58B   AMANDA       CHAEZ                        NM     35010002620
45686458672B47   NICOLE       GUTIERREZ                    CO     90012644586
4568664864B271   ALPINIANO    MORALES                      NE     90013596486
45686A2338B16B   CARLOS       RAMIREZ                      UT     90015030233
45686A92191523   PATY         HERNANDEZ                    TX     90011260921
45687113A91988   JOHNNETTA    MAYES                        NC     90008081130
4568714947B461   KATHY        LOCKLEAR                     NC     90012531494
4568751935B174   DESERAE      MURPHY                       AR     90010495193
45687844372B4B   GENRIETTA    GOLDEN-DUBO                  CO     90014278443
45688A3A872B3B   SHANNON      ISENHOUR                     CO     33009240308
45688A65272B3B   JULIE        WARNER                       CO     90011180652
45689181A7B461   ASHLEY       STRONG                       NC     90012531810
456894A5A4B271   BECKI        HILBURN                      NE     27006564050
45689825A5B222   PHILLIPA     GLASCOE                      KY     68095858250
45689A11991873   PAULA        WESLEY                       OK     90014160119
45691513A72B36   STEPHANIE    TACINAS                      CO     33057545130
45691654172B43   RHONDA       MAYS                         CO     33011456541
4569256155B52B   DONNY        LOPEZ                        NM     36012365615
4569257644B582   SHIRLEY      WILLIAMS                     OK     90011435764
456925AA991988   MARK         POUNDS                       NC     90013145009
4569264682B27B   SHANNA       DICK                         DC     90014816468
456931A685597B   ALICIA       NUNEZ                        CA     90012171068
45693825A5B222   PHILLIPA     GLASCOE                      KY     68095858250
45694795A7B421   LEOLA        ROSS                         NC     11024297950
4569565667B421   ASHLEY       WEAKS                        NC     90006366566
456958A6672B43   CORI         BROWN                        CO     90012038066
45696758772B3B   JESUS        PARRA                        CO     90007077587
4569859415B53B   RICARDO      RUIZ                         NM     90010365941
4569B48945B53B   UTAHNA       BELONE                       NM     90014304894
4569B729581682   REBECCA      BARRAZA                      MO     90015137295
4569B947A6197B   EJIGEYEHU    ABEBE                        CA     46000799470
456B123A18B186   TIMARIE      BAXTER                       UT     31076232301
456B127A75B53B   JESUS        CHAVEZ                       NM     90013312707
456B1416561999   BEN          WYNN                         CA     90002354165
456B1696A8B355   KEISHA       WILLIAMS                     SC     11035006960
456B1A88647954   FRANCISCO    CALDERON                     AR     90007040886
456B2474172B36   KAREN        ENRIQUEZ                     CO     33032414741
456B2A63772B4B   FEDERICO     HERNANDEZ                    CO     90010660637
456B323452B27B   JAMES        FREDERICK                    DC     90012362345
456B3397791988   SHADA        SMITH                        NC     90001893977
456B3434691523   BRENDA       CASEBOLT                     TX     90009264346
456B36A3972B24   JOHN         ROSS                         CO     90009386039
456B451818B16B   ASALELE      SEMAIA                       UT     90014675181
456B461555B58B   LEANORD      ARAGON                       NM     90010026155
456B468A172B36   GABRIEL      GONZALEZ                     CO     33012376801
456B4938491873   LESA         BARNETT                      OK     90014159384
456B53A565B174   KATHARYN     BRACY                        AR     90013673056
456B56A7191988   YURI         PENA                         NC     17080076071
456B5968881639   MARISA       MAN                          MO     29042569688
456B5A1A15B58B   FELICIA      WILLIAMS                     NM     90008410101
456B6539A93767   JAMICA       RUSSELL                      OH     64549695390
456B6783547954   BERNABE      FARIAS                       AR     25040177835
456B67A5958528   ISAIS        PEREZ                        NY     90015547059
456B728825597B   EVA          BARAJAS                      CA     90014912882
456B7487891523   RICARDO      OLIVA                        TX     90008874878
456B7865555939   ANTHONY      MORTENSEN                    CA     90015018655
456B8115991569   FRANCISCO    RETANA                       TX     90015201159
456B849465B174   SHAHEED      BLAKELY                      AR     90015504946
456B911A463628   TAYLOR       SLAPE                        MO     90005031104
456B921A35597B   MICHAEL      BONK                         CA     90012782103
456B944968B16B   KATHIE       CHERRINGTON                  UT     31047794496
456B955A88B355   COREY        SEARGENT                     SC     90014305508
456BB23A772B4B   DORA         ROBERTS                      CO     33079512307
456BB564261963   JAMES        PRESTON                      CA     46065545642
456BB634571999   ROWDY        WOODS                        CO     90012246345
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456BB65618B355   ERICA          THOMPSON                   SC     90014996561
456BB9A1A8B355   TERRANCE       DAWKINS                    NC     90011919010
456BBA3815B58B   MARRS          ANTHONY                    NM     90004890381
45711342972B43   SHILAMONIQUE   LUCERO                     CO     90007483429
4571149995B52B   DEBBIE         DURAN                      NM     90001484999
4571219398B16B   REMMELT        OTTO                       UT     31086291939
4571474A15B58B   LUCIO          DURAN                      NM     90015187401
45715A95391523   LESLIE         MILAN                      TX     90011260953
4571641A62B87B   CYNTHIA        MACCLANATHAN               ID     41065624106
45716A26A5597B   JOHNNIE        MORENO                     CA     90014920260
457172A7147954   ANDRES         LOPEZ                      AR     25019792071
4571754245597B   WILLIAM        GIBSON                     CA     49072835424
4571763389376B   LINDA          DICKERSON                  OH     64507346338
4571774925B52B   THEODORE       MARTINEZ                   NM     36033357492
45717A3A391873   TERESA         PINA                       OK     90014160303
457186A655B53B   FILEMON        PEREX                      NM     90013176065
4571882785597B   CARMEN         SOTO                       CA     90003368278
4571978328B355   JANET          BRADLEY                    NC     90013347832
4571B21775B174   TANISHA        WHITE                      AR     90014902177
4571B641972B36   MELISSA        AVILA                      CO     33081456419
4571B85A761967   GUADALUPE      RODRIGUEZ                  CA     46008238507
4572279947B342   LAWANN         SMITH                      VA     90005077994
4572293784B271   TIFFANY        KESTER                     NE     27014629378
4572354125B52B   MICHELLE       MORALES                    NM     90011175412
4572363A35B53B   JASON          MINNOTTE                   NM     90014346303
45724233A4B271   GREG           MORRIS                     NE     27060292330
4572426616197B   RUBEN          LUNA FLORES                CA     46024572661
4572434135B222   ANGEL          VIDALES                    KY     90014473413
4572468166195B   REYNA          LOPEZ                      CA     46000146816
4572496262B27B   SHAMIKA        GUNN                       DC     90013379626
45725521672B36   MARY           SALAZAR                    CO     90012885216
457255A5972B4B   ROBERT         BARKER                     CO     90008365059
4572581455B58B   ELVIRA         BUSTILLOS                  NM     35099618145
4572584648B16B   RYAN           NOBLE                      UT     90013778464
45725A26A2B27B   TADESSE        KEBEDE                     DC     90009150260
457271A9491988   TIFFANY        SMITH                      NC     90013841094
4572753565B53B   ALISON         COURTOIS                   NM     35021845356
45728575172B43   SAMANTHA       JOHNSON                    CO     90012105751
4572868565B58B   VERONICA       LLAGUNO                    NM     90014816856
45728692572B4B   JUAN           DE DIOS                    CO     90012426925
457288A998B16B   ANTHONY        SORGENTE                   UT     90010778099
4572961265B53B   TOBIAS         MASCARENA                  NM     90013526126
4572975742B27B   GEORGE         PETTAWAY                   DC     90011557574
4572B219371999   CHOLE          KILE                       CO     90013392193
4572B526984342   ALBERT         JRIARTE                    SC     90014945269
4572B871891569   DANNY          CHAVEZ                     TX     90010538718
4573119882B27B   NASHAUN        GAITHER                    DC     90015031988
4573123535B222   SONIA          HEAD                       KY     90011442353
45731381272B4B   MICHAEL        BERNAL                     CO     90012793812
45733882A61963   FERNANDO       MOLINA                     CA     90003098820
4573482A92B87B   ALICIA         WIMMER                     ID     90008528209
45734A15372B36   TERRANCE       WEAVER                     CO     90002140153
45734A76472B43   LAURA          PEREZ                      CO     33031880764
45735516A8B355   SANTOS         FUNES                      SC     90003685160
4573585A772B36   KYLE           HASKELL                    CO     90009058507
4573643A25B222   TARENCE        CAMP                       KY     90011524302
4573689425B174   TERRELL        DICKERSON                  AR     90010978942
45737287A2B27B   NEALY          JOHNSON                    DC     81008372870
45737429972B43   BRANDI         WINDHORST                  CO     90011864299
4573778A972B4B   CAMILA         PEREZ                      CO     33028867809
45738532672B36   DESI           JACKSON                    CO     90013375326
4573863915B174   TEANNA         WILLIAMS                   AR     23075496391
4573923835B174   WILLIE         DEMYERS                    AR     90001422383
4573958A591569   SUGEY          VAZQUEZ                    TX     75098825805
45739712372B3B   MICHELLE       CASIAS                     CO     90011107123
4573B35385B222   KAILYN         JORDAN                     KY     90013563538
4573B85762B27B   CATHERINE S    HINDS                      DC     90011258576
4574155A472B43   SANDRA         RIVERA                     CO     33014255504
4574177995B174   JUAN MANUEL    AVILA                      AR     90015587799
4574191392B87B   RODNEY         HOLCOMB                    ID     41014379139
45743473676B99   FLOR           ALARCON                    CA     46011524736
4574442855B53B   PALMIRA        GUTIERREZ                  NM     90004294285
45744765A5B52B   ERIC           RAMIREZ                    NM     36081007650
4574494475B53B   PALMIRA        GUTIERREZ                  NM     90012479447
4574528934B271   TRACY          MILLER                     NE     90002462893
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457456A932B238   DANIEL          GREENBERG                 DC     90006366093
457461A728B355   NORMA           DOMINGUEZ                 SC     11004521072
45746732872B43   RACHEL          GALLEGOS                  CO     90015257328
4574681685B174   DENISE          FISHER                    AR     23084048168
4574696272B27B   JUSTIN          CADLE                     DC     90014009627
45746A9745B222   CHRISTY         FEGER                     KY     90008930974
45747A2675597B   RUDY ENRIQ      MARTINEZ                  CA     49045140267
457483A6881639   SHAUN           MCGHEE                    MO     90014073068
457488A895B272   KIM             HALE                      KY     68017278089
45748A53161963   CHRISTINE       WEBB                      CA     90011970531
45749282272B43   CRISTIAN        PENA MORALES              CO     90014362822
45749654A5597B   MANUEL          ROQUE                     CA     90003116540
4574B761171999   MICHELLE        BRADLEY                   CO     38033867611
4574B79642B27B   BOBBY           SINGH                     VA     90013147964
4574B81A791873   MICHAEL         LOETHER                   OK     90013358107
4575237A85B222   JAMES           CAUDILL                   KY     90007863708
45753A43472B38   JAMIE           TRUJILLO                  CO     33040600434
4575461885B222   DAVID           ROSENBERG                 KY     90015146188
45755376472B3B   JUANA           DERODRIGUEZ               CO     90007803764
45755891872B4B   DAMIEN          MICHAEL-LAVALEE           CO     33004148918
4575592282B87B   JONATHAN        MARBLE                    ID     90013949228
45755A55584336   KHERI           BATTLE ESTEVES            SC     90008080555
45756182172B36   MELVIN          SCOTT                     CO     33087791821
457562A9A72B43   JUAN            ANDRADE                   CO     90011152090
4575633555B174   LEVESTER        BOYLAND JR                AR     90010523355
45757269A72B43   EPHREM          GETACHEW                  CO     33004062690
45757A12961966   HELEN           CONTRERAS                 CA     90006030129
45758256472B43   ANGELA          AGUILAR                   CO     90010262564
45758341972B3B   JOSH            OBRYAN                    UT     33024663419
45758A68191873   LEONEL          SOTO                      OK     90014160681
4575927258B16B   BERTHA          OCAMPO                    UT     90011082725
45759451472B4B   JAY SHIELA      PENA                      CO     90015204514
4575B56845B53B   JONATHAN        ORTIZ                     NM     90014435684
4575B687771999   JORDAN          WOOD                      CO     90012686877
4575B939291988   JOSE LUIS       CASTILLO                  NC     90013919392
4575B9A7155939   LARRY           DONNELL                   CA     90012909071
4575BA8A391873   JESUS           LOZARIA                   OK     90001620803
45761116A91523   DISMAS- MARIO   MORENO                    TX     90011261160
4576222993619B   ELIZABETH       BALADEZ                   TX     90007902299
45763266572B3B   WILMER          CRUZ                      CO     90015182665
4576364A45B222   ZAKEE           AJENE                     KY     90013746404
45763767472B3B   MIRANDA         SUMNER                    CO     90004997674
45763776A55939   JOSE            RAMIREZ                   CA     90013397760
4576383272B87B   REINA           SCHOCH                    ID     90014158327
4576417747B421   JEREMY          FERGUSON                  NC     90014781774
4576431A672B36   LOUIS           GONZALES                  CO     90011453106
45764A64772B43   KAYLA N         KROLL                     CO     90013310647
4576579642B27B   BOBBY           SINGH                     VA     90013147964
45765975A51334   JOHN            COMACK                    OH     90010379750
4576627754B271   DARNELL         DAVIS                     NE     90013572775
4576717AA72B3B   MIKE            SAMPAIA                   CO     90013361700
4576797283B394   KATIE           SOLA                      CO     90008139728
4576886145B222   STELLA          MAXWELL                   KY     68003638614
4576923A472B36   DAISY           ALDERETE                  CO     90013932304
4576B1A9761963   GABRIEL         ANDERSON                  CA     90012931097
4576B689672B3B   CRISTOBAL       JIMENEZ                   CO     90012166896
4576B761171999   MICHELLE        BRADLEY                   CO     38033867611
457714A8A2B27B   ROLAND          GODWIN                    DC     90015324080
45771542172B3B   NADIENKA        FERMIN                    CO     90010545421
457718AAA9B149   TARA            NORWOOD                   MO     27512308000
45772384372B4B   LEEANNE         STENGEL                   CO     90015443843
4577271248B167   GLADYS          ESTRELLA                  UT     90004297124
457729A2272B43   MARIA           RODRIGUEZ-MORA            CO     90013619022
45773415572B4B   JODIE           GONZALES                  CO     33007304155
4577376A95597B   JAUN RAMON      RIOS                      CA     90011767609
4577386255593B   MICHEAL         MARTINAZZI                CA     49064788625
45773A48972B43   LIZET           VASQUEZ                   CO     90012800489
45774846A72B43   DENISSE         LOPEZ VEGA                CO     90012128460
45774A71372B3B   JESSICA         CHAVEZ                    CO     90014670713
4577578345597B   NISA            DE LA GARZA               CA     90011767834
457762A6A81639   MARIA           PALOBLANCO                MO     90004302060
4577672695B174   YOLANDA         BUNCHE                    AR     90015047269
45776A69291873   TERESA          PINA                      OK     90014160692
457774AA54B271   BRYNESHA        DICKSON                   NE     27088834005
4577839458B165   SHALENE         TURNER                    UT     90010123945
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4577843AA91873   ARCELIA        GARCIA                     OK     90010564300
457791A255597B   VIRGINIA       HALL                       CA     90014921025
4577923A591569   JORGE          TORRES                     TX     90011552305
45779319672B3B   CHERIE         HATEN                      CO     33050883196
45779A6248B16B   ABRIL          HIDALGO-MACHORRO           UT     90012800624
4577B333191394   STEVE          MARTIN                     KS     90006183331
4577B3A8171999   MICHELLE       SANCHEZ                    CO     90009393081
4577B639691569   ISELA          GILLAM                     TX     90015126396
4577B718972B43   DAVID          TURNER                     CO     33058477189
45781238672B85   ALEJANDRA      RIVERA                     CO     90013672386
45781599A5597B   MARCOS         VALLEJO                    CA     49088885990
4578162138B16B   RODNEY         COOK                       UT     90012906213
45781989A51334   DENNIS         PARTIN                     OH     90007669890
4578337763B399   CANDY          AUSTIN                     CO     90011243776
4578489465B174   CHESNEY        GARDNER                    AR     23011298946
4578628568B355   CHANDRIA       DICKERSON                  SC     90000992856
4578649525B58B   LORENZO        ELWOOD                     NM     90010104952
4578665198B16B   GLADYS         MAGELE                     UT     90010936519
4578719472B27B   LATISHA        BURNS                      DC     90010531947
45787216A8B165   SHANNA         CHIVERS                    UT     31019872160
45787569772B36   JERRY          GONER                      CO     90003245697
45788219772B3B   JOSE M         MOSQUEDA TORRES            CO     90013032197
457892A1972B43   JOSEPH         MARTINEZ                   CO     33077462019
4578B147281639   MARJORIE       FRYE                       MO     90002711472
4578B467593724   STACIE         VANBEBER                   OH     90009264675
4578B55A25B378   LARRY          SOFICH                     OR     44528055502
4578B8A5861963   SERGIO         GARCIA                     CA     90011418058
4578B936691394   RIGOBERTO      MADRID                     KS     29089459366
4578BA45791988   JENNIFER       OWENS                      NC     90015130457
4579153625B53B   PATRICK        CHAVEZ                     NM     90015155362
45791A52391241   GREGORY        PEED                       GA     90009940523
4579237818B355   YURINA         SANTOS                     SC     90012623781
45792412A81669   LISA           KIRKDOFFER                 KS     29076484120
457925A3191569   ERIKA          DE LEON                    TX     90011155031
4579278818B165   VALARIE        TAYLOR                     UT     31064047881
4579328A851334   AMANDA         MERRITT                    OH     90013852808
4579397682B87B   TAYLOR         WYBLE                      ID     41006189768
4579411425597B   GABRIEL C JR   MORENO                     CA     90014921142
45794219772B3B   JOSE M         MOSQUEDA TORRES            CO     90013032197
457942A585B174   MARCELLUS      CARPENTER                  AR     90015032058
4579494657B421   KENNETH        ERWIN                      NC     90006709465
45794A17771968   DEBORAH        KUHEL                      CO     32031090177
4579511425597B   GABRIEL C JR   MORENO                     CA     90014921142
4579595845B174   AMELDA         ALCORN                     AR     23082419584
45795973172B3B   AARON          WILLIAMS                   CO     33038979731
45796A64291873   WHITNEY        PERKEY                     OK     90013670642
4579711795597B   RITA           GUERRERO                   CA     90014921179
457973A9391873   MICHEAL        DAVISON                    OK     90010143093
4579746A55B594   BENJAMIN       FELIX                      NM     35090714605
4579751195B58B   MATTHEW        HOLTZCLAW                  NM     90012925119
4579817734B271   ROBERT         MANKAMYER                  NE     90014901773
457981A1971999   JESSICA        MARTINEZ                   CO     90001461019
4579875665B58B   ANGELA         SALCIDO                    NM     90010697566
4579886485597B   ZENOBIA        COLEMAN                    CA     90004338648
4579891A75B53B   JUDY           POPE                       NM     90003099107
45798A61955939   JERMELA        MAYBERRY                   CA     90009480619
4579B562372B3B   MANUAL         LOPEZ JR                   CO     90000125623
4579B5AA75B53B   MARIA          AVILA                      NM     90014985007
4579B752A47954   KIRK           BAFFLER                    AR     90012307520
4579B75A95B523   JOJOLA         DEVAN                      NM     90008447509
4579B984A2B27B   AROLDO         VILLACINDA                 DC     90013749840
457B148A755939   ADELINE        TRUJILLO                   CA     90014814807
457B179285B174   SHANEIKA       GILL                       AR     90011337928
457B234558B355   PRESTON L      HILLIE                     SC     90005373455
457B282644B271   DWAINE         GOINGS                     NE     90009438264
457B3415372B36   DANIELLA       MISSEY                     CO     90014634153
457B354855B52B   ROSA           MATA ALVARADO              NM     90008565485
457B4589472B47   CRYSTAL        KETTELER                   CO     90008295894
457B4A3445B174   FELIPE         HERNANDEZ AGUILAR          AR     90009410344
457B4A92A5B58B   CRYSTAL        MENDOZA                    NM     90008670920
457B514328B355   JOSELUIS       DELVALLE                   SC     90013341432
457B5752972B43   RANDALL        EVANS                      CO     90009257529
457B575822B87B   JAMES          REYNOLDS                   ID     41003107582
457B5A9585B53B   ROQUE          IRIGOYEN CARRASCO          NM     35079890958
457B6165A61967   QUEEN          BEEQ                       CA     46053421650
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457B6615372B4B   CHRISTY      GARRETT                      CO     90001586153
457B721315138B   MICHAEL      DUNN                         OH     90009942131
457B738172B87B   STEVE        HEBERER                      ID     41065033817
457B7719A58528   MAIDIARELY   ALICEA                       NY     90015527190
457B7A6595B222   ASHLEY       BACHELOR                     KY     68089940659
457B8325472B4B   CHAMBRI      LOVAN                        CO     90014983254
457B84A358B165   SYDNEE       SOTER                        UT     90000934035
457B872972B27B   JOSE         HERANDEZ                     DC     90013307297
457B887515B52B   ANA LUISA    LOZOYA                       NM     36009118751
457B921165597B   JULIZA       CARRILLO                     CA     90012782116
457B92A4461967   ESTHER       GRAJEDA                      CA     90002872044
457B9446272B3B   C'LSTE       THOMAS                       CO     33097144462
457B9596471999   RAYMUNDO     CHACON                       CO     90009115964
457B99A2272B4B   MARIA        RODRIGUEZ-MORA               CO     90013619022
457BB74612B27B   KAREN        SCOTT                        DC     90011257461
4581137885B58B   JOSEPH       JONES                        NM     90014293788
45811778A72B3B   BAUDILIO     CASIA                        CO     90013667780
45811A49A72B43   DREW         FISHER                       CO     33077990490
4581246315B222   KATRINA      HALL                         KY     90013994631
45812A37372B43   JUANCARLOS   RIMOLDI                      CO     33016490373
4581432868B355   JACOB        MCCANN                       SC     11075203286
4581455999155B   FRANCISCO    RODRIGUEZ                    TX     90012095599
4581515475B58B   ARLO         ABBOTT                       NM     35060461547
45815194A72B36   CELINE       GARCIA                       CO     33047691940
4581572185597B   ARTURO       TECONA                       CA     49000837218
4581588A291873   DOUGLAS      HOUSE                        OK     90012598802
458162A235B174   MARLON       BIRTS                        AR     90014512023
4581655533163B   SAM          RESENDEZ                     KS     90010985553
4581667745597B   MISS XIA     VANG                         CA     49028566774
4581681368B355   KALIA        NEBLETT                      SC     11009448136
4581693325B555   CARMEN       HENRY                        NM     90011059332
4581697952B896   ANDREW       HENDERSON                    ID     41003709795
45817429A8B16B   ROMEO        FUENTES                      UT     90014884290
4581783825B52B   KRISTINA     LOPEZ                        NM     90008928382
4581892A172B3B   MIREYA       CRUZ                         CO     33091519201
4581988328B355   LASASHA      WALKER                       SC     90001868832
4581B2A3372491   SANDIE       FONNER                       PA     90008362033
4581B54125B58B   BARBARA      KEYS                         NM     90013315412
4581B549972B3B   ERICK        JAMES                        CO     90010545499
45821821472B36   LEOPOLDO     SALCIDO GARCIA               CO     90014698214
4582184745138B   DEBBIE       CAMPBELL                     OH     90011048474
45821A48991569   HUGO         HERNANDEZ                    TX     75004780489
4582214A691873   MARCIA       KINDELL                      OK     90014161406
4582262837B452   TIM          FLEMING                      NC     90002986283
45822748A8B16B   WILLIAM      EATON                        UT     90013457480
4582329A172B4B   KENNETH      DAVISON JR                   CO     90013762901
4582432612B87B   DEANA        SCOTT                        ID     41012713261
4582434455B53B   JAMIE        VALVERDA                     NM     35012113445
4582455984B271   PRIMITIVO    JIMENEZ                      NE     27056325598
4582525988B355   CORA         WARD                         SC     90005292598
4582537A15597B   JANELL       POSTERT                      CA     49030893701
4582553562B87B   VICTORIA     MCLEAN                       ID     90005645356
4582553755B174   MICHAEL      RITCHEY                      AR     90009745375
45825628672B3B   ALFRED ELI   SHORTT                       CO     90001276286
4582575A38B165   ELENIT       BAZAN                        UT     31034317503
45825A28151348   KHALILAH     TITSWORTH                    OH     90007980281
4582675554B539   CARROLL      WINGERT                      OK     90012497555
4582786A261963   ANITA        ADIBOYE                      CA     46016958602
458279A4A22463   PATRICIA     CARRILLO                     IL     90010259040
45827A7568B16B   JUDITH       ROMERO                       UT     31045320756
45828176A91873   PAULA        VALDEZ                       OK     90014161760
4582845422B84B   TESFAY       HABTEMICAEL                  ID     90011984542
4582849825B222   KENNETH      WRIGHT                       KY     90010174982
458295AA891873   ANNETTE      WAGNER                       OK     90013945008
4582B221172B3B   JOSE         BARRASA                      CO     90013032211
4582B335972B4B   TOM          HOLMES                       CO     33028883359
4583188495597B   CYNTHIA      RODRIGUEZ                    CA     90014928849
45832716A72B4B   CRAIG        LARSON                       CO     90014377160
4583299528B355   LAQUANDA     ROBINSON                     SC     90012939952
4583328748B16B   JEREMIAH     CARLSON                      UT     31001042874
4583349552B27B   GEORGE       WIGGINS                      DC     90013744955
45833683A91988   RAFAEL       AGUILAR                      NC     90014556830
45833A2155597B   BRENDA       PIERSON                      CA     49061100215
4583414A65B58B   RAYMOND      AGUILAR                      NM     90006251406
45834183A4B271   NATHAN       SHADY                        NE     90011551830
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458342AA85B174   BRIANA       HIGGS                        AR     90011412008
458351A348B16B   TARYN        RAY                          UT     90012031034
45835266772B3B   RUTH         GUARDADO                     CO     90015182667
458357A3A5597B   SPENCER      HANKS                        CA     90010497030
45836131172B43   ELIZABETH    ARMIJO                       CO     90013961311
4583624618B16B   EUTIMIO      SANDOVAL                     UT     90014622461
4583659552B87B   JENNIE       DEVLIN                       ID     41024915955
45837179A91873   MICHAEL      KINDELL                      OK     90014161790
45837891A5597B   SARA         TAFOLLA                      CA     90011768910
4583814415597B   SARAH        GONZALES                     CA     49012121441
4583839892B27B   TONTILEIA    WASHINGTON                   DC     90006663989
4583839A98B165   MAURICIO     LOARCA                       UT     90005453909
45838531A4B271   MIKE         KHAN                         NE     27007915310
4583986A171999   STEVEN       WEIDNER                      CO     90013988601
4583B78992B27B   ARNETTE      YOUNG                        DC     90007687899
45841224672B3B   SERGAO       MARTINEZ                     CO     90013032246
4584145895B926   EFRAIN       ARROYO                       WA     90014744589
4584256996197B   ELIZABETH    GARCIA                       CA     46091915699
45843344972B4B   CONNIE       CASANOVA                     CO     33051513449
4584351158B355   JARROD       PATTERSON                    SC     90011535115
4584393A88B16B   MELANIE      WALKER                       UT     90000909308
4584491918B16B   TINA         BURSON                       UT     31087129191
45845657572B4B   NICOLE       MCCOY                        CO     33091616575
4584588715B594   MARGARITA    ROMERO                       NM     90012238871
45845997372B43   LISA         SAMAIN                       CO     33048249973
45846225772B3B   LUIS         HERNANDEZ                    CO     90013032257
45847132A61945   MIGUEL       GARCIA                       CA     46049471320
458471A728B355   NORMA        DOMINGUEZ                    SC     11004521072
458481A9372B4B   ANTHONY      GALLEGOS                     CO     90014511093
4584B735451334   LANI         WILLIAMS                     OH     90008857354
45851229572B3B   LEONARD      CASADOS                      CO     90013032295
45851497172B4B   SARAH        REITENBAUGH                  CO     33028474971
458515A154B271   EZEQUIEL     GUZMAN-RAMIREZ               NE     27057115015
4585198A98B355   ANGEL        MATA                         SC     90005349809
4585217628B16B   ANGELA       RICHARDS                     UT     31054161762
4585371A447954   SAUL         RIVERIA                      AR     25071017104
4585449912B27B   JASMINE      HALL                         DC     90011994991
4585483692B921   MIGUEL       MENDOZA                      CA     90012998369
45856557A72B3B   VERONICA     DELGADO                      CO     33027355570
4585666425B58B   ISABEL       LEDEZMA                      NM     35043706642
45857134A72B3B   FEDERICO     ZAPIEN                       CO     90013311340
4585793175597B   MARIO        MONZON                       CA     90011769317
45858561A71999   LORETTA      LUCERO                       CO     90012315610
4585891665597B   OLIVIA       CONTRERAS                    CA     90014929166
458596A3133B55   TARA         POMEROY                      OH     90015496031
4585B57455597B   MARIA        ZARATE                       CA     90012965745
4585B58112B27B   GIOVONN      ROBINSON                     DC     90013445811
45861164972B3B   OSCAR        GALVAN                       CO     90015121649
4586119945B174   PAULA        MILLS                        AR     90013341994
4586138115597B   MAURICIO     GARCIA                       CA     90009393811
458613A4347954   JUAN         RODRIGUEZ                    AR     25042203043
458614A1A2B27B   LUZ MARIA    NAVARRO                      DC     90013104010
458626A3791549   SANDRA       LUNA                         TX     75087946037
458626A6A91523   JAIME        HERRERA                      TX     75035486060
45862A28871999   ASHLEY       ARCHULETA                    CO     38050600288
45862A3278B16B   BUNNY        SANCHEZ                      UT     31056610327
4586324215B174   YOLANDA      WILLIAMS                     AR     90005542421
45863434472B43   ERNESTO      OCHOA-GUERRA                 CO     33054414344
45863983672B36   VILDAD       MARTINEZ                     CO     33081189836
4586429925B222   SHANE        SMITH                        KY     90013112992
4586446927B386   KARINA       VILLANUEVA                   VA     90011644692
45864A4AA72B36   EDGAR        DE PAZ                       CO     33079030400
4586522442B27B   TARA         ALDRIDGE                     DC     90015232244
4586538315B58B   CHERYL       LASITER                      NM     35091493831
4586588595597B   RAMON        ENCISO                       CA     90014688859
45865A39591873   JAMEL        BRUNER                       OK     90009590395
4586697A261967   ANDREW       ALLEN                        CA     90005349702
4586699218B165   JAMES        JOHNSON                      UT     31007699921
45867AA8672B4B   LESLIE       HENGFUS                      CO     33045750086
4586861595B174   KHYREE       ALLISON                      AR     90009786159
4586894864B271   DAVID        CONLEY                       NE     90006659486
4586915A647954   TAMMY        CARNES                       AR     25026151506
4586915A691523   GUILLERMO    SAENZ                        TX     90011261506
4586958725597B   JUAN         RODRIGUEZ                    CA     49088585872
4586B989591988   WILLIAM      LIPTOK                       NC     90013919895
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458713A1A72B3B   ALEJANDRA      GARCIA                     CO     33071933010
45871A65855939   JENNIFER       ISLAS                      CA     90009480658
4587266358B355   JOHNTAVIUS     MOBLEY                     SC     90012826635
4587454A88B165   LINDSAY        THORESON                   UT     31053815408
4587519895B222   DWAYNE         L. LEWIS                   KY     68096731989
4587524A85B174   AUDRIONA       ROY                        AR     90014902408
4587524A872B3B   KAREN          GARCIA                     CO     90013032408
4587568725B222   MARIA          VITTITOW                   KY     90011146872
4587631914B569   SHANE          LAMBERT                    OK     90014623191
4587675A861963   LARRY          ROGERS                     CA     90014117508
45876828272B4B   PEREZ          SANDRA                     CO     33034368282
458773A1272B3B   JENNY          LEWIS                      CO     90009283012
4587745112B87B   SAYLEE         MEYERS                     ID     41092404511
458774A648B355   JALISA         MASSEY                     SC     90013544064
458776A7972B36   EUGENIO        SANTOS                     CO     33042616079
4587871A75597B   MARIA          MEDINA                     CA     90007827107
4587958545B53B   JASMINE        TREVINO                    NM     90013175854
458798A715B222   AHARON         BOYD                       KY     68086618071
45879913A47954   MARICELA       RIVAS                      AR     90013589130
4587B223A3B351   JOYCE          BECK                       CO     90010872230
4587B251891569   MAYRA          REYES                      TX     90013272518
4587B54135597B   VICENTE        FERNANDEZ                  CA     49067105413
4588115765B58B   VELISHIA       STEVENS                    NM     90014541576
4588151348B355   PATSY          JORDAN                     SC     90014565134
4588186962B87B   JOYCE          WILSON                     ID     41054978696
4588188595597B   RAMON          ENCISO                     CA     90014688859
4588247875B58B   MARTHA         MARTINEZ                   NM     35039004787
45882915672B4B   PETRA          HARRIS                     CO     90013349156
4588363895B53B   GREG           MOLINAR                    NM     35065546389
45883841A8B355   PERNELLA       STAR                       SC     90012378410
45883892872B4B   TANISHA        WRIGHT                     CO     90005898928
45883A1868B165   EDUARDO        GUILLEN                    UT     90000140186
45884892A61963   MARIA          ARAMBURO                   CA     90007618920
45886623472B3B   ADRIENNE       OLIVAS                     CO     33000876234
4588683538B16B   ANDREW         HAUFF                      UT     90014388353
4588713148B355   KIMBERLY       ALGER                      SC     90014601314
4588799414B271   KIM            DILLEY                     IA     27034479941
45888439A81639   HEIDI          GLORIOSO                   MO     29097794390
45888636A72B4B   DAWN           JACKSON                    CO     33089306360
4588869122B27B   CHANDANE       MUHYEE                     DC     90000806912
45889764A8B16B   MISTI          BURGON                     UT     31076387640
4588993785B58B   LORI           CDEBACA                    NM     35068049378
45889A3346192B   MARIO          BERNACHI                   CA     90007490334
4588B197591873   JOSE ANTONIO   OROZCO                     OK     90014161975
4588B62575B53B   VIOLET         CHAVEZ                     NM     90010826257
4588B769871999   RAINA          HART                       CO     38047617698
45891724872B36   JANICE         LANE                       CO     90013017248
45892645A5B222   TERRI          CURTSINGER                 KY     90004186450
4589348728B165   ROBERT         GALLEGOS                   UT     31024134872
45894127772B3B   LINA           MORALES                    CO     90007871277
4589435772B87B   MICHAEL        DARBY                      ID     41091453577
4589458952B27B   JEANETTE       SMITH                      DC     90015155895
458945A2A91569   LETICIA        AGUILAR                    TX     90014085020
45894669A55939   DEAN           MARTIN                     CA     49080766690
4589484658B355   PAYGO          IVR ACTIVATION             SC     90014568465
4589561225B52B   LINDA          AHUMADA                    NM     36093226122
4589561493B33B   LUIS           LOPEZ                      CO     33040936149
4589613525B174   RAVEN          HAWKINS                    AR     90012251352
4589617485B523   JULIANA        MARTINEZ                   NM     90010011748
4589652868B16B   SHAWNDA        LOSEE                      UT     90006515286
458967A7171999   ROBERT         WONNELL                    CO     90010297071
4589714735B53B   EMMA           ARMENDARIZ                 NM     35060881473
45897A38371999   ANTHONY        SOTO                       CO     90014970383
4589827225B58B   LUIS           CANO                       NM     90013002722
45898A17591873   BRUCE          BRANNON                    OK     90012950175
45899862772B4B   JIM            REDD                       CO     33063698627
45899915272B43   MARK           IHDE                       CO     33090889152
4589B21822B27B   YVONNE         NSONG                      DC     90013922182
4589B5A8371999   VICTOR         MONTEZ                     CO     38098565083
4589B868791569   ALEJANDRA      AVILA                      TX     90012148687
458B1584372B43   KAREN          GAMBOA                     CO     90010255843
458B1679691569   MATILDE        PADILLA                    TX     75088736796
458B2272151334   HING           CHOI                       OH     90013922721
458B233A38B165   VALERIE        HIGGINBOTHAM               UT     31066193303
458B2423591988   JEAN           MEBANE                     NC     17057454235
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458B252384B52B   JOHN            FARVE                     OK     90005225238
458B2621A91569   JAVIER          CAMACHO                   TX     90005596210
458B3A86672B3B   JANEEN          WHITE                     CO     90008720866
458B3A94A91873   SANDRA          CROCKET                   OK     90014160940
458B4561A5B52B   MIRNA           RODRIGUEZ                 NM     90007855610
458B491915B53B   APOLINAR        NAVA                      NM     90006599191
458B4A4315B222   LORIE           GREGORY                   KY     90009010431
458B4A9A791523   KRISTY          DOMINGUEZ                 TX     75084020907
458B5116461963   GONZALEZ        MIRANDA                   CA     90012791164
458B514A572B43   GABRIELA        RIVAS- DELGAGO            CO     90013941405
458B534655B174   STEPHANIE       WRIGHT                    AR     90014623465
458B637385B593   DUANE           SCHNEIDER                 NM     90010653738
458B665439152B   RUTH            JUAREZ                    TX     75037516543
458B6673771999   CHRISTINA       ZAVALA                    CO     90013826737
458B722288B16B   SANDRA          ANDERSON                  UT     31005122228
458B7368891873   JARAN           HALEY                     OK     90012843688
458B7557933B63   JELANI          NATTEY                    OH     90013975579
458B773614B271   TYRHONDA        TIBBS                     NE     27097667361
458B782625B58B   ADILENE         PEREZ                     NM     90012288262
458B7864891873   JARAN           HALEY                     OK     90011148648
458B7A24A5B222   DANA            THOMPSON                  KY     90000540240
458B8133361967   SANDRA          ROLDAN                    CA     46071721333
458B8672872B3B   JEREMY          MCADORY                   CO     90000856728
458B8712491988   VINCENT         WILLIAMS                  NC     90009177124
458B934185B222   MISS            SCOTT                     KY     90002993418
458B9455351334   SARAH           POWERS                    OH     90014574553
458B9631971999   RAUL            ESTRADA                   CO     38012416319
458BB24285B222   GARY            GRIFFITH-COFFEY           KY     90014712428
458BB3A8831456   TREONA          INGRAM                    MO     90010613088
458BB41334B271   KENNY           ORELLANO                  NE     90015124133
458BB576391523   KARINA          ALVAREZ                   TX     75090065763
458BB71678B16B   MONTE           DICKERSON                 UT     31018417167
458BB9A6381639   RALPH           BROWN                     MO     90008369063
458BBA79172B4B   CONNIE          LOCKHART                  CO     33034700791
4591127222B253   COLELL          HUNTLEY                   DC     90013232722
4591131325B222   LAUREN          HARPRING                  KY     90010163132
4591136125B58B   RUBEN           GARCIA                    NM     35048713612
459113A5591394   MARTHA          DIAZ                      KS     29026003055
4591151417B421   GABRIELA        URIBE                     NC     90006995141
4591153A951334   SHERAY          LEWIS                     OH     90008445309
45911696272B3B   RICHARD         MESTAS II                 CO     33081926962
459118A9A72B4B   VINCENT         VARGAS                    CO     33090738090
45913219A72B3B   ESTELLITA       LUCERO                    CO     33017232190
4591322888B16B   LYNETTE         COULSTON                  UT     31011402288
4591362375B174   JAY             SOLOFF                    AR     90003856237
4591439A972B4B   SANDRA          GARCIA                    CO     33072343909
45914444272B36   MIGUEL          HERRERA                   CO     33041184442
45914A67291523   MARIA           VILLALOBOS                TX     75089500672
4591583158B156   RAFAEL          GUTIERREZ                 UT     90002748315
4591592665B53B   SHANNON         BROWN                     NM     35051639266
4591665A255939   ERIKA           MAGANA                    CA     90014846502
4591698892B87B   MICHAEL         VANLEEUWEN                ID     90014389889
4591761972B27B   EDGAR           RENDON                    DC     90003326197
4591793AA47954   MARIA           PICHARDO                  AR     25045169300
4591827318B16B   TOM             ALEXANDER                 UT     31015022731
45918444972B24   MARY LOU        MONTOYA                   CO     90001274449
4591914324B271   SHAMICA         BEISTER                   NE     27093351432
4591926735B52B   ROSA            ALVIDREZ                  NM     36055722673
4591928A72B848   GEORGE A        LUKENS                    ID     42081312807
4591997265597B   AMBER NICOLE    SCHREINER                 CA     90014929726
4591B47495B52B   MIGUEL          OCHOA-ORTEGA              NM     36068094749
4591B485191873   KARLESIA        CRAWFORD                  OK     90014174851
4591B768A5B58B   MARIUS          SMITH                     NM     35043557680
4591BA1882B27B   STEVEN          BOYD                      DC     81018500188
4591BA32171999   GEORGIANA       BELMONTES                 CO     38034080321
45921745576B23   MARCELINO       GONZALEZ                  CA     90013537455
4592231882B87B   CRYSTAL         HERGERT                   ID     90002603188
4592244265B174   JAIDE           VIDRINE                   AR     90013924426
4592291A161963   INGRIS SUSANA   GONZALEZ CARRETO          CA     90007819101
459232A4A91873   AMARILIS        TORRES                    OK     90014162040
4592335662B87B   PATTY           MITCHELL                  ID     41007013566
4592355965B53B   EMILY           SANDOVAL                  NM     90006855596
4592522A15B174   DRE             DAY                       AR     23094062201
4592564685B53B   ROBERTO         QUEZADA                   NM     90009936468
4592684775597B   MANUEL          TABARES                   CA     90001248477
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45926A65772B4B   MICHAEL      LEBER                        CO     33079070657
4592742745597B   KATRINA      BOOS                         CA     90006464274
45927437A61967   MARIA        QUEZADA                      CA     90001014370
45927966A61963   LEE          SNYDER                       CA     46072189660
4592872A455939   DIANA        LOPEZ                        CA     49056927204
4592967595B53B   FERNANDO     MARTINEZ ORTEGA              NM     90014316759
4592B182891523   ANDREW       ARMENDARIZ                   TX     90006211828
4592B31298B355   VERA         PRESSLEY                     SC     90014783129
4592B635672B3B   DARRELL      ALLEN                        CO     33003596356
4593154645B222   JOSHUA       THOMAS                       KY     90013145464
4593175815B174   FRANKIE      JORDAN                       AR     23042107581
4593315A35B58B   MARGARET     WILLIAMS                     NM     90013661503
4593316268B16B   LARRY        COATES                       UT     90005381626
45933399272B3B   ANDRES       QUINONES                     CO     33013953992
45933423A5B222   DAMON        CANDLER                      KY     68055144230
45933A2822B27B   LAFAYETT     DAVIS                        DC     90011690282
45934162872B36   ALVIN        HUNTER                       CO     90015231628
45934384272B36   JUAN         GUERRERO                     CO     90013923842
45934545A91569   MANUEL       MORALES                      TX     90013335450
4593476195B58B   LUIS         VILLALBA                     NM     90004127619
4593485585B222   DARON        POWELL                       KY     90010858558
45934A22472B36   TANYA        DURAN                        CO     90009120224
45935417272B4B   ASHLEY       RIVERA                       CO     90011084172
4593666658B355   JASMINE      STOVER                       SC     90008816665
459366A392B27B   MICHELLE     ROBINSON                     DC     90012546039
45936A3575138B   ELAINE       ISOM                         OH     90006190357
4593797288B183   DULCE        CHANDLER                     UT     90002059728
45938423A5B222   DAMON        CANDLER                      KY     68055144230
45938884297B53   SHARLENE     RIVERA                       CO     90007308842
45939A8812B87B   SOCORRO      ASHLOCK                      ID     90010540881
4593B1AA32B27B   PRISCILLA    RENEE                        DC     90015161003
4593B27425B58B   VALERIE      MARTINEZ                     NM     90012102742
4593B364647954   JOSE         PINA                         AR     90011353646
4593B71755B174   EARL         YATES                        AR     90014407175
45941974572B3B   PACZOSA      MELISSA                      CO     33024929745
45941A8532B87B   NATHAN       BROWN                        ID     90013030853
45942A12547954   DANIEL       CRAIG                        AR     90014590125
45943356572B4B   TODD         INGRAM                       CO     33086653565
4594342A95B58B   TIMOTHY      FELDER                       NM     90015314209
4594359598B16B   MISIKALISI   MAUIGOA                      UT     90010155959
4594391432B96B   AMELIA       GUTIERREZ                    CA     90011659143
4594437187B421   BRIAN        LITTLEJOHN                   NC     90006803718
459443A215B52B   MATTHEW      ROBINSON                     NM     36022623021
459446A9A72B4B   RICARDO      AGUIRRE                      CO     90012786090
45944A77891988   MARISOL      CASTILLO SALAZAR             NC     90010730778
4594537A65B222   SHELBY       PARSLEY                      KY     90004783706
45945A48791569   JOSEFINA     GARCIA                       TX     75069750487
45946A7622B921   AMANDA       GAINES                       CA     90006020762
459473AAA41289   HOLLY        AUGUSTINOWICZ                PA     90015213000
4594924985597B   JAIMA        STELZENMUELLER               CA     90000222498
45949A9965B174   QUINCY       CONNOR                       AR     90013030996
4594B58345B174   EUGENE       REED JR.                     AR     23068925834
4594B755761986   GILBERTO     LIZARRAGA                    CA     90002327557
4594B7AA62B921   CAROLINE     CASTILLA                     CA     90002277006
4594B965872B4B   HOLLY        STEELE                       CO     90007359658
4595197517B496   JENNIFER     WALLER4                      SC     90008289751
4595422A78B16B   LEESA        KRATZER                      UT     90013912207
459544A7255939   DANIEL       ANGELES                      CA     90011354072
4595486A65B222   ANTWAN       BELL                         KY     90013878606
459548A3671999   PAULINE      TRUJILLO                     CO     38071908036
45954915A91569   URIEL        VIRRUETA                     TX     90008219150
45954943A51334   AURELIA      STERLING                     KY     90013929430
4595499155B55B   KEITH        SUTTON                       NM     90000579915
45955629272B3B   ABRAHAM      MAYNEZ                       CO     90009686292
4595571322B27B   YODIT        SHIBRU                       DC     81062047132
4595611582B27B   MICHAEL      MORRIS                       DC     90011261158
45956139A91988   MICHEAL      CARY                         NC     90013831390
4595761915B58B   ROBERT       MARTIN                       NM     90013166191
45957837172B4B   CHRISTOPHE   CORTES-MCENTEE               CO     33024758371
4595794485B58B   ROBERT       MARTIN                       NM     90013289448
45958238572B3B   PAMELA       CARTER                       CO     33048172385
4595839558B16B   KAYLEIGH     BREWER                       UT     90007263955
4595884A591873   CHERYL       COOKS                        OK     21040968405
459591A6147954   DANNY        WATSON                       AR     25031861061
45959321372B43   CASSANDRA    DUSENBURY                    CO     90007703213
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4595997894B271   CHRIS        URZENDOWSKI                  NE     27062789789
45959A87355939   ANNA         GONZALEZ                     CA     90014120873
4595B969151334   JESSICA      BANKS                        OH     90014679691
45961517A91988   SHEILA       MCCAULEY                     NC     90011455170
4596196722B87B   ERIN         PETERS                       ID     41017349672
45962137572B3B   ROBERTO      RAMIREZ                      CO     90012561375
45963144A5B174   TINELL       WILLIAMS                     AR     23064731440
4596345575B222   DAVID        DANIEL                       KY     68079014557
4596361A361963   MARIA        CLARK                        CA     90014676103
45963A86472B3B   MELQUIADES   CABALLERO                    CO     90014150864
45964251872B22   CHRIS        PARRISH                      CO     90001062518
4596454485B174   CHRISTINA    JONES                        AR     90015575448
459646A6A5B58B   MELISSA      ORTEGA                       NM     35030556060
4596512192B274   NEIDA        ROSALES DE SILES             DC     90006041219
4596544A372B3B   DERRICK      INGLEWOOD                    CO     33038974403
45965785872B36   CHET         PORTER                       CO     90002187858
4596581435B53B   MARIO        MARTINEZ                     NM     90012018143
4596645A791873   KEITH        MACKEY                       OK     21025684507
45966A1AA2B27B   ANTUAN       TYNES                        DC     90013380100
4596711475B53B   FALON        RING                         NM     90015441147
45967622A91881   VANESSA      PERNELL                      OK     90012076220
4596762A272B36   MANUEL       GARCIA                       CO     33004616202
45968312972B4B   ESMERALDA    ROBLES                       CO     90005273129
45968416772B36   NESTOR       CARDENAS                     CO     33062424167
4596981755597B   YOLANDA      MELLO                        CA     90006758175
4596B25868B355   CLINTON      DANIEL                       SC     90006672586
4596B517A91988   SHEILA       MCCAULEY                     NC     90011455170
4596B65A571999   ALEXA        KOMORMIC                     CO     90006696505
4596B99A62B27B   CANDIDA      ALDERETE                     DC     90014029906
4597111655B52B   JESUS        CAMARILLO                    NM     90010441165
4597144158B355   WENDY        LOVIN                        SC     90007844415
45971742A91569   GUADALUPE    SANDOVAL                     TX     90007357420
45971AA3161967   ELIZABETH    BARRIOS                      CA     46032690031
4597213572B27B   AGUSTIN      VILLA                        DC     90011551357
4597264428B355   DERRICK      POLK                         SC     90008646442
4597376235B174   BO           WILLIAMS                     AR     23052237623
4597412A551334   SHAHNOZA     AZIZOVA                      OH     90012901205
4597413468B16B   JENNIFER     BUCHANAN                     UT     90013621346
45974438A72B4B   MARCUS       MURPHY                       CO     90014864380
4597476A391569   BIANCA       FLOREZ                       TX     90005667603
4597511264B271   JACOB        RUSHER                       NE     90012071126
45975867972B4B   REGINA       MENDOZA                      CO     90007248679
45976316672B36   DANIEL       OLIVAREZ                     CO     33076273166
4597743278B186   TANYA        YARRINGTON                   UT     90000424327
4597776664B271   BARBARA      TAYLOR                       NE     90014287666
4597893218B355   JOEL         MORALES                      NC     90013769321
4597921235B53B   ANH          NGUYEN                       NM     90005532123
4597942438B355   JENNIFER     STODDARD                     SC     90014744243
459796A855B58B   GINA         GUTIERREZ                    NM     35065946085
45979743572B43   MAYELA       ACUNA                        CO     90007937435
45979A3A591988   SETH         HOLT                         NC     90013860305
4597B292791569   DELIA        RODRIGUEZ                    TX     90013472927
4597B51392B87B   SCOTT        LARSON                       ID     90013715139
4597B762A5B58B   ROBERTO      GONZALES                     NM     90005507620
4597BA1848B355   ISAAC        TABOADA SIERRA               SC     90013840184
45982134372B4B   STEVEN       GRISHAM                      CO     90001621343
4598221584B271   THERESA      WRIGHT                       NE     90013792158
4598229A42B27B   ANTONIO      EIKERENKOETTER               VA     90015132904
459831A5472B43   COLLEEN      JORGENSEN                    CO     90013151054
45985258472B3B   DANIELLE     HALTERMAN                    CO     90005772584
4598599812B87B   TANIA        SNYDER                       ID     41044829981
4598688235B174   NATASHA      LEWIS                        AR     90014018823
459872A5991523   MAYTE        ROSALES                      TX     90011262059
4598779425B174   TREMELL      MOORE                        AR     90013617942
4598819595B375   TASHA        ROWE                         OR     90012801959
4598925315B352   JENNIFER     JUNGENBERG                   OR     90009692531
4598948A18B165   MIKE         HUNT                         UT     90006754801
4598B221155939   LESLEY       HOOVER                       CA     49014022211
4598B57985B222   BRANDI       ESTES                        KY     90012935798
4598B62175B58B   ANYSSA       GONZALES                     NM     90013166217
4598B774751334   CINDY        PENDERGRASS                  OH     90004257747
4598B811572B3B   SHERRY       HOLMES                       CO     33055878115
4598B87565B58B   JOLENE       MEHRING                      NM     90007618756
4598BA2945B174   YOSELY       LAGOS                        AR     90010390294
459911A115B58B   ORLANDO      LEAVELL                      NM     90008581011
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4599156325B222   KEVIN         GRAVES                      KY     90013135632
45991713372B4B   BOBBIE        REIBER                      CO     33051057133
4599234495B259   REBECCA       HOGAN                       KY     90004743449
45992451A8B16B   ADRIANA       ESPINOZA                    UT     90011004510
4599353342B87B   SHAUN         KAY                         ID     41049155334
4599376718433B   ERNEST        WILLIAMS                    SC     14596387671
4599421822B27B   YVONNE        NSONG                       DC     90013922182
4599425615597B   ANGEL         MENDOZA                     CA     90012972561
4599438212B27B   MARIA         DUNU                        DC     90010533821
4599447268B16B   SIMONA        CHAVEZ                      UT     31066104726
45994747A72B4B   CHRIS         BERMEIREN                   CO     33035227470
45995375A91873   LEONE         SALINAS                     OK     90012333750
45995A74172B36   JAZMINE       ROMERO                      CO     90011110741
45995A86972B4B   MARY          VILLANUEVA                  CO     33028870869
4599671215B53B   KENNA         PITTS                       NM     35078887121
4599789485B52B   RICARDO       PEREZ                       NM     90010488948
45997A24671946   NATHANIEL     SMITH                       CO     90010750246
4599819A172B4B   STEPHEN       COUCH                       CO     33049631901
45998235672B43   JOSE          ALVAREZ                     CO     33070202356
459983A7847954   MARIA         DESANGELES                  AR     90015153078
4599938114B271   JORDAN        THOMPSON                    NE     27052533811
4599B53619373B   CHELSEY       BRANSON                     OH     90013675361
4599B637155939   ALICIA        GUAJARDO                    CA     49035866371
4599B656791873   VASHAWN       BLAKE                       OK     90011026567
4599B721772B43   STEVEN        VIRGEN                      CO     90013437217
4599B953991988   MASIUS        CRANK                       NC     90012479539
459B1295524B7B   SHENANDOAH    SOWASH                      DC     90006982955
459B218365136B   TARVER        MARTINEZ JR                 OH     90008381836
459B2376572B43   CHRISTOPHER   MALONE                      CO     90013303765
459B2691491523   LOURDES       ORTIZ                       TX     90004946914
459B2969291524   JESUS         SERVIN                      TX     90012799692
459B2AA7961995   AMERICA       PLATA                       CA     90011960079
459B32A855B222   CARLOS        BLANCO                      KY     68029042085
459B342458B355   JOLEEN        MARTENEY                    SC     11016714245
459B34AA65B174   KISHA         STEWART                     AR     90007364006
459B368365B222   IVY           SILLIMAN                    KY     90012576836
459B41A988B355   REGENA        JACKSON                     SC     90014391098
459B4336A91569   NAJERA        STEPHANIE                   TX     90012413360
459B4566791523   JUSTIN        SOLIS                       TX     90007155667
459B476832B87B   JEREMY        YOUNG                       ID     90012587683
459B479915B53B   DAVID         GOMEZ                       NM     90006307991
459B481435B53B   AMANDA        HURBINA                     NM     90013738143
459B4839672B4B   ISABEL        RUBIO                       CO     33048278396
459B4A58955939   RAMONA        FLORES                      CA     49055380589
459B5144A2B27B   LINDA         THOMAS                      DC     90012261440
459B5159172B98   MERRY         CASALES                     CO     90010741591
459B5299A5597B   EUSEBIA       ROJAS                       CA     90007582990
459B587528B16B   JOSEPH        GARLICK                     UT     90010778752
459B621235B174   IRMA          ORTEGA                      AR     23085872123
459B6247872B3B   JACOB         COX                         CO     90013032478
459B666246192B   ERIC          MARTINEZ                    CA     90001946624
459B7371191873   MELISSA       JONES                       OK     90010003711
459B7593976B5B   DAWN          FROST                       CA     90014185939
459B817848B355   YAMALIL       PARRA                       SC     90011051784
459B8448791873   TOREY         BOLES                       OK     90009054487
459B865192B87B   KERRY         DAMIANO                     ID     90013776519
459B931988B355   OCTAVIA       POTTS                       SC     90014653198
459B93A5361963   KATHLEEN      MONTGOMARY                  CA     90014333053
459B93A645B174   MERLENA       MATLOCK                     AR     23094543064
459B9462472B3B   TINA          KAY                         CO     33078624624
459B9674384336   SARA          ELMORE                      SC     90008846743
459B9758781639   LAUNDRY       REED                        MO     90008207587
459BB329631487   HELLENA       THOMAS                      MO     90011663296
459BB563991523   GUADALUPE     HERNANDEZ                   TX     90007155639
459BB6A185B52B   YADIRA        CHAVIRA                     NM     90012696018
459BB785251334   ALEX          HILLDEBRAND                 OH     90014627852
459BB87438B16B   JUSTIN        MCNICOL                     UT     90010778743
45B1144598B156   CARLOS        SOTO                        UT     31073724459
45B11696A8B355   KEISHA        WILLIAMS                    SC     11035006960
45B11873571999   JAY           HERNANDEZ                   CO     90009938735
45B11A2A747954   ABEL          DELALUZ                     AR     90014400207
45B12112371999   ANDREW        LUTZ                        CO     90001781123
45B12643591873   BRIANNA       HARPER                      OK     90006796435
45B126A128B16B   RICHARD       HARTRANFT                   UT     90012776012
45B1296554B271   TIM           TOLLIVER                    NE     90007299655
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45B12A9915597B   JOSHUA          HARRIS                    CA     90014860991
45B13962672B43   MAYO            MIRANDA                   CO     90010969626
45B1396725597B   ARIEL           PADILLA                   CA     90004699672
45B1399985B53B   HEATHER         SANDOVAL                  NM     90014969998
45B14283291523   CODY            TORLA                     TX     90011582832
45B14717A72B43   ASHLEY          KENNEDY                   CO     90006827170
45B14821A2B87B   DAVID           TOLEDO                    ID     90015288210
45B1534335B222   MAX             HORAN                     KY     90014893433
45B15799172B3B   LELAND          MORRIS                    CO     90001337991
45B16421461967   ROBERT          ORTEGA                    CA     90011834214
45B171A9155939   TRICHELLE       ELLIS                     CA     90001391091
45B1768A272B36   SILVIA          DEJAQUEZ                  CO     33028756802
45B1778385597B   JENNY           SALAZAR                   CA     90010257838
45B1815785B222   HIGHLAND        LIGHTING                  KY     68041471578
45B1937225597B   VERONICA        VACA                      CA     90012763722
45B19931771644   TIMOTHY         ORMOND                    NY     52091999317
45B1B15135B174   CHARLES         GREEN                     AR     90014151513
45B1B47245599B   JOAQUIN         RODRIGUEZ                 CA     90005284724
45B1B872A91569   LORENA          MARQUEZ                   TX     75079568720
45B21399672B43   PAUL            BARNES                    CO     33036453996
45B21998A71999   ILYSIA          CHAVEZ                    CO     90012599980
45B22361A72B43   CHANTELLE       WILLIAMS                  CO     33036143610
45B23437871999   MATT            CHEVALIER                 CO     90009174378
45B236A445B174   TAMARA          HICKS                     AR     90014876044
45B23746491569   STEPHANIE       GALLARZO                  TX     90011017464
45B23A31872B4B   STEVEN          CORNELISON                CO     90011450318
45B24595A5B58B   CRYSTAL         ACOSTA                    NM     35045955950
45B24845355982   GRAVIELA        WASH                      CA     90011698453
45B25246491873   MANUEL          BOJORQUEZ                 OK     90013242464
45B25272391523   YAMEL           VASQUEZ                   TX     75057772723
45B254A1872B4B   SHARALYN        ERICKSON                  CO     33052354018
45B25666355939   THERESA         FLORES                    CA     90008686663
45B25972171999   JOSEPH          ALLIE                     CO     38056639721
45B259A875B53B   JESSICA         SEDILLO                   NM     90013349087
45B26258872B3B   ROSA            GUEVARA                   CO     90002162588
45B2633277325B   ERIKA           KRAJNYAK                  NJ     90014193327
45B26545491569   AARON           ESTRADA                   TX     90014845454
45B2657615597B   KIMBERLY        ADAMS                     CA     49071205761
45B27521691873   KATIE           BUTLER                    OK     90009785216
45B2755878B165   RICHARD         CRAMER                    UT     31033525587
45B27614391569   IRMA            DELGADO                   TX     90008466143
45B2796838B164   LAUREN          LARUE                     UT     90011959683
45B2843AA2B27B   VONNIE          GREEN                     DC     90014614300
45B2863A39188B   VERONICA        FRAIRE                    OK     90001756303
45B28814791988   DARNELL         BOONE                     NC     90014148147
45B28A72A5597B   JARED           HILL                      CA     90014870720
45B29994772B43   CECILIA         A JINOJOSA                CO     90004699947
45B29A48781639   ANGELA          HAMILTON                  MO     29048430487
45B2B91282B87B   JILL            MINZGHOR                  ID     41031659128
45B3111645597B   PHILLIP         SOSA                      CA     90014861164
45B31618447954   RONDA           MAPLES                    AR     90010146184
45B31725591524   LORENA          GARCIA                    TX     90007847255
45B3233725B53B   BRENDA          SAENZ                     NM     90011333372
45B32385991873   AMBER           SOUIRI                    OK     90014433859
45B32924791523   ASHLEY          RODRIGUEZ                 TX     90010509247
45B33538A5B174   TIFFINEY        BOYKINS                   AR     90013055380
45B3412785B597   JOSE            ARMENDARIZ                NM     90005351278
45B3418975597B   PHYLICIA        HILL                      CA     90012981897
45B3441938B16B   ANABEL          CRUZ                      UT     90005534193
45B3452A48B355   RICHARD         ROSADO                    NC     11063995204
45B34881A91873   ML              WALLIS                    OK     90009118810
45B348A8A8B156   AMBER OR JOHN   GRONAU                    UT     90002348080
45B34A59255939   SYLVIA          PEREZ                     CA     49094230592
45B3512872B27B   LEYDI           ROMERO                    VA     90005271287
45B3536522B27B   KEVIN           GONZALES                  DC     90015333652
45B35386472B43   HARRY           KUMPEY                    CO     33090243864
45B35916151334   KATHERINE       UPSHAW                    OH     90009089161
45B3646234B271   RICO            NELSON                    NE     90013304623
45B364A645597B   PATRICIA        GARCIA                    CA     90000214064
45B3654188B355   RAHEEN          MARSHALL                  SC     11088495418
45B36799272B36   LAFAWN          LEE                       CO     33011557992
45B36872991988   TELISHA         NICKERSON                 NC     90007158729
45B37264291569   SANDRA          DE VARA                   TX     90013472642
45B374A695597B   GABRIEL         MALDONALDO                CA     49057274069
45B38762224B7B   ELIZABETH       MCNEAL                    VA     90008307622
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45B39359472B3B   HECTOR       SOTO                         CO     90013023594
45B3941665B174   ALANNA       LEE                          AR     90012454166
45B39559291988   BELKI        DEL CID                      NC     90002885592
45B3976A75B52B   BRIAN        HARVEY                       NM     36050007607
45B39942851334   JACQUELINE   RITCHIE                      OH     90013929428
45B3B66982B87B   VIRGINIA     SAUCIER                      ID     41022096698
45B3B7A1772B3B   ANA          RAMIREZ                      CO     33019367017
45B3B81545B58B   JUAN         MACIAS                       NM     90014158154
45B3B897772B43   FRANK        JR                           CO     90006858977
45B4147775B58B   JOSE         MALDONADO                    NM     35087924777
45B41639351334   ADRIANA      JIMENEZ                      OH     66020646393
45B41995A2B87B   JOHNATHON    BARTLETT                     ID     41072539950
45B4266512B87B   KAMI         LEETCH                       ID     41065286651
45B4276A84B271   JESSICA      FREDERICK                    NE     27044077608
45B42891985875   AARON        HERNANDEZ                    CA     90009428919
45B42AA7891248   BRITTANY     NELSON                       GA     90012470078
45B4344A85B52B   BART         HODGES                       NM     36038024408
45B43457A47954   JEFF         BOLDRA                       AR     90003514570
45B4372675B58B   LISA         MAESTAS                      NM     90011997267
45B43797791873   ELVIRA       NINO                         OK     90015167977
45B438A5172B3B   JOSE         HERNANDEZ                    CO     90010778051
45B43A56991569   ALICIA       REYES                        TX     90006100569
45B43A6288B355   XOCHIR       CASTANEDA                    SC     11046650628
45B44226522463   JENNIFER     EVERT                        IL     90015422265
45B44297591523   DONNA        MENDOZA                      TX     90000312975
45B4462214B271   RODRIGUEZ    NEWSOME                      NE     27070826221
45B4474762B27B   DONNA        DOWERY                       DC     90012377476
45B45828747954   MICHAEL      GARCIA                       AR     25049628287
45B46211761963   MARIA        AGUILAR                      CA     46022682117
45B4644348B16B   ANGELA       STREHLOW                     UT     90014154434
45B46581372B3B   DON          GALLEGOS                     CO     90012035813
45B468A955B53B   SUSAN        BARRETT                      NM     90015168095
45B47624791523   MARIBEL      HERNANDEZ                    TX     75091426247
45B4771638B163   APRIL        TAYLOR                       UT     90011607163
45B47782A72B3B   CAROL        ARAGON                       CO     90007077820
45B4792578B16B   VILIAMI      TUITAVAKE                    UT     31041979257
45B4795775597B   JOE          TOLLEY                       CA     90009649577
45B47A49291988   ERIC         HARRIS                       NC     90015230492
45B4817A28B355   RUBEN        FIARCIA                      SC     90010431702
45B48373A55939   LUIS         REYES                        CA     49028283730
45B48454491873   DONNETTE     BATES                        OK     90011464544
45B48545341241   ELGIN        BANNISTER                    PA     51085795453
45B48579A91569   GLORIA       SANCHEZ                      TX     90013805790
45B48A2A85B174   TAMARA       NATION                       AR     90008860208
45B49368691569   ALFREDO      VACA                         TX     75097853686
45B4985982B27B   VANESSA      PRICE                        DC     90013738598
45B49867A3B399   MARIVEL      SOTELO                       CO     90012768670
45B4B71195B53B   CAROL        REDFORD                      NM     90011437119
45B5166665B53B   ALFONSO      CABLE                        NM     35005066666
45B5238115B53B   BERNA        MARTINEZ                     NM     35076003811
45B5255935B174   TIFFANY      ANDERSON                     AR     90015555593
45B5283815597B   MIGUEL       GONZALEZ                     CA     49044428381
45B53244761967   LYDIA        KING                         CA     90002272447
45B5333125B52B   DIEGO        MARTINEZ                     NM     90003953312
45B5334173B343   CORRINE      MAESTAS                      CO     90006373417
45B537A5991873   DEANNA       SIMON                        OK     90015247059
45B53898A91394   PRECIOUS     HESTER                       KS     29012008980
45B53A5A172B4B   JACIEL       ARAGON                       CO     90010130501
45B54381172B36   SILVIA       MACIAS                       CO     90013923811
45B5446715597B   HILDA        SOLORZANO                    CA     90011744671
45B54A17172B43   ELADIO       FLORES                       CO     33074220171
45B55268391394   MICHAEL      WHIPKING                     KS     90003612683
45B552A8971999   JENNIFER     ORTEGA                       CO     38011492089
45B56768172B4B   JAMIANNE     ANDERSON                     CO     90015117681
45B56926672B36   AARON        HINOJOSA                     CO     90014859266
45B571A5A91988   JASMINE      SCOTT                        NC     90012031050
45B5738365597B   CORINA       VILLEGAS                     CA     90012763836
45B5766775B53B   CRYSTAL      TRUJILLO                     NM     90012626677
45B57812591873   SHELITHIA    WORLEY                       OK     90014838125
45B5799A151334   JAHNELLE     BUNN                         OH     90015349901
45B57AA348145B   SHANNAON     SPIEGEL                      PA     90014470034
45B58732571999   MARIA        RODRIGUEZ                    CO     90007487325
45B58943657122   ROXANA       ARNEZ                        VA     90008159436
45B5895433B383   DESIREE      CANO CABALLERO               CO     90009199543
45B58A96972B4B   ANGELINA     HICKS                        CO     90010910969
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45B59272871999   MELISSA       BELTON                      CO     90007932728
45B5947815597B   ADI           GUTIERREZ                   CA     90011744781
45B59841A55939   NANCY         PACHECO                     CA     90010038410
45B5984A54B271   CHERLYN       SCRIVER                     NE     90011888405
45B5B139A5597B   ANTHONY       PEREZ                       CA     90014861390
45B5B524255939   MARIA         RIVERA                      CA     90015135242
45B5BA35171999   DAVID         MILLS                       CO     90012680351
45B61289355939   MANUEL        HERNANDEZ                   CA     90010282893
45B61A91131491   TREVELL       BEAN                        MO     90001660911
45B62119491569   MARIA         ZACARIAS                    TX     75081711194
45B6295815B53B   MARIA         ESTRADA                     NM     35042559581
45B6355A972B3B   ILSE          ZURIETH                     CO     90014245509
45B642A578B165   HOLT          MELISA                      UT     31078102057
45B64573A5B53B   NATALIE       FOSTER                      NM     90011205730
45B6487215B58B   MARINA        CORTEZ                      NM     35051138721
45B6497255597B   GABRIELA      BALTAZAR                    CA     90008929725
45B64AA5191988   ROSALINO      GONSALEZ                    NC     90015010051
45B6538774B271   DAISY         MACIAS                      NE     90013363877
45B65393491569   WILLIAM       AIKEN                       TX     90015303934
45B65563891523   PATRICIA      CHAVARRIA                   TX     75056515638
45B65877A2B27B   HOWARD        BELK                        DC     81017928770
45B65961751334   SHENNA        BOVARD                      OH     90006399617
45B6644635B222   SONYA         SMITH                       KY     90010884463
45B66513147954   AMBER         BRANDSON                    AR     90012985131
45B668A925B53B   DOLORES       GURULE                      NM     35033218092
45B671A8272B4B   JOHN          KENNEDY                     CO     90012711082
45B6747A393768   HELEN         HUTCHINS                    OH     90003684703
45B6784725597B   LEOBARDO      RAMOS                       CA     90014438472
45B67995791569   MARTHA        TORRES                      TX     90012629957
45B6835685B53B   JAMIE         WATERS                      NM     35007193568
45B68769991873   RASHONNA      ANDERSON                    OK     90014767699
45B68885491988   ETHEL         LYONS                       NC     90014798854
45B6915295597B   MARINO        FRANCISCO                   CA     90014861529
45B691A6742339   SARA          MCDONALD                    GA     90001071067
45B69284372B4B   CARRIE        TILTON                      CO     90012182843
45B69614691523   KARLA         FLORES                      TX     75056516146
45B6971952B87B   KEVIN         SELF                        ID     90013937195
45B6B51675597B   JOHN          ALATORRE                    CA     49000905167
45B6B599172B36   SATORU        HIGASHI                     CO     90012345991
45B6B693472B43   GILBERT       GONZALES                    CO     33080596934
45B6B787155939   BRIDGET       GILES                       CA     90013897871
45B6B7A3A84321   FAITH         BRYANT                      SC     90012577030
45B6B922891988   VICTORIA      JORDAN                      NC     90005829228
45B71A49355939   JACQUELINE    ROMERO                      CA     90007840493
45B72217347954   TANISHA       REED                        AR     25044252173
45B72488572B43   ZACHARY       MARTINEZ                    CO     90012234885
45B72741872B36   FRANSISCO     PADILLA                     CO     90014687418
45B7329A161963   OLGA          MORALES                     CA     90007232901
45B7397282B87B   JEANNE        HALL                        ID     90008189728
45B74182571999   MARSHA        HENDRICKSON                 CO     38093041825
45B7442A15B58B   LAWRENCW      GUTIERREZ                   NM     90014754201
45B75183A8B355   NIJA          TALFORD                     SC     90012181830
45B75696972B36   DANIEL        MAGALLANES                  CO     90011876969
45B75834372B36   ALFONSO       CORTEZ                      CO     90015168343
45B7631265B52B   TIMOTEO       GEOVANY                     NM     36049873126
45B76499661967   GUILLERMO     ACOSTA                      CA     90011834996
45B76696851334   ADRIAN        GRAHAM JR                   NC     66093436968
45B76751361963   FERNANDO      SALAZAR                     CA     90013137513
45B7719A472B4B   ARACELI       MONTES                      CO     90011981904
45B77371997B53   RICHARD       HEROFF                      CO     90012263719
45B7761755B222   TRAE          BATSON                      KY     90010046175
45B77659191988   ARSHIA        CARNEY                      NC     90009936591
45B77828272B4B   ARACELI       MONTES                      CO     90009438282
45B78266972B3B   ANGELA        LOMBARDI                    CO     90012702669
45B7829A161963   ALEJANDRO     PARRA                       CA     90001062901
45B78317141265   NATASHA       JOHNSON                     PA     90014993171
45B78764861963   JESSE         LEE                         CA     90012177648
45B78991171946   GEORGE        GUZMAN                      CO     90013259911
45B7912665B174   ANTEL         CARTER                      AR     90013751266
45B79153847954   MAHALAKSHMI   SUNDARARAJAN                AR     90014171538
45B7919955B174   ANTEL         CARTER                      AR     90013661995
45B7B323791873   THOMAS        JACKSON                     OK     90010813237
45B7B495A5B373   GREGORY       SCHROEDER                   OR     44512674950
45B7B61158B165   ERICK         SCOTT                       UT     90006046115
45B7BA42491569   OLIVAS        AMERICA                     TX     90010790424
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45B81267191569   SELENA           GARDEA                   TX     75086862671
45B8138815597B   RAMONA           SANCHEZ                  CA     90012763881
45B815A3771999   REFUGIO          RODRIGUEZ                CO     38052175037
45B81645572B43   JAN              PAYNE                    CO     90012146455
45B81732855939   SOPHAKTRE        CHONG                    CA     90006177328
45B8174895B222   STACEY           GASTON                   KY     90012597489
45B8222A791988   LASHONNA         INGRAM                   NC     90005012207
45B82231A4B271   LYNNETTE         KIRK                     NE     27073462310
45B83622261963   YVETTE DELFENE   YOUNG                    CA     90014996222
45B83A17672B3B   JOSE             DIAZ                     CO     33079930176
45B84189351334   ROSA             URENA                    OH     90012181893
45B84267991569   SLYVIA           SAENZ                    TX     90013082679
45B842A865B174   STACY            PALMER                   AR     90007632086
45B848A9A72B43   COLIN            BARBER                   CO     33037978090
45B84A7828B141   HUGO             RUIZ                     UT     31088210782
45B8548115B53B   VALERIE          GOMEZ                    NM     90012454811
45B8551AA61967   NOEL             BARRON                   CA     90011835100
45B85817572B4B   JON              STRAUBE                  CO     33082408175
45B86575A8B166   ALISHA           JAMESON                  UT     90008165750
45B87197972B36   WILLIAM          CORDOVA                  CO     90003971979
45B87476272B47   CORENA           WHITE                    CO     90007944762
45B8812A161963   SILVIA           CORTEZ                   CA     90015091201
45B89247891569   REINALDO         LLAMAS                   TX     90009282478
45B89432191394   MICHAEL          WISE                     KS     29008574321
45B89518161967   LYN              WOODS                    CA     90011835181
45B89579372B4B   ARTHUR           FORD                     CO     33006615793
45B8986558B165   KELLY            ST ONGE                  UT     90011068655
45B8B439461963   EMMA             DELGADILLO               CA     90015234394
45B92224991569   LETICIA          LOPEZ                    TX     90001772249
45B92346355939   CHRISTINA        EVERHART                 CA     90005233463
45B92466972B3B   JEFFREY          HARRIS                   CO     90013934669
45B9298945B52B   MIRTHA           RAMOS                    NM     36013589894
45B9391865B52B   JENNIE           TORRES                   NM     90009639186
45B9394478B16B   JARED            DENNIS                   UT     31017869447
45B94198772B4B   HUMBERTO         MARTINEZ                 CO     33078641987
45B943A534B271   JENNIFER         STRUBE                   NE     90010853053
45B9455AA5B53B   DEZZERAY         CORIZ                    NM     90003345500
45B9496742B87B   BLAKE            DALE                     ID     90014869674
45B95218155939   MICHAEL          CHAVEZ                   CA     90011402181
45B95412A71921   TASHA            VIGIL                    CO     38011274120
45B95469A72B3B   LORA             PRITCHETT                CO     33099164690
45B9583215B222   ALEXIS           MARTIN                   KY     90015178321
45B9657925B264   JANICE           MILES                    KY     90007695792
45B9671798B355   KEONTAE          DOSTER                   SC     90015347179
45B96978591523   MARISELA         DELGADO                  TX     90009299785
45B96985491873   ERIC             SUAREZ                   OK     90012129854
45B97178455939   CRYSTAL          HANNAH                   CA     49015941784
45B97634A61967   FADI             KHUDHUR                  CA     90012036340
45B97867593751   TILLA            JOHNSON                  OH     90004638675
45B98351872B36   VERNON           HARRIS                   CO     90014563518
45B98428991873   DINORAH          MELENDEZ                 OK     90014174289
45B98676172B3B   LEONOR           LABATOS                  CO     33009166761
45B98715172B36   VERNON           HARRIS                   CO     33056887151
45B98851291569   NATALIA          GONZALEZ                 TX     90007098512
45B99621391988   CHARLOTTE        DAVIS                    NC     90004676213
45B99972772B43   KATIE            BOBBIN                   CO     90003289727
45B99A47171999   DERIKA           FORRESTER                CO     90013330471
45B9B17A391873   KATINNA          RASCOE                   OK     90007561703
45B9B368A61963   TESEMA           MELKETO                  CA     90013533680
45B9B575172B43   COREY            WEINBERGER               CO     33019225751
45B9BA7345597B   RACHEL           GARCIA                   CA     49078500734
45BB1282756356   MARIA            MEJIA                    IA     90013942827
45BB1391961963   STERLING         SCHIOLDAGER              CA     90012743919
45BB149165B174   DON              MORT                     AR     90011044916
45BB2135491523   GABRIEL          GARAY                    TX     90007951354
45BB232545B222   DANNY            BRAY                     KY     90012773254
45BB299575B174   PHYLLIS          JONES                    AR     23094929957
45BB343215B52B   GABRIELA         CALDERON                 NM     36025094321
45BB351414B271   EDRUN            BOYER                    NE     27029215141
45BB3773A8B16B   JOSHUA           BRUNSON                  UT     90013887730
45BB4389472B36   CASSANDRA        COX                      CO     90015263894
45BB4876772B43   MARIAH           FERGUSON                 CO     90013128767
45BB582135B174   RAQUEL           COLLIER                  AR     90015138213
45BB6873A5B174   PEDRO            MARTINUS                 AR     90013858730
45BB765535B53B   ALLEGRA          PRENTICE                 NM     90005006553
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45BB77A7572B4B   DUSTIN       TULISDEWSKI                  CO     90014377075
45BB7851991873   REUBEN       BUYCKES                      OK     21091218519
45BB89A2272B4B   MARIA        RODRIGUEZ-MORA               CO     90013619022
45BB8A4795B52B   LYDIA        MEDINA                       NM     90008180479
45BB8A5554B271   STACEY       TOY                          NE     27060010555
45BB9283691523   MARIA        CASTRO                       TX     90007022836
45BB95A1272B36   IRINA        HANSAR                       CO     90014865012
45BB9652491569   IVONNE       RUEDA                        NM     90008446524
45BB9689A72B36   IGOR         VOLKOV                       CO     33093376890
45BB9826955939   JOSE         CORREAS                      CA     90003688269
45BBB31695597B   TY           MEAS                         CA     90013033169
45BBB53752B87B   PAM          PHILLIPS                     ID     90001635375
46111129A71921   LARRY        BOUCHER                      CO     90014131290
4611136817B431   MATTHEW      HERRICK                      NC     90000793681
46111A6458B16B   SHERI        PANAS                        UT     90013940645
4611312697194B   ELIZABETH    BOBIAN                       CO     90014721269
4611349476197B   BRADFORD     RONNIE                       CA     46011374947
46113975872B43   JOYCE        CIBRIAN                      CO     90010689758
4611548527194B   JOSE         PALMA                        CO     38087854852
4611625827B431   JOSEPH       ROBERTS                      NC     90012842582
4611658498B16B   ISIDRA       MARTINEZ                     UT     90012155849
46117188872B4B   MATINA       ORTIZ                        CO     90012851888
4611719A65B58B   SAMUEL       GRIEGO                       NM     35088641906
4611897342B87B   DAISY        OTTO                         ID     90014339734
4611B1A522B27B   LEKIA        SMITH                        DC     90007381052
4611B54815B53B   LAWRENCE     GONZALES                     NM     90003685481
46121151A2B87B   LEE          WOOD                         ID     90008361510
461226A8A91394   TASHINA      WRIGHT                       KS     90005366080
46123461A51334   HENRY        BRIGHT                       OH     66067344610
4612366A277595   JOSE         FLORES                       NV     90004246602
4612382715597B   JORGE        MALDONADO                    CA     49008248271
4612439925B174   JUANA        FLORES                       AR     23086953992
4612593988B16B   CANDELARIA   REYES                        UT     31079399398
4612653195B174   B            JONES                        AR     90015125319
461269A315B222   EDILBERTO    LORES                        KY     90009949031
4612719182B27B   DASHAWN      RUSSELL                      DC     90014671918
46127579572B36   DON          SCHMIDT                      CO     33032465795
46129123A2B87B   DIONNE       HOFFMAN                      ID     90013511230
4612B37725597B   ANGIE        JACKSON                      CA     49089723772
4612B39855B222   ANGELA       FOGLE                        KY     90010773985
4612B53224B259   DIANNA       JACKSON                      NE     27087755322
4612B53A35B58B   KEVIN        LUNA                         NM     90014105303
4613115737194B   RICHARD      GALLEGOS                     CO     90014731573
4613217327194B   ARTHUR       JETER                        CO     90014731732
4613229955B378   CARLENA      DAVIS                        OR     90001452995
4613246775597B   MIRIAM       GAYTAN                       CA     90012064677
4613266215B174   SEQOIYAH     TAYLOR                       AR     90014946621
4613446A591394   ASHLEY       EICHELBERGER                 KS     90011524605
4613525627194B   CHRISTIAN    DOMINGEZ                     CO     90014732562
461353A748B165   DAVID        ANDERSON                     UT     31007043074
4613574814B259   MARTHA       SANCHEZ                      NE     27097127481
4613625627194B   CHRISTIAN    DOMINGEZ                     CO     90014732562
461368A415B222   DONALD       HAGGARD                      KY     90014788041
4613734762B87B   SCOTT        WIDMAYER                     ID     90008363476
46137384A54151   TAMMY        LAWRENCE                     OR     90003463840
4613755355B53B   JAIR         MALDONADO                    NM     90012095535
46137851A91924   MERLIN       DUARTE                       NC     17057098510
4613799757B472   JOHNNY       TAYLOR                       NC     90012579975
46138286872B22   MICHAEL      OSAGE                        CO     90013082868
46138368872B43   NICOLAS      GARCIA                       CO     90000343688
461391A345B53B   LUIS         DURAN                        NM     90014731034
4613941188B16B   JOHN         MICHAEL                      UT     90013344118
4613948688B16B   JOHN         MICHAEL                      UT     90009034868
4613951275B53B   MELISSA      STEIN                        NM     90011405127
4613B45544B259   SHAUNITA     JOHNSON                      NE     27097124554
46141818672B4B   RICHARD      SHUMWAY                      CO     33015758186
46141A3865B222   APRYLL       BUEGE                        KY     90013800386
4614325234B259   KAREN        VERBOCY                      NE     90005852523
4614378575B174   JAMES        CALVIN                       AR     23098277857
4614418175B53B   NORLAN       MORENO-SANTOS                NM     90009401817
461443A748B165   DAVID        ANDERSON                     UT     31007043074
46144677972B36   SHAWNA       MARQUEZ                      CO     90009966779
4614569122B87B   CHESALAI     RABY                         ID     90014256912
4614733A38B16B   JARED        SORENSEN                     UT     90010123303
46147A39571999   YOLANDA      TRUJILLO                     CO     38041840395
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46148662A5597B   LETICIA      CHAVEZ                       CA     49083136620
46148A59961967   NELLIE       REED                         CA     46028640599
4614915849B186   PAYGO        IVR ACTIVATION               MS     90010301584
4614B79857B431   JULISHA      MASSEY                       NC     90011607985
461515A5A91953   BASHIRA A    SEAWRIGHT                    NC     90007245050
4615266775597B   MARIA        SANDOVAL                     CA     90013226677
4615327354B271   RAUL         GONZALES                     NE     90008492735
4615345267B431   ROSALYN      BURRIS                       NC     11076144526
4615356297194B   BETHANY      VALDEZ                       CO     90014735629
46153A7115B53B   JOSE         DAVLIA                       NM     90014720711
46154396A72B4B   JAIME        MEDRANO                      CO     33096163960
4615664517194B   GABRIELLE    TRUJILLO                     CO     90013946451
4615713714B271   BETH         WATSON                       NE     27022931371
46157419972B43   NANCY        GUZMAN                       CO     90009884199
4615798A961967   NICOLAS      MALDONADO                    CA     90000989809
46157A66772B4B   BETTY        MONTOYA                      CO     90014790667
46157A8737B457   ROBERTO      CORREA                       NC     90012500873
4615822415B174   TIMOTHY      CURRY                        AR     90011252241
4615833285B53B   MICHAEL      SESSION                      NM     90004283328
4615913478B16B   DURGA        ADHIKARI                     UT     90010081347
4615B24915B58B   DARLENE      ORTIZ                        NM     90012602491
4615B319A61967   BEATRIZ      ROMO                         CA     90010463190
4615B865347954   MELISSA      WASHBURN                     AR     90006718653
46161429A72B43   NICOLE       ANDERSON                     CO     90003844290
4616155345B222   ALEX         MILLER                       KY     90007565534
4616211775B53B   VIRGINIA     MONTOYA                      NM     90014731177
4616241538B16B   IRASEMA      HINOJOS MUNOZ                UT     31091244153
4616254877B431   ANITA        RICE                         NC     90014125487
4616376155B222   DELZEAKIO    WADLINGTON                   KY     68096017615
4616491955B222   BETHANY      HOLT                         KY     90015149195
46164A2538B16B   ERIC         CARLSTON                     UT     90010470253
46164A4AA5B53B   FRANCES      CHAVEZ                       NM     90001350400
46164A74361963   MARK         COLES                        CA     46013240743
4616541725597B   JUANITA      NICHOLES                     CA     90015174172
4616742A191394   CURTIS       STAPP                        KS     29049974201
4616756AA5B53B   AMANDA       LOPEZ                        NM     90010945600
4616757746182B   ERIC         SUMMERS                      IL     90015545774
4616757865B222   BRAD         MCINTIRE                     KY     90014545786
461675A7A47954   LAURA        BERMEA                       AR     90002275070
4616785342B27B   TAMIKIA      WHEELER                      DC     90001688534
4616789125B58B   SANDY        ANTILLON                     NM     35077648912
4616832A35B222   LEESHA       MOHL                         KY     90012863203
46168745872B43   GUADALUPE    AVILA GARCIA                 CO     33095187458
46168A67943575   JASON        WHITLOCK                     UT     90012430679
4616912665B174   ANTEL        CARTER                       AR     90013751266
46169538A5B541   TRACEY       NEUHAUS                      NM     90010585380
4616B223471999   TINA         GOSSETT                      CO     38054382234
4616B37297737B   TANYA        GILMORE                      IL     90015533729
4616B677A47954   SHELLY       ADKINS                       AR     25031496770
4616BAA778B165   SHANNON      MILLER                       UT     90009300077
4617148AA4B271   MIKE         MARTIN                       NE     90007474800
461717A1791523   ADRIANA B    RODRIGUEZ                    TX     75053457017
4617225945B58B   MIREYA       LOPEZ                        NM     90010542594
46172377772B36   JOSE         AMAYA                        CO     90013553777
46172A1844B271   KENDRA       WILLIAM                      NE     27044660184
4617415214123B   PHYLLIS      REILLY                       PA     90009171521
4617449237194B   KAYLA        GONZALES                     CO     38084064923
46174674A5B53B   KEVIN        GEARY                        NM     90011156740
4617484462B27B   JESUS        PLATA                        DC     90014838446
4617511A38B16B   ARTURO       MATEO                        UT     90013941103
4617543AA5B222   TAKIA        HARRIS                       KY     90011964300
4617554257B431   EB           MOODY                        NC     90013965425
4617697A277595   DIANA        RAMIREZ                      NV     43028719702
46177436372B43   SERGIO       RODARTE                      CO     90012214363
4617764A655939   REBECCA      HERNANDEZ                    CA     49008596406
4617787765B53B   ANGELICA     HERNANDEZ                    NM     35007608776
4617793345B222   ANGEL        JORDAN                       KY     90013539334
461781AA461963   DIANA        HOPKINS                      CA     90012891004
46178234172B36   TOMMY        GOMEZ                        CO     33007472341
46178529A72498   AMY          PENNICH                      PA     90012165290
461786A355B222   PRETONA      RAMIREZ                      KY     90012106035
4617B11775B53B   VIRGINIA     MONTOYA                      NM     90014731177
4617B38595597B   CORINNE      TAYLOR                       CA     90013283859
4617B719772B43   ROSA         ORTIZ                        CO     33078577197
4617B92A15B174   CARZIE       BRENETTE                     AR     90015019201
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46181513972B43   GARRY        DANNY SAMORA                 CO     90011355139
461817AA572B4B   MISTI        PARKER                       CO     33048407005
4618224665B53B   EDWARD       THOMAS                       NM     90003112466
46182A27A91523   LUIS         MARTINEZ                     TX     75015610270
4618388A14B271   LUZABETH     BIMPOLO-NDOULOU              NE     90014378801
4618391A74B271   KRISTIAN     STEITZER                     NE     90015219107
4618394517B48B   DERRICK      JACKSON                      NC     90014569451
46183A9685B58B   JULIANA      PEREZ                        NM     35091020968
46184198272B43   BRICE        BAKER                        CO     90012831982
461849A168B16B   KIMBERLY     LABASTIDA                    UT     90013009016
46184A5242B87B   BRADEN       OAKLEY                       ID     90014340524
46184AA2A4B259   DARLENE      JESSEN                       NE     27043010020
4618548732B87B   BRANDON      ATHA                         ID     90014744873
4618657227194B   CRISTINA     DAVIS                        CO     38069715722
4618666835B174   JAMES        SMITH                        AR     90005666683
4618669575B222   TINSLEY      ALICE                        KY     90007486957
46186853272B4B   CELINA       KRITNER                      CO     33043588532
46186A3917B431   SHAVONDA     GREEN                        NC     11025680391
4618789414B271   CHARLES      MCNEAL                       IA     90014008941
4618815A291394   CHESTER      RIDGE                        KS     90013911502
461881A9947954   MATT         RISENHOOVER                  AR     90001101099
4618859648B16B   MARY         BLATNICK                     UT     90010915964
46188936172B36   RACHEAL      JONES                        CO     33082359361
4618894A691394   CHESTER      RIDGE                        KS     90012709406
46188A7585597B   MONIQUE      MORENO                       CA     90014160758
4618937544B271   ALFREDO      COLIN-HERNANDEZ              NE     27090943754
46189A36991569   LOURDES      HERRERA                      TX     75017010369
46189A83A7194B   TAMMY        CISNEROS                     CO     38046710830
4618BA41A51334   ALEX         SAYAS                        OH     90009670410
461912A3571999   ROSALINA     MAREZ                        CO     90010622035
46191777372B4B   DEBBIE       VIGIL                        CO     90011067773
4619214A471999   JAMIE        GRADOZ                       CO     90013761404
4619311A98B16B   URIEL        VAZQUEZ                      UT     90013941109
4619322235597B   MANUEL       SEPULVEDA                    CA     90011252223
4619369234B259   JOSHUA       MASON                        NE     27097166923
4619472257194B   JESSE        DIAZ                         CO     90014747225
4619642545B58B   JENNIFER     BEITA                        NM     90012874254
46196982872B36   BARBARA      CASIAS                       CO     90007649828
461972A775B222   JAMES        SHARP                        KY     90013552077
4619731177B431   MARCUS       COOK                         NC     90011023117
4619764214B259   AMBER        YATES                        NE     27055646421
46197A91472B4B   RICHARD      SLATER                       CO     90014370914
4619811328B16B   ROBERTO      RIOS                         UT     90013941132
4619816955B53B   CATHY        FRESQUEZ                     NM     90014721695
461981A715B53B   MARTHA       WINTER                       NM     90011491071
4619856265B174   LUZ          VILLEGAS                     AR     90014995626
4619916955B53B   CATHY        FRESQUEZ                     NM     90014721695
46199787772B36   ENRIQUE      MONTOYA                      CO     90010387877
4619B25225B58B   EVELYN       BERMUDEZ                     NM     90006122522
4619B7AA772B43   MARIA        CAPILLA                      CO     90009967007
461B139915B174   DEVARON      ANDERSON                     AR     23064973991
461B18A6A61967   OSCAR        DACUMOS                      CA     90011688060
461B2185661963   MARIO        OCHOA                        CA     46012121856
461B271234B271   JAMES        LARAVIE                      NE     90004007123
461B2782472B36   SHANE        ROMANCHUK                    CO     90005937824
461B2A7682B87B   JOSHUA       MARVES                       ID     90010370768
461B3349772B43   JOSEPH       MARTINEZ                     CO     90015553497
461B381152B87B   KELLY        SAVAGE                       ID     41091338115
461B384387B431   STACEY       ABRAMS                       NC     90013548438
461B3A5628B16B   FILEMON      GIL                          UT     90013940562
461B414575B58B   CLOVIS       CORDOVA                      NM     90012411457
461B487A45B174   VERLINE      GOINS                        AR     23096088704
461B533935B222   DANIEL       NICELY                       KY     90013283393
461B568447194B   PHILINA      PALOMAREZ                    CO     38074546844
461B638A82B87B   MICHAEL      WINBUSH                      ID     90014243808
461B6425333631   JERRY        MCCALL                       NC     90008664253
461B654257B431   EB           MOODY                        NC     90013965425
461B6852521637   ROSALYN      ENGLISH                      OH     90014018525
461B726A42B948   JUAN         SORIA                        CA     90012372604
461B7651191569   ARTURO       ESTRADA                      TX     90013136511
461B787345597B   PLUAD        YANG                         CA     90014588734
461B8876891569   TERESA       SHOBNEY                      TX     90013038768
461B888215B222   ALISHA       KIRBY                        KY     90014888821
461B8A6647194B   BRIANNA      VALENCIA                     CO     90014720664
461B9128572B36   PAUL         JOY                          CO     90011341285
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461B9787261967   LEOBANY      OLMENDO                      CA     90011017872
461B9A6647194B   BRIANNA      VALENCIA                     CO     90014720664
461B9A98461967   LEOBANY      OLMENDO                      CA     90015090984
461BB7A3772B43   MANUEL       CHACON                       CO     90001727037
46211599672B4B   SUSAN        HILL                         CO     33021965996
4621163165B58B   JENNAH       SKRONDAHL                    NM     90010686316
4621179646192B   ARIANNE      ALFARO                       CA     90005417964
46211A65284342   JONNY        ZELAYA                       SC     90011540652
4621232294B259   EDMIGDIO     RODRIGUEZ                    NE     27097173229
4621244625B174   FRANCISA     ONUBAH                       AR     90011214462
462124A5585825   GLEN         CARDINAL                     CA     46086664055
4621285185B53B   JIMMY        RAMIREZ                      NM     35013328518
4621294465B58B   JONITA       WOOLRIDGE                    NM     35091769446
4621296A761967   LANCE        ZAMORA                       CA     46005949607
46212A1118B16B   KELLY        MATTHEWS                     UT     31080170111
4621355284B271   IRNIL        PALENCIA                     NE     90014835528
4621371778B16B   AMBER        GELINO                       UT     31082407177
4621415577B431   MONICA       BROWN                        NC     11077291557
4621518A45B53B   RAQUEL       MCCARTY                      NM     90014721804
4621573A272B93   THERESA      GATEWOOD                     CO     90011177302
46216182A5B53B   ANTHONY      GARCIA                       NM     90014721820
46216445372B43   CRUSITA      JIMENEZ                      CO     33084644453
4621725955B174   MARYSHA      NICHOLS                      AR     90005332595
46217328872B43   GILBERTO     LIRA                         CO     33088013288
4621733558162B   AMANDA       BILDERBACK                   MO     90011823355
46218426A5B53B   MAYRA        PEREZ CHAPARRO               NM     35029404260
46219757272B4B   REBEKAH      ZAVALA                       CO     90014897572
4621B65315B58B   THOMAS       POEPPELMAN                   NM     35033956531
4621BA12A2B87B   ROCKY        LOVELASS                     ID     41080960120
4621BA3995597B   CHRISTINA    BONILLA                      CA     90005930399
4621BAA1947954   JORDAN       MCGUIRE                      AR     90004090019
4622151A52B238   MICHEAL      MCBRIDE                      DC     90014995105
4622159125B174   SPENCER      BARTENSTEIN                  AR     90015175912
4622172219152B   JOSE         HERRERA                      TX     75084237221
46221A5867B431   VERNICE      ROBERTS                      NC     90008850586
46221A9877194B   JOSE         CASAS                        CO     90015190987
46222273A81639   BIANCA       PEREGRINA                    MO     29016972730
46222699A47954   MEGAN        MORGANFLASH                  AR     25029666990
4622346AA72B4B   ERNESTO      GARCIA                       CO     33015054600
4622444748B165   WALTER       MONCADA                      UT     31067224474
4622519777194B   TRUDI        THOMASON                     CO     38008811977
462254A5372445   HEATHER      PASTVA                       PA     90002704053
462256A915597B   ASHLEY       FRANC                        CA     90008396091
46226131A84336   SHAVON       HEYWARD                      SC     90011091310
46226717772B36   DOLORES      ROMERO                       CO     33017827177
4622723727122B   ALI          BERRE                        IA     90014892372
4622774448B16B   XAVIER       GRIFFITHS                    UT     90014697444
46228598A72B4B   MAITEE       FORJAN                       CO     33068315980
4622881A68B16B   ALEC         HOUSEMAN                     UT     90014608106
4622924125B53B   DAVID        PERRY                        NM     90014682412
46229868A4B271   TONYA        EGGLESTON                    NE     90005068680
4622992747194B   BARBARAH     TAFOYA                       CO     90011309274
4622B356951354   HANNAH       TOOLE                        OH     90010653569
4622BAA735B222   VANESSA      WATSON                       KY     90015180073
4623167498B16B   MAYRA        MONTANEZ                     UT     90010426749
46231A94872B43   STANLEY      CARRADINE                    CO     33009870948
4623218695B53B   MARCELLO     ARAGON                       NM     35092091869
46232284697B32   HAYDEE       CHAPARRO                     CO     90004832846
46232376872B4B   MEGAN        KELLEY                       CO     33027233768
46232A4268B165   HUMILDAD     EDDINGTON                    UT     31018620426
46232A79A8B16B   MICHAEL      TRUJILLO                     UT     90015490790
4623553965B174   KENDALL      FOSTER                       AR     90011215396
4623575845597B   PEDRO        RIVERA                       CA     90011147584
4623619AA5B395   NICOLE       BLUE                         OR     90008651900
4623666455B53B   NICHOLAS     MCBRIDE                      NM     90014686645
4623669767194B   JUANITA      RAEL                         CO     90000636976
4623743524B271   COLT         TAYLOR                       NE     90014044352
4623B2A8451334   JOE          HURT                         OH     66093562084
4623B833761963   MIRIAM       JACKSON                      CA     90006468337
4623B98594B259   LATASHA      JONES                        NE     90000369859
4624167925B58B   VIVIAN       MOLINA TORRES                NM     90013956792
4624332717B431   SHARON       FULLER                       NC     11066133271
4624429845B53B   BARBARA      LEZA                         NM     35063092984
4624551345597B   PATRICIA     NUNEZ                        CA     90012905134
462455A918B16B   JOSE         BORBON                       UT     90013045091
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46245663372B36   CHRISTOPHER   MONTEZ                      CO     90014736633
4624595192B27B   KIM           BAGGATTS                    DC     90014529519
46245A9615B58B   JAMES         BROWN                       NM     35047250961
4624678585B58B   DANIELA       GRIJALVA                    NM     90005267858
4624738AA41265   HEATHER       BERRY                       PA     90014533800
4624818475597B   JULIA         ROMERO                      CA     90014911847
46248643372B43   ANDREW        RAMIREZ                     CO     90015186433
46249A78291569   TORI          QUINONES                    TX     75023230782
4624B17A75B53B   MANUEL        OLIVAS                      NM     90000511707
4624B1A7A4B271   LUCRETIA      DE BERRY                    NE     90009891070
4624B391372B43   KRISTIN       PERERA                      CO     33001763913
4624B7A9791569   GABRILLA      GONZALEZ                    TX     90011067097
4625118588B16B   FRANCES       TUAKALAU                    UT     31082611858
4625178A35597B   JESSICA       SOLORIO                     CA     90014497803
4625222875B53B   RONNIE        SPENCER                     NM     90014722287
4625233878B836   ENELIKO       LEUI                        HI     90015383387
4625249AA7B431   JOSETTE       BADLEY                      NC     90014944900
46252AAA671999   ANTONIA       JARAMILLO                   CO     90012940006
4625392A37194B   AUGUSTINE     TRUJILLO                    CO     90003179203
462547A158B16B   MAYRA         MENDOZA                     UT     90014077015
4625558A28B16B   ANTONIO       TRIGOS                      UT     90007035802
4625646442B87B   CANDICE       DIAL                        ID     90012264644
4625651814B271   DEANNA        FREEMAN                     NE     27046405181
4625667A44B221   MIKE          WENNINGHOFF                 NE     27087266704
46257A8565597B   ALFONSO       GUZMAN                      CA     90013370856
4625846442B87B   CANDICE       DIAL                        ID     90012264644
4625855797194B   DANIEL        SANDOVAL                    CO     90010545579
462586A1651334   JOSEPH        FRIESINGER                  OH     90012916016
46258866772B32   NUBIA         SOTO                        CO     90001568667
462596A595B174   PAYGO         IVR ACTIVATION              AR     90012276059
4625B1AA15597B   GLORIA        CASTRO                      CA     49015361001
4626137A34B259   ERIN          LEAHY                       NE     90003383703
4626158A92B87B   WILLIAM       JELSMA                      ID     90012185809
4626165322B872   SHELLEY       BRETT                       ID     90007516532
4626174448B16B   XAVIER        GRIFFITHS                   UT     90014697444
46262757372B36   MICHAEL       CLANTON                     CO     33032937573
4626297445B58B   LORUHAMA      MACIAS                      NM     35070229744
46263115672B88   ALICIA        EDWARDS                     CO     33022251156
4626373932B27B   ROSA          PAZ                         DC     90012187393
46263A22151334   ERIKA         SANCHEZ                     OH     90014360221
4626487192B27B   BONNICA       MARTIN                      DC     81042338719
46264995172B4B   BRENDA        LOPEZ                       CO     90014739951
4626594184B543   LERON         SABBATH                     OK     90011089418
4626594664B271   ATA           ADOTRI                      NE     27047299466
462659A863B394   JOSE          ORTEGA                      CO     90003559086
46265A24751334   TAMMY         SWEETEN                     OH     90012020247
46266155772B43   LEANN         MIERA                       CO     90013761557
462663A2871999   JENNIFER      FRANCIS                     CO     90009953028
46267851872B88   AADAM         LAMB                        CO     90007028518
4626847AA4B259   SONDRA        GILL                        NE     90011354700
4626858877B426   WILLIE        WASHINGTON                  NC     90001555887
46269247872B88   JAMIE         MARIE BEALL                 CO     90003712478
4626957337194B   JIMMY         TRUJILLO                    CO     90010545733
462695A8A93752   REBECCA       FAUL                        OH     90005405080
4626969A161967   KAYLIN        MATTHEWS                    CA     90011526901
4626B41195B58B   BRAD          GREEN                       NM     35086114119
46271598A7B431   THERON        SMOUTHERSON                 NC     90011385980
46271A2627194B   REBECCA       TRUJILLO                    CO     38040350262
46271A6255B222   ELMER         JOHNSON                     KY     68002570625
46272314A7194B   JOSEPHINE     ERAGON                      CO     90010973140
4627242292B266   DAWITT        ABDISSA                     DC     90010164229
4627268A88B16B   TALENA        TORRES                      UT     90012876808
4627287564B271   RONNALD       HOSKINS                     NE     27054098756
4627296837B422   ERIC          DEATORY                     NC     90012209683
4627314A15597B   JOHNY         MUNOS                       CA     90012741401
46273988972B43   ALICIA        BARRERA                     CO     33006199889
4627423212B87B   DAVE          ROTH                        ID     41029572321
462748AA251361   RONALD        GABRIEL                     OH     90010018002
46275219A5B222   LAURA         BAKER                       KY     90013992190
4627587838B16B   DANETTE       STARK                       UT     90007928783
462761A378B16B   BIG           O                           UT     90014181037
46276588A47954   TIFFANY       JACKSON                     AR     25029375880
4627732428B16B   DEREK         MEYER                       UT     90004153242
4627772945B174   DARIEN        PHILIPS                     AR     90014947294
46277941A61963   LINDA         TABBS                       CA     46013589410
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46277991472B36   JAMI             PARKIN                   CO     90003889914
4627813725B323   DEVIN            DOMINGUEZ                OR     44506391372
4627983237194B   AMANDA           SUAZO                    CO     90014538323
46279A74291569   YVONNE           DOVENBARGEN              TX     75010920742
4628126934B259   CARYN            SWEENEY                  NE     27098742693
46281827772B36   STEPHANIE        DELEON                   CO     90013608277
4628231A45B222   ANGELA           LEMASTER                 KY     90013013104
4628258A751334   NOE              MARTINEZ                 OH     90007325807
4628311654B543   JONNY            GUTIERREZ                OK     90011121165
4628376487B431   SANDRA           MURRAY                   NC     90012627648
462842A1161963   LACY             OXFORD                   CA     90013662011
462842A8A4B543   MARIELVA         GUTIERREZ                OK     90011122080
46284611672B36   JOSE             ROSARIO-GAMBOA           CO     33090566116
4628467385597B   JESSICA          CANTU                    CA     49083086738
4628559582B87B   JENNIFER         RENTERIA                 ID     90014465958
4628578265B174   ARACELI          DE LA ROSA-GARCIA        AR     90014087826
4628584538B16B   ANGELA           MEYER                    UT     90006198453
4628666367194B   LAURA            ROBLES                   CO     90010546636
4628723712B87B   REBECCA          PROCHASKA                ID     41087022371
4628731665B174   PHARANETTE       COLLINS                  AR     90011073166
46287576A5597B   CASSANDRA        MALONE                   CA     49093105760
4628761395B58B   ANDROMEDA        CASSIOPEIA               NM     90014956139
4628992725B348   MUGERSA          ABDO                     OR     90002889272
46289A32461963   ARCHIE           SOLOMON                  CA     90014730324
46289A8594B259   LAJOYCE          HUNTER                   NE     27028860859
4628B31A761963   ANGELA           GARCIA                   CA     90009763107
4628B499972B36   VICTOR           VARGAS                   CO     33097264999
4629127484B271   ANTWUAN          BRADSHAW                 NE     27071502748
46291569172B43   ANA              CECILIA MORENO           CO     33038945691
4629181295B174   ERICA            RUSSELL                  AR     90011218129
4629244415B58B   MELLANIE         AMMONS                   NM     35054044441
46294195733B63   BRIANNA          MOORE                    OH     90015411957
4629493245B174   DIEGO            GARCIA                   AR     23003789324
46294A61461963   FRANK            JONES                    CA     46018560614
4629594125B222   TIERA            THOMAS                   KY     90013559412
46295A98854151   SHANA            GIGER                    OR     90010520988
4629637784B271   COREY            KORTH                    NE     90013873778
46296A9244B259   MANUEL           VALDEZ                   NE     90011200924
46297564172B4B   RICHARD          BURNETT                  CO     33071075641
462975A345B58B   STEPHANIE        GAYTAN                   NM     90012665034
4629764675597B   MONICA           ALDANA                   CA     90012476467
4629891595B174   TYSHAE           DEADMON                  AR     90011959159
4629988595B53B   ARTURO           MONTOYA                  NM     35016008859
4629994AA91569   STACEY           LUGO                     TX     75023729400
46299A74A72B4B   NATE             CORONADO                 CO     33099250740
4629BAAAA51334   ELLIOT           THOMPSON                 OH     90013440000
462B1654861925   PATTY            ITARO                    CA     90010406548
462B177725B53B   CHRISTINE        ESPINOSA                 NM     90012107772
462B1A86891569   JOSE             QUIROZ                   TX     90002750868
462B261185B174   JOYCE            MERRIWEATHER             AR     23006336118
462B287392B27B   ARMANI           ROBINSON                 DC     90014558739
462B3714672B43   ELIZABETH        MICHAELS                 CO     90007387146
462B3735A61967   JUDD             DELOSSANTOS              CA     90014587350
462B428484B271   AVENDANO LOPEZ   RIGOBERTO                NE     90012682848
462B477725B53B   CHRISTINE        ESPINOSA                 NM     90012107772
462B48A5261963   TAMMY            HERNANDEZ                CA     90009248052
462B4947551334   KAREN            IRVIN                    OH     90014389475
462B5291A77595   BRIAN            RAMIL                    NV     90010072910
462B5355672B43   ROBERT           HEINZMAN                 CO     90009223556
462B5591961963   SAUL             CORONADA                 CA     46090745919
462B6136361963   MERRILL          HARVEY                   CA     90010021363
462B617385B53B   OLGA             GARCIA                   NM     90014721738
462B6284547954   DIEGO            OSWALDO                  AR     90004172845
462B6542471921   NOE              AGUIRRE                  CO     38096305424
462B6579277595   JACOB            BURCHETTE                NV     90006375792
462B6584872B43   ANGELO           STROCK                   CO     33061285848
462B7165472B36   JOHN             SMITH                    CO     90013681654
462B7248672B4B   CHARLES          HILLMAN                  CO     90014912486
462B7292571999   JOYCE            SISNEROS                 CO     38008102925
462B7327A91886   GARY             COOK                     OK     90006883270
462B7379172B36   LINDA            CARDONA                  CO     33082123791
462B7542471921   NOE              AGUIRRE                  CO     38096305424
462B763A95B53B   ANDREA           SALAZAR                  NM     90010346309
462B77A465597B   MELISSA          WERTMAN                  CA     90011857046
462B783154B547   TASHA            UNDERWOOD                OK     90001028315
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462B7992972B43   JASON         WESTOVER                    CO     90012959929
462B817395B53B   ANGEL         ORNELAS                     NM     90014721739
462B8336251328   MARSHALL      BUSNAK                      OH     90006743362
462B8492651334   DENNIS        PARTIN                      OH     90011204926
462B915942B87B   SIERRA        EASTMAN                     ID     90014881594
462B9316672B4B   ANALILIA      ROMERO GUTIERREZ            CO     90003103166
462B973A455939   SHARESE       ROBY                        CA     49080077304
462B9A7275597B   ISAIAS        VALDEZ                      CA     90006290727
462BB13462B87B   FRANKIE       TOWER                       ID     90012541346
462BB78428B182   ASHLY         NORRIS                      UT     90012567842
462BBA23877595   JOHN          WOOD                        NV     90011280238
4631148A261963   GUADALUPE     ESCALANTE                   CA     90014994802
463119A488B16B   ARACELI       TREJO                       UT     90006199048
4631355AA61967   JASMINE       DALLION                     CA     90008835500
46313A97551334   AROLDO        MEJIA                       OH     90002520975
463142A115B58B   ARACELI       TERRAZAS                    NM     35061232011
4631588A972B43   FELISHIA      MARTINEZ                    CO     33044048809
46316381672B36   HAROLD        PORTER                      CO     90010223816
46316A66672B36   RANDY         DURAN                       CO     90012130666
4631713977194B   JOHN          GRAVES                      CO     38091661397
4631788556197B   MARIA         VALENCIA                    CA     46098808855
463178A1472B43   PATRICIA      REDDING                     CO     33090958014
4631817265B222   SANDY         CLARK                       KY     68095061726
4631823592B27B   CONNIE        ANDERSON                    DC     90007272359
46318532572B4B   NANCY         VALERIO                     CO     33060585325
463186A5A61967   EDWIN         AYALA                       CA     46056886050
4631897265B53B   CRYSTAL       DOMINGUEZ                   NM     90000279726
46318A5297B431   HAHLY         TINDAL                      NC     90015600529
46318A9645B58B   JAN           SCHROEDER                   NM     35069690964
4631933458B165   MONIKA        AUNE                        UT     90004253345
463195A8971999   ANN           GONSALEZ                    CO     90007795089
46319A9134B259   WHITNEY       SCHLOENDORN                 NE     27016750913
4631B15725B53B   LUIS          HERRERA                     NM     90014731572
4631B23937194B   TEPAC         WAUQUA                      CO     90014782393
4631B879251334   NEMORIO       MARQUEZ                     OH     90013958792
4631B995172B4B   BENJAMIN      BARRINGER                   CO     90014299951
4631BA78A8B16B   GLEN          BURNINGHAM                  UT     90012650780
4632118952B27B   SHAKIA        BONDS                       DC     90010551895
46321531A77595   ANGELA        PETERSON                    NV     43000015310
46321664A73267   JESUS         MORALES                     NJ     90011746640
46321983A5B174   JACQUELINE    WILLIAMS                    AR     90012599830
46322498272B36   ISRAEL        BRAVO GONZALEZ              CO     90010034982
463224A635597B   ROSA          RIZO                        CA     90011254063
46322673472B4B   DORTHA        KNIGHT                      CO     33011486734
463227A3577595   NICK          R                           NV     90005557035
46323322A61963   CRISTIAN      VALDERRAMA                  CA     46063823220
46323434A7194B   LORETTA       HERNANDEZ                   CO     38036504340
4632386325B58B   RAOUL         HERRERA                     NM     90013968632
46324685972B36   DOUGLAS       ANDERSON                    CO     90008066859
4632511515B222   BRANDI        BIBB                        KY     90011171151
4632516A83B399   JOHN          ZAYAC                       CO     33046721608
4632589A62B27B   TONYA         GIPSON                      DC     81018718906
4632619335B53B   AMANDA        PEREA                       NM     90014731933
463273A727194B   PAULA M       MAES                        CO     38062013072
4632799327B463   GENI          VEGA                        NC     90000999932
46328443372B4B   PILAR         AGUILAR                     CO     33045394433
463284A387194B   DAVID         SHIPLEY                     CO     90014784038
4632913257194B   AMANDA        MCDANIEL                    CO     90004531325
46329213A84386   LASHANNAN     WILLIAMS                    SC     90014382130
4632922335B58B   AMANDA        ALEXANDER                   NM     35003472233
4632924175B372   CARLOS        PEREZ                       OR     90001162417
46329351372B4B   ANDREA        BRADFORD                    CO     33076693513
4632B476172B43   MICHAEL       YAZZIE                      CO     90012794761
4632B617291569   ALJANDRO      MARTINAZALBA                TX     75047206172
4633114889376B   KHALIL        ALKHATIB                    OH     64506611488
46331321972B36   JOSE MANUEL   DIAZ                        CO     90012823219
4633223A25B53B   JESSICA       SANTISTEVAN                 NM     90014732302
46332839172B43   SARAHU        SILOS                       CO     90008568391
4633316128B16B   JASMINE       HERRERA                     UT     90013941612
46333896A5B58B   LORENA        ROMO                        NM     90001958960
4633426917B48B   PAMELA        SCOGINS                     NC     90007402691
46334A13591569   LINDA         SOLIS                       TX     75037010135
46334A47471999   MICHAEL       MICHELLI                    CO     90013790474
463353A727194B   PAULA M       MAES                        CO     38062013072
4633556445B58B   DAVID         ALDERETE                    NM     90004835644
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4633556532B87B   KYM           AVRIETT                     ID     41026095653
46336193A5597B   JACQUELINE    CORDOVA                     CA     90014451930
4633623A25B53B   JESSICA       SANTISTEVAN                 NM     90014732302
463362A1161963   LACY          OXFORD                      CA     90013662011
4633717258B165   ANGIE         MCGUIRE                     UT     31002081725
4633723135B53B   JENNIFER      HOSKINS                     NM     90014732313
4633737995B58B   SILVESTRE     ESPARZA                     NM     90011343799
4633841667194B   LISA          SYKES                       CO     90014784166
4633871318B16B   REBECCA       KELLY                       UT     90012877131
4633891988B16B   MARIANA       SOUZA                       UT     90015219198
46338A7A15B58B   JACK          NIX                         NM     35042400701
4633915164B271   ARCADIO       HERNANDEZ                   NE     90011891516
4633B454751334   JEFF          KELLY                       OH     90001184547
4633B51112B27B   BERNARD       MUNDAY                      DC     90013085111
4633BA46A5597B   ESTABAN       TREJO                       CA     90014890460
4634246845B58B   JUAN          DELGADO                     NM     35063514684
463424A315B53B   JOSE          CORNADO                     NM     90004924031
4634375AA4B271   DONTRAE       CARNEY                      NE     90010437500
4634382A95B58B   VINCENT       VAISA                       NM     90014868209
46344533A4B271   LAURA         CARLSON                     NE     27058615330
463449A395B222   KARA          RHEA                        KY     90014949039
4634565418B16B   SONYA         THOMPSON                    UT     90007356541
4634619897194B   ROBERTO       RAYA                        CO     38008341989
46346627172B43   ANA           CHAVEZ                      CO     33066776271
4634669942B27B   JAMIE         OBRIEN                      DC     90009496994
4634682495B53B   JENNIFER      BATEMAN                     NM     90014798249
46347341972B43   JO            NAT                         CO     90013053419
4634745A171999   BILLY         OSBORN                      CO     38097834501
4634746668B16B   NICHOLAS      CHRISTENSON                 UT     90013944666
4634748597194B   TAMMY         MEDINA                      CO     90014784859
4634841185593B   HICIDORO      ALCANTAR                    CA     90012654118
4634846225B53B   CHANELLE      SMOOTS                      NM     90011194622
463488A5861963   ALONDRA       FLORES                      CA     90013298058
46349228A7B431   CHRISTINE     SCHESSER                    NC     90010962280
4634939324B259   JOSE          CALDERON                    NE     27087883932
46349A72741289   JENNA         PFLUMM                      PA     90013040727
4634B34452B87B   CHRIS         MCCAFFERY                   ID     90012643445
4634B345291569   MATHEW        FLORES                      TX     75087263452
463511A4477595   RUBEN         MORENO                      NV     43062311044
4635157515B174   LAMONT        HOLLEY                      AR     23034615751
46352349A72B36   SAMANTHA      GRAHAM                      CO     90002613490
4635247127B431   AJ            TYLER                       NC     11007154712
4635255477194B   TARA          MCEACHERN                   CO     90014785547
46353539676B21   JULISSA       GARCIA                      CA     90000745396
4635358187194B   KYLIE         REYNOLDS                    CO     90014785818
46353891A51334   HERMENEGIL    SANCHEZ                     OH     66015428910
4635391A971999   LUKE          ORTEGA                      CO     90009149109
46354355272B4B   ERIK          JOHNSON                     CO     90013403552
4635458187194B   KYLIE         REYNOLDS                    CO     90014785818
46356A98172B43   MARIANA       CASTILLO                    CO     90013930981
46356AA7A4B271   LUCIA         TURCO                       NE     90013600070
4635732915B53B   DIANA         BROWN                       NM     35014373291
4635868565B58B   VERONICA      LLAGUNO                     NM     90014816856
46358AA4951334   ELWIHNA       KILMEDE                     OH     90011110049
463591A7A4B271   LUCRETIA      DE BERRY                    NE     90009891070
46359337A71921   CHRIS         FOURNIER                    CO     90001903370
4635948858B165   COSENTINO     TONY                        UT     90007834885
4635993947194B   CARRISSA      CROSBY                      CO     38030039394
46359A5352B27B   PRESTON       ARCHIE                      DC     90008370535
4635B26674B271   MICHAEL       WILKINS                     NE     90006602667
4635B33A45B174   LATIA         POWELL                      AR     90006673304
4635B489761938   MICHAEL       BAZZO                       CA     90008434897
4635B773291569   CHRISTOPHER   WOOD                        TX     90013137732
4635BA18381671   SUSAN         HEMENWAY                    MO     90014240183
4635BA3267194B   PATRICIA      SHIELDS                     CO     90010910326
4636141A77B431   KISHA         SANDERS                     NC     90006704107
4636163687194B   CHARLES       GONZALES                    CO     90014786368
4636169768B16B   GERARDO       SORIANO                     UT     90014426976
4636169965B58B   JOHN          CORDOVA                     NM     35004446996
4636263757194B   MIRIAM        ARRAMBIDE                   CO     90014786375
4636373257194B   TED           MAISEL                      CO     90006707325
46363A8235B53B   GUADALUPE     AGUILERA                    NM     35080500823
4636415153B356   ALFRED        VASQUEZ                     CO     90001341515
4636511355B53B   ALLEN         MARTINEZ                    NM     90001841135
4636583277B431   JAMILLAH W    VANALLEN                    NC     90015158327
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4636634715B53B   CINTHIA         ALVEAR                    NM     35033483471
46366358A7194B   LETICIA         ORTEGA                    CO     38026213580
46368633172B39   WENDY           DEAN                      CO     90002396331
4636886482B27B   MENJIVAR        BLANCA                    DC     90014738648
46368A91271999   JUAN            MOLINA                    CO     90010030912
4636951292B87B   WILLIAM         MILLER                    ID     90012455129
4636975655597B   MAIYANG         THAO                      CA     90012727565
46369783572B43   ALEXANDRIA      WRIGHT                    CO     33055197835
4636999A25B174   RODRIGO         ZAVALA                    AR     90015249902
46369AA4161967   ENRIQUE         VELASQUEZ                 CA     90012840041
4636BA58671999   SAMUEL          MALDONADO                 CO     90011290586
4637124662B87B   JENNIFER        PEONE                     ID     41001902466
4637132652B879   LISA            WHITEWATER                ID     42000903265
4637152728B351   CANDICE         ULMERS                    SC     90014575272
46372133972B4B   OSVALDO PEDRO   CORONEL                   CO     90011871339
4637228A285625   TIA             CORLEY                    NJ     90005812802
4637316A161967   ROCIO           BERGUM                    CA     46017161601
4637438755597B   DEREK           LAWSON                    CA     90000353875
4637528335B53B   ROSALBA         VALDEZ                    NM     90014732833
463755A4672B4B   JAMES           PETERSON                  CO     90015595046
463759A548B16B   CALEB           MANGUM                    UT     90008689054
4637689948B182   MAGDALENA       GONEZALES                 UT     90001798994
46377431A91873   SHARON          BECKETT                   OK     21016094310
463774A4472B4B   KAREN           MAHONEY                   CO     90005264044
46377A56755939   CHUCK           RECLUS                    CA     49092920567
4637825625B174   JOHN            MILLER                    AR     90011222562
4637837575B53B   NANCY           BEATRIZ MARTINEZ          NM     90014203757
4637B11225598B   JARED           FERNANDES                 CA     48038071122
4637B56788B16B   NICK            EDWARDS                   UT     31000215678
4637B737377595   LUISA           CHAVARIN-CARMONA          NV     90009677373
4637BA2465B53B   BRENDAN         AGUILAR                   NM     90010360246
463822A195597B   BENITO          GUTIERREZ                 CA     49074472019
46382331672B43   JOHNNA          REECE                     CO     33083373316
4638255A551334   MATTHEW         JACKSON                   OH     66045285505
4638328195B53B   ARTURO          ZAMBRANO                  NM     35077572819
46383368372B4B   ADRIANA         GARCIA                    CO     33071773683
4638341654B271   CHARLES         BROWN                     NE     90014274165
4638419768B157   MYLENE          SOTELO                    UT     90010531976
4638448538B16B   RICHARD         MILLER                    UT     90012624853
463845A538B165   CONNIE          BLAKE                     UT     90005855053
46384979572B36   TEANA           CHAVEZ                    CO     90003479795
4638523212B27B   MAYRA           BLANCO                    DC     81057662321
4638543317B431   APRIL           LOMAX                     NC     90012324331
4638569465B174   KENEISHIA       JEFFERSON                 AR     90014696946
46385A11761967   YOLANDA         MORALEZ                   CA     90012950117
46385A6785597B   NANCY           JIMENEZ                   CA     90002820678
4638632637194B   JENNIFER        DREWERY-TAYLOR            CO     38065313263
46386612572B4B   MYRICK          MYRICK                    CO     90012026125
4638735619185B   STACEY          STEPHENS                  OK     21075403561
4638757A772B36   PIA             BURLESON                  CO     33071315707
463883A265597B   ANGELICA        CAMPOS                    CA     90004953026
4638869585B174   SHANNON         PRATHER                   AR     90013156958
46388A1A772B4B   TRACI           SALAZAR                   CO     90015080107
4638929492B27B   JULIO           HERRARTE                  DC     90009242949
463893A6461967   LAKIESHA        JACQUETT                  CA     46041033064
4638B818A91523   VERONICA        CHAVEZ                    TX     90007368180
4638B968291569   MARCO           LOPEZ                     NM     75043669682
46391588272B4B   NICHOLAS        SCARANDA                  CO     90013335882
46392849A5B174   PARISKAVDU      STARR                     AR     90000378490
4639323274B271   MELISSA         SINNOTT                   IA     27048442327
4639363642B87B   MAKAYLA         LANCE                     ID     90013676364
4639365A16197B   ROCHELLE        STURDIVANT                CA     46007126501
46393868672B4B   MARIA           GUERRERO                  CO     90015388686
46393956672B4B   JUSTIN          BREINIG                   CO     90012829566
46393A72277595   SEAN            ROLD                      NV     90012220722
46394371376B5B   JORGE           MURILLO                   CA     90001773713
46394A4278B165   SIPOLA          FUKOFUKA                  UT     31095950427
46394A46251325   ERIC            BROCK                     OH     66076950462
4639545825B53B   ANGELITA        ROAN                      NM     90014744582
463954A3A7194B   LARRY           WOOLSEY                   CO     90014804030
46396A9957194B   CHRIS           WILSON                    CO     90014790995
4639815315B222   CAPRICE         COTTON                    KY     90014191531
46398A9957194B   CHRIS           WILSON                    CO     90014790995
463993A1947954   JUAN            MARQUEZ                   AR     25072133019
4639B2A364B271   MARIDA          BUCSH                     NE     90005472036
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4639B33825B53B   JESUS         RAMOS                       NM     90014733382
4639B8AA361967   KRYSTAL       MONTERROSA                  CA     46012608003
4639B97A191569   MARIBEL       FABELA                      TX     90010919701
463B156347B431   JOHN          HOWARD                      NC     11046025634
463B169365B174   WYNESE        GANTT                       AR     90012426936
463B187872B27B   PRECIOUS      ROSSER                      DC     81007308787
463B274324B543   GRISELDA      GOMEZ                       OK     90011147432
463B2783461967   PERLA         MONTES                      CA     46012267834
463B2875172B98   FRANCES       MACIAS                      CO     33006858751
463B3532351334   KELLYE        COATES                      OH     90010975323
463B4112651334   RHONDA        ADAMS                       OH     90014231126
463B421337B431   SHIRLEY       MATRIN                      NC     90002272133
463B454257B431   EB            MOODY                       NC     90013965425
463B483984B543   SABRINA       WEANER                      OK     90011148398
463B4A7397194B   STEVE         VIGIL                       CO     38055650739
463B5184891523   ROLANDO       CASTILLO                    TX     75057051848
463B5494172B36   CYNTHIA       RUIZ                        CO     90009184941
463B5713261967   RICARDO       MORENO                      CA     46014747132
463B6617691569   ARTURO        COMPEAN                     TX     75087266176
463B8136A51334   ANGEL         CLEMMONS                    OH     66012491360
463B8252191569   JAIME         ESPINOZA                    TX     75036572521
463B8655277595   SERGIO        ZECENA                      NV     90004256552
463B949855B174   JASMINE       HILL                        AR     90015304985
463B9745261967   ANTONIO       LOPEZ                       CA     90014587452
463B985479373B   JOSEPH        BORGER                      OH     90001678547
463BB12787194B   DOMINIC       SOLIS                       CO     90014781278
463BB2A2A51361   SHATARA       GOVER                       KY     90010582020
463BB315371999   ASHLEY        GOMEZ                       CO     38026373153
463BB46442B87B   CANDICE       DIAL                        ID     90012264644
463BB56475B222   JOHN          JENKINS                     KY     68061815647
463BB86855B531   MADINA        NOURESTANI                  NM     90007658685
4641188395B58B   ABIGAIL       LONG                        NM     90012778839
4641257328B16B   LISA          TATE                        UT     31002165732
46412636172B4B   JENNIFER      WEST                        CO     90015146361
4641265455B222   APRIL         BURKHEAD                    KY     68085576545
4641275A55B174   ROBERT        IRBY                        AR     23095977505
4641291815B58B   JENNIFER      MARQUEZ                     NM     35010109181
4641357958582B   JUAN MANUEL   NUNEZ MARTINEZ              CA     90002745795
464136A7A72B4B   SHERRY        GRIEGO                      CO     33064576070
46413A46761967   BRANDON       RYF                         CA     90011700467
4641443835B53B   RAY           WHITE                       NM     35003454383
4641496942B27B   CHEARIE       PHELPS                      DC     90005899694
46415114772B4B   LAFAYETTE     LOPEZ                       CO     33098321147
4641519765B53B   HIPOLITO      RAMIREZ                     NM     90003941976
4641555938B16B   CANDACE       CARTER                      UT     90015515593
4641693885B174   ADRIAN        HUDSON                      AR     90014139388
4641776275597B   JESUS         AMEZSUA                     CA     90010217627
4641789675B53B   KANDIS        HERNANDEZ                   NM     35076368967
46417A26347954   MACAILA       THOMAS                      AR     90004530263
4641834975B222   ADARIUS       PEGUES                      KY     68013873497
4641B197781639   MERRISSA      CHAPMAN                     MO     29017151977
4641B84615B333   BOBBI         CLAYTON                     OR     90004858461
4641BA4128B16B   CATHY         TOWNSEND                    UT     90006740412
46421718A5B174   JOSE          PEREZ                       AR     23064867180
46421A17561963   HECTOR        RODRIGUEZ                   CA     90014160175
46422388A8B16B   AMBER         SKINNER                     UT     90013243880
4642284377B431   BURTON        LAVANA                      NC     90014568437
46422A2412B87B   MICHELLE      THOME                       ID     90012200241
4642369A691569   MICHAEL       MALDONADO                   TX     90012056906
464238A925B53B   ESTEBAN       RAMIREZ                     NM     35095468092
46423A8115B174   ORETHA        BROWN                       AR     90014120811
4642415558B16B   FABIAN        ESPINOZA                    UT     90005711555
4642449725B222   REBECCA       HURST                       KY     90014844972
46424A2945B174   YOSELY        LAGOS                       AR     90010390294
46424A44861967   TOM           BLITCH                      CA     46017170448
4642535925B266   TONY          RAMEY                       KY     90002473592
464254A155B174   PATRICK       REED                        AR     90011384015
46425AA995597B   THOMAS        JUDGE                       CA     90004840099
46426265A4B551   MARIA         VANDERSCHANS                OK     90005382650
464273A524B271   BRANDIE       SMITH                       NE     90010123052
464275A7A8B16B   SAMUEL        SANDOVAL                    UT     90009605070
4642777355B174   ADRIAN        HUDSON                      AR     90014337735
4642793885B174   ADRIAN        HUDSON                      AR     90014139388
4642798A861967   TRACY         RAY                         CA     46053839808
4642924585B174   VICTORIA      CONWAY                      AR     90015132458
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4642956987194B   TANIA         GUERRERO                    CO     90002855698
4642958456198B   KEVIN         ODAY                        CA     90004625845
4642996832B27B   BRITTANY      GRANT                       DC     90008529683
4642B33457194B   SHEILA        ALARID                      CO     38014823345
4642B427772B4B   JAMISON       STEPHENS                    CO     90008564277
4642B547871999   LETICIA       ESCALANTE                   CO     90002305478
4642B88375B58B   VERONICA      PORTILLO                    NM     90014298837
4642BA55372B36   MARCO         ANDRADE                     CO     33076830553
4643129455B222   AMY           ELLIS                       KY     90013392945
4643253368B165   RACHEL        NIEVES                      UT     31025525336
46432A95861963   JESSICA       MALDONADO                   CA     90014600958
464345A3951334   ERICA         CAUTHEN                     OH     90009895039
464347A955597B   MARIA         TORRES                      CA     90013677095
46434A56161967   JASON         DENIS                       CA     46064660561
4643539423143B   LAWANDA       LITTLE                      MO     90012573942
464353A2661967   AIDA          RAMIREZ                     CA     90010803026
4643541478B16B   BRETT         OLSEN                       UT     90010504147
4643654198B165   DORA          ACEVEDO                     UT     31065435419
46436798A7B431   JENNIFER      COX                         NC     90013777980
4643694287B457   JOSE          PENA PAREDES                NC     90013219428
46436A7667B431   JENNIFER      COX                         NC     90012340766
4643741917194B   BURLENE       CAMPBELL                    CO     38030884191
464388A674B271   PATRICIA      PIKE                        IA     27069708067
46439A2A171999   CRYSTAL       SENA                        CO     38006180201
4643B13835B53B   KIMBERLY      REGER                       NM     35020991383
4643B96765597B   LIZBETH       MELCHOR                     CA     90014839676
4644135A691569   GHISLAINE     HERNANDEZ                   TX     90012343506
464423A555B174   SHATOY        FLEMING                     AR     90010823055
46442AA272B92B   BANEEBAL      WILLAM                      CA     90007290027
4644548157194B   DELORES       ESQUIBEL                    CO     90014794815
46445958A31487   CHRISTOPHER   TYSON                       MO     90014499580
4644776497194B   LOUELLA       VELASQUEZ                   CO     90010167649
46448132A91569   RAFAEL        BERUMEN                     TX     90005501320
4644848157194B   DELORES       ESQUIBEL                    CO     90014794815
46448884924B6B   WALTER        VILLARROEL                  VA     81046528849
46448A17281639   MEGAN         BARBER                      MO     29017260172
46448A6129714B   CATHY         CLIFT                       OR     90001390612
46448A94971999   LAURA         VALDEZ                      CO     90014320949
4644B37648B16B   CHARLENE      PRATER-RICH                 UT     31053333764
4644B926261967   AMY           WOODARD                     CA     90011419262
4645149147194B   VICTORIA      ALBO                        CO     90011544914
464515AA75B58B   MARIA         AVILA                       NM     90014985007
464523A265597B   ANGELICA      CAMPOS                      CA     90004953026
4645272115B174   SADE          WIMS                        AR     90014107211
464531AAA2B87B   TAMMI         BUSBY                       ID     90011571000
464564A1451348   NICK          CHERNEY                     OH     66006854014
4645652238B16B   CHRISTIAN     DOWSETT                     UT     90010695223
4645664296197B   SCOTT         ZOPF                        CA     46068216429
46456A19793767   OCTARIA       HUNTER                      OH     90000130197
464571A8A61963   NECOLE        SMITH                       CA     46097061080
4645736515B174   MALIA         COLLIER                     AR     90013393651
46458574A77595   DARLA         WARD                        NV     43091635740
4645947657B431   JAMILLAH      VANALLEN                    NC     90015144765
46459A15393769   MONICA        BLAKE                       OH     90013550153
4645B184761967   KEYON         MCCRAY                      CA     46062461847
4645B43462B87B   DEVIN         DURBIN                      ID     90014744346
4645B818A7B431   CORNELIUS     BLAKMON                     NC     90014598180
46461554972B43   KATHLEEN      NELSON                      CO     90000625549
4646268885B299   KAREN         DUNN                        KY     90001066888
4646333148B165   DANIEL        DIAZ                        UT     31045233314
46463366A33662   JOY           HAIRSTON                    NC     90001203660
4646379935B174   NICOLE        HERNANDEZ                   AR     90013617993
46463A3626195B   CHRISTOPHE    HARKINS                     CA     46031320362
4646515153B356   ALFRED        VASQUEZ                     CO     90001341515
4646583228B16B   JORGE         DE SANTIAGO                 UT     90003838322
46466757472B43   MOSES         SILALAH                     CO     90010087574
4646819315597B   MARIA         BALDIVINOS                  CA     49083631931
46471384A5B58B   STEPHANIE     TREJO                       NM     90014703840
4647141745B53B   RENEE         PACHECO                     NM     35074914174
46471585A7194B   RENEE         MADRID                      CO     90014795850
46473434272B4B   SANTA         GARCIA                      CO     33067404342
46474388A8B16B   AMBER         SKINNER                     UT     90013243880
4647444352B84B   SELMA         MOHAMMEDNUR                 ID     90013984435
46474553772B43   JOSHUA        SOPRIS                      CO     90013015537
464751A285597B   RAMIRO        HERNANDEZ                   CA     90014881028
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46475411672B43   JORGE        MARTINEZ                     CO     33040374116
4647599355B272   RAMONA       WHITEHOUSE                   KY     68018429935
4647673685597B   SCOTTINA     JOHNSON                      CA     90015397368
46476A25372B36   KIM          YEAGER                       CO     33078600253
4647917198B16B   ANGEL        ALVAREZ                      UT     90013321719
4647988635B53B   BETTYLOU     SALAZAR                      NM     35054948863
4647994968B141   TRAVIS       MORGAN                       UT     90002829496
4647B31547B431   ANISHA       MCCLUNEY                     NC     90011003154
4647B393971999   DESARIE      CHAMPION                     CO     90015043939
4647B931571999   ANESSA       CORDOVA                      CO     90010109315
4648138A684353   NICOLE       GASTON                       SC     90001403806
46481A97872B43   ROCIO        MEDOZA                       CO     90007520978
46482593A61967   JEANNE       MONDRUS ACCT PROD 8095       CA     90014855930
46483356272B4B   SHARON       FARD                         CO     33090793562
4648361147B431   JONATHAN     EDWARD                       NC     90000616114
4648388635B53B   BETTYLOU     SALAZAR                      NM     35054948863
4648425518B16B   MELYSSA      SCHIFFMAN                    UT     90013942551
4648519347122B   APRIL        LAMBING                      IA     90015301934
46485A63172B36   NANCY        CONTRERAS                    CO     33069700631
4648639785B174   LAQUISHA     KENDLE                       AR     90014593978
4648674542B872   MATTHEW      HESS                         ID     90011597454
46486A4235B174   LAQUISHA     KENDLE                       AR     90009230423
464877A4461963   MIGUEL       NUNOZ                        CA     90013847044
4648784A88B163   LEONARDO     VEGA                         UT     90012838408
46488837872B23   KRISTEN      MORROW                       CO     90005058378
4648887A58B16B   CALSIE       DEMERY                       UT     31097838705
4648953357194B   MERSA        MARTINEZ                     CO     90008515335
4648991465B222   LINDA        HARRELL                      KY     90015139146
46489A9465597B   DARREL       SISNEY                       CA     49084520946
4648B687A5B174   WILLIE       VENTRESS                     AR     90011226870
4648BA3142B27B   DAVID        MITCHELL                     DC     90014750314
46491375372B36   RITA         VIGIL                        CO     33051833753
4649265695597B   JEFF         BARLOW                       CA     90010036569
4649271665597B   LORENA       URRUTIA                      CA     90013677166
4649368695597B   DANIEL       RAMIREZ                      CA     90012936869
4649379AA72B43   WILLIAM      BECKMANN                     CO     90009657900
4649425578B16B   WILMER       TROCONIS                     UT     90013942557
46494A15171999   ROXANNE      ROMERO                       CO     90012390151
4649512A35B174   KATRINA      BROADNAX                     AR     90012701203
46495A85472B43   CARLA        NEVAREZ                      CO     90007340854
46496368372B43   KASSIE       ANDERSON                     CO     33092903683
4649668614B271   MARCELA      MARCH                        NE     27094136861
46497AA655B174   EVELYN       HEARD                        AR     90015250065
4649828915B174   RAYMOND      CLAIR                        AR     90011302891
464984A5A72B36   MOOGI        KHALTAR                      CO     33003994050
4649856212B27B   ARTEMIO      RIOS                         DC     90011965621
4649893984B271   LYNN         JOHNSON                      NE     90015049398
4649943537B431   PEGGY        HUDSON                       NC     90006964353
464995A3A61967   HECTOR       RAMIREZ                      CA     90015335030
4649B26217194B   ANTHONY      MARTINEZ                     CO     90009622621
4649B856671999   AIOTEST1     DONOTTOUCH                   CO     90015128566
4649B921672B4B   MONIQUE      STYLES                       CO     90012839216
464B1A7285B333   DAN          GLUBECHT                     OR     90001100728
464B1A9957194B   CHRIS        WILSON                       CO     90014790995
464B294A35B53B   RAMON        RIVERA                       NM     35030549403
464B295A672B4B   HUGO         LAJUJ                        CO     33015429506
464B335A55B53B   CALEB        MALLORY                      NM     90014733505
464B3547A61925   GAIL         BREMNER                      CA     90008365470
464B357A891569   NYDIA        CENICEROS                    TX     75047985708
464B365234B271   STANLEY      JONES                        NE     90012346523
464B377655B53B   JONATHAN     HALL                         NM     90010887765
464B388785136B   ROBLERO      GUTIERREZ                    OH     90009178878
464B438652B27B   ANITA        PARSON                       DC     90010643865
464B4773372B4B   JANEL        GALLEGOS                     CO     90012617733
464B5138533646   MARITZA      NAVIDAD                      NC     90014241385
464B51A252B87B   JAZMINE      KITCHEN                      ID     90014251025
464B6142772B36   ISAAC        MARTINEZ                     CO     90008861427
464B6A3AA5B58B   ONTARIO      WAUNEKA                      NM     90012170300
464B6A9957194B   CHRIS        WILSON                       CO     90014790995
464B73A2172B43   YOLANDA      ROMERO                       CO     90003253021
464B7A1595B58B   RENEE        ROMERO                       NM     90014770159
464B814328B165   MIGUEL       ESPINOLA                     UT     31000921432
464B815A15B222   GAYLE        SUTHERLAND                   KY     68051871501
464B875385B174   SHAWANNA     JAMES                        AR     23061557538
464B891795B378   SUSAN        SEHM                         OR     90003839179
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464B8A9957194B   CHRIS        WILSON                        CO    90014790995
464BB357971999   FREDRICK     JOHNSON                       CO    90014233579
464BB68242B27B   WALTER       QUIGLEY                       DC    81052336824
4651133915B58B   MARIA        GUADALUPE MARTNIEZ-CARDENAS   NM    90012413391
4651294924B271   SHAWN        GREED                         NE    90008989492
4651353915B58B   MATTEA       VALDEZ                        NM    90015305391
4651357A591922   KWMATNE      TODD                          NC    90013295705
4651392A351334   KIMBERLY     RICHARDSON                    OH    90007919203
4651397915B222   REBECA       JUAREZ                        KY    90009569791
4651426178B16B   PEDRO        COTRINA                       UT    90013942617
46514316172B36   ASHLEY       ANNAN                         CO    90006913161
4651441542B27B   EVELYN       SARNO                         DC    90013374154
46516461972B4B   CRUZ         ALBARRAN                      CO    33092934619
4651658755B222   BRITNEY      SMITH                         KY    90009395875
4651738612B27B   SUZETTE      LITTLE                        DC    81020533861
46517A5A15B174   VENTHENE     HINTON                        AR    90015130501
46517A93877595   CRIS A.      MONTOYA MONGE                 NV    43004240938
4651818525B597   ISABEL       GARCIA-HERNANDEZ              NM    90005431852
4651852295B53B   MONICA       GOODSON                       NM    90014735229
4651858A65B174   JOSE         GRANADOS                      AR    90004955806
465187A298B165   YANET        RODRIGUEZ                     UT    90011057029
4651986A561967   JESUS        EVANGELISTA                   CA    90014428605
4651991A45597B   DANIEL       QUINTANA                      CA    90012629104
4651993274B271   ANGEL        GIRL                          IA    27037269327
4651B378855939   PAMELA       RICHMOND                      CA    90001673788
4651B523743575   DAVID        SCHOFIELD                     UT    90012135237
46521556A77595   CARLOS       CHAVEZ                        NV    43066265560
4652225887194B   PAMELA       LAWRENCE                      CO    90014362588
46522AA2261963   ED           BALDWIN                       CA    90014300022
4652372427194B   ASHLEY       CAMPOS                        CO    90006647242
4652399125B53B   ACEVES       AVILLA                        NM    90004709912
46524397A8B16B   ANGELA       JOHNSON                       UT    31090613970
46524A4745B53B   GERALD       KING                          NM    90013640474
4652552295B53B   MONICA       GOODSON                       NM    90014735229
465264A578B16B   HOLLY        ASHBY                         UT    90005724057
4652652295B53B   MONICA       GOODSON                       NM    90014735229
465273A2491394   MELISSA      THOMAS                        KS    90006893024
465273A417B431   TEVIN        REID                          NC    90010513041
4652752375B53B   CRYSTAL      ROMERO                        NM    90014735237
46527A66191569   ALBERTO      TERAN                         TX    75093750661
4652818582B395   JOSE         DEIDA                         CT    90014841858
4652838A861967   LUIS         GOMEZ                         CA    90010473808
46529A91A51334   YADIRA       REYES                         OH    90006370910
4652B56622B27B   NIKKIA       DYCHELL                       DC    90014975662
4652B65427B431   SEKOU        KARLEY                        NC    90014296542
4653297914B271   CODY         WEBBER                        NE    27093959791
4653355297194B   FEDELINA     SANTAMARIA                    CO    90011545529
465338A413B332   RALAEL       VILLA                         CO    33017478041
46533A7A561967   MARLA        GUTIERREZ                     CA    90012930705
46534535A5B53B   BRIANNA      MCAFEE                        NM    90014735350
465346A4A91569   HECTOR       GARDEA                        TX    75090336040
4653537695B53B   FRANCISCO    AVILA                         NM    90008973769
4653596117B431   MICHELLE     JENKINS                       NC    90012749611
4653623155B53B   MARIA        BOBADILLA CAMACHO             NM    90007972315
46536631A51334   CHELSEA      BRODERICK                     OH    90012986310
4653735632B27B   CLYDE        SOBERS                        DC    90013383563
46537412A4B271   FREADOM      MILLER                        IA    90014154120
46537972A77595   JOSHUA       HODGSON                       NV    90012419720
4653815294B271   MICKI        CARR                          NE    90014931529
46538472772B32   MICHELE      TRUJILLO                      CO    90010004727
46539A32A2B27B   HATTIE       DREW                          DC    90002750320
4653B41895B53B   JOSE         VALENCIA-PENA                 NM    35023224189
4653B63A861967   MARCELINO    HERRERA                       CA    46054326308
4653B94A28B165   JOHN         BEVERLEIGH                    UT    90010329402
4653B998272B43   JOSE         SEGOVIA                       CO    33055669982
4653BA52561963   UILSY        NORIEGA                       CA    46059350525
4653BA6232B87B   SHAWN        FEDELE                        ID    90012620623
4654176832B87B   JEREMY       YOUNG                         ID    90012587683
4654223125B174   SHEENA       ANDERSON                      AR    90011232312
4654237924B271   JOSE         HERNANDEZ                     NE    90012933792
4654293394B259   TIFFANY      BANFIELD                      NE    27097319339
4654329778B16B   JOSE         MENDEZ                        UT    31017392977
46544317872B43   EDGAR        HERNANDEZ                     CO    33087983178
46544953A55939   TROY         SMILEY                        CA    90007839530
465466A555597B   NORMA        ROMERO                        CA    90008346055
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4654742182B27B   DAVID           WASHINGTON                DC     90011454218
4654782567B431   ANTONIO         CRUZ                      NC     90015548256
4654786125B174   GLENN           CRIPPEN                   AR     90014338612
46547A3695B58B   MARICELA        MEDINA-MOREIRA            NM     35025440369
4654824297B431   LAZARUS         HOLEMAN                   NC     90002172429
4654864665134B   ANTHONY         STEWART                   OH     90011276466
4654882215B222   DONNIE          SMITH                     KY     90012768221
46548A3717194B   LUIS            MIRANDA                   CO     90014820371
46549433A8B16B   DANIELLA        MALDONADO                 UT     90013944330
4654952A191569   REBECA          K PROCHOVNIK              TX     75015885201
465496A6272B43   SYMONE          FORD                      CO     90013786062
4654BA24561965   CARMEN          PENA                      CA     90010700245
46552A4257194B   SONDRA          ARAGON                    CO     90014820425
465532A424B271   ANTHONY         JACKET                    NE     90012322042
46553A8532B87B   NATHAN          BROWN                     ID     90013030853
46554497A8B16B   MICHELLE        NIXON                     UT     31037824970
4655485595B53B   FRANCES         GALVAN                    NM     90004868559
4655486252B27B   REYNA           CASTILLO                  DC     90010928625
46554A69591569   NANCY           BORJON                    TX     75055260695
4655554915B388   ROBERT          SHORKEY                   OR     90014435491
46555A5265B174   TISHA           CAMPBELL                  AR     90004680526
4655668565B58B   VERONICA        LLAGUNO                   NM     90014816856
46557768172B36   ALINA           CORTAZAR CANO             CO     90008677681
465579A634B259   MASON           ALTHEA                    NE     90000719063
4655855925B53B   MAURICIO        CANDIA                    NM     90014735592
4655888775B222   DAVID           CLAYTON                   KY     90014138877
465588A6461963   ANTHONY         FLORES                    CA     90013298064
4655B16592B87B   JACQUELYN       SUTTON                    ID     41005531659
4655B56235B174   AMIR            FLEMING                   AR     90000435623
4655B5A757B666   NOE             HERNANDEZ                 GA     90015415075
4655B677971999   ANGELICA        MUNOZ                     CO     90011296779
46561A9A672B36   YOLANDA         RIVERA ROCHA              CO     33090630906
4656288842B27B   TONYA           LYLES                     DC     90000378884
46562A8717B431   CHASSITY        DILLARD                   NC     90012950871
4656311A171999   MICHAEL         MARTINEZ                  CO     38005041101
465646A315B174   MICHAEL         LANEER                    AR     23061896031
4656473295597B   BROCK           SANDERS                   CA     90010217329
4656485325B376   ROSS            CASTERLINE                OR     90010018532
4656551845597B   VICENTA         MONDRAGON                 CA     90014375184
46565A93A5B58B   ANGELITA        SPRUNK                    NM     35015540930
4656655A65B174   ALLEN           ANDERSON                  AR     90012885506
46566687A72B4B   RYAN            ROAN                      CO     90013616870
465681A2997B32   LIDIA           SANTILLAN                 CO     90013131029
4656827118B16B   TRACY           JAMISON                   UT     31085072711
4656882A62B27B   MA VICTORIA R   TORRES                    VA     90001838206
465688A665B299   MYAYARA         HAYNES                    KY     90010558066
465699A2161967   JARED           MUNZ                      CA     46055449021
4656B6A818B16B   MANSOUR         YAROW                     UT     90014566081
4656B88415B174   MARY            WALKER                    AR     90004828841
4657117635B174   MARY            ROSE                      AR     90011521763
4657226797194B   OLIVIA          DOMINGUEZ                 CO     38072482679
465724A9472B4B   JAMIE           BOSTIC                    CO     90014624094
4657325532B87B   CHELSEA         MEHR                      ID     90014722553
46573424A8B16B   TODD            GOFORTH                   UT     90014484240
465759AAA2B87B   BERNICE         COSMAN                    ID     41034099000
46575A8967194B   ANDREA          MARTINEZ                  CO     90012970896
4657645A297B32   GILBERT         GARCIA                    CO     90013954502
4657654297B431   LETICIA         WATSON                    NC     90011115429
4657671882B87B   DANIEL          BECK                      ID     41062037188
46576A2A98B16B   DUSTY           AUNE                      UT     31019510209
4657849465B222   RICHARD         WATERS                    KY     90008664946
46578642472B43   PAYGO           IVR ACTIVATION            CO     90013586424
46578791472B36   JASPER          FLORES                    CO     33073967914
465793A137B431   ANGELA          HAMILTON                  NC     90010453013
46579A8967194B   ANDREA          MARTINEZ                  CO     90012970896
4657B226961963   JOSE            HERNANDEZ                 CA     46034432269
4657B42595B174   GWENDOLA        BROWN                     AR     23041244259
4657B7A1951334   AMANDA          ARTMEIER                  OH     90010987019
465811A5291569   ALBERTO         HERNANDEZ                 TX     75086491052
465813AA971999   LONG            KIM                       CO     90010093009
4658185595B58B   FRANCES         GALVAN                    NM     90004868559
4658185697194B   DEREK           ROSALES                   CO     90014858569
4658187155B55B   MARY            SUGGS                     NM     90012388715
4658244A871999   PAMELA          GONZALEZ                  CO     38013394408
465826A825597B   YESENIA         MONZO                     CA     90003746082
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4658295337194B   MICHAEL        CHANEZ                     CO     90014869533
4658321644B271   JAVIER         MENDOZA                    NE     90012352164
46583329A51334   BETTY          SPRANDEL                   OH     90012923290
4658341855B174   CHARLES        WILLIAMS                   AR     90014234185
46583753A91569   CYNTHIA        CRISPIN                    TX     90012377530
46583AA4661967   LORENA         PARRA                      CA     46084150046
4658462772566B   KOWON          LITTLE                     AL     90014236277
46584795372B36   MARK           STONE                      CO     90010137953
46584883372B43   MARIO          CAMPOS                     CO     90012148833
4658513128B186   AMY            CORPRON                    UT     31004241312
4658541375B174   TIMOTHY        SLATES                     AR     90011234137
4658581185B58B   VINCENT        PALMERI                    NM     35014668118
4658592947194B   EYLAH          KOTA                       CO     90014859294
4658626A17B431   ERNEST         ADDAIR                     NC     11003522601
4658658295B53B   JOHN MICHAEL   GOMEZ                      NM     90014735829
4658679172B87B   JENNIFER       SCHULTZ                    ID     90014517917
46586835972B43   JULIA          MUNOZ                      CO     33061948359
465892A2671999   JOSEPH         TREADWAY                   CO     38032102026
465896A145B58B   ALEX           ORTEGA                     NM     35038146014
4658B844661967   DULCE          VARGAS                     CA     90012918446
4659176867B431   LINDA          BROOKS                     NC     90012887686
4659247455B58B   GABRIEL        MARQUEZ                    NM     90006664745
465927A8A72B32   FRANCISCO      CRUZ                       CO     90007897080
4659336A161967   MARIA          RUIZ                       CA     90011903601
4659344182B27B   FRED           SANFORD                    DC     90012784418
46593629572B4B   CHANPEL        PEDILLA                    CO     90014726295
46593A67351388   MYEISHA        GODFREY                    KY     90001320673
4659415312B27B   PATRICK        GOLDSON                    DC     90011691531
4659452393B351   BRIAN          NASTICK                    CO     33034615239
4659476524B577   ELVIRA         DOYLE                      OK     90008747652
46595922472B43   JOSEPH         DANKOWSKI                  CO     90013829224
465964A1172B43   GLENDA         SPOMER                     CO     33076964011
4659678A947954   ABAGAIL        DUNCAN                     AR     90007647809
46597A32555939   BEATRICE       RAMOS                      CA     90007400325
4659846745597B   TERESA         RAMIREZ                    CA     90013094674
4659859724B271   FRANCISCO      DOMINGUEZ-AVALOS           NE     27046095972
46599755972B36   NICOLE         RUIZ                       CO     90009657559
4659986865B264   AMANDA         SMITH                      KY     90014638686
4659B132672B43   ERICA          ALDAVA                     CO     90013061326
465B186984B546   TINA           VANN                       OK     90003798698
465B197875B174   LEONARDO       ROSAS-HUESCA               AR     90011799787
465B1A2955B53B   JOSE           ALEMAN                     NM     35063670295
465B2355871999   ALBERT         RIVERA                     CO     90012953558
465B239A272B43   ANDREA         PETERSON                   CO     90010053902
465B263A861967   MARCELINO      HERRERA                    CA     46054326308
465B2786972B4B   VICKIE         SMILEY                     CO     33025357869
465B2915651334   EDDIE          BLESSING                   OH     90012109156
465B338727B431   BREANNA        CAERRA                     NC     90015043872
465B3496761963   GUILLERMO      CASTILLO                   CA     90013114967
465B5215691523   ROSALIO        LUNA                       TX     90007372156
465B528634B577   VALICIA        MALONE                     OK     90008492863
465B635857194B   JOLENE         ROMERO                     CO     90005313585
465B72AA42B879   STEPHANIE      GUARDIOLA                  ID     90013852004
465B7497872B4B   DOUGLAS        MANGELS                    CO     33055234978
465B7564172B43   DARLINE        ARGUELLO                   CO     90012405641
465B788584B259   JUNE           CURTIS                     NE     27016828858
465B7927171999   TANYA          PRIEN                      CO     38054499271
465B829752B87B   WOODARD        ROBERT                     ID     41097532975
465B8581461967   YARE           MARICELA RAMIREZ           CA     46085575814
465B874495B53B   FAVIAN         PIERCE                     NM     90014737449
465B876A85B222   MICHAEL        BUCHANAN                   KY     90014877608
465B88A5A72B43   ANDRES         SCHULTZ                    CO     90015118050
465B8A71671999   JULIE          ROMERO                     CO     90013340716
465B988584B259   JUNE           CURTIS                     NE     27016828858
465B995822B87B   MARY           MAEDER                     ID     90002609582
465BB837171999   SARAH          MEIGS                      CO     90003158371
465BB866277595   NATHAN         HUNTER                     NV     90007248662
465BBA9495B53B   GARY           TRUJILLO                   NM     35039340949
466118A4372B36   BRITTNAY       MANTYCH                    CO     90011008043
4661214265B174   ANGELA         WARREN                     AR     90014811426
4661225A191873   LAURA          BLEVINS                    OK     90005922501
46612293872B36   ROSE           MORALES                    CO     33012722938
46613291933B98   VALERIE        JACKSON                    OH     90015132919
4661347A791873   SHIRLEY        SMITH                      OK     21028234707
46613518272B4B   ALEJANDRO      GARCIA T                   CO     90015055182
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4661456115597B   LORNA        MITCHELL                     CA     49017685611
4661491A272B4B   ARTURO       MARTINEZ                     CO     90014119102
4661532A177595   MICHEAL      FIELDS                       NV     90011293201
4661596845B53B   RIGOBERTO    NAVARRO-DIAZ                 NM     35080269684
4661666975B174   JOANN        HUNTER                       AR     90011236697
46616712A51334   PETRA        MCNEIL                       OH     66019357120
46616A11A6B145   DORICE       MILTON                       MS     90014250110
46616A98672B43   ROSA         VERA                         CO     90000110986
4661734212B27B   THEADORE     GOODE                        DC     90012133421
4661762A44B259   MARIA        PACHECO DE QUINTEROS         NE     27016906204
46617A1738B165   DJ           THOMSON                      UT     31079910173
46618143A7B472   BLANCA       GUZMAN                       NC     90010901430
46618398233B55   JR           DOWDLE                       OH     90013363982
466187A695B174   WILLIAM      CAMBELL                      AR     23071557069
4661896515597B   GARY         SELLING                      CA     90013119651
4661928682B27B   BRIANNA      JONES                        DC     90014862868
4661954352B27B   HELEN        WILLIAMS                     DC     81043935435
46619742972B62   ANA          MORENO                       CO     90013877429
4661B79457B431   ALBURN       GLAZE                        NC     90015017945
4661B95962B87B   ALLISSA      LEBLANC                      ID     90003559596
4662161515B53B   ANNA         MONTES                       NM     90014736151
46621A1A691569   JAQUELINE    SALAS                        TX     90001040106
4662244255597B   RAYMUNDO     AVALOS                       CA     90000354425
46622A18872B36   MICHAEL      BROADWAY                     CO     90013080188
4662338192B27B   ROGER        JOHSON                       VA     90011953819
46624121A4B271   KELLY        COMORSKI                     NE     27015741210
46625A3958B16B   REYNALDO     FUENTES                      UT     90014900395
46625A92572B4B   JASON        HILTON                       CO     33082810925
46626261A72B4B   BRENDA       CALDERON                     CO     90015112610
46627A54591569   MIRIAM       MARQUEZ                      TX     90012280545
4662869A95B58B   DANIEL       MISQUEZ                      NM     35012356909
46628938A61963   ALICIA       LOPEZ                        CA     46068109380
46628AA3572B43   ESPARONZA    GALINDO                      CO     90007880035
466293AAA5B222   BEINDA       HENDERSON                    KY     90014973000
4662995235B222   LANCE        HENRY                        KY     90010339523
4662B95A672B4B   ANTONIO      GOMEZ                        CO     33093109506
4662BAA7272B36   BRITTANY     ARGUELLO                     CO     33051230072
46631355372B43   CHANDRA      KHANAL                       CO     90006013553
466324A628B16B   ALEJANDRO    ROMERO                       UT     90013944062
4663251155B53B   DELIA        DURAN                        NM     90001055115
466334A3291569   HENRY        LOPEZ                        TX     90011064032
4663392825B222   TINA         WILDER                       KY     68010019282
4663421725B926   RHONDA       CLARK                        WA     90015462172
4663454267194B   CRYSTAL      ARCHULETTA                   CO     90014385426
4663476614B259   RUTH         WILLIAMS                     NE     27064827661
466358A9493769   JUSTIN       HART                         OH     90008548094
4663617997194B   ROSEMARY     BOFFILL                      CO     38033371799
4663633935B222   HURST        KEISHA                       KY     68060563393
46636846572B43   IVAN         HERNANDEZ                    CO     90012158465
46636A11171999   ANN          MUNOZ                        CO     90008610111
4663763A891569   MARIAL       MALDONADO                    TX     75003176308
46638168872B4B   ANDRADE      RIGOBERTO                    CO     90010181688
466382A454B271   TONNESHA     QUALLS                       NE     90009702045
4663899195B58B   HERIBERTO    HERRERA                      NM     90013969919
4663B541A72B4B   VANESSA      GARCIA                       CO     90004375410
4663B878371999   BENITO       MEDINA                       CO     90011298783
4663B89A44B259   BRENDA       WALDRON                      NE     90010588904
4664129948B16B   JULLIAN      ROWLEY                       UT     90012452994
4664199195B58B   HERIBERTO    HERRERA                      NM     90013969919
46642148772B4B   BERRIOS      JESSICA                      CO     90008441487
46642156A5597B   ZALI         MACK                         CA     90012131560
4664299685B58B   TU ANH       CHUONG                       NM     90013969968
46643451172B4B   EMILCAR      SANDOVAL                     CO     90010744511
46643A9135B174   ARTHUR       WILLIAMSON                   AR     90012790913
4664428A18B16B   GILDA        MCBRIDE                      UT     90013512801
46644472972B36   ALEJANDRA    RUIZ                         CO     90007564729
4664449758B16B   GILDA        MCBRIDE                      UT     31049064975
4664466918B165   TUO          JI                           UT     31099276691
4664473782B87B   TAMITHA      MURPHY                       ID     90014077378
466448A8891569   CARLOS       TORRES                       TX     75087228088
466449A5572B45   ANGELLA      FAWCETT                      CO     90015359055
4664584A64B271   DANIEL       SPRINGER                     NE     90013798406
466467A6461966   GUADALUPE    ROBLES                       CA     90012027064
46646AA125B58B   RODNEY       WALK                         NM     90013970012
4664763145B53B   MELINDA      SHIPLEY                      NM     90014736314
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4664851112B27B   BERNARD       MUNDAY                      DC     90013085111
466488A777194B   JENNIFER      OTERO                       CO     38068478077
466489A852B87B   ALAN          WILLFORD                    ID     90010509085
4664964A15B53B   ALONDRA       BARRON                      NM     90014736401
466496A3277595   AMBER         BOWLING                     NV     43011906032
4664B691191873   GABRIELA      CASTRO                      OK     21076056911
4665144A87B431   WAYNETTE      DENNIS                      NC     90014134408
4665185757194B   RICARDO       SAUCEDO                     CO     90014888575
46651A59557127   DENNIS        AHENKORA                    VA     90002450595
4665224478B165   STEVE         ECHAVARRIA                  UT     90010002447
4665246435B53B   CHRIS         SANCHEZ                     NM     90014744643
46652A4A991569   MONICA        LEMUS                       TX     90004950409
4665316645B58B   LUSIANA L     DE MARTINEZ                 NM     90002571664
4665364A15B53B   ALONDRA       BARRON                      NM     90014736401
46653A66A7B431   MARIA         JAIME                       NC     90014110660
4665414958B165   KIMBERLY      BAKER                       UT     31079301495
4665485757194B   RICARDO       SAUCEDO                     CO     90014888575
4665557A76197B   AMANDA        MAGANA                      CA     46059505707
46655A6A361963   ANGIE         HOWARD                      CA     90012840603
46656793372B43   MARIA         FLORES                      CO     33042297933
466569A1661963   LINDA         LOPEZ                       CA     46010509016
46656A27151334   DEBORAH       SCHAUER                     OH     66057430271
4665749724B271   MIKE          WOODRUFF                    NE     90010834972
4665774AA5B58B   CYNTHIA       CERECERES                   NM     90010137400
466578A925B53B   HERMAN        HERRERA                     NM     90011028092
46658216772B4B   EUGENE        DELREAL                     CO     33007002167
4665864147B431   LESLIE        NEWTON                      NC     90001146414
4665899968B16B   ULRICH        HERRERA                     UT     90012339996
4665996A672B33   LARRY         DUTCHER JR                  CO     33092909606
4665B47117194B   CARLOS        BACA                        CO     90014444711
4665B575471999   MELINA        VIGIL                       CO     90013925754
4665B911657148   BEYLIN        FLORES                      VA     90001949116
4665BAAA772B43   WILBERT       SIEMSEN                     CO     90011150007
4666145745B174   DEAUNNA       NELSON                      AR     90010004574
46661584672B4B   ALEXANDRIA    TAYLOR                      CO     33095185846
466615A938B16B   RICHARD       MURDOCK                     UT     31002115093
4666164915B53B   ENRIQUE       HERNANDEZ-MARTINEZ          NM     90014736491
4666176745B959   ALBA          AGUILAR                     WA     90015427674
46661942A61963   MINERVA       OCAMPO                      CA     46035349420
46662311672B36   CELINA        TONEY                       CO     90009443116
4666233957B431   EBONIE        MOODY                       NC     90007053395
4666265265B58B   BAILEY        JOHNSON                     NM     35079866526
4666287A75B354   ANN           JONES                       OR     90012198707
46662963472B4B   ZACHARIAH     STERNER                     CO     90015279634
46667682472B4B   MARTHA        RINCON                      CO     90014126824
4666794A75B222   TIMOTHY       WAHL                        KY     90014769407
4666849735B53B   JESUS         NAJERA                      NM     35063304973
466688A815B174   SHELLY        WILLAMS                     AR     23090518081
4666938975B174   KIMOTHY       HENDERSON                   AR     90014623897
4666B689561963   JULIO         CORONEL                     CA     90009616895
46671378572B23   ANGELICA      RIVERA                      CO     33015803785
46671659A61963   EMILIO        JIMENEZ                     CA     90009646590
4667249162B27B   JAMES         ROGERS                      DC     90012774916
4667262A772B4B   THOMAS        MONTONO                     CO     90013276207
4667286A78B165   KELLY         MANISELA                    UT     90007658607
466732A4191523   ANGELICA      BRIBIESCAS                  TX     90008762041
4667338458B16B   JOSE          CATANO                      UT     90013963845
4667385555B58B   RAMONA        CAVALIER                    NM     35091548555
4667446477194B   DEBBIE        BRAVO                       CO     38025544647
4667466495B53B   EBONY         DOPORTO                     NM     90014736649
4667559445B53B   ELIZABETH     SOTO                        NM     90000835944
466759A7561967   HECTOR        CEJA                        CA     46028139075
46675A16991523   ARACELI       GARCIA                      TX     90007430169
4667644225B53B   RAUL          BARRON                      NM     90012134422
4667681117B431   CARLOS        MERCADO                     NC     11087828111
4667772348B16B   MISAEL        FAJARDO                     UT     90014887234
4667783635597B   DENEEN        PERRY                       CA     90014928363
46678451672B4B   SABRINA       TATE                        CO     90010744516
466784A9961967   CHRISTOPHER   MEADE                       CA     90014244099
4667853195B222   JOSH          WADDELL                     KY     90014635319
4667912255B174   LATASHA       MOORE                       AR     90011241225
4667B182691569   JOSE          RODRIGUEZ                   TX     90001651826
4667B39214B271   RONDA         BUCHTA                      IA     27078363921
4668215964B271   ALMA          DE LA CRUZ                  NE     27020731596
4668225268B16B   JACOB         SMITH                       UT     31096852526
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4668229A251334   TAMMY        LONG                         OH     90013212902
466824A6261967   BRIAN        SCHWARTZ                     CA     90010474062
4668311387B431   CAROLYN      WILLIAMS                     NC     90014391138
4668352A691873   MICCKAH      BROWN                        OK     21012755206
4668456775B58B   CHRISTINE    GEMOETS                      NM     90014785677
466849A472B27B   ANGELA       DAWSON                       DC     90009319047
4668551695B174   FATIHA       ISLAM                        AR     90014515169
4668592415B58B   NAIN         HERNANDEZ                    NM     35014659241
4668618A18B16B   VILLALOBOS   ESTELLA RUBY                 UT     90012091801
46686958A5B174   TONYA        MORRISON                     AR     23098219580
466877A3A5597B   BENITO       JUAREZ                       CA     49087127030
46688411A8B16B   JULIE        PHILLIPS                     UT     31004524110
4668846733B343   MARISOL      ABRAMO                       CO     33038934673
4668851134B543   LORRI        COOPER                       OK     90015205113
46689272A72B36   ELIAS        ROMERO                       CO     33080782720
46689385572B43   SHEENA       DAEBELLIEHN                  CO     33099273855
46689541A8B165   MARIA        BAUTISATA                    UT     90003295410
46689A69671999   JACOB        SALINAS                      CO     90011300696
46689AA545B58B   JENNY        GUERRA                       NM     90013970054
4668BA5995B222   ANDRE        JACKSON                      KY     90015260599
4669169882B27B   AYSIA        TRASHER                      MD     90015346988
4669241A28B16B   MIKE         PORFILO                      UT     31077984102
4669283975B58B   GLORIA       MARTINEZ                     NM     90001128397
46692929172B98   REBECCA      MACLEOD                      CO     90006169291
466932A265B222   LATONYA      NUNNALLY                     KY     90009702026
466939A354B271   SHANTAYE     STUBBLEFIELD                 NE     27015259035
466961A6261967   MANUEL       BALDES                       CA     90009931062
4669667A32B27B   JUSTIN       MCKNIGHT                     DC     90012996703
4669688712B87B   JAMES        RIVERA                       ID     90009178871
466972A5192B54   JESUS        CANELA                       WI     90014512051
4669746955597B   CHRISTINA    IMELL                        CA     49027854695
4669771595B174   DANIEL       LEE                          AR     90011447159
4669788623B356   LUZ          LOPEZ                        CO     90004048862
46697A9132B27B   MIRIAM       PORTILLO                     DC     90014930913
46697AA4591569   GRACIELA     MORENO                       TX     90011570045
4669839967194B   GUILERMINA   GONZALEZ                     CO     38004363996
4669867545B58B   CONNIE       FRANCIS                      NM     35035196754
4669871175B58B   CONNIE       FRANCIS                      NM     90013837117
4669935485B222   TONYA        HAYSLEY                      KY     90011383548
46699525772B36   LYNETTE      WHARTON                      CO     33091315257
4669B75892B27B   ANNYONA      NAMEICO                      DC     90013987589
466B147913B388   GILBERTO     ARAGON                       CO     90011724791
466B1A95872B4B   ANNETTE      FLORES                       CO     90010240958
466B2142951334   DAVID        MEIER                        OH     90014711429
466B29A815B52B   HECTOR       FLORES                       NM     90001019081
466B2A97A47954   ALEJANDRA    MARTINEZ                     AR     90009260970
466B37A252B87B   ROSANNE      ROBINSON                     ID     90014057025
466B3881A91569   VICTOR       SAPIEN                       TX     90014348810
466B416335B222   NANCY        MORRISON                     KY     90012671633
466B433895B53B   CHERYL       CHARLEY                      NM     90009173389
466B446618B16B   RAQUEL       DURAN                        UT     90013944661
466B454625B58B   MARIA        ELIZABETH                    NM     90015305462
466B454A272B4B   MICHAEL      GREEN                        CO     90011475402
466B517A77194B   CHRISTINA    RAVENKAMP                    CO     90014861707
466B5493171999   LAURA        VAZQUEZ                      CO     90004304931
466B574617194B   JESSICA      ILES                         CO     90003577461
466B582798B16B   LISA         JACOBSEN                     UT     31081228279
466B6419247954   ALMA         CHAVARRIA                    AR     25073594192
466B68A382B87B   ADAM         FAULKNER                     ID     90013628038
466B7355872B36   BRANDY       MCACHRAN                     CO     90013013558
466B8148A8B16B   DAVID        C ORMOND                     UT     90012341480
466B8524271999   SHERRY       RAMIREZ                      CO     38026425242
466B8643972B43   CARL         ESSIG                        CO     33064196439
466B9431561966   MICHELLE     MONTANO                      CA     90013014315
466B9663A5B222   ONEL         TORRES                       KY     90009896630
466B971552B27B   QUINCY       PORTER                       DC     81029857155
466B982142B87B   JENNIFER     HOPP                         ID     41051288214
466B9971572B43   JONATHAN     GOODBREAD                    CO     33009199715
466B998A851334   MARK         CROUCH                       OH     90012729808
466BB89115B174   ARON         MORA                         AR     23073858911
466BB8A955B53B   MARIO        MINJAREZ                     NM     35002208095
4671148465B53B   ARMANDO      MARQUEZ                      NM     90014744846
4671178422B27B   MORRIS       SMITH                        DC     81020137842
4671243A372B43   BRENDA       MIRANDA-SURA                 CO     90005484303
4671244645B53B   BETHANI      WHITE                        NM     90011614464
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4671279735B222   VICKI            ALDRIDGE                 KY     90002137973
4671315A97B232   FRANSICA         MORENO                   CO     90007721509
4671342A48B16B   STEVEN           STRATE                   UT     90013944204
4671419927B431   CHAVON           JACKSON                  NC     90003991992
4671478567194B   CHRISTINE        HERNANDEZ                CO     90014187856
4671568A15B53B   LARRY            SITLER                   NM     90003686801
46716261A2B27B   SHIRLEE          EECHAM                   DC     90011892610
4671692A72B87B   DEANNA           STAMOS                   ID     90011589207
4671815385B53B   LORETTA          LUCERO                   NM     35025941538
46718969A7B431   JENNIFER         GRAY                     NC     90015199690
46719242272B43   JAYSON           BARKER                   CO     90001082422
4671953215B58B   EDDIE            DURAN                    NM     35052565321
4671953A67194B   LINDA            VIGIL                    CO     90014895306
4671B24327194B   CORINA           MINJAREZ                 CO     90001362432
4671B49195B174   MICHAEL          MORIARTY                 AR     90010384919
4671B99812B87B   TANIA            SNYDER                   ID     41044829981
4671B9A8991569   EDGAR            PEREZ                    TX     90008639089
4672267A677595   FABIOLA          ARREOLA-RICO             NV     90012116706
46722A88A72B43   GABRIEL          VAZQUEZ                  CO     33021320880
4672336168B16B   HOLLY            MONK                     UT     90009713616
46723917A5597B   FELIX            SEGURA                   CA     90014459170
46723A37141265   MICHELLE         UNGLAUB                  PA     51035430371
4672415A87B431   DIVINE           PROFESSIONALS            NC     90014691508
467244AA247954   AXEL             VILLEGAS                 AR     90015044002
4672495A255939   ANGEL            RODRIGUEZ                CA     90010539502
4672648915B53B   DARRICK          JOHNSON                  NM     90014744891
4672686815B58B   DEREK            TAPIA                    NM     35081488681
4672721925B53B   KENNETH          CENTENO                  NM     35036542192
4672766A561967   JESUS            PUENTES                  CA     90015126605
46727822A72B4B   APRIL            RICHARDSON               CO     33077468220
46727A4A991569   MONICA           LEMUS                    TX     90004950409
4672815315B222   CAPRICE          COTTON                   KY     90014191531
4672846A372B4B   ANA PATRICIA     VILLA                    CO     90013054603
46728763772B43   LIBERTY          TAX SERVICE              CO     33043117637
4672974648B16B   VALENTINA        ALCANTAR                 UT     90014467464
46729A8AA5597B   MARIA            SANCHEZ                  CA     90008610800
4672B17915B58B   DANIEL           BERG                     NM     35067301791
4672B26665B222   JESSE            BAKER                    KY     90007992666
4672B454991523   RITA             CASTRO                   TX     90008454549
4672B49773B388   NICOLE           MICHELLE                 CO     90010434977
4672B615777595   MARCOS           ZUNIGA                   NV     90001726157
4672B65967194B   KRYSTAL          AUSTIN                   CO     90008736596
467311A2572B36   ASHELY           CHASE                    CO     33014501025
467315AA17B431   LISA             BLAKNEY                  NC     90013865001
467319A7571999   DORA             BARRAZA                  CO     38092049075
46731A5717B431   ANIYAH           JOHNSON                  NC     90011240571
4673222675597B   ERIC             MUNOZ                    CA     49039592267
467324A785B58B   GILBERT          PEREA                    NM     90014174078
467328A318B16B   SLYVIA           JOHNSON                  UT     31074798031
46732948972B4B   NANCY            MENDOZA                  CO     90013139489
4673382A372B4B   CHRISTINA        OCAN                     CO     90012158203
46733A82491569   DOLORES          HARRIS                   TX     75047200824
46734441572B43   HOLLY            HOLT                     CO     90014114415
4673458288B165   LAURENANDJESUS   MARTINEZ                 UT     90005835828
46734816A91569   ARMANDO          VILLA                    NM     75076058160
4673525832B27B   KENNETH          AUSTEN                   DC     90015092583
4673648AA77595   JUAN             RAMIREZ                  NV     90009664800
4673678785B222   MALCOLN          BARBOUR                  KY     90003577878
4673733562B27B   SHAWN            STEWART                  DC     90012833356
46737A89872B43   TRACY            MARTIN                   CO     33090090898
4673849615B222   MARCOS           VASQUEZ VASQUEZ          KY     90010134961
46738757272B4B   REBEKAH          ZAVALA                   CO     90014897572
4673B97A954151   KEITH            WOODS                    OR     90009719709
4674113935B53B   NATHAN           GALLEGOS                 NM     35008511393
4674182112B27B   ASHLEY           COLEMAN                  DC     90000948211
46742755524B46   MORDI            MDSA                     VA     90012237555
4674289722B87B   TOMAS            MACIAS                   ID     90014698972
4674371245B174   AMANDA           CARRALES                 AR     90014647124
4674413977B431   LORI             BILLINGSLEY              NC     90011261397
4674421438B165   LAURA            SUMMARELL                UT     90004412143
46744353A7B456   SARAHI           REYES                    NC     90004953530
46744356272B4B   SHARON           FARD                     CO     33090793562
4674476175B53B   ROSEMARIA        BACA                     NM     90011017617
46744A4A872B36   MARIELA          BOCANEGRA                CO     90008670408
467453A428B16B   JUSTIN           DOBBINS                  UT     90015473042
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4674594665597B   THONGVILAY   SAYAPHOMMA                   CA     90011259466
4674725A686443   GABRIEL      FITZ                         SC     90015082506
46747649A5B58B   ARIEL        WHITE                        NM     90014006490
46747A24181639   AMADO        CHAVIRA                      MO     29068570241
46747A8165B174   JAYLA        MILLIGAN                     AR     90015260816
46747A84651334   BOBBIE       MUHAMMAD                     OH     66006180846
4674865333B37B   SAUNCEE      HANSEN                       CO     90014836533
4674884675B53B   OLIVERIO     VARELA-NIETO                 NM     35056738467
46748899A2B27B   DANYELLE     ARKSDALE                     DC     90010908990
46748A6315597B   ADA          LOPEZ                        CA     90014340631
467494A628B16B   ALEJANDRO    ROMERO                       UT     90013944062
4674986A55B53B   ERIKA        FACIO                        NM     90014058605
4674B39355B58B   ERIC         CARRASCO                     NM     35029743935
4674B48138B16B   KIMDRA       GRIMM                        UT     90013944813
4674B635572B36   IDALI        PRADO                        CO     90002066355
4674B85A291394   ANDREW       BIESZCZAT                    KS     90006968502
46751726572B4B   JULIAN       VEGA                         CO     90001467265
4675277855597B   MARTY        ROMERO                       CA     90001607785
46752867A51334   DIANNEA      NOELKER                      OH     90006678670
467529AA62B234   RAFAEL       MEJIA                        DC     81044839006
46752A38A5B53B   CAROL        LOPEZ                        NM     35057200380
467533A9472B36   NEVA         OLGUIN                       CO     90009983094
4675356A791569   ANGELICA     MUNOZ                        TX     90010065607
46753689A5597B   SAMMY        CAMACHO                      CA     49065386890
4675468A82B87B   GARY         SHAW                         ID     90014696808
467548A3591394   RENITA       JOHNSON                      KS     90006998035
4675524552B27B   KIMBERLY     HERNANDEZ                    DC     90003372455
4675552213B356   RHONDA       MORGAN                       CO     33010635221
4675565444B259   GWEN         SMITH                        NE     27017836544
4675679A361967   NORMA        GONZALEZ                     CA     90011197903
4675691152B87B   DANIEL       DRIVER                       ID     90013269115
4675797AA77595   STEVEN       CURIEL                       NV     43042689700
4675819A177554   BRIAN        SALOMON                      NV     90006031901
46758A71172B4B   KELLY        THOMAS                       CO     90003550711
4675922657194B   DORA         OVANDO                       CO     38015352265
46759515633B35   BOB          DETWILER                     OH     90014125156
4675955258B165   SERVANDO     LOPEZ BERNAL                 UT     90011215525
4675B687391569   MARIA        DE LOURDES                   TX     90005486873
4675B73514B271   NOE          ZUNIGA                       NE     27064147351
4675BA26A61925   LUIS         MORALES                      CA     90008530260
4676166A25B58B   KAREN        TERAN                        NM     90015236602
467618A8877595   DAVID        DELGADO                      NV     90002098088
4676195187194B   TRISIA       MURRAY                       CO     90014919518
46762744272B36   BRANDI       TRUJILLO                     CO     90014117442
46762A1635B53B   JULIA        MARQUEZ                      NM     90014730163
46762A59591569   ABIGAIL      LOPEZ                        TX     90013840595
46762A76A7B865   CANDY        BARNER                       IL     20544010760
46763649A5B58B   ARIEL        WHITE                        NM     90014006490
46763AA292B87B   SARAH        BEAR                         ID     90007030029
4676416155B222   JAMISHA      COLLINS                      KY     90005241615
4676436494B271   ANGELA       DUIAND                       NE     27017643649
46764A5258B16B   ERIC         STINE                        UT     90014860525
467651A745B222   MELISSA      MASTERS                      KY     90013431074
46765956172B36   THERESA      AXTELL                       CO     33059999561
46765A59291523   NORMA        CERVANTES                    TX     75056720592
4676676174B271   JEREMY       YETS                         NE     27055397617
467672A4A7194B   CLAUDIA      SAENZ                        CO     90014912040
4676886A491569   JESUS        GAONA                        TX     90014788604
4676B32A65B222   ORAYODA      LLORENTE                     KY     90014553206
4676B375131664   CORLINA      LOERA                        KS     22014793751
4676B412391569   VALERIE      JONES                        TX     75092294123
4676B422972B43   DIEGO        ORDAZ                        CO     90000334229
46771129272B36   ANGEL        MORALES                      CO     33088761292
4677126142B87B   ROXANN       COLEMAN                      ID     41080932614
46771288A33B98   CAMERON      HEWITT                       OH     90010542880
46771499A8B165   G            LOPEZ                        UT     31074244990
4677169A761963   ALBERTO      ACOSTA                       CA     90001986907
46771847272B4B   KYNDRA       CRUZ                         CO     90012368472
4677384675B53B   OLIVERIO     VARELA-NIETO                 NM     35056738467
4677449618B16B   BRISA        CHAVEZ                       UT     90014364961
4677624A77194B   CHRISTINA    BIK                          CO     90014912407
46776297372B4B   SONIA        RIGGS                        CO     33064102973
4677636817B431   MATTHEW      HERRICK                      NC     90000793681
467763A8861967   PAUL         GIBBONS                      CA     90010173088
4677772A251334   TRACY        MAHANEY                      OH     90012797202
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46778A94261963   CAROLYN         FIELDER                   CA     46054350942
4677952555B53B   ABENI           WALKER                    NM     90014745255
4677B4A792B27B   ANTONIO         RICHBURG                  DC     90007774079
4677B538855939   FELIX           ARENAS                    CA     90013075388
4677B59582B87B   DUSTIN          WILLHITE                  ID     90014785958
4677B982991873   TONIA           OLOGOLO                   OK     21082389829
4678112732B87B   ASHTON          KIELE                     ID     90008351273
4678148915B53B   DARRICK         JOHNSON                   NM     90014744891
4678161292B27B   ASHLEY          MURPHY                    DC     90013256129
4678184595B58B   JESSICA         ANDRADE                   NM     90015518459
46782187A5B58B   AGUSTIN         BALDERRAMA                NM     90010071870
467823A9161963   MAARAI          AGUILERA                  CA     90007623091
4678284AA71999   TALANA          KINAMAN                   CO     38039818400
46783833172B4B   BARBARA         KLINGER                   CO     33059438331
4678396572B87B   MARY            MOLYNEAUX                 ID     90011279657
46783A9167194B   AARON           ARAGON                    CO     90012980916
4678469648B165   CRYTAL          PHILIPS                   UT     90003296964
4678485A177595   JESSICA         COTTLE                    NV     90012178501
46785469472B36   SAMUEL          LOPEZ                     CO     90010844694
46785959A72B4B   ERIK            MONTIEL                   CO     33058939590
46785A5A65B174   JONDA           JOHNSON                   AR     23069290506
4678669648B165   CRYTAL          PHILIPS                   UT     90003296964
46786A14272B43   MEGAN           OSLER                     CO     33050470142
4678789798B165   DAVE            PORTEOUS                  UT     31065448979
4678818A82B27B   DENZEL          CALDWELL                  DC     90014711808
4678821267B463   BRYANT          ADAMS                     NC     90001392126
467888A585B174   MARY            BRASWELL                  AR     90003998058
46788923257B97   LISA            DAVIS                     PA     90012829232
46788A17561967   LAURA           ALIREZ                    CA     90012590175
4678923A991523   ERICA MONIQUE   LUEVANO                   TX     90006682309
4678982635B53B   PRISCILLA       LOPEZ                     NM     35016448263
46789A4A57B431   CHARITY         THOMPSON                  NC     90015440405
4678B38455B58B   CARLOS          GONZALEZ                  NM     90004273845
4678B543772B4B   MICHAEL         MAGGARD                   CO     33009475437
4679123787B431   ANTHONY         BELL                      NC     90011282378
467916A358B141   IRENE           REINA                     UT     90006276035
46791A48A61963   ROMEO           GELIN                     CA     90013830480
4679237387B431   SAMANTHA        PROFFITT                  NC     90011283738
46792A46791569   ERICKA          OLONO                     TX     75036540467
46793564A5B174   REGINA          SCALES                    AR     90014375640
46793697A9185B   VIRGILIO        GUERRA                    OK     90005726970
46793A2524B271   TIRTHA          GURUNG                    NE     90015130252
46793A2A85B222   ADRIANA         RAMIREZ SALAS             KY     90003700208
46794574372B36   SALVADOR        MENDOZA                   CO     90005755743
467955A714B259   AXEL            SARAVIA                   NE     27066165071
4679599925B174   CRYSTAL         BELL                      AR     90015019992
4679689A14B259   BLANCA          TELLES                    IA     27097738901
4679698635B53B   CTRYSTAL        CHAVEZ                    NM     90009119863
46797819672B4B   DEBRA           SNOW                      CO     90006958196
46797AA2272B36   BRIAN           PASSERELLA                CO     33056950022
4679815774B271   LORENA          RIVERA                    NE     90009661577
4679884675B53B   OLIVERIO        VARELA-NIETO              NM     35056738467
4679912645B53B   JOHN            GILPIN                    NM     90004221264
46799A92272B36   CHRISTOPHER     MARTINEZ                  CO     90012530922
4679B44238B16B   ANGELA          MONTOYA                   UT     90013944423
4679BA2198B16B   ISIAH           MCARDLE                   UT     90015080219
467B14A295B174   CAROLYN         SAIN                      AR     90014124029
467B161365597B   SARA            TORRES                    CA     90013376136
467B2132491523   CARLOS          CORONA                    TX     90007431324
467B251287194B   JAMIE           GONZALES                  CO     90013815128
467B2879271999   ANDREA          CHAVEZ                    CO     38096858792
467B2928272B4B   SARA            BRUSH                     CO     90013609282
467B319828B165   JENNIFER        FOETE                     UT     90004411982
467B351287194B   JAMIE           GONZALES                  CO     90013815128
467B4841961963   STACIE          EVANS                     CA     90008348419
467B4A7A85B174   JONITA          GALVEZ                    AR     90015250708
467B5239191569   MIRIAM          VASQUEZ                   TX     90014612391
467B5471847954   RICHARA         GREEN                     AR     90005974718
467B549A62B87B   DON             GEARHART                  ID     90012204906
467B5726677595   SAMANTHA        CONKLIN                   NV     90006437266
467B612693B356   MANUEL          DESANTIGO                 CO     90006061269
467B7347772B36   DANYLE          DAVIS                     CO     90010163477
467B837A35B53B   MONICA          BENCOMO                   NM     90012563703
467B9471847954   RICHARA         GREEN                     AR     90005974718
467B95AA555939   ROBERT          ARTEAGA                   CA     90003195005
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467B9666272B88   BENJAMIN     JONELL                       CO     90007796662
467B971842B27B   MYRA         CRUZ                         DC     90003967184
467B975655B58B   YARIBETH     CHAVEZ                       NM     90010367565
467B9A78A4B259   STACY        THOMAS                       NE     90009570780
467BB11978B16B   CAROLINA     ROMAN                        UT     90009641197
467BB13787B463   LUIS         GARCIA                       NC     90002931378
467BB2AA251334   AMY          WOLFINBARGER                 OH     90001902002
467BB752177595   CHARLES      LANDERS                      NV     90011297521
4681114A377595   OMAR         ARRIAGA                      NV     90008361403
46811AAA871999   NATASHA      YAZZIE                       CO     90014420008
4681211887194B   JESSICA      BROOKS                       CO     90014921188
46812266A8B16B   TRICIA       DAY                          UT     31096712660
46812373372B36   MARIA        GARCIA                       CO     33023003733
468126A935597B   JESSICA      SANCHEZ                      CA     90004066093
4681335984B531   WILLIAM      CALLINS                      OK     90012053598
46813A4645B174   VICTORIA     GREENLEE                     AR     23008760464
46813A56A91569   MARINIA      GUTIERREZ                    TX     90001110560
46814582A71999   BOB          SIEMILLER                    CO     38093575820
46814878372B39   BENJAMIN     SCHLIMM                      CO     33087368783
46815219A5597B   RUFINO       SANCHEZ                      CA     90014452190
4681575462B87B   MARGAUX      BIRDSALL                     ID     90010837546
4681617232B87B   KIMBERLY     MCKOON                       ID     41018711723
468161A485B174   STACY        CAULDWELL                    AR     90013141048
4681656965B58B   MAGGIE       VILLA                        NM     90009815696
4681664425B53B   PAULA        IBARRA                       NM     90014746442
46816A68671999   STEVEN       PARKER                       CO     38096850686
46816A6AA72B36   NORA         KOLNIAK                      CO     33043590600
46816A98391873   TONY         MITCHELL                     OK     21043770983
46818798472B36   JON          MAEZ                         CO     33040457984
46818A2175597B   TOSHA        MARSH                        CA     90013190217
46819219272B36   HILDA        SANDOVAL                     CO     90009482192
468193A6772B43   ARMANDO      HERNANDES                    CO     33081463067
4681961165B58B   ROBERT       HOTCHKISS                    NM     90012536116
46819A86A5597B   VICTORIA     ACEVEDO                      CA     90011360860
4681B743391394   SUSAN        BOLIN                        KS     29083877433
4681B8A8A71999   MARCEL       BAILEY                       CO     90013058080
4681BA8537194B   DANIEL       GARCIA                       CO     90014920853
4682136794B271   MICHELE      LINDALL                      NE     27091433679
4682249345B58B   CLARENCE     SANCHEZ                      NM     90014154934
468226A5772473   CASSANDRA    KARSNAK                      PA     90013936057
4682276A455939   JOHN         MARTINEZ                     CA     90008107604
4682293132B87B   ANGALA       MORINE                       ID     41035319313
46823323A72B43   LATISHA      MANZANARES                   CO     33013123230
4682359582B87B   DUSTIN       WILLHITE                     ID     90014785958
4682418A972B36   TORREY       BATTS                        CO     33049181809
468254A852B27B   YESICA       EUSTAAQUIOH                  DC     90008024085
46825A98571999   SHYLA        JIMENEZ                      CO     90008110985
46826A3935B222   SHAQUEISHA   DAVIS                        KY     90014070393
4682742585B222   JAMES        JOHNSON                      KY     68047854258
46827A3115B58B   JAIME        FRIAS                        NM     90013030311
4682923865B58B   ERLINDA      TORRES                       NM     35030962386
4682982742B87B   KAMELLA      BERRY                        ID     41005728274
46829A2145B174   NATALIE      CRAIG                        AR     90013930214
4682B265572B4B   MIREYA       MALDONADO                    CO     90009622655
4682B81A37B347   BRYCE        NEWELL                       VA     90012268103
4682B832877595   OMAR         CHAVEZ                       NV     90005018328
4682B86387B396   MARTA        LAINEZ                       VA     81017448638
4683132847194B   BRIDGET      SOLIS                        CO     38013653284
4683189A95597B   SCOTTINA     JOHNSON                      CA     90014578909
4683261215B174   LEE          JOHNSON                      AR     90015026121
4683279245B58B   CATALINA     CASTILLO                     NM     90013017924
4683289A34B259   ALENA        MITCHELL                     NE     27066178903
4683353A28B16B   CASE         QUINTON                      UT     90001995302
46833A4242B27B   CHARLOTTE    BROCK                        DC     90009870424
468346A314B271   KHEDIR       BUSHARA                      NE     27087676031
4683473925B53B   RAMONA       PEREA                        NM     90014717392
4683536A591569   LILLIANA     RANGEL                       TX     90007663605
4683553677194B   MATT         ALVARADO                     CO     90010595367
46835A6A75B174   ANTOINE      HUNTER                       AR     90011250607
468363A767194B   WENDY        STANBRO                      CO     38030323076
4683645532B27B   GOYTOM       GHEBREKIDAN                  DC     81014834553
46836692572B36   LUCAS        SCHOLZ                       CO     90015136925
46836844A91523   LARRY        WILLIAMS                     TX     90007458440
46837789772B36   EDGAR        RODRIGUEZ                    CO     90012547897
4683848745B174   JAYLA        WASHINGTON                   AR     90000524874
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468395A4581667   MATTHEW      FEE                          MO     90013875045
4683B74852B87B   CHRIS        DUNLAP                       ID     90012207485
4683B793572B43   PACICIA      MASTINEC                     CO     90009197935
4683B87952B87B   JENNIFER     ESTES                        ID     90014348795
4683B95798B16B   JUAN         HERRERA                      UT     90013259579
4684162238B16B   KRYSTAL      FATAOULI                     UT     90013946223
46842572572B23   DAWN         HEARNE                       CO     90012175725
46842A8937194B   ALENIA       ROMERO                       CO     38036980893
4684322585B53B   BIANCA       HERNANDEZ                    NM     35055962258
4684323675B266   STEVE        ESTES                        KY     68028372367
468438A777194B   JENNIFER     OTERO                        CO     38068478077
4684393155B174   MIRIAM       MARQUEZ                      AR     90002679315
4684465875597B   DEBORAH      GENTILE                      CA     49017026587
4684465AA5B58B   ANTHONY      GARCIA                       NM     90009166500
4684478352B848   LINDSAY      CARLSON                      ID     90005397835
4684498728B16B   FEDERICO     ROMERO                       UT     90009939872
46845487A5597B   RAMON        MURILLO                      CA     90012564870
4684592A72B87B   DEVIN        DENNY                        ID     90010539207
46846674372B43   KAMELA       BROOKS                       CO     33014156743
468466A597194B   RICHIE       FLORES                       CO     90010596059
4684699195B58B   JESUS        PINELA                       NM     90003539919
4684729182B87B   AMBER        CARL                         ID     90011992918
4684784A671999   JOSEPH       MONTES                       CO     38019968406
4684785633B356   NICOLAS      JAIMEZ                       CO     90006858563
4684837A677595   TIMOTHY      TALAMANTE                    NV     43015943706
4684932AA81639   CARMEN       WEBER                        MO     29068613200
46849354372B36   KENLYN       NORMAND                      CO     90013003543
4684962458B16B   APRIL        VALENCIANO                   UT     90013946245
4684972817194B   LUIS         HERMOSILLO                   CO     90014927281
4684B46674B271   VERONICA     FRIEDRICH                    NE     90014694667
4684B479881639   CHELSEA      WELLS                        MO     90003074798
4685132AA81639   CARMEN       WEBER                        MO     29068613200
4685163248B16B   HEATHER      BURGER                       UT     90013946324
4685172265B174   MICHEAL      JACKSON                      AR     90013157226
4685216815B174   DEANGELA     ADAMS                        AR     90011251681
4685276895B541   KIRSTI       PEREA                        NM     90002877689
46852AA2172B4B   JOHN         GENOVA                       CO     33036280021
4685346947B431   ANNETTE      ELLIOTT                      NC     90012894694
4685361255597B   ALEX         GUERRA                       CA     90012216125
4685376954B271   TRENESHA     CARTER                       NE     90013767695
4685382835B58B   GRICELDA     ORNELAS                      NM     90014888283
46853994272B36   JOSE         DELGAD0                      CO     33051059942
468543A255B58B   ERIC         MALDONADO                    NM     35091823025
46854737A86478   ROBIN        BOYLE                        SC     90014337370
4685515575597B   FRANCISCO    PEREZ                        CA     90008261557
468555AA22B87B   SHAWNA       BLUEMER                      ID     41082135002
4685636755B222   CHARITY      WHITE                        KY     68096263675
4685678965B58B   CONNIE       BARRAZA                      NM     35052657896
4685717185B174   PAYGO        IVR ACTIVATION               AR     90011251718
4685833345B53B   ERIK         ESTRADA                      NM     35074023334
4685877355597B   MAGNOLIA     SANTILLAN                    CA     90012617735
4685882A78B165   VIRGINIA     VASQUEZ                      UT     31079318207
46859231172B4B   EMMANUEL     RAMIREZ                      CO     90012232311
4685981515597B   SUSAN        BROWN                        CA     90012918151
4685B478391569   RICARDO      MIRANDA                      TX     75069844783
4685B73377194B   JESSICA      MEYER                        CO     90014927337
46861647A5B58B   JAQUELIN     SOLIS                        NM     90010736470
4686248867B472   GHILAY       WOLDU                        NC     90001654886
4686372255B222   ANTONIO      MORRIS                       KY     90015087225
4686378912B27B   MELVIN       CAMPOS                       DC     81098667891
46863A2538B165   ANA          GARCIA                       UT     31015910253
46863A6435B53B   L            CHAVEZ                       NM     35087010643
46863A8812B87B   SOCORRO      ASHLOCK                      ID     90010540881
46864A5978B16B   RACHEL       NEILL                        UT     90013540597
4686515166197B   ARACELI      SANCHEZ                      CA     46019651516
4686517238B16B   MAYRA        GAMBOA                       UT     90011521723
468669AAA5B222   PAU          SAANG                        KY     90014569000
4686723645B53B   ROMERO       MICHELLE                     NM     35097582364
4686724418B165   JOSEPH       WALLS                        UT     90010592441
4686731777194B   ALVIN        ROJAS                        CO     90014933177
46867829772B4B   QUANEISHA    COLLINS                      CO     33023098297
4686976A35B222   MICHELLE     BOBBITT                      KY     68096267603
4686997678B16B   ARTHUR       VALDEZ                       UT     31012979767
4686B16738433B   NOE          MANZANAREZ                   SC     90012671673
4686B787871999   JAMES        TRUJILLO                     CO     38040447878
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4686B7A1372B43   SCOTT         GREGORY                     CO     90007487013
4686BA22851334   FRANK         MILLER                      OH     90015330228
46871635A5B53B   LATOYA        PACHECO                     NM     90014746350
4687234342B87B   TRINITY       DUQUETTE-DISMUKE            ID     90012733434
46873356272B4B   SHARON        FARD                        CO     33090793562
4687441247194B   JOLICIA       JIRON                       CO     90000334124
4687512258B16B   JAMES         WADLEY                      UT     90012951225
4687529845B555   MARIO         URIBE                       NM     90011652984
4687742365B174   ERIC          JORDAN                      AR     90011254236
4687847618B16B   NATASHA       REEVES                      UT     90013854761
46878A1117194B   ANN           MUNOZ                       CO     90008610111
4687966358B165   FRANK         PARKER                      UT     90014266635
46879926A4B531   KELLY         HENDRICKSON                 OK     21516109260
4687996557194B   CESAR         FERNANDEZ                   CO     90005319655
4687B422261963   EDWIN         CHILDS                      CA     90011314222
4687B436A5B53B   ERICA         ORTEGA                      NM     35061534360
4687B817771999   JANICE        TRUJILLO                    CO     90013048177
4688114157194B   JEAN          HEFFLER                     CO     90004381415
4688224512B27B   KWAME         WOMACK                      DC     90009682451
46882538A72B4B   BRENT         TAYLOR                      CO     33089415380
4688262A551334   BERNARDINO    GONZALEZ                    OH     66050746205
4688286775B174   MICHAEL       INGALLS                     AR     90014728677
46882A25A33625   GLENDA        SANCHEZ                     NC     90010630250
46884128772B25   DELIA         PEREZ                       CO     90009881287
46884178372B4B   WILLIAM       WHITFIELD                   CO     90002991783
4688485352B27B   MIRKA         SHEPHARD                    DC     90013128535
46884A64872B43   MANUEL        MARTHINEZ                   CO     33013010648
468854A425B174   LYNETTE       PARAHAM                     AR     90014304042
46885936372B43   BRADD         WICKERT                     CO     33077189363
4688615A57194B   JOHN          KESSLER                     CO     90010671505
4688651112B27B   BERNARD       MUNDAY                      DC     90013085111
46886A8635597B   MARTIN        QUESVA                      CA     49015380863
4688787245597B   GILBERT       QUINTEROS                   CA     49062108724
46888658572B4B   ANDREA        ONTIVEROS                   CO     90013006585
4688882565B222   JEFF          HARDIE                      KY     90009668256
4688B15795B53B   ALVINA        BENALLY                     NM     90008701579
4688B32482B27B   ANGELO        GALLOWAY                    DC     90014223248
4688B688771999   LUANNE        ARANDA                      CO     38013986887
4688B98715B53B   PHILLIP       BACA                        NM     35043159871
46892179172B36   JOVITA        BRISENO                     CO     33063441791
4689329343364B   ASHLEY        MCGEE                       NC     90012012934
4689371AA5B222   CLINTON       WRIGHT                      KY     90014597100
46893A4575B53B   ANNIE         PACHECO                     NM     90009560457
46893A5A37194B   JENNIE        REVETERIANO                 CO     38089560503
4689442612B275   RONDNEKA      PRESTON                     DC     90005914261
4689459915B222   JASON         CISSELL                     KY     68096275991
4689483228B16B   SAVANNAH      DELGADO                     UT     90010878322
46894A1A54B271   MARIA         MARTINEZ                    NE     27075430105
468954A932B27B   BIRUH         TESFAYE                     DC     81021544093
4689641295B222   CHRISTOPHER   BROWN                       KY     90005564129
46896A17272B36   MIGUEL        VASQUEZ                     CO     90003300172
4689716865B222   BRITTANY      CAHILL                      KY     90000501686
468971A2572B36   ASHELY        CHASE                       CO     33014501025
4689724987B472   HELENA        CUMMINGS                    NC     90010912498
4689765315B58B   MICHAEL       LOVE                        NM     90013086531
4689773AA4B271   CAROL         OLIVER                      NE     90010147300
4689823A98B351   LEDARIUS      BOSTICK                     SC     90014652309
46898261A91569   LETICIA       NAPOLES                     TX     90014212610
468983A995B58B   MARIA         VAZQUEZ                     NM     90002963099
46899849672B4B   ROBERT        EDWARD                      CO     90012688496
468999A125B53B   ROBERTO       TREVIZO                     NM     35057199012
46899AA6A4B271   BEN           AYALA                       NE     27056640060
4689B158677595   DARREN        ROBINSON                    NV     90007251586
4689B34A94B259   JEANNIE       INMAN                       NE     90012473409
4689B849985B45   SHAWN         WATKINS                     FL     90015368499
468B1184472B36   JOSH          SMALLWOOD                   CO     90012201844
468B11A8472B43   CATHERINE     RIVAS                       CO     90001401084
468B161792B87B   SAMANTHA      ROOP                        ID     41086376179
468B176585597B   JALINA        GALLARDO                    CA     49008267658
468B1A3285B53B   NOELIA        LOPEZ                       NM     90011310328
468B2276851334   DOROTHY       DUPEE                       OH     90014632768
468B2788661963   EVELYN        BLACK                       CA     46013757886
468B2A3285B53B   NOELIA        LOPEZ                       NM     90011310328
468B315647194B   LASHAWNA      PACHECO                     CO     90005341564
468B327A68B16B   LINNAEA       MENDOZA                     UT     90008622706
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468B3662972B43   SHELSEA      WATT                         CO     90003086629
468B391857B472   WEDEY        DAVIS                        NC     11014499185
468B4152991569   RICHARD      PEREA                        TX     75030821529
468B4445677554   LORA         MCCARTY                      NV     90009554456
468B466772B87B   JESSICA      GUENTHER                     ID     90012206677
468B4784A2B87B   SHERRY       YOW                          ID     90014747840
468B4A5985597B   CATALINA     ROGRIGUEZ                    CA     90010230598
468B51A6971999   TREVOR       MILLER                       CO     38098391069
468B5652A91926   SHAWNA       WING                         NC     90001716520
468B672AA4B583   JOHN         JONES                        OK     90007377200
468B6952161924   RAYO         REYES                        CA     90003029521
468B813915B352   STEVEN       VANOURNEY                    OR     44549191391
468B8217A71999   CHRIS        BOETTLER                     CO     38076212170
468B841294B271   JUAN         VALENZUELA                   NE     27085634129
468B8413161963   YENITZETH    HARO                         CA     90012854131
468B884742B87B   ALICIA       CONKLIN                      ID     90014748474
468B8871A5B222   DAVID        SNODGRASS                    KY     90000698710
468B891695B254   TIFFANIE     BUCHANAN                     KY     90011059169
468B8A8427194B   ANTOINETTE   SISNEROS                     CO     90014920842
468B934732B851   SUZANNE      BREMER                       ID     90008723473
468B9873771999   DAISY        RUIZ                         CO     38015728737
468B9889191569   L            GUILLEN                      TX     75097548891
468BB396391B55   CHRISTA      WARD                         NC     90012313963
468BB849391569   LORENA       AGUIRRE                      TX     75038298493
4691177235B174   TAMEKIA      MOLDEN                       AR     90015037723
4691179685B594   SUSAN        GRAVES                       NM     35007537968
469119A6A5B174   TAMEKIA      MOLDEN                       AR     90013419060
46912971A2B27B   STEVE        ROBINSON                     DC     90015209710
469132A827194B   ARLENE       ARD                          CO     38020922082
469133A134B547   KEVIN        CRUSE                        OK     90012653013
46913834A5B58B   KATHLEEN     BARTLING                     NM     35092408340
46914317A77595   GARY         NGUYEN                       NV     90011803170
4691483586195B   WALTER       GOMEZ                        CA     90008408358
4691523335B264   KYMBERLY     JOHNSON                      KY     90001662333
469153A558B16B   DERRICK      MILBURN                      UT     90009953055
4691567725B174   REDONDA      UTSEY                        AR     90014176772
4691572695B174   YOLANDA      BUNCHE                       AR     90015047269
4691663AA61967   ROBERTO      CURIEL                       CA     46074136300
4691695694B259   JUSTIN       DOVE                         NE     90011359569
4691843578B16B   JOSHUA       KNUDSEN                      UT     31066444357
4691984894B271   GARY         WOODS                        NE     90010268489
4691B12962B27B   MILEKIA      GREEN                        DC     90014171296
4691B167A91394   PAULINA      MUTAVA                       KS     90008571670
4691B777172B43   EVARISTO     RIVERA                       CO     90009197771
4692116278B165   MARCEY       HARDING                      UT     31026501627
4692168965B53B   ERIC         URTIAGA                      NM     90014746896
46921733A2B27B   KEITH        SYLVESTER                    DC     90015227330
46921A5554B271   STACEY       TOY                          NE     27060010555
4692266735B555   JOANNA       GARCIA                       NM     90010666673
4692269515B58B   ELIJAH       CHAVEZ                       NM     90014076951
469226A4972B43   MARIA        LOPEZ                        CO     90013786049
4692368695B174   KATIE        STOUT                        AR     90011256869
4692382644B271   DWAINE       GOINGS                       NE     90009438264
4692475A87194B   CHARMAIN     LERMA                        CO     38091707508
4692498725B53B   CLAUDIA      SALAZAR                      NM     35095069872
4692517665B58B   SARA         SIGALA                       NM     35090241766
46925321A4B259   SARAH        FOX                          NE     27096673210
46925537672B36   ROBERT       BRENNENSTUHL                 CO     33001315376
469267A5291569   MARIA        CALANCHE                     TX     90012737052
4692763865B222   JENNIFER     SMITH                        KY     68034136386
4692766518B16B   ALFREDO      GARCIA                       UT     90013946651
4692844A67B431   DORVAIL      CUE                          NC     90014594406
4692874225B174   GLORIA       PAREDES                      AR     90011257422
4692974695B174   RENEE        LASKER                       AR     90011257469
4692B372941289   GAYLORD      WILLIAMS                     PA     90011293729
4692B743A91523   ASTRID       DELUNA                       TX     90003517430
4692B776A61963   AFRICA       PEREZ                        CA     90012047760
4692B855272B43   MUELLER      DAVID                        CO     33095648552
4693176895B174   MIRIAM       WINDER                       AR     90011257689
46931A9A461967   GRACIELA     ESCOBAR                      CA     90012930904
4693252215597B   RAUL         DIAZ                         CA     90012405221
469327A5871999   BRENDA       DURAN                        CO     90000737058
46932A9535B58B   MARIO        FERNANDEZ                    NM     90013440953
4693318169185B   ISARA        NOMSIRI                      OK     90011551816
4693369477194B   MONICA       MARTINEZ                     CO     90008966947
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46934458A4B271   MICHELLE     KUHN                         IA     90010624580
46935433372B36   HENRY        POSADA                       CO     90009894333
469357A9891569   JONATHON     VILLASENOR                   TX     90012977098
4693623AA55939   YESENIA      BETANCOURT                   CA     49076582300
46936875472B93   ANDRE        BLACK                        CO     90010378754
4693846995597B   JEANETTE     HOEGH                        CA     90014004699
469384AA972B36   ORLANDO      PALME                        CO     90012214009
46938A4575B53B   ANNIE        PACHECO                      NM     90009560457
4693951A85B551   JANISE       SALAZAR                      NM     90013405108
4693B287472B43   ALFREDO      RAMIREZ-GUTIERREZ            CO     33011052874
4693B2A6251334   KELLI        THOMAS                       OH     66076652062
4693B61395B53B   ANTONIO      SOLIS                        NM     90014616139
4693B773272B36   JOHN         BENGTSON                     CO     33053787732
4693B84989188B   MELISSA      LOVE                         OK     90008898498
4693B861131448   HORACE       WATSON                       MO     90006818611
4694124373B356   YENI         GUEVARA                      CO     90005742437
4694125623B356   YENI         GUEVARA                      CO     90005742562
4694156157194B   GENO         STRICKLETT                   CO     90013195615
46942648A5B58B   ALMA         GOMEZ-CHAVARRIA              NM     90013206480
4694269514B259   AMBAR        RANGEL                       NE     27017046951
46942A8388B165   JEFF         SCHMIDT                      UT     90003300838
46945172172B43   MONICA       CASTILLO                     CO     90012111721
4694518257B48B   MANUEL       BAUTISTA                     NC     11072271825
4694568395B222   CELIA        FORD                         KY     68083406839
4694569468B16B   BARBARA      MARTINEZ                     UT     90013946946
46945697372B4B   OLIVIA       PROCTOR                      CO     90014126973
46945768A71999   BRADLEY      DAWFON                       CO     90014677680
469462A964B271   VELLITA      BROWN                        NE     27091232096
4694667A75597B   VICTOR       BONILLA                      CA     90005756707
46946713A5B53B   BRADEN       GAULT                        NM     90014747130
4694679738B165   CHRISTINE    DOMINGE                      UT     31089687973
46946812A7194B   BRENDA       BACA                         CO     90008628120
46947258172B4B   GREGORIA     AGUILAR                      CO     33081092581
46947A2515B174   KRISTINA     DYER                         AR     23008300251
46947A9144B546   MANDY        MILLER                       OK     90010500914
46947AA5A55939   VICTORIA     MAUREEN                      CA     90007810050
469489A4272B36   JESSICA      LOPEZ                        CO     90013909042
46949532A7193B   RORY         BEST                         CO     32017775320
4694B572A61967   JULIA        SANCHEZ                      CA     90015115720
4694B5A675B53B   GARY         SALAS                        NM     35083755067
4694B5AAA5597B   CHRISTIN     SEVILLA                      CA     49037035000
4694B79165B58B   VANESSA      HERRIS                       NM     90011957916
4695145834B271   ALICE        BRINGE                       NE     90014764583
4695243278B16B   TANYA        YARRINGTON                   UT     90000424327
4695267615B222   MICHAEL      DUNN                         KY     90012096761
4695338638B165   JESSICA      SOTO                         UT     31022633863
4695344145B58B   TERESA       ALVAREZ                      NM     35031014414
46955238472B43   SHEILA       DURAN                        CO     90013312384
469553A3661967   KELLIE       REECE                        CA     90008263036
46955A8625B58B   OLGA Y       GALVAN                       NM     35016580862
4695846385B53B   JEFFREY      CARTER JR                    NM     35090014638
469591A3971999   CHRISTINA    ARMENTA                      CO     90013901039
4695939392B872   EMERALD      QUARNBERG                    ID     90008583939
4695943488B16B   CHERRISH     SIMPSON                      UT     90009224348
469597A232B229   ROBERT       CORBITT                      DC     90010507023
46959892A5B53B   YILENS       CAMEJO-LOPEZ                 NM     90003188920
4695B82272B27B   KENYA        CUTHBERTSON                  DC     90012818227
4695B8A3561963   YULIANA      GUEVARA                      CA     90013058035
4696238433B332   DHEMAN       ABDI                         CO     90013143843
4696297344B271   JAMES        SHEA                         NE     90013609734
4696322375B53B   GINGER       PENNELL                      NM     90009442237
4696352A451334   LARRY        SANDLIN                      OH     90015365204
4696436635597B   MICHAEL      PAINE                        CA     49090423663
4696624746B953   DIEGO        MORFIN                       NJ     90015222474
46966A48491547   JESSICA      CARLOS                       TX     75032220484
4696778547194B   PAMELA       SOTO                         CO     38081627854
4696791A15B58B   PATRICIA     KIBI                         NM     90011919101
4696823547B497   KARLA        VANEGAS                      NC     90002262354
4696842365B222   IRMA         ALVAREZ                      KY     90009054236
46968A6695B53B   JOSIE        MARTINEZ                     NM     90011090669
4696965147194B   GABE         GALLEGOS                     CO     90003176514
4696966826195B   MICHELE      RICHARDSON                   CA     90004736682
46969A8A491569   MOLLY        OROZCO                       TX     90000220804
4696B13232B828   TAMERA       TAWNEY                       ID     90002961323
4696B331491523   MIRIAM       OLIVARES                     TX     90006393314
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4696B363861963   MARIO         CRUZ                        CA     90012293638
4697138585B58B   MIGUEL        ESCOBAR                     NM     35020113858
4697139795B174   JARVIS        DANIELS                     AR     90003433979
469715A1661967   NATASHA       WALLACE                     CA     46083185016
4697186997B431   KYLE          BOYD                        NC     90007088699
4697189637194B   RANDY         STURTEVANT                  CO     90011838963
4697195575B174   FERMAN        ARMSTRONG                   AR     90005379557
469726AA291834   KIM           SUMMERS                     OK     21069216002
4697333557194B   TIMOTHY       ACOSTA                      CO     38006213355
4697372528B16B   MARY          LAWS                        UT     90010637252
4697377995B174   GUADALUPE     MENDENEZ                    AR     23061607799
4697399187B431   BENNIE        BOGER                       NC     90012409918
46973A3628B16B   MARY          LAWS                        UT     90012650362
469754A5691873   RONNIE        INKS                        OK     21004654056
4697815635B58B   PORRINE       BACA                        NM     90015601563
4697894625597B   FRAUNCELIA    HERNANDEZ                   CA     49081199462
46978A37372B4B   AMBER         TREMBATH                    CO     90011030373
4697B1A484B271   CHRISTINA     DAVENPORT                   NE     90005421048
4697B3A617194B   RANDY         CHASE                       CO     90011403061
4697B67725B174   REDONDA       UTSEY                       AR     90014176772
4697B9A9651334   OLETHA        CRIHFIELD                   OH     90005189096
46981729272B4B   MAHAMUD       MAHAMUD                     CO     90012907292
4698189417194B   IAN           NDOLO                       CO     90014948941
46982635572B4B   LAURA         GARCIA                      CO     90010046355
4698287545B18B   ERIC          OLDEN                       AR     90014458754
4698335855B255   ROBIN         DEZARN                      KY     90001323585
46983A2264B271   JANICE        GALVAN                      NE     27041430226
46983A28172B36   HEI GAY       PAW                         CO     90010900281
46983A6628B16B   ALEXANDRA     GODINEZ                     UT     90004080662
46984162172B4B   SHAMAILE      BRAME                       CO     33006571621
46984395172B36   PARDIP        KAUR                        CO     90006613951
46984865372B43   VIRGINIA      HERSON                      CO     90012678653
46984A6462B27B   GABRIEL       ALFARO                      DC     90011370646
46985599A51361   DEATRA        TURNER                      OH     66052505990
4698828A672B43   MARIBEL       HERNANDEZ                   CO     90009532806
46988573272B36   JENNY         LYNGSTAD                    CO     90012845732
46988A5122B87B   CRYSTAL       TRUNDY                      ID     90014230512
4698974187194B   LAURA         SALAZAR                     CO     38022477418
4698B23884B271   DEANDREIA     BOGGESS                     NE     90011472388
4698B292391873   PAULINE       TSOSIE                      OK     90000962923
4698B512861963   TAMEKA        BRAYALL                     CA     90007715128
4698B582772B36   BRYAN         PEACOCK                     CO     90003405827
4699291583619B   VERONICA      TREJO                       TX     90005649158
4699372475597B   STEVEN        YOUNG                       CA     90014357247
4699443725B53B   ROSALINDA     CABALLERO                   NM     90003834372
4699497545B58B   GUILIO        MANCINI                     NM     90012559754
4699555244B271   ROBERT        WEIKLE                      NE     90014875524
4699577588B16B   TANGIKINA     KATOA                       UT     90010637758
46996825372B4B   LEE           HORTON                      CO     90012778253
46996A8635B531   VIVIAN        SENA                        NM     35092000863
4699758487B431   ANTONIO       GABRIEL                     NC     11000765848
46998367A5B53B   LYNETTE       MARTINEZ                    NM     35013593670
4699859A25597B   LETICIA       MARTINEZ                    CA     90013205902
4699996567194B   AMBER         SUCKEY                      CO     38008519656
4699B49A191569   SERGIO        ESCAMILLA                   TX     90012934901
4699B551851334   FALOU         DIAKHOUMPA                  OH     90008545518
4699B5A867B431   AMY           PREZ                        NC     90013435086
469B153787194B   CHRISTOPHER   MICHAEL                     CO     90014935378
469B162132B27B   KEVIN         LEWIS                       DC     90000656213
469B1682861967   VEGA          YOLANDA                     CA     46049036828
469B211A491569   CHRISTOPHER   HENDRICH                    TX     90011311104
469B2655A61963   KRISTA        SABIN                       CA     46087816550
469B2A45861967   PATRINA       JOHNSON                     CA     90012890458
469B4554861967   NATALIE       GUARDADO                    CA     46065385548
469B479969714B   IONELA        BENTEA                      OR     90014807996
469B558978B16B   DANIEL        SIMON                       UT     90005765897
469B5731771999   ROB           URBINA                      CO     38071287317
469B588A65B58B   NICOLAS       CONTERAS                    NM     90009938806
469B685535B58B   ASHLEY        MCELROY                     NM     90014848553
469B6889391569   JESUS         CRUZ                        TX     75067658893
469B76A858B16B   JOEL          GRYGLA                      UT     90001726085
469B78AA55597B   BRIGETT       RODRIGUEZ                   CA     49086068005
469B816765B222   DANNY         DILLANDER                   KY     90003211676
469B846895B53B   ELIPIO        CORTES                      NM     90011354689
469B85A1461963   TARA          GALVAN                      CA     46062125014
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469B867214B271   MICHAEL      DUNLOP                       NE     27001366721
469B923272B27B   JERRELL      DAVIS                        DC     90012462327
469B9313572B4B   EVAN         DRAKE                        CO     90013583135
469B9656955982   KEVIN        PEARSON                      CA     49067236569
469BB45697B488   BRANDON      FISHER                       NC     90010654569
46B1123A191523   MARTIN       MINGURA                      TX     75056162301
46B1127535B174   NATASHA      MIXON                        AR     23049722753
46B1128424B259   CONNIE       BUCK                         IA     27097392842
46B116AA771999   ANGELYN      DANIELS                      CO     90013896007
46B12764981669   ANTHONY      OLAH                         MO     90012187649
46B12878672B4B   HELENA       DEHERRERA                    CO     90011378786
46B12A2737B431   SAMUEL       DIAZ JIMENEZ                 NC     11012790273
46B13345291569   MATHEW       FLORES                       TX     75087263452
46B1383A68B16B   QUINTIN      SEVERNAK                     UT     90013238306
46B1393765B53B   ALMIDA       MARTINEZ                     NM     90014709376
46B14116161967   ALEJANDRO    GARCIA                       CA     90001421161
46B14578391569   STEPHANIE    RODRIGUEZ                    TX     90012115783
46B1558844B526   LATORYA      CASTILE                      OK     90010715884
46B15679751334   NATASHA      FRAZIER                      OH     90013236797
46B162A5161967   ISABEL       JIMENEZ                      CA     46043462051
46B165A6A5B53B   KENNETH      MUNOZ                        NM     90003685060
46B16642791569   CYNTHIA      SZEWC                        TX     90001606427
46B16A28851334   WILLIAM      WALLACE                      OH     90015130288
46B16A76572B4B   PAULETTE     BRUTON                       CO     33063670765
46B17394791569   APRIL        MORENO                       TX     90011103947
46B1797665B53B   JOSE         RAMIREZ                      NM     90014709766
46B18174891569   MICHELLE     CHAVEZ                       TX     90012301748
46B18386872B4B   JUNAE        BROWN                        CO     90007853868
46B1869465B174   KENEISHIA    JEFFERSON                    AR     90014696946
46B1974265B222   TARA         GEARY                        KY     90009147426
46B19945872B4B   FELECIA      STUGILL                      CO     90005579458
46B19A55672B43   JESSICA      SUTHERLAND                   CO     90008620556
46B1B24574B546   BUDDIE       BURK                         OK     90008842457
46B1B93745B53B   APRIL        HAVEZ                        NM     90014709374
46B21334A2B87B   PAMELA       MILKS                        ID     90012773340
46B2137345B58B   RONALD       HYATT                        NM     90005923734
46B2186475597B   JUAN         LOPEZ                        CA     90014378647
46B232A6281639   SOU          LEMATUA                      MO     29034332062
46B23856472B43   PATRICIA     WILSON                       CO     90014078564
46B2422645B53B   RHIANNON     JOJOLA                       NM     90012462264
46B2425138B16B   DENNIS       TAMAYO                       UT     90015382513
46B2458455B174   FLOYD        MOSS                         AR     90015115845
46B2513A55B174   KIMBERLY     VASQUEZ                      AR     90011191305
46B2528A15597B   FRANCINE     GUERRERA                     CA     90014772801
46B26195A77595   SANDRA       REALES                       NV     90011271950
46B26645671999   ISAIAH       ALIRE                        CO     90013306456
46B26827491569   JUAN         VEYNA                        TX     90013668274
46B2687134B271   ANTHONY      SALZMAN                      NE     27071658713
46B27547451334   IMOGENE      PEACE                        OH     66057925474
46B27855771999   AIOTEST1     DONOTTOUCH                   CO     90015128557
46B27A4595B222   AUTUMN       CHILDRESS                    KY     90011040459
46B27A68991569   LIZ          RODRIGUEZ                    TX     75031630689
46B28949372B43   DRAMANE      KONE                         CO     90009799493
46B2898714B271   JOHN         CAIN                         NE     90015129871
46B2916225597B   THAO PAO     LEE                          CA     90001591622
46B296AA17193B   LETICIA      WEBB                         CO     90013716001
46B29896472B4B   JOSHUA       RICHARDS                     CO     90006898964
46B2B244651334   WALTER       KRIMMER                      OH     90014472446
46B2B274172B4B   ANTONETTE    EVANGELISTA                  CO     90005032741
46B2B275791523   JOSH         ESPINOZA                     TX     90012072757
46B2B358A7194B   LETICIA      ORTEGA                       CO     38026213580
46B2B39544B271   JOHN         KELLEY                       NE     90014273954
46B2B411472B4B   ALFONSO      NAVA                         CO     33049384114
46B2B435A5B155   ROSA         SERVANTES                    AR     90001404350
46B2B85298B16B   CHAD         CROWELL                      UT     90012058529
46B2BA1352B87B   ROBERT       HAVEMAN                      ID     41025530135
46B31242791523   LUCIA        GONZALEZ                     TX     90001952427
46B3167145597B   GUTIERREZ    ANGELINA JUANITA             CA     49083696714
46B3185A28B165   EDUARDO      RODRIGUEZ                    UT     90008108502
46B32671572B4B   BRENDA       MEDINA-ROGEL                 CO     33014406715
46B32A7654B271   PESHAWN      PETTIS                       NE     27036750765
46B33142A9152B   ERIC         RAMIREZ                      TX     90003071420
46B33177577595   JILLIAN      MORRIS                       NV     90000401775
46B3381154B271   ADRIANA      HERNANDEZ                    NE     90010268115
46B34114A2B27B   DARRYL       JOHNSON                      DC     90012651140
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46B34585991873   MELISSA       NEAL                        OK     21023575859
46B3475168B16B   LEONARDA      SOMEZ                       UT     90000657516
46B34856961963   MIGUEL        BAUTISTA                    CA     90010778569
46B3489612B87B   ROBERT        ROBITAILLE                  ID     41017608961
46B34962A5B53B   JAQUELINE     MANJARREZ                   NM     90014709620
46B3555815B58B   ANJELICA      PEREZ                       NM     35036415581
46B35657A72B39   KIMBERLY      BAILEY                      CO     90009246570
46B3623617194B   ANTHONY       MUNIZ                       CO     90006512361
46B36282172B4B   ANDRES        GALAN                       CO     90009562821
46B3695562B283   DJ            MELLO-T                     DC     81003999556
46B369A7A91569   DAVID         DIAZ                        TX     90001499070
46B3762A22B264   TIARA         HUNTER                      DC     90009326202
46B37757272B4B   CHRISTIAN     ZAZUETA                     CO     90014337572
46B37A92A4B259   CORINA        CALLOWAY                    NE     90005910920
46B397A795597B   JAIME         HERRERA                     CA     90013847079
46B3993425B53B   LAWANNA       GREATHOUSE                  NM     90014719342
46B3B36A892B26   PSALM         BURGER                      WI     90015413608
46B3B39295597B   MELISSA       FULTON                      CA     90001143929
46B3B8AA372B4B   MICHELLE      GARCIA                      CO     90013758003
46B41626A5B555   SUSET         WALKER                      NM     90006116260
46B4236845B58B   ALEX          PEREA                       NM     35052683684
46B4316335B222   NANCY         MORRISON                    KY     90012671633
46B43793991569   SANDRA        GURROLA                     TX     90009477939
46B43A55477595   BERANDA       PALACIOS                    NV     90007590554
46B444A245B53B   MARICELA      VAZQUEZ                     NM     35086874024
46B4548732B87B   BRANDON       ATHA                        ID     90014744873
46B45585851334   SANDRA        PRITCHETT                   OH     90015325858
46B4711454B271   KRISSY        THORNBURG                   NE     27047911145
46B4746158B16B   CHRISTINA     BROWN                       UT     90010274615
46B47844272B43   KIMBERLY      DANILES                     CO     90012578442
46B4796875B53B   MISTY         KOBERNA                     NM     90014709687
46B4799915B174   JENN          JOHNSON                     AR     23068919991
46B47A53961941   MARCOS        TURRUBIARTES                CA     46003590539
46B48163A72B43   ANASTASIA     SANCHEZ                     CO     90006921630
46B483AA44B259   ABRAHAM       MILLER                      NE     90003373004
46B4849725B222   REBECCA       HURST                       KY     90014844972
46B4959818B16B   ISSAG         MOHAMED                     UT     90014215981
46B4988A42566B   JACKIE        HAYGOOD                     AL     90011058804
46B4BAA684B271   LINDA         ORTIZ                       NE     90007520068
46B5121138B16B   TIMOTHY       HARDCASTLE                  UT     90013532113
46B51A52871999   AMY           ROMERO                      CO     90003020528
46B51A97161963   CHRISTIAN     ESPARZA                     CA     90012890971
46B5235257B431   ERIN          HINSON                      NC     90005913525
46B5264725B53B   MARIA         GARCIA                      NM     35078896472
46B5377315B222   CHRISTOPHER   LEWIS                       KY     90013617731
46B5451535B58B   MARIA         PALMA QUEZADA               NM     90008125153
46B55642191394   GLEN          TRAYNOR                     KS     29053436421
46B55928993767   FLECHER       GEE                         OH     64508669289
46B5595627194B   PATRICK       SAIZ                        CO     90014709562
46B5596565B53B   MARIA         BARAJAS                     NM     90014719656
46B5638185B222   ANTOINETTE    HUDSON                      KY     90001763818
46B56531572B36   SONYA         VELARDE                     CO     90001445315
46B5654775B53B   JORGE         CUEVAS-RIOS                 NM     35058815477
46B56562172B43   TEK           DHUNGEL                     CO     90013275621
46B568A397193B   DESTINY       WINGERT                     CO     90010048039
46B568A5286476   ERIC          SORIANO                     SC     90011118052
46B5698814B271   KOKOU         KANLEY                      NE     27008789881
46B56A25A5B174   LINDA         MCBRIDE                     AR     90012940250
46B5768447194B   PHILINA       PALOMAREZ                   CO     38074546844
46B57945561963   TERESA        AGUIRRE                     CA     90006669455
46B58245447954   SAMUEL        FRANKLIN JR                 AR     25054202454
46B5826825B174   CHAQUITA      HYMES                       AR     90014562682
46B58585972B4B   DEXTER        JACKSON                     CO     33015325859
46B5868A293769   TAYLOR        EARLEY                      OH     90014816802
46B58814961963   CRISTINA      VERGARA                     CA     90013758149
46B5959562B27B   ANGELA        KING                        DC     90007325956
46B59784572B36   BRITTANY      PROSSER                     CO     90010387845
46B59A15961963   PETRA         BAENA                       CA     90007820159
46B5B33345B58B   ERIK          ESTRADA                     NM     35074023334
46B5B615A72B43   GEORGE        HOOVER                      CO     90014916150
46B5B668791569   YVONNE        ARROGO                      TX     90013716687
46B5B686191873   GLADIS        GARCIA                      OK     21065556861
46B5BA2628B16B   BRADY         SEARLE                      UT     31051240262
46B615A5951334   MRS DORTHY    COLLIERR                    OH     90004225059
46B61863471644   SHAWNELL      TILLERY                     NY     90009228634
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46B62115551354   NATHAN         MENDEZ                     OH     90008651155
46B6226255593B   BALTIMORE      GONZALEZ                   CA     90013152625
46B6229397B431   MARGARET       PAYTON                     NC     90010142939
46B6234198B14B   CAROLYN        ANDERSON                   UT     90010123419
46B6264294B271   THERESA        MANGIAMELI                 NE     90007836429
46B62819572B36   BRIAN          CLARK                      CO     33028588195
46B6347145B53B   MODESTA        RAMOS GALLEGOS             NM     90011754714
46B63747455939   RICK           BRASE                      CA     49093337474
46B63857A7194B   TANYA          MATNEY                     CO     90014718570
46B63A11151334   MIQUEL         ROBLERO                    OH     90013670111
46B64139271999   REBECA         BANUELOS                   CO     38066341392
46B64144361963   RAMIRO         ESPINOZA                   CA     46015971443
46B6449872B238   WYNTER         JONES                      DC     81026064987
46B64626577595   CRHISTINA      SILVIA                     NV     90005446265
46B6462A94B541   KEANDRA        BRYANT                     OK     90014076209
46B646A7A4B271   CONNI          BURESH                     NE     90013496070
46B651A197194B   JESSICA        MARTINEZ                   CO     90001461019
46B65878393747   ALLEN          RICHARD                    OH     90012308783
46B66983741B62   YVONNE         DAVIS                      MD     90000219837
46B66A97691569   JUAN           RIOSMORENO                 TX     75037010976
46B67112671999   DOUGLAS        VIGIL                      CO     38050891126
46B67583251326   NANCY          RODRIGUEZ                  OH     66051895832
46B67A53751334   RANDY          SCHEINER                   OH     90015130537
46B68659961955   VICENTE        MARROQUIN                  CA     90012026599
46B6938185B222   CHRIS          PPOOL                      KY     90007173818
46B69464271999   DAVID          BRISCOE                    CO     90008404642
46B6961257194B   JENNIFER       CORDOVA                    CO     90011926125
46B69897557159   JUAN           FLORES                     VA     81064888975
46B6B18967194B   IRIS           GALLEGOS                   CO     90011871896
46B6B36425B58B   NICHOLAS       DIEM                       NM     90007273642
46B6B874461967   ANDRAE         NAVRRE                     CA     46097328744
46B7164AA7194B   ESPERANZA      GUTIERREZ                  CO     38076986400
46B7197A372B43   DARLENE        DOLAN                      CO     33034009703
46B72417731497   JANIS          SCHAEFER                   MO     90003884177
46B7249725B222   REBECCA        HURST                      KY     90014844972
46B72621261963   CARCIA         CLARKE- MAEVA              CA     90014556212
46B7289458B16B   SCOTT          PRICHARD                   UT     90014278945
46B7356622B27B   NIKKIA         DYCHELL                    DC     90014975662
46B7369834B271   RON            TUF                        NE     90004886983
46B74329161963   RACHEAL        MONARREZ                   CA     90006993291
46B74441772B4B   LETICIA        SORIANO                    CO     90014364417
46B74592481639   KELLI          STOCKTON                   MO     29045085924
46B74AA155B53B   STEPHEN        PADILLA                    NM     90014710015
46B75879791394   WADIE          KHATCHADOURIAN             KS     29019738797
46B76A1145B174   SEDRICK        AUSTIN                     AR     90013290114
46B7739245B58B   ARNULFO        ALVARADO                   NM     35021003924
46B78216A4B271   MARTIN         ARENIVAS                   NE     90014972160
46B7846825597B   KARLA          DIAZ                       CA     90008394682
46B7863295B53B   JOHNATAN       ARREDONDO                  NM     90014496329
46B791A528B16B   TALISHIA       WILLIAMS                   UT     90011471052
46B7936665138B   KELLY          KING                       OH     90010973666
46B79A8255B53B   MARIA          TRUJILLO                   NM     35074940825
46B7B139671999   TANYA          MD                         CO     90011281396
46B7B87615B174   DIETRICH       MCCASTER                   AR     23005428761
46B812A135B174   MIKALA         AMMONS                     AR     90012612013
46B81414951334   JOHN           HILLARD                    OH     66021754149
46B8153252B87B   KASARAH        SMITH                      ID     90001205325
46B81564591523   FAITH          ADAMS                      TX     90002445645
46B81655561963   MYRA KARINA    REYES                      CA     90014516555
46B8188797B431   CRAIG          JOHNSON                    NC     90012968879
46B82254A91569   MICHAEL        BANKS                      TX     90014442540
46B82634A72B36   MARK           ADAMS                      CO     33053666340
46B8353935B174   MELINDA        JACKSON                    AR     90011195393
46B8427224B259   OLUSEGUN       AWONUSI                    NE     90006622722
46B8481A52B27B   VALINDA        VENABLE                    DC     90014018105
46B84862161963   GINA           FUGATE                     CA     46017718621
46B85768772B36   RACHELLE       HUNTLEY                    CO     90015277687
46B85AA7651334   KATHLEEN       WEISE                      OH     90005540076
46B8691A461967   GABRIEL        NUNO                       CA     90012639104
46B87229891569   NUNEZ VALDEZ   ERIKA JUDITH               TX     90004922298
46B87234233B3B   CHRISTOPHER    NEWKIRK                    OH     90014162342
46B87A5224B259   CHRISTINE      AUGUSTINE                  IA     27016860522
46B88122161963   FINIS          POLLOCK                    CA     90014181221
46B88548A8B16B   TEVIN          CHAMBERS                   UT     90009215480
46B8862A555936   MYRA           DELATOBA                   CA     90014146205
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46B89893472B43   GRACE         FACILITY MAINTENANCE        CO     33064338934
46B8B345255939   RONNIE        URAN                        CA     49070253452
46B8B34A761963   ANGELINA      TELLO FLORES                CA     46067703407
46B8B43973B356   SAM           LARATTA                     CO     33047714397
46B9114A284386   MARIO         VILLALOBOS                  SC     90013651402
46B91178391569   CESAR         GALLEGOS                    TX     90008021783
46B92413751334   KIM           HENSLEY                     OH     90010974137
46B92895161965   ERVIN         POWELL                      CA     90002518951
46B93527351334   WILLIE        BATSON                      OH     66006945273
46B93743872B36   LINDA         COOK                        CO     33042207438
46B9389515B222   THOMAS &      JAIME WILKERSON             KY     68090598951
46B93931551336   SPENCER       WILLINGHAM                  OH     90008859315
46B9452585B222   TAMMIE        ORTIZ                       KY     90013265258
46B94617961967   VICTORIA      LLAMAS                      CA     90010786179
46B94649A91569   ELVIRA        DE LA ROSA HERNANDEZ        TX     90013166490
46B9517165B174   ANTONIO       RODRIGUEZ                   AR     90006401716
46B95A75761963   LETHA         R SMITH                     CA     90005910757
46B96185155982   JOSE          FERNANDEZ-MALDONADO         CA     90000651851
46B9643727B431   TIFFANY       SIMPSON                     NC     90010034372
46B9658472B87B   BRITTANY      TEUPEL                      ID     90014185847
46B96A32361963   TOMAS         TOMAS                       CA     46028670323
46B9742547B431   JACKQUELINE   HOWARD                      NC     90013724254
46B9793785B58B   LORI          CDEBACA                     NM     35068049378
46B97A64A71999   RAINA         CHACON                      CO     90012890640
46B9927275B174   LANETTIA      GILOIAM                     AR     90014232727
46B99651A72B23   CHRIS         GARNER                      CO     90011196510
46B9973A37194B   GEORGE        COZZETTO                    CO     90010707303
46B99A6772B87B   TIM           PARKS                       ID     41067960677
46B9B325591569   ADAN          VENZOR                      TX     90013193255
46B9B41A351334   MICHELLE      LOCKABY                     OH     66010614103
46B9B443147954   ADRIANA       JIMENEZ                     AR     25017004431
46BB124A97B431   PAYGO         IVR ACTIVATION              NC     90008552409
46BB14A8991922   VICKIE LYNN   CROMARTIE                   NC     90004344089
46BB1612891828   KARYN         DARAIS                      OK     90007706128
46BB169614B271   BREANNA       SHANTE                      NE     90010776961
46BB192935B53B   MELANIE       DEAN                        NM     90014709293
46BB227667B457   TAMEEKA       MCCREE                      NC     90015022766
46BB2686A72B4B   SAMSON        CANTU                       CO     90012636860
46BB276332B27B   MOUSTAPHA     DIOP                        DC     90010717633
46BB292335B222   JACQUELINE    KELLEY                      KY     68071389233
46BB293285B53B   SHELLY        DABBS                       NM     90014709328
46BB3153591569   ADRIANA       JIMENEZ                     TX     75070431535
46BB355815B222   ANTOINETTE    HINES                       KY     68072635581
46BB3696161963   JONOTHAN      RODRIGUEZ                   CA     90010266961
46BB3781851334   DARIEN        COUSINS                     OH     90014767818
46BB4328A8B16B   LINDA         WHITE                       UT     31011303280
46BB46A5672B98   MONICA        PEREZ                       CO     90011696056
46BB593285B53B   SHELLY        DABBS                       NM     90014709328
46BB6139551321   TINA          BARNETTE                    OH     90003691395
46BB626287B33B   TANIA         GIBSON                      VA     90007372628
46BB7129261967   LAURIE        BEECHAM                     CA     46068271292
46BB7288991569   GABRIELA      ZAVALA                      TX     90012202889
46BB7882181639   JANICE        GAUCHAT                     MO     90006578821
46BB78A2A86453   ANA           BETRAN                      SC     90014808020
46BB8124771999   BRIAN         ORTIZ                       CO     90012671247
46BB8169561963   JOSE          TORRES                      CA     90008711695
46BB8713755939   KRYSTAL       MORENO                      CA     90002547137
46BB8781A72B4B   LOGAN         CHOJNACKY                   CO     90015347810
46BB8874261967   SHANTEL       LATRICE                     CA     90014578742
46BB919A42B27B   ELIZABETH     HERNANDEZ                   DC     90015491904
46BB9233A4B271   ROXANNE       KOTSCHWAR                   NE     90003052330
46BB9497A5597B   ZARATE        ELIZABETH                   CA     90002084970
46BB9623191569   CRISTOBAL     ROBLES                      TX     75012226231
46BB9696872B4B   LAURA         LAROSE                      CO     33028956968
46BBB854A57122   CITY          HOMES                       VA     90001698540
46BBB97982B27B   PEDRO         GONZALEZ                    DC     90014519798
46BBBA44551334   SULEMAN       CAMARA                      OH     90012050445
4711113658B355   RUBEN         GARCIA                      SC     90006381365
4711239255B222   AUSTIN        HUGHES                      KY     90011053925
4711259425B222   THOMAS        BAGWELL                     KY     90014905942
4711288478B16B   MAGALY        MADRID                      UT     90009268847
4711299325597B   EMNAI         ZENO                        CA     90013949932
47112994872B47   ROSA          GABINO PEREZ                CO     90006349948
47113621A72B43   THEODORE      SMITH                       CO     33080876210
4711422455B58B   PABLO         RAMOS                       NM     90005172245
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4711457615B222   ANGEL        STOVALL                      KY     68035695761
4711538864B582   EBONY        HOLDEN                       OK     90007683886
471161A788B355   DANIEL       SIMPSON                      SC     90013341078
4711631385B58B   JOSEPH       MAYO                         NM     90002143138
47116959A72B36   XOCHITL      SANCHEZ                      CO     90008809590
47117A8172B27B   JORGE        ORTEGA                       DC     81007100817
4711818AA5B53B   MANUEL       GOMEZ--VILLAOBOS             NM     35087851800
4711873A872B36   JDELL        GARNER                       CO     33035837308
4711944755B58B   SILVIA       SIERRA                       NM     90014884475
47119496372B43   TOBY         BOOK                         CO     33001054963
471194A838B594   VICTORIA A   GARCIA                       CA     90014674083
4712169345B222   DANNA        DANE                         KY     90014596934
47124584A5B58B   THERESA      CHAVEZ                       NM     90014155840
47124A78755966   NICOLE       BARBOZA                      CA     90000900787
47125149572B43   DAVID        TATE                         CO     33008541495
47125243A51326   SARAH        MANNING                      KY     90004292430
4712555115597B   HOLLY        JENNINGS                     CA     90010345511
47126242572B36   SARA         BOLLEFER                     CO     90014942425
47126589972B4B   PEDRO        CHAVEZ SALAZAR               CO     33007495899
4712683A391394   VICENTE      SANDOVAL                     KS     29061948303
4712726A572B4B   ZACH         MARCHETTI                    CO     33053042605
4712736912B266   DENISE       THORNTON                     DC     81016553691
4712811388B355   VADA         SULLIVAN                     SC     90013061138
471282A1371999   JESSICA      GARCES                       CO     90005082013
471287AA672B4B   JENNIFER     LORBERAU                     CO     33044857006
4712B36215597B   VICTOR       NARANJO                      CA     90010433621
4712B652771999   JESSICA      JONES                        CO     90013046527
4712B937A91394   LUISA        USSEGLIO                     KS     90011179370
4712BA98854151   SHANA        GIGER                        OR     90010520988
4713115325B58B   GONZALO      VILLEGAS                     NM     35000021532
47131294A55939   JEFFUN       ANDERSON                     CA     90012852940
47131844A91569   ROGELIO      HOLGUIN                      TX     75058008440
47131A2525597B   JOHN         MADUENO ALVAREZ              CA     90013950252
47132152A32586   MATTHEW      STOKES                       TX     90014161520
471323A232B87B   KELLIE       ANDERSON                     ID     41080563023
4713242815B58B   ROSE         MYERS                        NM     35072784281
47133211472B43   SHEARER      TRAMBLIE                     CO     33008542114
4713393482B27B   RICARDO      SMITH                        DC     90011199348
4713438448B165   SANDRA       SMITH                        UT     31048963844
47134461372B43   BREYANA      HICKS                        CO     90012984613
47134758172B4B   CRYSTAL      ROSE                         CO     33089517581
47134A65871999   BARBARA      HAWKINS                      CO     38065920658
47134A99461963   CARLOS       GOMEZ                        CA     90011280994
471352AA491988   ERIC         PRINCE                       NC     17030492004
47135919172B4B   EVELIO       SOTO                         CO     33073359191
47135983A55939   PATRICIA     DE GALINDO                   CA     90013219830
47136226272B43   VALERIE      BRYANT                       CO     33008542262
4713719792B27B   KANDICE      BAYLOR                       DC     90005491979
4713757695B53B   VINCENT      GARCIA                       NM     35082195769
4713763325B222   MAURICE      WILLIAMS                     KY     90011596332
4713834A52B27B   SHAWNTEE     GAYE                         DC     90012163405
4713852794B271   CHRISTINE    BARNES                       NE     90014795279
4713871468B16B   MELINDA      FLEENOR                      UT     90004097146
47138A85991569   MARGARITA    ESPINOZA                     TX     75086810859
4713962638162B   LUKE         RHEAUME                      MO     90012066263
4713994735B174   JERRICA      ANDERSON                     AR     90011319473
4713B179855966   KEVIN        MADRON                       CA     49072721798
4713B23435B53B   RHIANNON     SALAZAR                      NM     90012302343
4713B581772B36   MADRID       SERVANDO                     CO     33072115817
4713B679491569   MARCOS       GUILLEN                      TX     90009586794
4713B813A5B386   TOMAS        MARQUEZ                      OR     90006098130
4713BA55851334   SHAYLA       VEGA                         OH     90008100558
4713BAA892B27B   ADALID       PINEDA                       DC     90010370089
4714166584B259   CHARLES      JONSON JR                    NE     27063046658
47142558972B43   CARLOS       DERAS                        CO     90014525589
47142589427B87   KRISTIN      DUDLEY                       KY     90012635894
47142A59561967   BRENDA       MORENO                       CA     46010710595
4714342262B27B   MICHAEL      RIVERS                       DC     81019524226
47143883A4B271   GUSTAVO      LOPEZ                        NE     90005308830
4714437615B174   JERMAINE     ROGERS                       AR     90007543761
4714485598B355   ANGEL        VARNADORE                    SC     90015578559
47144944A91873   AMBER        MATHIS                       OK     21085119440
471454A6954132   JASON        HELLING                      OR     90015094069
4714589A472B47   RICHARD      HEILMAN                      CO     90014758904
4714696554B221   MARK S       WULFF                        NE     90013069655
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47147585972B36   ED                 ENGELBRECHT            CO     90004775859
4714768895B222   DORIS              CUNNINGHAM             KY     90001446889
4714879A861542   TRACEY             RHODES                 TN     90013487908
47148AA242B27B   OCLECIANO          DIAZ                   DC     90015010024
4714955934B259   RANDY              OTTESEN                IA     27074485593
4714978785B53B   EDDY               ENDEZ                  NM     90009477878
4714B346371999   OCTAVIO            BORJORQUEZ             CO     38081633463
4714B552461963   GABRIEL            SUAREZ                 CA     90013305524
4714B87475B58B   STEPHANIE          RODEBUSH               NM     35051688747
4714B936791569   MONIQUE            ADAME                  TX     90014469367
471511A144B271   GARCIA             RIVERA                 NE     90000311014
47151959472B4B   SCARLETT           MCIVOR                 CO     33040309594
47151A9645B174   MARYIE             BELL                   AR     90013610964
4715226732B828   AMBER              PETERS                 ID     42086542673
47152A3655B222   JEFF               KELIEN                 KY     90011880365
47153A3765597B   KARIN              HOWELL                 CA     90013950376
4715532382B27B   NATNAEL            TEKLEYES               DC     90004573238
47156285372B43   STEPHEN            CARSTENSON             CO     90012082853
4715632682B92B   SUGEIRE            VILLALOVOS             CA     90007983268
4715697412B87B   CHRISTY            MYERS                  ID     41080189741
47156A56154B42   ARTHUR             PENN                   VA     90004850561
4715742155597B   MARIO              FLORES                 CA     49081084215
47157A81455939   MARIO              SANCHEZ                CA     49037250814
47158162872B36   CHRIS              SANDOVAL               CO     90011761628
4715888668B355   JOSE               MONTION                SC     90012828866
47159111872B43   VICTORIA           ALLEN                  CO     90013651118
47159275A51334   TAMMY              BRADLEY                OH     90014072750
4715947265B174   LINNIE             BOOZY                  AR     90013774726
4715969595B58B   JUAN               VIGIL                  NM     90011296959
4715B167291569   DUSTIN             FLORES                 TX     75051851672
4715B528855955   LORENA             SALAS                  CA     90011075288
4715B52895B53B   JOSHUA             SOLANO                 NM     90012675289
4715B567171999   DEBRA              BERNAL                 CO     38091305671
4715B89754B546   HALEY              SIMMONEAU              OK     90004098975
47161736872B4B   AARON              MAES                   CO     90014637368
4716217422B87B   TASHA              SMITH                  ID     41021721742
471627A3A55966   CLAUDIA            RAMIREZ                CA     90013117030
4716294675597B   BRITTENY           MITCHELI               CA     49085859467
47162A5744B271   LUCINDA            PITTS                  NE     90012930574
47163912772B4B   GUY                TRUJILLO               CO     33098009127
4716414822B27B   FRANKI             RUFFIN                 DC     90011871482
47165147A8B355   DEVIN              PATTON                 SC     11085911470
4716558918B16B   CHELSEA            FORD                   UT     31034855891
4716623A88B16B   MARIA              QUINTERO               UT     90007842308
4716654975B222   WILLIAM            GILBAR                 KY     90013995497
47166558A55966   ELWIN              REYES                  CA     90014735580
4716738218B355   CHRIS              JOHNSON                SC     90015613821
47167639A91394   ELIDA              MORA                   KS     90007066390
471677A958B16B   KAREN              LABORIEL               UT     90011787095
47168A32572B4B   NERISSA            MILLER                 CO     90005750325
47168A3A52B27B   YOLANDA            WASHINGTON             DC     90012580305
47169346A72B36   AHMED              ALI MOHAMMED           CO     33063613460
4716961232B828   CASSIE             BREWSTER               ID     90010526123
471696A7827B87   KAYRAN             WHITE                  KY     90010986078
4716B173172B36   CAMPOS             DIANA                  CO     90006731731
4716B71245B174   AMANDA             CARRALES               AR     90014647124
4716B78178B355   SABINA             VALLE                  NC     90007287817
4716B915A74B7B   AMANDA             STURGILL               OH     90014289150
4716B9A7891527   EVETTE             RODRIGUEZ              TX     90007739078
4717452285B174   JACQELINE          BLUFORD                AR     90008355228
47174716772B43   DEBORAH            ROBERTS                CO     33029567167
47175527172B4B   JOE                CONDOTTI               CO     33066145271
4717561822B229   TAMIKA             FEILDS                 DC     90010136182
4717571A74B523   MARK               HOLDCRAFT              OK     90006127107
47176324A51334   CHARLES            KRISTOFER              OH     90005333240
471775A395B222   CLARISSA           WILLIANGHAM            KY     90009735039
4717827515597B   FERNANDO RAMIREZ   SANCHEZ                CA     90005572751
4717886865B222   HAROLD             RAYMER                 KY     90013758686
47179A13991569   DEBBIE             GOMEZ                  TX     75001310139
4717B83995B58B   VERONICA           JURADO                 NM     35013548399
4718119255B53B   BYRON              AGUILAR                NM     35092131925
47181211472B4B   DIANA              LEDESMA                CO     90008012114
4718171368B355   ARELY              RIVERA                 SC     11087707136
47182172A51334   NATASHA            PATRICK                OH     66047651720
4718276142B27B   JOHN               DIGGS                  DC     90014487614
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47183435972B36   MICHELLE        STEVES                    CO     90005584359
47183449A72B43   LUIS            CHAVEZ                    CO     33018164490
47183531A4B259   MIKE            KHAN                      NE     27007915310
4718394315B222   MARILYN         WILSON                    KY     90012559431
47183A6588B355   LUIS            MARTINES                  SC     90012760658
4718441694B271   KENNY ROLANDO   TARACENA HERRERA          NE     90013934169
47185395772B4B   SHIRLEY         MOSES                     CO     33018823957
471853A388B355   HECTOR          MONTES                    SC     11039393038
471854AA65B174   LEONARD         TOZER                     AR     90007544006
4718579127B646   JUAN ELIUD      LANDEROS SANCHEZ          GA     90012677912
47185937172B36   ERICA           WADE                      CO     33039029371
4718781948B16B   RICKI           MANSHIGO                  UT     31087878194
47187A66455966   JUSTYN          BRIDGES                   CA     90012510664
47187A86691569   CAROLINA        CAZARES                   TX     90014950866
4718897648B355   JOY             PASQUARIELLO              SC     90001189764
47189927672B36   LIZBETH         RODRIGUEZ                 CO     33025139276
4718B124855939   JOHN            ORELLANA                  CA     90012791248
47191913A8B355   AALIYAH         GRIFFIN                   SC     90010819130
4719295318B355   MICHAEL         BAYRON                    SC     90006269531
471935A214B259   LORRAINE        JOHNSON                   NE     27040565021
47193719172B43   MICHAEL         MOORE                     CO     90015087191
471948A222B27B   ALFREDO         BARRIENTOS                DC     81012658022
4719512758B16B   DORCAS          MUNOZ                     UT     90011711275
4719596328B355   WHITNEY         HAMILTON                  SC     90014659632
4719636858B16B   JUAN            GARCIA                    UT     31024583685
471968A554B271   DOUANGCHAY      PIANO                     NE     90014538055
4719725895B37B   SHANNON         HUNTER                    OR     90011292589
47198A92172B43   RAFAEL          OLGUIN                    CO     90009720921
4719B185461963   SHARLETT        BULLOCK                   CA     90003911854
4719B414471999   ERICA           SISNROY                   CO     90013994144
4719B49A271999   ALEX            GREGORIOU                 CO     90015024902
4719B77814B259   JOSE            RIVERA                    NE     27003177781
4719B829751334   TAMARA          BURTON                    OH     90001868297
4719B8A1491394   PAULA           HENRY                     MO     90004278014
4719BA65872B36   FRANCISCO       GONZALEZ                  CO     90015080658
4719BA95672B45   CHRISTOPHER     MILLER                    CO     90012620956
471B124254B271   KENNITH         CARL                      NE     90012412425
471B142125597B   VERONICA        VERA                      CA     90009824212
471B1434961967   JAVIER          BAUTISTA                  CA     90011064349
471B214545597B   TRISHA          CHAPPEL                   CA     90003461454
471B2656671999   CHRISTINE       GARCIA                    CO     90009016566
471B311345B53B   SARACINO        DIEGO                     NM     90012721134
471B3661691394   SYNEE           BROWN                     KS     90010486616
471B4684A4B259   MELISSA         BROWN                     NE     90006526840
471B47A434237B   TERESA          MCALLISTER                GA     90009757043
471B6392572B43   LUCINDA         RIVERA                    CO     90012403925
471B6539171999   NATHANIEL       SLAUGHTER                 CO     90013155391
471B743512B27B   ANITRA          DEVAUGHN                  DC     90000814351
471B764465B222   GARY            BROOKS                    KY     68096176446
471B7A7A872B36   EMMA            HAWHORN                   CO     90012490708
471B865545B174   TIA             WALKER                    AR     23005846554
471B868845B541   MARGARITA       BANDA                     NM     35009896884
471B8A8447B431   DEIDRA          HOOVER                    NC     11054540844
471B9444655966   SANTOS          CASTANEDA                 CA     90010884446
471B9512872B4B   ELAINE          CANTOR                    CO     90011885128
471BB795872B4B   SAMANTHA        JOANNA                    CO     33039307958
4721164714B271   JOSEPH          WAGMAN                    NE     90013096471
47212468372B4B   CARL            CAUSAS                    CO     90011924683
4721264AA4B271   SHANE           KNEIFEL                   IA     90014246400
47212948A61967   OSVALDO         SANCHEZ                   CA     90012799480
47213156427B87   SIMONE          ROBINSON                  KY     90010311564
4721325A68B355   SHIRLEY         MCCLINTON                 SC     11006762506
4721429A461967   DAISY           ARTEAGA                   CA     90008842904
4721546988B16B   DARLA           ALLEN                     UT     90010194698
47216183A5B551   JOE             GARCIA                    NM     90012601830
4721622595B398   JUSTINO         ALOPEZ                    OR     90009152259
4721688292B879   OWEN            MORRIS                    ID     90002868829
4721688573B385   DANIELA         PEREZ                     CO     33005918857
47217432872B4B   ANTHONY         BLEA                      CO     90010224328
47217A3438B355   RICHARD         BROOKS                    SC     90014660343
472182A6472B43   MARIA           OROZCO                    CO     90007582064
4721867755B58B   ESPANA          JORGE                     NM     90006046775
4721931535B222   TIM             HUGHES                    KY     90013073153
47219484A61967   ENOC            BERDEJA                   CA     90010344840
4721B54595597B   TAMMIE          NICKLES                   CA     90014535459
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4721B65765B222   GABRIELA         GUTIERREZ-CARRASCO       KY     90013266576
4721B69765B53B   BRITTANY         PASQUAL                  NM     90013006976
4722165775B58B   SAUL             TORRES                   NM     90013696577
4722261745B58B   CHRISTOPHER      ESQUEDA                  NM     90004776174
4722341645B222   LOUIS            JACOB                    KY     90013864164
47223628A55939   GEORGIA          AGUILAR                  CA     49043266280
4722388124B259   REBECCA          TAYLOR                   NE     90010478812
47224141A2B27B   NAJIAH           FOSTER                   DC     90014171410
47226A77A91974   HUGO ALEJANDRO   FLOREZ                   NC     90011850770
47227426A3B125   JUAKEAN          DAVIS                    VA     81018074260
47227A9435597B   JOSE             DIAZ                     CA     90013950943
4722816A22B27B   RANDY            BARNES                   DC     90011311602
4722944675597B   NAKEER           CURRY                    CA     49017604467
47229864172B36   CARLOS           GONGORA                  CO     33039338641
4722B216961967   ESMERALDA        ZUNIGA                   CA     90012042169
47231347272B31   TODD             OHAIR                    CO     33006063472
4723146215B222   LEXUS            JONES                    KY     90011304621
4723169938B16B   MICHELLE         FOSTER                   UT     31013266993
4723173918B355   MARTHA           TURNER                   SC     11086387391
4723216274B271   ADRIAN           HARDING                  NE     90015031627
47232578472B43   VICTORIA         BAILON                   CO     33030345784
4723267282B27B   CAROL            THOMAS                   DC     90012796728
47232A91672B43   DANIELLE         DELUCCA                  CO     33000990916
4723365385B222   CHAZ             DUNBAR                   KY     90006596538
47233656972B4B   KAYLA            MALCOLM                  CO     90009046569
4723367A761963   DYONNA           CRAWFORD                 CA     90012606707
47233A98477522   SUZETTE          MILLER                   NV     43005280984
4723417345B222   LATISHA          FRAZIER                  KY     90011071734
47234A5A471999   MAYANNA          TERRONES                 CO     90013320504
4723511A572B43   DARINDA          DURAN                    CO     90008401105
4723641825B373   JAIME            DURAN GARCIA             OR     90001734182
472366A4772B43   ELISHA           ARELLANO                 CO     90009246047
4723718595B53B   WYLONDA          HORSESON                 NM     90004151859
4723731472B543   VICTOR           HERNANDEZ                AL     90014003147
47237341A2B27B   RENICE           SUTTON                   DC     90012983410
47237AA832B27B   CHARLES          SMEED                    DC     90014370083
4723877855B58B   JOANNA           ALTAMIRANO               NM     90014857785
47238796A5B53B   LETITIA          MOONE                    NM     90013867960
4723B491291569   MARIA            MADRID                   TX     75011284912
4723B5A624B271   MATTHEW          BJORN                    NE     90014595062
4723B6A837B431   LOSHAWN          PARKS                    NC     90005816083
47241AA5961963   ELVIRA           CASTANON                 CA     90013040059
472427A555597B   ACENCION         ROCHA                    CA     90002897055
47244163A5B56B   BARBARA          GABALDON                 NM     90009181630
47244477A91234   LISA             ROSALES                  GA     90010934770
4724545718B165   MARTIN           LEE CANDY                UT     31044694571
472458AA391873   JESSICA          ABADIE                   OK     90005708003
47245A64261967   SERGIO           ALVES                    CA     90011100642
47246187A72B43   DIANE            ATENCIO                  CO     90011791870
4724652825B222   SUSAN            BROWN                    KY     68028865282
4724711532B87B   CAREY            VASQUEZ                  ID     90002841153
472472A4555939   JOLUETTE         JACKSON                  CA     90004312045
4724768588B355   MELDRICA         STEELE                   SC     90011956858
4724799292B27B   CHARLIE          TILGHMAN                 DC     90013439929
472485A2971999   LAWRENCE         VIGIL                    CO     90009805029
47248669A5B53B   THOMAS           JONAS                    NM     90004266690
4724916854B271   NATALYA          BROWN                    NE     90014911685
4724B376155939   ISAAC            GARCIA                   CA     49080593761
4724B444272B4B   SHANE            ARNPRIESTER              CO     33077404442
47252A4A25B58B   MARIA            FLORES                   NM     90015130402
4725354264B271   ESMERALDA        TRUJILLO                 NE     90009975426
4725418225597B   KENNETH          WHITE                    CA     49038691822
47254A26772B43   CHARLES          POLLOCK                  CO     90014740267
47255A88772B43   MELINDA          TENA                     CO     90012020887
47256523972B36   JASON            ROYBAL                   CO     90012685239
47257563672B43   ELIAS            BUENROSTRO               CO     33087805636
47257A59661927   LUIS             LEON                     CA     90014880596
4725876A55597B   CYNDY            RODRIGUES                CA     90006437605
4725893578B16B   FRANCISCO        RAMOS                    UT     31078519357
4725B111872B36   WILBER           RIVAS                    CO     90012311118
4725B17125B58B   CHAVEZ           JESSIKA                  NM     90003891712
47262895A55966   JAVIER           ESTRADA                  CA     90011308950
47262A25472B36   VA               YANG                     CO     90012580254
472632A3191394   OLIVIA           ORTIZ                    KS     29004042031
4726511588B355   BRENDA           SPRINGS                  SC     11061501158
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4726547A791569   VICTOR           AGUIRRE                  TX     90014134707
4726572942B27B   NATHAN           MORRIS                   DC     90013537294
4726587127B347   KEVIN            HOOKS                    VA     90012318712
47265A57771999   JASON            MOISER                   CO     38008930577
47267131872B4B   SYLVIA           WILLIAMS                 CO     90013411318
4726747625B222   MICHAEL          COFFMAN                  KY     90014464762
4726777195597B   AUBURAN          GREEN                    CA     90007407719
47267A2A35597B   BRITTANY         RAMOS                    CA     90014850203
47268269372B43   JOSE             ACUNA                    CO     90012832693
472685A4172B36   DEBORAH          MORRISON                 CO     33021215041
4726929718B355   MELANIE          FRAZIER                  SC     90012732971
4726931A42B27B   LAPREA           RILEY                    DC     90012913104
4726966475B222   RAYMOND          JORDAN                   KY     68084866647
47269838A4B271   SUSANA           RODRIGEZ                 NE     90009518380
4726B11924B271   DEBRA            KINNEY                   NE     27068081192
4726B172761999   BERTHA           ROMERO                   CA     90011971727
4726B469961963   REGINALD         BROOKS                   CA     90014354699
4726B486724B55   SHELDIN          SANDY                    DC     90014734867
4726B55385597B   ANDREA           RODRIGUEZ                CA     90013965538
47271413A72B4B   ANA              CARRASCO                 CO     90012344130
47272436A5B58B   JANIFER          BACA                     NM     90011244360
472726A8272B36   CARMEN           RAMIREZ                  CO     33064016082
47273396524B55   JASON            WONG                     VA     90006743965
47274121872B36   POLINA PETROVA   AGOVA                    CO     90013061218
4727416255B58B   DANIELLE         CHAVEZ                   NM     35042471625
4727424AA71999   RYANN            VASQURZ                  CO     90012972400
4727434785597B   MARIA            ZAMORA                   CA     90013053478
4727554522B229   CAROLIN          CHILDS                   DC     90001565452
472759A4524B55   CHAU             MOORE                    VA     90013119045
47275A54351334   MIA              HOWARD                   OH     90001370543
47277711A2B27B   ISABEL           CUETO                    DC     90014407110
47277768172B43   JAMIANNE         ANDERSON                 CO     90015117681
4727851658B16B   JENNIFER         FYNBO                    UT     31027125165
4727921A68B355   NEALE            JOHNSON                  SC     90013922106
47279322A71999   CASSANDRA        MCCANN                   CO     38011473220
4727B16755B174   DANNY            SHOFSNER                 AR     90015431675
4727B19472B87B   WHITNEY          CHANEY                   ID     90010331947
4727B22595B53B   ALCARIO          ANAYA                    NM     90013532259
4727B945691873   KIMBERLY         MOORE                    OK     90005709456
4728178885B53B   MELODY           MARTIN                   NM     90012477888
47281A63871999   TRACI            HOLTGREWE                CO     90014490638
4728256AA72B43   CESAR            DURON                    CO     33079445600
4728281992B27B   DOROTHY          ROGERS                   DC     90005288199
4728336745B53B   MARISOL          QUEZADA                  NM     35051173674
4728366815597B   DAVID            QUIROZ                   CA     49004816681
472842A955B174   SARIAH           VALADEZ                  AR     90012462095
472845A5172B36   NAR              SIWAKOTI                 CO     90015175051
4728499363163B   MAGDALENA        LARIOS                   KS     90011989936
47284A85161967   DIANA            ALATORRE                 CA     46018760851
4728553895597B   AL               AL                       CA     90005705389
47285A94372B36   JAQUELINE        CHRISTOPHER              CO     90007250943
472867A3291569   ANTHONY          WILLAMS                  TX     75097207032
47287845472B4B   LARISA           BAIRAMOVA                CO     33071958454
47288429472B4B   MARIA            LOPEZ                    CO     33015714294
472887AA272B36   GENOVEVA         ESQUEDA AVILA            CO     90005727002
47289465A91988   BELINDA          COZARAT                  NC     17013554650
47289A7745597B   JANETH           FERNANDEZ                CA     90012040774
4728B458391569   GERARDO          MENDOZA                  TX     75026654583
4728B821255966   MADALANINIO      PANZO                    CA     90014428212
4728B849A5B53B   EDWARD           GARCIA                   NM     90013798490
4729125785597B   JOSE             ANCHES                   CA     90015222578
4729138A472B43   JAMES            LEE                      CO     33001353804
4729183145B174   ANTONIO          COLEMAN                  AR     23015778314
4729285125B222   MELISSA          SWARTZ                   KY     90010888512
4729371365B53B   MONIQUE          CHAVEZ                   NM     90014917136
472938A3785939   BERNARDO         JARDINEZ                 KY     90009858037
472959A7391394   KAREN            ROSALES                  KS     90008159073
4729615A172B43   MANUEL           CAMUNEZ                  CO     90007981501
4729626425B174   ELIZABETH        WILLIAMS                 AR     23042392642
4729641992B27B   META             TSHIMANGA                VA     90001804199
47298295A71999   THOMAS           BURTON                   CO     90012612950
472984A325B58B   KAREN            DELGADO                  NM     90007894032
472985A218B355   TYDRETUS         BRICE                    SC     90015495021
47298A3215B58B   TERRENCE         ANDREWS                  NM     90013720321
4729929A171999   NATALIE          MARTINEZ                 CO     90004112901
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4729948A15597B   MARIA        BUENO                        CA     49077674801
4729B16215B58B   DANIEL       BOWDEN                       NM     35092641621
4729B82A85B222   DUGGIE       HIBBS                        KY     90015278208
4729BA2468B355   GARRETT      HILTON                       SC     90011950246
4729BA3A361963   YADIRA       CEDILLO                      CA     90013750303
472B1488A8B355   JALISSA      FORT                         SC     90005854880
472B1492933662   ANTONIETA    NOYOLA MARIN                 NC     90001764929
472B1982977554   ESTUARDO     VALLADARES                   NV     90014159829
472B1A1A472B4B   EVA          MEDINA                       CO     90015470104
472B2539691988   YVONNE       GREEN                        NC     17013755396
472B272374B582   MARK         RANDEL                       OK     90013057237
472B297355B53B   JAZMIN       ORDUNO                       NM     90007769735
472B3135172B4B   PATRICK      ODURO                        CO     33021131351
472B377345597B   CASSANDRA    SANTISTEVAN                  CA     90008067734
472B38A462B87B   KEVIN        HARRIS                       ID     90012398046
472B457A655939   LERON        BELL                         CA     90014485706
472B4A64684322   MRWAN        SHEHAB                       SC     90006450646
472B51A145B174   SESLIE       JONES                        AR     90012071014
472B5296672B4B   HARVEY       LAFLECHE                     CO     90012582966
472B5392331432   DOROTHY      HALL-SLEET                   MO     90003183923
472B541765597B   ANTIWONE     PERKINS                      CA     90014804176
472B6352972B4B   AIDE         PARA                         CO     33033013529
472B675988B355   STACEY       DUNCAN                       SC     90004427598
472B6796A5B53B   GUADALUPE    CERVANTES                    NM     90014227960
472B685A691394   EDGAR        IBARRA                       KS     90004748506
472B6935791569   SONIA        HERNANDEZ                    TX     90012359357
472B713915B58B   JUDITH       DURAN                        NM     35000561391
472B7641272B36   NANCY        CARRASCO                     CO     90014356412
472B773442B27B   BRISCO       ODOM                         DC     90015067344
472B8411171999   PAUL         ODELL                        CO     90010674111
472B8432561967   TERI         GHARRING                     CA     46084004325
472B877165B58B   MARIA        DOMINGUEZ                    NM     90014177716
472B88A9751336   JOHANNA      ROX                          OH     90012928097
472B8931591394   JOSE         HERNANDEZ                    KS     29041349315
472B944675B53B   DANNY        LUGO                         NM     90013724467
472B9542A61963   TRAVIS       GOMES                        CA     90009135420
472B9768972B4B   VINCENT      MARTINEZ                     CO     33042877689
472B9815A5B58B   ROBERT       MONTOYA                      NM     90012148150
4731253275597B   SAUL         ARREGUIN                     CA     90013295327
4731263A871999   ANTONIO      FRANCO                       CO     90015006308
4731348AA5B53B   ANDREW       TRANQUILLO                   NM     35079774800
4731429335B174   MICHELLE     SCHEIBNER                    AR     90014532933
47314A38A5B174   MICHELLE     SCHEIBNER                    AR     90015460380
47314A84541222   AYNEE        POOLE                        PA     90002980845
4731516A12B27B   MICHAEL      BYRD                         DC     81018971601
4731684A855939   ANGELICA     RODRIGUEZ                    CA     90000378408
47317A7918B165   PAUL         BARNHART                     UT     31058630791
47318414A4B271   KRISTY       NELSON                       IA     27047814140
4731963A377366   KELLY        NARVAEZ                      IL     90013036303
47319756A61967   GABRIEL      CLEMENTE SARG                CA     90000587560
47319928872B36   DINA         ALMOHD                       CO     33025329288
47319A7222B27B   TIPHANI      BURIS                        VA     90008260722
4731B19854B271   ANDREW       JOLT                         NE     90014691985
47321662572B43   PAPA         LOUM                         CO     90010806625
4732197528B355   SHIRLEY      POTTS                        SC     11044499752
47321A6897B467   CHARISSA     RECKERS                      NC     90014450689
4732248825B58B   ADAM         VILLALOBOS                   NM     90000244882
47322713A8B154   MARK         GOODSON                      UT     90001737130
47322967124B55   RALPH        BENNETT                      VA     90013569671
473243A5472B4B   DOUGLAS      LEBLANC                      CO     90012393054
47324772672B36   OLGA         FLORES                       CO     90005387726
47324A1525B222   HENRY        BROWN                        KY     68010210152
4732524818B156   ALICIA       POMERO                       UT     90011842481
473252A535B222   RONALD       WRIGHT                       KY     90013962053
4732531248B16B   ELIZA        ADAMS                        UT     31087523124
4732553688B163   MARIA        RODRIGUEZ                    UT     90008475368
47326433472B36   TASHAWNA     JOHNSON                      CO     90014954334
47326689772B4B   ROBERT       WALKER                       CO     33050356897
47326785772B43   PEARL        SHELL                        CO     90015257857
4732766928B16B   STEVEN       MCCARTY                      UT     31087426692
47327825374B8B   SAVANNAH     MILLER                       OH     90014498253
473282A5591394   KIMEESHA     BRAND                        KS     90014742055
47328A64272B68   BERTA        HOMBEK                       CO     90003440642
4732947A451334   KATHLEEN     GUYNES                       OH     66003044704
4732B457361963   BENJAWAN     PERPOON                      CA     46068744573
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4732B972361967   VIRGINIA            VILLARREAL            CA     46060939723
4733129232B27B   DANIELLE            HAMILTON              DC     90001932923
47331449A5B174   DIANA               CANDLEY               AR     90007954490
4733158118B16B   JULIE               ARAGON                UT     31082965811
47331A1AA72B36   VIRGINIA            EDITONE               CO     90013590100
4733275455B222   ALICIA              BOGGS                 KY     90013347545
4733298124B259   TERRY               BLACKBURN             NE     27016299812
4733327324B259   VICTORIA            DUNCAN                NE     90006762732
47333678A84342   TIFFANY             WILSON                SC     90013636780
4733475445B58B   MARIBEL             GRANADOS              NM     90014687544
47334A68951334   KOURY               JOHNSON               OH     90012900689
47334AA874B271   KOKOU KAFU          TOSSOU GASSRE         NE     27000670087
4733514618B16B   WAQAS               JAVED                 UT     90002251461
47336166A2B27B   CHRISTINE           COLLINS               DC     90010931660
473361AA791569   MARIA DEL REFUGIO   MONTES                TX     90012691007
4733833495B174   AMBER               SPANGLER              AR     90014343349
47338853A51334   ANDREW              BISHOP                OH     90012318530
47338962A91569   MARIA               SALAZAR               TX     90010029620
4733939165B242   ANDRE               LEE                   KY     90003493916
4733949378B355   JORDAN              SHIRAK                SC     90013924937
47339636872B4B   TONI                VALDEZ                CO     90001586368
47339A16972B43   DANNY               KENNY                 CO     33013910169
4733B335672B23   REBECCA             SALMONSSON            CO     90013693356
4733B43578B165   JOSHUA              KNUDSEN               UT     31066444357
4733B83A54B569   CHRIS               JOHNSON               OK     21517218305
4733B865A61967   ERIKA               DA LUZ                CA     90002828650
4733B92294B259   AMBER               SCISLOWICZ            IA     90012079229
47342534972B43   JOSH                TOMES                 CO     90006415349
4734332122B27B   KARLOS              MCDOWELL              DC     81039313212
473434A875B174   YOLANDA             PETEN                 AR     23012414087
4734389575B222   CHARLES             WILLIAMS              KY     90013338957
4734396158B165   KRISTINE            MONTOYA               UT     90003189615
473444A718B16B   MARYANNE            RIOS                  UT     31076254071
4734466A776B27   JEFFREY             HOMER                 CA     90012476607
4734479975B58B   THERESA             RAEL                  NM     90010137997
473458A5755982   SILVIA              GONZALEZ              CA     90012338057
4734592A991394   CRINA               CHARTER               KS     90007279209
4734632185B53B   CRYSTOL             GALLEGOS              NM     90012853218
47347734A8B355   HOLLY               KELLY                 SC     90007667340
4734828418B165   ANA                 MARTINEZ              UT     90007002841
473487AA324B55   KRISTEN             PELZER-THOMAS         DC     90013777003
4734983294B271   BRANDY              CLEMENTS              NE     90013088329
4734B257455939   DAVID               ROSALES               CA     90013372574
4734B39165B242   ANDRE               LEE                   KY     90003493916
4734B9A7172B4B   JOSE                CHAVEZ                CO     33081519071
4735125833B356   FIDENCIO            GONZALEZ              CO     33047002583
47352434472B4B   CARL                DIXON                 CO     90007464344
47354345172B36   MARY                ROMAN                 CO     90014643451
4735465225B58B   MELLISA             AKIN                  NM     90003046522
4735479975B222   GOMEZ               VIILATORO             KY     90011457997
4735518272B27B   JACKQUELL           GORDON                DC     90010401827
4735581389189B   MARIA ELENA         OLMOS                 OK     90012058138
473563A6355966   MARCELA             HEREDIA               CA     90007973063
473575A868B165   LUIS                MEJIA                 UT     31032725086
47357615772B4B   JASMIN              GOEBEL                CO     90007556157
473594A8472B43   KATHY               HUSKEY                CO     90012914084
473596A1355966   PAULA               BAUTISTA              CA     90014736013
4735998115B53B   DARRIN              TERRAZAS              NM     90013739811
47359A29591569   JOHN                KINSER                TX     90009820295
4735B71175598B   ERICELIA            RODRIGUEZ             CA     90001767117
473616A7A91363   LAWRENCE            SMITH                 KS     90011816070
47361959572B36   RITA                REYES                 CO     90009969595
47361A8625B58B   OLGA Y              GALVAN                NM     35016580862
47362421272B36   RUBEN               TRUJILLO              CO     33055114212
47362551672B43   ISRAEL              COSIO                 CO     90009925516
473627A6555939   SANDRA              ARNOLD                CA     49065647065
47362849572B4B   CESAR               ESTRADA               CO     33071808495
473631AA48B355   KRISTEN             DAWKINS               SC     90003641004
4736425795B53B   RAELYNN             VALVERDE              NM     35013872579
4736556515B174   JENNIFER            FIELDS                AR     23081165651
47365A6175597B   TARA                MARAHAR               CA     49096900617
4736827455B222   JOSE                CASTANEDA             KY     90009292745
47368358772B36   MARIA               AGUILAR PINON         CO     90014493587
4736861852B27B   QUISHA              FRASIER               DC     90009316185
47368759A5597B   LORI                SANDOVAL              CA     90010917590
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473693A513B332   JACOB        REEFE                        CO     90009253051
4736947A95B222   BERNIE       KASTOR                       KY     68021254709
47369A5178B355   JOHNTAVIAS   FOOTE                        SC     90012790517
4736B13A68B16B   DAVID        MELLEN                       UT     31035131306
4736B24515597B   MELISSA      MATA                         CA     49066392451
4736B353A51338   MARIO        OLIVER                       OH     90005603530
4737141AA91569   ANTONIA      ESPARZA                      TX     75003374100
4737233684B259   MICHAELA     WILLIAMS                     NE     90009773368
473727A398B355   ROGER        LINKOUS                      SC     90012797039
47372885272B4B   SHANEQIA     BOHANNAN                     CO     33018298852
4737354235B222   STACEY       BARBER                       KY     90011435423
47373625A61967   FERNANDO     VON RENTERIA                 CA     90012766250
47374182472B43   SYLVIA       MICKLE                       CO     90009731824
4737419A85597B   JOEL         MARTINEZ                     CA     90013951908
4737473715B378   SCOTT        HONDA                        OR     90011047371
47375A92191988   THOMAS       SPENCER                      NC     17074090921
47376345372B36   SHAQUANA     WOODS                        CO     33028933453
47377414872B4B   ROBERTA      CASTRO                       CO     33000554148
473777AA991394   ROBERTO      CORCOLEZ                     MO     90013047009
47378448472B43   JENSEN       BEAU                         CO     90012894484
4737892647B431   CORINNA      MCGEE                        NC     90007369264
47378A66A8B355   KENDRICK     HICKS                        SC     90004910660
4737954312B27B   JUSTIN       BOYKIN                       DC     90013135431
47379A9A27B431   KERRISHA     RICHARDSON                   NC     11047440902
4737B157491394   EFRAIN       ARAGON                       KS     90013131574
4737B44364B271   ANTONIO      RAMIREZ                      NE     90013344436
4737B888272B4B   WILLIAM      THOMAS                       CO     90013848882
47381445572B36   JEFF         REYNOLDS                     CO     90014854455
4738156535B58B   ADAM         SANCHEZ                      NM     35084585653
47381735A91569   INEZ         GUZMAN                       TX     75041637350
4738345858B16B   GUILLERMIN   HERNANDEZ                    UT     31090724585
47383461A61967   ERICK        VEGA                         CA     90009314610
47383678472B4B   ISMAEL       GONZALAZ                     CO     90008076784
47384369A91569   MARIA        HERNANDEZ                    TX     90011033690
47384388672B4B   JUAN         SIMENTAL                     CO     90011913886
47384644124B55   CRICKET      WIRELESS                     VA     90009516441
4738497728B355   DAVID        WILLIAMS                     NC     90014139772
47384A8175757B   VICTOR       MARQUEZ                      NM     90013960817
47385AA8772B36   FAVIANA      MARTINEZ                     CO     90013310087
4738613468B16B   CAMERON      SHEWMAKE                     UT     90008501346
473861A182B27B   HERBETH      GUZMAN                       DC     90013501018
47387A93991569   DIANA        GOMEZ                        NM     90013400939
47387AAA993769   JOYCE        NUNLEY                       OH     90012040009
4738893A572B4B   GIDIEL       HUICOCHEU                    CO     90011969305
47388953924B55   TOYE         DORSEY                       DC     90006229539
47389242572B36   SARA         BOLLEFER                     CO     90014942425
4738928568B355   CHANDRIA     DICKERSON                    SC     90000992856
473894A3A5B53B   NORMA        RODRIGUEZ                    NM     35072754030
4738981828B16B   RENEE        PRATT                        UT     90011718182
47389A2153B343   WILEY        POTESTIO                     CO     90009620215
4738B21198B165   RUBEN        ROBLES                       UT     31081432119
4738B2A8971999   CRIAG        GRATIOT                      CO     38027942089
473922A5A55966   DANIEL       TORRES                       CA     90008992050
47392376A5B174   LORENE       TURNER                       AR     90014023760
4739319A15B174   MARTIN       HUGHES                       AR     90004351901
4739414935B53B   LUIS         SANCHEZ                      NM     35072521493
4739538984B271   MARGARITA    DELEON                       NE     90011543898
4739558415B58B   MARISOL      MORALES                      NM     90014155841
47397722272B36   NADIA        TAYLOR                       CO     90012387222
4739865765597B   BLANCA       PADILLA                      CA     49030296576
4739B164191569   PATRICIA     CHAPARRO                     TX     75067941641
4739B828972B36   JOSE         BOCANEGRA                    CO     90011168289
4739B881355966   STEPHANIE    HANSEN                       CA     90014528813
473B1349961967   MARISOL      GUTIERREZ                    CA     46088023499
473B1441991394   KAVELLI      MARQUEZ                      KS     90013414419
473B1568255939   JUAN JOSE    NAVARRO MARCILLAS            CA     90009035682
473B1645471999   JESUS        VALLES                       CO     90003796454
473B217A95B58B   ARTURO       VAZQUEZ ORTIZ                NM     90008251709
473B224962B27B   KENNY        GLOVER                       DC     90012022496
473B2777355966   ROBERTO      ARELLANO                     CA     49021527773
473B346985B395   ADELAIDA     DE JESUS OLIVA               OR     90012754698
473B37A8991569   IZABEL       FLORES                       TX     75090117089
473B4183391394   NICOLE       HANEY                        KS     29009741833
473B4845472B4B   TASHA        VIGIL                        CO     90015468454
473B489974B271   VICENTE      FOX                          NE     90013398997
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473B5592177535   SARENA       WEBSTER                      NV     43097345921
473B5A81772B36   LAURA        CISNEROS                     CO     33057200817
473B635535B58B   ALOKA        ALEXANDER                    NM     35062093553
473B6875155966   JOSE         MURILLO                      CA     90010768751
473B7896955966   DINA         RODRIGUEZ                    CA     90013028969
473B844945B222   WAYNE        SIMPSON                      KY     90007764494
473B8862872B43   SIERRA       JACKSON                      CO     33053008628
473B8958A51334   MICHELLE     FLEHER                       OH     90014739580
473BB167855939   SIGHNE       RANGEL                       CA     49075561678
473BB81A38B355   KATHLEEN     MURRAY                       SC     90014668103
4741166255B174   BRANDI       JOHNSON                      AR     23041116625
47411A2695B58B   NIKKITA      CRAIG                        NM     90014510269
4741296548B355   ESTHER       MUHAMMAD                     SC     11052139654
4741448252B27B   VICTOR       BEANER                       DC     90012034825
4741581694B259   GUADALUPE    SANCHEZ                      NE     90009098169
47416125A8B16B   JEFF         KNUDSEN                      UT     31013411250
4741673685B174   RICHARD      CONRAD                       AR     90012367368
474167A7172B36   DAVID        BENGE                        CO     90010467071
4741688428B355   SHAHIDAH     MUHAMMAD                     SC     11021138842
47416A35891569   AURELIA      ALIKHAN                      TX     75050600358
474173AAA91394   JEFF         BAGSBY                       KS     90014783000
4741843995B597   ISIAH        WINCHELL                     NM     90011834399
4741874834B531   HAROLD       THOMPSON                     OK     90002057483
474188A9572B4B   CHARLESTON   BLUE                         CO     90013928095
4741B292272B43   ROGELIO      IBARRA                       CO     90012812922
4741B35377B262   JESUS        HERRERA                      NV     90015213537
4741B8A234B52B   WEST         JONES                        OK     90010898023
4741B9A265B58B   RAUL         LUEVANO                      NM     90012229026
4742138258B16B   DONJA        CHANTHASACK                  UT     31080753825
4742197638B14B   EDUARDO      ALMENDAREZ                   UT     90013879763
4742457124B271   KIM          TIEDJE                       NE     27052545712
4742494342B935   AGUSTINE     LARA                         CA     45015629434
474258A3361967   AMY          DAVIS                        CA     90005868033
474261A9161967   OSCAR        GOMEZ                        CA     46008911091
474269A425597B   CARLOS       GONZALEZ                     CA     49060079042
47426A58971999   MELISSA      RUIZ                         CO     90010060589
47426A6358B355   ALBA         PENARRIETA                   SC     90013830635
4742724585B174   ANDRE        AMOS                         AR     90000652458
47427445A4B259   VICKIE       GOBLE                        NE     90011124450
47427745A55966   ANDRES       SANCHEZ                      CA     90012917450
4742784658B157   SANDRA       HERNANDEZ                    UT     90014278465
4742883448B355   PAUL         LITTLE                       SC     90012838344
47429257A5597B   GILLERMO     PARRA                        CA     90013952570
4742983715B926   PATRICK      WHITE                        WA     90009908371
4742B559155939   FERNANDO     RODRIGUEZ                    CA     49078195591
4742B86295B222   SONYA        THORNTON                     KY     90007898629
4743139915B58B   PONCE        RICKY                        NM     90014303991
4743293798B654   ARACELY      LUNA                         TX     90014619379
47433A13555939   STEPHANIE    RODRIGUEZ                    CA     90012980135
47433A7445B222   CHARLES      COOPER                       KY     90012330744
4743478345B53B   KAREL        RODRIGUEZ                    NM     90014817834
4743628645B53B   MARIA        LOPEZ                        NM     90002242864
474362A4A8B16B   FRANK        THATCHER 3                   UT     31095572040
47436542A5B58B   CINDY        WELCH                        NM     35029665420
4743727395597B   MARTIN       ROSAS                        CA     90013952739
4743852865B174   CAMILA       SHELTON                      AR     90002695286
47438579972B4B   ISRAEL       IBARRA                       CO     90012945799
474391AA771999   PATRICIA     FAWKES                       CO     38041531007
4743B92418B165   CAMERON      HAM                          UT     90009459241
4743B93945597B   ARTHUR       CASTILLO                     CA     90009029394
4743BAA835B53B   SUSAN        GARCIA                       NM     35076170083
474415A885B222   MARIO        PALMA                        KY     90013845088
4744168378B16B   MATT         FINLINSON                    UT     31002736837
4744218965B222   KENNY        WARREN                       KY     90015191896
474424A1372B43   NADIA        PEREZ                        CO     90013014013
4744384958B355   ALEXTIN      DAVIS                        SC     90013338495
4744451945B174   STEPHANIE    PORTIS                       AR     90006845194
47444543972B36   FRANKIE      COOPER                       CO     90014735439
4744548385597B   KEVIN        SANTIAGO                     CA     90014604838
474454A747122B   MARIO        MAGANA                       NE     90015514074
4744556315B53B   RAY          MAESTAS                      NM     90014715631
4744629785B174   TAKIYAH      KEMP                         AR     90014202978
4744655938B355   WYATT        BRYSON                       SC     90009115593
4744688754237B   JIMMY        COBB                         GA     90000888875
474468A4791952   ELIZABETH    MEXICANA                     NC     90002108047
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474473A9A47828   DEBORAH      BLASH                        GA     90007753090
47448948772B4B   MARIA        DELAROSA                     CO     90014299487
47449779924B55   ANA          COREA                        VA     90014197799
474499A8772B36   TODD         SMITH                        CO     90012259087
4744B137972B43   KATY         ROBINSON                     CO     90015091379
4744B2A425B174   JOSEPH       SITHONG                      AR     23082232042
4744B317261963   RACHEL       WILLIAMS                     CA     46044183172
474513A2355939   JACKIE       RAMIREZ                      CA     90002833023
4745159235B58B   FELICIA      SOTO                         NM     90013095923
4745188344B271   TERRIL       BROWN                        NE     27091698834
4745192888B355   SANDRA       LOPEZ                        SC     90009689288
474528A4A5B56B   SARALD       VALAQUEZ                     NM     90006838040
47452A27571999   GUADALUPE    GUERRERO                     CO     38090040275
4745335A161967   COOPER       MARIAN                       CA     46084523501
474547A1593767   NICK         LOMAX                        OH     90010687015
4745497A191394   KAREN        RENTERIA                     KS     90010959701
4745545368B355   TENISHA      MIDDLETON                    SC     90010184536
47456719172B43   MICHAEL      MOORE                        CO     90015087191
4745784285B222   IRMA         BEKTIC                       KY     90004678428
4745814978B59B   MAGDALENA    HESIQUIO                     CA     90014071497
474587AA38B654   MELISSA      VASQUEZ                      TX     90015077003
4745895AA5B174   TERESA       GRIFFIN                      AR     90003059500
47459324372B4B   ALMA         CARTER                       CO     90001463243
474597A222B935   KARESS       WRIGHT                       CA     90004687022
47459A39355939   GREGORIA     HERRERA                      CA     90006290393
4745B13645B56B   TONY         VIGIL                        NM     90013821364
4745B377672B36   VIRGINIA     PAZ                          CO     33049613776
4745B43478B156   LOZANO       DANIEL                       UT     90004274347
4745B452255966   NESTOR       URBINA                       CA     90001684522
47461156572B36   EDUARDO      LOPEZ                        CO     90015131565
47461487A5597B   ROGELIO      HERRERA                      CA     49086384870
47462274672B36   ANGELA       CASTRO                       CO     33052362746
4746252435B53B   ANTONIO      LOVATO                       NM     90003525243
47463247672B43   LISA         NIEBOLTE                     CO     33094782476
47463A99971999   JOHN         DURAN                        CO     90014550999
4746427443B351   JUANITA      MARUQEZ                      CO     90012572744
4746457575B53B   JENNIFER     TORRES                       NM     90014665757
47464736A55939   JOSE         VARA                         CA     90013807360
4746484AA55966   LILIANA      COVARRUBIAS                  CA     90013208400
4746577654B251   ANDREW       KROGMEIER                    NE     90008337765
4746635A561963   ESTEBAN      CARRENO                      CA     46054913505
47466A28A24B55   ANA          BENITEZ                      VA     90013380280
474672A1961979   LUIS         SAINZ                        CA     90005562019
474672A848127B   MICHAEL      BYRD                         KY     90005692084
4746757595B174   ALL          ABOUT THAT LIFE              AR     90010085759
4746828A95B53B   ERNEST       REESE                        NM     90013982809
47468514372B4B   JOHN         DORCHAK                      CO     33039295143
4746957675B58B   JUANITA      MULLER                       NM     35018645767
474695A5872B4B   JORGE        SAENZ-RICO                   CO     33054655058
47469A6235B222   LEA          BOARD                        KY     90011220623
4746B598772B4B   AMBER        SUCHANEK                     CO     33074955987
4746B63842B27B   MARIA        AMATO                        DC     81075576384
4746B923955939   MERCEDES     GONZALEZ                     CA     90014459239
4746B97A191394   KAREN        RENTERIA                     KS     90010959701
4747121A15B222   JUANA        PEREZ                        KY     90013962101
474715A918B355   JESUS        LOPEZ                        SC     90006835091
4747178A461967   JOSEPH       RAMIREZ                      CA     90012977804
474724A262B27B   EMERITA      MERCADO                      DC     90011434026
47472567472B36   MELISSA      HERNANDEZ                    CO     90012015674
474733AA351334   CHERYL       LACHMANN                     OH     66011393003
47473986772B36   LAURA        ARGUELLO                     CO     33090459867
47473A7558B16B   LUZ          NUNEZ                        UT     31071660755
47473A9952B87B   KIM          STOCKTON                     ID     41033360995
47474256672B4B   ROSSI        ROBLES                       CO     33085452566
47474864A71999   BERNABE      PENA                         CO     38003218640
4747521375B395   AUSENCIO     MATA                         OR     90008202137
474754A135B174   CARISA       SMITH                        AR     23063994013
474758A2672B36   WALKER       TODD                         CO     33036148026
4747721435B222   TINA         SEGO                         KY     90006972143
47477352372B43   JOSE         CARRANZA                     CO     90014853523
4747741512B27B   EMELINA      YANEZ                        DC     81019574151
47477447872B43   JOSHUA       MADRID                       CO     90013574478
47477A6812B87B   TODD         SALSBURY                     ID     41051540681
4747836398B16B   LUZ          SALAZAR                      UT     31087413639
47478AA5A72B4B   AARON        RANDLE                       CO     90010350050
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47479A1A85B58B   FRANK        MONTOYA                      NM     35079540108
4747B28568B355   CHANDRIA     DICKERSON                    SC     90000992856
4747B52635B555   NINA         ROWELL                       NM     90013475263
47481221772B4B   ROBERT       ESQUIBEL                     CO     90008992217
474816A615597B   ESTEBAN      REYES                        CA     49002626061
47482263A61963   JONATHAN     SCHANEMAN                    CA     90012022630
47483327A5B174   ANTHONY      REED                         AR     90015313270
4748344472B27B   PHILIPPE     JOHNSON                      DC     90014954447
474838A9172B4B   BENNETTE     WATTS                        CO     33084498091
47483A7937B49B   AMY          ANDERSON                     NC     90001200793
47484115872B4B   TYRONE       BRICE                        CO     33041471158
474863A9455939   JACKIE       HOMERIN                      CA     49017343094
4748647878B355   CRYSTAL      DUGHLAS                      SC     90013964787
4748656645B222   KELVIN       SHOULDERS                    KY     68015155664
4748659795B259   SHARON       ROBBINS                      KY     68094845979
47486873972B43   JESSIE       HANNA                        CO     90012138739
4748711638B16B   ARYANNA      GOALEN                       UT     90011581163
4748713395B53B   DIANA        MOLINA                       NM     35053491339
47489124172B43   MYRA         SECREST                      CO     33008561241
4748915A655966   ROSA         VARGAS                       CA     90002491506
474893A755597B   CLAUDIA      RUIZ                         CA     90013953075
47489A7A291569   ELISHA       SERCKPOR                     TX     90013290702
4748B242455939   KARINA       CORONA                       CA     90013992424
4748B511A91569   TOMAS        ARMENDARIZ                   TX     90009775110
4748BA62372B4B   ANTONYA      RAEL                         CO     33088660623
474913A225B174   RAVEN        HUNTER                       AR     23025683022
4749164795B354   PATRICK      CULLOP                       OR     90007796479
474921A5651334   GARY         COLE                         OH     90008171056
4749268828B164   LISA         STUART                       UT     90003886882
474953A4672B36   MONICA       MENDEZ                       CO     90008653046
47496841A5B174   RUSSELL      RECOMETA                     AR     23091138410
47496915A5B53B   DEBRA        SEGURA                       NM     35027319150
4749695315597B   MIRANDA      LOGAN                        CA     90011379531
4749772365B58B   MATTHEW      SHUSTER                      NM     90015147236
474981A657122B   KEVIN        JOHNSON                      NE     90015461065
474985A3155939   JOSE         SANCHEZ                      CA     90012615031
474987A6384369   POLLY        JENKINS                      SC     90007367063
474989A6971999   JOANN        ANSELL                       CO     38064329069
47499196772B4B   CHRISTINE    CREASON                      CO     90013921967
47499394372B43   JAMES        SCHOENGARTH                  CO     33025003943
4749B57442B27B   BYIM         KHAN                         DC     90012245744
4749B75484B259   ASHLEY       RANDELL                      NE     90008717548
4749B789861967   JANETT       MEAVE                        CA     90012977898
474B1311661967   STEFANI      TONKIN                       CA     46044463116
474B1455872B4B   HECTOR       CASTANEDA                    CO     90010254558
474B1489724B55   ELIZA        CORADO                       VA     90013884897
474B2472861967   MICHAEL      OLIVER                       CA     90013004728
474B2698591394   TAMMY        OJEDA                        KS     90014866985
474B2731191527   JESUS        DOMINGUEZ                    TX     75007587311
474B2A33541222   WILLIAM      DUNLEAVY                     PA     90010160335
474B311A372B4B   JOSE         LEYVA                        CO     33040251103
474B344A572B39   LARRY        OSLER                        CO     33067584405
474B355295B174   MICHAEL      MORGAN                       AR     90007335529
474B3746355939   CHRISTINA    ATREAGA                      CA     90010627463
474B4155533B98   DORIS        CORLEY                       OH     90014581555
474B428992B27B   NY'JAH       WARREN                       DC     90012842899
474B4424A5B53B   VIRGIL       RICHARDSON                   NM     35077184240
474B4A1A861967   STEVEN       BALLARD                      CA     90015160108
474B5529472B4B   ELIZABETH    HEIDENREICH                  CO     33063105294
474B553845B53B   DEBORAH      TRUJILLO                     NM     90010815384
474B656855B222   CHRISTINA    HOLT                         KY     90013995685
474B693872B27B   TAMMY        JONES                        DC     81095649387
474B7381872B64   TONI         HART                         CO     90010353818
474B7A4422B27B   PAUL         JONES                        DC     90015300442
474B8213A8B165   SALESI       KATO                         UT     90012702130
474B883483163B   HEATHER      DAWN                         KS     90013968348
474B892268B165   SALESI       KATO                         UT     31030759226
474B944355B53B   LISA         GARCIA                       NM     90008814435
474B992845B348   VLADY        OZNAY                        OR     90009219284
474B9A83961963   RICHARD      MARTINEZ                     CA     90011210839
474BB15554B293   BRYON        GARDNER                      NE     90002111555
474BB224191394   LUIS         MENDOZA                      KS     90014252241
47511195A5B174   MASON        DAVIS                        AR     23058261950
47511A2A271999   RICHARD      LUCERO                       CO     38005060202
4751251435B222   SHERRY       TANNER                       KY     90007065143
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47513286A5597B   ISIDRO         URIETA                     CA     90015222860
47513819A8B355   MARIA ISABEL   BARRALES                   SC     90013828190
4751493562B27B   VIVIAN         KENDALL                    DC     90014359356
4751534285B58B   JOHN           BANDEKA                    NM     90015193428
4751535735593B   SHARIF         ALMAQALEH                  CA     90009133573
47515A3565B174   KHAMERON       JONES                      AR     90013360356
4751744455B174   KATHERINE      HERRON                     AR     23043854445
4751826915599B   ALBERT         TORALEZ                    CA     48094342691
475182A244B271   EDWARD         RIVERA                     NE     27084832024
4751864615B222   AUSTIN         HOFMANN                    KY     90012086461
47518AA2372B36   AOSZIA         HARRIS                     CO     90007890023
47519659872B43   SEAN           VANPORTFLIET               CO     33096136598
47519A3A25B222   JON            WELLS                      KY     68001440302
4751B1A7791569   MARIA          POLANCO                    TX     75086781077
4751B4A6455939   PATRICIA       GARCIA                     CA     90000214064
4751B565191988   FELIPE         CRUZ                       NC     17009915651
47521A22251334   APRIL          BANTA                      OH     66085800222
47522411372B36   DANIEL         MARIN                      CO     90015124113
475226A5661967   ANEL           SALCIDO                    CA     90011166056
4752377312B27B   RONALD         RAJAH                      DC     90010857731
47524946A61967   JESUS          GROVES                     CA     90001059460
47525318A8B355   OCTAVIO        VENTURA                    SC     90014713180
475254A5A8B355   MARILYN        MOORE                      SC     90010224050
4752577A661967   JOSE           RUIZ                       CA     46059097706
4752674972B27B   CARL           MAGRUDER                   DC     90011727497
47527A51A5B53B   MAGDALENA      MARTINEZ                   NM     90015220510
4752814688B355   TIFFANY        BRAZELL                    SC     90013951468
4752814885B222   WILLIAM        ALLEN                      KY     68052861488
4752826A372B4B   ZULEMA         JIMENEZ                    CO     33051602603
4752841425B174   TAMARA         SCOTT                      AR     90011144142
4752854994B271   HAILI          GRIFFETH                   IA     27049435499
47528A6282B27B   TAMMIE         FELDER-HERRING             DC     81016720628
475291A2391873   WILMA          RIGGS                      OK     21041231023
47529538472B4B   DESTINY        SMITH                      CO     90010915384
4752B921591569   OLGA           OJEDA                      TX     90004969215
47531267972B43   RUFORD         CHAVEZ                     CO     90011942679
4753213A45B53B   NICOLE         STACKS                     NM     90014651304
47532915A55939   MARTINA        FLORES                     CA     49045059150
47532A92A71946   JONATHAN       RUFF                       CO     90008150920
4753314215B222   JEREMY         REITZEL                    KY     90014251421
47533A86555939   FRANCISCO      ORTIZ                      CA     49004780865
475348A1455966   FRANCISCO      PEREZ                      CA     49014008014
4753561645B222   YAIMY          REAL                       KY     90012946164
47535A89391394   JAYME          BELL                       KS     90011320893
4753619115B53B   DEVON          JOJOLA                     NM     90013491911
4753619675B174   MARCO          CHAIDEZ                    AR     90007551967
47536225172B4B   NICOLE         MILLARD                    CO     33056872251
47536435A72B36   IAN RAY        CHRESTMAN                  CO     90013444350
47536A66A8B355   KENDRICK       HICKS                      SC     90004910660
47537A27755939   ASHLEIGH       HADDAD                     CA     90012980277
47537A6879152B   ROCIO          CROPP                      TX     75004970687
47537A72697B32   KAYLYNN        ADKISSON                   CO     90001180726
4753891715B58B   LE             RUBIN                      NM     90001339171
475396A345B53B   CRYSTAL        GARCIA                     NM     90014536034
4753994795B174   JULIO          MORALES                    AR     90007279479
4753994A25B222   TARINA         TOWNSEL                    KY     90013889402
47539962172B4B   BERNARDO       VAZQUEZ                    CO     90001589621
4753B23913163B   SHELLEY        KEITH                      KS     22086292391
4753B7A2255955   VERONICA       CUEVAS                     CA     90012637022
4754145595597B   RAUL           LOPEZ                      CA     90010124559
47542373A71999   TINA           TORRES                     CO     38095563730
4754312944B271   AARON          CADDELL                    NE     90014491294
475432A518B16B   KATHLEEN       JOHNSON                    UT     90000332051
4754331525597B   JAIME          ROSAS                      CA     90013953152
4754461132B87B   STEVEN         FRANK                      ID     90009596113
47544A24761963   OISIS          JONES                      CA     90011470247
47545447872B43   JOSHUA         MADRID                     CO     90013574478
47547A9457B646   LISA           WILLIAMS                   GA     90013850945
4754864765B58B   HUGO           ESCOBEDO                   NM     90011246476
47548951572B43   JOSEFINA       PEREZ                      CO     90013239515
47549A26551334   ERICA          WILLIAMS                   OH     90000300265
4754B32238B165   EUGENE         MCCLISTER                  UT     90014703223
4755124292B27B   CHRISTOPHER    AGEE                       DC     90012462429
4755131585597B   ELIZABETH      MUGUERZA                   CA     90013953158
47551928872B36   RICARDO        PENA                       CO     90011189288
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4755238275B174   DEMETRIA      HENRY                       AR     90007003827
4755314645B58B   CARBAJAL      GEORGINA                    NM     90015211464
47553231A5B555   MELISSA       BERNARD                     NM     90008552310
4755328532B956   ANTHONY       LUCERO                      CA     45074302853
4755427334B271   ISIDORO       MENDEZ RIVAS                NE     90000632733
47554325A5597B   SUSANA        DUARTE                      CA     90011793250
47554669672B36   BRIAN         GUERRERO                    CO     33065746696
4755529995B395   JAMES         BROADDUS                    OR     90010172999
47556579A5B53B   ALVARO        LOZADA                      NM     90002115790
47556A3285B222   DAWN          SMOTHERS                    KY     68099780328
47557A2658B165   NICKOLE       MARTINEZ                    UT     31017500265
47558151772B4B   CARMEN        NUÑEZ                       CO     90012831517
4755888432B87B   LARRY         MCMILLEN                    ID     41057268843
47558A53171999   REANN         TRUJILLO                    CO     38083330531
4755967818B355   RANDY         HILL                        SC     90014176781
4755985258B16B   NATALIE       GUTIERREZ                   UT     90011728525
47561165172B4B   ELIDUVINA     ISLAS                       CO     33033311651
4756229378B16B   TALON         INTERNATIONAL               UT     90000422937
4756283A591394   DAWANNA       FANGOHR                     KS     90013158305
4756345997B422   HENRIETTA     GIBSON                      NC     90014954599
4756497145B53B   EMMA          GOMEZ                       NM     35065759714
475656A5261967   VICTOR        SOSA                        CA     90011666052
4756576775B58B   HERMELINDA    HERNANDEZ                   NM     35016947677
475659AA374B8B   PAYGO         IVR ACTIVATION              OH     90013829003
47566145672B4B   MENDEN        GATES                       CO     90007651456
4756631915597B   ARASELI       RIOS                        CA     90013953191
4756735525B53B   ANGELICA      DIAZ-SOLIS                  NM     90013963552
47567A4348B355   BRANDI A      STANCIL                     SC     90014160434
47567AA973B356   JASMINE       WEST                        CO     90013070097
475689A334B271   ARIZBEL       ALDAY                       NE     27062269033
4756951A24B271   DARCI         CIPOLLA                     IA     27021625102
4756984935593B   ATANULFO      GUERRERO CERVANTES          CA     90001028493
4756B336461547   MADISON       HILL-ROOT                   TN     90015453364
4756B755755966   AMANDA        FRAUSTO                     CA     90012937557
4756B7A8572B38   PORFIRIO      SAUCEDO                     CO     90008517085
4757176664B271   ISIDRO        ALBA                        NE     90001317666
4757231895B53B   VERA          ABEYTA                      NM     35005763189
4757263327B367   LEONARDO      ZERFERMA                    VA     90002176332
4757282635B58B   JONATHAN      SILVA                       NM     90014328263
4757286AA5B222   MARIA         ALVARADO                    KY     90014818600
4757337995B53B   PAYGO         IVR ACTIVATION              NM     90012333799
475739AA791394   MERCEDES      STUART                      KS     29066749007
4757493845B174   VERONICA      WOMACK                      AR     23014229384
4757515945B222   JONATHAN      GUENTHER                    KY     90014171594
475758A6391873   AMELIA        DAVILA                      OK     21040158063
4757637A44B271   MATISE        PAYTON                      NE     90011623704
4757729825B53B   JUANITA       OLIVOS                      NM     90014512982
4757737532B27B   JOYCE         SMALLWOOD                   DC     90014823753
4757795375597B   REBECCA       WILLIAMS                    CA     90011379537
4757797227B456   ROBERT        HERRINGTON                  NC     90001809722
4757851552B27B   CARLOS        MCCREA                      DC     90012785155
4757868894B271   BRANDI        SOUSA                       NE     90011606889
4757917A472B43   ERICA         ROBLEDO                     CO     90010421704
4757948A891348   LORETTA       COPPER                      KS     90013064808
4757984875B58B   TRIXI         MARIE-PHAL                  NM     90013328487
4757B388255933   KENNETH       WARD                        CA     90005803882
4757B3A493195B   MOSES         BOAKAI                      IA     90014593049
4757B3A745B58B   MARIA         HERNANDEZ-IBARRA            NM     90012033074
4757B687855966   JOUAQUIN      LOPEZ                       CA     90014256878
47582356372B43   LORENA        GONZALES                    CO     90014853563
47582555772B4B   LAKESHA       HARRIS                      CO     33089465557
4758289A361967   WALTER        GIBBS                       CA     90014758903
4758326392B27B   SAUL          MEJIA VASQUEZ               VA     90010352639
4758349196B145   WILLIE        RANSOM                      MS     90015214919
47584A2628B165   BRADY         SEARLE                      UT     31051240262
47584A41A55966   GREGORIO      VASQUEZ                     CA     90013310410
4758562A18B355   JOHN THOMAS   ECCLES                      SC     90013136201
4758579345B53B   MIGUEL        SEDILLO                     NM     35039987934
47585A73872B4B   LUIS          VIVEROS                     CO     33053450738
4758633675597B   JOSE          RUIZ                        CA     90013953367
47586A4348B355   BRANDI A      STANCIL                     SC     90014160434
4758871588B654   MELISSA       VASQUEZ                     TX     90015077158
47588A4295597B   JULIA         XIONG                       CA     49050370429
4758922145B58B   LEEANNE       PANKEY                      NM     90009272214
4758B21253B37B   PHIL          BANKS                       CO     90011902125
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4758B239A51334   LISA         RAVELO                       OH     90012252390
4758B41A661963   MARIA        CANO                         CA     90012994106
4758B864371999   CHARLENE     QUINTANA                     CO     38036978643
4758B881A5B53B   DIANE        PEREZ                        NM     90012588810
4759127315B174   MARTELL      JOHNSON                      AR     90015212731
47591824A5B222   ELLIAN       HOWARD                       KY     90005228240
4759215475B53B   JAMIE        BARTON                       NM     90011921547
47592536772B43   PHILIP       MUNOZ                        CO     90006415367
4759258A655966   LINDA        LOPEZ                        CA     90006405806
4759334575B174   DANIELLE     WARD                         AR     90009173457
475947A835B174   COREY        WALKER                       AR     90015167083
4759481849187B   MARTIN       DELGADO                      OK     90013018184
47596176372B4B   THOMAS       FELDER                       CO     33003961763
475973A775B58B   DIANE        MONCURE                      NM     90013133077
4759767725B174   JENNA        ROY                          AR     90014976772
47597A86455966   AURELIA      SANCHEZ                      CA     90002360864
47597A9914B271   MARIA        GONZALEZ                     NE     27047440991
475983A3461963   MELVIN       WINSLOW                      CA     90014583034
4759958825B53B   KENNY        SANDOVAL                     NM     90007595882
47599732A2B27B   NATHANIEL    SIMMONS                      DC     90014897320
4759B18424B271   KARMIE       COUGHLIN                     NE     90014931842
4759B3A5672B4B   GIRLBERT     DURAN                        CO     90014873056
4759B962591394   DWIGHT       TENPENNY                     KS     90012009625
475B115215597B   SHELLEY      POTTER                       CA     90014151521
475B155657B431   CHALMERS     BRANCH                       NC     11056375565
475B1568871999   DESIREE      GONZALES                     CO     38018075688
475B2153761967   MARITZA      ALARCON                      CA     90008631537
475B239A433662   DEVON        WILLIAMS                     NC     90005973904
475B2436255939   ODILIO       CORTEZ CORTEZ                CA     90013924362
475B25A185B53B   KATHERINE    BRYANT                       NM     90014815018
475B26A593B367   MARILYN      ALBRECHT                     CO     90002586059
475B275368B355   ELBERT       MCCOY                        SC     90014707536
475B3197961963   ROSE         RIGOL                        CA     90004181979
475B3274172B36   ANTONETTE    EVANGELISTA                  CO     90005032741
475B355948B165   ZANDY        AMEZCUA                      UT     31094285594
475B3867651334   TITO         DILLHAUNT                    OH     90010118676
475B3933772B43   LETICIA      GARCIA                       CO     90010309337
475B395358B355   TIMIRIA      JACKSON                      SC     90005919535
475B3A78991569   PABLO        MONCAYO                      TX     90008420789
475B4422971999   LAWRENCE     PHILLIPS                     CO     38077574229
475B4567191569   MELISSA      MELENDEZ                     TX     75032515671
475B46A932B27B   ASIA         EDMOND                       DC     90013996093
475B537414B271   ALEXIS       HARRIS                       NE     27076023741
475B5617684338   DONALD       SOUTER                       SC     14571406176
475B585A491394   ERICA        FRANKLIN                     KS     29049128504
475B599275B375   DAN          WOLF                         OR     90007199927
475B611145B174   TAMEEKA      BLANTON                      AR     23020871114
475B623115B597   MARGARITA    PARRA                        NM     35090002311
475B63A468B16B   MARK         SHIRLEY                      UT     31091343046
475B6614261967   ALEJANDRA    SOLEDA                       CA     90012556142
475B662A75B222   IGNACIO      HERNANDEZ                    KY     90007916207
475B6642591569   BLANCA       NANEZ                        TX     75076806425
475B696648B355   VAN          MCCLINTON                    SC     90008329664
475B788885B174   ADOLFO       RAMOS                        AR     90015218888
475B7A2255B53B   DRAVEN       JENNINGS                     NM     35012990225
475B9837255927   VERONICA     AGUILERA                     CA     90001518372
475B994245597B   DORA         RODIGUEZ                     CA     90014859424
475BB23622B395   MARIA        ROJAS                        CT     90014822362
475BB35A261963   TOMASA       VALENZUELA                   CA     90013933502
476111A862B27B   JAMES        JOHNSON                      DC     90008871086
476118A8472B36   MONICA       CARDINALI                    CO     90012808084
476119A515B174   ALLISON      WALKER                       AR     23035529051
4761238A55B242   JAIME        RIVERA                       KY     90011443805
4761244892B87B   STEPHANIE    JOHNSTON                     ID     41015604489
47612628A2B97B   FRANCISCO    GUERRERRA                    CA     90010776280
4761279715B58B   MAYA         MADERA                       NM     35026817971
4761383748B355   ISAIAS       MARTINEZ                     SC     11056738374
4761436245597B   KIMBERLY     POPIO                        CA     90013953624
47614519376B7B   ROSA         ROMERO                       CA     90012375193
4761559A172B4B   NANCY        GONZALEZ                     CO     33066635901
47615A83672B43   ERNESTO      MARTINEZ                     CO     90012030836
47616214A91569   JULIE        SAENZ                        TX     90014572140
47616A92171924   CARROL       STONE                        CO     90010510921
4761739A572B4B   JAMES        WATKINS                      CO     90012433905
4761754818B165   ROYBN        SCHULTZ                      UT     90002685481
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4761786335B222   THOMAS       JACKEY                       KY     90015268633
47618A9875B333   NEZIB        SALGADO                      OR     90013620987
4761937A991569   KENDRA       VIGIL                        TX     90011623709
47619653A71999   BERNADETTE   SALAZAR                      CO     38006596530
47619672772B4B   CHERYL       SANCHEZ                      CO     33087486727
47619A7215597B   ROSALINDA    HERRERA                      CA     49020660721
4761B937A91394   ALBERTA      PEREZ                        KS     29019779370
4761BA2988B181   MICHELL      LEON                         UT     90005300298
4762136122B828   BECKY        YOUNG                        ID     42006183612
476218A2A91394   TROY         STONE                        KS     90013658020
47623933572B4B   JENIFFER     EDMISTON                     CO     33089659335
4762416585B222   MARQUETTA    STARKS                       KY     90009631658
4762591314B271   ANNETTE      BROWN                        NE     27062399131
47625A74191569   ADRIANNA     TARANGO                      TX     90013670741
476277A6872B4B   VICTOR       GARCIA                       CO     90009897068
4762794365B53B   QUINTON      ARCHANGEL                    NM     90010329436
47627A2928B355   SHERAUD      SAUNDERS                     SC     90015430292
476286A3691394   MATTHEW      MITCHELL                     MO     90008736036
4762872915597B   TONY         PHATDOUANG                   CA     49065787291
4762926674B271   MASON        BEINS                        NE     90008872667
4762966422B29B   ONITTE       MCKINNON                     DC     90004546642
4762969875B222   HONG         NGUYEN                       KY     90015336987
476296A3691394   MATTHEW      MITCHELL                     MO     90008736036
4762991217B431   VIVIAN       SMITH                        NC     11058499121
47629A4915B174   CAROLYN      WILLIAMS                     AR     23001940491
4762B71422B27B   ALICE        JOHNSON                      DC     81056267142
4762B745555939   SANDRA       CERRATO                      CA     90014847455
4762B86A441233   BARBARA      RENFRO                       PA     90008768604
4762B922272B4B   REINA        NAVARRETE                    CO     90002089222
4763121A291394   YOLANDA      HERNANDEZ                    KS     90012612102
4763179455B58B   CRUZ         GONZALES                     NM     90012917945
476321AA84B271   JOHN         LUTH                         IA     90014561008
4763276598B594   FRANK        LAGATTUTA                    CA     90014337659
4763429132B27B   MARQUISE     MCCALL                       DC     90014862913
47634746A31449   OLIVIA       WINTERS                      MO     90012617460
4763494148B16B   JENNEY       BUCK                         UT     90006559414
47634A43555939   KA           VANG                         CA     90011330435
476357A2857126   GERARDO      VARGAS                       VA     90001097028
47635A8235B58B   GUADALUPE    AGUILERA                     NM     35080500823
4763637A171999   DUSTIN       DAVISON                      CO     90012583701
4763671898B165   ERIC         MIRANDA                      UT     90000767189
476374A165597B   MARTHA       MATA                         CA     90001044016
4763894255B53B   MELISSA      VALLEJOS                     NM     35023049425
4763915678B355   BERNA        SANTIAGO                     SC     90013611567
4763989435B174   MYRON        FINKLEA                      AR     23096678943
47639A3872B229   BEVERLY      MAGNUM                       DC     90003790387
4763B386155939   MARTIN       GOMEZ                        CA     49019463861
4763B498971999   ISAAC        LUNA                         CO     90013404989
4763B4A8A5597B   KATHY        SERRATO                      CA     49086824080
4763B644351334   DAVID        AHRMAN                       OH     66031256443
4763B812155966   SIDNEY       THEARD                       CA     90014178121
4763BA97971999   ADOLPH       GARCIA                       CO     38079380979
47641A14372B4B   RAY          TORRES                       CO     33050930143
476428A255B58B   ESPERANZA    RODRIGUEZ                    NM     90009838025
47642A4132B27B   MANYKA       GAITHER                      DC     90014810413
47643A15955939   ALFRADO      MORENO                       CA     49063450159
4764436515597B   LUIS         CASTRO                       CA     90013953651
4764474875B53B   COLT         SANDERS                      NM     35014037487
4764556658B355   NATHANAEL    HINES                        SC     90013965665
4764628964B547   COURTNEY     LEE                          OK     90008492896
4764635848B355   CHRIS        LANDFORT                     SC     90013303584
47646625572B4B   JOSE         MIRA                         CO     33099706255
4764675865B58B   YVETTE       LOPEZ                        NM     35078717586
47647A26891569   BRIANA       RAMOS                        TX     90012140268
4764888395B58B   BRUCE        GURULE                       NM     90013218839
4764916932B87B   CHRISSI      NORTON                       ID     41058031693
476491A295B222   DANISHA      GIRTON                       KY     90014711029
47649298898B25   CLARA        RODGRIGUEZ                   NC     90011302988
4764929AA5B58B   MARISOL      HIELO                        NM     90009352900
4764B231855966   JULIA        RODRIGUEZ                    CA     90010742318
4764B298671999   AUDRA        CANO                         CO     90013242986
4764B49874B271   KERLYN       GIVENS                       NE     90013064987
4764B974355939   VERONICA     OCHOA                        CA     90008689743
4764BA11471999   CARI         ANAYA                        CO     90001440114
4765115858B594   SHAWN        LAFOUNTAIN                   CA     90014561585
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4765223915B391   CHAD         NELSON                       OR     44516672391
47652523672B4B   ORLANDO      PINZON                       CO     90005485236
476539A297B457   DARIUS       FLOWE                        NC     90008489029
4765422185B53B   OLGALERIA    FUENTES                      NM     90011092218
4765465A851361   JANEICIA     ALEXANDER                    OH     90005676508
4765497418B355   KAREN        MOSS                         SC     11023399741
4765524355B174   ANECIA       JACKSON                      AR     90005722435
4765553615B593   RICHARD      MCLELLAN                     NM     35008015361
476558A5A72B43   OSCAR        HOLGUIN BUENO                CO     33074378050
4765697372B27B   QIANA        PETON                        DC     90002389737
47657A11872B4B   JOSE         CASTRO-VENEGAS               CO     90009610118
47657A53355939   BRIANNA      HERNANDEZ                    CA     90015050533
4765825522B27B   DEBORAH      LONG                         DC     90003682552
4765848954B271   SHAUNESSY    HENDERSON                    NE     90008174895
4765852155B174   CHARLOTTE    WEBB                         AR     90009135215
4765937285B174   QUASHONNA    EAST                         AR     90010493728
47659596A5B58B   MISTY        STEVENS                      NM     90013095960
4765B131291569   DIANA        MARQUEZ                      TX     75014541312
4765B19832B249   RUDOLPH      WALKER                       DC     81011861983
4765B36925597B   ESMERALDA    TISTA                        CA     90013953692
4765B391361963   DULCE        MARISCAL                     CA     90003203913
4765B468961996   JESUS        MURGA                        CA     90007944689
4765B863A61967   JOEY         POLIVDI                      CA     90012848630
4765B93812B27B   BENJAMIN     MCDANIEL                     DC     90009529381
4765B965351334   BRIAN        BROERMAN                     OH     66040239653
4766135615B222   BRITTANY     COLLINS                      KY     68019853561
47661A52A4B271   NFORMI       NGENGE                       NE     90009900520
47661A7A291569   ELISHA       SERCKPOR                     TX     90013290702
476642A6861967   MARIA        VASQUEZ                      CA     90002382068
4766511A35B58B   ROSA         CHAVEZ                       NM     90005551103
47665AA663B33B   KARLA        STEVANS                      CO     90009770066
47667273472B36   JOSE         SAENZ                        CO     90008632734
4766769785B58B   TINA         DURAN                        NM     35073946978
47667AA8772B36   FAVIANA      MARTINEZ                     CO     90013310087
47668448A55966   TAMARA       CRAWFORD                     CA     49037184480
4766981762B848   PATRICK R    SORENSEN                     ID     42000208176
47669A47661963   SILVIA       RODRIGUEZ                    CA     90008490476
4766B25988B355   CORA         WARD                         SC     90005292598
4766B547A5B58B   RAUDEL       MARQUEZ-LOZANO               CO     90014885470
4766B69328B16B   GABRIELA     BASTIDAS                     UT     31002476932
4766B886555939   PABLO        DIAZ                         CA     49091248865
4766B944991975   REYMUNDO     SAMARIPA MORA                NC     90002099449
47671397172B36   ANGEL        COVARRUBIAS                  CO     33008493971
47671843472B4B   GALE         FAUBION                      CO     90014268434
47672497572B43   SERGIO       RAMIREZ                      CO     33062134975
4767383875B174   ANTHONY      BURL                         AR     23092438387
4767384657B457   LE           GALLEGOS                     NC     90013958465
4767393264B271   CRISTINA     PARAISO                      NE     90010979326
4767417798582B   CHRISTY      LYLES                        CA     46027401779
4767441445B53B   ANDREW       HUERTA                       NM     90006704144
47674788272B36   JAMIE        SHANKIE                      CO     90003527882
47676AA7672B43   WILLIAM      KRAMER                       CO     90013880076
4767817335B222   AMY          PITTMAN                      KY     90014411733
4767835352B27B   LAQUAN       BERRY                        DC     90002493535
476785A3591394   MELANIE      LATUCH                       KS     90013695035
476791A128B355   AMANDA       ROSSO                        SC     90012211012
47679399472B36   BENJAMIN     LOPEZ GUERRERO               KS     90001853994
4767B53912B27B   CHARLIE      WEGMAN                       DC     90014535391
4767B815461967   KRISTIN      SANDERS                      CA     90011118154
4767BAA9261967   DIBBIE       CAMARGO                      CA     90014030092
4768228445B58B   MARCIA       GALLEGOS                     NM     90014422844
4768374215B174   TAMMY        HENSLEY                      AR     23095257421
4768386562B828   LINDA        PYPER                        ID     90010888656
4768416319373B   MICHELLE     NOBEL                        OH     90014801631
4768462275B58B   GUMARO       ZAPATA                       NM     35054016227
47685156524B46   RICHARD      BYRD                         DC     90001451565
47685222A55966   PEDRO        RAMOS                        CA     90012982220
47686461A91992   SHABBIR      HUSSAIN                      NC     90009004610
476868AA65B58B   MARIO        FONG                         NM     90011958006
47686A3AA8B355   PATRICK      CARR                         NC     90010010300
4768778A92B953   LYNN         DESHAW                       CA     90008547809
47687815872B43   MARMOLEJO    JOSE                         CO     90007108158
476885A3591394   MELANIE      LATUCH                       KS     90013695035
4768891298B355   DUSTIN       ALFORD                       SC     11038999129
47688A2248582B   JOHN         STINSON                      CA     90012120224
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47688A66221637   LEAH          REDICK                      OH     90015390662
4768933185B53B   LORENZO       LENTE                       NM     90007293318
4768957775B58B   MARIA         RODRIGUEZ                   NM     35024285777
4768B646171999   SANDRA        CARBAJAL                    CO     38097626461
4768B745155966   PAMELA        ESPARZA                     CA     49016437451
4769112998B355   SYDNEA        PATTON                      SC     90014791299
47691A8A172B43   OLIVIA        PORTILLO                    CO     33094150801
4769232388B355   HEATHER       JONES                       SC     90014753238
4769249247B331   ANTONIO       DEL ROSARIO                 VA     81043104924
47692A3A971999   ANGELIC       BACA                        CO     90000970309
4769458668B355   TONI          RUSSELL                     SC     90013965866
4769674225B53B   DEMETRIO      TRUJILLO                    NM     90013707422
47696892972B35   RUDY          GALLEGOS                    CO     33071908929
47696894172B4B   BARRON        FILEMON                     CO     33053548941
4769769488B16B   BOBBI         RICHTER                     UT     90010366948
47697797972B43   BRIAN         PHELPS                      CO     33018167979
4769799A44237B   DONNA         BIBLE                       GA     90008379904
4769818835B58B   DWIGHT        HELMICK                     NM     90011051883
4769894138B165   JOSHUA        CURTICE                     UT     31052829413
4769895278B355   JAMIE         PAUL                        SC     90014809527
4769918235B222   CHERYL        DANIELS                     KY     90003811823
4769B735A5B222   PAULINE       PEDRO                       KY     68061457350
476B119A591873   MICHELLE      SIDES                       OK     21043131905
476B1685172B4B   RAQUEL        ROSALES                     CO     33065806851
476B1693A55939   KEVIN         BREN                        CA     90014956930
476B19A735B222   FAUSTINO      GONZALE                     KY     90012379073
476B2148651334   CRYSTAL       TAYLOR                      OH     90000521486
476B2288751334   OSCAR         CHAVEZ                      OH     90015432887
476B3168591527   CLEOTILDE     LUCERO                      TX     90005671685
476B3169891569   NIKKI         SHAAR                       TX     75066371698
476B3322961967   JESUS         ARIAS                       CA     90013253229
476B3669461934   LADONNA       RICE                        CA     90010476694
476B3832455939   CRYSTAL       ALVARADO                    CA     90007808324
476B561A15B174   CAROLYN       USSERY                      AR     23036306101
476B5A38A55939   GILBERTO      SANDOVAL                    CA     90000900380
476B6153777535   GRACE         NDOLO                       NV     90012031537
476B622A671999   PHILLIP       QUINTANA                    CO     90009592206
476B627445597B   JASMIN        LOPEZ                       CA     90014722744
476B6535751334   DAVID         RICHARRDS                   OH     66006345357
476B6564A61942   GERARDO       ANDRADE                     CA     90010485640
476B6724A55966   GRABIELA      SOLIS                       CA     90013037240
476B7164961963   NOEMI         MARTINEZ                    CA     46050161649
476B8327757149   DEANNA        VAUGHAN                     VA     90008523277
476B921342B87B   PEGGY         MOUNT                       ID     41040072134
476B923555B53B   CASTO         JONATHAN                    NM     90003682355
476BB362971999   EDGAR         LUJAN                       CO     90013973629
476BB87585B222   LESLIE        WHITE                       KY     90013638758
476BB981491394   LARONDA       BOYD                        KS     90009259814
47711198772B4B   MICHELLE      GASCA                       CO     90001841987
477114A3372B36   JULIA         CHIHUAHUA                   CO     90012834033
4771161645B222   YAIMY         REAL                        KY     90012946164
47712353272B36   GENE          JONES                       CO     33082683532
477142A1191394   LUIS MIGUEL   LEVARIO                     KS     90011412011
47714432A72B43   MONIQUE       BELEARDE                    CO     90013814320
47715578172B43   WAYMAN        PATTON                      CO     33008575781
4771611352B266   CLARNESE      JACKSON                     DC     90010861135
4771617638B355   HAROL         HARDIO                      SC     90014181763
477166AA172B4B   BERNADETTE    AVALOS                      CO     33039426001
4771677185B58B   JO            VALENCIA                    NM     35004127718
4771691152B27B   JASMIN        RUFFIN                      DC     90013809115
47717627A4B259   ROBERTO       SOLORZANO                   NE     90007096270
47718A6324B271   ANA           SOMERS                      NE     90011940632
4772151875597B   CRYSTAL       BIBEROS                     CA     90008275187
4772199175B53B   ROBERT        ESPINOSA                    NM     90006379917
4772218788B165   MAVIS         BLACKBURN                   UT     31039211878
4772312A872B36   BRENDA        MCCLELLAN                   CO     33032641208
4772383A38B355   HILARY        CANTY                       SC     11038728303
47723A15172B4B   PAMLA         JOFERSON                    CO     90011330151
47723A21A93767   SHALAMAR      HENSLEY                     OH     90014650210
47724156A5B58B   ROGELIO       MARTINEZ                    NM     90008751560
47724481572B43   ALE           MENDOZA                     CO     33006754815
47724A6A45597B   ELENA         SILVA                       CA     49097170604
4772538438B355   JENNIFER      CALZADA                     SC     90015383843
4772541874B259   DIANA         SOTO-CRUZ                   NE     27062974187
477254A785597B   ADRAINA       PUENTES                     CA     90013954078
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47725A11555966   ROCHELLE     BIEVER                       CA     49025620115
4772621473B394   JOSE         LOPEZ                        CO     90009732147
477262A6A4B271   CLINTON      FRITZE                       NE     90006612060
4772638568B355   ANIESHA      HEATH                        SC     90014183856
4772684715B53B   STEPHANIE    ROMERO                       NM     35026268471
4772699445B222   MCKENZY      TUCKER                       KY     90014389944
4772B99448B16B   APRIL        RAINEY                       UT     90003649944
477311A912B87B   KANDICE      FINLEY                       ID     41046291091
47731563A72B43   LORI         HOWELL                       CO     33067345630
4773199A75B174   LANORA       KEEN                         AR     90012869907
4773252635B555   NINA         ROWELL                       NM     90013475263
47732755172B43   RAPHEAL      JOHNSON                      CO     33076587551
47733A3325B222   SHANNON      WHOBREY                      KY     90015100332
47733A8263B343   SHAN         GAMBLE                       CO     90012110826
4773517612B87B   HEZEKIAH     WHITE                        ID     90012961761
47735251A71999   KAREN        DEHERRERA                    CO     90010062510
4773537A672499   TIFFANY      SCHAFER                      PA     90012423706
4773546259126B   GINGER       DOWNS                        GA     90005584625
477361A475B222   SHARON       BLANKENSHIP                  KY     90014711047
4773657618B165   SIONE        PIKULA                       UT     31097405761
47736759A5597B   LORI         SANDOVAL                     CA     90010917590
47737359A55966   SILVIA       GAMINO                       CA     49058773590
477378A1391988   AYKIA        HANES                        NC     90005128013
4773791258B355   ANTHONY      BURRIS                       SC     90014749125
4773795355597B   ESPERANZA    FERNANDEZ                    CA     90014859535
47738949A93755   ELIZABETH    DEAN                         OH     90012169490
4773956985B53B   MARIA        SANCHEZ                      NM     90002965698
4773B63345B58B   NORMA        PEREX                        NM     90013796334
4773B644754165   TINA         HOLBROOK                     OR     90011936447
4773B977955966   LEEAN        GORDILLO                     CA     90014789779
4773BA3A971999   ANGELIC      BACA                         CO     90000970309
4774155875B222   BRYSON       LIVINGSTON                   KY     90014905587
4774236385B53B   JOELE        REEVES                       NM     90014093638
4774239795B53B   CHRIS        SALAZAR                      NM     90008933979
477427A485597B   ANGELINA     RAMIREZ                      CA     49001427048
4774375285B222   SEAN         MUDD                         KY     68043927528
4774411A52B27B   YVETTE       SMITH                        DC     81019451105
4774416245597B   SERGIO       GARCIA                       CA     49088091624
4774446825B388   HAROLD       CRAWFORD                     OR     90011804682
4774539734B259   NOEMI        CORTES                       NE     27076763973
4774597962B27B   NIKITA       THOMAS                       DC     90010009796
4774627265B58B   BOBBIE       STONE                        NM     90015002726
47746A76155966   MICHAEL      GRAY                         CA     90007880761
4774762A261963   GLORIA       BARBA                        CA     90011646202
47747864A5597B   NANCY        TEREJANO                     CA     90010588640
4774835358B165   ZACH         BAKER                        UT     90008393535
4774864375B53B   RASARIO      CARAVEO ESCALANTE            NM     90013836437
4774881122B87B   ELIZABETH    MICHAEL                      ID     41095068112
4774927314B271   JUSTIN       LITTLETON                    IA     90014572731
4774948A551334   JOHN         MCPHERSON                    OH     90010284805
4774B46435597B   JULAYNE      JORGE                        CA     90009884643
4774B527A8B141   KIRK         SHEPHERD                     UT     31027985270
4775173475B58B   MICHELLE     GLENN                        NM     90014877347
47751A69391569   LAURA        JARA                         TX     90011980693
477525A5491569   BERTHA       VARELA                       TX     90015205054
4775283438B355   FRANCISCO    RODRIGUEZ                    SC     90002008343
4775317A291394   BRENDA       MENDOZA                      KS     90005971702
477531A8941297   WILLIAM      EDEL                         PA     51066621089
47753777172B4B   ADAM         STENZ                        CO     33025597771
4775387573B351   CONNIE       BOWEN                        CO     90012478757
47754822A61967   JOSE         GONZALEZ                     CA     90013508220
4775565824B271   COHILA       JORDAN                       NE     27085366582
47756142836B9B   MENDEZ       NINO FFR                     OR     90013761428
477561A8161963   MARY         DANIEL                       CA     46060071081
4775645465B58B   IRMA         PEREZ                        NM     90006574546
477586A255B222   TERESA       TALL                         KY     68098886025
4775893652B27B   EYVETTE      THREADGILL                   DC     90013079365
47758A9834B271   WILLIE       BANKS                        NE     90001430983
477592A8461963   BLANCA       VALENCIA                     CA     90011972084
4775935748B355   JACQUELINE   BOOZER                       SC     90014733574
4775944635597B   LUCERO       EASTWOOD                     CA     90011604463
4775B23854B271   REYNALDO     MARTINEZ                     NE     27039622385
4775B294991873   SARA         SUAREZ                       OK     21033732949
4775B772955966   ASHLEY       HURDLOW                      CA     90014037729
4776229235B53B   AMANDA       HORTON                       NM     90000382923
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47762AA935597B   IGNACIO       INIGUEZ                     CA     90000970093
477637A3A91569   ESMERALDA     DE LA CRUZ                  NM     75077927030
47763974972B36   MARIA         MUNOZ                       CO     33036899749
47764475A72B4B   KRISTEN       GARCIA                      CO     33051064750
47764573772B43   CHRIS         ALEXANDER                   CO     33070075737
4776479A155966   JUAN          MALAGON                     CA     90011417901
4776496778B165   STERPHANIE    ALLEN                       UT     90002159677
4776541765597B   FELIX         MORALES                     CA     90013954176
47766736A5597B   KATHY         BERNASCONI                  CA     90009857360
4776687265B58B   ANNMARIE      CHAVEZ                      NM     35062008726
477672A668B355   AMANDA        MCCONNELL                   SC     90014792066
4776822425B222   CHELSEA       MYERS                       KY     90003292242
477687AA791873   LEVI          GOMEZ                       OK     90005827007
47768864457B97   MARK          WILLIAMS                    PA     90014418644
4776B14A72B27B   CRYSTAL       SAUNDERS                    DC     90001281407
4776B76166182B   JOHN          HOLMES                      IL     90015407616
4776B876855966   KAO           VANG                        CA     49079608768
4776B8A4272B36   JOSE          SAENZ                       CO     33091298042
4777142125597B   TOMMY         SANCHEZ                     CA     90013954212
4777172625B174   KURSTIAN      DAVIS                       AR     90014977262
4777198795B222   JERRI         BARLETT                     KY     90000199879
4777266A64B271   CHRISTOPHER   GLYNN                       NE     90013056606
47772683A5B53B   ELIZABETH     DIAZ                        NM     90003186830
477728AA271999   DESIREE       RUYBALID                    CO     38073658002
4777292317B49B   ANA           MIRANDA                     NC     90012929231
4777373754B541   BRIAN         FAULKS                      OK     90014527375
4777377275B222   BRANDEN       THOMAS                      KY     90013247727
47773A95771999   TIM           HAWAKINS                    CO     90003810957
4777425835B53B   ADAM          ARMIJO                      NM     90012322583
4777465A461967   JAMES         HYCZ                        CA     90014166504
4777488365597B   JULIANA       MORA                        CA     49029368836
477762A668B355   AMANDA        MCCONNELL                   SC     90014792066
477763A124B531   SHERRY        FULTON                      OK     21550483012
4777666A93145B   CARLOTTA      VAUGHN                      MO     90005676609
4777737175B222   ROBIN         BLAKEMORE                   KY     90014723717
4777838925B58B   ROB           LYDICK                      NM     90013413892
4777848675B53B   ANDREW        MARTINEZ                    NM     90014964867
47778663A51334   JEFFRY        FLINT                       OH     90010456630
47779636372B23   CINTHYA       ARCHULETA                   CO     90004216363
47781267A72B43   FELICIA       CHAVEZ                      CO     90007582670
4778149244B56B   SANDIE        CARLSON                     OK     90009484924
47782142872B36   GAIL          MADRID                      CO     90009661428
477826A415597B   JIMMY         CRUZ                        CA     49032716041
47782A2A82B87B   CHRIS         HAVEMANN                    ID     41085720208
4778385712B342   CARLOS        BONILLA                     CT     90014458571
4778393738B355   DENITA        BURRIS                      SC     90011639373
4778479815B174   MANUEL        TERRASAS                    AR     90012767981
47785A6928B16B   MIRANDA       ALLRED                      UT     31042910692
4778647158B355   DANA          SNYDER                      SC     90007404715
477869A762B27B   JAMESHA       CRAWFORD                    DC     90015129076
4778734562B27B   WILL          GARCIA                      DC     90015403456
4778872265B53B   FELIX III     PACHECO                     NM     90010827226
47788931672B36   AYESHA        SMITH                       CO     33074399316
4778919425B58B   FRANK C       SANCHEZ                     NM     90009701942
4778974635B222   LINDA         GIBBS                       KY     90014267463
477897AA28B355   DENIS         NAVARRO                     SC     11051887002
477897AA771999   JACOB         BAXTER                      CO     90014367007
4778B18615B53B   IXZEL         ORTEGA                      NM     90010221861
4778B526491569   JOSUE         BARBOSO                     TX     75016225264
4778B639191873   FERNANDO      BUSTOS                      OK     21040146391
47791174872B4B   ANGELICA      CHAVEZ                      CO     33089351748
477915A8831959   SADE          MARTIN                      IA     90014775088
4779174298B355   LUIS          RODRIGUEZ                   SC     90015067429
47791A22877538   JESSEE        FRYE                        NV     90004430228
4779246635B58B   VICTORIA      SOLAREZ                     NM     90013004663
4779293488B16B   EDGAR         GONZALEZ                    UT     31057039348
4779412282B27B   ABDELLAH      MARGHICHE                   DC     90002441228
4779421968B167   ADEN          LOPEZ                       UT     90013732196
4779549A691394   EVELYN        VELAZQUEZ                   MO     29086084906
47795A2435B53B   ABEL          ROBLEDO                     NM     35060340243
47795A3A65B174   LATASHA       OWENS                       AR     23040900306
47796148572B39   GIOVANNINA    MURILLO                     CO     90013831485
47796644872B43   NORA          LUEVANO                     CO     33022506448
4779764785B551   JOHNNY        JARAMILLO                   NM     90000836478
47798664572B43   HERMLANDO     NUNEZ                       CO     90012176645
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4779871518B165   AMY          GILLETT                      UT     31062307151
47798783A72B4B   TIFFINY      HICKS                        CO     90014337830
4779892445B53B   GUADALUPE    MARTINEZ                     NM     35077469244
47798A95771999   TIM          HAWAKINS                     CO     90003810957
47799828A91873   TAMRA        RUHMANN                      OK     21029998280
4779998912B27B   ERIC         BORTEY                       VA     90013699891
4779B126284336   ADAM         VAN HORN                     SC     90009971262
4779B27A561967   MICHAEL      MORRIS                       CA     90011982705
4779B827355966   ALBERTO      RIOS                         CA     90013698273
477B124665B58B   KARLA        ROJO                         NM     90004002466
477B1379691569   ELIZABETH    MEDINA                       TX     90014683796
477B1728755939   JUSTINE      REYES                        CA     90012457287
477B175695B53B   FRANCINE     GONZALES                     NM     90014837569
477B275388B16B   ROSE         AGUSTINO                     UT     90015007538
477B311268B165   LESTER       RANDALL                      UT     90006471126
477B3427424B35   STEPHAN      DAVIS                        DC     90012834274
477B3494361967   RALPH        SANDERS                      CA     90004784943
477B3498461963   GERADO       NUNEZ                        CA     90003794984
477B34A185597B   MIGUEL       MARTINEZ                     CA     90013954018
477B3A58A71999   STEVIE       MAESTAS                      CO     90010720580
477B43A1851361   CRYSTAL      JONES                        OH     90005853018
477B4782272B4B   AMANDA       TRUJILLO                     CO     90014447822
477B534245597B   VANESSA      CASTRO                       CA     90010313424
477B5529285825   CHARLENE     BAASKE                       CA     46085715292
477B646A85B58B   ANTHONY      BAZAN                        NM     90000714608
477B6995472B4B   SARAH        TRUJILLO                     CO     33006039954
477B6A79872B4B   SARAH        TRUJILLO                     CO     90012400798
477B718754B271   AMANDA       SCHULT                       NE     90014911875
477B7768955966   ROMAN        DE LA ROSA                   CA     49004947689
477B8665555966   MARIO        NAVA PEREZ                   CA     49000326655
477B888655B222   SHELLIE      SETTLES                      KY     90012238865
477B9258555939   ARMENTA      MONICA                       CA     49008852585
477B9A2867B63B   JOHNNY       ANDERSON                     GA     90011410286
477BB484A91394   JASON        WHITELEY                     KS     90013424840
477BB952451334   MICHELE      GARRETT                      OH     90003439524
4781136155B174   BRIAN        SMITH                        AR     90014493615
47812928A91394   LENKA        BROWN                        KS     29088089280
47813A84391549   LAURA        HERNANDEZ                    TX     90005100843
4781446228B16B   JASON        GREGERSEN                    UT     31000364622
47814891A91873   KATHY        PASSMORE                     OK     21019208910
478151A388B355   ALEXIS       HEMPHIL                      SC     90010331038
4781613544B271   JASON        STICKNEY                     NE     27089871354
4781645648B355   LILIANA      ROMERO                       SC     90014064564
47818223A41455   EMIGDIO      VERA FLORES                  WI     90010972230
47818266172B43   JON          SCHAEFER                     CO     33003592661
4781945187B461   LAWANDA      RAZOR                        NC     90014944518
47819622872B43   SANJUANA     RAMOS                        CO     33096116228
4781B448761925   JASON        RAMOS                        CA     90007104487
4781B712455966   TABITHA      BAKER                        CA     90004387124
4781BA5598B16B   JONI         CASE                         UT     90011870559
47821A74591394   ALEX         CAMPOS                       KS     90000240745
4782312A591569   IVONNE       GARAY                        TX     90011031205
4782318AA71999   ALFONSO      TRUJILLO                     CO     38057971800
4782394A285931   VERONICA     HINTON                       KY     90002159402
47823A8A45B174   CARLTON      HENDERSON                    AR     90013430804
47824769172B4B   ERIKA        RICH                         CO     90012587691
47824A62891569   MICHAELA     SCHMIDT                      TX     75035050628
4782513995597B   ANA          REYNOSA                      CA     90010371399
4782583645B53B   DAKOTA       WILLIAMS                     NM     35008538364
4782594658B16B   REBECCA      HANSEN                       UT     31058149465
47826578272B43   SHA DAWN     SHULER                       CO     90014195782
47827515772B43   JUAN         ORTEGA                       CO     90005755157
47827A54A55939   TRICIA       SULLIVAN                     CA     90004500540
478284A525597B   JACKIE       DAVIS                        CA     90011454052
4782975695B58B   ADRIANA      JACQUEZ                      NM     35003197569
4782976A155939   TAMMY        TORNO                        CA     49090227601
4782987342B27B   WILLIE       WILLIAMS                     DC     90008958734
4782997265B222   TIFFANY      WILSON                       KY     68062469726
4782B867984368   TOMASA       DIEGO BARRERA                SC     14527748679
4782B89825597B   CARLOS       TREJO                        CA     49068718982
4783175494B523   LEKEYTHA     DUKES                        OK     21585347549
4783335764B271   JA RELL      BANISTER                     NE     90015323576
478341AA761967   ADAM         LABLANCE                     CA     90012261007
4783436935B174   TAMATRICA    BONTON                       AR     23061653693
4783482788B355   LOGAN        QUEEN                        SC     90013188278
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47834A1738B59B   GABRIEL       GARAY                       CA     90014100173
4783556425B58B   DAVID         KUTICKA                     NM     35074585642
4783557468B355   SARENA        CUNNINGHAM                  SC     90001955746
4783617558B355   PAYGO         IVR ACTIVATION              SC     90009721755
478361A885B53B   GAVALDON      CECILIA                     NM     35031221088
478365A2971999   LAWRENCE      VIGIL                       CO     90009805029
47836A79155966   JEANETTE      HERNANDEZ                   CA     49080930791
4783742398B355   ALEXIS        MCINNIS                     SC     90015204239
4783762665133B   JAMES         GARNER                      OH     90000886266
4783769635B58B   LYNNAE        ATKINS                      NM     90002876963
478376AAA57126   JENNIFER      DAVIS                       VA     81072986000
47837846A2B27B   ANGELIC       ANTHONY                     DC     90010008460
47837871A8B14B   ALBERT        PURSER                      UT     31087158710
478398A425B53B   PATRICIA      ROCHA                       NM     90002818042
4783B516191394   LISA          DAVIS                       KS     90006635161
4783B755A72B43   MARIA         NAVARRO                     CO     90002327550
47841212472B4B   GREGORY       UPTERGROVE                  CO     33001042124
47844A1865B58B   EVA           MUNOZ DE GARCIA             NM     90006840186
47844A5125597B   TONY          AGUILAR                     CA     90012840512
47845251172B4B   CRUZ          MARQUEZ                     CO     33047892511
4784528A791569   JACOB         GOMEZ                       TX     90011502807
47845597772B43   MICHAEL       WELLS                       CO     90008785977
47845A53991988   JESSICA       OCHOA                       NC     17017520539
4784697715B53B   MARLENE       NUNEZ                       NM     35072679771
478481A3961996   ROBERT        SCHOFIELD                   CA     90008181039
47848A8A45B58B   DESIREE       MEDINA                      NM     90011250804
4784963842B27B   MARIA         AMATO                       DC     81075576384
47849A75351334   MICHAEL       BOLING                      OH     66033160753
4784B22A291394   JULIO         MIRELES                     KS     90014742202
4784B83112B27B   DWAYNE        SMITH                       DC     81084948311
4784BA28372B43   CECILIA       LEBERMANN                   CO     33044340283
4785133358B16B   AFRIM         QERKINI                     UT     90008193335
4785265545B174   TIA           WALKER                      AR     23005846554
478532A7A8B167   GARY          WINN                        UT     90012572070
47853A22872B4B   EDWARD        DUANE                       CO     90011330228
47854497176B22   CLAUDIA       GARCIA                      CA     90001734971
4785585645B58B   PHILLIP       MARTINEZ                    NM     35081958564
478559AA68B355   STEVEN        ANTHONY                     SC     90014239006
47855A36A91569   CAROLINA      CONTRERAS                   TX     90012380360
47855A5775B222   CHRIS         MAGUIRE                     KY     90012020577
47856818272B36   LINDA         MORRIS                      CO     33036148182
47857368A5B58B   LEONARD       SANCHEZ                     NM     90013773680
4785759A372B4B   JUDY          EDWARDS                     CO     90006325903
4785773A671999   JOLENE        OTERO                       CO     38042767306
4785778735597B   TIM           TORRES                      CA     90013157873
47858272A5B174   JEREMY        GREEN                       AR     90013092720
478591A3755939   JEANETTE      FELIX                       CA     90012801037
4785B249851334   RICHMOND      ANINAGYEI                   OH     90013362498
4785B26374B259   JAYLIA        MAIMS                       NE     27091592637
4785B65164B271   ALEJANDRA     PULIDO                      NE     90013966516
4785B735451334   LANI          WILLIAMS                    OH     90008857354
4785B931491569   RAMON LOPEZ   MUNOZ                       TX     90006529314
4786124778B355   EDUARDO       MALDONADO                   SC     90014892477
4786139418B16B   DANIEL        POLLARD                     UT     90011743941
47861812172B43   LEANDRO       LOPEZ                       CO     33050448121
4786357415B174   OSCAR         BERMUDES                    AR     90011145741
4786536533B388   CONI          WHITE                       CO     90010473653
478653A795597B   MERCEDEZ      SHERVEM                     CA     90013983079
4786568915B53B   JOSE          PEREZ JUAREZ                NM     35082716891
47865773872B4B   JAKE          BLACKBURN                   CO     33096977738
47866235872B43   AONIE         MCGINISTER                  CO     33084742358
4786671765B174   MARTHA        LEYVA-SILA                  AR     90002257176
478668A965599B   KIM           ENS                         CA     48078698096
4786711615B53B   JERRY         UHLIG                       NM     90000581161
4786818749152B   ALBERTO       GALLEGOS                    TX     90006461874
4786847A32B87B   RYAN          MACKEY                      ID     41004814703
4786882AA8B165   TERESA        NIELSEN                     UT     90000768200
4786972945B174   LAKESHIA      WILLAMS                     AR     90014897294
4786B114A5B58B   GARY          COX                         NM     35006931140
4787191322B92B   NICK          HARVEY                      CA     90010179132
47871A28855966   SARAH         BELLINTER                   CA     90002790288
4787227A95B58B   MIGUEL        SALAZAR                     NM     90000762709
4787445852B27B   JAMAR         BUSH                        DC     90012484585
47874984372B43   MARISOL       JUAREZ                      CO     90003779843
4787548115B58B   AMERICA       SALAZAR                     NM     35080084811
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4787573382B27B   DANDRIA         HILL-BURNO                DC     90009747338
4787625518B165   TYSON           PERKINS                   UT     31018952551
47876791A55966   MAGDAI          MARTINEZ                  CA     90008507910
478781AA671921   JAMES           EDGERTON II               CO     38050091006
478791A675B58B   MARICELA        MIRANDA PADILLA           NM     90012431067
47879676672B4B   JOSUE           OLIVAS                    CO     33061566766
4787996984B546   EVERETT         CARROL                    OK     90005729698
4787B43A572B43   MONICA          ENRIQUEZ                  CO     90012244305
4787B867355939   DANIEL          GOMEZ                     CA     90011018673
4787BA16A71999   STACY           PAULSEN                   CO     90015150160
4788234725B53B   TARA            MCCOOK                    NM     90010613472
47883946972B4B   HELEN           MORAN                     CO     33091619469
47885358872B43   RAQUEL          PEREZCEDILLOS             CO     33002933588
47885519972B36   JAMES           DUNCAN                    CO     90012865199
4788586145B53B   LINDSEY         MARTIN                    NM     90012908614
4788616575B222   GARNISHA        SANFORD                   KY     90006021657
47886545872B4B   ELIZABETH       TERRONES                  CO     90013165458
4788688562B87B   JIM             BLY                       ID     41015988856
47887455A8B165   MELANIA         MARCIAL                   UT     90005324550
478879A3591569   ALEJANDRO       LARA                      TX     75010699035
4788B22965B174   SHAKELA         EDWARDS                   AR     90010292296
4788B58384B259   JENNIFER        MAPES                     NE     27072135838
4788B88264B271   ACHIRO          CHRISTINE                 NE     90011128826
4788B895355939   VERONICA        LEAL                      CA     90014178953
4788B967151334   MELISSA         SHERMAN                   OH     90010219671
4788BAA7355939   JIM             MAZZI                     CA     90007420073
4789149AA5597B   JENNIE          LOPEZ PULIDO              CA     90013954900
47893A2832B27B   DAISY           DAVIDSON                  DC     90008740283
47894679A4B271   DAVID           BURTON                    NE     90007026790
478946A685B551   NANCY           GONZALEZ                  NM     90012256068
4789494445B222   CHERYL          MCGAHEY                   KY     68001439444
47894A41172B43   PATRYK          HOLLY                     CO     33075980411
4789598925597B   ZACHARY         CALKINS                   CA     90012109892
478961AA372B4B   JAMES           SIX                       CO     33037461003
4789658252B27B   SHERINE         ROBINSON                  DC     81087465825
47896A4218B355   ASIA            BURKETT                   SC     90010210421
47896A6864B271   TARA            BARNES                    NE     90000790686
47898853672B36   ANA             AMAYA                     CO     90002948536
4789889185B174   TRAVIS          OLIVER                    AR     90013928918
4789B453491569   EVA             MORENO                    TX     90001664534
4789B747A61967   SPENCER         LABADY                    CA     90013167470
4789B84465B222   CHRISTIANE      YOPP                      KY     68083968446
4789BA1156182B   DICK            WILLIAMS                  IL     90015600115
4789BA9588B16B   JENNIFER        COOMER                    UT     90010330958
478B139829373B   DANIEL          WIERZBA                   OH     90004183982
478B1428955966   ALEJO           TALAVERA                  CA     90011984289
478B1539151334   ASHLEY          RIDNER                    OH     66007945391
478B1642A55966   HERLINDA        DADO                      CA     90014736420
478B216482B27B   MAYRA           LAZO                      DC     90005561648
478B2342261966   ROBERTO         PACHECO                   CA     90008893422
478B2562561945   JOSE ARTURO     FLORES                    CA     90010545625
478B2A82572B43   JANET           HUSCHER                   CO     90009030825
478B337712B27B   RAESHAWN        BUIE                      DC     90012483771
478B4159255966   AVIGAIL         IBARRA                    CA     90009971592
478B4195155927   ELVA            GUZMAN                    CA     90011961951
478B4774A55939   SERGIO          NAVA                      CA     90012607740
478B4827591394   SANDRA          VERBENA                   KS     90013498275
478B499528B355   LAQUANDA        ROBINSON                  SC     90012939952
478B587824B271   JOLENE          JARILLO                   IA     90013798782
478B6855A91394   RAJWINDER       KAUR                      KS     90013498550
478B78A9172B4B   MARIE           ARCHULETTA                CO     33002258091
478B814938B16B   ANDRES          VARGAS                    UT     90011741493
478B834315B174   KEVONTE         THORNTON                  AR     90015313431
478B871A961963   VICTOR MANUEL   PACHECO                   CA     90013087109
478B886A971999   JOSEPH          KAUTZ                     CO     90008938609
478B9217971999   RONALD          VALDEZ                    CO     90015262179
478B938875B58B   KEVIN           FOTI                      NM     90014923887
478B943834B271   JODIE           PARNELL                   NE     27078144383
478B9621172B36   JESUS           ROBELLADA                 CO     33072156211
478BB16A472B4B   HERMAN          STOCKTON                  CO     33037841604
478BB27865B551   ARNOLD          CHAVEZ                    NM     90002852786
478BB47A572B36   RAMONA          CHANDLER                  CO     90005604705
478BB55744B52B   SALVADOR        BOLANDIOS                 OK     90010925574
478BB6A6771999   JASON           ARCHULETA                 CO     38016956067
47912354672B4B   HECTOR          NAVARRO                   CO     90011923546
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4791336372B27B   WALTER        ROMERO                      DC     81017903637
47913662A5597B   LETICIA       CHAVEZ                      CA     49083136620
47914A74491394   APOLO         GARCIA                      KS     90012620744
4791526862B27B   JERRY         BLACKSTON                   DC     81019732686
4791615675597B   EMILIA        PATINA                      CA     90006471567
4791716A72B948   MATTHEW       BROWN                       CA     90014241607
4791743578B59B   JOSE          HERNANDEZ                   CA     90013794357
4791747234B259   JESSICA       CARR                        NE     27085434723
479177AAA8B16B   ANDREA LEE    STEELE                      UT     90011747000
4791829315B53B   JAZMIN        JARAMILLO                   NM     35060842931
479191A6391569   CINDY         SOLIS                       TX     75020291063
4791928448B355   COLEMAN       WILLIAM                     SC     90014262844
479193A125B53B   EMMA          LOPEZ                       NM     90011733012
4791974315597B   GENO          SAMS                        CA     90000717431
4791B216872B43   NIKORA        SHELLMAN                    CO     90014942168
4791B4A568B355   NATANYA       WALLACE                     SC     90006174056
47921474A72B36   SHAWN         MCGETTIGAN                  CO     90015194740
4792153A45597B   EFRAIN        CORTEZ                      CA     90013955304
4792161665B222   BARBARA       BARNHISEL                   KY     90012936166
4792283215597B   NORMA         LOPEZ                       CA     90012108321
479229A7872B4B   DALE          DETER JR                    CO     33069709078
4792351A75597B   LAURA         REYES                       CA     90009135107
4792387352B27B   EDITH         MENJIUAR                    DC     90012628735
4792467814B271   LISA          RAYNA                       NE     90012386781
4792484565B174   G             STACKS                      AR     90013968456
47924A6538B165   SARAH         DANIEL                      UT     31069860653
4792526A855966   HADEER        SALAMEH                     CA     90014722608
4792562725B58B   JOSE          LUCIO                       NM     35078116272
4792594128B16B   ALEJANDRO     MARTINEZ                    UT     31079019412
4792834785597B   CRUZ          PINEDA                      CA     49041773478
47928568672B4B   SHERRI        RAMIREZ                     CO     90013405686
47928816A4B271   KENDRAE       SNOODY                      NE     90013868160
479289A8855939   TRAVEESA      WILLIAMS                    CA     90011019088
479295A5651334   MANDY         STONE                       OH     66061735056
4792B136951326   ADAM          HONERKAMP                   OH     90011521369
4792B692855939   KENNETH       HEARST                      CA     90014316928
4792B789A63B67   DONNA         LOKIETKO                    IL     20568427890
4792BA22161967   NICOLE        GRACIA                      CA     90012290221
47932917172B36   OFELIA        CASTILLO                    CO     90013249171
47932A6445B53B   JULIAN        CHAVEZ                      NM     90013690644
479331A7A5B53B   DORA          MARQUEZ                     NM     35015351070
4793389138B355   JALISA        MASSEY                      SC     90005328913
47934346A2B27B   KEVIN         JOHN                        DC     90013323460
4793466AA5B222   PRECIOUS      HEREFORD                    KY     90014136600
47934A2665597B   CHAI          XIONG                       CA     90000970266
4793513A772B43   GABRIELA      GALLAGA                     CO     90002611307
47935A96172B36   PEGGY         ANN NOFFSINGER              CO     90002210961
4793657238B355   JILL          DULTON                      SC     90010025723
47936A83872B43   SILVIA        GONZALEZ                    CO     33077180838
47937477A5B58B   JOSE          SANCHEZ                     NM     90007094770
4793827945B53B   JOSEPH        LIND                        NM     35003042794
4793874482B229   CHARLISA      MARTIN                      DC     81004257448
4793879118B355   GARRET        GRAITHER                    SC     11087657911
47939379672B4B   JANICE        BADGETT                     CO     33092623796
47939A43772B36   ELSA          MARES                       CO     90006630437
4793B34A791394   JOHN          LAUVER                      KS     90003073407
4793B73135B174   PAULINO       PEREZ                       AR     23084997313
4793B79622B87B   ELIZABETH     COOK                        ID     41084697962
4794119835B53B   JESUS         RASCON                      NM     35071971983
47941995A72B36   ALICIA        LOPEZ                       CO     90000109950
4794233A561953   CRAIG         HUNTSBERRY                  CA     90012603305
4794293822B27B   SABRINA       DANDIRDGE                   DC     90009279382
4794317A25B174   LATREACE      MCPEARSON                   AR     90002811702
4794322344B526   MELISSA       HERNANDEZ                   OK     90004762234
4794327A991569   ISABELA       ARCHULETA                   TX     75016362709
4794353A45597B   EFRAIN        CORTEZ                      CA     90013955304
479435A5A91394   BRETT         WILSON                      KS     29024865050
47944198872B36   MAXIMILLIAN   FRESQUEZ                    CO     90012041988
4794435A85B174   SHAWNA        CARR                        AR     90013583508
479443A782B27B   PAUL          LEWIS                       DC     90013763078
47944612A91394   ALEJANDRA     GARCIA                      KS     29028236120
4794465618B355   CALVIN        MASSEY                      SC     11047336561
47944979872B4B   ROBERT        BARKER                      CO     33096719798
4794541A35B58B   JUSTINE       VALDEZ                      NM     90006024103
479455A8393755   ANGELA        PERRY                       OH     90006195083
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4794564815B174   YOLANDA           DICKERSON               AR     90008926481
479465A8955966   LEONARDO          SANDOVAL                CA     90012755089
4794799A372B36   ANTONIO           MARQUEZ                 CO     90012779903
4794861A85B222   DARRYL            CAIN                    KY     90014336108
479486AAA61963   SCOTT             CARLSON                 CA     46013836000
47948A1554B271   CHRISTINE         ROMERO-VERA             NE     90005600155
4794912995B58B   NANCY             VILLEGAS                NM     90011251299
479492AA551334   CHARISSA          SCURLOCK                OH     90014102005
4794931988B836   PIUS              CASIANO                 HI     90015083198
4794B42118B355   LATISHA           ANDERSON                SC     11026104211
4794B4A965135B   RASHEDA           MURPHY                  OH     90008744096
4794B826355966   LUPE              FOX                     CA     90013178263
4794B85485B222   STACY             FRENCH                  KY     68035108548
4794B965991988   JOYCE             PHILLIPS                NC     90006469659
4794BA1539183B   ANDREA            BURGESS                 OK     90012330153
4795117A991569   ORALIA            RIOS                    TX     90011471709
4795199A15B222   BRETT             ADKINS                  KY     90010789901
47951A51A5B53B   MAGDALENA         MARTINEZ                NM     90015220510
4795217A62B283   RENEE             BELL                    DC     90007821706
4795235A661963   MERVIN            REYES                   CA     90005703506
4795298163B394   JOVANNY           MELENDEZ                CO     90014999816
479536A5A55939   BRITTANY          MENDONCA                CA     90014566050
4795448115B58B   AMERICA           SALAZAR                 NM     35080084811
4795611184B271   TONY              THOMPSON                NE     27091481118
47956A13A91569   MARIA             RODRIGUEZ               TX     75009790130
4795737765B222   PHILLIP           SULLIVAN                KY     90013773776
47957A8438B165   CHARI             RAYNE                   UT     31079770843
47959319197B32   MYRNA             HERRERA                 CO     39055263191
4795B294A5B53B   MAXINE            VALENZUELA              NM     90014502940
4796171AA8B355   ROBIN             CLIFTON                 SC     90009157100
4796176765B53B   ROBERTO           CUEVAS RICALDAY         NM     35019467676
4796278578B355   SHASHAUNNA        BRADLEY                 NC     90014867857
47962A8A272B4B   LUZ               ARIAS                   CO     90009150802
47963866A72B43   EDILFONSO         BALBUENA-BALBUENA       CO     90012248660
4796474A95B174   JOSE              GALLEGOS                AR     90013427409
47964858572B43   JILL              REMIGIO                 CO     90004118585
4796524562B27B   MODUPE            SALAAH                  VA     90012172456
47965A5A85B58B   RENEE             LAJEUENESSE             NM     35013850508
4796644A155966   AMBROSE           FLORES                  CA     49010784401
479665A9472B4B   NEHEMIAH          TREJILE                 CO     33014535094
47966853172B36   JAVIER            CASTILLO VALLE          CO     33086838531
47966A9845B53B   ALMA              TERRAZAS                NM     90006690984
47968A5825B58B   ROSE              MARTINEZ SORIA          NM     90009310582
4796967A68B16B   STACEY            ORWAN                   UT     31081796706
47969A3885597B   EVER              BERMUDEZ                CA     49030100388
4796B391772B4B   NAVARRETE         JASMINE                 CO     90010743917
4796B78578B355   SHASHAUNNA        BRADLEY                 NC     90014867857
479712A6384371   JANETTE           CAMPBELL                SC     90005182063
4797154435597B   EDDIE             NIXON                   CA     90013955443
4797231852B27B   DONTE             POE                     DC     90014713185
4797258A251348   ANGELA            LEWIS                   OH     90013335802
47972668472B4B   MONICA            FERNANDEZ               CO     90011476684
4797326718B355   HEATHER           CANNON                  SC     90014252671
4797334A555966   BERNICE           AHUMADA                 CA     49087593405
4797465498B169   DANIEL            MEZA                    UT     90008206549
47974AAAA4B271   VIOLET            GOODWIN                 NE     27090420000
479754A1471999   ELIZA JARAMILLO   JARAMILLO               CO     90011994014
4797588A831432   V                 ROBERTSON               MO     90009098808
47975929A8B165   JAYMIE            CHANEY                  UT     31059829290
47975934172B36   DONALD            PEIFFER                 CO     90007589341
47976156972B36   JOSE              RIVERA                  CO     33027741569
4797771854B271   MICHELLE          LOVELACE                NE     27000487185
47977A7148154B   LUKE              MATRAS                  IL     90000800714
4797913934B271   BECKY             SCOTT                   NE     90010221393
479792A7861967   PAUL              ACCARDO                 CA     46010332078
4797B38528B165   EBENEZER          AUTO REPAIR             UT     90004093852
4797B54435597B   EDDIE             NIXON                   CA     90013955443
4797B993891569   JUAN              RODRIGUEZ               TX     90007059938
47981722A5B53B   KAREN             WILSON                  NM     90015587220
4798176544B271   DANA              PENNING                 NE     27001457654
47981A78951334   MAIA              JOHNS                   OH     90009380789
4798381355B53B   JORGE             ESCOBEDO-ALONSO         NM     90013518135
4798383AA5B222   DIAHANNE          WOODFORD                KY     90013988300
47983A51A5B53B   MAGDALENA         MARTINEZ                NM     90015220510
4798511827B452   BRITTANY          WILSON                  NC     90001231182
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4798529A25B53B   LORINDA         CASTILLO                  NM     90010992902
4798715162B27B   LEOPAULDO       PARKER                    DC     90012861516
47987A54461963   JOHANA          RUBIO                     CA     90007800544
4798819472B895   TRAVIS          LOGSDON                   ID     90000671947
47988821A8B165   SHERRY          MONGER                    UT     31004798210
479896A7A5B53B   HERNANDEZ       MIRELLA                   NM     35093986070
4798B25575B53B   ROBERTO         DE LA CRUZ                NM     35071882557
4798B518572B43   NOE             MEDRANO                   CO     90005195185
47991397772B43   NATALIE         BAUMLE                    CO     90006893977
4799148635B372   DARROLL         DECKER                    OR     90013124863
4799229395597B   JOSH            WESTON                    CA     49001872939
47993554A91523   R               MARIA                     TX     75057125540
4799362165597B   DANIEL          BAKER                     CA     49017756216
4799451425B58B   JUAN            SANDOVAL                  NM     90014805142
4799478745B222   SAMANTHA        BALLENGER                 KY     90006067874
4799524898145B   STEEVIN         RUIZ                      PA     90015352489
479954A5461963   LIZ             FLORES                    CA     46047914054
47996328172B43   ANTHONY         TRUJILLO                  CO     90014793281
4799654635B395   BRIAN           PARMER                    OR     90003025463
4799663115597B   PORFIERO        MOJICA                    CA     90010046311
47996A8658B355   MIGUEL          ALVARADO                  SC     90014890865
479977A265B58B   ARMIJO          ARMIJO                    NM     90003667026
47997A8658B355   MIGUEL          ALVARADO                  SC     90014890865
479985A512B27B   HAREGU          DANIELS                   DC     81059685051
4799888788B355   KIMBERLY        BARBER                    SC     90002528878
47998938A5B58B   MELVIN          SALAZAR                   NM     90014999380
47998A3765B174   JAMAL           LAWTON                    AR     90014090376
47998A65A93767   ABERNATHY       GEORGE                    OH     90009760650
47999344272B43   FRANK           SCHUELLER                 CO     90007153442
4799948A693741   KATHERINE       FLINT                     OH     64522054806
4799955595597B   LORENA          BUSTOS                    CA     90013955559
47999A7A255966   TITO            PENA                      CA     49037220702
4799B431A71999   AYDAN           GILLAN                    CO     90008084310
4799B762772B43   AMBER           JACOBS                    CO     90008957627
479B117394B271   EDOH            KOFFI                     NE     90008501739
479B11A1891394   KAN             CHANCE                    KS     90008721018
479B138A95597B   BENJAMIN        ROBINSON                  CA     90013963809
479B1588855939   JORGE           MEJIA                     CA     90005795888
479B1736291394   KARI            CHANCE                    KS     90012767362
479B192295B53B   LUZ             CHAVIRA                   NM     90012989229
479B25A3161547   MARIA           ESPEJEL                   TN     90015425031
479B3466991394   WILFREDO        PERDOMO                   KS     90013494669
479B349745B222   KELSI           CALHOUN                   KY     90003044974
479B3732372B4B   BRYAN           BARNES                    CO     90008017323
479B4718372B36   SAMUEL          ANDERSON                  CO     90015087183
479B517586198B   TAVIS           COUCH                     CA     90007851758
479B588395B58B   ASHLEY          ROYBAL                    NM     90004818839
479B5949A72B43   PAUL            HAUSEMAN                  CO     90001379490
479B6245861963   TIFFANY         RAE                       CA     90012222458
479B7654561967   AMANDA          BOYLE                     CA     90005396545
479B7662A5B53B   GEORGE          MONTANO                   NM     35029976620
479B8228172B4B   ELIZABETH       PARSONS                   CO     90010232281
479B8789A51334   LUTRICIA        LUMAINE                   OH     90011917890
479BB1A4A91569   ALEJANDRO       RIVERA                    TX     90012631040
479BB429861963   DRAGON          MCFLYERS                  CA     90006834298
479BB5A5A5597B   AURORA          GOMEZ                     CA     90013955050
47B11152691569   ANGELICA        RIOS                      TX     90010741526
47B11395A5B222   CECILIA         JOHNSON                   KY     90008823950
47B1232A42B27B   DARRIAN         TABBS                     DC     90015023204
47B12542251334   SHANNON         JONES                     OH     90000855422
47B12A94691394   CAROLINA        HERRERA                   KS     90013020946
47B1341A55B174   MICHEAL         WILKINS                   AR     90009054105
47B14651A55966   FRANCISCO       ARELLANO                  CA     90013316510
47B14685372B43   MISTY           MUNIZ                     CO     33057766853
47B146A655B53B   MIREYA          MEDINA                    NM     90012166065
47B15153572B36   BEVERLY         BOGUNOVICH                CO     90015131535
47B15A3A45597B   RANDY           TOVAR                     CA     90013150304
47B16431261967   MONICA          GONZALEZ                  CA     90007514312
47B1654775B222   TAMEKIA         PARKER                    KY     90011585477
47B1676A155939   DION            BRAWLEY                   CA     49034267601
47B1689795B174   ERICO           GARCIA GIL                AR     90010818979
47B1741694B271   KENNY ROLANDO   TARACENA HERRERA          NE     90013934169
47B1756145B222   COBI            MORRIS                    KY     90012475614
47B17867A51334   DIANNEA         NOELKER                   OH     90006678670
47B1793625597B   DIEGO           MACHUCA                   CA     90011379362
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47B17A12761963   PATRICK        WILLS                      CA     90009590127
47B1862555B53B   BEVERLEY       ALLRED                     NM     35081376255
47B18815251334   REGINA         LEMONS                     OH     66089088152
47B1899752B27B   PAYGO          IVR ACTIVATION             DC     90010639975
47B18A94691394   CAROLINA       HERRERA                    KS     90013020946
47B19522772B43   BELKIS         CASTRO                     CO     90007035227
47B1BA36A5B53B   ROSEMARY       RITCHEY                    NM     90015280360
47B21438372B4B   NICOLETTE      MEDINA                     CO     33098654383
47B21695A91394   NANCY          GRACE                      MO     29081266950
47B2324275B58B   TRISTIN        ROGERS                     NM     35073432427
47B2348134B271   HEATHER        SCHMIDT                    NE     27024564813
47B2349154B546   DIANA          DAWSON                     OK     90007804915
47B23556755966   MARIBEL        BON                        CA     49008285567
47B23588891569   DALILA         PORTILLO                   TX     75062215888
47B23598472B43   GREGORY        GARDNER                    CO     90009735984
47B23696931449   GOITOM         TESFAMICHAEL               MO     90011156969
47B23785972454   WILLIAM        HALEY                      PA     90002867859
47B2385A661963   CARRIE         NORTON                     CA     46085528506
47B24265161967   MIGUEL         GUERRERO                   CA     46034582651
47B24616772B4B   MICHEAL        WALKER                     CO     90014116167
47B2541A85B174   JADA           SHTON                      AR     90015394108
47B25424272B4B   DOMINIC        GRANADOS                   CO     33085934242
47B25538572B36   M.REZA         KHIABANI                   CO     33085415385
47B2555A17B824   SUSANA         CRUZ                       IL     90010425501
47B26135572B4B   NORMA          BRAVO                      CO     33007401355
47B2635575B53B   CRISTOPHER     BUSH                       NM     90013083557
47B26767A5B58B   JOHN           LITTLEMAN                  NM     35049477670
47B2694585597B   ELIZABETH      SCHEIDT                    CA     90013949458
47B27253551338   DAVID          HERTLEIN                   OH     90008502535
47B2748635B53B   ANNETE         APODACA                    NM     90011194863
47B2757A991569   HAIDE          URDAIBAY FERNANDEZ         TX     90015285709
47B27715555966   ROBERT         FLORES                     CA     90007017155
47B27992461967   DEJUAN         WILMORE                    CA     90015159924
47B2827A472B36   AGUSTIN        QUINTANA                   CO     90000272704
47B28653991527   CECILIA        DE LEON                    TX     90011936539
47B2B459A72B36   JESSE          THOMAS                     CO     90013784590
47B3116315B174   EVELYN         MENCHUE                    AR     23043591631
47B31877176B48   JOHN RICHARD   BAILEY                     CA     90012598771
47B321A3461945   GABRIEL        AGULIAR                    CA     90010771034
47B3233295B555   JOEY           LUERAS                     NM     90011893329
47B32473791394   BRANDY         RIGHT                      KS     90010624737
47B32736872B4B   AARON          MAES                       CO     90014637368
47B32A2133B32B   CHERI          ELLIS                      CO     33000840213
47B33252791569   DIANA          LOYA                       TX     90013192527
47B33451A72B43   BRITTANY       MONTOYA                    CO     90012274510
47B3376465597B   MIRIAM         LOPEZ                      CA     90014427646
47B33A89655966   PAULA          FARFAN                     CA     49058630896
47B346A725597B   JAMES          MERCER                     CA     49087156072
47B3515A951334   ANDREA         SANSONE                    OH     90015101509
47B36338955939   MARIBEL        GONZALEZ                   CA     49085873389
47B36755455947   KAREN          MENDOZA                    CA     90009767554
47B368A462B87B   KEVIN          HARRIS                     ID     90012398046
47B36923361967   FREDERICK      BROWN                      CA     90012799233
47B37357891569   FERNANDO       LOPEZ                      TX     90015313578
47B3919255B53B   BYRON          AGUILAR                    NM     35092131925
47B39917191988   OLADOYIN       IRANLOYE                   NC     90006069171
47B39A6AA22463   SERGIO         PALACIOS                   IL     90013880600
47B39A76491523   MARTIN         ARAIZA                     TX     75056650764
47B3B57975B174   TAYLOR         PARCHEL                    AR     90010685797
47B412A435B551   TERRI          AGUIRRE                    NM     90015052043
47B41438571999   ALEX           RODRIGUEZ                  CO     90010224385
47B42322261963   ALFREDO        MARTINEZ                   CA     46088913222
47B4273195B222   SANDRA L.      DENNEN                     KY     90013987319
47B4318825B53B   IMANI          JACKSON                    NM     90014381882
47B43A18A61963   RICHARD        FORTENBERRY                CA     46044690180
47B44455655939   JOEY           AZUGI                      CA     90014634556
47B446A624B259   HECTOR         DIAZ                       NE     27057006062
47B4478258B355   LATICE         NORRIS                     SC     90012787825
47B4512A872B36   RYAN           HERSEL                     CO     90010421208
47B45159591394   JUAN           GONZALEZ                   KS     90015291595
47B45381597969   YULEMIA        OCHOA                      TX     90014803815
47B45464A72B4B   KRISTINE       WILFLEY                    CO     90003744640
47B4549AA2B87B   MONICA         MORRIS                     ID     41077854900
47B45928271999   TYLER          CROSS                      CO     90013259282
47B4659A15B53B   KELVIN         GARCIA                     NM     90014025901
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 2121 of 2350


47B47178751361   GLENDA         JONES                      OH     66006601787
47B47471191569   RUBEN          RODRIGUEZ                  TX     75074424711
47B48775272B43   AVA            ROBLES                     CO     90014617752
47B49487661967   SANDRA         RECINOS                    CA     90011014876
47B49965A55966   IVAN           CORTEZ                     CA     90014789650
47B49A85291331   ROBIN          PRICE                      MO     90008890852
47B4B399747871   ANTONIO        TENNYSON                   GA     14067303997
47B4B8A338B165   KIM            HOOVER                     UT     31097718033
47B51392155939   TIA            YANG                       CA     49090823921
47B5156375B174   ANTONIO        RODGERS                    AR     23082345637
47B5171A272B36   ERIN           LUCERO                     CO     90009537102
47B51738871999   TOMMY          MCCLEAR                    CO     90012067388
47B52664572B28   MARGARITA      MUNOZ                      CO     90011046645
47B5314A94B259   RICK           SCHU                       NE     27017641409
47B533A3A51334   MICHAEL        VICK                       OH     90015123030
47B5368488B16B   DESSIE         ALLISON                    UT     31047706848
47B53966672B4B   STEPHANIE      STATZ                      CO     90005979666
47B54221473264   KAREN          PARKER                     NJ     90014382214
47B54943291569   RICARDO        VALENZUELA                 TX     90014189432
47B551A685B174   IRIS           ST CLAIR                   AR     90014741068
47B55356371999   LINDA          CRESPIN                    CO     38031993563
47B55433A5B53B   PATRICIA       RODGERS                    NM     35060934330
47B55819A8B355   MARIA ISABEL   BARRALES                   SC     90013828190
47B56212A4B271   KORYNNE        LYLES                      NE     90014922120
47B5634445597B   ROSEMARIE      MARTINEZ                   CA     49047753444
47B57265755939   EVA            HERNANDEZ                  CA     90014472657
47B5896A891988   TALISA         RUTLAND                    NC     17066839608
47B595AA191394   JOSE           HERNANDEZ PEREZ            KS     90004275001
47B59617172B43   DARREN         SILVEY                     CO     33007996171
47B59829991873   DONNIS         VASQUEZ                    OK     21046368299
47B59952772458   DIANA          LITZENBERG                 PA     90013879527
47B59AAA28B165   MONICA         LUCERO                     UT     90005320002
47B5B27792B27B   LENICE         SOUZA SHIBATTA             DC     90014892779
47B5B329761963   ERIC           SPRY                       CA     90010703297
47B5B867A51334   DEARIES        PATTON                     OH     66011698670
47B5B96365597B   RUDY           VALDEZ                     CA     90013949636
47B6145735B174   SHERRICH       HAMPTON                    AR     90014394573
47B6196378B355   CHRIS          COOKE                      SC     90013989637
47B6217584B546   CODY           HAMPTON                    OK     90014701758
47B631A495B222   JASON          CURRY                      KY     90002221049
47B63322A2B87B   AMADO          CAN-CHAN                   ID     41069223220
47B63846872B36   LYNN           RANDOLPH                   CO     33063208468
47B63971871999   GUADALUPE      HERRERA                    CO     90009619718
47B64226593769   CHRIS          DAVIS                      OH     90005382265
47B64351177341   PATRICIA       RICHARDSON                 IL     90014753511
47B6481548B355   FRANCISCO      JAVIER                     SC     90015428154
47B6537615B58B   RAMON          IBARRA                     NM     90005673761
47B6556AA72B43   CESAR          DURON                      CO     33079445600
47B65694691523   IVAN           MARQUEZ                    NM     75011096946
47B6648747B389   SILVESTRE      MIRANDA                    VA     81068934874
47B6678844B271   ADAM           HANNA                      NE     90014547884
47B6726A161967   ISAAC          LIRA                       CA     90008842601
47B6786692B87B   TUEVO          ORJALA                     ID     41077888669
47B6786915B58B   ADRIANNA       RAMIREZ                    NM     90007358691
47B68226971999   JOHN           HARDY                      CO     38093222269
47B69583672B4B   ICE            BABY                       CO     90008615836
47B6B358161967   VERONICA       PASTENES                   CA     46045033581
47B6B44A491988   DIANNA         MORRIS                     NC     17025884404
47B6B624451334   MOISES         MENDOZA                    OH     90013536244
47B6B873872B36   WENDY          CHEEVER                    CO     90012408738
47B71392972B43   LORENE         TAYLOR                     CO     90005273929
47B71442155966   CATALINA       MATEO                      CA     90012414421
47B7146475B53B   ERNESTO        TRUJILLO DE LA TORRE       NM     90012494647
47B71728372B36   JARROD         BATE                       CO     33047887283
47B71745191873   BRIAN          GIVENS                     OK     21033607451
47B71932793769   JOHN           WELCH                      OH     90014179327
47B7252A472B4B   DELFINO        MIRANDA                    CO     90014975204
47B72672471999   KRIS           HARP                       CO     38087106724
47B7273365B53B   ADELA          MORALES                    NM     35063747336
47B7281115B58B   CYNTHIA        SALAS                      NM     90013088111
47B72946361547   WILLIAM        SMITH                      TN     90015519463
47B73268172B4B   JOSE           ESTRADA                    CO     33090262681
47B7354A655939   BRITTON        SHIRLEY                    CA     49035905406
47B73A4275B53B   TYRONE         PORTIS                     NM     90014760427
47B7488838B16B   CINDY          CHASE                      UT     31076278883
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47B74981A51334   SANDY        MCINTYRE                     OH     90010569810
47B75A2A172B23   GARY         VALDETERO                    CO     90013420201
47B76178991394   MARIA        CHAVEZ                       KS     29035371789
47B7632484B259   ANTHONY      SISSEL                       NE     90001343248
47B7657714B943   CYNTHIA      HADLEY                       TX     90001445771
47B77195972481   MELISSA      CASTIGLIONE                  PA     90009321959
47B77479571999   CAROL        SIMPSON                      CO     90010404795
47B77922991569   ELIZABETH    MEDINA                       TX     90012139229
47B788A7791394   KAREN        GONZALES                     MO     90014158077
47B78A93461967   BELINDA      LLILES                       CA     46065760934
47B7918A85B222   MARTHA       CAMPBELL                     KY     90012571808
47B7949A88B355   NELSON       RIVERA                       SC     90007854908
47B7B24455B58B   ANTHONY      PEREA                        NM     35043102445
47B81492872B36   SILVIA       LOZANO                       CO     33085734928
47B8167A372B4B   MELISSA      FIELD                        CO     33063106703
47B82189391569   EMMANUEL     VALENZUELA                   TX     75021481893
47B83AA335B222   CATRINA      FISHER                       KY     90012050033
47B84957172B36   TAMARA       HAGEY                        CO     90010659571
47B84992471946   KATHERINE    STEELE                       CO     32083249924
47B84A4898B16B   JAMES        CLEMENTS                     UT     31091340489
47B85459A72B36   STEPHEN      HUNT                         CO     90013254590
47B86356161967   ILARIA       VALLADOLID                   CA     46057703561
47B86385355939   RONNIE       LOWE                         CA     90011013853
47B8672882B23B   JODY         JOHNSON                      DC     90013207288
47B8676A561963   SHERRY       REGAN                        CA     90013827605
47B86913271999   JUDITH       BRYANT                       CO     90010269132
47B8746A376B88   MARIA        VERGARA                      CA     90009994603
47B87793461967   JESUS        GARCIA                       CA     90012157934
47B87A38861963   CRYSTAL      CUNNINGHAM                   CA     46042050388
47B8822527B468   GABRIELLA    BAHENA                       NC     90013112252
47B88882391394   MELISA       MCDANIEL                     KS     29069358823
47B8933295B58B   STEPHANIE    LOPEZ                        NM     90006203329
47B8945A991394   VICTOR       BONILLA                      KS     90012694509
47B89531A71999   EDIE         TROTTI                       CO     90008125310
47B89711793769   CEIRA        MOYERS                       OH     90010397117
47B8978A591569   ALBERT       SHARKIS                      TX     90013837805
47B8B251861963   ROXANA       VALDEZ                       CA     90011432518
47B8B38154B271   AMANDA       NORTH                        NE     90009513815
47B8B415161967   ARMIDA       ALDANA                       CA     90013004151
47B8B76755597B   IVAN         PEREZ                        CA     90001007675
47B913A7755966   TERRY        PLATA                        CA     90012803077
47B9169AA54132   RAUL         LEON                         OR     90015216900
47B91A96655939   ALFREDO      GARCIA                       CA     90008240966
47B9265715B375   CHRISTINA    HEUER                        OR     90009886571
47B92A93991569   DIANA        GOMEZ                        NM     90013400939
47B93738391569   CPNSUELO     GRADO                        TX     75082627383
47B95938391569   OFELIA       ARANDA                       TX     75071819383
47B96391961963   NORITA       ULEP                         CA     90013963919
47B963A2391394   JAMEN        HEINTZELMAN                  KS     29049583023
47B9689545B53B   MEAGAN       MAXEY                        NM     90014788954
47B9694715B174   MICHAEL      HILL                         AR     23071179471
47B97136591394   GERALD       ZACHARY                      KS     90007991365
47B97357455966   JESSE        JAIMES                       CA     90004853574
47B977A485B53B   VALORIE      PHILLIPS                     NM     90012997048
47B98418591394   JUAN         MORALES                      KS     90015144185
47B9854412B27B   DUMISANI     SIBANDA                      VA     81090815441
47B98A9AA72B23   LYZA         KAZADI                       CO     90010670900
47B992A8155966   IGNACIO      SANDOVAL                     CA     49096642081
47B99853251334   DONALD       JORGENSON                    OH     66081118532
47B9B1A7155939   BARBARA      PATTEE                       CA     49082331071
47B9B621461967   ROCIO        FLORES                       CA     90001306214
47B9B97385B222   LISA         THOMPSON                     KY     90014809738
47B9BA77777522   LUZ          BUSTOS                       NV     90000880777
47BB1289A72B36   J THEO       PARKER                       CO     33085612890
47BB148694B261   JAMES        STRONG                       NE     90011254869
47BB14A145597B   MICHAEL      CHEDRICK                     CA     90014804014
47BB264235597B   CARLOS       RAMOS                        CA     90012296423
47BB266466195B   RUFUS        GARCIA                       CA     90002966646
47BB2956A61967   CASSANDRA    BOURQUIN                     CA     90012589560
47BB3653391569   MARIBEL      TALAMANTES                   TX     90012336533
47BB393415597B   JOSHUA       MCCONNELL                    CA     90013949341
47BB3A99655939   NOEL         ZAMUDIO                      CA     90008290996
47BB4338991569   DALIA        CASTILLO                     TX     75055803389
47BB438219127B   ROBERT       PHILLIPS                     GA     14503523821
47BB4384455966   JORGE        VALDEZ                       CA     90001643844
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47BB4537255939   MARIA          JIMENEZ                    CA     90009585372
47BB4A4764B271   TIPHANIE       FAULKNER                   NE     90014600476
47BB5244891569   DANIEL         YOUNG                      TX     90012132448
47BB5371871999   SHEA           HOFFMANN                   CO     90010623718
47BB641A78B156   IRMA           SUSTIATA                   UT     90006054107
47BB689524B271   JEAN           TOOHER                     NE     27059838952
47BB7444431673   MARIA          ESPARZA                    KS     22056664444
47BB782244B271   JUAN           HERNANDEZ                  IA     27072998224
47BB876325B58B   JONATHAN       SANCHEZ                    NM     90013927632
47BB87A6655939   GE             MOUA                       CA     49012107066
47BB911A871999   MICHAEL        ARAGON                     CO     90012741108
47BB965A35B53B   AMARIS         BENAVIDEZ                  NM     90012556503
47BB993334B526   SONIA          OFTIS                      OK     90008419333
47BB999595597B   ESPERANZA      NERIO                      CA     49000499959
47BBB48225597B   MARISOL        AVELAR                     CA     90014624822
47BBB55647B497   ASHLEY LYNNE   YOUNG                      NC     90008185564
48111334A51354   DEIDREA        POWER                      OH     66078173340
48111A1545597B   SARAH          GONZALES                   CA     90014540154
4811232AA5B58B   ANTONIA        VILLALOBOS                 NM     90010723200
4811234775B174   SHERITAH       WILLIAMS                   AR     90014703477
4811289699137B   CLAUDIA        CLARK                      KS     90014758969
4811293475B53B   ARNULFO        HERRERA-REYES              NM     90014819347
48113173872B36   SHANE          BLACKBURN                  CO     33081181738
48113357472B43   SHAKAYLA       HOWARD                     CO     90012483574
48113A64A5597B   WILLIAM        HARRIS                     CA     90010130640
481149A7272B35   RICARDO        BLANCO                     CO     90011729072
4811522568B16B   JESSICA        ANGELL                     UT     90008852256
4811556365B58B   JOSE           PUENTES-SANCHEZ            NM     90012245636
4811585498B16B   RICHARD        CALL                       UT     90014578549
4811614145B53B   DARLENE        EDWARDS                    NM     90014481414
481164A853B385   WILLIAM        TRIMBLE                    CO     90013064085
48116572A91394   DEBRAH         SILVA                      KS     90011385720
481174AA25B53B   CARLOS         IMPERIAL                   NM     90012474002
481177A7671999   AMBER          DESHON                     CO     90008377076
48118A76877595   ROBERT         KOPERSKI                   NV     43077240768
4811989275B222   RAYSHON        GILL                       KY     68071878927
4811B659191988   ABDELA         IZET                       NC     90014346591
4811B936791569   MONIQUE        ADAME                      TX     90014469367
48121884872B4B   SELENE         CECENA LOPEZ               CO     90011888848
48122199772B36   AMERI          ROMERO                     CO     90007391997
4812269A791988   VENISHA        ALLEN                      NC     90013696907
48122A8795597B   GUALUPE        MENDEZ                     CA     90005190879
48123229A8B16B   MISTY          ALIRES                     UT     31048952290
48123649272B43   BRYCE          HUBBLE                     CO     33080496492
4812384392B27B   JULIUS         WILLIAMS                   DC     90014158439
4812387A551334   DAIMON         AIKMON                     OH     90011498705
4812493115B174   DESMOND        FULLER                     AR     23098499311
4812493475B53B   ARNULFO        HERRERA-REYES              NM     90014819347
4812547945B222   ANNETTE        GRAVES                     KY     90013764794
481258A4272B36   KOLE           DAVIS                      CO     90013198042
4812647514B271   SHEREE         WHEELER                    NE     27008754751
4812685A371999   EXCALIBUR      NOLOER                     CO     90015038503
4812733924B259   CORRISSA       THOMAS                     NE     27055443392
4812763A872B36   JAMES          CRONOBLE                   CO     90013066308
4812818228B167   GONZALO        PEREZ                      UT     90008551822
4812933A75B174   ANDREA         LEWIS                      AR     90013333307
4812953A191569   JOE            ALDERETE                   TX     75095335301
4812B1A1672B4B   MANUEL         CERVANTES                  CO     90010661016
4812B62238B16B   KAREN          WOODRUFF                   UT     90002226223
4812BA78991394   FABIAM         ROJO MARQUEZ               KS     90003240789
481314A4771999   ANASTAHSIA     KELLY                      CO     90015264047
48131513A91569   GUSTAVO        TORRES                     TX     90011945130
4813199A672B43   ADRIANA        VICTORIANO                 CO     33023329906
481319AA18B167   AURELIO        GARCIA                     UT     31095249001
4813291A191988   IESHIA         BULLOCK                    NC     90010129101
481335A9671999   JAIME          GONZALES                   CO     90013115096
481337A384B271   CASILDA        CONTRERAS                  IA     27065627038
481342A2971999   EURIAH         RICHARDSON                 CO     90009872029
4813482252B27B   EMERITA        MERCADO                    DC     90004528225
481353A138B165   ATHENA         CLARK                      UT     31094253013
48135426372B36   HIROHIKO       FUTAKAMI                   CO     33014544263
4813699962B27B   DIANA          LEWIS                      DC     81020639996
4813728345B174   TANYA          JACKSON                    AR     23075092834
4813792272B87B   CHRISTINE      TAYSAN                     ID     90008059227
481379A4472B4B   IVAN           TORRES                     CO     90008989044
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4813928865B174   VERONICA     GOMEZ                        AR     90012612886
48139393772B4B   JAMIE        KOVAL                        CO     33089903937
4813B147561963   LAIKARA      REED                         CA     90012041475
4814193862B87B   BRIANNA      JEWETT                       ID     41049279386
4814374A891873   GABRIELA     PEDROZA                      OK     21036197408
4814387365B53B   LEO          DURAN                        NM     90014808736
4814496478B16B   CIRO         AVILA                        UT     90014419647
4814612928B16B   DAMIAN       ADAMS                        UT     90011971292
4814621885B395   HORTENCIA    HOYOS                        OR     90010902188
48146316272B47   HERMINIO     ENRIQUEZ                     CO     90006663162
48147316272B47   HERMINIO     ENRIQUEZ                     CO     90006663162
48148518972B4B   DESIREE      FERNANDEZ                    CO     90011505189
48148927957B61   DEOFILA      MENDOZA                      PA     90014649279
4814896794B271   MARY         BUTLER                       NE     90007259679
48148A4768B165   MICHEAL      MITTS                        UT     31090320476
4814984535B53B   ASHLEY       ANZURES                      NM     35081178453
4814998A772B4B   CONA         COMMUNICATIONS               CO     90009279807
4814B387361986   ZAYDE        BARCENAS                     CA     90012033873
4814B45A85B55B   AARON        NYSWONGER                    NM     90013654508
481511A4177595   EDDIE        VELASQUEZ                    NV     43002481041
4815136788B165   LORSON       JOHN                         UT     90005773678
4815159335B222   DDEEPAK      GURUNY                       KY     90014845933
4815181455B53B   SYLVIA       MARQUEZ                      NM     35090238145
4815191A191569   MARTIN       JUNIO                        TX     90010859101
48151A3255597B   BEATRICE     RAMOS                        CA     90007400325
4815293635B53B   JASMIN       PEREZ                        NM     90014819363
4815523762B27B   MARVIN       MENJIVAR                     DC     90009492376
4815582618B165   CODY         OLSEN                        UT     90001318261
481558A2672B4B   THERESA      GUARDIPEE                    CO     90004108026
4815694485B53B   TIFFANY      KING                         NM     90014819448
4815779A391956   JOSE         PEREZ                        NC     90007037903
48157951157B61   KRISTINA     CHEVALIER                    PA     90014509511
48158232272B36   MIKE         BANUELOS                     CO     33075042322
48158662774B8B   JASON        JOHNSON                      OH     90014466627
48158A8825B53B   HAROLD       MANGAN                       NM     35003630882
48159422A5B174   DOMINIQUE    WILLIAMS                     AR     90012554220
4815B83485B58B   JOHN         WAGNER                       NM     90014158348
4815B85638B165   JOANN        BECK                         UT     31006438563
4815B882172B38   TYLER        BOHN                         CO     33096038821
4815B93475B53B   ARNULFO      HERRERA-REYES                NM     90014819347
4815B956747941   GEORGE       JOHNSON                      AR     90014129567
4815BA75586453   ZAKIYYAH     JOHNSON                      SC     90010990755
4816196475B222   LORI         EPPLER                       KY     68042299647
48162492A5597B   SARA         ORTIZ                        CA     90014824920
4816323A161963   EVA          RANGEL                       CA     90013182301
4816356145B378   LAURA        MENDOZA T                    OR     90007255614
48163724272B43   JOE          NUZ                          CO     90014167242
4816394528B16B   RICKY        WOLVERTON                    UT     90013389452
48163AA669155B   ALFREDO      LUEVANO                      TX     90011190066
4816421655B222   RACIEL       TAMAYO                       KY     90014902165
481643A475B395   TSHIASUMA    MUTARA                       OR     44588043047
48165376A91394   JESUS        RODRIGUEZ                    KS     90014793760
48165384A54151   TAMMY        LAWRENCE                     OR     90003463840
4816621A62B27B   SEBASTIAN    HENRIQUEZ                    DC     90002012106
4816715514B271   PORSHA       COOK                         NE     27006551551
48167419A72B4B   YASSER       ABOUAISH                     CO     90004134190
4816797445B222   GEORGIANE    COLE                         KY     90011689744
481685A6272B43   HERMINE      COCKINGS                     CO     90014885062
4816896755B37B   FERMIN       PEREZ                        OR     90004229675
48168A5A55B58B   RAQUEL       MOLINAR-CERECERES            NM     90014850505
4817129895B222   BRIAN        MCDOWELL                     KY     68043912989
4817177112B27B   AMADI        KITWANA                      DC     90013477711
48171934172B43   ISABEL       ZAPATA                       CO     33075869341
48171A48472466   SUSAN        FORD                         PA     90002200484
4817274724B259   TROY         OLES                         IA     27083837472
48172A2554B271   RAYNIA       HORTON                       NE     90010670255
48172AA892B27B   FATU         KOTEH                        DC     90014540089
481731A1672B4B   MANUEL       CERVANTES                    CO     90010661016
4817322128B165   LORIE        PEARSON                      UT     31078732212
481733A4A3B14B   PATRINA      BROWN                        DC     90011543040
4817375254B271   FRANK        HARRIS                       NE     27000377525
48173A3115B53B   STACIE       REED                         NM     90011170311
4817659782B872   CONNIE       FORGEY                       ID     42004275978
48176A32671999   SCOTTE       DANIELS                      CO     38088220326
48176A38951332   SCOTT        SMITH                        KY     90007160389
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48176A8183B234   JONALD       DESIUS                       DE     90015470818
4817741247B48B   SARA         PEOPLES-FOSTER               NC     90012724124
48177A41572B43   WILMER       VENTURA                      CO     90001120415
48178285A5597B   NICOLE       GREEN                        CA     90012872850
48179461A61967   NEFERTARI    I                            CA     90015014610
4817B12A191988   WILLIE       GODBOLT                      NC     90012001201
4817B219361963   WENDY        MOORE                        CA     90014612193
4817B33965597B   VERONICA     CAYETANO                     CA     49046353396
4817B552591394   ORLANDO      AGUIERRE                     KS     90014015525
4817B69215B53B   KENIA        PORTILLO RUIZ                NM     90011106921
4817B944361967   PAUL         SIGNOR                       CA     90012789443
4817B999958528   ASHLEY       WHITFIELD                    NY     90015569999
4818147788B16B   ERIC         CHENEY                       UT     90010374778
481817A894B271   MELINA       BAEZA                        NE     27007277089
48181A2555B58B   LIANA        ULLAND                       NM     90014640255
48181A6A45B174   LARRY        TURNER                       AR     90013810604
4818344652B27B   CHARLENE     JAMES                        DC     90007424465
48183778172B43   ALFREDO      CHACON                       CO     90002247781
48183811A72B4B   CALEB        PLYTER                       CO     90013378110
48184919172B4B   EVELIO       SOTO                         CO     33073359191
4818554A761963   GENARO       TERRAZAZ                     CA     90010005407
481856A8572B43   MARIO        FIGUEROA                     CO     33048646085
48185A9392B87B   ANTHONY      CADA                         ID     90000540939
4818681A78B16B   JAMIE        SWATE                        UT     90014588107
4818699535B395   DONNA        MARTIN                       OR     44578979953
4818729585B58B   JOSE         MUNOZ RODRIGUEZ              NM     35065332958
4818772115597B   DEITRA       SULLIVAN                     CA     49041157211
4818818742B87B   PATRICIA     MORRISON                     ID     41083861874
481894A4771999   ANASTAHSIA   KELLY                        CO     90015264047
4818B863672B4B   MARIA        LOMELI                       CO     90006848636
4819119322B395   PATRICIA     DUPAUL                       CT     90012601932
48191858572B4B   MARIA        GONZALEZ                     CO     90013248585
48191A4A85B53B   JAMES        ARAGON                       NM     35065110408
48192A54672B36   WENDALL      PRIDE                        CO     90012630546
4819357A44B546   NUVIA        CANO                         OK     90010525704
481935A3472B43   CRISTAL      DANIEL                       CO     90014145034
4819453575B395   ANGELA       JOHNSON                      OR     44583495357
48194625A91394   RUBY         JONSON                       KS     90014796250
4819491A871999   STEVEN       CRUZ                         CO     90007739108
4819493539376B   MARK         EFEVRE                       OH     90005799353
4819533955597B   ROBERT       RODRIGUEZ                    CA     90011983395
48196337172B43   SIMONE       HICKS                        CO     33068323371
4819665AA31959   RAHEEM       COLEMAN                      IA     90014236500
48196AA9791569   IGNACIO      HOLGUIN-BACA                 TX     90015290097
48198492A5597B   SARA         ORTIZ                        CA     90014824920
4819938515B174   GREGORY      FAIRMON                      AR     23021813851
481997A335B58B   KATHERINE    LUCERO                       NM     90010157033
4819991358B16B   RAUL         MORENO-PICHARDO              UT     90002839135
4819B218491394   LUISA        BALBOA                       KS     90013112184
4819B356672B43   CIERA        SPIRES                       CO     90012463566
4819B533672B43   GABRIELA     PEREZ                        CO     90011815336
481B146578B186   MARIO        LOPEZ                        UT     90002074657
481B1526191569   HILARIA      MONTIJO                      TX     75054615261
481B1719872B43   LINDA        ALVARADO                     CO     33074587198
481B1A49851334   SELINA       BARNETT                      OH     66094240498
481B258395B53B   JAMES        LEE                          NM     90014645839
481B268548B16B   TERESA       PANNULLO                     UT     90010996854
481B2937171999   TRACI        HOLTGREWE                    CO     90014479371
481B338318B165   CHRISTOPHE   GARCIA                       UT     31061733831
481B4A31791873   LUIS         SANCHEZ                      OK     21011330317
481B537165B58B   HUGO         GUTIERREZ-FLORES             NM     90014123716
481B5937791394   JESUS        LOPEZ                        KS     90014789377
481B6244591569   MICHELLE     TARANGO                      TX     75057822445
481B6535754191   EMILY        GRAHAM                       OR     90008735357
481B691448B16B   SEAN         JORDISON                     UT     90003059144
481B745825B395   LAWRENCE     NUNES                        OR     44546994582
481B7928851334   KITTY        BARRY                        OH     66076989288
481B815917B33B   ROSE         AKUTTA                       VA     81087161591
481B842A971999   GUDALUPE     ZAVALA                       CO     90013114209
481B852A22B87B   DANA         FORSBERG                     ID     90008995202
481B899615597B   BERTHA       FLOWER                       CA     49014749961
481B9223772B36   THERESA      MCCOY                        CO     90013172237
481B9463891988   JOSHUA       EVANS                        NC     90008954638
481B9845671999   CARLA        ALCON                        CO     38076278456
481BB167372B4B   DAVID        JOHNSON                      CO     33012851673
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481BB78515B58B   YORDANO        GUZMAN                     NM     90014347851
48211291872B43   ANGELICA       OROZCO                     CO     90000692918
48211A1795B222   CARLA          GUEVARA                    KY     90010430179
482121A3351334   HARVEY         EVANS                      OH     90014941033
48212251A5B53B   HOMAR          VARELA                     NM     90004832510
4821272A65597B   JOHN           TRUJILLO                   CA     90013927206
48212889A2B87B   IZAIAH         DOLEZAL                    ID     90006338890
4821313145B395   RAFAEL         BORGOS                     OR     90006121314
4821315275597B   PAULA          GONZALEZ                   CA     49001141527
4821434965B395   CHRISTOPHE     MARTIN                     OR     90001003496
4821489A477595   SHANNON        CAIN                       NV     90011098904
4821571575597B   CYNTHIA        RAMOS                      CA     49029517157
48215A7A171999   DUANE          SEVILLA                    CO     90011530701
4821644855B395   PROMISE        MARTINO                    OR     90000694485
4821679785597B   MELISSA        FONTANILLA                 CA     90012507978
4821741145597B   LILIA          HERNANDEZ                  CA     90014114114
4821784355B58B   ALEX           THOMPSON                   NM     90013888435
4821861A961967   ERNIE          MAES                       CA     90011946109
4821863887B445   MEIDY          HERNANDEZ                  NC     90010646388
48219768A8B594   JANIS          JACKSON                    CA     90014747680
4821B158193741   DALE           HUNTER                     OH     90003281581
4821B515491569   AARON          RUBIO                      TX     90009335154
4821B526661967   MICHAEL        WILLIS                     CA     46015655266
4821B594391956   FLORENCE       ALAWODE                    NC     17075995943
4821B6A4491394   SCOTT          DANIEL                     KS     29063406044
4822198785B174   JUAN           PENN                       AR     90015139878
48222479672B4B   SILVESTRE      BRAVO                      CO     90003914796
4822399519152B   OSCAR          SANDOVAL                   TX     75077759951
48224668872B36   TYLER          BORDEN                     CO     90012886688
482259A585597B   CHASE          DEWEY                      CA     90002489058
4822641522B27B   PAMULA         GLOVER                     DC     90011024152
4822664A85B395   JON            HERKENRATH                 OR     44560046408
4822676783364B   VICTORIA       SCHULTZ                    NC     12086607678
48228722A61963   SIMON          DIAZ                       CA     90001857220
48229344A71999   SP             CALLAHAN                   CO     38039353440
482293A225B348   JORGE          MIRANDA                    OR     90006443022
48229696872B4B   NANCY          ARIES                      CO     90011776968
482298A315B222   ANTWAN         MALONE                     KY     90013678031
4822B283272B36   RUBY           MONTELLANO                 CO     90007742832
4822B2A668B16B   ARMANDO        GOMEZ                      UT     90014492066
4822B8AA951334   DON            HAMPTON                    OH     90006898009
4822BA9A34B271   CURTIS         CLOWE                      NE     27085480903
482314A2671999   CARLAJO        HERRERA-SUAREZ             CO     38078314026
48231A5345B174   AMY            MCLAIN                     AR     90003960534
482321A8247977   SAULO          GARCIA                     AR     90014561082
482327A2591569   STEVEN         RODRIGUEZ                  TX     90005117025
48232862172B36   ANGELIQUE      HENDRICKS                  CO     90015108621
48232968A5B53B   FRANCISO       IMPERIAL                   NM     90011429680
48233364372B43   ANYA           MILLER                     CO     90008193643
4823381585B222   DARIN          HEREFORD                   KY     90003048158
4823512854B271   ALONZO         LAMB                       NE     27053181285
4823724A25B53B   MISAEL         PENA                       NM     90011402402
4823781335597B   TOOT           WALTON                     CA     90013458133
4823893A191569   RICHARD        ARELLANO                   TX     75003589301
48238A4A861963   ALEJANDRA      FERNANDEZ                  CA     46035380408
48239137472B4B   KIMBERLY       BURKHART                   CO     90012311374
4823B152851334   BRENDA         PRUDE                      OH     90015521528
4823B248A61963   ARACELY        CARDENAS                   CA     90014932480
4823B631691394   CHRISTINA      BATY                       KS     90001316316
4824219128B16B   LEE            HOLLINGSWORTH              UT     90000261912
482424A2671999   CARLAJO        HERRERA-SUAREZ             CO     38078314026
4824346725597B   SANGALOUN      KEOPHALY                   CA     90014034672
48245379772B43   ALFREDO        ALCALA                     CO     33001383797
4824599395B222   DEANGELO       CRAWFORD                   KY     90015199939
48245A5415597B   AARON          LARA                       CA     90014760541
48246154372B4B   MIRIAM         MORENO                     CO     90013371543
4824683315B58B   JOSE           RIOS                       NM     35034478331
48246973372B36   KHADIJAH       GULLEY                     CO     33038689733
48246A14184332   SHALMAN        HOLMES                     SC     19017780141
48247399372B4B   CECILIA        ANTHONY                    CO     90009653993
482495A4472B43   MA GUADALUPE   ORTIZ                      CO     90008555044
482499A2891988   MAREIRY        UMANA                      NC     90015039028
4824B182651361   LANGSTON       WARD                       OH     90000911826
4824B41A58B165   KARLA          DULFO                      UT     90004704105
4825158242B27B   ANTHONY        CONNER                     DC     90004985824
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4825283359152B   SANDRA        URIBE                       TX     90007848335
48253A14572B43   VICENTE       FERNANDEZ                   CO     33018130145
4825413435B395   PABLO         REYES                       OR     90006221343
4825455465B395   PABLO         REYES                       OR     90009355546
4825533644B271   BRANDON       MUTUM                       NE     27084153364
4825731AA91394   SHARON        BOYLE                       KS     90011713100
48257377172B43   MARTHA        RIVERA                      CO     33057283771
4825862AA9185B   JAMES         MORGAN                      OK     21062506200
4825928775597B   JOHNATHAN     CRIDER                      CA     90012872877
4825B884561963   DERRICK       WHITE                       CA     90011398845
4826178835B58B   MARY          BATES                       NM     90008537883
482625A5191569   RICHARD       AGUILERA                    TX     75055045051
4826262715B174   DERRICK       AVERY                       AR     90014686271
4826381555B58B   JESUS         VILLALOBOS                  NM     35084238155
48264A3845B53B   JESSICA       GREINER                     NM     35094520384
482655A2672B36   SEMELE        PLENTYWOLF                  CO     90014075026
4826623315B395   ANDREW        CRAVEN                      OR     44517132331
4826636245B222   ROGER         BARTH                       KY     68063793624
4826681A172B43   JOSE          ROMERO ESTRELLA             CO     90005098101
4826685625B376   JOAN          MAYO                        OR     90006788562
482682A6793769   MICHAEL       BLAIR                       OH     90008422067
482686A8661967   HERNANDEZ     IVAN                        CA     46035356086
482687AA95B222   AERIAL        THOMAS                      KY     90014837009
48268A7128643B   NESTOR        CRUZ                        SC     90014590712
48269762872B43   JEREMY        BENNETT                     CO     90008927628
4826995522B27B   MICHELLE      CARTER                      DC     90010069552
4826997A94B271   MICHEL        WEST                        NE     90006569709
48269A99561963   SERENA        PORTUGAL                    CA     90015290995
4827189745B222   GENEVA        CASE                        KY     90006778974
4827229977122B   ROBERTO       PASTRAN                     NE     90015492997
48272359172B38   ABEL          GUADARRAMA                  CO     90001123591
4827247665B53B   RACHEAL       VASQUEZ                     NM     35071414766
4827282A45B174   AMANDA        WILLIAMS                    AR     90007078204
48273366272B4B   ELIZABETH     BLEIFIELD                   CO     33094203662
4827448A291988   SHERRI        WALKER                      NC     90014834802
48274656A58528   RODET         PAHILI                      NY     90014436560
48275113772B36   MINZIM        RIVERA                      CO     90010921137
48275651172B43   DEBORAH       DOOLEY                      CO     33023886511
4827567A771999   DON           ESTRADA                     CO     38097466707
4827569A88B16B   KERYN         SORIA                       UT     90015036908
48275A2135B222   BECKY         WILSON                      KY     90001600213
48276156A61967   JOSE          MONTERO                     CA     90014681560
4827723248B16B   CAMILLE       SLATER                      UT     31080572324
4827736665B58B   CHARLENE      MITCHELL                    NM     90014773666
4827753A791569   ELIA          HRNANDEZ                    TX     90009805307
4827837A591873   MIA           HARRIS                      OK     21040963705
48278725A72B43   JULIA         HESS                        CO     90013857250
48279552A61967   JOSE          ARIAS                       CA     46091045520
4827B6A512B87B   THERESA       GERHARDT                    ID     41027446051
4827B83155B58B   MARK          MORAN                       NM     90014718315
4827B921872B4B   BREANNA       REIBHOFF                    CO     90010729218
4828168465B222   KRIS          DEPP                        KY     90012386846
4828176288163B   JANERSIA      CHILDS                      MO     90006167628
48282A6385B222   JOHN          MUDD                        KY     90014350638
48283121A51334   JAMES         JOHNSON                     OH     90010311210
4828335945B395   ANGELA        JOHNSON                     OR     44588043594
4828387265B53B   CHARNALLE     JOE                         NM     90014838726
48283872A91394   LETICIA       MORALES                     KS     90014808720
4828413995597B   MARTHA        GARCIA                      CA     90015311399
48284A51672B4B   LISA          TILLER                      CO     90010120516
4828622425B222   BRIDGETT      CAMPBELL                    KY     90012132242
48286266972B36   CHRISTOPHER   BEAULIEU                    CO     90004582669
4828648A65597B   MAIRA         RIVERA                      CA     49061544806
4828712A65597B   DANNA         NELSON                      CA     49034211206
482871A275B56B   FLORES        TERESA                      NM     90006021027
48287A24872B43   MALIA         KANOA                       CO     90012740248
4828887995B53B   MATTHEW       FERNANDEZ                   NM     90014838799
48289777172B39   EVARISTO      RIVERA                      CO     90009197771
4828B211691569   BISTRAIN      SARAHI                      TX     90000832116
4828B356791394   LUIS          GARCIA                      KS     90005153567
4828B733251334   JOLINE        CARNES                      OH     90011347332
4828B739472B4B   JOEL          ROJAS                       CO     90006047394
4829118375B395   LONNIE        ACHESON                     OR     44503651837
48291592772B4B   TAMMY         LEVERTON                    CO     33080095927
482915A1A4B259   WILLIAM       SLEECH                      NE     90003155010
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4829183AA91988   YOLANDA      TYNES                        NC     90014348300
48292235972B43   RICHARD      HERNANDEZ                    CO     90014612359
48292857624B6B   BRUCE        EVANS                        DC     81015558576
4829341A372B43   KENYA        WILLIAMS                     CO     90013024103
4829352185B174   LINDA        STOFERD                      AR     90013285218
482936A2961967   FERNANDO     MORALES                      CA     46083366029
4829393425B53B   LAWANNA      GREATHOUSE                   NM     90014719342
48294A55772B4B   ELIDA        ZUNIGA                       CO     33038110557
4829551357B46B   JEREMY       KSOR                         NC     90008275135
482959A782B27B   TELMA        VILLATORO                    DC     81012069078
48296429172B4B   HOLLY        MURDOCK                      CO     33061454291
4829839565B174   CLAUDIA      MORALES                      AR     90013383956
4829936A52B27B   LALONA       DAVIS                        VA     81014323605
48299467172B36   JARED        BRADLEY                      CO     33013094671
4829B16758B156   STEVEN       MORITZ                       UT     90014691675
4829B4AA92B87B   TAWNIA       ARCHER                       ID     41050864009
4829B9A8291873   ANDRE        ROBERTS                      OK     21025899082
482B112445B395   KEILA        HERNANDEZ                    OR     44526351244
482B1212251325   TRUDY        JOHNSON                      OH     90009482122
482B1242391988   MONEIKE      MCCAULEY                     NC     90006312423
482B1335672B4B   BEN          DONAHUE                      CO     90013413356
482B159192B27B   GERALD       COOK                         DC     81086645919
482B244955597B   CARLOS       ALVAREZ-GUDINO               CA     49034474495
482B2532784386   KEVIN        BROWN                        SC     90007145327
482B254AA61945   KATHERINE    CAUSEY                       CA     46016535400
482B27A5161967   TONY         MONTANA                      CA     90013797051
482B2927391972   DABRYAN      ORMOND                       NC     90008399273
482B2A98A86478   NICOLE       POOLE                        SC     90014190980
482B3462A2B27B   WILLIAM      SANDS JR                     DC     90013914620
482B3529671999   WENDY        RAMIREZ                      CO     38010365296
482B3613672B4B   ROBERT       ROBINSON                     CO     90012786136
482B4155372B36   DELMY        ESPERANZA                    CO     90012131553
482B4786591569   LUIS         RIVERA                       TX     90014247865
482B4A11277595   JUAN         RODRIGUEZ                    NV     90013170112
482B62A2991569   JUAN         GOMEZ                        TX     90012702029
482B6615661945   JOSE         LUEVANO                      CA     90012436156
482B685115B53B   JESUS        RASCON                       NM     90014838511
482B6A38A8B16B   FRANCISCO    VARGAS                       UT     31092550380
482B74A2671999   CARLAJO      HERRERA-SUAREZ               CO     38078314026
482B7553658528   JONY         MORALES                      NY     90015595536
482B763A961963   KACEY        COLE                         CA     46055816309
482B7824A2B27B   JOSE         SANTOS                       DC     90013858240
482B7876972B43   APRIL        BOYER                        CO     90011478769
482B887555597B   STEPHANIE    RODRIGUEZ                    CA     90012928755
482B898539B324   SHUEMEKIA    WATSON                       TX     90014599853
482B8A1915B174   ELISEO       ZAVALA                       AR     23022870191
482B9128A4B271   NIKKI        BRYSON                       NE     27065721280
482B9141572B43   SABINA       BUSTAMANTE                   CO     33002371415
482B9475976B5B   EVODIO       RUIZ                         CA     90009554759
482B991A82B87B   MISTY        TAPPEN                       ID     41037099108
482BB4A112B92B   ESTAFANY     REYNA                        CA     90011444011
482BB742A3B359   TATIANA      STARKS                       CO     90014077420
482BB76765B58B   LIZ          FLORES                       NM     90010987676
4831153377B334   JORGE        RIOS                         VA     81002465337
48311599272B36   DEMITRIA     MCCOY                        CO     90009685992
4831194315B53B   VICTORIA     HERNANDEZ                    NM     90014039431
48312745A8B165   MARK         JENNINGS                     UT     31040087450
4831282185B53B   ENELIA       MORALES                      NM     90010538218
4831287748B16B   STARRLYN     FRIEDMAN                     UT     90014588774
4831369857B457   TOM          FININ                        NC     90008556985
48313811A5597B   JAMES        TORRES                       CA     90013868110
4831434835597B   JACK         PIPPIN                       CA     49088683483
483148A692B27B   MELISSA      GREEN                        DC     90012448069
4831551445B222   SHARON       CISSELL                      KY     68031525144
48315869A91956   RAMONA       JONES                        NC     17054828690
48316438572B43   JOSE         QUIJADA                      CO     90013724385
4831651382B27B   GINGER       ROYSTER                      DC     81086225138
4831666982B87B   VIRGINIA     SAUCIER                      ID     41022096698
48316A31291569   DERRICK      DIAZ                         TX     90011990312
4831768AA5B56B   JESUS        CRUZ-PACHECO                 NM     90008746800
4831777A691394   ANDREW       MAREZ                        KS     90014807706
48318574972B43   VICTORIA     MARIE QUINTANA               CO     90011805749
4831968A65B58B   RUTH         HERRERA                      NM     90005106806
48321331A8B16B   DONNIE       ROBERTS                      UT     31085333310
48321A48361967   IGNACIO      LUCY                         CA     46071680483
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48322A61A2B27B   NISHEY        RANDALL                     DC     90001470610
4832326455B53B   CHRISTOPHER   DAVIS                       NM     90010652645
4832497875B222   ANDRES        PEREZ                       KY     90015259787
48324A34691394   TERESA        MORAN                       KS     29064390346
4832521654B271   SAMMY         BIWOTT                      NE     90001172165
48325A98861967   MARLEN        GARCIA                      CA     90014120988
48326174872B36   ANGELICA      CHAVEZ                      CO     33089351748
483265A555B395   PAT           MYERS                       OR     90007085055
4832672125597B   ANTHONY       DE LOS SANTOS               CA     49054097212
48326AA912B27B   WAYNE         LEACH                       DC     90006010091
4832783145597B   ARACELI       MATA                        CA     90005078314
4832793495B53B   AURELIO       BENAVIDEZ                   NM     90002179349
48328A29472B43   ELIZABETH     RODRIGUEZ                   CO     90012740294
48329955972B36   PRINTONA      HORTON                      CO     90013179559
4832B759172B43   RAMON         ANDAZOLA                    CO     33042587591
483328A948B16B   SHELLEY KAY   O BRIEN                     UT     90013518094
4833328AA71999   CHARELLE      JARAMILLO                   CO     90009252800
483333A197B33B   GARY          PARKER                      VA     90009963019
48333642672B4B   JASON         LAPENNA                     CO     33065786426
4833486962B87B   JOYCE         WILSON                      ID     41054978696
4833498718B16B   MATT          SCHAELLING                  UT     31039829871
48335A15591569   CRISPIN       ARMANDO                     TX     90011050155
48335A4115B395   WENDY         HARMON                      OR     44583640411
48336153A77595   MILTON        COLBERT                     NV     43015421530
4833664A15B395   HEATHER       GREEN                       OR     90008396401
48337187762B66   JOHN          CAPPEL                      KS     90010171877
4833723844B259   CARL          RODRIQUEZ                   NE     90001712384
4833787A57B362   ANGELA        PORTILLO                    VA     90005678705
48337A3952B27B   ERIC          SCOTT                       DC     81016210395
4833856362B229   SHARRON       DAVIS                       DC     90007365636
4833861918B16B   MEGA          DULAL                       UT     31009406191
48338966872B25   SILVIA        VASQUEZ                     CO     90003369668
4833913479B324   CHRISTINA     WILLIAMSON                  TX     90014531347
4833927595B222   JESSICA       YATES                       KY     68051332759
483393A8472B36   PAMMY         ROMERO                      CO     90007743084
48339715A2B27B   JOSE          LARA                        DC     90013827150
4833984A671999   JOSEPH        MONTES                      CO     38019968406
4833B4A255B222   DEJUAN        BIBB                        KY     90014084025
4833B5A9A51334   MICHELLE      REIBER                      OH     90013595090
4833B613272B43   TERESA        FEKANY                      CO     90011896132
4833B827191988   TAMMY         ALLEN                       NC     90002468271
4833B893A3B37B   JORGE         CARDENAS                    CO     33054078930
48341A61561967   JAMES         MCALLISTER                  CA     90013200615
4834339688B16B   SANDRA        DURAN                       UT     90010173968
4834359175B58B   LESLIE        PAIZ                        NM     90006835917
4834375692B87B   TIFFANY       OWENS                       ID     90007517569
4834453A372B36   MARIA         BANUELOS                    CO     33054315303
4834481684B271   CAIRIA        SNODDY                      NE     27070788168
483448A7191988   BERRY         SUITES                      NC     90013478071
48346189572B43   GUSTAVO       NAVA                        CO     90011521895
4834694325B53B   ALEX          RIVERA                      NM     90014839432
4834749532B27B   SHARYN        PRYOR                       DC     90012554953
4834816748B16B   ROBERT        AAMODT                      UT     31071191674
4834827A441222   CHRISTINE     MONTGOMERY                  PA     51015972704
4834834815B53B   AMANDA        CLAIBORN                    NM     35081053481
48349784A72B36   CHARLES       PATTERSON                   CO     90000227840
48349862372B43   JENNIFER      BENISON                     CO     90007608623
48349A34351334   CARLA         MATHIS                      OH     90012610343
48349A8A191988   ELIZABETH     SANCHEZ                     NC     90014750801
48349A9345B58B   GABRIELA      LOPEZ                       NM     90010010934
4834B4A592B87B   DOUG          HERBERT                     ID     90011064059
4835116A191988   JESSICA       COUNCIL                     NC     17086571601
483513A645B174   ADRIENNE      HOWARD                      AR     90011023064
48351575772B4B   RAIMOND       TRUJILLO                    CO     90013435757
4835287415B174   ZYANYA        FLORES                      AR     90002568741
48353231A86478   CHRISTINA     BURGESS                     SC     90012092310
4835525765B222   TAMIKA        BURNS                       KY     90011082576
4835534A29152B   RICARDO       ARTALEJO                    TX     90004173402
483553A8892825   SAMUEL        MENDOZA                     AZ     90014793088
4835595535B58B   TRACY         KING                        NM     90014789553
483561A728B165   NELSON        RIVERA                      UT     90006861072
4835653A32B27B   TIFFANY       FERGUSON                    DC     90012895303
4835668925597B   ANGELICA      LOPEZ                       CA     49033236892
4835751748B16B   JENNA         JARAMILLO                   UT     31043675174
4835774A271999   SEAN          STORIE                      CO     90009727402
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4835817925B58B   RAY                JAQUEZ                 NM     90012191792
4835849577B646   DOROTHY            CHAMPION               GA     90000674957
483587A7372B43   BRYAN              HUFF                   CO     90013747073
483588A948B16B   MARI               MOYA                   UT     90008898094
4835912414B259   DONNA              SANDERS                NE     90003751241
483595A4772B4B   JENNIE             LOVERIDGE              CO     33096745047
4835989542B27B   CLIFTON            LIGHTHOUINE            DC     90006538954
4835994142B87B   JAMES              WILSON                 ID     41060509414
4835B161151334   PARIS              RENDER                 OH     90015001611
4835B55275B174   RACHEL             HARRIS                 AR     90004165527
4835B746691569   MELISSA            CONTRERAS              TX     75000207466
4836148A172B4B   CHARLES NOCHOLAS   MCVAY                  CO     90014184801
4836155545B395   DAVE               O'NEIL                 OR     44567355554
4836218798B165   JACQUELINE         MALCOLM                UT     31038531879
48362A1945B174   TEMECA             WIGGINS                AR     23056890194
4836356215597B   VINCENT            SOLIZ                  CA     49024265621
4836413A48B165   SEMISI             WOLFGRAMMQ             UT     31046831304
4836483A55B222   TONY               BANDY                  KY     90013838305
4836592624B259   LUIS               SANDOVAL               NE     27016359262
48365A37471999   TRINITY            HERRERA-TAFOYA         CO     90010620374
4836666255B222   DARRYL             KING                   KY     68099286625
4836679A991394   JYMELYA            MAUPINS                KS     90014817909
483674A5872B4B   TRUDY              KOERITZ                CO     90010774058
4836792635B395   SHAWN              ALLEN                  OR     44548009263
48367935972B36   AURELIO            HERNANDEZ              CO     33044579359
4836796318B16B   TERESA             GUIDO                  UT     90014619631
4836839525B222   ROBERT             HIGGASON               KY     90014753952
4836857A872B4B   JOSEPH             PARKER                 CO     33071665708
4836932535B53B   ANGELA             TAPIA                  NM     90005643253
4836947514B259   BRENDA             AGUIRRO                NE     27096904751
4836B445591988   JESSICA            PLATT                  NC     90011864455
4837118798B165   JACQUELINE         MALCOLM                UT     31038531879
4837126A38B16B   MARIELA            LEWIS                  UT     90013612603
48371519257B61   CHRISTAINA         CASTROL                PA     90015405192
4837161395B58B   JENNIFER           TULLIE                 NM     90014426139
48371A3AA5B53B   IVAN               MEDINA                 NM     35023160300
48372745972B4B   IAN                BUECHELE               CO     90012547459
48373578172B24   LOGAN              MOELL                  CO     33026615781
48373821972B36   RIGOBERTO          ANDRES                 CO     33091768219
483746A8A72B4B   CHANNA             HAMILTON               CO     33035276080
48374733A8B16B   MONICA N           GONZALEZ               UT     90014767330
48374986172B4B   CHANNA             HAMILTON               CO     90012309861
48374A7575B395   RYAN               REID                   OR     90012940757
483751A8471999   DESTINIE           LEFEBRE                CO     90014401084
48375253A5B222   DOVIE              SMITH                  KY     90010782530
48376156A61967   JOSE               MONTERO                CA     90014681560
4837732575B58B   BRANDI             TORIVIO                NM     90003943257
4837787748B16B   STARRLYN           FRIEDMAN               UT     90014588774
48379A71872B4B   DESTINY            WRIGHT                 CO     90003530718
4837B975A71999   KAYLA              HERNANDEZ              CO     90001009750
4838117915B58B   ERIC               NDAHEBA                NM     35037831791
4838128588B165   KYLE               MAY                    UT     31067082858
483817A7491394   CODY               ZIMMER                 KS     29009487074
48382A6A661938   DANIEL             AVITIA                 CA     90010240606
48382AA435B174   JENNIFER           WASHINGTON             AR     90013960043
4838398995B56B   SHARON             MADRID                 NM     35011649899
483849A575B58B   MI                 CARTER                 NM     90007229057
4838522692B87B   KATIE              FRAZEY                 ID     90003872269
483863A4872B4B   JOSEFINA           REYES                  CO     90014153048
48386916A91956   XIOMARA            GONZALEZ               NC     90001829160
48387583972B43   TONI               CARTER                 CO     33086295839
4838B52585B53B   GABRIELA           BARRIGUETE             NM     90012005258
4838B68A972B36   ALOYA              JOSE                   CO     90008796809
4839112185B53B   DAWN               GREEN                  NM     90013181218
4839115A872B4B   JUBEL              BEREN                  CO     33074091508
48391289A91569   GEORGE             ESSENBERG              TX     90010102890
4839152885598B   LUIS               GONZALEZ               CA     90007925288
4839186A491988   STELLA             CARPENTER              NC     17080158604
4839294755597B   BEE                XIONG                  CA     90013469475
4839492345B174   GREISY             SANTOS                 AR     23059649234
48395421772B43   SHARIFA            WRIGHT                 CO     90006594217
4839563A871999   ANTONIO            FRANCO                 CO     90015006308
4839637675B222   HARRY              BROWNING               KY     90015173767
4839674725B58B   TIM                MOTTRAM                NM     90014817472
48396A3982B27B   MICHAEL            ARAYA                  DC     90013240398
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48396A7458B16B   GALEA        GUIJOZA                      UT     90014750745
4839711555597B   NORA         CURIEL                       CA     49073281155
4839754A12B27B   ASHLEY       ROSS                         VA     90010695401
48398343872B36   ADAM         RIGGS                        CO     33000283438
4839888A88B165   JASON        SWANSON                      UT     31067588808
48398A49A72B36   COURTNEY     CLARK                        CO     90015200490
4839B143161967   TIFFANY      SULLENS                      CA     90010731431
4839B29665597B   SALVADOR     GARCIA                       CA     49014412966
4839B721691569   RUBEN        ALTAMIRANO                   TX     90009557216
4839B776572B43   DIANNE       WORTHAM                      CO     33035707765
483B1165991569   MARTHA       LEIVA                        TX     90003901659
483B14A145B174   STEVE        SCROGGINS                    AR     23025764014
483B1A6465B53B   CARLOS       CORONEL                      NM     90010910646
483B2144591394   MARIA        RUIZ                         KS     90011501445
483B427427B35B   MARK         PERTUIT                      VA     90012642742
483B442A38B16B   JUAN         NAVARRO                      UT     90008694203
483B458525597B   ROGELIO      PONCE                        CA     90014895852
483B4748961963   HEATHER      DRAXINGER                    CA     90012847489
483B531165B58B   CLAUDINE     MARTINEZ                     NM     90002663116
483B6A2258B166   MARIANNE     OLSEN                        UT     31006040225
483B6A8235597B   ZOILA        SANCHEZ                      CA     90013000823
483B719472B27B   KIMBERLY     CASTLEBERRY                  DC     90010881947
483B73A1872B43   MARIBEL      MANRIQUEZ                    CO     90015113018
483B832475B58B   ROXANNE      RIOS                         NM     90002443247
483B8669A91523   CECILI       SILLAS                       TX     75057246690
483B877A961963   VIRGINIA     ZEPEDA                       CA     90012317709
483B887398B16B   ASHIE        LENIDRIK                     UT     90014588739
483B95A225B222   YANET        GUZMAN                       KY     90013225022
483B9A58191569   GERARDO      VASQUEZ                      TX     90010820581
483BB2A413B346   CARL         IBARRA                       CO     33023032041
483BB332A72B43   VERONICA     PALMA                        CO     33076093320
483BB443771999   CATHERINE    MARTINEZ                     CO     38079974437
4841122224B271   JAMIE        SANDERS                      NE     27011582222
4841164125597B   BRANDON      WILLIAMS                     CA     49073976412
4841191915B395   SHAWNA       CHASTEEN                     OR     44572309191
4841239418B16B   CAROLYN      RICHARDSON                   UT     31009773941
4841286655B58B   RUBEN        CORRERAMARTINEZ              NM     90012628665
484138A338B16B   KIM          HOOVER                       UT     31097718033
48414384172B4B   WENDY        CALAMIA                      CO     33053763841
4841649A971999   SHANAE       ADAME                        CO     90008864909
4841661A15B222   AMY          SIMPSON                      KY     90009656101
48416A61961963   WANNETTA     DAVIS                        CA     46069500619
4841788335597B   CHRIS        JAMES                        CA     90012128833
4841792A691394   IDA          JONES                        KS     90014849206
48418A6A172B36   LOUIS        FERGUSON                     CO     90008800601
4841979495B53B   DANEA        TRUJILLO                     NM     90011707949
4841B17515B53B   ROBERT       GARCIA                       NM     35047171751
4841B616791873   GREGORIO     GUTIERREZ                    OK     21070836167
4841B6A5961963   KRISTIN      WICK                         CA     90014546059
4842112168B16B   LAURA        GARCIA                       UT     90014591216
4842122825B222   WILLIE       WATTS                        KY     90012182282
48421561872B36   BRANDON      TRUJILLO                     CO     90014595618
484217A9472B4B   RONALD       LEVENS                       CO     90012197094
48422146A91569   SOFIA        MARTINEZ                     TX     90006181460
48422A5915B58B   FELICIA      BUCHNER                      NM     90006470591
484232AA691956   JACKIE       COUNCIL                      NC     17073272006
484247A1291394   CLAUDIA      SANTOS                       KS     29039357012
4842534272B27B   RENEE        DORSEY                       DC     90014863427
4842618788B16B   MAVIS        BLACKBURN                    UT     31039211878
484264A9784353   KEYONA       WILLIAMS                     SC     90001384097
484268AA872B43   JON          DOE                          CO     90014188008
48427117472B43   EMILIA       GONZALES                     CO     90013061174
4842789312B685   CAROL        BUSHMAN                      WA     90015488931
4842792915B222   ODALYS       ZANDOVAR                     KY     90014119291
4842842A52B27B   PHILLIP      LEE                          DC     81012984205
48428962272B43   JOSEPHINE    ARAGON                       CO     90012229622
4842B868191394   MARIA        CALDERA                      KS     29073618681
4843179A791988   CHANTI       COUCH                        NC     90001027907
4843224562B27B   ACE          TRU                          DC     90015192456
48432397A61963   GUILLERMO    MORENO ABARCA                CA     46051783970
4843244582B92B   KIM          POCIENGEL                    CA     90011424458
4843264995B53B   TED          BENAVIDES                    NM     35002036499
4843312A64B271   WILLIAM      HENDERSON                    NE     27015841206
48433A47381248   SOLEDAD      ROSES                        IN     90009540473
4843417915B58B   ERIC         NDAHEBA                      NM     35037831791
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48434213A2B27B   VANESSA             COLCLOUGH             DC     90012012130
48434498972B43   EDWYNN              COLLAZO               CO     33059634989
48435A3655B53B   DESIREE             VALLEZ                NM     90014860365
4843657745B58B   ELIZABETH           DE LA TRINIDAD        NM     90001185774
48436735372B43   RANDY               HOVRUD                CO     33066567353
4843699465B222   LAKISHA             OLIVER                KY     90010529946
48436AA825B174   THEODIS             DOCKETT               AR     23071590082
4843735A191988   DARLI               LOPEZ                 NC     90011133501
4843755958B59B   LUCK                SORSBY                CA     90015425595
4843782A15B53B   MAGDA               ELENA BUSTILLOS       NM     35069048201
48437A26A84336   RICHARD             KIMBALL               SC     90003830260
4843847AA5B58B   RICHARD             HERNANDEZ             NM     35059064700
48438A8322B27B   ELBA                CABRERA               DC     90012740832
484398A1881669   STEFFANIE           RIVERA                MO     90007798018
48439A3715B53B   CARLA               HACON                 NM     90014860371
4843B197691394   MAUREEN             HILL                  KS     90014731976
48441297272B43   JANALDO             MIMS                  CO     90014112972
48441A6145B53B   WILLIAM             FLOOK                 NM     90014860614
4844358448B165   SIONE               TAUNAUTA              UT     90003855844
48443A9595B174   KRYSTAL             LANE                  AR     90014570959
4844441962B27B   DONNELL             HOOKS                 DC     90011044196
4844498868B16B   LETRELLE            MCCELLON              UT     90014619886
48445491A5B174   FELECHIA            ROGERS                AR     23003164910
4844565978B16B   MARK                COMBEST               UT     90013016597
4844598212B27B   RODOLFO             BONILLA               DC     90009299821
48446187A5B222   DESIREA             THOMPSON              KY     68078171870
4844619A891523   CASSANDRA           LOPEZ                 TX     75057281908
48447793A4B271   FIRDOSI             FAZIL                 NE     27098127930
4844843557122B   AMBER               HARMON                NE     90015514355
484488A518B155   DARIN               CAMOMILE              UT     90008728051
48449818372B4B   FRANCISCO           ROBLES                CO     33007818183
4844B77922B27B   SENTAYEHU           NEGESSO               DC     90014777792
48451326A5B395   ALEXANDRA           WALTERS               OR     90011613260
4845265285B395   LEO                 LANDRY                OR     44529696528
4845268365B222   JOYCE               EDMONDS               KY     90014866836
4845289A972B4B   CHERI               PHILLIPS              CO     33049038909
48452A27961963   DEAN                WOZNEY                CA     90002860279
4845346252B27B   TRACY               FAROOQ                DC     90001134625
4845359185B53B   EMMANUEL            MONTEZ                NM     90014535918
4845422A85B395   SJANA               KOOPMAMS              OR     90008872208
4845435778B165   LUCIANA CONCEICAO   SIMOES                UT     90003983577
4845519695B254   JAGANATHAN          LAKSHMANAN            KY     90010271969
4845568A42B27B   LISA                KELLY                 DC     90009726804
484568A5151334   DANA                ANKNEY                KY     90015608051
484569A175B222   YVONNE              EXUM                  KY     90010819017
4845774325B222   KEVIN               MCDOWELL              KY     90011647432
4845824498B16B   HEATHER             CRAIG                 UT     31093402449
484587A9A7B461   YERKA               MORROS                NC     90012897090
4845882492B27B   JAIME               SANCHEZ ESCOBAR       DC     90012468249
48458879A91394   IRMA                VILLEGAS              KS     90014858790
4845932885597B   VELMA               GRANT                 CA     49030393288
4845B22552B27B   ROBIN               CHERRY                DC     90014562255
4845B9A815B53B   ALFREDO             SOLE                  NM     35034249081
4846139165B222   ANDRE               LEE                   KY     90003493916
48461A9135B395   RICARDO             GONZALEZ              OR     44505750913
4846287565B58B   ELIAS               GONZALES              NM     90014878756
48462965A91394   MARCOS              PEREZ                 MO     90014859650
4846333A491394   GUADALUPE           ARAIZA                KS     29038733304
484635A4457122   ERLINDA             VILCA                 VA     90006175044
4846367A851334   KAREN               TURNER                OH     66061636708
4846516855B58B   ROBERT              ZUBIA                 NM     35073781685
4846534123B321   JESSICA             CRUZ                  CO     90011413412
4846585582B87B   WADE                WISE                  ID     41026048558
48465937A3B321   JESSICA             CRUZ                  CO     90011629370
48465AA7A91394   ALFIEONNA           DAVIS                 KS     90014860070
4846637186195B   TOMMY               TESH                  CA     90012173718
484663A755598B   ADRIAN              MAGANA                CA     90014943075
48466492A5597B   SARA                ORTIZ                 CA     90014824920
484666A835B395   AMBIKA              DULAL                 OR     90009956083
4846722695597B   ANGELINA            ARRIOLA               CA     90013662269
48467237A5B58B   NATHANIEL           HOEFER                NM     90013072370
4846819145B174   AFRICA              WRIGHT                AR     23091411914
4846873648B16B   NIKKI               GRAHAM                UT     31083787364
48468832572B43   DANNY               CHAVEZ                CO     33068408325
48468919172B4B   EVA                 STROUS                CO     90013149191
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4846947625B53B   ANTONIO      RAMOS                        NM     90002784762
4846B826351334   KATIE        MCCORMACK                    OH     90008988263
4846B8A3161967   EBONY        BARKER                       CA     90007888031
4847112A891569   TRINA        EDWARDS                      TX     90015321208
484717A472B27B   ELIZABETH    VENTURA                      DC     90009217047
48472439372B4B   CASEY        MARTIN                       CO     90001204393
4847419762B27B   DOMINIQUE    WILLIAMS                     DC     90013041976
48475166872B98   GLORIA       GONZALES                     CO     90008071668
4847582492B27B   JAIME        SANCHEZ ESCOBAR              DC     90012468249
484777A6177595   JAYSON       MORALES                      NV     90010537061
48478745972B4B   IAN          BUECHELE                     CO     90012547459
48478749A5597B   KRISTINA     SIERRA                       CA     90003957490
4847935252B27B   TOM          JONES                        DC     90015203525
48479856A61967   JAVAN        WOODSON                      CA     90013218560
48479A8912B879   LETICIA      BARRAGAN                     ID     90010190891
4847B1A585597B   SHEEN        MOUA                         CA     90014771058
4847B2A712B87B   KIM          KRAUSE                       ID     90007322071
4848111485B53B   CHRISTINA    PAISANO                      NM     90014861148
48482798772B43   PATRICIO     MONTOYA                      CO     90011867987
484833A918B165   TRISHELLE    BLACKWELL                    UT     31086083091
4848343995B395   KOOLGAIL     KUNE                         OR     90011524399
4848378735B53B   JULIE        ESPINOSA                     NM     90012637873
4848392612B87B   JEROME       JOHNSON                      ID     41066029261
48485541772B36   EUGENIO      GONZALEZ MURILLO             CO     33069805417
4848561895B53B   ROBERT       WILLIS                       NM     90007526189
4848599A39155B   VICTOR       OROPEZA                      TX     90008869903
4848794A75B222   TERRIOUS     COLLLINS                     KY     90014649407
48487A74891956   TIMOTHY      WILSON                       NC     90001830748
4848862355B174   RODNEY       BEASLEY                      AR     90013456235
4848B62822B872   JESSICA      WILCOX                       ID     42002016282
4848BA32672B43   MICHAEL      THYFAULT                     CO     90013070326
4848BA4725B58B   SANDRA       BACA                         NM     90014920472
48492462272B25   KEYONNA      MOORE                        CO     90002694622
48492856172B4B   MICHAEL      SELL                         CO     90012798561
4849296A55B174   SERGIO       REY                          AR     90002409605
4849331555B58B   SETH         STEVENSON                    NM     90015303155
48494773572B43   ENEDINA      GASCA                        CO     90015087735
48494A86891956   TEJUANA      BUTLER                       NC     17078140868
4849569162B342   MARIA        MALTA                        CT     90014436916
48495732172B36   JOSEPHINE    VIGIL                        CO     90012657321
484958A2591569   ARTURO       AGUILAR                      TX     75091788025
4849656665B53B   EDGAR        RAMOS                        NM     90002625666
4849688128B16B   NATOLIE      MENDEZ                       UT     90002788812
4849712375B53B   NOEL         ESTRADA                      NM     90014861237
4849743A35597B   MARSHA       DOLAND                       CA     90012184303
484977A6272B4B   PEDRO        RIVERA                       CO     33071747062
4849896265B58B   MELISSA      BACA                         NM     90001829626
48499517A31959   OCTAVIOUS    JONES                        IA     90014775170
48499923672B4B   HENRY        WEBB                         CO     90011919236
4849B84218B546   CARRIE       MCCULLEY                     CA     90015518421
484B11A4331959   EDWARD       MOORE                        IA     90014521043
484B2A3965597B   LUIS         HERNANDEZ                    CA     90010760396
484B3165451321   CHRIS        SMITHSON                     KY     90008121654
484B35A4A5B222   STEPHEN      ROBINSON                     KY     90011305040
484B3622261988   KENNETH      MOSS                         CA     46096486222
484B3929341241   LORI         WHITTACKER                   PA     90014509293
484B466765597B   JOSHUA       ROCHA                        CA     90001096676
484B48A3472B43   JESSIE       CHAVIRA                      CO     90005208034
484B513594B945   SUHEI        DIAZ                         TX     90009701359
484B839355597B   JESSICA      BARRON                       CA     90005573935
484B9329651334   TAMMY        MCDANIEL                     OH     66014803296
484B9382451344   ANNA         LOVELY                       OH     90002723824
484B963425B58B   MELISSA      HERRERA                      NM     90013656342
484B9677351354   MIA          MANALILI                     OH     66015246773
484B9965491394   RETHA        FARNCH                       KS     90014889654
484BB28512B27B   RANIKA       SLIMS                        DC     90014842851
484BB692A5B222   RAFAEL       RODRIGUEZ                    KY     68010666920
48512262372B43   YURI         MORENO                       CO     90012062623
4851288132B27B   JOHNNY       BRINSON                      DC     90009148813
4851367885B53B   IVAN         LEOARDO                      NM     35016656788
4851581398B188   HOWARD       JURAREZ                      UT     90013548139
4851716462B27B   OSCAR        FRANCIA                      DC     81014561646
485173A725B53B   PATRICK      FARFAN                       NM     90000873072
485182A4991524   JACKIE       JOHNSON                      TX     90012502049
485184A4151334   SHANELL      WILLIAMS                     OH     90007864041
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48518686A91988   JAMAL             SMITH                   NC     90012646860
4851B645861967   FRANCISCO         GUERRERO                CA     46034046458
4851BA6914B271   DEBRA             BEUTEL                  NE     27076250691
4851BAA765597B   JULIAN            FLORES                  CA     49017720076
4852121655B53B   ANGELINA          MARTINEZ                NM     35012262165
4852141465B222   JUAN              CHAVEZ                  KY     90006264146
4852221A55B174   CRYSTAL           THOMAS                  AR     90011052105
485224A4361963   ALBERTO           GARCIA                  CA     46006514043
48522999A91394   CARMEN            DESALAZAR-BALDERAS      KS     90014879990
48522AAA12B27B   LUCIO             PEREZ                   DC     90002150001
48523188A2B27B   TERRANCE          MURRAY                  DC     90014801880
4852384655B53B   JESSICA           GARCIA                  NM     35010978465
48523A63172B43   PEGGY             MEHEGAN                 CO     33073000631
48523A71791988   EDGAR             MARTINEZ                NC     90011900717
48523AA4391394   JOSE              GARCIA                  KS     90014880043
4852427395B395   ROSA              MEJIA                   OR     90010282739
4852648A14B259   JESSICA           TODD                    NE     27078174801
4852767A472B36   MICHAEL           BENCK                   CO     90012886704
48527927A5597B   VERONICA          CEJA                    CA     90013029270
4852823535B395   ROCHELLE          PACK                    OR     44595832353
485284A5A5B222   LACARDE           CHILDRESS               KY     90014664050
485285A344B259   CHARLES           FISHER                  NE     90001485034
4852866195B58B   DIEGO             ZAMBRANO                NM     90003056619
4852954534B271   CHRISTINE         EARL                    NE     90012975453
4852961285B222   CARAMEL           SUNDAY                  KY     90010836128
48529672A5597B   FELIPA            PIZANA                  CA     49075536720
48529A41891394   JESUS             SALCEDO                 KS     90014880418
4852B5A3472B43   EVELYN            FIRMAN                  CO     33029605034
48531A69A61967   MIRYAN ELISA      KADDIS                  CA     90014180690
48531A79371999   CHARLES           BROWNE                  CO     38054190793
4853264A291394   JOSE              VARGAS                  KS     90014726402
485338A514B271   JANET             MAPES                   NE     27090648051
4853536398B16B   JEREMY            SMITH                   UT     90003803639
485358A6661967   KELLY             MCBREARTY               CA     90012988066
48536A36A91569   MARIA             MOLINA                  TX     75059730360
48538437A72B36   ROBERT            MARLOW                  CO     90009944370
4853914895B58B   RICKY             MILLER                  NM     90012601489
4853B19278B16B   STEPHEN           MOHR                    UT     90010061927
4853B63328B186   RANDY             NELSON                  UT     31095436332
4854214455B58B   MAJOR             WOODY                   NM     90012981445
4854287975B395   JOHN              FRANCOER                OR     44575378797
4854382228B182   GERMAN            CASA                    UT     90011628222
48544A7222B87B   AMANDA            ASBURN                  ID     90013800722
48545A91972B36   MEGAN             HOWELL                  CO     90012160919
485472A578B16B   HOLT              MELISA                  UT     31078102057
48547937A5B174   DANIELLE          WILLIAS                 AR     90014019370
485499A8A91569   NANCY             LOPEZ                   TX     90008009080
4854B332372B36   AMY               KERSTIENS               CO     90001183323
4854BA83772B43   LEANN             NEVERDAHL               CO     90009010837
48551577872B36   LUIS              LUNA                    CO     33057035778
4855165334B52B   DANNY             PRICE                   OK     90008836533
4855194222B851   JANNEAL           WILKS                   ID     90014079422
48551A62972B43   HERMAN            DIXON                   CO     33051090629
4855311418B16B   MARIA             CRUZ                    UT     31090001141
4855349694B259   HAROLENE          LOUD                    NE     27095334969
485535A315597B   JACKIE            JURADO                  CA     90006375031
48554428472B4B   SONIA             ESCOBEDO                CO     33015234284
48554A6A65B58B   MARIJUDE          GARCIA                  NM     35026020606
4855516A75B222   JAMES             CARROLL                 KY     90013271607
4855535164B271   CALISO            SCOTT                   NE     27072663516
485553A8877595   JULIA             SALAS                   NV     90001773088
4855551812B87B   YVONNE            SILVA                   ID     41092985181
4855612875B395   MARIA DE LA LUZ   SAUCEDO                 OR     90010471287
4855725218B16B   ERIKA             FRESCURA                UT     90014632521
4855741A84237B   SHANE             SMITH                   GA     90010294108
485585A4651334   STEPHANIA         CAMPBELL                OH     66048695046
48558633A5B222   KEITH             HATHAWAY                KY     90015206330
485586A722B27B   KATERI            CLIFTON                 DC     81016816072
4855912915B174   EUGENE            BOSTON                  AR     23074791291
485595A725B174   EUGENE            BOSTON                  AR     90014825072
4855983534B259   CARMEN            FLOREZ                  NE     90010438353
4855B228471999   IDA               WEST                    CO     38083812284
4855B47455B58B   JAMEY             CROCKETT                NM     90010944745
4855B7A245B222   SHIRELLE          WOODRIDGE               KY     90005817024
4855B84815B58B   MANUEL            ROBLES                  NM     90012728481
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4856292A772B4B   ELIASAR         LOPEZ                     CO     90007799207
48563353A91569   GABRIELA        CORONEL                   TX     90012763530
485633A315B174   ROBIN           ROLAND                    AR     23083483031
4856344277B445   PORSHA          NANCE                     NC     90011034427
48563497972B23   HOLLY           DUMAS COCAS               CO     90012574979
4856481564B259   GARY            FOWLER                    NE     27027778156
4856528914B271   JAMES           SEIDEL                    NE     27083732891
485654A7191873   NICOLE          ARMS                      OK     21033514071
4856592A281639   DAVID W         GUNSOLLEY                 MO     90012559202
4856693165B53B   CARERINA        GARCIA                    NM     90014869316
4856728645597B   MAYRA           GORDILLO                  CA     90011032864
485678AA291523   EDUARDO         MORENO                    TX     75057298002
48568376272B4B   ALFONSO         GARCIA                    CO     90003373762
485687A128B165   CHASE           KELSCH                    UT     31080937012
4856995625B174   CHRISTY         THORNTON                  AR     90013579562
48569A36971999   CASEY           SALAZAR                   CO     90010560369
4856BA96761963   DANIEL          CORONA                    CA     90013360967
48571A2595B58B   ADAM            VASQUEZ                   NM     90014910259
4857266295B58B   GABRIELA        SANCHEZ                   NM     90014836629
4857277835593B   PHIALY          PHONGSIPRASEVETH          CA     90010267783
485727A655B222   JERON           HAZELWOOD                 KY     68096737065
485737A7591873   CLINTON         MORRIS                    OK     90005017075
4857387795B58B   ANGELICA        PENA                      NM     90014878779
48573A96A5B249   DEBRA           PETRO                     KY     90003010960
48574159872B36   DAVID           HEIFEL                    CO     90014631598
4857437225B174   ANTHONY         DAWSON                    AR     90014113722
4857468265B53B   ANGELIQUE       PENA                      NM     90005056826
48575634A4B231   KUOK            ALEU                      NE     26011346340
48575AA1991394   CHET            MURRY                     KS     29030430019
4857618695B53B   PAULA           DEANE                     NM     35033811869
48576A3912B27B   SILVER          RUFFIN                    DC     90011470391
4857728193B373   JORGE           SANTOS                    CO     33027692819
48577394172B4B   ANTONIO         PEREZ                     CO     33005303941
48577912A5B551   INES            LOPEZ-SIXTO               NM     90004009120
4857824938B16B   BONNIE          GANNUSCIO                 UT     31063002493
4857844365597B   JUAN            GABRIEL                   CA     90011554436
4857884325B222   CHARLES         PENDLETON                 KY     68094488432
48579572472B43   JOSE            ESCOBAR                   CO     33051235724
48581624A5B53B   GABRIEL         SOSEEAH                   NM     90010626240
4858194788B165   DARIO           PEREZ                     UT     31039399478
4858279A25597B   LORENA          FIGUEROA                  CA     90002627902
48583AAA491394   AIDA            SANCHEZ                   KS     90012910004
4858451215597B   MARIA           HERNANDEZ                 CA     49015605121
485845A545B395   ROBYN           JACKSON                   OR     90008635054
4858469A272B36   SARAH           KIMBLE                    CO     90014676902
485853A815B58B   ANGELICA        ALIRE                     NM     90013483081
48585A51761963   OSCAR           TORRES                    CA     46014770517
4858612A92B27B   KENNETH         LOCKARD                   VA     90001401209
48586657172B4B   AMBER           CEASAR                    CO     90012556571
4858686A94B943   ROCIO           GUILLEN                   TX     90002658609
485876A8961963   MIREYA          ALVAREZ                   CA     46043296089
4858834A561969   DOMINIQUE       HERNANDEZ                 CA     46016823405
4858859384B271   PATRICIA        GINDULIS                  NE     27014725938
4858882635597B   STEVE           WHEELER                   CA     90009908263
48588896172B4B   CONCEPCION      HERNANDEZ                 CO     33065428961
48588A44151334   RODNEY LEE      MILLER                    OH     90014380441
4858979672B87B   HANNAH          KIMBLEY                   ID     90000587967
485899A4A5597B   LUZ             MEDINA                    CA     90015329040
485899A4A61967   RALPH           GOMEZ                     CA     90003839040
4858BAA6691569   NORMA           MONTES                    TX     90012430066
4859119475B395   RAMON           RAMOS                     OR     44586581947
485912A1372B43   RHONDA          ERIKSON                   CO     33055622013
4859147935B58B   JOSE            MEZA                      NM     90013774793
48591965772B36   JENNIFFER       GARCIA                    CO     90010929657
4859326332B27B   NATASHA         BIGELOW                   DC     90002072633
4859411588B16B   MICHAEL LARGO   PRISCILLA MAURICIO        UT     90013321158
4859423232B27B   MOHAMMED        SHEMSU                    DC     90001902323
4859444562B543   ROBERT          CLARK                     AL     90012104456
485958A9261967   MICHAEL         MOORE                     CA     46079138092
4859652A991394   LAURA           CRABTREE                  KS     90004025209
48597538A91569   TANIA           HART                      TX     90013875380
4859797935B53B   ROCIO           ULLOA                     NM     90014869793
4859934A34B543   MAX             BERT                      OK     90010013403
4859B94122B27B   HANNA           TESHALE                   DC     90007889412
485B1A6945B58B   CLAUDIA         ZUBIATE                   NM     90013990694
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485B2918A8B16B   SHANE         PARRAMORE                   UT     90014089180
485B365A15B222   RICK          DIVENPORT                   KY     90013606501
485B3814A72B36   LIDIA         RIVAS RETANA                CO     90010018140
485B38A752B27B   MARQUETTA     BOYD                        DC     90010248075
485B3A97391394   DENISE        NAJAR                       KS     90014870973
485B4567A5B58B   KRISHNA       MONTOYO                     NM     90012145670
485B5524991945   LATISHA       BENTHALL                    NC     90006315249
485B554454B259   VINCENT       HAYNES                      NE     90011715445
485B5547472B43   DOMITILA      MENDOZA                     CO     90013785474
485B5687251361   TERRANCE      MILFORD                     OH     90005126872
485B663A391348   BIANCA        JOHNSON                     KS     90002346303
485B786765B58B   FRANK         MARTINEZ                    NM     90014438676
485B8119691988   FRANCISCO     BASILIO                     NC     90012541196
485B8188272B4B   BARBARA       GARCIA                      CO     33089341882
485B862965B174   DELORES       CASEY                       AR     23099666296
485B8855791873   DANAHE        CERVANTES                   OK     90009238557
485B8A47A72B36   TIMOTHY       HARVEY                      CO     90015140470
485B9479A5B338   ALEJANDRO     GARCIA                      OR     90013664790
485B94A985B395   LUIS          HERRERA                     OR     90001014098
485B9554A91394   CLAY          PITTMAN                     KS     29071515540
485B965418B165   ROCIO         MALDONADO                   UT     90008586541
485BB16962B87B   DAVID         SMITH                       ID     90008111696
485BBA5745B174   WILLIE        HUGHES                      AR     90010050574
48611242A51334   APRIL         FICK                        OH     90013942420
4861152894B271   QUETZALY      ROMO                        NE     90009705289
486121A5672424   DONNA         KRAUSE                      PA     90003501056
4861229125597B   MIRIAM        SANCHEZ-MORALES             CA     90012002912
4861337A38B16B   TANNER        MOREHOUSE                   UT     90008723703
4861341695B174   JOSHUA        CORLIS                      AR     23086024169
4861354334B259   MISAEL        JIMENEZ                     NE     27078635433
48613628572B36   ISAAC         VELEZ-HERNANDEZ             CO     33097986285
4861381455B53B   ELVIRA        BUSTILLOS                   NM     35099618145
4861416145597B   CARI          COMINGS                     CA     49041191614
4861441714128B   SHASA         JOHNSON                     PA     51023524171
48614575A5B222   RUTH          WHITE                       KY     90005925750
4861598478B16B   BRITTANY      MILLER                      UT     31073959847
4861727318B165   KIMBERLY      OVERDIEK                    UT     90003232731
4861735615B174   WILLIAM       ROE                         AR     90014623561
48618439A5597B   SANDRA        GARCIA                      CA     90001634390
4861845415B222   ANDREA        BEAVEN                      KY     68025454541
4861963AA71999   ROB           TRUJILLO                    CO     90014606300
4861976792B879   RYAN          KENDALL                     ID     90004857679
48619A48A86453   YVONE         JOHNSON                     SC     90011060480
4861B624471999   TIFFANY       NELSON                      CO     90014616244
4862165294B259   ANGELA        SHADA                       NE     27015246529
4862171885B53B   KAREN         ALLEN                       NM     35077817188
48621A14861963   TIFFANY       BARTON                      CA     90011190148
48621A7342B27B   MARTIN        ROSENSWIPE                  DC     90012480734
486223A918B16B   ELIZABETH     TAYLOR                      UT     90014633091
48622645A2B27B   CLARRISA      THOMAS                      DC     90006516450
48622A9695B58B   TABITHA       TORRES                      NM     90003580969
4862343A572B68   PORFIRIO      PEREZ                       CO     90008174305
48624A2835B53B   DELIA         BUSTILLOS                   NM     90014870283
4862586A861963   FRANCISCO     AGUILAR                     CA     46047708608
48626736A5B391   ISIDRO        REAL                        OR     44557287360
48626A6572B27B   ALEXIS        MARKS                       DC     90001990657
48627A9A872B43   GREGORY       THATCHER                    CO     90012490908
4862862775B58B   VANESSA       GARCIA                      NM     90013216277
486297A2591988   LORRAIN       JOHNSON                     NC     90014117025
48629A63261963   MONICA        CERVANTES                   CA     46071140632
4862BAA6271999   PERLA         RIOS                        CO     38070490062
4863162535B174   TOMIKA        SMITH                       AR     90014866253
4863224298B188   JUSTIN        KING                        UT     90006952429
4863252465597B   REBECA        CERVANTES                   CA     90006045246
4863257525B222   SARAH         DIXON                       KY     68039135752
48632784172B43   PAULA         CORTESE                     CO     33043047841
48632A7595B174   MILTON        RIMEREZ                     AR     90008550759
48633539972B43   PEDRO         GALLEGOS MENDEZ             CO     33019855399
48633687A61963   JORGE         TORRES                      CA     46041806870
4863463232B27B   WENDY         DUMAS                       DC     81088676323
4863649768B16B   BRYAN         OSTOVICH                    UT     90011014976
4863673A95B222   LEANTHONY     DODSON                      KY     68096757309
486367A8171999   MEGAN         SMITH                       CO     38075037081
4863718A272B43   CHRISTOPHER   BROWN                       CO     90010841802
4863724912B27B   JAVON         DABNEY                      DC     81021032491
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4863759A185636   KULWINDER        SINGH                    NJ     90000135901
4863926914B271   NORMA            CARDENEZ                 NE     90009252691
4863B159A5B395   CONNIE           OLIVER                   OR     44575191590
4863B49352B87B   JOSEPH           ALVES                    ID     41025894935
4863B582972B4B   ALEJANDRO        MENDEZ                   CO     90012525829
4863B73555B58B   NIURVE           LEONPRIETO               NM     90011187355
48641236A5B395   KRISTI           SKEIE                    OR     90012852360
4864125715B58B   FRANCISCO        PIMENTEL                 NM     35010052571
48641359A72B36   REGINA           ROBERTSON                CO     90006973590
4864194354B541   JOHNNY           LAMPTEY                  OK     90010369435
48641A5A591569   STEVEN           HANKINS                  TX     90011810505
48641A7635B222   JESSICA          DAVIS                    KY     90011000763
486425A185B395   CARA             HAMILTON                 OR     44518305018
48643636872B36   LIDEIVONNE       BENCOMO                  CO     90014846368
48643A56A51334   NIA              THRASHER                 OH     66051040560
48643A8895B53B   SAMANTHA         CHAVEZ                   NM     90014870889
4864416435B222   NEISHA           NICOLE                   KY     90013271643
4864485525B58B   THERESA          SANCHEZ                  NM     35088208552
48645175A8B16B   DARTAGNAN        JOHNSTUN                 UT     90014701750
48645684572B4B   CHRISTINA        SALAZAR                  CO     90011206845
4864698A461967   ANITA            CASTELLANO               CA     90013039804
4864733155B58B   JUAQUIN          OLAGUE                   NM     90015303315
4864735238B165   JOSE             LOVATO                   UT     31096543523
4864739A95597B   MICHELLE         BRITTEN                  CA     49021713909
48647A26172B36   RHEANNA          VELASQUEZ                CO     90013240261
4864881885B222   KRISHNA          RAI                      KY     90012188188
48648A5165B395   JOHN             SCHUMAN JR               OR     44556300516
48649323372B36   NOEMI            MARQUEZ                  CO     33089733233
48649636772B43   ISRAEL           FLORES                   CO     33076106367
4864B682761967   NELID            SALGADO                  CA     90009596827
4865178565B174   ANITA            BAKER                    AR     90004677856
486524A1791988   RICKY            MENDEZ                   NC     90014724017
48652998672B43   LUIS             BUSTILLOS                CO     90013559986
48652A3965B58B   LEANNE           HICKS                    NM     90007720396
486536A2661967   ANTONIO          DORADO                   CA     90005626026
486541A235B53B   MERLINDA         FLORES                   NM     90014871023
48654613272B4B   PHILIACIA        LADEAUX                  CO     90013046132
48654A2135B56B   MATTHEW          WOLL                     NM     90008140213
4865786935B53B   BROCK            BARRETT                  NM     35066838693
48659126A5B395   LUIS             BRITO                    OR     90003051260
4865931898B186   KAY              JENSEN                   UT     31083743189
4865971475B222   VIRGIE           DOUGLAS                  KY     90014237147
486599A6661963   ALISHA           BURMESTER                CA     46047739066
4865B94425B174   LADESIREY        MOLO                     AR     90003069442
4865BA43191988   ROSE             WILSON                   NC     90011030431
48661165A5B58B   EZEQUIEL         GRADO                    NM     90012041650
4866122375B222   FRANCES          CRAWFORD                 KY     90013542237
4866124415B222   CHRISTINA        DAVIDSON                 KY     90015212441
48661932972B4B   SHARLIQUE        HARALSON                 CO     90015269329
4866214598168B   SHEILA           CARSON                   MO     90010631459
486627A7A51334   ANTHONY          HOLSINGER                OH     90014637070
486637A322B27B   FRANCISCA        AGUILAR                  DC     90003587032
4866411655B53B   APRIL            SALAZAR                  NM     90014871165
4866429348B165   COREY            BARRRETT                 UT     90003232934
486645A5661967   EDGAR            VALLEGOS                 CA     90012245056
4866492338B16B   BEVERLY          ASCHLIMAN                UT     90014169233
48665351A8B16B   ANDREA           MORRISON                 UT     90014633510
486653A115B222   ANGELA           YANES                    KY     90012073011
4866582742B87B   KAMELLA          BERRY                    ID     41005728274
4866684975B395   TIM              HAYES                    OR     44576008497
48666A25691547   COREY            ONTIVEROS                TX     90012590256
48666AA715B53B   BOBBY            LOPEZ                    NM     90014880071
4866859495B53B   EDDY             SANDOVAL                 NM     90010105949
4866913A772B4B   SHELBY           SCHALLMO                 CO     90009311307
4866997A44B52B   SHAREKA          NORMAN                   OK     90013229704
4866B492272B43   HEIDI YUASELIN   NUNEZ                    CO     90012634922
4866B525451334   ANTONIO          PACHECO                  OH     66070395254
4866B559471999   CHRIS            BORTON                   CO     90001685594
4866B783291569   OLGA             MARQUEZ                  TX     90012817832
4866B8A935B222   SHARKERIA        STARKS                   KY     90007188093
4867122385B174   KATESA           WASHINGTON               AR     90013542238
4867143824B271   CHRISTINE        BARNES                   NE     90010304382
48672348A72B38   SAM              ROSALES                  CO     90001773480
4867326765B174   LASHANNON        ABRAHAM                  AR     23077232676
4867339235598B   BLANCA           ROMO                     CA     90014753923
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4867364974237B   KEVIN WILLIAM   DONOVAN                   GA     90009096497
48673A8A15B53B   NEMECIO         VASQUEZ                   NM     35061290801
48674135A5B53B   CHRISTINA       ALLEN                     NM     90014871350
48674241A51334   MARY            LONG                      OH     90007052410
486742A2774B8B   CHANDA MAE      GIBBS                     OH     90011082027
4867599AA5B53B   LYDIA           NUNEZ                     NM     90008059900
48675A74891394   ROSA            VALLEJO-SANTOS            KS     90014920748
486769A7972B43   PARIS           HOLMES                    CO     33007259079
48676A74891394   ROSA            VALLEJO-SANTOS            KS     90014920748
48677292A91569   JAMES           KELL                      TX     90006742920
48677592A8B165   CORY            NIPPER                    UT     31023645920
48677A3A37B324   NAZIR           BECERRA                   VA     81039440303
48678447172B43   LORI            KING                      CO     90012824471
48678792A91873   CHERYLLN        GEISER                    OK     90003127920
486787A9772B4B   SAMANTHA        ORNELAS                   CO     90010597097
48679264624B42   MARTA           LEON POLO                 DC     90003662646
48679A82A61963   VIVIAN          KUUMBA                    CA     90013620820
4867B173791988   DANILO          PACHECO                   NC     90010321737
4867B18114B259   MICHAEL         LUCERO                    NE     27063431811
4867B523A77554   JOYCE D         TRIGUEIRO                 NV     43082825230
4867B63515B222   SUJIT           SUBBA                     KY     90009096351
4868195885B174   KISHA           STEWART                   AR     90013439588
4868246725597B   SANGALOUN       KEOPHALY                  CA     90014034672
48682511991B88   ANTONIO         SALAZAR                   NC     90015345119
4868332A351334   SHERRON         MCDANIEL                  OH     66095373203
48683452A93762   FARRAH          VANCULIN                  OH     90013804520
4868437A191834   VICKI           PHILLIPS                  OK     90015113701
48687919372B4B   ANTHONY         MARCHESA                  CO     90013899193
4868795465B222   CONNIE          GALLAHUE                  KY     90015149546
48687A7A272B36   DANNY           CARTER                    CO     33049450702
48688812A85939   JOSH            CROUCH                    KY     90009258120
48688A48972B36   STEPHANIE       BELLERIVE                 CO     90002680489
4868B1A6972B85   ANN             KENNEDY                   CO     33095071069
4868B781191873   KYLE            FRIEND                    OK     90007177811
4868B84978B165   MARTHA          FERNANDEZ                 UT     90008828497
4869163265B174   DONNA           WINNE                     AR     90007626326
48691A47161963   ROSE            WALSH                     CA     46004760471
4869276695597B   RHOAN           LYLE                      CA     49006927669
4869518545597B   MIGUEL          CASTILLO                  CA     90007211854
4869527914B271   CHRIS           MIERAS                    NE     90008312791
48695547A5B58B   JARAMILLO       JARAMILLO                 NM     90004145470
4869616647B456   LYNETTE         SHETTON                   NC     90002091664
486964A1251334   DUSTYN          WILLIAM                   OH     90007564012
486965AA872B43   ELIZABETH       HERNANDEZ                 CO     33057875008
48696A92161963   SUZI            ORAHA                     CA     90011640921
4869731552B27B   DAVENSON        CYCERON                   VA     90009573155
48697A4A751334   CENI            ORELLANA                  OH     90012620407
48698A49351334   EDDY            CARRASCO                  OH     90012620493
4869916A97B452   KIERRA          SMITH                     NC     11090081609
4869B27914B271   CHRIS           MIERAS                    NE     90008312791
4869B5A512B87B   AMI             MANNING                   ID     41044065051
4869B5A5A5597B   HARJIT          ROOPRA                    CA     90014565050
4869B76A72B27B   DIAMON          BRINKLEY                  DC     90001887607
486B154A391569   MICHAEL         QUINONES                  NM     75085075403
486B258454B271   JOSE            R                         NE     27096665845
486B2768177595   JULIO           CARDENAS CRUZ             NV     90010567681
486B285755597B   NOEMI           HERNANDEZ                 CA     90006548575
486B3597191988   NEFTALI         AGUIRRE HERNANDEZ         NC     90014835971
486B3694181669   KYLE            RAY                       MO     90010736941
486B3873661967   LEOORNARDO      ALMARAZ                   CA     46039198736
486B41A4172B43   BRYAN           KNIGHT                    CO     33010051041
486B432915B391   ERIK            WICKMAN                   OR     44522863291
486B4518271999   CHARISSA        LUCERO                    CO     90006135182
486B469243B397   KIMBERLY        MONTANO                   CO     90009146924
486B498478B16B   BRITTANY        MILLER                    UT     31073959847
486B538218B16B   WARREN          BECK                      UT     90005413821
486B5568A61963   MARISOL         JIMENEZ                   CA     90014275680
486B562275B53B   CLAUDIA         MORENO                    NM     35066236227
486B5813351334   JOSHUA          MATTHEWS                  OH     90014778133
486B581452B27B   WANDA           FAULKS                    DC     90013168145
486B5864361967   IGNACIO         MORA                      CA     46013498643
486B5928292825   RUFINO          LOPEZ                     AZ     90014109282
486B6814161963   JOSE            BATISTA                   CA     46059208141
486B6A48572B36   MIACHAEL        HEALING                   CO     90014320485
486B815792B872   CODY            LOVELACE                  ID     42004171579
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486B8341A72B4B   ROSALBA           MORALES                 CO     33067863410
486B883794B259   SHAKIRA           DAVIS                   NE     90001268379
486B914674B271   COLTER            RIPTON                  NE     27066291467
486B918188B156   TRENT M           AMANN                   UT     90010331818
486B9667172B43   OMAR              CORDOVA                 CO     90013776671
486BB158591873   BRITTANY          EDWARDS                 OK     21011661585
486BB387391988   NELSON            ANDRADE                 NC     90007173873
486BB82742B87B   KAMELLA           BERRY                   ID     41005728274
4871127815B222   ADAM              TAYLOR                  KY     90011082781
48712489772B43   MARGIE            MACBRIDE                CO     33030314897
4871258415597B   MARTHA            OROZCO                  CA     49026855841
487125A572B27B   DANI              HILLIARD                DC     90013515057
48712AA375B58B   JOSE              LUCERO                  NM     90014200037
4871313A651334   AMIE              PLAVSIC                 OH     90014681306
48713648272B36   MARCY             BEARD                   CO     90014366482
4871368525597B   MARIA             GOMEZ                   CA     90011136852
487143A3691956   GEORGE            DARE                    NC     17018763036
487146A265B53B   GERARDO           LIMAS                   NM     90007426026
4871493492B27B   SANDRA            RODRIGUEZ-DIAZ          DC     90003239349
4871524335B388   AHMED             KHAWALDA                OR     90013902433
48715518572B43   ANTHONY           LAROCCA                 CO     33002575185
4871573235B395   BRITTNEY          OTIS                    OR     90006337323
48716116572B36   DALE              PETERSON                CO     90010921165
4871613365B222   ALLEN             CARBY                   KY     90012741336
48716234A61967   JOE               MESA                    CA     46092452340
4871645A372B43   TAMARA            HILL                    CO     90012934503
4871664165597B   LINA              GONZALES                CA     90008346416
48717176172B36   RICARDO           ROSALES                 CO     33058001761
4871725245B53B   ABRAHAM           ROBLEDO                 NM     90011402524
4871747715B53B   FELIPE            MENDOZA                 NM     90012174771
48717495A5B395   TERRY             FOSTER                  OR     44509724950
48717A83591524   LORENZO           CABRAL                  TX     90011890835
48718A32791988   JOAN              PURDIE                  NC     17012390327
48719317A71999   LOU ANN           ARAGON                  CO     90001413170
48719618A72B36   BLAKE DEJONECHE   SWAIN                   CO     90010826180
48719932772B43   JOLOU             URBAN                   CO     90014769327
48719A11185886   CAROL             FOGG                    CA     46008920111
4871B16165B53B   VASQUEZ           TASHA                   NM     90004001616
4871B259891988   TONY              MCNEIL                  NC     90011082598
4871B34265B395   NICOLE            STREETER                OR     90008993426
4871B62295B174   LAKITH            GOLDEN                  AR     23081376229
4872123875B222   JACOBY            MASK                    KY     90014742387
487221A595B58B   JHONY             CHAVEZ                  NM     90006951059
48722A1498B157   JONATHAN          TALOA                   UT     90012990149
48722AA1151334   JENNIFER          NASSAR                  OH     90015300011
48722AA152B27B   FRANCISCO         GONZALEZ                DC     81047000015
48723A5685B53B   CHERISH           HOGGAN                  NM     90014880568
4872467345B222   JOE               ROBINSON                KY     90000296734
487271A6851334   JOSE              RENTERIA                OH     90014751068
48727443A7122B   LAMYIA            RHYNE                   IA     90015234430
48727482A91988   JASSMYN           SPINKS                  NC     90014724820
4872753595597B   VRISAMAR          ESPINOZA                CA     90002985359
4872774A65B53B   JESSIKA           DUGGINS                 NM     90014457406
48729131A72B36   JOSE              OSORIO                  CO     33062821310
4872B151872B4B   LORENA            SANCHINEL               CO     33097981518
4872B37795B222   MATTHEW           MOODY                   KY     68041773779
4872B774771999   PANNI             LANE                    CO     90014617747
4872B78175B53B   DARLENE           TRUJILLO                NM     90005277817
487313A915B174   CANDACE           WARD                    AR     90014703091
4873161657B394   OSCAR             GONZALEZ                VA     90006186165
4873169325B58B   JOSIE             GUTIERREZ               NM     35051506932
4873172188162B   SAMIR             GUSEYNOV                MO     90005817218
48731A36991394   LASHON            FORTE                   KS     29089560369
4873241795B53B   CHRIS             ABAS                    NM     90006684179
4873394325B53B   LILIA             VALENZUELA              NM     90010869432
4873438335B174   LINDA             UMERAH                  AR     23022913833
48734529A91569   YOLANDA           VARGAS                  TX     90011645290
4873498135B53B   GUADALUPE         JIMENEZ                 NM     90013239813
48735499A91569   RUTH              VILLANUEVA              NM     75084434990
487354A6861963   PAYGO             IVR ACTIVATION          CA     90012414068
4873574835B58B   PATRICIA          MERAZ                   NM     35066157483
4873615264B271   GINA              GRIFFETH                IA     90000661526
4873681825B395   STEPHANIE         COCHRAN                 OR     44535448182
4873833185B58B   RUBEN             SANCH                   NM     90003973318
4873856978B165   MARCOS            OLMEDO                  UT     90004075697
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48738A18232586   GREG           ANDERSON                   TX     90015460182
4873939612B23B   AISHA          LAUGHTON                   DC     90008163961
48739A32551334   ANGEL          GRIFFIN                    OH     90013820325
4873B218691569   MARYRA E       VAZQUEZ                    TX     90014122186
4873B324972B4B   MARISOL        AGUIRRE                    CO     90002173249
4873B446172B36   FRANK          BELLO                      CO     90012374461
4873B615A5B58B   CANDACE        GARCIA                     NM     90014076150
4873B766272B43   VERONICA       MARTINEZ                   CO     90008947662
4873BA12A8B16B   SIALE          ANGILAU                    UT     90003170120
487411A224B259   MARY           BAUGHMAN                   NE     27048851022
4874184A79185B   ANDREW         WEBB                       OK     90000628407
48741A14672B4B   DAVID          GALLEGOS                   CO     90010910146
4874255195B53B   DORA           BALTAZAR                   NM     90005395519
4874261948B16B   ROBERT         LAWSON                     UT     90003836194
4874266A861967   DEDDY          JORDAN                     CA     90007896608
4874274A891523   FABIOLA        NEVAREZ                    TX     75004457408
4874332995B58B   MONSERRETO     ASAMOAH                    NM     90004063299
4874336785B597   MARIA          ORNELAS                    NM     90004003678
48743538972B4B   JERRY          OCONNOR                    CO     33054205389
4874431285597B   NICHOLAS       NORBERTE                   CA     90010383128
4874479358B165   CINDY          ANDERSON                   UT     31049587935
4874484368B16B   JODY           HARDMAN                    UT     90010308436
4874562775B299   MARIO          RECINOS                    KY     90010376277
4874637775B222   SHANNON EDNA   STIVERS                    KY     90013863777
4874645415B395   KENNETH        KELLY                      OR     44580174541
4874646A484368   CRIZTIAN       BOTTA                      SC     14597284604
48748477272B4B   ADAM           FEINBERG                   CO     33087204772
4874854245B58B   JOEY           CHAVEZ                     NM     35090625424
4874919A561967   PEREA          DAVID                      CA     90012601905
48749245772B36   KRISTEN        FRASCA                     CO     33003352457
48749A61991988   JENNIFER       PERKINS                    NC     90014210619
4874B23A972B36   YVETTE L       MORENO                     CO     90013172309
4874B2A5261967   YLAIZA         AHMAD                      CA     46045432052
4874B74A784368   ISREAL         MARTINEZ                   SC     14501937407
48751181674B97   BARBARA        PRIORE                     OH     90015261816
487514A2271999   VANESSA        GOMEZ                      CO     90008104022
4875173585B395   SAMUEL         BILTON                     OR     90010517358
48752185672B23   BLANCA         DIAZ                       CO     33008971856
4875229315B53B   CASTRO         JOB                        NM     35053112931
48752543A61963   VICENTE        RUIZ                       CA     90007655430
4875296262B27B   TRANCITO       QUINTANA                   DC     90005869626
4875345358B16B   LEANDRA        HOWRY                      UT     31076054535
48753821272B36   SANDRA         CHAVEZ                     CO     90001988212
48755857472B43   RUDY           GARZA                      CO     90003918574
48755A46161963   ESTER          SANDAVOL                   CA     46079140461
48755A9552B87B   LATINA         WATSON                     ID     90009330955
48756492A5597B   SARA           ORTIZ                      CA     90014824920
487567A125B174   ROBERT         YOUNG                      AR     23011467012
4875759175B58B   LESLIE         PAIZ                       NM     90006835917
4875766455B222   ROCHELLE       WALLACE                    KY     90008126645
48758391872B36   KRYSTAL        TADYCH                     CO     90008923918
4875841775B222   GERALDINE      GAUS                       KY     90011394177
48758934A33635   JONTILLE       HANEY                      NC     90011669340
4875946955597B   GIL            LAY                        CA     90000344695
4875B4AA591569   JUAN           MATOS                      TX     75014734005
4876128575B37B   DEBORAH        BROWN                      OR     90005132857
487614AA761967   REBECA         ATUATASI                   CA     90014454007
4876158495B222   GAYNELL        HARRIS                     KY     90014135849
4876219735597B   CHRISTOPHER    MEDRANO                    CA     90013721973
4876287685599B   CARMEN         CERDA                      CA     90010278768
48762A4A771999   DANA           VALENTINE                  CO     38010180407
4876313744B271   JOSHUA         BONNELL                    NE     90014781374
487638A715B53B   COLLEEN        JOHNSON                    NM     90013378071
48764273472B36   CARISSA        GAINES                     CO     33013002734
48764A89985941   BRADLEY        LAWLESS                    KY     90011280899
4876544432B27B   ANITA          HOSKINS                    DC     90013414443
4876582324B271   ROGER          MOORE                      NE     27030848232
48765A69461967   SOCORRO        FINO                       CA     46019250694
48766625A61963   MARIA          LARA                       CA     46044456250
48767155A5B53B   ROBERT         RAMIREZ                    NM     90012571550
4876724158B16B   SAEED          KESHMIRI                   UT     90001922415
48768525172B98   ANGELA         BATH                       CO     90012935251
4876854A571999   JOSE           HERRERA                    CO     38080455405
4876871882B87B   DANIEL         BECK                       ID     41062037188
4876947345B174   BRITTANY       ROGERS                     AR     90012314734
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4876968915B58B   MIRIAM       RAMIREZ                      NM     35076366891
487698A1891988   MAUREEN      SCARLETTE                    NC     90013928018
4876B14745B58B   RONALD       RYMARZ                       NM     35080011474
4876B89A491569   YAAVONNE     CUEVAS                       TX     90004398904
4876BA54A51334   KRISTINA     LITTLE                       OH     90009080540
48773882A2B27B   NICOLE       ADAMS                        DC     90001258820
48774191172B36   JOSE         CLEMENTE                     CO     33026151911
48775155172B4B   JOSE         RIVERA                       CO     33049041551
4877526582B87B   DENNIS       HANKINS                      ID     90009662658
4877539A671999   CONNIE       MARMOLEJO                    CO     90011793906
487753AA993767   SHADAWN      PARKER                       OH     90010613009
487755A795B222   ERIC         ERVIN                        KY     90003065079
4877586436198B   IGNACIO      MORA                         CA     46013498643
4877693765B395   JOVITA       CAMPOS                       OR     44523909376
487773A4691523   FRANCISCO    MAURICIO                     TX     75089563046
487781A118B165   JOSUE        CAMPOS                       UT     31041591011
48778699372B43   ANGELO       BUSTAMANTE                   CO     90011206993
4877B835792825   WILLIAM      PLETCH                       AZ     90014578357
4877B8A5266147   REYNALDO     TAPIA                        CA     90014748052
4877B96925B222   ALEX         NIEMANN                      KY     68057599692
4878128964B271   JOHN         BAKER                        NE     27052212896
487812A6472B98   JOHN         TILTON                       CO     90003122064
4878256114B259   STEPHANIE    HOWARD                       IA     27046755611
4878325478B16B   WHITNEY      NESBITT                      UT     90014642547
4878411275B555   CIERRA       BUSSEY                       NM     90014051127
48784161372B36   JOSEPH       LUCERO                       CO     90010391613
4878525A861963   ROSA         RODRIGUEZ                    CA     90014812508
48785289A5136B   BILL         HAMMONS                      OH     66079512890
487852A315597B   KENNETH      DOLAND                       CA     90014132031
48785693572B36   BRENDA       SEVERSTON                    CO     90009326935
48785871A5B299   KEMNEJER     ALEXANDER                    KY     90010648710
487859A257B48B   JUAN         VAZQUEZ                      NC     90001659025
487861A3891988   ARIELA       TAVERA                       NC     90006431038
48786974272B36   MAGGIE       BRADFORD                     CO     33078359742
4878847965597B   PAYGO        IVR ACTIVATION               CA     90013644796
48788821A91873   TERRI        STOCKTON                     OK     90005018210
4878945472B87B   DEWEY        WATTERS                      ID     41030524547
4878B5A6693765   RACHEL       HENGER                       OH     64594635066
4878B629177595   MICHAEL      SWART                        NV     90010576291
4878B76355B279   TANIKA       BETTS                        KY     90009087635
4878B954885841   MARILYNE     AYERS                        CA     90001089548
4879128655B174   RICHARD      SUITT                        AR     90013152865
4879177A372B4B   MARTIN       ROSAS                        CO     33025927703
487922A4672B43   HENRIETTA    FORD                         CO     90007382046
4879266465B58B   STEPHAINE    RAEL                         NM     90015086646
487931A425B53B   RAFAEL       FLORES                       NM     35094221042
4879344149155B   GEORGE       BRICKER                      TX     90013404414
48793876172B36   GINA         MUMFORD                      CO     33069408761
4879391142B27B   TORRENCE     ADAMS                        DC     90008569114
48793A6A571999   SHANA        SMITH                        CO     38045670605
4879556A361963   VICTOR       MONDRAGON                    CA     46041405603
4879569472B87B   JASON        FARMER                       ID     41063726947
48795A39571999   YOLANDA      TRUJILLO                     CO     38041840395
48796274372B36   JESUS        PEREZ                        CO     90000492743
4879656548B16B   JAMES        ALLRED                       UT     90004085654
487967A3691394   ERIKA        ARREDONDO-ALEMAN             KS     90014937036
487973A1A4B271   CODY         EGGLESTON                    NE     90002343010
4879767A45B222   MICHAEL      CARLTON                      KY     90000586704
4879774397B35B   INMAR        CEDILLOS                     VA     81063947439
487985A398B16B   HOPE         PISTONE                      UT     31055335039
4879928315597B   JOSE         CORTEZ                       CA     90013662831
4879963885B58B   ELIZABETH    BARRERAS                     NM     35028856388
4879B6A128B16B   CAMERON      STEWART                      UT     90013306012
4879B93A24B597   LINDSEY      HUGHES                       OK     90013139302
4879BA72572B4B   JOSE         ORTIZ                        CO     90014750725
487B123A177595   JAMES        WILSON                       NV     43043722301
487B1783755955   MARIA        LOPEZ                        CA     90006777837
487B1916A5B222   TATISHA      CRISS                        KY     90011939160
487B2942A61966   JORGE        MARTINEZ                     CA     90013049420
487B3365851334   JENNIFER S   COATS                        OH     90007563658
487B4359771625   ARON         ROSE                         NY     90008823597
487B4637761967   KAREN J      FLEISHER                     CA     90011406377
487B5111A4B259   SALMON       KIENTEGA                     NE     90008821110
487B528715B174   ROBERTA      COLLINS                      AR     90008862871
487B59A915597B   CINDY        MORALES                      CA     49036069091
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487B612742B27B   ASHANE       BELLAMY                      DC     90014691274
487B621A491988   CAROL        BAILEY                       NC     90014152104
487B6283A61963   YULIA        GOLOVKOVA                    CA     46070112830
487B62A4872B4B   FELICIA      SUAZO                        CO     33045792048
487B6691191394   DAN          PETERS                       KS     90002836911
487B6722A71999   ANTOINETTE   SAIZ                         CO     90014617220
487B734895B222   TONY         ATKINSON                     KY     68056393489
487B7387772B4B   ROLAND       BROOKS                       CO     33091483877
487B83A9672B43   JANINE       BROWNE                       CO     90014713096
487B9812861963   JENNIE       HERBST                       CA     90012338128
487BB84322B87B   GUY          COCHRAN                      ID     41067898432
487BB8A615597B   DESIREE      COSTELLO                     CA     90006348061
487BB8A9861941   JESSICA      GILLETTE                     CA     90005508098
487BB946491394   JOSE         SOLIS                        KS     90007559464
48811676A4B271   BRENDA       FINNEGAN                     NE     90009856760
48811745472B36   JENNIFER     MALLORY                      CO     90012317454
488146A744B259   THOMAS       JACKSON                      NE     90001896074
48814A72A5B222   KEVIN        SMITH                        KY     68017160720
4881512435B395   LILIAN       CALDERON                     OR     90006091243
4881563A371946   CHARLES      RICE                         CO     32082176303
48815747572B36   JOSE         BARRERA                      CO     33091307475
48815A2595B58B   ADAM         VASQUEZ                      NM     90014910259
4881627428B16B   CARLINE      TAHITUA                      UT     90014642742
48817448A2B27B   OCTAVIUS     GRANT                        DC     90012714480
488178A7961967   PAMELA       PENDLETON                    CA     90013988079
48818614672B36   JORGE        MUNOZ-MORALES                CO     90013056146
4881861888B163   RODNY        HARDMAN                      UT     31070056188
488198A3791394   RAMIRO       LINARES                      KS     90014938037
48819A38A8B16B   FRANCISCO    VARGAS                       UT     31092550380
4881B4A368B16B   FELIPE       TREVIZO                      UT     90012194036
4881B991171999   ROBERT       LUCERO                       CO     90010199911
48822A54751328   BARB         PRYSE                        OH     90007700547
488232AA15B58B   MICHAEL      MASON                        NM     90012192001
4882342445B58B   MARCOS       MARES                        NM     90013874244
4882456488B16B   ROBYN        ADAMSON                      UT     31094665648
488247A477B386   LUIS         FILTRIN                      VA     90001517047
48824A69291988   NEGUSSIE     BETELE                       NC     90011440692
4882515375B53B   OSNIEL       SARDUY                       NM     90014881537
488255A4372B36   JEFFREY      SIMERAL                      CO     90000625043
48825A45A61967   SOUTHISA     PHETXAYABOTH                 CA     90011800450
48829497A93769   JOSHUA       DEAN                         OH     90008334970
48829549272B43   ERIK         LEE                          CO     90014155492
48829853372B36   LAURA        DURAN                        CO     90014538533
48829A2395597B   JOSE         RUIZ                         CA     90010440239
4882B79892B27B   HAILE        TEWDOLE                      DC     81078437989
4882B9AA177595   INDIRA       GONZALEZ                     NV     43062629001
4883138A272B36   CLAUDIA      DIAZ                         CO     33017873802
4883214925B53B   JOHN         CURLISS                      NM     35003951492
4883317515B395   ERIC         FAIR                         OR     44563721751
48833934A92825   NATASCHA     WATHOGOMA                    AZ     90014699340
4883446468B124   KIESSA       HARVEY                       UT     90013764646
4883477765B222   NATHAN W     ALLEN                        KY     90012297776
4883641255B174   KESHA        WALKER                       AR     23061304125
4883658885597B   CARLOS       GUTIERREZ                    CA     90015045888
48837294472B36   JESSE        PROOT                        CO     90000752944
48837498272B4B   WENDELL      HILL                         CO     90014504982
4883751315597B   ADRIANA      GARCIA                       CA     90000345131
4883815975B53B   MANUEL       GONZALEZ                     NM     90014881597
488381A265597B   FEDERICO     TIRADO                       CA     49077791026
488385AA861967   JUAN         ESTRADA                      CA     46091065008
48839278A4B259   SHARON       VOLTENBERG                   NE     90006312780
4883B452172B4B   SERGIO       PLASCENCIA                   CO     33036244521
4883B527A91569   TANIA        ROJO                         TX     90000835270
4883B649A5B58B   RAY JR       VIALPANDO                    NM     35024436490
48841211A2B27B   GENEVIEVE    TAYLOR                       DC     90010882110
488412A8777595   ZORAIDA      RIOS                         NV     43079432087
4884385568B546   LUCY         TINEZ                        CA     90015348556
4884498574B259   MARY         CASE                         NE     90007179857
48844AA745B53B   LAWRENCE     TAFOYA                       NM     35050310074
488451A1791988   SADAF N      KHAN                         NC     90013981017
4884535222B87B   TAYLOR       HARRIS                       ID     41070243522
4884839218B16B   KANDY        PECK                         UT     31022033921
4884934695B53B   DEBRA        MONTOYA                      NM     90006993469
488496A3791569   ARTEAGA      ANNETTE                      TX     90002836037
48849958872B43   MARIA        HERNANDEZ                    CO     33002209588
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48849A38551334   JESSICA      HUGHES                       OH     90009980385
48851863A41241   QUALYNN      LINNEN                       PA     90011918630
4885244492B27B   MARK         LUCAS                        DC     90014724449
48853775A91331   ROBERT       WYNN                         MO     90006977750
48853A3745B395   VICTORIA     LUKENOVICH                   OR     44586090374
488542AA95B53B   LAWRENCE     SANCHEZ                      NM     90002992009
4885441175597B   DAVID        HERNANDEZ                    CA     90014904117
48854A67691569   REBECCA      CHAVIRA                      TX     90006560676
4885549512B27B   STAN         POPE                         DC     81073844951
4885556425B222   KENNETH      MUSE                         KY     68042865642
48855618672B4B   SUSANA       FLORES                       CO     90010686186
48855912A72B43   TRISTAN      SALAS                        CO     90014189120
4885613128B594   KASSIE       GLADDEN                      CA     90011361312
48856551172B43   AARON        MCDONNELL                    CO     90004135511
48857257572B43   BACA         SAMUEL                       CO     90008882575
4885772415B53B   BENAVIDES    SHAWN                        NM     35094807241
48858899A71999   DOMINIC      DIAZ                         CO     90004358990
4885931958B16B   DANIELLE     MECHAM                       UT     31074353195
4885B23617B445   LATROYA      MCILLWAINE                   NC     90011102361
4885B685691394   KAREN        LEAPER                       KS     90010646856
4885B8AA25B58B   ROBERT       PADILLA                      NM     90015138002
48861195172B23   HEATHER      YOUNG                        CO     90008621951
48861231497B74   FAUSTINO     GONZALEZ                     CO     39038582314
48862A49A91873   CARLY        LUCKER                       OK     21012690490
4886315A191549   MARTHA       LEON                         TX     90013061501
488634A615B174   EBONY        LOUDEN                       AR     23085634061
48863564172B4B   DARLINE      ARGUELLO                     CO     90012405641
4886387644B259   IVAN         ALBAREZ                      NE     90007888764
48863A24391988   BARBARA      CHALMERS                     NC     90010380243
4886418154B271   MARK         WAGLE                        IA     90010631815
48864578A5B222   AMANDA       FITZGERALD                   KY     90013535780
48864A11271999   DAVID        WILBURN                      CO     38062360112
488663A415B222   TANAJIA      REED                         KY     90012353041
4886671275597B   DAISY        RAMIREZ                      CA     90006177127
48866A49933B88   PAUL         WATSON                       OH     90014580499
48866A51561963   JAYLYNN      ATWOOD                       CA     90014860515
4886715275597B   HECTOR       LOPEZ                        CA     90002181527
4886743A42B87B   ANNE         WIRTH                        ID     90005324304
4886747212B267   CHIFUAN      HEAD                         DC     90013804721
4886764144B259   VALENTINE    RED                          NE     27081936414
4886784365138B   JUNIOR       HICKS                        OH     66081358436
4886912118B167   NOEMI        YANAGUI-MELENDE              UT     90013391211
48869744172B36   ANTONIA      POLK                         CO     33014347441
488697A5651331   DAVID        LAKEMAN                      OH     90007487056
4886B77262B27B   THERESA      BROWN                        DC     81085417726
4886B79724B271   ALEJANDRO    GONZALEZ                     NE     27007307972
4886B9A118B16B   BEDES        CORADO                       UT     31028689011
4887195922B87B   BRANDON      HEBERER                      ID     90004509592
48871A7145597B   DEBRA        GRAVON                       CA     49042970714
4887233755597B   RON          WAGNER                       CA     90015143375
4887362855B53B   ANTHONY      BARELA                       NM     35017986285
48874432A72B43   MARIA        AVALOS                       CO     90005154320
4887452615B541   ALICIA       GARCIA                       NM     35044805261
48876192A72B36   MARIA        PENA VARELA                  CO     33061091920
48876328A72B4B   ANGELA       CORTEZ                       CO     90011163280
4887712999155B   ANTHONYE     VARELLA                      TX     90008411299
4887763385B222   GARY         POSEY                        KY     68095416338
4887795725B174   ERICA        FITZPATRICK                  AR     23069009572
488798A454B271   RUACH        MUR                          NE     90002448045
48879972A72B36   RAFAEL       ESCOBEDO                     CO     90012929720
4887B44658B187   AMBER        PRESWITCH                    UT     90014104465
4887B7A6551331   PATRICIA     GRUBBS                       OH     90007037065
48881376372B43   ANDRES       AGUILERA                     CO     90012643763
4888143A42B87B   ANNE         WIRTH                        ID     90005324304
4888171395B222   JAMES        RAGLAND                      KY     90011447139
4888298755B53B   VICTORIA     TAFOYA                       NM     90005679875
48883117672B36   KIARA        MARTINEZ                     CO     90011351176
4888348A957B61   ABIGALE      KLOSS                        PA     90015234809
4888565835597B   MANUEL       GUTIERREZ                    CA     49054166583
48886344A5B53B   ANDY         FRANCO                       NM     90009973440
4888637888B16B   VINCENT      SADLER                       UT     90010363788
4888667815597B   POLO         VALENZUELA                   CA     49042006781
4888673A892825   DULCE        ACUNA                        AZ     90014847308
48886A39372B36   JUAN JOSE    AGUERO                       CO     33081990393
48887315172B36   TIMOTHY      MENDIAS                      CO     33081013151
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4888784255B222   KELLY        MICTCHELL                    KY     90010668425
4888815722B27B   DARREN       MCCOY                        DC     90014081572
4888832A891394   DEVIN        TODD                         MO     90008433208
4888881443B356   ELMIR        MASETIC                      CO     90007688144
48888A17572B36   OLGA         MADERA                       CO     33046340175
48888A4835B53B   MARY         ROMERO                       NM     35007090483
48888A9615597B   IRMA         TORRES                       CA     90013750961
488895AAA91394   MANUEL       MELENDEZ                     KS     90014945000
4888B236791394   ALFERODO     CHACON CARRERA               KS     90015312367
4888B44327B445   IMELDA       HERNANDEZ                    NC     90004374432
4888B4A5671999   AMANDA       VALDEZ                       CO     38085724056
4888B57225B174   DANIEL       GOVAN                        AR     90014925722
4888B727477595   MARIBEL      ORDAZ                        NV     90010937274
4888B777A5597B   MARVIN       PORTILLO                     CA     90015147770
48891367A8B16B   ANNE         WALLACE                      UT     90014643670
488915AAA91394   MANUEL       MELENDEZ                     KS     90014945000
48892823457B61   LORENSO      AMAYA                        PA     90015558234
48894464A8B165   MARIA        LAGUNAS                      UT     31095324640
488955A8491394   FELICIA      QUALLS                       KS     90014945084
4889565372B27B   DAVID        BLANCO                       DC     90012776537
4889689435597B   ANGEL        MIRANDA                      CA     90007728943
48896993672B39   DEBORAH      WEAVER                       CO     90002789936
48897472A5B174   MARCUS       SUMMONS                      AR     90014624720
4889916375597B   CLIFFORD     WEBB                         CA     49097541637
488992A373B393   MTRENZ       GRANT                        CO     90013632037
4889952595B53B   EUGNE        KYLE                         NM     90014885259
4889B48943163B   GENEVIEVE    CHILDS                       KS     22090244894
4889B74795B53B   IRMA         ESPARZA                      NM     35096277479
4889B91178B16B   BRITNEY      MANATAU                      UT     90013269117
488B1125651334   BILLY        MCGEE                        OH     90009281256
488B123198B14B   LOWELL       REEDY                        UT     90002802319
488B1374191988   LAWANDA      LEWIS                        NC     17085153741
488B214512B27B   DIEGO        ESCALANTE                    DC     90006081451
488B227138B165   MARY         LONG                         UT     31007342713
488B4553572B43   ANTONIO      PRIETO                       CO     33000665535
488B516232B27B   DENNIS       BOOIE                        DC     90012491623
488B5713391394   DONALD       PFISTER                      KS     90014937133
488B574415B338   JON          KIRKPATRICK                  OR     44591527441
488B6194472B4B   JODIE        MARTINEZ                     CO     90011231944
488B6592155999   ISRAEL       HERRERA                      CA     90011935921
488B6629A91569   LETICIA      ESCONTRIAS                   TX     90013906290
488B666795B395   JASON        ALEGRE                       OR     44556926679
488B6713391394   DONALD       PFISTER                      KS     90014937133
488B671972B27B   NICHOLE      DAVALL                       DC     90012527197
488B6A9835B222   JONI         JOHNSON                      KY     68096860983
488B7159A91956   RODNEY       LESINE                       NC     17040141590
488B7672791569   IGNACIO      MORENO                       TX     90009076727
488B813A75597B   FELIX        LOWE                         CA     90007451307
488B8883391988   LUIS         MAZO                         NC     90013788833
488B9365731621   SUSAN        IGOGO                        KS     90003743657
488B9717291988   TOMMY        HEADEN                       NC     17089067172
488BB21525B593   JENNY        ALDERSON                     NM     90008582152
488BB21563B359   SCOTT        SHIRES                       CO     33074862156
488BB253554121   MESHELLE     HARRIS                       OR     90013022535
488BB584461967   JUAN         MENA                         CA     90012095844
488BBA25691394   ANTONIO      GONZALEZ                     KS     29019600256
4891138812B87B   SHANNON      KENOYER                      ID     41070533881
48912439672B43   ANGELICA     SOBERANES                    CO     33054324396
4891349275B58B   ERNEST       GOMEZ                        NM     35097014927
4891354795B222   CANDICE      FIRES                        KY     90002785479
4891459152B27B   THERESA      DIXON                        DC     90013865915
48914682472B4B   UHRANN       SMITH                        CO     33034696824
4891469A32B27B   FREDDY       CARDONA                      DC     81082446903
48915332A8B16B   CHARLES      JOHNSON                      UT     90012653320
489163A2972B43   VERONICA     VILLALBAS                    CO     90008623029
4891699135B53B   ALEXIS       DURAN                        NM     90006619913
4891722532B27B   BRYANT       CLARK                        DC     90013062253
48917329272B43   MIGUEL       RAMIREZ                      CO     33060803292
4891756555B53B   OFELIA       ESCOBEDO                     NM     90014885655
4891768825B58B   VICTORIA     MADORE                       NM     90013466882
4891823987B472   MARQUITA     MASSEY                       NC     90010942398
48919324A2B27B   ALEX         AKINOLA                      DC     90013383240
48919A9558B16B   ALEX         RIVERA                       UT     31065300955
4891B331A51334   LIDIA        HERNANDEZ                    OH     90011623310
4891B37A591873   GUADALUPE    FIGUEROA DE SILVAR           OK     90000473705
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4891B758691569   MARIA         TRAVIZO                     TX     75052987586
4891B92A872B4B   COLLEEN       COLLINS                     CO     33009359208
48921233372B43   WALTER        AMES                        CO     90004402333
4892157995B53B   ROSALINDA     MERCADO                     NM     90014885799
48921A65651321   DIANA         MOON                        OH     90013270656
4892235282B87B   BRANDON       HERTH                       ID     41038513528
4892426825B174   ANNE          MYERS                       AR     90011702682
48924971172B36   JERVON        CLARK                       CO     90006089711
4892576A991569   MAYRA         GALLARZO                    TX     90013247609
48926A93791988   KYMBERLE      REDDISH                     NC     90012660937
48927948772B4B   DEBBIE        STRICKLAND                  CO     33025539487
4892797325B55B   MARIA         STANDLEE                    NM     90013589732
48927A2295B55B   MARIA         STANDLEE                    NM     90000970229
4892896378163B   KEITH         MURRELL                     MO     90011989637
48929167172B36   BRYAN         KERR                        CO     90011981671
4892947598B16B   ALEJANDRO     WEKSLLER                    UT     90014644759
4892B269691524   JOANNA        MORALES                     NM     90011872696
4892B28389373B   JULLIAN       BRIGHAM                     OH     90000952838
4892B662891873   JAIRO         TORRES                      OK     90006836628
4892B768291394   SERGIO        LINARES                     KS     29089697682
4893172222B27B   KENDRA        RICHMOND                    DC     90009787222
48931777972B4B   APRIL         BIEL                        CO     33017567779
4893191A45B395   ROBERT        MCDANIELS                   OR     90011279104
4893244A261963   ALYJAH        KENNEDY                     CA     90014704402
4893278925B391   RITA          MAMBU                       OR     90012987892
48932A4563B399   EARL          LEE JR                      CO     33018150456
48933184A72B36   BRIAN         CONNELY                     CO     33020211840
4893354555B174   LAMETRIA      JACKSON                     AR     90013805455
4893545A64B271   ELVIRA        RIVERA                      NE     27035154506
4893547618B16B   MARIA         RODRIGUEZ                   UT     90014644761
48936222272B36   AARON         MOSHER                      CO     90012972222
48936A9175B222   GINA          GUTHRIE                     KY     68097030917
4893737575B222   PENELOPE      SWAIN                       KY     90014463757
489377A4491569   JOHN          GREGORY                     TX     75044387044
4893847A651334   MONICA        MUHAMMAD                    OH     66012544706
4893858755B53B   KATALINA      GONZALES                    NM     90003465875
4893864312B27B   DON           KING                        DC     90015076431
4893B53954B259   ANTHONY       BAXTER                      NE     90000335395
4893B62A661967   SAUL          RUIZ                        CA     46024956206
4893B63384B259   ANTHONY       BAXTER                      NE     90013416338
4893B83585B597   DERRICK       VALENCIA                    NM     90013228358
4894225A15B395   JACK          LEE                         OR     44560192501
489423A3171999   TINA          COOPER                      CO     90003353031
4894271765B174   CHARLOTTE     WALKINS                     AR     90002917176
48942A25272B36   LUPE          BANUELOS-HERRERA            CO     90003810252
48943338572B39   TABITHA       JACKSON                     CO     90008243385
48943428972B4B   GERMAIN       ROMERO                      CO     33097684289
4894383725B174   ARLES         MEJIA                       AR     23026728372
4894442885B222   WHITNEY       BELL                        KY     90006334288
4894484475B174   OLIVIA        WALLACE                     AR     90013448447
48944954172B43   CRYSTIA       TATE                        CO     90013289541
48944A81985B26   KADEADRA      WESTON                      FL     90015410819
48945381A5B547   JOSE          FLORES                      NM     36066463810
489453A1872B43   MARIBEL       MANRIQUEZ                   CO     90015113018
4894595955B174   CRYSTAL       FRALIN                      AR     23037489595
489462A482B84B   GEBREHIWOT    GEBRESILASSIE               ID     90011852048
4894695762B87B   CHRISTOPHE    HABERER                     ID     90000689576
48946A3628B16B   MARY          LAWS                        UT     90012650362
4894763125B174   CONNIE        SYKES                       AR     90014876312
48947A21A2B27B   TROY          LIPSCOMP                    DC     90011110210
4894885166198B   SAM           OLIVEROS                    CA     90010348516
48948AA9891569   ANGEL         LIVARES                     TX     90015290098
48949264772B43   MARQUILLIIS   MURRAY                      CO     90013002647
4894979895754B   DANIEL        RIVERA                      NM     90014707989
4894984179373B   JUSTIN        LOGGINS                     OH     90012958417
4894B174951334   LINDA         COLLINS                     OH     90012601749
4894B49A971999   JACOB         CASACK                      CO     90014644909
4894B58758B16B   TIMOTHY       SIMPSON                     UT     90002645875
4894B684991873   ROB           MOON                        OK     21052736849
4895159485B53B   YVETTE        ORTIZ                       NM     35024195948
4895172A751334   MYEISHA       ALLEN                       OH     90004357207
48952762A5B174   REID          DOUGLAS                     AR     90015177620
4895337375B53B   STAN          BENAVIDEZ                   NM     90012073737
48953A93291569   IVAN          BURCIAGA                    TX     90005550932
4895445212B87B   LIZ           RADECKI                     ID     90004264521
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48955356A8B546   CHERYL       VINNEDGE                     CA     90014233560
48956691272B43   DALENE       PRIEST                       CO     33049216912
48956A16A8B16B   ALEX         ALICES                       UT     90011520160
4895741748B16B   RICKIE       EMERSON                      UT     90011014174
4895787445B53B   GEORGINE     BACA                         NM     35020338744
489578A2391988   RICARDO      PADRON                       NC     90010668023
4895812265B222   SHANE        RICHARDSON                   KY     90015341226
48958AA7961967   HELEN        OWENS                        CA     46091070079
48959329A91394   GUSTAVO      ALVARADO                     KS     90013603290
4895B156851326   STEFANIE     BODE                         OH     66080861568
4895B357251326   ANTONIO      POELLNITZ                    OH     90013783572
4895B65A761967   VANESSA      RIOS                         CA     46052036507
48961149672B36   MICALA       DIAZ                         CO     90013971496
48961A41372B4B   LEOPOLDO     NAVA-DELGADO                 CO     90012640413
4896294445B174   AUSTIN       ALDRIDGE                     AR     90004179444
48963333A91956   JASON        LAWRENCE                     GA     90001643330
4896349A172B4B   ALICIA       MARTINEZ                     CO     90000894901
4896449A391988   GARRY        MARSHALL                     NC     90013374903
4896564995B53B   OFELIA       ESCOBEDO                     NM     90014886499
4896591135B174   LEVON        SCOTT                        AR     23054339113
48965A7318B16B   MARIA        HERNANDEZ                    UT     90006280731
48966747A2B27B   JOSE         PORTILLO                     DC     90009727470
48966A94191988   TERRY        BIZZELL                      NC     17056590941
4896721472B27B   T            CROSSLAND                    DC     90015122147
48967543772B4B   IONA         LONG SOLDIER                 CO     33072615437
48967A3A65B395   KENDRA       JONES                        OR     90008410306
48968A87191569   ALEJANDRO    QUEZADA                      TX     75087520871
4896946685B395   TONYA        FERGUSON                     OR     90004814668
48969A85571999   RENEE        MARTINEZ                     CO     90010000855
4896B49635597B   ASHLEY       DAY                          CA     90013044963
4896B77922B27B   SENTAYEHU    NEGESSO                      DC     90014777792
4896B8A4584349   TIFFANY      STREZLEC                     SC     90011108045
48971294172B43   CARMEN       ZACARIAS                     CO     33093922941
4897141872B27B   DELONTE      SHERROD                      DC     90012864187
4897186485597B   ZENOBIA      COLEMAN                      CA     90004338648
48971A19333625   BRENDA       SMITH                        NC     12084650193
48971A55261963   MARTIN       RENTERIA                     CA     46041120552
489721A762B27B   GLENDA       GARCIA                       DC     90015171076
4897285315B395   ANTOINETTE   SMITH                        OR     44523778531
48973371A72B36   WENDY        ALLRED                       CO     33085753710
4897422835B53B   AURELIO      GARCIA                       NM     35066182283
489745A6572B4B   CRYSTAL      PICAZO                       CO     90013205065
48974A9135B58B   ANDREA       JARAMILLO                    NM     90010820913
48975214372B4B   OLGA         RIVERA                       CO     33033092143
4897562A55B395   SAMANTHA     JONES                        OR     90008696205
489757A2572B43   TAYLOR       RENEE-ALEXANDER              CO     33004277025
48976513A98B25   ALBA         MONDRAGON MORALES            NC     90012675130
4897668635B395   CHARLES      BRYANT                       OR     90002946863
4897694A872499   NATALIE      MASAOUD                      PA     90008889408
489775A1891569   BERTHALY     LOPEZ                        TX     90008705018
48978929572B4B   AMYE         MINERLY                      CO     90011319295
4897936A651334   JOHN         SMITH                        OH     90012633606
4897B18AA5597B   ROMAN        SALDANO                      CA     49080561800
4897B37615B222   JALEN        MORRISON                     KY     68017163761
4897B477155968   DEBRA        GOLDSMITH                    CA     90002784771
4897BA22891569   CARMEN       RAMIREZ                      TX     90013310228
48981325A91988   MAGDALENA    PINEDA                       NC     90012663250
4898225185B58B   BRITTNEY     FREY                         NM     90011512518
4898371435597B   CYNTHIA      LUQUE                        CA     90011157143
4898465145B58B   ANSAY        SAMANTHA                     NM     90009826514
48985779A91988   DANIEL       JENKINS                      NC     90013797790
4898683975B395   DAVID        DILLON                       OR     44502468397
48987991972B4B   CHARLES      TOWNSEND                     CO     33035099919
48988237872B43   SHANE        HERRERA                      CO     90012712378
48989639572B4B   ELISEO       VILLARREAL                   CO     90013536395
4898968197122B   ASMEROM      ABRHA                        IA     90014906819
48989798172B36   CRAIG        PATTILLO                     CO     90006617981
4898B47198B16B   GINGER       DRUCE                        UT     31071354719
4899125742B848   DONALD       ANDERSON                     ID     90001502574
48991AA445B222   TODD         LANHAM                       KY     68077550044
4899216415597B   JASON        MORRIS                       CA     90014341641
48992471A61938   EPHRAIM      CARRASCO                     CA     46062804710
4899267764237B   ELIJAH       ALUOCH                       TN     90009146776
4899268685B53B   ALVARO       CANTARERO COREAS             NM     90014886868
4899297344B231   ANGELIQUE    JOHNSTON                     NE     90006039734
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48992A5872B87B   MARILEE            OWEN                   ID     41088740587
4899373225B58B   CHARLES            REQUA                  NM     35087517322
4899533755597B   RON                WAGNER                 CA     90015143375
48995A66372B43   LOURDES            OJEDA                  CO     33028080663
48996341472B36   PATRICIA           MLAMBO                 CO     90009763414
48996A38791394   GORGE              MARTINEZ               MO     90014950387
4899714A34B259   GAVIN              BEGLIN                 NE     27023891403
489974A9485968   BRANDY             TOLENTINO              KY     90014824094
4899818775B222   LILIA              MORENO                 KY     90007771877
48998692A5B53B   DILLON             ARBUCKLE               NM     90014886920
4899B194572B4B   MANUEL             RAMIEREZ               CO     90014111945
4899B83415B174   ANITAL             MEADOWS                AR     90013218341
4899BAA9671999   ANRAI              VELASQUEZ RUIZ         CO     90014660096
489B142135B174   JILL               AKINS                  AR     90014514213
489B1534172B36   JOSHUA             MILLER                 CO     90013345341
489B192162B27B   SELAMAWHIT         YOHANNES               DC     90002869216
489B1982591569   KIMA               KIHARA                 TX     90002319825
489B2367391956   OMAR               RUEBIN                 NC     17021513673
489B247462B27B   DEVON              ALLEN                  DC     90012974746
489B254628B16B   JOSE R             RODRIGUEZ              UT     31049845462
489B2679271942   LISA               SEGURA                 CO     32061186792
489B281564B271   TAYLOR             TAYLOR                 NE     90005798156
489B2A5AA71999   AMANDA             DURGA                  CO     90010920500
489B3382771999   REBECCA            GONZALEZ               CO     90014653827
489B3588391873   CANDACE            FITZER                 OK     21082295883
489B453A15B53B   ROBERT             GOODLOE                NM     90014885301
489B4571891394   LUCINDA            STRONG                 KS     29003735718
489B553335B53B   JOSE               MENDEZ-ALAMEDA         NM     90014885333
489B5712591569   MARY               CHACON                 TX     75047037125
489B5A4255597B   ALICE              JONES                  CA     49070060425
489B5A97A5B174   LOURHONDA          STEWART                AR     90014570970
489B639215597B   TIA                YANG                   CA     49090823921
489B6773161963   LAURIE             BENTLEY                CA     90009837731
489B688132B27B   LATOYA             BROWN                  DC     81021478813
489B696895B174   MARK               FLOWERS                AR     90014319689
489B6AA4672B36   TRACIE             PARKER                 CO     90012780046
489B7258872B39   ADRIAN             RUIZ                   CO     33087742588
489B73A7755999   JANET              RAMIREZ                CA     90001353077
489B743238B16B   JONATHAN           NICHOLS                UT     90014644323
489B761A38B141   SANDRA             GRAMAJO                UT     90013686103
489B788754B259   LINDA              VILLAGOMEZ             NE     27013868875
489B7A8A15B53B   NEMECIO            VASQUEZ                NM     35061290801
489B8A3398B16B   TERRY              TURNER                 UT     90012170339
489B9253672B36   GLORIA             RODRIGUEZ              CO     90008442536
489B9414972B4B   RAMONA             AVILA                  CO     90012824149
489B979365597B   ESTER              GUZMAN                 CA     90001427936
489B995165B395   RACHEL CASSANDRA   YARBOUR                OR     90002649516
489BB29AA51334   CAMILLA            BUSH                   OH     90010882900
489BB547461996   LETSIA             GOMEZ                  CA     90003135474
489BB56475B395   JUSTIN             BERNEL                 OR     90009515647
48B11197861967   SIMS               SHAREEMA               CA     46057431978
48B11971172B43   JERVON             CLARK                  CO     90006089711
48B1214A78B165   AL                 JOHNSON                UT     90002891407
48B12438291988   CASSANDRA          JOHNSON                NC     90012414382
48B132A5231673   KRISTYN            SMITH                  KS     90006392052
48B13655A2B27B   LARRY              SMITH                  DC     90013026550
48B14448572B4B   JOSEPH             STARBUCK               CO     90013534485
48B1483273145B   DONNDLE            HENDERSON              MO     90014548327
48B1579298B16B   HILDA              FUENTES                UT     90012687929
48B15893791394   DEBBIE             SCHIANODICOLA          KS     90014788937
48B15A19272B43   CLAUDIA            RETA AVALOS            CO     33091460192
48B15A59891569   ROSALBA            SOTO                   TX     75028200598
48B1655842B27B   CHERYL             UMELO                  DC     90011885584
48B16849891547   SILVIA MARTINEZ    PIEDRABUENA            TX     90012528498
48B1688A991569   JORGE              AGUILERA               TX     90011408809
48B17185572B25   BREATIZ            OLGUIN                 CO     90010041855
48B17428772B4B   LORRAINE           LOPEZ                  CO     33005464287
48B1787655B174   LAURA              SCHALCHLIN             AR     90013468765
48B18438291988   CASSANDRA          JOHNSON                NC     90012414382
48B18515654121   GENNI              DEMARIS                OR     90012555156
48B18966A4B271   RONNA              LORENZ                 NE     90006569660
48B1915515B58B   LORENA             LECHUGA-ANAYA          NM     35021961551
48B1917A971999   FELICIA            SANCHEZ-GARBISO        CO     90010121709
48B1947645B53B   MELESSA            SANDOVAL               NM     90011324764
48B19A3965B53B   LEANNE             HICKS                  NM     90007720396
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48B19A49591988   MERCY            NDAMBIRI                 NC     17084220495
48B1B137361967   MARIA            OROZCO                   CA     90001101373
48B1B2A192B87B   MICHAEL          BOLME                    ID     90004102019
48B1B699972B4B   LAUREN           AGUIRRE                  CO     90010046999
48B1B774991523   CARLOS EDUARDO   RIOS                     TX     90014247749
48B2158985B395   STEPHANNIE       CHRISTENSEN              OR     90006365898
48B21752372B4B   DAVID            WHEELER                  CO     33029567523
48B21A58777595   MARIAM           PASCHAL                  NV     90011050587
48B22671A91394   MARTIN           MARRUFO                  KS     90014076710
48B2312334B271   ANGELIQA         LOPEZ                    NE     90011371233
48B24142461963   INC              S AND T TRANSFORMATI     CA     46013851424
48B2428532B27B   RAYMOND          SHEPHERD JR              DC     81020562853
48B2429978B16B   YENORY           GOMEZ                    UT     90012752997
48B2437935B174   NICOLE           WHITE                    AR     23083213793
48B2442888B14B   TRAVIS           SORENSEN                 UT     31066414288
48B24A18854B6B   ERICKA           NEAL                     VA     90001380188
48B25153272B36   KIANA            GABBERT                  CO     90008311532
48B25457161963   DONNA            NIELSEN                  CA     46092104571
48B2549A12B27B   ROSE             SHADE                    DC     90013364901
48B26797A91394   PENNY            HALL                     KS     29084407970
48B26AA8672B43   HELEN            MAESTAS                  CO     33071780086
48B2737335B222   JOHN             PACK                     KY     90009973733
48B27744271999   LEEANA           TRUJILLO                 CO     90009277442
48B28193A77522   FILIMON          RUIZ-PEREZ               NV     90003261930
48B28A78771999   KRISTY           POOLE                    CO     90013090787
48B29746291394   VISMAL           TORRES                   KS     90007787462
48B2B11285B222   JASON            KLINGESMITH              KY     90010191128
48B2B5A934B541   CHAROL           VASQUEZ                  OK     90003965093
48B2B854171999   AIOTEST1         DONOTTOUCH               CO     90015128541
48B31218991394   KEVIN            RICHARDSON               KS     90014672189
48B31421472B4B   CYNTHIA          CRESPIN                  CO     90011044214
48B3252819155B   LUIS             REYES                    TX     90009785281
48B327A485B395   JAY              GEIGER                   OR     44519837048
48B33465472B4B   AGUSTIN          PAEZ                     CO     33007694654
48B33858661963   PHLEWANG         HIN                      CA     90013188586
48B34682291394   ANTHONY          MUNOZ                    KS     90010786822
48B34A92361963   DANIEL           GONZALEZ                 CA     46093130923
48B35875A5597B   CHRIS            LINDBERG                 CA     90007118750
48B35AA7271999   CONNIE           EVEL                     CO     90013100072
48B3689255B388   VERONICA         ALEMAN                   OR     90012648925
48B368A525B222   CHRIS            HESLER                   KY     90012408052
48B36AAA291873   AUSTIN           CHADIC                   OK     21044250002
48B373A4477595   MANUEL           CEVALLOS                 NV     43014283044
48B37439391549   MANNY            GARCIA                   TX     75087354393
48B374A5461967   ELIZABETH        REYNOSA                  CA     90005944054
48B3755A62B342   HEIDI            BLUME                    CT     90014855506
48B385AA991988   BRANDI           DUBOSE                   NC     90010765009
48B392A9971999   THERESA          QUINTANA                 CO     38097562099
48B3966228B16B   MICHAEL          LAMBROSE                 UT     90014566622
48B39AA4772B43   KATRINA          GARCIA                   CO     33060340047
48B3B68A172B4B   MARSHA           LAURIENTI                CO     33070726801
48B41563751367   MELISSA          GILLIAM                  OH     90008095637
48B42198991988   MARGARITA        NERI                     NC     17058831989
48B4252645B174   CHRISTON         SHACKELFORD              AR     90012375264
48B426A1A91569   ROBERT           VOGEL                    TX     75014156010
48B427A2171999   KATRINA          ORTEGA                   CO     90009457021
48B43269471999   JOLENE           ORTEGA                   CO     90010082694
48B43412661967   ROSA             PLASCENCIA               CA     90000924126
48B4367865598B   GABRIELA         APARICIO                 CA     90007556786
48B443A3A72B36   FERNANDO         NUNOTORREES              CO     33031923030
48B44575951334   KELA             ROSE                     OH     90013685759
48B4479225B395   ALICIA           GONZALEZ MEDEL           OR     90002327922
48B44926477595   JOSE             PERDONO MARTINEZ         NV     43000469264
48B449A4A4B259   CARLOS           ALFARO                   NE     90006609040
48B45296791527   JOSE JAVIER      CORTEZ                   TX     90004342967
48B45349477595   TONI             CORTEZ                   NV     43042153494
48B45933391873   JENNIFER         MANGUM                   OK     21038379333
48B4634A85B58B   MARTHA           JARAMILLO                NM     90004793408
48B4667A177595   MANUEL           COVARRUBIAS              NV     90011526701
48B46693171999   KATRINA          KINGSTON                 CO     90011106931
48B46A6A66198B   DANIEL           AVITIA                   CA     90010240606
48B471AAA91873   ANGELA           MASON                    OK     21001311000
48B4732A45B53B   SONIA            VIDANA                   NM     35015343204
48B47624361967   HUMBERTO         ROJAS                    CA     90009406243
48B4799334B259   SEAN             BEACOM                   NE     27058059933
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48B4811A15B174   SHAMEKA       TURNER                      AR     90006481101
48B481A595B53B   JHONY         CHAVEZ                      NM     90006951059
48B4834555B194   NATALIE       STELL                       AR     90010293455
48B4869A85597B   ROBERT        MC NAMARA                   CA     90009806908
48B487A1591988   DIJON         WRIGHT                      NC     90011087015
48B48885A61967   DOMINGO       MORALES                     CA     90004978850
48B49438372B4B   NICOLETTE     MEDINA                      CO     33098654383
48B49991992825   FABIOLA       LOPEZ                       AZ     90014169919
48B5162A491524   VICTOR        ALVAREZ CHAVEZ              TX     90012936204
48B51656461963   DAVID         LASORTE                     CA     46072206564
48B51764191988   EDWIN         LOPEZ                       NC     90012957641
48B5196345B174   MARLA         HARRISON                    AR     90014499634
48B5211675597B   FELIX         LOPEZ                       CA     90003181167
48B53987A91394   RACHELL       WELLS                       KS     90010889870
48B54227A5B53B   PAUL          SARTIN                      NM     90005122270
48B54A9A15B222   DERON         WATKINS                     KY     68033880901
48B5548945B58B   UTAHNA        BELONE                      NM     90014304894
48B55581471999   DEREK         SALAZAR                     CO     90008285814
48B55913851334   VALETTA       MAHONE                      OH     66010799138
48B55939861967   JAVIER        ROSALES                     CA     46048669398
48B5595382B27B   RASHAAD       MCRAE                       DC     90013979538
48B5635A172B43   ASHLEY        GORDON                      CO     90004493501
48B56518172B4B   ELEANOR       CEPERO                      CO     90014015181
48B5653622B27B   KIMBERLY      WRIGHT                      DC     90014425362
48B57133977595   LIZBET        SEGURA                      NV     90010661339
48B5724945B222   KRAIG         SHARP                       KY     90014152494
48B5754A391873   CLAUDE        WARD                        OK     21044475403
48B583A8172B36   DAVID         BARELA                      CO     33077313081
48B58429261967   VIRIDIANA     SALGADO                     CA     46017784292
48B589A9491988   SHEARL        MARSHALL                    NC     90008599094
48B5951A72B87B   ELESHA        WAGNER                      ID     90006605107
48B5971A554121   EVA           LINDER                      OR     90012457105
48B61514357B61   TONI          THOMAS                      PA     90012535143
48B61575971999   DENIESE       SIERRA                      CO     38076715759
48B6192568B335   CONNIE        JACO                        SC     90011779256
48B6246AA91569   ROCIO         LUCERO                      TX     75068354600
48B62544491926   EARL          CROMARTIE                   NC     90015205444
48B62A9284B597   CARLA         HUNDLEY                     OK     90011060928
48B64413A91234   MIRA          BOOKOUT                     GA     14512994130
48B64868277535   STEVEN        CASSONE                     NV     90012878682
48B6518A272B43   CHRISTOPHER   BROWN                       CO     90010841802
48B6616AA8B16B   ALLY          WAYMAN                      UT     90015261600
48B6629745B395   JEREMY        SMITH                       OR     90011262974
48B66764891394   JOHN          LIVINGSTON                  MO     90011747648
48B66A27972B43   MARCOS        GARCIA RAMIREZ              CO     90012000279
48B67231291394   RYAN          GREER                       KS     90012632312
48B6742864B271   ISABEL        BURGARIN                    NE     27024104286
48B67459891569   PATRICIA      MORENO                      TX     90010214598
48B67643291569   DIANA         VALVERDE                    TX     90007796432
48B68555131491   TERRISA       HILLARD                     MO     90011045551
48B6872835B53B   JIMMY         BIERNER                     NM     90014807283
48B6922275597B   ROSA          RAMIREZ                     CA     90014782227
48B693A138B165   ATHENA        CLARK                       UT     31094253013
48B69624491988   KIDANE        MESFIN                      NC     90012586244
48B6B276691956   JASMINE       GRACE                       NC     90006692766
48B6BA24472B43   CRISTIAN      PENA                        CO     90013280244
48B71476261963   HEATHER       GALLARZO                    CA     46050624762
48B7162932B27B   KISHA         ALLEN                       DC     90008166293
48B73216361963   ARCELIA       CUELLAR                     CA     90012732163
48B7365767B461   CARMEN        DEFUNES                     NC     90008666576
48B74183A5B174   ROSA          LEIVA                       AR     23094311830
48B747A7351334   JAMIE         FRAZIE                      OH     66095197073
48B74893791956   LATASHA       SAUNDERS                    NC     90002558937
48B7547385B174   MARLENE       TRUJILLO                    AR     90013254738
48B75AAA251334   CRISTAL       CARDENAS                    OH     90015300002
48B7664825B58B   MARTIA        ALPHONSO                    NM     90008196482
48B77216491569   MICHELLE      GARCIA                      TX     90013932164
48B77229961967   JOHN          HOPKINS                     CA     46006352299
48B7774585B53B   DESIREE       SANDOVAL                    NM     90014807458
48B77774333B22   FREE          HILL                        OH     90012467743
48B7789532B27B   GRACE         HERRION                     DC     90014488953
48B78184961963   ROBERTO       ROBLES                      CA     90010041849
48B7826877B347   EDWIN         MINERO                      VA     90001422687
48B78826433653   ROBERT        ISLEY                       NC     90009788264
48B7916325597B   NOEL          HERNANDEZ                   CA     90012001632
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48B7921215B222   JESSICA      STOVER                       KY     90002552121
48B79826433653   ROBERT       ISLEY                        NC     90009788264
48B79886193741   ROGER        DAVIS                        OH     90001088861
48B79A49981639   BJ III       WORKS                        MO     90006110499
48B7B539251326   JAMES        WALKER                       OH     90001905392
48B7B855972B43   JOSH         CHOTINER                     CO     90000618559
48B7BA8782B87B   DAVID        FUSON                        ID     90006850878
48B81826661963   MARIA        VEGA                         CA     46077598266
48B81941871921   GEORGE       KANATAS                      CO     90007869418
48B8232355B555   HEATHER      BURKE                        NM     90011043235
48B8243415B174   TIFFANY      POINDEXTER                   AR     23078574341
48B8268715B222   KYLA         SIMON                        KY     90014836871
48B83263172B36   DAVID        PORTWOOD                     CO     90007742631
48B8414748B16B   DAVID        JAMES                        UT     90012671474
48B84199791547   JESUS        MORENO                       TX     90012541997
48B8473A972B43   BARBARA      CORTEZ                       CO     33027317309
48B85868291956   SHAKIA       MOSS                         NC     90009148682
48B85918561967   JUSTIN       BLAIR                        CA     90014529185
48B85A24931448   MELVIS       BANKS                        MO     90001110249
48B85A78191988   GLENDA       RODRIGUEZ                    NC     90013400781
48B8616985B338   ANA          MENDEZ                       OR     90010961698
48B86545972B4B   CHONG        STUDIO                       CO     33095485459
48B86632133662   OLANDO       SPEAS                        NC     90011616321
48B876A585597B   LETICIA      BALDONADO                    CA     90001996058
48B87982A91569   LOURDES      IBARRA                       TX     75012749820
48B881A655B58B   DESIREE      CHAVEZ                       NM     90007861065
48B883A1972B36   MICHAEL      GRENAWALT                    CO     90011833019
48B88545971999   ODELIA       BACA                         CO     90014615459
48B8917385B222   BRENDAN      KELLY                        KY     90004241738
48B89518661963   MARCEL       FOSTER                       CA     90015165186
48B89589372B36   STEPHANIE    RANGEL                       CO     33068595893
48B89847761963   HECTOR       MORALES                      CA     46073218477
48B8992835B174   BRITTANY     ROE                          AR     90010659283
48B8B266A5B527   ELENA        ZULUETA                      NM     90012312660
48B8B37628B165   MARDY        ACCORD                       UT     31075783762
48B8B899761963   ALEJANDRA    VILLATORO                    CA     46075438997
48B91564971999   TOMIE        RUSSOM                       CO     90014665649
48B9211682B87B   NICOLLE      EVANS                        ID     41055721168
48B9244918B16B   CHANNING     LARSON                       UT     90010274491
48B9267975B174   CARL         CARTHAN                      AR     90015176797
48B934A9377595   JULIA        RAMIREZ                      NV     90006464093
48B9399165B58B   LEANNA       CURLEY                       NM     90013689916
48B94253797B74   MONICA       WARDAL                       CO     90005622537
48B94A93A61963   KENNY        SWANSON                      CA     90013460930
48B953A865B395   SHANE        HEATH                        OR     44593743086
48B95494472B36   DAVETTE      PARKS                        CO     33071674944
48B9579125B53B   SHANNON      CHAVEZ                       NM     90014807912
48B9594922B27B   ALEXIS       TORRES                       DC     90012719492
48B9637255597B   MICHAEL      KIRKPATRICK                  CA     90012593725
48B96757436148   RUBEN        GARZA                        TX     90000977574
48B9787387B467   PAMELA       MAYER                        NC     90013838738
48B97886872B43   LISA         DARCY                        CO     33096138868
48B9815A251336   THOMAS       WRIGHT                       OH     90012261502
48B9843A98B16B   JAKE         ARRINGTON                    UT     90012374309
48B98783991394   AMBER        JENKINS                      KS     90014857839
48B992A2272B4B   SANDRA       GRISHAM                      CO     90000182022
48B99722A2B27B   CRECENCIO    DELACRUZ                     DC     90015137220
48B9B13245B28B   LAUREN       JONES                        KY     90014891324
48B9B242572B36   URIEL        RIVAS                        CO     90005962425
48B9B887191988   JESUS        CAJILLAS                     NC     17018168871
48B9B8A6872B43   JOSETTE      MARTINEZ                     CO     90011028068
48BB111924B271   BRENNA       HOFFMAN                      NE     27059611192
48BB1A8618B16B   ESCOLASTIC   ALBO                         UT     31076830861
48BB256795B222   JANE         SMITH                        KY     90001495679
48BB2A2757B473   DEANNA       SCATES                       NC     90011130275
48BB449162B27B   TIMTHY       GOODWYN                      DC     90014064916
48BB456A872B43   SHANNON      HOGAN                        CO     33092625608
48BB5864884332   CARLOS       RIVERA                       SC     19060808648
48BB6213891988   MAURICE      BENNETT                      NC     90011192138
48BB688438B16B   SALVADOR     GUERRERO                     UT     90010918843
48BB7566251334   MARCOS       DIAZMORALES                  OH     90013935662
48BB7A53271999   STEPHANIE    CARDENAS                     CO     90013090532
48BB853875B58B   DEANN        RAGLAND                      NM     90014595387
48BB87A2A5B222   STEVEN       ROBERSON                     KY     90013007020
48BB9242625164   TAQARI       PAYNE                        AL     90015372426
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48BB9817251334   DARIUS       HAMILGTON                    OH     90005198172
48BBB258961967   ANDREA       VALENCIA                     CA     90014122589
48BBB58AA2B872   DEBORAH      PEARSON                      ID     90002535800
48BBBA21271999   MOSE         MARTINEZ                     CO     90013090212
48BBBAA8972B36   LLUVIA       AGUIRRE                      CO     90009260089
4911122119152B   JANETTE      RAMOS                        TX     90012032211
49112132A72B36   ANITA        ROBISON                      CO     90015121320
49112489872B4B   MICHAEL      ANAYA                        CO     90003774898
4911252665B53B   MANUELA      ALVAREZ                      NM     90014775266
4911273838B16B   JAN          MCKAY                        UT     31026197383
4911328313B351   SHANNON      CORTEZ                       CO     33087912831
49113577972B4B   JOHN         ANTUNA                       CO     33049395779
4911375855B53B   RUSSEL       FRYE                         NM     35035187585
4911431932B27B   TYANNA       BROWN                        DC     90004053193
4911436575B395   JULIA        WHITEMAN                     OR     90014103657
491144A7172B4B   JARED        ROBERTS                      CO     33008494071
4911481AA91569   RELANDO      KIRK                         TX     90012928100
49114A52772B43   MICHAELA     PEDIGO                       CO     33069280527
4911543835597B   SELINA       HUERTA                       CA     90010894383
4911554A591569   JUAN         MARROQUIN                    TX     90007485405
491164A3872B4B   MUSEF        TOGAI                        CO     90014994038
4911729765B58B   MARIBEL      MUNOZ                        NM     35085802976
4911742738B885   JEREMY       PAYNE                        HI     90014004273
4911775A781691   SHENETHA     DAVIS                        MO     90013507507
491179A5A5B53B   LISA         DOMINGUEZ                    NM     90014229050
49117A3A75B53B   JAMES        LUCKETT                      NM     90010490307
49117A7512B27B   SANDRO       MARTINEZ                     DC     90008070751
491182A2971947   MICHAEL      REEDER                       CO     90003202029
4911849A491959   SHANNYN      ALSTON                       NC     90014584904
4911885358B546   RITA         DRITO                        CA     90015348535
4911941844B271   ADRIANNE     WALKER                       NE     27058384184
4911B149172B36   MARIA        LUNA                         CO     33070441491
4911B57465B394   DELFINA      DIAZ                         OR     44579365746
4911B574833621   MIGUEL       PATRICIO                     NC     90008335748
4911B912797B62   KASIKILA     MISAGWE                      CO     90013029127
4912194229152B   ALLIANCE     INSURANCE                    TX     90004539422
491227A7391982   JOY          HEDGEPETH                    NC     17024677073
4912459555B264   DEAZIA       LAWRENCE                     KY     90010205955
4912487A361967   CHRIS        BROWN                        CA     46016818703
49124A81472B36   RANDY        HARDEN                       CO     33040870814
4912517325B174   CARLOS       NEAL                         AR     23045311732
4912543285B222   ERICA        MITCHELL                     KY     68058434328
491258A5771946   HEIDI        GOODWIN                      CO     32042238057
49126541A62649   ABNER        COLINDRES                    CA     90015275410
49128281197B62   ZACHARY      MECLELLAND                   CO     90013512811
491283A5571947   LUCAS        LINNES                       CO     90012803055
4912914AA72B38   ERIKKA       DANIELSON                    CO     33087101400
4912B52735B58B   SHELLEE      WADDLES                      NM     90011355273
491311AA272B43   MARGARITA    DAMIAN                       CO     90011811002
4913128995B395   CAITLIN      FREEMONT                     OR     90013542899
49131653197B62   VICENT       CABOS                        CO     39085876531
491323AAA61967   KATRINA      KENNEDY                      CA     90008493000
49132481A4B271   ASHLIE       CONGDON                      NE     90004434810
49132829172B28   JOSEPH       SUTTON                       CO     90013828291
4913293668B531   GALDIUO      CAMARILLO                    CA     90014779366
4913389154B23B   MICHELLE     MCCAULEY                     NE     90006068915
49133A6437B461   MICAH        BEY                          NC     90000990643
4913413745B53B   ADRIANA      ESTRADA                      NM     35094231374
4913425735597B   HELEN        TRUJILLO                     CA     90013042573
49135735A5B53B   ESTRELLA     SANCHEZ                      NM     90012157350
49135A59193751   PEREZ        HARRIS                       OH     90011390591
49137287172B54   GONSALO      GALVAN                       CO     33002412871
4913745615597B   JUAN         MARTINEZ                     CA     90014434561
4913816A491873   BRANDI       TOWNSELL                     OK     90014721604
49138225A5B555   MARIA        IBARRA                       NM     90008642250
4913939195B395   CHERI        MERRYIWEATHER                OR     90011293919
491394A8951334   MMICHAEL     BEDINGHAUS                   OH     66093714089
49139514172B36   GENESE       MEJIA                        CO     90007675141
4913971855B174   MANUEL       PEREZ                        AR     90011267185
49139742172B43   JERRY        GARCIA                       CO     33063247421
49139797172B36   MARTHA       MIRAMONTES                   CO     33055647971
49139A96991569   JENNY LEE    SANDOVAL                     TX     90013990969
4913B89695597B   DAWN         HERRERA                      CA     49072648969
49141132572B38   JESUS        REYES                        CO     33080251325
4914198295597B   DEE DEE      KAYAJANIAN                   CA     49092389829
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4914215452B271   SARINA              MURRAY                DC     90005911545
49142488872B62   ALMA                POOT                  CO     90000564888
491427A4891569   LORENA              VEGA                  TX     90010527048
4914287835597B   IDALIA              SANCHEZ               CA     49079478783
49142AA385B174   VIRGINIA            DAVIS                 AR     23065690038
4914355A261963   DOLORES             VARELA                CA     90001775502
4914359775597B   MAX                 RODELA                CA     90012525977
4914393A391583   LILY                CORTEZ                TX     90012809303
491439A3A97B62   BILL                LAMPE                 CO     39096199030
4914425AA5597B   DAISY               MUNOZ                 CA     90015102500
49144339572B54   ADAN                HERNANDEZ             CO     90010213395
4914439582B87B   RYAN                BOURGARD              ID     90002013958
49144741697B53   MODESTA             GARCIA-OJEDA          CO     90011877416
49145117797B53   FRANCISCO           LUCERO                CO     33068731177
4914515318B165   JEREMY              BALTER                UT     31056731531
491453A195B174   TRAMMELL            MONTGOMERY            AR     90014793019
49145721A97B62   WILLIAM             SMITH                 CO     90011387210
4914575822B267   DAVID               BONILLA               DC     81087627582
49146485972B36   LACIE               CLARK                 CO     90009894859
4914696145B52B   JOSE                MUNOZ                 NM     90012629614
49146A25491959   JOSE                FUNES                 NC     90006200254
49146A9155B581   SHADHAN             SWANSON               NM     35006010915
4914718A64B531   TANIA               PALACIOS              OK     90006131806
4914757AA71947   RICHARD             PACHECO               CO     90009715700
4914772578B16B   MARIO               MONTOYA               UT     31005627257
4914827135597B   ROSA                LOPEZ                 CA     49014142713
49148375672B4B   JAMES               GIGAX                 CO     90014443756
4914846515B523   ANDREW              MONTOYA               NM     35016704651
4914856444B271   GUILLERMO           ROMAN PALOMARES       NE     90003615644
491491A4A91881   LATRAY              HOWARD                OK     90003351040
4914929335597B   JEFF                TURNMIRE              CA     90005902933
4914B16A491873   BRANDI              TOWNSELL              OK     90014721604
4914B314791523   CLARISSA            JIMENEZ               TX     90013513147
4914B7A5851336   DAVID               SEARIGHT              KY     90013377058
4914BA9A85B375   SERAFIN             CABELLO               OR     90004520908
49151A91391959   BANAY               CAPRI FIELDS          NC     90009150913
49152A15772B54   PINON               MARIA                 CO     33059330157
49153532372B4B   RUBY                ROSS                  CO     33027555323
4915386785B174   SHAWNAYA            POLK                  AR     90003828678
4915391887B394   MEAZA               BEKELE                VA     90001989188
49154389372B43   LUIS                LECHUGA               CO     90010503893
4915531735B395   HEATHER             MOZO                  OR     44516943173
49155683897B62   TAMMY               GARZA                 CO     90006726838
491557A815B58B   CHRISTINE           HERNANDEZ             NM     35032157081
491562A8971946   JONATHAN            NEAL                  CO     90015102089
4915652295B174   TONIA               HOLLOWAY              AR     90002965229
4915661835B55B   RENEZINA            JOHNSON               NM     90006776183
49156A6795B58B   ANNA                CATANO                NM     90012600679
49157699197B62   MARITZA             VEGA                  CO     39059776991
4915989A791959   DEMARIO             GONNIGAN              NC     90003558907
4915B455771946   BANDEN              THORNTON              CO     90014974557
4915B583A91959   CHARLES             LETTERMAN             NC     90013545830
4915B7AA361967   ROBIN               BAUER                 CA     46010137003
4915B995691583   NAYELY              SERNA                 TX     90012789956
4916142347B453   GABRIEL             AMAYA                 NC     90012434234
4916152A971947   WILLIAM             LALLIS                CO     90009375209
4916159A472B36   SIMON               VATH                  CO     90012705904
49161A93272B4B   BEATRIZ             KEMMERER              CO     90010130932
4916211A75B523   JOSH                LOPEZ                 NM     90005601107
491627A835B58B   WENDY               ACOSTA                NM     35029687083
49162811372B4B   BRYIA               JOHNSON               CO     33095708113
49163577372B36   AIDA                LUNA                  CO     33013165773
49163874972B54   BRITT               ANDERSON              CO     33065168749
4916446755597B   EVA                 RAUMAKER              CA     49034844675
4916468A74B943   JIMMEKA             JOHNSON               TX     90007436807
49164A1A572B33   PABLO               LOPEZ-RUIZ            CO     90012630105
4916528732B27B   SEAN                BURGESS               DC     90012882873
49165518972B36   MARIA DEL SOCORRO   CHAVEZ ORZCO          CO     90008545189
49165A29491873   REGINA              WARREN                OK     90014730294
49166138A5B53B   JAMES               MESQUITA              NM     90011071380
4916632162B27B   ERIC                SHANKS                DC     81078783216
49166347272B36   CARRIE              WILBORN               CO     33078583472
49166A29491873   REGINA              WARREN                OK     90014730294
4916726745597B   DARLENE             PEREZ                 CA     90011392674
4916773755B53B   TRAVIS              JOHNSON               NM     90007067375
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4916792745B222   CORY         SEGO                         KY     68095129274
49168242A97B62   LAURA        MORRISON                     CO     90001672420
49169293A5B58B   DOMINIC      GURULE                       NM     35001092930
4916937394B271   SYLVIA       OUTERBRIDGE                  NE     27012513739
4916B843A8B165   CHARLES      TRUJILLO JR                  UT     31032208430
4916B91A45B58B   PATRICIA     ROSCOE                       NM     90004739104
49171A48491873   ALEE         WILSON                       OK     90014730484
49171AA8791583   NICKY        BELLAH                       TX     90015190087
49172A45697B62   WILLY        JOHNSON                      CO     39041300456
49172A66271999   ALICIA       ADAME                        CO     38095330662
4917389A191523   PERUSQUIA    ESMERALDA                    TX     90009228901
49173A99591394   REBECCA      RILEY                        KS     29085840995
49174317672B4B   ERNESTO      RAMIRES                      CO     33092953176
4917529965B523   HIPOLITO     RODRIGUEZ                    NM     90003412996
4917619A92B956   BRENDA       RUBIO                        CA     90014321909
4917646A971946   BONNIE       ATKINSON                     CO     32080474609
491767A455B395   JEFF         BEALE                        OR     90013687045
49177236297B62   CHEYENNE     MARIE DU CHENE               CO     90014542362
49179235297B62   RENAE        LEON                         CO     39009142352
491795A5572B54   LEIDY        CASTILLO                     CO     33061775055
4917B584272B36   RICHARD      MORGAN                       CO     90005985842
4917B649348B28   LATODD       TAYLOR                       OK     90005026493
491812A652B27B   JANICE       RAY                          DC     90012912065
49181447872B43   JONATHAN     MARMOLEJO                    CO     33061744478
4918155A28B16B   NICHOLE      LOFTUS                       UT     31077865502
49181A81591873   EDIN         PERDOMO                      OK     90014730815
491832A545B52B   HECTOR       GARDEA ROMERO                NM     36040982054
4918333A25B523   CASSANDRA    ALVARADO                     NM     90003413302
49183A2A571999   GRACE        SMITH                        CO     90001990205
49184151897B62   DANIEL       FUENTES                      CO     39043051518
491841A3391583   LOURDES      BOCANEGRA                    TX     75014571033
4918451728B165   BRIGITTE     FAVRO                        UT     31062375172
4918464145B395   VICKIE       COYOTL                       OR     90007416414
4918568245B174   JOHNSON      BOBBY                        AR     90002246824
4918675A22B27B   JOHN         GLOVER                       DC     90007607502
49186763572B4B   ALFREDO      REYES                        CO     90005857635
4918757A172B36   SCARLETT     PEDFORD                      CO     90014885701
4918786655B53B   DARLERE      MAESTAS                      NM     90010768665
491879A675B53B   CALVIN       GORMAN                       NM     90014719067
4918842255B395   MARK         SCHULZ                       OR     90011094225
4918938442B87B   BRYON        HAVILAND                     ID     90007633844
4918954742B87B   BRYON        HAVILAND                     ID     90011945474
49189573672B38   MARK         RUIZ                         CO     33035225736
4918B413924B69   NADINE       REID                         DC     90005244139
4918B669897B62   TRACY        SYMES                        CO     39090556698
4919224A491569   LUZ          ACOSTA                       TX     75087682404
4919235345B58B   DESIREE      SULLIVAN                     NM     90012253534
49193336697B62   IAN          SOLARSKI                     CO     90011153366
4919359A171947   DAWN         VAUPEL                       CO     32084695901
491945A9A2B27B   JESE         SANTOS                       DC     90013085090
4919484296B275   CHARLES      SIMS                         AZ     90013978429
4919538163B356   ABEL         ARROYO                       CO     33066003816
49195735372B54   RANDY        HOVRUD                       CO     33066567353
49196397A61967   JENNIFER     MIRANDA                      CA     90005803970
491963A5571947   LUCAS        LINNES                       CO     90012803055
4919641135B581   ALONSO       JUAREZ                       NM     90003484113
491964A8171999   JOANNA       BUSBY                        CO     38015944081
491974A9991583   ROSALVA      VASQUEZ                      TX     75008804099
4919763895B55B   NUBIA        VALENZUELA                   NM     35080056389
4919779A984766   ROBERTO      CONTRERAS                    IL     90002347909
4919789393368B   PHENICIA     REID                         NC     90012758939
49197A3312B27B   GENY         FRESHOUR                     VA     90015200331
4919813645B53B   ALEXANDRIA   PACHECO                      NM     90007751364
491981A3891873   ELISSA       HAMSARD                      OK     90014731038
49198392A57564   CLAUDIA      CLAUDIA                      NM     90013413920
4919854775B174   CINDRA       ELLIS                        AR     90010895477
491985A445B58B   SHARON       GARCIA                       NM     90015005044
4919872A561963   ERIC         WILLIAMS                     CA     90007077205
4919873215B174   LUIS         GARZA                        AR     90013157321
4919879518B165   RYAN         NIELSON                      UT     90001257951
49198A97772B36   TURNER       DAMEON                       CO     90014770977
49199271572B36   MONICA       FERNANDEZ                    CO     90012322715
4919948485B523   ABEL         MENDOZA                      NM     35090174848
4919959A171947   DAWN         VAUPEL                       CO     32084695901
4919B488172B54   JUANMANUEL   HERNANDEZ-IVARRA             CO     33068524881
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4919B756671999   BRIAN        FISHER                       CO     38057007566
4919BA1175B58B   YVETTE       BARRAZA                      NM     90014890117
491B1149971947   SONIA        LOPEZ                        CO     90013221499
491B1697671999   TONI         HERNANDEZ                    CO     38026026976
491B1848591583   JESUS        HOLGUIN                      TX     90011098485
491B216825B58B   TOBY         CHAVEZ                       NM     90015241682
491B24A445B395   LOUIS        MCCLENDON                    OR     90012874044
491B253A95B35B   MANFREDO     SANTOS PALMA                 OR     44515925309
491B3264472B36   ZANAHA       MARIE-MCCARTY                CO     33002892644
491B368A171947   BRITTANY     CROFFUT                      CO     90013846801
491B3787171999   SEBASTIAN    ESTRADA                      CO     90012817871
491B4258A91583   JESSICA      AVALOS                       TX     90011662580
491B445A75B395   CHELSEY      MCGUIRE                      OR     90003484507
491B4994497B62   MATTHEW      BARELLA                      CO     39007569944
491B5187233B55   PAULA        PARKER                       OH     90014621872
491B582662B27B   RENEE        WILLIAMS                     DC     90014018266
491B5A32781698   KAREN        COLE                         MO     90008990327
491B5A52571947   MARIA        MARTINEZ                     CO     90000220525
491B6294297B62   SHAWNA       STAMM                        CO     39026472942
491B6467791394   ALONZO       DIAL                         KS     29051124677
491B6585A5B395   CYNTHIA      STEVENSON                    OR     90012275850
491B6712561498   DESERT       CLINE                        OH     90014407125
491B726452B879   MIKE         PLATTS                       ID     42025682645
491B7818197B62   AMBER        BENNETT                      CO     39092058181
491B7831261963   CRISTAL      MURILLO                      CA     90006758312
491B7842491922   DOMINIQUE    STANLEY                      NC     90010798424
491B7968551361   ROY          GRAY                         OH     90003619685
491B7AA1471999   RHIANNON     MARTINEZ                     CO     90009990014
491B8229636189   JOHN         LECON                        TX     90004282296
491B8344661967   JAMES        POWERS                       CA     90015163446
491B874615597B   JOAQUIN      MONTEZ                       CA     90014887461
491B9222291523   ERIK         BORREGO                      TX     90013512222
491B93A6161963   MARIA        VALDOVINOS                   CA     90013453061
491B9954497B62   CELINA       ENDOZA                       CO     90013009544
491B997885B523   JESSICA      VENZOR-VENEGAS               NM     90005599788
491BB18935B523   ROBERTO      ANGELES MANCHA               NM     35016691893
491BB252671947   CHRISTINE    LILLY                        CO     32053652526
491BB51A55B58B   MONICA       POTTER                       NM     35042525105
491BB64185B395   SANDRA       YOUNG                        OR     90013076418
4921151455597B   ANDRES       CLEMENTE                     CA     90004295145
49211A87191583   FERNANDO     MEDINA                       TX     90010480871
49212241172B36   ISAAC        OLMOS                        CO     90011942411
4921279A771947   MARJORIE     EUGENE SELLERS               CO     90003177907
49212A9225B174   LATASHA      WINKLER                      AR     90012660922
492132A465B395   DEBRA        LEONARD                      OR     44580582046
4921341135B53B   ANGELO       ROSSI                        NM     90011254113
4921397A561963   ROCKY        PEREZ                        CA     90009879705
49214155772B43   ELIZABETH    SANCHEZ                      CO     90006711557
4921448722B27B   LAMBERTTA    DOVER                        DC     90014744872
49214622172B36   FERNANDO     AREVALO                      CO     90004926221
492147AA391523   BERNARD      DEFOREST                     TX     90013517003
49215532A91583   JESUS        SAENZ                        TX     75087295320
4921633562B87B   ASHLEY       BLASKI                       ID     41077643356
492165A2771946   MIGUEL       GOMEZ                        CO     90014765027
492166A9561945   LIZETH       CARMONA                      CA     90008346095
492167A6691523   DUANE        REYNOLDS                     TX     90013517066
4921698A591583   JAMES        MILLER                       TX     90013329805
4921759785B523   JOSE         MARTINEZ                     NM     35046915978
4921871745597B   JAMES        TONNA                        CA     90014157174
49219514372B36   TIMOTHY      BOVENZI                      CO     90012575143
492195A3771946   JASON        ELLIOTT                      CO     90014765037
4921B448871946   JOSEPH       SANTISTEVAN                  CO     32086724488
4921B726472B36   BRITTANY     AVRA                         CO     33095027264
4921B74652B87B   YVONNE       HOUSE                        ID     90005617465
4921B792297B62   JERRY        AGUIRRE                      CO     39038027922
4922268A591583   GRACIELA     GARDEA                       TX     90014586805
49222A24931448   MELVIS       BANKS                        MO     90001110249
492256AA95B58B   FELIPE       LANDEROS                     NM     35062176009
49226248A91583   ALARCON      ADAM                         TX     90006562480
49226A25471947   SANDIA       CHAVEZ                       CO     90004920254
4922714365597B   CARLOS       MIRANDA                      CA     90000911436
4922721452B87B   VICKIE       LESLEY                       ID     41016602145
4922972892B27B   ARDELIA      WEST                         DC     90001257289
49229885A5B58B   JARROD       MENDOZA                      NM     90015168850
4922BA96991569   JENNY LEE    SANDOVAL                     TX     90013990969
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49231197A97B62   ANN           BAKER                       CO     39043241970
4923164A272B36   CHITRA        SANYARI                     CO     90007466402
49231986172B54   DIASIA        CURRIE                      CO     90011539861
49231A24291523   LAWRENCE      SILVA                       TX     90012500242
4923232932B395   MARGARET      GARDNER                     CT     90013983293
492323AA197B62   JORGE         ARENAS                      CO     39087273001
49232795A91569   CESAR         GONZALEZ                    TX     75009047950
49232858A71999   ADRIANA       HURD                        CO     90009448580
492328A375B551   JOHN          BENTON                      NM     35017538037
492334A4691982   SIERRA        DANN                        NC     90014894046
4923565955B395   JESSICA       CHAMBERLIN                  OR     90010816595
492361A6261967   VIELAHNI      LEOMITI                     CA     90014631062
4923628718B165   MARIA         ROBLES                      UT     31010112871
4923646258B16B   ALEX          SMITH                       UT     31077874625
49236722A71947   MILLARY       CARABALLO                   CO     90009527220
49236A15791569   ROSA          MORAN                       TX     75013130157
49237517A5597B   GLORIA        QUINONES                    CA     49067855170
4923776955B174   MAYRIS        FOX                         AR     23057707695
49237A65A61967   JULYATHINAH   PHRAKOUSONH                 CA     90010230650
4923834615B56B   MARIO         MAESTAS                     NM     90012093461
4923847A27B464   NOE           VASQUEZ                     NC     90010024702
4923897955597B   MONIQUE       BLANCO                      CA     90009869795
49238A78772B43   ANGELA        YSLAS                       CO     90011800787
492394A8761967   MICHAEL       BENHUR                      CA     90006914087
4923B746491523   NICOLAS       RODRIGUEZ                   TX     90013517464
4924188695597B   FLORENCIO     CRUZ                        CA     90005098869
49242A61961963   ROBERT        ROCHA JR                    CA     90010480619
4924419225B53B   SONJA         GARCIA                      NM     90014641922
4924439292B342   DIMANCHE      RODNER                      CT     90013953929
4924466995B58B   MICHAEL       MARQUEZ                     NM     90013256699
49244A39772B36   LISA          KNOBBS                      CO     90001870397
49245559A97B74   DENNIS        FREIBERG                    CO     33018195590
492462A6591569   LAURA         REZA                        TX     90014302065
492468A3A41222   DEBRA         WALKER                      PA     90011788030
49247986272B43   ANGELA        BARBOZA                     CO     33024789862
4924849775597B   RUTH          MURILLO                     CA     90012604977
49249113176B88   JOEL          GONZALES RABAGO             CA     90000841131
492497A2A5B53B   MARY          BLANKS                      NM     90013447020
49249882972B4B   OSCAR         ARIAS                       CO     33065368829
4924B119291583   CARLOS        GIRAD                       TX     90012101192
4924B946891569   JESUSQ        RUIZ                        TX     90012909468
4925136815B58B   LEONARD       MADRID                      NM     35098983681
492513A1397B62   KELLY         STEPHENSON                  CO     39007613013
4925252A961967   BLANCA        PEREZ                       CA     90014735209
4925311415B395   ARIZBETH      CAPITAN LOE                 OR     90015161141
4925311A933B35   DALE          STOREY                      OH     90015281109
492536A1671946   OMAR          RAMOS                       CO     90014766016
4925372737B426   RICHARD       BOSWELL                     NC     11007577273
4925465564B271   GABRIELA      SOLANO DE GALENO            NE     27047076556
49255275672B43   ROSELYN       SANCHEZ                     CO     90002922756
4925616695B523   MANUEL        MORALES                     NM     90008991669
49256363772B38   IRAIS         GARCIA                      CO     33069073637
49256375272B43   MICHAEL       RICHFIELD                   CO     90007563752
4925655155B55B   JOHN          CRUZ                        NM     90000435515
4925675345B58B   SANDRA        AGUIRRE                     NM     90014457534
4925758745B53B   MARIA         DOMINGUEZ                   NM     90013765874
49257647A71999   AMANDA        ESTRADA                     CO     90014716470
49258329A72B36   SALEMY        FLORES                      CO     33015313290
49258A26291583   MARIA         ROCKWELL                    TX     75087160262
4925935AA51382   JACK          CHERNAY                     OH     90000973500
49259A7328B163   ANTHONY       MAESTAS                     UT     90008700732
4925B312497B62   MICHEAL       FRONCZAK                    CO     90010343124
4925B69225B597   PEGGY J       SANCHEZ                     NM     90000496922
4925B89417B331   CARLOS        SALAS                       VA     90007688941
4925B937A61967   CAROLINA      BARRIOS                     CA     90015169370
49261275672B43   ROSELYN       SANCHEZ                     CO     90002922756
49261879672B36   THOMAS        LITTLETON                   CO     90001708796
49261942A91959   OLVYN         MEZA ALMENDARES             NC     90013869420
49262519572B36   LUIS          ESCANDON                    CO     90002145195
49262536872B4B   ESTEBAN       RAMIREZ                     CO     90010745368
49262615397B62   GUADALUPE     SERRANO                     CO     90007066153
4926336995B395   SAFIYYAH      CHRISTOPHER                 OR     90011193699
49264A61961963   ROBERT        ROCHA JR                    CA     90010480619
49265189672B43   CHRISTINA     PALACIOS                    CO     90011811896
492655A165B58B   JOSE          MOTA                        NM     90012165016
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492656A5A5B222   TARA          SMITH                       KY     68097636050
4926598A371946   TAWNEY        MARTINEZ                    CO     90009959803
492663A735B53B   ROBERTNETTE   BITSUE                      NM     90013173073
49266781A5B395   MELISSA       ELLIS                       OR     44508277810
49266831A2B87B   RACHAEL       SUTTON                      ID     41090968310
49266984A5B53B   JOHNMICHAE    SENA                        NM     90009439840
4926835975B174   BARBARA       PRICE                       AR     23083723597
4926846565597B   MAI           KALIA                       CA     90010864656
4926852A561967   TUKUFU        KALONJI                     CA     46052725205
49268693872B36   DAVID         SALAZAR                     CO     90011536938
49268756872B38   MARTIN        SALVADOR                    CO     90007297568
49269192672B43   CLEOPATRA     SABANG                      CO     90011811926
492691A9491394   LIZA          BONILLA                     KS     29027011094
4926B688491583   RACHEL        REYES                       TX     90014586884
4926B873871946   VANESSA       LIMONEZ                     CO     90011788738
49273AA4A72B36   ANDREA        GONZALES                    CO     90008150040
4927441515B58B   DEBORAH       GONZALES                    NM     35043134151
49275468A91583   ADRIAN        GALINDO                     TX     90014754680
4927585AA71947   SEAN          PACK                        CO     90011218500
492758A8772B36   MERIZALDE     PAMELA                      CO     33069208087
49276A15A5B53B   YANET         MARTINEZ                    NM     35044040150
4927843A191597   ALBERTO       TORRES                      TX     75018184301
49279554497B62   SPENCER       HERTZOG                     CO     90014925544
4927B565671947   JEREMIAH      WARWICK                     CO     90013365656
4927B5A9A72B4B   ANNALISA      SIMMONS                     CO     90010245090
4927B924291873   TERESA        MCHENRY                     OK     90009279242
4927B94415B55B   JOANN         GRIEGO                      NM     35079919441
4927B968561967   FERNANDO      VALDEZ                      CA     90007519685
4927BA73571999   JOSSIE        CARROLL                     CO     38095990735
4928243495B174   GREG          RALLY                       AR     90011284349
4928256A172B36   ROBERT        REDDY                       CO     90012835601
4928269385B395   GERARDO       REYES                       OR     44564806938
49282A76372B54   SARAH         WILLIAMS                    CO     90001890763
4928325935B395   RAMONA        EDWARDS                     OR     90005472593
4928367135B395   MACKENZIE     HORNYCH                     OR     90010816713
4928413859127B   SANDRA        EARLY                       GA     90001611385
4928425925B53B   CHAYANNE      GALLARDO                    NM     90014192592
4928511392B27B   SHARIE        MARTIN                      DC     81021241139
4928512235B53B   ANTHONY       DELAPAZ                     NM     90012411223
49285A57761963   JOHNSON       SEMEXANT                    CA     90010200577
492861A445B53B   DEMI          ELIZALDE                    NM     35059321044
4928737215597B   MICHELLE      BROWN                       CA     49014863721
49287AA9971999   JOSH          DAVIS                       CO     90011600099
49288239A5B53B   XAVIER        GOMEZ                       NM     90011502390
49288822597B62   RANDY         PASQUINELLI                 CO     39016028225
49288A15A72B36   JENNIFER      LOMELI                      CO     33058250150
49289AA3A72B36   FERNANDO      SANCHEZ                     CO     90009260030
4928B186591569   DULCE         CORONADO                    TX     75088691865
4928B254574B7B   KELLY         RAMBO                       OH     90011262545
4928B61342B87B   DEAN          SKAINS                      ID     41072386134
4928B694872B36   GUADALUPE     CAMPOS                      CO     90009536948
4928B847791873   TINA          EDWARDS                     OK     90009608477
4929156443B37B   BRIAN         SHUEY                       CO     90008195644
49292817A41448   ASHLEY        TOOLS                       WI     90014688170
492928A1691569   ERICK         IBARRA                      TX     90008768016
49292A4A591569   PAOLA         RODRIGUEZ                   TX     90006380405
49293A7485B55B   CHRISTY       ALLEGRO                     NM     90014020748
49294247697B62   FAUSTINO      MIRANDA                     CO     39067822476
4929445A95B333   ALVARO        NIETO                       OR     90001714509
4929493A172B4B   CHAD          HARLAN                      CO     33078469301
49294A98171999   JOE           BACCA                       CO     90014100981
49295474A91583   MARIA         ALVARADO                    TX     75034854740
492959A6161963   MATTHEW       DAVIS                       CA     90014609061
49296166272B4B   GABRIEL       VALADEZ                     CO     90013821662
4929619464B271   KATHY         DIESTERHAUPT                NE     27093881946
4929626115B395   LAURI         TAG                         OR     44586462611
492966A9472B4B   GABRIEL       VALADEZ                     CO     90007416094
49298438A5B395   ANDREW        HILL                        OR     90011094380
49299371697B62   SONIA         ORTIZ                       CO     90007683716
49299742233B77   CURTIS        BAILEY                      OH     90013147422
4929B18A55B395   ANDRES        PASCUAL CARDONA             OR     90014471805
4929B543197B62   HOLLY         GONZALES                    CO     39015145431
4929B7A1672B36   ERIKA         RODRIGUEZ                   CO     90009097016
492B118977B463   SHANA         WILLIAMS                    NC     90006791897
492B1211A71947   ROBERT        PERRY                       CO     32089232110
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492B1315997B62   DESIREE      SEPEDA                       CO     90013513159
492B1318961963   NICK         ALVAREZ                      CA     46012813189
492B1422A72B54   JAMIE        TORRES                       CO     90009164220
492B2152472B43   EDWARD       BURKE                        CO     90011811524
492B241135B581   ALONSO       JUAREZ                       NM     90003484113
492B2642691583   MIREYO       COSTILLO                     TX     90011566426
492B2A21491959   THOMAS       KRAMER                       NC     90015330214
492B3342A61963   GARCIA       ROSA                         CA     46014173420
492B38A2241222   PAM          MAZUREK                      PA     51049688022
492B41A8131283   CONNIE       VAZQUEZ                      IL     90009881081
492B4491551354   MICHAEL      BABEL                        OH     90001534915
492B463635B53B   MICKA        EMBREE                       NM     35072196363
492B4797961967   VERA         MCPHERSON                    CA     90009177979
492B5274791959   CARMEL       HOLIDAY                      NC     90015152747
492B5726351334   CATHY        BRANDENBURG                  OH     90003447263
492B5837997B62   THOMAS       SHANKLE                      CO     90009048379
492B5978472B43   TERRY        OEHLER                       CO     33085959784
492B6133891873   BARBARA      WILLIAMS                     OK     90014731338
492B62AA191959   CHANEL       ROBERTSON                    NC     90014162001
492B656A35B58B   MARIBEL      TERRAZAS                     NM     90005565603
492B7336A71946   FRANK        QUIALES                      CO     90006403360
492B7498772B4B   SUE          HOWE                         CO     90012894987
492B772328B886   ANTONIO      QUEBATAY                     HI     90014017232
492B8626557B97   GABRIELLE    GAMBRAH                      PA     90013896265
492B8642191583   ESMERALDA    MERCADO                      TX     90015016421
492B871A536189   ROSALBA      BARTON                       TX     90005637105
492B9199161967   HUSSEIN      AL HABIB                     CA     46067201991
492B94A415B58B   MARGARET     CADENA                       NM     90014294041
492B972255B53B   MARIAH       GABALDON                     NM     90015517225
492B974715597B   FRANCISCO    AVALOS                       CA     49008857471
492B9858672B4B   ROSALVA      PINON                        CO     90013608586
492B9A2332B87B   CHRIS        HOLDZ                        ID     90013580233
492BB1A225B222   VALERIA      ELLINGTON                    KY     68026781022
492BB311961979   FERNANDO     LEPE                         CA     90001473119
492BB393A61967   ASHLEY       FRANKLIN                     CA     46017933930
492BB3A9371946   STONE        OLEI                         CO     32097753093
492BB82265B174   LATASHA      OLIVER                       AR     90004168226
492BBA1955B53B   BRUCE        GARCIA                       NM     90013220195
49313A88371999   MARIBEL      MERCADO                      CO     90013950883
49314161A72B36   ALEIDA       RODRIGUEZ                    CO     90012151610
4931419A591873   JUAN         ROSAS                        OK     90007161905
493141A915B174   MATT         MILLER                       AR     90009811091
493147A565597B   PHIA         XIONG                        CA     90004197056
49314A5855B395   RONALD       RICHMOND                     OR     90001570585
49315442472B54   TERRENCE     WATSON                       CO     33083074424
49315A38191527   LORI         JOLLEY                       TX     90014910381
49317848A91959   JULIA        HANLINE                      NC     90004988480
4931815285597B   NORMA        ELIZONDO                     CA     90015181528
493182A8397B62   BRYANT       RIVERA                       CO     39035242083
4931976895B58B   ALEJANDRO    GAMBOA                       NM     90010987689
49319826A91394   JAMES        RUSH                         KS     90008088260
49319993272B36   DION         YELLOWHAIR                   CO     33043579932
4931B25575B174   JOSIE        POMPA                        AR     23053442557
4931B466171947   WILLIAM      STEFFANY                     CO     90013854661
4931B552691583   CLAUDIA      ALVAREZ                      TX     90005925526
4931B91512B895   TRINITY      BUCK HULL                    ID     42006269151
4932115A993741   ASHLEY       WILCOX                       OH     90013271509
49321262374B3B   ERIC         ASH                          OH     90015292623
4932129168B16B   MARIO        SALAS                        UT     90007682916
4932229A191959   KASHARA      WIGGINS                      NC     90010052901
4932288762B27B   EUGENIO      MORALES                      DC     90007608876
4932366615B53B   EDUARDO      ARCINIEGA                    NM     90003346661
49323A92372B36   STEPHANIE    STATZ                        CO     33070440923
493251A2672B43   ERIN         KELLY                        CO     33024791026
49325226A97B62   CLERISSA     METZ                         CO     90011192260
493256A1972B54   SERGIO       RIVAS                        CO     90000546019
4932589715597B   FRANCISCO    LAUREANO                     CA     90014228971
493259A355B395   BRIAN        CHRISTOPHER                  OR     90015119035
49326567A91394   ELIGIO       ESCALANTE                    KS     29097205670
4932713264B271   SEBASTIAN    TINO                         NE     90004531326
4932876488B165   TOLUTAU      HALAAPIAPI                   HI     31081357648
49329271872B25   DAVID        GUERRERO                     CO     90005032718
49329388272B36   JON          CICERO                       CO     33084023882
49329722697B62   JANELLE      ENGEL                        CO     90012977226
49329895572B4B   NICOLE       PITTS                        CO     90014978955
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493298A958B165   RYAN         HAYWARD                      UT     90002168095
4932B18A58B165   CHRIS        MORRIS                       UT     31022931805
4932B865A5B222   BECKY        COX                          KY     68095548650
4933121352B27B   BRON         BAYLOR                       DC     90015182135
4933154682B27B   ERCENCIO     SANTOS                       DC     90012725468
49331636A91873   SHIRLEY      TIMOTHY                      OK     90011176360
49331A87172B45   QUAN         NHAN                         CO     90014260871
4933235322B27B   JAYQUAN      WILLIAMS                     DC     90003573532
493331A7151332   STEPHEN      TOMPKINS                     OH     66057411071
4933334445B395   DOMINGO      PASCUAL                      OR     90011013444
49333812397B62   JESSI        FLOREZ                       CO     90011118123
49333A11472B54   AMANDA       GODDARD                      CO     90001800114
4933435925B266   TONY         RAMEY                        KY     90002473592
4933583745B53B   JUDAS        GAGA                         NM     35085888374
49336363172B4B   MARIO        LUIS                         CO     90014773631
4933643865B395   HECTOR       SAN JUAN GARCIA              OR     90004654386
49336A42A71946   JESUS        HERNANDEZ                    CO     90008680420
49336A4395B58B   SEAN         LEONARD                      NM     90011510439
49336A88371999   MARIBEL      MERCADO                      CO     90013950883
4933792385B38B   RENAH        STRAWSER                     OR     90012139238
49337A29871947   ZACH         DILLINGHAM                   CO     90013860298
49338383972B54   JOSE         LARA                         CO     90007703839
4933869935B53B   DAVID        VELASQUEZ                    NM     90010856993
49338848A61963   JESSY        LOPEZ                        CA     90009888480
49339343A5B53B   PERLINE      CARO                         NM     90007083430
4933B295591569   PAOLA        FALCON                       TX     75017632955
49341197172B31   BRENDA       TOSTADO                      CO     90007681971
4934131A561963   JUVY         EBIDAG                       CA     90014963105
493421A7A72B38   TERESA       GONZALES                     CO     90011591070
49342546572B36   YOLANDA      LOPEZ                        CO     90013555465
493427A395B222   STEPHANIE    ROSE                         KY     90012247039
49343833797B62   JENNI        ESCH                         CO     90011378337
49344442497B62   ELIZABETH    SITZMAN                      CO     39008254424
4934575655B179   REBEKAH      CUMMINGS                     AR     90013437565
49345A4465B395   ROBERT       SWEENEY                      OR     44572780446
493465A3924B31   CLINTON      HARRISON                     DC     90004135039
4934675655B179   REBEKAH      CUMMINGS                     AR     90013437565
49347978A4B271   CRYSTELL     ORENT                        NE     27076979780
49349885A71999   TINAMARIE    HAMILTON                     CO     90014418850
4934B219441454   OMARI        HOWARD                       WI     90001202194
4934B274791583   REYES        RICARDO ESTEEBAN             TX     90008992747
4934B479791523   JOHN         RODRIGUEZ                    TX     90009914797
4934B551791597   DENISSE      RIVERA                       TX     90007435517
4934B63838B16B   KATIE        GIBSON                       UT     90006216383
4934B871963674   RYAN         JONES                        MO     90008178719
4934BA1645597B   ESMERALD     REYNA                        CA     90014640164
4935143858B885   LES          GOODMAN                      HI     90014004385
493514AA791959   DARIUS       GREENE                       NC     90011854007
4935196648B654   CADEIDRA     JONES                        TX     90015439664
4935249522B92B   STACY        MCWILLIAMS                   CA     90015024952
49353A1565B53B   BARBARA      PRIETO                       NM     90013220156
49353A35681671   SUSAN        HEMENWAY                     MO     90014240356
4935514915B58B   SAMMEY       GONZALES                     NM     90001991491
493554A7861966   BLASA        MACIAS                       CA     90013254078
493555A936B143   CILILO       HERNANDEZ                    MS     90015095093
4935581A34123B   MONICA       CAMPOS                       PA     90011588103
4935726955B58B   DANNY        TENORIO                      NM     35081782695
4935728493B33B   JAVIER       GARCIA                       CO     33006132849
4935856AA61963   TONY         SANCHEZ                      CA     46076955600
493585A3836189   JOSE         LOPEZ                        TX     73515975038
4935965715B53B   JAMES        JOHNSON                      NM     90004326571
4935B755171947   RACQUEL      MARTINEZ                     CO     32097497551
4935B816172B36   ALMA         NUNEZ                        CO     33063088161
4935B938872B38   OSCAR        FLOREAS                      CO     33088009388
4935BA68297B62   SARAH        GERBERDING                   CO     90007960682
49361366997B62   DANIELLE     SAMARIN                      CO     90012693669
4936171988B165   CHARLES      WILLIAMS                     UT     90013047198
49362164172B43   JASON        MEIER                        CO     33050611641
4936224A871947   MYONG        AYALA                        CO     90009822408
493628A255B395   CHARLES      RASBERRY                     OR     44570918025
49362A43391583   CESAR        DELGADO                      TX     90003600433
49362A9A12B87B   STEPHANIE    BOGAR                        ID     41024670901
4936344A15B395   MIKE         PRESTON                      OR     44561084401
49363829672B36   PATRICIA     OLIVAS                       CO     33089888296
49365543A72B36   ORLANDO      PINO                         CO     33015685430
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4936581A671999   JEREMY            REARDON                 CO     90011628106
4936622A491569   DAVID             SOLIS                   TX     75086092204
49367246872B62   WILLIAM           MAES                    CO     90011202468
49367546972B93   MATTHEW           OSBORNE                 CO     33090485469
4936771AA71946   JOSE              ALTAMIRANO              CO     90011797100
4936813925B174   MARKEVIOUS        DAVIS                   AR     90008121392
4936851A84B271   LAURA             CORDOVA                 IA     27006355108
49368661297B62   JESSICA           VIDUYA                  CO     39042586612
49369226A97B62   CLERISSA          METZ                    CO     90011192260
49369859872B54   SARAH             SCHWEITZER              CO     33015638598
4936B815372B31   MARIA ELIZABETH   GALDAMEZ GUILLEN        CO     90012498153
4936B874A91959   DENA              READING                 NC     17090988740
4937123272B253   DENA              BROWN                   DC     90000452327
49371425572B54   SUSANA            ESPITEA                 CO     90010024255
4937152182B27B   MAURICE           BURT                    DC     90010725218
4937223758B59B   MERCEDES          BENZ                    CA     90015352375
49372371A5B58B   RUBEN             BARAJAS                 NM     90014773710
493729A6A61963   DAVID             CRUZ                    CA     46028639060
49373588772B38   JOLENA            CASIAS                  CO     33054135887
4937372492B27B   MILDETTA          GREELY                  DC     90008847249
4937619945B58B   VANESSA           DIEZ-SANCHEZ            NM     90008641994
4937644715597B   JARED             MENDIOLA                CA     90003754471
493766A4A5B53B   ERIBERTO          MARTINEZ                NM     35067616040
4937893835B53B   ALEXANDRA         BLACKSTOCK              NM     90009349383
49379528A71946   BARBARA           BABKA                   CO     90012665280
4937969885B58B   CECILIA           MANRIQUEZ               NM     90008796988
4937B372A61967   MONICA            MENCHEZ                 CA     46014353720
4937B398491569   FLORES            ALEJANDRO               TX     90010313984
4937B433971946   STEPHANIE         DEBORDE                 CO     90014784339
4937B458491873   BRIAN             LEE                     OK     90014734584
4937B846597B62   GARARDO           SANTANA                 CO     90011488465
4938122A84B271   TINA              HUNT                    NE     27038602208
49381348A58528   CHAOLIN           FERNANDEZ               NY     90015593480
49381521A2B84B   DANIEL            TADDOS                  ID     90014485210
49382388A5B53B   JENNIFER          RIVERA                  NM     35096143880
4938253515B222   ELIZABETH         NOE                     KY     68096065351
4938253652B27B   AYANNA            BLUE                    DC     90002455365
4938298A191394   MAGALI            DE LEON                 KS     90008089801
49382A61772B36   YESICA            REYES                   CO     33018680617
49383A22A71946   CALOS             ORDONEZ                 CO     32074960220
49383A35872B47   AUTUMN            RIMIREZ                 CO     90013520358
49384288172B4B   MARTIN            RODRIGUEZ               CO     90003482881
49384A91897B62   VIANEY            AGUIRRE                 CO     90013170918
4938554862B87B   HEATHER C         MAYNARD                 ID     90002435486
4938589835B53B   HOPIE             HUERTA                  NM     90004218983
49386428397B21   TROY              GAMEZ                   CO     90010794283
49386A15871946   ALBERTO           CERVANTES               CO     32015160158
4938726615B58B   LETICIA           LUCERO                  NM     90014392661
4938748A561967   WENDY             BUCKLEY                 CA     90014554805
49387A74161967   W                 BUCKLEY                 CA     90013210741
49388195A5B53B   TOM               GALLEGOS                NM     90001611950
4938819A851334   RHONDA            STEWART                 OH     66028031908
493881A5171999   JERRY             CHAVEZ                  CO     90009081051
4938831915B395   OMAR              CASTREJON               OR     44505023191
49388859872B4B   ALYSHA            DUPLIN                  CO     90002318598
49389221472B4B   TROY              GRAY                    CO     90013922214
49389466A5B527   STEVE             GONZALES                NM     35096464660
493896A5A5B395   DAVID             RHODES                  OR     44571126050
49389A43497B62   BRIAN             WILLERT                 CO     90013600434
4938B236271946   MARIA             MORALES                 CO     32031122362
4938B294791881   ASHLEY            CARRIGER                OK     90014932947
4938B356491959   ALVIN             MCCLAM                  NC     90011863564
4938B67728B16B   BRAD              LEATHAM                 UT     90002626772
4938B829A71947   CASSANDRA         THOMPSON                CO     90014288290
4938B8A8A91583   MINERVA           ALVAREZ                 TX     90013048080
4938B965A5597B   LARENA            BESS                    CA     90011189650
4938BA5685B58B   RICARDO           SANCHEZ                 NM     90013750568
4939146455B395   LAKEISHA          PETERS                  OR     90010974645
493916A6991583   JACKLYN           CHRISTENSEN             TX     90000356069
49392A2462B27B   ANGELIQUE         RICHARDSON              DC     90014880246
4939327A761963   ITZEL             DE JESUS                CA     90014932707
49395A8A897B62   SCOTT             CAMPBELL                CO     90013600808
4939629117B457   AHMAD             ABDULLAH                NC     90008822911
49396555172B4B   DAVID             EDGECOMB                CO     33052315551
4939682315B53B   DEICY             PEREZ                   NM     90012158231
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49397285372B33   IMAGARD      WERTH                        CO     90013502853
49397A9A691547   JOEL         SIFUENTES                    TX     90012770906
4939812A85597B   LINDA        PEREZ                        CA     90010951208
49398399A51334   HELENA       MOSS                         KY     66093793990
49398584172B4B   RUBEN        ORDAZ                        CO     33080435841
49399552A72B43   MARIA        ESTRADA                      CO     90002945520
4939B312891873   AMANDA       SOWELL                       OK     90014763128
4939B34A291547   RICARDO      ARTALEJO                     TX     90004173402
4939B969197B62   RENE         ALVARADO                     CO     39066669691
493B1197791583   MARGARITA    SAMORA                       TX     90008621977
493B119A95B174   HAILEY       SPICER                       AR     90014611909
493B1291872473   ERIC         DEMUS                        PA     90014642918
493B3151591523   JUAN         ORTIZ                        NM     75079621515
493B4152A97B62   KARINA       ROCHA                        CO     90014601520
493B4177872B36   LISA         MONTOYA                      CO     33085351778
493B41A175B523   TIFFANIE     MAURICIO                     NM     90005621017
493B4773891583   ANTONIO      GARCIA                       TX     75059387738
493B5A2115B53B   KATHLEEN     GABALDON                     NM     90009540211
493B6392151334   SHARON       MCCANTS                      OH     66093773921
493B6487972B43   REYNALDA     MARCOS                       CO     33000894879
493B6611171999   RICHARD      DEHERRERA                    CO     38092846111
493B677555B174   JASMINE      MARKS                        AR     90011287755
493B6A31291569   HOSIE        WHITE                        TX     90010310312
493B721964B221   TONYA        MENSAH                       NE     90007512196
493B726614B271   TROY         JOHNSON                      NE     27076642661
493B728675B174   CARMEN       MIEVES                       AR     90006342867
493B7476772B4B   MICHELLE     MARTINEZ                     CO     33042464767
493B785282B935   ANISSA       ESPINOZA                     CA     90012368528
493B792455597B   ALAN         PENA                         CA     49014679245
493B8389271946   JENNIFER     QUINTANA                     CO     90014773892
493B841475597B   VANESSA      MOBLEY                       CA     90008634147
493B8677671947   DAYO         EDWARDS                      CO     90009076776
493B895715B58B   SALAZAR      SANTOS                       NM     90010469571
493B9254472B4B   DESISLAVA    ANCHEVA                      CO     90013502544
493B934A88B162   JAKE         MARKER                       UT     90001363408
493B9A37171999   LUIS         MIRANDA                      CO     90014820371
493BB1A7571946   ROBERT       ELLEFSON                     CO     90011791075
493BB328771999   VICKIE       VIALPANDO                    CO     38095843287
493BB73692B27B   JORGELINA    GASTELUM LOPEZ               DC     90013227369
49411A22A2B27B   CHRISSY      STEPHENSON                   DC     90008860220
49411A9475597B   FELICIA      RIVERA                       CA     49053140947
49411A97171999   CHERYL       BLACKBURN                    CO     38005300971
49411AA5151334   HAMZA        CONTEH                       OH     66098590051
4941213745B52B   BENJIE       VIGIL                        NM     36069871374
4941228815B53B   MARIAELENA   VARELA DE SALAZAR            NM     35030172881
49412529972B36   MARIA        SANROMAN                     CO     90013335299
4941328555B58B   LUZMARIA     DUARTE                       NM     90013962855
494133A582B932   ANDREW J.    MAAGMA                       CA     90003513058
4941351435B52B   ANA          ESTRADA                      NM     36087645143
49414494397B62   KENIA        MERAZ                        CO     90011694943
4941519715B58B   ANGELA       BALTAZAR PATRICIO            NM     35042421971
4941536A161967   EDWIN        BELL                         CA     46039063601
49415A8A897B62   SCOTT        CAMPBELL                     CO     90013600808
49416277672B38   GUADALUPE    CORONA                       CO     33031132776
49416718372B43   LINDA        DAVIES                       CO     90011727183
4941775655B53B   DALILHA      LEE                          NM     35045487565
494177A3671947   VICTORIA     ESTRADA                      CO     90011947036
4941782415B58B   FRANCISCO    JIMENEZ                      NM     90014878241
49417885A5B58B   JEROME       ABEITA                       NM     90012378850
49419271572B4B   VANESSA      ALVARADO                     CO     90014112715
494193A625B581   JOSHUA       RODRIGUEZ                    NM     90011523062
494194A1997B62   CAROL        SARGENT                      CO     90014694019
49419528A91583   ISABEL       PEREZ                        TX     90013425280
494195A852B27B   TRACY        HARRISON                     DC     90012585085
4941B251971999   CRYSTAL      LOPEZ CASTILLO               CO     90011632519
4941B418997B62   GERMAN       JIMENEZ PEREZ                CO     90003994189
4941B519872B54   JACKSON      DANA                         CO     33034115198
4941B92948B16B   DALE         BURDICK                      UT     31053969294
4942136755B174   BECKY        BULLARD                      AR     90011293675
494214A5691583   ANA          TAVAREZ                      TX     90011114056
49421981472B4B   EVIE         VIGIL                        CO     33069209814
4942315887B463   KRISTI       BURNETTE                     NC     90006081588
49423555A91873   SHERON       BROWN                        OK     90014735550
49424142672B4B   ADRIANA      CABALLERO                    CO     33091301426
4942445445597B   ERINEO       ZAMBRANO                     CA     90008904544
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494253A5672B36   JASON             FIELD                   CO     90008943056
49425879797B62   ALIDA             LOPEZ ZACARIAS          CO     90001048797
4942621515B58B   BERNADETTE        ARMIJO                  NM     90011972151
4942632625597B   ROSALINDA         MENDOZA                 CA     49092993262
4942793585B523   MICHELLE          AGUILAR                 NM     90006559358
494281A5572B4B   DINO              IANNUCCI                CO     90013881055
4942893362B27B   MERCEDES          PEARSON                 DC     90001959336
4942946A497B62   CHRIS             MORRISON                CO     39015364604
4942958275B53B   WILLIAM           WINSTIN                 NM     90003975827
4942969425B395   JORGE             PARRA                   OR     90000126942
4942B263871947   PEDRO             RODRIGUES               CO     90015292638
4942B528A91583   ISABEL            PEREZ                   TX     90013425280
4942B547591873   JEREMY            BALLARD                 OK     90014735475
4943174955597B   MARIA             JACINTO                 CA     90013167495
494324A9691583   JOSEFA            RODRIGUEZ               TX     90015114096
494326A8171946   CHRISTEL          FERGUSON                CO     90008656081
49432855472B54   GILBERTO          RODRIGUEZ               CO     90011228554
49433267A72B36   SHERRI            LANDRUM                 CO     33032842670
49433559A91873   TONYA             HOUSTON                 OK     90014735590
4943455A272B54   NATTIE            PEREA                   CO     33092115502
494348A865597B   DARREL            BAKER                   CA     90014318086
49435215272B36   ELIZABETH         QUINONES                CO     90010902152
494354A1971947   MONIKA            SONNENBERG              CO     90014044019
494354A6441261   AMY               WALKER                  PA     90007884064
4943562695B58B   ALEJANDRO         CASTRO-RIOS             NM     90007476269
49435741A4B271   JEREMY            FRITCHER                IA     90008517410
4943592342B27B   ASHLEY            DAVIS                   DC     90012239234
4943596353143B   ZACH              CHRISTOPHER             MO     90010459635
4943599292B935   JEAN              GRAVES                  CA     90014549929
49435A52997B62   RALPH             RUTLEDGE                CO     39079360529
49436791A91959   ESTELLA           VASQUEZ                 NC     17064767910
49436A61697B62   JACOB             WALL                    CO     90013200616
494384AA38B16B   TAMMY             FERNADEZ                UT     31004504003
49439743972B54   RENEE             ALARCON                 CO     33034677439
49439A82A2B27B   BENNIE            ROBINSON                VA     90001100820
4943B514671999   SAMARA            SAMORA                  CO     38000165146
4943B621472B36   ALEJANDRA         CALDERON                CO     90012896214
4943B622591569   ABEL              IBARRA                  TX     90012906225
4943B64692B27B   KIYON             ROBLES                  DC     90014746469
4943BA8875B53B   VIVIANA           TENA                    NM     90012210887
494425A6777396   LUGEMIA           JONES                   IL     90003805067
49442A4A697B62   JOSE              PASILLAS                CO     90008020406
49444A7798B165   JOAQUIN           HERNANDEZ               UT     31091700779
4944583855597B   ENGRACIA          SORROZA                 CA     90014548385
49445A9AA5B58B   JOSE              CARRERAS                NM     35086580900
4944621855B174   AMY               POE                     AR     90012612185
49446A82233443   MARYANN           FLOWERS                 AL     90014270822
4944794A391394   JOSE              GALDAMEZ                KS     90006409403
49448295872B43   ESMERALDA         HERNANDEZ               CO     90003482958
4944897415B52B   EDGAR             MENDOZA                 NM     36060649741
49448A3695597B   ANKNEY            GERALD                  CA     90007280369
494491A6171999   MARRISSA          VALDEZ                  CO     90012781061
4944936A32B27B   GLORIA            CARTER                  DC     81079403603
49449784272B54   JULINETTE         NUNEZ                   CO     33080617842
49449878572B38   VICTOR            GONZALEZ                CO     33097128785
4944997585B58B   JESSICA           ACOSTA                  NM     35052089758
49449A1A361963   GABRIELA ROBLES   ROMANO                  CA     90014710103
4944B18115597B   ANDREA            JOHNSON                 CA     49018181811
4944B438371947   SHANE             HENDERSON               CO     90013294383
4944B511371946   AUDREY            ARIAS                   CO     90014785113
4945123498B166   MARITSA           CISNEROS                UT     31081892349
4945133675B53B   ELAINE            YEARY                   NM     35084253367
49451352197B62   JAIME             MARTINEZ                CO     90006723521
49452919A72B54   VERONICA          RIVAS                   CO     33080719190
4945354515B174   ASHLEY            MURILLO                 AR     90011295451
4945398935B53B   DORINA            GRAJEDA                 NM     90006589893
49453A29271947   MARION            WADE                    CO     32021190292
4945526215B174   PAYGO             IVR ACTIVATION          AR     90012762621
4945614445B58B   MANUEL            ARMIJO                  NM     90013901444
4945729235B58B   YVONNE            ESCALERA                NM     35041882923
4945751185B53B   AGUSTIN           ZAMORA-LOPEZ            NM     35096225118
4945793515B395   IMELDA            GOMEZ                   OR     44545869351
4945795A371946   ANTHONY           MCILWRATH               CO     32086549503
4945828345B174   LEON              MOORE                   AR     90001992834
4945857992B27B   MARTINO           GARCIA                  DC     90013905799
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494589A1A97B62   COURTNEY     WILLMOTT                     CO     39017519010
49458A29485944   KIMBERLY     DALTON                       KY     90008230294
4945B594971947   ADELICIA     KARAFFA                      CO     32086195949
4945B5A1291873   MARISOL      VASQUEZ                      OK     90012975012
4945B741672B4B   CHRISTINA    FABRIZIO                     CO     90010707416
4945BA9A25B597   KIMBERLY     VIALPANDO                    NM     35001310902
4946272415B581   ALEXANDRA    LUCERO                       NM     90014427241
4946272715B53B   MARTHA       QUEZADA-GONZALEZ             NM     35078617271
4946333189152B   ANA          GONZALEZ                     TX     90013143318
4946348355B141   QUEEN        ROBINSON                     AR     23074024835
4946386A772B54   ANDREA       GERMAIN                      CO     90011228607
4946458365B174   GLADYS       TORRES                       AR     90006495836
4946481A492825   LUIS         HERNANDEZ                    AZ     90014098104
49464892897B62   LUIS         FLORES-NAVA                  CO     90012218928
49464981A71999   MELINDA      BANUELOS                     CO     38086239810
49465144A71946   LAVERN       SPRINGFIELD                  CO     90014791440
49465271272B54   LUIS         CASTRO-ENRIQUEZ              CO     90004852712
49465291372B43   MYRA         ESCOBAR                      CO     90011812913
4946585665597B   JOSE         TOVAR                        CA     90004978566
4946735975B174   BARBARA      PRICE                        AR     23083723597
4946829A991549   GARICA       JOSE                         TX     90011902909
494683A1372B23   JOSHUA       PEARSON                      CO     90006733013
4946864895B523   KIMBERLY     SANCHEZ                      NM     35084016489
4946889A35B375   ASHLEE       CASTILLO                     OR     90004098903
4946959165B58B   JERRY        MARQUEZ                      NM     90012255916
4946B7A262B872   WILLIAM      THAMES                       ID     90013967026
4946B82392B27B   LATISHA      ARLINGTON                    VA     90014748239
494713A5872B36   ANGELO       RODRIGUEZ                    CO     90013743058
49471555897B62   STEPHANIE    BUSTAMANTE                   CO     39015225558
49472A2815593B   CINTHIA      CRUZ                         CA     90008030281
49472A71261963   SERDAH       HASSAN                       CA     90013960712
49474249A5B58B   DARLENE      ROYBAL                       NM     90007242490
4947473933B327   RACHEL       HUNT                         CO     90002987393
4947537252B27B   ADAM         DANIEL                       DC     90012583725
49476314597B62   NADYA        SUSTACHE                     CO     90014843145
49477295872B43   WALTER       ROSAS                        CO     90011812958
49477439497B62   ROSA         MARTINEZ                     CO     39074484394
4947791875B58B   TERESA       BAER-DAVIS                   NM     90012409187
4947797445B58B   LORUHAMA     MACIAS                       NM     35070229744
4947839A172B36   LOUIE        PIZARRO                      CO     90014823901
4947B36888B885   JUBILEE      ALCONCEL-TOBOSA              HI     90014773688
4947B59472B27B   SILVANO      MIGUEL VILLAREAL             DC     90010135947
4947B731172B54   GEORGINA     HERRERA                      CO     33092067311
4947B946172B4B   WILLIAM      BANKENSTEIN                  CO     90012679461
494813A215B55B   CHRISTINE    PEREA                        NM     90012293021
494814A5872B4B   LUCERO       RODRIGUEZ                    CO     33090104058
49481529772B43   GRACIELA     ROJAS                        CO     33031835297
49481823172B36   JOHN         GARRETT                      CO     90013268231
49481A7594B271   ERIC         JONES                        NE     90012250759
4948288225B58B   LAVERN       MAESTAS                      NM     35006908822
494835A3191873   ALLEN        WEST                         OK     90015305031
49483A13391569   GARCIA       RENE                         TX     90003740133
49483A98A91959   ADELAIDO     ENCARNASION                  NC     90012660980
49484384A5B174   GINA         ATKINS                       AR     90013403840
4948443A75B523   LEROY        NAJAR                        NM     35047534307
49484A41261963   MELISSA      CASTLEMAN                    CA     90010180412
4948529935B53B   CYNTHIA      QUINONES                     NM     90013982993
4948561548B165   THOMAS       BANKHEAD                     UT     31052806154
4948578395B174   ANALYN       LOFTON                       AR     90011297839
4948627A971946   SUSAN        DIGGS                        CO     90011802709
49486581597B62   IVAN         GUERRERO                     CO     90015125815
494865A665B53B   EVERARDO     ALARCON                      NM     90014785066
49486A8465597B   KALVIN       CHA                          CA     90013520846
4948782812B27B   CHALEA       JONES                        DC     90003498281
4948892285B58B   ALBERTA      OLGUIN                       NM     90009819228
49489A41A5B53B   MARC         TRUJILLO                     NM     90013930410
49489AAA791569   CHELSEA      HICKS                        TX     90013570007
4948B927A91569   KENNY        WILSON                       TX     75081029270
4948BA1896198B   JACK         NEWMAN                       CA     90012390189
4948BA2145B58B   JESSICA      DAVIS                        NM     90014890214
4949151658433B   WILLIAM      GOETHE                       SC     90005725165
49492243197B62   RANDAL       WIANT                        CO     90013732431
49493764797B62   NATHAN       KEMPER                       CO     90006147647
4949528955B58B   MAGEN        CHAVEZ                       NM     35082712895
4949576472B87B   SHARON       BEAMER                       ID     90014917647
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49495958A5597B   ANGELICA        LEON                      CA     49083449580
494961A8761967   DARRETT         WHITFIELD                 CA     90013381087
49496811972B4B   SHERRILL        JOJOLA                    CO     90012158119
49496A61951334   GERMAN          VELASQUEZ                 OH     66077270619
49497238872B54   ASHLEY          GUIDICE                   CO     33015322388
4949738A671946   JORGE           GONZALEZ-DOMINGUEZ        CO     90011803806
4949788962B27B   RINA            AREVALO                   DC     90014898896
49498771372B38   FRANK           CORDOVA                   CO     33041397713
49499117997B62   YADIRA          ARELLANO                  CO     90015221179
4949981245B395   BRANDON         VERNON                    OR     44530538124
4949B188461963   SANDRA          WESTON                    CA     90013051884
4949B742972B38   VADAVOI         NIKOLAI                   CO     33045387429
4949B893291959   JAMES WILLIAM   JOHNSON                   NC     90010618932
4949B971991873   VIRGINA         BRANDONBURG               OK     21035569719
494B1354372B36   MARK            LOPEZ                     CO     90015153543
494B1453261963   JAVIER          DAVALOS                   CA     90012724532
494B1552A72B43   MARIA           ESTRADA                   CO     90002945520
494B1672771947   JOSE            DOMINGUEZ                 CO     32065676727
494B2362471999   JEFFREY         JOHNSON                   CO     38091003624
494B28A9536189   MARIA           AVILA                     TX     73539628095
494B3361161963   JOSHUA          COLEMAN                   CA     90005343611
494B339A791959   RODAIN          NSHIMBA                   NC     90006173907
494B33A1561547   MEOSCH          GAYDEN                    TN     90015013015
494B3A44A5B395   KERRY           CENTER                    OR     90006310440
494B4288661945   PABLO           OLIVA                     CA     90004652886
494B4344771946   LAVERNE         ARCHULETA                 CO     90011553447
494B4375797B62   FERNANDO        HERRERA                   CO     39073183757
494B4663871947   ISRAEL          CEBALLES                  CO     32004786638
494B4747391873   REBECCA         CALL                      OK     21005747473
494B4842491569   ALFREDO         LANDEROS                  TX     75030238424
494B5249371947   BROOKE          SAILOR                    CO     90011232493
494B5357391873   KYERRA          ANDERSON                  OK     90011533573
494B73AA241222   JOHN            SHAFFER                   PA     51035473002
494B76AA25B523   TONY            ROLDEDO                   NM     35075396002
494B7817771999   JANICE          TRUJILLO                  CO     90013048177
494B7827572B38   ROSAMARIA       BARRAZA                   CO     33069028275
494B827A15B56B   NAKETTA         WILEY                     NM     35003942701
494B878515B395   ERICA           NEUBAUER                  OR     90013377851
494B9196985964   RANDY           COX                       KY     90011071969
494B9629561967   SAVOEUN         POV                       CA     90011526295
494B9692272B36   RAMONA          GARCIA                    CO     90012916922
494B9732572B4B   GABRIELA        BARRIO                    CO     90013027325
494B991235B53B   LOLA            ELIBARRI                  NM     35027279123
494B9A22A2B27B   CHRISSY         STEPHENSON                DC     90008860220
494BB94216198B   MARIA           VILLANUEVA                CA     90011769421
4951114165B395   RAFAELA         CONTRERAS                 OR     44564971416
49511628597B32   TAMEKA          GONZALES                  CO     90012606285
49512183233B88   ALMA            CUMMINGS                  OH     90011111832
4951222A75B58B   NICHOLAS        THOMAS                    NM     90011372207
495122A9571946   JEFFERY         WARE                      CO     90014792095
495126A9691583   LUZ             CARDONA                   TX     90012936096
4951356789152B   IMELDA          FRANCO                    TX     75052555678
4951359276148B   CONSTANCE       BISHOP                    OH     90014315927
4951416344B271   SYLVIA          SAMUEL                    NE     27089531634
4951416A53168B   CHELSEA         ANUKAM                    KS     90002081605
49514262897B62   SANDRA          MANRIQUEZ                 CO     90014192628
4951523335B58B   SAUL            DAMIAN                    NM     90009902333
495159AA772B38   JOSE            QUIROZ                    CO     90000569007
49515A79171947   CARRIELL        WILLIAMS                  CO     32083390791
495164A5A5B53B   RODOLFO         ARMENTA                   NM     90014764050
49516A5627122B   TEANNA          GOODMAN                   IA     90014790562
4951833765597B   GERARDO         CHAVEZ                    CA     90000383376
49518438A61963   TENESHA         LOVE                      CA     46056694380
4951846A35B53B   CHEYENNE        FACHAN                    NM     90008344603
4951849915B395   CARLOS          ALVAREZ                   OR     90014644991
495185A5557B61   JOHN            THIEL                     PA     90009915055
49518682172B4B   JOSEPH          CORSENTINO                CO     33009066821
49519894A5B53B   CARL            PADILLA                   NM     35056468940
4951997265B53B   DOMINIC         PADILLA                   NM     90013769726
4951B293191394   MARISOL         ALEJO                     KS     90014732931
4952128883B352   WILLIAM         JACKSON                   CO     33008882888
4952139855B53B   EDDIEG          GUTIERREZ                 NM     35012793985
4952168594B271   GREG            DIAZ                      NE     90011986859
49523134A5133B   RON             WATKINS                   KY     90013041340
4952326622B87B   ADELAIDA        HODGE                     ID     90008762662
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4952386975B395   STEVEN        NUNN                        OR     90013058697
4952394427B463   GABRIEL       MORA                        NC     90002839442
4952454312B27B   PETROS        ASGEDOM                     VA     81021915431
49525285A91873   SAMUEL        HESS                        OK     90010312850
49525395472B24   ANDREW        MUCCIANTE                   CO     90009513954
49525482472B4B   SIMON         ROMERO                      CO     90013704824
4952652622B27B   TANISHA       HILL                        DC     90014765262
49526831A91583   EFRAIN        UGARTE                      TX     90014588310
49526871972B36   LEA           MIGUEL                      CO     90010788719
49526A78461547   PAYGO         IVR ACTIVATION              TN     90015020784
4952831A671947   JAMES         WIEGMAN                     CO     90003853106
4952859615B174   COURTNEY      BOOTH                       AR     90012565961
4952885A697B62   NICHOLAS      GARCIA                      CO     39021488506
4952931A391959   QUETIN        RIVERS                      NC     90002153103
49529615872B36   NELSON        ALMONTE                     CO     90012986158
4952965A258528   JOSE LUIS     VASQUEZ                     NY     90015606502
4952991655B174   KELLY         WALKER                      AR     23012099165
4952B462371946   NIBIGIRA      MELANIE                     CO     90011804623
4952B526571946   DEBBIE        JANKOWSKI                   CO     90014795265
4952B625681669   GUIRELENE     DELACRUZ                    MO     90006636256
4952B885191569   TOMAS         NEVAREZ                     TX     75056138851
4953111357B394   TEFERA        BEZABEH                     VA     81013281135
4953168A85597B   DANIEL        LOPEZ                       CA     90012846808
49532357A61967   JOSE          GOMEZ                       CA     90015163570
4953278A35B58B   RAUL          MARTINEZ                    NM     90014627803
49532A39771946   MICHAEL       GIBSON                      CO     32042590397
4953324164B271   JIM           MORINE                      NE     90004552416
4953339A171947   MYKA          ALLEY                       CO     32048563901
49533541A57123   MAURO         PEREZ                       VA     90013795410
4953367245B174   NATALIE       STEVENSON                   AR     23018106724
49534421A91328   JAMES         DODDS                       KS     29002694210
4953456A471949   AMANDA        HERNANDEZ                   CO     90006425604
4953499A163674   MONICA        MCGRATH                     MO     90013059901
49534A29771999   TRACY         MARTIN                      CO     38091520297
4953545623B339   MOSES         DAMULIRA                    CO     33077654562
4953656365597B   JANNETTA      LANE                        CA     90011735636
49536895A5B174   ANTHONY       LOGAN                       AR     23089128950
49536A11897B62   VIGIL         ANTONIO R                   CO     90012030118
4953786412B27B   DONNELL       SMITH                       DC     90008108641
4953796A193741   SHANNEN       MILLER                      OH     90010549601
49539859A91569   MIGUEL        RUIZ                        TX     90012438590
4953B11357B394   TEFERA        BEZABEH                     VA     81013281135
4953B221272B38   MIGUEL        AGUILAR TORRES              CO     33073102212
4953B543272B4B   CHRIS         CHAMBERLAIN                 CO     90005505432
4953B642372B54   DAVID         LYNCH                       CO     90005016423
4953B83865597B   ANA           SILVA                       CA     90012108386
4953B8A182B92B   ANTHONY       KARLEGAN                    CA     90007848018
4953B948997B62   CHRISTOPHER   BRUSKI                      CO     90008379489
49541261A2B27B   JOHNSON       AKINS                       DC     90014772610
4954153475B53B   MARISELA      MUNOZ                       NM     90005315347
495416A5472B54   RYAN          MARTIN                      CO     90014716054
49541748372B36   JOSHUA        MARTINEZ                    CO     90007017483
495424A9A5B53B   MIRIAM        CASTILLO                    NM     90005044090
495431A675B174   KEWANNA       WILLINGHAM                  AR     90014871067
4954369335B58B   CLAUDIA       DOMINGUEZ                   NM     35091836933
49543A13461967   LOURDES       MACIAS                      CA     46023020134
49544232472B36   SERGIO        SANCHEZ                     CO     33072322324
49544692A71947   JESSICA       CUEVAS                      CO     90007706920
4954473425B395   CHRISTOPHER   NKOSA                       OR     90013297342
4954478632B87B   CARRIE        CURTIS                      ID     90014237863
49544A49471947   SCOTT R       HILTWINE                    CO     90015190494
4954529A491873   VIRGINIA      LONGORIA                    OK     90014742904
49545414997B62   CYNTHIA       MONIZ                       CO     90012334149
49546377972B4B   LINDA         CARRASCO-JIMENEZ            CO     33026923779
49546A2135B37B   RHONDA        ELSASSER                    OR     44519940213
4954738A42B27B   DESHAWN       DICKENS                     DC     81021933804
49548539A61967   PAOLA         RUIZ RAMIREZ                CA     90004195390
4954862122B27B   TONYA         WHITE                       DC     90014086212
49549433897B62   RACHEL        ORTIZ                       CO     90008424338
4954BA27671947   GILBERTO      RAMIREZ ACEVEDO             CO     32090950276
495513A3891583   FELIX         CONTRERAS                   TX     75063943038
495523A414B271   OCTAVIO       DIAZ                        IA     90001183041
4955285A141222   SAMANTHA      SCHMITT                     PA     51049868501
49552A1A85B53B   KATHY         BLANCO                      NM     90015200108
495533A826192B   MICHAEL       CORREIA                     CA     90005213082
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4955345815597B   BRENDA       MARTINEZ                     CA     90010894581
495534AA691394   KATHLEEN     SORRELL                      KS     90012364006
49553798272B4B   EUGENE       MARTINEZ                     CO     90012387982
49554141172B36   MARIA        VELA                         CO     33019201411
49554AA1871999   LEVI         MONTOYA                      CO     90014110018
4955525A991394   DIANA        ROSALES                      KS     29053052509
49555495772B4B   DELILAH      RAMIREZ                      CO     90013234957
4955556A772B4B   WILLIAM      RAMIREZ                      CO     33007635607
4955571635597B   MARIA        MC COOK                      CA     90012057163
4955659A35B53B   JANICE       ESQUIBEL                     NM     90014995903
49556A7A961963   MARTHA       RAMIREZ                      CA     90011460709
49557269772B4B   TONA         BANKS                        CO     33009152697
49557357A61967   JOSE         GOMEZ                        CA     90015163570
4955739A171946   TREVOR       CARLISLE                     CO     90014793901
4955744365B174   FRANK        DOBBINS                      AR     90004184436
4955764395597B   AIOTEST1     DONOTTOUCH                   CA     90015116439
4955775A95B53B   VICKIE       MOLINAR                      NM     90009977509
4955868A42B27B   ANTHONY      HARRIS                       DC     90013276804
49558A92A91922   ROBIN        GODOY                        NC     90013110920
4955941874B582   IDRENE       DARTY                        OK     90011414187
49559444372B4B   JAVAE        HARDY                        CO     90012174443
4955955285B52B   HONZELL      LESLEY                       NM     36029115528
4955B336A91873   JAMY         MCILVANE                     OK     90014743360
4955B471691569   MARIA        ORTIZ                        TX     90010944716
4956116252B87B   JENNIFER     SCHOEN                       ID     90012761625
4956139545B58B   GIOVANNI     BARRIENTOS-OSORIO            NM     35031063954
4956144465B53B   SONYA        MONTOYA                      NM     35076744446
49561699197B62   HIGINIA      ARMENDARIZ                   CO     90003506991
49561914472B38   SHARON       JOHNSON                      CO     33039969144
49562362172B54   JOSE         CASTRELLON                   CO     33092163621
4956265A791873   SANDRA       HARDY                        OK     90012336507
4956352269373B   JULIE        BLAINE                       OH     64580095226
49563543A91959   BALTAZA      PANIAGUA                     NC     90014675430
4956422158B59B   IGNACIO      FIGUEROA                     CA     90014882215
4956423515B52B   MIRANDA      ADAMS                        NM     36041342351
4956512129152B   MELISSA      GRILLO                       TX     90010001212
49565261A2B27B   JOHNSON      AKINS                        DC     90014772610
49565A22633443   TAWANNA      BEDGOOD                      AL     90014860226
4956621A491527   MIROSLAVA    PAZ                          TX     90008642104
49566555A4B271   LONNY        KING                         IA     27088855550
49567A53A86478   TRACEY       MILLER                       SC     90015390530
4956835875B53B   ANALILA      PEREZ                        NM     90013593587
49568A16972B54   ASHLEY       HERNANDEZ                    CO     90012120169
4956986935B53B   ALBA         OLGA                         NM     90014958693
4956B27A761963   ITZEL        DE JESUS                     CA     90014932707
4956BA54371947   AJA          THOMAS                       CO     32086640543
495714A5271946   ROBERT       RAMSEY                       CO     90003234052
49571A72891873   NIKIA        EDWARDS                      OK     21059740728
4957251652B27B   CARLOS       CASTILLO                     DC     90003635165
495734A193B356   SOFIA        PEDRAZA                      CO     33008304019
49573919497B62   MARIA        VALDEZ                       CO     90006899194
4957399AA71947   CRISSY       FLANAGAN                     CO     32002079900
49574A3AA71947   SHANNA       DIXON                        CO     90009470300
49575816172B4B   PAULA        COLEMAN                      CO     33051528161
49575816A72B36   PAULINE      BRADLEY                      CO     33045908160
495765A2771999   RUTHANN      TEEM                         CO     90008785027
4957738843B326   LUCY         PACHECO                      CO     90010373884
4957739A171999   RONALD       BUSTOS                       CO     38061883901
49577747372B4B   JOHNNY       AIKENS                       CO     90010927473
495782A4A61924   IAN          FELLEY                       CA     90011612040
495784A847193B   CAROLINE     URIAS                        CO     32028604084
4957852885597B   LORENA       SALAS                        CA     90011075288
49578A78691583   SALOME       DAVALOS                      TX     90003600786
49579382A72B36   NEIL         BENSON                       CO     33016533820
495793A5651335   BRIAN        ALCORN                       OH     90008833056
495836AA691873   TRACY        TURNER                       OK     90014746006
49583783A2B27B   MELISSA      SWINSON                      DC     90014237830
495837A3872B4B   IVON         MIRAMONTES                   CO     90005727038
49584317397B62   MIGUEL       GONZALEZ                     CO     90005313173
49584552A72B54   DANIEL       CAMMACK                      CO     33083115520
49584A59971947   TONIE        HAYES                        CO     32017310599
49584AA8A8B167   RYAN         WORKMAN                      UT     90008640080
4958568125B174   GERALD       GOODRUM                      AR     90011926812
4958596275B395   ARMANDO      MARTINEZ CANCHOLA            OR     90010989627
4958634115B55B   LAURA        FLORES                       NM     35041253411
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49586476257B97   JAKE         FRY                          PA     90014574762
4958727A261963   GUADALUPE    GAMINO CASTRO                CA     90013182702
4958728772B87B   DEBBIE       PAYNE                        ID     41052162877
4958781858B163   DESTINEE     BAKER                        UT     90014658185
49587AA2A5B174   CAROLYN      BENNETT                      AR     23077030020
49588479897B62   ANNA         GONZALES                     CO     90011004798
49588A54871933   MOLLY        MUNIZ                        CO     90009930548
4958924485B174   DANA         SMALLWOOD                    AR     90013642448
4958965A99189B   CRISTINA     GUFFEY                       OK     21079486509
4958B11394B221   SHARI        MORRIS                       NE     90010011139
4958B82899376B   PAULA        CORE                         OH     90007378289
4959163742B27B   MAX          OKOROJI                      DC     90014086374
4959228632B27B   SHIFFEN      BROWN                        DC     90006162863
49592352A41222   MARY         AUGUSTINE                    PA     51016063520
49592A47A4B551   ANNIE        MITCHELL                     OK     90001450470
4959378154B231   HEATHER      SCHLUCKEBIER                 NE     90010717815
4959399425B53B   PAYTON       CASTRO                       NM     90015269942
49593999872B43   ELVIA        SAUCEDO                      CO     33046589998
4959483168B16B   CLINT        RASBAND                      UT     90001658316
495952A6871947   LAURA        ERIVES                       CO     32045342068
4959532312B27B   KAHIL        DANIEL                       DC     90014773231
49595351997B62   CARLOS       ESCARCEGA                    CO     90014813519
4959758355B58B   JOANNA       GALLEGO                      NM     90011015835
4959764654B271   ALBA         GOMEZ                        NE     90006926465
49597A8525B297   PAUL         CORYLE                       KY     90007530852
49598242172B36   MORAIMA      GONZALES                     CO     90010942421
4959832265B58B   SADIE        RICHARDS                     NM     90006963226
4959928A872B4B   RICARDO      TABULLO                      CO     90012882808
4959962635597B   JOCK         LITTLE                       CA     90014836263
49599881697B62   CHRIS        KAPITY                       CO     39095518816
4959B985197B62   JOSE LUIS    ROGRIGUEZ CASTILLO           CO     39044599851
495B1272852B25   CHARLENE     WILBUR                       AZ     90015162728
495B13A7672B36   SHYNELL      WILLIAMS                     CO     90013743076
495B1484772B28   DELON        RADEBAUGH                    CO     90007534847
495B152A15B58B   VERONICA     CASTILLO                     NM     35086385201
495B1993397B62   CHUCK        TRIONFERA                    CO     90010259933
495B1A83266186   LINDA        GUTIERREZ                    CA     90014450832
495B249582B27B   JOHN         JEFFERY                      DC     90014764958
495B2A81A5597B   YAHYA        MAKLANI                      CA     90012410810
495B3297472B4B   ANNETTE      ORTIZ                        CO     90001612974
495B364992B83B   DAMIELLE     BARNTTE                      ID     90015426499
495B365A271946   DARRYL       THOMPSON                     CO     90012306502
495B3A41791547   JOSE         CEBALLOS                     TX     75094360417
495B4327771947   ZACH         WEBSTER                      CO     90010213277
495B449115B53B   PINO         VANESSA                      NM     90010054911
495B461A491959   CANDICE      JEFFREYS                     NC     90013536104
495B4667161988   BETTY        BROWN                        CA     90012416671
495B4824191569   CINTIA       MEZA                         TX     90010988241
495B631975597B   ROSALIO      TORRES                       CA     90014113197
495B646845B174   JADA         AITCHISON                    AR     90014264684
495B7461891959   HELEN        SCHRELBER                    NC     90014664618
495B7489272B4B   ADAM         JOHNS                        CO     90014274892
495B76A9761963   ROSE         RODGRIUEZ                    CA     90012176097
495B823315597B   AIOTEST1     DONOTTOUCH                   CA     90015122331
495B8366271999   MONICA       SALCIDO                      CO     90010413662
495B863482B27B   ALVINA       EASTON                       DC     81049466348
495B8A61A5B53B   MICHEAL      CHAVES                       NM     90003790610
495B9161272B28   MILLY        BYANDAALA                    CO     33046421612
495B9187391959   MARY ANN     DESPRES                      NC     90002881873
495B992575B395   JOHN         CONNALLY                     OR     90001659257
495BB391271946   TANESHA      DOTTSON                      CO     90011803912
495BB489891959   DISHEKA      HAILEY                       NC     90011384898
4961216435B58B   SANTANA      TORRES                       NM     90007931643
4961317735B395   SAN ANDRES   INTERIAN                     OR     44596001773
4961348A391873   MEGAN        WEEMS                        OK     90014744803
4961389A271999   NOAH         ESPINOZA                     CO     90009868902
496165A699189B   CHANNELLE    GARRETT                      OK     90012395069
4961686155B395   RANDE        SMITH                        OR     90009108615
4961715565B53B   KAREN        LUCERO                       NM     35074761556
4961737415B395   CARLOS       MIS AVILA                    OR     44506323741
49617377A72B36   TAMMIE       MOSS                         CO     90010013770
49618176172B4B   GLORIA       MORALES                      CO     33008501761
4961848A391873   MEGAN        WEEMS                        OK     90014744803
49619A67491583   FRANK        TONCHE                       TX     90014560674
4961B3A4191394   CORY         CAMPBELL                     KS     90007353041
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4961B411571947   YAIMARAR     LIMA                         CO     32098314115
4962174A25B391   NURAINI      MOHAMED                      OR     90001187402
4962256815B58B   TONY         BUI                          NM     90004255681
49623656297B62   RICHARD      BAIRD                        CO     90013096562
49624622372B36   MOHAMMED     ARBAB                        CO     90012896223
4962482695B174   KRISTY       WHITEHEAD                    AR     90013158269
49625249A72B36   CAROL        JOJOLA                       CO     33080332490
49625581A5B395   BILL         WERREMEYER                   OR     44573645810
49627564372B54   JESSE        MEDINA                       CO     90008765643
49627A99291523   CAROLINA     ROBLES                       TX     75045220992
4962849318B165   BROCK        SHANNON                      UT     31053994931
4962886A561963   JOHN         BURNETT                      CA     90005388605
4962B446661967   ALICIA       HERNANDEZ                    CA     90006104466
4962B976471946   NIKAIA       GUERRA                       CO     90010539764
4962BA51791523   MARTHA       ALVIDREZ                     TX     75063570517
49633A8855B395   JORDAN       DEES                         OR     90014880885
49634316672B36   AMADA        ULLOA                        CO     90013413166
49634566397B62   LINDA        CHAVEZ                       CO     90006725663
49635555A71999   FLOR         SALAZAR VALTIERRA            CO     90011645550
4963576344B271   SHAWN        DELOA                        NE     27048017634
49635933872B36   RYAN         AMES                         CO     90007839338
49636513133B88   DIA          ASHKINS                      OH     90011135131
49636981797B62   DESTINY      SANBORN                      CO     90014759817
49637274397B62   JOSE         HERRERA                      CO     90014842743
496373AA991583   LORENA       HERNANDEZ                    TX     90013033009
49637A2124B271   REED         CHRISTOPHER                  NE     27023820212
4963851145B174   MONIQUE      JACKSON                      AR     90014565114
49638681872B4B   DANA         BROWN                        CO     33030286818
496394A5171946   MICHAEL      RAMIREZ                      CO     32079704051
4963B162771946   ANTONIO      HERNANDEZ                    CO     90015231627
4963B1A835B58B   EMILIO       HERNANDEZ                    NM     90013451083
4963B31A991873   CHRISTINA    BOTTOMS                      OK     90013663109
4963B898391583   DAVID        FLORES                       TX     90014588983
4963B9A1297B62   MIRANDA      MCCLARA                      CO     90011979012
4963BA64471946   NICHOLAS     ELLIOTT                      CO     90013130644
4964199357B398   PAUL         RENIKER                      VA     81094739935
49642369A72B36   JEANNA       JIMENEZ                      CO     90000343690
496423A4171946   MARIO        HERRERA                      CO     32024163041
4964264395597B   AIOTEST1     DONOTTOUCH                   CA     90015116439
4964271678B16B   MONTE        DICKERSON                    UT     31018417167
49643113A91583   FRANSISCO    ALONSO                       TX     75048601130
496432AA85B523   JOSEPHINE    SALGUERO-GONZALES            NM     35008042008
49644227272B54   ASHLEY       NIELSEN                      CO     90013502272
496453A778B165   JESUS        SANCHEZ                      UT     90010373077
4964542745597B   JOE          ORTEGA                       CA     90004564274
4964544865B395   DONNIE       GILBERT                      OR     90014204486
4964626885B53B   WILLIAM      HABICK                       NM     90013962688
49646325772B54   BRENDA       LOPEZ                        CO     33050803257
496463A745B174   MARTINEZ     NIETO                        AR     23073783074
4964658295B395   SHARI        AMADO                        OR     90011975829
49646751297B62   ALEXSANDRA   SELLERS                      CO     90014227512
496467A4761963   XOCHITL      BLAKE                        CA     90000987047
49648284A71999   BEATRIZ      GONZALEZ                     CO     38072392840
49648819597B62   JOEL         RAMIRES                      CO     39082918195
4964983445B523   SILVIA       FLORES                       NM     35053118344
49649A26771999   JOHN         DEHERRERA                    CO     38057380267
4964B471491583   KARLA        BALLESTEROS                  TX     90014604714
4965164455597B   AIOTEST1     DONOTTOUCH                   CA     90015116445
496517AA32B27B   KRISTEN      PELZER-THOMAS                DC     90013777003
4965216675B53B   ANITA        BLYTHE                       NM     90013891667
49652198197B62   SAMANTHA     YBARRA                       CO     90011721981
4965266A571999   JOEAL        MONTOYA                      CO     38005186605
496526AAA5597B   PEDRO        OCHOA                        CA     90011876000
49652A64A72B36   JOSE         PALACIO                      CO     33075300640
496549A5371946   MICHELE      SPIELMAN                     CO     32086229053
4965555455B58B   SANDRA       VAZQUEZ                      NM     90013715545
4965723295B395   KATY         CLIPSTON                     OR     90013172329
49657A79841222   JOHN         LEWIS                        PA     90015040798
4965879A371946   MARVISLEE    ABENES                       CO     32012267903
49658A13A97B62   DAVID        PROUTY                       CO     90014150130
4965B32A471999   JUSTINE      BRIDEAU                      CO     38054893204
4965B389A84338   WILLIAM D    MURRAY                       SC     90010083890
4965B441597B62   WILLIAM      PHILLIPS                     CO     39059734415
4965B685861967   ANA          ROJO                         CA     46034836858
4965B6A255B395   DESIREE      JONES                        OR     90009626025
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4965B84464B271   ACHOL        BOL                          NE     90004578446
4965B87A172B36   ANITA        MOSLEY                       CO     33042758701
4965B978391583   SANDRA       QUIROZ                       TX     90011099783
4965BA9955B174   DONNA        GILLIAM                      AR     23069650995
49661334A5B58B   BRENDA       YANEZ                        NM     90013923340
4966172715B58B   NADINA       ROSS                         NM     90013967271
49661919972B4B   KIMBERLY     GARCIA                       CO     90000179199
4966212295B395   AMANDA       RYAN                         OR     90012631229
4966297815B58B   VINCENT      MONTOYA                      NM     35019079781
4966382742B229   TYMESIA      FITZ                         DC     90007448274
496652A3691873   CRYSTAL      CELESTINE                    OK     21018472036
4966539922B27B   ROSA         PELAEZ                       DC     90015153992
4966564455597B   AIOTEST1     DONOTTOUCH                   CA     90015116445
4966593915B53B   JUAN         LARQUIER HEREDIA             NM     90011859391
4966633715B53B   JAVIER       CORDOVA                      NM     35035283371
4966633748B885   TRUDY        PALIK                        HI     90015483374
4966754115B55B   MELISSA      MONTES                       NM     35082975411
49668449972B36   LARONNA      BRIGHT                       CO     90011194499
49668A26171946   CRISTO       CANETT                       CO     90015110261
49669712A72B4B   TIFFANY      HARDY                        CO     90015097120
4966977365B53B   LEE          ALICE                        NM     90013267736
4966991295B395   JESSICA      DHONE                        OR     44588879129
4966B49785B395   TYLER        JONES                        OR     90004134978
4966B573697B62   RENAE        VELASQUEZ                    CO     90010995736
4966B645472B4B   FRANSISCO    MIRANDA                      CO     90013036454
4966BA7A441222   ANTWAAN      ASHBY                        PA     90001660704
49671A16A91523   MONICA       PINON                        TX     75063260160
4967257A571999   RENEE        ROMERO                       CO     90014455705
4967394515597B   CARMEN       LUPE RAMIREZ                 CA     49011759451
4967416725597B   SAMANTHA     BRADY                        CA     90007751672
4967488295B58B   DEBRA        JARAMILLO                    NM     90000678829
4967518375B58B   DAVID        LUNA                         NM     90007621837
49675A51741222   JASMINE      BOWYER                       PA     90014360517
49676A46691569   HORACIO      DELGADO JR                   TX     90002840466
4967755A55B126   DEANNA       WATSON                       AR     90005075505
4967759315B395   J-SALUD      GARCIA                       OR     44513965931
496776A2541222   JOYCE        DETTLINGER                   PA     51085556025
49677816372B36   JODALE       GARCIA                       CO     33006378163
4967856495B395   BRIAN        NEWMAN                       OR     44579585649
4967856A591959   TERESA       BELL                         NC     90013475605
4967965162B27B   CHARLIE      BRYANT                       DC     90014086516
4967973525B395   NAH          SINVIENG                     OR     90013877352
4967B147471947   SERENITY     MARQUES                      CO     90009541474
4967B58195597B   JOCELYN      DIXON                        CA     90005255819
4967B582891873   JASMINE      SMITH                        OK     90014745828
4967B598A72B38   NICOLE       BEHRENS                      CO     33071595980
4968122985B53B   JESUS        COLMENERO-TRILLO             NM     90013242298
4968192285B58B   CRYSTAL      MARQUEZ                      NM     35006089228
49682838672B36   CARRILLO     JESSICA                      CO     90000868386
49682AA365597B   SANTIAGO     GASCA                        CA     90012420036
4968317565B174   JOSE         HERNANDES                    AR     23002071756
49683A57891972   HENRY        ESCOBAR                      NC     90003760578
4968432465597B   JOSE         NUNEZ                        CA     90014993246
49684428572B36   HECTOR       MILLAN                       CO     33018234285
4968525575B53B   ROBERTO      DE LA CRUZ                   NM     35071882557
4968555A55B126   DEANNA       WATSON                       AR     90005075505
4968568A85B58B   MICHAEL      REYNOLDS                     NM     90013196808
4968588873364B   ALISHA       BRAME                        NC     90015238887
4968611A391873   JESUS        DEL RIO                      OK     21062231103
49686465797B62   JOSE         MUNOZ                        CO     39043494657
4968724A85B174   IRENE        FLICK                        AR     90015162408
49687A13571947   HUMBERTO     GALLEGOS                     CO     90015390135
4968845875597B   LAURA        MURILLO                      CA     90014704587
496889A6891959   MARTHA       ORTIZ                        NC     90008019068
49689147972B4B   BETH         BRUMER                       CO     90014781479
4968B123291873   LOU CINDY    TARGETT                      OK     90001531232
4968B1A835B395   SA           DA                           OR     90012771083
4968B444897B62   JUAN         ESCOBEDO                     CO     90010334448
4968B612691583   LAURA        AMAYA                        TX     90015076126
4968B85695597B   JAVIER       RODRIGUEZ                    CA     90010758569
4968B99A24B271   MINDY        WIESE                        NE     90011249902
4969145975597B   TOM          MERSMAN                      CA     90014104597
4969145A55B174   KISSICK      LOWERY                       AR     90014484505
49692179472B36   VICTOR       GARCIA                       CO     90006381794
49693513872B54   REBECCA      RODRIGUEZ                    CO     90008115138
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49693883A72B36   PATRICK         LOVAS                     CO     90008738830
49696177872B4B   LISA            MONTOYA                   CO     33085351778
49696447772B54   JULIE           BLISS                     CO     33088594477
4969654342B27B   ALICIA          DAVIS                     DC     81013325434
49696A92931437   DONNA           DREW                      MO     27561810929
4969717785B58B   ESTHER          TOLEDO                    NM     35036641778
4969743A872B4B   NICK            PANZARELLA                CO     90006324308
4969764A791873   AMRA            MOBEEN                    OK     90014746407
49697871797B62   VIVIANA         LOPEZ                     CO     90012218717
49697911572B54   BRIANA          NOREEN                    CO     90007389115
49697A9758B163   VICTOR          DELUCIO                   UT     90002280975
4969836A471999   DENISE          SOLA                      CO     90009193604
4969856695B395   KATRINA D       SCHWENK                   OR     90010865669
4969863A197B62   DENEA           FARMER                    CO     39052836301
49699AA9A77355   HORTENCIA       MANUEL                    IL     20526550090
4969B59A871946   MARIA           RODRIQUEZ                 CO     90011465908
496B1251472B38   NOE             SOTO-PEREZ                CO     33094232514
496B1421491959   RENE            ACOSTA                    NC     90014844214
496B2338791583   ALEJANDRO       WOOTTEN                   TX     90011383387
496B2425161967   JENNIFER        LUEDTKE                   CA     46063604251
496B269945B523   STEVEN          KNORR                     NM     90001076994
496B2785A9152B   ENRIQUE         DIAZ                      TX     90001897850
496B3526571946   DEBBIE          JANKOWSKI                 CO     90014795265
496B3684391872   TODDS           SCHELL                    OK     90012786843
496B3911472B4B   ZEENA           L CANDELARIA              CO     90010089114
496B3924451361   MICHELLE        LAWRENCE                  OH     90012939244
496B411485B53B   ISMAEL          TERAN                     NM     90004271148
496B4853991569   KARINA          HERRERA                   TX     90015058539
496B4939A91583   JANETTE         GRAJEDA                   TX     90012909390
496B531592B27B   JEAN            JOHNSON                   DC     90004643159
496B5433A71946   JENNIFER        JEFFCOTT                  CO     90015074330
496B6658A91569   EMMA            ARAMBULA                  TX     75080636580
496B693275B174   CONNIE          HARRIS                    AR     23037569327
496B754A571946   LANEECE         MCCOY                     CO     90014795405
496B77A374B271   FLOR            LOPEZ                     NE     90004547037
496B7843571999   DANIEL          BISHOP                    CO     38039838435
496B7A42A5B58B   CLARA           SERRANO                   NM     90009090420
496B7A9A171947   ALICIA          LOPEZ                     CO     32073650901
496B812192B27B   ROBERTO         PARADES                   VA     90008991219
496B874A724B46   KENNETH         BROWN                     DC     90001337407
496B8A1125B53B   CODY            MORGAN                    NM     90015060112
496B8A4415597B   JAVIER          FRAUSTO                   CA     90009460441
496B9159172B4B   CAROL           CRAIG                     CO     33057741591
496B9473A91873   TANIA           RENDON                    OK     90014744730
496BB34499155B   OSWALDO         CAMPOS                    TX     90007653449
4971289AA71999   KAREN           FRESQUEZ                  CO     90008938900
49712A47561963   DWIGHT          WILSON                    CA     90014950475
49713159297B62   MALISA          ARMIJO                    CO     90012511592
4971357945B174   ARLENE          WILLIAMS                  AR     23084425794
49713671572B54   BRENDA          MEDINA-ROGEL              CO     33014406715
49713898797B62   SARA            BRYANT                    CO     90011008987
4971389A35B375   ASHLEE          CASTILLO                  OR     90004098903
49713935A5B53B   OFELIA          HERNANDEZ                 NM     35057039350
4971394195B58B   AMY             HERNANDEZ                 NM     90012829419
4971457728B165   MANOLA          GONZALEZ                  UT     31027685772
4971463575B395   JASON           WALTERS                   OR     90014656357
49714764572B54   SHEENA          CONER                     CO     90011637645
4971557728B165   MANOLA          GONZALEZ                  UT     31027685772
4971588165B58B   SUSAN           GRIEGO                    NM     35012328816
49715A6844B546   GEORGE          HEMPHILL                  OK     21585450684
49715A74A5B53B   MARIA           ALVARADO                  NM     35079000740
49716235472B4B   WILLIAM         SNODGRASS                 CO     90010702354
4971672A231458   YVONNE          PERKINS                   MO     90007967202
49716881397B62   DIANA           SOLIS                     CO     90012688813
49717312572B43   RUANO           NOEMY                     CO     90011813125
4971763A571946   LESLIE          SHEPHARD                  CO     32053536305
4971791865597B   MELISSA         RUIZ                      CA     90005799186
49718454A5B581   MARISSA         NUDI                      NM     90005164540
4971847672B27B   MARIO           BLACKETTE                 VA     90012844767
49719AA8372B4B   GABRIELA        RIQUELME                  CO     90000850083
4971B537572B54   BRAD GERSTNER   GERSTNER                  CO     90004105375
4971B692291873   MARTHA          EZZAZAHA                  OK     90014746922
4971B816936189   ANNETTE         VALLE                     TX     73567298169
49721335A5597B   CAITLAN         PRUM                      CA     90014693350
49722172197B62   JASON           ROGGE                     CO     39048311721
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4972233245B395   MICHELLE     BUCK                         OR     44590333324
497227AA372B43   GERARDO      REYES                        CO     33076567003
4972354135B395   ARCADIO      PENA REYES                   OR     44515025413
49723685A72B43   TAUNASHEA    WILLIAMS                     CO     90006426850
4972368A391569   VERONICA     VARGAS                       TX     75018136803
497256A4371946   SANTOS       LARA                         CO     90014806043
4972589992B27B   CLINTON      NORMAN                       DC     90007158999
49725A72271999   TERESA       OCHOA-REESE                  CO     90010040722
4972617675597B   YESSICA      RODRIGUEZ                    CA     90013831767
4972649A272B54   BRANDON      MCKEE                        CO     33067494902
49727853A5597B   ANGELINA     CHAPPARO                     CA     90010158530
497285A9872B4B   DEONICIA     WAGNER                       CO     33093545098
497286A4371946   SANTOS       LARA                         CO     90014806043
4972898555597B   JESUS        RIOS                         CA     90015259855
4972964455597B   AIOTEST1     DONOTTOUCH                   CA     90015116445
4972B677472B54   SARAH        CARRILLO                     CO     90005016774
4972B681391873   ANGELA       TORESS                       OK     90014536813
4972B785736189   JENNIFER     GUTHRIE                      TX     90000707857
497314A3172B54   MITCHELL     ENGLISH                      CO     33012864031
4973169635B52B   LAURA        SANCHEZ                      NM     36073016963
4973179A17B394   LUIS         BERMUDEZ                     VA     90007817901
49731938572B43   GUSTAVO      VALENZUELA                   CO     33080149385
49732349397B62   KRISTIN      MOSHER                       CO     90004623493
4973289835B53B   OSCAR        ROMERO                       NM     35091428983
497328A4361967   ANGELICA     RODRIGUEZ                    CA     90004468043
4973324465B53B   JESUS        HUERTA                       NM     35054752446
4973351675597B   JOHN         ALATORRE                     CA     49000905167
4973356A561933   AMANI        KADHIM                       CA     90007635605
497342A2291569   NAYELI       NAJERA                       TX     90003422022
4973453A12B87B   CHRISTINE    LADKE                        ID     41010525301
49735852797B62   CRISTINA     IZQUIERDO                    CO     90012858527
4973639885B58B   OSCAR        ALBA ORTIZ                   NM     90009333988
4973665162B27B   CHARLIE      BRYANT                       DC     90014086516
49736924272B36   JORGE        CHAVEZ                       CO     90014619242
49736A87691959   MIGUEL       DUTRA                        NC     90013730876
497376A7391569   MARTHA       RAMIREZ                      NM     90013966073
49737875972B38   PRECIOUS     GAMA                         CO     90004468759
4973839385B174   JAMES        WADE                         AR     90014273938
497392A9261967   ARTURO       SILVA                        CA     90006252092
497395A775B58B   EMILY        FUENTES                      NM     90014515077
4973B41532B27B   JAMAL        JEFFERSON                    DC     90012734153
4974139252B27B   NATHANIEL    CEBBOLD                      VA     90010143925
49741517672B36   ROSA NELY    MARQUEZ                      CO     90013985176
4974157745B58B   LETICIA      RUIZ                         NM     90014635774
49742361A77366   CAROLYN      HALL                         IL     20595053610
49742A32533625   HARRIET      DUNN-ALSTON                  NC     90013310325
49743286A2B87B   MELISSA      POTTS                        ID     41083912860
4974359A35B53B   JANICE       ESQUIBEL                     NM     90014995903
4974382635B55B   PRISCILLA    LOPEZ                        NM     35016448263
49744118A5B395   GLORIA       MEJIA LOPEZ                  OR     90012541180
4974416775B395   DESTINY      ORTIZ                        OR     90012521677
4974479995B53B   DISNEY       QUESADA                      NM     90000977999
497449A4351348   SCOTT        SCHENKEL                     OH     66097959043
49744A41291583   SALVADOR     RODRIGUEZ                    TX     90002960412
497459A5661965   ALEX         KITCHEN REMODELS             CA     90012759056
49746167A31497   WENDY        EHRIM                        MO     90002911670
4974746892B27B   PRESTON      HOLLAND                      DC     90011094689
4974951232B27B   WILLIAM      ALONZO                       DC     90014775123
4974B221572B85   JOSH         BILLINGSLEA                  CO     90011802215
4974B61558B165   JAYCIE       SAVILLE                      UT     31019616155
497511A7361963   CASSANDRA    CHAVEZ                       CA     46034811073
49751713A72B4B   KYLE         MILLER                       CO     90015097130
4975278352B885   MINH         TRAN                         ID     90004697835
4975314385B58B   DESIRE       BARRETT                      NM     90014231438
4975342695B523   ETHAN        BECVARIK                     NM     35016904269
4975356172B27B   ROBERT       PETERSON                     DC     81068055617
4975378352B885   MINH         TRAN                         ID     90004697835
49753A14671947   SCOTT A      GASTER                       CO     32033890146
4975486815B53B   WENDY        MIRAMONTENS                  NM     90007398681
49755654476B22   MARIA        BOEHMLER                     CA     46018006544
497562A755B333   NICHOLAS     SUMMERHAYS                   OR     44501092075
4975652125B58B   BRIANA       CHAVEZ                       NM     90012095212
49757465472B43   VERNELLE     COLUMBUS                     CO     33082394654
4975767238B156   ALEXANDREA   CARTER                       UT     90012206723
4975826415B788   RUBEN        ALLENDE-CRISANTO             MN     90015082641
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49758A2465B55B   JOHN          LOWMAN                      NM     35083040246
497599A6161967   BRANDI        CURRIN                      CA     46095369061
4975B1A7172B36   PRISCILLA     LOVATO                      CO     33051621071
4975B223191583   ROSALVA       RODIRQUEZ                   TX     90013422231
4975B74875B53B   JEANNE        REED                        NM     90010067487
49761135A2B885   AUTUMN        REEVES                      ID     90004621350
49761A34791569   MICHAEL       OGAS                        TX     75086650347
49761A5315B58B   LUCAS         NELSON                      NM     90013740531
49762353A61986   CARLOS        ESPINOSA                    CA     90008093530
497625A9271999   PATRICIA      HICKS                       CO     90004505092
4976277725597B   SABINO        MARQUEZ                     CA     49075987772
4976322968B16B   BRANDI        WOLFERTZ                    UT     90015082296
49764531172B4B   ORAS          MARTINEZ                    CO     33009655311
49764638797B62   HELEN         ESPINOZA                    CO     90012166387
497647A325B395   DREW          STOKES                      OR     90011537032
49764A14171947   FERNANDO      RESENDAZ                    CO     90013800141
4976525A691881   ESMERALDA     ROJO-ANDAZOLA               OK     90012892506
4976574725597B   ARTHUR        BECERRA                     CA     90014887472
497657A512B27B   RAQUEL        SORIANO                     DC     90006127051
4976612272B87B   RONALD        NESS                        ID     41093081227
49767188197B62   DALE          REEVES                      CO     39006591881
49767A38972B4B   MICHAEL       DAVIS                       CO     33086120389
49768136772B4B   CINDY         SORIA                       CO     90002371367
497681A5571947   ERYKE         MILLER                      CO     90002181055
4976839445B53B   CHRIS         ORTIZ                       NM     90008023944
4976977742B27B   FRANCISCO     SANCHEZ                     DC     90013757774
4976B334271947   SI            HUNTER                      CO     90008843342
4976B4A565B395   DEBORAH       SPARKS                      OR     90013694056
4977168242B27B   JOHANNA       CHAMBERLAIN                 DC     90014806824
49771721497B62   ARTURO        RAMIREZ                     CO     39078467214
49771921172B54   JAMES         EVANS                       CO     90011229211
49773A33A71947   TRACEE        NEILL                       CO     90003670330
49773A91771999   DOMINIC       CRESPIN                     CO     90009300917
49774A97897B62   MICHELLE      DOLLMAN                     CO     39091530978
497766A1241222   SANDRA        STONE                       PA     51066496012
49776718A71946   SABINE        ELLIOTT                     CO     90004147180
49777333797B62   VANESSA       HOLGUIN                     CO     90002403337
4977755715B174   MARY          KING                        AR     90010075571
49777AA4A7B398   GLENIA        VASQUEZ                     VA     90007490040
4977823155B58B   MARIA         BOBADILLA CAMACHO           NM     90007972315
4977848335597B   JONATHAN      NAJERA                      CA     90010864833
49779971997B62   JORDAN        SLAVER                      CO     90013029719
4977B43665597B   JUAN          GONZALEZ                    CA     90012614366
4977B666291569   ROSA          LAGUNA                      TX     90014126662
4977B66A72B27B   WILSON        CLINTON                     DC     90014086607
4977B768372B43   TINA          KILBOURN                    CO     90001407683
4977B896861986   ADRIANA       MACIEL                      CA     90008828968
4978171195B395   ROBERT        MEDLEY                      OR     44506327119
4978171A591959   KATHI         JENNETTE                    NC     17039147105
49781957672B36   MARIA         GONZALEZ                    CO     33028189576
497819A7771946   YOLANDA       GUTIERREZ                   CO     32004369077
497819AA572B54   LILIA         HERRERA MICHACA             CO     33051299005
49782454372B36   MARIA         CHAVEZ                      CO     33046304543
49782474A91583   ALEJANDRIN    GOMEZ                       TX     75038864740
497824A3141222   THOMAS        LONG                        PA     51086364031
49782619697B62   EUSBARDO      PONCE-CASTILLO              CO     90014416196
497833A558B165   AGUSTIN       QUINTERO                    UT     31057233055
497835A9A61967   SHEILA        PINEDA                      CA     90013815090
4978496385B53B   JONATHAN      ARANDA                      NM     90009959638
49786385572B36   CHRISTOPHER   LEE                         CO     90013783855
4978646745597B   ANDREA        CAMARENA                    CA     90013024674
49786543A97B62   JASHELL       ANDERSON                    CO     90013495430
4978663872B27B   BETTY         VINES                       DC     90013546387
49787A5295B395   HOLLY         PAULUS                      OR     90014920529
497889A5291972   MOSES         BETHEA JR                   NC     17082759052
49789463672B36   SEBASTIAN     NUNEZ                       CO     90008374636
4978954835B53B   TANESHA       MORGAN                      NM     90012445483
4978958585B372   MICHAEL       STONE                       OR     44572735858
49789A24791523   GLORIA        ANCHONDO                    TX     75063290247
4978B176291959   SHERITA       EATON                       NC     90013151762
4978B271772B36   KELLY         PATTERSON                   CO     33053402717
4978B2A3A71947   VICTOR        SARAVIA                     CO     90013462030
4978B394971999   MARTIN        FRAIS                       CO     38070673949
4978B397461963   TIFANI        MOUA                        CA     90012083974
4978B675991569   NICOLE        HERNANDEZ                   TX     90013546759
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4978B937291959   DENISE          PALM                      NC     90012159372
49791424372B36   EDGAR           GARMANY                   CO     90009064243
49791595297B62   RAMONA          LOPEZ                     CO     90000975952
497921A5761967   EDMUNDO         MOUET                     CA     90008531057
49792658172B36   HERIBERTO       MARTINEZ QUIROZ           CO     90013336581
4979272935597B   VANESSA         MADRIGAL                  CA     90013717293
4979368A85B58B   MICHAEL         REYNOLDS                  NM     90013196808
49793A21691873   MELISSA         ESTES                     OK     90008170216
49793AA3272B36   ABELARDO        LOPEZ                     CO     33007110032
4979696A671946   CALLIE          GLOVER                    CO     90014819606
4979769215597B   DEAQUANETT      PACKARD                   CA     49054016921
497978AA372B36   DESTINEE        DELARA-THOMPSON           CO     90009138003
497983A1271947   BRADELY         KING                      CO     90014603012
4979865278B165   EMILY           PAXTON                    UT     31022946527
4979876A271999   RODRIGUEZ       JENNIFER                  CO     90006027602
49799426497B62   REUBIN          PACHECO                   CO     39039144264
4979998893B326   MEG             DUNLOP                    CO     33090029889
497B1623547828   LAFAYETTE       CAREY                     GA     90013856235
497B257533B351   JEFFRY R        WILD                      CO     90006355753
497B263A797B62   BRANDON         HANNIG                    CO     90014366307
497B2957761963   MARK            EED                       CA     90011769577
497B2981191583   SALVADOR        CALDERON                  TX     75029899811
497B3264191569   ANGIE           MARTINEZ                  TX     75008402641
497B3673991873   SHANERICA       THOMPSON                  OK     90014746739
497B376A891959   DIAMOND         MOORE                     NC     90013597608
497B4459161953   ALICIA          FASSET                    CA     90013024591
497B553962B27B   GREGORY         SMITH                     DC     90007615396
497B566645B55B   REBECA          GALLEGOS                  NM     35069226664
497B5A32397B62   JENNIFER        ALVARADO                  CO     39045730323
497B6148272B36   VONICE          LITTLE                    CO     90013751482
497B6214691873   ABEL            TRINIDAD                  OK     90007232146
497B6644491569   CASAS           JUAN                      TX     75064206444
497B68AA75B523   WILLIAMS        SHARAY                    NM     35048048007
497B6963291583   JESSICA         LOZANO                    TX     90010369632
497B7138A91873   KAREN           HERRERA                   OK     90013651380
497B749A272B54   BRANDON         MCKEE                     CO     33067494902
497B7812471946   LEE             WOMACKS                   CO     90011818124
497B7958971946   GLENN           PETERSON                  CO     90003789589
497B8438591583   ANA             SALAS                     TX     90011114385
497B851868B165   FELICIA         VELARDE-GARCIA            UT     31039995186
497B9242891394   ELOISE          SANDERS                   KS     90000942428
497B933A897B62   GLENDA          BRUCE                     CO     90014843308
497B9537572B54   BRAD GERSTNER   GERSTNER                  CO     90004105375
497B9975791583   MARIO           TORRES                    TX     75006269757
497BB118A5B58B   MARIA           QUINTANA                  NM     90013451180
497BB213591583   ESTEBAN         SESCON                    TX     75060662135
497BB53815B53B   ALEXANDRIA      MARTINEZ                  NM     90012955381
497BB71393B343   CASHMAN         JODI                      CO     33036997139
49811764A2B26B   TIAUNA          HARRIS                    VA     90008267640
498118A225B523   LOREDA          CHAVARRIA                 NM     35080208022
4981217155B959   DONNA           TOLBERT                   WA     90015451715
4981238495B53B   ANGELA          LUCERO                    NM     35028883849
4981254595B52B   JUAN            GUILLEN ALVARENGA         NM     90002435459
4981299A571946   STEPHEN         PETERS                    CO     90014819905
498141AA161963   CECILIA         MORA                      CA     46010821001
4981428382B27B   IRMA            GERGONIA                  DC     90008802838
4981429A372B54   CHAD            RICE                      CO     33049642903
49814366272B4B   DAIDRE          VIALPANDO                 CO     90014773662
4981493788B165   ANATANAEL       VAZQUEZ                   UT     31023659378
49814956572B36   REBECCA         ESTRADA                   CO     90015119565
49814A3315597B   PETER G         DEIS                      NV     49006650331
4981523A45B395   BRYAN           BRINSFIELD                OR     90014522304
49815313597B62   SUNISA          MARCY                     CO     39013063135
4981611292B27B   LISA S          BOYCE                     DC     90014881129
4981623345B58B   YVONNE          GRINNELL                  NM     90013822334
49816338A71947   FLOR            CHAVEZ                    CO     90014943380
4981732237325B   THOMAS          BALTAZAR                  NJ     90014563223
4981761A72B29B   SHANARORA       BROWN                     DC     90009826107
49817AA8691959   PRECIOUS        LARETHA                   NC     90011190086
498181A718B156   CORINNE         TURNER                    UT     31081461071
49819156A5B395   OSMAN           CASTENEDA                 OR     90007741560
49819195A71947   NELSON          COON                      CO     90001121950
4981B661671999   JEREMY          LAINTZ                    CO     90009196616
4981B82739196B   AMARYLLIAS      DIXON                     NC     90000678273
4981B99A75B174   ROSALYN         AUSTIN                    AR     90011579907
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4982134148B59B   JOE           SHORT                       CA     90014803414
49821753A5B395   ARACELI       SANCHEZ-TORRES              OR     90014937530
49821AA7861963   BRIAN         DOLOSA                      CA     46032220078
49822274A2B27B   CHRISTOPHER   BREW                        DC     90011892740
4982281136198B   LAURA         PEREZ                       CA     90004628113
4982299478B165   DOUG          ELLISON                     UT     31021709947
49823153997B62   JENNIFER      GONZALEZ                    CO     90008871539
4982352365B555   ARMANDO       OLAGUE                      NM     90009595236
498238A635B523   ESTRELLA      LUNA                        NM     35070998063
49823AA5171946   HUBERTO       NNUNEZ-PENA                 CO     90014820051
4982423AA91524   MALIKAH       WILLIAMS                    TX     90004642300
4982456455B174   EDWARD        AUSTIN                      AR     90014515645
49824A16891394   MIA           WILLIAMS                    KS     90011190168
49825542197B62   JAUREN        COVARRIUBIAS                CO     90003825421
498255A155B55B   CARRILLO      ERICA                       NM     90008365015
498262A2371999   TINA          MOLINA                      CO     90007962023
4982638925B523   RACHEL        CORTEZ                      NM     90005653892
4982651375B174   SINGLETON     TONDALEIA                   AR     23048465137
49826575397B62   SHAMBREYA     JOHNSON                     CO     90012815753
49827597997B62   DANIEL        ALUMBAUGH                   CO     90014175979
49827A5A471946   CHET          KELLER                      CO     90014820504
49828172197B62   JASON         ROGGE                       CO     39048311721
498282AA95B395   TONYA         WAY                         OR     44523052009
498284A3881692   MAURICE       HAYES                       MO     90008704038
49828649A91873   JACOB         MORRIS                      OK     90009676490
4982886265B52B   ADRIANA       GRIJALVA                    NM     36090678626
49829286972B43   JOAN          GRIFFITH                    CO     33000032869
49829332253B31   FAUSTINO      CATALAN                     CA     90014673322
49829984497B62   ALMA          LOPEZ                       CO     90012699844
4982B196A61547   DEBORAH       REYNOLDS                    TN     90015041960
4982B839271947   ABELARDO      YBANEZ                      CO     90010618392
4982B892172B36   LETICIA       ARRIAGA                     CO     33052108921
4983167238B156   ALEXANDREA    CARTER                      UT     90012206723
49832338772B4B   DANIEL        COCHRAN                     CO     33049213387
498323A7291873   ARMANDO       CORRER                      OK     90013673072
49832A9AA5B523   JOSE          CARRERAS                    NM     35086580900
4983353A45B174   VANISHA       FULLER                      AR     90014275304
4983457A15597B   EUGENIA       PEREZ                       CA     49042705701
49834656372B43   RUBEN         FIERRO                      CO     33024606563
49834986472B36   TONY          MARTINEZ                    CO     90014899864
49834A71972B54   KELLEY        HATT                        CO     90011230719
49835352472B54   JENNIFER      IRISH                       CO     33024003524
49835928A5B55B   CAITLYN       SCHENTRUP                   NM     35013219280
49836788272B43   KATAZHA       MCCORMICK                   CO     90005927882
4983687862B956   JOHN          GARCIA                      CA     90007748786
4983836575597B   MARCELO       MARMOLEJO                   CA     90012863657
498386A4351354   JAIRO         SANCHEZ                     OH     90001526043
49838755197B62   MARY ANN      RAMOS                       CO     90013047551
498392A7191959   PAULINA       AYALA                       NC     90012652071
4983953756192B   JOHN          ZITO                        CA     90012445375
4983B128397B62   SHAWNEE       LOUSBERG                    CO     90013451283
4983B342891569   MARINA        MARQUEZ                     TX     75043603428
4983B745171947   TANYA         ARTHUR                      CO     32084737451
4983B9A2971946   MARIA         CERA                        CO     90012779029
4984173A85B53B   GABRIEL       CHAVEZ                      NM     90008447308
498423A4591569   ORA           COLMAN                      TX     90014843045
49845A1435B52B   ADRIANA       VELAZQUEZ DE LIRA           NM     36038130143
49845A32A91569   JOSE LUIS     ROCHA                       TX     90013960320
4984654245B53B   JONATHON      FREEMAN                     NM     90007755424
49846615697B62   BETH          GRAY                        CO     39043446156
49846A2A991583   JORGE         ORTEGA                      TX     90014590209
49847316A91873   AMANDA        MELTON                      OK     90014773160
4984774342B87B   JEREMY        MEEKS                       ID     90010147434
49848264972B36   ABEL          FLORENTINO                  CO     33097492649
4984882848B165   JOSEPHINE     CANDELARIO                  UT     31002678284
49849A2A991583   JORGE         ORTEGA                      TX     90014590209
4984B227591569   ELIDA         YEBRA                       TX     90011572275
4984B23A391873   RANDY         POTTER                      OK     21094202303
4984BA46171947   BREK          GRIPON                      CO     90012940461
4984BAA745B53B   LAWRENCE      TAFOYA                      NM     35050310074
49853711872B4B   TERRILL       REED                        CO     33060647118
4985398115B58B   FELICIA       SANTILLANES                 NM     35073639811
49853A8345B53B   MAGDALENA     BELTRAN                     NM     90014920834
4985428175B52B   MERIDA        ALONZO                      NM     36080682817
49854648A61967   ELIZABETH     CADENA                      CA     90010346480
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4985551915B523   SION         ROMERO                       NM     35078475191
498561A155597B   PAO          LEE                          CA     49015371015
4985663487B865   GARY         TUCKER                       IL     90006386348
49856943A71947   COMELIA      RODRIGUEZ LOPEZ              CO     90013869430
4985723774B547   ROLANDO      CARRILLO                     OK     90013312377
4985813895B58B   JANNA        WILSON                       NM     35009181389
49858762A91873   DEBRA        CARMACK                      OK     90014777620
49858A22A5B395   DANETTE      RARDIN                       OR     90014890220
49859141572B43   SHANNAN      PITTSER                      CO     90009371415
4985B32A491873   MARQUET      VEASLEY                      OK     90014773204
4985B551991569   OSCAR        SILVA                        TX     75081835519
4985B72A472B36   ZANE         PETERSON                     CO     90015187204
4985B85A55B53B   MANUEL       JACKSON                      NM     35008548505
49861483872B4B   JESUS        LOPEZ                        CO     90013844838
49861A8522B27B   CHIDI        NWOSU                        DC     81012060852
49862A27291583   MICHAEL      EVERETT                      TX     90014590272
49863114172B43   DONNA        BLACK                        CO     33010641141
4986321A291873   RONNIE       ADKINS                       OK     21064682102
4986367278B59B   MIGUEL       CRUZ                         CA     90013846727
4986396643B394   MARK W       CHANECKI                     CO     90003109664
49863A62841222   LEONARD      BILSKI                       PA     90006210628
49864954172B4B   HELEN        AMRINE                       CO     33040579541
49865741272B4B   MAURA        RODRIGUEZ                    CO     90014307412
4986673A991959   JUAN         CORTES                       NC     90006687309
49866A3A891569   CECILIA      FLORES                       TX     75076680308
49867113172B38   PORTIUS      BROSE                        CO     33002741131
49867371897B62   IRMA         HERRERA                      CO     90013473718
4986813A861458   KIMBERLY     THIMMES-ELDRIDGE             OH     90014081308
49868168797B21   TIMOTHY      DALTON                       CO     39013441687
49868823A5B53B   RENA         CROWTHER                     NM     90012668230
4986898985B395   BRENT        DE WHITT                     OR     90012909898
49868A3855B58B   SHELBY       LEE                          NM     90012560385
4986B33A15597B   SAMUEL       SANCHEZ                      CA     90010503301
4986B45945B55B   GOMEZ        MARIPOSA                     NM     90008364594
4986B61295B53B   CARLA        CORDOVA                      NM     35031576129
49871478A97B62   YURIKO       VEGA                         CO     39057354780
4987182795B174   MICHEAL      HENDERSON                    AR     23013228279
49871934272B54   MELISSA      HALL                         CO     90011229342
4987233848B863   VICTOR       PUNUA                        HI     90012893384
4987396A25B395   AARON        SELHORST                     OR     90009209602
4987443A15B52B   SABINO       GOMEZ                        NM     36006054301
49874A17571999   DAVID        KRUEGER                      CO     38059380175
4987531A65B395   LABELLA      RYAN                         OR     44508293106
49876498472B36   DOLORES      LUERAS                       CO     90011654984
49876668A91569   ESMERALDA    VACIO                        TX     90010826680
49876724372B43   SOPHIA       RAMOS                        CO     90002947243
49876A82871947   STEVE        BROWN                        CO     90011450828
498773AAA61963   KATRINA      KENNEDY                      CA     90008493000
49877934272B54   MELISSA      HALL                         CO     90011229342
49878261872B4B   UBERTINO     MARTINEZ                     CO     33092752618
49878A51A91597   ANGEL        SOTO                         TX     90010920510
49878AA8471946   CALVIN       DENZMORE                     CO     32017530084
49879198A91873   KESHA        BOYD                         OK     90015151980
4987963372B27B   CHARMEKA     CARMICHAEL                   DC     90011096337
4987B336166186   SIRENA       SALAZAR                      CA     90013463361
4987B3A5872B36   ANGELO       RODRIGUEZ                    CO     90013743058
4987B694193724   ANGEL        ANTHONY                      OH     90001036941
4987B81895B53B   RICHARD      HERNANDEZ                    NM     90014178189
4987B939691569   YOLANDA      LUGO                         TX     90011029396
49882718A91569   BRENDA       IBARRA                       TX     90014097180
49882A45772B43   MARTHA       CASTRO                       CO     33042250457
49883888972B4B   VALERIE      ZARETKI                      CO     90010808889
4988389292B27B   BRENTON      WOODSON                      NC     90004498929
4988414A671999   LESLIE       DALLAS                       CO     90015131406
4988418788B165   KANDI        GOFF                         UT     31075181878
4988473283B356   ANTONIO      VALDEZ                       CO     90012737328
4988498A536189   MORETTA      WILLIAMS                     TX     73555589805
4988549299152B   VIRGINIA     SOLTERO                      TX     90012484929
49885777372B4B   MICHELLE     GONZALES                     CO     90014557773
49885848897B62   LUPE         GUTIERREZ                    CO     90014058488
4988611845B58B   JOHN         LUCERO                       NM     90005171184
498863A3572B54   ESTRELLA     DURAN                        CO     33012533035
4988683678B546   CRYSTAL      LIVERMORE                    CA     90015188367
4988778A291873   ROBERT       WHITNEY                      OK     90014777802
4988853A95B395   MANFREDO     SANTOS PALMA                 OR     44515925309
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4988898712B87B   SARA          PARKS                       ID     90000979871
49888A31991583   CHAVEZ        RICARDO                     TX     90014590319
49888A55A71946   DONNA         STONEROCK                   CO     32039440550
4988957155B53B   KASSY         KITCHENS                    NM     35019435715
49889A33591583   JUAN          MORENO                      TX     90014590335
4988B145A91583   IVANA AIMI    GONZALEZ                    TX     75005021450
4988B723861967   ELIAS         AISPURO                     CA     90008377238
4988BA1495B58B   STEPHANIE     PACHECO                     NM     90008200149
4989132795B58B   JESSICA       GUTIERREZ                   NM     90008643279
4989154119372B   JIFF          WITHE                       OH     90014635411
49891623297B62   MARIA         MENDEZ                      CO     90009636232
4989232AA57159   SEGIDLEAB     GHEBREMICHAEL               VA     81005163200
498924A4A91394   CLAUDIA       HERNANDEZ                   KS     90002804040
4989295A755924   BEVERLEY      COLVILLE                    CA     90012859507
498933A2397B62   CORRIE        KNOLL                       CO     39053783023
4989355585B523   MARGARITA     MARTINEZ                    NM     90005675558
49893A2A85B53B   KAREN         CLOUGHERTY                  NM     35018710208
498941A975B279   SIDALG        NIEVES PELAEZ               KY     90014271097
4989437A65B279   SIDALG        WIEVE                       KY     90001093706
49894466597B62   MARIA         ESTRELLA                    CO     90014934665
498945A6A72B54   YVONNE        FAVILA                      CO     90005585060
4989465A797B62   CONNIE        SMITH                       CO     39041226507
49894788A74B97   BRANDON       KYSOR                       OH     90015107880
4989485537B453   JUAN          ALVARADO                    NC     90012618553
498953AA241222   JOHN          SHAFFER                     PA     51035473002
49895A5535597B   CHRISTINA     SIQUEIROS                   CA     90008340553
49895A57291959   THOMAS        MCKNIGHT                    NC     90012920572
498963A2397B62   CORRIE        KNOLL                       CO     39053783023
4989686A791583   MIRIAM        BUSTAMANTE                  TX     75060268607
49897143A72449   DENNIS        MARTIN                      PA     90010391430
4989767355B58B   SUSANA        CARRILLO                    NM     90009886735
4989776AA61967   ALFONSO       MOYA                        CA     90013937600
49897A7435B56B   LISA          GUTIERREZ                   NM     90005910743
49898457372B4B   TRUJILLO      JESS ICA                    CO     90007734573
4989857A891583   JOSEFINA      VARGAS                      TX     90005185708
4989873245597B   RODGER        RAMIREZ                     CA     90013717324
49898888597B62   CHRISTOPHER   ROY                         CO     90014158885
49898A5A15133B   JAMES         WILLIAMS                    OH     90011390501
4989939A391873   CRYSTAL       MARTINEZ                    OK     90014773903
4989941832B87B   DAVID         GIOVANELLI SR.              ID     41096734183
49899598272B43   ELIZABETH     LUEVANOS                    CO     90010075982
4989B28195597B   JOSEPH        GONZALEZ                    CA     90012032819
4989B569161967   DAGAN         NIETO                       CA     90014645691
498B1284361963   VICTORINO     SOMERA                      CA     46089662843
498B146875B58B   BLANCE        DOMINGUEZ                   NM     35092254687
498B1598771947   DELLA         MOORE                       CO     90000955987
498B341825B174   VENUS         WILLIAMS                    AR     23097044182
498B3464397B62   VICTORIA      CHRONISTER                  CO     39037994643
498B3A84871999   JAIME         ORTEGA                      CO     90003900848
498B417195B55B   CORNELIA      NORTEY                      NM     90010191719
498B485835B52B   ISRAEL        MORANTE                     NM     36052768583
498B4968761967   OBDULIA       DURAN                       CA     90010249687
498B4988591583   CHAVEZ        FERNANDO                    TX     90014589885
498B571837B49B   NYEMA         HOOVER                      NC     90012457183
498B5A98591873   SHATAWN       GARDNER                     OK     90013210985
498B617215B53B   TERRENCE      BLACKBURN                   NM     90013881721
498B6795191959   VICTOR        VEGA                        NC     90000267951
498B716A891583   YESENIA       QUEZADA                     TX     90008671608
498B7421971999   ANTONIA       ZAMORA                      CO     90014754219
498B7431172B43   AHMED         ALSHAER                     CO     33089954311
498B7672571946   NORMA         CANTU                       CO     90002946725
498B8452893769   RICK          HALL                        OH     64589614528
498B8658671947   TRAVIS        ALEXANDER                   CO     90003606586
498B8A6AA93769   TRISTAN       HALL                        OH     90011070600
498B9583771946   MARK          WHITTEN                     CO     90000845837
498B9684272B43   JESUS         GUILLEN                     CO     33091836842
498B9733191523   JESUS         GARCIA                      TX     75063297331
498B9A1735B55B   BARBARA       GARCIA                      NM     35032200173
498BB241161967   GABRIEL       SANCHEZ                     CA     46042182411
498BB799741222   QUAYE         JONES                       PA     51086647997
498BB868572B54   MICHELLE      WOMACK                      CO     33069858685
498BB949691959   LAJUANA       WILLIAMS                    NC     90013349496
4991116A797B62   GLEN          SUNADA                      CO     39038151607
4991183335B395   TROY          NEWMAN                      OR     44521768333
4991189168B16B   SALINA        HUNSAKER-LENZ               UT     31003008916
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4991218852B27B   ASHA          SCOTT                       DC     90015181885
4991278A471947   MARTHA        RODRIGUEZ                   CO     90011377804
49913812197B62   JENNIE        MEDALENO                    CO     90009488121
49915358A72B62   ANAIS         SALCIDO                     CO     90009583580
4991537515B395   HEATH         FULLER                      OR     44538683751
49915888172B4B   ASUSENA       CASTORENA                   CO     90007488881
4991592A62B27B   KERI          JACKSON                     DC     90010319206
4991639A35597B   FILADELFO     VASQUEZ                     CA     49052113903
4991688115B174   ESTRADA       JEFFREY                     AR     23033728811
49916A97A5B53B   ALYSSA        DEHERRERA                   NM     35073060970
499176A7171947   BOBBIE        SCHULLER                    CO     32051366071
49917956A72B36   PATRICIA      CASTILLO                    CO     90010779560
4991848439373B   CARMEN        SAUNDERS                    OH     90008894843
4991852418B16B   RIMA          GUSTAFSON                   UT     31033945241
4991857734B271   JOSEPH        HUG                         NE     27016725773
49919137572B43   TERRA         HASEMAN                     CO     33044371375
49919412372B54   ARACELY       VALDEZ                      CO     33091854123
4991946595597B   SOUTSADA      PHENGDY                     CA     49093014659
4991B456A61963   SANTOS        AGUILAR                     CA     90014504560
4991B748172B98   EZEQUIEL      CRUZ                        CO     90015097481
4991B98A391959   TRISHEENA     LILES                       NC     17002879803
49921A83271999   JON           MARKERT                     CO     90000690832
49922A6A497B62   MARISOL       PUENTES                     CO     90003070604
49923558872B4B   JOSE          GUTIERREZ                   CO     33013625588
49923627A61963   MARCO         MARTINEZ                    CA     90013826270
49923862A71946   JAMES         JASON                       CO     90011838620
4992594295B55B   FRANCISCA     FILETO                      NM     35035349429
49925A3A25B58B   NOE           DOMINGUEZ                   NM     90013320302
49926735972B43   SHEIKHNOOR    ADAN                        CO     90002947359
4992679A95597B   ARTURO        MONTEJANO                   CA     90013027909
4992721195B55B   GLORIA        ALARCON                     NM     35016152119
4992748184B271   JILLIAN       BENNEDICT                   IA     90003574818
49927A58991527   MARTHA        RODRIGUEZ                   TX     90008230589
4992818275B174   CZENTHIA      GRANT                       AR     90008411827
4992837315B53B   JOSHUA        GREENE                      NM     90014053731
4992851A43143B   SHARON        LEWIS                       MO     90012325104
49929715824B42   PEBBLES       MATTHEWS                    DC     90011517158
4992B156491394   NANCY         GATEWOOD                    KS     29057451564
499328A1191583   FREDDY        DIAZ                        TX     75027478011
4993516772B27B   HABTE         OKBAMICHAEL                 DC     90014481677
4993556755B395   YADIRA        PACHECO                     OR     90012495675
499355AAA72B68   RUTH          TRUJILLO                    CO     90010685000
49936247372B4B   GUSTAVO       HERNANDEZ                   CO     33052572473
4993663748B885   AUSTIN        DELOS SANTOS                HI     90015226374
4993673665B53B   ANTHONY       TIJERINA                    NM     90014927366
4993748439373B   CARMEN        SAUNDERS                    OH     90008894843
49937534772B36   ANTONIO       PANTOJA-CONTRERAS           CO     90003115347
4993764565B395   DANA          DELANO                      OR     90008676456
49937655572B43   VINCE         DIANNI                      CO     90011816555
4993825AA5B388   ANGELA        ZUNIGA                      OR     90013982500
4993844932B27B   WILLIAM       BROWN                       DC     90015034493
4993B31325B52B   JORGE         LEMUS MORATAYA              NM     36004923132
499411AA771947   JOEY          MILLER                      CO     90015121007
49941A24871999   STEPHANIE     GONZALEZ                    CO     90012350248
49942197A72B36   ALFREDO       PEREZ                       CO     90013941970
4994348A891394   CHRISTOPHER   RAISBECK                    KS     90005324808
49944525A5B395   BRIAN         PLATT                       OR     44593985250
49944A16651321   GARY          MILLER                      OH     90014790166
49945236597B62   JOSE          HERNANDEZ                   CO     90014242365
4994584A75B58B   JESUS         VEGA                        NM     90014338407
49946195A72B54   BELEN         MANRIQUEZ                   CO     33096841950
4994659435B395   GAY-LYN       GAYNER                      OR     90007815943
49946A18891889   MARYELDA      RIVERA                      OK     21007200188
49947114172B43   DONNA         BLACK                       CO     33010641141
4994722385B395   JARED         LEAS                        OR     90013402238
499475A757B421   LOUKIA        MOOTSEWS                    NC     90012075075
499476A1572B36   JOSE          ROCHA                       CO     90013346015
49948152497B62   SHARIANN      BENNET                      CO     90011011524
499481A8472B54   RENE          SPENCER                     CO     90003211084
4994911A471947   MARITZA       VALDEZ                      CO     90012211104
49949255272B4B   MARIA         TREJO                       CO     90010702552
4994B528191873   CURTIS        DIGGS                       OK     21057425281
4995137815597B   GYPSY         HALL                        CA     90014813781
49951517872B54   ELIZABETH     PADILLA                     CO     33001895178
49951AA815B53B   DANIEL        NAZZARETT                   NM     90006920081
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499526A5771946   LUKE          JUVERA                      CO     90014846057
49953874A97B62   JUAN          SENA                        CO     90013208740
4995493AA71999   JUSTIN        ESPINOZA                    CO     38028099300
49954A2915B523   MARI          CRUZ SANDOVAL               NM     90009460291
499561A1591873   CHIKENO       CONCHITIAS                  OK     90013171015
49956271697B62   FRANCISCA     MONTANTES                   CO     39013942716
49956659972B43   FRANK         ALVAREZ                     CO     90011816599
4995679147B276   OCTAVOUS      LITTLEJOHN                  NV     90012857914
49956A1A171946   THOMAS        WARREN                      CO     90004500101
4995713613B145   SHANNON       HOLDER                      DC     90009531361
4995723835B174   DEMARCO       LIGGINS                     AR     23069482383
4995857A15B52B   ELIZABETH     ARAGON                      NM     36042655701
4995913148B16B   AMBER         ORULLIAN                    UT     90011951314
4995938644B271   AMANDA        PAREE                       NE     27017743864
499598A225B58B   TABITHA       SANCHEZ                     NM     90014438022
49959976572B54   RICHARD       HERNANDEZ                   CO     33015549765
4995B57A672B54   CESAR         ERNADANDEZ                  CO     90000975706
4995B991372B4B   ALMA          LOPEZ                       CO     33044329913
499611A7A76B55   EVANA         ESTALA                      CA     90014191070
4996178698B16B   LANDON        MILLS                       UT     90010417869
4996228A872B54   TEAIRA        SMITH                       CO     33094232808
49962653172B43   ASSEFA        HIFERAW                     CO     33074236531
4996274158B169   TREVOR        LLOYD                       UT     90014347415
49962787897B62   DAVID         BOLIS                       CO     39095387878
4996371842B966   MARIA         ROMERO                      CA     90013397184
49963A7385597B   JESUS         SANTIAGO-MONTERO            CA     49097870738
49965A89161967   DAMEON        DUNNING                     CA     90013580891
49965A9585597B   NEYDA         RAMIREZ                     CA     90015300958
49966348972B4B   SANDRA        KALB                        CO     90001503489
499663A2897B62   JUAN          CARMONA                     CO     90013823028
49966A24872B36   ANGELICA      GONZALEZ                    CO     33026460248
49966A71191873   CHRISTENE     WALDON                      OK     90012560711
4996774575B395   BECKY         AITKEN                      OR     90008027457
4996791354B271   JESUS         VILLAGOMEZ                  NE     27034279135
499681A915B58B   PAUL          SANTILLANES                 NM     90007541091
4996976A65B174   FRANKIE       FIDLER                      AR     90014277606
49969873A61963   JUDITH        MORA                        CA     90012128730
49969A93772B4B   CHERISH       PAINTER                     CO     90005140937
4996B24615B58B   STEVE         WENZE                       NM     35007462461
4996B779571947   GAVEN         CADE                        CO     90014197795
4996B92A427B45   TERRI         HOWARD                      KY     90013999204
4997196265B53B   GLADIS        GRANADOS                    NM     90013909626
4997346294B271   JEREMY        BERRY                       NE     90011664629
4997349613368B   ILKA          COVINGTON                   NC     90006504961
49973621872B38   LUIS          PEREZ                       CO     90001526218
49973745972B43   TYLER         DANIELS                     CO     33026437459
4997377432B27B   CHARLENE      PERSON                      DC     81018177743
499741A1171999   CLARENCE      HUFFSTETLER III             CO     90014601011
49974511A91583   PRISCILLA     VILLALOBOS                  TX     90014605110
49975541397B62   TARYN         DAVIS                       CO     90008195413
49975A38861967   MIKHAIL       VRUGGINK                    CA     90012930388
49975A77191583   JESUS         NERVA                       TX     90014590771
49976327472B54   ROSARIO       RODRIGUEZ                   CO     33014413274
4997653475B58B   MARISELA      MUNOZ                       NM     90005315347
49976835197B62   MARGARITA     DIOSADO                     CO     90007908351
49976A16271999   DESIREE       RAMIREZ                     CO     90013000162
49976A18171999   JUSTIN        SALAZAR                     CO     90008480181
4997913A691959   JESUS         GUEL                        NC     90014751306
49979171A71946   DAMON         BRIMER                      CO     90011841710
4997B412391959   CHRISTAPHER   METIVER                     NC     90011394123
4997B4A5791583   LETTY         GARCIA                      TX     90011134057
4997B53892B27B   VENUS         PINNER                      NC     90014815389
4997B627891873   DUSTIN        DUNAWAY                     OK     90009286278
4998146595B58B   MONICA        GONZALES                    NM     90003814659
49982125497B62   ALEJANDRO     MANZO                       CO     90015081254
49982799172B36   LELAND        MORRIS                      CO     90001337991
4998287A971999   KEVIN         WALTER                      CO     90014168709
49982A68461967   NICANDRO      CARMONA                     CA     90008540684
49983A98197B62   ANASTASIA     BUSYGINA                    CO     90013130981
4998452A891873   MONTOYA       HUNTZINGER                  OK     90014775208
4998561435B58B   RAFAEL        ENRIQUEZ                    NM     35066946143
4998655659152B   ALEJANDRA     MONREAL                     TX     90011855565
49986874A97B62   JUAN          SENA                        CO     90013208740
49986A78691583   LORENA        MUNOZ                       TX     90014590786
49988436172B54   TRACY         SYMONS                      CO     33000264361
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4998925342B27B   ANTONIO         WYNN                      DC     90009002534
49989499272B4B   ALYSHA          MARTINEZ                  CO     33056664992
4998B189371947   THAMARA         CASTANEDA                 CO     90014481893
4998B69415B523   GUILLENTEJ      JININA                    NM     35070926941
4998B741471999   JOSH            DEHERRERA                 CO     38047097414
4998BA3525B58B   ORLANDO         GOZALEZ                   NM     90012130352
4999113862B27B   PHILLISTIA      CARPENTER                 DC     90011501386
49991269872B43   CLIFTON         WIDENER                   CO     90006712698
4999174385B395   EBONY           NARVAEZ                   OR     90009637438
499917A725B58B   CHRISTOPHER     LUJAN                     NM     90011017072
499917AA827B45   ERIN            BROCE                     KY     90014637008
4999186885B53B   GERMAN          RUELAS-CABRAL             NM     90006118688
4999187A971999   KEVIN           WALTER                    CO     90014168709
49991A84391583   FRANCINE        MORRISON                  TX     90014590843
4999257532B87B   CAMARON         WALCOTT                   ID     41069445753
49992798972B4B   CHARLES         KILGORE                   CO     90013377989
4999326295597B   JOSE            RAMIREZ                   CA     90011782629
4999385488B16B   TRAVIS          MAY                       UT     31091868548
49993934797B62   MICHAEL         ROGERS                    CO     39082739347
49994451A61967   LUCERO          PEREZ                     CA     90014904510
49994783A5B395   KEVIN           ROBERSON                  OR     44509387830
4999482925B55B   THOMAS          BENSON                    NM     35074018292
49994A11471999   DARLENE         TRUJILLO                  CO     90013090114
499951A6472B4B   JAMIE           VALENCIA                  CO     90012241064
4999552394B271   KEVIN           BROWN                     NE     27018005239
49995555A72B54   OTONIEL         ROMERO-ALARCON            CO     33083455550
49995955997B62   CHARLES         DAVIS                     CO     90010169559
499959A7271999   ROCIO           MERAZ                     CO     90014169072
4999753115B53B   CAROL           CARBAJAL                  NM     35076855311
49997A71661967   CHARLES         CONYERS                   CA     90012780716
49998889A8B16B   AMBER           GOETZ                     UT     31002428890
4999893655B523   ROMAN           ALVARADO                  NM     90014339365
49998A7265B555   MARSHA          GARDEA                    NM     90010920726
49999A18761967   JOHN            CAPERS                    CA     46077870187
4999B448791959   PORSHA          LENNON                    NC     90014374487
4999B928572B54   STELLA L        FLOREZ                    CO     33041249285
4999B94755B395   ARELI           ABREU                     OR     90015019475
499B1257272B36   JULIE           NKOKA                     CO     33048192572
499B168475B58B   MARIBEL         MEZA                      NM     90006426847
499B16A4261967   SEBERA TERESA   GUZMAN ALONSO             CA     90012966042
499B17A1A86478   JCQELINE        WOODS                     SC     90011547010
499B1A74A72B54   RAAD AWAD AL    KHAFAJI                   CO     90009410740
499B2152871999   DANIELLE        ROYBAL                    CO     90014161528
499B246969373B   JAYMEE          BALL                      OH     90010644696
499B255615B174   LATASHA         HILL                      AR     90014565561
499B2936172B4B   JAMES           WALTER SIMPSON            CO     90012259361
499B327A35B53B   KRISTINA        ACOSTA                    NM     90009032703
499B3394871947   CHRISTINA       MCCONNELL                 CO     32032963948
499B3779891959   DELMI           HERNANDEZ                 NC     17089297798
499B3A7545B249   LUTHER          BROWN                     KY     90005060754
499B454785B55B   LEAH            GARCIA                    NM     35006415478
499B4947271946   JOSEPH          RASEY                     CO     90006929472
499B5322261963   REED            MARIO                     CA     46063443222
499B6898161967   BOBBY           SATTERWHITE               CA     90012888981
499B699815B53B   MARIO           FIERRO                    NM     35033099981
499B699A271946   JULIE           TRENTTEEGARDIN            CO     90014839902
499B6A52657127   JOSE            ROMERO                    VA     90000600526
499B6A65471999   MARK            GARCIA                    CO     90001260654
499B7323591583   AUDIE           MARTIN                    TX     90001373235
499B745A891873   TAMATHA         WILKERSON                 OK     90005624508
499B759485597B   STEVEN          DELEON                    CA     90005255948
499B763225B53B   JANET           PRIETO                    NM     90002106322
499B7678472B36   MAURICIO        DIAZ JAUREGUI             CO     90014366784
499B7795297B62   ERIC            FLORES                    CO     39068737952
499B7A84A61963   RAQUEL          SILVA                     CA     90012310840
499B816695B395   JORGE           SANCHEZ                   OR     90014861669
499B845A891873   TAMATHA         WILKERSON                 OK     90005624508
499B875248B165   CONNIE          CONNIE                    UT     90004077524
499B8A3595B58B   BERTHA          MONTEZ-CHAVEZ             NM     35003130359
499B8A35A3B359   THERESA         ROGERS                    CO     90001660350
499B9467171947   THOMS           DOWNING                   CO     90011194671
499B9531271933   SYLVESTER       DAZZIO                    CO     90006195312
499B9563961963   PAUL            NICKERSON                 CA     90012665639
499B989518B165   SUSAN           DEHERRERA                 UT     31068408951
499BB122671946   CHRISTY         PRICE                     CO     90011001226
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499BB245891569   VICTOR       HERRERA                      TX     90013042458
499BB28548B16B   JAMES        BEAUCHAINE                   UT     31005852854
499BB391571947   SETH         SEUTH                        CO     90011233915
499BB81695B395   COURTNEY     PETERSEN                     OR     90000468169
499BBA94171999   ROBERT       TAFOYA                       CO     38050590941
49B11158697957   JULIE        GONZALES                     TX     90013601586
49B1129445597B   AGAPE        CORPORATION                  CA     49040322944
49B113A6A63652   KRISTOPHER   KELLEY                       MO     90001883060
49B1173695B174   SHEILA       CROSS                        AR     90014697369
49B1211A472B23   MELANIE      RENEE LIMKE                  CO     33085401104
49B12211671947   DESIRE       SPLITTER                     CO     90011142116
49B12387561963   EMMETT       ALLEN                        CA     46036013875
49B12887572B4B   JERRY        RAMSEY JR                    CO     90010318875
49B12931386478   KATRINA      CRAWFORD                     SC     90013339313
49B1328715B53B   DOMINICA     HERRING                      NM     90013672871
49B13567971947   YESICA       PRIETO                       CO     90013785679
49B1391525B174   DANYA        UTLEY                        AR     90009359152
49B13945A61967   ASHLEY       HABET                        CA     90005279450
49B14A78172B54   SILVIA       GARCIA                       CO     33039570781
49B15219472B54   SHAWN        GNAGY                        CO     90001422194
49B15637671999   ANTONIO      TREADWAY                     CO     90010396376
49B156A9836189   CAROL        SALAZAR                      TX     73594786098
49B1653A591569   CLAUDIA      BOCANEGRA                    TX     75094405305
49B16789A72B36   CHELESTE     DIXSON                       CO     33086937890
49B1715485B58B   RUTH         MEDINA                       NM     90011011548
49B17252171947   SHERRI       ARAGON                       CO     90004752521
49B17789172B54   RICARDO      BRITO                        CO     33023787891
49B1813137B463   LAURA        RODRIGUEZ                    NC     90009011313
49B18428191959   MIGUEL       GONZALEZ                     NC     17057334281
49B1844715B222   MELISSA      DAVIS                        KY     68045854471
49B18958391873   BARBARA      TORRES                       OK     90014719583
49B18962891583   ADAN         MONTANEZ                     TX     90014409628
49B19377A57135   FRANCES      HOYT                         VA     90013573770
49B1B64845B58B   OCTAVIO      ZAZUETA                      NM     90013306484
49B1BA93191873   PAM          SHAFFER                      OK     90010510931
49B21177872B36   MARC         SANCHEZ                      CO     90015081778
49B21814351334   JOHN         GALLARDO                     OH     66004398143
49B21943991873   JEFFREY      FITZGERALD                   OK     90007059439
49B21A4795597B   ADRIAN       SELLARS                      CA     90014360479
49B22314361963   FERNANDO     RODRIGUEZ                    CA     46029683143
49B2242455B523   FIERRO       MARCELLA                     NM     90003404245
49B231AA391583   PATRICIA     MONTELONGO                   NM     75006681003
49B23469272B4B   SHAUN        WHITE                        CO     90005174692
49B23487A71999   MARRY        MEDINA                       CO     90013944870
49B23974A61953   JEFF C       WEIGHTMAN                    CA     90000489740
49B24262991583   MARIBEL      URDAIBAY                     NM     75018772629
49B242A1351334   ELIZABETH    TANKS                        OH     66014662013
49B24637671999   ANTONIO      TREADWAY                     CO     90010396376
49B25766191523   ROBERTO      MARTINEZ                     TX     75010917661
49B25891861967   CHRIS        WOODS                        CA     90013198918
49B26637971999   JAYME        ESQUIBEL                     CO     90009286379
49B2666395B55B   MACIAS       MANUEL                       NM     35031806639
49B2761A191583   ANGEICA      CHAVEZ                       TX     75053716101
49B27732671946   RAFAEL       RIVERA                       CO     90014747326
49B27752561967   JULIA        MARTINEZ                     CA     90000367525
49B283A7272B43   SPURGEON     ANE                          CO     90000333072
49B29147197B62   CHRISTINE    GARCIA                       CO     39087301471
49B29732671946   RAFAEL       RIVERA                       CO     90014747326
49B2B623A2B87B   SHAWNNA      EVERSOLE                     ID     90011776230
49B31384391583   MAYRA        NUNEZ                        TX     90013123843
49B3145A691569   GRACIELA     RAMIREZ                      TX     75036114506
49B3175765B58B   LUZ          PEREZ-GUTIERREZ              NM     35005017576
49B31978391873   LARRY        LOGAN                        OK     90014719783
49B32295971947   RAUL         CAMPOS                       CO     90012742959
49B32348891394   LORRE        CARR                         KS     90004053488
49B3253615597B   PATRICIA     GAMEZ                        CA     90011405361
49B3269412B29B   SHAVONDA     THOMAS                       DC     90012576941
49B3274615B53B   THOMAS       PEREZ                        NM     90010737461
49B3275A171946   TIFFANY      BLACK                        CO     90014747501
49B32796655928   ROSANNA      MARTINEZ                     CA     90000127966
49B3453414B271   SUSAN        BRENNAN                      IA     27016545341
49B3485775B58B   SHLEEN       LUNA                         NM     90014138577
49B34949197B62   RANDALL      KECHTER                      CO     90014909491
49B34992991569   RACHEL       GONZALEZ                     TX     90005029929
49B34A7352B27B   CHARLES      BROWN                        DC     90011120735
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49B35AA5971947   BRAD         WINCH                        CO     32012910059
49B362A415B395   BERTHA       RINCON                       OR     44546772041
49B36365161967   DEREK        NORWOOD                      CA     46047363651
49B36416272B38   ROYBAL       LOURIE                       CO     33082204162
49B36599A91889   KYLE         RUSSELL                      OK     90012325990
49B365A1A2B27B   CARA         CALLAHAN                     DC     90012865010
49B36884971946   MATTHEW      NIMKE                        CO     90011768849
49B3815765B395   DARBZ        STEWART                      OR     90014861576
49B38772871946   GABBY        GONZALES                     CO     90014747728
49B38A9374B271   SYMIDAHL     JONES                        NE     90004570937
49B39118958528   SAMUEL       BRAVO                        NY     90015271189
49B39119193751   TODD         HIGHLEY                      OH     90001271191
49B3921178B16B   SUSAN        GARDNER                      UT     90004912117
49B39267591873   BRENDA       WHEELER                      OK     90014392675
49B39458171947   SHANNON      GONZALES                     CO     32059454581
49B3983745B53B   JUDAS        GAGA                         NM     35085888374
49B3B228972B43   ANAPATRICI   CONTRERAS                    CO     33023932289
49B3B459291959   BRUCE        DRAKE                        NC     90009514592
49B3B773A72B4B   ROSLYN       LUCERO                       CO     33064257730
49B3B912171999   EDDIE        HUTCHCRAFT                   CO     38018799121
49B3B943A2B27B   WARREN       JOHNSON                      DC     90014799430
49B41639371947   EDUARDO      DE LEON CASTRO               CO     90015416393
49B417A1191959   DIEGO        TRAVIS                       NC     90015497011
49B41981891873   RAUL         ZEPEDA                       OK     90007059818
49B41988861967   DANIEL       PHANORD                      CA     90011519888
49B42158372B4B   JENNIFER     PETRI                        CO     90012041583
49B42212A5B58B   ARELY        JIMENEZ                      NM     90011922120
49B42459591569   PATRICIA     DELA CRUZ                    TX     75037264595
49B42467772B54   ALONZO       ALCON                        CO     90010004677
49B4353A491583   LUIS         PARGAS                       TX     90012855304
49B4365A891959   ANNA         KRAUSE                       NC     90013496508
49B4381185B174   CARLA        DANNIER                      AR     90014448118
49B43986791873   ASHLEY       MITCHELL                     OK     90014719867
49B43A56472B43   JASON        MARTINEZ                     CO     90011810564
49B4415296412B   KYLIE        HODGE                        IA     90014651529
49B44775A71946   AMBER        ELIZONDO                     CO     90014747750
49B457A615B53B   DANIELLE     TRUJILLO                     NM     90010377061
49B4596435B523   CORRINE      MAES                         NM     35032999643
49B465A8972B36   DIANA        RAMIREZ-CERVANTES            CO     90011075089
49B46616891873   KENDALL      BONNER                       OK     21081826168
49B46775A71946   AMBER        ELIZONDO                     CO     90014747750
49B46962891583   ADAN         MONTANEZ                     TX     90014409628
49B4721544B566   JOSHUA       MARTIN                       OK     90011252154
49B47295172B36   ELIZABETH    MOY                          CO     90013742951
49B482A9397B62   JESUS        FELIPE GOMEZ                 CO     90014472093
49B48529691873   ANTONIO      SMITH                        OK     90010105296
49B4895A757127   MUNA         YOUSUF ADEM                  VA     81070749507
49B49151361967   SONIA        TORRES                       CA     90001131513
49B49462A91569   MANNY        RIVERA                       TX     90011984620
49B49633391583   ABRAHAM      SANDOVAL                     TX     90005036333
49B5144365B395   GINGER       DAVIS                        OR     44589004436
49B519A235B58B   JAIME        DELGADO                      NM     90010229023
49B52A48691583   NICK         COSSIO                       TX     90014570486
49B5334155B174   IVAN         MARTINEZ                     AR     23049613415
49B5352A75597B   HOUA         YANG                         CA     49060585207
49B53984141222   NICHOLAS     SALMEN                       PA     90006859841
49B54517391959   MICHELLE     SCOTT                        NC     90014305173
49B54524A72B36   WILBER       MEJIA                        CO     90009165240
49B553A9771999   SAMANTHA     GOODRICH                     CO     90013033097
49B55615976B88   ASUNCION     HERNANDEZ                    CA     90001126159
49B55841471946   KIMBERLY     CONNOLLY                     CO     90008858414
49B5619A371946   SYLVIA       SMITH                        CO     32023741903
49B56531891583   ANA          FIERRO                       TX     90000915318
49B5716875B58B   MARY         BARGAS                       NM     35081921687
49B5755195597B   BERTHA       RUVIRA                       CA     90012935519
49B57841471946   KIMBERLY     CONNOLLY                     CO     90008858414
49B5811315597B   MARY         BIANCHI                      CA     90007781131
49B5814A491834   CHRIS        RITTER                       OK     90001581404
49B58188691222   JOHN         MAYER                        GA     90013491886
49B5864455B53B   RUBEN        ESCOBEDO                     NM     35090586445
49B58715161967   ABELINO      VELAZQUEZ                    CA     90009377151
49B58785771946   CARLOS       ESPINOZA                     CO     90012317857
49B58839A41222   CAROL        KONESKY                      PA     51040268390
49B5898A891523   DINA         DURAN                        TX     90013509808
49B5945415B53B   SUSAN        GALLEGOS                     NM     35051654541
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49B59511572B4B   MANUEL           CASILLAS - CERVANTES     CO     33013485115
49B5989AA97B62   MARIA            CHAVEZ                   CO     39027108900
49B59A39591873   JEANNET          PARRA                    OK     90014720395
49B5B113591569   CARLOS           GALLEGOS                 TX     90013761135
49B5B11665B58B   ISRAEL           ESCOBEDO--DELRIO         NM     35018381166
49B5B125161963   TAMMY            DOYLE                    CA     46076281251
49B5B171691583   BERTHA           LEGARDA                  TX     75070381716
49B5B228151334   SALLY            MCCORMICK                OH     66061172281
49B5B229572B36   THADDEUS JAMES   VAIL                     CO     90014642295
49B5B942291569   EDGARDO          MENDOZA                  TX     90011009422
49B5B944672B54   DUANE            DAVID CASTANEDA          CO     33010599446
49B5BA2655B222   TRACY            MCCRANEY                 KY     68056200265
49B61142991569   BRENDA           ESPARZA                  TX     90009421429
49B6137925B395   ADAM             CHARTRAND                OR     90002383792
49B61542551361   MARCO            BEAMON                   OH     66007935425
49B617A6972B36   ROSA             FLORES-HARO              CO     90013227069
49B61914591583   VALERIE          LOPEZ                    TX     90014579145
49B61A59772B43   JOHN             DOE                      CO     90011810597
49B62129172B4B   JONATHAN         GARCIA                   CO     90010471291
49B62336597B62   PAYGO            IVR ACTIVATION           CO     90013893365
49B62777A91583   MARIA            GALLEGOS                 TX     90002957770
49B6363245B395   BRIANNA          TAYLOR                   OR     90013576324
49B6383285597B   LADDA            LO                       CA     90011978328
49B63839571947   GRETA            BRUAN                    CO     90009918395
49B63A44991873   AMBER            SHERRELL                 OK     90014720449
49B64799786436   CARRIE           BURNSIDE                 SC     90014577997
49B65174491583   JOSEPH           SOUTHERN                 TX     75078151744
49B65822A93741   MARY             RAMM                     OH     90004128220
49B658A7971946   JUSTICE          GARNIER                  CO     90014748079
49B66269871947   BERNARD          JOHNSON                  CO     90010312698
49B6672A191959   PRISCILLA        SANCHEZ                  NC     90008497201
49B66998861963   JORGE            NAJERA                   CA     90011099988
49B66A36391523   PAULA            MENDOZA                  TX     90013510363
49B67148691959   ENRIQUE          RIVAS                    NC     17066791486
49B67387571947   VANESSA          GONZALEZ                 CO     90014823875
49B674AAA91583   GABY             PONCE                    TX     90007054000
49B6762295B53B   GEORGINA         LLAMAS                   NM     90006816229
49B6835115B526   CAROLYN          GORDON                   NM     35084143511
49B68393591569   ARTURO           BERMUDEZ                 TX     90014993935
49B68469161963   MEDINA           JENESIS                  CA     90006084691
49B6892215B523   ROBERT           MALDONADO                NM     90006029221
49B69317261963   YUVONNE          WILSON                   CA     90008543172
49B693A735B943   RONALD           VERHAAG                  ID     90006433073
49B69549772B54   JOSH             THOMPSON                 CO     90000545497
49B698A652B87B   CASSANDRA        RICHARDS                 ID     41072518065
49B6B198958528   JANARIAN         MOORE                    NY     90015391989
49B6B362871947   JOHN             CREMEANS                 CO     32037193628
49B6B514A91873   OSCAR            OSVALDO                  OK     90009505140
49B6B532391959   JOSE             SALMERON                 NC     90015185323
49B6B97165B395   AUNDREA          SPIRES                   OR     90013629716
49B7154655B388   YOLBA            VAZQUEZ                  OR     90012775465
49B71559971999   DYLAN            FROST                    CO     90014005599
49B71793A72B54   KATHRYN          SCHREINER                CO     90011227930
49B71852A5B53B   ROBERT           PEREA JR                 NM     35068368520
49B71975391394   SUSAN            EICKHOFF                 KS     29061259753
49B7214385B53B   MELODY           CARPENTER                NM     90011531438
49B72311972B36   RYAN             CALABRESE                CO     90013463119
49B7243789155B   MNUELA           GARCIA                   TX     75037344378
49B72488671999   RUBEN            PEREZ                    CO     90008794886
49B72654872B54   DEBRA            TAYLOR                   CO     90010146548
49B728A8161963   VINCE            CONTRERAS                CA     90010018081
49B72A55491873   DARREN           WALLACE                  OK     90014720554
49B73449371946   BRUCE & CILA     MONSON                   CO     90014754493
49B74449171946   PATRICK          SMITH                    CO     90014264491
49B74848397B62   LORI             SEABOLT                  CO     90012868483
49B7579835B55B   SHARLENE         GARCIA                   NM     35013117983
49B7649927B467   JOSE             GONZALEZ                 NC     90001934992
49B7665315598B   RAMIRO           FLORES                   CA     90004436531
49B76A27151334   NICOLE           THOMSSON                 OH     90010970271
49B77999197B62   MISTY            LABARBERA                CO     90007959991
49B78117291523   TOM              NICHOLLS                 TX     90013511172
49B7831313B33B   DAVID            GALLEGOS                 CO     90013293131
49B78525671947   BAM              KUNWAR                   CO     32086415256
49B78888891527   JESSICA          GARCIA                   TX     75033008888
49B78916391583   GERARDO          MEDINA                   TX     90014579163
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49B79218857148   ROSA              RIVERA                  VA     90000462188
49B79611397B62   BRANDON           BARFOOT                 CO     90011316113
49B79813991583   GLORIA            CHAVARRIA               TX     90012598139
49B79A63191873   MORANDA           GARRETT                 OK     90014720631
49B7B136571947   BRIAN             MAY                     CO     90014451365
49B7B59215B395   RACHEAL           MALLORY                 OR     90010245921
49B7B634A5B53B   ROBIN             LUJAN                   NM     35025426340
49B7B63638B16B   MICHAEL           GREENE                  UT     90009746363
49B7B669A91959   BIDALINA SANTOS   MARICHE                 NC     90010306690
49B81168571999   MARIO             FLORES                  CO     38095111685
49B81484291241   STANLEY           WILLIAMS                GA     90012524842
49B8153998B546   BRADFORD          PRIEST                  CA     90014515399
49B81586A72B4B   ALANIS            ORTIZ                   CO     90011015860
49B8194855B523   PEARL             GONZALES                NM     90005599485
49B81A85A6198B   MIKE              MARTONE                 CA     90013920850
49B82A68A91873   PATTI             BROWN                   OK     90014720680
49B8327A22B27B   ISAC              HERNANDEZ               DC     90011062702
49B83473A61967   LERONARD          RAVEN                   CA     90014184730
49B83A6655B52B   ANA               URIAS HOLGUIN           NM     36014330665
49B84142491523   MARIA             ZENEA                   TX     90013511424
49B8439695597B   RODGER            BARBOUR                 CA     90013923969
49B8459A972B54   JOSEPH            SOLANO                  CO     33084945909
49B84622171999   CHAELYNN          HERRERA                 CO     38015856221
49B8471238B59B   JENNIFER          RUST                    CA     90014567123
49B84776A5B52B   ELIO GALAV        EVA CAMPOS              NM     36096087760
49B85396372B4B   EVELYNE           FRAIRE                  CO     90012743963
49B86138291583   CRUZ              SALAZAR                 TX     90013381382
49B8651869155B   MARIA             MONTERO                 TX     75009435186
49B86954272B36   JOSE              GONZALEZ                CO     33004979542
49B86A6935B55B   ANA               LUJAN                   NM     35045610693
49B89565972B54   GUADALUPE         LOPEZ                   CO     90010925659
49B8957155B395   ANTHONY           SIAS                    OR     90012495715
49B89654671946   ANGEL             GARCIA                  CO     90012896546
49B89766171999   JACK              AGUILAR                 CO     90010397661
49B8976A22B27B   BERNITA           PAIGE                   DC     81088837602
49B8B916791583   MARITZA           CANGAS                  TX     90014579167
49B91199791959   BLANCA            GUTIERRES               NC     90010281997
49B9132A191959   BOBBY             SANDERS                 NC     90015543201
49B9144728B16B   KATI              JENSEN                  UT     90009534472
49B9223845B58B   HOPE              GARCIA                  NM     90011012384
49B924A335B174   BONNIE            ALLEN                   AR     23062054033
49B92775361967   MARY              CUELLAR-HARTMAN         CA     46036597753
49B92A84532586   CHRIS             GONZALES                TX     90015450845
49B9318A45B395   CHRISTINE         JOSEPH                  OR     90005911804
49B93917361963   ROBERTO           BARBOSA                 CA     90010139173
49B93A67136189   FRANK             FRANKLIN                TX     90005960671
49B94271A61963   RAYMUNDO          LOPEZ                   CA     90014702710
49B942A365B58B   MARIO             HERNANDEZ               NM     90010252036
49B9446525597B   GUSTAVO           FIGUEROA                CA     90006054652
49B94886571999   CHASSIDEE         WILSON                  CO     90011588865
49B9494675597B   GUSTAVO           FIGUEROA                CA     90014659467
49B9516A161967   HUMBERTO          OLMOS                   CA     46075621601
49B955AA13B351   REBECCA           HERNON                  CO     33003475001
49B95688591583   RAFAEL            MARQUEZ                 TX     75094336885
49B9572285B222   YVETTE            PICKETT                 KY     68025707228
49B9623A997B62   ROBBERT           FISCHER                 CO     90014972309
49B96434271946   TIA               LEVY                    CO     90011264342
49B9698495597B   JOSEPH            VILLICANO               CA     90014699849
49B97189384321   LAKELDRA          ELMORE                  SC     90008781893
49B97812A71947   TIMOTHY           LUCAS                   CO     90002098120
49B97861A63654   ERIC              CARLSTROM               MO     90011108610
49B97A92791583   ARON              REYES                   TX     90013120927
49B9951952B27B   ROBERTA           HAWKINS                 DC     90011075195
49B9974315B58B   JOHN              LOLLIS                  NM     35086677431
49B99849291873   FELIPE            SANCHEZ                 OK     21033538492
49B9B115A5133B   ROSEMARY          BROWN                   OH     90009771150
49B9B989491569   KAREN             ARREOLA                 NM     75066619894
49BB117274B271   MIKE              BREWER                  NE     27079231727
49BB1538272B38   DOUGLAS           LESLIE                  CO     33040775382
49BB1713A5B58B   BRADEN            GAULT                   NM     90014747130
49BB273695B174   SHEILA            CROSS                   AR     90014697369
49BB2A24297B62   BEATRIZ           VENTURA                 CO     39040360242
49BB2A57791873   MISTY             ALEXANDR                OK     90009590577
49BB326725B55B   DIANA             MAZE                    NM     90013802672
49BB3637671999   ANTONIO           TREADWAY                CO     90010396376
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49BB393A12B27B   CHADWICK       BERNARD                    DC     90013709301
49BB3A4815B174   SANTERO        THOMAS                     AR     23011380481
49BB42A2672B36   ERICK          HENDERSON                  CO     33049792026
49BB466725B58B   DELPHINA       NANNEY                     NM     35091686672
49BB5233A5B174   NIKE           HUDSON                     AR     90001322330
49BB5295572499   DANIEL         SOBER                      PA     90006142955
49BB52A3191394   OLIVIA         ORTIZ                      KS     29004042031
49BB598A561945   EDGAR          MOLINA                     CA     90014429805
49BB59A7391569   MANUEL         OBREGON                    TX     90010439073
49BB623712B87B   REBECCA        PROCHASKA                  ID     41087022371
49BB6813691569   MARIBEL        DELGADO                    NM     90011698136
49BB6943291873   MARCELINO      GARCIA                     OK     90014719432
49BB715959376B   THOMAS         TIMBERLAKE                 OH     90005061595
49BB7346971947   STEPHANIE      DAVIS                      CO     90014813469
49BB7478A5B174   ERIKA          SEWARD                     AR     23002514780
49BB7868691583   ELDA           RIVERA                     TX     90010328686
49BB8688477348   APRIL          RANDOLPH                   IL     90006126884
49BB8897191873   ALEJANDRO      MORENO                     OK     90007058971
49BB9186386478   NAKETA         SMITH                      SC     90013201863
49BB97A865B395   JOSE           GOMEZ CRUZ                 OR     44584277086
49BBB2A9485841   JOHN           WILLIAMS                   CA     90005932094
49BBB59455B395   JUSTIN         RYAN                       OR     90001125945
49BBB844A72B38   YOLANDA        HERNANDEZ                  CO     33022708440
4B11132A471999   JUSTINE        BRIDEAU                    CO     38054893204
4B11147785B223   WILLIAM        HORSLEY                    KY     68043234778
4B11161475B395   MATTHEW        HARVEY                     OR     90010726147
4B11169597B694   DANA           JENKINS                    GA     90000616959
4B112271761967   MARIO          SEGURA                     CA     46008792717
4B11237A161968   ROSA           GUILLEN                    CA     46092413701
4B112538991988   MAKO           FULLA                      NC     90015105389
4B112A43A5597B   REGAN          GUZMAN                     CA     49072920430
4B113358A47954   NICK           HANTHORN                   AR     90011143580
4B113393486545   KATIE          PREVO                      TN     90013353934
4B11353675597B   JOAN           CAUDILLO                   CA     49088785367
4B1135A478B165   FREDDY         GARZON                     UT     31061045047
4B113722872B43   ASHLEE         ABOTT                      CO     90015157228
4B113769761968   ANAHI          GARCIA                     CA     90013387697
4B1139AA684368   JAMES          FRITZ                      SC     14574179006
4B114134A5597B   MARILYN        ROOT                       CA     49079751340
4B11436415B271   JOHN           WALLACE                    KY     90013633641
4B114417651383   LUIS ALBERTO   CALIX                      OH     90013124176
4B114425791988   LATASHA        CATES                      NC     90014474257
4B11452478B355   LINDA          WHITE                      SC     11028835247
4B11467593B491   PAYOR          KYMARA                     PA     90006796759
4B115913672B36   CECILIA        HERNANDEZ                  CO     33045569136
4B115A65761967   JOHNNIE        PHELPS                     CA     90002990657
4B11685515B53B   SEAN           GIRON                      NM     90014178551
4B116982A71999   RON            MINER                      CO     38030289820
4B116A63391351   BRENDA         ZAVALA                     KS     90015130633
4B11711A65B396   TOM            BRADLEY                    OR     90003481106
4B11739A93168B   MINDY          HERNANDEZ                  KS     90009493909
4B117491871946   JAMES          PECK                       CO     90002404918
4B117A95591394   NICHOLE        BROOKS                     KS     90010870955
4B11817AA91351   KAREN          YISSEL                     KS     90012601700
4B118513147954   AMBER          BRANDSON                   AR     90012985131
4B119239847954   ALMEN          CHINGLONG                  AR     90013472398
4B1194A615597B   LUCERITO       SANCHEZ MORENO             CA     49005024061
4B119666791569   JOSEFINA       ZEPEDA                     TX     90012326667
4B119683A61963   ALMA           HERNANDEZ                  CA     90011886830
4B119696871946   ASIA           GOSS                       CO     32088616968
4B119911155939   JAMES          FRANTZ                     CA     90013969111
4B119A1138B165   KIRK           REYNOLDS                   UT     90014370113
4B11B31A591988   MAJORIE        SPEED                      NC     90002653105
4B12139845B523   SANSOM         TONY                       NM     35080733984
4B12147A95B395   MAGDALENA      SILVA ZACARIAS             OR     90005784709
4B121781461968   GABRIELA       RAMIRO                     CA     90008267814
4B121A71191873   GLENDA         ANDERSON                   OK     21005830711
4B122146421669   ALFONSO        HERNANDEZ                  OH     90014061464
4B122579961968   LUIS           GOMEZ                      CA     46077945799
4B1225A4291988   JAMES          GORDON                     NC     90014175042
4B12292A291527   GRACIELA       DURON                      TX     75092769202
4B12338A95B52B   KATHRYN        TAYLOR                     NM     90011383809
4B123593361975   LAURA          RINCON                     CA     90011695933
4B1235AA551334   NICOLE         SPAULDING                  OH     90005775005
4B123889791351   GUSTAVO        ALONZO                     KS     90013918897
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4B1242A4691351   FERNANDO      VAZQUEZ                     KS     90002882046
4B12455253B491   KAITEL        SCOTT                       PA     90013455525
4B124741A71999   JAMES         WHEELOCK                    CO     90002027410
4B124898738521   CRYSTLE       RASMUSEN                    UT     90003108987
4B124974693794   DEBRA         SCHALK                      OH     90005529746
4B12498575B53B   THERESE       GARCIA                      NM     90013469857
4B125121693794   TYLER         SCHMIDT                     OH     66009531216
4B12553238B165   DAVID         ERB                         UT     90014485323
4B1256A835B395   SHANNON       ODOMS                       OR     90008346083
4B125A65A47954   JOSHUA T      EVERETT                     AR     90011010650
4B12629123B491   RODNOEA       LONG                        PA     90014512912
4B12649763168B   GARRET        LEE                         KS     90015414976
4B126713991351   GARY          BANAKA                      KS     29024767139
4B12693915B174   RAYMOND       THOMPSON                    AR     90011179391
4B12724A95B271   TIFFANY       NALL                        KY     90008042409
4B12881615B222   TAJIA         KELLER                      KY     90004128161
4B128A65A47954   JOSHUA T      EVERETT                     AR     90011010650
4B129643257126   VICTOR        LEZAMA                      VA     81046496432
4B129855561968   MICHELE       HAGUE                       CA     90006558555
4B12996524B271   CATHY         WOERTH                      NE     27021679652
4B12B127641258   CHRISTOPHER   WHITTINGTON                 PA     90009981276
4B12B42115B524   REDUCINDA     AVILA                       NM     90004754211
4B12B43815B271   KAYLA         GUEST                       KY     90012054381
4B12B597447954   PATRICIA      HERNANDEZ                   AR     90015215974
4B12B925891569   YAHIR         DAVILA                      TX     90013969258
4B12BA9225B52B   BILLIEJEAN    TRUJILLO                    NM     90014870922
4B13128A651382   RASHEH        TILLEM                      OH     90008682806
4B1312A663168B   GENE          BORDERS                     KS     22012942066
4B13182A891394   JAMES         MCKENZIE                    MO     90002938208
4B131979461967   JORGE         CORIA                       CA     46028399794
4B131A28761963   CLAUDIA       ASTUDILLA                   CA     90006690287
4B132343551382   JAMIE         LANGFORD                    OH     90002413435
4B132378361967   ALANNAH       DE BARRA                    CA     46089183783
4B13254425B52B   NOHEMI        QUINTANA                    NM     36058465442
4B13276163168B   MARASOL       MEDIANA                     KS     90002737616
4B13282248B165   JACK          VAUGHT                      UT     90001288224
4B132947471999   DANNY         SALAZAR                     CO     90011729474
4B13319949372B   MICHELLE      WESTFALL                    OH     90013611994
4B133384861967   RAMON         CABAL                       CA     46019603848
4B133616591394   JOSE          ZAMORA                      KS     90002056165
4B133843491569   DONNA         DALY                        TX     90012888434
4B133876991873   PATRICIA      BELLO                       OK     90011848769
4B13398255B271   COURTNEY      LUCKETT                     KY     90010659825
4B133A4575B222   TREMAINE      SHEPARD1736 PAYTON          KY     90003360457
4B13416584B551   CHRISTOPHE    PLATT                       OK     90001681658
4B13462A75B271   SHANTIKA      MUDD                        KY     90008186207
4B134694A51382   MARK          THOMAS                      OH     90014656940
4B13473835B174   HILORY        SMITH                       AR     90014877383
4B13484A45B523   JIMMY         MORRISON                    NM     35035198404
4B13487188B185   CARLOS        CEPEDA                      UT     31042978718
4B134AA788B185   CARLOS        ZEPEDA                      UT     90013920078
4B135563647954   NATHANIEL     MCCOY                       MO     27558845636
4B135643484368   MIGUEL        CERON                       SC     90012956434
4B135685972B36   SELENA        ROSE                        CO     33074016859
4B135723751334   LAURA         SMITH                       OH     90013757237
4B13573965597B   SONJA         HENDRIX                     CA     90006447396
4B13574358B355   ROSALINE      MITCHELL                    SC     90010257435
4B135977A5B357   FELIPE        JIMENEZ                     OR     90007179770
4B13648345B271   SHANNON       SISK                        KY     68019194834
4B13671A65B357   DELIA         MANDUJANO                   OR     44522317106
4B136A39972B36   KELVIN        ROGER                       CO     90010990399
4B137629A71999   NATHAN        BOYLE                       CO     38047006290
4B13765225B53B   MELLISA       AKIN                        NM     90003046522
4B137818155939   ALEJANDRO     BARBOSA                     CA     49069248181
4B137A54491351   CARLA         CARDONA                     KS     90006640544
4B13815888B355   MARQUIS       HILL                        SC     11084281588
4B138216491873   MARISA        WATSON                      OK     90014002164
4B1385A984237B   KASEY         WILSON                      GA     90006675098
4B138A99A51383   DARRELL       FORBIS                      OH     90011580990
4B13916885B58B   MARISELA      LEYVA                       NM     35052491688
4B139534291569   MARIBAL       RUBIO                       TX     75058755342
4B13976868B187   CARRIE        HAMMOND                     UT     31071097686
4B13989947B694   GABE          WINKLES                     GA     90010618994
4B139915951383   STEPHANIE     BUTLER                      OH     90014789159
4B139984A93794   ZACK          SMITH                       OH     90013129840
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4B13B13AA47954   JOHNNY       GRUNDY                       AR     90005911300
4B13B31A95B223   DOUG         CRASE                        KY     90010963109
4B13B37745B242   LORILEE      GEORGE                       KY     90009783774
4B13B473584368   ARMANDO      CANDELERO                    SC     14516054735
4B13B47A681667   SHERRY       LOVE                         MO     90008284706
4B13B547872B43   ELVIRA       RIVERA                       CO     33079125478
4B141627551334   ARTURO       RIVERA VAZQUEZ               OH     90013806275
4B1417A9771999   KENNETH J    RIEF                         CO     90003457097
4B141939131481   PHILLIP      JOHNSON                      MO     90002349391
4B141A38A91394   MARGUERITE   CALVERT                      KS     29053770380
4B142235791394   NORMA        MARTINEZ                     KS     90005032357
4B142915951383   STEPHANIE    BUTLER                       OH     90014789159
4B1429A1524B7B   CLEMENT      GOMEZ                        VA     81081859015
4B142A4892B87B   GINA         ASHBY                        ID     90008970489
4B142A96172B4B   PEGGY        ANN NOFFSINGER               CO     90002210961
4B143298891351   PATRICE      LAWSON                       KS     90013922988
4B143642772B36   RANDY        PEREZ                        CO     90001046427
4B14378925B271   EBONY        WILLIAMS                     KY     90003267892
4B14392AA51383   HEATHER      MCPHERSON                    OH     90014789200
4B14467833168B   KAZIA        DEAN                         KS     22003806783
4B144862284368   MONICA       PATRICIO                     SC     90008298622
4B14518483B491   CHAD         NUTTER                       PA     90013001848
4B14534A172B43   KATHERINE    CARRILLO                     CO     90001523401
4B14536585B271   MICHELLE     ANDERSON                     KY     90014213658
4B145461493794   MARGARET     ROSS                         OH     66018224614
4B145792671999   ROBERT       MARTINEZ                     CO     90013357926
4B145855771934   DAVID        MANJIVAR                     CO     32078758557
4B145965391873   MICHELLE     ROBEY                        OK     21033819653
4B146378872B43   WANDA        GILLESPIE                    CO     33099393788
4B146444291864   PORTIA       JONES                        OK     90008484442
4B146682744335   WHITENY      MILLER                       MD     90015536827
4B146A43491988   TIAUNA       TAYLOR                       NC     90012130434
4B147515961986   MARGARITA    ORTIZ                        CA     90005395159
4B14758A384368   LILY MAE     SINGLETON                    SC     90007905803
4B1475A3651383   ARIEL        FURR                         OH     90003025036
4B147643261965   YESENIA      GONZALEZ                     CA     90011676432
4B148174793794   MARK         BRASHEARS                    OH     90014931747
4B1486AA651382   KANDY        KELLY                        OH     66016626006
4B14917435B223   RONNIE       CRABB                        KY     90005691743
4B14B36188B165   WYNTRESS     ELLIS                        UT     90010223618
4B14B614991351   MARK         EDIGER                       KS     90009976149
4B14B66892B87B   BRITTANY     GRIFFIN                      ID     90014866689
4B151292671946   ROBERT       DUPIGNAC                     CO     32054812926
4B151396672B43   JANELLE      GARCIA                       CO     90013273966
4B15288572B87B   ROBIN        HUFFMAN                      ID     41013838857
4B15378338B355   LIDERMAN     MAHECHA                      SC     90012377833
4B153857591988   ALIK         BELK                         NC     90002738575
4B15454885B223   DOUBLE       REDDEN                       KY     68076745488
4B154834651383   JESSE        ELLISON                      OH     66015438346
4B155918863673   LAURA        FOSTER                       MO     90000999188
4B156211161963   ROSA         HERNDEZ                      CA     90007182111
4B156728251382   DESHAWN      HASSAN                       OH     90014657282
4B156738757124   EDWIN        MARTINEZ                     VA     90009517387
4B156A99884368   KEVIN        JENNINGS                     SC     90012830998
4B157188661963   NYEKUICH     BOTH                         CA     90014881886
4B157392A91351   TIFFANY      ODON                         KS     90011123920
4B15743855B53B   JORGE        PORTILLO                     NM     35055364385
4B157529A55939   ROOSEVELT    LEWIS                        CA     90014825290
4B157545A5B271   DOMINIC      SCHEMBARI                    KY     90013835450
4B15778275B58B   FLOR         RUBIO RASCON                 NM     90014817827
4B15897542B87B   MELISSA      BINGHAM                      ID     41030369754
4B158A3355B52B   FERNANDO     ATHIE                        NM     36071900335
4B15912A42B27B   RENE         VARGUS SALMERON              DC     81095441204
4B15964935B223   PAULA        MARTIN                       KY     68056226493
4B159944272B4B   MARIA        VILLARREAL                   CO     33089919442
4B15998125B271   BRAD         LUCAS                        KY     90010449812
4B15B419855939   JUAN         AVALOS                       CA     90013184198
4B15B91512B879   TRINITY      BUCK HULL                    ID     42006269151
4B15B935493794   KELLI        YOUNKER                      OH     90012819354
4B1611A575B52B   JOSHUA       ORTIZ                        NM     90012411057
4B161254A71934   MELISSA      GHEITH                       CO     90009832540
4B1614A815B58B   LM           INSIGNIA                     NM     90009914081
4B16173553B491   RONALD       CROUSE                       PA     90012447355
4B161968171999   MONICA       HAZELTON                     CO     90009199681
4B16198125B223   LAURA        ROBINSON                     KY     68072239812
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4B162123151334   KEVIN        SCHMIDT                      OH     66098361231
4B162376555939   LORENZO      GATICA                       CA     90012613765
4B162562A72B36   GLORIA       MELENDEZ                     CO     90013435620
4B162664661965   KARLA        GARCIA DE ALBA               CA     90010766646
4B16344A15B58B   LEONOR       GONZALES                     NM     35096564401
4B16367295B53B   CECILIA      MENDOZA                      NM     90000166729
4B163784755939   ARTURO       FRAUSTO                      CA     90003057847
4B163897891873   DESIREE      WRIGHT-DAVIS                 OK     21092378978
4B164674561963   DENISE       SANTANA                      CA     46031586745
4B164A82193794   LYNN         SWEARINGEN                   OH     66071950821
4B165749325164   WILTON       TERRY                        AL     90014837493
4B165753691351   MARCIA       BURNS                        KS     90003927536
4B165A43261963   GREGORIO     CARRETO                      CA     46052940432
4B165A6824B271   AARON        YECK                         NE     90014600682
4B16676414B271   CHERI        MCGHEE                       NE     27031377641
4B16694913168B   DAVID        ORSAK                        KS     90014749491
4B16718754B523   ELLISON      EVANS                        OK     90005941875
4B16742752B27B   JAMAR        CARPENTER                    DC     90012984275
4B1678A6471999   R EBECCA     SWIFT                        CO     90011388064
4B167A3135B223   HOMER        STAMPER                      KY     90003700313
4B16821423168B   ANDREW       WATTMAN                      KS     90015342142
4B168246672B36   STEFANIE     NOWAK                        CO     33071002466
4B16826995B58B   STEVE        PINTOR                       NM     90004412699
4B16839A147954   MYOSHA       MOORE                        AR     90011203901
4B168554951334   LORETTA      COST                         OH     66062095549
4B169219A4B271   SERGIO       HUMBERTO                     NE     90015202190
4B169263371946   JENN         SPIELMAN                     CO     90003502633
4B169589A47954   DEANGELO     SANDERS                      AR     90015055890
4B169665251383   KRYSTALL     FLORY                        OH     90000556652
4B16B469361968   WILL         STODDARD                     CA     90015144693
4B16BA7885597B   LEAH         GROSS                        CA     90001960788
4B171247A72B43   JAIME        HESTER                       CO     90005072470
4B17147578B355   CAPRIVA      BRANDON                      NC     90010794757
4B171536761967   CINDY        MARTINEZ                     CA     90011515367
4B17169575597B   GERARDO      GARCIA                       CA     49077666957
4B17173718B187   EMMA         MONTOYA                      UT     31017427371
4B171A79374B24   KAYELYNN     EDLER                        OH     90014650793
4B172214591351   ANA          RODRIGUEZ                    KS     90012442145
4B172937955939   CLAUDIA      LOPEZ                        CA     90013939379
4B17349425597B   ROSEANNA     MONTOYA                      CA     90012314942
4B173654991873   JERRY        ELLIS                        OK     21069046549
4B17423AA91569   REBBECA      PADILLA                      TX     90010952300
4B1748A915B53B   GERALDINE    RIVAS                        NM     35005218091
4B17534635B223   GINGER       REYES                        KY     68076073463
4B17535335B222   VIVIAN       MS                           KY     68010413533
4B1757A5291873   KENYADA      CALDWELL                     OK     90011147052
4B175A1145B395   KATHERINE    SCHMIDT                      OR     90007630114
4B175A6555B53B   ADRIANNA     BERNAL                       NM     90009120655
4B17653A171999   JOHNNY       AGUIRRE                      CO     38086605301
4B176568951359   WESLEY       PEYTON                       OH     90012435689
4B17682764B271   CEPHAS       CATRAYE                      NE     90011948276
4B177172947954   MARIA        GARCIA                       AR     90003231729
4B17738175B52B   JEROME       RIVERA                       NM     90013563817
4B17768A34B271   CHRISTINA    PORTILLO                     NE     90008986803
4B177755857569   ALEJANDRO    VILLANUEVA                   NM     90010667558
4B17792275B174   LACHISA      MALONE                       AR     23039019227
4B178242A91394   ANABEL       RAMOS HERNANDEZ              KS     29026362420
4B178419771999   NICOLE       GALLEGOS                     CO     90005514197
4B178731A91873   SKYE         BARNETT                      OK     90015617310
4B17877325B174   GARRY        CALDWELL                     AR     23091927732
4B178843472B36   JOSEPH       CUELLAR                      CO     90012998434
4B178887272B36   BLANCA       RODRIGUEZ                    CO     33046908872
4B17911AA91988   PATRICIA     GILLIAM                      NC     17086911100
4B17913585B395   OLIVIA       TRUMP HOLMES                 OR     90005601358
4B17962194B271   RUTH         WELLS                        NE     90003086219
4B17968A972B36   FEDERICO     VALERIO                      CO     90013006809
4B17985832B27B   NICOLAS      CRUZ                         DC     81015208583
4B179937772B23   SERGIO       LOPEZ                        CO     90008169377
4B179A2415B174   JASON        WITT                         AR     90014320241
4B17B169271999   LAURA        HUSKIN                       CO     90015491692
4B17B39615B271   SHAWNTA      RUSHIN                       KY     90014343961
4B17B712684368   VARISTO      HERNANDEZ                    SC     90014987126
4B181966191394   SOLEDAD      MARRUFO                      KS     29068739661
4B181A5374B271   PATRICIA     FALBO                        NM     27078150537
4B182257251382   AMBER        WHITE                        OH     90011462572
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4B1825A6A5B555   MONICA        SEDILLO                     NM     90011665060
4B182644855939   ADELA         FREGOSE                     CA     90001346448
4B18272278B16B   JOSE          SANCHEZ                     UT     90014147227
4B182777951334   JESSICA       HOWE                        OH     90013687779
4B18289A591873   DALE          BREWER                      OK     90015128905
4B1828A2A3168B   CANDICE       EGIZI                       KS     22069928020
4B182964891394   GABRIELA      GUARNEROS                   KS     90010149648
4B183248655939   MARIA         ARREOLA                     CA     90010862486
4B183718891351   DAVID         KYM                         MO     90010437188
4B18374953B491   SARAH         MAZE                        PA     51077837495
4B18375455B58B   JERRY         TAFOYA                      NM     90012947545
4B183A48372B4B   JEAN          IFULU-BOIMBO                CO     90000910483
4B184824851382   VALENTIN      MENDOZA                     OH     90014658248
4B1852A6A71934   JOHN          DAVID WILSON                CO     32068352060
4B185314851383   DAMICA        KIMYA                       KY     90014813148
4B185382251382   RUDOLPH       PEREZ                       OH     90011423822
4B18553875B52B   JESUS         ARDON                       NM     90014715387
4B185579A3B33B   TORREY        HILL                        CO     90004105790
4B18592328B165   MARGARET      ENGLISH                     UT     31070479232
4B186AA434B271   DORA          ERAZO                       NE     90012360043
4B187258591873   CLINT         ELAM                        OK     21064642585
4B18727A993794   SHANE         YOUNGER                     OH     90015122709
4B18772475B52B   CARLOS        COY                         NM     90012627247
4B18776595B58B   LEONEL        TASKER                      NM     90014577659
4B18795855B357   VALERIA       RODRIGUEZ                   OR     90007279585
4B18841297122B   WOLDAY        BERHANE                     IA     90015364129
4B18857332B87B   JUSTIN        BRADY                       ID     90009165733
4B188589955951   MOISES        GONZALEZ                    CA     49088365899
4B188711471999   JOHN          BUSTAMANTE                  CO     90006587114
4B18891598B169   BIRCH         MIKE                        UT     90009679159
4B188A9477122B   TONY          BALLARD                     IA     90014230947
4B189281571934   CORDY         DURAN                       CO     90011502815
4B18949225B58B   MELISSA       CARRILLO                    NM     90006614922
4B189545151334   SASHA         WATKINS                     OH     90011085451
4B189731161968   MARIA         ESPARZA                     CA     90011287311
4B18B35275B58B   MICHAEL       HAUPT                       NM     90004493527
4B19127A88B16B   JACK          TIMMONS                     UT     90014032708
4B19196A151383   RACHEL        DICKEN                      OH     90014789601
4B192459861968   NANCY         HOYT                        CA     90002344598
4B19268A82B87B   GARY          SHAW                        ID     90014696808
4B19277612628B   CHRISTOPHER   VOGT                        WI     90008197761
4B192931371999   KIMBERLY      JOHNSTON DALE               CO     90005789313
4B19316A73B491   ANDREW        JETER                       OH     90012791607
4B193664655939   JOHN          GALVAN                      CA     49043376646
4B194182551383   VICTOR        MERCHANT                    OH     90009161825
4B19431225B395   DENNIS        GAUSE                       OR     44533293122
4B19515835757B   CRYSTAL       CAPPS                       NM     90013101583
4B195196261963   ISMAEL        MEZA                        CA     90014881962
4B195289147954   ROBERTO       GARCIA                      AR     25089182891
4B195961855939   SANTELLANA    GUADALUPE                   CA     90013939618
4B19672A261963   BESSIE        WOODWARD                    CA     90001427202
4B19678787122B   NICKOLAS      FOWLER                      IA     90015617878
4B196814451382   ANGEL         NICHOLAS                    OH     90010578144
4B196953A5B52B   NICOLE        MCKNIGHT                    NM     90015119530
4B196AA9291394   RUTH          CANAS                       KS     90014120092
4B197161151382   TERRY         GRAY                        OH     66018031611
4B197231871999   ANNA          CRUZ                        CO     90007972318
4B197269831588   PHYLLIS       EDWARDS                     NY     53051402698
4B197393A5B523   CRISTINA      LEGARRETA                   NM     90012733930
4B19752783168B   SHERRY        THOMSON                     KS     90015545278
4B197A6825B395   YESENIA       RUIZ                        OR     90008230682
4B198199A91988   ERIC          ELLIOT                      NC     90014701990
4B19862552B87B   ROBERT        CLOUTIER                    ID     90013936255
4B198856584368   LAUREN        CECILE                      SC     90014548565
4B1993A7191988   DONNA         BIGBY                       NC     17004873071
4B199567A85841   BRETT         STEWART                     CA     46031005670
4B199936393794   MICHELLE      TAYLOR                      OH     66087069363
4B19B1A3272B4B   JENNIFER      LANSVILLE                   CO     90010091032
4B19B26275B52B   SILVIA        BOJORQUEZ ESTRADA           NM     36069992627
4B19B34535B223   DEBBIE        BRYANT                      KY     68062963453
4B19B398361963   RALPH         ANDERSON                    CA     46001543983
4B19B66A32B87B   REBECCA       MALONE                      ID     90012716603
4B19B92A871946   TAMARA        PEAT                        CO     32008789208
4B19B959691988   GERALD        SMITH                       NC     90010219596
4B19B9AA471999   JEFFREY       CROMEENS                    CO     90014969004
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4B1B1327155939   ARMANDO      GUEVARRA                     CA     90012483271
4B1B2451791569   ELIZABETH    PALACIOS                     TX     90011174517
4B1B265855B261   BEN          GARCIA                       KY     90012976585
4B1B2949991351   SENIA        CERVANTEZ                    KS     90001419499
4B1B31AA141233   DONNA        CROSBY                       PA     51038271001
4B1B3543591988   CAROL        JONES                        NC     90009735435
4B1B3621693794   OLGA         ANDREYCHIKOVA                OH     90010166216
4B1B388595B52B   JAIME        ANTILLON                     NM     36072278859
4B1B4217672B43   LINDSEY      NIXON                        CO     90012882176
4B1B424498B187   HEATHER      CRAIG                        UT     31093402449
4B1B451A161968   JORGE        VAZQUEZ                      CA     90015125101
4B1B4829392825   ROGER        BEGAY                        AZ     90015598293
4B1B489995597B   RODOLFO      ENCISO-DE LOS SANTOS         CA     49002968999
4B1B556A27B457   JON          TORRES                       NC     90009745602
4B1B5925572B43   GUSTAVO      SANCHEZ                      CO     33041569255
4B1B6524451383   KEITH        MONTGOMERY                   OH     90014785244
4B1B7369A8B355   BARBARA      SPRINGLE                     SC     11032933690
4B1B741235B58B   MAGALYS      CRUSELLAS HERNANDEZ          NM     35050254123
4B1B7A43891351   OSCAR        MARTENZ                      KS     90012480438
4B1B7A88991873   JAMIE        KIMBREL                      OK     90013240889
4B1B8442284368   DIEGO        TORRES                       SC     14500314422
4B1B84A248B16B   JUSTIN       MCOMIE                       UT     90013054024
4B1B89A8855939   CHARLA       SMITH                        CA     90013939088
4B1B8A88A71934   ANGELA       EGGENBERGER                  CO     90005490880
4B1BB25A25B53B   BLANCA       FEHR                         NM     90011372502
4B1BB267841258   NANCY        JACKSON                      PA     51083682678
4B1BB276455951   FRANCISCO    FERREL                       CA     49070982764
4B1BB336661968   MARCO        GAYARDO                      CA     90013033366
4B1BB588891872   FERNANDO     PRIMERA                      OK     21079335888
4B2111A6397B48   ARTHUR       MARVIN                       CO     90005861063
4B21133982B259   DONNIE       PUGH                         DC     90011713398
4B21165145597B   JENNA        VANG                         CA     90000396514
4B211849576B75   THOMAS       SLIPPER                      CA     90011768495
4B21197474B271   JAYNE        ESTELL                       NE     27025259747
4B212369191569   VANESSA      NAVARRETE                    TX     90012373691
4B212472993765   HEATHER      GOLTZENE                     OH     64518044729
4B21285A92B87B   ALICE        ANDERSON                     ID     90012998509
4B213238672B36   ALEJANDRA    RIVERA                       CO     90013672386
4B213588991351   MANUEL       TORRES                       KS     90012305889
4B213661472B4B   THOMAS       INMAN                        CO     33019696614
4B2137A8A51334   NICOLA       SENIOR                       OH     90005887080
4B213918A5B222   DEASIA       LIPSEY                       KY     68055469180
4B213924984368   GEMIMA       HERNANDEZ                    SC     90011279249
4B214177284368   ARTHUR       JOHNSON                      SC     90014821772
4B214469493755   SEAN         WELSH                        OH     64584614694
4B2147A4891988   KEEMI        SALAAM                       NC     90014387048
4B21481255B223   STEVE        TERRELL                      KY     90011998125
4B214972251336   ANGELA       CHATMAN                      OH     90008879722
4B21567A67B457   DLIALA       MOORE                        NC     90010656706
4B215816855939   ARTHUR       ALVAREZ                      CA     90011378168
4B21588654B271   RAMON        ALEJO                        NE     90009278865
4B215A9215B223   BRANDON      WHITTEN                      KY     90011830921
4B21677752B87B   ZACHARY      ROBERTS                      ID     90006647775
4B21731152B87B   MIKE         NORTON                       ID     41045023115
4B217319924B7B   JOHN         MOMNTS                       MD     90015513199
4B21759825B53B   ANTHONY      DUNCAN                       NM     90014815982
4B217877693755   AMBER        CHAPEL                       OH     90003598776
4B217A2A65B58B   RAY          CHAVEZ                       NM     35021840206
4B217A83793794   LORA         WIEDENHEFT                   OH     66006710837
4B217A8488B355   TRINITY      CLAY                         SC     90014460848
4B218A9215B223   BRANDON      WHITTEN                      KY     90011830921
4B21929933147B   YOLANDA      BUCHANAN                     MO     90015002993
4B21942615B52B   TRAVIS       BAILEY                       NM     90014934261
4B219699A57159   MARIA        EGUIGURE                     VA     90003276990
4B2197A3384368   ANA          ZACARIAS                     SC     90013217033
4B219A5832B27B   JACQUELINE   JONES                        DC     81015220583
4B219A88561967   STORMY       STEELE                       CA     90007100885
4B21B2A8161968   ANASTASIA    CARRASCO                     CA     90009322081
4B21B494A71934   LIZBETH      ORTEGA                       CO     32010814940
4B21B591456356   BRIAN        KAMM                         IA     90014175914
4B21B6A3272B43   NICOLAS      HENANDEZ                     CO     90012996032
4B21B962355939   OSCAR        GARCIA                       CA     90013939623
4B21BA6544B271   LYLE         WORKMAN                      NE     27065860654
4B21BA9A384368   JULIO        GARZA                        SC     90009980903
4B221416591351   VERONICA     ALEJANDRE                    KS     90015374165
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4B221554172B36   SASNTOS       MENDIVIL-TREJO              CO     33009105541
4B221678A72B4B   MARTA P.      NUNO LOPEZ                  CO     90011136780
4B221A49361963   JOSE          GRACIA                      CA     90010700493
4B22225895B223   STEVYEAUANA   SLEETS                      KY     90007992589
4B222263584342   ANGIE         SCHARETT                    SC     90014752635
4B222349861968   CHARLES       NEELAND                     CA     90014443498
4B22262458B185   MIGUEL        ZUNIGA                      UT     90003356245
4B22267A65B223   STEVYEAUANA   SLEETS                      KY     90012476706
4B2238A7972B43   ARMANDO       GUERRERRO                   CO     90012638079
4B224133A2B27B   MIGUEL        LOPEZ                       MD     90015401330
4B224218191394   MARIA         ORTIZ                       KS     90001022181
4B224844971999   LASHAWN       JOHNSON                     CO     38032968449
4B225449391569   DAVID         CHAVEZ                      TX     90012874493
4B225454161968   TOMAS         MORALES                     CA     46079644541
4B22547215B395   S             AVERY                       OR     44541244721
4B225841772B43   LEONARDO      LOYA                        CO     33052018417
4B225A5435B174   DAMARCUS      THROWER                     AR     90009400543
4B226215A61963   JESSICA       QUINTANA                    CA     90014882150
4B22633637B694   LAURA         GROOVER                     GA     90001553363
4B22653778B355   DEVON         FALY                        SC     90008755377
4B226628772B43   ANTHONY       RODRIGUEZ                   CO     90010766287
4B2269A9584336   THOMAS        COVELL                      SC     90011879095
4B227717672B36   REOLA         KINDELL                     CO     33012987176
4B22823325B357   CODY          KOEHN                       OR     90007332332
4B228571972B43   ERIKA         RODARTE                     CO     33008035719
4B22916358B355   KATIE         WILKINS                     SC     90013541635
4B22938374237B   BRONIESHA     SIMS                        TN     90015563837
4B229954684368   ANKANETTE     MERVIN                      SC     90013779546
4B22999325B271   TYLESHIA      BELL                        KY     90015119932
4B22B978A61999   WILLIAM       JONES                       CA     90004579780
4B23128A37B694   TAMMY         KING                        GA     90001602803
4B231961A71946   AMANDA        PEPPITO                     CO     90002609610
4B232211551383   AMANDA        ASHER                       OH     90014802115
4B232636A91569   KARINA        MARTINEZ                    TX     90015176360
4B232A6945B174   KENNETH       HENSON                      AR     90010660694
4B2333A915B58B   ROBERTO       MEJIA                       NM     35025553091
4B233523791351   SALLY         COKER                       KS     90014725237
4B23368848B14B   LADAWNA       DAVIS                       UT     90001206884
4B23374285B52B   MONICA        WILSON                      NM     90014707428
4B2337AA361968   DINO          TANNER                      CA     90014957003
4B233985272B4B   MELISSA       COVARRUBIAS                 CO     33079489852
4B234656651382   RACHELE       WHITE                       OH     90002896566
4B23499A391873   THERESSA      SMITH-RELF                  OK     90007349903
4B234A5A971999   WILLIAM       CANO                        CO     90013350509
4B235467A51382   JULIE         ROBINETTE                   OH     90007784670
4B236244972B36   JOSEPH        GARCIA                      CO     33026982449
4B23627272B27B   SEBAE         JOHNSON                     DC     90014432727
4B2367A9A51383   CHRISTINA     CRAWFORD                    OH     66006107090
4B236A25471946   SANDIA        CHAVEZ                      CO     90004920254
4B236A65351334   CYNTHIA       FORD                        OH     66008320653
4B237173571999   VACK          FERGUSON                    CO     38037941735
4B237225761963   SHERILL       BUENA                       CA     90014882257
4B237374691569   KARLA         GARDEA                      TX     90007173746
4B237571191873   SCHUYLER      ROBINSON                    OK     90004975711
4B2377A3255939   SALVADOR      RAMIREZ                     CA     49063957032
4B23952695B53B   JEFFREY       DEKAY                       NM     90014825269
4B239A52A72B47   AGNALDO       PEREIRA                     CO     90012970520
4B23B23917B694   RACHAEL       EVANS                       GA     90015312391
4B23B478672B36   ANGELA        DIGESUALDO                  CO     90003484786
4B241126555939   TALINA        COTA                        CA     90009351265
4B24121418B185   RUBEN         CANCHOLA                    UT     31035372141
4B2421A1393782   ANTHONY       ROEBUCK                     OH     90013341013
4B242255153966   RIANNA        BERRY                       OK     90013452551
4B24248865B52B   TERENT        CULVER                      NM     36002104886
4B24254795B271   CANDICE       FIRES                       KY     90002785479
4B242646761968   CHEYENNE      SLOAN                       CA     90012876467
4B242726261986   JESUS         VELASCO                     CA     90011617262
4B242893247954   MELISSA G     LINDSY                      AR     90014158932
4B2429A228B16B   CARLOS        VALDEZ                      UT     90015259022
4B242A75172B45   DIANA         MENDOZA                     CO     90011720751
4B242A93172B36   VIVIANA       GALAVIZ                     CO     90010740931
4B243712361963   ANTONIO       FRANCO                      CA     46037367123
4B244526155939   SYNTHIA       LOPEZ                       CA     49092455261
4B244828751382   RUFF          GLENN                       OH     66004808287
4B244918971999   JOE           DIODSIO                     CO     90007409189
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4B245277551334   RANDY        EKER                         OH     66034252775
4B245462A55982   JOSE         HERNANDEZ                    CA     90002554620
4B24556118B16B   MARK         MARROQUIN                    UT     90014705611
4B2456A5661963   GERALD       SYKES                        CA     46058976056
4B24665932B87B   KIMI         SCHOENBERG- KNUDSEN          ID     90005986593
4B246883A72B4B   ROSA         ORITZ                        CO     90010128830
4B246987884368   LETICIA      CABALLERO                    SC     14536069878
4B2474A894B943   SHANYA       ACLESE                       TX     90012914089
4B247712361963   ANTONIO      FRANCO                       CA     46037367123
4B247797671999   GERRI        CASAS                        CO     90009277976
4B248986891569   ANAHI        AGUILAR                      TX     90014429868
4B249966751382   ANTHONY      FEARS                        OH     90007259667
4B24B21125B555   MONIQUE      TRUJILLO                     NM     35082462112
4B24B239571946   LORENA       LUNA                         CO     32086042395
4B24B324872B4B   DONOVAN      GONZALES                     CO     90010483248
4B24B49AA2B956   MARIA        GARCIA                       CA     90004004900
4B24B5A5872B43   LEE ANN      MORNING                      CO     33033085058
4B24B73535B52B   KRISTA       MARTINEZ                     NM     90011897353
4B24B943447954   LINDA        POE                          AR     90003479434
4B24BA68991569   LIZ          RODRIGUEZ                    TX     75031630689
4B24BA98791988   KATHERINE    CARTER                       NC     90012120987
4B251672941241   STEPHANIE    KERN                         PA     90000106729
4B252117551337   JOHN         HALSEY                       OH     90011031175
4B252276651334   VICTORIA     WILLIS                       OH     90011782766
4B252566A4B271   ERIC         CLARK                        NE     90014465660
4B252A88991873   JAMIE        KIMBREL                      OK     90013240889
4B25328882B29B   KYLE         HUDSON                       DC     90013022888
4B253384751334   PORTIA       WOODWARD                     OH     90013553847
4B25366175B222   LINDSEY      STROOP                       KY     90010456617
4B253853271999   AIOTEST1     DONOTTOUCH                   CO     90015128532
4B253882671934   JUANA        VASQUEZ                      CO     90003668826
4B254288393794   CHRISTIAN    GRUNDY                       OH     90015122883
4B25434785597B   LIA HOUA     VANG                         CA     49094453478
4B2545A4361968   GILBERT      LOVATO                       CA     90013575043
4B254613491394   JORGE        RAMIREZ                      KS     90012426134
4B25464545B223   LATIYA       KING                         KY     90008726454
4B254869551334   SARAH        PROFFITT                     OH     90010998695
4B255144171934   VICTOR       SALOMON                      CO     32026431441
4B255157A55939   SILVIA       LOPEZ                        CA     90015211570
4B255777172449   MICHAEL      NEWTON                       PA     90009567771
4B255785A8B355   CHARLES      GRIFFIN                      SC     90014007850
4B256538651383   KATHY        JOHNSON                      OH     90014835386
4B25663285B58B   STEPHANIE    DERN                         NM     35027696328
4B25799432B87B   JESSE        JACKSON                      ID     90008559943
4B2579A5A47954   PATRICIA     POLLARD                      AR     90014569050
4B258232986545   CHERMANE     FOFTER                       TN     90015562329
4B258423A71999   BERTRAM      DAVIS                        CO     90013164230
4B25865675B271   JAMES        LEAVELL                      KY     90014936567
4B258759A2B27B   KATRINA      BROWN                        DC     90013607590
4B259195451334   ANTHONY      MURPHY                       OH     90012851954
4B25923415B223   GABRIEL      ANTONIO                      KY     90006232341
4B259455A8B187   LEE          CHADSEY                      UT     31065484550
4B25B2A1A5B523   JEORGINA     HANSEN                       NM     90005992010
4B25B345551383   GILBERT      COLE                         OH     90004703455
4B25B53995B395   KENNETH      FREDA                        OR     44589325399
4B25B66822B27B   CARLOS       GUZMAN                       VA     90008416682
4B25B914693794   SYMBA        PEREZ                        OH     90013409146
4B25BA36651383   YUMEKIA      BRUTON                       OH     90014790366
4B261245155939   JOSE         ESCAMILLA                    CA     90015272451
4B26152A191351   DANIELLE     PRICE                        MO     90009075201
4B261759871999   ELIZABETH    DIAZ                         CO     90014277598
4B261A63851383   HEATHER      GEOPPINGER                   OH     90014790638
4B26216638B187   RILEY        BROWN                        UT     90006751663
4B26279945B222   DRIKA        JACKSON                      KY     90003387994
4B262955591873   DEBORAH      WEBB                         OK     21007659555
4B262A2A351383   VICTORIA     SWEENEY                      OH     90011240203
4B262A3318B16B   ETHAN        KEITH                        UT     90014330331
4B26367648B16B   ROLANDO      MOTA                         UT     90014696764
4B263798285964   REDA         TURNER                       KY     90010227982
4B263864A93794   HEATHER      HIXSON                       OH     90013478640
4B26392535B52B   CUITLAHUAC   HERNANDEZ                    NM     36067419253
4B264592172B4B   RUTH         MONTOYA                      CO     33067945921
4B264758291569   MARIA        HERNANDEZ                    TX     75067667582
4B264889372B43   JORGE        FLORES                       CO     33095128893
4B264A6655B52B   ANA          URIAS HOLGUIN                NM     36014330665
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4B26519914237B   MOISES          GOMEZ                     TN     90013531991
4B2659A1672B36   DANIELLA        GONZA                     CO     33039829016
4B266535747954   BREANNA         BROOKS                    AR     90013935357
4B26672452B27B   DOUGLAS         CLEMENTS                  DC     90002217245
4B26697535597B   LUKE            LICHTENWALNER             CA     49085149753
4B266A38A8B187   WILBERG         BART                      UT     90005740380
4B267112472B43   EFRAIN          MEDINA                    CO     90000231124
4B267992955939   KEVIN           JACKSON                   CA     90013939929
4B26815245B58B   RHONDA          BROWN                     NM     35044011524
4B268185291351   LONI            JONES                     MO     90012521852
4B268417172B4B   DENNIS          HARVEY                    CO     33061864171
4B268749A5597B   SARAH           JOHNSON                   CA     49077667490
4B2689A153B491   JOHN            DOE                       PA     90011289015
4B26928638B16B   CHAD            BENNION                   UT     31013532863
4B269487351334   LISA            SIZEMORE                  OH     90009164873
4B26B354972B4B   LINDA           LOPEZ                     CO     33082533549
4B27188285B53B   RICHARD         GARCIA                    NM     35000188828
4B271928A7B428   TOWAN           SELLARS                   NC     90001729280
4B27252A284368   JIM             JACOBS                    SC     90008165202
4B2725A4261967   JOSEPH          GARCIA                    CA     90010595042
4B272AA765B53B   CINDY           MARTINEZ                  NM     90003350076
4B272AA984B541   MAUREEN         MUHURA                    OK     21587270098
4B27341875B174   RAYMOND         MOORE                     AR     23032134187
4B27365435B222   RODERICK        TAYLOR                    KY     68094666543
4B27376985B395   MICHAEL         SMITH                     OR     90008327698
4B27485345B53B   ZONIA           GONZALES                  NM     35033098534
4B27492625B271   MARLENA         KNIGHT                    KY     90013559262
4B275784924B7B   GEORGE          JONES                     DC     81037867849
4B27578665B271   LISA            THOMAS                    KY     90001437866
4B275A37451383   DAWANTA         GREEN                     OH     90008340374
4B275A42A71934   JESUS           HERNANDEZ                 CO     90008680420
4B27633544B271   KELLY           THIEL                     NE     90013633354
4B276894476B21   JACQUELINE      ARBELAEZ                  CA     90002168944
4B2768A878B16B   GROVER          NIELSEN                   UT     90014278087
4B276A1925B271   JEROM           CRAWFORD                  KY     90007280192
4B277182672B36   ANA             DIAZ                      CO     90011601826
4B277925972B36   ANNA            BUENO                     CO     90010949259
4B27793A172B4B   ANGELINA        RUPP                      CO     90005769301
4B277A91651334   SHAWN           GEORGE                    OH     90014800916
4B278261791988   ALBERTO         GALVES                    NC     90002982617
4B2783A475B523   CHRIS           LISTER                    NM     35040663047
4B2784A185B58B   ALEJANDRA       COLORES                   NM     35035634018
4B278563593794   PAUL            LYKINS                    OH     90014725635
4B27862A95B53B   REYNA           GARCIA                    NM     90010126209
4B2787A2172B36   DIEDRA          BANKS                     CO     90012907021
4B278965891988   ALVERTO         GALVES                    NC     90013429658
4B279232647954   MITCHELL        BREWER                    AR     90014702326
4B2797A3384368   ANA             ZACARIAS                  SC     90013217033
4B27B118A5B52B   JAIME           PEREZ                     NM     90006201180
4B28172A555939   ENRIQUE         CARO                      CA     90014877205
4B28175142B87B   SAMANTHA        GUNNING                   ID     41086907514
4B28178775B395   JANICE          JOHNSON                   OR     90005157877
4B28181445B37B   RAQUEL DENISE   VAUGHN                    OR     90004628144
4B282316A72B36   SANCHEZ         MARIELA                   CO     90011443160
4B28259822B87B   KLINT           HEINEN                    ID     90015095982
4B2828A4491569   FERNANDO        MARIN                     TX     75085588044
4B283596891988   ALEJANDRO       CHAVEZ                    NC     90005005968
4B283681571946   MARYEL          ROSADO                    CO     90005866815
4B28382782B27B   DELMIS          CHACON                    DC     81062248278
4B284311691351   JOSHUA          PESE                      MO     90007833116
4B28483315B52B   SUSAN           MONTEZ                    NM     36005578331
4B28492A161967   MICHELLE        MEZA                      CA     46014919201
4B284A46372B4B   DESIREE         MONTOYA                   CO     33075010463
4B28563668B355   ADRIENE         CARTER                    SC     90010806366
4B285768A8B594   JANIS           JACKSON                   CA     90014747680
4B285823572B43   MIGUEL          CARDENAS                  CO     33020828235
4B28611353168B   VANESSA         SCHROCK                   KS     90010811135
4B286299571934   ANNIE           LOPEZ                     CO     32083752995
4B286414A5B53B   ROBERT          SALAZAR                   NM     35097004140
4B286465161963   ANAYA           TRINIDAD                  CA     90010844651
4B286655751334   HEATHER         JOHNSON                   OH     90014366557
4B287274647954   YAZMIN          FUENTES                   AR     90007282746
4B287733151382   SHAVONNE        WHEELER                   OH     90003977331
4B28786445B223   KATIE           HOLLINGSWORTH             KY     68094468644
4B28788415B52B   ANGELIQUE       SMITHE                    NM     90012688841
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4B28823527B694   JAMES        PINET                        GA     90011042352
4B288285751382   JOSE         MEJIA                        OH     66005702857
4B28832985B271   AUBREY       ERICKSON                     KY     90011453298
4B28877435B395   CECAR        MARTIN                       OR     90010747743
4B288846384368   RAUL         ROJAS                        SC     90004738463
4B28889894B271   ELIZABETH    SCHWARTZ                     NE     90013918989
4B289218463628   FULISIA      BAQUERA                      MO     90000322184
4B28936992B87B   SARAH        STALLINGS                    ID     90008933699
4B28989A65B53B   ROGELIO      AGUILAR                      NM     90015298906
4B28999785B222   DAVID        DE LA CRUZ DIAZ              KY     90009219978
4B28B1A3393794   ROBERT       RASE                         OH     66004831033
4B28B9A765B223   ALONSO       MANCILLA                     KY     68023959076
4B291179691873   JERRY        DONOVAN                      OK     90000831796
4B291378571934   PAUL         VIGIL                        CO     90015143785
4B2916A945597B   ALMA         AGAYO                        CA     90008726094
4B291A2412B87B   CARL         KEENE                        ID     41062090241
4B292242891569   TONY         VELOZ                        TX     90009162428
4B292521551334   CHRISTINA    WOOD                         OH     90001525215
4B292522771999   RICHARD      OWENS                        CO     38044815227
4B292788551354   JESSICA      SAUNDERS                     OH     90005327885
4B29286988B165   DAVID        COLEMAN                      UT     31067718698
4B293156872B36   CARLOS       AMBROSIO                     CO     33029451568
4B293292A5B58B   PRISCILLA    LEYBA                        NM     90009582920
4B293364A5B174   KIANNA       COLCLOUGH                    AR     23068693640
4B29336763B343   WENDY        SEXTON                       CO     90010173676
4B293561361967   VONTIQUE     RUSSELL                      CA     90010215613
4B2937A3377977   HUGO         SOLIS                        IL     90007277033
4B293892251383   YOM          CHHUM                        OH     66076528922
4B293A1A92B238   JOSEPH       JACKSON                      DC     90011650109
4B294149551383   DUSTIN       VEABER                       OH     90014791495
4B294152772B36   RACHAEL      RILEY                        CO     90010511527
4B29464952B87B   VERONICA     SLAYTON                      ID     90013366495
4B294965171946   JOSE         CASTILLO                     CO     32096159651
4B29522835B58B   JUAN         ALCANTAR                     NM     35040012283
4B295734A72B4B   MONIQUE      ESPAMILLA                    CO     90014517340
4B29577787B694   KELLY        FOX                          GA     90015107778
4B29661AA71934   SONNYLEE     ROMERO                       CO     90011286100
4B296A7293B351   SUSAN        BLANCHARD                    CO     33083580729
4B29721135B53B   JENINE       LUJAN                        NM     90009072113
4B297226651382   REBECCA      LADD                         OH     90007312266
4B297495351334   ELIZABETH    TOLLIVER                     OH     90008424953
4B297A39947954   MIGUEL       DESANTIAGO                   AR     25079160399
4B298119991873   EDNA         SMITH                        OK     21077471199
4B298151A51383   WILLIAM      CARTER                       OH     90014791510
4B29815A251326   THOMAS       WRIGHT                       OH     90012261502
4B29849A52B87B   RAY          MASON                        ID     90004114905
4B298612161963   ANGELICA     VARGAS                       CA     90002396121
4B29863535B58B   WILLIAM      OWENS                        NM     35091666353
4B29881148B187   JASON        ADAMS                        UT     31097498114
4B299163472B36   PEDRO        CEJA                         CO     33015141634
4B2993A534B271   ALEXANDER    BAKER                        NE     90014923053
4B29943895B222   LAUREN       MOLOHON                      KY     68093194389
4B299613551382   DAWN         DUETT                        OH     66005706135
4B299826A5B53B   FRANK        DONOVAN                      NM     35093678260
4B2998A9751382   DAWN         DUETT                        OH     90013388097
4B299921391873   MARSHA       MINOR                        OK     90011499213
4B299A4512B87B   LEANNE       SKURUPEY                     ID     41023320451
4B29B185551383   DAVIS        LOMBRE                       OH     66089111855
4B29B193791873   ALYSHA       THOMAS                       OK     21006511937
4B29B26A991988   KAVONIA      NEWMAN                       NC     17055872609
4B2B1767251383   KAYLA        WHEELDON                     OH     90014797672
4B2B2332871934   MANUEL       JUVERA                       CO     90012413328
4B2B238A755951   DONNELLE     NEWMAN                       CA     90005743807
4B2B2A12893794   SAUL         HERRERA                      OH     90007790128
4B2B2A96255939   NANCY        GAMEZ                        CA     49082240962
4B2B315A572B36   RANDAL       SEIFERT                      CO     33085111505
4B2B3162647954   TONY         PERAZA                       AR     25051841626
4B2B352A461968   CLINTON      BURTON                       CA     90011855204
4B2B38A7755951   AURORA       OCHOA                        CA     49005398077
4B2B3A81261967   MARTHA       LERMA                        CA     90001450812
4B2B4158151383   JAY          WHYLE                        OH     66064821581
4B2B439938B185   ANDREA       CHILDS                       UT     90006393993
4B2B4489172B25   BEN          PAGE                         CO     90009044891
4B2B4A2A455951   MANUEL       SOBREVILLA                   CA     90008390204
4B2B519568B16B   RICK         BUTTERFIELD                  UT     31032381956
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4B2B5289491873   MARIE               MAYES                 OK     90000982894
4B2B533455B222   ALAIN               DELAQUIS              KY     68005913345
4B2B5938293794   REBECCA             ULRICH                OH     90002179382
4B2B6252261968   VANESSA             ROMERO                CA     90014812522
4B2B6435955939   ANA LUCIA           SOSA DE CUELLAR       CA     90014454359
4B2B733426198B   ANA                 ARANDA                CA     90001683342
4B2B738AA72B43   WILLIAM             HICKEY                CO     33040863800
4B2B76A1524B7B   LILIAN              JURADOLARA            VA     81057206015
4B2B772788B355   BERVERLY            PERRY                 SC     90014677278
4B2B8262A8B355   RUFUS               CHILES                SC     90014092620
4B2B8534271999   TOBY                JARAMILLO             CO     90000675342
4B2B8A19172B4B   LIDIA               BUJANDA               CO     90005600191
4B2B8A41491569   JOSE                REYES                 TX     90012760414
4B2B8AA1955982   JAUN                GARCIA                CA     90013050019
4B2B936A655951   VIRGINIA            MARTINEZ              CA     90002433606
4B2B9398591569   MARCELO             RAMIREZ               TX     90008453985
4B2B949628B187   DON                 EVANS                 UT     31049844962
4B2B9669A5B222   AIMEE               JONES                 KY     68093266690
4B2B9699472B4B   ANTHONY             ESPINOZA              CO     90008466994
4B2BB143191569   LORENZO             ORTEGA                TX     75023021431
4B2BB22847B694   LISA                JENT                  GA     90008802284
4B2BB7A6991547   CINDY               NELSON                TX     90010207069
4B2BBA93876924   LATICA              PRESTON               MS     90013620938
4B31132535B53B   MARIA               GONZALES              NM     35048543253
4B311326347954   MAIA                MALDONADO             AR     90009363263
4B3117A4861967   LUCAS               SCHOENFELD            CA     90010597048
4B31213348B16B   TRINA               HALL                  UT     31071951334
4B31222235B52B   ELVIS               OLVERA                NM     36068972223
4B31228A861963   IRMA                GONZALEZ              CA     90007782808
4B3125A9761968   MARIA               SALAS                 CA     90010435097
4B3131A9572B4B   MARIA               VERA                  CO     90008691095
4B313395751334   DAMON               PETERS                OH     66097693957
4B313396672B43   JANELLE             GARCIA                CO     90013273966
4B31342314B271   LEESHA              FRASCH                NE     90014094231
4B3135A8493728   KEVIN               CAMERON               OH     90008305084
4B313655747954   HOPE                BALENTINE             AR     90014756557
4B313845571946   BALINDA             MONTANEZ              CO     90002048455
4B31394968B16B   SHARON              STRICKLER             UT     31001489496
4B313A3815B395   MIROSLAV            PALJEVIC              OR     44561040381
4B3145A1191394   EMILY               MILTKO                KS     29019515011
4B31483388B355   MAURIA              SANDIFER              SC     90008888338
4B315222351383   ROXANNE             WESTERBECK            OH     90014792223
4B31529A171999   NATALIE             MARTINEZ              CO     90004112901
4B31547894B25B   ROSEANN MASON AND   KELLY MASON           NE     90009174789
4B3154A7855939   MARIA               PEREZ                 CA     90014124078
4B31554A493794   CHRISTOPHE          FRANZ                 OH     90000865404
4B31557AA72B36   DARJEE              RENAE                 CO     90008245700
4B315778191527   JESSICA             VEGA                  TX     90010697781
4B315886971946   ANGELINA            BALBUENA              CO     32039408869
4B315A21661938   RAMIRO              SANDOVAL              CA     90002700216
4B316727761967   HECTOR              BUSTAMANTES           CA     90010597277
4B316A39791988   ABELARDO            LOPEZ                 NC     90013100397
4B3171AA441258   MIGUEL              CERRANO PADILLA       PA     51012931004
4B31732225B52B   GRISELDA            CASTRO                NM     36095103222
4B317558371924   THERESA             EISEL                 CO     90011835583
4B317559172B36   MONICA              HERNANDEZ             CO     33093135591
4B317615191569   RYAN                KURTH                 TX     75017816151
4B3177A5351334   KIM                 SWEAT                 OH     90004307053
4B317972261963   THERESSAH           RODRIGUEZ             CA     46037759722
4B317A2225597B   CHARLES             MORRIS                CA     90007680222
4B318251484368   RUTH SHAQUETTA      LEE                   SC     90009992514
4B3182A393168B   MEGAN               SCHAFNITZ             KS     90011312039
4B318388384368   TANIA               MORENO                SC     90015513883
4B31843815B52B   SUSANA              MARQUEZ               NM     90010304381
4B318497172B36   CLAUDIA             LIRA                  CO     90005604971
4B318631161967   ANTIONETTE          HARRIS                CA     46018566311
4B3186A425597B   JENNY               VASQUEZ               CA     49011166042
4B318934655939   KHAM                SINGKEO               CA     90006959346
4B318947461968   JONATHAN            MOORE                 CA     46045259474
4B318A72151334   RANDY               BALDRICK              OH     90004450721
4B31949728B16B   CAROL               REILE                 UT     90013064972
4B319716251334   JEFFERY             HUNN                  OH     90012997162
4B31B45113168B   MARCELLA            JANKOWSKI             KS     90011684511
4B31B79355B58B   SERGIO              CHAPARRO              NM     35069497935
4B31B87345B357   JUAN                REGINO                OR     90007468734
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4B31B9A8591873   KASIE                KING                 OK     21055779085
4B31BA58291988   CHRISTOPHER          MALONE               NC     90013300582
4B32111348B16B   AGUSTIN              LANDA                UT     90008111134
4B321343555951   BARNARDO             CERVANTEZ            CA     49047623435
4B32177A75B53B   TERESA               MANQUEROS            NM     35034217707
4B321AA2872B4B   FORREST              MILLER               CO     33047720028
4B322222351383   ROXANNE              WESTERBECK           OH     90014792223
4B3222A2791569   TELMA                CORONA               TX     90009122027
4B32241A871999   BRIAN                BENNETT              CO     38034234108
4B32258718B355   NIKIA                GREEN                SC     90009245871
4B322741561967   VICTOR               OROZCO               CA     90010597415
4B32275AA91351   ASHLEY               MCCUNE               KS     90010857500
4B32296A955939   ADRIAN               PEREZ                CA     49091819609
4B322A96847954   TONYA                SCOTT                AR     90003240968
4B323238691569   ANGEL                SALAZAR              TX     90005082386
4B323411A8B355   JESSICA              PERRY                SC     90000444110
4B32347653168B   MICHELLE             HAMM                 KS     22081614765
4B3237A8872B36   BRENDA               PARKER               CO     90011507088
4B324222351383   ROXANNE              WESTERBECK           OH     90014792223
4B324275155939   BICTORIA             BARAJAS              CA     49083472751
4B324777861963   BILLIE               IAPALA               CA     46032327778
4B326476561968   NELLY                PERALTA              CA     90010824765
4B326892671946   FABIAN               RIBAS                CO     90002528926
4B326924393794   JASON                HAZELBAKER           OH     90013079243
4B32783244B551   VERONICA             GIGGERS              OK     90003268324
4B327875761968   GINA                 BAXTER               CA     90010508757
4B32791245B58B   MONICA               MOSQUEDA             NM     90013149124
4B32835A191351   KLARISSA             KIMBROUGH            KS     90012713501
4B328637991873   VICTORIA             BUTLER               OK     90012756379
4B328814461968   MARTIN               HERNANDEZ            CA     90012108144
4B328A1338B16B   CHANSAMONE           MANIVANH             UT     90014470133
4B328A47751383   WENDI                DONALDSON            OH     90014180477
4B329839791873   YOANDRY              RODRIGUEZ            OK     90014018397
4B329999972B43   SAUCEDO SAUCEDO JR   LOUIS                CO     90011149999
4B329A47751383   WENDI                DONALDSON            OH     90014180477
4B32B182271946   JOY                  BURKE                CO     90000891822
4B32B278A51383   GARRY                EDWARDS              OH     90011262780
4B32B29A161967   MARCUS               JACKSON              CA     46006672901
4B32B626351382   CHRISTINE            WOLF                 OH     90014666263
4B32B64A33168B   OLIVIA               CARDENAS             KS     90009646403
4B32B775193794   JACKIE               ROBINSON             OH     90015387751
4B32BA5A72B27B   KIYANNA              JOHNSON              VA     90013300507
4B331199261968   SANTOS               MERCADO              CA     46040791992
4B3313A2691988   BRIANA               WORTHAM              NC     90012823026
4B33153955B174   KRYSTAL              THORTON              AR     23088765395
4B3322A512B27B   ABEL                 TREVO                DC     81038422051
4B33236235B357   ERIC                 HIDALGO              OR     90007473623
4B33252A672B43   MONIQUE              SEALS                CO     90008275206
4B33271915B53B   KALIN                BRANDON              NM     90014317191
4B332746572B43   MONIQUE              SEALS                CO     90013457465
4B33362325B53B   ANDREW               DANKO                NM     90014686232
4B333916A61968   FRANK                ASOA                 CA     90012829160
4B333968872B36   KANAN                ARKAWAZY             CO     90011909688
4B3346A6984368   EFRAIN               ESCALANTE            SC     90003766069
4B334858491569   JESUS                RODRIGUEZ            TX     90011138584
4B3348A9861956   MARIA                PANDURO              CA     46095678098
4B33564425B271   CIARA                SIMCOE               KY     90014126442
4B335959191569   MARTHA               PALOMARES            TX     75008339591
4B33596825B53B   ANNA                 MARTINEZ SANCHEZ     NM     90012539682
4B336289572B43   TITUS                WILLIAMS             CO     90013302895
4B336515291394   FLORA                RIVERA               KS     29023295152
4B3366A5791569   ROSA                 GURRA                TX     75091126057
4B33767335B58B   THELMA               LLAMAS               NM     90002196733
4B337761871946   ANGELA               BEUERLE              CO     90009787618
4B337923591569   MIGUEL               HERNANDEZ            TX     90013869235
4B337A6959373B   ERYHATT              JOHNSON              OH     90007550695
4B33864425B271   CIARA                SIMCOE               KY     90014126442
4B33874315B53B   LISA                 BONNEY               NM     35093397431
4B338788555939   NICOLE               RENDON               CA     90004097885
4B338997857121   SIGRIDO              ORELLANA             VA     90014859978
4B338A7155B58B   JOHN                 WIEGERS              NM     35035230715
4B33932725B395   ROOSEVELT            BROWN                OR     44505133272
4B339465161963   ANAYA                TRINIDAD             CA     90010844651
4B339633151334   CHRISTOPHER          JONES                OH     90009246331
4B339727671999   RALPH                ROMERO               CO     38012287276
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4B33989894B271   ELIZABETH      SCHWARTZ                   NE     90013918989
4B33B442A71934   JORGE          GONZALEZ                   CO     90011844420
4B33B445591351   JEFF           EASTMAN                    KS     90009864455
4B33B62A161963   GABIEL         GUTIEREZ                   CA     46036396201
4B33B653661967   NEGTALI        ROJAS                      CA     46042856536
4B33B921A51334   TAMIKA         HUTCHERSON                 OH     90014559210
4B33B9A6971946   VIOLA          GOBEA                      CO     32096989069
4B3413A3361963   JUAN           FLORES                     CA     90014913033
4B34173865B52B   ULISES         RAMIREZ                    NM     90010677386
4B3422A2971934   AQUILES        PINTO                      CO     32015822029
4B342658371999   JOHN           BRAASCH                    CO     90006036583
4B34321998B185   NORMA          GONZALEZ                   UT     90003362199
4B343916A91351   MAGGIE         CLAERHOUT                  KS     90013909160
4B343945A4B271   WALLESHA       HUBBARD                    NE     27076349450
4B343966771934   GLENN          PAINTING                   CO     90015149667
4B343A23161968   DANNY          KONGVONGXAY                CA     90013110231
4B343A5225B53B   XAVIER         RODRIGUEZ                  NM     35042270522
4B34418348B355   BALTIMORE      PETE                       SC     90010551834
4B34426125B174   MARION         ROBINSON                   AR     23077682612
4B344428A5597B   ALBERT         HOOD                       CA     49018434280
4B344943155939   CARLOS         MORALES                    CA     90005379431
4B344962891569   ANGEL          RIVERA                     TX     90011109628
4B3449A1A72B43   VINCENT        MARTINEZ                   CO     90010289010
4B344A5AA24B7B   RUDY           TAY                        VA     90014910500
4B345638851382   SCOTT          AICHELE                    OH     90014666388
4B345677571934   JIMMY          GRODOTKI                   CO     90011286775
4B346998591873   KRYSTEL        KEEN                       OK     90014519985
4B346A1528B16B   CHASITY        RACHIELE                   UT     90011260152
4B34735925B555   JESUS          DOMINGUEZ                  NM     90001033592
4B34739475B271   TIM            TURNER                     KY     90010963947
4B34759425B58B   CHRISTOPHE     WIGGINS                    NM     35043695942
4B347624591873   KATHERINE      INVESTMENTS                OK     21003736245
4B34771A755951   JESUS          JUAREZ                     CA     49078207107
4B347755591569   OMAR           LEDEZMA                    TX     90009677555
4B34839335B58B   ELEXIS         SILVA                      NM     35089123933
4B3485A5784368   MARIA          ORTIZ                      SC     90010655057
4B34865AA91523   ANA            GARCIA                     TX     75025056500
4B3489AA724B3B   JOSE ROBERTO   RODRIGUEZ                  DC     90005969007
4B3491A9A5B58B   PATTY          REYES                      NM     35027321090
4B34932848B185   LAWS           LORI                       UT     90005143284
4B34944754B271   PTACEK         MELIA                      NE     27035574475
4B3494A795B52B   JULIA          MELGAR                     NM     90014364079
4B349545291873   LAWANA         PENNY                      OK     90014235452
4B34B161293794   KIMBERLY       MICHAELS                   OH     66029681612
4B34B28678B355   JERRY          ELLISON                    SC     90006932867
4B34B433791988   VIELMAN        GOMEZ                      NC     90015034337
4B34B45742B253   MICHELLE       ALEXANDER                  DC     81092834574
4B34B54A761967   HILARIO        HERNANDEZ                  CA     90011515407
4B351241193794   JOSEPH         MANNING                    OH     90009162411
4B3512A525B52B   NATISHA        UROSTE                     NM     90008252052
4B35158135B523   CHERYL         PEDROZA                    NM     90005995813
4B35163A272B36   KRISTIE        SHAW                       CO     90009726302
4B35192947B694   SONETTA        HARKLESS                   GA     90012119294
4B351A15455939   JESUS          TORRES                     CA     90013940154
4B35251655B53B   ALBERT         MADRID                     NM     90002205165
4B35256A561953   SHARDAE        SHELTON                    CA     90003055605
4B352846291351   JUAN ANTONIO   CARRIO                     KS     90013458462
4B352891161968   CLAUDIA        RAMIREZ                    CA     90010448911
4B352979991569   CARIDAD        DEGARCIA                   TX     90014299799
4B353A1A891569   SERGIO         VILLARREAL                 TX     75004040108
4B354133171999   JENNY          MAYER                      CO     38086931331
4B354373991569   JUAN           DOMINQUEZ                  TX     75012993739
4B354651155939   GRAHAM         COLEMAN                    CA     49055866511
4B35483A25B52B   KRYSTAL        WRIGHT                     NM     90006118302
4B354A1528B16B   CHASITY        RACHIELE                   UT     90011260152
4B355216593794   JARED          SMYER                      OH     66029062165
4B35567648B16B   ROLANDO        MOTA                       UT     90014696764
4B3556A6161963   MARIA          ROSALES                    CA     90009376061
4B355855991351   AMIRA          KELLY                      KS     90004968559
4B355A99361968   NANCY          BOYKIN                     CA     90010310993
4B356136661963   VICTORIA       BASNATT                    CA     90007241366
4B356167891351   STEVEN         JAMES                      KS     90014381678
4B356381772B43   GINO           ORTIZ                      CO     90013803817
4B35692245B174   SADE           MCFADDEN                   AR     23075809224
4B356A25991394   SHANTAL        LOPEZ                      KS     90000530259
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4B357234355939   CYRILLA          DEWHY                    CA     49097292343
4B35725A25B53B   BLANCA           FEHR                     NM     90011372502
4B35765787B694   STACEY           TODD                     GA     90010996578
4B35769297B694   MICHAEL          GERLACH APT C            GA     90014326929
4B357A1A48B355   CRYSTAL          WHETSTONE                SC     90009530104
4B35817A491873   ROBERT           WALKER                   OK     90006811704
4B358257261963   JOSE             BAHENA                   CA     46038852572
4B35846315B395   CHERYL           CLARK                    OR     44573104631
4B35861265B523   RANDY            HAYES                    NM     90005996126
4B358632161968   SUSAN            BLEVINS                  CA     90012306321
4B358879121669   MICHAEL          GARVIN                   OH     90013628791
4B358987472B36   DAVID            GALLARDO                 CO     33009369874
4B359275872B36   VICTORIA         RAZO                     CO     90005952758
4B359853491988   REINALDO         LOPEZ ESTEBAN            NC     90008618534
4B35996918B355   JAMIE            BARBER                   SC     90000769691
4B35998215B53B   MARIA CRISTINA   ALFEREZ-GARCIA           NM     90009619821
4B35B127947954   STEFANY          MORALES                  AR     90012071279
4B35B441851383   LAURA            COMBS                    OH     90006494418
4B35B51538B16B   JERILYN          HALL                     UT     31091985153
4B361242984368   FELIPE           HERNANDEZ                SC     90010872429
4B36168495B174   TIFFANY          JOHNSON                  AR     90000866849
4B36217413168B   JORGE            BERRUN                   KS     22040291741
4B3622A7191394   LINDA            SPRATT                   KS     29093402071
4B362342547954   HAROLD           VANOVER                  AR     90012713425
4B362A29351334   LUIS             GIBERTO                  OH     90013600293
4B36334338B355   GWEN             BROWN                    SC     11033903433
4B36347A972B43   HILDA            CACHO                    CO     90014404709
4B3639A8191351   FORTINO          LOPEZ                    KS     90010169081
4B364279291569   MIGUEL           ACOSTA                   TX     90015182792
4B36445775B53B   ELVIA            OROZCO                   NM     90014804577
4B3644A4891569   RAYLETTE         TORAIN                   TX     90010314048
4B364727A91351   ANGEL            DIXON                    KS     90014117270
4B36515A871999   MARYANNE         ELKINS                   CO     90014231508
4B365389793794   TAYLOR           WATSON                   OH     90010273897
4B36545955B52B   REBECCA          MCCUSKER                 NM     90010374595
4B36552735B174   LANITA           PRUITT                   AR     90001385273
4B365823993794   DEBRA            SCOTT                    OH     90014128239
4B365A4175B174   JHORDAN          O'NEIL                   AR     90010610417
4B366177A5B53B   NOE              FAVELA                   NM     35091061770
4B36618855B52B   BRAD             HILL                     NM     36025141885
4B366439551334   LUIS             GARCIA                   OH     90015154395
4B3668A3291351   JERRICK          BROWN                    KS     90011328032
4B366A34855939   RIGOBERTO        LOPEZ                    CA     90013940348
4B366A53671934   QUINCY           BREWER                   CO     90015150536
4B366A69761963   MELISSA          GONZALES                 CA     90014920697
4B366A77A61968   CLAUDIA          RIVERA                   CA     90005190770
4B367289671946   MELISSA          WHITTAKER                CO     32080732896
4B36748755B398   DANIEL           ROSS                     OR     90007704875
4B36774595B53B   CHRISTOPHER      COYLE                    NM     90015327459
4B36822535B53B   TANISHA          MARQUEZ                  NM     90013912253
4B36831A95B222   JADE             WOOSLEY                  KY     90011763109
4B368755284368   DIDIER           HOBLER                   SC     90014247552
4B3689A7651325   DONALD           SPICER                   OH     90001299076
4B368A13161968   JOHN             SIEGFRIED                CA     90014740131
4B369172291873   JAZMIN           SANCHEZ                  OK     90013791722
4B36926845597B   NANCY            LOPES                    CA     90000292684
4B36942318B187   JOSE             SALAZAR                  UT     31011334231
4B369525471999   LAURA            VIGIL                    CO     38050915254
4B369916491569   JORGE            SOLIS                    TX     90013869164
4B3699A1991876   NATALIE          JEFFERS                  OK     90012839019
4B36B541851382   CHERYL           WARD                     OH     66067045418
4B36B5A563168B   RAMSEY           WEBB                     KS     90009765056
4B36B68915B52B   ADAN             LOYA                     NM     90014836891
4B371199A5B52B   MANUEL           CASAS                    NM     90014461990
4B37128AA8B187   JESSICA          GUTIERREZ                UT     90005872800
4B3712A8371999   COLLEEN          CRAGOE                   CO     90001722083
4B371468361963   LEAH             HASKINS                  CA     90006604683
4B371655991351   ERIC             GORDON                   KS     90014306559
4B37247517B646   JOHNNIE          CROWELL                  GA     15085974751
4B372684991569   TIJHA            PERRY                    TX     90013926849
4B37274517B694   SHAWNA           BAKER                    GA     90009567451
4B37314439199B   COREY            HAYES                    NC     90012831443
4B37316AA2B27B   MARQUETT         JOHNSON                  DC     90003671600
4B373253691873   NOAH             ROGERS                   OK     90009222536
4B37361555597B   JOSE             PIEREZ                   CA     90010916155
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4B373787355951   RAUL           GALAVIZ                    CA     49004687873
4B373911751336   KRISTY         CHILDERS                   OH     90011239117
4B37398165B523   LARRY          SMITH                      NM     35077419816
4B37461A761968   LIZBETH        CAMACHO                    CA     90013806107
4B37467352B872   ERIC           SCHLECHTE                  ID     42081216735
4B374A3A872B36   YANCEY         MCWILLIAMS                 CO     90012150308
4B37526663168B   MARIA          SMITH                      KS     90013792666
4B375327793794   CASEY          WILSON                     OH     90014383277
4B375475784368   VAVIETA        STRIPLING                  SC     90013614757
4B3757A445B222   SARAH          SCHLINDWEIN                KY     68059857044
4B37593A28B355   GIOVANNI       RIVERA                     SC     90010439302
4B376465591873   MELINDA        CREEKMORE                  OK     90011084655
4B376482A8B355   BERNARD        WILSON                     SC     11003294820
4B376642A5B58B   JUAN           SALAS                      NM     90003966420
4B376643A8B16B   ALLAN          SALAZAR                    UT     90010146430
4B376755672B43   MARK           MUSICK                     CO     90001457556
4B376835791569   CESAR          NAVARRETE                  TX     90013548357
4B377264691988   AMICLAR        DIAZ                       NC     90012362646
4B377282A61963   TERREANCE      HARRIS                     CA     90006732820
4B377556693794   DAVID          VALENTINE                  OH     90014415566
4B37778A45B52B   GABRIEL        MENDOZA                    NM     36008607804
4B37797478B355   JEFF           ONLEY                      SC     90012279747
4B3781A7771934   JULIA          MAZA                       CO     90015151077
4B378274751383   KAMRON         JOHNSON                    OH     90011552747
4B37846768B187   GAMEZ          ORLANDO                    UT     90005854676
4B37875A75B174   JUAN           GRANADOS                   AR     23021657507
4B378822191569   EDWARD         STANTON                    TX     90012068221
4B37894117B694   TONYA          GHORMLEY                   GA     90013829411
4B378A94461968   JESUS          SANCHEZ                    CA     46027770944
4B379139851382   JUSTIN         BEARD                      OH     90013121398
4B379315161968   GRACIELA       ZARCO                      CA     90010093151
4B37964865B271   ERIC           MATHERLY                   KY     90000116486
4B3798A2493794   FRANK          THOMSON                    OH     66089168024
4B37B139872B43   GILLBERT       MUNEZ                      CO     90011001398
4B37B42728B185   MARTHA         LEMUS                      UT     90004364272
4B37B761572B36   HENRY          PINTO                      CO     33015457615
4B37B86415B52B   JULIANA        HERRERA                    NM     90013408641
4B37B879271934   MARIA          GODOY                      CO     90008288792
4B37B923384368   MATIAS         RIVERO                     SC     90012189233
4B381125A77357   AKILAH         HONEYCUTT                  IL     90014191250
4B3812A2591988   IDALIA         MORALES                    NC     90012182025
4B38144A472B35   ANDREW         UTECHT                     CO     90014374404
4B38152578B16B   MICHELLE       ROBERTSON                  UT     90002725257
4B381564922463   GORGE          CORTEZ                     IL     90015505649
4B38181A85B52B   HOA            CHUNG                      NM     90014558108
4B381A5565B56B   PHILLIP        ROBINSON                   NM     90010610556
4B38223148B16B   BRIANA         SAUNDERS                   UT     90008112314
4B38229945597B   LUIS           SANTACRUZ                  CA     49085652994
4B382434891394   RODERICK       MCCONNELL                  KS     29011414348
4B38276A75B58B   FRANCISCO      SANCHEZ                    NM     90012897607
4B382825191569   JUAN           DIAZ                       TX     90012068251
4B382A1185B58B   MA GUADALUPE   RUELAS                     NM     90014850118
4B383276371999   DUSTIN         MARSHALL                   CO     90005212763
4B383444493767   GARY           CROCKATT                   OH     90001724444
4B384117271934   CHRIS          HYMAN                      CO     90001141172
4B3844AA471999   THOMAS         MARTINEZ                   CO     90014954004
4B384512771999   MITZI          HEARD                      CO     38060625127
4B38457A73B234   OLGA           GOMEZ                      DE     90010335707
4B384A3492B264   KEYONTA        SILAS                      DC     90011410349
4B385613261968   JORGE          LOPEZ                      CA     46041946132
4B386118193794   RYAN           HARRIS                     OH     66001081181
4B3864A1761966   LUIS           CONTRERAS                  CA     90010244017
4B386694191394   SYLVIA         CASARES                    KS     29014536941
4B386829872B36   RONNIE         BROWN                      CO     33080658298
4B387745391873   DALE           AMES                       OK     90012457453
4B38776615B523   KIMVERLEY      MARTIN                     NM     90005997661
4B38797488B187   MORENO         CHRISTINA                  UT     90005859748
4B388528271999   JENNIFER       MARTINEZ                   CO     38067595282
4B38874615B53B   MARCOS         BANDA                      NM     90011397461
4B38897488B187   MORENO         CHRISTINA                  UT     90005859748
4B388AA3172B36   JEFFREY        MAYTON                     CO     33027740031
4B389294672B4B   VALENTINA      SEGOVIA                    CO     33050422946
4B389322251383   SABRINA        STOCKTON                   OH     90014793222
4B389418356355   DMICO          VALLEJO                    IA     90015054183
4B389677861968   DALE           CARPENTAR                  CA     90012666778
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4B38986234B271   NICOLE           NASH                     NE     90012978623
4B389A3A15B174   MONIC            SMITH                    AR     23005310301
4B38B13268B185   JESSE            CREVISTON                UT     90005211326
4B38B75258B355   TIERRA           COLE                     SC     11016727525
4B38BA35471999   MICHELLE         MARTINEZ                 CO     90003200354
4B391375991873   CHRIS            BRUCE                    OK     90015523759
4B391A83A61963   MARIA DEL ROSA   MENDEZ                   CA     90014920830
4B392138871934   JENNIFER         TAYLOR                   CO     90015151388
4B392485393794   RUSTY            STANSBERY                OH     90007434853
4B39249414B271   TAMRA            LEEPER                   NE     90002404941
4B392A51327B87   LATRISHA         REDD                     KY     90001710513
4B39316219373B   ERICKA           TAYLOR                   OH     90009971621
4B39335693168B   HEATHER          KLAASSEN                 KS     90015343569
4B3933A6591351   LISA             RUCKER                   KS     29099153065
4B393465251382   LAVADA           CONNER                   OH     66058324652
4B393714A61967   RICARDO          DE LOS SANTOS            CA     46044657140
4B3937A3A51334   JOHN             FISCHER                  OH     90012037030
4B39398115B271   MICHAEL          HUGHES                   KY     90014229811
4B394144151382   EMILY            BATES                    OH     66056811441
4B3942A275B58B   PABLO            MURILLO                  NM     35028862027
4B394323472B4B   YOLANDA          GODDARD                  CO     33020843234
4B39449674B271   ELIZABETH        RIVERA                   NE     27064554967
4B394A3238B185   CHRIS            WILLIAMS                 UT     90010310323
4B39547528B16B   ELIZABETH        GARCIA                   UT     90003544752
4B395519991872   ADRIAN           LAMAR                    OK     90012675199
4B395927191873   JERRY            HELM                     OK     21014859271
4B39644715B223   AMANDA           FRANKLIN                 KY     90010704471
4B39699765B271   MICHAEL          WESLEY                   KY     90014229976
4B397334851383   KAYLA            COVETT                   OH     90014793348
4B39747995B52B   LONNIE           VLADEZ                   NM     90010214799
4B397A5A72B27B   KIYANNA          JOHNSON                  VA     90013300507
4B398247441258   TAMMEY           APPLEGARTH               PA     90002622474
4B398631271934   LANCE            TEAL                     CO     32087346312
4B399986691873   STACEY           MAYFIELD                 OK     21073909866
4B39B327491881   SHAMEKA          WALKER                   OK     90011523274
4B39B67155599B   VERONICA         FLORES                   CA     90005256715
4B39B71985B395   MARCUS           WOOD                     OR     90003817198
4B39B916461963   ROXANA           TRUJILLO                 CA     46032339164
4B39B979893794   BRIAN            HIGHLANDER               OH     90002999798
4B39BA18755951   LIZA             COBIAN                   CA     90005870187
4B3B114682B87B   KATIE            KELLEY                   ID     90014451468
4B3B1223A51334   DAISEY           MOORE                    OH     66025532230
4B3B132335B58B   WILHEMINA        BEGAYE                   NM     90011183233
4B3B1A18771999   JOSEPH           GONZALES                 CO     90011610187
4B3B1A28A5597B   CHRISTI          FRAZEL                   CA     49009420280
4B3B249195B53B   BRIGINA          VALENCIA                 NM     90013654919
4B3B3567A91569   JUAN DE DIOS     RAMIREZ                  TX     90014545670
4B3B3759861927   SHANNON          BANKS                    CA     90005637598
4B3B3AAA855939   FLICIANO         GERVACIO REYES           CA     90013940008
4B3B4146871999   MARIA            LUCERO                   CO     38049501468
4B3B426295B271   SHEILA           JEFFRIES                 KY     90006172629
4B3B4283461963   IRIS             COTTO                    CA     90014912834
4B3B432948B185   JAVIER           SEGUNDO                  UT     90007293294
4B3B4464991351   TABATHA          NIGH                     KS     90007144649
4B3B4698142339   TAMMY            HOWARD                   GA     90013266981
4B3B489335B58B   ADELA            GONZALEZ                 NM     90000138933
4B3B49A6755951   SERGIO           LEON                     CA     90004649067
4B3B49A7547954   MELISSA          HEENEY                   AR     25010749075
4B3B5917471934   TERESA           POWERS                   CO     32058409174
4B3B6547551334   LISA             RICHARDON                OH     90014855475
4B3B6953671934   MARIA            MURILLO                  CO     90005519536
4B3B75A6872B4B   IMELDA           MACIAS                   CO     90005785068
4B3B762468B16B   JULIE            PHILLIS                  UT     90014286246
4B3B7979491569   ARISBETH         CONTRERAS                TX     75077639794
4B3B8123155939   MAYRA            MEDINA                   CA     90010951231
4B3B821332B27B   DARYL            PAYNE                    DC     90012172133
4B3B845A52B27B   ALONDA           WEAVER                   DC     90015494505
4B3B8728872B43   HUGO             SOLIS-SANCHEZ            CO     90013377288
4B3B874325B174   CHARLES          PATRICK                  AR     23090057432
4B3B989A891569   MARGARITA        PONCE                    TX     90011978908
4B3B9A53472B43   NGU              NGUYEN                   CO     90015190534
4B3BBA33191569   ISRAEL           CRUZ                     TX     90013030331
4B41164515B58B   HENLEY           ANDREA                   NM     35042686451
4B4117A9484368   MARIO            LARA                     SC     90011567094
4B411859A51383   ANDREW           SIMPSON                  OH     66059718590
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4B41238178B355   JOEL             ADAMS                    SC     90000123817
4B41238A38B187   AUSTIN           MCWILLIAMS               UT     90012923803
4B41274975B222   ANGELA           TUCKER                   KY     90012167497
4B41336265B395   KALLEN           AMOS                     OR     90005573626
4B4138A3A84368   DANIEL           HERNANDEZ                SC     90014818030
4B413917661967   VANESSA          RAMIREZ                  CA     46052189176
4B414553491873   JOANN            TOBBLE                   OK     90014125534
4B414943155939   ELVA             GONZALEZ                 CA     90012429431
4B4151A175B58B   MARIA            GARCIA                   NM     90013781017
4B4152A4861967   IRMA             DICKINSON                CA     90007252048
4B41541A88B187   RAFAEL           BARREDA                  UT     31091694108
4B4155A8671999   PALONINO         JUANITA                  CO     90005895086
4B415781751382   RONNIE           HOUSTON                  OH     90010587817
4B415869A51334   JAMIE            PERRY                    OH     90011068690
4B415955155939   ROBERTO          RAMIREZ                  CA     90013119551
4B41623828B355   CHRISTINE        LAKE                     SC     90012322382
4B41633245B58B   JOELEEN          BACA                     NM     90012793324
4B41659A62628B   PAYGO            IVR ACTIVATION           WI     90014485906
4B416971141258   ANGELEEA         FRATANGELO               PA     90002469711
4B416A6444B271   STEPHANE         KONE                     NE     90004200644
4B417372961963   GARY             JOHNSON                  CA     46022543729
4B417877171999   RICHARD          SUMMERS                  CO     90007508771
4B41823527B694   JAMES            PINET                    GA     90011042352
4B41845315597B   MARTHA           MARTINEZ                 CA     49005404531
4B418535151334   RHONDA           EADS                     OH     66064995351
4B41862A971934   ZACHARIA         BERNIER                  CO     90005526209
4B418688541258   LORI             BRELL                    PA     51011146885
4B418A8828B187   AUTUMN           FOOTE                    UT     31090850882
4B419372251383   IESHA            DANIEL                   OH     90014793722
4B419A96555939   GEORGINA         VALENCIA                 CA     49090180965
4B41B14493168B   KRYSTAL          SOLORIO                  KS     90006391449
4B41B329741258   MASSAH           DOERUE                   PA     51010693297
4B41B358251383   FAITH            JACKSON                  OH     90014793582
4B41B638651382   TRINA            SCOTT                    OH     90001566386
4B41B84915B523   DEBBIE           MALDONADO                NM     90005998491
4B41B85935B55B   DAVID            SALAS                    NM     90011178593
4B41B887272B43   BLANCA           RODRIGUEZ                CO     33046908872
4B41BA7678B849   KALEONANI        ALIDON-MAHI              HI     90014130767
4B421284991351   MEGAN            RAMSEY                   KS     29095652849
4B421445472B36   ALBERTO          FRAISO                   CO     90011854454
4B42173887B851   ROGER            WILSON                   IL     90008157388
4B421743291873   BECKY            NICHOLAS                 OK     90014297432
4B422745672B4B   CHERYL           VANTREECK                CO     90013307456
4B42279365B58B   MELISSA          GARCIA                   NM     90010307936
4B42297538B16B   COREY            WINKLER                  UT     31007629753
4B423344351382   RICK             STAARMANN                OH     66038553443
4B423462371934   MARY             WEAVER                   CO     90014684623
4B423728391569   DARLEEN          DOMINGUEZ                TX     90014637283
4B423A34671946   RANDY            CROMMELIN                CO     32067070346
4B424462371934   MARY             WEAVER                   CO     90014684623
4B4244A7272B36   SORIANO          RANGEL                   CO     90013054072
4B424A73884368   VERONICA         MORALES                  SC     90012180738
4B425141257564   JESUS            AVALOS                   NM     90012981412
4B4252A525B271   JAMES            EDWARD                   KY     90004942052
4B42599995B222   MISS             REE                      KY     68043419999
4B42612A55B52B   GABRIELA         PONCE                    NM     90012411205
4B42667A95B53B   CARLOS           HERNANDEZ                NM     90013506709
4B426927133695   LISA             MCCASKILL                NC     90012769271
4B426929861968   MARYLOU          VENTURA                  CA     90011169298
4B426A83A61963   MARIA DEL ROSA   MENDEZ                   CA     90014920830
4B427A83A61963   MARIA DEL ROSA   MENDEZ                   CA     90014920830
4B42856425B53B   ELENA            MARTINEZ                 NM     90002135642
4B42923A691988   JOSEPH C         DAVIS                    NC     90013702306
4B429396851383   HOPE             SCHIMMEL                 OH     90014793968
4B429487A61963   ROBERT           JOHNSON                  CA     90004714870
4B429A45755939   LIONEL           HINOJOSA                 CA     49000640457
4B42B224572B43   WILLIAM          MILLARD                  CO     33060692245
4B42B677471999   VERONICA         HERRERA                  CO     90013986774
4B42B784193794   RODNEY           GOINGS                   OH     90006627841
4B431313641258   SURENU           FRANK                    PA     90004223136
4B43134AA84368   SHERLYN          THOMAS                   SC     90015543400
4B431395191394   KICHEKO          MCDANIEL                 KS     29041833951
4B43163125B58B   STEPHEN          WOLTZ                    NM     35097336312
4B43171865B271   JAMES            EVANS                    KY     68057397186
4B431763271934   ERASMO           HERRERA                  CO     32032287632
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4B4325A828B355   ALAN         BEASTLEY                     NC     90012765082
4B4328A3241258   CORDELL      GIBSON                       PA     51083418032
4B433134391569   JENIFER      VALENZUELA                   TX     90002641343
4B433192A84368   MARTI        KING                         SC     90013461920
4B433198751332   CHICO        CHAPPELL                     OH     90012451987
4B433216672B4B   JEWELLYNN    ELSE                         CO     90010582166
4B43394468163B   ASHLEE       KING                         MO     90005299446
4B434264593794   JEREMY       ROBERTSON                    OH     90013412645
4B434855961967   RUFINO       GARCIA                       CA     90015098559
4B4348A8661968   DULCE        RUIZ                         CA     90010688086
4B4349AA33168B   KATHERINE    MENG                         KS     90009639003
4B43564765B395   DANNY        BIRD                         OR     90010376476
4B435827551382   CHRISTIAN    COX                          OH     90010868275
4B436624747954   TONYA        CHANEY                       AR     90011126247
4B43781898B355   TARIK        BEAULIEU                     SC     90015268189
4B43823915B395   CHERISH      DAYCHILD                     OR     44595272391
4B438452891569   EVA          AGUILAR                      TX     75086594528
4B438515947954   ROBERT       HERNANDAZ                    AR     90000915159
4B438848686545   CASEY        JORDAN                       TN     90015078486
4B43B2A2693794   SHERRY       MILLS                        OH     90002712026
4B43B354971934   DARRIK       HARLOW                       CO     90013513549
4B43BA2A72B87B   MELISSA      CROWE                        ID     90014510207
4B44125668B355   MARIA        OLGUYN                       SC     90013002566
4B441328871999   KIM          GROVES                       CO     38046973288
4B4418A595B52B   MICHAEL      MAES                         NM     90014088059
4B441912851334   SCOTT        BISCHOFF                     OH     66001849128
4B442115172B4B   TERRY        KOESTER                      CO     90002121151
4B44218A92B27B   YVETTE       CHISLEY                      DC     81050441809
4B442297551383   CHRISTINA    DENKINS                      OH     90013532975
4B442338A4237B   MISTY        HENDRICK                     TN     90015483380
4B44244718B16B   TANYA        LONDON                       UT     90015504471
4B44245595B395   PAULA        SOWARDS                      OR     44553094559
4B44282215B271   FREDERICK    GRIESBAUM                    KY     68068718221
4B443139391988   DONNA        LEATHERS                     NC     17064871393
4B4431A8391394   CURTIS       WILLIAMS                     KS     90012451083
4B44323365B395   BYRON        COLLINS                      OR     90011512336
4B4435A6791351   JEFF         BRENNEMAN                    KS     29090745067
4B443A67355939   ANA          ANDRADE                      CA     90012180673
4B44415364B271   ELY          MONTOLLA                     NE     90014771536
4B444728391569   DARLEEN      DOMINGUEZ                    TX     90014637283
4B444984351382   BERNARD      BRIGITTE                     OH     66061999843
4B445126941451   PAYGO        IVR ACTIVATION               WI     90014771269
4B445297871999   DANIEL       MC DONALD                    CO     90014032978
4B445851451382   MICHELLE     MARTIN                       OH     66059938514
4B445AAA872B36   TONYA        SHUOER                       CO     90010530008
4B446181691988   LATOYA       RAY                          NC     90011611816
4B44627112B27B   CARLA        GARLAND                      DC     90014152711
4B446448A4B271   RAY          JONES                        NE     90000284480
4B44668527B694   ANDREA       BRIDGES                      GA     90014786852
4B447557755951   DANIELLE     GARCIA                       CA     90006825577
4B447785A72B4B   WAYLON       WARR                         CO     90013297850
4B44791955B52B   SOTERO       SALCIDO-SILVA                NM     36057729195
4B447A8A85B174   SHALICIA     HOLLISTER                    AR     90011110808
4B44814325B174   DENOTRA      SPEED                        AR     90008111432
4B448367651383   FELIPE       GARCIA                       OH     90014813676
4B44841A351383   KENYA        CHENAULT                     OH     90014794103
4B44868485B58B   MARY         SEDILLO                      NM     90009146848
4B44915145B52B   CHANDAL      LIKE                         NM     90011401514
4B44953573B33B   WENDY        BRAMLET                      CO     90001455357
4B449A35161963   MARIA        AGUILA                       CA     46061740351
4B44B525451383   JOHN         PEOPLE                       OH     90010385254
4B44B72153168B   MISTY        STEVENS                      KS     90014627215
4B44B762191351   KRYSTAL      OLDHAM                       KS     90015167621
4B44B77412B935   ALEXIA       GARCIA                       CA     90014747741
4B451164393794   DANITRA      BROWN                        OH     90012371643
4B451448A4B271   RAY          JONES                        NE     90000284480
4B451452984368   MARIO        RIDRIGUEZ                    SC     14534124529
4B4514A1351383   PILAR        TARBER                       OH     90014794013
4B452363371999   MARIE        TUTTERROW                    CO     38066793633
4B45263355B56B   HEATHER      GARCIA                       NM     90014586335
4B45264975B53B   AMANDA       VANOSTRAND                   NM     90009656497
4B452681651334   HEATHER      MICHEL                       OH     90012766816
4B452937672B4B   RENAE        JOHNSON                      CO     90014869376
4B453213972B51   JOAQUINA     APARICIO                     CO     90007452139
4B453454851383   MERANDA      CAMPBELL                     OH     90006494548
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4B453491151382   CHANDURA     NUBY                         OH     90002824911
4B453511961967   ROBERT       CHIPLEY                      CA     90002055119
4B453787291569   BRIANDA      BAILON                       TX     75071897872
4B4537A4A72B4B   DIEGO        QUIJADA                      CO     90011137040
4B453A27A8B16B   COREY        WINEGAR                      UT     90000320270
4B454297561963   MARIA        CASTILLO                     CA     46067942975
4B454512951334   LISA         CALHOUN                      OH     66025765129
4B454651A72B36   MARIA        ESPARZA                      CO     33094786510
4B454A76441258   MELISSA      KISNER                       PA     90003140764
4B455322561963   DANIELLE     HENDERSON                    CA     90013143225
4B455545872B43   APRIL        GRAHAM                       CO     90012815458
4B45568925B395   KARLA        HERNANDEZ                    OR     90010726892
4B455691324B7B   ANGELO       SNIDER                       DC     90013386913
4B4559A6471999   TRISH        BROWN                        CO     38091069064
4B456346191569   GILBERT      SALCIDO                      TX     90007653461
4B45634A55B174   TOIYA        COLEMAN                      AR     23076963405
4B4563A715B222   ANDY         PARRISH                      KY     90014983071
4B45672A241258   JOSEPH       DESABETINO                   PA     51014127202
4B457169551383   BRIAN        CASTILLO                     OH     90011241695
4B45718428B16B   JEREMY       DURAN                        UT     31071041842
4B457776191527   GILBERTO     GARCIA                       TX     75001097761
4B45792A155939   IVAN         ANDRADE                      CA     90011389201
4B45813448B16B   HAKEEM       KHAN                         UT     90012751344
4B458A57947954   LOURDES      RUEDA                        AR     90015010579
4B45911625B271   DANIEL       BECK                         KY     90014231162
4B459313871999   CHRISTINE    WELKER                       CO     90006903138
4B4593A6247954   LEONIDAS     ALVARADO                     AR     25011963062
4B45956318B187   BRYANT       SEARLE                       UT     90005955631
4B45956655B52B   JESSICA      TAYLOR                       NM     90013885665
4B459575191873   LOPEZ        MISAEL                       OK     21062725751
4B459917591569   CESAR        AQUIRRE                      TX     90005479175
4B45B28265B52B   JORGE        CARRILLO                     NM     90012082826
4B45B555484368   ABDEL        DIAZ                         SC     90015595554
4B46115755B174   KAYLA        GREER                        AR     90011111575
4B461322561963   DANIELLE     HENDERSON                    CA     90013143225
4B461342791351   CONCEPCION   LUNA                         KS     29069783427
4B46183468B187   MONICA       GONZALES                     UT     31073668346
4B462A12972B4B   JULIO        HERNANDEZ                    CO     33009110129
4B462A98455939   RICHARD      ROMERO                       CA     90013940984
4B46325945B174   ANGELA       CULLIPHER                    AR     90014632594
4B46336775B53B   LEANNE       JIRON                        NM     35051893677
4B463545691351   DANIEL       VEGA                         MO     90013695456
4B4636A4571934   WENDY        ALLEN                        CO     32026126045
4B46386625597B   LUIS         JAVIER                       CA     90009338662
4B46391495B222   BUFFY        SCHMIDT                      KY     68094679149
4B4639A1291988   REYNALDO     HERNANDEZ                    NC     17051529012
4B46443215B523   AMY          HORTON                       NM     35016954321
4B4645A485593B   JEROME       HARRIS                       CA     90012645048
4B464A3585B271   ALICIA       TAYLOR                       KY     90008330358
4B46534454B271   SHANE        BROOKS                       IA     90010403445
4B465759561967   CHISTINA     PRECIADO                     CA     90007137595
4B4658A9751382   HENRY        KNIGHT JR                    OH     66038558097
4B46596353B394   SHAD         HARSH                        CO     90007909635
4B465A34A51335   BETHANIE     HAWKINS                      OH     90014750340
4B466237861967   MARGARITA    ARECHIGA                     CA     90010602378
4B466715871999   KERRY        SPILLMAN                     CO     90011287158
4B46733435B53B   LITA         CASTILLO                     NM     35033143343
4B46755295B52B   GABRIEL      VARGAS                       NM     90014715529
4B46767A78B16B   EARL         HARDMAN                      UT     31062306707
4B4676A2A71934   JAZMINE      GIBSON                       CO     90010486020
4B467A1417B694   BRIAN        MORRIS                       GA     90015180141
4B4685A7791351   BAWI         KUNG                         KS     90014065077
4B46861985B174   STACIE       WALKER                       AR     90002356198
4B469174A91569   GUADALUPE    KENDRICK                     TX     75086591740
4B469276961968   AMADO        BARRERA                      CA     90013312769
4B4694A935597B   DAVID        TRUJILLO                     CA     49096334093
4B469A5145B271   ARMANDO      FLORES                       KY     68053290514
4B46B122A71999   DAMIAN       GARCIA                       CO     38092521220
4B46B792572B43   MARY         TIDWELL                      CO     33060557925
4B46B97548B16B   ISIDORE      MONTANO                      UT     31060189754
4B46B999222432   MOLLY        HENDERSON                    IL     90006689992
4B46BA84255939   ARNOLDO      DIAZ                         CA     90013940842
4B47146624B271   ARLICIA      MARSHALL                     NE     90014694662
4B471471293794   RAYNA        ALBURY                       OH     90000124712
4B47148193364B   ANGEL        ROBINSON                     NC     90013934819
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4B47179428B355   SGARNECIA     REAVES                      SC     90013347942
4B471825272B4B   KRISTY        ORTEGA                      CO     33028978252
4B47226A24B271   GODINEZ       JUAN MARTIN                 NE     27013252602
4B47286584B531   PENELOPE      GRIDER                      OK     90001708658
4B473111684368   ENRIQUE       VEGA                        SC     90005001116
4B47313A75B541   LAUREN        GAUDETTE                    NM     90011241307
4B473372261968   JENNIFER      DAVIS                       CA     90011353722
4B473777255939   CHRISTINA     FRAGUEIRO                   CA     90012827772
4B473915171946   IRIS          SUYAPA                      CO     32067049151
4B474323691351   WILLIAM       LUNN                        KS     90012603236
4B474593A51334   RASHAN        MURPHY                      OH     90014095930
4B474847951382   MARIA         PICEN                       OH     90014768479
4B475145571999   MARK          BALLOU                      CO     90014861455
4B47519A98B16B   SHEILA        AVILA                       UT     90001121909
4B475341861963   BRANDON       LAWRENCE                    CA     90013143418
4B475445551383   CARLOS        GARCIA                      OH     90014794455
4B4755A3491988   JOSE          VERASTEGUI                  NC     17063655034
4B475712771934   REMINGTOM     SOULIA                      CO     90015177127
4B475714472B4B   STEPHANIE     PEREZ                       CO     90011137144
4B47589925B271   MYESHA        GRAHAM                      KY     90006678992
4B475962993794   RODNEY        FOOCE                       OH     90010119629
4B475A63141258   ELIZABETH     JELOVICH                    PA     51079130631
4B475A77551383   TAQUISHA      KENDRICK                    OH     90014840775
4B47616515597B   SHAWN         HARGROVE                    CA     90002191651
4B4763A578B165   GUADALUPE     LOPEZ                       UT     90009313057
4B47671A19152B   ISAAC         MARTINEZ                    TX     90007907101
4B476842284368   BARBARA       YOUMANS                     SC     90012098422
4B477357891351   ANA           RANGEL                      KS     29076693578
4B477547661968   ASHLEY        A VERDUZCO                  CA     90000575476
4B47772495B223   CHAMARI       HAVARD                      KY     68010607249
4B477796391523   VIVIDIANA     FLORES                      TX     75054927963
4B47835765B174   CHIFFON       EXSON                       AR     23098713576
4B478631872B36   KEITH         ELLIS                       CO     33008846318
4B478695161967   PRENTICE      BYRD                        CA     46014766951
4B47894AA3168B   ELSA          VENTURA                     KS     22079119400
4B47914A38B16B   SELAM         DICKERSON                   UT     31085161403
4B479785372B4B   DYLAN         DAVEY                       CO     90013297853
4B47B33683168B   MALLORY       WEDEL                       KS     90013983368
4B47B369551382   TAMEKA        CHRISTIAN                   OH     90009523695
4B47B434351383   SHANNON       STAFFORD                    OH     90014794343
4B47B45A751334   TAMMY         DAY                         OH     90000414507
4B47B85935B55B   DAVID         SALAS                       NM     90011178593
4B481415471999   BENNY         VALDEZ                      CO     90013604154
4B48153495B58B   PENNY         DAVIS                       NM     35033425349
4B481928661967   MARIA         CABRERA                     CA     90004929286
4B482853973298   ANDREW        STANOWSKI                   NJ     90013788539
4B482884851382   DWAYNE        DAVIS                       OH     90014668848
4B482981472B4B   CHRISTOPHER   REHM                        CO     90013259814
4B482A3585B271   ALICIA        TAYLOR                      KY     90008330358
4B48324235B223   ZACHARY       WHITE                       KY     90006332423
4B48335172B27B   ANTONIO       CISNEROS                    DC     90015153517
4B484139471934   ZACHARY       STOVER                      CO     90011291394
4B484289791873   DAKOTA        NICHOLS                     OK     90013972897
4B48441382B87B   ISAIAH        RAMIREZ                     ID     90010804138
4B48467175B53B   ALFREDO       QUINONES                    NM     90006556717
4B484726691569   RODOLFO       RAMIREZ                     TX     75068517266
4B48496735B52B   RUBEN         GARCIA                      NM     90006199673
4B48517825B58B   JIMMY         HERNANDEZ                   NM     35043521782
4B485865772B43   SHONETTA      COOPER                      CO     90014848657
4B486389A93794   ELIZABETH     TOMLINSON                   OH     90014563890
4B486713293741   FREDRIX       SAVORS                      OH     64593297132
4B486883891873   MARSHAYLA     ROBINSON                    OK     90014098838
4B486A1815B271   FRANSHESCA    NIEVES                      KY     90013480181
4B48745A151383   AMANDA        CIONE                       OH     90014794501
4B487858972B43   JOSHUA        GARDUNO                     CO     90012928589
4B488419261968   LETICIA       CORREA                      CA     46097244192
4B48842462B87B   JAMES         PECOR                       ID     90006324246
4B48845295B53B   PATRICIA      BARTLEY                     NM     90010124529
4B488691147954   DIANE         ASBURY                      AR     25028886911
4B4889A9448B23   ELI           MILLSTEIN                   CO     90000899094
4B489111393794   ORLANDO       RODRIGUEZ                   OH     90007621113
4B489116891988   DAPHINE       DAVIS                       NC     17095691168
4B489558472B4B   ANGEL         WLATHER                     CO     90001845584
4B489661172B36   JUAN JESUS    ESPARZA                     CO     90013206611
4B489726791351   LUIS          NOBLE                       KS     90009827267
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4B48985418B165   AARON           PITCHER                   UT     31039338541
4B48B137291873   SORAYA          WRIGHT                    OK     90005561372
4B48B767A6B275   JOE             SIMS                      AZ     90014017670
4B48BAA1A5B174   ALLEN           CLARENCE                  AR     23050340010
4B491143755939   EVERETT         JACKSON                   CA     90013941437
4B491211491324   JENNIFER        SANBORN                   KS     29027162114
4B491759347954   SANDRA          GAMEZ                     AR     90012837593
4B4922A7893794   LIL MAMA        WILLIAMS                  OH     66049202078
4B492339191569   YVETTE          GONZALEZ                  TX     75095753391
4B492344191523   LORENA          VENEGAS                   TX     75054933441
4B492483791834   JOHN            HOWLEY                    OK     90012204837
4B493351393794   HEATHER         ROSENWIRTH                OH     90011083513
4B493535755939   VICTORIA        GONZALES                  CA     49073105357
4B49369495B53B   LUCERO          CHAVEZ                    NM     90012986949
4B494565647954   ODALIS          MEZA                      AR     90011515656
4B49467555757B   ALEXANDRA       TORRES                    NM     90014016755
4B494795A5B52B   MARIA           MUNOZ                     NM     90011957950
4B495317A91351   CEDRICK         CARTER                    KS     90010403170
4B49536575B52B   MARIA           MIRAMONTES                NM     90012493657
4B4955AA82B87B   JAMIE           TEATER                    ID     41083945008
4B49569765B53B   BRITTANY        PASQUAL                   NM     90013006976
4B495959751382   JESSICA         EDISON                    OH     66080069597
4B497124651334   KENNEY          HAMMONDS                  OH     66093701246
4B4971A175B58B   MARIA           GARCIA                    NM     90013781017
4B49725955B271   DECARLOS        THOMAS                    KY     68040212595
4B497455151383   KEVIN           BLANTON                   OH     90014794551
4B497465472B32   STEVE           WITUCKI                   CO     90012604654
4B49791115B523   JEROME          MEDINA                    NM     90010739111
4B49791884B271   DECIA           WALKER                    NE     90011399188
4B498457351383   TRAVIS          RUSSELL                   OH     90014794573
4B498611171999   JOSEPH          MUNIZ                     CO     38034516111
4B49864834237B   MARCUS          MOORE                     GA     90015386483
4B499474691873   EBONY           LYNCH                     OK     90014004746
4B4999A895B271   MELISSA         SMITH                     KY     90010429089
4B499A43261968   FEDDY           NIETO                     CA     46071900432
4B49B13515B52B   CONSTANCE       LUJAN                     NM     90002721351
4B49B887261968   LAWRENCE MARK   PUSEY                     CA     90012848872
4B4B1239951383   JENNIFER        LAY                       OH     90013452399
4B4B155815B389   DANIAN          TOWNER                    OR     44577795581
4B4B1627172B32   IRMA            ROBLES                    CO     33006936271
4B4B179515B523   JOSEPH          ARRIETTA                  NM     90005997951
4B4B181253B343   NORMAN          JONES                     CO     33048848125
4B4B2456A61963   REBECCA         DECORSE                   CA     90010904560
4B4B248355B271   SEBASTIAN       VASQUEZ                   KY     90008484835
4B4B2522193794   CHUCK           MILLER                    OH     66052175221
4B4B259315B53B   YAMIRA          JIMENEZ                   NM     90009195931
4B4B2644A8B355   FAUNA           LLANES                    SC     90011866440
4B4B2735A51382   EUGENE          ARNOLD                    OH     90010587350
4B4B29A6571946   TRIPP           DANIEL                    CO     32000279065
4B4B31A6693794   MICHAEL         MONTEITH                  OH     66005381066
4B4B37A652B87B   PAUL            MUELLER                   ID     41094267065
4B4B38A975B523   KAYLA           SALAZAR                   NM     90005998097
4B4B434448B16B   JOSE            MEDINA                    UT     31097063444
4B4B4747A8B355   TYRELL          FOSTER                    SC     90015347470
4B4B475A472B25   KELLY           MILES                     CO     90009487504
4B4B4A1788B185   MARIA           DIAZ                      UT     31042540178
4B4B526A83168B   MARTIN          NEUFELD                   KS     90012602608
4B4B5669A5B58B   THOMAS          JONAS                     NM     90004266690
4B4B6197272B4B   MARYAN          ABDI                      CO     90003721972
4B4B63A4791351   ANGELA          DANIELS                   KS     90012993047
4B4B6565751383   JUDY            GILLIG                    OH     90013075657
4B4B7662984332   DONNA           RIVERA-RENTAS             SC     90012196629
4B4B7667A2B27B   CHERYL          CATER                     DC     90001316670
4B4B773797B694   MILTON          HUBER                     GA     90014857379
4B4B7893247954   MELISSA G       LINDSY                    AR     90014158932
4B4B7A9578B355   JOSEPH          RIVERA                    SC     90011870957
4B4B8564272B33   BERNADETTE      SISNEROS                  CO     90013245642
4B4B866877B694   STACEY          TODD                      GA     90010996687
4B4B8A55171934   MARY            ENGLISH                   CO     90011530551
4B4B91A1655939   ALFREDO         GONZALEZ                  CA     90011541016
4B4B9343293794   NATHAN          JOHNSON                   OH     90000123432
4B4B9A9635B52B   CHRISTOPHER     LUCERO                    NM     90011520963
4B4BB141561963   JOSE ISRAEL     PORTILLO                  CA     90014121415
4B4BB14955B52B   SEAN            WYNNE                     NM     36085021495
4B4BB931291569   ARICHELL        ORTEGA                    TX     90013869312
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4B511363361968   JASMINE        AVILA                      CA     46035873633
4B51171A691569   JOANN          ORRANTIA                   TX     90013877106
4B511932284368   FRANCISCO      ORTIZ                      SC     90015139322
4B512289861968   ANABEL         SANCHEZ                    CA     46000292898
4B512495251383   ARISSA         ROBINSON                   OH     90014794952
4B512A14972B47   SANDY          ICKE                       CO     90011530149
4B51313845B271   GEORGE         COMPTON                    KY     90015051384
4B51319285B52B   CELIA          MARTINEZ                   NM     90001091928
4B5131A2977336   NATALIE        MYERS                      TX     90007211029
4B513277472B4B   ADAM           TISCH                      CO     90011792774
4B513469972B43   JUAN           ROBLES                     CO     33048304699
4B513554171999   ETHAN          GILL                       CO     38014565541
4B513729942339   MARVIN         THORNBROUGH                GA     90013517299
4B513A3714B271   ROSA           ORTIZ                      NE     27098610371
4B51412645597B   VANNESA        CASTANEDA                  CA     90010621264
4B514356161963   RAMON          PINAL                      CA     46061903561
4B514373171934   ARTURO         GALAVIZ                    CO     90015183731
4B514482793751   BRANDI         REYNOLDS                   OH     90009964827
4B51487A491873   LARRY          MOORE                      OK     90007608704
4B515161171934   DOROTHY        DAY                        CO     90015201611
4B51526A25B52B   SANDRA         MONTOYA                    NM     90012502602
4B515541591988   TODRA          THORNTON                   NC     90008435415
4B515876955939   PRELTYFLOWER   DELGADO                    CA     90013698769
4B516161171934   DOROTHY        DAY                        CO     90015201611
4B5162A9A2B275   DARRRYL        DOWTIN                     DC     90012012090
4B516596951383   JOE            FROST                      OH     90013605969
4B5166A279126B   RICHARD        COLEMAN                    GA     90012646027
4B516AA6961963   AUDIE          ROESELER                   CA     90014930069
4B517371872B36   HUGO           DIAZ                       CO     33085603718
4B51741895B53B   MICHAEL        FISHER                     NM     90013044189
4B517472171999   DIOSONE        GEONZALES                  CO     38064994721
4B517696A71934   JHONNY         LOPEZ                      CO     32033476960
4B517A75191569   CARLOS         PEREZ                      TX     75048430751
4B51828768B16B   ANCHULEE       SOUKNARY                   UT     90014092876
4B518399191873   JESSICA        DUNHAM                     OK     90009653991
4B518596951383   JOE            FROST                      OH     90013605969
4B518761933695   TINA           MORTON                     NC     90014697619
4B5187A9961967   MARY           JONES                      CA     46070477099
4B51883A991569   MANUEL         ACEVEDO                    TX     90012068309
4B518985872B36   ELENA          GAMBOA                     CO     90013759858
4B519331661963   FRANK          GOMEZ                      CA     46032803316
4B51943698B185   COLBY          CROWTHER                   UT     90001434369
4B519478161968   MONA           ROJAS                      CA     90013304781
4B519972A41258   JONATHAN       MAYHEW                     PA     90007099720
4B519A1A25B53B   MIKE           RAMOS                      NM     90013030102
4B519A47991569   CLAUDIA        SAENZ                      TX     75020280479
4B51B13595B271   DJ             WILSON                     KY     90015051359
4B51B3A435597B   RUBY           CHAVEZ                     CA     90009623043
4B51B4AA572B43   JOHNNY         WISON                      CO     90006504005
4B51B8A9A72B36   JUAN           RIVERA                     CO     90014158090
4B51BA5A291394   HALEY          EISENHOWER                 KS     90004170502
4B521114891569   LAURA          SOLIS                      TX     75034761148
4B521518461967   BERENICE       SANCHEZ                    CA     46014825184
4B521A2A72B87B   MELISSA        CROWE                      ID     90014510207
4B52246335B223   JASON          DOWNEY                     KY     90014514633
4B52255185B223   JASON          DOWNEY                     KY     90005405518
4B522567A91394   ELIGIO         ESCALANTE                  KS     29097205670
4B522726872B43   ARCELIA        ALDANA                     CO     33079567268
4B52274465B271   CHAUNCEY       JONES                      KY     90009847446
4B5227A7A5B53B   TANARAE        ROMERO                     NM     35096827070
4B52319A972B43   MICHELLE       MONDRAGON                  CO     90012191909
4B523616393794   KONI           ADAMS                      OH     66031266163
4B523739591569   NORA           ALONZO                     TX     90010857395
4B52374233B35B   ERNEST         KOSAREK                    CO     33091177423
4B524199371934   MARLENE        DARDEN                     CO     32087091993
4B52438595B271   PAYGO          IVR ACTIVATION             KY     90014233859
4B524443873298   TODD           DEMOTT                     NJ     90014624438
4B524814791569   ADRIANA        VILLALOBOS                 TX     75072018147
4B524965261953   KHALIEB        HAIGAER                    CA     90009929652
4B52518722B87B   APRIL          BAUMGARTNER                ID     90006721872
4B525228A61968   HARRY          BROSTEDT                   CA     90014612280
4B525267A72B4B   DAWN           HOWE                       CO     33009352670
4B525528451383   ROBERT         HUDSON                     IN     90014795284
4B525558991988   FRANCISCO      PADIMA                     NC     90013685589
4B52594A85B53B   DAVID          BARRESI                    NM     35076809408
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4B52625A491394   TYCHELLE          COLEMAN                 KS     90010762504
4B526382951383   SUSAN             SHOEMAKER               OH     90014813829
4B526651991988   AISHA             SANDERS                 NC     90014756519
4B52677A96B275   JOE               SIMS                    AZ     90014017709
4B5269A652B27B   BESSIE            DAVIS                   DC     90011449065
4B527122661967   FABIAN            GONZALEZ                CA     90010781226
4B5278A1872B36   SHANE             MONTROY                 CO     90010078018
4B52815715B395   SETH              GREEN                   OR     90010871571
4B5282A2991873   SHERRIE           PENBERGRAPH             OK     21051592029
4B528535347954   VINCENT           BULLOCK                 AR     90012585353
4B528712691569   ANDRES            HERMOSILLO              TX     90013877126
4B528818455939   JOSEPH            ELIZONDO                CA     49015598184
4B529114151383   ALEASHA           MICHELLE                OH     90014681141
4B529144851382   JUSTIN            BEARD                   OH     90013121448
4B529A4385B526   JEANETTE          SANCHEZ                 NM     90011990438
4B529AA425B53B   SERGIO            VALDEZ                  NM     90015060042
4B52B549391988   KEVIN             HENRY                   NC     90013145493
4B52B735193794   KELLY             WILLIAMS                OH     90004887351
4B52B869155939   JUAQUIN           GONZALEZ                CA     49087408691
4B52BA66155951   EMIGDIO           VAZQUEZ                 CA     90003200661
4B53139648B355   LISBETH           ROSARIO                 SC     90012473964
4B531485171934   RAINBOW           RILEY                   CO     90014294851
4B531721A71934   RAINBOW           RILEY                   CO     90010487210
4B531728933632   RONNIE            COVINGTON               NC     90003017289
4B531899761968   ALEJANDRA         VILLATORO               CA     46075438997
4B53214595B271   ASHLEY            COLVIN                  KY     90015051459
4B53218668B355   FRANCINA          DANTLER                 SC     90008551866
4B532263371999   ALEXANDRA         ROMERO                  CO     90007112633
4B532732472B4B   NICKOLAS          FLORES                  CO     90012907324
4B532967851382   ROBERTO DEL FIN   DIAZ                    OH     90014669678
4B532A19A8B185   FREDDY            GAJARDO                 UT     31097620190
4B533545391351   MARI              ZAMORA                  KS     90014875453
4B53385775B222   MICHAEL           MILES                   KY     90012478577
4B5339A3872B36   WILLIAM           CHAVIS                  CO     90013749038
4B534287291982   WILBER            FERNANDEZ               NC     90009392872
4B53434798B123   ANDREW J          LEE                     UT     90000803479
4B53462665B264   SHERITA           PARR                    KY     90006496266
4B534637355939   VICTOR            MENDES                  CA     90010926373
4B534895584368   STEVE             KENYON                  SC     14538518955
4B53544358B187   SHELLY            CAMARA                  UT     90005994435
4B53552445B271   VATACIA           PARKER                  KY     68069205244
4B5357A2A5B395   SAROJNI           KUMAR                   OR     90007977020
4B535838861963   NORA              CORTEZ                  CA     90003138388
4B53585519155B   MICHELLE          SAENZ                   TX     90004688551
4B5362A162B27B   STEPHANIE         THOMAS                  DC     90004362016
4B5364A4572B39   JAIME             ANDRADE                 CO     90000114045
4B536622351334   SIERRA            PATTERSON               OH     66093196223
4B536727972B4B   SIWESTI VIOLA     GILLEY                  CO     90011137279
4B53673765B271   TYNEKA            ELLIOTT                 KY     68007887376
4B536742191873   YLONDA            DREW                    OK     90011517421
4B536A3A18B16B   LEDNAC            AGUILERA                UT     90011620301
4B5376A2991351   UFORD             LINDSAY                 KS     90003896029
4B53775955B53B   ANN               HUBBLE                  NM     35008717595
4B537779261963   BRIANNA           RAMIREZ                 CA     90014937792
4B538491691988   ALBA              LUZ                     NC     90009884916
4B5386A5891569   JULIO             GARCIA                  TX     90012666058
4B539192791394   JULIO             MARTINEZ                KS     29007451927
4B5393A8651383   REGINA            SOHMERS                 OH     90014773086
4B539467172B4B   JUAN              ALTAMIRA                CO     33015904671
4B539788261968   ROBERT            WEEKS                   CA     90004737882
4B539796171934   ROSENDO           RAMIREZ                 CO     32091047961
4B53B28778B165   JANET             WEECH                   UT     90005912877
4B53B36248B16B   VICKY             LYNN                    UT     90008113624
4B53B83692B935   FABIOLA           PADILLA                 CA     90001798369
4B53B87358B187   JO                EDDY                    UT     90006528735
4B53B87818B185   SANDY             ACOSTA                  UT     31057218781
4B54151625B174   BOYCE             BURNS                   AR     90014485162
4B541648961967   OLIVA             GARCIA                  CA     46010516489
4B54169A293794   JAMES             HUDSON                  OH     66070216902
4B541973A61968   ANTONIO           CHAVEZ                  CA     90010519730
4B542164661967   VERONICA          CHAVEZ                  CA     90010111646
4B542164872B43   DANNY             HILVERDING              CO     90005901648
4B542319961968   KAREN             ALLEN                   CA     46000303199
4B54262665B174   STANLEY           TURNER JR               AR     90010256266
4B542981171999   CARRIE            CREAPO                  CO     38080869811
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4B54298345B58B   DORA         DUARTE                       NM     35075399834
4B543181561968   BERNA        LARIOSN                      CA     90011991815
4B543648A8B16B   BREANNA      CONWAY                       UT     90014716480
4B543921891873   BROOKE       MAXEY                        OK     21094299218
4B54423A272B36   LEONEL       IBARRA                       CO     90010042302
4B54455A78B355   CARLOS       ROMERO                       SC     90003835507
4B544681971934   JASON        RICE                         CO     32017106819
4B5447AAA55939   RECHEAL      BROWN                        CA     49095767000
4B544A37571946   CYNTHIA      PARTIN                       CO     90003150375
4B544A82991988   JONATHAN     CHINA                        NC     90014770829
4B545125A4B271   VERONICA     JOBB                         NE     90013241250
4B545232951334   GERSON       ROBLERO                      OH     90010402329
4B54525515B53B   DIANE        MUNIZ                        NM     35015582551
4B545255651383   MICHAEL      TAYLOR                       OH     90008032556
4B5456A1524B3B   LILIAN       JURADOLARA                   VA     81057206015
4B545828872B36   GEORGE       REEZES                       CO     90010408288
4B5459A425B58B   URSULA       BEGAY                        NM     90014279042
4B546324793794   PAMELA       KEHRING                      OH     90013223247
4B546681551383   MELANIE      GAINES                       OH     90008356815
4B546719A91873   HEAVEN       AUGUST                       OK     90013377190
4B54675855B523   ANGEL        FERNANDEZ                    NM     90013767585
4B547111661963   CARMEN       HERNANDEZ                    CA     46057221116
4B54716A75B271   ANITA        WELLS                        KY     90008331607
4B547348571999   LOUISE       RUYBAL                       CO     38098903485
4B54739864B271   LISA         JOHNS                        NE     90003853986
4B547692271934   JUANA        LANZAS                       CO     90015046922
4B547872893794   JAN          GRIFFITH JR                  OH     66023408728
4B54793185597B   YESENIA      BEJINEZ                      CA     90009019318
4B547A8A191988   ELIZABETH    SANCHEZ                      NC     90014750801
4B548137471934   JANAY        SANDERS                      CO     90001711374
4B5484AA191523   LUPE         LIMON                        TX     75055444001
4B548726193794   DIANA L      EHLERS                       OH     66045977261
4B548A38355939   GRISELDA     MORGAN                       CA     49042660383
4B54926983168B   JANIE        WEBER                        KS     22040892698
4B54942A761994   THOMAS       JOHNSTON                     CA     90005864207
4B549536555939   ANISHA       QUINTEROS                    CA     90014825365
4B549557161967   FETULI       AGAU                         CA     46094815571
4B54B13A384368   ALEJANDRO    ESTRADA MARTINEZ             SC     90012831303
4B55122265B223   OLIVERIO     RODRIGUEZ                    KY     68015542226
4B551235871999   CRYSTAL      WEST                         CO     90010622358
4B551589751334   MARCUS       SHIFFLETT                    OH     90014585897
4B551724A5B52B   EDGAR        AVILA PEDROZA                NM     90011057240
4B551AA4772B4B   VICTOR       RODRIGUEZ                    CO     33068800047
4B55215942B27B   NYGARI       OTTLEY                       DC     81029091594
4B553829584368   SAMUEL       BONILLA                      SC     90003948295
4B553857961968   APRIL        HORVATH                      CA     90015188579
4B5539A1291569   ADRIAN       GARCIA                       TX     90009609012
4B553A78361925   JULIA        OCAMPO                       CA     90002490783
4B554368661963   ROSALBA      MILLAN                       CA     90001523686
4B55543A12B87B   GEORGE       BERNARD                      ID     41075674301
4B5556A7271999   FRANK        ROLDAN                       CO     38051396072
4B55622665B58B   JESSICA      MASTRONARDI                  NM     35081112266
4B55695278B355   JAMIE        PAUL                         SC     90014809527
4B55718232B583   KEVIN        COOPER                       AL     90015441823
4B55751A755939   ROSA         ANGULO                       CA     90012375107
4B5579A7772B43   MARIA        SAMANIEGO JUAREZ             CO     33064209077
4B558254741258   ANITA        WALSH                        PA     90007962547
4B558411271999   ESPERANZA    SENA                         CO     90014874112
4B55851695B52B   LORENZA      ALVARADO                     NM     36043195169
4B55857257B694   BILLY        BRADFORD                     GA     90014775725
4B55865AA47954   MICHAEL      COZZAGLIO                    AR     25098606500
4B558736A71934   CITLALI      CASTILLO                     CO     32030767360
4B558752871999   KATTIE       GLESON                       CO     90015527528
4B55891835B174   ANGELA       HOLLADAY                     AR     90014449183
4B559536191873   JEFFERY      SOSSIN                       OK     21082865361
4B55985265B395   ROBERT       COFFIN                       OR     90010738526
4B559A3245B58B   JULIE        MOSHTER                      NM     90012800324
4B55B176155939   NINA         YOUNG                        CA     90013411761
4B55B3A5761986   YVETTE       GOMEZ-RAMOS                  CA     90005443057
4B55B42A391988   JAYMIE       HAMMIEL                      NC     17038664203
4B55B587A51382   BONNIE       DAUGHERTY                    OH     90014185870
4B561485384368   MARIA        DE LOS REMEDIOS              SC     14502864853
4B56161348B183   DAGAN        BOURP                        UT     90014936134
4B561692A47954   ANTHONY      WALTON                       AR     25012676920
4B5623A1371934   LOUIS        MARTINEZ                     CO     32098793013
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4B562589361963   ALEJANDRO    ARELLANO                     CA     90008775893
4B562693593794   RILEY        BAKER                        OH     90015246935
4B563147772B43   DEMON        BYRD                         CO     90014771477
4B56341A54B547   CAROLYN      OFORI                        OK     90010774105
4B56353795B58B   CARLOS       LUCERO                       NM     35013115379
4B563972291351   CYNTHIA      LYONS                        KS     90008609722
4B5641A7655939   DEREK        PHINES                       CA     90014971076
4B564577271999   HARLEY       SANCHEZ                      CO     90014715772
4B56468495B174   TIFFANY      JOHNSON                      AR     90000866849
4B564716A55951   ERUBIEL      SALAZAR                      CA     90002077160
4B564AA6472B43   JESUS        REYES                        CO     90015150064
4B565458255939   RENE         REYES                        CA     49078644582
4B56575932B27B   BRIAN        LIMES                        DC     81054007593
4B56595A772B4B   LISA         STAWSKI                      CO     90012809507
4B565982747954   JACKELINE    MARTINEZ                     AR     90003749827
4B566254291873   LATOYA       BRADLEY                      OK     90014162542
4B56643163168B   ASHLEY       SAUCEDA                      KS     90014164316
4B56652472B27B   KHALIF       HENRY                        DC     90012545247
4B566929A31883   ANTONIO      MENDEZ                       LA     90015379290
4B5673AA391569   JORGE        VILLANUEVA                   TX     75086583003
4B567419471999   SIERIA       MOLDONADO                    CO     90013744194
4B567886A2B27B   OSCAR        MIRANDA                      DC     90009398860
4B5681A3A72B43   LEONARD      HARTNEY                      CO     90013151030
4B568235871999   CRYSTAL      WEST                         CO     90010622358
4B5683AA472B36   KATIA        GUTIERREZ                    CO     33009113004
4B568418991394   LISA         MARTIN                       KS     90007544189
4B568718A72B4B   ANGELICA     JAUREGUI                     CO     90008257180
4B568A73884368   VERONICA     MORALES                      SC     90012180738
4B568A8418B165   REED         FERRIN                       UT     31076180841
4B56977A561963   DOMINICA     JONES                        CA     46078807705
4B56988832B87B   JACK         EDMENSON                     ID     41081728883
4B56B534361963   BRIGITTE     ELFMAN                       CA     90009535343
4B56B947971999   ERIC         AVALOS                       CO     38089529479
4B56BA2598B187   NICHOLE      MORSE                        UT     90010810259
4B57115435B58B   RAMIRO       MONTANEZ                     NM     35052831543
4B57124AA2B87B   JASON        HERR                         ID     41015032400
4B571832272B4B   MILICIA      GARCIA                       CO     90008288322
4B571997871999   ZACK         MAYO                         CO     90013419978
4B572243593794   CURTIS       WATSON                       OH     90015592435
4B572778491569   CINTHYA      SANTIAGO                     TX     75048207784
4B573477172B4B   RAUL         GODOY                        CO     33023534771
4B573916A5133B   MARLYN       IVEY                         OH     90008519160
4B57463472B87B   THOMAS       ACKLEY                       ID     90013636347
4B574653161547   KATHERINE    OTTS                         TN     90015356531
4B57474A55B53B   MICHALE      LAWING                       NM     90013207405
4B574813461968   ANGELICA     MORALES                      CA     90013758134
4B574877872B43   ANITA        MAESTAS                      CO     90002678778
4B575262351383   JOSE         ANDRADE                      OH     90011242623
4B57564455B58B   LUCAS        NELSON                       NM     90008906445
4B576147351382   ELIZABETH    FEAR                         OH     66017601473
4B576777991988   ANDRE        CALDWELL                     NC     17058057779
4B576784391351   MARTA        VILLALOBOS                   KS     29085667843
4B57679655B55B   EMILY        LUJAN                        NM     90013967965
4B57691377B694   JARROD       ABLES                        GA     90014909137
4B576A79455928   DAWN         HEBERER                      CA     49049840794
4B5773A6791988   BERNARD      MOORE                        NC     90010793067
4B577796372B43   SHAWNA L     CDEBACA                      CO     90009907963
4B577A26747954   AMANDA       GEORGE                       AR     90014510267
4B578447231481   ADRIENNE     KIENTZY                      MO     90001004472
4B57847262B27B   LASADIE      REDDICK                      DC     90011434726
4B578539973264   STEVEN       COLE                         NJ     90014925399
4B578618661963   RODERICK     MOORE                        CA     90010276186
4B57861993168B   CARRIE       GUTSCHER                     KS     90013836199
4B57894929133B   MARILYN      THOMAS                       MO     90014309492
4B579132A51383   ANTROINE     EVANS                        OH     90004151320
4B57931A155951   ALVARO       HERNANDEZ                    CA     49015913101
4B579514691569   HILDA        ALVAREZ                      TX     75089345146
4B579542861968   HAYDEE       BELMONT                      CA     90013385428
4B5796A7971934   LORENA       VIANA                        CO     32059566079
4B579A21155939   RHONDA       SHACKELFORD                  CA     90015340211
4B57B286347954   DANIELLE     SHAW                         AR     90011032863
4B57B376872B4B   MEGAN        KELLEY                       CO     33027233768
4B581536191569   TAMMY        RODRIGUEZ                    TX     90009775361
4B582144391873   MICHAEL      MORRIS                       OK     21004441443
4B582319261963   RAMONA       DIAZ                         CA     90011723192
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4B582789261968   JOSE         ANTONIO ARTEGA               CA     46079647892
4B58399795B523   ANASTACIA    MEDINA                       NM     35045019979
4B583A87371934   LISA         SHAFFER                      CO     90002970873
4B584169551382   S            SMITH                        OH     90007461695
4B584446861968   TOMDIEL      GUY                          CA     46097864468
4B584564791988   IRIS         HARRIS                       NC     90013165647
4B584A23693755   LYNDSAY      WELLIFORD                    OH     90012740236
4B585343351383   SAMANTHA     SEXSON                       OH     90014803433
4B585471972B43   ESTAFFANI    RUANO                        CO     90010724719
4B5854A498B185   STEPHEN      SPARKS                       UT     90005424049
4B586276961968   AMADO        BARRERA                      CA     90013312769
4B5864A1A73264   BILLIE       CROW                         NJ     90012954010
4B586638422463   LAUREN       LUMPP                        IL     90015446384
4B586667455939   PRISCILLA    MORENO                       CA     90008026674
4B586919161963   HENRY        WALLACE                      CA     46033959191
4B58696792B27B   SECUNDINO    RAMIREZ                      DC     90015279679
4B586A75784368   LUCIA        ALVARENGA                    SC     90013750757
4B586A91651334   CHARLENE     HENSLEY                      OH     90005610916
4B58712625B52B   EVANILIA     MONRROY                      NM     90005601262
4B587449661963   MAGNOLIA     TIVAO                        CA     90006904496
4B587554A5597B   REVECA       ABAS                         CA     90004185540
4B587573271934   RACHEAL      AUGHENBAUGH                  CO     90015215732
4B587697355951   NATALIE      FLORES                       CA     49032316973
4B5877A5691988   SHERECE      MCNEIL                       NC     90011657056
4B58789948B155   MAGDALENA    GONEZALES                    UT     90001798994
4B588343351383   SAMANTHA     SEXSON                       OH     90014803433
4B588712961963   ARCELIA      CUELLAR                      CA     90008887129
4B588882284368   THOMASA      SOLIS                        SC     90010178822
4B58932A85B58B   CLARRISSA    SANCHEZ                      NM     90014033208
4B589739655939   SAMANTHA     RAE                          CA     90011527396
4B58B35693168B   HEATHER      KLAASSEN                     KS     90015343569
4B58B97535B395   HEATHER      GREEN                        OR     44512379753
4B58BA7A351382   EBONY        STWART                       OH     90011940703
4B59116A184368   BRITTNEY     SMART                        SC     90005441601
4B591287555954   GYSSELLE     JIMENEZ                      CA     90011572875
4B5914A487B694   CHANTELLA    WOOD                         GA     90011714048
4B5921A672B27B   MICHAEL      NEAL                         DC     90002791067
4B59236665B395   CAMILLA      AL-ABDULLA                   OR     44545723666
4B59236A84B271   APRIL        JACKSON                      NE     27057993608
4B593227A93794   JANSON       MAZE                         OH     90015602270
4B593384751334   PORTIA       WOODWARD                     OH     90013553847
4B59358715B222   TINA         WHITE                        KY     68002005871
4B59372A85597B   ESTEBAN      ROQUE                        CA     49039887208
4B593735471934   AMANDA       MORRISON                     CO     32028907354
4B5938A145B52B   DIEGO        VELASQUEZ                    NM     90012648014
4B593915972B4B   SANRA        DELGADO                      CO     33068789159
4B59424512B583   TYANGIE      DAVIS                        AL     90013952451
4B594858A5B926   LUIS         PACHECO                      WA     90015418580
4B595266693794   BRITTANY     VINUP                        OH     90014142666
4B5952A6461965   ANGELA       VENTURA                      CA     90001192064
4B59541375B523   URIEL        ANCHONDO                     NM     35046284137
4B596625493794   ANGELA       COPAS                        OH     90012866254
4B5966AA12B27B   WILIAM       MALLORY                      DC     90003836001
4B59697348B355   SCOTT        CLAPPER                      SC     90011479734
4B597144591394   MARIA        RUIZ                         KS     90011501445
4B597312971946   MICHAEL      OROSCO                       CO     90002513129
4B59746227B386   ROSA         GONZALES                     VA     81083414622
4B59778946198B   SYLVIA       GALVEZ                       CA     90007977894
4B59812888B355   YASMINE      NICHOLS                      SC     90004201288
4B59816565B52B   NUVIA        ALVARADO                     NM     90008311656
4B5982A2771934   MONICA       TINJERO                      CO     32071852027
4B598317693794   JUSTIN       WALKER                       OH     90014933176
4B59856938B16B   LEE          BEVERIDGE                    UT     31029565693
4B59933985B53B   DONALD       JARAMILLO                    NM     90013853398
4B59978435B52B   JOSE         PEREIRA-CARBAJAL             NM     90014057843
4B599A24193794   COURTNEY     BATHORI                      OH     66085860241
4B59B49968B185   RUSSELL      CLUFF                        UT     90003404996
4B59B749A5B58B   JUAN         CASTILLO                     NM     90008767490
4B59BA6825B271   STACEY       HINDMAN                      KY     90014240682
4B5B15A988B355   JOSELUIS     MORALES                      SC     90013315098
4B5B1681A91351   CONNIE       WYRICK                       KS     29091976810
4B5B1979A61963   MARIA        WAZIR                        CA     90014929790
4B5B2167A5B223   JENNIFE      LINDSEY                      KY     68013041670
4B5B263522B27B   GREGORY      CUNNINGHAM                   DC     81012576352
4B5B317465B523   JOSE         MEDINA                       NM     35071971746
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4B5B338298B165   BRENT        TAYLOR                       UT     31090553829
4B5B3892655951   MARCOS       MORENO                       CA     90001928926
4B5B4319293755   JEAN         NDAYISHMIYA                  OH     64530043192
4B5B4487572B4B   DAVE         ESPINOZA                     CO     33020584875
4B5B469A272B43   JOCELYN      ARREDONDO                    CO     90007106902
4B5B4838771934   ROCIO        RAMOS                        CO     32063008387
4B5B495553146B   CHIKAKO      USUI                         MO     90011839555
4B5B514513168B   RAMOS        BENCOMO GUSTAVO              KS     90006541451
4B5B5345351334   SAM          DUNKER                       OH     90002793453
4B5B551498B355   JAIME        RIDLON                       SC     90010075149
4B5B576112B27B   IRMA         ESTELA                       DC     81089757611
4B5B6419551383   PHILLIP      WITTERSON                    OH     90012494195
4B5B643764B541   TERESA       POWERS                       OK     21573264376
4B5B6544A5B58B   ERNIE        ENCEE                        NM     90012615440
4B5B6A1548B165   CARLOS       ABELARDO                     UT     90007980154
4B5B6A6538B16B   FLINT        SHAW                         UT     31082310653
4B5B777A25597B   HILDA        MUNGUIA                      CA     90005477702
4B5B7922893794   DENISE       ESTEP                        OH     90010869228
4B5B821773168B   BRANDON      HESSMAN                      KS     90009282177
4B5B8619857126   JORDAN       REYES                        VA     90008906198
4B5B872A25B52B   ERICA        TREVIZO                      NM     90008287202
4B5B8772191988   ANGELA       HESTER                       NC     17080907721
4B5B89A9851382   JOSE         GOMEZ                        OH     90014669098
4B5B956548B16B   MODESTO      TAPIA                        UT     90014855654
4B5B964214B271   BRUCE        SMITH                        NE     90006226421
4B5B9725572B36   CRISTINA     RODRIGUEZ                    CO     33026677255
4B5BB145772B43   DORIS        WHITE                        CO     90014771457
4B5BB325231277   ADRIANA      HERRERA                      IL     90015143252
4B5BBA18384368   JOSE         ADAME                        SC     90010210183
4B5BBA1A72B27B   MELVIN       MONROE                       DC     90014970107
4B611146991351   ASHLEY       JUNE                         KS     29037611469
4B61135627B456   DEBRA        HOPKINS                      NC     90015173562
4B61166445B174   SANA         ABDULLAH                     AR     90010826644
4B61168548B355   ANNA         TRIESTER                     SC     90013566854
4B61171A372B36   ZACHARY      LATHAM                       CO     90008327103
4B61198A15B53B   KEVIN        PACHECO                      NM     90004909801
4B611A3A191988   RODNEY       BURNETT                      NC     90014340301
4B612747272B43   FRANKIE      ORTEGA                       CO     90002507472
4B612857351334   CHRISTINA    WEIL                         OH     90012368573
4B613789772B4B   MELANIE      SUTTON                       CO     33027277897
4B61424568B355   CHARLES      NEMETE                       SC     90006972456
4B61433625B53B   MARY         PINEDA                       NM     90010543362
4B614436371999   NIKKI        MITCHELL                     CO     38086694363
4B6151AA42B268   MURPHY       POWELL                       DC     90001371004
4B6153A9272B43   CRISTINA     RAMIREZ                      CO     90014273092
4B615722755939   RAMIRO       MIRELES                      CA     49047827227
4B615928591351   ERICA        HOLLINGSWORTH                KS     29025479285
4B615981391569   MIQUEL       CONTRERAS                    TX     75092639813
4B616385851383   LISA         HAND                         OH     90014803858
4B6171A268B355   TIFFANY      ALDRIDGE                     SC     90013871026
4B617A2544B271   SONJA        CAUDELL                      NE     27093380254
4B61826694B271   EMMANUEL     VILLALOBOS                   NE     27080122669
4B61863585B53B   JOANN        GARCIA                       NM     90007956358
4B61875214B539   SHEANNE      THOMAS                       OK     90010457521
4B61886125B52B   CARLA        KONWIN                       NM     90012628612
4B61897A361967   CARLA        RIOS                         CA     90010859703
4B619178955939   ANTHONY      HERNANDEZ                    CA     49084481789
4B619245155939   PEDRO        GUEVARA                      CA     49098712451
4B619385851383   LISA         HAND                         OH     90014803858
4B61951248B16B   RACIEL       MONTOYA                      UT     90012835124
4B61967A741258   PATRICK      SHANAWAY                     PA     51095986707
4B61B112784368   OLGA         BINNS                        SC     90012181127
4B61B297491873   LINDSEY      DIGGS                        OK     90014402974
4B61B931571934   ASHLEA       VAMPLE                       CO     90013319315
4B61B995A5B52B   JOSEPH       TRUJILLO                     NM     90006719950
4B61BA84A61963   JESSICA      ESMERALDA                    CA     90000210840
4B62112285B271   DINIECIA     BRECKENRIDGE                 KY     90011231228
4B62166753168B   GAYE         SLAUGHTER                    KS     22053336675
4B62186515B58B   EDWARD       CHAVEZ                       NM     90013188651
4B62196362B229   FRAZIER      JACKSON                      DC     90013699636
4B622425172B4B   YVETTE       RODRIGUEZ                    CO     33013214251
4B6224A394B271   REBECCA      SAFARIK                      IA     90012724039
4B622533361963   MEISHA       BOOTH                        CA     90010955333
4B6225A5391351   VICTOR       MERAZ                        KS     90013335053
4B62277665B271   JAMIKA       MALONE                       KY     68009487766
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4B622932391988   ROBERTA A         BENJAMIN                NC     90001069323
4B623279671999   PETRA             KLOTH                   CO     90014592796
4B623567A71999   PETRA             KLOTH                   CO     90011475670
4B62365A824B7B   FABIAN            ESPINOZA PUENTES        VA     90013666508
4B623A1945B58B   DAVID             GILL                    NM     35078570194
4B623A93991569   LIZET             TREVIZO                 TX     75087160939
4B624887151334   DAVID             WOLFER                  OH     66073118871
4B625211491569   ROSA              RAMIREZ                 TX     90006662114
4B62591755B523   ROBERTO           LOMAS HUERTA            NM     35016989175
4B62595A472B4B   ROBERT            QUINLAN                 CO     33027279504
4B625A5584B271   DANIEL            MATA                    NE     90008050558
4B626363171946   VICKI             GREENLEE                CO     32033613631
4B626469671934   JENNIFER          MEDINA                  CO     32070174696
4B62662A493762   KELLY             MANN                    OH     90008496204
4B626813847954   CECILIA           CRUZ                    AR     90011438138
4B62686925B58B   LORRIANE          PONCE                   NM     90009068692
4B626961361963   JULIETTE NICOLE   JONES                   CA     90014939613
4B62711775B271   DARCIE            LATHERY                 KY     90003451177
4B62714A372B43   EDELMIRA          ORTIZ                   CO     33037701403
4B627185551383   DAVIS             LOMBRE                  OH     66089111855
4B627281461967   JONATHAN          HERNANDEZ               CA     90006312814
4B62747645B53B   CRYSTAL           ARMIJO                  NM     90006354764
4B627748847954   MICHAEL           FORT                    AR     25033127488
4B62791755B523   ROBERTO           LOMAS HUERTA            NM     35016989175
4B6279A967122B   MANUEL            CARRILLO                IA     90015379096
4B628117572B43   JOE               TAFOYA                  CO     33067221175
4B62814865B53B   CHARLES           BATES                   NM     35084981486
4B62829A371946   GUADALUPE         PEREZ                   CO     32018482903
4B62832452B27B   STEPHANIE         RAHMAN                  VA     90013683245
4B628454984368   JESUS             PERALTA                 SC     90014794549
4B6289A2184368   ROLANDO           RICO                    SC     90005209021
4B629197971999   LEANNE            BLACKBURN               CO     38006791979
4B629264A72B36   ANABEL            ROSALES                 CO     90007252640
4B629AA278B165   CHERI             MARTIN                  UT     31016340027
4B62B184A61968   MIGUEL            SANCHEZ                 CA     90013891840
4B62B763191527   QUICK AND         CLEAN MAINTANACE        TX     75035607631
4B62B8A894237B   EMILY             SPIERS                  TN     90015598089
4B63122915B52B   MELISSA           MARTINEZ                NM     90011112291
4B63154145B523   DEBORAH           GONZALES                NM     90006005414
4B631597447954   PATRICIA          HERNANDEZ               AR     90015215974
4B631735A5B52B   EMILO JESUS       FLORES                  NM     90014637350
4B63241615B271   TRACY             BLUE                    KY     90013734161
4B63284175B52B   RICARDO           CHAVEZ                  NM     90014408417
4B633331861963   CHERYL            PANGELINAN              CA     46064723318
4B63357A651383   BILLIE            GOODWIN                 OH     90014835706
4B63368455B52B   CYNTHIA           MONTOYA                 NM     36017616845
4B6338A9A91873   TANVIR            KHAN                    OK     90006108090
4B634151A91351   JOSE              LOPEZ                   MO     90014531510
4B63423945B52B   JUAN              LORENZO                 NM     36061352394
4B63433A791873   ALEXIS            STEPHENS                OK     90010713307
4B63445993B383   MELISSA           CHAVEZ                  CO     90014564599
4B63459985B174   DEWAYNE           MCLITTLE                AR     90014515998
4B634815A2B87B   ZACHARY           MILLER                  ID     90013518150
4B634948422463   ADRIANA           GALLEGOS                KY     90001879484
4B635451A5B53B   MANUEL            CHAVEZ                  NM     90004234510
4B63546824237B   MISTY             JONES                   GA     90013384682
4B635541A91351   ASHLEY            GUTIERREZ               KS     90010585410
4B635623872B4B   ERIC              BRYSON                  CO     33052166238
4B635A37571946   CYNTHIA           PARTIN                  CO     90003150375
4B635A8135B222   ALICIA            STONE                   KY     90009130813
4B63612865B58B   LEON              GARCIA                  NM     35084861286
4B63613A391569   RAMOS             JUAN                    TX     90009541303
4B636726472B4B   PERRY             STEVENS                 CO     90014717264
4B636A29261975   DAN               MONJARAZ                CA     90008680292
4B637178471999   TRINO             TIENDA                  CO     90007151784
4B637A4722B87B   RANDY             HOFF                    ID     90009760472
4B63844A491864   CHRISTOPHER       RHODES                  OK     90012824404
4B638692371999   GERALDINE         MONTOYA                 CO     90006926923
4B639169693794   WILLA             BART                    OH     90006361696
4B63922514B271   BILAL             ALI                     NE     90004202251
4B639442951334   JONATHAN          STEWART                 OH     90008594429
4B639A6485B271   STEPHANIE         HATCHETT                KY     90003450648
4B63B33115B523   ROBERT            CHAVEZ                  NM     35099003311
4B63B47142B27B   SHELLEY           RHODES                  DC     81058694714
4B63B5A574B271   LAUREL            NELSON                  IA     27090525057
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4B63B659772B4B   ISRAEL        GONZALEZ                    CO     90007146597
4B64117698B16B   ABBY          GOFF                        UT     31035891769
4B641446372B43   CHRISTOPHER   CANNON                      CO     90012494463
4B641466372B36   ROBERT        VALQUIER                    CO     33046224663
4B641517184368   PATRICIA      LOPEZ                       SC     14505415171
4B6415A423168B   SHANNON       SMITH                       KS     90009045042
4B64214145597B   CESAR         MORALES                     CA     49073391414
4B6423A218B355   DON           MASSEY                      SC     90009393021
4B6435A574B271   LAUREL        NELSON                      IA     27090525057
4B643851391351   ANA           GARCIA                      KS     29065898513
4B643853271999   AIOTEST1      DONOTTOUCH                  CO     90015128532
4B644232A47954   HORACIO       RECINOS                     AR     90014112320
4B64433885597B   SHEENA        NETSER                      CA     49080153388
4B644659451334   AMY           STAMPER                     OH     66026636594
4B644718991988   LISA          LEE                         NC     17064987189
4B645331861963   CHERYL        PANGELINAN                  CA     46064723318
4B645453A5B52B   RODRIGO       PONCE-ROMERO                NM     36008424530
4B64596235B53B   YANTSE        RAMIREZ                     NM     90013769623
4B645A81261967   MARTHA        LERMA                       CA     90001450812
4B645A97791351   ROSE          MARIE                       KS     29004700977
4B645AA9591569   JULIAN        QUINONES                    TX     75054200095
4B646777591569   RENE          LESTER                      TX     90013877775
4B64717825B222   TANDRA        DAVIDSON                    KY     90013961782
4B6476A1A61968   MARCO         AYALA                       CA     90012396010
4B647727A91569   ANTONIA       MEDINA                      TX     75091137270
4B64813625B52B   ALEJANDRA     LEDESMA                     NM     90010851362
4B648282151334   HENRY         MARSHALL                    OH     66046582821
4B648823491394   SARA          CHEYNEY                     KS     29053598234
4B64892732B87B   SHANDA        MILKS                       ID     41067599273
4B648972A61963   CATHERINE     DOMINGUEZ                   CA     90014939720
4B64922768B165   TOODY         TIRE                        UT     90009422276
4B649489372B36   DEIDRE        VEASMAN                     CO     33028754893
4B64B2A2272B36   LONNIE        TURNER                      CO     90013362022
4B64B358791873   B NECOLE      WALKER                      OK     21043853587
4B64B439451383   ANTHONY       DAVIS                       OH     90014804394
4B64B577391988   PEACHES       DARDEN                      NC     90014855773
4B651481224B7B   JOSE          ROMERO                      DC     90012254812
4B651514A51382   DEANA         ESTEP                       OH     90014685140
4B651593491351   JOSE          RAMIREZ                     KS     90007975934
4B651624247954   MARINA        PORTILLO                    AR     25097836242
4B651821161967   PETE          SOTO                        CA     46014988211
4B65217227B694   BRITTANY      WALKER                      KY     90009581722
4B65237AA72B43   JERRY         OAKES                       CO     90006093700
4B652467851383   JAMES         JOHNSON                     OH     90014804678
4B652614571934   RUTILO        LUNA                        CO     32087626145
4B652679293794   MIKE          ABNEY                       OH     90006076792
4B652848A91873   MELISSA       RUDLUFF                     OK     90011408480
4B65337A355939   ALLEN         GROVER                      CA     49028683703
4B6533A245B52B   ANTHONY       MARTINEZ                    NM     90011023024
4B65347AA51383   KATIE         GARRISON                    OH     90014804700
4B65354614B271   MICHAELA      CRUZ                        NE     90000685461
4B653A2918B164   ELIZABETH     NAVARRO                     UT     90009180291
4B653A5983168B   SAMI          JONES                       KS     22081130598
4B65415A472B4B   MATTHEW       NADEAU                      CO     33020081504
4B654645855939   FABIOLA       ZARATE                      CA     49005196458
4B655891691569   CIANY         COLUNGA                     NM     75093268916
4B65637A884368   ISAC          HERNANDEZ                   SC     90015553708
4B656483191351   PAYGO         IVR ACTIVATION              KS     90012544831
4B656653151334   SHELLE        PACE                        OH     66043126531
4B656A69472B36   JESSICA       GALLAGHER                   CO     90013810694
4B657232A91351   JENNY         CONNER                      KS     90009662320
4B65728835B271   BRAIN         WOOLDRIDGE                  KY     90014242883
4B6577A4184368   RONALD        HERNANDEZ                   SC     90014807041
4B657923472B4B   GILDARDO      RENTERIA                    CO     33001379234
4B65797AA4B592   LYNDA         RANKIN                      OK     90010609700
4B657A28851334   LORETTA       CAMPBELL                    OH     90014900288
4B657A7A43168B   JESUS         CANALES                     KS     22050180704
4B65815738B16B   HANS          GREEFF                      UT     90012751573
4B658159793794   JAMES         PERKINS                     OH     90013621597
4B65833178B355   KIJUANA       MAXWELL                     SC     90014453317
4B6584A6691873   MARY          AGENT                       OK     90014134066
4B658796771934   ANTHONY       JONES                       CO     90009147967
4B658A99561968   ANGEL         RIOS                        CA     90013170995
4B659996491569   EMILY         MORENO                      NM     75045099964
4B65B129893794   TIMOTHY       ELTZROTH                    OH     90014381298
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4B65B21225B231   TRINITY       DENNISON                    KY     90013662122
4B65B23838B165   GUY           WHITE                       UT     90001132383
4B65B51A67B694   AURELIO       HERNANDEZ                   TN     90008755106
4B65B777755939   TOMMY         LYNN                        CA     49009967777
4B65B885591351   LISA          WHEELER                     KS     90003898855
4B65B966371934   LYDEN         PONCE                       CO     32078969663
4B65BAA5A61967   OSCAR         LABOUT                      CA     90010610050
4B66117375B58B   SHAWNA        BAHE                        NM     90013941737
4B66174845B523   JOSHUA        ORTEGA                      NM     35079207484
4B661798547954   YESENIA       LABOY                       AR     90011217985
4B66186445B222   NIECY         RICHARDSON                  KY     90004388644
4B661A15161968   LUIS          SOTELO                      CA     46065080151
4B662281772B4B   AIMEE         MELENDEZ                    CO     90011612817
4B662321972B36   PATRICIA      CASTILLO                    CO     90013293219
4B6629A7572B36   PATRICIA      CASTILLO                    CO     33065419075
4B662A45651382   MA            AMBER                       OH     90006170456
4B663135355939   ELIZABETH     MORALES                     CA     90015141353
4B663374A61968   MARIA ELENA   BARRIENTOS                  CA     90012013740
4B663434172B4B   MICAELA       MARTINEZ                    CO     90013984341
4B66357A651383   BILLIE        GOODWIN                     OH     90014835706
4B663A5445B53B   MARIA         GONZALES                    NM     90010700544
4B6641A8A84368   KHARR         MILLER                      SC     90013331080
4B664372584361   EDITH         RIVAMAR                     SC     19032013725
4B664728141258   CARA          SPEAR                       PA     90008947281
4B66481324B271   TERRELLE      MARION                      NE     90012698132
4B665399A72B36   ALMA          LOARCA ASCENCIO             CO     90014053990
4B665773891873   EREFAA        TARIAH                      OK     90011327738
4B66623745B52B   GINA          CHAVEZ                      NM     36044152374
4B666678555939   JAIME         HERNANDEZ                   CA     90014816785
4B66682628B355   CRYSTAL       HEMPHILL                    SC     90010478262
4B667122791569   NELENDEZ      TERESA                      TX     90005771227
4B667344672B36   CLIFFORD      SMITH                       CO     90012723446
4B66736552B87B   RYAN          SIMMET                      ID     90014323655
4B6673A4351334   KIM           COFFMAN                     OH     90012733043
4B66814955B52B   GRISTELA      ONTIVEROS                   NM     90000821495
4B66835672B27B   MARISABEL     RUANO                       VA     90002793567
4B668575A55939   CARLOS        GOMEZ                       CA     90013765750
4B668978851383   FREDA         LOVE                        OH     90010019788
4B6691AA85B174   TEKIA         JOHNSON                     AR     23089651008
4B66921892B27B   CARMEN        GUZMAN                      DC     90011422189
4B669835147954   GERARDO       HURTADO                     AR     90012528351
4B66985444237B   JALONDON      BROWN                       TN     90015598544
4B66989A561968   SARA          GREEN                       CA     90011178905
4B66B4A1672B4B   JENNIFER      SIMMONS                     CO     33052094016
4B66B61A761968   LIZBETH       CAMACHO                     CA     90013806107
4B66B736471934   KEITH         BROCIOUS                    CO     90015217364
4B66B882591873   SHONNY        MCNIGHT                     OK     90011198825
4B66BA12351334   JEFFREY       WINKLER                     OH     66004440123
4B671579661963   JAMES         SHELTON                     CA     90006265796
4B67177778B16B   SHANILLE      SITZ                        UT     90014447777
4B671855893794   LISA          KINSLEY                     OH     90007358558
4B672458A72B43   CASTRO        OLIVA                       CO     33012334580
4B67272198B16B   ASHLEY        VAN BEUGE                   UT     90006757219
4B67287242B27B   DANIJELE      VUKOVIC                     VA     90001678724
4B67312469187B   ANTONIO       JOHNSON                     OK     90009161246
4B673353572B4B   ANNA          GARCIACANO                  CO     90010423535
4B674531172B4B   DESIDERIO     VIGIL                       CO     33091645311
4B674567751383   SENECA        SAILE                       OH     90014805677
4B674914131432   NANDA         NYUNT                       MO     27562219141
4B674A96472445   ASHLEY        JOHNSON                     PA     90001410964
4B675114391873   SHAYLA        MCLAUREIN                   OK     90014711143
4B675836193794   BOBBY         MCCANDLESS                  OH     90011208361
4B676455A5B52B   ELIZABETH     BECERRIL DE GUZMAN          NM     36006994550
4B676535747954   BREANNA       BROOKS                      AR     90013935357
4B67754645B174   TINA          SLACK                       AR     90011575464
4B67831698B164   KARLA         REMO                        UT     90008623169
4B67919922B234   MENGISTUAB    ASEGEDOM                    DC     90004401992
4B67927978B355   SILENT        AUCTION                     NC     90012932797
4B6797A988B16B   ROBERT        AUSTIN                      UT     90012997098
4B67998628B165   YANKUBA       SAIDYKHAN                   UT     90001199862
4B679A57974B97   BRANDY        WARD                        OH     90014610579
4B67B129172B4B   JONATHAN      GARCIA                      CO     90010471291
4B67B176461968   ANTHONY       ESPINO                      CA     46025201764
4B67B759347954   SANDRA        GAMEZ                       AR     90012837593
4B67BA5A986453   ELEX          PENNIE                      SC     90015490509
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4B681389A93794   ELIZABETH    TOMLINSON                    OH     90014563890
4B681711151383   STEVENS      CATHERINE                    OH     66095947111
4B682137593769   HOLLY        SMITH                        OH     64514551375
4B682517872B36   SARAH        BARBER                       CO     33098235178
4B682652191241   JERMAINE     DIXON                        GA     90012796521
4B68286A851334   RAMIRO       COSTELLO                     OH     90014838608
4B682A1A491988   BLADIMIR     LOPEZ                        NC     90013730104
4B6833AA35B53B   ABEL         SERRANO                      NM     35066263003
4B68348678B16B   XIOMARA      GUINEA                       UT     31064174867
4B6837A934B271   MARKUS       WAYNE-KIMBLE                 NE     90012017093
4B6839A595B271   DONICA       TURNER                       KY     90013269059
4B684384751334   RICO         WALKER                       OH     66047233847
4B68438885B52B   PAUL         ORTEGA                       NM     90006443888
4B68449A68B16B   TROY         TYE                          UT     90013324906
4B684525371999   MANUEL       SALAZAR                      CO     90012745253
4B68498518B16B   BRIANNA      JONES                        UT     90014389851
4B6851A585B271   RICKY        SPENCER                      KY     90001901058
4B685237255939   TRIA         VANG                         CA     90013942372
4B685482A5B53B   MARGARET     MONTOYA                      NM     90015204820
4B685766851382   BRITTNEY     GENTRY                       OH     90015247668
4B685772572B43   BRIDGETT     GONZALES                     CO     33052227725
4B685951991873   SCOTT        HOPKINS                      OK     21076789519
4B686244755939   NIKESHA      MCAFEE                       CA     90013942447
4B686313951359   RONDA        SMITH                        OH     90013563139
4B686378A5B271   JENARO       GARICA                       KY     90014243780
4B68642312B27B   WILLIAM      TELLIS                       DC     90008274231
4B686445871999   BROOKE       TRUJILLO                     CO     90008374458
4B686A8965B52B   HEATHER      RAWLINGS                     NM     36040730896
4B687363A4B271   MARIZA       MARTINEZ                     NE     90009993630
4B687427961963   TIMOTHY      DEVON                        CA     90013334279
4B687852A47954   LINDA        KUYKENDALL                   AR     25045618520
4B68793713B351   ROBERT       HELDENBRAND                  CO     90006219371
4B688133472B4B   DON          SIMMONS                      CO     33061861334
4B68825133168B   SHANDY       LETT                         KS     90007362513
4B688789772B43   SUSIE        MITCHELL                     CO     33016967897
4B68879785B271   SHAUN        NEEL                         KY     90007867978
4B68892445597B   FABIAN       OLVERA                       CA     90006709244
4B6892A4771934   KRISTINA     KIZER                        CO     90000632047
4B68953944B547   BOYD         OPPERMAN                     OK     90006145394
4B68983955B58B   MARIA        ARAIZA                       NM     35009048395
4B68985322B27B   CAROLYN      DAVIS                        DC     90000618532
4B689A6485B174   TONYA        CHEATAM                      AR     23098230648
4B68B115A5B395   KATHLEEN     BARRY                        OR     90007531150
4B68B13515597B   MARTIE       ARELLANO                     CA     90010701351
4B68B6A975B222   LELAND       JOHNSON                      KY     90001616097
4B691194272B43   CHRISTINA    MA                           CO     90012851942
4B6911A8293751   KEVIN        EDWARDS                      OH     90002761082
4B691551771934   ISELA        GOMEZ                        CO     90011875517
4B691A74841258   CHEVELLE     VINCENT                      PA     51013550748
4B692429A51334   ANDREA       PRATHER                      OH     90013694290
4B69258875B523   YOLANDAH     JAMES                        NM     90012475887
4B692759491351   ALYSON       ROWLAND                      KS     90005027594
4B693585258528   ARIKA        WHITAKER                     NY     90010345852
4B6942A6A4B271   ASHLEY       MCDOWALL                     NE     90004182060
4B694419A47954   NESTOR       CORREA                       AR     90011224190
4B69444288B355   JUAN         RAMOS                        SC     90013614428
4B694A4148B355   BETTY        MCILWAIN                     SC     11086610414
4B695457A55939   HERNAN       SEGURA                       CA     90014624570
4B69556655B52B   JESSICA      TAYLOR                       NM     90013885665
4B695749A51383   JOSEPH       GOOLSBY                      OH     90008007490
4B69633755B52B   CARLOS       SENA                         NM     36015243375
4B69634682B27B   ROBERTO      WILLIS                       DC     90011523468
4B696355651383   JAIRO        DIQUE                        OH     90008403556
4B69673938B355   TELESFORO    GUERRERO LOPEZ               SC     90013277393
4B696759191873   SHAYNE       DAVIS                        OK     21079417591
4B697167972B43   MICHELLE     ABERHAM                      CO     33064401679
4B697264761968   DENISE       VAN                          CA     90008442647
4B697289691394   ELODIO       PASCACIO                     KS     29028642896
4B69746125B58B   RAYMOND      ESQUIVEL                     NM     35051304612
4B697516347954   CORY         BURKE                        AR     90001035163
4B697733A55939   GREGG        OLIVAS                       CA     90006617330
4B697865561963   JOSE         MARTINEZ                     CA     90011668655
4B697A23351382   BRIAN        CAREY                        OH     90007450233
4B69814244B271   THOMAS       DUCKSWORTH                   NE     90014801424
4B69822895B395   AHMED        ABDI                         OR     44543372289
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4B6983A688B165   MICHAEL      WRIGHT                       UT     90009233068
4B69B2A6691873   LATRESH      BARKER                       OK     90012512066
4B69B44663168B   AMY          DUBIEL                       KS     90010514466
4B69B576191351   MARIA        ISLAS                        KS     90007725761
4B6B172898B165   JODY         ROWLETT                      UT     31066677289
4B6B22A7672B43   JOSEPH       BIERSACK                     CO     33012412076
4B6B266892B87B   BRITTANY     GRIFFIN                      ID     90014866689
4B6B2818351383   JAENNIE      TURICH                       OH     90013418183
4B6B329288B355   MARIO        ZERON                        SC     90010452928
4B6B32A185B222   GO           DETTA                        KY     90009322018
4B6B3521961968   SILVIA       GONZALEZ                     CA     90014495219
4B6B3815351383   MICHELLE     SINGER                       OH     90008358153
4B6B433A571934   DENNIS       LUJAN                        CO     32003373305
4B6B436458B162   KEITH        TURNER                       UT     90006533645
4B6B445A551334   DARON        JARMON                       OH     90015154505
4B6B546825B523   SHEENA       SUAZO                        NM     90006004682
4B6B552485B174   DANA         SINGH                        AR     90014575248
4B6B556833168B   EDUARDO      PACHECO                      KS     22011545683
4B6B5854951383   MARSHEA      HARPER                       OH     66056408549
4B6B6963293794   IAN          ZIEGLER                      OH     90014809632
4B6B6977947954   BRIANA       BROOKS                       AR     90013009779
4B6B719A261963   ALFONSO      LUCCA                        CA     90008421902
4B6B772414B271   ALBERTO      HERNANDEZ                    IA     27091347241
4B6B8A6862B27B   DANA         WILDS                        DC     90014090686
4B6B913565B523   DAMARA       ARAGON                       NM     35058221356
4B6B947A471999   STEPHANIE    SOLANO                       CO     90011564704
4B6B9582861968   DANIEL       ROBLES                       CA     90014225828
4B6B95A6A91351   BLANCA       SANCHEZ                      KS     90002025060
4B6BB11515B271   MARTHA       OCONNELL                     KY     90014241151
4B6BB14932B27B   MICHAEL      WILLIAMS                     DC     90010011493
4B6BB294384368   ESMERALDA    PRECIADO                     SC     90001722943
4B6BB818351383   JAENNIE      TURICH                       OH     90013418183
4B71125A455939   JOSE         VALEJO                       CA     90013942504
4B711288272B43   BENRAHOU     RACHID                       CO     33072712882
4B711497172B39   MR-MRS       JANDA                        CO     33005704971
4B71156425B395   CHRIS        SLIM                         OR     44527465642
4B711A4472B87B   LINDSAY      HALLER                       ID     90004770447
4B712357147954   THOMAS       JODOIN                       AR     90011203571
4B71292465B395   SHALINA      LAWSON                       OR     44527519246
4B713268971934   CHARLES      RUSH                         CO     90015222689
4B713332A61963   TYLER        ONEILY                       CA     90015053320
4B713347A8B185   TYLER        ROWLEY                       UT     90012263470
4B713914A24B7B   JOSE         DIAZ                         DC     90013889140
4B71462A755951   SERGIO       PALOS                        CA     49057276207
4B715269772B36   SENDY        NELCAR                       CO     33087162697
4B71561595B223   JULIE        TERRELL                      KY     90015136159
4B71574783B343   YVONNE       ALVAREZ                      CO     90003157478
4B7161A3451382   AMY          ARMSTRONG                    OH     90005291034
4B71661792B87B   JUSTIN       FRENCH                       ID     90012976179
4B716968261968   ALBA         GONZALES                     CA     46049939682
4B71712638B355   NEON         BUSBY                        SC     90011411263
4B717159851334   KYLE         ESTEP                        OH     90014941598
4B717362371946   MANDO        NDEREYIMANA                  CO     32013423623
4B717399A51383   KELLY        HUTTO                        OH     90002253990
4B717693251382   LAMONTE      COOK                         OH     90008166932
4B71828A172B36   MICHELLE     ESQUIBEL                     CO     90004042801
4B71836365B174   ADDEL        WARD                         AR     90011133636
4B71839692B27B   MARIA        NOLIA                        DC     90009993969
4B71861188B187   ELISABEL     CAMACHO                      UT     90004826118
4B71892A35597B   ALICIA       RAMEY                        CA     49074669203
4B719324393794   STEVE        BARNHART                     OH     90012323243
4B71954725B53B   CHRISTINA    HULLAND                      NM     90005385472
4B71B681391873   DON          WEAVER                       OK     21040276813
4B71B894651383   ROBERT       ELLISON                      OH     66007148946
4B721751971934   DAVID        RICHARDSON                   CO     90005597519
4B7217A355B395   BENJAMIN     ANDERSON JR                  OR     90004407035
4B72185455B271   SHANTINA     MCPHERSON                    KY     90014248545
4B722139991351   ALBA         MATA                         KS     90013151399
4B722948A61967   GUILLERMO    JIMENEZ                      CA     90010589480
4B722971391873   DAIJON       MCKINNEY                     OK     90011409713
4B72341425B271   BRAENA       BILLE                        KY     90008334142
4B723424572B36   CATALINA     URIBE                        CO     90008524245
4B72364388B185   CHELSEA      FORD                         UT     31098376438
4B723673472B4B   CHERI        MIERA                        CO     90006476734
4B72368575B53B   TINA         SANTILLANES                  NM     90013296857
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4B7236A2A55939   LISA              AVINA                   CA     90012836020
4B723A13251383   CLARENCE          NIXSON                  OH     90012700132
4B72423A391569   RAUL              MONTOYA                 TX     90010952303
4B72444A391351   ISSAC             WEBB                    KS     90010854403
4B724638651383   ABDELLAHI         NDIAYE                  OH     90014806386
4B724717784368   PAULITA           ARCOS                   SC     90013007177
4B724812661963   TONY              NATAL                   CA     46093028126
4B724925571946   KELLY             GREER                   CO     90003179255
4B72494618B156   ARMANDO           TRUJILLO                UT     90008089461
4B725178A4B271   KALEB             DREWES                  NE     90005581780
4B725191A91569   LAYLA             GEORGE                  TX     90007871910
4B725388171999   VIRGINIA          QUICK                   CO     90012813881
4B72547A971999   VIRGINIA          QUICK                   CO     90011104709
4B725927672B36   TAYLOR            ORTHENGREN              CO     90012919276
4B725A92A5597B   RAFAEL            CABRERA                 CA     49040530920
4B7261A9293724   SAMANTHA          SHARPE                  OH     90008671092
4B726291761963   FINA              SALOME                  CA     46053462917
4B72662315B523   LYDIA             FLORES                  NM     35045906231
4B72723713168B   RICARDO           PARGA                   KS     90013302371
4B72743345597B   DEREK             YBARRA                  CA     90007904334
4B72838A272B43   DEANNA            DIVINO                  CO     33044933802
4B728556461967   ANTONIO           DIAZ                    CA     90011515564
4B728642191351   GLEN              TRAYNOR                 KS     29053436421
4B72876163168B   MARASOL           MEDIANA                 KS     90002737616
4B729136A91873   CHERRY            LACOMBE                 OK     21098951360
4B729238471999   LESLIE            ACOSTA                  CO     90015112384
4B729355761963   XOCHITL           SCHIAVONE               CA     46084753557
4B72B534391988   DONALD            YATES                   NC     90014135343
4B72B723172B36   ALFONSO           PEREZ                   CO     90003827231
4B73115215B174   FRANCISCO         CALDERON                AR     23063281521
4B73142745B523   GLENN             RAY                     NM     35050424274
4B73156187B331   JACQUELINE        CEREZO                  VA     90014625618
4B731698142339   TAMMY             HOWARD                  GA     90013266981
4B731749A51383   JOSEPH            GOOLSBY                 OH     90008007490
4B731992771999   MARIA             LUCERO                  CO     38092539927
4B732574191523   JESSICA           BERNAL                  TX     75055005741
4B73274325B53B   JOHN              CHAVEZ                  NM     35079737432
4B732A73472B43   FELICITY          HERNANDEZ               CO     90012870734
4B733139A2B27B   AISHA             MOORE                   DC     90012831390
4B73332988B355   RICARDO           ORTIZ                   SC     90002933298
4B733563A51382   DANAY             KENNEDY                 OH     90014685630
4B733776A61967   CLAUDIA           RAMIREZ                 CA     90010107760
4B733A95891351   FRANKLIND         PITTS                   KS     90013480958
4B734548521B3B   GABRIEL           HERNANDEZ               TX     74044885485
4B734828891988   DENIA             RIVAS                   NC     17020348288
4B734A72593794   STEVEN            BRUNK                   OH     90013490725
4B735119291351   CLARA             LARA-CRISANTO           KS     90015201192
4B735591447871   ANDREA            GRIFFIN                 GA     90004905914
4B7356A2272B43   ABEL              HERNANDEZ               CO     33085786022
4B736155551334   EBONIE            COLVIN                  OH     90009261555
4B73633928B185   ELIZABETH         WAKELAND                UT     90009813392
4B7363A6591873   JENNIFER          BARNES                  OK     90009023065
4B7364A2A61967   JOLI              BETOFE                  CA     90010734020
4B736918772B43   JESUS             CASTANEDA               CO     90002069187
4B73734898B185   JESSICA           ROBERTS                 UT     31098243489
4B737564355951   MARTHA            GONZALEZ                CA     90005995643
4B738154271999   MARIA L.          ELLIS                   CO     90001371542
4B73822535B271   ASHLEY            COLEMAN                 KY     68009122253
4B73859918B895   CODY              RODRIGUES               HI     90014565991
4B739276791351   ROMAN             ABARCA                  KS     90007732767
4B7393A2193794   TIMOTHY           DUSSEAU                 OH     90010223021
4B739779572B43   KELLY             FOURTHUNDERS            CO     90012907795
4B739792451382   DEVOE             SHORMAN                 OH     90001647924
4B739886591351   WILLIAM           RADIA                   KS     90013908865
4B739A1365B52B   GLORIA            ORTEGA                  NM     90014340136
4B739A9682B27B   DELANY            EPPS05                  DC     90013060968
4B741232291351   MARIA DEL ROCIO   MONROY MONROY           KS     90005832322
4B741866571934   MICHAEL           VIGIL                   CO     90008728665
4B74192343168B   TUNG              CHAN                    KS     90013749234
4B742428791988   JESSICA           CULBRETH                NC     90014874287
4B74291955B52B   HEATHER           ATSYE                   NM     90010169195
4B742943961967   ALMA              ESTRADA                 CA     90004359439
4B743391A5B58B   KATHLEEN          ROMERO                  NM     35057303910
4B74355292B921   DEISY             ALVAREZ                 CA     90014565529
4B7435A588B165   CHRISTY           PETERSEN                UT     31037355058
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4B743965A91351   KATEY        GREGORY                      KS     90001549650
4B743AA8171999   LUPIE        SOLANO                       CO     38038680081
4B743AAA72B87B   LOGAN        RORABECK                     ID     90001170007
4B744167993728   TRACIE       BISHOP                       OH     90010811679
4B744944571999   DEBBIE       WHITTEMORE                   CO     38094999445
4B74522592B87B   TERA         SIGMAN                       ID     90012212259
4B745398755951   LORENA       AVILES                       CA     90001453987
4B745858627B48   TAMARIA      TAYLOR                       KY     90001688586
4B745A97A8B355   YONNELL      OSORIO                       SC     90011480970
4B74631165B53B   CLAUDINE     MARTINEZ                     NM     90002663116
4B746448891988   SHONDA       JONES                        NC     90014684488
4B7469A5155939   IRIS         ROSAAS                       CA     90013899051
4B747373172B4B   CHRIS        KERSHNER                     CO     33053313731
4B747395861963   CARLOS       ZEPEDA                       CA     90015053958
4B747424971999   JODIE        CLINE                        CO     90014874249
4B74752324237B   ISAAC        JOHNS                        TN     90015475232
4B7477A4A72B43   BRANDON      JONES                        CO     90012617040
4B74818A493794   TONYA        PRINGLE                      OH     90013341804
4B74839588B165   JASMINE      AYMEE                        UT     90008573958
4B74847165B174   JENNIFER     TORRADO                      AR     90011134716
4B748518171934   LARRY        THOMAS                       CO     32007865181
4B748585391569   JOSE         LEYVA                        TX     75059045853
4B748646351383   CHRISTINA    MORGAN                       OH     90008726463
4B74868AA55939   LISA         PEREZ                        CA     90015206800
4B74871718B16B   CHRIS        PATRICK                      UT     31070487171
4B74917995B53B   STAR         BARRERAS                     NM     90012871799
4B749227943576   JESSICA      RAMIEREZ                     UT     90004282279
4B74929A961968   ARTURO       HERMOSILLO                   CA     90009022909
4B74939A291569   FELIPA       GOMEZ                        TX     75098223902
4B74965738B16B   MICHEAL      HIGLEY                       UT     90011356573
4B74985612B27B   TOMEKA       BROOKS                       DC     81085638561
4B74B12515B174   JANICE       LEE                          AR     23033401251
4B74B214872B36   ABIGAIL      RETANA                       CO     33041182148
4B74BA9215B53B   CARYN        SEIDEL                       NM     35098900921
4B751441372B4B   ENEDINA      BALLINES                     CO     90000994413
4B751889691873   SCOTT        ANDERSON                     OK     90005688896
4B751A59971992   JADEN        CORDOVA                      CO     38056910599
4B75221A884368   JOSE G       BERMUDEZ GARCIA              SC     90014192108
4B752846A5B395   RICCO        MEJIA                        OR     90003818460
4B75284885B58B   SIMONA       LOPEZ                        NM     35077638488
4B752935A5B271   BEVERLY      JOHNSON                      KY     90006329350
4B75326555597B   ADRIANA      HERNANDEZ                    CA     90011432655
4B753912391569   TONY         GARCIA                       TX     90012359123
4B753AA6191394   GLORIA       HERNANDEZ                    KS     90008660061
4B754587891351   LEE          GUERRO                       KS     90013785878
4B754591971946   ENJOLI       GUILLORY                     CO     90005975919
4B754741172B4B   ARELY        GONZALEZ                     CO     90014687411
4B75477678B165   SIMMONS      BRENT                        UT     90009047767
4B7549A1491351   MARTIN       QUIROZ MENDEZ                KS     90013839014
4B755177161967   GLORIA       SANDOVAL                     CA     90000151771
4B755392272B43   FELIPE DE    ESPARZA                      CO     33095033922
4B755395271946   KEVIN        GREEN                        CO     90007243952
4B755489293794   SCOTT        SKAGGS                       OH     90012374892
4B75566114B271   ROXANNE      PARFITT                      NE     27049266611
4B7557A512B27B   WALTER       HERRERA                      DC     90012127051
4B755825893794   CORIE        WILLIAMS                     OH     90012348258
4B755925455939   LUIS         DAIZ                         CA     49027509254
4B756178551334   TAYRA        NARED                        OH     90008451785
4B75631742B87B   CARA         CARTER                       ID     41060303174
4B756748A5B271   BRADLY       CASH                         KY     68082877480
4B756853A72B36   JOSE         MORALES                      CO     90013318530
4B756A66391394   BOBBY        CARDWELL                     KS     90014750663
4B75729224B271   MARQUITTA    JONES                        NE     90013442922
4B757744891873   CHERYL       PAYNE                        OK     90005297448
4B757948841258   KIMBERLY     MORGAN                       PA     90000209488
4B757A43171999   ALAN         BASTIAN                      CO     90002060431
4B758345691569   MARITZA      ARVELO                       TX     90010553456
4B7587A2772B36   HEATHER      PIONTEK                      CO     90010277027
4B758918591988   NICHELLIE    ROYSTIL                      NC     90012239185
4B758A7885B52B   MARIO        DE LEON                      NM     36076670788
4B75916528B187   CHRISS       EUSON                        UT     90006891652
4B759241371999   JOSE         DEHERRERA                    CO     38042732413
4B759597391569   MARIA        CASTELLANOS                  TX     75084405973
4B75967A451383   HEIDE        VEST                         OH     90004006704
4B75B178293794   LARRY        JOHNSON                      OH     90003591782
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4B75B28655B222   TILA          DULAL                       KY     90011782865
4B75B91A661968   LEEANN        RAYMOND                     CA     90014459106
4B75BAA185B58B   JESSICA       PEREZ                       NM     90004690018
4B761292771999   STEPHANIE     SOLANO                      CO     90007482927
4B761763261963   VIVIAN        MEKHAEL                     CA     46032537632
4B761785824B7B   DEANDRE       WORKCUFF                    DC     90014677858
4B761829372B4B   SANDRA        RICHARDSON                  CO     90014178293
4B761852791569   JESUS         AGUILERA                    TX     90001298527
4B761893472B43   ROBERT        WEBB                        CO     90001798934
4B7618A142B253   ERIC          CLIFTON                     DC     90007638014
4B761AA3572452   TARA          GORDON                      PA     90008370035
4B762459572B36   SABINA        VALLES                      CO     90013954595
4B76261A63B37B   WALL          JEREMIAH                    CO     33043146106
4B762753671934   TYECHA        WALKER                      CO     90011297536
4B763154951325   CHARLES       SOWDER                      OH     90012441549
4B763335361968   BERTHA        GARCIA                      CA     90006433353
4B76366998B16B   GUSTAVO       GUTIERREZ                   UT     90013156699
4B76367265B222   EUGENIA       WALKER                      KY     68013666726
4B763739351383   JOSE          PADILLA                     OH     90014807393
4B764125161963   ZULMA         RODRIGUEZ                   CA     90010771251
4B764172984368   JONATHAN      LOGIURATTO                  SC     90013551729
4B765259371934   VEDA          RODRIGUEZ                   CO     90015252593
4B76528385B53B   KARL          NELSON                      NM     90014372838
4B7652A548B355   MELISSA       MARTINES                    SC     90013922054
4B76538A493794   JOYCE         SPEGAL                      OH     90009233804
4B76557978B165   DIANA         ESPINOZA                    UT     90010675797
4B76574565B523   JIMMY         ROMERO                      NM     35081817456
4B76629A171999   NATALIE       MARTINEZ                    CO     90004112901
4B766448591988   MIRNA         PARRA                       NC     17064184485
4B76648A251339   KIM           HOWARD                      OH     90011424802
4B766581155939   MARIA         SANCHEZ                     CA     90012775811
4B766A92A72B36   SCOTT         MURRAY                      CO     90013310920
4B76714875B395   LEHUA         YOSHIOKA                    OR     90007531487
4B76725947B276   CLARISSA B    NICASSIO                    AZ     40538342594
4B76783473168B   CAROLINA      HERNANDEZ                   KS     90013738347
4B76824285B271   GARY          GRIFFITH-COFFEY             KY     90014712428
4B768259371934   VEDA          RODRIGUEZ                   CO     90015252593
4B768497761963   MARICELA      CAMPOS                      CA     90011444977
4B76856515B174   CANDICE       JOHNSON                     AR     90011135651
4B76893763B33B   GISELLE       DUBOIS                      CO     90014159376
4B76922135B271   MARENA        RAGLAND                     KY     68055312213
4B769782351383   ANNA          BALL                        OH     66094777823
4B769A17793794   WILLIAM       HALE                        OH     90003630177
4B76B16245B222   DESHANE       JOHNSON                     KY     90006381624
4B76B25565B223   SYLVIA        GARMANY                     KY     90008952556
4B76B833184368   ANTONIO       GUEVARA                     SC     14569508331
4B76B87A172B4B   MITCHELL      WILLIAM                     CO     33058768701
4B77115A271934   LATISHA       MCDONALD                    CO     90003681502
4B77127A15B52B   LUIS          GOMEZ                       NM     36097482701
4B771325272B4B   GABRIEL       ALMAGUER                    CO     33072643252
4B771541172B36   JENNIFER      MCCORD                      CO     33067935411
4B771743391873   JOHNNY        MORGAN                      OK     90007877433
4B771784755939   PANCHO        VILLA                       CA     90012827847
4B771943741258   KENNETH       JONES                       PA     90007289437
4B77196A62B27B   ROBERT        FULTON                      DC     90012579606
4B7727A635B222   CANDACE       BANKS                       KY     90009897063
4B772865493794   KELBY         BURKITT                     OH     90013838654
4B772A2745B58B   BARBARA       DEAN                        NM     35007720274
4B772A36691569   OLIVVAS       SARAI                       TX     90004540366
4B772A59391351   EFRAIN        GRAILLET                    KS     90011330593
4B773279947954   DONALD        SPENCER                     AR     90002792799
4B77327A653966   CHRISTOPHER   MILLER                      OK     90010812706
4B77342235597B   ALVINA        ORTEGA                      CA     90013794223
4B77346425597B   ALVINA        ORTEGA                      CA     90009484642
4B773648161968   ALMA          DAGER                       CA     90004196481
4B773735171999   ANJA          ROSALES                     CO     38096907351
4B77399612B27B   RONALD        BELL                        DC     90012559961
4B774411961963   CONNIE        CRAWFORD                    CA     90015054119
4B775626672B36   ROBERTO       HERNANDEZ                   CO     90013906266
4B775996372B4B   BLANCA        CANO                        CO     90002859963
4B7766A1291569   JESUS         SAENZ                       TX     75090276012
4B77743AA5B222   TANESHIA      CALENDER                    KY     90001254300
4B777545841258   VANGIE        TURNER                      PA     51010725458
4B777585A91351   TRISTA        KENNEDY                     KS     90014535850
4B777913672B36   FRANCISCO     GONZALEZ                    CO     90014939136
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4B777A4A151334   ELAINE        WARE                        OH     66012270401
4B777A5815B271   JESSICA       LEGE                        KY     90000990581
4B778653691873   SUQUANA       FOX                         OK     90010096536
4B778656561968   ANGELICA      RIVERA                      CA     90004196565
4B779437493751   MICHAEL       ETTER                       OH     90001734374
4B77959A893794   EARL          FRY                         OH     66096425908
4B779615971999   NICHOLE       WRIGHT                      CO     90013326159
4B77B24144B271   RICHARD       MERKURIS                    NE     90004222414
4B77B314791873   WILLIAM       GING                        OK     90011423147
4B77B56515B174   CANDICE       JOHNSON                     AR     90011135651
4B77B699371999   ANNETTE       BOYD                        CO     38065216993
4B77B87215B174   SELENE        MONTANTE                    AR     90014668721
4B78123858B165   MISTY         JOHNSON                     UT     90002722385
4B781461593794   TRACEY        ARRINGTON                   OH     90009024615
4B78153298B16B   MIGUEL        ALMEIDA                     UT     90013185329
4B781A3645597B   EMANUEL       FERRER                      CA     90011360364
4B78257365B271   REE           TAYLOR                      KY     90009605736
4B782A3413168B   JENNIFER      HATFIELD                    KS     22017380341
4B783555261995   JUAN          CALDERON                    CA     90010975552
4B783613A91873   ZAMLUNG       NEIHKHUP                    OK     90015326130
4B783757771946   ROONALD       CAUSEY                      CO     32008627577
4B78381744B271   DORINDA       GIBB                        IA     90013188174
4B783988731243   SHIRLEY       WATSON                      IL     90014729887
4B7848A2251383   RONNSHEA      DUBOSE                      OH     90014808022
4B784A51461968   ALDHAIR       CARRADA                     CA     46091690514
4B784A61291873   ASHLEY        SEAY                        OK     90008690612
4B785313791351   REBECCA       JOLLY                       KS     29037873137
4B785482A5B271   LAKENYA       WILLIAMS                    KY     90004064820
4B78561628B355   SHIRLEY       BROWN                       NC     11027256162
4B78566835597B   BILLY         ODENEAL                     CA     49079256683
4B785779547954   LEON          ABBOT                       AR     90014857795
4B785A1962B87B   CASSANDRA     WILLIAMS                    ID     90009030196
4B786224391988   DEMOSHA       JOHNSON                     NC     90014902243
4B786314771999   RAQUEL        GONZALES                    CO     38085903147
4B786937455939   MARTIN        HERNANDEZ                   CA     49010279374
4B786A24772B4B   ESSIE         PERRYMAN                    CO     90011660247
4B786A74471946   MICHAEL       LOPEZ                       CO     32005460744
4B787123397B53   LUIS CARLOS   DOMINGUEZ                   CO     90010421233
4B787339A91569   FELIX         RODRIGUEZ                   TX     90012423390
4B787595A2B27B   JANICE        OWUSU                       DC     90012035950
4B787666451382   MICHAEL       FERGUSON                    OH     90014686664
4B787914891873   RANDY         STOALABARGER                OK     21091049148
4B78797428B16B   CHRISTOPHER   GILL                        UT     90014129742
4B788175851334   THOMAS        DOWNIE                      OH     90013421758
4B78843A985825   STEVE         LAI                         CA     90012244309
4B788561272B4B   DJ            BLYTHE                      CO     90009705612
4B788686161963   RAYMOND       BENTZ                       CA     90012566861
4B788767891351   ALFREDO       MONTEZ                      KS     29067177678
4B78881772B27B   ASHLEIGH      MITCHELL                    DC     90014898177
4B789281193794   CHRISTOPHE    DULFLINGER                  OH     66027252811
4B7894A9791569   IDA           ARAUJO                      TX     90011574097
4B789594872B4B   SAID          BENJELLOUN                  CO     90002785948
4B7898A5961963   TERRANCE      BENOIT                      CA     90010358059
4B78B13495B53B   LILLIAN       AUSTIN                      NM     90008601349
4B78B13A855951   LORETTA       OGLESBY                     CA     49016271308
4B78B148A3168B   SHANNON       GARTON                      KS     22072351480
4B78B158691873   JOHN P        BRIGHT                      OK     90004081586
4B78B29665B52B   DIANA         OLIVERA-SOSA                NM     90013432966
4B78B64265B58B   VANESSA       SILVA                       NM     90004006426
4B78B827A72B43   AMY           LOPEZ                       CO     90013528270
4B79157115B52B   FRANCISCO     FONSECA                     NM     90011595711
4B791774791351   CHRIS         BAUKGHMAN                   KS     90010857747
4B792221372B43   LUIS          BENITES                     CO     90011422213
4B79238955B222   TERESA        HUFF                        KY     68037523895
4B79267482B87B   ZACHARIAH     NUTTALL                     ID     90007546748
4B793172A91988   MARIA         BARNES                      NC     90010931720
4B793187791569   LUIS          ROMERO                      TX     90014131877
4B793535751383   JAIME         MARQUIN                     OH     90014815357
4B793786972B4B   DEVONNE       HUNT-BATES                  CO     33035847869
4B7938A7971999   DAVE          RAMIREZ                     CO     38018598079
4B793A5554B271   JOSE          CHICAS                      NE     90000450555
4B79414673168B   JOELLE        STEELE                      KS     90014221467
4B79435274B271   ANTONIO       VELASQUEZ                   NE     90014613527
4B794481861967   MARIBEL       VILLA                       CA     90010614818
4B794487A5597B   FRANCISCO     RAMIREZ                     CA     90010374870
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4B79476852B87B   KELSEY       HUBIAK                       ID     90014477685
4B794948271999   LAURA        CANTY                        CO     38076619482
4B79498A141258   BOBBI        SHOWALTER                    PA     51064439801
4B79512885B53B   JAMES        HORN                         NM     90013151288
4B795223891988   MIGUEL       REYES                        NC     17077892238
4B795339491873   DARLESHA     BELLAMY                      OK     90011173394
4B795344771934   CARIE        SERGREN                      CO     90015253447
4B7954A8A8B185   AMBERLY      GIPE                         UT     90004394080
4B795753651382   CYNTHIA      SAYLOR                       OH     66043967536
4B795819A5B271   DONALD       MILLER                       KY     90010948190
4B79632635B395   SAMUEL       HAYDEN                       OR     90002403263
4B796351271934   LUIS         CAMEY                        CO     90015253512
4B79654885B523   ANDY         FERNANDEZ                    NM     90006495488
4B7965A8251382   MICHAEL      SMITH                        OH     90014695082
4B796A16955939   MONICA       HERANDEZ                     CA     90014660169
4B79732625B174   DESIREE      BALCH                        AR     23072793262
4B797428191873   JODY         FINCH                        OK     90001174281
4B797535751383   JAIME        MARQUIN                      OH     90014815357
4B797655484368   ANTIONETTE   DUPONT                       SC     90014656554
4B79779A58B16B   JAQUELENE    MARTINEZ                     UT     90010517905
4B798471391988   MICHAEL      BERNARD                      NC     90014914713
4B79866A55597B   MICHELLE     QUINTERO                     CA     90010776605
4B798693273264   EDWARD       WALLACE                      NJ     90009786932
4B79869A151334   JOE          SCOTT                        OH     90009066901
4B798987947943   AMANDA       IBARRA                       AR     90012499879
4B798A9A35B58B   MIKE         BOLDEN                       NM     90011210903
4B79937745B242   LORILEE      GEORGE                       KY     90009783774
4B799588172B36   URIEL        ALDAVA                       CO     33017565881
4B799951191873   FABIAN       SPEARS                       OK     90010229511
4B7999A6161967   RICO         CAONGCA                      CA     46044329061
4B79B356771946   KENNETH      LISTER                       CO     32096763567
4B79B5A9A5B271   VICTOR       CRUZ                         KY     90008335090
4B79B752455939   HON          SOLO                         CA     90012777524
4B79B76658B185   JEREMIAH     GUZMAN                       UT     31059467665
4B79B979251382   SUSAN        MERRITT                      OH     66043969792
4B79B997861968   MARIA        BIBIANO                      CA     90012339978
4B7B165276232B   PAULA        RAMIREZ                      AZ     90013956527
4B7B16A2151383   SUSAN        SACCO                        OH     90014806021
4B7B1833A5597B   SILVERIO     SANCHEZ                      CA     90007118330
4B7B2227161924   DONALD       TRUMP                        CA     90004512271
4B7B232572B87B   MICHELLE     BATES                        ID     90013173257
4B7B2338591569   OMAR         GARCIA                       TX     90014163385
4B7B24AA693794   DELISA       CHENAULT                     OH     90007724006
4B7B2524272B36   DONALD       THOMAS                       CO     90012635242
4B7B295A35B53B   ALRAY        BACA                         NM     35064769503
4B7B297A872B36   CAUDIO       BRISENO                      CO     90014569708
4B7B319845B174   BRANDON      EACKLES                      AR     23067281984
4B7B33A3A6192B   THOMAS       MATTHEWS                     CA     90007883030
4B7B3499293794   MARIANNE     GUZMAN                       OH     90010764992
4B7B3754791569   LUIS         RAMOS                        TX     90014107547
4B7B389425B53B   ELIZABETH    LUNA                         NM     35011508942
4B7B4185371999   DAVID        SANDIDGE                     CO     90013911853
4B7B461535B523   MAURA        MCKEOUGH                     NM     90001456153
4B7B4819A8B16B   THA          CUNG                         UT     31087668190
4B7B4A89751382   BETH         MARCUM                       OH     90012000897
4B7B51A5122463   CASEY        UHLIR                        IL     90015461051
4B7B5755272B4B   STEPHEN      CRITES                       CO     33045317552
4B7B5A1515B53B   LUCERO       GOMEZ                        NM     35058890151
4B7B6137884368   MARIA        ZARAGOZA                     SC     14570791378
4B7B65A5547954   STEPHANIE    NORWICKI                     AR     90011235055
4B7B6662A8B165   ANDREA       SCHNEIDER                    UT     90014556620
4B7B667755B222   KYM          BOLIVAR                      KY     68014546775
4B7B6915761999   JANINE       GALEANO                      CA     46078519157
4B7B694175B58B   ANDRES       SALAZAR                      NM     90013209417
4B7B7373A91351   BRETT        WILLIAMS                     KS     90008663730
4B7B83A3593794   GLENDA       KEECH                        OH     90011003035
4B7B8478661968   ALEX         COLLINS                      CA     90009394786
4B7B852755B174   EBONIE       SEBASTIAN                    AR     90012685275
4B7B856288B165   ADRIAN       HICKS                        UT     31060205628
4B7B8617A8B16B   TRUDY        MINER                        UT     90005276170
4B7B9334251334   EDY          GIRON                        OH     90001143342
4B7B9491391873   ANGEL        BERNAL                       OK     90014494913
4B7B956924237B   BRITNEY      HARDY                        TN     90015535692
4B7BB72552B27B   MORGAN       SMITH                        DC     81001687255
4B7BB731761968   ALCIDES      TORRES                       CA     46078317317
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4B7BB79755B58B   CONSTANCE    OLGUIN                       NM     90014577975
4B81149565B53B   TIM          GUERRO                       NM     90014694956
4B811646661963   GENTRYY      STANELY                      CA     46052306466
4B81226A95B174   TIMOTHY      HICKEY                       AR     90013292609
4B81228828B165   ESTHER       VASQUEZ                      UT     31066822882
4B81229875597B   VICTOR       LEE                          CA     90010692987
4B81233125B58B   JASON        BROUSSEAU                    NM     35093413312
4B81234562B87B   PAUL         HERTING                      ID     90001983456
4B81249715B223   KATHERINE    HALL                         KY     68032224971
4B812A1297122B   BRANDON      LONG                         IA     90015520129
4B81345682B87B   BILL         BEATTIE                      ID     90010114568
4B81364155B52B   ELVA         OCHOA                        NM     90005526415
4B81369A751382   AMANDA       STORY                        OH     90014686907
4B813758451383   TYREE        BLEVINS                      OH     90013827584
4B814246584368   MISS KELLY   GILMORE                      SC     90000562465
4B814482A5B53B   MARGARET     MONTOYA                      NM     90015204820
4B81557A391351   RANDY        GILLIS                       KS     90012605703
4B81569A751382   AMANDA       STORY                        OH     90014686907
4B81578A72B27B   ASHLEY       POWELLS                      DC     90001377807
4B81596565B52B   EDUARDO      SALGADO BARAJAS              NM     36068859656
4B815993986545   ISMAEL       GARCIA                       TN     90015409939
4B816124972B43   MCFADDEN     PHILLIP                      CO     90007871249
4B81613715B523   ANNETTE      BACA                         NM     35017191371
4B81624288B355   MARVIN       ONEAL                        SC     90013052428
4B816648151334   DANIELLE     CALHOUN                      OH     90011386481
4B81667695B222   MEAGAN       WRIGHT                       KY     90000996769
4B81695835B53B   ISIDRO       LUNA                         NM     90013319583
4B817134572B4B   FLORENTINO   SALINAS                      CO     33022971345
4B817629847954   JAZMIN       AVINA                        AR     90014916298
4B8176A5891351   CHESNEY      GONZALEZ                     KS     90013146058
4B81788215B271   AMBER        LADD                         KY     68024648821
4B81793682B27B   MARGARET     MORGAN                       DC     90008889368
4B817A22751334   LEQUENCY     ANDERSON                     OH     66043200227
4B81926912B87B   KARLA        HOBERT                       ID     90014202691
4B81961225B52B   LINDA        AHUMADA                      NM     36093226122
4B819A11A5B271   J SANTOS     PADRON-LOPEZ                 KY     90015090110
4B81B55795B52B   EDUARDA      ALVARADO                     NM     90013265579
4B81B641193794   CHERYL       WHITE                        OH     66044236411
4B81B718772B43   JOSEPH       CHACON                       CO     33030427187
4B81B91555B523   PAULINE      HERNANDEZ                    NM     35046069155
4B81B974271999   TIFFANY      MIRANDA                      CO     90003399742
4B82114592B583   WILLIAM      JOHNSON                      AL     90010371459
4B82127665B53B   MARIA        ARMENDARIZ                   NM     90015112766
4B82135482B27B   DUDLEY       EDMONDS                      DC     90014073548
4B821462691873   CHARLES      CLEVELAND                    OK     90012984626
4B821665772B43   CECILIA      RASCON                       CO     90011016657
4B82222914B539   PERLA        HERNANDEZ                    OK     90014522291
4B82228678B355   JERRY        ELLISON                      SC     90006932867
4B822541191873   CHRIS        POINDEXTER                   OK     21064005411
4B8226A3147954   BRIAN        GARCIA                       AR     90010066031
4B822785293794   FRANK        CRABLE                       OH     66052837852
4B823328A5B222   SALVADOR     MUNOZ                        KY     90001363280
4B823588771999   JACQUES      METOYER                      CO     38003415887
4B823A63791351   PEDRO        SANCHEZ                      MO     90006010637
4B824214171934   MICHAEL      JENNINSON                    CO     90011532141
4B824497651383   NATALIE      REYES                        OH     90011904976
4B824559261967   PRISILA      OROZCO                       CA     90010615592
4B82469262B27B   BLAS         FUENTES RUBIO                DC     90013586926
4B824A52977391   LAKETA       SMITH                        IL     90015160529
4B82534622B87B   RAQUEL       DODD                         ID     90009473462
4B825417951383   LINDA        GENTRY                       OH     90006244179
4B8255A2261968   SUSAN        DUMAS                        CA     90011355022
4B825854947954   CYNTHIA      MCCLAIN                      AR     90014858549
4B826118A55939   JUAN         RUELAS                       CA     49087341180
4B826387A4B271   RON          HUNTOON                      IA     27072063870
4B82651635B53B   CUNNINGHAM   MARTIN                       NM     90014875163
4B82666A741258   ROY          REITMEYER                    PA     51035846607
4B82681A95B223   CRYSTAL      COMBS                        KY     68035718109
4B82787365B223   NEFERTITI    BRADY                        KY     90002798736
4B82817158B165   JESSICA      MASSANET                     UT     31072501715
4B828336A5B222   AMY          PARKS                        KY     90012013360
4B82854A451334   GINA         REEVES                       OH     90009955404
4B828A77171934   PHILLIP      BLACKMON                     CO     90005620771
4B8295AA28B165   CINDI        ORENO                        UT     31033135002
4B829A7958B352   MARTHA       RUIZ LOPEZ                   SC     90002960795
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4B829AA4691569   ANTONIO             JURADO                TX     75012420046
4B82B383361967   JENI                ROCHA                 CA     90002903833
4B82B64428B16B   DANEIL              DURRANT               UT     31010316442
4B82B928651334   VALENTIN GONZALES   DE LA CRUZ            OH     90014199286
4B831176A91362   TAMA                BUSH                  KS     90013721760
4B83157335B174   SHAUNTAY            SMITH                 AR     90008735733
4B83157424B531   SHELLY              SAMPLETON             OK     21570295742
4B831723951334   JOSEPH              ASHCRAFT              OH     90014597239
4B831963371934   GARY                MCDANIEL              CO     32055879633
4B83199158B187   S                   HASTINGS              UT     90007019915
4B831A3485B271   ERICA               HICKMAN               KY     90015010348
4B832646A51383   SARA                MEADOWS               OH     90014816460
4B83283A271999   DAVINA              MEDINA                CO     90012238302
4B832893891523   JR                  MANCILLA              TX     75055028938
4B8328A6672B36   RICHARD             WILLIAMS              CO     33037008066
4B83326275B174   PAUL                WILLIAMS              AR     90013292627
4B833312791569   MARILISE            MORALES               TX     90008103127
4B8337A5161968   LENIA               SALAZAR               CA     90013137051
4B833932791351   MARIANO             DELGADO               KS     90012439327
4B834167391569   STEPHANIE           RUIZ                  TX     75013511673
4B834539A5B222   IMMA                DIVA                  KY     90000925390
4B83478228B165   CHANCE              RICHMON               UT     90010017822
4B834846672B43   PATRICK             JETER                 CO     90005378466
4B835226691873   DEBORAH             COGBURN               OK     21097642266
4B83547245B222   ANTHONY             MORRIS                KY     90012934724
4B8355A8355939   JOSE                BAUTISTA              CA     90014705083
4B83566A741258   ROY                 REITMEYER             PA     51035846607
4B8356A6193794   VALERIE             GAREN                 OH     90013536061
4B83573845B58B   LISA                FENSTERMACHER         NM     35071347384
4B835979951334   MARGARITA           MALTOS                OH     90013609799
4B835A21A5B52B   DEANN               GARCIA                NM     90011750210
4B836297647954   JAIME               SANCHEZ               AR     90014192976
4B83635AA4B271   ADRIAN              TOVAR                 NE     27076053500
4B836588151382   SUSAN               CRAIG                 OH     66043955881
4B83678A172B4B   TRACY               BAILEY                CO     90011137801
4B83798515597B   NANCY               AGUIRRE               CA     49051539851
4B838412662322   ANGELA              KELLS                 AZ     90013924126
4B838638651383   JUANA               GONZALEZ              OH     90014836386
4B83864615B52B   CATHERINE           MARTINEZ              NM     90006116461
4B838A73A72B43   JESUS               GARCIA                CO     90013650730
4B839272951354   NANCY               LEMKE                 OH     90010672729
4B839335593794   MELINA              HORSFALL              OH     90010343355
4B83945162B87B   ALISE               TANNER                ID     90009054516
4B839454484368   OSCAR               CASTILLO              SC     90009274544
4B839723524B7B   MEKONNEN            AZEB                  DC     90015037235
4B83972788B355   BERVERLY            PERRY                 SC     90014677278
4B839744291351   CECILIA             SERRANO               KS     29062657442
4B83979355B271   JOHN                PAYNE                 KY     68079707935
4B839A76655939   ABBIE               SANDERS               CA     90015160766
4B83B184A61968   MIGUEL              SANCHEZ               CA     90013891840
4B83B8A2984368   SHAKEISHA           PEEBLES               SC     90015278029
4B842431A5B52B   JOHNETTE            ANAYA                 NM     36049564310
4B842918391988   BRITA               PARKER                NC     17033629183
4B843138472B4B   MARIAH              MONTANO               CO     33062321384
4B84317278B165   DELVIN              FIEFIA                UT     31009331727
4B84368753168B   IVAN                RODRTGUEZ             KS     22043296875
4B843824A5B58B   ARELY               ROMERO                NM     90003698240
4B84397412B87B   CHRISTY             MYERS                 ID     41080189741
4B843A75591351   CLAUDIA             MOREIRA               KS     29037590755
4B84449618B165   PEGGY               DIPO                  UT     31062934961
4B844531371996   BRITTANI            LEE                   CO     90013105313
4B84479522B237   ISAIAH              BECTON                DC     90009187952
4B844838972B43   KASIE               LASHEL-YOUNG          CO     90000468389
4B844A42591959   NICOLE              BARRERA               NC     90012620425
4B844AA845B271   KEYA                BARNES                KY     68098290084
4B84521935B271   EBONY               CAUSEY                KY     68048502193
4B84562522B87B   AMBER               TOWLES                ID     90012976252
4B8457A1151383   JUNIOR              LOPEZ                 OH     90014817011
4B84618A661968   REYNALDA            TORRES                CA     46080871806
4B84663675B52B   ESPERANZA           ROMERO                NM     36094526367
4B847393955939   TOM                 MAQUEZ                CA     90002473939
4B847681A8B355   JOSE                RAMOS                 SC     90008506810
4B8483A7855939   LUIS                GARCIA                CA     90013943078
4B84842853168B   DONOVAN             MOSLEY                KS     90013964285
4B848541551382   KHEO                NGUYEN                OH     90014865415
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4B84899158B187   S              HASTINGS                   UT     90007019915
4B849297284368   TASHERA        ROBINSON                   SC     90014752972
4B849443361967   JUAN SIMONES   FOJO                       CA     90010764433
4B8496A294B271   DENISE         VAAG                       NE     27075136029
4B8498A1761968   MIGUEL         ROQUE                      CA     46081278017
4B84B14215B271   JEREMY         REITZEL                    KY     90014251421
4B84B61A491873   SHANNON        WAGERS                     OK     90014336104
4B84B744455999   ERIK           LOPEZ                      CA     90007637444
4B84B89322B27B   EYVONNE        DAVIS                      DC     90015308932
4B851459191569   XOCHITL        DAVILA                     TX     75086604591
4B851562491864   CESAR          SANCHEZ                    OK     90013685624
4B851881655939   KELLY          KAITANGIAN                 CA     90012018816
4B852675891351   WALTER         COLEMAN                    KS     90012606758
4B852691155939   EDWARD         HERNANDEZ                  CA     90014816911
4B85275692B27B   JOSE           HERNANDEZ                  VA     90011847569
4B85354678B16B   JENNIFER       ZANDER                     UT     31006765467
4B853A83591523   ISRAEL         MARIN                      TX     75055030835
4B85488A62B234   MONET          GREEN                      DC     90014898806
4B85532882B27B   MICHELLE       JONES                      DC     81046783288
4B855467861967   RICARDO        ARREDONDO                  CA     46015674678
4B85547324B271   AARON          MOORE                      NE     90014964732
4B85578225B52B   MARCELINA      RUIZ                       NM     90011927822
4B856965591988   ERNESTINE      CHARLES                    NC     90008529655
4B85699AA91943   DAVID          CORDERO                    NC     90005079900
4B857151193794   RACHEL         MURPHY                     OH     66076741511
4B857355172B43   KRYSTAL        CHAP                       CO     33052023551
4B857578191988   JANICE         JOHNSON                    NC     90011305781
4B85763793B14B   JOSE           MARQUEZ                    DC     90006346379
4B857A26972B36   VERNAE         ROQUEMORE                  CO     90000150269
4B857A6845B271   BRITTANY       WOLNEY                     KY     90011400684
4B858152872B4B   JAVIER         GOMEZ                      CO     90010491528
4B858947793794   DEBBY          EDWARDS                    OH     90013539477
4B858975155939   SARA           CANO                       CA     49074249751
4B85925174B271   JUAN CARLOS    CARLOS                     NE     90013052517
4B859456984368   LAMAY          GADFON                     SC     90003434569
4B85B28A555939   ELIZABETH      RODRIGUEZ                  CA     90012272805
4B85B68375B222   NICHOLE        BISHOP                     KY     68060066837
4B85BA3272B238   JAMES          THOMAS                     DC     90013700327
4B85BA93472B39   ELSA           RAMIREZ                    CO     90014870934
4B861225591569   LETICIA        RAMOS                      TX     75071112255
4B861244A93794   HEATHER        FIFE                       OH     90003482440
4B861397884368   SANTIAGO       GONZALEZ                   SC     90014883978
4B861837272B43   ORTEGA         CRUZ                       CO     90008008372
4B86186945B58B   ALYSHA         ARREGUIN                   NM     90007948694
4B861972861968   DANIEL         BOJORQUEZ                  CA     46097409728
4B861A6738B355   JEAN           BAKER                      SC     90014610673
4B862171191988   JENNIFER       CARNES                     NC     90009951711
4B862213A51383   HEATHER        WEBSTER                    OH     66047412130
4B862375A72B43   ENRIQUE        VALERIANO-TERESA           CO     33070933750
4B86245875B271   EDDIE          PEDRO                      KY     68083224587
4B862552124B99   RENEE          DOWNING                    DC     81001505521
4B86291117B425   SVETLANA       COLE                       NC     11090289111
4B863299584368   JANET          HERNANDEZ                  SC     90013932995
4B86341338B16B   ELIZET         DIAZ                       UT     90011264133
4B864433461968   MIGUEL         REYES                      CA     90011074334
4B8647A6471934   DEANA          VANZANDT                   CO     90009647064
4B864981471999   CRYSTAL        SANCHEZ                    CO     90013519814
4B86524AA2B87B   JASON          HERR                       ID     41015032400
4B865331A8B16B   DONNIE         ROBERTS                    UT     31085333310
4B865535786545   CHRISTOPHER    PAUL                       TN     90015475357
4B8656A7144B36   DAN            OBRIAN                     OH     90015006071
4B865747751383   DIXIE          WOOD                       OH     90014817477
4B8658A6747954   RAFAEL         DUEÑAS                     AR     25016078067
4B865927871946   LEONEL         HERNANDEZ                  CO     32055019278
4B866A9412B87B   TINA           NOWOJ                      ID     41023230941
4B866A9645B52B   GRACIELA       RIVERA                     NM     90015200964
4B867215141258   TIFFANY        JENNINGS                   PA     51052842151
4B86724265B174   DONELL         WHITE                      AR     90014132426
4B867576A61968   PABLO          CRUZ                       CA     90010525760
4B867629847954   JAZMIN         AVINA                      AR     90014916298
4B86791325B52B   CHRIS          VALDEZ                     NM     90000109132
4B868424491569   ROCIO          MARQUEZ                    TX     90011534244
4B868557171946   AYLICIA        SANCHEZ                    CO     32010155571
4B8691A2171999   JANESE         DICKENSON                  CO     38065161021
4B86987515B52B   JEFFREY        ROBLING                    NM     90015148751
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4B869A91491569   LORENA         ESPINO                     TX     90007740914
4B86B118691569   SILVIA         CUEVAS                     TX     90012631186
4B86B1A1A5B52B   JANETTE        GARCIA                     NM     90015151010
4B86B297A5B53B   CHERYL         MARTINEZ                   NM     90014832970
4B86B346591873   SHAVONNE       WHITEHEAD                  OK     90011143465
4B86B95483168B   ENRIQUE        MARTINEZ                   KS     90014039548
4B86B96A191988   LANDORIS       WATSON                     NC     90010879601
4B86BA63472B4B   JUDY           CORDINES                   CO     90011590634
4B8712A6591988   DOROTHY        MCNEIL                     NC     17046982065
4B871AA965B52B   SAMUEL         KOVAC                      NM     90005060096
4B872595591351   JENNA          TURQUEZA                   KS     90012605955
4B872712661963   LIONEL         PRADO                      CA     90011077126
4B873924391351   LETISHA        ELSTON                     KS     90013859243
4B874287491988   ANTHONY        ROPER                      NC     90007722874
4B87433435B58B   LITA           CASTILLO                   NM     35033143343
4B87478377B694   JAMEY          GILLENWATER                GA     90005217837
4B87522755B174   KIM            LANGFORD                   AR     90011142275
4B87534A384368   CARLOS         SORIANO                    SC     90013933403
4B875374393794   TEDILA         BACHORE                    OH     90012853743
4B875561251334   GAY            REINEMUTH                  OH     90008715612
4B875675172B43   JENNIFER       POHLENZ                    CO     33066006751
4B875897247954   MISTI A        SNYDER                     AR     90011608972
4B87624518B185   ANTHONY        APPAH                      UT     90004422451
4B87628474237B   LAZARO         MACIAS                     TN     90015502847
4B876A8554B271   DWANETTE       YOUNGBLOOD                 NE     90011450855
4B8774A7572B32   JORGE          OSUNA                      CO     33059524075
4B877633851334   BENYAM         ZEWDE                      OH     90000326338
4B878166A93794   ALTHA          BODNER                     OH     66068551660
4B878271291873   KELLY          BRYCE                      OK     90011122712
4B87844755B58B   VERONICA       SEDILLO                    NM     35072614475
4B878492385697   OMAR           ARIAS                      NJ     90007914923
4B878517A51383   JOSUE          GOMEZ                      OH     90006495170
4B87877275B52B   DONNA          DELGADO                    NM     36075617727
4B87882A82B87B   KAELINN        MORSE                      WA     90011898208
4B87927A471934   CHRISTINA      PARHAR                     CO     90009042704
4B87987A491523   MARIA          RAMIREZ                    TX     75055038704
4B87B52225B222   DESERAE        FUGETT                     KY     90006335222
4B87B638171999   BRITTANY       FORRESTER                  CO     90013676381
4B87B85215B395   MIREYA         HERNANDEZ                  OR     44559648521
4B87B943972B4B   PATRISHA       GOOCH                      CO     90012999439
4B87B96565B52B   EDUARDO        SALGADO BARAJAS            NM     36068859656
4B881129784368   ERICA          BAILEY                     SC     90006211297
4B881426461968   LUCIA          ABRUSSEZZE                 CA     90011974264
4B881785972B4B   VICTOR         MARQUEZ GUERRERO           CO     90011137859
4B882274951334   BRANDON        FAIR                       OH     90012072749
4B88277325B58B   ERIC NUNEZ     OLIVIA PENROSE             NM     90012947732
4B882857251383   JANESE         CLARK-BALLEW               OH     90014818572
4B883125891527   MARIA          PORTILLO                   TX     90001021258
4B88324767B865   FRANKLIN       FIGUEROA                   IL     90014132476
4B883545371946   MICHAEL        DALUGDUG                   CO     32039425453
4B884717955939   DELFINA        MANCILLA                   CA     49072127179
4B885111491351   CHRISTIAN      MILLER                     KS     90013461114
4B885126891394   MONIQUE        DICKINSON                  KS     90000721268
4B885168161968   EDUARDO        CABRALES                   CA     46027971681
4B88532265B395   MARIA          PENA                       OR     90013603226
4B88564615B52B   CATHERINE      MARTINEZ                   NM     90006116461
4B8856A715B52B   JENNIFER       MARTINEZ                   NM     90010636071
4B88616135597B   EDGAR          TORREZ                     CA     49000601613
4B88686762B956   VICTOR         NUNEZ                      CA     90008288676
4B887569884368   TIGRA IYESHA   ZEIGLER                    SC     90012835698
4B887811251383   JEANNINE       BRIGGS                     OH     90014818112
4B88863A24B271   ALFONSO        SOLORIO SOLORIO            IA     90013096302
4B88884895B223   JONH           STORY                      KY     68039238489
4B88891632B27B   HILTON         BANGURA                    DC     90008429163
4B888A34561967   MIGUEL         MENDEZ                     CA     90004820345
4B88919278B185   MATT           OSMOND                     UT     90004421927
4B88938915B53B   DENISE         MORENO                     NM     35036563891
4B88967865B174   JAMAL          MOSBY                      AR     90014056786
4B889936191873   RUTH           ARCHER                     OK     21088709361
4B889999193794   CHANCI         DOSS                       OH     90011579991
4B88B655372B43   CARLOS         ESPEJEL                    CO     33042166553
4B88B8A1A51334   AMANDA         JONES                      OH     90009638010
4B88BA6968B16B   LEWIS          YENNA                      UT     90011900696
4B89172642B27B   MONTESHIA      MINOR                      DC     81084537264
4B891811251383   JEANNINE       BRIGGS                     OH     90014818112
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4B892736372B4B   DIANE        WEITZEL                      CO     33035537363
4B893942572B43   EUGENE       ABEYTA JR                    CO     33052759425
4B89426A48B355   DAVID        HOFFMAN                      SC     11048932604
4B894434A72B43   TYSON        RAY RICHARDS                 CO     90013664340
4B89474935B174   SEAN         MCINTOSH                     AR     23033877493
4B89521368B185   CASSIE       NIELSON                      UT     90006512136
4B895217A5B52B   TANYA        POWELL                       NM     36026332170
4B89533775B222   YULIBER      DUCAS                        KY     90012313377
4B8958A5984368   INENEO       RAMIREZ                      SC     14585548059
4B896391A8B355   DARRIACH     MACK                         SC     90014933910
4B897191891569   OSMAN        VALDEZ                       TX     90014451918
4B89727385B52B   REBECCA      HURD                         NM     90014092738
4B89774A147954   ALMA         LOEAK                        AR     90009577401
4B898126751334   STEPHANIE    BROWN                        OH     66003571267
4B898617661967   SUSANA       ROCHA                        CA     90010646176
4B898684247954   LAVINIA      TAYLOR                       AR     90014486842
4B898721191569   KAREN        REALYVAZQUEZ                 TX     90013887211
4B89883635598B   LAURA        HUIPIO-GUZMAN                CA     48096738363
4B899257A91988   CALVIN       HOWELL                       NC     17036272570
4B89926255B53B   BENITO       MEDINA HERNANDEZ             NM     90010232625
4B899652A2B27B   BRANDIE      GREEN                        DC     81005556520
4B89974A52B87B   D. SHANENE   COPE                         ID     90002397405
4B899819A5B271   DONALD       MILLER                       KY     90010948190
4B89B164571934   NAKIDA       DRAKE                        CO     32011101645
4B89B298A5B53B   JUSTIN       BRENT                        NM     90014832980
4B89B315472B36   BENJAMIN     BATANOVIC                    CO     90012263154
4B89B358961967   RENE         ANAYA                        CA     46058113589
4B89B811251383   JEANNINE     BRIGGS                       OH     90014818112
4B8B1796A5597B   CARL         DREW                         CA     90002027960
4B8B188813B397   LUKE         TRUJILLO                     CO     33091238881
4B8B1A1962B87B   CASSANDRA    WILLIAMS                     ID     90009030196
4B8B211565B52B   SYLVIA       OROSCO                       NM     36038971156
4B8B2237655939   VALERIE      FIERRO                       CA     49095412376
4B8B26A1493794   BRIAN        WALLACE                      OH     66048946014
4B8B2A2853168B   JORGE        RUBIO                        KS     90008850285
4B8B336A24B271   SHANNON      PRICE                        NE     90006183602
4B8B3517A5B174   ANNA         KYLE                         AR     23068455170
4B8B353A25B223   SHAWN        HENDERSON                    KY     90002725302
4B8B3864A93794   HEATHER      HIXSON                       OH     90013478640
4B8B428515B174   JON          LARUE                        AR     23048052851
4B8B46A7251383   AMBER        LAKES                        OH     90014836072
4B8B476658B185   JEREMIAH     GUZMAN                       UT     31059467665
4B8B4952251334   OLIVIA       ENGLE                        OH     90013049522
4B8B4A3A772B36   DONNA        DEACON                       CO     90009040307
4B8B4A9362B87B   PAMELA       BRIDGES                      ID     41061780936
4B8B67A2791569   VIDNEY       ALONZO                       TX     90013887027
4B8B6828271946   MARIA        CHAPARRO                     CO     32090458282
4B8B697385B53B   HENRY        MCCRAY                       NM     90013709738
4B8B6976947954   ALONZO       TORRES                       AR     90014559769
4B8B6A96461963   JOSE         GARCIA                       CA     90010000964
4B8B7225A5B555   JIMMY        MONTOYA                      NM     90008622250
4B8B73A575B222   DAVID        JONES                        KY     68094793057
4B8B779575B395   KIM          MARCHANT                     OR     44555817957
4B8B829198B355   AFTON        WALKER                       SC     11095532919
4B8B8527672B43   MABEL        CAMEZ ORTEGA                 CO     90011505276
4B8B852925B53B   TREVINO      VIOLA                        NM     90013195292
4B8B9456A71934   HEVER        CRUZ                         CO     90015264560
4B8B9491272B4B   SHARDAY      ORTIVEZ                      CO     33038964912
4B8B959255B174   CAROLYN      BROADWAY                     AR     90013325925
4B8B9746891873   LASHAWEN     YOUNG                        OK     21043617468
4B8B9A2118B355   LATOYA       CARSON                       SC     90014670211
4B8BB286391873   HAZEL        MILLER                       OK     90012662863
4B8BB356271999   DEANA        STOM                         CO     90010773562
4B8BB59965B174   TIMOTHY      ANTHONY                      AR     90013595996
4B8BB855672B4B   HUGO         JIMENEZ                      CO     33064328556
4B911185391873   LAWRENCE     EVITT                        OK     90015571853
4B91135465B53B   MAURICIO     MINJARES                     NM     35043703546
4B91148415597B   ESPARZA      ESTELLA                      CA     49076894841
4B911661291569   CINTHIA      DE SANTIAGO                  TX     90012336612
4B911886472B4B   ROBERT       MILLS                        CO     90013268864
4B912287791873   BRIAN M      KIRK                         OK     21096592877
4B912514971999   JULIE        SOMMERS                      CO     90014875149
4B912526872B43   CONSUELO     QUINTANA                     CO     33030705268
4B912653A2B87B   BRANDON      MCDONALD                     ID     90011106530
4B912879151334   EDWARD       BROWNING                     OH     66014838791
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4B912A42171934   ALAN         OLAIS                        CO     90010490421
4B913569155939   JOSE         CARDENAS                     CA     49027525691
4B913869A51334   JAMIE        PERRY                        OH     90011068690
4B91387A35B271   TERESA       HERNANDEZ                    KY     90007878703
4B913969184368   BELGICA      GONZALEZ                     SC     90010619691
4B914215372B4B   NOAH         DUKE                         CO     90001572153
4B914415A51382   CETH         DIGGS                        OH     90014724150
4B91466828B165   MICHAEL      WOOD                         UT     90003066682
4B914A48851383   JOHN         SCHEHR                       OH     90001050488
4B915155672B36   LORENA       DIAZ                         CO     33088091556
4B91557218B849   JOSE         MAGANA                       HI     90014245721
4B915599172B25   IVONNE       ALEMAN                       CO     90012415991
4B915744761963   ALEX         RIVERA                       CA     90012317447
4B916224355951   CRISTINA     MARTINEZ                     CA     49025042243
4B9163A618B165   KEN          BERRYMAN                     UT     31061063061
4B916A25A72B43   JESUS        LARA                         CO     90004830250
4B916A55951383   KRISTEN      STEVENS                      OH     90012770559
4B917716951382   MARK         WRIGHT                       OH     90007367169
4B917724191547   JUAN         LEAL                         TX     75012237241
4B91773725B174   CARL         ALLEN                        AR     23025947372
4B917793172B4B   JUSTIN       TROUDT                       CO     90001457931
4B918285A61967   ANGEL        OJEDA                        CA     46015152850
4B918764341261   JENNIFER     SEVICK                       PA     90001257643
4B918831172B43   CARY         SMITH                        CO     90000708311
4B918841A8B181   MICHAEL      GRIBBLE                      UT     31081348410
4B9189A1155939   GREG         SCHAAF                       CA     90003479011
4B918A24861968   ANJANETTE    PRICE                        CA     90013750248
4B91919758B16B   DIOMARY      GUEDEZ                       UT     90012751975
4B91925478B16B   TRACY        HODGES                       UT     90014212547
4B919457772B32   MARK         REED                         CO     90008454577
4B91966515B174   COURTNEY     RHODES                       AR     90008186651
4B919716947954   LUIS         GAMEZ                        AR     25004537169
4B91973988B16B   NATHAN       ROE                          UT     90012777398
4B919A57551383   MARGARET     RODRIGUEZ                    OH     90014840575
4B91B244191394   BEVERLY      SEALS                        KS     29079052441
4B91B25485B58B   LYDIA        HANSON                       NM     90004342548
4B91B38A993768   BARBARA      POHL                         OH     90000853809
4B91B465455999   RICARDO      DAVILLA CEBALLOS             CA     90001814654
4B91B479755939   IRENE        SOZA                         CA     90001714797
4B91B511386545   TIFFANY      BOOKOUT                      TN     90015445113
4B91B546161967   BETTY        PETERSION                    CA     46070165461
4B91B9A5255951   DOMINIC      RAMOS                        CA     90009329052
4B921213151382   LINDSEY      LANDA                        OH     90010602131
4B9222A1441222   RICHARD      HESS                         PA     90001002014
4B92242784B271   SABRINA      SMITH                        NE     90014174278
4B92277955B395   MELISHA      VALIOA                       OR     90011377795
4B92317A98B16B   KEVIN        HERNANDEZ                    UT     90015111709
4B923427191351   BRITNEY      WILLIAMS                     KS     90014854271
4B923583651382   HEATHER      CHATMAN                      KY     90014695836
4B92368995B299   CONNIE       RODGERS                      KY     90001446899
4B92447A95B395   MAGDALENA    SILVA ZACARIAS               OR     90005784709
4B924482392825   RAUL         NEVARAZ                      AZ     90014874823
4B924536551382   RENE         CAMBA                        OH     90014695365
4B92488138B355   KELLI        BRIDGES                      NC     11042278813
4B925536951382   CESAR        CORTEZ                       OH     90014695369
4B925634393794   MEGAN        WIGET                        OH     90012156343
4B925862791351   TRAVIS       BROOM                        KS     90015478627
4B925949172B43   DAVID        GRIFFITHS                    CO     90015099491
4B925A95391394   OFELIA       BALCAZAR                     KS     90010700953
4B926175691523   VICTOR       VIELMA                       TX     75055041756
4B92625455B174   KENDRA       BROWN                        AR     90011152545
4B92633735B58B   PAUL         SATCHER                      NM     90014233373
4B926354351383   JENNIFER     EMORY                        OH     90014653543
4B92646A855939   ELMA         GARCIA                       CA     49005724608
4B92662417B347   CARLOS       HUAJARDO                     VA     90002146241
4B926748172B43   CARMEN       CAVAZOS                      CO     90014887481
4B92694773168B   CHRISTINA    AARON                        KS     90014909477
4B927274791873   CHRISTINA    BARBER                       OK     21004232747
4B92745575B174   JAVEIOSON    HAMPTON                      AR     90004424557
4B92746378B16B   RUSSELL      ERSKINE                      UT     90011264637
4B92746922B27B   ASHLEY       MCCLANE                      MD     90015534692
4B92747932B87B   CHRISTIAN    TEAGUE                       ID     90009704793
4B92755485B53B   BLANCA       RAMOS                        NM     90007865548
4B927A29451382   ALVARO       GARCIA                       OH     90010660294
4B9283A6161967   GLORIA       VIRGEN                       CA     46077303061
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4B92851425597B   LORENA A     CURIEL                       CA     90004735142
4B928532A72B4B   JOSE         MENDEZ                       CO     33054095320
4B928981991569   BARRAZA      TERESA                       TX     90007139819
4B929153251383   TIFFANY      PHILLIPS                     OH     66043841532
4B929661751334   BERRY        SALAMON                      OH     90015516617
4B92977155B398   ELISEO       SEVERIANO                    OR     44091667715
4B929889451334   BERRY        SALAMON                      OH     90015008894
4B92B32268B355   INDONGESIT   EKANEM                       SC     11002073226
4B92B43515B222   ADRIENNE     SEADLER                      KY     90004774351
4B92B61585B53B   JAMES        LUDI                         NM     35072576158
4B92B85258B16B   GAIL         JONES                        UT     90014908525
4B92B85684B271   SHALI        PERKINS                      NE     90014788568
4B92B85AA5B58B   JESUS        CASTRO                       NM     90014578500
4B92B917471999   DARIO        GUTIREZ                      CO     90003499174
4B92B94295B56B   NADINE       ALBERT                       NM     90013259429
4B931416A7B694   ELAINE       LANKFORD                     GA     90003964160
4B9314A185B174   JACQUELINE   NUNN                         AR     90011724018
4B931595A72B4B   NICOLE       PINKNEY                      CO     90012725950
4B93217A651382   KEITH        CUMMINS                      OH     90001291706
4B93274115B58B   EDITH        SAM                          NM     90008257411
4B93289A784368   PATRICE      STIDHUM                      SC     90014338907
4B933229891394   DARLA        COX                          KS     90012192298
4B93335178B187   JULIE        MUNCY                        UT     90006763517
4B933733671946   RUTH         REESE                        CO     32089867336
4B93393445B222   SHERA        FISHER                       KY     90011789344
4B93394328B167   ANGELA       GAGLIARDI                    UT     90001089432
4B934135155939   KATHERINE    GALLEGOS                     CA     49010591351
4B934348951334   NATOSHA      MCCOY                        OH     90008553489
4B93463662B87B   JASMYNE      BROWN                        ID     90015156366
4B93491474B271   KELLY        CORCORAN                     NE     90012949147
4B934A26972B43   MELISSA      SANDOVAL                     CO     90012930269
4B934A4815B52B   VIRGINIA     CAMPOS-SANCHEZ               NM     90014820481
4B93525868B355   CLINTON      DANIEL                       SC     90006672586
4B935372671999   CELINA       CHAVEZ                       CO     90010403726
4B935548191873   KAREN        HOPKINS                      OK     90014205481
4B9355A275B174   ORLANDO      JOHNSON                      AR     90008315027
4B935673157124   YUJANA       REYES                        VA     90001046731
4B935732391873   KAREN        HOPKINS                      OK     90000627323
4B935749741258   ANGELA       KEENER                       PA     90007677497
4B935AA9593794   CHAD         WINGROVE                     OH     90013270095
4B936324A5B174   CHASITY      OLIVER                       AR     90011153240
4B93656552B27B   ROBERT       ROSEBUROUGH                  DC     90013025655
4B93659157B457   FRANCISCO    FERNANDEZ                    NC     90014495915
4B93716675B53B   ALONDRA      CARVEO ESCALANTE             NM     90010521667
4B937419355939   WENDY        BARRON                       CA     90004854193
4B93746378B16B   RUSSELL      ERSKINE                      UT     90011264637
4B937517491873   ANA          PEREZ                        OK     21010875174
4B937732361968   MARIA        GONZALEZ                     CA     90004197323
4B937747761967   STEPHANIE    STEPHANIE                    CA     46075637477
4B93776852B87B   KELSEY       HUBIAK                       ID     90014477685
4B93784885B58B   SIMONA       LOPEZ                        NM     35077638488
4B93796572B87B   FREDERICK    CAMPBELL                     ID     90015559657
4B938AAA271934   ELEANOR      ADAMS                        CO     90012560002
4B939111191569   BERENICE     VARGAS                       TX     75073121111
4B93968555B58B   MARIA        ESTRADA-MARTINEZ             NM     35091786855
4B939716371946   BRANDY       HAGGER                       CO     32044127163
4B93B117891394   ARACELI      JURADO                       KS     29082551178
4B93B546A51382   JERRY        LOUIS                        OH     90014695460
4B93B857172B4B   JEREMIAH     LESPERANCE                   CO     90013488571
4B941679191988   DEMETHIA     DRUMMOND                     NC     90014756791
4B94169274237B   MEL          BRYANT                       GA     90011446927
4B94182375B395   JOHN         CASTRO                       OR     90006318237
4B941997161968   AMPARO       ENRIQUEZ                     CA     90014039971
4B942269751334   BEN          HOPPE                        OH     90008902697
4B9423A365B53B   RICARDO      FACIO-RODRIGUEZ              NM     35087683036
4B9427A695B271   DANA         ROBEY                        KY     68074437069
4B942871191988   JUDITH       MANGUM                       NC     90009078711
4B943258941258   KEVIN        EDUARDO SARATE               PA     51056622589
4B9441A655B526   KURT         NILSON                       NM     35097781065
4B944268491351   CRICKET      WIRELESS                     KS     90009982684
4B94433454B531   TONYA        SIMMONS                      OK     90009603345
4B944372751334   ANTHONY      GORRASI                      OH     90008663727
4B94458A38B16B   TRAVIS       JENSEN                       UT     90013315803
4B944639147954   CLAUDIA      CASARES                      AR     90007296391
4B944718791873   MARIA        PENA                         OK     90011087187
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4B9449A875B222   JESSICA      SANDERS                      KY     90004029087
4B945552251334   OTIS         MIXON                        OH     90014515522
4B945842455939   JAZBEL       JIMENEZ                      CA     90012548424
4B94596425597B   TANIA        JACOBO                       CA     90011179642
4B945AA8193794   LEROY        COLES                        OH     66035850081
4B94641A35B52B   JULIAN       JARAMILLO                    NM     36004574103
4B94662135B58B   DINA         GARCIA                       NM     90012666213
4B946958747954   JORGE        MARTINEZ                     AR     90001779587
4B9472A3891873   JIMMIE       DUNN                         OK     90001462038
4B947359255939   ORLANDO      JIMENEZ                      CA     90014503592
4B94888415B174   FLOYD        MOSS                         AR     23095328841
4B948A9845B53B   BRITNEY      CROWNOVER                    NM     90011340984
4B94922718B355   SHEILA       KIRKPATRICK                  SC     11043432271
4B949821361968   JUAN         CARLOS GRANADOS              CA     90011868213
4B94992A871946   TAMARA       PEAT                         CO     32008789208
4B94998815B58B   RENE         ARROYO                       NM     90006519881
4B94B127572B43   EUGENE       ORTEGA                       CO     33014491275
4B94B315647954   BERNARDO     SALAZAR                      AR     90006733156
4B94B527561968   ANGIELEE     ELEJORDE                     CA     90010825275
4B94B96A75597B   NICOLE       CAREY                        CA     90011179607
4B94BA22A91873   KRISTEN      GILMAN                       OK     90013320220
4B94BA82772B36   VICKI        JOHNSTON                     CO     90010740827
4B951147972B43   ERIC         ROYBAL                       CO     90000641479
4B95175372B258   WILLIAM      WARING                       DC     90007827537
4B952538451383   TOBIAS       ANTHONY                      OH     66098255384
4B952956586545   DAISY        POWNS                        TN     90015479565
4B9529A6A91569   IVAN         MONTOYA                      TX     90014709060
4B95343845B52B   AMY          BOYDSTON                     NM     36080654384
4B95419A593782   SHANEICE     JOHNSON                      OH     90011191905
4B954216A72B43   AARON        CRAWFORD                     CO     90012792160
4B954237172B4B   MANUEL       MONTANEZ                     CO     33000142371
4B954369897957   KENNETH      REINHART                     TX     90013793698
4B954393461976   LORENZO      SALINAS                      CA     90011583934
4B95459695597B   RICHARD      CHA                          CA     49003195969
4B95471834B271   PRECIOUS     PHILIP                       NE     90008427183
4B95525764237B   MORRIS       FORSTER                      GA     90012842576
4B955323372B36   ALEJANDRO    GUTTIERREZ                   CO     90012263233
4B955636955939   ALEJANDRO    GARCIA                       CA     90013276369
4B95584638B355   KELLIE       CRAWFORD                     SC     90010768463
4B956117891351   CHARLIE      BATTREALL                    KS     90015101178
4B95634A191988   ENRIQUE      GONZALEZ                     NC     17063113401
4B957454984368   JESUS        PERALTA                      SC     90014794549
4B95757215B395   DOMINGO      PEDRO                        OR     44534715721
4B95757A24B271   LUIS         BECCRIL                      NE     90013265702
4B95758A291569   BRENDA       YELARRAMENDI                 TX     75007725802
4B957733451383   KARLIN       CARIAS MORALES               OH     90014837334
4B957993851382   LIBERTY      BURNS                        OH     90003979938
4B958129451382   CATHERINE    TIERNEY                      OH     66090331294
4B95841728B141   SYDNEY       DAVIS                        UT     31066414172
4B958452357134   JAVON        GANT                         VA     90006894523
4B958613A61963   ANTWON       HILL                         CA     90008906130
4B958741A51383   BRITTANY     ROBINSON                     OH     90014837410
4B95939675B523   EUGENIA      VELETA                       NM     35029573967
4B959593591569   IRMA         LONGORIA                     TX     90011205935
4B959761872B36   SAMUEL       OROZCO                       CO     90015187618
4B959775155939   JULIAN       QUALES                       CA     90014617751
4B959848872B43   NHI          HUYNH                        CO     90012778488
4B959869691351   CHARLES      BREWER                       MO     90015378696
4B9599A8872B4B   MARCELO      MEDINA                       CO     33022339088
4B95B431951382   CHARLES      STOKES                       KY     66039934319
4B95B63318B165   HILDA        ANAYA                        UT     31047776331
4B95B76985B395   MICHAEL      SMITH                        OR     90008327698
4B961219184368   RAMIRO       LUGO                         SC     90014142191
4B96137215597B   MICHELLE     BROWN                        CA     49014863721
4B96139935B58B   CHELSIE      M MENDEZ                     NM     90014423993
4B961591172B4B   EVETTE       HOLMES                       CO     33052485911
4B961A4792B27B   YVON         WINNS                        DC     90013360479
4B961A5445B58B   CHELSIE      M MENDEZ                     NM     35054170544
4B961A73991569   OTILIA       QUINTANA                     TX     90014910739
4B962131251334   FREWEINI     TESFAI                       OH     90008051312
4B9622A175B53B   SUINA        KADISHA                      NM     90011902017
4B962586855939   ELVA         MARTINEZ                     CA     49009405868
4B96261485B271   JOEL         MOREL                        KY     90014256148
4B96289A161967   ADRIAN       VALDEZ                       CA     46028568901
4B96371245B52B   TIFFANY      VALDEZ                       NM     90013517124
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4B96396A393767   DAYANA          SNOWDEN                   OH     90012479603
4B963A57972B36   MILTON          M                         CO     90014850579
4B964642871999   ANITA           ORTEGA                    CO     90014946428
4B964819591988   EULALIO         HERNANDEZ R               NC     90011758195
4B965792455939   DIANTE          GOOCH                     CA     90007407924
4B96598A684368   DENISE          MARTINEZ                  SC     90014699806
4B96619635B52B   ELIZABETH       ALTON ROMERO              NM     36035351963
4B966685584368   ELIAS           BARRIOS                   SC     90013256855
4B96675428B355   MIQUALA         CRAWFORD                  SC     90000367542
4B966927672B36   MONICA          VARELA                    CO     90013239276
4B96696A261968   JOSEPH          CALVIN                    CA     90011159602
4B967137772B43   EDWIN           PAREDES                   CO     90012971377
4B967291A5B52B   ROBERTO         JIMENEZ                   NM     90014462910
4B96824258162B   ANTHONY         MALOTT                    MO     90012132425
4B968312471999   TINA            LUCERO                    CO     90007083124
4B96851382B27B   GINGER          ROYSTER                   DC     81086225138
4B96863888B165   RUTH            ACOSTA                    UT     90006456388
4B968775484368   DAVID           STIR                      SC     14574817754
4B968781251382   TILDEN          PONDER                    OH     66006767812
4B9689A2A6B974   JUAN            CARLOS CARRANZA           VA     81064439020
4B968A37572B36   KODY            NESMITH                   CO     90013350375
4B968A9132B229   DENY            PEREZ                     DC     90003410913
4B969994591394   RODOLFO         RAMIREZ                   KS     90005569945
4B96B17625B222   JAMES           HEAPS                     KY     68032081762
4B96B21635B53B   EMILY           OLIVARES                  NM     35061772163
4B96B2AA572B36   PRISCELLA       CHAGOLLA                  CO     90013152005
4B96B323472B4B   YOLANDA         GODDARD                   CO     33020843234
4B96B531951382   TIERRA          SANDERS                   OH     90012785319
4B96B545491569   MICHAEL         GUYE                      TX     75086545454
4B96B613A2B87B   BRIAN           URIE                      ID     41035506130
4B96B78682B87B   DAVID           WILLIAMS                  ID     90008947868
4B96B87378B165   VERONICA        ZAVALA                    UT     90004928737
4B971158161968   LADDAVANH       SOUKPASUETH               CA     46085951581
4B971533655939   JESSICA         TORRES                    CA     90005275336
4B971871191988   JESSIE          JAMES                     NC     90014738711
4B971A13781667   ROBERT          MARTIN                    MO     90014760137
4B971A76A91394   DARRELL         HARTMAN                   KS     90010430760
4B972115761968   CYNTHIA         NGUYEN                    CA     90013641157
4B9724AA32B27B   KENNETH         HENDERSON                 DC     90011044003
4B97284A75B52B   ANTHONY         ROMERO                    NM     90015088407
4B972A27761945   V.I.P           TOWING                    CA     46030480277
4B97356625B58B   VIC             LINSON                    NM     90007355662
4B97388485B395   MAY             PAW                       OR     44545878848
4B973A24291569   PEDRO           DURAN                     TX     75074050242
4B973A47872B36   HONORIO         RESENDIZ                  CO     90012150478
4B974526A4237B   JERRI           HOOPER                    GA     90015015260
4B974658172B4B   JESSICA         HOOYER                    CO     90006726581
4B9748A3651382   SHAVANA         PICKELHEIMER              OH     66007888036
4B97525A571999   REGINA          CORDERO                   CO     38014812505
4B97527835B223   CANDACE         SACRE                     KY     68007152783
4B975319893765   ALYSSA          BRYAN                     OH     90012303198
4B97558A291569   BRENDA          YELARRAMENDI              TX     75007725802
4B976642871999   ANITA           ORTEGA                    CO     90014946428
4B977436A41258   REBECCA         SAMAY                     PA     51051564360
4B977558151382   ISAIAH          FAIRCLOTH                 OH     66015485581
4B977A41971946   CRISTINA        SANCHEZ                   CO     32018400419
4B978234151382   LORI            KOHLER                    OH     66009122341
4B978292472B43   EMILIO          LOPEZ                     CO     90013852924
4B978313291523   DANIEL          MOLINA                    TX     75025413132
4B97843A88162B   TOYANNA         CLEAVER                   MO     90009454308
4B97864657122B   FAUSTO          CABRERA                   IA     90015376465
4B97865244237B   LLOYD           COPPINGER                 GA     90006646524
4B979192891351   CATHY           TALBERT-BEY               KS     90007731928
4B9798A5984368   INENEO          RAMIREZ                   SC     14585548059
4B979917171999   ASHLEY          PADILLA                   CO     38026219171
4B97995235B395   ANNA MICHELLE   JIMENEZ- FLORES           OR     90006029523
4B97B591672B36   CARLOS          SALAZAR                   CO     33053745916
4B97B8A144B271   CHARETTA        JONES                     NE     27068418014
4B97BA3A95B53B   JERALYN         PADILLA                   NM     90009760309
4B9812A5761968   ARTHUR          MANCILLA                  CA     46028522057
4B98136465B58B   GENEVIEVE       LUCERO                    NM     90013923646
4B981417691569   LIZETHE         MARTINEZ                  TX     75076354176
4B98146538B355   DESMOND         DIXON                     SC     90011344653
4B98167915B52B   JULIE           LOVATO                    NM     36027596791
4B982235A61963   MICHAEL         DAMRON                    CA     46090762350
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4B982389581682   MIKE         REEVES                       MO     29004923895
4B982485384368   MARIA        DE LOS REMEDIOS              SC     14502864853
4B98251918B165   SHAWNA       OWENS                        UT     31057755191
4B98293A347954   LILIANA      ALDACO                       AR     25084419303
4B982A3888B355   SISSY        GREGORY                      SC     90005180388
4B983176671946   MARIA        RIVAS-MARTINEZ               CO     32025211766
4B9831A575B222   CARRIE       PHELPS                       KY     90011791057
4B98336525B58B   DANIELA      RAMOS                        NM     90013923652
4B98337878B16B   CHRISTIAN    VELASQUEZ                    UT     90013393787
4B98434A256355   WENDY        MARTINEZ                     IA     90014363402
4B984858591569   CHRIS        FONTES                       TX     90010458585
4B984971161968   GUILLERMO    HERNANDEZ                    CA     90000579711
4B9852AA88B165   KENNETH      ROSENBAUM                    UT     31059842008
4B985577751383   KRISTIN      MAHAR                        OH     90005155777
4B985634291351   MARIA        HOWARD                       KS     90002596342
4B986343972B4B   REBECCA      MUNIZ                        CO     33001993439
4B98657735B223   DEBORAH      ENGLER                       KY     68059665773
4B986841484368   SANTOS       NAZARIO                      SC     14565758414
4B98726835B279   BETTY        HODGES                       KY     90001232683
4B98768AA5B58B   SALLI        CABRERA                      NM     90013786800
4B987929461967   JAVIER       MATA                         CA     90010649294
4B98812528B16B   JUSTINE      COVINGTON                    UT     90010271252
4B98819225B53B   KAREN        SMITH                        NM     90007971922
4B988343651382   MEGAN        MINIARD                      OH     66056063436
4B988399984368   FARID        BEJAR                        SC     90011713999
4B98845655B58B   ANTOINETTE   HERRERA                      NM     35071714565
4B988477791988   SIRILA       MORALES                      NC     90011914777
4B98853565B222   PATRICIA     BELL                         KY     68061105356
4B988834A84368   CEILA        CARRILLO                     SC     90013938340
4B98886845597B   RODRIGO      CERVANTES                    CA     90011008684
4B989228347954   JANCARLOS    ARGUELLES                    AR     90007302283
4B989666991569   YARATZED     GONZALEZ                     TX     75010356669
4B989843751334   FATOU        KONE                         OH     66065398437
4B98B33A451383   ROBERT       WOMBLE                       OH     90013363304
4B98B583A93794   KRISTOPHER   JONES                        OH     90013735830
4B98B82225B52B   VERONICA     MARQUEZ DELACRUZ             NM     36004578222
4B98B8A2671946   PHILLIP      PRIESTER                     CO     32048058026
4B98BA37161968   CHRISTINA    FAITH JONES                  CA     90014130371
4B99115152B87B   DUSTIN       MEDLOCK                      ID     90013511515
4B991854891351   ERIN         PATILLO                      KS     90013798548
4B99224778B169   MAGDALENA    SANTOS                       UT     31085932477
4B99226718B165   VIVIANA      VALLEJO                      UT     90012532671
4B99227A191351   TYRONE       RODRIGUEZ                    KS     90010502701
4B992987347954   JORGE        MORALES                      AR     90011519873
4B99327A29718B   RONALD       COOLIDGE                     OR     90014792702
4B99329115B174   LADY         GURLEY                       AR     23075122911
4B99365192B87B   ZACH         ZANDHUISEN                   ID     90013296519
4B993785351383   NITESH       RAI                          OH     90014837853
4B9937A332B828   KENETH       WATKINS                      ID     42079577033
4B993A7422B87B   ZACH         ZANDHUISEN                   ID     90009500742
4B99427385B52B   REBECCA      HURD                         NM     90014092738
4B99445135B52B   ANGELA       MARTINEZ                     NM     90009524513
4B994559A8B16B   JASON        REEVE                        UT     31009655590
4B994AA583168B   VALERIE      BARCENAS                     KS     90012130058
4B995266672B43   BERENICE     FLORES                       CO     90013552666
4B995461991569   RICARDO      REYNA                        TX     75097384619
4B995743291988   AMY          PITTMAN                      NC     90014597432
4B995982991351   LORENA       ANGUIANO                     KS     29086789829
4B99611828B355   ROSALVA      AVILA                        SC     11064921182
4B996211891569   RUTHIE       WADE                         TX     75086702118
4B996253A84368   VIC DEBBIE   POWERS                       SC     14539502530
4B996458271999   ANDREA       ROBLES                       CO     38097954582
4B996683251383   JILL         DURBIN                       OH     66093466832
4B996899677354   REBECCA      LOCKETT                      IL     90011958996
4B996987A5B395   PAUL         TAPIA                        OR     90006159870
4B997215871999   FREDRICK     GREENWOOD                    CO     38025802158
4B997266172B43   JUAN         PUENTE                       CO     33013662661
4B997653661967   MIRIAM       SOTO                         CA     46060016536
4B997A34461968   JOSE         AVENDANO                     CA     90011060344
4B997AA655B53B   SABRINA      ORTEGA                       NM     90014450065
4B998678751382   JOSEPH       EHRMAN                       OH     90014696787
4B99919542B87B   MAURINA      SWANEY                       ID     90015491954
4B99927532B87B   DANIELLE     KLAGES                       ID     90015132753
4B99949828B16B   KAYLA        MORGAN                       UT     90012234982
4B999696891394   TONETTE      ANDERSON                     KS     29007156968
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4B99B45314B271   AMY           SISSEL                      NE     27083034531
4B99B466222463   ROSIE         MEDINA                      IL     90015514662
4B9B113A48B165   RUNA          TUIMASEVE                   UT     90000331304
4B9B138725B174   SHUNDA        STEWART                     AR     90014793872
4B9B154A591873   DARRYL        LIGONS                      OK     90004915405
4B9B1581991524   CLAUDIA       GUTIERREZ                   TX     90008205819
4B9B1622293794   LANCE         LINKHART                    OH     90013456222
4B9B165485B53B   MONICA        RAMOS                       NM     35059446548
4B9B1A8465B395   JANICE        GARCIA                      OR     90010920846
4B9B2168551334   LISA          LEDGER                      OH     90013151685
4B9B2392555939   MONUQUE       AVINA                       CA     90014613925
4B9B23A2493728   ROBERT        HUNLEY                      OH     90004123024
4B9B2581991524   CLAUDIA       GUTIERREZ                   TX     90008205819
4B9B284615B53B   SAMUEL        JACKSON                     NM     90013598461
4B9B2A78591394   ANGELA        WALKER                      MO     90010050785
4B9B3372A91351   ARACELI       BUSTAMANTE                  KS     90014173720
4B9B3427147954   LORI          FERGUSON                    AR     25072724271
4B9B3A3A561968   SONIA         BELMONTE                    CA     90008140305
4B9B4423772B36   ANDREA        SANDERS                     CO     90003754237
4B9B4526272B4B   SERAFIN       TAPIA                       CO     33094895262
4B9B456675B271   CHRIS         ROBERSON                    KY     90010105667
4B9B456792B27B   DARRELL       HARRIS                      DC     90011335679
4B9B5155271943   KENYADA       MCCALL                      CO     90012481552
4B9B5321593794   ADAM          MARTIN                      OH     90014423215
4B9B5671191569   JAMIE         TORRES                      TX     75029706711
4B9B5932172B36   RICHARD       GARCIA                      CO     33096259321
4B9B6238A61967   NICOLE        NICHOLSON                   CA     90009032380
4B9B625545B58B   DEBBIE        KLEM                        NM     90002662554
4B9B667574B271   NYIBOL        BUOM LIEM                   NE     90015126757
4B9B7411651383   ASHLEIGH      SCHWARM                     OH     90012834116
4B9B7A73991569   OTILIA        QUINTANA                    TX     90014910739
4B9B8393251382   TINA          RAMSEY                      OH     66019723932
4B9B8A39791569   ROCIO         RANGEL                      NM     90006170397
4B9B8A9785B174   BOBBIE        MORRIS                      AR     90011150978
4B9BB23965B58B   GWEN          GREEN                       NM     90008482396
4B9BB4A1191351   TYLOR         NCIDHOLTT                   KS     90015514011
4B9BB627A93794   TAMMY         STEVENS                     OH     90012646270
4B9BB669171999   CHANTEL       ARAGON                      CO     90011226691
4B9BB71415B271   JOANN         WILLIAMS                    KY     68090217141
4B9BB79A671999   SAMANTHA      GONZALES                    CO     90013377906
4B9BB88428B165   REINA         VALENZUELA                  UT     90005768842
4B9BB913862B31   JAIME         TORRES                      KS     90013859138
4B9BBA44A72B4B   RAHSHAAD      MATHIS                      CO     90009990440
4BB11418A71999   CHANTEL       GONZALES                    CO     38013024180
4BB12543151383   MARCO         GOMEZ                       OH     90011915431
4BB1286A34B271   SALAT         MUSA                        NE     90014858603
4BB12947255939   STEPHANIE     GOMEZ                       CA     90009039472
4BB131A7484368   NYASHA        HEYWARD                     SC     90012701074
4BB13447A3B343   DAVID         STEPHEN                     CO     33026844470
4BB1353A62B87B   DIANE         HEILMAN                     ID     41007145306
4BB13587A47954   JOSHUA        LOMONACO                    AR     90013215870
4BB1423722B27B   EBONY         SILVER                      DC     90013182372
4BB1424A87B355   NIKISHA       BUTLER                      DC     90001242408
4BB14274A5B53B   DEAN          GROSS                       NM     90015112740
4BB14392A5B52B   KATHLEEN      COMPTON                     NM     90015143920
4BB14479551383   CARLOS        PEREZ                       OH     90012004795
4BB1453175B53B   CECILIA       SILVA                       NM     90015095317
4BB14726391873   BIG           GHETTO                      OK     90003477263
4BB14851961967   ANTHONY       WILLSON                     CA     90013748519
4BB14928691351   JUANA         SOTO                        KS     90001419286
4BB14A7182B87B   NORMAN        FORTIER                     ID     41086760718
4BB15268A5B222   BARBIE        JACKSON                     KY     90014762680
4BB15393272B36   ARCELIA       VELAZQUEZ                   CO     33045153932
4BB1585245B53B   ANGELA        HERNANDEZ                   NM     90014178524
4BB15877571946   MELISSA       CUMMINGS                    CO     32064858775
4BB16217891873   APRIL         WOOD                        OK     90000932178
4BB16355A55951   ANESSA        LEYDIG                      CA     49079303550
4BB16611A2B87B   RUDY          BARAGA                      ID     90008686110
4BB1664935B223   PAULA         MARTIN                      KY     68056226493
4BB16858791351   ANGELICA      CATHERO                     KS     90010168587
4BB16A5993B491   JOHN          GREEN                       PA     90013810599
4BB18125351383   CHRISTOPHER   WARD                        OH     90006981253
4BB18182471999   KIM           BELL                        CO     90015271824
4BB1822768B849   YURI          GAMBOA                      HI     90014332276
4BB18296555939   DAVID         KING                        CA     90014562965
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4BB18465151382   KIMBERLY      MCDONALD                    OH     90014664651
4BB18A32291569   DANILO        IGNACIO                     TX     90013170322
4BB1943923168B   HERICA        RAMIREZ                     KS     22089784392
4BB19683871999   RHIANNON      MARTINEZ                    CO     90013196838
4BB1973445B222   VICTORY       REYNOLDS                    KY     90014807344
4BB19942472B36   CINDY         HAMMOND                     CO     90010149424
4BB19964291351   GERMAIN       RIVERA                      KS     90005379642
4BB19A7298B16B   CHRISTOFFER   HARRIS                      UT     90008480729
4BB1B18838B16B   RODRIGO       ABURTO                      UT     31073281883
4BB1B34143168B   NICOLE        STAGNER                     KS     90014483414
4BB1B56335597B   JANETT        CRUZ                        CA     90000395633
4BB1B72A993794   MICHELE       STEWART                     OH     90001907209
4BB21286547954   DYLAN         PANGLE                      AR     90013582865
4BB21397A5B523   MARIAH        RAEL                        NM     90005983970
4BB217A3261963   ROSA          GONZALEZ                    CA     46040607032
4BB21A7A672B43   HALLEY        DILLOW                      CO     33066320706
4BB22188171946   LINDA         YOUNG                       CO     32002501881
4BB2224313B491   ALEXI         LOPEZ                       PA     90013502431
4BB22397A5B395   ANN           PRESTON                     OR     44542163970
4BB22461593794   TRACEY        ARRINGTON                   OH     90009024615
4BB225A818B355   KENDALL       FOSTER                      SC     90013835081
4BB22714791394   KESY          VONGBOUTDY                  KS     90013067147
4BB2272A44B271   ROD           SMITH                       IA     27044967204
4BB22829761963   MARLA         EAVES                       CA     46050868297
4BB2317378B355   MARIA         MEDINA                      SC     90013791737
4BB2319275B58B   RICHARD       ESQUIBEL                    NM     90011181927
4BB23248493794   BRANDON       BURKHART                    OH     90011462484
4BB233A1947954   JUAN          MARQUEZ                     AR     25072133019
4BB23641284368   DAMION        LABBON                      SC     90009546412
4BB23642A51334   KADE          TAYLOR                      OH     90013546420
4BB23733572B4B   RHONDA        ORNELAS                     CO     90002127335
4BB23A26272B36   DARRELL       BORST                       CO     90013170262
4BB2414513168B   RAMOS         BENCOMO GUSTAVO             KS     90006541451
4BB2435698B182   DEBORAH       SMITH                       UT     90013703569
4BB2538872B872   JUAN          CALVILLO                    ID     90005623887
4BB2557535B395   RHONDA        BOYD                        OR     90001715753
4BB2598A291241   TAMARIS       BAEZ                        GA     90006749802
4BB25A6795B523   CORRINE       MAES                        NM     35087140679
4BB2642935B58B   GUILLERMO     ARROYO                      NM     35003984293
4BB2662325B53B   ANDREW        DANKO                       NM     90014686232
4BB2693595B222   SHARON        ROBLERO                     KY     90011749359
4BB27251841258   BRITTANY      MATTHEWS                    PA     51096852518
4BB2728715B254   FRANK         LOWE                        KY     68017492871
4BB27414161963   JULIA         RODRIGUEZ                   CA     90013134141
4BB2757A684368   EDUARDO       VALENCIA                    SC     90011225706
4BB27A52993794   AMBER         GEORGE                      OH     90014530529
4BB27A64391351   QUINTEN       DOTY                        KS     90015460643
4BB28219361968   WENDY         MOORE                       CA     90014612193
4BB2892695B271   GARY          PROFFITT                    KY     90003449269
4BB28A1A871934   CANDACE       FINCH                       CO     32008110108
4BB28A59191351   DANYELL       POOLE                       KS     90013360591
4BB2912365B271   ERNESTO       GUTIERREZ                   KY     90015181236
4BB291A6883B25   ISRAEL        CASTRO                      TX     90015461068
4BB29227161967   KELLELE       SIMMONS                     CA     46014852271
4BB2975785B222   CHARLENE      MITCHELL                    KY     90014807578
4BB29937741258   NICOLE        SMITH                       PA     51082469377
4BB2999622B87B   RHONDA        PREVITI                     ID     41092519962
4BB29A9895B249   HEATHER       BROWN                       KY     68070810989
4BB2B33395B398   EDUARDO       VELEZ                       OR     44585573339
4BB2B39455B523   ROSIE         BEGAYH                      NM     90005983945
4BB2B822355951   RODRIGO       CASTELLAN                   CA     90011838223
4BB3138685B357   RUDY          ACOSTA                      OR     90007103868
4BB31391572B36   FELIPE        AGUILERA                    CO     90012643915
4BB313A6491569   NORMA         PARRA                       TX     75086623064
4BB3213335B271   ALICE         COWHERD                     KY     90014211333
4BB32281255939   JOE           RAY                         CA     49062372812
4BB3315A691873   ISIDORE       MCNALLY                     OK     90009741506
4BB33429755939   MARIA ELENA   PERALES HERNADEZ            CA     90013794297
4BB3351552B828   JUSTIN        JONES                       ID     90012865155
4BB338A458B165   BRETT         WATERS                      UT     90008888045
4BB3393925B222   CLEORETTA     ALLEN                       KY     90011749392
4BB348A893B491   KEITH         BYNUM                       PA     90014438089
4BB35571A51334   SERGIO        ARCE                        OH     90011965710
4BB3633215B52B   GUADALUPE     FLORES                      NM     36091773321
4BB36398571934   MARY          KEARNEY                     CO     90015053985
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4BB36463793794   LORI          TROVILLO                    OH     90010014637
4BB36622772B4B   FREDDY        OLIVAS                      CO     90011136227
4BB37288641258   ERROL         SESSOMS                     PA     90003382886
4BB37416872B36   ALFREDO       SANDOVAL                    CO     33068624168
4BB3777A52B87B   RONELLE       JONES                       ID     90005007705
4BB379A3161968   LIAH          SEGURA                      CA     90009229031
4BB38A74A71934   TOCHE         CHAPPLE                     CO     90011280740
4BB39269893794   JASON         HORSFALL                    OH     90011302698
4BB3929625B53B   LUIS          BUSTILLOS                   NM     90008992962
4BB3972573B234   LEROY         REED                        DE     90015367257
4BB39A4A25B58B   ANGEL         PEREZ                       NM     90011960402
4BB3B234391394   VERONICA      RODRIGEZ                    KS     90013182343
4BB3B36665B271   BARBARA       HAYES                       KY     90011363666
4BB3B385571934   ADRIANA       SOCORRO                     CO     90015053855
4BB3B5A415B223   CONSTANCE     NEAT                        KY     90012725041
4BB3B63215B395   REBECCA       JARDING                     OR     90010316321
4BB3B89465B52B   ENRIQUE       SARMIENTO                   NM     36017528946
4BB41191572B36   DEBORAH       CROOK                       CO     90006201915
4BB41198651383   ELIAS         ORTIZ                       OH     66064831986
4BB4124A491527   ANLEJANDRA    GONZALEZ                    TX     90004122404
4BB41325A2B87B   SATIRA        MCGLATHERY                  ID     90011173250
4BB4212783B491   NICHOLAS      MORANELLI                   PA     90010311278
4BB42383A8B185   LETICIA       SILVA                       UT     90006493830
4BB42391961968   NORITA        ULEP                        CA     90013963919
4BB42463693794   CHRISTINA     LEWIS                       OH     90013454636
4BB42627772B43   ELIZA         ARMIJO                      CO     90013326277
4BB42657857129   STEVEN        HERNANDEZ                   VA     81081446578
4BB43177693794   KIMBRELL      SHEA                        OH     90011751776
4BB43396671946   TIFFANY       GWYN                        CO     90002473966
4BB4362635B174   AISHA         SAWYER                      AR     23077326263
4BB4375325B395   LINDSEY       HENRY                       OR     90008487532
4BB43962391873   DEBORA D      HUERTA                      OK     21036239623
4BB439A918B16B   CAMILLA       MATE                        UT     90014709091
4BB44478A51382   SCHAMEKA      FORD                        OH     90010574780
4BB4455522B87B   CHELSEE       UNREIN                      ID     90011105552
4BB44946191988   DILMA         SANTOS                      NC     90014979461
4BB45161161968   ANGIE         DUEARTE                     CA     90014531611
4BB4536962628B   PAYGO         IVR ACTIVATION              WI     90013833696
4BB45498272B36   SERGIO        MEDINA                      CO     90013094982
4BB4554735B58B   LYNNETTE      ESSEX                       NM     90013695473
4BB4562A955951   EDUARDO       CASTANEDA                   CA     49017996209
4BB458A3A72B32   KECIA         ROGERS                      CO     90001328030
4BB46113151383   RYLAN         HICKMAN                     OH     90014711131
4BB46234371934   DOMONIC       GARCIA                      CO     90013622343
4BB4634732B27B   CAROLINA      BURGOS-HERNANDEZ            DC     81014993473
4BB46431455939   GERARDO       MORA                        CA     90014584314
4BB4655188B187   CLIFFORD      PRATHER                     UT     90005965518
4BB4667593B491   PAYOR         KYMARA                      PA     90006796759
4BB471A785B52B   JOHN          ORTIZ                       NM     36071581078
4BB47274961968   DAVID         RIVERA                      CA     90010832749
4BB47565772B36   LAVELLE       HUGHES                      CO     33021205657
4BB476A715B58B   JULIA         MACIAS                      NM     35009956071
4BB4788A75B174   CONNIE        DUCKETT                     AR     90000218807
4BB4789815B37B   MELISA        ELMS                        OR     44586398981
4BB4847787B694   DANIEL        NEPP                        GA     90015194778
4BB49369791988   KYLE          EVERETT                     NC     90012943697
4BB4946A42B253   MARKETIA      TINKER                      DC     90004684604
4BB4946A651383   SCOTT         DAVIS                       OH     90014784606
4BB49683771934   ANTHONY       COPELAND                    CO     90014846837
4BB4976485B357   DYLAN         PERRY                       OR     90007107648
4BB49A1682B27B   GILBERTO      TETEDOUX                    DC     90015130168
4BB4B328291394   JUAN CARLOS   CAPETILLO                   KS     90013863282
4BB4B891472B4B   JEFFREY       WILLIAMSON                  CO     33008078914
4BB4B989193794   JACK          DENT                        OH     90007759891
4BB515A993B491   TOMMY         STILES                      PA     90015485099
4BB51683771934   ANTHONY       COPELAND                    CO     90014846837
4BB5183A993794   DANIELLE      HOLLON                      OH     90014068309
4BB5197687B694   ALEXUS        JONES                       TN     90015399768
4BB52219571999   GERRAD        MITTINO                     CO     38012102195
4BB5274495B52B   BILLY         MITCHELLE                   NM     90009507449
4BB52748891569   EDMUNDO       VAZQUEZ                     TX     75040307488
4BB52917991988   GREGORY       HUNT                        NC     17095189179
4BB52973491351   JOE           ESPINOZA                    KS     90014599734
4BB5317324B52B   ANTHONY       SYKES                       OK     90002391732
4BB53187772B4B   CHAZ          MARTINEZ                    CO     90012751877
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4BB5328438B165   TERA         STWART                       UT     90015252843
4BB53743855939   JESSICA      CLARK                        CA     90012847438
4BB5387A55B58B   RICHARD      GONZALES                     NM     90014858705
4BB53898141258   KIMBERLY     PHILLIPS                     PA     90006228981
4BB53AA892B27B   ADALID       PINEDA                       DC     90010370089
4BB54898761963   DEREK        AVALOS                       CA     90010168987
4BB55414661967   RUDY         PIMENTEL                     CA     46094254146
4BB55735991569   ROSARIO      ATIENZO                      TX     75084687359
4BB5594675B395   KIAM         OSLEGER                      OR     44503189467
4BB559A928B355   MEAGAN       AU                           SC     90009809092
4BB55AA145B53B   LINDA        CASTILLO                     NM     35063540014
4BB5627688B16B   MARCOS       MALDONADO                    UT     31007862768
4BB5633195B58B   JUSTIN       PACHECO                      NM     90003133319
4BB5635A55B53B   JAMES        URTIAGA                      NM     35026953505
4BB563A524B25B   RICK         DUNN                         NE     90011833052
4BB5643772B27B   RAZURI       HILDERANDO                   DC     81015354377
4BB56493171934   JONATHAN     HORNE                        CO     90015054931
4BB5664884B271   TAMIKO       COTTON ROSS                  NE     90014046488
4BB57431961963   MELISSA      RUIZ                         CA     90013134319
4BB577A765B395   TINA         BROWN                        OR     44594617076
4BB57A1393B388   NADINE       MCLEMORE                     CO     33096620139
4BB58289172B98   SONIA        BERNARD                      CO     33004202891
4BB58649651325   JONATHAN     JONHSON                      OH     90007916496
4BB58A9355B52B   ANTHONY      MARTINEZ                     NM     90011940935
4BB59514591569   JASON        ROGERS                       TX     90011065145
4BB59547193794   CAROL        HUFFMAN                      OH     66084355471
4BB5974284B271   JOSE         ROMERO                       NE     90005047428
4BB59944351334   ANA          JIMENEZ                      OH     90012749443
4BB59981691873   HIJINIO      MAZARIEGOS                   OK     90009319816
4BB59A2615B58B   MAYRA        SOUCHET                      NM     90006240261
4BB59A31561967   STEVEN       HUNT                         CA     46042920315
4BB59A6725B271   SEQUOIA      JOHNSON                      KY     90005230672
4BB5B31A12B87B   JEREMY       TURRELL                      ID     41054583101
4BB612AAA2B84B   DIEGO        CORDOVA                      ID     90015492000
4BB6133528B165   TONY         LINAM                        UT     90015253352
4BB6192A55B357   STEPHANIE    ALVESAMARAL                  OR     90007109205
4BB6218238B355   LATOYA       FAIR                         SC     11018771823
4BB62277972B36   CHARITY      BRYSON                       CO     90013342779
4BB6238915B53B   DENISE       MORENO                       NM     35036563891
4BB62867751383   MONTREAL     CLAY                         OH     90014788677
4BB62982433632   ALTON        LASH                         NC     90001459824
4BB633A825B58B   MELISSA      MARTINEZ                     NM     35030893082
4BB63596961963   SANDRA       RAMOS                        CA     46034435969
4BB64168421B21   CHARLES      BREWER                       TX     90012331684
4BB64813751383   SILVIA       SANTANA                      OH     90008338137
4BB64831591351   MARIA        MOLINERO                     KS     90000658315
4BB64A4614B271   GARY         DELANCEY                     NE     90012400461
4BB65575571999   JOETTA       GUTIERREZ                    CO     38067505755
4BB662A242B84B   JOSE         VAZQUEZ                      ID     90015492024
4BB6656918B16B   ALICIO       FLORES                       UT     31002855691
4BB66988491988   SANDRA       NELSON                       NC     17074089884
4BB669A2371999   BETTY        CORTEZ                       CO     90013599023
4BB66A87572B36   IVAN         PEREZ                        CO     90006200875
4BB66AA1393794   DESTANEY     HUBBARD                      OH     90012510013
4BB66AA1961967   YURIANA      PINEDA                       CA     46036010019
4BB67225572B48   CIERRA       HUMAN                        CO     90013822255
4BB6745612B27B   TYRONE       BURROWS                      DC     81041454561
4BB68392861963   TANYA        GALLONBARDO                  CA     90008093928
4BB688A3161968   JOSE LUIS    BURLAZ                       CA     90013328031
4BB6899445B221   JESSICA      WATTS                        KY     68079889944
4BB689A7451382   JONICE       PHILLIPS                     OH     90011309074
4BB69323372B43   MILO         GALINDO                      CO     33056053233
4BB693A5291988   SIMON        WAMBUI                       NC     90015293052
4BB69736184368   MACIS        GUERRERO                     SC     90011237361
4BB6B121971999   RAYMOND      YEPEZ                        CO     90014811219
4BB6B146172B36   JOSEPH       MARTINEZ                     CO     33016441461
4BB6B33528B165   TONY         LINAM                        UT     90015253352
4BB6B379871933   VALERIE      LUCERO                       CO     90007713798
4BB6B513A5B395   JOSH         HOWELL                       OR     44524415130
4BB6B934A61963   GLORIA       SOTO                         CA     90009209340
4BB71424791988   ANGELITA     REYES                        NC     17084924247
4BB71445461963   EMIGDIO      GARCIA                       CA     90013134454
4BB7165A657124   JOSE         LOPEZ                        VA     90012146506
4BB7221685B375   ERIC         TOOMBS                       OR     90005972168
4BB7225A172B36   MILTON       CLEMENTS                     CO     90009272501
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4BB72795491569   JASMIN         MARQUEZ                    TX     75010697954
4BB73143461547   MAKEYSHA       SORENSEN                   TN     90007791434
4BB7345719183B   DANA           LACY                       OK     90013154571
4BB7346125B52B   NAOMI          JAMES                      NM     36083934612
4BB7347245B222   SHAFT          STEVENSON                  KY     90010624724
4BB7347AA5B271   DAYNA          CHERRY                     KY     90012814700
4BB7349532B27B   DONTA          HUMES                      DC     90009154953
4BB73826924B7B   ALLAN          TURNER                     DC     90006688269
4BB73935493794   KELLI          YOUNKER                    OH     90012819354
4BB7417A45597B   ANN            SJODIN                     CA     90006461704
4BB7439335B271   TIA            CLARK                      KY     90010963933
4BB74512471934   MICAELA        BOLTON                     CO     90015065124
4BB74537993794   MOM            LOLLAR                     OH     90015285379
4BB7454687B694   ANNE           BROWN                      GA     90013745468
4BB74867751383   MONTREAL       CLAY                       OH     90014788677
4BB7487A355939   PHILLIP        DURAN                      CA     90013938703
4BB74925391873   LASHONDA       CARTER                     OK     90014519253
4BB75821161967   JULIO          GARCIA                     CA     90014468211
4BB75943A55951   JOHN           ORTA                       CA     90011559430
4BB76146291988   ROMAN          REMIGIO                    NC     90015181462
4BB7617133168B   BRIAN          SPENCER                    KS     90003841713
4BB76371171999   NICHOLAS       VALDEZ                     CO     90013603711
4BB76991591569   RYLEY          MOWRER                     TX     90010689915
4BB7715845B222   HECTOR         SERANO                     KY     90011751584
4BB7724964B271   DONESHA        MATTHEWS                   NE     90013552496
4BB7729467B386   CARLTON        RAYMOND                    VA     90006232946
4BB77391272B4B   JOSEPHINE      MCGEE                      CO     33098853912
4BB77474771946   MICHELLE       THOMPSON                   CO     90005854747
4BB77661293765   JOSEPH         MADDEN                     OH     90003976612
4BB77819491988   LUCERO         PONCE                      NC     90011738194
4BB77822855939   ALEJANDRO      JURADO                     CA     90015108228
4BB78137155939   VANESSA        RUBIO                      CA     49036181371
4BB78474771946   MICHELLE       THOMPSON                   CO     90005854747
4BB79535747954   BREANNA        BROOKS                     AR     90013935357
4BB7962735B271   SUN            SHINE                      KY     90009746273
4BB79657984368   GELLON         IUTH                       SC     90014746579
4BB7B32565B395   NICHOLAS       WOODS                      OR     44553543256
4BB7B441755939   JOSE           GOMEZ                      CA     90012504417
4BB7B75328B141   PATRICK        SMITH                      UT     90002937532
4BB7B753491873   TERRANCE       LOUIS                      OK     21094977534
4BB8112475B271   COURTNEY       DALE                       KY     68079871247
4BB8112835137B   JESSICA        BROWN                      OH     90013611283
4BB81393172B43   CECILIA        GARCIA                     CO     33065103931
4BB82148661963   LETICIA        ARMENTA                    CA     46077341486
4BB82349755951   ANGEL          LOPEZ                      CA     90005683497
4BB8238885B52B   JOSE           TRUJILLO                   NM     36080293888
4BB82545851334   MARSHA         ROUNDTREE                  OH     66089145458
4BB82763991988   LAVONE         VANNORDEN                  NC     90012937639
4BB8276527B497   JOSE ANTONIO   ZELAYA                     NC     90011377652
4BB8281717B694   KIERSTON       WALKER                     GA     90012718171
4BB82887355939   NAYELY         RUMBO                      CA     90011118873
4BB8326645B53B   MARIBEL        SALAZAR GARCIA             NM     90013482664
4BB8334675B395   SANDRA         LOPEZ                      OR     44567893467
4BB8389257B694   KRISTEN        CARPENTER                  GA     90001108925
4BB83989A4B271   CANDELARA      SANMEZ                     NE     90004929890
4BB8417A971999   LETICIA        VIGIL                      CO     90011431709
4BB84622971934   KENNETH        BAYNE                      CO     90007176229
4BB8481542B87B   MARGARET       ANKNEY                     ID     90000688154
4BB851A795B523   SERGIO         LOPEZ                      NM     35028031079
4BB85499251383   FRANK          PETRELLI                   OH     90014784992
4BB857A9371999   BEN            WOODWORTH                  CO     90015487093
4BB8598258B165   BARTEL         DAVID                      UT     90005099825
4BB86493372B43   DAN            HARDING                    CO     33091494933
4BB865AA451383   DIANA          SCHEFFLER                  OH     90014785004
4BB86848A71999   ANNA           KUSHNER                    CO     38094738480
4BB869A715599B   ANDREA         ARNDT                      CA     90011409071
4BB87129993769   PATTY          YALER                      OH     90011071299
4BB87235791873   ADRIAN         OGANS                      OK     90003462357
4BB8748A951382   DONALD         THOMPSON                   OH     90012324809
4BB8839558B165   SASHA          PINEGAR                    UT     90008703955
4BB885AA451383   DIANA          SCHEFFLER                  OH     90014785004
4BB8866295B52B   APRYL          RYAN                       NM     90001506629
4BB8868748B185   IGNACCIO       CERRITNO                   UT     31066046874
4BB88947791569   LIDIA          CEBALLOS                   TX     75038049477
4BB8918837B463   FREDY          SIERRA                     NC     90009831883
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4BB8927125B395   CARLA         SUTHERLAND                  OR     44555802712
4BB8946A471946   MARCOS        RODRIGUEZ                   CO     32045874604
4BB89798161968   JESUS         REYES                       CA     90014237981
4BB8B532184368   ESTRELLA      CORTEZ                      SC     90009845321
4BB91117451334   LINDA         JONES                       OH     90012951174
4BB91283291351   DONOVAN       HALL                        KS     90013872832
4BB9132945B174   DESARAY       HINES                       AR     90014793294
4BB9152735B53B   CARLA         ARCHULETA                   NM     90015275273
4BB9154A193794   GUADALOPE     GONZALEZ                    OH     66037795401
4BB9155145B53B   CURTIS        HOLMES                      NM     90013475514
4BB91A9673168B   ROMERO        MAGDALENO                   KS     90001680967
4BB9224952B27B   ALLEN         ALEXANDER                   DC     90014802495
4BB92262793767   TIFFANY       CURRY                       OH     90011842627
4BB923A764B271   MICKEY        EVANS                       IA     90011503076
4BB92A16393794   ROBERT        JONES                       OH     90012020163
4BB9335995B271   TODD          HORRELL                     KY     90006743599
4BB9343A161968   JESUS         FERNANDEZ                   CA     90007694301
4BB936A9A71934   JASMINE       SHELTON                     CO     90010176090
4BB9387245B58B   NATALIA       PEREZ-TREJO                 NM     90012138724
4BB9424113B491   RONALD        LARKINS                     PA     90010452411
4BB94392451334   JESSICA       ADAMS                       OH     90014663924
4BB94563647954   NATHANIEL     MCCOY                       MO     27558845636
4BB94742A91394   CECILIA       GAMEZ DE RODRIGUEZ          KS     90011967420
4BB94864384368   VIRGINIA      GLEN                        SC     90012388643
4BB9492168B355   JESUS         PADILLA                     KS     90001649216
4BB94A78672B4B   JESUS         MORALES                     CO     90007020786
4BB95751661968   HECTOR        CASTANON                    CA     90009507516
4BB95783872B36   JESUS         CASTRUITA                   CO     90003087838
4BB95848161963   PAMELA        PAUL                        CA     90010548481
4BB9626234B271   PATRICK       GILPIN                      NE     90014742623
4BB96344693794   ARLIE         FRALEY                      OH     90013443446
4BB96499A51382   DIANE         LUCKEY                      OH     90014664990
4BB96568941258   BANISHA       BERRY                       PA     90003385689
4BB9687445B58B   GEORGINE      BACA                        NM     35020338744
4BB96A57455947   ALEJANDRA     MORENO                      CA     90008170574
4BB97113861967   SANTIAGO      SALAS                       CA     90010591138
4BB97279924B75   DOMINGO       MENDEZ                      DC     90007282799
4BB9765838B16B   DEBRA         SMITH                       UT     90013046583
4BB9775A591569   BLANCA        ESTRADA                     TX     90009637505
4BB985AA35B271   BETH          HAYS                        KY     90006355003
4BB98A62A51334   PORTIA        BEAUCHAMP                   OH     66078800620
4BB98A7278B165   TAMBI         PORTER                      UT     90001030727
4BB991A3461968   VANESSA       HARO                        CA     90012921034
4BB993A232B27B   NADI          SALH                        DC     90011173023
4BB9941748B355   HOMER         ROMERO                      SC     90011964174
4BB9944A772B36   JOSHUA        HARRIS                      CO     90013164407
4BB99576893794   SHAVONNE      JOHNSON                     OH     90009855768
4BB995A1A4B271   REBECCA       DEPLANTY                    NE     27008765010
4BB99AAA98B165   HERNAN        ABE                         UT     90012590009
4BB9B95A34B271   BRANDI        HYTREK                      IA     90003439503
4BB9BA7352B87B   ERIK          ATOR                        ID     41046250735
4BB9BA77851383   MELODY        HOLLINGSWORTH               OH     90011550778
4BBB143163168B   AMY           PETERSON                    KS     90015574316
4BBB1539461968   JOSE          CRUZ                        CA     90015025394
4BBB156A791524   MONICA        ALCAZAR                     TX     90007045607
4BBB1752161967   LEYVA         JAMISON                     CA     46059397521
4BBB1792871999   CHRISTOPHER   ALCON                       CO     90013177928
4BBB1937747954   CRYSTAL       CAIN                        AR     90010979377
4BBB227A784368   JEANNETTE     JENKINS                     SC     90012152707
4BBB2465151382   KIMBERLY      MCDONALD                    OH     90014664651
4BBB264765B174   REGINA        JOYNER                      AR     23023616476
4BBB328A22B87B   SHELBY        BOGEART                     ID     90014932802
4BBB3463693794   CHRISTINA     LEWIS                       OH     90013454636
4BBB3537672B36   CHRIS         SIERRA                      CO     90012335376
4BBB4159351383   DEBBIE        PIERCE                      OH     90011851593
4BBB426165B373   WAYNE         COONS                       OR     90012402616
4BBB4594293794   TERA          GROW                        OH     66078315942
4BBB5411A91873   LENNISON      BAEZ                        OK     90014914110
4BBB546688B16B   SELENA        BALDERAS                    UT     90013324668
4BBB54A5551383   MELISSA       COMBS                       OH     90014784055
4BBB557915B271   DRU           COCHRAN                     KY     90013485791
4BBB6338791351   DEBORAH       FRIES                       KS     90015593387
4BBB65A4371946   ANTONINA      MIGUEL                      CO     32093595043
4BBB6628147954   TARA          GARRETSON                   AR     90014206281
4BBB665545B174   TIA           WALKER                      AR     23005846554
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4BBB7322171934   BENJAMIN          KINCAID                 CO     90012353221
4BBB7368491569   ERNESTO           MENDIZABAL              TX     75037623684
4BBB837655B526   LOPPEZ            IGNACIO                 NM     35093803765
4BBB8587584368   ORLANDO           CERCOLA                 SC     90013905875
4BBB8869255939   RICARDO           SANCHEZ                 CA     90013938692
4BBB899885B357   KENNETH           FOREMAN                 OR     90014839988
4BBB9424426267   MICHEAL           BUEGE                   WI     90014544244
4BBB9428591988   CRYSTAL           KEITH                   NC     90013984285
4BBB9589755939   STEVEN            KILLIAN                 CA     90013925897
4BBB987864B271   JAMES             FINLEY                  IA     90005028786
4BBB9931241258   KELLY             KLEIN                   PA     51073549312
4BBBB113841235   MOLLY             BANKS                   PA     90008631138
4BBBB137371934   ANGELA            COLLINS                 CO     90008691373
4BBBB329344335   MATTHEW           COHEN                   MD     90014533293
4BBBB61AA55951   JU DEE            ATAMIAN                 CA     90007866100
4BBBB867891523   GEORGINA          PHILLIPS                TX     90012038678
5111144A661973   ANGEL             RUIZ                    CA     90014624406
51111577872B77   ROSAMARIA         GARCIA                  CO     33047865778
511117A9397B77   JOSE              ORDAZ                   CO     90011807093
51111A3185B531   BAIDON-MARTINEZ   A                       NM     90005610318
511123A612B27B   MELODY            MOORE                   DC     90013163061
5111279875715B   GIM               CHUL WOONG              VA     81004477987
511127A5A5B531   ANTHONY           PANTELAKIS              NM     90014107050
5111282755758B   AMANDA            REYES                   NM     90011398275
51112942898B2B   JENNILER          R NANCE                 NC     11009269428
51112A74197B77   GUSTAVO           VILLALBA                CO     39086780741
5111322145715B   DENIS             HERNANDEZ               VA     90013982214
51113955A72B49   KATHRYN           CARVER                  CO     90009029550
5111441912B27B   ROLANDA           NICHOLSON               DC     90014934191
5111514975B543   MARTHA            QUEZADA                 NM     35048081497
5111535A861971   NICOLE            ARNOLD                  CA     46091643508
5111567345B387   BERNARDINA        CASTRO                  OR     44558346734
5111577818B169   ANIESA            GONZALES                UT     31041787781
5111584844B588   SCHRONE           HAMILTON                OK     21576958484
511158A985715B   CARLOS            HERNANDEZ               VA     90009208098
511168A6A91989   CARLOS            FUENTES                 NC     90010578060
5111719875B393   STAN              FREEMAN                 OR     44533621987
5111775835715B   NOHEMY            RIVERA                  VA     90001157583
5111793895B531   YESENIA           RUBIO                   NM     90012229389
51117995A81631   KECIA             STONE                   MO     90011849950
5111852473B394   ALONDARA          RUIZ                    CO     90013355247
51118538197B54   TERESA            MALTOS                  CO     39083685381
51118579A44394   KELLEY            SEAY                    DC     90010975790
51118A5675715B   VERNON            ROBINSON                VA     90012760567
5111932AA4B588   STEVEN            DYE                     OK     90011303200
5111978415758B   ARACELI           RODRIGUEZ               NM     90004577841
51119AA715B393   EGLANTINA         MOTA                    OR     44561590071
5111B146557122   NABIAH            GNAOUI                  VA     90007131465
5111B1A1651332   JAMILA            MANDLOVE                OH     90007611016
5111B255341233   TEBALMA           FINTAKPA                PA     90013342553
5111B38584B588   MEGHANE           WILSON                  OK     90013073858
5111B648785928   BRANDY            GARCIA                  KY     90007986487
5111B826157148   MAURICIO          HERNANDEZ               VA     81072118261
5111B833472B36   HELEN             MIRANDA                 CO     90009148334
5111B877731429   EDNA              WILLINS                 MO     90005648777
5112145877242B   LEAH              KOKOSKA                 PA     51014704587
51122217372B43   KEVIN             COLINDRA                CO     90000772173
5112248115B531   ORLANDO           ARMIJO                  NM     90014084811
511226A978B169   MARK              HENDRIKSEN              UT     90012786097
511227A9397B77   JOSE              ORDAZ                   CO     90011807093
51123165A72B36   JUAN              PENA                    CO     90003721650
5112398645758B   ASHLEY            RIVERA                  NM     90014309864
51123A97361975   SHAYLA            VILLASENOR              CA     90013460973
5112547924B28B   JONI              OLBERDING               NE     26076144792
51126751A5B399   ANTOIN            HALL                    OR     44579477510
51126A1225715B   JOSUE             TURCIOS                 VA     90003480122
5112735254B28B   MARGY             PARRA                   NE     26038903525
511276A8A97B77   BROCK             SAINT AORO              CO     90009286080
5112783918B169   MEGAN             DAY                     UT     31062468391
51128355372B27   SHABINA           CHAND                   CO     33087383553
5112878465B387   LINDA             NORCUTT                 OR     44522567846
5112924A62B27B   STEPHEN           LAWRENCE                DC     90010102406
5112989A272B27   KARLA             MARTINEZ                CO     90003538902
51129A95657148   MERINA            GONVALEZ                VA     90010440956
5112B15338B169   PRICE             JACK                    UT     31004351533
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5112B38915758B   JENNIFER     GOHRICK                      NM     90012683891
5112B618333699   LAKESHA      PERRY                        NC     90010196183
5112BA39861975   MARIA        GALAN                        CA     90012800398
5112BA4232B862   ROBERT       HOLLOWAY                     ID     41086080423
51131476A91895   RAYMOND      MALLETT                      OK     90015124760
51131A83361973   SAMMY        HILLEF                       CA     46055300833
51132392572B27   LUCINDA      RIVERA                       CO     90012403925
5113249A672B43   VINCENT      ROBINSON                     CO     90003334906
51132656172B36   FLORAYMA     HERNANDEZ                    CO     33074596561
51133276A72B43   ANA          GARCIA                       CO     33077662760
5113329725B387   CHRIS        PULSE                        OR     44560512972
51133637498B2B   FRANCINA     BOWMAN                       NC     11011446374
51133824972B77   AGUEDA       AGUILAR                      CO     90007168249
5113419965758B   FLORENCE     HEWITT                       NM     35565281996
5113432715B393   JESSAMYN     COBB                         OR     44505443271
51134384698B2B   FREDDIE      MORGAN                       NC     11010063846
511344A7172B67   JAVIER       FLORES                       CO     33052544071
51135A51157148   JUAN         REYNA GUEL                   VA     81063730511
51135A7614128B   MELINDA      WILSON                       PA     90005620761
511362AA72B973   ALEJANDRA    CUEVAS                       CA     90011522007
51136A33561973   DAVID        RAMIREZ                      CA     90012340335
51137657372B27   DANEANE      HOEL                         CO     90012926573
51137A13551322   WALTER       SCARBOROUGH                  OH     66083780135
51137A3624B28B   LORENA       MENDOZA                      NE     26098610362
51137A65357148   FERNANDO     DELCID                       VA     90013950653
51137A92184357   CORETTA      LAWYER                       SC     14592230921
5113815834B588   TREMAYNE     BENNETT                      OK     90012801583
5113819525758B   LUIS         BELTRAN                      NM     90006371952
51138465698B2B   JAIME        HERNANDEZ                    NC     11073124656
5113856835B393   JASON        DWYER                        OR     90012825683
5113866575715B   LILIAN       DIAZ                         VA     90012706657
5113879545B387   GIGI         CASSEL                       OR     90010937954
5113884A75B579   ANTHONY      ROMERO                       NM     90015088407
51138A86572B43   OLIVIA       JOHNSON                      CO     33067960865
51139145772B67   CLARENCE     HOLLIMON                     CO     33046671457
5113931415B543   SCOHY        PASCAL                       NM     35056393141
5113944758B169   EFIGENIO     FLORES                       UT     31016514475
5113B68958B169   ANA          CARRION                      UT     90011456895
5113B694831428   MEAGAN       GIGER                        MO     90005206948
5113B743451348   MELODY       AZURE                        OH     66022627434
5113B85A772B36   ELIYAS       ALABO                        CO     90006178507
5113BA52791576   AURURA       MEDINA                       TX     75092290527
5113BA9939373B   RHONDA       MADDIGAN                     OH     90008720993
51142755972B43   ERNESTO      HERNANDEZ                    CO     33050027559
51142A2814B28B   ELVIRA       EPPENS                       NE     26076650281
51142A41591885   JUAN         CANO                         OK     90011250415
51142A5225758B   RICARDO      LAZONO                       NM     90007690522
51143295397B77   MARIA        PASCUAL-JUAN                 CO     39017292953
51143543A5758B   BELINDA      VILLEGAS                     NM     35588555430
5114376275B531   ANGELICA     GARCIA                       NM     90012797627
5114387A691989   CAITLIN      HICKS                        NC     90015048706
51143A28972B27   ILYAZ        MOLLAHLIL                    CO     90010340289
51144527A5B531   JOSEPH       GRIEGO                       NM     90014325270
51144616772B27   MIKE         BLACKFORD                    CO     90014396167
51144683A51574   HUMBERTO     AVILA                        IA     90015066830
5114499212B27B   CHRISTIAN    POOLE                        DC     90011439921
51144A36661973   ELVIA        MARTINEZ                     CA     90012340366
51146286A5B393   KELLE        JENSEN                       OR     90007892860
51146381372B49   MARIBEL      GARCIA                       CO     33012123813
5114652755758B   GRIESELDA    GARCIA                       NM     90011385275
5114659825B387   JUAN         SAMCHEZ                      OR     90015165982
511469A7733696   NANCY        SPINKS                       NC     90009359077
511485A175B393   KERRY        GOODMAN                      OR     90010905017
511491AA77B359   HORACIO      LOPEZ                        VA     90009851007
5114B13535B399   BRENDAL      WARE                         OR     90002821353
5114B136651323   LEQUITA      REYNOLS                      OH     90001791366
5114B296961975   CARL         HILLMAN                      CA     46068462969
5114B87855715B   MIRNA        GUTIERREZ                    VA     81016288785
5114BA1892B27B   SELENA       HERNANDEZ                    VA     90000610189
511513AA82B27B   BRIAN        MARSHALL                     VA     90011483008
5115145444B588   WYATT        ALLEN                        OK     90014574544
51152859272B27   KEVIN        KOON                         CO     33033228592
51152959172B36   ROMUALD      SHNURAI                      CO     90012339591
51153757A72B36   CARLA        ROMERO                       CO     33005027570
511546A245B531   ANGEL        MUNIZ                        NM     90008376024
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5115471144B28B   JODIE        CARTER                       NE     90012687114
51154718372B43   SEFERINA     RIVERA                       CO     33066897183
51154A6878B169   AMANDA       HAZLEWOOD                    UT     90006600687
51154A9997242B   EDWARD       CARNES                       PA     51064070999
5115514652B393   JONATHAN     LEBRON                       CT     90014411465
51155254A72B27   DANIEL       SAAVEDRA                     CO     90000692540
5115682814B28B   KATHRYN      CLARK                        NE     90014628281
5115684985B387   CASEY        LEOPARD                      OR     90013528498
5115697822B245   LAVADA       CAMPBELL                     DC     90004189782
51156A61961975   IVAN         TOPETE                       CA     90012930619
511574A4924B7B   DANY         REYES                        VA     90013954049
51157921574B7B   DONAVAN      LAUGHMAN                     OH     90014389215
511581A6885928   KENNETH      MURRAY                       KY     90003031068
5115875A872B43   DAVID        SEDILLO                      CO     90012507508
5115941432B27B   ONYENONACH   ADIELE                       DC     81022544143
51159774372B43   MELISSA      HOLGUIN                      CO     90009877743
5115B99212B27B   CHRISTIAN    POOLE                        DC     90011439921
5116112A297B54   NALLELY      PALMA                        CO     39017121202
5116125124B521   JOSHUA       CLOTHIER                     OK     90013812512
51161651272B27   DAVID        STAUB                        CO     90013036512
51161A6874B29B   LISHON       BROOKES                      NE     90005990687
51162114772B36   RONNIE       HOMM                         CO     33070091147
51162191472B67   JODY         SMITH                        CO     33029301914
51162382A2B27B   PATRICIA     CLARK-CHERRY                 DC     90014903820
51162519476B68   JAVIER       GONZALEZ                     CA     46039455194
51162966572B43   AMBER        PHILLIPS                     CO     90013279665
51162A78531428   LATASHA      BROWN                        MO     90014000785
51164278A61975   LILIANA      SANCHEZ                      CA     90012742780
5116452788B169   ROGER        RAMSARAM                     UT     90000595278
5116493A172B27   DEBORAH      GONZALEZ                     CO     33031279301
51164A39A84357   MARI         VALENTIN                     SC     90013550390
511655A5272B36   LISSET       GALLEGOS                     CO     33027255052
511674A475B531   ROBERT       VOSS                         NM     90009054047
511676A728B167   MELISSA      HENRY                        UT     90006526072
51168376A4B29B   PAIGE        FLOYD                        NE     90010183760
5116845595B283   TAMARRI      SOWELL                       KY     90002064559
5116862728B169   JUANA        CARRILLO                     UT     31011896272
5116863A261975   AIOTEST1     DONOTTOUCH                   CA     90015116302
51168A3A685862   NANCY        SARAGOZA                     CA     90010130306
5116911A572B36   EDDER        HERNANDEZ                    CO     90012681105
51169AA3491895   MARIETTA     WILLIAMSON                   OK     90013740034
5116B26325715B   EDWIN        REINOSA                      VA     90000932632
51171151672B27   NICOLE       BONE                         CO     90010381516
5117133372B29B   JAMES        WAGNER                       DC     81057153337
51171A1215B531   KYLE         BLACKWELL                    NM     90013740121
5117256654B588   RICARDO      ALVARADO                     OK     90013655665
511727A4791895   CAMERON      GOOCH                        OK     90014957047
51172838772B36   DAWN         MANNINO                      CO     90014768387
511729A1472B49   KARENA       JONES                        CO     90008819014
51172A4A161973   LUIS         ZAZUETA                      CA     90012340401
51173149172B49   CONSUELO     LOPEZ                        CO     33065981491
5117331524B28B   CINDY        GALDAMEZ                     NE     26025693152
51173432372B36   LORINA       GOMEZ                        CO     33054864323
51173447A5715B   CARMEN       AMAYA                        VA     81012494470
51173721672B43   JESUS        LUEVANO                      CO     33097257216
51173A64691934   DANIEL       COLES                        NC     90010520646
5117413123B394   ABEL         GUERRERO                     CO     90012091312
5117454822B27B   CHERYL       JENKINS                      DC     81072315482
51174827A72B49   JENNIFER     FORREST                      CO     33077888270
51174A31198B2B   DOMINIQUE    ANDERSON                     NC     90003250311
51175243272B27   HEATHER      HAGIN                        CO     33085632432
511767A734B588   DEREK        DIEDE                        OK     90012877073
51177169997B77   CEYRA        SEXTON                       CO     39095981699
5117727AA85928   BESIM        DEMIRI                       KY     90010292700
5117777A557148   FRANCISCA    ACOSTA                       VA     81063267705
5117783A572B49   JOSE         BARRAZA                      CO     90001428305
5117832268B188   JACKIE       WYNDER                       UT     90011453226
5117846665B393   JAMESON      PALMORE                      OR     90010214666
511798A6971964   ADAM         BRADSHAW                     CO     90014468069
51179927997B77   EZEQUIEL     MORENO                       CO     90007689279
5117B16537B46B   AGRIPINO     ANDOVAL                      NC     90007451653
5117B185585862   FERNANDO     HERNANDEZ                    CA     90012081855
5117B49A15715B   BRAYAN       MAROQUIN                     VA     90007644901
5117B89785758B   RICARDO      MENDEZ                       NM     35502748978
5117BAA5372B43   TONI LEE     DIETIKER                     CO     90014600053
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51181418872B43   TIA               JOHNSON                 CO     33024604188
5118163A561971   DAVID             SULLIVAN                CA     90004356305
51181655272B27   MARUIN            CRUZ                    CO     90008666552
51182113572B27   VICTOR            BECERRA                 CO     90014211135
5118326655715B   VELITA            JOHNSON                 VA     90013642665
51183A6547B46B   JAVARIS           BRADY                   NC     90002870654
51184272772B58   CECIL             SHARP                   CO     90012872727
511842A5572B77   BARBARA           GOODNIGHT               CO     33055052055
5118461345B285   RONSHIKA          FORD                    KY     90001026134
5118471414B28B   LAURA             CLEVENGER               NE     26002327141
511851A245B393   BRITTANY          HEFFRON                 OR     90012721024
51185A8525758B   JOAQUIN           HERANANDEZ              NM     90014530852
51186527272B49   JUAN              RIVAS                   CO     33050065272
5118663A633696   PATRICIA          BLEVINS                 NC     12051826306
5118681914B588   TRAVIS            LAKIN                   OK     90010498191
5118761235B387   RUBY              BURKETT                 OR     90010436123
51187671A72B77   DEBRA             GRASSMAN                CO     90001006710
51187756A97B77   FRANCISCO         CARRANZA                CO     39093697560
5118812A833699   GLENDORA          PAYNE                   NC     12042711208
51188555672B36   MARISSA           BLAKE                   CO     90001185556
5118896342B862   LAYLA             WILSON                  ID     41045319634
5118927657B46B   TOMARA            MURPHY                  NC     90002552765
5118929A151323   KAREN             GREEN                   OH     90013662901
5118934185B543   MARIA             MAYORGA                 NM     90005693418
5118987285715B   JUAN              ORTIZ                   VA     81033888728
51189A3A34B588   RUSSELL           SPARKS                  OK     21560890303
5118B27912B27B   NORMA             LEON                    DC     81027502791
5118B297731429   DONNA             HAGENS                  MO     90014272977
5118B475391576   PAUL              PEREZ                   NM     90013184753
5118B61494B28B   KORINA            KUCERA                  NE     90014376149
5118B785391895   GABRIELA          RODRIGUEZ               OK     90012037853
5118BA3185B531   BAIDON-MARTINEZ   A                       NM     90005610318
5118BA32A5B283   JERMEKIA          VANCE                   KY     68049460320
51191AAAA72B43   KIMBERLY          LOYA                    CO     90012240000
5119258285715B   CARLOS            POLANCO                 VA     90010135828
51192613972B33   JOSEPH            KINDON                  CO     90012636139
51192816A8B169   RYAN              FELLER                  UT     90010698160
51192878572B49   FELICIANO         MENDOZA PIMENTEL        CO     90012958785
51192A98861973   KEYLEEN           REYES                   CA     90012350988
5119324235715B   GAMELZAR          ULIT                    VA     90013012423
51193327772B88   STEPHNI           GALLOWAY                CO     90004953277
51193795A5B531   PAUL              RODRIGUEZ               NM     35027967950
51194357972B43   JENNIFER          POWELL                  CO     33074443579
5119496964B588   JACOB             UGARTE                  OK     90012989696
51194AAA972B77   MARIA             CASTILLO                CO     33047880009
51195464A41258   TIMOTHY           HANK                    PA     90013384640
5119553695B531   MICHELLE          MONTOYA                 NM     35012595369
511955A5561971   TAWNY             HAWKINS                 CA     90001575055
5119597865B387   LISA              FUENTES                 OR     90005669786
51196144A7242B   HELEN             BORDONARO               PA     90015201440
5119626432B896   SUSAN             BOOZER                  ID     90009092643
51196591A84357   MARCY             SANCHEZ                 SC     90007985910
5119676495B543   KIMBERELY         ARMIJO                  NM     90005707649
5119682188B164   MICHELLE          LUTZ                    UT     90001298218
511969A744B587   KAREN             MENDEZ                  OK     90010779074
5119728547B46B   BRUCE             BARBER                  NC     90014062854
511974A3957157   MATTHEW           MOSS                    VA     90015344039
5119776495B543   KIMBERELY         ARMIJO                  NM     90005707649
5119784655B399   JORGE             MARQUEZ                 OR     44553648465
5119856994B588   JUANITA           ROBERTS                 OK     90011905699
5119885A872B77   MAYRA             MONTES                  CO     33014468508
51198865676B41   MARIA             SILVESTRE               CA     90011928656
5119886937242B   PATTI             JENNINGS                PA     51044978693
511991A7761836   ANTHONY           MCCORMICK               MO     90006751077
51199351972B36   JUANITA           DAVIS                   CO     90001843519
5119B1A2991989   ALISHA            ADKINS                  NC     90005851029
511B1392472B67   ZAGRA             NOURIN                  CO     90012693924
511B171342162B   RONALD            WALKER                  OH     90014157134
511B186A45715B   JORGE             GUTIERREZ               VA     90012618604
511B2125557148   JONATHAN          DIXON                   VA     90013931255
511B244115B393   CYNTHIA           MURRAY                  OR     90001584411
511B2665851348   HOLLY             ROWE                    OH     90015116658
511B273385B579   ALEJANDRO         MARTINEZ                NM     90006427338
511B2A46991989   DEXTER            DOUGLAS                 NC     90014860469
511B3134191989   KYSHA             TOWNSAND                NC     90014921341
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511B325985B387   MICHELLE       ADAMS                      OR     44506792598
511B35A1A31429   MADELINE       STEPHENSON                 MO     27507095010
511B3855376B31   RAFAEL RAMOS   GONZALEZ                   CA     90002548553
511B3A8512B27B   JAMES          LINDER                     DC     90015030851
511B411865B531   VIDAL          BACA                       NM     90014991186
511B4251191895   JULIO          MACARIO                    OK     21050972511
511B462755B393   DIANA          MALER                      OR     90014646275
511B4627A5B399   JAMES          CUMMINGS                   OR     90002876270
511B4A97985862   SHARON         SAVAS                      CA     90015150979
511B51A734B28B   HANNAH         MOLLER                     NE     90005801073
511B679564B28B   DAVID          MURPHY                     NE     90011087956
511B68A215B387   LATOSHA        CURRY                      OR     44506208021
511B6A56A61971   LEBARBARA      JOHNSON                    CA     90007340560
511B6A62357148   FRANSISCO      CHAVEZ                     VA     90013940623
511B734715B531   JASON          TUITELE                    NM     35060433471
511B7598557157   JHONY          RAMOS                      VA     90010745985
511B776718B169   MICHAEL        LANDON                     UT     31090887671
511B78AA491868   BRANDON        SMALLEY                    OK     90010018004
511B8147633696   RAFAEL         ROSARIO                    NC     90013461476
511B8566172B88   MERCEDES       HERNANDEZ                  CO     90010525661
511B8624733699   EUGENE         DRUMMOND                   NC     90008676247
511B8A44226222   ERIC           YUNDT                      WI     90015420442
511B9174157148   FREDIS         BENITEZ                    VA     90013941741
511B9236861971   ALLARD         TYNEIL                     CA     46070882368
511B9696772B36   STARLA         DRAKE                      CO     33073926967
511BB13785B387   NANI           MICHELL                    OR     90008821378
511BB345464145   RAHEL          HAILEMICHAEL               IA     90014423454
511BB384185928   ASHLEY         GIBSON                     KY     90001703841
51211789972B88   OLU            VILLALOBOS                 CO     90005737899
51211A35957157   MAYBELL        NAUARRETE                  VA     90001800359
51211A81572B36   ROCIO          GONZALEZ                   CO     33000470815
5121277A684357   DONNA          MIDDLETON                  SC     90009157706
51212982772B67   EMANUEL        LUNA                       CO     33031799827
51212982A4B588   JAVIER         DE LA ROSA                 OK     90013599820
51212A68284357   DONNA          MIDDLETON                  SC     90014790682
51213169672B49   DESIREE        SINCHEIMER                 CO     33049361696
5121358517B46B   DUSTIN         CUNNINSHAM                 NC     90013505851
51213983198B2B   WILLIAM        LOBS                       NC     90003249831
51213A7285758B   JULIE          ROBLES                     NM     35547130728
51214267624B7B   ROBBIN         HERRING                    DC     90009072676
51214A1397B46B   TAMICA         LAWRENCE                   NC     90011450139
51215299A72B27   LOWAN          THOMAS                     CO     33027322990
5121535555758B   TERESA         SPEDALIERI                 NM     35523643555
51215433A57157   JASMINE        BAILEY                     VA     90014624330
512157A8621696   ROB            COLES                      OH     90014637086
5121583615B531   JESUS          SALCIDO                    NM     35000768361
51215861A91576   RITA           COBOS                      TX     90006908610
51216A3957B631   JOHN           SMITH                      GA     90007910395
51216A91642363   AMANDA         ADAMS                      GA     90012950916
5121745425B393   POUDYEL        LEELA                      OR     90006584542
5121834984B588   LAURA          HIGUERA                    OK     90013513498
51218461798B2B   SUSANNA        DIAZ SANCHEZ               NC     11032634617
5121886435758B   MARIA          DELAROSA                   NM     90012408643
51218A17584373   DRACO          WALKER                     SC     90013830175
5121976415B393   MEY            ONEAL                      OR     90014417641
5121B26515B387   BOBBY          GOODALL                    OR     90011982651
5121B38215B283   FILIBERTO      SOLANO                     KY     68049473821
5121B46395758B   DAVID O        GARCIA                     NM     90002704639
5121B65A891576   DAMIAN         ROMERO                     TX     75094116508
5121B68A172B36   ERNEST         HIGGS                      CO     90005776801
5121B72624B588   DAVID          FELZ                       OK     90012877262
5121B84A191B98   SHEILA         MILLER                     NC     90010218401
5121B976531462   GABRIELLE      BROWN                      MO     27598319765
5121B9A538B169   TAUASOSI       BOUCHARD                   UT     90014239053
5122122525B393   JASMINE        HUDGSUN                    OR     90012902252
5122161485B234   PAULA          JONES                      KY     90005606148
51221741A33699   PAYGO          IVR ACTIVATION             NC     90012707410
51221AA175B531   KRYSTINE       ANGEL                      NM     35036320017
5122212732B862   JEREMY         BROWN                      ID     41085541273
5122296744B588   APRIL          LABARBERA                  OK     90014139674
51223875272B77   BRANDY         MON TANO                   CO     90007458752
51223A74784373   YOLANDA        ALFONZO                    SC     90002090747
51224321A8B169   CASSIE         HIGGINSON                  UT     90015023210
51224652A7B896   DEBRA          ROGERS                     IL     90013946520
51224811172B43   STORMY         SOLTERO                    CO     90010368111
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51225478472B36   JOSHUA       MCCARTHY                     CO     90011384784
51225487A57148   HUGO         QUEZADA                      VA     90003274870
5122567A78B169   CHRIS        BRAEGGER                     UT     90010826707
5122596134B588   MICHELLE     MERRIMAN                     OK     90014789613
51226137872B36   JILL         BURSETH                      CO     33070461378
51226728372B77   JARROD       BATE                         CO     33047887283
5122684477B46B   MARIA        VILLATORO                    NC     90011398447
51226A34398B2B   SHANETRA     CAUTHEN                      NC     90003250343
51227752A7242B   DEANNA       BARKO                        PA     90014977520
51228617972B49   GRANT        DURLAND                      CO     90014406179
51228733A5B399   JESSICA      LYNCH                        OR     90010597330
5122915985715B   ERIK         TORRES                       VA     90014191598
5122927527B468   DALE         WILSON                       NC     90008362752
5122945155B283   CHIRL        WAKEFIELD                    KY     68008974515
5122B957457157   DEANDRA      CARPER                       VA     90002189574
512312A5981622   PATRICIA     SILVER                       KS     90001382059
51231635572B77   LAURA        GARCIA                       CO     90010046355
5123184134B28B   DONALD       FOUTS                        NE     26084418413
5123188337B46B   MELISSA      LEWIS                        NC     90013418833
512337A3A57148   ROSY         GUEVERA                      VA     81018957030
512337A6172B77   AMANDA       CARBAJAL                     CO     33072297061
51233A16272B27   ALEJANDRO    SANDOVAL                     CO     33086220162
5123418A55B393   RONALD       PASTOR                       OR     44522891805
5123435A54B55B   JENNYFER     STEPHENS                     OK     90006283505
512349A6961971   DESIREE      PEARSALL                     CA     90012669069
5123559574B588   AARON        HANNA                        OK     90012665957
5123564165715B   ALMICAR      LOPEZ SAMAYOA                VA     90013396416
5123623694B28B   KATRICE      WALKER                       NE     90011332369
5123644658B169   MARBELLA     ARROYO                       UT     90010844465
51236A34A33699   TARJI        CORNELL                      NC     90014740340
5123724944B588   DANA         ADAMS                        OK     21560722494
51237276372B21   KRISTYNE     ULERY                        CO     90011592763
5123831375715B   ROSA A       GUDIEL HERRERA               VA     90007713137
5123857262B896   JOSETTE      BARBOSA                      ID     90013005726
5123865244B588   BRANDON      DIEHL                        OK     90014866524
5123871688B169   DARIUS       BEARD                        UT     90004167168
5123923695B393   DAVID        FAGERBERG                    OR     44575892369
5123927755715B   JOSE         LAZO ROMERO                  VA     90012762775
51239A43961973   ALBERTO      ALTAMIRANO                   CA     90012340439
51239AA2872B43   ILEANA       GALLEGOS                     CO     90009130028
5123B166661973   MARIA        ALMANZA                      CA     46066521666
5123B56135758B   CAROL        POWERS                       NM     90013645613
5123B6A7233696   WEDDY        SMITH                        NC     90013886072
51241A2955B399   SHAWN        WEISS                        OR     90000810295
51241A62651348   JOSEPH       HALL                         OH     90012960626
5124219A75715B   BYRON        GALLOWAY                     VA     90012771907
51242752597B77   WILLIAM      HEGINBOTTOM                  CO     39014397525
5124279657B46B   RODOLFO      PARDO                        NC     90014957965
512427A3151348   SYLVESTER    ARHIN                        OH     66022087031
51242838672B2B   JOSHUA       PETERS                       CO     90007798386
5124315845758B   CASSANDRA    RAMIREZ                      NM     90005621584
5124329A55715B   EDWIN        PEREZ                        VA     90015012905
5124375575B399   DAHLAK       EZRA                         OR     90010597557
51244292397B77   JOSHUA       BALLARD                      CO     90002512923
5124435938B175   ASHLEY       ANDERSON                     UT     90010733593
5124471815B387   HYACINTH     BALTAZAR                     OR     44537937181
5124517A38B169   BLANCA       ZALDIVAR                     UT     90013231703
51245516A8B169   BLANCA       ZALDIVAR                     UT     31098165160
512456AA65B387   AMY          STROM                        OR     90002566006
512458A965B393   GEORGE       DANIELS                      OR     90014658096
512461A6485862   ROBERT       STRICKLAND                   CA     90014211064
512464A5372B43   ZAMIRA       PERLERA                      CO     33093424053
512466AA531436   ELYEA        REDMOND-HILL                 MO     27586296005
5124681797B46B   LAKAYA       SIMMONS                      NC     90012148179
5124741A191895   NIEVES       GOMEZ                        OK     90008854101
51247652972B58   KAM          RAWLINS                      CO     90011276529
51247996572B77   MICHEL       VASQUEZ                      CO     33082269965
5124829A551348   ERICA        JETT                         OH     90014982905
5124852A861971   SHAWN        NORTON                       CA     46044905208
5124899172B27B   HAKEEM       BILAL                        DC     90000109917
5124943138B169   MAX          CORDOVA                      UT     31088474313
5124963A84B28B   ARASELI      GONZALEZ                     NE     90007976308
5124B257161973   CANDY        HENSLEY                      CA     90009442571
5124B38764B588   LAURIE       WILLIAMS                     OK     90005593876
5124B3A3691895   JUSTIN       DETAR                        OK     90015113036
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5124B675133696   SHERMAL      KEITH                        NC     90013056751
5124B93695B365   TED          OLSON                        OR     90007829369
51251282772B67   JAMIE        BAREBO                       CO     33061382827
5125164A872B77   ANDRES       GONZALES                     CO     90009696408
51251A8262B862   BRIANA       LOGAN                        ID     41025820826
51252335172B27   VICTOR       CHAVEZ                       CO     90013833351
512524A5757157   TIFFANY      CONLEY                       VA     90014164057
5125345837B46B   YESENIA      TORRES                       NC     90013354583
51254124572B77   SANDRA       VASQUEZ                      CO     90006861245
51254342A5B387   JON          OLACHEA                      OR     44530213420
51254375A72B43   FELIX        HERRERA                      CO     33075643750
5125449157242B   CHRISTINA    WILSON                       PA     90011024915
51254512972B88   JAMES        PHILLIPS                     CO     90005145129
51254983872B27   KIMBERANN    ROMERO                       CO     90007769838
5125539855B393   LAZARO       SACAYON                      OR     90012543985
5125552567B46B   SANDY        CARTER                       NC     90007065256
5125625A597B54   TROY         STOLTS                       CO     39056832505
5125679214B28B   CRISTINA     CONWAY                       NE     26094117921
5125719445758B   MICHELLE     ELIZALDEZ                    NM     90012971944
51258279672B49   SHEPHERD     ERIN                         CO     90007202796
5125848A284357   MANNUEL      GARCIA                       SC     14574284802
5125936945B387   GRANT        THOMPSON                     OR     90013713694
5125953A45B399   RICHARD      CAMPOS                       OR     90003445304
512596A7751586   BETHANY      FLORKE                       IA     90015296077
5125B2A8284357   EDWARD       MIDDLETON                    SC     90007522082
5125B622533696   LYMIELL      LANCLOS                      NC     90002816225
5125B845161975   HORACIO      REYES                        CA     90010868451
5125B969861975   CLAUDIA      COTA                         CA     90009609698
5126113695758B   MONICA       CASTRO                       NM     90014691369
51261245372B49   RAYMOND      TRUJILLO                     CO     90010632453
51261358A8B169   RAFAEL       OLIVERA                      UT     90013033580
5126172255B393   ZANE         HOFFMAN                      OR     90011327225
5126178413B326   JAMES        ANTHONY                      CO     90002977841
5126223855B393   KYAW         MYAING                       OR     90012912385
5126239525758B   LUCERO       JUDY                         NM     90003233952
51263433872B43   BRADLEY      WATKINS                      CO     90014864338
5126449174B28B   JEDIDIAH     RIEKENBERG                   NE     90011464917
5126542532B27B   ALEXIS       SNIPE                        DC     90009644253
5126545545B387   AMY          HANSEN                       OR     90014524554
5126662A32B27B   WILFREDO     BONILLA                      DC     90015126203
5126678735B399   VIRGINIA     LOPEZ                        OR     90010597873
5126697AA26222   LAURA        HILL                         WI     90015609700
51267629372B27   BRIAN        BUTTS                        CO     90010636293
5126866AA61973   JESSE        MURGUIA                      CA     90014886600
51268AA538B169   MELISSA      JOHNSON                      UT     90011460053
51269147A5B538   APRIL        LUCERO                       NM     90013391470
5126925357B46B   MANUAL       FUENTES                      NC     90010852535
512695A544B28B   JESSICA      YELM                         NE     90005595054
5126978462B95B   ALFRED       RIOS                         CA     45047117846
51269A9995B393   DAWN         WHITAKER                     OR     90009800999
5126B689261973   LISA         LOPEZ                        CA     90011466892
5126B782457157   LUCIA        VILLATORO                    VA     90014537824
5126B81A961975   LUCIO        UHILA                        CA     46068558109
5126B961A57157   MITCH        ACE                          VA     90011719610
5126BA72733699   SHIELA       MARSHALL                     NC     90001160727
5127142A972B43   GRACE        LEMONNER                     CO     33046194209
5127216514B28B   SHEILA       TAYLOR                       NE     26098791651
512723A474B521   SHAYLEE      CRAWFORD                     OK     90005483047
51272466272B77   PEDRO        ORTIZ-CASTELLANOS            CO     33047894662
51273162772B43   MARINA       LACRUE                       CO     90004101627
512736A9372B27   JEFFREY      HYER                         CO     90014886093
5127373674B241   GUADALUPE    ESCOBAR                      NE     90011797367
512737A5457148   JAMES        NUNEZ                        VA     81084267054
5127448455B162   DANA         RUSSELL                      AR     23006984845
5127518545B543   PEREZ OCHO   KARLA I                      NM     90001081854
5127521534B28B   BEATRICE     HARRIS                       NE     90014702153
5127545655B387   ELLIE        GOLDEN                       OR     44545174565
512754A1991524   MINERVA      LARA                         TX     90011984019
5127572624B588   DAVID        FELZ                         OK     90012877262
5127612378587B   ROBERT       MARCHAND                     CA     46062831237
5127641625B387   SEAN         BEAM                         OR     90015114162
51276A6615B393   ALLEN        ELLIS                        OR     90002640661
5127724235715B   GAMELZAR     ULIT                         VA     90013012423
512775A4461975   MIRIAM       RODRIGUEZ                    CA     90001155044
5127761A95B531   IRENE        PADILLA                      NM     35045336109
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5127794345B393   SAMUEL       SEBASTIAN                    OR     90014659434
51277A5765B162   MELISSA      FURR                         AR     90011020576
5127863785B399   WILLIAM      SHEPPARD                     OR     90011306378
51278869472B49   SAMUEL       MADRID                       CO     90012358694
51278A64985873   TED          FABIANOWICZ                  CA     90013020649
51278A73657157   ALEJANDRO    RAMREZ                       VA     90009780736
51278AA8961975   VIERA        ALMA                         CA     90000430089
512793A4272B43   JOBY         WINCH                        CO     90011863042
5127945568B169   ASHLEY ANN   BLUEMEL                      UT     90014584556
5127965257242B   ROBERT       HENNINGER JR.                PA     51025006525
512798AA872B49   HILES        MASON                        CO     90013858008
5127B122A4B588   JENIFFER     BONILLA                      OK     90005901220
5127B15464B55B   LINDA        JACKSON                      OK     90005541546
51281333572B36   GINA         VEGA                         CO     33066203335
512815A774B29B   GLORIA       WARE                         NE     90006775077
5128228A472B67   MAYRA        PERALTA                      CO     33023212804
51284541A85862   LUIS         RODRIGUEZ                    CA     90012975410
51284A2157B46B   ROSEMARY     LIVINGSTON                   NC     11085810215
5128524527B46B   ANASTACIO    OSORIO                       NC     11025452452
51285529797B77   ELIZABETH    ZARRAGA                      CO     90004105297
5128582924B28B   AMBER        VANWEY                       NE     90006388292
5128625AA83266   NATAYVIA     TATE                         CO     90013812500
5128677575715B   CANDIDO      RUBIO                        VA     90013637757
51287695272B27   TAMI         MARKO                        CO     90010986952
512876A235132B   HONEY        LLOYD                        OH     66016756023
51287748A4B28B   JACOB        HAWCO                        NE     90009257480
51287AA8672B49   LESLIE       HENGFUS                      CO     33045750086
5128814928B169   CHARMAINE    SMITH                        UT     90014571492
5128815895B531   CLAUDIA      PEREZ GUTIERREZ              NM     35009851589
5128838995B387   JEFFREY      ADAMS                        OR     44529493899
51289274372B36   AGUSTIN      HERNANDEZ                    CO     90012762743
51289497A77522   THOMAS       JAMES                        NV     90008804970
51289768972B27   TERESA       RODRIGUEZ                    CO     90008467689
5128991984B28B   KAREN        DAVIS                        NE     26053449198
5128B529797B77   ELIZABETH    ZARRAGA                      CO     90004105297
5128BA6A772B43   BRIANA       GARCIA                       CO     90013550607
5128BA87391895   ERICK        VASQUEZ                      OK     90013060873
5128BAA9172B27   LINDA        ALCANTOR                     CO     90002320091
512912A2157148   NANCY        CONTRERAS                    VA     90001162021
512919A4385862   DANIEL       AGUERO                       CA     90014349043
51291A5218B169   LAURA        THORN                        UT     31031120521
51291A5532B27B   GEORGINE     ZANABA                       DC     90001670553
5129285675715B   JENNY        HOCHOA                       VA     90015018567
512941A925758B   FRANCES      CUMPLIDO                     NM     90012751092
51294252472B27   ELI          SANTOS                       CO     33044352524
51294972972B36   JEREMIAH     JONES                        CO     90012339729
5129538554B588   ELAINA       MARTINEZ                     OK     90010503855
51296226372B43   ALEJANDRIN   RODRIGUEZ                    CO     33052302263
5129642A661973   ANDRES       MERCADO                      CA     90008814206
5129651565B393   WILLIAM      THOMPSON                     OR     90009015156
51296796A24B7B   TIFFANY      BLACK                        DC     81012007960
5129731135B393   RUSSELL      KESSLER                      OR     90012703113
51297314872B49   TYRONE       BAKER                        CO     90012943148
5129738554B588   ELAINA       MARTINEZ                     OK     90010503855
5129739352B851   NICOLE       PHILLIPS                     ID     90014603935
512978A5791576   RAQUEL       CHAVEZ                       TX     75000468057
51298218698B2B   LUCY         FUNES                        NC     90003252186
5129848914B588   RACHELLE     KISSICK                      OK     90001094891
5129872412B272   MARCUS       BELL                         DC     90008557241
51298A12685928   MOHAMMAD     SHALASH                      KY     67095520126
51298A5365715B   JONAH        BRYANT                       VA     90010380536
5129959A75B531   KENDRA       GONZALES                     NM     90009585907
5129962685B29B   AMANDA       CARR                         KY     90011546268
5129B335873268   DELFINO      OLIVERA                      NJ     90014713358
5129B6A4572B27   BRITTNEY     MARTINEZ                     CO     90013696045
5129B859A61975   CARDONA      MARIA                        CA     46046798590
5129BA84633699   BROOKE       FRAZIER                      NC     90014620846
512B1536A61973   CLAUDIA      ASCENCIO                     CA     90014805360
512B155A472B43   KATHERINE    PAYNE                        CO     33030015504
512B1A2343B358   CHRIS        MILLIKEN                     CO     90002420234
512B1AAA261975   ROSANA       GALVAN                       CA     90014310002
512B233A357157   JOANNA       BOOTH                        VA     81034423303
512B2438442335   SHERRY       LYONS                        GA     90012664384
512B2441471964   VICTOR       CRUZ                         CO     32090784414
512B2459272B67   HEATHER      FRITZ                        CO     33031284592
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512B2913626222   JESSICA            COMPTON                WI     90015489136
512B2975251348   MICHELLE           ROSE                   OH     90012269752
512B32A1372B27   JOSEPH             ESPINOZA               CO     90011982013
512B343A891895   SHALENA            FORSYTHE               OK     21072194308
512B3791A91524   OSCAR              VENZOR                 TX     90009287910
512B3792297B77   JENNI              ELLERMAN               CO     39071567922
512B391745758B   GILBERT            DOMINGUEZ              NM     90012189174
512B3AA4172B43   VICTORIA           FENDELANDER-POILE      CO     33004460041
512B427187B46B   JILLIAN            KING                   NC     90013962718
512B4332472B36   PETER              SHERWILL               CO     90013603324
512B4716551348   JAMIE              KNUCKLES               OH     66039077165
512B4798897B77   ANDRES             GONZALEZ               CO     39073107988
512B4991A5715B   LAUREN             MOODY                  VA     90010339910
512B516A161971   GLEN               SHULTS                 CA     90004411601
512B547175715B   ARNOLDO            GARCIA ARGUELA         VA     81071204717
512B5791A91524   OSCAR              VENZOR                 TX     90009287910
512B57A125B399   SHERRY             BENEDICT               OR     90009907012
512B632A693771   MICHAEL            TERRELL                OH     90010873206
512B659A14B29B   EDITH              AVANT                  NE     27042665901
512B6759593771   BRANDI             GUY                    OH     90010137595
512B6761284357   LEADLOVE           KELLIE                 SC     14597527612
512B6A17A72B36   VERONICA           PILLADO                CO     90011130170
512B6A83833696   TERRY              BUCHANAN               NC     90013340838
512B6AA418B169   TERESA             MARTINEZ               UT     31050630041
512B723135715B   WENDY              MAGNE                  VA     90013892313
512B7374357157   DIGNA              RODRIGUEZ              VA     90014163743
512B77AA161973   JEREMY             METZLER                CA     90000137001
512B7A83133696   AZAEL              ABUNDIS                NC     90013480831
512B81A6761973   ALANA              MAFUD                  CA     90010791067
512B823A976B31   NADIA              BAHOOR                 CA     90004872309
512B8391A57157   KIRSTEN            HOOVEN                 VA     90014163910
512B842847B431   SHANIA             SNEAD MORRIS           NC     90010634284
512B857492B236   KEVIN              DIXON                  DC     81017215749
512B919815715B   ELSY               FLORES                 VA     81065971981
512B9247772B67   YVONNE             GARCIA                 CO     33004682477
512B9515557157   ARSEMA             GHIRMAI                VA     90012385155
512B975415B531   ROYCE              VAUGHN                 NM     90015117541
512B984A191B98   SHEILA             MILLER                 NC     90010218401
512B9955172B77   ABUNDIO            VALDEZ PEREZ           CO     33003199551
512BB21347B46B   NATASHA            YOUNG                  NC     90012272134
512BB3AAA91576   ANDREA             AMADOR                 TX     90014643000
512BB55A472B43   KATHERINE          PAYNE                  CO     33030015504
512BB87415B393   NATE               LOOMIS                 OR     44506598741
51311434A57157   ZULMA              ASEENCIO               VA     90013124340
5131156625B399   JOSE               ARCUALO                OR     90011115662
5131174664B588   ADA                GALEAS                 OK     90012877466
5131197235B393   MICHAEL            SLADE                  OR     90014659723
51311A81561973   WES                RHOTEN                 CA     90012340815
51312649272B27   HELEN              MARTINEZ               CO     90003516492
5131267724B588   VICTORIA           ESPARZA                OK     90009366772
5131277A791895   CHARLES            BERRY                  OK     90008427707
5131298997242B   MELISSA            SCHERER                PA     51037789899
5131355967242B   HEATHER            MISCIK                 PA     51013885596
51314169824B7B   MATTHEW            LUMAS                  DC     90011041698
5131489AA7242B   JENNIFER           SKOLODO                PA     90004068900
51314A45891895   AUSTIN             TALLEY                 OK     90008350458
5131542334B28B   LAURIE             MOTHERSHED             NE     90005464233
5131583337B46B   CANDICE            WATTS                  NC     90008628333
51315AA4484357   TAMI               PHILLIPS               SC     90013860044
5131629534B588   MICHAEL            DOTO                   OK     90014732953
5131638584B588   MEGHANE            WILSON                 OK     90013073858
51316A1755B399   NORMA              MURGA SOLIS            OR     90003090175
51317844A91576   JAIME              FABELA                 TX     90006528440
513189A7685983   ROBERT             SWANN                  KY     90008049076
513189A837B46B   KENIA              ARAGON                 NC     90013319083
513191A495B393   JAMES              HOGAN                  OR     44519921049
5131B2A4157157   GENERA             GILLIS                 VA     90014572041
5131B3A2361975   MARIA DEL CARMEN   PEREZ                  CA     90009303023
5131B49165B531   BERNADETTE         GARCIA                 NM     35094524916
5131B96134B588   MICHELLE           MERRIMAN               OK     90014789613
5132122812B27B   CRYSTAL            KITT                   DC     90014662281
5132153618B169   DENISE             PETTEY                 UT     90011355361
513217A4372B49   DAVID              STEEHLER               CO     33015947043
5132299934B588   RANGEL             SANCHEZ                OK     90015199993
51323568A84357   THOMAS             STONE                  SC     14512915680
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5132387465715B   MARITZA        ORTIZ                      VA     90011958746
51324345672B36   LUIS           CUPERTINO                  CO     90005043456
51324668972B49   ISABELLE       RIVERA                     CO     90012246689
51324717A97B77   ILARIO         CAMACHO VILLAGRAN          CO     39035477170
5132472572B27B   LIGIA          VALBUENA                   DC     90007807257
5132528255B387   GRABIEL        GRACIA LUGO                OR     44525152825
5132542215715B   FACUNDO        CABRERA                    VA     81092944221
513254A555B393   COURTNEY       ABRELL                     OR     90010874055
51327585172B49   LAURA          RAINEY                     CO     33007485851
5132767142B27B   BENJAMIN       RIOUS                      DC     81023996714
51327686A33696   JEANETTE       STOCKTON                   NC     12005656860
51327A38593747   MONICA         TALKINGTON                 OH     64544220385
5132841912B27B   ROLANDA        NICHOLSON                  DC     90014934191
51328682A98B2B   WILLETTE       CATHEY                     NC     11031986820
5132953864B588   CRAIG          BLAKE                      OK     21586635386
51329874472B27   TAMMY          WALLER                     CO     90011348744
5132991995B393   TARA           SCHWEIZER                  OR     44533539199
513299A9472B36   LEZLY          MELENDEZ                   CO     90013019094
51329A4515715B   MILAGRO        BONILLA                    VA     81038610451
5132B265A91576   KARLA          GUERRERO                   TX     90014602650
5132B481391895   RODNEY         MUNSON                     OK     21002524813
5132B61665715B   SHENLEY        ROSS                       VA     81094596166
5132B833557157   JOSE AGUSTIN   SORTO                      VA     90003368335
5132B87144B588   MELLISSA       WOODS                      OK     90011928714
5132BA3595B543   ANNETTE        APODACA                    NM     35027460359
5132BA92172B77   LANAE          WHISENTON                  CO     33047900921
5133114364B521   WILLIE         LLOYD III                  OK     21517841436
51331332472B49   MARK           HEMPEL                     CO     90012833324
51331432697B77   GREGORY        PEROTTI                    CO     90002074326
51331444272B49   ANA BERTHA     RODRIGUEZ                  CO     90012914442
5133158885B531   DANIEL         OLIVAS                     NM     90010695888
5133161895758B   JANINE M       TORRES                     NM     90010296189
5133163A45B543   DUSTIN         CHAVEZ                     NM     35047416304
513316A174B588   MICHEAL        GERULSKI                   OK     21560986017
51331958A85928   JANET          VAN NAME                   KY     67018069580
51332362A7242B   DAVID          FRANK                      PA     90013063620
51332499572B49   JIMMY          WHISPERS                   CO     33036404995
5133277265758B   JOSEPH         FLOREZ                     NM     90012167726
51332816372B36   DENISE         VENEY                      CO     90015088163
5133289935715B   TIMOTEO        EXCOY                      VA     90007468993
51332A74384357   ROLAND         BALLESTEROS                SC     90009450743
5133313274B521   LATOYA         ADAMSON                    OK     90009921327
513333A1A7242B   PAUL           MOOREY                     PA     51073373010
51333478372B36   CARLOS         PENA                       CO     90013924783
5133362A133699   TIFFANY        TONEY                      NC     90014506201
513336A8A61975   VALENZUELA     MARIA                      CA     90005556080
5133374415B393   TALHA          ABUBAKR                    OR     44567247441
5133421355B399   EDGAR          LEONEL                     OR     90008292135
51335542497B77   SANTOS         VELASQUEZ                  CO     90008625424
5133558418B169   NICHOLAS       JONES                      UT     31025305841
5133597A92B862   JOSH           CONNACHER                  ID     90012279709
513361A224B588   HALEY          INCARNATO                  OK     90008601022
51336416776B4B   RODOLFO        DIONISIO                   CA     46024664167
513364A395B393   RAMIREZ        BLANCO                     OR     44580544039
5133659842B959   JOSH           SMITH                      CA     90008805984
5133723994B251   KIMBERLY       BENAK                      NE     27014822399
5133736117242B   RICHARD        GUSTASHAW                  PA     51000773611
5133736A25B387   KELLI          WHITE                      OR     90004713602
51337588A51348   SUSAN          MILLS                      OH     66073865880
513378AAA5B393   HEATHER        FOUST                      OR     90011198000
5133799495B393   MARY           SHURTS                     OR     90014659949
5133842615B387   SIMONE         CROTHERS                   OR     90013984261
5133846A984357   STEVEN         JOYCE                      SC     90015154609
513384AA25758B   JOHN           TORREZ                     NM     90004704002
5133866668B169   ROBERT         NEBEKER                    UT     31003966666
51338727472B36   JESSIE         BOTELLO                    CO     90012767274
513399A847B46B   BANIA          RAMIREZ CARMONA            NC     90013319084
5133B1A225B283   VALERIA        ELLINGTON                  KY     68026781022
5133B272372B77   ARTURO         CALDERON                   CO     33056012723
5133B427491576   JESUS          MORENO                     TX     75010114274
5133B616585862   AMELIA         HINTON                     CA     90004976165
5133B638257148   MAYRA          SALMERON                   VA     81064016382
5133B66A361975   ERICKA         VERDUZCO                   CA     90012586603
5134135625B531   KAYE           WILLIAMS                   NM     90013723562
5134156855B387   LISA           DAVIS                      OR     44521505685
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513415A3772B27   BRISA          PINEDO                     CO     90001165037
513416A2161973   KEVIN          HUSSIE                     CA     90013266021
51341A29961973   KEVIN          HUSSIE                     CA     90014170299
51341AA785B399   MARIO          GOMEZ                      OR     44509230078
51342791A5B387   ELIZABETH      COLLINS                    OR     90009947910
5134364895715B   JOSE           GARCIA                     VA     90015026489
5134425625B399   DAVETTA        LOCKETT                    OR     90005102562
5134438955B531   MATTHEW        ROMERO                     NM     90015193895
513455A9142363   TABATHA        CARPENTER                  GA     90008685091
51345AA194B29B   CYNDI          CROKER                     IA     27022590019
51346438772B27   MAX            SANTA CRUZ                 CO     33052794387
51346782A85862   FRANCISCA      FLORES                     CA     90007597820
5134695254B28B   JASON          SMITH                      NE     90002199525
51346A85733696   VIKKI          WILLIAMS                   NC     12039780857
5134793455758B   JASON          ROCHA                      NM     90013649345
5134857325B531   CARLA          HEALY                      NM     35059325732
5134935A784371   SHANERA        SNYDER                     SC     90012573507
5134954535715B   SAMUEL         MANSARAY                   VA     90000195453
5134B248172B27   WILLIAM        ELLIOTT                    CO     33014412481
5134B62435B531   RENEE          HASTINGS                   NM     35004096243
5134B843261973   SONIA          MORALES                    CA     46052488432
5134BA92572B49   MORALES        JUANA                      CO     90009660925
51351526872B49   CONSUELO       QUINTANA                   CO     33030705268
5135199A597B54   CRYSTAL        CANO                       CO     39007319905
513521A944B588   FEDERICK       TAYLOR                     OK     90007651094
51352414272B77   JESSICA        VALDEZ                     CO     90007584142
5135289A24B288   MILAGROS       MCALEER                    NE     90011548902
51352A37A72B88   BRENDA         BUSTILLOS                  CO     33090960370
5135384A57242B   ROBERT         BIGELOW                    PA     51013248405
51354253672B36   CHAIREZ        ZEFERINO                   CO     90010012536
5135436782B851   CONNIE         CORNISH                    ID     90011533678
5135472AA91895   R0SALINDA      SANCHEZ                    OK     21082027200
5135514718B173   JASON          BRYCE                      UT     31096351471
5135533952B27B   JASMINE        WYNN                       DC     90015073395
5135555577242B   WENDY          HISSEM                     PA     90012855557
513555A7272B77   MANUELA        DE LACRUZ                  CO     90006775072
51356231672B49   ANTHONY        HERNANDEZ                  CO     90009372316
5135625995B399   MICHAEL        COTTIS                     OR     90011572599
51357845472B49   SHELLY         SHOLOH                     CO     90013188454
51357A7618B169   FRANCISCO      PANTOJA                    UT     90012980761
51358213672B43   FRANK          LOPEZ                      CO     90012082136
51358455972B27   JEFF RANDALL   KRANANU                    CO     90009604559
51358534272B88   HERMILO        CORRAL                     CO     33037115342
5135874352B862   JESSE          RATE                       ID     41038647435
5135942A25B387   ALONZO         GARNER                     OR     90013714202
5135997774B28B   JOSEPH         YBARRA                     NE     26097369777
5135B125284357   RONALD         KLOPP                      SC     90009841252
5135B323461971   JEFFREY        GRAY                       CA     90010893234
5135B364791576   HUMBERTO       HUERAMO                    TX     90011973647
5135B55A85B387   MANDY          MAJOR                      OR     90004835508
5135B925157157   YENNY          FLORES                     VA     90010859251
5135B975871964   JESSICA        ARMENTROUT                 CO     32090509758
51361754A91895   MICHELLE       MCCARGO                    OK     90006227540
51362144272B36   ROOSEVELT      GLOVER                     CO     90005591442
5136233655B393   RHONDA         GLENN                      OR     90013823365
513634A627B431   TRENTON        MASSEY                     NC     90011414062
513634AA961975   GUILLERMO      ALVAREZ                    CA     90013334009
5136393888B169   VINCENT        SILVA                      UT     90013919388
51364886772B43   CHAD           BEHANNA                    CO     33027898867
51364989A85862   BRIAN          MILHOLLAND                 CA     46011649890
5136512527B46B   VERNELLE       DIALLO                     NC     90010261252
51365463872B77   JESSE          TALAMONTES                 CO     33042964638
513655A824B28B   DOROTHY        BURCHETT                   NE     90015155082
5136561A75758B   DESIREE        CARILLO                    NM     35581506107
5136575815B387   KANDY          RAIFORD                    OR     90012237581
51365A3734B29B   SHAKEYA        DURDEN                     NE     90007990373
51366247197B77   PASCUAL        RIVERO SIGALA              CO     39094232471
51366259A57148   GILMA          GARCIA                     VA     81016922590
513663A614B28B   ROBERT         CLEMENS                    NE     90006673061
51366597572B27   DEVIN          JOHNSON                    CO     90013695975
51366AA7A91576   ROXANNA        TRENT                      TX     90015340070
513671A292B27B   CARL           WHITFIELD JR               DC     90014171029
5136723A54B588   REGINA         DEGRATE                    OK     90007562305
5136727985B399   DAVID          ROBERTO                    OR     44557422798
5136773A161975   JESSICA        RUVALCABA                  CA     46016327301
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5136816282B27B   TIJUANA         SAUNDERS                  DC     81006971628
51368611A31429   LATASHA         JONES                     MO     27578066110
51368814A51348   ABIGAL          FABIAN                    OH     66009138140
5136885975B531   BRENDA          ARENIVAS                  NM     35069508597
51368AA3557157   FELIPE          MIRANDA                   VA     81034930035
513695A2261971   RALPH           ELWOOD                    CA     90013495022
5136961A284373   NNAMDI          ROBERTSON                 SC     19041216102
5136B11938B169   TAMRA           HENDRICKSON               UT     90010221193
5136B12515715B   ELISABETH       HERNANDEZ                 VA     81002791251
5136B41595B387   NICOLE          WINSTON                   OR     90007864159
5136B48654B28B   SARAH           ARELLANO                  NE     90010624865
5136B58432B27B   UZOAMAKA        ONYEKWELIBE               DC     90013925843
5136B75562B27B   NATALIE         THOMPSON                  DC     90011327556
5136B95725B543   GENEVIEVE       DASH                      NM     90007819572
5136BA1855B393   VICTOR          QUIM                      OR     90014660185
5136BA41357157   OSCAR           LOPEZ                     VA     90006900413
5137143935B543   IRMA            CRUZ                      NM     90005714393
5137185177B46B   ALTAGRACIA      TEJEDA                    NC     90012148517
51371A24251348   JOSH            MADDEN                    OH     90014250242
51371A6A251332   PHYLLIS         BLACKMAN                  OH     90000960602
51371AAA172B49   GEBREAB         MEHARI                    CO     33008090001
513723A144B588   MARIO           CANDANOSA                 OK     90003193014
51372546472B27   IAN             STELEE                    CO     90013565464
51372839A61971   MICHELLE        TULA                      CA     90014528390
51372A18997B77   VERONICA        WOODYARD                  CO     90009610189
51372A78151367   JOHN            COATES                    OH     90013660781
51372A8145758B   CYNTHIA         ROSAS                     NM     35543500814
5137316447B46B   LAKISHA         WORTHY                    NC     90004421644
5137332532B27B   HERBERT         MUNGO                     DC     90009683253
51373552972B27   ARABIA          SHARIF                    CO     90014305529
5137368615715B   PIA             JAMES                     VA     90011396861
5137388635715B   ROBERTO         GUZMAN                    VA     90015038863
51373A36957148   CANDELARIO      MEDRANO                   VA     90007250369
5137413A42B242   CECELIA         BOHANNAN                  DC     90013351304
5137443665B399   HEIDI           CASTEEL                   OR     44500494366
513744A1672B27   DOMINIC         LOPEZ                     CO     33050144016
5137478134B558   ASHLEIGH        JENNINGS                  OK     90008377813
513748A225715B   CLAUDIA         MARTINEZ                  VA     81048108022
5137513765B393   ROBERT          THOMPSON                  OR     44523591376
5137515A691998   ALISHIA         WILLIAMS                  NC     90011991506
5137556735B393   CARMEN          OROSCO                    OR     90001995673
5137557394B588   WILLIAM         CASTANEDA                 OK     90003145739
5137597238B169   TAMMY           SUMMERS                   UT     90010339723
51376A27791576   YVONNE          DIAZ DE LEON              TX     90013840277
51376A74861971   SHAHAD          ISSA                      CA     90010770748
513778A497242B   ALEC            KMETKO                    PA     90012328049
5137872175715B   JOSE NORBERTO   MACHADO                   VA     90006267217
51378748A57157   WILLIAM         BROOKS                    VA     90009467480
5137897455B387   CHARLES         HODGES                    OR     44542749745
5137913784B28B   JAMIE           MCCLELLAND                NE     90013671378
5137928665758B   DEBORA          TRYON                     NM     90013072866
51379654A57157   MEKDES          TEGEGNE                   VA     81006226540
5137965818B169   SARA            EDGAR                     UT     90013796581
51379919572B49   LORENZO         LUNA                      CO     33090999195
5137B346984357   ANTWAN          SMALLS                    SC     90011363469
513813A355758B   JUANA           PRAGNER                   NM     90014673035
51382177972B36   JUAN            CASTANEDA                 CO     90012031779
51382678A51348   ASHLEY          NADEL                     OH     90008346780
5138272125758B   ANTELMA         DIAZ                      NM     35587877212
51382845A72B43   CHRISTINE       VELASQUEZ H               CO     33080548450
5138339348B169   VITALINA        DIAZ                      UT     90015173934
51384371A61973   DOMINIC         ANDRADE                   CA     90014183710
513845AA52B27B   ABIOLA          FELIX                     DC     90012035005
51386484772B49   MOISES          RIVERA                    CO     33084704847
5138715335B387   WILLIAM         SPENCER                   OR     90014151533
513872A3633699   SHANTEL         MCCLELLAN                 NC     90011292036
5138797464B588   TORII           BRADLEY                   OK     90014269746
51388971797B54   GOLDBERRY       MCCLURE                   CO     39016959717
51388A25185862   GARY            TOWERS                    CA     46054390251
5138B479797B77   JOSE            JUAREZ                    CO     90011834797
5138B772984373   JOHN            HEFNER                    SC     90015197729
5138B864A5B283   STACY           PALMER                    KY     68013598640
5138B87415715B   EUGENIO         NICOLETTI                 VA     90006168741
5138BA76533699   TYRONE          GLENN                     NC     90001610765
5139112A14B569   DOMINIQUE       MANUEL                    OK     90009411201
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5139144536199B   JASONN       NICHOLS                      CA     90010854453
513917A535758B   ERLINDA      ELGADO                       NM     90011937053
51392336A7B46B   DARRYL       SUGGS                        NC     90012343360
5139289385715B   JOSE         CHAVEZ MENDEZ                VA     90015038938
51393937A51348   SHIELA       BARKER                       OH     66041419370
5139435A985862   BATI         CUBUKCU                      CA     90000823509
51394466A98B2B   JARRET       DUVALL                       NC     11063414660
5139476515758B   CLAUDIA      JONES                        NM     35591467651
5139482445B399   DAYANA       MARCIAL IGNACIO              OR     90010188244
51396148A33699   MARSHA       WILLIAMS                     NC     90003161480
5139675147242B   ZACHARY      BREEGLE                      PA     90011367514
51397582A5B531   KAREN        MONTANO                      NM     90015015820
5139889A14B521   KRYSTAL      DOSS                         OK     21574798901
5139911A157157   ALEJANDRO    LOPEZ                        VA     90014751101
51399232172B27   SANTOS       FAUSTIN BATEN                CO     33002132321
5139936A461973   ANGEL        REMIGIO                      CA     90013923604
5139944536199B   JASONN       NICHOLS                      CA     90010854453
5139956318B169   JUAN         GONZALEZ                     UT     90008005631
51399A7A893747   MAURICE      WADE                         OH     90009130708
5139B365A72B88   WALTER       HAMILTON                     CO     33001223650
5139B63525B283   IRMA         RAMIRE                       KY     90006926352
513B128458B169   STERLING     ALLEN                        UT     90008452845
513B1696661971   NICOLE       BOWMAN                       CA     90014716966
513B2195461975   EDGARDO      BELTRAN                      CA     90011211954
513B253615B399   JOHN         HESTER                       OR     90003445361
513B256985715B   JOSE         GUZMAN                       VA     81084925698
513B264314B28B   HAU          BUI                          NE     26086446431
513B3435457157   ROXANA       LOPEZ                        VA     90010684354
513B3439284373   JENNIFER     RAMIREZ                      SC     90014554392
513B364855B531   MICHEAL      CHAVEZ                       NM     90014436485
513B384455B387   JENNIFER     FRANKLIN                     OR     44584198445
513B418685715B   LUIS         PARILLA                      VA     90008341868
513B431495B531   KAYLA        MORELOS                      NM     90011853149
513B432254B588   BALTAZAR     PANDO                        OK     90013063225
513B4354991895   LESLIE       HICKEY                       OK     90013963549
513B465A35B393   CHRISTINA    BROWN                        OR     90010966503
513B526965B543   CODYLEE      HAMILTON                     NM     90005712696
513B528A85B393   DAVID        MENDEZ                       OR     90006242808
513B575835715B   NOHEMY       RIVERA                       VA     90001157583
513B614AA91576   IMELDA       GARCIA                       TX     90010801400
513B68A257B46B   CHEVELLE     SPRAILL                      NC     11009878025
513B71A195758B   PATRICIA     CALDERON                     NM     90014501019
513B7228251348   NIKOLE       TAYLOR                       OH     90014422282
513B7931585928   LINDA        CAYWOOD                      KY     90015149315
513B8272A51348   PATRICIA     MESSER                       OH     66055062720
513B898897242B   AMBER        MINARCHIN                    PA     90010999889
513B924944B588   DANA         ADAMS                        OK     21560722494
513B9589461975   NAZDA        VALDEZ                       CA     90013785894
513B9842597B77   KATHY L.     WALRATH                      CO     90011828425
513B985327B46B   YESSICA      MORALES                      NC     90013728532
513B9865198B2B   KARL         TRAPP                        NC     11001708651
513B988595B531   RODOLFO      TRILLO                       NM     35040748859
513BB1A2633696   CRYSTAL      MOORE                        NC     90014941026
513BB219A72B67   ESTELLITA    LUCERO                       CO     33017232190
513BB5A3A72B31   MICHELLE     BRANCH                       CO     90013215030
513BB71585B531   PAUL         WRIGHT                       NM     35090917158
51411471772B27   ALONSO       BUSTILLOS                    CO     33074804717
51411A82961973   DULCE        PACHECO                      CA     90008580829
5141231517242B   JADE         WARGO                        PA     90011323151
51412448A8B169   JAKE         DURAN                        UT     90011894480
51412559A72B88   DENNIS       FREIBERG                     CO     33018195590
514125A3472B36   IVETTE       CHAVARRIA                    CO     90002065034
5141314794B588   ANTHONY      DELPIERRE                    OK     90012521479
5141332475B387   PRISCILA     BARRIOS                      OR     90011203247
5141428352B84B   DESTINY      MC CENNOO                    ID     90014842835
51414535A5B387   KEVIN        YOUNG                        OR     44551015350
514145AAA41233   ANITA        BONDI                        PA     90010515000
5141517644B588   LEEROY       WASHINGTON                   OK     21502351764
5141526A451348   KATIE        ISAAC                        OH     90008762604
51415463272B36   CONNIE       LEWIS                        CO     33005734632
5141546A672B88   DARLA        MOSLEY                       CO     33016994606
5141549A961973   ARMIDA       GARCIA                       CA     90008894909
5141557174B28B   CHRISTINE    COOK                         NE     26055865717
5141671852B27B   TONY         HARRIS                       DC     90015127185
5141789857242B   EDWARD       BOYLE                        PA     90010898985
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51418298997B54   GLORIA            CHAVEZ GUEVARA          CO     39016612989
5141832725B387   GEOVANI           RUIZ CONTRERAS          OR     90005613272
5141872185B393   ASHLEY            MCMURRY                 OR     90013307218
51418A67885862   JESUS             MENDOZA                 CA     90001290678
5141916762B27B   JOE               GORDON                  DC     90015131676
514191A5497B77   ADALENY           GARCIA                  CO     90009301054
51419397472B27   JENNIFER          BROADWAY                CO     90004143974
5141969A87B46B   FABIOLA           TORRES                  NC     90009406908
51419A88185862   BRANDI            GUARDADO                CA     90015340881
5141B664684373   LAUREN            BERAAD                  SC     90014836646
51421247A4B28B   STEPHANIE         EADS                    NE     26044882470
5142156697242B   PENNY             MARTIN                  PA     51090535669
5142255125B399   CARY              MORGAN                  OR     44518925512
51423646972B88   CURIS             CASE                    CO     90007366469
514236A1285862   JONGHUN           PARK                    CA     90012696012
5142396134B588   MICHELLE          MERRIMAN                OK     90014789613
51424299572B49   LISA              TRADER                  CO     33040772995
514245A8857157   SANTOS            REVELO                  VA     81096085088
51424932A72B27   MAE               SILVA                   CO     33092449320
5142562345B399   CATHERINE         DECKER                  OR     90011016234
51427421872B43   SAUL              TORRES                  CO     33012604218
51427A6788B169   JASMINE           DUVALL                  UT     90014900678
5142815335B387   WILLIAM           SPENCER                 OR     90014151533
5142821975B393   RYAN              FITZGERALD              OR     44547432197
5142827845715B   AMY               FRIES                   VA     81065662784
514283A148B169   KATHLEEN          WILLIAMS                UT     90015003014
5142847A972B27   MATT              BROGDON                 CO     33050144709
5142883622B237   MIRIAM            OPARAUGO                DC     90002848362
51429287272B88   JAVIER            DURAN-HERNANDEZ         CO     33008942872
5142943318B167   GARRET            VALLAVE                 UT     90012994331
5142947164B28B   ERIC              ZACHERSON               NE     90014094716
51429A2595B387   BRENDA            REYES                   OR     90003270259
5142B184785862   CABRERA           ALONSO                  CA     90002101847
5142B31517242B   JADE              WARGO                   PA     90011323151
5142BA3234B588   JORDAN            ECK                     OK     90014490323
51431363472B36   MARY              HECKER                  CO     33091583634
514315A7257157   JOSE              MORALES                 VA     81014345072
5143192A285862   DUSSTIN           COYOTE                  CA     90005859202
51431A8385758B   DARRYL            CANNON                  NM     90014910838
5143221A85B393   PRECIOUS-JEWELL   STEVENS                 OR     90013242108
5143242444B521   ARTURO            CORTINAS                OK     21564354244
51432A13957148   ARTURO            ROJO                    VA     81017070139
5143315955758B   BALTAZAR          SANCHEZ                 NM     90015111595
5143336735B399   RICHARD           NEIDIGH                 OR     90010603673
5143343A65B399   KASSY             CANDIANIDES             OR     90012374306
5143346874B588   SCARLETT          DAVIS                   OK     90013414687
5143372718B169   ANDREW            FLORES                  UT     90013777271
51433A45333696   ANGEL             LAWTON                  NC     90011120453
5143429955758B   RACHEL            CARABAJAL               NM     35513362995
514343A7861973   JEAN              RESENDES                CA     90014163078
51434533A61971   SARVJIT           SINGH                   CA     90005555330
5143476495B387   TIMOTHY           YOUKER                  OR     44589797649
514347A974B29B   RHONDA            ALVAREZ                 IA     27017217097
5143521975B393   RYAN              FITZGERALD              OR     44547432197
5143556817242B   JAMES             WOLFE                   PA     51017135681
51435A4462B27B   AZZAYA            NYAM                    VA     90010330446
514362A2384373   CLAUDE            JENSEN                  SC     90001932023
51436432A5B387   JEREMIAH          GARCIA-LEE              OR     90012484320
5143766565758B   JACQULYN          VILLEGAS                NM     35584416656
51437851A2B241   HILDA             AYALA                   DC     90002778510
5143799694B588   AMOS              NJINGTI                 OK     21506569969
51438148572B36   PATRICK           STEEN                   CO     90013991485
51438341472B43   FABIOLA           GILES                   CO     90010073414
5143842242B27B   KIERA             DIXON                   DC     90013704224
5143862868B169   JEFFREY           LYNN                    UT     90013656286
5143868994B588   JERMAINE          WILLIAMS                OK     90014216899
5143895854B521   SANDRA            VILLEGAS                OK     90009589585
5143B4A584B29B   SUSAN             LINGLE                  IA     27070694058
5143B6A3A5B531   ROSE              BACA                    NM     35024066030
5143B875372B36   ERIKA             RIVERA                  CO     33047378753
5144159A54B251   ALBERT            MESSAN YAO KATE         NE     27080995905
514416A2891895   MEIKA             TUCKER                  OK     90010496028
51442512A5593B   ELVIS             GILLIES                 CA     49011665120
5144292435B531   IVAN              CASTILLO                NM     90011049243
51443235272B36   STEPHANIE         JIMENEZ                 CO     33096072352
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51443728772B43   ROBERT       SHANKS                       CO     90011367287
5144437725B399   REBECA       ESTUDILLO                    OR     90010603772
514448A7372B36   JOBEL        WALKER                       CO     90014548073
51444A3118B169   DAVID        WALKER                       UT     31086690311
5144514A933699   ELI          PHELPS                       NC     90012861409
5144572AA91895   MICHAEL      BROWN                        OK     90015167200
51446122372B36   PENUT        CHENTE                       CO     90010021223
5144625915715B   ADORA        SCOTT                        VA     81068042591
5144697455B387   CHARLES      HODGES                       OR     44542749745
51446A59961975   TESSA        CALVILLO                     CA     90013750599
51447225472B36   PEGGY        BLACK                        CO     33018482254
5144825A78B169   VIRGINIA     VALDEZ                       UT     90003562507
514483A2A98B2B   JAERRA       SAYLES                       NC     90003473020
5144858454B28B   MICHAEL      HOOD                         NE     90001105845
51448653A72B77   LUIS         CASTANEDA                    CO     33069866530
5144882A761973   DARWIN       PIETROWSKI                   CA     46050728207
51448867A2B27B   RIKEA        RICHARDSON                   DC     90009758670
5144991654B588   JERRY        PACK                         OK     90014829165
5144B175572B36   SANDRA       MIELENZ                      CO     33021011755
5144B276272B43   JORGE        RESENDEZ                     CO     90001022762
5144B425684357   TINA         SHARKEY                      SC     90010894256
5144B439172B49   RANDY        BENSON                       CO     33042974391
5144B587A5758B   MAGDALENA    MACIAS                       NM     90001055870
5144B91715B531   MARIA        AVALOS CELAYA                NM     35063409171
5144B993191524   SONIA        MALDONADO                    TX     90014329931
5145141792B973   JORDAN       STANLEY                      CA     45096514179
51452274672B21   AUTUMN       FISHEL                       CO     90013752746
51452415872B27   JAMES        KISER                        CO     90012124158
51452427597B77   DANIEL       DIAZ                         CO     90014764275
5145244484B28B   NICKOLE      THOMPSON                     NE     26016684448
51453355A5715B   CLAUDIA      FUENTES                      VA     81091983550
51453A29791576   BLANCA       SAMANIEGO                    TX     90014050297
51453A9714B28B   NANCY        MORENO                       NE     90001040971
5145421494B28B   SHAD         MILLER                       NE     26056672149
51454A46A84357   VIKTORIA     VALDEZ                       SC     90005410460
51454A61891895   CHATIA       DENNIS                       OK     90013850618
51454A69333696   PAULETTE     ADAMS                        NC     12036210693
51454A8395B283   JERRY        SAUNDERS                     KY     90006520839
51455497897B77   LENDY        OCHOA                        CO     39017414978
5145575555715B   ALFONSO      GONZALEZ                     VA     90012817555
5145587185B531   ANGEL        RAEL                         NM     90012288718
514559A334B588   SHANIKA      SMILEY                       OK     90000319033
51455A84564145   OSCAR        KAYEE                        IA     90013890845
51456222A8B169   SHINAE       FURGESON                     UT     90014792220
514563A2891576   NANCY        MARTINEZ                     TX     75089633028
51456685398B2B   MARIO        ORTIZ                        NC     11009176853
51457281372B43   ANGELA       GONZALES                     CO     33099762813
5145754155715B   PEDRO        VALENZUELA                   DC     90010305415
5145796975B387   EDMUND       SAW                          OR     90011329697
514579A2684357   CHARMAINE    INABINETT                    SC     90011089026
51458335A61975   TIFFANY      BAXTER                       CA     90005673350
5145839A551348   JOSH         VICKERY                      OH     90010913905
5145843A497B77   ALFONSO      GONZALEZ                     CO     90011844304
5145864324B588   DANIEL       ENCARNACION                  OK     90012696432
5145873572B27B   SHEILA       JONES                        DC     90007807357
5145875198B169   ARMANDO      TORRES                       UT     90009477519
5145937325715B   ANDONY       MARTINEZ                     VA     90013223732
5145968994B562   BRYAN        MAYS                         OK     90009256899
514598A3961975   JORGE        DIAZ                         CA     90014428039
5145B25635758B   ZEYDI        PENA                         NM     90015002563
5145B2A742B27B   KARINA       CERRATO                      VA     90007672074
5145B325A84373   BENJAMIN     COOPER                       SC     90007623250
5145B681A51348   KEVIN        WILLIS                       OH     66066266810
5145B74774B28B   WILL         PERDUE                       NE     26058187477
5145B88314B588   JOSE         DIAZ                         OK     90014918831
5145B984885928   DEISY        DIEGO                        KY     90009589848
5146151125B543   MICHELLE     ODEN                         NM     90005745112
5146163A261975   AIOTEST1     DONOTTOUCH                   CA     90015116302
5146222A94B28B   KELLY        THOMAS                       NE     90014312209
51462732872B36   CESAR        CORREA                       CO     33056827328
51462846672B27   JAMES        BROWN JR                     CO     33092288466
5146343945B543   FLORENTINA   MEDINA                       NM     90005824394
51463473672B67   ERICK        LOPEZ                        CO     33022774736
5146499275B531   CRYSTAL      SCHLOSSER                    NM     90013329927
5146541497B46B   CHRISTINA    ROSS                         NC     90013014149
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51465746397B77   BETHANY       BRITT                       CO     90002517463
5146651725B387   RICARDO       RAUL                        OR     90011175172
5146743475758B   JULIO         ROMO                        NM     90015594347
5146771197B46B   AREIEL        GRAHAM                      NC     90012027119
5146791935B283   KRYSTAL       ELLIS                       KY     68016419193
51468495772B27   EMELDA        GONZALEZ                    CO     90006764957
51468657672B43   ELOY          CAMAYO                      CO     90007986576
51468663A91576   ANDRES        GARCIA                      TX     75015076630
5146884A33B394   JOSE          GONZALEZ                    CO     90006628403
514688A2684373   LEO           BLAKELY                     SC     19024028026
5146B113785928   CARLOS        FLORES                      KY     90015241137
5146B821672B49   JASON         VOGLER                      CO     90001268216
5146B83A485928   KIM           BURT                        KY     90010888304
5146B8A4A7B46B   FLORA         WILSON                      NC     90013448040
5146BA6788B169   JASMINE       DUVALL                      UT     90014900678
5147113775593B   ADAN          PINA                        CA     90006681377
5147141325715B   ANGELA        CARO                        VA     90009424132
51471971A72B49   DEANNA        GALLAGHER                   CO     33023989710
5147258A572B36   ALDO          DURAN                       CO     90013015805
51472A36A98B2B   RODRIGO       CARMONA                     NC     90003260360
51472A7735B387   ANGEL         COOK                        OR     90014010773
5147338627B46B   KEBRICK       BARNES                      NC     90012903862
5147393A85715B   DAVID         NUNEZ                       VA     90005799308
51473A8425B387   MARGARITO     MORALES                     OR     90012560842
5147419292B27B   MARIALINDA    HERNANDEZ                   DC     90000451929
514741A4557157   YVETTE        PETRESCU                    VA     90015281045
514743A645B393   LYNN          REA                         OR     90006023064
51474568298B2B   DEREK         GALAXX                      NC     90006775682
51474A5617242B   JEFFERY       SHOPE                       PA     51029250561
51474A8875715B   CARLOS        ORTIZ                       VA     90012900887
5147546195B543   KRYSTAL       SALAS                       NM     90005824619
5147579598B169   CHIS          CORDOVA                     UT     90004357959
51475831972B37   LYNNE         BROWEEN                     CO     90011658319
51475A37A4B588   JUAN          DE LOERA                    OK     90010510370
51475AAA951348   CHAD          GRAY                        OH     90010700009
514773A7A91895   JOEL          PITTS                       OK     90014383070
5147838924B588   PAMELA        ROPER                       OK     90006663892
51478463A91576   CARMEN        MARTINEZ                    TX     90011204630
51478882A61971   FERNANDO      MOLINA                      CA     90003098820
5147913365B387   MARIA         RAMIREZ                     OR     90015041336
5147B18655B387   KENNETH       CAMERON                     OR     90011921865
5147B251A8B169   LAUREN        WHIPPLE                     UT     90010612510
5147B57595B393   MARIA         POLVOS                      OR     90004955759
5147B85355758B   JESUS         LOPEZ                       NM     90014868535
5147B9A365715B   JAMALADIN M   BASHIR                      VA     90015039036
51481368A4B28B   CARRIE        FIELDER                     NE     26043323680
51481A9867242B   MAEGAN        FUMICH                      PA     90000460986
514824A4751348   CANDISS       JOHNSON                     OH     90010204047
51484AA475B387   ANGEL         SORIANO RAMIREZ             OR     44599100047
514851A832B245   DENISE        COLEMAN                     DC     81098711083
51485255172B27   CHRIS         GUTIERREZ                   CO     33077212551
51485399A5B387   JOSH          TAYLOR                      OR     44506383990
51486139872B49   RICKEY        CARTER                      CO     90013891398
514862A735B393   TERESA        JIMENEZ                     OR     90014672073
5148724AA4B536   LAUREN        HUGHES                      OK     90009812400
5148727794B588   MYKEL         SHERRILL                    OK     90014542779
5148744345B393   KEVIN         TAYLOR                      OR     44568384434
514876A1685928   JUDITH        BURNAM                      KY     67030786016
514877A6984357   CAPRESHA      JAMES                       SC     90009387069
51487835172B43   MELISSA       LUCERO                      CO     33077888351
5148858235715B   DAYVI JOEL    AYALA LOPEZ                 VA     90012895823
5148894A761936   FERNANDO      ZAMUDIO                     CA     46063299407
51489266424B7B   VICTOR        APARICIO                    VA     81052052664
51489683676B81   MARGARITO     GOMEZ                       CA     46073666836
51489883872B43   GUILLERMO     BEJARANO-MIRANDA            CO     33055008838
51489AA278B837   ALAN          PABO                        HI     90010510027
5148B25984B588   CAROLYN       RIGGS                       OK     90011582598
5148B342161973   FABIAN        SANDOVAL                    CA     90014163421
5148B399A5B387   JOSH          TAYLOR                      OR     44506383990
5148B479785862   CHANCY        MAGOON                      CA     90011284797
5148B93A972B49   RICKY         ZARATE                      CO     90011049309
5148BAA6A7B46B   ENRIQUE       ROLDAN                      NC     90013520060
5149122A55B393   SCOTT         BURKIN                      OR     90014672205
5149139357242B   NATALIE       WILLIAMS                    PA     90013263935
5149166912B27B   FABIAN        LEWIS                       DC     90013186691
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51491685472B88   KEVIN            SWOPE                    CO     33065996854
51491699272B88   KEVIN            SWOPE                    CO     90014376992
51491A2194B588   SHALITTA         OWENS                    OK     90006770219
51491A6425715B   LUIS ALBERTO     ESCOBAR DOMINGUEZ        VA     90015320642
5149232825B393   STEPHANIE        SLASON                   OR     90002183282
5149259A191576   SANDRA           HERNANDEZ                TX     75065455901
5149287A257157   ASSEGEDECH       TESEMA                   VA     90003118702
5149327712B27B   JONAS            WILLIAMS                 DC     81017242771
5149361615B531   CHRIS            BROWN                    NM     35017876161
5149374A172B36   YOLANDA          RODRIGUEZ                CO     33062597401
5149389665B387   JERRY            NELSON                   OR     44526578966
514941A1672B88   YESENIA          ALONSO                   CO     33047171016
5149427248B169   SANDRA           NELSON                   UT     90012742724
5149457457242B   LINDA            BLOSE                    PA     51081745745
5149469815B543   RONICA           WELBORN                  NM     35081376981
5149491312B27B   JANAY            BURRELL                  DC     90014569131
51495A1632B237   SHAVEL           WRIGHT                   DC     90005670163
51495A8255758B   BOBBIE           HERNANDEZ                NM     35534320825
5149676454B28B   JESSICA          THOMPSON                 NE     90012817645
5149691274B588   VIRGIL           GRAMLEY                  OK     90013919127
51496A11872B77   GERARDO          ENRIQUEZ                 CO     33061220118
5149769365758B   LUCY             OCHOA                    NM     35503086936
5149787482B27B   CHRISTOPHER      JACKSON                  DC     90012718748
51497A99751367   CHARLES          MACKEY                   OH     90010010997
514982A5357148   JAIME            MENJIVAR                 VA     90005162053
5149853357B46B   JONG             SIU                      NC     11013725335
514986A585B393   MASON            BOWLES                   OR     44553486058
5149B261A72B36   GABRIEL          ESTRADA                  CO     90013752610
5149B37A15B543   ANTHONY          TORRES                   NM     35035443701
5149B49165B561   BERNADETTE       GARCIA                   NM     35094524916
5149B819957157   MARBI            ALVAREZ                  VA     90013768199
5149B826572B27   SELLENA          NICHOLS                  CO     90014158265
5149B86845715B   ELISEO           ROMERO                   VA     90015108684
5149B913361975   JESSICA          MENDOZA                  CA     90011439133
5149B995491576   ROSE             NUNEZ                    TX     90011669954
514B112122B27B   ANDREA           INMAN                    DC     81097171212
514B1549671964   ERICKA           JARMON                   CO     90000545496
514B156694B588   FILIBERTO        RAMIREZ                  OK     90014155669
514B198355B393   JOHNNY           CLAUSEN                  OR     44559589835
514B1991572B36   JAMES            HENSLEY                  CO     90012339915
514B2513972B27   ADRIENE          DANIELS                  CO     33009995139
514B264767242B   JAMEY            HENRY                    PA     51006426476
514B2739872B77   EDDIE            DIAZ                     CO     90004997398
514B276297B46B   LASEE            SISOUKRATH               NC     90010887629
514B2799584373   CATHY            GETMAN                   SC     19056627995
514B2A2974B588   KRISTI           RHODES                   OK     90014770297
514B351545715B   STEPHANIE        BONILLA                  VA     90011975154
514B361355B531   NOE              VENEGAS                  NM     35076666135
514B441595B387   NGUYE            KALADOKUBO               OR     44540594159
514B4624972B43   BERNADETTE       REAM                     CO     33066396249
514B46A258B169   ANDREW           GALLEGOS                 UT     90009116025
514B4948798B2B   ROGER            MAKABI                   NC     90005969487
514B51A6472B49   YAMILET          MEJIA                    CO     33003231064
514B5568872B27   MARIA            COLL                     CO     90012975688
514B5672A51348   RICK             POPE                     OH     90002156720
514B569382B27B   ANDUALEM         YEMRU                    DC     90015126938
514B5A2995758B   NAVID            MITCHELL                 NM     90015030299
514B619AA5715B   KATY             MARTINEZ                 VA     90015021900
514B6423472B49   TERREN           BRANDT                   CO     33001744234
514B655115715B   ANGELA           TWYMAN                   VA     81095925511
514B683A761975   FRANCISCO        AVILEZ                   CA     90011188307
514B6A9718B145   NORRIS           SMITH                    UT     31098630971
514B7171485862   JENILEE MARIEL   AVILES                   CA     90012921714
514B7663357157   YANIRA           LINARES                  VA     90011856633
514B8167161975   THEOPHILOS       ALABARTA-WADE            CA     90013641671
514B81A885B387   DENICE           KELLER                   OR     90012121088
514B825994B28B   DAVE             GREEN                    NE     90004302599
514B829424B588   LATOIYA          JORDAN                   OK     90014002942
514B8658557157   CRYSTAL          WRIGHT                   VA     90014726585
514B899248B169   BEN              JOHNSON                  UT     31058269924
514B9227785862   EDGARDO          SANTANA                  CA     90014062277
514B9259172B49   BONNIE           SHAW                     CO     33001152591
514B9373131428   MONICA           ROBINSON                 MO     27538743731
514B956797242B   JACK             THOMAS                   PA     90013825679
514B958544B52B   MARSHA           SIMMONS                  OK     90007725854
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514B9679A61975   MARLENE      LOPEZ                        CA     46032696790
514BB49358B169   JODY         GREENHALGH                   UT     90011854935
514BB942191893   FRANCISCO    HERNANDEZ                    OK     90006209421
514BB94382B27B   LATARSHA     KELLY                        DC     90010389438
5151126125B387   RICHARD      PEREZ                        OR     44583502612
5151185A233696   JORDAN       GARNER                       NC     90015008502
5151217675758B   LUCILA       RUBIO- RODRIGUEZ             NM     90013511767
51512894472B77   ALENA        BAILEY                       CO     90000588944
51513A9315715B   ABEL         DIAS                         VA     90009150931
5151445325B399   CORI         MATHERS                      OR     90013964532
51514485257B75   BLAIR        WEBER                        PA     90014194852
5151494867B46B   TONYA        HUGGINS                      NC     11011499486
5151521548B169   TANIA        RODRIGUEZ                    UT     31047472154
5151534984B588   HOLLY        JONES                        OK     21560553498
5151622927B46B   DARRYL       SUGGS                        NC     90012342292
5151788A891576   MARTIN       VERDUZCO                     NM     90015018808
51517993572B35   LILAH        FREELON                      CO     90009929935
51518784472B49   IVAN         RODRIGUEZ                    CO     90009667844
5151917A18B169   JEFFREY      CAVALLI                      UT     90014831701
5151B37215715B   RONALD       GAJARDO                      VA     90013403721
5151B83434B28B   CASEY        WAECHTER                     NE     90005688343
515211A2272B77   PATRICIA     BALDIVIEZ PEREA              CO     90004431022
5152122A131428   SHEREE       LEWIS                        MO     27589102201
5152154934B29B   CHANH        SISAVANH                     NE     27089185493
5152182A691856   CANDACE      VALENTINE-JONES              OK     90014778206
515224A684B28B   MARTIN       SCHWEITZER                   NE     90009904068
51522869772B36   TERESA       AUSTIN                       CO     90001958697
51523193197B77   MICHAEL      PEERMAN                      CO     39017421931
5152345695B531   JOSE         SAENZ                        NM     90014454569
5152435A472B36   NEVA         SMITH                        CO     90007873504
5152514317242B   LISA         SANDS                        PA     90003851431
5152631A433696   SHANNON      FRALIN                       NC     12048033104
5152633895715B   LOPEZ        MARI                         VA     90003333389
5152653585B543   DAVID        SPALDING                     NM     35045885358
5152658824B588   WILLIAM      SCOTT                        OK     90013655882
51526765A61975   JANINE       BRINKLEY                     CA     46093007650
5152735A585862   ROSEANNA     NECOCHEA                     CA     90012803505
51527398572B43   JULIA        BERG                         CO     90009973985
515273AA15B393   RICARDO      ALONSO                       OR     44570023001
51527459972B36   JAYNA        HANCOCK                      CO     90013404599
51527518972B27   CHASTITY     SAIZ                         CO     90015025189
5152754995B531   DEHART       TRAVIS                       NM     35011415499
51527A28572B49   JOAN         MANSFIELD                    CO     90014830285
51527AA5384373   REINA        ARGUETA                      SC     19042140053
51528A5355715B   JOSE         DELCID                       VA     90015040535
51528A5657B46B   MARLON       ROLIN                        NC     90011150565
5152942924B588   ANDREW       RAINS                        OK     90013134292
515296A8A72B88   HASSLER      CRAIG                        CO     33017126080
5152996723B387   ALONSO       OCHOA                        CO     90015039672
5152B277685862   THOMELL      SMITH                        CA     90015042776
5152B432172B27   SALVADOR     CASTRO                       CO     33029254321
5152B624A72B67   WEBER        MILISSA                      CO     33028276240
5152B7A5333696   LATASHA      THORNTON                     NC     12051867053
5152B94545B387   STEVEN       SCHMITT                      OR     90013659454
5153164158B169   ROSA L       GUTIERREZ                    UT     90012226415
5153175557242B   DILLEN       BEDICK                       PA     90013187555
51531865197B77   MANUEL       GONZALEZ                     CO     90008648651
51532568A84373   ANGELA       MENJIVAR                     SC     19056675680
51532645A33628   NICOLA       SCOTT                        NC     90015086450
5153267A661971   HENRY        BLACK                        CA     90014496706
5153285334B28B   TONY         GLEASON                      NE     90014348533
5153297915B399   ANTONIO      WILLIAMS                     OR     90006409791
5153375822B27B   ANDRE        ROBINSON                     DC     81024017582
51534A12493782   JOSE         RODRIGEZ                     OH     90002550124
51535214872B67   EDWARD       GARCIA                       CO     90005462148
51535452172B49   TYLER        BECK                         CO     90012464521
5153578575B531   ORLANDO      ARMIJO                       NM     90002197857
5153598A15715B   ENIO         LINARES                      VA     90012819801
51536437172B67   ALEX         GARFIO                       CO     33088724371
51536789A72B77   LEE          VEGA                         CO     33027777890
5153738364B588   JOSH         BROWN                        OK     90006923836
5153739653B387   ADRIANA      ALVARADO                     CO     90006273965
51537A91531429   RONALD       SCOTT                        MO     90005700915
515383A612B27B   KASSAHUN     MENGESHA                     DC     90013053061
5153842114B251   CHER         PRIMUS                       NE     90009364211
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51539925997B77   TARYN        JOKEL                        CO     90004549259
5153B53A233699   MARY         KING                         NC     90011065302
5153B72414B28B   JULIE        SNIDER                       NE     90004867241
5153B76834B588   BARRY        BECK                         OK     90007817683
51541387A91895   DAVID        LEWIS                        OK     21090773870
5154154A272B67   GUILLERMO    ALDAVA                       CO     33033335402
51541A5A74B28B   MELISSA      WHITE                        NE     26091050507
5154237717B46B   KEIDY        MARTINEZ                     NC     11088923771
5154247515B543   YOGGY        YOGGY                        NM     90009214751
51542492972B43   EDWARD       HANCOCK                      CO     33091134929
5154259A697B54   AMANDA       BENAVIDEZ                    CO     90012445906
5154267285B531   BLANCA       ESTRADA                      NM     35062216728
5154268525758B   ADRIANNA     PEREZ                        NM     90014876852
5154316154B521   ROXANNE      PENA                         OK     90001841615
515431A4251348   MICHAEL      PARSONS                      OH     90013281042
5154328975758B   ERICA        WHITESIDE                    NM     35513782897
515436A1672B67   EROKA        THURMAN                      CO     90003096016
5154377257B491   RENE         HERNANDEZ                    NC     90010097725
5154417A184373   NYCKI        HAGAN                        SC     19041241701
5154424822B27B   MARQUIS      ALLEN                        DC     90011182482
51544796772B36   DOMINIC      LUCERO                       CO     90011597967
515448A9A33B26   AMANDA       HANSON                       OH     90010558090
51544A86161971   AIDEE        LOPEZ GARCIA                 CA     46045440861
5154527712B245   JONAS        WILLIAMS                     DC     81017242771
5154544A78B169   LISA         ESCOVEDO                     UT     90013764407
5154569928B169   LISA         ESCOVEDO                     UT     90009536992
515456A874B588   SELINA       TOFPI                        OK     90013656087
51545A78157157   NOEMI        MEJIN                        VA     90012450781
5154612985758B   OSCAR        GALVAN                       NM     90010621298
51546311272B49   MARCELA      PEREZ                        CO     33015873112
5154717A184373   NYCKI        HAGAN                        SC     19041241701
5154768212B27B   DONNELL      PRICE                        DC     90014856821
51547AA425758B   REGINA       MCDANIEL                     NM     90013380042
51548631A84373   ELMORE       GREEN                        SC     90012936310
5154867514B588   IKEVA        LOWMAN                       OK     90013546751
51548851372B67   DELAROSA     LAURA                        CO     33066388513
515489A425B387   ANGELA       ALBECK                       OR     90007849042
5154942127B461   ELMER        MARTINEZ                     NC     90009904212
5154958855B393   SHELLY       TRIPLET                      OR     90004825885
51549A61472B49   LEONEL       NABARRO                      CO     90014850614
51549AA717242B   ANTHONY      RAMOS                        PA     90010990071
5154B563972B43   ARACELY      SILVA                        CO     90012175639
5154B65654B28B   DAVID        MURPHY                       NE     90014636565
5154B672672B49   ROSLYN       DEHERRERA                    CO     90006556726
5154BA74461975   JUAN         CRUZ                         CA     90013350744
5154BA97233696   FLETA        STARNES                      NC     90012180972
515516A812B272   SHARON       MOZO                         DC     90009266081
51551712372B27   BLAKE        BROWN                        CO     90013027123
5155181964B588   ARIEL        PIERCE                       OK     90011408196
515523A4184373   PHILLIP      WILLIAMS                     SC     90013523041
51552A3AA31429   VICTOR       EDWARDS                      MO     90005380300
5155351925B387   PATRICIA     GREEN                        OR     44592015192
51553785A72B43   MARTHA       PEREA                        CO     33049557850
515542A2A72B36   ASHLEE       BARRELLA                     CO     33062872020
51554691672B67   MAYARI       ESCOBAR                      CO     90007316916
51554718272B27   WAYNE        MUNOZ                        CO     90015107182
51554971A84357   SIOBHON      R-SMITH                      SC     14522519710
5155534587B46B   DESEANTE     THOMPSON                     NC     11073733458
51555388297B77   JACOB        LEBSOCK                      CO     90009303882
51555526372B43   MARISELA     BELTRAN                      CO     90012845263
5155554A333699   TAMICA       WOODS                        NC     90015245403
515555A245715B   JUAN         SALAZAR                      VA     90013175024
5155567575B247   MARY         BROWNING                     KY     90006766757
51555A5795B387   CHRISTIAN    EWING                        OR     90012760579
51555AA192B225   ANTHONY      SQUIRE                       DC     90003870019
51556239772B49   SETH         RICH                         CO     90013682397
5155628617242B   TRACY        CAMPBELL                     PA     51040642861
515566A6197B77   JESUS        ACEVES                       CO     39046286061
51556897672B36   JACOB        MEISSNER                     CO     33030928976
5155747874B588   MILAGRO      ARRIAZA                      OK     21594144787
5155785545758B   ROSEMARY     LUCERO                       NM     90014868554
51557A1625B393   TALON        HIIBSCHMAN                   OR     90010650162
51558214872B67   EDWARD       GARCIA                       CO     90005462148
5155833274B588   EDUARDO      VALDEZ                       OK     90013243327
5155932AA84357   JEROME       ROBINSON                     SC     90010733200
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5155976955758B   DULCE         BUENROSTRO-MENDOZA          NM     90013227695
515597A855B531   PAYGO         IVR ACTIVATION              NM     90010917085
5155997324B28B   ARIANNA       MOLZEN                      NE     90004289732
5155B15168B199   RYAN          MCLELLAND                   UT     31024321516
5155B16325B283   DONALD        WATKIN                      KY     90007111632
5155B284657157   YASIR         KHALIL                      VA     90001352846
5155B86A191895   CRYSTAL       FARLEY                      OK     21038428601
5155BA5844B28B   MELISSA       DENNEY                      NE     90013850584
5156166947242B   DANIELLE      FALCON                      PA     90013696694
5156176367B467   TAMEEKA       JIMENEZ                     NC     90007467636
51562173472B43   JOSE          LOPEZ                       CO     90009431734
5156255385758B   PEDRO         HERRERA                     NM     90004405538
51562631472B27   MICHAEL       AKERS                       CO     33008656314
51563317A72B36   VICTOR        ROCHA                       CO     33068513170
515638A2A33699   MONICA        SIMMONS                     NC     90011048020
51563A3595B543   ANNETTE       APODACA                     NM     35027460359
5156424815B387   CHERIE        BOWLING                     OR     44538762481
5156575558B169   GHENNIPHUR    LINDFOR                     UT     90010267555
5156597AA61975   KRYSTAL       JONES                       CA     90013009700
5156699715B283   ROSE          BAREIS                      KY     68068979971
51567576772B36   TANNAY        MAESTAS                     CO     90014375767
515684A465B543   ROSE          GUTIERREZ                   NM     90014464046
515686A5631428   SPARKLE       HAUGHTON                    MO     90014016056
5156875558B169   GHENNIPHUR    LINDFOR                     UT     90010267555
5156879A672B49   SHAUN         MONTOYA                     CO     90014947906
5156938855B387   FLORENTIN     SANTIAGO                    OR     44506403885
51569546572B27   JANENE        GARCIA                      CO     90005025465
515697A714B28B   EBONI         ELLIOTT                     NE     26059827071
51569A1357B46B   CARLOS        RICO                        NC     90010010135
5156B112772B67   ROBINSON      RAFAEL                      CO     90004531127
5156B38925B531   NICOLE        RESENDIZ                    NM     90009073892
5156B39875B531   LICHELLE      BEAULIEU                    NM     90014863987
5156B43275B543   THEA          JUDIN                       NM     90015324327
5156B459972B36   JUAN          DIAZ                        CO     90013894599
5156B46897242B   MORGAN        STRAWDERMA                  PA     90015324689
5156BA19772B88   PIPER         LEWAS                       CO     33066010197
5157127A65758B   VANESSA       MARTINEZ                    NM     90007172706
5157139A772B49   JENNIFER      CUSTY                       CO     33074913907
51571A54533699   AMY           MITCHELL                    NC     90014830545
515722AAA8B169   KATIE         MURDOCK                     UT     90012292000
5157277895715B   MARIA         ARGUETA                     VA     81089947789
5157288665758B   ROSEMARY      LEON                        NM     90015178866
5157293565B393   MICHELE       COCHRAN                     OR     90006399356
51573893472B67   ANA           OROCIO                      CO     33062278934
51573A73691267   LATORREAN     CRAWFORD                    GA     90010870736
5157413235B393   GERMAN        SILVA CALDERON              OR     90015101323
51574A39A84357   VICTORIA      JOHNSON                     SC     90013290390
51576869772B43   LOPEZ         ELMA                        CO     33017518697
5157734497B46B   GRISELDA      ALVAREZ                     NC     11010213449
5157734975758B   MARIA         MARTINEZ                    NM     35517963497
5157743A131429   DEBORAH       SABOURIN                    MO     90005704301
51577A41A84373   CHRISTOPHER   BAYNE                       SC     90015120410
515782A865B387   JOESEPH       PATRAW                      OR     90006432086
51578436176B4B   JOEL          LOPEZ                       CA     90011354361
51578471372B88   DUBIOUS       DEBOER                      CO     90003214713
515784A9485928   BOSS          MAN                         KY     90011484094
51578865372B77   JOHN          VALDEZ                      CO     33011758653
5157888868B169   SHAWN         MAYNARD                     UT     31062608886
51578A8574B521   BLANCA        CONTRERAS                   OK     90005510857
515791A268B169   RICHARD       KALM                        UT     90006901026
515792A114B588   NICOLE        MATHIS                      OK     21554282011
5157942985B543   ROSARIO       ESCOBEDO                    NM     35077784298
5157968A761975   VICTOR        MORENO                      CA     46033036807
5157B1AA872B27   OMAR          JAQUEZ                      CO     33009031008
5157B35158B169   LINDZIE       ANDERSON                    UT     90012633515
5158165768B169   AMBER         SOULEN                      UT     90015356576
515816A1161971   JUSTIN        UPTON                       CA     90012066011
515818A215B387   CITLALI       PALACIOS                    OR     90007128021
5158312A95758B   PEDRO         BELTRAN                     NM     90013451209
51583772A61971   ANTHONY       SIBLEY                      CA     90013177720
5158382345B393   JOYCE         SEAMSTER                    OR     90015138234
515848AA872B43   VILMA         GUZMAN                      CO     90011088008
515852A7961975   LUIS          CERVANTES                   CA     46008322079
5158556AA8B169   CHRISTINE     JONES                       UT     31087585600
51585571572B67   MARISSA       ESPINOSA                    CO     33085265715
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51585653A7242B   MELISSA          BUSH                     PA     51029046530
51585A18872B43   CAROLYN          PROSSER                  CO     90004450188
5158637224B28B   JOHN             FAIR                     NE     90011953722
5158796317242B   NATHAN           MCFADDEN                 PA     90013029631
5158796AA72B43   LAURA            ESPARZA                  CO     33014319600
51587A2375758B   YESENIA          CHAVEZ                   NM     35501900237
515881A465754B   MARIA            CARDENAS                 NM     90010181046
5158955965758B   JOVAN            RODRIGUEZ                NM     90009875596
515895A755B531   APRIL            RHODES                   NM     35060565075
5158988923B399   MARIO            ARROYO SOLIS             CO     33041068892
5158B881661973   GLORIA SANCHEZ   BERNAL                   CA     90010378816
5159122215758B   SHERRY           ROMERO                   NM     90010622221
51591269A84373   STEVEN           EVERETT                  SC     90013152690
5159157515715B   AMILCAR          RIVAS                    VA     81019025751
51591645A72B27   DAVID            HERNANDEZ                CO     90010636450
5159198288B169   KEVIN            BLAKELEY                 UT     90015069828
51592A5844B28B   MELISSA          DENNEY                   NE     90013850584
51593664472B67   SANDRA           DEHERRERA                CO     33078646644
51594989372B36   JESUS            DOMINGUEZ                CO     90009389893
51595223872B36   JAIRO            CARRILLO                 CO     33094872238
51595464972B93   ANDRE            ADAMS                    CO     90008624649
5159546A272B49   TRANGO           ELIZABETH                CO     90007604602
5159557515715B   AMILCAR          RIVAS                    VA     81019025751
51595844197B77   JOHN             LEIKER                   CO     90002748441
515958A2297B68   MARIA            ORDAZ                    CO     90013558022
515961A6272B77   JOSHUA           MARTINEZ                 CO     90010731062
5159669655B393   RAYSHAWN         LEWIS                    OR     44564426965
5159683524B28B   JOEL             BUSH                     NE     90014898352
51597369372B27   ANGELA           DELORME                  CO     90013383693
5159781268B169   JANETH           CALDERON                 UT     90014108126
5159783524B28B   JOEL             BUSH                     NE     90014898352
51598173772B36   OSIE             WEST                     CO     33068271737
5159922A485862   ZENAYDA          BASULTO                  CA     46025292204
51599A28A61975   ANTHONY          MORENO                   CA     90007260280
5159B24355758B   CRYSTAL          BANEGAS                  NM     90011002435
5159B43365134B   FRANKIE          SPARKS                   OH     90014164336
5159B49A357157   PRECIOUS         MABUNU                   VA     90010304903
5159B585A5B399   ELISHA           MITCHELL                 OR     44576455850
5159B74625B523   KELLIE           WADE                     NM     90008197462
5159B85AA85862   AIOTEST1         DONOTTOUCH               CA     90015128500
5159B96585B393   SALVADOR         SANTOS                   OR     90014699658
515B1213A33699   MARCELLA         CLARK                    NC     12038362130
515B124A78B169   JOHNNIE          COLE                     UT     31096512407
515B188475715B   CINDY            GUZMAN                   VA     90009688847
515B2181361973   HATSUKO          HOSS                     CA     90013631813
515B2512658528   SHANITHA         AMONS                    NY     90014065126
515B273875758B   DAWNDARIE        LOPEZ                    NM     90014487387
515B282888B169   HAYDEN           BENNETT                  UT     90012168288
515B345815B531   ERIC             GARCIA-RODRIGUEZ         NM     90010354581
515B3489251329   SHANNON          ABNEY                    OH     90012694892
515B3686172B49   MARTHA           BRINLOW                  CO     33081936861
515B3778A33696   MARLENE          WILLIAMSON               NC     90008817780
515B386728B191   JUAN             LLANTADA                 UT     31082468672
515B3948361973   MASON            GARCIA                   CA     90013799483
515B4A1817B46B   ZOILA            FERRAL                   NC     90013190181
515B5115261971   BASHAR           QANBAR                   CA     90009601152
515B531545715B   ANTONIO          CASTILLO                 VA     90001043154
515B5645661975   MEGAN            BLANCARTE                CA     90008946456
515B5932772B36   ERNESTO          GAMA                     CO     33095589327
515B5A3555B387   MARSHALL         JOHNSON                  OR     90011460355
515B6854561975   AIOTEST1         DONOTTOUCH               CA     90015128545
515B696617242B   CINDY            CONWAY                   PA     51038419661
515B73A897B46B   SHAQUOYA         GRIER                    NC     90002383089
515B7726891534   ANDRES           DOMINGUEZ                TX     90009867268
515B814885B393   LYMAN            NATION                   OR     90008071488
515B838735B531   MARIA            MARTINEZ                 NM     35090773873
515B852A951348   VICKI            CONLEY                   OH     90010365209
515B8811384357   CYNTHIA          RHOADES                  SC     90006258113
515B885685B399   DON              VANN                     OR     44557448568
515B888514B588   ROSE             YOUNG                    OK     90010678851
515B9114557122   JOSE             FRANCO                   VA     90011401145
515B9135861975   DEYNA            VILLAR                   CA     90008531358
515B933644B251   BETH             BELL                     NE     90005513364
515B9424357563   BURGUNDY         CAMPOS                   NM     90012344243
515B945124B29B   CORRINE          AULT                     IA     27017294512
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515B9556933699   ANAS           JOHNSON                    NC     90009255569
515B958A284357   COLLEEN        LIGHTFOOT                  SC     90012685802
515B9634861973   AIOTEST1       DONOTTOUCH                 CA     90015116348
515B9AA532B27B   ALTAYE         WONDIM                     DC     90014560053
515BB431554B84   BRUCE          GETTY                      VA     90013934315
516118A7961971   EVA            LOPEZ                      CA     90014448079
516123A1272B88   DONACIANO      LEON                       CO     33090183012
5161252A897B54   CHUCK          OROSCO                     CO     39080045208
5161274447B46B   AMUN           BEY                        NC     90000307444
51612AA374B588   RICHARD        HOLMES                     OK     21535140037
5161328915B393   KIM            MOORE                      OR     44511622891
5161381624B588   JOHN           MALOY                      OK     21553688162
51614117772B67   MEGAN          HUNT                       CO     33082211177
51615A68A98B2B   DAVIS          R LATEISHA                 NC     11076970680
51617458198B2B   NIKKI          DVIS                       NC     11093054581
51617577A72B36   CARLA          LIMON                      CO     33042645770
51617AA374B588   RICHARD        HOLMES                     OK     21535140037
5161853135715B   ABDULKADIR     ABIKAR                     VA     81039885313
51618681272B27   JULIA          KEITA                      CO     90010586812
5161869A531429   DANIEL         MILLER                     MO     90005706905
51619A7925B523   JEFFREY        GRAY                       NM     90002160792
5161B145533699   SHAVONNE       STODDARD                   NC     12032041455
5161B52335B393   DESTENY        BELLER                     OR     90014215233
5161B635472B36   SHERRY         TRUJILLLO                  CO     90009326354
5161B65964B588   SABY           RUBIO                      OK     90010516596
5161B819572B67   SAMUELITA      GOODE                      CO     33057048195
51621414572B77   RENI           SOTO                       CO     33048164145
51621A57A5B393   DALE           HANSON                     OR     90014140570
51621AAA672B36   MONE           ANDERSON                   CO     90014830006
5162218A185862   RICHIE         CVELLAR                    CA     90014891801
516223A477B46B   TOVA           FORD                       NC     90011003047
5162286755758B   GABRIEL        URDIALEZ                   NM     35501918675
5162292145B393   OSMAR          ESCOBAR                    OR     44579449214
5162378785B399   JIM            WALSH                      OR     44553797878
51623AA415B37B   NANCY          WELLMAN                    OR     90001080041
5162444A872B88   JENNIFER       FLYN                       CO     90001414408
51624952572B27   JOSH           WISHAR                     CO     90012799525
51625A79857127   TIMOTHY        DADZCE                     VA     90010840798
5162611487242B   JESSICA        MAY                        PA     51072211148
5162658A172B49   CHRISTY        SHINBARA                   CO     33008995801
51627497A77522   THOMAS         JAMES                      NV     90008804970
5162811522B27B   ANTHONY        TODD                       DC     90012061152
5162842A461971   ANDRES         FLORES                     CA     90012884204
5162861A74B525   CINDY          JOHNSON                    OK     90008146107
5162951194B521   TAUSHA         ROBINSON                   OK     21547015119
5162995265B387   DAVID          BUTLER                     OR     90014779526
51629A26585862   MATTHEW        HARBOR                     CA     90014850265
5162B21925B531   MARIANITA      SALAIS                     NM     35008452192
5162B25325758B   CRISTINA       GAMBOA                     NM     90011062532
5162B878961973   RICARDO        OVIEDO                     CA     46029188789
5163127285B393   NICHOLAS       BLASSINGAME                OR     90008072728
5163136265715B   SANDRA         ALVAREZ                    VA     90008163626
5163157A272B77   ERIK           TRUJILLO                   CO     33048165702
5163187955758B   ANTONIO        HERNANDEZ                  NM     35516488795
5163232A672B43   PAULA          PIGFORD                    CO     33008793206
51632529497B41   NOEL           GUERRERO                   CO     90014865294
5163267355715B   ROLANDO        MENESES                    VA     81040226735
51632736A33699   EVERETT        WILLIAMS                   NC     90014647360
516334A6A5B531   VICTOR         SOTO                       NM     90012094060
516338A245758B   MELENIE        HORCASITAS                 NM     35564288024
51633A38A61936   JESUS MANUEL   MEZA-ALVAREZ               CA     90011080380
51633A4795758B   DANIEL         TRUJILLO                   NM     90013890479
5163427645B531   PAYGO          IVR ACTIVATION             NM     90014062764
5163491245B399   MARLEN         LEMONS                     OR     44562389124
51635436A98B2B   MICHAEL        BONILLA                    NC     11068274360
51635963A72B43   LUCIANO        LOPEZ                      CO     33006669630
5163614865758B   TEDDEY         PROVENCIO                  NM     90013451486
5163674A17242B   ARLENE         OVERLY                     PA     51052367401
5163728A772B36   JOSE           GUZMAN                     CO     33082542807
5163729515758B   TANYA          TAFOYA                     NM     35508642951
5163757A67B46B   SHEREE         SIMPSON                    NC     90011465706
51637A12872B27   EMMANUEL       ZAPATA-PALACIOS            CO     90014520128
51638382A5B399   JUAN MANUEL    CETINA-POOL                OR     90010613820
5163854732B27B   LYNETTE        GARETT                     DC     90007755473
51638875A85862   AMERICA        AGUILAR                    CA     90011708750
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51638A98372B27   ROBERT       HALL                         CO     33007870983
5163931A15B531   DANIEL       SAMPSON                      NM     35083933101
5163938A672B43   PAUL         SMITH                        CO     90009683806
51639452A61973   RAFAEL       FERNANDEZ                    CA     90014164520
51639594272B67   ANDRE        LOPES DOS SANTOS             CO     90002075942
5163B61968B169   CARINA       ZENTENO                      UT     90014816196
5163B845797B54   SAMANTHA     CLARK                        CO     90003688457
5163B998872B43   SHAWNA       GARCIA                       CO     90007329988
5163BA3A272B36   PATRICE      VONHOLDT EVELYN              CO     33081390302
5164146195B393   JEANNE       BAILEY                       OR     44507414619
51641533672B43   KISHA        MCFARLAND                    CO     33095175336
5164166A65758B   JENNIFER     SHINERS                      NM     90010366606
5164192535B387   JAMEELIA     ROBINSON                     OR     44543149253
5164227A872B67   JOSE         RUBIO-ORTEGA                 CO     33087212708
5164288925715B   ROSA         ARIAS                        VA     90012888892
516429A5572B77   SANDRA       RASCON                       CO     33022269055
51643239A8587B   JAMES        NAVE                         CA     90002822390
5164373954B28B   ORVIN        ROSE                         NE     90013447395
516446A295B387   CODY         HARRIS                       OR     90014426029
516448A4A84373   ANN          MARLOWE                      SC     90009538040
51644A63691922   ELDER        GOMEZ                        NC     90012940636
5164527285B393   NICHOLAS     BLASSINGAME                  OR     90008072728
51645369672B43   ROBERT       SCATTERGOOD                  CO     33083873696
5164573797242B   GINO         MARTIN                       PA     90001617379
5164595A761971   DAVIS        DIANA                        CA     90012369507
51645A7345758B   JAIME        MEJIA                        NM     90014650734
51646A7664B588   BENITO       SILVESTRE                    OK     90012890766
5164725595B393   KENDRA       JOHNNY                       OR     90013582559
5164763255B543   MANUEL       DOMINGUEZ                    NM     35032426325
5164766914B28B   MARY         SLECHTA                      NE     90014636691
51648213372B43   NICK         MYERS                        CO     33008822133
51648849272B36   JAMES        EVANS                        CO     33031658492
516489A354B562   BARBARA      DUKE                         OK     90001159035
51648A1715758B   BRITTNAY     HERNANDEZ                    NM     90013650171
51648AA184B28B   ANGEL        PEON                         NE     90010800018
51649375A5B387   RACHELLE     ZUPAN                        OR     90013133750
5164B818872B88   APOLINAR     ISLAS                        CO     33096238188
5164B95845B531   VALERIE      APODACA                      NM     35037279584
5164B961391895   JOSH         WILLIS                       OK     21086119613
5165112623B399   LAUNA        RENSHAW                      CO     90013221262
5165135647B46B   MIGUEL       CELI                         NC     90013743564
5165186615B387   JEWELL       STEVENS                      OR     90015088661
51651896772B67   GRACIELA     BAILON                       CO     33071368967
5165287175758B   CRYSTAL      GARCIA                       NM     90009238717
5165297935715B   CARLOS       AMPUERO                      VA     90000219793
51652A1175758B   CRYSTAL      GARCIA                       NM     90013710117
5165351A672B36   STEPHEN      STAUFFER                     CO     33017695106
51654485672B49   AMY          VANMETER                     CO     33008114856
51654859A85862   URIEL        AVARRO                       CA     90007228590
5165521938B169   JACOB        MCDONALD                     UT     90012872193
51655319A84373   BRENNA       WOODS                        SC     90011653190
5165614325715B   BLANCA       MORALES                      VA     90011911432
51656224A71964   JEDIDIAH     EASTERLING                   CO     32005882240
5165627685B387   CEDRIC       OLLISON                      OR     90013072768
5165668115B543   SOLIS        MONICA                       NM     90005846811
51656A9A433696   GARY         PETERSON                     NC     90013910904
5165711A991895   DONNA        HAYWOOD                      OK     21054801109
5165774717B46B   GABRIEL      RIVERA                       NC     90009347471
5165788A457157   FELICIA      TWAM                         VA     90010098804
5165793425758B   MONA         VALENZUELA                   NM     90012439342
51657978872B36   RICARDO      LERMA                        CO     33020259788
51657AA9684357   LATOYA       SMALLS                       SC     90013060096
5165816834B28B   AMY          RICKE                        NE     90014271683
51658368872B27   MELODY       AGUIRRE                      CO     90011493688
5165872185715B   YANIRA       GUZMAN                       VA     81055737218
5165934375B393   AMBER        SMITH                        OR     90014673437
51659524472B43   TERESA       BAKER                        CO     33007825244
51659561372B67   FLORA        GONSALEZ                     CO     33048495613
5165961544B588   BRANDON      WAGNER                       OK     90013926154
5165982428B169   ALEXIS       MANSFIELD                    UT     90015168242
51659891A7B46B   KENNETH      REID                         NC     11076748910
5165B65165B531   CINTYA       VENZOR                       NM     90007646516
5165B777A51348   TINA         JONES                        OH     90004587770
5166123125B393   RATEASHA     GAITHER                      OR     44523352312
5166154775758B   MARIA        TELLEZ                       NM     35588985477
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5166186A398B2B   ROBERT       WYATT                        NC     11057648603
51661875A85862   AMERICA      AGUILAR                      CA     90011708750
516623A3385862   ROGER        KOHLBECK                     CA     90012203033
5166289175B531   DESIREE      BENAVIDEZ                    NM     35073298917
5166294257B46B   RENETTA      CLARK                        NC     11084789425
51663381172B77   ANGELES      MORALES                      CO     33048173811
5166394A24B588   KIMBERLY     THOMAS                       OK     90010519402
5166396978B169   LONDON       PORTER                       UT     90013129697
5166399115B393   KATHLEEN     LE CLAIR                     OR     44509129911
516641A4497B4B   SANDY        RAMEY                        CO     90012071044
51664498A7B46B   ANDY         SANTOS                       NC     90014004980
51664628472B49   ROBERT       ROSSETA                      CO     90014406284
5166469A672B36   DANELLE      BORREGO                      CO     90009556906
5166478988B169   DENA         GOSS                         UT     90010267898
51664A96493782   TASHA        LAWERENCE                    OH     90010270964
5166518427B46B   JAMI         LANDIS                       NC     90013741842
5166551915B387   ALLISON      BELSKI-ULVEN                 OR     90012815191
5166577115B393   LES          FLEMING                      OR     44511627711
51665793372B36   PAOLA        TROCHEZ                      CO     90006857933
51665AA825715B   PEDRO        SANCHEZ                      VA     90012890082
51666653672B36   MARIA        BARAJAS                      CO     33046376536
51667288A61971   JUAN         LOPEZ                        CA     46075682880
5166762AA61973   CHRIST       SOTO                         CA     90015126200
51667A3517B46B   TINA         MULLIS                       NC     90014580351
5166839877242B   KIMBERLY     LEAVER                       PA     90000903987
51668A1A25715B   ALLISON      CASTRO                       VA     90012890102
51669AA8261971   LINDA        GUZMAN                       CA     90011150082
5166B15197B46B   EDUARDO      RIVERA                       NC     90011371519
5166B153151348   LAVON        CHARLES                      OH     90011071531
5166B319A84357   DARYL        WILLIAMSON                   SC     90015173190
5166B742972B49   HONORIO      GUERRERO                     CO     90000897429
5166B8A5133699   BERENICE     SALINAS                      NC     90010788051
5166BA68672B43   LAURA        ADDUCCI                      CO     90008410686
5167129158B169   GARY         BARNES                       UT     90001832915
5167135165B393   CHRISTY      BERG                         OR     90014673516
5167155868B169   GARY         BARNES                       UT     90012385586
5167157982B27B   RICKY        WEBB                         DC     81017615798
516715AA372B77   CUTBERTO     JIMENEZ                      CO     33088185003
5167168A45758B   HERNAN       HERNANDEZ                    NM     90010366804
51671A93385928   LINDA L      PARKER                       KY     90010890933
51672229272B49   JERRY        WAYNE                        CO     90009292292
5167243A397B77   GENARO       SALVADOR SANCHEZ             CO     39094534303
51672968372B43   LUIS         MANCILLA                     CO     90013279683
5167326125715B   JAMES        DIGGS                        VA     81005752612
51673613872B49   WILLIAM      DICKINSON                    CO     33030386138
5167396A25B531   ANTHONY      NEAL                         NM     90015189602
5167444498B169   IESHA        ROUNDTREE                    UT     90013964449
5167546A185862   GILBERT      MARCIAL MENDOZA              CA     46098504601
5167568198163B   JACKIE       MCINTOSH                     MO     90008566819
5167596585B393   SALVADOR     SANTOS                       OR     90014699658
5167655925715B   CLAUDIO      RAMOS                        VA     90013025592
51676955272B27   JOSE         CRUZ                         CO     33054389552
51676A8334B28B   BRELL        MOUYEKE                      NE     90013930833
5167726835B387   SARA         TINDELL                      OR     90005992683
5167729197B46B   QUINTON      BREWER                       NC     90015012919
5167771722B27B   DELORES      RIGGS                        DC     90008097172
5167778465758B   RAYMUNDO     ESPANA                       NM     90012987846
5167818917B46B   HUGO         SANCHEZ                      NC     90004921891
5167836725599B   YADELIN      ZAPATA VELASQUEZ             CA     90014703672
51678672272B49   WILIAM       PEREZ                        CO     90012156722
5167891495B393   JUAN         MORENO                       OR     44534039149
51678A9534B29B   JENNIFER     HUMPHREY                     NE     27004360953
51679175972B36   AIDA         GUTIERREZ                    CO     33052821759
51679375172B77   LETICIA      BAHENA                       CO     33037853751
51679AA5372B43   TONI LEE     DIETIKER                     CO     90014600053
5167B55845B393   LINSIE       DINGMAN                      OR     90014205584
5167B772961971   LEILANI      SANDLER                      CA     46051767729
5167B83A451348   JINEAN       ENGLEMAN                     OH     66078628304
5167B98175715B   MARTEY       DODOO                        VA     81078659817
51681581A72B36   MARISOL      OROZCO                       CO     33028215810
51681A4365B531   VERONICA     SIMENTAL                     NM     35004080436
51681A52261971   MARSHALL     HAMMOND                      CA     46001240522
51682888172B67   ANGELA       MURILLO                      CO     33039838881
516829A9A57157   MARY         RATLEY                       VA     90013589090
51682A93961971   SHELLY       SALMON                       CA     46080920939
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5168382A757123   MIGUEL          FERRFINO                  VA     81026418207
5168396222B27B   WILLONDA        LANE                      DC     90007909622
516842A214B588   TAMMY           HORNE                     OK     90014562021
51684817172B27   HERNANDEZ       REYES                     CO     33055158171
5168528415758B   JESUS           GARCIA                    NM     35595702841
5168534395715B   DEBRA           JACKSON                   VA     90007973439
5168571287B46B   MANDRELL        WHITE                     NC     90001357128
51686369272B88   LAURA           BALLESTEROS               CO     33057543692
51687254972B77   SABRINA         ROBLES                    CO     33015412549
516874AA161975   DIANA           KAY                       CA     90014834001
5168764215B399   HERMELINDA      MANCERA                   OR     44587406421
5168765984B588   MEGHAN          BRYCE                     OK     90012166598
51687A9895B531   MARTINA         BACA                      NM     90006120989
51688987A72B43   SAVANNA         SILLIMAN                  CO     90014829870
51688A47861973   LORENA          VASQUEZ                   CA     90012500478
5168926352B27B   VIRLETIA        HOLLAND                   DC     90004222635
516894AA15715B   CHUCK           WILLIMAN                  VA     90007734001
5168B252597B3B   ELI             RAWLINGS                  CO     90010582525
5168B6A3881698   REAGAN          BYERS                     MO     90013026038
5168BA2A733699   CRAIG           COAD                      NC     90011210207
516914A348B169   WILLIAM         AVIS                      UT     90010284034
5169154182B27B   PATRICIA        BROWN                     DC     90011595418
51691722772B49   BRIAN           CLARK                     CO     90004957227
5169197695B393   MAHABUB         MAHAMED                   OR     90014699769
5169243645B387   DESIREE         DUJORDAN                  OR     44542384364
51692823A7242B   GUY             CEKALA                    PA     90000318230
516931A1191895   FELICIA         SNYDER                    OK     90014371011
5169346797242B   MELISSA         MOORE                     PA     51082834679
5169353928B169   VANESSA         CARRANZA                  UT     90012465392
51693669672B49   RAFAEL          LUNA                      CO     90013426696
51693952572B27   JOSH            WISHAR                    CO     90012799525
51694572197B77   KIM             AGUILAR-PAULI             CO     39045455721
51694963372B49   MARIA           ESCOBEDO                  CO     33084649633
51694A83472B77   ERNESTINA       VILLASANA-PEREZ           CO     33072720834
5169532295B531   LOUIS           LENTE                     NM     35032643229
5169662245B387   PEGGY           CAMPEN                    OR     90013496224
5169674474B28B   MAX             BLOSS                     NE     90014067447
5169686855715B   DANIEL          SANCHEZ                   VA     81019758685
5169764565B531   LIZZETH         GUTIERREZ                 NM     35038036456
516981A8172B88   ROBERTO         JARAMILLO                 CO     33060661081
5169829325B285   MAURICE         HEARD                     KY     90013292932
51698A92972B36   GLORIA          MATURIN                   CO     90014810929
51698AA785758B   CHRINTINA       MUNOZ                     NM     90002420078
51699376372B43   FRANSECA        MARTINEZ                  CO     90011483763
5169985AA85862   AIOTEST1        DONOTTOUCH                CA     90015128500
5169B159172B88   LYNETTE         MARQUARDT                 CO     33059691591
5169B3A125758B   CHRISTOPHER     HARIBSON                  NM     90007653012
5169B451891895   SHAWNTAE        SLOAN                     OK     90010054518
516B112524B588   DEMONTRE        HEARD                     OK     90011391252
516B1271284373   GREGORY         SCOTT                     SC     90012992712
516B146864B588   DEMONTRE        HEARD                     OK     90013194686
516B168965B543   JAMIE           STICKLAND                 NM     35027466896
516B1695957148   SHARNITA        JUGGTNS                   VA     90004436959
516B1A21798B2B   SONIA           NARCIA                    NC     11067040217
516B1A89991895   DANILO          OROZCO                    OK     21011110899
516B219425758B   MANUEL          MURO                      NM     35577771942
516B2653885862   TY              BARNES                    CA     46082876538
516B2779961971   JENNIFER        HARDIN                    CA     46088197799
516B2881172B43   CHRIS           COOPER                    CO     33058408811
516B326852B27B   DELLA           SHAW                      DC     90012832685
516B3511A84373   DAMON           SANDERS                   SC     90014295110
516B3657491895   SARAH           MICCO                     OK     90009666574
516B4471661971   WAAD            HANNA                     CA     90010864716
516B498795B399   CHITRA          KHAR CHUWAN               OR     44501229879
516B5531385862   JESUS ALBERTO   NAVARRO ROSAS             CA     90015175313
516B558747242B   RONALD          DEAK                      PA     51011115874
516B576385715B   WALTER          GONZALEZ                  VA     90004147638
516B5793741291   CHRIS           LUDWIG                    PA     90010117937
516B6242A5B393   MARICELA        NUNO                      OR     44562562420
516B633564B588   MATTHEW         WILSON                    OK     90015133356
516B637A672B36   TALUSHA         SCHULTEN                  CO     90010753706
516B6973972B27   MELVIN          JOHNSON                   CO     90015049739
516B713294B28B   DOMAKNEAK       KRAMER                    NE     90013641329
516B718624B588   JAMMIE          LONG                      OK     90010971862
516B727485758B   GEORGE          GONZALES                  NM     90007262748
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516B7287691576   PRECILA       ALVIDREZ                    TX     90011572876
516B7789691576   RAMON         GUITERREZ                   TX     90010017896
516B7A33261975   MIGUEL        VALDEZ                      CA     46087080332
516B876A285862   VERNON        MAPP                        CA     90013697602
516B889665B531   MARISOL       QUIRANTE                    NM     90011648966
516B8967161971   HOWARD        BRILE                       CA     46008539671
516B8AA9772B27   CLAUDIA       QUIROZ                      CO     90014060097
516B9287433699   CIERRA        ROBERTS                     NC     90007162874
516B97AAA61973   MAGDALENA     CARDONA                     CA     90011427000
516B986355B283   MEGAN         ALDRIDGE                    KY     68084068635
516B9963A72B43   LUCIANO       LOPEZ                       CO     33006669630
516BB446357157   TANYA         WILLIS                      VA     81035504463
516BB449491895   ARONICA       PAYNE                       OK     90014704494
516BB617772B36   MARINDA       BARCLAY                     CO     90013196177
516BB638472B27   LINO          CASILLAS                    CO     33078516384
516BBA92385928   DIANNE        DAYTON                      KY     90011790923
5171112594B588   GLORIA        LOPEZ                       OK     90010521259
5171188265715B   FRANCIS       AGYAPONG                    VA     90011348826
5171199A561973   FRANK         FLORES                      CA     90014649905
51711A87533699   LISA          GOINS                       NC     12078000875
5171211125715B   RUCHEEL       JARADAL                     VA     90003631112
5171249942B869   GARY          NEER                        ID     90014294994
51712694872B27   KRYSTAL       WOOD                        CO     90004086948
51712946598B2B   LENIN         MARTINEZ                    NC     90009409465
5171315195B543   ALEXIS        SANCHEZ                     NM     90007211519
5171318335B531   JESUS         MORALES                     NM     90002741833
5171344525758B   HERMINIA      LLUODERODRIQUEZ             NM     90003344452
517134A7A4B553   TESSKAA       MEADOWS                     OK     90009194070
5171374A361971   LIBRADO       SUAREZ                      CA     90011317403
5171472635B283   BRUCE         FLANNERY                    KY     68016747263
5171511384B28B   JACKI         BETTS                       NE     90011021138
5171532A272B36   DONNA         TAYLOR                      CO     90013913202
51715544497B77   GEORGE        HERONEMA                    CO     39051895444
5171562964B28B   TAMMY         HAMILTON                    NE     90011946296
5171617177B46B   EDWIN         HENRIQUEZ                   NC     90013051717
51717349972B49   ISAIAH        GARCIA                      CO     33060953499
5171781125758B   ZINNIA        GRANILLO                    NM     90005868112
5171828A65B393   SAMANTHA      TETER                       OR     90011992806
5171865A55715B   NOE           TURCIO                      VA     90000586505
51718A46157157   MARILYN       C MORTON                    VA     81011450461
5171988554B588   LAKETHIA      WHITE                       OK     90014548855
51719935A72B49   MARILYN       GRIMMENGA                   CO     90007779350
5171997735758B   YOLANDA       VILLA                       NM     35590229773
5171B65144B588   JERRY         GIVENS                      OK     90003086514
517212A9472B49   SHELLY        TALBOT                      CO     90011892094
51721696672B67   IRASELA       CORDOBA                     CO     90007316966
51721767A61973   EVA           RODRIGUEZ                   CA     90010857670
51721958972B36   LOYA          BRIANNA                     CO     90010039589
5172261A12B862   JOSH          CHAPMAN                     ID     90006016101
5172272832B27B   CYNTHIA       LAKE                        DC     81038137283
51722A4A15758B   JESUS         BRIONES                     NM     90013420401
517233A8633696   ARKISHA       SILER                       NC     90013293086
51723587372B43   JONATHAN      SMITH                       CO     33013885873
517235A2461975   TANYA         RUIZ                        CA     90013115024
5172362495B531   DANIEL        DOMINGUEZ                   NM     90000366249
5172367A35B387   YOLANDA       ARCE                        OR     90000136703
51724A18761975   BRENDA        MENDOZA                     CA     90007340187
5172555227B46B   JENENE        WHITE                       NC     11009655522
5172587A45B399   KATRINA       EVANS                       OR     90011018704
51725A37872B36   SENDER        OCHOA                       CO     90012340378
51725A99A4B588   CHRISTOPHER   BROWN                       OK     90014780990
5172681735758B   JAIME         ESCALANTE                   NM     35527528173
51726826A5B538   FRANCISCO     CORDOVA                     NM     35008928260
5172861545B393   ANGELA        PERRY                       OR     90012906154
517287A2163637   CHRISTOPHER   CHRISTENSEN                 MO     90010937021
5172885A27242B   CARL          GREEN                       PA     90014788502
5172929897B46B   CAROLYN       COX                         NC     11075602989
517294A527242B   BRANDON       JONES                       PA     51090794052
5172964535758B   LIVINGSTON    VICTORIA                    NM     90007106453
5172995A87242B   WILLIAM       NICKLO                      PA     90014649508
5172B113872B36   JONATHON      KIRK                        CO     90013321138
5172B61A872B27   RAMIRO        SOLIS                       CO     90009216108
5172B88825758B   DESERT        BREGER                      NM     35589118882
5173115275758B   MATTHEW       PALACIOS                    NM     90014801527
5173133417242B   LORI          DAVIS                       PA     51048473341
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5173144395715B   KARLA             SALINAS                 VA     90015064439
5173163AA5758B   NOEL              JACQUEZ                 NM     90009056300
517319A8A61975   CHRISTIAN         BABCOCK                 CA     90013059080
5173242114B28B   BRENDA            HOFFMAN                 NE     26028834211
517332A9A4B28B   DAVID             VICTORIA                NE     90013562090
51733976372B36   SALINA            ARCHULETA               CO     90013069763
5173421925715B   WIKLY             JEAN                    VA     81039932192
5173447438B169   KELLEE            REITER                  UT     31061744743
5173458228B837   THOMAS            LOPES                   HI     90013965822
5173488214B28B   WILLIAM           PHILLIPS                NE     90007738821
51735788A5B399   CYNTHIA           SMITH                   OR     90007297880
51735913A5B393   CECE              MAUSETH                 OR     44516969130
51736277172B49   PAMELA K.         DARBY                   CO     33037762771
5173655454B588   FLORICELA         MARQUEZ                 OK     90011885545
5173668212B27B   DONNELL           PRICE                   DC     90014856821
51736829A4B521   FRANSICO          NEGRETE                 OK     90005518290
517369AA661973   TONY              FELIX                   CA     90010989006
5173712288B169   THERESA           WILLIAMS                UT     31003971228
51737AA745B283   WILLIAM           GRUBS                   KY     68055620074
5173867268B169   IVAN              RAMIREZ                 UT     90005106726
5173889275B531   BARBARA           NARANJO                 NM     90005568927
5173922A451348   PAYGO             IVR ACTIVATION          OH     90014112204
51739256544B3B   DYLAN             BRANDT                  OH     90015182565
5173994AA61973   WALTER            RICKS                   CA     90012849400
5173B3AA791895   UNKNOWN           CALLER                  OK     21086523007
5173B55435758B   VASQUEZ           JESSICA                 NM     90004655543
5173B671372B49   SONIA             MARTINEZ                CO     33020516713
5173B724657157   FEKADE            MERETO NIDA             VA     90001517246
5173B84295134B   LINDA             FANTETTI                OH     90008228429
5173BA48172B77   IMELDA            MANTAR                  CO     90005590481
517417A332B574   AUSTIN            WALLER                  AL     90014317033
5174189635B531   CORINA            DONAHOE                 NM     90012388963
5174194148B169   JEFF              WHALEY                  UT     90012119414
5174237375715B   OSCAR RIGOBERTO   REYES CARCAMO           VA     90015053737
51742432A57157   QUINTON           SEEGARS                 VA     81037044320
5174248A17242B   RYAN              LINT                    PA     90012994801
5174263A261975   AIOTEST1          DONOTTOUCH              CA     90015116302
5174422948B169   ANGELA            YOCUM                   UT     90010642294
51744313197B54   MARTHA            RODRIGUEZ               CO     39003043131
517449A7672B43   HERMINIA          IBARRA                  CO     33097319076
51744A1965B399   EVELIA            RAMERO                  OR     44564480196
5174558615715B   LUCIA             BLADES                  VA     90012895861
51745A41572B36   LUISE             GALLARDO                CO     90012340415
5174635965758B   KNAPP             JULIA A                 NM     90007653596
5174728A533699   EMILY             FERGUSON                NC     90009212805
5174735965758B   KNAPP             JULIA A                 NM     90007653596
51748226A51348   LISA              YATES                   OH     66017992260
5174829687B46B   SHANIESHA         CRAIG                   NC     90013662968
51748314372B35   BILLY             AL CROCE                CO     90010093143
5174897A684373   TOMISHA           NELSON                  SC     90014019706
51748A2A885862   WISANEE           WIYABOON                CA     90014550208
5174983855B387   JAMES             WILSON                  OR     44539968385
5174B186661975   STEVEN            PEEVLER                 CA     90014741866
5175112425758B   DALIA             ESPARZA                 NM     90010671242
5175115315B35B   SHARLYN           JACOBS                  OR     90007691531
5175136828B169   CASSANDRA         FORSGREN                UT     31050883682
51751727A72B36   ELIZABETH         GONZALEZ                CO     90012937270
51751827697B77   MANUELA           DELUNA LOPEZ            CO     39085568276
5175191497B46B   MONIQUE           HORRIOTT                NC     90013989149
5175244947242B   KEVIN             BAKER                   PA     51041134494
51753136572B49   VICTOR            CARRERO                 CO     90013051365
5175339534B28B   TEAWNA            STETSON                 NE     90014663953
51753773972B77   LANA              LITTLE                  CO     33045277739
5175377675715B   TAXI              SERVICES L L C          VA     81040577767
51754386172B77   LISA              CORTEZ                  CO     90012613861
51754798172B49   CHRISTINA         HARMON                  CO     33038897981
5175492A94B521   ELIZABETH         TAYLOR                  OK     90005519209
5175522785134B   TIFFAN            STEPHENS                OH     90003582278
5175552615B393   JUAN              MERCADO RIVERA          OR     44539485261
51755644972B27   BRIGID            KELLY                   CO     33059226449
517556A358B169   IRENE             REINA                   UT     90006276035
5175577694B588   YADIRA            GUTIERREZ               OK     90011127769
5175582944B588   OSVALDO           MARTINEZ                OK     90015318294
517558AA685862   DEANNA            SETZER                  CA     90013858006
5175795874B588   BRADY             TEEL                    OK     90013789587
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5175837464B28B   ASHLEY         HEISE                      NE     26029993746
51758467172B36   ERIK           VILLEGAS                   CO     33081584671
5175854775758B   MARIA          TELLEZ                     NM     35588985477
51758676472B43   DENISE         THOMPSON                   CO     90011606764
5175892A55715B   VICTOR         BARAHONA                   VA     90008589205
51759744A61973   MA MAGDALENA   BUSTOS                     CA     90014757440
51759767A5758B   CESAR          TORRES                     NM     35515447670
5175B322384357   KIMBERLYN      BALLARD                    SC     90011093223
5175B65244B588   BRANDON        DIEHL                      OK     90014866524
5175B668151337   BIANNA         WYLY                       OH     66005466681
5175BA7435B543   CASSANDRA      MONTANO                    NM     35057030743
5176155925715B   YAROSLAV       MASLOVSKYY                 VA     81040205592
5176169815B531   RONICA         WELBORN                    NM     35081376981
51761A52272B43   AMANDA         PLACIDO                    CO     90014510522
5176218188B169   CHRISTOPHER    KIMBER                     UT     90014481818
5176227867B46B   JOSE           ORBEGOZO                   NC     11042072786
5176237195758B   MARTINA        YBARRA                     NM     35536603719
5176243A961973   MARIBEL        ROIZ                       CA     46008054309
5176386245758B   SANDY          BAILON                     NM     90013138624
5176431224B588   MELODY         ROBERTSON                  OK     90010523122
51764471172B43   ALVARO         SERVIN-MORALES             CO     33098244711
517649AA457157   JOSE           ANTONIO                    VA     90011949004
5176519895715B   JAY            SMITH                      VA     90012891989
517654AA65758B   ALFREDO        DOMINGUEZ                  NM     90010624006
5176637435B531   PATRICIA       OCHOA                      NM     35086723743
51766711272B49   ALICIA         CASUPANAN                  CO     90007147112
51767513572B43   DEBORAH        TUCKER                     CO     90011165135
51767A76984373   BRITNEY        BROWN                      SC     90004760769
51768232172B49   LINDA          SUTHERLAND                 CO     33082732321
51768594A5715B   JONAC          GUZMAN                     VA     90013025940
5176965A272B27   DORA           MONCAYO                    CO     90012836502
51769936A84373   NETFA          GAILLARD                   SC     90010169360
5176B414885862   SULTAN         ARRAYYES                   CA     90014254148
5176B57975715B   REBECCA        NOLASCO                    VA     90007725797
5176B631461973   NOEMI          CUEVAS                     CA     90012366314
5176B843A97B77   ARMANDO        CHAVIRA                    CO     90006788430
5176BA6A44B588   SANTIAGO       MAYA CARMONA               OK     90003430604
5177112815B393   RANDY          NICHOLS                    OR     90010181281
5177121347B46B   NATASHA        YOUNG                      NC     90012272134
5177212675B271   ASHLEY         SEARCEY                    KY     90009531267
5177241755758B   MISTY          ALVAREZ                    NM     90011294175
51772529A5B264   BETH           MCBRIDE                    KY     90009905290
51772996172B88   STEPHANIE      HENSON                     CO     90005739961
5177365985715B   CLAUDIA        SOSA                       VA     90005926598
51773731772B27   FLOR           HERNANDEZ                  CO     90009897317
51773A16158528   BERNICE        BUNTLY                     NY     90007520161
51773A7195758B   JOSE           MARQUEZ                    NM     90013210719
517743A757242B   DEBORAH        KISASONAK                  PA     51082093075
51774A3515758B   JUAN           VILLEGAS                   NM     35589770351
517752A3257148   LATITIA        SCOTT                      VA     90014022032
5177532444B588   LUIS           DELEON                     OK     21560373244
5177553174B28B   JANET          PALMER                     NE     26069795317
517764A464B28B   SULEENA        MALONE                     NE     90000464046
5177663312B27B   QUANETTA       TYLER                      DC     90001346331
5177664627B491   JENNIFER       BRIGHT                     NC     11013596462
5177682365758B   VEDA           BALDERRAMA                 NM     90007678236
51778438998B2B   LAKEISHA       DUNN                       NC     90004654389
5177863A261975   AIOTEST1       DONOTTOUCH                 CA     90015116302
517789A9984373   DEBBIE         MASSARO                    SC     19062369099
5177B39765B387   JEYMY          AGUINIGA                   OR     90003973976
5177B3A3861975   OSCAR          HERNANDEZ                  CA     90003013038
5177B52585B543   NOHEMI         VARELA-PENA                NM     90000335258
5177B55694B28B   NATHAN         CHAPMAN                    NE     90011345569
5177B996172B88   STEPHANIE      HENSON                     CO     90005739961
5178119445758B   MICHELLE       ELIZALDEZ                  NM     90012971944
517812A9985928   LYNN           WHITAMORE                  KY     90008152099
517817A967242B   JULIE          SAVAGE                     PA     90011187096
517818AA997B54   AUDREY         BARELLA                    CO     39073118009
51782476772B27   MELISSA        BROWNING                   CO     90012984767
51782651197B54   JEREMY         CALDERON                   CO     39038746511
517826A474B29B   MARIA          DIAZ                       IA     90014936047
5178348578B169   RYAN           KRAUSE                     UT     90009814857
51783495A72433   ROBIN          ABEL                       PA     90011694950
51784144A4B525   EMILY          MARTINEZ                   OK     90002991440
5178449A64B28B   HIJAZI         LEWIS                      NE     26092074906
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51785469672B88   EDWARD          BARRON                    CO     33060764696
5178558385B393   ALAN            HARVEY                    OR     90014715838
51785A89A71964   STEPHEN         SPEER                     CO     32088780890
5178663685715B   BLANCA          AMAYA                     VA     90012896368
5178676A833699   KEMPIE          THOMPSON                  NC     90010907608
517868A4251348   BRENDA          SMITH                     OH     66092048042
5178734275B393   ESTHER          DAVILA                    OR     90006733427
5178757818B169   BAMBI           SAUNDERS                  UT     31009665781
51787A92764145   OSCAR           KAYEE                     IA     90013890927
517882A1751348   FALISHA         PAYNE                     OH     66056782017
51788458A61973   PRISCILLA       MORENO                    CA     90013644580
5178919394B588   LOURDES         MARTINEZ                  OK     90008681939
5178B416172B36   ANGELIKA        BURKE                     CO     90012664161
5178B434772B36   SORAYA          MOLINA-DIAZ               CO     90012644347
5178B86288B167   ANTHONY         WEISS                     UT     90012698628
5178BA36A85928   GUADALUPE       RUELAS                    KY     67064700360
517911A4A5B531   MARSHA          WAY                       NM     90006801040
51791A8495B387   CARLOS          LOPEZ                     OR     90013520849
5179288A272B36   JAMES           STRONG                    CO     33064118802
5179382745B543   TANIYYA         HYNEK                     NM     90005858274
5179452A197B54   JOSE            ESTRADA                   CO     39057295201
5179454818B169   KIMBERLY        JOHNSON                   UT     31098025481
51794558572B43   IFFEOMA         JONES                     CO     90010605585
51794824A84373   SOPHIA          MILLAN                    SC     90001208240
5179549515B531   SABRINA         COLLINS                   NM     35026824951
5179596A25B393   PEDRO           ZUNIGA                    OR     44581529602
51795A83472B36   ELIZABETH       WHITE                     CO     90013990834
5179625AA7B46B   ERIS            AMBROCIO                  NC     90012482500
5179627674B588   CECIL           PONDS                     OK     90012252767
5179632977242B   SHEILA          MORMAN                    PA     51064403297
51796414A91895   KOREN           JONES                     OK     21087034140
517965A475758B   JESUS           LOZOYA                    NM     90010055047
5179748155B399   REBECCA         HERNANDEZ                 OR     90012354815
51797544397B77   OCTAVIO         GARCIA                    CO     39012265443
51797A99372B88   BERNARDO        CHACON                    CO     90005100993
5179819885B393   BRIAN           AHRENDT                   OR     90013051988
517984A418B169   RITA            MATTSON                   UT     31021084041
51798854472B43   MATT            SARNO                     CO     33076358544
5179894757B46B   RODNEY          AUTRY                     NC     11000909475
5179917435758B   JAVIER          MELERO                    NM     90009571743
5179929347B46B   MICHAEL         WESTBROOK                 NC     90011352934
5179B267691521   MICHAEL         HOLGUIN                   TX     90009902676
5179B575591895   MARIA           MOSQUEDA                  OK     90009875755
5179BA16751348   WILFIDO         ROSENDO                   OH     90015240167
5179BA98161975   TONY            BARRAGAN                  CA     90014780981
517B1267257157   VICENTE         LUNA                      VA     90012482672
517B131A372B27   LINDA           PALMA                     CO     90014783103
517B167532B245   WAYNE           SAVOY                     DC     90011866753
517B189245B393   ALYSSA          FARRAR-DONKEL             OR     90013488924
517B2179233699   ANGELA          STIMPSON                  NC     90013441792
517B236467B46B   NELSON          RAMIREZ                   NC     90013353646
517B24A8833699   SHARON DENISE   CAPENTER                  NC     90002924088
517B27AA14B588   MARIO           RODRIGUEZ                 OK     90012617001
517B33A288B169   JOSH            UNDERWOOD                 UT     90012553028
517B435344B28B   EMAN            NAMIR                     NE     26072063534
517B4412772B43   NEHEIMIAH       THMS                      CO     90009814127
517B4973384373   SHABREKA        JONES                     SC     90015149733
517B4A19184357   TAWANNA         PRINCE                    SC     14544480191
517B514A87242B   AUTUMN          WALSH                     PA     90011131408
517B5242551348   SHELLY          BROWN                     OH     90008332425
517B553118B169   ELADIA          LOPEZ                     UT     90014625311
517B5942161975   MELISSA         LOPEZ                     CA     46049979421
517B598895B393   LAURA           COLLINS                   OR     90014699889
517B5A98372B27   ROBERT          HALL                      CO     33007870983
517B6113572B27   VICTOR          BECERRA                   CO     90014211135
517B66A5897B77   JUNIOR          ESPARZA                   CO     90001226058
517B684834B29B   KENNETH         WILLIAM                   NE     27028278483
517B69A1584357   HARLEY          DWYER                     SC     90010549015
517B719394B28B   JETTIE          SORENSEN                  NE     90001501939
517B73A8184373   JENNIFER        BAKER                     SC     19071783081
517B742755B387   JOSH            KINGSBURY                 OR     44525484275
517B745A957157   ENRIQUE         GONZALEZ                  VA     90014184509
517B791285B393   TANYA           HOLDER                    OR     90014709128
517B7A86472B49   MELQUIADES      CABALLERO                 CO     90014150864
517B8386872B21   MELODY          HOLLAND                   CO     90011663868
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517B8861257157   REINA         CONDORE                     VA     81059948612
517B8A51672B43   DELORES       BANKS                       CO     33094330516
517B9196924B7B   FURAHA        BECHA                       DC     81016611969
517B952497B46B   KIMBERLY      DAVIS                       NC     90007185249
517B981175B393   ANSON         GARCIA                      OR     90012678117
517B982447B431   DESIREE       SPAINN                      NC     90013748244
517B988115B283   CHRISTINE     FIELDS                      KY     68048258811
517B9893751348   ROBERT        SAHLIN                      OH     66011218937
517B991835B393   TEDDY         PHILLIPS                    OR     90014709183
517B9A86385862   JUAN          MARQUEZ                     CA     90008250863
517BB297272B43   NATALIA       RAMIREZ                     CO     33068532972
517BB387572B27   RENA          GALVAN                      CO     33087133875
517BB61968B169   CARINA        ZENTENO                     UT     90014816196
517BB85AA85862   AIOTEST1      DONOTTOUCH                  CA     90015128500
517BB88674B588   CANDACE       WRIGHT                      OK     90011268867
51812541672B43   JACK          GONZALES                    CO     90006015416
5181265A472B27   KIA           LAO                         CO     90008716504
51812A29972B43   QASUDEEPG     GANG                        CO     90013500299
51812A52A4B588   LARBRAIRE     EDMUNDSON                   OK     90011150520
51813142472B36   BETTY         VELARDE                     CO     33025911424
5181315AA4B29B   SHEREATHA     GREEN                       NE     27088771500
5181317365B531   FRANCISCA     ARAGON                      NM     35009711736
5181446655715B   FREDDY        ANTONIO JUAREZ              VA     90015114665
51814538372B27   HARRY         WELCH                       CO     33067115383
5181495155B387   DESARAY       PLEDGER                     OR     90013739515
51814A71885862   MARCOS        GIL                         CA     90014550718
5181542795B399   HOLLI         WRONSKI                     OR     44506494279
51815AA7191576   ASHLEIGH      GRAY                        TX     75074450071
51816121197B77   MARCOS        AREVALO                     CO     39040191211
5181672635B393   CHARLENA      FELTON                      OR     44555907263
51816899A5715B   YENNY         AMORES                      VA     90012898990
518172A7A8B169   GUILLE        GONZALEZ                    UT     90009362070
51818291A5715B   YURLY         SERRANO                     VA     90012912910
51819434872B49   TRUDY         FREYTA                      CO     33094034348
51819A77872B36   BERTHA        PEREZ                       CO     90006220778
5181B247A7B46B   ROSALIA       SOLANO                      NC     11005152470
5181B896384357   MATTHEW       KINARD                      SC     90015448963
518213AA62B27B   JAMES         FABIANI                     DC     90015273006
51822396A7242B   ERICA         TAYLOR                      PA     51022613960
5182352872B27B   ANDRE         PLOWDEN                     DC     90012765287
51823575A84357   CRYSTAL       KELLY                       SC     90011105750
518243A5A98B2B   NELINDA       BIGSBY                      NC     90003793050
5182484324B29B   TIROME        COLE                        NE     27001078432
5182551188B169   JOSE          GARCIA                      UT     90007825118
51825768272B36   OGUNSAKIN     MARY                        CO     33033717682
5182577145B387   MENGISTU      MENBERU                     OR     90012237714
5182585AA72B49   MARISHIA      SCHIEBELHUT                 CO     33034828500
5182596A777388   JAVIER        PEREZ                       IL     20537199607
51826173672B77   JODY          SILLS                       CO     33072891736
51826386972B36   ALFREDO       LOPEZ ARENALDE              CO     33021793869
518263A927B46B   LOGAN         PITKIN                      NC     90013223092
5182648965715B   CARMELINA     AMAYA                       VA     90008564896
5182685A671964   FRANCISCO     ROSTRO                      CO     32019818506
51826A1955758B   ANGELICA      SANCHEZ                     NM     35555420195
51827131A5B393   NATHAN        THOMPSON                    OR     90012691310
5182748A197B54   CARMEN        RASCON                      CO     39095034801
518277A6857157   ALFRED        SHAW                        VA     90013227068
5182855364B28B   KYLE          FULLER                      NE     26089085536
51829154A61973   JONATHAN      CHAVEZ                      CA     46079931540
51829842A72B27   VANESSA       LOPEZ                       CO     90003168420
5182996535B387   KESETE        NAIZGI                      OR     44573979653
51829A3A28B169   HEATHER       PETERSEN                    UT     31036660302
5182B344772B27   AMANDA        ORONA                       CO     90012493447
5182B48525758B   LINDSAY       ROGERS                      NM     35587494852
5182B626972B27   EDDY          MORENO                      CO     90012826269
5182B68284B521   CHRISTOPHER   KEMPESTA                    OK     90009866828
5182B72A684357   JASMINE       JOHNSON                     SC     90013997206
5183111A472B77   ANDREA        FLORES                      CO     33001871104
51831258A97B77   ROSITA        MINNEY                      CO     39082512580
518319A945B543   ANDREW        GONZALES                    NM     90005859094
51831A5558B169   NIKI          BOYD                        UT     90007320555
51832362A51348   SEAN          BURNS                       OH     90012873620
5183251467B46B   FERREN        GILL                        NC     90013805146
51832879972B36   DANIELA       FLORES                      CO     33044678799
5183289AA8B169   BERTHA        MORLES                      UT     90008288900
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5183327882B27B   ROCHELLEE        SIMMONS                  DC     90012552788
5183394555715B   AMY              MORENO                   VA     81085389455
51833A68A61973   PATTY            DELGADO                  CA     90012260680
5183452A861971   SHAWN            NORTON                   CA     46044905208
51835834A36165   MACKIE           MOORE                    TX     90008658340
5183592465758B   TERESA           GALINDO                  NM     90013389246
518361A535B387   KRISTIN          VALDES                   OR     44517891053
5183621695758B   SOCORRO          MUNIZ                    NM     35525612169
5183651612B27B   DARREN           BRADFORD                 DC     90014535161
5183721462B973   ISAAC            MIRANDA                  CA     90009422146
51837285872B43   SAUNDRA          CORREY                   CO     33014692858
5183737584B588   PAYGO            IVR ACTIVATION           OK     90013243758
51837821A72B27   OMAR             MOUHIEDDINE              CO     90010668210
51837A22161971   HAWRAA           KADHIM                   CA     90010460221
51838491472B43   DIANE            L BARRETT                CO     33070854914
5183886935715B   TUAN             NGUYEN                   VA     90014238693
5183892375B387   OLGA LIDIA       GARCIA HEREDIA           OR     90011979237
51839128597B77   HEMILO           RAMIREZ                  CO     90001421285
5183B313A7B359   THOMAS           GOLDSMITH                VA     81088933130
5183B336772B77   CHANDRA          BRESLIN                  CO     90002783367
5183B37247B46B   VANESSA          HART                     NC     90014513724
5183B566533699   QUARTINA         WILLIAMS                 NC     90014805665
5183B5A2991895   MARISOL          MERIDA                   OK     90012825029
5183B82A491895   MARISOL          MERIDA                   OK     90007508204
5184143878B169   MARK             WILSON                   UT     90011084387
5184231515715B   JUAN SEBASTIAN   PEREZ                    VA     90012913151
5184262964B28B   TAMMY            HAMILTON                 NE     90011946296
51842785A2B851   JENNY            CLIFFORD                 ID     42092507850
5184294A861973   ELVIRA           ALVAREZ                  CA     90015139408
51842A79484357   SAVANNAH         PINKNEY                  SC     90012550794
51842AA635B387   ADRIAN           GARCIA                   OR     44551650063
5184314715758B   JOSE             LLORENTE                 NM     90010241471
518437A997B431   JAMILAH          BOULWARE                 NC     90001927099
5184425675B393   JON              MEYER                    OR     90008622567
518443A3133696   JALEN            PATE -BROWN              NC     90012153031
51844472172B49   ILIA             WALKER                   CO     90008684721
51844513A33696   JALEN            PATE -BROWN              NC     90014165130
5184465315715B   BRYAN            CLARK                    VA     90010666531
5184542A15B393   JODIE            KINGSBURY                OR     44547264201
5184558798B186   ASHLEY           FLUSTY                   UT     90000295879
5184579358B169   JOSHUA           BREAGGER                 UT     90014437935
51846627A5B543   CAMERON          PILGRIM                  NM     90008516270
5184735484B28B   STEPHANIE        AYERS                    NE     90009293548
5184881567B632   DAVID            ROMERO                   GA     90009848156
518489A7A61836   BRIAN            LATNER                   MO     27530819070
5184921175B393   LATASHA          WESTMORELAND             OR     90014632117
51849526A51322   RENEE            DOWDELL                  OH     90009915260
5184986945B227   LARRY            DAVIS                    KY     90014258694
5184998244B588   JOSE             VELEZ                    OK     90013789824
5184B128597B77   HEMILO           RAMIREZ                  CO     90001421285
5184B283361971   JOHN             DOMINGUEZ                CA     90012762833
5184B37717242B   JOHN             PRINKEY                  PA     90013313771
5184B435433696   SERVICE          2DAY                     NC     90007854354
5184B475784373   JUDY             HYMAN                    SC     19091964757
5184B67634B588   GODWIN           GAGAH                    OK     90012996763
5184B734261975   HEIDI            CHAIDEZ                  CA     46040827342
518515A278B145   ANA              MORALES                  UT     90012905027
51851822A5B531   ERNESTINE        PIRO                     NM     90010888220
5185183385B393   EARLEE           JONES                    OR     44573628338
5185213934B29B   YVONNE           THOMAS                   NE     27017381393
5185295425B531   CHRISTIAN        CHARELS                  NM     90009329542
51853544A4B29B   MAURO            SISO                     NE     90006645440
51853884472B43   JERRY            ARCHULETA                CO     90010708844
5185518248B169   JAYMIE           QUINTANA                 UT     31061501824
51855A28372B36   JORGE            IXCHOP                   CO     33086490283
518562A6A72B88   ALEJANDRO        GONZALEZ                 CO     33066052060
5185646897B46B   MIGUEL           RODRIGUEZ                NC     90007124689
5185648287B631   YOMECA           BORDERS                  GA     15013884828
5185741A533696   ANGELA           THORPE                   NC     90013864105
5185767A772B36   JUAN             FLORS                    CO     90013286707
5185794314B28B   XOCHITL          AZAMAR-ROSALES           NE     90009669431
5185851317242B   JODI             FISCHBACH                PA     51016925131
51858773172B88   FLORENTINO       RODRIGUEZ                CO     33004217731
5185881144B29B   WILLIAM          PEKLO                    NE     90012688114
51858AA3185862   LUCIA            ANAYA                    CA     90010770031
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5185985365715B   ANNE            BARNES                    VA     81095798536
5185B171372B49   ALEJANDRO       LAJUJ                     CO     90011311713
5185B485333699   CARLOS          TRINIDAD                  NC     12028394853
5185B57735B531   ASHTYN          CHAVEZ                    NM     35006935773
5185B614698B2B   NICOLE          PETERSON                  NC     90007166146
5185B85737B46B   JOSE            LOPEZ                     NC     90002698573
5185BA9A15B387   MONICA          CARMONA                   OR     90010070901
51861394A4B588   MARCO ANTONIO   LOPEZ                     OK     90013243940
5186189665B531   MARISOL         QUIRANTE                  NM     90011648966
5186269935B531   ERIN            GONZALES                  NM     90014436993
51862A95161971   KESHA           BUCKLEY                   CA     90009300951
5186344185B247   NANCY           WORLAND                   KY     90014934418
518636A595B393   FRANKIE         JOHNSON                   OR     90014716059
5186441165B399   SERGEY          IVANOV                    OR     90011064116
5186516714B28B   TONYA           MOLES                     NE     90004041671
5186546797242B   MELISSA         MOORE                     PA     51082834679
5186555544B588   RICHARD         BRUNER                    OK     90014405554
5186562415B393   DARCELLE        HICKS                     OR     44516646241
51865AA427B46B   GLORIA          CASTELAN                  NC     90014120042
51866188672B88   JAMES           HANSON                    CO     33092811886
5186657397B46B   ERIC            LUTHER                    NC     90010695739
5186661855715B   KYLE            DAVIS                     VA     81074996185
51866AA8861973   LUIS            ARROYO                    CA     90011010088
5186715A25758B   ADELA           NUNEZ                     NM     35597691502
5186748144B559   SELENA          SMITH                     OK     90008704814
5186748214B28B   AARON           RAY                       NE     90010034821
518677AAA61973   MAGDALENA       CARDONA                   CA     90011427000
518678A934B59B   ANTONIO         WALKER                    OK     90008668093
51869664172B43   TIFFANY         N. DANIELS                CO     33074666641
51869921372B77   ROCKY MTN       CAREGIVERS OF CO LLC      CO     33030069213
51869987872B49   JUDY            DIXON                     CO     33011039878
5186B16144B288   DIMAS           CASTILLO                  NE     90013961614
5186B281872B36   NATALIEANN      GUTIERREZ                 CO     33016372818
5186B47195B393   NINA            SARMANIAN                 OR     44515684719
5186B6A965758B   CEARA           ANGEL                     NM     90006966096
5186B732285862   BRANDI          LA TOURETTE               CA     90015047322
5186B93A27B46B   JAMIE           MAILMAN                   NC     90009659302
5187151744B588   SHAQUILE        ROBINSON                  OK     90015235174
5187182767B46B   DONYE           RICHARDS                  NC     90013248276
5187211265B531   PAYGO           IVR ACTIVATION            NM     90012201126
5187259215B393   RACHEAL         MALLORY                   OR     90010245921
51872892A84373   MAUREEN         TOBIN                     SC     90010368920
51872A86A51348   DAVID           ADAMS                     OH     66000600860
5187311575B387   SHANTEL         GULTRY                    OR     44561331157
5187314874B588   FAY             PALMER                    OK     90012891487
51873181172B27   PAMELA          OLDHAM                    CO     90014731811
518738A8A7242B   MICHAEL         FRYE                      PA     51097948080
51873AA7241291   CHRIS           TARQUINIO                 PA     90008350072
5187414237B46B   JACKIE          FLUITT                    NC     90007381423
5187458985B531   CRYSTAL         WILSFORD                  NM     90014675898
51874943A5715B   ANA             PORTILLA                  VA     90014909430
51874A94157157   JOSE ISRAEL     VILLEDA                   VA     90003480941
5187562645B531   JESUS           VELASQUEZ                 NM     35000516264
51875A6A284357   ROSA            WINGATE                   SC     90015240602
5187625A75715B   MERCEDES        VELIZ                     VA     90012902507
5187682932B27B   LUMAYOWA        ADEGBOYEGA                DC     90012678293
518773A7998B2B   ALEJANDRO       HERNANDEZ                 NC     90003273079
51877486772B36   BLANCA          ARAIZA                    CO     33041054867
5187758A484357   FIONA           COAXUM-SUMTER             SC     90014685804
51877593972B27   CHRISTINA       PENA                      CO     90001505939
51877621A4B588   JOSHUA          HAMMOND                   OK     90004506210
5187763828B169   HERRERA         JAUN                      UT     31009306382
5187813235635B   MARTHA          PIERRE                    IA     90012111323
5187827A197B54   MARCOS          COLIN                     CO     39074782701
5187852A75B531   GLORIA          HERNANDEZ                 NM     35069825207
51878A6317B46B   ANDRE           YOUNG                     NC     11001750631
51878A64484373   AYAUNA          SMALLS                    SC     90013700644
51878A99672B36   PATRICIA        VILLA                     CO     33048100996
518797A7985862   MICHELE         MUNOZ                     CA     90014747079
518797A9672B27   JENNIFER        JOHNSON                   CO     90012947096
5187985624B588   DAMON           NOBLET                    OK     21597038562
5187994A62B27B   JEFFREY         GADSON                    DC     81045229406
5187B8A8961975   CANDICE         COOK                      CA     46034438089
5187B976684373   CHRISTOPHER     WILMAN                    SC     90010169766
51881388172B27   TONYE           OKI                       CO     33098173881
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518813AA757157   JORDAN           WETZEL                   VA     90014843007
5188198474B588   STANART          AUTO                     OK     90015239847
51881A35961971   WILLIAM          BARELA                   CA     90001220359
5188225668B169   MARI             CARRANZA                 UT     90009262566
51882548272B36   PAULINIA         HERNANDEZ                CO     33009025482
5188299995B393   RYAN             MILLER                   OR     90014709999
5188314164B28B   DUANE            HOLMSTEDT                NE     90014841416
51883881A5B393   GINA             HOOPES                   OR     44576428810
5188427A92B27B   SARAH            HERNANDEZ                DC     90012842709
5188478423B379   BARRY            WHEELER                  CO     90007457842
51884994998B39   ANGELA           BROWN                    NC     90005589949
5188579685B531   MICHELLE         MAYA                     NM     90013777968
518861A345758B   ISABELLE         TERAN                    NM     35592731034
5188623AA33699   NELSON           PORCHIA                  NC     12028422300
51886257272B27   JASMINE          MUNOS                    CO     90015112572
5188629975B399   ANELL            COLLINS                  OR     90003912997
518874A2291391   AYDEE            IBARRA                   KS     90009704022
5188756962B244   JOSEPH           MATTHEWS                 DC     90014965696
5188899995B393   RYAN             MILLER                   OR     90014709999
51888A49161973   RUBEN            DURANTE439               CA     46041180491
51889361172B49   DOUG             MCDONALD                 CO     33050413611
518898A5542335   FRANCISCO        MEDRANO                  GA     90009518055
5188B151233699   MARY             BROWN                    NC     12017701512
5188B34A184357   ROBERT           BLOOD                    SC     90011723401
5188BA1AA57157   MESFIN           WOUDNEH                  VA     90012460100
518911A5857157   JOSE ROGOBERTO   CABRERA                  VA     90014991058
51891457772B36   EVA              MORA                     CO     33008804577
518917A957242B   RIC              FETTY                    PA     90014807095
51893847172B88   GAGE             HECHT                    CO     90003218471
5189526132B27B   KAREN            OLVERA                   DC     90014162613
5189531267B46B   IRIS             RIVERA                   NC     90010303126
5189567A961975   STEVE            MUSGROVE                 CA     90010066709
5189573285B531   JOANNA           PAMINTUAN                NM     90010477328
5189581625B399   SHANNA           MCGHEE                   OR     44547148162
51896273372B77   MALINDA          BROWN                    CO     33021302733
51896436A5715B   JENNFER          TRIJALVA                 VA     90012904360
51897216772B43   CHRSTOPHER       TRUJILLO                 CO     33084752167
51898275572B67   MARICELA         DIAZ                     CO     90013422755
5189839A772B67   PEDRO            DIAZ                     CO     33064313907
5189843164B588   SHILOH           DAVIS                    OK     90014704316
5189861825B543   MARIAH           ALCANTAR                 NM     35035136182
51898921A4B556   TERRELL          PULLEN                   OK     90010619210
5189899995B393   RYAN             MILLER                   OR     90014709999
518989A2272B43   SELINA           MILES                    CO     33008389022
51899661A61975   JUAN             LEYVA                    CA     90010646610
51899959A33696   CHRISTINA        SMITH                    NC     90004289590
51899A88772B49   RYAN             ONEAL                    CO     90011000887
5189B496972B49   ANGEL            LEON                     CO     90007834969
5189B49A257148   ROSALINA         ARIAS                    VA     90014594902
5189B92A351348   MIGUEL           REYMUNDO ORTIZ           OH     90004149203
5189B99A357157   TAMEKA           MCDONALD                 VA     90011059903
518B1343572B36   MITCHELL         NELSON                   CO     33075613435
518B13A6155936   TOBAR            RAE                      CA     90011743061
518B14A635715B   MIKEL            COOPER                   VA     90015114063
518B1684A7B46B   VICENTE          MALDONADO                NC     90010226840
518B169AA5758B   ENRIQUE          HERNANDEZ                NM     35505986900
518B2128931428   ANGELA           PORTIS                   MO     27568371289
518B236A291576   LORENZO          MINJARES                 TX     90013203602
518B2376691895   MARIA            MANCILLA                 OK     90014153766
518B2386851348   TIFFANY          MARSH                    OH     90010593868
518B23A4733696   YOUNGER          HUNT                     NC     12005013047
518B2A31261975   FERNANDO         FLORES                   CA     46047680312
518B3497457157   PATRICK          ELLIS                    VA     90007984974
518B385A24B588   REEVA            WOOTERS                  OK     90009418502
518B4391572B36   MAYRON           MEJIA MOLINA             CO     90009763915
518B471655758B   JOHNNIE          OHARA                    NM     90009807165
518B487354B28B   ANTHONY          OLER                     NE     90013798735
518B496795B393   THANG            DIM                      OR     90014709679
518B4A61633699   ISRAEL           CEBALLOS                 NC     12096470616
518B5233551348   BENNEET          HARRISON                 OH     90014152335
518B5586A84373   MINH             TRAN                     SC     19057965860
518B5695772B43   NICOLE           BURNEY                   CO     90009156957
518B5A8628B167   LANA             ROSKELLEY                UT     90012540862
518B622295B387   BONNIE           CATLIN                   OR     90000122229
518B6281684357   KATHLEEN         CLIFT                    SC     90012992816
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518B6377633699   MICHEAL       CANTY                       NC     12000823776
518B648648B169   MICHAEL       MORISON                     UT     90008624864
518B6629261973   ANNIE         JONES                       CA     90001196292
518B68A812B27B   MAGDALENA     FLORA                       DC     81045218081
518B6932A72B49   CARLO         TWOFEATHERS                 CO     90012629320
518B7732791895   RICKEY        ARTHUR                      OK     90012567327
518B7874951348   BRIAN         WRIGHT                      OH     90013658749
518B8338A61973   CORRINE       NATSON                      CA     46058453380
518B83A7A91895   JOEL          PITTS                       OK     90014383070
518B8444336165   SAMUEL        HERNANDEZ                   TX     90010234443
518B89A6472B77   MELISSA       LUALLEN                     CO     90004699064
518B9316872B36   RAMON         ORTIZ                       CO     33010713168
518B936644B588   ELISABETH     HINE                        OK     90006573664
518B97A237242B   WAYNE         CONDIE JR                   PA     51052247023
518B9873157157   KALA          COLLINS                     VA     81036198731
518BB13915B393   PETER         MCVEETY                     OR     44541041391
518BB47255758B   LUZ MARIA     VALENZUELA                  NM     90011864725
518BB4A7484373   A MAE         LYONS                       SC     90014144074
5191133614B588   BETTY         BELL                        OK     90015133361
519116A8385928   AYMER         CASTILLO                    KY     90004856083
5191177A772B27   MICHAEL       FETZER                      CO     90010127707
519122A4991895   CRISTINA      DAMIAN                      OK     21073612049
5191236AA5715B   JHONATTAN     ALCAZAR                     VA     90012913600
5191272217242B   JACKLYN       MCBRYAR                     PA     90007147221
519131A7272B77   LUIS          BRINGAS                     CO     33081681072
5191376685B393   FIDEL         ALVIZVRES                   OR     90011197668
51913842272B27   JOSE          LOPEZ                       CO     90015328422
519139AA35758B   SILVIA        HERNANDEZ                   NM     90015179003
5191432917242B   TRACI         SULLENBERGER                PA     90012653291
5191458654B28B   MICHELLE      WALAHOSKI                   NE     90012525865
519145AA74B588   DERRICK       MITCHELL                    OK     90011895007
5191461134B559   MARIA         FARIAS                      OK     90009876113
5191552835B387   ANITA MARIE   PEREZ                       OR     90003465283
51916433A72B27   MARLANIE      BUER                        CO     90008954330
519173A784B28B   JERMAINE      OHLE                        NE     90011853078
51918161772B49   SHAUNA        CONLEY                      CO     90012391617
51918357472B27   JAIME         NEWLON                      CO     90008463574
51918961A4B28B   NYIMA         TSERING                     NE     90013799610
5191934265715B   SANDRA        PERALTA                     VA     90010853426
51919884772B67   JOSEPH        SHORT                       CO     90006498847
5191B737872B36   LORENA        DELGADO                     CO     90014027378
5191B864833699   MONICA        CRAWFORD                    NC     90014888648
5191B9A4485928   ANNAY         PEREZ                       KY     90006099044
51921333172B77   JUAN          RIOS                        CO     33074973331
519218AA861973   SILVIA        NEGRETE                     CA     90009018008
51922681872B43   JOSE          CARRILLO                    CO     90008916818
5192324A533699   TRENICE       MCFADDEN                    NC     90015112405
5192375A961941   MANUEL        MEDINA                      CA     90013267509
51924239772B49   SCOTT         MCKAY                       CO     90012112397
5192494425B393   HUGO          MUNOZ GARCIA                OR     44585029442
5192526314B28B   ASHLEY        BONNELL                     NE     26058482631
51925A79972B27   FARREN        CROSSLAND                   CO     33089050799
5192665865715B   MUCHE         NABTAMUU                    VA     90012906586
5192714667242B   KEN           LOOMIS                      PA     90013921466
5192798A184357   SHONDA        SMITH                       SC     14566569801
5192867445B399   BERTHA        GARCIA MARTINEZ             OR     44520876744
51928919672B43   KALENA        JOECKEL                     CO     90007029196
5192899A961973   MIRIAM        CONTRERAS                   CA     90007909909
519289AA55B151   WHITNEY       HAMMOND                     AR     90009639005
51929A55433699   LONNIE        WILLIAMSON                  NC     12089350554
5192B1A5897B77   RICARDO       OROZCO                      CO     90012601058
5192B21795758B   ESMERALDA     GARDEA                      NM     90013232179
5192B29985715B   WILFIDO       CORTEZ                      VA     90011162998
5192B486472B49   NORMA         SERRANO                     CO     90003844864
5192B745972B36   LORENA        PEREZ                       CO     33095207459
5192BA7575B399   MISS GALI     MCMILL                      OR     90006490757
5193111A62B851   LYNN          ARVAI                       ID     90008411106
519316A2672B77   MIGUEL        RUANO                       CO     33003846026
5193187954B521   ANTONIO       CARRILLO                    OK     90001248795
51932241672B43   MARIO O       MUNOZ                       CO     90006692416
5193236A28B169   OSCAR         ROMERO                      UT     31017793602
519324A277B46B   MONICA        ONEAL                       NC     90013274027
5193264A24B588   NICOLE        HARFIELD                    OK     90014856402
5193267625715B   GIOVANA       CHANG                       VA     90012906762
519328A457242B   REBECCA       METZ                        PA     90006278045
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5193369735B387   MARCELL       THURMAN                     OR     44530156973
5193414394B28B   STELLA        HENDERSON                   NE     26080151439
5193425A133699   MATHEW        SALISBURY                   NC     12036112501
5193433518B169   KIMBERLY      LIND                        UT     31010363351
519343A6485862   ROMMY         CRESPO REITH                CA     90013683064
51934472698B2B   KAREN         GRIER                       NC     90003274726
51934939136B97   JENNIFER      COLE                        OR     90008609391
5193497AA61975   KRYSTAL       JONES                       CA     90013009700
51935571A5B399   HETHER        MARRIE                      OR     90011075710
5193563925758B   RAUL          MARTINEZ                    NM     35577576392
5193575A372B36   FRANCISCA     GONZALEZ                    CO     90013297503
519358A327B46B   SOBRINA       CONCEPCION                  NC     90011258032
51935A3137242B   MAX           LOPEZ                       PA     90015280313
5193636385715B   DARREN        JAMES                       VA     90015133638
519372A3197B54   DIANE         SILBAUGH                    CO     39058962031
51937642597B3B   LORETTA       HERRERA                     CO     90011026425
5193779A15715B   ANDRES        ROJAS                       VA     90012907901
5193819618B323   CHARLES       BRUNSON                     SC     90004191961
519388A1661971   DAVID         DOW                         CA     90011188016
51938A4274B588   JOSE          ARTEAGA                     OK     90010530427
51939533A4B28B   JAMES         HARRINGTON                  NE     90014165330
51939699227B48   SABRINA       JAQUEZ                      KY     90010556992
5193976375B531   JOHN          CUMMINS                     NM     35084747637
5193B76395715B   ELEAZAR       GONZALES                    VA     90015137639
5193B978951348   INDREA        LOUIS                       OH     90011529789
5193BA41585862   SHANNON       MOLNAR                      CA     46058440415
5194186A75B387   ELYSE         BROWN                       OR     90010938607
51941AAAA72B36   MARIA         ROSARIO                     CO     33072130000
51942239124B7B   SALVADOR      ARANA                       DC     81074642391
51942768672B27   SAM           LOVATO                      CO     33041127686
5194339955B393   JESSICA       OLIVER                      OR     90003193995
5194437A872B43   ANETRA        POLLARD                     CO     90002793708
519445A2751348   JULIE ANN     WILLIAMS                    OH     90008945027
51944A7524B588   JAMES         BAILEY                      OK     90010530752
5194543678B169   JARED         EMPIE                       UT     90010324367
5194592A13B387   DOMINIC       MARTINEZ                    CO     90008949201
519471A2633699   VELVET        BRAXTON                     NC     12085921026
5194738A772B27   NICOLE        VALDEZ                      CO     33069623807
519474A8593782   RICK          JENKINS                     OH     90014424085
51947935172B43   FRANSISCO     TOLEDO                      CO     90010929351
5194857538B169   PAMALA        JACKSON                     UT     90001725753
51948761A72B43   ROLANDO       RODRIGUEZ SOSA              CO     90011467610
5194936535715B   CARLOS        CORDOVA                     VA     90015133653
5194987975715B   JOSE          AMAYA                       VA     90009218797
51949892372B49   JOSHUA        SANDOVAL                    CO     90014488923
5194B25145715B   DAVID         RAMOS                       VA     90009392514
5194B288761971   EDWARD        CORMODE                     CA     90013062887
5194B637591895   ERNESTINE     BEARSHEAD                   OK     90015096375
5194BA85197B77   CAROLINE      MITCHELL                    CO     90000410851
5195145347B339   JORGE         HERNANDEZ                   VA     81066534534
51951614A5B393   MICHELLE      POINDEXTER                  OR     90009366140
5195171414B588   CHRISTOPHER   HARRIS                      OK     90013967141
5195172622B27B   RICARDO       MOLENA                      VA     90012977262
5195242585B387   KEYONA        DAVIS-VANN                  OR     90006944258
519527A617B46B   SHONTAVIA     AUSTIN                      NC     90014857061
51952A7A93B372   DOUGLAS       ANDERSON                    CO     33089350709
51953337972B43   ZAHRAA        ALKHAFAJI                   CO     33095783379
519534A5272B27   CHRISTPHER    HOLBEN                      CO     90011384052
5195423364B29B   HANIFAH       JACKSON                     NE     27017502336
5195435437B46B   KYLIA         HODGE                       NC     90010493543
5195436535715B   CARLOS        CORDOVA                     VA     90015133653
51954A32A91552   MARIA         MARTINEZ                    TX     90012170320
519567A944B588   MICEALA       ROBERTS                     OK     90008937094
5195757484B588   ZACHARY       BROWN                       OK     90013485748
5195766485B283   CATHERINE     PROFITT                     KY     90011226648
51958646A4B588   KERRI         HARKEY                      OK     90014046460
51959348572B27   LIPILLO       RIVERA                      CO     90011263485
51959529372B27   SABRINA O     ROY                         CO     90004815293
5195973937B46B   GERLISHIA     MOORE                       NC     11071777393
5195975117B397   CRISTINO      ARGUETA                     VA     90010857511
5195B33825715B   NUTRIC        PRO LLC                     VA     90013783382
5195B6A1472B43   MARTIN        BURLESON                    CO     90009556014
5195B91A491895   GERALD        FALLS                       OK     90014849104
51961594A72B36   GINA          GUTIERREZ                   CA     33068485940
51961A8A661971   JAZELL        SANDIFORD                   CA     90010390806
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5196241395715B   LUIS           BARILLAS                   VA     90015134139
5196272945715B   JONATHAN       ZALAUYA                    VA     90008667294
5196296A151348   DONNA          EVANS                      OH     66062359601
5196336664B588   ERIC           PRATI                      OK     90000323666
519635AA661975   CARLOS         REYES                      CA     90010165006
5196367495715B   MOHAMMED       HAVIF                      VA     81073586749
51963A7855B393   DEAN           ALDRICH                    OR     90012710785
519643A5851348   SCOTT          CHAMBERS                   OH     66000723058
5196447665B393   ELIZABETH      BRENNEMAN                  OR     90010344766
51964A35A7B46B   WAYNE          MITCHELL                   NC     90001920350
51965A9635B399   KEVIN          RODGERS                    OR     90006490963
5196616A45B387   BYRD           JASMINE                    OR     90010121604
51966568772B27   SILVIA         MONTES                     CO     90014175687
51966786A5715B   FERNANDO       RIVERO                     VA     90015137860
519669A675B399   LARISSA        KAMA                       OR     44503279067
5196741774B28B   JOSE           CUEVAS                     NE     26001074177
5196744A95B393   JOEL           GONZALEZ                   OR     44578194409
51967A5564B945   JAMES          MOUTON                     TX     90015010556
5196865595B387   TEYONDA        OVERTON                    OR     44560766559
5196991965B234   YOVANNA        JONES                      KY     90013919196
51969A19484373   TIFFANY        MCCLAIN                    SC     90013300194
51969A42161975   STEPHANIE      VALENCIA                   CA     90014950421
5196B12A661975   LUIS           MENDOZA                    CA     90014271206
5196B1AA17242B   JOHN           WILTROUT                   PA     51046241001
5196B25A45B244   LUCRETIA DEE   SIMMONS                    KY     90010882504
5196B371661973   MIRIAM         TORRES                     CA     90015003716
5196B811684357   VERIETHIA      SIMMONS                    SC     90015408116
5196B813191895   TERRY          FUGATE                     OK     21060598131
51971153672B77   VERONICA       PEREZ                      CO     90004431536
5197269945B393   JOHN           KARLESKINT                 OR     90003166994
5197357185715B   RODRIGO        REYES                      VA     90006565718
519746A285715B   ABDY           CARDONA                    VA     81005326028
51975233372B67   YVONNE         GRAHAM                     CO     33011562333
51975318472B36   KHEEM          WILLIS                     CO     33036553184
5197687752B27B   JEFFREY        FORTUNE                    DC     90012188775
51976884972B88   BERNADETTE     GALLEGOS                   CO     33065668849
5197773A998B2B   REGGIE         CALDWELL                   NC     11092117309
51977968A91576   NOE            ROCHA                      TX     75093089680
51977A7617B46B   ANDREW         ECKERT                     NC     11013160761
5197898588B169   SEAN           KING                       UT     90012319858
51978A33397129   RYAN           SAUB                       OR     90001390333
5197949115B531   KIMBERLY       ARAGON                     NM     35053394911
51979547372B36   DONISHA        PIERSON                    CO     33030215473
51979852472B49   JESUS          CHACON                     CO     90015238524
5197998A18B169   EUGENIO        PELCASTRE                  UT     90014179801
5197B142484373   KISHEA         WARD                       SC     90013331424
5197B56318B169   KRISTINA       FARR                       UT     90005985631
5197B579172B27   RODRIGO        MARROQUIN                  CO     33071315791
5197B71335B393   JASMIN         MOORE                      OR     90014717133
5197B998A2B27B   KEON           NICHOLS                    DC     90015299980
51982537A5B393   ANDREW         WERNER                     OR     44559885370
5198293297242B   JASON          DELL                       PA     90012239329
51982A7925715B   SAMUEL         VASQUEZ                    VA     90009210792
51983A6317B46B   JASMINE        JOHNSON                    NC     90009750631
51983A67672B27   VICTOR         VALDEZ-FLORES              CO     90012680676
5198455165B393   VICTOR         CRUZ                       OR     90010435516
51984A85333699   LAKISHA        STOWE                      NC     90001230853
5198515795B283   ALISON         LAWSON                     KY     90004541579
5198533A161971   MARGARET       SMITH                      CA     46057233301
5198547A12B95B   MAYRA          MONTOYA                    CA     90011514701
51985A99172B36   ELAINA         CUSACK                     CO     33081740991
5198637885B387   DESTINY        HANNA                      OR     90013853788
519863A5851348   SCOTT          CHAMBERS                   OH     66000723058
51986417A7B46B   JACQUELINE     VASQUEZ                    NC     90012384170
51986536172B77   KYLE           WADE DOOLEY                CO     33015785361
519865AA77B46B   ALIYAH         DAUGHTRY                   NC     90013435007
519866A1361973   ESTELA         SANCHEZ                    CA     46035126013
51987555A47836   JOHN           HUGHES                     GA     90011715550
5198762775758B   EDWARD         DE LEON                    NM     90007526277
5198799A257131   EDSON          SELVIN PARADA              VA     90015549902
5198818695B531   WANDA          GREEN                      NM     90008481869
51988A8A572B77   MARIA          LUNA-CORDOVA               CO     90001710805
5198B22925B393   STEPHEN        SMITH                      OR     90010492292
5198B75515B393   NIESHA         BRISTOW                    OR     90014717551
5198BA51684357   RAYMOND        GRANT                      SC     90015000516
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5199112677242B   BRUCE             JENNINGS                PA     51095411267
51991A3625B531   KATHY             ORTIZ                   NM     35004610362
519929A555758B   MARIA             URQUIDEZ                NM     90014819055
51993541172B88   DULCE             RODRIGUEZ-ROMAN         CO     90006965411
51993A1955B227   DANIEL            GALICIA                 KY     90014110195
51994164A72B36   MICHAEL           JIMENEZ                 CO     90014601640
5199448925715B   MARKEICE          KNIGHT                  VA     90015134892
5199449364B588   DANNA             TREVINO                 OK     90007854936
5199461292B27B   ONITA             GATER                   DC     90003386129
51994839397B77   PASCHA            BRAZZEL                 CO     90006678393
5199497A75715B   DANIEL            GARCIA                  VA     90012909707
51994A8458B169   STACY             CARYTON                 UT     31043920845
5199515A257157   JORGE             COREAS                  VA     81037231502
5199545552B27B   EARNEST           MCCAIN                  DC     90014534555
5199549524B588   DEBRA             WREN                    OK     90010214952
519955A6471964   SEAN              GRAHAM                  CO     90002385064
51995A42872B36   DIANE             SERRANO                 CO     33033680428
5199648595B399   REYSON            RUFES                   OR     44553384859
519967A6A57157   ANTONIO           PEARSON                 VA     90008637060
51996A94872B43   DUANE             MARTINEZ                CO     33055670948
5199739A461971   KRISTEN           GEIER                   CA     90006993904
5199763385B387   BRENDA            LARA                    OR     44570156338
5199B2A7661975   MONICA            SLOVATIZKI              CA     90013172076
5199B584A5B387   TIFFANY           SCHUKKY                 OR     44506615840
5199B99AA4B588   MARIA DE LA LUZ   ODONELL                 OK     90002659900
519B1188833699   YASBIC            MEDINA                  NC     90004931888
519B1418133157   WILLIAM           SLOUGH                  IL     90012924181
519B148A48B169   RIDDLER           LAW                     UT     90014434804
519B161987242B   TANYA             JOHNSON                 PA     90014466198
519B181212B27B   RONTAEUS          GILMORE-WATSON          DC     90014248121
519B1968961971   ARLENE            ANAYA                   CA     90009919689
519B1AAA85B393   AARON             MCGEE                   OR     90014710008
519B25A2461975   TANYA             RUIZ                    CA     90013115024
519B2689324B7B   DAVID             CURTIS                  DC     90012576893
519B2821A4B588   CANAAN            WHITE                   OK     90010648210
519B2A9565758B   MARIBEL           MORENO                  NM     90005350956
519B2AA9A5B393   SARAH             WITHAM                  OR     90014710090
519B3155184373   GABRIELLE         COX                     SC     90007881551
519B3732791895   RICKEY            ARTHUR                  OK     90012567327
519B387524B521   STEPHANIE         HULL                    OK     21520658752
519B43AA25B283   CATINA            DEMPS                   KY     68016153002
519B498775B393   JERRY             BUENO                   OR     90004169877
519B49A6161975   ERIC              GODINEZ                 CA     90007239061
519B534328B323   TONY M            HOOD                    NC     11070663432
519B5344591895   AMBER             FERGUSON                OK     90012983445
519B561655B393   JOSE              CARRASCO                OR     44555916165
519B5683A72B36   SARAH             WHATLEY                 CO     90005386830
519B589234B29B   JOHN              DEANG                   NE     27017368923
519B593764B588   CONNE             JORDAN                  OK     90010529376
519B623425758B   ADAM              GUTIERREZ               NM     90012722342
519B6256172B88   MARIA             AGUILAR                 CO     33040772561
519B665A372B42   JANA              SCHLOGEL                CO     90012496503
519B6846572B36   KAROLYN           HAMMERMEISTER           CO     90011938465
519B687524B521   STEPHANIE         HULL                    OK     21520658752
519B6961933696   CURTIS            PIERCE                  NC     90013509619
519B7342372B31   MARTIN            JOHNSON                 CO     90014143423
519B7559761973   MARKO             JOHNSON                 CA     90010205597
519B7A8515B387   JOSEPH            MARKEL                  OR     44588180851
519B811565715B   ANA               GRANDE                  VA     90011241156
519B915434B588   ROBERT            BROWN                   OK     90012891543
519B949794B28B   RASMIA            KHALAF                  NE     90014534979
519B94A7661975   JOSE              PEREZ                   CA     46052714076
519B955755B393   TERESA            RUIZ                    OR     44568705575
519B989338B169   KRIS              KLEVEN                  UT     31020148933
519BB3A234B588   CRYSTAL           BROWN                   OK     90015303023
51B11617884357   JAMISON           GREENE                  SC     90000926178
51B1182214B588   JAMES             ADDERLEY                NC     90012518221
51B12412871964   JONATHAN          SANCHEZ                 CO     32090174128
51B1258A691576   ANABEL            JIMENEZ                 TX     90004015806
51B12663433696   ASHELY            HILL                    NC     90007216634
51B126A514B588   JASON             HUXLEY                  OK     90010486051
51B129A915715B   ALEJANDRO         LOPEZ                   DC     90014979091
51B12A45A5715B   JOSE              RODRIGUEZ               VA     90012690450
51B12A7435B387   TRAIAN            VERNYIKA                OR     90012750743
51B13294A91576   NORMA             PALACIOS                TX     75043612940
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51B13339572B27   AMINDRA        VARGAS                     CO     90007553395
51B1373415B531   KARYNHONG      NGUYEN                     NM     35072597341
51B1381735B393   SEBASTIAN      LAVERT                     OR     90015118173
51B1383784B588   DONALD         CLEMENTS                   OK     90012518378
51B1391982243B   WANDA          SLATER                     IL     90002259198
51B13966161973   RICARDO        ESCAMILLA                  CA     90012339661
51B1452235B393   OLI            ENESI                      OR     90014645223
51B14A3275758B   GUADALUPE      CRUZ                       NM     90014920327
51B15266572B67   PATRICIA       ACEVEDO                    CO     90012152665
51B1529394B521   SALVADOR       ACOSTA                     OK     90007282939
51B15429291895   CAMERON        FORREST                    OK     90015284292
51B15499191576   MARLYN         GARCIA                     TX     75086294991
51B1562AA57157   MELISSA        MONROE                     VA     90010016200
51B15874451348   ROBERT         PHILPOT                    OH     66022048744
51B1591175758B   ARACELY        PARRA                      NM     90013459117
51B1623617B46B   BETHY          MATUTE                     NC     90012672361
51B163A4551348   WENDY          LOCKE                      OH     90013783045
51B16538372B67   KATY           HENDERSON                  CO     90012485383
51B16A74691895   AMYULLE        REED                       OK     90009490746
51B17141757148   SALOMON        REYES                      VA     90012751417
51B17385461973   ALFREDO        HINOJOSA                   CA     90012953854
51B17841972B27   ROBERT W       MATTHEWS                   CO     90002438419
51B181A9691895   AMBER          CLEVELAND                  OK     90009441096
51B1829418B169   WILLIAM        BLUE                       UT     90013512941
51B18318691989   YENINA         HECK                       NC     90014743186
51B1839754B588   MAKAYLA        BROADOUS                   OK     90014643975
51B18A12972B36   JULIO          HERNANDEZ                  CO     33009110129
51B18AA5584357   TONYA          BLAKE                      SC     90012070055
51B193A3A84373   CHEYENNE       COLWELL                    SC     90012873030
51B19677872B49   HEATHER        HOLT                       CO     33028656778
51B196A398B169   TRAVIS         MENDOZA                    UT     90008206039
51B1B171284357   BARBARA        WHITE                      SC     90005411712
51B1B443933699   CHRISTINE      ROGERS                     NC     90014674439
51B1B71A15B387   SCOTT          CURRY                      OR     90002197101
51B1B849172B49   JOSEPH         SATURINO                   CO     90010328491
51B1B9A7772B36   ADRIANA        INZUNZA                    CO     90012619077
51B21213361975   LAURA          GUZMAN                     CA     90012362133
51B212A5861975   RENZZO         RAMIREZ                    CA     90010662058
51B212A645758B   CONNIE         RAMIREZ                    NM     90013032064
51B21438461971   ANTONIO        GONZALEZ                   CA     90002644384
51B221A395B543   MONICA         SENA                       NM     90002901039
51B22391591989   JIMMY          KAMARA                     NC     90009853915
51B22423171964   RHONDA         SMITH                      CO     32043724231
51B22734185862   JANINE         WAGNER                     CA     46018897341
51B2277465B531   LEONA          MALDONADO                  NM     35015727746
51B228A9672B67   AJAI           FRANKLIN                   CO     90004038096
51B2294334B28B   VANESSA        SONNENFELD                 NE     90013619433
51B23479272B34   BEGNER         HERNANDEZ                  CO     90014814792
51B237AA44B588   MICHAEL        WALLACE                    OK     90010487004
51B23A12733696   STACIE         SPEASE                     NC     90010980127
51B24382184373   AMY            WERNER                     SC     90001533821
51B24546772B88   FERNANDO       DIAZ                       CO     33065665467
51B2511A933699   JUAN           GONZAIEZ                   NC     90014901109
51B2522772B862   JESSI          JOHNSON                    ID     41098402277
51B25235872B43   AONIE          MCGINISTER                 CO     33084742358
51B25493572B36   TIRZO JAVIER   LUCERO                     CO     90013744935
51B25841884357   HUMBERTO       VASQUEZ                    SC     90006808418
51B25A2445715B   BETTY          ESPINAL                    VA     90014920244
51B26287272B58   RYAN           ECKLER                     CO     90015132872
51B265A7672B88   MANUELA        RUBIO                      CO     90008965076
51B26937561973   CECILIA        STORY                      CA     90009659375
51B26A76484373   BRIDGETTE      WALKER                     GA     90011280764
51B27245491895   DON            FOSTER                     OK     90009632454
51B27611184373   IESHA          BURRIS                     SC     90015106111
51B2784915B387   TIM            TYNAN                      OR     44523868491
51B2795824B28B   VANESSA        SONNENFELD                 NE     90013619582
51B28125672B49   PATRICIA       PRATT                      CO     90008451256
51B28462491576   VIRGINIA       PEREZ                      TX     90011294624
51B284A164B29B   BENJAMIN P     KIMBALL                    NE     90006944016
51B29288172B88   JUAN           CENICEROS                  CO     33043662881
51B29315172B49   ANDREA         SUE-PRIBYL                 CO     33013713151
51B295A3841271   RILEY          REDMAN                     PA     51017175038
51B29967561967   MARIA          DOMINGUEZ                  CA     90000279675
51B29991551348   JILL           MARCUM                     KY     90008989915
51B2B34497242B   MICHAEL        DERBY                      PA     90012553449
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51B2B44588B169   CHERRISH        C LARSEN                  UT     90009144458
51B2B585691989   SHANA           BROOKS                    NC     90013965856
51B2B63215715B   EDWARD          KARGBO                    VA     81079836321
51B2B72A77B46B   ANGELA          FOED                      NC     90013447207
51B31684151348   PHYLLIS         PERRY                     OH     66017956841
51B31785771964   CATHERINE       SIDOR                     CO     90002937857
51B32241761975   ADELINA         GUTIERREZ APT 108         CA     90012852417
51B32459784357   MARCHE          CHISOLM                   SC     90006124597
51B32549357148   JOSE RICARDO    PINEDA                    VA     90003245493
51B32983A5715B   OSCAR           SANTOS                    VA     90014909830
51B335AA55758B   RITO            VEGA                      TX     90010825005
51B33A97561988   MARIO           JIMENEZ                   CA     90009440975
51B34243572B43   ANITA           BENAVIDES                 CO     90009052435
51B34AA815B531   HECTOR          REGALADO                  NM     35007140081
51B35228172B43   ANTONIO         VARGAS                    CO     33082142281
51B35631685862   BRYAN           BARSOOM                   CA     90012826316
51B35656372B49   THOMAS          JACKSON                   CO     90012156563
51B362A947B46B   SOMPHOT         PHOMSOPHA                 NC     90004872094
51B36365572B27   FAITH           CRAIG                     CO     90009293655
51B36411A57157   KWAME           ALEXANDER                 VA     90008954110
51B366A9371964   GRAIG           PARENTILA                 CO     90001936093
51B36762957148   JOHN            LAIRD                     VA     90013807629
51B36A37597B77   LEEVI           ALVAREZ                   CO     90010070375
51B37291185928   LEA             CYPHERS                   KY     90009432911
51B37347384357   LASHAWN         REYNOLDS                  SC     90011603473
51B37476A4B588   ABD ALRAHMAN    ARRAR                     OK     90012414760
51B39264761975   CAMELIA         RODRIGUEZ                 CA     90009122647
51B3959625B393   MARYANNE        MONCIVAIS                 OR     90014645962
51B3963A857148   RAUL            FLOREZ                    VA     90003246308
51B3982812B862   ROSHAWN         RANDALL                   ID     41016438281
51B3991824B588   DAVID           HUFFMAN                   OK     21596369182
51B39993A85928   IDDI            KAUMBA                    KY     90014919930
51B39A92851348   BIANEY          CRUZ                      OH     90000540928
51B3B181A2B27B   CECE            ELIZEBATH                 DC     90012881810
51B3B5A6A72B36   KATRINA         RUFF                      CO     33049285060
51B3B792161973   SYLVESTER       WIGGINS                   CA     90000127921
51B3B87374B23B   JAROD           HEADY                     NE     27095378737
51B41266A7242B   CHRIS           KUSTRA                    PA     90002682660
51B41324585862   DHEERAJ KUMAR   PASUPULA                  CA     90011473245
51B4198A65B393   JOSE            SOTO                      OR     90010649806
51B41A61357148   JACKELINE       ZAVALA                    VA     90013840613
51B4238A44B588   JENETTA         GUERNEY                   OK     21513743804
51B42533572B36   EDUARDO         RAMOS                     CO     33000875335
51B4312748B169   ANDE            GOINS                     UT     90014571274
51B43217A76B41   BRUCE           SWARTZ                    CA     90012112170
51B4327567B46B   CURTIS          WALKER                    NC     11094152756
51B43395771964   MATTHEW         CARTER                    CO     90003153957
51B43665A33699   MEKA            BROWN                     NC     90009666650
51B43744784373   ALEJANDRA       MANDUJANDO CERVANTES      SC     90010267447
51B437A7351348   JAMIE           FRAZIE                    OH     66095197073
51B4394835B531   ELSA            VELETA                    NM     35003149483
51B4395A576B53   CANDIDO         SORIA                     CA     90011229505
51B4396A14B588   ZANDRIA         WHITFIELD                 OK     90001189601
51B44215491989   PAMELA          WORLEY                    NC     90002372154
51B44238633699   LEVONZY         MILLER                    NC     90015302386
51B444A9731428   ANGIE           DURHAN                    MO     90006364097
51B44644191576   PATRICIA        DELGADO DE LICON          TX     90013526441
51B44674561971   MARIA           CAMARENA                  CA     90014006745
51B4495265758B   ESTRADA         RICARDO                   NM     90007879526
51B44979857157   LUIS            REYES                     VA     90010789798
51B44A74997B77   THEODORE        RYBUS                     CO     39016720749
51B4617A272B36   JAYSON          HIGGS                     CO     33087341702
51B46927857157   RON             BAILEY                    VA     90014359278
51B47119985862   LAURA           EGEA                      CA     90014601199
51B4716A34B588   JAMES           SHORTBEAR                 OK     90015221603
51B47465A84357   SHAKYRA         SAUNDERS                  SC     90008444650
51B4762687B46B   PATRICA         MCMURRAY                  NC     90013036268
51B476A2972B49   SHERITA         CARAWAY                   CO     33091086029
51B476AA25B538   MICHAEL         KUYKENDALL                NM     90007656002
51B47A6A791989   ROBERT          GRAHAM                    NC     90015210607
51B4835128B169   JAIME           VIGIL                     UT     90003863512
51B4899824B588   ANDREA          GODINEZ                   OK     90007909982
51B49347842335   BAILEY          MCMADD                    TN     90015443478
51B4953A64B588   SARA            SPANGLER                  OK     90015035306
51B4959A17B46B   AMANDA          TATE                      NC     11074335901
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51B49642644363   JASON          WARNER                     MD     90015386426
51B49A58272B49   RANDY          MEDINA                     CO     90009280582
51B4B226691989   CARRIE         JOHNSON-DOBBS              NC     90010412266
51B4BA45361973   DESIREE        ARREOLA                    CA     46080580453
51B51112A4B588   AALIYAH        AGUIRRE                    OK     90015081120
51B5113235B393   GERMAN         SILVA CALDERON             OR     90015101323
51B51464361975   ANA            ARCE                       CA     46053044643
51B5289A697B77   MICHELLE       BROWN                      CO     90014238906
51B52AA5461973   YADIRA         DELOSSANTOS                CA     90012340054
51B5318AA33699   TAMMY          WALLACE                    NC     90013491800
51B5334238B169   FAWN           BRADSHAW                   UT     90007653423
51B5372678B169   KRISTOPHER     ORAM                       UT     90014707267
51B53748257157   MANUAL         SANTOS                     VA     90009767482
51B537AA27242B   WILLIAM        PRITTS                     PA     51066977002
51B538A4124B7B   VICTORIA       LEWIS                      DC     90011028041
51B5417A74B28B   JENNIFER       RUPERT                     NE     26092941707
51B54183161971   HERLINDO       CORRAL                     CA     90001291831
51B5425585B387   SUSAN          DELVIN                     OR     90012032558
51B54263233699   RAYNELL        THRIFT                     NC     12006072632
51B5429992B967   SALVADOR       SILVA                      CA     90006762999
51B5489A95B393   CYNDI          REED                       OR     90010018909
51B55742A85928   DOROTHAY       GATESKILL                  KY     90014927420
51B55937772B36   ASHLEY         GARCIA                     CO     90010619377
51B55A3444B588   AIDE           BARRITA                    OK     21512110344
51B55A89691576   ALVARO         SALAZAR                    TX     75095600896
51B55AA7572B77   ALICIA         LOPEZ                      CO     90004430075
51B56761651348   HEATHER        ROBERTS                    OH     66089667616
51B57241861973   JAIME          GARCIA                     CA     90012522418
51B57374872B49   JESUS          RUELAS                     CO     90010383748
51B57539791895   JUAN           STEDHAM                    OK     21057445397
51B5771855715B   AARON          PEREZ                      VA     90010677185
51B5773985758B   MARIO          JIMENEZ                    NM     35518177398
51B57819558577   JOSLIN         MCCOY                      NY     90013408195
51B57A11491989   JEREMY         BLACK                      NC     90014230114
51B5811395B531   MATT           GUSTAFSON                  NM     35081021139
51B58655331429   HOLLY          PETTY                      MO     90008646553
51B58864384357   VIRGINIA       GLEN                       SC     90012388643
51B58898A91895   KENNETH        CROWLEY                    OK     90010168980
51B58913333696   THUON          SIN                        NC     12084589133
51B5913177242B   DEANDREA       SENICA                     PA     90015191317
51B59788684373   MICHELLE       CROSS                      SC     90011087886
51B59975572B49   JORGE          MARTINEZ-QUEZADA           CO     90004149755
51B5B279461973   ISIDRO         FLORES                     CA     46006112794
51B5B518472B49   CHRISTINA      MARTINEZ                   CO     33023465184
51B5B884784373   ROBERT         DUVUQUE                    SC     90007718847
51B5B93512B27B   ANDREW         MEYER                      VA     90001139351
51B6115925B561   JACKLYN        GURULE                     NM     90011711592
51B61549185957   RACHEL         TOWNSEND                   KY     67008595491
51B61562684373   FELIX          GUTIERREZ                  SC     90015465626
51B6156A284357   PATRICIA       OROCCO                     SC     90013065602
51B61692191576   RYAN           GIANNI                     TX     90013886921
51B6191455B387   EDITH          AVILA                      OR     44526959145
51B62341261973   LAURA          JOHNSON                    CA     90007893412
51B6242A361975   MARIA          MENTERIO                   CA     46096704203
51B62514384373   THESSALONIAN   DIXON                      SC     90014225143
51B62539443522   JARED          DOMAN                      UT     90009935394
51B6276255B387   ARTENT         ROSS                       OR     90008597625
51B62AA4A61971   VERONICA       SOTO                       CA     90010310040
51B63664491989   JENEE          MATOS                      NC     90005496644
51B63669376B71   CARMELINA      IGNACIO                    CA     90001836693
51B6382A17B46B   ANDREW         VAN ORDER                  NC     90009218201
51B63918251348   DIANA          SANTANA                    OH     90015119182
51B64241631436   CAROLYN        COTTON                     MO     27569592416
51B64393172B43   EDITH          PERDOMO                    CO     33072083931
51B64398198B2B   CATHY          FARMAR                     NC     11074693981
51B64413657157   SAMUEL         RIVERA                     VA     81021094136
51B6451284B588   STEVEN         COKER                      OK     90013655128
51B64718261971   JOSH           CORNELL                    CA     90012757182
51B65293926222   NICHOLAS       RUMMEL                     WI     90015532939
51B654A3957157   MATTHEW        MOSS                       VA     90015344039
51B65935272B49   ANDREW         RODRIGUEZ                  CO     33077789352
51B65A24251348   JOSH           MADDEN                     OH     90014250242
51B6615264B588   VICKI          WINGO                      OK     90012801526
51B6679935B393   YAIR           PACHECO                    OR     44594517993
51B6713355B393   DAVID          SARMIENTO                  OR     90014141335
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51B67435472B49   CONAN         CABRIALEZ                   CO     90014354354
51B6781765715B   MELVIN        BENITEZ                     VA     90012698176
51B67A12461973   SHEILA        ZAMORA                      CA     90012870124
51B68187751348   MICHAEL       TAYLOR                      OH     66039091877
51B68218672B43   NIKOLAOS      KOUTROULOS                  CO     90010692186
51B6861795B393   CHRIS         LOWRY                       OR     90014646179
51B6867818B169   COURTNEY      SCHAKEL                     UT     90011456781
51B68799184357   BELLA         MARX                        SC     90013757991
51B68827185862   ALEXIS        CANO                        CA     90009098271
51B68A84391895   CONNIE        PRINGER                     OK     90005660843
51B69132972B27   TIFFANY       RHINES                      CO     90013591329
51B69331A61975   SARAH         HECOX                       CA     90012263310
51B69334272B36   ELSA          GAMBOA                      CO     33040783342
51B6934A87B35B   CHRISTOPHER   ESCOE                       VA     90006013408
51B6943744B29B   SUSANA        HERNANDEZ                   NE     90008554374
51B6962295B393   ANA ROSA      SANCHEZ LOPEZ               OR     90014646229
51B6986335758B   ANNA          MELENDEZ                    NM     35512248633
51B6B29315B531   MARGARITA     PARGAS                      NM     90009382931
51B6B339972B27   PEARL         MARSHBANK                   CO     33086733399
51B6B59845B531   TERRI         RODRIGUEZ                   NM     90014495984
51B6B756361971   WISAM         ALLAHWERDI                  CA     46024077563
51B6BA49891576   MARISOL       SILVA                       TX     90009070498
51B71272172B49   MANUEL        PAEZ                        CO     90014892721
51B7148A291576   MARINA        ROSALES                     TX     90010704802
51B71738A7242B   SONJA         MCCUTCHEON                  PA     90008007380
51B7175745715B   CARROM        INGLETON                    VA     90001667574
51B72234272B49   ALBERTO       ROQUE                       CO     90010632342
51B72425172B36   MICHAEL       JONES                       CO     90004804251
51B72769357157   OKOE          LAMPTEY                     VA     90014887693
51B72872772B77   CESARIO       MARTINEZ                    CO     90007458727
51B72964784373   LATERRA       HUTCHINS                    SC     90015059647
51B72A7472B27B   RUDY          SMITH                       DC     90014840747
51B72A7A75B531   LORRAINE      CHASE                       NM     35084780707
51B73627372B43   TYLER         WILLS                       CO     90008886273
51B73678972B67   NICHOLAS      PINE                        CO     90004526789
51B7377177242B   TYRONNE       ANDERSON                    PA     90013417717
51B7377A457157   IRMA          GARAY                       VA     90014887704
51B73967533696   Y SUOM        NIE                         NC     90010799675
51B74367285862   FIDEL         RIVERA                      CA     46055013672
51B75128372B43   JOSEPH        KING                        CO     90012731283
51B75219757148   ZAKRY         HUMMEL                      VA     90013892197
51B75262A61971   MARIBEL       CARDOSO                     CA     90012672620
51B75358261973   ALEX          LEYUN                       CA     90003303582
51B76323651348   VOLLINA       ADKINS                      OH     90004693236
51B7641235B531   AURORA        RODRIGUEZ                   NM     35051834123
51B76618572B49   SYLVIA        MBUGUA                      CO     90012776185
51B7665444B521   MICHELLE      RAMSEY                      OK     90009366544
51B76768361975   ALEXANDRIA    HASSAN                      CA     90010767683
51B76A29A91576   FERNANDO      TARANGO                     TX     90011350290
51B77129576B41   KELLY         ALPERS                      CA     46081221295
51B773A5A91576   JOSE          GONZALES                    TX     90009763050
51B7747A698B2B   LISA          JORDAN                      NC     11034034706
51B775A6A8B169   SHANEL        HICKS                       UT     31087575060
51B77687557148   FRANCISCO     RAMIREZ                     VA     81063086875
51B78268172B67   CELESTE       NICHOLS                     CO     33029292681
51B78515685862   BRION         CAMPBELL                    CA     90014915156
51B78649A72B36   ANTHONY       MADRID                      CO     90009606490
51B78957572B27   DANA          BLACKMON                    CO     90013399575
51B78A2268B169   VELMA         CARTER                      UT     90007450226
51B792A2661975   JOHN          ANTOL                       CA     90009392026
51B7938447B46B   CARLY         HAIGLER                     NC     11039063844
51B79435985928   SIBONA        HALI                        KY     90013914359
51B79974997B77   JENNIFER      CASTANEDA                   CO     39008579749
51B79A95272B43   TINA          HUDSON                      CO     90012190952
51B7B222872B49   MARIA         PACHECO                     CO     33043772228
51B7B67285B393   EMMA          CHAVEZ                      OR     44538066728
51B7B848785862   AIOTEST1      DONOTTOUCH                  CA     90015128487
51B7B9A2384373   RAVEN         ROBINSON                    SC     90015149023
51B8116925B393   ROBERTO       MATEO                       OR     90010281692
51B81461272B36   GLORIA        LEDESMA-GURROLA             CO     33086864612
51B81472491989   DARRELL       GRIGGS                      NC     90014784724
51B81499671964   ELLA          WILLIAMS                    CO     90006504996
51B81629797B77   ADAM          HUNZEKER                    CO     39069086297
51B81642A51348   KADE          TAYLOR                      OH     90013546420
51B81771191895   CHARLES       RAY                         OK     90014397711
   Case 3:19-cv-07270-WHA Document 408-1 Filed 03/23/22 Page 2277 of 2350


51B8232AA8B821   DAVID          TILFAS                     HI     90012203200
51B8238A472B49   JAMES          LEE                        CO     33001353804
51B826A9672B67   DEONNA         TRUJILLO                   CO     90011506096
51B82873272B43   FRANCISCO      REYNA                      CO     33040288732
51B83472491989   DARRELL        GRIGGS                     NC     90014784724
51B83566457148   ELENA          ZELAYA                     VA     90010385664
51B83889757157   QUATEASE       TANN                       VA     90011018897
51B84179457153   TOMAS          SANCHEZ                    VA     90008881794
51B8589735B399   AUSTIN         FISHER                     OR     44538448973
51B8646675B531   BEATRICE       COLASCO PULIDO             NM     90003874667
51B86722161975   ANA            AVALAGOMEZ                 CA     90008077221
51B86931185862   MARK           VANDENBERG                 CA     90014539311
51B87171A84357   RENNE          REESE                      SC     90011301710
51B87264172B36   LINCOLN        CARR                       CO     90010372641
51B87394661971   TIMOTHY        AKENSON                    CA     90013403946
51B8774125B531   JOSHUA         GAMBOA                     NM     90011117412
51B8776A94B28B   CINDI          CHENAULT                   NE     90014567609
51B87A35172B43   INGRID         ALVAREZ                    CO     90014380351
51B88259185862   FRANCISCO      VARGAS                     CA     46069302591
51B88422A72B49   CLEOTILDE      ROLL                       CO     90012864220
51B88A62A4B29B   JOSH           RICHARDSON                 NE     27013330620
51B88AA8661973   ANGELINA       HOANG                      CA     46059750086
51B89411857157   SUFIAN         BUNDU                      VA     90004104118
51B894A315B393   RUBY           PEREZ                      OR     44590854031
51B89548A5B387   CHRIS          FOSS                       OR     90005905480
51B89617691895   LUIS           MONTES                     OK     90011456176
51B8966AA61973   JESSE          MURGUIA                    CA     90014886600
51B8993154B28B   CRYSTAL        GUILLIAMS                  NE     26041519315
51B8999147B46B   JULLIAN        ERVIN                      NC     90014119914
51B89A2487242B   ROBERT         RICHEY                     PA     90000270248
51B8B14A961971   AMBER          PEKELDER                   CA     90004181409
51B8B27643B387   PATRICIA       ROSAS                      CO     90011582764
51B8B31A44B588   NAILA          GARCIA                     OK     90010663104
51B8B66615715B   MIGUEL         MEDRANO                    VA     90011496661
51B8B688185928   KESHA          TURPIB                     KY     90013326881
51B8B737791576   SAUL           CORTEZ                     TX     75088957377
51B8BA93972B88   JESSICA        WIRTH                      CO     33004370939
51B91729284373   ALPHONZO       WILLIAMS                   SC     90014887292
51B9173A472B49   RENNE          SANDOVAL                   CO     90013237304
51B9193A491989   JASMINE        PIRTLE                     NC     90014819304
51B9195734B28B   KRISTY         KROGH                      NE     26057959573
51B9264165B387   MELREN         PICHON                     OR     44563026416
51B9272145715B   RIDE JOHELY    GALO                       VA     90004547214
51B92776372B36   RENEE          RYAN                       CO     33095747763
51B928A6361973   VANESSA        CARDENAS                   CA     90014108063
51B92A95A91989   JOSE           RAMIREZ                    NC     90014840950
51B93267A72B49   WHITLEY        DELAROSA                   CO     90014682670
51B93349157124   CESAR          SANCHEZ                    VA     90004893491
51B933A2A5715B   HABIBUR        ABBASI                     VA     81062993020
51B9355A557148   LUIS ENRIQUE   MEJIA                      VA     90013935505
51B93619784373   MALLORY        MUNSEY                     SC     90015106197
51B93882172B36   TYLER          BOHN                       CO     33096038821
51B94149791576   ISMAEL         GONZALES                   TX     90014831497
51B94535A8B169   VANESSA        SALAZAR                    UT     90014365350
51B94991855951   VIKI           MILLER                     CA     90015159918
51B95137572B49   ALMA           GUZMAN                     CO     90012921375
51B9564474B559   SARINDA        MUELLER                    OK     90009966447
51B95A63A5758B   CRISTAL        MISQUEZ                    NM     90013980630
51B96313257148   JOSE           LOPEZ                      VA     90010363132
51B96331984373   BECKY          HALL                       SC     90014783319
51B96344361973   CUAHTEMOC      ORNELAS                    CA     90014463443
51B9715A85B393   TROY           ERKENBECK                  OR     90007081508
51B9753155B387   TYLER          KAHNERT                    OR     44506205315
51B97735357148   ORLANDO        MCKETHAN                   VA     90013937353
51B9813365B387   MARIA          RAMIREZ                    OR     90015041336
51B9837332B245   ELAN           MANSARAY                   DC     90001253733
51B984A3A91576   CRISTYNA       BUJANDA                    TX     75091054030
51B98522A4B588   MELISSA        ROWAN                      OK     90015115220
51B99322857148   MIRIAN         ALVERTO                    VA     81040033228
51B99AA8885928   DORENE         GARR                       KY     90005850088
51B9B42227B46B   CONSTANCE      MENDENHALL                 NC     90014934222
51B9B463433699   ROBIN          WILLIAMS                   NC     90012224634
51B9B73464B28B   DIANNE         PLUHACEK                   NE     90010297346
51B9B963484357   HARLEY         BROWN                      SC     90014479634
51BB114944B588   JESSICA        ALVARADO                   OK     90013851494
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51BB1189A91989   TAMMI        MCCURRY                      NC     90013961890
51BB126A64B588   JOSE         CRUZ GUARDADO                OK     90013242606
51BB151294B28B   ABELWAHAB    AWAD ELKARIM                 NE     90010465129
51BB154385B387   WILLIAM      PIERCE                       OR     44578155438
51BB2187272B27   KESHIA       LOCKHART                     CO     90011531872
51BB2189A91989   TAMMI        MCCURRY                      NC     90013961890
51BB2359157157   BRANDON      MILLER                       VA     90006693591
51BB2382891347   TERESA       MALDONADO                    KS     90003833828
51BB247A87242B   MICHELLE     WAIBEL                       PA     51077584708
51BB2888991576   RAFAEL       RAMIREZ                      TX     75065788889
51BB2932498B2B   BYNUM        GRIER                        NC     90007879324
51BB3189A91989   TAMMI        MCCURRY                      NC     90013961890
51BB3373633699   SHERIKA      MCKENZIE                     NC     12072963736
51BB3668872B77   JAIME        MONCADA                      CO     33017996688
51BB36AA851348   JACKIE       HANEY                        OH     66000546008
51BB379555B393   DAWN         FROGGATTE                    OR     90000287955
51BB41A395B531   MARIBEL      ESPINOZ                      NM     90007781039
51BB41A7433699   JAIME        CHAPMAN                      NC     12017351074
51BB4342A5B543   RODNEY       KING                         NM     35016473420
51BB4445798B2B   TIFFANY      DUNN                         NC     90003244457
51BB5457A8B183   KARLA        MURO MARTINEZ                UT     90008844570
51BB549A95B531   DANIELLE     RODRIGUEZ                    NM     90012324909
51BB567722B862   SUE          BIONDI                       ID     41045256772
51BB5A9675593B   ANGELES      BENITEZ                      CA     90013560967
51BB6616A85862   JORGE        LARES                        CA     90014376160
51BB6759761973   GLORIA       GAXIOLA                      CA     46084357597
51BB7348257157   ALBERTO      CERUANTOS                    VA     81059593482
51BB7534672B36   VANESSA      MARTINEZ                     CO     33052145346
51BB795755B387   MARY         PULIS                        OR     44517639575
51BB85A9A61975   ADIAN        CASPER                       CA     90010505090
51BB8826791895   ANGELA       WALLS                        OK     90015228267
51BB8A44172B49   ISMAEL       CASTORENA                    CO     33012820441
51BB9213991576   CESAR        FLORES                       TX     75025142139
51BB932A185862   ALEXANDRIA   RILEY                        CA     46054983201
51BB941AA84373   KORNICKI     GALLASHAW                    SC     90014044100
51BBB39935B387   DANIELLE     SMITH-SWANSON                OR     90014873993
51BBB3AA34B28B   KAREN        R STRAW                      NE     90007703003
51BBB625851348   CRYSTAL      MALICOAT-THOMAS              OH     90012636258
51BBB9A9251348   RHONDA       WILLIAMS                     OH     90014559092
51BBBA3188B145   MIKE         CALL                         UT     31034980318
52111294A61965   SONIA        GASCA                        CA     46086662940
5211143A584357   SHENEAKA     LOFTIES                      SC     90013904305
521115A6584357   JASMINE      STUBBES                      SC     90015475065
5211177574B588   DAIVD        MURRAY                       OK     90010197757
5211192185B531   ROSA         CARO                         NM     90010329218
52111A8292B27B   JUICY        K                            DC     90009920829
52112454872B88   LYNN         SARGENT                      CO     90007864548
5211299215B34B   FERNANDO     LOPEZ BENITEZ                OR     90011789921
52113314A5B399   HUMBERTO     LOPEZ                        OR     90008573140
52113914472B36   JOHN         LEE                          CO     90013989144
5211447915B531   ALISSA       SEARBY                       NM     35043104791
52114552497B54   MEGAN        PESINA                       CO     39080445524
52114A39485928   MAURICETTE   ALLEN                        KY     90004610394
52114A81391895   JEFFEREY     SAMS                         OK     90011150813
52115A56772B88   MURRY        RUNNELLS                     CO     90003230567
5211652A272B27   AMY          MORALES                      CO     33012855202
52116554172B77   GINA         PACHECO                      CO     33060705541
5211658975758B   MARIBEL      CARNERO                      NM     90013865897
52116727A4B521   MIGUEL       VASQUEZ                      OK     90008657270
521167A3933157   LETICIA      TORRES                       IL     90013597039
52116911197B3B   KELLEY       MAHONEY                      CO     90011589111
52116946A91892   DAVID        ECHEUARRIA                   OK     90010859460
5211737A65B283   TAI          FITZGERALD                   KY     90005463706
521177A5472B77   DALILA       GARCIA                       CO     90007387054
52117945997B54   KAYLA        MORAN                        CO     90012849459
52117A1527B46B   ROBERT       GILMORE JR                   NC     11029670152
52118163A61971   MICHAEL      AHRENS                       CA     90005601630
5211844285B531   DORTHOY      BACA                         NM     35037204428
52118733524B7B   JUAN         TUM                          VA     90006017335
521191AA95B387   VICKI        ZIEBART                      OR     44580511009
5211956684B521   KRISTINA     JOHNSON                      OK     90006815668
52119A53751348   LAURA        HASKINS                      OH     90004940537
5211B219A5715B   ISAI         GONZALEZ                     VA     90001922190
5211B99668B169   PARIS        FRANCO                       UT     90010029966
5211BA53357157   MALYAN       HENRY                        VA     90002290533
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5212111364B521   ROSA          REYES                       OK     90014181136
5212132A55758B   RUBY          HERNANDEZ                   NM     90002333205
521213A9957157   LEYDI         FLORES                      VA     90014003099
521218AA75B399   JOHN          JOHNSON                     OR     90014078007
521224A5161973   RUTH          DICKER                      CA     46029904051
5212336225B387   SANTOS        UZ DZUL                     OR     90003093622
5212371864B588   KATIE         NOLAND                      OK     90000457186
5212452388B169   MELISSA       GARCIA                      UT     90011365238
52124A18698B2B   ROBERT        CUTRIGHT                    NC     11018020186
52126134997B54   HENRY         AGUILAR                     CO     90013361349
52126543A5758B   BELINDA       VILLEGAS                    NM     35588555430
5212683965715B   MARVIN        SANDOVAL                    VA     90011828396
52127468372B77   GINA          MARQUEZ                     CO     90002394683
52127548898B2B   DIANA         DIAZ                        NC     90005385488
52127718A4B588   OLGA          RIOS                        OK     90010707180
52128A74591895   CHRISTOPHER   MILLER                      OK     90013100745
52129439A4B588   BRIANNA       BRIGGS                      OK     90015084390
5212974858B169   VICTORIA      PENDLEY                     UT     90002527485
5212983A74B28B   RHONDA        BOTHE                       NE     90004378307
5212984575B399   BRIAN         LEMING                      OR     90013258457
5212B11A691535   IMELDA        MARTINEZ                    NM     90009311106
5212B964A5B399   SETPHANIE     HAMAKER                     OR     90001129640
52131648824B51   JC            RIVERS                      DC     90008336488
5213272365B399   STANLEY       PIETRZAK                    OR     90005457236
52133394824B7B   EULVENA       SWANN                       DC     90009923948
5213359A791895   MARLON        CRUZ                        OK     90011235907
52133792572B49   MICHAEL       EVANS                       CO     90002497925
5213388295715B   ROY           ROBINSON                    VA     90011828829
52133A71981658   JESSIE        RIVERS                      MO     90013550719
5213423787B46B   JESUS         JIMNEZ                      NC     90006532378
5213437A272B43   SAENGKHA      PHAN                        CO     90012483702
52134A9A251348   RACHID        VILLARROEL                  OH     90012120902
52136131472B27   HEATHER       GONZALEZ                    CO     90009731314
52136147597B54   EDITH         RAMIREZ                     CO     90002401475
521361A384B521   REGGIN        MORRIS JR                   OK     21581371038
521379A5472B88   JACOB         N PEREA                     CO     90010519054
521381A5591895   AMANDA        BENEDICT                    OK     90011151055
5213841A14B521   JAZZMON       BROOKS                      OK     90009614101
5213845698B169   MICHELLE      BERRETT                     UT     31088474569
521388A922B27B   FLAYIE        NDJIYA                      MD     90002418092
5213989874B521   THURMAN       COLBERT                     OK     90014168987
5213BA47331676   HANSEL        MANN                        KS     90002640473
5213BA57491587   MERCEDES      LOPES                       TX     90007450574
52141564198B2B   ALEKO         SBOUKIS                     NC     11018025641
5214166944B588   MELISSA       ROY                         OK     21535726694
5214177177B46B   BLONDELL      WOFFORD                     NC     11012397717
52141915397B54   CAROLYN       WERTZ                       CO     39004679153
5214193A44B521   NICOLE        WINSTIN                     OK     90014169304
521423A385715B   SUCELI        MAZARIEGOS                  VA     81057433038
5214267445B387   BERTHA        GARCIA MARTINEZ             OR     44520876744
5214323154B588   TILESHA       THOMPSON                    OK     90010892315
52143324A61971   KIA           PIERSON                     CA     90014923240
52143568572B36   FELISA        MACK                        CO     33001845685
5214364A85B399   BERNARD       JAPS                        OR     44535926408
5214398534B521   SLEEPYEYE     LA FROMBOISE                OK     90014169853
52143A9958B169   CARLOS        ZAMORA                      UT     31001370995
5214413158B169   HEATHER       COTTAM                      UT     31037981315
5214466195B393   TASHA         MEYER                       OR     90010486619
5214498A997B54   MARVIN        AJPACAJA                    CO     90015169809
521449A5961971   ZACK          JACKSON                     CA     90004009059
52145642372B49   CRYSTAL       MATLOCK                     CO     90011316423
5214642365B399   APRIL         ARGUELLO                    OR     90011844236
5214672A672B49   JESSICA       LEAVITT                     CO     90012847206
52146733A91895   LATONYA       STEWART                     OK     21059377330
5214693274B588   ADRIAN        REDBIRD                     OK     90012919327
52146AA8372B27   JOEL          SCHATTNER                   CO     90015180083
5214726888B169   ROGELIO       MONDRAGON                   UT     90007152688
5214728355758B   TERESA        CABANAS                     NM     90009552835
5214812A14B588   ERNESTO       ACOSTA ACOSTA               OK     90012991201
5214818535B399   KELLY         ESPINOZA                    OR     90014721853
5214828A733699   ARIEL         FIVECOAT                    NC     90013082807
52148381472B43   STEVEN        OLDEN                       CO     90014043814
5214848285B234   REBECCA       BRUCE                       KY     68016034828
52148719897B54   PATRICIA      GARCIA                      CO     39004997198
52148A43591587   ZAMIRA        CARBAJAL                    TX     75016610435
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5214963255B393   MARTIN              GARCIA                OR     44595306325
5214969722B27B   JOHNATHAN           WALLACE               DC     90012756972
521498A7527B3B   JAMIE               MANSON                KY     90011468075
52149AAA94B521   CHANNAH             WALKER                OK     90014170009
5214B215A61975   GINA                ALONZO                CA     46017232150
5214B721484373   YOLANDA             SUMMERS               SC     90003947214
5214B77225419B   KELLY               HYATT                 OR     90005417722
5215132543B352   LANCE               GREGORY               CO     90012123254
5215142795B387   HOLLI               WRONSKI               OR     44506494279
52151891272B49   MIGUEL              HERNANDEZ             CO     33094258912
5215211A37B389   ELSY                RIVERA                VA     90006251103
5215246A551348   HOLLY               BERWANGER             OH     66069154605
52152679372B77   DANIEL              MARSHALL              CO     90006556793
52153961A51348   NICOLE              DURBIN                OH     90013689610
5215399354B28B   MYLING              DOMINGO               NE     26027269935
52154446A71964   TASHA               ADDIS                 CO     32091364460
5215447915B531   ALISSA              SEARBY                NM     35043104791
521544A3A72B43   URIARTE             AMBER                 CO     90010764030
52154626572B42   ELISEO              LOPEZ                 CO     33002636265
521548AAA33696   JANIKA              CREWS                 NC     90013858000
521549A5472B88   JACOB               N PEREA               CO     90010519054
52155535597B54   ROBERT              COBLE                 CO     90014345355
5215561A272B27   RICHARDSON          GARY PATRICK          CO     33022816102
52155A3725B543   GIOVANNA            MARTINEZ              NM     90005420372
521561A2661965   TROY                NEARY                 CA     46007721026
5215638785B387   JOY                 HARRIS                OR     90001683878
52156448872B27   RAYAN               SCHWINDT              CO     33024014488
5215646575B393   MIKALO              ARENAS                OR     90015054657
521566AA561971   ASAP                CARPET CLEANING       CA     46046426005
5215769355B393   SERGIO              RUIZ                  OR     90011206935
5215773125758B   NANCY               ORDONEZ               NM     90011327312
5215815A484373   LEVITCUS            LADSON                SC     90014941504
5215838824B588   BRIANA              RANDOLPH              OK     90011323882
5215843435B531   MIGUEL              PORTILLO              NM     90013964343
521585A4998B27   TOP                 BUNOR                 NC     90010325049
52158A7165B387   ADAM                BARNETT               OR     44571810716
52159271772B77   ISAAC               RHOADES               CO     90009062717
52159372972B49   JEAN                MCKEE                 CO     90013033729
5215983A68B169   TIMOTHY             BIRCH                 UT     90010228306
521599A2857157   LORI                AUSTIN                VA     90008639028
521599A8961548   JEANEKA             DAVIS                 TN     90015359089
5215B137991895   MANUEL VIDALES JR   RANGEL                OK     90011151379
5215B573791895   MANUEL VIDALES JR   RANGEL                OK     90014695737
5215B87915B387   TAJH                PATTERSON             OR     90015278791
5216169AA83B32   LUISA               ARENAS                TX     90012496900
5216237832B949   VICTOR              LOPEZ                 CA     90011603783
5216238685B399   JESUS               HERNANDEZ-RODRIGUEZ   OR     44581083868
5216248824B521   MARIA               REYES                 OK     90012674882
521628AAA57157   CLAUDIA             ESPINOZA              VA     81001328000
5216322555B387   JOSE MANUEL         SERRANO               OR     90011492255
52164178A4B521   RAYMONND            BRUESTER              OK     90014181780
52164653A61975   DASHYA              LOPES                 CA     90010346530
52165318672B43   ADRIAAN             EASTWOOD              CO     90003633186
52165535772B36   NINA                SHARP                 CO     90010165357
5216561655B387   SETH                HOGG                  OR     90004856165
52165937A72B36   NINA                SHARP                 CO     33022079370
52166113297B54   JOSEPHINE           SANDOVAL              CO     39006211132
52166194198B2B   DAPHNE              PETTY                 NC     11054071941
521681A315B34B   JAIME               CABRERA               OR     90010331031
521681A4261975   JULIE               CORNELIUS             CA     90013481042
5216837465758B   LEANN               CONTRERAS             NM     90005733746
52168753A84357   TURRICK             FLAGG                 SC     90014647530
5216876395B399   ROSA                HIGDON                OR     90014067639
52168A81A91587   DELIA               MENDEZ                TX     90013950810
5216926485B393   CARRIE              SOEFKER               OR     90014392648
5216B261293724   TIFFANY             RUSSELL               OH     90013762612
5216B58855754B   RAQUEL              RODRIGUEZ             NM     90006885885
5216B642A91587   FRANCISCO           HANKINS               NM     90014146420
5216B934A61971   PHILLIP             MACLEOD               CA     90014219340
5216BA8945758B   CHRISTA             PENNINGTON            NM     90015300894
52171A9A691587   GUADALUPE           SANCHEZ               TX     90013950906
52172598397B54   HANG                HERNANDEZ             CO     39074535983
5217261A44B521   PAUL                MEYER                 OK     90011076104
521726A2391587   ELIZABETH           BERNAL                TX     90010976023
5217284245715B   SANDRA              MEJIA                 VA     81041068424
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5217315235B531   CECILIA      GABALDON                     NM     90012901523
521735A294B28B   SHARON       FAULKNER                     NE     90014675029
52174381972B36   JOHN         ITOE                         CO     90001163819
5217448252B27B   EVER         MORALES                      MD     90015404825
5217459A75B283   MARLENA      MCDONALD                     KY     68033085907
5217493A75758B   RUTH         ALDERETE                     NM     35529039307
52174A58666186   JORDAN       SERVIN                       CA     90011780586
5217525A24B588   TANIA        SANCHEZ                      OK     90003722502
5217683A472B67   AMY          DULIK                        CO     90005988304
5217715328B12B   CHRISTOPHE   DAVIES                       UT     31016221532
52177A4318B183   GERALD       YOWELL                       UT     90009710431
5217827314B521   TONY         HAYES                        OK     90014182731
52178A23772B49   ADRIAN       VILLA                        CO     90013890237
5217935175B531   KENNETH      JEFFRIES                     NM     90013683517
5217B787133699   MIRIAM       SALINAS-ANGELITO             NC     90015227871
5218111377B46B   LASHONDA     TUCKER                       NC     90007841137
5218123145B387   HOC          NGUYEN                       OR     90013642314
52181582976B3B   SAMANTHA     NAVA                         CA     90012405829
5218171645B531   JENNIFER     CULBERTSON                   NM     35086347164
5218184695B393   THOMAS       TUERNER                      OR     90006388469
52182247A4B521   KAYLA        ROBISON                      OK     90014182470
52182765A97B77   JESUS        MUNOZ                        CO     90015187650
52182773872B67   RAFAELA      MORALES                      CO     33056447738
52183969172B27   YVETTE       GARCIA                       CA     90011859691
52184366A33696   KRISTINA     JONES                        NC     12029953660
5218461127B46B   REGINA       WOODS                        NC     90013146112
52184795624B7B   JOHN         WILLSON                      DC     90010167956
52185888272B88   JOSE         RODRIGUEZ                    CO     33000458882
52185894972B49   FELIX        HERRERIAS                    CO     90012798949
52185A2615B393   BRITTENY     FIORENTINO                   OR     90009280261
521864AA872B49   PEDRO        PALACIOS                     CO     90014494008
5218677674B28B   CURTIS       RAY                          NE     90013697767
52186A23798B47   TOMIKA       REEVES-STOWE                 NC     90001220237
52187143472B49   ADRIANA      VELASQUEZ                    CO     33024811434
52187534172B36   MATT         TAGUE                        CO     90010775341
52187A2A651348   SHAUNICE     STEWART                      OH     90000120206
52187A58961965   PEDRO        CADENA                       CA     90014950589
5218843A533696   JANICE       OLLVER                       NC     90014704305
521884A4585928   ALFRED       GARR                         KY     67069704045
5218853888B169   CIRIA        MORA                         UT     90014845388
5218853A197B54   BOBBIE       GONZALES                     CO     90008575301
52188713A91895   DANIEL       ADAMS                        OK     21017547130
52188844572B43   MARY         GUTIERREZ                    CO     90000288445
52188958797B54   BOBBIE       GONZALES                     CO     90014379587
5218B27A25B387   ANTHONY      WAREN                        OR     44519132702
5218B5AA271964   ABELARDO     ALEMAN                       CO     32026485002
5218B62A661971   NESTOR       VASQUEZ                      CA     90001936206
5218B689591587   ANA          AGUILAR                      TX     75012466895
521915A2261971   EFREN        GARCIA                       CA     46019525022
5219166385B243   POLO         FIELDS                       KY     68006616638
52191A43372B36   ALMA         MERAZ                        CO     90013250433
5219229114B588   ADA          WALKER                       OK     90009172911
521927A632B246   CHARMEL      HAMIEL                       DC     90007377063
52192969A61975   ALBA         LOPEZ                        CA     90008649690
52192A16A31428   LUCY         DYSON                        MO     90010540160
52192A32191351   JENNA        GREATHOUSE                   KS     90008750321
5219357294B28B   PAMELA       MISTOLER                     NE     26025135729
52194714972B27   GRACIE       TILLMAN                      CO     90012947149
52194842172B67   CHARLENE     NORWOOD                      CO     90005988421
52194898372B36   ORALIA       CASTRO                       CO     90013988983
5219497925B387   JOSE LUIS    BETANCOUR                    OR     90012749792
52194A72291895   KIMBERLY     FOREMAN                      OK     90010630722
52195169972B27   MISTY        KANGETER                     CO     33071881699
5219522415B399   GRACE        DENTON                       OR     44594112241
52195994A5B387   RICHARD      ROSALES                      OR     44596569940
5219629A74B521   MARQULTA     GOSS                         OK     90014182907
5219677AA33696   ALPHONSO     GREEN                        NC     90007567700
5219678295B387   TERESA       LEON BAZAN                   OR     90014037829
52196A72751348   CHARLES      GLASS                        OH     90003140727
5219849925B393   MARKUS       MERRITT                      OR     90015064992
52198A2A891587   FRANCISCO    GARCIA                       TX     75012090208
52198AAA95715B   EMMANUAL     BEKOE                        VA     81017770009
52199267772B49   ANDY         POJOY                        CO     90013042677
5219935A872B36   HAILEY       KENNEDY                      CO     90012713508
5219936135B531   ALEJANDRO    NAJERA                       NM     90013683613
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5219987695B399   ZAID             CHASIB                   OR     90014918769
5219B37A372B36   NIC              LUNDQIST                 CO     90006603703
5219B43192B27B   WHITNEY          WEBB                     DC     90012234319
5219B62A44B521   JONATHAN         WATKINS                  OK     90011076204
5219B813197B54   ZENAIDO          GOMEZ                    CO     90014888131
5219B87455B387   DAVID            THELEN                   OR     90005218745
521B112715B399   ANDRES           ALVARADO                 OR     44576091271
521B1127257157   KELVIN           GREENE                   VA     90008531272
521B158AA2B27B   BIONCA           MAYS                     DC     90015295800
521B1927584357   DANNY            SMALLS                   SC     90004739275
521B194494B588   LINDSEY          RIDDLE                   OK     90013909449
521B1A38791587   LAURA            ZAMARRIPA                TX     90013950387
521B1A81872B27   MARIA CATALINA   ARELLANO                 CO     90007010818
521B2872251348   SARAH            SIMPSON                  OH     90005898722
521B3187272B27   SHANYN           DAVIS                    CO     90001551872
521B3313172B36   TAMMY            KATANA                   CO     33014223131
521B3435A84357   LAVAR            DUNCAN                   SC     90015584350
521B3586191895   ASHLEY           BAKER                    OK     21073135861
521B3888A51354   MARCIA           ARELLANO                 OH     90011528880
521B3937772B21   TIFFANY          RIVERA                   CO     90005459377
521B3988471964   CRISTI           JUAREZ                   CO     90006799884
521B3A48772B77   OSCAR            RODRIGUEZ                CO     33048880487
521B422A272B49   CLOUDIA          RODRIGUEZ                NM     35085022202
521B43A885419B   TONI             HARRIS                   OR     90012273088
521B4568276B7B   JULIO            CASTILLO                 CA     90008655682
521B4689261965   GABY             ESCOBAR                  CA     46055676892
521B4987251348   THORNBERRY       JAMES                    OH     90003449872
521B5154172B36   JUVENCIO         CASTREJON                CO     33088831541
521B531565758B   STEVE            HERNANDEZ                NM     90013693156
521B561344B521   LINDA            KITCHENS                 OK     90006806134
521B637585B387   KRISTOPHER       WOOD                     OR     44514933758
521B6423361975   JOSEPH           MACHINIST                CA     90012434233
521B6522497B77   DEON             HARRIS                   CO     39058905224
521B6861561965   DAVID            PAYNE                    CA     90002508615
521B6933761965   HAIDAR           SALAH                    CA     90012169337
521B6A81791895   KELSEY           CAMPBELL                 OK     90011140817
521B71A917B851   ANDRE            MOORE                    IL     90001891091
521B728315B531   SUSAN            BAILEY                   NM     35003902831
521B7392391587   YUNNEN           HERNANDEZ                TX     90011353923
521B7545361965   CHRISTOPHER      VADNAIS                  CA     90015155453
521B771A15B399   JENNIFER         BITTLESTON               OR     90009027101
521B77A1372B49   DELORES          OLDENBURG                CO     90001397013
521B7885393724   PAULA            LOCKET                   OH     90013448853
521B7973833699   EDITH            CLARK                    NC     12064399738
521B7975572B27   FELISHA          BEGAY                    CO     90001489755
521B81A377B851   ANDRE            MOORE                    IL     90001891037
521B8263733696   CHANDRA          CHHETRI                  NC     12094122637
521B83A4997B54   BRANDY           GARCIA                   CO     90012723049
521B8827A61971   STACY            MAGEE                    CA     90011778270
521B884725B531   GENEVA           CISNEROS                 NM     35094708472
521B891915132B   MARTHESA         COLLINS                  OH     90012849191
521B894A591587   RICARDO          MEDINA                   TX     90011439405
521B9255784373   MELISSA          HAMILTON                 SC     90014572557
521B93A122B27B   LATASHA          WILLIAM                  DC     90007843012
521B94A725B399   AMON             DHIET                    OR     44519374072
521B9688A61965   BERNARDO         FIGUEROA                 CA     90015136880
521B97A382B221   AZUBIKE          NWAOLU                   DC     81054887038
521BB18895754B   PAUL             MARTINEZ                 NM     90003291889
521BB548472B27   JOSE             GOMEZ                    CO     33002295484
521BBA38791587   LAURA            ZAMARRIPA                TX     90013950387
52211269297B77   SHANICE          GALLEGOS                 CO     90008722692
52211332A4B521   TRACEY           CARTER                   OK     90014183320
5221161478B183   JOHNATHAN        CARTER                   UT     31087246147
5221233294B521   KEISHA           WILD                     OK     90014183329
5221315A961971   MARTIA           NAVARRO                  CA     90002991509
5221395A25B399   LAURA            BLOSSER                  OR     44519579502
5221424634B521   TRUVENIA         CORNISH                  OK     90011552463
5221427754B28B   SHARMON          SHIREMAN                 NE     90013002775
5221474265B531   EDWARD           MONTOYA                  NM     90014537426
52214795724B7B   JERRY            PARMANAND                DC     81084317957
52214827372B43   VT               THOMAS                   CO     90007388273
52214973872B36   BARBARA          CAMACHO                  CO     90013219738
522152A424B521   ROSA             REYES ROJO               OK     90009622042
52215587972B88   WINDSONG         GARCIA                   CO     33098455879
522157A5942335   BELINDA          TRAVIS                   TN     90015487059
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522165A643B384   ANICETO      GARCIA RODRIGUEZ             CO     90008115064
5221669A661975   FELIPE       HEREDIA                      CA     46045846906
5221721A45715B   TABNAB       WOLDAY LIKAIDS               VA     90001952104
52217566A93724   SHANTE       WALKER                       OH     90009025660
52217A37451368   SEAN         DAVIS                        OH     90007600374
522182A1971964   OROSCO       PADILLA                      CO     90010862019
52218382672B49   JUSTIN       BLACKSHEAR                   CO     90010903826
52218386A5B399   RENIER       MILIAN                       OR     90006463860
5221841A461975   RASHIDA      KIDD                         CA     46025284104
52218454A33699   MELISSA      BLACK                        NC     12001444540
5221881AA51348   VALERIE      SIMS                         OH     90010898100
52218A3244126B   MAUREEN      BRUECKEN                     PA     90005820324
52218A9AA3B374   RAFAELA      DEAN                         CO     33010420900
5221B358872B36   JOANA        ORBE-ABARCA                  CO     33071373588
5221B41564B588   DACCARA      COLE                         OK     90007974156
5221B628191587   PATRICIA     MOLINA                       TX     90015126281
5221B63637B46B   COLA         COLA                         NC     90012746363
5221B6A2391587   ELIZABETH    BERNAL                       TX     90010976023
5221B828451586   SENIAT       LEYNI                        IA     90013898284
5221BA8825B543   HAROLD       MANGAN                       NM     35003630882
522213A7772B43   NICOLE       VAN DOREN                    CO     90007323077
522214A1A61973   ROJACS       MARTYN                       CA     90003394010
5222255AA72B77   IVAN         ORDAZ                        CO     90004435500
5222369355B399   ABIGAIL      JOHNSON                      OR     44550906935
52223896472B27   ROSARIO      MARTINEZ                     CO     33081138964
5222513934B521   KAREN        ORTIZ                        OK     90015201393
52225224972B27   JUAN         CONTRERAS ARROYO             CO     90003762249
5222531A77B46B   TERRY        KNOX                         NC     11001693107
52225336972B36   ROBERTA      ROMERO                       CO     33093023369
522259A3184357   CAROL        LEE                          SC     14570739031
5222612185758B   JERIMAH      SALMON                       NM     90014691218
52227194A8B169   KIMBERLEE    CHILD                        UT     90003381940
5222767A472B49   HENRY        RAMOS                        CO     90011476704
52228A27172B34   BLANCA       VASQUEZ                      CO     90013590271
5222916154B588   RAUL         MARTINEZ                     OK     90009431615
5222937374B521   COREY        KALIB                        OK     90014183737
5222942815B283   MARY JAYNE   DUBOSE                       KY     90007184281
5222B171572B88   DANYELLE     CLAYCOMB                     CO     90001631715
5222B23792B27B   NITA         RAY                          DC     90013962379
5222B25A872B49   BRENDA       HILL                         CO     33028262508
5222BA47433699   LARETHA      GLADDEN                      NC     90011390474
52231175972B43   AIDA         GUTIERREZ                    CO     33052821759
5223119684B521   JASON        LEE                          OK     90014121968
522316A695758B   JOANA        MOLDANADO                    NM     90007596069
52231869197B77   SHENEIL      GRAHAM                       CO     90008728691
52231922798B2B   ANQUAN       BURRELL                      NC     90005389227
52231A8824B588   ERIC         SUNDHOLM                     OK     90015100882
5223228245758B   DANIEL       PAYAN                        NM     90013602824
52232745A5B399   LUIS         HUMALA                       OR     90008807450
5223275A15758B   LETICIA      SCHROEDER                    NM     90007817501
5223438724B521   BREE         DEAN                         OK     90014183872
52234A9155758B   VICTOR       CHAVEZ                       NM     90013550915
52235295A61971   BRANDON      ADAMS                        CA     90013292950
5223656244B521   RODNEY       SHOEMAKE                     OK     90015125624
5223738774B521   PAOLA        ZAMORA                       OK     90014183877
52237937A5B399   DEBORAH      JOHNSON                      OR     90011449370
52237A18784373   SANTIAGO     RAMIREZ                      SC     90013830187
5223972525B531   TIFFANY      GARCIA                       NM     35025987252
5223976A661975   JANETT       BRICENO                      CA     90004157606
5223988A891587   ALEJANDRA    OROZCO                       TX     90013858808
5223B12624B588   KELISHA      ROJAS-ESTRADA                OK     90014651262
5223B14492B27B   OSCAR        PEREZ                        DC     90010051449
5223B516457157   EMMANUEL     MINTAH                       VA     81083395164
5223B536A5B393   JULIE        HASEN                        OR     90015065360
5223B856651368   CRAIG        RUDD                         OH     90006328566
5223BA66857563   JOSE         ARROYO                       NM     90012820668
5224112375715B   VICTORIA     QUINONEZ                     VA     81093781237
5224139314B521   JOSE         MEDINA                       OK     90014183931
52241A1A161965   MIRIAM       ESCOBAR                      CA     90000200101
5224297418B169   BRIAN        DURAIN                       UT     90009649741
5224317A44B588   BRIAN        CROWELL                      OK     90013531704
52243792A84373   MATTHEW      MALONEY                      SC     90009117920
52243873472B43   RUDY         ALEN                         CO     90006348734
52243A63133696   MARGARITA    OLMEDO                       NC     12001180631
52244639772B49   MARIA        ROSALES                      CO     33009186397
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5224475312B948   GUIOMAR      FAGUNDES                     CA     90012607531
52244842224B3B   HERMAN       JACKSON                      DC     90007228422
5224484714B588   PEDRO        MARTINZ                      OK     21590758471
5224495262B973   ANGILENE     FORREST                      CA     45013849526
522452A5893724   AMBER        HOMAN                        OH     64530742058
5224542847B46B   ANGELA       JACKSON                      AR     11008974284
5224591A74B521   TAMMY        SWANTEK                      OK     90010299107
52247268A5B531   ERVIN        BRADFORD                     NM     90013852680
5224752963B182   TONYA        JONES                        DC     90000805296
52247952A5B387   DANETTE      SANDERS                      OR     90012789520
52248616285B52   ALFONSO      MARTINEZ                     FL     90015446162
52248AA7384373   AMBER        GOODYEAR                     SC     90013830073
522491A8798B2B   PEDRO        RAMIREZ                      NC     11018061087
5224997465715B   LATESHA      LEWIS                        VA     90003939746
5224999A291895   GLADYS       NAJERA                       OK     21004659902
52249A56872B27   ANGELA       MITCHELL                     CO     90013610568
52249A65491587   SANDRA       TREVIZO                      TX     90011180654
5224B277961971   PAUL         MARON                        CA     90011752779
5224B395961965   DENISE       GOMEZ                        CA     46096373959
5224B6A134B588   PATRICK      MCCAIN                       OK     21513746013
52251577976B7B   FERNANDA     RIVAS                        CA     90013815779
5225158278B169   MATTHEW      WERNY                        UT     31001475827
5225163855758B   WENONA       VALENZUELA                   NM     90001916385
52251875272B67   ANGELINA     ENRIQUEZ                     CO     33034328752
52252353297B54   SALVADOR     BUSTAMANTE                   CO     39079393532
5225411785B399   EULICES      IBARRA                       OR     90009121178
5225526628B169   JOSHUA       BOWDEN                       UT     90008642662
52255485272B49   MAES         LEROY                        CO     33092854852
5225614813B352   SHEILA       PUGH                         CO     33083781481
5225629992B967   SALVADOR     SILVA                        CA     90006762999
522562A1751348   BRUCE        JOHSNON                      OH     90006202017
5225654575758B   LUIS         GUTIERREZ                    NM     90001175457
5225664152B27B   SELVIN       ALANDA PORTILLO              DC     90013666415
5225673235B531   GRISELDA     VARGAS                       NM     35031217323
5225746634B28B   SCOTT        HOWARD                       NE     90003184663
52257512372B77   PEDRO        RAFAELA                      CO     90000605123
5225791415132B   TABITHA      HELTON                       OH     90001669141
5225793A657157   MIGUEL       MENDOZA                      VA     90004289306
5225842574B521   MARCELA      GARCIA                       OK     90014184257
52258574A61971   GUADALUPE    MARTINEZ                     CA     90010015740
5225943254B521   EDITH        ANAYA                        OK     90014184325
52259649A61971   GIOVANNY     CHAVEZ                       CA     90012616490
52259A9342B27B   SANDRA       LAVERNE                      DC     90015320934
5225B14A15B543   NOEL         NAYARES                      NM     35082501401
5225B333361973   BRIAN        STANFIELD                    CA     90012743333
5225B343857157   MELINDA      CALDWELL                     VA     90001583438
5225B42865B399   SHEILA       HARRIS                       OR     90002534286
5225B589A6194B   ISABEL       CAMPOS                       CA     90002565890
5225B593961965   BRITTANY     BENNETT                      CA     90008115939
5226118965715B   ABELINO      CAMPOS                       VA     90011841896
52261252472B27   RAYMOND      LAWSON                       CO     90012712524
52261312772B43   KYLENE       VENABLE                      CO     90014803127
52261642897B54   GERARDO      GUERRERO                     CO     90014426428
52261882A5B399   DUSTIN       RHODES                       OR     90014838820
52261A5627B46B   MELISSA      JORDAN                       NC     90001800562
52261AA3772B36   GARY         MARTINEZ                     CO     33053780037
5226281584B588   PAYGO        IVR ACTIVATION               OK     90010198158
52262A97461965   MIRACLE      LOWE                         CA     90015160974
52263241572B27   JULIE        HOLMES                       CO     33033302415
5226335345B399   MIRANDA      WILSON                       OR     90013753534
5226383A591587   EDWARD       SANCHEZ                      TX     75023268305
52263A99A55951   AHYDE        ACOSTA                       CA     49081270990
5226457434B588   DEVA         SMITH                        OK     21557425743
52264668872B36   ADRIAN       ONTIVEROS                    CO     33023376688
52264937A57157   JUAN         MONTALVO RODAS               VA     90012819370
5226579624B521   BRIAN        NEILSEN                      OK     90015137962
5226651A361971   JOHN         TARANTINO                    CA     90014845103
52266633397B54   HORTENSIA    VICENTE VICENTE              CO     90003176333
522668AA697164   KELSEY       MONROE                       OR     90014698006
52267498672B27   RITA         TRUJILLO                     CO     33080234986
52268559772B49   DARCY        WOODS                        CO     33091545597
5226872118B169   THOMAS       SPARKMAN                     UT     31019167211
52268732572B27   JOKEBED      CHATELAM                     CO     90011167325
52268A46A33699   RODOLFO      MARQUEZ                      NC     90012230460
52269866A4B28B   KATHY        AMES                         NE     90012718660
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5226989785758B   JOSE            RENTERIA                  NM     90015308978
5226B641761965   UITZILOPOXTLY   BALTAZAR                  CA     90015086417
5227122545B151   JOSEPH C        GUESS                     AR     90007162254
52271874772B27   RICHARD         MARTINEZ                  CO     90007718747
5227191197B46B   MIGUEL          LARA                      NC     90010219119
52271A64151388   NINA            LUCAS                     OH     66002940641
52272273A84357   ROSA            TAYLOR                    GA     90011292730
5227247385B399   JENNY           DULCE                     OR     90014904738
5227293664B28B   YOHANNA         SAHOKAI                   NE     90013459366
5227315362B27B   MAURA           BARRUETA                  DC     81056501536
5227338765758B   GEORGE R        CICOTTE                   NM     90012783876
52273899172B49   DARLA           PELAYO                    CO     33090328991
5227397215758B   HECTOR          SERRATO                   NM     35504209721
52273A11133696   DESIREE         ODOM                      NC     12050770111
52274944572B27   AMANDA          WHEATHERINGTON            CO     90013619445
52274966A61973   JOSE            MENDOZA                   CA     90009119660
5227514944B521   ESTER           AGULIAR                   OK     90001211494
5227532A433696   JASMINE         TORRENCE                  NC     90003823204
5227542384B588   ROBIN           ROSAS                     OK     90009184238
5227549445715B   LUIS JOSE       MALQUI                    VA     81004564944
522759A5661975   DUNIA           PAZ                       CA     90002459056
5227614944B521   ESTER           AGULIAR                   OK     90001211494
5227619935B283   WILLIAM         SHELBUNNE                 KY     90004241993
52277462172B36   MARIE           JACOB                     CO     90014774621
5227799325B399   JARED           FULLER                    OR     90013519932
52277A56172B27   VICKI           CARTER                    CO     90009540561
52277A64172B43   DEIGO           MINJARES                  CO     90012620641
52278148972B27   JAMIE           MIDDLEMISS                CO     90010101489
5227855415754B   LAURA           DIEGUEZ                   NM     90011695541
5227891667B372   JEREMIAS        ARGUETA                   VA     90002639166
5227957AA93724   DAVID           GLOSSER                   OH     90009025700
5227B232524B7B   MAURICIO        ADRIASA                   VA     90003192325
5227B344572B27   TRACY           JONES                     CO     90011523445
5227B39A45B387   SHONA           WERNER                    OR     90011903904
5227B495833699   CHUTNEY         NANCE                     NC     90013444958
5227B744361975   IRWIN           RIVERA GAYTAN             CA     90011967443
5227BA36972B27   ULISES          RAMIREZ                   CO     90014930369
5227BA86457157   ASHELY          BROWN                     VA     90013060864
52281924197B54   MIGUEL          SANIC                     CO     39066909241
5228252555B399   ALEJANDRO       FLORES                    OR     44506415255
5228282934B588   WESLEY          GARNER                    OK     90008968293
5228283642B27B   DEJUAN          BELL                      DC     90013588364
52282A1A561973   CARL            BAKER                     CA     90007330105
522832A844B588   ERENIA          PINEDA                    OK     90014752084
5228332AA5715B   PATRICIA        ROBINSON                  VA     81068553200
5228362165B387   SAMANTHA        CLEARY                    OR     90015106216
52283748772B27   MONIQUE         HYCHE                     CO     33056227487
52284265A72B88   KIMBERLY        ESPINOLA                  CO     33017042650
52284AAA672B49   JEFF            PAULEY                    CO     33024740006
5228577244B588   IDALEDRIA       STEPHENS                  OK     21586647724
5228646215715B   MARIA           FUENTES ESCOBAR           VA     81041904621
5228662955B399   SADIE           BRAUGHTION                OR     44519466295
52286749A5B393   PAMELA          HILSCHER                  OR     44500667490
5228676A84B521   TATYANA         HARVEY                    OK     90011997608
522867A5972B27   JOSHUA          GRAHAM                    CO     33007237059
5228687374B244   JAROD           HEADY                     NE     27095378737
522868A9A91895   TOM             LARA                      OK     21085218090
5228845A17B46B   TESSA           ROBINSON                  NC     90012464501
5228965144B588   KELSEY          DEDMON                    OK     90014526514
5228B29415B399   CHRISTOPHER     BYERS                     OR     90012602941
5228B328833699   REGINALD        CALDWELL                  NC     90009723288
5228B36AA57157   AMANDA          GARZA                     VA     90014003600
5228B433871964   SORA            LOPEZ                     CO     90001344338
5228B448872B2B   RAYAN           SCHWINDT                  CO     33024014488
5228B673961973   RAUL            VELASQUEZ                 CA     46087616739
5228B718193724   JAWON           HOWARD                    OH     90012687181
5228BA84672B49   KIM             HUGHES                    CO     90014570846
5229117385B283   BRENDAN         KELLY                     KY     90004241738
5229122815B399   CAMERON         SIMS                      OR     90013512281
522912A947B46B   SOMPHOT         PHOMSOPHA                 NC     90004872094
5229212584B521   MARICELA        HERRARA                   OK     90001571258
5229223599373B   MOHAMMAD        GARDEZI                   OH     90011052359
5229268967B247   TYLER           MARTIN                    AZ     90015336896
52292A76271964   MANUEL          THAYNE                    CO     32012680762
52292A9816B922   MARIELA         LOPEZ                     NJ     90012960981
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522931A247B46B   CHELITA      SNOW                         NC     90008291024
52293558572B67   ISABEL       MELGOZA                      CO     90009855585
522935A1172B27   TERRI        SNOOK                        CO     90010915011
52293AAA75B531   NICOLE       SANFORD                      NM     90013450007
52295493472B36   LEONARD      VALENZUELA                   CO     90014604934
5229552416B922   MARK         LIVIO                        NJ     90012605241
52295612472B43   DIANA        CORREDOR                     CO     33018516124
52297927A5715B   MIKE         SCOTT                        VA     90006329270
522985A565B387   FRANKLIN     CHARBONEAU                   OR     44542065056
52299193A5B283   C            M                            KY     90004241930
5229921852B27B   WILLIS       YOUNG                        DC     81079272185
5229942345712B   MABEL        RAMOS                        VA     90002024234
52299721A72B43   ERASMO       ORZUA                        CO     33083717210
5229B2A4A72B36   KRYSTAL      ROMERO                       CO     90011132040
5229B439561975   GUANG        PAPITE                       CA     90011484395
5229B686991521   CYNTHIA      MACHADO                      TX     90009986869
5229B882A61971   FERNANDO     MOLINA                       CA     90003098820
522B12A8272B27   ANTONIETA    VAZQUEZ-ANGULO               CO     90005322082
522B146A84B28B   CAROL        JOHNSON                      NE     90007844608
522B1713261971   KEN          TALBERT                      CA     46037607132
522B257949373B   MICHAEL      HOWARD                       OH     90012565794
522B2632A5758B   ORTIZ        CONNIE C                     NM     90007816320
522B27A455B393   HENNY        BUSHMAN                      OR     90007057045
522B287192B27B   LATANYA      JENKINS                      DC     90013018719
522B3178971964   JESSICA      WILMOT                       CO     32091471789
522B3642791587   ANDRES       HERNANDEZ                    TX     90012446427
522B3936493724   TINA         SHORT                        OH     64584719364
522B41A7357157   MARIA        LYLES                        VA     90012291073
522B425874B28B   MICHELL      STURGIS                      NE     26053722587
522B4468691587   ELENA        MORALES                      TX     75071984686
522B4858151348   KUDDEIDRA    SMITH                        OH     90011638581
522B4877A97B54   STACY        BALDWIN                      CO     39091988770
522B4937961975   OSCAR        ALVAREZ                      CA     46033849379
522B536214B521   MARISSA      PIENDA                       OK     90014183621
522B5477793724   DAVID        STORER                       OH     90013914777
522B5729451333   ASHLEY       MEYER                        KY     66034087294
522B6389A5B393   DALLAS       ADKINS                       OR     44576893890
522B6596272432   SHELLY       THOMAS                       PA     51046285962
522B6618A7192B   JILLIAN      BREWER                       CO     90010816180
522B668A23852B   MARIA        CUEVAS                       UT     90011216802
522B6A65884373   TREASIA      KING                         SC     90012930658
522B7523472B36   ELENA        DUBON                        CO     90010995234
522B7938584373   GERBY        VELASQUEZ                    SC     90014829385
522B8129572B43   CLAUDIA      MELENDEZ                     CO     33030221295
522B8149561975   STEVE        RIVERA                       CA     46047871495
522B8294A91895   DEKAYLA      HALL                         OK     90011152940
522B8586A2B27B   JAWANDA      ANDERSON                     DC     81010825860
522B8991757157   DARRYL       CLARK                        VA     81094589917
522B933A74B521   AMANDA       RUCKER                       OK     90014183307
522B952658B169   MARCELINO    GOMEZ                        UT     31025565265
522B9669272B43   RAMIRO       AGUILAR                      CO     90007896692
522B9925193724   JUSTIN       COATES                       OH     90012749251
522B9A6524B588   COLETTE      BURCH                        OK     90008390652
522BB273584373   CHRISTINA    PETERSON                     SC     90013932735
522BBA7A472B49   ERNESTINE    MOREHOUSE                    CO     90012410704
5231138114B521   CARRIE       LANIER                       OK     21563423811
52311531A31428   LUCINDA      MOORE                        MO     27513975310
5231159345B393   NORTON       MATT                         OR     44551175934
5231222354B588   NATALIE      GOUDEAU                      OK     90008392235
5231295AA61975   JAN          BINKELE                      CA     90014619500
5231318264B28B   STACY        LAMPHEAR                     NE     90014361826
52313882772B49   DAVID        MIRAMONTES                   CO     33024758827
52313897A61973   JAVIER       ARIAS                        CA     46030068970
52313A62661965   LATOYA       CANTU                        CA     90012590626
5231458A94B521   JOHN         PARK                         OK     90014185809
52314787A5B531   MILCA        ALVAREZ                      NM     90004417870
5231482875B393   ELSA         VARGAS                       OR     90013778287
523154A3A33699   COURTNEY     BALLARD                      NC     90011544030
5231564655B229   SHANIKA      BIGHAM                       KY     90014806465
5231567695B543   SOCORRO      ALCALA                       NM     35041816769
52315A42551348   ELSA         REYMUNDO                     OH     90012230425
52316546872B35   JARROD       PARTENHEIMER                 CO     90013755468
5231658154B521   HEATHER      EDWARDS                      OK     90014185815
5231682535B387   JAMEENA      WEST                         OR     90012018253
5231781112B949   LUIS         DE ARCOS                     CA     90007478111
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52318145172B49   OSWALDO          URBANO-FLORES            CO     90011781451
5231826A48B169   ROGER            JONES                    UT     31055012604
5231841925B531   STEVEN           CHRISTANELLI             NM     90012984192
5231943564128B   JOHN             MCGOUGH                  PA     90010564356
52319514497B54   MARIA            TORRES                   CO     39010375144
5231955395B399   BETHANY          LONGCHAMPS               OR     90014945539
5231985945B283   DEIONTE          STEKES                   KY     68056798594
5231B155A61966   JULIAN           GOODIN                   CA     90008591550
5231B166861965   ODAISIS          MENDOZA                  CA     90007691668
5231B53895B387   TARYN C          CURTIS                   OR     90006715389
5232121A191895   JENNIFER         LUND                     OK     90012242101
523212A5293724   MICHELE          MCKINNISS                OH     90011322052
52321357472B43   NANCY            METZGER                  CO     33071913574
523216A5257157   CHARLIE          COLATO                   VA     90010606052
52321984972B36   JAMES            MEARES JR                CO     33092149849
5232272962B245   JASON            SERGUSON                 DC     81096587296
5232275222B27B   PATRICIA         LAKE                     DC     90003547522
5232281295715B   WM               MILLS                    VA     81041428129
52322A99333696   NGEN             EBAN                     NC     90013360993
5232333A95B387   ANTHONY          READ                     OR     90006013309
5232358954B521   PAULINE          CHEN                     OK     90014185895
52323A7317B46B   DEVON            HAWAY                    NC     90014620731
5232412534B28B   AMERILLA         WAGONER                  NE     26081571253
5232468695758B   MARICELA         MEDRANO                  NM     90005426869
5232547A757157   TORIAN           HARRIS                   VA     81091154707
5232548165B393   JORGE            CHAVEZ                   OR     90009284816
52325862A72B77   ABRAM            PEINADO                  CO     90006138620
52325A24671964   JULIETA          CHILEL                   CO     90011600246
5232659A44B521   GERALD           MUNOZ                    OK     90014185904
5232662AA5B387   KARL             CLARK                    OR     44515196200
523266A3961973   RUBY             GONZALEZ                 CA     90009986039
5232699A67B46B   JILL             HATLEY                   NC     90015319906
52326A85A61975   PABLO            VASQUEZ                  CA     46063290850
5232712445715B   WILLIAM          ADAN                     VA     90005131244
5232725668B169   CODY             ORTEGA                   UT     90004792566
52327869A4B588   GWEN             HUNT                     OK     90013858690
52328222272B27   DAVID            COLTRIN                  CO     33096442222
5232929AA72B36   GISSEL JOANNA    AGUILERA                 CO     90011582900
523292A688B169   JOSH             NUSS                     UT     31033252068
5232999A193724   DANA             PEACO                    OH     90002959901
5232B712972B36   SALOMON          MORENO                   CO     90012937129
5232B739571923   RAYGAN           EARL                     CO     90006967395
5232B747A84373   HEATHER          MARSHALL                 SC     90014677470
5233199AA91587   JAIME            HOLGUIN                  TX     90011139900
5233256594B588   CRYSTAL          UIRRE                    OK     90013325659
523326A484B521   JANETH           SANCHEZ                  OK     90014186048
5233287A74B28B   JOE              SIMS                     NE     90014668707
52334169572B21   JOSHUA           HURSA                    CO     90011691695
5233487A35B387   JUAQUIN          MALDONADO                OR     44557888703
52334935A72B49   DEMPSEY          BECK                     CO     90003209350
52335A43961965   STACY            ONN                      CA     90003100439
52335A72284357   PAMELA           STEWART                  SC     14580570722
52336157472B49   KRISTA           HARKNESS                 CO     90012261574
52336443A72B43   MICHAEL DANIEL   MARTINEZ                 CO     90011404430
52336A19A8B169   JEENA            MINER                    UT     90012710190
5233739415B387   ALLINE           LOPEZ                    OR     90012813941
5233746155B399   CHARLES          WEBSTER                  OR     90015144615
5233761525715B   ANA              ACHULLE                  VA     90002866152
52337955A91923   DAVON            THOMAS                   NC     90005529550
523387A2A5B399   THOMAS           KENNY                    OR     90014157020
52338A1565B531   ANDREW           VALENCIA                 NM     90007470156
52338A94133696   JAMIE            WILSON                   NC     90011060941
52339461172B77   CARMELITA        GABNER                   CO     33057924611
523394A1A85852   IRVING           WOLFF                    CA     90012354010
5233963125B543   ELISIANA         MONTOYA                  NM     35083496312
5233B33914B588   LEON             WALLACE                  OK     21521073391
5233B53A857157   MARTEES          BARRON                   VA     90010285308
5233B74A593724   TANYA            CARTER                   OH     64594997405
5233B782A8B169   BILEEN           DAVIS                    UT     90013767820
5234112875758B   KITTY            MORALES                  NM     90012181287
52341141872B36   GLORIA           CASTRUITA                CO     33008501418
5234124A471964   JASMIN           JOHNSON                  CO     90009392404
523412A985B393   REYNA            FABELA                   OR     90010042098
5234161314B521   MARISELA         MARTINEZ                 OK     90014186131
5234175612B245   VAHAB            TOOSI                    VA     90005227561
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523419A335B531   DENISE           SPRINGFIELD              NM     90010389033
5234215368B169   SPENCER          DWIGHT                   UT     90012461536
52342851A72B49   VERA KATHERINE   ORNELAS                  CO     90013108510
5234316575B387   MIGUEL           MEJIA                    OR     90010581657
5234316A68B169   MARCO            VIGIL                    UT     90013831606
5234362544B521   BRITNI           BUTLER                   OK     90014186254
5234386517B46B   KARL             TRAPP                    NC     11001708651
5234454A361971   JOHN             MANN                     CA     90015055403
5234463234B521   HERIBERTO        DURON                    OK     90014186323
52345534A5B399   PRIMAVERA        LANDA                    OR     90004495340
5234575483B347   MARIA            AYALA                    CO     90008277548
5234663324B521   LORENA           PORTILLO                 OK     90014186332
52346772597B54   LORIE            PEREZ                    CO     39001817725
523469A3A72B43   HOPE             MAWBY                    CO     90014789030
52347487A61965   ROBERT           JOHNSON                  CA     90004714870
5234752387B896   DENISE           JOHNSON                  IL     90014635238
5234763454B521   CANDELARIO       GARCIA                   OK     90014186345
52347649A31429   CRYSTAL          SIMMS                    MO     90014536490
5234779215B531   JOSE             MARTINEZ                 NM     90011437921
52347A81581622   MELISA           PADILLA                  MO     29016800815
52348177A33699   JOHN             PLATT                    NC     90014481770
52348487A51348   MANUEL           GUERRERO                 OH     90014704870
5234885615758B   CHRIS            NUNEZ                    NM     90014478561
5234892995B387   ANDRE            THOMAS                   OR     90013409299
5234948294B28B   PATRICIA         JECHA                    NE     90008944829
5234964424B521   WILLIAM          MCDANIEL                 OK     90014186442
5234967982B27B   XAVIER           CLEMONS                  DC     90013586798
52349855772B36   JUAN             SHIPP                    CO     90012838557
52349A3A37B46B   JAMES            BARBER                   NC     90010990303
52349A44651343   CARL             CONYAR                   OH     90011670446
52349A98972B43   NOELLE           MAUGH                    CO     90014770989
5234B18727B46B   MARIA NIEVES     SANCHEZ                  NC     90011081872
5234B522161971   JOSEPH           WANI                     CA     46000415221
5234B576672B43   RAQUEL           TORREZ                   CO     33076575766
5234B815972B27   PEDRO            RAMIREZ                  CO     33028948159
5234B823161975   OMAR             MARTINEZ                 CA     90014158231
5235163A161975   AIOTEST1         DONOTTOUCH               CA     90015116301
52352174144B91   DAN              OBRIEN                   OH     90014261741
5235229A361973   NANCY            DIAZ                     CA     90011222903
5235236A272B36   CLIFFORD         HOLMES                   CO     90001723602
5235284565B393   ELIA             VARGAS                   OR     90013778456
52353126772B36   KENDRICK         BLAND                    CO     33011951267
5235421745B399   DAWN             SPARKS                   OR     90003342174
5235441287B46B   ORLANDO          SPAN                     NC     11001764128
52354459A61548   BAHADUR          BHUJEL                   TN     90004444590
523547A123B384   ARACELY          MARQUEZ                  CO     90005677012
5235566A74B521   JOSE             VALLES                   OK     90014186607
52356422272B36   SARSWOTI         RAI                      CO     90012614222
52356586998B2B   ROBERTA          GREEN                    NC     11064515869
5235694AA91895   BRANDY           SCOTT                    OK     21017769400
52356A21191587   RINAW            OLIVAREZ                 TX     75024320211
5235756592B228   CO               MIKAY                    DC     90001005659
52357649A61965   GRETCHEN         ENGH                     CA     90012606490
52357913972B49   SABRINA          KING                     CO     90014869139
5235829AA61971   JUAN             ALBERTO                  CA     90012742900
523584A4291895   LINDA            MARQUARDT                OK     21001444042
52358761A84357   DONTAE           ENGLISH                  SC     90013977610
5235891124B588   ELIZABETH        MADRID                   OK     90010409112
52358A3344B28B   CHAD             GREENWALT                NE     90004290334
52359371524B7B   TIARA            WILLIAMS                 DC     90014603715
5235937275715B   MULATU           WOLDAMARIAM              VA     81083603727
52359A74561973   ROLAND           STARKS                   CA     46055650745
5235B1A655593B   JOSUE            ALBA                     CA     49090821065
5235B37888B186   ROBERT           CONLEY                   UT     90002793788
5235B534884357   RENEE            STEPHEN                  SC     90012225348
5235B626572B43   DAVID            METZER                   CO     33026416265
52361A4884B588   VICTOR           MASCORRO                 OK     21539170488
52362778772B36   DWAYNE           MITCHELL                 CO     90011537787
52362913A5715B   MICHAEL          BERTRAND                 VA     90005309130
52362A72893724   STEVEN           MACEK                    OH     90011480728
5236439A472B49   KATHLEEN         STIEBLER                 CO     90012813904
5236481735758B   JAIME            ESCALANTE                NM     35527528173
5236515258B169   LYDIA            REYES                    UT     90010441525
5236537895B399   MELODY           BATES                    OR     44545813789
523655A4133696   WANDA            WILSON                   NC     12028995041
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5236619A371964   TIA MARIE    BARNETT                      CO     90011601903
5236663755B399   JOSEFINA     HERNANDEZ                    OR     90012626375
52366688572B27   BREE         BILLUPS                      CO     90009906885
52367665772B43   JENNIFER     LERDAL II                    CO     33079006657
52368A6345B387   WILLIAM      BREAUX                       OR     90003170634
5236922655B399   ERIC         MANNING                      OR     44598172265
523693AA15B387   SCOTT        MACDONALD                    OR     90011063001
5236977724B521   JOHN         MCGEE                        OK     90014187772
5236B16A591895   MARIA        AGULIAR                      OK     90011181605
5236B49A271964   JAMES        YOUNGER                      CO     90008934902
523711A384B53B   DEITRICH     WATSON                       OK     21590281038
52371577372B43   SUZETTE      ALISPACH-JANSEN              CO     90001995773
5237167992B27B   TERESSA      TIPPER                       DC     90010676799
52371A7724B28B   JAYDEN       KILCOIN                      NE     90007440772
52372A1427B395   CARLOS       PENA                         VA     90005970142
5237349568B169   ANITA        VALENCIA                     UT     90013384956
5237364295B543   MIRTA        RELLANO                      NM     90001736429
5237424144B521   MAKIKO       LEWIS                        OK     90012652414
52374335A61973   WESLEY       MONTANO                      CA     46004513350
5237445A272B67   TAVIS        CHALMERS                     CO     90000594502
52374542A5B399   RACHEL       ROFFMAN                      OR     44518075420
52374558572B49   BETH         STRANG                       CO     90005755585
52374948A33696   CYNTHIA      SIDDLE                       NC     12021389480
52374A2117B46B   ANTRELL      NEAL                         NC     11019170211
5237551857B46B   DEMARKUEZE   TRKINS                       NC     90013165185
5237565A44B28B   SIMPSON      STEVE                        NE     26050686504
523757AA45B393   CHRISTINA    CUNNINGHAM                   OR     90001247004
52375A75384357   LARITZA      HICKS                        SC     90013340753
52376124898B2B   LATORA       HOWARD                       NC     90014041248
52376467998B2B   JANIQUIA     HOWARD                       NC     11063764679
52376581772B43   JESUS        BURSIAGA                     CO     90015305817
523766A3855951   GRACIELA     MENDOZA                      CA     90006006038
52376728872B49   TODD         RICHEY                       CO     33039557288
5237673A24B588   JESSE        HALEY                        OK     90013227302
5237693772B27B   GARNISHA     VALENTINE                    DC     90014809377
5237699A661975   DAVID        RAMIREZ                      CA     90013119906
52377487172B49   OVERTON W    LAURIE                       CO     90012944871
523783A2672B43   DOUG         WILLIAMS                     CO     33046013026
52378689A72B27   CATARINA     ESPINOZA                     CO     90013856890
5237869AA61965   ROXANA       TORRES                       CA     90012606900
52379674372B27   MELISSA      CHAVES                       CO     90004536743
52379747797B54   BRIANNA      MORALES                      CO     90013167477
5237987427B46B   MICAH        COX                          NC     90012048742
52379A85591587   DALIA        ALVAREZ                      TX     90012380855
5237B648351348   MUARA        RAMIREZ                      OH     90013486483
5237B6A425B531   CHASITY      MARTINEZ                     NM     90012326042
5237B77884B521   MARIAHNA     DAVIS                        OK     90014187788
5237B81455B387   MONIQUE      MORRELL                      OR     90007398145
5237B987791587   JAIME        MESA                         TX     90005969877
5237BA66231692   DANIELA      CHAVEZ                       KS     90012940662
5238124564B588   BLANCA       OCHOA                        OK     90008152456
523817A275B531   YOANNET      LAGO-PENA                    NM     35056697027
523817A4461971   BRISDA       VELARDE                      CA     46081587044
52381A87272B36   FLORA        LOPEZ                        CO     33076080872
52381A93597B54   DONA         BURBACK                      CO     39004610935
52381AA2784357   YVETTE       BROWN                        SC     14535480027
52382666A72B49   ANGEL        GONZALEZ                     CO     90012366660
52382691472B43   IRMA         HENRIQUEZ                    CO     90012886914
5238271555B531   LUIS         CANALES                      NM     90013267155
52382784172B27   NICHOLE      BAILE                        CO     33090757841
5238314A78B169   LINDSEY      LEE                          UT     90015451407
523833A6991895   CHELSEA      GROGAN                       OK     90014233069
5238384555B391   KEALLI       AIWOHI                       OR     90012648455
52384311472B27   MARIA        DE LEON                      CO     90007263114
52384A84672B49   KIM          HUGHES                       CO     90014570846
5238519155758B   EUGENE       RAMIREZ                      NM     35590931915
52385433672B43   KIMBERLY     TESKE                        CO     90014704336
523855A6561971   CLAUDIO      LOPEZ                        CA     46005465065
5238574277B46B   JUAN         SANTOS                       NC     90012917427
5238589A433696   MARTHA       SAWYER                       NC     12079328904
52385A33261973   CHRISTINE    MENDOZA                      CA     46011210332
52385A6A35B283   JOHN         MARQUIS                      KY     68089620603
5238733278B12B   VICTORIA     PIENU                        UT     90005523327
52388179A91587   JOEL         REYES                        TX     90013951790
52388481A33699   SANDRA       GUNNING                      NC     90014884810
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5238877667B46B   SHANELL           SANDERS                 NC     90013127766
52388A9425B399   WYATT             VREELAND                OR     90012960942
52389464672B49   KIMBERLY          LIF                     CO     90012864646
52389A17A4B521   LEVI              DICKERSON               OK     90011890170
52389A3789132B   GERALD            SYKES                   KS     29081450378
5238B17324B28B   JULIANNA          CAMPOLITO               NE     90013761732
5238B299A61965   JOSE              VALDIVIA                CA     90006202990
5238B565391895   ROBERT            EASTIN                  OK     21067215653
5238B58A45B531   JEROME            GURULE                  NM     35060195804
5238B693293724   DEVANTE           BARNES                  OH     90013826932
5238B74845B283   STACEY            CARDWELL                KY     68060157484
5239184AA71964   ELIAS             QUINONES                CO     90001228400
523918A8272B67   MIRIAM            LOPEZ                   CO     33044738082
5239272554B287   BURDETT           HEIDEMANN               NE     90006667255
523931A265B399   AMANDA            LIPPS                   OR     90005801026
5239325457B46B   DAVID             WILLAMS                 NC     90010622545
5239328584B521   ADELINE           DAVENPROT               OK     90014432858
523933A3597B54   FANYA             ARMENDARIZ              CO     90014983035
5239364A57B385   RUDY              ARISBE                  VA     90008806405
523938A5197B54   ERICKA            JUMENEZ                 CO     90015028051
5239393724B521   ADELINE           DAVENPROT               OK     90010299372
5239398745B387   AUTUMN            WHITECLOUD              OR     90014549874
52394484324B7B   JOSE ANTONIO      ARGUETA                 VA     90006494843
5239458A291348   ARTRINA           KING                    KS     90011105802
52394727A72B77   MIKE              LONG                    CO     33064887270
5239481A961965   MIRNA             AMADOR                  CA     90014658109
5239525344B521   MARK              LOWRY                   OK     90010312534
52395666897B54   RICK              JORDAN                  CO     39039956668
523956A1872B36   JUAN              GUERRERO                CO     33072506018
523962A8A5B399   NICK              CARATTINI               OR     90012682080
52396385A4B588   MARIA             RUIZ                    OK     90014373850
5239713325715B   STEPHANIE         HANNA                   VA     90005131332
52397444497B54   JON               SAMSON                  CO     90012884444
5239754334B543   ROSE              COX                     OK     90012125433
52397638898B2B   JANIA             EARLY                   NC     90005806388
5239844255715B   MIRIAN            RODRIGUEZ               VA     90000764425
52398775A72B43   MARK              ALLEN                   CO     90014987750
5239972594B588   MEIDRA            PHILLIPS                OK     21557337259
523997A9472B36   MICHAEL           GARCIA                  CO     90015097094
52399844798B2B   ERIC              MILLER                  NC     11073968447
5239B561355951   ADILENE           CRUZ                    CA     49087655613
5239B6A7271964   CHARLES           MARTIN                  CO     90007706072
523B127875B399   ERIK              MATEO                   OR     44560642787
523B23A2957157   MARIA             GONZALES                VA     81006353029
523B24A5A8B169   MORRESI           LOUSIS                  UT     90008474050
523B294157B46B   STEPHEN           MILLER                  NC     90013879415
523B3253898B2B   ENRRIQUE          GOMEZ                   NC     90005392538
523B3414572B49   JENNIFER          DEWING                  CO     90010194145
523B3525744363   DEMETRIUS         ODANIELS                MD     90015435257
523B3899461975   MARTHA            VALDEZ                  CA     90014618994
523B4194191895   MICHELLE          GREGG                   OK     90014231941
523B433A572B49   MIGUEL            GUERRERO                CO     33019033305
523B434A897B54   SOFIA             VELASQUEZ               CO     39086623408
523B4644124B7B   JOSE              GARCIA                  DC     90012626441
523B557244B521   ROBERT            KERNS                   OK     90014185724
523B657464B521   KAMEELAH          CALDWELL                OK     90014185746
523B7227A91587   YOLANDA           BARRAZA                 TX     75029832270
523B757464B521   KAMEELAH          CALDWELL                OK     90014185746
523B776197B46B   BRITTANY          HEARN                   NC     11011127619
523B7791A72B67   HILDA             AGUILAR                 CO     33065217910
523B8263972B88   IMCS              LLC                     CO     90003232639
523B884938B169   GASPAR            GERRERO                 UT     90007118493
523B886A172B49   GLORIA            PINEDO                  CO     90006928601
523B8A53A5758B   CAROL             PENA                    NM     90008990530
523B9724672B36   JAVIER            RAMIREZ                 CO     33078967246
523B981984B936   LEA               MAYK                    TX     90006228198
523B983282B272   KATHY             JACKSON                 VA     81014688328
523BB29A257157   MARYANN           DOMIGPE                 VA     90013012902
523BB554261973   CARMEN VICTORIA   PACHECO                 CA     90011445542
523BB634A84357   MAXIE             OLIVER                  SC     90010086340
523BB941A72B49   JUSTINE           GOMEZ                   CO     33087019410
52411351772B27   SHERRY            LEE                     CO     33051083517
5241146A261973   LETICIA           RAYOS                   CA     46081724602
5241154974B28B   ALFA              LABRA GARCIA            NE     90008015497
52411624272B49   KYLE              STEED                   CO     90013826242
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52411AA152B27B   FRANCISCO    GONZALEZ                     DC     81047000015
5241324945B387   LOELL        NOBLITT                      OR     90015382494
5241342A451348   COLLEEN      KOHNE                        OH     66025234204
52413544872B49   MARIA        CARRILLO                     CO     90011325448
5241356388B169   ATKNSON      ELENIOR                      UT     90003655638
52414147172B49   EVA          DARDANO                      CO     33001941471
52414419472B27   ZACH         EVANS                        CO     33012894194
5241446245B399   FELIX        ESTARDA                      OR     90008974624
5241544A997B54   JESSICA      ROBINSON                     CO     39083084409
5241623964B28B   LEANN        HYATT                        NE     90011322396
52416338224B45   RAINEY       CHANDLER                     DC     90007923382
524166A6155964   ESTEBAN      REYES                        CA     49002626061
52416A2178B597   RUDOLFO      LOPEZ                        CA     90014470217
5241718595B531   ASHLEY       DURAN                        NM     90010801859
5241728A233696   TRAVIS       TRAPP                        NC     90014142802
5241757325758B   ALFREDO      BARRON                       NM     90014885732
5241778A631429   RACHAEL      ROY                          MO     90005857806
52417A24872B34   RICKY        RUYBAL                       CO     90000910248
52418A77897B54   PATRICIA     HERNANDEZ                    CO     90009000778
52419A75131429   DAVID        COTTON                       MO     90006280751
5241B185897B54   LILIANA      RUIZ                         CO     90012211858
5241B85634B28B   DAVANDIS     MILLER                       NE     90010588563
524212A958B169   LARK         FORSYTH                      UT     90015112095
52421363397B54   RICARDO      MORENO                       CO     90013213633
5242138917B46B   JERITA       JONES                        NC     90014723891
5242192285758B   ERNESTO      VELAZQUEZ                    NM     90002169228
52421A32372B62   SOPHIE       CARTER                       CO     90010240323
52421A58961965   PEDRO        CADENA                       CA     90014950589
5242235A493724   ANDREW       MINNIX                       OH     90013293504
52422375672B36   DOLORES      MARTINEZ                     CO     33008523756
52422845A2B27B   QUINTES      JEWEL                        MD     90015418450
5242287145758B   ELLEN        REEVES                       NM     35500908714
5242489A15758B   SUMMER       PROVENCIO                    NM     90012358901
524251A1A91895   THERESA      LANKSTER                     OK     90004881010
52425247872B36   CHRISTINE    MEDINA                       CO     90013512478
5242535824B28B   SYLVIA       SEYMOUR                      NE     26013833582
5242536A871964   JENAE        MIXER                        CO     90011603608
524256A8972B43   DIRK         BOUDRIAU                     CO     33006356089
52425831198B2B   RAENIECE     WILKERSON                    NC     90009068311
52425973497B54   ROGELIO      ESTRADA                      CO     90013189734
52427291572B27   MICHELLE     CAUDILLO                     CO     90014622915
524278AA85758B   MARIADORA    DORADO                       NM     35589648008
52427A1A161973   RODRIGUEZ    DAVALOS                      CA     90002290101
52428459A5B387   LORINE       RAVOLLE                      OR     90010194590
524286A8655951   ROSE         ROSE                         CA     49009486086
52429917772B49   CARMEN       URANGA                       CO     90014369177
52429A83433696   BRENDA       VASQUEZ                      NC     90012780834
5242B481251348   MARIE        BRANTLY                      OH     90007524812
5242B569898B2B   ROSARIO      DELGADO                      NC     90005395698
5242B56A961965   JACOB        BOMMER                       CA     90013405609
5242B831433696   JAVIER       FIGUEROA MEJIA               NC     12090938314
52431141A2B27B   AHTAHZSA     STEVENS                      DC     81087511410
5243174427B46B   ASTHLEY      HILL                         NC     90010947442
52431892872B43   ADOLFO       RAMIREZ RUCOBO               CO     90005748928
52431A15793754   ROBERT       WITMAN                       OH     90007660157
5243257612B973   CARMINA      DELGADO                      CA     90005195761
5243288664B28B   BETHANY      TOLLIVER                     NE     90014798866
52432A44A5B387   TINA         MATTHEW                      OR     90006600440
524331A147B46B   TENEAL       SHANNON                      NC     90009951014
524332A5561975   VANESSA      GONZALEZ FLORES              CA     90013702055
52433AA5831429   ROBERT       BROWN                        MO     90005860058
5243463117B46B   SMITH        KAREEN                       NC     11023786311
524346A1757157   JOSE         BENITEZ                      VA     90009006017
52435481A33699   SANDRA       GUNNING                      NC     90014884810
5243573A161965   OSCAR        GUTIERREZ                    CA     90012617301
524358A6A91895   DALIQUA      FOWLKES                      OK     90011158060
5243711A15B387   JENNEL       BROWN                        OR     44541441101
524385A8891968   VERNON       FARR                         NC     90013545088
52438A39A7B46B   SANTORIO     ALSTON                       NC     90013010390
52438A7A957157   DEBRA        BOWER                        VA     90007620709
5243959A191587   JESUS        ESTRADA                      TX     75091925901
5243B429972B49   JESUS        BUSTAMANTES                  CO     90000944299
5243B636A5B387   GARY         DECKER                       OR     90004906360
5243B651751348   JUNE         JOHNSON                      OH     66003296517
5243B9A7A33699   TONYA        WILLIAMS                     NC     90005239070
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5243BA1555B283   MARY         SHELTON                      KY     68005150155
5244128348B169   VERONICA     PINON                        UT     90010482834
52441423A5B283   AVELLA       SMITH                        KY     90014864230
52441656972B43   JOSE         SALASHERNANDEZ               CO     33064046569
52441A46261975   WILLIAM      CHARLTON                     CA     90014780462
5244212A672B77   GABRIEL      GURULE                       CO     33048611206
524423A9A5758B   MIKE         PENA                         NM     90013533090
52442544872B77   GABRIEL      GURULE                       CO     90011505448
5244315AA51348   DAWN         ORNELAS                      OH     90008711500
5244336497B46B   GLENN        HOPKINS                      NC     90002003649
52443474524B7B   GERALD       AGUILAR                      DC     90013044745
524435A9861971   KENDRICK     SMITH                        CA     90008125098
5244374397B35B   INMAR        CEDILLOS                     VA     81063947439
524447A854B521   ERICA        GUNTER                       OK     90015097085
52445466272B43   STEPHANIE    TRUJILLO                     CO     90011004662
52445639A97B54   JAIME        AGUIRRE                      CO     90013346390
52445833A61971   VERONICA     GARCIA                       CA     90007698330
524461A2455951   KAYLA        LEE                          CA     49034461024
52446775A2B27B   JESSICA      BELL                         DC     90010787750
5244687335B165   MICHELLE     NAGODE                       AR     90006648733
52447256672B36   LYNN         REDDELL                      CO     33035422566
5244754235B531   DORIS        RIVERA                       NM     90015115423
52448237A61971   ROJ          ALI                          CA     90006832370
52448A4975758B   TANIA        LOPEZ                        NM     90008940497
52449283172B77   WENDY        WILSON                       CO     33048612831
5244B74394B521   SMITH        SHALANDA                     OK     90006877439
5244BA58161973   ANTONIO      CEJA                         CA     90005120581
524515A8833696   DREZ         WHITE                        NC     90010665088
52451A5694B556   CONNIE       THOMPSON                     OK     90009730569
52452147372B43   JEFF         SCOTT                        CO     90013891473
5245243A633699   ASHLEY       BALLEW                       NC     90005604306
5245291874B521   PENNY        HOWELL                       OK     90014499187
5245299685B393   LAURA        PRIDE                        OR     44507299968
52452A85657157   LEWIS        GILES                        VA     90007620856
52453AA397B46B   MICHAEL      SMITH                        NC     11063910039
5245411A191587   WILLIAM      YAMASAKI                     TX     90003091101
5245413914B521   ROBERT       KINNETT                      OK     90014211391
52454196872B43   JOSE         CONTRERAS                    CO     33005471968
5245432317B46B   CAYETANO     CRUZ                         NC     90012433231
52454743997B54   BILL         VARELA                       CO     90015227439
52455399A61975   STEPHEN      SANCHEZ                      CA     90006693990
5245565868B169   CHRIS        AUSSEM                       UT     31010396586
524562A1784373   TERESA       BEUKEMA                      SC     90008362017
5245633267B46B   ELVIS        HEDGEPTH JR                  NC     11016083326
5245647655B543   SANDRA       HERNANDEZ                    NM     35083504765
52456557A84357   TANYTH       PORTER                       SC     90007065570
52456853472B49   JUANITA      TINAJERO                     CO     33094028534
5245686415B387   JESSICA      JACKSON                      OR     44521838641
52456899A72B36   MARK         REED                         CO     90013988990
5245723255B399   ANGELA       LOPEZ                        OR     90014782325
52457264A93724   LUU          JAMA                         OH     90010122640
5245843A184852   JAIME        BEDOLLA                      NJ     90015064301
5245948915B399   ELIDIO       ORTIZE                       OR     90012264891
5245968229198B   AMY          SLIKE                        NC     90011056822
5245988588584B   FLOYD        YOUNG                        CA     90009048858
524599A268587B   FERNANDO     MARTINEZ                     CA     90002649026
5245B114A72B27   GEORGE       BURGERMEISTER                CO     90011011140
5245B412461975   JON          BAGGERLY                     CA     90006104124
5245B966784373   TROY         NELSON                       SC     90007239667
5245B97475B229   LIZET        SOLANO                       KY     90013929747
5245BA7435758B   DAVID        VALENZUELA                   NM     90009940743
52461641A72B36   VINCENT      BURROUGHS                    CO     90009626410
5246177372B27B   MAYNARD      CHANDLER                     DC     81025177737
5246184A584373   HOPE         FULMORE                      SC     90014588405
52461A5565B393   CESAR        RAMIREZ                      OR     44597800556
52462138572B43   MICHELLE     VONDS                        CO     90015201385
5246219AA7B46B   SANTOS       TELLEZ                       NC     90011381900
52462A36991895   ELIZABETH    MANZANO                      OK     90009120369
5246376A872B67   STEVEN       ARELLANO                     CO     90002797608
524637A4733699   JENNIFER     CAUDLE                       NC     90011077047
5246441A161971   ROBERT       BRINGINO                     CA     90010424101
5246441A731428   JEANNETTE    ROBINSON                     MO     90010554107
5246451274B521   STEPHEN      CALHOUN                      OK     90010645127
52464596A5B531   SELINA       BLACO                        NM     90014365960
5246471385B264   APRIL        ALFORD                       KY     90005227138
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52464A63261965   JALISSA          SNOWTEN                  CA     90014510632
52465524172B36   PERRY            POLLET                   CO     33092385241
5246582163B377   JOHN             GUSICK                   CO     33097998216
52466259172B77   SAIDA            MARQUEZ                  CO     33083742591
52467476672B36   GARY             GURULE                   CO     33051134766
52467A5344B588   DEBRA            BRUCE                    OK     90012730534
52468961972B49   THYIAF           BROWN                    CO     90010469619
52468A21693724   REGINA           BROOKS                   OH     90001380216
52468A62997B54   ESPERANZA        MOLINA                   CO     39019450629
5246964138B169   MICHAEL          RAMEY                    UT     90012846413
52469851172B77   ALANIS           GOMEZ CORRALES           CO     90011098511
5246B28147B46B   NATANAEL         HERNANDEZ                NC     90013372814
5246B466272B43   STEPHANIE        TRUJILLO                 CO     90011004662
5246B642491587   CHRISTINA        GUERRERO                 TX     90009286424
5246BA99672B36   FRANCISCO        AYAQUICA                 CO     33060730996
524716A3533696   MIKE             LOWRY                    NC     90014116035
5247219A85758B   MANUELA          CORRAL                   NM     90014651908
52472349572B36   JAQUELIN         RAMIREZ                  CO     33090803495
5247241214B28B   ANBER            ROBIN                    NE     90005564121
52472467A31428   SHANNIS          MCCOLLIER                MO     90002844670
5247249334B588   KENNETH          BAKER                    OK     21557314933
52472939572B67   MICHELLE         GONZALES                 CO     33002179395
5247332315758B   LYDIA            LERMA                    NM     90009533231
52473856372B49   BLACK-GREENING   ARIEL                    CO     90009658563
52474881A57157   CLAYTON          SHUTTS                   VA     81005748810
52474AA724B588   VERMA            PAPA                     OK     90013480072
5247549334B588   KENNETH          BAKER                    OK     21557314933
524759A2191584   TONY             LITTLEPAGE               TX     90001229021
5247638A791587   ADRIANA          BALTAZAR                 TX     90010393807
52476671124B76   JOHN             JOHNSON                  DC     90005066711
52477971172B36   SHANNON          HOILAND                  CO     33007699711
52477A87972B43   RHIANNA          VETTER                   CO     90010240879
5247829A257157   MARYANN          DOMIGPE                  VA     90013012902
5247861524B521   THREASA          MARTIN                   OK     90015196152
5247898755B387   MIRNA            SANTOS                   OR     90009029875
52479117972B27   ANA              VELAZQUEZ                CO     90002311179
52479314472B77   MARGARET         MANZANARES               CO     90008373144
5247935A161973   AMELIA           SALAS                    CA     90004043501
52479634272B36   ATHENA           ROYS                     CO     33011576342
5247988A78B169   KENNETH          SWING                    UT     90003398807
524798A654B936   PAYGO            IVR ACTIVATION           TX     90012318065
52479A3257B46B   BREISI           MAZARIEGOS               NC     90014680325
52479A43557157   MARTHA           ORELLANA                 VA     81081230435
52479A52372B67   GUILLERMO        TRUJILLO                 CO     90006950523
5247B255472B88   MICHELLE         LONG                     CO     90007022554
5247B25548B169   JODI             J TEETER                 UT     90014332554
5247B277491895   COURTNEY         LEWIS                    OK     90013132774
5247B29A25B399   TEPI             EKLEBERRY                OR     90014542902
5247B67865B399   ANDERW           SCHWAB                   OR     44565766786
5247B69495758B   CASSANDRA        HERNANDEZ                NM     90007236949
5247B857261973   ALEJANDRA        BONILLA                  CA     90006188572
5248136145B387   ERIC             HENDRICKSEN              OR     90010253614
5248163194B28B   GERALDINE        SCOTT                    NE     90006466319
5248163562B27B   JONICE           ROBINSON                 DC     90012796356
524816A9872B49   KAREN            OSBORNE                  MT     33025006098
5248175974B588   TAMEEKA          MOLDEN                   OK     21583777597
5248221435B283   TARYN            KLEINHENZ                KY     68056842143
5248242725B531   ARACELI          CABELLO                  NM     90006414272
52482956372B88   MAGDALENA        GARCIA                   CO     33077969563
524829A672B241   MIYAH            DIVA                     DC     90005009067
5248352744B28B   KELLY            REA                      NE     90007985274
5248469A15B399   CONRAD           CONRAD                   OR     44566476901
52484712A72B67   MARCELO          MADERA CABRAL            CO     33084507120
5248514984B28B   CAMI             BURCHETT                 NE     90007951498
52485512997B54   MICHAEL          PALSER                   CO     90014265129
52485872A72B33   MARGARITA        GUERRA                   CO     90013668720
5248618A197B54   EDWARD           BOYLE                    CO     90010951801
5248628277B46B   NERISSA          NEWTON                   NC     90014052827
5248683845B387   DEBBIE           ROBER                    OR     90014858384
5248726155B387   MARGARITA        LOPEZ                    OR     44504852615
52487358A61965   PHYLLIS          BALL                     CA     46055703580
52488197A5758B   RUBY             CALDERON                 NM     35522101970
524889A5333696   GRIR             JEFFERYS                 NC     90013999053
52488A6A297B54   GABRIELA         CHUAVIRA                 CO     39062490602
5248933965B283   PHILIP           HARNED                   KY     90004243396
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52489755472B36   JAMES            CHANEY                   CO     33086917554
5248984964B588   ANTEALA          DAVIS                    OK     90014438496
52489883597B54   CAROLANN         SEGURA                   CO     90014818835
52489981A98B2B   TANYA            RUFF                     NC     90005419810
5248B139393724   HEIDI            LAWSON                   OH     64527181393
5248B379271964   JOE              MARTINEZ                 CO     32091753792
5248B66165758B   ELIA             DELAISLA                 NM     90012456616
5248B77532B866   TINA             BUSBY                    ID     41049947753
5248B942772B49   MOISES           JUAREZ                   CO     33070509427
52491174A42335   STEVEN           GIBSON                   GA     90010981740
5249127355B543   NIDIA            HERNANDEZ SEHUE          NM     90001862735
52491656697B54   JAVIER           PORRAS                   CO     90006726566
52491961724B7B   IMELDA           REMPSON                  DC     90012139617
52492356272B77   BRITNEE          BELL                     CO     33082143562
524923A9272B67   TAMARA           CORDOVA-PEREZ            CO     33057183092
52492523A98B2B   JOSEPHINE        TUCKER                   NC     90006785230
5249269595B387   TANYA            PERRY                    OR     90013796959
52493117A61975   JOHN             VALENZUELA               CA     90012541170
5249375917B46B   DEWANNA          REYES                    NC     90010527591
52493871424B7B   TRIXIE           ARGUETA                  VA     90012498714
5249437AA61975   ERIKA            RODRIGUEZ                CA     46034373700
52494A4914B28B   PAUL             YATES                    NE     90009780491
52495742253B96   JOEY             AGUIRRE                  CA     90014567422
52496348972B36   NICOLE           TRAVIS                   CO     33021633489
52497459297B54   ADAN             VANEGAS                  CO     39096834592
5249829A793724   RIGOBERTO        OSNAYA                   OH     90002592907
524982A6391587   STEVAN           RIVERA                   TX     90013952063
5249858565B399   JOHNNY           DAVIS                    OR     90014175856
5249858A15B387   RICHARD          LORD                     OH     44543605801
524993A8761965   IRMA             EDMINSTER                CA     90015293087
52499951572B43   JOSEFINA         PEREZ                    CO     90013239515
52499A64833696   ISAI             FIGUEROA                 NC     90013050648
5249B933491895   ROCHELL NICOLE   OFFICER                  OK     90014239334
524B1189577365   JOYCE            ADAMS                    IL     90014821895
524B1527A2B27B   MARCUS           ROBERTSON                DC     90013175270
524B1557772B36   CATHERINE        RAML                     CO     90012175577
524B174278B169   JOSEPH           OLIVE                    UT     90014627427
524B22A7784357   JANNIE           HOLMES                   SC     90014902077
524B2739833699   JOSHUA           BOWLES                   NC     90008927398
524B27A3684373   RASHAWNDA        GATHERS                  SC     90014587036
524B2836A5B387   SEAN             BROWN                    OR     44531528360
524B29AA32B27B   DILWAR           HUSSAIN                  VA     90004609003
524B3161833699   EVERTON          BLAIR                    NC     90013981618
524B3431A58577   ROBBIN           DAVIS                    NY     90015414310
524B351335B399   TRINA            CHAPPELLE                OR     90011605133
524B351645B531   MARK             WADE                     NM     35028165164
524B3547561971   GILBERT          SHANGOO                  CA     90012615475
524B375A872B49   ALMA             MANCERA                  CO     33066917508
524B4211872B88   ZAIDA            SOLAREZ                  CO     33060462118
524B5141872B67   MARKELIA         BANKSTON                 CO     33009971418
524B5663291895   DANIEL           NUNN                     OK     90009446632
524B5784961971   RICARDO          MAYO                     CA     90013817849
524B6537933696   QUATESHIA        BLEDSOE-MILLER           NC     90014125379
524B6586572B36   MARIA            CHAVARRIA                CO     33014805865
524B69A955B399   BLAKE            JESSUP                   OR     90014549095
524B6A4667B46B   JOSEFINA         FELIPE JUAREZ            NC     90013470466
524B7178672B36   JOSE             MARTINEZ                 CO     90006661786
524B7659261936   ISSAC            JUAREZ                   CA     90008886592
524B7815193724   SHANNA           MILLS                    OH     90013018151
524B782985758B   GABRIELA         LARIOS                   NM     90013928298
524B865858B169   CARLOS           LAGUNA                   UT     90009266585
524B913872B27B   PAUL             NICHOLS                  DC     90012641387
524BB248551348   TONY             WEIGLE                   OH     90005472485
524BB31565758B   STEVE            HERNANDEZ                NM     90013693156
524BB329361971   VONTINA          CLARK                    CA     90009913293
524BB46A472B27   HENRY            KING                     CO     33009994604
524BB52912B27B   CHENIKA          TORNEY                   MD     90015535291
524BB7A3A5B399   BLANCA           VILLATORO                OR     90007587030
524BBA56624B7B   CAMERON          HOWARD                   MD     90013030566
52511A49A61971   MICHAEL          SUTHERLAND               CA     90014160490
5251355434B588   DAVID            CASE                     OK     90014855543
5251372A472B2B   REGINALD         THIBODEAUX               CO     33002567204
52514344372B67   KELSEY           ELLIOTT                  CO     33061883443
52514422372B35   DANNY ANTOINE    AGUIRRE                  CO     90010504223
5251514435B387   MARIA            SANDOVAL                 OR     90012691443
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5251548A75B244   ERIC              GRAY                    KY     68068794807
525155A945758B   TERESA            PACHECO                 NM     35509285094
52515613A61971   JERRED            RAMEY                   CA     46049026130
525163A574B521   MIGUEL            ESTRADA                 OK     90011153057
52516539372B67   RONALD            CHAVEZ                  CO     33052285393
5251654825B561   JUAN              MARTINEZ                NM     90013555482
52516643772B49   PICI              PARDO                   CO     90006576437
52517333597B54   COLTON            INGRAM                  CO     90008863335
5251779459196B   LATOYA            ANDERSON                NC     17010197945
52517981A61975   RICHARD           RUIZ                    CA     46019569810
525181A7361971   SYLVANIA          DUNN                    CA     46014711073
5251822185B531   LEANDRO           BELTRAN                 NM     90006592218
52518374A51348   HARLOD            BOMAR                   OH     90011113740
5251846A191895   KEIA              SWALL                   OK     21099654601
5251889A584373   MAURICIO          GARCIA-ALEJANDRO        SC     90015198905
52518A2494B521   BRANDY            GALLARD                 OK     90011090249
525192A2184373   MEGAN             ELMORE                  SC     90000622021
52519949172B27   JORGE             SANDOVAL-SANCHEZ        CO     90013329491
5251B55714B28B   DEANTE            JONES                   CA     26096305571
5251B698843524   ORIBIO            EVA LUZ                 UT     31006256988
5251B891851348   SIMEON            DEMUS                   OH     90014028918
5252138A533699   KEVE              ROLLE                   NC     90012873805
52521896472B43   BRIANNA           CISNEROS                CO     90010928964
5252194594B588   KAREEM            LOCKHART                OK     90012549459
5252252A851348   MARSHAL           MCGHEE                  OH     90015155208
5252297795B244   STEVE             KINNINMONTH             KY     90014399779
52522A5934B588   TRACEY            RODRIGUEZ               OK     90009780593
52523315872B36   DEANA             TRUJILLO                CO     90015213158
52523829972B27   JACK              MARTIN                  CO     90011668299
52523956572B43   JUSTIN            COOPER                  CO     90008969565
52524128197B54   FIDELA            HERNANDEZ               CO     39065611281
5252474694B588   SANUCIA           LEE                     OK     90013227469
5252534185B399   TIMOTHY MICHEAL   DETJEN                  OR     90012143418
525258A414B588   MARIA             MANCERA                 OK     21557298041
5252763528B169   MICHELLE          ROBBINS                 UT     31058406352
5252787644B588   BRIDGETT          CRISWELL                OK     90012798764
52528475A8B169   REYNA             GARRIDO                 UT     90010564750
5252916A272B36   DAWN              HUFFMAN                 CO     33012001602
52529232A84373   TYRA              JOHNSON                 SC     90013112320
5252935698B183   DEBORAH           SMITH                   UT     90013703569
525297A5172B49   STEVENSON         MIKE                    CO     33040597051
5252B47894B588   FELIPE            SANCHEZ                 OK     90015104789
5253229537B46B   EVELYN            ROMAN                   NC     90010742953
5253296935715B   CARLOS            ESCAMILLA               VA     81041309693
5253317A372B36   MIREYA            DE LA PAZ COSIO         CO     90015121703
5253352A38B169   JENNIFER          MCTAGGART               UT     90011355203
5253455124B28B   NICHOLE           TROUBA                  NE     90013015512
52535141672B43   KLAUD             BANKS                   CO     33017921416
5253525545B543   ANNABELLE         SAENZ                   NM     35024222554
525354A255B399   YOLANA            KUZMENKO                OR     90013754025
5253554745B531   NOEL              LUCERO                  NM     90014865474
5253584A484373   DARLENE           PERPRUNER               SC     90012098404
525362A887B46B   MEESSOOO          CEELO                   NC     90002522088
5253698A761973   DONNA             BREWSTER HALL           CA     90011219807
52537149172B43   CONSUELO          LOPEZ                   CO     33065981491
5253725237B397   JUAN              BONILLA                 VA     90002252523
525372A7872B88   IAN               BORSICK                 CO     33071392078
5253739928B169   MIKE              MANNING                 UT     90014313992
5253776944B521   MARIA             VELASCO                 OK     90015167694
5253836975B387   HAROLD            GRIFFIN                 OR     90009493697
5253848AA4B521   BERNARDINO        GARCIA                  OK     90015334800
5253863625B399   STEFANIA          SHEA                    OR     90007446362
525389A6672B77   MONIQUE           TORRES                  CO     33036829066
5253918325758B   RAFAEL            AMARO                   NM     90009421832
52539728A84357   LAVONNA           BRYSON                  SC     90012507280
5253B314172B27   JAMES             MCFATE                  TX     33022383141
5253B646972B49   CRISELDA          PEREZ                   CO     33085886469
5253BA3944B588   MANUEL            BAZZA                   OK     21562340394
52541212A33699   EUSEBIA           BAUTISTA                NC     90010772120
525416AA94B521   DAWNE             COLLINS                 OK     90009676009
52541724172B43   LORETTA           CAMPBELL                CO     33097917241
5254225174B588   AALIYAH           HARJO                   OK     90013362517
5254235655758B   CHRIS             ARAGON                  NM     35564693565
52542555A61973   CARLOS            CALLEJAS                CA     90009055550
52542A7375715B   JAIME             RIOS                    VA     81054830737
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5254314917B46B   PAOLA        LARA                         NC     11040131491
525437A5361973   EDUARDO      MARTINEZ                     CA     46030107053
525439A9A5B531   JESSICA      GARZA                        NM     90013779090
525441A3791587   MARIBEL      FLORES                       TX     90011371037
525441A545B531   JULIE        BANGERT                      NM     90001001054
5254427675B531   ROSALYN      TORRES                       NM     35039092767
5254498925758B   SHARLOTTE    TELLEZ                       NM     90014019892
5254533665B393   VERONIA      HERNANDEZ                    OR     90011983366
52545A35684357   CAROL        STEVENSON                    SC     90009890356
52545A5A461975   ALEJANDRO    LOMAS                        CA     90014780504
52546389372B49   CARRIE       KARPOWICH                    CO     90012403893
5254751915B393   RANDI RICK   FOX -BLEHM                   OR     44588785191
52547555697B54   BRIAN        REED                         CO     90006915556
5254793428B169   JEENA        MINER                        UT     90014149342
52548297A97B54   JAMES        NAULLS                       CO     90012742970
525483A565B399   MARIO        REYNOLDS                     OR     44594433056
525485A3271964   KAY          CRAWFORD                     CO     90011615032
5254949762B27B   ALEXIS       ABERNATHY                    DC     90013214976
5254972334B588   PATRICIA     WALKER                       OK     90012387233
5254B16594B28B   JENNIFER     BROPHY                       NE     26073391659
5254B246257157   NATASHA L    RISE                         VA     90015232462
5254B359924B7B   JOSE         VERMUDEZ                     MD     90014963599
5254B71A984373   JOHN         RICHARD                      SC     19078577109
5254B85572B27B   DANIEL       MICHAELIS                    DC     90015478557
5254B86315B531   JUAN         CHAVEZ                       NM     90013918631
5255113A872B88   HERNANDEZ    BYRON                        CO     90012491308
5255136A172B49   SABINA       RAEL                         CO     90013653601
5255143495758B   LORI         HERNANDEZ                    NM     90010334349
5255148445B393   MIKHAIL      YASINSKIY                    OR     44560974844
52552399A72B27   SARA         MORALES                      CO     33098233990
5255394A693724   REGINALD     CARTER                       OH     90011719406
52554492A7B46B   JACINTA      SANDERS                      NC     90010284920
525549A7691351   LOUANNA      DAVIS                        KS     90009179076
52554A61661975   BRIAN        DOMINGUEZ                    CA     46041320616
52555818A91587   FRAGOSO      RUTH                         TX     90010248180
5255587494B521   YOLANDA      CHAVEZ                       OK     90015118749
52555896872B49   ANGELA       GOSS                         CO     33012558968
525559A814B28B   JONI         OLBERDING                    NE     90010019081
525562A175715B   VERONICA     GUERRA                       VA     90013272017
525563A535B387   RAFAEL       DELOSSANTOS                  OR     90011063053
525564A125B531   JULIO        QUEZADA                      NM     90011014012
52556587397B54   ROSA         FLORES                       CO     90013055873
52556A8842B27B   TAQUAN       HOWIE                        DC     90014410884
5255728334B521   GARY         HALL                         OK     90009182833
525583A5772B36   VICTORIA     STARKS                       CO     33029253057
5255911128B169   THAIN        ANDERSON                     UT     31047741112
5255911A84B28B   QUENTIN      MCCULLOUGH                   NE     90013391108
525593A775B387   JEFF         BUTLER                       OR     44516413077
52559713497B54   EDWARD       RODMAN                       CO     90013737134
5255975A55B531   MONIQUE      TAVAREZ                      NM     35092627505
5255B397791895   ALEXANDER    WALLACE                      OK     90013133977
5255B51415715B   JESSICA      JAMES                        VA     81041325141
52561359772B49   RYAN         PURCHASE                     CO     90010723597
5256198A84B28B   MICHELLE     REA                          NE     26084469808
52562A5217B46B   BRYAN        AUTEN                        NC     90014930521
52563A1A871964   CANDACE      FINCH                        CO     32008110108
5256544655758B   VICTOR       PAYAN                        NM     90010724465
5256559152B27B   HANA         WOLDEKIDAN                   DC     90009445915
525655A954B588   JOSEPH       ARMENTA                      OK     90010895095
5256687935B531   JERYN        CERVANTES                    NM     35071908793
5256715934B28B   CORY         JOHNSON                      NE     26061151593
5256771375B393   ANDREA       SHETZLINE                    OR     44580917137
5256788A772B36   JEANNE       MONDRUS                      CO     90014918807
52567986A4B28B   BRITTANEY    CULVER                       NE     90010059860
52568138A61975   PATTY        SANDOVAL                     CA     90014381380
52568214A72B43   JOSE         JAUREGUI                     CO     90015122140
5256867315B387   VIVIAN       LIHPAI                       OR     90014666731
5256883622B27B   CARL         COURTNEY                     DC     90014738362
5256894A342335   SHERRY       CURTIS                       GA     90004369403
5256899135B387   AMANDA       STALLINGS                    OR     90011659913
5256915A74B521   MEAGAN       GADDIS                       OK     90014211507
52569527472B67   ESPERANZA    MENDIOLA                     CO     33089085274
5256B66A497B54   JORGE        FLORES                       CO     90014226604
5256BA53461971   MICHAEL      PALMIOTTO                    CA     90013980534
5256BAA1A72B36   OTONIEL      RODRIGUEZ MUNOZ              CO     90014390010
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52571156A71964   DON           OHAGAN                      CO     32091841560
52571417397B54   RICHARD       BUCKENDORF                  CO     90009784173
525714A9957157   PHILIP        NYUAH                       VA     90007424099
52571544172B36   VENITA        PETTEWAY                    CO     33092965441
5257184A961975   PAULA         LINNER                      CA     90012578409
5257248728B169   WILLIAM       SMITH                       UT     31014744872
525727A474B28B   GREG          SCHUBERT SR.                NE     26071047047
52572A8A551348   ANGELA        WEGMAN                      OH     90010980805
5257316A772B67   DRAGANA       HUSIDIC                     CO     90002391607
5257318A933696   VIVIAN        MORROW                      NC     90012581809
52573743A57157   ISABEL        MANZANAREZ                  VA     81055317430
52573792172B36   ANGELO        VIGIL                       CO     90014697921
52574774472B36   DARRELL       MATHIS                      CO     90009837744
5257478344B521   SABRA         DENSON                      OK     21550967834
5257494A471964   WALTER        MIRANDA                     CO     32066739404
52574954A2B27B   ASHLEY        DAMES                       DC     90013419540
52574A89472B77   ROGELIO       CONNTRERAS                  CO     90005700894
5257553147B46B   CASSIE        LEAK                        NC     90012545314
5257576A45758B   DOMINICK      FIUMARA                     NM     35509227604
525765A8772B88   KYLE          KOLANDER                    CO     90005825087
52576A2774B588   MORGAN        PAYLOR                      OK     90012370277
52577519172B43   CHRIS         HOSKIE                      CO     90001445191
5257913294B588   JOSHUA        FOO                         OK     90014541329
52579375A57157   TANISHIA      LEE                         VA     90007623750
5257955865758B   ANRES         GONZALEA                    NM     35551595586
5257B296172B77   LISA          KREUTZER-LAY                CO     90005512961
5257B98465B531   DUDA          YANES                       NM     90010809846
5257BA19184357   TAWANNA       PRINCE                      SC     14544480191
5257BA8982B27B   YACUB         SANDIATU                    DC     90014840898
52581462472B49   BESSI         SANCHEZ                     CO     90007484624
52581AA6A5B393   FONISISI      TUITAVAKE                   OR     90009300060
5258224A27B46B   CRISTIAN      BELL                        NC     90013202402
52582A17691895   RAUL          GOMEZ                       OK     90014240176
52582A9725B387   GILDARDO      VELAZQUEZ                   OR     44554970972
525831A437B358   YONI          LOPEZ                       VA     90012371043
52583557972B27   JUAN          BALADEZ                     CO     33048795579
525839A1297B54   MARY          ENRIQUEZ                    CO     39068749012
5258438664B588   VERONICA      RODRIGUEZ                   OK     90008033866
52584895A51348   MECHELE       SAMS                        OH     90015018950
5258547585B399   MICHAEL       GALLINAT                    OR     90013484758
52585498972B27   SERGIO        ROCHA                       CO     90000184989
5258563328B169   JEREMY        KROFF                       UT     31088036332
5258575835B393   TASHA         WILLIAMS                    OR     44552087583
525857A3691587   CARLOS        RODRIGUEZ                   TX     90000667036
52586167A7B46B   AUDREY        BELL                        NC     90013461670
52586384A84373   LATASHA       BETHEL                      SC     90013983840
5258641594B521   PAMELA        WADLEY                      OK     90006894159
5258673354B588   LASHEILA      GRAYSON                     OK     90015407335
5258699545715B   TSIGEMARIAM   KASSA                       VA     90005909954
52586A78172B43   ALICIA        RODRIGUEZ                   CO     33091520781
5258749675B399   TIFANI        TUCKER                      OR     90010624967
52587823972B43   FRANSISCO     MARTINEZ                    CO     90013018239
52587988397B54   ALAN          LEE                         CO     39097549883
52587A3915B283   JOSEPH        JEKEL                       KY     68092800391
5258815258B169   LYDIA         REYES                       UT     90010441525
5258873915B531   ADRIAN        CHAVEZ                      NM     90012327391
52588A91993724   EMILY         MYERS                       OH     90013600919
5258951825B543   PATRICIA      AGUILAR                     NM     35050225182
52589831672B36   ANA           MARTINEZ                    CO     90011538316
5258B265333696   ELLIOT        WALLACE                     NC     90013762653
5259132827B46B   REGINALD      WALLACE                     NC     11018793282
52591387172B36   SANTOS        VICTOR                      CO     90012433871
52591513472B88   SAMANTHA      ANDERSON                    CO     90003235134
52592656472B88   JUAN          PEDRO CHI-VERDE             CO     33078446564
5259277125B543   WEST          STACY                       NM     35088747712
52593839A61965   MICHELLE      TULA                        CA     90014528390
52594483272B36   HELEN         ATKINSON                    CO     33087434832
52594632297B54   KEVIN         GANTZ                       CO     39077196322
5259516A791587   CRISTINA      MARTINEZ                    TX     90010041607
52595576797B54   JOSE          SALCIDO                     CO     90013585767
52595849772B36   LINDA         PINNEY                      CO     90011728497
5259637884B521   DOMINIQUE     BROWN                       OK     90013953788
52597A4598B169   ANDREW        COOK                        UT     90012040459
52597A74861971   SEAN          MCCREA                      CA     90013070748
52598436172B36   MIRNA         MIRAMONETS                  CO     90004184361
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52598A41161971   SINAN          IBRAHEEM                   CA     90010020411
52598A56791895   THANG          KAP                        OK     90014240567
52598A7554B521   SARICA         RUSSELL                    OK     90009300755
52599542A72B36   MICHAEL        BELVEAL                    CO     90010205420
52599A96261965   ROSEMARY       PETERS                     CA     46015480962
52599AA2661965   ROSEMARY       PETERS                     CA     90012700026
5259B123291587   JOSE           OROZCO                     TX     90010091232
5259B29165B531   ROCHELLE       HENDREN                    NM     90014702916
5259B43377B46B   GRISSELL       DELGADO                    NC     90013184337
5259B953297B54   ALMA           DAVILA                     CO     90010139532
5259B978572B27   LEVIT          RODRIGUEZ                  CO     90000709785
525B125585B387   SUSAN          DELVIN                     OR     90012032558
525B1832291587   CRYSTAL        DAVIS                      TX     90014068322
525B192125B531   GLYN           SANDOVAL                   NM     90009229212
525B227735B283   DEWAYNE        HUGHES                     KY     90004242773
525B2554791587   LUIS EDUARDO   SANDOVAL                   TX     90014155547
525B27A9933699   SONYA          WAGSTAFF                   NC     90011447099
525B2A17661971   MARIA          CANALES                    CA     90009020176
525B3553297B54   CYNDAL         PRIDDY                     CO     90011195532
525B3795672B36   JUDITH         HOLLEY                     CO     33092357956
525B3A44391587   LUCERO         TOVAR                      TX     90009680443
525B4814A61973   LIZETH         LUNA                       CA     90013078140
525B4924184373   CESAR URIEL    VAZQUEZ TORRES             SC     90011969241
525B4995A57157   THOMAS         CARROLL                    VA     90005009950
525B4A65391895   D              LEE                        OK     90015220653
525B52A625715B   JORGE          ALEMAN BOLIVAR             VA     81071272062
525B5321657157   BLANCA         AYALA                      VA     81030233216
525B565A761965   SANDRA         RUZ                        CA     90011546507
525B5699284357   THOMAS         HINCHEY                    SC     90013206992
525B5849591895   JESSIE         GARZA                      OK     90014788495
525B58A1272B49   SCOTT          LEMMEN                     CO     90015298012
525B5922261548   BRITNEY        WATERS                     TN     90015359222
525B647315B531   DAN            DAVIS                      NM     90008634731
525B64A248B169   JENNIFER       GARDNER                    UT     90012054024
525B6749672B36   PATRICK        ANDRADE                    CO     33092657496
525B681A361975   RICARDO        FERRA                      CA     90011498103
525B725554B579   DAISY          STILL                      OK     90009292555
525B7325A97B68   LINDSAY        SENESAC                    CO     39060683250
525B771842B272   JOSE OSCAR     COLINDRES                  VA     90005597184
525B7824884373   NICHOLAS       LEEPER                     SC     90013768248
525B793785758B   LUIS           HERNANDEZ                  NM     90004889378
525B7A58972B49   MARIA          MARTINEZ                   CO     33014160589
525B7A6426194B   PAUL           QUINTERO                   CA     90011380642
525B8546491587   ANGELICA       GARAY                      TX     90008875464
525B8944871964   RODNEY         LOPEZ                      CO     90003249448
525B9392A61965   SANDRA         PADILLA                    CA     46009133920
525B98A568B169   JOSE           ANAYA                      UT     90014318056
525BB243557157   THOMAS         PATTON                     VA     90003172435
525BB29A793724   RIGOBERTO      OSNAYA                     OH     90002592907
525BB812872B36   NATALY         LOPEZ                      CO     90011538128
525BB966A91895   ERICA          DAVIS                      OK     21074129660
5261153265758B   HECTOR         MARRERO                    NM     90013445326
52611644A71964   FERNANDO       BERMUDEZ                   CO     32091886440
5261179A861973   TERESA         TAICH                      CA     46055687908
5261187A433696   FELICIA        MILLS                      NC     12010628704
52611978872B67   LUCIANO        MAYORGA                    CO     33015579788
52611AA545B543   KIMBERLY       DEHART                     NM     35088730054
5261229115B387   ALEXANDER      CHAN CASTILLO              OR     44590602911
52613115A93724   ANGEL          ROBERTH                    OH     90013581150
5261323685B387   MARIA          VASQUEZ MORALES            OR     90011492368
5261363784B588   LYNN           DAVIS                      OK     90014836378
52613721A51367   CAITLIN        BASIL                      OH     90011977210
5261381754B521   TYPE           WISEY                      OK     21565458175
52614541772B77   SILVIA         CONTRERAS                  CO     33071945417
52615145A4B28B   RANDALL        MILLER                     NE     90013261450
5261521675B399   GLORIA         LOPEZ                      OR     44560972167
5261537275B531   NICK           MONTANO                    NM     90013743727
526157A2651348   DELANO         MCCLAIR                    OH     90015227026
52615965497B54   GABRIELA       FLORES                     CO     39042699654
52616247372B49   GUSTAVO        HERNANDEZ                  CO     33052572473
52616272A2B27B   GLORIA         BLAZSIK                    DC     90002702720
52616583A51348   REBECCA        ADAMS                      OH     66054485830
526168A3884357   ORELL          PINCKNEY                   SC     90014578038
526176A7472B27   TROY           OLESON                     CO     33078736074
5261794655B531   DELMY          BORRERO                    NM     90010389465
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5261797A28B169   JON          AHLSTROM                     UT     90011609702
5261817465B283   KIMBERLY     HEWITT                       KY     68012861746
5261866A87B46B   ROCIO        VAZQUEZ- HERNANDEZ           NC     11089136608
5261899454B28B   JONI         OLBERDING                    NE     90010019945
5261942835B283   ANN          CROMWELL                     KY     68056894283
5261997478B169   APRIL        HORROCKS                     UT     90013259747
5261B256861971   DEBBIE       RUE                          CA     46057012568
5261B384555926   PENNY        GRAYSON                      CA     49040253845
5261B5A1497B54   GALE         TRUITT                       CO     39014425014
5261B63364B521   LOGAN        MADERO                       OK     90014976336
5261B814284357   KIARA        SEABROOK                     SC     90014648142
526214A9172B36   STEVEN       GREGORY                      CO     90010184091
52621715A61975   JUAN         OROZCO                       CA     46041717150
5262177325758B   KAREN A      ALVIDREZ                     NM     90000167732
5262177498B169   NAOMI        JIMENEZ                      UT     90010367749
52622A4215715B   RAMIRO       MONTANO                      VA     81041550421
52623155A7B442   URSULA       DAVIS                        NC     90012951550
526241A8A72B43   JACQULYN     GARCIA                       CO     90009471080
52624357472B27   MARVIN       RICHARDSON                   CO     33028763574
52624A72833699   KHARI        IMES                         NC     12076180728
5262533755B543   MICHAEL      TORRES                       NM     90003243375
5262627AA97B54   GRICELAD     ARELLANO                     CO     90013512700
52627277872B36   SEAN         SANDOVAL                     CO     33000652778
5262755915B283   DESMOND      MCGILL                       KY     68091105591
52627735772B77   MICHELLE     FLORES                       CO     33033407357
52628187A27B3B   SIERRA       CLARK                        KY     90012391870
52628236572B36   ALINE        BENCOMO                      CO     90011182365
52628479472B49   BRIAN        W ISENHART                   CO     90013454794
526285AAA61973   GABRIEL      TIRADO                       CA     90012355000
5262864265B531   VANESSA      SILVA                        NM     90004006426
526286AA561971   DOMINIC      DIBERNARDO                   CA     90010556005
52628832372B27   DREW         ANDERSON                     CO     33097488323
5262888464B521   CHRISTINA    ENGLISH                      OK     90005378846
52629377172B49   MARTHA       RIVERA                       CO     33057283771
5262942155B387   MANUEL       MATLA                        OR     90009224215
5262963275B399   PHYLLIS      TYLER                        OR     44519616327
5262B162487B27   DONALD       CURRIE                       AR     28003111624
5262B513491587   SONIA        VALDEZ                       TX     90013875134
5262B58734B28B   ADRIANA      CUSATIS                      NE     90013025873
5262B75942B27B   TYEAS        JENKINS                      DC     90006127594
5262B92765B531   RACHEL       MOLINA                       NM     90009239276
5263214AA61971   CARLOS       VELAZCO                      CA     90010371400
526323A295758B   IRENE        ROMAN                        NM     90012013029
52632436A8B12B   NEAN         HAWE                         UT     90014524360
526324A8491267   CHRIS        JAMES                        GA     90010654084
5263326234B521   TAKIASHA     HORN                         OK     90014392623
526344A397B46B   KARMEON      WHITE                        NC     90011544039
526347A414B588   ALEJANDRO    LOPEZ                        OK     90013437041
52634AA715B387   CARVIN       GLOVER                       OR     44573150071
526352A145B387   LAURIE       WARREN                       OR     90015082014
5263661152B27B   MANUEL       PEREIRA                      DC     90015446115
5263665865715B   MARVIN       SEGOVIA                      VA     81078386586
5263721A85B399   AMANDA       ESPINO                       OR     44537812108
52637536872B27   MARIA        RIVERA                       CO     33078325368
526375A8542335   BRITTNEY     SMITH                        TN     90015365085
52637797A71964   JOANN        MARTINEZ                     CO     90008337970
52637A2A884373   HERBERT      MCCRAY                       SC     90013530208
52637A4213B387   ROBERT       MUNIZ                        CO     90009220421
52638423A5B387   LACEY        WILSON                       OR     90001114230
5263846875B531   BLANCE       DOMINGUEZ                    NM     35092254687
526386A865758B   MIRRIAM      TORRES                       NM     90014886086
5263885A65B543   MARCOS       MARTINEZ                     NM     90005428506
526389A884B28B   STEVEN       ROGERS                       NE     90010989088
526392A3557157   JESSICA      LONG                         VA     90013062035
52639462998B2B   ZELDA        BERKLEY                      NC     11045854629
52639569972B36   COREY        FOLEY                        CO     33050745699
5263B297561975   IVETT        GODOY                        CA     46057892975
5263B744972B77   SARAH        COIT-KEIJZER                 CO     33048667449
5263BA47393724   RICK         HOWARD                       OH     64518720473
5264251534B588   TRACY        RUPERT                       OK     90012325153
526425A5291895   LATOYA       HAMILTON                     OK     90011195052
52642795A72B49   JESSICA      LOPEZ                        CO     33026317950
52643388672B36   ROSA         LINARES                      CO     90013933886
5264359785B543   MELISSA      ALEMAN                       NM     35006165978
526437AA54B588   JAMES        LEWIS                        OK     90000267005
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52645197597B54   ALEJANDRO    CASTRO                       CO     39014901975
5264566AA72B27   MERI         PALMER                       CO     33094586600
52646212972B49   JEANINE      WRIGHT                       CO     90009122129
5264621584B28B   NATASHA      MUNDEN                       NE     90014572158
52646324372B43   ADAM         POPPENHAGEN                  CO     90014603243
5264656AA93724   CHRISTINA    CISO-CONTRERAS               OH     90014815600
5264669875758B   FABIOLA      HERNANDEZ                    NM     90012726987
52646711A51348   SHAWN        WOODS                        OH     90015127110
52646765772B27   TINA         PARKS                        CO     33041247657
52646961A5B393   LEO          SCHWANKE II                  OR     44532949610
526474A185B399   JOSH         STANSBURY                    OR     90012724018
52648135172B36   MARIA        VASQUEZ                      CO     33078241351
5264929242B27B   SHARVETTE    GRIMES                       DC     90014452924
5264B158572B49   TONY         VELAQUEZ                     CO     90012451585
5264B183151348   SIERRA       GILLISPIE                    OH     90012761831
5264B329431428   EYONNA       JOHNSON                      MO     27565933294
5264B393457157   NADIA        PEREZ                        VA     81011733934
5264B595393724   VENATTA      DUNSON                       OH     90015245953
5264B599591587   ANTHONY      DUARTE                       TX     90011075995
5264BA88691587   VERONICA     RODRIGUEZ                    TX     90004780886
52651523A5B387   ANA          JAIMES                       OR     44502315230
52651757A72B49   BARBARA      HUGGINS                      CO     33071367570
52651A1912B27B   DULCE        AMAYA                        DC     90015590191
52652174872B67   LAURA        ZAMARRON                     CO     33002181748
52652658472B27   DOMINIQUE    LOPEZ                        CO     90012826584
5265271675B387   MARIA        NEGRETE                      OR     90005347167
52652966897B54   ELIAS        MATEO                        CO     90014889668
52652A6645B531   BRIAN        CRONIC                       NM     90010810664
52655716272B36   JOSE         ZUNIGA                       OR     90013397162
52655A47491895   AMBER        CAMPBELL                     OK     90013140474
5265632685715B   MOHAMUD      ALI                          VA     81027633268
5265716444B521   ANDREW       RUDNICKI                     OK     90014211644
5265716552B27B   FRANCES      STYLES                       DC     90010351655
52657561776B68   EDDIE        TIRADO                       CA     90002385617
5265845A75B387   DANIEL       LEE                          OR     90012414507
526584A2555951   REGINA       BORJA                        CA     90003724025
526586A1572B43   FAITH        NICOLE APPELGREN             CO     33006106015
5265B597761971   DALE         JACKSON                      CA     90011135977
5265B64765B579   DENISSE      CANALES                      NM     90013406476
5265B761633696   JEQUAN       BROWN                        NC     90013407616
5266111624B588   ELLA         MORROW                       OK     90008411162
5266125322B27B   KEVIN        KEMP                         DC     90014952532
5266192125B543   EDDIE        GOULD                        NM     35084049212
52661A71761971   MARICIO      HUERTAS                      CA     90014790717
52662397172B27   ANGEL        COVARRUBIAS                  CO     33008493971
5266257464B221   CHRIS        SCHILLER                     NE     90001555746
5266313655B387   ANGELA       CLARK                        OR     44576321365
5266391174B28B   MIKE         TOPPE                        NE     90014829117
52663A1725B543   MARIA        SEDILLO                      NM     90001730172
52663A86293724   BROOKLYN     SHACKLEFORD                  OH     90008940862
5266426225758B   MARIA        LOZOYA                       NM     90012332622
5266458378B169   BRANDY MAY   JONES                        UT     90014565837
52664588A5B387   GABRIEL      ORTIZ                        OR     44550515880
5266536665B283   CANDACE      JOHNSON                      KY     68056923666
5266564A757157   DRINA        CASTILLO                     VA     90014846407
5266595475B399   HERMINIA     GARCIA                       OR     90009649547
52665AA514B28B   PAM          ROBINSON                     NE     26003210051
52666185397B68   HEATHER      HIMMLER                      CO     90012101853
526671A815B283   TERRI        LOCKWOOD                     KY     68096231081
5266727915758B   CINDY        CAZARES                      NM     35590672791
5266762667B46B   AUTUMN       FERBY                        NC     90010866266
5266774985B399   MATTHEW      BUTE                         OR     90008167498
52668649172B27   JOHN         ABALOS                       CO     90011986491
52668AA4924B7B   EDMUNDO      SALAZAR-DIAZ                 MD     90013060049
5266912A591895   DEVIN        TYLER                        OK     90014241205
52669996897B54   LUCAS        STUBERT                      CO     90012149968
52669A39861971   SEAN         CHAPMAN                      CA     90015310398
5266B2A7372B43   STEVEN       BELL                         CO     90001692073
5266B573A84373   TAMIKA       DINKINS                      SC     90010405730
5266B973597B54   ANA          LOPEZ                        CO     90008619735
5267213212B27B   ANA          GARCIA                       DC     90014621321
526721A2257157   BLANCA       GUZMAN                       VA     90014901022
52672272A8B169   ADRIANA      GUZMAN                       UT     90009262720
5267396614B53B   JAVIER       IGLESIAS                     OK     21515029661
52673A97491587   JORGE        RODRIGUEZ                    TX     75004500974
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52673AA1172B49   YOLANDA      BARTLEY                      CO     90013800011
5267453613B399   JEFFREY      SHAW                         CO     33011095361
5267519A872B88   MARIE        GALINDO                      CO     90003511908
526754A1351348   ANTHONY      MURPHY                       OH     90014004013
52675A88493724   MONICA       NICKELSON                    OH     90014030884
52676775572B36   BRADLEY      COOKSON                      CO     90001607755
52676937972B27   ELISHA       SEYMORE                      CO     33065129379
52677768672B77   JEFF         BALLARD                      CO     90002397686
52677792272B49   BRITTNEY     EVANS                        CO     90007987922
526777A8272B36   MICHAELEIN   GARCIA                       CO     90012997082
52677A68972B27   ROSE         LOPEZ                        CO     33083870689
5267815435B531   RAMIRO       MONTANEZ                     NM     35052831543
5267815A572B27   JULIO        TORRES                       CO     33019761505
5267829875B393   JESSICA      CONKLIN                      OR     44554392987
5267883464B521   CLAUDEINE    WILLIAMS                     OK     90009838346
52679285A33642   LABEAM       MOORE                        NC     90005602850
5267B677184373   LELAND       WARING                       SC     19072996771
5267B69245758B   MICHELE      DAVILA                       NM     90011506924
5267B912A5B387   JEOFF        PICKETT                      OR     90006709120
5267BA37257157   FRANKLIN     BONILLA                      VA     90010750372
5268185A561965   REGINA       RODRIGUEZ                    CA     46016848505
52682157372B27   JOHNNIE      JONES                        CO     90014981573
5268223345B399   JENNIFER     JONES                        OR     90012532334
5268248A55B399   JAMES        MAXEY                        OR     90014904805
52682A8387B46B   SYLVESTER    BARRON                       NC     90010250838
5268357A624B76   DONNITA      SCOTT                        DC     90008305706
526836A2761975   CLAUDIA      GARCIA                       CA     90014166027
5268433845B399   VICTORIA     GOMEZ                        OR     44570473384
5268528A833696   TABITHA      LEE                          NC     12003432808
52685692472B27   HANNAH       GUY                          CO     33013626924
5268587395B387   ROBERT       JONES                        OR     44560968739
5268595465758B   ANGEL        FLORES                       NM     90009519546
52686684A98B2B   RODRIGO      RAMIREZ                      NC     11079736840
52686A13984357   TERIK        MARTIN                       SC     90014590139
5268873675B387   INEZ         VARGAS                       OR     44547727367
52688A5A94B588   ALEXANDER    WAND                         OK     90014600509
5268974A672B88   LORENA       MONTOYA                      CO     33062367406
5268994755B283   EGLATH       LIERAL                       KY     68036109475
5268998795B387   ISABEL       MENA                         OR     90001449879
52689A3825B543   EVA          KOEHLER                      NM     90014000382
5268B115261971   BASHAR       QANBAR                       CA     90009601152
5268B71A74B28B   RICHARD      NOTARO                       NE     26018517107
5268B82A933699   MANUEL       PINEDA                       NC     90014008209
5268B985197B54   DELFINA      ZAMORA                       CO     39078979851
5269351624B588   ELIZABETH    HOWARD                       OK     21512215162
526935A2591895   CHRIS        MCCALL                       OK     21065815025
52694151A5B399   S            JONES                        OR     90013881510
52694288A72B49   FLOR         GAYTAN                       CO     33065142880
5269462A65715B   ERICK        PORTILLO                     VA     90003846206
52694A87155951   CRYSTAL      SANTOYO                      CA     90006530871
5269546497B46B   KATY         BOST                         NC     90014494649
52695684A93724   BETTY        HULL                         OH     90010286840
5269583A461975   MARIA        ANGEL                        CA     90010608304
5269588AA71964   ROBERTO      MORENO                       CO     90003188800
52695A3488B169   REBECA       RODRIGUEZ                    UT     31088260348
5269617215715B   ZULMA        CASTRO                       VA     81091421721
52696548672B27   SCOTT        FIELDS                       CO     90002635486
52696882257B81   ALICE        WILLIAMS                     PA     90011338822
5269693584B521   SIERRA       ROSS                         OK     90007499358
52696AA3A97B54   ROBERTO      MARQUEZ                      CO     90009710030
52697626272B36   WAHID        JOHNSON                      CO     90013486262
526977A235B387   RANALD       KALISZWESK                   OR     44530047023
5269853A433699   SHARKEITHA   LINDSAY                      NC     12095915304
5269861912B27B   RODRIGO      MARTINEZ                     DC     90009626191
52698778197B54   VERONICA     VAZQUEZ                      CO     39011587781
5269976877B631   VANESSA      MOSS                         GA     90012077687
5269993A484373   MARCELINO    CARBAJAL                     SC     90013419304
5269B473491587   LILIANA      LOPEZ                        NM     75002924734
5269B775933696   MICKEY       NEECE                        NC     90010727759
5269B971472B36   JOHN         BAKER                        CO     90014849714
5269B9A3697B54   REJEANA      MARTIN                       CO     39044909036
526B1234791587   GASPAR       AMPARO                       TX     90013952347
526B1265971964   MANUEL       MENDOZA                      CO     32077672659
526B127565B399   RANCHER      CHEIPOT                      OR     44595252756
526B132A161971   TYRECE       MCNEIL                       CA     90013083201
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526B1715872B77   ELVIA        GUTIERREZ                    CO     33065737158
526B1A7885B387   GARY         SINDELAR                     OR     90014310788
526B253494B521   ARGENIO      JIMENEZ                      OK     90006895349
526B2729731428   MICHELLE     DAVIS                        MO     27574897297
526B3484A57157   FELICIA      ABEL                         VA     90010994840
526B356955412B   KAYLA        NELSON                       OR     90012145695
526B3619361965   BONNIE       MASSERINI                    CA     90011976193
526B3A62A91587   ROMAN        SANDOVAL                     TX     75089680620
526B4177A33699   JOHN         PLATT                        NC     90014481770
526B432858B169   JANETH       AGUERO                       UT     90000373285
526B4395284357   ALEXIS       SINGLETON                    SC     90014683952
526B4468772B27   BOB          UNNINGHAM                    CO     33095714687
526B459AA5715B   DENISE       JACKSON                      VA     90006885900
526B5354661973   JERMIAH      STANLEY                      CA     90011223546
526B548688B169   TOSCANO      ISABEL                       UT     90006444868
526B5AA554B588   SHARLET      IVERY                        OK     21559620055
526B61A2A7B46B   NESHA        BLACKMAN                     NC     90014711020
526B6334191895   KATHY        SIBLEY                       OK     21006653341
526B642535B399   LEO          MEADE                        OR     90012024253
526B6442672B49   HENRY        MARTINEZ                     CO     90011054426
526B7323791895   SHAMICKA     JONES                        OK     90002563237
526B7689A5B531   RACHEAL      STORR                        NM     90014726890
526B769594B588   JOSE         ROSALEZ                      OK     90014426959
526B7997161975   AMPARO       ENRIQUEZ                     CA     90014039971
526B8334857157   ERIKA        ALVARADO                     VA     90010763348
526B8A68A91265   ELIZABETH    DAVIS                        GA     90007750680
526B992844B521   MICHAEL      BAILEY                       OK     90011559284
526BB154951348   HEATHER      MURRAY                       OH     90008511549
526BB721771964   PAYGO        IVR ACTIVATION               CO     90006907217
526BB74A161965   BINCENT      CASTRO                       CA     90013987401
526BBA97861975   MARIA        BRAVO                        CA     46000990978
52711126A5B387   DAMIAN       CARILLO                      OR     90008331260
5271337265758B   TAHNEE       LEE                          NM     90013783726
5271397577B49B   LATOYA       JETER                        NC     90011589757
5271417142B27B   EDWARD       MCLEOD JR                    DC     81087791714
5271458A431428   DARRELL      CRAWFORD                     MO     27518165804
52714A86333696   MICHAEL      MILLER                       NC     90004760863
5271555325758B   GRACIELA     DE LA O                      NM     35534415532
5271555864B28B   THOMAS       LYNCH                        NE     26044815586
5271644A472B27   AARON        MORALES                      CO     90014234404
527166A2384373   CESARIO      RODRIGUES                    SC     19083736023
52716799572B27   AARON        MORALES                      CO     90002197995
52716A3915B393   SHIRLEY      ZIMBECK                      OR     44505230391
52716A97951348   REUBEN       DARDEN                       OH     90010900979
5271714A172B43   ROSA         BALDERRAMA                   CO     33084031401
5271838925B399   RAYNA        MONTGOMERY                   OR     90010713892
527183A2561965   HEATHER      ANGELETTA                    CA     90013543025
52718A28533696   ANGELENNA    COVINGTON                    NC     12053310285
52718A99691895   MICHAEL      MARSHALL                     OK     90014710996
5271924375758B   ANGEL        GONZALEZ                     NM     90011892437
5271BA72893724   STEVEN       MACEK                        OH     90011480728
52721329A33699   MARIA        MOTO                         NC     90015193290
52721711A72B27   JUAN         RETANA                       CO     90001587110
527219A165B531   ROBERT       FUCHS                        NM     35083089016
5272236AA57157   AMANDA       GARZA                        VA     90014003600
5272245795B283   MARCOS       SAPON                        KY     68087234579
52722687A5B387   SARAH        STOLP                        OR     44511056870
5272293865715B   MARIE        DEDINA                       VA     90006329386
5272457A62B27B   DONNITA      SCOTT                        DC     90008305706
5272468945B387   JULIAN       FRANCO                       OR     90010876894
52725153472B43   JAIME        MENDOZA                      CO     90000691534
52725613497B54   JOSEPH       ROGERS                       CO     90008406134
52725A94461965   TANIA        WILLIAMS                     CA     90004910944
52725A9A633699   CEDRIC       WILLIAMS                     NC     90002780906
5272627848B188   NOEL         COOK                         ID     31041442784
527264A4493724   ANDRE        HOGAN                        OH     90008664044
5272729A472B43   MICHAEL      LAFRANCE                     CO     90004092904
5272735A561965   ESTEBAN      CARRENO                      CA     46054913505
52727A89872B49   GLORIA       RIVERA                       CO     90013390898
5272818A55B393   ANNA         SHAPIRO                      OR     44582421805
52728583A72B36   JACK         VINCENT                      CO     90010995830
52728A1712B261   ANSELME      POUNGUEN                     DC     81041900171
5272926795B531   BENITA       GARCIA                       NM     90013462679
52729561472B43   AUDRA        WAGNER                       CO     90004985614
52729826572B49   ERIC         BEIMS                        CO     33097848265
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52729A2744B521   DEVON        THACKER                      OK     90011560274
5272B41122B27B   NATALIA      DIAZ-MINAYA                  DC     90012944112
5272B56A284357   PATRICIA     OROCCO                       SC     90013065602
5272B575661965   JUAN         CHAN                         CA     46030975756
5272B72784B28B   OBADIAN      RODRIGUEZ                    NE     26001947278
52731165472B23   LUCILLE      QUINTINO                     CO     90002401654
527319A2361965   JACLYN       KNOWLDEN                     CA     90005429023
52732614872B27   MARCIE       MILLS                        CO     33007706148
52733444972B77   BERENICE     ARCHULETA                    CO     90004504449
5273441A761971   TERRA        MEIER                        CA     90011794107
52734713897B54   JEFF         SANTORO                      CO     90014527138
52735583972B36   KENNETH      THOMPSON                     CO     90010995839
52735725472B27   JENNIFER     GOODMAN                      CO     90012067254
52736A1175715B   ANGELICA     GARCIA                       VA     81041690117
527376A6161973   CHRISTIAN    SEGURA                       CA     90011446061
5273811775B531   CASSANDRA    LOPEZ                        NM     90014741177
5273835314B588   SHERYL       STAGGS                       OK     90008413531
5273887915715B   HUGO         ZEBALLOS                     VA     90000768791
52738AA3861975   ROMAN        COE                          CA     46037320038
5273947175B531   VICTOR       CONTRERAS                    NM     35004084717
52739677872B43   SAMER        ELBAYOUMY                    CO     33047726778
5273967962B27B   DOMONIQUE    SMITH                        DC     90011916796
5273B197831428   CHERYL       EPPS                         MO     27574551978
5273B243972B27   AMBER        LOPEZ                        CO     33080842439
5273B334497B54   MIGUEL       ESCOBAR                      CO     90010713344
5273B385A4B588   MARIA        RUIZ                         OK     90014373850
5273B49325B241   DANNESHA     HARRIS                       KY     90007464932
5273B92232B27B   DANIEL       FLEMING                      DC     90014559223
52741277772B27   MARISELA     CORONA                       CO     90014892777
52741331672B88   JOHNNA       REECE                        CO     33083373316
5274134685758B   GEORGE       KINNEY                       NM     90014923468
52741854A61986   ROSA         POMALES                      CA     90005698540
5274219184B521   MARICELA     HENSLEY                      OK     90008861918
5274299385B399   KABALE       ALI                          OR     90014139938
52743678872B27   DONALD       GRIMS                        CO     33006316788
5274399858B169   TERESA       YANEZ                        UT     90015019985
52744435372B49   LUZ          VARELA SAENZ                 CO     33067794353
5274532345B387   BRENT        TAYLOR                       OR     90007253234
527455A712B27B   PAYGO        IVR ACTIVATION               DC     90013505071
52745831997B54   GUADALUPE    RODRIGUEZ                    CO     90013828319
5274659675B37B   RACHEL       PANIAGUA                     OR     90008915967
5274665A891587   ENRIQUE      HERNANDEZ                    TX     90007496508
5274669825B399   CYNTHIA      CURRIE                       OR     90012886982
52747354472B77   ALEXANDER    CLARK                        CO     33085853544
5274763375B543   DIEGO        CASTILLO                     NM     90011826337
5274779885758B   MARY         DURAN                        NM     35505907988
52747A35793724   TERESA       THOMAS                       OH     90012480357
52748263A61973   SELMA        DURAN                        CA     90007982630
527488A2272B49   GERRY        PETERSEN                     CO     90008888022
52748A38872B27   TIFFANY      WASHINGTON                   CO     90010420388
5274999545B399   AMPARO       GARCIA                       OR     90014889954
52749A3565B399   RAFAEL       LOPEZ GONZALEZ               OR     90014850356
5274B185847928   JUDY         WESTBROOK                    AR     90007881858
5274B47985758B   NORMA        WILSOM                       NM     90012774798
5274B532261975   ANTONIO      VARGAS III                   CA     90009685322
5274B997861965   JESUS        GOMEZ                        CA     90013199978
5274BA3812B27B   PAHEL        SCHULINUS BRUNIS             DC     90014290381
5275146A161965   VIRGINIA     MORENO                       CA     46006214601
5275248615B387   HEIDI        WIRZ                         OR     44597144861
5275259638B169   APRIL        SIMMONS                      UT     90013335963
52752A9617192B   LEONCIO      QUINTERO                     CO     90014780961
52753949297B54   ISRAEL       SONTAY                       CO     90013639492
5275398625B399   KARI         SCHEETZ                      OR     44593559862
52754616272B43   JUAN         MOLINA                       CO     90009996162
5275572195758B   HIVANA       VSAQUEZ                      NM     90013857219
5275646697B46B   JOHN         JONES                        NC     90003524669
52756672A5B399   ROBBYN       BRADFORD                     OR     90012906720
527568A584B588   CHRIS        GNADE                        OK     21557168058
52757267797B54   CORYE        DUKES                        CO     90010782677
52757385572B77   ANNA         BROOKS                       CO     33050463855
52757585A5B387   ELISHA       MITCHELL                     OR     44576455850
52757A2A272B77   ANNA         BROOKS                       CO     90014980202
52757A74191587   ESPERANZA    BERNAL                       TX     75006130741
5275839128B169   RANDI        RUSHTON                      UT     90013773912
52758635872B27   RUTHIE       CHAVEZ                       CO     90008126358
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5275888283B384   NICOLE        JOHNSON                     CO     90011328828
52758A52261971   ANDREW        CHRISTOPHER                 CA     90012120522
52758A94542335   LORI          SEIBERT                     GA     90012550945
52759126197B54   STEVI         COX                         CO     39028641261
5275926A761973   ROBERT        HARRIS                      CA     90012742607
5275B2A3557157   JESSICA       LONG                        VA     90013062035
5275B3A2191587   DESKENDRAY    BLAKE                       TX     90013953021
5275B668261971   MICHELE       RICHARDSON                  CA     90004736682
5275B6A338B341   WHITE         SHANTAYE                    SC     11009826033
5275B747661965   DESTINY       BONGARD                     CA     90001357476
52761157872B36   SANDRA        CASAS                       CO     33086921578
52761299A5B531   KENNEDY       DERRICK                     NM     90010942990
5276136564B588   MARCOS        BELETZUY                    OK     90010473656
5276159255B283   KISSES        LOVING                      KY     68057455925
5276176125B399   ALAN          SHIPLEY                     OR     90007147612
52762653572B36   JUAN          LOPEZ                       CO     90013286535
52762AA7A4B521   MARIA         VASQUEZ                     OK     90015040070
52763A69451348   WALTER        DALE                        OH     66039240694
527656A5533699   CASSANDRA     WILLIAMS                    NC     12083046055
5276617597B46B   STARLETTE     MILLER                      NC     11053231759
5276623214B521   BRANDI        CAMPO                       OK     90011092321
52767247A91895   RENALDO       LOVE                        OK     90014242470
5276743194B588   CHRISTOPHER   LALLY                       OK     90012164319
5276755A533699   KESHA         MATTHEWS                    NC     90014885505
5276759125B387   SUZETTE       TINKESS                     OR     90015155912
5276782275758B   ALFREDO       LEDEZMA                     NM     90012888227
5276838638B169   MELISA        HOOD                        UT     31088783863
52769211772B88   SILVIA        JENNANES                    CO     33053702117
5276969884B23B   TANYA         THOMAS                      NE     90009456988
52769A5927B46B   BLANCA        SALMORAN                    NC     90012860592
52769A62561965   JULLIAN       HARSHAW                     CA     90010260625
5276B178997B54   JOSE          RODRIGUEZ                   CO     90013201789
5276B238A6B922   DARLENE       BYRD                        NJ     90000142380
5276B44714B28B   CAMMIE        SILVA                       NE     90014614471
5276B767961975   GABRIELA      MERCADO                     CA     90015257679
52771155897B54   MIKE          RUBI                        CO     90006571558
52771383672B27   CRAIG         WOLD                        CO     90001283836
5277216A191895   MARGARITO     MARTINEZ                    OK     90001071601
5277258468B169   PAULA         HERRERO                     UT     90014565846
52772764A97B54   KATIA         NUNEZ                       CO     90014657640
52773336472B43   JAIME         GARCIA                      CO     90014423364
527734A2391587   JESSICA       RODRIGUEZ                   TX     90011514023
5277437A257157   PETER         BOISSON                     VA     90012883702
5277491A35B399   GUADALUPE     PEREZ                       OR     90007029103
52774995372B88   LOREEN        WILSON                      CO     33016949953
52774A27133699   LOUISE        DICKERSON                   NC     90013020271
5277523A184357   DAWN          ALSTON                      SC     14513552301
52776132A61965   KARYLIN       HEDGE                       CA     90012691320
52776218A5758B   MANUEL        RIVERA                      NM     90011372180
5277683685B531   LENTE         JUSTIN                      NM     90004768368
52777578972B43   JAMIE         MORALES                     CO     33038685789
5277893215B531   JOSEPH        JARMILLO                    NM     90013779321
52779367A5B283   PAMELA        ASBERRY                     KY     90004263670
5277971955B387   YUNIESBI      UALMASEDA                   OR     90014517195
5277B232724B76   MICHAEL       BYERS                       DC     90000932327
5277B374951348   ANGELA        MORRISSEY                   OH     90014483749
5277B6A3797125   CYNTHIA       LEBLUE                      OR     44547786037
52781AA867B46B   TY            FALLER                      NC     11014390086
5278293A984357   SHAWN         HARRIS                      SC     90014599309
52782A88184373   JILL          BEATTIE                     SC     90014810881
5278324755B543   NESTORA       BARELA                      NM     35042302475
52783398672B43   JARED         YOUNG                       CO     90012133986
52783A7A73B393   ELIZABETH     DEHERRERA                   CO     33045760707
52784445A84373   MONIQUE       MIDDLETON                   SC     90013554450
5278444892B27B   ABDULRAHIM    NAIB                        DC     90012234489
5278453855B399   EMILIA        MEJIA                       OR     90000485385
5278496A333699   GLINDA        JOHNSON                     NC     90012889603
52784A5654B521   ALMA          GALINDO                     OK     90007480565
5278523397B46B   ADRIAN        ALVAREZ                     NC     90014872339
52785267A33699   APACHA        TETREAULT                   NC     90013902670
5278542384B521   ROBIN         ROSAS                       OK     90009184238
5278556882B27B   MARBIN        JOSE CARRANZA               VA     90011625688
52786388A72B36   KEREN         GUEVARA                     CO     90001763880
52786996472B27   CHRISTINE     HARWELL                     CO     90013509964
52786A8AA72B43   JOSÉ          PÉREZ                       CO     90013170800
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52787A1A78B167   JANNETT        COOK                       UT     90012840107
5278889294B588   ALISHA         JACKSON                    OK     21587318929
52788A9A23B35B   BRYAN THOMAS   LOPEZ                      CO     90012530902
527892A3961971   JUAN           VARELA                     CA     90007602039
52789576772B2B   PAUL           NIELSEN                    CO     90007675767
527895A212B27B   DONNELL        BROADWAY                   DC     90010785021
527895A7791587   MARIA LUISA    PADILLA                    TX     90012895077
52789776372B43   JACOB          LYMAN                      CO     90013177763
5278997294B28B   MICHAEL        BUDZINSKI                  NE     26069559729
5278B2A6861973   AVISHAY        LAVY                       CA     90006032068
5278B412658577   GARY           PURNIPSEED                 NY     90015614126
5278B4A5372B49   JAMES          HOLMES                     CO     90006964053
5278B819361975   JESSICA        SMAL                       CA     90004408193
5278BAAA461965   KIMBERLY       DUENEZ                     CA     90007250004
52791221A72B27   JENNIFER       JUAREZ                     CO     33030522210
527912A4241296   EDWARD         FREIBERGER                 PA     51078182042
5279165714B521   FRAN           MANKEY                     OK     90008456571
52792949172B27   JORGE          SANDOVAL-SANCHEZ           CO     90013329491
52793351397B54   JUSTIN         BRADLEY                    CO     90009813513
5279392745B543   ALANNA         BRONAUGH                   NM     90012639274
527939A6198B47   JANIE          SUMPTER                    NC     90010289061
5279524565B283   YOLONDA        FAKIR                      KY     68017292456
52795687572B36   DAN            POUSMA                     CO     90002516875
527956A5384357   SHARINE        NICHOLAS                   SC     90006836053
52796373A85928   SHARON         CHAMBERS                   KY     67012423730
5279643A57B46B   RICKINA        THOMPSON                   SC     11039474305
5279674A697B54   CHAUNTELLE     SAXBURY                    CO     39072297406
527969A6198B47   JANIE          SUMPTER                    NC     90010289061
527969A665758B   ALMA           OLIVAS                     NM     35558969066
5279726864B521   TONY           LITTLETON                  OK     90015102686
52797A4642B28B   OLUREMI        FAPONLE                    VA     90008610464
5279853717B46B   NORMA          GARCIA                     NC     90013795371
5279869224B28B   LAURA          TAYLOR                     NE     26031896922
5279B13A872B88   JOHN           HUNTSMAN                   CO     90004261308
5279B555931462   ROENITA        HAMILTON                   MO     90013785559
5279B976A84357   ASIA           JOHNSON                    SC     90011439760
5279BA46561973   RAQUEL         CHAVEZ                     CA     90010270465
527B1153151357   DANIELLE       ODLE                       OH     66012181531
527B119414B521   KATHRYN        BLOODWORTH                 OK     90001111941
527B1276891587   LUIS ANGEL     CARLOS MENDIETA            TX     90013952768
527B1461872B27   MARIA          CABALLERO                  CO     90013274618
527B1566433696   RACHEL         PALMER                     NC     12052495664
527B175542B27B   JOSE           GUTIERREZ                  DC     90011507554
527B1AA6297B54   MARY           MARCHETTI                  CO     90012850062
527B298A161971   TRAVIS         THOMAS                     CA     46085689801
527B354235B531   DORIS          RIVERA                     NM     90015115423
527B3813457157   YOANNA         MALDONADO                  VA     90014788134
527B43A1233699   ANA            PERALTA                    NC     90013113012
527B4455731428   MICHELLE       KENT                       MO     27588294557
527B4473A5B387   ISAYAS         BAHTA                      OR     44597144730
527B4614261965   ROCHA          KATE                       CA     90006986142
527B4654661975   RODOLFO        CATEURA                    CA     90008136546
527B4768972B27   NICOLE         ALARCON                    CO     90013207689
527B486224B521   NELLISSIA      LAWRENCE                   OK     90009918622
527B4A4A484357   LINDA          FREEMAN                    SC     14509990404
527B5276891587   LUIS ANGEL     CARLOS MENDIETA            TX     90013952768
527B5351A61973   AUDELIA        DE AVILA                   CA     90011963510
527B54A984B588   DARRICK        DICKERSON                  OK     90014364098
527B5862161971   BRENDA         GOODING                    CA     90007828621
527B613A261965   VICENTE        GONZALEZ                   CA     46045881302
527B658465B531   RAUL           NEVAREZ                    NM     90001665846
527B6977293724   ALEXIA         BOSCARINO                  OH     90013219772
527B7548172B49   DEAN           SMITH                      CO     90008855481
527B7737651348   TONY           MCAFEE                     OH     90015127376
527B7821857157   MARCUS         GRANT                      VA     90012568218
527B8218361975   MAURA          TORRES                     CA     90014742183
527B8589172B49   JENNY          BARGER                     CO     33006175891
527B8657772B43   KATERINA       MARTINEZ                   CO     90011746577
527B9225984357   JASON          CAPPS                      SC     14510012259
527B923175B399   BILL           OLIVERIO                   OR     90015242317
527B9266372B43   THERESA        RAY                        CO     90003632663
527B9441972B88   JENNIFER       SCHLEY                     CO     33065864419
527B95A6872B27   BRAYAN         MUNOZ                      CO     90015275068
527B9728A4B543   KRISTINE       PAOLO                      OK     90011037280
527BB235372B77   YVETTE         ESPINOZA                   CO     33004682353
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527BB315551351   CYNTHIA        BOYER                      OH     90002353155
527BB5A825B35B   AKUILA         RAMAQA                     OR     90006775082
527BB68725758B   SAGARNAGA      EVELYN                     NM     90008436872
528114A234B588   THOMAS         WAYNE                      OK     90012094023
5281154264B28B   CHRIS          JOHNS                      NE     90000635426
5281155535B283   RANDY          FISHER                     KY     68039035553
5281198624B588   ANDY           DO                         OK     90010199862
52811A79A8B169   JORGE          ESTRADA                    UT     90012610790
52812537A33696   RADOVAN        BANOVIC                    NC     90014535370
52812728772B49   TIMOTHY        FENNER                     CO     90013137287
52812A57133696   MICHELLE       BRACEY                     NC     90005200571
5281332485B393   JOSHUA         HANSON                     OR     90010433248
5281351155758B   MARIO          MADRID                     NM     90014825115
5281362A485928   VIRGINIA       MCMAINE                    KY     67081996204
5281392A35B399   EVERADO        MORENO                     OR     90006049203
52813A7314B28B   SAVANNAH       SMITH                      NE     26076660731
5281448515B531   CRICKET        TWENTE                     NM     90011984851
52815AA1961973   PRISCILA       SALCEDO                    CA     90011550019
5281647665758B   GILBERT        DIAZ                       NM     90013274766
528165A548B173   TILLMAN        BEGAY                      UT     90013785054
52817587A5B531   DEANNA         MARQUEZ                    NM     90010975870
5281762A984373   SAMANTHA       STONE                      SC     19016636209
52817867597B54   PAMELA         MARTIN                     CO     39026518675
52817AA418B169   TERESA         MARTINEZ                   UT     31050630041
528181AA691587   CARLOS         CISNEROS                   TX     90002191006
52818433A61973   NORWOOD        VOSHELL                    CA     46030434330
528188A275B399   LAWRENCE       DREW                       OR     90011308027
52818A47184373   RACHAEL        SINGLETON                  SC     90015310471
5281915435B531   RAMIRO         MONTANEZ                   NM     35052831543
5281B318761975   RAYLENE        BOGUS                      CA     46035083187
5281B517872B43   NICHOLE        ARMANTROUT                 CO     90012025178
5281B94145B399   LARON          STEPHEN                    OR     44584469414
5281B979384357   ANTHONY        BROWN                      SC     14511839793
5281B997751348   ADRIAN         WALKER                     OH     90012389977
5281BA44891895   TYRONE         WILLIAMS                   OK     90011210448
5282269224B588   MYRNA          MEDINA                     OK     90014846922
52822A66371235   DOUG           ROCKWELL                   IA     90003870663
5282315525B387   RICHARD        HELTON                     OR     90015181552
52823277397B54   CLUADIA        VAZQUEZ                    CO     90000342773
52823458472B36   YESENIA        DIAZ                       CO     90010234584
52823478972B27   LEANDER        HILDEBRAN                  CO     90014884789
528236A562B27B   VICTORIA       WALTON                     DC     90001956056
5282381717B46B   MENY           ALLEN                      NC     90015298171
52823A56572B27   ANNETTE        BACAY                      CO     90013150565
5282491974B521   DENISE         CLIMER                     OK     90011999197
52825483672B27   CASEY          DUDDEN                     CO     33095944836
528256A4933696   BRYANT         BRYANT                     NC     12024036049
528264A375B399   MICHAEL        ALLEN                      OR     90013704037
52827131A61965   REX            KOPP                       CA     90014881310
52827144A71964   MARY           MAGSANOL DEOKI             CO     90003191440
5282734747B372   DAISY          MAGANA                     VA     90011953474
5282747144B521   JOSH           HRDLICKA                   OK     90009414714
52827712472B49   RAUKEEN        HORTON                     CO     90005767124
52827831A57157   WALTER         GOMEZ                      VA     90008418310
528278A2A76B45   LOUIS          MEDINA                     CA     90014858020
52827A18A61973   NATALI         TORRES                     CA     90009720180
528285A437B46B   KHALIL         FOFANA                     NC     11014245043
5282877844B588   LASHONDA       WILLIAMS                   OK     90012267784
5282934895B387   STEPHEN        BRADSHAW                   OR     90014803489
528295AAA61965   JERRY ROBERT   BALL                       CA     90012715000
5282B156772B27   AUSTIN         MONTOYA                    CO     90005001567
5282B224A4B588   ENRIQUE        BARCENAS                   OK     90011902240
5282B25715B393   PATRICK        LEWIS                      OR     44529962571
5282B384471964   MAURO          GARCIA                     CO     90011623844
5282B38A693724   JANICE         WRIGHT                     OH     90013353806
5282B64397B46B   TEONA          HAMILTON                   NC     90010906439
5282B75A65B283   SYLVESTER      SYKES                      KY     68058127506
52831736672B36   PORTIA         DAVIS                      CO     33009897366
5283211888B169   OSCAR          BUGARIN                    UT     31002681188
5283237385B387   MARIA          DECLUE                     OR     90009753738
52832A33A4B588   PEDRO          AMADOR                     OK     90013340330
5283331178B169   BRANDON        GONZALES                   UT     90015113117
5283369A672B43   ANGEL          MONTOYA                    CO     90012036906
528336A6391895   BRITTANY       NORMAN                     OK     90012516063
52833A13591895   BRITTANY       NORMAN                     OK     90014810135
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52833A88491895   BRITTANY       NORMAN                     OK     90011210884
528342A5361973   ROMAN          ALARID                     CA     90000112053
5283432615758B   TRACIE         HUNTEMAN                   NM     35507863261
52834657172B49   STEVEN         HODGES                     CO     90014636571
5283543A785928   RENE           MARTINEZ                   KY     90007254307
5283564678B169   RON            PETERSEN                   UT     90013226467
5283598365B387   STEFAN         CONSTANTIN                 OR     44506709836
528359A8A8B169   VANEGAS        POMPILIO                   UT     90006619080
5283615A693724   TEQUILA        DANSBY                     OH     90013891506
5283635858B169   JESSE          MENDEZ                     UT     90002463585
5283685A372B36   ROMEO          NICHOLSON                  CO     90011538503
5283752555B399   CARLOS         MIRANDA                    OR     90015235255
528376A3361975   GABRIEL        SOLIS                      CA     90003526033
5283771A15758B   ANDALE         CATER                      NM     90002627101
52837998A72B49   SURVIVAL       CORPORATION                CO     33086679980
5283816A891895   KIM            CRUMP                      OK     21010761608
52838261672B33   ARACELI        QUEZADA                    CO     33069882616
5283859A972B27   HERNANDO       BANUELOS                   CO     90010625909
5283871A761971   ROBERT         MATZENAUER                 CA     90012427107
528399A2172B27   GUADALUPE      GALINDO                    CO     33035079021
5283B267272B27   EDGAR          QUIROZ                     CO     90012082672
5283B393991587   SUSANA         LAMAS                      TX     90003713939
5283B411333696   LANARD         JAMES                      NC     12088664113
5283BAA965B283   JUANCARLOS     MOYAPENA                   KY     68040320096
5284131675B283   ELLA           JONES                      KY     90010333167
5284173985758B   ANNA           CASTRO                     NM     90013307398
52841AA5761965   AMMAR          JABOORI                    CA     90001500057
5284222915B399   HEIDI          REEVES                     OR     44544832291
52842668324B3B   KENDRA         NOVA                       DC     90011616683
5284268812B27B   JOSE           RODRIGUEZ                  DC     90012976881
5284398445B543   ROSA           PADILLA                    NM     35001409844
52844765872B49   KENDRA         CITRANO                    CO     90014787658
5284493464B588   DAVID          FLEMING                    OK     90012789346
5284542885758B   RACHEL         OLIVAS                     NM     35575484288
52845662872B49   BRENDA         GONZOLEZ                   CO     90011316628
528456A5961975   AALIYA         ABDI                       CA     46000546059
52845957972B49   ABNER          KIM                        CO     33011209579
5284626242B27B   PERSEBERANDA   SEGUNDO                    DC     90013792624
5284653375B387   DANIEL         CANCHE                     OR     44561475337
52846981524B7B   EDDI           SANCHEZ CRISOSTOMO         MD     90015509815
5284733115B399   DAWN           BLACKSHEAR                 OR     44521903311
52848757A57157   PAULA          APPLE                      VA     90014337570
5284916215B393   JUAN           ABELARDO                   OR     44582281621
5284945A572B77   ABIE           SULCIMAN                   CO     90005484505
5284954435B387   ANGELLE        SMITH                      OR     90010375443
5284B474972B27   DAVID          PEPPERS                    CO     33079674749
5284B774591587   DIANA          LOPEZ                      TX     90010977745
5285127337B46B   TERESA         COVINGTON                  NC     11062572733
52851A49372B43   JOSELUIS       RINCON-PEREZ               CO     90002770493
52852123A8B169   JUDITH         RUBALCAVA                  UT     90003081230
52852768372B2B   RAFAEL         CABRERA                    CO     90007497683
5285279564B521   MARQUAY        KEMP                       OK     90014217956
528537A6972B77   LINDA          LESLIE                     CO     90000607069
52855132272B27   ANTONIO        FLORES                     CO     90010191322
5285564515B393   SKY            ACHITOFF                   OR     90011406451
528558A474B521   KIRBY          LAWRENCE                   OK     90014218047
5285612A972B43   TAMMY          MARTINEZ                   CO     90010671209
52856252A4B579   LYNNETTE       ABRAHAM                    OK     90010892520
5285627A25B393   CAROLYN        LAMAR                      OR     90012072702
52857365972B27   BILLY          MOSS                       CO     90004403659
5285748745B229   BEVERLY        BARTON                     KY     90011964874
528575A9572B67   ERIKA          SUAZO                      CO     33058215095
5285781A151348   SHERITA        ROBY                       OH     66034458101
52857852A24B7B   LAMISERE       YRIONIA                    MD     90015418520
5285962144B588   JOSHUA         VERSHAW                    OK     90014836214
5285965A857157   LISA           GEKALLA                    VA     90011216508
5285996748B169   VICTORIA       BITTORIE                   UT     90009859674
528599A2297B54   GRISEL         GUERRERO                   CO     90011349022
5285B15884B521   VICENTE        IBARRA                     OK     21502061588
5285B414757157   DANIELE        DILLIS                     VA     90005054147
5285B47A88B169   MANDY          CLEMENT                    UT     90011054708
5286124A661975   ADRIANA        GILBERT                    CA     46065652406
5286132895715B   ZURAMA         ALVAREZ GOMEZ              VA     90008823289
52861434472B36   ADRIANNA       BOYD                       CO     90013344344
5286156A65758B   MIRIAM         OLIVAS-DELGADO             NM     90014665606
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528616A5661973   ROBERT        HINOJOS                     CA     90012216056
52861A44491587   CARLOS        LARA                        TX     75001100444
52862393672B36   DE LA CRUZ    FLORIBERTO                  CO     33068973936
528625A212B27B   DONNELL       BROADWAY                    DC     90010785021
52862724A61971   CRAIG         ADOLPHI                     CA     90010267240
52862892A72B27   JOSE          RUEDAS                      CO     33011188920
52862AA9584373   JILLIAN       BROWN                       SC     90014830095
52863321A93724   DEBRA         KINS                        OH     90013783210
52863A21561973   MARINA        MARTINEZ                    CA     90012130215
5286414952B354   LAURA         MENDOZO                     CT     90015101495
52864967A93724   ANGEL         DRAKE                       OH     90011239670
5286567445B387   BERTHA        GARCIA MARTINEZ             OR     44520876744
52865781572B88   BRYON         GHORMLEY                    CO     90007797815
5286615925B387   KEYONA        EVANS                       OR     90000441592
5286663965B399   BRYN          HILL                        OR     90014266396
52866A85133699   GEORGIA       STWART                      NC     90014830851
528676A1361975   ESTELA        SANCHEZ                     CA     46035126013
528676A6672B27   CATHLEEN      FELTON                      CO     33095526066
5286823825B543   JESSICA       FAY                         NM     90006082382
52868297A72B49   IRENE         MONTOYA                     CO     90012722970
5286852214B28B   BENJAMIN      ATKINSON                    NE     26070415221
5286958745B393   IVETH         MONTIEL                     OR     44564525874
5286B14238B169   MARIA         TUBBS                       UT     90009401423
5286B23615B393   MALSBURY      AMBER                       OR     90013282361
5286B2A482B27B   ALEXIS        BEANDER                     DC     90014042048
5286B44262B27B   CHRISTIAN     ANDERSON                    DC     90015484426
5286B55424B28B   CARLOS        RODRIGUEZ                   NE     90012255542
5286B97155758B   JESUS         SILVA                       NM     90012189715
5286BA45284373   MARYLIN       GREEN                       SC     90001800452
528713A345B543   EDUARDO       VARELA                      NM     90001773034
5287147565B35B   JASON         WALTERS                     OR     90014694756
5287276544B28B   JAKE          SABIN                       NE     90012167654
52872874772B43   RICHARD       MARTINEZ                    CO     90007718747
5287288A272B36   TRENT         DEGEN                       CO     90012418802
52872A3115B387   ANDREA        GROB                        OR     90002270311
52873179A97B54   MICHELLE      HARRIS                      CO     90011721790
5287421628B169   VERONIKA      GALLEGOS                    UT     90004002162
5287452618B169   VERONICA      GALLEGOS                    UT     90014025261
5287473114B521   CONSTANCE     COOK                        OK     21556487311
528754A5961973   AHLYNNA       BUENROSTRO                  CA     90000294059
52875A6325B393   OSCAR         BARRIENTOS                  OR     44533720632
5287627A472B88   MICHAEL       FIELD                       CO     33072042704
5287725895B538   RAEBETH       WISE                        NM     90011232589
52877322672B43   ROBERT        TRUJILLO                    CO     90003103226
5287761935758B   MONICA        SALAZAR                     NM     90010336193
528776A6A57157   ERICKA        RIVERA                      VA     90015186060
528777A162B27B   MONICA A      ALLEN                       DC     90003487016
5287854365B399   CHERICE       JONES                       OR     44519725436
52878747872B27   ISRAEL        PADILLA                     CO     90007487478
52878981872B88   PAUL          SORENSEN                    CO     90003239818
52878982772B36   BLANCA        MOJITA                      CO     90005389827
52878A75661975   NOAH          POSADA                      CA     90003180756
5287917754B28B   BRIAN         ADAMS                       NE     90014921775
528791A5933699   ULISES        ANALCO PERULERO             NC     90014831059
52879997272B36   DEBORAH       LUCERO                      CO     90012319972
5287B786697B54   JOSE          AVALOS                      CO     39058197866
5287B788391587   CHRISTOPHER   HALL                        TX     90010977883
5288243694128B   KAYLEEN       CUNNINHAM                   PA     90012444369
5288285524B521   LORETHA       RUNNELS                     OK     90014738552
5288289A94B52B   REGINALD      DOSS                        OK     90012838909
52883296872B49   JULIE         RITTER                      CO     33047262968
528838A1933696   DEONTE        GOODMAN                     NC     90015228019
52884A5A972B27   RAFAELA       MELANDEZ                    CO     90004850509
5288517A34B521   JOHANNA       PLAEHN                      OK     90013611703
5288526224B28B   MARCELINO     MUNOZ MARQUEZ               NE     90013332622
52885598A5B399   GINA          BUSCHKE                     OR     90002655980
52885668472B43   LUIS          RUIZ                        CO     90010766684
5288584765758B   JESSE         RODRIGUEZ                   NM     35539328476
52886272A5715B   JOHAN         BURHANUDIN                  VA     90004522720
52886571A72B33   EDNA          AGUIRRE                     CO     33076125710
5288661585758B   NANCY         LOPEZ                       NM     90009566158
5288794894B28B   NORMA         KISSACK                     NE     90008069489
5288853244B28B   JUSTIN        STOTTS                      NE     90013145324
52888589A61975   JESUS         HERRERA                     CA     90014645890
5288924175B531   REYNA         CHAVEZ                      NM     90014472417
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52889767697B54   MIGUEL        LUNA                        CO     90014977676
5288B46468B323   JOSE          FLORES                      NC     90010464646
5288B99242B27B   RASHENA       THOMAS                      DC     81091809924
5288BA6515B387   WILLIAM       SPENCER                     OR     44526690651
5289139224B28B   NICOLE        LAIRMORE                    NE     90010473922
5289145A461971   EMEDARDO      PENUELAS                    CA     90001034504
52891724A51348   HILARY        ROBINSON                    OH     90001477240
5289197215B387   GAIL          FLEENOR                     OR     44506729721
52891A85185928   ANTHONY       PROFFITT                    KY     90006330851
52892687924B51   SHEI          HAYNES                      DC     81006836879
52893227A97B54   MARIA         MEZA                        CO     39002662270
52893677572B36   GLORIA        LOVATO                      CO     90013296775
52893796372B43   ALTHEA        LEWIS                       CO     33086737963
52894291A5B387   MARIANA       AVILA                       OR     44597022910
52894458A84346   PAULINA       RAMOS                       SC     90015274580
5289447342B27B   SHADA         HARDY                       DC     81047034734
5289449A151348   BRENDA        BOBBITT                     OH     90007014901
52896361472B43   GABRIELA      PEREZ                       CO     90003583614
52896646472B49   SARA          EVANS                       CO     90004886464
5289698392B27B   KIMBERLY      YOUNG                       DC     90013439839
5289721645B531   TOBY          YOUNIS                      NM     90002232164
528972A6561973   JEANE         BUCKLEY                     CA     46089302065
52897313272B27   BLANCA        ARANDA                      CO     90014553132
5289792A631428   STEPHANIE     WASHINGTON                  MO     27540739206
5289869845B387   CARLOS        GARCIA                      OR     90007866984
528986A787B46B   LATASHA       CRAWFORD                    NC     11010866078
5289986814B588   SHARMARREON   HILL                        OK     90013998681
5289B248497B54   MARIA         AVALOS                      CO     90007562484
5289BA68A72B67   ADDISU        DEJENE                      CO     33070860680
528B119664B28B   TAMIKA        RODRIGUEZ                   NE     90010211966
528B171212B27B   JANET         HERRING                     DC     90004827121
528B176694B588   CRYSTAL       CARSON                      OK     90012827669
528B249A561975   BRENDA        COVARRUBIAS                 CA     90013964905
528B2882491895   SARAH         RUSSEL                      OK     90000798824
528B3355672B88   SEQUIA        HAYES                       CO     90003193556
528B3585A57563   CECILIA       ORTIZ                       NM     90001005850
528B3627A33699   AARON         PHILLIPS                    NC     90015076270
528B396535B393   KESETE        NAIZGI                      OR     44573979653
528B3AA6684357   MEL           DANIELS                     SC     90011370066
528B4337A5B399   JENNIFER      DIETL                       OR     90007863370
528B4975861971   LAURA         GASKINS                     CA     90011089758
528B4A4347B46B   JEREL         DRYE                        NC     11095930434
528B55A6A72B43   ARMANDO       HERRERA                     CO     90005165060
528B5943784373   LUSELVA       MORALES                     SC     90015339437
528B6365861965   TED           WILSON                      CA     90015293658
528B6731291587   NIDIA         RETANA                      TX     75053867312
528B6744693724   JOSLYN        BROWN                       OH     90014117446
528B6793672B43   ANTHONY       HODSON                      CO     90007507936
528B6798272B67   MARY          CASADOS                     CO     33058487982
528B68A325B531   WENDY         CHRISTIAN                   NM     35005988032
528B737A257157   PETER         BOISSON                     VA     90012883702
528B7A43591895   MAI           VUE                         OK     90011210435
528B837254B28B   SCOTT         REPLOGLE                    NE     90007383725
528B859A15B393   SAM           BENEDY                      OR     44518205901
528B88A7984357   SHANTELL      DELANCY                     SC     90015148079
528B966338B169   TONY          MARCHESE                    UT     90014566633
528B9972197B54   CRISTINA      YANEZ                       CO     90014889721
528B997275B531   BEN           MONTOYA                     NM     35014799727
528B9992A4B588   CHRISTINA     NELSON                      OK     90010389920
528BB118431479   KIM           HEALEY                      MO     27582681184
528BB628733696   JULIE         BREWER                      NC     90011976287
528BB98264B588   MARY          GARRISON                    OK     90008439826
52911299372B49   JOHN          GURULE                      CO     33025232993
5291157765B387   JUAN          CAMPOS                      OR     90015205776
52911586797B54   MATHEW        COLE                        CO     90015345867
5291158714B588   LORENA        CASTRO                      OK     90006945871
52911883A72B67   MARIO         ALVAREZ                     CO     33005788830
529118AA184357   ANNE MARIE    WILSON                      SC     90013868001
5291191875B531   ARTURO        VILLANUEVA                  NM     90006609187
5291219A45B543   JOHN          AGUILAR                     NM     90005471904
52912723697B54   FRANCISCO     RODRIGUEZ                   CO     90005117236
52912724772B27   ELIAS         BAUTISA LOPEZ               CO     90012837247
52913986472B36   KISHA         DOYLE                       CO     33070629864
5291416AA72B49   LINDA         SUE KNAPP                   CO     90009121600
5291485962B27B   MIKAL         ABDUSSALAAM                 DC     90006398596
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5291552A551348   ERIC            NAPIER                    OH     90008755205
529165A8172B43   LAVAUGHN        QUINTANA                  CO     33070155081
529167A937B421   CRYSTAL         BARKER                    NC     90012517093
5291684167B46B   LATRICE         NESBIT                    NC     90013598416
5291738185B531   PABLO           LUCERO                    NM     90004953818
5291738834B521   RUSSELL         POINDEXTER                OK     90013613883
5291766915758B   JORGE           GONZALEZ                  NM     35584036691
5291783262B27B   DOMINIQUE       IRVING                    DC     90008418326
5291865365B531   ELVA            RAMOS                     NM     35060696536
529195A3657157   ALFRED          SMITH                     VA     81014485036
529196A885758B   CYNTHIA         MARTINEZ                  NM     90002606088
5291B356384373   MARTHA          MACIAS-VILLAGRANA         SC     90013933563
5291B45315B387   JUDY            WILSON                    OR     44543024531
52921259372B43   NICHOLE         LYLE                      CO     90010452593
529216AA75B283   NICHOLE         FIELDS                    KY     90004076007
5292214875B399   LEHUA           YOSHIOKA                  OR     90007531487
5292224114B28B   WILLIAM         RUTT                      NE     26093682411
529228A115758B   DELFINO         CORDOVA                   NM     35527298011
52922A77A72B77   JONATHAN        MARTINEZ                  CO     33056300770
52923233272B27   FRANCISCO       LUJAN                     CO     90012122332
52923367772B43   JAKE            TAYLOR                    CO     90012583677
5292434527B46B   ANA             LOPEZ                     NC     90004783452
52924367772B67   JUAN            FREYRE                    CO     90002393677
5292523A393724   YOLANDA         KNOX                      OH     90014932303
52925429A72B36   DIEGO           BEDOLLA                   CO     90007904290
5292567645B399   MAURILIO        TAPIA                     OR     90009526764
5292582445B283   JESSICA         PLDT                      KY     90004268244
5292652A47B46B   TONY            WILLIAMS                  NC     90013215204
5292665A472B36   TYLOR           LUCERO                    CO     90014346504
52926695172B43   GRISELDA        VILLALPANDO               CO     90010896951
52926A37572B36   RAUL            ROMERO                    CO     90013480375
5292735AA5B387   JAMIE           SARTER                    OR     90003753500
52927444272B67   MIGUEL          HERRERA                   CO     33041184442
5292747665758B   GILBERT         DIAZ                      NM     90013274766
52927A6377B394   ROSA            ANDRADE                   VA     90006190637
52928279A57157   ELMER           BONILLA                   VA     90011402790
5292838838B169   EDWARD          BOWMAN                    UT     90012703883
52928A15772B43   CLAUDIA         SANCHEZ                   CO     90003740157
52928A2584B588   ASHLEY          MERRYMAN                  OK     90009510258
5292941214B28B   ANBER           ROBIN                     NE     90005564121
529295A955B543   APRIL           LUCERO                    NM     35056445095
529297A974B521   CODY            WELDON                    OK     90010497097
5292B46952B27B   SAUL            GUEVARA                   DC     90010304695
5292B56645758B   DALE            DUFFEY                    NM     90009945664
5292B799791587   ELIZABETH       BERNAL                    TX     90010977997
5292BA94A81688   TIARA           WHITE                     MO     29011820940
5292BA9545B561   ANNA            CANDELARIA                NM     90012480954
5293137175B393   OCTAVIO         GARCIA                    OR     90000413717
5293171125B387   CHERYL          NELSEN                    OR     90009167112
52932529872B49   ELIZA           ESCAMILLA                 CO     33086705298
52932877124B7B   JUAN            PINEDA                    MD     90015418771
5293298547B46B   ROBERT          COHER                     NC     11013749854
52932A98993724   TERRI           PACKNETT                  OH     64509170989
5293359634B579   VANESSA         VIERA                     OK     90011035963
52933669A97B54   GLENDA          VIEYRA                    CO     90015576690
5293425575B543   JOSE DE JESUS   TREVIZO-NUNEZ             NM     90007532557
529356A4633696   LATASHIA        MOORE                     NC     90008376046
529364A4472B77   DEXTER          METCALF                   CO     90010944044
52936642A5758B   PATRICIA        BAYONA                    NM     35514676420
52937133A7B46B   GREGORY         DAWKINS                   NC     90014841330
5293737398B169   TAMMY           FERNANDEZ                 UT     31063033739
52937593797B54   AMIE            ORNELAS                   CO     39082625937
529382AAA71964   SARAH           ROSAS                     CO     90014362000
52938628A72B36   FERNANDO        SALMARON                  CO     90013486280
529386A397B46B   SHAMIRA         PERKINS                   NC     11013266039
529386A8261971   HERLINDA        QUIRINO                   CA     90011406082
5293937A94B521   SHANTE          ALLEN                     OK     90014223709
5293B273A8B169   ALICIA          DOWNS                     UT     90003022730
5293B556461965   HANNAH          DAVALOS                   CA     90013535564
5293B612961973   LATOYA          BLOUNT                    CA     90009836129
5293B643872B77   JULIO           JIMENEZ                   CO     33054786438
5293B835872B43   DEYSI           LARA                      CO     90007388358
5294117812B27B   TIARA           GRIFFIN                   DC     90014661781
5294159844B588   PENNY           LOEFFELHOLZ               OK     21551985984
52941715772B49   JODY            LUCERO                    CO     33001517157
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529419A2297B54   SAMANTHA          WEST                    CO     90007809022
52941A33A5715B   ADRIAN            SANTILLAN               VA     81042100330
52941A58597B54   SAMANTHA          WEST                    CO     90014530585
5294227A95758B   JESUS             CHAVIRA                 NM     90013952709
5294254814B588   MOHAMED           COULIBALY               OK     21577115481
529429A667B46B   BRIAN             LEEPER                  NC     90006009066
52942A66161965   AYMEN             KIRKUKI                 CA     90010270661
529431A2384357   OCTAVIA           BRYAN                   SC     90013871023
529438A3161973   ERNIE             BUCHANAN                CA     90001348031
5294439694B521   TIMOTHY           MANZANARES              OK     90014223969
529449AA884357   SAVONDA           SMALLS                  SC     90010519008
5294542424B588   DUTCH             STUDER                  OK     90012184242
52945777772B36   TRAVIS            SWAN                    CO     33076687777
529459A485B531   NICOLE            SOLIS                   NM     90010889048
5294648884B28B   SHANTEKIA         HITE                    NE     90004154888
5294649574B588   BOBBY             SPEARS                  OK     90013844957
52946679A71964   DANE              MCWILLIAMS              CO     32084206790
52946986A72B36   CARA              CASIAS                  CO     90013219860
52946A93A91895   TIONNA            RUSSELL                 OK     90014700930
52947A48833696   ERIC              CURRIE                  NC     90008650488
52947A52357157   ABRAHAM           JR                      VA     90012890523
5294831165B387   WARREN            SADRIN                  OR     90011193116
5294897A28B169   JON               AHLSTROM                UT     90011609702
52949396972B36   LISA              BOND                    CO     90006373969
52949498472B88   SMITH             DANIELLE                CO     33017384984
5294968557B46B   FURMAN            WILLIAMS                NC     11060796855
5294991424B521   MARY              WOODS                   OK     90009879142
5294B36942B27B   KEISHA            MCKENZIE                DC     90008663694
5294B373361975   AMERICA           ALGANDAR                CA     90012593733
529511A6191934   TAMEKA            SCALES                  NC     17074121061
52951A89891587   GILBERT           RAMOS                   TX     75072230898
52951AA4351348   JESSICA           CLEMONS                 OH     90015310043
5295229635B399   DAVID             STONE                   OR     44549552963
529522A8197B54   MARIA             ALVAREZ                 CO     90015082081
529525A9A81682   DENNIS            GAPPA                   MO     90001145090
52952A74361965   ALEN              KHOSHABA                CA     90010270743
5295387964B521   DMITRI            PHILLIPS                OK     90010338796
52954218972B43   ARMANDO           LINARES                 CO     90005492189
529544A6172B77   ANNETTE           SAUCEDO                 CO     33048764061
529546A3791587   CARLOS            PRIETO                  TX     90014726037
529549A572B27B   CAMELA            HENRY                   DC     81047049057
52954A52A91856   AUBREY            STANFORD                OK     90011930520
52955A14384373   ALONZO            STONEY                  SC     90014800143
52956797772B77   RUBEN             RODRIGUEZ               CO     90002897977
529576A4161975   WILL              WRIGHTEN                CA     90012846041
52957773772B43   MATTHEW           LENGER                  CO     90013227737
5295824895B531   TANYA             KENNEY                  NM     90001722489
5295839835758B   VERONICA          GALLEGOS                NM     35522493983
5295843A561965   RYAN              HANNA                   CA     90002294305
5295898A15B543   ANNETTE           SISNEROS                NM     35001939801
52959279A57157   ELMER             BONILLA                 VA     90011402790
5295937A231462   REBECCA           OKEEFE                  MO     90010963702
5295982195758B   ELIZABETH         ROMERO                  NM     90011848219
5295B864571964   LEE               GREG                    CO     90011628645
5295BA8A75B229   MUNIR             CHAUDHRY                KY     90005060807
529611A4497B54   IGNACIO           CASIAS                  CO     90000841044
52961223A84373   ANTONIA           HAYWOOD                 SC     90009832230
5296163415B399   SUSANA            PEREGRINA BARRERA       OR     44556466341
52961649872B49   GABBY             PEREZ                   CO     90012426498
529617AA98B169   ESTELA            ESPINOZA                UT     90014687009
52964383272B49   STACEY MICHELLE   WEEDA                   CO     90013013832
5296476744B28B   TRISH             KLEIN                   NE     26088837674
5296519682B27B   HENRY             JEFFRESS                DC     90001091968
5296553A55B387   ELAINE            CASON                   OR     90011525305
52965555457B81   ANGLA             SARJONO                 PA     90015185554
52965877372B67   OSCAR             MEJIA                   CO     33000928773
5296589A98B169   ASHLEY            CRUZ                    UT     90009868909
5296595894B521   PHAT              NGUYEN                  OK     90006999589
52965A48951348   HOWARD            OLIVER                  OH     66017350489
52965A68631428   PATRICIA          HAMILTON                MO     90010580686
5296664A593724   LEE               SERVICE                 OH     90010846405
52966677672B36   MISTY             RIEDESEL                CO     33099776776
5296674814B588   BRANDON           ANTHONY                 OK     21558007481
52966A29861965   ASHLIE            PITTMAN                 CA     90010870298
52967A4794B588   HARMONY           HAWKINS                 OK     90003490479
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52968439572B36   BRYANT          BONET                     CO     90007904395
529684A394B588   BLANCA          ORTEGA                    OK     90005724039
5296881544B588   KELVIN          ROSE                      OK     90013088154
52969277972B27   ANTHONY         PUALSON                   CO     90014812779
5296947827B46B   BALTASAR        PIZANO                    NC     90007124782
529694A1A97B54   JENNIFER        THOMPSON                  CO     90012594010
5296B1A7984373   PRINCESS        CARTER                    SC     90014771079
5296B85A472B43   CHRIS           HERNANDEZ                 CO     90007508504
5296B92744B588   JUAN            MONJARAS                  OK     90014209274
52971379A7B46B   YERWIN          CRUZ                      NC     90010623790
52971A49933696   DAYTONA         LEAK                      NC     90013280499
52972A7A45B399   DENISE          COBB                      OR     90007820704
52973A76857131   EDITH           VIGIL                     VA     90001760768
52974493A5B387   JONNETTA        BROWN                     OR     44551544930
52974A67651348   MARIO           CRUZ                      OH     90013030676
5297544435B531   PAULA           MARTINEZ                  NM     90010614443
5297548685B399   JOSE            LUIS                      OR     44564484868
5297659255758B   VIRGINIA        CHAVEZ                    NM     90003955925
529765A5291895   SUGEY HERBERT   SAMPAYO                   OK     90009985052
52977138872B49   CLAUDIA         MAINE                     CO     90015271388
5297731A87B46B   SHAVON          ROBINSON                  NC     90010633108
5297B37557B631   EJINKONYE       ANEKWE                    GA     15000333755
5297B847A61971   DONALD          HASTINGS                  CA     90004928470
5297BA24A33657   MIRANDA         BELK                      NC     90003390240
52982584A5B387   NANCY           QUADE                     OR     90008865840
5298276515758B   MIGUEL          CASTILLO                  NM     90013757651
5298313414B251   RICHARD         CLARK                     IA     90007741341
52983565672B36   ARACELI         LOPEZ                     CO     33002775656
5298417565593B   EVARISTO        MENDOZA                   CA     90007671756
52984629672B49   DEVIN           ARNOLD                    CO     90012456296
52984775272B27   ROBERT          CLIFFORD                  CO     90013257752
5298545724B251   BEVERLY         HARRISON                  NE     90007764572
5298548235B531   RYAN            COLEMAN                   NM     90011174823
52985512197B54   HEATHER         KIEHN                     CO     90013645121
5298563215B393   REBECCA         JARDING                   OR     90010316321
52985821872B36   ALAN            CROWDER                   CO     90009998218
52986243A5758B   VIRGINIA        DIAZ                      NM     90013882430
5298719647B46B   ELIZABETH       JIMENEZ                   NC     90015001964
52987454972B43   ROCK            LINDSAY                   CO     90013614549
5298793A193724   PAMELA          FRISON                    OH     64553989301
52987999A33699   TOMEKA          ANDERSON                  NC     90008439990
5298827A25B393   BETTY           ODELL                     OR     90009472702
52988746A97B54   JOSEPH          LUJAN                     CO     39088297460
52989372A84373   HEIDI           TEJADA                    SC     90014923720
529897A7861975   ANTHONY         ACUNA                     CA     90013827078
5298981A261965   JESUS           GONZALEZ                  CA     90013988102
5298B159361971   ANGELA          HUNT                      CA     90014651593
5298B63A161975   AIOTEST1        DONOTTOUCH                CA     90015116301
5298B89434B521   ROSA            HERNANDEZ                 OK     90015168943
5299112A133696   KIMBERLY        JOHNSON                   NC     12092271201
529913AA741242   HEATHAR         WHITE                     PA     90007413007
52992956172B36   NERI            BRAVO                     CO     90009579561
5299329655B531   LORENZO         GURULE                    NM     35077752965
529935A615715B   MANUEL          CEDILLOS                  VA     81036115061
52993832172B49   KAREN           BURGOS                    CO     90013338321
52993921572B36   TRACEE          BRISENO                   CO     90012299215
5299443A531294   GEORGIA         SHANKEL                   IL     90000764305
5299444235B531   BRITTANIE       SANFORD                   NM     90008644423
5299456882B27B   AARON           WHITE                     DC     90012505688
5299478877B46B   SHENEAKA        JHONSON                   NC     90011437887
5299494A761975   KENNETH         GRAY                      CA     46064109407
52995442872B43   MARTHA          SAMBRANO                  CO     33023734428
5299563735B393   MARTIN          COON                      OR     44533656373
5299574475B387   LISA            MCKAREN                   OR     90013787447
52995A95333699   ASHELY          EDGAR                     NC     90012040953
52995AA915758B   RANDY           CALKINS                   NM     90014020091
5299647522B27B   CHADA           VAN                       DC     90014394752
52996553498B2B   SONGA           SOWELL                    NC     11099525534
52996659A5758B   SYLVIA          GONZALEZ                  NM     90004306590
5299742915B283   STARR           GATHARIGHT                KY     90002834291
5299743A598B2B   EMILIE          DIAKIESE                  NC     11041064305
5299782A591587   CARLOS          CARDOZA-VALENZUELA        TX     90010978205
529978A7897B54   ROSALINDA       RODRIGUEZ                 CO     39088138078
5299864A191895   JAQUELINE       ROBERTS                   OK     21013756401
5299883255B531   DENISE          BACA                      NM     90014778325
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52998A8385758B   DAVID        MENDEZ                       NM     35594060838
52999611672B49   MARTHA       HERNANDEZ                    CO     90008666116
5299B31218B169   KIRSTEN      MAGINNIS                     UT     31091993121
5299B61915754B   ROSEMARY     PEREZ                        NM     90006426191
5299BA1955758B   CHARLES      MONTGOMERY                   NM     90012610195
529B1855A93724   ANTHONY      CLEMONS                      OH     90010808550
529B2222281664   GLADYS       WILLIAMS                     MO     29031862222
529B26A655715B   NUMAN        SHAH                         VA     90009846065
529B272355B387   MYCHAL       GILLESPIE                    OR     90014517235
529B299A357157   ANA          YANES                        VA     90013289903
529B3255733696   SLOAN        JOHNSON                      NC     90014622557
529B327215B399   SONIA        NANDO-ZURITA                 OR     44592492721
529B3545891587   GABBY        HINOJOSA                     TX     90014155458
529B3997172B43   JOSH         ROMERO                       CO     90011469971
529B4213672B49   HELEN        TORRES                       CO     90012902136
529B4581133696   BRITTANY     MAYNARD                      NC     12051085811
529B5585961973   PATRICIA     BELTRAN                      CA     90009035859
529B55A985B531   JAMIE        BAHE                         NM     90013385098
529B5852272B43   ISABEL       MENDEZ                       CO     90004688522
529B5872357157   CARLOS       ALONZO                       VA     90013108723
529B6266184357   MARLEN       FLORES                       SC     90012442661
529B6534472B36   JAY          DAVID                        CO     90014555344
529B6797A93724   RAMIZ        SHIRINOV                     OH     90013207970
529B6965871964   GERMAN       VILLANUEVA                   CO     32092289658
529B739512B27B   LAURA        HARRIS                       DC     81090463951
529B747984B588   BENJAMIN     ALANIZ                       OK     90008764798
529B764344B28B   DENITA       WILKINSON                    NE     90003936434
529B768925B399   ZACHARY      LOOP                         OR     90013266892
529B77A9A93724   DSHARA       FARRELL                      OH     90012937090
529B8115984852   CANSECO      FIGUEROA                     NJ     90013931159
529B8374172B49   LAY          LOET                         CO     90010723741
529B87AA697B54   CAROL        KORGAN                       CO     39088287006
529B9387533699   JACKSON      ANTONIO                      NC     90014953875
529B9524572B43   MARIE        FRANCES                      CO     33083245245
529B9588861965   JAYMIN       MOHAMMED                     CA     90007475888
529B986735B399   MARBELIS     REYES                        OR     90010758673
529BB15195758B   ELIEZER      PUERTO                       NM     35502821519
529BB54864B521   HEATHER      ANDERSON                     OK     90011565486
529BB833393724   BESSIE       DUKE                         OH     64598008333
529BBA3313B377   DEANNA       LACEY                        CO     90008750331
52B1127A598B2B   HORETHA      SINGS                        NC     90005792705
52B11357877943   AUGUSTIN     BAUTISTA                     KS     90011803578
52B11457A97B54   DARCY        PAGET                        CO     39090954570
52B11A2A92B27B   CHELSEA      LALES                        MD     90015470209
52B11A59272B67   BERTHA       SANTISO- MORALES             CO     33014280592
52B12789A8B169   FAY          MALDONADO                    UT     90011627890
52B13482172B36   MIRIAM       RODRIGUEZ                    CO     90010994821
52B13594833696   CATINA       HEATH                        NC     12059775948
52B13A3175B543   RUBI         CASTILLO                     NM     90008360317
52B1412364B521   CORNELIO     REYNA                        OK     90011551236
52B1452AA72B49   JENN         SARACENO                     CO     33024465200
52B14628733699   JULIE        BREWER                       NC     90011976287
52B14924A33157   JOHN         DOTSON                       IL     20592659240
52B14A8135B38B   NOAH         GENELIN                      OR     90013190813
52B1515618B167   JEANNE       BARNES                       UT     31085201561
52B15185961973   ROBERTO      HERNANDEZ                    CA     90012231859
52B15226A5B399   ALICIA       ULREY                        OR     90015102260
52B15278738522   EMMIE        CASTENALLOS                  UT     90011652787
52B1549275B387   KIM          NGO                          OR     90010164927
52B15587457157   IRMA         FUENTES                      VA     90007595874
52B15667491895   DELFINA      JIMENEZ-SANDOVAL             OK     90013786674
52B159A5372B49   ALDO         MENDOZA                      CO     90013559053
52B16147A5B283   ROBERT       PORTER                       KY     68073111470
52B1624785B387   ANA          ANDRES                       OR     90013362478
52B17126733699   JOSNAUNA     PATTERSON                    NC     90013571267
52B1738965B399   GEO          SCHUFFLER                    OR     90012023896
52B1749755B543   MILDRED      BROWN-ANDERSON               NM     35007604975
52B18284A91587   FLOR         REYES                        TX     90011652840
52B1871754B521   LETICIA      ORTEGA                       OK     90014167175
52B18974461973   CLAUDIA      MARQUEZ                      CA     90009679744
52B18A3A68B169   ADELMO       BACA                         UT     90014800306
52B19482172B36   MIRIAM       RODRIGUEZ                    CO     90010994821
52B19536591587   ALEJANDRO    OLAGUE LLACA                 TX     90010975365
52B19979833696   KEVIN        ROBINSON                     NC     90008519798
52B19AA4191587   DIANA        PYLE                         TX     90013950041
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52B1B788561975   JESUS           CORTEZ                    CA     90012377885
52B1B81455B399   MONIQUE         MORRELL                   OR     90007398145
52B2121535B531   JOHNATHAN       GONZALES                  NM     90013352153
52B2227374B536   ALEX            LUNA                      OK     90001692737
52B22294133699   VAN             JOHNSON                   NC     12009032941
52B2237A672B27   TAMMY           LANI                      CO     33070103706
52B2265A85B393   MARIA           GARCIA                    OR     90004076508
52B2313684B521   MARIA           ORTIZ                     OK     90011551368
52B23174991587   ELIZABETH       PEREZ                     TX     90008941749
52B23181A33699   PERRYN          WILSON                    NC     90014741810
52B23483633699   TONYA           NAILS                     NC     90008744836
52B24317884373   LEIGH           BELL                      SC     90001693178
52B24323372B27   MILO            GALINDO                   CO     33056053233
52B24471584357   ASAKO           GARRETT                   SC     90015164715
52B24691893724   DORIS           LOPEZ                     OH     90000286918
52B24817691895   ROGER           WALKER                    OK     21026068176
52B24877171964   WILL            WILLITS                   CO     90011588771
52B24998372B36   ALAN            MORENO                    CO     33054109983
52B2544A657127   JACINTO         DE PAZ                    VA     90009584406
52B255A1757157   PAULA           FOWLER                    VA     90001755017
52B25728651348   SANTOS          TORES                     OH     90011127286
52B2581797B46B   MIRSSA          GODAIR                    NC     90013378179
52B2596715758B   LILIANA         MORIN                     NM     90012759671
52B2646245B393   KAYLIE          WORCESTER                 OR     90007154624
52B2654985B531   TRISHA          CHAVEZ                    NM     90007465498
52B26717A4B588   OWOLE           LAWANI                    OK     90001047170
52B27274557157   CHRISTOPHER     KELLEY                    VA     90014462745
52B27867A7B46B   FREDA LAVERNE   TYSON WILLIAMS            NC     90007448670
52B2836815B393   ASHLEY          VOSS                      OR     44579643681
52B28497351348   NATASHA         PEOPLES                   OH     90008504973
52B29227797B77   STACEY          FURNELL                   CO     90001802277
52B29317A72B49   FRANCISCO       CASTRO                    CO     90014853170
52B2942215B399   EVELIA          ALFONSO-HERNANDEZ         OR     90000434221
52B29988431428   SHARAY          SLAUGHTER                 MO     90009009884
52B2B17A991587   DIANA           JAQUEZ                    TX     90013121709
52B2B1A545B531   CHARLENE        BALDIZAN                  NM     90013711054
52B2B298472B43   JOHN            REGAN                     CO     90010402984
52B2B3A4997B54   BRANDY          GARCIA                    CO     90012723049
52B2B488991587   STEPHANIE       MORENO                    TX     90014824889
52B3174A48B169   REYNA           MORALES                   UT     90008107404
52B31A9834B521   FAITH           WELCH                     OK     90008070983
52B32591961975   TANYA           CINONEROES                CA     90010765919
52B3269965B531   SAM             LAING                     NM     90012686996
52B3291195B399   FAVORITA        ANDON                     OR     90013899119
52B33168A33696   KEISHA          DAVIS                     NC     90012251680
52B3321258B164   PAULA           TAGER                     UT     90014442125
52B33242157157   ANA             SANCHEZ                   VA     90013012421
52B33314772B49   MERAZ           ROCIO                     CO     90010723147
52B33A7A28B164   PAULA           TAGER                     UT     31083290702
52B3456A672B36   JEREMY          WRIGHT                    CO     33014575606
52B3466A881669   ISABEL          HERNANDEZ                 MO     90009606608
52B3512167B46B   AQUARIUS        GARLINS                   NC     90013581216
52B3523212B27B   BARBARA         CAMPBELL                  DC     81023392321
52B3529862B272   SABRINA         JOSEPH                    DC     90001442986
52B3533A18B169   AMY             EVANS                     UT     31094793301
52B35831761971   BRAULIA         CASTILLO                  CA     90011988317
52B35836433696   TRACY           NEWKIRK                   NC     12088888364
52B35A19891587   LINDA           ROCHA                     TX     90013950198
52B36382533699   EBONI           RICHARDSON                NC     90005403825
52B3643A198B2B   ANGELA          SCOTT                     NC     11017984301
52B36631361965   ARTISHA         NORNS                     CA     90006616313
52B36754372B49   GEORGE          DOCHERTY                  CO     33013857543
52B36763584373   CLAUDIO         ANDRADE                   SC     19080397635
52B36884161975   FRANK           DURON                     CA     90009698841
52B36996633696   TIFFANY         SLADE                     NC     90010429966
52B36A15693724   CARNELLA        PARKER                    OH     64509280156
52B36A96861971   KELCI           WALKER                    CA     90012260968
52B37178172B27   CARAYN          WAVEFIELD                 CO     33051311781
52B37257772B49   AGAPITA         NAVARRO                   CO     33095342577
52B37496557157   CARA            BONNER                    VA     90011174965
52B3811497B46B   MICHAEL         JONES                     NC     11045831149
52B3813675B393   EDGAR           CHEL PUC                  OR     90007031367
52B38429A72B36   SABRINA         SMITH                     CO     90003584290
52B3847A393724   HEATHER         ASHLEY                    OH     90012304703
52B38513391895   VALERIE         JAMES                     OK     90014215133
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52B38935291922   REYNALDO     BONILLA                      NC     90011499352
52B39451391587   ANDREW       BROWN                        TX     90009084513
52B3949184B521   TRINH        DYE                          OK     90014654918
52B3B26414B588   CANDY        WOOTEN                       OK     21589382641
52B3B33172B27B   BARBARA      WILLIAMS                     DC     81024273317
52B3B9A165B531   MARIA        ESQUEDA                      NM     35043879016
52B3BA5A58B169   CESAR        MEJIA                        UT     90002670505
52B3BA9235B399   OLIVIA       ALEXANDER                    OR     90011890923
52B41847197B54   NATHAN       LEBSOCK                      CO     90013408471
52B42445457157   EDITH        HUEZO                        VA     90012414454
52B424A427B631   MADELINE     BOYKIN                       GA     15019984042
52B4259544B521   JOSE         AGUILAR                      OK     90014915954
52B4279274B28B   MIKE         HOAGLAND                     NE     26081117927
52B42869772B27   CARLA        WOODS                        CO     33013728697
52B43229897B54   KATARA       BURROLA                      CO     90007562298
52B432A744B521   SKYLER       BOWEN                        OK     90006802074
52B432A8672B36   KIRK         DOUGLAS                      CO     90013752086
52B43587A5758B   MICHAEL      MARTINEZ                     NM     90009625870
52B43A1944B544   PATRICIA     MCMAHAN                      OK     90012210194
52B43AA9991521   JOSUE        PEREZ                        TX     90009990099
52B44218691587   VERONICA     CASTRO                       TX     75042732186
52B44257397B77   MARSHA       MAESTAS                      CO     90012462573
52B4426185758B   MERCY        HERNANDEZ                    NM     90001822618
52B44285261975   MARIA        CARRI ZALEZ                  CA     90004452852
52B44819731428   ANEL         DIZILAREVIC                  MO     90011988197
52B4547525B283   KAREN        YOUNG                        KY     90000804752
52B4586578B169   CODY         RODICIO                      UT     90014408657
52B46185A57157   RUDY W.      CRUZ                         VA     90012781850
52B46449761975   TERESITA     INZUNZA                      CA     90015154497
52B4662A461971   AMBER        KUNAVICH                     CA     90012666204
52B4693A68B169   FLORA        GNJALVA ALVAREZ              UT     90013999306
52B46A99472B67   ADAM         WEYANT                       CO     33033850994
52B47383272B88   MARIA        BOWER                        CO     33058343832
52B47383751348   TERI         CASPER                       OH     90011893837
52B47559191587   RUDY         HERNANDEZ                    TX     90010975591
52B476A3271964   MIREYA       MARTINEZ                     CO     32071236032
52B476A3872B36   TAWANA       GREEN                        CO     33081606038
52B4786AA4B521   HEATHER      HARTSHORN                    OK     90010298600
52B47882791587   BRANDON      PANGILINAN                   TX     90012178827
52B4821135B399   SHELLY       HOGDON                       OR     44528182113
52B48356461965   JOVANI       AGUILAR                      CA     90010323564
52B4852975B393   DONOVAN      HINKLE                       OR     90015055297
52B4858717B46B   MARGARITA    TEXIDOR                      NC     11009225871
52B4873465715B   MEDARDO      RIVERA-LOPEZ                 VA     90011817346
52B4881968B169   CYNN         REDEYD                       UT     90014558196
52B489A8A72B27   SHEILA       HECKENDORN                   CO     90012769080
52B48A59157157   ROXANA       CANALEZ                      VA     90001890591
52B49117354153   EDWARD E     LIVINGSTON                   OR     90009051173
52B49954961971   BRIGITTE     BARNES                       CA     46065619549
52B49986872B88   DAISY        RIVERA                       CO     90003229868
52B4B31592B27B   DIANE        LOGAN                        DC     90010193159
52B4B58A172B36   KERIN        MENDEZ                       CO     90010265801
52B51113A5B387   ROCKO        FRAZIER                      OR     90006061130
52B5124818B169   AARON        EDWARDS                      UT     90008102481
52B51662361975   ADRIAN       WATSON                       CA     46093216623
52B51A57172B49   LANSDOWN     LADAWN                       CO     33047620571
52B5264454B521   SHARI        DELEON                       OK     21593996445
52B52772761973   GEORGINA     HERNANDEZ                    CA     46068877727
52B52953A57157   ELITE HOME   CARE SERVICES                VA     81011109530
52B53113591895   DEVIN        DENTON                       OK     21012251135
52B5311364B521   ROSA         REYES                        OK     90014181136
52B53126184373   CHRISTINA    WILLIAMS                     SC     90014571261
52B5318324B588   TAMARA       RODRIGREZ                    OK     21542451832
52B53257472B49   RICHARDO     YOUNG                        CO     90013602574
52B54176361971   DRUCILLA     RUOCCO                       CA     46095641763
52B54613931429   JACQUELINE   NIELSEN                      MO     27571576139
52B5487294B588   DERIK        HUBER                        OK     90013428729
52B5582955758B   BELINDA      BAYLON                       NM     35510668295
52B559A4951348   KRISTINA     KIRKLAND                     OH     90009359049
52B56341A72B27   ROSALBA      MORALES                      CO     33067863410
52B56515357157   MARY         CRAWFORD                     VA     90007615153
52B565A515B399   MATTHEW      BECKETT                      OR     90011605051
52B56692471964   BYRON        WEATHERBY                    CO     32029766924
52B566A3761973   PABLO        BARIOS                       CA     90012726037
52B56897133699   GUADALUPE    SANCHEZ                      NC     90001178971
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52B57218972B27   CHRISTIAN     ALDER                       CO     33089912189
52B5784886194B   TONI          MARTINEZ                    CA     90007778488
52B57977933699   JOHN          BROWN                       NC     90009389779
52B5799A257123   CARLOS        MARTINES                    VA     90008049902
52B57A6A772B36   ANDREA        URIOSTE                     CO     90014630607
52B57A79457157   DRENA         JONES                       VA     90008350794
52B58175672B88   PATRICIA      TRUJANO                     CO     33038181756
52B58191372B43   V ALARIE      STEGALL                     CO     90015121913
52B58775951348   EUGENE        RIDENOUR                    OH     90010617759
52B587A6472B36   KIMBERLY      MORALES                     CO     90012157064
52B5911734B521   SHANNON       ALMEIDA                     OK     90014181173
52B59192572B43   MAYRA         MONREAL                     CO     90015121925
52B59565891587   SARA          ALVARADO                    TX     75010435658
52B59A31484357   JOSEPH        DRIESSEN                    SC     90014760314
52B5B14288B169   CRISTANA R    AMES                        UT     31004461428
52B5B49244B521   ERICA         ZELAYA                      OK     90011074924
52B5B75244B521   RAMIRO        IBARRA                      OK     90014167524
52B61252361973   DANNY         MUNOZ                       CA     90011952523
52B61411333699   JOANN         PARKER                      NC     12003004113
52B62356133699   DAMION        CAMPBELL                    NC     90005623561
52B62583684373   DEANDRA       GANT LAMBERT                SC     90014035836
52B6295865B283   LISA          STONE                       KY     90004239586
52B6326A857157   NICOLE        PALMER                      VA     90012992608
52B63458161971   WINTER ROSE   HERRERA                     CA     90010084581
52B634A7472B49   TANYA         HERNANDEZ                   CO     90006444074
52B63539A61971   WINTER ROSE   HERRERA                     CA     90014035390
52B6373935B531   LARRY         PAIZ                        NM     35062237393
52B6411AA61973   AQUILEO       HERRERA                     CA     46083841100
52B64346A5B399   BRUCE         BRINES                      OR     90002873460
52B64686361965   CONSUELO      SAUCEDO                     CA     90004926863
52B64896961975   BRIAN         PERIN                       CA     90014618969
52B649A8497B54   ROSARIO       JAQUEZ                      CO     90009719084
52B64A91493724   JEANNA        MADDOX                      OH     64586760914
52B65189A7B46B   MARTIN        KNIGHT JR                   NC     90014081890
52B65327A61975   MOHAMMED      SAAID                       CA     46017783270
52B65669384357   NANN          SEARLES                     SC     14581556693
52B6581885B393   JEREMY        POLAND                      OR     90011358188
52B65831A4B588   SHENNA        WEBSTER                     OK     90012558310
52B65944572B43   ELISA         RAMIREZ                     CO     33076839445
52B662A912B27B   ANNETTE       SPENCER                     DC     90002342091
52B6652A861965   BAHAA         PUTRUS                      CA     90007625208
52B66555997B54   CELIA         MORADO                      CO     90013185559
52B6662A95B387   MICHELLE      WERNER                      OR     90013266209
52B66751891587   LUIS          DOMINGUEZ                   TX     75047737518
52B66998A5B531   DIANE         LUCERO                      NM     90009259980
52B67592893724   MELISSA       THORNHILL                   OH     90012265928
52B6768615B399   ROBERT        PARKER                      OR     90013286861
52B67698861949   ZAGROS        DAWOUDI                     CA     46055706988
52B6794912B27B   GABUL         TAMESGEN                    VA     90013079491
52B68241757157   VERONICA      RUIDIAS                     VA     90013902417
52B68526272B43   CHUCHUS       GARCIA                      CO     33024325262
52B685A914B28B   BRENDA        THIENEL                     NE     90011065091
52B68863771964   KARA          LOCKWOOD                    CO     90008118637
52B69188284373   CARMEN        LAZCANO                     SC     90011771882
52B69196372B36   RYAN          BORDER                      CO     90013471963
52B6B3A8161973   MICHAEL       MARQUEZ                     CA     90009853081
52B6B452453B41   MANUEL        RAMRIQUES                   CA     90014164524
52B6B969531429   PAMELA        WHITE                       MO     90006859695
52B6BA27591587   DIANA         MUNIZ                       TX     90013950275
52B6BA5194B588   SELAMAWIT     HADGU                       OK     90013810519
52B71417A5B393   CURTIS        WATERS                      OR     90014054170
52B7196645758B   JOHNNY        MEDINA                      NM     90011519664
52B71A1AA33699   ROXANA        ARELLANES                   NC     90010310100
52B72131797B54   IVETTE        CHAPARRO                    CO     90009241317
52B721A275715B   WUILIAN       GUTIERREZ                   VA     90011821027
52B7239477B46B   DEREK         CARTER                      NC     90011303947
52B724A6185928   JAMIE         PARKER                      KY     67069684061
52B7267245B387   JESSE         GAMBREL                     OR     90014696724
52B72A21771964   JULIAN        JIMENEZ                     CO     90011270217
52B73133371964   SHAUNA        STOUT                       CO     90005141333
52B7359462B27B   BRENDA        LANCASTER                   DC     90012395946
52B73751461975   JESUS         IBARRA                      CA     90014897514
52B73AA6572B88   ISAURO        CELAYA                      CO     90003230065
52B74198872B43   PEDRO         ARAMBULA                    CO     90014171988
52B74594361971   MATT          WHITE                       CA     90002705943
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52B74897833696   GRIR           JEFFERYS                   NC     90013998978
52B7576157247B   JOHN           HAIRSTON                   PA     90007947615
52B75926972B43   KAYLEY         WALKER                     CO     33011979269
52B7596A191895   ROY            HAWS                       OK     90011139601
52B75A82661965   NANCY          SPENCER                    CA     90000710826
52B76434791895   BRITTNEY       GREEN                      OK     90014724347
52B76458871964   SUSAN          ACADE                      CO     90006864588
52B7688985B531   JANICE         SIMS                       NM     90008728898
52B76956572B36   GREG           MAES                       CO     33036559565
52B76AA622B973   JAMAAL         STAMPER                    CA     90004350062
52B7719475758B   JOSE           SOTO                       NM     35585861947
52B7768485B393   MELISSA        HEAD                       OR     90001786848
52B77741597B77   ANGIE          MONTOYA                    CO     90008687415
52B7787855B387   KIM            LEE                        OR     90012428785
52B7827245B387   VALERIE        PIERCE                     OR     44588792724
52B7847924B28B   JONI           OLBERDING                  NE     26076144792
52B789A112B27B   ERICK DANIEL   FUENTES                    VA     90012709011
52B79199661975   PEDRO          RANGEL                     CA     46067081996
52B79354872B27   ALBERT         JENNINGS                   CO     90009243548
52B79685172B27   LIZETH         ESPINOZA                   CO     33069726851
52B79849591895   JOLANTA        ALONSO                     OK     21088118495
52B79921493724   MONICA         HARRIS                     OH     90012479214
52B79974361965   FERNANDO       BAHENA MORENO              CA     90010249743
52B79975A5B283   DMARCUS        MASON                      KY     90004239750
52B7B527793724   MEGAN          MOORE                      OH     90013065277
52B7B83355B393   JAMES          LANGRILL                   OR     90010978335
52B7B91316199B   JOSE           GOMEZ                      CA     90010369131
52B7B96A924B7B   FLOR           MENJIVAR-BRUNO             DC     90005149609
52B7B998561973   ANTHONY        BERMUDEZ                   CA     90015169985
52B7BA19861965   CATHLYN        GARIBAY                    CA     90007450198
52B8114329373B   JOELLE         MOBLEY-EPPS                OH     90013791432
52B825A1384357   AMANDA         CHAMBERS                   SC     90010345013
52B8266735758B   SONNY          SMITH                      NM     90013996673
52B82844861965   KASSANDRA      WITHERSPOON                CA     90013498448
52B8367655B387   BOLIS          RALPH                      OR     90009746765
52B838AA761973   ROCIO          BALLESTEROS                CA     90013078007
52B8457325758B   ALFREDO        BARRON                     NM     90014885732
52B84591891895   JULIE          TRAVINO                    OK     90014215918
52B84A53A8B169   BRENT          BLANCH                     UT     31011920530
52B84A7A95B531   JIANYING       LIU                        NM     90010800709
52B85252961965   MELODY         LEE                        CA     90012542529
52B8542294B28B   MARIA          CROOK                      NE     26025304229
52B85424351348   ANDREW         MCQUEEN                    OH     90013364243
52B85539633699   JALIK          AUSTIN                     NC     12045625396
52B85854461975   NORA           CHANCE                     CA     90004308544
52B8587294B588   DERIK          HUBER                      OK     90013428729
52B85958433696   ELGAN          FARRAR                     NC     90014089584
52B85973157157   BERNICE        ADJALOKO                   VA     90007599731
52B86539893724   MARESA         SCOTT                      OH     90008615398
52B87827A5B393   KELLIE         REYNOLDS                   OR     90004868270
52B8795A893724   REED           VELLAMY                    OH     90014229508
52B87A75457123   SONIA          AYALA                      VA     90013520754
52B88127861975   NEPH           HH                         CA     90008001278
52B884A2872B36   HESTINGS       MELINDA                    CO     90007464028
52B88619361973   KARIME         ZUBILLAGA                  CA     90009486193
52B8863188B169   AMANDA         TOWSEND                    UT     90010716318
52B886A2491895   MENEA          ALFRED                     OK     90014006024
52B88944991895   MENEA          ALFRED                     OK     90008489449
52B88A4A684373   LISA           HARRY                      SC     90015160406
52B89141791534   KIR            ANAYA                      TX     90010611417
52B89596233696   CLIFFORD       MOORE JR                   NC     90014115962
52B8B184261965   MICHELLE       BANEGAS                    CA     90009161842
52B8B1A924B53B   CHRISTY        LEWIS                      OK     90008151092
52B8B364591892   EDUWIGES       HERNANDEZ                  OK     90013933645
52B8B835897B54   JOSE           FLORES                     CO     90015138358
52B8B856761971   BRUCE          BEACH                      CA     90015138567
52B91527572B36   ELIZABETH      SCHAEFFER                  CO     90010315275
52B9194A27B46B   MELISSA        GUTIERREZ                  NC     90012419402
52B91A42984357   TARA           COURTNEY                   SC     90008690429
52B91A98224B42   JUAN           COLATO                     VA     90010400982
52B92323772B77   DIANA          RIVERA                     CO     33047993237
52B92981572B49   BRIANA         MALDONADO                  CO     90011889815
52B93437472B49   SELFA          VIVES                      CO     90008984374
52B93453161973   ROGELIO        GALLEGOS                   CA     90012244531
52B9357264B588   MANUEL         RAMIREZ                    OK     90008385726
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52B93679191587   JOSE         CHACON                       TX     90012966791
52B94833333699   QWAMAINE     LAFORD                       NC     90010068333
52B94899461975   MARTHA       VALDEZ                       CA     90014618994
52B94A95184373   DIANA        FOSTER                       SC     90004420951
52B9512725758B   ALFONSO      LOYA JR                      NM     35589801272
52B95179157157   YESENIA      VILLALOBOS                   VA     90011451791
52B9543A397B54   GENARO       SALVADOR SANCHEZ             CO     39094534303
52B9569265B531   STEPHAN      GOLDMAN                      NM     90011126926
52B96193784373   TARLYN       HUBBARD                      SC     90014571937
52B96417A61939   ALBERTO      REAL                         CA     90001364170
52B96788A91933   TIMOTHY      LINCOLN                      NC     90001047880
52B96794242335   CHRISTINE    MILLRANEY                    GA     90009187942
52B9744125B531   MARY         GARCIA                       NM     90013934412
52B9747A87B632   ANGELA       WILSON                       GA     90000764708
52B9774635B387   SHUNTESHIA   HART                         OR     44506037463
52B97A1357B632   ANGELA       WILSON                       GA     90012310135
52B98152284357   FELICIA      COSTA                        SC     90015291522
52B98828991587   LORENA       GONSALEZ                     TX     75082768289
52B989A9384357   WILLIAM      VELIZ                        SC     90010909093
52B99196457157   JOHN         WATTS                        VA     90014741964
52B99225493724   GEORGETTE    BATES                        OH     90012212254
52B99255861973   MARIO        DOVAL                        CA     46029652558
52B9948345715B   AMBER        PRUITT                       VA     90006564834
52B998A575B531   CHAMELEON    PCS                          NM     35003668057
52B99934384373   MARIELI      HOLMES                       SC     90013239343
52B99975684357   BARBARA      SIMMONS                      SC     90011409756
52B9B238342335   CODY         LAMONT                       GA     90011322383
52B9B28945B399   MAKO         PETERSON                     OR     90015102894
52B9B48974B521   SANTIAGO     PUAC                         OK     90006804897
52B9B578484357   LAKISHIA     SMITH                        SC     90014895784
52B9B782A72B49   RICHARD      STITT                        CO     90013157820
52B9BA38791587   LAURA        ZAMARRIPA                    TX     90013950387
52BB1223A72B27   CHARLES      DOTHAGE                      CO     90011622230
52BB1573161975   REBECCA      LOMU                         CA     46098015731
52BB1672471964   MARCELINO    MARTINEZ                     CO     32091206724
52BB249A361973   ARLENE       HUEVO                        CA     90000754903
52BB292215B399   JASMINE      MCKAY-WHITNEY                OR     90009919221
52BB3148124B7B   MAMO         KUMILACHEW                   VA     90012721481
52BB346575B283   JENNIFER     MICHEL                       KY     68057354657
52BB369184B521   AMBER        ESTRADA                      OK     90014166918
52BB3A65A72B88   ANGELICA     CANDIA                       CO     33013200650
52BB431435B393   MITCHELL     BROOKS                       OR     44591193143
52BB4349A61965   ANDREW       VEGA                         CA     90014743490
52BB456824B28B   MARK         KAWAMURA                     NE     26015125682
52BB46A6293724   ELIZABETH    CHRISTMAN                    OH     90006036062
52BB473245758B   JOHN         DOE                          NM     90011427324
52BB4A86393724   ZANA         WHEELER                      OH     90014030863
52BB5937661971   MARIA        HALL                         CA     46072739376
52BB6718471964   SARAH        YOUNG                        CO     90002387184
52BB6A5294B28B   APRIL        BARTON                       NE     90005200529
52BB7555A91895   CHANTEL      TERRY                        OK     90004345550
52BB76A8533699   CARLOS       BULL                         NC     90014806085
52BB7843A5B387   BRENDA       HEART                        OR     90015608430
52BB786217192B   ELIZA        REYES                        CO     90010498621
52BB7A99591587   ARGELIA      ARVIZO                       TX     90012260995
52BB84A8161971   PRINCESE     LACHERL                      CA     46066804081
52BB86A225B399   HEATHER      RANGEL                       OR     44566496022
52BB8838584373   ANTONIO      GREEN                        SC     90006978385
52BB8919561965   YOLANDA      MENJAREZ                     CA     46026879195
52BB91A2357157   DENISE       SOUTHERLAND                  VA     90011281023
52BB953565758B   VALERIE      GARCIA                       NM     35509675356
52BB988558B169   CATRINA      AIYANA                       UT     90009368855
52BBB888661975   DANIEL       ENRIQUEZ                     CA     90009708886
52BBB961272B36   MONIQUE      GARCIA                       CO     33008489612
5311169A161975   ROBERT       KYLE                         CA     46061066901
53111A39572B98   JAMES        SANGER                       CO     33023900395
531126A862563B   PERECIOUS    VINSON                       AL     90014306086
5311333AA91587   VICTOR       TAPIA                        TX     90013483300
5311367295758B   MYRIAM       ENRIQUEZ CAMPO               NM     90014056729
5311382124B521   KRISTINA     SWINDLE                      OK     21557778212
53113A88A5B393   HOLLY        LINDSTROM                    OR     90000800880
53114966172B36   SHANE        GRASSER                      CO     90011369661
53114A1582B27B   JOSEPH       NWANCHA                      DC     90011870158
531156A1473268   GARY         MORTON                       NJ     90012306014
53116AA9672B49   ABDIEL       HERNNADEZ                    CO     33048880096
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53118336A5B387   STICKS       JONES                        OR     44552913360
5311874492B27B   GERALDINE    CLAY                         DC     90007837449
53118A72972B67   JESUS        VILLADA                      CO     33081300729
53119133998B2B   PATRICIA     CRUZ                         NC     90005801339
5311937884B28B   SERENA       SCHLICKER                    NE     26086083788
5311937A35B393   MOISES       BRAVO                        OR     90013953703
5311937A45B399   SHAWN        WILSON                       OR     90004183704
5311B43655B271   CEDRICK      GRIFFIN                      KY     90004394365
5311B724A5B399   MAURIECO     CAMACHO                      OR     90007197240
5312179457242B   PERCY        MOORE                        PA     90015117945
531219AAA71964   ALEX         GROSS                        CO     90012859000
5312251594B28B   MISTY        HAYES                        NE     90012715159
53122797372B36   ALEX         MARTINEZ                     CO     90012697973
53122A5867242B   JENNIFER     HIGBEE                       PA     90015160586
53122A94191534   AMPARO       VARGAS                       TX     90014200941
5312314692B27B   DARIYAH      GREEN                        VA     90012591469
531234A955758B   VIVIANNA     SHAW                         NM     90012374095
5312363844B588   WILSON       MORALES                      OK     90014996384
5312373372B29B   MARTIN       ALEMAN                       DC     90006407337
53123796A8B169   MEGAN        WALLACE                      UT     90010917960
5312451A68B169   JOSE         ANTONIO                      UT     90012885106
5312452A233696   KASEY        BAKER                        NC     90012385202
5312482955B271   JEFFERY      TAYLOR                       KY     90008428295
53124927772B36   ISRAEL       RAMOS                        CO     90015069277
53125174A5B393   BRAD         SNELL                        OR     90010811740
531257A424B588   LEHMAN       BOYCE                        OK     90001327042
53125AA2676B75   COBI         ESPINO                       CA     90012910026
5312675A672B43   CABALLERO    MARIA DEL CARMEN             CO     33054877506
53126A7764B521   BRANDON      RUTH                         OK     90007020776
5312711A133696   STEPHANIE    TUTT                         NC     90013471101
5312724725B399   SCOTT        BENSON                       OR     44519892472
531274A1772B49   ROBERT       GRAVELLE                     CO     90011994017
53127A77733699   JOHN-MORRO   SMITH                        NC     90012310777
53129584176B75   ALONDRA      NAVARRETE                    CA     90012435841
53129A81733699   LINA         LANGIRIK                     NC     90014690817
5312B129472B36   GREGORY      SANCHEZ                      CO     90011001294
5312B351433696   DESMEION     KENNEDY                      NC     90010733514
5312B7A4A5B399   ROSA         MCFADDEN                     OR     90009687040
53131614472B43   GARY         JOHN                         CO     90013376144
5313224A761975   ISELA        GONSALEZ                     CA     90010422407
5313235A77242B   JEWEL        NEWHOUSE                     PA     90007033507
5313238A54B28B   TRACI        YRLE                         NE     26061063805
5313295927B46B   MARIA        POSADA                       NC     11053669592
5313336667B46B   RONALD       PAZ                          NC     90013053666
5313416815B531   ALVINA       GONZALES                     NM     90014091681
53134282972B49   GEORGE       HOLM                         CO     90012822829
531346A437B46B   JENNIFER     QUESENBERRY                  NC     90008626043
53134A6358B169   MISTY        WATSON                       UT     90014630635
531358A5833696   DUSTIN       MAYNARD                      NC     90013348058
5313623A65B387   ERICK        MONTGOMERY                   OR     90014812306
5313638534B28B   SAMIA        GAMIE                        NE     90008433853
531367A6872B36   STEPHANIE    YANKTON                      CO     33010207068
5313742827242B   SCOTT        SCHULTZ                      PA     90012824282
5313755395B399   AMBER        CENTZ                        OR     90014145539
531375A587B46B   WILLIAM      BAKER                        NC     90010425058
531378A7A2B27B   SHANEKA      JONES                        DC     81013828070
53138451972B43   JAMES        BURGOS                       CO     90015274519
5313923717B385   TAMMY        COX                          VA     90001412371
5313B316191534   OSCAR        ORTEGA                       NM     75095533161
5313B343333699   REGINALD     PEARSON                      NC     90015483433
5313B65A698B2B   ELDA         GOMEZ                        NC     90013786506
53141467372B43   JOHN         BUSS                         CO     33055504673
5314197A672B67   KENDALL      PETERSON                     CO     90007309706
53142598272B67   LORRAINE     RUIZ                         CO     90003245982
5314281635B531   SHAWNDA      WADE                         NM     90011238163
5314299A385928   CHANDA       HARWELL                      KY     90012079903
5314394635758B   BALTAZAR     MENDOZA                      NM     35578149463
53143A54891534   SUSAN        PEREZ                        TX     75058920548
53144633A91895   LUIS         MARTINEZ                     OK     90003706330
53144A76351348   TYRONE       FERRELL                      OH     90015110763
53145266A5B387   QUINN        MICHAELS                     OR     90014382660
53145318A55959   PRUNEDA      MARTINEZ                     CA     90012533180
5314617657242B   BRANDON      GIBBONS                      PA     90004921765
53146A69161975   ELENA        MONTEMAYOR                   CA     90005280691
5314827214B28B   SAMANTHA     BROWN                        NE     90009262721
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5314853A143569   JAMIE               PEDEN                 UT     31060025301
5314921AA4B28B   NICHOLAS            CANNADY               NE     90012192100
5314947635B531   PAUL                BALLOU                NM     90010654763
5314B2A7A5758B   LIAN                PU                    NM     90011052070
5314B463291587   JESSICA             HERRERA               TX     90013384632
5314B668661971   CHRISTINA           CRUZ                  CA     90011566686
5314B893357157   SANDRA H            THURSTON              VA     90014518933
5315111175B387   SAMUEL              SESAY                 OR     90013381117
531517A1155928   PATTI               BIBB                  CA     90006737011
5315198A572B77   JAVIER              VARGAS                CO     33075449805
53151A45833696   ERIKA               ELDRIDGE              NC     12008930458
53151AA4472B36   RENEE               MITCHEM               CO     33052070044
53152855372B49   ABIGAIL             SEREMET               CO     33049648553
531535A373B381   RICHARD             WAND                  CO     90003845037
53153834472B43   ALEXUS              GARCIA                CO     90007918344
53153A5787242B   JAMYSHIA            WILLIAMS              PA     90014580578
53154418A5715B   HECTOR              BUSTAMANTE            VA     90006344180
53154AAA161971   GLORIA              LEYVA                 CA     46091050001
53155362972B36   ANA LILIA           PILLADO               CO     90009393629
531553A7961971   ADOLFO              MUNOZ                 CA     46051333079
5315573862563B   TAMMY               GUFFY                 AL     90015327386
53155835A24B7B   SILVIA              MENDEZ                MD     90010138350
53155886876B75   ROSALVA             LACHA                 CA     46092948868
531558AA18B169   DARREN              HORNYAK               UT     90011418001
53155A17372B77   ANGELICA            SARAGOSA              CO     90002880173
53155A9777B496   KAREN               MUNDY                 NC     90007730977
5315719A743569   JACOB               WARREN                UT     90015471907
53157468A91895   EMMA                HART                  OK     90013294680
5315762127B46B   RODERICK            FISHER                NC     90009536212
5315773535758B   MANNY               TREVIZO               NM     90002287353
5315791775B543   ALEJANDRA           CARRASCO-HERNANDEZ    NM     35087199177
5315794567B46B   DIANNE              JACKSON               NC     90014789456
53157991372B36   ERICK               LOPEZ                 CO     90012939913
53157A19255959   ALEJANDRO           FARICIO               CA     90012820192
5315866285B531   MICHAEL             SON                   NM     90002646628
5315869195B393   TERESA              RAMOS                 OR     90000826919
5315889A47B46B   DAVONN              PIERRE ROSE           NC     90014068904
5315937353B399   ALINDA              SALMANS               CO     90000313735
531599A555715B   NINBAKUHIT          NAHED                 VA     90006829055
5315B135661836   PAYGO               IVR ACTIVATION        IL     90010231356
5315B162351348   EVELYN              THARP                 OH     90013201623
5315B433657157   MONICA              PETERSON              VA     90013144336
5315B61577B46B   TAQUIN              BROWN                 NC     11093986157
53161121776B75   SERGIO              SANCHEZ               CA     90013931217
5316117635758B   ALVENITA            CANO                  NM     35559381763
5316176A75B399   HAROLD              GASKIN                OR     44519907607
53161969A5B393   EVELIA              CORTES                OR     44509119690
5316277918B169   CHRISTEPHER SHAWN   LINN                  UT     90014167791
53162A3335B393   SANTANA             BROCA-BURELO          OR     44549570333
53162AAA943569   JOEL                WRIGHT                UT     90015050009
5316374935758B   OLIVIA              CANAS                 NM     90014337493
53163839672B49   EMALEE              TYRELL                CO     90013438396
5316471985715B   ELMER               SANDOVAL              VA     90004577198
531649A9231428   FRANCIS             MPIA                  MO     27565049092
53164A62471964   MICHAEL             AMIOTT                CO     90002180624
531651AA74B588   STEPHEN             LEE                   OK     90000571007
53165565672B98   ARACELI             LOPEZ                 CO     33002775656
53165855372B49   ABIGAIL             SEREMET               CO     33049648553
5316611915B393   JULIETA             RAMIREZ               OR     90000801191
53166485A84357   LATITE              HIPP                  SC     90010684850
5316692787242B   CODY                PATTON                PA     90013879278
53166AA5A55959   LORENZO             HOLGUIN               CA     90015160050
53167619376B75   DIDLER              DUNATIE               CA     90013846193
531677A927242B   WENDY               GALLAGHER             PA     90015487092
5316811197B46B   TRINAE              PERRY                 NC     11019791119
5316826998B169   MICHAEL             LEDESMA               UT     90012732699
5316847844B588   SHATARA             BRADLEY               OK     90010114784
5316878425715B   KAREN               MCKEON                VA     90010727842
53168948A5B271   WENDY               ROBERSON              KY     90002169480
5316B16A371964   SEAN                HAWLEY                CO     90012101603
5316B474591895   LATEESCH            CORNER                OK     21095944745
5316B91645B531   DELFINA             CASTILLO              NM     35085149164
5316B944A7242B   RUTH                WORKMAN               PA     51078929440
5316B9A3461971   LESTER              STANLEY               CA     46071769034
5317111888B169   JESSICA             STOKES                UT     90012661188
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53171745972B49   LUIS          NAVARO                      CO     90014847459
53171814572B49   BRENDA        IBARRA                      CO     90013998145
53171A22855959   ADRIAN        LARA                        CA     90012540228
53171A3754B588   VALARIE       DAMAS                       OK     21514530375
5317272A272B27   BRITTINI      TYSON                       CO     90015207202
53172A58261975   ALAN          NEELEY                      CA     90014890582
53173192A4B28B   ALEXANDRIA    THREATS                     NE     90010031920
53173456472B49   MARIA         RODRIGUEZ                   CO     33075414564
5317351957B46B   JOYCE         GIBBY                       NC     11046425195
53173A51871964   LORRAINE      COBB                        CO     90008620518
531747A614B28B   SHELLY        BRUNING                     NE     26021417061
53174844A84373   INEZ          HUDSON                      SC     19039518440
5317631635758B   RICHARD       SANCHEZ                     NM     90010103163
53176419672B43   VICTOR        SANDOVAL-GUTIERREZ          CO     90001374196
5317648A35715B   SERENA        REYNOLDS                    VA     90011314803
53176751A31425   SHAUNIQUA     WILLIAMS                    MO     27503107510
5317736A64B28B   LAVONE        MEAD                        NE     90010563606
53177946A8B169   MELANIE       MIZE                        UT     31009799460
53178469176B75   SERGIO        TORES                       CA     46038454691
5317859A771964   ASHLEY        AUNCHMAN                    CO     32077635907
5317882945B531   SHERI         PARRA                       NM     90013678294
53178A23A84357   SHELBY        MAKUCH                      SC     90014720230
53179124972B67   RAYMOND       MCKEACHIE                   CO     90008441249
5317926654B28B   JAN           GALITZ                      NE     26089332665
53179A97393724   JACQUELINE    EVANS                       OH     90015020973
53179A9A876B75   GABRIELA      GUTIERES                    CA     46026990908
5317B367A8B169   DURAN         CHRISTINA                   UT     31074453670
5317B667155959   STEPHANIE     GONZALEZ                    CA     48067176671
5317B855972B49   CHRISTOPHER   NEHRING                     CO     90005678559
5318158A25B393   ROBERT        GONZALEZ                    OR     44587945802
53181616724B7B   DENARD        NORRIS                      DC     90014756167
531817A995B399   KIM           KRANINGER                   OR     44545317099
5318225AA72B43   LINDA         BOGNER                      CO     90011152500
53182A82A61971   TARIK         HUSSEIN                     CA     90013400820
53184842A4B28B   LAMONICA      YBARRA                      NE     90001518420
53184877672B27   MARISSA       VILLESCAS                   CO     33097658776
53184965A72B36   MURRAY        TYLER                       CO     33065469650
5318534944B588   MARIA         PEREZ                       OK     90015043494
53185972476B75   VICTOR        SOLIS                       CA     46029149724
5318634944B588   MARIA         PEREZ                       OK     90015043494
5318734944B588   MARIA         PEREZ                       OK     90015043494
53187652672B43   AMBER         MONDRAGON                   CO     90008736526
53187A1895B561   MARISSA       GONZALES                    NM     35007140189
53187A77661973   RANDY         KURZMAUL                    CA     90012000776
5318824285B543   STACEY        CARRILLO                    NM     35088652428
531887A4193724   REBECCA       BACK                        OH     90015027041
5318961A372B27   MARIO         NAVA                        CO     90005216103
53189633472B36   PARTIDA       RUBEN                       CO     33058876334
53189876172B67   JOSE          RIVAS ISRAEL                CO     33062198761
53189959A33696   CHRISTINA     SMITH                       NC     90004289590
53189A7155B393   CHRISTOPHE    HAMMERSMITH                 OR     44534240715
5318B727371964   BRITTANY      WILLIAMS                    CO     90014657273
5318B814633699   THOMAS        CHISHOLM                    NC     12014258146
5318B955A5758B   PEDRO         ZEPEDA                      NM     90013829550
5318BA23A84357   SHELBY        MAKUCH                      SC     90014720230
53191532A61975   IVAN          VASQUEZ                     CA     46006505320
5319282A25B387   JOSE          CORTES                      OR     44538058202
531931A8357157   VICTOR        TORRES                      VA     90014651083
5319396997B46B   ROBERT        TORRES                      NC     90013189699
5319452832B27B   DEMETRIUS     HAMM                        DC     90001415283
53195312A57157   MACIA         MOORE                       DC     90008343120
531959A6985928   WEATHERS      MELODIE                     KY     90010609069
53195A5778B169   CESAR         MEJIA                       UT     90014170577
53195A8A151348   DAVENPORT     SHALONNA                    OH     66014440801
53196162498B2B   VERONICA      MARTINEZ                    NC     11040581624
531961A524B241   ROBERT        BLACK                       NE     27084281052
5319621974B588   ELIZABETH     BROWN                       OK     21506592197
53197928672B27   JOHN          SEGURA                      CO     33047449286
5319798542B948   SOCORRO       SANDOVAL                    CA     90009839854
5319839654B28B   NYANUAK       KONE                        NE     90012093965
5319853645B393   BRANDON       DELKER                      OR     90013975364
53198553272B27   BERNADETTE    JOHNSON                     CO     90011955532
53198613A2B869   DAWN          VANHOCK                     ID     90002446130
5319874755B399   NATHAN        VILLALOBS                   OR     90005427475
53199224198B27   TEMIKA        TERRELL                     NC     90014372241
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5319967828B145   TERRELL      BODILY                       UT     31044266782
5319B499655959   JANET        CORTEZ                       CA     90013714996
5319BA42161973   RACHEL       ESCAMILLA                    CA     90014830421
531B132918B169   RODOLFO      TREJO                        UT     31018463291
531B1653172B49   JUAN         REYES                        CO     33078266531
531B1687A71964   ALICIA       ABRAM                        CO     90014696870
531B1A77833696   TISHA        MARSHALL                     NC     12043580778
531B227398B169   PATTY        OWENS                        UT     31047192739
531B282755715B   KHATERINE    HERRERA                      VA     90014118275
531B28A3A72B49   NORMA        VARELA                       CO     90011488030
531B325785B399   GREGORY      DUPRE                        OR     90014202578
531B3523572B36   DAWN         DUNN                         CO     90010325235
531B3688655959   YULIANA      CORTES                       CA     90007226886
531B3764271964   CHRISTINA    MOORE                        CO     90009597642
531B4262255959   MARIA        MORENO                       CA     48095442622
531B4469972B49   JUAN         ROBLES                       CO     33048304699
531B5186872B27   JORGE        NORIEGA                      CO     90011111868
531B529248B169   ANTONIO      LORENZO                      UT     90013592924
531B532217242B   SHANE        SWOPE                        PA     90013813221
531B53AAA5B531   SERGIO       GONZALEZ-OREA                NM     90014923000
531B5444557157   EDDIE        SORTO                        VA     81079344445
531B5488572B43   LEONA        ORTEGA                       CO     33031044885
531B5911955959   MELANIE      PENA                         CA     90010029119
531B624294B28B   JOEY         NOISE                        NE     90011292429
531B6477185928   JOHN         ROCKWELL                     KY     90013284771
531B6A98172B36   REFUGIO      ARMENDARIZ                   CO     33032720981
531B756668B169   PENNY        LAWRENCE                     UT     31069485666
531B8168943569   ARYIANNA     MCKIDDEN                     UT     90013861689
531B8571357131   RENE         RIVAS                        DC     81016605713
531B873635715B   CAZAVA       EASTERLING                   VA     90002667363
531B93A1471964   GEORGE       BENNETT                      CO     90001423014
531B942725593B   JERI         URREA                        CA     90000964272
531B9588A5758B   SANDRA       TRUJILLO                     NM     90002455880
531B9764372B67   PAREDES      ELVIA                        CO     33035857643
531BB291791587   MONICA       SOSA                         TX     90013482917
531BB357A72B49   BRAIN        LOVE                         CO     90009713570
531BB513172B27   BRENT        HALL                         CO     33080635131
531BB534A91534   ANDREA       CALSADILLAS                  NM     90013965340
531BB71A67B46B   ORVILIO      ARCIA                        NC     90013177106
53211534772B43   GUADALUPE    RODRUIGUEZ                   CO     90007485347
53211A57951348   LISHA        MORRIS                       OH     90014620579
53212299272B49   JAMES        HERRING                      CO     90007582992
5321237A65758B   ELVA         REZA                         NM     90011383706
53212A56872B27   GUADALUPE    BARRON                       CO     33002280568
5321326693B388   VALERIYA     SHLYGINA                     CO     90007982669
5321343115758B   JOSEFINA     ESTRADA                      NM     90012054311
53213625A5B531   ANTHONY      ROST                         NM     90010766250
5321383968B169   JOHNATHON    HOKE                         UT     31059068396
53213A4494B28B   JEREMY       BIKAH BI NGUEMAE             NE     26078630449
53213A4838B12B   JOHN         LARSEN                       UT     31087020483
5321474785B387   JOORI        ALI HASSAN                   OR     44597657478
5321518475B399   JANET        LARA                         OR     44571431847
53216785A7242B   WALTER       CABLE                        PA     90007507850
5321761782B27B   SHAUN        ROBINSON                     DC     90015276178
5321781897B46B   MICHEL       GANTT                        NC     90011088189
5321832455B393   MICHELLE     ROBINS                       OR     44515783245
5321896596198B   LOURDES      CELAYA                       CA     90010899659
53218967533B26   JOHN         VAZQUEZ                      OH     90014489675
532191A768B169   CASSIE KAY   MARK                         UT     90014181076
53219269872B43   JOSE         CRUZ                         CO     33039762698
5321B5A9463657   BRENDA       FEELER                       MO     90004225094
5321B627461975   JACKIE       GARCIA                       CA     90005306274
5321B66717B46B   JERMALE      WHITE                        NC     90009746671
53221759472B43   FELIX        ORTEGA                       CO     33062307594
5322212A58B169   RANDY        TINGEY                       UT     90014181205
53222533A61971   MARTIN       PONCE                        CA     46040235330
5322259A391895   GLENNA       PARKMAN                      OK     90010605903
53223476572B31   AMY          LANYON                       CO     90012014765
5322417915B393   STEPHANIN    SCOTT                        OR     90012911791
5322423777B46B   SY DELOY     DELOY                        NC     90011202377
5322435A951348   HEATHER      WATSON                       OH     90008853509
532245A585B283   RAUDEL       VIGO                         KY     68012405058
53224864A5B531   BRIAN        LOWERY                       NM     35017008640
53225154A91587   HERIBERTO    BETANCES                     TX     90012451540
5322535575B531   DANIEL       BOLEY                        NM     90007383557
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532257A557B46B   ERICA         SWINNEY                     NC     90011947055
53225A55651367   LAURA A       BINGLE                      OH     66066120556
53225A69261975   MARGARITA     SANTOS                      CA     90012240692
53225AA8972B43   DANNA         STALLINS                    CO     90004150089
5322633977B46B   LATARSHA      TILLMAN                     NC     11058093397
53226579972B49   ANTUNEZ       CLAUDIA                     CO     90000685799
5322678585B387   ROGER         GIFFIN                      OR     44509317858
53226922372B67   SHARON        BYCE                        CO     33035479223
532272A1271964   LISA          GONZALES                    CO     90009822012
53227533A91534   SYLVIA        MULLER                      TX     75091645330
53227949772B27   MARLON        ALDAZ                       CO     33041119497
53228124472B43   BREZINSKI     BRITANY                     CO     90010401244
532281A2661973   CONSTANCE     DEMBY                       CA     46095671026
5322824922B27B   SHAKIA        TRACY                       DC     90011422492
53228286598B2B   CORNELIA      CAMPBELL                    NC     90013252865
5322843465B387   MISSY         TAE                         OR     90011614346
53228A68691534   JAIME         ARREDONDO                   TX     90013360686
5322953A143569   FORSGREEN     TREESA                      UT     31018215301
5322B37635715B   AKBAR         SIDDIQUI                    VA     90004323763
5322B599285928   DAEL          MALLORY                     KY     90012035992
5322B75A291587   ALONZO        ORTIZ                       TX     90013487502
5322B824A5758B   ASHLEY        ALBILLAR                    NM     90006318240
53231551172B43   TORRES        JOSE                        CO     33090495511
5323157A65B543   STEPHEN       ESCALANTE                   NM     35084065706
5323187A293724   ERICA         THOMPSON                    OH     64500188702
532319A8261966   JONI          BARKER                      CA     90005919082
53232231376B75   ELSA          AQUINO                      CA     46022502313
5323236665B38B   SARAH         MARZOUK                     OR     90007023666
532323A175B387   HODA          BEIKVERDILOO                OR     90014903017
5323264A761971   AIOTEST1      DONOTTOUCH                  CA     90015116407
532326A6272B77   SHANNON       SHINGLETON                  CO     90003156062
5323296185B531   PETER         RAPSTINE                    NM     90014429618
5323296A593724   CHASE         DIXON                       OH     90008569605
532329AA531425   JONES         DRUMMOND                    MO     90001429005
53232AA618B169   ED            VOIGT                       UT     90012220061
53233518A43522   MICHAEL       GRIMES                      UT     31001025180
53233A99285928   BRIGITTE      POWELL                      KY     67016720992
53234151A72B25   GABRIELA      ORTIZ                       CO     90002281510
5323485354B251   HEATHER       SCHOON                      NE     90004448535
53234963172B67   JOSE          SANCHEZ                     CO     33002809631
5323556275B531   JOSHUA        ABEITA                      NM     35056345627
5323612A58B169   RANDY         TINGEY                      UT     90014181205
53236186672B43   JOHN          KEYS                        CO     90003311866
5323638875B531   RICHARD       GALLEGOS                    NM     90011873887
5323666A861975   SARAYA        MORELANDL                   CA     90004296608
5323716385B393   CINDY         RUTHERFORD                  OR     90015121638
5323733A261971   CLOVER        ERICSON                     CA     90003903302
53237475576B75   JAGGER        HANSON                      CA     90009424755
53237499A91895   JUAN          AGUIRRE                     OK     21017804990
53237571A91534   ROCIO         RODRIGUEZ                   TX     75090005710
53237868472B43   RAUL          BALDERRAMA                  CO     90000458684
5323886A15B543   JOSEPH        MONTOYA                     NM     90005138601
53239795976B59   JOSE          VILLANUEVA                  CA     90015127959
5323B5AAA43569   JESS          HERBERT                     UT     31010875000
5323B862872B88   SHAUNNA       BISHOP                      CO     33017918628
53241124872B67   ANDREW        CLYDE                       CO     33094281248
53242525272B25   JAMIE         JIMENEZ                     CO     90010525252
5324286365715B   JACQUELENE    RICE                        VA     90011128636
5324287A15B543   MARIA         FREER                       NM     35034728701
5324292165B399   VIRGIL        LUCERO                      OR     44582109216
5324296787B631   JEFFERY       MCBRIDE II                  GA     90011659678
53242A1162B27B   CHRISTOPHER   DANIELS                     DC     90014740116
53243152776B75   GINA          SEASHORE                    CA     90002621527
53243A85643569   STOSH         JONES                       UT     90012690856
53244A61743569   CHRISTINA     BISCHOFF                    UT     90005510617
53245214572B27   TIFFINI       CHAMPMEN                    CO     33074252145
5324541A191587   MARTHA        SUBIA                       TX     75063054101
53245618127B3B   VULYNCIA      POINDEXTER                  KY     90006326181
53245925572B43   TINA          JARAMILLO                   CO     90014739255
532459A3585928   AUDREY        MONDAY                      KY     90010989035
53245A35555959   DAISY         AREVALO                     CA     90013090355
53246121698B2B   JOSE          LOPEZ                       NC     90005821216
53246371A5B387   BLANCA        GONZALES-ALLEN              OR     44506823710
53246A99484357   RICHARD       SNOWTEN                     SC     90007260994
5324733775B393   MICHAEL       MASKELL                     OR     90014243377
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5324828975B393   PATRICIA     DELGADO PULIDO               OR     90015202897
53248384A72B49   PAULA        BOWMAN                       CO     90001613840
53248445A33669   LATASHA      POTTER                       NC     90014924450
532485A674B521   SHEANTA      NETTLES                      OK     90007045067
532493A6672B36   MARIA        MENDOZA                      CO     90012873066
53249AA8961971   JENNIFER     KENNISTON                    CA     90012340089
5324B139A91895   SUSANNA      ZAMORA                       OK     90012611390
5324B328993724   DENISE       HAYES                        OH     90011243289
5324B45495B393   DUSTIN       KIRK                         OR     90013954549
5324B777557143   PAUL         WEIDHAS                      VA     90013627775
5324B891161975   MARGARITA    GARCIA-MOREIRA               CA     90004918911
5324B95575715B   CARMEN       GOMEZ                        VA     90005359557
53251156A98B2B   NORA         ESCOBAR                      NC     90005821560
532516A2871964   RANDI        DUNHAM                       CO     32092666028
532519A518B169   ANDREA       KAHN                         UT     90006209051
532519A615B387   KRISTEN      BAKER                        OR     90009809061
532528A6561973   STEPHANIE    MURGUIA                      CA     90012638065
53252A3625B399   SISMAI       GUERRA                       OR     90013740362
53253425A61971   SHARON       WASHINGTON                   CA     90012634250
53253468172B27   CAROL        SHARPE                       CO     90005614681
5325391365715B   ZEFERINO     REBOLLAR                     VA     90004349136
53253AAAA5758B   PERCILA      REYES                        NM     90010010000
53254151672B67   JENNIFER     RUBY                         CO     33062201516
53254231672B77   MICHAEL      JOHNSON                      CO     33069152316
5325534737B46B   JAQUETTA     FUNDERBURK                   NC     90014563473
5325539A54B588   DANIEL       BROOKS                       OK     90015053905
53255A55272B27   KANE         FRENCH                       CO     33011030552
5325615245758B   THOMAS       HOLGUIN                      NM     35592441524
53256363A55959   EMANUEL      MORENO                       CA     90012543630
532564A6891534   VERONICA     MARQUEZ                      TX     75076624068
5325671A55B338   AMBER        SHAW                         OR     90007957105
5325689224B28B   MICHELE      LIEBERG                      NE     90013018922
53257569A61973   GERARDO      TORRES                       CA     90013475690
53257638A43569   NORMA        VILLANUEVA                   UT     31014696380
5325769795B387   ALEJANDRA    HERNANDEZ                    OR     90010526979
532581A3991534   RAUL         LOPEZ                        TX     75091231039
53258594972B88   JOHN         BEAVER LLL                   CO     33015235949
5325862324B588   RONDA        MENDOZA                      OK     90006486232
53259379672B49   ALFONSO      CONTRERAS                    CO     90013983796
5325B14845B387   ALEJANDRO    GUZMAN                       OR     44568231484
5325B183761975   SELENE       FASSO                        CA     46055681837
5325B52885758B   CRISTINA     LOYA                         NM     90014175288
5325B79344B588   JAKE         JOLLIFF                      OK     90015207934
5325B899493724   CHRISTOPHR   BROWN                        OH     64543008994
53261422972B43   MANUEL       ARAGON                       CO     33085114229
53261898927B3B   TIERRA       BURRUS                       KY     90001088989
5326236798B169   ROXANNE      STACK                        UT     90001543679
5326264783B332   ALMA         TORRES                       CO     90013646478
5326264A74B521   LORI         DAVIS                        OK     90007046407
5326334368B169   RANDY        TINGEY                       UT     90014183436
5326367515B387   COLLETE      STRAUB                       OR     44506826751
532636A737242B   LISA         CHELLMAN                     PA     90011056073
53263799A91534   ZAHRA        KEYVAN                       TX     90010067990
5326428574B588   ESTELA       DEZHA                        OK     90012612857
5326463257B46B   CHARLA       MOORE                        NC     90000716325
5326472824B28B   SASHA        DORWART                      NE     90005127282
53264757672B43   JENNA        BEAULIEU                     CO     33067087576
53264A78776B75   BLANCA       GONZALEZ                     CA     90008100787
5326521855B399   RICCI        MCCONNELL-HEGLAND            OR     90013832185
53265395A76B75   JEREMY       GREGSON                      CA     46029463950
5326544455758B   ERICA        RAMIREZ                      NM     90011954445
53266167A43569   TASHA        HOWARD                       UT     90013551670
5326677952B27B   SHAYONA      BRAWNER                      DC     90014727795
5326778595715B   MARITZA      BARRERAS                     VA     90010677859
53268514676B75   LORI         WALKINGTON                   CA     46001235146
53268527A57157   TANIA        RODRIGUEZ                    VA     90014935270
5326866A65B999   ELAINE       DESCHANE                     WA     90014746606
5326869484B588   MELISSA      BRISTOW                      OK     21542636948
5326885134B28B   CLARK        WEAVER                       NE     90004868513
5326887A161973   LUCIA        RINCON                       CA     90011198701
53268A62431429   CURTISTINE   FOSTER                       MO     27572610624
532696A325B399   CANDACE      SCHULDEN                     OR     90012336032
53269986976B75   JORGE        SILVA                        CA     46026929869
5326998834B251   LISA         ABRAHAM                      NE     90012849883
5326B656572B43   JENNIFER     BAGEANT                      CO     33080716565
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5326B877A55959   CARLOS       HERRERA                      CA     90013988770
5326BA9937242B   DUSTIN       REDMAN                       PA     90013880993
5327152944B588   MUH          MU                           OK     21563495294
5327199224B28B   MICHELLE     PERKINS                      NE     26081289922
53272A7A133699   RONDA        JACKSON                      NC     12044190701
5327413498B164   DANNY        MCCOLLUM                     UT     90007381349
53274533A4B28B   LISA         ORTHENGREN                   NE     90010355330
53274721572B43   JAYLYN       ARMIJO                       CO     90012547215
53274918972B49   TIERRA       RENEE                        CO     90013689189
5327566A14B588   SABRINA      BROWN                        OK     90006486601
53276348372B27   SOPHIA       FONSECA                      CO     90009083483
5327672517B87B   ALAJAH       VASQUEZ                      IN     90015127251
53276A24355959   CRYSTAL      MENDOZA                      CA     90010960243
53276AA655B399   FILIBERTO    RODRIGUEZ                    OR     44535380065
5327727A55B399   STACEY       HETRICK                      OR     44590982705
53277582872B43   JESUS        ROMERO                       NM     90014535828
53277731372B88   PHILLIP      YOUNG                        CO     90005827313
5327818A18B169   SUEANN       SENTER                       UT     31097801801
5327828A984357   SHARMELA     ORR                          SC     90014802809
5327867A17242B   SANDRA       DUNN                         PA     51082926701
5327878475715B   HUMBERTO     GOMEZ                        VA     90011147847
53278929572B88   BEN          AUST                         CO     90006529295
53278A4727B46B   SEQUENA      MORGAN                       NC     90001570472
53279813A5B393   ANGELINA     QUINONES                     OR     90014868130
5327B269991534   NOEL         JIMENEZ                      TX     90010992699
5327B53A65B387   MICHELE      GOLAY                        OR     90006045306
5327B577A91895   VICKI        GURNO                        OK     21036645770
532821A2772B49   LUZ          GARCIA                       CO     33002761027
53282413672B77   JOSE         AGUILAR                      CO     90005984136
5328257574B588   LOTTIE       PILLOIS                      OK     90014215757
532825A9461973   VIVIANA      ESTRADA                      CA     46008545094
532832A415B399   JESSICA      BROOKSHER                    OR     90001872041
532835A9461973   VIVIANA      ESTRADA                      CA     46008545094
5328434737B46B   JAQUETTA     FUNDERBURK                   NC     90014563473
532843A5798B2B   MINDY        MULLIS                       NC     11079873057
5328444A472B27   ERNEST       LEDOUX                       CO     90006674404
5328467127242B   ALEXANDRA    TOKAR                        PA     90012746712
532847A7376B75   JENNIFER     HARRIS                       CA     90014457073
5328496A857157   JULIO        SERRANO                      VA     90011789608
53284A8658B169   DENNIS       HARRIS                       UT     90002120865
53285229272B35   JERRY        WAYNE                        CO     90009292292
5328568595B399   STEPHEN      WEBB                         OR     90005196859
53286443172B43   AMBER        VIGIL                        CO     90013104431
5328698352B27B   TIERRE       BROOKS                       DC     90013699835
5328727355B387   JOSE         ESPARZA                      OR     90015182735
5328749154B221   LEON         LANDRUM                      NE     27028344915
53287A3475B399   GUADALUPE    CHAVEZ                       OR     44518070347
53288985A72B67   TODD         LAFOUNTAIN                   CO     90007319850
5328961854B28B   LACEY        HAMIK                        NE     90004696185
532896A7261973   NATALY       HEREDIA                      CA     46077276072
5328983335B338   ROGELIO      HERNANDEZ                    OR     90008238333
53289A61271923   ANGEL        SEGOVIA                      CO     90011910612
5328B2A4198B2B   ANDY         CLARK                        NC     11061432041
5328B38295B531   CHRISTINA    CANDELARIA                   NM     90008613829
5328B66565B393   KEIVAN       REZAEISADOL                  OR     44584766656
5328B682991534   SEMONE       BEN-BANI                     TX     90014546829
5328B84482B27B   BOOKER T     YELDER JR.                   DC     90011518448
5328B8AA857157   ANGELINA     OSEI                         VA     81009088008
5329128A92B953   ATOUR        BODAGHI                      CA     90009252809
53291356A31428   ORANGE       JANAY                        MO     27509823560
532913A1591534   JUSTIN       MIRELES                      TX     75000853015
5329148764B521   ANGELINE     MOLLEL                       OK     90014884876
5329153235B393   MARLACK      ECHCBARRIG                   OR     44550055323
53291A9285B399   SALINA       PARKS                        OR     44540610928
53292119924B7B   GERARDO      ROMERO                       VA     90005071199
53293986A33699   CURTIS       THOMPSON                     NC     90001679860
5329471444B28B   JESSICA      PESCHEL                      NE     90011957144
532947A745B543   JACLYN       ARMIJO                       NM     90012657074
532949A965B531   GERARDO      SAENZE                       NM     35008049096
5329515A991587   LORENZO      HERNANDEZ                    TX     90013491509
5329523512B27B   MANUEL       NERI                         DC     81024542351
5329582474B28B   VICTOR       CASTILLO                     NE     90013048247
5329583545715B   MANUEL       GARCIA                       VA     90003718354
53295A32433696   BO           OMHH                         NC     90015150324
5329622525B538   DENNIS       DAVIS                        NM     35008572252
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5329635312B27B   CLARK         WATSON                      DC     90014873531
53296667876B75   ESTELLA       BECERRA                     CA     90014386678
5329734887B46B   HOWARD        JOHNSON                     NC     90014563488
532976A8257157   JOSE          ARIAS                       VA     81043806082
5329784A44B525   TROY          MCVAY                       OK     90009628404
532984A9551348   NATASHA       ROLAND                      OH     66072654095
5329941233B338   IDOLINA       CASTILLO                    CO     33042194123
5329B22818B169   CHRISTOPHER   PENA                        UT     90011752281
5329B264A51348   DANIEL        HAMPSON                     OH     66034282640
5329B574372B27   TAMAIGO       WILLIAMS                    CO     90011995743
5329B966393724   JOSH          DAUM                        OH     90015039663
532B1161371964   RANDY         HILL                        CO     90010481613
532B138164B28B   ADRIA         SHELDON                     NE     26065573816
532B15A3361975   KELLY         HOWREY                      CA     90008705033
532B1684861973   YULMA         GUTIERREZ                   CA     46028866848
532B1748961971   MICHELLE      FERRER                      CA     90008037489
532B2565372B67   LUCERO        DAWN                        CO     33089445653
532B261A171964   SAMUEL        ROGERS                      CO     90015126101
532B281573B387   SANDY         STEVESON                    CO     33026298157
532B2A24572B27   MAYRA         OLIVAS                      CO     90000650245
532B2A54257157   TRACY         LOMMEL                      VA     81043460542
532B2AAA157157   RASHEEDA      ABDUR-RASHEED               VA     81026740001
532B3236685928   LASHONDA      GAY                         KY     90014712366
532B3493A93724   CRAIG         METCALF                     OH     64515024930
532B3965A5758B   AGUSTIN       REYES                       NM     35574139650
532B3A92772B43   JOSE          TARIN                       CO     33091430927
532B46A9A8B169   KIM           WELCH                       UT     31077726090
532B474947242B   JUSTIN        PRISTAS                     PA     90013507494
532B4979561921   JESSICA       ALVAREZ                     CA     90009629795
532B5116991885   JOSE          CANO                        OK     90011721169
532B515595B543   KISHAN        RENNICK                     NM     90013681559
532B5359372B27   DERRALL       STROCK                      CO     90014563593
532B5576172B36   MAR           JONES                       CO     33036255761
532B5654361971   EDUARDO       DEVINO                      CA     90009836543
532B5695191587   SHARON        WYNTER                      TX     90013486951
532B5832176B75   SATURNINO     REYES                       CA     46046088321
532B5849361975   RIGOBERTO     TORRES                      CA     90000168493
532B5A61485928   DULCE         TORRES                      KY     90014690614
532B6121276B75   DULCE         REYES                       CA     46031141212
532B623255B393   DENEENE       GEBO                        OR     44547782325
532B6327243569   TERESA        MACIAS                      UT     31023323272
532B6429A91895   LINDZE        ARRINGTON                   OK     90011674290
532B662A572B67   LEONARD       MARTINEZ                    CO     33082466205
532B663A676B75   AIOTEST1      DONOTTOUCH                  CA     90015116306
532B698A88B169   EPPY          HERNANDEZ                   UT     90014289808
532B719975B387   JOSHUA        TRUMBLE                     OR     90014741997
532B722538B169   JENNIFER      ROSSINI                     UT     90014632253
532B7416572B67   ADRIAN        WILKINS                     CO     33061904165
532B799935B399   ASHLEY        BREILAND                    OR     90001879993
532B831917242B   PAUL          WEBB                        PA     51035743191
532B834335758B   NICOLE        CABERERA                    NM     35546433433
532B844AA72B43   MICHAEL       TAYLOR                      CO     90013854400
532B8759671964   REX           DODDE                       CO     90014657596
532B8A24A9136B   STEPHAINE     BRUCE                       KS     90007650240
532B92A865758B   SINTIA        DELATORRE                   NM     90013332086
532B932812B281   EDMOND        BYNUM                       VA     90008173281
532B9973691534   JESSICA       OROPEZA                     TX     90002779736
532BB131255959   LUISA         FLORES                      CA     90015121312
532BB427172B49   VANESSA       SALAZAR                     CO     33027114271
532BB452884373   TERRI         SMITH                       SC     90007364528
532BB771571964   SHANIQUA      EDMONSON                    CO     90014657715
532BB943676B75   ROBETTA       KRUGER                      CA     90014479436
5331132A37B46B   JAMES         CAMPBELL                    NC     90015233203
5331142AA85928   AUDA          LEWIS                       KY     90014154200
533114A8A91534   PRISCILA      BEMBO                       TX     90008194080
5331193557B632   RALPH         SHAVERS                     GA     15037829355
5331262855B283   JULIA         WOOD                        KY     68076426285
5331278642B27B   LEROYA        KEARSE                      DC     90012717864
53312A36361975   JORGE         MARQUEZ                     CA     90001390363
53313277A72B43   LILIA         BEJARANO                    CO     90014822770
5331345947242B   LISA          REDISH                      PA     51063574594
5331379A35715B   JE            ES                          VA     90001167903
53313A6914B521   SHELLY        BACON                       OK     90007060691
53315271172B36   KIRA P        OCONNOR                     CO     90000682711
53317298A72B43   OSCAR         SANTOS                      CO     90013922980
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53317997A71964   JENNIFER        CARLSON                   CO     90012639970
53317A25227B3B   KEWANNA         HOLLOWELL                 KY     90001670252
5331887A23B145   LANARD          GEDDINGS                  DC     90006428702
53318AA6672B49   CIC             COREY                     CO     33038050066
5331924835B399   ELVIS           SMITH                     OR     90013362483
5331936354B587   CIERA           TAYLOR                    OK     90012303635
5331971444B28B   JESSICA         PESCHEL                   NE     90011957144
5331975147242B   ZACHARY         BREEGLE                   PA     90011367514
53319A7535B393   ANJERIE         POWERS                    OR     90014160753
5331B181784373   ERICA           WASHINGTON                SC     19089921817
5331B526472B88   LISA            LUCERO                    CO     33011225264
5331B613976B75   JACQUELINE      MENDEZ                    CA     90011026139
5332164165B387   MELREN          PICHON                    OR     44563026416
53322615A57157   MONIQUE         RUCKER                    VA     90013196150
5332313765B393   STEPHANIE       HURLESS                   OR     44536951376
53323183A4B28B   BRENDA          ADAMS                     NE     90008511830
5332319667B46B   EBONY           GOODE                     NC     90013081966
5332327755B271   HANNAH          DAVIS                     KY     90004152775
5332335AA91534   JORGE           MUNOZ                     TX     90001413500
5332358525B531   DENISE          RUBIO                     NM     35093815852
533236A2861975   DAVID           REYES                     CA     90012956028
53324315872B49   JUAN            CARLOS                    CO     90007583158
5332435A45B531   JOSE            SANDOVALGARCIA            NM     90013593504
53324492972B43   EDWARD          HANCOCK                   CO     33091134929
53324A1464B588   AMANDA          HENDRIX                   OK     21517070146
53326147572B43   JUAN            CARLOS                    CO     33084851475
53326211176B75   MISTY           ESCOBAR                   CA     46011152111
5332638335B543   SHIRLETTE       WATHERSBY                 NM     90004573833
5332696439372B   CARL            UNGER                     OH     90013449643
53326A5465B531   BRANDIE         SAAVEDRA                  NM     35097720546
53326AA1A85944   MELVIN          SWEENEY                   KY     66087640010
53327156576B75   ALFONCE         LOPEZ                     CA     46001651565
533277A565715B   ELDER           PAZ                       VA     81076427056
533278AA872B27   HILES           MASON                     CO     90013858008
5332797495B283   SHERISE         GLENN                     KY     90001879749
53327A8985758B   JESSICA         RODRIGUEZ                 NM     90011930898
5332849955B399   ALEXANDER       TSYTSYN                   OR     90014004995
53328A39172B77   MIRYAM          MENDOZA                   CO     33047380391
53328AA1361975   GERARDO         RAMOS                     CA     90011990013
53328AA4255959   JOSE            VASQUEZ                   CA     90011710042
5332999875B399   GONZALO         FLORES                    OR     90003199987
5332B13A172B36   JASSEN          SMIGAY                    CO     33040641301
5332B259472B67   JOSE            AYALA- JUAREZ             CO     33081302594
5332B487961975   VALERIA         GOMEZ RUIZ                CA     90015114879
5332B613557157   WILLIAM         CHAPMAN                   VA     90013196135
5333167AA51348   DARYL           ELLISON                   OH     90012986700
53331715572B27   TONI            CORDES                    CO     90008867155
53331924A7B46B   KARA            HUNTER                    NC     90014569240
53331A31433699   MARIE           CAMARA                    NC     90013340314
53332463376B75   MARIA ADELINA   MEZA DE JUAREZ            CA     90013954633
53332685A72B43   ANDY            MONTOYA JR                CO     90011186850
5333311765B387   DAIVD           ZIMMERS                   OR     90008331176
53333451672B36   JOSE            ULISES                    CO     33020514516
5333362A27B896   LEE             FORD                      IL     90010146202
53334645A57157   CRYSTAL         MUIR                      VA     90014386450
53335A54A4B922   SHUKIA          BROWN                     TX     90014800540
5333611A372B49   TIANA           NEWMAN                    CO     90012941103
5333613A17B46B   PATRICE         CASIMIR                   NC     90013531301
5333629814B28B   MICHELLE        VIRGIL                    NE     90011602981
53336758A43569   COURTNEY        KEMP                      UT     90013737580
533367A7672B36   MARIA           CARDENAS                  CO     33093477076
5333686564B588   EULA            DEFENDINI                 OK     90012718656
53336915576B75   KRYSTAL         MCKEITHEN                 CA     46055509155
5333712365B387   FARIBA          MOHAMMADI                 OR     90014921236
5333718A991534   ALONSO          RAMOS                     TX     90013971809
5333757547B46B   JACKIE          ALEXAUDER                 NC     11007325754
533377A7171964   GUSTAUVO        TORRES                    CO     32037087071
53337849376B75   IRENE           RODRIGUEZ                 CA     90005048493
53337958872B49   MARIA           HERNANDEZ                 CO     33002209588
533379A6985928   WEATHERS        MELODIE                   KY     90010609069
53338164972B36   VANESSA         GONZALEZ                  CO     33094871649
53338545276B75   DARREN          WILCOX                    CA     46003325452
5333895645B387   NATASHA         HUNTER                    OR     90010109564
53339559972B49   MARTHA          FLORES                    CO     90009325599
5333963995758B   ISRAEL          CARDENAS                  NM     90012746399
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5333976227242B   SAM                VISNOSKY               PA     90011737622
5333B217391895   ERIC               TOLLETTE               OK     21095172173
5333B72745B399   EDGAR              BELTRAN                OR     90009687274
53341421972B49   ELSA               HERNANDEZ              CO     33076934219
53342895A4B588   CHRIS              SYKES                  OK     90015208950
5334447185B393   ROQUE              DIAZ-LOPEZ             OR     90013954718
5334521A62B27B   SABRINA            KEITT                  DC     90011022106
5334582135B387   GERALDINE          LUZAMA                 OR     90014098213
5334689A391535   SERGIO             BACA                   TX     75091658903
53346967A76B75   ADRIANA            RUIZ                   CA     46057389670
53346A54733699   ANAELLY            ELIAS                  NC     90013340547
5334768318166B   KAREN              ROGERS                 MO     90012436831
53347A14291534   RAYMOND            VALLE                  TX     90013020142
53347A6265B393   LAL                GHISING                OR     90011970626
5334859818B169   JASON              GOODRUM                UT     31024185981
533488A2A33699   MONICA             SIMMONS                NC     90011048020
5334898545B387   MELISSA            SILERSMITH             OR     90014229854
5334924488B169   STEVEN             OKEEFE                 UT     31045082448
533493A2361973   MARIA DEL CARMEN   PEREZ                  CA     90009303023
53349654772B49   DAVID              CALDERON               CO     33033736547
53349A12772B77   ESMERALDA          CARBAJAL               CO     33096320127
5334B363A72B49   SARA               SHIRLEY                CO     90013013630
5334B852A61973   SHANTAL            MONTANO                CA     90010658520
5335191895B543   GONZALEZ           JUAN                   NM     90005139189
53351A2885758B   JAVIER             SAENZ                  NM     90001380288
53351A52A72B49   LUCYNA             GEBKA                  CO     90014370520
53352275A57157   SHANICE            DICKENS                VA     90013202750
53353241272B43   FRANK              PENA                   CO     90012492412
533543A868B169   KERRY              ALLRED                 UT     90010013086
53354538A5B531   ROSA               NIETO                  NM     90003875380
53354653A61973   SALVADOR           FLORES                 CA     46006746530
53354922A71964   JOSE               MENDEZ                 CO     90011649220
53354A7A291587   ELISHA             SERCKPOR               TX     90013290702
5335566584B28B   KHALAF             AHWAZ                  NE     26091596658
5335567257242B   MARTIN             WALKER                 PA     90013826725
533557A565715B   ELDER              PAZ                    VA     81076427056
53358962A71964   FRAYNOR            GOMEZ                  CO     90013559620
5335999765B271   CURTIS             STEWART                KY     90002179976
53359A2257242B   JANICE             KOSHINSKY              PA     90011110225
5335B867533699   SHERMAN            BROWN                  NC     90010388675
53362198372B49   JAITAYA            CHEATHAM               CO     90015091983
53362A13571964   YVONE              DEIULIO                CO     90012440135
5336317625715B   OMAR               MONTES                 VA     90011941762
5336338212B27B   PATRICE            FREENCH                DC     81045163821
533636A355B393   TIM                PARKYN                 OR     44587946035
5336392A361975   CANDE              CARRILLO               CA     90003869203
5336517952B27B   ANTHONY            CUNNINGHAM             DC     90005001795
53365441772B36   ANA                MUNIZ                  CO     33081364417
5336666132B27B   TEJUAN             COLEMAN                DC     90011636613
5336674824B588   MARIA              GONZALEZ               OK     90015137482
5336692622B27B   CAROLYN            RAMSEY                 DC     90011409262
53366945A5B387   DAKOTA             SCHROLL                OR     90002089450
53367679A72B77   MARIA              LEDESMA                CO     90005966790
533678A3155959   JENNIFER           DOMENICI               CA     48084288031
53368266472B49   DERRON             SMITH                  CO     90013062664
5336843585B283   JUAN               LUIS                   KY     90004334358
53368988A91895   ISABEL             GONZALEZ               OK     90013929880
5336928464B588   SHIRLEY            SEXTON                 OK     21512502846
533695A7672B43   SAMUEL             VIGIL                  CO     90009645076
5336B568257157   THOMAS             MARSHALL               VA     90013215682
5336B664561975   STEPHANIA          URQUIDEZ               CA     90013476645
5336B786A5B531   BREANNA            ROJO                   NM     90014727860
5337114518B169   RUMALDA            CORDOVA                UT     31053641451
5337124397B46B   SHARDAY            JONES                  NC     11050512439
5337189A161973   LORI               ANDERSON               CA     90002288901
53371AA3891895   LINDSAY            SALISBURY              OK     90013930038
53371AA9872B36   MAYRA              VELAZQUEZ              CO     33095750098
5337219235B393   LEONARD            WINCHESTER             OR     90013221923
5337257975B387   LORRI              ERICKSON               OR     90002485797
5337261835B393   ADONICA            BEAVER                 OR     90014816183
53372631772B67   WESLEY             MAINE                  CO     90007286317
53372779924B7B   TERRENCE           COOPER                 DC     90000897799
53372822A76B75   TARA               BURR                   CA     90014128220
53372A9318B169   LYNN               CHADWELL               UT     90014920931
5337318A831428   LAKITA             STEWART                MO     27561511808
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5337341698B161   MARIO        SAINTINE                     UT     90010024169
5337354A861973   NICHOLAS     DELANESE                     CA     90010265408
533747A615715B   DOUGLAS      PALACIOS                     VA     81087997061
53374874A72B43   JESSICA      NUNEZ                        CO     90012988740
5337488755B283   LASONDA      MCCREARY                     KY     68022428875
5337511AA61973   AQUILEO      HERRERA                      CA     46083841100
533751A6357157   ANGELICA     CHACH                        VA     90011181063
53375621A5758B   REBEKA       AMAYA                        NM     90013596210
5337598A485928   APRIL        MANSO                        KY     90012929804
53375AA3891895   LINDSAY      SALISBURY                    OK     90013930038
53376422472B43   GERMANIA     CABRERA-AVILA                CO     90000854224
5337667615B399   SIMONE       CLANTON                      OR     44572546761
5337671555758B   SHAWN        PACK                         NM     90012157155
53377659472B67   ANGEL        ARELLANO                     CO     33074556594
5337796535B531   ALMA         FLORES                       NM     90014829653
53377A1185B543   MARIA        MARTIN                       NM     35051900118
5337872495758B   ANNETTE      WOOD                         NM     90008127249
5337897595B531   PAUL         ARMIJO                       NM     35024129759
5337919235B393   LEONARD      WINCHESTER                   OR     90013221923
5337934864B28B   RACHEL       NELSON                       NE     90011623486
5337954A384357   TYKERRIA     STERLING                     SC     90015015403
5337B27A461973   LOURDES      PRADO                        CA     46079962704
5337B643272B36   TERESA       FULLTON                      CO     33077966432
5337B688261975   JAVIER       GILBERT                      CA     90014576882
5338147575B531   ALMA         BOUCHOT                      NM     35082694757
5338237195B531   ALICIA       QUINTANA                     NM     90009363719
5338241882B27B   PAUL         WASHINGTON                   DC     81010474188
53382432872B36   GENA         AYALA                        CO     33040794328
53382775172B77   CASSANDRA    SKELLENGER                   CO     33091417751
53383774172B43   KAYLA        BORQUEZ                      CO     90014657741
53383A13172B36   JESUS        CASTANEDA                    CO     90013830131
53384382A57B81   JAMES        SCHOONMAKER                  PA     90015363820
53384642A5593B   MARK         ROMERO                       CA     90014766420
533847A5191534   YANET        RAMIREZ                      TX     90012927051
5338514828B169   NATALIE      TAYLOR                       UT     90004851482
533851A3A7B46B   MARQUES      GREEN                        NC     90001071030
53385347372B27   SUZANNE      POWERS                       CO     33064653473
53385A6A17242B   ANDREA       FALLECKER                    PA     51074300601
53386167172B27   DALLIS       PULLAM                       CO     33079221671
5338628214B588   CARLOS       DUARDE                       OK     90015222821
5338642397242B   DAVID        HINERMAN                     PA     51022904239
5338766244B588   ANGELIA      SCHIEL                       OK     90015216624
53387A75872B27   MICHAEL      WALDEN                       CO     90014550758
53388236583B95   RONALD D     BEESWY                       TX     90011732365
53388525772B49   ASHLEY       LEWIS                        CO     90014935257
53389249872B97   ISAAC        SANTIAGO VIGIL               CO     90001132498
5338946595B399   MARIA        SEVILLA                      OR     90007554659
5338B417351348   BRYAN        WHITAKER                     OH     66070424173
5338B5A8491534   EDUARDO      OCON                         TX     75018245084
5338B613931429   MONIQUE      CLAIR                        MO     27507956139
5338B964157157   EDGAR        GODINEZ                      VA     90011369641
53391469A91587   ABIGAIL      GUILLEN                      TX     90013494690
5339158384B521   KIRSTIE      WILLIAMS                     OK     90008815838
53391988576B75   OLGA         MARTINEZ HERRAERA            CA     90013199885
5339223A691895   JIM          TOLSON                       OK     90009922306
53392777172B43   MELISSA      MUNSHOWER                    CO     90010457771
53392A71571964   MARCIA       BURCHETT                     CO     90012810715
5339337935B531   TIFFANY      BOYER                        NM     90013193793
53393A15893724   LINDA        WILLINGHAM                   OH     90010710158
53393A36872B27   JASON        NASHOLP                      CO     90008010368
53393A7A82B27B   CARL         CREWS                        DC     90000270708
533941A7457157   MICHAEL      HALL                         VA     90013631074
53394A71372B67   MARTHA       CALDERON                     CO     33062070713
53395137972B43   TERRY        HALSTROM                     CO     33095731379
5339625337242B   DANIELLE     MALIK                        PA     90015102533
5339658384B521   KIRSTIE      WILLIAMS                     OK     90008815838
5339665A661971   EDUARDO      AVILA                        CA     90008906506
5339771A284357   JOSEPH       DRIESSEN                     SC     90013707102
53397A19181669   LEYLA        HERNANDEZ                    MO     29068270191
53398258276B75   FERMIN       VELASQUEZ                    CA     90014892582
533985A9776B75   KIANA        STRICKLAND                   CA     90013525097
5339882538B169   CHRIS        ALLEN                        UT     90010968253
5339946367B46B   HONORIA      RAMIREZ                      NC     90014954636
5339977815B531   SANDRA       VALLEZ                       NM     90014527781
53399A42555959   CHRISTINE    GONZALEZ                     CA     90013050425
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5339B137972B49   TERRY         HALSTROM                    CO     33095731379
5339B453761971   APRILL        CADOTE                      CA     90006784537
5339B519672B88   AZUCENA       JOCOBSEN                    CO     90006635196
5339B615872B43   EDGAR         GARCIA                      CO     90014266158
5339B717543569   JASON         HOFMEISTER                  UT     90001527175
533B112A15B399   PAUL          DOWNS                       OR     90002771201
533B123235B283   VERSHANDO     ANDERSON                    KY     68022392323
533B1444991587   JOSE          SANCHEZ                     TX     90010844449
533B1989A93724   ANTONIO       COBB                        OH     90015349890
533B1A61133696   RICKY         DAVIS                       NC     12077410611
533B1A94157157   ANDRES        REYES                       VA     90005720941
533B229515B393   MICHAEL       THIBODEAU                   OR     44531052951
533B2571861975   SALGEREO      ELDE                        CA     90001665718
533B264835B399   JAMES         PETERSON                    OR     90012256483
533B26A812B27B   SHARON        MOZO                        DC     90009266081
533B298385758B   BRENDA        TORRES                      NM     90011979838
533B2998185928   BETTY         PAYTON                      KY     67045409981
533B3214A57157   ANA           APARICIO                    VA     90010942140
533B419A95B393   TABITHA       SOLIS                       OR     90010271909
533B4551561971   MALAYKA       GIBSON                      CA     90002985515
533B4623433696   PAUL          KIZUMINA                    NC     90012756234
533B4653131431   HUBERT        MCCLOUD                     MO     27564586531
533B4896743569   LISA          BIRD                        UT     90014658967
533B523A75B393   MICHAEL       CUNNINGTON                  OR     90012922307
533B525A35B399   JAMES         WATT                        OR     90014382503
533B529A35715B   GILMER        FERNANDEZ                   VA     90012692903
533B5464598B2B   JUANYTA       PRALOUR                     NC     90005824645
533B5575785928   STEPHEN A     LEMP                        KY     67053285757
533B582284B588   ERIKA         JOHNSON                     OK     90015208228
533B5A2257242B   JANICE        KOSHINSKY                   PA     90011110225
533B629875B543   JOANN         SENA                        NM     35098342987
533B6327171964   LIZ MARIA     SALAZAR                     CO     90014193271
533B6521761975   ROSARIO       CAMUNA                      CA     90014505217
533B6589A91534   BRODHELY      ESCOBEDO                    TX     90013265890
533B668318166B   KAREN         ROGERS                      MO     90012436831
533B6A7342B27B   LEE           ALSTON                      DC     90007940734
533B7366961975   JUANITA       GODINA                      CA     90010293669
533B7484A72B27   SHARON        MOSTUE                      CO     90009644840
533B7584591885   MARISOL       AREAS                       OK     90011255845
533B7799A71964   STEPHEN       GILBERT                     CO     32043727990
533B7835943569   ALLISON       WILKOF                      UT     90014048359
533B7863661971   DON           LONG                        CA     90012068636
533B7971643569   ALLISON       WILKOF                      UT     90014059716
533B7A16476B75   MARIA         ANGON                       CA     90008530164
533B7A2A572B49   ISMAEL        GRANILLO                    CO     90009370205
533B82AA74B28B   LEVON         DUNTON                      NE     26062232007
533B8777771964   JODY          LOPEZ                       CO     90012667777
533B8819A5B283   CHARLES       HALLMAN                     KY     68010628190
533B8827761973   CHARLES       ANTHONY                     CA     46054798277
533B8865872B43   HUMBERTO      DE LUNA                     CO     33051838658
533B92A845B271   MICHAEL       BYRD                        KY     90005692084
533B943563B35B   MARIA         ENRIQUEZ                    CO     90012494356
533B9554691895   FELIX         LAGOS                       OK     90012535546
533B9576A61975   DIANA         AMAYA                       CA     90012955760
533B994A572B36   RAQUEL        CAMPOS                      CO     90007709405
533B9A27A5B393   LARRY         HAID                        OR     90014590270
533BB19727B46B   JESSIC        ROBINSON                    NC     90013181972
533BB634561971   KIMANESKIE    VANCE                       CA     90005616345
533BB6A7576B75   JAVIER        SOJO                        CA     90014076075
533BB783557157   ISABEL        SOSA VENTURA                VA     90014227835
5341192725715B   SADIA         MUHIDDIN                    VA     81042879272
53412357A84373   PATRICIA      WILLIAMS                    SC     90004643570
5341251467242B   ROBERT        RUSH                        PA     90013455146
53412A2265715B   PATRICIA      CESPEDES                    VA     90009030226
53412A8A291534   MARTHA        VILCHIS                     TX     90011050802
5341325367242B   AMY           TAYLOR                      PA     90014192536
5341326224233B   DALLAS        WILLIAMS                    GA     90001372622
53413897A2B27B   JOSE RAFAEL   GRANCO                      DC     90002718970
53413A4588B169   ALEX          BUTTE                       UT     90005910458
534145A535758B   EDWARDS       JULIE                       NM     35587885053
53414776A2B27B   TUCKER        ANN                         VA     90005377760
534151A422B27B   DONNA         LEE                         DC     90015031042
53415323672B43   SHARENE       WAGNER                      CO     33063623236
53415A14857157   CURTIS        SYDNOR                      VA     90008510148
53415A37572B36   ABRAHAM       MALDONADO                   CO     90013030375
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5341655683B165   DINA           MAYBERRY                   DC     81089565568
5341879135B531   MELANIE        BIRNER                     NM     90009657913
53419725372B27   CLIFFORD       PUPPE                      CO     90007847253
5341B239485928   GERMAN         OSORIO                     KY     90013852394
5341B491484373   DAVID          BRADWELL                   SC     19005314914
5341B52788B169   SANDRA         ALARCON                    UT     90014205278
53421821272B33   FATIMA         ALDABA                     CO     90001858212
5342211224B588   MADISON        REYNOLDS                   OK     90011771122
534225A948B169   BRENDA         REED                       UT     90014215094
53422818872B27   DANIELLE       KRUEGER                    CO     90005748188
534233A688123B   JESSICA        KETTERER                   IN     90015473068
53423914A72B49   NORMA          ALMARAZ                    CO     33061009140
5342424784B53B   TRACY LEE      RAUH                       OK     90000662478
5342485A761975   MARTHA         BARAJAS                    CA     90014558507
53424A56391895   AMBROSIO       ZAVALETA-BELLO             OK     90013930563
5342515815B399   ROCKY          PAULSON                    OR     44545021581
53425243872B43   JACKIE         RIVERA                     CO     90012962438
53425434A33699   DAVID          MADRID                     NC     90013874340
5342547188B169   JOSHUA         TUVESON                    UT     90001774718
53425586472B49   CANDACE        HENDRIX                    CO     90013615864
5342581755B387   LISA           CRAWFORD                   OR     90010598175
53425878A5B531   MICHAEL        CONNICK                    NM     35017998780
53425A56391895   AMBROSIO       ZAVALETA-BELLO             OK     90013930563
53426A56391895   AMBROSIO       ZAVALETA-BELLO             OK     90013930563
53426A72A76B75   JENNEIRA       NARANJO                    CA     90010200720
5342781725B387   MATTHEW        PAYNE                      OR     44537908172
53428265972B36   BELINDA        MUNOZ                      CO     90009592659
53428267172B67   BLANCA         LOPEZ                      CO     33012872671
5342835415758B   ALVA           GARCILAZO                  NM     35563943541
5342886824B521   PATRICIA       BACERRA                    OK     90007088682
5342918834B561   JARISHA        HOUZE                      OK     90010851883
53429567172B43   REYNA          QUEZADA                    CO     33037065671
53429718872B43   LAURA          GONZALEZ                   CO     90005227188
5342983A661971   TANNER         THOREN                     CA     90013838306
534298A2555959   JOSE           GUERRERO                   CA     90013868025
5342B34177B46B   JAIH           OSZZEPINSKIA               NC     90013093417
5342B682161975   KAMAL          JAMES                      CA     90012956821
5342B95845B393   KEVIN          YORK                       OR     44563349584
53431494772B36   LANCE          WHITING                    CO     90013084947
53431A3A35715B   SILVIA         URRUTIA                    VA     90010480303
5343212114B588   ANDREW         RUSTON                     OK     90015241211
5343224A633696   JAZZMIN        WILLIAMS                   NC     90009472406
534323A3361973   ASAL           MOBARREZ                   CA     90015223033
5343287325B543   ADAM           YSLAS                      NM     35012928732
5343378425715B   KAREN          MCKEON                     VA     90010727842
5343396928B169   CHRIS          BROWN                      UT     90013049692
53433A32657157   TOM            FRAZIER                    VA     81009100326
5343425A22B27B   CARLOS         BLANCO                     DC     90007352502
53434394898B2B   ALVARO         MARTINEZ                   NC     11055513948
53434A55191587   ROSA           GALVAN                     TX     90011300551
5343522847B46B   TANYA          WALTON                     NC     90008912284
5343538A861973   KARIN          PASTENES                   CA     90013043808
53435A57172B49   JON            REDDELL                    CO     33090570571
53435AA225B561   BILL           SHAWN                      NM     90001080022
5343613714B588   PAYGO          IVR ACTIVATION             OK     90015241371
53436542998B29   ANNIE          WALTERS                    NC     90000985429
53436546A76B75   TANYA          LOPEZ                      CA     90014155460
53436646972B36   CRISELDA       PEREZ                      CO     33085886469
53436699272B27   CHRISTIAN      VALDEZ                     CO     90014156992
534369A2A2B27B   MARIA DEL      QUINTEROS                  DC     81059539020
5343715384B28B   JAMES          BRIGGS                     NE     90012031538
53437556372B49   BENJAMIN       LOPEZ                      CO     90007145563
5343789385B543   ROBERT         ORTIZ                      NM     35079798938
534378A2691534   BRENDA         MARTINEZ                   NM     90009538026
53437A8315B399   ERICH          RASOR                      OR     90008040831
5343851275B531   MARISSA        CUMMINGS                   NM     90013195127
53438514872B49   SCOTT          WELK                       CO     33045765148
5343854A585928   ELIAS          HEREDIA                    KY     90013355405
5343879A54B588   VALENTINE      CONNOLLY                   OK     21533147905
5343978255B399   REGINA         PERTON                     OR     44506927825
534398A572B27B   JUAN DE DIOS   RAMIREZ                    DC     90012388057
5343B273951348   SHYLOE         SUNDERHAUS                 OH     66033912739
5343B466A72B43   ENAYJA         BROWN                      CO     90013274660
5343B61982B237   REJENE         FIELDS                     DC     90007366198
5343B6A1A61971   MARCO          AYALA                      CA     90012396010
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5343B874784373   KEVIN           WOODEN                    SC     19039088747
53441375A57157   VIVIANA         OVA                       VA     90011773750
5344157444B28B   JESSICA         MCHARGVE                  NE     90009275744
534415A9191895   CHARIS          ALLEN                     OK     21091585091
534417AA77B46B   DAVID           HINOJOSA                  NC     90014057007
5344183578B169   WILLIAM         THIELFODT                 UT     31036068357
5344224112B27B   JOSE            MACHADO                   DC     81093012411
53443643A91587   ALLEN           ARIAS                     TX     90013496430
5344399288B169   BILL            SHUPE                     UT     31095239928
53443A35672B36   HORTENCIA       MARTINEZ                  CO     90015190356
5344422645B531   NATHANIEL       YAZZIE                    NM     90012592264
5344454777B46B   DINGGO          D                         NC     90011335477
53444A2227242B   PAULA           USHER                     PA     90009040222
53444A36972B27   THOMAS          FANNING                   CO     90013310369
53444A54A76B75   PATTY           RAMOS                     CA     90014620540
5344516995B531   ALAN            VALENZUELA                NM     90008521699
53445226172B49   LUIS            REYES                     CO     33056052261
5344523692B27B   JOSEPH          BROWN                     DC     90013462369
5344597292B27B   CHRISTINA       HARRIS                    DC     90013809729
5344624735B393   ANGELA          WITTER                    OR     90014452473
5344637725B387   JANETT          TURNER                    OR     90010563772
534465A2A76B75   MATILDE         LINARES                   CA     46043325020
53447196572B43   TAN             BEE                       CO     90012101965
5344729175B399   GRANT           MOCK                      OR     44555472917
5344774415758B   TRICIA          ARMSTRONG                 NM     90001237441
53447844572B49   ERIKA           SALCIDO                   CO     90013128445
534486AA244352   FRANCES         SPEARS                    MD     90015486002
5344892A672B49   VICENTE         TAPIA                     CO     90014729206
534489A697B499   LASHAWN         NICHOLS                   NC     90008649069
53449151972B67   MIGUEL          ROSALES                   CO     33045691519
5344929175B399   GRANT           MOCK                      OR     44555472917
5344948552B27B   DEMARIS         PALMER                    DC     90010394855
5344B634791587   ISRAEL          MARTINEZ SILVA            NM     90013496347
5344B7A4233699   BERNARD         ROBINSON                  NC     90015117042
5344BA56872B49   GUADALUPE       BARRON                    CO     33002280568
5344BA59591895   JHAQUIEL        COLBERT                   OK     90013930595
53451152A4B561   MICHELLE        JACKSON                   OK     90011601520
534512A6272B27   KAYLA           BRADLEY                   CO     90014192062
53451433A5B531   DEVON           HERRON                    NM     90012684330
534514A6824B7B   RASHAUN         CATO                      DC     90005054068
5345282696199B   JASON           RHODEHAMEL                CA     90009588269
5345286325B393   MARGARITO       SANTIAGO                  OR     44570268632
53453614572B27   MARIA           CERVANTES                 CO     90013696145
534536AA14B28B   TRAVIS          SCHRADER                  NE     90010746001
5345375717242B   PAYGO           IVR ACTIVATION            PA     90014297571
53454663876B41   AIDE            ESPINO                    CA     90002076638
5345484347242B   WILLIAM         HOLLAND                   PA     90008648434
5345527A561973   JORGE           MORENO                    CA     46006872705
5345539A672B36   BRIDGET         MARTINEZ                  CO     33075043906
5345541457B46B   BREANNON        DAVISON                   NC     90005224145
5345549775B387   MAHTAB          ABDOLGHAYOUM              OR     90015114977
5345667A861973   KORINA          BARRAZA                   CA     90008556708
53457141976B75   DANIELLE        KOWNACKI                  CA     90005381419
534577A8A85928   PERFECTO        AGUILAR                   KY     90015407080
534585A9591587   SILVIA          MORENO                    TX     75079085095
5345891994B28B   CHEYENNE        STATON                    NE     90015189199
5345B57444B28B   JESSICA         MCHARGVE                  NE     90009275744
5345B655491587   IVETTE          MEJIA                     TX     90013496554
5345B933257157   CHAVEZ          JOSE                      VA     90008749332
5345BA58261975   ALAN            NEELEY                    CA     90014890582
53461535A33696   AMANTHA         HARDISON                  NC     90010475350
53461675644B3B   BETTE           ORIENT                    OH     90014136756
53462479172B36   CIARA           TRUJILLO                  CO     90002654791
5346257165B393   JUSTIN          ALVIS                     OR     90010315716
5346263645B531   LOURDES         AYALA                     NM     90010766364
5346292A25B399   VANESSA         GARCIA                    OR     90008289202
53462A11257157   TAMICA          BENNET                    VA     90000160112
5346326925B271   NICOLE          RODRIGUEZ                 KY     68021252692
5346336255B393   ELIZABETH       MCCORMICK                 OR     90014243625
53463A1168B169   DOUCET          ANTHONY JOHN              UT     90010240116
53464133472B36   TALISHA MARIE   KLEINSASSER               CO     90013421334
53464A2514B521   VICENTE         HERNANDEZ                 OK     90007090251
53465138A61973   TRINIDAD        ESPINOZA                  CA     90014241380
534654A7A5B543   ALMA            RONQUILLO                 NM     35060804070
5346569882B27B   BETTY           BEST                      DC     90010916988
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5346597674B28B   RYAN         LUNBERRY                     NE     90013019767
5346711175B399   WENDELYN     STEPHENS                     OR     90008041117
5346718A372B43   JOSEPH       GUZMAN                       CO     90014021803
5346748A491534   AARON        BLANCO                       TX     75021274804
53467663457B81   ROBERT       WOLENSKI                     PA     90015346634
53468121A61975   SARAH        MISEL                        CA     46079191210
53468884A61971   VICTORINO    SOMERA                       CA     90011668840
53468925672B36   TAMARRA      PRATT                        CO     90012589256
53468A6A391895   BELINDA      BALL                         OK     90013930603
534692A935B399   JONNA        DUPLANTIS                    OR     90001712093
5346944645B393   JESSICA      FOX                          OR     90013904464
53469589172B88   DANIEL       LINLEY                       CO     90009795891
5346971975B543   CLAUDIA      HANRAHAN                     NM     35056927197
5346B368757157   SANTIAGO     DIAZ                         VA     81044283687
5346B56525715B   ALEX         TORRES                       VA     90005795652
5346B64767242B   JAMEY        HENRY                        PA     51006426476
5346B7A9955959   JUVENAL      ALCANTAR                     CA     90013967099
5346BA1655B531   DEBBIE       CHAVIRA                      NM     35018390165
5346BA6655B399   RYAN         TRACY                        OR     90014850665
5347127634B588   RAFAEL       VELAZQUEZ-BUENO              OK     90015242763
5347186965715B   WANTHIP      PANGILINAN                   VA     90010678696
5347377457B46B   COLBY        ENGERT                       NC     90012877745
53473A9497242B   PHILIP       HRABIC                       PA     51073330949
5347428754B588   FLORENTINO   RAMOS-GRACIDA                OK     90015242875
53475229472B43   KENNETH      TRUJILLO                     CO     33094042294
5347581A75B531   JOSE         ACEVES                       NM     90012948107
5347588665B399   DEOLANDA     LASSEIGNE                    OR     44563738866
5347676154B28B   CALEB        HUGGENBERGER                 NE     26063037615
53476949372B43   JUAN         GARCIA                       CO     90009349493
53476A5515B393   JESSICA      MORGAN                       OR     90010130551
53477212172B77   JOSSY        EGWUIDAM                     CO     90002342121
534772A6691534   SYLVIA       RAMIREZ                      TX     75060192066
5347742A353B41   ANGELA       MONOS                        CA     90012124203
53477433A2B27B   AMMAR        ALSHI5                       DC     90010984330
53477493976B75   RILEY        COOK                         CA     46020504939
53478553472B88   LILIANA      PEREZ RICO                   CO     33089105534
5347887995B399   COCOA        CHANELL                      OR     90014068799
534792A387195B   SHAUN        BECK                         CO     90008342038
5347948465B393   JUAN         HERNANDEZ                    OR     90013954846
53479649172B88   AURELIO      HERNANDEZ                    CO     90003186491
53479695776B75   PRISCILLA    LUCERO                       CA     90000216957
5347B11318B169   MARTIN       REUBELES                     UT     90011491131
5347B17385B387   HART         BOWES                        OR     44505341738
5347B299A81669   CHASI        SIPPLE                       KS     90012722990
5347B2AA357157   LILIANA      CHANG                        VA     90003832003
5347B3A7872B36   SERGIO       COTTO                        CO     90012873078
5347B556176B75   COLIN        GORDON                       CA     46063905561
5347B57A972B43   JOSE         ESCOVAR                      CO     90013635709
5347B6A7572B27   ARMANDO      BARRAZA                      CO     90009266075
5347B931591534   MONICA       MORENO                       TX     90009309315
5347B974797127   ERICA        CRUZ                         OR     90011489747
534811A6961975   ROYCE        ROBLES                       CA     90009221069
53481258A91534   GLORIA       FRENCH                       TX     90013042580
534812A617B46B   STEPHANIE    ALEX                         NC     90013202061
5348165A361973   JUAN         BRAVO                        CA     90008456503
53481923172B43   LEE          MADRID                       CO     90013999231
534834A7A72B36   INGRID       AJANEL                       CO     33095594070
5348354755B399   SHERI        ROSE                         OR     44520865475
53483A2615758B   ISRAEL       SAMBRANO                     NM     35517030261
534846A682B27B   KENYA        MCCOY                        DC     90005246068
53484931A72B49   TORRES       ARMANDO                      CO     33014509310
53484984172B27   JANE         FOY                          CO     33083739841
5348521165B399   JASON        WEISS                        OR     90014912116
53485332A7B46B   DIANA        ORTEGA                       NC     90014863320
5348533414B588   KAILEE       LOVELADY                     OK     90015243341
53485497472B77   DONALD       POUNDS                       CO     33054674974
53485A68A7242B   CORY         KUZEMCZAK                    PA     90014620680
5348636A572B27   HOMERO       GARCIA                       CO     90011383605
5348697945B531   MATT         UNDERWOOD                    NM     90014119794
53487A46661971   STEVEN       RUMMERFIELD                  CA     90013850466
53487A75133696   KIRSHAWN     BOWE                         NC     12077630751
53488535576B75   HUMBERTO     ORTEGA                       CA     90014005355
534885AAA43569   JESS         HERBERT                      UT     31010875000
53488657472B49   ANGELINE     TOY                          CO     90013166574
5348874A571964   LEONA        JACKSON                      CO     90014697405
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53488A65A33696   AVIUS             MOORE                   NC     90012880650
53489645A5758B   IRENE             MEDINA                  NM     90011316450
5348994A172B43   BEKEN             RAMIREZ                 CO     33012929401
53489973276B75   ELOINA            CHAVEZ                  CA     90012679732
5348997427B385   RUDY              VASQUEZ                 VA     81098829742
5348B238472B49   KYLE              ALDRIDGE                CO     90011922384
5348B4A325B531   ANGELA            CORDOVA-SANCHEZ         NM     90000364032
5348B714172B43   SALINA            GONZALES                CO     90012167141
5348B89665B387   JERRY             NELSON                  OR     44526578966
5348B968691895   KARI              LAUFFER                 OK     90010129686
5349112485B393   JENNY             MAY                     OR     44582501248
5349168877242B   MYRIAM E          GARCIA-VERA             PA     51043066887
5349176A35B561   SCOTT             FERGUSON                NM     90009407603
5349176A85B387   DUANE             DODSON JR.              OR     44513527608
53491842972B36   URIEL             BARGAS                  CO     33036008429
5349224844125B   JENNIFER          LADUE                   PA     90009272484
53492395172B88   DEBRA             ROMERO                  CO     33030213951
534923AAA71964   VICTOR            GARCIA                  CO     90012853000
5349253817242B   KRISTIE           EDWARDS                 PA     51037055381
5349262455B393   FELICIA           THAO                    OR     90011616245
5349278392B27B   ELIZABETH         YOUN                    DC     90010917839
5349294277B365   ODIR LEON         PALMA                   VA     90006839427
53492948672B27   MATIAZ            GILES                   CO     90011189486
5349316757B378   MIGUEL            HENRIQUEZ               VA     90004311675
53493319772B49   GEORGE            HENDRICKS               CO     33085873197
53493652176B75   NICENTE           OCAMPO                  CA     90013066521
5349384217242B   CURT              BURKHOLDER              PA     90010588421
534939A114B28B   PHYLLIS           MCCAUL                  NE     26073009011
5349421A191895   TIFFANY           BREWER                  OK     21059982101
5349428318B169   ANGELA            ARAVE                   UT     31003192831
53494413976B75   ROGELIO           ZEPEDA                  CA     90013734139
53494414476B5B   ALFONSO           ROCUA                   CA     46006814144
5349477545B399   CRYSTALLYNN       HATTON                  OR     90013377754
53494A1A34B521   EBONI             RANDOLPH                OK     21511550103
534951A6391895   JOHN              DEVERCELLY              OK     90008251063
5349523745758B   LEONARDO          OSTENDORF               NM     90014452374
5349563235B387   ANNETTE           MOORE                   OR     44513466323
53495687A91534   JAZMIN            SANDOVAL                TX     90012526870
5349654792B27B   DNELL             NELL                    DC     90011995479
5349699885B387   ROSE              MC CASLIN               OR     44516949988
53497232372B27   JOSELUIS          MARTINEZ                CO     90013922323
53497656498B2B   YEMERSON          REYES                   NC     90005846564
53497AA2772B27   MARIA DEL ROCIO   GARCIA                  CO     90012970027
5349828A55B531   MARIA             RODRIGUEZ               NM     35016672805
5349865AA71964   GREGORY           BONTON                  CO     90011646500
5349919115B531   BEN               SANDOVAL                NM     35080561911
534991AA18B169   ALICIA            MARTIN                  UT     31013661001
534995A2372B77   MARIA DUAD        LERMA PROANO            CO     33082415023
5349B71964B588   ROKETTA           BARKSDALE               OK     21510957196
534B13A3172B36   OSCAR             LARA                    CO     33040633031
534B145192B27B   JESSICA           MCNEILL                 DC     81024844519
534B1598461921   JUAN ANTONIO      ARAUJO                  CA     90011115984
534B184945715B   ROSEWINTER        KODZWA                  VA     90010678494
534B1954257157   CARLOS            CASTRO                  VA     90013209542
534B1989857157   MICHAEL           COMPTON                 VA     90006519898
534B1A6265B393   RAMON ERNESTO     RAMIREZ ROMAN           OR     90011460626
534B2189A71964   CHARLES           WHEELER                 CO     90012871890
534B2343451348   LAURA             RAMIREZ                 OH     90015203434
534B312825B399   GLADYS MARIBEL    GARRIDO                 OR     90013211282
534B319287242B   PAYGO             IVR ACTIVATION          PA     90010901928
534B3199672B88   JUAN              BELTRAN                 CO     33085621996
534B3358872B36   ANDREA            LACEY                   CO     90013023588
534B394548584B   HUI               CHOU                    CA     90011439454
534B4483957157   LINDA             ASSUMAN                 VA     90002784839
534B487765B387   LAURA             THOME                   OR     44514058776
534B4974691587   MARTHA            ALONZO                  TX     75062939746
534B5136993724   DAWN              WOODRICK                OH     90009941369
534B5258572B49   MERLENE           KUJAWA                  CO     33001542585
534B53AA651336   PEGGY             SARGENT                 OH     90013323006
534B5453485928   MARK              AYERS                   KY     67095754534
534B5717791587   ALBERTO           NUNEZ                   TX     90009877177
534B5769855959   GUILLERMO         VARGAS                  CA     90013067698
534B5A13733699   TAWANA            ROMNEY                  NC     90013860137
534B5A2597242B   PAYGO             IVR ACTIVATION          PA     90012340259
534B5AA5743569   TEA               JESSE                   UT     90005740057
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534B6166255959   JOSE         REGALADO                     CA     90000641662
534B6722491534   GRISSEL      RODRIGUEZ                    TX     90009557224
534B678A45B543   MARIA        NUNEZ                        NM     35069737804
534B682395B531   BETTY        MONTANO                      NM     35009158239
534B6A61743569   CHRISTINA    BISCHOFF                     UT     90005510617
534B739715B387   MIGUEL       RAMIREZ                      OR     44596133971
534B752617242B   SANDRA       HYNES                        PA     90002245261
534B7747955959   MARIANA      CHIMEO                       CA     90012007479
534B8212993724   INDIA        DAVIS                        OH     90015042129
534B825A491895   LILY         HERNANDEZ                    OK     90007972504
534B843535599B   GLORIA       FUENTES                      CA     90011834353
534B8955655959   GUSTAVO      OCEGUERA                     CA     90014999556
534B89A2971964   XENG S       VANG                         CO     90011869029
534B92A7172B49   DANIEL       CAMACHO                      CO     33033972071
534B9396733696   TIMOTHY      DAVIS                        NC     90005103967
534B968A55B531   MARIA        GUZMAN                       NM     35029366805
534BB393433699   STEPHANIE    GOODSON                      NC     90010693934
534BB411591534   PALACIOS     JESSICA                      TX     75098914115
534BB7A3A72B43   ANNA         STRALEY                      CO     33007507030
534BBA1925B531   PATRICIA     PALACIOS-MORALES             NM     35046210192
534BBA56391895   AMBROSIO     ZAVALETA-BELLO               OK     90013930563
53511115A51353   KENNETH      RHODES                       OH     90001841150
53511898A72B49   HEATHER      ALBERTSON                    CO     90012098980
53512126A5758B   BRENDA       RODARTE-BIELMA               NM     90012121260
53512887972B77   MARIA        SANDOVAL                     CO     90014938879
535139A9871964   DYLAN        PRITTS                       CO     90008239098
53513A4245758B   LITA         STEPTER                      NM     35550480424
535144A275B399   JACQUELYN    CARROLL                      OR     90009514027
535145A5961973   MARIANA      CHON                         CA     90013005059
5351471985B387   LINDSAY      PARSONS                      OR     90011207198
53514966A71964   DENNIS       WATSON                       CO     90002059660
53514A68661971   BADU         MUNYORORO                    CA     46018110686
53515A45743569   LATROI       NEWBINS                      UT     90013660457
53516545472B36   ALVARO       GUTIERREZ                    CO     33017815454
53516A22872B27   ROSE         FLORES                       CO     90010210228
53517215A84373   OCTAVIA      SMITH                        SC     19035322150
5351757975715B   REBECCA      NOLASCO                      VA     90007725797
53517A8264B28B   BASSMA       BARAKAT                      NE     90011950826
53518436A55959   CARLOS       ESPARSA                      CA     90010094360
535185A3261973   ANGELINA     MARTINEZ                     CA     90012845032
5351934798B169   DEBBIE       NEWELL                       UT     31017543479
5351944987B46B   JUAN         BETANCURT                    NC     90014364498
53519736572B67   TANJALA      CHINETH                      CO     90013807365
5351978745B531   CARLOS       CHAVEZ                       NM     90015227874
535197A9A72B27   RYAN         BURNS                        CO     90012037090
5351B287371964   SUSIE        ALMIEDA                      CO     32009022873
5351B885591587   ADELA        PATTERSON                    TX     90013498855
5351B921761975   LOUIS        THOMAS                       CA     90013429217
5352163865B399   PAULA        WILLIAMS                     OR     90012676386
5352176185B387   LORI         ALLEY                        OR     90013317618
53521A67261973   VERONICA     SALGADO                      CA     90012470672
535222A315B387   CURTIS       NEWELL                       OR     44506112031
53522715176B75   YESENIA      DOMINGUEZ                    CA     46096167151
53522A21933699   SYEHILVER    DAVIS                        NC     90011960219
5352341A472B49   AGUSTIN      CAMPOS                       CO     33034584104
53523938A91587   JOSE         MENDIZABAL                   TX     90012589380
5352442688B183   FRANCISCO    MAURICIO                     UT     90010544268
5352459147B46B   DAKENYA      ANDREWS                      NC     90005495914
535246A114B588   JACKSON      JANICE                       OK     21516336011
53524A67261973   VERONICA     SALGADO                      CA     90012470672
5352553385715B   JOSE         PAZ                          VA     81059395338
53525A42776B75   ROCIO        FLORES                       CA     90000280427
5352625855715B   SAYED        ALI                          VA     90009262585
5352638A933699   TAMMY        BLUE                         NC     90013533809
53527335972B49   RODRIGO      FLORES                       CO     90014353359
5352735AA71964   ADAM         STEPHENSON                   CO     32014673500
535276A945B393   JOSEPH       BUDD                         OR     90012956094
5352917A45B531   LONNIE       MOODY                        NM     90003661704
5352925757242B   KATINA       STEWART                      PA     51006142575
5352956992B27B   EBANGELINE   PABULAYAN                    DC     81077545699
53529A6515713B   ROSA         VICENTE                      VA     90010760651
5352B155672B36   DARRICK      PUGH                         CO     33052751556
5352B172691895   DWAYNE       ELIFRITS                     OK     90014841726
5352B349661975   ANA          RAMIREZ                      CA     90014093496
5352B37695B399   ALEJANDRA    MORFIN                       OR     90013303769
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5352B658433699   LUIS         MALAVE DIAZ                  NC     90014766584
535311A6357157   ANGELICA     CHACH                        VA     90011181063
5353155875B387   GEANNA       GUERRERO                     OR     90013815587
5353191A961975   MIGUEL       GARCIA                       CA     90013089109
53531A43972B67   ISAAC        MALDONADO                    CO     90006750439
53531A54733699   ANAELLY      ELIAS                        NC     90013340547
53531A71191895   AYANNA       TAYLOR                       OK     90013930711
5353236245B387   JOSE         RICARDO                      OR     90011313624
53532666372B27   DESTINY      FINN                         CO     90009346663
53532949672B36   BREANNA      DRUMRIGHT                    CO     33067819496
5353313275758B   EDUARDO      SARABIA                      NM     90007771327
5353336A993724   PATRICK      WOODWORTH                    OH     64505783609
535334A9A91895   ANTHONY      BADILLO                      OK     90012684090
5353481697B35B   DENISE       KLASEN                       VA     81015778169
53535176A33696   Y DAIH       NLN                          NC     90012811760
5353529927B46B   MARCUS       ALSORD                       NC     90011402992
5353572317B46B   SHAWN        AGER                         NC     90003857231
53535873A5715B   ANABELL      TORRES                       VA     90010678730
5353629995758B   ROSENDA      PEREZ                        NM     35517342999
53536722A76B75   FERNANDO     CABRERA                      CA     46027297220
5353774A571964   DOMINIQUE    BUCHANAN                     CO     90011457405
535379A315B387   DARREL       COX                          OR     44517409031
53537A24657554   PATRICIA     CORCORAN                     NM     90007410246
53539244172B49   AIOTEST1     DONOTTOUCH                   CO     90015122441
5353929582B242   MARY         AKINADEWO                    DC     81012732958
53539685376B52   JOSE LUIS    MARQUEZ                      CA     90009466853
53539747672B27   STEVEN       CROSBY                       CO     33065737476
5353975845B393   RUTH         STERLE                       OR     90006817584
5353B41195B531   ESCAMILLA    ALEJANDRA                    NM     90007194119
5353B451161973   TRACY        BOEM                         CA     46005734511
5353B61A357157   NAYELI       TRUJILLO                     VA     90010626103
5353B81285B399   CRYSTAL      GOAKEY                       OR     90015108128
5353B85634B28B   DAVANDIS     MILLER                       NE     90010588563
5353B8A3131428   JEROME       LANOS JR                     MO     27589918031
5353B987672B67   CRT          TOWING                       CO     90007319876
5353B9A527B46B   SHAWN        AVANT                        NC     90013339052
5354124993B352   LEOBARDO     BALDERAS RIVAS               CO     90005282499
535417A565758B   MARTIN       REYES                        NM     90010787056
53542545972B43   MARTINEZ     JOSE GUADALUPE               CO     90003695459
53542A5A661975   EDGAR        ABARCA                       CA     90013910506
5354333774B588   DAVID        NALLEY                       OK     90007693377
53543673672B27   RICARDO      CRUZ                         CO     33064096736
53543AA2972B49   JEAN         PARSONS                      CO     33046160029
53543AA8943569   NIKOLA       CUTLER                       UT     90003730089
53544586272B77   BIANCA       RUBY                         CO     90000585862
535445A2662322   SANTA        GOROSTIETA LOPEZ             NC     37063985026
5354465627242B   JEFFERY      STAFFORD                     PA     51030336562
53544A2335B399   WENDY        SANCHEZ                      OR     90007990233
53544A38161975   ALMA         ABDULLA                      CA     90012600381
535455A3991895   LUISA        SUAREZ                       OK     90009575039
5354571968B169   TODD         BECK                         UT     90012677196
535457A1872B27   AMY          ABEYTA                       CO     33062317018
53545A3735715B   VINCENT      GARDNER                      VA     90007110373
5354628234B521   RICKY        RAUCH                        OK     90007102823
53546A4474B28B   AMY          GREEN                        NE     26048000447
53546A52A72B88   OSVALDO      RUBIO                        CO     33061430520
53546A95661971   ROSA         CISNEROS                     CA     46079500956
53546AA192B236   SABRINA      HAMM                         DC     90006210019
53547171272B27   DORSHIA      CARTER                       CO     90010871712
53548171372B27   PAMELA       LUCERO                       CO     33057691713
53548397476B75   JASMINE      STEPHENS                     CA     90014743974
5354895575715B   CARMEN       GOMEZ                        VA     90005359557
535491A8661971   LEE          WARREN                       CA     90010191086
535499A8571964   BILL         BANKUS                       CO     90014699085
5354B77955B531   MARIA        WICKSTROM                    NM     90014527795
5354B785533696   DINAH        GRAHAM                       NC     12049587855
5354B785671964   SYMONE       SMITH                        CO     90009857856
5354B823972B67   CONSTANTIN   CERDA                        CO     90001178239
5354B848157157   SALVADOR     GASCON MEJIA                 VA     81097458481
5355119577B46B   SARINA       REYES                        NC     90011871957
5355237967B46B   NIA          COPLES                       NC     90010973796
53552495A4B28B   PATRICK      HOYT                         NE     90013544950
53552A73233699   JENNELL      PARHAM                       NC     90014000732
5355325A961975   LISA         HERNANDEZ                    CA     46073762509
5355361415B531   JEANINE      CENA                         NM     90014366141
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5355386A172B27   MICHAEL        CUIFFI                     CO     90014808601
5355448855B283   LAMAR          ALLEN                      KY     68022584885
5355493A191587   RICHARD        ARELLANO                   TX     75003589301
53554A65272B36   KRYSTAL        WILLIAMS                   CO     90008180652
5355522645758B   ERIC           KUTCHA                     NM     90014382264
53555841372B36   CHRISTIAN      CHAVEZ                     CO     33057528413
5355649215715B   TERESA         JUSTINIANO                 VA     81077094921
53556824672B88   LETREENA       BLAND                      CO     33073458246
5355758918B169   RAUL           COBOS                      UT     31036695891
5355798AA55959   BARBARA LYNN   POOCHIGIAN                 CA     90013129800
53557A29191534   ANGEL          MORENO                     TX     75025890291
5355813492B245   MARIA          VAUGHAN                    DC     81012711349
53558194A61971   CAROL          SPINOSA                    CA     90014941940
5355887A893724   KIRSTIN        CALHOUN                    OH     90010758708
535588A2633699   SUELI DE       LOPES                      NC     90009998026
53558A47651348   DANETTE        HILL                       OH     90010210476
5355967775715B   OSCAR          NOVILLO                    VA     81043186777
5355B63372162B   DAVON          JOHNSON                    OH     90014186337
5356149265B393   CHASE          WADEL                      OR     90013954926
53562644672B43   STEPHANIE      SOSA                       CO     90015086446
5356284972B27B   ANNETT         MCCRAY                     DC     90014898497
5356287325B393   KATHERINE      BONNER                     OR     90014428732
5356357667242B   PATTY          KUBISTEK                   PA     90015155766
53563697972B27   HECTOR         ORTIZ                      CO     33067966979
535636A7576B75   ANDREA         ROBLES                     CA     90011856075
53563A6A57242B   DANTE          WILEY                      PA     90008010605
535648A4961966   KRISTEN        GUTIERREZ                  CA     90008828049
53564AA3472B77   VICKI          REEVES                     CO     33026550034
5356513644B588   BREANNA        PARSONS                    OK     90015251364
53565674172B27   ADRIAN         CARRASCO                   CO     33085056741
535658A355B543   LINDSEY        SANCHEZ                    NM     35085568035
5356635165B387   TERUSA         BILLY                      OR     90014653516
53566369272B67   RICHARD        BAYNARD                    CO     90005623692
5356756814B28B   CHARLES        BOYD                       NE     26086925681
535678A4A72B77   TRAVIS         FINNEY                     CO     90001278040
5356813822B27B   LATISHA        BARNES                     DC     90012861382
53568239772B43   JOSE           ZAVALA                     CO     33096002397
5356873525B393   HUSSEIN        SALMAN                     OR     90000527352
53568AA537B46B   VERONICA       RAYFORD                    NC     90013270053
5356966A272B77   SONIA          VEGA                       CO     33037766602
535698A355B543   LINDSEY        SANCHEZ                    NM     35085568035
5356B294161971   MARIO          KNORR                      CA     46078032941
5356B348972B36   SANDRA         KALB                       CO     90001503489
5356B38A45758B   RAMON          FLORE                      NM     35504203804
5356B812291534   JESSICA        HERNANDEZ                  TX     90011068122
5356B888333696   MARY           MYERS                      NC     12090508883
5357126314B28B   KYLE           SMITH                      NE     26067392631
5357169462B27B   LADONNA        HARRISON                   DC     90008056946
5357192A95758B   GRACIELA       MONTELONGO                 NM     90000139209
53571939772B36   VICTOR         CESPEDES                   CO     33098739397
53571A24272B27   ERNEST         EVANGELISTA                CO     33083440242
53571A79872B49   KERRY          MORGAN                     CO     33060650798
53571A92891895   JUAN           LOPEZ                      OK     90013930928
5357219325B387   RAMON          REYES VASQUEZ              OR     90009951932
5357238A58164B   SARAH          PARK                       MO     90007763805
5357266257B34B   ANDREW         FARMS                      VA     81053156625
5357332812B281   EDMOND         BYNUM                      VA     90008173281
53573862576B3B   SHAWN          ATKINS                     CA     46090548625
535738A6733696   SANTITA        WILLIAMSON                 NC     90014358067
535738A945B399   DAVID          KNOPF                      OR     90012888094
5357424A185928   SIXTO          NAVARRO                    KY     90010812401
535745A177B46B   SANTOS         MARTINEZ                   NC     90014445017
5357494824B28B   ROSETTA        SCHIEL                     NE     26080089482
5357573417B46B   MARIA          DURAN                      NC     90011967341
5357593914B588   BREANNA        LADD                       OK     21543499391
5357654175715B   MOISES         RIVERAS                    VA     90008825417
53576933676B75   LUTHER         GARNER                     CA     90012849336
53576942672B36   MARIA          SAENZ                      CO     33018099426
535776A7872B36   VIRIDIANA      GARCIA                     CO     90013106078
5357783565B387   MILISSA        WILLIN                     OR     90011088356
5357837327B46B   AUSET          ARI                        NC     11076143732
5357861AA85928   ALFONSO        BROWN                      KY     90012256100
53578736A5B387   ISIDRO         REAL                       OR     44557287360
53578962A5B393   JOSHUA         SNYDER                     OR     90000719620
5357987178B169   BRANDY         DAVES                      UT     90008498717
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53579885972B27   ROBERT          AVERY                     CO     33058638859
5357B439185928   LUIS            MARTINEZ                  KY     90015334391
5357B769557131   ROSA            FLORES                    VA     90006647695
5357B81237B46B   TANIA ARACELY   ZAMBRANO                  NC     90009668123
5357B87784B28B   METILAH         GATSI                     NE     90007428778
5358192444B28B   JOLENE          ROTHWELL                  NE     90010259244
53581974A84373   MANUELA         FERNANDEZ                 SC     90012329740
53581A6225B399   REEM            MAQDAS                    OR     90014920622
53581A62291534   JAVIER          QUINONES                  TX     90006300622
5358255998B169   SHUMAN          TIFFANY                   UT     90009745599
5358321355B393   EDGAR           LEONEL                    OR     90008292135
53583578772B36   BRIGIDO         LOPEZ                     CO     33087865787
5358396A67B46B   DON             NGO                       NC     90013559606
53583AA4172B77   SHERRY          MCMULLIN                  CO     33035550041
535845A147242B   LARRY           SWINDELL                  PA     90014505014
53584776972B43   JASON           JOHNSON                   CO     33011787769
5358489594B28B   ALETHA          REYES                     NE     90009278959
5358529A95758B   CRUZ            SOTO                      NM     35508512909
5358548395B399   GREG            SURAN                     OR     90008364839
5358558A22B27B   AQUIA           BRATCHER                  DC     90013025802
53585729A5B399   ROGELIO         OLIVA                     OR     44550247290
53585942872B49   CECILIA         ALEXANDER                 CO     90015139428
53586712A5B399   CHARLES         WRIGHT                    OR     90012127120
53587442A5715B   ANNIE           OVALLE                    VA     90005434420
53587961172B49   NOLBERTO        OJEDA                     CO     33076079611
53588631272B63   AURELIO         RUIZ                      CO     90005866312
5358869875B271   CIRILO          CARRILLO                  KY     90002196987
5358886A771964   CHRIS           NOLL                      CO     90014128607
5358896439372B   CARL            UNGER                     OH     90013449643
53588A9AA84373   JOHN            MEYER                     SC     90008210900
5358925575758B   MAEGAN          FRANCO                    NM     90013202557
535893A7474B97   LAURI           STEVENS                   OH     90013893074
5358982A261971   EDWARD          WALKER                    CA     46065058202
5358988428B169   CRYSTAL         CARDENAS                  UT     31091378842
5358B385661973   DULCE           SOLIS                     CA     46055133856
5358B648672B27   MYDA            HERNANDEZ                 CO     90012786486
5359128A451336   ELIOT           WILLIS                    OH     66072812804
5359146AA76B75   CARLOS          DELGADO                   CA     90013504600
53591A57661971   JENNIFER        NELSON                    CA     90002260576
5359234685758B   BLANCA          RUEDA                     NM     90012103468
535925A8951348   JORGE           MARROGUIN                 KY     90009455089
53592612272B43   DARLENE         ARREOLA                   CO     90013006122
53592646372B49   EUGENE          SANDOVAL                  CO     90008466463
53592AAA943569   JOEL            WRIGHT                    UT     90015050009
5359338475758B   CARMEN          JAIME                     NM     90003403847
5359442147242B   LISA            KIERNAN                   PA     90010994214
5359469A95758B   JULIO           RAMIREZ                   NM     90011556909
53594A53471964   DAVID           CASIAS                    CO     90014370534
53595383776B75   GERARDO         LOPEZ                     CA     90013923837
53595445A33669   ANEL            CRUZ                      NC     90001294450
5359592875B531   VANESSA         CHACON                    NM     90008119287
535962A855B561   CERAS           LONGORIA                  NM     90013422085
5359657888B169   JASMINE         WHARTON                   UT     90014655788
5359697919374B   JAQUADA         HIGGINS                   OH     90011589791
5359829AA5B531   RICK            DURAN                     NM     35094512900
5359846A791895   CECILIA         OLMOS                     OK     21043014607
53598581576B75   RICHARD TODD    WERNER                    CA     90015095815
5359887A472B77   MANUEL          PEREZ                     CO     90005978704
53598AA837B46B   MARVIN          ALDANA                    NC     90002310083
5359918234B28B   AMY             PAFFORD                   NE     27063861823
5359932235713B   ALEX            SALGUERO                  VA     90004683223
53599A1712B27B   DOMINIQUE       STOVER                    DC     90015520171
5359B222772B49   JORGE           DURAN                     CO     33085462227
5359B56A972B36   HILDA           RODRIGUEZ                 CO     33019345609
5359B811857157   JORGE           QUIROZ                    VA     90013268118
5359B86168B183   DON             EVERETT                   UT     90004328616
5359B891233696   ROBIN           MOORE                     NC     90013928912
5359BA63661975   MARGARITA       AGUIRRE                   CA     90013320636
5359BAA497B35B   EMERITA         ARRIAGA                   VA     90005360049
535B1351185928   TYISHA          KENNEDY                   KY     67052683511
535B1499672B49   JUSTINE         GEIST                     CO     90007314996
535B151145758B   IVAN            CARO                      NM     90013255114
535B198A35B543   BRIAN           DODGE                     NM     90005139803
535B2255433696   ALISA           YOUNG                     NC     90011512554
535B2367384357   MICHAEL         HOLDEN                    SC     14514633673
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535B2831661971   MARC         BOYKINS                      CA     90003708316
535B283387B46B   KAREN        SMITH                        NC     90012878338
535B323522B27B   EDDIE        BISHOP                       DC     81007242352
535B3318785928   ADAM         SLONE                        KY     90013703187
535B332A472B43   KAYLA        MARTINEZ                     CO     90014923204
535B3747471964   NELLY        ESTRID                       CO     90007857474
535B3816157157   SHEILAH      MITCHELL -REID               VA     81000638161
535B3A72151348   JASON        ROY                          OH     90003730721
535B412AA72B49   JOE          PALOMO                       CO     33000361200
535B414847242B   LINDA        HAUBRICH                     PA     51043021484
535B4437951348   SHAKIRA      SHABAZZ                      OH     90014924379
535B44A235B393   JAMIE        ANDREWS                      OR     90002594023
535B463A172B43   VANESSA      PORTER                       CO     90012246301
535B4777271964   JULIE        GAGNON                       CO     32017777772
535B487975B531   CHRIS        ROSS                         NM     35079678797
535B515555B531   GABRIEL      ESPINOZA                     NM     90007661555
535B529A571964   ALEXIS       SALAS                        CO     90015172905
535B55A4772B43   STHEPAHNIE   PASSMORE                     CO     90006235047
535B5759255959   VICTOR       ACUNA                        CA     90003677592
535B595917242B   JORDAN       BAILLEY                      PA     90012419591
535B6794233699   MATTHEW      COLON                        NC     90008227942
535B7561857157   JACQUELINE   CEREZO                       VA     90014625618
535B75A5A85928   DONALD       HARRIS                       KY     67013715050
535B787845B229   AMBER        BISSINGER                    KY     90001158784
535B7A14551348   SONA         LETA                         OH     66095930145
535B8148872B49   SHERRI       MILLICAN                     CO     33025901488
535B839885758B   VICTOR       MARTINEZ                     NM     90009873988
535B937943B139   SANDRA       MADLOCK                      DC     90003473794
535B9393485928   WENDY        BEBE                         KY     90014173934
535B947682B27B   BENJAMIN     ALVAREZ                      DC     90012614768
535B969937B46B   ALEXIS       GALMON                       NC     90015136993
535B9915361971   MARY         TATE                         CA     90011479153
535BB12172B27B   AYALA        JURADO                       DC     90012551217
535BB721333696   BRITTANY     TAYLOR                       NC     90015267213
5361125195715B   JUAN         HERRERA                      VA     90008842519
5361155278B169   JOHN         ALLEN                        UT     90002285527
53612AA8361971   JUSTIN       LAKU                         CA     90015260083
5361341A372B43   ISAIAH       NELSON                       CO     90009974103
5361353A261975   ELIZABET     RESENDEZ                     CA     90013035302
53613651772B27   CONSTANCE    SHIELDS                      CO     90012786517
53613AA4791534   ROBERTO      ROCHO                        TX     90013740047
5361412A67B46B   RONALD       PATTERSON                    NC     90010221206
5361423A15B393   GEDIONI      CANUL                        OR     90015042301
536146A2591895   CHAZ         WHEELER                      OK     21011196025
536146A4A61973   JUAN         VILLEGAS                     CA     90004296040
53614A38785928   CRAIG        JORDAN                       KY     67049660387
53614A7692B245   ANTOINE      WHITE                        DC     90008440769
53615361472B36   ALBERTICO    GALINDO                      CO     90013933614
536154A825715B   FRANCIS      GOMEZ                        VA     90002064082
5361618A672B43   DAVID        SWAN                         CO     33073971806
5361674318B191   BERTHA       CEFERRO                      UT     90006617431
5361689A391895   ALEXIS       PEREZ                        OK     90011148903
5361731A272B67   ADRIAN       CARRANCO                     CO     33070213102
5361768A772B77   MARTINA      AVALOS                       CO     33006586807
5361774348B169   AUSTIN       POLL                         UT     31008147434
53617837372B36   ORALIA       ORNELAS                      CO     33035658373
53617A58261975   ALAN         NEELEY                       CA     90014890582
536185A5391534   AMANDA       BREWER                       TX     90012685053
53619643572B49   ADRIANA      RAMIREZ                      CO     90002086435
53619787A72B27   JOSE ANGEL   FRAUSTO                      CO     90007847870
53619A57347836   CALLISTA     JONES                        GA     90009180573
5361B231957157   KESHAWNA     JONES                        VA     90014472319
5361B327893724   DENNIS       FRY                          OH     90009303278
5361B455991881   JAMAL        MCDANIEL                     OK     90011194559
5361B529191521   JOSE LUIS    DE LA CRUZ                   TX     90009405291
5361B96A95715B   JOSE         ANZOATEGUI                   VA     81067019609
5361BA54791534   CALDERA      SANDRA                       TX     75070430547
53621754872B36   AILENE       LUDDY                        CO     90012107548
5362253A261975   ELIZABET     RESENDEZ                     CA     90013035302
53622727576B75   AMBER        BURD                         CA     46094547275
53622A18A85928   DIMAS        PEREZ                        KY     90010390180
53622A46A33699   SAUNDRA      LORRAINE                     NC     90015110460
53623459572B27   ALZA         TUBWELL                      CO     90009944595
5362479515B229   LUNET        GEORGES                      KY     90010727951
53624966376B75   JESUS        ROJAS                        CA     90013039663
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5362527285B393   TERENCE               PRESTON             OR     90010892728
536252A4772B27   DAVID                 BURROUGHS           CO     90013962047
5362542147242B   LISA                  KIERNAN             PA     90010994214
5362552825758B   MARIA                 CAMPOLLA            NM     35510435282
53625A53572B49   STEVEN                MCQUEEN             CO     33015130535
5362655392B27B   CATHY                 REDMOND             DC     90013685539
53627296872B67   IVAN                  TINAJERO ROMERO     CO     90011242968
53627368A2B27B   TERRISA               BRYANT              DC     90013343680
5362761323143B   ROBIN                 MASON               MO     90014736132
53627A82157157   RUSSELL               WIGGINS             VA     90014290821
53628149A72B77   LOURDES               GUTIERREZ           CO     33096701490
53628287A4B588   HOLLY                 PATTERSON           OK     90015262870
5362863A676B75   AIOTEST1              DONOTTOUCH          CA     90015116306
53628A6725758B   CLAUDIA               OROZCO              NM     90011180672
53629115876B75   ANTONIA               LOPEZ               CA     90013121158
5362939767B46B   ASHLEY                HERNDON             NC     90010973976
5362943525B393   DARILYN               BUSCH               OR     90008244352
5362B489855959   CHRISTY               ARIAS               CA     90013124898
5362B57A45B393   JOSHUA                KINGSBURY           OR     90010865704
5362B7A9131429   GARBRIELLE            RHODES              MO     27561077091
5362B9A455B543   JEFTE                 GUTIERREZ           NM     90013849045
5362BA42A5B531   JORGE                 PEREZ               NM     90013120420
5363141185B393   ETHELINA              EPENROSA            OR     90015064118
5363142255B387   THOMAS                ROESER              OR     90014414225
5363175182B27B   JACOM                 MORRIS              DC     90014447518
536322A6172B43   ARAMINTA              JOHNSON             CO     33077612061
53632574A91895   CARA                  BROWN               OK     21086665740
5363322A84B28B   LINETTE               NEAL                NE     26080522208
5363342245B387   BELINTA               SION                OR     90014694224
53633453272B88   NICOLE                SENA                CO     90009994532
536334A3361971   MICHELLE              DICK                CA     46087794033
5363466A991895   LUIS ENRIQUE          PEREZ               OK     90002566609
5363494A15B393   CHERELL               TRIPLETT            OR     44583649401
53635318A63662   PATRICK               ENGLERT             MO     27504293180
536353A254B588   TERESA                KIFER               OK     90015263025
536359A2591534   CHARLES               CARSON              TX     75086969025
53636665176B44   ERICA                 MARTINEZ            CA     90002356651
536366A164B28B   GABRIEL               KWAMBAMBA           NE     26062356016
536368A4772B43   GRACIE                TILLMAN             CO     90014328047
53637562672B36   VICENTE               GARCIA              CO     90009165626
536378A3372B49   MATTHEW               LEVY JR             CO     33031748033
536379A417B46B   KENNETH               JONES               NC     90012889041
5363813A551348   DUSTIN                HELSLEY             OH     90001191305
53638384A5B531   DANIEL                CHAVEZ              NM     90013193840
5363841817B46B   JAVIER                JACINTO JUAREZ      NC     90002844181
53639328172B88   VERONICA              LOPEZ               CO     33016893281
5363949275B387   KIM                   NGO                 OR     90010164927
53639AA6276B75   JULIO                 CRUZ                CA     46055250062
5363B479172B27   CHRISTOPHER MICHAEL   PADILLA             CO     90013744791
5363B533557157   WALTER                PALOMO              VA     90015025335
5363B81A25B531   JOSE                  ROMERO RUEDDA       NM     90001308102
5363B9A9A33696   GARY                  BAKER               NC     90010079090
5364111755758B   DYLAN                 DOCKERY             NM     90014291175
5364127157B46B   AYANA                 DANIEL              NC     11090402715
5364144992B27B   JOSE                  MELENDEZ            DC     90012174499
5364169125B387   RAYCE                 LAMAR               OR     90007846912
53641746172B43   JESUS                 COSS-VILLA          CO     33084207461
53641828872B27   KEIRA                 COMBS               CO     90015288288
53642696972B88   JAMES                 LONTEEN             CO     33012526969
5364278687242B   PAYGO                 IVR ACTIVATION      PA     90015127868
53642A1268B169   ADAM                  MATTHEW             UT     90010440126
53643A62136165   MARIA                 CHAVEZ              TX     90006710621
5364448557B397   SOHEIL                ZANDI               VA     90005824855
53644671672B27   LOUISE                SANCHEZ             CO     33035446716
5364491A371964   DESHAWN               FINNEY              CO     90014719103
5364513345B531   ESTHER                GOMEZ               NM     90011511334
5364525825758B   RUDY                  TELLES              NM     90013982582
5364545822B27B   JOSHUA                LAWSON              DC     81048324582
536455A3671964   JUAN                  CALDERON            CO     32044615036
53646933A5B531   JOSEFA                LOYA-CARRILLO       NM     35077719330
5364749815B393   LADDA                 SUDARAK             OR     90013954981
5364757917242B   MARY                  BROKER              PA     51070235791
5364795A872B77   CESAR                 GONZALEZ            CO     90002589508
5364798827B46B   BRANDON               PORTER              NC     90008789882
536482A2772B49   CANDI                 FITCH               CO     90015102027
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5364866A172B88   DAWN         FURR                         CO     33031216601
5364941397B46B   ESTEFANIA    ZARATE                       NC     90013724139
5364B133A61971   COURTNEY     WARD                         CA     90011241330
5364B214772B43   RONALD       CHAVEZ                       CO     90014812147
5364B287271964   MICAEL       CHAPMAN                      CO     90009502872
5364B49815B393   LADDA        SUDARAK                      OR     90013954981
5364B572772B49   SARAH        VIGIL                        CO     90013345727
5364B58A885928   HANNAH       CLOUSE                       KY     90010715808
5364B969172B49   NORBE        GONZALES                     CO     90004139691
53652669A42335   MICHAEL      JACKSON                      GA     90014456690
53652675772B43   DEBORAH      BARDALES                     CO     90013976757
53652AA8661975   EDUARDO      VASQUEZ                      CA     90013090086
5365325745B393   ELIZABETH    GRIFFIN                      OR     44597122574
5365339A961971   JOSE         ARAMBURO                     CA     90013283909
536537A425593B   ERIKA        ESQUIVEL                     CA     90012867042
5365416175758B   CARMEN       CENICEROS                    NM     35528241617
53654277A72B49   ERIC         GRUNEISEN                    CO     33025172770
536549A6672B27   SANDRA       MONDRAGON                    CO     90007769066
5365539918B191   CARRIE       YOUNG                        UT     31005853991
5365617315B283   ASHLEY       SHRODE                       KY     68022641731
5365644438B169   BRANDY       CARPENTER                    UT     90014694443
53656661272B27   IRMA         MORENO                       CO     90014856612
5365687465B531   ROY          SANDOVAL                     NM     35021188746
53656A23961973   SUSAN        CHRISCO                      CA     46069230239
53657AA2791534   TERESA       JIMENEZ                      TX     90006350027
5365849815B393   LADDA        SUDARAK                      OR     90013954981
5365858145B387   NATASHA      STILES                       OR     90014435814
5365867A561973   SAMUEL       BRAVO                        CA     90012416705
5365937557B46B   DAEDRIANA    JACKSON                      NC     90014843755
536595A5455959   PIMP         IM THE                       CA     90010315054
5365995355B387   KAMERON      VANDERGRIEND                 OR     90013989535
5365B336293724   ANTHONY      SMITH                        OH     64587943362
5365B8A9861971   JESSICA      GILLETTE                     CA     90005508098
53661217A72B88   JESUS        CASTILLO                     CO     90003822170
53661A5165715B   OBDULIO      MILTON                       DC     81043310516
5366231A861973   GABRIELA     NUNO                         CA     90012293108
536624A7955959   AIMEE        HERNAND                      CA     90002804079
5366295465B387   MATTHEW      CRANE                        OR     90014779546
536629A9372B49   RAMIREZ      OCTAVIO                      CO     33024119093
536632A495B399   TORY         THOMPSON                     OR     44520782049
5366336917B46B   NITA         INGRAM                       NC     11052193691
536636A257242B   ASHLEY       WOOD                         PA     51088316025
53664793A71964   BRIAN        THOMASSON                    CO     90008747930
53664815A85928   BREANNA      BENSON                       KY     90015438150
53664A24155959   JESUS        TORRES                       CA     90015160241
5366513347B46B   JOAB         VIDALES                      NC     90008741334
5366539185B387   KATRINA      TIRY                         OR     90015263918
53665A69585928   SHANIBBIAH   JACKSON                      KY     90012850695
5366635A333699   KENNETH      K CROCKETT                   NC     90003633503
536663AA872B36   ANTONIA      BUSTAMANTE                   CO     33057493008
5366694865B531   CHRIS        HERNANDEZ                    NM     90003989486
536675AA472B88   ADAM         WALLACE                      CO     33016895004
53668A83A72B27   JOSE SILVE   BANUELOS                     CO     33092280830
53668AA925B393   KRYSTAL      DUFF                         OR     90014920092
5366912A791534   GABRIELA     CABALLERO                    TX     75092661207
5366916917242B   RANDY        STEVENS                      PA     51019351691
536695A2485928   GUSTAVO      TORRES                       KY     90013975024
536695A6372B88   JOSE         HERNANDEZ                    CO     33016895063
53669A13672B49   MARCO        PADILA                       CO     90013150136
53669AAA655959   MARGARITA    LEON                         CA     90013990006
5366B86715B393   DAVID        PFEIFER                      OR     90013438671
5366BA61355959   ELMER        SANCHEZ                      CA     90011380613
53671463A4B588   ANNA         LITTLE                       OK     90014804630
536714A415B531   CHRISTINE    NOEL                         NM     35083254041
5367182A272B36   JENNIFER     BOONE                        CO     33014058202
5367193262B27B   REGINALD     SMITH                        DC     90014599326
53672148872B49   CHARLES      EZELL                        CO     90014691488
53672355A7242B   JASON        REGULA                       PA     90005203550
536725AA15B271   ASHLEY       COATIE                       KY     90005385001
53672837176B75   OSCAR        JUAREZ                       CA     46041048371
5367348A971964   THERESA      CHACON                       CO     32030234809
53673A8A35B399   VYCHESLAV    SKOBILEV                     OR     90004580803
536743A2472B43   SAMUEL       HERNANDEZ                    CO     90010753024
53674887372B49   TODD         FAULKNER                     CO     33067948873
5367496545B531   VICTORIA     GAVALDON                     NM     90015129654
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53674A34191895   PAMELA        MCCARTY                     OK     21087090341
5367566735758B   SONNY         SMITH                       NM     90013996673
53675895A61971   DOUGLAS       BINGHAM                     CA     46011688950
53675A1168B169   TERESA        PETERSEN                    UT     31000220116
53676211176B75   MISTY         ESCOBAR                     CA     46011152111
5367688444B922   PAYGO         IVR ACTIVATION              TX     90015208844
5367694AA61971   LORENA        LOPEZ                       CA     90013649400
53678562476B75   ELIZABETH     DELACRUZ                    CA     90013895624
5367874A15B399   MARTHA        SANCHEZ                     OR     90001547401
53679269672B49   HILDA         GONZALEZ                    CO     33074112696
536792A7A91534   MARIALENA     DOMINGEZ                    TX     75010282070
53679928A5B393   ABEL          DE LA CRUZ                  OR     44517049280
53679A4A65758B   SARA          ARCHULETA                   NM     90014220406
5367B13A691895   JOSLYN        HARRING                     OK     90013931306
5367B217472B49   EVERETT       JASON&NICOLE                CO     33073762174
5367B33128B169   JARED         BOOG                        UT     90006093312
5367B55235B531   WILLIAM       NATIONS                     NM     35058265523
5367B577876B75   M IVETTE      VALDOVINOS                  CA     90009705778
53681477172B49   PATRICIA      GUITIERREZ                  CO     33050134771
5368168995B387   JAVIER DANA   ALAN                        OR     90015106899
536816AA25B387   RICHARD       FERRI                       OR     90009406002
53682152872B36   ELISHA        DEAL                        CO     90012081528
53682168172B49   SHEILA        SMITH                       CO     33077751681
5368234742B27B   ANN           STOCKMEYER                  DC     81073513474
5368238875B531   RICHARD       GALLEGOS                    NM     90011873887
536827A933B338   JOSE          ANTONIO CARBAJAL            CO     90001877093
5368281624B28B   ANN           COREY                       NE     90003328162
5368333A398B2B   LAURETTA      FRAZIER                     NC     11046423303
53683423A55959   JUANITA       LOPES                       CA     90010674230
5368343A172B88   YOLANDA       ESTRADA                     CO     33072784301
5368359A15758B   ROBERTO       RUIZ                        NM     35572215901
5368371A972B49   IMELDA        DIAZ                        CO     33076307109
53683A6A14B588   DELANA        ROBERSON                    OK     21583120601
5368436325B393   CECILIA       VALDIVIA                    OR     90004213632
53685324372B36   ANNETTE       GONZALEZ                    CO     33091033243
53685581A91534   CARLOS DIAZ   DE LEON                     TX     90012035810
5368558A65B399   JOHN          TAYLOR                      OR     90003845806
53685796724B7B   TIFFANY       MOSS                        DC     81065287967
5368635842B27B   JONICA        OLIVER                      DC     90013223584
5368657A671964   JOSE LUIS     VAZQUEZ                     CO     90013255706
5368716A95758B   MIREYA        HERNANDEZ                   NM     90008921609
536872A9A72B43   DANNY         AGUIRRE                     CO     33015992090
5368B15925B531   LAURA         SANCHEZ                     NM     90007891592
5368B57A671964   JOSE LUIS     VAZQUEZ                     CO     90013255706
5369292625758B   CHRIS         MORENO                      NM     35543919262
53692969572B43   FELICITO      CASTRO                      CO     90000299695
5369431177242B   JULIANO       LATHROP                     PA     90015303117
53694546A71964   JUDY          OLHAVA                      CO     90013075460
53694A81261975   IRMA          ZEPULBEDA                   CA     90014630812
53695324A93724   BILL          HEDGES                      OH     64548023240
53695881A91534   JULIETA       ROMERO                      TX     90008548810
5369643AA91895   MYESHA        BROWN                       OK     90009824300
536966A717242B   JUDITH        LLOYD                       PA     51065136071
5369722845B399   HEATHER       JEALOUS                     OR     90010132284
53697588872B43   LUIS          FLORES                      CO     90013265888
5369771A972B77   AUDREY        TORREZ                      CO     33041667109
53697839A5B399   JULIANE       WEAVER                      OR     90014818390
53697869772B88   MARIA         DE LOS SANTOS               CO     90003188697
5369814657B46B   CRYSTAL       HAMILTON                    NC     11030151465
53698582472B36   DUANE         BEYER                       CO     90014385824
53698A1185758B   MELLETANA     RAMSEY                      NM     35581960118
53698A2A571964   ROGELIO       ARREGUIN-MANCERA            CO     90009610205
53698A4A272B49   DANIEL        WILLIAMS                    CO     33044010402
53698A94A61973   RYAN          FORD                        CA     90013240940
5369926A461836   NICOLE        HAUSMAN                     MO     90009012604
5369987742B27B   RENALDO       LUCUS                       DC     90015178774
5369B135384373   CHRIS         GUST                        SC     90003781353
5369B417191895   ONORATO       CARMONA                     OK     90005054171
5369B4A525B271   JOSE          RODAS                       KY     90002204052
5369B55135B531   CRYSTA        TRUJILLO                    NM     35032385513
5369B918372B43   KEITH         HOOVER                      CO     33092759183
536B11A3761973   OSCAR         CELEDON                     CA     90013801037
536B1569672B49   NATHAN        BUSCHMAN                    CO     90005885696
536B248A272B27   JORGE         GONZALEZ                    CO     33083084802
536B24A8176B75   ELIAS         OROZCO                      CA     46036434081
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536B317615B393   CAMERON       MACLEAN                     OR     90005571761
536B3523961975   BERNICE       GOFF                        CA     90013035239
536B399485B391   TINA          WHITE                       OR     90009149948
536B3A93271964   CLAUDI A      BARAJAS                     CO     90007120932
536B4284161973   JESUS         CASTILLO                    CA     46036942841
536B498442B27B   JORGE         ARGUETA                     DC     90001269844
536B582497242B   PAMELA        BROOKS                      PA     51034388249
536B5A1122B237   DJ            SOLOMON                     VA     90006400112
536B5A52757157   ESPERANZA     RODRIGUEZ                   VA     90002650527
536B6267733696   ANGEL         MURRAY                      NC     90011192677
536B635637B46B   MAYRA         AMAYA                       NC     90013563563
536B635654B28B   MARSHAUNE     NIMOX                       NE     90006633565
536B6478472B88   RAUL          DIAZ                        CO     90005844784
536B66A592B27B   JAMES         ARTIS                       DC     90015266059
536B6793A71964   JASMINE       MOORE                       CO     90014707930
536B765A772B27   LUIS          HERNAN                      CO     90015146507
536B7716855959   EUGENIO       HUERTA                      CA     90013117168
536B855595B543   MONSERRAT     MONTANEZ                    NM     35027435559
536B87A548B169   BRANDI        PEMBELTON                   UT     90014657054
536B882622B27B   DEBORA        NUNEZ                       VA     81086638262
536B883A95758B   ELIZABETH     ALVAREZ                     NM     90008818309
536B914A771964   CHRISTOPHER   DOUGLAS                     CO     90007121407
536B937892B27B   OSCAR         RIOS-ECHEVERRIA             DC     90015273789
536B9649655959   MATTHEW       MEJORADO                    CA     48007616496
536B9787972B88   EVERETT       APPLEGARTH                  CO     90003187879
536B9911755959   LAURA         RUIZ                        CA     90014999117
536BB12582B27B   SHEMIKA       YOUNG                       DC     90012551258
536BB322572B67   ELOISE        MORENO                      CO     33082303225
536BB4A9161971   JUHAR         SLEEA                       CA     90002914091
536BB812261975   DELIA         MUNOZ                       CA     90013798122
53711716972B36   CHRIS         PRISINZANO                  CO     33012897169
5371251137242B   CICELY        MOORE                       PA     51031305113
53712A53A72B36   BRENEN        ACEVAS                      CO     33048030530
537131A935B271   LUCIO         RARMIREZ ROJO               KY     68088011093
5371327975758B   SANDRA        MONTOYA                     NM     90007512797
53713321872B88   AIDE          HERNANDEZ                   CO     33039063218
5371431789196B   CASSIDY       SHERRON                     NC     90013723178
53714728544B3B   KEN           WOJTONEK                    OH     90014177285
5371559AA72B27   JOSE          NUNEZ                       CO     33042375900
53715838772B88   EFREMTECLE    GEBREMARIAM                 CO     33083418387
5371587295B393   TORO          KHAMSOUK                    OR     90014458729
5371638234B28B   BRIAN         MCCRACKEN                   NE     90009323823
5371778437B46B   ADRIENNE      REDDICK                     NC     11039257843
53717A9A871964   JAMIE         HACKNEY                     CO     32040440908
5371835815B387   DANIEL        SORLIEN                     OR     90013683581
53718589172B88   RAMIRO        RAMIREZ                     CO     90009155891
53718A96572B43   ANTONIO       ZUNIGA                      CO     33043910965
5371922918B169   NICOLE        NUFRIO                      UT     90009112291
53719568472B27   CATLIN        JOANN                       CO     90002135684
53719716876B75   MARK          RHODES                      CA     90014977168
5371981624B28B   ANN           COREY                       NE     90003328162
5371991645B283   CLAUDIA       RODRIGUEZ                   KY     68069879164
5371B41315B543   JOSE          RENTERIA                    NM     90006944131
5371B531472B27   ANA           COLONNA                     CO     33059855314
5371B78224B28B   AMBER         OLBERDING                   NE     90012337822
5372127685758B   HANNA         APODACA                     NM     90014382768
5372163575B271   SARAH         PEACH                       KY     90006426357
53721681472B49   KAREN         SAYLOR                      CO     90013226814
53721A4655B387   KAYLA         SAMPSON                     OR     90011960465
537221A8572B27   ESTHER        GUTIERREZ                   CO     90013611085
537222A9631428   CRYSTLE       COLLINS                     MO     27547292096
53722322A72B36   YURIDIA       TINOCO                      CO     33020593220
5372264198B169   JENNIFER      MILLER-TRUJILLO             UT     90004536419
5372318558B169   JESSE         GOMEZ                       UT     31065651855
537236A5961975   GREG          LEONARD                     CA     90013976059
537236AA15B393   MANDY         OLSEN                       OR     44561006001
53723A88361975   CHARLIE       CHAVEZ                      CA     90014850883
5372415357B46B   MONIQUE       TAYLOR                      NC     90014831535
53724433A5758B   ERNEST        LUCERO                      NM     90014884330
5372444575715B   WILLIAM       WHITE                       VA     90013454457
53724723472B36   JOSE          SANCHEZ                     CO     33034567234
53725267472B49   APRIL         FOSTER                      CO     33088492674
5372567175B399   SHERRY        SHANER                      OR     90003546717
53725763672B27   JAMES         BROWN                       CO     33090587636
53726316772B36   WESLEY        SHILZ                       CO     33039183167
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53726A81191534   ERIKA        ESTRADA                      TX     75024550811
537278A462B27B   RAYMOND      VALADEZ                      VA     81004828046
53727933A5B531   JOSEFA       LOYA-CARRILLO                NM     35077719330
5372841A172B27   MARCIN       WITUCKI                      CO     33013374101
5372845315B387   TAWNIE       JOHNSON                      OR     90010914531
537284A5791895   MARCELINO    ENRIQUEZ                     OK     90010854057
5372872945758B   BOBBY        FRANKLIN                     NM     90015117294
5372874935B399   STEVEN       MCCUTCHEN                    OR     90011347493
537293A447B46B   TAWANDA      PRICE                        NC     90015023044
53729478A33696   MARIAM       MAHMOUD                      NC     90012074780
53729577A5758B   MARIA        GONZALEZ                     NM     90014155770
53729673376B75   SARA         VELEZ                        CA     90013696733
53729676372B49   JOSEPH       RODRIQUEZ                    CO     90011356763
5372B21A951367   RYAN         GAITHER                      OH     90012512109
5372B25514B28B   APRIL        ALDERSON                     NE     26046062551
5372B315251348   SHARON       BLUNT                        OH     90013533152
5372B552891534   BRENDA       GOODE                        TX     90009925528
5372B686185928   ROANDA       SAFI                         KY     90000676861
5372B893561973   FRANCISCO    GUTIERREZ                    CA     90013358935
5372BA62372B36   SERGIO       MARTINEZ                     CO     33087960623
537317A6276B75   MARIA        HERRERA                      CA     90013007062
53732497A57157   ELIZABETH    ROBERTS                      VA     90011164970
5373287118B169   TIFFANY      BARFUSS                      UT     90014688711
53732A1495B393   REBECCA      WHITE                        OR     90006590149
53733236A5B393   MARCUS       SHAMBRY                      OR     90002172360
53733746672B88   MICHAEL      KHAN                         CO     90003817466
53733AA235B223   JOYCE        COPPEDGE                     KY     90008960023
537342A847B46B   TAY          SUMPTER                      NC     90013202084
537344A9593724   JESSICA      RICHMOND                     OH     90010214095
537347A8291534   ANN GRACE    MARTINEZ RAYITO              TX     90012267082
53734983772B36   KEVIN        DEVER                        CO     90013599837
5373541765758B   JESSICA      ARROYO                       NM     90014854176
53735565A72B97   FIRMIN       CERDA                        CO     33094155650
53736254872B49   ENJOLI       ANDERSON                     CO     90012672548
537362A7A93724   BRENDA       WARD                         OH     64575442070
53736412A76B75   BOB          RIGHTLEY                     CA     90001044120
537368A365B531   CYNTHIA      MALDONADO                    NM     90009948036
5373699927247B   CARL         MEIXNER                      PA     90003499992
5373714437B46B   JOHN         DEVDE                        NC     90010011443
5373732914B28B   ROBERT       MCCOWN                       NE     90001093291
5373773245758B   JOHN         DOE                          NM     90011427324
5373773975B399   MAHADHI      MAHADHI                      OR     90010247397
5373794334B588   MARCUS       SPICER                       OK     21562979433
5373836A65B393   JOSEPH       BRASSEUR                     OR     90009673606
53738375572B43   JOSH         HANEY                        CO     33059233755
5373841195758B   JUAN         NUNEZ                        NM     90009874119
5373881195B283   JACK         BABER                        KY     90001498119
5373885A751348   NICELY       SCOTT                        OH     90007668507
53738949A2B27B   NADIA        STEVENS                      DC     90010919490
53738A6215B531   JOEL         HARVEY                       NM     35053940621
5373926585B393   MICHEL       PEREZ                        OR     90013182658
53739283772B49   BENJAMIN     GRAY                         CO     90014772837
53739A3A92B27B   MARIA        ALFARO                       DC     90015010309
5373B62A361971   JOSE         MORELOS                      CA     90014476203
53741A3A35B244   STEPHANIE    STURGEON                     KY     90013640303
53741A67972B67   RUSSELL      FOTHERGILL                   CO     33096530679
53742383676B75   SOFIA        OCAMPO                       CA     46066353836
5374241813B387   SARAH        SNEAD                        CO     33034404181
5374292347242B   JEROMY       PEGG                         PA     51006789234
5374363A55B531   CHERISE      SALAS                        NM     35007676305
537436A615B399   MONICA       HEUSEL                       OR     90013906061
53743A4117B46B   SHANNON      WORTHAM                      NC     11089420411
537444A7572B27   JORGE        OSUNA                        CO     33059524075
537446A185B531   MAURICIA     FLORES HERNANDEZ             NM     35073606018
53745331872B43   MIGUEL       FLAENCO                      CO     90013853318
5374552A15B393   CRYSTAL      MELLOW                       OR     90010815201
53745A4954B28B   TONY         SMITH                        NE     90007450495
5374658834B588   ANTONIO      LOPEZ                        OK     21562985883
5374736387242B   THOMASINA    PRYOR                        PA     90009543638
53747458A72B36   THERESA      VALENCIA                     CO     90008034580
5374826955758B   RAYMUNDO     VENEGAS                      NM     90013542695
537496A177B46B   JAMES        HAILSTOCK                    NC     90011026017
5374978425715B   KAREN        MCKEON                       VA     90010727842
53749874698B2B   OCTAVIO      MILLER                       NC     90013678746
53749A58461995   MARIA        RODRIGUEZ                    CA     90003690584
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5374B1A1461975   JACKY        WILLSON                      CA     90010041014
5374B519591534   CONSUELO     PINTOR                       TX     90009985195
5374B56327B46B   MARIA        POMPA                        NC     11054305632
5374B9A4972B49   CHAD         SOLSRUD                      CO     90013629049
53751359372B27   DERRALL      STROCK                       CO     90014563593
5375176A172B27   SYLVIA       TRIJUILLO                    CO     90011267601
53751AA1184373   EDUARDO      BONILLA                      SC     19051490011
53752419372B77   MARIA        ORTEGA                       CO     33001134193
5375259928B169   TARYNA       JAMES                        UT     90014695992
53752614672B43   MARTIN       MARTINEZ                     CO     90014546146
5375354367B46B   MARIE        STEPHENS                     NC     90014515436
5375359415B531   ENJOLI       SENA                         NM     90010245941
53753732772B49   SAMANTHA     SWENSON                      CO     90010407327
53753981872B36   EDUARDO      CHACON LOPEZ                 CO     90014759818
537544A3633699   DANIEL       HAIRSTON                     NC     90010394036
537546A4291895   MIRIAM       VILLICANA                    OK     90009836042
53754732898B2B   CHENELL      MASSICOT                     NC     11088857328
537553A1557124   JOSE MARIO   ORTIZ                        VA     81002333015
53756263476B75   LUCY         GOMEZ                        CA     90014572634
5375662125758B   NORMA        DURAN                        NM     90002906212
53756A59961971   NELLIE       REED                         CA     46028640599
5375782835758B   ARTURO       RUIZ                         NM     90014388283
537578A2661973   CHERYL       REED                         CA     46055378026
53757961A33696   DANNY        KINLEY                       NC     90015139610
537584A6872B27   ROBERT       BOCA                         CO     90014324068
5375856A991895   EAVAN        CRAVEN                       OK     90012685609
5375868295B531   NEIL         HENRY                        NM     90010406829
53759285972B49   VICTOR       HERNANDEZ                    CO     90014772859
537594A4A4B28B   ALYAS        MUQDAD                       NE     90006704040
5375984AA61971   AMBER        SHAW                         CA     90000548400
53759987A4B53B   MARLON       CIFUENTES                    OK     90002639870
53759A34898B2B   ANTHONY      WILSON                       NC     11045300348
5375B511176B44   LINDA        FLEAGER                      CA     46069555111
5375B521A31428   ARMENTA      WASHINGTON                   MO     90014235210
5376119A191895   SARAH        GREEN                        OK     90013931901
53761339A72B49   JAMES        HUETER                       CO     33000833390
53761449176B75   ISAIH        GASTELUM                     CA     90014714491
5376162125B543   LYDIA        ROBLES                       NM     35017426212
53761856572B36   ARISBET      ROMERO                       CO     90010158565
5376226857242B   ASHLEY       WEAVER                       PA     51014342685
5376235345B531   DESIREE      SULLIVAN                     NM     90012253534
5376285775758B   LYNETTE      RUBIO                        NM     90009728577
5376291314B23B   KIMBERLY     TYREY                        NE     27005059131
53762974498B2B   VALERIA      REYES                        NC     11079799744
5376382342B27B   COLBY        PREVOST                      DC     90000788234
5376382A561975   SAUL         ONTIVEROS                    CA     90010048205
537643A1284329   FILIBERTO    HERNANDEZ                    SC     90012273012
53764A8977242B   EDWARD       CAMPBELL                     PA     90011340897
5376582518B169   WAYNE        FAWBUSH                      UT     90014698251
5376584717242B   JILLIEN      KOZIENIAK                    PA     51052158471
5376626363B399   STEPHANIE    HERNANDEZ                    CO     90014762636
5376695592B27B   JAIME        VASQUEZ                      VA     90014849559
5376728295B531   JAVIER       MARTELL                      NM     35012822829
5376768572B27B   SUBASH       GURUNG                       DC     90003196857
53767A4A95B271   SHANNON      LOGSDON                      KY     90004230409
53768151A91895   ANITA        NULLINER                     OK     21075571510
537682A4333699   NICOLASA     FRANCISCO                    NC     90013362043
5376895735B531   ARTURO       HOLGUIN                      NM     35011819573
53768A63161971   ALICIA       VAZQUEZ                      CA     46069180631
5376955765B399   CARRIE       MURRAY                       OR     90009685576
5376B164172B49   YESENIA      MEDINA                       CO     33000361641
5376B388872B77   TY           GALES                        CO     90011253888
5376B429757157   VALERIE      MARTIN                       VA     90014574297
5376B687457157   SYLVIE       ATSAMA                       VA     90011026874
5376BA4185B393   JAQUNIA      LINCOLN                      OR     90011160418
5377151275B399   STACIE       WILLIAMSON                   OR     44589325127
53771A3817B46B   MAURA        FLORES                       NC     11061500381
5377214524B28B   SHERRIAH     HENDERSON                    NE     90007821452
5377236158B169   ERICK        BETTIS                       UT     90012383615
53772A62461975   ALAN         RODRIGUEZ                    CA     90010650624
53773239276B75   JOSE DIEGO   DIAZ                         CA     90008312392
5377333A872B27   PATRICIA     CALVILLO                     CO     33050353308
5377376AA91895   MICHAEL      MOORE                        OK     21013387600
53773A1284B588   ARSENIO      PEREZ                        OK     90002330128
53773A82A7242B   JOHN         PERKEY                       PA     90013960820
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5377436158B169   ERICK        BETTIS                       UT     90012383615
53774A29961973   LAURRY       REYES                        CA     46088210299
53774A57961973   MARIA        NUNEZ                        CA     46050140579
5377543185715B   ZOILA        NOLASCO                      VA     90008924318
53775554772B67   THERESA      CORDOVA                      CO     90002715547
5377599A472B27   KARLA        MANJARREZ                    CO     90008149904
53776593772B43   DARCEY       HUTCHINSON                   CO     33078985937
53777224176B75   PEYTON       COOPER                       CA     46027652241
5377735A543569   CHRISTINA    LOPEZ                        UT     31087153505
53777388272B49   ADRIENNE     DANIELSON                    CO     90004373882
5377757915715B   MIGUEL       OSORTO                       VA     81013025791
53777984272B43   MICHAEL      PEARCE                       CO     33001079842
53777A5518B169   CURTIS       RYLAND                       UT     90014290551
5377812445B387   TIFFANY      LEANNE                       OR     90007371244
53778149872B27   RUBY         URSTADT                      CO     90015061498
53778338572B97   TABITHA      JACKSON                      CO     90008243385
537783A9172B43   CHRISTIAN    VIRGEN                       CO     90010233091
537791A5A61973   ADAM         NUNO                         CA     90001201050
53779256272B36   VANESA       BANDY                        CO     33074732562
53779283A85928   ARLENE       PNEUMAN                      KY     67066112830
53779621A72B27   NICOLE       ARAGON                       CO     90013696210
5377962455B399   JENNIFER     DETERS                       OR     90014946245
5377977298B169   KATIE        STANGER                      UT     31040127729
5377B16815B531   ALVINA       GONZALES                     NM     90014091681
5377B3A285B387   AARON        SMITH                        OR     44590673028
5377B99535B531   DAVID        BRYANT                       NM     90012119953
53781135A5758B   MARIANITA    PEREZ                        NM     90007391350
5378162535715B   SENI         JIMENEZ                      VA     90010256253
53781952A76B75   MARIA        RUIZ SOLLS                   CA     90012929520
53781A67572B77   NERY         MEDA-CORADO                  KY     33048370675
537823A5857157   STEVE        LANHAM                       VA     90014403058
537826A9161973   RUBY         FLORES                       CA     90007816091
537829A1661971   CANDIDO      PONCE                        CA     46038299016
53783A79A5B151   STEVE        TAYLOR                       AR     90010050790
53783AA5677361   DIANE        GUZMAN                       IL     90001000056
5378454A172B88   MARC         CABRAL-DECEUS                CO     90005845401
53784599872B36   MARCELINO    GOMEZ                        CO     90008185998
5378461A271964   MARY         ADAMS                        CO     90006366102
53785278A31428   RICK         JAMES                        MO     27581222780
5378626175B283   CARIE        LIERAS                       KY     68006632617
53786543472B43   RAYMUNDO     VALENZUELA                   CO     90001765434
53786A46872B49   CATHLEEN     FARLEY                       CO     33079230468
5378781655B399   CINDY        RODRIGUEZ                    OR     44546838165
53787A6A984357   BYRON        CUENCA                       SC     90002830609
537882A8857157   ARNULFO      RAMOS                        VA     90014482088
5378848A27B46B   CHRISTINE    STEWORT                      NC     90010974802
5378882A751348   OTIS         HORSLEY                      OH     66094608207
53788A8748B169   JACOB        KOENEMAN                     UT     90008850874
5378975835B399   CHARLES      QUINN                        OR     90014307583
53789993172B77   SAMANTHA     THURBER                      CO     90011059931
5378B2AA485928   DUSTIN       HANNAH                       KY     90013422004
5378B449298B2B   FONDA        CLARK                        NC     90005864492
5378B516251348   TAMEKA       WILLIAMS                     OH     66001675162
53791573772B49   MICHAEL      DELOACH                      CO     90012675737
5379174935B387   DARRYL       STEWART                      OR     44542787493
53791771172B36   XOCHIL       OROZCO                       CO     90012107711
53791A58372B27   DAWN         RICHARDSON                   CO     90011850583
53792584872B43   TRAVIS       WRIGHT                       CO     90014535848
537926AA357157   CARLOS       PACKWOOD                     VA     90011036003
53793751172B27   TERRY        MEEKS                        CO     33075947511
53793755A76B75   HERON        CARRILLO                     CA     46026017550
5379389117B372   JUAN         CASTRO HERNANDEZ             VA     81052658911
53793957A5B531   ANTWINETTE   CARRILLO                     NM     90014779570
5379397722B27B   MARK         BECKFORD                     DC     90010919772
53793A1A891534   SERGIO       VILLARREAL                   TX     75004040108
53793A42757157   MARIA        ESPINOZA                     VA     90013380427
5379444613B16B   TSEGMAMLAK   MOHAMMAD                     DC     90012774461
53794A86933696   STACEY       KALILOU                      NC     90012880869
53794AA517B46B   MOREOS       VEGA                         NC     90012890051
53795A65461473   DYSTENI      QUINTANILLA                  OH     90015050654
53795A8A972B77   STACIA J     HAYNES                       CO     90001590809
53796234172B27   STACY        MERELLI                      CO     33061572341
53796239472B36   MARINA       JIMENEZ                      CO     33035602394
5379628365B399   BLAKE        SMITH                        OR     44577852836
537962A8785928   JALAYA       LILLARD                      KY     67003372087
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537971AAA51348   TOMARSHA            HARRISON              OH     90009031000
53797365972B88   RUBY                PRAEGER               CO     33010773659
53797972A2B27B   DANELY              RAMERIZ               DC     81025029720
53797A6885B271   TAWANDA             MACHIRI               KY     90007340688
5379813228B169   LJ                  SMITH                 UT     90012941322
53798828672B43   BEAU                PEPLOW                CO     33012068286
537988A6A91534   JASON               JORDAN                TX     90013148060
5379924945B271   RHONDA              COLLINS               KY     90002212494
53799335A5B399   LISA                DUDLEY                OR     44571283350
5379933974B28B   ASHLEY              KNIGHT                NE     90010603397
537996A2651348   PATRICK             GAU                   OH     90015146026
5379B272684357   STEPHER             FRIPP                 SC     90009512726
5379B565755959   FAUSTINO            JIMENEZ               CA     90010425657
5379B749191552   ALICE               BELLAH                TX     75065457491
537B1117171964   BRYAN               GRIFFIN               CO     90000601171
537B196985B393   RODARIO             HERNANDEZ             OR     90013529698
537B1A7457B46B   MIRIAN              SUAZO                 NC     90008790745
537B264425B399   TINA M              HUDDLESTON            OR     90010986442
537B275A88B169   ROBERT              MOLLER                UT     31084887508
537B2881361973   LOURDES             HERRERA               CA     90013298813
537B2889757157   QUATEASE            TANN                  VA     90011018897
537B2934272B77   CHERYL              KELLY                 CO     33015059342
537B3198972B77   AARON               FRESQUEZ              CO     90012761989
537B3325485928   RYAN                SNEAD                 KY     90014933254
537B423A657157   CLARENCE            LEWIS                 VA     90007972306
537B4628161975   ERNESTO             GONZALES              CA     46078336281
537B48A2672B43   THERESA             GUARDIPEE             CO     90004108026
537B499A74B251   LAURA               OCHOA                 NE     90012749907
537B516AA72B43   KIMBERLI            LEWIS                 CO     33080891600
537B5322161975   DOMINIC             PACHECO               CA     90013883221
537B548325B393   SASHA               SCHWENK               OR     90014744832
537B56A812B27B   SHARON              MOZO                  DC     90009266081
537B593587242B   MATTHEW             GALANTE               PA     90012489358
537B59A645B387   JOSE                ESTRADA               OR     90007219064
537B5A2775B393   DANIEL              SNOW                  OR     90014790277
537B5A6A671922   DONALD              HENSON                CO     90009560606
537B651362B27B   DOMINIQUE           FOSTER                DC     90013595136
537B652AA55959   RACHEL              MORAN                 CA     90011035200
537B662A472B27   JESSICA             HOWARD                CO     33098786204
537B6663A61975   ROSA                AGUILAR               CA     90004646630
537B6756261973   CRYSTAL             DIAZ                  CA     90013717562
537B6893933699   ARTESSA             GARNER                NC     90014658939
537B6985691534   ABBRUZZI            MARIE CLAUDINE        TX     90010809856
537B728755B393   NOUR                MOBARAK               OR     44512652875
537B7369A61975   EDUARDO             MATA                  CA     90014093690
537B775885B399   PAYGO               IVR ACTIVATION        OR     90013457588
537B7A25671671   EVELYN              HURRIS                NY     52029790256
537B7AA865758B   MARIA               GARCIA                NM     35553060086
537B8168576B41   ROSALBA             ECHEVERRIA            CA     46041111685
537B81A5A61973   ADAM                NUNO                  CA     90001201050
537B8228371964   CHRISTINA           MAEZ                  CO     32087922283
537B8899A61975   CARLOS              ROJAS                 CA     46098028990
537B8969771964   ROBERTO             CHILEL                CO     90014739697
537B915AA91895   JODY                MONTEILH              OK     90013931500
537B9231291534   GREGORIO            RAMOS                 TX     90006402312
537B9249284373   COREY               RICE                  SC     90009042492
537B9312757157   FRANKLIN            QUINTANILLA           VA     90013363127
537B94A7372B43   LILIANA             GARCIA                CO     90015154073
537B96A7572B97   ROBERT              ICASIANO              CO     90008206075
537B9A45661973   MICHELL             SOUICE                CA     90014540456
537B9A8865B387   LINDSEY             WARREN                OR     90014730886
537BB146455959   RAYMOND             HASSAN                CA     48075561464
537BB161991895   JAMES               WEISS                 OK     90014171619
537BB199372B36   OKSANA              AICOLINO              CO     90010471993
537BB798151388   TERRY               ASHER                 OH     90001067981
537BB82AA85928   EVAN                TERRANCE              KY     90014788200
537BB9AA772B27   JOSE                QUIROZ                CO     90000569007
5381138555B523   ERIC                ROSAS                 NM     90010003855
5381171847B46B   NORMA               CONTRERAS             NC     90015137184
53811A7665B393   DEMETRIA            MARRION               OR     90009740766
538122A6671964   CARLOS AND MARTHA   AGUILAR               CO     90014722066
5381235A155959   JOSEPH              MENDEZ                CA     48038263501
5381317397242B   SANDRA              BRENTZEL              PA     90011651739
53813252872B77   LISA                PEREZ                 CA     33080072528
5381348888B169   ALYSSA              TRACY                 UT     31096044888
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53813853A72B43   JOSHUA              PARKS                 CO     90010768530
53813A19A91988   BYANCA              ARAUJO                NC     90004270190
53813A58785941   ASHLEY              SMITH                 KY     90011590587
538142A6671964   CARLOS AND MARTHA   AGUILAR               CO     90014722066
53814315972B49   HENRY               OZWALD                CO     33034143159
538149A9651348   LUIS                HERNANDEZ             OH     90000909096
538151A7531428   TERESA              CANNON                MO     90012311075
538152A6671964   CARLOS AND MARTHA   AGUILAR               CO     90014722066
5381577495715B   DAMIAN LESTER       BRATHWAITE            VA     90011367749
5381588A151348   TIM SR              CHARLES               OH     66029188801
5381599765B531   ROSALVA             RAMIREZ               NM     90008049976
53816495372B36   DEBBIE              MUSIC                 CO     33016434953
5381667312B27B   BRENDA              FUENTES               DC     81072996731
5381726A691534   ISMAEL              GONZALEZ              TX     90014092606
53817431824B42   EDWIN               LOPEZ                 DC     90013054318
53817725224B42   EDWIN               LOPEZ                 DC     90010577252
53817781A55959   ALEX                MALDONADO             CA     90013937810
5381779552B27B   DAMIEN              DEMUS                 DC     90015087955
5381792595B393   MICHAEL             AMBURN                OR     90010459259
5381815435B543   ARAUZ               JUAN                  NM     90013651543
53819734A7B46B   ARMANDO             SOLIS                 NC     90013997340
53819A7484B28B   SHELLY              MOSEL                 NE     90011670748
5381B165161975   CRISTINA            ZARAGOZA              CA     90013091651
5381B3A5971922   EVANGELINE          GONZALES              CO     90010563059
5381B68972B27B   LYNN C              BARGANIER             DC     81037836897
5381BA47A57157   CARLOS              PEREZ                 VA     90008960470
538212A2872B97   SAMUEL              NEWBERRY              CO     90008812028
5382134A82B27B   DOMINIQUE           MOTEN                 DC     90002793408
5382164115B543   BEATRICE            MENAFRO               NM     35040136411
5382339A885928   SHIRLEY             GILLIAM               KY     90015113908
53823A57961973   MARIA               NUNEZ                 CA     46050140579
53824464A72B67   JESUS               CASTILLO              CO     33035534640
5382452797B358   NURIA               ADBELLA               DC     90013565279
5382454586194B   PATRICIA            CONNERS               CA     90012085458
53824A37A91534   ANTONIO             FLORES                TX     90006050370
53824A93492B26   DAVID               OROZCO                WI     90015380934
53825315998B2B   ROVERINA            OSORIO MOLINA         NC     90012183159
5382543A757157   ILIANA              GRIJALVA              VA     81045664307
538254A257B46B   ADRIAN              CROWDER               NC     90014564025
538255A928B169   BILLIE              STANFIELD             UT     31079875092
538256A475B271   BETTY               COWTHON               KY     90005666047
53826548272B88   CLARA               PAYNE                 CO     90005845482
53826629972B43   LISA                HUMBLE                CO     33036006299
538266AA74B588   BENJAMIN            MOORE                 OK     90007356007
53827257672B27   NANCY               GUARDADO              CO     90004182576
53827431172B78   ANGELA              GARRIDO               CO     90008424311
53827577A91895   CHARLES             BOONO                 OK     90003345770
53827653672B77   MARIA               BARAJAS               CO     33046376536
5382774155B387   BINYAM              GHEBRHIWOT            OR     90002147415
53828242772B43   LUIS                CASILLAS              CO     90014052427
5382831A651348   JOSE                JARAMILLO             OH     90008553106
53828497572B49   DANE                KAKEDA                CO     90011604975
53829684836B86   ALONZO              MIGUEL                WA     90011046848
538296A2761973   CARLO               ZAVALA                CA     90012946027
5382B143671964   KRISTINA            HANSFORD              CO     32094011436
5382B379A77574   SIFREDO ANTONIO     POLANCO               NV     90009763790
5382B58AA72B67   AMOS                TRUJILLO              CO     90003145800
5383138925B387   KAYLA               CRAIG                 OR     90013683892
538314A9A76B75   HUNTER              BIMSON                CA     90012204090
5383158A172B77   JOSHUA              BECKIUS               CO     90006005801
53831661A33699   VENITA              MCGILVERY             NC     90012146610
53831671772B43   BOBBY               BARDON                CO     90014496717
53832161698B27   CHARLEKA            HANNON                NC     90013591616
5383283828B169   RACHEL              BARNETT               UT     31089538382
5383351755B393   DOMINGO             CARMONA               OR     90013955175
53833647876B75   JOSE                CHAVEZ                CA     90007656478
538339A7A8B169   CHERISH             DURAN                 UT     90014709070
5383426545715B   EDWAR               LOPEZ                 VA     81043542654
5383435215B531   JACKLYN             VALLEJOS              NM     35078143521
53834577A91535   JAVIER              NUNEZ                 TX     90002395770
5383528575715B   DAMARIS             REYNA                 VA     90002832857
5383547327B46B   TISA                YOUNG                 NC     11013604732
538356A475B399   JOSEPH              YBARRA                OR     44583356047
53835843272B49   ESMERALDA           ZUBIA                 CO     90004258432
5383591162B235   COITE               MANUEL                DC     81060039116
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53836317A72B27   IDRIS        ELDURSI                      CO     90008803170
538367A735B531   MARTHA       ESPINOSA                     NM     35064917073
5383725A191895   CARLA        THOMAS                       OK     90008282501
5383743775B531   DELMAR       TENORIO                      NM     90005264377
5383772575758B   SAMANTHA     GALVAN                       NM     90013977257
5383787892B27B   LINDORA      LEWIS                        DC     90009638789
53838221572B43   CHRISTIANE   HUNTER                       CO     33033952215
53838A57791534   MARIA        NAVARRO                      TX     90000230577
53838AA5A61973   JESUS        NAVARRO                      CA     46001220050
5383956335B393   CASEY        PETERSON                     OR     90015095633
53839796372B49   NAOMI        WADLEY                       CO     90011497963
53839A2768163B   JOSEPHINE    CHI                          MO     90005500276
5383B229791895   KYLE         NAJERA                       OK     90013932297
5383B24122B27B   JOSE         ALFREDO                      DC     81016492412
5383B243771964   MELISSA      HARRIS                       CO     90014722437
5383B282591534   JAVIER       RAMIREZ                      TX     90009512825
5383B631361973   ELENA        RAMOS                        CA     90012146313
5383B681672B27   SANDRA       OMID                         CO     33089436816
5383B7A8876221   LOLA         WILLIAM                      GA     90014177088
5384143A861971   JENNIFER     DYER                         CA     46066604308
5384157AA7242B   HEATHER      CRAIG                        PA     90007355700
53841978472B49   VERONICA     NAVARRO                      CO     90013449784
538422A785758B   ARACELI      RAMIREZ                      NM     90013182078
5384235A133696   TRACI        SIMMS                        NC     90013813501
53842A3A472B88   ALFREDO      JIMENEZ                      CO     33012550304
53843664A7242B   RACHEL       HART                         PA     90012036640
5384395758B169   JENNIFER     CUNNINGHAM                   UT     90014709575
5384397937B46B   TWYNESHA     BROWN                        NC     90013489793
5384449547242B   JOSHUA       RIVERA                       PA     90012774954
538447A145758B   MARIA        NAJERA                       NM     90007307014
538452A1631428   LOUIS        MENARD                       MO     90001272016
5384564115B531   MICHIKO      MOLINA                       NM     90010766411
538456A2172B43   WILLIAM      BABIN                        CO     33069126021
5384728545715B   JOSSELIN     LEON                         VA     90011392854
538477A4557157   SAUTEKIA     SAAHIC                       VA     90011037045
5384795654B28B   TONI         GILTNER                      NE     90003789565
53848667172B27   GALEN        HOFER                        CO     33096086671
5384898425B387   LEIGH        WELCH                        OR     44549079842
5384955395B271   THEODORE     ALVIS                        KY     90002215539
53849594A4B588   RAUL         VASQUEZ                      OK     21563615940
53849AA3472B36   KORSHIE      HART                         CO     90012820034
5384B183386443   NELY         ELIZONDO                     SC     90012661833
5384B38245B393   DONALD       WALTERS                      OR     90003023824
5384B4AA657157   WILLIAM      VIPRAIO                      VA     90013404006
5384BA85872B36   DENISE       PEREZ                        CO     90006870858
5385127235B543   ERIC         DEVORE                       NM     35073202723
53851863672B77   STELLA       ACOSTA                       CO     90000988636
53851A76133696   BRYANT       GORDON                       NC     12071800761
5385234897242B   BEN          COLFLESH                     PA     90003943489
53852936572B49   MONICA       RUIZ                         CO     33084409365
53852A2885715B   JOSE         ARISTADES                    VA     90011990288
53853252A72B43   JORDAN       WHISE                        CO     90011402520
5385349815715B   JOSE         MELGAR                       VA     81075714981
53853959572B36   SONIA        PEREZ                        CO     90008599595
53854592576B75   ANTONIO      ROSAS                        CA     90011305925
53855481A5758B   ALVARADO     JUDITH-SARAH                 NM     90000744810
5385617615B393   CAMERON      MACLEAN                      OR     90005571761
53856295A84357   YASHIKA      BROWN                        SC     90011202950
53856397172B36   FELIPE       MEZA-LOPEZ                   CO     33092783971
53856696872B43   ED           HAMMEL                       CO     33030656968
53856747272B67   VIRGINIA     ZORAYA                       CO     33077767472
53856A66257157   JAMIE        AMBRIZ                       VA     90013420662
5385729225715B   R.P          ROBINSON                     VA     81043562922
53857425172B36   DENISE       HAVENS                       CO     33002114251
5385853297242B   DAVID        SETHMAN                      PA     51091445329
53858648A33696   LEVOND       DANIELS                      NC     90015296480
5385937145715B   CATALINA     GARCIA MARIN                 VA     90013633714
5385B157855959   SILVIA       BARRERA                      CA     48095841578
5385B289291534   ESTEBAN      JUAREZ                       TX     75053422892
5385B539561973   JORGE        HERNANDEZ                    CA     90002785395
5385B551172B36   DEBRA M      CHRISTENSEN                  CO     90014325511
5385B675172B36   DANIEL       MORRIS                       CO     90012336751
5385BA69A33699   DONALD       LANE                         NC     90013960690
53862454776B75   SERGIO       LOPEZ                        CA     90001104547
53862584A61971   COLIN        GUNN                         CA     46082285840
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5386262654B28B   SAMIRAH      OSMAN                        NE     26006366265
5386291815B393   KHADIJO      SUFI                         OR     90014459181
538631A6391895   ELIZABETH    SINGLEY                      OK     90011351063
5386396A95758B   NORA         AGUILAR                      NM     35520979609
53863A65385928   TIMOTHY      POWEIL                       KY     90014330653
53864319272B49   MATILDA      MARQUEZ                      CO     90015313192
53864366A3B343   GRAIG        MALAN                        CO     33016793660
5386483785B531   ANDREA       MORENO                       NM     90010938378
53864921A5B393   ALEXANDER    GIANA                        OR     90014459210
53864A4A55B543   DENNY        MUZZEY                       NM     35018990405
53864A84A91534   NICOLASA     NUNEZ                        TX     75016880840
53865297A72B67   DANIEL       FUENTES                      CO     90000582970
53865422872B43   ALEXANDRO    CESENA                       CO     33077104228
5386546494B28B   RACHEL       SMITH                        NE     90011674649
53865A24761975   CESAR        PICAZO                       CA     90007930247
53867128A61975   ADRIAN       TAPIA AVILA                  CA     46060041280
53867284A33699   VICENTE      HERNANDEZ                    NC     90013092840
53867967572B43   DANIEL       A. SOSA                      CO     33006399675
5386797595B543   MARIA        DE JESUS PEDRAZA             NM     35052879759
5386846318B169   JUANA        GARCIA-ALONSO                UT     90002224631
5386864632B27B   SADE         COOPER                       DC     90001436463
53869263172B43   CESAR        GARCIA                       CO     33089172631
5386929A891895   LEE          ULREY                        OK     90013932908
538693A754B28B   ALBERTO      HERNANDEZ-PORCAYO            NE     90011583075
53869592972B36   MARIANO      CARBAJAL                     CO     90010515929
5386959975B561   STEPHANIE    WIDENER                      NM     90009905997
5386B115633696   JENNIFER     DUNCAN                       NC     90013891156
5386B24197242B   JIM          WAGNER                       PA     51032392419
5386B2AA233696   JENNIFER     DUNCAN                       NC     90012042002
5386B918133699   DARREN       BROWN                        NC     90010999181
5386B9A225715B   CARLOS       CHAVARRIA                    VA     90006399022
5387125855B387   WILIS        KEENEY                       OR     90014812585
53871732776B75   ARSENIA      LEGASPI                      CA     90013967327
5387258A776221   JOHNNY       GAY                          GA     90014595807
5387276A561973   MARIA        MIRANDA                      CA     90007417605
53872AA8561975   MICHELLE     AYALA                        CA     90012930085
53873271672B49   TERE NANCY   TORRES-CARDENAS              CO     33020472716
5387373758B169   JERRY        TUTTLE JR                    UT     31046187375
53873AA7998B2B   WILSON       REYES                        NC     90005870079
5387411285B283   LEE          ERNSPIKER                    KY     68006641128
538746AA25B393   AARON        GARCIA                       OR     90008696002
53875317A61971   LIDIA        CUNNINGHAM                   CA     90012163170
53876795A91895   KAYLONI      COVINGTON                    OK     90008427950
5387743887B46B   PAULA        FLORES                       NC     90012094388
53877796A2B27B   OSCAR        PINO                         DC     90013457960
53877966172B36   MARK         PRINCE II                    CO     33093509661
53877A1A33B381   MICHELLE     COREY                        CO     33048960103
53877A3815B387   LUCINO       PEREZ                        OR     44515130381
53878772A5B271   RACHEL       PHIPPS                       KY     90002217720
53879358876B75   JASON        BUTLER                       CA     90007663588
53879456772B77   GERALD       TIMMONS                      CO     90010554567
53879816724B7B   TINA         DOUGLAS                      DC     90011508167
53879AA3161971   TRAVIS       BARRER                       CA     90015180031
5387B171833696   ANDREA       TOWNSEND                     NC     90014171718
5387B52A15B393   KOREY        LIGATICH                     OR     90013955201
5387B99755B387   CASSIDY      NORTH                        OR     44583559975
5387BA11561975   CRISTOBAL    MORALES                      CA     46073650115
5387BA85A93724   VINCENT      PEERY                        OH     90011600850
538812A673B387   PAUL         TULLY                        CO     33049202067
53881932A76B75   ENRIQUTA     SALGADO                      CA     90003829320
5388211352B27B   REMUS        HERBERT                      DC     90007991135
5388232A35B531   DIEGO        FIGUEROA                     NM     35086483203
53882647A5715B   JACQUELINE   SHELTON                      VA     81010926470
5388338632B27B   SAMSON       AKINYELE                     VA     90010753863
5388348634B28B   LAURI        HOBBIE                       NE     90001174863
538835A3661973   MELISSA      RUIZ                         CA     90013115036
5388484A972B49   AMANDA       ANDERSON                     CO     90013438409
53885769372B27   MICHAEL      BOND                         CO     33004657693
5388622635B393   JOHN         BARKER                       OR     90010312263
5388695A25713B   GABRIELA     HERNANDEZ                    DC     90007599502
5388697178B169   BRIAN        ELLSWORTH                    UT     90014709717
53886A56572B88   KAITLYN      LAST                         CO     90003190565
53886AA8155959   GABRIEL      SUBIA                        CA     48049540081
53887213172B43   MARIA        LOPEZ                        CO     90015272131
538873A3A72B88   ALBERTA      BARRANCO                     CO     33017013030
